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                        EXHIBIT A
                 To Declaration of Cliff Dixon
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SettlementDate              TerminalNumber    DriverNumber   Type             DeductionType                  Description                      Amount
                 1/3/2015               709   AN0007         Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
                 1/3/2015               709   AN0007         Owner Operator   Communication Charge           EDGE Usage AN0007                       10
                 1/3/2015               709   AN0007         Owner Operator   EOBR Charges                   RouteTrack Usage 21157A                  3
                 1/3/2015               709   AN0007         Owner Operator   Fuel Card Advances             Cash Advance                           400
                 1/3/2015               709   AN0007         Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
                 1/3/2015               709   AN0007         Owner Operator   Fuel Purchase                  Fuel Purchase                       198.33
                 1/3/2015               709   AN0007         Owner Operator   Loan Repayment                 crt exp 3227627084 s/u loan          -2525
                 1/3/2015               709   AN0007         Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
                 1/3/2015               709   AN0007         Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
                 1/3/2015               709   AN0007         Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
                 1/3/2015               709   AN0007         Owner Operator   T Chek Fee                     ExpressCheck Fee                        25
                 1/3/2015               709   AN0007         Owner Operator   T Chek Fee                     Tractor Repair 21157A                 2500
                 1/3/2015               709   CR0064         Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
                 1/3/2015               709   CR0064         Owner Operator   Communication Charge           PNet Hware 32864                        13
                 1/3/2015               709   CR0064         Owner Operator   Fuel Purchase                  Fuel Purchase                       284.56
                 1/3/2015               709   CR0064         Owner Operator   Fuel Purchase                  Fuel Purchase                       114.36
                 1/3/2015               709   CR0064         Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       254.51
                 1/3/2015               709   CR0064         Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
                 1/3/2015               709   CR0064         Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
                 1/3/2015               709   CR0064         Owner Operator   Tractor Charge                 14267 - 32864                       245.63
                 1/3/2015               709   CR0064         Owner Operator   Truck Payment                  CTMS - 178180 tractor rental           160
                 1/3/2015               709   DL0107         Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
                 1/3/2015               709   DL0107         Owner Operator   Communication Charge           EDGE Usage DL0107                       10
                 1/3/2015               709   DL0107         Owner Operator   EOBR Charges                   RouteTrack Usage Q1245                   3
                 1/3/2015               709   DL0107         Owner Operator   ESCROW                         Weekly Escrow                           50
                 1/3/2015               709   DL0107         Owner Operator   Fuel Purchase                  Fuel Purchase                       617.16
                 1/3/2015               709   DL0107         Owner Operator   Highway Use Tax                HUTC:2015 - q1245                    10.58
                 1/3/2015               709   DL0107         Owner Operator   IRP License Deduction          LCIL:2014 - Q1245                       31
                 1/3/2015               709   DL0107         Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
                 1/3/2015               709   DL0107         Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    65.71
                 1/3/2015               709   DL0107         Owner Operator   Truck Payment                  CTMS - 178290 Sublease              338.99
                 1/3/2015               709   DS0049         Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
                 1/3/2015               709   DS0049         Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
                 1/3/2015               709   DS0049         Owner Operator   Communication Charge           EDGE Usage DS0049                       10
                 1/3/2015               709   DS0049         Owner Operator   Fuel Card Advances             Cash Advance                           500
                 1/3/2015               709   DS0049         Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
                 1/3/2015               709   DS0049         Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.44
                 1/3/2015               709   DS0049         Owner Operator   Fuel Purchase                  Fuel Purchase                       508.27
                 1/3/2015               709   DS0049         Owner Operator   Fuel Purchase                  Fuel Purchase                       498.64
                 1/3/2015               709   DS0049         Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
                 1/3/2015               709   DS0049         Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
                 1/3/2015               709   DS0049         Owner Operator   Tractor Charge                 15738 - 32915                       512.35
                 1/3/2015               709   DS0225         Owner Operator   BOBTAIL INS.                   1990 Peterbilt NTL                    8.75
                 1/3/2015               709   DS0225         Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
                 1/3/2015               709   DS0225         Owner Operator   Communication Charge           EDGE Usage DS0225                       10
                 1/3/2015               709   DS0225         Owner Operator   ESCROW                         Weekly Escrow                           50
                 1/3/2015               709   DS0225         Owner Operator   Fuel Purchase                  Fuel Purchase                        54.34
                 1/3/2015               709   DS0225         Owner Operator   IRP License Deduction          LCIL:2014 - 33320                      100
                 1/3/2015               709   DS0225         Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
                 1/3/2015               709   DS0225         Owner Operator   PHYSICAL DAMAGE                1990 Peterbilt PD                     7.82
                 1/3/2015               709   DS0225         Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
                 1/3/2015               709   EA0003         Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
                 1/3/2015               709   EA0003         Owner Operator   Communication Charge           PNet Hware 33051                         8
                 1/3/2015               709   EA0003         Owner Operator   ESCROW                         Weekly Escrow                          250
                 1/3/2015               709   EA0003         Owner Operator   Fuel Card Advances             Cash Advance                           200
                 1/3/2015               709   EA0003         Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
                 1/3/2015               709   EA0003         Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.27
                 1/3/2015               709   EA0003         Owner Operator   Fuel Purchase                  Fuel Purchase                       100.52
                 1/3/2015               709   EA0003         Owner Operator   Fuel Purchase                  Fuel Purchase                        27.37
                 1/3/2015               709   EA0003         Owner Operator   Fuel Purchase                  Fuel Purchase                       467.12
                 1/3/2015               709   EA0003         Owner Operator   Fuel Purchase                  Fuel Purchase                        356.4
                 1/3/2015               709   EA0003         Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
                 1/3/2015               709   EA0003         Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
                 1/3/2015               709   EA0003         Owner Operator   Tractor Charge                 16439 - 33051                       555.56
                 1/3/2015               709   EH0020         Owner Operator   Communication Charge           PNet Hware 33065                         8
                 1/3/2015               709   EH0020         Owner Operator   ESCROW                         Weekly Escrow                          250
                 1/3/2015               709   EH0020         Owner Operator   Fuel Card Advances             Cash Advance                           100
                 1/3/2015               709   EH0020         Owner Operator   Fuel Card Advances             Cash Advance                           100
                 1/3/2015               709   EH0020         Owner Operator   Fuel Card Advances             Cash Advance                           200
                 1/3/2015               709   EH0020         Owner Operator   Fuel Card Advances             Cash Advance                           200
                 1/3/2015               709   EH0020         Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
                 1/3/2015               709   EH0020         Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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     1/3/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.37
     1/3/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     1/3/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     1/3/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     444.61
     1/3/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     294.71
     1/3/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      44.07
     1/3/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     152.02
     1/3/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     162.99
     1/3/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     448.14
     1/3/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     202.92
     1/3/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     445.89
     1/3/2015    709   EH0020   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment     261.23
     1/3/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.01
     1/3/2015    709   EH0020   Owner Operator   Tire Purchase                  PO: 905-01971992                  131.66
     1/3/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                     532.24
     1/3/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL               8.75
     1/3/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      8
     1/3/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      353.9
     1/3/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     441.88
     1/3/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD               82.04
     1/3/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                 4.75
     1/3/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   9588 1995 Freightliner NTL          8.75
     1/3/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware 9588                        8
     1/3/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     232.81
     1/3/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                9588 1995 Freightliner PD          19.22
     1/3/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL             8.75
     1/3/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                       8
     1/3/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                        200
     1/3/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
     1/3/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     317.07
     1/3/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      353.4
     1/3/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     540.96
     1/3/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      150.1
     1/3/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment     254.11
     1/3/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD             15.63
     1/3/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                21.35
     1/3/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
     1/3/2015    709   IR0002   Owner Operator   Communication Charge           EDGE Usage IR0002                     10
     1/3/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.64
     1/3/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism       2.5
     1/3/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                     521.95
     1/3/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                13.96
     1/3/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                13.98
     1/3/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                8.75
     1/3/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                8.75
     1/3/2015    709   JC0292   Owner Operator   Communication Charge           EDGE Usage JC0292                     10
     1/3/2015    709   JC0292   Owner Operator   Communication Charge           EDGE Usage JC0292                     10
     1/3/2015    709   JC0292   Owner Operator   EOBR Charges                   RouteTrack Usage q1210                 3
     1/3/2015    709   JC0292   Owner Operator   EOBR Charges                   RouteTrack Usage q1210                 3
     1/3/2015    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                       100
     1/3/2015    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                       100
     1/3/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                        200
     1/3/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                        300
     1/3/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                        200
     1/3/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                        200
     1/3/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                        100
     1/3/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     1/3/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.18
     1/3/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.19
     1/3/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
     1/3/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.28
     1/3/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
     1/3/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.13
     1/3/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     521.11
     1/3/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     393.46
     1/3/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     344.21
     1/3/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     654.92
     1/3/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     396.35

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     1/3/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      248.7
     1/3/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     259.79
     1/3/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     604.05
     1/3/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     343.94
     1/3/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                78.11
     1/3/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                78.13
     1/3/2015    709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00313327 - PO System      131.54
     1/3/2015    709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00313327 - PO System       131.5
     1/3/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                     458.72
     1/3/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                     423.72
     1/3/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
     1/3/2015    709   JG0017   Owner Operator   Communication Charge           EDGE Usage JG0017                     10
     1/3/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                       500
     1/3/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                        300
     1/3/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
     1/3/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.36
     1/3/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     435.54
     1/3/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     320.89
     1/3/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     232.74
     1/3/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               90.86
     1/3/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                      504.6
     1/3/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                8.75
     1/3/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                   8.75
     1/3/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                      13
     1/3/2015    709   JS0265   Owner Operator   EOBR Charges                   RouteTrack Usage 32298                 3
     1/3/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                       100
     1/3/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                        200
     1/3/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                        200
     1/3/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
     1/3/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
     1/3/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       447
     1/3/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                     493.74
     1/3/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       272
     1/3/2015    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2014 - 33325                     75
     1/3/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                15.94
     1/3/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                    37.5
     1/3/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
     1/3/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                     199.93
     1/3/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                        100
     1/3/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                        100
     1/3/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     1/3/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     1/3/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.37
     1/3/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       46.9
     1/3/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     283.57
     1/3/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     470.82
     1/3/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     178.06
     1/3/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.32
     1/3/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism       2.5
     1/3/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                     519.59
     1/3/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL          8.75
     1/3/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                       13
     1/3/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD             45
     1/3/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                   8.75
     1/3/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                     13
     1/3/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                       300
     1/3/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                        200
     1/3/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                        200
     1/3/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
     1/3/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
     1/3/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                     354.01
     1/3/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                     785.23
     1/3/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                   39.07
     1/3/2015    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00313342 - PO System      213.45
     1/3/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                  8.75
     1/3/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                     13

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     1/3/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     1/3/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                 70.32
     1/3/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL              8.75
     1/3/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                     13
     1/3/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                        100
     1/3/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
     1/3/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                    331.56
     1/3/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                    202.82
     1/3/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                    418.47
     1/3/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     1/3/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD              53.13
     1/3/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                    337.19
     1/3/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                 8.75
     1/3/2015    709   MP0035   Owner Operator   Communication Charge           EDGE Usage MP0035                    10
     1/3/2015    709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-10      -450
     1/3/2015    709   MP0035   Owner Operator   EOBR Charges                   RouteTrack Usage 32904                3
     1/3/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                       450
     1/3/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                        280
     1/3/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.8
     1/3/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                    613.41
     1/3/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     1/3/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                 71.88
     1/3/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism         2.5
     1/3/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                    323.05
     1/3/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL         8.75
     1/3/2015    709   NB0029   Owner Operator   Communication Charge           EDGE Usage NB0029                    10
     1/3/2015    709   NB0029   Owner Operator   EOBR Charges                   RouteTrack Usage Q1108                3
     1/3/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        50
     1/3/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                    257.64
     1/3/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                    408.46
     1/3/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                    467.45
     1/3/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                    391.39
     1/3/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                 10.58
     1/3/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2014 - Q1108                    31
     1/3/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     1/3/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD         35.16
     1/3/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 178191 Lease              215.66
     1/3/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 178336 Lease              215.66
     1/3/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL           8.75
     1/3/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      16.5
     1/3/2015    709   NG0005   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment     253.3
     1/3/2015    709   NG0005   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment     68.33
     1/3/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     1/3/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD           32.98
     1/3/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL         8.75
     1/3/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                      13
     1/3/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     1/3/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD         28.13
     1/3/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL            8.75
     1/3/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                    305.71
     1/3/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     1/3/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD            39.07
     1/3/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                62.7
     1/3/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                               62.69
     1/3/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     1/3/2015    709   RC0089   Owner Operator   Communication Charge           EDGE Usage RC0089                    10
     1/3/2015    709   RC0089   Owner Operator   Communication Charge           EDGE Usage RC0089                    10
     1/3/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                        200
     1/3/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
     1/3/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                    436.74
     1/3/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                    378.77
     1/3/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     1/3/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             103.07
     1/3/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                    504.72
     1/3/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL        8.75
     1/3/2015    709   RL0017   Owner Operator   Communication Charge           EDGE Usage RL0017                    10
     1/3/2015    709   RL0017   Owner Operator   EOBR Charges                   RouteTrack Usage 21975A               3
     1/3/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    361.14
     1/3/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     1/3/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD        45.32
     1/3/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     1/3/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                     13
     1/3/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100

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     1/3/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
     1/3/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     1/3/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                    1.14
     1/3/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     242.81
     1/3/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     479.95
     1/3/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.15
     1/3/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                     512.16
     1/3/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                27.48
     1/3/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                   8.75
     1/3/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                     13
     1/3/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     348.86
     1/3/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                   13.29
     1/3/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism           2.5
     1/3/2015    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00312512 - PO System      192.27
     1/3/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                11.12
     1/3/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL               8.75
     1/3/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                      13
     1/3/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.32
     1/3/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.17
     1/3/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                     254.27
     1/3/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                     330.18
     1/3/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      429.1
     1/3/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD              100.98
     1/3/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                     564.33
     1/3/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL         8.75
     1/3/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     336.55
     1/3/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     378.63
     1/3/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     361.09
     1/3/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                  10.58
     1/3/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1112                     31
     1/3/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD          37.5
     1/3/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL               8.75
     1/3/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                       8
     1/3/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                        100
     1/3/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     1/3/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                     188.61
     1/3/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD               55.47
     1/3/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                      375.9
     1/3/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL               8.75
     1/3/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL               8.75
     1/3/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   31271 1998 Freightliner NTL         8.75
     1/3/2015    709   WB0062   Owner Operator   Communication Charge           EDGE Usage WB0062                     10
     1/3/2015    709   WB0062   Owner Operator   EOBR Charges                   RouteTrack Usage 31271                 3
     1/3/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD               56.25
     1/3/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD               56.25
     1/3/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism       2.5
     1/3/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism       2.5
     1/3/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                31271 1998 Freightliner PD         15.63
     1/3/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                31271 1998 Freightliner PD Ter       2.5
     1/3/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL            8.75
     1/3/2015    709   WH0073   Owner Operator   Communication Charge           EDGE Usage WH0073                     10
     1/3/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                      13
     1/3/2015    709   WH0073   Owner Operator   EOBR Charges                   RouteTrack Usage Q1235                 3
     1/3/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.24
     1/3/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      43.94
     1/3/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                     342.54
     1/3/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                     555.56
     1/3/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                     461.67
     1/3/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                  10.58
     1/3/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2014 - Q1235                     31
     1/3/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/3/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD            65.71
     1/3/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 178252 Sub, Sub Lease      396.13
     1/3/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL              8.75
     1/3/2015    742   AP0047   Owner Operator   Communication Charge           EDGE Usage AP0047                     10
     1/3/2015    742   AP0047   Owner Operator   EOBR Charges                   RouteTrack Usage 32604                 3
     1/3/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                        200

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      1/3/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      1/3/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      17.89
      1/3/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                     235.91
      1/3/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/3/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD              97.27
      1/3/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris       2.5
      1/3/2015   742   BS0030   Owner Operator   ESCROW                         Escrow Withdrawal                  -3775
      1/3/2015   742   BS0030   Owner Operator   Express Check                  T-Check Payment                     3775
      1/3/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                   8.75
      1/3/2015   742   ED0041   Owner Operator   Communication Charge           EDGE Usage ED0041                     10
      1/3/2015   742   ED0041   Owner Operator   EOBR Charges                   RouteTrack Usage 32897                 3
      1/3/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                     427.19
      1/3/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/3/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                   65.36
      1/3/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism           2.5
      1/3/2015   742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL            8.75
      1/3/2015   742   EN0016   Owner Operator   Communication Charge           EDGE Usage EN0016                     10
      1/3/2015   742   EN0016   Owner Operator   EOBR Charges                   RouteTrack Usage 32674                 3
      1/3/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                     289.59
      1/3/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                     394.57
      1/3/2015   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/3/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD            24.61
      1/3/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror       2.5
      1/3/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL           8.75
      1/3/2015   742   FS0011   Owner Operator   Communication Charge           EDGE Usage FS0011                     10
      1/3/2015   742   FS0011   Owner Operator   EOBR Charges                   RouteTrack Usage 51069A                3
      1/3/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      55.75
      1/3/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD           54.69
      1/3/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro       2.5
      1/3/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL               8.75
      1/3/2015   742   LL0134   Owner Operator   Communication Charge           EDGE Usage LL0134                     10
      1/3/2015   742   LL0134   Owner Operator   EOBR Charges                   RouteTrack Usage 33195                 3
      1/3/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
      1/3/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.17
      1/3/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                     432.24
      1/3/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/3/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD              117.45
      1/3/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                     554.49
      1/3/2015   742   MH0117   Owner Operator   Repair Order                   CTMS - 177878 repair               47.12
      1/3/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   8 2013 Freightliner NTL             8.75
      1/3/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                         50
      1/3/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                     270.03
      1/3/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/3/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                8 2013 Freightliner PD            100.79
      1/3/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                8 2013 Freightliner PD Terrori       2.5
      1/3/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 178357 repair                 100
      1/3/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      1/3/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                      13
      1/3/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        100
      1/3/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                         200
      1/3/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                         200
      1/3/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.27
      1/3/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.05
      1/3/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.3
      1/3/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.2
      1/3/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     356.34
      1/3/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     324.16
      1/3/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      22.71
      1/3/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     205.47
      1/3/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     321.38
      1/3/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     295.61
      1/3/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     153.51
      1/3/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     398.38
      1/3/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      55.75
      1/3/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              104.38
      1/3/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                     509.18
     1/10/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL        8.75
     1/10/2015   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device              11.35
     1/10/2015   709   AN0007   Owner Operator   Communication Charge           EDGE Usage AN0007                     10
     1/10/2015   709   AN0007   Owner Operator   EOBR Charges                   RouteTrack Usage 21157A                3
     1/10/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                         400
     1/10/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       4
     1/10/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     171.76

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     1/10/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment     255.72
     1/10/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015   709   AN0007   Owner Operator   Permits                        ID06:2015 - 21157A                    11
     1/10/2015   709   AN0007   Owner Operator   Permits                        IL02:2015 - 21157A                  3.75
     1/10/2015   709   AN0007   Owner Operator   Permits                        NM07:2015 - 21157A                   5.5
     1/10/2015   709   AN0007   Owner Operator   Permits                        OR16:2015 - 21157A                     8
     1/10/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD         7.82
     1/10/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te       2.5
     1/10/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
     1/10/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
     1/10/2015   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device               11.35
     1/10/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                       8
     1/10/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                       8
     1/10/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                        100
     1/10/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     1/10/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                     475.24
     1/10/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015   709   CM0119   Owner Operator   Permits                        ID06:2015 - 32920                     11
     1/10/2015   709   CM0119   Owner Operator   Permits                        IL02:2015 - 32920                   3.75
     1/10/2015   709   CM0119   Owner Operator   Permits                        NM07:2015 - 32920                    5.5
     1/10/2015   709   CM0119   Owner Operator   Permits                        OR16:2015 - 32920                      8
     1/10/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.96
     1/10/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.96
     1/10/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism       2.5
     1/10/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism       2.5
     1/10/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                     507.91
     1/10/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                     507.91
     1/10/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                  8.75
     1/10/2015   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device               11.35
     1/10/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                      13
     1/10/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                     407.25
     1/10/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                     422.57
     1/10/2015   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment     254.51
     1/10/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015   709   CR0064   Owner Operator   Permits                        ID06:2015 - 32864                     11
     1/10/2015   709   CR0064   Owner Operator   Permits                        IL02:2015 - 32864                   3.75
     1/10/2015   709   CR0064   Owner Operator   Permits                        NM07:2015 - 32864                    5.5
     1/10/2015   709   CR0064   Owner Operator   Permits                        OR16:2015 - 32864                      8
     1/10/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                  39.07
     1/10/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                     245.63
     1/10/2015   709   CR0064   Owner Operator   Truck Payment                  CTMS - 178463 tractor rental        160
     1/10/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
     1/10/2015   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device               11.35
     1/10/2015   709   DL0107   Owner Operator   Communication Charge           EDGE Usage DL0107                     10
     1/10/2015   709   DL0107   Owner Operator   EOBR Charges                   RouteTrack Usage Q1245                 3
     1/10/2015   709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                         50
     1/10/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                     554.37
     1/10/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                  10.58
     1/10/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2014 - Q1245                     31
     1/10/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015   709   DL0107   Owner Operator   Permits                        ID06:2015 - Q1245                     11
     1/10/2015   709   DL0107   Owner Operator   Permits                        IL02:2015 - Q1245                   3.75
     1/10/2015   709   DL0107   Owner Operator   Permits                        NM07:2015 - Q1245                    5.5
     1/10/2015   709   DL0107   Owner Operator   Permits                        OR16:2015 - Q1245                      8
     1/10/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                  65.71
     1/10/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 178442 Sublease            338.99
     1/10/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                18.38
     1/10/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
     1/10/2015   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device               11.35
     1/10/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       8
     1/10/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                        500
     1/10/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
     1/10/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.26
     1/10/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                     400.77
     1/10/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                     431.78
     1/10/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015   709   DS0049   Owner Operator   Permits                        ID06:2015 - 32915                     11
     1/10/2015   709   DS0049   Owner Operator   Permits                        IL02:2015 - 32915                   3.75
     1/10/2015   709   DS0049   Owner Operator   Permits                        NM07:2015 - 32915                    5.5
     1/10/2015   709   DS0049   Owner Operator   Permits                        OR16:2015 - 32915                      8
     1/10/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               92.35
     1/10/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                     512.35

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     1/10/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   1990 Peterbilt NTL                 8.75
     1/10/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                 8.75
     1/10/2015   709   DS0225   Owner Operator   Communication Charge           EDGE Usage DS0225                    10
     1/10/2015   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                        50
     1/10/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                    420.53
     1/10/2015   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2014 - 33320                  100
     1/10/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     1/10/2015   709   DS0225   Owner Operator   Permits                        IL02:2015 - 33320                  3.75
     1/10/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                1990 Peterbilt PD                  7.82
     1/10/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                 19.54
     1/10/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     1/10/2015   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device              11.35
     1/10/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                      8
     1/10/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                      250
     1/10/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                       200
     1/10/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                       200
     1/10/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.3
     1/10/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
     1/10/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                    344.43
     1/10/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                    414.19
     1/10/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     1/10/2015   709   EA0003   Owner Operator   Permits                        IL02:2015 - 33051                  3.75
     1/10/2015   709   EA0003   Owner Operator   Permits                        NM07:2015 - 33051                   5.5
     1/10/2015   709   EA0003   Owner Operator   Permits                        OR16:2015 - 33051                     8
     1/10/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             105.47
     1/10/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                    555.56
     1/10/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     1/10/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     1/10/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                       300
     1/10/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                       300
     1/10/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      3
     1/10/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      3
     1/10/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                   0.25
     1/10/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                   0.14
     1/10/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                   0.24
     1/10/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                    145.01
     1/10/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                    380.01
     1/10/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     24.63
     1/10/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     93.86
     1/10/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                    375.85
     1/10/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                    357.41
     1/10/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                    153.42
     1/10/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     1/10/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     1/10/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     22.43
     1/10/2015   709   EE0011   Owner Operator   Permits                        ID06:2015 - 32910                    11
     1/10/2015   709   EE0011   Owner Operator   Permits                        IL02:2015 - 32910                  3.75
     1/10/2015   709   EE0011   Owner Operator   Permits                        NM07:2015 - 32910                   5.5
     1/10/2015   709   EE0011   Owner Operator   Permits                        OR16:2015 - 32910                     8
     1/10/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              91.92
     1/10/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              91.91
     1/10/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              91.92
     1/10/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                    505.27
     1/10/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                    505.27
     1/10/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                    505.27
     1/10/2015   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device              11.35
     1/10/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                      8
     1/10/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                      250
     1/10/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                       100
     1/10/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                       200
     1/10/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                       200
     1/10/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
     1/10/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                   2.34
     1/10/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
     1/10/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    415.58
     1/10/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    156.56
     1/10/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    196.47
     1/10/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    400.77
     1/10/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    162.11
     1/10/2015   709   EH0020   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment    261.23
     1/10/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     1/10/2015   709   EH0020   Owner Operator   Permits                        ID06:2015 - 33065                    11
     1/10/2015   709   EH0020   Owner Operator   Permits                        IL02:2015 - 33065                  3.75

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     1/10/2015    709   EH0020   Owner Operator   Permits                        NM07:2015 - 33065                    5.5
     1/10/2015    709   EH0020   Owner Operator   Permits                        OR16:2015 - 33065                      8
     1/10/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.01
     1/10/2015    709   EH0020   Owner Operator   Tire Purchase                  PO: 905-01971992                  131.66
     1/10/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                     532.24
     1/10/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                       8
     1/10/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          20
     1/10/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.2
     1/10/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     229.98
     1/10/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                  10.58
     1/10/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2014 - 73129                     31
     1/10/2015    709   FT0004   Owner Operator   Permits                        IL02:2015 - 73129                   3.75
     1/10/2015    709   FT0004   Owner Operator   Permits                        NM07:2015 - 73129                    5.5
     1/10/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL               8.75
     1/10/2015    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device              11.35
     1/10/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      8
     1/10/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     377.41
     1/10/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      285.9
     1/10/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015    709   FV0001   Owner Operator   Permits                        ID06:2015 - 21521B                    11
     1/10/2015    709   FV0001   Owner Operator   Permits                        IL02:2015 - 21521B                  3.75
     1/10/2015    709   FV0001   Owner Operator   Permits                        NM07:2015 - 21521B                   5.5
     1/10/2015    709   FV0001   Owner Operator   Permits                        OR16:2015 - 21521B                     8
     1/10/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD               82.04
     1/10/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                 4.75
     1/10/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   9588 1995 Freightliner NTL          8.75
     1/10/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware 9588                        8
     1/10/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     251.38
     1/10/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                9588 1995 Freightliner PD          19.22
     1/10/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 178462 Tractor rental        240
     1/10/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL             8.75
     1/10/2015    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device               11.35
     1/10/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                       8
     1/10/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     375.28
     1/10/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     530.96
     1/10/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      328.8
     1/10/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment     254.11
     1/10/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015    709   HG0007   Owner Operator   Permits                        ID06:2015 - 33180                     11
     1/10/2015    709   HG0007   Owner Operator   Permits                        IL02:2015 - 33180                   3.75
     1/10/2015    709   HG0007   Owner Operator   Permits                        NM07:2015 - 33180                    5.5
     1/10/2015    709   HG0007   Owner Operator   Permits                        OR16:2015 - 33180                      8
     1/10/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD             15.63
     1/10/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                21.35
     1/10/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
     1/10/2015    709   IR0002   Owner Operator   Communication Charge           EDGE Usage IR0002                     10
     1/10/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                     313.08
     1/10/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015    709   IR0002   Owner Operator   Permits                        IL02:2015 - 32901                   3.75
     1/10/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.64
     1/10/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism       2.5
     1/10/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                     521.95
     1/10/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                13.98
     1/10/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                8.75
     1/10/2015    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device               11.35
     1/10/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                       8
     1/10/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                        200
     1/10/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                        100
     1/10/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                        200
     1/10/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.2
     1/10/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     1/10/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.13
     1/10/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     531.19
     1/10/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     386.26
     1/10/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     349.23
     1/10/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015    709   JC0292   Owner Operator   Permits                        ID06:2015 - Q1210                     11
     1/10/2015    709   JC0292   Owner Operator   Permits                        IL02:2015 - Q1210                   3.75
     1/10/2015    709   JC0292   Owner Operator   Permits                        NM07:2015 - Q1210                    5.5
     1/10/2015    709   JC0292   Owner Operator   Permits                        OR16:2015 - Q1210                      8
     1/10/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                78.13
     1/10/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                     458.72

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     1/10/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/10/2015    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                11.35
     1/10/2015    709   JG0017   Owner Operator   Communication Charge           EDGE Usage JG0017                      10
     1/10/2015    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                   -1000
     1/10/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
     1/10/2015    709   JG0017   Owner Operator   Express Check                  T-Check Payment                      1000
     1/10/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
     1/10/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
     1/10/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.34
     1/10/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       531.8
     1/10/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      482.12
     1/10/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/10/2015    709   JG0017   Owner Operator   Permits                        ID06:2015 - 32908                      11
     1/10/2015    709   JG0017   Owner Operator   Permits                        IL02:2015 - 32908                    3.75
     1/10/2015    709   JG0017   Owner Operator   Permits                        NM07:2015 - 32908                     5.5
     1/10/2015    709   JG0017   Owner Operator   Permits                        OR16:2015 - 32908                       8
     1/10/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                90.86
     1/10/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                       504.6
     1/10/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/10/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     1/10/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        153.7
     1/10/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.34
     1/10/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/10/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      472.23
     1/10/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/10/2015    709   JG0072   Owner Operator   Permits                        ID06:2015 - 32909                      11
     1/10/2015    709   JG0072   Owner Operator   Permits                        IL02:2015 - 32909                    3.75
     1/10/2015    709   JG0072   Owner Operator   Permits                        NM07:2015 - 32909                     5.5
     1/10/2015    709   JG0072   Owner Operator   Permits                        OR16:2015 - 32909                       8
     1/10/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                74.22
     1/10/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                      513.26
     1/10/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                 8.75
     1/10/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                    8.75
     1/10/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
     1/10/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/10/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      452.63
     1/10/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      334.26
     1/10/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/10/2015    709   JS0265   Owner Operator   Permits                        IL02:2015 - 33325                    3.75
     1/10/2015    709   JS0265   Owner Operator   Permits                        OR16:2015 - 33325                       8
     1/10/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                 15.94
     1/10/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                     37.5
     1/10/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/10/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                      226.57
     1/10/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
     1/10/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     1/10/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.3
     1/10/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      258.58
     1/10/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      221.68
     1/10/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      385.73
     1/10/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      326.99
     1/10/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      200.01
     1/10/2015    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2014 - 32914                      21
     1/10/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/10/2015    709   KP0004   Owner Operator   Permits                        ID06:2015 - 32914                      11
     1/10/2015    709   KP0004   Owner Operator   Permits                        IL02:2015 - 32914                    3.75
     1/10/2015    709   KP0004   Owner Operator   Permits                        NM07:2015 - 32914                     5.5
     1/10/2015    709   KP0004   Owner Operator   Permits                        OR16:2015 - 32914                       8
     1/10/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.32
     1/10/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     1/10/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                      519.59
     1/10/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL           8.75
     1/10/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                        13
     1/10/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/10/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD              45
     1/10/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                    8.75
     1/10/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         300
     1/10/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/10/2015    709   LS0023   Owner Operator   Permits                        ID06:2015 - 21489A                     11
     1/10/2015    709   LS0023   Owner Operator   Permits                        IL02:2015 - 21489A                   3.75
     1/10/2015    709   LS0023   Owner Operator   Permits                        NM07:2015 - 21489A                    5.5
     1/10/2015    709   LS0023   Owner Operator   Permits                        OR16:2015 - 21489A                      8
     1/10/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                    39.07

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     1/10/2015    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00313342 - PO System       97.68
     1/10/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                  8.75
     1/10/2015    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device              11.35
     1/10/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                     13
     1/10/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015    709   MB0048   Owner Operator   Permits                        OR16:2015 - 21727B                     8
     1/10/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                  70.32
     1/10/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL               8.75
     1/10/2015    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device               11.35
     1/10/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                      13
     1/10/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                     358.12
     1/10/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      170.8
     1/10/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015    709   MM0093   Owner Operator   Permits                        IL02:2015 - 32931                   3.75
     1/10/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD               53.13
     1/10/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                     337.19
     1/10/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
     1/10/2015    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device               11.35
     1/10/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                      13
     1/10/2015    709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-3         450
     1/10/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                       450
     1/10/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                        280
     1/10/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.8
     1/10/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                     443.17
     1/10/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015    709   MP0035   Owner Operator   Permits                        ID06:2015 - 32904                     11
     1/10/2015    709   MP0035   Owner Operator   Permits                        IL02:2015 - 32904                   3.75
     1/10/2015    709   MP0035   Owner Operator   Permits                        NM07:2015 - 32904                    5.5
     1/10/2015    709   MP0035   Owner Operator   Permits                        OR16:2015 - 32904                      8
     1/10/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                  71.88
     1/10/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism          2.5
     1/10/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                     323.05
     1/10/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL          8.75
     1/10/2015    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device               11.35
     1/10/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                      13
     1/10/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         50
     1/10/2015    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                          50
     1/10/2015    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.5
     1/10/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     223.12
     1/10/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                  10.58
     1/10/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2014 - Q1108                     31
     1/10/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015    709   NB0029   Owner Operator   Permits                        ID06:2015 - Q1108                     11
     1/10/2015    709   NB0029   Owner Operator   Permits                        IL02:2015 - Q1108                   3.75
     1/10/2015    709   NB0029   Owner Operator   Permits                        NM07:2015 - Q1108                    5.5
     1/10/2015    709   NB0029   Owner Operator   Permits                        OR16:2015 - Q1108                      8
     1/10/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD          35.16
     1/10/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 178516 Lease               215.66
     1/10/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL            8.75
     1/10/2015    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device              11.35
     1/10/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      8
     1/10/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      8
     1/10/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      8
     1/10/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                        100
     1/10/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     1/10/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      43.51
     1/10/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     329.89
     1/10/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     184.94
     1/10/2015    709   NG0005   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment     246.92
     1/10/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015    709   NG0005   Owner Operator   Permits                        ID06:2015 - 21412B                    11
     1/10/2015    709   NG0005   Owner Operator   Permits                        IL02:2015 - 21412B                  3.75
     1/10/2015    709   NG0005   Owner Operator   Permits                        NM07:2015 - 21412B                   5.5
     1/10/2015    709   NG0005   Owner Operator   Permits                        OR16:2015 - 21412B                     8
     1/10/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD            32.98
     1/10/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
     1/10/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                       13
     1/10/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD          28.13
     1/10/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL             8.75
     1/10/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     305.67
     1/10/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/10/2015    709   RC0030   Owner Operator   Permits                        ID06:2015 - 51064A                    11

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     1/10/2015    709   RC0030   Owner Operator   Permits                        IL02:2015 - 51064A                3.75
     1/10/2015    709   RC0030   Owner Operator   Permits                        NM07:2015 - 51064A                 5.5
     1/10/2015    709   RC0030   Owner Operator   Permits                        OR16:2015 - 51064A                   8
     1/10/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD           39.07
     1/10/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                               62.7
     1/10/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL             8.75
     1/10/2015    709   RC0089   Owner Operator   Communication Charge           EDGE Usage RC0089                   10
     1/10/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                      300
     1/10/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                      200
     1/10/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2
     1/10/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                  3.36
     1/10/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                   457.67
     1/10/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                   333.71
     1/10/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                    227.9
     1/10/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     1/10/2015    709   RC0089   Owner Operator   Permits                        ID06:2015 - 32986                   11
     1/10/2015    709   RC0089   Owner Operator   Permits                        IL02:2015 - 32986                 3.75
     1/10/2015    709   RC0089   Owner Operator   Permits                        NM07:2015 - 32986                  5.5
     1/10/2015    709   RC0089   Owner Operator   Permits                        OR16:2015 - 32986                    8
     1/10/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD            103.07
     1/10/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                   504.72
     1/10/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL       8.75
     1/10/2015    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device            11.35
     1/10/2015    709   RL0017   Owner Operator   Communication Charge           EDGE Usage RL0017                   10
     1/10/2015    709   RL0017   Owner Operator   EOBR Charges                   RouteTrack Usage 21975A              3
     1/10/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                   259.75
     1/10/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                   370.53
     1/10/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     1/10/2015    709   RL0017   Owner Operator   Permits                        IL02:2015 - 21975A                3.75
     1/10/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD       45.32
     1/10/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL             8.75
     1/10/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                    13
     1/10/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                      100
     1/10/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                      100
     1/10/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                  1.16
     1/10/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                  1.29
     1/10/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                   498.89
     1/10/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                   251.55
     1/10/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                   424.94
     1/10/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     1/10/2015    709   RL0062   Owner Operator   Permits                        ID06:2015 - 32912                   11
     1/10/2015    709   RL0062   Owner Operator   Permits                        IL02:2015 - 32912                 3.75
     1/10/2015    709   RL0062   Owner Operator   Permits                        NM07:2015 - 32912                  5.5
     1/10/2015    709   RL0062   Owner Operator   Permits                        OR16:2015 - 32912                    8
     1/10/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             93.15
     1/10/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                   512.16
     1/10/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                              27.48
     1/10/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                 8.75
     1/10/2015    709   RM0026   Owner Operator   Broker Pre Pass                30811A PrePass Device            11.35
     1/10/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                   13
     1/10/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     6.33
     1/10/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                   322.02
     1/10/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                   306.68
     1/10/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     1/10/2015    709   RM0026   Owner Operator   Permits                        ID06:2015 - 30811A                  11
     1/10/2015    709   RM0026   Owner Operator   Permits                        IL02:2015 - 30811A                3.75
     1/10/2015    709   RM0026   Owner Operator   Permits                        NM07:2015 - 30811A                 5.5
     1/10/2015    709   RM0026   Owner Operator   Permits                        OR16:2015 - 30811A                   8
     1/10/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                 13.29
     1/10/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism         2.5
     1/10/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                              11.12
     1/10/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL             8.75
     1/10/2015    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device             11.35
     1/10/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                    13
     1/10/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                   0.3
     1/10/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                  0.24
     1/10/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                   491.54
     1/10/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                   455.79
     1/10/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                    319.1
     1/10/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     1/10/2015    709   SB0009   Owner Operator   Permits                        ID06:2015 - 33236                   11
     1/10/2015    709   SB0009   Owner Operator   Permits                        IL02:2015 - 33236                 3.75
     1/10/2015    709   SB0009   Owner Operator   Permits                        NM07:2015 - 33236                  5.5

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     1/10/2015    709   SB0009   Owner Operator   Permits                        OR16:2015 - 33236                        8
     1/10/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
     1/10/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
     1/10/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
     1/10/2015    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                 11.35
     1/10/2015    709   VB0015   Owner Operator   Communication Charge           EDGE Usage VB0015                       10
     1/10/2015    709   VB0015   Owner Operator   Communication Charge           EDGE Usage VB0015                       10
     1/10/2015    709   VB0015   Owner Operator   EOBR Charges                   RouteTrack Usage q1112                   3
     1/10/2015    709   VB0015   Owner Operator   EOBR Charges                   RouteTrack Usage q1112                   3
     1/10/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     1/10/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     1/10/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.29
     1/10/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.46
     1/10/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.5
     1/10/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.09
     1/10/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                    10.58
     1/10/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1112                       31
     1/10/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     1/10/2015    709   VB0015   Owner Operator   Permits                        ID06:2015 - Q1112                       11
     1/10/2015    709   VB0015   Owner Operator   Permits                        IL02:2015 - Q1112                     3.75
     1/10/2015    709   VB0015   Owner Operator   Permits                        NM07:2015 - Q1112                      5.5
     1/10/2015    709   VB0015   Owner Operator   Permits                        OR16:2015 - Q1112                        8
     1/10/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
     1/10/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 178196 Tractor Sub leas      242.03
     1/10/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 178340 Tractor Sub leas      242.03
     1/10/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 178463 Pay for 70911737    -1192.93
     1/10/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     1/10/2015    709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                 11.35
     1/10/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         8
     1/10/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          120
     1/10/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
     1/10/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.4
     1/10/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.01
     1/10/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.35
     1/10/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       460.36
     1/10/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     1/10/2015    709   VJ0006   Owner Operator   Permits                        ID06:2015 - 32945                       11
     1/10/2015    709   VJ0006   Owner Operator   Permits                        IL02:2015 - 32945                     3.75
     1/10/2015    709   VJ0006   Owner Operator   Permits                        NM07:2015 - 32945                      5.5
     1/10/2015    709   VJ0006   Owner Operator   Permits                        OR16:2015 - 32945                        8
     1/10/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
     1/10/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     1/10/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
     1/10/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   31271 1998 Freightliner NTL           8.75
     1/10/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   31271 1998 Freightliner NTL            -35
     1/10/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   31271 1998 Freightliner NTL            -35
     1/10/2015    709   WB0062   Owner Operator   Communication Charge           EDGE Usage WB0062                       10
     1/10/2015    709   WB0062   Owner Operator   EOBR Charges                   RouteTrack Usage 31271                   3
     1/10/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     1/10/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
     1/10/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
     1/10/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                31271 1998 Freightliner PD           15.63
     1/10/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                31271 1998 Freightliner PD           -62.5
     1/10/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                31271 1998 Freightliner PD           -62.5
     1/10/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                31271 1998 Freightliner PD Ter         -10
     1/10/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                31271 1998 Freightliner PD Ter         -10
     1/10/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                31271 1998 Freightliner PD Ter         2.5
     1/10/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
     1/10/2015    709   WH0073   Owner Operator   Broker Pre Pass                Q1235 PrePass Device                 11.35
     1/10/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
     1/10/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
     1/10/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     1/10/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.28
     1/10/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.35
     1/10/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       409.78
     1/10/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       474.95
     1/10/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                    10.58
     1/10/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2014 - Q1235                       31
     1/10/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     1/10/2015    709   WH0073   Owner Operator   Permits                        ID06:2015 - Q1235                       11
     1/10/2015    709   WH0073   Owner Operator   Permits                        IL02:2015 - Q1235                     3.75
     1/10/2015    709   WH0073   Owner Operator   Permits                        NM07:2015 - Q1235                      5.5
     1/10/2015    709   WH0073   Owner Operator   Permits                        OR16:2015 - Q1235                        8

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     1/10/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD             65.71
     1/10/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 178401 Sub, Sub Lease       396.13
     1/10/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris       0.16
     1/10/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/10/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/10/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/10/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     1/10/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     1/10/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/10/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      418.98
     1/10/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      298.51
     1/10/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      295.12
     1/10/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.4
     1/10/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/10/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/10/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/10/2015    742   BS0030   Owner Operator   Permits                        ID06:2015 - 32947                      11
     1/10/2015    742   BS0030   Owner Operator   Permits                        IL02:2015 - 32947                    3.75
     1/10/2015    742   BS0030   Owner Operator   Permits                        NM07:2015 - 32947                     5.5
     1/10/2015    742   BS0030   Owner Operator   Permits                        OR16:2015 - 32947                       8
     1/10/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       419.4
     1/10/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       369.4
     1/10/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       419.4
     1/10/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                8.75
     1/10/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                8.75
     1/10/2015    742   BS0078   Owner Operator   Broker Pre Pass                32665 PrePass Device                11.35
     1/10/2015    742   BS0078   Owner Operator   Communication Charge           EDGE Usage BS0078                      10
     1/10/2015    742   BS0078   Owner Operator   Communication Charge           EDGE Usage BS0078                      10
     1/10/2015    742   BS0078   Owner Operator   EOBR Charges                   RouteTrack Usage 32665                  3
     1/10/2015    742   BS0078   Owner Operator   EOBR Charges                   RouteTrack Usage 32665                  3
     1/10/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      429.03
     1/10/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      314.26
     1/10/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      238.51
     1/10/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      324.74
     1/10/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      221.35
     1/10/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      325.49
     1/10/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      139.29
     1/10/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       68.12
     1/10/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/10/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/10/2015    742   BS0078   Owner Operator   Permits                        ID06:2015 - 32665                      11
     1/10/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                24.61
     1/10/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                24.61
     1/10/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism           0.16
     1/10/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror       0.16
     1/10/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL            8.75
     1/10/2015    742   FS0011   Owner Operator   Communication Charge           EDGE Usage FS0011                      10
     1/10/2015    742   FS0011   Owner Operator   EOBR Charges                   RouteTrack Usage 51069A                 3
     1/10/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
     1/10/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD            54.69
     1/10/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro        2.5
     1/10/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     1/10/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/10/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/10/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/10/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     1/10/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/10/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.2
     1/10/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      390.09
     1/10/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      406.59
     1/10/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      317.24
     1/10/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/10/2015    742   LL0134   Owner Operator   Permits                        ID06:2015 - 33195                      11
     1/10/2015    742   LL0134   Owner Operator   Permits                        IL02:2015 - 33195                    3.75
     1/10/2015    742   LL0134   Owner Operator   Permits                        NM07:2015 - 33195                     5.5
     1/10/2015    742   LL0134   Owner Operator   Permits                        OR16:2015 - 33195                       8
     1/10/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               117.45
     1/10/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                      554.49
     1/10/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                8 2013 Freightliner PD Terrori       0.02
     1/10/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/10/2015    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                11.35
     1/10/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                       13
     1/10/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        100

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     1/10/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/10/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/10/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.21
     1/10/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     1/10/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      350.51
     1/10/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      231.56
     1/10/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
     1/10/2015    742   PC0012   Owner Operator   Permits                        ID06:2015 - 32969                      11
     1/10/2015    742   PC0012   Owner Operator   Permits                        IL02:2015 - 32969                    3.75
     1/10/2015    742   PC0012   Owner Operator   Permits                        NM07:2015 - 32969                     5.5
     1/10/2015    742   PC0012   Owner Operator   Permits                        OR16:2015 - 32969                       8
     1/10/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               104.38
     1/10/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                      509.18
     1/10/2015    821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     1/10/2015    821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     1/10/2015    821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                       13
     1/10/2015    821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                       13
     1/10/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/10/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/10/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.46
     1/10/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      406.57
     1/10/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      436.05
     1/10/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      265.97
     1/10/2015    821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/10/2015    821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/10/2015    821   JK0112   Owner Operator   Permits                        ID06:2015 - 33211                      11
     1/10/2015    821   JK0112   Owner Operator   Permits                        IL02:2015 - 33211                    3.75
     1/10/2015    821   JK0112   Owner Operator   Permits                        NM07:2015 - 33211                     5.5
     1/10/2015    821   JK0112   Owner Operator   Permits                        OR16:2015 - 33211                       8
     1/10/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               145.99
     1/10/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               145.99
     1/10/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism        2.5
     1/10/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism        2.5
     1/10/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       635.4
     1/10/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       635.4
     1/17/2015    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL         8.75
     1/17/2015    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                      13
     1/17/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                         400
     1/17/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                        4
     1/17/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      282.32
     1/17/2015    709   AN0007   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                     0.18
     1/17/2015    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment      255.72
     1/17/2015    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD          7.82
     1/17/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te        2.5
     1/17/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/17/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        8
     1/17/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      402.19
     1/17/2015    709   CM0119   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                     90.4
     1/17/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.96
     1/17/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     1/17/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                      507.91
     1/17/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                   8.75
     1/17/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                       13
     1/17/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      343.07
     1/17/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      377.86
     1/17/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      363.87
     1/17/2015    709   CR0064   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                    -1.13
     1/17/2015    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      254.51
     1/17/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                   39.07
     1/17/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                      245.63
     1/17/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
     1/17/2015    709   DL0107   Owner Operator   Communication Charge           EDGE Usage DL0107                      10
     1/17/2015    709   DL0107   Owner Operator   EOBR Charges                   RouteTrack Usage Q1245                  3
     1/17/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/17/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.29
     1/17/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      451.24
     1/17/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      513.04
     1/17/2015    709   DL0107   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                   246.99
     1/17/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                   10.58
     1/17/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2014 - Q1245                      31

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     1/17/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                47.5
     1/17/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD           65.71
     1/17/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 178640 Sublease     338.99
     1/17/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                         18.38
     1/17/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL        8.75
     1/17/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                8
     1/17/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                 500
     1/17/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee             5.09
     1/17/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee             0.19
     1/17/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase              615.72
     1/17/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase              413.77
     1/17/2015    709   DS0049   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC             0.18
     1/17/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                47.5
     1/17/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD        92.35
     1/17/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915              512.35
     1/17/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   1990 Peterbilt NTL           8.75
     1/17/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL           8.75
     1/17/2015    709   DS0225   Owner Operator   Communication Charge           EDGE Usage DS0225              10
     1/17/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                  50
     1/17/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase              425.33
     1/17/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase              250.89
     1/17/2015    709   DS0225   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC             0.05
     1/17/2015    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2014 - 33320            100
     1/17/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                47.5
     1/17/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                1990 Peterbilt PD            7.82
     1/17/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD           19.54
     1/17/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL        8.75
     1/17/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                8
     1/17/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                250
     1/17/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                 200
     1/17/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                 200
     1/17/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                2
     1/17/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                2
     1/17/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee             0.24
     1/17/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase              289.27
     1/17/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase               396.8
     1/17/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase              258.77
     1/17/2015    709   EA0003   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC            147.3
     1/17/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                47.5
     1/17/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD       105.47
     1/17/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051              555.56
     1/17/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL        8.75
     1/17/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL        8.75
     1/17/2015    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device        11.35
     1/17/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910               13
     1/17/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910               13
     1/17/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910               13
     1/17/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910               13
     1/17/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                 500
     1/17/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                 500
     1/17/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                5
     1/17/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                5
     1/17/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee             0.14
     1/17/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee             0.18
     1/17/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase              298.58
     1/17/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase              217.42
     1/17/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase              299.66
     1/17/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase              363.14
     1/17/2015    709   EE0011   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC            82.94
     1/17/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg               25.07
     1/17/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                47.5
     1/17/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD        91.92
     1/17/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910              505.27
     1/17/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                8
     1/17/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                250
     1/17/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                 100
     1/17/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                 200
     1/17/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                 200
     1/17/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                2
     1/17/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee             2.35
     1/17/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                1
     1/17/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee             0.17
     1/17/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase              175.63

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     1/17/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      307.12
     1/17/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      186.35
     1/17/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      171.31
     1/17/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.3
     1/17/2015    709   EH0020   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                       73
     1/17/2015    709   EH0020   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment      259.61
     1/17/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.01
     1/17/2015    709   EH0020   Owner Operator   Tire Purchase                  PO: 905-01971992                   131.66
     1/17/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      532.24
     1/17/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        8
     1/17/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/17/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           50
     1/17/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           20
     1/17/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
     1/17/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.5
     1/17/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       49.46
     1/17/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        270
     1/17/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      210.97
     1/17/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       99.52
     1/17/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      140.01
     1/17/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       58.05
     1/17/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                   10.58
     1/17/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2014 - 73129                      31
     1/17/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 178418 73129                181.08
     1/17/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 178598 73129                181.08
     1/17/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                8.75
     1/17/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
     1/17/2015    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.41
     1/17/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      211.68
     1/17/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      281.12
     1/17/2015    709   FV0001   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                    16.68
     1/17/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                82.04
     1/17/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     1/17/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   9588 1995 Freightliner NTL           8.75
     1/17/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware 9588                        13
     1/17/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      112.79
     1/17/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                9588 1995 Freightliner PD           19.22
     1/17/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL              8.75
     1/17/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                       13
     1/17/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      271.85
     1/17/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      261.32
     1/17/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      267.36
     1/17/2015    709   HG0007   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                   149.27
     1/17/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment      254.11
     1/17/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD              15.63
     1/17/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                 21.35
     1/17/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/17/2015    709   IR0002   Owner Operator   Communication Charge           EDGE Usage IR0002                      10
     1/17/2015    709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -50
     1/17/2015    709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -50
     1/17/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      286.47
     1/17/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      307.89
     1/17/2015    709   IR0002   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                   252.87
     1/17/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.64
     1/17/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     1/17/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                      521.95
     1/17/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                 13.98
     1/17/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                 8.75
     1/17/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        8
     1/17/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/17/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/17/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.17
     1/17/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/17/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      472.15
     1/17/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      359.06
     1/17/2015    709   JC0292   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                   423.99
     1/17/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                 78.13

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     1/17/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 43 122014           3
     1/17/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 45 121814           3
     1/17/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210              458.72
     1/17/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL         8.75
     1/17/2015    709   JG0017   Owner Operator   Communication Charge           EDGE Usage JG0017               10
     1/17/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                  500
     1/17/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                   300
     1/17/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                 3
     1/17/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee              0.26
     1/17/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase               311.5
     1/17/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase               26.49
     1/17/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase              354.12
     1/17/2015    709   JG0017   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC             -0.27
     1/17/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                 47.5
     1/17/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD        90.86
     1/17/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908               504.6
     1/17/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL         8.75
     1/17/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL         8.75
     1/17/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909              9.95
     1/17/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                   200
     1/17/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                  46.3
     1/17/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                   200
     1/17/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                   100
     1/17/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee              1.33
     1/17/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                 2
     1/17/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee              2.32
     1/17/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase              478.18
     1/17/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase              504.31
     1/17/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                  6.8
     1/17/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase              492.89
     1/17/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase              449.37
     1/17/2015    709   JG0072   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC           294.84
     1/17/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                 47.5
     1/17/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                 47.5
     1/17/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD        74.22
     1/17/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD        74.22
     1/17/2015    709   JG0072   Owner Operator   Repair Order                   CTMS - 178082 Repair       280.34
     1/17/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909              513.26
     1/17/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909              513.26
     1/17/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL          8.75
     1/17/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL             8.75
     1/17/2015    709   JS0265   Owner Operator   Broker Pre Pass                32298 PrePass Device        11.35
     1/17/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                13
     1/17/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                13
     1/17/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                  100
     1/17/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                  100
     1/17/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                   200
     1/17/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                   200
     1/17/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                 2
     1/17/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                 2
     1/17/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase               94.74
     1/17/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase              343.02
     1/17/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase              403.01
     1/17/2015    709   JS0265   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC              0.18
     1/17/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                 47.5
     1/17/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD         15.94
     1/17/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD              37.5
     1/17/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL         8.75
     1/17/2015    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device        11.35
     1/17/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                 8
     1/17/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                 8
     1/17/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                 8
     1/17/2015    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal           -2000
     1/17/2015    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal             -400
     1/17/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                  250
     1/17/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow               50.07
     1/17/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow               23.43
     1/17/2015    709   KP0004   Owner Operator   Express Check                  T-Check Payment              2000
     1/17/2015    709   KP0004   Owner Operator   Express Check                  T-Check Payment                400
     1/17/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                   100
     1/17/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                 1
     1/17/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee              0.36
     1/17/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee              0.16

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     1/17/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.9
     1/17/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      192.18
     1/17/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      202.29
     1/17/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      345.97
     1/17/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       62.55
     1/17/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      197.84
     1/17/2015    709   KP0004   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                    78.18
     1/17/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.32
     1/17/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     1/17/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                      519.59
     1/17/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL           8.75
     1/17/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                        13
     1/17/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD              45
     1/17/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                    8.75
     1/17/2015    709   LS0023   Owner Operator   Broker Pre Pass                21489A PrePass Device               11.35
     1/17/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                      13
     1/17/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                      13
     1/17/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                        375
     1/17/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                      512.17
     1/17/2015    709   LS0023   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                    -0.13
     1/17/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                    39.07
     1/17/2015    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00313342 - PO System        115.7
     1/17/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                   8.75
     1/17/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                      13
     1/17/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                   70.32
     1/17/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
     1/17/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       13
     1/17/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/17/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/17/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      274.04
     1/17/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      294.87
     1/17/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      429.64
     1/17/2015    709   MM0093   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                    -0.44
     1/17/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                53.13
     1/17/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                      337.19
     1/17/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
     1/17/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
     1/17/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        450
     1/17/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                         280
     1/17/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                     3.06
     1/17/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                      485.43
     1/17/2015    709   MP0035   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                   -91.18
     1/17/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   71.88
     1/17/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
     1/17/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                      323.05
     1/17/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           8.75
     1/17/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
     1/17/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/17/2015    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/17/2015    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     1/17/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      222.97
     1/17/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.3
     1/17/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      398.49
     1/17/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      346.87
     1/17/2015    709   NB0029   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                    21.28
     1/17/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                   10.58
     1/17/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2014 - Q1108                      31
     1/17/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD           35.16
     1/17/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 178713 Lease                215.66
     1/17/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
     1/17/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
     1/17/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           20
     1/17/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                         120
     1/17/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.2
     1/17/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
     1/17/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      184.78

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     1/17/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     364
     1/17/2015    709   NG0005   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                  0.09
     1/17/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     1/17/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD          32.98
     1/17/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL        8.75
     1/17/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                     13
     1/17/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     1/17/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD        28.13
     1/17/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL           8.75
     1/17/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                   270.77
     1/17/2015    709   RC0030   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                408.56
     1/17/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     1/17/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD           39.07
     1/17/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                               62.7
     1/17/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL             8.75
     1/17/2015    709   RC0089   Owner Operator   Communication Charge           EDGE Usage RC0089                   10
     1/17/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                      200
     1/17/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                      300
     1/17/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                  3.36
     1/17/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2
     1/17/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                   282.22
     1/17/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     440
     1/17/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                   117.15
     1/17/2015    709   RC0089   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                 -0.31
     1/17/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     1/17/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD            103.07
     1/17/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                   504.72
     1/17/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL       8.75
     1/17/2015    709   RL0017   Owner Operator   Communication Charge           EDGE Usage RL0017                   10
     1/17/2015    709   RL0017   Owner Operator   EOBR Charges                   RouteTrack Usage 21975A              3
     1/17/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                   290.99
     1/17/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                   313.23
     1/17/2015    709   RL0017   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                 21.16
     1/17/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     1/17/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD       45.32
     1/17/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL             8.75
     1/17/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                    13
     1/17/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                      100
     1/17/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                      100
     1/17/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                  1.14
     1/17/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                   1.3
     1/17/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                   515.05
     1/17/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                   460.36
     1/17/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                   463.27
     1/17/2015    709   RL0062   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                210.92
     1/17/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     1/17/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             93.15
     1/17/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                   512.16
     1/17/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                              27.48
     1/17/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                 8.75
     1/17/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                   13
     1/17/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                   341.17
     1/17/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                    313.2
     1/17/2015    709   RM0026   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                103.32
     1/17/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     1/17/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                 13.29
     1/17/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism         2.5
     1/17/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                              11.12
     1/17/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL             8.75
     1/17/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                    13
     1/17/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                  0.27
     1/17/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                   267.44
     1/17/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                   332.43
     1/17/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                   294.08
     1/17/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                    319.2
     1/17/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                   160.84
     1/17/2015    709   SB0009   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                122.92
     1/17/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     1/17/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD            100.98
     1/17/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                   564.33
     1/17/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL       8.75
     1/17/2015    709   VB0015   Owner Operator   Communication Charge           EDGE Usage VB0015                   10
     1/17/2015    709   VB0015   Owner Operator   EOBR Charges                   RouteTrack Usage q1112               3

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     1/17/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/17/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      354.01
     1/17/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      346.41
     1/17/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      260.33
     1/17/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      153.95
     1/17/2015    709   VB0015   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                   105.93
     1/17/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                   10.58
     1/17/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1112                      31
     1/17/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD           37.5
     1/17/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 178520 Tractor Sub leas     242.03
     1/17/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 178717 Tractor Sub leas     242.03
     1/17/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
     1/17/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        8
     1/17/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/17/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     1/17/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      362.31
     1/17/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      393.15
     1/17/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      491.16
     1/17/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.6
     1/17/2015    709   VJ0006   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                   163.78
     1/17/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                55.47
     1/17/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                       375.9
     1/17/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                8.75
     1/17/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   31271 1998 Freightliner NTL          8.75
     1/17/2015    709   WB0062   Owner Operator   Communication Charge           EDGE Usage WB0062                      10
     1/17/2015    709   WB0062   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -50
     1/17/2015    709   WB0062   Owner Operator   EOBR Charges                   RouteTrack Usage 31271                  3
     1/17/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                56.25
     1/17/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism        2.5
     1/17/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                31271 1998 Freightliner PD          15.63
     1/17/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                31271 1998 Freightliner PD Ter        2.5
     1/17/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL             8.75
     1/17/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                       13
     1/17/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/17/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/17/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      481.45
     1/17/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.5
     1/17/2015    709   WH0073   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                    -9.15
     1/17/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                   10.58
     1/17/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2014 - Q1235                      31
     1/17/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD             65.71
     1/17/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 178600 Sub, Sub Lease       396.13
     1/17/2015    742   BS0030   Owner Operator   Broker Pre Pass                32947 PrePass Device                11.35
     1/17/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        8
     1/17/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        8
     1/17/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        8
     1/17/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        8
     1/17/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                        125
     1/17/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                        125
     1/17/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                        125
     1/17/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                        125
     1/17/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/17/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/17/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/17/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.4
     1/17/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      441.87
     1/17/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      146.71
     1/17/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      409.22
     1/17/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      216.99
     1/17/2015    742   BS0030   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                   123.69
     1/17/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       419.4
     1/17/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                8.75
     1/17/2015    742   BS0078   Owner Operator   Communication Charge           EDGE Usage BS0078                      10
     1/17/2015    742   BS0078   Owner Operator   EOBR Charges                   RouteTrack Usage 32665                  3
     1/17/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       67.29
     1/17/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                24.61
     1/17/2015    742   BS0078   Owner Operator   Tire Fee                       Tire Fee: 1785308                       4

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     1/17/2015    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00314790 - PO System         109
     1/17/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                    8.75
     1/17/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                    8.75
     1/17/2015    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                11.35
     1/17/2015    742   ED0041   Owner Operator   Communication Charge           EDGE Usage ED0041                      10
     1/17/2015    742   ED0041   Owner Operator   Communication Charge           EDGE Usage ED0041                      10
     1/17/2015    742   ED0041   Owner Operator   EOBR Charges                   RouteTrack Usage 32897                  3
     1/17/2015    742   ED0041   Owner Operator   EOBR Charges                   RouteTrack Usage 32897                  3
     1/17/2015    742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.41
     1/17/2015    742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.36
     1/17/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      342.28
     1/17/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      392.82
     1/17/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      269.69
     1/17/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      416.22
     1/17/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      308.92
     1/17/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      433.96
     1/17/2015    742   ED0041   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                    25.47
     1/17/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    742   ED0041   Owner Operator   Permits                        ID06:2015 - 32897                      11
     1/17/2015    742   ED0041   Owner Operator   Permits                        IL02:2015 - 32897                    3.75
     1/17/2015    742   ED0041   Owner Operator   Permits                        NM07:2015 - 32897                     5.5
     1/17/2015    742   ED0041   Owner Operator   Permits                        OR16:2015 - 32897                       8
     1/17/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                    65.36
     1/17/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                    65.36
     1/17/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism            2.5
     1/17/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism           2.34
     1/17/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL            8.75
     1/17/2015    742   FS0011   Owner Operator   Communication Charge           EDGE Usage FS0011                      10
     1/17/2015    742   FS0011   Owner Operator   EOBR Charges                   RouteTrack Usage 51069A                 3
     1/17/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
     1/17/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD            54.69
     1/17/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro        2.5
     1/17/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     1/17/2015    742   LL0134   Owner Operator   Communication Charge           EDGE Usage LL0134                      10
     1/17/2015    742   LL0134   Owner Operator   Communication Charge           EDGE Usage LL0134                      10
     1/17/2015    742   LL0134   Owner Operator   EOBR Charges                   RouteTrack Usage 33195                  3
     1/17/2015    742   LL0134   Owner Operator   EOBR Charges                   RouteTrack Usage 33195                  3
     1/17/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/17/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/17/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.17
     1/17/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/17/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      408.93
     1/17/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      124.81
     1/17/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      388.18
     1/17/2015    742   LL0134   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                    -0.09
     1/17/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               117.45
     1/17/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                      554.49
     1/17/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
     1/17/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
     1/17/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
     1/17/2015    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                11.35
     1/17/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/17/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/17/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/17/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      402.46
     1/17/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      417.18
     1/17/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.9
     1/17/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      314.85
     1/17/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      435.92
     1/17/2015    742   MH0117   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                   -63.65
     1/17/2015    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2014 - 33296                    100
     1/17/2015    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2014 - 33296                    100
     1/17/2015    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2014 - 33296                    100
     1/17/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    742   MH0117   Owner Operator   Permits                        ID06:2015 - 33296                      11
     1/17/2015    742   MH0117   Owner Operator   Permits                        IL02:2015 - 33296                    3.75
     1/17/2015    742   MH0117   Owner Operator   Permits                        NM07:2015 - 33296                     5.5
     1/17/2015    742   MH0117   Owner Operator   Permits                        OR16:2015 - 33296                       8
     1/17/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       65.63

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     1/17/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       65.63
     1/17/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       65.63
     1/17/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
     1/17/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
     1/17/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
     1/17/2015    742   MH0117   Owner Operator   Repair Order                   CTMS - 177878 repair               132.14
     1/17/2015    742   MH0117   Owner Operator   Tire Fee                       Tire Fee: 1782252                      16
     1/17/2015    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00314285 - PO System       413.19
     1/17/2015    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00314285 - PO System       413.19
     1/17/2015    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00314285 - PO System       413.19
     1/17/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL         8.75
     1/17/2015    742   RN0054   Owner Operator   Communication Charge           EDGE Usage RN0054                      10
     1/17/2015    742   RN0054   Owner Operator   EOBR Charges                   RouteTrack Usage q13157                 3
     1/17/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      241.37
     1/17/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                  10.58
     1/17/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2014 - Q13157                     31
     1/17/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD         74.26
     1/17/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te        2.5
     1/17/2015    742   RN0054   Owner Operator   Tractor Fee                    Fee - Q13157                       455.47
     1/17/2015    821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     1/17/2015    821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                       13
     1/17/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/17/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.35
     1/17/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      370.18
     1/17/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      331.89
     1/17/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      165.17
     1/17/2015    821   JK0112   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                    154.3
     1/17/2015    821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/17/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               145.99
     1/17/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism        2.5
     1/17/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       635.4
     1/24/2015    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL         8.75
     1/24/2015    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                      13
     1/24/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                         300
     1/24/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
     1/24/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      207.42
     1/24/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      215.41
     1/24/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        180
     1/24/2015    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment      255.72
     1/24/2015    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD          7.79
     1/24/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te        2.5
     1/24/2015    709   AN0007   Owner Operator   Truck Payment                  CTMS - 178829 tractor rental         100
     1/24/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/24/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                       13
     1/24/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.33
     1/24/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      482.39
     1/24/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      400.67
     1/24/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      200.93
     1/24/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.93
     1/24/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     1/24/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                      507.91
     1/24/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                   8.75
     1/24/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                       13
     1/24/2015    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-31      -23.25
     1/24/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      329.87
     1/24/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      316.68
     1/24/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      413.21
     1/24/2015    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      254.51
     1/24/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                   39.04
     1/24/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                      245.63
     1/24/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL          8.75
     1/24/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL          8.75
     1/24/2015    709   DJ0028   Owner Operator   EOBR Charges                   RouteTrack Usage Q1104                  3
     1/24/2015    709   DJ0028   Owner Operator   EOBR Charges                   RouteTrack Usage Q1104                  3
     1/24/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/24/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/24/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/24/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/24/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                         200

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     1/24/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                            20
     1/24/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
     1/24/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     1/24/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     1/24/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.44
     1/24/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.19
     1/24/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.61
     1/24/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.22
     1/24/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.77
     1/24/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.32
     1/24/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.89
     1/24/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.19
     1/24/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.58
     1/24/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.58
     1/24/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2014 - Q1104                       31
     1/24/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2014 - Q1104                       31
     1/24/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
     1/24/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
     1/24/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
     1/24/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
     1/24/2015    709   DJ0028   Owner Operator   QCER 148 Truck Payments        driver shouldnt be chrg            -508.69
     1/24/2015    709   DJ0028   Owner Operator   Tractor Charge                 08091002 - Q1104                    508.69
     1/24/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 178633 Q1104                 252.11
     1/24/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 178790 Q1104                 252.11
     1/24/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     1/24/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     1/24/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
     1/24/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.12
     1/24/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                    10.58
     1/24/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2014 - Q1245                       31
     1/24/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     1/24/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    65.69
     1/24/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 178836 Sublease              338.99
     1/24/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
     1/24/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     1/24/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
     1/24/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
     1/24/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     1/24/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.34
     1/24/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.28
     1/24/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.29
     1/24/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     1/24/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
     1/24/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
     1/24/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   1990 Peterbilt NTL                    8.75
     1/24/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
     1/24/2015    709   DS0225   Owner Operator   Communication Charge           EDGE Usage DS0225                       10
     1/24/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
     1/24/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.87
     1/24/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       374.38
     1/24/2015    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2014 - 33320                     100
     1/24/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     1/24/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                1990 Peterbilt PD                     7.79
     1/24/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.51
     1/24/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     1/24/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
     1/24/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
     1/24/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     1/24/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.28
     1/24/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       513.78
     1/24/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.4
     1/24/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     1/24/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
     1/24/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
     1/24/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     1/24/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
     1/24/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
     1/24/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
     1/24/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.29
     1/24/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
     1/24/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     1/24/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.68
     1/24/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.48

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     1/24/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     385.37
     1/24/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     178.16
     1/24/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/24/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.91
     1/24/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                     505.27
     1/24/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                     230.68
     1/24/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/24/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
     1/24/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     1/24/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
     1/24/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.38
     1/24/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     218.94
     1/24/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     202.23
     1/24/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     357.42
     1/24/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     183.66
     1/24/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     255.26
     1/24/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      37.69
     1/24/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/24/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93
     1/24/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                     532.24
     1/24/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                       8
     1/24/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                         50
     1/24/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          75
     1/24/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          50
     1/24/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.5
     1/24/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.75
     1/24/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      85.08
     1/24/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     112.12
     1/24/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      50.03
     1/24/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     195.39
     1/24/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                  10.58
     1/24/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2014 - 73129                     31
     1/24/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 178794 73129               181.08
     1/24/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL               8.75
     1/24/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                     13
     1/24/2015    709   FV0001   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-31       -200
     1/24/2015    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.27
     1/24/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     195.18
     1/24/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     324.41
     1/24/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     229.99
     1/24/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/24/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD               82.01
     1/24/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                 4.75
     1/24/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   9588 1995 Freightliner NTL          8.75
     1/24/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL         8.75
     1/24/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       8
     1/24/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                         50
     1/24/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      281.1
     1/24/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      80.48
     1/24/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                  10.58
     1/24/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1110                     31
     1/24/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/24/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                9588 1995 Freightliner PD          19.22
     1/24/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD         39.07
     1/24/2015    709   GS0015   Owner Operator   Repair Order                   CTMS - 178744 Towing                 125
     1/24/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 178738 Lease               252.11
     1/24/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 178739 Tractor rental         240
     1/24/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 178910 Lease               252.11
     1/24/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL             8.75
     1/24/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                      13
     1/24/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
     1/24/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     309.76
     1/24/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     310.57
     1/24/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     280.42
     1/24/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     413.22
     1/24/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment     254.11
     1/24/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     1/24/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD             15.61
     1/24/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                  8.75
     1/24/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                  54.69

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     1/24/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                 21.34
     1/24/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/24/2015    709   IR0002   Owner Operator   Communication Charge           EDGE Usage IR0002                      10
     1/24/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      257.43
     1/24/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      340.52
     1/24/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      314.27
     1/24/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.64
     1/24/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     1/24/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                      521.95
     1/24/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                 13.96
     1/24/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                 8.75
     1/24/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                       13
     1/24/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.21
     1/24/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/24/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      488.37
     1/24/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      373.86
     1/24/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                 78.11
     1/24/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                      458.72
     1/24/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/24/2015    709   JG0017   Owner Operator   Communication Charge           EDGE Usage JG0017                      10
     1/24/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                        500
     1/24/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                         300
     1/24/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
     1/24/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.19
     1/24/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.4
     1/24/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.4
     1/24/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                90.85
     1/24/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                       504.6
     1/24/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/24/2015    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                11.35
     1/24/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                       13
     1/24/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                       13
     1/24/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                       13
     1/24/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                       13
     1/24/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                     3.05
     1/24/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/24/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.3
     1/24/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      426.15
     1/24/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      457.49
     1/24/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                74.22
     1/24/2015    709   JG0072   Owner Operator   Repair Order                   CTMS - 178744 Repair               280.34
     1/24/2015    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00312514 - PO System        37.41
     1/24/2015    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00312514 - PO System        37.36
     1/24/2015    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00312719 - PO System        39.26
     1/24/2015    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00312719 - PO System        39.31
     1/24/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                      513.26
     1/24/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                 8.75
     1/24/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                    8.75
     1/24/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                       13
     1/24/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                        100
     1/24/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/24/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/24/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        275
     1/24/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      222.72
     1/24/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      453.71
     1/24/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                 15.93
     1/24/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                     37.5
     1/24/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/24/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                       13
     1/24/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                        250
     1/24/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/24/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1

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     1/24/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.23
     1/24/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      370.98
     1/24/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      222.55
     1/24/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        232
     1/24/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      400.02
     1/24/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      198.44
     1/24/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.32
     1/24/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     1/24/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                      519.59
     1/24/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL           8.75
     1/24/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                        13
     1/24/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD              45
     1/24/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                    8.75
     1/24/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                      13
     1/24/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                        375
     1/24/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/24/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     1/24/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                      376.73
     1/24/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                      251.14
     1/24/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                      255.95
     1/24/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                    39.04
     1/24/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                   8.75
     1/24/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                      13
     1/24/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                   70.29
     1/24/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
     1/24/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       13
     1/24/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/24/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     1/24/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      251.24
     1/24/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      211.82
     1/24/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      265.62
     1/24/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                53.11
     1/24/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                      337.19
     1/24/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
     1/24/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
     1/24/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        450
     1/24/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                         280
     1/24/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.8
     1/24/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                      588.29
     1/24/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   71.86
     1/24/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
     1/24/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                      323.05
     1/24/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           8.75
     1/24/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
     1/24/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/24/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      215.99
     1/24/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.5
     1/24/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                   10.58
     1/24/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2014 - Q1108                      31
     1/24/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD           35.15
     1/24/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 178911 Lease                215.66
     1/24/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
     1/24/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
     1/24/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                         120
     1/24/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.2
     1/24/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      280.16
     1/24/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        115
     1/24/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.97
     1/24/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL           8.75
     1/24/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                        13
     1/24/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD           28.11
     1/24/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL              8.75
     1/24/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD              39.04

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     1/24/2015    709   RC0030   Owner Operator   Tire Fee                       Tire Fee: 1788077                       4
     1/24/2015    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00315305 - PO System       111.07
     1/24/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                 62.69
     1/24/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/24/2015    709   RC0089   Owner Operator   Communication Charge           EDGE Usage RC0089                      10
     1/24/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         300
     1/24/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                     3.24
     1/24/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/24/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      301.33
     1/24/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      108.55
     1/24/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      279.88
     1/24/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               103.05
     1/24/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                      504.72
     1/24/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL          8.75
     1/24/2015    709   RL0017   Owner Operator   Communication Charge           EDGE Usage RL0017                      10
     1/24/2015    709   RL0017   Owner Operator   EOBR Charges                   RouteTrack Usage 21975A                 3
     1/24/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      459.84
     1/24/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      200.06
     1/24/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD          45.29
     1/24/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/24/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                       13
     1/24/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/24/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/24/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/24/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.14
     1/24/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.15
     1/24/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.15
     1/24/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      446.94
     1/24/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      472.24
     1/24/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      449.93
     1/24/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.13
     1/24/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                      512.16
     1/24/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                 27.46
     1/24/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                    8.75
     1/24/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                      13
     1/24/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      326.43
     1/24/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      296.88
     1/24/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                    13.26
     1/24/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism            2.5
     1/24/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
     1/24/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     1/24/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                       13
     1/24/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.35
     1/24/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      319.82
     1/24/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      205.04
     1/24/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      367.37
     1/24/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               100.98
     1/24/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                      564.33
     1/24/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL          8.75
     1/24/2015    709   VB0015   Owner Operator   Communication Charge           EDGE Usage VB0015                      10
     1/24/2015    709   VB0015   Owner Operator   EOBR Charges                   RouteTrack Usage q1112                  3
     1/24/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/24/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      268.99
     1/24/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      313.62
     1/24/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      395.62
     1/24/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                   10.58
     1/24/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1112                      31
     1/24/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD           37.5
     1/24/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 178915 Tractor Sub leas     242.03
     1/24/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
     1/24/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                55.47
     1/24/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                      274.09
     1/24/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                8.75
     1/24/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   31271 1998 Freightliner NTL          8.75
     1/24/2015    709   WB0062   Owner Operator   Communication Charge           EDGE Usage WB0062                      10

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     1/24/2015    709   WB0062   Owner Operator   EOBR Charges                   RouteTrack Usage 31271                  3
     1/24/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                56.25
     1/24/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism        2.5
     1/24/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                31271 1998 Freightliner PD          15.61
     1/24/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                31271 1998 Freightliner PD Ter        2.5
     1/24/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL             8.75
     1/24/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                       13
     1/24/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.33
     1/24/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.27
     1/24/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      447.28
     1/24/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      487.68
     1/24/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                   10.58
     1/24/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2014 - Q1235                      31
     1/24/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD             65.69
     1/24/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 178793 Sub, Sub Lease       396.13
     1/24/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                    8.75
     1/24/2015    742   ED0041   Owner Operator   Communication Charge           EDGE Usage ED0041                      10
     1/24/2015    742   ED0041   Owner Operator   EOBR Charges                   RouteTrack Usage 32897                  3
     1/24/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      163.46
     1/24/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                    65.34
     1/24/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism            2.5
     1/24/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL             8.75
     1/24/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL             8.75
     1/24/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL             8.75
     1/24/2015    742   EN0016   Owner Operator   Broker Pre Pass                32674 PrePass Device                11.35
     1/24/2015    742   EN0016   Owner Operator   Communication Charge           EDGE Usage EN0016                      10
     1/24/2015    742   EN0016   Owner Operator   Communication Charge           EDGE Usage EN0016                      10
     1/24/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        8
     1/24/2015    742   EN0016   Owner Operator   EOBR Charges                   RouteTrack Usage 32674                  3
     1/24/2015    742   EN0016   Owner Operator   EOBR Charges                   RouteTrack Usage 32674                  3
     1/24/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      246.17
     1/24/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      291.97
     1/24/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      394.86
     1/24/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      294.88
     1/24/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      182.47
     1/24/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      385.61
     1/24/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       63.59
     1/24/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    742   EN0016   Owner Operator   Permits                        ID06:2015 - 32674                      11
     1/24/2015    742   EN0016   Owner Operator   Permits                        NM07:2015 - 32674                     5.5
     1/24/2015    742   EN0016   Owner Operator   Permits                        OR16:2015 - 32674                       8
     1/24/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD             24.61
     1/24/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD             24.61
     1/24/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD             24.61
     1/24/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror        2.5
     1/24/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror        2.5
     1/24/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror       2.34
     1/24/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL            8.75
     1/24/2015    742   FS0011   Owner Operator   Communication Charge           EDGE Usage FS0011                      10
     1/24/2015    742   FS0011   Owner Operator   EOBR Charges                   RouteTrack Usage 51069A                 3
     1/24/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.74
     1/24/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD            54.68
     1/24/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro        2.5
     1/24/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     1/24/2015    742   LL0134   Owner Operator   Communication Charge           EDGE Usage LL0134                      10
     1/24/2015    742   LL0134   Owner Operator   EOBR Charges                   RouteTrack Usage 33195                  3
     1/24/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/24/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.18
     1/24/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      278.91
     1/24/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      404.39
     1/24/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               117.45
     1/24/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                      554.49
     1/24/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
     1/24/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/24/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.9

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     1/24/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      283.39
     1/24/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      332.52
     1/24/2015    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2014 - 33296                    100
     1/24/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       65.61
     1/24/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
     1/24/2015    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00314285 - PO System       413.19
     1/24/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   8 2013 Freightliner NTL              8.75
     1/24/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   8 2013 Freightliner NTL              8.75
     1/24/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   8 2013 Freightliner NTL              8.75
     1/24/2015    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                11.35
     1/24/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/24/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/24/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/24/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       546.3
     1/24/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                      378.02
     1/24/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                      324.98
     1/24/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                      414.63
     1/24/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/24/2015    742   NG0024   Owner Operator   Permits                        ID06:2015 - 33252                      11
     1/24/2015    742   NG0024   Owner Operator   Permits                        NM07:2015 - 33252                     5.5
     1/24/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                8 2013 Freightliner PD             100.79
     1/24/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                8 2013 Freightliner PD             100.79
     1/24/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                8 2013 Freightliner PD             100.76
     1/24/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                8 2013 Freightliner PD Terrori        2.5
     1/24/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                8 2013 Freightliner PD Terrori       2.48
     1/24/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                8 2013 Freightliner PD Terrori        2.5
     1/24/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 178651 repair                 100
     1/24/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 178897 repair                 100
     1/24/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/24/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     1/24/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                       13
     1/24/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                       13
     1/24/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        100
     1/24/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        100
     1/24/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/24/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/24/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
     1/24/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.07
     1/24/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.14
     1/24/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.27
     1/24/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/24/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      269.69
     1/24/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      210.25
     1/24/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      300.11
     1/24/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      194.43
     1/24/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      410.49
     1/24/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      227.79
     1/24/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.9
     1/24/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      403.11
     1/24/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      317.51
     1/24/2015    742   PC0012   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                    47.12
     1/24/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
     1/24/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.74
     1/24/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               104.35
     1/24/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               104.38
     1/24/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                      509.18
     1/24/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                      509.18
     1/24/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL         8.75
     1/24/2015    742   RN0054   Owner Operator   Communication Charge           EDGE Usage RN0054                      10
     1/24/2015    742   RN0054   Owner Operator   EOBR Charges                   RouteTrack Usage q13157                 3
     1/24/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/24/2015    742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.21
     1/24/2015    742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.13
     1/24/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      281.03
     1/24/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      337.48
     1/24/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      196.64
     1/24/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.3
     1/24/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                  10.58

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     1/24/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2014 - Q13157                      31
     1/24/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     1/24/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
     1/24/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     1/24/2015    742   RN0054   Owner Operator   QCER 148 Truck Payments        drvr shouldnt be charged aff       -455.47
     1/24/2015    821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     1/24/2015    821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     1/24/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     1/24/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.28
     1/24/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.23
     1/24/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       467.48
     1/24/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.26
     1/24/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       449.17
     1/24/2015    821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     1/24/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
     1/24/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     1/24/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     1/31/2015    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     1/31/2015    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment       255.72
     1/31/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     1/31/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       458.82
     1/31/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     1/31/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     1/31/2015    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-24         23.25
     1/31/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.07
     1/31/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.26
     1/31/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.87
     1/31/2015    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       254.51
     1/31/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
     1/31/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
     1/31/2015    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
     1/31/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
     1/31/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                            30
     1/31/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
     1/31/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     1/31/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.3
     1/31/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.56
     1/31/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.79
     1/31/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       353.05
     1/31/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.53
     1/31/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.86
     1/31/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.58
     1/31/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2014 - Q1104                       31
     1/31/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
     1/31/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
     1/31/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 178993 Q1104                 252.11
     1/31/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     1/31/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
     1/31/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.19
     1/31/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       554.28
     1/31/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       433.02
     1/31/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                    10.58
     1/31/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2014 - Q1245                       31
     1/31/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 179024 Sublease              338.99
     1/31/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
     1/31/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
     1/31/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                      5.03
     1/31/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.32
     1/31/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.69
     1/31/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
     1/31/2015    709   DS0225   Owner Operator   Communication Charge           EDGE Usage DS0225                       10
     1/31/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
     1/31/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       499.33
     1/31/2015    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2014 - 33320                     100
     1/31/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
     1/31/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
     1/31/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     1/31/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     1/31/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     1/31/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     1/31/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.27
     1/31/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        206.3
     1/31/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       464.39

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     1/31/2015    709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                       35.61
     1/31/2015    709   EA0003   Owner Operator   Tractor Charge          16439 - 33051                      555.56
     1/31/2015    709   EE0011   Owner Operator   Communication Charge    PNet Hware 32910                       13
     1/31/2015    709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance                         100
     1/31/2015    709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
     1/31/2015    709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance Fee                     0.34
     1/31/2015    709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance Fee                     0.16
     1/31/2015    709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                       192.2
     1/31/2015    709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                      480.61
     1/31/2015    709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                      393.01
     1/31/2015    709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                      322.25
     1/31/2015    709   EE0011   Owner Operator   Tractor Charge          14619 - 32910                      505.27
     1/31/2015    709   EH0020   Owner Operator   Communication Charge    PNet Hware 33065                       13
     1/31/2015    709   EH0020   Owner Operator   Communication Charge    PNet Hware 33065                       13
     1/31/2015    709   EH0020   Owner Operator   ESCROW                  Weekly Escrow                        250
     1/31/2015    709   EH0020   Owner Operator   ESCROW                  Weekly Escrow                       19.32
     1/31/2015    709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance                         200
     1/31/2015    709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance                         200
     1/31/2015    709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance                         100
     1/31/2015    709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
     1/31/2015    709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance Fee                      2.2
     1/31/2015    709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
     1/31/2015    709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                       333.9
     1/31/2015    709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                      169.27
     1/31/2015    709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                      205.04
     1/31/2015    709   EH0020   Owner Operator   Tire Purchase           PO: 905-01971992                   131.64
     1/31/2015    709   EH0020   Owner Operator   Tractor Charge          16433 - 33065                      532.24
     1/31/2015    709   FT0004   Owner Operator   Communication Charge    PNet Hware 73129                        8
     1/31/2015    709   FT0004   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 2-7      -351.94
     1/31/2015    709   FT0004   Owner Operator   ESCROW                  Weekly Escrow                          50
     1/31/2015    709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance                         100
     1/31/2015    709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance                         200
     1/31/2015    709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance                         120
     1/31/2015    709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                      1.2
     1/31/2015    709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                     0.12
     1/31/2015    709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
     1/31/2015    709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                     0.24
     1/31/2015    709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
     1/31/2015    709   FT0004   Owner Operator   Fuel Purchase           Fuel Purchase                      259.89
     1/31/2015    709   FT0004   Owner Operator   Fuel Purchase           Fuel Purchase                      245.45
     1/31/2015    709   FT0004   Owner Operator   Fuel Purchase           Fuel Purchase                        23.8
     1/31/2015    709   FT0004   Owner Operator   Fuel Purchase           Fuel Purchase                      101.31
     1/31/2015    709   FT0004   Owner Operator   Fuel Purchase           Fuel Purchase                       75.97
     1/31/2015    709   FT0004   Owner Operator   Fuel Purchase           Fuel Purchase                      250.26
     1/31/2015    709   FT0004   Owner Operator   Highway Use Tax         HUTC:2015 - 73129                   10.58
     1/31/2015    709   FT0004   Owner Operator   IRP License Deduction   LCIL:2014 - 73129                      31
     1/31/2015    709   FT0004   Owner Operator   Truck Payment           CTMS - 178993 73129                181.08
     1/31/2015    709   FV0001   Owner Operator   Communication Charge    PNet Hware 21521B                      13
     1/31/2015    709   FV0001   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 1-24         200
     1/31/2015    709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                       416.9
     1/31/2015    709   GS0015   Owner Operator   BOBTAIL INS.            Q1110 2011 Freightliner NTL          8.75
     1/31/2015    709   GS0015   Owner Operator   Communication Charge    PNet Hware Q1110                        8
     1/31/2015    709   GS0015   Owner Operator   ESCROW                  Weekly Escrow                          50
     1/31/2015    709   GS0015   Owner Operator   Fuel Purchase           Fuel Purchase                      140.39
     1/31/2015    709   GS0015   Owner Operator   Fuel Purchase           Fuel Purchase                      103.34
     1/31/2015    709   GS0015   Owner Operator   Highway Use Tax         HUTC:2015 - Q1110                   10.58
     1/31/2015    709   GS0015   Owner Operator   IRP License Deduction   LCIL:2014 - Q1110                      31
     1/31/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE         Q1110 2011 Freightliner PD          39.07
     1/31/2015    709   GS0015   Owner Operator   Repair Order            CTMS - 178941 Towing                 125
     1/31/2015    709   GS0015   Owner Operator   Truck Payment           CTMS - 179106 Lease                252.11
     1/31/2015    709   HG0007   Owner Operator   Communication Charge    PNet Hware 33180                       13
     1/31/2015    709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance                         200
     1/31/2015    709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
     1/31/2015    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                      302.36
     1/31/2015    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                      287.93
     1/31/2015    709   HG0007   Owner Operator   Loan Repayment          Loan # 00007 - Loan Repayment      254.11
     1/31/2015    709   HG0027   Owner Operator   BOBTAIL INS.            2011 Peterbilt NTL                   8.75
     1/31/2015    709   HG0027   Owner Operator   ESCROW                  Weekly Escrow                          50
     1/31/2015    709   HG0027   Owner Operator   Express Check           advance                           1603.23
     1/31/2015    709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance                         100
     1/31/2015    709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
     1/31/2015    709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance Fee                     0.36
     1/31/2015    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                      296.99

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     1/31/2015    709   HG0027   Owner Operator   Fuel Purchase          Fuel Purchase             439.53
     1/31/2015    709   HG0027   Owner Operator   Fuel Purchase          Fuel Purchase             524.62
     1/31/2015    709   HG0027   Owner Operator   Miscellaneous          void stmt only          -1603.23
     1/31/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE        2011 Peterbilt PD          54.69
     1/31/2015    709   IR0002   Owner Operator   Communication Charge   EDGE Usage IR0002             10
     1/31/2015    709   IR0002   Owner Operator   Fuel Purchase          Fuel Purchase             289.08
     1/31/2015    709   IR0002   Owner Operator   Tractor Charge         14461 - 32901             521.95
     1/31/2015    709   JC0292   Owner Operator   Communication Charge   PNet Hware q1210              13
     1/31/2015    709   JC0292   Owner Operator   Fuel Card Advances     Cash Advance                 200
     1/31/2015    709   JC0292   Owner Operator   Fuel Card Advances     Cash Advance                 100
     1/31/2015    709   JC0292   Owner Operator   Fuel Card Advances     Cash Advance                 200
     1/31/2015    709   JC0292   Owner Operator   Fuel Card Advances     Cash Advance Fee            2.15
     1/31/2015    709   JC0292   Owner Operator   Fuel Card Advances     Cash Advance Fee               1
     1/31/2015    709   JC0292   Owner Operator   Fuel Card Advances     Cash Advance Fee            2.21
     1/31/2015    709   JC0292   Owner Operator   Fuel Purchase          Fuel Purchase             430.18
     1/31/2015    709   JC0292   Owner Operator   Fuel Purchase          Fuel Purchase             395.37
     1/31/2015    709   JC0292   Owner Operator   Fuel Purchase          Fuel Purchase             529.66
     1/31/2015    709   JC0292   Owner Operator   Repair Order           CTMS - 179079 repair       105.6
     1/31/2015    709   JC0292   Owner Operator   Tractor Charge         51362 - Q1210             458.72
     1/31/2015    709   JG0017   Owner Operator   Communication Charge   PNet Hware 32908              13
     1/31/2015    709   JG0017   Owner Operator   ESCROW                 Escrow Withdrawal          -1000
     1/31/2015    709   JG0017   Owner Operator   ESCROW                 Weekly Escrow                500
     1/31/2015    709   JG0017   Owner Operator   Express Check          T-Check Payment             1000
     1/31/2015    709   JG0017   Owner Operator   Fuel Card Advances     Cash Advance                 300
     1/31/2015    709   JG0017   Owner Operator   Fuel Card Advances     Cash Advance Fee               3
     1/31/2015    709   JG0017   Owner Operator   Fuel Card Advances     Cash Advance Fee            0.14
     1/31/2015    709   JG0017   Owner Operator   Fuel Purchase          Fuel Purchase             218.44
     1/31/2015    709   JG0017   Owner Operator   Fuel Purchase          Fuel Purchase             401.62
     1/31/2015    709   JG0017   Owner Operator   Tractor Charge         14298 - 32908              504.6
     1/31/2015    709   JG0072   Owner Operator   Communication Charge   PNet Hware 32909              13
     1/31/2015    709   JG0072   Owner Operator   Fuel Card Advances     Cash Advance                 200
     1/31/2015    709   JG0072   Owner Operator   Fuel Card Advances     Cash Advance                 200
     1/31/2015    709   JG0072   Owner Operator   Fuel Card Advances     Cash Advance                 100
     1/31/2015    709   JG0072   Owner Operator   Fuel Card Advances     Cash Advance Fee               1
     1/31/2015    709   JG0072   Owner Operator   Fuel Card Advances     Cash Advance Fee               2
     1/31/2015    709   JG0072   Owner Operator   Fuel Card Advances     Cash Advance Fee            2.32
     1/31/2015    709   JG0072   Owner Operator   Fuel Purchase          Fuel Purchase             434.86
     1/31/2015    709   JG0072   Owner Operator   Fuel Purchase          Fuel Purchase             428.65
     1/31/2015    709   JG0072   Owner Operator   Fuel Purchase          Fuel Purchase             448.23
     1/31/2015    709   JG0072   Owner Operator   Tractor Charge         14534 - 32909             513.26
     1/31/2015    709   JS0265   Owner Operator   Communication Charge   PNet Hware 33325              13
     1/31/2015    709   JS0265   Owner Operator   ESCROW                 Weekly Escrow                100
     1/31/2015    709   JS0265   Owner Operator   Fuel Card Advances     Cash Advance                 200
     1/31/2015    709   JS0265   Owner Operator   Fuel Card Advances     Cash Advance Fee               2
     1/31/2015    709   JS0265   Owner Operator   Fuel Purchase          Fuel Purchase             321.49
     1/31/2015    709   KP0004   Owner Operator   Communication Charge   PNet Hware 32914              13
     1/31/2015    709   KP0004   Owner Operator   ESCROW                 Weekly Escrow                250
     1/31/2015    709   KP0004   Owner Operator   Fuel Purchase          Fuel Purchase                217
     1/31/2015    709   KP0004   Owner Operator   Fuel Purchase          Fuel Purchase             365.04
     1/31/2015    709   KP0004   Owner Operator   Fuel Purchase          Fuel Purchase             296.67
     1/31/2015    709   KP0004   Owner Operator   Tractor Charge         14457 - 32914             519.59
     1/31/2015    709   LL0160   Owner Operator   Communication Charge   PNet Hware 9590               13
     1/31/2015    709   LS0023   Owner Operator   Communication Charge   PNet Hware 21489A             13
     1/31/2015    709   LS0023   Owner Operator   ESCROW                 Escrow Withdrawal          -2500
     1/31/2015    709   LS0023   Owner Operator   ESCROW                 Weekly Escrow                500
     1/31/2015    709   LS0023   Owner Operator   Express Check          T-Check Payment             2500
     1/31/2015    709   LS0023   Owner Operator   Fuel Card Advances     Cash Advance                 200
     1/31/2015    709   LS0023   Owner Operator   Fuel Card Advances     Cash Advance Fee               2
     1/31/2015    709   LS0023   Owner Operator   Fuel Purchase          Fuel Purchase              601.8
     1/31/2015    709   MB0048   Owner Operator   Communication Charge   PNet Hware 21727b             13
     1/31/2015    709   MM0093   Owner Operator   Communication Charge   PNet Hware 32931              13
     1/31/2015    709   MM0093   Owner Operator   Fuel Purchase          Fuel Purchase             380.62
     1/31/2015    709   MM0093   Owner Operator   Fuel Purchase          Fuel Purchase             256.42
     1/31/2015    709   MM0093   Owner Operator   Fuel Purchase          Fuel Purchase              75.85
     1/31/2015    709   MM0093   Owner Operator   Fuel Purchase          Fuel Purchase             187.52
     1/31/2015    709   MM0093   Owner Operator   Tractor Charge         16434 - 32931             337.19
     1/31/2015    709   MP0035   Owner Operator   Communication Charge   PNet Hware 32904              13
     1/31/2015    709   MP0035   Owner Operator   ESCROW                 Weekly Escrow                450
     1/31/2015    709   MP0035   Owner Operator   Fuel Card Advances     Cash Advance                 280
     1/31/2015    709   MP0035   Owner Operator   Fuel Card Advances     Cash Advance Fee             2.8
     1/31/2015    709   MP0035   Owner Operator   Fuel Purchase          Fuel Purchase              294.7
     1/31/2015    709   MP0035   Owner Operator   Tractor Charge         15571 - 32904             323.05
     1/31/2015    709   NB0029   Owner Operator   Communication Charge   PNet Hware Q1108              13

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     1/31/2015    709   NB0029   Owner Operator   ESCROW                  Weekly Escrow                          50
     1/31/2015    709   NB0029   Owner Operator   Highway Use Tax         HUTC:2015 - Q1108                   10.58
     1/31/2015    709   NB0029   Owner Operator   IRP License Deduction   LCIL:2014 - Q1108                      31
     1/31/2015    709   NB0029   Owner Operator   Truck Payment           CTMS - 179099 Lease                215.66
     1/31/2015    709   NG0005   Owner Operator   Communication Charge    PNet Hware 21412B                      13
     1/31/2015    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance                           60
     1/31/2015    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance                           80
     1/31/2015    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance Fee                      0.8
     1/31/2015    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance Fee                      0.6
     1/31/2015    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                      153.84
     1/31/2015    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                      265.22
     1/31/2015    709   NT9564   Owner Operator   Communication Charge    PNet Hware 9564                        13
     1/31/2015    709   RC0030   Owner Operator   Tire Fee                Tire Fee: 1789688                      16
     1/31/2015    709   RC0030   Owner Operator   Tire Purchase           PO: 709-00315305 - PO System       111.07
     1/31/2015    709   RC0030   Owner Operator   Tire Purchase           PO: 709-00315405 - PO System       382.22
     1/31/2015    709   RC0089   Owner Operator   Communication Charge    EDGE Usage RC0089                      10
     1/31/2015    709   RC0089   Owner Operator   Fuel Card Advances      Cash Advance                         500
     1/31/2015    709   RC0089   Owner Operator   Fuel Card Advances      Cash Advance Fee                     5.13
     1/31/2015    709   RC0089   Owner Operator   Fuel Purchase           Fuel Purchase                      444.16
     1/31/2015    709   RC0089   Owner Operator   Fuel Purchase           Fuel Purchase                      102.56
     1/31/2015    709   RC0089   Owner Operator   Tractor Charge          14592 - 32986                      504.72
     1/31/2015    709   RL0017   Owner Operator   Communication Charge    EDGE Usage RL0017                      10
     1/31/2015    709   RL0017   Owner Operator   EOBR Charges            RouteTrack Usage 21975A                 3
     1/31/2015    709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                      381.08
     1/31/2015    709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                      310.16
     1/31/2015    709   RL0017   Owner Operator   Tire Fee                Tire Fee: 1790096                      24
     1/31/2015    709   RL0017   Owner Operator   Tire Purchase           PO: 709-00315307 - PO System       508.09
     1/31/2015    709   RL0062   Owner Operator   Communication Charge    PNet Hware 32912                       13
     1/31/2015    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                         100
     1/31/2015    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                         100
     1/31/2015    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                         100
     1/31/2015    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                     1.14
     1/31/2015    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                     1.14
     1/31/2015    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                     1.14
     1/31/2015    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                      429.27
     1/31/2015    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                      436.14
     1/31/2015    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                      443.94
     1/31/2015    709   RL0062   Owner Operator   Tractor Charge          14460 - 32912                      512.16
     1/31/2015    709   RM0026   Owner Operator   Communication Charge    PNet Hware 30811A                      13
     1/31/2015    709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                      380.07
     1/31/2015    709   SB0009   Owner Operator   Communication Charge    PNet Hware 33236                       13
     1/31/2015    709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance Fee                     0.31
     1/31/2015    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                      142.52
     1/31/2015    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                      283.32
     1/31/2015    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                      149.98
     1/31/2015    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                      269.64
     1/31/2015    709   SB0009   Owner Operator   Tractor Charge          19100 - 33236                      564.33
     1/31/2015    709   VB0015   Owner Operator   Communication Charge    EDGE Usage VB0015                      10
     1/31/2015    709   VB0015   Owner Operator   EOBR Charges            RouteTrack Usage q1112                  3
     1/31/2015    709   VB0015   Owner Operator   ESCROW                  Weekly Escrow                          50
     1/31/2015    709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                      386.02
     1/31/2015    709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                      314.29
     1/31/2015    709   VB0015   Owner Operator   Highway Use Tax         HUTC:2015 - Q1112                   10.58
     1/31/2015    709   VB0015   Owner Operator   IRP License Deduction   LCIL:2014 - Q1112                      31
     1/31/2015    709   VB0015   Owner Operator   Truck Payment           CTMS - 179103 Tractor Sub leas     242.03
     1/31/2015    709   VJ0006   Owner Operator   Communication Charge    PNet Hware 32945                       13
     1/31/2015    709   VJ0006   Owner Operator   Communication Charge    PNet Hware 32945                       13
     1/31/2015    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                         150
     1/31/2015    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                         150
     1/31/2015    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                      1.5
     1/31/2015    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                      1.5
     1/31/2015    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                      283.18
     1/31/2015    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                      207.86
     1/31/2015    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                      283.31
     1/31/2015    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                      274.89
     1/31/2015    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                      179.84
     1/31/2015    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                      269.73
     1/31/2015    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                       160.8
     1/31/2015    709   VJ0006   Owner Operator   Tractor Charge          16453 - 32945                       375.9
     1/31/2015    709   VJ0006   Owner Operator   Tractor Charge          16453 - 32945                      101.81
     1/31/2015    709   WB0062   Owner Operator   Communication Charge    PNet Hware 33407                       13
     1/31/2015    709   WB0062   Owner Operator   EOBR Charges            RouteTrack Usage 31271                  3
     1/31/2015    709   WH0073   Owner Operator   Fuel Card Advances      Cash Advance Fee                     0.28

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     1/31/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      319.97
     1/31/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       71.22
     1/31/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      385.11
     1/31/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                   10.58
     1/31/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2014 - Q1235                      31
     1/31/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL               8.75
     1/31/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL               8.75
     1/31/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL               8.75
     1/31/2015    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                11.35
     1/31/2015    742   AP0047   Owner Operator   Communication Charge           EDGE Usage AP0047                      10
     1/31/2015    742   AP0047   Owner Operator   Communication Charge           EDGE Usage AP0047                      10
     1/31/2015    742   AP0047   Owner Operator   Communication Charge           EDGE Usage AP0047                      10
     1/31/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                       13
     1/31/2015    742   AP0047   Owner Operator   EOBR Charges                   RouteTrack Usage 32604                  3
     1/31/2015    742   AP0047   Owner Operator   EOBR Charges                   RouteTrack Usage 32604                  3
     1/31/2015    742   AP0047   Owner Operator   EOBR Charges                   RouteTrack Usage 32604                  3
     1/31/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/31/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/31/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/31/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         300
     1/31/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
     1/31/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     1/31/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     1/31/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
     1/31/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     1/31/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      179.81
     1/31/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      219.72
     1/31/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      229.57
     1/31/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      298.91
     1/31/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      490.63
     1/31/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      178.44
     1/31/2015    742   AP0047   Owner Operator   FUEL TAX                       NOVEMBER 2014-QC                    48.01
     1/31/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/31/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/31/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/31/2015    742   AP0047   Owner Operator   Permits                        IL02:2015 - 32604                    3.75
     1/31/2015    742   AP0047   Owner Operator   Permits                        OR16:2015 - 32604                       8
     1/31/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD               97.27
     1/31/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD               97.27
     1/31/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD               97.25
     1/31/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris        2.5
     1/31/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris       2.34
     1/31/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris        2.5
     1/31/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/31/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/31/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.31
     1/31/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/31/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/31/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       30.71
     1/31/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      307.27
     1/31/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.7
     1/31/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.6
     1/31/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      429.62
     1/31/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/31/2015    742   BS0030   Owner Operator   Repair Order                   CTMS - 178961 repair               -55.92
     1/31/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                      145.35
     1/31/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       419.4
     1/31/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                8.75
     1/31/2015    742   BS0078   Owner Operator   EOBR Charges                   RouteTrack Usage 32665                  3
     1/31/2015    742   BS0078   Owner Operator   EOBR Charges                   RouteTrack Usage 32665                  3
     1/31/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.09
     1/31/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.08
     1/31/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.09
     1/31/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.16
     1/31/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.1
     1/31/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      278.67
     1/31/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      267.32
     1/31/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      323.87
     1/31/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      220.21
     1/31/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       73.94
     1/31/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      101.45
     1/31/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       85.55
     1/31/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      454.51

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     1/31/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/31/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                24.61
     1/31/2015    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00314790 - PO System         109
     1/31/2015    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00314790 - PO System         109
     1/31/2015    742   BS0078   Owner Operator   Truck Payment                  CTMS - 178849 Q1236                 565.9
     1/31/2015    742   BS0078   Owner Operator   Truck Payment                  CTMS - 179022 Q1236                 565.9
     1/31/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                       13
     1/31/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      182.34
     1/31/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        8
     1/31/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                      13
     1/31/2015    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                       13
     1/31/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/31/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     1/31/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.13
     1/31/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     1/31/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      364.29
     1/31/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      344.87
     1/31/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                      554.49
     1/31/2015    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                       13
     1/31/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/31/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.26
     1/31/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                      525.42
     1/31/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 179079 repair                 100
     1/31/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                       59.39
     1/31/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                         100
     1/31/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     1/31/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.27
     1/31/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      334.94
     1/31/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      214.18
     1/31/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                      509.18
     1/31/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL         8.75
     1/31/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                      13
     1/31/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/31/2015    742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.15
     1/31/2015    742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.24
     1/31/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      241.45
     1/31/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      317.97
     1/31/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.8
     1/31/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      385.73
     1/31/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      309.99
     1/31/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      282.05
     1/31/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                  10.58
     1/31/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2014 - Q13157                     31
     1/31/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     1/31/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD         74.26
     1/31/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te        2.5
     1/31/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 178771 Tractor Lease        353.28
     1/31/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 178950 Tractor Lease        353.28
     1/31/2015    821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                       13
     1/31/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                          50
     1/31/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
     1/31/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.24
     1/31/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      243.64
     1/31/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      348.34
     1/31/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.5
     1/31/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       635.4
      2/7/2015    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL         8.75
      2/7/2015    709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                12.5
      2/7/2015    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                      13
      2/7/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      154.61
      2/7/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      483.82
      2/7/2015    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment      255.72
      2/7/2015    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD          7.82
      2/7/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te        2.5
      2/7/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      2/7/2015    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                 12.5
      2/7/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                       13
      2/7/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.28
      2/7/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      399.68
      2/7/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      485.93
      2/7/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.96

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      2/7/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
      2/7/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                      507.91
      2/7/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                   8.75
      2/7/2015    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                 12.5
      2/7/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                       13
      2/7/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      330.07
      2/7/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      330.07
      2/7/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      342.77
      2/7/2015    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      254.51
      2/7/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                   39.07
      2/7/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                      245.63
      2/7/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL          8.75
      2/7/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL          8.75
      2/7/2015    709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                 12.5
      2/7/2015    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                       13
      2/7/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          50
      2/7/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                         200
      2/7/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                         100
      2/7/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      2/7/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      2/7/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      202.95
      2/7/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      402.49
      2/7/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      247.18
      2/7/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      159.71
      2/7/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      372.71
      2/7/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      132.82
      2/7/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                   10.58
      2/7/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2014 - Q1104                      31
      2/7/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   DJ0028   Owner Operator   Permits                        IL02:2015 - Q1104                   -3.75
      2/7/2015    709   DJ0028   Owner Operator   Permits1                       ID06:2015 - Q1104                      11
      2/7/2015    709   DJ0028   Owner Operator   Permits1                       NM07:2015 - Q1104                     5.5
      2/7/2015    709   DJ0028   Owner Operator   Permits1                       NY13:2013 - Q1104                      19
      2/7/2015    709   DJ0028   Owner Operator   Permits1                       OR16:2015 - Q1104                       8
      2/7/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD          46.86
      2/7/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD          46.88
      2/7/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter        2.5
      2/7/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter        2.5
      2/7/2015    709   DJ0028   Owner Operator   Repair Order                   CTMS - 179136 Repair               274.12
      2/7/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 179162 Q1104                252.11
      2/7/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL             8.75
      2/7/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      326.94
      2/7/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                   10.58
      2/7/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2014 - Q1245                      31
      2/7/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
      2/7/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.38
      2/7/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      2/7/2015    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                 12.5
      2/7/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
      2/7/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                         500
      2/7/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                     5.25
      2/7/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      220.16
      2/7/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      426.95
      2/7/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.35
      2/7/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
      2/7/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   1990 Peterbilt NTL                   8.75
      2/7/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
      2/7/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          50
      2/7/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      367.95
      2/7/2015    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2014 - 33320                    100
      2/7/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                1990 Peterbilt PD                    7.82
      2/7/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   19.54
      2/7/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      2/7/2015    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                 12.5
      2/7/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
      2/7/2015    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-14         -50
      2/7/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        250
      2/7/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      2/7/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2

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      2/7/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                   0.23
      2/7/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                    245.86
      2/7/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     30.84
      2/7/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                    401.78
      2/7/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             105.47
      2/7/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                    555.56
      2/7/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      2/7/2015    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device               12.5
      2/7/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                     13
      2/7/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                       300
      2/7/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      3
      2/7/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                   0.16
      2/7/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                   0.17
      2/7/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     162.6
      2/7/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                    309.53
      2/7/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                    385.51
      2/7/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              91.92
      2/7/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                    505.27
      2/7/2015    709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device               12.5
      2/7/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                     13
      2/7/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                      250
      2/7/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                       200
      2/7/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                       200
      2/7/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                   2.19
      2/7/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.1
      2/7/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    442.55
      2/7/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    372.43
      2/7/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              93.01
      2/7/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                    532.24
      2/7/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL        8.75
      2/7/2015    709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device               12.5
      2/7/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                      8
      2/7/2015    709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-31     351.94
      2/7/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                        50
      2/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                         20
      2/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                         25
      2/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                   0.25
      2/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.2
      2/7/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                    145.73
      2/7/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                    287.16
      2/7/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                 10.58
      2/7/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2014 - 73129                    31
      2/7/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD        29.52
      2/7/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 179162 73129              181.08
      2/7/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL              8.75
      2/7/2015    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device              12.5
      2/7/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                    13
      2/7/2015    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                   0.24
      2/7/2015    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                   0.13
      2/7/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                    365.47
      2/7/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                    417.12
      2/7/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                    219.71
      2/7/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD              82.04
      2/7/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                4.75
      2/7/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL        8.75
      2/7/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL        8.75
      2/7/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                     13
      2/7/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                        50
      2/7/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                    244.57
      2/7/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                 10.58
      2/7/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1110                    31
      2/7/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   GS0015   Owner Operator   Permits1                       ID06:2015 - Q1110                    11
      2/7/2015    709   GS0015   Owner Operator   Permits1                       IL02:2015 - Q1110                  3.75
      2/7/2015    709   GS0015   Owner Operator   Permits1                       NM07:2015 - Q1110                   5.5
      2/7/2015    709   GS0015   Owner Operator   Permits1                       NY13:2013 - Q1110                    19
      2/7/2015    709   GS0015   Owner Operator   Permits1                       OR16:2015 - Q1110                     8
      2/7/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD        39.07

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      2/7/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      2/7/2015    709   GS0015   Owner Operator   Repair Order                   CTMS - 179136 Towing                  125
      2/7/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 179289 Lease                 252.11
      2/7/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      2/7/2015    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      2/7/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      2/7/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/7/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/7/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.24
      2/7/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.07
      2/7/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       477.31
      2/7/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       254.11
      2/7/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/7/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      2/7/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      2/7/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      2/7/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      2/7/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/7/2015    709   HG0027   Owner Operator   Express Check                  crt exp 107581                    -1603.23
      2/7/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/7/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/7/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.27
      2/7/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.16
      2/7/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.46
      2/7/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.39
      2/7/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       567.42
      2/7/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.76
      2/7/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/7/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      2/7/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      2/7/2015    709   HG0027   Owner Operator   T Chek Fee                     Advance NA                         1603.23
      2/7/2015    709   HG0027   Owner Operator   T Chek Fee                     crt fee exp code 107581             -16.03
      2/7/2015    709   HG0027   Owner Operator   T Chek Fee                     ExpressCheck Fee                     16.03
      2/7/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      2/7/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/7/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.45
      2/7/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.53
      2/7/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/7/2015    709   IR0002   Owner Operator   Permits                        CUST:2015 - 32901                     205
      2/7/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      2/7/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      2/7/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      2/7/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      2/7/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      2/7/2015    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      2/7/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      2/7/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/7/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/7/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/7/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.22
      2/7/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       463.81
      2/7/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       590.41
      2/7/2015    709   JC0292   Owner Operator   Loan Repayment                 crt exp 1360908441 s/u loan       -2333.98
      2/7/2015    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       262.33
      2/7/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/7/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      2/7/2015    709   JC0292   Owner Operator   T Chek Fee                     ExpressCheck Fee                     23.11
      2/7/2015    709   JC0292   Owner Operator   T Chek Fee                     Tractor Repair Q1210               2310.87
      2/7/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      2/7/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/7/2015    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      2/7/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      2/7/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      2/7/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      2/7/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      2/7/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.42
      2/7/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.77
      2/7/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       389.57
      2/7/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/7/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      2/7/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      2/7/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/7/2015    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5

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      2/7/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                       13
      2/7/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         200
      2/7/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         200
      2/7/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.09
      2/7/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.11
      2/7/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      429.35
      2/7/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        426
      2/7/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                74.22
      2/7/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                      513.26
      2/7/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                   10.58
      2/7/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2014 - Q1203                      31
      2/7/2015    709   JS0265   Owner Operator   Accident Claim                 1/28/15 trailer only               934.25
      2/7/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                 8.75
      2/7/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                    8.75
      2/7/2015    709   JS0265   Owner Operator   Broker Pre Pass                32298 PrePass Device                 12.5
      2/7/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                       13
      2/7/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                        100
      2/7/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                 15.94
      2/7/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                     37.5
      2/7/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      2/7/2015    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                 12.5
      2/7/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                       13
      2/7/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                        250
      2/7/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
      2/7/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      2/7/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.32
      2/7/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      331.55
      2/7/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        310
      2/7/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        125
      2/7/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      124.18
      2/7/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   KP0004   Owner Operator   Permits                        OR16:2015 - 32914                       8
      2/7/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.32
      2/7/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
      2/7/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                      519.59
      2/7/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL           8.75
      2/7/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                        13
      2/7/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   LL0160   Owner Operator   Permits                        IL02:2015 - 9590                     3.75
      2/7/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD              45
      2/7/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                    8.75
      2/7/2015    709   LS0023   Owner Operator   Broker Pre Pass                21489A PrePass Device                12.5
      2/7/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                      13
      2/7/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                        500
      2/7/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                         200
      2/7/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      2/7/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                      194.94
      2/7/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                      627.01
      2/7/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                    39.07
      2/7/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                   8.75
      2/7/2015    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                12.5
      2/7/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                      13
      2/7/2015    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                         200
      2/7/2015    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      2/7/2015    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                      270.07
      2/7/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                   70.32
      2/7/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
      2/7/2015    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                 12.5
      2/7/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       13
      2/7/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.9
      2/7/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      216.82
      2/7/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                53.13
      2/7/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                      337.19
      2/7/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
      2/7/2015    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                 12.5
      2/7/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
      2/7/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        450
      2/7/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                         280

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      2/7/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.8
      2/7/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                     332.2
      2/7/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                 71.88
      2/7/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism         2.5
      2/7/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                    323.05
      2/7/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL         8.75
      2/7/2015    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device               12.5
      2/7/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                     13
      2/7/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        50
      2/7/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                 10.58
      2/7/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2014 - Q1108                    31
      2/7/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD         35.16
      2/7/2015    709   NB0029   Owner Operator   Repair Order                   CTMS - 179136 Repair             218.51
      2/7/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 179282 Lease              215.66
      2/7/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL           8.75
      2/7/2015    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device              12.5
      2/7/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                    13
      2/7/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                       100
      2/7/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      2/7/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      176
      2/7/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      270
      2/7/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD           32.98
      2/7/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL         8.75
      2/7/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                      13
      2/7/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD         28.13
      2/7/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL            8.75
      2/7/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   RC0030   Owner Operator   Permits                        CUST:2015 - 51064A                 205
      2/7/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD            39.07
      2/7/2015    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00315305 - PO System     111.07
      2/7/2015    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00315405 - PO System     382.22
      2/7/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                62.7
      2/7/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      2/7/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                       500
      2/7/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                   5.26
      2/7/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                    214.82
      2/7/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   RC0089   Owner Operator   Permits                        CUST:2015 - 32986                  205
      2/7/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             103.07
      2/7/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                    504.72
      2/7/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL        8.75
      2/7/2015    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device              12.5
      2/7/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    522.85
      2/7/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   RL0017   Owner Operator   Permits                        CUST:2015 - 21975A                 205
      2/7/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD        45.32
      2/7/2015    709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00315307 - PO System     508.09
      2/7/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      2/7/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                     13
      2/7/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       200
      2/7/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       200
      2/7/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       100
      2/7/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                   1.14
      2/7/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                   2.13
      2/7/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                   2.15
      2/7/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                    423.23
      2/7/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                    408.41
      2/7/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                    421.39
      2/7/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              93.15
      2/7/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                    512.16
      2/7/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                               27.48
      2/7/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                  8.75
      2/7/2015    709   RM0026   Owner Operator   Broker Pre Pass                30811A PrePass Device              12.5
      2/7/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                    13
      2/7/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                    260.72
      2/7/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     313.4
      2/7/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      2/7/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                  13.29

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      2/7/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism            2.5
      2/7/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
      2/7/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
      2/7/2015    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                 12.5
      2/7/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                       13
      2/7/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.31
      2/7/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      316.11
      2/7/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      367.03
      2/7/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      322.82
      2/7/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               100.98
      2/7/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                      564.33
      2/7/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL          8.75
      2/7/2015    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                 12.5
      2/7/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                          50
      2/7/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      232.11
      2/7/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      366.96
      2/7/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                   10.58
      2/7/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1112                      31
      2/7/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   VB0015   Owner Operator   Permits                        CUST:2015 - Q1112                    205
      2/7/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD           37.5
      2/7/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 179286 Tractor Sub leas     242.03
      2/7/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
      2/7/2015    709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                 12.5
      2/7/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                       13
      2/7/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         150
      2/7/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.5
      2/7/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      262.84
      2/7/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      182.47
      2/7/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      212.58
      2/7/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      191.34
      2/7/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                55.47
      2/7/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                       375.9
      2/7/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                8.75
      2/7/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                       13
      2/7/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                56.25
      2/7/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism        2.5
      2/7/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL             8.75
      2/7/2015    709   WH0073   Owner Operator   Broker Pre Pass                Q1235 PrePass Device                 12.5
      2/7/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                       13
      2/7/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                       13
      2/7/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      318.24
      2/7/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      183.61
      2/7/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                   10.58
      2/7/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2014 - Q1235                      31
      2/7/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD             65.71
      2/7/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 178992 Sub, Sub Lease       396.13
      2/7/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 179161 Sub, Sub Lease       396.13
      2/7/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL               8.75
      2/7/2015    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                 12.5
      2/7/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                       13
      2/7/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
      2/7/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         200
      2/7/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.2
      2/7/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      2/7/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.1
      2/7/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.8
      2/7/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      344.41
      2/7/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      321.16
      2/7/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      440.47
      2/7/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD               97.27
      2/7/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris        2.5
      2/7/2015    742   BS0030   Owner Operator   Broker Pre Pass                32947 PrePass Device                 12.5
      2/7/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                       13
      2/7/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                       13
      2/7/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                       13
      2/7/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                        125
      2/7/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                        125

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      2/7/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                        125
      2/7/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         200
      2/7/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         300
      2/7/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
      2/7/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.39
      2/7/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      238.92
      2/7/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      243.53
      2/7/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      278.92
      2/7/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       419.4
      2/7/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                      274.05
      2/7/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                    8.75
      2/7/2015    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                 12.5
      2/7/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                       13
      2/7/2015    742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.38
      2/7/2015    742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.33
      2/7/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      405.67
      2/7/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      379.19
      2/7/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      456.76
      2/7/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      361.28
      2/7/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      280.14
      2/7/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                    65.36
      2/7/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism            2.5
      2/7/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL            8.75
      2/7/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                      13
      2/7/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
      2/7/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD            54.69
      2/7/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro        2.5
      2/7/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
      2/7/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.16
      2/7/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      349.31
      2/7/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                33.97
      2/7/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                      554.49
      2/7/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
      2/7/2015    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                 12.5
      2/7/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                       13
      2/7/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                       13
      2/7/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                          50
      2/7/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                          50
      2/7/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      381.92
      2/7/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      153.46
      2/7/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      329.94
      2/7/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      371.13
      2/7/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      383.27
      2/7/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      318.44
      2/7/2015    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2014 - 33296                    100
      2/7/2015    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2014 - 33296                    100
      2/7/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       65.63
      2/7/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
      2/7/2015    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00314285 - PO System       413.13
      2/7/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL          8.75
      2/7/2015    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                 12.5
      2/7/2015    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                       13
      2/7/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                          50
      2/7/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                         100
      2/7/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      2/7/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.11
      2/7/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                      242.72
      2/7/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                      371.92
      2/7/2015    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2014 - 33252                    100
      2/7/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    742   NG0024   Owner Operator   Permits                        IL02:2015 - 33252                    3.75
      2/7/2015    742   NG0024   Owner Operator   Permits                        OR16:2015 - 33252                       8
      2/7/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD         100.79
      2/7/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter        2.5
      2/7/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 179311 repair                 100
      2/7/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      2/7/2015    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                 12.5
      2/7/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                       13
      2/7/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                       13
      2/7/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                       40.61

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      2/7/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        100
      2/7/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                         200
      2/7/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.15
      2/7/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.13
      2/7/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      198.97
      2/7/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      208.94
      2/7/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      296.89
      2/7/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
      2/7/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               104.38
      2/7/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                      509.18
      2/7/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL         8.75
      2/7/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL         8.75
      2/7/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                      13
      2/7/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                          50
      2/7/2015    742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.16
      2/7/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      458.14
      2/7/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                  10.58
      2/7/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2014 - Q13157                     31
      2/7/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    742   RN0054   Owner Operator   Permits1                       ID06:2015 - Q13157                     11
      2/7/2015    742   RN0054   Owner Operator   Permits1                       IL02:2015 - Q13157                   3.75
      2/7/2015    742   RN0054   Owner Operator   Permits1                       NM07:2015 - Q13157                    5.5
      2/7/2015    742   RN0054   Owner Operator   Permits1                       NY13:2013 - Q13157                     19
      2/7/2015    742   RN0054   Owner Operator   Permits1                       OR16:2015 - Q13157                      8
      2/7/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD         74.25
      2/7/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD         74.26
      2/7/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te        2.5
      2/7/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te        2.5
      2/7/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 179148 Tractor Lease        353.28
      2/7/2015    821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
      2/7/2015    821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                       13
      2/7/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                          50
      2/7/2015    821   JK0112   Owner Operator   Express Check                  crt exp 105806539                   -3.91
      2/7/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.19
      2/7/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      222.73
      2/7/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      425.52
      2/7/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      292.82
      2/7/2015    821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    821   JK0112   Owner Operator   Permits                        CUST:2015 - 33211                    205
      2/7/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               145.99
      2/7/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism        2.5
      2/7/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       635.4
      2/7/2015    858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL          8.75
      2/7/2015    858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                       13
      2/7/2015    858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      2/7/2015    858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.6
      2/7/2015    858   JR0099   Owner Operator   Truck Payment                  CTMS - 179219 Q1203                278.76
     2/14/2015    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL         8.75
     2/14/2015    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                      13
     2/14/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                         400
     2/14/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                        4
     2/14/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      167.36
     2/14/2015    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment      255.72
     2/14/2015    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD          7.82
     2/14/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te        2.5
     2/14/2015    709   AN0007   Owner Operator   Truck Payment                  CTMS - 179452 tractor rental         200
     2/14/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/14/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                       13
     2/14/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.28
     2/14/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      451.17
     2/14/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.96
     2/14/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     2/14/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                      507.91
     2/14/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                   8.75
     2/14/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                       13
     2/14/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.9
     2/14/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      141.61
     2/14/2015    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      254.51
     2/14/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                   39.07

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     2/14/2015    709   CR0064   Owner Operator   Repair Order                   CTMS - 179498 Repair               278.56
     2/14/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                      245.63
     2/14/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL          8.75
     2/14/2015    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                       13
     2/14/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/14/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/14/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      306.12
     2/14/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.8
     2/14/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      318.45
     2/14/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                   10.58
     2/14/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2014 - Q1104                      31
     2/14/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD          46.88
     2/14/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter        2.5
     2/14/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 179363 Q1104                252.11
     2/14/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.38
     2/14/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/14/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
     2/14/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                         500
     2/14/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
     2/14/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.41
     2/14/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      304.75
     2/14/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      421.71
     2/14/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.35
     2/14/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
     2/14/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   1990 Peterbilt NTL                   8.75
     2/14/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
     2/14/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/14/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      410.68
     2/14/2015    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2014 - 33320                    100
     2/14/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                1990 Peterbilt PD                    7.82
     2/14/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   19.54
     2/14/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/14/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
     2/14/2015    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-7            50
     2/14/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        250
     2/14/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/14/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.35
     2/14/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/14/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      484.23
     2/14/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       41.01
     2/14/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      329.39
     2/14/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
     2/14/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
     2/14/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/14/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                       13
     2/14/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         300
     2/14/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
     2/14/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.17
     2/14/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.17
     2/14/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      160.83
     2/14/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.4
     2/14/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      399.42
     2/14/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.92
     2/14/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                      505.27
     2/14/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                       13
     2/14/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        250
     2/14/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/14/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/14/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/14/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.34
     2/14/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      345.44
     2/14/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       62.89
     2/14/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      374.72
     2/14/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      116.27

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     2/14/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.01
     2/14/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      532.24
     2/14/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL          8.75
     2/14/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        8
     2/14/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/14/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           25
     2/14/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           25
     2/14/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
     2/14/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/14/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.25
     2/14/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.48
     2/14/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      228.98
     2/14/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      262.17
     2/14/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      267.07
     2/14/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                   10.58
     2/14/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2014 - 73129                      31
     2/14/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD          29.52
     2/14/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 179363 73129                181.08
     2/14/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                8.75
     2/14/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
     2/14/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      230.32
     2/14/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                82.04
     2/14/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     2/14/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL          8.75
     2/14/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL          8.75
     2/14/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     2/14/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/14/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      109.98
     2/14/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      226.03
     2/14/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                   10.58
     2/14/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1110                      31
     2/14/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD          39.07
     2/14/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD          39.04
     2/14/2015    709   GS0015   Owner Operator   Repair Order                   CTMS - 179317 Towing                  125
     2/14/2015    709   GS0015   Owner Operator   Repair Order                   CTMS - 179497 Towing                  125
     2/14/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 179467 Lease                252.11
     2/14/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL              8.75
     2/14/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                       13
     2/14/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          100
     2/14/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/14/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      539.33
     2/14/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      500.72
     2/14/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment      254.11
     2/14/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD              15.63
     2/14/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                 21.35
     2/14/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/14/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      314.92
     2/14/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.6
     2/14/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.64
     2/14/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     2/14/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                      521.95
     2/14/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                 13.98
     2/14/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                 8.75
     2/14/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                       13
     2/14/2015    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-21        -496
     2/14/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
     2/14/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.26
     2/14/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      421.45
     2/14/2015    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      262.33
     2/14/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                 78.13
     2/14/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                      458.72
     2/14/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/14/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                       13
     2/14/2015    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                   -2500
     2/14/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
     2/14/2015    709   JG0017   Owner Operator   Express Check                  T-Check Payment                      2500

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     2/14/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                         300
     2/14/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
     2/14/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      288.13
     2/14/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      387.71
     2/14/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                90.86
     2/14/2015    709   JG0017   Owner Operator   Toll Charges                   FasTrak T711570477640 - 32908          31
     2/14/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                       504.6
     2/14/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/14/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                       13
     2/14/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/14/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.44
     2/14/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/14/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.35
     2/14/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      489.67
     2/14/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      419.87
     2/14/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      454.67
     2/14/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                74.22
     2/14/2015    709   JG0072   Owner Operator   Repair Order                   CTMS - 179317 Repair                184.9
     2/14/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                      513.26
     2/14/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                   10.58
     2/14/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2014 - Q1203                      31
     2/14/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/14/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                       13
     2/14/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                        250
     2/14/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/14/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/14/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.31
     2/14/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      174.16
     2/14/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      213.42
     2/14/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      124.34
     2/14/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      426.04
     2/14/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.32
     2/14/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     2/14/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                      519.59
     2/14/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL           8.75
     2/14/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                        13
     2/14/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD              45
     2/14/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                    8.75
     2/14/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                      13
     2/14/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                        500
     2/14/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/14/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                      352.56
     2/14/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                    39.07
     2/14/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                   8.75
     2/14/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                      13
     2/14/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                   70.32
     2/14/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
     2/14/2015    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/14/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       35.16
     2/14/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
     2/14/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
     2/14/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       13
     2/14/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/14/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/14/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      247.97
     2/14/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      286.61
     2/14/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      304.92
     2/14/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                53.13
     2/14/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                      337.19
     2/14/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
     2/14/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
     2/14/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        450
     2/14/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                         280

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     2/14/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                     3.12
     2/14/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                      391.44
     2/14/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   71.88
     2/14/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
     2/14/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                      323.05
     2/14/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           8.75
     2/14/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
     2/14/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/14/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      198.08
     2/14/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      185.64
     2/14/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                   10.58
     2/14/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2014 - Q1108                      31
     2/14/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD           35.16
     2/14/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 179461 Lease                215.66
     2/14/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
     2/14/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
     2/14/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/14/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/14/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      183.02
     2/14/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        285
     2/14/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.98
     2/14/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL           8.75
     2/14/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                        13
     2/14/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD           28.13
     2/14/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL              8.75
     2/14/2015    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-21    -1271.08
     2/14/2015    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-21      -165.6
     2/14/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD              39.07
     2/14/2015    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00315305 - PO System       111.07
     2/14/2015    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00315405 - PO System       382.22
     2/14/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  62.7
     2/14/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/14/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         500
     2/14/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                     5.18
     2/14/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      595.08
     2/14/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      353.08
     2/14/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               103.07
     2/14/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                      504.72
     2/14/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL          8.75
     2/14/2015    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/14/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      457.73
     2/14/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD          45.32
     2/14/2015    709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00315307 - PO System       508.09
     2/14/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/14/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                       13
     2/14/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/14/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.17
     2/14/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.16
     2/14/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.14
     2/14/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      448.81
     2/14/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      453.54
     2/14/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      415.98
     2/14/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.15
     2/14/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                      512.16
     2/14/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                 27.48
     2/14/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                    8.75
     2/14/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                      13
     2/14/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      313.88
     2/14/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      258.04
     2/14/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      215.68
     2/14/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                    13.29

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     2/14/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism            2.5
     2/14/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
     2/14/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     2/14/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                       13
     2/14/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.23
     2/14/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      347.35
     2/14/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      385.97
     2/14/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               100.98
     2/14/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                      564.33
     2/14/2015    709   VB0015   Owner Operator   Accident Claim                 2/5/15 prop dam                     269.3
     2/14/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL          8.75
     2/14/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/14/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      262.72
     2/14/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                   10.58
     2/14/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1112                      31
     2/14/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD           37.5
     2/14/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 179465 Tractor Sub leas     242.03
     2/14/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
     2/14/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                       13
     2/14/2015    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                        200
     2/14/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/14/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/14/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/14/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.9
     2/14/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      248.51
     2/14/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      346.53
     2/14/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      277.01
     2/14/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                55.47
     2/14/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                       375.9
     2/14/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                8.75
     2/14/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                       13
     2/14/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                56.25
     2/14/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism        2.5
     2/14/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL             8.75
     2/14/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                       13
     2/14/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.18
     2/14/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      160.48
     2/14/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.9
     2/14/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      401.32
     2/14/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                   10.58
     2/14/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2014 - Q1235                      31
     2/14/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD             65.71
     2/14/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 179362 Sub, Sub Lease       396.13
     2/14/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL               8.75
     2/14/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                       13
     2/14/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/14/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/14/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      228.04
     2/14/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      228.09
     2/14/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD               97.27
     2/14/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris        2.5
     2/14/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                8.75
     2/14/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                8.75
     2/14/2015    742   BS0078   Owner Operator   Broker Pre Pass                32665 PrePass Device                 12.5
     2/14/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.29
     2/14/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.18
     2/14/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
     2/14/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      481.05
     2/14/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      297.48
     2/14/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      265.18
     2/14/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      158.32
     2/14/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      184.29
     2/14/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      386.97
     2/14/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      103.51
     2/14/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5

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     2/14/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                24.61
     2/14/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                24.61
     2/14/2015    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00314790 - PO System         109
     2/14/2015    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00314790 - PO System       108.96
     2/14/2015    742   BS0078   Owner Operator   Truck Payment                  CTMS - 179202 Q1236                 565.9
     2/14/2015    742   BS0078   Owner Operator   Truck Payment                  CTMS - 179391 Q1236                 565.9
     2/14/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                    8.75
     2/14/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                       13
     2/14/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      152.78
     2/14/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                    65.36
     2/14/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism            2.5
     2/14/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL             8.75
     2/14/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL             8.75
     2/14/2015    742   EN0016   Owner Operator   Broker Pre Pass                32674 PrePass Device                 12.5
     2/14/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        8
     2/14/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        8
     2/14/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      200.49
     2/14/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD             24.61
     2/14/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD             24.61
     2/14/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror        2.5
     2/14/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror        2.5
     2/14/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL            8.75
     2/14/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                      13
     2/14/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
     2/14/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD            54.69
     2/14/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro        2.5
     2/14/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     2/14/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     2/14/2015    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                       13
     2/14/2015    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                       13
     2/14/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/14/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.16
     2/14/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/14/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/14/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      352.74
     2/14/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      349.19
     2/14/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      339.22
     2/14/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                83.48
     2/14/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               117.45
     2/14/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                      554.49
     2/14/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
     2/14/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                       13
     2/14/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/14/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      339.61
     2/14/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      366.51
     2/14/2015    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2014 - 33296                   70.88
     2/14/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       65.63
     2/14/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
     2/14/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL          8.75
     2/14/2015    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                       13
     2/14/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/14/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.24
     2/14/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                      245.25
     2/14/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                      587.35
     2/14/2015    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2014 - 33252                    100
     2/14/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD         100.79
     2/14/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter        2.5
     2/14/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 179445 repair                 100
     2/14/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/14/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                       13
     2/14/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        200
     2/14/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/14/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.16

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     2/14/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      285.15
     2/14/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      245.65
     2/14/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      212.98
     2/14/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      192.23
     2/14/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
     2/14/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               104.38
     2/14/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                      509.18
     2/14/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL         8.75
     2/14/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                      13
     2/14/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/14/2015    742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.32
     2/14/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      301.18
     2/14/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      279.14
     2/14/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      319.46
     2/14/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.8
     2/14/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      117.54
     2/14/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                  10.58
     2/14/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2014 - Q13157                     31
     2/14/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD         74.26
     2/14/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te        2.5
     2/14/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 179330 Tractor Lease        353.28
     2/14/2015    821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     2/14/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                       41.39
     2/14/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.15
     2/14/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       89.15
     2/14/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       424.1
     2/14/2015    821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               145.99
     2/14/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism        2.5
     2/14/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       635.4
     2/14/2015    858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL          8.75
     2/14/2015    858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                       13
     2/14/2015    858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/14/2015    858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/14/2015    858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.6
     2/21/2015    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL         8.75
     2/21/2015    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                      13
     2/21/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                         400
     2/21/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                        4
     2/21/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      279.16
     2/21/2015    709   AN0007   Owner Operator   FUEL TAX                       December 2014-QC                     0.31
     2/21/2015    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment      255.72
     2/21/2015    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD          7.82
     2/21/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te        2.5
     2/21/2015    709   AN0007   Owner Operator   Truck Payment                  CTMS - 179645 tractor rental         200
     2/21/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/21/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                       13
     2/21/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.29
     2/21/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      466.11
     2/21/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      405.55
     2/21/2015    709   CM0119   Owner Operator   FUEL TAX                       December 2014-QC                    18.79
     2/21/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.96
     2/21/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     2/21/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                      507.91
     2/21/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                   8.75
     2/21/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                       13
     2/21/2015    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/21/2015    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/21/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      170.34
     2/21/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      234.85
     2/21/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      233.52
     2/21/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      145.96
     2/21/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      206.28
     2/21/2015    709   CR0064   Owner Operator   FUEL TAX                       December 2014-QC                    -0.17
     2/21/2015    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      254.51
     2/21/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                   39.07
     2/21/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                      245.63
     2/21/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL          8.75
     2/21/2015    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                       13

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     2/21/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
     2/21/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
     2/21/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     2/21/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.48
     2/21/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.29
     2/21/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.06
     2/21/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.55
     2/21/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.58
     2/21/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2014 - Q1104                       31
     2/21/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/21/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
     2/21/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
     2/21/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 179553 Q1104                 252.11
     2/21/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
     2/21/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
     2/21/2015    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5
     2/21/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     2/21/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     2/21/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     2/21/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
     2/21/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
     2/21/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
     2/21/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.27
     2/21/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.31
     2/21/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       495.07
     2/21/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        19.33
     2/21/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       436.05
     2/21/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       441.87
     2/21/2015    709   DL0107   Owner Operator   FUEL TAX                       December 2014-QC                   -140.72
     2/21/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                    10.58
     2/21/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                    10.58
     2/21/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2014 - Q1245                       31
     2/21/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2014 - Q1245                       31
     2/21/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/21/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/21/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
     2/21/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
     2/21/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 179198 Sublease              338.99
     2/21/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 179388 Sublease              338.99
     2/21/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 179585 Sublease              338.99
     2/21/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.23
     2/21/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         8.52
     2/21/2015    709   DS0049   Owner Operator   FUEL TAX                       December 2014-QC                     -8.75
     2/21/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   1990 Peterbilt NTL                    8.75
     2/21/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
     2/21/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
     2/21/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       517.53
     2/21/2015    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2014 - 33320                     44.9
     2/21/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/21/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                1990 Peterbilt PD                     7.82
     2/21/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
     2/21/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     2/21/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
     2/21/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
     2/21/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     2/21/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     2/21/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.22
     2/21/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
     2/21/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.24
     2/21/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       402.81
     2/21/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.98
     2/21/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       493.21
     2/21/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.51
     2/21/2015    709   EA0003   Owner Operator   FUEL TAX                       December 2014-QC                    150.11
     2/21/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/21/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
     2/21/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
     2/21/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     2/21/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
     2/21/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          400
     2/21/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
     2/21/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.22
     2/21/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       532.51

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     2/21/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     345.15
     2/21/2015    709   EE0011   Owner Operator   FUEL TAX                       December 2014-QC                   84.78
     2/21/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     2/21/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.92
     2/21/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                     505.27
     2/21/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                      13
     2/21/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                       250
     2/21/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        100
     2/21/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
     2/21/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.28
     2/21/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     2/21/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     483.83
     2/21/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     468.41
     2/21/2015    709   EH0020   Owner Operator   FUEL TAX                       December 2014-QC                   60.12
     2/21/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     2/21/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.01
     2/21/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                     532.24
     2/21/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL         8.75
     2/21/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                       8
     2/21/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                         50
     2/21/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                        175
     2/21/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          10
     2/21/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.1
     2/21/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                    1.75
     2/21/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.15
     2/21/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     234.25
     2/21/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     222.83
     2/21/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                  10.58
     2/21/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2014 - 73129                     31
     2/21/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     2/21/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD         29.52
     2/21/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 179553 73129               181.08
     2/21/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL               8.75
     2/21/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                     13
     2/21/2015    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.21
     2/21/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     307.42
     2/21/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     301.83
     2/21/2015    709   FV0001   Owner Operator   FUEL TAX                       December 2014-QC                   10.77
     2/21/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     2/21/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD               82.04
     2/21/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                 4.75
     2/21/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL         8.75
     2/21/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                      13
     2/21/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                         50
     2/21/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     224.49
     2/21/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                  10.58
     2/21/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1110                     31
     2/21/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     2/21/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD         39.07
     2/21/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 179660 Lease               252.11
     2/21/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL             8.75
     2/21/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                      13
     2/21/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     305.49
     2/21/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     568.89
     2/21/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     251.87
     2/21/2015    709   HG0007   Owner Operator   FUEL TAX                       December 2014-QC                  166.88
     2/21/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment     254.11
     2/21/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     2/21/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD             15.63
     2/21/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                  8.75
     2/21/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                  8.75
     2/21/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                  8.75
     2/21/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                      13
     2/21/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                      13
     2/21/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                         50
     2/21/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                         50
     2/21/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                        300
     2/21/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
     2/21/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.19
     2/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                     278.16
     2/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                     217.06
     2/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                     438.05
     2/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                     508.14

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     2/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.4
     2/21/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                   54.68
     2/21/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                   54.69
     2/21/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                   54.69
     2/21/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                 21.35
     2/21/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/21/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      323.71
     2/21/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      146.63
     2/21/2015    709   IR0002   Owner Operator   FUEL TAX                       December 2014-QC                    -0.18
     2/21/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.64
     2/21/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     2/21/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                      521.95
     2/21/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                 8.75
     2/21/2015    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-14       380.03
     2/21/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/21/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/21/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/21/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.24
     2/21/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/21/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.14
     2/21/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      444.77
     2/21/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      522.66
     2/21/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      511.69
     2/21/2015    709   JC0292   Owner Operator   FUEL TAX                       December 2014-QC                   244.08
     2/21/2015    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      262.33
     2/21/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                 78.13
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 DelDOT BCP 011515              3.75
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 DelDOT D95 011615                 9
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 DelDOT D95 011715                 9
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 DelDOT DS 011515               0.94
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 DRBA DMB 011615                  25
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 DRBA DMB 011715                  25
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 DRPA CBB 012015                37.5
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 DRPA CBB 012015                37.5
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 43 012215                4.2
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 MdTA FSK 011615                  24
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 MdTA FSK 011615                  24
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 MdTA HMB 011915                  16
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 MdTA JFK 011715                  48
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 MdTA WPL 011415                  36
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 NJTP 12 011515                 12.3
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 OTIC 71 012115                   26
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC CAR 012015                42.01
     2/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC WRN 012015                92.72
     2/21/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                      458.72
     2/21/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/21/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                       13
     2/21/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                        500
     2/21/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/21/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/21/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.38
     2/21/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/21/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.26
     2/21/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      295.97
     2/21/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      216.12
     2/21/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      457.26
     2/21/2015    709   JG0017   Owner Operator   FUEL TAX                       December 2014-QC                    25.28
     2/21/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                90.86
     2/21/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                       504.6
     2/21/2015    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                  65.9
     2/21/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/21/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                       13
     2/21/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/21/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/21/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/21/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.17
     2/21/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/21/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.33

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     2/21/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       450.93
     2/21/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       440.22
     2/21/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       408.26
     2/21/2015    709   JG0072   Owner Operator   FUEL TAX                       December 2014-QC                    122.82
     2/21/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/21/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
     2/21/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     2/21/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                    10.58
     2/21/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2014 - Q1203                       31
     2/21/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        48.12
     2/21/2015    709   JS0265   Owner Operator   FUEL TAX                       December 2014-QC                    -48.12
     2/21/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     2/21/2015    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                  -305.93
     2/21/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/21/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
     2/21/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     2/21/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       153.86
     2/21/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
     2/21/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
     2/21/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/21/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
     2/21/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
     2/21/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
     2/21/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         500
     2/21/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
     2/21/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
     2/21/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     2/21/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     2/21/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       593.87
     2/21/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.33
     2/21/2015    709   LS0023   Owner Operator   FUEL TAX                       December 2014-QC                     34.38
     2/21/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/21/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
     2/21/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
     2/21/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
     2/21/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/21/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
     2/21/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     2/21/2015    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                        13
     2/21/2015    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
     2/21/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.24
     2/21/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
     2/21/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     2/21/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     2/21/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
     2/21/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
     2/21/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     2/21/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       174.52
     2/21/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.31
     2/21/2015    709   MM0093   Owner Operator   FUEL TAX                       December 2014-QC                      0.31
     2/21/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/21/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
     2/21/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
     2/21/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     2/21/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
     2/21/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         450
     2/21/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
     2/21/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
     2/21/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       550.38
     2/21/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/21/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
     2/21/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
     2/21/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
     2/21/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
     2/21/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
     2/21/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           50
     2/21/2015    709   NB0029   Owner Operator   FUEL TAX                       December 2014-QC                     12.25
     2/21/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                    10.58
     2/21/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2014 - Q1108                       31
     2/21/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/21/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
     2/21/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 179654 Lease                 215.66
     2/21/2015    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                   65.9

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     2/21/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
     2/21/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
     2/21/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/21/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/21/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        200
     2/21/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        300
     2/21/2015    709   NG0005   Owner Operator   FUEL TAX                       December 2014-QC                    -0.09
     2/21/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.98
     2/21/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL           8.75
     2/21/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                        13
     2/21/2015    709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-28         -25
     2/21/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD           28.13
     2/21/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL              8.75
     2/21/2015    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-14      1271.08
     2/21/2015    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-14        165.6
     2/21/2015    709   RC0030   Owner Operator   FUEL TAX                       December 2014-QC                   353.98
     2/21/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD              39.07
     2/21/2015    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00315305 - PO System         111
     2/21/2015    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00315405 - PO System       382.22
     2/21/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  62.7
     2/21/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/21/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         500
     2/21/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                     5.21
     2/21/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      204.45
     2/21/2015    709   RC0089   Owner Operator   FUEL TAX                       December 2014-QC                     0.09
     2/21/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               103.07
     2/21/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                      504.72
     2/21/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL          8.75
     2/21/2015    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-28     -659.77
     2/21/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      483.11
     2/21/2015    709   RL0017   Owner Operator   FUEL TAX                       December 2014-QC                      0.4
     2/21/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD          45.32
     2/21/2015    709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00315307 - PO System       508.09
     2/21/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/21/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                       13
     2/21/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/21/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         300
     2/21/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     3.13
     2/21/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.13
     2/21/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       431.3
     2/21/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      433.51
     2/21/2015    709   RL0062   Owner Operator   FUEL TAX                       December 2014-QC                   161.36
     2/21/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.15
     2/21/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                      512.16
     2/21/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                 27.48
     2/21/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                    8.75
     2/21/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                      13
     2/21/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      335.83
     2/21/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      244.46
     2/21/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        300
     2/21/2015    709   RM0026   Owner Operator   FUEL TAX                       December 2014-QC                   117.88
     2/21/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                    13.29
     2/21/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism            2.5
     2/21/2015    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                  65.9
     2/21/2015    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                   10.58
     2/21/2015    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2014 - Q1202                      31
     2/21/2015    709   RP0082   Owner Operator   Tractor Fee                    Fee - Q1202                        156.92
     2/21/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     2/21/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.24
     2/21/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      244.34
     2/21/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      394.39
     2/21/2015    709   SB0009   Owner Operator   FUEL TAX                       December 2014-QC                   159.61
     2/21/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               100.98
     2/21/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                      564.33
     2/21/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL          8.75

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     2/21/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/21/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      363.01
     2/21/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      321.73
     2/21/2015    709   VB0015   Owner Operator   FUEL TAX                       December 2014-QC                   325.87
     2/21/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                   10.58
     2/21/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1112                      31
     2/21/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD           37.5
     2/21/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 179658 Tractor Sub leas     242.03
     2/21/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
     2/21/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                       13
     2/21/2015    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                        200
     2/21/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/21/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         150
     2/21/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.5
     2/21/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/21/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      212.49
     2/21/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      167.78
     2/21/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      252.31
     2/21/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      170.09
     2/21/2015    709   VJ0006   Owner Operator   FUEL TAX                       December 2014-QC                   115.31
     2/21/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                55.47
     2/21/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                       375.9
     2/21/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                8.75
     2/21/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                       13
     2/21/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                56.25
     2/21/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism        2.5
     2/21/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL             8.75
     2/21/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                       13
     2/21/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.21
     2/21/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      512.83
     2/21/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      452.89
     2/21/2015    709   WH0073   Owner Operator   FUEL TAX                       December 2014-QC                   340.04
     2/21/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                   10.58
     2/21/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2014 - Q1235                      31
     2/21/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD             65.71
     2/21/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 179552 Sub, Sub Lease       396.13
     2/21/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL               8.75
     2/21/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                       13
     2/21/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/21/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/21/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/21/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/21/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
     2/21/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      518.61
     2/21/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      368.32
     2/21/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      283.09
     2/21/2015    742   AP0047   Owner Operator   FUEL TAX                       December 2014-QC                   170.61
     2/21/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD               97.27
     2/21/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris        2.5
     2/21/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                       13
     2/21/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                       13
     2/21/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                        125
     2/21/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                        125
     2/21/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/21/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/21/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/21/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/21/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      333.75
     2/21/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      345.67
     2/21/2015    742   BS0030   Owner Operator   FUEL TAX                       December 2014-QC                   113.99
     2/21/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       419.4
     2/21/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       419.4
     2/21/2015    742   BS0030   Owner Operator   US Legal Services              U.S. Legal Services                  65.9
     2/21/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                8.75
     2/21/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      181.74
     2/21/2015    742   BS0078   Owner Operator   FUEL TAX                       Q4 Oregon Tax                      229.48

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     2/21/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                24.61
     2/21/2015    742   BS0078   Owner Operator   Repair Order                   CTMS - 179681 repair                 190
     2/21/2015    742   BS0078   Owner Operator   Truck Payment                  CTMS - 179587 Q1236                 565.9
     2/21/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                    8.75
     2/21/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                       13
     2/21/2015    742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.29
     2/21/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      250.11
     2/21/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      404.22
     2/21/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      371.38
     2/21/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      336.78
     2/21/2015    742   ED0041   Owner Operator   FUEL TAX                       December 2014-QC                    61.33
     2/21/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                    65.36
     2/21/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism            2.5
     2/21/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL             8.75
     2/21/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        8
     2/21/2015    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.33
     2/21/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      548.45
     2/21/2015    742   EN0016   Owner Operator   FUEL TAX                       Q4 Oregon Tax                      127.11
     2/21/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD             24.61
     2/21/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror        2.5
     2/21/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL            8.75
     2/21/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                      13
     2/21/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
     2/21/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD            54.69
     2/21/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro        2.5
     2/21/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     2/21/2015    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                       13
     2/21/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/21/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.16
     2/21/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      350.33
     2/21/2015    742   LL0134   Owner Operator   FUEL TAX                       December 2014-QC                    -0.09
     2/21/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               117.45
     2/21/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                      554.49
     2/21/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
     2/21/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                       13
     2/21/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/21/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      308.28
     2/21/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.9
     2/21/2015    742   MH0117   Owner Operator   FUEL TAX                       December 2014-QC                    17.64
     2/21/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       65.63
     2/21/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
     2/21/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL          8.75
     2/21/2015    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                       13
     2/21/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/21/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.26
     2/21/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                      507.59
     2/21/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                      270.14
     2/21/2015    742   NG0024   Owner Operator   FUEL TAX                       Q4 Oregon Tax                      127.11
     2/21/2015    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2014 - 33252                    100
     2/21/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD         100.79
     2/21/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter        2.5
     2/21/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 179682 repair                 100
     2/21/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL         8.75
     2/21/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                      13
     2/21/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/21/2015    742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.13
     2/21/2015    742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.19
     2/21/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      343.85
     2/21/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      215.32
     2/21/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      274.13
     2/21/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      398.94
     2/21/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                  10.58
     2/21/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2014 - Q13157                     31
     2/21/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD         74.26
     2/21/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te        2.5
     2/21/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 179524 Tractor Lease        353.28

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     2/21/2015    821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     2/21/2015    821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                       13
     2/21/2015    821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                       13
     2/21/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                        8.61
     2/21/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/21/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.1
     2/21/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
     2/21/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      136.54
     2/21/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      326.91
     2/21/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      172.85
     2/21/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      161.51
     2/21/2015    821   JK0112   Owner Operator   FUEL TAX                       December 2014-QC                   186.44
     2/21/2015    821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               145.99
     2/21/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism        2.5
     2/21/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       635.4
     2/21/2015    858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL          8.75
     2/21/2015    858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                       13
     2/21/2015    858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/21/2015    858   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.12
     2/21/2015    858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                      323.35
     2/21/2015    858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/21/2015    858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.6
     2/21/2015    858   JR0099   Owner Operator   Truck Payment                  CTMS - 179386 Q1203                278.76
     2/21/2015    858   JR0099   Owner Operator   Truck Payment                  CTMS - 179588 Q1203                278.76
     2/21/2015    858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL          8.75
     2/21/2015    858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                       13
     2/21/2015    858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.6
     2/28/2015    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL         8.75
     2/28/2015    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                      13
     2/28/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      180.39
     2/28/2015    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment      255.72
     2/28/2015    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD          7.79
     2/28/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te        2.5
     2/28/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/28/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                       13
     2/28/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      463.32
     2/28/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.93
     2/28/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     2/28/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                      507.91
     2/28/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                   8.75
     2/28/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                       13
     2/28/2015    709   CR0064   Owner Operator   Driver Excellence Program      Clean Inspection Awards                50
     2/28/2015    709   CR0064   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -50
     2/28/2015    709   CR0064   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -50
     2/28/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      149.52
     2/28/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      269.28
     2/28/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      212.85
     2/28/2015    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      254.51
     2/28/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                   39.04
     2/28/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                      245.63
     2/28/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL          8.75
     2/28/2015    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                       13
     2/28/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/28/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                         300
     2/28/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/28/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/28/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
     2/28/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      216.11
     2/28/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      410.53
     2/28/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      183.84
     2/28/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                   10.58
     2/28/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2014 - Q1104                      31
     2/28/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD          46.86
     2/28/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter        2.5
     2/28/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 179745 Q1104                252.11
     2/28/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL             8.75
     2/28/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.39
     2/28/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.8

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     2/28/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                     378.8
     2/28/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                    598.55
     2/28/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                 10.58
     2/28/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2014 - Q1245                    31
     2/28/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD           65.69
     2/28/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                               18.36
     2/28/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                               18.38
     2/28/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     2/28/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     2/28/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                     13
     2/28/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                     13
     2/28/2015    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-7     -970.2
     2/28/2015    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-7     -140.6
     2/28/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                       500
     2/28/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                       500
     2/28/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                      5
     2/28/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                   0.17
     2/28/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                      5
     2/28/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.2
     2/28/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                    485.43
     2/28/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                    251.31
     2/28/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                    277.36
     2/28/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                    442.23
     2/28/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                    292.58
     2/28/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              92.35
     2/28/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              92.33
     2/28/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                    512.35
     2/28/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                    512.35
     2/28/2015    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                65.9
     2/28/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   1990 Peterbilt NTL                 8.75
     2/28/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                 8.75
     2/28/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                        50
     2/28/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                    579.96
     2/28/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                1990 Peterbilt PD                  7.79
     2/28/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                 19.51
     2/28/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     2/28/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                     13
     2/28/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                      250
     2/28/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                       200
     2/28/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                   2.16
     2/28/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                    467.43
     2/28/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             105.47
     2/28/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                    555.56
     2/28/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     2/28/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                     13
     2/28/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                       300
     2/28/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                   3.19
     2/28/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                   0.18
     2/28/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                    477.73
     2/28/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                    514.83
     2/28/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              91.91
     2/28/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                    505.27
     2/28/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                     13
     2/28/2015    709   EH0020   Owner Operator   Driver Excellence Program      Clean Inspection Awards              50
     2/28/2015    709   EH0020   Owner Operator   Driver Excellence Program      Clean Inspection Awards             -50
     2/28/2015    709   EH0020   Owner Operator   Driver Excellence Program      Clean Inspection Awards             -50
     2/28/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                      250
     2/28/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                       200
     2/28/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                   2.19
     2/28/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    420.67
     2/28/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    243.77
     2/28/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93
     2/28/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                    532.24
     2/28/2015    709   FT0004   Owner Operator   Accident Claim                 2/20/15 prop dam                  1440
     2/28/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     51.53
     2/28/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL              8.75

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     2/28/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
     2/28/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      240.16
     2/28/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      332.89
     2/28/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                82.01
     2/28/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     2/28/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL          8.75
     2/28/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware 9588                        13
     2/28/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     2/28/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/28/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      196.29
     2/28/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                   10.58
     2/28/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1110                      31
     2/28/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD          39.04
     2/28/2015    709   GS0015   Owner Operator   Repair Order                   CTMS - 179706 Towing                 125
     2/28/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 179878 Lease                252.11
     2/28/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL              8.75
     2/28/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                       13
     2/28/2015    709   HG0007   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -50
     2/28/2015    709   HG0007   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -50
     2/28/2015    709   HG0007   Owner Operator   Driver Excellence Program      Clean Inspection Awards                50
     2/28/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      393.52
     2/28/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      369.76
     2/28/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      307.93
     2/28/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment      254.11
     2/28/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD              15.61
     2/28/2015    709   HG0027   Owner Operator   *Arrears Collection W/O        rev arr write off                  856.78
     2/28/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                   8.75
     2/28/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                       13
     2/28/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/28/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.16
     2/28/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.35
     2/28/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      348.48
     2/28/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      384.25
     2/28/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      507.91
     2/28/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                   54.68
     2/28/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                 21.34
     2/28/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/28/2015    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-7       -93.75
     2/28/2015    709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards                50
     2/28/2015    709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -50
     2/28/2015    709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -50
     2/28/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      326.89
     2/28/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      389.67
     2/28/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.64
     2/28/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     2/28/2015    709   IR0002   Owner Operator   Tire Fee                       Tire Fee: 1796720                       8
     2/28/2015    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00316144 - PO System       175.21
     2/28/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                      521.95
     2/28/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                 13.96
     2/28/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                 13.98
     2/28/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                 8.75
     2/28/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                       13
     2/28/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                       13
     2/28/2015    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-14       115.97
     2/28/2015    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-7          -31
     2/28/2015    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-7          -62
     2/28/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/28/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/28/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/28/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.15
     2/28/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      361.48
     2/28/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      200.12
     2/28/2015    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      262.33
     2/28/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                 78.11
     2/28/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                      458.72
     2/28/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     2/28/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                       13

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     2/28/2015    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-7        -29.25
     2/28/2015    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-7       -255.84
     2/28/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
     2/28/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
     2/28/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     2/28/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.23
     2/28/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.86
     2/28/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       408.95
     2/28/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/28/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
     2/28/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     2/28/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     2/28/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     2/28/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     2/28/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     2/28/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.32
     2/28/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     2/28/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       456.31
     2/28/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       422.99
     2/28/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/28/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
     2/28/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     2/28/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                    10.58
     2/28/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2014 - Q1203                       31
     2/28/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     2/28/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
     2/28/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
     2/28/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
     2/28/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
     2/28/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
     2/28/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.43
     2/28/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.92
     2/28/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.48
     2/28/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.01
     2/28/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.97
     2/28/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.86
     2/28/2015    709   KP0004   Owner Operator   FUEL TAX                       December 2014-QC                    190.06
     2/28/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/28/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
     2/28/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     2/28/2015    709   KP0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                      3.03
     2/28/2015    709   KP0004   Owner Operator   T Chek Fee                     Tractor Repair 32914                 302.9
     2/28/2015    709   KP0004   Owner Operator   Tire Fee                       Tire Fee: 1796776                        8
     2/28/2015    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00315893 - PO System         224.4
     2/28/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
     2/28/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       365.73
     2/28/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
     2/28/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
     2/28/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/28/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
     2/28/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
     2/28/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
     2/28/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         500
     2/28/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
     2/28/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
     2/28/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     2/28/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     2/28/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       487.75
     2/28/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       498.68
     2/28/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/28/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.04
     2/28/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
     2/28/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
     2/28/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     2/28/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.29
     2/28/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     2/28/2015    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                        13
     2/28/2015    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
     2/28/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.95
     2/28/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         310
     2/28/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
     2/28/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
     2/28/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5

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     2/28/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL              8.75
     2/28/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                     13
     2/28/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                       100
     2/28/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
     2/28/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                     389.8
     2/28/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                    383.22
     2/28/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD              53.11
     2/28/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                    337.19
     2/28/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                 8.75
     2/28/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                     13
     2/28/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                      450
     2/28/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                       280
     2/28/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.8
     2/28/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                    296.91
     2/28/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                 71.86
     2/28/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism         2.5
     2/28/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                    323.05
     2/28/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL         8.75
     2/28/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                     13
     2/28/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        50
     2/28/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     163.8
     2/28/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                    162.16
     2/28/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                 10.58
     2/28/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2014 - Q1108                    31
     2/28/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD         35.15
     2/28/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 179872 Lease              215.66
     2/28/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL           8.75
     2/28/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                    13
     2/28/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                       160
     2/28/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                    1.6
     2/28/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      200
     2/28/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                    300.01
     2/28/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD           32.97
     2/28/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL         8.75
     2/28/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                      13
     2/28/2015    709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-21         25
     2/28/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD         28.11
     2/28/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL            8.75
     2/28/2015    709   RC0030   Owner Operator   Driver Excellence Program      Clean Inspection Awards             -50
     2/28/2015    709   RC0030   Owner Operator   Driver Excellence Program      Clean Inspection Awards              50
     2/28/2015    709   RC0030   Owner Operator   Driver Excellence Program      Clean Inspection Awards             -50
     2/28/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD            39.04
     2/28/2015    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00315405 - PO System     382.16
     2/28/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                               62.69
     2/28/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     2/28/2015    709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards             -50
     2/28/2015    709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards             -50
     2/28/2015    709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards              50
     2/28/2015    709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards             -50
     2/28/2015    709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards             -50
     2/28/2015    709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards              50
     2/28/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                       500
     2/28/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                   5.17
     2/28/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                    537.46
     2/28/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             103.05
     2/28/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                    504.72
     2/28/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL        8.75
     2/28/2015    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-21     659.77
     2/28/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    462.61
     2/28/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     2/28/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD        45.29
     2/28/2015    709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00315307 - PO System     508.03
     2/28/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     2/28/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                     13
     2/28/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       200
     2/28/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       100

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     2/28/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/28/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.14
     2/28/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.12
     2/28/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.14
     2/28/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      417.89
     2/28/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      428.73
     2/28/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      340.74
     2/28/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.13
     2/28/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                      512.16
     2/28/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                 27.46
     2/28/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                    8.75
     2/28/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                      13
     2/28/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      316.57
     2/28/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      455.35
     2/28/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                    13.26
     2/28/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism            2.5
     2/28/2015    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                   10.58
     2/28/2015    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2014 - Q1202                      31
     2/28/2015    709   RP0082   Owner Operator   Tractor Fee                    Fee - Q1202                        371.86
     2/28/2015    709   RP0082   Owner Operator   Tractor Fee                    Fee - Q1202                        214.94
     2/28/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
     2/28/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
     2/28/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     2/28/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                       13
     2/28/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                       13
     2/28/2015    709   SB0009   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -50
     2/28/2015    709   SB0009   Owner Operator   Driver Excellence Program      Clean Inspection Awards                50
     2/28/2015    709   SB0009   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -50
     2/28/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/28/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/28/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.3
     2/28/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      245.02
     2/28/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      362.12
     2/28/2015    709   SB0009   Owner Operator   FUEL TAX                       December 2014-QC                     30.4
     2/28/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               100.98
     2/28/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                      564.33
     2/28/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL          8.75
     2/28/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/28/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      310.01
     2/28/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      450.13
     2/28/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      380.78
     2/28/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                   10.58
     2/28/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1112                      31
     2/28/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD           37.5
     2/28/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 179876 Tractor Sub leas     242.03
     2/28/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
     2/28/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                       13
     2/28/2015    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                        200
     2/28/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/28/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/28/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/28/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/28/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      263.88
     2/28/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      301.76
     2/28/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      260.61
     2/28/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      250.95
     2/28/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                55.47
     2/28/2015    709   VJ0006   Owner Operator   Repair Order                   CTMS - 179705 Repair                184.9
     2/28/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                       375.9
     2/28/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                8.75
     2/28/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                       13
     2/28/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                56.25
     2/28/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism        2.5
     2/28/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL             8.75
     2/28/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                       13
     2/28/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                         300
     2/28/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3

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     2/28/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.3
     2/28/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      343.86
     2/28/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      448.34
     2/28/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      329.84
     2/28/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                   10.58
     2/28/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2014 - Q1235                      31
     2/28/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD             65.69
     2/28/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 179744 Sub, Sub Lease       396.13
     2/28/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL               8.75
     2/28/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                       13
     2/28/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/28/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/28/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/28/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
     2/28/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/28/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/28/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/28/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     2/28/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.1
     2/28/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      313.16
     2/28/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      173.32
     2/28/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      580.12
     2/28/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD               97.25
     2/28/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris        2.5
     2/28/2015    742   AP0047   Owner Operator   Repair Order                   CTMS - 179863 Repair                314.4
     2/28/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                       13
     2/28/2015    742   BS0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-7       -86.88
     2/28/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                        125
     2/28/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                           80
     2/28/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                           80
     2/28/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.16
     2/28/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.8
     2/28/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      256.16
     2/28/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      367.16
     2/28/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      171.47
     2/28/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      127.22
     2/28/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       419.4
     2/28/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                8.75
     2/28/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.22
     2/28/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      305.98
     2/28/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      422.69
     2/28/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      219.47
     2/28/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                24.61
     2/28/2015    742   BS0078   Owner Operator   Truck Payment                  CTMS - 179792 Q1236                 565.9
     2/28/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                    8.75
     2/28/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                       13
     2/28/2015    742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.38
     2/28/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      259.19
     2/28/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      157.95
     2/28/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      234.32
     2/28/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      342.27
     2/28/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                    65.34
     2/28/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism            2.5
     2/28/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL             8.75
     2/28/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        8
     2/28/2015    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.21
     2/28/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      321.55
     2/28/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       398.1
     2/28/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      344.24
     2/28/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD             24.61
     2/28/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror        2.5
     2/28/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL            8.75
     2/28/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                      13
     2/28/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.74
     2/28/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD            54.68
     2/28/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro        2.5
     2/28/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75

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     2/28/2015    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                       13
     2/28/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/28/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     2/28/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.16
     2/28/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     2/28/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      361.17
     2/28/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      332.91
     2/28/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               117.45
     2/28/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                      554.49
     2/28/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
     2/28/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                       13
     2/28/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/28/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      294.21
     2/28/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       65.61
     2/28/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
     2/28/2015    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2014 - 33252                    100
     2/28/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       11.62
     2/28/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD         100.76
     2/28/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter        2.5
     2/28/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 179821 Repair                 100
     2/28/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL         8.75
     2/28/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                      13
     2/28/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/28/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      430.65
     2/28/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      331.46
     2/28/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                  10.58
     2/28/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2014 - Q13157                     31
     2/28/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD         74.25
     2/28/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te        2.5
     2/28/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 179717 Tractor Lease        353.28
     2/28/2015    821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     2/28/2015    821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                       13
     2/28/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/28/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.45
     2/28/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      248.98
     2/28/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      308.74
     2/28/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      281.68
     2/28/2015    821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               145.96
     2/28/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism        2.5
     2/28/2015    821   JK0112   Owner Operator   Repair Order                   TRACTOR 33211                          13
     2/28/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       635.4
     2/28/2015    858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL          8.75
     2/28/2015    858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                       13
     2/28/2015    858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                          50
     2/28/2015    858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     2/28/2015    858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD          58.58
     2/28/2015    858   JR0099   Owner Operator   Truck Payment                  CTMS - 179792 Q1203                278.76
     2/28/2015    858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL          8.75
     2/28/2015    858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                       13
     2/28/2015    858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.09
     2/28/2015    858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.07
     2/28/2015    858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                      307.54
     2/28/2015    858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                      298.43
     2/28/2015    858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.6
     2/28/2015    858   RP0082   Owner Operator   Truck Payment                  CTMS - 179600 Truck Lease          278.76
     2/28/2015    858   RP0082   Owner Operator   Truck Payment                  CTMS - 179788 Truck Lease          278.76
      3/7/2015    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL         8.75
      3/7/2015    709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                12.5
      3/7/2015    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                      13
      3/7/2015    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment      255.72
      3/7/2015    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD          7.82
      3/7/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te        2.5
      3/7/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      3/7/2015    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                 12.5
      3/7/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                       13
      3/7/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.3
      3/7/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.24
      3/7/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      357.26

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      3/7/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      415.97
      3/7/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      573.72
      3/7/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.96
      3/7/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
      3/7/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                      507.91
      3/7/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                   8.75
      3/7/2015    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                 12.5
      3/7/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                       13
      3/7/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      188.18
      3/7/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       78.47
      3/7/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      152.29
      3/7/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      254.89
      3/7/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      241.05
      3/7/2015    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      254.51
      3/7/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                   39.07
      3/7/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                      245.63
      3/7/2015    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                   10.58
      3/7/2015    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2014 - 73130                      31
      3/7/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL          8.75
      3/7/2015    709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                 12.5
      3/7/2015    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                       13
      3/7/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          50
      3/7/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/7/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/7/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      3/7/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      3/7/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      159.37
      3/7/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      158.69
      3/7/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      351.57
      3/7/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      179.58
      3/7/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      171.34
      3/7/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                   10.58
      3/7/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2014 - Q1104                      31
      3/7/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   DJ0028   Owner Operator   Permits                        IL02:2015 - Q1104                    3.75
      3/7/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD          46.88
      3/7/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter        2.5
      3/7/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 179952 Q1104                252.11
      3/7/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL             8.75
      3/7/2015    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                 12.5
      3/7/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                       13
      3/7/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                       13
      3/7/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                          50
      3/7/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                          50
      3/7/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      128.52
      3/7/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      309.45
      3/7/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      372.38
      3/7/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                   10.58
      3/7/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2014 - Q1245                      31
      3/7/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
      3/7/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 179790 Sublease             338.99
      3/7/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 179998 Sublease             338.99
      3/7/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.38
      3/7/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      3/7/2015    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                 12.5
      3/7/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
      3/7/2015    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-28        970.2
      3/7/2015    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-28        140.6
      3/7/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                         500
      3/7/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      3/7/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.26
      3/7/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      443.57
      3/7/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      507.53
      3/7/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.35
      3/7/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
      3/7/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
      3/7/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          50
      3/7/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      581.06
      3/7/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5

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      3/7/2015    709   DS0225   Owner Operator   Permits                        CUST:2015 - 33320                      205
      3/7/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      3/7/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/7/2015    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                  12.5
      3/7/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      3/7/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      3/7/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/7/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/7/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.23
      3/7/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/7/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.02
      3/7/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.09
      3/7/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.79
      3/7/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/7/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      3/7/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      3/7/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/7/2015    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                  12.5
      3/7/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      3/7/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           300
      3/7/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      3/7/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.23
      3/7/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      3/7/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       462.71
      3/7/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.33
      3/7/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.59
      3/7/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/7/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      3/7/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      3/7/2015    709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                  12.5
      3/7/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      3/7/2015    709   EH0020   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-14      -102.22
      3/7/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      3/7/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           150
      3/7/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/7/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/7/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      3/7/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       486.69
      3/7/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       477.78
      3/7/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/7/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      3/7/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      3/7/2015    709   FT0004   Owner Operator   Accident Claim                 2/17 2/20 prop dam JMcAvoy             500
      3/7/2015    709   FT0004   Owner Operator   Accident Claim                 2/17/15 prop dam                      2000
      3/7/2015    709   FT0004   Owner Operator   Accident Claim                 2/20/15 prop dam                       560
      3/7/2015    709   FT0004   Owner Operator   Accident Claim                 cr claim to be s/u on wkly pmt        -560
      3/7/2015    709   FT0004   Owner Operator   Accident Claim                 cr claim to be s/u on wkly pmt       -1440
      3/7/2015    709   FT0004   Owner Operator   Accident Claim                 cr claim to be s/u on wkly pmt       -2000
      3/7/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      3/7/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      3/7/2015    709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
      3/7/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         8
      3/7/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         8
      3/7/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/7/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           125
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            10
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           125
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            15
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            60
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.25
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      3/7/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.25
      3/7/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.7
      3/7/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        79.87

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      3/7/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       80.57
      3/7/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        3.56
      3/7/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      167.83
      3/7/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          90
      3/7/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                   10.58
      3/7/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                   10.58
      3/7/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2014 - 73129                      31
      3/7/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2014 - 73129                      31
      3/7/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD          29.52
      3/7/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD          29.51
      3/7/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 179745 73129                181.08
      3/7/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 179952 73129                181.08
      3/7/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                8.75
      3/7/2015    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                12.5
      3/7/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
      3/7/2015    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.13
      3/7/2015    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.22
      3/7/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      307.24
      3/7/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      342.11
      3/7/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      125.19
      3/7/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                82.04
      3/7/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
      3/7/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL          8.75
      3/7/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware 9588                        13
      3/7/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
      3/7/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                          50
      3/7/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      331.33
      3/7/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                   10.58
      3/7/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1110                      31
      3/7/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD          39.07
      3/7/2015    709   GS0015   Owner Operator   Repair Order                   CTMS - 179910 Repair               274.12
      3/7/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 180075 Lease                252.11
      3/7/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL              8.75
      3/7/2015    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                 12.5
      3/7/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                       13
      3/7/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      299.33
      3/7/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      317.37
      3/7/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      418.53
      3/7/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment      254.11
      3/7/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD              15.63
      3/7/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                   8.75
      3/7/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                       13
      3/7/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          50
      3/7/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.28
      3/7/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      334.03
      3/7/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.8
      3/7/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      406.47
      3/7/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                   54.69
      3/7/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                 21.35
      3/7/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      3/7/2015    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-28        93.75
      3/7/2015    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/7/2015    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      3/7/2015    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.43
      3/7/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      238.21
      3/7/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       43.16
      3/7/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      305.59
      3/7/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.64
      3/7/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
      3/7/2015    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00316144 - PO System       175.21
      3/7/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                      521.95
      3/7/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                 13.98
      3/7/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                 8.75
      3/7/2015    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                 12.5
      3/7/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                       13
      3/7/2015    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-28           31

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      3/7/2015    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-28          62
      3/7/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         300
      3/7/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/7/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.11
      3/7/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                     3.1
      3/7/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     264.27
      3/7/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     487.36
      3/7/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     493.77
      3/7/2015    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment     262.33
      3/7/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      3/7/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                78.13
      3/7/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                     458.72
      3/7/2015    709   JG0017   Owner Operator   Accident Claim                 2/10/15 JMcAvoy                      500
      3/7/2015    709   JG0017   Owner Operator   Accident Claim                 2/10/15 trailer only                2000
      3/7/2015    709   JG0017   Owner Operator   Accident Claim                 cr claim to s/u on wkly pmts       -2000
      3/7/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      3/7/2015    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                12.5
      3/7/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                      13
      3/7/2015    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-28       29.25
      3/7/2015    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-28      255.84
      3/7/2015    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                  -2000
      3/7/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                        500
      3/7/2015    709   JG0017   Owner Operator   Express Check                  T-Check Payment                     2000
      3/7/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                         300
      3/7/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      3/7/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.26
      3/7/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      199.2
      3/7/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     367.91
      3/7/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     338.14
      3/7/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      3/7/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               90.86
      3/7/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                      504.6
      3/7/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      3/7/2015    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                12.5
      3/7/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                      13
      3/7/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/7/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/7/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/7/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.17
      3/7/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      3/7/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                    1.34
      3/7/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     422.94
      3/7/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     493.99
      3/7/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     446.95
      3/7/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      3/7/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               74.22
      3/7/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                     513.26
      3/7/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL               8.75
      3/7/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL               8.75
      3/7/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL               8.75
      3/7/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL               8.75
      3/7/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL               8.75
      3/7/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     122.83
      3/7/2015    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      3/7/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD               19.54
      3/7/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD               19.51
      3/7/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD               19.54
      3/7/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD               19.54
      3/7/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD               19.54
      3/7/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                  10.58
      3/7/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2014 - Q1203                     31
      3/7/2015    709   JR0099   Owner Operator   Permits1                       ID06:2015 - Q1203                     11
      3/7/2015    709   JR0099   Owner Operator   Permits1                       IL02:2015 - Q1203                   3.75
      3/7/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                8.75
      3/7/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                8.75
      3/7/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                8.75
      3/7/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                8.75
      3/7/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                   8.75
      3/7/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                   8.75
      3/7/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                   8.75
      3/7/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                   8.75
      3/7/2015    709   JS0265   Owner Operator   Broker Pre Pass                32298 PrePass Device                12.5
      3/7/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                      13

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      3/7/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                               13
      3/7/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                               13
      3/7/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                               13
      3/7/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                                100
      3/7/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                                100
      3/7/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                                100
      3/7/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                                100
      3/7/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                                 200
      3/7/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                                 200
      3/7/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                                 200
      3/7/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                                2
      3/7/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                                2
      3/7/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                                2
      3/7/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                              380.55
      3/7/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                              309.91
      3/7/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                              438.07
      3/7/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                              344.19
      3/7/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                              439.48
      3/7/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                              381.75
      3/7/2015    709   JS0265   Owner Operator   FUEL TAX                       December 2014-QC                           405.78
      3/7/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                                47.5
      3/7/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                                47.5
      3/7/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                                47.5
      3/7/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                                47.5
      3/7/2015    709   JS0265   Owner Operator   Permits                        NM07:2015 - 33325                             5.5
      3/7/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                         15.94
      3/7/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                         15.93
      3/7/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                         15.94
      3/7/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                         15.94
      3/7/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                             37.5
      3/7/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                             37.5
      3/7/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                             37.5
      3/7/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                             37.5
      3/7/2015    709   JS0265   Owner Operator   Toll Charges                                                 675308681      100
      3/7/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                        8.75
      3/7/2015    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                         12.5
      3/7/2015    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                         12.5
      3/7/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                               13
      3/7/2015    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-14             -182.12
      3/7/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                                250
      3/7/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                                 100
      3/7/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                                   50
      3/7/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                              0.5
      3/7/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                             1.31
      3/7/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                              229.46
      3/7/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                              281.99
      3/7/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                              280.01
      3/7/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                               133.5
      3/7/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                              441.32
      3/7/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                                47.5
      3/7/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                        93.32
      3/7/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism                2.5
      3/7/2015    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00315893 - PO System                224.4
      3/7/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                              519.59
      3/7/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL                   8.75
      3/7/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                                13
      3/7/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                                47.5
      3/7/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                      45
      3/7/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                            8.75
      3/7/2015    709   LS0023   Owner Operator   Broker Pre Pass                21489A PrePass Device                        12.5
      3/7/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                              13
      3/7/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                                500
      3/7/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                                 200
      3/7/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                                 200
      3/7/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                                2
      3/7/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                                2
      3/7/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                              373.82
      3/7/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                              367.78
      3/7/2015    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2014 - 21489A                           100
      3/7/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                                47.5
      3/7/2015    709   LS0023   Owner Operator   Permits                        OR16:2015 - 21489a                              8
      3/7/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                            39.07
      3/7/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                           8.75

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      3/7/2015    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device             12.5
      3/7/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                   13
      3/7/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
      3/7/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                70.32
      3/7/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                    8.75
      3/7/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                    8.75
      3/7/2015    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                    13
      3/7/2015    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                       50
      3/7/2015    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
      3/7/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                    35.16
      3/7/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                    35.15
      3/7/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism            2.5
      3/7/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism            2.5
      3/7/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL             8.75
      3/7/2015    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device              12.5
      3/7/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                    13
      3/7/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                      200
      3/7/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                      100
      3/7/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1
      3/7/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2
      3/7/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                   353.74
      3/7/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                   423.57
      3/7/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                    188.9
      3/7/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
      3/7/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD             53.13
      3/7/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                   337.19
      3/7/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                8.75
      3/7/2015    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device              12.5
      3/7/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                    13
      3/7/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                     450
      3/7/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                      280
      3/7/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                   2.8
      3/7/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                   494.45
      3/7/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
      3/7/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                71.88
      3/7/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism        2.5
      3/7/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                   323.05
      3/7/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD        23.25
      3/7/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL          8.75
      3/7/2015    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device             12.5
      3/7/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                   13
      3/7/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                      140
      3/7/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                   1.4
      3/7/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     198
      3/7/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     300
      3/7/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
      3/7/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD          32.98
      3/7/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL        8.75
      3/7/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                     13
      3/7/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
      3/7/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD        28.13
      3/7/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL           8.75
      3/7/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                   522.37
      3/7/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
      3/7/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD           39.07
      3/7/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                               62.7
      3/7/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL             8.75
      3/7/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                      500
      3/7/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                  5.18
      3/7/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                   600.75
      3/7/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                   501.46
      3/7/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
      3/7/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD            103.07
      3/7/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                   504.72
      3/7/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL       8.75
      3/7/2015    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device             12.5
      3/7/2015    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                        40
      3/7/2015    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                   0.4
      3/7/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                   470.31
      3/7/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                   344.67
      3/7/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
      3/7/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD       45.32
      3/7/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL             8.75

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      3/7/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                       13
      3/7/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/7/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/7/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/7/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.16
      3/7/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.14
      3/7/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.14
      3/7/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      457.65
      3/7/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      445.99
      3/7/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      426.57
      3/7/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.15
      3/7/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                      512.16
      3/7/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                 27.48
      3/7/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                    8.75
      3/7/2015    709   RM0026   Owner Operator   Broker Pre Pass                30811A PrePass Device                12.5
      3/7/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                      13
      3/7/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      322.53
      3/7/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      254.62
      3/7/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      198.45
      3/7/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                    13.29
      3/7/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism            2.5
      3/7/2015    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                   10.58
      3/7/2015    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2014 - Q1202                      31
      3/7/2015    709   RP0082   Owner Operator   Permits1                       ID06:2015 - Q1202                      11
      3/7/2015    709   RP0082   Owner Operator   Permits1                       IL02:2015 - Q1202                    3.75
      3/7/2015    709   RP0082   Owner Operator   Tractor Fee                    Fee - Q1202                        371.86
      3/7/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
      3/7/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
      3/7/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
      3/7/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
      3/7/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   55000 2011 Freightliner NTL          8.75
      3/7/2015    709   SN0019   Owner Operator   Communication Charge           PNet Hware Q1107                        8
      3/7/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                      291.58
      3/7/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                      176.24
      3/7/2015    709   SN0019   Owner Operator   Highway Use Tax                HUTC:2015 - Q1107                   10.58
      3/7/2015    709   SN0019   Owner Operator   IRP License Deduction          LCIL:2014 - Q1107                      31
      3/7/2015    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                42.97
      3/7/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                42.97
      3/7/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                42.97
      3/7/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                42.97
      3/7/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                55000 2011 Freightliner PD          42.97
      3/7/2015    709   SN0019   Owner Operator   Tractor Charge                 08091005 - Q1107                   508.69
      3/7/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL          8.75
      3/7/2015    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                 12.5
      3/7/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                          50
      3/7/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      226.05
      3/7/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      424.45
      3/7/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                   10.58
      3/7/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1112                      31
      3/7/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD           37.5
      3/7/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 180073 Tractor Sub leas     242.03
      3/7/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
      3/7/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/7/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/7/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      3/7/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      3/7/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      251.11
      3/7/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      311.62
      3/7/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      345.93
      3/7/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      241.89
      3/7/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      310.61
      3/7/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                55.47
      3/7/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                       375.9
      3/7/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                8.75
      3/7/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                       13
      3/7/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                56.25
      3/7/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism        2.5

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      3/7/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL             8.75
      3/7/2015    709   WH0073   Owner Operator   Broker Pre Pass                Q1235 PrePass Device                 12.5
      3/7/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                       13
      3/7/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.27
      3/7/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.7
      3/7/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      380.98
      3/7/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      452.18
      3/7/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                   10.58
      3/7/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2014 - Q1235                      31
      3/7/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    709   WH0073   Owner Operator   Permits                        CUST:2015 - Q1235                    205
      3/7/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD             65.71
      3/7/2015    709   WH0073   Owner Operator   Repair Order                   CTMS - 179909 Parts                 54.54
      3/7/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 179951 Sub, Sub Lease       396.13
      3/7/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL               8.75
      3/7/2015    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                 12.5
      3/7/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                       13
      3/7/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/7/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/7/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      3/7/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.2
      3/7/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      288.12
      3/7/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.4
      3/7/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      459.54
      3/7/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    742   AP0047   Owner Operator   Permits                        NM07:2015 - 32604                     5.5
      3/7/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD               97.27
      3/7/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris        2.5
      3/7/2015    742   BS0030   Owner Operator   Broker Pre Pass                32947 PrePass Device                 12.5
      3/7/2015    742   BS0030   Owner Operator   Charge back by affiliate       CTMS - 180048 trailer wash          -32.5
      3/7/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                       13
      3/7/2015    742   BS0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-28        86.88
      3/7/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                        125
      3/7/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/7/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         300
      3/7/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/7/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      3/7/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                     3.41
      3/7/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      3/7/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      236.26
      3/7/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      453.12
      3/7/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      500.39
      3/7/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      285.01
      3/7/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       419.4
      3/7/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                8.75
      3/7/2015    742   BS0078   Owner Operator   Broker Pre Pass                32665 PrePass Device                 12.5
      3/7/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
      3/7/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.15
      3/7/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.14
      3/7/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      199.26
      3/7/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      253.73
      3/7/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      451.02
      3/7/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       60.37
      3/7/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      142.91
      3/7/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    742   BS0078   Owner Operator   Permits                        NM07:2015 - 32665                     5.5
      3/7/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                24.61
      3/7/2015    742   BS0078   Owner Operator   Truck Payment                  CTMS - 180001 Q1236                 565.9
      3/7/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                    27.88
      3/7/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism            2.5
      3/7/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL             8.75
      3/7/2015    742   EN0016   Owner Operator   Broker Pre Pass                32674 PrePass Device                 12.5
      3/7/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        8
      3/7/2015    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.28
      3/7/2015    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.39
      3/7/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      389.18
      3/7/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      337.87
      3/7/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      358.74
      3/7/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.1
      3/7/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      173.99
      3/7/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD             24.61

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      3/7/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror        2.5
      3/7/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL            8.75
      3/7/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                      13
      3/7/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
      3/7/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD            54.69
      3/7/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro        2.5
      3/7/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
      3/7/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/7/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.17
      3/7/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      364.27
      3/7/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               117.45
      3/7/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                      419.99
      3/7/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
      3/7/2015    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                 12.5
      3/7/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                       13
      3/7/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                          50
      3/7/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      416.85
      3/7/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      424.35
      3/7/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      406.77
      3/7/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       65.63
      3/7/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
      3/7/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL          8.75
      3/7/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL          8.75
      3/7/2015    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                 12.5
      3/7/2015    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                       13
      3/7/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                          50
      3/7/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                       16.86
      3/7/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/7/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/7/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.15
      3/7/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      3/7/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.31
      3/7/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                      546.87
      3/7/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                      408.42
      3/7/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                      392.52
      3/7/2015    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2014 - 33252                   92.94
      3/7/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       35.88
      3/7/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/7/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD         100.79
      3/7/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter        2.5
      3/7/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 180060 repair                 100
      3/7/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      3/7/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      3/7/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      3/7/2015    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                 12.5
      3/7/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                       13
      3/7/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                       13
      3/7/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                       13
      3/7/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        200
      3/7/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        200
      3/7/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        200
      3/7/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/7/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.15
      3/7/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.23
      3/7/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.15
      3/7/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      113.89
      3/7/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      258.82
      3/7/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      292.93
      3/7/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      229.94
      3/7/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      290.78
      3/7/2015    742   PC0012   Owner Operator   FUEL TAX                       December 2014-QC                    57.03
      3/7/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.74
      3/7/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
      3/7/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
      3/7/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               104.38
      3/7/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               104.38
      3/7/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               104.35
      3/7/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                      509.18
      3/7/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                      509.18
      3/7/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                      509.18
      3/7/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL         8.75

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      3/7/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      3/7/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/7/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.08
      3/7/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.85
      3/7/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                   10.58
      3/7/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2014 - Q13157                      31
      3/7/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/7/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      3/7/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      3/7/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 179922 Tractor Lease         353.28
      3/7/2015    821   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      3/7/2015    821   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      3/7/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.64
      3/7/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       553.55
      3/7/2015    821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/7/2015    821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/7/2015    821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      3/7/2015    821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      3/7/2015    821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      3/7/2015    821   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
      3/7/2015    821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      3/7/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/7/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.37
      3/7/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.74
      3/7/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.72
      3/7/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        409.4
      3/7/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.4
      3/7/2015    821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/7/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      3/7/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      3/7/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      3/7/2015    858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      3/7/2015    858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      3/7/2015    858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
      3/7/2015    858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      3/7/2015    858   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
      3/7/2015    858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      3/7/2015    858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/7/2015    858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/7/2015    858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      3/7/2015    858   JR0099   Owner Operator   Repair Order                   CTMS - 179910 Repair                  414
      3/7/2015    858   JR0099   Owner Operator   Truck Payment                  CTMS - 180001 Q1203                 278.76
      3/7/2015    858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      3/7/2015    858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      3/7/2015    858   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                  12.5
      3/7/2015    858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      3/7/2015    858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/7/2015    858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.22
      3/7/2015    858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.82
      3/7/2015    858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/7/2015    858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      3/7/2015    858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      3/7/2015    858   RP0082   Owner Operator   Repair Order                   CTMS - 179910 Repair                  414
      3/7/2015    858   RP0082   Owner Operator   Truck Payment                  CTMS - 180001 Truck Lease           278.76
     3/14/2015    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     3/14/2015    709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 180253 Fuel for Trailer     -275.43
     3/14/2015    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     3/14/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
     3/14/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
     3/14/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.13
     3/14/2015    709   AN0007   Owner Operator   FUEL TAX                       January 2015-QC                      -1.96
     3/14/2015    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment       254.71
     3/14/2015    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/14/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
     3/14/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     3/14/2015    709   AN0007   Owner Operator   Truck Payment                  CTMS - 180166 tractor rental          400
     3/14/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     3/14/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     3/14/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
     3/14/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       434.39
     3/14/2015    709   CM0119   Owner Operator   FUEL TAX                       January 2015-QC                      -0.22
     3/14/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/14/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96

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     3/14/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     3/14/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                      507.91
     3/14/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                   8.75
     3/14/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                       13
     3/14/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      194.29
     3/14/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      231.92
     3/14/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      255.24
     3/14/2015    709   CR0064   Owner Operator   FUEL TAX                       January 2015-QC                    -47.57
     3/14/2015    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      254.51
     3/14/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                   39.07
     3/14/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                      245.63
     3/14/2015    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                   10.58
     3/14/2015    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2014 - 73130                      31
     3/14/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL          8.75
     3/14/2015    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                       13
     3/14/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/14/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/14/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     3/14/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      292.96
     3/14/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      327.24
     3/14/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      153.34
     3/14/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      266.89
     3/14/2015    709   DJ0028   Owner Operator   FUEL TAX                       January 2015-QC                     19.26
     3/14/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                   10.58
     3/14/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2014 - Q1104                      31
     3/14/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD          46.88
     3/14/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter        2.5
     3/14/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 180149 Q1104                252.11
     3/14/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL             8.75
     3/14/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                       13
     3/14/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/14/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.32
     3/14/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      656.69
     3/14/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      586.94
     3/14/2015    709   DL0107   Owner Operator   FUEL TAX                       January 2015-QC                    146.29
     3/14/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                   10.58
     3/14/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2014 - Q1245                      31
     3/14/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
     3/14/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 180177 Sublease             338.99
     3/14/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.38
     3/14/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     3/14/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
     3/14/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                         500
     3/14/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
     3/14/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.27
     3/14/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      383.04
     3/14/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      533.08
     3/14/2015    709   DS0049   Owner Operator   FUEL TAX                       January 2015-QC                     -0.09
     3/14/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.35
     3/14/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
     3/14/2015    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                 32.95
     3/14/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
     3/14/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/14/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      518.29
     3/14/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   19.54
     3/14/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     3/14/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
     3/14/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        250
     3/14/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.32
     3/14/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.06
     3/14/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      220.29
     3/14/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      394.08
     3/14/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      288.72
     3/14/2015    709   EA0003   Owner Operator   FUEL TAX                       January 2015-QC                     48.68
     3/14/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
     3/14/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
     3/14/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75

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     3/14/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                      13
     3/14/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        300
     3/14/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
     3/14/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.18
     3/14/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.11
     3/14/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     186.51
     3/14/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     380.13
     3/14/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     159.33
     3/14/2015    709   EE0011   Owner Operator   FUEL TAX                       January 2015-QC                    53.55
     3/14/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     3/14/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.92
     3/14/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                     505.27
     3/14/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
     3/14/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
     3/14/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     314.06
     3/14/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     3/14/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.01
     3/14/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                     141.22
     3/14/2015    709   FT0004   Owner Operator   Accident Claim                 2/17 2/20 prop dam JMcAvoy          500
     3/14/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL         8.75
     3/14/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                      13
     3/14/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                         50
     3/14/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          70
     3/14/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          20
     3/14/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                        100
     3/14/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     3/14/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.2
     3/14/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.7
     3/14/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     266.54
     3/14/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       250
     3/14/2015    709   FT0004   Owner Operator   FUEL TAX                       January 2015-QC                    -3.26
     3/14/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                  10.58
     3/14/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2014 - 73129                     31
     3/14/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     3/14/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD         29.52
     3/14/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 180149 73129               181.08
     3/14/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL               8.75
     3/14/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                     13
     3/14/2015    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.23
     3/14/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      375.2
     3/14/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       450
     3/14/2015    709   FV0001   Owner Operator   FUEL TAX                       January 2015-QC                    19.24
     3/14/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     3/14/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD               82.04
     3/14/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                 4.75
     3/14/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL         8.75
     3/14/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                      13
     3/14/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                         50
     3/14/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     279.51
     3/14/2015    709   GS0015   Owner Operator   FUEL TAX                       January 2015-QC                     0.26
     3/14/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                  10.58
     3/14/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1110                     31
     3/14/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     3/14/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD         39.07
     3/14/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL             8.75
     3/14/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                      13
     3/14/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                        200
     3/14/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
     3/14/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     556.35
     3/14/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     654.12
     3/14/2015    709   HG0007   Owner Operator   FUEL TAX                       January 2015-QC                    59.74
     3/14/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment     254.11
     3/14/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     3/14/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD             15.63
     3/14/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      50.52
     3/14/2015    709   HG0027   Owner Operator   FUEL TAX                       January 2015-QC                   -50.52
     3/14/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                21.35
     3/14/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
     3/14/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                     332.62
     3/14/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                     328.92
     3/14/2015    709   IR0002   Owner Operator   FUEL TAX                       January 2015-QC                     0.22
     3/14/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     3/14/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.64

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     3/14/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     3/14/2015    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00316144 - PO System        175.21
     3/14/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
     3/14/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
     3/14/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
     3/14/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
     3/14/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/14/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
     3/14/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                      3.26
     3/14/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/14/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       420.39
     3/14/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       523.52
     3/14/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       401.35
     3/14/2015    709   JC0292   Owner Operator   FUEL TAX                       January 2015-QC                      64.98
     3/14/2015    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       262.33
     3/14/2015    709   JC0292   Owner Operator   Miscellaneous                  Saskatchewan Prem                     5.54
     3/14/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/14/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
     3/14/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
     3/14/2015    709   JG0017   Owner Operator   Accident Claim                 2/10/15 JMcAvoy                       500
     3/14/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     3/14/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
     3/14/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
     3/14/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/14/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          100
     3/14/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     3/14/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.23
     3/14/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       425.82
     3/14/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        432.3
     3/14/2015    709   JG0017   Owner Operator   FUEL TAX                       January 2015-QC                      -0.31
     3/14/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/14/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
     3/14/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     3/14/2015    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
     3/14/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     3/14/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     3/14/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/14/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
     3/14/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/14/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.18
     3/14/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.21
     3/14/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/14/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        417.2
     3/14/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       466.46
     3/14/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       409.05
     3/14/2015    709   JG0072   Owner Operator   FUEL TAX                       January 2015-QC                      165.2
     3/14/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/14/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
     3/14/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     3/14/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     3/14/2015    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     3/14/2015    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     3/14/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.2
     3/14/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.48
     3/14/2015    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/14/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
     3/14/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                    10.58
     3/14/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2014 - Q1203                       31
     3/14/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     3/14/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     3/14/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     3/14/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
     3/14/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/14/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/14/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/14/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/14/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       388.95
     3/14/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       486.68
     3/14/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.19
     3/14/2015    709   JS0265   Owner Operator   FUEL TAX                       January 2015-QC                       1.63
     3/14/2015    709   JS0265   Owner Operator   Miscellaneous                  void chk 954844                   -1577.07
     3/14/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/14/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94

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     3/14/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                     37.5
     3/14/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     3/14/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                       13
     3/14/2015    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-7        182.12
     3/14/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                        250
     3/14/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
     3/14/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
     3/14/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     3/14/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.28
     3/14/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.26
     3/14/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      100.71
     3/14/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      341.77
     3/14/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      171.51
     3/14/2015    709   KP0004   Owner Operator   FUEL TAX                       January 2015-QC                    191.17
     3/14/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.32
     3/14/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     3/14/2015    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00315893 - PO System        224.4
     3/14/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                      519.59
     3/14/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL           8.75
     3/14/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                        13
     3/14/2015    709   LL0160   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -50
     3/14/2015    709   LL0160   Owner Operator   FUEL TAX                       January 2015-QC                     290.1
     3/14/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD              45
     3/14/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                    8.75
     3/14/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                      13
     3/14/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                        500
     3/14/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/14/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     3/14/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                      440.49
     3/14/2015    709   LS0023   Owner Operator   FUEL TAX                       January 2015-QC                     30.05
     3/14/2015    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2014 - 21489A                   100
     3/14/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                    39.07
     3/14/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                   8.75
     3/14/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                      13
     3/14/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                   70.32
     3/14/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
     3/14/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       13
     3/14/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      250.61
     3/14/2015    709   MM0093   Owner Operator   FUEL TAX                       January 2015-QC                      0.45
     3/14/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                53.13
     3/14/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                      337.19
     3/14/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
     3/14/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
     3/14/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        450
     3/14/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                         280
     3/14/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                     3.14
     3/14/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       537.9
     3/14/2015    709   MP0035   Owner Operator   FUEL TAX                       January 2015-QC                     -0.45
     3/14/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   71.88
     3/14/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
     3/14/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                      323.05
     3/14/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           8.75
     3/14/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           8.75
     3/14/2015    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                 12.5
     3/14/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
     3/14/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
     3/14/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/14/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/14/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      197.37
     3/14/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       420.7
     3/14/2015    709   NB0029   Owner Operator   FUEL TAX                       January 2015-QC                    408.24
     3/14/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                   10.58
     3/14/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                   10.58
     3/14/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2014 - Q1108                      31
     3/14/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2014 - Q1108                      31
     3/14/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5

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     3/14/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD         11.91
     3/14/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD         35.16
     3/14/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 180070 Lease              215.66
     3/14/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 180258 Lease              215.66
     3/14/2015    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services               32.95
     3/14/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL           8.75
     3/14/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                    13
     3/14/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                       160
     3/14/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                    1.6
     3/14/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                    180.74
     3/14/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      300
     3/14/2015    709   NG0005   Owner Operator   FUEL TAX                       January 2015-QC                    0.26
     3/14/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/14/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD           32.98
     3/14/2015    709   NG0005   Owner Operator   Tire Fee                       Tire Fee: 1798974                    16
     3/14/2015    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00316744 - PO System     664.44
     3/14/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL         8.75
     3/14/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                      13
     3/14/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/14/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD         28.13
     3/14/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL            8.75
     3/14/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                    413.49
     3/14/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                    451.72
     3/14/2015    709   RC0030   Owner Operator   FUEL TAX                       January 2015-QC                  800.04
     3/14/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/14/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD            39.07
     3/14/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                62.7
     3/14/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     3/14/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                       500
     3/14/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                   5.23
     3/14/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                    330.33
     3/14/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                    235.68
     3/14/2015    709   RC0089   Owner Operator   FUEL TAX                       January 2015-QC                    0.31
     3/14/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/14/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             103.07
     3/14/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                    504.72
     3/14/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL        8.75
     3/14/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    481.23
     3/14/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    200.24
     3/14/2015    709   RL0017   Owner Operator   FUEL TAX                       January 2015-QC                   -0.04
     3/14/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/14/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD        45.32
     3/14/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     3/14/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                     13
     3/14/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       200
     3/14/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       200
     3/14/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                   2.15
     3/14/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                   2.15
     3/14/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     443.8
     3/14/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                    420.13
     3/14/2015    709   RL0062   Owner Operator   FUEL TAX                       January 2015-QC                  196.19
     3/14/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/14/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              93.15
     3/14/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                    512.16
     3/14/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                               27.48
     3/14/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                  8.75
     3/14/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                    13
     3/14/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     280.8
     3/14/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                    314.18
     3/14/2015    709   RM0026   Owner Operator   FUEL TAX                       January 2015-QC                  106.99
     3/14/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/14/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                  13.29
     3/14/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism          2.5
     3/14/2015    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services               32.95
     3/14/2015    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                 10.58
     3/14/2015    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2014 - Q1202                    31
     3/14/2015    709   RP0082   Owner Operator   Tractor Fee                    Fee - Q1202                      371.86
     3/14/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL              8.75
     3/14/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL              8.75
     3/14/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   55000 2011 Freightliner NTL        8.75
     3/14/2015    709   SN0019   Owner Operator   Communication Charge           PNet Hware Q1107                     13
     3/14/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                    350.54
     3/14/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                    164.01

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     3/14/2015    709   SN0019   Owner Operator   Highway Use Tax                HUTC:2015 - Q1107                    10.58
     3/14/2015    709   SN0019   Owner Operator   IRP License Deduction          LCIL:2014 - Q1107                       31
     3/14/2015    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/14/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
     3/14/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
     3/14/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                55000 2011 Freightliner PD           42.97
     3/14/2015    709   SN0019   Owner Operator   QCER 148 Truck Payments        dr chrg err cr back w/e 3/5/15     -508.69
     3/14/2015    709   SN0019   Owner Operator   Truck Payment                  CTMS - 180166 tractor rental          100
     3/14/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
     3/14/2015    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
     3/14/2015    709   VB0015   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
     3/14/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     3/14/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.58
     3/14/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.25
     3/14/2015    709   VB0015   Owner Operator   FUEL TAX                       January 2015-QC                      61.92
     3/14/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                    10.58
     3/14/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1112                       31
     3/14/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/14/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
     3/14/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 180262 Tractor Sub leas      242.03
     3/14/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     3/14/2015    709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
     3/14/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     3/14/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     3/14/2015    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
     3/14/2015    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
     3/14/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/14/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/14/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         4.25
     3/14/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        122.5
     3/14/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.52
     3/14/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.55
     3/14/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.77
     3/14/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.44
     3/14/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.02
     3/14/2015    709   VJ0006   Owner Operator   FUEL TAX                       January 2015-QC                     217.37
     3/14/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/14/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
     3/14/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     3/14/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
     3/14/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     3/14/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/14/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
     3/14/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
     3/14/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
     3/14/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
     3/14/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/14/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          100
     3/14/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     3/14/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.27
     3/14/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/14/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.87
     3/14/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       455.31
     3/14/2015    709   WH0073   Owner Operator   FUEL TAX                       January 2015-QC                     336.01
     3/14/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                    10.58
     3/14/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2014 - Q1235                       31
     3/14/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/14/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
     3/14/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 180148 Sub, Sub Lease        396.13
     3/14/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
     3/14/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     3/14/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     3/14/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     3/14/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     3/14/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.29
     3/14/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.47
     3/14/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.52
     3/14/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.42
     3/14/2015    742   AP0047   Owner Operator   FUEL TAX                       January 2015-QC                       24.1
     3/14/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/14/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
     3/14/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
     3/14/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200

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     3/14/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.38
     3/14/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      365.41
     3/14/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      408.75
     3/14/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      436.09
     3/14/2015    742   BS0030   Owner Operator   FUEL TAX                       January 2015-QC                      69.8
     3/14/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       419.4
     3/14/2015    742   BS0030   Owner Operator   US Legal Services              U.S. Legal Services                 32.95
     3/14/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                8.75
     3/14/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.12
     3/14/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       72.86
     3/14/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      522.83
     3/14/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                24.61
     3/14/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                    8.75
     3/14/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                    8.75
     3/14/2015    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                 12.5
     3/14/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                       13
     3/14/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                       13
     3/14/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      422.07
     3/14/2015    742   ED0041   Owner Operator   FUEL TAX                       January 2015-QC                     28.99
     3/14/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                    65.36
     3/14/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                    37.48
     3/14/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism            2.5
     3/14/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL             8.75
     3/14/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.7
     3/14/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      287.86
     3/14/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD             24.61
     3/14/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror        2.5
     3/14/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL            8.75
     3/14/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                      13
     3/14/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
     3/14/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD            54.69
     3/14/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro        2.5
     3/14/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     3/14/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/14/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/14/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/14/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.16
     3/14/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     3/14/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     3/14/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.5
     3/14/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      150.04
     3/14/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      357.54
     3/14/2015    742   LL0134   Owner Operator   FUEL TAX                       January 2015-QC                     -0.27
     3/14/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               117.45
     3/14/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       134.5
     3/14/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                      554.49
     3/14/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
     3/14/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                       13
     3/14/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/14/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      407.27
     3/14/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      264.91
     3/14/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                      353.63
     3/14/2015    742   MH0117   Owner Operator   FUEL TAX                       January 2015-QC                     51.81
     3/14/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       65.63
     3/14/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
     3/14/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           56.4
     3/14/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter        2.5
     3/14/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     3/14/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.25
     3/14/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.1
     3/14/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      126.77
     3/14/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                      344.43
     3/14/2015    742   PC0012   Owner Operator   FUEL TAX                       January 2015-QC                     38.65
     3/14/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
     3/14/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               104.38
     3/14/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                      509.18

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     3/14/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL         8.75
     3/14/2015    742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.22
     3/14/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      390.98
     3/14/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      102.98
     3/14/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      337.66
     3/14/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      221.03
     3/14/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      311.61
     3/14/2015    742   RN0054   Owner Operator   FUEL TAX                       January 2015-QC                    104.96
     3/14/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                  10.58
     3/14/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2014 - Q13157                     31
     3/14/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD         74.26
     3/14/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te        2.5
     3/14/2015    821   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                       8.75
     3/14/2015    821   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                       8.75
     3/14/2015    821   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                       8.75
     3/14/2015    821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                        100
     3/14/2015    821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                        100
     3/14/2015    821   DW0138   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.17
     3/14/2015    821   DW0138   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.28
     3/14/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      244.33
     3/14/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      116.03
     3/14/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      315.59
     3/14/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      278.09
     3/14/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      291.63
     3/14/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       49.77
     3/14/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      100.77
     3/14/2015    821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                       68.52
     3/14/2015    821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                       68.52
     3/14/2015    821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                       68.52
     3/14/2015    821   DW0138   Owner Operator   T Chek Fee                     ExpressCheck Fee                     2.42
     3/14/2015    821   DW0138   Owner Operator   T Chek Fee                     Tractor Repair 33443               242.34
     3/14/2015    821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
     3/14/2015    821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                       13
     3/14/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/14/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/14/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.2
     3/14/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
     3/14/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.27
     3/14/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       401.7
     3/14/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      317.42
     3/14/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      375.13
     3/14/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      194.82
     3/14/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      237.08
     3/14/2015    821   JK0112   Owner Operator   FUEL TAX                       January 2015-QC                    117.21
     3/14/2015    821   JK0112   Owner Operator   Miscellaneous                  Saskatchewan Prem                    2.26
     3/14/2015    821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD               145.99
     3/14/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism        2.5
     3/14/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       635.4
     3/14/2015    858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL          8.75
     3/14/2015    858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                       13
     3/14/2015    858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD          23.44
     3/14/2015    858   CS0091   Owner Operator   Truck Payment                  CTMS - 180025 Tractor Rent           125
     3/14/2015    858   CS0091   Owner Operator   Truck Payment                  CTMS - 180175 Tractor Rent           125
     3/14/2015    858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL          8.75
     3/14/2015    858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                       13
     3/14/2015    858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/14/2015    858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/14/2015    858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.6
     3/14/2015    858   JR0099   Owner Operator   Truck Payment                  CTMS - 180179 Q1203                278.76
     3/14/2015    858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL          8.75
     3/14/2015    858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL          8.75
     3/14/2015    858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                       13
     3/14/2015    858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/14/2015    858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.08
     3/14/2015    858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.12
     3/14/2015    858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                      283.82
     3/14/2015    858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.6
     3/14/2015    858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                      317.75

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     3/14/2015    858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/14/2015    858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
     3/14/2015    858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
     3/14/2015    858   RP0082   Owner Operator   Truck Payment                  CTMS - 180180 Truck Lease           278.76
     3/21/2015    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     3/21/2015    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     3/21/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
     3/21/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
     3/21/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.02
     3/21/2015    709   AN0007   Owner Operator   Loan Repayment                 cr express code to s/u on loan    -9988.48
     3/21/2015    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
     3/21/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     3/21/2015    709   AN0007   Owner Operator   T Chek Fee                     ExpressCheck Fee                      98.9
     3/21/2015    709   AN0007   Owner Operator   T Chek Fee                     Tractor Repair 21157A              9889.58
     3/21/2015    709   AN0007   Owner Operator   Truck Payment                  CTMS - 180421 tractor rental          400
     3/21/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     3/21/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     3/21/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
     3/21/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.89
     3/21/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       419.46
     3/21/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
     3/21/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     3/21/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     3/21/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
     3/21/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     3/21/2015    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          100
     3/21/2015    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     3/21/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.44
     3/21/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.66
     3/21/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.63
     3/21/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.67
     3/21/2015    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       254.51
     3/21/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
     3/21/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
     3/21/2015    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                    10.58
     3/21/2015    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2014 - 73130                       31
     3/21/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
     3/21/2015    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
     3/21/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
     3/21/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/21/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/21/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/21/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/21/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.66
     3/21/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.64
     3/21/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.02
     3/21/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.76
     3/21/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.58
     3/21/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2014 - Q1104                       31
     3/21/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
     3/21/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
     3/21/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 180349 Q1104                 252.11
     3/21/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
     3/21/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     3/21/2015    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-28       -11.97
     3/21/2015    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-28       -11.97
     3/21/2015    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-28       -11.97
     3/21/2015    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-28       -11.97
     3/21/2015    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-28       -11.97
     3/21/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
     3/21/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
     3/21/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       534.03
     3/21/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       529.97
     3/21/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                    10.58
     3/21/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2014 - Q1245                       31
     3/21/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
     3/21/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 180378 Sublease              338.99
     3/21/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38

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     3/21/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL             8.75
     3/21/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                    13
     3/21/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                      500
     3/21/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                  5.13
     3/21/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                   508.32
     3/21/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     3/21/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             92.35
     3/21/2015    709   DS0049   Owner Operator   Repair Order                   CTMS - 180373 Repair             93.58
     3/21/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                   512.35
     3/21/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                8.75
     3/21/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                       50
     3/21/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                   240.86
     3/21/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                   555.06
     3/21/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     3/21/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                19.54
     3/21/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL             8.75
     3/21/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                    13
     3/21/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                     250
     3/21/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                      200
     3/21/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                      200
     3/21/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2
     3/21/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                  0.27
     3/21/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2
     3/21/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                   325.96
     3/21/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                    353.4
     3/21/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                    40.12
     3/21/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     3/21/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD            105.47
     3/21/2015    709   EA0003   Owner Operator   Repair Order                   CTMS - 180373 Repair            231.45
     3/21/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                   555.56
     3/21/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL             8.75
     3/21/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                    13
     3/21/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                      500
     3/21/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                     5
     3/21/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                  0.23
     3/21/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                  0.17
     3/21/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                   206.28
     3/21/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                   467.34
     3/21/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                   303.68
     3/21/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     3/21/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             91.92
     3/21/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                   505.27
     3/21/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     6.75
     3/21/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             93.01
     3/21/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                   532.24
     3/21/2015    709   FT0004   Owner Operator   Accident Claim                 2/17 2/20 prop dam JMcAvoy        500
     3/21/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL       8.75
     3/21/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                    13
     3/21/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                       50
     3/21/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                      150
     3/21/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                   1.5
     3/21/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                    50.06
     3/21/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                   287.69
     3/21/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                   217.93
     3/21/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                    214.2
     3/21/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                10.58
     3/21/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2014 - 73129                   31
     3/21/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     3/21/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD       29.52
     3/21/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 180348 73129             181.08
     3/21/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL             8.75
     3/21/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                   13
     3/21/2015    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                  0.22
     3/21/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                   502.02
     3/21/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                   271.12
     3/21/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     47.5
     3/21/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD             82.04
     3/21/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                               4.75
     3/21/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL       8.75
     3/21/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                    13
     3/21/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                       50
     3/21/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                10.58
     3/21/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1110                   31

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     3/21/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/21/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD          39.07
     3/21/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL              8.75
     3/21/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                       13
     3/21/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                         100
     3/21/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     3/21/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      576.83
     3/21/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      557.11
     3/21/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment      254.11
     3/21/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/21/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD              15.63
     3/21/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                   8.75
     3/21/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                   8.75
     3/21/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                       13
     3/21/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                       13
     3/21/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/21/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/21/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                         100
     3/21/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     3/21/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.15
     3/21/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.24
     3/21/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
     3/21/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.19
     3/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      315.81
     3/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.2
     3/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      144.65
     3/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      324.49
     3/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      252.55
     3/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      153.98
     3/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      606.04
     3/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      143.71
     3/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      415.57
     3/21/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      292.05
     3/21/2015    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2014 - 33418                    100
     3/21/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/21/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/21/2015    709   HG0027   Owner Operator   Permits                        IL02:2015 - 33418                    3.75
     3/21/2015    709   HG0027   Owner Operator   Permits                        NM07:2015 - 33418                     5.5
     3/21/2015    709   HG0027   Owner Operator   Permits                        NY13:2015 - 33418                      19
     3/21/2015    709   HG0027   Owner Operator   Permits                        OR16:2015 - 33418                       8
     3/21/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                   54.69
     3/21/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                   54.69
     3/21/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                 21.35
     3/21/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     3/21/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      399.08
     3/21/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/21/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.64
     3/21/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     3/21/2015    709   IR0002   Owner Operator   Repair Order                   CTMS - 180373 Repair                93.58
     3/21/2015    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00316144 - PO System       175.21
     3/21/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                      521.95
     3/21/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                 13.98
     3/21/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                 8.75
     3/21/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                       13
     3/21/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/21/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         300
     3/21/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
     3/21/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.25
     3/21/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.2
     3/21/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      553.69
     3/21/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      443.77
     3/21/2015    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      262.33
     3/21/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/21/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                 78.13
     3/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 1 030315                   7
     3/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 15 030315                2.1
     3/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 7 030315                11.2
     3/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 73 030315                5.6
     3/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 89 030315                5.6
     3/21/2015    709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 9 030315                 5.6
     3/21/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                      458.72
     3/21/2015    709   JG0017   Owner Operator   Accident Claim                 2/10/15 JMcAvoy                      500
     3/21/2015    709   JG0017   Owner Operator   Accident Claim                 2/10/2015 prop dam                 274.19

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     3/21/2015    709   JG0017   Owner Operator   Accident Claim                 stop ded until further notice      -274.19
     3/21/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     3/21/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
     3/21/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
     3/21/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           100
     3/21/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           200
     3/21/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.28
     3/21/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     3/21/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.28
     3/21/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.57
     3/21/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.26
     3/21/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.63
     3/21/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
     3/21/2015    709   JG0017   Owner Operator   Repair Order                   CTMS - 180373 Repair                 93.58
     3/21/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     3/21/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     3/21/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     3/21/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
     3/21/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
     3/21/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.27
     3/21/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/21/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       434.34
     3/21/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       438.51
     3/21/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
     3/21/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     3/21/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     3/21/2015    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     3/21/2015    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     3/21/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.4
     3/21/2015    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
     3/21/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                    10.58
     3/21/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2014 - Q1203                       31
     3/21/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     3/21/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     3/21/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     3/21/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
     3/21/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
     3/21/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/21/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.17
     3/21/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
     3/21/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
     3/21/2015    709   JS0265   Owner Operator   Toll Charges                   TOL                                   -100
     3/21/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     3/21/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
     3/21/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
     3/21/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       507.15
     3/21/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.07
     3/21/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.88
     3/21/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
     3/21/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     3/21/2015    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00315893 - PO System         224.4
     3/21/2015    709   KP0004   Owner Operator   Toll Charges                   TOL                                   -100
     3/21/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
     3/21/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
     3/21/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
     3/21/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
     3/21/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
     3/21/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
     3/21/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                          500
     3/21/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
     3/21/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
     3/21/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/21/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/21/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.19
     3/21/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        706.7
     3/21/2015    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2014 - 21489A                     100
     3/21/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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     3/21/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                  39.07
     3/21/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                 8.75
     3/21/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                    13
     3/21/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/21/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                 70.32
     3/21/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                     8.75
     3/21/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                     8.75
     3/21/2015    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                     13
     3/21/2015    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                     13
     3/21/2015    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                        50
     3/21/2015    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                        50
     3/21/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                    243.11
     3/21/2015    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/21/2015    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/21/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                     35.16
     3/21/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                     35.16
     3/21/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism             2.5
     3/21/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism             2.5
     3/21/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL              8.75
     3/21/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                     13
     3/21/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                    508.64
     3/21/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      381
     3/21/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/21/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD              53.13
     3/21/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                    337.19
     3/21/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                 8.75
     3/21/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                     13
     3/21/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                      450
     3/21/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                       280
     3/21/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.8
     3/21/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                    256.23
     3/21/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/21/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                 71.88
     3/21/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism         2.5
     3/21/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                    323.05
     3/21/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL         8.75
     3/21/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                     13
     3/21/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        50
     3/21/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     54.57
     3/21/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                    410.89
     3/21/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                    262.65
     3/21/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                 10.58
     3/21/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2014 - Q1108                    31
     3/21/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/21/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD         35.16
     3/21/2015    709   NB0029   Owner Operator   Tire Purchase                  905-02010115                      61.46
     3/21/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 180445 Lease              215.66
     3/21/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL           8.75
     3/21/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                    13
     3/21/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                       160
     3/21/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                    1.6
     3/21/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                    100.11
     3/21/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      289
     3/21/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/21/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD           32.98
     3/21/2015    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00316744 - PO System     664.44
     3/21/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL         8.75
     3/21/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                      13
     3/21/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/21/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD         28.13
     3/21/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL            8.75
     3/21/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/21/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD            39.07
     3/21/2015    709   RC0030   Owner Operator   Tire Fee                       Tire Fee: 1803287                     4
     3/21/2015    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00317557 - PO System     119.41
     3/21/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                62.7
     3/21/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     3/21/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                       500
     3/21/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                   5.22
     3/21/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                    313.68
     3/21/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                    388.03
     3/21/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/21/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             103.07

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     3/21/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                      504.72
     3/21/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL          8.75
     3/21/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      325.44
     3/21/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/21/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD          45.32
     3/21/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     3/21/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                       13
     3/21/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/21/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/21/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.15
     3/21/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.14
     3/21/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      444.91
     3/21/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      406.25
     3/21/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/21/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.15
     3/21/2015    709   RL0062   Owner Operator   Repair Order                   CTMS - 180373 Repair                211.7
     3/21/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                      512.16
     3/21/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                 27.48
     3/21/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                    8.75
     3/21/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                      13
     3/21/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      374.04
     3/21/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      245.86
     3/21/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      234.92
     3/21/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/21/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                    13.29
     3/21/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism            2.5
     3/21/2015    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                   10.58
     3/21/2015    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2014 - Q1202                      31
     3/21/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        47.5
     3/21/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
     3/21/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   55000 2011 Freightliner NTL          8.75
     3/21/2015    709   SN0019   Owner Operator   Communication Charge           PNet Hware Q1107                       13
     3/21/2015    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/21/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                      291.67
     3/21/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                      402.52
     3/21/2015    709   SN0019   Owner Operator   Highway Use Tax                HUTC:2015 - Q1107                   10.58
     3/21/2015    709   SN0019   Owner Operator   IRP License Deduction          LCIL:2014 - Q1107                      31
     3/21/2015    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/21/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                42.97
     3/21/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                55000 2011 Freightliner PD          42.97
     3/21/2015    709   SN0019   Owner Operator   Truck Payment                  CTMS - 180421 trac                   100
     3/21/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL          8.75
     3/21/2015    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                        8
     3/21/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/21/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      326.48
     3/21/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      335.25
     3/21/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                   10.58
     3/21/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1112                      31
     3/21/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/21/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD           37.5
     3/21/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 180449 Tractor Sub leas     242.03
     3/21/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
     3/21/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                       13
     3/21/2015    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                        200
     3/21/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         140
     3/21/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         100
     3/21/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     3/21/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.4
     3/21/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      180.01
     3/21/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      244.25
     3/21/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.4
     3/21/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      197.71
     3/21/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/21/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                55.47
     3/21/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                       375.9
     3/21/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                8.75
     3/21/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                       13
     3/21/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/21/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                56.25
     3/21/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism        2.5
     3/21/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL             8.75
     3/21/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                       13
     3/21/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                         100

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     3/21/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/21/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/21/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     3/21/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.34
     3/21/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.05
     3/21/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.49
     3/21/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.07
     3/21/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                         409
     3/21/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                    10.58
     3/21/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2014 - Q1235                       31
     3/21/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
     3/21/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 180348 Sub, Sub Lease        396.13
     3/21/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
     3/21/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     3/21/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
     3/21/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
     3/21/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
     3/21/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
     3/21/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
     3/21/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
     3/21/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
     3/21/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/21/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/21/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.25
     3/21/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.36
     3/21/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.79
     3/21/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.46
     3/21/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        33.35
     3/21/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       422.62
     3/21/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.73
     3/21/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
     3/21/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                 8.75
     3/21/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.26
     3/21/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.09
     3/21/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.14
     3/21/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.92
     3/21/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.58
     3/21/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        457.9
     3/21/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.84
     3/21/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.68
     3/21/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.62
     3/21/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                 24.61
     3/21/2015    742   BS0078   Owner Operator   Truck Payment                  CTMS - 180179 Q1236                  565.9
     3/21/2015    742   BS0078   Owner Operator   Truck Payment                  CTMS - 180380 Q1236                  565.9
     3/21/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
     3/21/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
     3/21/2015    742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
     3/21/2015    742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.34
     3/21/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        404.5
     3/21/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.81
     3/21/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       490.12
     3/21/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.91
     3/21/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       440.75
     3/21/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
     3/21/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
     3/21/2015    742   EN0016   Owner Operator   AP Invoice Deductions          billed at wrong rate               1267.35
     3/21/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
     3/21/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                         8
     3/21/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                         8
     3/21/2015    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.21
     3/21/2015    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.33
     3/21/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        87.13
     3/21/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.32
     3/21/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.73
     3/21/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.44
     3/21/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.19
     3/21/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61

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     3/21/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
     3/21/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
     3/21/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
     3/21/2015    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-28     -4699.43
     3/21/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     3/21/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
     3/21/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
     3/21/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     3/21/2015    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
     3/21/2015    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
     3/21/2015    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
     3/21/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
     3/21/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
     3/21/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.16
     3/21/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     3/21/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.33
     3/21/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.99
     3/21/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.73
     3/21/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     3/21/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
     3/21/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     3/21/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     3/21/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
     3/21/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.94
     3/21/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.29
     3/21/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.96
     3/21/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
     3/21/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     3/21/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     3/21/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     3/21/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     3/21/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
     3/21/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
     3/21/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
     3/21/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           200
     3/21/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.2
     3/21/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.1
     3/21/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.04
     3/21/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.85
     3/21/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.52
     3/21/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.37
     3/21/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.72
     3/21/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.71
     3/21/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     3/21/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
     3/21/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
     3/21/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
     3/21/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     3/21/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     3/21/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
     3/21/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
     3/21/2015    742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.22
     3/21/2015    742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
     3/21/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        51.55
     3/21/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.85
     3/21/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.86
     3/21/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.95
     3/21/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.93
     3/21/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                   10.58
     3/21/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2014 - Q13157                      31
     3/21/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
     3/21/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     3/21/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 180113 Tractor Lease         353.28
     3/21/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 180318 Tractor Lease         353.28
     3/21/2015    821   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         -35
     3/21/2015    821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         -190
     3/21/2015    821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                          225
     3/21/2015    821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     3/21/2015    821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     3/21/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50

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     3/21/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.14
     3/21/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.36
     3/21/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           14
     3/21/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.09
     3/21/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.81
     3/21/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.82
     3/21/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.97
     3/21/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       493.66
     3/21/2015    821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
     3/21/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     3/21/2015    821   JK0112   Owner Operator   Toll Charges                   33211 DRPA WWB 030815                 37.5
     3/21/2015    821   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL 45 030615                 4.2
     3/21/2015    821   JK0112   Owner Operator   Toll Charges                   33211 ITRCC ANG 030715               30.91
     3/21/2015    821   JK0112   Owner Operator   Toll Charges                   33211 ITRCC EPT 030715                3.81
     3/21/2015    821   JK0112   Owner Operator   Toll Charges                   33211 NJTP 11 030815                  9.95
     3/21/2015    821   JK0112   Owner Operator   Toll Charges                   33211 NJTP 12 030815                   2.6
     3/21/2015    821   JK0112   Owner Operator   Toll Charges                   33211 NJTP 7A 030815                   9.7
     3/21/2015    821   JK0112   Owner Operator   Toll Charges                   33211 OTIC 218 030715                 33.5
     3/21/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     3/21/2015    858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
     3/21/2015    858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
     3/21/2015    858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
     3/21/2015    858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
     3/21/2015    858   CS0091   Owner Operator   Truck Payment                  CTMS - 180382 Tractor Rent            125
     3/21/2015    858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
     3/21/2015    858   JR0099   Owner Operator   Charge back by affiliate       CTMS - 180464 Trailer Wash           -38.5
     3/21/2015    858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
     3/21/2015    858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
     3/21/2015    858   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.19
     3/21/2015    858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       104.23
     3/21/2015    858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.12
     3/21/2015    858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
     3/21/2015    858   JR0099   Owner Operator   Truck Payment                  CTMS - 180380 Q1203                 278.76
     3/21/2015    858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
     3/21/2015    858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
     3/21/2015    858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
     3/21/2015    858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                          100
     3/21/2015    858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.12
     3/21/2015    858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.11
     3/21/2015    858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.49
     3/21/2015    858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.68
     3/21/2015    858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/21/2015    858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
     3/21/2015    858   RP0082   Owner Operator   QCER 148 Truck Payments        chr in error - cr back dr wk      -1487.44
     3/21/2015    858   RP0082   Owner Operator   Truck Payment                  CTMS - 180380 Truck Lease           278.76
     3/28/2015    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     3/28/2015    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     3/28/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          100
     3/28/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          300
     3/28/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     3/28/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     3/28/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.15
     3/28/2015    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
     3/28/2015    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/28/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
     3/28/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     3/28/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     3/28/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     3/28/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.67
     3/28/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/28/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
     3/28/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     3/28/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     3/28/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
     3/28/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     3/28/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.52
     3/28/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.06
     3/28/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.05
     3/28/2015    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       254.51
     3/28/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     3/28/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04

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     3/28/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                      245.63
     3/28/2015    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                   10.58
     3/28/2015    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2014 - 73130                   30.75
     3/28/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL          8.75
     3/28/2015    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                       13
     3/28/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/28/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.3
     3/28/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                      370.22
     3/28/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                   10.58
     3/28/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2014 - Q1104                   30.75
     3/28/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD          46.86
     3/28/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter        2.5
     3/28/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 180526 Q1104                252.11
     3/28/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL             8.75
     3/28/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                       13
     3/28/2015    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-21        11.97
     3/28/2015    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-21        11.97
     3/28/2015    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-21        11.97
     3/28/2015    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-21        11.97
     3/28/2015    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-21        11.97
     3/28/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/28/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.3
     3/28/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      458.28
     3/28/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      620.27
     3/28/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.9
     3/28/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                   10.58
     3/28/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2014 - Q1245                   30.75
     3/28/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.69
     3/28/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 180562 Sublease             338.99
     3/28/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.36
     3/28/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     3/28/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
     3/28/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                         500
     3/28/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                     5.12
     3/28/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      227.53
     3/28/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      383.19
     3/28/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.33
     3/28/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
     3/28/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
     3/28/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/28/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      362.13
     3/28/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   19.51
     3/28/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     3/28/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
     3/28/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        250
     3/28/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/28/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/28/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.37
     3/28/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     3/28/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      121.54
     3/28/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      412.97
     3/28/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      407.63
     3/28/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
     3/28/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
     3/28/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     3/28/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                       13
     3/28/2015    709   EE0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-4       -16.13
     3/28/2015    709   EE0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-4       -16.13
     3/28/2015    709   EE0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-4       -16.13
     3/28/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         500
     3/28/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
     3/28/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.21
     3/28/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      300.82
     3/28/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      246.28
     3/28/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      378.73
     3/28/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      203.07
     3/28/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.91

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     3/28/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                      505.27
     3/28/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                       13
     3/28/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                       13
     3/28/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                       13
     3/28/2015    709   EH0020   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-7        102.22
     3/28/2015    709   EH0020   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-4       -16.13
     3/28/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        250
     3/28/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        250
     3/28/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        250
     3/28/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/28/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/28/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/28/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/28/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/28/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.28
     3/28/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.38
     3/28/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     3/28/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     3/28/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.14
     3/28/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      256.01
     3/28/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      190.78
     3/28/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      436.12
     3/28/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      402.25
     3/28/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      249.51
     3/28/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      292.85
     3/28/2015    709   EH0020   Owner Operator   FUEL TAX                       January 2015-QC                     78.41
     3/28/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       40.75
     3/28/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93
     3/28/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      391.02
     3/28/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      532.24
     3/28/2015    709   FT0004   Owner Operator   Accident Claim                 2/17 2/20 prop dam JMcAvoy           500
     3/28/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL          8.75
     3/28/2015    709   FT0004   Owner Operator   Charge back by affiliate       CTMS - 180637 Fuel Purchase           -15
     3/28/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                       13
     3/28/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/28/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           15
     3/28/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                         160
     3/28/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           30
     3/28/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.3
     3/28/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.6
     3/28/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.15
     3/28/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.4
     3/28/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      110.42
     3/28/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                   10.58
     3/28/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2014 - 73129                   30.75
     3/28/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD          29.51
     3/28/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 180526 73129                181.08
     3/28/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                8.75
     3/28/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
     3/28/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      362.88
     3/28/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                82.01
     3/28/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     3/28/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL          8.75
     3/28/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     3/28/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/28/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      288.18
     3/28/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                   10.58
     3/28/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1110                   30.75
     3/28/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD          39.04
     3/28/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 180526 Lease                252.11
     3/28/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL              8.75
     3/28/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment      218.76
     3/28/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD              15.61
     3/28/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                   8.75
     3/28/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                       13
     3/28/2015    709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-4      -231.31
     3/28/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/28/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                         200

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     3/28/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     3/28/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.08
     3/28/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      286.13
     3/28/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      394.19
     3/28/2015    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2014 - 33418                     100
     3/28/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                   54.68
     3/28/2015    709   HG0027   Owner Operator   Repair Order                   CTMS - 180691 Mud Flap             -19.43
     3/28/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                 21.34
     3/28/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     3/28/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      290.75
     3/28/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                      338.43
     3/28/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.64
     3/28/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     3/28/2015    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00316144 - PO System       175.16
     3/28/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                      521.95
     3/28/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                 13.96
     3/28/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                 8.75
     3/28/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                       13
     3/28/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/28/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
     3/28/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                     3.36
     3/28/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.33
     3/28/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     3/28/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      535.75
     3/28/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      504.06
     3/28/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      290.11
     3/28/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      417.78
     3/28/2015    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      262.33
     3/28/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                 78.11
     3/28/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                      458.72
     3/28/2015    709   JG0017   Owner Operator   Accident Claim                 2/10/15 JMcAvoy                       500
     3/28/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     3/28/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                       13
     3/28/2015    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                   -1000
     3/28/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
     3/28/2015    709   JG0017   Owner Operator   Express Check                  T-Check Payment                      1000
     3/28/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
     3/28/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
     3/28/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.17
     3/28/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      266.74
     3/28/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      406.43
     3/28/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                90.85
     3/28/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                       504.6
     3/28/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     3/28/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                       13
     3/28/2015    709   JG0072   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-4       -16.13
     3/28/2015    709   JG0072   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-4       -16.13
     3/28/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/28/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     3/28/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
     3/28/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.34
     3/28/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     3/28/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.34
     3/28/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      407.77
     3/28/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      435.42
     3/28/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      451.65
     3/28/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                74.22
     3/28/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                      513.26
     3/28/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                8.75
     3/28/2015    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                       13
     3/28/2015    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/28/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      116.99
     3/28/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      177.93
     3/28/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      138.08
     3/28/2015    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                19.51
     3/28/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                   10.58
     3/28/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2014 - Q1203                   30.75

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     3/28/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                 8.75
     3/28/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                    8.75
     3/28/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                       13
     3/28/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                        100
     3/28/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/28/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/28/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                         100
     3/28/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     3/28/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     3/28/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     3/28/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      392.07
     3/28/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        283
     3/28/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      421.72
     3/28/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                 15.93
     3/28/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                     37.5
     3/28/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     3/28/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                       13
     3/28/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                        250
     3/28/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           50
     3/28/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           50
     3/28/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.94
     3/28/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.5
     3/28/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        400
     3/28/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      141.91
     3/28/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      302.61
     3/28/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.32
     3/28/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
     3/28/2015    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00315893 - PO System       224.35
     3/28/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                      519.59
     3/28/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL           8.75
     3/28/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                        13
     3/28/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD              45
     3/28/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                    8.75
     3/28/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                      13
     3/28/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                        500
     3/28/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/28/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                         200
     3/28/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     3/28/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     3/28/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                      282.97
     3/28/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                      618.95
     3/28/2015    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2014 - 21489A                  66.96
     3/28/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                    39.04
     3/28/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                   8.75
     3/28/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                      13
     3/28/2015    709   MB0048   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-4       -16.13
     3/28/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                   70.29
     3/28/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
     3/28/2015    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                       13
     3/28/2015    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                          50
     3/28/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.6
     3/28/2015    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       35.15
     3/28/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
     3/28/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
     3/28/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       13
     3/28/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                         100
     3/28/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                         100
     3/28/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     3/28/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     3/28/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      206.21
     3/28/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      307.84
     3/28/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     3/28/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                53.11
     3/28/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                      337.19
     3/28/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
     3/28/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
     3/28/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        450

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     3/28/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                       280
     3/28/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.8
     3/28/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                    413.04
     3/28/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/28/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                 71.86
     3/28/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism         2.5
     3/28/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                    323.05
     3/28/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL         8.75
     3/28/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                     13
     3/28/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        50
     3/28/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                    370.67
     3/28/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                    306.29
     3/28/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                 10.58
     3/28/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2014 - Q1108                 30.75
     3/28/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/28/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD         35.15
     3/28/2015    709   NB0029   Owner Operator   Tire Purchase                  905-02010115                      61.46
     3/28/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 180648 Lease              215.66
     3/28/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL           8.75
     3/28/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                    13
     3/28/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                       160
     3/28/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                    1.6
     3/28/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      276
     3/28/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                    195.29
     3/28/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/28/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD           32.97
     3/28/2015    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00316744 - PO System     664.44
     3/28/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL         8.75
     3/28/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                      13
     3/28/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/28/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD         28.11
     3/28/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL            8.75
     3/28/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                    404.98
     3/28/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                    420.37
     3/28/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/28/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD            39.04
     3/28/2015    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00317557 - PO System     119.41
     3/28/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                               62.69
     3/28/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     3/28/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                       500
     3/28/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                   5.16
     3/28/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                    206.19
     3/28/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                    247.46
     3/28/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/28/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             103.05
     3/28/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                    504.72
     3/28/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL        8.75
     3/28/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    359.89
     3/28/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/28/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD        45.29
     3/28/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
     3/28/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                     13
     3/28/2015    709   RL0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-4     -16.13
     3/28/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       200
     3/28/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       200
     3/28/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       100
     3/28/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                   1.15
     3/28/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                   2.17
     3/28/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                   2.16
     3/28/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                    425.49
     3/28/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                    440.46
     3/28/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                    440.42
     3/28/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/28/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              93.13
     3/28/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                    512.16
     3/28/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                               27.46
     3/28/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                  8.75
     3/28/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                    13
     3/28/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                    241.31
     3/28/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                    320.03
     3/28/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                    262.23
     3/28/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     3/28/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                  13.26

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      3/28/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism            2.5
      3/28/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                   10.58
      3/28/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2014 - Q1202                   30.75
      3/28/2015   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-4       -16.13
      3/28/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL          8.75
      3/28/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                        8
      3/28/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                          50
      3/28/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      431.49
      3/28/2015   709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                   10.58
      3/28/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2014 - Q1112                   30.75
      3/28/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/28/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD           37.5
      3/28/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 180651 Tractor Sub leas     242.03
      3/28/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
      3/28/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                       13
      3/28/2015   709   VJ0006   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-4        -4.22
      3/28/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                        200
      3/28/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         120
      3/28/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.2
      3/28/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      255.86
      3/28/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      233.32
      3/28/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      273.91
      3/28/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/28/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                55.47
      3/28/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                       375.9
      3/28/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                8.75
      3/28/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                       13
      3/28/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/28/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                56.25
      3/28/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism        2.5
      3/28/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL             8.75
      3/28/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                       13
      3/28/2015   709   WH0073   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-4          -16
      3/28/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                         300
      3/28/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                      3.2
      3/28/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      419.53
      3/28/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      294.99
      3/28/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                      355.07
      3/28/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                   10.58
      3/28/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2014 - Q1235                   30.75
      3/28/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/28/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD             65.69
      3/28/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 180525 Sub, Sub Lease       396.13
      3/28/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD               44.62
      3/28/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris        2.5
      3/28/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                       13
      3/28/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                        125
      3/28/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/28/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      3/28/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      338.32
      3/28/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      337.11
      3/28/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      348.84
      3/28/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/28/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       419.4
      3/28/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                8.75
      3/28/2015   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.14
      3/28/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       481.4
      3/28/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/28/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                24.61
      3/28/2015   742   BS0078   Owner Operator   Truck Payment                  CTMS - 180564 Q1236                 565.9
      3/28/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                    8.75
      3/28/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                       13
      3/28/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      123.97
      3/28/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/28/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                    65.34
      3/28/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism            2.5
      3/28/2015   742   ED0041   Owner Operator   Repair Order                   CTMS - 180626 repair                   70
      3/28/2015   742   ED0041   Owner Operator   Tire Fee                       Tire Fee: 1804744                       4
      3/28/2015   742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00317385 - PO System        82.87
      3/28/2015   742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL             8.75
      3/28/2015   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.23
      3/28/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      170.79
      3/28/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      265.35

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      3/28/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.8
      3/28/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.5
      3/28/2015   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD               24.61
      3/28/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror          2.5
      3/28/2015   742   EN0016   Owner Operator   Repair Order                   CTMS - 180638 repair                  240.7
      3/28/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 180512 Truck Rental            565.9
      3/28/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 180512 Truck rental cat       150.09
      3/28/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
      3/28/2015   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-21        3571.23
      3/28/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.74
      3/28/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.68
      3/28/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
      3/28/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      3/28/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                         13
      3/28/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/28/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/28/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        329.01
      3/28/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      3/28/2015   742   LL0134   Owner Operator   Repair Order                   CTMS - 180625 repair                   190
      3/28/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        554.49
      3/28/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL            8.75
      3/28/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL            8.75
      3/28/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL            8.75
      3/28/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
      3/28/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
      3/28/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
      3/28/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
      3/28/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                         33.14
      3/28/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/28/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/28/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/28/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/28/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/28/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        444.04
      3/28/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        167.21
      3/28/2015   742   NG0024   Owner Operator   FUEL TAX                       January 2015-QC                       32.17
      3/28/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           100.79
      3/28/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            44.39
      3/28/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           100.76
      3/28/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter          2.5
      3/28/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter          2.5
      3/28/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 180467 repair                   100
      3/28/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 180626 repair                   100
      3/28/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/28/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      3/28/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      3/28/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.17
      3/28/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        347.38
      3/28/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.83
      3/28/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.74
      3/28/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.35
      3/28/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
      3/28/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
      3/28/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
      3/28/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/28/2015   742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.2
      3/28/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        385.71
      3/28/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.78
      3/28/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.76
      3/28/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        198.42
      3/28/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                    10.58
      3/28/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2014 - Q13157                    30.75
      3/28/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.25
      3/28/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      3/28/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 180493 Tractor Lease          353.28
      3/28/2015   821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      3/28/2015   821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13

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      3/28/2015   821   JK0112   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-4           -16
      3/28/2015   821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/28/2015   821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/28/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
      3/28/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      3/28/2015   821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      3/28/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      3/28/2015   858   CS0091   Owner Operator   Charge back by affiliate       CTMS - 180419 Diesel Direct Fu      767.81
      3/28/2015   858   CS0091   Owner Operator   Charge back by affiliate       CTMS - 180544 Trailer Wash FG5       -38.5
      3/28/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      3/28/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/28/2015   858   CS0091   Owner Operator   Fuel Card Advances             Cash Advance                            90
      3/28/2015   858   CS0091   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.9
      3/28/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        86.68
      3/28/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.91
      3/28/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.28
      3/28/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.43
      3/28/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 180565 Tractor Rent            125
      3/28/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      3/28/2015   858   JR0099   Owner Operator   Charge back by affiliate       CTMS - 180419 Diesel Direct Co      1228.7
      3/28/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      3/28/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/28/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/28/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
      3/28/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 180564 Q1203                 278.76
      3/28/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      3/28/2015   858   RP0082   Owner Operator   Charge back by affiliate       CTMS - 180419 Diesel Direct Co      755.55
      3/28/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      3/28/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/28/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.09
      3/28/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.09
      3/28/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.1
      3/28/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.73
      3/28/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/28/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
      3/28/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 180564 Truck Lease           278.76
       4/4/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
       4/4/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
       4/4/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
       4/4/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
       4/4/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.21
       4/4/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.1
       4/4/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.53
       4/4/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                    100
       4/4/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
       4/4/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       4/4/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
       4/4/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
       4/4/2015   709   CM0119   Owner Operator   Accident Claim                 3/3/15 trailer only                  642.4
       4/4/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       4/4/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
       4/4/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.29
       4/4/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       501.47
       4/4/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.65
       4/4/2015   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                     100
       4/4/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       4/4/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
       4/4/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
       4/4/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
       4/4/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
       4/4/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        55.18
       4/4/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.19
       4/4/2015   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                     100
       4/4/2015   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       127.94
       4/4/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       4/4/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
       4/4/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
       4/4/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                    10.58
       4/4/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
       4/4/2015   709   CS0091   Owner Operator   Permits1                       NM07:2015 - 73130                      5.5
       4/4/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
       4/4/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
       4/4/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50

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      4/4/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/4/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          79.26
      4/4/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.79
      4/4/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/4/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.66
      4/4/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        234.47
      4/4/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        331.81
      4/4/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        126.88
      4/4/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        131.97
      4/4/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        239.11
      4/4/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                     10.58
      4/4/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                     31.68
      4/4/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/4/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD            46.88
      4/4/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter          2.5
      4/4/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 180736 Q1104                  252.11
      4/4/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
      4/4/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/4/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      4/4/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      4/4/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5.29
      4/4/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.16
      4/4/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        196.84
      4/4/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.68
      4/4/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        471.38
      4/4/2015    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                      100
      4/4/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/4/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
      4/4/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      4/4/2015    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      4/4/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      4/4/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/4/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        518.75
      4/4/2015    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                      100
      4/4/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/4/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     19.54
      4/4/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/4/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      4/4/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/4/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/4/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.15
      4/4/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        475.55
      4/4/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          379
      4/4/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        111.14
      4/4/2015    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                      100
      4/4/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/4/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      4/4/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      4/4/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           400
      4/4/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
      4/4/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.18
      4/4/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        171.47
      4/4/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.33
      4/4/2015    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                      100
      4/4/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        472.38
      4/4/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
      4/4/2015    709   EH0020   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-28          16.13
      4/4/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/4/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/4/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/4/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.21
      4/4/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.31
      4/4/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        198.94
      4/4/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        457.99
      4/4/2015    709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                      100
      4/4/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/4/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.01
      4/4/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                        532.24
      4/4/2015    709   FT0004   Owner Operator   Accident Claim                 2/17 2/20 prop dam JMcAvoy             500
      4/4/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
      4/4/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
      4/4/2015    709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-11       -228.13
      4/4/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                            50

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      4/4/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            10
      4/4/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
      4/4/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.58
      4/4/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.88
      4/4/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        90.59
      4/4/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.45
      4/4/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.25
      4/4/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                    10.58
      4/4/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      4/4/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      4/4/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 180736 73129                 181.08
      4/4/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      4/4/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      4/4/2015    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.23
      4/4/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       502.85
      4/4/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       117.56
      4/4/2015    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                    100
      4/4/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      4/4/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
      4/4/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      4/4/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      4/4/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/4/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.76
      4/4/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                    10.58
      4/4/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                    31.68
      4/4/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      4/4/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 180736 Lease                 252.11
      4/4/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 180820 Trk payment catc      126.06
      4/4/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      4/4/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.38
      4/4/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.49
      4/4/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       471.99
      4/4/2015    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                     100
      4/4/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       254.11
      4/4/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment        35.35
      4/4/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      4/4/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      4/4/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/4/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.13
      4/4/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       374.11
      4/4/2015    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                     100
      4/4/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      4/4/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/4/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      4/4/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      4/4/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      4/4/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      4/4/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/4/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/4/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.22
      4/4/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/4/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       529.11
      4/4/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.12
      4/4/2015    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                     100
      4/4/2015    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       261.48
      4/4/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      4/4/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      4/4/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/4/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      4/4/2015    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-11          -50
      4/4/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      4/4/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/4/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/4/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/4/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.31
      4/4/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.19
      4/4/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       452.58

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      4/4/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.96
      4/4/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.69
      4/4/2015    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                     100
      4/4/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      4/4/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      4/4/2015    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      4/4/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/4/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      4/4/2015    709   JG0072   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-28         16.13
      4/4/2015    709   JG0072   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-28         16.13
      4/4/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/4/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/4/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/4/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.24
      4/4/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.16
      4/4/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/4/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       388.57
      4/4/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       450.18
      4/4/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       443.09
      4/4/2015    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                     100
      4/4/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      4/4/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      4/4/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      4/4/2015    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      4/4/2015    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-11     -2731.76
      4/4/2015    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/4/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        137.6
      4/4/2015    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2014 - 33438                     100
      4/4/2015    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                     100
      4/4/2015    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    709   JQ0015   Owner Operator   Permits                        IL02:2015 - 33438                     3.75
      4/4/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      4/4/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                    10.58
      4/4/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      4/4/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      4/4/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      4/4/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      4/4/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      4/4/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/4/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/4/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/4/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/4/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         280
      4/4/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       445.93
      4/4/2015    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                     100
      4/4/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      4/4/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      4/4/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/4/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/4/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      4/4/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         166
      4/4/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.77
      4/4/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.12
      4/4/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        19.61
      4/4/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      4/4/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      4/4/2015    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                      100
      4/4/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      4/4/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      4/4/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      4/4/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         500
      4/4/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/4/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/4/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        629.2
      4/4/2015    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                    100
      4/4/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
      4/4/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      4/4/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13

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      4/4/2015    709   MB0048   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-28        16.13
      4/4/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/4/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                   70.32
      4/4/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
      4/4/2015    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                       13
      4/4/2015    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                          50
      4/4/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                      219.94
      4/4/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                      200.42
      4/4/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        245
      4/4/2015    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                    100
      4/4/2015    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/4/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       35.16
      4/4/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
      4/4/2015    709   MG0067   Owner Operator   Repair Order                   CTMS - 180692 Repair               125.35
      4/4/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
      4/4/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       13
      4/4/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                         100
      4/4/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      4/4/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      303.24
      4/4/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      297.82
      4/4/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      352.25
      4/4/2015    709   MM0093   Owner Operator   IRP License Deduction          LCIL:2015 - 32931                    100
      4/4/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/4/2015    709   MM0093   Owner Operator   Permits                        IL02:2015 - 32931                   -3.75
      4/4/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                53.13
      4/4/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                      337.19
      4/4/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
      4/4/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
      4/4/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        450
      4/4/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                         280
      4/4/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.8
      4/4/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                      537.41
      4/4/2015    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                    100
      4/4/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/4/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   71.88
      4/4/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
      4/4/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                      323.05
      4/4/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           8.75
      4/4/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
      4/4/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          50
      4/4/2015    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                         100
      4/4/2015    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      4/4/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      342.67
      4/4/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.2
      4/4/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                   10.58
      4/4/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                   31.68
      4/4/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/4/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD           35.16
      4/4/2015    709   NB0029   Owner Operator   Tire Purchase                  905-02010115                        61.46
      4/4/2015    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                 32.95
      4/4/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
      4/4/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
      4/4/2015    709   NG0005   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-11       -93.6
      4/4/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      276.25
      4/4/2015    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                   100
      4/4/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/4/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.98
      4/4/2015    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00316744 - PO System       664.44
      4/4/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL           8.75
      4/4/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                        13
      4/4/2015    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2015 - 9564                     100
      4/4/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/4/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD           28.13
      4/4/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL              8.75
      4/4/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      154.55
      4/4/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      413.71
      4/4/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/4/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD              39.07
      4/4/2015    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00317557 - PO System       119.41
      4/4/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  62.7
      4/4/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      4/4/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         500
      4/4/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                     5.24

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      4/4/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     522.68
      4/4/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     409.84
      4/4/2015    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                   100
      4/4/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/4/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              103.07
      4/4/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                     504.72
      4/4/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL         8.75
      4/4/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     405.66
      4/4/2015    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                  100
      4/4/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/4/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD         45.32
      4/4/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      4/4/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                      13
      4/4/2015    709   RL0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-28       16.13
      4/4/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        200
      4/4/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        200
      4/4/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.15
      4/4/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.17
      4/4/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     407.95
      4/4/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     454.85
      4/4/2015    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                   100
      4/4/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/4/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.15
      4/4/2015    709   RL0062   Owner Operator   Repair Order                   CTMS - 180691 Repair               211.7
      4/4/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                     512.16
      4/4/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                27.48
      4/4/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                   8.75
      4/4/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                     13
      4/4/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     339.28
      4/4/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     310.42
      4/4/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     245.14
      4/4/2015    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                  100
      4/4/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/4/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                   13.29
      4/4/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism           2.5
      4/4/2015    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                32.95
      4/4/2015    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                  10.58
      4/4/2015    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                  31.68
      4/4/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL               8.75
      4/4/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL               8.75
      4/4/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   55000 2011 Freightliner NTL         8.75
      4/4/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   55000 2011 Freightliner NTL         8.75
      4/4/2015    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                      13
      4/4/2015    709   SN0019   Owner Operator   Communication Charge           PNet Hware Q1107                      13
      4/4/2015    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                         50
      4/4/2015    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                         50
      4/4/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                     114.39
      4/4/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                     273.51
      4/4/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                     283.68
      4/4/2015    709   SN0019   Owner Operator   Highway Use Tax                HUTC:2015 - Q1107                  10.58
      4/4/2015    709   SN0019   Owner Operator   IRP License Deduction          LCIL:2014 - Q1107                  30.75
      4/4/2015    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/4/2015    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/4/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD               42.97
      4/4/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD               42.97
      4/4/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                55000 2011 Freightliner PD         42.97
      4/4/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                55000 2011 Freightliner PD         42.97
      4/4/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL         8.75
      4/4/2015    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                       8
      4/4/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                         50
      4/4/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     431.44
      4/4/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                  10.58
      4/4/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                  31.68
      4/4/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/4/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD          37.5
      4/4/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL               8.75
      4/4/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                      13
      4/4/2015    709   VJ0006   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-28        4.22
      4/4/2015    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                       200
      4/4/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                        150
      4/4/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                        100
      4/4/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      4/4/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.5

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      4/4/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        163.49
      4/4/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.67
      4/4/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        163.47
      4/4/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        297.38
      4/4/2015    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                       100
      4/4/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/4/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
      4/4/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
      4/4/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      4/4/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      4/4/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/4/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
      4/4/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      4/4/2015    709   WH0073   Owner Operator   Accident Claim                 12/03/2014 prop dam                 1967.74
      4/4/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL               8.75
      4/4/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.3
      4/4/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.43
      4/4/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                     10.58
      4/4/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                     31.68
      4/4/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/4/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD               65.71
      4/4/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
      4/4/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
      4/4/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
      4/4/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
      4/4/2015    742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-11          -155
      4/4/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/4/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/4/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/4/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/4/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.2
      4/4/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        374.92
      4/4/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        360.43
      4/4/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        490.65
      4/4/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/4/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/4/2015    742   AP0047   Owner Operator   Permits                        NM07:2015 - 32604                       5.5
      4/4/2015    742   AP0047   Owner Operator   Permits                        NM07:2015 - 32604                       5.5
      4/4/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 52.63
      4/4/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 97.27
      4/4/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
      4/4/2015    742   AP0047   Owner Operator   Tire Fee                       Tire Fee: 1807713                        28
      4/4/2015    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00317652 - PO System          599.2
      4/4/2015    742   BS0030   Owner Operator   Charge back by affiliate       CTMS - 180805 trailer wash            -32.5
      4/4/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          32.5
      4/4/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                  8.75
      4/4/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.19
      4/4/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.23
      4/4/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        431.31
      4/4/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.35
      4/4/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.29
      4/4/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        324.86
      4/4/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/4/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                  24.61
      4/4/2015    742   BS0078   Owner Operator   Truck Payment                  CTMS - 180782 Q1236                   565.9
      4/4/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
      4/4/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
      4/4/2015    742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.34
      4/4/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        349.59
      4/4/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        361.87
      4/4/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.41
      4/4/2015    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                       100
      4/4/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/4/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.36
      4/4/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
      4/4/2015    742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00317385 - PO System          82.87
      4/4/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL               8.75
      4/4/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                          8
      4/4/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                          8
      4/4/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        269.11
      4/4/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        175.03
      4/4/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        276.13
      4/4/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        458.43

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      4/4/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      4/4/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      4/4/2015    742   EN0016   Owner Operator   Repair Order                   CTMS - 180806 repair                 240.7
      4/4/2015    742   EN0016   Owner Operator   Truck Payment                  CTMS - 180700 Truck Rental           565.9
      4/4/2015    742   EN0016   Owner Operator   Truck Payment                  CTMS - 180700 Truck rental cat      150.09
      4/4/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      4/4/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      4/4/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      4/4/2015    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-21        1128.2
      4/4/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      4/4/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      4/4/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      4/4/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/4/2015    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      4/4/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/4/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/4/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/4/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.17
      4/4/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.16
      4/4/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/4/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       358.38
      4/4/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        330.3
      4/4/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.26
      4/4/2015    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                     100
      4/4/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      4/4/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      4/4/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      4/4/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      4/4/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      4/4/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      4/4/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/4/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/4/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.13
      4/4/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.39
      4/4/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       450.01
      4/4/2015    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                     100
      4/4/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.61
      4/4/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      4/4/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      4/4/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      4/4/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      4/4/2015    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      4/4/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/4/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/4/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/4/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/4/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.13
      4/4/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/4/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.57
      4/4/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        182.5
      4/4/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.53
      4/4/2015    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                     100
      4/4/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/4/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      4/4/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      4/4/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 180807 repair                  100
      4/4/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/4/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      4/4/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      4/4/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/4/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.19
      4/4/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.22
      4/4/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.18
      4/4/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.77
      4/4/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.55
      4/4/2015    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                     100
      4/4/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      4/4/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      4/4/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18

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       4/4/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
       4/4/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
       4/4/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
       4/4/2015   742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
       4/4/2015   742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
       4/4/2015   742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.09
       4/4/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.38
       4/4/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.98
       4/4/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.27
       4/4/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.69
       4/4/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                   10.58
       4/4/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
       4/4/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       4/4/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
       4/4/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
       4/4/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 180702 Tractor Lease         353.28
       4/4/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
       4/4/2015   858   CS0091   Owner Operator   Charge back by affiliate       CTMS - 180761 Diesel Direct Fu      226.86
       4/4/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
       4/4/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
       4/4/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         65.5
       4/4/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.79
       4/4/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.83
       4/4/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       4/4/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
       4/4/2015   858   CS0091   Owner Operator   Repair Order                   CTMS - 180691 AC Repair             262.75
       4/4/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 180783 Tractor Rent            125
       4/4/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
       4/4/2015   858   JR0099   Owner Operator   Charge back by affiliate       CTMS - 180761 Diesel Direct Fu      936.32
       4/4/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
       4/4/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
       4/4/2015   858   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.12
       4/4/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.55
       4/4/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.23
       4/4/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       4/4/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
       4/4/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 180782 Q1203                 278.76
       4/4/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
       4/4/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
       4/4/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
       4/4/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
       4/4/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.08
       4/4/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.06
       4/4/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.49
       4/4/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       4/4/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
       4/4/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 180782 Truck Lease           278.76
      4/11/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      4/11/2015   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
      4/11/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      4/11/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                    100
      4/11/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      4/11/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      4/11/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      4/11/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/11/2015   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      4/11/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      4/11/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.65
      4/11/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.19
      4/11/2015   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                     100
      4/11/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      4/11/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/11/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      4/11/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      4/11/2015   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
      4/11/2015   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 181076 Fuel purchase            -25
      4/11/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      4/11/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      4/11/2015   709   CR0064   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      4/11/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.33
      4/11/2015   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                     100

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      4/11/2015   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       252.54
      4/11/2015   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       126.57
      4/11/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      4/11/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      4/11/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                    10.58
      4/11/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      4/11/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      4/11/2015   709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                  12.5
      4/11/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      4/11/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/11/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/11/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/11/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.16
      4/11/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         132
      4/11/2015   709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.58
      4/11/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      4/11/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      4/11/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      4/11/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 180929 Q1104                 252.11
      4/11/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              2.33
      4/11/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      4/11/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                    10.58
      4/11/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                    10.58
      4/11/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      4/11/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      4/11/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      4/11/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      4/11/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 180780 Sublease              338.99
      4/11/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 180984 Sublease              338.99
      4/11/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      4/11/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/11/2015   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                  12.5
      4/11/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      4/11/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      4/11/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      4/11/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.57
      4/11/2015   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                     100
      4/11/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      4/11/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      4/11/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      4/11/2015   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/11/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       406.43
      4/11/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.67
      4/11/2015   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                     100
      4/11/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      4/11/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/11/2015   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                  12.5
      4/11/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      4/11/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      4/11/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/11/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.14
      4/11/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.57
      4/11/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.09
      4/11/2015   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                     100
      4/11/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      4/11/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      4/11/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/11/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/11/2015   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                  12.5
      4/11/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      4/11/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      4/11/2015   709   EE0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-28         16.13
      4/11/2015   709   EE0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-28         16.13
      4/11/2015   709   EE0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-28         16.13
      4/11/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          400
      4/11/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4

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      4/11/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.37
      4/11/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.07
      4/11/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.76
      4/11/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       372.19
      4/11/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.18
      4/11/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.23
      4/11/2015   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                     100
      4/11/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      4/11/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      4/11/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      4/11/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        32.89
      4/11/2015   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                  12.5
      4/11/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      4/11/2015   709   EH0020   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      4/11/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      4/11/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/11/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.29
      4/11/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.94
      4/11/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.55
      4/11/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        370.9
      4/11/2015   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                     100
      4/11/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      4/11/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      4/11/2015   709   FT0004   Owner Operator   Accident Claim                 2/17 2/20 prop dam JMcAvoy            500
      4/11/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      4/11/2015   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
      4/11/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      4/11/2015   709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-4         228.13
      4/11/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/11/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            40
      4/11/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/11/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/11/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      4/11/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.08
      4/11/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.73
      4/11/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         220
      4/11/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                    10.58
      4/11/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      4/11/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      4/11/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 180928 73129                 181.08
      4/11/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      4/11/2015   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
      4/11/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      4/11/2015   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.22
      4/11/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       405.88
      4/11/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.8
      4/11/2015   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                    100
      4/11/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      4/11/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
      4/11/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      4/11/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      4/11/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/11/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.68
      4/11/2015   709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                    10.58
      4/11/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                    31.68
      4/11/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      4/11/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 180929 Lease                 252.11
      4/11/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 180983 Trk payment catc      126.06
      4/11/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      4/11/2015   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      4/11/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      4/11/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      4/11/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      4/11/2015   709   HG0007   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      4/11/2015   709   HG0007   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      4/11/2015   709   HG0007   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      4/11/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      4/11/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/11/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.65
      4/11/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.71
      4/11/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       440.73
      4/11/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       468.93
      4/11/2015   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                      100
      4/11/2015   709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       254.11
      4/11/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      4/11/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      4/11/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      4/11/2015   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      4/11/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      4/11/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      4/11/2015   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-28        231.31
      4/11/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/11/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/11/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/11/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/11/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.27
      4/11/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.22
      4/11/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.08
      4/11/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       452.25
      4/11/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.42
      4/11/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        402.9
      4/11/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2014 - 33418                      100
      4/11/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2014 - 33418                      100
      4/11/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                      100
      4/11/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                      100
      4/11/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      4/11/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      4/11/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      4/11/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/11/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.23
      4/11/2015   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                      100
      4/11/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      4/11/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/11/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      4/11/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      4/11/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/11/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/11/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/11/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/11/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.28
      4/11/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/11/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/11/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.15
      4/11/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.97
      4/11/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.2
      4/11/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        74.11
      4/11/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.97
      4/11/2015   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                      100
      4/11/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      4/11/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      4/11/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/11/2015   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      4/11/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      4/11/2015   709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-4             50
      4/11/2015   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1500
      4/11/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      4/11/2015   709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1500
      4/11/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      4/11/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/11/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.26
      4/11/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.36
      4/11/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.09
      4/11/2015   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                      100
      4/11/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86

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      4/11/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      4/11/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/11/2015   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                   12.5
      4/11/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      4/11/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/11/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/11/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.29
      4/11/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/11/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        448.58
      4/11/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        427.75
      4/11/2015   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                      100
      4/11/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      4/11/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      4/11/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      4/11/2015   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                   12.5
      4/11/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      4/11/2015   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-4         2731.76
      4/11/2015   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-18      -4419.67
      4/11/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/11/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        143.43
      4/11/2015   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2014 - 33438                      100
      4/11/2015   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                      100
      4/11/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      4/11/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                     10.58
      4/11/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
      4/11/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      4/11/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      4/11/2015   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                   12.5
      4/11/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      4/11/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      4/11/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/11/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/11/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/11/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/11/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        437.45
      4/11/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        364.02
      4/11/2015   709   JS0265   Owner Operator   IRP License Deduction          2015 IL IRP Plate refund            -317.94
      4/11/2015   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                      100
      4/11/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      4/11/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      4/11/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/11/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/11/2015   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
      4/11/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      4/11/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      4/11/2015   709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-18         -8.69
      4/11/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/11/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/11/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/11/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.29
      4/11/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.37
      4/11/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          350
      4/11/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.33
      4/11/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.85
      4/11/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         87.24
      4/11/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.5
      4/11/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        456.76
      4/11/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.89
      4/11/2015   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                      100
      4/11/2015   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                      100
      4/11/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      4/11/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      4/11/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      4/11/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      4/11/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      4/11/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      4/11/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
      4/11/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13

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      4/11/2015   709   LL0160   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
      4/11/2015   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                        100
      4/11/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
      4/11/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      4/11/2015   709   LS0023   Owner Operator   Broker Pre Pass                21489A PrePass Device                  12.5
      4/11/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                        13
      4/11/2015   709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-18      -309.36
      4/11/2015   709   LS0023   Owner Operator   ESCROW                         Escrow Withdrawal                     -7500
      4/11/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                           500
      4/11/2015   709   LS0023   Owner Operator   Express Check                  T-Check Payment                        7500
      4/11/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/11/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         70.42
      4/11/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.21
      4/11/2015   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                      100
      4/11/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      39.07
      4/11/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      4/11/2015   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                  12.5
      4/11/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      4/11/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      4/11/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      4/11/2015   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                         13
      4/11/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/11/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           270
      4/11/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.01
      4/11/2015   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2014 - 33435                       100
      4/11/2015   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                       100
      4/11/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   MG0067   Owner Operator   Permits                        IL02:2015 - 33435                      3.75
      4/11/2015   709   MG0067   Owner Operator   Permits                        NM07:2015 - 33435                       5.5
      4/11/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      4/11/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      4/11/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      4/11/2015   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                   12.5
      4/11/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      4/11/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.27
      4/11/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       466.83
      4/11/2015   709   MM0093   Owner Operator   IRP License Deduction          LCIL:2015 - 32931                       100
      4/11/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      4/11/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      4/11/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      4/11/2015   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                   12.5
      4/11/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      4/11/2015   709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-18        -970.2
      4/11/2015   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                   -18100
      4/11/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           550
      4/11/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      4/11/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3.13
      4/11/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.87
      4/11/2015   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                       100
      4/11/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      4/11/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      4/11/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      4/11/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      4/11/2015   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                   12.5
      4/11/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      4/11/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/11/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/11/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/11/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.07
      4/11/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       449.62
      4/11/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       424.39
      4/11/2015   709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                     10.58
      4/11/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                     31.68
      4/11/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      4/11/2015   709   NB0029   Owner Operator   Tire Purchase                  905-02010115                          61.46
      4/11/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 180879 Lease                 215.66

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      4/11/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 181057 Lease               215.66
      4/11/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL            8.75
      4/11/2015   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device               12.5
      4/11/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                     13
      4/11/2015   709   NG0005   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-4         93.6
      4/11/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     265.01
      4/11/2015   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                  100
      4/11/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/11/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD            32.98
      4/11/2015   709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00316744 - PO System       664.4
      4/11/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
      4/11/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                       13
      4/11/2015   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2015 - 9564                    100
      4/11/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/11/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD          28.13
      4/11/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL             8.75
      4/11/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     260.23
      4/11/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     447.03
      4/11/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      265.2
      4/11/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/11/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD             39.07
      4/11/2015   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00317557 - PO System      119.41
      4/11/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                 62.7
      4/11/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      4/11/2015   709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards              -50
      4/11/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                        500
      4/11/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      4/11/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     467.55
      4/11/2015   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                   100
      4/11/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/11/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              103.07
      4/11/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                     504.72
      4/11/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL         8.75
      4/11/2015   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device               12.5
      4/11/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     466.13
      4/11/2015   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                  100
      4/11/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/11/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD         45.32
      4/11/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                27.48
      4/11/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                   8.75
      4/11/2015   709   RM0026   Owner Operator   Broker Pre Pass                30811A PrePass Device               12.5
      4/11/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                     13
      4/11/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     291.46
      4/11/2015   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                  100
      4/11/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/11/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                   13.29
      4/11/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism           2.5
      4/11/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                  10.58
      4/11/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                  31.68
      4/11/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL               8.75
      4/11/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL               8.75
      4/11/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL               8.75
      4/11/2015   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-28       16.13
      4/11/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.37
      4/11/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                     261.72
      4/11/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                     332.79
      4/11/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       257
      4/11/2015   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                   100
      4/11/2015   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                   100
      4/11/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/11/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/11/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/11/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD              100.98
      4/11/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD              100.98
      4/11/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD              100.98
      4/11/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                     564.33
      4/11/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                     336.54
      4/11/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                     564.33
      4/11/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                     564.33
      4/11/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL               8.75
      4/11/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   55000 2011 Freightliner NTL         8.75
      4/11/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   55000 2011 Freightliner NTL          -35
      4/11/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                      13

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      4/11/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/11/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        305.32
      4/11/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        264.82
      4/11/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.9
      4/11/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   SN0019   Owner Operator   Permits                        IL02:2015 - 33461                      3.75
      4/11/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
      4/11/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                55000 2011 Freightliner PD            42.97
      4/11/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                55000 2011 Freightliner PD          -171.88
      4/11/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
      4/11/2015   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                   12.5
      4/11/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      4/11/2015   709   VB0015   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
      4/11/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/11/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.09
      4/11/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.5
      4/11/2015   709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                     10.58
      4/11/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                     31.68
      4/11/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
      4/11/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 180882 Tractor Sub leas       242.03
      4/11/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 181060 Tractor Sub leas       242.03
      4/11/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      4/11/2015   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                   12.5
      4/11/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
      4/11/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      4/11/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/11/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/11/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        342.03
      4/11/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.97
      4/11/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.7
      4/11/2015   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                      100
      4/11/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
      4/11/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
      4/11/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      4/11/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      4/11/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
      4/11/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      4/11/2015   709   WH0073   Owner Operator   Accident Claim                 12/03/2014 prop dam                   32.26
      4/11/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL               8.75
      4/11/2015   709   WH0073   Owner Operator   Broker Pre Pass                Q1235 PrePass Device                   12.5
      4/11/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                         13
      4/11/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                         13
      4/11/2015   709   WH0073   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-28             16
      4/11/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/11/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/11/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.25
      4/11/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        431.48
      4/11/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        402.69
      4/11/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        390.68
      4/11/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        359.84
      4/11/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                     10.58
      4/11/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                     31.68
      4/11/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD               65.71
      4/11/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 180735 Sub, Sub Lease         396.13
      4/11/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 180928 Sub, Sub Lease         396.13
      4/11/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
      4/11/2015   742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-4          120.86
      4/11/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/11/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/11/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/11/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.2
      4/11/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/11/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.2
      4/11/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.56
      4/11/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        371.56
      4/11/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        346.22
      4/11/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.8
      4/11/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 97.27

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      4/11/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      4/11/2015   742   BS0030   Owner Operator   Broker Pre Pass                32947 PrePass Device                  12.5
      4/11/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      4/11/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      4/11/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      4/11/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      4/11/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/11/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/11/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/11/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/11/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/11/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.33
      4/11/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/11/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.41
      4/11/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      4/11/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.26
      4/11/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        363.8
      4/11/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.26
      4/11/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         320
      4/11/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.17
      4/11/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.89
      4/11/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       445.54
      4/11/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.46
      4/11/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.86
      4/11/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                     100
      4/11/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                     100
      4/11/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      4/11/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      4/11/2015   742   BS0030   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      4/11/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                 8.75
      4/11/2015   742   BS0078   Owner Operator   Broker Pre Pass                32665 PrePass Device                  12.5
      4/11/2015   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.22
      4/11/2015   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.08
      4/11/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        192.8
      4/11/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        55.02
      4/11/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.19
      4/11/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        94.08
      4/11/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.62
      4/11/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         8.17
      4/11/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                 24.61
      4/11/2015   742   BS0078   Owner Operator   Truck Payment                  CTMS - 180986 Q1236                  565.9
      4/11/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      4/11/2015   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      4/11/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      4/11/2015   742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.17
      4/11/2015   742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
      4/11/2015   742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.13
      4/11/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.44
      4/11/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.96
      4/11/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.23
      4/11/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.06
      4/11/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.07
      4/11/2015   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                     100
      4/11/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      4/11/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      4/11/2015   742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00317385 - PO System         82.87
      4/11/2015   742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      4/11/2015   742   EN0016   Owner Operator   Broker Pre Pass                32674 PrePass Device                  12.5
      4/11/2015   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                         8
      4/11/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.88
      4/11/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.59
      4/11/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.92
      4/11/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       134.21
      4/11/2015   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      4/11/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      4/11/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 180904 Truck Rental           565.9
      4/11/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 180904 Truck rental cat      150.09
      4/11/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75

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      4/11/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      4/11/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      4/11/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      4/11/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      4/11/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/11/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/11/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/11/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/11/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/11/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.18
      4/11/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/11/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.79
      4/11/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.41
      4/11/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.29
      4/11/2015   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                     100
      4/11/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      4/11/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      4/11/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      4/11/2015   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      4/11/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      4/11/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/11/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.95
      4/11/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.93
      4/11/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.46
      4/11/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.63
      4/11/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.77
      4/11/2015   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                     100
      4/11/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      4/11/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      4/11/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      4/11/2015   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      4/11/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      4/11/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/11/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.36
      4/11/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       451.35
      4/11/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.09
      4/11/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.56
      4/11/2015   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                     100
      4/11/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/11/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      4/11/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      4/11/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 181029 repair                  100
      4/11/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/11/2015   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
      4/11/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      4/11/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      4/11/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/11/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/11/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.12
      4/11/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.13
      4/11/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.17
      4/11/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.89
      4/11/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.85
      4/11/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.84
      4/11/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.47
      4/11/2015   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                     100
      4/11/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      4/11/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      4/11/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      4/11/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      4/11/2015   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
      4/11/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      4/11/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/11/2015   742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.35
      4/11/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       486.23
      4/11/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.34
      4/11/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        45.17
      4/11/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.34
      4/11/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.89
      4/11/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                   10.58
      4/11/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68

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      4/11/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.26
      4/11/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      4/11/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 180904 Tractor Lease          353.28
      4/11/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                      100
      4/11/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        378.96
      4/11/2015   821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      4/11/2015   821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      4/11/2015   821   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                   12.5
      4/11/2015   821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      4/11/2015   821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      4/11/2015   821   JK0112   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-28             16
      4/11/2015   821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/11/2015   821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/11/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.24
      4/11/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.2
      4/11/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.2
      4/11/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.44
      4/11/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        334.44
      4/11/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.21
      4/11/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.01
      4/11/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.4
      4/11/2015   821   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                      100
      4/11/2015   821   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                      100
      4/11/2015   821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
      4/11/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
      4/11/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      4/11/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      4/11/2015   821   JK0112   Owner Operator   Toll Charges                   33211 NYSTA 50 031215                 24.42
      4/11/2015   821   JK0112   Owner Operator   Toll Charges                   33211 NYSTA 86 031315                  2.99
      4/11/2015   821   JK0112   Owner Operator   Toll Charges                   33211 NYSTA 89 031315                  2.99
      4/11/2015   821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      4/11/2015   821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      4/11/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      4/11/2015   858   CS0091   Owner Operator   Broker Pre Pass                73130 PrePass Device                   12.5
      4/11/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                         13
      4/11/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/11/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.28
      4/11/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.57
      4/11/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            23.44
      4/11/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 180987 Tractor Rent             125
      4/11/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      4/11/2015   858   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                   12.5
      4/11/2015   858   JR0099   Owner Operator   Charge back by affiliate       CTMS - 180914 Fuel                  1065.66
      4/11/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      4/11/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/11/2015   858   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.17
      4/11/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         97.04
      4/11/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.3
      4/11/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        115.21
      4/11/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      4/11/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 180986 Q1203                  278.76
      4/11/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      4/11/2015   858   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                   12.5
      4/11/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      4/11/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/11/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.06
      4/11/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.08
      4/11/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.13
      4/11/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.3
      4/11/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      4/11/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 180986 Truck Lease            278.76
      4/18/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL           8.75
      4/18/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                             60
      4/18/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.6
      4/18/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         29.88
      4/18/2015   709   AN0007   Owner Operator   FUEL TAX                       February 2015-QC                     -61.78
      4/18/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                     100

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      4/18/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment        305.79
      4/18/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/18/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD            7.82
      4/18/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te          2.5
      4/18/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL           8.75
      4/18/2015   709   AR0064   Owner Operator   Fuel Card Advances             Cash Advance                             60
      4/18/2015   709   AR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.6
      4/18/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        269.64
      4/18/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2015 - q13147                    10.58
      4/18/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                    31.68
      4/18/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD           74.22
      4/18/2015   709   AR0064   Owner Operator   QCER 148 Truck Payments        Credit back WK 4/9/15               -455.47
      4/18/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/18/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                         13
      4/18/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.27
      4/18/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        369.49
      4/18/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        521.68
      4/18/2015   709   CM0119   Owner Operator   FUEL TAX                       February 2015-QC                     148.62
      4/18/2015   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                      100
      4/18/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/18/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.96
      4/18/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      4/18/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
      4/18/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      4/18/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      4/18/2015   709   CR0064   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev              50
      4/18/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        132.29
      4/18/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        132.98
      4/18/2015   709   CR0064   Owner Operator   FUEL TAX                       February 2015-QC                      34.82
      4/18/2015   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                      100
      4/18/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/18/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
      4/18/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      4/18/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                     10.58
      4/18/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                     31.68
      4/18/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            8.75
      4/18/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                         13
      4/18/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/18/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.93
      4/18/2015   709   DJ0028   Owner Operator   FUEL TAX                       February 2015-QC                     144.01
      4/18/2015   709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                     10.58
      4/18/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                     31.68
      4/18/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/18/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD            46.88
      4/18/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter          2.5
      4/18/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 181148 Q1104                  252.11
      4/18/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
      4/18/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/18/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      4/18/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      4/18/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      4/18/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.09
      4/18/2015   709   DS0049   Owner Operator   FUEL TAX                       February 2015-QC                      124.1
      4/18/2015   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                      100
      4/18/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/18/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
      4/18/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      4/18/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      4/18/2015   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/18/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        364.61
      4/18/2015   709   DS0225   Owner Operator   FUEL TAX                       February 2015-QC                    -125.61
      4/18/2015   709   DS0225   Owner Operator   IRP License Deduction          2015 IL IRP Plate refund             -65.98
      4/18/2015   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                      100
      4/18/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/18/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     19.54
      4/18/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/18/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      4/18/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/18/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/18/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/18/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/18/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.14
      4/18/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.32

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      4/18/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.05
      4/18/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       401.62
      4/18/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       445.99
      4/18/2015   709   EA0003   Owner Operator   FUEL TAX                       February 2015-QC                    283.61
      4/18/2015   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                     100
      4/18/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      4/18/2015   709   EA0003   Owner Operator   Repair Order                   TRACTOR 33051                           50
      4/18/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      4/18/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/18/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      4/18/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          400
      4/18/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      4/18/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.49
      4/18/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.19
      4/18/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       437.26
      4/18/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.65
      4/18/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.17
      4/18/2015   709   EE0011   Owner Operator   FUEL TAX                       February 2015-QC                      75.7
      4/18/2015   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                     100
      4/18/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      4/18/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      4/18/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/18/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        173.06
      4/18/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.37
      4/18/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/18/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.37
      4/18/2015   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                     100
      4/18/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      4/18/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      4/18/2015   709   FT0004   Owner Operator   Accident Claim                 2/17 2/20 prop dam JMcAvoy            500
      4/18/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        211.4
      4/18/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                    10.58
      4/18/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      4/18/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           25.18
      4/18/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      4/18/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      4/18/2015   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.18
      4/18/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.77
      4/18/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.91
      4/18/2015   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                    100
      4/18/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      4/18/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
      4/18/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      4/18/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      4/18/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/18/2015   709   GS0015   Owner Operator   FUEL TAX                       February 2015-QC                     74.47
      4/18/2015   709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                    10.58
      4/18/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                    31.68
      4/18/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      4/18/2015   709   GS0015   Owner Operator   Repair Order                   CTMS - 181098 Repair                212.03
      4/18/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 181148 Lease                 252.11
      4/18/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 181188 Trk payment catc      126.06
      4/18/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      4/18/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      4/18/2015   709   HG0007   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev             50
      4/18/2015   709   HG0007   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev             50
      4/18/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/18/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/18/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.09
      4/18/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       427.63
      4/18/2015   709   HG0007   Owner Operator   FUEL TAX                       February 2015-QC                    169.63
      4/18/2015   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                     100
      4/18/2015   709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       254.11
      4/18/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      4/18/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      4/18/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      4/18/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50

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      4/18/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.22
      4/18/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.29
      4/18/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        229.03
      4/18/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        426.54
      4/18/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        203.19
      4/18/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        146.37
      4/18/2015   709   HG0027   Owner Operator   FUEL TAX                       February 2015-QC                      26.13
      4/18/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2014 - 33418                     92.94
      4/18/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                      100
      4/18/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/18/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      4/18/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
      4/18/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/18/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.87
      4/18/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.99
      4/18/2015   709   IR0002   Owner Operator   FUEL TAX                       February 2015-QC                     -39.83
      4/18/2015   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                      100
      4/18/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/18/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
      4/18/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      4/18/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
      4/18/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
      4/18/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
      4/18/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
      4/18/2015   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                   12.5
      4/18/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
      4/18/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
      4/18/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/18/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/18/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/18/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/18/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.25
      4/18/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/18/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        473.35
      4/18/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        436.45
      4/18/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        462.35
      4/18/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.6
      4/18/2015   709   JC0292   Owner Operator   FUEL TAX                       February 2015-QC                     214.95
      4/18/2015   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                      100
      4/18/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/18/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.13
      4/18/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      4/18/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/18/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      4/18/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      4/18/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      4/18/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      4/18/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.37
      4/18/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        443.19
      4/18/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.54
      4/18/2015   709   JG0017   Owner Operator   FUEL TAX                       February 2015-QC                     154.45
      4/18/2015   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                      100
      4/18/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/18/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      4/18/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      4/18/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/18/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/18/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      4/18/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3.35
      4/18/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/18/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.18
      4/18/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        457.12
      4/18/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.9
      4/18/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        427.68
      4/18/2015   709   JG0072   Owner Operator   FUEL TAX                       February 2015-QC                     265.12
      4/18/2015   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                      100
      4/18/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/18/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      4/18/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      4/18/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      4/18/2015   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-11        1599.12
      4/18/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        153.94
      4/18/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         98.97

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      4/18/2015   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2014 - 33438                    100
      4/18/2015   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                    100
      4/18/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/18/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD               19.54
      4/18/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                  10.58
      4/18/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                  31.68
      4/18/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                8.75
      4/18/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                   8.75
      4/18/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                      13
      4/18/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                        100
      4/18/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                         200
      4/18/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                         200
      4/18/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      4/18/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      4/18/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                     421.78
      4/18/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                     249.46
      4/18/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                     456.33
      4/18/2015   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                    100
      4/18/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/18/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                15.94
      4/18/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                    37.5
      4/18/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL          8.75
      4/18/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                       13
      4/18/2015   709   LL0160   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev           50
      4/18/2015   709   LL0160   Owner Operator   FUEL TAX                       February 2015-QC                  261.94
      4/18/2015   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                     100
      4/18/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/18/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD             45
      4/18/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                   8.75
      4/18/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                     13
      4/18/2015   709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-11      309.36
      4/18/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                     292.81
      4/18/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                         200
      4/18/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                         200
      4/18/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                         100
      4/18/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      4/18/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      4/18/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      4/18/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                     308.03
      4/18/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                     263.72
      4/18/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                     486.07
      4/18/2015   709   LS0023   Owner Operator   FUEL TAX                       February 2015-QC                   29.96
      4/18/2015   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                   100
      4/18/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/18/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                   39.07
      4/18/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                  8.75
      4/18/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                     13
      4/18/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/18/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                  70.32
      4/18/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                      8.75
      4/18/2015   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                      13
      4/18/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                         50
      4/18/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                     300.01
      4/18/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                      275.1
      4/18/2015   709   MG0067   Owner Operator   FUEL TAX                       February 2015-QC                   31.09
      4/18/2015   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2014 - 33435                    100
      4/18/2015   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                    100
      4/18/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/18/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                      35.16
      4/18/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism              2.5
      4/18/2015   709   MG0067   Owner Operator   Repair Order                   CTMS - 181098 Repair              125.35
      4/18/2015   709   MG0067   Owner Operator   Repair Order                   CTMS - 181252 Repair              125.35
      4/18/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL               8.75
      4/18/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                      13
      4/18/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                         100
      4/18/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      4/18/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                     158.17
      4/18/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                     234.67
      4/18/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                     201.36
      4/18/2015   709   MM0093   Owner Operator   FUEL TAX                       February 2015-QC                   -0.18
      4/18/2015   709   MM0093   Owner Operator   IRP License Deduction          2016 IL IRP Plate refund            -140
      4/18/2015   709   MM0093   Owner Operator   IRP License Deduction          LCIL:2015 - 32931                    100
      4/18/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5

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      4/18/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD               53.13
      4/18/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                     337.19
      4/18/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      4/18/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                      13
      4/18/2015   709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-11       970.2
      4/18/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        550
      4/18/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                         280
      4/18/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.8
      4/18/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                     439.48
      4/18/2015   709   MP0035   Owner Operator   FUEL TAX                       February 2015-QC                   -0.89
      4/18/2015   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                    100
      4/18/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/18/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                  71.88
      4/18/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism          2.5
      4/18/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                     323.05
      4/18/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL          8.75
      4/18/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                      13
      4/18/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         50
      4/18/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     309.57
      4/18/2015   709   NB0029   Owner Operator   FUEL TAX                       February 2015-QC                  380.89
      4/18/2015   709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                  10.58
      4/18/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                  31.68
      4/18/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/18/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD          35.16
      4/18/2015   709   NB0029   Owner Operator   Tire Purchase                  905-02010115                       61.46
      4/18/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 181257 Lease               215.66
      4/18/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL            8.75
      4/18/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                     13
      4/18/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      95.26
      4/18/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     292.71
      4/18/2015   709   NG0005   Owner Operator   FUEL TAX                       February 2015-QC                    0.27
      4/18/2015   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                   100
      4/18/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/18/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD            32.98
      4/18/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
      4/18/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                       13
      4/18/2015   709   NT9564   Owner Operator   IRP License Deduction          2016 IL IRP Plate refund            -200
      4/18/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/18/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD          28.13
      4/18/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL             8.75
      4/18/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     423.48
      4/18/2015   709   RC0030   Owner Operator   FUEL TAX                       February 2015-QC                  522.28
      4/18/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/18/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD             39.07
      4/18/2015   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00317557 - PO System      119.37
      4/18/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                 62.7
      4/18/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      4/18/2015   709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev           50
      4/18/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         500
      4/18/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                    5.39
      4/18/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     318.38
      4/18/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     450.84
      4/18/2015   709   RC0089   Owner Operator   FUEL TAX                       February 2015-QC                  -19.94
      4/18/2015   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                    100
      4/18/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/18/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              103.07
      4/18/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                     504.72
      4/18/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL         8.75
      4/18/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     100.17
      4/18/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     415.54
      4/18/2015   709   RL0017   Owner Operator   FUEL TAX                       February 2015-QC                  -36.92
      4/18/2015   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                   100
      4/18/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      4/18/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD         45.32
      4/18/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      4/18/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         200
      4/18/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         200
      4/18/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.17
      4/18/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.16
      4/18/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      463.9
      4/18/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     424.67
      4/18/2015   709   RL0062   Owner Operator   FUEL TAX                       February 2015-QC                   353.1
      4/18/2015   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                    100

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      4/18/2015   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                     100
      4/18/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      4/18/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 63.32
      4/18/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      4/18/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      4/18/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      4/18/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
      4/18/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
      4/18/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        343.2
      4/18/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.2
      4/18/2015   709   RM0026   Owner Operator   FUEL TAX                       February 2015-QC                     122.8
      4/18/2015   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                    100
      4/18/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
      4/18/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
      4/18/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                    10.58
      4/18/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      4/18/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/18/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                         71.85
      4/18/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.37
      4/18/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.29
      4/18/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.46
      4/18/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.57
      4/18/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        183.5
      4/18/2015   709   SB0009   Owner Operator   FUEL TAX                       February 2015-QC                     60.86
      4/18/2015   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                     100
      4/18/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      4/18/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      4/18/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      4/18/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   55000 2011 Freightliner NTL           8.75
      4/18/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      4/18/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/18/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        362.6
      4/18/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      4/18/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                55000 2011 Freightliner PD           42.97
      4/18/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      4/18/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      4/18/2015   709   VB0015   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev             50
      4/18/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/18/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         284
      4/18/2015   709   VB0015   Owner Operator   FUEL TAX                       February 2015-QC                     23.46
      4/18/2015   709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                    10.58
      4/18/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      4/18/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      4/18/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 181260 Tractor Sub leas      242.03
      4/18/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      4/18/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      4/18/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      4/18/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            50
      4/18/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/18/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      4/18/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      4/18/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/18/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      4/18/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.64
      4/18/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.59
      4/18/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.91
      4/18/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.45
      4/18/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.5
      4/18/2015   709   VJ0006   Owner Operator   FUEL TAX                       February 2015-QC                     75.66
      4/18/2015   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                     100
      4/18/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      4/18/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      4/18/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      4/18/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      4/18/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      4/18/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5

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      4/18/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              5.65
      4/18/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                    10.58
      4/18/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      4/18/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
      4/18/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      4/18/2015   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      4/18/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      4/18/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      4/18/2015   742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-4          34.14
      4/18/2015   742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-25       -95.76
      4/18/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/18/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/18/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      4/18/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.72
      4/18/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       445.06
      4/18/2015   742   AP0047   Owner Operator   FUEL TAX                       February 2015-QC                     38.97
      4/18/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      4/18/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      4/18/2015   742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00317652 - PO System         599.2
      4/18/2015   742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00317652 - PO System         599.2
      4/18/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      4/18/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      4/18/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          300
      4/18/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/18/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.3
      4/18/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.06
      4/18/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.95
      4/18/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       453.37
      4/18/2015   742   BS0030   Owner Operator   FUEL TAX                       February 2015-QC                     19.69
      4/18/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                     100
      4/18/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   742   BS0030   Owner Operator   Tire Fee                       Tire Fee: 1811769                        4
      4/18/2015   742   BS0030   Owner Operator   Tire Purchase                  PO: 742-00318526 - PO System         141.2
      4/18/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      4/18/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 29.89
      4/18/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      4/18/2015   742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      4/18/2015   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      4/18/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.22
      4/18/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.56
      4/18/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.46
      4/18/2015   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      4/18/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      4/18/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 181109 Truck Rental           565.9
      4/18/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 181109 Truck rental cat      150.09
      4/18/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      4/18/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      4/18/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      4/18/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      4/18/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      4/18/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/18/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      4/18/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      4/18/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/18/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/18/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/18/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.16
      4/18/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.18
      4/18/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/18/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        59.52
      4/18/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.37
      4/18/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.94
      4/18/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.97
      4/18/2015   742   LL0134   Owner Operator   FUEL TAX                       February 2015-QC                    137.67
      4/18/2015   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                     100
      4/18/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      4/18/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      4/18/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      4/18/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13

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      4/18/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/18/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.24
      4/18/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.92
      4/18/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.55
      4/18/2015   742   MH0117   Owner Operator   FUEL TAX                       February 2015-QC                    106.01
      4/18/2015   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                      100
      4/18/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      4/18/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      4/18/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      4/18/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      4/18/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/18/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/18/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/18/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.14
      4/18/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.24
      4/18/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.87
      4/18/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       498.98
      4/18/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.44
      4/18/2015   742   NG0024   Owner Operator   FUEL TAX                       February 2015-QC                     48.82
      4/18/2015   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                      100
      4/18/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      4/18/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      4/18/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 181251 repair                   100
      4/18/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 181251 repair                 253.6
      4/18/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/18/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      4/18/2015   742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                    -3000
      4/18/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      4/18/2015   742   PC0012   Owner Operator   Express Check                  T-Check Payment                       3000
      4/18/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/18/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/18/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/18/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.05
      4/18/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.09
      4/18/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.07
      4/18/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.88
      4/18/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.48
      4/18/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.63
      4/18/2015   742   PC0012   Owner Operator   FUEL TAX                       February 2015-QC                    117.71
      4/18/2015   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                      100
      4/18/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      4/18/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      4/18/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      4/18/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      4/18/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      4/18/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/18/2015   742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.08
      4/18/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.47
      4/18/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        413.5
      4/18/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        167.7
      4/18/2015   742   RN0054   Owner Operator   FUEL TAX                       February 2015-QC                     16.04
      4/18/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                   10.58
      4/18/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      4/18/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      4/18/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      4/18/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 181109 Tractor Lease         353.28
      4/18/2015   821   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      4/18/2015   821   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      4/18/2015   821   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      4/18/2015   821   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  12.5
      4/18/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         8
      4/18/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         8
      4/18/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         8
      4/18/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         8
      4/18/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      4/18/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                          100
      4/18/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                          100
      4/18/2015   821   DW0138   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.44
      4/18/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.9
      4/18/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.38

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      4/18/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        242.9
      4/18/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        44.35
      4/18/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.13
      4/18/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.12
      4/18/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.02
      4/18/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                     100
      4/18/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                     100
      4/18/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      4/18/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
      4/18/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      4/18/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
      4/18/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      4/18/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      4/18/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      4/18/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        84.31
      4/18/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      4/18/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       238.27
      4/18/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      4/18/2015   821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/18/2015   821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      4/18/2015   821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/18/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      4/18/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.17
      4/18/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.08
      4/18/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.65
      4/18/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        192.3
      4/18/2015   821   JK0112   Owner Operator   FUEL TAX                       February 2015-QC                    420.13
      4/18/2015   821   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                     100
      4/18/2015   821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      4/18/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      4/18/2015   821   JK0112   Owner Operator   Toll Charges                   33211 DelDOT D95 030915                  9
      4/18/2015   821   JK0112   Owner Operator   Toll Charges                   33211 DelDOT D95 031115                  9
      4/18/2015   821   JK0112   Owner Operator   Toll Charges                   33211 MdTA JFK 031115                   48
      4/18/2015   821   JK0112   Owner Operator   Toll Charges                   33211 PBA PB4 031215                  25.2
      4/18/2015   821   JK0112   Owner Operator   Toll Charges                   33211 PBA PB4 031315                  25.2
      4/18/2015   821   JK0112   Owner Operator   Toll Charges                   33211 PTC CLS 031215                  6.52
      4/18/2015   821   JK0112   Owner Operator   Toll Charges                   33211 PTC KEA 031215                  6.52
      4/18/2015   821   JK0112   Owner Operator   Toll Charges                   33211 PTC WYV 031215                 22.08
      4/18/2015   821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      4/18/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      4/18/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      4/18/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/18/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
      4/18/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 181186 Tractor Rent            125
      4/18/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      4/18/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      4/18/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/18/2015   858   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.18
      4/18/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.29
      4/18/2015   858   JR0099   Owner Operator   FUEL TAX                       February 2015-QC                    345.34
      4/18/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      4/18/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 181185 Q1203                 278.76
      4/18/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      4/18/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      4/18/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/18/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.09
      4/18/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.05
      4/18/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.79
      4/18/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.73
      4/18/2015   858   RP0082   Owner Operator   FUEL TAX                       February 2015-QC                     22.61
      4/18/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/18/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      4/18/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 181186 Truck Lease           278.76
      4/25/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      4/25/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      4/25/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13

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      4/25/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      4/25/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      4/25/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.02
      4/25/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.73
      4/25/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                    100
      4/25/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      4/25/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
      4/25/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      4/25/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/25/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      4/25/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.33
      4/25/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       521.06
      4/25/2015   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                     100
      4/25/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
      4/25/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/25/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      4/25/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      4/25/2015   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 181478 Fuel Purchase            -20
      4/25/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      4/25/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.95
      4/25/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.43
      4/25/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.94
      4/25/2015   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                     100
      4/25/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
      4/25/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      4/25/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                    10.58
      4/25/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      4/25/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      4/25/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      4/25/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.39
      4/25/2015   709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.58
      4/25/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      4/25/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.86
      4/25/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      4/25/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 181344 Q1104                 252.11
      4/25/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
      4/25/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/25/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      4/25/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      4/25/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      4/25/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.43
      4/25/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.77
      4/25/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.96
      4/25/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.92
      4/25/2015   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                     100
      4/25/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
      4/25/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      4/25/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      4/25/2015   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       444.41
      4/25/2015   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                     100
      4/25/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.51
      4/25/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/25/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      4/25/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      4/25/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/25/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/25/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.17
      4/25/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       462.42
      4/25/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.74
      4/25/2015   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                     100
      4/25/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      4/25/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      4/25/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/25/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13

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      4/25/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
      4/25/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/25/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.18
      4/25/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.92
      4/25/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.35
      4/25/2015   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                     100
      4/25/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.91
      4/25/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      4/25/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      4/25/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      4/25/2015   709   EH0020   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev             50
      4/25/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      4/25/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      4/25/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         26.94
      4/25/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/25/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/25/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.33
      4/25/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/25/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.34
      4/25/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       448.56
      4/25/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       402.88
      4/25/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       441.65
      4/25/2015   709   EH0020   Owner Operator   FUEL TAX                       February 2015-QC                    134.93
      4/25/2015   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                     100
      4/25/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93
      4/25/2015   709   EH0020   Owner Operator   Tire Fee                       Tire Fee: 1809571                        4
      4/25/2015   709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00318381 - PO System        222.17
      4/25/2015   709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00318381 - PO System        222.17
      4/25/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      4/25/2015   709   FT0004   Owner Operator   Accident Claim                 2/17 2/20 prop dam JMcAvoy            500
      4/25/2015   709   FT0004   Owner Operator   Accident Claim                 refund claim less than expecte      -97.33
      4/25/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      4/25/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      4/25/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      4/25/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      4/25/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      4/25/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            75
      4/25/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            60
      4/25/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/25/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            30
      4/25/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.3
      4/25/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/25/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      4/25/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.75
      4/25/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      4/25/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        215.7
      4/25/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.68
      4/25/2015   709   FT0004   Owner Operator   FUEL TAX                       February 2015-QC                     96.35
      4/25/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                    10.58
      4/25/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      4/25/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            4.34
      4/25/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.51
      4/25/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 181148 73129                 181.08
      4/25/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 181344 73129                 181.08
      4/25/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
      4/25/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      4/25/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      4/25/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.97
      4/25/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.04
      4/25/2015   709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                    10.58
      4/25/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                    31.68
      4/25/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
      4/25/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 181344 Lease                 252.11
      4/25/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 181399 Trk payment catc      126.06
      4/25/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75

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      4/25/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      4/25/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/25/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/25/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       454.45
      4/25/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       552.58
      4/25/2015   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                      100
      4/25/2015   709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       254.11
      4/25/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
      4/25/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      4/25/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      4/25/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/25/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.31
      4/25/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.61
      4/25/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.03
      4/25/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        228.8
      4/25/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                      100
      4/25/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      4/25/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      4/25/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/25/2015   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/25/2015   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/25/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.2
      4/25/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.36
      4/25/2015   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                      100
      4/25/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      4/25/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/25/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      4/25/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      4/25/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      4/25/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      4/25/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/25/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/25/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/25/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.37
      4/25/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/25/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/25/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.96
      4/25/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       605.98
      4/25/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.63
      4/25/2015   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                      100
      4/25/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
      4/25/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      4/25/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/25/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      4/25/2015   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1000
      4/25/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      4/25/2015   709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1000
      4/25/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/25/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/25/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.22
      4/25/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/25/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.31
      4/25/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       483.68
      4/25/2015   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                      100
      4/25/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      4/25/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      4/25/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/25/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      4/25/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      4/25/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/25/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/25/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/25/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.36
      4/25/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        29.27
      4/25/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       455.92
      4/25/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       419.58
      4/25/2015   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                      100

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      4/25/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/25/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      4/25/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      4/25/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      4/25/2015   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-11        2515.49
      4/25/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        120.11
      4/25/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        185.83
      4/25/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        144.78
      4/25/2015   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2014 - 33438                     66.96
      4/25/2015   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                      100
      4/25/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/25/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51
      4/25/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                     10.58
      4/25/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
      4/25/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      4/25/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      4/25/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      4/25/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      4/25/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/25/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           300
      4/25/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      4/25/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/25/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.01
      4/25/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        388.38
      4/25/2015   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                      100
      4/25/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/25/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.93
      4/25/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      4/25/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/25/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/25/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      4/25/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      4/25/2015   709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-11           8.69
      4/25/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/25/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/25/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/25/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/25/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/25/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/25/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/25/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.32
      4/25/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.14
      4/25/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/25/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.15
      4/25/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.21
      4/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.83
      4/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        178.46
      4/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.73
      4/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         16.48
      4/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.41
      4/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.84
      4/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          64.5
      4/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          150
      4/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        508.13
      4/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.02
      4/25/2015   709   KP0004   Owner Operator   FUEL TAX                       February 2015-QC                     267.64
      4/25/2015   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                      100
      4/25/2015   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                      100
      4/25/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/25/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/25/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      4/25/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      4/25/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      4/25/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      4/25/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      4/25/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      4/25/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
      4/25/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
      4/25/2015   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                       100
      4/25/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/25/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
      4/25/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      4/25/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                        13

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      4/25/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                      207.19
      4/25/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                        500
      4/25/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                         200
      4/25/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      4/25/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                      376.23
      4/25/2015   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                   100
      4/25/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/25/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                    39.04
      4/25/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                   8.75
      4/25/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                      13
      4/25/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                      449.66
      4/25/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                      169.93
      4/25/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                      152.87
      4/25/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                      155.24
      4/25/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                      140.84
      4/25/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                      249.44
      4/25/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/25/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                   70.29
      4/25/2015   709   MB0048   Owner Operator   Repair Order                   CTMS - 181252 Brake Pads           610.25
      4/25/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
      4/25/2015   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                       13
      4/25/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                          50
      4/25/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                      285.16
      4/25/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                      250.05
      4/25/2015   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2014 - 33435                    100
      4/25/2015   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                    100
      4/25/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/25/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       35.15
      4/25/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
      4/25/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
      4/25/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       13
      4/25/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                         200
      4/25/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      4/25/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      297.63
      4/25/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.4
      4/25/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/25/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                53.11
      4/25/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                      337.19
      4/25/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
      4/25/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
      4/25/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        550
      4/25/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                         280
      4/25/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.8
      4/25/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                      417.46
      4/25/2015   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                    100
      4/25/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/25/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   71.86
      4/25/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
      4/25/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                      323.05
      4/25/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           8.75
      4/25/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
      4/25/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          50
      4/25/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                         100
      4/25/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      4/25/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.2
      4/25/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        180
      4/25/2015   709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                   10.58
      4/25/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                   31.68
      4/25/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/25/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD           35.15
      4/25/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 181484 Lease                215.66
      4/25/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
      4/25/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
      4/25/2015   709   NG0005   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-2      -398.28
      4/25/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      300.03
      4/25/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      200.13
      4/25/2015   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                   100
      4/25/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/25/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.97
      4/25/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL           8.75
      4/25/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                        13
      4/25/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/25/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD           28.11

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      4/25/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL              8.75
      4/25/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      231.77
      4/25/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      247.04
      4/25/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      218.35
      4/25/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/25/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD              39.04
      4/25/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                 62.69
      4/25/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      4/25/2015   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-2      -666.75
      4/25/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         500
      4/25/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                     5.24
      4/25/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      477.38
      4/25/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      279.23
      4/25/2015   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                    100
      4/25/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/25/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               103.05
      4/25/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                      504.72
      4/25/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL          8.75
      4/25/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      309.12
      4/25/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      400.04
      4/25/2015   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                   100
      4/25/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/25/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD          45.29
      4/25/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      4/25/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      4/25/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                       13
      4/25/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                       13
      4/25/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
      4/25/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
      4/25/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      4/25/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.17
      4/25/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       80.24
      4/25/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      422.97
      4/25/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      389.04
      4/25/2015   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                    100
      4/25/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/25/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/25/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.13
      4/25/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                29.83
      4/25/2015   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00317573 - PO System        51.93
      4/25/2015   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00317573 - PO System       394.77
      4/25/2015   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00317573 - PO System       394.77
      4/25/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                      512.16
      4/25/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                 27.46
      4/25/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                    8.75
      4/25/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                      13
      4/25/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      271.18
      4/25/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      251.17
      4/25/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      315.09
      4/25/2015   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                   100
      4/25/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/25/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                    13.26
      4/25/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism            2.5
      4/25/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                   10.58
      4/25/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                   31.68
      4/25/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
      4/25/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
      4/25/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
      4/25/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
      4/25/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
      4/25/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
      4/25/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
      4/25/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
      4/25/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
      4/25/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
      4/25/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
      4/25/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
      4/25/2015   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                 12.5
      4/25/2015   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                 12.5
      4/25/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                       13
      4/25/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                       13
      4/25/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                       13
      4/25/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                       13

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      4/25/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      4/25/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      4/25/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      4/25/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      4/25/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/25/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                        128.15
      4/25/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/25/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.29
      4/25/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        174.7
      4/25/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.27
      4/25/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.99
      4/25/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.41
      4/25/2015   709   SB0009   Owner Operator   FUEL TAX                       January 2015-QC                     220.83
      4/25/2015   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                     100
      4/25/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      4/25/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      4/25/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      4/25/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      4/25/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      4/25/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       180.29
      4/25/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      4/25/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      4/25/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      4/25/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   55000 2011 Freightliner NTL           8.75
      4/25/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      4/25/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.16
      4/25/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      4/25/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                55000 2011 Freightliner PD           42.97
      4/25/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      4/25/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      4/25/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       464.66
      4/25/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       456.79
      4/25/2015   709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                    10.58
      4/25/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      4/25/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      4/25/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 181487 Tractor Sub leas      242.03
      4/25/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      4/25/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      4/25/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      4/25/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/25/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/25/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.24
      4/25/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.25
      4/25/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.41
      4/25/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.31
      4/25/2015   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                     100
      4/25/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      4/25/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      4/25/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      4/25/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      4/25/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      4/25/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      4/25/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      4/25/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL               3.1
      4/25/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      4/25/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      4/25/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      4/25/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/25/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      4/25/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                      3.28
      4/25/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/25/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3.3
      4/25/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.3

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      4/25/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.01
      4/25/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       467.57
      4/25/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       403.08
      4/25/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.84
      4/25/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.85
      4/25/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.89
      4/25/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.56
      4/25/2015   709   WH0073   Owner Operator   FUEL TAX                       February 2015-QC                    205.16
      4/25/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                    10.58
      4/25/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      4/25/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.69
      4/25/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 181147 Sub, Sub Lease        396.13
      4/25/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 181343 Sub, Sub Lease        396.13
      4/25/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      4/25/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      4/25/2015   742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-18         95.76
      4/25/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/25/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/25/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/25/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/25/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/25/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/25/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.85
      4/25/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.64
      4/25/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.58
      4/25/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.62
      4/25/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.52
      4/25/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.25
      4/25/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      4/25/2015   742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00317652 - PO System         599.2
      4/25/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          300
      4/25/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/25/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.26
      4/25/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.41
      4/25/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       470.49
      4/25/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                     100
      4/25/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      4/25/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                 8.75
      4/25/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                 8.75
      4/25/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      4/25/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      4/25/2015   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.14
      4/25/2015   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.14
      4/25/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.01
      4/25/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        352.6
      4/25/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.85
      4/25/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.69
      4/25/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.39
      4/25/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                 24.61
      4/25/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                 24.61
      4/25/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      4/25/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 30.66
      4/25/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      4/25/2015   742   BS0078   Owner Operator   Truck Payment                  CTMS - 181172 Truck Rental Pay       565.9
      4/25/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      4/25/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      4/25/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      4/25/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      4/25/2015   742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.31
      4/25/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       425.85
      4/25/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.58
      4/25/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.92
      4/25/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.48
      4/25/2015   742   ED0041   Owner Operator   FUEL TAX                       February 2015-QC                     50.98
      4/25/2015   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                     100
      4/25/2015   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                     100
      4/25/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      4/25/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      4/25/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
      4/25/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      4/25/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      4/25/2015   742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00317385 - PO System         82.87
      4/25/2015   742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00317385 - PO System         82.82
      4/25/2015   742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      4/25/2015   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      4/25/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.99
      4/25/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.93
      4/25/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.68
      4/25/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.69
      4/25/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.36
      4/25/2015   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      4/25/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      4/25/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 181303 Truck Rental           565.9
      4/25/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 181303 Truck rental cat      150.09
      4/25/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      4/25/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      4/25/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      4/25/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
      4/25/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      4/25/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/25/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      4/25/2015   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                     100
      4/25/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      4/25/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      4/25/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      4/25/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      4/25/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.25
      4/25/2015   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                     100
      4/25/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.61
      4/25/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      4/25/2015   742   MH0117   Owner Operator   Toll Charges                   FasTrak T711576121671 - 33296           50
      4/25/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      4/25/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      4/25/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.23
      4/25/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       515.96
      4/25/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.67
      4/25/2015   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                     100
      4/25/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
      4/25/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      4/25/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/25/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.04
      4/25/2015   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                     100
      4/25/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      4/25/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
      4/25/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       473.79
      4/25/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      4/25/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      4/25/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.24
      4/25/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.08
      4/25/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.69
      4/25/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.81
      4/25/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                   10.58
      4/25/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      4/25/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
      4/25/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      4/25/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 181303 Tractor Lease         353.28
      4/25/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2014 - 33443                     100
      4/25/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                     100
      4/25/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   821   DW0138   Owner Operator   Permits                        CUST:2015 - 33443                    89.29
      4/25/2015   821   DW0138   Owner Operator   Permits                        NM07:2015 - 33443                      5.5
      4/25/2015   821   DW0138   Owner Operator   Permits                        NY13:2015 - 33443                       19

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      4/25/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
      4/25/2015   821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/25/2015   821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      4/25/2015   821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
      4/25/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.29
      4/25/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.27
      4/25/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.46
      4/25/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.99
      4/25/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.06
      4/25/2015   821   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                     100
      4/25/2015   821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
      4/25/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      4/25/2015   821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      4/25/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      4/25/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      4/25/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.43
      4/25/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 181397 Tractor Rent            125
      4/25/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      4/25/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      4/25/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.53
      4/25/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.99
      4/25/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
      4/25/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 181397 Q1203                 278.76
      4/25/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      4/25/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      4/25/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/25/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.16
      4/25/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.02
      4/25/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.26
      4/25/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.59
      4/25/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.29
      4/25/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/25/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
      4/25/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 181397 Truck Lease           278.76
       5/2/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
       5/2/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
       5/2/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
       5/2/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
       5/2/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.49
       5/2/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                    100
       5/2/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
       5/2/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/2/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
       5/2/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
       5/2/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
       5/2/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
       5/2/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
       5/2/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
       5/2/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        8
       5/2/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        8
       5/2/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        8
       5/2/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        8
       5/2/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
       5/2/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
       5/2/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
       5/2/2015   709   AR0064   Owner Operator   Fuel Card Advances             Cash Advance                          100
       5/2/2015   709   AR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
       5/2/2015   709   AR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.13
       5/2/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        324.5
       5/2/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.44
       5/2/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       103.93
       5/2/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       442.66
       5/2/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       471.51
       5/2/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2015 - q13147                   10.58
       5/2/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2015 - q13147                   10.58
       5/2/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2015 - q13147                   10.58
       5/2/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68

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      5/2/2015    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      5/2/2015    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      5/2/2015    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      5/2/2015    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      5/2/2015    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      5/2/2015    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      5/2/2015    709   AR0064   Owner Operator   Tractor Fee                    Fee - Q13147                        378.96
      5/2/2015    709   AR0064   Owner Operator   Truck Payment                  CTMS - 181196 Trck Lease            353.28
      5/2/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/2/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      5/2/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/2/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/2/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.29
      5/2/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       460.74
      5/2/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        422.6
      5/2/2015    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                     100
      5/2/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      5/2/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/2/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      5/2/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      5/2/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      5/2/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.42
      5/2/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.99
      5/2/2015    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                     100
      5/2/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      5/2/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      5/2/2015    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                    10.58
      5/2/2015    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      5/2/2015    709   CS0091   Owner Operator   Permits                        IL02:2015 - 73130                     3.75
      5/2/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      5/2/2015    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      5/2/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/2/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.58
      5/2/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      5/2/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      5/2/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      5/2/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 181575 Q1104                 252.11
      5/2/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      5/2/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/2/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      5/2/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      5/2/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      5/2/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.77
      5/2/2015    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                     100
      5/2/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      5/2/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      5/2/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      5/2/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/2/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       528.05
      5/2/2015    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                     100
      5/2/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      5/2/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/2/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      5/2/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/2/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/2/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/2/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.4
      5/2/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/2/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.37
      5/2/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.74
      5/2/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.49
      5/2/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.94
      5/2/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       519.25
      5/2/2015    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                     100
      5/2/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      5/2/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56

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      5/2/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/2/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                       13
      5/2/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         300
      5/2/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                     3.18
      5/2/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.19
      5/2/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.17
      5/2/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      493.48
      5/2/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      464.31
      5/2/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      454.21
      5/2/2015    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                    100
      5/2/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/2/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.92
      5/2/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                      505.27
      5/2/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                       13
      5/2/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        250
      5/2/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         100
      5/2/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      5/2/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      5/2/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/2/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/2/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      5/2/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      134.35
      5/2/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      253.21
      5/2/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      344.39
      5/2/2015    709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                    100
      5/2/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/2/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.01
      5/2/2015    709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00318381 - PO System       222.17
      5/2/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      532.24
      5/2/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL          8.75
      5/2/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                       13
      5/2/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                          50
      5/2/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           65
      5/2/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           25
      5/2/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.25
      5/2/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.65
      5/2/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      262.63
      5/2/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      200.74
      5/2/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                   10.58
      5/2/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                   31.68
      5/2/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/2/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD          29.52
      5/2/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 181574 73129                181.08
      5/2/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
      5/2/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL          8.75
      5/2/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
      5/2/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                          50
      5/2/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      221.67
      5/2/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                   10.58
      5/2/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                   31.68
      5/2/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/2/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD          39.07
      5/2/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 181575 Lease                252.11
      5/2/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL              8.75
      5/2/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                       13
      5/2/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                         200
      5/2/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/2/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      431.98
      5/2/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      366.65
      5/2/2015    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                    100
      5/2/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment      254.11
      5/2/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/2/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD              15.63
      5/2/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                   8.75
      5/2/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                       13
      5/2/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          50
      5/2/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                         100
      5/2/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      5/2/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.24
      5/2/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.9
      5/2/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      221.65
      5/2/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      203.42
      5/2/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      286.52

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      5/2/2015    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                     100
      5/2/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      5/2/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      5/2/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/2/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.13
      5/2/2015    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                     100
      5/2/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      5/2/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/2/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      5/2/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      5/2/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         74.53
      5/2/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.37
      5/2/2015    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                     100
      5/2/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      5/2/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      5/2/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/2/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      5/2/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      5/2/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/2/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/2/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.14
      5/2/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.28
      5/2/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.96
      5/2/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.7
      5/2/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        95.63
      5/2/2015    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                     100
      5/2/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      5/2/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      5/2/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/2/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      5/2/2015    709   JG0072   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-9        -38.75
      5/2/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/2/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/2/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/2/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/2/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/2/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/2/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.12
      5/2/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.33
      5/2/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.22
      5/2/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       452.53
      5/2/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.92
      5/2/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       474.77
      5/2/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       441.45
      5/2/2015    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                     100
      5/2/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      5/2/2015    709   JG0072   Owner Operator   Tire Fee                       Tire Fee: 1813676                        8
      5/2/2015    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00318325 - PO System        200.72
      5/2/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      5/2/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      5/2/2015    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      5/2/2015    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      5/2/2015    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      5/2/2015    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-11        305.06
      5/2/2015    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/2/2015    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/2/2015    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/2/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         153
      5/2/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.27
      5/2/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.76
      5/2/2015    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                     100
      5/2/2015    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      5/2/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                    10.58
      5/2/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      5/2/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      5/2/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      5/2/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13

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      5/2/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      5/2/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/2/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/2/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         330
      5/2/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.02
      5/2/2015    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                     100
      5/2/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      5/2/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      5/2/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/2/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      5/2/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/2/2015    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                     100
      5/2/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      5/2/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/2/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      5/2/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      5/2/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      5/2/2015    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                      100
      5/2/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      5/2/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      5/2/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      5/2/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         500
      5/2/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/2/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/2/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/2/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/2/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.77
      5/2/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       362.43
      5/2/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       362.55
      5/2/2015    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                    100
      5/2/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
      5/2/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      5/2/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      5/2/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      5/2/2015    709   MB0048   Owner Operator   Tire Fee                       Tire Fee: 1814113                       16
      5/2/2015    709   MB0048   Owner Operator   Tire Purchase                  PO: 709-00319120 - PO System        812.43
      5/2/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      5/2/2015    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                        13
      5/2/2015    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/2/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         310
      5/2/2015    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2014 - 33435                    66.96
      5/2/2015    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                     100
      5/2/2015    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      5/2/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      5/2/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/2/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      5/2/2015    709   MM0093   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-9        -11.63
      5/2/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        203.7
      5/2/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.85
      5/2/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      5/2/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      5/2/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      5/2/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      5/2/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         550
      5/2/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
      5/2/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      5/2/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.09
      5/2/2015    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                     100
      5/2/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      5/2/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      5/2/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      5/2/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      5/2/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      5/2/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/2/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       463.34

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      5/2/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                  10.58
      5/2/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                  31.68
      5/2/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/2/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD          35.16
      5/2/2015    709   NB0029   Owner Operator   Tire Fee                       Tire Fee: 1812725                      8
      5/2/2015    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00318327 - PO System      221.81
      5/2/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 181708 Lease               215.66
      5/2/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL            8.75
      5/2/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                     13
      5/2/2015    709   NG0005   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-25      398.28
      5/2/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          80
      5/2/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.8
      5/2/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     300.02
      5/2/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     197.02
      5/2/2015    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                  100
      5/2/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/2/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD            32.98
      5/2/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
      5/2/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                       13
      5/2/2015    709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-9         -25
      5/2/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/2/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD          28.13
      5/2/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL             8.75
      5/2/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     223.59
      5/2/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     265.37
      5/2/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      276.3
      5/2/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     224.61
      5/2/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/2/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD             39.07
      5/2/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                 62.7
      5/2/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      5/2/2015    709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-25      666.75
      5/2/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                        500
      5/2/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                    5.23
      5/2/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     199.86
      5/2/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     207.52
      5/2/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     408.83
      5/2/2015    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                   100
      5/2/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/2/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              103.07
      5/2/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                     504.72
      5/2/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL         8.75
      5/2/2015    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                        100
      5/2/2015    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      5/2/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     330.09
      5/2/2015    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                  100
      5/2/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/2/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD         45.32
      5/2/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      5/2/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                      13
      5/2/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                      13
      5/2/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      5/2/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      5/2/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      5/2/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                    1.16
      5/2/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                    1.14
      5/2/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                    1.32
      5/2/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      456.4
      5/2/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     459.93
      5/2/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     426.59
      5/2/2015    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                   100
      5/2/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/2/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.15
      5/2/2015    709   RL0062   Owner Operator   Repair Order                   CTMS - 181098 Repair               211.7
      5/2/2015    709   RL0062   Owner Operator   Tire Fee                       Tire Fee: 1808421                     16
      5/2/2015    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00317573 - PO System      342.84
      5/2/2015    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00317573 - PO System      394.77
      5/2/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                     512.16
      5/2/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                27.48
      5/2/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                   8.75
      5/2/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                     13
      5/2/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     318.52
      5/2/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     329.32

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      5/2/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.27
      5/2/2015    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                    100
      5/2/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
      5/2/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
      5/2/2015    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                    10.58
      5/2/2015    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      5/2/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
      5/2/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/2/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      5/2/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.21
      5/2/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.94
      5/2/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       403.79
      5/2/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.97
      5/2/2015    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                     100
      5/2/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      5/2/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      5/2/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/2/2015    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      5/2/2015    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/2/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.28
      5/2/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        91.04
      5/2/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.08
      5/2/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        88.85
      5/2/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.09
      5/2/2015    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      5/2/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      5/2/2015    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      5/2/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/2/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.03
      5/2/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.25
      5/2/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                    10.58
      5/2/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      5/2/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      5/2/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 181711 Tractor Sub leas      242.03
      5/2/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/2/2015    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                     100
      5/2/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      5/2/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                       264.74
      5/2/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      5/2/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      5/2/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      5/2/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      5/2/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      5/2/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      5/2/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/2/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/2/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/2/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/2/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.22
      5/2/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.44
      5/2/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        347.2
      5/2/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.53
      5/2/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                    10.58
      5/2/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      5/2/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
      5/2/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 181574 Sub, Sub Lease        396.13
      5/2/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      5/2/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      5/2/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/2/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/2/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
      5/2/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/2/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        283.4
      5/2/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.52
      5/2/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.5
      5/2/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      5/2/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      5/2/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      5/2/2015    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00317652 - PO System        599.14
      5/2/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      5/2/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      5/2/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      5/2/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      5/2/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/2/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/2/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.94
      5/2/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       116.98
      5/2/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.64
      5/2/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.55
      5/2/2015    742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                     100
      5/2/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    742   BS0030   Owner Operator   Tire Purchase                  PO: 742-00318526 - PO System         141.2
      5/2/2015    742   BS0030   Owner Operator   Tire Purchase                  PO: 742-00318526 - PO System         141.2
      5/2/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      5/2/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                 8.75
      5/2/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      5/2/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      5/2/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.28
      5/2/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.16
      5/2/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.17
      5/2/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       555.14
      5/2/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       524.03
      5/2/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         623
      5/2/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        57.49
      5/2/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                 24.61
      5/2/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD Terrorism         2.5
      5/2/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      5/2/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      5/2/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      5/2/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      5/2/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      5/2/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      5/2/2015    742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.34
      5/2/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.54
      5/2/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.9
      5/2/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       437.54
      5/2/2015    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                     100
      5/2/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      5/2/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      5/2/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      5/2/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      5/2/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.27
      5/2/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.29
      5/2/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.84
      5/2/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      5/2/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      5/2/2015    742   EN0016   Owner Operator   Truck Payment                  CTMS - 181536 Truck rental cat      150.09
      5/2/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      5/2/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      5/2/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      5/2/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      5/2/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      5/2/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      5/2/2015    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      5/2/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/2/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/2/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/2/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.33
      5/2/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        297.9
      5/2/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       614.58
      5/2/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.34
      5/2/2015    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                     100
      5/2/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      5/2/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      5/2/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 181524 repair                 253.6

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      5/2/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 181524 repair                  100
      5/2/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 181689 repair                 253.6
      5/2/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 181690 repair                  100
      5/2/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/2/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      5/2/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      5/2/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/2/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/2/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/2/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/2/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/2/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.1
      5/2/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.22
      5/2/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.1
      5/2/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.14
      5/2/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.2
      5/2/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.11
      5/2/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.57
      5/2/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.62
      5/2/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        368.3
      5/2/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.31
      5/2/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        178.1
      5/2/2015    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                     100
      5/2/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      5/2/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      5/2/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      5/2/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        35.39
      5/2/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      5/2/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      5/2/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/2/2015    742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.28
      5/2/2015    742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.23
      5/2/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.42
      5/2/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       416.53
      5/2/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.12
      5/2/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.59
      5/2/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                   10.58
      5/2/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      5/2/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      5/2/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      5/2/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.43
      5/2/2015    821   DW0138   Owner Operator   IRP License Deduction          LCIL:2014 - 33443                     100
      5/2/2015    821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                     100
      5/2/2015    821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      5/2/2015    821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        24.72
      5/2/2015    821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/2/2015    821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      5/2/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/2/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/2/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/2/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.29
      5/2/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.14
      5/2/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.62
      5/2/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.24
      5/2/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.82
      5/2/2015    821   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                     100
      5/2/2015    821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      5/2/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      5/2/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      5/2/2015    858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      5/2/2015    858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      5/2/2015    858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/2/2015    858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.05
      5/2/2015    858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
      5/2/2015    858   CS0091   Owner Operator   Truck Payment                  CTMS - 181609 Tractor Rent            125
      5/2/2015    858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      5/2/2015    858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      5/2/2015    858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50

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      5/2/2015    858   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.18
      5/2/2015    858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.57
      5/2/2015    858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.84
      5/2/2015    858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      5/2/2015    858   JR0099   Owner Operator   Truck Payment                  CTMS - 181609 Q1203                 278.76
      5/2/2015    858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      5/2/2015    858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      5/2/2015    858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/2/2015    858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.16
      5/2/2015    858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.37
      5/2/2015    858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.62
      5/2/2015    858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/2/2015    858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      5/2/2015    858   RP0082   Owner Operator   Truck Payment                  CTMS - 181609 Truck Lease           278.76
      5/9/2015    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      5/9/2015    709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
      5/9/2015    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      5/9/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      5/9/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            60
      5/9/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      5/9/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      5/9/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       403.15
      5/9/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.63
      5/9/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       539.04
      5/9/2015    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                    100
      5/9/2015    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      5/9/2015    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      5/9/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      5/9/2015    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      5/9/2015    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                     2.06
      5/9/2015    709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/9/2015    709   AR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.22
      5/9/2015    709   AR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.05
      5/9/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.58
      5/9/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.38
      5/9/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.44
      5/9/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.45
      5/9/2015    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2015 - q13147                   10.58
      5/9/2015    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      5/9/2015    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   AR0064   Owner Operator   Permits1                       ID06:2015 - Q13147                      11
      5/9/2015    709   AR0064   Owner Operator   Permits1                       IL02:2015 - Q13147                    3.75
      5/9/2015    709   AR0064   Owner Operator   Permits1                       NM07:2015 - Q13147                     5.5
      5/9/2015    709   AR0064   Owner Operator   Permits1                       NY13:2013 - Q13147                      19
      5/9/2015    709   AR0064   Owner Operator   Permits1                       OR16:2015 - Q13147                       8
      5/9/2015    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      5/9/2015    709   AR0064   Owner Operator   Truck Payment                  CTMS - 181394 Trck Lease            353.28
      5/9/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/9/2015    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      5/9/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      5/9/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.16
      5/9/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       479.02
      5/9/2015    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                     100
      5/9/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      5/9/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/9/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      5/9/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      5/9/2015    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
      5/9/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      5/9/2015    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/9/2015    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/9/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.84
      5/9/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.33
      5/9/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.93
      5/9/2015    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                     100
      5/9/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      5/9/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      5/9/2015    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                    10.58

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      5/9/2015    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      5/9/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      5/9/2015    709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                  12.5
      5/9/2015    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      5/9/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/9/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/9/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.02
      5/9/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.07
      5/9/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.58
      5/9/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      5/9/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      5/9/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      5/9/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 181777 Q1104                 252.11
      5/9/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               58.9
      5/9/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      5/9/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/9/2015    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                  12.5
      5/9/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      5/9/2015    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-16       -29.25
      5/9/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      5/9/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      5/9/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.38
      5/9/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.27
      5/9/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       520.32
      5/9/2015    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                     100
      5/9/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      5/9/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      5/9/2015    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      5/9/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      5/9/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/9/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       443.53
      5/9/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       485.26
      5/9/2015    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                     100
      5/9/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      5/9/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/9/2015    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                  12.5
      5/9/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      5/9/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/9/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/9/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.1
      5/9/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.17
      5/9/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.27
      5/9/2015    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                     100
      5/9/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      5/9/2015    709   EA0003   Owner Operator   Repair Order                   CTMS - 181869 Replace Windshie       394.3
      5/9/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      5/9/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/9/2015    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                  12.5
      5/9/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      5/9/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/9/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/9/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.17
      5/9/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/9/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.37
      5/9/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.42
      5/9/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        472.7
      5/9/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       480.67
      5/9/2015    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                     100
      5/9/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      5/9/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      5/9/2015    709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                  12.5
      5/9/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      5/9/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/9/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          100

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      5/9/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      5/9/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      5/9/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/9/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.41
      5/9/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.7
      5/9/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      256.08
      5/9/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      225.75
      5/9/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      354.77
      5/9/2015    709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                    100
      5/9/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/9/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.01
      5/9/2015    709   EH0020   Owner Operator   Repair Order                   CTMS - 181869 Repair                277.7
      5/9/2015    709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00318381 - PO System       222.17
      5/9/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      532.24
      5/9/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL          8.75
      5/9/2015    709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                 12.5
      5/9/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                       13
      5/9/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                          50
      5/9/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           77
      5/9/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           20
      5/9/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
      5/9/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.77
      5/9/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        280
      5/9/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      269.99
      5/9/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                   10.58
      5/9/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                   31.68
      5/9/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/9/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD          29.52
      5/9/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 181777 73129                181.08
      5/9/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
      5/9/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL          8.75
      5/9/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
      5/9/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                          50
      5/9/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      263.24
      5/9/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                   10.58
      5/9/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                   31.68
      5/9/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/9/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD          39.07
      5/9/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 181777 Lease                252.11
      5/9/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL              8.75
      5/9/2015    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                 12.5
      5/9/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                       13
      5/9/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                         200
      5/9/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/9/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.3
      5/9/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      561.75
      5/9/2015    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                    100
      5/9/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment      254.11
      5/9/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/9/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD              15.63
      5/9/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                   8.75
      5/9/2015    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                 12.5
      5/9/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                       13
      5/9/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          50
      5/9/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                         100
      5/9/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      5/9/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      153.19
      5/9/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      285.27
      5/9/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      266.12
      5/9/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      138.53
      5/9/2015    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                    100
      5/9/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/9/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                   54.69
      5/9/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                 21.35
      5/9/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/9/2015    709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            50
      5/9/2015    709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            50
      5/9/2015    709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev           -50
      5/9/2015    709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev           -50
      5/9/2015    709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev           -50
      5/9/2015    709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev           -50
      5/9/2015    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.26
      5/9/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       26.02

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      5/9/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.38
      5/9/2015    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                     100
      5/9/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      5/9/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/9/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      5/9/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      5/9/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      5/9/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      5/9/2015    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      5/9/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      5/9/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      5/9/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                        125.47
      5/9/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/9/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/9/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/9/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/9/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       493.33
      5/9/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       560.29
      5/9/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       546.07
      5/9/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       521.87
      5/9/2015    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                     100
      5/9/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      5/9/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      5/9/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/9/2015    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      5/9/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      5/9/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      5/9/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/9/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.15
      5/9/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/9/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.52
      5/9/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        520.8
      5/9/2015    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                     100
      5/9/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      5/9/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      5/9/2015    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      5/9/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/9/2015    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
      5/9/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      5/9/2015    709   JG0072   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-2          38.75
      5/9/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/9/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/9/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.3
      5/9/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.58
      5/9/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       423.58
      5/9/2015    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                     100
      5/9/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      5/9/2015    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00318325 - PO System        200.72
      5/9/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      5/9/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      5/9/2015    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
      5/9/2015    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      5/9/2015    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/9/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.05
      5/9/2015    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                     100
      5/9/2015    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      5/9/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                    10.58
      5/9/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      5/9/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      5/9/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      5/9/2015    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
      5/9/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      5/9/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      5/9/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      5/9/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/9/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/9/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/9/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        474.35
      5/9/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.16
      5/9/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        271.36
      5/9/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        431.86
      5/9/2015    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                      100
      5/9/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      5/9/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      5/9/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/9/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/9/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.29
      5/9/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         53.85
      5/9/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.46
      5/9/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.71
      5/9/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.46
      5/9/2015    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                      100
      5/9/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      5/9/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      5/9/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      5/9/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
      5/9/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
      5/9/2015    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                       100
      5/9/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
      5/9/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      5/9/2015    709   LS0023   Owner Operator   Broker Pre Pass                21489A PrePass Device                  12.5
      5/9/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                        13
      5/9/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                          500
      5/9/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/9/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/9/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/9/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/9/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/9/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/9/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.97
      5/9/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.4
      5/9/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        515.41
      5/9/2015    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                     100
      5/9/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      39.07
      5/9/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      5/9/2015    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                  12.5
      5/9/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      5/9/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      5/9/2015    709   MB0048   Owner Operator   Tire Purchase                  PO: 709-00319120 - PO System         812.43
      5/9/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      5/9/2015    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                         13
      5/9/2015    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-16       -531.07
      5/9/2015    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-16       -531.07
      5/9/2015    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      5/9/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        315.55
      5/9/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          410
      5/9/2015    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                      100
      5/9/2015    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      5/9/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      5/9/2015    709   MG0067   Owner Operator   Repair Order                   CTMS - 181744 Repair                 125.35
      5/9/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      5/9/2015    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                   12.5
      5/9/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      5/9/2015    709   MM0093   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-2           11.63
      5/9/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/9/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/9/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/9/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/9/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/9/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/9/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        170.44

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      5/9/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                     168.06
      5/9/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                     333.84
      5/9/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                     276.98
      5/9/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                     184.91
      5/9/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/9/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD               53.13
      5/9/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                     337.19
      5/9/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      5/9/2015    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                12.5
      5/9/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                      13
      5/9/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                       550
      5/9/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                        280
      5/9/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                    3.15
      5/9/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                     444.27
      5/9/2015    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                   100
      5/9/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/9/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                  71.88
      5/9/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism          2.5
      5/9/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                     323.05
      5/9/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL          8.75
      5/9/2015    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                12.5
      5/9/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                      13
      5/9/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         50
      5/9/2015    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                        300
      5/9/2015    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                        200
      5/9/2015    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      5/9/2015    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      5/9/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     400.26
      5/9/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     360.29
      5/9/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     260.55
      5/9/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                  10.58
      5/9/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                  31.68
      5/9/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/9/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD          35.16
      5/9/2015    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00318327 - PO System      221.81
      5/9/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 181874 Lease               215.66
      5/9/2015    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                32.95
      5/9/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL            8.75
      5/9/2015    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device               12.5
      5/9/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                     13
      5/9/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     202.13
      5/9/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     296.76
      5/9/2015    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                  100
      5/9/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/9/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD            32.98
      5/9/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
      5/9/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                       13
      5/9/2015    709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-2           25
      5/9/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/9/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD          28.13
      5/9/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL             8.75
      5/9/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     247.28
      5/9/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     269.14
      5/9/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/9/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD             39.07
      5/9/2015    709   RC0030   Owner Operator   Repair Order                   CTMS - 181744 Repair                  70
      5/9/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                31.03
      5/9/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      5/9/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                        500
      5/9/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                    5.25
      5/9/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     199.91
      5/9/2015    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                   100
      5/9/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/9/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              103.07
      5/9/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                     504.72
      5/9/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL         8.75
      5/9/2015    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device               12.5
      5/9/2015    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                        100
      5/9/2015    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      5/9/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     283.02
      5/9/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     428.32
      5/9/2015    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                  100
      5/9/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5

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      5/9/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      5/9/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/9/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      5/9/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/9/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/9/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.15
      5/9/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.14
      5/9/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.15
      5/9/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       438.03
      5/9/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       389.84
      5/9/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       449.43
      5/9/2015    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                     100
      5/9/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      5/9/2015    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00317573 - PO System        394.73
      5/9/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      5/9/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      5/9/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
      5/9/2015    709   RM0026   Owner Operator   Broker Pre Pass                30811A PrePass Device                 12.5
      5/9/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
      5/9/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.75
      5/9/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.97
      5/9/2015    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                    100
      5/9/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
      5/9/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
      5/9/2015    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      5/9/2015    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                    10.58
      5/9/2015    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      5/9/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
      5/9/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/9/2015    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                  12.5
      5/9/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      5/9/2015    709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-16      -294.38
      5/9/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/9/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.37
      5/9/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       439.74
      5/9/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.62
      5/9/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.28
      5/9/2015    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                     100
      5/9/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      5/9/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      5/9/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/9/2015    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      5/9/2015    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/9/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        95.77
      5/9/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.79
      5/9/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.94
      5/9/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.81
      5/9/2015    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      5/9/2015    709   VB0015   Owner Operator   Accident Claim                 4/3/15 reason: prop dam             935.87
      5/9/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      5/9/2015    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/9/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       459.51
      5/9/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                    10.58
      5/9/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      5/9/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      5/9/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/9/2015    709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
      5/9/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      5/9/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      5/9/2015    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/9/2015    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/9/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/9/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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      5/9/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        176.25
      5/9/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.19
      5/9/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.57
      5/9/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        163.69
      5/9/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.03
      5/9/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.67
      5/9/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.93
      5/9/2015    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                      100
      5/9/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
      5/9/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        111.16
      5/9/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
      5/9/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      5/9/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      5/9/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
      5/9/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      5/9/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL               8.75
      5/9/2015    709   WH0073   Owner Operator   Broker Pre Pass                Q1235 PrePass Device                   12.5
      5/9/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                         13
      5/9/2015    709   WH0073   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev              50
      5/9/2015    709   WH0073   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev             -50
      5/9/2015    709   WH0073   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev             -50
      5/9/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/9/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/9/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.26
      5/9/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/9/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.4
      5/9/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        370.43
      5/9/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.3
      5/9/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        194.98
      5/9/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                     10.58
      5/9/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                     31.68
      5/9/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD               65.71
      5/9/2015    709   WH0073   Owner Operator   Repair Order                   CTMS - 181744 Repair                 437.82
      5/9/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 181776 Sub, Sub Lease         396.13
      5/9/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
      5/9/2015    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                   12.5
      5/9/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
      5/9/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/9/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/9/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/9/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/9/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/9/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.2
      5/9/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        391.66
      5/9/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        315.69
      5/9/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.07
      5/9/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 97.27
      5/9/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
      5/9/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                   -35
      5/9/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                  8.75
      5/9/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      5/9/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      5/9/2015    742   BS0078   Owner Operator   Broker Pre Pass                32665 PrePass Device                   12.5
      5/9/2015    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.16
      5/9/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        167.07
      5/9/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    742   BS0078   Owner Operator   Permits                        IL02:2015 - 33471                      3.75
      5/9/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                  24.61
      5/9/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                 -98.44
      5/9/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD Terrorism          -10
      5/9/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD Terrorism          2.5
      5/9/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.55
      5/9/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.54
      5/9/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
      5/9/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
      5/9/2015    742   BS0078   Owner Operator   Truck Payment                  CTMS - 181852 Truck Payment Re      -1131.8
      5/9/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
      5/9/2015    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                   12.5
      5/9/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13

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      5/9/2015    742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.33
      5/9/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.99
      5/9/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.18
      5/9/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.54
      5/9/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       454.98
      5/9/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.36
      5/9/2015    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                     100
      5/9/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      5/9/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      5/9/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      5/9/2015    742   EN0016   Owner Operator   Broker Pre Pass                32674 PrePass Device                  12.5
      5/9/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      5/9/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.56
      5/9/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.18
      5/9/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.13
      5/9/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.87
      5/9/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.83
      5/9/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.43
      5/9/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      5/9/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      5/9/2015    742   EN0016   Owner Operator   Truck Payment                  CTMS - 181755 Truck rental cat      150.09
      5/9/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      5/9/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      5/9/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      5/9/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      5/9/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      5/9/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/9/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/9/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.17
      5/9/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.64
      5/9/2015    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                    75.25
      5/9/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      5/9/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      5/9/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      5/9/2015    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      5/9/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      5/9/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      5/9/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/9/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/9/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.63
      5/9/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.91
      5/9/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.34
      5/9/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.19
      5/9/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        191.8
      5/9/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.13
      5/9/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.61
      5/9/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       420.46
      5/9/2015    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                     100
      5/9/2015    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                     100
      5/9/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      5/9/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      5/9/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      5/9/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      5/9/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      5/9/2015    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      5/9/2015    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      5/9/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/9/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.28
      5/9/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       497.87
      5/9/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        203.8
      5/9/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       484.69
      5/9/2015    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                     100
      5/9/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/9/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      5/9/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      5/9/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 181864 repair                 253.6
      5/9/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 181865 repair                  100
      5/9/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75

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      5/9/2015    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                  12.5
      5/9/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
      5/9/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                            50
      5/9/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.39
      5/9/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                    10.58
      5/9/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                    31.68
      5/9/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.26
      5/9/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      5/9/2015    821   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                   12.5
      5/9/2015    821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      5/9/2015    821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      5/9/2015    821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      5/9/2015    821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                          100
      5/9/2015    821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                          100
      5/9/2015    821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                          100
      5/9/2015    821   DW0138   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.24
      5/9/2015    821   DW0138   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.41
      5/9/2015    821   DW0138   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.34
      5/9/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.9
      5/9/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         33.59
      5/9/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        472.53
      5/9/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        139.98
      5/9/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.98
      5/9/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        214.32
      5/9/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        385.35
      5/9/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        159.28
      5/9/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        440.94
      5/9/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.4
      5/9/2015    821   DW0138   Owner Operator   IRP License Deduction          LCIL:2014 - 33443                      100
      5/9/2015    821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                      100
      5/9/2015    821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    821   DW0138   Owner Operator   Permits                        CUST:2015 - 33443                    115.71
      5/9/2015    821   DW0138   Owner Operator   Permits                        IL02:2015 - 33443                      3.75
      5/9/2015    821   DW0138   Owner Operator   Permits                        OR16:2015 - 33443                         8
      5/9/2015    821   DW0138   Owner Operator   Permits                        OR16:2015 - 33443                         8
      5/9/2015    821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
      5/9/2015    821   DW0138   Owner Operator   Repair Order                   TRACTOR 33443                            25
      5/9/2015    821   DW0138   Owner Operator   T Chek Fee                     ExpressCheck Fee                      15.69
      5/9/2015    821   DW0138   Owner Operator   T Chek Fee                     Tractor Repair 33443                1568.99
      5/9/2015    821   DW0138   Owner Operator   Tire Fee                       Tire Fee: 1816282                         8
      5/9/2015    821   DW0138   Owner Operator   Tire Purchase                  PO: 821-00319344 - PO System         200.43
      5/9/2015    821   DW0138   Owner Operator   Tire Purchase                  PO: 821-00319344 - PO System         200.43
      5/9/2015    821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        438.55
      5/9/2015    821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      5/9/2015    821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      5/9/2015    821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      5/9/2015    821   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                   12.5
      5/9/2015    821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      5/9/2015    821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      5/9/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.14
      5/9/2015    821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.28
      5/9/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        137.01
      5/9/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.3
      5/9/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        316.43
      5/9/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        355.92
      5/9/2015    821   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                      100
      5/9/2015    821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
      5/9/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      5/9/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      5/9/2015    858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      5/9/2015    858   CS0091   Owner Operator   Broker Pre Pass                73130 PrePass Device                   12.5
      5/9/2015    858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                         13
      5/9/2015    858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
      5/9/2015    858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/9/2015    858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            23.44
      5/9/2015    858   CS0091   Owner Operator   Truck Payment                  CTMS - 181809 Tractor Rent             125
      5/9/2015    858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      5/9/2015    858   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                   12.5
      5/9/2015    858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      5/9/2015    858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50

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       5/9/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.85
       5/9/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/9/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
       5/9/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 181809 Q1203                 278.76
       5/9/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
       5/9/2015   858   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                  12.5
       5/9/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
       5/9/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
       5/9/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.04
       5/9/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.16
       5/9/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.51
       5/9/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.43
       5/9/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.38
       5/9/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/9/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
       5/9/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 181809 Truck Lease           278.76
      5/16/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      5/16/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      5/16/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      5/16/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      5/16/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.67
      5/16/2015   709   AN0007   Owner Operator   FUEL TAX                       March 2015-QC                        -0.04
      5/16/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                    100
      5/16/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      5/16/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      5/16/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      5/16/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      5/16/2015   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
      5/16/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                     5.94
      5/16/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        8
      5/16/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   709   AR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
      5/16/2015   709   AR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      5/16/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.95
      5/16/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.83
      5/16/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.75
      5/16/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2015 - q13147                   10.58
      5/16/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      5/16/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      5/16/2015   709   AR0064   Owner Operator   Tractor Fee                    Fee - Q13147                         76.51
      5/16/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 181611 Trck Lease            353.28
      5/16/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 181810 Trck Lease            353.28
      5/16/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 181985 Trck Lease            353.28
      5/16/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/16/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      5/16/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/16/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/16/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
      5/16/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       464.64
      5/16/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       495.76
      5/16/2015   709   CM0119   Owner Operator   FUEL TAX                       March 2015-QC                         -8.4
      5/16/2015   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                     100
      5/16/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      5/16/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/16/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      5/16/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      5/16/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      5/16/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/16/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/16/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.07
      5/16/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.43
      5/16/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         153
      5/16/2015   709   CR0064   Owner Operator   FUEL TAX                       March 2015-QC                        10.76
      5/16/2015   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                     100
      5/16/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      5/16/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      5/16/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                    10.58
      5/16/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      5/16/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75

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      5/16/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      5/16/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                         82.75
      5/16/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.83
      5/16/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.74
      5/16/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.62
      5/16/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.43
      5/16/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.84
      5/16/2015   709   DJ0028   Owner Operator   FUEL TAX                       March 2015-QC                        466.4
      5/16/2015   709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.58
      5/16/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      5/16/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      5/16/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      5/16/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 181953 Q1104                 252.11
      5/16/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      5/16/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/16/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      5/16/2015   709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-9          29.25
      5/16/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      5/16/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      5/16/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.19
      5/16/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.64
      5/16/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        467.7
      5/16/2015   709   DS0049   Owner Operator   FUEL TAX                       March 2015-QC                        -0.36
      5/16/2015   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                     100
      5/16/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      5/16/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      5/16/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      5/16/2015   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.38
      5/16/2015   709   DS0225   Owner Operator   FUEL TAX                       March 2015-QC                       -41.97
      5/16/2015   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                     100
      5/16/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      5/16/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/16/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      5/16/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/16/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/16/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/16/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.23
      5/16/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       516.71
      5/16/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.1
      5/16/2015   709   EA0003   Owner Operator   FUEL TAX                       March 2015-QC                       204.01
      5/16/2015   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                     100
      5/16/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      5/16/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      5/16/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/16/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      5/16/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/16/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            40
      5/16/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/16/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.19
      5/16/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      5/16/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.45
      5/16/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.9
      5/16/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       499.33
      5/16/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       364.59
      5/16/2015   709   EE0011   Owner Operator   FUEL TAX                       March 2015-QC                        58.13
      5/16/2015   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                     100
      5/16/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      5/16/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      5/16/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/16/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/16/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.21
      5/16/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.67
      5/16/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.56
      5/16/2015   709   EH0020   Owner Operator   FUEL TAX                       March 2015-QC                        80.15
      5/16/2015   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                     100
      5/16/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      5/16/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.01
      5/16/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      532.24
      5/16/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL          8.75
      5/16/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                       13
      5/16/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                          50
      5/16/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           25
      5/16/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.25
      5/16/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      241.25
      5/16/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      258.78
      5/16/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      176.31
      5/16/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      269.51
      5/16/2015   709   FT0004   Owner Operator   FUEL TAX                       March 2015-QC                      -14.26
      5/16/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                   10.58
      5/16/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                   31.68
      5/16/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/16/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD          29.52
      5/16/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 181953 73129                181.08
      5/16/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                8.75
      5/16/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                8.75
      5/16/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                8.75
      5/16/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                8.75
      5/16/2015   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                12.5
      5/16/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
      5/16/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
      5/16/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
      5/16/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
      5/16/2015   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.18
      5/16/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      408.49
      5/16/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      326.42
      5/16/2015   709   FV0001   Owner Operator   FUEL TAX                       March 2015-QC                       15.24
      5/16/2015   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                   100
      5/16/2015   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                   100
      5/16/2015   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                   100
      5/16/2015   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                   100
      5/16/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/16/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/16/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/16/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/16/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                82.04
      5/16/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                82.01
      5/16/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                82.04
      5/16/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                82.04
      5/16/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
      5/16/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL          8.75
      5/16/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
      5/16/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                          50
      5/16/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.1
      5/16/2015   709   GS0015   Owner Operator   FUEL TAX                       March 2015-QC                        0.14
      5/16/2015   709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                   10.58
      5/16/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                   31.68
      5/16/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/16/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD          39.07
      5/16/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 181953 Lease                252.11
      5/16/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL              8.75
      5/16/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                       13
      5/16/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      222.32
      5/16/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      460.37
      5/16/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      261.16
      5/16/2015   709   HG0007   Owner Operator   FUEL TAX                       March 2015-QC                      175.08
      5/16/2015   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                    100
      5/16/2015   709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment      254.11
      5/16/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/16/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD              15.63
      5/16/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                   8.75
      5/16/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                       13
      5/16/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          50
      5/16/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.25
      5/16/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.8
      5/16/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      273.96
      5/16/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      368.65
      5/16/2015   709   HG0027   Owner Operator   FUEL TAX                       March 2015-QC                       25.26
      5/16/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                    100
      5/16/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5

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      5/16/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      5/16/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      5/16/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/16/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.28
      5/16/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        360.5
      5/16/2015   709   IR0002   Owner Operator   FUEL TAX                       March 2015-QC                        91.59
      5/16/2015   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                     100
      5/16/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      5/16/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/16/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      5/16/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      5/16/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      5/16/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      5/16/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/16/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/16/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.41
      5/16/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/16/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.75
      5/16/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       436.68
      5/16/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       589.21
      5/16/2015   709   JC0292   Owner Operator   FUEL TAX                       March 2015-QC                       331.71
      5/16/2015   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                     100
      5/16/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      5/16/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      5/16/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/16/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      5/16/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      5/16/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/16/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/16/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.19
      5/16/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.33
      5/16/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       460.85
      5/16/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       485.17
      5/16/2015   709   JG0017   Owner Operator   FUEL TAX                       March 2015-QC                         14.3
      5/16/2015   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                     100
      5/16/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      5/16/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      5/16/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/16/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/16/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/16/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.31
      5/16/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/16/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.21
      5/16/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       419.41
      5/16/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       491.62
      5/16/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       493.68
      5/16/2015   709   JG0072   Owner Operator   FUEL TAX                       March 2015-QC                       216.78
      5/16/2015   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                     100
      5/16/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      5/16/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      5/16/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      5/16/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      5/16/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.54
      5/16/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.67
      5/16/2015   709   JQ0015   Owner Operator   FUEL TAX                       March 2015-QC                           10
      5/16/2015   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                     100
      5/16/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      5/16/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                    10.58
      5/16/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      5/16/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      5/16/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      5/16/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      5/16/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      5/16/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.92
      5/16/2015   709   JS0265   Owner Operator   FUEL TAX                       March 2015-QC                        -0.58
      5/16/2015   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                     100
      5/16/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      5/16/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      5/16/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      5/16/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/16/2015   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      5/16/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      5/16/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      5/16/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/16/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/16/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/16/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/16/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/16/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/16/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.36
      5/16/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.38
      5/16/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.25
      5/16/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         400
      5/16/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.48
      5/16/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.47
      5/16/2015   709   KP0004   Owner Operator   FUEL TAX                       March 2015-QC                       233.13
      5/16/2015   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                     100
      5/16/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      5/16/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/16/2015   709   KP0004   Owner Operator   Repair Order                   CTMS - 181744 Parts                 107.85
      5/16/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      5/16/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      5/16/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      5/16/2015   709   LL0160   Owner Operator   FUEL TAX                       March 2015-QC                       278.93
      5/16/2015   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                      100
      5/16/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      5/16/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      5/16/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      5/16/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         500
      5/16/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/16/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/16/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/16/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/16/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.34
      5/16/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.98
      5/16/2015   709   LS0023   Owner Operator   FUEL TAX                       March 2015-QC                        -0.14
      5/16/2015   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                    100
      5/16/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
      5/16/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      5/16/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      5/16/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.37
      5/16/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.53
      5/16/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      5/16/2015   709   MB0048   Owner Operator   Tire Purchase                  PO: 709-00319120 - PO System        812.43
      5/16/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      5/16/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 182076 Mexico Gafate           250
      5/16/2015   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                        13
      5/16/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-9         531.07
      5/16/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-9         531.07
      5/16/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-23       -101.6
      5/16/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.5
      5/16/2015   709   MG0067   Owner Operator   FUEL TAX                       March 2015-QC                        98.02
      5/16/2015   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                     100
      5/16/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      5/16/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      5/16/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/16/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      5/16/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/16/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/16/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        171.9
      5/16/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.14
      5/16/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      5/16/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19

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      5/16/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      5/16/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                      13
      5/16/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                       550
      5/16/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                        280
      5/16/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.8
      5/16/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                     608.48
      5/16/2015   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                   100
      5/16/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/16/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                  71.88
      5/16/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism          2.5
      5/16/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                     323.05
      5/16/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL          8.75
      5/16/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                      13
      5/16/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         50
      5/16/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                        100
      5/16/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      5/16/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     175.14
      5/16/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     350.43
      5/16/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     198.08
      5/16/2015   709   NB0029   Owner Operator   FUEL TAX                       March 2015-QC                      53.83
      5/16/2015   709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                  10.58
      5/16/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                  31.68
      5/16/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/16/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD          35.16
      5/16/2015   709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00318327 - PO System      221.81
      5/16/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 182083 Lease               215.66
      5/16/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL            8.75
      5/16/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                     13
      5/16/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                        160
      5/16/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.6
      5/16/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     203.01
      5/16/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     315.06
      5/16/2015   709   NG0005   Owner Operator   FUEL TAX                       March 2015-QC                       0.35
      5/16/2015   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                  100
      5/16/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/16/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD            32.98
      5/16/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
      5/16/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                       13
      5/16/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/16/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD          28.13
      5/16/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL             8.75
      5/16/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     297.04
      5/16/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     424.63
      5/16/2015   709   RC0030   Owner Operator   FUEL TAX                       March 2015-QC                     718.82
      5/16/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/16/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD             39.07
      5/16/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                 62.7
      5/16/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                31.67
      5/16/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      5/16/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                        500
      5/16/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                    5.09
      5/16/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     335.14
      5/16/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     283.98
      5/16/2015   709   RC0089   Owner Operator   FUEL TAX                       March 2015-QC                     -23.56
      5/16/2015   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                   100
      5/16/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/16/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              103.07
      5/16/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                     504.72
      5/16/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL         8.75
      5/16/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     437.38
      5/16/2015   709   RL0017   Owner Operator   FUEL TAX                       March 2015-QC                     -39.29
      5/16/2015   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                  100
      5/16/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/16/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD         45.32
      5/16/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      5/16/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                      13
      5/16/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      5/16/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      5/16/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                    1.11
      5/16/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                    1.14
      5/16/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     460.07
      5/16/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      487.3
      5/16/2015   709   RL0062   Owner Operator   FUEL TAX                       March 2015-QC                     169.04

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      5/16/2015   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                     100
      5/16/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      5/16/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      5/16/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      5/16/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
      5/16/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
      5/16/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.56
      5/16/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.65
      5/16/2015   709   RM0026   Owner Operator   FUEL TAX                       March 2015-QC                        95.09
      5/16/2015   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                    100
      5/16/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
      5/16/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
      5/16/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                    10.58
      5/16/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      5/16/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
      5/16/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/16/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      5/16/2015   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-9         294.38
      5/16/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.24
      5/16/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.27
      5/16/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.42
      5/16/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.55
      5/16/2015   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                     100
      5/16/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      5/16/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      5/16/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/16/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      5/16/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        325.5
      5/16/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        95.96
      5/16/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        374.9
      5/16/2015   709   SN0019   Owner Operator   FUEL TAX                       March 2015-QC                        98.79
      5/16/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      5/16/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      5/16/2015   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                  12.5
      5/16/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      5/16/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      5/16/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.82
      5/16/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        16.19
      5/16/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.33
      5/16/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.29
      5/16/2015   709   VB0015   Owner Operator   FUEL TAX                       March 2015-QC                        25.84
      5/16/2015   709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                    10.58
      5/16/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      5/16/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      5/16/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 181877 Tractor Sub leas      242.03
      5/16/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 182085 Tractor Sub leas      242.03
      5/16/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/16/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      5/16/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/16/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      5/16/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      5/16/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.47
      5/16/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.57
      5/16/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.53
      5/16/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.14
      5/16/2015   709   VJ0006   Owner Operator   FUEL TAX                       March 2015-QC                       162.95
      5/16/2015   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                     100
      5/16/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      5/16/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      5/16/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      5/16/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      5/16/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      5/16/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5

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      5/16/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      5/16/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      5/16/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/16/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
      5/16/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.17
      5/16/2015   742   AP0047   Owner Operator   FUEL TAX                       March 2015-QC                        42.19
      5/16/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      5/16/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      5/16/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                        101.22
      5/16/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/16/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.21
      5/16/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/16/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.89
      5/16/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.62
      5/16/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.39
      5/16/2015   742   BS0030   Owner Operator   FUEL TAX                       March 2015-QC                        56.21
      5/16/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                     100
      5/16/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                     100
      5/16/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      5/16/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      5/16/2015   742   BS0030   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      5/16/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                 8.75
      5/16/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      5/16/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      5/16/2015   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.17
      5/16/2015   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.16
      5/16/2015   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      5/16/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.94
      5/16/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       495.23
      5/16/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       587.66
      5/16/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.61
      5/16/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       556.19
      5/16/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                 24.61
      5/16/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD Terrorism         2.5
      5/16/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      5/16/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      5/16/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      5/16/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      5/16/2015   742   ED0041   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.37
      5/16/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       453.09
      5/16/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.84
      5/16/2015   742   ED0041   Owner Operator   FUEL TAX                       March 2015-QC                        67.81
      5/16/2015   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                     100
      5/16/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      5/16/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      5/16/2015   742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      5/16/2015   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      5/16/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.87
      5/16/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.87
      5/16/2015   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      5/16/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      5/16/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 181536 Truck Rental           565.9
      5/16/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 181755 Truck Rental           565.9
      5/16/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 181918 Truck rental cat      150.09
      5/16/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      5/16/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      5/16/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      5/16/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      5/16/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      5/16/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/16/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/16/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/16/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.18
      5/16/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/16/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.22
      5/16/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.91
      5/16/2015   742   LL0134   Owner Operator   FUEL TAX                       March 2015-QC                         0.09

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      5/16/2015   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                    24.75
      5/16/2015   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                     100
      5/16/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      5/16/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      5/16/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       448.66
      5/16/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      5/16/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      5/16/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       409.37
      5/16/2015   742   MH0117   Owner Operator   FUEL TAX                       March 2015-QC                        57.46
      5/16/2015   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                     100
      5/16/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      5/16/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      5/16/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      5/16/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      5/16/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.58
      5/16/2015   742   NG0024   Owner Operator   FUEL TAX                       March 2015-QC                        40.61
      5/16/2015   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                     100
      5/16/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      5/16/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      5/16/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 182053 repair                 253.6
      5/16/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 182053 repair                  100
      5/16/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/16/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/16/2015   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
      5/16/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      5/16/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      5/16/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/16/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/16/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/16/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/16/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.18
      5/16/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.15
      5/16/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.99
      5/16/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.66
      5/16/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.59
      5/16/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        262.7
      5/16/2015   742   PC0012   Owner Operator   FUEL TAX                       March 2015-QC                       147.97
      5/16/2015   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                     100
      5/16/2015   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                     100
      5/16/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      5/16/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      5/16/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      5/16/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      5/16/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      5/16/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      5/16/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      5/16/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      5/16/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.14
      5/16/2015   742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.16
      5/16/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.05
      5/16/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.15
      5/16/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.61
      5/16/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       471.44
      5/16/2015   742   RN0054   Owner Operator   FUEL TAX                       March 2015-QC                        20.59
      5/16/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                   10.58
      5/16/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      5/16/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      5/16/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      5/16/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 181535 Tractor Lease         353.28
      5/16/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 181754 Tractor Lease         353.28
      5/16/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 181917 Tractor Lease         353.28
      5/16/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      5/16/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      5/16/2015   821   DW0138   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.14
      5/16/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.03
      5/16/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.02

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      5/16/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.99
      5/16/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.58
      5/16/2015   821   DW0138   Owner Operator   FUEL TAX                       March 2015-QC                        36.47
      5/16/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2014 - 33443                    66.96
      5/16/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                     100
      5/16/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      5/16/2015   821   DW0138   Owner Operator   Tire Purchase                  PO: 821-00319344 - PO System        200.43
      5/16/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      5/16/2015   821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/16/2015   821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      5/16/2015   821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.3
      5/16/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.52
      5/16/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.44
      5/16/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       445.78
      5/16/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.48
      5/16/2015   821   JK0112   Owner Operator   FUEL TAX                       March 2015-QC                        56.48
      5/16/2015   821   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                     100
      5/16/2015   821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      5/16/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      5/16/2015   821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      5/16/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      5/16/2015   858   CS0091   Owner Operator   Charge back by affiliate       CTMS - 181943 Tractor Rental -       550.2
      5/16/2015   858   CS0091   Owner Operator   Charge back by affiliate       CTMS - 182059 Diesel Direct         916.93
      5/16/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      5/16/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   858   CS0091   Owner Operator   FUEL TAX                       March 2015-QC                        -0.18
      5/16/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
      5/16/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 181984 Tractor Rent            125
      5/16/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      5/16/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      5/16/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.6
      5/16/2015   858   JR0099   Owner Operator   FUEL TAX                       March 2015-QC                         3.88
      5/16/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      5/16/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 181983 Q1203                 278.76
      5/16/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      5/16/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      5/16/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/16/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.08
      5/16/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.09
      5/16/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.33
      5/16/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.97
      5/16/2015   858   RP0082   Owner Operator   FUEL TAX                       March 2015-QC                        10.02
      5/16/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/16/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      5/16/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 181984 Truck Lease           278.76
      5/23/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      5/23/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      5/23/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      5/23/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      5/23/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.06
      5/23/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                    100
      5/23/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      5/23/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
      5/23/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      5/23/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      5/23/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        8
      5/23/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/23/2015   709   AR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
      5/23/2015   709   AR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
      5/23/2015   709   AR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
      5/23/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.6
      5/23/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.17
      5/23/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       435.84
      5/23/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.14
      5/23/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2015 - q13147                   10.58
      5/23/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68

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      5/23/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      5/23/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 182213 Trck Lease            353.28
      5/23/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/23/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      5/23/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
      5/23/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       388.06
      5/23/2015   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                     100
      5/23/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
      5/23/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/23/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      5/23/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      5/23/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      5/23/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.28
      5/23/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.95
      5/23/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.53
      5/23/2015   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                     100
      5/23/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
      5/23/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      5/23/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                    10.58
      5/23/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      5/23/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      5/23/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      5/23/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/23/2015   709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.58
      5/23/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      5/23/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.86
      5/23/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      5/23/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 182149 Q1104                 252.11
      5/23/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
      5/23/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/23/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      5/23/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      5/23/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      5/23/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.34
      5/23/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.3
      5/23/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       509.66
      5/23/2015   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                     100
      5/23/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
      5/23/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      5/23/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      5/23/2015   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/23/2015   709   DS0225   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.12
      5/23/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.45
      5/23/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        12.12
      5/23/2015   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                     100
      5/23/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.51
      5/23/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/23/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      5/23/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/23/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/23/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/23/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
      5/23/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.51
      5/23/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.08
      5/23/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        39.81
      5/23/2015   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                     100
      5/23/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      5/23/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      5/23/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/23/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      5/23/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          400
      5/23/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      5/23/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.24
      5/23/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.03
      5/23/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.39
      5/23/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.34

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      5/23/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      400.79
      5/23/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      245.11
      5/23/2015   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                     100
      5/23/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/23/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.91
      5/23/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                      505.27
      5/23/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/23/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/23/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/23/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/23/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/23/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                       13
      5/23/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                       13
      5/23/2015   709   EH0020   Owner Operator   ESCROW                         Escrow Withdrawal                   -3200
      5/23/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/23/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/23/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/23/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/23/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/23/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.22
      5/23/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       95.73
      5/23/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      477.99
      5/23/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      366.37
      5/23/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      245.51
      5/23/2015   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                     100
      5/23/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/23/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93
      5/23/2015   709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00318381 - PO System        222.1
      5/23/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      532.24
      5/23/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL          8.75
      5/23/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                       13
      5/23/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                          50
      5/23/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           20
      5/23/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           40
      5/23/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.4
      5/23/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
      5/23/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.2
      5/23/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                   10.58
      5/23/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                   31.68
      5/23/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/23/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD          29.51
      5/23/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 182149 73129                181.08
      5/23/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                8.75
      5/23/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
      5/23/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      263.88
      5/23/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      212.33
      5/23/2015   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                    100
      5/23/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/23/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                82.01
      5/23/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
      5/23/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL          8.75
      5/23/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
      5/23/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                          50
      5/23/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      294.06
      5/23/2015   709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                   10.58
      5/23/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                   31.68
      5/23/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/23/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD          39.04
      5/23/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 182149 Lease                252.11
      5/23/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL              8.75
      5/23/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      404.41
      5/23/2015   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                     100
      5/23/2015   709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment      254.11
      5/23/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/23/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD              15.61
      5/23/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                   8.75
      5/23/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                       13
      5/23/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          50
      5/23/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/23/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      5/23/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.19
      5/23/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      491.75
      5/23/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.5

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      5/23/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        202.2
      5/23/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                      100
      5/23/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      5/23/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      5/23/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/23/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        376.1
      5/23/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.23
      5/23/2015   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                      100
      5/23/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      5/23/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/23/2015   709   IR0002   Owner Operator   Tire Fee                       Tire Fee: 1822475                       16
      5/23/2015   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00319867 - PO System        344.25
      5/23/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      5/23/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      5/23/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      5/23/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      5/23/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
      5/23/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/23/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/23/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/23/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.35
      5/23/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/23/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.15
      5/23/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.87
      5/23/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.93
      5/23/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       455.06
      5/23/2015   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                      100
      5/23/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
      5/23/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      5/23/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/23/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      5/23/2015   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1500
      5/23/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      5/23/2015   709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1500
      5/23/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      5/23/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/23/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.31
      5/23/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       427.79
      5/23/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.09
      5/23/2015   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                      100
      5/23/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      5/23/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      5/23/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/23/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      5/23/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      5/23/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/23/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      5/23/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/23/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      3.19
      5/23/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         29.7
      5/23/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       492.51
      5/23/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       477.46
      5/23/2015   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                      100
      5/23/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      5/23/2015   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00318325 - PO System        200.72
      5/23/2015   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00318325 - PO System        200.72
      5/23/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      5/23/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      5/23/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      5/23/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/23/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.14
      5/23/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.29
      5/23/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.33
      5/23/2015   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                      100
      5/23/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
      5/23/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                    10.58
      5/23/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68

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      5/23/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      5/23/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      5/23/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      5/23/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      5/23/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/23/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/23/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/23/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/23/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/23/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/23/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.36
      5/23/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.88
      5/23/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       472.19
      5/23/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.29
      5/23/2015   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                     100
      5/23/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.93
      5/23/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      5/23/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/23/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      5/23/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/23/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/23/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/23/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/23/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.33
      5/23/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.38
      5/23/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.48
      5/23/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.3
      5/23/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.87
      5/23/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
      5/23/2015   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                     100
      5/23/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      5/23/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/23/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      5/23/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      5/23/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      5/23/2015   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                      100
      5/23/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      5/23/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      5/23/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      5/23/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         500
      5/23/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/23/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/23/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       694.41
      5/23/2015   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                    100
      5/23/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.04
      5/23/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      5/23/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      5/23/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.93
      5/23/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.01
      5/23/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.73
      5/23/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.29
      5/23/2015   709   MB0048   Owner Operator   Tire Purchase                  PO: 709-00319120 - PO System        812.43
      5/23/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      5/23/2015   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                        13
      5/23/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-16         101.6
      5/23/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/23/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.23
      5/23/2015   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                     100
      5/23/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.15
      5/23/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      5/23/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/23/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      5/23/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/23/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/23/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.27
      5/23/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.99
      5/23/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.44

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      5/23/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.82
      5/23/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.11
      5/23/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      5/23/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      5/23/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      5/23/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         550
      5/23/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
      5/23/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      5/23/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.59
      5/23/2015   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                     100
      5/23/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.86
      5/23/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      5/23/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      5/23/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      5/23/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      5/23/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/23/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/23/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/23/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        360.1
      5/23/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.99
      5/23/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        72.96
      5/23/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.44
      5/23/2015   709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                    10.58
      5/23/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                    31.68
      5/23/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.15
      5/23/2015   709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00318327 - PO System        221.81
      5/23/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 182306 Lease                 215.66
      5/23/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      5/23/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      5/23/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          180
      5/23/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.8
      5/23/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.77
      5/23/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.9
      5/23/2015   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                    100
      5/23/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.97
      5/23/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL            8.75
      5/23/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
      5/23/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.11
      5/23/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      5/23/2015   709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-30      -224.92
      5/23/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.59
      5/23/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.15
      5/23/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.08
      5/23/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.04
      5/23/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  62.69
      5/23/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/23/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      5/23/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                      5.28
      5/23/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       584.95
      5/23/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.47
      5/23/2015   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                     100
      5/23/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.05
      5/23/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      5/23/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      5/23/2015   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-30      -797.11
      5/23/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       537.76
      5/23/2015   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                    100
      5/23/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.29
      5/23/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/23/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      5/23/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/23/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/23/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/23/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.14
      5/23/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.15

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      5/23/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.23
      5/23/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       482.31
      5/23/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       477.87
      5/23/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       525.43
      5/23/2015   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                     100
      5/23/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.13
      5/23/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      5/23/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.46
      5/23/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
      5/23/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
      5/23/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.52
      5/23/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.48
      5/23/2015   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                    100
      5/23/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.26
      5/23/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
      5/23/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                    10.58
      5/23/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      5/23/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
      5/23/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/23/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      5/23/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.37
      5/23/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.19
      5/23/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.36
      5/23/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.65
      5/23/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.83
      5/23/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.58
      5/23/2015   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                     100
      5/23/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      5/23/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      5/23/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/23/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      5/23/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/23/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        86.14
      5/23/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.61
      5/23/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        82.86
      5/23/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.32
      5/23/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        81.39
      5/23/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      5/23/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      5/23/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      5/23/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/23/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.6
      5/23/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         397
      5/23/2015   709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                    10.58
      5/23/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      5/23/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      5/23/2015   709   VB0015   Owner Operator   Tire Fee                       Tire Fee: 1821801                        4
      5/23/2015   709   VB0015   Owner Operator   Tire Purchase                  PO: 709-00319980 - PO System         30.01
      5/23/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 182308 Tractor Sub leas      242.03
      5/23/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/23/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                        192.05
      5/23/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      5/23/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      5/23/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/23/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.03
      5/23/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.22
      5/23/2015   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                     100
      5/23/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      5/23/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      5/23/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      5/23/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      5/23/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      5/23/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      5/23/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      5/23/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      5/23/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      5/23/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                           300
      5/23/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                         295.38
      5/23/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/23/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/23/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3.24
      5/23/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      5/23/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/23/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        372.77
      5/23/2015   709   WH0073   Owner Operator   FUEL TAX                       March 2015-QC                        194.19
      5/23/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                     10.58
      5/23/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                     10.58
      5/23/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                     31.68
      5/23/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                     31.68
      5/23/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/23/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/23/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD               65.69
      5/23/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD               65.71
      5/23/2015   742   BS0030   Owner Operator   Broker Pre Pass                32947 PrePass Device                   12.5
      5/23/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                         13
      5/23/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                         13
      5/23/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                         13
      5/23/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                          125
      5/23/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                          125
      5/23/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                          125
      5/23/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         198.78
      5/23/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/23/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/23/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/23/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.33
      5/23/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.44
      5/23/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         43.51
      5/23/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        408.78
      5/23/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.4
      5/23/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        503.07
      5/23/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        502.52
      5/23/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                      100
      5/23/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/23/2015   742   BS0030   Owner Operator   Tire Purchase                  PO: 742-00318526 - PO System          141.2
      5/23/2015   742   BS0030   Owner Operator   Tire Purchase                  PO: 742-00318526 - PO System         141.16
      5/23/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
      5/23/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2006 Freightliner NTL                  8.75
      5/23/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      5/23/2015   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.17
      5/23/2015   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.16
      5/23/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.07
      5/23/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        469.68
      5/23/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.89
      5/23/2015   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                      100
      5/23/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/23/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD                  24.61
      5/23/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2006 Freightliner PD Terrorism          2.5
      5/23/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.54
      5/23/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
      5/23/2015   742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL               8.75
      5/23/2015   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                         13
      5/23/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        199.75
      5/23/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.16
      5/23/2015   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/23/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD               24.61
      5/23/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror          2.5
      5/23/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 182126 Truck rental cat       150.09
      5/23/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 182133 Truck Payment        -1766.62
      5/23/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
      5/23/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                        13
      5/23/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.74
      5/23/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.68
      5/23/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
      5/23/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      5/23/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      5/23/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/23/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/23/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/23/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           100

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      5/23/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/23/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/23/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.17
      5/23/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/23/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       362.43
      5/23/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.14
      5/23/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.17
      5/23/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.97
      5/23/2015   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                     100
      5/23/2015   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                     100
      5/23/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      5/23/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      5/23/2015   742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00320287 - PO System         53.39
      5/23/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      5/23/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      5/23/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       105.83
      5/23/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      5/23/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      5/23/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/23/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.87
      5/23/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.97
      5/23/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.33
      5/23/2015   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                     100
      5/23/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.61
      5/23/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      5/23/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/23/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      5/23/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/23/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/23/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.28
      5/23/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        177.7
      5/23/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.43
      5/23/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       169.48
      5/23/2015   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                     100
      5/23/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      5/23/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
      5/23/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      5/23/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      5/23/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      5/23/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/23/2015   742   RN0054   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.32
      5/23/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       403.22
      5/23/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.66
      5/23/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       388.07
      5/23/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                   10.58
      5/23/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      5/23/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
      5/23/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      5/23/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 182126 Tractor Lease         353.28
      5/23/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      5/23/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      5/23/2015   821   DW0138   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.17
      5/23/2015   821   DW0138   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.22
      5/23/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.57
      5/23/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.5
      5/23/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.03
      5/23/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       444.17
      5/23/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                     100
      5/23/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
      5/23/2015   821   DW0138   Owner Operator   Tire Purchase                  PO: 821-00319344 - PO System        200.43
      5/23/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      5/23/2015   821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/23/2015   821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      5/23/2015   821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/23/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/23/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/23/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/23/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.27

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      5/23/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.31
      5/23/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/23/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/23/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/23/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.35
      5/23/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.73
      5/23/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.42
      5/23/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.17
      5/23/2015   821   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                     100
      5/23/2015   821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
      5/23/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      5/23/2015   821   JK0112   Owner Operator   Repair Order                   TRACTOR 33211                           16
      5/23/2015   821   JK0112   Owner Operator   Tire Fee                       Tire Fee: 1821805                        8
      5/23/2015   821   JK0112   Owner Operator   Tire Purchase                  PO: 821-00319696 - PO System        200.87
      5/23/2015   821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      5/23/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      5/23/2015   858   CS0091   Owner Operator   Charge back by affiliate       CTMS - 182239 Diesel Direct Fu      710.76
      5/23/2015   858   CS0091   Owner Operator   Charge back by affiliate       CTMS - 182239 Q1201 Rental           458.5
      5/23/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      5/23/2015   858   CS0091   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-30       -183.9
      5/23/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/23/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.43
      5/23/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 182212 Tractor Rent            125
      5/23/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      5/23/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      5/23/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/23/2015   858   JR0099   Owner Operator   Fuel Card Advances             Cash Advance                         19.61
      5/23/2015   858   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      5/23/2015   858   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.01
      5/23/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.88
      5/23/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.25
      5/23/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
      5/23/2015   858   JR0099   Owner Operator   Repair Order                   CTMS - 182114 Repair                242.54
      5/23/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 182211 Q1203                 278.76
      5/23/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      5/23/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      5/23/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/23/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/23/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.05
      5/23/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/23/2015   858   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.21
      5/23/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.69
      5/23/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.73
      5/23/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.93
      5/23/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/23/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
      5/23/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 182212 Truck Lease           278.76
      5/30/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      5/30/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/30/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/30/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.19
      5/30/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                    100
      5/30/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      5/30/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        8
      5/30/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/30/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.14
      5/30/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.22
      5/30/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.01
      5/30/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2015 - q13147                   10.58
      5/30/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      5/30/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 182400 Trck Lease            353.28
      5/30/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      5/30/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       548.89
      5/30/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       549.06
      5/30/2015   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                     100
      5/30/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      5/30/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      5/30/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       124.62
      5/30/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.28
      5/30/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.84

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      5/30/2015   709   CR0064   Owner Operator   IRP License Deduction   LCIL:2015 - 32864                    100
      5/30/2015   709   CR0064   Owner Operator   Tractor Charge          14267 - 32864                      245.63
      5/30/2015   709   CS0091   Owner Operator   Highway Use Tax         HUTC:2015 - 73130                   10.58
      5/30/2015   709   CS0091   Owner Operator   IRP License Deduction   LCIL:2015 - 73130                   31.68
      5/30/2015   709   DJ0028   Owner Operator   Communication Charge    PNet Hware q1104                       13
      5/30/2015   709   DJ0028   Owner Operator   ESCROW                  Weekly Escrow                          50
      5/30/2015   709   DJ0028   Owner Operator   Fuel Purchase           Fuel Purchase                       140.1
      5/30/2015   709   DJ0028   Owner Operator   Highway Use Tax         HUTC:2015 - Q1104                   10.58
      5/30/2015   709   DJ0028   Owner Operator   IRP License Deduction   LCIL:2015 - Q1104                   31.68
      5/30/2015   709   DJ0028   Owner Operator   Truck Payment           CTMS - 182363 Q1104                252.11
      5/30/2015   709   DS0049   Owner Operator   Communication Charge    PNet Hware 32915                       13
      5/30/2015   709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance                         500
      5/30/2015   709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance Fee                        5
      5/30/2015   709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                      221.55
      5/30/2015   709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                      457.79
      5/30/2015   709   DS0049   Owner Operator   IRP License Deduction   LCIL:2015 - 32915                    100
      5/30/2015   709   DS0049   Owner Operator   Tractor Charge          15738 - 32915                      512.35
      5/30/2015   709   DS0049   Owner Operator   US Legal Services       U.S. Legal Services                 32.95
      5/30/2015   709   DS0225   Owner Operator   ESCROW                  Weekly Escrow                          50
      5/30/2015   709   DS0225   Owner Operator   Fuel Purchase           Fuel Purchase                       188.2
      5/30/2015   709   DS0225   Owner Operator   Fuel Purchase           Fuel Purchase                      201.14
      5/30/2015   709   DS0225   Owner Operator   Fuel Purchase           Fuel Purchase                      529.89
      5/30/2015   709   DS0225   Owner Operator   IRP License Deduction   LCIL:2015 - 33320                    100
      5/30/2015   709   EA0003   Owner Operator   Communication Charge    PNet Hware 33051                       13
      5/30/2015   709   EA0003   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 6-6      -204.37
      5/30/2015   709   EA0003   Owner Operator   ESCROW                  Weekly Escrow                        250
      5/30/2015   709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                         200
      5/30/2015   709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
      5/30/2015   709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                      552.05
      5/30/2015   709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                      493.74
      5/30/2015   709   EA0003   Owner Operator   IRP License Deduction   LCIL:2015 - 33051                    100
      5/30/2015   709   EA0003   Owner Operator   Tractor Charge          16439 - 33051                      555.56
      5/30/2015   709   EE0011   Owner Operator   Communication Charge    PNet Hware 32910                       13
      5/30/2015   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance                         300
      5/30/2015   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance Fee                        3
      5/30/2015   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                      557.94
      5/30/2015   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                        405
      5/30/2015   709   EE0011   Owner Operator   IRP License Deduction   LCIL:2015 - 32910                    100
      5/30/2015   709   EE0011   Owner Operator   Tractor Charge          14619 - 32910                      505.27
      5/30/2015   709   EH0020   Owner Operator   BOBTAIL INS.            2014 Freightliner NTL                8.75
      5/30/2015   709   EH0020   Owner Operator   BOBTAIL INS.            2014 Freightliner NTL                8.75
      5/30/2015   709   EH0020   Owner Operator   BOBTAIL INS.            2014 Freightliner NTL                8.75
      5/30/2015   709   EH0020   Owner Operator   BOBTAIL INS.            2014 Freightliner NTL                8.75
      5/30/2015   709   EH0020   Owner Operator   BOBTAIL INS.            2014 Freightliner NTL                8.75
      5/30/2015   709   EH0020   Owner Operator   Communication Charge    PNet Hware 33065                       13
      5/30/2015   709   EH0020   Owner Operator   ESCROW                  Weekly Escrow                        250
      5/30/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance                         200
      5/30/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance                         100
      5/30/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance                         200
      5/30/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
      5/30/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
      5/30/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
      5/30/2015   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                      297.73
      5/30/2015   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                      350.84
      5/30/2015   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                      172.82
      5/30/2015   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                      394.84
      5/30/2015   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                      233.53
      5/30/2015   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                      223.07
      5/30/2015   709   EH0020   Owner Operator   IRP License Deduction   LCIL:2015 - 33065                    100
      5/30/2015   709   EH0020   Owner Operator   Tractor Charge          16433 - 33065                      532.24
      5/30/2015   709   FT0004   Owner Operator   Communication Charge    PNet Hware 73129                       13
      5/30/2015   709   FT0004   Owner Operator   ESCROW                  Weekly Escrow                          50
      5/30/2015   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance                           50
      5/30/2015   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                      0.5
      5/30/2015   709   FT0004   Owner Operator   Fuel Purchase           Fuel Purchase                      235.14
      5/30/2015   709   FT0004   Owner Operator   Fuel Purchase           Fuel Purchase                      218.84
      5/30/2015   709   FT0004   Owner Operator   Highway Use Tax         HUTC:2015 - 73129                   10.58
      5/30/2015   709   FT0004   Owner Operator   IRP License Deduction   LCIL:2015 - 73129                   31.68
      5/30/2015   709   FT0004   Owner Operator   Truck Payment           CTMS - 182363 73129                181.08
      5/30/2015   709   FV0001   Owner Operator   Communication Charge    PNet Hware 21521B                      13
      5/30/2015   709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                      424.67
      5/30/2015   709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                      453.33
      5/30/2015   709   FV0001   Owner Operator   IRP License Deduction   LCIL:2015 - 21521B                   100

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      5/30/2015   709   GS0015   Owner Operator   Communication Charge    PNet Hware Q1110                       13
      5/30/2015   709   GS0015   Owner Operator   ESCROW                  Weekly Escrow                          50
      5/30/2015   709   GS0015   Owner Operator   Fuel Purchase           Fuel Purchase                      327.84
      5/30/2015   709   GS0015   Owner Operator   Highway Use Tax         HUTC:2015 - Q1110                   10.58
      5/30/2015   709   GS0015   Owner Operator   IRP License Deduction   LCIL:2015 - Q1110                   31.68
      5/30/2015   709   GS0015   Owner Operator   Truck Payment           CTMS - 182363 Lease                252.11
      5/30/2015   709   HG0007   Owner Operator   Communication Charge    PNet Hware 33180                       13
      5/30/2015   709   HG0007   Owner Operator   Communication Charge    PNet Hware 33180                       13
      5/30/2015   709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                       90.12
      5/30/2015   709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                      573.07
      5/30/2015   709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                      200.97
      5/30/2015   709   HG0007   Owner Operator   IRP License Deduction   LCIL:2015 - 33180                    100
      5/30/2015   709   HG0007   Owner Operator   Loan Repayment          Loan # 00007 - Loan Repayment      254.11
      5/30/2015   709   HG0027   Owner Operator   Communication Charge    PNet Hware 33418                       13
      5/30/2015   709   HG0027   Owner Operator   ESCROW                  Weekly Escrow                          50
      5/30/2015   709   HG0027   Owner Operator   IRP License Deduction   LCIL:2015 - 33418                    100
      5/30/2015   709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                       28.04
      5/30/2015   709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                      302.78
      5/30/2015   709   IR0002   Owner Operator   IRP License Deduction   LCIL:2015 - 32901                    100
      5/30/2015   709   IR0002   Owner Operator   Tire Purchase           PO: 709-00319867 - PO System       344.25
      5/30/2015   709   IR0002   Owner Operator   Tractor Charge          14461 - 32901                      521.95
      5/30/2015   709   JC0292   Owner Operator   Communication Charge    PNet Hware q1210                       13
      5/30/2015   709   JC0292   Owner Operator   ESCROW                  Weekly Escrow                        200
      5/30/2015   709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                         300
      5/30/2015   709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                         200
      5/30/2015   709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
      5/30/2015   709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                        3
      5/30/2015   709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                      303.79
      5/30/2015   709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                      359.41
      5/30/2015   709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                      566.71
      5/30/2015   709   JC0292   Owner Operator   IRP License Deduction   LCIL:2015 - Q1210                    100
      5/30/2015   709   JC0292   Owner Operator   Tractor Charge          51362 - Q1210                      458.72
      5/30/2015   709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                       13
      5/30/2015   709   JG0017   Owner Operator   ESCROW                  Weekly Escrow                        500
      5/30/2015   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                         300
      5/30/2015   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                        3
      5/30/2015   709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                      369.16
      5/30/2015   709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                      359.42
      5/30/2015   709   JG0017   Owner Operator   IRP License Deduction   LCIL:2015 - 32908                    100
      5/30/2015   709   JG0017   Owner Operator   Tractor Charge          14298 - 32908                       504.6
      5/30/2015   709   JG0017   Owner Operator   US Legal Services       U.S. Legal Services                 32.95
      5/30/2015   709   JG0072   Owner Operator   Communication Charge    PNet Hware 32909                       13
      5/30/2015   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                         100
      5/30/2015   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                         200
      5/30/2015   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                         200
      5/30/2015   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
      5/30/2015   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
      5/30/2015   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
      5/30/2015   709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                      486.52
      5/30/2015   709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                      439.35
      5/30/2015   709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                       39.95
      5/30/2015   709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                      486.66
      5/30/2015   709   JG0072   Owner Operator   IRP License Deduction   LCIL:2015 - 32909                    100
      5/30/2015   709   JG0072   Owner Operator   Tire Purchase           PO: 709-00318325 - PO System       200.65
      5/30/2015   709   JG0072   Owner Operator   Tractor Charge          14534 - 32909                      513.26
      5/30/2015   709   JQ0015   Owner Operator   Communication Charge    PNet Hware 33438                       13
      5/30/2015   709   JQ0015   Owner Operator   ESCROW                  Weekly Escrow                          50
      5/30/2015   709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                      146.73
      5/30/2015   709   JQ0015   Owner Operator   IRP License Deduction   LCIL:2015 - 33438                    100
      5/30/2015   709   JR0099   Owner Operator   Highway Use Tax         HUTC:2015 - Q1203                   10.58
      5/30/2015   709   JR0099   Owner Operator   IRP License Deduction   LCIL:2015 - Q1203                   31.68
      5/30/2015   709   JS0265   Owner Operator   Communication Charge    PNet Hware 33325                       13
      5/30/2015   709   JS0265   Owner Operator   ESCROW                  Weekly Escrow                        100
      5/30/2015   709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                         200
      5/30/2015   709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
      5/30/2015   709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                      341.06
      5/30/2015   709   JS0265   Owner Operator   IRP License Deduction   LCIL:2015 - 33325                    100
      5/30/2015   709   KP0004   Owner Operator   Communication Charge    PNet Hware 32914                       13
      5/30/2015   709   KP0004   Owner Operator   ESCROW                  Weekly Escrow                        250
      5/30/2015   709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                         100
      5/30/2015   709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
      5/30/2015   709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                      286.42
      5/30/2015   709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                      557.49

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      5/30/2015   709   KP0004   Owner Operator   IRP License Deduction   LCIL:2015 - 32914                    100
      5/30/2015   709   KP0004   Owner Operator   Tractor Charge          14457 - 32914                      519.59
      5/30/2015   709   LL0160   Owner Operator   Communication Charge    PNet Hware 9590                        13
      5/30/2015   709   LL0160   Owner Operator   IRP License Deduction   LCIL:2015 - 9590                     100
      5/30/2015   709   LS0023   Owner Operator   Communication Charge    PNet Hware 21489A                      13
      5/30/2015   709   LS0023   Owner Operator   ESCROW                  Weekly Escrow                        500
      5/30/2015   709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance                         200
      5/30/2015   709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance                         200
      5/30/2015   709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
      5/30/2015   709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
      5/30/2015   709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                      216.27
      5/30/2015   709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                      611.89
      5/30/2015   709   LS0023   Owner Operator   IRP License Deduction   LCIL:2015 - 21489A                   100
      5/30/2015   709   MB0048   Owner Operator   Communication Charge    PNet Hware 21727b                      13
      5/30/2015   709   MB0048   Owner Operator   Fuel Purchase           Fuel Purchase                      159.13
      5/30/2015   709   MB0048   Owner Operator   Fuel Purchase           Fuel Purchase                      215.65
      5/30/2015   709   MB0048   Owner Operator   Fuel Purchase           Fuel Purchase                       250.3
      5/30/2015   709   MB0048   Owner Operator   Fuel Purchase           Fuel Purchase                      168.64
      5/30/2015   709   MB0048   Owner Operator   Tire Purchase           PO: 709-00319120 - PO System        812.4
      5/30/2015   709   MG0067   Owner Operator   Communication Charge    PNet Hware 33435                       13
      5/30/2015   709   MG0067   Owner Operator   ESCROW                  Weekly Escrow                          50
      5/30/2015   709   MG0067   Owner Operator   Fuel Purchase           Fuel Purchase                      305.02
      5/30/2015   709   MG0067   Owner Operator   IRP License Deduction   LCIL:2015 - 33435                    100
      5/30/2015   709   MM0093   Owner Operator   Communication Charge    PNet Hware 32931                       13
      5/30/2015   709   MM0093   Owner Operator   Fuel Card Advances      Cash Advance                         100
      5/30/2015   709   MM0093   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
      5/30/2015   709   MM0093   Owner Operator   Fuel Purchase           Fuel Purchase                      156.08
      5/30/2015   709   MM0093   Owner Operator   Fuel Purchase           Fuel Purchase                      276.84
      5/30/2015   709   MM0093   Owner Operator   Fuel Purchase           Fuel Purchase                      306.41
      5/30/2015   709   MM0093   Owner Operator   Tractor Charge          16434 - 32931                      337.19
      5/30/2015   709   MP0035   Owner Operator   Communication Charge    PNet Hware 32904                       13
      5/30/2015   709   MP0035   Owner Operator   ESCROW                  Weekly Escrow                        550
      5/30/2015   709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance                         280
      5/30/2015   709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance Fee                      2.8
      5/30/2015   709   MP0035   Owner Operator   Fuel Purchase           Fuel Purchase                      511.88
      5/30/2015   709   MP0035   Owner Operator   IRP License Deduction   LCIL:2015 - 32904                    100
      5/30/2015   709   MP0035   Owner Operator   Tractor Charge          15571 - 32904                      323.05
      5/30/2015   709   NB0029   Owner Operator   Communication Charge    PNet Hware Q1108                       13
      5/30/2015   709   NB0029   Owner Operator   ESCROW                  Weekly Escrow                          50
      5/30/2015   709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                      198.29
      5/30/2015   709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                      361.57
      5/30/2015   709   NB0029   Owner Operator   Highway Use Tax         HUTC:2015 - Q1108                   10.58
      5/30/2015   709   NB0029   Owner Operator   IRP License Deduction   LCIL:2015 - Q1108                   31.68
      5/30/2015   709   NB0029   Owner Operator   Tire Fee                Tire Fee: 1824139                       8
      5/30/2015   709   NB0029   Owner Operator   Tire Fee                Tire Fee: 1824141                       8
      5/30/2015   709   NB0029   Owner Operator   Tire Purchase           PO: 709-00318327 - PO System        95.65
      5/30/2015   709   NB0029   Owner Operator   Tire Purchase           PO: 709-00318327 - PO System      -221.79
      5/30/2015   709   NB0029   Owner Operator   Tire Purchase           PO: 709-00318327 - PO System       221.77
      5/30/2015   709   NB0029   Owner Operator   Truck Payment           CTMS - 182492 Lease                215.66
      5/30/2015   709   NB0029   Owner Operator   US Legal Services       U.S. Legal Services                 32.95
      5/30/2015   709   NG0005   Owner Operator   Communication Charge    PNet Hware 21412B                      13
      5/30/2015   709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                      110.08
      5/30/2015   709   NG0005   Owner Operator   IRP License Deduction   LCIL:2015 - 21412B                   100
      5/30/2015   709   NT9564   Owner Operator   Communication Charge    PNet Hware 9564                        13
      5/30/2015   709   RC0030   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 5-23       224.92
      5/30/2015   709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                      425.81
      5/30/2015   709   RC0089   Owner Operator   Fuel Card Advances      Cash Advance                         500
      5/30/2015   709   RC0089   Owner Operator   Fuel Card Advances      Cash Advance Fee                        5
      5/30/2015   709   RC0089   Owner Operator   Fuel Purchase           Fuel Purchase                      355.69
      5/30/2015   709   RC0089   Owner Operator   Fuel Purchase           Fuel Purchase                      348.77
      5/30/2015   709   RC0089   Owner Operator   IRP License Deduction   LCIL:2015 - 32986                    100
      5/30/2015   709   RC0089   Owner Operator   Tractor Charge          14592 - 32986                      504.72
      5/30/2015   709   RL0017   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 5-23       797.11
      5/30/2015   709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                       459.8
      5/30/2015   709   RL0017   Owner Operator   IRP License Deduction   LCIL:2015 - 21975A                   100
      5/30/2015   709   RL0062   Owner Operator   Communication Charge    PNet Hware 32912                       13
      5/30/2015   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                         100
      5/30/2015   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                         100
      5/30/2015   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
      5/30/2015   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
      5/30/2015   709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                       460.3
      5/30/2015   709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                      500.88
      5/30/2015   709   RL0062   Owner Operator   IRP License Deduction   LCIL:2015 - 32912                    100

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      5/30/2015   709   RL0062   Owner Operator   Tractor Charge             14460 - 32912                       512.16
      5/30/2015   709   RM0026   Owner Operator   Communication Charge       PNet Hware 30811A                       13
      5/30/2015   709   RM0026   Owner Operator   Fuel Purchase              Fuel Purchase                       267.47
      5/30/2015   709   RM0026   Owner Operator   Fuel Purchase              Fuel Purchase                       292.25
      5/30/2015   709   RM0026   Owner Operator   IRP License Deduction      LCIL:2015 - 30811A                    100
      5/30/2015   709   RM0026   Owner Operator   US Legal Services          U.S. Legal Services                  32.95
      5/30/2015   709   RP0082   Owner Operator   Highway Use Tax            HUTC:2015 - Q1202                    10.58
      5/30/2015   709   RP0082   Owner Operator   IRP License Deduction      LCIL:2015 - Q1202                    31.68
      5/30/2015   709   SB0009   Owner Operator   Communication Charge       PNet Hware 33236                        13
      5/30/2015   709   SB0009   Owner Operator   Fuel Card Advances         Cash Advance                          200
      5/30/2015   709   SB0009   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      5/30/2015   709   SB0009   Owner Operator   Fuel Purchase              Fuel Purchase                       237.51
      5/30/2015   709   SB0009   Owner Operator   Fuel Purchase              Fuel Purchase                       320.28
      5/30/2015   709   SB0009   Owner Operator   Fuel Purchase              Fuel Purchase                        329.9
      5/30/2015   709   SB0009   Owner Operator   Fuel Purchase              Fuel Purchase                       464.19
      5/30/2015   709   SB0009   Owner Operator   IRP License Deduction      LCIL:2015 - 33236                     100
      5/30/2015   709   SB0009   Owner Operator   Tractor Charge             19100 - 33236                       564.33
      5/30/2015   709   SN0019   Owner Operator   Communication Charge       PNet Hware 33461                        13
      5/30/2015   709   SN0019   Owner Operator   ESCROW                     Weekly Escrow                           50
      5/30/2015   709   SN0019   Owner Operator   Fuel Purchase              Fuel Purchase                       254.62
      5/30/2015   709   VB0015   Owner Operator   Communication Charge       PNet Hware Q1112                         8
      5/30/2015   709   VB0015   Owner Operator   ESCROW                     Weekly Escrow                           50
      5/30/2015   709   VB0015   Owner Operator   Fuel Purchase              Fuel Purchase                       334.02
      5/30/2015   709   VB0015   Owner Operator   Fuel Purchase              Fuel Purchase                         483
      5/30/2015   709   VB0015   Owner Operator   Highway Use Tax            HUTC:2015 - Q1112                    10.58
      5/30/2015   709   VB0015   Owner Operator   IRP License Deduction      LCIL:2015 - Q1112                    31.68
      5/30/2015   709   VB0015   Owner Operator   Tire Purchase              PO: 709-00319980 - PO System         30.01
      5/30/2015   709   VB0015   Owner Operator   Truck Payment              CTMS - 182495 Tractor Sub leas      242.03
      5/30/2015   709   VJ0006   Owner Operator   Communication Charge       PNet Hware 32945                        13
      5/30/2015   709   VJ0006   Owner Operator   Communication Charge       PNet Hware 32945                        13
      5/30/2015   709   VJ0006   Owner Operator   ESCROW                     Weekly Escrow                         200
      5/30/2015   709   VJ0006   Owner Operator   ESCROW                     Weekly Escrow                         200
      5/30/2015   709   VJ0006   Owner Operator   Fuel Card Advances         Cash Advance                          7.95
      5/30/2015   709   VJ0006   Owner Operator   Fuel Card Advances         Cash Advance                          200
      5/30/2015   709   VJ0006   Owner Operator   Fuel Card Advances         Cash Advance                          100
      5/30/2015   709   VJ0006   Owner Operator   Fuel Card Advances         Cash Advance Fee                         1
      5/30/2015   709   VJ0006   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      5/30/2015   709   VJ0006   Owner Operator   Fuel Purchase              Fuel Purchase                       225.21
      5/30/2015   709   VJ0006   Owner Operator   Fuel Purchase              Fuel Purchase                       223.83
      5/30/2015   709   VJ0006   Owner Operator   Fuel Purchase              Fuel Purchase                       294.39
      5/30/2015   709   VJ0006   Owner Operator   Fuel Purchase              Fuel Purchase                       201.24
      5/30/2015   709   VJ0006   Owner Operator   Fuel Purchase              Fuel Purchase                       174.75
      5/30/2015   709   VJ0006   Owner Operator   Fuel Purchase              Fuel Purchase                       212.18
      5/30/2015   709   VJ0006   Owner Operator   Fuel Purchase              Fuel Purchase                       100.03
      5/30/2015   709   VJ0006   Owner Operator   IRP License Deduction      LCIL:2015 - 32945                     100
      5/30/2015   709   VJ0006   Owner Operator   Repair Order               CTMS - 182114 Diesel Alley Inv      361.05
      5/30/2015   709   VJ0006   Owner Operator   Repair Order               CTMS - 182344 Repair                361.05
      5/30/2015   709   VJ0006   Owner Operator   Tractor Charge             16453 - 32945                        375.9
      5/30/2015   709   WB0062   Owner Operator   Charge back by affiliate   CTMS - 182484 Tractor Rental 3       275.1
      5/30/2015   709   WB0062   Owner Operator   Communication Charge       PNet Hware 33407                        13
      5/30/2015   709   WH0073   Owner Operator   Fuel Card Advances         Cash Advance                          4.62
      5/30/2015   709   WH0073   Owner Operator   Fuel Card Advances         Cash Advance                          200
      5/30/2015   709   WH0073   Owner Operator   Fuel Card Advances         Cash Advance                          300
      5/30/2015   709   WH0073   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      5/30/2015   709   WH0073   Owner Operator   Fuel Card Advances         Cash Advance Fee                         3
      5/30/2015   709   WH0073   Owner Operator   Fuel Purchase              Fuel Purchase                       143.51
      5/30/2015   709   WH0073   Owner Operator   Fuel Purchase              Fuel Purchase                       261.84
      5/30/2015   709   WH0073   Owner Operator   Fuel Purchase              Fuel Purchase                       426.77
      5/30/2015   709   WH0073   Owner Operator   Fuel Purchase              Fuel Purchase                       289.74
      5/30/2015   709   WH0073   Owner Operator   Highway Use Tax            HUTC:2015 - q1235                    10.58
      5/30/2015   709   WH0073   Owner Operator   IRP License Deduction      LCIL:2015 - Q1235                    31.68
      5/30/2015   709   WH0073   Owner Operator   Truck Payment              CTMS - 181952 Sub, Sub Lease        396.13
      5/30/2015   742   AP0047   Owner Operator   BOBTAIL INS.               V558374 2012 Volvo NTL                8.75
      5/30/2015   742   AP0047   Owner Operator   Communication Charge       PNet Hware 32604                        13
      5/30/2015   742   AP0047   Owner Operator   Communication Charge       PNet Hware 32604                        13
      5/30/2015   742   AP0047   Owner Operator   Fuel Card Advances         Cash Advance                          100
      5/30/2015   742   AP0047   Owner Operator   Fuel Card Advances         Cash Advance                          100
      5/30/2015   742   AP0047   Owner Operator   Fuel Card Advances         Cash Advance Fee                         1
      5/30/2015   742   AP0047   Owner Operator   Fuel Card Advances         Cash Advance Fee                         1
      5/30/2015   742   AP0047   Owner Operator   Fuel Purchase              Fuel Purchase                       248.75
      5/30/2015   742   AP0047   Owner Operator   Fuel Purchase              Fuel Purchase                       201.09
      5/30/2015   742   AP0047   Owner Operator   Fuel Purchase              Fuel Purchase                       466.42
      5/30/2015   742   AP0047   Owner Operator   Fuel Purchase              Fuel Purchase                       205.48

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      5/30/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/30/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.25
      5/30/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      5/30/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      5/30/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      5/30/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/30/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/30/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/30/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/30/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        283.7
      5/30/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.73
      5/30/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.25
      5/30/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                     100
      5/30/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      5/30/2015   742   BS0030   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      5/30/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      5/30/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      5/30/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       478.05
      5/30/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        92.59
      5/30/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       488.35
      5/30/2015   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                     100
      5/30/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      5/30/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      5/30/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      5/30/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.42
      5/30/2015   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                     100
      5/30/2015   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                     100
      5/30/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/30/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
      5/30/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      5/30/2015   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      5/30/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        293.2
      5/30/2015   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       413.13
      5/30/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 182356 Truck rental cat      150.09
      5/30/2015   742   EN0016   Owner Operator   Truck Payment                  CTMS - 182480 Truck Overpaymen      -150.9
      5/30/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      5/30/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      5/30/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      5/30/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      5/30/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      5/30/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      5/30/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/30/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/30/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/30/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/30/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.34
      5/30/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.15
      5/30/2015   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                     100
      5/30/2015   742   LL0134   Owner Operator   Tire Fee                       Tire Fee: 1821941                        8
      5/30/2015   742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00320287 - PO System         130.5
      5/30/2015   742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00320287 - PO System        183.89
      5/30/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      5/30/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      5/30/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/30/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.9
      5/30/2015   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                     100
      5/30/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      5/30/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      5/30/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      5/30/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/30/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/30/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/30/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
      5/30/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/30/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       496.35
      5/30/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       483.95
      5/30/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.69
      5/30/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       733.31
      5/30/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.14
      5/30/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.63
      5/30/2015   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                     100
      5/30/2015   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                     100
      5/30/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      5/30/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
      5/30/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      5/30/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 182205 repair                  100
      5/30/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 182481 repair                  100
      5/30/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/30/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/30/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.24
      5/30/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.71
      5/30/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        22.59
      5/30/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.42
      5/30/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.35
      5/30/2015   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                     100
      5/30/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      5/30/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      5/30/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/30/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.87
      5/30/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.12
      5/30/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.26
      5/30/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.89
      5/30/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       405.97
      5/30/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                   10.58
      5/30/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      5/30/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 182356 Tractor Lease         353.28
      5/30/2015   821   DW0138   Owner Operator   Charge back by affiliate       CTMS - 182455 truck wash                45
      5/30/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      5/30/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      5/30/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.52
      5/30/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       417.26
      5/30/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.29
      5/30/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                     100
      5/30/2015   821   DW0138   Owner Operator   T Chek Fee                     ExpressCheck Fee                      8.45
      5/30/2015   821   DW0138   Owner Operator   T Chek Fee                     Tractor Repair 33443                845.41
      5/30/2015   821   DW0138   Owner Operator   Tire Purchase                  PO: 821-00319344 - PO System        200.38
      5/30/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      5/30/2015   821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      5/30/2015   821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/30/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/30/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/30/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/30/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/30/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        70.19
      5/30/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.87
      5/30/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.17
      5/30/2015   821   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                     100
      5/30/2015   821   JK0112   Owner Operator   Tire Purchase                  PO: 821-00319696 - PO System        200.87
      5/30/2015   821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      5/30/2015   858   CS0091   Owner Operator   Charge back by affiliate       CTMS - 182468 Q1201 Truck Rent       458.5
      5/30/2015   858   CS0091   Owner Operator   Charge back by affiliate       CTMS - 182469 Fuel                    447
      5/30/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      5/30/2015   858   CS0091   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-23         183.9
      5/30/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/30/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 182399 Tractor Rent            125
      5/30/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      5/30/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/30/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.1
      5/30/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.04
      5/30/2015   858   JR0099   Owner Operator   Repair Order                   CTMS - 182344 Repair                242.54
      5/30/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 182399 Q1203                 278.76
      5/30/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      5/30/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/30/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.39
      5/30/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       372.66
      5/30/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 182399 Truck Lease           278.76
       6/6/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
       6/6/2015   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
       6/6/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
       6/6/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
       6/6/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       6/6/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       489.73
       6/6/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                    100
       6/6/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
       6/6/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       6/6/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82

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      6/6/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      6/6/2015    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      6/6/2015    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
      6/6/2015    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        8
      6/6/2015    709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/6/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.59
      6/6/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.98
      6/6/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.93
      6/6/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       455.35
      6/6/2015    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2015 - q13147                   10.58
      6/6/2015    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      6/6/2015    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      6/6/2015    709   AR0064   Owner Operator   Truck Payment                  CTMS - 182633 Trck Lease            353.28
      6/6/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/6/2015    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      6/6/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      6/6/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       525.28
      6/6/2015    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                     100
      6/6/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      6/6/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/6/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      6/6/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      6/6/2015    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
      6/6/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      6/6/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.42
      6/6/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        73.52
      6/6/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.66
      6/6/2015    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                     100
      6/6/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      6/6/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      6/6/2015    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                    10.58
      6/6/2015    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      6/6/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      6/6/2015    709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                  12.5
      6/6/2015    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      6/6/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/6/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.58
      6/6/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      6/6/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      6/6/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      6/6/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 182581 Q1104                 252.11
      6/6/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      6/6/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              6.42
      6/6/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      6/6/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      6/6/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      6/6/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      6/6/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      6/6/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      6/6/2015    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5
      6/6/2015    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5
      6/6/2015    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5
      6/6/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/6/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/6/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/6/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/6/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/6/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/6/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/6/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/6/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/6/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/6/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/6/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/6/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/6/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/6/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                        22.06
      6/6/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/6/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50

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      6/6/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                          50
      6/6/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                         300
      6/6/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/6/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/6/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
      6/6/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      278.38
      6/6/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      115.68
      6/6/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      607.44
      6/6/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      280.01
      6/6/2015    709   DL0107   Owner Operator   FUEL TAX                       February 2015-QC                   333.39
      6/6/2015    709   DL0107   Owner Operator   FUEL TAX                       March 2015-QC                      300.75
      6/6/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                   10.58
      6/6/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                   10.58
      6/6/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                   10.58
      6/6/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                   10.58
      6/6/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                   10.58
      6/6/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                   10.58
      6/6/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                   10.58
      6/6/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                   10.58
      6/6/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                   31.68
      6/6/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                   31.68
      6/6/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                   31.68
      6/6/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                   31.68
      6/6/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                   31.68
      6/6/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                   31.68
      6/6/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                   31.68
      6/6/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                   31.68
      6/6/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              6.81
      6/6/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
      6/6/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
      6/6/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.69
      6/6/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.69
      6/6/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
      6/6/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
      6/6/2015    709   DL0107   Owner Operator   Tire Fee                       Tire Fee: 1813567                       4
      6/6/2015    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00318096 - PO System       264.75
      6/6/2015    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00318096 - PO System       264.75
      6/6/2015    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00318096 - PO System       264.71
      6/6/2015    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00318096 - PO System       264.75
      6/6/2015    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00318096 - PO System       264.75
      6/6/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 182541 Sublease             338.99
      6/6/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.38
      6/6/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/6/2015    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                 12.5
      6/6/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
      6/6/2015    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-13      -55.68
      6/6/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                         500
      6/6/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      6/6/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      440.19
      6/6/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      259.71
      6/6/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      460.51
      6/6/2015    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                    100
      6/6/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.35
      6/6/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
      6/6/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
      6/6/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          50
      6/6/2015    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                    100
      6/6/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   19.54
      6/6/2015    709   DS0225   Owner Operator   Truck Payment                  CTMS - 182535 tractor rental         640
      6/6/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/6/2015    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                 12.5
      6/6/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
      6/6/2015    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-30       204.37
      6/6/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        250

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      6/6/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/6/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/6/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      237.27
      6/6/2015    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                    100
      6/6/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
      6/6/2015    709   EA0003   Owner Operator   Tire Fee                       Tire Fee: 1825312                       8
      6/6/2015    709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00320702 - PO System       223.07
      6/6/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
      6/6/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/6/2015    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                 12.5
      6/6/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                       13
      6/6/2015    709   EE0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-13      -20.97
      6/6/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         500
      6/6/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      6/6/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      248.89
      6/6/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      299.86
      6/6/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      163.06
      6/6/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      429.88
      6/6/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      535.33
      6/6/2015    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                    100
      6/6/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.92
      6/6/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                      505.27
      6/6/2015    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/6/2015    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/6/2015    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/6/2015    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/6/2015    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/6/2015    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/6/2015    709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                 12.5
      6/6/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                       13
      6/6/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        250
      6/6/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         100
      6/6/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/6/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/6/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/6/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/6/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      6/6/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      208.98
      6/6/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      288.53
      6/6/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      178.15
      6/6/2015    709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                    100
      6/6/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.01
      6/6/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      532.24
      6/6/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL          8.75
      6/6/2015    709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                 12.5
      6/6/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                       13
      6/6/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                          50
      6/6/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           70
      6/6/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           80
      6/6/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
      6/6/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      6/6/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.8
      6/6/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.7
      6/6/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      303.43
      6/6/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      178.31
      6/6/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                   10.58
      6/6/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                   31.68
      6/6/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD          29.52
      6/6/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 182581 73129                181.08
      6/6/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                8.75
      6/6/2015    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                12.5
      6/6/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
      6/6/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      387.16
      6/6/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      332.75
      6/6/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      232.57
      6/6/2015    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                   100
      6/6/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                82.04
      6/6/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75

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      6/6/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      6/6/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      6/6/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/6/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.78
      6/6/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                    10.58
      6/6/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                    31.68
      6/6/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      6/6/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 182581 Lease                 252.11
      6/6/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      6/6/2015    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      6/6/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      6/6/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/6/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/6/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/6/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/6/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       501.12
      6/6/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       469.86
      6/6/2015    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                     100
      6/6/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       254.11
      6/6/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      6/6/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      6/6/2015    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      6/6/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      6/6/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/6/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/6/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/6/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.14
      6/6/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.57
      6/6/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        61.04
      6/6/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.43
      6/6/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.54
      6/6/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        92.89
      6/6/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.35
      6/6/2015    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                     100
      6/6/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      6/6/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      6/6/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/6/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.32
      6/6/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       406.17
      6/6/2015    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                     100
      6/6/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      6/6/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/6/2015    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00319867 - PO System        344.25
      6/6/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      6/6/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      6/6/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      6/6/2015    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      6/6/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      6/6/2015    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/6/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/6/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/6/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/6/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/6/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.47
      6/6/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       537.34
      6/6/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       515.63
      6/6/2015    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                     100
      6/6/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      6/6/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      6/6/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/6/2015    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      6/6/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      6/6/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      6/6/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/6/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/6/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/6/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/6/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       433.91

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      6/6/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        541.35
      6/6/2015    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                       100
      6/6/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/6/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      6/6/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      6/6/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/6/2015    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                   12.5
      6/6/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      6/6/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/6/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/6/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/6/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      6/6/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        498.27
      6/6/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        463.62
      6/6/2015    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                       100
      6/6/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/6/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      6/6/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      6/6/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      6/6/2015    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                   12.5
      6/6/2015    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      6/6/2015    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/6/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        120.01
      6/6/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        159.21
      6/6/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.5
      6/6/2015    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                       100
      6/6/2015    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/6/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      6/6/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                     10.58
      6/6/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
      6/6/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      6/6/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      6/6/2015    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                   12.5
      6/6/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      6/6/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/6/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/6/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/6/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/6/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/6/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        137.68
      6/6/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                           383
      6/6/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        466.24
      6/6/2015    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                       100
      6/6/2015    709   JS0265   Owner Operator   Miscellaneous                  void chk 956255                    -4896.86
      6/6/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/6/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      6/6/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      6/6/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/6/2015    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
      6/6/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      6/6/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/6/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/6/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/6/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.5
      6/6/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.33
      6/6/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.5
      6/6/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        152.52
      6/6/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        470.51
      6/6/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        176.31
      6/6/2015    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                       100
      6/6/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/6/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      6/6/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      6/6/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      6/6/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
      6/6/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
      6/6/2015    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                        100
      6/6/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/6/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
      6/6/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      6/6/2015    709   LS0023   Owner Operator   Broker Pre Pass                21489A PrePass Device                  12.5
      6/6/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                        13
      6/6/2015    709   LS0023   Owner Operator   ESCROW                         Escrow Withdrawal                     -4000

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      6/6/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                        650
      6/6/2015    709   LS0023   Owner Operator   Express Check                  T-Check Payment                     4000
      6/6/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/6/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/6/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                      367.14
      6/6/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                      185.58
      6/6/2015    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                   100
      6/6/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                    39.07
      6/6/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                   8.75
      6/6/2015    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                12.5
      6/6/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                      13
      6/6/2015    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                         100
      6/6/2015    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      6/6/2015    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                      162.54
      6/6/2015    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                      186.06
      6/6/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                   70.32
      6/6/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
      6/6/2015    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                       13
      6/6/2015    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                          50
      6/6/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                      453.02
      6/6/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        385
      6/6/2015    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                    100
      6/6/2015    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       35.16
      6/6/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
      6/6/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
      6/6/2015    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                 12.5
      6/6/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       13
      6/6/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/6/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/6/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      226.33
      6/6/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      306.89
      6/6/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                53.13
      6/6/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                      337.19
      6/6/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
      6/6/2015    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                 12.5
      6/6/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
      6/6/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        550
      6/6/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                         280
      6/6/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.8
      6/6/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                      383.91
      6/6/2015    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                    100
      6/6/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   71.88
      6/6/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
      6/6/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                      323.05
      6/6/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           8.75
      6/6/2015    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                 12.5
      6/6/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
      6/6/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          50
      6/6/2015    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                         400
      6/6/2015    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                        4
      6/6/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      428.75
      6/6/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      396.13
      6/6/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                   10.58
      6/6/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                   31.68
      6/6/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/6/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD           35.16
      6/6/2015    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00318327 - PO System        95.65
      6/6/2015    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00318327 - PO System      -221.79
      6/6/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 182718 Lease                215.66
      6/6/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
      6/6/2015    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                12.5
      6/6/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
      6/6/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                         130
      6/6/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                         160
      6/6/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.6
      6/6/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.3
      6/6/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       101.1
      6/6/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        325

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      6/6/2015    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                 100
      6/6/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      6/6/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD           32.98
      6/6/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL         8.75
      6/6/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                      13
      6/6/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      6/6/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD         28.13
      6/6/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL            8.75
      6/6/2015    709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance                       100
      6/6/2015    709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      6/6/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                    255.28
      6/6/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                    249.37
      6/6/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                    474.61
      6/6/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      6/6/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD            39.07
      6/6/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                62.7
      6/6/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      6/6/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                       500
      6/6/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                      5
      6/6/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                    263.81
      6/6/2015    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                  100
      6/6/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      6/6/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             103.07
      6/6/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                    504.72
      6/6/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL        8.75
      6/6/2015    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device              12.5
      6/6/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    486.12
      6/6/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    278.86
      6/6/2015    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                 100
      6/6/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      6/6/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD        45.32
      6/6/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      6/6/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                     13
      6/6/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       100
      6/6/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       200
      6/6/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      6/6/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      6/6/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                    480.77
      6/6/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                    469.74
      6/6/2015    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                  100
      6/6/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      6/6/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              93.15
      6/6/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                    512.16
      6/6/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                               27.48
      6/6/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                  8.75
      6/6/2015    709   RM0026   Owner Operator   Broker Pre Pass                30811A PrePass Device              12.5
      6/6/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                    13
      6/6/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                    316.74
      6/6/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                    364.38
      6/6/2015    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                 100
      6/6/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      6/6/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                  13.29
      6/6/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism          2.5
      6/6/2015    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                 10.58
      6/6/2015    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                 31.68
      6/6/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL              8.75
      6/6/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                    289.66
      6/6/2015    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                  100
      6/6/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      6/6/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD             100.98
      6/6/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                    140.88
      6/6/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL              8.75
      6/6/2015    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                     13
      6/6/2015    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                        50
      6/6/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                     88.15
      6/6/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                    361.22
      6/6/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                      95.6
      6/6/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                    344.57
      6/6/2015    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      6/6/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD              42.97
      6/6/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL        8.75
      6/6/2015    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device               12.5
      6/6/2015    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                      8

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      6/6/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/6/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         410
      6/6/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         320
      6/6/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.59
      6/6/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                    10.58
      6/6/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      6/6/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      6/6/2015    709   VB0015   Owner Operator   Tire Purchase                  PO: 709-00319980 - PO System         30.01
      6/6/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 182720 Tractor Sub leas      242.03
      6/6/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/6/2015    709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
      6/6/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      6/6/2015    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/6/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/6/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/6/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.34
      6/6/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.05
      6/6/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.13
      6/6/2015    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                     100
      6/6/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      6/6/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      6/6/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      6/6/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      6/6/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      6/6/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      6/6/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      6/6/2015    709   WH0073   Owner Operator   Broker Pre Pass                Q1235 PrePass Device                  12.5
      6/6/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      6/6/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      6/6/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      6/6/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      6/6/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/6/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/6/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/6/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/6/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.83
      6/6/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        83.76
      6/6/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       383.01
      6/6/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.64
      6/6/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                         382
      6/6/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                    10.58
      6/6/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      6/6/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
      6/6/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 182148 Sub, Sub Lease        396.13
      6/6/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 182362 Sub, Sub Lease        396.13
      6/6/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 182580 Sub, Sub Lease        396.13
      6/6/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      6/6/2015    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      6/6/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      6/6/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/6/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/6/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/6/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/6/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/6/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/6/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/6/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/6/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.94
      6/6/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       477.94
      6/6/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       419.96
      6/6/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.95
      6/6/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       501.15
      6/6/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.37
      6/6/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      6/6/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      6/6/2015    742   BS0030   Owner Operator   Broker Pre Pass                32947 PrePass Device                  12.5
      6/6/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      6/6/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125

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      6/6/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/6/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/6/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/6/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/6/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        109.41
      6/6/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.19
      6/6/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        361.29
      6/6/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.1
      6/6/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        344.45
      6/6/2015    742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                      100
      6/6/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/6/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
      6/6/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      6/6/2015    742   BS0078   Owner Operator   Broker Pre Pass                32665 PrePass Device                   12.5
      6/6/2015    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
      6/6/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        327.11
      6/6/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        297.54
      6/6/2015    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                      100
      6/6/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/6/2015    742   BS0078   Owner Operator   Permits                        NM07:2015 - 33471                       5.5
      6/6/2015    742   BS0078   Owner Operator   Permits                        NY13:2015 - 33471                        19
      6/6/2015    742   BS0078   Owner Operator   Permits                        OR16:2015 - 33471                         8
      6/6/2015    742   BS0078   Owner Operator   Permits                        OR16:2015 - 33471                         8
      6/6/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.55
      6/6/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
      6/6/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
      6/6/2015    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                   12.5
      6/6/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
      6/6/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.3
      6/6/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.88
      6/6/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.81
      6/6/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.36
      6/6/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        459.86
      6/6/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        428.94
      6/6/2015    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                      100
      6/6/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/6/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.36
      6/6/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
      6/6/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.09
      6/6/2015    742   EN0016   Owner Operator   Truck Payment                  CTMS - 182614 Truck Payment Re      -150.09
      6/6/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
      6/6/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                        13
      6/6/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      6/6/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.69
      6/6/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
      6/6/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      6/6/2015    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                         13
      6/6/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/6/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/6/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/6/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/6/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/6/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/6/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        369.03
      6/6/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        358.13
      6/6/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        359.77
      6/6/2015    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                      100
      6/6/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/6/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      6/6/2015    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00320287 - PO System         183.89
      6/6/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        554.49
      6/6/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      6/6/2015    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                   12.5
      6/6/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                         13
      6/6/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/6/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.9
      6/6/2015    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                      100
      6/6/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/6/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         65.63
      6/6/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      6/6/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL            8.75
      6/6/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        179.96
      6/6/2015    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                      100

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      6/6/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      6/6/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      6/6/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 182686 repair                  100
      6/6/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/6/2015    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
      6/6/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      6/6/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      6/6/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/6/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/6/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/6/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/6/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.67
      6/6/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.19
      6/6/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.01
      6/6/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.99
      6/6/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       134.47
      6/6/2015    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                     100
      6/6/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      6/6/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      6/6/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      6/6/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      6/6/2015    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
      6/6/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      6/6/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/6/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       425.49
      6/6/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                   10.58
      6/6/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      6/6/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      6/6/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      6/6/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 182545 Tractor Lease         353.28
      6/6/2015    821   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  12.5
      6/6/2015    821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      6/6/2015    821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      6/6/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.81
      6/6/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.91
      6/6/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        27.99
      6/6/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                           30
      6/6/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.99
      6/6/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.26
      6/6/2015    821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                     100
      6/6/2015    821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      6/6/2015    821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      6/6/2015    821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      6/6/2015    821   JK0112   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-13        -43.4
      6/6/2015    821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.31
      6/6/2015    821   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                     100
      6/6/2015    821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      6/6/2015    821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      6/6/2015    821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      6/6/2015    858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      6/6/2015    858   CS0091   Owner Operator   Broker Pre Pass                73130 PrePass Device                  12.5
      6/6/2015    858   CS0091   Owner Operator   Charge back by affiliate       CTMS - 182653 Tractor Q1201 Re       458.5
      6/6/2015    858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      6/6/2015    858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/6/2015    858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.35
      6/6/2015    858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
      6/6/2015    858   CS0091   Owner Operator   Truck Payment                  CTMS - 182632 Tractor Rent            125
      6/6/2015    858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      6/6/2015    858   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
      6/6/2015    858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      6/6/2015    858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/6/2015    858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.5
      6/6/2015    858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.62
      6/6/2015    858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/6/2015    858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      6/6/2015    858   JR0099   Owner Operator   Repair Order                   CTMS - 182565 Repair                242.54
      6/6/2015    858   JR0099   Owner Operator   Truck Payment                  CTMS - 182631 Q1203                 278.76
      6/6/2015    858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75

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       6/6/2015   858   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                  12.5
       6/6/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
       6/6/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
       6/6/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.96
       6/6/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.37
       6/6/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       6/6/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
       6/6/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 182632 Truck Lease           278.76
      6/13/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      6/13/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      6/13/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/13/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/13/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.26
      6/13/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                    100
      6/13/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      6/13/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      6/13/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      6/13/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      6/13/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      6/13/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.96
      6/13/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.55
      6/13/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.02
      6/13/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2015 - q13147                   10.58
      6/13/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      6/13/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      6/13/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 182843 Trck Lease            353.28
      6/13/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/13/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      6/13/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/13/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/13/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       462.82
      6/13/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       436.44
      6/13/2015   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                     100
      6/13/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      6/13/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/13/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      6/13/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      6/13/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      6/13/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/13/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/13/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.04
      6/13/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        75.05
      6/13/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.59
      6/13/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.95
      6/13/2015   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                     100
      6/13/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      6/13/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      6/13/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                    10.58
      6/13/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      6/13/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      6/13/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      6/13/2015   709   DJ0028   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -50
      6/13/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/13/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/13/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.78
      6/13/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.52
      6/13/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.92
      6/13/2015   709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.58
      6/13/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      6/13/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      6/13/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      6/13/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 182807 Q1104                 252.11
      6/13/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      6/13/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/13/2015   709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                        27.94

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      6/13/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/13/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                         300
      6/13/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
      6/13/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/13/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      403.99
      6/13/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      460.97
      6/13/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      574.64
      6/13/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                   10.58
      6/13/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                   31.68
      6/13/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/13/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
      6/13/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 182763 Sublease             338.99
      6/13/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.38
      6/13/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/13/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
      6/13/2015   709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-6         55.68
      6/13/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      282.55
      6/13/2015   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                    100
      6/13/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/13/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.35
      6/13/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
      6/13/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
      6/13/2015   709   DS0225   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev           -50
      6/13/2015   709   DS0225   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev           -50
      6/13/2015   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          50
      6/13/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        2.89
      6/13/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      307.29
      6/13/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      432.65
      6/13/2015   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                    100
      6/13/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/13/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   19.54
      6/13/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/13/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
      6/13/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        250
      6/13/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/13/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/13/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/13/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/13/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      453.88
      6/13/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       479.9
      6/13/2015   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                    100
      6/13/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/13/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
      6/13/2015   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00320702 - PO System       223.07
      6/13/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
      6/13/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/13/2015   709   EE0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-6         20.97
      6/13/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         500
      6/13/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      6/13/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      339.77
      6/13/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      320.63
      6/13/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      344.81
      6/13/2015   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                    100
      6/13/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/13/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.92
      6/13/2015   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00317737 - PO System       319.18
      6/13/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                      505.27
      6/13/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/13/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/13/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/13/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/13/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/13/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/13/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                       13
      6/13/2015   709   EH0020   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-20      -67.28
      6/13/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        250
      6/13/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/13/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/13/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         100
      6/13/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      6/13/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/13/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/13/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      319.77

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      6/13/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.56
      6/13/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.04
      6/13/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.32
      6/13/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        30.15
      6/13/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.45
      6/13/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.18
      6/13/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.44
      6/13/2015   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                     100
      6/13/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      6/13/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      6/13/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      6/13/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      6/13/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.83
      6/13/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.23
      6/13/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.97
      6/13/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                    10.58
      6/13/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      6/13/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      6/13/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 182807 73129                 181.08
      6/13/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      6/13/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      6/13/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.38
      6/13/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.14
      6/13/2015   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                    100
      6/13/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      6/13/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
      6/13/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      6/13/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      6/13/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.36
      6/13/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.69
      6/13/2015   709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                    10.58
      6/13/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                    31.68
      6/13/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      6/13/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 182807 Lease                 252.11
      6/13/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      6/13/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      6/13/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/13/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/13/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        495.7
      6/13/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.23
      6/13/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       453.38
      6/13/2015   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                     100
      6/13/2015   709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       254.11
      6/13/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      6/13/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      6/13/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      6/13/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.56
      6/13/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       427.32
      6/13/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.96
      6/13/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                     100
      6/13/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      6/13/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      6/13/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/13/2015   709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -50
      6/13/2015   709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -50
      6/13/2015   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/13/2015   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/13/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.87
      6/13/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       372.28
      6/13/2015   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                     100
      6/13/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      6/13/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/13/2015   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00319867 - PO System        344.25

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      6/13/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901              521.95
      6/13/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL         8.75
      6/13/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance               175.95
      6/13/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                2
      6/13/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase              540.92
      6/13/2015   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210             100
      6/13/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                47.5
      6/13/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD         78.13
      6/13/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210              458.72
      6/13/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL        8.75
      6/13/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908               13
      6/13/2015   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal           -1500
      6/13/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                 500
      6/13/2015   709   JG0017   Owner Operator   Express Check                  T-Check Payment              1500
      6/13/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                  100
      6/13/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                  200
      6/13/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                2
      6/13/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                1
      6/13/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase              392.95
      6/13/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase              417.21
      6/13/2015   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908             100
      6/13/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                47.5
      6/13/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD        90.86
      6/13/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908               504.6
      6/13/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL        8.75
      6/13/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909               13
      6/13/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                  200
      6/13/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                  200
      6/13/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                  100
      6/13/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                1
      6/13/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                2
      6/13/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                2
      6/13/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase              487.25
      6/13/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase              449.46
      6/13/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase              496.01
      6/13/2015   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909             100
      6/13/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                47.5
      6/13/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD        74.22
      6/13/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909              513.26
      6/13/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL        8.75
      6/13/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438               13
      6/13/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                  50
      6/13/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase               149.4
      6/13/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase              140.65
      6/13/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase              178.91
      6/13/2015   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438             100
      6/13/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                47.5
      6/13/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD        19.54
      6/13/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203           10.58
      6/13/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203           31.68
      6/13/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL         8.75
      6/13/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL            8.75
      6/13/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325               13
      6/13/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                 100
      6/13/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                  200
      6/13/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                  100
      6/13/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                1
      6/13/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                2
      6/13/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase              371.92
      6/13/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase              313.03
      6/13/2015   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325             100
      6/13/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                47.5
      6/13/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD         15.94
      6/13/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD             37.5
      6/13/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL        8.75
      6/13/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914               13
      6/13/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                 250
      6/13/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                   50
      6/13/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                  100
      6/13/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                1
      6/13/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee              0.5
      6/13/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase              197.84
      6/13/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase              296.92

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      6/13/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       413.81
      6/13/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.33
      6/13/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.05
      6/13/2015   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                     100
      6/13/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      6/13/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/13/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      6/13/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      6/13/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      6/13/2015   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-20       -30.64
      6/13/2015   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                      100
      6/13/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      6/13/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      6/13/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      6/13/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         400
      6/13/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/13/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/13/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.27
      6/13/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       506.46
      6/13/2015   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                    100
      6/13/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
      6/13/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      6/13/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      6/13/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.02
      6/13/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      6/13/2015   709   MB0048   Owner Operator   Repair Order                   CTMS - 182757 Repair                261.99
      6/13/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      6/13/2015   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                        13
      6/13/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      6/13/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       358.63
      6/13/2015   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                     100
      6/13/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      6/13/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      6/13/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/13/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      6/13/2015   709   MM0093   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -50
      6/13/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.54
      6/13/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.64
      6/13/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.78
      6/13/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      6/13/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      6/13/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      6/13/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      6/13/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         550
      6/13/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/13/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/13/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.54
      6/13/2015   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                     100
      6/13/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      6/13/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      6/13/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      6/13/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      6/13/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      6/13/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/13/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/13/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/13/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/13/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.46
      6/13/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        223.1
      6/13/2015   709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                    10.58
      6/13/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                    31.68
      6/13/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      6/13/2015   709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00318327 - PO System         95.65

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      6/13/2015   709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00318327 - PO System      -221.79
      6/13/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 182925 Lease                215.66
      6/13/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
      6/13/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                   11.32
      6/13/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/13/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/13/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      101.15
      6/13/2015   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                   100
      6/13/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/13/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.98
      6/13/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL           8.75
      6/13/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                        13
      6/13/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/13/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD           28.13
      6/13/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL              8.75
      6/13/2015   709   RC0030   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev           -50
      6/13/2015   709   RC0030   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev           -50
      6/13/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/13/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD              39.07
      6/13/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  62.7
      6/13/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/13/2015   709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev           -50
      6/13/2015   709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev           -50
      6/13/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         500
      6/13/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      6/13/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      477.49
      6/13/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      488.85
      6/13/2015   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                    100
      6/13/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/13/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               103.07
      6/13/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                      504.72
      6/13/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL          8.75
      6/13/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      509.64
      6/13/2015   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                   100
      6/13/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/13/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD          45.32
      6/13/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/13/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                       13
      6/13/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/13/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
      6/13/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
      6/13/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      6/13/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      6/13/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/13/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      458.31
      6/13/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      477.15
      6/13/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       465.2
      6/13/2015   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                    100
      6/13/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/13/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.15
      6/13/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                      512.16
      6/13/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                 27.48
      6/13/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                    8.75
      6/13/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                      13
      6/13/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      309.15
      6/13/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      343.38
      6/13/2015   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                   100
      6/13/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/13/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                    13.29
      6/13/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism            2.5
      6/13/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                   10.58
      6/13/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                   31.68
      6/13/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
      6/13/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
      6/13/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
      6/13/2015   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                 12.5
      6/13/2015   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                 12.5
      6/13/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                       13
      6/13/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                       13
      6/13/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                        200
      6/13/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                        200
      6/13/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/13/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                         100

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      6/13/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/13/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/13/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.74
      6/13/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.81
      6/13/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       127.26
      6/13/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.37
      6/13/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.44
      6/13/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        378.3
      6/13/2015   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                     100
      6/13/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      6/13/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      6/13/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       423.45
      6/13/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/13/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      6/13/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.12
      6/13/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        94.78
      6/13/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.55
      6/13/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        95.14
      6/13/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        95.12
      6/13/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      6/13/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      6/13/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      6/13/2015   709   VB0015   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -50
      6/13/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         350
      6/13/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.17
      6/13/2015   709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                    10.58
      6/13/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      6/13/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      6/13/2015   709   VB0015   Owner Operator   Tire Purchase                  PO: 709-00319980 - PO System         30.01
      6/13/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 182916 Tractor Sub leas      242.03
      6/13/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/13/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      6/13/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/13/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/13/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/13/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/13/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/13/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.58
      6/13/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.12
      6/13/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.66
      6/13/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.44
      6/13/2015   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                     100
      6/13/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      6/13/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      6/13/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      6/13/2015   709   WB0062   Owner Operator   Charge back by affiliate       CTMS - 182754 Fuel Tractor 329      119.73
      6/13/2015   709   WB0062   Owner Operator   Charge back by affiliate       CTMS - 182754 Tractor Rental Q       183.4
      6/13/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      6/13/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      6/13/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      6/13/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      6/13/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                         96.87
      6/13/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/13/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/13/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/13/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.78
      6/13/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.22
      6/13/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.57
      6/13/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                    10.58
      6/13/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      6/13/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
      6/13/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      6/13/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      6/13/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/13/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1

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      6/13/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.44
      6/13/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      6/13/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      6/13/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      6/13/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      6/13/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/13/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/13/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/13/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/13/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/13/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/13/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.42
      6/13/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.99
      6/13/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.92
      6/13/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.11
      6/13/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                     100
      6/13/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      6/13/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      6/13/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      6/13/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.49
      6/13/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       474.51
      6/13/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       500.53
      6/13/2015   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                     100
      6/13/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      6/13/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      6/13/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      6/13/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      6/13/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.53
      6/13/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.08
      6/13/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.05
      6/13/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.01
      6/13/2015   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                     100
      6/13/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      6/13/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      6/13/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      6/13/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      6/13/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      6/13/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      6/13/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      6/13/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      6/13/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      6/13/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/13/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/13/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/13/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/13/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        359.9
      6/13/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       440.64
      6/13/2015   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                     100
      6/13/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      6/13/2015   742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00320287 - PO System        183.89
      6/13/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      6/13/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      6/13/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       417.75
      6/13/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.45
      6/13/2015   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                     100
      6/13/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      6/13/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      6/13/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      6/13/2015   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      6/13/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      6/13/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      6/13/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/13/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/13/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       425.11
      6/13/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         61.9

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      6/13/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.1
      6/13/2015   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                      100
      6/13/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/13/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           100.79
      6/13/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter          2.5
      6/13/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 182891 repair                   100
      6/13/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/13/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      6/13/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      6/13/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/13/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/13/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/13/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/13/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.81
      6/13/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.13
      6/13/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         32.26
      6/13/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        340.46
      6/13/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        111.24
      6/13/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        242.95
      6/13/2015   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                      100
      6/13/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      6/13/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.38
      6/13/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
      6/13/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
      6/13/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
      6/13/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/13/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.6
      6/13/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        203.04
      6/13/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.03
      6/13/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        312.06
      6/13/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.17
      6/13/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.25
      6/13/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                    10.58
      6/13/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                    31.68
      6/13/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/13/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.26
      6/13/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      6/13/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 182770 Tractor Lease          353.28
      6/13/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      6/13/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                          100
      6/13/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        342.31
      6/13/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        419.99
      6/13/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        141.96
      6/13/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                      100
      6/13/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/13/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
      6/13/2015   821   DW0138   Owner Operator   T Chek Fee                     ExpressCheck Fee                      16.57
      6/13/2015   821   DW0138   Owner Operator   T Chek Fee                     Tractor Repair 33443                1657.37
      6/13/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      6/13/2015   821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      6/13/2015   821   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                   12.5
      6/13/2015   821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      6/13/2015   821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      6/13/2015   821   JK0112   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-6            43.4
      6/13/2015   821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/13/2015   821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/13/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        289.84
      6/13/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.26
      6/13/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        349.93
      6/13/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        359.42
      6/13/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.2
      6/13/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.15
      6/13/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        364.36
      6/13/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        348.24
      6/13/2015   821   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                      100
      6/13/2015   821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/13/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
      6/13/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      6/13/2015   821   JK0112   Owner Operator   Repair Order                   CTMS - 182757 Fitting                 60.47
      6/13/2015   821   JK0112   Owner Operator   Tire Purchase                  PO: 821-00319696 - PO System         200.87
      6/13/2015   821   JK0112   Owner Operator   Tire Purchase                  PO: 821-00319696 - PO System         200.87
      6/13/2015   821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      6/13/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75

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      6/13/2015   858   CS0091   Owner Operator   Charge back by affiliate       CTMS - 182827 Fuel                  331.93
      6/13/2015   858   CS0091   Owner Operator   Charge back by affiliate       CTMS - 182827 Tractor Rental         275.1
      6/13/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      6/13/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       129.66
      6/13/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.36
      6/13/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.35
      6/13/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
      6/13/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 182842 Tractor Rent            125
      6/13/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      6/13/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      6/13/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.66
      6/13/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.98
      6/13/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      6/13/2015   858   JR0099   Owner Operator   Repair Order                   CTMS - 182757 Repair                242.54
      6/13/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 182842 Q1203                 278.76
      6/13/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      6/13/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      6/13/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/13/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.66
      6/13/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.94
      6/13/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/13/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      6/13/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 182842 Truck Lease           278.76
      6/20/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      6/20/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      6/20/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      6/20/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            50
      6/20/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      6/20/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      6/20/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.8
      6/20/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.63
      6/20/2015   709   AN0007   Owner Operator   FUEL TAX                       April 2015-QC                        -0.05
      6/20/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                    100
      6/20/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      6/20/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      6/20/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      6/20/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      6/20/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      6/20/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/20/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.33
      6/20/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.16
      6/20/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.16
      6/20/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.41
      6/20/2015   709   AR0064   Owner Operator   FUEL TAX                       April 2015-QC                         56.8
      6/20/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2015 - q13147                   10.58
      6/20/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      6/20/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      6/20/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 183029 Trck Lease            353.28
      6/20/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/20/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      6/20/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/20/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       450.53
      6/20/2015   709   CM0119   Owner Operator   FUEL TAX                       April 2015-QC                         0.22
      6/20/2015   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                     100
      6/20/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      6/20/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/20/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      6/20/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      6/20/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      6/20/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/20/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.9
      6/20/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       105.04
      6/20/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.81
      6/20/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        155.3

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      6/20/2015   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                     100
      6/20/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      6/20/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      6/20/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                    10.58
      6/20/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      6/20/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      6/20/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      6/20/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/20/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          500
      6/20/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      6/20/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.32
      6/20/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.09
      6/20/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       415.94
      6/20/2015   709   DJ0028   Owner Operator   FUEL TAX                       April 2015-QC                       538.83
      6/20/2015   709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.58
      6/20/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      6/20/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      6/20/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      6/20/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 182993 Q1104                 252.11
      6/20/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      6/20/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/20/2015   709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/20/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/20/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/20/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       585.31
      6/20/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       445.46
      6/20/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                    10.58
      6/20/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      6/20/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      6/20/2015   709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                      6.01
      6/20/2015   709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                601.38
      6/20/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 182957 Sublease              338.99
      6/20/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      6/20/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/20/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      6/20/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/20/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/20/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/20/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.86
      6/20/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.71
      6/20/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        428.2
      6/20/2015   709   DS0049   Owner Operator   FUEL TAX                       April 2015-QC                        82.89
      6/20/2015   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                     100
      6/20/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      6/20/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      6/20/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      6/20/2015   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/20/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.92
      6/20/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.55
      6/20/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         7.17
      6/20/2015   709   DS0225   Owner Operator   FUEL TAX                       April 2015-QC                       -30.32
      6/20/2015   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                     100
      6/20/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      6/20/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/20/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      6/20/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/20/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       434.57
      6/20/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       450.26
      6/20/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.98
      6/20/2015   709   EA0003   Owner Operator   FUEL TAX                       April 2015-QC                       137.38
      6/20/2015   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                     100
      6/20/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      6/20/2015   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00320702 - PO System        174.16
      6/20/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      6/20/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75

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      6/20/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                      13
      6/20/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                      13
      6/20/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     339.49
      6/20/2015   709   EE0011   Owner Operator   FUEL TAX                       April 2015-QC                      93.71
      6/20/2015   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                   100
      6/20/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/20/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.92
      6/20/2015   709   EE0011   Owner Operator   Tire Fee                       Tire Fee: 1828192                     16
      6/20/2015   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00317737 - PO System       18.03
      6/20/2015   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00317737 - PO System      337.21
      6/20/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                     505.27
      6/20/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      6/20/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                      13
      6/20/2015   709   EH0020   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-13       67.28
      6/20/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                       250
      6/20/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
      6/20/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        100
      6/20/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
      6/20/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      6/20/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      6/20/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      6/20/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     325.41
      6/20/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     148.62
      6/20/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      243.4
      6/20/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     232.15
      6/20/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     270.43
      6/20/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     149.75
      6/20/2015   709   EH0020   Owner Operator   FUEL TAX                       April 2015-QC                     274.66
      6/20/2015   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                   100
      6/20/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/20/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.01
      6/20/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                     532.24
      6/20/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL         8.75
      6/20/2015   709   FT0004   Owner Operator   Charge back by affiliate       CTMS - 183104 Fuel Purchase          -10
      6/20/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                      13
      6/20/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                         50
      6/20/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                        100
      6/20/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          10
      6/20/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          40
      6/20/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.4
      6/20/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.1
      6/20/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      6/20/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     233.06
      6/20/2015   709   FT0004   Owner Operator   FUEL TAX                       April 2015-QC                      16.11
      6/20/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                  10.58
      6/20/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                  31.68
      6/20/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/20/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD         29.52
      6/20/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 182993 73129               181.08
      6/20/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL               8.75
      6/20/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                     13
      6/20/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     275.81
      6/20/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     285.27
      6/20/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     374.99
      6/20/2015   709   FV0001   Owner Operator   FUEL TAX                       April 2015-QC                      -1.12
      6/20/2015   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                  100
      6/20/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/20/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD               82.04
      6/20/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                 4.75
      6/20/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL         8.75
      6/20/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                      13
      6/20/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                         50
      6/20/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     278.77
      6/20/2015   709   GS0015   Owner Operator   FUEL TAX                       April 2015-QC                      34.05
      6/20/2015   709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                  10.58
      6/20/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                  31.68
      6/20/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/20/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD         39.07
      6/20/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 182993 Lease               252.11
      6/20/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL             8.75
      6/20/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                      13
      6/20/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                        300
      6/20/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3

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      6/20/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        448.1
      6/20/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.65
      6/20/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       420.78
      6/20/2015   709   HG0007   Owner Operator   FUEL TAX                       April 2015-QC                       161.83
      6/20/2015   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                     100
      6/20/2015   709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       254.11
      6/20/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      6/20/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      6/20/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      6/20/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/20/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/20/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/20/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.72
      6/20/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        436.7
      6/20/2015   709   HG0027   Owner Operator   FUEL TAX                       April 2015-QC                        40.19
      6/20/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                     100
      6/20/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      6/20/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      6/20/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/20/2015   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/20/2015   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/20/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.6
      6/20/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        368.5
      6/20/2015   709   IR0002   Owner Operator   FUEL TAX                       April 2015-QC                       -38.93
      6/20/2015   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                     100
      6/20/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      6/20/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/20/2015   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00319867 - PO System         344.2
      6/20/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      6/20/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      6/20/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      6/20/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      6/20/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      6/20/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      6/20/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/20/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/20/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/20/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         24.05
      6/20/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/20/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/20/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       523.77
      6/20/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       600.69
      6/20/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       533.14
      6/20/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.93
      6/20/2015   709   JC0292   Owner Operator   FUEL TAX                       April 2015-QC                       607.74
      6/20/2015   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                     100
      6/20/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      6/20/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      6/20/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/20/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      6/20/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      6/20/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/20/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/20/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         472
      6/20/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.71
      6/20/2015   709   JG0017   Owner Operator   FUEL TAX                       April 2015-QC                         7.54
      6/20/2015   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                     100
      6/20/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      6/20/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      6/20/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/20/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      6/20/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/20/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/20/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/20/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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      6/20/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       508.33
      6/20/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       494.05
      6/20/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.59
      6/20/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        332.8
      6/20/2015   709   JG0072   Owner Operator   FUEL TAX                       April 2015-QC                       332.49
      6/20/2015   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                     100
      6/20/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      6/20/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      6/20/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      6/20/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      6/20/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/20/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.71
      6/20/2015   709   JQ0015   Owner Operator   FUEL TAX                       April 2015-QC                        -0.18
      6/20/2015   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                     100
      6/20/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      6/20/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                    10.58
      6/20/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      6/20/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      6/20/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      6/20/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      6/20/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      6/20/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/20/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/20/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.53
      6/20/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       402.94
      6/20/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.81
      6/20/2015   709   JS0265   Owner Operator   FUEL TAX                       April 2015-QC                       -11.63
      6/20/2015   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                     100
      6/20/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      6/20/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      6/20/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/20/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      6/20/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      6/20/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/20/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/20/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.64
      6/20/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.04
      6/20/2015   709   KP0004   Owner Operator   FUEL TAX                       April 2015-QC                        173.6
      6/20/2015   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                     100
      6/20/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      6/20/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/20/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      6/20/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      6/20/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      6/20/2015   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-13         30.64
      6/20/2015   709   LL0160   Owner Operator   FUEL TAX                       April 2015-QC                       120.69
      6/20/2015   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                      100
      6/20/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      6/20/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      6/20/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      6/20/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         400
      6/20/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/20/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       446.89
      6/20/2015   709   LS0023   Owner Operator   FUEL TAX                       April 2015-QC                         0.32
      6/20/2015   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                    100
      6/20/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
      6/20/2015   709   LS0023   Owner Operator   Tire Fee                       Tire Fee: 1830351                        4
      6/20/2015   709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00320779 - PO System        122.85
      6/20/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      6/20/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      6/20/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      6/20/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      6/20/2015   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                        13

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      6/20/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                          50
      6/20/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                      170.01
      6/20/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                      400.02
      6/20/2015   709   MG0067   Owner Operator   FUEL TAX                       April 2015-QC                       -3.41
      6/20/2015   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                    100
      6/20/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/20/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       35.16
      6/20/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
      6/20/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
      6/20/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       13
      6/20/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                         100
      6/20/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                         100
      6/20/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      6/20/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      6/20/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      264.35
      6/20/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       469.1
      6/20/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      207.29
      6/20/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      198.07
      6/20/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/20/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                53.13
      6/20/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                      337.19
      6/20/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
      6/20/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
      6/20/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        550
      6/20/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                         280
      6/20/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.8
      6/20/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                      572.08
      6/20/2015   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                    100
      6/20/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/20/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   71.88
      6/20/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
      6/20/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                      323.05
      6/20/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           8.75
      6/20/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
      6/20/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        350
      6/20/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/20/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/20/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      247.57
      6/20/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      412.74
      6/20/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      150.56
      6/20/2015   709   NB0029   Owner Operator   FUEL TAX                       April 2015-QC                       36.39
      6/20/2015   709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                   10.58
      6/20/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                   31.68
      6/20/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/20/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD           35.16
      6/20/2015   709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00318327 - PO System        95.65
      6/20/2015   709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00318327 - PO System      -221.79
      6/20/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 183123 Lease                215.66
      6/20/2015   709   NG0005   Owner Operator   FUEL TAX                       April 2015-QC                       -0.22
      6/20/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              0.22
      6/20/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL           8.75
      6/20/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                        13
      6/20/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/20/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD           28.13
      6/20/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL              8.75
      6/20/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      269.29
      6/20/2015   709   RC0030   Owner Operator   FUEL TAX                       April 2015-QC                       44.45
      6/20/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/20/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD              39.07
      6/20/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  62.7
      6/20/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/20/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         500
      6/20/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      6/20/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      394.47
      6/20/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      602.86
      6/20/2015   709   RC0089   Owner Operator   FUEL TAX                       April 2015-QC                      -18.95
      6/20/2015   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                    100
      6/20/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/20/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               103.07
      6/20/2015   709   RC0089   Owner Operator   Tire Fee                       Tire Fee: 1830394                      16
      6/20/2015   709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00320038 - PO System       344.25
      6/20/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                      504.72
      6/20/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL          8.75

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      6/20/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       453.53
      6/20/2015   709   RL0017   Owner Operator   FUEL TAX                       April 2015-QC                        78.83
      6/20/2015   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                    100
      6/20/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      6/20/2015   709   RL0017   Owner Operator   Repair Order                   CTMS - 183103 Repair                151.29
      6/20/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/20/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      6/20/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/20/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/20/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/20/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/20/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       460.92
      6/20/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       110.19
      6/20/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       459.24
      6/20/2015   709   RL0062   Owner Operator   FUEL TAX                       April 2015-QC                       135.12
      6/20/2015   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                     100
      6/20/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      6/20/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      6/20/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      6/20/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
      6/20/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
      6/20/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.29
      6/20/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.61
      6/20/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.16
      6/20/2015   709   RM0026   Owner Operator   FUEL TAX                       April 2015-QC                        131.1
      6/20/2015   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                    100
      6/20/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
      6/20/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
      6/20/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                    10.58
      6/20/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      6/20/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
      6/20/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      6/20/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      6/20/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/20/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.8
      6/20/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.46
      6/20/2015   709   SB0009   Owner Operator   FUEL TAX                       April 2015-QC                       292.56
      6/20/2015   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                     100
      6/20/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      6/20/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      6/20/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/20/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      6/20/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/20/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/20/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/20/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.28
      6/20/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.96
      6/20/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        94.78
      6/20/2015   709   SN0019   Owner Operator   FUEL TAX                       April 2015-QC                        97.89
      6/20/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      6/20/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      6/20/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      6/20/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/20/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.83
      6/20/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         393
      6/20/2015   709   VB0015   Owner Operator   FUEL TAX                       April 2015-QC                        30.76
      6/20/2015   709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                    10.58
      6/20/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      6/20/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      6/20/2015   709   VB0015   Owner Operator   Tire Purchase                  PO: 709-00319980 - PO System         29.96
      6/20/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 183115 Tractor Sub leas      242.03
      6/20/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/20/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      6/20/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/20/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/20/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/20/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.17

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      6/20/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.94
      6/20/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.35
      6/20/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.56
      6/20/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.97
      6/20/2015   709   VJ0006   Owner Operator   FUEL TAX                       April 2015-QC                        93.14
      6/20/2015   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                     100
      6/20/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      6/20/2015   709   VJ0006   Owner Operator   Tire Fee                       Tire Fee: 1830110                       16
      6/20/2015   709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00321147 - PO System         367.4
      6/20/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      6/20/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      6/20/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      6/20/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      6/20/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      6/20/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      6/20/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      6/20/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      6/20/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                        103.13
      6/20/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          500
      6/20/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      6/20/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.49
      6/20/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.16
      6/20/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       402.82
      6/20/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.03
      6/20/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.08
      6/20/2015   709   WH0073   Owner Operator   FUEL TAX                       April 2015-QC                        337.6
      6/20/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                    10.58
      6/20/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      6/20/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
      6/20/2015   709   WH0073   Owner Operator   T Chek Fee                     Advance                               914
      6/20/2015   709   WH0073   Owner Operator   T Chek Fee                     ExpressCheck Fee                      9.14
      6/20/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 182806 Sub, Sub Lease        396.13
      6/20/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 182992 Sub, Sub Lease        396.13
      6/20/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      6/20/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      6/20/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/20/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/20/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/20/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.74
      6/20/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       114.82
      6/20/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.45
      6/20/2015   742   AP0047   Owner Operator   FUEL TAX                       April 2015-QC                        70.01
      6/20/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      6/20/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      6/20/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      6/20/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      6/20/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       587.23
      6/20/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.88
      6/20/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       555.07
      6/20/2015   742   BS0078   Owner Operator   FUEL TAX                       April 2015-QC                        52.94
      6/20/2015   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                     100
      6/20/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      6/20/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      6/20/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      6/20/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      6/20/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.38
      6/20/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.51
      6/20/2015   742   ED0041   Owner Operator   FUEL TAX                       April 2015-QC                        78.05
      6/20/2015   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                     100
      6/20/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      6/20/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      6/20/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      6/20/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      6/20/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      6/20/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      6/20/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5

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      6/20/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      6/20/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      6/20/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/20/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/20/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/20/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/20/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.76
      6/20/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.82
      6/20/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.78
      6/20/2015   742   LL0134   Owner Operator   FUEL TAX                       April 2015-QC                       117.61
      6/20/2015   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                     100
      6/20/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      6/20/2015   742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00320287 - PO System        183.86
      6/20/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      6/20/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      6/20/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      6/20/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      6/20/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/20/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/20/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       113.89
      6/20/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.63
      6/20/2015   742   MH0117   Owner Operator   FUEL TAX                       April 2015-QC                        51.27
      6/20/2015   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                     100
      6/20/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      6/20/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      6/20/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      6/20/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      6/20/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/20/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/20/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.32
      6/20/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.03
      6/20/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.53
      6/20/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        536.4
      6/20/2015   742   NG0024   Owner Operator   FUEL TAX                       April 2015-QC                        68.22
      6/20/2015   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                     100
      6/20/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      6/20/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      6/20/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 183096 repair                  100
      6/20/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/20/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      6/20/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/20/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/20/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/20/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.43
      6/20/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.55
      6/20/2015   742   PC0012   Owner Operator   FUEL TAX                       April 2015-QC                        79.89
      6/20/2015   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                     100
      6/20/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      6/20/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      6/20/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      6/20/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      6/20/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      6/20/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       469.35
      6/20/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.91
      6/20/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.56
      6/20/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.65
      6/20/2015   821   DW0138   Owner Operator   FUEL TAX                       April 2015-QC                       184.42
      6/20/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                     100
      6/20/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/20/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      6/20/2015   821   DW0138   Owner Operator   Tire Fee                       Tire Fee: 1830422                        8
      6/20/2015   821   DW0138   Owner Operator   Tire Purchase                  PO: 821-00321478 - PO System         177.4
      6/20/2015   821   DW0138   Owner Operator   Toll Charges                   DIBC 155019403 030215 - 33443         10.5
      6/20/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      6/20/2015   821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      6/20/2015   821   JK0112   Owner Operator   Charge back by affiliate       CTMS - 183124 hoses fittings        793.25
      6/20/2015   821   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13

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      6/20/2015   821   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/20/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/20/2015   821   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/20/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        355.25
      6/20/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        324.12
      6/20/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        352.95
      6/20/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        386.13
      6/20/2015   821   JK0112   Owner Operator   FUEL TAX                       April 2015-QC                        267.97
      6/20/2015   821   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                      100
      6/20/2015   821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/20/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
      6/20/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      6/20/2015   821   JK0112   Owner Operator   Tire Purchase                  PO: 821-00319696 - PO System          200.8
      6/20/2015   821   JK0112   Owner Operator   Toll Charges                   DIBC 155031096 041015 - 33211          27.5
      6/20/2015   821   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      6/20/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      6/20/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                         13
      6/20/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/20/2015   858   CS0091   Owner Operator   Fuel Card Advances             Cash Advance                             50
      6/20/2015   858   CS0091   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
      6/20/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        234.56
      6/20/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        264.57
      6/20/2015   858   CS0091   Owner Operator   FUEL TAX                       April 2015-QC                         165.7
      6/20/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/20/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            23.44
      6/20/2015   858   CS0091   Owner Operator   Repair Order                   CTMS - 182950 Repair                 285.23
      6/20/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 183029 Tractor Rent             125
      6/20/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      6/20/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      6/20/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/20/2015   858   JR0099   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/20/2015   858   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/20/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        146.33
      6/20/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        351.78
      6/20/2015   858   JR0099   Owner Operator   FUEL TAX                       April 2015-QC                        161.33
      6/20/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/20/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      6/20/2015   858   JR0099   Owner Operator   Repair Order                   CTMS - 182950 Repair                 242.54
      6/20/2015   858   JR0099   Owner Operator   Tire Fee                       Tire Fee: 1828848                        16
      6/20/2015   858   JR0099   Owner Operator   Tire Purchase                  PO: 858-00320947 - PO System         330.19
      6/20/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 183028 Q1203                  278.76
      6/20/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      6/20/2015   858   RP0082   Owner Operator   Charge back by affiliate       CTMS - 183128 Fuel for Q1113        -175.16
      6/20/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      6/20/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/20/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        332.63
      6/20/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        175.16
      6/20/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          305
      6/20/2015   858   RP0082   Owner Operator   FUEL TAX                       April 2015-QC                          2.54
      6/20/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/20/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      6/20/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 183029 Truck Lease            278.76
      6/20/2015   870   DJ0028   Owner Operator   Miscellaneous                  rev credit given in error            138.88
      6/20/2015   870   DJ0028   Owner Operator   Miscellaneous                  wrong status                        -138.88
      6/27/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL           8.75
      6/27/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                        13
      6/27/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                     100
      6/27/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment        305.79
      6/27/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/27/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD            7.79
      6/27/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te          2.5
      6/27/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL           8.75
      6/27/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        13
      6/27/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/27/2015   709   ar0064   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -16.49
      6/27/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          307
      6/27/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.73
      6/27/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.75
      6/27/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2015 - q13147                    10.42
      6/27/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                    31.68
      6/27/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/27/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD           74.22
      6/27/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 183244 Trck Lease             353.28

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      6/27/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/27/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      6/27/2015   709   CM0119   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -13.06
      6/27/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/27/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       389.44
      6/27/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       427.17
      6/27/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       420.65
      6/27/2015   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                      100
      6/27/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
      6/27/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/27/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      6/27/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      6/27/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      6/27/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/27/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.22
      6/27/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.99
      6/27/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        231.2
      6/27/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.62
      6/27/2015   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                      100
      6/27/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
      6/27/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      6/27/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2015 - 73130                    10.42
      6/27/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      6/27/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      6/27/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      6/27/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/27/2015   709   DJ0028   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -3.12
      6/27/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        72.68
      6/27/2015   709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2015 - Q1104                    10.42
      6/27/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      6/27/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.86
      6/27/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      6/27/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 183201 Q1104                 252.11
      6/27/2015   709   DL0107   Owner Operator   Accident Claim                 6/28/15 expense                      348.8
      6/27/2015   709   DL0107   Owner Operator   Accident Claim                 6/5/15 property damage                 273
      6/27/2015   709   DL0107   Owner Operator   Accident Claim                 Cr Dr to mv deduction w/e 7/5         -273
      6/27/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      6/27/2015   709   DL0107   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -17.32
      6/27/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/27/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                         28.87
      6/27/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/27/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       512.36
      6/27/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        403.8
      6/27/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2015 - q1245                    10.42
      6/27/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      6/27/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.69
      6/27/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
      6/27/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/27/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      6/27/2015   709   DS0049   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -17.74
      6/27/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      6/27/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      6/27/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.48
      6/27/2015   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                      100
      6/27/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
      6/27/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      6/27/2015   709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      6/27/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      6/27/2015   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-4         -68.2
      6/27/2015   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/27/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       466.34
      6/27/2015   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                      100
      6/27/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.51
      6/27/2015   709   DS0225   Owner Operator   Truck Payment                  CTMS - 183231 tractor rental           560

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      6/27/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      6/27/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                      13
      6/27/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                      13
      6/27/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                       250
      6/27/2015   709   EA0003   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                 -21.24
      6/27/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                        200
      6/27/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      6/27/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     316.85
      6/27/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     377.54
      6/27/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     407.06
      6/27/2015   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                   100
      6/27/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/27/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              105.47
      6/27/2015   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00320702 - PO System       48.91
      6/27/2015   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00320702 - PO System      223.07
      6/27/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                     555.56
      6/27/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      6/27/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                      13
      6/27/2015   709   EE0011   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                 -24.98
      6/27/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        200
      6/27/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        300
      6/27/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      6/27/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      6/27/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     521.86
      6/27/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     464.07
      6/27/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     321.88
      6/27/2015   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                   100
      6/27/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/27/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.91
      6/27/2015   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00317737 - PO System      337.21
      6/27/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                     505.27
      6/27/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      6/27/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                      13
      6/27/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                       250
      6/27/2015   709   EH0020   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                 -16.83
      6/27/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
      6/27/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
      6/27/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        100
      6/27/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      6/27/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      6/27/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      6/27/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     243.68
      6/27/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     219.03
      6/27/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     429.95
      6/27/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       17.1
      6/27/2015   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                   100
      6/27/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/27/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93
      6/27/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                     532.24
      6/27/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL         8.75
      6/27/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                      13
      6/27/2015   709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-4       -68.2
      6/27/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                         50
      6/27/2015   709   FT0004   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                  -1.27
      6/27/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          95
      6/27/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          40
      6/27/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.4
      6/27/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.95
      6/27/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      99.27
      6/27/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     285.88
      6/27/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2015 - 73129                  10.42
      6/27/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                  31.68
      6/27/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/27/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD         29.51
      6/27/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 183201 73129               181.08
      6/27/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL               8.75
      6/27/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                     13
      6/27/2015   709   FV0001   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                 -10.29
      6/27/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     460.36
      6/27/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     214.17
      6/27/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     359.51
      6/27/2015   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                  100
      6/27/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5

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      6/27/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.01
      6/27/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
      6/27/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      6/27/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      6/27/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/27/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.72
      6/27/2015   709   GS0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1110                    10.42
      6/27/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                    31.68
      6/27/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
      6/27/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 183201 Lease                 252.11
      6/27/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      6/27/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      6/27/2015   709   HG0007   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -3.13
      6/27/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/27/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       408.81
      6/27/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.28
      6/27/2015   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                     100
      6/27/2015   709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       254.11
      6/27/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
      6/27/2015   709   HG0007   Owner Operator   Tire Fee                       Tire Fee: 1832170                        8
      6/27/2015   709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00321351 - PO System        203.58
      6/27/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      6/27/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      6/27/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/27/2015   709   HG0027   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -4.36
      6/27/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.01
      6/27/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        223.5
      6/27/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.66
      6/27/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.42
      6/27/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                     100
      6/27/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      6/27/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      6/27/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/27/2015   709   IR0002   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -7.93
      6/27/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.87
      6/27/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.8
      6/27/2015   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                     100
      6/27/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      6/27/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/27/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      6/27/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      6/27/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      6/27/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      6/27/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/27/2015   709   JC0292   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -20.87
      6/27/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/27/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/27/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       543.76
      6/27/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       515.73
      6/27/2015   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                     100
      6/27/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
      6/27/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      6/27/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/27/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      6/27/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      6/27/2015   709   JG0017   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -21.14
      6/27/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/27/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/27/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       456.53
      6/27/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        410.7
      6/27/2015   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                     100
      6/27/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      6/27/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      6/27/2015   709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                  32.95

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      6/27/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/27/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      6/27/2015   709   JG0072   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -30.93
      6/27/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/27/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/27/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       489.55
      6/27/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       451.49
      6/27/2015   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                     100
      6/27/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      6/27/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      6/27/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/27/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/27/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.05
      6/27/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.93
      6/27/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.96
      6/27/2015   709   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                     100
      6/27/2015   709   JK0112   Owner Operator   Toll Charges                   CTC 151028800 041015 - 33211          27.5
      6/27/2015   709   JK0112   Owner Operator   Toll Charges                   CTC 151030832 041215 - 33211          27.5
      6/27/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      6/27/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      6/27/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      6/27/2015   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-4         -68.2
      6/27/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/27/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.05
      6/27/2015   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                     100
      6/27/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
      6/27/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2015 - Q1203                    10.42
      6/27/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      6/27/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      6/27/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      6/27/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      6/27/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      6/27/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/27/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       450.02
      6/27/2015   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                     100
      6/27/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.93
      6/27/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      6/27/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/27/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      6/27/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      6/27/2015   709   KP0004   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -21.22
      6/27/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/27/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/27/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.08
      6/27/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       103.26
      6/27/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        85.74
      6/27/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.13
      6/27/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       492.36
      6/27/2015   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                     100
      6/27/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      6/27/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/27/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      6/27/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      6/27/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      6/27/2015   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                      100
      6/27/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      6/27/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      6/27/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      6/27/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         400
      6/27/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            50
      6/27/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      6/27/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.83
      6/27/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.15
      6/27/2015   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                    100
      6/27/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      6/27/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                    39.04
      6/27/2015   709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00320779 - PO System       122.85
      6/27/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                   8.75
      6/27/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                      13
      6/27/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/27/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                   70.29
      6/27/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
      6/27/2015   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                       13
      6/27/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-4     -4314.09
      6/27/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                          50
      6/27/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                      375.02
      6/27/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                      225.05
      6/27/2015   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                    100
      6/27/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/27/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       35.15
      6/27/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
      6/27/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
      6/27/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       13
      6/27/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      239.29
      6/27/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      223.42
      6/27/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.2
      6/27/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/27/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                53.11
      6/27/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                      337.19
      6/27/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
      6/27/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
      6/27/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        550
      6/27/2015   709   MP0035   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -4.52
      6/27/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                         280
      6/27/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.8
      6/27/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                      582.63
      6/27/2015   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                    100
      6/27/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/27/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   71.86
      6/27/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
      6/27/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                      323.05
      6/27/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           8.75
      6/27/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
      6/27/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        350
      6/27/2015   709   NB0029   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -5.17
      6/27/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                         100
      6/27/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/27/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/27/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      6/27/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      461.25
      6/27/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      268.86
      6/27/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       66.88
      6/27/2015   709   NB0029   Owner Operator   Highway Use Tax                HUTC:2015 - Q1108                   10.42
      6/27/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                   31.68
      6/27/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/27/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD           35.15
      6/27/2015   709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00318327 - PO System        95.59
      6/27/2015   709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00318327 - PO System      -221.79
      6/27/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 183344 Lease                215.66
      6/27/2015   709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                 32.95
      6/27/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
      6/27/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
      6/27/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
      6/27/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                    1.68
      6/27/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
      6/27/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      208.53
      6/27/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        192
      6/27/2015   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                   100
      6/27/2015   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                   100
      6/27/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/27/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/27/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.76
      6/27/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.97
      6/27/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL           8.75
      6/27/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                        13
      6/27/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/27/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD           28.11
      6/27/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL              8.75

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      6/27/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     328.74
      6/27/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/27/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD             39.04
      6/27/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                62.69
      6/27/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      6/27/2015   709   RC0089   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                 -13.44
      6/27/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                        500
      6/27/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      6/27/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     256.63
      6/27/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     362.04
      6/27/2015   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                   100
      6/27/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/27/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              103.05
      6/27/2015   709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00320038 - PO System      344.25
      6/27/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                     504.72
      6/27/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL         8.75
      6/27/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     467.92
      6/27/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     421.92
      6/27/2015   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                  100
      6/27/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/27/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD         45.29
      6/27/2015   709   RL0017   Owner Operator   Repair Order                   CTMS - 183325 Repair              151.29
      6/27/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      6/27/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                      13
      6/27/2015   709   RL0062   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                 -25.24
      6/27/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          50
      6/27/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      6/27/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      6/27/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      6/27/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      6/27/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.5
      6/27/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     197.78
      6/27/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      461.2
      6/27/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     474.07
      6/27/2015   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                   100
      6/27/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/27/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.13
      6/27/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                     512.16
      6/27/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                27.46
      6/27/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                   8.75
      6/27/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                     13
      6/27/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      313.2
      6/27/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     370.13
      6/27/2015   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                  100
      6/27/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/27/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                   13.26
      6/27/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism           2.5
      6/27/2015   709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                32.95
      6/27/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2015 - Q1202                  10.42
      6/27/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                  31.68
      6/27/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL               8.75
      6/27/2015   709   SB0009   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -13
      6/27/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                        200
      6/27/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      6/27/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                     107.58
      6/27/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      322.3
      6/27/2015   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                   100
      6/27/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/27/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD              100.98
      6/27/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                     564.33
      6/27/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL               8.75
      6/27/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                      13
      6/27/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                         50
      6/27/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                     370.76
      6/27/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                     327.16
      6/27/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                      88.07
      6/27/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                     249.37
      6/27/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      6/27/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD               42.97
      6/27/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL         8.75
      6/27/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                       8
      6/27/2015   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-4      -68.75
      6/27/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                         50

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      6/27/2015   709   VB0015   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -1.02
      6/27/2015   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/27/2015   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/27/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         470
      6/27/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         476
      6/27/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         190
      6/27/2015   709   VB0015   Owner Operator   Highway Use Tax                HUTC:2015 - Q1112                    10.42
      6/27/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      6/27/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      6/27/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 183336 Tractor Sub leas      242.03
      6/27/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/27/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/27/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/27/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.81
      6/27/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.47
      6/27/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        154.1
      6/27/2015   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                     100
      6/27/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      6/27/2015   709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00321147 - PO System        205.27
      6/27/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      6/27/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      6/27/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      6/27/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      6/27/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      6/27/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      6/27/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      6/27/2015   709   WH0073   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -14.3
      6/27/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/27/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/27/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       427.57
      6/27/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        332.5
      6/27/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       409.94
      6/27/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.27
      6/27/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2015 - q1235                    10.42
      6/27/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      6/27/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.69
      6/27/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 183200 Sub, Sub Lease        396.13
      6/27/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      6/27/2015   742   AP0047   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -6.92
      6/27/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/27/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/27/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/27/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.29
      6/27/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        172.5
      6/27/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.25
      6/27/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      6/27/2015   742   BS0030   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -19.41
      6/27/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                    19.41
      6/27/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      6/27/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      6/27/2015   742   BS0078   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -5.26
      6/27/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       528.26
      6/27/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       486.43
      6/27/2015   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                     100
      6/27/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.54
      6/27/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      6/27/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      6/27/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      6/27/2015   742   ED0041   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -17.12
      6/27/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.19
      6/27/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.49
      6/27/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       454.12
      6/27/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.5

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      6/27/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.36
      6/27/2015   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                     100
      6/27/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
      6/27/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      6/27/2015   742   ED0041   Owner Operator   Toll Charges                   FasTrak T711581668585 - 32897           50
      6/27/2015   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror        1.98
      6/27/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      6/27/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      6/27/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      6/27/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
      6/27/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      6/27/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      6/27/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      6/27/2015   742   LL0134   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -7.34
      6/27/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/27/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/27/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.83
      6/27/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.33
      6/27/2015   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                     100
      6/27/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      6/27/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      6/27/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      6/27/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      6/27/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/27/2015   742   MH0117   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -12.01
      6/27/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.9
      6/27/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       358.97
      6/27/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       424.07
      6/27/2015   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                     100
      6/27/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.61
      6/27/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      6/27/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      6/27/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      6/27/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/27/2015   742   NG0024   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -7.23
      6/27/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/27/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/27/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/27/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/27/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.18
      6/27/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       533.71
      6/27/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.19
      6/27/2015   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                     100
      6/27/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
      6/27/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      6/27/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 183309 repair                  100
      6/27/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/27/2015   742   PC0012   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -19.41
      6/27/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/27/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/27/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.78
      6/27/2015   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                     100
      6/27/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      6/27/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
      6/27/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      6/27/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      6/27/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      6/27/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      6/27/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      6/27/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/27/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/27/2015   742   RN0054   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -10.69
      6/27/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.45
      6/27/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.33
      6/27/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.04
      6/27/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.5
      6/27/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.22

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      6/27/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.46
      6/27/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.36
      6/27/2015   742   RN0054   Owner Operator   FUEL TAX                       April 2015-QC                        10.33
      6/27/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                   10.58
      6/27/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2015 - q13157                   10.42
      6/27/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      6/27/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      6/27/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      6/27/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
      6/27/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      6/27/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      6/27/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 182963 Tractor Lease         353.28
      6/27/2015   771   EN0016   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -1.98
      6/27/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      6/27/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      6/27/2015   821   DW0138   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -15.5
      6/27/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.83
      6/27/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.83
      6/27/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                     100
      6/27/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
      6/27/2015   821   DW0138   Owner Operator   Tire Purchase                  PO: 821-00321478 - PO System         177.4
      6/27/2015   821   DW0138   Owner Operator   Toll Charges                   CTC 151039750 051515 - 33443          22.5
      6/27/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      6/27/2015   821   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      6/27/2015   821   JK0112   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                   -13.93
      6/27/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.89
      6/27/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.98
      6/27/2015   821   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
      6/27/2015   821   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      6/27/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      6/27/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      6/27/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/27/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.66
      6/27/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.73
      6/27/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.43
      6/27/2015   858   CS0091   Owner Operator   Repair Order                   CTMS - 183143 Repair                285.23
      6/27/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 183243 Tractor Rent            125
      6/27/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      6/27/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      6/27/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/27/2015   858   JR0099   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -1.76
      6/27/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       372.18
      6/27/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
      6/27/2015   858   JR0099   Owner Operator   Tire Purchase                  PO: 858-00320947 - PO System        330.19
      6/27/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 183243 Q1203                 278.76
      6/27/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      6/27/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      6/27/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/27/2015   858   RP0082   Owner Operator   Fuel Card Advances             1% Fee DEF Refund                    -8.74
      6/27/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.19
      6/27/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.42
      6/27/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.58
      6/27/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.28
      6/27/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
      6/27/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 183243 Truck Lease           278.76
       7/4/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
       7/4/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
       7/4/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         174
       7/4/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                    100
       7/4/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
       7/4/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       7/4/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
       7/4/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
       7/4/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
       7/4/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
       7/4/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50

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      7/4/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.9
      7/4/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.23
      7/4/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        356.4
      7/4/2015    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      7/4/2015    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      7/4/2015    709   AR0064   Owner Operator   Truck Payment                  CTMS - 183473 Trck Lease            353.28
      7/4/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/4/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      7/4/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/4/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/4/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        423.4
      7/4/2015    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                     100
      7/4/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      7/4/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/4/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      7/4/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      7/4/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      7/4/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.61
      7/4/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.93
      7/4/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       106.86
      7/4/2015    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                     100
      7/4/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      7/4/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      7/4/2015    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      7/4/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      7/4/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         33.1
      7/4/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/4/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/4/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.16
      7/4/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.93
      7/4/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.76
      7/4/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      7/4/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      7/4/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      7/4/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 183422 Q1104                 252.11
      7/4/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      7/4/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      7/4/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      7/4/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/4/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/4/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                        271.13
      7/4/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
      7/4/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/4/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.36
      7/4/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       486.71
      7/4/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.99
      7/4/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      7/4/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      7/4/2015    709   DL0107   Owner Operator   Repair Order                   TRACTOR Q1245                           25
      7/4/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 183155 Sublease              338.99
      7/4/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 183388 Sublease              338.99
      7/4/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      7/4/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/4/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      7/4/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      7/4/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      7/4/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       514.75
      7/4/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.8
      7/4/2015    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                     100
      7/4/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      7/4/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      7/4/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      7/4/2015    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-27          68.2
      7/4/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/4/2015    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                     100
      7/4/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54

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      7/4/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/4/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                      13
      7/4/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/4/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/4/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     422.37
      7/4/2015    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                   100
      7/4/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/4/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              105.47
      7/4/2015    709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00320702 - PO System      223.04
      7/4/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                     555.56
      7/4/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/4/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                      13
      7/4/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        500
      7/4/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      7/4/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     199.73
      7/4/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     361.82
      7/4/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     298.81
      7/4/2015    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                   100
      7/4/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/4/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.92
      7/4/2015    709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00317737 - PO System      337.21
      7/4/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                     505.27
      7/4/2015    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/4/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                      13
      7/4/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                       250
      7/4/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        100
      7/4/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/4/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/4/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/4/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/4/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      7/4/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      32.33
      7/4/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     204.89
      7/4/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     375.27
      7/4/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     134.46
      7/4/2015    709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                   100
      7/4/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/4/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.01
      7/4/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                     532.24
      7/4/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL         8.75
      7/4/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                      13
      7/4/2015    709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-27        68.2
      7/4/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                         50
      7/4/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          10
      7/4/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          20
      7/4/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          30
      7/4/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                        150
      7/4/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.5
      7/4/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.3
      7/4/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.2
      7/4/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.1
      7/4/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     259.42
      7/4/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     291.01
      7/4/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     162.92
      7/4/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     168.27
      7/4/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                  31.68
      7/4/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/4/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD         29.52
      7/4/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 183422 73129               181.08
      7/4/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL               8.75
      7/4/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                     13
      7/4/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     367.36
      7/4/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      75.75
      7/4/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     400.75
      7/4/2015    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                  100
      7/4/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/4/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD               82.04
      7/4/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                 4.75
      7/4/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL         8.75
      7/4/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                      13
      7/4/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                         50
      7/4/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     163.26
      7/4/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                  31.68

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      7/4/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/4/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
      7/4/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 183422 Lease                  252.11
      7/4/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      7/4/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      7/4/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/4/2015    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/4/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        239.49
      7/4/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        496.78
      7/4/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        505.54
      7/4/2015    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                      100
      7/4/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment        254.11
      7/4/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/4/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
      7/4/2015    709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00321351 - PO System         203.58
      7/4/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      7/4/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      7/4/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/4/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        274.11
      7/4/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        383.11
      7/4/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.3
      7/4/2015    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                      100
      7/4/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/4/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      7/4/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
      7/4/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/4/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.83
      7/4/2015    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                      100
      7/4/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/4/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
      7/4/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      7/4/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
      7/4/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
      7/4/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
      7/4/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
      7/4/2015    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
      7/4/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/4/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/4/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/4/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/4/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        528.94
      7/4/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        468.15
      7/4/2015    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                      100
      7/4/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/4/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.13
      7/4/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      7/4/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/4/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      7/4/2015    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-11       -725.19
      7/4/2015    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-11        -256.8
      7/4/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      7/4/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/4/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      7/4/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        424.86
      7/4/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        510.63
      7/4/2015    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                      100
      7/4/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/4/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      7/4/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      7/4/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/4/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      7/4/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/4/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/4/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/4/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/4/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/4/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/4/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        478.44
      7/4/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        532.69
      7/4/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        419.32
      7/4/2015    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                      100
      7/4/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/4/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22

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      7/4/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      7/4/2015    709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/4/2015    709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      7/4/2015    709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      7/4/2015    709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/4/2015    709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/4/2015    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/4/2015    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/4/2015    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/4/2015    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/4/2015    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        329.4
      7/4/2015    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         296
      7/4/2015    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        191.3
      7/4/2015    709   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                     100
      7/4/2015    709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      7/4/2015    709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      7/4/2015    709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      7/4/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      7/4/2015    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      7/4/2015    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-27          68.2
      7/4/2015    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/4/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.75
      7/4/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.11
      7/4/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       124.04
      7/4/2015    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                     100
      7/4/2015    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      7/4/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      7/4/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      7/4/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      7/4/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      7/4/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      7/4/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/4/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          150
      7/4/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      7/4/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/4/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.99
      7/4/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         244
      7/4/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.98
      7/4/2015    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                     100
      7/4/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      7/4/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      7/4/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/4/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      7/4/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      7/4/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/4/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/4/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/4/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/4/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.09
      7/4/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.41
      7/4/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.04
      7/4/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.07
      7/4/2015    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                     100
      7/4/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      7/4/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/4/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      7/4/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      7/4/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      7/4/2015    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                      100
      7/4/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      7/4/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      7/4/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      7/4/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         650
      7/4/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/4/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/4/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.98
      7/4/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       364.62
      7/4/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       534.95

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      7/4/2015    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                     100
      7/4/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
      7/4/2015    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00320779 - PO System        122.85
      7/4/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      7/4/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      7/4/2015    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/4/2015    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/4/2015    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.77
      7/4/2015    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.47
      7/4/2015    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.91
      7/4/2015    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.15
      7/4/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      7/4/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      7/4/2015    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-27       1934.39
      7/4/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.06
      7/4/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.04
      7/4/2015    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                      100
      7/4/2015    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      7/4/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      7/4/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/4/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      7/4/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.2
      7/4/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       559.81
      7/4/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      7/4/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      7/4/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      7/4/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      7/4/2015    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                  -440.69
      7/4/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          550
      7/4/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
      7/4/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      7/4/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       506.15
      7/4/2015    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                      100
      7/4/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      7/4/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      7/4/2015    709   MP0035   Owner Operator   T Chek Fee                     ExpressCheck Fee                      4.36
      7/4/2015    709   MP0035   Owner Operator   T Chek Fee                     Tractor Repair 32904                436.33
      7/4/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      7/4/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      7/4/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      7/4/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          350
      7/4/2015    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/4/2015    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/4/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       413.24
      7/4/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                    31.68
      7/4/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      7/4/2015    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00318327 - PO System         -0.06
      7/4/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      7/4/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      7/4/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.44
      7/4/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.01
      7/4/2015    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                     100
      7/4/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      7/4/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL            8.75
      7/4/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
      7/4/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
      7/4/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      7/4/2015    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-11      -152.14
      7/4/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.97
      7/4/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      7/4/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   62.7
      7/4/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/4/2015    709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-11         -270
      7/4/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500

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      7/4/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      7/4/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     541.43
      7/4/2015    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                   100
      7/4/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/4/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              103.07
      7/4/2015    709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00320038 - PO System      344.25
      7/4/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                     504.72
      7/4/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL         8.75
      7/4/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     201.63
      7/4/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       290
      7/4/2015    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                  100
      7/4/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/4/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD         45.32
      7/4/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/4/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                      13
      7/4/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/4/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      7/4/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      7/4/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      7/4/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      7/4/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/4/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     490.94
      7/4/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     484.66
      7/4/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     485.68
      7/4/2015    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                   100
      7/4/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/4/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.15
      7/4/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                     512.16
      7/4/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                27.48
      7/4/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                   8.75
      7/4/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                     13
      7/4/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     341.65
      7/4/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     257.56
      7/4/2015    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                  100
      7/4/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/4/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                   13.29
      7/4/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism           2.5
      7/4/2015    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                  31.68
      7/4/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                11.12
      7/4/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                11.12
      7/4/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL               8.75
      7/4/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                      13
      7/4/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                      13
      7/4/2015    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                       200
      7/4/2015    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                       200
      7/4/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                     366.95
      7/4/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       27.9
      7/4/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                     251.43
      7/4/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                     386.09
      7/4/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                     273.67
      7/4/2015    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                   100
      7/4/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/4/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD              100.98
      7/4/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                     564.33
      7/4/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL               8.75
      7/4/2015    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                      13
      7/4/2015    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                         50
      7/4/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                     331.05
      7/4/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                     109.61
      7/4/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                      92.43
      7/4/2015    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/4/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD               42.97
      7/4/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL         8.75
      7/4/2015    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                       8
      7/4/2015    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-27       68.75
      7/4/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                         50
      7/4/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       218
      7/4/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       293
      7/4/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                  31.68
      7/4/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/4/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD          37.5
      7/4/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL               8.75
      7/4/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                        200

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      7/4/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/4/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.07
      7/4/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.99
      7/4/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.43
      7/4/2015    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                      100
      7/4/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      7/4/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      7/4/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      7/4/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      7/4/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      7/4/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      7/4/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      7/4/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      7/4/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/4/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/4/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/4/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/4/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       364.45
      7/4/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        324.9
      7/4/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      7/4/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
      7/4/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 183421 Sub, Sub Lease        396.13
      7/4/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      7/4/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      7/4/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      7/4/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/4/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/4/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/4/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/4/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.43
      7/4/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       519.81
      7/4/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        70.08
      7/4/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.93
      7/4/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      7/4/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      7/4/2015    742   BS0030   Owner Operator   ESCROW                         Escrow Withdrawal                    -3125
      7/4/2015    742   BS0030   Owner Operator   Express Check                  T-Check Payment                       3125
      7/4/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/4/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                        201.77
      7/4/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/4/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/4/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.85
      7/4/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       112.84
      7/4/2015    742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                      100
      7/4/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      7/4/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      7/4/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      7/4/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.25
      7/4/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.45
      7/4/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.11
      7/4/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.82
      7/4/2015    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                      100
      7/4/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      7/4/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      7/4/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      7/4/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      7/4/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      7/4/2015    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      7/4/2015    742   EN0016   Owner Operator   Broker Pre Pass                32674 PrePass Device                  12.5
      7/4/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      7/4/2015    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      7/4/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.97
      7/4/2015    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.18
      7/4/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      7/4/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      7/4/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      7/4/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      7/4/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      7/4/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror        0.52
      7/4/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      7/4/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      7/4/2015    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      7/4/2015    742   EN0016   Owner Operator   Truck Payment                  CTMS - 182546 Truck rental cat      150.09
      7/4/2015    742   EN0016   Owner Operator   Truck Payment                  CTMS - 182770 Truck rental cat      150.09
      7/4/2015    742   EN0016   Owner Operator   Truck Payment                  CTMS - 182963 Truck rental cat      150.09
      7/4/2015    742   EN0016   Owner Operator   Truck Payment                  CTMS - 183161 Truck rental cat      150.09
      7/4/2015    742   EN0016   Owner Operator   Truck Payment                  CTMS - 183393 Truck rental cat      150.09
      7/4/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      7/4/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      7/4/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      7/4/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      7/4/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      7/4/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/4/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/4/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/4/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.57
      7/4/2015    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                     100
      7/4/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      7/4/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      7/4/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      7/4/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      7/4/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/4/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.9
      7/4/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.39
      7/4/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.63
      7/4/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.89
      7/4/2015    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                     100
      7/4/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      7/4/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      7/4/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      7/4/2015    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      7/4/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/4/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/4/2015    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/4/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       698.02
      7/4/2015    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                     100
      7/4/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      7/4/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      7/4/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 183486 repair                  100
      7/4/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/4/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      7/4/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      7/4/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      7/4/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      7/4/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/4/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/4/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.98
      7/4/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.96
      7/4/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         193
      7/4/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.25
      7/4/2015    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                     100
      7/4/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      7/4/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      7/4/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      7/4/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      7/4/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      7/4/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/4/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.18
      7/4/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      7/4/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/4/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      7/4/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      7/4/2015    771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      7/4/2015    771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13

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       7/4/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                         13
       7/4/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                         13
       7/4/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.61
       7/4/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        340.83
       7/4/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.76
       7/4/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/4/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD               24.61
       7/4/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror          2.5
       7/4/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
       7/4/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                          100
       7/4/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        466.13
       7/4/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                      100
       7/4/2015   821   DW0138   Owner Operator   Loan Repayment                 Crdt xprs cde 117827 s/u loan      -5716.78
       7/4/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/4/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
       7/4/2015   821   DW0138   Owner Operator   T Chek Fee                     ExpressCheck Fee                       56.6
       7/4/2015   821   DW0138   Owner Operator   T Chek Fee                     Tractor Repair 33443                5660.18
       7/4/2015   821   DW0138   Owner Operator   Tire Purchase                  PO: 821-00321478 - PO System          177.4
       7/4/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
       7/4/2015   821   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        133.49
       7/4/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
       7/4/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                         13
       7/4/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
       7/4/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.2
       7/4/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        153.69
       7/4/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/4/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            23.44
       7/4/2015   858   CS0091   Owner Operator   Repair Order                   CTMS - 183325 Repair                 285.23
       7/4/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 183472 Tractor Rent             125
       7/4/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
       7/4/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
       7/4/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
       7/4/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.8
       7/4/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.96
       7/4/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.43
       7/4/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/4/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
       7/4/2015   858   JR0099   Owner Operator   Repair Order                   CTMS - 183325 Repair                     70
       7/4/2015   858   JR0099   Owner Operator   Tire Purchase                  PO: 858-00320947 - PO System         330.19
       7/4/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 183472 Q1203                  278.76
       7/4/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
       7/4/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
       7/4/2015   858   RP0082   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-11       -762.67
       7/4/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                            50
       7/4/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.53
       7/4/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.01
       7/4/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/4/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
       7/4/2015   858   RP0082   Owner Operator   Repair Order                   CTMS - 183326 Repair                 295.83
       7/4/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 183472 Truck Lease            278.76
      7/11/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL           8.75
      7/11/2015   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                  12.5
      7/11/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                        13
      7/11/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/11/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      7/11/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.24
      7/11/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                     100
      7/11/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment        305.79
      7/11/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/11/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD            7.82
      7/11/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te          2.5
      7/11/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL           8.75
      7/11/2015   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                  12.5
      7/11/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        13
      7/11/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/11/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.95
      7/11/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        529.94
      7/11/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.96
      7/11/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                    10.58
      7/11/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                    31.68
      7/11/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/11/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD           74.22
      7/11/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 183641 Trck Lease             353.28

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      7/11/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/11/2015   709   CM0119   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-18       -176.75
      7/11/2015   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                      100
      7/11/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/11/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.96
      7/11/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      7/11/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        455.84
      7/11/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      7/11/2015   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                   12.5
      7/11/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      7/11/2015   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-18       -1045.8
      7/11/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.24
      7/11/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        221.98
      7/11/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.83
      7/11/2015   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                      100
      7/11/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/11/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
      7/11/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      7/11/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                     10.58
      7/11/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                     31.68
      7/11/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            8.75
      7/11/2015   709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                   12.5
      7/11/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                         13
      7/11/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                         13
      7/11/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/11/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          16.9
      7/11/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/11/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/11/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.64
      7/11/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.24
      7/11/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        151.18
      7/11/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.89
      7/11/2015   709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2016 - Q1104                     10.58
      7/11/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                     31.68
      7/11/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/11/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD            46.88
      7/11/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter          2.5
      7/11/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 183605 Q1104                  252.11
      7/11/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      7/11/2015   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                   12.5
      7/11/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      7/11/2015   709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/11/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/11/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      7/11/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.5
      7/11/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                     10.58
      7/11/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                     31.68
      7/11/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/11/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
      7/11/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 183575 Sublease               338.99
      7/11/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
      7/11/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/11/2015   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                   12.5
      7/11/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      7/11/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        413.31
      7/11/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.92
      7/11/2015   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                      100
      7/11/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/11/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
      7/11/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      7/11/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      7/11/2015   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/11/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        356.15
      7/11/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        503.81
      7/11/2015   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                      100
      7/11/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/11/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     19.54
      7/11/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/11/2015   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                   12.5
      7/11/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      7/11/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      7/11/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/11/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2

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      7/11/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     422.19
      7/11/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      399.1
      7/11/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     496.67
      7/11/2015   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                   100
      7/11/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/11/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              105.47
      7/11/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                     555.56
      7/11/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/11/2015   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                12.5
      7/11/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                      13
      7/11/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        500
      7/11/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      7/11/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     300.03
      7/11/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     181.72
      7/11/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     547.91
      7/11/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     410.67
      7/11/2015   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                   100
      7/11/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/11/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.92
      7/11/2015   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00317737 - PO System      337.16
      7/11/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                     505.27
      7/11/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/11/2015   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                12.5
      7/11/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                      13
      7/11/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                       250
      7/11/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/11/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        100
      7/11/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/11/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/11/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      7/11/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/11/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     285.64
      7/11/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     156.61
      7/11/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     136.45
      7/11/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     229.31
      7/11/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      162.3
      7/11/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     181.65
      7/11/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      308.6
      7/11/2015   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                   100
      7/11/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/11/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.01
      7/11/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                     532.24
      7/11/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL         8.75
      7/11/2015   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                12.5
      7/11/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                      13
      7/11/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                         50
      7/11/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          20
      7/11/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          75
      7/11/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          20
      7/11/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          50
      7/11/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          50
      7/11/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.5
      7/11/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.5
      7/11/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.2
      7/11/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.75
      7/11/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.2
      7/11/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      271.1
      7/11/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      11.29
      7/11/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     246.44
      7/11/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     212.14
      7/11/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     220.87
      7/11/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     180.05
      7/11/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      110.5
      7/11/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                  10.58
      7/11/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                  31.68
      7/11/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/11/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD         29.52
      7/11/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 183605 73129               181.08
      7/11/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL               8.75
      7/11/2015   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device               12.5
      7/11/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                     13
      7/11/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     426.87
      7/11/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     548.78

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      7/11/2015   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                     100
      7/11/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      7/11/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
      7/11/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      7/11/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      7/11/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/11/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.38
      7/11/2015   709   GS0015   Owner Operator   Highway Use Tax                HUTC:2016 - Q1110                    10.58
      7/11/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                    31.68
      7/11/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      7/11/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 183605 Lease                 252.11
      7/11/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      7/11/2015   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      7/11/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      7/11/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/11/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/11/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.28
      7/11/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.88
      7/11/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       436.54
      7/11/2015   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                      100
      7/11/2015   709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       254.11
      7/11/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      7/11/2015   709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00321351 - PO System        203.58
      7/11/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      7/11/2015   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      7/11/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      7/11/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/11/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.91
      7/11/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.56
      7/11/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.15
      7/11/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       101.57
      7/11/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.18
      7/11/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       443.58
      7/11/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.86
      7/11/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         83.1
      7/11/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                      100
      7/11/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      7/11/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      7/11/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/11/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.09
      7/11/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.99
      7/11/2015   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                      100
      7/11/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      7/11/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/11/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      7/11/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      7/11/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      7/11/2015   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      7/11/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      7/11/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
      7/11/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/11/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/11/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       490.71
      7/11/2015   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                      100
      7/11/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      7/11/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      7/11/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/11/2015   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      7/11/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      7/11/2015   709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-4          256.8
      7/11/2015   709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-4         725.19
      7/11/2015   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1000
      7/11/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      7/11/2015   709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1000
      7/11/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/11/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/11/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.77

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      7/11/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        496.54
      7/11/2015   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                      100
      7/11/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/11/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      7/11/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      7/11/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/11/2015   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                   12.5
      7/11/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      7/11/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/11/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/11/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/11/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/11/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        458.44
      7/11/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        515.24
      7/11/2015   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                      100
      7/11/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/11/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      7/11/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      7/11/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      7/11/2015   709   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                   12.5
      7/11/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      7/11/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/11/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/11/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      7/11/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        297.83
      7/11/2015   709   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                      100
      7/11/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/11/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
      7/11/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      7/11/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      7/11/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      7/11/2015   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                   12.5
      7/11/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      7/11/2015   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-18       -791.45
      7/11/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/11/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        142.95
      7/11/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        182.28
      7/11/2015   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                      100
      7/11/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/11/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      7/11/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
      7/11/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
      7/11/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      7/11/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      7/11/2015   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                   12.5
      7/11/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      7/11/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      7/11/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/11/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/11/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/11/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/11/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        209.23
      7/11/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.15
      7/11/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        445.17
      7/11/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        221.94
      7/11/2015   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                      100
      7/11/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/11/2015   709   JS0265   Owner Operator   Permits                        NY13:2014 - 33325                        19
      7/11/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      7/11/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      7/11/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/11/2015   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
      7/11/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      7/11/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      7/11/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/11/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/11/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        362.01
      7/11/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.82
      7/11/2015   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                      100
      7/11/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/11/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      7/11/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      7/11/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59

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      7/11/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      7/11/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      7/11/2015   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                      100
      7/11/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      7/11/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      7/11/2015   709   LS0023   Owner Operator   Broker Pre Pass                21489A PrePass Device                 12.5
      7/11/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      7/11/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         650
      7/11/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/11/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/11/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.1
      7/11/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        463.3
      7/11/2015   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                    100
      7/11/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
      7/11/2015   709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00320779 - PO System        122.85
      7/11/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      7/11/2015   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                 12.5
      7/11/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      7/11/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.16
      7/11/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.45
      7/11/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      7/11/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      7/11/2015   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                        13
      7/11/2015   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                        13
      7/11/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-27        2379.7
      7/11/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/11/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/11/2015   709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/11/2015   709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/11/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         459
      7/11/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.26
      7/11/2015   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                     100
      7/11/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      7/11/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      7/11/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/11/2015   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                  12.5
      7/11/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      7/11/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/11/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/11/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/11/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/11/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.65
      7/11/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.53
      7/11/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.61
      7/11/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.91
      7/11/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      7/11/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      7/11/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      7/11/2015   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                  12.5
      7/11/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      7/11/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         550
      7/11/2015   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                     100
      7/11/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      7/11/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      7/11/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      7/11/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      7/11/2015   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                  12.5
      7/11/2015   709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 183668 Trailer Wash 575         -40
      7/11/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      7/11/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         350
      7/11/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                          500
      7/11/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      7/11/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.42
      7/11/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       109.26
      7/11/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.56
      7/11/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        347.3
      7/11/2015   709   NB0029   Owner Operator   Highway Use Tax                HUTC:2016 - Q1108                    10.58

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      7/11/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                    31.68
      7/11/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      7/11/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 183570 Lease                 215.66
      7/11/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 183725 Lease                 215.66
      7/11/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      7/11/2015   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                 12.5
      7/11/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      7/11/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/11/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/11/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         313
      7/11/2015   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                    100
      7/11/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      7/11/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL            8.75
      7/11/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
      7/11/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
      7/11/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      7/11/2015   709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-4         152.14
      7/11/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      7/11/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   62.7
      7/11/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/11/2015   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-4           270
      7/11/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      7/11/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      7/11/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       667.84
      7/11/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.13
      7/11/2015   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                     100
      7/11/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      7/11/2015   709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00320038 - PO System        344.25
      7/11/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      7/11/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      7/11/2015   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                 12.5
      7/11/2015   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-18       -68.75
      7/11/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.86
      7/11/2015   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                    100
      7/11/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      7/11/2015   709   RL0017   Owner Operator   Repair Order                   CTMS - 183555 Repair                151.29
      7/11/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/11/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      7/11/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/11/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/11/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/11/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/11/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       483.82
      7/11/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       425.65
      7/11/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        77.18
      7/11/2015   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                     100
      7/11/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      7/11/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      7/11/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
      7/11/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.89
      7/11/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.55
      7/11/2015   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                    100
      7/11/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
      7/11/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
      7/11/2015   709   RM0026   Owner Operator   T Chek Fee                     Tractor Repair 30811A              1740.43
      7/11/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      7/11/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      7/11/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
      7/11/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/11/2015   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                  12.5
      7/11/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      7/11/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      7/11/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       481.16
      7/11/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       469.79
      7/11/2015   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                     100

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      7/11/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      7/11/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      7/11/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/11/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      7/11/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/11/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        141.5
      7/11/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.08
      7/11/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.33
      7/11/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.16
      7/11/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        315.5
      7/11/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.78
      7/11/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      7/11/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      7/11/2015   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                  12.5
      7/11/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      7/11/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/11/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         392
      7/11/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         326
      7/11/2015   709   VB0015   Owner Operator   Highway Use Tax                HUTC:2016 - Q1112                    10.58
      7/11/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      7/11/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      7/11/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 183562 Tractor Sub leas      242.03
      7/11/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 183717 Tractor Sub leas      242.03
      7/11/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/11/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/11/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/11/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.21
      7/11/2015   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                     100
      7/11/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      7/11/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        95.98
      7/11/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      7/11/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      7/11/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      7/11/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      7/11/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD               0.31
      7/11/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      7/11/2015   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      7/11/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      7/11/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/11/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/11/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/11/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/11/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.92
      7/11/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.92
      7/11/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      7/11/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      7/11/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.65
      7/11/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                     100
      7/11/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       288.22
      7/11/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      7/11/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      7/11/2015   742   BS0078   Owner Operator   Broker Pre Pass                32665 PrePass Device                  12.5
      7/11/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      7/11/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      7/11/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.24
      7/11/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.85
      7/11/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       466.93
      7/11/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       536.43
      7/11/2015   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                     100
      7/11/2015   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                     100
      7/11/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      7/11/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      7/11/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      7/11/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5

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      7/11/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      7/11/2015   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      7/11/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      7/11/2015   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                     100
      7/11/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      7/11/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      7/11/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro        0.26
      7/11/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/11/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      7/11/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      7/11/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/11/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/11/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/11/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/11/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.19
      7/11/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.83
      7/11/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.68
      7/11/2015   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                     100
      7/11/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      7/11/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      7/11/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      7/11/2015   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      7/11/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      7/11/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/11/2015   742   MH0117   Owner Operator   Fuel Card Advances             Cash Advance                            60
      7/11/2015   742   MH0117   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      7/11/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.47
      7/11/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.28
      7/11/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.43
      7/11/2015   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                     100
      7/11/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      7/11/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      7/11/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      7/11/2015   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      7/11/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      7/11/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/11/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/11/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/11/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.26
      7/11/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         317
      7/11/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       517.62
      7/11/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.71
      7/11/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        339.4
      7/11/2015   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                     100
      7/11/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   742   NG0024   Owner Operator   Permits                        NY13:2015 - 33252                       19
      7/11/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      7/11/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      7/11/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/11/2015   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
      7/11/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      7/11/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      7/11/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/11/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/11/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.37
      7/11/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.75
      7/11/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.64
      7/11/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.04
      7/11/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.78
      7/11/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        17.51
      7/11/2015   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                     100
      7/11/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      7/11/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      7/11/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      7/11/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      7/11/2015   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
      7/11/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      7/11/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/11/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       433.09
      7/11/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       422.89

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      7/11/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      7/11/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      7/11/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      7/11/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      7/11/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 183161 Tractor Lease         353.28
      7/11/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 183393 Tractor Lease         353.28
      7/11/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 183579 Tractor Lease         353.28
      7/11/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      7/11/2015   771   EN0016   Owner Operator   Broker Pre Pass                32674 PrePass Device                  12.5
      7/11/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      7/11/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.57
      7/11/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.01
      7/11/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.66
      7/11/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      7/11/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      7/11/2015   821   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  12.5
      7/11/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      7/11/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      7/11/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.74
      7/11/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.29
      7/11/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        22.39
      7/11/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        276.9
      7/11/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                     100
      7/11/2015   821   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
      7/11/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      7/11/2015   821   DW0138   Owner Operator   Tire Purchase                  PO: 821-00321478 - PO System         177.4
      7/11/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      7/11/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      7/11/2015   858   CS0091   Owner Operator   Broker Pre Pass                73130 PrePass Device                  12.5
      7/11/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      7/11/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/11/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.06
      7/11/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.41
      7/11/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.81
      7/11/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
      7/11/2015   858   CS0091   Owner Operator   Repair Order                   CTMS - 183555 Repair                285.23
      7/11/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 183640 Tractor Rent            125
      7/11/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      7/11/2015   858   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
      7/11/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      7/11/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/11/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       105.09
      7/11/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      7/11/2015   858   JR0099   Owner Operator   Tire Purchase                  PO: 858-00320947 - PO System        330.19
      7/11/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 183640 Q1203                 278.76
      7/11/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      7/11/2015   858   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                  12.5
      7/11/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      7/11/2015   858   RP0082   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-4         762.67
      7/11/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/11/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         280
      7/11/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.4
      7/11/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.04
      7/11/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/11/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      7/11/2015   858   RP0082   Owner Operator   Repair Order                   CTMS - 183555 Repair                295.83
      7/11/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 183640 Truck Lease           278.76
      7/18/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      7/18/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      7/18/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/18/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            60
      7/18/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      7/18/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/18/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.67
      7/18/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.98
      7/18/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.72
      7/18/2015   709   AN0007   Owner Operator   FUEL TAX                       May 2015-QC                          14.31
      7/18/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                    100

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      7/18/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      7/18/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      7/18/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      7/18/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      7/18/2015   709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 183811 Uniform purchase      253.03
      7/18/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      7/18/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/18/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       420.96
      7/18/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.15
      7/18/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.95
      7/18/2015   709   AR0064   Owner Operator   FUEL TAX                       May 2015-QC                         118.27
      7/18/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      7/18/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      7/18/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      7/18/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 183818 Trck Lease            353.28
      7/18/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      7/18/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      7/18/2015   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-11        1045.8
      7/18/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          300
      7/18/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/18/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.08
      7/18/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.49
      7/18/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.75
      7/18/2015   709   CR0064   Owner Operator   FUEL TAX                       May 2015-QC                          25.06
      7/18/2015   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                     100
      7/18/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      7/18/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      7/18/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
      7/18/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      7/18/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      7/18/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      7/18/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/18/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/18/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/18/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.31
      7/18/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       422.13
      7/18/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.62
      7/18/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.67
      7/18/2015   709   DJ0028   Owner Operator   FUEL TAX                       May 2015-QC                         306.23
      7/18/2015   709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2016 - Q1104                    10.58
      7/18/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      7/18/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      7/18/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      7/18/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 183786 Q1104                 252.11
      7/18/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      7/18/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      7/18/2015   709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/18/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/18/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/18/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       543.56
      7/18/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       590.67
      7/18/2015   709   DL0107   Owner Operator   FUEL TAX                       May 2015-QC                          62.44
      7/18/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      7/18/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      7/18/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      7/18/2015   709   DL0107   Owner Operator   Repair Order                   CTMS - 183811 repair                    60
      7/18/2015   709   DL0107   Owner Operator   Tire Fee                       905-02085385:                            4
      7/18/2015   709   DL0107   Owner Operator   Tire Purchase                  905-02085385                        172.38
      7/18/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 183758 Sublease              338.99
      7/18/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      7/18/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/18/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      7/18/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      7/18/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      7/18/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       446.86
      7/18/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.81
      7/18/2015   709   DS0049   Owner Operator   FUEL TAX                       May 2015-QC                          -0.76
      7/18/2015   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                     100

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      7/18/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/18/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               92.35
      7/18/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                     512.35
      7/18/2015   709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                32.95
      7/18/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                  8.75
      7/18/2015   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                         50
      7/18/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                     494.38
      7/18/2015   709   DS0225   Owner Operator   FUEL TAX                       May 2015-QC                       -22.25
      7/18/2015   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                   100
      7/18/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/18/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                  19.54
      7/18/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/18/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                      13
      7/18/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                       250
      7/18/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/18/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/18/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/18/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/18/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     372.09
      7/18/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     258.02
      7/18/2015   709   EA0003   Owner Operator   FUEL TAX                       May 2015-QC                       158.78
      7/18/2015   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                   100
      7/18/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/18/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              105.47
      7/18/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                     555.56
      7/18/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/18/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                      13
      7/18/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/18/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        100
      7/18/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/18/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/18/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      7/18/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/18/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     254.17
      7/18/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     433.52
      7/18/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     171.84
      7/18/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     340.93
      7/18/2015   709   EE0011   Owner Operator   FUEL TAX                       May 2015-QC                       112.22
      7/18/2015   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                   100
      7/18/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/18/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.92
      7/18/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                     505.27
      7/18/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/18/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/18/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                      170.47
      7/18/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        100
      7/18/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      7/18/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/18/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/18/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     144.02
      7/18/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       214
      7/18/2015   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                   100
      7/18/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/18/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.01
      7/18/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                     532.24
      7/18/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL         8.75
      7/18/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                      13
      7/18/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                         50
      7/18/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          60
      7/18/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          20
      7/18/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.2
      7/18/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.6
      7/18/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     244.16
      7/18/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     268.37
      7/18/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     221.08
      7/18/2015   709   FT0004   Owner Operator   FUEL TAX                       May 2015-QC                        -2.48
      7/18/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                  10.58
      7/18/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                  31.68
      7/18/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/18/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD         29.52
      7/18/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 183786 73129               181.08
      7/18/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 183811 tractor rental          80
      7/18/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL               8.75

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      7/18/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      7/18/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.24
      7/18/2015   709   FV0001   Owner Operator   FUEL TAX                       May 2015-QC                          -0.94
      7/18/2015   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                    100
      7/18/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      7/18/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
      7/18/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      7/18/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      7/18/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/18/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.47
      7/18/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.23
      7/18/2015   709   GS0015   Owner Operator   FUEL TAX                       May 2015-QC                          -0.13
      7/18/2015   709   GS0015   Owner Operator   Highway Use Tax                HUTC:2016 - Q1110                    10.58
      7/18/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                    31.68
      7/18/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      7/18/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 183786 Lease                 252.11
      7/18/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      7/18/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      7/18/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          300
      7/18/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/18/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.53
      7/18/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.89
      7/18/2015   709   HG0007   Owner Operator   FUEL TAX                       May 2015-QC                         112.17
      7/18/2015   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                     100
      7/18/2015   709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       254.11
      7/18/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      7/18/2015   709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00321351 - PO System        203.58
      7/18/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      7/18/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      7/18/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/18/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.04
      7/18/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.52
      7/18/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.22
      7/18/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       562.97
      7/18/2015   709   HG0027   Owner Operator   FUEL TAX                       May 2015-QC                          20.15
      7/18/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                     100
      7/18/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      7/18/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      7/18/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/18/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.87
      7/18/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.74
      7/18/2015   709   IR0002   Owner Operator   FUEL TAX                       May 2015-QC                          -33.3
      7/18/2015   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                     100
      7/18/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      7/18/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/18/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      7/18/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      7/18/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      7/18/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      7/18/2015   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-25       -17.98
      7/18/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      7/18/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/18/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/18/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/18/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/18/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/18/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/18/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.61
      7/18/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       398.22
      7/18/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       509.14
      7/18/2015   709   JC0292   Owner Operator   FUEL TAX                       May 2015-QC                          481.9
      7/18/2015   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                     100
      7/18/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      7/18/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      7/18/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/18/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      7/18/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500

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      7/18/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                        300
      7/18/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      7/18/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     396.01
      7/18/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     359.08
      7/18/2015   709   JG0017   Owner Operator   FUEL TAX                       May 2015-QC                        -0.17
      7/18/2015   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                   100
      7/18/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/18/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               90.86
      7/18/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                      504.6
      7/18/2015   709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                32.95
      7/18/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/18/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                      13
      7/18/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/18/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        100
      7/18/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/18/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/18/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      7/18/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/18/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      479.8
      7/18/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     415.24
      7/18/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      462.6
      7/18/2015   709   JG0072   Owner Operator   FUEL TAX                       May 2015-QC                       183.24
      7/18/2015   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                   100
      7/18/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/18/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               74.22
      7/18/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                     513.26
      7/18/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL               8.75
      7/18/2015   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-11      659.72
      7/18/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     188.68
      7/18/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     159.22
      7/18/2015   709   JQ0015   Owner Operator   FUEL TAX                       May 2015-QC                        -0.09
      7/18/2015   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                   100
      7/18/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/18/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD               19.54
      7/18/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                  10.58
      7/18/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                  31.68
      7/18/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                8.75
      7/18/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                   8.75
      7/18/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                      13
      7/18/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                       100
      7/18/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                        100
      7/18/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/18/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/18/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/18/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/18/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      7/18/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       413
      7/18/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                     356.87
      7/18/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       301
      7/18/2015   709   JS0265   Owner Operator   FUEL TAX                       May 2015-QC                       151.33
      7/18/2015   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                   100
      7/18/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/18/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                15.94
      7/18/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                    37.5
      7/18/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/18/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                      13
      7/18/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                       250
      7/18/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          15
      7/18/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          45
      7/18/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                        100
      7/18/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      7/18/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.45
      7/18/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.15
      7/18/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       96.5
      7/18/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     261.94
      7/18/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         34
      7/18/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     142.37
      7/18/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      86.11
      7/18/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      371.5
      7/18/2015   709   KP0004   Owner Operator   FUEL TAX                       May 2015-QC                       205.55
      7/18/2015   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                   100
      7/18/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/18/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.32

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      7/18/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/18/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      7/18/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      7/18/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      7/18/2015   709   LL0160   Owner Operator   FUEL TAX                       May 2015-QC                         206.07
      7/18/2015   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                      100
      7/18/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      7/18/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      7/18/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      7/18/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         650
      7/18/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/18/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/18/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/18/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/18/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.9
      7/18/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.74
      7/18/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.42
      7/18/2015   709   LS0023   Owner Operator   FUEL TAX                       May 2015-QC                          -0.98
      7/18/2015   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                    100
      7/18/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
      7/18/2015   709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00320779 - PO System         122.8
      7/18/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      7/18/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      7/18/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.1
      7/18/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      7/18/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      7/18/2015   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                        13
      7/18/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/18/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.01
      7/18/2015   709   MG0067   Owner Operator   FUEL TAX                       May 2015-QC                           9.15
      7/18/2015   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                     100
      7/18/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      7/18/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      7/18/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/18/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      7/18/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/18/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/18/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.28
      7/18/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       358.25
      7/18/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.47
      7/18/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.59
      7/18/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      7/18/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      7/18/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      7/18/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      7/18/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         550
      7/18/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
      7/18/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      7/18/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       627.87
      7/18/2015   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                     100
      7/18/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      7/18/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      7/18/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      7/18/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      7/18/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      7/18/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         350
      7/18/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.4
      7/18/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       443.52
      7/18/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.76
      7/18/2015   709   NB0029   Owner Operator   FUEL TAX                       May 2015-QC                           0.32
      7/18/2015   709   NB0029   Owner Operator   Highway Use Tax                HUTC:2016 - Q1108                    10.58
      7/18/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                    31.68
      7/18/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      7/18/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 183906 Lease                 215.66
      7/18/2015   709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      7/18/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75

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      7/18/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
      7/18/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                         140
      7/18/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.4
      7/18/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        189
      7/18/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      292.07
      7/18/2015   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                   100
      7/18/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/18/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.98
      7/18/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL           8.75
      7/18/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                        13
      7/18/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/18/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD           28.13
      7/18/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL              8.75
      7/18/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      419.35
      7/18/2015   709   RC0030   Owner Operator   FUEL TAX                       May 2015-QC                        143.65
      7/18/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/18/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD              39.07
      7/18/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  62.7
      7/18/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      7/18/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         500
      7/18/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      7/18/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      448.69
      7/18/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      462.64
      7/18/2015   709   RC0089   Owner Operator   FUEL TAX                       May 2015-QC                         -14.3
      7/18/2015   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                    100
      7/18/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/18/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               103.07
      7/18/2015   709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00320038 - PO System        344.2
      7/18/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                      504.72
      7/18/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL          8.75
      7/18/2015   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-11        68.75
      7/18/2015   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-25      -68.75
      7/18/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      466.28
      7/18/2015   709   RL0017   Owner Operator   FUEL TAX                       May 2015-QC                        -35.49
      7/18/2015   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                   100
      7/18/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/18/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD          45.32
      7/18/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      7/18/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                       13
      7/18/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
      7/18/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
      7/18/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      7/18/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      7/18/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      446.69
      7/18/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       475.3
      7/18/2015   709   RL0062   Owner Operator   FUEL TAX                       May 2015-QC                         169.6
      7/18/2015   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                    100
      7/18/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/18/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.15
      7/18/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                      512.16
      7/18/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                 27.48
      7/18/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                 27.48
      7/18/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                    8.75
      7/18/2015   709   RM0026   Owner Operator   Broker Pre Pass                30811A PrePass Device                12.5
      7/18/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                      13
      7/18/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                      13
      7/18/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      335.22
      7/18/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.3
      7/18/2015   709   RM0026   Owner Operator   FUEL TAX                       May 2015-QC                        103.75
      7/18/2015   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                   100
      7/18/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/18/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                    13.29
      7/18/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism            2.5
      7/18/2015   709   RM0026   Owner Operator   T Chek Fee                     ExpressCheck Fee                    22.58
      7/18/2015   709   RM0026   Owner Operator   T Chek Fee                     Tractor Repair 30811A              517.43
      7/18/2015   709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                 32.95
      7/18/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                   10.58
      7/18/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                   31.68
      7/18/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
      7/18/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
      7/18/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                       13
      7/18/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                        200
      7/18/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                         100

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      7/18/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/18/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/18/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/18/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/18/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/18/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.26
      7/18/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       362.03
      7/18/2015   709   SB0009   Owner Operator   FUEL TAX                       May 2015-QC                         116.84
      7/18/2015   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                      100
      7/18/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      7/18/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      7/18/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/18/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      7/18/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/18/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.41
      7/18/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.48
      7/18/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        85.38
      7/18/2015   709   SN0019   Owner Operator   FUEL TAX                       May 2015-QC                          85.01
      7/18/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      7/18/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      7/18/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      7/18/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/18/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       409.93
      7/18/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          324
      7/18/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       461.01
      7/18/2015   709   VB0015   Owner Operator   FUEL TAX                       May 2015-QC                         180.36
      7/18/2015   709   VB0015   Owner Operator   Highway Use Tax                HUTC:2016 - Q1112                    10.58
      7/18/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      7/18/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      7/18/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 183898 Tractor Sub leas      242.03
      7/18/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/18/2015   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
      7/18/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      7/18/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      7/18/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      7/18/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      7/18/2015   709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                    -2500
      7/18/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      7/18/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      7/18/2015   709   VJ0006   Owner Operator   Express Check                  T-Check Payment                       2500
      7/18/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           150
      7/18/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           220
      7/18/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            80
      7/18/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.8
      7/18/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.2
      7/18/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      7/18/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.44
      7/18/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.06
      7/18/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        12.46
      7/18/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.19
      7/18/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.68
      7/18/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.56
      7/18/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.66
      7/18/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        160.3
      7/18/2015   709   VJ0006   Owner Operator   FUEL TAX                       May 2015-QC                         395.18
      7/18/2015   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                      100
      7/18/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      7/18/2015   709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00321147 - PO System         367.4
      7/18/2015   709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00321147 - PO System        162.13
      7/18/2015   709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00321147 - PO System         367.4
      7/18/2015   709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00321147 - PO System        367.36
      7/18/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      7/18/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                       279.92
      7/18/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      7/18/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      7/18/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      7/18/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      7/18/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75

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      7/18/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      7/18/2015   709   WH0073   Owner Operator   Broker Pre Pass                Q1235 PrePass Device                  12.5
      7/18/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      7/18/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      7/18/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      7/18/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      7/18/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/18/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/18/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/18/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/18/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.79
      7/18/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.11
      7/18/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.95
      7/18/2015   709   WH0073   Owner Operator   FUEL TAX                       May 2015-QC                         158.02
      7/18/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
      7/18/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
      7/18/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      7/18/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      7/18/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD               65.4
      7/18/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
      7/18/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 183605 Sub, Sub Lease        396.13
      7/18/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 183785 Sub, Sub Lease        396.13
      7/18/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      7/18/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      7/18/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/18/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/18/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/18/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/18/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/18/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/18/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/18/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/18/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.11
      7/18/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.38
      7/18/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.71
      7/18/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       442.86
      7/18/2015   742   AP0047   Owner Operator   FUEL TAX                       May 2015-QC                          -1.38
      7/18/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      7/18/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      7/18/2015   742   BS0030   Owner Operator   Broker Pre Pass                32947 PrePass Device                  12.5
      7/18/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      7/18/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      7/18/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      7/18/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      7/18/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      7/18/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      7/18/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      7/18/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      7/18/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      7/18/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      7/18/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                         98.23
      7/18/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/18/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/18/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/18/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/18/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/18/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/18/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/18/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/18/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/18/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/18/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.01
      7/18/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        34.32
      7/18/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.02
      7/18/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       408.37
      7/18/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.83
      7/18/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.01
      7/18/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.32
      7/18/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.42
      7/18/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.42

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      7/18/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.32
      7/18/2015   742   BS0030   Owner Operator   FUEL TAX                       April 2015-QC                       264.19
      7/18/2015   742   BS0030   Owner Operator   FUEL TAX                       May 2015-QC                          97.56
      7/18/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                     100
      7/18/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                     100
      7/18/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                    80.59
      7/18/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      7/18/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      7/18/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       131.18
      7/18/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      7/18/2015   742   BS0030   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      7/18/2015   742   BS0030   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      7/18/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      7/18/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      7/18/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.15
      7/18/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.52
      7/18/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.44
      7/18/2015   742   BS0078   Owner Operator   FUEL TAX                       May 2015-QC                         198.13
      7/18/2015   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                     100
      7/18/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      7/18/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      7/18/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      7/18/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      7/18/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      7/18/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      7/18/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      7/18/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      7/18/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      7/18/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      7/18/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      7/18/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro        2.24
      7/18/2015   742   LL0134   Owner Operator   FUEL TAX                       May 2015-QC                          -0.27
      7/18/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  0.27
      7/18/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      7/18/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      7/18/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/18/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.34
      7/18/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.97
      7/18/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.77
      7/18/2015   742   MH0117   Owner Operator   FUEL TAX                       May 2015-QC                         151.41
      7/18/2015   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                     100
      7/18/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      7/18/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      7/18/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      7/18/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      7/18/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/18/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.1
      7/18/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       353.19
      7/18/2015   742   NG0024   Owner Operator   FUEL TAX                       May 2015-QC                         134.61
      7/18/2015   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                     100
      7/18/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      7/18/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      7/18/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 183809 repair                  100
      7/18/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      7/18/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      7/18/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/18/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.95
      7/18/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.49
      7/18/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.42
      7/18/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.32
      7/18/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.43
      7/18/2015   742   RN0054   Owner Operator   FUEL TAX                       May 2015-QC                          92.35
      7/18/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      7/18/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      7/18/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      7/18/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5

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      7/18/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      7/18/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      7/18/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        331.4
      7/18/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.18
      7/18/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.48
      7/18/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.01
      7/18/2015   821   DW0138   Owner Operator   FUEL TAX                       May 2015-QC                         325.43
      7/18/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                     100
      7/18/2015   821   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
      7/18/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      7/18/2015   821   DW0138   Owner Operator   Tire Purchase                  PO: 821-00321478 - PO System        177.36
      7/18/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      7/18/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      7/18/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      7/18/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/18/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        237.8
      7/18/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        255.9
      7/18/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
      7/18/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 183817 Tractor Rent            125
      7/18/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      7/18/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      7/18/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/18/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.55
      7/18/2015   858   JR0099   Owner Operator   FUEL TAX                       May 2015-QC                         124.83
      7/18/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      7/18/2015   858   JR0099   Owner Operator   Tire Purchase                  PO: 858-00320947 - PO System        330.13
      7/18/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 183817 Q1203                 278.76
      7/18/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      7/18/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                     10.46
      7/18/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/18/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.55
      7/18/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.59
      7/18/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.88
      7/18/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        357.5
      7/18/2015   858   RP0082   Owner Operator   FUEL TAX                       May 2015-QC                          32.59
      7/18/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/18/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      7/18/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 183817 Truck Lease           278.76
      7/25/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      7/25/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      7/25/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      7/25/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      7/25/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.25
      7/25/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.3
      7/25/2015   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2015 - 21157A                      47
      7/25/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      7/25/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
      7/25/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      7/25/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      7/25/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      7/25/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/25/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.08
      7/25/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       425.64
      7/25/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.01
      7/25/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      7/25/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      7/25/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      7/25/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 184028 Trck Lease            353.28
      7/25/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/25/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/25/2015   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      7/25/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      7/25/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      7/25/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      7/25/2015   709   CM0119   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-11        176.75
      7/25/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/25/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/25/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.27

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      7/25/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       424.09
      7/25/2015   709   CM0119   Owner Operator   FUEL TAX                       May 2015-QC                         148.18
      7/25/2015   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                     100
      7/25/2015   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2015 - 32920                       47
      7/25/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      7/25/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
      7/25/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/25/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/25/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      7/25/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        52.07
      7/25/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      7/25/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      7/25/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      7/25/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/25/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/25/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.8
      7/25/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.29
      7/25/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.73
      7/25/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        137.2
      7/25/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.07
      7/25/2015   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2015 - 32864                       47
      7/25/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
      7/25/2015   709   CR0064   Owner Operator   Repair Order                   CTMS - 183942 Repair                  100
      7/25/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      7/25/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
      7/25/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      7/25/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      7/25/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      7/25/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/25/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/25/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/25/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.36
      7/25/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.97
      7/25/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.09
      7/25/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.18
      7/25/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.45
      7/25/2015   709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2016 - Q1104                    10.58
      7/25/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      7/25/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.86
      7/25/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      7/25/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 183993 Q1104                 252.11
      7/25/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      7/25/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      7/25/2015   709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/25/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
      7/25/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/25/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       558.16
      7/25/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       584.44
      7/25/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      7/25/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      7/25/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.69
      7/25/2015   709   DL0107   Owner Operator   Tire Purchase                  905-02085385                        172.38
      7/25/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 183947 Sublease              338.99
      7/25/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
      7/25/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/25/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      7/25/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      7/25/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      7/25/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       405.76
      7/25/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       436.81
      7/25/2015   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2015 - 32915                       47
      7/25/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
      7/25/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      7/25/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      7/25/2015   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/25/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       444.04
      7/25/2015   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2015 - 33320                       47

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      7/25/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/25/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                 19.51
      7/25/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      7/25/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                     13
      7/25/2015   709   EA0003   Owner Operator   ESCROW                         Escrow Withdrawal                -10000
      7/25/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                       250
      7/25/2015   709   EA0003   Owner Operator   Express Check                  T-Check Payment                   10000
      7/25/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/25/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/25/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      7/25/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      7/25/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                    454.89
      7/25/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                    339.71
      7/25/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                    421.12
      7/25/2015   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2015 - 33051                    47
      7/25/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/25/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             105.47
      7/25/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                    555.56
      7/25/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      7/25/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                     13
      7/25/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        500
      7/25/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      5
      7/25/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                    175.77
      7/25/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                    318.38
      7/25/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                    240.05
      7/25/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                    355.41
      7/25/2015   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2015 - 32910                    47
      7/25/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/25/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              91.91
      7/25/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                    505.27
      7/25/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      7/25/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                     13
      7/25/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                     13
      7/25/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                       250
      7/25/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                       250
      7/25/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        100
      7/25/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                      29.53
      7/25/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/25/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/25/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      7/25/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      7/25/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      7/25/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    224.42
      7/25/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    350.96
      7/25/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     30.98
      7/25/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    354.88
      7/25/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    311.21
      7/25/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    151.99
      7/25/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                    401.84
      7/25/2015   709   EH0020   Owner Operator   FUEL TAX                       May 2015-QC                       79.81
      7/25/2015   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2015 - 33065                    47
      7/25/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/25/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93
      7/25/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                    532.24
      7/25/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL        8.75
      7/25/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                     13
      7/25/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                        50
      7/25/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                         50
      7/25/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                         10
      7/25/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.1
      7/25/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.5
      7/25/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     255.6
      7/25/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                    225.72
      7/25/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                    201.26
      7/25/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                    250.64
      7/25/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                 10.58
      7/25/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                 31.68
      7/25/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/25/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD        29.51
      7/25/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 183993 73129              181.08
      7/25/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL              8.75
      7/25/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                    13
      7/25/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     520.9

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      7/25/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.95
      7/25/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.56
      7/25/2015   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2015 - 21521B                      47
      7/25/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.01
      7/25/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
      7/25/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      7/25/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      7/25/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/25/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.05
      7/25/2015   709   GS0015   Owner Operator   Highway Use Tax                HUTC:2016 - Q1110                    10.58
      7/25/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                    31.68
      7/25/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
      7/25/2015   709   GS0015   Owner Operator   Repair Order                   CTMS - 183943 Repair                119.41
      7/25/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 183993 Lease                 252.11
      7/25/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      7/25/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      7/25/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/25/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/25/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       485.58
      7/25/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.47
      7/25/2015   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2015 - 33180                       47
      7/25/2015   709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       254.11
      7/25/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
      7/25/2015   709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00321351 - PO System        203.52
      7/25/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      7/25/2015   709   HG0027   Owner Operator   Charge back by affiliate       CTMS - 184016 tank wash               -380
      7/25/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      7/25/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/25/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.88
      7/25/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.37
      7/25/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.95
      7/25/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.48
      7/25/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.04
      7/25/2015   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2015 - 33418                       47
      7/25/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      7/25/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      7/25/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/25/2015   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           500
      7/25/2015   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      7/25/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       124.64
      7/25/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.96
      7/25/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.27
      7/25/2015   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2015 - 32901                       47
      7/25/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      7/25/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/25/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      7/25/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      7/25/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/25/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/25/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/25/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/25/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       109.52
      7/25/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.59
      7/25/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.17
      7/25/2015   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2015 - Q1210                       47
      7/25/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 DelDOT D95 062515                  9
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 DRPA BFB 062515                 37.5
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 DRPA CBB 062615                 37.5
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 1 062715                    7
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 1 063015                    7
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 15 063015                 1.2
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 43 062715                 4.2
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 45 070715                 4.2
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 5 062715                 11.2
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 7 063015                 11.2
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 73 062715                 5.6

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      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 73 063015               5.6
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 89 062715               5.6
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 89 063015               5.6
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 9 062715                5.6
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 9 063015                5.6
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 97 062715              4.85
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 99 062715              11.2
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 99 063015              11.2
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 99 070715              11.2
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ITRCC EPT 070715             35.92
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ITRCC POR 062715             34.73
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 MdTA BHT 062515                 24
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 MdTA JFK 062515                 48
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 OTIC 2 062715                 33.5
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 OTIC 218 070815               33.5
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC HES 062615               25.73
      7/25/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC LEV 070815               15.21
      7/25/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                     458.72
      7/25/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/25/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                      13
      7/25/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                       500
      7/25/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                        300
      7/25/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      7/25/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     297.52
      7/25/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     413.45
      7/25/2015   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2015 - 32908                     47
      7/25/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/25/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               90.85
      7/25/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                      504.6
      7/25/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/25/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                      13
      7/25/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        100
      7/25/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        100
      7/25/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/25/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/25/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      7/25/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      7/25/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     461.81
      7/25/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      450.8
      7/25/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     441.59
      7/25/2015   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2015 - 32909                     47
      7/25/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/25/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               74.22
      7/25/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                     513.26
      7/25/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL               8.75
      7/25/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                      13
      7/25/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                      13
      7/25/2015   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-11      131.73
      7/25/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                         50
      7/25/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                         50
      7/25/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     100.15
      7/25/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     162.05
      7/25/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     136.63
      7/25/2015   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2015 - 33438                     47
      7/25/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/25/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD               19.51
      7/25/2015   709   JQ0015   Owner Operator   Truck Payment                  CTMS - 183923 tractor rental          80
      7/25/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                  10.58
      7/25/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                  31.68
      7/25/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                8.75
      7/25/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                   8.75
      7/25/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                      13
      7/25/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                       100
      7/25/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/25/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/25/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                     454.62
      7/25/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                     339.77
      7/25/2015   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2015 - 33325                     47
      7/25/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/25/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                15.93
      7/25/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                    37.5
      7/25/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/25/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                      13

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      7/25/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      7/25/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/25/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/25/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/25/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.95
      7/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.28
      7/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.03
      7/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.84
      7/25/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.77
      7/25/2015   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2015 - 32914                       47
      7/25/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      7/25/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/25/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      7/25/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      7/25/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      7/25/2015   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2015 - 9590                        47
      7/25/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      7/25/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      7/25/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      7/25/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         650
      7/25/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/25/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/25/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.95
      7/25/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       533.83
      7/25/2015   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 21489A                      47
      7/25/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.04
      7/25/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      7/25/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      7/25/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.29
      7/25/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      7/25/2015   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                        13
      7/25/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/25/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.1
      7/25/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.03
      7/25/2015   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2015 - 33435                       47
      7/25/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.15
      7/25/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      7/25/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/25/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      7/25/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/25/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/25/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.26
      7/25/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.65
      7/25/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.11
      7/25/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      7/25/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      7/25/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      7/25/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         550
      7/25/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
      7/25/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      7/25/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       496.25
      7/25/2015   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2015 - 32904                       47
      7/25/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.86
      7/25/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      7/25/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      7/25/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      7/25/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      7/25/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         350
      7/25/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.08
      7/25/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.45
      7/25/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.57
      7/25/2015   709   NB0029   Owner Operator   Highway Use Tax                HUTC:2016 - Q1108                    10.58
      7/25/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                    31.68
      7/25/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.15

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      7/25/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 184144 Lease                215.66
      7/25/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
      7/25/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
      7/25/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                         120
      7/25/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.2
      7/25/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      280.03
      7/25/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      193.97
      7/25/2015   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2015 - 21412B                     47
      7/25/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/25/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.97
      7/25/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL           8.75
      7/25/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                        13
      7/25/2015   709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-1      -269.49
      7/25/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/25/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD           28.11
      7/25/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL              8.75
      7/25/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      284.29
      7/25/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/25/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD              39.04
      7/25/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                 62.69
      7/25/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      7/25/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         500
      7/25/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      7/25/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      197.62
      7/25/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      477.63
      7/25/2015   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2015 - 32986                      47
      7/25/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/25/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               103.05
      7/25/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                      504.72
      7/25/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL          8.75
      7/25/2015   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-18        68.75
      7/25/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      249.14
      7/25/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      399.35
      7/25/2015   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2015 - 21975A                     47
      7/25/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/25/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD          45.29
      7/25/2015   709   RL0017   Owner Operator   Repair Order                   CTMS - 183943 Repair               151.29
      7/25/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      7/25/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                       13
      7/25/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
      7/25/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
      7/25/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
      7/25/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      7/25/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      7/25/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      7/25/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      442.83
      7/25/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      431.34
      7/25/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      435.64
      7/25/2015   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2015 - 32912                      47
      7/25/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/25/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.13
      7/25/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                      512.16
      7/25/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                 27.46
      7/25/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                    8.75
      7/25/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                      13
      7/25/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      435.09
      7/25/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      284.23
      7/25/2015   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 30811A                     47
      7/25/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/25/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                    13.26
      7/25/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism            2.5
      7/25/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                   10.58
      7/25/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                   31.68
      7/25/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                 11.12
      7/25/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                8.75
      7/25/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                       13
      7/25/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                        200
      7/25/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                         100
      7/25/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      7/25/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      448.16
      7/25/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      163.54
      7/25/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      428.86
      7/25/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      374.27

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      7/25/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.95
      7/25/2015   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2015 - 33236                       47
      7/25/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      7/25/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      7/25/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/25/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      7/25/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/25/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         85.9
      7/25/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.86
      7/25/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.99
      7/25/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.37
      7/25/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        90.09
      7/25/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      7/25/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      7/25/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      7/25/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/25/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       435.45
      7/25/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         427
      7/25/2015   709   VB0015   Owner Operator   Highway Use Tax                HUTC:2016 - Q1112                    10.58
      7/25/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      7/25/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      7/25/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 184136 Tractor Sub leas      242.03
      7/25/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/25/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      7/25/2015   709   VJ0006   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-1        -17.98
      7/25/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      7/25/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.69
      7/25/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.73
      7/25/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.86
      7/25/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.87
      7/25/2015   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2015 - 32945                       47
      7/25/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      7/25/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      7/25/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      7/25/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      7/25/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      7/25/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      7/25/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      7/25/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      7/25/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/25/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      7/25/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/25/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/25/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.72
      7/25/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.47
      7/25/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.23
      7/25/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.41
      7/25/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
      7/25/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      7/25/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.69
      7/25/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 183992 Sub, Sub Lease        396.13
      7/25/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      7/25/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/25/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/25/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/25/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/25/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.96
      7/25/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.15
      7/25/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.46
      7/25/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.25
      7/25/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      7/25/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      7/25/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      7/25/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/25/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          300
      7/25/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3

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      7/25/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/25/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       424.25
      7/25/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.21
      7/25/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.94
      7/25/2015   742   BS0030   Owner Operator   IRP License Deduction          LCIL:2015 - 32947                       47
      7/25/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      7/25/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      7/25/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      7/25/2015   742   BS0078   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-1         -39.2
      7/25/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.93
      7/25/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       486.62
      7/25/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.13
      7/25/2015   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                     100
      7/25/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.54
      7/25/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      7/25/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      7/25/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      7/25/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      7/25/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      7/25/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.77
      7/25/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.58
      7/25/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       416.36
      7/25/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.93
      7/25/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.39
      7/25/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.54
      7/25/2015   742   ED0041   Owner Operator   FUEL TAX                       May 2015-QC                          34.87
      7/25/2015   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                     100
      7/25/2015   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2015 - 32897                       47
      7/25/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      7/25/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
      7/25/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      7/25/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      7/25/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      7/25/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      7/25/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      7/25/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
      7/25/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      7/25/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/25/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/25/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      7/25/2015   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
      7/25/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/25/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/25/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/25/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/25/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.12
      7/25/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.09
      7/25/2015   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                     100
      7/25/2015   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2015 - 33195                       47
      7/25/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.18
      7/25/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      7/25/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      7/25/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      7/25/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      7/25/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      7/25/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/25/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         80.7
      7/25/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         326
      7/25/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.9
      7/25/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        252.9
      7/25/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.55
      7/25/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.33
      7/25/2015   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2015 - 33296                       47
      7/25/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.61
      7/25/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      7/25/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75

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      7/25/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
      7/25/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/25/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/25/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/25/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        648.52
      7/25/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        552.69
      7/25/2015   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2015 - 33252                        47
      7/25/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/25/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           100.76
      7/25/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter          2.5
      7/25/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 184074 repair                   100
      7/25/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/25/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/25/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      7/25/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      7/25/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      7/25/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      7/25/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/25/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/25/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/25/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/25/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.11
      7/25/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.4
      7/25/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        297.13
      7/25/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        171.05
      7/25/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.16
      7/25/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.82
      7/25/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        174.83
      7/25/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.92
      7/25/2015   742   PC0012   Owner Operator   FUEL TAX                       May 2015-QC                            81.1
      7/25/2015   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                        47
      7/25/2015   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2015 - 32969                      100
      7/25/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      7/25/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.74
      7/25/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.35
      7/25/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.38
      7/25/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
      7/25/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
      7/25/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
      7/25/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
      7/25/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/25/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        258.83
      7/25/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.85
      7/25/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        359.69
      7/25/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        160.12
      7/25/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.4
      7/25/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                    10.58
      7/25/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                    31.68
      7/25/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/25/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.25
      7/25/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      7/25/2015   742   RN0054   Owner Operator   Repair Order                   CTMS - 184074 repair                     80
      7/25/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL               8.75
      7/25/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL               8.75
      7/25/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                         13
      7/25/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                         13
      7/25/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.96
      7/25/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        330.75
      7/25/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        373.67
      7/25/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/25/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/25/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD               24.61
      7/25/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD               24.61
      7/25/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror          2.5
      7/25/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror          2.5
      7/25/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      7/25/2015   821   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-1        -721.23
      7/25/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                          100
      7/25/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.52
      7/25/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        229.69
      7/25/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        211.59
      7/25/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.54
      7/25/2015   821   DW0138   Owner Operator   IRP License Deduction          LCIL:2015 - 33443                        47

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      7/25/2015   821   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
      7/25/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
      7/25/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      7/25/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      7/25/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      7/25/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/25/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.43
      7/25/2015   858   CS0091   Owner Operator   Repair Order                   CTMS - 183943 Repair                285.23
      7/25/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 184028 Tractor Rent            125
      7/25/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      7/25/2015   858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      7/25/2015   858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/25/2015   858   JR0099   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/25/2015   858   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/25/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
      7/25/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 184027 Q1203                 278.76
      7/25/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      7/25/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      7/25/2015   858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                      2.54
      7/25/2015   858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/25/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.65
      7/25/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.03
      7/25/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/25/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
      7/25/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 184028 Truck Lease           278.76
       8/1/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
       8/1/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
       8/1/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
       8/1/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
       8/1/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.99
       8/1/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
       8/1/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/1/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
       8/1/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
       8/1/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
       8/1/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
       8/1/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
       8/1/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.99
       8/1/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.71
       8/1/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.85
       8/1/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
       8/1/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
       8/1/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/1/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
       8/1/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 184253 Trck Lease            353.28
       8/1/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       8/1/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
       8/1/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       448.77
       8/1/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       454.99
       8/1/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/1/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
       8/1/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
       8/1/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
       8/1/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
       8/1/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
       8/1/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
       8/1/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          100
       8/1/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       8/1/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       8/1/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.49
       8/1/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.54
       8/1/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.93
       8/1/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.56
       8/1/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        57.95
       8/1/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        57.63
       8/1/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/1/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
       8/1/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
       8/1/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
       8/1/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13

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      8/1/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/1/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/1/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/1/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       436.38
      8/1/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       419.96
      8/1/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2016 - Q1104                    10.58
      8/1/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      8/1/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      8/1/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      8/1/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 184212 Q1104                 252.11
      8/1/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      8/1/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      8/1/2015    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-8        -759.2
      8/1/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/1/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/1/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/1/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       553.19
      8/1/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      8/1/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      8/1/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      8/1/2015    709   DL0107   Owner Operator   Tire Purchase                  905-02085385                        172.38
      8/1/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 184175 Sublease              338.99
      8/1/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      8/1/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/1/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      8/1/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      8/1/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      8/1/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       503.94
      8/1/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      8/1/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      8/1/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      8/1/2015    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-8         -68.2
      8/1/2015    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-8         -68.2
      8/1/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/1/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       507.91
      8/1/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      8/1/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/1/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      8/1/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      8/1/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/1/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/1/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        363.2
      8/1/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      8/1/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      8/1/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/1/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      8/1/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          500
      8/1/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      8/1/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.47
      8/1/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.96
      8/1/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.43
      8/1/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      8/1/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      8/1/2015    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/1/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      8/1/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      8/1/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/1/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/1/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/1/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/1/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/1/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/1/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.51
      8/1/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                         0.83
      8/1/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        221.4
      8/1/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       401.94
      8/1/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      8/1/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      8/1/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      8/1/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      8/1/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
      8/1/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      8/1/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            60
      8/1/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      8/1/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      8/1/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      8/1/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        155.5
      8/1/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.33
      8/1/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.44
      8/1/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      8/1/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      8/1/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      8/1/2015    709   FT0004   Owner Operator   Repair Order                   CTMS - 184170 Tire                    100
      8/1/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 184212 73129                 181.08
      8/1/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      8/1/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      8/1/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         52.4
      8/1/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.12
      8/1/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.13
      8/1/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      8/1/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
      8/1/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      8/1/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      8/1/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/1/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.13
      8/1/2015    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.33
      8/1/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2016 - Q1110                    10.58
      8/1/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                    31.68
      8/1/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      8/1/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 184212 Lease                 252.11
      8/1/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      8/1/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      8/1/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.04
      8/1/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.62
      8/1/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.73
      8/1/2015    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        396.7
      8/1/2015    709   HG0007   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment        246.9
      8/1/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      8/1/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      8/1/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      8/1/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/1/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/1/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/1/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.76
      8/1/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.89
      8/1/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.07
      8/1/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.55
      8/1/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      8/1/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      8/1/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/1/2015    709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -50
      8/1/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.28
      8/1/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        21.11
      8/1/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.62
      8/1/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      8/1/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/1/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      8/1/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      8/1/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      8/1/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      8/1/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      8/1/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      8/1/2015    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-18         17.98
      8/1/2015    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200

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      8/1/2015    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                       200
      8/1/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/1/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/1/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/1/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/1/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     122.69
      8/1/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     410.83
      8/1/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      60.31
      8/1/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     458.76
      8/1/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     426.92
      8/1/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/1/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                78.13
      8/1/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                     458.72
      8/1/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/1/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                      13
      8/1/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                       500
      8/1/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                        100
      8/1/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/1/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/1/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      8/1/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     293.56
      8/1/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     494.11
      8/1/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     266.02
      8/1/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/1/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               90.86
      8/1/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                      504.6
      8/1/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/1/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                      13
      8/1/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/1/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/1/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        100
      8/1/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      8/1/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/1/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/1/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     403.21
      8/1/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     456.37
      8/1/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     445.17
      8/1/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/1/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               74.22
      8/1/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                     513.26
      8/1/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL               8.75
      8/1/2015    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                      13
      8/1/2015    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-8       -68.2
      8/1/2015    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-8       -68.2
      8/1/2015    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/1/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       120
      8/1/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     147.35
      8/1/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     193.09
      8/1/2015    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/1/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD               19.54
      8/1/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                  10.58
      8/1/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                  31.68
      8/1/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                8.75
      8/1/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                   8.75
      8/1/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                      13
      8/1/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                       100
      8/1/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/1/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/1/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       415
      8/1/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                     428.86
      8/1/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/1/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                15.94
      8/1/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                    37.5
      8/1/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/1/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                      13
      8/1/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                       250
      8/1/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                        100
      8/1/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                        100
      8/1/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      8/1/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      8/1/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     142.57
      8/1/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     420.46
      8/1/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     171.53

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      8/1/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.12
      8/1/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       424.13
      8/1/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      8/1/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/1/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      8/1/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      8/1/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      8/1/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      8/1/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      8/1/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      8/1/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                          650
      8/1/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       508.55
      8/1/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.47
      8/1/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
      8/1/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      8/1/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      8/1/2015    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/1/2015    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/1/2015    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/1/2015    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/1/2015    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.45
      8/1/2015    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.48
      8/1/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      8/1/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      8/1/2015    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                        13
      8/1/2015    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/1/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.07
      8/1/2015    709   MG0067   Owner Operator   Miscellaneous                  Reversal of charges- PNET             -273
      8/1/2015    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      8/1/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      8/1/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      8/1/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      8/1/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.68
      8/1/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.63
      8/1/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      8/1/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      8/1/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      8/1/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      8/1/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          550
      8/1/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           300
      8/1/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/1/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.24
      8/1/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      8/1/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      8/1/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      8/1/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      8/1/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      8/1/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          350
      8/1/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.14
      8/1/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.72
      8/1/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2016 - Q1108                    10.58
      8/1/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                    31.68
      8/1/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      8/1/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 184348 Lease                 215.66
      8/1/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      8/1/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      8/1/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           160
      8/1/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           160
      8/1/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
      8/1/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
      8/1/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        293.9
      8/1/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        90.58
      8/1/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      8/1/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL            8.75

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      8/1/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                       13
      8/1/2015    709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-25      269.49
      8/1/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/1/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD          28.13
      8/1/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL             8.75
      8/1/2015    709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/1/2015    709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/1/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     395.26
      8/1/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/1/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD             39.07
      8/1/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                 62.7
      8/1/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/1/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                        500
      8/1/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      8/1/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     262.06
      8/1/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     340.19
      8/1/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/1/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              103.07
      8/1/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                     504.72
      8/1/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL         8.75
      8/1/2015    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-8      -68.75
      8/1/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     366.57
      8/1/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     215.19
      8/1/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/1/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD         45.32
      8/1/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/1/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                      13
      8/1/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      8/1/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      8/1/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      8/1/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      8/1/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     425.48
      8/1/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     439.92
      8/1/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/1/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.15
      8/1/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                     512.16
      8/1/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                27.48
      8/1/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                   8.75
      8/1/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                     13
      8/1/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     232.39
      8/1/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       353
      8/1/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/1/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                   13.29
      8/1/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism           2.5
      8/1/2015    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                  10.58
      8/1/2015    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                  31.68
      8/1/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                11.12
      8/1/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL               8.75
      8/1/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                      13
      8/1/2015    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                       200
      8/1/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/1/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/1/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                     287.54
      8/1/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                     351.43
      8/1/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                     239.62
      8/1/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/1/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD              100.98
      8/1/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                     564.33
      8/1/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL               8.75
      8/1/2015    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                      13
      8/1/2015    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/1/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                     283.69
      8/1/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                      341.2
      8/1/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                     106.88
      8/1/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                     111.95
      8/1/2015    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/1/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD               42.97
      8/1/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL         8.75
      8/1/2015    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                       8
      8/1/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/1/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     275.05
      8/1/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     319.09
      8/1/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2016 - Q1112                  10.58

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      8/1/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      8/1/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      8/1/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 184339 Tractor Sub leas      242.03
      8/1/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      8/1/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      8/1/2015    709   VJ0006   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-25         17.98
      8/1/2015    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      8/1/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.94
      8/1/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.21
      8/1/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.02
      8/1/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      8/1/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      8/1/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      8/1/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      8/1/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      8/1/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      8/1/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      8/1/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      8/1/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      8/1/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/1/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/1/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.95
      8/1/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        21.75
      8/1/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.07
      8/1/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      8/1/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      8/1/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/1/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/1/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/1/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/1/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.42
      8/1/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.31
      8/1/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.85
      8/1/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      8/1/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      8/1/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      8/1/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.3
      8/1/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        177.4
      8/1/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.95
      8/1/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      8/1/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      8/1/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      8/1/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      8/1/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      8/1/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      8/1/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      8/1/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      8/1/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/1/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/1/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.57
      8/1/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      8/1/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      8/1/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      8/1/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      8/1/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/1/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.88
      8/1/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.37
      8/1/2015    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.71
      8/1/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      8/1/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      8/1/2015    742   MH0117   Owner Operator   Tire Fee                       Tire Fee: 1842595                       16
      8/1/2015    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00322183 - PO System        401.63
      8/1/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      8/1/2015    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      8/1/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50

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      8/1/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.83
      8/1/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.24
      8/1/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      8/1/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      8/1/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 184272 repair                  100
      8/1/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/1/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      8/1/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      8/1/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/1/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/1/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.35
      8/1/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.62
      8/1/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.13
      8/1/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.43
      8/1/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      8/1/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      8/1/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      8/1/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      8/1/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.47
      8/1/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.64
      8/1/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.87
      8/1/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.95
      8/1/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      8/1/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      8/1/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      8/1/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      8/1/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 183762 Tractor Lease         353.28
      8/1/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 183953 Tractor Lease         353.28
      8/1/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 184179 Tractor Lease         353.28
      8/1/2015    771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      8/1/2015    771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      8/1/2015    771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.44
      8/1/2015    771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.09
      8/1/2015    771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.13
      8/1/2015    771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      8/1/2015    771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      8/1/2015    821   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-25        559.16
      8/1/2015    821   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-8         -74.7
      8/1/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.99
      8/1/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.82
      8/1/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.99
      8/1/2015    821   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
      8/1/2015    821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      8/1/2015    821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      8/1/2015    858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.16
      8/1/2015    858   CS0091   Owner Operator   Repair Order                   CTMS - 184170 Repair                285.23
      8/1/2015    858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      8/1/2015    858   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      8/1/2015    858   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/1/2015    858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.46
      8/1/2015    858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      8/1/2015    858   JR0099   Owner Operator   Truck Payment                  CTMS - 184252 Q1203                 278.76
      8/1/2015    858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      8/1/2015    858   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      8/1/2015    858   RP0082   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -50
      8/1/2015    858   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/1/2015    858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         315
      8/1/2015    858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.99
      8/1/2015    858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/1/2015    858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      8/1/2015    858   RP0082   Owner Operator   Truck Payment                  CTMS - 184253 Truck Lease           278.76
      8/8/2015    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      8/8/2015    709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 184488 AN0007. tractor         240
      8/8/2015    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      8/8/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/8/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/8/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            50
      8/8/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5

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      8/8/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/8/2015    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/8/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.85
      8/8/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.94
      8/8/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         6.48
      8/8/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.25
      8/8/2015    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       134.64
      8/8/2015    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      8/8/2015    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      8/8/2015    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      8/8/2015    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      8/8/2015    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      8/8/2015    709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.88
      8/8/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.68
      8/8/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        228.6
      8/8/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.47
      8/8/2015    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.9
      8/8/2015    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      8/8/2015    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      8/8/2015    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      8/8/2015    709   AR0064   Owner Operator   Repair Order                   CTMS - 184382 Repair                336.28
      8/8/2015    709   AR0064   Owner Operator   Repair Order                   CTMS - 184575 Repair                336.28
      8/8/2015    709   AR0064   Owner Operator   Truck Payment                  CTMS - 184461 Trck Lease            353.28
      8/8/2015    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/8/2015    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      8/8/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/8/2015    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/8/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       478.05
      8/8/2015    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       398.79
      8/8/2015    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      8/8/2015    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/8/2015    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      8/8/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      8/8/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      8/8/2015    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/8/2015    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/8/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.9
      8/8/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.18
      8/8/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.98
      8/8/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      8/8/2015    709   CR0064   Owner Operator   Repair Order                   CTMS - 184382 Repair                101.26
      8/8/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      8/8/2015    709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      8/8/2015    709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.26
      8/8/2015    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
      8/8/2015    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
      8/8/2015    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      8/8/2015    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      8/8/2015    709   CS0091   Owner Operator   Repair Order                   CTMS - 184574 Repair                285.23
      8/8/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      8/8/2015    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      8/8/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/8/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/8/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.78
      8/8/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.43
      8/8/2015    709   DJ0028   Owner Operator   Highway Use Tax                HUTC:2016 - Q1104                    10.58
      8/8/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    31.68
      8/8/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      8/8/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      8/8/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 184426 Q1104                 252.11
      8/8/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      8/8/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      8/8/2015    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-1          759.2
      8/8/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300

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      8/8/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      8/8/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                     542.41
      8/8/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      562.7
      8/8/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                  10.58
      8/8/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                  31.68
      8/8/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/8/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD            65.71
      8/8/2015    709   DL0107   Owner Operator   Tire Fee                       Tire Fee: 1844094                      8
      8/8/2015    709   DL0107   Owner Operator   Tire Purchase                  905-02085385                      172.38
      8/8/2015    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00323869 - PO System      210.84
      8/8/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 184389 Sublease            338.99
      8/8/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                18.38
      8/8/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/8/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                      13
      8/8/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                        500
      8/8/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      8/8/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                     309.21
      8/8/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                     337.05
      8/8/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                     383.89
      8/8/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/8/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               92.35
      8/8/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                     512.35
      8/8/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                  8.75
      8/8/2015    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-1         68.2
      8/8/2015    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-1         68.2
      8/8/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/8/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                     419.01
      8/8/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/8/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                  19.54
      8/8/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/8/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                      13
      8/8/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                       250
      8/8/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/8/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/8/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/8/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/8/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     298.19
      8/8/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     256.44
      8/8/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     257.35
      8/8/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     293.43
      8/8/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/8/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              105.47
      8/8/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                     555.56
      8/8/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/8/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                      13
      8/8/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        500
      8/8/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      8/8/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     426.34
      8/8/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     188.49
      8/8/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      308.7
      8/8/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     306.97
      8/8/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/8/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.92
      8/8/2015    709   EE0011   Owner Operator   Tire Fee                       Tire Fee: 1844511                      8
      8/8/2015    709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00324121 - PO System      208.64
      8/8/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                     505.27
      8/8/2015    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/8/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                      13
      8/8/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                       250
      8/8/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/8/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/8/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/8/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/8/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     193.86
      8/8/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       0.35
      8/8/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     231.28
      8/8/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      38.41
      8/8/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     351.71
      8/8/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/8/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.01
      8/8/2015    709   EH0020   Owner Operator   Tire Fee                       Tire Fee: 1839833                      8
      8/8/2015    709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00323355 - PO System      304.33
      8/8/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                     532.24

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      8/8/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      8/8/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      8/8/2015    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      8/8/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      8/8/2015    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      8/8/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.51
      8/8/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.07
      8/8/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.99
      8/8/2015    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        90.47
      8/8/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      8/8/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      8/8/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      8/8/2015    709   FT0004   Owner Operator   Tire Fee                       Tire Fee: 1841043                        4
      8/8/2015    709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00322973 - PO System         28.61
      8/8/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 184426 73129                 181.08
      8/8/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      8/8/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      8/8/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       420.28
      8/8/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       442.12
      8/8/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      8/8/2015    709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
      8/8/2015    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      8/8/2015    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      8/8/2015    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    709   GS0015   Owner Operator   Highway Use Tax                HUTC:2016 - Q1110                    10.58
      8/8/2015    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                    31.68
      8/8/2015    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      8/8/2015    709   GS0015   Owner Operator   Repair Order                   CTMS - 184384 Truck Wash                60
      8/8/2015    709   GS0015   Owner Operator   Truck Payment                  CTMS - 184426 Lease                 252.11
      8/8/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      8/8/2015    709   HG0027   Owner Operator   Charge back by affiliate       CTMS - 184486 HG0027 - Bonus r         500
      8/8/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      8/8/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/8/2015    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/8/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.49
      8/8/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          235
      8/8/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      8/8/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      8/8/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/8/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.07
      8/8/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        22.92
      8/8/2015    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.11
      8/8/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      8/8/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/8/2015    709   IR0002   Owner Operator   Tire Fee                       Tire Fee: 1844136                       16
      8/8/2015    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00323849 - PO System        344.07
      8/8/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      8/8/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      8/8/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/8/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/8/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/8/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/8/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        59.56
      8/8/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.26
      8/8/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      8/8/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      8/8/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/8/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      8/8/2015    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1000
      8/8/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      8/8/2015    709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1000
      8/8/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      8/8/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/8/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       401.95

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      8/8/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.98
      8/8/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      8/8/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      8/8/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/8/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      8/8/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/8/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/8/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/8/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/8/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/8/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/8/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.01
      8/8/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.25
      8/8/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.37
      8/8/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      8/8/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      8/8/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      8/8/2015    709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 184487 JQ0015. Bonus re        250
      8/8/2015    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      8/8/2015    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-1           68.2
      8/8/2015    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-1           68.2
      8/8/2015    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       127.76
      8/8/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.01
      8/8/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.65
      8/8/2015    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      8/8/2015    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      8/8/2015    709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      8/8/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      8/8/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      8/8/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      8/8/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      8/8/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      8/8/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/8/2015    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/8/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.32
      8/8/2015    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       429.01
      8/8/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      8/8/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      8/8/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/8/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      8/8/2015    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-15       -93.75
      8/8/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      8/8/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/8/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/8/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/8/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/8/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.6
      8/8/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.01
      8/8/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      8/8/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/8/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      8/8/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      8/8/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      8/8/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      8/8/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      8/8/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      8/8/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         650
      8/8/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.37
      8/8/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.21
      8/8/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       566.32
      8/8/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
      8/8/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      8/8/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      8/8/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      8/8/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      8/8/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      8/8/2015    709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 184486 MG0067. Bonus re        250
      8/8/2015    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         410
      8/8/2015    709   MG0067   Owner Operator   Miscellaneous                  Charged in error                       -78
      8/8/2015    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      8/8/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      8/8/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      8/8/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      8/8/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/8/2015    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/8/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.79
      8/8/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.08
      8/8/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.8
      8/8/2015    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.35
      8/8/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      8/8/2015    709   MM0093   Owner Operator   Repair Order                   CTMS - 184385 Repair                277.58
      8/8/2015    709   MM0093   Owner Operator   Repair Order                   CTMS - 184574 Repair                277.58
      8/8/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      8/8/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      8/8/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      8/8/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         550
      8/8/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
      8/8/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      8/8/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        468.9
      8/8/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      8/8/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      8/8/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      8/8/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      8/8/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      8/8/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         350
      8/8/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        192.8
      8/8/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.22
      8/8/2015    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.99
      8/8/2015    709   NB0029   Owner Operator   Highway Use Tax                HUTC:2016 - Q1108                    10.58
      8/8/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                    31.68
      8/8/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      8/8/2015    709   NB0029   Owner Operator   Repair Order                   CTMS - 184385 Repair                165.45
      8/8/2015    709   NB0029   Owner Operator   Tire Fee                       Tire Fee: 1841117                       32
      8/8/2015    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00323299 - PO System        703.87
      8/8/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 184558 Lease                 215.66
      8/8/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      8/8/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      8/8/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            60
      8/8/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      8/8/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.37
      8/8/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
      8/8/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      8/8/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL            8.75
      8/8/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
      8/8/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
      8/8/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      8/8/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.78
      8/8/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      8/8/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   62.7
      8/8/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/8/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      8/8/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      8/8/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.24
      8/8/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       521.82
      8/8/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      8/8/2015    709   RC0089   Owner Operator   T Chek Fee                     Advance 32986                       653.68
      8/8/2015    709   RC0089   Owner Operator   T Chek Fee                     ExpressCheck Fee                      6.54
      8/8/2015    709   RC0089   Owner Operator   Tire Fee                       Tire Fee: 1844121                        8

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      8/8/2015    709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00323848 - PO System        172.04
      8/8/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      8/8/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      8/8/2015    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-1          68.75
      8/8/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       415.29
      8/8/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      8/8/2015    709   RL0017   Owner Operator   Repair Order                   CTMS - 184382 Parts                   75.7
      8/8/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/8/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      8/8/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/8/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/8/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/8/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/8/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/8/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/8/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       405.72
      8/8/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       422.55
      8/8/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       417.25
      8/8/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      8/8/2015    709   RL0062   Owner Operator   Tire Fee                       Tire Fee: 1839162                        8
      8/8/2015    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00322579 - PO System        221.15
      8/8/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      8/8/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      8/8/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
      8/8/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
      8/8/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.86
      8/8/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.18
      8/8/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
      8/8/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
      8/8/2015    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      8/8/2015    709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.63
      8/8/2015    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.15
      8/8/2015    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      8/8/2015    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      8/8/2015    709   RP0082   Owner Operator   Truck Payment                  CTMS - 184460 Truck Lease           278.76
      8/8/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
      8/8/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      8/8/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      8/8/2015    709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-15       -93.75
      8/8/2015    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      8/8/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/8/2015    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/8/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.78
      8/8/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        79.49
      8/8/2015    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.03
      8/8/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      8/8/2015    709   SB0009   Owner Operator   Repair Order                   CTMS - 184384 Repair                 144.4
      8/8/2015    709   SB0009   Owner Operator   Tire Fee                       Tire Fee: 1844512                        8
      8/8/2015    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00324122 - PO System        168.73
      8/8/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      8/8/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      8/8/2015    709   SN0019   Owner Operator   Charge back by affiliate       CTMS - 184487 SN0019. Bonus re        400
      8/8/2015    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      8/8/2015    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.88
      8/8/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.06
      8/8/2015    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      8/8/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      8/8/2015    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      8/8/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.69
      8/8/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         280
      8/8/2015    709   VB0015   Owner Operator   Highway Use Tax                HUTC:2016 - Q1112                    10.58
      8/8/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    31.68
      8/8/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      8/8/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 184549 Tractor Sub leas      242.03

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      8/8/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      8/8/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      8/8/2015    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      8/8/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      8/8/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      8/8/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.89
      8/8/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.96
      8/8/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.14
      8/8/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.93
      8/8/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      8/8/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      8/8/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      8/8/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      8/8/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      8/8/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      8/8/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      8/8/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      8/8/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/8/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/8/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/8/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/8/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/8/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/8/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/8/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/8/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.67
      8/8/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.87
      8/8/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                         335
      8/8/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       435.14
      8/8/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
      8/8/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
      8/8/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      8/8/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      8/8/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
      8/8/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
      8/8/2015    709   WH0073   Owner Operator   Tire Purchase                  PO: 709-00323292 - PO System        175.09
      8/8/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 184207 tractor rental          500
      8/8/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      8/8/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      8/8/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/8/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/8/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/8/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/8/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.04
      8/8/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       426.14
      8/8/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        139.1
      8/8/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      8/8/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      8/8/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      8/8/2015    742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      8/8/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      8/8/2015    742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      8/8/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/8/2015    742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/8/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        157.8
      8/8/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.64
      8/8/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        28.09
      8/8/2015    742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       433.35
      8/8/2015    742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      8/8/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      8/8/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      8/8/2015    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      8/8/2015    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      8/8/2015    742   BS0078   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-25          39.2
      8/8/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.18
      8/8/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.79
      8/8/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.63

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      8/8/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       550.22
      8/8/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.04
      8/8/2015    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                     100
      8/8/2015    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                     100
      8/8/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      8/8/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      8/8/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      8/8/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      8/8/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      8/8/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      8/8/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       110.92
      8/8/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      8/8/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      8/8/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      8/8/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      8/8/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      8/8/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      8/8/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      8/8/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      8/8/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/8/2015    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/8/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.07
      8/8/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.56
      8/8/2015    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.08
      8/8/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      8/8/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      8/8/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/8/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      8/8/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      8/8/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        78.38
      8/8/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      8/8/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      8/8/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      8/8/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/8/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.52
      8/8/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.96
      8/8/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.88
      8/8/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.15
      8/8/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.02
      8/8/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      8/8/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      8/8/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      8/8/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      8/8/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 184393 Tractor Lease         353.28
      8/8/2015    771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      8/8/2015    771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      8/8/2015    771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.23
      8/8/2015    771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.41
      8/8/2015    771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      8/8/2015    771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      8/8/2015    821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      8/8/2015    821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      8/8/2015    821   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-25        162.07
      8/8/2015    821   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-1           74.7
      8/8/2015    821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      8/8/2015    821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      8/8/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.74
      8/8/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        189.9
      8/8/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                           14
      8/8/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.31
      8/8/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.88
      8/8/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.1
      8/8/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.99
      8/8/2015    821   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
      8/8/2015    821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/8/2015    821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52

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       8/8/2015   821   DW0138   Owner Operator   Repair Order                   TRACTOR 33443                           25
       8/8/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
       8/8/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
       8/8/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
       8/8/2015   858   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
       8/8/2015   858   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
       8/8/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        14.04
       8/8/2015   858   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.29
       8/8/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/8/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/8/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
       8/8/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
       8/8/2015   858   CS0091   Owner Operator   Repair Order                   CTMS - 184385 Repair                285.23
       8/8/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 184253 Tractor Rent            125
       8/8/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 184460 Tractor Rent            125
       8/8/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
       8/8/2015   858   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.59
       8/8/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/8/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
       8/8/2015   858   JR0099   Owner Operator   Repair Order                   CTMS - 184385 Repair                102.44
       8/8/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 184460 Q1203                 278.76
       8/8/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
       8/8/2015   858   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.41
       8/8/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/8/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      8/15/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      8/15/2015   709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 184664 AN0007. tractor         240
      8/15/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      8/15/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      8/15/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      8/15/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.66
      8/15/2015   709   AN0007   Owner Operator   FUEL TAX                       June 2015 QC                         82.65
      8/15/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      8/15/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      8/15/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      8/15/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      8/15/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      8/15/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/15/2015   709   AR0064   Owner Operator   Fuel Card Advances             Cash Advance                            50
      8/15/2015   709   AR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      8/15/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.5
      8/15/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.12
      8/15/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.92
      8/15/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.31
      8/15/2015   709   AR0064   Owner Operator   FUEL TAX                       June 2015 QC                        247.13
      8/15/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      8/15/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      8/15/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      8/15/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 184666 Trck Lease            353.28
      8/15/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/15/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      8/15/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.77
      8/15/2015   709   CM0119   Owner Operator   FUEL TAX                       June 2015 QC                         -10.1
      8/15/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      8/15/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/15/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      8/15/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      8/15/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      8/15/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/15/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/15/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.03
      8/15/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.62
      8/15/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.55
      8/15/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.49
      8/15/2015   709   CR0064   Owner Operator   FUEL TAX                       June 2015 QC                         31.43
      8/15/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      8/15/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      8/15/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      8/15/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50

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      8/15/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.46
      8/15/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.37
      8/15/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                     10.58
      8/15/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                     31.68
      8/15/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            8.75
      8/15/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/15/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/15/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        141.37
      8/15/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.38
      8/15/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        374.41
      8/15/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        324.62
      8/15/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        102.27
      8/15/2015   709   DJ0028   Owner Operator   FUEL TAX                       June 2015 QC                          36.14
      8/15/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                      100
      8/15/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD            46.88
      8/15/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter          2.5
      8/15/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      8/15/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      8/15/2015   709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/15/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
      8/15/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      8/15/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        552.65
      8/15/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        537.99
      8/15/2015   709   DL0107   Owner Operator   FUEL TAX                       June 2015 QC                         338.64
      8/15/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                     10.58
      8/15/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                     31.68
      8/15/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
      8/15/2015   709   DL0107   Owner Operator   Tire Purchase                  905-02085385                         172.35
      8/15/2015   709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00323869 - PO System         210.84
      8/15/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 184594 Sublease               338.99
      8/15/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
      8/15/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/15/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      8/15/2015   709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-22       -510.73
      8/15/2015   709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-22           -96
      8/15/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      8/15/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      8/15/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.2
      8/15/2015   709   DS0049   Owner Operator   FUEL TAX                       June 2015 QC                         169.89
      8/15/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
      8/15/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      8/15/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      8/15/2015   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/15/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        374.84
      8/15/2015   709   DS0225   Owner Operator   FUEL TAX                       June 2015 QC                         161.68
      8/15/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     19.54
      8/15/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/15/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      8/15/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      8/15/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/15/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/15/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/15/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/15/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        450.21
      8/15/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.93
      8/15/2015   709   EA0003   Owner Operator   FUEL TAX                       June 2015 QC                          78.53
      8/15/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      8/15/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      8/15/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/15/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
      8/15/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/15/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           300
      8/15/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      8/15/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/15/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.62
      8/15/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.45
      8/15/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        368.73
      8/15/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        144.74

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      8/15/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.84
      8/15/2015   709   EE0011   Owner Operator   FUEL TAX                       June 2015 QC                         86.14
      8/15/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      8/15/2015   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00324121 - PO System        208.64
      8/15/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      8/15/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/15/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      8/15/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      8/15/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/15/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/15/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/15/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/15/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/15/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/15/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.55
      8/15/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.51
      8/15/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.51
      8/15/2015   709   EH0020   Owner Operator   FUEL TAX                       June 2015 QC                         97.59
      8/15/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      8/15/2015   709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00323355 - PO System        304.33
      8/15/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      8/15/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      8/15/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      8/15/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/15/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            30
      8/15/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          120
      8/15/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
      8/15/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.3
      8/15/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.74
      8/15/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.51
      8/15/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.26
      8/15/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.51
      8/15/2015   709   FT0004   Owner Operator   FUEL TAX                       June 2015 QC                         -2.15
      8/15/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      8/15/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      8/15/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      8/15/2015   709   FT0004   Owner Operator   Repair Order                   CTMS - 184617 repair                 100.3
      8/15/2015   709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00322973 - PO System         28.61
      8/15/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 184636 73129                 181.08
      8/15/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      8/15/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      8/15/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       439.42
      8/15/2015   709   FV0001   Owner Operator   FUEL TAX                       June 2015 QC                        216.54
      8/15/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      8/15/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           27.45
      8/15/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      8/15/2015   709   HG0027   Owner Operator   Charge back by affiliate       CTMS - 184664 HG0027 - Bonus r        500
      8/15/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      8/15/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/15/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/15/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/15/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.96
      8/15/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.6
      8/15/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       515.01
      8/15/2015   709   HG0027   Owner Operator   FUEL TAX                       June 2015 QC                         60.14
      8/15/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      8/15/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      8/15/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/15/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.19
      8/15/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.13
      8/15/2015   709   IR0002   Owner Operator   FUEL TAX                       June 2015 QC                        -50.46
      8/15/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      8/15/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/15/2015   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00323849 - PO System        344.07
      8/15/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      8/15/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      8/15/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98

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      8/15/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      8/15/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      8/15/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      8/15/2015   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-22       -93.75
      8/15/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      8/15/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      8/15/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/15/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/15/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/15/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/15/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        370.9
      8/15/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.54
      8/15/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.54
      8/15/2015   709   JC0292   Owner Operator   FUEL TAX                       June 2015 QC                        242.56
      8/15/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      8/15/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      8/15/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/15/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      8/15/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      8/15/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/15/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/15/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/15/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/15/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.29
      8/15/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.68
      8/15/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.12
      8/15/2015   709   JG0017   Owner Operator   FUEL TAX                       June 2015 QC                         -1.12
      8/15/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      8/15/2015   709   JG0017   Owner Operator   Tire Fee                       Tire Fee: 1845813                       32
      8/15/2015   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00324123 - PO System        654.01
      8/15/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      8/15/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/15/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      8/15/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/15/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/15/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/15/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/15/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/15/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/15/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.32
      8/15/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       448.78
      8/15/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.83
      8/15/2015   709   JG0072   Owner Operator   FUEL TAX                       June 2015 QC                        176.13
      8/15/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      8/15/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      8/15/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      8/15/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      8/15/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      8/15/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      8/15/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/15/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/15/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.21
      8/15/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.32
      8/15/2015   709   JK0112   Owner Operator   FUEL TAX                       June 2015 QC                        144.28
      8/15/2015   709   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                       47
      8/15/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      8/15/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
      8/15/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      8/15/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      8/15/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      8/15/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      8/15/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      8/15/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      8/15/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      8/15/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      8/15/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       434.52

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      8/15/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      8/15/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      8/15/2015   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 184664 JQ0015. Bonus re         250
      8/15/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      8/15/2015   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-22       -791.45
      8/15/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/15/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        120.02
      8/15/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        157.13
      8/15/2015   709   JQ0015   Owner Operator   FUEL TAX                       June 2015 QC                           8.56
      8/15/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      8/15/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      8/15/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/15/2015   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.7
      8/15/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
      8/15/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
      8/15/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      8/15/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      8/15/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      8/15/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      8/15/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/15/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/15/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/15/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/15/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.62
      8/15/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        382.91
      8/15/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        388.85
      8/15/2015   709   JS0265   Owner Operator   FUEL TAX                       June 2015 QC                             19
      8/15/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      8/15/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      8/15/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/15/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      8/15/2015   709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-8           93.75
      8/15/2015   709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-22       -609.07
      8/15/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      8/15/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/15/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/15/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.4
      8/15/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        217.61
      8/15/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        117.45
      8/15/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.13
      8/15/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        370.01
      8/15/2015   709   KP0004   Owner Operator   FUEL TAX                       June 2015 QC                         296.62
      8/15/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      8/15/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      8/15/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      8/15/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
      8/15/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
      8/15/2015   709   LL0160   Owner Operator   FUEL TAX                       June 2015 QC                         192.66
      8/15/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
      8/15/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      8/15/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                        13
      8/15/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                          650
      8/15/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.4
      8/15/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        651.59
      8/15/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        218.52
      8/15/2015   709   LS0023   Owner Operator   FUEL TAX                       June 2015 QC                          -0.09
      8/15/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      39.07
      8/15/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     15.37
      8/15/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      8/15/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 184664 MG0067. Bonus re         250
      8/15/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/15/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.99
      8/15/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.08
      8/15/2015   709   MG0067   Owner Operator   FUEL TAX                       June 2015 QC                           0.04
      8/15/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      8/15/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      8/15/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75

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      8/15/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                      13
      8/15/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/15/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/15/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      388.9
      8/15/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                     468.28
      8/15/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/15/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD               53.13
      8/15/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                     337.19
      8/15/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      8/15/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                      13
      8/15/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                       550
      8/15/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                        280
      8/15/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.8
      8/15/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                     410.43
      8/15/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/15/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                  71.88
      8/15/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism          2.5
      8/15/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                     323.05
      8/15/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL          8.75
      8/15/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                      13
      8/15/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                       350
      8/15/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                        500
      8/15/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      8/15/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     296.94
      8/15/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     100.07
      8/15/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     321.46
      8/15/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     173.16
      8/15/2015   709   NB0029   Owner Operator   FUEL TAX                       June 2015 QC                      341.44
      8/15/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                   100
      8/15/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/15/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD          35.16
      8/15/2015   709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00323299 - PO System      703.87
      8/15/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 184755 Lease               215.66
      8/15/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL            8.75
      8/15/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                     13
      8/15/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                        140
      8/15/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.4
      8/15/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     264.02
      8/15/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      284.2
      8/15/2015   709   NG0005   Owner Operator   FUEL TAX                       June 2015 QC                       51.94
      8/15/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/15/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD            32.98
      8/15/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
      8/15/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                       13
      8/15/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/15/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD          28.13
      8/15/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL             8.75
      8/15/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     433.02
      8/15/2015   709   RC0030   Owner Operator   FUEL TAX                       June 2015 QC                      174.08
      8/15/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/15/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD             39.07
      8/15/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                 62.7
      8/15/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/15/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                        500
      8/15/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      8/15/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     396.16
      8/15/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     281.81
      8/15/2015   709   RC0089   Owner Operator   FUEL TAX                       June 2015 QC                      -23.33
      8/15/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/15/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              103.07
      8/15/2015   709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00323848 - PO System      172.04
      8/15/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                     504.72
      8/15/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL         8.75
      8/15/2015   709   RL0017   Owner Operator   FUEL TAX                       June 2015 QC                       -0.32
      8/15/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/15/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD         45.32
      8/15/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/15/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                      13
      8/15/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      8/15/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      8/15/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      8/15/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      8/15/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1

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      8/15/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/15/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       416.58
      8/15/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.82
      8/15/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.45
      8/15/2015   709   RL0062   Owner Operator   FUEL TAX                       June 2015 QC                        186.03
      8/15/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      8/15/2015   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00322579 - PO System        221.15
      8/15/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      8/15/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      8/15/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
      8/15/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
      8/15/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.7
      8/15/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.65
      8/15/2015   709   RM0026   Owner Operator   FUEL TAX                       June 2015 QC                        155.66
      8/15/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
      8/15/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
      8/15/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      8/15/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/15/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.05
      8/15/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      8/15/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      8/15/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 184666 Truck Lease           278.76
      8/15/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
      8/15/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      8/15/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      8/15/2015   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-8          93.75
      8/15/2015   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-22       -93.75
      8/15/2015   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-22       -93.75
      8/15/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      8/15/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.23
      8/15/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.33
      8/15/2015   709   SB0009   Owner Operator   FUEL TAX                       June 2015 QC                        102.82
      8/15/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      8/15/2015   709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00324122 - PO System        168.73
      8/15/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      8/15/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      8/15/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      8/15/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/15/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.11
      8/15/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       116.16
      8/15/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.82
      8/15/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       134.93
      8/15/2015   709   SN0019   Owner Operator   FUEL TAX                       June 2015 QC                        104.19
      8/15/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      8/15/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      8/15/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      8/15/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/15/2015   709   VB0015   Owner Operator   FUEL TAX                       June 2015 QC                        140.51
      8/15/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                     100
      8/15/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      8/15/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 184746 Tractor Sub leas      242.03
      8/15/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      8/15/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      8/15/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      8/15/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      8/15/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            50
      8/15/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      8/15/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      8/15/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.05
      8/15/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.99
      8/15/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.89
      8/15/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.49
      8/15/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.82
      8/15/2015   709   VJ0006   Owner Operator   FUEL TAX                       June 2015 QC                         84.87
      8/15/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      8/15/2015   709   VJ0006   Owner Operator   Tire Fee                       Tire Fee: 1846223                       16
      8/15/2015   709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00323870 - PO System        385.21

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      8/15/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      8/15/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      8/15/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      8/15/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      8/15/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      8/15/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      8/15/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      8/15/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/15/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/15/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/15/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/15/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.14
      8/15/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.26
      8/15/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.69
      8/15/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.27
      8/15/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.35
      8/15/2015   709   WH0073   Owner Operator   FUEL TAX                       June 2015 QC                        177.18
      8/15/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
      8/15/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      8/15/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
      8/15/2015   709   WH0073   Owner Operator   Repair Order                   CTMS - 184385 Repair                191.54
      8/15/2015   709   WH0073   Owner Operator   Repair Order                   CTMS - 184574 Repair                191.54
      8/15/2015   709   WH0073   Owner Operator   T Chek Fee                     ExpressCheck Fee                       3.4
      8/15/2015   709   WH0073   Owner Operator   T Chek Fee                     Tractor Repair Q1235                  340
      8/15/2015   709   WH0073   Owner Operator   Tire Purchase                  PO: 709-00323292 - PO System          19.2
      8/15/2015   709   WH0073   Owner Operator   Tire Purchase                  PO: 709-00323292 - PO System        257.33
      8/15/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 184211 Sub, Sub Lease        396.13
      8/15/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 184425 Sub, Sub Lease        396.13
      8/15/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 184636 Sub, Sub Lease        396.13
      8/15/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      8/15/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      8/15/2015   742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-22       -93.75
      8/15/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/15/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/15/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/15/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/15/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/15/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/15/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.67
      8/15/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       134.21
      8/15/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.55
      8/15/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.98
      8/15/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.36
      8/15/2015   742   AP0047   Owner Operator   FUEL TAX                       June 2015 QC                         67.61
      8/15/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      8/15/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      8/15/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      8/15/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      8/15/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/15/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/15/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/15/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/15/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/15/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/15/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        27.54
      8/15/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.94
      8/15/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.76
      8/15/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.67
      8/15/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.58
      8/15/2015   742   BS0030   Owner Operator   FUEL TAX                       June 2015 QC                         56.28
      8/15/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      8/15/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      8/15/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      8/15/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.61
      8/15/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.14
      8/15/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       406.18
      8/15/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.61
      8/15/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.36
      8/15/2015   742   BS0078   Owner Operator   FUEL TAX                       June 2015 QC                        104.93

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      8/15/2015   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                     100
      8/15/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      8/15/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      8/15/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      8/15/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      8/15/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.72
      8/15/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.59
      8/15/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.38
      8/15/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.42
      8/15/2015   742   ED0041   Owner Operator   FUEL TAX                       June 2015 QC                        100.08
      8/15/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      8/15/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      8/15/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      8/15/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      8/15/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      8/15/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      8/15/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      8/15/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      8/15/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/15/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/15/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        96.39
      8/15/2015   742   LL0134   Owner Operator   FUEL TAX                       June 2015 QC                        189.26
      8/15/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      8/15/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      8/15/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      8/15/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      8/15/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      8/15/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      8/15/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/15/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/15/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.68
      8/15/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.66
      8/15/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.18
      8/15/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        83.65
      8/15/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        14.55
      8/15/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.71
      8/15/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.54
      8/15/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.56
      8/15/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.96
      8/15/2015   742   MH0117   Owner Operator   FUEL TAX                       June 2015 QC                         41.93
      8/15/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      8/15/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      8/15/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      8/15/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      8/15/2015   742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00322183 - PO System        401.63
      8/15/2015   742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00322183 - PO System        401.63
      8/15/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      8/15/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      8/15/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      8/15/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      8/15/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/15/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/15/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/15/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/15/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/15/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/15/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.58
      8/15/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        435.9
      8/15/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.52
      8/15/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.11
      8/15/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.56
      8/15/2015   742   NG0024   Owner Operator   FUEL TAX                       June 2015 QC                         95.77
      8/15/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/15/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      8/15/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      8/15/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      8/15/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5

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      8/15/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 184647 repair                   100
      8/15/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/15/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      8/15/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      8/15/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      8/15/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      8/15/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/15/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/15/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/15/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/15/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.87
      8/15/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.5
      8/15/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.3
      8/15/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        264.27
      8/15/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.84
      8/15/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        243.03
      8/15/2015   742   PC0012   Owner Operator   FUEL TAX                       June 2015 QC                          64.49
      8/15/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      8/15/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.38
      8/15/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
      8/15/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         430.8
      8/15/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
      8/15/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
      8/15/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/15/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.05
      8/15/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        324.05
      8/15/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        221.41
      8/15/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        373.64
      8/15/2015   742   RN0054   Owner Operator   FUEL TAX                       June 2015 QC                          115.7
      8/15/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                    10.58
      8/15/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                    31.68
      8/15/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.26
      8/15/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      8/15/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 184599 Tractor Lease          353.28
      8/15/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL               8.75
      8/15/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                         13
      8/15/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        305.33
      8/15/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        354.61
      8/15/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD               24.61
      8/15/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror          2.5
      8/15/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         86.25
      8/15/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.26
      8/15/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.57
      8/15/2015   821   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         255.5
      8/15/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
      8/15/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      8/15/2015   821   JK0112   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-22       -319.12
      8/15/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      8/15/2015   858   CS0091   Owner Operator   FUEL TAX                       June 2015 QC                           0.09
      8/15/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            23.44
      8/15/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 184666 Tractor Rent             125
      8/15/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      8/15/2015   858   JR0099   Owner Operator   FUEL TAX                       June 2015 QC                          -0.04
      8/15/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      8/15/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 184665 Q1203                  278.76
      8/15/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      8/15/2015   858   RP0082   Owner Operator   FUEL TAX                       June 2015 QC                          73.46
      8/15/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      8/22/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL           8.75
      8/22/2015   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                  12.5
      8/22/2015   709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 184869 AN0007. tractor          240
      8/22/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                        13
      8/22/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                           400
      8/22/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
      8/22/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.5
      8/22/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment        305.79
      8/22/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      8/22/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
      8/22/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      8/22/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      8/22/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.82
      8/22/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.39
      8/22/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.87
      8/22/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      8/22/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      8/22/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      8/22/2015   709   AR0064   Owner Operator   Repair Order                   CTMS - 184782 Repair                336.28
      8/22/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 184866 Trck Lease            353.28
      8/22/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/22/2015   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      8/22/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      8/22/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/22/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/22/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.47
      8/22/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       442.62
      8/22/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
      8/22/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/22/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      8/22/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      8/22/2015   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
      8/22/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      8/22/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/22/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/22/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.47
      8/22/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.93
      8/22/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.91
      8/22/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        80.19
      8/22/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
      8/22/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      8/22/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      8/22/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/22/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.99
      8/22/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.83
      8/22/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
      8/22/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      8/22/2015   709   CS0091   Owner Operator   Repair Order                   CTMS - 184782 Repair                285.23
      8/22/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      8/22/2015   709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                  12.5
      8/22/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      8/22/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      8/22/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/22/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/22/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/22/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                         76.35
      8/22/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.76
      8/22/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/22/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.55
      8/22/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.19
      8/22/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.29
      8/22/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.56
      8/22/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.43
      8/22/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.64
      8/22/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.41
      8/22/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                     100
      8/22/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.86
      8/22/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      8/22/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 184636 Q1104                 252.11
      8/22/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 184827 Q1104                 252.11
      8/22/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      8/22/2015   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5
      8/22/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      8/22/2015   709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/22/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       504.21
      8/22/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      8/22/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      8/22/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      8/22/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD            65.69
      8/22/2015   709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                    4.31
      8/22/2015   709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245              430.97
      8/22/2015   709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00323869 - PO System      210.84
      8/22/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 184790 Sublease            338.99
      8/22/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                18.36
      8/22/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/22/2015   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                12.5
      8/22/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                      13
      8/22/2015   709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-15      510.73
      8/22/2015   709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-15          96
      8/22/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                         500
      8/22/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      8/22/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                     396.19
      8/22/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                     493.49
      8/22/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                     251.61
      8/22/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/22/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               92.33
      8/22/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                     512.35
      8/22/2015   709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                32.95
      8/22/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                  8.75
      8/22/2015   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/22/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      432.2
      8/22/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/22/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                  19.51
      8/22/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/22/2015   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                12.5
      8/22/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                      13
      8/22/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        250
      8/22/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      8/22/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/22/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     396.01
      8/22/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      252.3
      8/22/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/22/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              105.47
      8/22/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                     555.56
      8/22/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/22/2015   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                12.5
      8/22/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                      13
      8/22/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         500
      8/22/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      8/22/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     200.87
      8/22/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      303.6
      8/22/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     314.68
      8/22/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     304.58
      8/22/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     283.58
      8/22/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/22/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.91
      8/22/2015   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00324121 - PO System      208.64
      8/22/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                     505.27
      8/22/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/22/2015   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                12.5
      8/22/2015   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                12.5
      8/22/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                      13
      8/22/2015   709   EH0020   Owner Operator   ESCROW                         Escrow Withdrawal                  -8000
      8/22/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        250
      8/22/2015   709   EH0020   Owner Operator   Express Check                  T-Check Payment                     8000
      8/22/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      8/22/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      8/22/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/22/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/22/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      240.7
      8/22/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     405.77
      8/22/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     223.74
      8/22/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/22/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93
      8/22/2015   709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00323355 - PO System      304.33
      8/22/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                     532.24
      8/22/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL         8.75
      8/22/2015   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                12.5
      8/22/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                      13
      8/22/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/22/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          10

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      8/22/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/22/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
      8/22/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      8/22/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/22/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
      8/22/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.05
      8/22/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.75
      8/22/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        60.45
      8/22/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      8/22/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      8/22/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.51
      8/22/2015   709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00322973 - PO System         28.61
      8/22/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 184826 73129                 181.08
      8/22/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      8/22/2015   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
      8/22/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      8/22/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.8
      8/22/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        537.2
      8/22/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.78
      8/22/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.01
      8/22/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      8/22/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      8/22/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      8/22/2015   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      8/22/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      8/22/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      8/22/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      8/22/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/22/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/22/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       460.34
      8/22/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.64
      8/22/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.34
      8/22/2015   709   HG0007   Owner Operator   FUEL TAX                       June 2015 QC                        127.65
      8/22/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
      8/22/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      8/22/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      8/22/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      8/22/2015   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      8/22/2015   709   HG0027   Owner Operator   Charge back by affiliate       CTMS - 184869 HG0027 - Bonus r        500
      8/22/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      8/22/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/22/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/22/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/22/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.13
      8/22/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.22
      8/22/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.69
      8/22/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.28
      8/22/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      8/22/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      8/22/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/22/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.08
      8/22/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.29
      8/22/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      8/22/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/22/2015   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00323849 - PO System        344.07
      8/22/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      8/22/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      8/22/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      8/22/2015   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      8/22/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      8/22/2015   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-15         93.75
      8/22/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      8/22/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/22/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/22/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/22/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3

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      8/22/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.94
      8/22/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       557.92
      8/22/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.86
      8/22/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
      8/22/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      8/22/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/22/2015   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      8/22/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      8/22/2015   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1000
      8/22/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      8/22/2015   709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1000
      8/22/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/22/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/22/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/22/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/22/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       388.39
      8/22/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       401.65
      8/22/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.77
      8/22/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      8/22/2015   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00324123 - PO System        654.01
      8/22/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      8/22/2015   709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      8/22/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/22/2015   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
      8/22/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      8/22/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/22/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/22/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/22/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/22/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/22/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/22/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       466.39
      8/22/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       419.78
      8/22/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.99
      8/22/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      8/22/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      8/22/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      8/22/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      8/22/2015   709   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
      8/22/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      8/22/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      8/22/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      8/22/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      8/22/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      8/22/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      8/22/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/22/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/22/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/22/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/22/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.95
      8/22/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.82
      8/22/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.99
      8/22/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.25
      8/22/2015   709   JK0112   Owner Operator   FUEL TAX                       May 2015-QC                            263
      8/22/2015   709   JK0112   Owner Operator   IRP License Deduction          LCIL:2015 - 33211                      100
      8/22/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
      8/22/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      8/22/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      8/22/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      8/22/2015   709   JK0112   Owner Operator   T Chek Fee                     ExpressCheck Fee                      5.02
      8/22/2015   709   JK0112   Owner Operator   T Chek Fee                     Tractor Repair 33211                502.23
      8/22/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       200.88
      8/22/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      8/22/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      8/22/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      8/22/2015   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
      8/22/2015   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 184869 JQ0015. Bonus re         250
      8/22/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13

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      8/22/2015   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-15        791.45
      8/22/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/22/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.15
      8/22/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.46
      8/22/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.32
      8/22/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
      8/22/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      8/22/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/22/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      8/22/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      8/22/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      8/22/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      8/22/2015   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
      8/22/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      8/22/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      8/22/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/22/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/22/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/22/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/22/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       424.32
      8/22/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.81
      8/22/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.93
      8/22/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      8/22/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/22/2015   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      8/22/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      8/22/2015   709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-15        609.07
      8/22/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      8/22/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.95
      8/22/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.86
      8/22/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.99
      8/22/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       364.93
      8/22/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        75.88
      8/22/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      8/22/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/22/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      8/22/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      8/22/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      8/22/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      8/22/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      8/22/2015   709   LS0023   Owner Operator   Broker Pre Pass                21489A PrePass Device                 12.5
      8/22/2015   709   LS0023   Owner Operator   Broker Pre Pass                21489A PrePass Device                 12.5
      8/22/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      8/22/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         650
      8/22/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.41
      8/22/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.14
      8/22/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.04
      8/22/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      8/22/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      8/22/2015   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                 12.5
      8/22/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      8/22/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      8/22/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.42
      8/22/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.07
      8/22/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.29
      8/22/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    54.95
      8/22/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      8/22/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 184869 MG0067. Bonus re        250
      8/22/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/22/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          8.3
      8/22/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      8/22/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.15
      8/22/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      8/22/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      8/22/2015   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                  12.5

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      8/22/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       13
      8/22/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      444.09
      8/22/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      8/22/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                53.11
      8/22/2015   709   MM0093   Owner Operator   Repair Order                   CTMS - 184783 Repair               277.58
      8/22/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                      337.19
      8/22/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
      8/22/2015   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                 12.5
      8/22/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
      8/22/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        550
      8/22/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                         280
      8/22/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.8
      8/22/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                      545.85
      8/22/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      8/22/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   71.86
      8/22/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
      8/22/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                      323.05
      8/22/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           8.75
      8/22/2015   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                 12.5
      8/22/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
      8/22/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        350
      8/22/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      331.44
      8/22/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      370.41
      8/22/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                    100
      8/22/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      8/22/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD           35.15
      8/22/2015   709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00323299 - PO System       703.87
      8/22/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 184959 Lease                215.66
      8/22/2015   709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                 32.95
      8/22/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
      8/22/2015   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                12.5
      8/22/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
      8/22/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                         120
      8/22/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.2
      8/22/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      177.01
      8/22/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        270
      8/22/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      8/22/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.97
      8/22/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL           8.75
      8/22/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                        13
      8/22/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      8/22/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD           28.11
      8/22/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL              8.75
      8/22/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      8/22/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD              39.04
      8/22/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                 62.69
      8/22/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      8/22/2015   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-29      -84.46
      8/22/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         500
      8/22/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      8/22/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      448.82
      8/22/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      391.51
      8/22/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      8/22/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               103.05
      8/22/2015   709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00323848 - PO System       172.04
      8/22/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                      504.72
      8/22/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL          8.75
      8/22/2015   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                12.5
      8/22/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      356.52
      8/22/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      8/22/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD          45.29
      8/22/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      8/22/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                       13
      8/22/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
      8/22/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         200
      8/22/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      8/22/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      8/22/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      392.05
      8/22/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      402.41
      8/22/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      415.54
      8/22/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      8/22/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.13
      8/22/2015   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00322579 - PO System       221.15

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      8/22/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      8/22/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.46
      8/22/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                      8.75
      8/22/2015   709   RM0026   Owner Operator   Broker Pre Pass                30811A PrePass Device                  12.5
      8/22/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                        13
      8/22/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.12
      8/22/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.33
      8/22/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.66
      8/22/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                      13.26
      8/22/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism              2.5
      8/22/2015   709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      8/22/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      8/22/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/22/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.58
      8/22/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                     10.58
      8/22/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                     31.68
      8/22/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 184866 Truck Lease            278.76
      8/22/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                   11.12
      8/22/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      8/22/2015   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                   12.5
      8/22/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
      8/22/2015   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-15          93.75
      8/22/2015   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-15          93.75
      8/22/2015   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-29       -156.25
      8/22/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
      8/22/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/22/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/22/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        193.51
      8/22/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         85.59
      8/22/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.49
      8/22/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        268.28
      8/22/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        187.66
      8/22/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        387.57
      8/22/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
      8/22/2015   709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00324122 - PO System         168.73
      8/22/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
      8/22/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      8/22/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
      8/22/2015   709   SN0019   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-29        -98.28
      8/22/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/22/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        305.53
      8/22/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        103.38
      8/22/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.32
      8/22/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        104.24
      8/22/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
      8/22/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
      8/22/2015   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                   12.5
      8/22/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      8/22/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/22/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          225
      8/22/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                      100
      8/22/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
      8/22/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 184950 Tractor Sub leas       242.03
      8/22/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      8/22/2015   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                   12.5
      8/22/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
      8/22/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      8/22/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/22/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/22/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/22/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/22/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        106.29
      8/22/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.75
      8/22/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.46
      8/22/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
      8/22/2015   709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00323870 - PO System         385.21
      8/22/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
      8/22/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75

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      8/22/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      8/22/2015   709   WB0062   Owner Operator   Miscellaneous                  Crdt voide check 960071            -1190.58
      8/22/2015   709   WB0062   Owner Operator   Miscellaneous                  Manual check to replace 960071      1190.58
      8/22/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
      8/22/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      8/22/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL               8.75
      8/22/2015   709   WH0073   Owner Operator   Broker Pre Pass                Q1235 PrePass Device                   12.5
      8/22/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                         13
      8/22/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                         13
      8/22/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                         13
      8/22/2015   709   WH0073   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-29        -139.5
      8/22/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                           300
      8/22/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/22/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/22/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/22/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/22/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      8/22/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.2
      8/22/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                         32.17
      8/22/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.57
      8/22/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.15
      8/22/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        368.08
      8/22/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        333.85
      8/22/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                     10.58
      8/22/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                     31.68
      8/22/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD               65.69
      8/22/2015   709   WH0073   Owner Operator   Repair Order                   CTMS - 184782 Repair                 191.54
      8/22/2015   709   WH0073   Owner Operator   Tire Fee                       Tire Fee: 1841110                         8
      8/22/2015   709   WH0073   Owner Operator   Tire Purchase                  PO: 709-00323292 - PO System          63.04
      8/22/2015   709   WH0073   Owner Operator   Tire Purchase                  PO: 709-00323292 - PO System         257.33
      8/22/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 184826 Sub, Sub Lease         396.13
      8/22/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
      8/22/2015   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                   12.5
      8/22/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
      8/22/2015   742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-15          93.75
      8/22/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/22/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/22/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/22/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/22/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/22/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/22/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        407.71
      8/22/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.3
      8/22/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        154.11
      8/22/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        407.66
      8/22/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        135.95
      8/22/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 97.25
      8/22/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
      8/22/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.16
      8/22/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      8/22/2015   742   BS0078   Owner Operator   Broker Pre Pass                32665 PrePass Device                   12.5
      8/22/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
      8/22/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.33
      8/22/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        494.91
      8/22/2015   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                      100
      8/22/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.54
      8/22/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
      8/22/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
      8/22/2015   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                   12.5
      8/22/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
      8/22/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        132.02
      8/22/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        139.46
      8/22/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.12
      8/22/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.57
      8/22/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.34
      8/22/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
      8/22/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
      8/22/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                        13

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      8/22/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      8/22/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
      8/22/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      8/22/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      8/22/2015   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      8/22/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      8/22/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/22/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.34
      8/22/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.93
      8/22/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.19
      8/22/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.13
      8/22/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.61
      8/22/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      8/22/2015   742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00322183 - PO System        401.63
      8/22/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      8/22/2015   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      8/22/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      8/22/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/22/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           300
      8/22/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/22/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       540.17
      8/22/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.81
      8/22/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.64
      8/22/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
      8/22/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      8/22/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 184972 repair                   100
      8/22/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/22/2015   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
      8/22/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      8/22/2015   742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                    -3300
      8/22/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      8/22/2015   742   PC0012   Owner Operator   Express Check                  T-Check Payment                       3300
      8/22/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.37
      8/22/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.26
      8/22/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.91
      8/22/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      8/22/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
      8/22/2015   742   PC0012   Owner Operator   Repair Order                   CTMS - 184382 Repair                    70
      8/22/2015   742   PC0012   Owner Operator   Tire Fee                       Tire Fee: 1847570                        4
      8/22/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00323393 - PO System        111.76
      8/22/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      8/22/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      8/22/2015   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
      8/22/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      8/22/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/22/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.57
      8/22/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.94
      8/22/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.25
      8/22/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.77
      8/22/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.75
      8/22/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      8/22/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      8/22/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
      8/22/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      8/22/2015   742   RN0054   Owner Operator   Tire Fee                       Tire Fee: 1847629                       16
      8/22/2015   742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00324318 - PO System        384.77
      8/22/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 184795 Tractor Lease         353.28
      8/22/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      8/22/2015   771   EN0016   Owner Operator   Broker Pre Pass                32674 PrePass Device                  12.5
      8/22/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      8/22/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.24
      8/22/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.17
      8/22/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.93
      8/22/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.99
      8/22/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      8/22/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      8/22/2015   821   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  12.5
      8/22/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      8/22/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13

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      8/22/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      8/22/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      8/22/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.57
      8/22/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.03
      8/22/2015   821   DW0138   Owner Operator   FUEL TAX                       June 2015 QC                        199.58
      8/22/2015   821   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
      8/22/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
      8/22/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      8/22/2015   821   JK0112   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-15        319.12
      8/22/2015   821   JK0112   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-29      -276.04
      8/22/2015   821   JK0112   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-29      -595.16
      8/22/2015   821   JK0112   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-29      -595.16
      8/22/2015   858   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      8/22/2015   858   CS0091   Owner Operator   Broker Pre Pass                73130 PrePass Device                  12.5
      8/22/2015   858   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   858   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.43
      8/22/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 184866 Tractor Rent            125
      8/22/2015   858   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      8/22/2015   858   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
      8/22/2015   858   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   858   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
      8/22/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 184866 Q1203                 278.76
      8/22/2015   858   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      8/22/2015   858   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                  12.5
      8/22/2015   858   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/22/2015   858   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
      8/29/2015   709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 185077 AN0007. tractor         240
      8/29/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      8/29/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      8/29/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      8/29/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.21
      8/29/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.45
      8/29/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      8/29/2015   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
      8/29/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      8/29/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      8/29/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/29/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/29/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.88
      8/29/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.08
      8/29/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.36
      8/29/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.84
      8/29/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.16
      8/29/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.28
      8/29/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      8/29/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      8/29/2015   709   AR0064   Owner Operator   Repair Order                   CTMS - 184988 Repair                336.28
      8/29/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 185075 Trck Lease            353.28
      8/29/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      8/29/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/29/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/29/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.32
      8/29/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.66
      8/29/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      8/29/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      8/29/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       125.07
      8/29/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.34
      8/29/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      8/29/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      8/29/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/29/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.79
      8/29/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
      8/29/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      8/29/2015   709   CS0091   Owner Operator   Repair Order                   CTMS - 184988 Repair                285.23
      8/29/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      8/29/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
      8/29/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/29/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/29/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/29/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/29/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.57
      8/29/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.19

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      8/29/2015   709   DJ0028   Owner Operator   Fuel Purchase           Fuel Purchase                     223.45
      8/29/2015   709   DJ0028   Owner Operator   Fuel Purchase           Fuel Purchase                     253.72
      8/29/2015   709   DJ0028   Owner Operator   Fuel Purchase           Fuel Purchase                     294.96
      8/29/2015   709   DJ0028   Owner Operator   IRP License Deduction   LCIL:2015 - Q1104                   100
      8/29/2015   709   DJ0028   Owner Operator   Repair Order            CTMS - 184989 Repair               55.82
      8/29/2015   709   DJ0028   Owner Operator   Truck Payment           CTMS - 185037 Q1104               252.11
      8/29/2015   709   DL0107   Owner Operator   Communication Charge    PNet Hware Q1245                      13
      8/29/2015   709   DL0107   Owner Operator   ESCROW                  Weekly Escrow                         50
      8/29/2015   709   DL0107   Owner Operator   Fuel Card Advances      Cash Advance                        300
      8/29/2015   709   DL0107   Owner Operator   Fuel Card Advances      Cash Advance Fee                       3
      8/29/2015   709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                     489.83
      8/29/2015   709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                     515.38
      8/29/2015   709   DL0107   Owner Operator   Highway Use Tax         HUTC:2016 - Q1245                  10.58
      8/29/2015   709   DL0107   Owner Operator   IRP License Deduction   LCIL:2015 - Q1245                  31.68
      8/29/2015   709   DL0107   Owner Operator   Tire Purchase           PO: 709-00323869 - PO System      210.84
      8/29/2015   709   DL0107   Owner Operator   Truck Payment           CTMS - 184995 Sublease            338.99
      8/29/2015   709   DS0049   Owner Operator   Communication Charge    PNet Hware 32915                      13
      8/29/2015   709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance                        500
      8/29/2015   709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance Fee                       5
      8/29/2015   709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                      213.5
      8/29/2015   709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                     460.04
      8/29/2015   709   DS0049   Owner Operator   Tractor Charge          15738 - 32915                     512.35
      8/29/2015   709   DS0225   Owner Operator   ESCROW                  Weekly Escrow                         50
      8/29/2015   709   DS0225   Owner Operator   Fuel Purchase           Fuel Purchase                     397.41
      8/29/2015   709   EA0003   Owner Operator   Communication Charge    PNet Hware 33051                      13
      8/29/2015   709   EA0003   Owner Operator   ESCROW                  Weekly Escrow                       250
      8/29/2015   709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                        200
      8/29/2015   709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2
      8/29/2015   709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                     246.53
      8/29/2015   709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                      440.3
      8/29/2015   709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                      26.61
      8/29/2015   709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                     247.95
      8/29/2015   709   EA0003   Owner Operator   Tractor Charge          16439 - 33051                     555.56
      8/29/2015   709   EE0011   Owner Operator   Communication Charge    PNet Hware 32910                      13
      8/29/2015   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance                        300
      8/29/2015   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance Fee                       3
      8/29/2015   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                     295.94
      8/29/2015   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                     309.63
      8/29/2015   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                     216.82
      8/29/2015   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                     304.93
      8/29/2015   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                      272.8
      8/29/2015   709   EE0011   Owner Operator   Tire Purchase           PO: 709-00324121 - PO System      208.64
      8/29/2015   709   EE0011   Owner Operator   Tractor Charge          14619 - 32910                     505.27
      8/29/2015   709   EH0020   Owner Operator   Communication Charge    PNet Hware 33065                      13
      8/29/2015   709   EH0020   Owner Operator   ESCROW                  Weekly Escrow                       250
      8/29/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance                        100
      8/29/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance                        200
      8/29/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance                        200
      8/29/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2
      8/29/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2
      8/29/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance Fee                       1
      8/29/2015   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                     122.37
      8/29/2015   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                     272.27
      8/29/2015   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                     345.93
      8/29/2015   709   EH0020   Owner Operator   Tire Purchase           PO: 709-00323355 - PO System      304.33
      8/29/2015   709   EH0020   Owner Operator   Tractor Charge          16433 - 33065                     532.24
      8/29/2015   709   FT0004   Owner Operator   Communication Charge    PNet Hware 73129                      13
      8/29/2015   709   FT0004   Owner Operator   ESCROW                  Weekly Escrow                         50
      8/29/2015   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance                          20
      8/29/2015   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                     0.2
      8/29/2015   709   FT0004   Owner Operator   Fuel Purchase           Fuel Purchase                     215.11
      8/29/2015   709   FT0004   Owner Operator   Fuel Purchase           Fuel Purchase                     155.04
      8/29/2015   709   FT0004   Owner Operator   Highway Use Tax         HUTC:2016 - 73129                  10.58
      8/29/2015   709   FT0004   Owner Operator   IRP License Deduction   LCIL:2015 - 73129                  31.68
      8/29/2015   709   FT0004   Owner Operator   Repair Order            CTMS - 184989 Repair              197.02
      8/29/2015   709   FT0004   Owner Operator   Tire Purchase           PO: 709-00322973 - PO System       28.61
      8/29/2015   709   FT0004   Owner Operator   Truck Payment           CTMS - 185037 73129               181.08
      8/29/2015   709   FV0001   Owner Operator   Communication Charge    PNet Hware 21521B                     13
      8/29/2015   709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                     469.32
      8/29/2015   709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                     178.69
      8/29/2015   709   HG0007   Owner Operator   Communication Charge    PNet Hware 33180                      13
      8/29/2015   709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance                        300
      8/29/2015   709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance Fee                       3

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      8/29/2015   709   HG0007   Owner Operator   Fuel Purchase              Fuel Purchase                        438.4
      8/29/2015   709   HG0007   Owner Operator   Fuel Purchase              Fuel Purchase                       407.13
      8/29/2015   709   HG0007   Owner Operator   Fuel Purchase              Fuel Purchase                       339.15
      8/29/2015   709   HG0027   Owner Operator   Charge back by affiliate   CTMS - 185076 HG0027 - Bonus r        500
      8/29/2015   709   HG0027   Owner Operator   Communication Charge       PNet Hware 33418                        13
      8/29/2015   709   HG0027   Owner Operator   ESCROW                     Weekly Escrow                           50
      8/29/2015   709   HG0027   Owner Operator   Fuel Card Advances         Cash Advance                          300
      8/29/2015   709   HG0027   Owner Operator   Fuel Card Advances         Cash Advance Fee                         3
      8/29/2015   709   HG0027   Owner Operator   Fuel Purchase              Fuel Purchase                       450.42
      8/29/2015   709   IR0002   Owner Operator   Fuel Purchase              Fuel Purchase                       305.05
      8/29/2015   709   IR0002   Owner Operator   Fuel Purchase              Fuel Purchase                       273.32
      8/29/2015   709   IR0002   Owner Operator   Fuel Purchase              Fuel Purchase                        277.1
      8/29/2015   709   IR0002   Owner Operator   Fuel Purchase              Fuel Purchase                        26.79
      8/29/2015   709   IR0002   Owner Operator   Tire Purchase              PO: 709-00323849 - PO System        344.07
      8/29/2015   709   IR0002   Owner Operator   Tractor Charge             14461 - 32901                       521.95
      8/29/2015   709   JC0292   Owner Operator   Communication Charge       PNet Hware q1210                        13
      8/29/2015   709   JC0292   Owner Operator   ESCROW                     Weekly Escrow                         200
      8/29/2015   709   JC0292   Owner Operator   Fuel Card Advances         Cash Advance                          100
      8/29/2015   709   JC0292   Owner Operator   Fuel Card Advances         Cash Advance                          200
      8/29/2015   709   JC0292   Owner Operator   Fuel Card Advances         Cash Advance                          200
      8/29/2015   709   JC0292   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      8/29/2015   709   JC0292   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      8/29/2015   709   JC0292   Owner Operator   Fuel Card Advances         Cash Advance Fee                         1
      8/29/2015   709   JC0292   Owner Operator   Fuel Purchase              Fuel Purchase                       386.03
      8/29/2015   709   JC0292   Owner Operator   Fuel Purchase              Fuel Purchase                       383.57
      8/29/2015   709   JC0292   Owner Operator   Fuel Purchase              Fuel Purchase                       509.11
      8/29/2015   709   JC0292   Owner Operator   Repair Order               CTMS - 184988 Repair                483.95
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 DelDOT D95 071015                  9
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 DelDOT D95 071115                  9
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 DelDOT D95 071915                  9
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 DelDOT D95 072115                  9
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 DelDOT D95 072615                  9
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 DRBA DMB 071915                   25
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 DRPA BFB 071015                 37.5
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 DRPA BFB 072115                 37.5
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 DRPA BFB 072715                 37.5
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 DRPA CBB 071115                 37.5
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 DRPA CBB 073015                 37.5
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 ITRCC ELK 072815               17.28
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 MdTA FMT 072615                   24
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 MdTA JFK 071115                   48
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 MdTA JFK 072615                   48
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 MTAB&T RKB 071615              27.31
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 MTAB&T VNB 071615              54.62
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 NJTP 15E 073015                 5.05
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 NJTP 15X 073015                  2.8
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 NJTP 3 071615                  24.95
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 NJTP 3 073015                   31.1
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 NYSBA NBB 071615               11.25
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 OTIC 2 072815                   33.5
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 PTC BRZ 072515                 40.56
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 PTC HES 072015                 42.01
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 PTC MIC 070915                  5.43
      8/29/2015   709   JC0292   Owner Operator   Toll Charges               Q1210 PTC NST 073115                102.85
      8/29/2015   709   JC0292   Owner Operator   Tractor Charge             51362 - Q1210                       458.72
      8/29/2015   709   JG0017   Owner Operator   Communication Charge       PNet Hware 32908                        13
      8/29/2015   709   JG0017   Owner Operator   ESCROW                     Weekly Escrow                         500
      8/29/2015   709   JG0017   Owner Operator   Fuel Card Advances         Cash Advance                          300
      8/29/2015   709   JG0017   Owner Operator   Fuel Card Advances         Cash Advance Fee                         3
      8/29/2015   709   JG0017   Owner Operator   Fuel Purchase              Fuel Purchase                        351.3
      8/29/2015   709   JG0017   Owner Operator   Fuel Purchase              Fuel Purchase                       357.58
      8/29/2015   709   JG0017   Owner Operator   Tire Purchase              PO: 709-00324123 - PO System        654.01
      8/29/2015   709   JG0017   Owner Operator   Tractor Charge             14298 - 32908                        504.6
      8/29/2015   709   JG0072   Owner Operator   Communication Charge       PNet Hware 32909                        13
      8/29/2015   709   JG0072   Owner Operator   Fuel Card Advances         Cash Advance                          200
      8/29/2015   709   JG0072   Owner Operator   Fuel Card Advances         Cash Advance                          100
      8/29/2015   709   JG0072   Owner Operator   Fuel Card Advances         Cash Advance Fee                         1
      8/29/2015   709   JG0072   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      8/29/2015   709   JG0072   Owner Operator   Fuel Purchase              Fuel Purchase                       386.36
      8/29/2015   709   JG0072   Owner Operator   Fuel Purchase              Fuel Purchase                       406.24
      8/29/2015   709   JG0072   Owner Operator   Tractor Charge             14534 - 32909                       513.26
      8/29/2015   709   JK0112   Owner Operator   Fuel Card Advances         Cash Advance                          300
      8/29/2015   709   JK0112   Owner Operator   Fuel Card Advances         Cash Advance                        154.31

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      8/29/2015   709   JK0112   Owner Operator   Fuel Card Advances         Cash Advance Fee                          3
      8/29/2015   709   JK0112   Owner Operator   Fuel Card Advances         Cash Advance Fee                          3
      8/29/2015   709   JK0112   Owner Operator   Fuel Purchase              Fuel Purchase                        389.69
      8/29/2015   709   JK0112   Owner Operator   Fuel Purchase              Fuel Purchase                        102.92
      8/29/2015   709   JK0112   Owner Operator   Tractor Charge             52901 - 33211                         635.4
      8/29/2015   709   JQ0015   Owner Operator   Charge back by affiliate   CTMS - 185077 JQ0015. Bonus re         250
      8/29/2015   709   JQ0015   Owner Operator   Communication Charge       PNet Hware 33438                         13
      8/29/2015   709   JQ0015   Owner Operator   ESCROW                     Weekly Escrow                            50
      8/29/2015   709   JQ0015   Owner Operator   Fuel Purchase              Fuel Purchase                        163.18
      8/29/2015   709   JQ0015   Owner Operator   Fuel Purchase              Fuel Purchase                         134.6
      8/29/2015   709   JR0099   Owner Operator   Communication Charge       PNet Hware Q1203                         13
      8/29/2015   709   JR0099   Owner Operator   ESCROW                     Weekly Escrow                            50
      8/29/2015   709   JR0099   Owner Operator   Fuel Card Advances         Cash Advance                           100
      8/29/2015   709   JR0099   Owner Operator   Fuel Card Advances         Cash Advance Fee                          1
      8/29/2015   709   JR0099   Owner Operator   Fuel Purchase              Fuel Purchase                        325.44
      8/29/2015   709   JR0099   Owner Operator   Fuel Purchase              Fuel Purchase                        181.32
      8/29/2015   709   JR0099   Owner Operator   Highway Use Tax            HUTC:2016 - Q1203                     10.58
      8/29/2015   709   JR0099   Owner Operator   IRP License Deduction      LCIL:2015 - Q1203                     31.68
      8/29/2015   709   JS0265   Owner Operator   Communication Charge       PNet Hware 33325                         13
      8/29/2015   709   JS0265   Owner Operator   ESCROW                     Weekly Escrow                          100
      8/29/2015   709   JS0265   Owner Operator   Fuel Card Advances         Cash Advance                           200
      8/29/2015   709   JS0265   Owner Operator   Fuel Card Advances         Cash Advance                           200
      8/29/2015   709   JS0265   Owner Operator   Fuel Card Advances         Cash Advance Fee                          2
      8/29/2015   709   JS0265   Owner Operator   Fuel Card Advances         Cash Advance Fee                          2
      8/29/2015   709   JS0265   Owner Operator   Fuel Purchase              Fuel Purchase                        326.02
      8/29/2015   709   JS0265   Owner Operator   Fuel Purchase              Fuel Purchase                        333.74
      8/29/2015   709   JS0265   Owner Operator   Fuel Purchase              Fuel Purchase                        276.97
      8/29/2015   709   KP0004   Owner Operator   Communication Charge       PNet Hware 32914                         13
      8/29/2015   709   KP0004   Owner Operator   Deferred Negative Pay      ** Net Rebill to post on 9-5        -174.66
      8/29/2015   709   KP0004   Owner Operator   ESCROW                     Weekly Escrow                          250
      8/29/2015   709   KP0004   Owner Operator   Fuel Card Advances         Cash Advance                           100
      8/29/2015   709   KP0004   Owner Operator   Fuel Card Advances         Cash Advance Fee                          1
      8/29/2015   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                        264.79
      8/29/2015   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                        135.49
      8/29/2015   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                          0.13
      8/29/2015   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                        269.89
      8/29/2015   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                         279.5
      8/29/2015   709   KP0004   Owner Operator   Tractor Charge             14457 - 32914                        519.59
      8/29/2015   709   LL0160   Owner Operator   Communication Charge       PNet Hware 9590                          13
      8/29/2015   709   LL0160   Owner Operator   Deferred Negative Pay      ** Net Rebill to post on 9-5        -224.02
      8/29/2015   709   LS0023   Owner Operator   Communication Charge       PNet Hware 21489A                        13
      8/29/2015   709   LS0023   Owner Operator   ESCROW                     Weekly Escrow                          650
      8/29/2015   709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance                           200
      8/29/2015   709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance Fee                          2
      8/29/2015   709   LS0023   Owner Operator   Fuel Purchase              Fuel Purchase                        321.82
      8/29/2015   709   LS0023   Owner Operator   Fuel Purchase              Fuel Purchase                        160.33
      8/29/2015   709   LS0023   Owner Operator   Fuel Purchase              Fuel Purchase                        261.75
      8/29/2015   709   MB0048   Owner Operator   Communication Charge       PNet Hware 21727b                        13
      8/29/2015   709   MB0048   Owner Operator   Fuel Card Advances         Cash Advance                           200
      8/29/2015   709   MB0048   Owner Operator   Fuel Card Advances         Cash Advance Fee                          2
      8/29/2015   709   MB0048   Owner Operator   Fuel Purchase              Fuel Purchase                          76.1
      8/29/2015   709   MB0048   Owner Operator   Fuel Purchase              Fuel Purchase                        158.56
      8/29/2015   709   MG0067   Owner Operator   Charge back by affiliate   CTMS - 185076 MG0067. Bonus re         250
      8/29/2015   709   MG0067   Owner Operator   ESCROW                     Weekly Escrow                            50
      8/29/2015   709   MG0067   Owner Operator   Fuel Purchase              Fuel Purchase                        345.01
      8/29/2015   709   MM0093   Owner Operator   Communication Charge       PNet Hware 32931                         13
      8/29/2015   709   MM0093   Owner Operator   Fuel Card Advances         Cash Advance                           100
      8/29/2015   709   MM0093   Owner Operator   Fuel Card Advances         Cash Advance Fee                          1
      8/29/2015   709   MM0093   Owner Operator   Fuel Purchase              Fuel Purchase                         379.6
      8/29/2015   709   MM0093   Owner Operator   Fuel Purchase              Fuel Purchase                        230.76
      8/29/2015   709   MM0093   Owner Operator   Repair Order               CTMS - 184988 Repair                 277.58
      8/29/2015   709   MM0093   Owner Operator   Tractor Charge             16434 - 32931                        337.19
      8/29/2015   709   MP0035   Owner Operator   Communication Charge       PNet Hware 32904                         13
      8/29/2015   709   MP0035   Owner Operator   ESCROW                     Weekly Escrow                          550
      8/29/2015   709   MP0035   Owner Operator   Tractor Charge             15571 - 32904                        323.05
      8/29/2015   709   NB0029   Owner Operator   Communication Charge       PNet Hware Q1108                         13
      8/29/2015   709   NB0029   Owner Operator   ESCROW                     Weekly Escrow                          350
      8/29/2015   709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                         395.4
      8/29/2015   709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                        395.25
      8/29/2015   709   NB0029   Owner Operator   IRP License Deduction      LCIL:2015 - Q1108                      100
      8/29/2015   709   NB0029   Owner Operator   Tire Purchase              PO: 709-00323299 - PO System         703.87
      8/29/2015   709   NB0029   Owner Operator   Truck Payment              CTMS - 185173 Lease                  215.66
      8/29/2015   709   NG0005   Owner Operator   Communication Charge       PNet Hware 21412B                        13

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      8/29/2015   709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance                          140
      8/29/2015   709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance Fee                       1.4
      8/29/2015   709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                         254
      8/29/2015   709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                       273.03
      8/29/2015   709   NT9564   Owner Operator   Communication Charge    PNet Hware 9564                         13
      8/29/2015   709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                       239.58
      8/29/2015   709   RC0089   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 8-22         84.46
      8/29/2015   709   RC0089   Owner Operator   Fuel Card Advances      Cash Advance                          500
      8/29/2015   709   RC0089   Owner Operator   Fuel Card Advances      Cash Advance Fee                         5
      8/29/2015   709   RC0089   Owner Operator   Fuel Purchase           Fuel Purchase                       360.61
      8/29/2015   709   RC0089   Owner Operator   Fuel Purchase           Fuel Purchase                       244.38
      8/29/2015   709   RC0089   Owner Operator   Tire Purchase           PO: 709-00323848 - PO System        172.04
      8/29/2015   709   RC0089   Owner Operator   Tractor Charge          14592 - 32986                       504.72
      8/29/2015   709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                       384.45
      8/29/2015   709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                        274.4
      8/29/2015   709   RL0062   Owner Operator   Communication Charge    PNet Hware 32912                        13
      8/29/2015   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                          100
      8/29/2015   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                          100
      8/29/2015   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                          100
      8/29/2015   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      8/29/2015   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      8/29/2015   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      8/29/2015   709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                       379.78
      8/29/2015   709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                        409.8
      8/29/2015   709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                       384.25
      8/29/2015   709   RL0062   Owner Operator   Tire Purchase           PO: 709-00322579 - PO System        221.15
      8/29/2015   709   RL0062   Owner Operator   Tractor Charge          14460 - 32912                       512.16
      8/29/2015   709   RM0026   Owner Operator   Communication Charge    PNet Hware 30811A                       13
      8/29/2015   709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                       266.41
      8/29/2015   709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                       267.32
      8/29/2015   709   RP0082   Owner Operator   Communication Charge    PNet Hware Q1202                        13
      8/29/2015   709   RP0082   Owner Operator   ESCROW                  Weekly Escrow                           50
      8/29/2015   709   RP0082   Owner Operator   Fuel Purchase           Fuel Purchase                       256.54
      8/29/2015   709   RP0082   Owner Operator   Highway Use Tax         HUTC:2016 - Q1202                    10.58
      8/29/2015   709   RP0082   Owner Operator   IRP License Deduction   LCIL:2015 - Q1202                    31.68
      8/29/2015   709   RP0082   Owner Operator   Truck Payment           CTMS - 185074 Truck Lease           278.76
      8/29/2015   709   SB0009   Owner Operator   Communication Charge    PNet Hware 33236                        13
      8/29/2015   709   SB0009   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 8-22        156.25
      8/29/2015   709   SB0009   Owner Operator   ESCROW                  Weekly Escrow                         200
      8/29/2015   709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance                          200
      8/29/2015   709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      8/29/2015   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                       245.02
      8/29/2015   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                       164.21
      8/29/2015   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                       200.13
      8/29/2015   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                       238.53
      8/29/2015   709   SB0009   Owner Operator   Tire Purchase           PO: 709-00324122 - PO System        168.73
      8/29/2015   709   SB0009   Owner Operator   Tractor Charge          19100 - 33236                       564.33
      8/29/2015   709   SN0019   Owner Operator   Communication Charge    PNet Hware 33461                        13
      8/29/2015   709   SN0019   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 8-22         98.28
      8/29/2015   709   SN0019   Owner Operator   ESCROW                  Weekly Escrow                           50
      8/29/2015   709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                       204.91
      8/29/2015   709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                       299.64
      8/29/2015   709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                        109.5
      8/29/2015   709   VB0015   Owner Operator   Communication Charge    PNet Hware Q1112                         8
      8/29/2015   709   VB0015   Owner Operator   ESCROW                  Weekly Escrow                           50
      8/29/2015   709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                       332.01
      8/29/2015   709   VB0015   Owner Operator   IRP License Deduction   LCIL:2015 - Q1112                     100
      8/29/2015   709   VB0015   Owner Operator   Truck Payment           CTMS - 185164 Tractor Sub leas      242.03
      8/29/2015   709   VJ0006   Owner Operator   Communication Charge    PNet Hware 32945                        13
      8/29/2015   709   VJ0006   Owner Operator   ESCROW                  Weekly Escrow                         200
      8/29/2015   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                          150
      8/29/2015   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                            50
      8/29/2015   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                       0.5
      8/29/2015   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                       1.5
      8/29/2015   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                       222.22
      8/29/2015   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                       263.54
      8/29/2015   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                       296.75
      8/29/2015   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         232
      8/29/2015   709   VJ0006   Owner Operator   Repair Order            CTMS - 184989 Repair                    18
      8/29/2015   709   VJ0006   Owner Operator   Tire Purchase           PO: 709-00323870 - PO System        385.21
      8/29/2015   709   VJ0006   Owner Operator   Tractor Charge          16453 - 32945                        375.9
      8/29/2015   709   WB0062   Owner Operator   Communication Charge    PNet Hware 33407                        13
      8/29/2015   709   WB0062   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 9-5        -23.43

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      8/29/2015   709   WH0073   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-22       139.5
      8/29/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                        300
      8/29/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/29/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/29/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      8/29/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                     218.27
      8/29/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                     158.62
      8/29/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                     386.22
      8/29/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                  10.58
      8/29/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                  31.68
      8/29/2015   709   WH0073   Owner Operator   Repair Order                   CTMS - 184988 Repair              191.54
      8/29/2015   709   WH0073   Owner Operator   Tire Purchase                  PO: 709-00323292 - PO System          75
      8/29/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                      13
      8/29/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                        100
      8/29/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                        100
      8/29/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                        100
      8/29/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      8/29/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      8/29/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      8/29/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                     508.58
      8/29/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                     281.97
      8/29/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                     370.49
      8/29/2015   742   BS0030   Owner Operator   Broker Pre Pass                32947 PrePass Device                12.5
      8/29/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                      13
      8/29/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                      13
      8/29/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                       125
      8/29/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                       125
      8/29/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/29/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/29/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/29/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/29/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                        100
      8/29/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                        100
      8/29/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      8/29/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      8/29/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/29/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/29/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/29/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/29/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     123.21
      8/29/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     107.45
      8/29/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      273.5
      8/29/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     252.87
      8/29/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                      244.5
      8/29/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     343.29
      8/29/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     115.01
      8/29/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                     392.52
      8/29/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/29/2015   742   BS0030   Owner Operator   Repair Order                   CTMS - 185067 trailer repair       -7.53
      8/29/2015   742   BS0030   Owner Operator   Tire Fee                       Tire Fee: 1848410                      4
      8/29/2015   742   BS0030   Owner Operator   Tire Purchase                  PO: 742-00324670 - PO System      160.42
      8/29/2015   742   BS0030   Owner Operator   Tire Purchase                  PO: 742-00324670 - PO System      160.42
      8/29/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                      419.4
      8/29/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                      419.4
      8/29/2015   742   BS0030   Owner Operator   US Legal Services              U.S. Legal Services                32.95
      8/29/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                      13
      8/29/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      96.76
      8/29/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                     252.26
      8/29/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                     356.38
      8/29/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                     189.54
      8/29/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                     358.63
      8/29/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                     217.82
      8/29/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                     13
      8/29/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                      13
      8/29/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/29/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                     259.25
      8/29/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                     172.14
      8/29/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                     210.32
      8/29/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                     240.26
      8/29/2015   742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00322183 - PO System      401.59
      8/29/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                      13
      8/29/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/29/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                     407.17

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      8/29/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        276.7
      8/29/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.88
      8/29/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 185084 repair                  100
      8/29/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      8/29/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      8/29/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.65
      8/29/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        160.5
      8/29/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00323393 - PO System        111.76
      8/29/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      8/29/2015   742   PS0080   Owner Operator   Accident Claim                 8/25/15 Trailer Only                  500
      8/29/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      8/29/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       463.13
      8/29/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      8/29/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      8/29/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      8/29/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/29/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.93
      8/29/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.78
      8/29/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       374.36
      8/29/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.17
      8/29/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      8/29/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      8/29/2015   742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00324318 - PO System        384.77
      8/29/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 184999 Tractor Lease         353.28
      8/29/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      8/29/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.17
      8/29/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.71
      8/29/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.65
      8/29/2015   771   EN0016   Owner Operator   Repair Order                   TRACTOR 32674                        18.04
      8/29/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      8/29/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      8/29/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                           15
      8/29/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.47
      8/29/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.56
      8/29/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.27
      8/29/2015   821   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
      8/29/2015   821   DW0138   Owner Operator   Toll Charges                   33443 ILTOLL 33 071015                 4.2
      8/29/2015   821   DW0138   Owner Operator   Toll Charges                   33443 ILTOLL 6 071015                  3.5
      8/29/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      8/29/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 185074 Tractor Rent            125
      8/29/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 185074 Q1203                 278.76
       9/5/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
       9/5/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
       9/5/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
       9/5/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
       9/5/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.11
       9/5/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
       9/5/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/5/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
       9/5/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
       9/5/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
       9/5/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
       9/5/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
       9/5/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        85.27
       9/5/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.56
       9/5/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.59
       9/5/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.08
       9/5/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
       9/5/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
       9/5/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/5/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
       9/5/2015   709   AR0064   Owner Operator   Repair Order                   CTMS - 185201 Repair                336.28
       9/5/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 185285 Trck Lease            353.28
       9/5/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       9/5/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
       9/5/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          300
       9/5/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
       9/5/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.52
       9/5/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.06
       9/5/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/5/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
       9/5/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
       9/5/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91

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      9/5/2015    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      9/5/2015    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      9/5/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.61
      9/5/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        58.45
      9/5/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.95
      9/5/2015    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       124.43
      9/5/2015    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      9/5/2015    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      9/5/2015    709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      9/5/2015    709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      9/5/2015    709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.3
      9/5/2015    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.11
      9/5/2015    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.76
      9/5/2015    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
      9/5/2015    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      9/5/2015    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
      9/5/2015    709   CS0091   Owner Operator   Repair Order                   CTMS - 185201 Repair                184.46
      9/5/2015    709   CS0091   Owner Operator   Repair Order                   CTMS - 185360 Repair                184.46
      9/5/2015    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      9/5/2015    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      9/5/2015    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
      9/5/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/5/2015    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/5/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.91
      9/5/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.68
      9/5/2015    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        134.7
      9/5/2015    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                     100
      9/5/2015    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      9/5/2015    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      9/5/2015    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 185247 Q1104                 252.11
      9/5/2015    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      9/5/2015    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      9/5/2015    709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/5/2015    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/5/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       535.21
      9/5/2015    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       556.94
      9/5/2015    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      9/5/2015    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      9/5/2015    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      9/5/2015    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00323869 - PO System        210.79
      9/5/2015    709   DL0107   Owner Operator   Truck Payment                  CTMS - 185206 Sublease              338.99
      9/5/2015    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      9/5/2015    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/5/2015    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      9/5/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      9/5/2015    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      9/5/2015    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       466.56
      9/5/2015    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      9/5/2015    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      9/5/2015    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      9/5/2015    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       422.06
      9/5/2015    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      9/5/2015    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/5/2015    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      9/5/2015    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      9/5/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/5/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/5/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/5/2015    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/5/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        437.3
      9/5/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        26.13
      9/5/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        355.3
      9/5/2015    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.72
      9/5/2015    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      9/5/2015    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      9/5/2015    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      9/5/2015    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/5/2015    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      9/5/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           500
      9/5/2015    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      9/5/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.85
      9/5/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.25
      9/5/2015    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.75
      9/5/2015    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      9/5/2015    709   EE0011   Owner Operator   Repair Order                   CTMS - 185201 Repair                 184.9
      9/5/2015    709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00324121 - PO System        208.58
      9/5/2015    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      9/5/2015    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/5/2015    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      9/5/2015    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      9/5/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/5/2015    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/5/2015    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.98
      9/5/2015    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      9/5/2015    709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00323355 - PO System        304.26
      9/5/2015    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      9/5/2015    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      9/5/2015    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      9/5/2015    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    25.77
      9/5/2015    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      9/5/2015    709   FT0004   Owner Operator   Repair Order                   CTMS - 185201 Repair                197.02
      9/5/2015    709   FT0004   Owner Operator   Truck Payment                  CTMS - 185247 73129                 181.08
      9/5/2015    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/5/2015    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      9/5/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.74
      9/5/2015    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       485.31
      9/5/2015    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      9/5/2015    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      9/5/2015    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      9/5/2015    709   HG0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-12          -50
      9/5/2015    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      9/5/2015    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      9/5/2015    709   HG0027   Owner Operator   Charge back by affiliate       CTMS - 185287 HG0027 - Bonus r         500
      9/5/2015    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      9/5/2015    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.99
      9/5/2015    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      9/5/2015    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      9/5/2015    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/5/2015    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      9/5/2015    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/5/2015    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00323849 - PO System        344.04
      9/5/2015    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      9/5/2015    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      9/5/2015    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      9/5/2015    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      9/5/2015    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                    -3000
      9/5/2015    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
      9/5/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/5/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/5/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/5/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/5/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/5/2015    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/5/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       447.38
      9/5/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.19
      9/5/2015    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       439.28
      9/5/2015    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      9/5/2015    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72

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      9/5/2015    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/5/2015    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      9/5/2015    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      9/5/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/5/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/5/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/5/2015    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/5/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.63
      9/5/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.14
      9/5/2015    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.54
      9/5/2015    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      9/5/2015    709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00324123 - PO System        654.01
      9/5/2015    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      9/5/2015    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/5/2015    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      9/5/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/5/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/5/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/5/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/5/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/5/2015    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/5/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       439.26
      9/5/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.13
      9/5/2015    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.76
      9/5/2015    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      9/5/2015    709   JG0072   Owner Operator   Repair Order                   CTMS - 185201 Repair                317.81
      9/5/2015    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      9/5/2015    709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL             -35
      9/5/2015    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        38.11
      9/5/2015    709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD              -25
      9/5/2015    709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD             7.82
      9/5/2015    709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD            14.07
      9/5/2015    709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/5/2015    709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      9/5/2015    709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      9/5/2015    709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                        145.69
      9/5/2015    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/5/2015    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/5/2015    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/5/2015    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/5/2015    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.67
      9/5/2015    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.16
      9/5/2015    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.64
      9/5/2015    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.8
      9/5/2015    709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      9/5/2015    709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      9/5/2015    709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      9/5/2015    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      9/5/2015    709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 185287 JQ0015. Bonus re        250
      9/5/2015    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      9/5/2015    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         120
      9/5/2015    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.76
      9/5/2015    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      9/5/2015    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      9/5/2015    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      9/5/2015    709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.37
      9/5/2015    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      9/5/2015    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      9/5/2015    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      9/5/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      9/5/2015    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      9/5/2015    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      9/5/2015    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      9/5/2015    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      9/5/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      9/5/2015    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      9/5/2015    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/5/2015    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      9/5/2015    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-29        174.66
      9/5/2015    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      9/5/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/5/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/5/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/5/2015    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/5/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.86
      9/5/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       478.41
      9/5/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         44.7
      9/5/2015    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.99
      9/5/2015    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      9/5/2015    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/5/2015    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      9/5/2015    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      9/5/2015    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      9/5/2015    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-29        224.02
      9/5/2015    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      9/5/2015    709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      9/5/2015    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      9/5/2015    709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         750
      9/5/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/5/2015    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/5/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.51
      9/5/2015    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.93
      9/5/2015    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
      9/5/2015    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      9/5/2015    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      9/5/2015    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.38
      9/5/2015    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      9/5/2015    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      9/5/2015    709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 185240 MG0067tractor re        320
      9/5/2015    709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 185287 MG0067. Bonus re        250
      9/5/2015    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-12       -88.71
      9/5/2015    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.75
      9/5/2015    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.01
      9/5/2015    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      9/5/2015    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      9/5/2015    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/5/2015    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      9/5/2015    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      9/5/2015    709   MM0093   Owner Operator   Tire Fee                       Tire Fee: 1852219                        8
      9/5/2015    709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00324726 - PO System        219.51
      9/5/2015    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      9/5/2015    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      9/5/2015    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      9/5/2015    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         550
      9/5/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
      9/5/2015    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      9/5/2015    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       518.56
      9/5/2015    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      9/5/2015    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      9/5/2015    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      9/5/2015    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      9/5/2015    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      9/5/2015    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         350
      9/5/2015    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                     100
      9/5/2015    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      9/5/2015    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00323299 - PO System         703.8
      9/5/2015    709   NB0029   Owner Operator   Truck Payment                  CTMS - 185380 Lease                 215.66
      9/5/2015    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75

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      9/5/2015    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      9/5/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          140
      9/5/2015    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4
      9/5/2015    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         212
      9/5/2015    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      9/5/2015    709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL            8.75
      9/5/2015    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
      9/5/2015    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
      9/5/2015    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      9/5/2015    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.49
      9/5/2015    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      9/5/2015    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   62.7
      9/5/2015    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/5/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      9/5/2015    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      9/5/2015    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        330.7
      9/5/2015    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      9/5/2015    709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00323848 - PO System          172
      9/5/2015    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      9/5/2015    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      9/5/2015    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.95
      9/5/2015    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      9/5/2015    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/5/2015    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      9/5/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/5/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/5/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/5/2015    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/5/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.68
      9/5/2015    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        407.5
      9/5/2015    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      9/5/2015    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00322579 - PO System        221.11
      9/5/2015    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      9/5/2015    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      9/5/2015    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
      9/5/2015    709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
      9/5/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.05
      9/5/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.09
      9/5/2015    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.31
      9/5/2015    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
      9/5/2015    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
      9/5/2015    709   RM0026   Owner Operator   Repair Order                   CTMS - 185359 Tire                    100
      9/5/2015    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      9/5/2015    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      9/5/2015    709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.29
      9/5/2015    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      9/5/2015    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      9/5/2015    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      9/5/2015    709   RP0082   Owner Operator   Repair Order                   CTMS - 185240 Repair Q1202            250
      9/5/2015    709   RP0082   Owner Operator   Truck Payment                  CTMS - 185285 Truck Lease           278.76
      9/5/2015    709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
      9/5/2015    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/5/2015    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      9/5/2015    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/5/2015    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      9/5/2015    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00324122 - PO System        168.68
      9/5/2015    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      9/5/2015    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/5/2015    709   SN0019   Owner Operator   Charge back by affiliate       CTMS - 185240 SN0019. Bonus re        400
      9/5/2015    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      9/5/2015    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.25
      9/5/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.34

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      9/5/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.04
      9/5/2015    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.27
      9/5/2015    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      9/5/2015    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      9/5/2015    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      9/5/2015    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.45
      9/5/2015    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         283
      9/5/2015    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                     100
      9/5/2015    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      9/5/2015    709   VB0015   Owner Operator   Truck Payment                  CTMS - 185372 Tractor Sub leas      242.03
      9/5/2015    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/5/2015    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      9/5/2015    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/5/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      9/5/2015    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      9/5/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         232
      9/5/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.21
      9/5/2015    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.6
      9/5/2015    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      9/5/2015    709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00323870 - PO System        385.21
      9/5/2015    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      9/5/2015    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      9/5/2015    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      9/5/2015    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-29         23.43
      9/5/2015    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      9/5/2015    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      9/5/2015    709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      9/5/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      9/5/2015    709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      9/5/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/5/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/5/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/5/2015    709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/5/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       422.64
      9/5/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.11
      9/5/2015    709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.63
      9/5/2015    709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
      9/5/2015    709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      9/5/2015    709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
      9/5/2015    709   WH0073   Owner Operator   Repair Order                   CTMS - 185201 Repair                191.54
      9/5/2015    709   WH0073   Owner Operator   Repair Order                   CTMS - 185359 Repair                246.53
      9/5/2015    709   WH0073   Owner Operator   Tire Purchase                  PO: 709-00323292 - PO System        257.27
      9/5/2015    709   WH0073   Owner Operator   Tire Purchase                  PO: 709-00323292 - PO System        182.33
      9/5/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 185037 Sub, Sub Lease        396.13
      9/5/2015    709   WH0073   Owner Operator   Truck Payment                  CTMS - 185246 Sub, Sub Lease        396.13
      9/5/2015    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      9/5/2015    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      9/5/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/5/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/5/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/5/2015    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/5/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.55
      9/5/2015    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.47
      9/5/2015    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      9/5/2015    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      9/5/2015    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/5/2015    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      9/5/2015    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      9/5/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       113.06
      9/5/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        440.3
      9/5/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.09
      9/5/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.05
      9/5/2015    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        426.4
      9/5/2015    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                     100
      9/5/2015    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                     100
      9/5/2015    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      9/5/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      9/5/2015    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      9/5/2015    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      9/5/2015    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      9/5/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.52
      9/5/2015    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.86
      9/5/2015    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      9/5/2015    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      9/5/2015    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      9/5/2015    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      9/5/2015    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      9/5/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      9/5/2015    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      9/5/2015    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/5/2015    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      9/5/2015    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       114.29
      9/5/2015    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      9/5/2015    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      9/5/2015    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      9/5/2015    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      9/5/2015    742   MH0117   Owner Operator   Repair Order                   CTMS - 185298 repair                    70
      9/5/2015    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      9/5/2015    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      9/5/2015    742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       541.43
      9/5/2015    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.53
      9/5/2015    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      9/5/2015    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      9/5/2015    742   NG0024   Owner Operator   Repair Order                   CTMS - 185299 repair                  100
      9/5/2015    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/5/2015    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      9/5/2015    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/5/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/5/2015    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/5/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.26
      9/5/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.01
      9/5/2015    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.99
      9/5/2015    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      9/5/2015    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      9/5/2015    742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00323393 - PO System        111.76
      9/5/2015    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      9/5/2015    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      9/5/2015    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      9/5/2015    742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-12        -88.2
      9/5/2015    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/5/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.94
      9/5/2015    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.19
      9/5/2015    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      9/5/2015    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      9/5/2015    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      9/5/2015    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      9/5/2015    742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00324318 - PO System        384.77
      9/5/2015    742   RN0054   Owner Operator   Truck Payment                  CTMS - 185212 Tractor Lease         353.28
      9/5/2015    771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      9/5/2015    771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      9/5/2015    771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.42
      9/5/2015    771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.56
      9/5/2015    771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.77
      9/5/2015    771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/5/2015    771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      9/5/2015    771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      9/5/2015    821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      9/5/2015    821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      9/5/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         271
      9/5/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.06
      9/5/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.99
      9/5/2015    821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.99

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       9/5/2015   821   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
       9/5/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/5/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
       9/5/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
       9/5/2015   821   JK0112   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-22        276.04
       9/5/2015   821   JK0112   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-22        595.16
       9/5/2015   821   JK0112   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-22        595.16
       9/5/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 185285 Tractor Rent            125
       9/5/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 185285 Q1203                 278.76
      9/12/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      9/12/2015   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
      9/12/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      9/12/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      9/12/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      9/12/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.16
      9/12/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      9/12/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      9/12/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      9/12/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      9/12/2015   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
      9/12/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      9/12/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/12/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         277
      9/12/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.01
      9/12/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.75
      9/12/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      9/12/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      9/12/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      9/12/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 185448 Trck Lease            353.28
      9/12/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/12/2015   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      9/12/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      9/12/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/12/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/12/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       491.92
      9/12/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      9/12/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/12/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      9/12/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      9/12/2015   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
      9/12/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      9/12/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.69
      9/12/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       116.85
      9/12/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.73
      9/12/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.78
      9/12/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        57.27
      9/12/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      9/12/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      9/12/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      9/12/2015   709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                  12.5
      9/12/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      9/12/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
      9/12/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/12/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.46
      9/12/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.36
      9/12/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.46
      9/12/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.84
      9/12/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.92
      9/12/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.84
      9/12/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                     100
      9/12/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      9/12/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      9/12/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 185418 Q1104                 252.11
      9/12/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      9/12/2015   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5
      9/12/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      9/12/2015   709   DL0107   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -50

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      9/12/2015   709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                          50
      9/12/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                         300
      9/12/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
      9/12/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      379.62
      9/12/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                   10.58
      9/12/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                   31.68
      9/12/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/12/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
      9/12/2015   709   DL0107   Owner Operator   Repair Order                   CTMS - 185570 Repair                 243
      9/12/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 185412 Sublease             338.99
      9/12/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.38
      9/12/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      9/12/2015   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                 12.5
      9/12/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
      9/12/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                         500
      9/12/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      9/12/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      445.26
      9/12/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      432.69
      9/12/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/12/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.35
      9/12/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
      9/12/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
      9/12/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      447.09
      9/12/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/12/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   19.54
      9/12/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      9/12/2015   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                 12.5
      9/12/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
      9/12/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        250
      9/12/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      9/12/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      9/12/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       24.43
      9/12/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      299.54
      9/12/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.8
      9/12/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/12/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
      9/12/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
      9/12/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      9/12/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      9/12/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      9/12/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      9/12/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      9/12/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      9/12/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      9/12/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      146.37
      9/12/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      409.08
      9/12/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      102.82
      9/12/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      319.39
      9/12/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/12/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.01
      9/12/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      532.24
      9/12/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL          8.75
      9/12/2015   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                 9.47
      9/12/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                       13
      9/12/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                          50
      9/12/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           75
      9/12/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
      9/12/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      9/12/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.75
      9/12/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      101.66
      9/12/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                   10.58
      9/12/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                   31.68
      9/12/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    5.91
      9/12/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/12/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD          29.52
      9/12/2015   709   FT0004   Owner Operator   Repair Order                   CTMS - 185360 Repair               197.02
      9/12/2015   709   FT0004   Owner Operator   Tire Fee                       Tire Fee: 1852574                       4
      9/12/2015   709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00325154 - PO System        35.16
      9/12/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 185418 73129                181.08
      9/12/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                8.75
      9/12/2015   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                12.5
      9/12/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
      9/12/2015   709   FV0001   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-19         -50

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      9/12/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        69.83
      9/12/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        82.44
      9/12/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      9/12/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      9/12/2015   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      9/12/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      9/12/2015   709   HG0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-5             50
      9/12/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      9/12/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/12/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          281
      9/12/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.25
      9/12/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.92
      9/12/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      9/12/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      9/12/2015   709   HG0027   Owner Operator   Charge back by affiliate       CTMS - 185403 Tank wash 08.19.        -380
      9/12/2015   709   HG0027   Owner Operator   Charge back by affiliate       CTMS - 185449 HG0027 - Bonus r         500
      9/12/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                        14.88
      9/12/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/12/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/12/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.64
      9/12/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.86
      9/12/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.56
      9/12/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      9/12/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      9/12/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/12/2015   709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -50
      9/12/2015   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/12/2015   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        28.19
      9/12/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.83
      9/12/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.41
      9/12/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        24.39
      9/12/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.31
      9/12/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      9/12/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/12/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      9/12/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/12/2015   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      9/12/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      9/12/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      9/12/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      9/12/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/12/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       403.64
      9/12/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.77
      9/12/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      9/12/2015   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00324123 - PO System        653.98
      9/12/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      9/12/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/12/2015   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
      9/12/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      9/12/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/12/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/12/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/12/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/12/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.93
      9/12/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.74
      9/12/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.82
      9/12/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      9/12/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      9/12/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            17.5
      9/12/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            8.75
      9/12/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            17.5
      9/12/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            17.5
      9/12/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            8.75
      9/12/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                          300

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      9/12/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         300
      9/12/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         300
      9/12/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.15
      9/12/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.37
      9/12/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.03
      9/12/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         9.39
      9/12/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD            14.07
      9/12/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD             7.82
      9/12/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD            14.07
      9/12/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/12/2015   709   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
      9/12/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      9/12/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/12/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/12/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/12/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.27
      9/12/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.98
      9/12/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.92
      9/12/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.17
      9/12/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.42
      9/12/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      9/12/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      9/12/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      9/12/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      9/12/2015   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
      9/12/2015   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 185449 JQ0015. Bonus re        250
      9/12/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      9/12/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/12/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       127.58
      9/12/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        94.45
      9/12/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      9/12/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      9/12/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      9/12/2015   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
      9/12/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      9/12/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      9/12/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/12/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/12/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.03
      9/12/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.32
      9/12/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.02
      9/12/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      9/12/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      9/12/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/12/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         121
      9/12/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/12/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/12/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.99
      9/12/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.46
      9/12/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.03
      9/12/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.34
      9/12/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      9/12/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/12/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      9/12/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      9/12/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      9/12/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      9/12/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      9/12/2015   709   LS0023   Owner Operator   Broker Pre Pass                21489A PrePass Device                 12.5
      9/12/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      9/12/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         750
      9/12/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          140
      9/12/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4

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      9/12/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.34
      9/12/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.54
      9/12/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.92
      9/12/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.2
      9/12/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
      9/12/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      9/12/2015   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                 12.5
      9/12/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      9/12/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.81
      9/12/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      9/12/2015   709   MB0048   Owner Operator   Repair Order                   CTMS - 185571 Parts                  83.64
      9/12/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      9/12/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 185449 MG0067. Bonus re         250
      9/12/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-5          88.71
      9/12/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/12/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       405.02
      9/12/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      9/12/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      9/12/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/12/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      9/12/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/12/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            40
      9/12/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      9/12/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.03
      9/12/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       505.42
      9/12/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.74
      9/12/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      9/12/2015   709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00324726 - PO System        219.51
      9/12/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      9/12/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      9/12/2015   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                  12.5
      9/12/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      9/12/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          550
      9/12/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
      9/12/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      9/12/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       426.74
      9/12/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         31.5
      9/12/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      9/12/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      9/12/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      9/12/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      9/12/2015   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                  12.5
      9/12/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      9/12/2015   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                    -3450
      9/12/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          750
      9/12/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.44
      9/12/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.55
      9/12/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                      100
      9/12/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      9/12/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 185548 Lease                 215.66
      9/12/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      9/12/2015   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                 12.5
      9/12/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      9/12/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/12/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.47
      9/12/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          249
      9/12/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      9/12/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        37.39
      9/12/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
      9/12/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      9/12/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      9/12/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   62.7
      9/12/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75

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      9/12/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                       500
      9/12/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                      5
      9/12/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     287.3
      9/12/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                    220.36
      9/12/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                    278.94
      9/12/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      9/12/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD             103.07
      9/12/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                    504.72
      9/12/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL        8.75
      9/12/2015   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device              12.5
      9/12/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    355.48
      9/12/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      9/12/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD        45.32
      9/12/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      9/12/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                     13
      9/12/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       100
      9/12/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       100
      9/12/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                       100
      9/12/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      9/12/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      9/12/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      9/12/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                    392.56
      9/12/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                    398.21
      9/12/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                    396.19
      9/12/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      9/12/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              93.15
      9/12/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                    512.16
      9/12/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                               27.48
      9/12/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                  8.75
      9/12/2015   709   RM0026   Owner Operator   Broker Pre Pass                30811A PrePass Device              12.5
      9/12/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                    13
      9/12/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                    330.35
      9/12/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                    265.08
      9/12/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      9/12/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                  13.29
      9/12/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism          2.5
      9/12/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL        8.75
      9/12/2015   709   RP0082   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev         -50
      9/12/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                     15.72
      9/12/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                    286.55
      9/12/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                 10.58
      9/12/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                 31.68
      9/12/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      9/12/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD         58.6
      9/12/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 185414 Repair Q1202         250
      9/12/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 185447 Truck Lease        278.76
      9/12/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                               11.12
      9/12/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL              8.75
      9/12/2015   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device               12.5
      9/12/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                     13
      9/12/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                      200
      9/12/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                       100
      9/12/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                       200
      9/12/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                       200
      9/12/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      9/12/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      9/12/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      9/12/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                     283.3
      9/12/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                    223.18
      9/12/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      64.6
      9/12/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                    321.03
      9/12/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                    253.96
      9/12/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      9/12/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD             100.98
      9/12/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                    564.33
      9/12/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL              8.75
      9/12/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                     13
      9/12/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                        50
      9/12/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                    273.82
      9/12/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                    258.44
      9/12/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                    117.28
      9/12/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      9/12/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD              42.97

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      9/12/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      9/12/2015   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                  12.5
      9/12/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      9/12/2015   709   VB0015   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -50
      9/12/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/12/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        330.5
      9/12/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                     100
      9/12/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      9/12/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 185540 Tractor Sub leas      242.03
      9/12/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/12/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      9/12/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        147.7
      9/12/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      9/12/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      9/12/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      9/12/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      9/12/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      9/12/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                        334.39
      9/12/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      9/12/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.62
      9/12/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
      9/12/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      9/12/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
      9/12/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/12/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/12/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.96
      9/12/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/12/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/12/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.91
      9/12/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.69
      9/12/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      9/12/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                       379.94
      9/12/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/12/2015   742   BS0078   Owner Operator   Broker Pre Pass                32665 PrePass Device                  12.5
      9/12/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      9/12/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.29
      9/12/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.59
      9/12/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.43
      9/12/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.26
      9/12/2015   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2015 - 33471                       62
      9/12/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      9/12/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      9/12/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      9/12/2015   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      9/12/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      9/12/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.46
      9/12/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.64
      9/12/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.34
      9/12/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.16
      9/12/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      9/12/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      9/12/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      9/12/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      9/12/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      9/12/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      9/12/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      9/12/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      9/12/2015   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      9/12/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      9/12/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/12/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.92
      9/12/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        276.9
      9/12/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      9/12/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      9/12/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      9/12/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      9/12/2015   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      9/12/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      9/12/2015   742   NG0024   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -50
      9/12/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/12/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       483.51
      9/12/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       374.86
      9/12/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      9/12/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      9/12/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/12/2015   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
      9/12/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      9/12/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/12/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/12/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.44
      9/12/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.75
      9/12/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.37
      9/12/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.18
      9/12/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      9/12/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      9/12/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00323393 - PO System        111.76
      9/12/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      9/12/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      9/12/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      9/12/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      9/12/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      9/12/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/12/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/12/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       468.63
      9/12/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.64
      9/12/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       464.07
      9/12/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      9/12/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      9/12/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      9/12/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      9/12/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      9/12/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      9/12/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      9/12/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      9/12/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      9/12/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.31
      9/12/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.92
      9/12/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      9/12/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      9/12/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      9/12/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      9/12/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      9/12/2015   771   EN0016   Owner Operator   Broker Pre Pass                32674 PrePass Device                  12.5
      9/12/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      9/12/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.06
      9/12/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.56
      9/12/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.47
      9/12/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.62
      9/12/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      9/12/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      9/12/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                        43.77
      9/12/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         267
      9/12/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.91
      9/12/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         287
      9/12/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        332.4
      9/12/2015   821   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
      9/12/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      9/12/2015   821   DW0138   Owner Operator   Toll Charges                   CTC 151080438 082815 - 33443         33.75
      9/12/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27

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      9/19/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      9/19/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      9/19/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      9/19/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      9/19/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.2
      9/19/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      9/19/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      9/19/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      9/19/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      9/19/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      9/19/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.86
      9/19/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       372.98
      9/19/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        70.02
      9/19/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       434.26
      9/19/2015   709   AR0064   Owner Operator   FUEL TAX                       July 2015-QC                        332.44
      9/19/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      9/19/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      9/19/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      9/19/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 185642 Trck Lease            353.28
      9/19/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/19/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      9/19/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       455.56
      9/19/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.99
      9/19/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      9/19/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/19/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      9/19/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      9/19/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      9/19/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.63
      9/19/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.33
      9/19/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.42
      9/19/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.41
      9/19/2015   709   CR0064   Owner Operator   FUEL TAX                       July 2015-QC                         70.26
      9/19/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      9/19/2015   709   CR0064   Owner Operator   Toll Charges                   FasTrak T400260278903 - 32864           50
      9/19/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      9/19/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      9/19/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      9/19/2015   709   CS0091   Owner Operator   Broker Pre Pass                73130 PrePass Device                  12.5
      9/19/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      9/19/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      9/19/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.16
      9/19/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.05
      9/19/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.21
      9/19/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
      9/19/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
      9/19/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      9/19/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      9/19/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
      9/19/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
      9/19/2015   709   CS0091   Owner Operator   Repair Order                   CTMS - 185570 Repair                184.46
      9/19/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      9/19/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      9/19/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
      9/19/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/19/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/19/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.88
      9/19/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        243.2
      9/19/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.46
      9/19/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.14
      9/19/2015   709   DJ0028   Owner Operator   FUEL TAX                       July 2015-QC                        137.25
      9/19/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                     100

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      9/19/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      9/19/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      9/19/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 185613 Q1104                 252.11
      9/19/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      9/19/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      9/19/2015   709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
      9/19/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/19/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       511.31
      9/19/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       542.78
      9/19/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      9/19/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      9/19/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      9/19/2015   709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                      6.71
      9/19/2015   709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                670.68
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590278911 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590278929 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590278937 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590278945 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590278953 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590278979 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590278987 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590278995 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279018 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279026 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279034 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279042 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279050 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279068 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279076 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279084 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279092 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279109 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279117 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279125 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279133 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279141 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279159 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279167 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279175 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279183 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279191 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279216 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279224 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279232 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279240 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   FasTrak T711590279258 - Q1245           50
      9/19/2015   709   DL0107   Owner Operator   Toll Charges                   TOL                                  -1200
      9/19/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 185584 Sublease              338.99
      9/19/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      9/19/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/19/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      9/19/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      9/19/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      9/19/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          422
      9/19/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.87
      9/19/2015   709   DS0049   Owner Operator   FUEL TAX                       July 2015-QC                         30.11
      9/19/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      9/19/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      9/19/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      9/19/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.75
      9/19/2015   709   DS0225   Owner Operator   FUEL TAX                       July 2015-QC                        -35.54
      9/19/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      9/19/2015   709   DS0225   Owner Operator   Repair Order                   CTMS - 185684 Tire Repair              -30
      9/19/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/19/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      9/19/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      9/19/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/19/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200

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      9/19/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       445.42
      9/19/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        417.2
      9/19/2015   709   EA0003   Owner Operator   FUEL TAX                       July 2015-QC                         46.96
      9/19/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      9/19/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      9/19/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/19/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/19/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/19/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/19/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/19/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.66
      9/19/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.95
      9/19/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.38
      9/19/2015   709   EE0011   Owner Operator   FUEL TAX                       July 2015-QC                         91.29
      9/19/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      9/19/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      9/19/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      9/19/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      9/19/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/19/2015   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                  12.5
      9/19/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      9/19/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      9/19/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      9/19/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      9/19/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.83
      9/19/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.64
      9/19/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                         12.8
      9/19/2015   709   EH0020   Owner Operator   FUEL TAX                       July 2015-QC                        121.65
      9/19/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      9/19/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      9/19/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      9/19/2015   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  3.03
      9/19/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      9/19/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      9/19/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          230
      9/19/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/19/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/19/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.3
      9/19/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           75
      9/19/2015   709   FT0004   Owner Operator   FUEL TAX                       July 2015-QC                           6.6
      9/19/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      9/19/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      9/19/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      9/19/2015   709   FT0004   Owner Operator   Repair Order                   CTMS - 185571 Repair                197.02
      9/19/2015   709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00322973 - PO System         28.56
      9/19/2015   709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00325154 - PO System         35.16
      9/19/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 185613 73129                 181.08
      9/19/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/19/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      9/19/2015   709   FV0001   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-12            50
      9/19/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       470.48
      9/19/2015   709   FV0001   Owner Operator   FUEL TAX                       July 2015-QC                         19.37
      9/19/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      9/19/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      9/19/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       419.32
      9/19/2015   709   HG0007   Owner Operator   FUEL TAX                       July 2015-QC                         81.36
      9/19/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      9/19/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      9/19/2015   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      9/19/2015   709   HG0027   Owner Operator   Charge back by affiliate       CTMS - 185644 HG0027 - Bonus r        500
      9/19/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13

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      9/19/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      9/19/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                        35.12
      9/19/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.05
      9/19/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.08
      9/19/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.39
      9/19/2015   709   HG0027   Owner Operator   FUEL TAX                       July 2015-QC                         85.83
      9/19/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      9/19/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      9/19/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/19/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        13.57
      9/19/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        333.1
      9/19/2015   709   IR0002   Owner Operator   FUEL TAX                       July 2015-QC                        -46.32
      9/19/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      9/19/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/19/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      9/19/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      9/19/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      9/19/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      9/19/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      9/19/2015   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      9/19/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      9/19/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      9/19/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
      9/19/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
      9/19/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/19/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
      9/19/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/19/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
      9/19/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/19/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/19/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.32
      9/19/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.58
      9/19/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.43
      9/19/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       466.91
      9/19/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.67
      9/19/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.58
      9/19/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       436.82
      9/19/2015   709   JC0292   Owner Operator   FUEL TAX                       July 2015-QC                        116.69
      9/19/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      9/19/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      9/19/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      9/19/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      9/19/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/19/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      9/19/2015   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1000
      9/19/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      9/19/2015   709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1000
      9/19/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      9/19/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/19/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.42
      9/19/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.38
      9/19/2015   709   JG0017   Owner Operator   FUEL TAX                       July 2015-QC                         28.84
      9/19/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      9/19/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      9/19/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/19/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      9/19/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/19/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/19/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/19/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/19/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        451.7
      9/19/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       409.12
      9/19/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       417.36

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      9/19/2015   709   JG0072   Owner Operator   FUEL TAX                       July 2015-QC                        205.77
      9/19/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      9/19/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      9/19/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            8.75
      9/19/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            17.5
      9/19/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/19/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.25
      9/19/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.21
      9/19/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.13
      9/19/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.94
      9/19/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD             7.82
      9/19/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD            14.04
      9/19/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/19/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      9/19/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          250
      9/19/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.5
      9/19/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        165.6
      9/19/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.95
      9/19/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.96
      9/19/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      9/19/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      9/19/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      9/19/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      9/19/2015   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 185644 JQ0015. Bonus re        250
      9/19/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      9/19/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.06
      9/19/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       101.44
      9/19/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.74
      9/19/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        60.16
      9/19/2015   709   JQ0015   Owner Operator   FUEL TAX                       July 2015-QC                         11.53
      9/19/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      9/19/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      9/19/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      9/19/2015   709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
      9/19/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      9/19/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      9/19/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.9
      9/19/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      9/19/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      9/19/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      9/19/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      9/19/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      9/19/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      9/19/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      9/19/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      9/19/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                        57.05
      9/19/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/19/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/19/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.59
      9/19/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.02
      9/19/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.31
      9/19/2015   709   JS0265   Owner Operator   FUEL TAX                       July 2015-QC                         25.03
      9/19/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      9/19/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      9/19/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/19/2015   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      9/19/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      9/19/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13

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      9/19/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      9/19/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         129
      9/19/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/19/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/19/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.41
      9/19/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         354
      9/19/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.27
      9/19/2015   709   KP0004   Owner Operator   FUEL TAX                       July 2015-QC                        186.78
      9/19/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      9/19/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/19/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      9/19/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      9/19/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      9/19/2015   709   LL0160   Owner Operator   FUEL TAX                       July 2015-QC                         110.6
      9/19/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      9/19/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      9/19/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      9/19/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         750
      9/19/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/19/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/19/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.24
      9/19/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       472.47
      9/19/2015   709   LS0023   Owner Operator   FUEL TAX                       July 2015-QC                         -3.38
      9/19/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
      9/19/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      9/19/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      9/19/2015   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/19/2015   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.97
      9/19/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        361.5
      9/19/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.02
      9/19/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      9/19/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      9/19/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 185644 MG0067. Bonus re        250
      9/19/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.02
      9/19/2015   709   MG0067   Owner Operator   FUEL TAX                       July 2015-QC                          -4.8
      9/19/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      9/19/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      9/19/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/19/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      9/19/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/19/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/19/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.77
      9/19/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.21
      9/19/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      9/19/2015   709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00324726 - PO System        219.51
      9/19/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      9/19/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      9/19/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      9/19/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         550
      9/19/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
      9/19/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      9/19/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       462.67
      9/19/2015   709   MP0035   Owner Operator   FUEL TAX                       July 2015-QC                         -0.92
      9/19/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      9/19/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      9/19/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      9/19/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      9/19/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      9/19/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         750
      9/19/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.84
      9/19/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.63
      9/19/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.35
      9/19/2015   709   NB0029   Owner Operator   FUEL TAX                       July 2015-QC                         78.05
      9/19/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                     100

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      9/19/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/19/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD           35.16
      9/19/2015   709   NB0029   Owner Operator   Tractor Wash                   CTMS - 185665 Trailer W68112          -40
      9/19/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 185746 Lease                215.66
      9/19/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
      9/19/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
      9/19/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           60
      9/19/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                         100
      9/19/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      9/19/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.6
      9/19/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        250
      9/19/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      175.49
      9/19/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/19/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.98
      9/19/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL           8.75
      9/19/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL           8.75
      9/19/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                        13
      9/19/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                        13
      9/19/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/19/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       10.11
      9/19/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD           28.13
      9/19/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL              8.75
      9/19/2015   709   RC0030   Owner Operator   FUEL TAX                       July 2015-QC                       -10.39
      9/19/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/19/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD              39.07
      9/19/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  62.7
      9/19/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      9/19/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         500
      9/19/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      9/19/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      387.43
      9/19/2015   709   RC0089   Owner Operator   FUEL TAX                       July 2015-QC                       -18.59
      9/19/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/19/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               103.07
      9/19/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                      504.72
      9/19/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL          8.75
      9/19/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       429.9
      9/19/2015   709   RL0017   Owner Operator   FUEL TAX                       July 2015-QC                       -11.64
      9/19/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/19/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD          45.32
      9/19/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      9/19/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                       13
      9/19/2015   709   RL0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-26      -20.97
      9/19/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
      9/19/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      9/19/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      223.61
      9/19/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       409.9
      9/19/2015   709   RL0062   Owner Operator   FUEL TAX                       July 2015-QC                       192.23
      9/19/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/19/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.15
      9/19/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                      512.16
      9/19/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                 27.48
      9/19/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                    8.75
      9/19/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                      13
      9/19/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      262.59
      9/19/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                      285.42
      9/19/2015   709   RM0026   Owner Operator   FUEL TAX                       July 2015-QC                       133.33
      9/19/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/19/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                    13.29
      9/19/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism            2.5
      9/19/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL          8.75
      9/19/2015   709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                 12.5
      9/19/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                       13
      9/19/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                       13
      9/19/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                          50
      9/19/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                       34.28
      9/19/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                      277.64
      9/19/2015   709   RP0082   Owner Operator   FUEL TAX                       July 2015-QC                        47.75
      9/19/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                   10.58
      9/19/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                   31.68
      9/19/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      9/19/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.6
      9/19/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 185589 Repair Q1202           250
      9/19/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 185642 Truck Lease          278.76

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      9/19/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
      9/19/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/19/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      9/19/2015   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-26       -56.98
      9/19/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/19/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.41
      9/19/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.88
      9/19/2015   709   SB0009   Owner Operator   FUEL TAX                       July 2015-QC                        302.86
      9/19/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      9/19/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      9/19/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/19/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      9/19/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.07
      9/19/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       105.18
      9/19/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       124.28
      9/19/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.13
      9/19/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        115.7
      9/19/2015   709   SN0019   Owner Operator   FUEL TAX                       July 2015-QC                         93.87
      9/19/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      9/19/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      9/19/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      9/19/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         315
      9/19/2015   709   VB0015   Owner Operator   FUEL TAX                       July 2015-QC                        126.46
      9/19/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                     100
      9/19/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      9/19/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 185737 Tractor Sub leas      242.03
      9/19/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/19/2015   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
      9/19/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      9/19/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      9/19/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/19/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/19/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.4
      9/19/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.18
      9/19/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.72
      9/19/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.68
      9/19/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        283.6
      9/19/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.29
      9/19/2015   709   VJ0006   Owner Operator   FUEL TAX                       July 2015-QC                        263.72
      9/19/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      9/19/2015   709   VJ0006   Owner Operator   Repair Order                   CTMS - 185571 Repair                201.35
      9/19/2015   709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00323870 - PO System        385.17
      9/19/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      9/19/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        228.2
      9/19/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      9/19/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      9/19/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      9/19/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      9/19/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      9/19/2015   709   WH0073   Owner Operator   Broker Pre Pass                Q1235 PrePass Device                  12.5
      9/19/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      9/19/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      9/19/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/19/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                        165.61
      9/19/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/19/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/19/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.94
      9/19/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.27
      9/19/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.58
      9/19/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.08
      9/19/2015   709   WH0073   Owner Operator   FUEL TAX                       July 2015-QC                         22.41
      9/19/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
      9/19/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      9/19/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71

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      9/19/2015   709   WH0073   Owner Operator   Repair Order                   CTMS - 185571 Repair                246.53
      9/19/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 185417 Sub, Sub Lease        396.13
      9/19/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 185613 Sub, Sub Lease        396.13
      9/19/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      9/19/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      9/19/2015   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      9/19/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      9/19/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      9/19/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/19/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/19/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/19/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/19/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       406.86
      9/19/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        47.96
      9/19/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.77
      9/19/2015   742   AP0047   Owner Operator   FUEL TAX                       July 2015-QC                         54.15
      9/19/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      9/19/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      9/19/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      9/19/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      9/19/2015   742   BS0030   Owner Operator   Broker Pre Pass                32947 PrePass Device                  12.5
      9/19/2015   742   BS0030   Owner Operator   Charge back by affiliate       CTMS - 185637 trailer wash           -44.5
      9/19/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      9/19/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      9/19/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      9/19/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      9/19/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      9/19/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      9/19/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/19/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/19/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/19/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/19/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/19/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/19/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/19/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.39
      9/19/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.39
      9/19/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.28
      9/19/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.35
      9/19/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        370.8
      9/19/2015   742   BS0030   Owner Operator   FUEL TAX                       July 2015-QC                        100.92
      9/19/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   742   BS0030   Owner Operator   Tire Purchase                  PO: 742-00324670 - PO System        160.42
      9/19/2015   742   BS0030   Owner Operator   Tire Purchase                  PO: 742-00324670 - PO System        160.42
      9/19/2015   742   BS0030   Owner Operator   Tire Purchase                  PO: 742-00324670 - PO System        160.38
      9/19/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        39.46
      9/19/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      9/19/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/19/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      9/19/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        322.2
      9/19/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.91
      9/19/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       495.72
      9/19/2015   742   BS0078   Owner Operator   FUEL TAX                       July 2015-QC                         79.16
      9/19/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      9/19/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      9/19/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      9/19/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      9/19/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.53
      9/19/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.74
      9/19/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.99
      9/19/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.6
      9/19/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.63
      9/19/2015   742   ED0041   Owner Operator   FUEL TAX                       July 2015-QC                         46.98
      9/19/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      9/19/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      9/19/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      9/19/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      9/19/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75

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      9/19/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      9/19/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      9/19/2015   742   FS0011   Owner Operator   Repair Order                   CTMS - 185629 repair                 295.8
      9/19/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      9/19/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      9/19/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.05
      9/19/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.33
      9/19/2015   742   MH0117   Owner Operator   FUEL TAX                       July 2015-QC                         60.93
      9/19/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      9/19/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      9/19/2015   742   MH0117   Owner Operator   Toll Charges                   FasTrak T711590278961 - 33296           50
      9/19/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      9/19/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      9/19/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.52
      9/19/2015   742   NG0024   Owner Operator   FUEL TAX                       July 2015-QC                          79.5
      9/19/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      9/19/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      9/19/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 185632 repair                  100
      9/19/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/19/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         68.5
      9/19/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/19/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/19/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        312.8
      9/19/2015   742   PC0012   Owner Operator   FUEL TAX                       July 2015-QC                        102.87
      9/19/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      9/19/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      9/19/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      9/19/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      9/19/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      9/19/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.71
      9/19/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       353.34
      9/19/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.16
      9/19/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     66.4
      9/19/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      9/19/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      9/19/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      9/19/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      9/19/2015   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
      9/19/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      9/19/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      9/19/2015   742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-5           88.2
      9/19/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/19/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        89.63
      9/19/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.76
      9/19/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.18
      9/19/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        189.4
      9/19/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.92
      9/19/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.69
      9/19/2015   742   RN0054   Owner Operator   FUEL TAX                       July 2015-QC                         46.47
      9/19/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      9/19/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      9/19/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      9/19/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      9/19/2015   742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00324318 - PO System        384.77
      9/19/2015   742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00324318 - PO System        384.74
      9/19/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 185415 Tractor Lease         353.28
      9/19/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 185588 Tractor Lease         353.28
      9/19/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      9/19/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      9/19/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.92
      9/19/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.73
      9/19/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      9/19/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      9/19/2015   821   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  12.5

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      9/19/2015   821   DW0138   Owner Operator   Charge back by affiliate       CTMS - 185576 heel                      35
      9/19/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      9/19/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      9/19/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      9/19/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                        56.23
      9/19/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.43
      9/19/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.35
      9/19/2015   821   DW0138   Owner Operator   FUEL TAX                       July 2015-QC                        440.95
      9/19/2015   821   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
      9/19/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/19/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      9/19/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      9/19/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 185448 Tractor Rent            125
      9/19/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 185642 Tractor Rent            125
      9/19/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 185447 Q1203                 278.76
      9/19/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 185642 Q1203                 278.76
      9/26/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      9/26/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      9/26/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      9/26/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      9/26/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        199.4
      9/26/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      9/26/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
      9/26/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      9/26/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      9/26/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      9/26/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/26/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.82
      9/26/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.45
      9/26/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.15
      9/26/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.78
      9/26/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         137
      9/26/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      9/26/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      9/26/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      9/26/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 185858 Trck Lease            353.28
      9/26/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/26/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      9/26/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/26/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/26/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.84
      9/26/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       417.13
      9/26/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
      9/26/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/26/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      9/26/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      9/26/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      9/26/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/26/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/26/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.17
      9/26/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.4
      9/26/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.21
      9/26/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
      9/26/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      9/26/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      9/26/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      9/26/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/26/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.61
      9/26/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
      9/26/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      9/26/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.43
      9/26/2015   709   CS0091   Owner Operator   Repair Order                   CTMS - 185765 Repair                184.46
      9/26/2015   709   CS0091   Owner Operator   Repair Order                   CTMS - 185973 Repair                184.46
      9/26/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      9/26/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      9/26/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
      9/26/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/26/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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      9/26/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       115.92
      9/26/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.46
      9/26/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.84
      9/26/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.85
      9/26/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                     100
      9/26/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.86
      9/26/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      9/26/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 185813 Q1104                 252.11
      9/26/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      9/26/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      9/26/2015   709   DL0107   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/26/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        503.6
      9/26/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       466.21
      9/26/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      9/26/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      9/26/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.69
      9/26/2015   709   DL0107   Owner Operator   Repair Order                   CTMS - 185766 Repair                  243
      9/26/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 185773 Sublease              338.99
      9/26/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
      9/26/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/26/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      9/26/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      9/26/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      9/26/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       580.26
      9/26/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
      9/26/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      9/26/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      9/26/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.17
      9/26/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.51
      9/26/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/26/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      9/26/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      9/26/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/26/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/26/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       417.89
      9/26/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      9/26/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      9/26/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/26/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/26/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/26/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/26/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/26/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/26/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/26/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/26/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/26/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/26/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/26/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.55
      9/26/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.07
      9/26/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        130.5
      9/26/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.11
      9/26/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        32.13
      9/26/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       174.97
      9/26/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.91
      9/26/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      9/26/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/26/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         96.18
      9/26/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/26/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/26/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/26/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                         271
      9/26/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.88
      9/26/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93
      9/26/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      9/26/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75

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      9/26/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      9/26/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/26/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            15
      9/26/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            70
      9/26/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.7
      9/26/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
      9/26/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        186.2
      9/26/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.7
      9/26/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.28
      9/26/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      9/26/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      9/26/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.51
      9/26/2015   709   FT0004   Owner Operator   Repair Order                   CTMS - 185765 Repair                197.02
      9/26/2015   709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00325154 - PO System         35.16
      9/26/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 185813 73129                 181.08
      9/26/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/26/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      9/26/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       403.77
      9/26/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        476.6
      9/26/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.01
      9/26/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      9/26/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      9/26/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      9/26/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      9/26/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/26/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       454.29
      9/26/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.23
      9/26/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.19
      9/26/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.27
      9/26/2015   709   HG0007   Owner Operator   FUEL TAX                       July 2015-QC                         56.45
      9/26/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
      9/26/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      9/26/2015   709   HG0027   Owner Operator   Charge back by affiliate       CTMS - 185859 HG0027 - Bonus r         500
      9/26/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      9/26/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/26/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/26/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/26/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.82
      9/26/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.96
      9/26/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      9/26/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      9/26/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/26/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.7
      9/26/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      9/26/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/26/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      9/26/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      9/26/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      9/26/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      9/26/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
      9/26/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/26/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/26/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/26/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/26/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       401.24
      9/26/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       434.63
      9/26/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
      9/26/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      9/26/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/26/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      9/26/2015   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1500
      9/26/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      9/26/2015   709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1500
      9/26/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      9/26/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/26/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.32
      9/26/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.31

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      9/26/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/26/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.85
      9/26/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      9/26/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/26/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      9/26/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/26/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/26/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/26/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/26/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/26/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/26/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        385.62
      9/26/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.7
      9/26/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        415.23
      9/26/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/26/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      9/26/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      9/26/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL             8.75
      9/26/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/26/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/26/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/26/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/26/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/26/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        199.66
      9/26/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.2
      9/26/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        191.13
      9/26/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.9
      9/26/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/26/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD              7.79
      9/26/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      9/26/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      9/26/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/26/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           150
      9/26/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           250
      9/26/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.5
      9/26/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
      9/26/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        258.68
      9/26/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        305.26
      9/26/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        209.47
      9/26/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/26/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.96
      9/26/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      9/26/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      9/26/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      9/26/2015   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 185859 JQ0015. Bonus re         250
      9/26/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      9/26/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/26/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         35.04
      9/26/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        116.26
      9/26/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        115.78
      9/26/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/26/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51
      9/26/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      9/26/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      9/26/2015   709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-3       -274.63
      9/26/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/26/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
      9/26/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
      9/26/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/26/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.58
      9/26/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      9/26/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      9/26/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      9/26/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      9/26/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      9/26/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         42.95
      9/26/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/26/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/26/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/26/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/26/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        169.56
      9/26/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        327.49
      9/26/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.01

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      9/26/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.93
      9/26/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      9/26/2015   709   JS0265   Owner Operator   Repair Order                   CTMS - 185765 Repair                    70
      9/26/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/26/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      9/26/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      9/26/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/26/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/26/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.83
      9/26/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.77
      9/26/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.84
      9/26/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.82
      9/26/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.81
      9/26/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      9/26/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/26/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      9/26/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      9/26/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      9/26/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      9/26/2015   709   LS0023   Owner Operator   Accident Claim                 9/1/15 expense Claim: 47790          770.7
      9/26/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      9/26/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      9/26/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         750
      9/26/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/26/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/26/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/26/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/26/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        439.4
      9/26/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.86
      9/26/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.92
      9/26/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.04
      9/26/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      9/26/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      9/26/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.52
      9/26/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.37
      9/26/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.29
      9/26/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      9/26/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 185859 MG0067. Bonus re        250
      9/26/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/26/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.2
      9/26/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.15
      9/26/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      9/26/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/26/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                         79.45
      9/26/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/26/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.11
      9/26/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      9/26/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      9/26/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      9/26/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         550
      9/26/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            60
      9/26/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      9/26/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.07
      9/26/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.86
      9/26/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      9/26/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      9/26/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      9/26/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      9/26/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         750
      9/26/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.85
      9/26/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       408.37
      9/26/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.47
      9/26/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                     100
      9/26/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.15

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      9/26/2015   709   NB0029   Owner Operator   Repair Order                   CTMS - 185967 Q1108 Tire purch     -1998.74
      9/26/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 185957 Lease                  215.66
      9/26/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      9/26/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      9/26/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/26/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/26/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/26/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/26/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.08
      9/26/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        162.86
      9/26/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/26/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.97
      9/26/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL             8.75
      9/26/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                          13
      9/26/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/26/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD             28.11
      9/26/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      9/26/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/26/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.04
      9/26/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   62.69
      9/26/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/26/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      9/26/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      9/26/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.4
      9/26/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        178.05
      9/26/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/26/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.05
      9/26/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
      9/26/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
      9/26/2015   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-3       -390.62
      9/26/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          301
      9/26/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/26/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.29
      9/26/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/26/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      9/26/2015   709   RL0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-19          20.97
      9/26/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/26/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/26/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/26/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/26/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/26/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/26/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        375.57
      9/26/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        379.38
      9/26/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        402.66
      9/26/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/26/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.13
      9/26/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      9/26/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.46
      9/26/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                      8.75
      9/26/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                        13
      9/26/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        264.36
      9/26/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.07
      9/26/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        288.56
      9/26/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/26/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                      13.26
      9/26/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism              2.5
      9/26/2015   709   RM0026   Owner Operator   Tire Fee                       Tire Fee: 1857058                         4
      9/26/2015   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00325801 - PO System          33.12
      9/26/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      9/26/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      9/26/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/26/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                     10.58
      9/26/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                     31.68
      9/26/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/26/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.58
      9/26/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 185777 Repair Q1202             250
      9/26/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                   11.12
      9/26/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      9/26/2015   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-19          56.98
      9/26/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                        179.73
      9/26/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        380.72
      9/26/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.23

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      9/26/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        255.1
      9/26/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      9/26/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      9/26/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/26/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      9/26/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/26/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.98
      9/26/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.12
      9/26/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        106.4
      9/26/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.59
      9/26/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      9/26/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      9/26/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      9/26/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/26/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.97
      9/26/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.53
      9/26/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                     100
      9/26/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      9/26/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 185947 Tractor Sub leas      242.03
      9/26/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/26/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      9/26/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/26/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          120
      9/26/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
      9/26/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.95
      9/26/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.37
      9/26/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.36
      9/26/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      9/26/2015   709   VJ0006   Owner Operator   Repair Order                   CTMS - 185765 Repair                201.35
      9/26/2015   709   VJ0006   Owner Operator   Repair Order                   CTMS - 185972 Repair                201.35
      9/26/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      9/26/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      9/26/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      9/26/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      9/26/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      9/26/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      9/26/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      9/26/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/26/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/26/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/26/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/26/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.41
      9/26/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.88
      9/26/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       353.37
      9/26/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
      9/26/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      9/26/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.69
      9/26/2015   709   WH0073   Owner Operator   Repair Order                   CTMS - 185765 Repair                219.34
      9/26/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 185812 Sub, Sub Lease        396.13
      9/26/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      9/26/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      9/26/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/26/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/26/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/26/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/26/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/26/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/26/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        387.6
      9/26/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.88
      9/26/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        357.4
      9/26/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.04
      9/26/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.25
      9/26/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      9/26/2015   742   BS0030   Owner Operator   Charge back by affiliate       CTMS - 185969 trailer wash             -35
      9/26/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      9/26/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125

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      9/26/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/26/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/26/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/26/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/26/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/26/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/26/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.84
      9/26/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.24
      9/26/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.94
      9/26/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        24.88
      9/26/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.44
      9/26/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      9/26/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/26/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      9/26/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.39
      9/26/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.61
      9/26/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.75
      9/26/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.54
      9/26/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      9/26/2015   742   BS0078   Owner Operator   Repair Order                   CTMS - 185874 repair                256.17
      9/26/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      9/26/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      9/26/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.24
      9/26/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.82
      9/26/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.21
      9/26/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
      9/26/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      9/26/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      9/26/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      9/26/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      9/26/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
      9/26/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      9/26/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      9/26/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      9/26/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/26/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.91
      9/26/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.29
      9/26/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.9
      9/26/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.8
      9/26/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.61
      9/26/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      9/26/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      9/26/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      9/26/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/26/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.45
      9/26/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.79
      9/26/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       573.35
      9/26/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.09
      9/26/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
      9/26/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      9/26/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 185877 repair                  100
      9/26/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 185879 repair                 107.5
      9/26/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/26/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      9/26/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/26/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        131.5
      9/26/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/26/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/26/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.48
      9/26/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.71
      9/26/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.96
      9/26/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.76
      9/26/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      9/26/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
      9/26/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00323393 - PO System        111.69
      9/26/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00324872 - PO System         57.12
      9/26/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00324872 - PO System         192.3
      9/26/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00325629 - PO System         78.71

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      9/26/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      9/26/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      9/26/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/26/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.98
      9/26/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.9
      9/26/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       485.67
      9/26/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     66.4
      9/26/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      9/26/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      9/26/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      9/26/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/26/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.57
      9/26/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      9/26/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      9/26/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
      9/26/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      9/26/2015   742   RN0054   Owner Operator   Repair Order                   CTMS - 185765 Repair                194.24
      9/26/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      9/26/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      9/26/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       364.34
      9/26/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.39
      9/26/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.44
      9/26/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      9/26/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      9/26/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.35
      9/26/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.77
      9/26/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.01
      9/26/2015   821   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
      9/26/2015   821   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/26/2015   821   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
      9/26/2015   821   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      9/26/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 185857 Tractor Rent            125
      9/26/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 185857 Q1203                 278.76
      9/26/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 185857 Truck Lease           278.76
      10/3/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      10/3/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      10/3/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      10/3/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      10/3/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.62
      10/3/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
      10/3/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      10/3/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      10/3/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      10/3/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      10/3/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/3/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.6
      10/3/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.02
      10/3/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      10/3/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      10/3/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      10/3/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 186053 Trck Lease            353.28
      10/3/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/3/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      10/3/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        386.4
      10/3/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      10/3/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      10/3/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      10/3/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      10/3/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      10/3/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.59
      10/3/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.45
      10/3/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      10/3/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      10/3/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      10/3/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      10/3/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50

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      10/3/2015   709   CS0091   Owner Operator   Fuel Card Advances             Cash Advance                            50
      10/3/2015   709   CS0091   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      10/3/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.86
      10/3/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.66
      10/3/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
      10/3/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      10/3/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
      10/3/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      10/3/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      10/3/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
      10/3/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        153.4
      10/3/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.74
      10/3/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.04
      10/3/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.96
      10/3/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.26
      10/3/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                     100
      10/3/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      10/3/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      10/3/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 186011 Q1104                 252.11
      10/3/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      10/3/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      10/3/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
      10/3/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      10/3/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       491.68
      10/3/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       483.66
      10/3/2015   709   DL0107   Owner Operator   GARNISHMENT                    Wage Garnishment                    632.31
      10/3/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      10/3/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      10/3/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      10/3/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 185981 Sublease              338.99
      10/3/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      10/3/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/3/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      10/3/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      10/3/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      10/3/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.38
      10/3/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.49
      10/3/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      10/3/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      10/3/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      10/3/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       447.01
      10/3/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      10/3/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      10/3/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      10/3/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.15
      10/3/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.01
      10/3/2015   709   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
      10/3/2015   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      10/3/2015   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      10/3/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/3/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      10/3/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      10/3/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/3/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/3/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/3/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/3/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.87
      10/3/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       415.71
      10/3/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      10/3/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      10/3/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/3/2015   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                  12.5
      10/3/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      10/3/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      10/3/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      10/3/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13

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      10/3/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           100
      10/3/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           400
      10/3/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      10/3/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/3/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.18
      10/3/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.71
      10/3/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.51
      10/3/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.16
      10/3/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      10/3/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      10/3/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/3/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      10/3/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      10/3/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      10/3/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      10/3/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        103.82
      10/3/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/3/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/3/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           100
      10/3/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/3/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/3/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/3/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.57
      10/3/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.82
      10/3/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        27.03
      10/3/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.11
      10/3/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.57
      10/3/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.13
      10/3/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      10/3/2015   709   EH0020   Owner Operator   Tire Fee                       Tire Fee: 1860637                        4
      10/3/2015   709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00326898 - PO System        108.85
      10/3/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      10/3/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      10/3/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      10/3/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/3/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      10/3/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      10/3/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      10/3/2015   709   FT0004   Owner Operator   Repair Order                   CTMS - 185973 Part                  388.91
      10/3/2015   709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00325154 - PO System         35.16
      10/3/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 186011 73129                 181.08
      10/3/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      10/3/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      10/3/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.95
      10/3/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      10/3/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      10/3/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      10/3/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      10/3/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      10/3/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.46
      10/3/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.44
      10/3/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      10/3/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      10/3/2015   709   HG0027   Owner Operator   Charge back by affiliate       CTMS - 186054 HG0027 - Bonus r         500
      10/3/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      10/3/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/3/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.33
      10/3/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.23
      10/3/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.39
      10/3/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.96
      10/3/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      10/3/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      10/3/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/3/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-10         -95
      10/3/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-10        -190
      10/3/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.4
      10/3/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        18.11

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      10/3/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      10/3/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      10/3/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      10/3/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      10/3/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/3/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/3/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        46.55
      10/3/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      10/3/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      10/3/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/3/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      10/3/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      10/3/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      10/3/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      10/3/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.87
      10/3/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      10/3/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      10/3/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/3/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      10/3/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/3/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/3/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/3/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/3/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/3/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/3/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.75
      10/3/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.78
      10/3/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.76
      10/3/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      10/3/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      10/3/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            8.75
      10/3/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/3/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.52
      10/3/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD             7.82
      10/3/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      10/3/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      10/3/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/3/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/3/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          250
      10/3/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.5
      10/3/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/3/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.51
      10/3/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.95
      10/3/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.63
      10/3/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      10/3/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      10/3/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      10/3/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      10/3/2015   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 186054 JQ0015. Bonus re        250
      10/3/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      10/3/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/3/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.88
      10/3/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       121.79
      10/3/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.16
      10/3/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        60.21
      10/3/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      10/3/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      10/3/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      10/3/2015   709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-26        274.63
      10/3/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/3/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      10/3/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      10/3/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      10/3/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      10/3/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75

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      10/3/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      10/3/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/3/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            150
      10/3/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
      10/3/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.72
      10/3/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        330.11
      10/3/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/3/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      10/3/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      10/3/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      10/3/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      10/3/2015   709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                     -2000
      10/3/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/3/2015   709   KP0004   Owner Operator   Express Check                  T-Check Payment                        2000
      10/3/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/3/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      10/3/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        203.81
      10/3/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           120
      10/3/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           392
      10/3/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.2
      10/3/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/3/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      10/3/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      10/3/2015   709   KP0004   Owner Operator   Repair Order                   CTMS - 185973 Repair                 153.84
      10/3/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      10/3/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
      10/3/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
      10/3/2015   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-10      -174.02
      10/3/2015   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-10      -162.37
      10/3/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/3/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
      10/3/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      10/3/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                        13
      10/3/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                           750
      10/3/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        583.24
      10/3/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/3/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      39.07
      10/3/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      10/3/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      10/3/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.51
      10/3/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        178.37
      10/3/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        126.68
      10/3/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        127.85
      10/3/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/3/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      10/3/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      10/3/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 186054 MG0067. Bonus re          250
      10/3/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/3/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           270
      10/3/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.09
      10/3/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/3/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      10/3/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      10/3/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      10/3/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      10/3/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      10/3/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          20.55
      10/3/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.75
      10/3/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        462.08
      10/3/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        165.28
      10/3/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        413.91
      10/3/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/3/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      10/3/2015   709   MM0093   Owner Operator   Repair Order                   CTMS - 185765 Repair                 196.77
      10/3/2015   709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00324726 - PO System         219.51
      10/3/2015   709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00324726 - PO System         219.47
      10/3/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      10/3/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      10/3/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      10/3/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           650
      10/3/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      10/3/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
      10/3/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        462.65

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      10/3/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/3/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                  71.88
      10/3/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism          2.5
      10/3/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                     323.05
      10/3/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL          8.75
      10/3/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                      13
      10/3/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                       750
      10/3/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     271.92
      10/3/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                   100
      10/3/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/3/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD          35.16
      10/3/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 186142 Lease               215.66
      10/3/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL            8.75
      10/3/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                     13
      10/3/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      45.03
      10/3/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/3/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD            32.98
      10/3/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
      10/3/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                       13
      10/3/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/3/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD          28.13
      10/3/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL             8.75
      10/3/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/3/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD             39.07
      10/3/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                 62.7
      10/3/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      10/3/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                        500
      10/3/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      10/3/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     414.15
      10/3/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/3/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              103.07
      10/3/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                     504.72
      10/3/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL         8.75
      10/3/2015   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-26      390.62
      10/3/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     430.68
      10/3/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/3/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD         45.32
      10/3/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      10/3/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                      13
      10/3/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      10/3/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
      10/3/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      10/3/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      10/3/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     371.93
      10/3/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      381.5
      10/3/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/3/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.15
      10/3/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                     512.16
      10/3/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                27.48
      10/3/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                   8.75
      10/3/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                     13
      10/3/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     263.27
      10/3/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     266.13
      10/3/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/3/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                   13.29
      10/3/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism           2.5
      10/3/2015   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00325801 - PO System       33.12
      10/3/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL         8.75
      10/3/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                      13
      10/3/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                         50
      10/3/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                     226.03
      10/3/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                  10.58
      10/3/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                  31.68
      10/3/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/3/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD          58.6
      10/3/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 185986 Repair Q1202          250
      10/3/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 186052 Truck Lease         278.76
      10/3/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                11.12
      10/3/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL               8.75
      10/3/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                      13
      10/3/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                      13
      10/3/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                       200
      10/3/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                      20.27

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      10/3/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.17
      10/3/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.24
      10/3/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      10/3/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      10/3/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      10/3/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      10/3/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/3/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.69
      10/3/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        112.6
      10/3/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.12
      10/3/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.84
      10/3/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      10/3/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      10/3/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      10/3/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/3/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         321
      10/3/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                     100
      10/3/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      10/3/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 186133 Tractor Sub leas      242.03
      10/3/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      10/3/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      10/3/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      10/3/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/3/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/3/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/3/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/3/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        180.3
      10/3/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.52
      10/3/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.38
      10/3/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.9
      10/3/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      10/3/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      10/3/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      10/3/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      10/3/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      10/3/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      10/3/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      10/3/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      10/3/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/3/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/3/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/3/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/3/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       438.28
      10/3/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.78
      10/3/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.14
      10/3/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      10/3/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      10/3/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
      10/3/2015   742   BS0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-10      -56.98
      10/3/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
      10/3/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/3/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/3/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/3/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/3/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/3/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/3/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.25
      10/3/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.41
      10/3/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.53
      10/3/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        69.06
      10/3/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      10/3/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      10/3/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      10/3/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.01
      10/3/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        520.8
      10/3/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      10/3/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      10/3/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      10/3/2015   742   BS0078   Owner Operator   Repair Order                   CTMS - 186073 repair                256.17
      10/3/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      10/3/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      10/3/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.43
      10/3/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.97
      10/3/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.06
      10/3/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      10/3/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      10/3/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      10/3/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      10/3/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      10/3/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      10/3/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      10/3/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      10/3/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      10/3/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/3/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.94
      10/3/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.45
      10/3/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.9
      10/3/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.93
      10/3/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
      10/3/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      10/3/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      10/3/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      10/3/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/3/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/3/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/3/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       431.62
      10/3/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      10/3/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      10/3/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 186075 repair                  100
      10/3/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/3/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      10/3/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      10/3/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       224.84
      10/3/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      10/3/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/3/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.97
      10/3/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       448.27
      10/3/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      10/3/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      10/3/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      10/3/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      10/3/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/3/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.31
      10/3/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.63
      10/3/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.61
      10/3/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.47
      10/3/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.95
      10/3/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.6
      10/3/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      10/3/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      10/3/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      10/3/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      10/3/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 185776 Tractor Lease         353.28
      10/3/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      10/3/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      10/3/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        111.3
      10/3/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.08
      10/3/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.48
      10/3/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/3/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      10/3/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      10/3/2015   821   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-10      -56.53
      10/3/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.78
      10/3/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       113.47

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      10/3/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        43.12
      10/3/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        36.97
      10/3/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 186052 Tractor Rent            125
      10/3/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 186052 Q1203                 278.76
     10/10/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     10/10/2015   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
     10/10/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     10/10/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            40
     10/10/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
     10/10/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
     10/10/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
     10/10/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.99
     10/10/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.08
     10/10/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.41
     10/10/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
     10/10/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
     10/10/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     10/10/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
     10/10/2015   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
     10/10/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
     10/10/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/10/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.72
     10/10/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.45
     10/10/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.5
     10/10/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
     10/10/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
     10/10/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
     10/10/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 186240 Trck Lease            353.28
     10/10/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/10/2015   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
     10/10/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     10/10/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          300
     10/10/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/10/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        439.8
     10/10/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
     10/10/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     10/10/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     10/10/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
     10/10/2015   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
     10/10/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     10/10/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/10/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/10/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/10/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        73.68
     10/10/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.56
     10/10/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        249.9
     10/10/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.52
     10/10/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.87
     10/10/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
     10/10/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
     10/10/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
     10/10/2015   709   CS0091   Owner Operator   Broker Pre Pass                73130 PrePass Device                  12.5
     10/10/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
     10/10/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/10/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.01
     10/10/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
     10/10/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
     10/10/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
     10/10/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
     10/10/2015   709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                  12.5
     10/10/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
     10/10/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
     10/10/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/10/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/10/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/10/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/10/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.96

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     10/10/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        152.28
     10/10/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        206.75
     10/10/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        149.14
     10/10/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        179.59
     10/10/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        104.61
     10/10/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                       100
     10/10/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/10/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD            46.88
     10/10/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter          2.5
     10/10/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 186212 Q1104                  252.11
     10/10/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
     10/10/2015   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                   12.5
     10/10/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
     10/10/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
     10/10/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     10/10/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        476.51
     10/10/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        397.29
     10/10/2015   709   DL0107   Owner Operator   GARNISHMENT                    Does not start until 11/30/15       -632.31
     10/10/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                     10.58
     10/10/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                     31.68
     10/10/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/10/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
     10/10/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 186183 Sublease               338.99
     10/10/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
     10/10/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/10/2015   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                   12.5
     10/10/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
     10/10/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
     10/10/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     10/10/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        437.35
     10/10/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        280.85
     10/10/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/10/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
     10/10/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
     10/10/2015   709   DS0225   Owner Operator   AP Invoice Deductions          Bayer Material Science                192.2
     10/10/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
     10/10/2015   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-17         -200
     10/10/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        391.51
     10/10/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/10/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     19.54
     10/10/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
     10/10/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
     10/10/2015   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                   12.5
     10/10/2015   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
     10/10/2015   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
     10/10/2015   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                           100
     10/10/2015   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                           100
     10/10/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.83
     10/10/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.56
     10/10/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        169.19
     10/10/2015   709   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         255.5
     10/10/2015   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/10/2015   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
     10/10/2015   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
     10/10/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/10/2015   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                   12.5
     10/10/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
     10/10/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
     10/10/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
     10/10/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/10/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         92.34
     10/10/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        415.08
     10/10/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/10/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
     10/10/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
     10/10/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/10/2015   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                   12.5
     10/10/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
     10/10/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
     10/10/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
     10/10/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/10/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     10/10/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.5

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     10/10/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     391.77
     10/10/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     127.44
     10/10/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     401.59
     10/10/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.92
     10/10/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                     505.27
     10/10/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
     10/10/2015   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                12.5
     10/10/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                      13
     10/10/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                       250
     10/10/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        200
     10/10/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                        100
     10/10/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     10/10/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
     10/10/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      186.6
     10/10/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      229.2
     10/10/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     159.36
     10/10/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     337.76
     10/10/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.01
     10/10/2015   709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00326898 - PO System      108.85
     10/10/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                     532.24
     10/10/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL         8.75
     10/10/2015   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                12.5
     10/10/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                      13
     10/10/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                         50
     10/10/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          15
     10/10/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                    0.15
     10/10/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     170.28
     10/10/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       50.1
     10/10/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     230.83
     10/10/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                  10.58
     10/10/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                  31.68
     10/10/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD         29.52
     10/10/2015   709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00325154 - PO System       35.09
     10/10/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 186212 73129               181.08
     10/10/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL               8.75
     10/10/2015   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device               12.5
     10/10/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                     13
     10/10/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     285.03
     10/10/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     425.54
     10/10/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD               82.04
     10/10/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL         8.75
     10/10/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL         8.75
     10/10/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL         8.75
     10/10/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL         8.75
     10/10/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL         8.75
     10/10/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL         8.75
     10/10/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     211.18
     10/10/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                   100
     10/10/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                   100
     10/10/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                   100
     10/10/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                   100
     10/10/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                   100
     10/10/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                   100
     10/10/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                   100
     10/10/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD         39.07
     10/10/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD         39.04
     10/10/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD         39.07
     10/10/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD         39.07
     10/10/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD         39.07
     10/10/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD         39.07
     10/10/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 184827 Lease               149.08
     10/10/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL             8.75
     10/10/2015   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                12.5

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     10/10/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
     10/10/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/10/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.91
     10/10/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.58
     10/10/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
     10/10/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     10/10/2015   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
     10/10/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
     10/10/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/10/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/10/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/10/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.09
     10/10/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.11
     10/10/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.38
     10/10/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
     10/10/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
     10/10/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/10/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-3            95
     10/10/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-3           190
     10/10/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-17        -200
     10/10/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        27.57
     10/10/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.36
     10/10/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        338.5
     10/10/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
     10/10/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     10/10/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
     10/10/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
     10/10/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
     10/10/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
     10/10/2015   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
     10/10/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
     10/10/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
     10/10/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
     10/10/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
     10/10/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
     10/10/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/10/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/10/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       443.07
     10/10/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       474.11
     10/10/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.69
     10/10/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.94
     10/10/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
     10/10/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
     10/10/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/10/2015   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
     10/10/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
     10/10/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
     10/10/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/10/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/10/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/10/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.71
     10/10/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       433.14
     10/10/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
     10/10/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     10/10/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/10/2015   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
     10/10/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     10/10/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/10/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/10/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/10/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/10/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.77
     10/10/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.03

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     10/10/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        446.43
     10/10/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/10/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
     10/10/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
     10/10/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL             8.75
     10/10/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/10/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/10/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/10/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        302.06
     10/10/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.57
     10/10/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/10/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD              7.82
     10/10/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
     10/10/2015   709   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                   12.5
     10/10/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
     10/10/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/10/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/10/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           240
     10/10/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.4
     10/10/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/10/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        177.81
     10/10/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.95
     10/10/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.41
     10/10/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        174.04
     10/10/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/10/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
     10/10/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
     10/10/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
     10/10/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
     10/10/2015   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                   12.5
     10/10/2015   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 186245 JQ0015. Bonus re         250
     10/10/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
     10/10/2015   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-17      -261.64
     10/10/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/10/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        124.16
     10/10/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.07
     10/10/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        137.93
     10/10/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/10/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
     10/10/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
     10/10/2015   709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                   12.5
     10/10/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
     10/10/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/10/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
     10/10/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
     10/10/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/10/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
     10/10/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
     10/10/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
     10/10/2015   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                   12.5
     10/10/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
     10/10/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
     10/10/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/10/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/10/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/10/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/10/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/10/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/10/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.05
     10/10/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.23
     10/10/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          286
     10/10/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        334.82
     10/10/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/10/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
     10/10/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
     10/10/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/10/2015   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
     10/10/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
     10/10/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
     10/10/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           125
     10/10/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/10/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             25
     10/10/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.25

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     10/10/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.25
     10/10/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.68
     10/10/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         114
     10/10/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.43
     10/10/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.48
     10/10/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.51
     10/10/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
     10/10/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     10/10/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
     10/10/2015   709   KP0004   Owner Operator   Tractor Wash                   CTMS - 186335 Tractor wash             -38
     10/10/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
     10/10/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
     10/10/2015   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-3        174.02
     10/10/2015   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-3        162.37
     10/10/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
     10/10/2015   709   LS0023   Owner Operator   Accident Claim                 9/1/15 Prop Damage                  387.38
     10/10/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
     10/10/2015   709   LS0023   Owner Operator   Broker Pre Pass                21489A PrePass Device                 12.5
     10/10/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
     10/10/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                         750
     10/10/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/10/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/10/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.06
     10/10/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.2
     10/10/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
     10/10/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      0.4
     10/10/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     10/10/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 186245 MG0067. Bonus re        250
     10/10/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/10/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.06
     10/10/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.21
     10/10/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
     10/10/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     10/10/2015   709   MM0093   Owner Operator   AP Invoice Deductions          Clerk Of The Court                      25
     10/10/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     10/10/2015   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                  12.5
     10/10/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
     10/10/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/10/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/10/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.48
     10/10/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.04
     10/10/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       125.27
     10/10/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.71
     10/10/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
     10/10/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
     10/10/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     10/10/2015   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                  12.5
     10/10/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
     10/10/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
     10/10/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
     10/10/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
     10/10/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.72
     10/10/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
     10/10/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
     10/10/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
     10/10/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
     10/10/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                       593.19
     10/10/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.15
     10/10/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                     100
     10/10/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
     10/10/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
     10/10/2015   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                 12.5
     10/10/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13

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     10/10/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                        140
     10/10/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.4
     10/10/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     102.36
     10/10/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       253
     10/10/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD            32.98
     10/10/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
     10/10/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                       13
     10/10/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD          28.13
     10/10/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL             8.75
     10/10/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD             39.07
     10/10/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                 62.7
     10/10/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
     10/10/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                        500
     10/10/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
     10/10/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       443
     10/10/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      29.93
     10/10/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                     495.04
     10/10/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              103.07
     10/10/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                     504.72
     10/10/2015   709   RL0017   Owner Operator   AP Invoice Deductions          Bayer Material Science            393.75
     10/10/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL         8.75
     10/10/2015   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device               12.5
     10/10/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     319.38
     10/10/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD         45.32
     10/10/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
     10/10/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                      13
     10/10/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
     10/10/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                        100
     10/10/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     10/10/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
     10/10/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     395.52
     10/10/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     420.84
     10/10/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.15
     10/10/2015   709   RL0062   Owner Operator   T Chek Fee                     ExpressCheck Fee                    5.86
     10/10/2015   709   RL0062   Owner Operator   T Chek Fee                     Tractor Repair 32912                586
     10/10/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                     512.16
     10/10/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                27.48
     10/10/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                   8.75
     10/10/2015   709   RM0026   Owner Operator   Broker Pre Pass                30811A PrePass Device               12.5
     10/10/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                     13
     10/10/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     335.93
     10/10/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     317.26
     10/10/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     350.75
     10/10/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                   13.29
     10/10/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism           2.5
     10/10/2015   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00325801 - PO System       33.12
     10/10/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL         8.75
     10/10/2015   709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                12.5
     10/10/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                      13
     10/10/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                         50
     10/10/2015   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                          50
     10/10/2015   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.5
     10/10/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                     269.02
     10/10/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                     257.86
     10/10/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                  10.58
     10/10/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                  31.68
     10/10/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
     10/10/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD          58.6
     10/10/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 186190 Repair Q1202          250
     10/10/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 186239 Truck Lease         278.76
     10/10/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                11.12
     10/10/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL               8.75
     10/10/2015   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                12.5
     10/10/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                      13
     10/10/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                       200
     10/10/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                        200

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     10/10/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        16.55
     10/10/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.03
     10/10/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        18.34
     10/10/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.04
     10/10/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.53
     10/10/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         238
     10/10/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.69
     10/10/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
     10/10/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
     10/10/2015   709   SB0009   Owner Operator   Tractor Wash                   CTMS - 186335 Tractor wash             -55
     10/10/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     10/10/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
     10/10/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/10/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            80
     10/10/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.8
     10/10/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       115.01
     10/10/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.72
     10/10/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.67
     10/10/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       106.97
     10/10/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
     10/10/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
     10/10/2015   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                  12.5
     10/10/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
     10/10/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/10/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.01
     10/10/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         260
     10/10/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                     100
     10/10/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
     10/10/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 186314 Tractor Sub leas      242.03
     10/10/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     10/10/2015   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
     10/10/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     10/10/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
     10/10/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/10/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.18
     10/10/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.99
     10/10/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.68
     10/10/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
     10/10/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     10/10/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
     10/10/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     10/10/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
     10/10/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
     10/10/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
     10/10/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
     10/10/2015   709   WH0073   Owner Operator   Broker Pre Pass                Q1235 PrePass Device                  12.5
     10/10/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
     10/10/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
     10/10/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/10/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
     10/10/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          500
     10/10/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     10/10/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/10/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.35
     10/10/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       408.37
     10/10/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.69
     10/10/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.31
     10/10/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.65
     10/10/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.82
     10/10/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
     10/10/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
     10/10/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
     10/10/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
     10/10/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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     10/10/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
     10/10/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
     10/10/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 186011 Sub, Sub Lease        396.13
     10/10/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 186211 Sub, Sub Lease        396.13
     10/10/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
     10/10/2015   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
     10/10/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     10/10/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/10/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/10/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/10/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       405.83
     10/10/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        481.8
     10/10/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.99
     10/10/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
     10/10/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
     10/10/2015   742   BS0030   Owner Operator   Broker Pre Pass                32947 PrePass Device                  12.5
     10/10/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
     10/10/2015   742   BS0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-3         56.98
     10/10/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         125
     10/10/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/10/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/10/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/10/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/10/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/10/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.38
     10/10/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.38
     10/10/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        41.73
     10/10/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.81
     10/10/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
     10/10/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     10/10/2015   742   BS0078   Owner Operator   Broker Pre Pass                32665 PrePass Device                  12.5
     10/10/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
     10/10/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.68
     10/10/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.09
     10/10/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       463.44
     10/10/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
     10/10/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
     10/10/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
     10/10/2015   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
     10/10/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
     10/10/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       124.95
     10/10/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.41
     10/10/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.46
     10/10/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
     10/10/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
     10/10/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
     10/10/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
     10/10/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     10/10/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
     10/10/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
     10/10/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     10/10/2015   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
     10/10/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     10/10/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/10/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.2
     10/10/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.28
     10/10/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.06
     10/10/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
     10/10/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     10/10/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
     10/10/2015   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
     10/10/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     10/10/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/10/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          300
     10/10/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/10/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.3

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     10/10/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       524.26
     10/10/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.61
     10/10/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
     10/10/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
     10/10/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/10/2015   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
     10/10/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     10/10/2015   742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                    -1300
     10/10/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
     10/10/2015   742   PC0012   Owner Operator   Express Check                  T-Check Payment                       1300
     10/10/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/10/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/10/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.89
     10/10/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.96
     10/10/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.54
     10/10/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.6
     10/10/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.85
     10/10/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.84
     10/10/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     10/10/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
     10/10/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00324872 - PO System         24.91
     10/10/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00324872 - PO System         192.3
     10/10/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00325629 - PO System         78.71
     10/10/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
     10/10/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       284.34
     10/10/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     10/10/2015   742   PS0080   Owner Operator   Broker Pre Pass                33584 PrePass Device                  12.5
     10/10/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/10/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.33
     10/10/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.53
     10/10/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   742   PS0080   Owner Operator   Permits                        IL02:2015 - 33584                     3.75
     10/10/2015   742   PS0080   Owner Operator   Permits                        NM07:2015 - 33584                      5.5
     10/10/2015   742   PS0080   Owner Operator   Permits                        NY13:2015 - 33584                       19
     10/10/2015   742   PS0080   Owner Operator   Permits                        OR16:2015 - 33584                        8
     10/10/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
     10/10/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
     10/10/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
     10/10/2015   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
     10/10/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     10/10/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/10/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.54
     10/10/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       358.97
     10/10/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.44
     10/10/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
     10/10/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
     10/10/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
     10/10/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     10/10/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 186189 Tractor Lease         353.28
     10/10/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
     10/10/2015   771   EN0016   Owner Operator   Broker Pre Pass                32674 PrePass Device                  12.5
     10/10/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
     10/10/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.89
     10/10/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.54
     10/10/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/10/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
     10/10/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
     10/10/2015   821   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
     10/10/2015   821   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-3         56.53
     10/10/2015   821   DW0138   Owner Operator   ESCROW                         Weekly Escrow                          100
     10/10/2015   821   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       102.63
     10/10/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 186240 Tractor Rent             125
     10/10/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 186239 Q1203                 278.76
     10/17/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     10/17/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     10/17/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                           450
     10/17/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       4.5
     10/17/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.5
     10/17/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
     10/17/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82

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     10/17/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     10/17/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
     10/17/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
     10/17/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/17/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.95
     10/17/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.65
     10/17/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.45
     10/17/2015   709   AR0064   Owner Operator   FUEL TAX                       August Fuel Taxes                   300.74
     10/17/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
     10/17/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
     10/17/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
     10/17/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 186422 Trck Lease            353.28
     10/17/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/17/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     10/17/2015   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         400
     10/17/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          300
     10/17/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/17/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.43
     10/17/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       451.31
     10/17/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
     10/17/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     10/17/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     10/17/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
     10/17/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     10/17/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        76.47
     10/17/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        23.49
     10/17/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.59
     10/17/2015   709   CR0064   Owner Operator   FUEL TAX                       August Fuel Taxes                    42.62
     10/17/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
     10/17/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
     10/17/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
     10/17/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
     10/17/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/17/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.15
     10/17/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.32
     10/17/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.07
     10/17/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
     10/17/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
     10/17/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
     10/17/2015   709   CS0091   Owner Operator   Repair Order                   CTMS - 186341 Repair                184.46
     10/17/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
     10/17/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
     10/17/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
     10/17/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/17/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/17/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.11
     10/17/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        143.5
     10/17/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.61
     10/17/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        120.4
     10/17/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.91
     10/17/2015   709   DJ0028   Owner Operator   FUEL TAX                       August Fuel Taxes                   411.07
     10/17/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                     100
     10/17/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
     10/17/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
     10/17/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 186379 Q1104                 252.11
     10/17/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
     10/17/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     10/17/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
     10/17/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/17/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        527.9
     10/17/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       495.38
     10/17/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
     10/17/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
     10/17/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
     10/17/2015   709   DL0107   Owner Operator   Tire Fee                       Tire Fee: 1861669                       16
     10/17/2015   709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00326188 - PO System        356.07
     10/17/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 186347 Sublease              338.99

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     10/17/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/17/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
     10/17/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     10/17/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         205
     10/17/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.49
     10/17/2015   709   DS0049   Owner Operator   FUEL TAX                       August Fuel Taxes                   116.51
     10/17/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
     10/17/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
     10/17/2015   709   DS0225   Owner Operator   AP Invoice Deductions          Bayer Material Science              -192.2
     10/17/2015   709   DS0225   Owner Operator   AP Invoice Deductions          Bayer Material Science                68.2
     10/17/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
     10/17/2015   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-10         200
     10/17/2015   709   DS0225   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -50
     10/17/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       441.11
     10/17/2015   709   DS0225   Owner Operator   FUEL TAX                       August Fuel Taxes                   -37.86
     10/17/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
     10/17/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
     10/17/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
     10/17/2015   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
     10/17/2015   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
     10/17/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        118.7
     10/17/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       439.26
     10/17/2015   709   DW0138   Owner Operator   FUEL TAX                       August Fuel Taxes                   134.94
     10/17/2015   709   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
     10/17/2015   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
     10/17/2015   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
     10/17/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/17/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
     10/17/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
     10/17/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/17/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/17/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/17/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/17/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.08
     10/17/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       451.29
     10/17/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.43
     10/17/2015   709   EA0003   Owner Operator   FUEL TAX                       August Fuel Taxes                   143.78
     10/17/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
     10/17/2015   709   EA0003   Owner Operator   Repair Order                   CTMS - 186341 Hose                      50
     10/17/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
     10/17/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/17/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
     10/17/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
     10/17/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/17/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.93
     10/17/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        73.71
     10/17/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.64
     10/17/2015   709   EE0011   Owner Operator   FUEL TAX                       August Fuel Taxes                    95.67
     10/17/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
     10/17/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
     10/17/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
     10/17/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
     10/17/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/17/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
     10/17/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            40
     10/17/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/17/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/17/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/17/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/17/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
     10/17/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
     10/17/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.64
     10/17/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.47
     10/17/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.31
     10/17/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
     10/17/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
     10/17/2015   709   FT0004   Owner Operator   Loan Repayment                 Crdt xps cde 124335 s/u loan      -1936.42
     10/17/2015   709   FT0004   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment       279.19

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     10/17/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.52
     10/17/2015   709   FT0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                      19.17
     10/17/2015   709   FT0004   Owner Operator   T Chek Fee                     Tractor Repair 73129                1917.25
     10/17/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 186379 73129                  181.08
     10/17/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
     10/17/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
     10/17/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.01
     10/17/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        371.54
     10/17/2015   709   FV0001   Owner Operator   FUEL TAX                       August Fuel Taxes                     14.35
     10/17/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
     10/17/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            1.16
     10/17/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
     10/17/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
     10/17/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.87
     10/17/2015   709   GS0015   Owner Operator   FUEL TAX                       August Fuel Taxes                     26.58
     10/17/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                       100
     10/17/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                       100
     10/17/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.04
     10/17/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            11.62
     10/17/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
     10/17/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 184636 Lease                  252.11
     10/17/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 184827 Lease                  103.03
     10/17/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
     10/17/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
     10/17/2015   709   HG0007   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev             -50
     10/17/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
     10/17/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     10/17/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        398.14
     10/17/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.84
     10/17/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        444.26
     10/17/2015   709   HG0007   Owner Operator   FUEL TAX                       August Fuel Taxes                     63.82
     10/17/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
     10/17/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
     10/17/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
     10/17/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/17/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.4
     10/17/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        318.67
     10/17/2015   709   HG0027   Owner Operator   FUEL TAX                       August Fuel Taxes                     47.07
     10/17/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
     10/17/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
     10/17/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/17/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-10           200
     10/17/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-24         -190
     10/17/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        268.22
     10/17/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         18.64
     10/17/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        288.99
     10/17/2015   709   IR0002   Owner Operator   FUEL TAX                       August Fuel Taxes                     -41.2
     10/17/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
     10/17/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     10/17/2015   709   IR0002   Owner Operator   Repair Order                   CTMS - 186341 Fire Extinguishe        70.48
     10/17/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
     10/17/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
     10/17/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
     10/17/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
     10/17/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     10/17/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/17/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        481.77
     10/17/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        223.95
     10/17/2015   709   JC0292   Owner Operator   FUEL TAX                       August Fuel Taxes                     172.4
     10/17/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.13
     10/17/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
     10/17/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/17/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
     10/17/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500

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     10/17/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
     10/17/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/17/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.93
     10/17/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.13
     10/17/2015   709   JG0017   Owner Operator   FUEL TAX                       August Fuel Taxes                    31.98
     10/17/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
     10/17/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     10/17/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/17/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     10/17/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/17/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/17/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/17/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/17/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/17/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/17/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.08
     10/17/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.66
     10/17/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.93
     10/17/2015   709   JG0072   Owner Operator   FUEL TAX                       August Fuel Taxes                   227.13
     10/17/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
     10/17/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     10/17/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            8.75
     10/17/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/17/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          260
     10/17/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.6
     10/17/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.92
     10/17/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.99
     10/17/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.79
     10/17/2015   709   JG0092   Owner Operator   FUEL TAX                       August Fuel Taxes                     0.29
     10/17/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD             7.82
     10/17/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     10/17/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     10/17/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/17/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/17/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/17/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/17/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/17/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.56
     10/17/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.13
     10/17/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.35
     10/17/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.03
     10/17/2015   709   JK0112   Owner Operator   FUEL TAX                       August Fuel Taxes                   210.05
     10/17/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
     10/17/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     10/17/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     10/17/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     10/17/2015   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 186423 JQ0015. Bonus re        250
     10/17/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     10/17/2015   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-10       261.64
     10/17/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/17/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.04
     10/17/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        101.7
     10/17/2015   709   JQ0015   Owner Operator   FUEL TAX                       August Fuel Taxes                    17.39
     10/17/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
     10/17/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
     10/17/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
     10/17/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/17/2015   709   JR0099   Owner Operator   FUEL TAX                       August Fuel Taxes                   205.03
     10/17/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
     10/17/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
     10/17/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
     10/17/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     10/17/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     10/17/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     10/17/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
     10/17/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/17/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          150

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     10/17/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
     10/17/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/17/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        193.91
     10/17/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        393.12
     10/17/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
     10/17/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
     10/17/2015   709   JS0265   Owner Operator   Tire Fee                       Tire Fee: 1856346                         8
     10/17/2015   709   JS0265   Owner Operator   Tire Fee                       Tire Fee: 1856348                        16
     10/17/2015   709   JS0265   Owner Operator   Tire Fee                       Tire Fee: 1856349                        16
     10/17/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325696 - PO System         288.65
     10/17/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325703 - PO System         404.01
     10/17/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325704 - PO System         396.81
     10/17/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/17/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
     10/17/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
     10/17/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/17/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/17/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          330
     10/17/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.19
     10/17/2015   709   KP0004   Owner Operator   FUEL TAX                       August Fuel Taxes                    263.86
     10/17/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
     10/17/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     10/17/2015   709   KP0004   Owner Operator   Repair Order                   CTMS - 186341 Batteries              153.84
     10/17/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
     10/17/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
     10/17/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
     10/17/2015   709   LL0160   Owner Operator   FUEL TAX                       August Fuel Taxes                    109.45
     10/17/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
     10/17/2015   709   LS0023   Owner Operator   Accident Claim                 9/1/15 Expense                        312.5
     10/17/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
     10/17/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                        13
     10/17/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                          750
     10/17/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/17/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/17/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.43
     10/17/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        382.38
     10/17/2015   709   LS0023   Owner Operator   FUEL TAX                       August Fuel Taxes                     22.75
     10/17/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      39.07
     10/17/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
     10/17/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
     10/17/2015   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                  12.5
     10/17/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
     10/17/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
     10/17/2015   709   MB0048   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-24        -62.5
     10/17/2015   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/17/2015   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/17/2015   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/17/2015   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/17/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.3
     10/17/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        162.38
     10/17/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        366.82
     10/17/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        205.25
     10/17/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        320.01
     10/17/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
     10/17/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     69.92
     10/17/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
     10/17/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 186423 MG0067. Bonus re         250
     10/17/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-24      -206.38
     10/17/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-24      -212.73
     10/17/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-24      -212.73
     10/17/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/17/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.03
     10/17/2015   709   MG0067   Owner Operator   FUEL TAX                       August Fuel Taxes                    -11.59
     10/17/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
     10/17/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
     10/17/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75

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     10/17/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
     10/17/2015   709   MM0093   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev             -50
     10/17/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
     10/17/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/17/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        217.37
     10/17/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.99
     10/17/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        513.61
     10/17/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
     10/17/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
     10/17/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
     10/17/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
     10/17/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           650
     10/17/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
     10/17/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
     10/17/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        347.57
     10/17/2015   709   MP0035   Owner Operator   FUEL TAX                       August Fuel Taxes                     -0.41
     10/17/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
     10/17/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
     10/17/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
     10/17/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
     10/17/2015   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                   12.5
     10/17/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
     10/17/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
     10/17/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        156.81
     10/17/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           750
     10/17/2015   709   NB0029   Owner Operator   FUEL TAX                       August Fuel Taxes                     64.84
     10/17/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                       100
     10/17/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
     10/17/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 186322 Lease                  215.66
     10/17/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 186512 Lease                  215.66
     10/17/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
     10/17/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
     10/17/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
     10/17/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/17/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        280.53
     10/17/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
     10/17/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL             8.75
     10/17/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                          13
     10/17/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD             28.13
     10/17/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
     10/17/2015   709   RC0030   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev             -50
     10/17/2015   709   RC0030   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -100
     10/17/2015   709   RC0030   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev             -50
     10/17/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.57
     10/17/2015   709   RC0030   Owner Operator   FUEL TAX                       August Fuel Taxes                    -33.79
     10/17/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
     10/17/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    62.7
     10/17/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/17/2015   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-24       -96.52
     10/17/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
     10/17/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     10/17/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.32
     10/17/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        358.26
     10/17/2015   709   RC0089   Owner Operator   FUEL TAX                       August Fuel Taxes                    -25.05
     10/17/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.07
     10/17/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
     10/17/2015   709   RL0017   Owner Operator   AP Invoice Deductions          Bayer Material science              -393.75
     10/17/2015   709   RL0017   Owner Operator   AP Invoice Deductions          Bayer Material Science               206.25
     10/17/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
     10/17/2015   709   RL0017   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev             -50
     10/17/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        375.54
     10/17/2015   709   RL0017   Owner Operator   FUEL TAX                       August Fuel Taxes                    -22.72
     10/17/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.32
     10/17/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/17/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13

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     10/17/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/17/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/17/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/17/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/17/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.41
     10/17/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        396.76
     10/17/2015   709   RL0062   Owner Operator   FUEL TAX                       August Fuel Taxes                    206.24
     10/17/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
     10/17/2015   709   RL0062   Owner Operator   Tire Fee                       Tire Fee: 1864023                        16
     10/17/2015   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00326066 - PO System         366.22
     10/17/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
     10/17/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
     10/17/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                      8.75
     10/17/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                        13
     10/17/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        214.93
     10/17/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.7
     10/17/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        264.02
     10/17/2015   709   RM0026   Owner Operator   FUEL TAX                       August Fuel Taxes                    184.99
     10/17/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                      13.29
     10/17/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism              2.5
     10/17/2015   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00325801 - PO System          33.12
     10/17/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
     10/17/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
     10/17/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/17/2015   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                             50
     10/17/2015   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
     10/17/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.49
     10/17/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.96
     10/17/2015   709   RP0082   Owner Operator   FUEL TAX                       August Fuel Taxes                      8.46
     10/17/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                     10.58
     10/17/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                     31.68
     10/17/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
     10/17/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 186352 Repair Q1202             250
     10/17/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                   11.12
     10/17/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
     10/17/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
     10/17/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
     10/17/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/17/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/17/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        351.95
     10/17/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.4
     10/17/2015   709   SB0009   Owner Operator   FUEL TAX                       August Fuel Taxes                    157.26
     10/17/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
     10/17/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
     10/17/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     10/17/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
     10/17/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/17/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/17/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/17/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.51
     10/17/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        154.67
     10/17/2015   709   SN0019   Owner Operator   FUEL TAX                       August Fuel Taxes                     91.37
     10/17/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
     10/17/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
     10/17/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
     10/17/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/17/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.1
     10/17/2015   709   VB0015   Owner Operator   FUEL TAX                       August Fuel Taxes                    147.93
     10/17/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                      100
     10/17/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
     10/17/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 186504 Tractor Sub leas       242.03
     10/17/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     10/17/2015   709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                  -2095.83
     10/17/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                        188.89
     10/17/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/17/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/17/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.03

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     10/17/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        178.59
     10/17/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        266.49
     10/17/2015   709   VJ0006   Owner Operator   FUEL TAX                       August Fuel Taxes                    150.82
     10/17/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
     10/17/2015   709   VJ0006   Owner Operator   T Chek Fee                     ExpressCheck Fee                      20.75
     10/17/2015   709   VJ0006   Owner Operator   T Chek Fee                     Tractor Repair 32945                2075.08
     10/17/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
     10/17/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
     10/17/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
     10/17/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
     10/17/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
     10/17/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL               8.75
     10/17/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                         13
     10/17/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                           500
     10/17/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     10/17/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        383.75
     10/17/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        449.12
     10/17/2015   709   WH0073   Owner Operator   FUEL TAX                       August Fuel Taxes                    109.04
     10/17/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                     10.58
     10/17/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                     31.68
     10/17/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD               65.71
     10/17/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 186379 Sub, Sub Lease         396.13
     10/17/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
     10/17/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/17/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/17/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/17/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/17/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.93
     10/17/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.7
     10/17/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         85.34
     10/17/2015   742   AP0047   Owner Operator   FUEL TAX                       August Fuel Taxes                    105.19
     10/17/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 97.27
     10/17/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
     10/17/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                         50.84
     10/17/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/17/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/17/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/17/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/17/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          230
     10/17/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.55
     10/17/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         35.74
     10/17/2015   742   BS0030   Owner Operator   FUEL TAX                       August Fuel Taxes                     80.44
     10/17/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
     10/17/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
     10/17/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
     10/17/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.46
     10/17/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        380.65
     10/17/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        401.32
     10/17/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        385.26
     10/17/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.59
     10/17/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        127.42
     10/17/2015   742   BS0078   Owner Operator   FUEL TAX                       August Fuel Taxes                     94.78
     10/17/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.55
     10/17/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
     10/17/2015   742   BS0078   Owner Operator   Repair Order                   CTMS - 186373 repair                 256.17
     10/17/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
     10/17/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
     10/17/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        262.95
     10/17/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.28
     10/17/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.26
     10/17/2015   742   ED0041   Owner Operator   FUEL TAX                       August Fuel Taxes                     71.59
     10/17/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/17/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.36
     10/17/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
     10/17/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
     10/17/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                        13
     10/17/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75

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     10/17/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
     10/17/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
     10/17/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     10/17/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     10/17/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/17/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.18
     10/17/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.34
     10/17/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       174.69
     10/17/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.9
     10/17/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.57
     10/17/2015   742   MH0117   Owner Operator   FUEL TAX                       August Fuel Taxes                     59.4
     10/17/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
     10/17/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     10/17/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
     10/17/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     10/17/2015   742   NG0024   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/17/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       416.84
     10/17/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       483.43
     10/17/2015   742   NG0024   Owner Operator   FUEL TAX                       August Fuel Taxes                    71.27
     10/17/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
     10/17/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
     10/17/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 186373 repair                  100
     10/17/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/17/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     10/17/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     10/17/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     10/17/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
     10/17/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/17/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/17/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/17/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/17/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.39
     10/17/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.64
     10/17/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.63
     10/17/2015   742   PC0012   Owner Operator   FUEL TAX                       August Fuel Taxes                       33
     10/17/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     10/17/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
     10/17/2015   742   PC0012   Owner Operator   Tire Fee                       Tire Fee: 1856509                        4
     10/17/2015   742   PC0012   Owner Operator   Tire Fee                       Tire Fee: 1856517                        4
     10/17/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00324872 - PO System        135.18
     10/17/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00324872 - PO System        167.39
     10/17/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00324872 - PO System        192.24
     10/17/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00325629 - PO System         78.68
     10/17/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00325629 - PO System         78.71
     10/17/2015   742   PC0012   Owner Operator   Tire Purchase                  PO: 742-00325629 - PO System         78.71
     10/17/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
     10/17/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     10/17/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/17/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       488.36
     10/17/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                        340.8
     10/17/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                        29.43
     10/17/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.85
     10/17/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.41
     10/17/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
     10/17/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
     10/17/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
     10/17/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     10/17/2015   742   RN0054   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -50
     10/17/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/17/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        381.9
     10/17/2015   742   RN0054   Owner Operator   FUEL TAX                       August Fuel Taxes                    66.34
     10/17/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
     10/17/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
     10/17/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
     10/17/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     10/17/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 186351 Tractor Lease         353.28
     10/17/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
     10/17/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
     10/17/2015   771   EN0016   Owner Operator   Driver Excellence Program      Clean Inspection Awards Rev            -50

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     10/17/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.67
     10/17/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.13
     10/17/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/17/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
     10/17/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
     10/17/2015   771   EN0016   Owner Operator   Repair Order                   TRACTOR 32674                        18.04
     10/17/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 186421 Tractor Rent            125
     10/17/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 186421 Q1203                 278.76
     10/17/2015   858   RP0082   Owner Operator   Truck Payment                  CTMS - 186421 Truck Lease           278.76
     10/24/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     10/24/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     10/24/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
     10/24/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
     10/24/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.28
     10/24/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
     10/24/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
     10/24/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     10/24/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
     10/24/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
     10/24/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/24/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.92
     10/24/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       445.16
     10/24/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.23
     10/24/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
     10/24/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
     10/24/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
     10/24/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 186650 Trck Lease            353.28
     10/24/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/24/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     10/24/2015   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         400
     10/24/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       489.98
     10/24/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
     10/24/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     10/24/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     10/24/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
     10/24/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     10/24/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        76.15
     10/24/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.08
     10/24/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.9
     10/24/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
     10/24/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
     10/24/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
     10/24/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
     10/24/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/24/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.74
     10/24/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.45
     10/24/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
     10/24/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
     10/24/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.43
     10/24/2015   709   CS0091   Owner Operator   Repair Order                   CTMS - 186559 Repair                184.46
     10/24/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
     10/24/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
     10/24/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
     10/24/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/24/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/24/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.82
     10/24/2015   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2015 - Q1104                    45.08
     10/24/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.86
     10/24/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
     10/24/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 186609 Q1104                 252.11
     10/24/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
     10/24/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     10/24/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
     10/24/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/24/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       457.59
     10/24/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       463.38
     10/24/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58

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     10/24/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                   31.68
     10/24/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/24/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.69
     10/24/2015   709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00326188 - PO System       356.07
     10/24/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 186564 Sublease             338.99
     10/24/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.36
     10/24/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.38
     10/24/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     10/24/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
     10/24/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
     10/24/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                         500
     10/24/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
     10/24/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       60.99
     10/24/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      438.67
     10/24/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/24/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.33
     10/24/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
     10/24/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
     10/24/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.2
     10/24/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/24/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   19.51
     10/24/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                       8.75
     10/24/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                       8.75
     10/24/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      189.63
     10/24/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      139.48
     10/24/2015   709   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       255.5
     10/24/2015   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/24/2015   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                       68.49
     10/24/2015   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                      463.27
     10/24/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     10/24/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
     10/24/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        250
     10/24/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
     10/24/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
     10/24/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     10/24/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     10/24/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.4
     10/24/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      309.07
     10/24/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      300.84
     10/24/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/24/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
     10/24/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
     10/24/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     10/24/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                       13
     10/24/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         300
     10/24/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
     10/24/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      250.52
     10/24/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      132.82
     10/24/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/24/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.91
     10/24/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                      505.27
     10/24/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     10/24/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     10/24/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                       13
     10/24/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                       13
     10/24/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        250
     10/24/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        250
     10/24/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
     10/24/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
     10/24/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     10/24/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     10/24/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.4
     10/24/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       96.53
     10/24/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      191.59
     10/24/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      206.79
     10/24/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      212.29
     10/24/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      289.14
     10/24/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      333.97
     10/24/2015   709   EH0020   Owner Operator   FUEL TAX                       August Fuel Taxes                  154.48
     10/24/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/24/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/24/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.01
     10/24/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93

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     10/24/2015   709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00326898 - PO System       108.85
     10/24/2015   709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00326898 - PO System       108.85
     10/24/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      532.24
     10/24/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      532.24
     10/24/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL          8.75
     10/24/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                         120
     10/24/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                        68.31
     10/24/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           20
     10/24/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            5
     10/24/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.05
     10/24/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
     10/24/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.2
     10/24/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.2
     10/24/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      245.86
     10/24/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      160.36
     10/24/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      210.43
     10/24/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                   10.58
     10/24/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                   31.68
     10/24/2015   709   FT0004   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment      279.19
     10/24/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/24/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD          29.51
     10/24/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                8.75
     10/24/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
     10/24/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/24/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                82.01
     10/24/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     10/24/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     10/24/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     10/24/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     10/24/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     10/24/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     10/24/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     10/24/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     10/24/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     10/24/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     10/24/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL          7.59
     10/24/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL          8.75
     10/24/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     10/24/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     10/24/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     10/24/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     10/24/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     10/24/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     10/24/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     10/24/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     10/24/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     10/24/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     10/24/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     10/24/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     10/24/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     10/24/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     10/24/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     10/24/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     10/24/2015   709   GS0015   Owner Operator   FUEL TAX                       June 2015 QC                        62.04
     10/24/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                   45.08
     10/24/2015   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1110                    100
     10/24/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/24/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD          39.04
     10/24/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 186609 Lease                252.11
     10/24/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL              8.75
     10/24/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                       13
     10/24/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                         200
     10/24/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     10/24/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      423.65
     10/24/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/24/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD              15.61
     10/24/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                   8.75
     10/24/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                       13
     10/24/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          50
     10/24/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                         200
     10/24/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     10/24/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      206.48
     10/24/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      234.92

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     10/24/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.87
     10/24/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.04
     10/24/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.83
     10/24/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
     10/24/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
     10/24/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/24/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-17          190
     10/24/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-31        -190
     10/24/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.53
     10/24/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
     10/24/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     10/24/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
     10/24/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
     10/24/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
     10/24/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
     10/24/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
     10/24/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
     10/24/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
     10/24/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
     10/24/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
     10/24/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/24/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/24/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/24/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.73
     10/24/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.18
     10/24/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.58
     10/24/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
     10/24/2015   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 43 093015                3.15
     10/24/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
     10/24/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/24/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
     10/24/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
     10/24/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
     10/24/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/24/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.81
     10/24/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        292.2
     10/24/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
     10/24/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     10/24/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/24/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     10/24/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/24/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/24/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/24/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/24/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       447.29
     10/24/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.58
     10/24/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
     10/24/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     10/24/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            8.75
     10/24/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/24/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           240
     10/24/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.4
     10/24/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.03
     10/24/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.5
     10/24/2015   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2015 - 33595                      100
     10/24/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   JG0092   Owner Operator   Permits                        IL02:2015 - 33595                     3.75
     10/24/2015   709   JG0092   Owner Operator   Permits                        NM07:2015 - 33595                      5.5
     10/24/2015   709   JG0092   Owner Operator   Permits                        OR16:2015 - 33595                        8
     10/24/2015   709   JG0092   Owner Operator   Permits                        OR16:2015 - 33595                        8
     10/24/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD             7.79
     10/24/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     10/24/2015   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 186651 JQ0015. Bonus re         250
     10/24/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     10/24/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/24/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.58
     10/24/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        80.09
     10/24/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.87

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     10/24/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        129.87
     10/24/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/24/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51
     10/24/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
     10/24/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
     10/24/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/24/2015   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.44
     10/24/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
     10/24/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
     10/24/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/24/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.58
     10/24/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
     10/24/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
     10/24/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
     10/24/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
     10/24/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           150
     10/24/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/24/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/24/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
     10/24/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        312.78
     10/24/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.03
     10/24/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.06
     10/24/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/24/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.93
     10/24/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
     10/24/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325696 - PO System         288.65
     10/24/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325703 - PO System         404.01
     10/24/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325704 - PO System         396.81
     10/24/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/24/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
     10/24/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
     10/24/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/24/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/24/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        406.01
     10/24/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        217.62
     10/24/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.96
     10/24/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        135.96
     10/24/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/24/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
     10/24/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     10/24/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
     10/24/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
     10/24/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
     10/24/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/24/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
     10/24/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
     10/24/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                        13
     10/24/2015   709   LS0023   Owner Operator   ESCROW                         Weekly Escrow                          750
     10/24/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/24/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/24/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        188.94
     10/24/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/24/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      39.04
     10/24/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
     10/24/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
     10/24/2015   709   MB0048   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-17          62.5
     10/24/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.3
     10/24/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/24/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.29
     10/24/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
     10/24/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 186651 MG0067. Bonus re         250
     10/24/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-17        206.38
     10/24/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-17        212.73
     10/24/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-17        212.73
     10/24/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-31      -212.72
     10/24/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/24/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        144.03
     10/24/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.02
     10/24/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/24/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
     10/24/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
     10/24/2015   709   MG0067   Owner Operator   Truck Payment                  CTMS - 186730 Tractor rental Q         320
     10/24/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75

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     10/24/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
     10/24/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/24/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/24/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.92
     10/24/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.37
     10/24/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.15
     10/24/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.11
     10/24/2015   709   MM0093   Owner Operator   Repair Order                   CTMS - 186559 Repair                 127.9
     10/24/2015   709   MM0093   Owner Operator   Repair Order                   CTMS - 186559 Repair                102.66
     10/24/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
     10/24/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     10/24/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
     10/24/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
     10/24/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
     10/24/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
     10/24/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       512.86
     10/24/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.86
     10/24/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
     10/24/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
     10/24/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
     10/24/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        652.5
     10/24/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            40
     10/24/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
     10/24/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.71
     10/24/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.39
     10/24/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.06
     10/24/2015   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2015 - Q1108                    45.08
     10/24/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.15
     10/24/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 186762 Lease                 215.66
     10/24/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
     10/24/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
     10/24/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          160
     10/24/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
     10/24/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.73
     10/24/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.61
     10/24/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.97
     10/24/2015   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
     10/24/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.17
     10/24/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.34
     10/24/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.77
     10/24/2015   709   NR0010   Owner Operator   IRP License Deduction          LCIL:2015 - Q1106                    45.08
     10/24/2015   709   NR0010   Owner Operator   Truck Payment                  CTMS - 186574 Tractor Sublease      252.11
     10/24/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL            8.75
     10/24/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
     10/24/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.11
     10/24/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
     10/24/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.17
     10/24/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.04
     10/24/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  62.69
     10/24/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/24/2015   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-17        96.52
     10/24/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
     10/24/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     10/24/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.12
     10/24/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.85
     10/24/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.05
     10/24/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
     10/24/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
     10/24/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.39
     10/24/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.29
     10/24/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/24/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
     10/24/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/24/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/24/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100

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     10/24/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/24/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/24/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/24/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.31
     10/24/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.75
     10/24/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.31
     10/24/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.13
     10/24/2015   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00326066 - PO System        366.22
     10/24/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
     10/24/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.46
     10/24/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
     10/24/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
     10/24/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.86
     10/24/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.07
     10/24/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.26
     10/24/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
     10/24/2015   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00325801 - PO System         33.08
     10/24/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
     10/24/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
     10/24/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/24/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.77
     10/24/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.11
     10/24/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.49
     10/24/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
     10/24/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
     10/24/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
     10/24/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 186569 Repair Q1202            250
     10/24/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 186650 Truck Lease           278.76
     10/24/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
     10/24/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     10/24/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
     10/24/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
     10/24/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/24/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/24/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.61
     10/24/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.99
     10/24/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
     10/24/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
     10/24/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     10/24/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
     10/24/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/24/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/24/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/24/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/24/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/24/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.43
     10/24/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        91.13
     10/24/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.37
     10/24/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
     10/24/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
     10/24/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
     10/24/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/24/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         361
     10/24/2015   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2015 - Q1112                    45.08
     10/24/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
     10/24/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 186755 Tractor Sub leas      242.03
     10/24/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     10/24/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     10/24/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     10/24/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
     10/24/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                        11.11
     10/24/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/24/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/24/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.68
     10/24/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.9
     10/24/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.09
     10/24/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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     10/24/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
     10/24/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     10/24/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
     10/24/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     10/24/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
     10/24/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
     10/24/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
     10/24/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                           500
     10/24/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     10/24/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.44
     10/24/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.85
     10/24/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.64
     10/24/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       358.01
     10/24/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
     10/24/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
     10/24/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.69
     10/24/2015   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                         8
     10/24/2015   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                           150
     10/24/2015   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
     10/24/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       388.55
     10/24/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.57
     10/24/2015   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2015 - Q1113                    45.08
     10/24/2015   709   WH0087   Owner Operator   Truck Payment                  CTMS - 186574 Tractor Sublease      252.11
     10/24/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
     10/24/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     10/24/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     10/24/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.93
     10/24/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.25
     10/24/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
     10/24/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
     10/24/2015   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                        13
     10/24/2015   742   BS0030   Owner Operator   ESCROW                         Escrow Withdrawal                    -2125
     10/24/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                          125
     10/24/2015   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                        74.16
     10/24/2015   742   BS0030   Owner Operator   Express Check                  T-Check Payment                       2125
     10/24/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/24/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance                           300
     10/24/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/24/2015   742   BS0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/24/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.76
     10/24/2015   742   BS0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.27
     10/24/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
     10/24/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 37.24
     10/24/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
     10/24/2015   742   BS0078   Owner Operator   Toll Charges                   TOL                                    100
     10/24/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
     10/24/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
     10/24/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.41
     10/24/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.83
     10/24/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.04
     10/24/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
     10/24/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
     10/24/2015   742   ED0041   Owner Operator   Tire Fee                       Tire Fee: 1865314                       16
     10/24/2015   742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00326864 - PO System        348.81
     10/24/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
     10/24/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
     10/24/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
     10/24/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
     10/24/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
     10/24/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     10/24/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     10/24/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/24/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/24/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/24/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/24/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       403.28
     10/24/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.21
     10/24/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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     10/24/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     10/24/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     10/24/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       247.54
     10/24/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
     10/24/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     10/24/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                         16.4
     10/24/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.61
     10/24/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     10/24/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
     10/24/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     10/24/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.63
     10/24/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.93
     10/24/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
     10/24/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
     10/24/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/24/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     10/24/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
     10/24/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/24/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/24/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/24/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/24/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         203
     10/24/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        134.7
     10/24/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        181.3
     10/24/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.32
     10/24/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
     10/24/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
     10/24/2015   742   PC0012   Owner Operator   Repair Order                   CTMS - 185973 Repair                253.42
     10/24/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
     10/24/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     10/24/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/24/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     66.4
     10/24/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
     10/24/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
     10/24/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     10/24/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/24/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.35
     10/24/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.41
     10/24/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.73
     10/24/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.83
     10/24/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
     10/24/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
     10/24/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
     10/24/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     10/24/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 185985 Tractor Lease         353.28
     10/24/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 186568 Tractor Lease         353.28
     10/24/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
     10/24/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
     10/24/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.63
     10/24/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.86
     10/24/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.33
     10/24/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.58
     10/24/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/24/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
     10/24/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
     10/24/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 186650 Tractor Rent            125
     10/24/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 186650 Q1203                 278.76
     10/31/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     10/31/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
     10/31/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
     10/31/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.15
     10/31/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       305.79
     10/31/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
     10/31/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/31/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.37
     10/31/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.37
     10/31/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.4
     10/31/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        332.9

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     10/31/2015   709   AR0064   Owner Operator   Highway Use Tax         HUTC:2016 - Q13147                   10.58
     10/31/2015   709   AR0064   Owner Operator   IRP License Deduction   LCIL:2015 - Q13147                   31.68
     10/31/2015   709   AR0064   Owner Operator   Repair Order            CTMS - 186794 Part                   54.08
     10/31/2015   709   CM0119   Owner Operator   Communication Charge    PNet Hware 32920                        13
     10/31/2015   709   CM0119   Owner Operator   ESCROW                  Weekly Escrow                         400
     10/31/2015   709   CM0119   Owner Operator   Fuel Purchase           Fuel Purchase                       423.01
     10/31/2015   709   CM0119   Owner Operator   Fuel Purchase           Fuel Purchase                       358.35
     10/31/2015   709   CM0119   Owner Operator   Tractor Charge          14620 - 32920                       507.91
     10/31/2015   709   CR0064   Owner Operator   Communication Charge    PNet Hware 32864                        13
     10/31/2015   709   CR0064   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 11-7      -102.74
     10/31/2015   709   CR0064   Owner Operator   Fuel Card Advances      Cash Advance                          100
     10/31/2015   709   CR0064   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
     10/31/2015   709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                        253.9
     10/31/2015   709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                       178.24
     10/31/2015   709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                       300.04
     10/31/2015   709   CR0064   Owner Operator   Tractor Charge          14267 - 32864                       245.63
     10/31/2015   709   CS0091   Owner Operator   Communication Charge    PNet Hware 73130                        13
     10/31/2015   709   CS0091   Owner Operator   ESCROW                  Weekly Escrow                           50
     10/31/2015   709   CS0091   Owner Operator   Fuel Purchase           Fuel Purchase                       248.75
     10/31/2015   709   CS0091   Owner Operator   Fuel Purchase           Fuel Purchase                       214.97
     10/31/2015   709   CS0091   Owner Operator   Highway Use Tax         HUTC:2016 - 73130                    10.58
     10/31/2015   709   CS0091   Owner Operator   IRP License Deduction   LCIL:2015 - 73130                    31.68
     10/31/2015   709   CS0091   Owner Operator   Repair Order            CTMS - 186794 Repair                184.46
     10/31/2015   709   DJ0028   Owner Operator   Communication Charge    PNet Hware q1104                        13
     10/31/2015   709   DJ0028   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 11-7          -35
     10/31/2015   709   DJ0028   Owner Operator   ESCROW                  Weekly Escrow                         250
     10/31/2015   709   DJ0028   Owner Operator   Fuel Purchase           Fuel Purchase                       172.58
     10/31/2015   709   DJ0028   Owner Operator   Fuel Purchase           Fuel Purchase                       241.97
     10/31/2015   709   DJ0028   Owner Operator   Truck Payment           CTMS - 186840 Q1104                 252.11
     10/31/2015   709   DL0107   Owner Operator   Communication Charge    PNet Hware Q1245                        13
     10/31/2015   709   DL0107   Owner Operator   Fuel Card Advances      Cash Advance                          300
     10/31/2015   709   DL0107   Owner Operator   Fuel Card Advances      Cash Advance Fee                         3
     10/31/2015   709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                        460.2
     10/31/2015   709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                       442.58
     10/31/2015   709   DL0107   Owner Operator   Highway Use Tax         HUTC:2016 - Q1245                    10.58
     10/31/2015   709   DL0107   Owner Operator   IRP License Deduction   LCIL:2015 - Q1245                    31.68
     10/31/2015   709   DL0107   Owner Operator   Tire Purchase           PO: 709-00326188 - PO System        356.07
     10/31/2015   709   DS0049   Owner Operator   Communication Charge    PNet Hware 32915                        13
     10/31/2015   709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance                          500
     10/31/2015   709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance Fee                         5
     10/31/2015   709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                       167.52
     10/31/2015   709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                       411.16
     10/31/2015   709   DS0049   Owner Operator   Tractor Charge          15738 - 32915                       512.35
     10/31/2015   709   DS0225   Owner Operator   Fuel Purchase           Fuel Purchase                       408.03
     10/31/2015   709   DW0138   Owner Operator   Communication Charge    PNet Hware 33443                        13
     10/31/2015   709   DW0138   Owner Operator   Communication Charge    PNet Hware 33443                        13
     10/31/2015   709   DW0138   Owner Operator   ESCROW                  Weekly Escrow                         100
     10/31/2015   709   DW0138   Owner Operator   ESCROW                  Weekly Escrow                         100
     10/31/2015   709   DW0138   Owner Operator   Fuel Purchase           Fuel Purchase                       138.53
     10/31/2015   709   DW0138   Owner Operator   Fuel Purchase           Fuel Purchase                        218.6
     10/31/2015   709   DW0138   Owner Operator   Fuel Purchase           Fuel Purchase                        79.41
     10/31/2015   709   DW0138   Owner Operator   Fuel Purchase           Fuel Purchase                        14.01
     10/31/2015   709   DW0138   Owner Operator   Fuel Purchase           Fuel Purchase                       346.43
     10/31/2015   709   DW0138   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment        255.5
     10/31/2015   709   DW0138   Owner Operator   Tractor Charge          55584 - 33443                       463.27
     10/31/2015   709   EA0003   Owner Operator   Communication Charge    PNet Hware 33051                        13
     10/31/2015   709   EA0003   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 11-7       -14.76
     10/31/2015   709   EA0003   Owner Operator   ESCROW                  Weekly Escrow                         250
     10/31/2015   709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                          200
     10/31/2015   709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
     10/31/2015   709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                       467.29
     10/31/2015   709   EA0003   Owner Operator   Tractor Charge          16439 - 33051                       555.56
     10/31/2015   709   EE0011   Owner Operator   Communication Charge    PNet Hware 32910                        13
     10/31/2015   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance                          300
     10/31/2015   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance                          200
     10/31/2015   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
     10/31/2015   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance Fee                         3
     10/31/2015   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                       131.79
     10/31/2015   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                       242.11
     10/31/2015   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                       379.46
     10/31/2015   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                       109.92
     10/31/2015   709   EE0011   Owner Operator   Tractor Charge          14619 - 32910                       505.27
     10/31/2015   709   EH0020   Owner Operator   Communication Charge    PNet Hware 33065                        13

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     10/31/2015   709   EH0020   Owner Operator   ESCROW                  Weekly Escrow                         250
     10/31/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance                          200
     10/31/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance                          200
     10/31/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
     10/31/2015   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
     10/31/2015   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                          26
     10/31/2015   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                      256.05
     10/31/2015   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                      213.25
     10/31/2015   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                      291.85
     10/31/2015   709   EH0020   Owner Operator   Tire Purchase           PO: 709-00326898 - PO System       108.78
     10/31/2015   709   EH0020   Owner Operator   Tractor Charge          16433 - 33065                      532.24
     10/31/2015   709   FT0004   Owner Operator   Communication Charge    PNet Hware 73129                       13
     10/31/2015   709   FT0004   Owner Operator   Communication Charge    PNet Hware 73129                       13
     10/31/2015   709   FT0004   Owner Operator   ESCROW                  Weekly Escrow                          50
     10/31/2015   709   FT0004   Owner Operator   ESCROW                  Weekly Escrow                          50
     10/31/2015   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance                        51.69
     10/31/2015   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance                           80
     10/31/2015   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance                           75
     10/31/2015   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                     0.75
     10/31/2015   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                      0.8
     10/31/2015   709   FT0004   Owner Operator   Fuel Purchase           Fuel Purchase                      246.88
     10/31/2015   709   FT0004   Owner Operator   Fuel Purchase           Fuel Purchase                      211.39
     10/31/2015   709   FT0004   Owner Operator   Fuel Purchase           Fuel Purchase                      229.31
     10/31/2015   709   FT0004   Owner Operator   Highway Use Tax         HUTC:2016 - 73129                   10.58
     10/31/2015   709   FT0004   Owner Operator   IRP License Deduction   LCIL:2015 - 73129                   31.68
     10/31/2015   709   FT0004   Owner Operator   Loan Repayment          Loan # 00003 - Loan Repayment      279.19
     10/31/2015   709   FT0004   Owner Operator   Truck Payment           CTMS - 186609 73129                181.08
     10/31/2015   709   FT0004   Owner Operator   Truck Payment           CTMS - 186840 73129                181.08
     10/31/2015   709   FV0001   Owner Operator   Communication Charge    PNet Hware 21521B                      13
     10/31/2015   709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                      225.04
     10/31/2015   709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                      367.05
     10/31/2015   709   GS0015   Owner Operator   Communication Charge    PNet Hware Q1110                       13
     10/31/2015   709   GS0015   Owner Operator   ESCROW                  Weekly Escrow                          50
     10/31/2015   709   GS0015   Owner Operator   Fuel Purchase           Fuel Purchase                      244.68
     10/31/2015   709   GS0015   Owner Operator   Truck Payment           CTMS - 186841 Lease                252.11
     10/31/2015   709   HG0007   Owner Operator   Communication Charge    PNet Hware 33180                       13
     10/31/2015   709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance                          200
     10/31/2015   709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
     10/31/2015   709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                      235.63
     10/31/2015   709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                      424.08
     10/31/2015   709   HG0027   Owner Operator   Communication Charge    PNet Hware 33418                       13
     10/31/2015   709   HG0027   Owner Operator   ESCROW                  Weekly Escrow                          50
     10/31/2015   709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance                          200
     10/31/2015   709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
     10/31/2015   709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                      118.72
     10/31/2015   709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                      211.19
     10/31/2015   709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                       132.8
     10/31/2015   709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                      267.87
     10/31/2015   709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                      281.79
     10/31/2015   709   IR0002   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 10-24         190
     10/31/2015   709   IR0002   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 11-7        -190
     10/31/2015   709   IR0002   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 11-7        -190
     10/31/2015   709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                       24.12
     10/31/2015   709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                      332.08
     10/31/2015   709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                      257.62
     10/31/2015   709   IR0002   Owner Operator   Tractor Charge          14461 - 32901                      521.95
     10/31/2015   709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                       13
     10/31/2015   709   JG0017   Owner Operator   ESCROW                  Escrow Withdrawal                   -1500
     10/31/2015   709   JG0017   Owner Operator   ESCROW                  Weekly Escrow                         500
     10/31/2015   709   JG0017   Owner Operator   Express Check           T-Check Payment                      1500
     10/31/2015   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                          100
     10/31/2015   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                          100
     10/31/2015   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                          100
     10/31/2015   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
     10/31/2015   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
     10/31/2015   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
     10/31/2015   709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                      161.55
     10/31/2015   709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                      369.65
     10/31/2015   709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                      305.28
     10/31/2015   709   JG0017   Owner Operator   Tractor Charge          14298 - 32908                       504.6
     10/31/2015   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                          200
     10/31/2015   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                          200
     10/31/2015   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2

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     10/31/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/31/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         59.98
     10/31/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        392.64
     10/31/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
     10/31/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/31/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            100
     10/31/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
     10/31/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/31/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/31/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.73
     10/31/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.73
     10/31/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        162.16
     10/31/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        312.05
     10/31/2015   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2015 - 33595                       100
     10/31/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
     10/31/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
     10/31/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
     10/31/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/31/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/31/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                            160
     10/31/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
     10/31/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/31/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.6
     10/31/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.49
     10/31/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.75
     10/31/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        146.47
     10/31/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        387.52
     10/31/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/31/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.96
     10/31/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
     10/31/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
     10/31/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
     10/31/2015   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 186892 JQ0015. Bonus re          250
     10/31/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
     10/31/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/31/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.14
     10/31/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        134.87
     10/31/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        117.23
     10/31/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
     10/31/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/31/2015   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.2
     10/31/2015   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.64
     10/31/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
     10/31/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
     10/31/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
     10/31/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
     10/31/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
     10/31/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/31/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.29
     10/31/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        365.28
     10/31/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325696 - PO System         288.65
     10/31/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325703 - PO System         404.01
     10/31/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325704 - PO System         396.81
     10/31/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
     10/31/2015   709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-7      -2239.23
     10/31/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
     10/31/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
     10/31/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/31/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        122.46
     10/31/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        233.72
     10/31/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        390.27
     10/31/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        127.23
     10/31/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
     10/31/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
     10/31/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                        13
     10/31/2015   709   LS0023   Owner Operator   ESCROW                         Escrow Withdrawal                    -14250
     10/31/2015   709   LS0023   Owner Operator   Express Check                  T-Check Payment                       14250
     10/31/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
     10/31/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/31/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.86
     10/31/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        541.24
     10/31/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
     10/31/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.75

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     10/31/2015   709   MB0048   Owner Operator   Fuel Purchase              Fuel Purchase                       316.93
     10/31/2015   709   MG0067   Owner Operator   Charge back by affiliate   CTMS - 186892 MG0067. Bonus re        250
     10/31/2015   709   MG0067   Owner Operator   Deferred Negative Pay      ** Net Rebill held from 10-24       212.72
     10/31/2015   709   MG0067   Owner Operator   ESCROW                     Weekly Escrow                           50
     10/31/2015   709   MG0067   Owner Operator   Fuel Purchase              Fuel Purchase                       315.01
     10/31/2015   709   MM0093   Owner Operator   Communication Charge       PNet Hware 32931                        13
     10/31/2015   709   MM0093   Owner Operator   Fuel Purchase              Fuel Purchase                       330.97
     10/31/2015   709   MM0093   Owner Operator   Fuel Purchase              Fuel Purchase                        285.9
     10/31/2015   709   MM0093   Owner Operator   Fuel Purchase              Fuel Purchase                       412.15
     10/31/2015   709   MM0093   Owner Operator   Tractor Charge             16434 - 32931                       337.19
     10/31/2015   709   MP0035   Owner Operator   Communication Charge       PNet Hware 32904                        13
     10/31/2015   709   MP0035   Owner Operator   ESCROW                     Weekly Escrow                         650
     10/31/2015   709   MP0035   Owner Operator   Fuel Card Advances         Cash Advance                          280
     10/31/2015   709   MP0035   Owner Operator   Fuel Card Advances         Cash Advance Fee                       2.8
     10/31/2015   709   MP0035   Owner Operator   Fuel Purchase              Fuel Purchase                       356.34
     10/31/2015   709   MP0035   Owner Operator   Tractor Charge             15571 - 32904                       323.05
     10/31/2015   709   NB0029   Owner Operator   Communication Charge       PNet Hware Q1108                        13
     10/31/2015   709   NB0029   Owner Operator   Communication Charge       PNet Hware Q1108                        13
     10/31/2015   709   NB0029   Owner Operator   Deferred Negative Pay      ** Net Rebill to post on 11-7        -43.4
     10/31/2015   709   NB0029   Owner Operator   ESCROW                     Weekly Escrow                         750
     10/31/2015   709   NB0029   Owner Operator   ESCROW                     Weekly Escrow                         97.5
     10/31/2015   709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                       337.31
     10/31/2015   709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                       215.78
     10/31/2015   709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                       315.97
     10/31/2015   709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                       151.82
     10/31/2015   709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                       227.04
     10/31/2015   709   NB0029   Owner Operator   Truck Payment              CTMS - 186986 Lease                 215.66
     10/31/2015   709   NG0005   Owner Operator   Communication Charge       PNet Hware 21412B                       13
     10/31/2015   709   NG0005   Owner Operator   Fuel Card Advances         Cash Advance                          200
     10/31/2015   709   NG0005   Owner Operator   Fuel Card Advances         Cash Advance                            40
     10/31/2015   709   NG0005   Owner Operator   Fuel Card Advances         Cash Advance Fee                       0.4
     10/31/2015   709   NG0005   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
     10/31/2015   709   NG0005   Owner Operator   Fuel Purchase              Fuel Purchase                       187.93
     10/31/2015   709   NG0005   Owner Operator   Fuel Purchase              Fuel Purchase                       116.52
     10/31/2015   709   NG0005   Owner Operator   Fuel Purchase              Fuel Purchase                       181.93
     10/31/2015   709   NR0010   Owner Operator   Fuel Purchase              Fuel Purchase                       251.74
     10/31/2015   709   NT9564   Owner Operator   Communication Charge       PNet Hware 9564                         13
     10/31/2015   709   RC0030   Owner Operator   Fuel Purchase              Fuel Purchase                       371.65
     10/31/2015   709   RC0089   Owner Operator   Fuel Card Advances         Cash Advance                          500
     10/31/2015   709   RC0089   Owner Operator   Fuel Card Advances         Cash Advance Fee                         5
     10/31/2015   709   RC0089   Owner Operator   Fuel Purchase              Fuel Purchase                       245.68
     10/31/2015   709   RC0089   Owner Operator   Fuel Purchase              Fuel Purchase                        25.31
     10/31/2015   709   RC0089   Owner Operator   Fuel Purchase              Fuel Purchase                       419.34
     10/31/2015   709   RC0089   Owner Operator   Tractor Charge             14592 - 32986                       504.72
     10/31/2015   709   RL0017   Owner Operator   Fuel Purchase              Fuel Purchase                       384.24
     10/31/2015   709   RL0017   Owner Operator   Fuel Purchase              Fuel Purchase                       152.32
     10/31/2015   709   RL0062   Owner Operator   Communication Charge       PNet Hware 32912                        13
     10/31/2015   709   RL0062   Owner Operator   Fuel Card Advances         Cash Advance                          200
     10/31/2015   709   RL0062   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
     10/31/2015   709   RL0062   Owner Operator   Fuel Purchase              Fuel Purchase                       269.41
     10/31/2015   709   RL0062   Owner Operator   Fuel Purchase              Fuel Purchase                       375.12
     10/31/2015   709   RL0062   Owner Operator   Tire Purchase              PO: 709-00326066 - PO System        366.22
     10/31/2015   709   RL0062   Owner Operator   Tractor Charge             14460 - 32912                       512.16
     10/31/2015   709   RM0026   Owner Operator   Communication Charge       PNet Hware 30811A                       13
     10/31/2015   709   RM0026   Owner Operator   Fuel Purchase              Fuel Purchase                       257.26
     10/31/2015   709   RM0026   Owner Operator   Fuel Purchase              Fuel Purchase                       270.13
     10/31/2015   709   RP0082   Owner Operator   Communication Charge       PNet Hware Q1202                        13
     10/31/2015   709   RP0082   Owner Operator   ESCROW                     Weekly Escrow                           50
     10/31/2015   709   RP0082   Owner Operator   Fuel Card Advances         Cash Advance                          200
     10/31/2015   709   RP0082   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
     10/31/2015   709   RP0082   Owner Operator   Fuel Purchase              Fuel Purchase                       136.44
     10/31/2015   709   RP0082   Owner Operator   Fuel Purchase              Fuel Purchase                       221.27
     10/31/2015   709   RP0082   Owner Operator   Fuel Purchase              Fuel Purchase                       233.42
     10/31/2015   709   RP0082   Owner Operator   Fuel Purchase              Fuel Purchase                       214.93
     10/31/2015   709   RP0082   Owner Operator   Highway Use Tax            HUTC:2016 - Q1202                    10.58
     10/31/2015   709   RP0082   Owner Operator   IRP License Deduction      LCIL:2015 - Q1202                    31.68
     10/31/2015   709   RP0082   Owner Operator   Truck Payment              CTMS - 186890 Truck Lease           278.76
     10/31/2015   709   SB0009   Owner Operator   Communication Charge       PNet Hware 33236                        13
     10/31/2015   709   SB0009   Owner Operator   ESCROW                     Weekly Escrow                         200
     10/31/2015   709   SB0009   Owner Operator   Fuel Purchase              Fuel Purchase                       292.71
     10/31/2015   709   SB0009   Owner Operator   Fuel Purchase              Fuel Purchase                        19.24
     10/31/2015   709   SB0009   Owner Operator   Fuel Purchase              Fuel Purchase                        97.59
     10/31/2015   709   SB0009   Owner Operator   Fuel Purchase              Fuel Purchase                       394.19

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     10/31/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
     10/31/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
     10/31/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/31/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/31/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/31/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        97.23
     10/31/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.64
     10/31/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.86
     10/31/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
     10/31/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/31/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 186980 Tractor Sub leas      242.03
     10/31/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     10/31/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
     10/31/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/31/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/31/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.28
     10/31/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.16
     10/31/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.17
     10/31/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.36
     10/31/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     10/31/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     10/31/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
     10/31/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
     10/31/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/31/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/31/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        10.77
     10/31/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.09
     10/31/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.66
     10/31/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        329.3
     10/31/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
     10/31/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
     10/31/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 186608 Sub, Sub Lease        396.13
     10/31/2015   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                         8
     10/31/2015   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/31/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.97
     10/31/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.85
     10/31/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.49
     10/31/2015   742   BS0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         -190
     10/31/2015   742   BS0030   Owner Operator   Tractor Charge                 15770 - 32947                          190
     10/31/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     10/31/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
     10/31/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
     10/31/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.64
     10/31/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.01
     10/31/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       437.53
     10/31/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/31/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  23.3
     10/31/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
     10/31/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     10/31/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     10/31/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/31/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                         33.6
     10/31/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.13
     10/31/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.79
     10/31/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.38
     10/31/2015   742   MH0117   Owner Operator   Tire Fee                       Tire Fee: 1868166                        8
     10/31/2015   742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00327013 - PO System        205.07
     10/31/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     10/31/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.61
     10/31/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.62
     10/31/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        507.5
     10/31/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 186975 repair                   100
     10/31/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     10/31/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
     10/31/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/31/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/31/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/31/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/31/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/31/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/31/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.46
     10/31/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       169.01
     10/31/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        266.9

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     10/31/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.94
     10/31/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
     10/31/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/31/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                        309.23
     10/31/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
     10/31/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/31/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.45
     10/31/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.86
     10/31/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        342.45
     10/31/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                    10.58
     10/31/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                    31.68
     10/31/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 186803 Tractor Lease          353.28
     10/31/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                         13
     10/31/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        248.35
     10/31/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.72
     10/31/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        316.72
     10/31/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 186890 Tractor Rent             125
     10/31/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 186890 Q1203                  278.76
      11/7/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL           8.75
      11/7/2015   709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 187020 Fuel purchase         -390.36
      11/7/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                             14
      11/7/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
      11/7/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment        305.79
      11/7/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD            7.82
      11/7/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te          2.5
      11/7/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL           8.75
      11/7/2015   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                  12.5
      11/7/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        13
      11/7/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                            50
      11/7/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.54
      11/7/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        146.91
      11/7/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        392.52
      11/7/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.9
      11/7/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                    10.58
      11/7/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                    31.68
      11/7/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD           74.22
      11/7/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 186891 Trck Lease             353.28
      11/7/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 187101 Trck Lease             353.28
      11/7/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      11/7/2015   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                   12.5
      11/7/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                         13
      11/7/2015   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                          400
      11/7/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        359.68
      11/7/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.96
      11/7/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      11/7/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
      11/7/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      11/7/2015   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                   12.5
      11/7/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      11/7/2015   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-31        102.74
      11/7/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        330.07
      11/7/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        326.38
      11/7/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        327.71
      11/7/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
      11/7/2015   709   CR0064   Owner Operator   Tire Fee                       Tire Fee: 1871397                         8
      11/7/2015   709   CR0064   Owner Operator   Tire Purchase                  PO: 709-00328101 - PO System          227.3
      11/7/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      11/7/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      11/7/2015   709   CS0091   Owner Operator   Broker Pre Pass                73130 PrePass Device                   12.5
      11/7/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                         13
      11/7/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
      11/7/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.49
      11/7/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                     10.58
      11/7/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                     31.68
      11/7/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            23.44
      11/7/2015   709   CS0091   Owner Operator   Repair Order                   CTMS - 187026 Repair                 184.46
      11/7/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            8.75
      11/7/2015   709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                   12.5

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      11/7/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      11/7/2015   709   DJ0028   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-31           35
      11/7/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
      11/7/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/7/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/7/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.47
      11/7/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       174.66
      11/7/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.19
      11/7/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.87
      11/7/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.27
      11/7/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      11/7/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      11/7/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 187063 Q1104                 252.11
      11/7/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      11/7/2015   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5
      11/7/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      11/7/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
      11/7/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      11/7/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       459.33
      11/7/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      11/7/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      11/7/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      11/7/2015   709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00326188 - PO System        356.07
      11/7/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 186798 Sublease              338.99
      11/7/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 187031 Sublease              338.99
      11/7/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      11/7/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/7/2015   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                  12.5
      11/7/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      11/7/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      11/7/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      11/7/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       459.38
      11/7/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      11/7/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      11/7/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      11/7/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.95
      11/7/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      11/7/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      11/7/2015   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  12.5
      11/7/2015   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      11/7/2015   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      11/7/2015   709   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
      11/7/2015   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      11/7/2015   709   DW0138   Owner Operator   Tire Fee                       Tire Fee: 1868220                       12
      11/7/2015   709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00327236 - PO System        246.61
      11/7/2015   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      11/7/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/7/2015   709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-31        14.76
      11/7/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        89.28
      11/7/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      11/7/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      11/7/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/7/2015   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                  12.5
      11/7/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      11/7/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
      11/7/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      11/7/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        217.3
      11/7/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.5
      11/7/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        441.1
      11/7/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      11/7/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      11/7/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/7/2015   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                  12.5
      11/7/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      11/7/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      11/7/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          100

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      11/7/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/7/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/7/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/7/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/7/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/7/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                         324
      11/7/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.91
      11/7/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        19.57
      11/7/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.99
      11/7/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.37
      11/7/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      11/7/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      11/7/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      11/7/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            60
      11/7/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          125
      11/7/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                        253.01
      11/7/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            10
      11/7/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
      11/7/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      11/7/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
      11/7/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       4.5
      11/7/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.25
      11/7/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      11/7/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.72
      11/7/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.25
      11/7/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.25
      11/7/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      11/7/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      11/7/2015   709   FT0004   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment       279.19
      11/7/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      11/7/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      11/7/2015   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
      11/7/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      11/7/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        469.9
      11/7/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      11/7/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
      11/7/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      11/7/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      11/7/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/7/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.54
      11/7/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      11/7/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 187064 Lease                 252.11
      11/7/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      11/7/2015   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      11/7/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      11/7/2015   709   HG0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-14      -78.13
      11/7/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/7/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/7/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.48
      11/7/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       398.41
      11/7/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      11/7/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      11/7/2015   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      11/7/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      11/7/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/7/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/7/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/7/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.41
      11/7/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.63
      11/7/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.69
      11/7/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.78
      11/7/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      11/7/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      11/7/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/7/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-31         190
      11/7/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-31         190
      11/7/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      11/7/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      11/7/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      11/7/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      11/7/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      11/7/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      11/7/2015   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      11/7/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      11/7/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      11/7/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      11/7/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      11/7/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
      11/7/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/7/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/7/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      11/7/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.04
      11/7/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       508.87
      11/7/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      11/7/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      11/7/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      11/7/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/7/2015   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      11/7/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      11/7/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      11/7/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/7/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/7/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/7/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/7/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.36
      11/7/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       426.66
      11/7/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.04
      11/7/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      11/7/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      11/7/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/7/2015   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
      11/7/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      11/7/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      11/7/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/7/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/7/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/7/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/7/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/7/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/7/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       422.27
      11/7/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        326.7
      11/7/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.43
      11/7/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       447.18
      11/7/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      11/7/2015   709   JG0072   Owner Operator   Repair Order                   CTMS - 187026 Repair                120.06
      11/7/2015   709   JG0072   Owner Operator   Tire Fee                       Tire Fee: 1868767                        8
      11/7/2015   709   JG0072   Owner Operator   Tire Fee                       Tire Fee: 1871388                       32
      11/7/2015   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00327115 - PO System         701.2
      11/7/2015   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00327783 - PO System        164.83
      11/7/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      11/7/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            8.75
      11/7/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/7/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/7/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/7/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        342.8
      11/7/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.85
      11/7/2015   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2015 - 33595                     100
      11/7/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   JG0092   Owner Operator   Permits                        NY13:2015 - 33595                       19
      11/7/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD             7.82
      11/7/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      11/7/2015   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
      11/7/2015   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 187102 JQ0015. Bonus re        250
      11/7/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      11/7/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/7/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        91.66
      11/7/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.1

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      11/7/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      11/7/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      11/7/2015   709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                   12.5
      11/7/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      11/7/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
      11/7/2015   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.17
      11/7/2015   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        237.69
      11/7/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
      11/7/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
      11/7/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      11/7/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      11/7/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      11/7/2015   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                   12.5
      11/7/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      11/7/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      11/7/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/7/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/7/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      11/7/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      11/7/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        242.36
      11/7/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        214.03
      11/7/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        356.28
      11/7/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      11/7/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      11/7/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325696 - PO System         288.65
      11/7/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325703 - PO System         404.01
      11/7/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325704 - PO System         396.81
      11/7/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      11/7/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      11/7/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      11/7/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      11/7/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      11/7/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         72.68
      11/7/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        141.52
      11/7/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.9
      11/7/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        140.79
      11/7/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        219.26
      11/7/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.27
      11/7/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.72
      11/7/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        218.03
      11/7/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      11/7/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      11/7/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      11/7/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
      11/7/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
      11/7/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
      11/7/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      11/7/2015   709   LS0023   Owner Operator   Broker Pre Pass                21489A PrePass Device                  12.5
      11/7/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                        13
      11/7/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           100
      11/7/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      11/7/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.52
      11/7/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        269.96
      11/7/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      39.07
      11/7/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD Terrorism              2.5
      11/7/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      11/7/2015   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                  12.5
      11/7/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      11/7/2015   709   MB0048   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-14      -187.38
      11/7/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.94
      11/7/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      11/7/2015   709   MB0048   Owner Operator   Tire Fee                       Tire Fee: 1867244                         8
      11/7/2015   709   MB0048   Owner Operator   Tire Purchase                  PO: 709-00326692 - PO System         162.77
      11/7/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      11/7/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 187102 MG0067. Bonus re         250
      11/7/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-14      -276.23

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      11/7/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      11/7/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      11/7/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      11/7/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      11/7/2015   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                   12.5
      11/7/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      11/7/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      11/7/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      11/7/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.69
      11/7/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        242.67
      11/7/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          356
      11/7/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        305.33
      11/7/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      11/7/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      11/7/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      11/7/2015   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                   12.5
      11/7/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      11/7/2015   709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-14      -979.75
      11/7/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      11/7/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
      11/7/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
      11/7/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        334.72
      11/7/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      11/7/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      11/7/2015   709   MP0035   Owner Operator   Repair Order                   CTMS - 187026 Part                       50
      11/7/2015   709   MP0035   Owner Operator   Tire Fee                       Tire Fee: 1868468                        32
      11/7/2015   709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System        1082.84
      11/7/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      11/7/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      11/7/2015   709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-31          43.4
      11/7/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        474.05
      11/7/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        163.49
      11/7/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        156.75
      11/7/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      11/7/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      11/7/2015   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                  12.5
      11/7/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      11/7/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           140
      11/7/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.4
      11/7/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        178.01
      11/7/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        171.53
      11/7/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      11/7/2015   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      11/7/2015   709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                   12.5
      11/7/2015   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      11/7/2015   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      11/7/2015   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                            50
      11/7/2015   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                            50
      11/7/2015   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           100
      11/7/2015   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           100
      11/7/2015   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      11/7/2015   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      11/7/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.33
      11/7/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.55
      11/7/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                          55.6
      11/7/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        205.91
      11/7/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        186.09
      11/7/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        188.47
      11/7/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.71
      11/7/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.55
      11/7/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        215.52
      11/7/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.08
      11/7/2015   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   709   NR0010   Owner Operator   Permits1                       ID06:2015 - Q1106                        11
      11/7/2015   709   NR0010   Owner Operator   Permits1                       IL02:2015 - Q1106                      3.75
      11/7/2015   709   NR0010   Owner Operator   Permits1                       NM07:2015 - Q1106                       5.5
      11/7/2015   709   NR0010   Owner Operator   Permits1                       NY13:2013 - Q1106                        19
      11/7/2015   709   NR0010   Owner Operator   Permits1                       OR16:2015 - Q1106                         8

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      11/7/2015   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      11/7/2015   709   NR0010   Owner Operator   Truck Payment                  CTMS - 186801 Tractor Sublease      252.11
      11/7/2015   709   NR0010   Owner Operator   Truck Payment                  CTMS - 187037 Tractor Sublease      252.11
      11/7/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL            8.75
      11/7/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
      11/7/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
      11/7/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      11/7/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.91
      11/7/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      11/7/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   62.7
      11/7/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/7/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      11/7/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      11/7/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.36
      11/7/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       409.22
      11/7/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      11/7/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      11/7/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      11/7/2015   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                 12.5
      11/7/2015   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-14      -93.75
      11/7/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.88
      11/7/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      11/7/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/7/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      11/7/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/7/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/7/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/7/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/7/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       441.26
      11/7/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.55
      11/7/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      11/7/2015   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00326066 - PO System        366.22
      11/7/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      11/7/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      11/7/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
      11/7/2015   709   RM0026   Owner Operator   Broker Pre Pass                30811A PrePass Device                 12.5
      11/7/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
      11/7/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.16
      11/7/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.78
      11/7/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
      11/7/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
      11/7/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      11/7/2015   709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                  12.5
      11/7/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      11/7/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/7/2015   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/7/2015   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/7/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        135.1
      11/7/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.95
      11/7/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      11/7/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      11/7/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      11/7/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 186803 Repair Q1202            250
      11/7/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 187036 Repair Q1202            250
      11/7/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 187101 Truck Lease           278.76
      11/7/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
      11/7/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      11/7/2015   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                  12.5
      11/7/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      11/7/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      11/7/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/7/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/7/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.51
      11/7/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.73
      11/7/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.79
      11/7/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.16

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      11/7/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      11/7/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      11/7/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      11/7/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      11/7/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/7/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          300
      11/7/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      11/7/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.75
      11/7/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        110.1
      11/7/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.17
      11/7/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       112.91
      11/7/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      11/7/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      11/7/2015   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                  12.5
      11/7/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      11/7/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/7/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      11/7/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 187203 Tractor Sub leas      242.03
      11/7/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      11/7/2015   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
      11/7/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      11/7/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      11/7/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      11/7/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      11/7/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.6
      11/7/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.24
      11/7/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.63
      11/7/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      11/7/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      11/7/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      11/7/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      11/7/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      11/7/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      11/7/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      11/7/2015   709   WH0073   Owner Operator   Broker Pre Pass                Q1235 PrePass Device                  12.5
      11/7/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
      11/7/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.82
      11/7/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        271.1
      11/7/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
      11/7/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      11/7/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
      11/7/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 186840 Sub, Sub Lease        396.13
      11/7/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 187069 Sub, Sub Lease        396.13
      11/7/2015   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      11/7/2015   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                         8
      11/7/2015   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/7/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        31.06
      11/7/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.24
      11/7/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.83
      11/7/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.09
      11/7/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         14.7
      11/7/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.16
      11/7/2015   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   709   WH0087   Owner Operator   Permits1                       ID06:2015 - Q1113                       11
      11/7/2015   709   WH0087   Owner Operator   Permits1                       IL02:2015 - Q1113                     3.75
      11/7/2015   709   WH0087   Owner Operator   Permits1                       NM07:2015 - Q1113                      5.5
      11/7/2015   709   WH0087   Owner Operator   Permits1                       NY13:2013 - Q1113                       19
      11/7/2015   709   WH0087   Owner Operator   Permits1                       OR16:2015 - Q1113                        8
      11/7/2015   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
      11/7/2015   709   WH0087   Owner Operator   Truck Payment                  CTMS - 186801 Tractor Sublease      252.11
      11/7/2015   709   WH0087   Owner Operator   Truck Payment                  CTMS - 187037 Tractor Sublease      252.11
      11/7/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      11/7/2015   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      11/7/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      11/7/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      11/7/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/7/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100

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      11/7/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/7/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/7/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/7/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/7/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/7/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/7/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/7/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/7/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.12
      11/7/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.5
      11/7/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.6
      11/7/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.67
      11/7/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.51
      11/7/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       463.41
      11/7/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      11/7/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      11/7/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      11/7/2015   742   BS0078   Owner Operator   Broker Pre Pass                32665 PrePass Device                  12.5
      11/7/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      11/7/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       524.77
      11/7/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.51
      11/7/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.99
      11/7/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      11/7/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      11/7/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      11/7/2015   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      11/7/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      11/7/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      11/7/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.36
      11/7/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.45
      11/7/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.01
      11/7/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.12
      11/7/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.25
      11/7/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        81.87
      11/7/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      11/7/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      11/7/2015   742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00326864 - PO System        348.81
      11/7/2015   742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00326864 - PO System        348.81
      11/7/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      11/7/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      11/7/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      11/7/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      11/7/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      11/7/2015   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      11/7/2015   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      11/7/2015   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      11/7/2015   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      11/7/2015   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      11/7/2015   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      11/7/2015   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      11/7/2015   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      11/7/2015   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/7/2015   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/7/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.53
      11/7/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.37
      11/7/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.16
      11/7/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.85
      11/7/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.19
      11/7/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.35
      11/7/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.29
      11/7/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.99
      11/7/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.14
      11/7/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.2
      11/7/2015   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/7/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.86
      11/7/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      11/7/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      11/7/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      11/7/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      11/7/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5

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      11/7/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
      11/7/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
      11/7/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
      11/7/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
      11/7/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      11/7/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      11/7/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/7/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/7/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/7/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      11/7/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      11/7/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      11/7/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.27
      11/7/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.09
      11/7/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          316
      11/7/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      11/7/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      11/7/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        554.49
      11/7/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        306.95
      11/7/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        554.49
      11/7/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         94.19
      11/7/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      11/7/2015   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                   12.5
      11/7/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                         13
      11/7/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                            50
      11/7/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        125.45
      11/7/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        309.27
      11/7/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         65.63
      11/7/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      11/7/2015   742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00327013 - PO System         205.07
      11/7/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL            8.75
      11/7/2015   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                   12.5
      11/7/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
      11/7/2015   742   NG0024   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-14     -2221.31
      11/7/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           300
      11/7/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      11/7/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        392.78
      11/7/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        348.74
      11/7/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           100.79
      11/7/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter          2.5
      11/7/2015   742   NG0024   Owner Operator   Repair Order                   CTMS - 187048 repair                  31.32
      11/7/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      11/7/2015   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                   12.5
      11/7/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      11/7/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      11/7/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           150
      11/7/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
      11/7/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         15.13
      11/7/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.3
      11/7/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        159.55
      11/7/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.67
      11/7/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      11/7/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.38
      11/7/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
      11/7/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      11/7/2015   742   PS0080   Owner Operator   Broker Pre Pass                33584 PrePass Device                   12.5
      11/7/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                            50
      11/7/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.2
      11/7/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.65
      11/7/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.87
      11/7/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     66.41
      11/7/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism             2.5
      11/7/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
      11/7/2015   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                  12.5
      11/7/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
      11/7/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                            50
      11/7/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        189.52
      11/7/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.26

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      11/7/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        325.04
      11/7/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.13
      11/7/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                    10.58
      11/7/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                    31.68
      11/7/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.26
      11/7/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      11/7/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 187035 Tractor Lease          353.28
      11/7/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL               8.75
      11/7/2015   771   EN0016   Owner Operator   Broker Pre Pass                32674 PrePass Device                   12.5
      11/7/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                         13
      11/7/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        107.53
      11/7/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        239.58
      11/7/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.96
      11/7/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/7/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD               24.61
      11/7/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror          2.5
      11/7/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 187101 Tractor Rent             125
      11/7/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 187100 Q1203                  278.76
     11/14/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL           8.75
     11/14/2015   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                  12.5
     11/14/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                        13
     11/14/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                        13
     11/14/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                           386
     11/14/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                           400
     11/14/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
     11/14/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        187.66
     11/14/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.24
     11/14/2015   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment        300.94
     11/14/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD            7.82
     11/14/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te          2.5
     11/14/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL           8.75
     11/14/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        13
     11/14/2015   709   AR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-21      -845.09
     11/14/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/14/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        231.93
     11/14/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        141.29
     11/14/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        333.83
     11/14/2015   709   AR0064   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    224.06
     11/14/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                    10.58
     11/14/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                    31.68
     11/14/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD           74.22
     11/14/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 187307 Trck Lease             353.28
     11/14/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/14/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                         13
     11/14/2015   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                          400
     11/14/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/14/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/14/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        385.68
     11/14/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        416.07
     11/14/2015   709   CM0119   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    125.11
     11/14/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.96
     11/14/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     11/14/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
     11/14/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
     11/14/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
     11/14/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.38
     11/14/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        329.53
     11/14/2015   709   CR0064   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                     58.56
     11/14/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
     11/14/2015   709   CR0064   Owner Operator   Tire Purchase                  PO: 709-00328101 - PO System          227.3
     11/14/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
     11/14/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
     11/14/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                         13
     11/14/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/14/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.41
     11/14/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        224.57
     11/14/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                     10.58
     11/14/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                        21

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     11/14/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
     11/14/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
     11/14/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
     11/14/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
     11/14/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
     11/14/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/14/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/14/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.17
     11/14/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.61
     11/14/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       117.93
     11/14/2015   709   DJ0028   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                   499.83
     11/14/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
     11/14/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
     11/14/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 187275 Q1104                 252.11
     11/14/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
     11/14/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     11/14/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
     11/14/2015   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/14/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       463.73
     11/14/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       520.05
     11/14/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
     11/14/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
     11/14/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
     11/14/2015   709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00326188 - PO System        356.03
     11/14/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 187244 Sublease              338.99
     11/14/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
     11/14/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/14/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
     11/14/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
     11/14/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     11/14/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.09
     11/14/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       510.09
     11/14/2015   709   DS0049   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    23.13
     11/14/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
     11/14/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
     11/14/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
     11/14/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       474.91
     11/14/2015   709   DS0225   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                   -33.08
     11/14/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
     11/14/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
     11/14/2015   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
     11/14/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.46
     11/14/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       436.36
     11/14/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.59
     11/14/2015   709   DW0138   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                   409.01
     11/14/2015   709   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
     11/14/2015   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
     11/14/2015   709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00327236 - PO System         31.96
     11/14/2015   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
     11/14/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/14/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
     11/14/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
     11/14/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                       120.46
     11/14/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/14/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/14/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       469.52
     11/14/2015   709   EA0003   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    54.96
     11/14/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
     11/14/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
     11/14/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/14/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
     11/14/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
     11/14/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/14/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        289.3
     11/14/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.85
     11/14/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       435.75

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     11/14/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      359.07
     11/14/2015   709   EE0011   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                  -89.11
     11/14/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     11/14/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.92
     11/14/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                      505.27
     11/14/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     11/14/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                       13
     11/14/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        250
     11/14/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
     11/14/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
     11/14/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     11/14/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     11/14/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      233.33
     11/14/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      240.44
     11/14/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      393.92
     11/14/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       34.87
     11/14/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.8
     11/14/2015   709   EH0020   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                  128.11
     11/14/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     11/14/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.01
     11/14/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      532.24
     11/14/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL          8.75
     11/14/2015   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                 12.5
     11/14/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                       13
     11/14/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                       13
     11/14/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                          50
     11/14/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                          50
     11/14/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           80
     11/14/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           20
     11/14/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                       196.99
     11/14/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
     11/14/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.8
     11/14/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        148
     11/14/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      201.69
     11/14/2015   709   FT0004   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    5.36
     11/14/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                   10.58
     11/14/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                   31.68
     11/14/2015   709   FT0004   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment      279.19
     11/14/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     11/14/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD          29.52
     11/14/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 187063 73129                181.08
     11/14/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 187275 73129                181.08
     11/14/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                8.75
     11/14/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
     11/14/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      151.15
     11/14/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      411.38
     11/14/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      459.17
     11/14/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     11/14/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                82.04
     11/14/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                  4.75
     11/14/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL          8.75
     11/14/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                       13
     11/14/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                          50
     11/14/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.6
     11/14/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     11/14/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD          39.07
     11/14/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 187275 Lease                252.11
     11/14/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL              8.75
     11/14/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                       13
     11/14/2015   709   HG0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-7        78.13
     11/14/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      451.31
     11/14/2015   709   HG0007   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                   57.61
     11/14/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     11/14/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD              15.63
     11/14/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                   8.75
     11/14/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                       13
     11/14/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          50
     11/14/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                         100
     11/14/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     11/14/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      177.85
     11/14/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      317.49
     11/14/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                      231.21
     11/14/2015   709   HG0027   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                   92.57

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     11/14/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
     11/14/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
     11/14/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
     11/14/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
     11/14/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-21           -95
     11/14/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         23.19
     11/14/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.67
     11/14/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        348.91
     11/14/2015   709   IR0002   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                      -23.9
     11/14/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
     11/14/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
     11/14/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
     11/14/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
     11/14/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
     11/14/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
     11/14/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
     11/14/2015   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-21      -182.53
     11/14/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           200
     11/14/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/14/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
     11/14/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
     11/14/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
     11/14/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.3
     11/14/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        524.11
     11/14/2015   709   JC0292   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    119.87
     11/14/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
     11/14/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.13
     11/14/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
     11/14/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
     11/14/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
     11/14/2015   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                     -2500
     11/14/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
     11/14/2015   709   JG0017   Owner Operator   Express Check                  T-Check Payment                        2500
     11/14/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
     11/14/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
     11/14/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.03
     11/14/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.38
     11/14/2015   709   JG0017   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                     29.01
     11/14/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
     11/14/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
     11/14/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
     11/14/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
     11/14/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
     11/14/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/14/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/14/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
     11/14/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
     11/14/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        397.97
     11/14/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        414.34
     11/14/2015   709   JG0072   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    207.24
     11/14/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
     11/14/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
     11/14/2015   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00327115 - PO System          701.2
     11/14/2015   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00327783 - PO System         164.83
     11/14/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
     11/14/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL              8.75
     11/14/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                             50
     11/14/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/14/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
     11/14/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.05
     11/14/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        194.62
     11/14/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           267
     11/14/2015   709   JG0092   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    114.91
     11/14/2015   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2015 - 33595                       100
     11/14/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
     11/14/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD               7.82
     11/14/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
     11/14/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/14/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
     11/14/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        348.41
     11/14/2015   709   JK0112   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                     312.8
     11/14/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
     11/14/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99

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     11/14/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
     11/14/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
     11/14/2015   709   JQ0015   Owner Operator   AP Invoice Deductions          Superior Court of Los Angeles            25
     11/14/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
     11/14/2015   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 187307 JQ0015. Bonus re          250
     11/14/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
     11/14/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/14/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        116.79
     11/14/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        163.98
     11/14/2015   709   JQ0015   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                      6.88
     11/14/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
     11/14/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
     11/14/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
     11/14/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/14/2015   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.48
     11/14/2015   709   JR0099   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    288.69
     11/14/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
     11/14/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
     11/14/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
     11/14/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
     11/14/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
     11/14/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
     11/14/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
     11/14/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            100
     11/14/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/14/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/14/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/14/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/14/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/14/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.62
     11/14/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.01
     11/14/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        207.82
     11/14/2015   709   JS0265   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                     16.07
     11/14/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
     11/14/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
     11/14/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325696 - PO System          288.6
     11/14/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325703 - PO System         403.97
     11/14/2015   709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00325704 - PO System         396.77
     11/14/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/14/2015   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
     11/14/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
     11/14/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
     11/14/2015   709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-31       2239.23
     11/14/2015   709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                     -5000
     11/14/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
     11/14/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
     11/14/2015   709   KP0004   Owner Operator   Express Check                  T-Check Payment                        5000
     11/14/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
     11/14/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
     11/14/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/14/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/14/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        131.83
     11/14/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.5
     11/14/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          55.6
     11/14/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         74.41
     11/14/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.51
     11/14/2015   709   KP0004   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                     254.3
     11/14/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
     11/14/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     11/14/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
     11/14/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
     11/14/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
     11/14/2015   709   LL0160   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                     245.8
     11/14/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
     11/14/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
     11/14/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       -35
     11/14/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
     11/14/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                        13

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     11/14/2015   709   LS0023   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                      -0.84
     11/14/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
     11/14/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                    -156.25
     11/14/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      39.07
     11/14/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD Terrorism               2.5
     11/14/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD Terrorism               -10
     11/14/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
     11/14/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
     11/14/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
     11/14/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
     11/14/2015   709   MB0048   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-7         187.38
     11/14/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.99
     11/14/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
     11/14/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
     11/14/2015   709   MB0048   Owner Operator   Tire Purchase                  PO: 709-00326692 - PO System         162.77
     11/14/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
     11/14/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 187307 MG0067. Bonus re          250
     11/14/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-7         276.23
     11/14/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                             50
     11/14/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           270
     11/14/2015   709   MG0067   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                     13.76
     11/14/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
     11/14/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
     11/14/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
     11/14/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
     11/14/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
     11/14/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.87
     11/14/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        280.06
     11/14/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.22
     11/14/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
     11/14/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
     11/14/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
     11/14/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
     11/14/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
     11/14/2015   709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-7         979.75
     11/14/2015   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                     -1083
     11/14/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           650
     11/14/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
     11/14/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
     11/14/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        371.15
     11/14/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
     11/14/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
     11/14/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
     11/14/2015   709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System        1082.84
     11/14/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
     11/14/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
     11/14/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        480.47
     11/14/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
     11/14/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
     11/14/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.85
     11/14/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.1
     11/14/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        176.96
     11/14/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        435.24
     11/14/2015   709   NB0029   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    110.43
     11/14/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
     11/14/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
     11/14/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
     11/14/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
     11/14/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            150
     11/14/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
     11/14/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.8
     11/14/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.11
     11/14/2015   709   NG0005   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                     87.07
     11/14/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
     11/14/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
     11/14/2015   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL             8.75
     11/14/2015   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                          13
     11/14/2015   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                             50
     11/14/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         99.63
     11/14/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.82
     11/14/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        324.35
     11/14/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.15
     11/14/2015   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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     11/14/2015   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
     11/14/2015   709   NR0010   Owner Operator   Truck Payment                  CTMS - 187251 Tractor Sublease      252.11
     11/14/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL            8.75
     11/14/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
     11/14/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
     11/14/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
     11/14/2015   709   RC0030   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    266.3
     11/14/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
     11/14/2015   709   RC0030   Owner Operator   Tire Fee                       Tire Fee: 1873287                        4
     11/14/2015   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00328489 - PO System        114.26
     11/14/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   62.7
     11/14/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/14/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
     11/14/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     11/14/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.81
     11/14/2015   709   RC0089   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                   -12.54
     11/14/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
     11/14/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
     11/14/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
     11/14/2015   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-7         93.75
     11/14/2015   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/14/2015   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/14/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.95
     11/14/2015   709   RL0017   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                   -27.13
     11/14/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
     11/14/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/14/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
     11/14/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/14/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/14/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/14/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/14/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/14/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/14/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.58
     11/14/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.79
     11/14/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       402.46
     11/14/2015   709   RL0062   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                   146.95
     11/14/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
     11/14/2015   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00326066 - PO System        366.15
     11/14/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
     11/14/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
     11/14/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
     11/14/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
     11/14/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.78
     11/14/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.35
     11/14/2015   709   RM0026   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                   151.41
     11/14/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
     11/14/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
     11/14/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
     11/14/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
     11/14/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/14/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.86
     11/14/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.85
     11/14/2015   709   RP0082   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    14.65
     11/14/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
     11/14/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
     11/14/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
     11/14/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 187250 Repair Q1202            250
     11/14/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 187306 Truck Lease           278.76
     11/14/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
     11/14/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     11/14/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
     11/14/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
     11/14/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/14/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/14/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.29

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     11/14/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.57
     11/14/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.43
     11/14/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.55
     11/14/2015   709   SB0009   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                   150.21
     11/14/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
     11/14/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
     11/14/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     11/14/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
     11/14/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/14/2015   709   SN0019   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    86.28
     11/14/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
     11/14/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
     11/14/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
     11/14/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/14/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.86
     11/14/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.99
     11/14/2015   709   VB0015   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    64.39
     11/14/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
     11/14/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 187391 Tractor Sub leas      242.03
     11/14/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     11/14/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     11/14/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
     11/14/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/14/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
     11/14/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/14/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/14/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
     11/14/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/14/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.63
     11/14/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.26
     11/14/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.25
     11/14/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.88
     11/14/2015   709   VJ0006   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                   220.48
     11/14/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
     11/14/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     11/14/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
     11/14/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     11/14/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
     11/14/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
     11/14/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        47.12
     11/14/2015   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
     11/14/2015   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                         8
     11/14/2015   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/14/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.81
     11/14/2015   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
     11/14/2015   709   WH0087   Owner Operator   Truck Payment                  CTMS - 187251 Tractor Sublease      252.11
     11/14/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
     11/14/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     11/14/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            20
     11/14/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/14/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/14/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
     11/14/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.22
     11/14/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.49
     11/14/2015   742   AP0047   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    58.51
     11/14/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
     11/14/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
     11/14/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     11/14/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
     11/14/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.88
     11/14/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       434.52
     11/14/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.62
     11/14/2015   742   BS0078   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                   139.68
     11/14/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
     11/14/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5

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     11/14/2015   742   BS0078   Owner Operator   Toll Charges                   CANCELLED/ RETURNED                    -100
     11/14/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
     11/14/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
     11/14/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        181.35
     11/14/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.98
     11/14/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        166.18
     11/14/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        396.03
     11/14/2015   742   ED0041   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                     84.75
     11/14/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.36
     11/14/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
     11/14/2015   742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00326864 - PO System         348.81
     11/14/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
     11/14/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                        13
     11/14/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
     11/14/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.69
     11/14/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
     11/14/2015   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                         8.75
     11/14/2015   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                         13
     11/14/2015   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/14/2015   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                         46.88
     11/14/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
     11/14/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
     11/14/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/14/2015   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/14/2015   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.08
     11/14/2015   742   LL0134   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                      3.69
     11/14/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
     11/14/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        554.49
     11/14/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
     11/14/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        219.36
     11/14/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.5
     11/14/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         88.93
     11/14/2015   742   MH0117   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                      3.93
     11/14/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         65.63
     11/14/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
     11/14/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL            8.75
     11/14/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
     11/14/2015   742   NG0024   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-7        2221.31
     11/14/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        489.87
     11/14/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.77
     11/14/2015   742   NG0024   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                     48.63
     11/14/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           100.79
     11/14/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter          2.5
     11/14/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/14/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         22.93
     11/14/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/14/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
     11/14/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/14/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/14/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.3
     11/14/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.61
     11/14/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        172.84
     11/14/2015   742   PC0012   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    148.78
     11/14/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
     11/14/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.38
     11/14/2015   742   PC0012   Owner Operator   Repair Order                   CTMS - 186342 Repair                 253.42
     11/14/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
     11/14/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
     11/14/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/14/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                        280.09
     11/14/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                        394.08
     11/14/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                        416.38
     11/14/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.27
     11/14/2015   742   PS0080   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                     71.95
     11/14/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/14/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     66.41
     11/14/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism             2.5
     11/14/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75

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     11/14/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     11/14/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/14/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.55
     11/14/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.83
     11/14/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.93
     11/14/2015   742   RN0054   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    67.75
     11/14/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
     11/14/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
     11/14/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
     11/14/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     11/14/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 187250 Tractor Lease         353.28
     11/14/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
     11/14/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
     11/14/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        343.4
     11/14/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.19
     11/14/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.14
     11/14/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.18
     11/14/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/14/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
     11/14/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
     11/14/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 187306 Tractor Rent            125
     11/14/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 187306 Q1203                 278.76
     11/21/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     11/21/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     11/21/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
     11/21/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
     11/21/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.34
     11/21/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
     11/21/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     11/21/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
     11/21/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
     11/21/2015   709   AR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-14       845.09
     11/21/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.81
     11/21/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
     11/21/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
     11/21/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
     11/21/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 187528 Trck Lease            353.28
     11/21/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/21/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     11/21/2015   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         400
     11/21/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          300
     11/21/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/21/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       463.95
     11/21/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
     11/21/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/21/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     11/21/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
     11/21/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     11/21/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.52
     11/21/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.09
     11/21/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.38
     11/21/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
     11/21/2015   709   CR0064   Owner Operator   Tire Purchase                  PO: 709-00328101 - PO System         227.3
     11/21/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
     11/21/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
     11/21/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
     11/21/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.13
     11/21/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.35
     11/21/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        191.1
     11/21/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
     11/21/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
     11/21/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
     11/21/2015   709   CS0091   Owner Operator   Repair Order                   CTMS - 187418 Repair                184.46
     11/21/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
     11/21/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13

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     11/21/2015   709   DJ0028   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
     11/21/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
     11/21/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/21/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/21/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.77
     11/21/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        81.77
     11/21/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.66
     11/21/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.95
     11/21/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
     11/21/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
     11/21/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 187467 Q1104                 252.11
     11/21/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
     11/21/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     11/21/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       439.12
     11/21/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       445.87
     11/21/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
     11/21/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
     11/21/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
     11/21/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 187425 Sublease              338.99
     11/21/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
     11/21/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/21/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
     11/21/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
     11/21/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     11/21/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       484.36
     11/21/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
     11/21/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
     11/21/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
     11/21/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.61
     11/21/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
     11/21/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
     11/21/2015   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
     11/21/2015   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
     11/21/2015   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
     11/21/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.22
     11/21/2015   709   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
     11/21/2015   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
     11/21/2015   709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00327236 - PO System        246.61
     11/21/2015   709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00327236 - PO System        214.65
     11/21/2015   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
     11/21/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/21/2015   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                  12.5
     11/21/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
     11/21/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
     11/21/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        40.26
     11/21/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
     11/21/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/21/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/21/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       353.84
     11/21/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
     11/21/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
     11/21/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/21/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
     11/21/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
     11/21/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/21/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.27
     11/21/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.47
     11/21/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       454.97
     11/21/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.95
     11/21/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
     11/21/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
     11/21/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/21/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
     11/21/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
     11/21/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/21/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200

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     11/21/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/21/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/21/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/21/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/21/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        24.23
     11/21/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.67
     11/21/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                         3.11
     11/21/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                         0.52
     11/21/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.24
     11/21/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.64
     11/21/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        23.91
     11/21/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
     11/21/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
     11/21/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
     11/21/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
     11/21/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
     11/21/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
     11/21/2015   709   FT0004   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment       279.19
     11/21/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
     11/21/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 187467 73129                 181.08
     11/21/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     11/21/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
     11/21/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       398.53
     11/21/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
     11/21/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
     11/21/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
     11/21/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
     11/21/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.81
     11/21/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
     11/21/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 187467 Lease                 252.11
     11/21/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
     11/21/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
     11/21/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          300
     11/21/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/21/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       470.95
     11/21/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.77
     11/21/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
     11/21/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     11/21/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
     11/21/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/21/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/21/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.93
     11/21/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.45
     11/21/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.51
     11/21/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.82
     11/21/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
     11/21/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
     11/21/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/21/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-14           95
     11/21/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        14.68
     11/21/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.47
     11/21/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
     11/21/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/21/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
     11/21/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
     11/21/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
     11/21/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
     11/21/2015   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-14       182.53
     11/21/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
     11/21/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
     11/21/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/21/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       442.91
     11/21/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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     11/21/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
     11/21/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
     11/21/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/21/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
     11/21/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                       327.27
     11/21/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/21/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     11/21/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/21/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
     11/21/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/21/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/21/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        406.2
     11/21/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       469.24
     11/21/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
     11/21/2015   709   JG0072   Owner Operator   Repair Order                   CTMS - 187418 Repair                120.06
     11/21/2015   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00327115 - PO System         701.2
     11/21/2015   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00327783 - PO System        164.83
     11/21/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     11/21/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            8.75
     11/21/2015   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33595                        13
     11/21/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.4
     11/21/2015   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2015 - 33595                     100
     11/21/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD             7.82
     11/21/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     11/21/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     11/21/2015   709   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
     11/21/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     11/21/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     11/21/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     11/21/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          260
     11/21/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/21/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/21/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.6
     11/21/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.79
     11/21/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.37
     11/21/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.75
     11/21/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.28
     11/21/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.67
     11/21/2015   709   JK0112   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                   124.92
     11/21/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
     11/21/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
     11/21/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     11/21/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     11/21/2015   709   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL 1 101415                 5.25
     11/21/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     11/21/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     11/21/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     11/21/2015   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 187529 JQ0015. Bonus re        250
     11/21/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     11/21/2015   709   JQ0015   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
     11/21/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       129.05
     11/21/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.64
     11/21/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
     11/21/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
     11/21/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
     11/21/2015   709   JR0099   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
     11/21/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       353.54
     11/21/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
     11/21/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
     11/21/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6

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     11/21/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     11/21/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     11/21/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     11/21/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
     11/21/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/21/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/21/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.88
     11/21/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.56
     11/21/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
     11/21/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
     11/21/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/21/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
     11/21/2015   709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                    -2500
     11/21/2015   709   KP0004   Owner Operator   Express Check                  T-Check Payment                       2500
     11/21/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/21/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/21/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          128
     11/21/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.49
     11/21/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          320
     11/21/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
     11/21/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/21/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
     11/21/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
     11/21/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
     11/21/2015   709   LL0160   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
     11/21/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
     11/21/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
     11/21/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
     11/21/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
     11/21/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.55
     11/21/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.07
     11/21/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD Terrorism             2.5
     11/21/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
     11/21/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
     11/21/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
     11/21/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
     11/21/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
     11/21/2015   709   MB0048   Owner Operator   Repair Order                   CTMS - 187418 Repair                319.12
     11/21/2015   709   MB0048   Owner Operator   Tire Purchase                  PO: 709-00326692 - PO System        162.77
     11/21/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     11/21/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 187529 MG0067. Bonus re         250
     11/21/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.03
     11/21/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
     11/21/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     11/21/2015   709   MG0067   Owner Operator   Repair Order                   CTMS - 187418 Parts                   28.8
     11/21/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     11/21/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
     11/21/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/21/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/21/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       440.87
     11/21/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.11
     11/21/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
     11/21/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
     11/21/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     11/21/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
     11/21/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            40
     11/21/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
     11/21/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       169.01
     11/21/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
     11/21/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
     11/21/2015   709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System        556.82
     11/21/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
     11/21/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
     11/21/2015   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                  12.5

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     11/21/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
     11/21/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
     11/21/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
     11/21/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         750
     11/21/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                       275.95
     11/21/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                       269.53
     11/21/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        97.81
     11/21/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.21
     11/21/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.89
     11/21/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
     11/21/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 187210 Lease                 215.66
     11/21/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 187397 Lease                 215.66
     11/21/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 187652 Lease                 215.66
     11/21/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
     11/21/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
     11/21/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/21/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/21/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.59
     11/21/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.49
     11/21/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
     11/21/2015   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
     11/21/2015   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
     11/21/2015   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/21/2015   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/21/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.23
     11/21/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.37
     11/21/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.07
     11/21/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.78
     11/21/2015   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
     11/21/2015   709   NR0010   Owner Operator   Truck Payment                  CTMS - 187433 Tractor Sublease      252.11
     11/21/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL            8.75
     11/21/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
     11/21/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
     11/21/2015   709   NT9564   Owner Operator   Repair Order                   CTMS - 187418 Repair                  121
     11/21/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
     11/21/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
     11/21/2015   709   RC0030   Owner Operator   Repair Order                   CTMS - 187418 Batteries               315
     11/21/2015   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00328489 - PO System        114.26
     11/21/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   62.7
     11/21/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/21/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
     11/21/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     11/21/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       571.14
     11/21/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
     11/21/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
     11/21/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
     11/21/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       426.16
     11/21/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
     11/21/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/21/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
     11/21/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/21/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/21/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/21/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/21/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/21/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/21/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.89
     11/21/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       413.28
     11/21/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       443.66
     11/21/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
     11/21/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
     11/21/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
     11/21/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
     11/21/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75

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     11/21/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
     11/21/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.91
     11/21/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        203.4
     11/21/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        356.5
     11/21/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
     11/21/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
     11/21/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
     11/21/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
     11/21/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
     11/21/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.54
     11/21/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.72
     11/21/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
     11/21/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
     11/21/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
     11/21/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 187432 Repair Q1202            250
     11/21/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 187528 Truck Lease           278.76
     11/21/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
     11/21/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     11/21/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
     11/21/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
     11/21/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/21/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/21/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.31
     11/21/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.91
     11/21/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.84
     11/21/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
     11/21/2015   709   SB0009   Owner Operator   Repair Order                   CTMS - 187418 Repair                    70
     11/21/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
     11/21/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     11/21/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
     11/21/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.89
     11/21/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
     11/21/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
     11/21/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
     11/21/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.99
     11/21/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       383.02
     11/21/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
     11/21/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 187653 Tractor Sub leas      242.03
     11/21/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     11/21/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     11/21/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
     11/21/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/21/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/21/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/21/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/21/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.43
     11/21/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.73
     11/21/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.87
     11/21/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
     11/21/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     11/21/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
     11/21/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     11/21/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
     11/21/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
     11/21/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
     11/21/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
     11/21/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
     11/21/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
     11/21/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
     11/21/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/21/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
     11/21/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/21/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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     11/21/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/21/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.68
     11/21/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.51
     11/21/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.71
     11/21/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.48
     11/21/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.09
     11/21/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.53
     11/21/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.74
     11/21/2015   709   WH0073   Owner Operator   FUEL TAX                       Sept15 Fuel Taxes                    33.12
     11/21/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
     11/21/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
     11/21/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
     11/21/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
     11/21/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
     11/21/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
     11/21/2015   709   WH0073   Owner Operator   Repair Order                   CTMS - 187418 Repair                189.88
     11/21/2015   709   WH0073   Owner Operator   Repair Order                   TRACTOR Q1235                        19.99
     11/21/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 187275 Sub, Sub Lease        396.13
     11/21/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 187473 Sub, Sub Lease        396.13
     11/21/2015   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
     11/21/2015   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                         8
     11/21/2015   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.28
     11/21/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.51
     11/21/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        24.88
     11/21/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.65
     11/21/2015   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
     11/21/2015   709   WH0087   Owner Operator   Truck Payment                  CTMS - 187432 Tractor Sublease      252.11
     11/21/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
     11/21/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     11/21/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/21/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/21/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.27
     11/21/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
     11/21/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
     11/21/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     11/21/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
     11/21/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.11
     11/21/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.54
     11/21/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       481.25
     11/21/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
     11/21/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
     11/21/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
     11/21/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
     11/21/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.23
     11/21/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.96
     11/21/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       427.78
     11/21/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
     11/21/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
     11/21/2015   742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00326864 - PO System        348.76
     11/21/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
     11/21/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
     11/21/2015   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-28      -36.66
     11/21/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     11/21/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
     11/21/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
     11/21/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     11/21/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     11/21/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     11/21/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.85
     11/21/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.63
     11/21/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     11/21/2015   742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00327013 - PO System        205.07
     11/21/2015   742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00327013 - PO System        205.07

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     11/21/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/21/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     11/21/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     11/21/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
     11/21/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                       177.07
     11/21/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/21/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/21/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.56
     11/21/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.63
     11/21/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     11/21/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
     11/21/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
     11/21/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       12
     11/21/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
     11/21/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
     11/21/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     11/21/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/21/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
     11/21/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
     11/21/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
     11/21/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     11/21/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 187431 Tractor Lease         353.28
     11/21/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
     11/21/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
     11/21/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.09
     11/21/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.15
     11/21/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/21/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
     11/21/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
     11/21/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 187528 Tractor Rent            125
     11/21/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 187528 Q1203                 278.76
     11/28/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     11/28/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     11/28/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
     11/28/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
     11/28/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.61
     11/28/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
     11/28/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     11/28/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
     11/28/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
     11/28/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/28/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.85
     11/28/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.38
     11/28/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         200
     11/28/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.95
     11/28/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
     11/28/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
     11/28/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
     11/28/2015   709   AR0064   Owner Operator   Repair Order                   CTMS - 187689 Parts                  95.45
     11/28/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 187769 Trck Lease            353.28
     11/28/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/28/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     11/28/2015   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         400
     11/28/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/28/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/28/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         318
     11/28/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       423.13
     11/28/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
     11/28/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/28/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     11/28/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
     11/28/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     11/28/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.06
     11/28/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.5
     11/28/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
     11/28/2015   709   CR0064   Owner Operator   Repair Order                   CTMS - 187689 Repair                    70
     11/28/2015   709   CR0064   Owner Operator   Tire Purchase                  PO: 709-00328101 - PO System         227.3
     11/28/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63

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     11/28/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
     11/28/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
     11/28/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/28/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.81
     11/28/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
     11/28/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
     11/28/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.43
     11/28/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
     11/28/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
     11/28/2015   709   DJ0028   Owner Operator   ESCROW                         Escrow Withdrawal                    -1200
     11/28/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          250
     11/28/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/28/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/28/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.23
     11/28/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.66
     11/28/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.31
     11/28/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.86
     11/28/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
     11/28/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 187730 Q1104                 252.11
     11/28/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
     11/28/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     11/28/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        559.6
     11/28/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
     11/28/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
     11/28/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.69
     11/28/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 187693 Sublease              338.99
     11/28/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
     11/28/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/28/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
     11/28/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
     11/28/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     11/28/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.29
     11/28/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
     11/28/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
     11/28/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
     11/28/2015   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-5       -161.2
     11/28/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        383.5
     11/28/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.51
     11/28/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
     11/28/2015   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
     11/28/2015   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                          100
     11/28/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.32
     11/28/2015   709   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        255.5
     11/28/2015   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
     11/28/2015   709   DW0138   Owner Operator   Repair Order                   CTMS - 187688 Fitting                55.82
     11/28/2015   709   DW0138   Owner Operator   Repair Order                   CTMS - 187688 Repair                257.31
     11/28/2015   709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00327236 - PO System        246.61
     11/28/2015   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
     11/28/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/28/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
     11/28/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
     11/28/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/28/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/28/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/28/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/28/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.13
     11/28/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       441.62
     11/28/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
     11/28/2015   709   EA0003   Owner Operator   Repair Order                   CTMS - 187689 Repairs               518.12
     11/28/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
     11/28/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/28/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
     11/28/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           300
     11/28/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/28/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/28/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3

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     11/28/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.42
     11/28/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        404.69
     11/28/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         95.01
     11/28/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.91
     11/28/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
     11/28/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
     11/28/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                         103.32
     11/28/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3.25
     11/28/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        100.06
     11/28/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                     10.58
     11/28/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                     31.68
     11/28/2015   709   FT0004   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment        278.49
     11/28/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.51
     11/28/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
     11/28/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
     11/28/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        133.46
     11/28/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.3
     11/28/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.01
     11/28/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                    4.75
     11/28/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
     11/28/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
     11/28/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/28/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.04
     11/28/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 187730 Lease                  252.11
     11/28/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
     11/28/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
     11/28/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        420.63
     11/28/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.61
     11/28/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                     9.5
     11/28/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/28/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
     11/28/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     11/28/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
     11/28/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.96
     11/28/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
     11/28/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
     11/28/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
     11/28/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/28/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/28/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        480.22
     11/28/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.62
     11/28/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.11
     11/28/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
     11/28/2015   709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-5       -929.36
     11/28/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/28/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
     11/28/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/28/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
     11/28/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/28/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/28/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     11/28/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/28/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        420.96
     11/28/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        423.95
     11/28/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          356
     11/28/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
     11/28/2015   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00327115 - PO System         212.29
     11/28/2015   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00327783 - PO System         164.83
     11/28/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
     11/28/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL             8.75
     11/28/2015   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33595                         13
     11/28/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/28/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/28/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/28/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.01

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     11/28/2015   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2015 - 33595                      100
     11/28/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD             7.79
     11/28/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     11/28/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     11/28/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/28/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           250
     11/28/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.5
     11/28/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.58
     11/28/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.21
     11/28/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.29
     11/28/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
     11/28/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     11/28/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     11/28/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     11/28/2015   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 187770 JQ0015. Bonus re         250
     11/28/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     11/28/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/28/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.86
     11/28/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       109.25
     11/28/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
     11/28/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
     11/28/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
     11/28/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/28/2015   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.94
     11/28/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
     11/28/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
     11/28/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
     11/28/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     11/28/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     11/28/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     11/28/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
     11/28/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.93
     11/28/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
     11/28/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/28/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
     11/28/2015   709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                     -700
     11/28/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
     11/28/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/28/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
     11/28/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
     11/28/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
     11/28/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
     11/28/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
     11/28/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
     11/28/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
     11/28/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.46
     11/28/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.21
     11/28/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     39.04
     11/28/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD Terrorism             2.5
     11/28/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
     11/28/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
     11/28/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
     11/28/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
     11/28/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.09
     11/28/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.29
     11/28/2015   709   MB0048   Owner Operator   Tire Purchase                  PO: 709-00326692 - PO System        162.77
     11/28/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     11/28/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 187770 MG0067. Bonus re         250
     11/28/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/28/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.01
     11/28/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.15
     11/28/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     11/28/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75

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     11/28/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
     11/28/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        320.84
     11/28/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.11
     11/28/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
     11/28/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
     11/28/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
     11/28/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
     11/28/2015   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                     -1083
     11/28/2015   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                     -1083
     11/28/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           650
     11/28/2015   709   MP0035   Owner Operator   Express Check                  T-Check Payment                        1083
     11/28/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             80
     11/28/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.8
     11/28/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        494.83
     11/28/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.86
     11/28/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
     11/28/2015   709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System         526.02
     11/28/2015   709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System        1082.84
     11/28/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
     11/28/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
     11/28/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
     11/28/2015   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                     -6000
     11/28/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           750
     11/28/2015   709   NB0029   Owner Operator   Express Check                  T-Check Payment                        6000
     11/28/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.11
     11/28/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.15
     11/28/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
     11/28/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
     11/28/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
     11/28/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/28/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           222
     11/28/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.97
     11/28/2015   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
     11/28/2015   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
     11/28/2015   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/28/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        309.12
     11/28/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        252.52
     11/28/2015   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.04
     11/28/2015   709   NR0010   Owner Operator   Truck Payment                  CTMS - 187700 Tractor Sublease       252.11
     11/28/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL             8.75
     11/28/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                          13
     11/28/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD             28.11
     11/28/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
     11/28/2015   709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance                            100
     11/28/2015   709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/28/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.68
     11/28/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.04
     11/28/2015   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00328489 - PO System         114.26
     11/28/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   62.69
     11/28/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/28/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
     11/28/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     11/28/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        587.22
     11/28/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.05
     11/28/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
     11/28/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
     11/28/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        373.23
     11/28/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/28/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.29
     11/28/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/28/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
     11/28/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
     11/28/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
     11/28/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/28/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1

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     11/28/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.62
     11/28/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.54
     11/28/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.13
     11/28/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
     11/28/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.46
     11/28/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
     11/28/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
     11/28/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
     11/28/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.17
     11/28/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.26
     11/28/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD Terrorism             2.5
     11/28/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
     11/28/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
     11/28/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
     11/28/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/28/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.04
     11/28/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.71
     11/28/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
     11/28/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
     11/28/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
     11/28/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 187699 Repair Q1202            250
     11/28/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 187769 Truck Lease           278.76
     11/28/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
     11/28/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     11/28/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
     11/28/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
     11/28/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/28/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/28/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        243.7
     11/28/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.19
     11/28/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       127.58
     11/28/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
     11/28/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
     11/28/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     11/28/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
     11/28/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/28/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.03
     11/28/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
     11/28/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
     11/28/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
     11/28/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/28/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.49
     11/28/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
     11/28/2015   709   VJ0006   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-5       -13.83
     11/28/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
     11/28/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     11/28/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
     11/28/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
     11/28/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
     11/28/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13
     11/28/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
     11/28/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/28/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.08
     11/28/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.54
     11/28/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
     11/28/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
     11/28/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.69
     11/28/2015   709   WH0073   Owner Operator   Repair Order                   CTMS - 187688 Repair                318.64
     11/28/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 187735 Sub, Sub Lease        396.13
     11/28/2015   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
     11/28/2015   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                        13
     11/28/2015   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/28/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.51
     11/28/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        19.28
     11/28/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        74.35

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     11/28/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.67
     11/28/2015   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.04
     11/28/2015   709   WH0087   Owner Operator   Truck Payment                  CTMS - 187699 Tractor Sublease      252.11
     11/28/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
     11/28/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
     11/28/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.46
     11/28/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
     11/28/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
     11/28/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
     11/28/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
     11/28/2015   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-21        36.66
     11/28/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
     11/28/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
     11/28/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
     11/28/2015   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
     11/28/2015   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
     11/28/2015   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
     11/28/2015   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
     11/28/2015   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/28/2015   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/28/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.06
     11/28/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.49
     11/28/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.76
     11/28/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.16
     11/28/2015   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
     11/28/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.86
     11/28/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
     11/28/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
     11/28/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
     11/28/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
     11/28/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     11/28/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     11/28/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/28/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/28/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.48
     11/28/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       456.62
     11/28/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.33
     11/28/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
     11/28/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
     11/28/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
     11/28/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
     11/28/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/28/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     11/28/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
     11/28/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/28/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/28/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       112.52
     11/28/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.18
     11/28/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.74
     11/28/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
     11/28/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
     11/28/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
     11/28/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     11/28/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     11/28/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/28/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.04
     11/28/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.56
     11/28/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       424.44
     11/28/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/28/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.41
     11/28/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     66.4
     11/28/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
     11/28/2015   742   PS0080   Owner Operator   Repair Order                   CTMS - 187688 Parts                  21.21
     11/28/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 187769 Tractor Rent            125
     11/28/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 187768 Q1203                 278.76
      12/5/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75

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      12/5/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      12/5/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      12/5/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      12/5/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.21
      12/5/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      12/5/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      12/5/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      12/5/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.72
      12/5/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      12/5/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 187922 Trck Lease            353.28
      12/5/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/5/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      12/5/2015   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         400
      12/5/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          300
      12/5/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      12/5/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.97
      12/5/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      12/5/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      12/5/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      12/5/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      12/5/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      12/5/2015   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-12       -0.61
      12/5/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         125
      12/5/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.2
      12/5/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.85
      12/5/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      12/5/2015   709   CR0064   Owner Operator   Tire Purchase                  PO: 709-00328101 - PO System        227.25
      12/5/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      12/5/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      12/5/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
      12/5/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.62
      12/5/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.95
      12/5/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
      12/5/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
      12/5/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
      12/5/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      12/5/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       129.58
      12/5/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         80.1
      12/5/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.1
      12/5/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         91.7
      12/5/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.95
      12/5/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      12/5/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      12/5/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      12/5/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      12/5/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       512.96
      12/5/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      12/5/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      12/5/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      12/5/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 187833 Sublease              338.99
      12/5/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      12/5/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/5/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      12/5/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      12/5/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      12/5/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.09
      12/5/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.74
      12/5/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        360.1
      12/5/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      12/5/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      12/5/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      12/5/2015   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-28        161.2

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      12/5/2015   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-12     -3596.02
      12/5/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        369.44
      12/5/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/5/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     19.54
      12/5/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
      12/5/2015   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      12/5/2015   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                          100
      12/5/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        228.29
      12/5/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.95
      12/5/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.96
      12/5/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        377.41
      12/5/2015   709   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         255.5
      12/5/2015   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/5/2015   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
      12/5/2015   709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00327236 - PO System         246.58
      12/5/2015   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      12/5/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/5/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      12/5/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      12/5/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/5/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/5/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/5/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/5/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        340.13
      12/5/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        320.56
      12/5/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/5/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      12/5/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      12/5/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/5/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
      12/5/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/5/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/5/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/5/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/5/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/5/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/5/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        182.94
      12/5/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.45
      12/5/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.86
      12/5/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        229.71
      12/5/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/5/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.92
      12/5/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
      12/5/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/5/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/5/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
      12/5/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
      12/5/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      12/5/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      12/5/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/5/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/5/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/5/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/5/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                         16.78
      12/5/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.42
      12/5/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.98
      12/5/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        122.17
      12/5/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/5/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/5/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                     93
      12/5/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.01
      12/5/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                        532.24
      12/5/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                        532.24
      12/5/2015   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
      12/5/2015   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
      12/5/2015   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.19
      12/5/2015   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/5/2015   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.88
      12/5/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
      12/5/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
      12/5/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
      12/5/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/5/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                            50

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      12/5/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          160
      12/5/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      12/5/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                        221.68
      12/5/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          285
      12/5/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            80
      12/5/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            15
      12/5/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
      12/5/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.8
      12/5/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.85
      12/5/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      12/5/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
      12/5/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         100
      12/5/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.78
      12/5/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.27
      12/5/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      12/5/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      12/5/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      12/5/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 187730 73129                 181.08
      12/5/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 187875 73129                 181.08
      12/5/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      12/5/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      12/5/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.1
      12/5/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      12/5/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
      12/5/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      12/5/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      12/5/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.45
      12/5/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      12/5/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 187875 Lease                 252.11
      12/5/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      12/5/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      12/5/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       362.15
      12/5/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       374.95
      12/5/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      12/5/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      12/5/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      12/5/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      12/5/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      12/5/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      12/5/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/5/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.24
      12/5/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.33
      12/5/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.63
      12/5/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.2
      12/5/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.08
      12/5/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      12/5/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      12/5/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  11.84
      12/5/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      12/5/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/5/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        12.03
      12/5/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.19
      12/5/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        14.45
      12/5/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.4
      12/5/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      12/5/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      12/5/2015   709   IR0002   Owner Operator   Repair Order                   CTMS - 187689 Repair                  490

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      12/5/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      12/5/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      12/5/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      12/5/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      12/5/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      12/5/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
      12/5/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      12/5/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.68
      12/5/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.73
      12/5/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       497.93
      12/5/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.16
      12/5/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      12/5/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      12/5/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/5/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/5/2015   709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-28       929.36
      12/5/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.36
      12/5/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      12/5/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      12/5/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      12/5/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                       134.03
      12/5/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      12/5/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/5/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      12/5/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        423.3
      12/5/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.85
      12/5/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      12/5/2015   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00327115 - PO System         65.86
      12/5/2015   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00327115 - PO System        701.14
      12/5/2015   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00327783 - PO System        164.78
      12/5/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      12/5/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      12/5/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            8.75
      12/5/2015   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33595                        13
      12/5/2015   709   JG0092   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-12         -25
      12/5/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.02
      12/5/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       125.03
      12/5/2015   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2015 - 33595                     100
      12/5/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      12/5/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD             7.82
      12/5/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      12/5/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      12/5/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        70.13
      12/5/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.63
      12/5/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.43
      12/5/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      12/5/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      12/5/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      12/5/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2015   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.42
      12/5/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      12/5/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      12/5/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      12/5/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      12/5/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/5/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      12/5/2015   709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                       -700
      12/5/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      12/5/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/5/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      12/5/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL              8.75
      12/5/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      12/5/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                           13
      12/5/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      12/5/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                 45
      12/5/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      12/5/2015   709   LL0160   Owner Operator   Truck Payment                  CTMS - 187984 Lease Q1111            252.11
      12/5/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      12/5/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      12/5/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                         13
      12/5/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.16
      12/5/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.8
      12/5/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        157.57
      12/5/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2015   709   LS0023   Owner Operator   Permits                        IL02:2015 - 33655                       3.75
      12/5/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.51
      12/5/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      12/5/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      12/5/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      12/5/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      12/5/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      12/5/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        234.92
      12/5/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      12/5/2015   709   MB0048   Owner Operator   Tire Purchase                  PO: 709-00326692 - PO System          162.7
      12/5/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/5/2015   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 187923 MG0067. Bonus re           250
      12/5/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.02
      12/5/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            200
      12/5/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      12/5/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/5/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/5/2015   709   MM0093   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-12         -0.61
      12/5/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        258.69
      12/5/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      12/5/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        122.89
      12/5/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/5/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      12/5/2015   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                     -1083
      12/5/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            650
      12/5/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              80
      12/5/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      12/5/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        312.39
      12/5/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      12/5/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/5/2015   709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System        1082.78
      12/5/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      12/5/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      12/5/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        637.51
      12/5/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                            150
      12/5/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.43
      12/5/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.73
      12/5/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      12/5/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 187827 Lease                  215.66
      12/5/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 188013 Lease                  215.66
      12/5/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/5/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      12/5/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              60
      12/5/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             140

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      12/5/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      12/5/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4
      12/5/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.96
      12/5/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.92
      12/5/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        163.1
      12/5/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      12/5/2015   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      12/5/2015   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      12/5/2015   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.27
      12/5/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.83
      12/5/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.92
      12/5/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.83
      12/5/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         3.64
      12/5/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.72
      12/5/2015   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      12/5/2015   709   NR0010   Owner Operator   Truck Payment                  CTMS - 187838 Tractor Sublease      252.11
      12/5/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL            8.75
      12/5/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
      12/5/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
      12/5/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      12/5/2015   709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-12      -522.5
      12/5/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.74
      12/5/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      12/5/2015   709   RC0030   Owner Operator   Tire Fee                       Tire Fee: 1877877                        4
      12/5/2015   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00328489 - PO System        114.26
      12/5/2015   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00329119 - PO System         94.76
      12/5/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   62.7
      12/5/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/5/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      12/5/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      12/5/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       582.02
      12/5/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      12/5/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      12/5/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      12/5/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       388.58
      12/5/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      12/5/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/5/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      12/5/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      12/5/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      12/5/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      12/5/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/5/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/5/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/5/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        373.2
      12/5/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.07
      12/5/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.85
      12/5/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      12/5/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      12/5/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      12/5/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
      12/5/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      12/5/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      12/5/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
      12/5/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.19
      12/5/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.88
      12/5/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.55
      12/5/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   RM0026   Owner Operator   Permits                        IL02:2015 - 33664                     3.75
      12/5/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
      12/5/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      12/5/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      12/5/2015   709   RM0026   Owner Operator   Toll Charges                   CANCELLED/NOT RETURNED                100
      12/5/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      12/5/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13

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      12/5/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.12
      12/5/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.25
      12/5/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      12/5/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      12/5/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      12/5/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 187838 Repair Q1202            250
      12/5/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 187922 Truck Lease           278.76
      12/5/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
      12/5/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      12/5/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      12/5/2015   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-12      -19.51
      12/5/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      12/5/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.24
      12/5/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.84
      12/5/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.23
      12/5/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      12/5/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      12/5/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      12/5/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      12/5/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.74
      12/5/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.26
      12/5/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.26
      12/5/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       108.33
      12/5/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.98
      12/5/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      12/5/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      12/5/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      12/5/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         361
      12/5/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         241
      12/5/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      12/5/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 187828 Tractor Sub leas      242.03
      12/5/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 188014 Tractor Sub leas      242.03
      12/5/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      12/5/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      12/5/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      12/5/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      12/5/2015   709   VJ0006   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-28        13.83
      12/5/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      12/5/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      12/5/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      12/5/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      12/5/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/5/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      12/5/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        249.3
      12/5/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.31
      12/5/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.42
      12/5/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.79
      12/5/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.95
      12/5/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.21
      12/5/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      12/5/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      12/5/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      12/5/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      12/5/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      12/5/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      12/5/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      12/5/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      12/5/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL              8.75
      12/5/2015   709   WH0073   Owner Operator   Communication Charge           PNet Hware Q1235                        13

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      12/5/2015   709   WH0073   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-12      -19.36
      12/5/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                          300
      12/5/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      12/5/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       406.95
      12/5/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.23
      12/5/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.74
      12/5/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.07
      12/5/2015   709   WH0073   Owner Operator   Highway Use Tax                HUTC:2016 - Q1235                    10.58
      12/5/2015   709   WH0073   Owner Operator   IRP License Deduction          LCIL:2015 - Q1235                    31.68
      12/5/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              65.71
      12/5/2015   709   WH0073   Owner Operator   Toll Charges                   CANCELLED/NOT RETURNED                100
      12/5/2015   709   WH0073   Owner Operator   Truck Payment                  CTMS - 187881 Sub, Sub Lease        396.13
      12/5/2015   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      12/5/2015   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                        13
      12/5/2015   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.68
      12/5/2015   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
      12/5/2015   709   WH0087   Owner Operator   Truck Payment                  CTMS - 187838 Tractor Sublease      252.11
      12/5/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      12/5/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      12/5/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      12/5/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      12/5/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      12/5/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      12/5/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      12/5/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      12/5/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      12/5/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      12/5/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/5/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/5/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/5/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/5/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/5/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/5/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        202.5
      12/5/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.74
      12/5/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        146.1
      12/5/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.08
      12/5/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.24
      12/5/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        489.8
      12/5/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.05
      12/5/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        141.3
      12/5/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.94
      12/5/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.25
      12/5/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      12/5/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      12/5/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      12/5/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      12/5/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      12/5/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      12/5/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      12/5/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       493.23
      12/5/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.74
      12/5/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.53
      12/5/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.13
      12/5/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       113.03
      12/5/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.45
      12/5/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      12/5/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.54
      12/5/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      12/5/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      12/5/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      12/5/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      12/5/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.87
      12/5/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.26

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      12/5/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.25
      12/5/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.5
      12/5/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      12/5/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      12/5/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      12/5/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      12/5/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      12/5/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      12/5/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      12/5/2015   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      12/5/2015   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      12/5/2015   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.78
      12/5/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.83
      12/5/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.02
      12/5/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.95
      12/5/2015   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      12/5/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      12/5/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      12/5/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      12/5/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       288.66
      12/5/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      12/5/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      12/5/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      12/5/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      12/5/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        269.9
      12/5/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.21
      12/5/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.45
      12/5/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.66
      12/5/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.69
      12/5/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.52
      12/5/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.95
      12/5/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.32
      12/5/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        65.61
      12/5/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      12/5/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      12/5/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      12/5/2015   742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00327013 - PO System          205
      12/5/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      12/5/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      12/5/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.21
      12/5/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.16
      12/5/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.09
      12/5/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.13
      12/5/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.29
      12/5/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      12/5/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      12/5/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/5/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      12/5/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      12/5/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      12/5/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/5/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.03
      12/5/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.19
      12/5/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.01
      12/5/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.32
      12/5/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      12/5/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      12/5/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      12/5/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      12/5/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      12/5/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      12/5/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      12/5/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50

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      12/5/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/5/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        346.75
      12/5/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.31
      12/5/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        464.92
      12/5/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.05
      12/5/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        330.29
      12/5/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        185.91
      12/5/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        305.49
      12/5/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                    10.58
      12/5/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                    10.58
      12/5/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                    31.68
      12/5/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                    31.68
      12/5/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/5/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/5/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.26
      12/5/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.25
      12/5/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      12/5/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      12/5/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 187698 Tractor Lease          353.28
      12/5/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 187837 Tractor Lease          353.28
      12/5/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL               8.75
      12/5/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL               8.75
      12/5/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                         13
      12/5/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                         13
      12/5/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        115.92
      12/5/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        355.85
      12/5/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        230.99
      12/5/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        266.86
      12/5/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.52
      12/5/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/5/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/5/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD               24.61
      12/5/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD               24.61
      12/5/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror          2.5
      12/5/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror          2.5
      12/5/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 187922 Tractor Rent             125
      12/5/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 187922 Q1203                  278.76
     12/12/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL           8.75
     12/12/2015   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                  12.5
     12/12/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                        13
     12/12/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                           400
     12/12/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
     12/12/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.47
     12/12/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD            7.82
     12/12/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te          2.5
     12/12/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL           8.75
     12/12/2015   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                  12.5
     12/12/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        13
     12/12/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        13
     12/12/2015   709   AR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-19      -179.68
     12/12/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/12/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/12/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.01
     12/12/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        132.29
     12/12/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.9
     12/12/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        166.98
     12/12/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                    10.58
     12/12/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                    10.58
     12/12/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                    31.68
     12/12/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                    31.68
     12/12/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD           74.22
     12/12/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 188153 Trck Lease             353.28
     12/12/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/12/2015   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                   12.5
     12/12/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                         13
     12/12/2015   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                          400
     12/12/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.5
     12/12/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.96
     12/12/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     12/12/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91

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     12/12/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
     12/12/2015   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                   12.5
     12/12/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
     12/12/2015   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-5           0.61
     12/12/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        114.96
     12/12/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        230.97
     12/12/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        156.34
     12/12/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
     12/12/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
     12/12/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
     12/12/2015   709   CS0091   Owner Operator   Broker Pre Pass                73130 PrePass Device                   12.5
     12/12/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                         13
     12/12/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/12/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                     10.58
     12/12/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                     31.68
     12/12/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            23.44
     12/12/2015   709   CS0091   Owner Operator   Repair Order                   CTMS - 188037 Towing                   175
     12/12/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            8.75
     12/12/2015   709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                   12.5
     12/12/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                         13
     12/12/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                         13
     12/12/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          250
     12/12/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          250
     12/12/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                             50
     12/12/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/12/2015   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
     12/12/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        209.36
     12/12/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        198.48
     12/12/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        107.72
     12/12/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        129.14
     12/12/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.84
     12/12/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        108.06
     12/12/2015   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        132.47
     12/12/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD            46.88
     12/12/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter          2.5
     12/12/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 187875 Q1104                  252.11
     12/12/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 188098 Q1104                  252.11
     12/12/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
     12/12/2015   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                   12.5
     12/12/2015   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
     12/12/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        424.94
     12/12/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                     10.58
     12/12/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                     31.68
     12/12/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
     12/12/2015   709   DL0107   Owner Operator   Truck Payment                  CTMS - 188044 Sublease               338.99
     12/12/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
     12/12/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/12/2015   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                   12.5
     12/12/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
     12/12/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
     12/12/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     12/12/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        169.51
     12/12/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        463.36
     12/12/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
     12/12/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
     12/12/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
     12/12/2015   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-5        3596.02
     12/12/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        381.15
     12/12/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     19.54
     12/12/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/12/2015   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                   12.5
     12/12/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
     12/12/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
     12/12/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2

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     12/12/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/12/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        438.47
     12/12/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        390.02
     12/12/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
     12/12/2015   709   EA0003   Owner Operator   Repair Order                   CTMS - 188036 Repair                 165.44
     12/12/2015   709   EA0003   Owner Operator   Repair Order                   CTMS - 188036 Repair                 518.12
     12/12/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
     12/12/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/12/2015   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                   12.5
     12/12/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
     12/12/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/12/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/12/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        415.24
     12/12/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        171.63
     12/12/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.8
     12/12/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.74
     12/12/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.92
     12/12/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
     12/12/2015   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
     12/12/2015   709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                   12.5
     12/12/2015   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
     12/12/2015   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/12/2015   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        357.29
     12/12/2015   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.82
     12/12/2015   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.53
     12/12/2015   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.88
     12/12/2015   709   FS0039   Owner Operator   Truck Payment                  CTMS - 187984 truck lease 3304       434.29
     12/12/2015   709   FS0039   Owner Operator   Truck Payment                  CTMS - 188184 truck lease 3304       434.29
     12/12/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
     12/12/2015   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                   12.5
     12/12/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
     12/12/2015   709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-19      -327.77
     12/12/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/12/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             80
     12/12/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           300
     12/12/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             20
     12/12/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             15
     12/12/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.2
     12/12/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     12/12/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.15
     12/12/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.8
     12/12/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.9
     12/12/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        182.36
     12/12/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                     10.58
     12/12/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                     31.68
     12/12/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.52
     12/12/2015   709   FT0004   Owner Operator   Tire Fee                       Tire Fee: 1881208                         8
     12/12/2015   709   FT0004   Owner Operator   Tire Fee                       Tire Fee: 1881210                        16
     12/12/2015   709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00328629 - PO System         240.81
     12/12/2015   709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00329312 - PO System         342.01
     12/12/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 188098 73129                  181.08
     12/12/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
     12/12/2015   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                  12.5
     12/12/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
     12/12/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        397.77
     12/12/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        152.48
     12/12/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        194.79
     12/12/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
     12/12/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                    4.75
     12/12/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
     12/12/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
     12/12/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/12/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
     12/12/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 188098 Lease                  252.11
     12/12/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75

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     12/12/2015   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                   12.5
     12/12/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
     12/12/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/12/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        141.51
     12/12/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        425.75
     12/12/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.53
     12/12/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
     12/12/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
     12/12/2015   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                   12.5
     12/12/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
     12/12/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/12/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/12/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.2
     12/12/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.9
     12/12/2015   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        142.34
     12/12/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
     12/12/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
     12/12/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/12/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-19      -372.84
     12/12/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-19      -281.59
     12/12/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         13.87
     12/12/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        289.64
     12/12/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
     12/12/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     12/12/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
     12/12/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
     12/12/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
     12/12/2015   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                   12.5
     12/12/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
     12/12/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
     12/12/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/12/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/12/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/12/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/12/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.95
     12/12/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        391.02
     12/12/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        223.51
     12/12/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.13
     12/12/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
     12/12/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/12/2015   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                   12.5
     12/12/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
     12/12/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
     12/12/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
     12/12/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
     12/12/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
     12/12/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
     12/12/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
     12/12/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
     12/12/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
     12/12/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           150
     12/12/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
     12/12/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     12/12/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.71
     12/12/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.7
     12/12/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        437.34
     12/12/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
     12/12/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
     12/12/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          43.3
     12/12/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/12/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         134.56
     12/12/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/12/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2

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     12/12/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.51
     12/12/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
     12/12/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     12/12/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     12/12/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            8.75
     12/12/2015   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33595                        13
     12/12/2015   709   JG0092   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-5            25
     12/12/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/12/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/12/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.42
     12/12/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.03
     12/12/2015   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2015 - 33595                   446.33
     12/12/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
     12/12/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD             7.82
     12/12/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/12/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/12/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           250
     12/12/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.5
     12/12/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.68
     12/12/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
     12/12/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
     12/12/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     12/12/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     12/12/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         47.7
     12/12/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     12/12/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     12/12/2015   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
     12/12/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     12/12/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/12/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
     12/12/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
     12/12/2015   709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
     12/12/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
     12/12/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/12/2015   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.69
     12/12/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
     12/12/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
     12/12/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
     12/12/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     12/12/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     12/12/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     12/12/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     12/12/2015   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
     12/12/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     12/12/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     12/12/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
     12/12/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
     12/12/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           300
     12/12/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     12/12/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.65
     12/12/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       435.67
     12/12/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
     12/12/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
     12/12/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
     12/12/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
     12/12/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/12/2015   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
     12/12/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
     12/12/2015   709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                     -700
     12/12/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
     12/12/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
     12/12/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.83
     12/12/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.19
     12/12/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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     12/12/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
     12/12/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     12/12/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
     12/12/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
     12/12/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
     12/12/2015   709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                   12.5
     12/12/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
     12/12/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
     12/12/2015   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-19      -162.37
     12/12/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
     12/12/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
     12/12/2015   709   LL0160   Owner Operator   Truck Payment                  CTMS - 188184 Lease Q1111            252.11
     12/12/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
     12/12/2015   709   LS0023   Owner Operator   Broker Pre Pass                21489A PrePass Device                  12.5
     12/12/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                        13
     12/12/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          8
     12/12/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
     12/12/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
     12/12/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
     12/12/2015   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                  12.5
     12/12/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
     12/12/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        152.15
     12/12/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.1
     12/12/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
     12/12/2015   709   MB0048   Owner Operator   Repair Order                   CTMS - 188037 Repair                 623.56
     12/12/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
     12/12/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-19      -852.28
     12/12/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-19      -517.56
     12/12/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/12/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
     12/12/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
     12/12/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     12/12/2015   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                   12.5
     12/12/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
     12/12/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
     12/12/2015   709   MM0093   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-5           0.61
     12/12/2015   709   MM0093   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-19      -110.75
     12/12/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/12/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/12/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/12/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/12/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        271.17
     12/12/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        171.07
     12/12/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        475.54
     12/12/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
     12/12/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
     12/12/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         214.3
     12/12/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
     12/12/2015   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                   12.5
     12/12/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
     12/12/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
     12/12/2015   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
     12/12/2015   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        331.97
     12/12/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
     12/12/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
     12/12/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
     12/12/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
     12/12/2015   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                   12.5
     12/12/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
     12/12/2015   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
     12/12/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          750
     12/12/2015   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        112.49
     12/12/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/12/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        289.35
     12/12/2015   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.36
     12/12/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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     12/12/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
     12/12/2015   709   NB0029   Owner Operator   Tire Fee                       Tire Fee: 1881211                         4
     12/12/2015   709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00329311 - PO System          22.89
     12/12/2015   709   NB0029   Owner Operator   Truck Payment                  CTMS - 188228 Lease                  215.66
     12/12/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
     12/12/2015   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                  12.5
     12/12/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
     12/12/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
     12/12/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/12/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         40.05
     12/12/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.98
     12/12/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        176.31
     12/12/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
     12/12/2015   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
     12/12/2015   709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                   12.5
     12/12/2015   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
     12/12/2015   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/12/2015   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                            500
     12/12/2015   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     12/12/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.54
     12/12/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        228.32
     12/12/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        134.34
     12/12/2015   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.07
     12/12/2015   709   NR0010   Owner Operator   Truck Payment                  CTMS - 188049 Tractor Sublease       252.11
     12/12/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL             8.75
     12/12/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                          13
     12/12/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD             28.13
     12/12/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
     12/12/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
     12/12/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                 -35
     12/12/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
     12/12/2015   709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-5          522.5
     12/12/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          -190
     12/12/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.16
     12/12/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
     12/12/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
     12/12/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
     12/12/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD              -156.25
     12/12/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
     12/12/2015   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00328489 - PO System         114.23
     12/12/2015   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00329119 - PO System          94.76
     12/12/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    62.7
     12/12/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/12/2015   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-19      -666.75
     12/12/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
     12/12/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     12/12/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.72
     12/12/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        543.53
     12/12/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.07
     12/12/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
     12/12/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
     12/12/2015   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                  12.5
     12/12/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        333.42
     12/12/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.32
     12/12/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/12/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
     12/12/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
     12/12/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
     12/12/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
     12/12/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/12/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/12/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/12/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        382.24
     12/12/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.4
     12/12/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.16
     12/12/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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     12/12/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
     12/12/2015   709   RL0062   Owner Operator   Repair Order                   CTMS - 188037 Repair                138.77
     12/12/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
     12/12/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
     12/12/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
     12/12/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
     12/12/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
     12/12/2015   709   RM0026   Owner Operator   Broker Pre Pass                30811A PrePass Device                 12.5
     12/12/2015   709   RM0026   Owner Operator   Communication Charge           PNet Hware 30811A                       13
     12/12/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.76
     12/12/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.02
     12/12/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
     12/12/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
     12/12/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
     12/12/2015   709   RM0026   Owner Operator   Repair Order                   CTMS - 188037 Install Hose Rac          70
     12/12/2015   709   RM0026   Owner Operator   Toll Charges                   CANCELLED/ RETURNED                   -100
     12/12/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
     12/12/2015   709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                  12.5
     12/12/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
     12/12/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/12/2015   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/12/2015   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/12/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.79
     12/12/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
     12/12/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
     12/12/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
     12/12/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 188049 Repair Q1202             250
     12/12/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 188153 Truck Lease           278.76
     12/12/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     12/12/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
     12/12/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/12/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/12/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       108.01
     12/12/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.69
     12/12/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.14
     12/12/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.34
     12/12/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
     12/12/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
     12/12/2015   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                  12.5
     12/12/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
     12/12/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/12/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.02
     12/12/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.45
     12/12/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.01
     12/12/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
     12/12/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 188229 Tractor Sub leas      242.03
     12/12/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     12/12/2015   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
     12/12/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     12/12/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
     12/12/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/12/2015   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/12/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.48
     12/12/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       174.08
     12/12/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.5
     12/12/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
     12/12/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     12/12/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
     12/12/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     12/12/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
     12/12/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
     12/12/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL             26.25
     12/12/2015   709   WH0073   Owner Operator   BOBTAIL INS.                   Q1235 2012 Peterbilt NTL               -35
     12/12/2015   709   WH0073   Owner Operator   Broker Pre Pass                Q1235 PrePass Device                  12.5

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     12/12/2015   709   WH0073   Owner Operator   Broker Pre Pass                Q1235 PrePass Device                   12.5
     12/12/2015   709   WH0073   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-5          19.36
     12/12/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance                           500
     12/12/2015   709   WH0073   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     12/12/2015   709   WH0073   Owner Operator   Fuel Purchase                  Fuel Purchase                        334.45
     12/12/2015   709   WH0073   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         142.5
     12/12/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD              197.11
     12/12/2015   709   WH0073   Owner Operator   PHYSICAL DAMAGE                Q1235 2012 Peterbilt PD             -262.82
     12/12/2015   709   WH0073   Owner Operator   Repair Order                   CTMS - 188037 Repair                 318.64
     12/12/2015   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
     12/12/2015   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                         13
     12/12/2015   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/12/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         22.57
     12/12/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        352.45
     12/12/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        269.68
     12/12/2015   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.07
     12/12/2015   709   WH0087   Owner Operator   Truck Payment                  CTMS - 188049 Tractor Sublease       252.11
     12/12/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
     12/12/2015   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                   12.5
     12/12/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
     12/12/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/12/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/12/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/12/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/12/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        159.13
     12/12/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.7
     12/12/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.8
     12/12/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        431.07
     12/12/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 97.27
     12/12/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
     12/12/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
     12/12/2015   742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                   12.5
     12/12/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
     12/12/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        264.08
     12/12/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.57
     12/12/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.55
     12/12/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
     12/12/2015   742   BS0078   Owner Operator   Repair Order                   CTMS - 188203 repair                  280.6
     12/12/2015   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
     12/12/2015   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                   12.5
     12/12/2015   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
     12/12/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         77.68
     12/12/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.31
     12/12/2015   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        367.99
     12/12/2015   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.36
     12/12/2015   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
     12/12/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
     12/12/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                        13
     12/12/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
     12/12/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.69
     12/12/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
     12/12/2015   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                         8.75
     12/12/2015   742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                   12.5
     12/12/2015   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                         13
     12/12/2015   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/12/2015   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/12/2015   742   KJ0045   Owner Operator   Permits                        IL02:2015 - 33634                      3.75
     12/12/2015   742   KJ0045   Owner Operator   Permits                        NY13:2016 - 33634                        19
     12/12/2015   742   KJ0045   Owner Operator   Permits                        OR16:2015 - 33634                         8
     12/12/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                         46.88
     12/12/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
     12/12/2015   742   KJ0045   Owner Operator   Repair Order                   CTMS - 188180 repair                   280
     12/12/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
     12/12/2015   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                   12.5
     12/12/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                         13
     12/12/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/12/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        273.14
     12/12/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        178.82
     12/12/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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     12/12/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
     12/12/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     12/12/2015   742   NG0024   Owner Operator   AP Invoice Deductions          Rohm & Haas                          67.94
     12/12/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
     12/12/2015   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
     12/12/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     12/12/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.51
     12/12/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.86
     12/12/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
     12/12/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
     12/12/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        37.19
     12/12/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
     12/12/2015   742   PS0080   Owner Operator   Accident Claim                 Claim Refund                          -500
     12/12/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     12/12/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     12/12/2015   742   PS0080   Owner Operator   Broker Pre Pass                33584 PrePass Device                  12.5
     12/12/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/12/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/12/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.76
     12/12/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.55
     12/12/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.37
     12/12/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.88
     12/12/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.53
     12/12/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.58
     12/12/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
     12/12/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
     12/12/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
     12/12/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
     12/12/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
     12/12/2015   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
     12/12/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     12/12/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/12/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.28
     12/12/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.07
     12/12/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
     12/12/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
     12/12/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
     12/12/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     12/12/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 188048 Tractor Lease         353.28
     12/12/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
     12/12/2015   771   EN0016   Owner Operator   Broker Pre Pass                32674 PrePass Device                  12.5
     12/12/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
     12/12/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.35
     12/12/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.78
     12/12/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.86
     12/12/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.39
     12/12/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/12/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
     12/12/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
     12/12/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 188153 Tractor Rent             125
     12/12/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 188153 Q1203                 278.76
     12/19/2015   709   AN0007   Owner Operator   AP Invoice Deductions          Comdata MasterCard                   59.17
     12/19/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     12/19/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     12/19/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                           400
     12/19/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
     12/19/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.52
     12/19/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
     12/19/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     12/19/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
     12/19/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
     12/19/2015   709   AR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-12       179.68
     12/19/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          150
     12/19/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        140.1
     12/19/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          267
     12/19/2015   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          257
     12/19/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58

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     12/19/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
     12/19/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
     12/19/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/19/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     12/19/2015   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                          400
     12/19/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/19/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.44
     12/19/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.93
     12/19/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
     12/19/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/19/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     12/19/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
     12/19/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     12/19/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/19/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.26
     12/19/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.94
     12/19/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.31
     12/19/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.34
     12/19/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
     12/19/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
     12/19/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
     12/19/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                        13
     12/19/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        96.24
     12/19/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.47
     12/19/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
     12/19/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                    31.68
     12/19/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           23.44
     12/19/2015   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
     12/19/2015   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
     12/19/2015   709   DJ0028   Owner Operator   ESCROW                         Escrow Withdrawal                    -1450
     12/19/2015   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          250
     12/19/2015   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
     12/19/2015   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
     12/19/2015   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 188297 Q1104                 252.11
     12/19/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
     12/19/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
     12/19/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                     1.44
     12/19/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
     12/19/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
     12/19/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/19/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
     12/19/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
     12/19/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     12/19/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.43
     12/19/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.49
     12/19/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
     12/19/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
     12/19/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
     12/19/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.57
     12/19/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
     12/19/2015   709   DS0225   Owner Operator   Tire Fee                       Tire Fee: 1883101                        4
     12/19/2015   709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329291 - PO System         39.25
     12/19/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
     12/19/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.02
     12/19/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.93
     12/19/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.88
     12/19/2015   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
     12/19/2015   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
     12/19/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/19/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
     12/19/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250

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     12/19/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/19/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       429.08
     12/19/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
     12/19/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
     12/19/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/19/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
     12/19/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          400
     12/19/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
     12/19/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.85
     12/19/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.07
     12/19/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.39
     12/19/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.85
     12/19/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
     12/19/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
     12/19/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/19/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/19/2015   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                  12.5
     12/19/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
     12/19/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
     12/19/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
     12/19/2015   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
     12/19/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/19/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/19/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/19/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/19/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/19/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/19/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.34
     12/19/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.53
     12/19/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.36
     12/19/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.55
     12/19/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.31
     12/19/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        19.96
     12/19/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       116.18
     12/19/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
     12/19/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
     12/19/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
     12/19/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
     12/19/2015   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
     12/19/2015   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
     12/19/2015   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.68
     12/19/2015   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.79
     12/19/2015   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.11
     12/19/2015   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.82
     12/19/2015   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
     12/19/2015   709   FS0039   Owner Operator   Truck Payment                  CTMS - 188377 truck lease 3304      434.29
     12/19/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
     12/19/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
     12/19/2015   709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-12       327.77
     12/19/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          325
     12/19/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          300
     12/19/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            80
     12/19/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.8
     12/19/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     12/19/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      3.25
     12/19/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.88
     12/19/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
     12/19/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
     12/19/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
     12/19/2015   709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00328629 - PO System        240.81

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     12/19/2015   709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00329312 - PO System         342.01
     12/19/2015   709   FT0004   Owner Operator   Truck Payment                  CTMS - 188297 73129                  181.08
     12/19/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
     12/19/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
     12/19/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.6
     12/19/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/19/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
     12/19/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                    4.75
     12/19/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
     12/19/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
     12/19/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/19/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        242.43
     12/19/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/19/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
     12/19/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 188297 Lease                  252.11
     12/19/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
     12/19/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
     12/19/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
     12/19/2015   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/19/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        404.62
     12/19/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.48
     12/19/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/19/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
     12/19/2015   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
     12/19/2015   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
     12/19/2015   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/19/2015   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/19/2015   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
     12/19/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
     12/19/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/19/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-12        372.84
     12/19/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-12        281.59
     12/19/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-26      -178.13
     12/19/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.84
     12/19/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.81
     12/19/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        229.04
     12/19/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         20.95
     12/19/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/19/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
     12/19/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     12/19/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
     12/19/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
     12/19/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
     12/19/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
     12/19/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           200
     12/19/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
     12/19/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
     12/19/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/19/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/19/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.7
     12/19/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        386.29
     12/19/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/19/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.13
     12/19/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
     12/19/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/19/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
     12/19/2015   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                     -2500
     12/19/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
     12/19/2015   709   JG0017   Owner Operator   Express Check                  T-Check Payment                        2500
     12/19/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
     12/19/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     12/19/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        429.56
     12/19/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        351.07
     12/19/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/19/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
     12/19/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
     12/19/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/19/2015   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                   12.5
     12/19/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
     12/19/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
     12/19/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
     12/19/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
     12/19/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          65.44

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     12/19/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/19/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/19/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.98
     12/19/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.94
     12/19/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       444.87
     12/19/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       402.71
     12/19/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
     12/19/2015   709   JG0072   Owner Operator   Repair Order                   CTMS - 187688 Repair                120.06
     12/19/2015   709   JG0072   Owner Operator   Repair Order                   CTMS - 188036 Part                   68.53
     12/19/2015   709   JG0072   Owner Operator   Repair Order                   CTMS - 188036 Repair                120.06
     12/19/2015   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00327115 - PO System        423.05
     12/19/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     12/19/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     12/19/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            8.75
     12/19/2015   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33595                        13
     12/19/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       115.04
     12/19/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
     12/19/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD             7.82
     12/19/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/19/2015   709   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
     12/19/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     12/19/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     12/19/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     12/19/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/19/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/19/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/19/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.21
     12/19/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.63
     12/19/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.25
     12/19/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.38
     12/19/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.87
     12/19/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
     12/19/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     12/19/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     12/19/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        587.7
     12/19/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     12/19/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     12/19/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.65
     12/19/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
     12/19/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
     12/19/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
     12/19/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       174.52
     12/19/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
     12/19/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
     12/19/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
     12/19/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     12/19/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     12/19/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     12/19/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
     12/19/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/19/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/19/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/19/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.01
     12/19/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.57
     12/19/2015   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.09
     12/19/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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     12/19/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
     12/19/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
     12/19/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/19/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
     12/19/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/19/2015   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/19/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        29.93
     12/19/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.01
     12/19/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.01
     12/19/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.18
     12/19/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
     12/19/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/19/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
     12/19/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
     12/19/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
     12/19/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
     12/19/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
     12/19/2015   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-12       162.37
     12/19/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
     12/19/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
     12/19/2015   709   LL0160   Owner Operator   Truck Payment                  CTMS - 188378 Lease Q1111           252.11
     12/19/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
     12/19/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
     12/19/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
     12/19/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/19/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/19/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       401.37
     12/19/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.72
     12/19/2015   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       490.92
     12/19/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
     12/19/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
     12/19/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
     12/19/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
     12/19/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.34
     12/19/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
     12/19/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     12/19/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-12       852.28
     12/19/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-12       517.56
     12/19/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.52
     12/19/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
     12/19/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     12/19/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     12/19/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
     12/19/2015   709   MM0093   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-12       110.75
     12/19/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
     12/19/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
     12/19/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     12/19/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
     12/19/2015   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                    -3000
     12/19/2015   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                    -1000
     12/19/2015   709   MP0035   Owner Operator   Express Check                  T-Check Payment                       3000
     12/19/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
     12/19/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
     12/19/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
     12/19/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
     12/19/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
     12/19/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           140
     12/19/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4
     12/19/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       121.01
     12/19/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.57
     12/19/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
     12/19/2015   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75

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     12/19/2015   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
     12/19/2015   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.77
     12/19/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.29
     12/19/2015   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
     12/19/2015   709   NR0010   Owner Operator   Truck Payment                  CTMS - 188264 Tractor Sublease      252.11
     12/19/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL            8.75
     12/19/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
     12/19/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
     12/19/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
     12/19/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
     12/19/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
     12/19/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.03
     12/19/2015   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.1
     12/19/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
     12/19/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
     12/19/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
     12/19/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
     12/19/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
     12/19/2015   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00329119 - PO System         94.76
     12/19/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   62.7
     12/19/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/19/2015   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-12       666.75
     12/19/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
     12/19/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     12/19/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.59
     12/19/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.52
     12/19/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
     12/19/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
     12/19/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
     12/19/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.42
     12/19/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.84
     12/19/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
     12/19/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/19/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
     12/19/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/19/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/19/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/19/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/19/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.16
     12/19/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.24
     12/19/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
     12/19/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
     12/19/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
     12/19/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
     12/19/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
     12/19/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.07
     12/19/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.86
     12/19/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
     12/19/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
     12/19/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
     12/19/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
     12/19/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                          140
     12/19/2015   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4
     12/19/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.87
     12/19/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
     12/19/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
     12/19/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
     12/19/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 188264 Repair Q1202            250
     12/19/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 188336 Truck Lease           278.76
     12/19/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
     12/19/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                  11.12
     12/19/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75

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     12/19/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/19/2015   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                  12.5
     12/19/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
     12/19/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
     12/19/2015   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-5         19.51
     12/19/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
     12/19/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
     12/19/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/19/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.62
     12/19/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.76
     12/19/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        20.72
     12/19/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.34
     12/19/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
     12/19/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
     12/19/2015   709   SB0009   Owner Operator   Tire Fee                       Tire Fee: 1883099                       16
     12/19/2015   709   SB0009   Owner Operator   Tire Fee                       Tire Fee: 1883100                       16
     12/19/2015   709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00329288 - PO System        376.61
     12/19/2015   709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00329289 - PO System        376.81
     12/19/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
     12/19/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
     12/19/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     12/19/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
     12/19/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        76.79
     12/19/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.07
     12/19/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       117.04
     12/19/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.55
     12/19/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
     12/19/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
     12/19/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
     12/19/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         230
     12/19/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
     12/19/2015   709   VB0015   Owner Operator   Truck Payment                  CTMS - 188410 Tractor Sub leas      242.03
     12/19/2015   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     12/19/2015   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     12/19/2015   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
     12/19/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.36
     12/19/2015   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.54
     12/19/2015   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
     12/19/2015   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     12/19/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
     12/19/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     12/19/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
     12/19/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
     12/19/2015   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
     12/19/2015   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                        13
     12/19/2015   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.43
     12/19/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        26.61
     12/19/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.23
     12/19/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.55
     12/19/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.87
     12/19/2015   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
     12/19/2015   709   WH0087   Owner Operator   Truck Payment                  CTMS - 188264 Tractor Sublease      252.11
     12/19/2015   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
     12/19/2015   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     12/19/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/19/2015   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/19/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.31
     12/19/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.28
     12/19/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.16
     12/19/2015   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.03
     12/19/2015   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27

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     12/19/2015   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
     12/19/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     12/19/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
     12/19/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        134.2
     12/19/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.26
     12/19/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.29
     12/19/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       427.62
     12/19/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
     12/19/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
     12/19/2015   742   ED0041   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-26         -97
     12/19/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
     12/19/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
     12/19/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     12/19/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
     12/19/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
     12/19/2015   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
     12/19/2015   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
     12/19/2015   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/19/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.45
     12/19/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.7
     12/19/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.57
     12/19/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.95
     12/19/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.84
     12/19/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.06
     12/19/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.51
     12/19/2015   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
     12/19/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
     12/19/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/19/2015   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/19/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     12/19/2015   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     12/19/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       218.27
     12/19/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
     12/19/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
     12/19/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     12/19/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/19/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/19/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/19/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.32
     12/19/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.45
     12/19/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.56
     12/19/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        224.4
     12/19/2015   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       536.89
     12/19/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/19/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
     12/19/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
     12/19/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/19/2015   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/19/2015   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
     12/19/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     12/19/2015   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     12/19/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
     12/19/2015   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
     12/19/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/19/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/19/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/19/2015   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/19/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       112.38
     12/19/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.3
     12/19/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        202.1
     12/19/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.94
     12/19/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.09
     12/19/2015   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.7
     12/19/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        18.56
     12/19/2015   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     12/19/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
     12/19/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
     12/19/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18

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     12/19/2015   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
     12/19/2015   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/19/2015   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.54
     12/19/2015   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/19/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     66.41
     12/19/2015   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism             2.5
     12/19/2015   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
     12/19/2015   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
     12/19/2015   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/19/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.54
     12/19/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.53
     12/19/2015   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.84
     12/19/2015   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                    10.58
     12/19/2015   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                    31.68
     12/19/2015   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/19/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.26
     12/19/2015   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
     12/19/2015   742   RN0054   Owner Operator   Truck Payment                  CTMS - 188263 Tractor Lease          353.28
     12/19/2015   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL               8.75
     12/19/2015   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                         13
     12/19/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.07
     12/19/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        343.49
     12/19/2015   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        349.87
     12/19/2015   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/19/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD               24.61
     12/19/2015   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror          2.5
     12/19/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 188336 Tractor Rent             125
     12/19/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 188336 Q1203                  278.76
     12/26/2015   709   AN0007   Owner Operator   Accident Claim                 Claim: Expense                       -636.4
     12/26/2015   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL           8.75
     12/26/2015   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                        13
     12/26/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                           400
     12/26/2015   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
     12/26/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          55.2
     12/26/2015   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.89
     12/26/2015   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD            7.79
     12/26/2015   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te          2.5
     12/26/2015   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL           8.75
     12/26/2015   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        13
     12/26/2015   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/26/2015   709   AR0064   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      339.5
     12/26/2015   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                    10.58
     12/26/2015   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                    31.68
     12/26/2015   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD           74.22
     12/26/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 188336 Trck Lease             353.28
     12/26/2015   709   AR0064   Owner Operator   Truck Payment                  CTMS - 188512 Trck Lease             353.28
     12/26/2015   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/26/2015   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                         13
     12/26/2015   709   CM0119   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-2       -1049.84
     12/26/2015   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                          400
     12/26/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/26/2015   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/26/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.29
     12/26/2015   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        433.21
     12/26/2015   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.93
     12/26/2015   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     12/26/2015   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
     12/26/2015   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
     12/26/2015   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
     12/26/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/26/2015   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/26/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.6
     12/26/2015   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        129.23
     12/26/2015   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.04
     12/26/2015   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
     12/26/2015   709   CS0091   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
     12/26/2015   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                         13
     12/26/2015   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/26/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        100.97

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     12/26/2015   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                      130.79
     12/26/2015   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                   10.58
     12/26/2015   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                   31.68
     12/26/2015   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     12/26/2015   709   CS0091   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD          23.43
     12/26/2015   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL             8.75
     12/26/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       36.86
     12/26/2015   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.1
     12/26/2015   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                   10.58
     12/26/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                   31.68
     12/26/2015   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                   30.24
     12/26/2015   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     12/26/2015   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.69
     12/26/2015   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.36
     12/26/2015   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     12/26/2015   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
     12/26/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                         500
     12/26/2015   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
     12/26/2015   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      378.52
     12/26/2015   709   DS0049   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      0.1
     12/26/2015   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     12/26/2015   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.33
     12/26/2015   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
     12/26/2015   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
     12/26/2015   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      356.92
     12/26/2015   709   DS0225   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                    -34.9
     12/26/2015   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     12/26/2015   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   19.51
     12/26/2015   709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329291 - PO System        39.25
     12/26/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                       8.75
     12/26/2015   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                       8.75
     12/26/2015   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                 12.5
     12/26/2015   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                       13
     12/26/2015   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                       13
     12/26/2015   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                       13
     12/26/2015   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                        100
     12/26/2015   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                        100
     12/26/2015   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                        100
     12/26/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       80.48
     12/26/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      296.94
     12/26/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      307.21
     12/26/2015   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      245.88
     12/26/2015   709   DW0138   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                   147.68
     12/26/2015   709   DW0138   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       252.9
     12/26/2015   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     12/26/2015   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     12/26/2015   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                       68.49
     12/26/2015   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                       68.52
     12/26/2015   709   DW0138   Owner Operator   Repair Order                   CTMS - 188037 Repair               257.31
     12/26/2015   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                      463.27
     12/26/2015   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                      463.27
     12/26/2015   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     12/26/2015   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
     12/26/2015   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        250
     12/26/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
     12/26/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
     12/26/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     12/26/2015   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
     12/26/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       398.9
     12/26/2015   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      320.27
     12/26/2015   709   EA0003   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                   114.16
     12/26/2015   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     12/26/2015   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
     12/26/2015   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
     12/26/2015   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
     12/26/2015   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                       13
     12/26/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         300
     12/26/2015   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
     12/26/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      222.88
     12/26/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      326.86
     12/26/2015   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      141.19
     12/26/2015   709   EE0011   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                   -180.2
     12/26/2015   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5

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     12/26/2015   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.91
     12/26/2015   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
     12/26/2015   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/26/2015   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                     10.04
     12/26/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/26/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/26/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/26/2015   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/26/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        18.84
     12/26/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.65
     12/26/2015   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.58
     12/26/2015   709   EH0020   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                    179.93
     12/26/2015   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/26/2015   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93
     12/26/2015   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
     12/26/2015   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
     12/26/2015   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
     12/26/2015   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/26/2015   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            40
     12/26/2015   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
     12/26/2015   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.76
     12/26/2015   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.47
     12/26/2015   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/26/2015   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.86
     12/26/2015   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
     12/26/2015   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
     12/26/2015   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/26/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/26/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            25
     12/26/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
     12/26/2015   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/26/2015   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.62
     12/26/2015   709   FT0004   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      8.57
     12/26/2015   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
     12/26/2015   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
     12/26/2015   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/26/2015   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.51
     12/26/2015   709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00328629 - PO System        205.01
     12/26/2015   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     12/26/2015   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
     12/26/2015   709   FV0001   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-2          -554
     12/26/2015   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.62
     12/26/2015   709   FV0001   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     29.71
     12/26/2015   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/26/2015   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.01
     12/26/2015   709   GS0015   Owner Operator   24 HOUR DISABILITY             L&H                                   4.75
     12/26/2015   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
     12/26/2015   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
     12/26/2015   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/26/2015   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.1
     12/26/2015   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/26/2015   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
     12/26/2015   709   GS0015   Owner Operator   Truck Payment                  CTMS - 188461 Lease                 252.11
     12/26/2015   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
     12/26/2015   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
     12/26/2015   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.28
     12/26/2015   709   HG0007   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                    122.67
     12/26/2015   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/26/2015   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
     12/26/2015   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
     12/26/2015   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/26/2015   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-19       178.13
     12/26/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         8.73
     12/26/2015   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.64
     12/26/2015   709   IR0002   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                    -37.78
     12/26/2015   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/26/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
     12/26/2015   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/26/2015   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
     12/26/2015   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
     12/26/2015   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
     12/26/2015   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
     12/26/2015   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200

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     12/26/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/26/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/26/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/26/2015   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/26/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.64
     12/26/2015   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.61
     12/26/2015   709   JC0292   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                    147.09
     12/26/2015   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/26/2015   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
     12/26/2015   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
     12/26/2015   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/26/2015   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
     12/26/2015   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
     12/26/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
     12/26/2015   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     12/26/2015   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.45
     12/26/2015   709   JG0017   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                    112.85
     12/26/2015   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/26/2015   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
     12/26/2015   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     12/26/2015   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/26/2015   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     12/26/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/26/2015   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/26/2015   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.14
     12/26/2015   709   JG0072   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                    188.34
     12/26/2015   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/26/2015   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
     12/26/2015   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     12/26/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     12/26/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL            8.75
     12/26/2015   709   JG0092   Owner Operator   BOBTAIL INS.                   30141 1996 Volvo/White NTL             -35
     12/26/2015   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/26/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.01
     12/26/2015   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.13
     12/26/2015   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/26/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
     12/26/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD             7.79
     12/26/2015   709   JG0092   Owner Operator   PHYSICAL DAMAGE                30141 1996 Volvo/White PD           -31.25
     12/26/2015   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/26/2015   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     12/26/2015   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/26/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/26/2015   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/26/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.19
     12/26/2015   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.93
     12/26/2015   709   JK0112   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                    225.43
     12/26/2015   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/26/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
     12/26/2015   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     12/26/2015   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     12/26/2015   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     12/26/2015   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     12/26/2015   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/26/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.45
     12/26/2015   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.91
     12/26/2015   709   JQ0015   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      6.83
     12/26/2015   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/26/2015   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
     12/26/2015   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
     12/26/2015   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
     12/26/2015   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/26/2015   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.45
     12/26/2015   709   JR0099   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                    207.43
     12/26/2015   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
     12/26/2015   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
     12/26/2015   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/26/2015   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
     12/26/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     12/26/2015   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     12/26/2015   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     12/26/2015   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
     12/26/2015   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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     12/26/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.93
     12/26/2015   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
     12/26/2015   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/26/2015   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
     12/26/2015   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
     12/26/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.35
     12/26/2015   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          385
     12/26/2015   709   KP0004   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     235.24
     12/26/2015   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
     12/26/2015   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     12/26/2015   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
     12/26/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
     12/26/2015   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
     12/26/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
     12/26/2015   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
     12/26/2015   709   LL0160   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     213.62
     12/26/2015   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
     12/26/2015   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.04
     12/26/2015   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
     12/26/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                        13
     12/26/2015   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
     12/26/2015   709   LS0023   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      -0.48
     12/26/2015   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.51
     12/26/2015   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
     12/26/2015   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
     12/26/2015   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
     12/26/2015   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        171.14
     12/26/2015   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.29
     12/26/2015   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
     12/26/2015   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-2        -808.42
     12/26/2015   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/26/2015   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        255.04
     12/26/2015   709   MG0067   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      17.65
     12/26/2015   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
     12/26/2015   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
     12/26/2015   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     12/26/2015   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
     12/26/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/26/2015   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/26/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.51
     12/26/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        110.18
     12/26/2015   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        325.16
     12/26/2015   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.11
     12/26/2015   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
     12/26/2015   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
     12/26/2015   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
     12/26/2015   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        275.16
     12/26/2015   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.86
     12/26/2015   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
     12/26/2015   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
     12/26/2015   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
     12/26/2015   709   NB0029   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                       26.4
     12/26/2015   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.15
     12/26/2015   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
     12/26/2015   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
     12/26/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           140
     12/26/2015   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.4
     12/26/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.45
     12/26/2015   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        121.63
     12/26/2015   709   NG0005   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                       6.23
     12/26/2015   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.97
     12/26/2015   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
     12/26/2015   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
     12/26/2015   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                            50

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     12/26/2015   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           300
     12/26/2015   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     12/26/2015   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                          257
     12/26/2015   709   NR0010   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      23.63
     12/26/2015   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.04
     12/26/2015   709   NR0010   Owner Operator   Truck Payment                  CTMS - 188440 Tractor Sublease       252.11
     12/26/2015   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL             8.75
     12/26/2015   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                          13
     12/26/2015   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD             28.11
     12/26/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
     12/26/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
     12/26/2015   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
     12/26/2015   709   RC0030   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      19.66
     12/26/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.16
     12/26/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
     12/26/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
     12/26/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.04
     12/26/2015   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
     12/26/2015   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00329119 - PO System          94.76
     12/26/2015   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   62.69
     12/26/2015   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/26/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
     12/26/2015   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     12/26/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        363.28
     12/26/2015   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.25
     12/26/2015   709   RC0089   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     -22.68
     12/26/2015   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.05
     12/26/2015   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
     12/26/2015   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
     12/26/2015   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        370.07
     12/26/2015   709   RL0017   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     -40.96
     12/26/2015   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.29
     12/26/2015   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/26/2015   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
     12/26/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/26/2015   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/26/2015   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        386.74
     12/26/2015   709   RL0062   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     143.23
     12/26/2015   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.13
     12/26/2015   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
     12/26/2015   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.46
     12/26/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                      8.75
     12/26/2015   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
     12/26/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        274.56
     12/26/2015   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.53
     12/26/2015   709   RM0026   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     130.74
     12/26/2015   709   RM0026   Owner Operator   IRP License Deduction          LCIL2015                            -455.67
     12/26/2015   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                      13.26
     12/26/2015   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
     12/26/2015   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
     12/26/2015   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
     12/26/2015   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/26/2015   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/26/2015   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/26/2015   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        199.51
     12/26/2015   709   RP0082   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      61.02
     12/26/2015   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                     10.58
     12/26/2015   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                     31.68
     12/26/2015   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.58
     12/26/2015   709   RP0082   Owner Operator   Repair Order                   CTMS - 188450 Q1202 reapir Aug       203.67
     12/26/2015   709   RP0082   Owner Operator   Truck Payment                  CTMS - 188511 Truck Lease            278.76
     12/26/2015   709   SB0009   Owner Operator   24 HOUR DISABILITY             L&H                                   11.12
     12/26/2015   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
     12/26/2015   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13

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     12/26/2015   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
     12/26/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/26/2015   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/26/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        373.55
     12/26/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        179.25
     12/26/2015   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        219.74
     12/26/2015   709   SB0009   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     145.52
     12/26/2015   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
     12/26/2015   709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00329289 - PO System          317.4
     12/26/2015   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
     12/26/2015   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     12/26/2015   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
     12/26/2015   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/26/2015   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.08
     12/26/2015   709   SN0019   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      53.85
     12/26/2015   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
     12/26/2015   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
     12/26/2015   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
     12/26/2015   709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/26/2015   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                           300
     12/26/2015   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     12/26/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.01
     12/26/2015   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        169.98
     12/26/2015   709   VB0015   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      -17.1
     12/26/2015   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
     12/26/2015   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
     12/26/2015   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
     12/26/2015   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
     12/26/2015   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
     12/26/2015   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
     12/26/2015   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                         13
     12/26/2015   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/26/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.9
     12/26/2015   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.52
     12/26/2015   709   WH0087   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                    -156.22
     12/26/2015   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.04
     12/26/2015   709   WH0087   Owner Operator   Truck Payment                  CTMS - 188439 Tractor Sublease       252.11
     12/26/2015   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
     12/26/2015   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
     12/26/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.07
     12/26/2015   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        130.69
     12/26/2015   742   BS0078   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      76.58
     12/26/2015   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.54
     12/26/2015   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
     12/26/2015   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
     12/26/2015   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                        13
     12/26/2015   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.74
     12/26/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.68
     12/26/2015   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
     12/26/2015   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                         8.75
     12/26/2015   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                         13
     12/26/2015   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/26/2015   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        182.25
     12/26/2015   742   KJ0045   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                       4.48
     12/26/2015   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                         46.86
     12/26/2015   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
     12/26/2015   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        473.26
     12/26/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
     12/26/2015   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
     12/26/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                         13
     12/26/2015   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                         13
     12/26/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/26/2015   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/26/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        124.95
     12/26/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.11
     12/26/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        223.56

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     12/26/2015   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.16
     12/26/2015   742   MH0117   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      28.36
     12/26/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                            75
     12/26/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                            75
     12/26/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
     12/26/2015   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
     12/26/2015   742   MH0117   Owner Operator   Repair Order                   CTMS - 188386 repair                  217.2
     12/26/2015   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL            8.75
     12/26/2015   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
     12/26/2015   742   NG0024   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      92.37
     12/26/2015   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/26/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           100.76
     12/26/2015   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter          2.5
     12/26/2015   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  32.62
     12/26/2015   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
     12/26/2015   858   CS0091   Owner Operator   Truck Payment                  CTMS - 188511 Tractor Rent             125
     12/26/2015   858   JR0099   Owner Operator   Truck Payment                  CTMS - 188511 Q1203                  278.76
       1/2/2016   709   AN0007   Owner Operator   Accident Claim                 Claim: Expense                        439.2
       1/2/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL           8.75
       1/2/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                        13
       1/2/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                           400
       1/2/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
       1/2/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.6
       1/2/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       1/2/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD            7.82
       1/2/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te          2.5
       1/2/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       1/2/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                         13
       1/2/2016   709   CM0119   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-26       1049.84
       1/2/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         326.6
       1/2/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
       1/2/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       1/2/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        332.06
       1/2/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       1/2/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.96
       1/2/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
       1/2/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
       1/2/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
       1/2/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
       1/2/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.16
       1/2/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        255.88
       1/2/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        228.15
       1/2/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       1/2/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
       1/2/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
       1/2/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
       1/2/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware 73130                         13
       1/2/2016   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
       1/2/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         40.84
       1/2/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                     10.58
       1/2/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - 73130                     31.68
       1/2/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       1/2/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
       1/2/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            8.75
       1/2/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            8.75
       1/2/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                         13
       1/2/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                         13
       1/2/2016   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          250
       1/2/2016   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          250
       1/2/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                             50
       1/2/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                           150
       1/2/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
       1/2/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
       1/2/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.59
       1/2/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.81
       1/2/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        231.23
       1/2/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        158.97
       1/2/2016   709   DJ0028   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                      79.33
       1/2/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       1/2/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       1/2/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD            46.86

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      1/2/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      1/2/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      1/2/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      1/2/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 188461 Q1104                 252.11
      1/2/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 188614 Q1104                 252.11
      1/2/2016    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      1/2/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
      1/2/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/2/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/2/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/2/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.94
      1/2/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       362.89
      1/2/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.27
      1/2/2016    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      1/2/2016    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      1/2/2016    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      1/2/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 188259 Sublease              338.99
      1/2/2016    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      1/2/2016    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/2/2016    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      1/2/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      1/2/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/2/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.31
      1/2/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.57
      1/2/2016    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      1/2/2016    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      1/2/2016    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      1/2/2016    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.54
      1/2/2016    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      1/2/2016    709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329291 - PO System         39.25
      1/2/2016    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      1/2/2016    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      1/2/2016    709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      1/2/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.93
      1/2/2016    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      1/2/2016    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      1/2/2016    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 25.33
      1/2/2016    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      1/2/2016    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/2/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
      1/2/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/2/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.55
      1/2/2016    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      1/2/2016    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      1/2/2016    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/2/2016    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      1/2/2016    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        125.2
      1/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        154.5
      1/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.35
      1/2/2016    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      1/2/2016    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      1/2/2016    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      1/2/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      1/2/2016    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/2/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.89
      1/2/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.6
      1/2/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.19
      1/2/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.65
      1/2/2016    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      1/2/2016    709   FS0039   Owner Operator   Truck Payment                  CTMS - 188566 truck lease 3304      434.29
      1/2/2016    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      1/2/2016    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      1/2/2016    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          375

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      1/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            30
      1/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          160
      1/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
      1/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.3
      1/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      3.75
      1/2/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.87
      1/2/2016    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      1/2/2016    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      1/2/2016    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      1/2/2016    709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00328629 - PO System        240.81
      1/2/2016    709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00328629 - PO System          35.8
      1/2/2016    709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00329312 - PO System        342.01
      1/2/2016    709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00329312 - PO System        342.01
      1/2/2016    709   FT0004   Owner Operator   Truck Payment                  CTMS - 188460 73129                 181.08
      1/2/2016    709   FT0004   Owner Operator   Truck Payment                  CTMS - 188614 73129                 181.08
      1/2/2016    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      1/2/2016    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      1/2/2016    709   FV0001   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-26         554
      1/2/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.72
      1/2/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.78
      1/2/2016    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      1/2/2016    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      1/2/2016    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      1/2/2016    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/2/2016    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      1/2/2016    709   GS0015   Owner Operator   Truck Payment                  CTMS - 188614 Lease                 252.11
      1/2/2016    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      1/2/2016    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/2/2016    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      1/2/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/2/2016    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      1/2/2016    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      1/2/2016    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      1/2/2016    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      1/2/2016    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/2/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/2/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/2/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
      1/2/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/2/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/2/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/2/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.78
      1/2/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.49
      1/2/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       436.62
      1/2/2016    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      1/2/2016    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      1/2/2016    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/2/2016    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      1/2/2016    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      1/2/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/2/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/2/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/2/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/2/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       435.81
      1/2/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        217.7
      1/2/2016    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      1/2/2016    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      1/2/2016    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/2/2016    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      1/2/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      1/2/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/2/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/2/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/2/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/2/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/2/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         444
      1/2/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.62

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      1/2/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        387.81
      1/2/2016    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      1/2/2016    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      1/2/2016    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      1/2/2016    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/2/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        177.97
      1/2/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         37.01
      1/2/2016    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      61.7
      1/2/2016    709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      1/2/2016    709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      1/2/2016    709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/2/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/2/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/2/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/2/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/2/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/2/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/2/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.92
      1/2/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        312.13
      1/2/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        269.04
      1/2/2016    709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
      1/2/2016    709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      1/2/2016    709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      1/2/2016    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      1/2/2016    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      1/2/2016    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/2/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.3
      1/2/2016    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      1/2/2016    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      1/2/2016    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      1/2/2016    709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/2/2016    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
      1/2/2016    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
      1/2/2016    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      1/2/2016    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/2/2016    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      1/2/2016    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      1/2/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/2/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/2/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/2/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      1/2/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         79.35
      1/2/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         96.44
      1/2/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.6
      1/2/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          295
      1/2/2016    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      1/2/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      1/2/2016    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      1/2/2016    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
      1/2/2016    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      1/2/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
      1/2/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      1/2/2016    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
      1/2/2016    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      1/2/2016    709   LL0160   Owner Operator   Truck Payment                  CTMS - 188567 Lease Q1111            252.11
      1/2/2016    709   LL0160   Owner Operator   Truck Payment                  CTMS - 188676 Lease Q1111            252.11
      1/2/2016    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      1/2/2016    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                        13
      1/2/2016    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      1/2/2016    709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-9        -219.51
      1/2/2016    709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-9         -16.66
      1/2/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/2/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/2/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        211.61
      1/2/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.62
      1/2/2016    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      1/2/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      1/2/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      1/2/2016    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      1/2/2016    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      1/2/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        118.86
      1/2/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        126.33
      1/2/2016    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      1/2/2016    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      1/2/2016    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-26        808.42
      1/2/2016    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/2/2016    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.03
      1/2/2016    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      1/2/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      1/2/2016    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      1/2/2016    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      1/2/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        112.39
      1/2/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.63
      1/2/2016    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      1/2/2016    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      1/2/2016    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      1/2/2016    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      1/2/2016    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      1/2/2016    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        374.84
      1/2/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
      1/2/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
      1/2/2016    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.19
      1/2/2016    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      1/2/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      1/2/2016    709   MP0035   Owner Operator   Tire Fee                       Tire Fee: 1885258                        32
      1/2/2016    709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System       -1082.82
      1/2/2016    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      1/2/2016    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         11.96
      1/2/2016    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      1/2/2016    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      1/2/2016    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      1/2/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/2/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/2/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         67.98
      1/2/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        172.86
      1/2/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         91.74
      1/2/2016    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      1/2/2016    709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      1/2/2016    709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      1/2/2016    709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/2/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        255.91
      1/2/2016    709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.07
      1/2/2016    709   NR0010   Owner Operator   Truck Payment                  CTMS - 188586 Tractor Sublease       252.11
      1/2/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      1/2/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      1/2/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      1/2/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      1/2/2016    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        101.79
      1/2/2016    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.15
      1/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.16
      1/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      1/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      1/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.04
      1/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
      1/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      1/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      1/2/2016    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00329119 - PO System          94.72
      1/2/2016    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/2/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         397.17
      1/2/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      1/2/2016    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      1/2/2016    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      1/2/2016    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      1/2/2016    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      1/2/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       383.35
      1/2/2016    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      1/2/2016    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/2/2016    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      1/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/2/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.67
      1/2/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.41
      1/2/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.92
      1/2/2016    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      1/2/2016    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      1/2/2016    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      1/2/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
      1/2/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      1/2/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.65
      1/2/2016    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
      1/2/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      1/2/2016    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      1/2/2016    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      1/2/2016    709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/2/2016    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/2/2016    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/2/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.95
      1/2/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.96
      1/2/2016    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      1/2/2016    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      1/2/2016    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      1/2/2016    709   RP0082   Owner Operator   Truck Payment                  CTMS - 188645 Truck Lease           278.76
      1/2/2016    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/2/2016    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      1/2/2016    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/2/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/2/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/2/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.85
      1/2/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.22
      1/2/2016    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      1/2/2016    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00329289 - PO System        312.47
      1/2/2016    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      1/2/2016    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      1/2/2016    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      1/2/2016    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/2/2016    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      1/2/2016    709   VB0015   Owner Operator   Truck Payment                  CTMS - 188580 Tractor Sub leas      242.03
      1/2/2016    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      1/2/2016    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      1/2/2016    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                      12.8
      1/2/2016    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      1/2/2016    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/2/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/2/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            50
      1/2/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            50
      1/2/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      1/2/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      1/2/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      1/2/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      1/2/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/2/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.23
      1/2/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.28
      1/2/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.98
      1/2/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.27

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      1/2/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.35
      1/2/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.29
      1/2/2016    709   VJ0006   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     40.26
      1/2/2016    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      1/2/2016    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      1/2/2016    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      1/2/2016    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      1/2/2016    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      1/2/2016    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      1/2/2016    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      1/2/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      1/2/2016    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      1/2/2016    709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                        13
      1/2/2016    709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/2/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.02
      1/2/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        29.96
      1/2/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.22
      1/2/2016    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
      1/2/2016    709   WH0087   Owner Operator   Truck Payment                  CTMS - 188586 Tractor Sublease      252.11
      1/2/2016    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      1/2/2016    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      1/2/2016    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      1/2/2016    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      1/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.07
      1/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.96
      1/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.11
      1/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.64
      1/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.54
      1/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        255.2
      1/2/2016    742   AP0047   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     70.15
      1/2/2016    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.25
      1/2/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      1/2/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      1/2/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      1/2/2016    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      1/2/2016    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      1/2/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.78
      1/2/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.54
      1/2/2016    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      1/2/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      1/2/2016    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      1/2/2016    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      1/2/2016    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      1/2/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      1/2/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      1/2/2016    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      1/2/2016    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      1/2/2016    742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/2/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.92
      1/2/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.71
      1/2/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.64
      1/2/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.53
      1/2/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.34
      1/2/2016    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      1/2/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      1/2/2016    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/2/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      1/2/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/2/2016    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.37
      1/2/2016    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      1/2/2016    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      1/2/2016    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      1/2/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        22.71
      1/2/2016    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      1/2/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      1/2/2016    742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/2/2016    742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/2/2016    742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/2/2016    742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/2/2016    742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.02
      1/2/2016    742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.33
      1/2/2016    742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.91
      1/2/2016    742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.05
      1/2/2016    742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.95
      1/2/2016    742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.16
      1/2/2016    742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       434.49
      1/2/2016    742   PS0080   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     74.87
      1/2/2016    742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     66.4
      1/2/2016    742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      1/2/2016    742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      1/2/2016    742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      1/2/2016    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      1/2/2016    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      1/2/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        36.21
      1/2/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.06
      1/2/2016    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      1/2/2016    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      1/2/2016    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      1/2/2016    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      1/2/2016    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
      1/2/2016    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      1/2/2016    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      1/2/2016    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      1/2/2016    771   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/2/2016    771   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/2/2016    771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      1/2/2016    771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        179.7
      1/2/2016    771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/2/2016    771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      1/2/2016    771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      1/2/2016    771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/2/2016    771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/2/2016    771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      1/2/2016    771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      1/2/2016    771   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      1/2/2016    771   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                       385.02
      1/2/2016    858   JR0099   Owner Operator   Truck Payment                  CTMS - 188645 Q1203                 278.76
      1/9/2016    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      1/9/2016    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      1/9/2016    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      1/9/2016    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      1/9/2016    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.39
      1/9/2016    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   AN0007   Owner Operator   Permits                        ID06:2016 - 21157A                      11
      1/9/2016    709   AN0007   Owner Operator   Permits                        IL02:2016 - 21157A                    3.75
      1/9/2016    709   AN0007   Owner Operator   Permits                        NM07:2016 - 21157A                     5.5
      1/9/2016    709   AN0007   Owner Operator   Permits                        NY13:2016 - 21157A                      19
      1/9/2016    709   AN0007   Owner Operator   Permits                        OR16:2016 - 21157A                       8
      1/9/2016    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      1/9/2016    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      1/9/2016    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      1/9/2016    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      1/9/2016    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      1/9/2016    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13

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      1/9/2016    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                    10.58
      1/9/2016    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                    10.58
      1/9/2016    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                    31.68
      1/9/2016    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                    31.68
      1/9/2016    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   AR0064   Owner Operator   Permits                        ID06:2016 - Q13147                       11
      1/9/2016    709   AR0064   Owner Operator   Permits                        IL02:2016 - Q13147                     3.75
      1/9/2016    709   AR0064   Owner Operator   Permits                        NM07:2016 - Q13147                      5.5
      1/9/2016    709   AR0064   Owner Operator   Permits                        NY13:2016 - Q13147                       19
      1/9/2016    709   AR0064   Owner Operator   Permits                        OR16:2016 - Q13147                        8
      1/9/2016    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD           74.22
      1/9/2016    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD           74.22
      1/9/2016    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/9/2016    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                          400
      1/9/2016    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   CM0119   Owner Operator   Permits                        ID06:2016 - 32920                        11
      1/9/2016    709   CM0119   Owner Operator   Permits                        IL02:2016 - 32920                      3.75
      1/9/2016    709   CM0119   Owner Operator   Permits                        NM07:2016 - 32920                       5.5
      1/9/2016    709   CM0119   Owner Operator   Permits                        NY13:2016 - 32920                        19
      1/9/2016    709   CM0119   Owner Operator   Permits                        OR16:2016 - 32920                         8
      1/9/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.96
      1/9/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      1/9/2016    709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00329252 - PO System         400.91
      1/9/2016    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
      1/9/2016    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      1/9/2016    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      1/9/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.1
      1/9/2016    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   CR0064   Owner Operator   Permits                        ID06:2016 - 32864                        11
      1/9/2016    709   CR0064   Owner Operator   Permits                        IL02:2016 - 32864                      3.75
      1/9/2016    709   CR0064   Owner Operator   Permits                        NM07:2016 - 32864                       5.5
      1/9/2016    709   CR0064   Owner Operator   Permits                        NY13:2016 - 32864                        19
      1/9/2016    709   CR0064   Owner Operator   Permits                        OR16:2016 - 32864                         8
      1/9/2016    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
      1/9/2016    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      1/9/2016    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
      1/9/2016    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      1/9/2016    709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/9/2016    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                     10.58
      1/9/2016    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - Q1201                     31.68
      1/9/2016    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   CS0091   Owner Operator   Permits                        ID06:2016 - Q1201                        11
      1/9/2016    709   CS0091   Owner Operator   Permits                        IL02:2016 - Q1201                      3.75
      1/9/2016    709   CS0091   Owner Operator   Permits                        NM07:2016 - Q1201                       5.5
      1/9/2016    709   CS0091   Owner Operator   Permits                        OR16:2016 - Q1201                         8
      1/9/2016    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
      1/9/2016    709   CS0091   Owner Operator   Tractor Fee                    Fee - Q1201                          371.86
      1/9/2016    709   CS0091   Owner Operator   Tractor Fee                    Truck pmt chrgd in error            -371.86
      1/9/2016    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            8.75
      1/9/2016    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                         13
      1/9/2016    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          250
      1/9/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/9/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          72.29
      1/9/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.72
      1/9/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        157.91
      1/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.6
      1/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.81
      1/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         46.31
      1/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.17
      1/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.98
      1/9/2016    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   DJ0028   Owner Operator   Permits                        ID06:2016 - Q1104                        11
      1/9/2016    709   DJ0028   Owner Operator   Permits                        IL02:2016 - Q1104                      3.75
      1/9/2016    709   DJ0028   Owner Operator   Permits                        NM07:2016 - Q1104                       5.5
      1/9/2016    709   DJ0028   Owner Operator   Permits                        NY13:2016 - Q1104                        19
      1/9/2016    709   DJ0028   Owner Operator   Permits                        OR16:2016 - Q1104                         8
      1/9/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD            46.88
      1/9/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter          2.5
      1/9/2016    709   DJ0028   Owner Operator   Tire Fee                       Tire Fee: 1887708                         4
      1/9/2016    709   DJ0028   Owner Operator   Tire Purchase                  PO: 709-00330602 - PO System          50.01
      1/9/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 188749 Q1104                  252.11

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      1/9/2016    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL            8.75
      1/9/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                      13
      1/9/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                      13
      1/9/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                      13
      1/9/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                      13
      1/9/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                        300
      1/9/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      1/9/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      81.77
      1/9/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                     347.23
      1/9/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                     421.33
      1/9/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                     467.14
      1/9/2016    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                  10.58
      1/9/2016    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                  31.68
      1/9/2016    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/9/2016    709   DL0107   Owner Operator   Permits                        ID06:2016 - Q1245                     11
      1/9/2016    709   DL0107   Owner Operator   Permits                        IL02:2016 - Q1245                   3.75
      1/9/2016    709   DL0107   Owner Operator   Permits                        NM07:2016 - Q1245                    5.5
      1/9/2016    709   DL0107   Owner Operator   Permits                        NY13:2016 - Q1245                     19
      1/9/2016    709   DL0107   Owner Operator   Permits                        OR16:2016 - Q1245                      8
      1/9/2016    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD            65.71
      1/9/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 188437 Sublease            338.99
      1/9/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 188582 Sublease            338.99
      1/9/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 188721 Sublease            338.99
      1/9/2016    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      1/9/2016    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/9/2016    709   DS0049   Owner Operator   Permits                        ID06:2016 - 32915                     11
      1/9/2016    709   DS0049   Owner Operator   Permits                        IL02:2016 - 32915                   3.75
      1/9/2016    709   DS0049   Owner Operator   Permits                        NM07:2016 - 32915                    5.5
      1/9/2016    709   DS0049   Owner Operator   Permits                        NY13:2016 - 32915                     19
      1/9/2016    709   DS0049   Owner Operator   Permits                        OR16:2016 - 32915                      8
      1/9/2016    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               92.35
      1/9/2016    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                     371.02
      1/9/2016    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                  8.75
      1/9/2016    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/9/2016    709   DS0225   Owner Operator   Permits                        CUST:2016 - 33320                   205
      1/9/2016    709   DS0225   Owner Operator   Permits                        IL02:2016 - 33320                   3.75
      1/9/2016    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                  19.54
      1/9/2016    709   DS0225   Owner Operator   Tire Fee                       Tire Fee: 1886857                      8
      1/9/2016    709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329291 - PO System       39.25
      1/9/2016    709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329967 - PO System      210.61
      1/9/2016    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                      8.75
      1/9/2016    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                      13
      1/9/2016    709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                       100
      1/9/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                     249.89
      1/9/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                     281.45
      1/9/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                     302.71
      1/9/2016    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/9/2016    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       8.25
      1/9/2016    709   DW0138   Owner Operator   Permits                        ID06:2016 - 33443                     11
      1/9/2016    709   DW0138   Owner Operator   Permits                        IL02:2016 - 33443                   3.75
      1/9/2016    709   DW0138   Owner Operator   Permits                        NM07:2016 - 33443                    5.5
      1/9/2016    709   DW0138   Owner Operator   Permits                        NY13:2016 - 33443                     19
      1/9/2016    709   DW0138   Owner Operator   Permits                        OR16:2016 - 33443                      8
      1/9/2016    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                      68.52
      1/9/2016    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                     463.27
      1/9/2016    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                3.25
      1/9/2016    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      1/9/2016    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                      13
      1/9/2016    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                      13
      1/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          60
      1/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        100
      1/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          60
      1/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        100
      1/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      1/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.6
      1/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      1/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.6
      1/9/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      175.4
      1/9/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     183.21
      1/9/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     169.15
      1/9/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     227.85
      1/9/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     169.21
      1/9/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     255.89

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      1/9/2016    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   EE0011   Owner Operator   Permits                        ID06:2016 - 32910                       11
      1/9/2016    709   EE0011   Owner Operator   Permits                        IL02:2016 - 32910                     3.75
      1/9/2016    709   EE0011   Owner Operator   Permits                        NM07:2016 - 32910                      5.5
      1/9/2016    709   EE0011   Owner Operator   Permits                        NY13:2016 - 32910                       19
      1/9/2016    709   EE0011   Owner Operator   Permits                        OR16:2016 - 32910                        8
      1/9/2016    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      1/9/2016    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      1/9/2016    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/9/2016    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                      2.96
      1/9/2016    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      1/9/2016    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      1/9/2016    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      1/9/2016    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        124.8
      1/9/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/9/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/9/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.27
      1/9/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        264.9
      1/9/2016    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   EH0020   Owner Operator   Permits                        ID06:2016 - 33065                       11
      1/9/2016    709   EH0020   Owner Operator   Permits                        IL02:2016 - 33065                     3.75
      1/9/2016    709   EH0020   Owner Operator   Permits                        NM07:2016 - 33065                      5.5
      1/9/2016    709   EH0020   Owner Operator   Permits                        NY13:2016 - 33065                       19
      1/9/2016    709   EH0020   Owner Operator   Permits                        OR16:2016 - 33065                        8
      1/9/2016    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      1/9/2016    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      1/9/2016    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      1/9/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      1/9/2016    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/9/2016    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/9/2016    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/9/2016    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/9/2016    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/9/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.54
      1/9/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.9
      1/9/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.09
      1/9/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.77
      1/9/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.83
      1/9/2016    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   FS0039   Owner Operator   Permits1                       ID06:2015 - 33040                       11
      1/9/2016    709   FS0039   Owner Operator   Permits1                       IL02:2015 - 33040                     3.75
      1/9/2016    709   FS0039   Owner Operator   Permits1                       NM07:2015 - 33040                      5.5
      1/9/2016    709   FS0039   Owner Operator   Permits1                       NY13:2014 - 33040                       19
      1/9/2016    709   FS0039   Owner Operator   Permits1                       OR16:2015 - 33040                        8
      1/9/2016    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      1/9/2016    709   FS0039   Owner Operator   Truck Payment                  CTMS - 188676 truck lease 3304      434.29
      1/9/2016    709   FS0039   Owner Operator   Truck Payment                  CTMS - 188819 truck lease 3304      434.29
      1/9/2016    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      1/9/2016    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      1/9/2016    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/9/2016    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      1/9/2016    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      1/9/2016    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   FT0004   Owner Operator   Permits                        ID06:2016 - 73129                       11
      1/9/2016    709   FT0004   Owner Operator   Permits                        IL02:2016 - 73129                     3.75
      1/9/2016    709   FT0004   Owner Operator   Permits                        NM07:2016 - 73129                      5.5
      1/9/2016    709   FT0004   Owner Operator   Permits                        OR16:2016 - 73129                        8
      1/9/2016    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      1/9/2016    709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00328629 - PO System        240.76
      1/9/2016    709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00329312 - PO System        341.97
      1/9/2016    709   FT0004   Owner Operator   Truck Payment                  CTMS - 188749 73129                 181.08
      1/9/2016    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      1/9/2016    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      1/9/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.85
      1/9/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.56
      1/9/2016    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   FV0001   Owner Operator   Permits                        ID06:2016 - 21521B                      11
      1/9/2016    709   FV0001   Owner Operator   Permits                        IL02:2016 - 21521B                    3.75
      1/9/2016    709   FV0001   Owner Operator   Permits                        NM07:2016 - 21521B                     5.5
      1/9/2016    709   FV0001   Owner Operator   Permits                        NY13:2016 - 21521B                      19
      1/9/2016    709   FV0001   Owner Operator   Permits                        OR16:2016 - 21521B                       8
      1/9/2016    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      1/9/2016    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75

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      1/9/2016    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      1/9/2016    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/9/2016    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.03
      1/9/2016    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   GS0015   Owner Operator   Permits                        ID06:2016 - Q1110                       11
      1/9/2016    709   GS0015   Owner Operator   Permits                        IL02:2016 - Q1110                     3.75
      1/9/2016    709   GS0015   Owner Operator   Permits                        NM07:2016 - Q1110                      5.5
      1/9/2016    709   GS0015   Owner Operator   Permits                        NY13:2016 - Q1110                       19
      1/9/2016    709   GS0015   Owner Operator   Permits                        OR16:2016 - Q1110                        8
      1/9/2016    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      1/9/2016    709   GS0015   Owner Operator   Truck Payment                  CTMS - 188749 Lease                 252.11
      1/9/2016    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      1/9/2016    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      1/9/2016    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      1/9/2016    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      1/9/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          300
      1/9/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/9/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.89
      1/9/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.3
      1/9/2016    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   HG0007   Owner Operator   Permits                        ID06:2016 - 33180                       11
      1/9/2016    709   HG0007   Owner Operator   Permits                        IL02:2016 - 33180                     3.75
      1/9/2016    709   HG0007   Owner Operator   Permits                        NM07:2016 - 33180                      5.5
      1/9/2016    709   HG0007   Owner Operator   Permits                        NY13:2016 - 33180                       19
      1/9/2016    709   HG0007   Owner Operator   Permits                        OR16:2016 - 33180                        8
      1/9/2016    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      1/9/2016    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      1/9/2016    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     0.82
      1/9/2016    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      1/9/2016    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/9/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.67
      1/9/2016    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   IR0002   Owner Operator   Permits                        CUST:2016 - 32901                     205
      1/9/2016    709   IR0002   Owner Operator   Permits                        ID06:2016 - 32901                       11
      1/9/2016    709   IR0002   Owner Operator   Permits                        IL02:2016 - 32901                     3.75
      1/9/2016    709   IR0002   Owner Operator   Permits                        NM07:2016 - 32901                      5.5
      1/9/2016    709   IR0002   Owner Operator   Permits                        OR16:2016 - 32901                        8
      1/9/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      1/9/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/9/2016    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      1/9/2016    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   2.83
      1/9/2016    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/9/2016    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      1/9/2016    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      1/9/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      1/9/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/9/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        219.1
      1/9/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.82
      1/9/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.53
      1/9/2016    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   JG0017   Owner Operator   Permits                        ID06:2016 - 32908                       11
      1/9/2016    709   JG0017   Owner Operator   Permits                        IL02:2016 - 32908                     3.75
      1/9/2016    709   JG0017   Owner Operator   Permits                        NM07:2016 - 32908                      5.5
      1/9/2016    709   JG0017   Owner Operator   Permits                        NY13:2016 - 32908                       19
      1/9/2016    709   JG0017   Owner Operator   Permits                        OR16:2016 - 32908                        8
      1/9/2016    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      1/9/2016    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      1/9/2016    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/9/2016    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      1/9/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            40
      1/9/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/9/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/9/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      1/9/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.45
      1/9/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.2
      1/9/2016    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   JG0072   Owner Operator   Permits                        ID06:2016 - 32909                       11
      1/9/2016    709   JG0072   Owner Operator   Permits                        IL02:2016 - 32909                     3.75
      1/9/2016    709   JG0072   Owner Operator   Permits                        NM07:2016 - 32909                      5.5
      1/9/2016    709   JG0072   Owner Operator   Permits                        NY13:2016 - 32909                       19
      1/9/2016    709   JG0072   Owner Operator   Permits                        OR16:2016 - 32909                        8
      1/9/2016    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22

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      1/9/2016    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      1/9/2016    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      1/9/2016    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/9/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/9/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/9/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.06
      1/9/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.01
      1/9/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.57
      1/9/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.69
      1/9/2016    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   JG0092   Owner Operator   Permits                        IL02:2015 - 33669                     3.75
      1/9/2016    709   JG0092   Owner Operator   Permits                        IL02:2016 - 33595                     3.75
      1/9/2016    709   JG0092   Owner Operator   Permits                        IL02:2016 - 33669                     3.75
      1/9/2016    709   JG0092   Owner Operator   Permits                        NM07:2016 - 33595                      5.5
      1/9/2016    709   JG0092   Owner Operator   Permits                        NY13:2016 - 33595                       19
      1/9/2016    709   JG0092   Owner Operator   Permits                        OR16:2016 - 33595                        8
      1/9/2016    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      1/9/2016    709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/9/2016    709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      1/9/2016    709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/9/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          150
      1/9/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/9/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      1/9/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/9/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.45
      1/9/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.07
      1/9/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.97
      1/9/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.34
      1/9/2016    709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   JK0112   Owner Operator   Permits                        ID06:2016 - 33211                       11
      1/9/2016    709   JK0112   Owner Operator   Permits                        IL02:2016 - 33211                     3.75
      1/9/2016    709   JK0112   Owner Operator   Permits                        NM07:2016 - 33211                      5.5
      1/9/2016    709   JK0112   Owner Operator   Permits                        NY13:2016 - 33211                       19
      1/9/2016    709   JK0112   Owner Operator   Permits                        OR16:2016 - 33211                        8
      1/9/2016    709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      1/9/2016    709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      1/9/2016    709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      1/9/2016    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      1/9/2016    709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 188785 JQ0015. Bonus re        250
      1/9/2016    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      1/9/2016    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/9/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.13
      1/9/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.57
      1/9/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.16
      1/9/2016    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   JQ0015   Owner Operator   Permits                        ID06:2016 - 33438                       11
      1/9/2016    709   JQ0015   Owner Operator   Permits                        IL02:2016 - 33438                     3.75
      1/9/2016    709   JQ0015   Owner Operator   Permits                        NM07:2016 - 33438                      5.5
      1/9/2016    709   JQ0015   Owner Operator   Permits                        OR16:2016 - 33438                        8
      1/9/2016    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      1/9/2016    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      1/9/2016    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      1/9/2016    709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/9/2016    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        91.89
      1/9/2016    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      1/9/2016    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      1/9/2016    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   JR0099   Owner Operator   Permits                        ID06:2016 - Q1203                       11
      1/9/2016    709   JR0099   Owner Operator   Permits                        IL02:2016 - Q1203                     3.75
      1/9/2016    709   JR0099   Owner Operator   Permits                        NM07:2016 - Q1203                      5.5
      1/9/2016    709   JR0099   Owner Operator   Permits                        OR16:2016 - Q1203                        8
      1/9/2016    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      1/9/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      1/9/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      1/9/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      1/9/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      1/9/2016    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      1/9/2016    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      1/9/2016    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      1/9/2016    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      1/9/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/9/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/9/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      1/9/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/9/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           150
      1/9/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      1/9/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/9/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/9/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/9/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/9/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.38
      1/9/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.51
      1/9/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.03
      1/9/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.14
      1/9/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.15
      1/9/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          220
      1/9/2016    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   JS0265   Owner Operator   Permits                        ID06:2016 - 33325                       11
      1/9/2016    709   JS0265   Owner Operator   Permits                        IL02:2016 - 33325                     3.75
      1/9/2016    709   JS0265   Owner Operator   Permits                        NM07:2016 - 33325                      5.5
      1/9/2016    709   JS0265   Owner Operator   Permits                        NY13:2016 - 33325                       19
      1/9/2016    709   JS0265   Owner Operator   Permits                        OR16:2016 - 33325                        8
      1/9/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      1/9/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      1/9/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      1/9/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      1/9/2016    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/9/2016    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      1/9/2016    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                    -2000
      1/9/2016    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      1/9/2016    709   KP0004   Owner Operator   Express Check                  T-Check Payment                       2000
      1/9/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/9/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/9/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.83
      1/9/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.68
      1/9/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.16
      1/9/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.51
      1/9/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          390
      1/9/2016    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   KP0004   Owner Operator   Permits                        ID06:2016 - 32914                       11
      1/9/2016    709   KP0004   Owner Operator   Permits                        IL02:2016 - 32914                     3.75
      1/9/2016    709   KP0004   Owner Operator   Permits                        NM07:2016 - 32914                      5.5
      1/9/2016    709   KP0004   Owner Operator   Permits                        NY13:2016 - 32914                       19
      1/9/2016    709   KP0004   Owner Operator   Permits                        OR16:2016 - 32914                        8
      1/9/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      1/9/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/9/2016    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      1/9/2016    709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL            8.75
      1/9/2016    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      1/9/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                         13
      1/9/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      1/9/2016    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-16       -213.6
      1/9/2016    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   LL0160   Owner Operator   Permits                        ID06:2016 - Q1111                       11
      1/9/2016    709   LL0160   Owner Operator   Permits                        IL02:2016 - Q1111                     3.75
      1/9/2016    709   LL0160   Owner Operator   Permits                        NM07:2016 - Q1111                      5.5
      1/9/2016    709   LL0160   Owner Operator   Permits                        NY13:2016 - Q1111                       19
      1/9/2016    709   LL0160   Owner Operator   Permits                        OR16:2016 - Q1111                        8
      1/9/2016    709   LL0160   Owner Operator   Permits1                       ID06:2015 - Q1111                       11
      1/9/2016    709   LL0160   Owner Operator   Permits1                       IL02:2015 - Q1111                     3.75
      1/9/2016    709   LL0160   Owner Operator   Permits1                       NM07:2015 - Q1111                      5.5
      1/9/2016    709   LL0160   Owner Operator   Permits1                       NY13:2013 - Q1111                       19
      1/9/2016    709   LL0160   Owner Operator   Permits1                       OR16:2015 - Q1111                        8
      1/9/2016    709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD               45
      1/9/2016    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      1/9/2016    709   LL0160   Owner Operator   Truck Payment                  CTMS - 188819 Lease Q1111           252.11
      1/9/2016    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      1/9/2016    709   LS0023   Owner Operator   Communication Charge           PNET 1630989                           -91
      1/9/2016    709   LS0023   Owner Operator   Communication Charge           PNet Hware 21489A                       13
      1/9/2016    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      1/9/2016    709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-2         219.51
      1/9/2016    709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-2          16.66
      1/9/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/9/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/9/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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      1/9/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/9/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.1
      1/9/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        134.37
      1/9/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.49
      1/9/2016    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2015 - 33655                        75
      1/9/2016    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   LS0023   Owner Operator   Permits                        ID06:2016 - 33655                        11
      1/9/2016    709   LS0023   Owner Operator   Permits                        IL02:2016 - 33655                      3.75
      1/9/2016    709   LS0023   Owner Operator   Permits                        NM07:2015 - 33655                       5.5
      1/9/2016    709   LS0023   Owner Operator   Permits                        NM07:2016 - 33655                       5.5
      1/9/2016    709   LS0023   Owner Operator   Permits                        NY13:2016 - 33655                        19
      1/9/2016    709   LS0023   Owner Operator   Permits                        OR16:2016 - 33655                         8
      1/9/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      1/9/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      1/9/2016    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      1/9/2016    709   MB0048   Owner Operator   Communication Charge           Broken PNET                             425
      1/9/2016    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      1/9/2016    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/9/2016    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/9/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        169.92
      1/9/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        143.06
      1/9/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        110.91
      1/9/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        154.68
      1/9/2016    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   MB0048   Owner Operator   Permits                        ID06:2016 - 21727B                       11
      1/9/2016    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      1/9/2016    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      1/9/2016    709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 188785 MG0067. Bonus re          250
      1/9/2016    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-16        -96.52
      1/9/2016    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/9/2016    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   MG0067   Owner Operator   Permits                        CUST:2016 - 33435                       205
      1/9/2016    709   MG0067   Owner Operator   Permits                        ID06:2016 - 33435                        11
      1/9/2016    709   MG0067   Owner Operator   Permits                        IL02:2016 - 33435                      3.75
      1/9/2016    709   MG0067   Owner Operator   Permits                        NM07:2016 - 33435                       5.5
      1/9/2016    709   MG0067   Owner Operator   Permits                        OR16:2016 - 33435                         8
      1/9/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      1/9/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      1/9/2016    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      1/9/2016    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      1/9/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/9/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/9/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.06
      1/9/2016    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      1/9/2016    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      1/9/2016    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      1/9/2016    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      1/9/2016    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           650
      1/9/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      1/9/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
      1/9/2016    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        344.29
      1/9/2016    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   MP0035   Owner Operator   Permits                        ID06:2016 - 32904                        11
      1/9/2016    709   MP0035   Owner Operator   Permits                        IL02:2016 - 32904                      3.75
      1/9/2016    709   MP0035   Owner Operator   Permits                        NM07:2016 - 32904                       5.5
      1/9/2016    709   MP0035   Owner Operator   Permits                        NY13:2016 - 32904                        19
      1/9/2016    709   MP0035   Owner Operator   Permits                        OR16:2016 - 32904                         8
      1/9/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      1/9/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      1/9/2016    709   MP0035   Owner Operator   Tire Fee                       Tire Fee: 1885259                        32
      1/9/2016    709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System         995.64
      1/9/2016    709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System       -1082.82
      1/9/2016    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      1/9/2016    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      1/9/2016    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                     -4500
      1/9/2016    709   NB0029   Owner Operator   Express Check                  T-Check Payment                        4500
      1/9/2016    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   NB0029   Owner Operator   Permits                        IL02:2016 - Q1108                      3.75
      1/9/2016    709   NB0029   Owner Operator   Permits                        NM07:2016 - Q1108                       5.5
      1/9/2016    709   NB0029   Owner Operator   Permits                        NY13:2016 - Q1108                      7.19
      1/9/2016    709   NB0029   Owner Operator   Permits                        OR16:2016 - Q1108                         8
      1/9/2016    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16

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      1/9/2016    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      1/9/2016    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      1/9/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             70
      1/9/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             40
      1/9/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.4
      1/9/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.7
      1/9/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.9
      1/9/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        164.93
      1/9/2016    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   NG0005   Owner Operator   Permits                        ID06:2016 - 21412B                       11
      1/9/2016    709   NG0005   Owner Operator   Permits                        IL02:2016 - 21412B                     3.75
      1/9/2016    709   NG0005   Owner Operator   Permits                        NM07:2016 - 21412B                      5.5
      1/9/2016    709   NG0005   Owner Operator   Permits                        NY13:2016 - 21412B                       19
      1/9/2016    709   NG0005   Owner Operator   Permits                        OR16:2016 - 21412B                        8
      1/9/2016    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      1/9/2016    709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      1/9/2016    709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      1/9/2016    709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.85
      1/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        215.46
      1/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.5
      1/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        186.98
      1/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        249.42
      1/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        211.53
      1/9/2016    709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   NR0010   Owner Operator   Permits                        ID06:2016 - Q1106                        11
      1/9/2016    709   NR0010   Owner Operator   Permits                        IL02:2016 - Q1106                      3.75
      1/9/2016    709   NR0010   Owner Operator   Permits                        NM07:2016 - Q1106                       5.5
      1/9/2016    709   NR0010   Owner Operator   Permits                        NY13:2016 - Q1106                        19
      1/9/2016    709   NR0010   Owner Operator   Permits                        OR16:2016 - Q1106                         8
      1/9/2016    709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.07
      1/9/2016    709   NR0010   Owner Operator   Truck Payment                  CTMS - 188726 Tractor Sublease       252.11
      1/9/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      1/9/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      1/9/2016    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.16
      1/9/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      1/9/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
      1/9/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      1/9/2016    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.7
      1/9/2016    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.7
      1/9/2016    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/9/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      1/9/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         102.83
      1/9/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      1/9/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        119.09
      1/9/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        231.21
      1/9/2016    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   RC0089   Owner Operator   Permits                        CUST:2016 - 32986                      205
      1/9/2016    709   RC0089   Owner Operator   Permits                        ID06:2016 - 32986                        11
      1/9/2016    709   RC0089   Owner Operator   Permits                        IL02:2016 - 32986                      3.75
      1/9/2016    709   RC0089   Owner Operator   Permits                        NM07:2016 - 32986                       5.5
      1/9/2016    709   RC0089   Owner Operator   Permits                        NY13:2016 - 32986                        19
      1/9/2016    709   RC0089   Owner Operator   Permits                        OR16:2016 - 32986                         8
      1/9/2016    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.07
      1/9/2016    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
      1/9/2016    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
      1/9/2016    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-16         -47.5
      1/9/2016    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-16       -381.91
      1/9/2016    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/9/2016    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/9/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.64
      1/9/2016    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/9/2016    709   RL0017   Owner Operator   Permits                        CUST:2016 - 21975A                     205
      1/9/2016    709   RL0017   Owner Operator   Permits                        ID06:2016 - 21975A                       11
      1/9/2016    709   RL0017   Owner Operator   Permits                        IL02:2016 - 21975A                     3.75
      1/9/2016    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.32
      1/9/2016    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/9/2016    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      1/9/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/9/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/9/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/9/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1

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      1/9/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      147.4
      1/9/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     365.53
      1/9/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                     195.68
      1/9/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      92.01
      1/9/2016    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/9/2016    709   RL0062   Owner Operator   Permits                        ID06:2016 - 32912                     11
      1/9/2016    709   RL0062   Owner Operator   Permits                        IL02:2016 - 32912                   3.75
      1/9/2016    709   RL0062   Owner Operator   Permits                        NM07:2016 - 32912                    5.5
      1/9/2016    709   RL0062   Owner Operator   Permits                        NY13:2016 - 32912                     19
      1/9/2016    709   RL0062   Owner Operator   Permits                        OR16:2016 - 32912                      8
      1/9/2016    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               93.15
      1/9/2016    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                     512.16
      1/9/2016    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                27.48
      1/9/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                   8.75
      1/9/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                    -35
      1/9/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                    -35
      1/9/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                   8.75
      1/9/2016    709   RM0026   Owner Operator   Communication Charge           PNET 1630989                          91
      1/9/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     252.83
      1/9/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                     284.65
      1/9/2016    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 33664                   100
      1/9/2016    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/9/2016    709   RM0026   Owner Operator   Permits                        ID06:2016 - 33664                     11
      1/9/2016    709   RM0026   Owner Operator   Permits                        IL02:2016 - 33664                   3.75
      1/9/2016    709   RM0026   Owner Operator   Permits                        NM07:2016 - 33664                    5.5
      1/9/2016    709   RM0026   Owner Operator   Permits                        NY13:2016 - 33664                     19
      1/9/2016    709   RM0026   Owner Operator   Permits                        OR16:2016 - 33664                      8
      1/9/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                  -53.13
      1/9/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                  -53.13
      1/9/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                   13.29
      1/9/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                   31.25
      1/9/2016    709   RM0026   Owner Operator   Tire Fee                       905-02200085: 33664                    4
      1/9/2016    709   RM0026   Owner Operator   Tire Purchase                  905-02200085                      225.06
      1/9/2016    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL         8.75
      1/9/2016    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                      13
      1/9/2016    709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                         50
      1/9/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                     250.79
      1/9/2016    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                  10.58
      1/9/2016    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                  31.68
      1/9/2016    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/9/2016    709   RP0082   Owner Operator   Permits                        ID06:2016 - Q1202                     11
      1/9/2016    709   RP0082   Owner Operator   Permits                        IL02:2016 - Q1202                   3.75
      1/9/2016    709   RP0082   Owner Operator   Permits                        NM07:2016 - Q1202                    5.5
      1/9/2016    709   RP0082   Owner Operator   Permits                        OR16:2016 - Q1202                      8
      1/9/2016    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD          58.6
      1/9/2016    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL               8.75
      1/9/2016    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                      13
      1/9/2016    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                       200
      1/9/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                        200
      1/9/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      1/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      203.2
      1/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                     229.62
      1/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                      311.1
      1/9/2016    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/9/2016    709   SB0009   Owner Operator   Permits                        ID06:2016 - 33236                     11
      1/9/2016    709   SB0009   Owner Operator   Permits                        IL02:2016 - 33236                   3.75
      1/9/2016    709   SB0009   Owner Operator   Permits                        NM07:2016 - 33236                    5.5
      1/9/2016    709   SB0009   Owner Operator   Permits                        NY13:2016 - 33236                     19
      1/9/2016    709   SB0009   Owner Operator   Permits                        OR16:2016 - 33236                      8
      1/9/2016    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD              100.98
      1/9/2016    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00329288 - PO System      376.61
      1/9/2016    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00329288 - PO System      376.61
      1/9/2016    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00329288 - PO System      376.61
      1/9/2016    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00329289 - PO System      376.81
      1/9/2016    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00329289 - PO System       59.41
      1/9/2016    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00329289 - PO System       64.34
      1/9/2016    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                     564.33
      1/9/2016    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL               8.75
      1/9/2016    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL               8.75
      1/9/2016    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                      13
      1/9/2016    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                      13
      1/9/2016    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                         50
      1/9/2016    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                         50

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      1/9/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.94
      1/9/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        95.82
      1/9/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.37
      1/9/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.16
      1/9/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        56.52
      1/9/2016    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   SN0019   Owner Operator   Permits                        ID06:2016 - 33461                        11
      1/9/2016    709   SN0019   Owner Operator   Permits                        IL02:2016 - 33461                     3.75
      1/9/2016    709   SN0019   Owner Operator   Permits                        NM07:2016 - 33461                       5.5
      1/9/2016    709   SN0019   Owner Operator   Permits                        OR16:2016 - 33461                         8
      1/9/2016    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      1/9/2016    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      1/9/2016    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      1/9/2016    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      1/9/2016    709   VB0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/9/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.17
      1/9/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       362.01
      1/9/2016    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   VB0015   Owner Operator   Permits                        CUST:2016 - Q1112                      205
      1/9/2016    709   VB0015   Owner Operator   Permits                        ID06:2016 - Q1112                        11
      1/9/2016    709   VB0015   Owner Operator   Permits                        IL02:2016 - Q1112                     3.75
      1/9/2016    709   VB0015   Owner Operator   Permits                        NM07:2016 - Q1112                       5.5
      1/9/2016    709   VB0015   Owner Operator   Permits                        NY13:2016 - Q1112                        19
      1/9/2016    709   VB0015   Owner Operator   Permits                        OR16:2016 - Q1112                         8
      1/9/2016    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      1/9/2016    709   VB0015   Owner Operator   Truck Payment                  CTMS - 188719 Tractor Sub leas      242.03
      1/9/2016    709   VB0015   Owner Operator   Truck Payment                  CTMS - 188862 Tractor Sub leas      242.03
      1/9/2016    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      1/9/2016    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        0.2
      1/9/2016    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
      1/9/2016    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      1/9/2016    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      1/9/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/9/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           120
      1/9/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             50
      1/9/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
      1/9/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.2
      1/9/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/9/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        95.29
      1/9/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.03
      1/9/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.37
      1/9/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.51
      1/9/2016    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   VJ0006   Owner Operator   Permits                        ID06:2016 - 32945                        11
      1/9/2016    709   VJ0006   Owner Operator   Permits                        IL02:2016 - 32945                     3.75
      1/9/2016    709   VJ0006   Owner Operator   Permits                        NM07:2016 - 32945                       5.5
      1/9/2016    709   VJ0006   Owner Operator   Permits                        NY13:2016 - 32945                        19
      1/9/2016    709   VJ0006   Owner Operator   Permits                        OR16:2016 - 32945                         8
      1/9/2016    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      1/9/2016    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      1/9/2016    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      1/9/2016    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      1/9/2016    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      1/9/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      1/9/2016    709   WH0073   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     10.08
      1/9/2016    709   WH0073   Owner Operator   Permits1                       CUST:2015 - Q1235                     -205
      1/9/2016    709   WH0073   Owner Operator   Permits1                       ID06:2015 - Q1235                       -11
      1/9/2016    709   WH0073   Owner Operator   Permits1                       IL02:2015 - Q1235                    -3.75
      1/9/2016    709   WH0073   Owner Operator   Permits1                       NM07:2015 - Q1235                      -5.5
      1/9/2016    709   WH0073   Owner Operator   Permits1                       OR16:2015 - Q1235                        -8
      1/9/2016    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      1/9/2016    709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                         13
      1/9/2016    709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/9/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        37.34
      1/9/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.31
      1/9/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.36
      1/9/2016    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    709   WH0087   Owner Operator   Permits                        ID06:2016 - Q1113                        11
      1/9/2016    709   WH0087   Owner Operator   Permits                        IL02:2016 - Q1113                     3.75
      1/9/2016    709   WH0087   Owner Operator   Permits                        NM07:2016 - Q1113                       5.5
      1/9/2016    709   WH0087   Owner Operator   Permits                        NY13:2016 - Q1113                        19

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      1/9/2016    709   WH0087   Owner Operator   Permits                        OR16:2016 - Q1113                        8
      1/9/2016    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
      1/9/2016    709   WH0087   Owner Operator   Truck Payment                  CTMS - 188726 Tractor Sublease      252.11
      1/9/2016    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      1/9/2016    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      1/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/9/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        64.18
      1/9/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.41
      1/9/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.07
      1/9/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.05
      1/9/2016    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    742   AP0047   Owner Operator   Permits                        ID06:2016 - 32604                       11
      1/9/2016    742   AP0047   Owner Operator   Permits                        IL02:2016 - 32604                     3.75
      1/9/2016    742   AP0047   Owner Operator   Permits                        NM07:2016 - 32604                      5.5
      1/9/2016    742   AP0047   Owner Operator   Permits                        NY13:2016 - 32604                       19
      1/9/2016    742   AP0047   Owner Operator   Permits                        OR16:2016 - 32604                        8
      1/9/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      1/9/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      1/9/2016    742   BS0030   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     28.91
      1/9/2016    742   BS0030   Owner Operator   Permits1                       ID06:2015 - 32947                      -11
      1/9/2016    742   BS0030   Owner Operator   Permits1                       IL02:2015 - 32947                    -3.75
      1/9/2016    742   BS0030   Owner Operator   Permits1                       NM07:2015 - 32947                     -5.5
      1/9/2016    742   BS0030   Owner Operator   Permits1                       NY13:2013 - 32947                      -19
      1/9/2016    742   BS0030   Owner Operator   Permits1                       OR16:2015 - 32947                       -8
      1/9/2016    742   BS0030   Owner Operator   Repair Order                   CTMS - 186794 Repair                 19.68
      1/9/2016    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      1/9/2016    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      1/9/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.41
      1/9/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.98
      1/9/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.53
      1/9/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.43
      1/9/2016    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    742   BS0078   Owner Operator   Permits                        ID06:2016 - 33471                       11
      1/9/2016    742   BS0078   Owner Operator   Permits                        IL02:2016 - 33471                     3.75
      1/9/2016    742   BS0078   Owner Operator   Permits                        NM07:2016 - 33471                      5.5
      1/9/2016    742   BS0078   Owner Operator   Permits                        NY13:2016 - 33471                       19
      1/9/2016    742   BS0078   Owner Operator   Permits                        OR16:2016 - 33471                        8
      1/9/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      1/9/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      1/9/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism            1.05
      1/9/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.59
      1/9/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.81
      1/9/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        50.92
      1/9/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.55
      1/9/2016    742   EN0016   Owner Operator   Permits                        ID06:2016 - 32947                       11
      1/9/2016    742   EN0016   Owner Operator   Permits                        IL02:2016 - 32947                     3.75
      1/9/2016    742   EN0016   Owner Operator   Permits                        NM07:2016 - 32947                      5.5
      1/9/2016    742   EN0016   Owner Operator   Permits                        NY13:2016 - 32947                       19
      1/9/2016    742   EN0016   Owner Operator   Permits                        OR16:2016 - 32947                        8
      1/9/2016    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      1/9/2016    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      1/9/2016    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      1/9/2016    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      1/9/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      1/9/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      1/9/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism               0.11
      1/9/2016    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/9/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/9/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/9/2016    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.28
      1/9/2016    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    742   LL0134   Owner Operator   Permits                        ID06:2016 - 33195                       11
      1/9/2016    742   LL0134   Owner Operator   Permits                        IL02:2016 - 33195                     3.75
      1/9/2016    742   LL0134   Owner Operator   Permits                        NM07:2016 - 33195                      5.5
      1/9/2016    742   LL0134   Owner Operator   Permits                        NY13:2016 - 33195                       19
      1/9/2016    742   LL0134   Owner Operator   Permits                        OR16:2016 - 33195                        8
      1/9/2016    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      1/9/2016    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       393.53

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      1/9/2016    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      1/9/2016    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      1/9/2016    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      1/9/2016    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/9/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.28
      1/9/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.64
      1/9/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.86
      1/9/2016    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    742   MH0117   Owner Operator   Permits                        ID06:2016 - 33296                       11
      1/9/2016    742   MH0117   Owner Operator   Permits                        IL02:2016 - 33296                     3.75
      1/9/2016    742   MH0117   Owner Operator   Permits                        NM07:2016 - 33296                      5.5
      1/9/2016    742   MH0117   Owner Operator   Permits                        NY13:2016 - 33296                       19
      1/9/2016    742   MH0117   Owner Operator   Permits                        OR16:2016 - 33296                        8
      1/9/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      1/9/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      1/9/2016    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           10.33
      1/9/2016    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      1/9/2016    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/9/2016    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/9/2016    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/9/2016    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      1/9/2016    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      1/9/2016    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      1/9/2016    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/9/2016    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/9/2016    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/9/2016    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/9/2016    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/9/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.03
      1/9/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.98
      1/9/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.99
      1/9/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.53
      1/9/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.69
      1/9/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.59
      1/9/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.48
      1/9/2016    742   PC0012   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                    193.75
      1/9/2016    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      1/9/2016    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      1/9/2016    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      1/9/2016    742   PC0012   Owner Operator   Permits                        ID06:2016 - 32969                       11
      1/9/2016    742   PC0012   Owner Operator   Permits                        IL02:2016 - 32969                     3.75
      1/9/2016    742   PC0012   Owner Operator   Permits                        NM07:2016 - 32969                      5.5
      1/9/2016    742   PC0012   Owner Operator   Permits                        NY13:2016 - 32969                       19
      1/9/2016    742   PC0012   Owner Operator   Permits                        OR16:2016 - 32969                        8
      1/9/2016    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      1/9/2016    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 71.73
      1/9/2016    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      1/9/2016    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      1/9/2016    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      1/9/2016    742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/9/2016    742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/9/2016    742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/9/2016    742   PS0080   Owner Operator   Permits                        ID06:2016 - 33584                       11
      1/9/2016    742   PS0080   Owner Operator   Permits                        IL02:2016 - 33584                     3.75
      1/9/2016    742   PS0080   Owner Operator   Permits                        NM07:2016 - 33584                      5.5
      1/9/2016    742   PS0080   Owner Operator   Permits                        NY13:2016 - 33584                       19
      1/9/2016    742   PS0080   Owner Operator   Permits                        OR16:2016 - 33584                        8
      1/9/2016    742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      1/9/2016    742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      1/9/2016    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      1/9/2016    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      1/9/2016    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      1/9/2016    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      1/9/2016    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/9/2016    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/9/2016    742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/9/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.16
      1/9/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        58.38
      1/9/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.98
      1/9/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.24
      1/9/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.06
      1/9/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.49
      1/9/2016    742   RN0054   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                    132.03

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       1/9/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                    10.58
       1/9/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                    31.68
       1/9/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       1/9/2016   742   RN0054   Owner Operator   Permits                        ID06:2016 - Q13157                       11
       1/9/2016   742   RN0054   Owner Operator   Permits                        IL02:2016 - Q13157                     3.75
       1/9/2016   742   RN0054   Owner Operator   Permits                        NM07:2016 - Q13157                      5.5
       1/9/2016   742   RN0054   Owner Operator   Permits                        NY13:2016 - Q13157                       19
       1/9/2016   742   RN0054   Owner Operator   Permits                        OR16:2016 - Q13157                        8
       1/9/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.26
       1/9/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
       1/9/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 188439 Tractor Lease          353.28
       1/9/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 188585 Tractor Lease          353.28
       1/9/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 188725 Tractor Lease          353.28
       1/9/2016   771   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       1/9/2016   771   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       1/9/2016   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL               8.75
       1/9/2016   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       1/9/2016   771   EN0016   Owner Operator   Permits                        IL02:2016 - 32674                      3.75
       1/9/2016   771   EN0016   Owner Operator   Permits                        NM07:2016 - 32674                       5.5
       1/9/2016   771   EN0016   Owner Operator   Permits                        OR16:2016 - 32674                         8
       1/9/2016   771   EN0016   Owner Operator   Permits1                       ID06:2015 - 32947                        11
       1/9/2016   771   EN0016   Owner Operator   Permits1                       IL02:2015 - 32947                      3.75
       1/9/2016   771   EN0016   Owner Operator   Permits1                       NM07:2015 - 32947                       5.5
       1/9/2016   771   EN0016   Owner Operator   Permits1                       NY13:2013 - 32947                        19
       1/9/2016   771   EN0016   Owner Operator   Permits1                       OR16:2015 - 32947                         8
       1/9/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  12.79
       1/9/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
       1/9/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
       1/9/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
       1/9/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
       1/9/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
       1/9/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD               24.61
       1/9/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror          2.5
       1/9/2016   771   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         34.38
       1/9/2016   858   JR0099   Owner Operator   Truck Payment                  CTMS - 188783 Q1203                  278.76
       1/9/2016   858   RP0082   Owner Operator   Truck Payment                  CTMS - 188784 Truck Lease            278.76
      1/16/2016   709   AN0007   Owner Operator   Accident Claim                 Accident Claim s/u on payments       -924.4
      1/16/2016   709   AN0007   Owner Operator   Accident Claim                 Claim setup on payments                150
      1/16/2016   709   AN0007   Owner Operator   Accident Claim                 Claim: Prop Damage                    924.4
      1/16/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL           8.75
      1/16/2016   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                  12.5
      1/16/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                        13
      1/16/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                           400
      1/16/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
      1/16/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        218.94
      1/16/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD            7.82
      1/16/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te          2.5
      1/16/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/16/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         79.99
      1/16/2016   709   CM0119   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  152.27
      1/16/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.96
      1/16/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      1/16/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
      1/16/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      1/16/2016   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                   12.5
      1/16/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      1/16/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-23       -238.76
      1/16/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        100.98
      1/16/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        106.45
      1/16/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
      1/16/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      1/16/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
      1/16/2016   709   CS0091   Owner Operator   Broker Pre Pass                73130 PrePass Device                   12.5
      1/16/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      1/16/2016   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/16/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                     10.58
      1/16/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - Q1201                     31.68
      1/16/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
      1/16/2016   709   CS0091   Owner Operator   Repair Order                   CTMS - 188928 Repair                   175

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      1/16/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      1/16/2016   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                        167.1
      1/16/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/16/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/16/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.62
      1/16/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.96
      1/16/2016   709   DJ0028   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                 427.11
      1/16/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      1/16/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      1/16/2016   709   DJ0028   Owner Operator   Repair Order                   CTMS - 189001 Repair                -35.48
      1/16/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      1/16/2016   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5
      1/16/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      1/16/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         481
      1/16/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      1/16/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      1/16/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      1/16/2016   709   DL0107   Owner Operator   Repair Order                   CTMS - 188998 repair                 157.2
      1/16/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 188895 Sublease              338.99
      1/16/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      1/16/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      1/16/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/16/2016   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                  12.5
      1/16/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      1/16/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      1/16/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      1/16/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      1/16/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/16/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/16/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.62
      1/16/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.39
      1/16/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.56
      1/16/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      1/16/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      1/16/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       141.33
      1/16/2016   709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      1/16/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      1/16/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.04
      1/16/2016   709   DS0225   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  69.63
      1/16/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      1/16/2016   709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329291 - PO System          39.2
      1/16/2016   709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329967 - PO System        210.61
      1/16/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      1/16/2016   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  12.5
      1/16/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      1/16/2016   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      1/16/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.51
      1/16/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.68
      1/16/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.84
      1/16/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.67
      1/16/2016   709   DW0138   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                 133.99
      1/16/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         8.25
      1/16/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      1/16/2016   709   DW0138   Owner Operator   Repair Order                   CTMS - 188928 Repair                257.31
      1/16/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      1/16/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/16/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/16/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/16/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/16/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/16/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/16/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/16/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.38
      1/16/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.03
      1/16/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.31
      1/16/2016   709   EA0003   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  58.06
      1/16/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      1/16/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   EA0003   Owner Operator   Permits                        ID06:2016 - 33051                        11
      1/16/2016   709   EA0003   Owner Operator   Permits                        IL02:2016 - 33051                      3.75
      1/16/2016   709   EA0003   Owner Operator   Permits                        NM07:2016 - 33051                       5.5
      1/16/2016   709   EA0003   Owner Operator   Permits                        NY13:2016 - 33051                        19
      1/16/2016   709   EA0003   Owner Operator   Permits                        OR16:2016 - 33051                         8
      1/16/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 102.22
      1/16/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  80.14
      1/16/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      1/16/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      1/16/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      1/16/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/16/2016   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                   12.5
      1/16/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
      1/16/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/16/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      1/16/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        320.85
      1/16/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         61.19
      1/16/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.68
      1/16/2016   709   EE0011   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                   92.23
      1/16/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.92
      1/16/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
      1/16/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/16/2016   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                   12.5
      1/16/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
      1/16/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      1/16/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/16/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/16/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.29
      1/16/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        117.14
      1/16/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.62
      1/16/2016   709   EH0020   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                    85.9
      1/16/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.01
      1/16/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                        532.24
      1/16/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
      1/16/2016   709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                   12.5
      1/16/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
      1/16/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/16/2016   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/16/2016   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/16/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.77
      1/16/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.84
      1/16/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.66
      1/16/2016   709   FS0039   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                    2.48
      1/16/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.88
      1/16/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 189015 truck lease 3304       434.29
      1/16/2016   709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-23       -791.45
      1/16/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      1/16/2016   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                  12.5
      1/16/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      1/16/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.24
      1/16/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          82.8
      1/16/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
      1/16/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
      1/16/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
      1/16/2016   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/16/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        205.01
      1/16/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
      1/16/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 188936 Lease                  252.11
      1/16/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      1/16/2016   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                   12.5
      1/16/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      1/16/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/16/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      1/16/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.96
      1/16/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.11
      1/16/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        423.36
      1/16/2016   709   HG0007   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                   -0.49

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      1/16/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      1/16/2016   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-23       -18.13
      1/16/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      1/16/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/16/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.55
      1/16/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         16.6
      1/16/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.86
      1/16/2016   709   IR0002   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  83.41
      1/16/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      1/16/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/16/2016   709   IR0002   Owner Operator   Repair Order                   CTMS - 188928 Parts                  68.53
      1/16/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      1/16/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      1/16/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      1/16/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      1/16/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      1/16/2016   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      1/16/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      1/16/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      1/16/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
      1/16/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
      1/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/16/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.07
      1/16/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.78
      1/16/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.46
      1/16/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       402.05
      1/16/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       503.15
      1/16/2016   709   JC0292   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                 244.89
      1/16/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   JC0292   Owner Operator   Permits                        ID06:2016 - Q1210                       11
      1/16/2016   709   JC0292   Owner Operator   Permits                        IL02:2016 - Q1210                     3.75
      1/16/2016   709   JC0292   Owner Operator   Permits                        NM07:2016 - Q1210                      5.5
      1/16/2016   709   JC0292   Owner Operator   Permits                        NY13:2016 - Q1210                       19
      1/16/2016   709   JC0292   Owner Operator   Permits                        OR16:2016 - Q1210                        8
      1/16/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   75.3
      1/16/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      1/16/2016   709   JC0292   Owner Operator   Repair Order                   CTMS - 188929 Repair                132.46
      1/16/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      1/16/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      1/16/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/16/2016   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      1/16/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      1/16/2016   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -2500
      1/16/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      1/16/2016   709   JG0017   Owner Operator   Express Check                  T-Check Payment                       2500
      1/16/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/16/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/16/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.13
      1/16/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.95
      1/16/2016   709   JG0017   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                   9.57
      1/16/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      1/16/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      1/16/2016   709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      1/16/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/16/2016   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
      1/16/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      1/16/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/16/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/16/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/16/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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      1/16/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/16/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/16/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.61
      1/16/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.92
      1/16/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.25
      1/16/2016   709   JG0072   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                 190.11
      1/16/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      1/16/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      1/16/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      1/16/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/16/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.74
      1/16/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.63
      1/16/2016   709   JG0092   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  -0.47
      1/16/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      1/16/2016   709   JG0092   Owner Operator   Repair Order                   CTMS - 188928 Repair                    70
      1/16/2016   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/16/2016   709   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
      1/16/2016   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      1/16/2016   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/16/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/16/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/16/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/16/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/16/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.1
      1/16/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.55
      1/16/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.99
      1/16/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.41
      1/16/2016   709   JK0112   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                 383.82
      1/16/2016   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      1/16/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      1/16/2016   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      1/16/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      1/16/2016   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
      1/16/2016   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 188975 JQ0015. Bonus re        250
      1/16/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      1/16/2016   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/16/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.59
      1/16/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.36
      1/16/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.64
      1/16/2016   709   JQ0015   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  -1.42
      1/16/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      1/16/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      1/16/2016   709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
      1/16/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      1/16/2016   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/16/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        205.2
      1/16/2016   709   JR0099   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  97.68
      1/16/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      1/16/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      1/16/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      1/16/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      1/16/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      1/16/2016   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
      1/16/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      1/16/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      1/16/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/16/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/16/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.63
      1/16/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         267
      1/16/2016   709   JS0265   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  -0.51
      1/16/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      1/16/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      1/16/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/16/2016   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      1/16/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      1/16/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      1/16/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100

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      1/16/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/16/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.07
      1/16/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         56.77
      1/16/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        123.41
      1/16/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        271.81
      1/16/2016   709   KP0004   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  113.55
      1/16/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      1/16/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      1/16/2016   709   KP0004   Owner Operator   Repair Order                   CTMS - 188928 Repair                     60
      1/16/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      1/16/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
      1/16/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL              -35
      1/16/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      1/16/2016   709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                   12.5
      1/16/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
      1/16/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      1/16/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-9           213.6
      1/16/2016   709   LL0160   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                   98.11
      1/16/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD              -180
      1/16/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
      1/16/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      1/16/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 189015 Lease Q1111            252.11
      1/16/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      1/16/2016   709   LS0023   Owner Operator   Broker Pre Pass                21489A PrePass Device                  12.5
      1/16/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      1/16/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/16/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/16/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.7
      1/16/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        429.04
      1/16/2016   709   LS0023   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                   28.92
      1/16/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      1/16/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      1/16/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      1/16/2016   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                  12.5
      1/16/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      1/16/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                            140
      1/16/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.4
      1/16/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.4
      1/16/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        112.71
      1/16/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      1/16/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      1/16/2016   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 188975 MG0067. Bonus re          250
      1/16/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-9           96.52
      1/16/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-23       -101.78
      1/16/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-23       -101.78
      1/16/2016   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/16/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        223.02
      1/16/2016   709   MG0067   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                   -7.75
      1/16/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      1/16/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      1/16/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      1/16/2016   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                   12.5
      1/16/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      1/16/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        100.09
      1/16/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.01
      1/16/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      1/16/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      1/16/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      1/16/2016   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                   12.5
      1/16/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      1/16/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           650
      1/16/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      1/16/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
      1/16/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        427.09
      1/16/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      1/16/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5

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      1/16/2016   709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System         995.64
      1/16/2016   709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System       -1082.82
      1/16/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      1/16/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      1/16/2016   709   NB0029   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                   14.61
      1/16/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      1/16/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      1/16/2016   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                  12.5
      1/16/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      1/16/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             60
      1/16/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             60
      1/16/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.6
      1/16/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.6
      1/16/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        139.02
      1/16/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.05
      1/16/2016   709   NG0005   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                    1.47
      1/16/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      1/16/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      1/16/2016   709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                   12.5
      1/16/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      1/16/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/16/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/16/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/16/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        180.18
      1/16/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.93
      1/16/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        161.62
      1/16/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        114.68
      1/16/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.07
      1/16/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 188900 Tractor Sublease       252.11
      1/16/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      1/16/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      1/16/2016   709   RC0030   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  -28.81
      1/16/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.16
      1/16/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      1/16/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
      1/16/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      1/16/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.7
      1/16/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/16/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      1/16/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      1/16/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.24
      1/16/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        373.33
      1/16/2016   709   RC0089   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                   -14.9
      1/16/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.07
      1/16/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
      1/16/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
      1/16/2016   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                  12.5
      1/16/2016   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-9            47.5
      1/16/2016   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-9          381.91
      1/16/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        351.42
      1/16/2016   709   RL0017   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                   92.67
      1/16/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.32
      1/16/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/16/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      1/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/16/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.44
      1/16/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.62
      1/16/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.69
      1/16/2016   709   RL0062   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                   203.3
      1/16/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
      1/16/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16

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      1/16/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      1/16/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
      1/16/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      1/16/2016   709   RM0026   Owner Operator   Broker Pre Pass                30811A PrePass Device                 12.5
      1/16/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      1/16/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.44
      1/16/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.7
      1/16/2016   709   RM0026   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                 106.64
      1/16/2016   709   RM0026   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  26.66
      1/16/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 33664                      100
      1/16/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.29
      1/16/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      1/16/2016   709   RM0026   Owner Operator   Tire Purchase                  905-02200085                        225.06
      1/16/2016   709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      1/16/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      1/16/2016   709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                  12.5
      1/16/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      1/16/2016   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/16/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.27
      1/16/2016   709   RP0082   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  24.13
      1/16/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      1/16/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      1/16/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      1/16/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 188974 Truck Lease           278.76
      1/16/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/16/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.49
      1/16/2016   709   SB0009   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                 113.08
      1/16/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      1/16/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      1/16/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      1/16/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      1/16/2016   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/16/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/16/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/16/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        243.9
      1/16/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.36
      1/16/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.43
      1/16/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       108.38
      1/16/2016   709   SN0019   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  45.57
      1/16/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      1/16/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      1/16/2016   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                  12.5
      1/16/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      1/16/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          335
      1/16/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.01
      1/16/2016   709   VB0015   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  -5.71
      1/16/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      1/16/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 189057 Tractor Sub leas      242.03
      1/16/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      1/16/2016   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
      1/16/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      1/16/2016   709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                     -500
      1/16/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      1/16/2016   709   VJ0006   Owner Operator   Express Check                  T-Check Payment                        500
      1/16/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           120
      1/16/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
      1/16/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.33
      1/16/2016   709   VJ0006   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                 227.12
      1/16/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      1/16/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      1/16/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      1/16/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      1/16/2016   709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-23       -51.48
      1/16/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      1/16/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      1/16/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75

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      1/16/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                        13
      1/16/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/16/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.56
      1/16/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.62
      1/16/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.41
      1/16/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.93
      1/16/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
      1/16/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 188900 Tractor Sublease      252.11
      1/16/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      1/16/2016   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      1/16/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      1/16/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/16/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/16/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.52
      1/16/2016   742   AP0047   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  33.13
      1/16/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      1/16/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      1/16/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      1/16/2016   742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                  12.5
      1/16/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      1/16/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.97
      1/16/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       460.28
      1/16/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.02
      1/16/2016   742   BS0078   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  77.02
      1/16/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      1/16/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      1/16/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      1/16/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      1/16/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      1/16/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      1/16/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      1/16/2016   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      1/16/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      1/16/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      1/16/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      1/16/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      1/16/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      1/16/2016   742   ED0041   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-19           97
      1/16/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.26
      1/16/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.04
      1/16/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.73
      1/16/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.11
      1/16/2016   742   ED0041   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  76.53
      1/16/2016   742   ED0041   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     68.83
      1/16/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   ED0041   Owner Operator   Permits                        ID06:2016 - 32897                       11
      1/16/2016   742   ED0041   Owner Operator   Permits                        IL02:2016 - 32897                     3.75
      1/16/2016   742   ED0041   Owner Operator   Permits                        NM07:2016 - 32897                      5.5
      1/16/2016   742   ED0041   Owner Operator   Permits                        NY13:2016 - 32897                       19
      1/16/2016   742   ED0041   Owner Operator   Permits                        OR16:2016 - 32897                        8
      1/16/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      1/16/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      1/16/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      1/16/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
      1/16/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      1/16/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      1/16/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      1/16/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      1/16/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism            1.45
      1/16/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      1/16/2016   742   EN0016   Owner Operator   Broker Pre Pass                32674 PrePass Device                  12.5
      1/16/2016   742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                  12.5
      1/16/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      1/16/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      1/16/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      1/16/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13

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      1/16/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      1/16/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      1/16/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       444.47
      1/16/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         95.4
      1/16/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.61
      1/16/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      1/16/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      1/16/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      1/16/2016   742   FS0011   Owner Operator   Miscellaneous                  Void Cehck 959909                   -88.32
      1/16/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      1/16/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      1/16/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      1/16/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      1/16/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      1/16/2016   742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                  12.5
      1/16/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      1/16/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      1/16/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/16/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/16/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.56
      1/16/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.55
      1/16/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.24
      1/16/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.06
      1/16/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.66
      1/16/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.04
      1/16/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       121.41
      1/16/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.14
      1/16/2016   742   KJ0045   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  62.21
      1/16/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   KJ0045   Owner Operator   Permits                        ID06:2016 - 33634                       11
      1/16/2016   742   KJ0045   Owner Operator   Permits                        IL02:2016 - 33634                     3.75
      1/16/2016   742   KJ0045   Owner Operator   Permits                        NM07:2016 - 33634                      5.5
      1/16/2016   742   KJ0045   Owner Operator   Permits                        OR16:2016 - 33634                        8
      1/16/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      1/16/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      1/16/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      1/16/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism               2.39
      1/16/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/16/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/16/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/16/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.77
      1/16/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      1/16/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      1/16/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      1/16/2016   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      1/16/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      1/16/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.5
      1/16/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        99.95
      1/16/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       101.45
      1/16/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        223.9
      1/16/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.91
      1/16/2016   742   MH0117   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  37.96
      1/16/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      1/16/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      1/16/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      1/16/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      1/16/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      1/16/2016   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      1/16/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      1/16/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      1/16/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      1/16/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/16/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/16/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/16/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/16/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/16/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/16/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       539.16
      1/16/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.23
      1/16/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.48

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      1/16/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.82
      1/16/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.76
      1/16/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.51
      1/16/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.08
      1/16/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.45
      1/16/2016   742   NG0024   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                   36.6
      1/16/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   NG0024   Owner Operator   Permits                        ID06:2016 - 33252                       11
      1/16/2016   742   NG0024   Owner Operator   Permits                        IL02:2016 - 33252                     3.75
      1/16/2016   742   NG0024   Owner Operator   Permits                        NM07:2016 - 33252                      5.5
      1/16/2016   742   NG0024   Owner Operator   Permits                        NY13:2016 - 33252                       19
      1/16/2016   742   NG0024   Owner Operator   Permits                        OR16:2016 - 33252                        8
      1/16/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      1/16/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           90.46
      1/16/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      1/16/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      1/16/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      1/16/2016   742   NG0024   Owner Operator   Repair Order                   CTMS - 188768 repair                    60
      1/16/2016   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/16/2016   742   PS0080   Owner Operator   Broker Pre Pass                33584 PrePass Device                  12.5
      1/16/2016   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/16/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.75
      1/16/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.88
      1/16/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.41
      1/16/2016   742   PS0080   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                 203.01
      1/16/2016   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      1/16/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      1/16/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      1/16/2016   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
      1/16/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      1/16/2016   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/16/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.5
      1/16/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.75
      1/16/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.51
      1/16/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.26
      1/16/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.28
      1/16/2016   742   RN0054   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                   36.7
      1/16/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      1/16/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      1/16/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      1/16/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      1/16/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 188899 Tractor Lease         353.28
      1/16/2016   771   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/16/2016   771   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/16/2016   771   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/16/2016   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      1/16/2016   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      1/16/2016   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      1/16/2016   771   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      1/16/2016   771   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.87
      1/16/2016   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/16/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  58.1
      1/16/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      1/16/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      1/16/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/16/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/16/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      1/16/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      1/16/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      1/16/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      1/16/2016   771   EN0016   Owner Operator   Repair Order                   TRACTOR 32674                        18.04
      1/16/2016   858   JR0099   Owner Operator   Truck Payment                  CTMS - 188974 Q1203                 278.76
      1/23/2016   709   AN0007   Owner Operator   Accident Claim                 Claim setup on payments               150
      1/23/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      1/23/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      1/23/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      1/23/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      1/23/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.65

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      1/23/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
      1/23/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      1/23/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/23/2016   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      1/23/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      1/23/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      1/23/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      1/23/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         73.4
      1/23/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                       320.01
      1/23/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         400
      1/23/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.21
      1/23/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.41
      1/23/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
      1/23/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/23/2016   709   CM0119   Owner Operator   Tire Fee                       Tire Fee: 1886902                       32
      1/23/2016   709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00329252 - PO System        309.89
      1/23/2016   709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00329252 - PO System         710.8
      1/23/2016   709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00329252 - PO System         710.8
      1/23/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      1/23/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      1/23/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      1/23/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-16        238.76
      1/23/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.22
      1/23/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.81
      1/23/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.76
      1/23/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.91
      1/23/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
      1/23/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      1/23/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      1/23/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      1/23/2016   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.18
      1/23/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      1/23/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - Q1201                    31.68
      1/23/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.07
      1/23/2016   709   CS0091   Owner Operator   Repair Order                   CTMS - 189086 Repair                  175
      1/23/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      1/23/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      1/23/2016   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
      1/23/2016   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/23/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.44
      1/23/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       455.35
      1/23/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      1/23/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      1/23/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.69
      1/23/2016   709   DL0107   Owner Operator   Repair Order                   CTMS - 189083 repair                    60
      1/23/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 189095 Sublease              338.99
      1/23/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
      1/23/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/23/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      1/23/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      1/23/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/23/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.18
      1/23/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
      1/23/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      1/23/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      1/23/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.01
      1/23/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.51
      1/23/2016   709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329967 - PO System        210.61
      1/23/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      1/23/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      1/23/2016   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      1/23/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        228.1
      1/23/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.81
      1/23/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.96
      1/23/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      1/23/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       8.25
      1/23/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                      68.49
      1/23/2016   709   DW0138   Owner Operator   Repair Order                   CTMS - 189087 Repair              257.31
      1/23/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                     463.27
      1/23/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      1/23/2016   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                12.5
      1/23/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                      13
      1/23/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                      13
      1/23/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                      13
      1/23/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                      13
      1/23/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                       250
      1/23/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                       250
      1/23/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                       250
      1/23/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                        200
      1/23/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                        200
      1/23/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      1/23/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      1/23/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     126.57
      1/23/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     394.01
      1/23/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      280.1
      1/23/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/23/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              105.47
      1/23/2016   709   EA0003   Owner Operator   Repair Order                   CTMS - 188928 Repair              518.12
      1/23/2016   709   EA0003   Owner Operator   Repair Order                   CTMS - 189087 Repair              518.12
      1/23/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                     555.56
      1/23/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      1/23/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                      13
      1/23/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        200
      1/23/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        100
      1/23/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      1/23/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      1/23/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     166.72
      1/23/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      31.81
      1/23/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     309.39
      1/23/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     140.54
      1/23/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     238.42
      1/23/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                     277.64
      1/23/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/23/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.91
      1/23/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                     505.27
      1/23/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      1/23/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                      152.04
      1/23/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      1/23/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      35.69
      1/23/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                     202.27
      1/23/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/23/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93
      1/23/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                     532.24
      1/23/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL         8.75
      1/23/2016   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                        100
      1/23/2016   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      1/23/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                     119.14
      1/23/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/23/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD         76.86
      1/23/2016   709   FS0039   Owner Operator   Toll Charges                   33040 ILTOLL 43 010816               4.5
      1/23/2016   709   FS0039   Owner Operator   Toll Charges                   33040 ILTOLL 45 010716               4.5
      1/23/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL         8.75
      1/23/2016   709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-16      731.26
      1/23/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                        300
      1/23/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                        100
      1/23/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      1/23/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      1/23/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      166.4
      1/23/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      24.08
      1/23/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     198.57
      1/23/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     151.91
      1/23/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                  10.58
      1/23/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                  31.68
      1/23/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/23/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD         29.51
      1/23/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL               8.75
      1/23/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                     13
      1/23/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                     205.73

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      1/23/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.01
      1/23/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      1/23/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      1/23/2016   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
      1/23/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 189127 Lease                 252.11
      1/23/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      1/23/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      1/23/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.51
      1/23/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.55
      1/23/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
      1/23/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/23/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/23/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/23/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/23/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/23/2016   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      1/23/2016   709   HG0027   Owner Operator   Charge back by affiliate       CTMS - 188785 HG0027 - Bonus r        500
      1/23/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      1/23/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      1/23/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      1/23/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      1/23/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      1/23/2016   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-16         18.13
      1/23/2016   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.73
      1/23/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.82
      1/23/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.24
      1/23/2016   709   HG0027   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                     60
      1/23/2016   709   HG0027   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     48.84
      1/23/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   HG0027   Owner Operator   Permits                        ID06:2016 - 33418                       11
      1/23/2016   709   HG0027   Owner Operator   Permits                        IL02:2016 - 33418                     3.75
      1/23/2016   709   HG0027   Owner Operator   Permits                        NM07:2016 - 33418                      5.5
      1/23/2016   709   HG0027   Owner Operator   Permits                        NY13:2016 - 33418                       19
      1/23/2016   709   HG0027   Owner Operator   Permits                        OR16:2016 - 33418                        8
      1/23/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      1/23/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      1/23/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    53.87
      1/23/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      1/23/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      1/23/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      1/23/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/23/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      1/23/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/23/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      1/23/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      1/23/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      1/23/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      1/23/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/23/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/23/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/23/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/23/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/23/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/23/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/23/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.71
      1/23/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.69
      1/23/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.81
      1/23/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11

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      1/23/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 1 010416                  7.5
      1/23/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 43 123115                 4.2
      1/23/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 45 123115                 4.2
      1/23/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 5 010416                   12
      1/23/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 73 010416                   6
      1/23/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 9 010416                    6
      1/23/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      1/23/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/23/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      1/23/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      1/23/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      1/23/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/23/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        233.7
      1/23/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      1/23/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      1/23/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/23/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      1/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/23/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.35
      1/23/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        369.5
      1/23/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.26
      1/23/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      1/23/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      1/23/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      1/23/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/23/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/23/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.04
      1/23/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.91
      1/23/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      1/23/2016   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/23/2016   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      1/23/2016   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/23/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/23/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/23/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/23/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.49
      1/23/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.38
      1/23/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.08
      1/23/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        94.26
      1/23/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.02
      1/23/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.14
      1/23/2016   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
      1/23/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      1/23/2016   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      1/23/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      1/23/2016   709   JQ0015   Owner Operator   Charge back by affiliate       CTMS - 189163 JQ0015. Bonus re        250
      1/23/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      1/23/2016   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.12
      1/23/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.07
      1/23/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.33
      1/23/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
      1/23/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      1/23/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      1/23/2016   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      1/23/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      1/23/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
      1/23/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      1/23/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75

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      1/23/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      1/23/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      1/23/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           150
      1/23/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
      1/23/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.21
      1/23/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/23/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.93
      1/23/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      1/23/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/23/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/23/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/23/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.34
      1/23/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        181.83
      1/23/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.29
      1/23/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            79
      1/23/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        113.19
      1/23/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/23/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      1/23/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      1/23/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      1/23/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   9590 1995 Freightliner NTL             8.75
      1/23/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      1/23/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware 9590                          13
      1/23/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      1/23/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/23/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                9590 1995 Freightliner PD                45
      1/23/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.04
      1/23/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 189199 Lease Q1111            252.11
      1/23/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      1/23/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      1/23/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        214.32
      1/23/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/23/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.51
      1/23/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      1/23/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      1/23/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      1/23/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        289.66
      1/23/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/23/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.29
      1/23/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      1/23/2016   709   MG0067   Owner Operator   Charge back by affiliate       CTMS - 189163 MG0067. Bonus re         250
      1/23/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-16         101.78
      1/23/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-16         101.78
      1/23/2016   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/23/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.03
      1/23/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/23/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
      1/23/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      1/23/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      1/23/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      1/23/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        175.74
      1/23/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        127.61
      1/23/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/23/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.11
      1/23/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      1/23/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      1/23/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      1/23/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      1/23/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/23/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.86
      1/23/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      1/23/2016   709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System         995.64
      1/23/2016   709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System       -1082.82
      1/23/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      1/23/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      1/23/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      1/23/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      1/23/2016   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                   12.5
      1/23/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      1/23/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      1/23/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      1/23/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      1/23/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13

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      1/23/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
      1/23/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         750
      1/23/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
      1/23/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
      1/23/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                       577.66
      1/23/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         750
      1/23/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         172
      1/23/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.72
      1/23/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.61
      1/23/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.86
      1/23/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       106.15
      1/23/2016   709   NB0029   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  37.57
      1/23/2016   709   NB0029   Owner Operator   FUEL TAX                       Oct15 Fuel Taxes                     38.87
      1/23/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        35.54
      1/23/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   NB0029   Owner Operator   Permits                        ID06:2016 - Q1108                       11
      1/23/2016   709   NB0029   Owner Operator   Permits                        NY13:2016 - Q1108                    11.81
      1/23/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      1/23/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.15
      1/23/2016   709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00329311 - PO System         22.89
      1/23/2016   709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00329311 - PO System         22.89
      1/23/2016   709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00329311 - PO System         22.82
      1/23/2016   709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      1/23/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      1/23/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      1/23/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          260
      1/23/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.6
      1/23/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.94
      1/23/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         215
      1/23/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.97
      1/23/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      1/23/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      1/23/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.63
      1/23/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.35
      1/23/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.15
      1/23/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      1/23/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.04
      1/23/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      1/23/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 189111 Down Payment lo       303.55
      1/23/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  51.69
      1/23/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/23/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      1/23/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/23/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.12
      1/23/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.55
      1/23/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.05
      1/23/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      1/23/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      1/23/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.12
      1/23/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.29
      1/23/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/23/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      1/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/23/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.4
      1/23/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.34
      1/23/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.44
      1/23/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.13
      1/23/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      1/23/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.46
      1/23/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   1995 Kenworth NTL                     8.75
      1/23/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      1/23/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13

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      1/23/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.78
      1/23/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.16
      1/23/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 33664                      100
      1/23/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                1995 Kenworth PD                     13.26
      1/23/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      1/23/2016   709   RM0026   Owner Operator   Tire Purchase                  905-02200085                        225.06
      1/23/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      1/23/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      1/23/2016   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.61
      1/23/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      1/23/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      1/23/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
      1/23/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 189162 Truck Lease           278.76
      1/23/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      1/23/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      1/23/2016   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.89
      1/23/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        57.58
      1/23/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.25
      1/23/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      1/23/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      1/23/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      1/23/2016   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-30          -93
      1/23/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.03
      1/23/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      1/23/2016   709   VB0015   Owner Operator   Tire Fee                       Tire Fee: 1889809                        8
      1/23/2016   709   VB0015   Owner Operator   Tire Purchase                  PO: 709-00330052 - PO System        165.29
      1/23/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 189240 Tractor Sub leas      242.03
      1/23/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      1/23/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      1/23/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      1/23/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           140
      1/23/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4
      1/23/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.96
      1/23/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.29
      1/23/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.71
      1/23/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      1/23/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      1/23/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      1/23/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      1/23/2016   709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-16         51.48
      1/23/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      1/23/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      1/23/2016   709   WH0073   Owner Operator   ESCROW                         Final Balance Refund                 -3000
      1/23/2016   709   WH0073   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                  69.61
      1/23/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      1/23/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                        13
      1/23/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                           500
      1/23/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/23/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.35
      1/23/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.96
      1/23/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.23
      1/23/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.04
      1/23/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 189100 Tractor Sublease      252.11
      1/23/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      1/23/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      1/23/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/23/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/23/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/23/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/23/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.17
      1/23/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.75
      1/23/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.25

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      1/23/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      1/23/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      1/23/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      1/23/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.32
      1/23/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.97
      1/23/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.54
      1/23/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      1/23/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      1/23/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      1/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.41
      1/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.79
      1/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.32
      1/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.85
      1/23/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
      1/23/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      1/23/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32674                        13
      1/23/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      1/23/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       115.68
      1/23/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        109.5
      1/23/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.98
      1/23/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.01
      1/23/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.47
      1/23/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      1/23/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      1/23/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      1/23/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      1/23/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
      1/23/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      1/23/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      1/23/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      1/23/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.58
      1/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.37
      1/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.37
      1/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.78
      1/23/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.86
      1/23/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      1/23/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/23/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          94.3
      1/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/23/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.32
      1/23/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.39
      1/23/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.92
      1/23/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.51
      1/23/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.34
      1/23/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      1/23/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      1/23/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        81.23
      1/23/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       160.96
      1/23/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       336.22
      1/23/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      1/23/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      1/23/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      1/23/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.76
      1/23/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.19
      1/23/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        194.9
      1/23/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.93
      1/23/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.19
      1/23/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.18
      1/23/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75

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      1/23/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      1/23/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      1/23/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      1/23/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/23/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/23/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.16
      1/23/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       485.21
      1/23/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
      1/23/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      1/23/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/23/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/23/2016   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
      1/23/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      1/23/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      1/23/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/23/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/23/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/23/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/23/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/23/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/23/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/23/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/23/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/23/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/23/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.86
      1/23/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.82
      1/23/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.25
      1/23/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.57
      1/23/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.8
      1/23/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.94
      1/23/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.04
      1/23/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.38
      1/23/2016   742   PC0012   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                 168.47
      1/23/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      1/23/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      1/23/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
      1/23/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      1/23/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      1/23/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      1/23/2016   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/23/2016   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.96
      1/23/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.06
      1/23/2016   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     66.4
      1/23/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      1/23/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      1/23/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      1/23/2016   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/23/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.11
      1/23/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.72
      1/23/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       174.51
      1/23/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      1/23/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      1/23/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
      1/23/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      1/23/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 189099 Tractor Lease         353.28
      1/23/2016   771   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/23/2016   771   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      1/23/2016   771   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/23/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      1/23/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/23/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      1/23/2016   771   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      1/23/2016   858   JR0099   Owner Operator   Truck Payment                  CTMS - 189161 Q1203                 278.76
      1/30/2016   709   AN0007   Owner Operator   Accident Claim                 Claim setup on payments               150
      1/30/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      1/30/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      1/30/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      1/30/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.83
      1/30/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13

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      1/30/2016   709   CM0119   Owner Operator   ESCROW                         Escrow Withdrawal                     -8000
      1/30/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.37
      1/30/2016   709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00329252 - PO System          710.8
      1/30/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
      1/30/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      1/30/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.6
      1/30/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.87
      1/30/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        218.29
      1/30/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.9
      1/30/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      1/30/2016   709   CR0064   Owner Operator   Truck Payment                  CTMS - 189268 Tractor rental O          180
      1/30/2016   709   CR0064   Owner Operator   Truck Payment                  CTMS - 189416 Tractor rental O          180
      1/30/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      1/30/2016   709   CS0091   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-6            -31
      1/30/2016   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/30/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.1
      1/30/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                     10.58
      1/30/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - Q1201                     31.68
      1/30/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 189346 Q1201                  278.76
      1/30/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 189346 Q1201 make up          278.76
      1/30/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            8.75
      1/30/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                         13
      1/30/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                         13
      1/30/2016   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/30/2016   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         23.22
      1/30/2016   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/30/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/30/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/30/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/30/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/30/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        122.56
      1/30/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        106.75
      1/30/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        110.68
      1/30/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        102.14
      1/30/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        219.37
      1/30/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        123.46
      1/30/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        100.46
      1/30/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/30/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD            46.86
      1/30/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter          2.5
      1/30/2016   709   DJ0028   Owner Operator   Repair Order                   CTMS - 188929 Repair                1044.85
      1/30/2016   709   DJ0028   Owner Operator   Repair Order                   CTMS - 189086 Repair                1044.85
      1/30/2016   709   DJ0028   Owner Operator   Tire Purchase                  PO: 709-00330602 - PO System          50.01
      1/30/2016   709   DJ0028   Owner Operator   Tire Purchase                  PO: 709-00330602 - PO System          50.01
      1/30/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 188936 Q1104                  252.11
      1/30/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      1/30/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        348.18
      1/30/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                     10.58
      1/30/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                     31.68
      1/30/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 189276 Sublease               338.99
      1/30/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      1/30/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/30/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      1/30/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        334.02
      1/30/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      1/30/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        334.09
      1/30/2016   709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329967 - PO System         210.61
      1/30/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      1/30/2016   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/30/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.21
      1/30/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        268.51
      1/30/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.8
      1/30/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          8.24
      1/30/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      1/30/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      1/30/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/30/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/30/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/30/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        369.67
      1/30/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      1/30/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
      1/30/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/30/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3

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      1/30/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        331.22
      1/30/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         33.31
      1/30/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.64
      1/30/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
      1/30/2016   709   EE0011   Owner Operator   Truck Payment                  CTMS - 189269 Rental and repai       271.69
      1/30/2016   709   EE0011   Owner Operator   Truck Payment                  CTMS - 189416 Rental and repai       271.69
      1/30/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
      1/30/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
      1/30/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      1/30/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      1/30/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/30/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          47.96
      1/30/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/30/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/30/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/30/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/30/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/30/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/30/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/30/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        160.17
      1/30/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.79
      1/30/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.63
      1/30/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.07
      1/30/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        243.74
      1/30/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.64
      1/30/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                        532.24
      1/30/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 189386 truck lease 3304       434.29
      1/30/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
      1/30/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
      1/30/2016   709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-16          60.19
      1/30/2016   709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-6        -127.88
      1/30/2016   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           7.8
      1/30/2016   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/30/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             10
      1/30/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             10
      1/30/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/30/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             40
      1/30/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           425
      1/30/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       4.25
      1/30/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.4
      1/30/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/30/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.1
      1/30/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.1
      1/30/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        139.08
      1/30/2016   709   FT0004   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                   15.85
      1/30/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                     10.58
      1/30/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                     10.58
      1/30/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                     31.68
      1/30/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                     31.68
      1/30/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/30/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.52
      1/30/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 188936 73129                  181.08
      1/30/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 189127 73129                  181.08
      1/30/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      1/30/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        205.71
      1/30/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
      1/30/2016   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/30/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        206.93
      1/30/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 189318 Lease                  252.11
      1/30/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      1/30/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/30/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      1/30/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        379.37
      1/30/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        376.77
      1/30/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                         111.39
      1/30/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/30/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           21.2
      1/30/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.21
      1/30/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        140.98
      1/30/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        276.24
      1/30/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.54
      1/30/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
      1/30/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13

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      1/30/2016   709   JC0292   Owner Operator   ESCROW                     Weekly Escrow                         200
      1/30/2016   709   JC0292   Owner Operator   Fuel Card Advances         Cash Advance                          200
      1/30/2016   709   JC0292   Owner Operator   Fuel Card Advances         Cash Advance                          300
      1/30/2016   709   JC0292   Owner Operator   Fuel Card Advances         Cash Advance Fee                         3
      1/30/2016   709   JC0292   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      1/30/2016   709   JC0292   Owner Operator   Fuel Purchase              Fuel Purchase                       468.99
      1/30/2016   709   JC0292   Owner Operator   Fuel Purchase              Fuel Purchase                        217.3
      1/30/2016   709   JC0292   Owner Operator   Tractor Charge             51362 - Q1210                       458.72
      1/30/2016   709   JG0017   Owner Operator   Communication Charge       PNet Hware 32908                        13
      1/30/2016   709   JG0017   Owner Operator   ESCROW                     Weekly Escrow                         500
      1/30/2016   709   JG0017   Owner Operator   Fuel Card Advances         Cash Advance                          300
      1/30/2016   709   JG0017   Owner Operator   Fuel Card Advances         Cash Advance Fee                         3
      1/30/2016   709   JG0017   Owner Operator   Fuel Purchase              Fuel Purchase                       225.46
      1/30/2016   709   JG0017   Owner Operator   Tractor Charge             14298 - 32908                        504.6
      1/30/2016   709   JG0072   Owner Operator   Communication Charge       PNet Hware 32909                        13
      1/30/2016   709   JG0072   Owner Operator   Fuel Card Advances         Cash Advance                          100
      1/30/2016   709   JG0072   Owner Operator   Fuel Card Advances         Cash Advance                          200
      1/30/2016   709   JG0072   Owner Operator   Fuel Card Advances         Cash Advance                          200
      1/30/2016   709   JG0072   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      1/30/2016   709   JG0072   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      1/30/2016   709   JG0072   Owner Operator   Fuel Card Advances         Cash Advance Fee                         1
      1/30/2016   709   JG0072   Owner Operator   Fuel Purchase              Fuel Purchase                       327.74
      1/30/2016   709   JG0072   Owner Operator   Fuel Purchase              Fuel Purchase                       352.69
      1/30/2016   709   JG0072   Owner Operator   Fuel Purchase              Fuel Purchase                       364.92
      1/30/2016   709   JG0072   Owner Operator   Tractor Charge             14534 - 32909                       513.26
      1/30/2016   709   JG0092   Owner Operator   ESCROW                     Weekly Escrow                           50
      1/30/2016   709   JG0092   Owner Operator   Fuel Purchase              Fuel Purchase                       189.01
      1/30/2016   709   JK0112   Owner Operator   Communication Charge       PNet Hware 33211                        13
      1/30/2016   709   JK0112   Owner Operator   ESCROW                     Weekly Escrow                           50
      1/30/2016   709   JK0112   Owner Operator   Fuel Card Advances         Cash Advance                          200
      1/30/2016   709   JK0112   Owner Operator   Fuel Card Advances         Cash Advance                          100
      1/30/2016   709   JK0112   Owner Operator   Fuel Card Advances         Cash Advance Fee                         1
      1/30/2016   709   JK0112   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      1/30/2016   709   JK0112   Owner Operator   Fuel Purchase              Fuel Purchase                       176.44
      1/30/2016   709   JK0112   Owner Operator   Fuel Purchase              Fuel Purchase                       292.88
      1/30/2016   709   JK0112   Owner Operator   Fuel Purchase              Fuel Purchase                       255.89
      1/30/2016   709   JK0112   Owner Operator   Fuel Purchase              Fuel Purchase                         229
      1/30/2016   709   JK0112   Owner Operator   Tractor Charge             52901 - 33211                        635.4
      1/30/2016   709   JQ0015   Owner Operator   Charge back by affiliate   CTMS - 189355 JQ0015. Bonus re        250
      1/30/2016   709   JQ0015   Owner Operator   Communication Charge       PNet Hware 33438                        13
      1/30/2016   709   JQ0015   Owner Operator   ESCROW                     Weekly Escrow                           50
      1/30/2016   709   JQ0015   Owner Operator   Fuel Purchase              Fuel Purchase                       148.12
      1/30/2016   709   JQ0015   Owner Operator   Fuel Purchase              Fuel Purchase                        157.6
      1/30/2016   709   JR0099   Owner Operator   Communication Charge       PNet Hware Q1203                        13
      1/30/2016   709   JR0099   Owner Operator   ESCROW                     Weekly Escrow                           50
      1/30/2016   709   JR0099   Owner Operator   Fuel Purchase              Fuel Purchase                       218.67
      1/30/2016   709   JR0099   Owner Operator   Fuel Purchase              Fuel Purchase                        211.8
      1/30/2016   709   JR0099   Owner Operator   Highway Use Tax            HUTC:2016 - Q1203                    10.58
      1/30/2016   709   JR0099   Owner Operator   IRP License Deduction      LCIL:2015 - Q1203                    31.68
      1/30/2016   709   JR0099   Owner Operator   Repair Order               CTMS - 189267 Repair                101.65
      1/30/2016   709   JS0265   Owner Operator   Communication Charge       PNet Hware 33325                        13
      1/30/2016   709   JS0265   Owner Operator   ESCROW                     Weekly Escrow                         100
      1/30/2016   709   JS0265   Owner Operator   Fuel Card Advances         Cash Advance                          200
      1/30/2016   709   JS0265   Owner Operator   Fuel Card Advances         Cash Advance                          200
      1/30/2016   709   JS0265   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      1/30/2016   709   JS0265   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      1/30/2016   709   JS0265   Owner Operator   Fuel Purchase              Fuel Purchase                       190.85
      1/30/2016   709   JS0265   Owner Operator   Fuel Purchase              Fuel Purchase                         244
      1/30/2016   709   JS0265   Owner Operator   Fuel Purchase              Fuel Purchase                       289.88
      1/30/2016   709   KP0004   Owner Operator   Communication Charge       PNet Hware 32914                        13
      1/30/2016   709   KP0004   Owner Operator   Communication Charge       PNet Hware 32914                        13
      1/30/2016   709   KP0004   Owner Operator   ESCROW                     Weekly Escrow                         250
      1/30/2016   709   KP0004   Owner Operator   ESCROW                     Weekly Escrow                         250
      1/30/2016   709   KP0004   Owner Operator   Fuel Card Advances         Cash Advance                          100
      1/30/2016   709   KP0004   Owner Operator   Fuel Card Advances         Cash Advance                          100
      1/30/2016   709   KP0004   Owner Operator   Fuel Card Advances         Cash Advance Fee                         1
      1/30/2016   709   KP0004   Owner Operator   Fuel Card Advances         Cash Advance Fee                         1
      1/30/2016   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                       317.86
      1/30/2016   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                        33.44
      1/30/2016   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                       172.57
      1/30/2016   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                       177.88
      1/30/2016   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                       167.77
      1/30/2016   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                       141.59

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      1/30/2016   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                         71.26
      1/30/2016   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                         152.5
      1/30/2016   709   KP0004   Owner Operator   Tractor Charge             14457 - 32914                        519.59
      1/30/2016   709   LL0160   Owner Operator   Communication Charge       PNet Hware 9590                          13
      1/30/2016   709   LL0160   Owner Operator   Communication Charge       PNet Hware Q1111                          8
      1/30/2016   709   LL0160   Owner Operator   Truck Payment              CTMS - 189386 Lease Q1111            252.11
      1/30/2016   709   LS0023   Owner Operator   Communication Charge       PNet Hware 33655                         13
      1/30/2016   709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance                            200
      1/30/2016   709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance                            200
      1/30/2016   709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance                          29.07
      1/30/2016   709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance Fee                       0.29
      1/30/2016   709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance Fee                          2
      1/30/2016   709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance Fee                          2
      1/30/2016   709   LS0023   Owner Operator   Fuel Purchase              Fuel Purchase                        136.78
      1/30/2016   709   LS0023   Owner Operator   Fuel Purchase              Fuel Purchase                        272.15
      1/30/2016   709   LS0023   Owner Operator   Fuel Purchase              Fuel Purchase                        303.43
      1/30/2016   709   MB0048   Owner Operator   Communication Charge       PNet Hware 21727b                        13
      1/30/2016   709   MB0048   Owner Operator   Fuel Purchase              Fuel Purchase                         104.1
      1/30/2016   709   MB0048   Owner Operator   Fuel Purchase              Fuel Purchase                        147.76
      1/30/2016   709   MG0067   Owner Operator   Charge back by affiliate   CTMS - 189354 MG0067. Bonus re          250
      1/30/2016   709   MG0067   Owner Operator   Charge back by affiliate   CTMS - 189375 Over payment bon         -820
      1/30/2016   709   MG0067   Owner Operator   ESCROW                     Weekly Escrow                            50
      1/30/2016   709   MM0093   Owner Operator   Communication Charge       PNet Hware 32931                         13
      1/30/2016   709   MM0093   Owner Operator   Fuel Card Advances         Cash Advance                            100
      1/30/2016   709   MM0093   Owner Operator   Fuel Card Advances         Cash Advance                            100
      1/30/2016   709   MM0093   Owner Operator   Fuel Card Advances         Cash Advance Fee                          1
      1/30/2016   709   MM0093   Owner Operator   Fuel Card Advances         Cash Advance Fee                          1
      1/30/2016   709   MM0093   Owner Operator   Fuel Purchase              Fuel Purchase                         56.16
      1/30/2016   709   MM0093   Owner Operator   Fuel Purchase              Fuel Purchase                        227.45
      1/30/2016   709   MM0093   Owner Operator   Fuel Purchase              Fuel Purchase                        158.97
      1/30/2016   709   MM0093   Owner Operator   Tractor Charge             16434 - 32931                        337.19
      1/30/2016   709   MP0035   Owner Operator   Communication Charge       PNet Hware 32904                         13
      1/30/2016   709   MP0035   Owner Operator   ESCROW                     Weekly Escrow                           650
      1/30/2016   709   MP0035   Owner Operator   Fuel Card Advances         Cash Advance                            280
      1/30/2016   709   MP0035   Owner Operator   Fuel Card Advances         Cash Advance Fee                        2.8
      1/30/2016   709   MP0035   Owner Operator   Fuel Purchase              Fuel Purchase                        516.68
      1/30/2016   709   MP0035   Owner Operator   Tire Purchase              PO: 709-00327116 - PO System         995.64
      1/30/2016   709   MP0035   Owner Operator   Tire Purchase              PO: 709-00327116 - PO System       -1082.82
      1/30/2016   709   MP0035   Owner Operator   Tractor Charge             15571 - 32904                        323.05
      1/30/2016   709   NB0029   Owner Operator   Communication Charge       PNet Hware Q1108                         13
      1/30/2016   709   NB0029   Owner Operator   Communication Charge       PNet Hware Q1108                         13
      1/30/2016   709   NB0029   Owner Operator   ESCROW                     Escrow Withdrawal                     -3000
      1/30/2016   709   NB0029   Owner Operator   ESCROW                     Weekly Escrow                           500
      1/30/2016   709   NB0029   Owner Operator   ESCROW                     Weekly Escrow                        172.34
      1/30/2016   709   NB0029   Owner Operator   Express Check              T-Check Payment                        3000
      1/30/2016   709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                        150.23
      1/30/2016   709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                         165.3
      1/30/2016   709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                        259.45
      1/30/2016   709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                        284.31
      1/30/2016   709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                        114.13
      1/30/2016   709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                        162.58
      1/30/2016   709   NB0029   Owner Operator   Repair Order               CTMS - 188928 Parts                  300.92
      1/30/2016   709   NB0029   Owner Operator   Tire Purchase              PO: 709-00329311 - PO System          22.89
      1/30/2016   709   NB0029   Owner Operator   Truck Payment              CTMS - 188409 Lease                  215.66
      1/30/2016   709   NB0029   Owner Operator   Truck Payment              CTMS - 188579 Lease                  215.66
      1/30/2016   709   NB0029   Owner Operator   Truck Payment              CTMS - 188718 Lease                  215.66
      1/30/2016   709   NB0029   Owner Operator   Truck Payment              CTMS - 188861 Lease                  215.66
      1/30/2016   709   NB0029   Owner Operator   Truck Payment              CTMS - 189056 Lease                  215.66
      1/30/2016   709   NB0029   Owner Operator   Truck Payment              CTMS - 189239 Lease                  215.66
      1/30/2016   709   NB0029   Owner Operator   Truck Payment              CTMS - 189268 Tractor rental N          220
      1/30/2016   709   NB0029   Owner Operator   Truck Payment              CTMS - 189416 Tractor rental N          220
      1/30/2016   709   NB0029   Owner Operator   Truck Payment              CTMS - 189422 Lease                  215.66
      1/30/2016   709   NG0005   Owner Operator   Communication Charge       PNet Hware 21412B                        13
      1/30/2016   709   NG0005   Owner Operator   Fuel Card Advances         Cash Advance                            200
      1/30/2016   709   NG0005   Owner Operator   Fuel Card Advances         Cash Advance Fee                          2
      1/30/2016   709   NG0005   Owner Operator   Fuel Purchase              Fuel Purchase                        145.13
      1/30/2016   709   NG0005   Owner Operator   Fuel Purchase              Fuel Purchase                           141
      1/30/2016   709   NR0010   Owner Operator   BOBTAIL INS.               Q1106 2011 Freightliner NTL            8.75
      1/30/2016   709   NR0010   Owner Operator   Communication Charge       PNet Hware Q1106                         13
      1/30/2016   709   NR0010   Owner Operator   Communication Charge       PNet Hware Q1106                         13
      1/30/2016   709   NR0010   Owner Operator   ESCROW                     Weekly Escrow                            50
      1/30/2016   709   NR0010   Owner Operator   ESCROW                     Weekly Escrow                            50
      1/30/2016   709   NR0010   Owner Operator   Fuel Card Advances         Cash Advance                            200

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      1/30/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/30/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.27
      1/30/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.14
      1/30/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.83
      1/30/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.65
      1/30/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.32
      1/30/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.33
      1/30/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.81
      1/30/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.06
      1/30/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/30/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.04
      1/30/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 189100 Tractor Sublease      252.11
      1/30/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 189282 Tractor Sublease      252.11
      1/30/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 189281 Down Payment lo       303.55
      1/30/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      1/30/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/30/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.07
      1/30/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.29
      1/30/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      1/30/2016   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/30/2016   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/30/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.66
      1/30/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.77
      1/30/2016   709   RL0017   Owner Operator   Tire Fee                       Tire Fee: 1892432                       16
      1/30/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System        463.11
      1/30/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      1/30/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/30/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/30/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/30/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/30/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.27
      1/30/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.92
      1/30/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.17
      1/30/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      1/30/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      1/30/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.93
      1/30/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.46
      1/30/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 33664                     100
      1/30/2016   709   RM0026   Owner Operator   Tire Purchase                  905-02200085                        225.06
      1/30/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      1/30/2016   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/30/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.34
      1/30/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.92
      1/30/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      1/30/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      1/30/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 189353 Truck Lease           278.76
      1/30/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.58
      1/30/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.61
      1/30/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.71
      1/30/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      1/30/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2015 - Q1248                    31.68
      1/30/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/30/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      1/30/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      1/30/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/30/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/30/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/30/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/30/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/30/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/30/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/30/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.76
      1/30/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.95
      1/30/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.06
      1/30/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        27.22
      1/30/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        69.13
      1/30/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.21
      1/30/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.69
      1/30/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/30/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      1/30/2016   709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00329288 - PO System        265.19
      1/30/2016   709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00329289 - PO System        376.75
      1/30/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33

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      1/30/2016   709   SB0009   Owner Operator   Tractor Charge          19100 - 33236                       564.33
      1/30/2016   709   SN0019   Owner Operator   Communication Charge    PNet Hware 33461                        13
      1/30/2016   709   SN0019   Owner Operator   ESCROW                  Weekly Escrow                           50
      1/30/2016   709   SN0019   Owner Operator   Fuel Card Advances      Cash Advance                           200
      1/30/2016   709   SN0019   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      1/30/2016   709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                       225.97
      1/30/2016   709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                       100.35
      1/30/2016   709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                       236.54
      1/30/2016   709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                        96.63
      1/30/2016   709   VB0015   Owner Operator   Communication Charge    PNet Hware Q1112                         8
      1/30/2016   709   VB0015   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 1-23            93
      1/30/2016   709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                          160
      1/30/2016   709   VB0015   Owner Operator   Tire Purchase           PO: 709-00330052 - PO System        165.29
      1/30/2016   709   VB0015   Owner Operator   Truck Payment           CTMS - 189423 Tractor Sub leas      242.03
      1/30/2016   709   VJ0006   Owner Operator   Communication Charge    PNet Hware 32945                        13
      1/30/2016   709   VJ0006   Owner Operator   ESCROW                  Weekly Escrow                          200
      1/30/2016   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                           200
      1/30/2016   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      1/30/2016   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                       284.97
      1/30/2016   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                       200.26
      1/30/2016   709   VJ0006   Owner Operator   Tractor Charge          16453 - 32945                        375.9
      1/30/2016   709   WB0062   Owner Operator   Communication Charge    PNet Hware 33407                        13
      1/30/2016   709   WH0087   Owner Operator   Communication Charge    PNet Hware Q1113                        13
      1/30/2016   709   WH0087   Owner Operator   ESCROW                  Weekly Escrow                           50
      1/30/2016   709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                       145.63
      1/30/2016   709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                       226.04
      1/30/2016   709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                        209.1
      1/30/2016   709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                        148.3
      1/30/2016   709   WH0087   Owner Operator   Truck Payment           CTMS - 189282 Tractor Sublease      252.11
      1/30/2016   742   AP0047   Owner Operator   Communication Charge    PNet Hware 32604                        13
      1/30/2016   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                           100
      1/30/2016   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                           100
      1/30/2016   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                           100
      1/30/2016   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                           100
      1/30/2016   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      1/30/2016   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      1/30/2016   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      1/30/2016   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      1/30/2016   742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                       284.99
      1/30/2016   742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                        327.9
      1/30/2016   742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                       282.14
      1/30/2016   742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                       193.22
      1/30/2016   742   BS0030   Owner Operator   Broker Pre Pass         32947 PrePass Device                  12.5
      1/30/2016   742   BS0030   Owner Operator   Communication Charge    PNet Hware 32947                        13
      1/30/2016   742   BS0030   Owner Operator   Communication Charge    PNet Hware 32947                        13
      1/30/2016   742   BS0030   Owner Operator   Communication Charge    PNet Hware 32947                        13
      1/30/2016   742   BS0030   Owner Operator   Communication Charge    PNet Hware 32947                        13
      1/30/2016   742   BS0030   Owner Operator   ESCROW                  Final Balance Refund                 -3875
      1/30/2016   742   BS0030   Owner Operator   ESCROW                  Weekly Escrow                       118.54
      1/30/2016   742   BS0030   Owner Operator   ESCROW                  Weekly Escrow                          125
      1/30/2016   742   BS0030   Owner Operator   FUEL TAX                Sept15 Fuel Taxes                    92.34
      1/30/2016   742   BS0030   Owner Operator   Repair Order            CTMS - 186794 Repair                276.98
      1/30/2016   742   BS0030   Owner Operator   Tractor Charge          15770 - 32947                        229.4
      1/30/2016   742   BS0030   Owner Operator   Tractor Charge          15770 - 32947                        419.4
      1/30/2016   742   BS0030   Owner Operator   Tractor Charge          15770 - 32947                        419.4
      1/30/2016   742   BS0030   Owner Operator   Tractor Charge          15770 - 32947                        419.4
      1/30/2016   742   BS0030   Owner Operator   Tractor Charge          15770 - 32947                        419.4
      1/30/2016   742   BS0030   Owner Operator   Tractor Charge          15770 - 32947                        419.4
      1/30/2016   742   BS0030   Owner Operator   Tractor Charge          15770 - 32947                        419.4
      1/30/2016   742   BS0030   Owner Operator   Tractor Charge          15770 - 32947                        419.4
      1/30/2016   742   BS0030   Owner Operator   US Legal Services       U.S. Legal Services                  32.95
      1/30/2016   742   BS0078   Owner Operator   Communication Charge    PNet Hware 33471                        13
      1/30/2016   742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                       114.38
      1/30/2016   742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                        382.5
      1/30/2016   742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                        256.9
      1/30/2016   742   ED0041   Owner Operator   Communication Charge    PNet Hware 32897                        13
      1/30/2016   742   EN0016   Owner Operator   Communication Charge    PNet Hware 32947                        13
      1/30/2016   742   EN0016   Owner Operator   Fuel Card Advances      Cash Advance                           500
      1/30/2016   742   EN0016   Owner Operator   Fuel Card Advances      Cash Advance Fee                         5
      1/30/2016   742   EN0016   Owner Operator   Fuel Purchase           Fuel Purchase                        356.9
      1/30/2016   742   EN0016   Owner Operator   Fuel Purchase           Fuel Purchase                       139.27
      1/30/2016   742   EN0016   Owner Operator   Fuel Purchase           Fuel Purchase                       266.41
      1/30/2016   742   EN0016   Owner Operator   Fuel Purchase           Fuel Purchase                       104.02

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      1/30/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      1/30/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      1/30/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      1/30/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/30/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.67
      1/30/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/30/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         19.56
      1/30/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/30/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.11
      1/30/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      1/30/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      1/30/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.93
      1/30/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.08
      1/30/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      1/30/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.51
      1/30/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.16
      1/30/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      1/30/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.57
      1/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.23
      1/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.36
      1/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.16
      1/30/2016   742   PC0012   Owner Operator   Repair Order                   CTMS - 189267 Repair                100.82
      1/30/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      1/30/2016   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/30/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.38
      1/30/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.94
      1/30/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.57
      1/30/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      1/30/2016   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/30/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.71
      1/30/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.75
      1/30/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.37
      1/30/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.17
      1/30/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      1/30/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      1/30/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 189281 Tractor Lease         353.28
      1/30/2016   858   JR0099   Owner Operator   Truck Payment                  CTMS - 189353 Q1203                 278.76
       2/6/2016   709   AN0007   Owner Operator   Accident Claim                 Claim setup on payments               150
       2/6/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
       2/6/2016   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
       2/6/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
       2/6/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
       2/6/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
       2/6/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.59
       2/6/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       2/6/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
       2/6/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
       2/6/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
       2/6/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
       2/6/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
       2/6/2016   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
       2/6/2016   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
       2/6/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
       2/6/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
       2/6/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
       2/6/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
       2/6/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
       2/6/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
       2/6/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
       2/6/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
       2/6/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.14
       2/6/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.05
       2/6/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.98
       2/6/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       127.28
       2/6/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.96
       2/6/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.98
       2/6/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.63
       2/6/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.01
       2/6/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.22
       2/6/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.86
       2/6/2016   709   AR0064   Owner Operator   FUEL TAX                       Nov 2015 Fuel Taxes                 266.56
       2/6/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58

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      2/6/2016    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      2/6/2016    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      2/6/2016    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      2/6/2016    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      2/6/2016    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      2/6/2016    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      2/6/2016    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      2/6/2016    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      2/6/2016    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      2/6/2016    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      2/6/2016    709   AR0064   Owner Operator   Tire Fee                       Tire Fee: 1895034                        8
      2/6/2016    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00331094 - PO System        145.79
      2/6/2016    709   AR0064   Owner Operator   Truck Payment                  CTMS - 189354 Trck Lease            353.28
      2/6/2016    709   AR0064   Owner Operator   Truck Payment                  CTMS - 189536 Trck Lease            353.28
      2/6/2016    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/6/2016    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      2/6/2016    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      2/6/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       408.49
      2/6/2016    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      2/6/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      2/6/2016    709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00329252 - PO System        710.74
      2/6/2016    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      2/6/2016    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      2/6/2016    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
      2/6/2016    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      2/6/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       169.37
      2/6/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.55
      2/6/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.96
      2/6/2016    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      2/6/2016    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      2/6/2016    709   CR0064   Owner Operator   Truck Payment                  CTMS - 189617 Tractor rental O        180
      2/6/2016    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      2/6/2016    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                  12.5
      2/6/2016    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      2/6/2016    709   CS0091   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-30            31
      2/6/2016    709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/6/2016    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.89
      2/6/2016    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      2/6/2016    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - Q1201                    31.68
      2/6/2016    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   CS0091   Owner Operator   Permits                        NY13:2016 - Q1201                       19
      2/6/2016    709   CS0091   Owner Operator   Permits1                       ID06:2016 - 73130                      -11
      2/6/2016    709   CS0091   Owner Operator   Permits1                       ID06:2016 - Q1201                       11
      2/6/2016    709   CS0091   Owner Operator   Permits1                       IL02:2016 - 73130                    -3.75
      2/6/2016    709   CS0091   Owner Operator   Permits1                       IL02:2016 - Q1201                     3.75
      2/6/2016    709   CS0091   Owner Operator   Permits1                       NM07:2016 - 73130                     -5.5
      2/6/2016    709   CS0091   Owner Operator   Permits1                       NM07:2016 - Q1201                      5.5
      2/6/2016    709   CS0091   Owner Operator   Permits1                       OR16:2016 - 73130                       -8
      2/6/2016    709   CS0091   Owner Operator   Permits1                       OR16:2016 - Q1201                        8
      2/6/2016    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      2/6/2016    709   CS0091   Owner Operator   Truck Payment                  CTMS - 189495 Q1201                 278.76
      2/6/2016    709   CS0091   Owner Operator   Truck Payment                  CTMS - 189595 73130                   125
      2/6/2016    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      2/6/2016    709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                  12.5
      2/6/2016    709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                  12.5
      2/6/2016    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      2/6/2016    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      2/6/2016    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
      2/6/2016    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                        59.68
      2/6/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/6/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/6/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.62
      2/6/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.47
      2/6/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.25
      2/6/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.15
      2/6/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.67
      2/6/2016    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88

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      2/6/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      2/6/2016    709   DJ0028   Owner Operator   Tire Purchase                  PO: 709-00330602 - PO System         49.96
      2/6/2016    709   DJ0028   Owner Operator   Tire Purchase                  PO: 709-00330602 - PO System         50.01
      2/6/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 189127 Q1104                 252.11
      2/6/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 189318 Q1104                 252.11
      2/6/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 189495 Q1104                 252.11
      2/6/2016    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      2/6/2016    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5
      2/6/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      2/6/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
      2/6/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      2/6/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.31
      2/6/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.35
      2/6/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.97
      2/6/2016    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      2/6/2016    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      2/6/2016    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      2/6/2016    709   DL0107   Owner Operator   Repair Order                   CTMS - 189597 Repair                316.62
      2/6/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 189460 Sublease              338.99
      2/6/2016    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      2/6/2016    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/6/2016    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                  12.5
      2/6/2016    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      2/6/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      2/6/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      2/6/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.49
      2/6/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.56
      2/6/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        164.2
      2/6/2016    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      2/6/2016    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      2/6/2016    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      2/6/2016    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.19
      2/6/2016    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      2/6/2016    709   DS0225   Owner Operator   Repair Order                   CTMS - 189595 Repair                179.04
      2/6/2016    709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329967 - PO System        210.55
      2/6/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                           21
      2/6/2016    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        417.6
      2/6/2016    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/6/2016    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                  12.5
      2/6/2016    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      2/6/2016    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      2/6/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/6/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/6/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.91
      2/6/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.09
      2/6/2016    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      2/6/2016    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      2/6/2016    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/6/2016    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                  12.5
      2/6/2016    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      2/6/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
      2/6/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      2/6/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.3
      2/6/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.64
      2/6/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.17
      2/6/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        25.31
      2/6/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.94
      2/6/2016    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      2/6/2016    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      2/6/2016    709   EE0011   Owner Operator   Truck Payment                  CTMS - 189617 Rental and repai      271.69
      2/6/2016    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      2/6/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        15.46
      2/6/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        258.2
      2/6/2016    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   FS0039   Owner Operator   Permits                        ID06:2016 - 33040                       11
      2/6/2016    709   FS0039   Owner Operator   Permits                        IL02:2016 - 33040                     3.75
      2/6/2016    709   FS0039   Owner Operator   Permits                        NM07:2016 - 33040                      5.5
      2/6/2016    709   FS0039   Owner Operator   Permits                        NY13:2016 - 33040                       19

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      2/6/2016    709   FS0039   Owner Operator   Permits                        OR16:2016 - 33040                        8
      2/6/2016    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      2/6/2016    709   FS0039   Owner Operator   Truck Payment                  CTMS - 189199 truck lease 3304      434.29
      2/6/2016    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      2/6/2016    709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
      2/6/2016    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                     11.78
      2/6/2016    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      2/6/2016    709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-30        127.88
      2/6/2016    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/6/2016    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                         42.2
      2/6/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            10
      2/6/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/6/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            75
      2/6/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          280
      2/6/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      2/6/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.75
      2/6/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/6/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
      2/6/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.09
      2/6/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.06
      2/6/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.16
      2/6/2016    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      2/6/2016    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      2/6/2016    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   FT0004   Owner Operator   Permits                        NY13:2016 - 73129                       19
      2/6/2016    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      2/6/2016    709   FT0004   Owner Operator   Repair Order                   CTMS - 189267 Repair                  250
      2/6/2016    709   FT0004   Owner Operator   Repair Order                   CTMS - 189439 Repair                  250
      2/6/2016    709   FT0004   Owner Operator   Repair Order                   CTMS - 189595 Repair                  250
      2/6/2016    709   FT0004   Owner Operator   Truck Payment                  CTMS - 189318 73129                 181.08
      2/6/2016    709   FT0004   Owner Operator   Truck Payment                  CTMS - 189495 73129                 181.08
      2/6/2016    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      2/6/2016    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
      2/6/2016    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      2/6/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.12
      2/6/2016    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      2/6/2016    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      2/6/2016    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                  12.5
      2/6/2016    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      2/6/2016    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/6/2016    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.94
      2/6/2016    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      2/6/2016    709   GS0015   Owner Operator   Truck Payment                  CTMS - 189495 Lease                 252.11
      2/6/2016    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      2/6/2016    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      2/6/2016    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      2/6/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/6/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/6/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.38
      2/6/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.58
      2/6/2016    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      2/6/2016    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      2/6/2016    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      2/6/2016    709   HG0027   Owner Operator   Charge back by affiliate       CTMS - 189276 HG0027 - Bonus r        500
      2/6/2016    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      2/6/2016    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      2/6/2016    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/6/2016    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/6/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/6/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                         88.61
      2/6/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/6/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        56.91
      2/6/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       416.65
      2/6/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         238
      2/6/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.7
      2/6/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.39
      2/6/2016    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      2/6/2016    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      2/6/2016    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75

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      2/6/2016    709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
      2/6/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           26.6
      2/6/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.27
      2/6/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        219.41
      2/6/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.2
      2/6/2016    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/6/2016    709   IR0002   Owner Operator   Permits                        NY13:2016 - 32901                        19
      2/6/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
      2/6/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      2/6/2016    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
      2/6/2016    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      2/6/2016    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                   12.5
      2/6/2016    709   JG0017   Owner Operator   Charge back by affiliate       CTMS - 189631 Trailer L9207           -35.5
      2/6/2016    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      2/6/2016    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      2/6/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      2/6/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      2/6/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        191.57
      2/6/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.41
      2/6/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        110.05
      2/6/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.7
      2/6/2016    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/6/2016    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      2/6/2016    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      2/6/2016    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      2/6/2016    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                   12.5
      2/6/2016    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      2/6/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/6/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      2/6/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/6/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      2/6/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/6/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/6/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        367.98
      2/6/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        332.82
      2/6/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          332
      2/6/2016    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/6/2016    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      2/6/2016    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      2/6/2016    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      2/6/2016    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/6/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/6/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/6/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        373.87
      2/6/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        237.78
      2/6/2016    709   JG0092   Owner Operator   IRP License Deduction          2016 IL IRP plate refund            -326.75
      2/6/2016    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/6/2016    709   JG0092   Owner Operator   Permits                        NM07:2016 - 33669                       5.5
      2/6/2016    709   JG0092   Owner Operator   Permits                        NY13:2016 - 33669                        19
      2/6/2016    709   JG0092   Owner Operator   Permits                        OR16:2016 - 33669                         8
      2/6/2016    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      61.7
      2/6/2016    709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      2/6/2016    709   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                   7.43
      2/6/2016    709   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                   12.5
      2/6/2016    709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/6/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         22.86
      2/6/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        234.27
      2/6/2016    709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/6/2016    709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
      2/6/2016    709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      2/6/2016    709   JK0112   Owner Operator   Tire Fee                       Tire Fee: 1895068                        12
      2/6/2016    709   JK0112   Owner Operator   Tire Purchase                  PO: 709-00331382 - PO System         275.03
      2/6/2016    709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      2/6/2016    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      2/6/2016    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                   12.5
      2/6/2016    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      2/6/2016    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/6/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        113.54
      2/6/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        158.26
      2/6/2016    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/6/2016    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      2/6/2016    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      2/6/2016    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                   12.5

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      2/6/2016    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      2/6/2016    709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/6/2016    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      2/6/2016    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      2/6/2016    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   JR0099   Owner Operator   Permits                        NY13:2016 - Q1203                       19
      2/6/2016    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      2/6/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      2/6/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      2/6/2016    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
      2/6/2016    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      2/6/2016    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      2/6/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/6/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/6/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/6/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/6/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.57
      2/6/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.37
      2/6/2016    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      2/6/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      2/6/2016    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/6/2016    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      2/6/2016    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      2/6/2016    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      2/6/2016    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      2/6/2016    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      2/6/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/6/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      2/6/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      2/6/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/6/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         240
      2/6/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.51
      2/6/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.28
      2/6/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.79
      2/6/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.66
      2/6/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.81
      2/6/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       115.37
      2/6/2016    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      2/6/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      2/6/2016    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      2/6/2016    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      2/6/2016    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                  12.5
      2/6/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      2/6/2016    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      2/6/2016    709   LL0160   Owner Operator   Truck Payment                  CTMS - 189577 Lease Q1111           252.11
      2/6/2016    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      2/6/2016    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      2/6/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.66
      2/6/2016    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      2/6/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      2/6/2016    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      2/6/2016    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                 12.5
      2/6/2016    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      2/6/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        143.1
      2/6/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       104.96
      2/6/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.25
      2/6/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.74
      2/6/2016    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      2/6/2016    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      2/6/2016    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/6/2016    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   MG0067   Owner Operator   Permits                        NY13:2016 - 33435                       19
      2/6/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      2/6/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      2/6/2016    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      2/6/2016    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                  12.5
      2/6/2016    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      2/6/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      2/6/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/6/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.71
      2/6/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        60.18
      2/6/2016    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      2/6/2016    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      2/6/2016    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      2/6/2016    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                  12.5
      2/6/2016    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      2/6/2016    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
      2/6/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            40
      2/6/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      2/6/2016    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         126
      2/6/2016    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      2/6/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      2/6/2016    709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System        995.58
      2/6/2016    709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00327116 - PO System         -0.04
      2/6/2016    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      2/6/2016    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      2/6/2016    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                  12.5
      2/6/2016    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      2/6/2016    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
      2/6/2016    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/6/2016    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/6/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.94
      2/6/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.7
      2/6/2016    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      2/6/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 189617 Tractor rental N        220
      2/6/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 189618 Lease                 215.66
      2/6/2016    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      2/6/2016    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                 12.5
      2/6/2016    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      2/6/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            70
      2/6/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.7
      2/6/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        49.98
      2/6/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         215
      2/6/2016    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      2/6/2016    709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      2/6/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          66.6
      2/6/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      2/6/2016    709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      2/6/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      2/6/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      2/6/2016    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        268.4
      2/6/2016    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       364.15
      2/6/2016    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   RC0030   Owner Operator   Permits                        IL02:2016 - 33676                     3.75
      2/6/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      2/6/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      2/6/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      2/6/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      2/6/2016    709   RC0030   Owner Operator   Truck Payment                  CTMS - 189467 Down Payment lo       303.55
      2/6/2016    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      2/6/2016    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/6/2016    709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      2/6/2016    709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      2/6/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      2/6/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      2/6/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.75
      2/6/2016    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      2/6/2016    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      2/6/2016    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      2/6/2016    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                 12.5
      2/6/2016    709   RL0017   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      2/6/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.23
      2/6/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.08
      2/6/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.63
      2/6/2016    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      2/6/2016    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.32
      2/6/2016    709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System         463.11
      2/6/2016    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      2/6/2016    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      2/6/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/6/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      2/6/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      2/6/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      2/6/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      2/6/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/6/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.3
      2/6/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        366.37
      2/6/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.52
      2/6/2016    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/6/2016    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
      2/6/2016    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      2/6/2016    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
      2/6/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      2/6/2016    709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                   12.5
      2/6/2016    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
      2/6/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        209.74
      2/6/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.4
      2/6/2016    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 33664                      100
      2/6/2016    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/6/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
      2/6/2016    709   RM0026   Owner Operator   Tire Purchase                  905-02200085                         225.06
      2/6/2016    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      2/6/2016    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                   12.5
      2/6/2016    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      2/6/2016    709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/6/2016    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                           100
      2/6/2016    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      2/6/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        208.97
      2/6/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.92
      2/6/2016    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                     10.58
      2/6/2016    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                     31.68
      2/6/2016    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/6/2016    709   RP0082   Owner Operator   Permits                        NY13:2016 - Q1202                        19
      2/6/2016    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      2/6/2016    709   RP0082   Owner Operator   Truck Payment                  CTMS - 189536 Truck Lease            278.76
      2/6/2016    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
      2/6/2016    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                   12.5
      2/6/2016    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
      2/6/2016    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
      2/6/2016    709   RR0123   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-13       -234.36
      2/6/2016    709   RR0123   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-13        -487.8
      2/6/2016    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/6/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        243.93
      2/6/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        372.02
      2/6/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.36
      2/6/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.31
      2/6/2016    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                     10.58
      2/6/2016    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2015 - Q1248                     31.68
      2/6/2016    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/6/2016    709   RR0123   Owner Operator   Permits1                       ID06:2016 - Q1248                        11
      2/6/2016    709   RR0123   Owner Operator   Permits1                       IL02:2016 - Q1248                      3.75
      2/6/2016    709   RR0123   Owner Operator   Permits1                       NM07:2016 - Q1248                       5.5
      2/6/2016    709   RR0123   Owner Operator   Permits1                       NY13:2016 - Q1248                        19
      2/6/2016    709   RR0123   Owner Operator   Permits1                       OR16:2016 - Q1248                         8
      2/6/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
      2/6/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
      2/6/2016    709   RR0123   Owner Operator   T Chek Fee                     Advance                             5256.38
      2/6/2016    709   RR0123   Owner Operator   Tractor Fee                    crt wk 1/28-2/4                     -860.84
      2/6/2016    709   RR0123   Owner Operator   Tractor Fee                    Fee - Q1248                          430.42
      2/6/2016    709   RR0123   Owner Operator   Tractor Fee                    Fee - Q1248                          430.42
      2/6/2016    709   RR0123   Owner Operator   Truck Payment                  CTMS - 189346 Q1248                  311.97
      2/6/2016    709   RR0123   Owner Operator   Truck Payment                  CTMS - 189495 Q1248                  311.97
      2/6/2016    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      2/6/2016    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                   12.5
      2/6/2016    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                   12.5
      2/6/2016    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
      2/6/2016    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
      2/6/2016    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200

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      2/6/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                         28.89
      2/6/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/6/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/6/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.29
      2/6/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.62
      2/6/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        118.2
      2/6/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        214.9
      2/6/2016    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      2/6/2016    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00329288 - PO System        111.37
      2/6/2016    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      2/6/2016    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      2/6/2016    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      2/6/2016    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/6/2016    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/6/2016    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/6/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.38
      2/6/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        28.41
      2/6/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.45
      2/6/2016    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   SN0019   Owner Operator   Permits                        NY13:2016 - 33461                       19
      2/6/2016    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      2/6/2016    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      2/6/2016    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                  12.5
      2/6/2016    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      2/6/2016    709   VB0015   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      2/6/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.82
      2/6/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.44
      2/6/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.02
      2/6/2016    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      2/6/2016    709   VB0015   Owner Operator   Tire Purchase                  PO: 709-00330052 - PO System        165.29
      2/6/2016    709   VB0015   Owner Operator   Truck Payment                  CTMS - 189619 Tractor Sub leas      242.03
      2/6/2016    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      2/6/2016    709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
      2/6/2016    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      2/6/2016    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      2/6/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          140
      2/6/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          160
      2/6/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
      2/6/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4
      2/6/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.11
      2/6/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.85
      2/6/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.93
      2/6/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        165.7
      2/6/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.06
      2/6/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.71
      2/6/2016    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      2/6/2016    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      2/6/2016    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      2/6/2016    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      2/6/2016    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      2/6/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      2/6/2016    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      2/6/2016    709   WH0087   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                  12.5
      2/6/2016    709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                        13
      2/6/2016    709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/6/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.27
      2/6/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.86
      2/6/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        166.4
      2/6/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.07
      2/6/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.02
      2/6/2016    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
      2/6/2016    709   WH0087   Owner Operator   Truck Payment                  CTMS - 189466 Tractor Sublease      252.11
      2/6/2016    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      2/6/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/6/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/6/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/6/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/6/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        89.05

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      2/6/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      2/6/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.75
      2/6/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.52
      2/6/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       125.61
      2/6/2016    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      2/6/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      2/6/2016    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      2/6/2016    742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                  12.5
      2/6/2016    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      2/6/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.36
      2/6/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.86
      2/6/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       423.32
      2/6/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.93
      2/6/2016    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      2/6/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      2/6/2016    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      2/6/2016    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      2/6/2016    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      2/6/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.86
      2/6/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.99
      2/6/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.42
      2/6/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.69
      2/6/2016    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      2/6/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      2/6/2016    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/6/2016    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      2/6/2016    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                  12.5
      2/6/2016    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                  12.5
      2/6/2016    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      2/6/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       169.08
      2/6/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.01
      2/6/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.23
      2/6/2016    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      2/6/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      2/6/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      2/6/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      2/6/2016    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      2/6/2016    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      2/6/2016    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      2/6/2016    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      2/6/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      2/6/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      2/6/2016    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      2/6/2016    742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                  12.5
      2/6/2016    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      2/6/2016    742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/6/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.61
      2/6/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.45
      2/6/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.88
      2/6/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.82
      2/6/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       101.65
      2/6/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.46
      2/6/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.05
      2/6/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.4
      2/6/2016    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/6/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      2/6/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      2/6/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/6/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/6/2016    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.4
      2/6/2016    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 45.47
      2/6/2016    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      2/6/2016    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      2/6/2016    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      2/6/2016    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      2/6/2016    742   MH0117   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/6/2016    742   MH0117   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/6/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.28
      2/6/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.04

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       2/6/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.35
       2/6/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       2/6/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
       2/6/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
       2/6/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           98.76
       2/6/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
       2/6/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       2/6/2016   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
       2/6/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
       2/6/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
       2/6/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
       2/6/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       2/6/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.39
       2/6/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.54
       2/6/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.65
       2/6/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.72
       2/6/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
       2/6/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
       2/6/2016   742   PC0012   Owner Operator   Toll Charges                   HCTRA Uninvoiced Tolls Pd                7
       2/6/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
       2/6/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
       2/6/2016   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
       2/6/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
       2/6/2016   742   RN0054   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
       2/6/2016   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
       2/6/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.07
       2/6/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
       2/6/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
       2/6/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       2/6/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
       2/6/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
       2/6/2016   771   EN0016   Owner Operator   Permits                        NY13:2016 - 32674                       19
       2/6/2016   858   JR0099   Owner Operator   Truck Payment                  CTMS - 189536 Q1203                 278.76
      2/13/2016   709   AN0007   Owner Operator   Accident Claim                 Claim setup on payments               150
      2/13/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      2/13/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      2/13/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      2/13/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.19
      2/13/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      2/13/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      2/13/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      2/13/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/13/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.07
      2/13/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      2/13/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      2/13/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      2/13/2016   709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00331094 - PO System        145.79
      2/13/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 189711 Trck Lease            353.28
      2/13/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/13/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      2/13/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      2/13/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      2/13/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      2/13/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      2/13/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.37
      2/13/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.56
      2/13/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      2/13/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      2/13/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      2/13/2016   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/13/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.7
      2/13/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      2/13/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - Q1201                    31.68
      2/13/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      2/13/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 189688 Q1201                 278.76
      2/13/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      2/13/2016   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
      2/13/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      2/13/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.86
      2/13/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       114.38
      2/13/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.19
      2/13/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      2/13/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      2/13/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 189683 Q1104                 252.11
      2/13/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      2/13/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.98
      2/13/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       434.73
      2/13/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      2/13/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      2/13/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      2/13/2016   709   DL0107   Owner Operator   Repair Order                   CTMS - 189676 repair                  17.5
      2/13/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 189654 Sublease              338.99
      2/13/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      2/13/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/13/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      2/13/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      2/13/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.96
      2/13/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         296
      2/13/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      2/13/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      2/13/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      2/13/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.77
      2/13/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      2/13/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      2/13/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      2/13/2016   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  12.5
      2/13/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      2/13/2016   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      2/13/2016   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      2/13/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.47
      2/13/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.59
      2/13/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.66
      2/13/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.44
      2/13/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.22
      2/13/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.14
      2/13/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         136
      2/13/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         201
      2/13/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.33
      2/13/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.41
      2/13/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         407
      2/13/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      2/13/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      2/13/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      2/13/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      2/13/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        45.67
      2/13/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      2/13/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/13/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      2/13/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/13/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/13/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.49
      2/13/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.44
      2/13/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      2/13/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      2/13/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/13/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/13/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/13/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/13/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.13
      2/13/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.95
      2/13/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       129.83
      2/13/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.53

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      2/13/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.19
      2/13/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      2/13/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      2/13/2016   709   EE0011   Owner Operator   Truck Payment                  CTMS - 189789 Rental and repai      271.69
      2/13/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/13/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/13/2016   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                  12.5
      2/13/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      2/13/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      2/13/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      2/13/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/13/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/13/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/13/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.5
      2/13/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.44
      2/13/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       114.13
      2/13/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.8
      2/13/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        92.01
      2/13/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.23
      2/13/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        25.94
      2/13/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        91.01
      2/13/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      2/13/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      2/13/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      2/13/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      2/13/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      2/13/2016   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
      2/13/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      2/13/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                      1.22
      2/13/2016   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/13/2016   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            35
      2/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          150
      2/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      2/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.35
      2/13/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.24
      2/13/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.39
      2/13/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.75
      2/13/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      2/13/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      2/13/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      2/13/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 189683 73129                 181.08
      2/13/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      2/13/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.58
      2/13/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.79
      2/13/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.63
      2/13/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      2/13/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      2/13/2016   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/13/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.37
      2/13/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      2/13/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 189683 Lease                 252.11
      2/13/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      2/13/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/13/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/13/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.19
      2/13/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      2/13/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      2/13/2016   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/13/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.45
      2/13/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.87

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      2/13/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      2/13/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      2/13/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/13/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         23.04
      2/13/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.23
      2/13/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        230.7
      2/13/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      2/13/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      2/13/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      2/13/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      2/13/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      2/13/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      2/13/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      2/13/2016   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      2/13/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      2/13/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
      2/13/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
      2/13/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           100
      2/13/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/13/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/13/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/13/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                        179.57
      2/13/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           110
      2/13/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.1
      2/13/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.8
      2/13/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/13/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.29
      2/13/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.45
      2/13/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.71
      2/13/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.35
      2/13/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.25
      2/13/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.93
      2/13/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.27
      2/13/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      2/13/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      2/13/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      2/13/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      2/13/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/13/2016   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1500
      2/13/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      2/13/2016   709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1500
      2/13/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      2/13/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      2/13/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.89
      2/13/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      2/13/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      2/13/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/13/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      2/13/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/13/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      2/13/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.26
      2/13/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.21
      2/13/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.91
      2/13/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      2/13/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      2/13/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      2/13/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/13/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.45
      2/13/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          315
      2/13/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      2/13/2016   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      2/13/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           200

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      2/13/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/13/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         27.02
      2/13/2016   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
      2/13/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      2/13/2016   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      2/13/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      2/13/2016   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/13/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        121.06
      2/13/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        155.17
      2/13/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      2/13/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      2/13/2016   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/13/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
      2/13/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
      2/13/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      2/13/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      2/13/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      2/13/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      2/13/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/13/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/13/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/13/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/13/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.99
      2/13/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.45
      2/13/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        162.66
      2/13/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      2/13/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      2/13/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      2/13/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      2/13/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      2/13/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      2/13/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         85.03
      2/13/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.77
      2/13/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.3
      2/13/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      2/13/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      2/13/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      2/13/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      2/13/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      2/13/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 189748 Lease Q1111            252.11
      2/13/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      2/13/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/13/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/13/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/13/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/13/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        374.24
      2/13/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        237.67
      2/13/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      2/13/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      2/13/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      2/13/2016   709   MB0048   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-20       -157.75
      2/13/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        103.82
      2/13/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      2/13/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      2/13/2016   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/13/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      2/13/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      2/13/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      2/13/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      2/13/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      2/13/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         109.4
      2/13/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         80.29
      2/13/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13

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      2/13/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      2/13/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      2/13/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      2/13/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
      2/13/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
      2/13/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.1
      2/13/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      2/13/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      2/13/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      2/13/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      2/13/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      2/13/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.42
      2/13/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        106.92
      2/13/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.89
      2/13/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        127.51
      2/13/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      2/13/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 189789 Lease                  215.66
      2/13/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 189789 Tractor rental N         220
      2/13/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      2/13/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/13/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/13/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.4
      2/13/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.8
      2/13/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        183.27
      2/13/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      2/13/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      2/13/2016   709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                   12.5
      2/13/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      2/13/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/13/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/13/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           300
      2/13/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          233.4
      2/13/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      2/13/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.26
      2/13/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.93
      2/13/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.62
      2/13/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.83
      2/13/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        208.32
      2/13/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        231.87
      2/13/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.6
      2/13/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.07
      2/13/2016   709   NR0010   Owner Operator   T Chek Fee                     ExpressCheck Fee                      11.59
      2/13/2016   709   NR0010   Owner Operator   T Chek Fee                     Tractor Repair Q1106                1159.37
      2/13/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 189466 Tractor Sublease       252.11
      2/13/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 189659 Tractor Sublease       252.11
      2/13/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      2/13/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      2/13/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.7
      2/13/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.33
      2/13/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        340.63
      2/13/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.16
      2/13/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      2/13/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
      2/13/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      2/13/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 189660 Down Payment lo        303.55
      2/13/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.7
      2/13/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      2/13/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      2/13/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      2/13/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.09
      2/13/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.64
      2/13/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.56
      2/13/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/13/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.07
      2/13/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
      2/13/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
      2/13/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        360.64
      2/13/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      2/13/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      2/13/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System        463.11
      2/13/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/13/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/13/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/13/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/13/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/13/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/13/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/13/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.36
      2/13/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.97
      2/13/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.73
      2/13/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      2/13/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      2/13/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      2/13/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      2/13/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.53
      2/13/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.17
      2/13/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 33664                     100
      2/13/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      2/13/2016   709   RM0026   Owner Operator   Tire Purchase                  905-02200085                         99.96
      2/13/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      2/13/2016   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/13/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/13/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/13/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.39
      2/13/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.34
      2/13/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      2/13/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      2/13/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      2/13/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      2/13/2016   709   SB0009   Owner Operator   Charge back by affiliate       CTMS - 189645 Light Bulb             -8.72
      2/13/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      2/13/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/13/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        49.51
      2/13/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         229
      2/13/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.55
      2/13/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      2/13/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      2/13/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      2/13/2016   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/13/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/13/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/13/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.12
      2/13/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         45.1
      2/13/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.79
      2/13/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.74
      2/13/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      2/13/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      2/13/2016   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/13/2016   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.21
      2/13/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.35
      2/13/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      2/13/2016   709   VB0015   Owner Operator   Tire Purchase                  PO: 709-00330052 - PO System        165.29
      2/13/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 189790 Tractor Sub leas      242.03
      2/13/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      2/13/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      2/13/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/13/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.46
      2/13/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.06
      2/13/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47

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      2/13/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      2/13/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      2/13/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      2/13/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      2/13/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      2/13/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/13/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.27
      2/13/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.78
      2/13/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       116.04
      2/13/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
      2/13/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 189659 Tractor Sublease      252.11
      2/13/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      2/13/2016   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      2/13/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      2/13/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/13/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/13/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/13/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/13/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/13/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        20.75
      2/13/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.18
      2/13/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.87
      2/13/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       174.69
      2/13/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      2/13/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      2/13/2016   742   AP0047   Owner Operator   Repair Order                   CTMS - 189595 Parts                  107.4
      2/13/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      2/13/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.98
      2/13/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.56
      2/13/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      2/13/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      2/13/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      2/13/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        302.9
      2/13/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        111.1
      2/13/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.92
      2/13/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        99.42
      2/13/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.54
      2/13/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      2/13/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      2/13/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/13/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      2/13/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.46
      2/13/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.49
      2/13/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.03
      2/13/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      2/13/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      2/13/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      2/13/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      2/13/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      2/13/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      2/13/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      2/13/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      2/13/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      2/13/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      2/13/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/13/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.31
      2/13/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.59
      2/13/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      2/13/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      2/13/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      2/13/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/13/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.17
      2/13/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45

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      2/13/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      2/13/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      2/13/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.35
      2/13/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.19
      2/13/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.93
      2/13/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      2/13/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      2/13/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      2/13/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      2/13/2016   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      2/13/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      2/13/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/13/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/13/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.84
      2/13/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       452.23
      2/13/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.52
      2/13/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.69
      2/13/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            2.03
      2/13/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      2/13/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      2/13/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/13/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      2/13/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/13/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/13/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/13/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/13/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.76
      2/13/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.06
      2/13/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.87
      2/13/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.98
      2/13/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      2/13/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      2/13/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      2/13/2016   742   PS0080   Owner Operator   Arrears                        Credit Billing                       93.78
      2/13/2016   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      2/13/2016   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      2/13/2016   742   PS0080   Owner Operator   Broker Pre Pass                33584 PrePass Device                  12.5
      2/13/2016   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/13/2016   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/13/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.91
      2/13/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.33
      2/13/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.11
      2/13/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.29
      2/13/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       169.09
      2/13/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.65
      2/13/2016   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      2/13/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      2/13/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      2/13/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      2/13/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      2/13/2016   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/13/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.08
      2/13/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.12
      2/13/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.53
      2/13/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.7
      2/13/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.03
      2/13/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      2/13/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      2/13/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/13/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      2/13/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      2/13/2016   742   RN0054   Owner Operator   Repair Order                   CTMS - 189259 repair                 374.4
      2/13/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 189465 Tractor Lease         353.28
      2/13/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 189658 Tractor Lease         353.28
      2/20/2016   709   AN0007   Owner Operator   Accident Claim                 Claim setup on payments               150
      2/20/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      2/20/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      2/20/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13

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      2/20/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      2/20/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      2/20/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.59
      2/20/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      2/20/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      2/20/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      2/20/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      2/20/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      2/20/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/20/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.05
      2/20/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.92
      2/20/2016   709   AR0064   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     34.33
      2/20/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      2/20/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      2/20/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      2/20/2016   709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00331094 - PO System        145.79
      2/20/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 189896 Trck Lease            353.28
      2/20/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/20/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      2/20/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      2/20/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/20/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/20/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.97
      2/20/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         60.9
      2/20/2016   709   CM0119   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     -1.87
      2/20/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      2/20/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      2/20/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      2/20/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      2/20/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      2/20/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      2/20/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       116.34
      2/20/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.81
      2/20/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        91.69
      2/20/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        96.77
      2/20/2016   709   CR0064   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     26.68
      2/20/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      2/20/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      2/20/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      2/20/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      2/20/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      2/20/2016   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/20/2016   709   CS0091   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    -64.61
      2/20/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      2/20/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - Q1201                    31.68
      2/20/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      2/20/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 189854 Q1201                 278.76
      2/20/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      2/20/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      2/20/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      2/20/2016   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
      2/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.89
      2/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       115.48
      2/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       114.22
      2/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        85.63
      2/20/2016   709   DJ0028   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    388.77
      2/20/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      2/20/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      2/20/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 189850 Q1104                 252.11
      2/20/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      2/20/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      2/20/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      2/20/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       398.25

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      2/20/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      2/20/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      2/20/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      2/20/2016   709   DL0107   Owner Operator   Repair Order                   CTMS - 189844 Repair                316.62
      2/20/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 189823 Sublease              338.99
      2/20/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      2/20/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/20/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      2/20/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      2/20/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      2/20/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      2/20/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.03
      2/20/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.12
      2/20/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.47
      2/20/2016   709   DS0049   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                      6.94
      2/20/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      2/20/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      2/20/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      2/20/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.77
      2/20/2016   709   DS0225   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    181.76
      2/20/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      2/20/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      2/20/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      2/20/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      2/20/2016   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      2/20/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        69.07
      2/20/2016   709   DW0138   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    209.38
      2/20/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      2/20/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      2/20/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      2/20/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/20/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      2/20/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      2/20/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      2/20/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/20/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/20/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/20/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/20/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.79
      2/20/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         327
      2/20/2016   709   EA0003   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    148.16
      2/20/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      2/20/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      2/20/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/20/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      2/20/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      2/20/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/20/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
      2/20/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      2/20/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/20/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.77
      2/20/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        80.51
      2/20/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.89
      2/20/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        185.2
      2/20/2016   709   EE0011   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     70.99
      2/20/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      2/20/2016   709   EE0011   Owner Operator   Repair Order                   CTMS - 189844 Repair                167.15
      2/20/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      2/20/2016   709   EE0011   Owner Operator   Truck Payment                  CTMS - 189975 Rental and repai      271.69
      2/20/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/20/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      2/20/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      2/20/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      2/20/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/20/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/20/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/20/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/20/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.95

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      2/20/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.29
      2/20/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        212.12
      2/20/2016   709   EH0020   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                      106.4
      2/20/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/20/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.01
      2/20/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                        532.24
      2/20/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
      2/20/2016   709   FS0039   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    -237.41
      2/20/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/20/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          27.4
      2/20/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.88
      2/20/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.88
      2/20/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
      2/20/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
      2/20/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
      2/20/2016   709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/20/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/20/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           500
      2/20/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             20
      2/20/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.2
      2/20/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      2/20/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/20/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        169.11
      2/20/2016   709   FT0004   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                      19.51
      2/20/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                     10.58
      2/20/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                     31.68
      2/20/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/20/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.52
      2/20/2016   709   FT0004   Owner Operator   Repair Order                   CTMS - 189844 Repair                   250
      2/20/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 189850 73129                  181.08
      2/20/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      2/20/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      2/20/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      2/20/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        161.87
      2/20/2016   709   FV0001   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                       21.7
      2/20/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/20/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
      2/20/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
      2/20/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
      2/20/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
      2/20/2016   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/20/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        164.06
      2/20/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/20/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
      2/20/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 189850 Lease                  252.11
      2/20/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      2/20/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      2/20/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      2/20/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.3
      2/20/2016   709   HG0007   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                      63.99
      2/20/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/20/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
      2/20/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      2/20/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      2/20/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      2/20/2016   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/20/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/20/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/20/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.78
      2/20/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        237.46
      2/20/2016   709   HG0027   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                      74.49
      2/20/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/20/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      2/20/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
      2/20/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      2/20/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.24
      2/20/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        179.28
      2/20/2016   709   IR0002   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     -31.72
      2/20/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/20/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
      2/20/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      2/20/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
      2/20/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98

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      2/20/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      2/20/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      2/20/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      2/20/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      2/20/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/20/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/20/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.26
      2/20/2016   709   JC0292   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    205.61
      2/20/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      2/20/2016   709   JC0292   Owner Operator   Toll Charges                   Q13292 - Allegheny Valley PTC        11.52
      2/20/2016   709   JC0292   Owner Operator   Toll Charges                   Q13292 - Eastgate OTC                  3.5
      2/20/2016   709   JC0292   Owner Operator   Toll Charges                   Q13292 - Gateway PTC                 18.42
      2/20/2016   709   JC0292   Owner Operator   Toll Charges                   Q13292 - Niles-Youngstown OTC          3.5
      2/20/2016   709   JC0292   Owner Operator   Toll Charges                   Q13292 - Warrendale PTC               6.51
      2/20/2016   709   JC0292   Owner Operator   Toll Charges                   Toll Charges                        -43.45
      2/20/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      2/20/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/20/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      2/20/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      2/20/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      2/20/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      2/20/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      2/20/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.24
      2/20/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.29
      2/20/2016   709   JG0017   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     -0.31
      2/20/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      2/20/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      2/20/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/20/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      2/20/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      2/20/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/20/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      2/20/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      2/20/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/20/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.62
      2/20/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.22
      2/20/2016   709   JG0072   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    175.31
      2/20/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      2/20/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      2/20/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      2/20/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/20/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/20/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/20/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.28
      2/20/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.14
      2/20/2016   709   JG0092   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     57.79
      2/20/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      2/20/2016   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      2/20/2016   709   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  5.07
      2/20/2016   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      2/20/2016   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      2/20/2016   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      2/20/2016   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/20/2016   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/20/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/20/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/20/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/20/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/20/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.93
      2/20/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.93
      2/20/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.27
      2/20/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.49
      2/20/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.59
      2/20/2016   709   JK0112   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    367.23
      2/20/2016   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      2/20/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      2/20/2016   709   JK0112   Owner Operator   Tire Purchase                  PO: 709-00331382 - PO System        275.03
      2/20/2016   709   JK0112   Owner Operator   Tire Purchase                  PO: 709-00331382 - PO System        275.03

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      2/20/2016   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      2/20/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      2/20/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      2/20/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      2/20/2016   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/20/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        118.73
      2/20/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         70.32
      2/20/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        135.27
      2/20/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/20/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      2/20/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      2/20/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      2/20/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      2/20/2016   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/20/2016   709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance                           100
      2/20/2016   709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      2/20/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        223.86
      2/20/2016   709   JR0099   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     111.32
      2/20/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
      2/20/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
      2/20/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/20/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      2/20/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 189839 Truck Lease            278.76
      2/20/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      2/20/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      2/20/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      2/20/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      2/20/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      2/20/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/20/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/20/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        131.93
      2/20/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.23
      2/20/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         88.74
      2/20/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        187.06
      2/20/2016   709   JS0265   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                      -0.36
      2/20/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/20/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      2/20/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      2/20/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      2/20/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      2/20/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      2/20/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      2/20/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      2/20/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      2/20/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.63
      2/20/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        182.08
      2/20/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        154.38
      2/20/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        199.46
      2/20/2016   709   KP0004   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     150.86
      2/20/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/20/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      2/20/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      2/20/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      2/20/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      2/20/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      2/20/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      2/20/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-27       -260.42
      2/20/2016   709   LL0160   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     243.96
      2/20/2016   709   LL0160   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                      28.23
      2/20/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/20/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      2/20/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 189939 Lease Q1111            252.11
      2/20/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      2/20/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      2/20/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      2/20/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/20/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/20/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        207.85
      2/20/2016   709   LS0023   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                      -0.54
      2/20/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/20/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      2/20/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      2/20/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75

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      2/20/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                     13
      2/20/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                     13
      2/20/2016   709   MB0048   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-13      157.75
      2/20/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                        200
      2/20/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      2/20/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                      138.7
      2/20/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                     183.29
      2/20/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/20/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                  70.32
      2/20/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                      8.75
      2/20/2016   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                         50
      2/20/2016   709   MG0067   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                   -8.31
      2/20/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/20/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                      35.16
      2/20/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism              2.5
      2/20/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL               8.75
      2/20/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                      13
      2/20/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                      13
      2/20/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      77.76
      2/20/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/20/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD               53.13
      2/20/2016   709   MM0093   Owner Operator   Repair Order                   CTMS - 189844 Repair               178.3
      2/20/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                     337.19
      2/20/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      2/20/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                      13
      2/20/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                      13
      2/20/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                       650
      2/20/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                        140
      2/20/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.4
      2/20/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                     204.91
      2/20/2016   709   MP0035   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                   73.82
      2/20/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/20/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                  71.88
      2/20/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism          2.5
      2/20/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                     323.05
      2/20/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL          8.75
      2/20/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                      13
      2/20/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                      13
      2/20/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                       500
      2/20/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     239.71
      2/20/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       67.7
      2/20/2016   709   NB0029   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                   37.79
      2/20/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/20/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD          35.16
      2/20/2016   709   NB0029   Owner Operator   Repair Order                   CTMS - 189844 Repair               139.6
      2/20/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 189976 Lease               215.66
      2/20/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL            8.75
      2/20/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                     13
      2/20/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                     13
      2/20/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                        240
      2/20/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.4
      2/20/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     130.03
      2/20/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                     230.09
      2/20/2016   709   NG0005   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                   19.27
      2/20/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/20/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD            32.98
      2/20/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
      2/20/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
      2/20/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
      2/20/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
      2/20/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
      2/20/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
      2/20/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL          8.75
      2/20/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                       8.06
      2/20/2016   709   NT9564   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                   63.26
      2/20/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/20/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/20/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/20/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/20/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/20/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/20/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/20/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD          28.13

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      2/20/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.11
      2/20/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
      2/20/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
      2/20/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
      2/20/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
      2/20/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.13
      2/20/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      2/20/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      2/20/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      2/20/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      2/20/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      2/20/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      2/20/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 189829 Down Payment lo       303.55
      2/20/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      2/20/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/20/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      2/20/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      2/20/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.94
      2/20/2016   709   RC0089   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    -30.55
      2/20/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      2/20/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      2/20/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      2/20/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.79
      2/20/2016   709   RL0017   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    -40.52
      2/20/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      2/20/2016   709   RL0017   Owner Operator   Repair Order                   CTMS - 189844 Repair                234.83
      2/20/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System        463.11
      2/20/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/20/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      2/20/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      2/20/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/20/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/20/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/20/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/20/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/20/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/20/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.45
      2/20/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.79
      2/20/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.47
      2/20/2016   709   RL0062   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    169.94
      2/20/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      2/20/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      2/20/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      2/20/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      2/20/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      2/20/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      2/20/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.66
      2/20/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.72
      2/20/2016   709   RM0026   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    118.97
      2/20/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 33664                     100
      2/20/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      2/20/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      2/20/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      2/20/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      2/20/2016   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/20/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.56
      2/20/2016   709   RP0082   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                      3.36
      2/20/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      2/20/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      2/20/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      2/20/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 189839 Q1202 Truck Leas      278.76
      2/20/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      2/20/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      2/20/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      2/20/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      2/20/2016   709   RR0123   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-6         234.36
      2/20/2016   709   RR0123   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-6          487.8

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      2/20/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/20/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/20/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.95
      2/20/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.39
      2/20/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.61
      2/20/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.48
      2/20/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.7
      2/20/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.61
      2/20/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.64
      2/20/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      2/20/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      2/20/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2015 - Q1248                    31.68
      2/20/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2015 - Q1248                    31.68
      2/20/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      2/20/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      2/20/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      2/20/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      2/20/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 189688 Q1248                 311.97
      2/20/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 189854 Q1248                 311.97
      2/20/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      2/20/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      2/20/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      2/20/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      2/20/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/20/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/20/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.59
      2/20/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        95.17
      2/20/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.26
      2/20/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        271.3
      2/20/2016   709   SB0009   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    121.19
      2/20/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      2/20/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      2/20/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      2/20/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      2/20/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      2/20/2016   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/20/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.48
      2/20/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       114.37
      2/20/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        60.91
      2/20/2016   709   SN0019   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     69.87
      2/20/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      2/20/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      2/20/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      2/20/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      2/20/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.01
      2/20/2016   709   VB0015   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    240.59
      2/20/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      2/20/2016   709   VB0015   Owner Operator   Tire Purchase                  PO: 709-00330052 - PO System        165.23
      2/20/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 189977 Tractor Sub leas      242.03
      2/20/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      2/20/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      2/20/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      2/20/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      2/20/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          120
      2/20/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      2/20/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      2/20/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
      2/20/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.49
      2/20/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.6
      2/20/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.88
      2/20/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.51
      2/20/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       114.15
      2/20/2016   709   VJ0006   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    306.85
      2/20/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      2/20/2016   709   VJ0006   Owner Operator   Tire Fee                       Tire Fee: 1898675                        8
      2/20/2016   709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00331773 - PO System         188.9
      2/20/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9

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      2/20/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      2/20/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      2/20/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      2/20/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      2/20/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      2/20/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      2/20/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        59.32
      2/20/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
      2/20/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 189828 Tractor Sublease      252.11
      2/20/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      2/20/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      2/20/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      2/20/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/20/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/20/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/20/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/20/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/20/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/20/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.98
      2/20/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        57.04
      2/20/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.6
      2/20/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.66
      2/20/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.31
      2/20/2016   742   AP0047   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     75.54
      2/20/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      2/20/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      2/20/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      2/20/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      2/20/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      2/20/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.68
      2/20/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        363.5
      2/20/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.3
      2/20/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.48
      2/20/2016   742   BS0078   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     63.07
      2/20/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      2/20/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      2/20/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      2/20/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      2/20/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      2/20/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.74
      2/20/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.11
      2/20/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       113.46
      2/20/2016   742   ED0041   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     25.26
      2/20/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      2/20/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      2/20/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/20/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      2/20/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                      8.05
      2/20/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      2/20/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        121.5
      2/20/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.42
      2/20/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.57
      2/20/2016   742   EN0016   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                      0.02
      2/20/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      2/20/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      2/20/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      2/20/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      2/20/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      2/20/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              13.5
      2/20/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      2/20/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.69
      2/20/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      2/20/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      2/20/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      2/20/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      2/20/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      2/20/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         86.14
      2/20/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/20/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/20/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/20/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.79
      2/20/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        93.44
      2/20/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.49
      2/20/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.04
      2/20/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 71.98
      2/20/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      2/20/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      2/20/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      2/20/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      2/20/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      2/20/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        274.2
      2/20/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.62
      2/20/2016   742   MH0117   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     69.17
      2/20/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      2/20/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      2/20/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           99.16
      2/20/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      2/20/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/20/2016   742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                    -4400
      2/20/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         92.3
      2/20/2016   742   PC0012   Owner Operator   Express Check                  T-Check Payment                       4400
      2/20/2016   742   PC0012   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     36.73
      2/20/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      2/20/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      2/20/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      2/20/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      2/20/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      2/20/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      2/20/2016   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/20/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.63
      2/20/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.69
      2/20/2016   742   RN0054   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     77.43
      2/20/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      2/20/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      2/20/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/20/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      2/20/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      2/20/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 189827 Tractor Lease         353.28
      2/27/2016   709   AN0007   Owner Operator   Accident Claim                 Claim setup on payments               24.4
      2/27/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      2/27/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      2/27/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                           400
      2/27/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      2/27/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.89
      2/27/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
      2/27/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      2/27/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      2/27/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      2/27/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.01
      2/27/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.45
      2/27/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      2/27/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      2/27/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      2/27/2016   709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00331094 - PO System        145.79
      2/27/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 190086 Trck Lease            353.28
      2/27/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/27/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      2/27/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/27/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.67
      2/27/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.21
      2/27/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93

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      2/27/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      2/27/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      2/27/2016   709   CM0119   Owner Operator   Truck Payment                  CTMS - 190004 Q1107 Rental Tru        300
      2/27/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      2/27/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      2/27/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.41
      2/27/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.82
      2/27/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
      2/27/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      2/27/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      2/27/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      2/27/2016   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      2/27/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - Q1201                    31.68
      2/27/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.07
      2/27/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 190053 Q1201                 278.76
      2/27/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      2/27/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      2/27/2016   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
      2/27/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.1
      2/27/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.71
      2/27/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.41
      2/27/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.37
      2/27/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.86
      2/27/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      2/27/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 190049 Q1104                 252.11
      2/27/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      2/27/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      2/27/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.65
      2/27/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       413.22
      2/27/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      2/27/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      2/27/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.69
      2/27/2016   709   DL0107   Owner Operator   Repair Order                   CTMS - 190004 Repair                316.62
      2/27/2016   709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                      6.54
      2/27/2016   709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                653.52
      2/27/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 190011 Sublease              338.99
      2/27/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
      2/27/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/27/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      2/27/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      2/27/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      2/27/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.91
      2/27/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.92
      2/27/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
      2/27/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      2/27/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      2/27/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.17
      2/27/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.26
      2/27/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.51
      2/27/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      2/27/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      2/27/2016   709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      2/27/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.2
      2/27/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       121.03
      2/27/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        68.79
      2/27/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.93
      2/27/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      2/27/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
      2/27/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      2/27/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/27/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      2/27/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      2/27/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      2/27/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.37
      2/27/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.17
      2/27/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.12
      2/27/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      2/27/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      2/27/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/27/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      2/27/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/27/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/27/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.14
      2/27/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       174.46
      2/27/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.26
      2/27/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.63
      2/27/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.91
      2/27/2016   709   EE0011   Owner Operator   Repair Order                   CTMS - 190004 Repair                167.15
      2/27/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      2/27/2016   709   EE0011   Owner Operator   Truck Payment                  CTMS - 190153 Rental and repai      271.69
      2/27/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/27/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/27/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.09
      2/27/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       361.68
      2/27/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      2/27/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            60
      2/27/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          53.9
      2/27/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          400
      2/27/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      2/27/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/27/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      2/27/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.34
      2/27/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      2/27/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      2/27/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.51
      2/27/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      2/27/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      2/27/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.37
      2/27/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.01
      2/27/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      2/27/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      2/27/2016   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.19
      2/27/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
      2/27/2016   709   GS0015   Owner Operator   Tire Fee                       905-02237887: Q1110                      4
      2/27/2016   709   GS0015   Owner Operator   Tire Purchase                  905-02237887                        157.82
      2/27/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 190049 Lease                 252.11
      2/27/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      2/27/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      2/27/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
      2/27/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      2/27/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/27/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.6
      2/27/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      2/27/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      2/27/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      2/27/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      2/27/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      2/27/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      2/27/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         200
      2/27/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.81
      2/27/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.14
      2/27/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        27.61

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      2/27/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.05
      2/27/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.27
      2/27/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
      2/27/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      2/27/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/27/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      2/27/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      2/27/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      2/27/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      2/27/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.09
      2/27/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.04
      2/27/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      2/27/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      2/27/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/27/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      2/27/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      2/27/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      2/27/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.21
      2/27/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.1
      2/27/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.52
      2/27/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      2/27/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      2/27/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      2/27/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.33
      2/27/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        102.9
      2/27/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      2/27/2016   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      2/27/2016   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      2/27/2016   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/27/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/27/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.99
      2/27/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.23
      2/27/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.82
      2/27/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.17
      2/27/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.98
      2/27/2016   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
      2/27/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      2/27/2016   709   JK0112   Owner Operator   Tire Purchase                  PO: 709-00331382 - PO System        275.03
      2/27/2016   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      2/27/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      2/27/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      2/27/2016   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.74
      2/27/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
      2/27/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      2/27/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      2/27/2016   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.06
      2/27/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      2/27/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      2/27/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
      2/27/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 190016 Truck Lease           278.76
      2/27/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      2/27/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      2/27/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      2/27/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      2/27/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      2/27/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/27/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/27/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.65
      2/27/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.13
      2/27/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       106.88
      2/27/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.93
      2/27/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      2/27/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/27/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      2/27/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      2/27/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/27/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/27/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.26
      2/27/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.53
      2/27/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        44.63
      2/27/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        20.61
      2/27/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      2/27/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      2/27/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      2/27/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      2/27/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                      3.43
      2/27/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-20        260.42
      2/27/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.04
      2/27/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      2/27/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      2/27/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.2
      2/27/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.48
      2/27/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.51
      2/27/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      2/27/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      2/27/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      2/27/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.63
      2/27/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.29
      2/27/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      2/27/2016   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.1
      2/27/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.15
      2/27/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      2/27/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      2/27/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      2/27/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/27/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/27/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        97.46
      2/27/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.69
      2/27/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.11
      2/27/2016   709   MM0093   Owner Operator   Repair Order                   CTMS - 190003 Repair                 178.3
      2/27/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      2/27/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      2/27/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      2/27/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
      2/27/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
      2/27/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      2/27/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        426.2
      2/27/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.86
      2/27/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      2/27/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      2/27/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      2/27/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      2/27/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500

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      2/27/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         0.31
      2/27/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.17
      2/27/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.15
      2/27/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 190153 Lease                 215.66
      2/27/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      2/27/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      2/27/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            40
      2/27/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      2/27/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.03
      2/27/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         195
      2/27/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.97
      2/27/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      2/27/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      2/27/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      2/27/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      2/27/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      2/27/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/27/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/27/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.12
      2/27/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.12
      2/27/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.26
      2/27/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        79.99
      2/27/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.09
      2/27/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.62
      2/27/2016   709   NR0010   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                    132.55
      2/27/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      2/27/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.04
      2/27/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 189828 Tractor Sublease      252.11
      2/27/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 190017 Tractor Sublease      252.11
      2/27/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL            8.75
      2/27/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   9564 1995 Freightliner NTL             -35
      2/27/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL           8.75
      2/27/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
      2/27/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
      2/27/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
      2/27/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
      2/27/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware Q1109                         8
      2/27/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware Q1109                         8
      2/27/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                        41.94
      2/27/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD            28.11
      2/27/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                9564 1995 Freightliner PD           -112.5
      2/27/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           39.07
      2/27/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      2/27/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      2/27/2016   709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.29
      2/27/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.53
      2/27/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.91
      2/27/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   RC0030   Owner Operator   Permits                        CUST:2016 - 33676                     101
      2/27/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.15
      2/27/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      2/27/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.04
      2/27/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      2/27/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 190017 Down Payment lo       303.55
      2/27/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  51.69
      2/27/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/27/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          300
      2/27/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      2/27/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       481.15

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      2/27/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.53
      2/27/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.44
      2/27/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.05
      2/27/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      2/27/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      2/27/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.17
      2/27/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.29
      2/27/2016   709   RL0017   Owner Operator   Repair Order                   CTMS - 190003 Repair                234.83
      2/27/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System        463.04
      2/27/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        96.08
      2/27/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.46
      2/27/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      2/27/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      2/27/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.09
      2/27/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.58
      2/27/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 33664                     100
      2/27/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      2/27/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      2/27/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      2/27/2016   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.21
      2/27/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.64
      2/27/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      2/27/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      2/27/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
      2/27/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 190016 Q1202 Truck Leas      278.76
      2/27/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      2/27/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      2/27/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.49
      2/27/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.51
      2/27/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       364.78
      2/27/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.51
      2/27/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      2/27/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2015 - Q1248                    31.68
      2/27/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.07
      2/27/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      2/27/2016   709   RR0123   Owner Operator   Repair Order                   CTMS - 189930 repair                    70
      2/27/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 190053 Q1248                 311.97
      2/27/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      2/27/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      2/27/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      2/27/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.36
      2/27/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        19.38
      2/27/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.91
      2/27/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.53
      2/27/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.23
      2/27/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.68
      2/27/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.75
      2/27/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      2/27/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      2/27/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      2/27/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      2/27/2016   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/27/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/27/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/27/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/27/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        76.63
      2/27/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.92
      2/27/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         46.6
      2/27/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.06
      2/27/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      2/27/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75

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      2/27/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      2/27/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        88.87
      2/27/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.69
      2/27/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      2/27/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 190154 Tractor Sub leas      242.03
      2/27/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      2/27/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      2/27/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      2/27/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          120
      2/27/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
      2/27/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.97
      2/27/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.62
      2/27/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.19
      2/27/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      2/27/2016   709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00331773 - PO System         188.9
      2/27/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      2/27/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 46.26
      2/27/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      2/27/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      2/27/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                        13
      2/27/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                        13
      2/27/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                        13
      2/27/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.76
      2/27/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.01
      2/27/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.13
      2/27/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.04
      2/27/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 190017 Tractor Sublease      252.11
      2/27/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      2/27/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      2/27/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      2/27/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      2/27/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.68
      2/27/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       125.09
      2/27/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.25
      2/27/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      2/27/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      2/27/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      2/27/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.31
      2/27/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.63
      2/27/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       374.84
      2/27/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.54
      2/27/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      2/27/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      2/27/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      2/27/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.9
      2/27/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.66
      2/27/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.12
      2/27/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.98
      2/27/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.75
      2/27/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
      2/27/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      2/27/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      2/27/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL              8.75
      2/27/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                      4.95
      2/27/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      2/27/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        179.9
      2/27/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        54.19
      2/27/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.81
      2/27/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      2/27/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      2/27/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD              24.61
      2/27/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         2.5
      2/27/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      2/27/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75

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      2/27/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      2/27/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      2/27/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      2/27/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      2/27/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      2/27/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      2/27/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             41.19
      2/27/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
      2/27/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      2/27/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      2/27/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        0.06
      2/27/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      2/27/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      2/27/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      2/27/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.67
      2/27/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.43
      2/27/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.65
      2/27/2016   742   KJ0045   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                      58.1
      2/27/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.86
      2/27/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      2/27/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      2/27/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      2/27/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      2/27/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.57
      2/27/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      2/27/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      2/27/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      2/27/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      2/27/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.66
      2/27/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        94.95
      2/27/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        162.9
      2/27/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      2/27/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      2/27/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      2/27/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      2/27/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      2/27/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      2/27/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      2/27/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.56
      2/27/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.96
      2/27/2016   742   NG0024   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     70.83
      2/27/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            1.63
      2/27/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
      2/27/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      2/27/2016   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      2/27/2016   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      2/27/2016   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.36
      2/27/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.66
      2/27/2016   742   PS0080   Owner Operator   FUEL TAX                       Dec15 Fuel Taxes                     48.69
      2/27/2016   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      2/27/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     66.4
      2/27/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      2/27/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      2/27/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      2/27/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      2/27/2016   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      2/27/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.03
      2/27/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      2/27/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      2/27/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      2/27/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
      2/27/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5

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      3/5/2016    709   AN0007   Owner Operator   AP Invoice Deductions          Comdata-Mastercard Pmts Only          82.5
      3/5/2016    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      3/5/2016    709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
      3/5/2016    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      3/5/2016    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      3/5/2016    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      3/5/2016    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.08
      3/5/2016    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      3/5/2016    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      3/5/2016    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      3/5/2016    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
      3/5/2016    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      3/5/2016    709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.41
      3/5/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.93
      3/5/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.63
      3/5/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.3
      3/5/2016    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      3/5/2016    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      3/5/2016    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      3/5/2016    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00331094 - PO System        145.75
      3/5/2016    709   AR0064   Owner Operator   Truck Payment                  CTMS - 190263 Trck Lease            353.28
      3/5/2016    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/5/2016    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      3/5/2016    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      3/5/2016    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/5/2016    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/5/2016    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.67
      3/5/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.48
      3/5/2016    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      3/5/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      3/5/2016    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      3/5/2016    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      3/5/2016    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
      3/5/2016    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      3/5/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.71
      3/5/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.21
      3/5/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.95
      3/5/2016    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      3/5/2016    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      3/5/2016    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      3/5/2016    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                  12.5
      3/5/2016    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      3/5/2016    709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.83
      3/5/2016    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      3/5/2016    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - Q1201                    31.68
      3/5/2016    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      3/5/2016    709   CS0091   Owner Operator   Truck Payment                  CTMS - 190228 Q1201                 278.76
      3/5/2016    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      3/5/2016    709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                  12.5
      3/5/2016    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      3/5/2016    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
      3/5/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/5/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/5/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.74
      3/5/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        41.07
      3/5/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       121.91
      3/5/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.5
      3/5/2016    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      3/5/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      3/5/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 190230 Q1104                 252.11
      3/5/2016    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75

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      3/5/2016    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5
      3/5/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      3/5/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.06
      3/5/2016    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      3/5/2016    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      3/5/2016    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      3/5/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 190184 Sublease              338.99
      3/5/2016    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      3/5/2016    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/5/2016    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                  12.5
      3/5/2016    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      3/5/2016    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-12       -29.25
      3/5/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      3/5/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      3/5/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.62
      3/5/2016    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      3/5/2016    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      3/5/2016    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      3/5/2016    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.79
      3/5/2016    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      3/5/2016    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      3/5/2016    709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  12.5
      3/5/2016    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      3/5/2016    709   DW0138   Owner Operator   ESCROW                         Weekly Escrow                         100
      3/5/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.72
      3/5/2016    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      3/5/2016    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      3/5/2016    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      3/5/2016    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/5/2016    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                  12.5
      3/5/2016    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      3/5/2016    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      3/5/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/5/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/5/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       420.18
      3/5/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.47
      3/5/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.61
      3/5/2016    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      3/5/2016    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      3/5/2016    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/5/2016    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                  12.5
      3/5/2016    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      3/5/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/5/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/5/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.99
      3/5/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.83
      3/5/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.48
      3/5/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.08
      3/5/2016    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      3/5/2016    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      3/5/2016    709   EE0011   Owner Operator   Truck Payment                  CTMS - 190331 Rental and repai      271.69
      3/5/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/5/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.37
      3/5/2016    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         0.18
      3/5/2016    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      3/5/2016    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      3/5/2016    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      3/5/2016    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      3/5/2016    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                  12.5
      3/5/2016    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                  12.5
      3/5/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      3/5/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      3/5/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8

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      3/5/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      3/5/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      3/5/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      3/5/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      3/5/2016    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.79
      3/5/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.85
      3/5/2016    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         20.1
      3/5/2016    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      3/5/2016    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.86
      3/5/2016    709   FS0039   Owner Operator   Truck Payment                  CTMS - 190265 truck lease 3304      434.29
      3/5/2016    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      3/5/2016    709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
      3/5/2016    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      3/5/2016    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      3/5/2016    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   FT0004   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/5/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
      3/5/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          46.1
      3/5/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      3/5/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            25
      3/5/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/5/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            25
      3/5/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
      3/5/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
      3/5/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      3/5/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      3/5/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.21
      3/5/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.69
      3/5/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.94
      3/5/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.22
      3/5/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.32
      3/5/2016    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      3/5/2016    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      3/5/2016    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      3/5/2016    709   FT0004   Owner Operator   Repair Order                   CTMS - 190003 Repair                  250
      3/5/2016    709   FT0004   Owner Operator   Truck Payment                  CTMS - 190055 73129                 181.08
      3/5/2016    709   FT0004   Owner Operator   Truck Payment                  CTMS - 190230 73129                 181.08
      3/5/2016    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      3/5/2016    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
      3/5/2016    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      3/5/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.24
      3/5/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         327
      3/5/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.24
      3/5/2016    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      3/5/2016    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      3/5/2016    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                  12.5
      3/5/2016    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      3/5/2016    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.54
      3/5/2016    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      3/5/2016    709   GS0015   Owner Operator   Tire Purchase                  905-02237887                        157.82
      3/5/2016    709   GS0015   Owner Operator   Truck Payment                  CTMS - 190225 Lease                 252.11
      3/5/2016    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      3/5/2016    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      3/5/2016    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      3/5/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/5/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.67
      3/5/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.08
      3/5/2016    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      3/5/2016    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      3/5/2016    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75

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      3/5/2016    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      3/5/2016    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      3/5/2016    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      3/5/2016    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        96.63
      3/5/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.62
      3/5/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       115.61
      3/5/2016    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      3/5/2016    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      3/5/2016    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      3/5/2016    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/5/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         30.77
      3/5/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.31
      3/5/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        103.3
      3/5/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.65
      3/5/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.09
      3/5/2016    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      3/5/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      3/5/2016    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      3/5/2016    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      3/5/2016    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      3/5/2016    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      3/5/2016    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      3/5/2016    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          200
      3/5/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/5/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.39
      3/5/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.31
      3/5/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.05
      3/5/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        35.39
      3/5/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.66
      3/5/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.44
      3/5/2016    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      3/5/2016    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      3/5/2016    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/5/2016    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      3/5/2016    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      3/5/2016    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1500
      3/5/2016    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      3/5/2016    709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1500
      3/5/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/5/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/5/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.62
      3/5/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.55
      3/5/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.24
      3/5/2016    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      3/5/2016    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      3/5/2016    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/5/2016    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
      3/5/2016    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      3/5/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      3/5/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/5/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      3/5/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.96
      3/5/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.62
      3/5/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.82
      3/5/2016    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      3/5/2016    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      3/5/2016    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      3/5/2016    709   JG0092   Owner Operator   Broker Pre Pass                33595 PrePass Device                  12.5
      3/5/2016    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5
      3/5/2016    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200

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      3/5/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.35
      3/5/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       429.04
      3/5/2016    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      3/5/2016    709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      3/5/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/5/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.75
      3/5/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.47
      3/5/2016    709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      3/5/2016    709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      3/5/2016    709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       592.54
      3/5/2016    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      3/5/2016    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
      3/5/2016    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      3/5/2016    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       103.76
      3/5/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       115.61
      3/5/2016    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      3/5/2016    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      3/5/2016    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
      3/5/2016    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      3/5/2016    709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      3/5/2016    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68
      3/5/2016    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      3/5/2016    709   JR0099   Owner Operator   Truck Payment                  CTMS - 190190 Truck Lease           278.76
      3/5/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      3/5/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      3/5/2016    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
      3/5/2016    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      3/5/2016    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      3/5/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/5/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.73
      3/5/2016    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      3/5/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      3/5/2016    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/5/2016    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      3/5/2016    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      3/5/2016    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      3/5/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/5/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.71
      3/5/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           16
      3/5/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      3/5/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.42
      3/5/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.01
      3/5/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        33.33
      3/5/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.11
      3/5/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       104.89
      3/5/2016    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      3/5/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      3/5/2016    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      3/5/2016    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      3/5/2016    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                  12.5
      3/5/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                      4.57
      3/5/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      3/5/2016    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      3/5/2016    709   LL0160   Owner Operator   Repair Order                   CTMS - 190004 Repairs                251.1
      3/5/2016    709   LL0160   Owner Operator   Tire Fee                       Tire Fee: 1902340                        4
      3/5/2016    709   LL0160   Owner Operator   Tire Purchase                  PO: 709-00332653 - PO System         45.96
      3/5/2016    709   LL0160   Owner Operator   Truck Payment                  CTMS - 190117 Lease Q1111           252.11
      3/5/2016    709   LL0160   Owner Operator   Truck Payment                  CTMS - 190299 Lease Q1111           252.11
      3/5/2016    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      3/5/2016    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                  12.5

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      3/5/2016    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      3/5/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/5/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.79
      3/5/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.08
      3/5/2016    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      3/5/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      3/5/2016    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      3/5/2016    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                 12.5
      3/5/2016    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      3/5/2016    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/5/2016    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/5/2016    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.54
      3/5/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        90.65
      3/5/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        92.42
      3/5/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.41
      3/5/2016    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   MB0048   Owner Operator   Permits                        OR16:2016 - 21727B                       8
      3/5/2016    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      3/5/2016    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      3/5/2016    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.01
      3/5/2016    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      3/5/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      3/5/2016    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      3/5/2016    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                  12.5
      3/5/2016    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      3/5/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/5/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        60.26
      3/5/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.05
      3/5/2016    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      3/5/2016    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      3/5/2016    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      3/5/2016    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                  12.5
      3/5/2016    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      3/5/2016    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
      3/5/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          180
      3/5/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.8
      3/5/2016    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.92
      3/5/2016    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      3/5/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      3/5/2016    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      3/5/2016    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      3/5/2016    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                  12.5
      3/5/2016    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      3/5/2016    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
      3/5/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.85
      3/5/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.23
      3/5/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.13
      3/5/2016    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      3/5/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 190333 Lease                 215.66
      3/5/2016    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      3/5/2016    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                 12.5
      3/5/2016    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      3/5/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          240
      3/5/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.4
      3/5/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.03
      3/5/2016    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      3/5/2016    709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      3/5/2016    709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                  12.5
      3/5/2016    709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      3/5/2016    709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.94
      3/5/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         152

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      3/5/2016    709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      3/5/2016    709   NR0010   Owner Operator   Truck Payment                  CTMS - 190188 Tractor Sublease      252.11
      3/5/2016    709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL           8.75
      3/5/2016    709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL           8.75
      3/5/2016    709   NT9564   Owner Operator   Broker Pre Pass                Q1109 PrePass Device                  12.5
      3/5/2016    709   NT9564   Owner Operator   Communication Charge           PNet Hware Q1109                         8
      3/5/2016    709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-12         -130
      3/5/2016    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   NT9564   Owner Operator   Permits1                       ID06:2016 - Q1109                       11
      3/5/2016    709   NT9564   Owner Operator   Permits1                       IL02:2016 - Q1109                     3.75
      3/5/2016    709   NT9564   Owner Operator   Permits1                       NM07:2016 - Q1109                      5.5
      3/5/2016    709   NT9564   Owner Operator   Permits1                       NY13:2016 - Q1109                       19
      3/5/2016    709   NT9564   Owner Operator   Permits1                       OR16:2016 - Q1109                        8
      3/5/2016    709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           39.07
      3/5/2016    709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           39.07
      3/5/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      3/5/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      3/5/2016    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.21
      3/5/2016    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   RC0030   Owner Operator   Permits                        CUST:2016 - 33676                      101
      3/5/2016    709   RC0030   Owner Operator   Permits                        ID06:2016 - 33676                       11
      3/5/2016    709   RC0030   Owner Operator   Permits                        NM07:2016 - 33676                      5.5
      3/5/2016    709   RC0030   Owner Operator   Permits                        NY13:2016 - 33676                       19
      3/5/2016    709   RC0030   Owner Operator   Permits                        OR16:2016 - 33676                        8
      3/5/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      3/5/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      3/5/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      3/5/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      3/5/2016    709   RC0030   Owner Operator   Truck Payment                  CTMS - 190189 Down Payment lo       303.55
      3/5/2016    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      3/5/2016    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/5/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      3/5/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      3/5/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.17
      3/5/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.66
      3/5/2016    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      3/5/2016    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      3/5/2016    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      3/5/2016    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                 12.5
      3/5/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.36
      3/5/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.44
      3/5/2016    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      3/5/2016    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/5/2016    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/5/2016    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      3/5/2016    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      3/5/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/5/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/5/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.29
      3/5/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.75
      3/5/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.07
      3/5/2016    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.13
      3/5/2016    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      3/5/2016    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       416.08
      3/5/2016    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      3/5/2016    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      3/5/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      3/5/2016    709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                  12.5
      3/5/2016    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      3/5/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.35
      3/5/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.87
      3/5/2016    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2015 - 33664                     9.58
      3/5/2016    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      3/5/2016    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75

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      3/5/2016    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                  12.5
      3/5/2016    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      3/5/2016    709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.25
      3/5/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.55
      3/5/2016    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      3/5/2016    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      3/5/2016    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      3/5/2016    709   RP0082   Owner Operator   Truck Payment                  CTMS - 190190 Q1202 Truck Leas      278.76
      3/5/2016    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      3/5/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.78
      3/5/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.73
      3/5/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        64.78
      3/5/2016    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      3/5/2016    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2015 - Q1248                    31.68
      3/5/2016    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      3/5/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      3/5/2016    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      3/5/2016    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                  12.5
      3/5/2016    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      3/5/2016    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      3/5/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/5/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.57
      3/5/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        26.11
      3/5/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       116.72
      3/5/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.71
      3/5/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.47
      3/5/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.71
      3/5/2016    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      3/5/2016    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      3/5/2016    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      3/5/2016    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      3/5/2016    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/5/2016    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/5/2016    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        94.63
      3/5/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.46
      3/5/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.19
      3/5/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       108.36
      3/5/2016    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      3/5/2016    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      3/5/2016    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                  12.5
      3/5/2016    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      3/5/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.06
      3/5/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.91
      3/5/2016    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      3/5/2016    709   VB0015   Owner Operator   Truck Payment                  CTMS - 190334 Tractor Sub leas      242.03
      3/5/2016    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      3/5/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/5/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          120
      3/5/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
      3/5/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        211.2
      3/5/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       127.01
      3/5/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.91
      3/5/2016    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      3/5/2016    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      3/5/2016    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      3/5/2016    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      3/5/2016    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      3/5/2016    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      3/5/2016    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  9.99

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      3/5/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      3/5/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      3/5/2016    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      3/5/2016    709   WH0087   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                  12.5
      3/5/2016    709   WH0087   Owner Operator   Communication Charge           PNet Hware Q1113                        13
      3/5/2016    709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.4
      3/5/2016    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
      3/5/2016    709   WH0087   Owner Operator   Truck Payment                  CTMS - 190188 Tractor Sublease      252.11
      3/5/2016    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      3/5/2016    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      3/5/2016    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      3/5/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/5/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/5/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/5/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/5/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/5/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        141.4
      3/5/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.96
      3/5/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.57
      3/5/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.51
      3/5/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.14
      3/5/2016    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      3/5/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      3/5/2016    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      3/5/2016    742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                  12.5
      3/5/2016    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      3/5/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.61
      3/5/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.69
      3/5/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        165.7
      3/5/2016    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      3/5/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      3/5/2016    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/5/2016    742   EN0016   Owner Operator   BOBTAIL INS.                   91 2006 Freightliner NTL               -35
      3/5/2016    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                  12.5
      3/5/2016    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      3/5/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        117.5
      3/5/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.43
      3/5/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.13
      3/5/2016    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      3/5/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      3/5/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD             -98.44
      3/5/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                91 2006 Freightliner PD Terror         -10
      3/5/2016    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      3/5/2016    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      3/5/2016    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      3/5/2016    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      3/5/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      3/5/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      3/5/2016    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      3/5/2016    742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                  12.5
      3/5/2016    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      3/5/2016    742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/5/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.67
      3/5/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.95
      3/5/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.45
      3/5/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.01
      3/5/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        63.64
      3/5/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.37
      3/5/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.35
      3/5/2016    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/5/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      3/5/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      3/5/2016    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      3/5/2016    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      3/5/2016    742   MH0117   Owner Operator   Charge back by affiliate       CTMS - 190287 tank wash               -425
      3/5/2016    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      3/5/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        186.8

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       3/5/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       3/5/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
       3/5/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
       3/5/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
       3/5/2016   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
       3/5/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
       3/5/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.91
       3/5/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       3/5/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
       3/5/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
       3/5/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       3/5/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       3/5/2016   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
       3/5/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
       3/5/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
       3/5/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
       3/5/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
       3/5/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
       3/5/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        107.7
       3/5/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
       3/5/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
       3/5/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       3/5/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.46
       3/5/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.21
       3/5/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.12
       3/5/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        202.4
       3/5/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.83
       3/5/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.87
       3/5/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
       3/5/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
       3/5/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
       3/5/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
       3/5/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
       3/5/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
       3/5/2016   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
       3/5/2016   742   PS0080   Owner Operator   Broker Pre Pass                33584 PrePass Device                  12.5
       3/5/2016   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
       3/5/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.23
       3/5/2016   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       3/5/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
       3/5/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
       3/5/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
       3/5/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.92
       3/5/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.04
       3/5/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.21
       3/5/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
       3/5/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
       3/5/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       3/5/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
       3/5/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
       3/5/2016   771   EN0016   Owner Operator   Permits                        IL02:2016 - 32674                    -3.75
      3/12/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      3/12/2016   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
      3/12/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      3/12/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      3/12/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      3/12/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.47
      3/12/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      3/12/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      3/12/2016   709   AN0007   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      3/12/2016   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
      3/12/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      3/12/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       127.83
      3/12/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.27
      3/12/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        162.9
      3/12/2016   709   AR0064   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 28.77
      3/12/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      3/12/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      3/12/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22

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      3/12/2016   709   AR0064   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 190432 Trck Lease            353.28
      3/12/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/12/2016   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      3/12/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      3/12/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/12/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/12/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        380.3
      3/12/2016   709   CM0119   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 -0.53
      3/12/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      3/12/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      3/12/2016   709   CM0119   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      3/12/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      3/12/2016   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
      3/12/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      3/12/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/12/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/12/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/12/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/12/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       113.22
      3/12/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       129.93
      3/12/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.68
      3/12/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       124.92
      3/12/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       129.04
      3/12/2016   709   CR0064   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 -8.14
      3/12/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      3/12/2016   709   CR0064   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      3/12/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      3/12/2016   709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                  12.5
      3/12/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      3/12/2016   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.52
      3/12/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      3/12/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - Q1201                    31.68
      3/12/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      3/12/2016   709   CS0091   Owner Operator   Repair Order                   CTMS - 190501 Repair                133.81
      3/12/2016   709   CS0091   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 190399 Q1201                 278.76
      3/12/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      3/12/2016   709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                  12.5
      3/12/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      3/12/2016   709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                         250
      3/12/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/12/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/12/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.27
      3/12/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.62
      3/12/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.08
      3/12/2016   709   DJ0028   Owner Operator   FUEL TAX                       January16 Fuel Taxes                136.25
      3/12/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      3/12/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      3/12/2016   709   DJ0028   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 190401 Q1104                 252.11
      3/12/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         12.5
      3/12/2016   709   DL0107   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      3/12/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/12/2016   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                  12.5
      3/12/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      3/12/2016   709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-5          29.25
      3/12/2016   709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-19          -25
      3/12/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      3/12/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      3/12/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.03
      3/12/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.74
      3/12/2016   709   DS0049   Owner Operator   FUEL TAX                       January16 Fuel Taxes                -11.07
      3/12/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35

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      3/12/2016   709   DS0049   Owner Operator   Repair Order                   CTMS - 190362 Repair                 466.24
      3/12/2016   709   DS0049   Owner Operator   Tire Fee                       Tire Fee: 1904409                        16
      3/12/2016   709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00332846 - PO System         329.77
      3/12/2016   709   DS0049   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      3/12/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      3/12/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        297.91
      3/12/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.03
      3/12/2016   709   DS0225   Owner Operator   FUEL TAX                       January16 Fuel Taxes                -181.76
      3/12/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     19.54
      3/12/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
      3/12/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        168.77
      3/12/2016   709   DW0138   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 102.31
      3/12/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      3/12/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
      3/12/2016   709   DW0138   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      3/12/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/12/2016   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                   12.5
      3/12/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      3/12/2016   709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-19           -25
      3/12/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      3/12/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/12/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/12/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.26
      3/12/2016   709   EA0003   Owner Operator   FUEL TAX                       January16 Fuel Taxes                  84.19
      3/12/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      3/12/2016   709   EA0003   Owner Operator   Repair Order                   CTMS - 190501 Repair                  183.2
      3/12/2016   709   EA0003   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      3/12/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/12/2016   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                   12.5
      3/12/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
      3/12/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/12/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/12/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/12/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/12/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        363.02
      3/12/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.25
      3/12/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        130.84
      3/12/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        231.32
      3/12/2016   709   EE0011   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 -36.03
      3/12/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.92
      3/12/2016   709   EE0011   Owner Operator   Repair Order                   CTMS - 190362 Repair                 167.15
      3/12/2016   709   EE0011   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
      3/12/2016   709   EE0011   Owner Operator   Truck Payment                  CTMS - 190512 Rental and repai       271.69
      3/12/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/12/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/12/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/12/2016   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                   12.5
      3/12/2016   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                   12.5
      3/12/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
      3/12/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
      3/12/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
      3/12/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      3/12/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      3/12/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      3/12/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/12/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/12/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/12/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/12/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/12/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/12/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/12/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/12/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/12/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/12/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/12/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2

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      3/12/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/12/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/12/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.98
      3/12/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.63
      3/12/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.31
      3/12/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.46
      3/12/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.09
      3/12/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.16
      3/12/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        20.01
      3/12/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.58
      3/12/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        22.32
      3/12/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.12
      3/12/2016   709   EH0020   Owner Operator   FUEL TAX                       January16 Fuel Taxes                  97.1
      3/12/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.32
      3/12/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      3/12/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93
      3/12/2016   709   EH0020   Owner Operator   Tire Fee                       Tire Fee: 1902850                       16
      3/12/2016   709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00332781 - PO System        358.29
      3/12/2016   709   EH0020   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      3/12/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       170.56
      3/12/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      3/12/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      3/12/2016   709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                  12.5
      3/12/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      3/12/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                          260
      3/12/2016   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.6
      3/12/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.58
      3/12/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.09
      3/12/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.59
      3/12/2016   709   FS0039   Owner Operator   FUEL TAX                       January16 Fuel Taxes                  8.77
      3/12/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      3/12/2016   709   FS0039   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 190434 truck lease 3304      434.29
      3/12/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      3/12/2016   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
      3/12/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      3/12/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          400
      3/12/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
      3/12/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
      3/12/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      3/12/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      3/12/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      3/12/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.29
      3/12/2016   709   FT0004   Owner Operator   FUEL TAX                       January16 Fuel Taxes                  1.64
      3/12/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      3/12/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      3/12/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      3/12/2016   709   FT0004   Owner Operator   Repair Order                   CTMS - 190362 Repair                  250
      3/12/2016   709   FT0004   Owner Operator   Repair Order                   CTMS - 190501 Repair                  250
      3/12/2016   709   FT0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                      4.58
      3/12/2016   709   FT0004   Owner Operator   T Chek Fee                     Tractor Repair 73129                457.69
      3/12/2016   709   FT0004   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 190401 73129                 181.08
      3/12/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      3/12/2016   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
      3/12/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      3/12/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.09
      3/12/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      3/12/2016   709   FV0001   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      3/12/2016   709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                  12.5
      3/12/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      3/12/2016   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.6
      3/12/2016   709   GS0015   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 78.11
      3/12/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      3/12/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      3/12/2016   709   GS0015   Owner Operator   Repair Order                   CTMS - 190361 Air Hose                   50
      3/12/2016   709   GS0015   Owner Operator   Tire Purchase                  905-02237887                        157.82
      3/12/2016   709   GS0015   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 190401 Lease                 252.11
      3/12/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      3/12/2016   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                   12.5
      3/12/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      3/12/2016   709   HG0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-19           -25
      3/12/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      3/12/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      3/12/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.98
      3/12/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.49
      3/12/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.77
      3/12/2016   709   HG0007   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 61.48
      3/12/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      3/12/2016   709   HG0007   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      3/12/2016   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                   12.5
      3/12/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      3/12/2016   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/12/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/12/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/12/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.51
      3/12/2016   709   HG0027   Owner Operator   FUEL TAX                       January16 Fuel Taxes                   6.82
      3/12/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      3/12/2016   709   HG0027   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      3/12/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/12/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         27.31
      3/12/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.27
      3/12/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.86
      3/12/2016   709   IR0002   Owner Operator   FUEL TAX                       January16 Fuel Taxes                -32.91
      3/12/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      3/12/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      3/12/2016   709   IR0002   Owner Operator   Repair Order                   CTMS - 190362 Air Filter             86.66
      3/12/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      3/12/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      3/12/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
      3/12/2016   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                   12.5
      3/12/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
      3/12/2016   709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                    -3500
      3/12/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      3/12/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/12/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/12/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.55
      3/12/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        40.66
      3/12/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.91
      3/12/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.94
      3/12/2016   709   JC0292   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 55.56
      3/12/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      3/12/2016   709   JC0292   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      3/12/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/12/2016   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                   12.5
      3/12/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      3/12/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      3/12/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/12/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/12/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/12/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/12/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.11
      3/12/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.13
      3/12/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.57
      3/12/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      3/12/2016   709   JG0017   Owner Operator   Repair Order                   CTMS - 190502 Repair                280.81
      3/12/2016   709   JG0017   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6

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      3/12/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/12/2016   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
      3/12/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      3/12/2016   709   JG0072   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-19       -20.97
      3/12/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/12/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/12/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/12/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/12/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/12/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/12/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.91
      3/12/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.02
      3/12/2016   709   JG0072   Owner Operator   FUEL TAX                       January16 Fuel Taxes                203.76
      3/12/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      3/12/2016   709   JG0072   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      3/12/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      3/12/2016   709   JG0092   Owner Operator   Broker Pre Pass                33595 PrePass Device                  12.5
      3/12/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.09
      3/12/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.84
      3/12/2016   709   JG0092   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 12.38
      3/12/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      3/12/2016   709   JG0092   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   JG0092   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      3/12/2016   709   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
      3/12/2016   709   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
      3/12/2016   709   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
      3/12/2016   709   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
      3/12/2016   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      3/12/2016   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/12/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/12/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/12/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/12/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/12/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/12/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/12/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/12/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.6
      3/12/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.79
      3/12/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.36
      3/12/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.55
      3/12/2016   709   JK0112   Owner Operator   FUEL TAX                       January16 Fuel Taxes                  80.8
      3/12/2016   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      3/12/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      3/12/2016   709   JK0112   Owner Operator   Tire Purchase                  PO: 709-00331382 - PO System        107.77
      3/12/2016   709   JK0112   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   JK0112   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      3/12/2016   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        42.86
      3/12/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      3/12/2016   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
      3/12/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      3/12/2016   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       106.38
      3/12/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.68
      3/12/2016   709   JQ0015   Owner Operator   FUEL TAX                       January16 Fuel Taxes                145.93
      3/12/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      3/12/2016   709   JQ0015   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      3/12/2016   709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
      3/12/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      3/12/2016   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   709   JR0099   Owner Operator   FUEL TAX                       January16 Fuel Taxes                142.65
      3/12/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      3/12/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                    31.68

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      3/12/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      3/12/2016   709   JR0099   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 190370 Truck Lease           278.76
      3/12/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      3/12/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      3/12/2016   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
      3/12/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      3/12/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      3/12/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          300
      3/12/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      3/12/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.35
      3/12/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.29
      3/12/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      3/12/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      3/12/2016   709   JS0265   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/12/2016   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      3/12/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      3/12/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      3/12/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/12/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/12/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/12/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/12/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.6
      3/12/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       110.16
      3/12/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        96.06
      3/12/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.52
      3/12/2016   709   KP0004   Owner Operator   FUEL TAX                       January16 Fuel Taxes                154.07
      3/12/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      3/12/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      3/12/2016   709   KP0004   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      3/12/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      3/12/2016   709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                  12.5
      3/12/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      3/12/2016   709   LL0160   Owner Operator   FUEL TAX                       January16 Fuel Taxes                245.74
      3/12/2016   709   LL0160   Owner Operator   FUEL TAX                       January16 Fuel Taxes                  8.68
      3/12/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      3/12/2016   709   LL0160   Owner Operator   Repair Order                   CTMS - 190362 Repair                 251.1
      3/12/2016   709   LL0160   Owner Operator   Repair Order                   CTMS - 190501 Repair                 251.1
      3/12/2016   709   LL0160   Owner Operator   Tire Purchase                  PO: 709-00332653 - PO System         45.96
      3/12/2016   709   LL0160   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 190471 Lease Q1111           252.11
      3/12/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      3/12/2016   709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                  12.5
      3/12/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      3/12/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       463.23
      3/12/2016   709   LS0023   Owner Operator   FUEL TAX                       January16 Fuel Taxes                164.69
      3/12/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      3/12/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      3/12/2016   709   LS0023   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      3/12/2016   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                 12.5
      3/12/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      3/12/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       115.95
      3/12/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      3/12/2016   709   MB0048   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      3/12/2016   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         210
      3/12/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.01
      3/12/2016   709   MG0067   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 49.38
      3/12/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      3/12/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      3/12/2016   709   MG0067   Owner Operator   Tire Fee                       Tire Fee: 1904374                        8
      3/12/2016   709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00329197 - PO System        189.87

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      3/12/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      3/12/2016   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                   12.5
      3/12/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      3/12/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      3/12/2016   709   MM0093   Owner Operator   Repair Order                   CTMS - 190362 Repair                 178.3
      3/12/2016   709   MM0093   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      3/12/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      3/12/2016   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                   12.5
      3/12/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      3/12/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      3/12/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           120
      3/12/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.2
      3/12/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.78
      3/12/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      3/12/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      3/12/2016   709   MP0035   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      3/12/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      3/12/2016   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                   12.5
      3/12/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      3/12/2016   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                    -3500
      3/12/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      3/12/2016   709   NB0029   Owner Operator   Express Check                  T-Check Payment                       3500
      3/12/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.29
      3/12/2016   709   NB0029   Owner Operator   FUEL TAX                       January16 Fuel Taxes                103.81
      3/12/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      3/12/2016   709   NB0029   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 190514 Lease                 215.66
      3/12/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      3/12/2016   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                  12.5
      3/12/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      3/12/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/12/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/12/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.81
      3/12/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          205
      3/12/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      3/12/2016   709   NG0005   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD             12.5
      3/12/2016   709   NR0010   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL            8.75
      3/12/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL            8.75
      3/12/2016   709   NT9564   Owner Operator   Broker Pre Pass                Q1109 PrePass Device                   12.5
      3/12/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware Q1109                          8
      3/12/2016   709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-5            130
      3/12/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/12/2016   709   NT9564   Owner Operator   FUEL TAX                       January16 Fuel Taxes                   2.07
      3/12/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           39.07
      3/12/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           39.07
      3/12/2016   709   NT9564   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      3/12/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      3/12/2016   709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/12/2016   709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/12/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.54
      3/12/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   RC0030   Owner Operator   Permits                        CUST:2016 - 33676                      101
      3/12/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      3/12/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      3/12/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      3/12/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      3/12/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 190370 Down Payment lo       303.55
      3/12/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.7
      3/12/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/12/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      3/12/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      3/12/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.94
      3/12/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.54

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      3/12/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.1
      3/12/2016   709   RC0089   Owner Operator   FUEL TAX                       January16 Fuel Taxes                -13.61
      3/12/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      3/12/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      3/12/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      3/12/2016   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                 12.5
      3/12/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.77
      3/12/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.99
      3/12/2016   709   RL0017   Owner Operator   FUEL TAX                       January16 Fuel Taxes                322.96
      3/12/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      3/12/2016   709   RL0017   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/12/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      3/12/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.93
      3/12/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.32
      3/12/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        15.38
      3/12/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.23
      3/12/2016   709   RL0062   Owner Operator   FUEL TAX                       January16 Fuel Taxes                170.43
      3/12/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      3/12/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      3/12/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      3/12/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      3/12/2016   709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                  12.5
      3/12/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      3/12/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.96
      3/12/2016   709   RM0026   Owner Operator   FUEL TAX                       January16 Fuel Taxes                105.74
      3/12/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      3/12/2016   709   RM0026   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      3/12/2016   709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                  12.5
      3/12/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      3/12/2016   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.37
      3/12/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.89
      3/12/2016   709   RP0082   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 15.99
      3/12/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      3/12/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      3/12/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      3/12/2016   709   RP0082   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 190370 Q1202 Truck Leas      278.76
      3/12/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      3/12/2016   709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                  12.5
      3/12/2016   709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                  12.5
      3/12/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      3/12/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      3/12/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.61
      3/12/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.65
      3/12/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.71
      3/12/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       362.89
      3/12/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      3/12/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2015 - Q1248                    31.68
      3/12/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      3/12/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      3/12/2016   709   RR0123   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 190228 Q1248                 311.97
      3/12/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 190399 Q1248                 311.97
      3/12/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      3/12/2016   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                  12.5
      3/12/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      3/12/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      3/12/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.73
      3/12/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.8
      3/12/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.75
      3/12/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.36
      3/12/2016   709   SB0009   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 47.49

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      3/12/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
      3/12/2016   709   SB0009   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
      3/12/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      3/12/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
      3/12/2016   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/12/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/12/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/12/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/12/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/12/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        229.07
      3/12/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        101.36
      3/12/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        268.28
      3/12/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         92.64
      3/12/2016   709   SN0019   Owner Operator   FUEL TAX                       January16 Fuel Taxes                  89.51
      3/12/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
      3/12/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
      3/12/2016   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                   12.5
      3/12/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      3/12/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.4
      3/12/2016   709   VB0015   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 311.02
      3/12/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
      3/12/2016   709   VB0015   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 190515 Tractor Sub leas       242.03
      3/12/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      3/12/2016   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                   12.5
      3/12/2016   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                   12.5
      3/12/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
      3/12/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
      3/12/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      3/12/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      3/12/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         90.32
      3/12/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         76.89
      3/12/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        182.91
      3/12/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        148.12
      3/12/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        137.47
      3/12/2016   709   VJ0006   Owner Operator   FUEL TAX                       January16 Fuel Taxes                  62.39
      3/12/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
      3/12/2016   709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00331773 - PO System          188.9
      3/12/2016   709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00331773 - PO System          188.9
      3/12/2016   709   VJ0006   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
      3/12/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      3/12/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      3/12/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
      3/12/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      3/12/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
      3/12/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             -35
      3/12/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
      3/12/2016   709   WH0087   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                   12.5
      3/12/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
      3/12/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/12/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.71
      3/12/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.65
      3/12/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.23
      3/12/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        194.89
      3/12/2016   709   WH0087   Owner Operator   FUEL TAX                       January16 Fuel Taxes                   0.94
      3/12/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                     10.58
      3/12/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2015 - Q1239                     31.68
      3/12/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/12/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.07
      3/12/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD          -156.25
      3/12/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD               60.47
      3/12/2016   709   WH0087   Owner Operator   Toll Charges                   PrePass Device refund                 -12.5
      3/12/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 190369 Tractor Sublease       252.11
      3/12/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 190425 Q1238 Lease            311.97
      3/12/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 45.34
      3/12/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5

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      3/12/2016   742   AP0047   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      3/12/2016   742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                  12.5
      3/12/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      3/12/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.53
      3/12/2016   742   BS0078   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 64.45
      3/12/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      3/12/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      3/12/2016   742   BS0078   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      3/12/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      3/12/2016   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      3/12/2016   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      3/12/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      3/12/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      3/12/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.32
      3/12/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        97.87
      3/12/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.78
      3/12/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.35
      3/12/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.27
      3/12/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       117.49
      3/12/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.53
      3/12/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.09
      3/12/2016   742   ED0041   Owner Operator   FUEL TAX                       January16 Fuel Taxes                  28.8
      3/12/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      3/12/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      3/12/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      3/12/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      3/12/2016   742   ED0041   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   742   EN0016   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         12.5
      3/12/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      3/12/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      3/12/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      3/12/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      3/12/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      3/12/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        35.58
      3/12/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      3/12/2016   742   KJ0045   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      3/12/2016   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      3/12/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      3/12/2016   742   MH0117   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 39.67
      3/12/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      3/12/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      3/12/2016   742   MH0117   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      3/12/2016   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      3/12/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      3/12/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/12/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/12/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.11
      3/12/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.5
      3/12/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       458.53
      3/12/2016   742   NG0024   Owner Operator   FUEL TAX                       January16 Fuel Taxes                175.99
      3/12/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      3/12/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      3/12/2016   742   NG0024   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/12/2016   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
      3/12/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      3/12/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      3/12/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/12/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/12/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.61
      3/12/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.31
      3/12/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.63
      3/12/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.12

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      3/12/2016   742   PC0012   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 163.7
      3/12/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      3/12/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      3/12/2016   742   PC0012   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      3/12/2016   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      3/12/2016   742   PS0080   Owner Operator   Broker Pre Pass                33584 PrePass Device                  12.5
      3/12/2016   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.95
      3/12/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.97
      3/12/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.66
      3/12/2016   742   PS0080   Owner Operator   FUEL TAX                       January16 Fuel Taxes                174.81
      3/12/2016   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      3/12/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      3/12/2016   742   PS0080   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      3/12/2016   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
      3/12/2016   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
      3/12/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      3/12/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      3/12/2016   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   742   RN0054   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/12/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.31
      3/12/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.17
      3/12/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         4.96
      3/12/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.45
      3/12/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.15
      3/12/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.86
      3/12/2016   742   RN0054   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 63.71
      3/12/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      3/12/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      3/12/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/12/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      3/12/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      3/12/2016   742   RN0054   Owner Operator   Repair Order                   CTMS - 190426 repair                    60
      3/12/2016   742   RN0054   Owner Operator   Toll Charges                   PrePass Device refund                -12.5
      3/12/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 190016 Tractor Lease         353.28
      3/12/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 190187 Tractor Lease         353.28
      3/12/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 190372 Tractor Lease         353.28
      3/19/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      3/19/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      3/19/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      3/19/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      3/19/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.1
      3/19/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      3/19/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      3/19/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      3/19/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      3/19/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/19/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.47
      3/19/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.45
      3/19/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      3/19/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.68
      3/19/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      3/19/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 190601 Trck Lease            353.28
      3/19/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/19/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      3/19/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/19/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/19/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.55
      3/19/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.54
      3/19/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.4
      3/19/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      3/19/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      3/19/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      3/19/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      3/19/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      3/19/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/19/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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      3/19/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         50.1
      3/19/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.49
      3/19/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.71
      3/19/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      3/19/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      3/19/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      3/19/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      3/19/2016   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/19/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.47
      3/19/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      3/19/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - Q1201                    31.68
      3/19/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      3/19/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 190579 Q1201                 278.76
      3/19/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      3/19/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.71
      3/19/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.52
      3/19/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      3/19/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      3/19/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      3/19/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      3/19/2016   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5
      3/19/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      3/19/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      3/19/2016   709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-26        -87.7
      3/19/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.37
      3/19/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.74
      3/19/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       441.01
      3/19/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.9
      3/19/2016   709   DL0107   Owner Operator   GARNISHMENT                    Wage Garnishment                    371.11
      3/19/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      3/19/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      3/19/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      3/19/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.68
      3/19/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      3/19/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      3/19/2016   709   DL0107   Owner Operator   Repair Order                   CTMS - 190362 Repair                316.62
      3/19/2016   709   DL0107   Owner Operator   Repair Order                   CTMS - 190501 Repair                316.62
      3/19/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 190366 Sublease              338.99
      3/19/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 190546 Sublease              338.99
      3/19/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      3/19/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/19/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      3/19/2016   709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-12            25
      3/19/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          300
      3/19/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/19/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/19/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      3/19/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.41
      3/19/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       461.24
      3/19/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.83
      3/19/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      3/19/2016   709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00332846 - PO System        329.77
      3/19/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      3/19/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      3/19/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.13
      3/19/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      3/19/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      3/19/2016   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  12.5
      3/19/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      3/19/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      3/19/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.78
      3/19/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.59
      3/19/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.99
      3/19/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.57
      3/19/2016   709   DW0138   Owner Operator   FUEL TAX                       January16 Fuel Taxes                158.85
      3/19/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75

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      3/19/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      3/19/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      3/19/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/19/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      3/19/2016   709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-12            25
      3/19/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      3/19/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/19/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/19/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/19/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/19/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        367.5
      3/19/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.78
      3/19/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      3/19/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      3/19/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/19/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      3/19/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
      3/19/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      3/19/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.15
      3/19/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.51
      3/19/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      3/19/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      3/19/2016   709   EE0011   Owner Operator   Truck Payment                  CTMS - 190680 Rental and repai      271.69
      3/19/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/19/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      3/19/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      3/19/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/19/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/19/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/19/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/19/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.55
      3/19/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.28
      3/19/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      3/19/2016   709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00332781 - PO System        358.29
      3/19/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      3/19/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      3/19/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      3/19/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/19/2016   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                          260
      3/19/2016   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.6
      3/19/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.51
      3/19/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.96
      3/19/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.09
      3/19/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      3/19/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 190602 truck lease 3304      434.29
      3/19/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      3/19/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      3/19/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            40
      3/19/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          240
      3/19/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.4
      3/19/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      3/19/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        149.5
      3/19/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      3/19/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                    31.68
      3/19/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      3/19/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 190580 73129                 181.08
      3/19/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      3/19/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      3/19/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          300
      3/19/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/19/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/19/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      3/19/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.63
      3/19/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.49
      3/19/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      3/19/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      3/19/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13

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      3/19/2016   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/19/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      3/19/2016   709   GS0015   Owner Operator   Tire Purchase                  905-02237887                        157.82
      3/19/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 190581 Lease                 252.11
      3/19/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      3/19/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      3/19/2016   709   HG0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-12            25
      3/19/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          300
      3/19/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      3/19/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.48
      3/19/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         331
      3/19/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      3/19/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      3/19/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      3/19/2016   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/19/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.69
      3/19/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.16
      3/19/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      3/19/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      3/19/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/19/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                        132.65
      3/19/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.33
      3/19/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         242
      3/19/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.68
      3/19/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      3/19/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      3/19/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      3/19/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      3/19/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      3/19/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      3/19/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      3/19/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
      3/19/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      3/19/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.07
      3/19/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.16
      3/19/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      3/19/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      3/19/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/19/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      3/19/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      3/19/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      3/19/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      3/19/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.63
      3/19/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.03
      3/19/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      3/19/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      3/19/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/19/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      3/19/2016   709   JG0072   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-12         20.97
      3/19/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/19/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      3/19/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      3/19/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/19/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.16
      3/19/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.77
      3/19/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        364.9
      3/19/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.39
      3/19/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      3/19/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      3/19/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      3/19/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/19/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/19/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/19/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.45
      3/19/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.06
      3/19/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      3/19/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      61.7
      3/19/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      3/19/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      3/19/2016   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/19/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        126.85
      3/19/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        152.51
      3/19/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/19/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      3/19/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      3/19/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      3/19/2016   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/19/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.36
      3/19/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
      3/19/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.68
      3/19/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/19/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      3/19/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 190551 Truck Lease            278.76
      3/19/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      3/19/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      3/19/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      3/19/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      3/19/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/19/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/19/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/19/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/19/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        142.54
      3/19/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.45
      3/19/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/19/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      3/19/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      3/19/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/19/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      3/19/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      3/19/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           325
      3/19/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           175
      3/19/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.75
      3/19/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3.25
      3/19/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        199.99
      3/19/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         97.94
      3/19/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        117.42
      3/19/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        117.42
      3/19/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.82
      3/19/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/19/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      3/19/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      3/19/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      3/19/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      3/19/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      3/19/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/19/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      3/19/2016   709   LL0160   Owner Operator   Tire Purchase                  PO: 709-00332653 - PO System          45.96
      3/19/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 190641 Lease Q1111            252.11
      3/19/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      3/19/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      3/19/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/19/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/19/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/19/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/19/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        289.37
      3/19/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        192.18
      3/19/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        266.98
      3/19/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/19/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      3/19/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      3/19/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      3/19/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      3/19/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.2
      3/19/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.8
      3/19/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/19/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      3/19/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      3/19/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-26      -1832.37
      3/19/2016   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50

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      3/19/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.03
      3/19/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/19/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      3/19/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      3/19/2016   709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00329197 - PO System         189.87
      3/19/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      3/19/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      3/19/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/19/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/19/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.4
      3/19/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        209.01
      3/19/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/19/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      3/19/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      3/19/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      3/19/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      3/19/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      3/19/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
      3/19/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
      3/19/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.32
      3/19/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/19/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      3/19/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      3/19/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      3/19/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      3/19/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      3/19/2016   709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-26       -1937.8
      3/19/2016   709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-26       -752.56
      3/19/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      3/19/2016   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                           500
      3/19/2016   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      3/19/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        224.05
      3/19/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.05
      3/19/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        134.58
      3/19/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/19/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      3/19/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 190682 Lease                  215.66
      3/19/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      3/19/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      3/19/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/19/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/19/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        133.46
      3/19/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        214.63
      3/19/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/19/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      3/19/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      3/19/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      3/19/2016   709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                   12.5
      3/19/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      3/19/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      3/19/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/19/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/19/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/19/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/19/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        142.98
      3/19/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                          133
      3/19/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        194.81
      3/19/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        198.44
      3/19/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         72.79
      3/19/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        199.87
      3/19/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.47
      3/19/2016   709   NR0010   Owner Operator   FUEL TAX                       January16 Fuel Taxes                  84.75
      3/19/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/19/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/19/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.07
      3/19/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            26.57
      3/19/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 190369 Tractor Sublease       252.11
      3/19/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 190550 Tractor Sublease       252.11
      3/19/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL            8.75
      3/19/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL            8.75
      3/19/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware Q1109                          8
      3/19/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/19/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      3/19/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           39.07
      3/19/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           39.04
      3/19/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 190594 Lease Q1109           252.11
      3/19/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      3/19/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      3/19/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.36
      3/19/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   RC0030   Owner Operator   Permits                        CUST:2016 - 33676                    98.67
      3/19/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      3/19/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      3/19/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      3/19/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      3/19/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 190550 Down Payment lo       303.55
      3/19/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      3/19/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/19/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      3/19/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      3/19/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.89
      3/19/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.66
      3/19/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       447.17
      3/19/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      3/19/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      3/19/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      3/19/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.86
      3/19/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.98
      3/19/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      3/19/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/19/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      3/19/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/19/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/19/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/19/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/19/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.79
      3/19/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.13
      3/19/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.81
      3/19/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      3/19/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      3/19/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      3/19/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      3/19/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      3/19/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.84
      3/19/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.85
      3/19/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      3/19/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      3/19/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      3/19/2016   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/19/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                            20
      3/19/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      3/19/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.47
      3/19/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      3/19/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                    31.68
      3/19/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      3/19/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 190551 Q1202 Truck Leas      278.76
      3/19/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      3/19/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      3/19/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/19/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.72
      3/19/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.15
      3/19/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.95
      3/19/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      3/19/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2015 - Q1248                    31.68
      3/19/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      3/19/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      3/19/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 190579 Q1248                 311.97
      3/19/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        27.52
      3/19/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.87
      3/19/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       279.61

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      3/19/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      3/19/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      3/19/2016   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/19/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/19/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/19/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.37
      3/19/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        93.65
      3/19/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.36
      3/19/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        93.89
      3/19/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      3/19/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      3/19/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      3/19/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.18
      3/19/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      3/19/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 190683 Tractor Sub leas      242.03
      3/19/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      3/19/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      3/19/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      3/19/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      3/19/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      3/19/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.8
      3/19/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      3/19/2016   709   VJ0006   Owner Operator   Tire Purchase                  PO: 709-00331773 - PO System        188.83
      3/19/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      3/19/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      3/19/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      3/19/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      3/19/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      3/19/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      3/19/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      3/19/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      3/19/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/19/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.35
      3/19/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                    10.58
      3/19/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2015 - Q1239                    31.68
      3/19/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
      3/19/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      3/19/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 190575 Q1238 Lease           311.97
      3/19/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      3/19/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      3/19/2016   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      3/19/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      3/19/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      3/19/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/19/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/19/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/19/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/19/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/19/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/19/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.24
      3/19/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.94
      3/19/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        381.1
      3/19/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.64
      3/19/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.99
      3/19/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       109.88
      3/19/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.35
      3/19/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.65
      3/19/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       116.36
      3/19/2016   742   AP0047   Owner Operator   FUEL TAX                       January16 Fuel Taxes                129.71
      3/19/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      3/19/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                51.93
      3/19/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      3/19/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      3/19/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      3/19/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.73
      3/19/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.24

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      3/19/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.89
      3/19/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.13
      3/19/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      3/19/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      3/19/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      3/19/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      3/19/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       110.96
      3/19/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      3/19/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      3/19/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/19/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       121.82
      3/19/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        149.1
      3/19/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.79
      3/19/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      3/19/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      3/19/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      3/19/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      3/19/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      3/19/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      3/19/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      3/19/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      3/19/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      3/19/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      3/19/2016   742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                  12.5
      3/19/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      3/19/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      3/19/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/19/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/19/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.56
      3/19/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.02
      3/19/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.95
      3/19/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.47
      3/19/2016   742   KJ0045   Owner Operator   FUEL TAX                       January16 Fuel Taxes                 52.26
      3/19/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      3/19/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                         11.3
      3/19/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      3/19/2016   742   KJ0045   Owner Operator   Tire Fee                       Tire Fee: 1906089                       32
      3/19/2016   742   KJ0045   Owner Operator   Tire Purchase                  PO: 742-00333055 - PO System         677.2
      3/19/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/19/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/19/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.52
      3/19/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 28.35
      3/19/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      3/19/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         58.9
      3/19/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      3/19/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      3/19/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          500
      3/19/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      3/19/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.61
      3/19/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       435.34
      3/19/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      3/19/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      3/19/2016   742   NG0024   Owner Operator   Repair Order                   CTMS - 190597 repair                    65
      3/19/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/19/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                       110.69
      3/19/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.47
      3/19/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      3/19/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      3/19/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      3/19/2016   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      3/19/2016   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/19/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       427.43
      3/19/2016   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      3/19/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      3/19/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      3/19/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13

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      3/19/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.18
      3/19/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      3/19/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.68
      3/19/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/19/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      3/19/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      3/26/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      3/26/2016   709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 190812 Fuel purchase         -290.5
      3/26/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      3/26/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
      3/26/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      3/26/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      3/26/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      3/26/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/26/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.42
      3/26/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.55
      3/26/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.98
      3/26/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      3/26/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2015 - Q13147                   31.32
      3/26/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      3/26/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/26/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      3/26/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
      3/26/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      3/26/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      3/26/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        28.84
      3/26/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      3/26/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      3/26/2016   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/26/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.85
      3/26/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.89
      3/26/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      3/26/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2015 - Q1201                    31.32
      3/26/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.07
      3/26/2016   709   CS0091   Owner Operator   Repair Order                   CTMS - 190702 Repair                 79.96
      3/26/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 190746 Q1201                 278.76
      3/26/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      3/26/2016   709   DJ0028   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      3/26/2016   709   DJ0028   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      3/26/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/26/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/26/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.6
      3/26/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.6
      3/26/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       108.45
      3/26/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       101.86
      3/26/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.86
      3/26/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      3/26/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      3/26/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      3/26/2016   709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-19          87.7
      3/26/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.65
      3/26/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.76
      3/26/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      3/26/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2015 - Q1245                    31.32
      3/26/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.69
      3/26/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 190709 Sublease              338.99
      3/26/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
      3/26/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/26/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      3/26/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      3/26/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      3/26/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.75
      3/26/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
      3/26/2016   709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00332846 - PO System        329.77
      3/26/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      3/26/2016   709   DS0225   Owner Operator   AP Invoice Deductions          Covestro LLC FKA Bayer Materia       -68.2

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      3/26/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
      3/26/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      386.41
      3/26/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/26/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   19.51
      3/26/2016   709   DS0225   Owner Operator   Tire Fee                       Tire Fee: 1907834                       8
      3/26/2016   709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329967 - PO System      -210.59
      3/26/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                       8.75
      3/26/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                       13
      3/26/2016   709   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-2       -117.8
      3/26/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      278.58
      3/26/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      245.52
      3/26/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.74
      3/26/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                       68.49
      3/26/2016   709   DW0138   Owner Operator   Repair Order                   TRACTOR 33443                          25
      3/26/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                      463.27
      3/26/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      3/26/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
      3/26/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        250
      3/26/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/26/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      3/26/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      288.12
      3/26/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/26/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
      3/26/2016   709   EA0003   Owner Operator   Repair Order                   CTMS - 190702 Repair               188.38
      3/26/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
      3/26/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      3/26/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                       13
      3/26/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         300
      3/26/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
      3/26/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      313.12
      3/26/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      299.42
      3/26/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      221.05
      3/26/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/26/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.91
      3/26/2016   709   EE0011   Owner Operator   Repair Order                   CTMS - 190702 Repair                 130
      3/26/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                      505.27
      3/26/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      3/26/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/26/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      3/26/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       59.03
      3/26/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      310.06
      3/26/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/26/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93
      3/26/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      532.24
      3/26/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL          8.75
      3/26/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                        8
      3/26/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                          50
      3/26/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                      220.17
      3/26/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                      291.09
      3/26/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/26/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD          76.86
      3/26/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL          8.75
      3/26/2016   709   FT0004   Owner Operator   Charge back by affiliate       CTMS - 190736 Fuel purchase           -10
      3/26/2016   709   FT0004   Owner Operator   Charge back by affiliate       CTMS - 190812 Fuel purchase        -10.35
      3/26/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                       13
      3/26/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           10
      3/26/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           25
      3/26/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           30
      3/26/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.3
      3/26/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                     0.25
      3/26/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.1
      3/26/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      176.22
      3/26/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                   10.58
      3/26/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                   31.32
      3/26/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/26/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD          29.51
      3/26/2016   709   FT0004   Owner Operator   Repair Order                   CTMS - 190702 Repair                 250
      3/26/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 190748 73129                181.08
      3/26/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                8.75
      3/26/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                      13
      3/26/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                         300
      3/26/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
      3/26/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                      156.28

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      3/26/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.68
      3/26/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.01
      3/26/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      3/26/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      3/26/2016   709   GS0015   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      3/26/2016   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/26/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        230.4
      3/26/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
      3/26/2016   709   GS0015   Owner Operator   Tire Purchase                  905-02237887                        157.82
      3/26/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 190748 Lease                 252.11
      3/26/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      3/26/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      3/26/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          300
      3/26/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      3/26/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.61
      3/26/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.68
      3/26/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
      3/26/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      3/26/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      3/26/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/26/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/26/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.66
      3/26/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        360.3
      3/26/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      3/26/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      3/26/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/26/2016   709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      3/26/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         21.46
      3/26/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.21
      3/26/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.93
      3/26/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.1
      3/26/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      3/26/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      3/26/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      3/26/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      3/26/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      3/26/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      3/26/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      3/26/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/26/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/26/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/26/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/26/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.12
      3/26/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.96
      3/26/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
      3/26/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      3/26/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/26/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      3/26/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      3/26/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      3/26/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      3/26/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       353.92
      3/26/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.93
      3/26/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      3/26/2016   709   JG0017   Owner Operator   Repair Order                   CTMS - 190702 280.81                280.81
      3/26/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      3/26/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/26/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      3/26/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/26/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      3/26/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      3/26/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/26/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       401.34
      3/26/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.37
      3/26/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22

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      3/26/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      3/26/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      3/26/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/26/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/26/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/26/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        380.24
      3/26/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      61.7
      3/26/2016   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      3/26/2016   709   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      3/26/2016   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      3/26/2016   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      3/26/2016   709   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      3/26/2016   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/26/2016   709   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/26/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/26/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/26/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/26/2016   709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/26/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.52
      3/26/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.78
      3/26/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.01
      3/26/2016   709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.44
      3/26/2016   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
      3/26/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.96
      3/26/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      3/26/2016   709   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      3/26/2016   709   JK0112   Owner Operator   Tire Purchase                  PO: 709-00331382 - PO System          167.2
      3/26/2016   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      3/26/2016   709   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      3/26/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      3/26/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      3/26/2016   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/26/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        130.25
      3/26/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51
      3/26/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      3/26/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      3/26/2016   709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/26/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.67
      3/26/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
      3/26/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2015 - Q1203                     31.32
      3/26/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.58
      3/26/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 190714 Truck Lease            278.76
      3/26/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      3/26/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      3/26/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      3/26/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/26/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/26/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/26/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        343.35
      3/26/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        192.87
      3/26/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.93
      3/26/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      3/26/2016   709   KP0004   Owner Operator   Advance                        Cash Advance Charged In Error          -325
      3/26/2016   709   KP0004   Owner Operator   Advance                        Cash Advance Fee Charged In Er        -3.25
      3/26/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/26/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      3/26/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/26/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             50
      3/26/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/26/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             50
      3/26/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
      3/26/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/26/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
      3/26/2016   709   KP0004   Owner Operator   Fuel Purchase                  Duplicate Fuel Purchase             -117.42
      3/26/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        118.47
      3/26/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.45
      3/26/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.46

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      3/26/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         40.85
      3/26/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      3/26/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      3/26/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      3/26/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      3/26/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      3/26/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.04
      3/26/2016   709   LL0160   Owner Operator   Repair Order                   CTMS - 190702 Repair                  251.1
      3/26/2016   709   LL0160   Owner Operator   Tire Purchase                  PO: 709-00332653 - PO System          45.96
      3/26/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 190822 Lease Q1111            252.11
      3/26/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      3/26/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      3/26/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/26/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/26/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/26/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/26/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.77
      3/26/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        126.73
      3/26/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        183.93
      3/26/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.51
      3/26/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      3/26/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      3/26/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      3/26/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        134.79
      3/26/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        106.21
      3/26/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.29
      3/26/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      3/26/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-19        1832.37
      3/26/2016   709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/26/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          234
      3/26/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        215.06
      3/26/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
      3/26/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      3/26/2016   709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00329197 - PO System         175.28
      3/26/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      3/26/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/26/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/26/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        158.55
      3/26/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         254.4
      3/26/2016   709   MM0093   Owner Operator   Loan Repayment                 Repair 2169931400 S/U Loan         -1764.47
      3/26/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.11
      3/26/2016   709   MM0093   Owner Operator   T Chek Fee                     Tractor Repair 32931                1470.36
      3/26/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      3/26/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      3/26/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      3/26/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      3/26/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.86
      3/26/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      3/26/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      3/26/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      3/26/2016   709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-19         1937.8
      3/26/2016   709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-19         507.22
      3/26/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        165.15
      3/26/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        118.64
      3/26/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        205.41
      3/26/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.15
      3/26/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      3/26/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      3/26/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/26/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/26/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          130
      3/26/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        214.21
      3/26/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.97
      3/26/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75

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      3/26/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      3/26/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/26/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           400
      3/26/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/26/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/26/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
      3/26/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        192.26
      3/26/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        215.57
      3/26/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.04
      3/26/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 190713 Tractor Sublease       252.11
      3/26/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL            8.75
      3/26/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware Q1109                          8
      3/26/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/26/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD            39.04
      3/26/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      3/26/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      3/26/2016   709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/26/2016   709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/26/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.1
      3/26/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.43
      3/26/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.15
      3/26/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      3/26/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.04
      3/26/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      3/26/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 190713 Down Payment lo        303.55
      3/26/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.69
      3/26/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/26/2016   709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
      3/26/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      3/26/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      3/26/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.28
      3/26/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.05
      3/26/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
      3/26/2016   709   RL0017   Owner Operator   AP Invoice Deductions          Covestro LLC FKA Bayer Materia      -206.25
      3/26/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
      3/26/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        268.69
      3/26/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.29
      3/26/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/26/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      3/26/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/26/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/26/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/26/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/26/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        379.97
      3/26/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        100.53
      3/26/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        330.52
      3/26/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.13
      3/26/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      3/26/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.46
      3/26/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      3/26/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
      3/26/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.78
      3/26/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
      3/26/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      3/26/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      3/26/2016   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/26/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.67
      3/26/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                     10.58
      3/26/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2015 - Q1202                     31.32
      3/26/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/26/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.58
      3/26/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 190714 Q1202 Truck Leas       278.76
      3/26/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
      3/26/2016   709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 190736 Trailer wash              -30
      3/26/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
      3/26/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50

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      3/26/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.33
      3/26/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      3/26/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2015 - Q1248                    31.32
      3/26/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.07
      3/26/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      3/26/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      3/26/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      3/26/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      3/26/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      3/26/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      3/26/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      3/26/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/26/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/26/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.29
      3/26/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.07
      3/26/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.79
      3/26/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.94
      3/26/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.85
      3/26/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      3/26/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      3/26/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       284.72
      3/26/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      3/26/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      3/26/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      3/26/2016   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/26/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.49
      3/26/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        41.87
      3/26/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.79
      3/26/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      3/26/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      3/26/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      3/26/2016   709   VB0015   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      3/26/2016   709   VB0015   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      3/26/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.58
      3/26/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.95
      3/26/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      3/26/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      3/26/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      3/26/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      3/26/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      3/26/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      3/26/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      3/26/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      3/26/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.33
      3/26/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.76
      3/26/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.04
      3/26/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.85
      3/26/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      3/26/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      3/26/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      3/26/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      3/26/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      3/26/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      3/26/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      3/26/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      3/26/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      3/26/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/26/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/26/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/26/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.7
      3/26/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                    10.58
      3/26/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2015 - Q1239                    31.32
      3/26/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.04
      3/26/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      3/26/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75

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      3/26/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      3/26/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/26/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      3/26/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/26/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      3/26/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.91
      3/26/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.56
      3/26/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.25
      3/26/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      3/26/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      3/26/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      3/26/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.8
      3/26/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       127.62
      3/26/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.91
      3/26/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.54
      3/26/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      3/26/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      3/26/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      3/26/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.97
      3/26/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
      3/26/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      3/26/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/26/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/26/2016   742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                  12.5
      3/26/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      3/26/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      3/26/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      3/26/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.03
      3/26/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       134.16
      3/26/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.54
      3/26/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.99
      3/26/2016   742   EN0016   Owner Operator   FUEL TAX                       January16 Fuel Taxes                197.38
      3/26/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      3/26/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      3/26/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      3/26/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      3/26/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        406.9
      3/26/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      3/26/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      3/26/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      3/26/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      3/26/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
      3/26/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      3/26/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      3/26/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      3/26/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/26/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.03
      3/26/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.75
      3/26/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.28
      3/26/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.99
      3/26/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.7
      3/26/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.86
      3/26/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      3/26/2016   742   KJ0045   Owner Operator   Tire Purchase                  PO: 742-00333055 - PO System         677.2
      3/26/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      3/26/2016   742   LL0134   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      3/26/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/26/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/26/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.17
      3/26/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      3/26/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      3/26/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      3/26/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      3/26/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      3/26/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      3/26/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.77

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      3/26/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.26
      3/26/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       101.46
      3/26/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.63
      3/26/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.63
      3/26/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.77
      3/26/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      3/26/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      3/26/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      3/26/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      3/26/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      3/26/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      3/26/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       446.87
      3/26/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
      3/26/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      3/26/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      3/26/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      3/26/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      3/26/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      3/26/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        89.31
      3/26/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      3/26/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      3/26/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.73
      3/26/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.69
      3/26/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        64.59
      3/26/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.99
      3/26/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.34
      3/26/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      3/26/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
      3/26/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      3/26/2016   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      3/26/2016   742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      3/26/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.33
      3/26/2016   742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.97
      3/26/2016   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     66.4
      3/26/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      3/26/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      3/26/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.73
      3/26/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.73
      3/26/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.36
      3/26/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.41
      3/26/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      3/26/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2015 - Q13157                   31.32
      3/26/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      3/26/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
      3/26/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      3/26/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 190552 Tractor Lease         353.28
      3/26/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 190715 Tractor Lease         353.28
       4/2/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
       4/2/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
       4/2/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       4/2/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
       4/2/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
       4/2/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
       4/2/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
       4/2/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
       4/2/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.74
       4/2/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.93
       4/2/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
       4/2/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       4/2/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
       4/2/2016   709   AR0064   Owner Operator   Repair Order                   CTMS - 190850 Towing                166.25
       4/2/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 190772 Trck Lease            353.28
       4/2/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 190938 Trck Lease            353.28
       4/2/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       4/2/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
       4/2/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
       4/2/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
       4/2/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       4/2/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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      4/2/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        418.89
      4/2/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        366.46
      4/2/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        391.39
      4/2/2016    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.96
      4/2/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      4/2/2016    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
      4/2/2016    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      4/2/2016    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      4/2/2016    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      4/2/2016    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      4/2/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        212.39
      4/2/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        187.64
      4/2/2016    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.04
      4/2/2016    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
      4/2/2016    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        216.79
      4/2/2016    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      4/2/2016    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
      4/2/2016    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      4/2/2016    709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/2/2016    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.28
      4/2/2016    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                     10.58
      4/2/2016    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
      4/2/2016    709   CS0091   Owner Operator   Truck Payment                  CTMS - 190906 Q1201                  278.76
      4/2/2016    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            8.75
      4/2/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.13
      4/2/2016    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD            46.88
      4/2/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter          2.5
      4/2/2016    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      4/2/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      4/2/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
      4/2/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      4/2/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        347.01
      4/2/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.94
      4/2/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.82
      4/2/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        320.63
      4/2/2016    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                     10.58
      4/2/2016    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
      4/2/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 190869 Sublease               338.99
      4/2/2016    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
      4/2/2016    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/2/2016    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      4/2/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      4/2/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      4/2/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        386.36
      4/2/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        211.62
      4/2/2016    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
      4/2/2016    709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00332846 - PO System         329.77
      4/2/2016    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      4/2/2016    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      4/2/2016    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      4/2/2016    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.93
      4/2/2016    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     19.54
      4/2/2016    709   DS0225   Owner Operator   Tire Fee                       Tire Fee: 1907835                         8
      4/2/2016    709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329967 - PO System         225.83
      4/2/2016    709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329967 - PO System        -210.59
      4/2/2016    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
      4/2/2016    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      4/2/2016    709   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-26          117.8
      4/2/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        274.97
      4/2/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        198.33
      4/2/2016    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      4/2/2016    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
      4/2/2016    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      4/2/2016    709   DW0138   Owner Operator   Workmens Comp. Insurance       Saskatchewan WC 2015                   5.28
      4/2/2016    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75

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      4/2/2016    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      4/2/2016    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/2/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/2/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/2/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/2/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/2/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.74
      4/2/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.24
      4/2/2016    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      4/2/2016    709   EA0003   Owner Operator   Tire Fee                       Tire Fee: 1909253                       16
      4/2/2016    709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00333467 - PO System        315.93
      4/2/2016    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      4/2/2016    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/2/2016    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      4/2/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           180
      4/2/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/2/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/2/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/2/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.8
      4/2/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.14
      4/2/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       110.09
      4/2/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.65
      4/2/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.07
      4/2/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        33.05
      4/2/2016    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      4/2/2016    709   EE0011   Owner Operator   Tire Fee                       Tire Fee: 1909146                       16
      4/2/2016    709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00333354 - PO System        303.83
      4/2/2016    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      4/2/2016    709   EE0011   Owner Operator   Truck Payment                  CTMS - 190859 Rental and repai      271.69
      4/2/2016    709   EE0011   Owner Operator   Truck Payment                  CTMS - 191034 Rental and repai      271.69
      4/2/2016    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/2/2016    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      4/2/2016    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      4/2/2016    709   EH0020   Owner Operator   ESCROW                         Escrow Withdrawal                    -7850
      4/2/2016    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/2/2016    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/2/2016    709   EH0020   Owner Operator   Express Check                  T-Check Payment                       7850
      4/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.79
      4/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.06
      4/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.24
      4/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.07
      4/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.99
      4/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        21.74
      4/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.22
      4/2/2016    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      4/2/2016    709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00332781 - PO System        358.29
      4/2/2016    709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00332781 - PO System        358.29
      4/2/2016    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      4/2/2016    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      4/2/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      4/2/2016    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/2/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.1
      4/2/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.17
      4/2/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.47
      4/2/2016    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      4/2/2016    709   FS0039   Owner Operator   Truck Payment                  CTMS - 190773 truck lease 3304      434.29
      4/2/2016    709   FS0039   Owner Operator   Truck Payment                  CTMS - 190939 truck lease 3304      434.29
      4/2/2016    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      4/2/2016    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      4/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            10
      4/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            60
      4/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            40

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      4/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            15
      4/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
      4/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      4/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      4/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
      4/2/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.08
      4/2/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.26
      4/2/2016    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      4/2/2016    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      4/2/2016    709   FT0004   Owner Operator   Repair Order                   CTMS - 190849 Repair                  250
      4/2/2016    709   FT0004   Owner Operator   Truck Payment                  CTMS - 190909 73129                 181.08
      4/2/2016    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      4/2/2016    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      4/2/2016    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      4/2/2016    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      4/2/2016    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      4/2/2016    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/2/2016    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.97
      4/2/2016    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      4/2/2016    709   GS0015   Owner Operator   Truck Payment                  CTMS - 190909 Lease                 252.11
      4/2/2016    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      4/2/2016    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      4/2/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/2/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.01
      4/2/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.42
      4/2/2016    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      4/2/2016    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      4/2/2016    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      4/2/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.79
      4/2/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.59
      4/2/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        248.6
      4/2/2016    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      4/2/2016    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      4/2/2016    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/2/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         16.58
      4/2/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.17
      4/2/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.85
      4/2/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.82
      4/2/2016    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      4/2/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/2/2016    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      4/2/2016    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      4/2/2016    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      4/2/2016    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      4/2/2016    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      4/2/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.57
      4/2/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.29
      4/2/2016    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      4/2/2016    709   JC0292   Owner Operator   Tire Fee                       Tire Fee: 1907854                        8
      4/2/2016    709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00333146 - PO System        156.12
      4/2/2016    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      4/2/2016    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/2/2016    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      4/2/2016    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      4/2/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      4/2/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/2/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.83
      4/2/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         35.6
      4/2/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.52
      4/2/2016    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      4/2/2016    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      4/2/2016    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      4/2/2016    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/2/2016    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13

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      4/2/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      4/2/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/2/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/2/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/2/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.7
      4/2/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.39
      4/2/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.08
      4/2/2016    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      4/2/2016    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      4/2/2016    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      4/2/2016    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/2/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           280
      4/2/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      4/2/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.03
      4/2/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         71.4
      4/2/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.04
      4/2/2016    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      4/2/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/2/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/2/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/2/2016    709   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/2/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.86
      4/2/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.06
      4/2/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.28
      4/2/2016    709   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.35
      4/2/2016    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      4/2/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        76.75
      4/2/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.92
      4/2/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.99
      4/2/2016    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      4/2/2016    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      4/2/2016    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      4/2/2016    709   JR0099   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/2/2016    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.52
      4/2/2016    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      4/2/2016    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      4/2/2016    709   JR0099   Owner Operator   Truck Payment                  CTMS - 190874 Truck Lease           278.76
      4/2/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      4/2/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      4/2/2016    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      4/2/2016    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      4/2/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/2/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/2/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/2/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/2/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.46
      4/2/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.39
      4/2/2016    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      4/2/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      4/2/2016    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/2/2016    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      4/2/2016    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                    -2500
      4/2/2016    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/2/2016    709   KP0004   Owner Operator   Express Check                  T-Check Payment                       2500
      4/2/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/2/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/2/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.33
      4/2/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       169.13
      4/2/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.07
      4/2/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          176
      4/2/2016    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      4/2/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/2/2016    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      4/2/2016    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      4/2/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                      5.98

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      4/2/2016    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-9        -308.82
      4/2/2016    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      4/2/2016    709   LL0160   Owner Operator   Repair Order                   CTMS - 190849 Repair                  251.1
      4/2/2016    709   LL0160   Owner Operator   Tire Purchase                  PO: 709-00332653 - PO System          45.92
      4/2/2016    709   LL0160   Owner Operator   Truck Payment                  CTMS - 190993 Lease Q1111            252.11
      4/2/2016    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      4/2/2016    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      4/2/2016    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      4/2/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      4/2/2016    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      4/2/2016    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      4/2/2016    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/2/2016    709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/2/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        134.51
      4/2/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        117.68
      4/2/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        116.81
      4/2/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        133.91
      4/2/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        152.89
      4/2/2016    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      4/2/2016    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      4/2/2016    709   MG0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/2/2016    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.04
      4/2/2016    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      4/2/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      4/2/2016    709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00329197 - PO System         189.87
      4/2/2016    709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00329197 - PO System          14.59
      4/2/2016    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      4/2/2016    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      4/2/2016    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      4/2/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/2/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/2/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        242.18
      4/2/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        212.86
      4/2/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.84
      4/2/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         75.11
      4/2/2016    709   MM0093   Owner Operator   Loan Repayment                 Bal Loan 3 Roll To New Loan         1513.55
      4/2/2016    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        257.39
      4/2/2016    709   MM0093   Owner Operator   Loan Repayment                 Repair 134556 Bal Of Loan 3        -4038.55
      4/2/2016    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      4/2/2016    709   MM0093   Owner Operator   T Chek Fee                     Advance                               2500
      4/2/2016    709   MM0093   Owner Operator   T Chek Fee                     ExpressCheck Fee                         25
      4/2/2016    709   MM0093   Owner Operator   T Chek Fee                     ExpressCheck Fee                      17.47
      4/2/2016    709   MM0093   Owner Operator   T Chek Fee                     Tractor Repair 32931                 276.64
      4/2/2016    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      4/2/2016    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      4/2/2016    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      4/2/2016    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      4/2/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
      4/2/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
      4/2/2016    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        480.74
      4/2/2016    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      4/2/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      4/2/2016    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      4/2/2016    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      4/2/2016    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      4/2/2016    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      4/2/2016    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-19         245.34
      4/2/2016    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      4/2/2016    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      4/2/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        229.92
      4/2/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        206.21
      4/2/2016    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/2/2016    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      4/2/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 190861 Lease                  215.66
      4/2/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 191037 Lease                  215.66
      4/2/2016    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      4/2/2016    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75

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      4/2/2016    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      4/2/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         220
      4/2/2016    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      4/2/2016    709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      4/2/2016    709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      4/2/2016    709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/2/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/2/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/2/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.05
      4/2/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.8
      4/2/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.72
      4/2/2016    709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      4/2/2016    709   NR0010   Owner Operator   Truck Payment                  CTMS - 190873 Tractor Sublease      252.11
      4/2/2016    709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL           8.75
      4/2/2016    709   NT9564   Owner Operator   Communication Charge           PNet Hware Q1109                         8
      4/2/2016    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/2/2016    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           39.07
      4/2/2016    709   NT9564   Owner Operator   Truck Payment                  CTMS - 190742 Lease Q1109           252.11
      4/2/2016    709   NT9564   Owner Operator   Truck Payment                  CTMS - 190907 Lease Q1109           252.11
      4/2/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      4/2/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      4/2/2016    709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/2/2016    709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.86
      4/2/2016    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.55
      4/2/2016    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      4/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      4/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      4/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      4/2/2016    709   RC0030   Owner Operator   Truck Payment                  CTMS - 190873 Down Payment lo       303.55
      4/2/2016    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      4/2/2016    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/2/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      4/2/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      4/2/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.3
      4/2/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.11
      4/2/2016    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      4/2/2016    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      4/2/2016    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      4/2/2016    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/2/2016    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/2/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        289.5
      4/2/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.89
      4/2/2016    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      4/2/2016    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/2/2016    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      4/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.61
      4/2/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.01
      4/2/2016    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      4/2/2016    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      4/2/2016    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      4/2/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      4/2/2016    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      4/2/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.55
      4/2/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.78
      4/2/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.05
      4/2/2016    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      4/2/2016    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      4/2/2016    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      4/2/2016    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      4/2/2016    709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50

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      4/2/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.18
      4/2/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.77
      4/2/2016    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      4/2/2016    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      4/2/2016    709   RP0082   Owner Operator   Truck Payment                  CTMS - 190874 Q1202 Truck Leas      278.76
      4/2/2016    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      4/2/2016    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      4/2/2016    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/2/2016    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/2/2016    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.26
      4/2/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.71
      4/2/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.94
      4/2/2016    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      4/2/2016    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      4/2/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      4/2/2016    709   RR0123   Owner Operator   Truck Payment                  CTMS - 190746 Q1248                 311.97
      4/2/2016    709   RR0123   Owner Operator   Truck Payment                  CTMS - 190906 Q1248                 311.97
      4/2/2016    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/2/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/2/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/2/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.27
      4/2/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       105.77
      4/2/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.44
      4/2/2016    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      4/2/2016    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      4/2/2016    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      4/2/2016    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      4/2/2016    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/2/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       113.68
      4/2/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.91
      4/2/2016    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      4/2/2016    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      4/2/2016    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      4/2/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.06
      4/2/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        207.9
      4/2/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.14
      4/2/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.46
      4/2/2016    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      4/2/2016    709   VB0015   Owner Operator   Truck Payment                  CTMS - 190862 Tractor Sub leas      242.03
      4/2/2016    709   VB0015   Owner Operator   Truck Payment                  CTMS - 191038 Tractor Sub leas      242.03
      4/2/2016    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      4/2/2016    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      4/2/2016    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      4/2/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/2/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/2/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.79
      4/2/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.43
      4/2/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.82
      4/2/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.74
      4/2/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        130.3
      4/2/2016    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      4/2/2016    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      4/2/2016    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      4/2/2016    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      4/2/2016    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      4/2/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      4/2/2016    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      4/2/2016    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      4/2/2016    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      4/2/2016    709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/2/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.26
      4/2/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.02
      4/2/2016    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                    10.58

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      4/2/2016    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      4/2/2016    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      4/2/2016    709   WH0087   Owner Operator   Truck Payment                  CTMS - 190746 Q1238 Lease           311.97
      4/2/2016    709   WH0087   Owner Operator   Truck Payment                  CTMS - 190907 Q1238 Lease           311.97
      4/2/2016    730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/2/2016    730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      4/2/2016    730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/2/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.24
      4/2/2016    730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      4/2/2016    730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      4/2/2016    730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      4/2/2016    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      4/2/2016    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      4/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.17
      4/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.65
      4/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.61
      4/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.06
      4/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.93
      4/2/2016    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      4/2/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      4/2/2016    742   AP0047   Owner Operator   Workmens Comp. Insurance       Saskatchewan WC 2015                  5.31
      4/2/2016    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      4/2/2016    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      4/2/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       124.76
      4/2/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.07
      4/2/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       398.94
      4/2/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.4
      4/2/2016    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      4/2/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      4/2/2016    742   DJ0028   Owner Operator   Workmens Comp. Insurance       Saskatchewan WC 2015                  38.9
      4/2/2016    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      4/2/2016    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      4/2/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.18
      4/2/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        252.9
      4/2/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.31
      4/2/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.33
      4/2/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.19
      4/2/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.61
      4/2/2016    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      4/2/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      4/2/2016    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/2/2016    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      4/2/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.08
      4/2/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.43
      4/2/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.63
      4/2/2016    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      4/2/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/2/2016    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      4/2/2016    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      4/2/2016    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      4/2/2016    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      4/2/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      4/2/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      4/2/2016    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      4/2/2016    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      4/2/2016    742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/2/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.36

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      4/2/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.93
      4/2/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.91
      4/2/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.83
      4/2/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.24
      4/2/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         299
      4/2/2016    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      4/2/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      4/2/2016    742   KJ0045   Owner Operator   Tire Purchase                  PO: 742-00333055 - PO System         677.2
      4/2/2016    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/2/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/2/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/2/2016    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.38
      4/2/2016    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        82.04
      4/2/2016    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      4/2/2016    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 62.12
      4/2/2016    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      4/2/2016    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      4/2/2016    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      4/2/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.85
      4/2/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.99
      4/2/2016    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      4/2/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      4/2/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.24
      4/2/2016    742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      4/2/2016    742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/2/2016    742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.08
      4/2/2016    742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.35
      4/2/2016    742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.56
      4/2/2016    742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      4/2/2016    742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      4/2/2016    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      4/2/2016    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      4/2/2016    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      4/2/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        45.32
      4/2/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.14
      4/2/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.87
      4/2/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.89
      4/2/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.19
      4/2/2016    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      4/2/2016    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/2/2016    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      4/2/2016    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      4/2/2016    742   RN0054   Owner Operator   Truck Payment                  CTMS - 190875 Tractor Lease         353.28
      4/9/2016    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      4/9/2016    709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
      4/9/2016    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      4/9/2016    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      4/9/2016    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      4/9/2016    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        229.8
      4/9/2016    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                    100
      4/9/2016    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      4/9/2016    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      4/9/2016    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      4/9/2016    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
      4/9/2016    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      4/9/2016    709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/9/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.92
      4/9/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.77
      4/9/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.41
      4/9/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.87
      4/9/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        118.4
      4/9/2016    709   AR0064   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           215.83
      4/9/2016    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      4/9/2016    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      4/9/2016    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      4/9/2016    709   AR0064   Owner Operator   Repair Order                   CTMS - 191064 Towing                166.25
      4/9/2016    709   AR0064   Owner Operator   Truck Payment                  CTMS - 191153 Trck Lease            353.28

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      4/9/2016    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      4/9/2016    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      4/9/2016    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            50
      4/9/2016    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      4/9/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       109.84
      4/9/2016    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2016 - Q13169                   10.58
      4/9/2016    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      4/9/2016    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      4/9/2016    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/9/2016    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      4/9/2016    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      4/9/2016    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/9/2016    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        366.2
      4/9/2016    709   CM0119   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           268.79
      4/9/2016    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                      100
      4/9/2016    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      4/9/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/9/2016    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      4/9/2016    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      4/9/2016    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
      4/9/2016    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      4/9/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.83
      4/9/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.95
      4/9/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.95
      4/9/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.5
      4/9/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.17
      4/9/2016    709   CR0064   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            60.92
      4/9/2016    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                      100
      4/9/2016    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      4/9/2016    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      4/9/2016    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      4/9/2016    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                  12.5
      4/9/2016    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      4/9/2016    709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/9/2016    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.54
      4/9/2016    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      4/9/2016    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      4/9/2016    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      4/9/2016    709   CS0091   Owner Operator   Truck Payment                  CTMS - 191108 Q1201                 278.76
      4/9/2016    709   DJ0028   Owner Operator   Accident Claim                 04/01/16 DJ0028 Incident             141.8
      4/9/2016    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      4/9/2016    709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                  12.5
      4/9/2016    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      4/9/2016    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      4/9/2016    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      4/9/2016    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      4/9/2016    709   DJ0028   Owner Operator   ESCROW                         Escrow Withdrawal                    -3250
      4/9/2016    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/9/2016    709   DJ0028   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/9/2016    709   DJ0028   Owner Operator   Express Check                  T-Check Payment                       3250
      4/9/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/9/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/9/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/9/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.35
      4/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.18
      4/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        89.08
      4/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        70.45
      4/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.22
      4/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         8.48
      4/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.93
      4/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       112.61
      4/9/2016    709   DJ0028   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            380.2
      4/9/2016    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                      100
      4/9/2016    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      4/9/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5

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      4/9/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 190580 Q1104                252.11
      4/9/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 190748 Q1104                252.11
      4/9/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 190909 Q1104                252.11
      4/9/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 191112 Q1104                252.11
      4/9/2016    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL             8.75
      4/9/2016    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                 12.5
      4/9/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                       13
      4/9/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      195.85
      4/9/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      122.96
      4/9/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.9
      4/9/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      309.13
      4/9/2016    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                   10.58
      4/9/2016    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                   34.17
      4/9/2016    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/9/2016    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
      4/9/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 191071 Sublease             338.99
      4/9/2016    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.38
      4/9/2016    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      4/9/2016    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                 12.5
      4/9/2016    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
      4/9/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      4/9/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      4/9/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      376.65
      4/9/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      132.75
      4/9/2016    709   DS0049   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement          147.65
      4/9/2016    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                     100
      4/9/2016    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/9/2016    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.35
      4/9/2016    709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00332846 - PO System       329.72
      4/9/2016    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
      4/9/2016    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
      4/9/2016    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      348.33
      4/9/2016    709   DS0225   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement          -42.11
      4/9/2016    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                     100
      4/9/2016    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/9/2016    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   19.54
      4/9/2016    709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329967 - PO System       225.83
      4/9/2016    709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329967 - PO System      -210.59
      4/9/2016    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                       8.75
      4/9/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      234.99
      4/9/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      139.11
      4/9/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      127.92
      4/9/2016    709   DW0138   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement          106.39
      4/9/2016    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                     100
      4/9/2016    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
      4/9/2016    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                       68.52
      4/9/2016    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                      463.27
      4/9/2016    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      4/9/2016    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                 12.5
      4/9/2016    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
      4/9/2016    709   EA0003   Owner Operator   ESCROW                         Escrow Withdrawal                   -8000
      4/9/2016    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         250
      4/9/2016    709   EA0003   Owner Operator   Express Check                  T-Check Payment                      8000
      4/9/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/9/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/9/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      4/9/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      4/9/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.2
      4/9/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      376.83
      4/9/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      105.45
      4/9/2016    709   EA0003   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement          140.18
      4/9/2016    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                     100
      4/9/2016    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      4/9/2016    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
      4/9/2016    709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00333467 - PO System       315.93
      4/9/2016    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
      4/9/2016    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      4/9/2016    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                 12.5
      4/9/2016    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                       13
      4/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2

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      4/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/9/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.78
      4/9/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.84
      4/9/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.58
      4/9/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.44
      4/9/2016    709   EE0011   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement             43.1
      4/9/2016    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                     100
      4/9/2016    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      4/9/2016    709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00333354 - PO System        303.83
      4/9/2016    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      4/9/2016    709   EE0011   Owner Operator   Truck Payment                  CTMS - 191219 Rental and repai      271.69
      4/9/2016    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/9/2016    709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                  12.5
      4/9/2016    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      4/9/2016    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      4/9/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/9/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/9/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.3
      4/9/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.17
      4/9/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        20.44
      4/9/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.13
      4/9/2016    709   EH0020   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            63.14
      4/9/2016    709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                     100
      4/9/2016    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      4/9/2016    709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00332781 - PO System        358.24
      4/9/2016    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      4/9/2016    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      4/9/2016    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                  12.5
      4/9/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      4/9/2016    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/9/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.14
      4/9/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.47
      4/9/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.45
      4/9/2016    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                     100
      4/9/2016    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      4/9/2016    709   FS0039   Owner Operator   Repair Order                   CTMS - 191065 Repair                226.61
      4/9/2016    709   FS0039   Owner Operator   Truck Payment                  CTMS - 191154 truck lease 3304      434.29
      4/9/2016    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      4/9/2016    709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
      4/9/2016    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      4/9/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            60
      4/9/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            40
      4/9/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          280
      4/9/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      4/9/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      4/9/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      4/9/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.57
      4/9/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        72.57
      4/9/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.87
      4/9/2016    709   FT0004   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            48.47
      4/9/2016    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      4/9/2016    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      4/9/2016    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      4/9/2016    709   FT0004   Owner Operator   Repair Order                   CTMS - 191064 250.00                  250
      4/9/2016    709   FT0004   Owner Operator   Truck Payment                  CTMS - 191112 73129                 181.08
      4/9/2016    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                    1.48
      4/9/2016    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      4/9/2016    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                  12.5
      4/9/2016    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      4/9/2016    709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/9/2016    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.78
      4/9/2016    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                     100
      4/9/2016    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      4/9/2016    709   GS0015   Owner Operator   Truck Payment                  CTMS - 191112 Lease                 252.11
      4/9/2016    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75

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      4/9/2016    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      4/9/2016    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      4/9/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      4/9/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/9/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.23
      4/9/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.15
      4/9/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.11
      4/9/2016    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                      100
      4/9/2016    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      4/9/2016    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      4/9/2016    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      4/9/2016    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      4/9/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/9/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/9/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.63
      4/9/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.68
      4/9/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.77
      4/9/2016    709   HG0027   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            43.16
      4/9/2016    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                      100
      4/9/2016    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      4/9/2016    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      4/9/2016    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/9/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.77
      4/9/2016    709   IR0002   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           -31.36
      4/9/2016    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                      100
      4/9/2016    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      4/9/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/9/2016    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      4/9/2016    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      4/9/2016    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      4/9/2016    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      4/9/2016    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      4/9/2016    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      4/9/2016    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                    -2500
      4/9/2016    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      4/9/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/9/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
      4/9/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/9/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.68
      4/9/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.11
      4/9/2016    709   JC0292   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           214.15
      4/9/2016    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                      100
      4/9/2016    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      4/9/2016    709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00333146 - PO System        156.12
      4/9/2016    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      4/9/2016    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/9/2016    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      4/9/2016    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      4/9/2016    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -2500
      4/9/2016    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      4/9/2016    709   JG0017   Owner Operator   Express Check                  T-Check Payment                       2500
      4/9/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      4/9/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/9/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.76
      4/9/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.24
      4/9/2016    709   JG0017   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            89.93
      4/9/2016    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                      100
      4/9/2016    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      4/9/2016    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      4/9/2016    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/9/2016    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
      4/9/2016    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      4/9/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      4/9/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/9/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/9/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.43

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      4/9/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                    341.62
      4/9/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                    329.78
      4/9/2016    709   JG0072   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement        187.28
      4/9/2016    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                  100
      4/9/2016    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      4/9/2016    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              74.22
      4/9/2016    709   JG0072   Owner Operator   Repair Order                   CTMS - 191064 Repair               130
      4/9/2016    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                    513.26
      4/9/2016    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                 8.75
      4/9/2016    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                        50
      4/9/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                       300
      4/9/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                      3
      4/9/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                      345
      4/9/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                    378.15
      4/9/2016    709   JG0092   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement         -0.45
      4/9/2016    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      4/9/2016    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                  61.7
      4/9/2016    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL              8.75
      4/9/2016    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device               12.5
      4/9/2016    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                     13
      4/9/2016    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                     13
      4/9/2016    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                        50
      4/9/2016    709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                        50
      4/9/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                    138.49
      4/9/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     40.26
      4/9/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                    171.24
      4/9/2016    709   JQ0015   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement         -4.48
      4/9/2016    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                  100
      4/9/2016    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      4/9/2016    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD              19.54
      4/9/2016    709   JQ0015   Owner Operator   Repair Order                   CTMS - 191064 Repair             312.46
      4/9/2016    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL        8.75
      4/9/2016    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device               12.5
      4/9/2016    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                     13
      4/9/2016    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                    235.97
      4/9/2016    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                    191.45
      4/9/2016    709   JR0099   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement        143.04
      4/9/2016    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                 10.58
      4/9/2016    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                 34.17
      4/9/2016    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      4/9/2016    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD         58.6
      4/9/2016    709   JR0099   Owner Operator   Truck Payment                  CTMS - 191077 Truck Lease        278.76
      4/9/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL               8.75
      4/9/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                  8.75
      4/9/2016    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device               12.5
      4/9/2016    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                     13
      4/9/2016    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                      100
      4/9/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                       200
      4/9/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      4/9/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                    307.12
      4/9/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                    116.63
      4/9/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                    322.42
      4/9/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                    107.99
      4/9/2016    709   JS0265   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement         -2.98
      4/9/2016    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                  100
      4/9/2016    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      4/9/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD               15.94
      4/9/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                   37.5
      4/9/2016    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      4/9/2016    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device               12.5
      4/9/2016    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                     13
      4/9/2016    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                      250
      4/9/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                       100
      4/9/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      4/9/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      214
      4/9/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                    228.42
      4/9/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                    150.08
      4/9/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     123.4
      4/9/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                    126.36
      4/9/2016    709   KP0004   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement        291.33
      4/9/2016    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                  100
      4/9/2016    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      4/9/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              93.32

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      4/9/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/9/2016    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      4/9/2016    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      4/9/2016    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                  12.5
      4/9/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      4/9/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                      2.02
      4/9/2016    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-2         308.82
      4/9/2016    709   LL0160   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            73.29
      4/9/2016    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                     100
      4/9/2016    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      4/9/2016    709   LL0160   Owner Operator   Repair Order                   CTMS - 191064 Repair                 251.1
      4/9/2016    709   LL0160   Owner Operator   Truck Payment                  CTMS - 191188 Lease Q1111           252.11
      4/9/2016    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      4/9/2016    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                  12.5
      4/9/2016    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      4/9/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/9/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.36
      4/9/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.65
      4/9/2016    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                     100
      4/9/2016    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      4/9/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      4/9/2016    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      4/9/2016    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                 12.5
      4/9/2016    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      4/9/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.09
      4/9/2016    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      4/9/2016    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      4/9/2016    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
      4/9/2016    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.22
      4/9/2016    709   MG0067   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            288.3
      4/9/2016    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                     100
      4/9/2016    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      4/9/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      4/9/2016    709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00329197 - PO System        189.83
      4/9/2016    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      4/9/2016    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                  12.5
      4/9/2016    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      4/9/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/9/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/9/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.16
      4/9/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.44
      4/9/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.85
      4/9/2016    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment       257.39
      4/9/2016    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      4/9/2016    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      4/9/2016    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      4/9/2016    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                  12.5
      4/9/2016    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      4/9/2016    709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-16        -29.7
      4/9/2016    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
      4/9/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          140
      4/9/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4
      4/9/2016    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.03
      4/9/2016    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                     100
      4/9/2016    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      4/9/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      4/9/2016    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      4/9/2016    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      4/9/2016    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                  12.5
      4/9/2016    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      4/9/2016    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
      4/9/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.85
      4/9/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.34
      4/9/2016    709   NB0029   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           191.43
      4/9/2016    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                     100
      4/9/2016    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      4/9/2016    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      4/9/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 191222 Lease                 215.66
      4/9/2016    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      4/9/2016    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                 12.5
      4/9/2016    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      4/9/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            40
      4/9/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/9/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      4/9/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.08
      4/9/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.98
      4/9/2016    709   NG0005   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            16.84
      4/9/2016    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                    100
      4/9/2016    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      4/9/2016    709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      4/9/2016    709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                  12.5
      4/9/2016    709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      4/9/2016    709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/9/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/9/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/9/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/9/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/9/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.71
      4/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       109.88
      4/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        77.62
      4/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.34
      4/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.92
      4/9/2016    709   NR0010   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           271.51
      4/9/2016    709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                     100
      4/9/2016    709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      4/9/2016    709   NR0010   Owner Operator   Truck Payment                  CTMS - 191076 Tractor Sublease      252.11
      4/9/2016    709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL           8.75
      4/9/2016    709   NT9564   Owner Operator   Broker Pre Pass                Q1109 PrePass Device                  12.5
      4/9/2016    709   NT9564   Owner Operator   Communication Charge           PNet Hware Q1109                         8
      4/9/2016    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/9/2016    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - Q1109                     100
      4/9/2016    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           39.07
      4/9/2016    709   NT9564   Owner Operator   Truck Payment                  CTMS - 191109 Lease Q1109           252.11
      4/9/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      4/9/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      4/9/2016    709   RC0030   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           492.59
      4/9/2016    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      4/9/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      4/9/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      4/9/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      4/9/2016    709   RC0030   Owner Operator   Truck Payment                  CTMS - 191076 Down Payment lo       303.55
      4/9/2016    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      4/9/2016    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/9/2016    709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-16       -96.52
      4/9/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      4/9/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      4/9/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.46
      4/9/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.81
      4/9/2016    709   RC0089   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           -11.96
      4/9/2016    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                     100
      4/9/2016    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      4/9/2016    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      4/9/2016    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      4/9/2016    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                 12.5
      4/9/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.77
      4/9/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.59
      4/9/2016    709   RL0017   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           -29.16
      4/9/2016    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                    100
      4/9/2016    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      4/9/2016    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75

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      4/9/2016    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      4/9/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/9/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/9/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/9/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/9/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.12
      4/9/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        95.58
      4/9/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        94.79
      4/9/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.35
      4/9/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.74
      4/9/2016    709   RL0062   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           154.37
      4/9/2016    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                     100
      4/9/2016    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      4/9/2016    709   RL0062   Owner Operator   Repair Order                   CTMS - 191064 Repair                323.42
      4/9/2016    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      4/9/2016    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      4/9/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      4/9/2016    709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                  12.5
      4/9/2016    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      4/9/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.76
      4/9/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.28
      4/9/2016    709   RM0026   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           129.38
      4/9/2016    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                     100
      4/9/2016    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      4/9/2016    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      4/9/2016    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                  12.5
      4/9/2016    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      4/9/2016    709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/9/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.2
      4/9/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.7
      4/9/2016    709   RP0082   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            84.11
      4/9/2016    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      4/9/2016    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      4/9/2016    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      4/9/2016    709   RP0082   Owner Operator   Truck Payment                  CTMS - 191077 Q1202 Truck Leas      278.76
      4/9/2016    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      4/9/2016    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                  12.5
      4/9/2016    709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 191064 Trailer wash 672         -40
      4/9/2016    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      4/9/2016    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/9/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.52
      4/9/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.52
      4/9/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.93
      4/9/2016    709   RR0123   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            83.96
      4/9/2016    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      4/9/2016    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      4/9/2016    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      4/9/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      4/9/2016    709   RR0123   Owner Operator   Repair Order                   CTMS - 191065 Repair                    70
      4/9/2016    709   RR0123   Owner Operator   Truck Payment                  CTMS - 191108 Q1248                 311.97
      4/9/2016    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/9/2016    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                  12.5
      4/9/2016    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      4/9/2016    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      4/9/2016    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      4/9/2016    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      4/9/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/9/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/9/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.64
      4/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.16
      4/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        10.18
      4/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.91
      4/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.37
      4/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.18
      4/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.02
      4/9/2016    709   SB0009   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           109.89
      4/9/2016    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                     100

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      4/9/2016    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/9/2016    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
      4/9/2016    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
      4/9/2016    709   SB0009   Owner Operator   Truck Payment                  CTMS - 191097 SB0009.Loaner tr      -430.42
      4/9/2016    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      4/9/2016    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
      4/9/2016    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/9/2016    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/9/2016    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/9/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        202.87
      4/9/2016    709   SN0019   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            116.62
      4/9/2016    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/9/2016    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
      4/9/2016    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
      4/9/2016    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                   12.5
      4/9/2016    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      4/9/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        177.04
      4/9/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        355.18
      4/9/2016    709   VB0015   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            144.75
      4/9/2016    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                      100
      4/9/2016    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/9/2016    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
      4/9/2016    709   VB0015   Owner Operator   Truck Payment                  CTMS - 191223 Tractor Sub leas       242.03
      4/9/2016    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      4/9/2016    709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                   12.5
      4/9/2016    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
      4/9/2016    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      4/9/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           140
      4/9/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           160
      4/9/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.6
      4/9/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.4
      4/9/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        139.87
      4/9/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         99.72
      4/9/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        243.99
      4/9/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.67
      4/9/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          144
      4/9/2016    709   VJ0006   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            167.56
      4/9/2016    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                      100
      4/9/2016    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/9/2016    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
      4/9/2016    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
      4/9/2016    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      4/9/2016    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      4/9/2016    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/9/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
      4/9/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      4/9/2016    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
      4/9/2016    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                   12.5
      4/9/2016    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
      4/9/2016    709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/9/2016    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/9/2016    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/9/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        164.06
      4/9/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.7
      4/9/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.14
      4/9/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.74
      4/9/2016    709   WH0087   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement             38.89
      4/9/2016    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                     10.58
      4/9/2016    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                     34.17
      4/9/2016    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/9/2016    709   WH0087   Owner Operator   Permits1                       ID06:2016 - Q1113                       -11
      4/9/2016    709   WH0087   Owner Operator   Permits1                       ID06:2016 - Q1239                        11
      4/9/2016    709   WH0087   Owner Operator   Permits1                       IL02:2016 - Q1113                     -3.75
      4/9/2016    709   WH0087   Owner Operator   Permits1                       IL02:2016 - Q1239                      3.75
      4/9/2016    709   WH0087   Owner Operator   Permits1                       NM07:2016 - Q1113                      -5.5
      4/9/2016    709   WH0087   Owner Operator   Permits1                       NM07:2016 - Q1239                       5.5
      4/9/2016    709   WH0087   Owner Operator   Permits1                       NY13:2016 - Q1113                       -19
      4/9/2016    709   WH0087   Owner Operator   Permits1                       NY13:2016 - Q1239                        19
      4/9/2016    709   WH0087   Owner Operator   Permits1                       OR16:2016 - Q1113                        -8
      4/9/2016    709   WH0087   Owner Operator   Permits1                       OR16:2016 - Q1239                         8
      4/9/2016    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD               60.47
      4/9/2016    709   WH0087   Owner Operator   Truck Payment                  CTMS - 191065 Over charge Q111      -252.11
      4/9/2016    709   WH0087   Owner Operator   Truck Payment                  CTMS - 191109 Q1238 Lease            311.97

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      4/9/2016    730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/9/2016    730   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
      4/9/2016    730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      4/9/2016    730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/9/2016    730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/9/2016    730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/9/2016    730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/9/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.29
      4/9/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.43
      4/9/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.11
      4/9/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.03
      4/9/2016    730   JK0112   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement             7.55
      4/9/2016    730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                     100
      4/9/2016    730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      4/9/2016    730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      4/9/2016    730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      4/9/2016    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      4/9/2016    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      4/9/2016    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      4/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/9/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.48
      4/9/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.32
      4/9/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.72
      4/9/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.41
      4/9/2016    742   AP0047   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           119.33
      4/9/2016    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      4/9/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      4/9/2016    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      4/9/2016    742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                  12.5
      4/9/2016    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      4/9/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        93.83
      4/9/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        112.2
      4/9/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.72
      4/9/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       398.66
      4/9/2016    742   BS0078   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           193.27
      4/9/2016    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                     100
      4/9/2016    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      4/9/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      4/9/2016    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      4/9/2016    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      4/9/2016    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      4/9/2016    742   ED0041   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-16       -278.7
      4/9/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.81
      4/9/2016    742   ED0041   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            95.25
      4/9/2016    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                     100
      4/9/2016    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      4/9/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      4/9/2016    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/9/2016    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                  12.5
      4/9/2016    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      4/9/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.05
      4/9/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       125.48
      4/9/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.81
      4/9/2016    742   EN0016   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           154.28
      4/9/2016    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                     100
      4/9/2016    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      4/9/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/9/2016    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      4/9/2016    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      4/9/2016    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      4/9/2016    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      4/9/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69

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      4/9/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      4/9/2016    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      4/9/2016    742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                  12.5
      4/9/2016    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      4/9/2016    742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/9/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.64
      4/9/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.84
      4/9/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.81
      4/9/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.4
      4/9/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        99.89
      4/9/2016    742   KJ0045   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement           106.76
      4/9/2016    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      4/9/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      4/9/2016    742   KJ0045   Owner Operator   Tire Purchase                  PO: 742-00333055 - PO System         677.2
      4/9/2016    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      4/9/2016    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      4/9/2016    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      4/9/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        192.9
      4/9/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.25
      4/9/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.86
      4/9/2016    742   MH0117   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            36.92
      4/9/2016    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                     100
      4/9/2016    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      4/9/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      4/9/2016    742   MH0117   Owner Operator   Repair Order                   CTMS - 191064 Parts                  11.44
      4/9/2016    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      4/9/2016    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      4/9/2016    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      4/9/2016    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      4/9/2016    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      4/9/2016    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/9/2016    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/9/2016    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/9/2016    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/9/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.87
      4/9/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.01
      4/9/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.41
      4/9/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.26
      4/9/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.57
      4/9/2016    742   NG0024   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            30.11
      4/9/2016    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                     100
      4/9/2016    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      4/9/2016    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      4/9/2016    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      4/9/2016    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      4/9/2016    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/9/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.4
      4/9/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.84
      4/9/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       121.77
      4/9/2016    742   PC0012   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            27.44
      4/9/2016    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                     100
      4/9/2016    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      4/9/2016    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      4/9/2016    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      4/9/2016    742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      4/9/2016    742   PS0080   Owner Operator   Broker Pre Pass                33584 PrePass Device                  12.5
      4/9/2016    742   PS0080   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/9/2016    742   PS0080   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/9/2016    742   PS0080   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/9/2016    742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.63
      4/9/2016    742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.41
      4/9/2016    742   PS0080   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.64
      4/9/2016    742   PS0080   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            72.59
      4/9/2016    742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/9/2016    742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    66.41
      4/9/2016    742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      4/9/2016    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      4/9/2016    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
      4/9/2016    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13

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       4/9/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.21
       4/9/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.82
       4/9/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.33
       4/9/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.33
       4/9/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.24
       4/9/2016   742   RN0054   Owner Operator   FUEL TAX                       Feb16 Fuel Tax Settlement            52.31
       4/9/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
       4/9/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
       4/9/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       4/9/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
       4/9/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
       4/9/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 191078 Tractor Lease         353.28
      4/16/2016   709   AN0007   Owner Operator   AP Invoice Deductions          Comdata-Mastercard Pmts Only          82.5
      4/16/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      4/16/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      4/16/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      4/16/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      4/16/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.94
      4/16/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                    100
      4/16/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      4/16/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      4/16/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      4/16/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      4/16/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/16/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       112.42
      4/16/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.02
      4/16/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      4/16/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      4/16/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      4/16/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      4/16/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 191324 Trck Lease            353.28
      4/16/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      4/16/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      4/16/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/16/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            50
      4/16/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      4/16/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         110
      4/16/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.27
      4/16/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.45
      4/16/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.93
      4/16/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2016 - Q13169                   10.58
      4/16/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      4/16/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      4/16/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/16/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      4/16/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/16/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/16/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       374.73
      4/16/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.09
      4/16/2016   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                     100
      4/16/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      4/16/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/16/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      4/16/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      4/16/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      4/16/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.98
      4/16/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.94
      4/16/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        158.7
      4/16/2016   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                     100
      4/16/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      4/16/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      4/16/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      4/16/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      4/16/2016   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/16/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.98
      4/16/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        28.03
      4/16/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      4/16/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      4/16/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      4/16/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
      4/16/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 191289 Q1201                  278.76
      4/16/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            8.75
      4/16/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                         13
      4/16/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/16/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/16/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        302.48
      4/16/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.67
      4/16/2016   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                      100
      4/16/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/16/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD            46.88
      4/16/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter          2.5
      4/16/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 191293 Q1104                  252.11
      4/16/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      4/16/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      4/16/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         29.66
      4/16/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        442.43
      4/16/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.7
      4/16/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                     10.58
      4/16/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                     34.17
      4/16/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/16/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
      4/16/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 191253 Sublease               338.99
      4/16/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 191272 Tractor rental Q         900
      4/16/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
      4/16/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/16/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      4/16/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      4/16/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      4/16/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.3
      4/16/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        219.86
      4/16/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        151.04
      4/16/2016   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                      100
      4/16/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/16/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
      4/16/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      4/16/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      4/16/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.31
      4/16/2016   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                      100
      4/16/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/16/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     19.54
      4/16/2016   709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329967 - PO System         225.83
      4/16/2016   709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329967 - PO System        -210.59
      4/16/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
      4/16/2016   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                   12.5
      4/16/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      4/16/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      4/16/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.4
      4/16/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.93
      4/16/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.67
      4/16/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        129.34
      4/16/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.93
      4/16/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         97.65
      4/16/2016   709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                      100
      4/16/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      4/16/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
      4/16/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      4/16/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/16/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      4/16/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/16/2016   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                      100
      4/16/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/16/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      4/16/2016   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00333467 - PO System         315.93
      4/16/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      4/16/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/16/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/16/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           300
      4/16/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      4/16/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/16/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        158.86
      4/16/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.08
      4/16/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.4

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      4/16/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.45
      4/16/2016   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                     100
      4/16/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      4/16/2016   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00333354 - PO System        178.69
      4/16/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      4/16/2016   709   EE0011   Owner Operator   Truck Payment                  CTMS - 191389 Rental and repai      271.69
      4/16/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/16/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                      6.55
      4/16/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      4/16/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/16/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/16/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/16/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/16/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.04
      4/16/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        17.94
      4/16/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.14
      4/16/2016   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                     100
      4/16/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      4/16/2016   709   EH0020   Owner Operator   Repair Order                   CTMS - 191242 Repair                224.55
      4/16/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      4/16/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      4/16/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      4/16/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/16/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.15
      4/16/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.95
      4/16/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.91
      4/16/2016   709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                     100
      4/16/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      4/16/2016   709   FS0039   Owner Operator   Repair Order                   CTMS - 191241 Repair                226.61
      4/16/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 191326 truck lease 3304      434.29
      4/16/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      4/16/2016   709   FT0004   Owner Operator   Charge back by affiliate       CTMS - 191343 Trailer Fuel             -17
      4/16/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      4/16/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            65
      4/16/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.65
      4/16/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.37
      4/16/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.12
      4/16/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      4/16/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2015 - 73129                       21
      4/16/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                        6
      4/16/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      4/16/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      4/16/2016   709   FT0004   Owner Operator   Repair Order                   CTMS - 191242 Repairs                130.8
      4/16/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 191293 73129                 181.08
      4/16/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      4/16/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      4/16/2016   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
      4/16/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      4/16/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      4/16/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/16/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/16/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.04
      4/16/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.37
      4/16/2016   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                   98.52
      4/16/2016   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                    100
      4/16/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      4/16/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      4/16/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      4/16/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      4/16/2016   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/16/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.63
      4/16/2016   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                     100
      4/16/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      4/16/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 191293 Lease                 252.11
      4/16/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      4/16/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13

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      4/16/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/16/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          300
      4/16/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/16/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/16/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        207.9
      4/16/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.02
      4/16/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.63
      4/16/2016   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                     100
      4/16/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      4/16/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      4/16/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      4/16/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/16/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/16/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.05
      4/16/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        156.7
      4/16/2016   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                     100
      4/16/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      4/16/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      4/16/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/16/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         19.66
      4/16/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         24.69
      4/16/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
      4/16/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      4/16/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.93
      4/16/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.87
      4/16/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.28
      4/16/2016   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                     100
      4/16/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      4/16/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/16/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      4/16/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      4/16/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      4/16/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      4/16/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      4/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/16/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.87
      4/16/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.96
      4/16/2016   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                     100
      4/16/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      4/16/2016   709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00333146 - PO System        156.12
      4/16/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      4/16/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/16/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      4/16/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      4/16/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      4/16/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/16/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.74
      4/16/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.89
      4/16/2016   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                     100
      4/16/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      4/16/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      4/16/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/16/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      4/16/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      4/16/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/16/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/16/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/16/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.67
      4/16/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.46
      4/16/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.38
      4/16/2016   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                     100
      4/16/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      4/16/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      4/16/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      4/16/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      4/16/2016   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                           50

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      4/16/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        86.53
      4/16/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       116.51
      4/16/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        70.01
      4/16/2016   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                     100
      4/16/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      4/16/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      4/16/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      4/16/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.77
      4/16/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      4/16/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                    34.17
      4/16/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      4/16/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 191259 Truck Lease           278.76
      4/16/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      4/16/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      4/16/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      4/16/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      4/16/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/16/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/16/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.9
      4/16/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         241
      4/16/2016   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                     100
      4/16/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      4/16/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      4/16/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/16/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      4/16/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      4/16/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/16/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/16/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.99
      4/16/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.19
      4/16/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       174.04
      4/16/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        51.01
      4/16/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.21
      4/16/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.61
      4/16/2016   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                     100
      4/16/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      4/16/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/16/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      4/16/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      4/16/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      4/16/2016   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                     100
      4/16/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      4/16/2016   709   LL0160   Owner Operator   Repair Order                   CTMS - 191242 Repair                 251.1
      4/16/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 191365 Lease Q1111           252.11
      4/16/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      4/16/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      4/16/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/16/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/16/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       480.24
      4/16/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.75
      4/16/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.16
      4/16/2016   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                     100
      4/16/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      4/16/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      4/16/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      4/16/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      4/16/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.26
      4/16/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      4/16/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      4/16/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-23       -66.68
      4/16/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         188
      4/16/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
      4/16/2016   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                     100
      4/16/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      4/16/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5

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      4/16/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      4/16/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      4/16/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/16/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/16/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.2
      4/16/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.09
      4/16/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.41
      4/16/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.95
      4/16/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        91.61
      4/16/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment       257.39
      4/16/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      4/16/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      4/16/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      4/16/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      4/16/2016   709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-9           29.7
      4/16/2016   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                   -19000
      4/16/2016   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                    -2000
      4/16/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      4/16/2016   709   MP0035   Owner Operator   Express Check                  T-Check Payment                       2000
      4/16/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
      4/16/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      4/16/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       532.83
      4/16/2016   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                      100
      4/16/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      4/16/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      4/16/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      4/16/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      4/16/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      4/16/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      4/16/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.91
      4/16/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.8
      4/16/2016   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                      100
      4/16/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      4/16/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 191392 Lease                 215.66
      4/16/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      4/16/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      4/16/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/16/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/16/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.55
      4/16/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.38
      4/16/2016   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                     100
      4/16/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      4/16/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      4/16/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      4/16/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/16/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        129.8
      4/16/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.55
      4/16/2016   709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                      100
      4/16/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      4/16/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 191258 Tractor Sublease      252.11
      4/16/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      4/16/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      4/16/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      4/16/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      4/16/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      4/16/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      4/16/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 191258 Down Payment lo       303.55
      4/16/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      4/16/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/16/2016   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-9          96.52
      4/16/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      4/16/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      4/16/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.03
      4/16/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.29
      4/16/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.59
      4/16/2016   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                      100
      4/16/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      4/16/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      4/16/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      4/16/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      4/16/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.82
      4/16/2016   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                    100
      4/16/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      4/16/2016   709   RL0017   Owner Operator   Toll Charges                   21975A ILTOLL Elgin                      6
      4/16/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/16/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      4/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/16/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.52
      4/16/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.53
      4/16/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        80.37
      4/16/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.9
      4/16/2016   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                     100
      4/16/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      4/16/2016   709   RL0062   Owner Operator   Repair Order                   CTMS - 191241 Repair                323.42
      4/16/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      4/16/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      4/16/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      4/16/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      4/16/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.06
      4/16/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.82
      4/16/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.67
      4/16/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                     100
      4/16/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      4/16/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      4/16/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      4/16/2016   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/16/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.45
      4/16/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      4/16/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      4/16/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      4/16/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 191259 Q1202 Truck Leas      278.76
      4/16/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      4/16/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      4/16/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/16/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/16/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/16/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.33
      4/16/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.15
      4/16/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.01
      4/16/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      4/16/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      4/16/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      4/16/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      4/16/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 191289 Q1248                 311.97
      4/16/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/16/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/16/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/16/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.22
      4/16/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.59
      4/16/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.44
      4/16/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.02
      4/16/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        55.75
      4/16/2016   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                     100
      4/16/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      4/16/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      4/16/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      4/16/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      4/16/2016   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/16/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100

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      4/16/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/16/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/16/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/16/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.19
      4/16/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       101.25
      4/16/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         190
      4/16/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.34
      4/16/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      4/16/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      4/16/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      4/16/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.02
      4/16/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         326
      4/16/2016   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                     100
      4/16/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      4/16/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 191393 Tractor Sub leas      242.03
      4/16/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      4/16/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      4/16/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      4/16/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      4/16/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      4/16/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.41
      4/16/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.44
      4/16/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.49
      4/16/2016   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                     100
      4/16/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      4/16/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      4/16/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      4/16/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      4/16/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      4/16/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      4/16/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      4/16/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      4/16/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/16/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                          260
      4/16/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.6
      4/16/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.65
      4/16/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.34
      4/16/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.09
      4/16/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                    10.58
      4/16/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      4/16/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      4/16/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 191289 Q1238 Lease           311.97
      4/16/2016   730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/16/2016   730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      4/16/2016   730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/16/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/16/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/16/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/16/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/16/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.54
      4/16/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.13
      4/16/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.13
      4/16/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.17
      4/16/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.29
      4/16/2016   730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                     100
      4/16/2016   730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      4/16/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      4/16/2016   730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      4/16/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      4/16/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      4/16/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/16/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/16/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.88
      4/16/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.27
      4/16/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      4/16/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75

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      4/16/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      4/16/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.24
      4/16/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.64
      4/16/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.15
      4/16/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        80.73
      4/16/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.39
      4/16/2016   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                     100
      4/16/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      4/16/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      4/16/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      4/16/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      4/16/2016   742   ED0041   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-9          278.7
      4/16/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.83
      4/16/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.68
      4/16/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.75
      4/16/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.14
      4/16/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        91.56
      4/16/2016   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                     100
      4/16/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      4/16/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      4/16/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/16/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      4/16/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.82
      4/16/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       102.75
      4/16/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       121.04
      4/16/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.56
      4/16/2016   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                     100
      4/16/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      4/16/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/16/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      4/16/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      4/16/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      4/16/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      4/16/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      4/16/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      4/16/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      4/16/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/16/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.19
      4/16/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.32
      4/16/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.29
      4/16/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      4/16/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      4/16/2016   742   KJ0045   Owner Operator   Tire Purchase                  PO: 742-00333055 - PO System        677.14
      4/16/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/16/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          195
      4/16/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                             5
      4/16/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.05
      4/16/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.95
      4/16/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.95
      4/16/2016   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                     100
      4/16/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      4/16/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       328.51
      4/16/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      4/16/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      4/16/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.76
      4/16/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.39
      4/16/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.91
      4/16/2016   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                     100
      4/16/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/16/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      4/16/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      4/16/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      4/16/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      4/16/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/16/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/16/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.36
      4/16/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.82
      4/16/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       486.94

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      4/16/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        501.96
      4/16/2016   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                      100
      4/16/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/16/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           100.79
      4/16/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter          2.5
      4/16/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/16/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/16/2016   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                   12.5
      4/16/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      4/16/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      4/16/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      4/16/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      4/16/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      4/16/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      4/16/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/16/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/16/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.4
      4/16/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        179.16
      4/16/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         29.72
      4/16/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        206.19
      4/16/2016   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                      100
      4/16/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      4/16/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      4/16/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.38
      4/16/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.38
      4/16/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
      4/16/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
      4/16/2016   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      -35
      4/16/2016   742   PS0080   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     17.5
      4/16/2016   742   PS0080   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            95
      4/16/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    132.81
      4/16/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                   -265.63
      4/16/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism             -10
      4/16/2016   742   PS0080   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               5
      4/16/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
      4/16/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
      4/16/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.38
      4/16/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        405.55
      4/16/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                    10.58
      4/16/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                    34.17
      4/16/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/16/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.26
      4/16/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      4/16/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 191260 Tractor Lease          353.28
      4/23/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL           8.75
      4/23/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                        13
      4/23/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                           400
      4/23/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
      4/23/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.95
      4/23/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                     100
      4/23/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD            7.79
      4/23/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te          2.5
      4/23/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL           8.75
      4/23/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        13
      4/23/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/23/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.94
      4/23/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        326.03
      4/23/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        167.94
      4/23/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                    10.58
      4/23/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                    34.17
      4/23/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD           74.22
      4/23/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 191492 Trck Lease             353.28
      4/23/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL           8.75
      4/23/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                         8
      4/23/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/23/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        182.18
      4/23/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         72.87
      4/23/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         10.64
      4/23/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        327.92
      4/23/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2016 - Q13169                    10.58
      4/23/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                    34.17

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      4/23/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD           68.36
      4/23/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/23/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                         13
      4/23/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/23/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/23/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        434.45
      4/23/2016   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                       100
      4/23/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.93
      4/23/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      4/23/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
      4/23/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      4/23/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      4/23/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-30       -204.75
      4/23/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-30       -204.75
      4/23/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.49
      4/23/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        120.15
      4/23/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         64.02
      4/23/2016   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                       100
      4/23/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.04
      4/23/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      4/23/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
      4/23/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      4/23/2016   709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/23/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        269.62
      4/23/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                     10.58
      4/23/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                     34.17
      4/23/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.07
      4/23/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 191470 Q1201                  278.76
      4/23/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            8.75
      4/23/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                         13
      4/23/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/23/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/23/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.2
      4/23/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         88.36
      4/23/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        224.77
      4/23/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.7
      4/23/2016   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                       100
      4/23/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD            46.86
      4/23/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter          2.5
      4/23/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 191474 Q1104                  252.11
      4/23/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      4/23/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                       2.44
      4/23/2016   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/23/2016   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      4/23/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.97
      4/23/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        449.84
      4/23/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.73
      4/23/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.91
      4/23/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                     10.58
      4/23/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                     34.17
      4/23/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.69
      4/23/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 191562 Credit $450              -450
      4/23/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.36
      4/23/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/23/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      4/23/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/23/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      4/23/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        165.33
      4/23/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        239.34
      4/23/2016   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                       100
      4/23/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.33
      4/23/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      4/23/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      4/23/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.24
      4/23/2016   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                       100
      4/23/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     19.51

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      4/23/2016   709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329967 - PO System         225.83
      4/23/2016   709   DS0225   Owner Operator   Tire Purchase                  PO: 709-00329967 - PO System        -210.59
      4/23/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
      4/23/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      4/23/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        127.86
      4/23/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        166.91
      4/23/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        139.13
      4/23/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        143.95
      4/23/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        131.34
      4/23/2016   709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                       100
      4/23/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.74
      4/23/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.49
      4/23/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      4/23/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/23/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      4/23/2016   709   EA0003   Owner Operator   ESCROW                         Escrow Withdrawal                      -500
      4/23/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/23/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/23/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/23/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        460.48
      4/23/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        274.62
      4/23/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.47
      4/23/2016   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                       100
      4/23/2016   709   EA0003   Owner Operator   Loan Repayment                 Escrow Off-Set                          500
      4/23/2016   709   EA0003   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment        269.47
      4/23/2016   709   EA0003   Owner Operator   Loan Repayment                 Repair 17687779606 S/U Loan        -2897.45
      4/23/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      4/23/2016   709   EA0003   Owner Operator   T Chek Fee                     ExpressCheck Fee                      28.69
      4/23/2016   709   EA0003   Owner Operator   T Chek Fee                     Tractor Repair 33051                2868.76
      4/23/2016   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00333467 - PO System         315.93
      4/23/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      4/23/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/23/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
      4/23/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
      4/23/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/23/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/23/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/23/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/23/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/23/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/23/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        161.78
      4/23/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.43
      4/23/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.59
      4/23/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        221.18
      4/23/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        399.96
      4/23/2016   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                       100
      4/23/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.91
      4/23/2016   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00333354 - PO System         125.14
      4/23/2016   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00333354 - PO System         303.83
      4/23/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
      4/23/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/23/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.97
      4/23/2016   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                       100
      4/23/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                     93
      4/23/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                         13.58
      4/23/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
      4/23/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
      4/23/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/23/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.13
      4/23/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.97
      4/23/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.86
      4/23/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.37
      4/23/2016   709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                       100
      4/23/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.86
      4/23/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 191494 truck lease 3304       434.29
      4/23/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
      4/23/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
      4/23/2016   709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-30        -26.04
      4/23/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            145

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      4/23/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
      4/23/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      4/23/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.45
      4/23/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.86
      4/23/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        119.1
      4/23/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      4/23/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      4/23/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.51
      4/23/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 191474 73129                 181.08
      4/23/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      4/23/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      4/23/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.62
      4/23/2016   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                    100
      4/23/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.01
      4/23/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      4/23/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      4/23/2016   709   GS0015   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/23/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.76
      4/23/2016   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                     100
      4/23/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
      4/23/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 191474 Lease                 252.11
      4/23/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      4/23/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      4/23/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          300
      4/23/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/23/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       372.76
      4/23/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.99
      4/23/2016   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                     100
      4/23/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
      4/23/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      4/23/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      4/23/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/23/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/23/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       113.85
      4/23/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.95
      4/23/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.71
      4/23/2016   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                     100
      4/23/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      4/23/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      4/23/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/23/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.13
      4/23/2016   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                     100
      4/23/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      4/23/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/23/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      4/23/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      4/23/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      4/23/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/23/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/23/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.52
      4/23/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        423.7
      4/23/2016   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                     100
      4/23/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
      4/23/2016   709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00333146 - PO System        152.11
      4/23/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      4/23/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/23/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      4/23/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      4/23/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      4/23/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/23/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.31
      4/23/2016   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                     100
      4/23/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      4/23/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      4/23/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75

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      4/23/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      4/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      4/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      4/23/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        362.68
      4/23/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        383.19
      4/23/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          343
      4/23/2016   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                      100
      4/23/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      4/23/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      4/23/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      4/23/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      4/23/2016   709   JQ0015   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/23/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        104.75
      4/23/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         97.97
      4/23/2016   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                      100
      4/23/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51
      4/23/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      4/23/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      4/23/2016   709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/23/2016   709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/23/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        262.15
      4/23/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        101.75
      4/23/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
      4/23/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                     34.17
      4/23/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.58
      4/23/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 191442 Truck Lease            278.76
      4/23/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      4/23/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      4/23/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      4/23/2016   709   JS0265   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-30       -222.02
      4/23/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      4/23/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/23/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/23/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.91
      4/23/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        364.39
      4/23/2016   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                      100
      4/23/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.93
      4/23/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      4/23/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/23/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      4/23/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      4/23/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/23/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/23/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        372.02
      4/23/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        353.63
      4/23/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.68
      4/23/2016   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                      100
      4/23/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      4/23/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      4/23/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      4/23/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      4/23/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      4/23/2016   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                      100
      4/23/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.04
      4/23/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 191528 Lease Q1111            252.11
      4/23/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      4/23/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      4/23/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/23/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/23/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        231.93
      4/23/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.35
      4/23/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        212.94
      4/23/2016   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                      100
      4/23/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.51

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      4/23/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      4/23/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      4/23/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      4/23/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        125.33
      4/23/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        126.32
      4/23/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.29
      4/23/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      4/23/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-16          66.68
      4/23/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      4/23/2016   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                       100
      4/23/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
      4/23/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      4/23/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      4/23/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      4/23/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/23/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/23/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        292.93
      4/23/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.38
      4/23/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         91.42
      4/23/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        257.39
      4/23/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.11
      4/23/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      4/23/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      4/23/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      4/23/2016   709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-30       -532.06
      4/23/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           650
      4/23/2016   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                       100
      4/23/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.86
      4/23/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      4/23/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      4/23/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      4/23/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      4/23/2016   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                     -2750
      4/23/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      4/23/2016   709   NB0029   Owner Operator   Express Check                  T-Check Payment                        2750
      4/23/2016   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/23/2016   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      4/23/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        387.13
      4/23/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        233.02
      4/23/2016   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                       100
      4/23/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.15
      4/23/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 191573 Lease                  215.66
      4/23/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      4/23/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      4/23/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            150
      4/23/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
      4/23/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        148.49
      4/23/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.14
      4/23/2016   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                      100
      4/23/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.97
      4/23/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      4/23/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      4/23/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/23/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/23/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/23/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.29
      4/23/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.56
      4/23/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.25
      4/23/2016   709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                       100
      4/23/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/23/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.04
      4/23/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 191441 Tractor Sublease       252.11
      4/23/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL            8.75
      4/23/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL            8.75
      4/23/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware Q1109                          8
      4/23/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                         46.25
      4/23/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50

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      4/23/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - Q1109                     100
      4/23/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - Q1109                     100
      4/23/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           39.07
      4/23/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           39.04
      4/23/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 191289 Lease Q1109           252.11
      4/23/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      4/23/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      4/23/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.15
      4/23/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      4/23/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.04
      4/23/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      4/23/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 191441 Down Payment lo       303.55
      4/23/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  51.69
      4/23/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/23/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      4/23/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      4/23/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.09
      4/23/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.23
      4/23/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.57
      4/23/2016   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                     100
      4/23/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.05
      4/23/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      4/23/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      4/23/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.59
      4/23/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.11
      4/23/2016   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                    100
      4/23/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.29
      4/23/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/23/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      4/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/23/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.52
      4/23/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       403.82
      4/23/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.77
      4/23/2016   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                     100
      4/23/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.13
      4/23/2016   709   RL0062   Owner Operator   Repair Order                   CTMS - 191602 Repair                323.42
      4/23/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      4/23/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.46
      4/23/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      4/23/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      4/23/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.28
      4/23/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.98
      4/23/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        223.8
      4/23/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                     100
      4/23/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      4/23/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      4/23/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      4/23/2016   709   RP0082   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/23/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                          160
      4/23/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
      4/23/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.89
      4/23/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.23
      4/23/2016   709   RP0082   Owner Operator   FUEL REBATE                    Missing Fuel Discount                -5.89
      4/23/2016   709   RP0082   Owner Operator   FUEL REBATE                    Missing Fuel Discount                -3.91
      4/23/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      4/23/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      4/23/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
      4/23/2016   709   RP0082   Owner Operator   Tire Fee                       Tire Fee: 1915535                        4
      4/23/2016   709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00334221 - PO System         73.61
      4/23/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 191442 Q1202 Truck Leas      278.76

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      4/23/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      4/23/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      4/23/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/23/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.94
      4/23/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.86
      4/23/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      4/23/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      4/23/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.07
      4/23/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      4/23/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 191470 Q1248                 311.97
      4/23/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/23/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      4/23/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      4/23/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      4/23/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      4/23/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/23/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/23/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       125.85
      4/23/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           69
      4/23/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.63
      4/23/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        12.69
      4/23/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.75
      4/23/2016   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                     100
      4/23/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      4/23/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      4/23/2016   709   SB0009   Owner Operator   Truck Payment                  CTMS - 191271 tractor rental        430.42
      4/23/2016   709   SB0009   Owner Operator   Truck Payment                  CTMS - 191271 Tractor Rental        430.42
      4/23/2016   709   SB0009   Owner Operator   Truck Payment                  CTMS - 191468 Tractor Rental        430.42
      4/23/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      4/23/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      4/23/2016   709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/23/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            80
      4/23/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            60
      4/23/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      4/23/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.8
      4/23/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.63
      4/23/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.9
      4/23/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.13
      4/23/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      4/23/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance                          300
      4/23/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/23/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        67.89
      4/23/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        50.06
      4/23/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.76
      4/23/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.64
      4/23/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    30
      4/23/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 26.64
      4/23/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      4/23/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      4/23/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      4/23/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      4/23/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.01
      4/23/2016   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                     100
      4/23/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      4/23/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 191574 Tractor Sub leas      242.03
      4/23/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      4/23/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      4/23/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      4/23/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.37
      4/23/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        86.21
      4/23/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.26
      4/23/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        154.7
      4/23/2016   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                     100
      4/23/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      4/23/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      4/23/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      4/23/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      4/23/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      4/23/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      4/23/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      4/23/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      4/23/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      4/23/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/23/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/23/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/23/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.21
      4/23/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                    10.58
      4/23/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      4/23/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      4/23/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 191471 Q1238 Lease           311.97
      4/23/2016   730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/23/2016   730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      4/23/2016   730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/23/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/23/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/23/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/23/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/23/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.95
      4/23/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.12
      4/23/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.43
      4/23/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       103.16
      4/23/2016   730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                     100
      4/23/2016   730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
      4/23/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      4/23/2016   730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      4/23/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      4/23/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      4/23/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/23/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/23/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.22
      4/23/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                97.25
      4/23/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      4/23/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      4/23/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      4/23/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.86
      4/23/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.67
      4/23/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.67
      4/23/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.14
      4/23/2016   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                     100
      4/23/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.54
      4/23/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      4/23/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      4/23/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      4/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.92
      4/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.9
      4/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.09
      4/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        113.3
      4/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.11
      4/23/2016   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                     100
      4/23/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
      4/23/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      4/23/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/23/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      4/23/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.16
      4/23/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.32
      4/23/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.77
      4/23/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.96
      4/23/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       127.85
      4/23/2016   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                     100
      4/23/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      4/23/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      4/23/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      4/23/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      4/23/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      4/23/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68

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      4/23/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      4/23/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      4/23/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      4/23/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.19
      4/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.68
      4/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.24
      4/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.08
      4/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.24
      4/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.22
      4/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.69
      4/23/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.86
      4/23/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      4/23/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/23/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        45.97
      4/23/2016   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                     100
      4/23/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      4/23/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      4/23/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      4/23/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      4/23/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.88
      4/23/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        75.49
      4/23/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.74
      4/23/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.45
      4/23/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.61
      4/23/2016   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                     100
      4/23/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      4/23/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      4/23/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      4/23/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      4/23/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/23/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/23/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.5
      4/23/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.73
      4/23/2016   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                     100
      4/23/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
      4/23/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      4/23/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      4/23/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      4/23/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.91
      4/23/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.62
      4/23/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.91
      4/23/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.73
      4/23/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      4/23/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      4/23/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/23/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
      4/23/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      4/23/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 191443 Tractor Lease         353.28
      4/30/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      4/30/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      4/30/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      4/30/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.66
      4/30/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                    100
      4/30/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      4/30/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/30/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           70
      4/30/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.77
      4/30/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.03
      4/30/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.25
      4/30/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      4/30/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      4/30/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      4/30/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      4/30/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/30/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        266.9
      4/30/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.21

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      4/30/2016   709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                       148.14
      4/30/2016   709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                        271.6
      4/30/2016   709   AV0021   Owner Operator   Highway Use Tax         HUTC:2016 - Q13169                   10.58
      4/30/2016   709   AV0021   Owner Operator   IRP License Deduction   LCIL:2016 - Q13169                   34.17
      4/30/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE         Q13169 2013 Freightliner PD          68.36
      4/30/2016   709   AV0021   Owner Operator   Truck Payment           CTMS - 191344 Q13169 Sublease       352.68
      4/30/2016   709   AV0021   Owner Operator   Truck Payment           CTMS - 191490 Q13169 Sublease       352.68
      4/30/2016   709   AV0021   Owner Operator   Truck Payment           CTMS - 191681 Q13169 Sublease       352.68
      4/30/2016   709   CM0119   Owner Operator   Communication Charge    PNet Hware 32920                        13
      4/30/2016   709   CM0119   Owner Operator   Fuel Purchase           Fuel Purchase                       321.32
      4/30/2016   709   CM0119   Owner Operator   Fuel Purchase           Fuel Purchase                       331.61
      4/30/2016   709   CM0119   Owner Operator   Fuel Purchase           Fuel Purchase                       389.33
      4/30/2016   709   CM0119   Owner Operator   IRP License Deduction   LCIL:2016 - 32920                     100
      4/30/2016   709   CM0119   Owner Operator   Tractor Charge          14620 - 32920                       507.91
      4/30/2016   709   CR0064   Owner Operator   Communication Charge    PNet Hware 32864                        13
      4/30/2016   709   CR0064   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 4-23        204.75
      4/30/2016   709   CR0064   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 4-23        204.75
      4/30/2016   709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                       233.57
      4/30/2016   709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                       109.08
      4/30/2016   709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                       112.67
      4/30/2016   709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                        95.96
      4/30/2016   709   CR0064   Owner Operator   IRP License Deduction   LCIL:2016 - 32864                     100
      4/30/2016   709   CR0064   Owner Operator   Tractor Charge          14267 - 32864                       245.63
      4/30/2016   709   CR0064   Owner Operator   Truck Payment           CTMS - 191719 Tractor rental O        180
      4/30/2016   709   CS0091   Owner Operator   Communication Charge    PNet Hware Q1201                         8
      4/30/2016   709   CS0091   Owner Operator   ESCROW                  Weekly Escrow                           50
      4/30/2016   709   CS0091   Owner Operator   Fuel Purchase           Fuel Purchase                        258.1
      4/30/2016   709   CS0091   Owner Operator   Highway Use Tax         HUTC:2016 - Q1201                    10.58
      4/30/2016   709   CS0091   Owner Operator   IRP License Deduction   LCIL:2016 - Q1201                    34.17
      4/30/2016   709   CS0091   Owner Operator   Truck Payment           CTMS - 191650 Q1201                 278.76
      4/30/2016   709   DJ0028   Owner Operator   Communication Charge    PNet Hware q1104                        13
      4/30/2016   709   DJ0028   Owner Operator   Fuel Card Advances      Cash Advance                          200
      4/30/2016   709   DJ0028   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      4/30/2016   709   DJ0028   Owner Operator   Fuel Purchase           Fuel Purchase                       150.62
      4/30/2016   709   DJ0028   Owner Operator   Fuel Purchase           Fuel Purchase                       255.48
      4/30/2016   709   DJ0028   Owner Operator   IRP License Deduction   LCIL:2016 - Q1104                     100
      4/30/2016   709   DJ0028   Owner Operator   Repair Order            CTMS - 191642 Repair                604.51
      4/30/2016   709   DJ0028   Owner Operator   Repair Order            CTMS - 191787 Repair                604.51
      4/30/2016   709   DJ0028   Owner Operator   Truck Payment           CTMS - 191653 Q1104                 252.11
      4/30/2016   709   DL0107   Owner Operator   Communication Charge    PNet Hware Q1245                     10.56
      4/30/2016   709   DL0107   Owner Operator   Communication Charge    PNet Hware Q1245                        13
      4/30/2016   709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                       368.12
      4/30/2016   709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                       280.49
      4/30/2016   709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                       371.27
      4/30/2016   709   DL0107   Owner Operator   Highway Use Tax         HUTC:2016 - Q1245                    10.58
      4/30/2016   709   DL0107   Owner Operator   IRP License Deduction   LCIL:2016 - Q1245                    34.17
      4/30/2016   709   DL0107   Owner Operator   Repair Order            CTMS - 191610 Repair                  250
      4/30/2016   709   DL0107   Owner Operator   Repair Order            CTMS - 191786 Repair                  250
      4/30/2016   709   DL0107   Owner Operator   Truck Payment           CTMS - 191436 Sublease              338.99
      4/30/2016   709   DL0107   Owner Operator   Truck Payment           CTMS - 191615 Sublease              338.99
      4/30/2016   709   DS0049   Owner Operator   Accident Claim          03/28/16 DS0049 Accident             2000
      4/30/2016   709   DS0049   Owner Operator   Communication Charge    PNet Hware 32915                        13
      4/30/2016   709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance                          500
      4/30/2016   709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance Fee                         5
      4/30/2016   709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                       250.14
      4/30/2016   709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                       281.96
      4/30/2016   709   DS0049   Owner Operator   IRP License Deduction   LCIL:2016 - 32915                     100
      4/30/2016   709   DS0049   Owner Operator   Tractor Charge          15738 - 32915                       512.35
      4/30/2016   709   DS0225   Owner Operator   Fuel Purchase           Fuel Purchase                       398.51
      4/30/2016   709   DS0225   Owner Operator   IRP License Deduction   LCIL:2016 - 33320                     100
      4/30/2016   709   DS0225   Owner Operator   Repair Order            CTMS - 191609 Parts                  10.25
      4/30/2016   709   DS0225   Owner Operator   Tire Purchase           PO: 709-00329967 - PO System        225.77
      4/30/2016   709   DS0225   Owner Operator   Tire Purchase           PO: 709-00329967 - PO System         -0.04
      4/30/2016   709   DW0138   Owner Operator   Communication Charge    PNet Hware 33443                        13
      4/30/2016   709   DW0138   Owner Operator   Fuel Purchase           Fuel Purchase                       192.22
      4/30/2016   709   DW0138   Owner Operator   IRP License Deduction   LCIL:2016 - 33443                     100
      4/30/2016   709   DW0138   Owner Operator   Tractor Charge          55584 - 33443                       463.27
      4/30/2016   709   EA0003   Owner Operator   Communication Charge    PNet Hware 33051                        13
      4/30/2016   709   EA0003   Owner Operator   ESCROW                  Weekly Escrow                         100
      4/30/2016   709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                          200
      4/30/2016   709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      4/30/2016   709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                       232.73
      4/30/2016   709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                       183.61

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      4/30/2016   709   EA0003   Owner Operator   Fuel Purchase              Fuel Purchase                       250.73
      4/30/2016   709   EA0003   Owner Operator   IRP License Deduction      LCIL:2016 - 33051                     100
      4/30/2016   709   EA0003   Owner Operator   Loan Repayment             Loan # 00009 - Loan Repayment       269.47
      4/30/2016   709   EA0003   Owner Operator   Tire Purchase              PO: 709-00333467 - PO System        315.88
      4/30/2016   709   EA0003   Owner Operator   Tractor Charge             16439 - 33051                       555.56
      4/30/2016   709   EE0011   Owner Operator   Charge back by affiliate   CTMS - 191696 Final payment -Q      271.69
      4/30/2016   709   EE0011   Owner Operator   Communication Charge       PNet Hware 32910                        13
      4/30/2016   709   EE0011   Owner Operator   Fuel Card Advances         Cash Advance                          400
      4/30/2016   709   EE0011   Owner Operator   Fuel Card Advances         Cash Advance Fee                         4
      4/30/2016   709   EE0011   Owner Operator   Fuel Purchase              Fuel Purchase                       249.37
      4/30/2016   709   EE0011   Owner Operator   Fuel Purchase              Fuel Purchase                       163.46
      4/30/2016   709   EE0011   Owner Operator   Fuel Purchase              Fuel Purchase                       299.65
      4/30/2016   709   EE0011   Owner Operator   Fuel Purchase              Fuel Purchase                       354.86
      4/30/2016   709   EE0011   Owner Operator   IRP License Deduction      LCIL:2016 - 32910                     100
      4/30/2016   709   EE0011   Owner Operator   Tire Purchase              PO: 709-00333354 - PO System        303.79
      4/30/2016   709   EE0011   Owner Operator   Tractor Charge             14619 - 32910                       505.27
      4/30/2016   709   EH0020   Owner Operator   Communication Charge       PNet Hware 33065                      6.45
      4/30/2016   709   EH0020   Owner Operator   Communication Charge       PNet Hware 33065                        13
      4/30/2016   709   EH0020   Owner Operator   Communication Charge       PNet Hware 33065                        13
      4/30/2016   709   EH0020   Owner Operator   ESCROW                     Weekly Escrow                         250
      4/30/2016   709   EH0020   Owner Operator   ESCROW                     Weekly Escrow                         250
      4/30/2016   709   EH0020   Owner Operator   Fuel Card Advances         Cash Advance                          200
      4/30/2016   709   EH0020   Owner Operator   Fuel Card Advances         Cash Advance                          200
      4/30/2016   709   EH0020   Owner Operator   Fuel Card Advances         Cash Advance                          200
      4/30/2016   709   EH0020   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      4/30/2016   709   EH0020   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      4/30/2016   709   EH0020   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      4/30/2016   709   EH0020   Owner Operator   Fuel Purchase              Fuel Purchase                       285.91
      4/30/2016   709   EH0020   Owner Operator   Fuel Purchase              Fuel Purchase                       200.91
      4/30/2016   709   EH0020   Owner Operator   Fuel Purchase              Fuel Purchase                       366.92
      4/30/2016   709   EH0020   Owner Operator   Fuel Purchase              Fuel Purchase                       156.26
      4/30/2016   709   EH0020   Owner Operator   Fuel Purchase              Fuel Purchase                       185.46
      4/30/2016   709   EH0020   Owner Operator   Fuel Purchase              Fuel Purchase                       147.08
      4/30/2016   709   EH0020   Owner Operator   IRP License Deduction      LCIL:2016 - 33065                     100
      4/30/2016   709   EH0020   Owner Operator   Repair Order               CTMS - 191602 Repair                224.55
      4/30/2016   709   EH0020   Owner Operator   Repair Order               CTMS - 191786 Repair                224.55
      4/30/2016   709   EH0020   Owner Operator   Tractor Charge             16433 - 33065                       518.66
      4/30/2016   709   EH0020   Owner Operator   Tractor Charge             16433 - 33065                       532.24
      4/30/2016   709   FS0039   Owner Operator   Communication Charge       PNet Hware 33040                         8
      4/30/2016   709   FS0039   Owner Operator   ESCROW                     Weekly Escrow                           50
      4/30/2016   709   FS0039   Owner Operator   Fuel Purchase              Fuel Purchase                       281.08
      4/30/2016   709   FS0039   Owner Operator   Fuel Purchase              Fuel Purchase                       158.15
      4/30/2016   709   FS0039   Owner Operator   Fuel Purchase              Fuel Purchase                       305.03
      4/30/2016   709   FS0039   Owner Operator   IRP License Deduction      LCIL:2016 - 33040                     100
      4/30/2016   709   FS0039   Owner Operator   Truck Payment              CTMS - 191678 truck lease 3304      434.29
      4/30/2016   709   FT0004   Owner Operator   Communication Charge       PNet Hware 73129                        13
      4/30/2016   709   FT0004   Owner Operator   Deferred Negative Pay      ** Net Rebill held from 4-23         26.04
      4/30/2016   709   FT0004   Owner Operator   Fuel Card Advances         Cash Advance                            40
      4/30/2016   709   FT0004   Owner Operator   Fuel Card Advances         Cash Advance                          120
      4/30/2016   709   FT0004   Owner Operator   Fuel Card Advances         Cash Advance Fee                       1.2
      4/30/2016   709   FT0004   Owner Operator   Fuel Card Advances         Cash Advance Fee                       0.4
      4/30/2016   709   FT0004   Owner Operator   Fuel Purchase              Fuel Purchase                       203.58
      4/30/2016   709   FT0004   Owner Operator   Fuel Purchase              Fuel Purchase                       191.98
      4/30/2016   709   FT0004   Owner Operator   Fuel Purchase              Fuel Purchase                       199.25
      4/30/2016   709   FT0004   Owner Operator   Highway Use Tax            HUTC:2016 - 73129                    10.58
      4/30/2016   709   FT0004   Owner Operator   IRP License Deduction      LCIL:2016 - 73129                    34.17
      4/30/2016   709   FT0004   Owner Operator   Repair Order               CTMS - 191610 Repair                392.92
      4/30/2016   709   FT0004   Owner Operator   Repair Order               CTMS - 191786 Repair                202.59
      4/30/2016   709   FT0004   Owner Operator   Truck Payment              CTMS - 191653 73129                 181.08
      4/30/2016   709   FV0001   Owner Operator   Communication Charge       PNet Hware 21521B                       13
      4/30/2016   709   FV0001   Owner Operator   Fuel Card Advances         Cash Advance                          300
      4/30/2016   709   FV0001   Owner Operator   Fuel Card Advances         Cash Advance                          200
      4/30/2016   709   FV0001   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      4/30/2016   709   FV0001   Owner Operator   Fuel Card Advances         Cash Advance Fee                         3
      4/30/2016   709   FV0001   Owner Operator   Fuel Purchase              Fuel Purchase                       282.18
      4/30/2016   709   FV0001   Owner Operator   Fuel Purchase              Fuel Purchase                       397.44
      4/30/2016   709   FV0001   Owner Operator   IRP License Deduction      LCIL:2016 - 21521B                    100
      4/30/2016   709   GS0015   Owner Operator   Communication Charge       PNet Hware Q1110                        13
      4/30/2016   709   GS0015   Owner Operator   Fuel Purchase              Fuel Purchase                       260.09
      4/30/2016   709   GS0015   Owner Operator   IRP License Deduction      LCIL:2016 - Q1110                     100
      4/30/2016   709   GS0015   Owner Operator   Truck Payment              CTMS - 191653 Lease                 252.11
      4/30/2016   709   HG0007   Owner Operator   Communication Charge       PNet Hware 33180                        13
      4/30/2016   709   HG0007   Owner Operator   Fuel Card Advances         Cash Advance                          200

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      4/30/2016   709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2
      4/30/2016   709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                     391.54
      4/30/2016   709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                     198.88
      4/30/2016   709   HG0007   Owner Operator   IRP License Deduction   LCIL:2016 - 33180                   100
      4/30/2016   709   HG0027   Owner Operator   Communication Charge    PNet Hware 33418                      13
      4/30/2016   709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                     408.47
      4/30/2016   709   HG0027   Owner Operator   IRP License Deduction   LCIL:2016 - 33418                   100
      4/30/2016   709   IR0002   Owner Operator   Fuel Card Advances      Cash Advance                      135.47
      4/30/2016   709   IR0002   Owner Operator   Fuel Card Advances      Cash Advance Fee                    1.35
      4/30/2016   709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                     248.88
      4/30/2016   709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                     275.05
      4/30/2016   709   IR0002   Owner Operator   IRP License Deduction   LCIL:2016 - 32901                   100
      4/30/2016   709   IR0002   Owner Operator   Tractor Charge          14461 - 32901                     521.95
      4/30/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY      L&H                                13.96
      4/30/2016   709   JC0292   Owner Operator   Communication Charge    PNet Hware q1210                      13
      4/30/2016   709   JC0292   Owner Operator   Communication Charge    PNet Hware q1210                      13
      4/30/2016   709   JC0292   Owner Operator   ESCROW                  Weekly Escrow                       400
      4/30/2016   709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                        200
      4/30/2016   709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                        200
      4/30/2016   709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2
      4/30/2016   709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2
      4/30/2016   709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                     324.33
      4/30/2016   709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                     176.15
      4/30/2016   709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                     349.12
      4/30/2016   709   JC0292   Owner Operator   IRP License Deduction   LCIL:2016 - Q1210                   100
      4/30/2016   709   JC0292   Owner Operator   Tire Purchase           PO: 709-00333146 - PO System      156.09
      4/30/2016   709   JC0292   Owner Operator   Tire Purchase           PO: 709-00333146 - PO System        4.01
      4/30/2016   709   JC0292   Owner Operator   Tractor Charge          51362 - Q1210                     458.72
      4/30/2016   709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                      13
      4/30/2016   709   JG0017   Owner Operator   ESCROW                  Weekly Escrow                       500
      4/30/2016   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                        200
      4/30/2016   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                        100
      4/30/2016   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                       1
      4/30/2016   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2
      4/30/2016   709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                     374.94
      4/30/2016   709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                     378.18
      4/30/2016   709   JG0017   Owner Operator   IRP License Deduction   LCIL:2016 - 32908                   100
      4/30/2016   709   JG0017   Owner Operator   Tractor Charge          14298 - 32908                      504.6
      4/30/2016   709   JG0072   Owner Operator   Communication Charge    PNet Hware 32909                      13
      4/30/2016   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                        100
      4/30/2016   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                        100
      4/30/2016   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                        300
      4/30/2016   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                       3
      4/30/2016   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                       1
      4/30/2016   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                       1
      4/30/2016   709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                     266.69
      4/30/2016   709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                     412.57
      4/30/2016   709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                     404.63
      4/30/2016   709   JG0072   Owner Operator   IRP License Deduction   LCIL:2016 - 32909                   100
      4/30/2016   709   JG0072   Owner Operator   Tractor Charge          14534 - 32909                     513.26
      4/30/2016   709   JQ0015   Owner Operator   Communication Charge    PNet Hware 33438                      13
      4/30/2016   709   JQ0015   Owner Operator   ESCROW                  Weekly Escrow                         50
      4/30/2016   709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                     100.07
      4/30/2016   709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                      143.4
      4/30/2016   709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                     100.92
      4/30/2016   709   JQ0015   Owner Operator   IRP License Deduction   LCIL:2016 - 33438                   100
      4/30/2016   709   JR0099   Owner Operator   Communication Charge    PNet Hware Q1203                      13
      4/30/2016   709   JR0099   Owner Operator   Fuel Purchase           Fuel Purchase                     156.62
      4/30/2016   709   JR0099   Owner Operator   Fuel Purchase           Fuel Purchase                     242.87
      4/30/2016   709   JR0099   Owner Operator   Highway Use Tax         HUTC:2016 - Q1203                  10.58
      4/30/2016   709   JR0099   Owner Operator   IRP License Deduction   LCIL:2016 - Q1203                  34.17
      4/30/2016   709   JR0099   Owner Operator   Truck Payment           CTMS - 191620 Truck Lease         278.76
      4/30/2016   709   JS0265   Owner Operator   Communication Charge    PNet Hware 33325                      13
      4/30/2016   709   JS0265   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 4-23      222.02
      4/30/2016   709   JS0265   Owner Operator   ESCROW                  Weekly Escrow                       100
      4/30/2016   709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                        200
      4/30/2016   709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                        200
      4/30/2016   709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2
      4/30/2016   709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2
      4/30/2016   709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                     297.56
      4/30/2016   709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                     165.46
      4/30/2016   709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                     140.77
      4/30/2016   709   JS0265   Owner Operator   IRP License Deduction   LCIL:2016 - 33325                   100

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      4/30/2016   709   KP0004   Owner Operator   Communication Charge       PNet Hware 32914                        13
      4/30/2016   709   KP0004   Owner Operator   ESCROW                     Weekly Escrow                         250
      4/30/2016   709   KP0004   Owner Operator   Fuel Card Advances         Cash Advance                          100
      4/30/2016   709   KP0004   Owner Operator   Fuel Card Advances         Cash Advance Fee                         1
      4/30/2016   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                       199.73
      4/30/2016   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                       327.57
      4/30/2016   709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                        177.1
      4/30/2016   709   KP0004   Owner Operator   IRP License Deduction      LCIL:2016 - 32914                     100
      4/30/2016   709   KP0004   Owner Operator   Repair Order               CTMS - 191610 Repair                    70
      4/30/2016   709   KP0004   Owner Operator   Tractor Charge             14457 - 32914                       519.59
      4/30/2016   709   LL0160   Owner Operator   Communication Charge       PNet Hware Q1111                         8
      4/30/2016   709   LL0160   Owner Operator   IRP License Deduction      LCIL:2016 - Q1111                     100
      4/30/2016   709   LL0160   Owner Operator   Repair Order               CTMS - 191609 Repair                 251.1
      4/30/2016   709   LL0160   Owner Operator   Truck Payment              CTMS - 191717 Lease Q1111           252.11
      4/30/2016   709   LS0023   Owner Operator   Communication Charge       PNet Hware 33655                        13
      4/30/2016   709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance                          200
      4/30/2016   709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      4/30/2016   709   LS0023   Owner Operator   Fuel Purchase              Fuel Purchase                       232.15
      4/30/2016   709   LS0023   Owner Operator   IRP License Deduction      LCIL:2016 - 33655                     100
      4/30/2016   709   MB0048   Owner Operator   Communication Charge       PNet Hware 21727b                       13
      4/30/2016   709   MB0048   Owner Operator   Fuel Card Advances         Cash Advance                          200
      4/30/2016   709   MB0048   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      4/30/2016   709   MB0048   Owner Operator   Fuel Purchase              Fuel Purchase                       172.46
      4/30/2016   709   MG0067   Owner Operator   Fuel Purchase              Fuel Purchase                       235.02
      4/30/2016   709   MG0067   Owner Operator   Fuel Purchase              Fuel Purchase                       173.01
      4/30/2016   709   MG0067   Owner Operator   Fuel Purchase              Fuel Purchase                       295.08
      4/30/2016   709   MG0067   Owner Operator   IRP License Deduction      LCIL:2016 - 33435                     100
      4/30/2016   709   MM0093   Owner Operator   Communication Charge       PNet Hware 32931                        13
      4/30/2016   709   MM0093   Owner Operator   Fuel Card Advances         Cash Advance                          100
      4/30/2016   709   MM0093   Owner Operator   Fuel Card Advances         Cash Advance Fee                         1
      4/30/2016   709   MM0093   Owner Operator   Fuel Purchase              Fuel Purchase                       288.94
      4/30/2016   709   MM0093   Owner Operator   Fuel Purchase              Fuel Purchase                        261.9
      4/30/2016   709   MM0093   Owner Operator   Fuel Purchase              Fuel Purchase                        219.8
      4/30/2016   709   MM0093   Owner Operator   Loan Repayment             Loan # 00004 - Loan Repayment       257.39
      4/30/2016   709   MM0093   Owner Operator   Tractor Charge             16434 - 32931                       337.19
      4/30/2016   709   MP0035   Owner Operator   Communication Charge       PNet Hware 32904                        13
      4/30/2016   709   MP0035   Owner Operator   Deferred Negative Pay      ** Net Rebill held from 4-23        532.06
      4/30/2016   709   MP0035   Owner Operator   ESCROW                     Weekly Escrow                         650
      4/30/2016   709   MP0035   Owner Operator   Fuel Card Advances         Cash Advance                          140
      4/30/2016   709   MP0035   Owner Operator   Fuel Card Advances         Cash Advance Fee                       1.4
      4/30/2016   709   MP0035   Owner Operator   Fuel Purchase              Fuel Purchase                       522.72
      4/30/2016   709   MP0035   Owner Operator   IRP License Deduction      LCIL:2016 - 32904                     100
      4/30/2016   709   MP0035   Owner Operator   Tractor Charge             15571 - 32904                       323.05
      4/30/2016   709   NB0029   Owner Operator   Charge back by affiliate   CTMS - 191697 Final payment Q1        220
      4/30/2016   709   NB0029   Owner Operator   Communication Charge       PNet Hware Q1108                        13
      4/30/2016   709   NB0029   Owner Operator   ESCROW                     Weekly Escrow                         500
      4/30/2016   709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                       315.77
      4/30/2016   709   NB0029   Owner Operator   IRP License Deduction      LCIL:2016 - Q1108                     100
      4/30/2016   709   NB0029   Owner Operator   Truck Payment              CTMS - 191764 Lease                 215.66
      4/30/2016   709   NG0005   Owner Operator   Communication Charge       PNet Hware 21412B                       13
      4/30/2016   709   NG0005   Owner Operator   Fuel Card Advances         Cash Advance                          300
      4/30/2016   709   NG0005   Owner Operator   Fuel Card Advances         Cash Advance Fee                         3
      4/30/2016   709   NG0005   Owner Operator   Fuel Purchase              Fuel Purchase                           82
      4/30/2016   709   NG0005   Owner Operator   Fuel Purchase              Fuel Purchase                       218.45
      4/30/2016   709   NG0005   Owner Operator   IRP License Deduction      LCIL:2016 - 21412B                    100
      4/30/2016   709   NR0010   Owner Operator   Communication Charge       PNet Hware Q1106                        13
      4/30/2016   709   NR0010   Owner Operator   ESCROW                     Weekly Escrow                         250
      4/30/2016   709   NR0010   Owner Operator   Fuel Card Advances         Cash Advance                          200
      4/30/2016   709   NR0010   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2
      4/30/2016   709   NR0010   Owner Operator   Fuel Purchase              Fuel Purchase                        93.82
      4/30/2016   709   NR0010   Owner Operator   Fuel Purchase              Fuel Purchase                       158.76
      4/30/2016   709   NR0010   Owner Operator   Fuel Purchase              Fuel Purchase                       240.49
      4/30/2016   709   NR0010   Owner Operator   Fuel Purchase              Fuel Purchase                        238.3
      4/30/2016   709   NR0010   Owner Operator   Fuel Purchase              Fuel Purchase                       204.13
      4/30/2016   709   NR0010   Owner Operator   IRP License Deduction      LCIL:2016 - Q1106                     100
      4/30/2016   709   NR0010   Owner Operator   Truck Payment              CTMS - 191619 Tractor Sublease      252.11
      4/30/2016   709   NT9564   Owner Operator   Communication Charge       PNet Hware Q1109                         8
      4/30/2016   709   NT9564   Owner Operator   Communication Charge       PNet Hware Q1109                         8
      4/30/2016   709   NT9564   Owner Operator   ESCROW                     Weekly Escrow                           50
      4/30/2016   709   NT9564   Owner Operator   ESCROW                     Weekly Escrow                         3.75
      4/30/2016   709   NT9564   Owner Operator   IRP License Deduction      LCIL:2016 - Q1109                     100
      4/30/2016   709   NT9564   Owner Operator   Truck Payment              CTMS - 191471 Lease Q1109           252.11
      4/30/2016   709   NT9564   Owner Operator   Truck Payment              CTMS - 191650 Lease Q1109           252.11

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      4/30/2016   709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                        59.83
      4/30/2016   709   RC0030   Owner Operator   Truck Payment           CTMS - 191619 Down Payment lo       303.55
      4/30/2016   709   RC0089   Owner Operator   Fuel Card Advances      Cash Advance                          500
      4/30/2016   709   RC0089   Owner Operator   Fuel Card Advances      Cash Advance Fee                         5
      4/30/2016   709   RC0089   Owner Operator   Fuel Purchase           Fuel Purchase                       325.02
      4/30/2016   709   RC0089   Owner Operator   Fuel Purchase           Fuel Purchase                        171.8
      4/30/2016   709   RC0089   Owner Operator   IRP License Deduction   LCIL:2016 - 32986                     100
      4/30/2016   709   RC0089   Owner Operator   Tractor Charge          14592 - 32986                       504.72
      4/30/2016   709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                       238.49
      4/30/2016   709   RL0017   Owner Operator   IRP License Deduction   LCIL:2016 - 21975A                    100
      4/30/2016   709   RL0017   Owner Operator   Repair Order            CTMS - 191793 Repair                245.99
      4/30/2016   709   RL0062   Owner Operator   Communication Charge    PNet Hware 32912                        13
      4/30/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                          100
      4/30/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                          100
      4/30/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                          100
      4/30/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      4/30/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      4/30/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      4/30/2016   709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                       373.66
      4/30/2016   709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                       406.61
      4/30/2016   709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                       373.62
      4/30/2016   709   RL0062   Owner Operator   IRP License Deduction   LCIL:2016 - 32912                     100
      4/30/2016   709   RL0062   Owner Operator   Tractor Charge          14460 - 32912                       512.16
      4/30/2016   709   RM0026   Owner Operator   Communication Charge    PNet Hware 33664                        13
      4/30/2016   709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                       301.02
      4/30/2016   709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                       238.83
      4/30/2016   709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                       314.87
      4/30/2016   709   RM0026   Owner Operator   IRP License Deduction   LCIL:2016 - 33664                     100
      4/30/2016   709   RM0026   Owner Operator   Repair Order            CTMS - 191610 Repair                356.94
      4/30/2016   709   RM0026   Owner Operator   Repair Order            CTMS - 191786 Repair                356.94
      4/30/2016   709   RP0082   Owner Operator   Communication Charge    PNet Hware Q1202                        13
      4/30/2016   709   RP0082   Owner Operator   Fuel Purchase           Fuel Purchase                       282.04
      4/30/2016   709   RP0082   Owner Operator   Highway Use Tax         HUTC:2016 - Q1202                    10.58
      4/30/2016   709   RP0082   Owner Operator   IRP License Deduction   LCIL:2016 - Q1202                    34.17
      4/30/2016   709   RP0082   Owner Operator   Tire Purchase           PO: 709-00334221 - PO System         73.61
      4/30/2016   709   RP0082   Owner Operator   Truck Payment           CTMS - 191620 Q1202 Truck Leas      278.76
      4/30/2016   709   RR0123   Owner Operator   Communication Charge    PNet Hware Q1248                         8
      4/30/2016   709   RR0123   Owner Operator   ESCROW                  Weekly Escrow                           50
      4/30/2016   709   RR0123   Owner Operator   Fuel Card Advances      Cash Advance                          100
      4/30/2016   709   RR0123   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      4/30/2016   709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                       440.04
      4/30/2016   709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                       317.07
      4/30/2016   709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                       346.61
      4/30/2016   709   RR0123   Owner Operator   Highway Use Tax         HUTC:2016 - Q1248                    10.58
      4/30/2016   709   RR0123   Owner Operator   IRP License Deduction   LCIL:2016 - Q1248                    34.17
      4/30/2016   709   RR0123   Owner Operator   Truck Payment           CTMS - 191649 Q1248                 311.97
      4/30/2016   709   SB0009   Owner Operator   ESCROW                  Weekly Escrow                        59.61
      4/30/2016   709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance                          100
      4/30/2016   709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      4/30/2016   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                        14.61
      4/30/2016   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                       255.74
      4/30/2016   709   SB0009   Owner Operator   IRP License Deduction   LCIL:2016 - 33236                     100
      4/30/2016   709   SB0009   Owner Operator   Tractor Charge          19100 - 33236                       564.33
      4/30/2016   709   SN0019   Owner Operator   Communication Charge    PNet Hware 33461                        13
      4/30/2016   709   SN0019   Owner Operator   ESCROW                  Weekly Escrow                           50
      4/30/2016   709   SN0019   Owner Operator   Fuel Card Advances      Cash Advance                          100
      4/30/2016   709   SN0019   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      4/30/2016   709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                       307.06
      4/30/2016   709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                        259.8
      4/30/2016   709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                        57.36
      4/30/2016   709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                       101.49
      4/30/2016   709   UE0001   Owner Operator   ESCROW                  Weekly Escrow                           50
      4/30/2016   709   UE0001   Owner Operator   Fuel Card Advances      Cash Advance                            60
      4/30/2016   709   UE0001   Owner Operator   Fuel Card Advances      Cash Advance                          100
      4/30/2016   709   UE0001   Owner Operator   Fuel Card Advances      Cash Advance                          200
      4/30/2016   709   UE0001   Owner Operator   Fuel Card Advances      Cash Advance                          100
      4/30/2016   709   UE0001   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      4/30/2016   709   UE0001   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      4/30/2016   709   UE0001   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      4/30/2016   709   UE0001   Owner Operator   Fuel Card Advances      Cash Advance Fee                       0.6
      4/30/2016   709   UE0001   Owner Operator   Fuel Purchase           Fuel Purchase                       204.63
      4/30/2016   709   UE0001   Owner Operator   Fuel Purchase           Fuel Purchase                       210.45
      4/30/2016   709   UE0001   Owner Operator   Fuel Purchase           Fuel Purchase                        72.02

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      4/30/2016   709   UE0001   Owner Operator   Fuel Purchase           Fuel Purchase                       248.81
      4/30/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE         2008 Freightliner PD                  3.36
      4/30/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE         2008 Freightliner PD                    30
      4/30/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE         2008 Freightliner PD                    30
      4/30/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE         2008 Freightliner PD Terrorism         2.5
      4/30/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE         2008 Freightliner PD Terrorism         2.5
      4/30/2016   709   UE0001   Owner Operator   Repair Order            CTMS - 191609 New Truck Set Up         250
      4/30/2016   709   UE0001   Owner Operator   Repair Order            CTMS - 191786 Repair                   250
      4/30/2016   709   UE0001   Owner Operator   Repair Order            CTMS - 191787 Repair                202.99
      4/30/2016   709   VB0015   Owner Operator   Communication Charge    PNet Hware Q1112                         8
      4/30/2016   709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                       254.01
      4/30/2016   709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                        287.7
      4/30/2016   709   VB0015   Owner Operator   IRP License Deduction   LCIL:2016 - Q1112                      100
      4/30/2016   709   VB0015   Owner Operator   Truck Payment           CTMS - 191765 Tractor Sub leas      242.03
      4/30/2016   709   VJ0006   Owner Operator   Communication Charge    PNet Hware 32945                        13
      4/30/2016   709   VJ0006   Owner Operator   Communication Charge    PNet Hware 32945                        13
      4/30/2016   709   VJ0006   Owner Operator   ESCROW                  Escrow Withdrawal                    -7300
      4/30/2016   709   VJ0006   Owner Operator   ESCROW                  Weekly Escrow                          200
      4/30/2016   709   VJ0006   Owner Operator   ESCROW                  Weekly Escrow                          200
      4/30/2016   709   VJ0006   Owner Operator   Express Check           T-Check Payment                       7300
      4/30/2016   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                           150
      4/30/2016   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                       1.5
      4/30/2016   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         76.6
      4/30/2016   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                        88.25
      4/30/2016   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                       236.97
      4/30/2016   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                       345.02
      4/30/2016   709   VJ0006   Owner Operator   IRP License Deduction   LCIL:2016 - 32945                      100
      4/30/2016   709   VJ0006   Owner Operator   Tractor Charge          16453 - 32945                        375.9
      4/30/2016   709   WB0062   Owner Operator   Communication Charge    PNet Hware 33407                        13
      4/30/2016   709   WH0087   Owner Operator   Communication Charge    PNet Hware q1239                         8
      4/30/2016   709   WH0087   Owner Operator   ESCROW                  Weekly Escrow                           50
      4/30/2016   709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                       225.56
      4/30/2016   709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                       186.28
      4/30/2016   709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                       114.86
      4/30/2016   709   WH0087   Owner Operator   Highway Use Tax         HUTC:2016 - Q1239                    10.58
      4/30/2016   709   WH0087   Owner Operator   IRP License Deduction   LCIL:2016 - Q1239                    34.17
      4/30/2016   709   WH0087   Owner Operator   Truck Payment           CTMS - 191650 Q1238 Lease           311.97
      4/30/2016   742   AP0047   Owner Operator   Communication Charge    PNet Hware 32604                        13
      4/30/2016   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                           100
      4/30/2016   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                           100
      4/30/2016   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                           100
      4/30/2016   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      4/30/2016   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      4/30/2016   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      4/30/2016   742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                       121.06
      4/30/2016   742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                       165.61
      4/30/2016   742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                       337.61
      4/30/2016   742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                       133.29
      4/30/2016   742   BS0078   Owner Operator   Communication Charge    PNet Hware 33471                        13
      4/30/2016   742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                        288.5
      4/30/2016   742   BS0078   Owner Operator   IRP License Deduction   LCIL:2016 - 33471                      100
      4/30/2016   742   BS0078   Owner Operator   Toll Charges            Ship Channel Bridge ML                 3.5
      4/30/2016   742   ED0041   Owner Operator   Communication Charge    PNet Hware 32897                        13
      4/30/2016   742   ED0041   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 5-7          -186
      4/30/2016   742   ED0041   Owner Operator   Fuel Purchase           Fuel Purchase                       213.67
      4/30/2016   742   ED0041   Owner Operator   Fuel Purchase           Fuel Purchase                       118.45
      4/30/2016   742   ED0041   Owner Operator   IRP License Deduction   LCIL:2016 - 32897                      100
      4/30/2016   742   EN0016   Owner Operator   Fuel Purchase           Fuel Purchase                        229.6
      4/30/2016   742   EN0016   Owner Operator   Fuel Purchase           Fuel Purchase                       177.92
      4/30/2016   742   EN0016   Owner Operator   Fuel Purchase           Fuel Purchase                       209.23
      4/30/2016   742   EN0016   Owner Operator   IRP License Deduction   LCIL:2016 - 32947                      100
      4/30/2016   742   EN0016   Owner Operator   Tire Purchase           PO: 742-00334478 - PO System        128.16
      4/30/2016   742   EN0016   Owner Operator   Toll Charges            Ship Channel Bridge ML                   7
      4/30/2016   742   EN0016   Owner Operator   Tractor Charge          15770 - 32947                        419.4
      4/30/2016   742   LL0134   Owner Operator   Fuel Card Advances      Cash Advance                           200
      4/30/2016   742   LL0134   Owner Operator   Fuel Card Advances      Cash Advance                           200
      4/30/2016   742   LL0134   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      4/30/2016   742   LL0134   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      4/30/2016   742   LL0134   Owner Operator   Fuel Purchase           Fuel Purchase                       286.03
      4/30/2016   742   LL0134   Owner Operator   Fuel Purchase           Fuel Purchase                       306.52
      4/30/2016   742   LL0134   Owner Operator   Fuel Purchase           Fuel Purchase                       263.44
      4/30/2016   742   LL0134   Owner Operator   IRP License Deduction   LCIL:2016 - 33195                      100
      4/30/2016   742   LL0134   Owner Operator   IRP License Deduction   LCIL:2016 - 33195                      100

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      4/30/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       225.98
      4/30/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       318.25
      4/30/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      4/30/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      4/30/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.44
      4/30/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.67
      4/30/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.42
      4/30/2016   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                     100
      4/30/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      4/30/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/30/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/30/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        119.7
      4/30/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       526.12
      4/30/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.16
      4/30/2016   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                     100
      4/30/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      4/30/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      4/30/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      4/30/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      4/30/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      4/30/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/30/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/30/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      4/30/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/30/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/30/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      4/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.43
      4/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.76
      4/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.5
      4/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.64
      4/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         231
      4/30/2016   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                     100
      4/30/2016   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                     100
      4/30/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      4/30/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
      4/30/2016   742   PC0012   Owner Operator   Toll Charges                   Ship Channel Bridge ML                   7
      4/30/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      4/30/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      4/30/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      4/30/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.14
      4/30/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       105.42
      4/30/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.55
      4/30/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      4/30/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      4/30/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 191622 Tractor Lease         353.28
       5/7/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
       5/7/2016   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
       5/7/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
       5/7/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
       5/7/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
       5/7/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.58
       5/7/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                    100
       5/7/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/7/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
       5/7/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
       5/7/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
       5/7/2016   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
       5/7/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
       5/7/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
       5/7/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       113.36
       5/7/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.63
       5/7/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.49
       5/7/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         135
       5/7/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.48
       5/7/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
       5/7/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
       5/7/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/7/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
       5/7/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 191884 Trck Lease            353.28
       5/7/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
       5/7/2016   709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                 12.5
       5/7/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
       5/7/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50

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      5/7/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        146.83
      5/7/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.45
      5/7/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        158.95
      5/7/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        100.01
      5/7/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        233.91
      5/7/2016    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2016 - Q13169                    10.58
      5/7/2016    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                    34.17
      5/7/2016    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   AV0021   Owner Operator   Permits1                       CUST:2016 - Q13169                     205
      5/7/2016    709   AV0021   Owner Operator   Permits1                       ID06:2016 - Q13169                       11
      5/7/2016    709   AV0021   Owner Operator   Permits1                       IL02:2016 - Q13169                     3.75
      5/7/2016    709   AV0021   Owner Operator   Permits1                       NM07:2016 - Q13169                      5.5
      5/7/2016    709   AV0021   Owner Operator   Permits1                       NY13:2016 - Q13169                       19
      5/7/2016    709   AV0021   Owner Operator   Permits1                       OR16:2016 - Q13169                        8
      5/7/2016    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD           68.36
      5/7/2016    709   AV0021   Owner Operator   Truck Payment                  CTMS - 191889 Q13169 Sublease        352.68
      5/7/2016    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL           8.75
      5/7/2016    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                         8
      5/7/2016    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.31
      5/7/2016    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.12
      5/7/2016    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.5
      5/7/2016    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2016 - Q13168                    10.58
      5/7/2016    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                    34.17
      5/7/2016    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD           68.36
      5/7/2016    709   CC0134   Owner Operator   Truck Payment                  CTMS - 191852 Q13168 sub lease       352.68
      5/7/2016    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/7/2016    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                   12.5
      5/7/2016    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                         13
      5/7/2016    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/7/2016    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/7/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        399.18
      5/7/2016    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                      100
      5/7/2016    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.96
      5/7/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      5/7/2016    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
      5/7/2016    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      5/7/2016    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                   12.5
      5/7/2016    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      5/7/2016    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-14        -39.69
      5/7/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         79.22
      5/7/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.41
      5/7/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        111.67
      5/7/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.4
      5/7/2016    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                      100
      5/7/2016    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
      5/7/2016    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      5/7/2016    709   CR0064   Owner Operator   Truck Payment                  CTMS - 191872 Truck Rental Q11      1285.71
      5/7/2016    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
      5/7/2016    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                   12.5
      5/7/2016    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      5/7/2016    709   CS0091   Owner Operator   ESCROW                         Weekly Escrow                            50
      5/7/2016    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.18
      5/7/2016    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                     10.58
      5/7/2016    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                     34.17
      5/7/2016    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
      5/7/2016    709   CS0091   Owner Operator   Truck Payment                  CTMS - 191838 Q1201                  278.76
      5/7/2016    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            8.75
      5/7/2016    709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                   12.5
      5/7/2016    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                         13
      5/7/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/7/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/7/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          211
      5/7/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        194.69
      5/7/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.71
      5/7/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        292.02
      5/7/2016    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                      100
      5/7/2016    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD            46.88
      5/7/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter          2.5
      5/7/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 191841 Q1104                  252.11

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      5/7/2016    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      5/7/2016    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5
      5/7/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      5/7/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       437.04
      5/7/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        357.2
      5/7/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.32
      5/7/2016    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      5/7/2016    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      5/7/2016    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      5/7/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 191799 Sublease              338.99
      5/7/2016    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      5/7/2016    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/7/2016    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                  12.5
      5/7/2016    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      5/7/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      5/7/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      5/7/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.32
      5/7/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.66
      5/7/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.91
      5/7/2016    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                     100
      5/7/2016    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      5/7/2016    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      5/7/2016    709   DS0049   Owner Operator   Truck Payment                  CTMS - 191873 Truck Rental 330        450
      5/7/2016    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      5/7/2016    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.57
      5/7/2016    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                     100
      5/7/2016    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      5/7/2016    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      5/7/2016    709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  12.5
      5/7/2016    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      5/7/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.88
      5/7/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.7
      5/7/2016    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                     100
      5/7/2016    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      5/7/2016    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      5/7/2016    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      5/7/2016    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/7/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/7/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/7/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.72
      5/7/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        475.7
      5/7/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.86
      5/7/2016    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                     100
      5/7/2016    709   EA0003   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       269.47
      5/7/2016    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      5/7/2016    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      5/7/2016    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/7/2016    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                  12.5
      5/7/2016    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      5/7/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/7/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/7/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            20
      5/7/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          180
      5/7/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      5/7/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/7/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/7/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.8
      5/7/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.23
      5/7/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.32
      5/7/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.59
      5/7/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.47
      5/7/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.48
      5/7/2016    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                     100
      5/7/2016    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      5/7/2016    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      5/7/2016    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/7/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/7/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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      5/7/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        79.62
      5/7/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.11
      5/7/2016    709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                     100
      5/7/2016    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      5/7/2016    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      5/7/2016    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      5/7/2016    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                  12.5
      5/7/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      5/7/2016    709   FS0039   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-14       -39.06
      5/7/2016    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/7/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.41
      5/7/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.83
      5/7/2016    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                     100
      5/7/2016    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      5/7/2016    709   FS0039   Owner Operator   Truck Payment                  CTMS - 191886 truck lease 3304      434.29
      5/7/2016    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      5/7/2016    709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
      5/7/2016    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      5/7/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          160
      5/7/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
      5/7/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       125.09
      5/7/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.18
      5/7/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.06
      5/7/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.01
      5/7/2016    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      5/7/2016    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      5/7/2016    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   FT0004   Owner Operator   Permits                        OR16:2016 - 73129                        8
      5/7/2016    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      5/7/2016    709   FT0004   Owner Operator   Truck Payment                  CTMS - 191841 73129                 181.08
      5/7/2016    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      5/7/2016    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
      5/7/2016    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      5/7/2016    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/7/2016    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/7/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.64
      5/7/2016    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                    100
      5/7/2016    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      5/7/2016    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      5/7/2016    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                  12.5
      5/7/2016    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      5/7/2016    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.94
      5/7/2016    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                     100
      5/7/2016    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      5/7/2016    709   GS0015   Owner Operator   Truck Payment                  CTMS - 191841 Lease                 252.11
      5/7/2016    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      5/7/2016    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      5/7/2016    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      5/7/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/7/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/7/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.83
      5/7/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.61
      5/7/2016    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                     100
      5/7/2016    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      5/7/2016    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      5/7/2016    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      5/7/2016    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      5/7/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/7/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/7/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       110.47
      5/7/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        426.6
      5/7/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.92
      5/7/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.95
      5/7/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.83
      5/7/2016    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                     100
      5/7/2016    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      5/7/2016    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35

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      5/7/2016    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/7/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/7/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         21.56
      5/7/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.22
      5/7/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/7/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.04
      5/7/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.99
      5/7/2016    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                      100
      5/7/2016    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      5/7/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/7/2016    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      5/7/2016    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      5/7/2016    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      5/7/2016    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      5/7/2016    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      5/7/2016    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      5/7/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/7/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/7/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/7/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/7/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.72
      5/7/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        390.4
      5/7/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       388.05
      5/7/2016    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                      100
      5/7/2016    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      5/7/2016    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      5/7/2016    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/7/2016    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      5/7/2016    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      5/7/2016    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -2500
      5/7/2016    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      5/7/2016    709   JG0017   Owner Operator   Express Check                  T-Check Payment                       2500
      5/7/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      5/7/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/7/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.68
      5/7/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.68
      5/7/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.56
      5/7/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.05
      5/7/2016    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                      100
      5/7/2016    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      5/7/2016    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      5/7/2016    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/7/2016    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                      100
      5/7/2016    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      5/7/2016    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        93.28
      5/7/2016    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      5/7/2016    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
      5/7/2016    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      5/7/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.33
      5/7/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         80.2
      5/7/2016    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                      100
      5/7/2016    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      5/7/2016    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      5/7/2016    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
      5/7/2016    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      5/7/2016    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.38
      5/7/2016    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      5/7/2016    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                    34.17
      5/7/2016    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      5/7/2016    709   JR0099   Owner Operator   Truck Payment                  CTMS - 191805 Truck Lease           278.76
      5/7/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      5/7/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      5/7/2016    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
      5/7/2016    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      5/7/2016    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      5/7/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/7/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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      5/7/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.9
      5/7/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.69
      5/7/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.28
      5/7/2016    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                     100
      5/7/2016    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      5/7/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      5/7/2016    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/7/2016    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      5/7/2016    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      5/7/2016    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/7/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/7/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/7/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/7/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/7/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        70.22
      5/7/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.02
      5/7/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.91
      5/7/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.01
      5/7/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        59.89
      5/7/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.5
      5/7/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       104.08
      5/7/2016    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                     100
      5/7/2016    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      5/7/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/7/2016    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      5/7/2016    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      5/7/2016    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                  12.5
      5/7/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      5/7/2016    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                     100
      5/7/2016    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      5/7/2016    709   LL0160   Owner Operator   Truck Payment                  CTMS - 191911 Lease Q1111           252.11
      5/7/2016    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      5/7/2016    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                  12.5
      5/7/2016    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      5/7/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/7/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/7/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/7/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/7/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.44
      5/7/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       523.93
      5/7/2016    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                     100
      5/7/2016    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      5/7/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      5/7/2016    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      5/7/2016    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                 12.5
      5/7/2016    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      5/7/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.31
      5/7/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.78
      5/7/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.97
      5/7/2016    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      5/7/2016    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      5/7/2016    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
      5/7/2016    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                     100
      5/7/2016    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      5/7/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      5/7/2016    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/7/2016    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                  12.5
      5/7/2016    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      5/7/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/7/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/7/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.76
      5/7/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.46
      5/7/2016    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment       257.39
      5/7/2016    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      5/7/2016    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      5/7/2016    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75

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      5/7/2016    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                  12.5
      5/7/2016    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      5/7/2016    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
      5/7/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            60
      5/7/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      5/7/2016    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.03
      5/7/2016    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                     100
      5/7/2016    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      5/7/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      5/7/2016    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      5/7/2016    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      5/7/2016    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                  12.5
      5/7/2016    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      5/7/2016    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
      5/7/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.88
      5/7/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.79
      5/7/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.46
      5/7/2016    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                     100
      5/7/2016    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      5/7/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 191958 Lease                 215.66
      5/7/2016    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      5/7/2016    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                 12.5
      5/7/2016    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      5/7/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          120
      5/7/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
      5/7/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         325
      5/7/2016    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                    100
      5/7/2016    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      5/7/2016    709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      5/7/2016    709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                  12.5
      5/7/2016    709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      5/7/2016    709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/7/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.95
      5/7/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.68
      5/7/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.59
      5/7/2016    709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                     100
      5/7/2016    709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      5/7/2016    709   NR0010   Owner Operator   Tire Fee                       Tire Fee: 1918706                        8
      5/7/2016    709   NR0010   Owner Operator   Tire Purchase                  PO: 709-00334670 - PO System        177.21
      5/7/2016    709   NR0010   Owner Operator   Truck Payment                  CTMS - 191804 Tractor Sublease      252.11
      5/7/2016    709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL           8.75
      5/7/2016    709   NT9564   Owner Operator   Broker Pre Pass                Q1109 PrePass Device                  12.5
      5/7/2016    709   NT9564   Owner Operator   Communication Charge           PNet Hware Q1109                         8
      5/7/2016    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/7/2016    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - Q1109                     100
      5/7/2016    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           39.07
      5/7/2016    709   NT9564   Owner Operator   Truck Payment                  CTMS - 191838 Lease Q1109           252.11
      5/7/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      5/7/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      5/7/2016    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      5/7/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      5/7/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      5/7/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      5/7/2016    709   RC0030   Owner Operator   Truck Payment                  CTMS - 191804 Down Payment lo       303.55
      5/7/2016    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      5/7/2016    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/7/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      5/7/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      5/7/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.87
      5/7/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        156.3
      5/7/2016    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                     100
      5/7/2016    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      5/7/2016    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      5/7/2016    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      5/7/2016    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                 12.5
      5/7/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.33

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      5/7/2016    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                     100
      5/7/2016    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.32
      5/7/2016    709   RL0017   Owner Operator   Tire Fee                       Tire Fee: 1918529                        16
      5/7/2016    709   RL0017   Owner Operator   Tire Fee                       Tire Fee: 1918530                        16
      5/7/2016    709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System          372.2
      5/7/2016    709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System        -463.09
      5/7/2016    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/7/2016    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      5/7/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/7/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/7/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/7/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/7/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.5
      5/7/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         15.46
      5/7/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.41
      5/7/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        396.16
      5/7/2016    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                      100
      5/7/2016    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
      5/7/2016    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      5/7/2016    709   RL0062   Owner Operator   Truck Payment                  CTMS - 191872 Truck Rental Q11       321.43
      5/7/2016    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
      5/7/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      5/7/2016    709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                   12.5
      5/7/2016    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
      5/7/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.5
      5/7/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.13
      5/7/2016    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                      100
      5/7/2016    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
      5/7/2016    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      5/7/2016    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                   12.5
      5/7/2016    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      5/7/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        283.24
      5/7/2016    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                     10.58
      5/7/2016    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                     34.17
      5/7/2016    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      5/7/2016    709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00334221 - PO System          73.61
      5/7/2016    709   RP0082   Owner Operator   Truck Payment                  CTMS - 191805 Q1202 Truck Leas       278.76
      5/7/2016    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
      5/7/2016    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                   12.5
      5/7/2016    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
      5/7/2016    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
      5/7/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        442.13
      5/7/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.13
      5/7/2016    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                     10.58
      5/7/2016    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
      5/7/2016    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
      5/7/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
      5/7/2016    709   RR0123   Owner Operator   Truck Payment                  CTMS - 191838 Q1248                  311.97
      5/7/2016    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      5/7/2016    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                   12.5
      5/7/2016    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
      5/7/2016    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
      5/7/2016    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
      5/7/2016    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                        140.39
      5/7/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/7/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/7/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.82
      5/7/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.87
      5/7/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         31.32
      5/7/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        151.92
      5/7/2016    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                      100
      5/7/2016    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
      5/7/2016    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
      5/7/2016    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      5/7/2016    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
      5/7/2016    709   SN0019   Owner Operator   ESCROW                         Weekly Escrow                            50
      5/7/2016    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             80

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      5/7/2016    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.8
      5/7/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.12
      5/7/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.07
      5/7/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        126.13
      5/7/2016    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
      5/7/2016    709   UE0001   Owner Operator   ESCROW                         Weekly Escrow                            50
      5/7/2016    709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/7/2016    709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance                           300
      5/7/2016    709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      5/7/2016    709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/7/2016    709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        106.98
      5/7/2016    709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        293.23
      5/7/2016    709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        160.35
      5/7/2016    709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        121.58
      5/7/2016    709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                     30
      5/7/2016    709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism          2.5
      5/7/2016    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
      5/7/2016    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                   12.5
      5/7/2016    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      5/7/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.97
      5/7/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          309
      5/7/2016    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                      100
      5/7/2016    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
      5/7/2016    709   VB0015   Owner Operator   Truck Payment                  CTMS - 191959 Tractor Sub leas       242.03
      5/7/2016    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      5/7/2016    709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                   12.5
      5/7/2016    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
      5/7/2016    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      5/7/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        190.79
      5/7/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        223.44
      5/7/2016    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                      100
      5/7/2016    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
      5/7/2016    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
      5/7/2016    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      5/7/2016    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      5/7/2016    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
      5/7/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      5/7/2016    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
      5/7/2016    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                   12.5
      5/7/2016    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
      5/7/2016    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-14         -1.71
      5/7/2016    709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
      5/7/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.76
      5/7/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.78
      5/7/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        273.16
      5/7/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        178.85
      5/7/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        203.45
      5/7/2016    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                     10.58
      5/7/2016    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                     34.17
      5/7/2016    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD               60.47
      5/7/2016    709   WH0087   Owner Operator   Truck Payment                  CTMS - 191838 Q1238 Lease            311.97
      5/7/2016    730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      5/7/2016    730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                      100
      5/7/2016    730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
      5/7/2016    730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      5/7/2016    730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        312.16
      5/7/2016    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      5/7/2016    742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                   12.5
      5/7/2016    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
      5/7/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.17
      5/7/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        508.88
      5/7/2016    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                      100
      5/7/2016    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/7/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.55
      5/7/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
      5/7/2016    742   BS0078   Owner Operator   T Chek Fee                     ExpressCheck Fee                      20.32
      5/7/2016    742   BS0078   Owner Operator   T Chek Fee                     Tractor Repair 33471                2031.74

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      5/7/2016    742   BS0078   Owner Operator   Tire Fee                       Tire Fee: 1918695                        8
      5/7/2016    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00335117 - PO System         163.5
      5/7/2016    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/7/2016    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                  12.5
      5/7/2016    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      5/7/2016    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      5/7/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.63
      5/7/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.78
      5/7/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        73.27
      5/7/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.45
      5/7/2016    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                     100
      5/7/2016    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      5/7/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/7/2016    742   EN0016   Owner Operator   Tire Fee                       Tire Fee: 1916221                       16
      5/7/2016    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00334478 - PO System        237.38
      5/7/2016    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00334478 - PO System        365.54
      5/7/2016    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      5/7/2016    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      5/7/2016    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      5/7/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      5/7/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      5/7/2016    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      5/7/2016    742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                  12.5
      5/7/2016    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      5/7/2016    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      5/7/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        64.97
      5/7/2016    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      5/7/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      5/7/2016    742   KJ0045   Owner Operator   Tire Fee                       Tire Fee: 1917761                        8
      5/7/2016    742   KJ0045   Owner Operator   Tire Purchase                  PO: 742-00334626 - PO System        185.44
      5/7/2016    742   KJ0045   Owner Operator   Toll Charges                   SH550 - FM1847 South Lane 4              2
      5/7/2016    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/7/2016    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/7/2016    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/7/2016    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/7/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/7/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/7/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/7/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/7/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/7/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/7/2016    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.67
      5/7/2016    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.52
      5/7/2016    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.05
      5/7/2016    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                     100
      5/7/2016    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      5/7/2016    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      5/7/2016    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 26.98
      5/7/2016    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      5/7/2016    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 18.45
      5/7/2016    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      5/7/2016    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       236.24
      5/7/2016    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      5/7/2016    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      5/7/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.21
      5/7/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       129.12
      5/7/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.33
      5/7/2016    742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.86
      5/7/2016    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                     100
      5/7/2016    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/7/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      5/7/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      5/7/2016    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/7/2016    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
      5/7/2016    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      5/7/2016    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/7/2016    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100

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       5/7/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       5/7/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.39
       5/7/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.86
       5/7/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.67
       5/7/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.93
       5/7/2016   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                     100
       5/7/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
       5/7/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
       5/7/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
       5/7/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
       5/7/2016   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
       5/7/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
       5/7/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.21
       5/7/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
       5/7/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
       5/7/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/7/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
       5/7/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      5/14/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      5/14/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      5/14/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      5/14/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      5/14/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.55
      5/14/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                    100
      5/14/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      5/14/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      5/14/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      5/14/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      5/14/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/14/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         135
      5/14/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.66
      5/14/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         267
      5/14/2016   709   AR0064   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           263.09
      5/14/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      5/14/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      5/14/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      5/14/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 192054 Trck Lease            353.28
      5/14/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      5/14/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      5/14/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/14/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.62
      5/14/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        66.81
      5/14/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.87
      5/14/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.67
      5/14/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2016 - Q13169                   10.58
      5/14/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      5/14/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      5/14/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 192059 Q13169 Sublease       352.68
      5/14/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      5/14/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      5/14/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/14/2016   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            40
      5/14/2016   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            20
      5/14/2016   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      5/14/2016   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      5/14/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.18
      5/14/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        69.23
      5/14/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.99
      5/14/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        40.05
      5/14/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        93.87
      5/14/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        104.8
      5/14/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2016 - Q13168                   10.58
      5/14/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      5/14/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      5/14/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 192027 Q13168 sub lease      352.68
      5/14/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/14/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      5/14/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       362.88

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      5/14/2016   709   CM0119   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            61.88
      5/14/2016   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                     100
      5/14/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      5/14/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/14/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      5/14/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      5/14/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      5/14/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-7          39.69
      5/14/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       110.87
      5/14/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.59
      5/14/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.62
      5/14/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       113.98
      5/14/2016   709   CR0064   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            57.04
      5/14/2016   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                     100
      5/14/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      5/14/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      5/14/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      5/14/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      5/14/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.83
      5/14/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      5/14/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      5/14/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      5/14/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 192031 Q1201                 278.76
      5/14/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      5/14/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      5/14/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       110.37
      5/14/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          1.5
      5/14/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.51
      5/14/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       114.22
      5/14/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.65
      5/14/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       110.33
      5/14/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       134.99
      5/14/2016   709   DJ0028   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           213.35
      5/14/2016   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                     100
      5/14/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      5/14/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      5/14/2016   709   DJ0028   Owner Operator   Repair Order                   CTMS - 191989 Repair                604.51
      5/14/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 192035 Q1104                 252.11
      5/14/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      5/14/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      5/14/2016   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/14/2016   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/14/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.47
      5/14/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        38.39
      5/14/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.47
      5/14/2016   709   DL0107   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            204.1
      5/14/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      5/14/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      5/14/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      5/14/2016   709   DL0107   Owner Operator   Repair Order                   CTMS - 191989 Repair                  250
      5/14/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 191991 Sublease              338.99
      5/14/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      5/14/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/14/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      5/14/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      5/14/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      5/14/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.02
      5/14/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.65
      5/14/2016   709   DS0049   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            98.44
      5/14/2016   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                     100
      5/14/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      5/14/2016   709   DS0049   Owner Operator   Repair Order                   CTMS - 191988 Repair                544.74
      5/14/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35

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      5/14/2016   709   DS0049   Owner Operator   Truck Payment                  CTMS - 191989 Truck Rental            450
      5/14/2016   709   DS0225   Owner Operator   AP Invoice Deductions          Covestro LLC FKA Bayer Materia        68.2
      5/14/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      5/14/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.37
      5/14/2016   709   DS0225   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           -37.33
      5/14/2016   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                     100
      5/14/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      5/14/2016   709   DS0225   Owner Operator   Repair Order                   CTMS - 191989 Repair                 391.4
      5/14/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      5/14/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      5/14/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.56
      5/14/2016   709   DW0138   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           152.25
      5/14/2016   709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                     100
      5/14/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      5/14/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      5/14/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      5/14/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/14/2016   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                  12.5
      5/14/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      5/14/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      5/14/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
      5/14/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
      5/14/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        48.12
      5/14/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.18
      5/14/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.27
      5/14/2016   709   EA0003   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            95.59
      5/14/2016   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                     100
      5/14/2016   709   EA0003   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       269.47
      5/14/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      5/14/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      5/14/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/14/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      5/14/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.43
      5/14/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.13
      5/14/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        34.65
      5/14/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        258.2
      5/14/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.93
      5/14/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        172.1
      5/14/2016   709   EE0011   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            46.83
      5/14/2016   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                     100
      5/14/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      5/14/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      5/14/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/14/2016   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                  12.5
      5/14/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      5/14/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      5/14/2016   709   EH0020   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      5/14/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/14/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/14/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/14/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        20.46
      5/14/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.65
      5/14/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.86

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      5/14/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        18.36
      5/14/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.72
      5/14/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.35
      5/14/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        143.9
      5/14/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        34.51
      5/14/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.35
      5/14/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.42
      5/14/2016   709   EH0020   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement             58.7
      5/14/2016   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                     100
      5/14/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      5/14/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      5/14/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      5/14/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      5/14/2016   709   FS0039   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-7          39.06
      5/14/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/14/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         254
      5/14/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         140
      5/14/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.65
      5/14/2016   709   FS0039   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           135.95
      5/14/2016   709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                     100
      5/14/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      5/14/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 192055 truck lease 3304      434.29
      5/14/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      5/14/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      5/14/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            75
      5/14/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          125
      5/14/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.25
      5/14/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.75
      5/14/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.15
      5/14/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.76
      5/14/2016   709   FT0004   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement             4.62
      5/14/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      5/14/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      5/14/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      5/14/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 192035 73129                 181.08
      5/14/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      5/14/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      5/14/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.87
      5/14/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.96
      5/14/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.08
      5/14/2016   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                    100
      5/14/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      5/14/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      5/14/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      5/14/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        233.7
      5/14/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.33
      5/14/2016   709   GS0015   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            59.56
      5/14/2016   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                     100
      5/14/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      5/14/2016   709   GS0015   Owner Operator   Repair Order                   CTMS - 191990 Repair                164.47
      5/14/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 192035 Lease                 252.11
      5/14/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      5/14/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      5/14/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/14/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/14/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.21
      5/14/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.66
      5/14/2016   709   HG0007   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            60.91
      5/14/2016   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                     100
      5/14/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      5/14/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      5/14/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      5/14/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1

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      5/14/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/14/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        289.54
      5/14/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.8
      5/14/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        155.51
      5/14/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        164.22
      5/14/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.35
      5/14/2016   709   HG0027   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement              33.6
      5/14/2016   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                      100
      5/14/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/14/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      5/14/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
      5/14/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/14/2016   709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
      5/14/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         122.56
      5/14/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.23
      5/14/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        243.07
      5/14/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.79
      5/14/2016   709   IR0002   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            -36.86
      5/14/2016   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                      100
      5/14/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/14/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
      5/14/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      5/14/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
      5/14/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
      5/14/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
      5/14/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
      5/14/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      5/14/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/14/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/14/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/14/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/14/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.07
      5/14/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.88
      5/14/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.28
      5/14/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        495.94
      5/14/2016   709   JC0292   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement             205.1
      5/14/2016   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                      100
      5/14/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/14/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.13
      5/14/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      5/14/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/14/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      5/14/2016   709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-21       -230.34
      5/14/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      5/14/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      5/14/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      5/14/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.34
      5/14/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.51
      5/14/2016   709   JG0017   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement              2.89
      5/14/2016   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                      100
      5/14/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/14/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      5/14/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      5/14/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/14/2016   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                   12.5
      5/14/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      5/14/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      5/14/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      5/14/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/14/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/14/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/14/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/14/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      5/14/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        388.62
      5/14/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.94
      5/14/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        397.42
      5/14/2016   709   JG0072   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            225.85
      5/14/2016   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                      100
      5/14/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/14/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      5/14/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        419.98
      5/14/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      5/14/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75

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      5/14/2016   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                    37.05
      5/14/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      5/14/2016   709   JK0112   Owner Operator   Toll Charges                   I-820 East TEXpress Ent                3.8
      5/14/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      5/14/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      5/14/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/14/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.04
      5/14/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.19
      5/14/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.7
      5/14/2016   709   JQ0015   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            14.89
      5/14/2016   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                     100
      5/14/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      5/14/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      5/14/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      5/14/2016   709   JR0099   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           202.84
      5/14/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      5/14/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                    34.17
      5/14/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      5/14/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 192005 Truck Lease           278.76
      5/14/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      5/14/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      5/14/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      5/14/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      5/14/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.08
      5/14/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.92
      5/14/2016   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                     100
      5/14/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      5/14/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      5/14/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/14/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      5/14/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/14/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/14/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.75
      5/14/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.98
      5/14/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.23
      5/14/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.41
      5/14/2016   709   KP0004   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           213.07
      5/14/2016   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                     100
      5/14/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      5/14/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/14/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      5/14/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      5/14/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      5/14/2016   709   LL0160   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            215.5
      5/14/2016   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                     100
      5/14/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      5/14/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 192088 Lease Q1111           252.11
      5/14/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      5/14/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      5/14/2016   709   LS0023   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      5/14/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/14/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.64
      5/14/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.84
      5/14/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       543.76
      5/14/2016   709   LS0023   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           314.99
      5/14/2016   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                     100
      5/14/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54

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      5/14/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      5/14/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      5/14/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      5/14/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.12
      5/14/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      5/14/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      5/14/2016   709   MG0067   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           -14.01
      5/14/2016   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                     100
      5/14/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      5/14/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      5/14/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/14/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      5/14/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       115.13
      5/14/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.16
      5/14/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.75
      5/14/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.1
      5/14/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment       257.39
      5/14/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      5/14/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      5/14/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      5/14/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      5/14/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
      5/14/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          140
      5/14/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4
      5/14/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       527.29
      5/14/2016   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                     100
      5/14/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      5/14/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      5/14/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      5/14/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      5/14/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      5/14/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
      5/14/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.67
      5/14/2016   709   NB0029   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           220.33
      5/14/2016   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                     100
      5/14/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      5/14/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 192131 Lease                 215.66
      5/14/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      5/14/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      5/14/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          360
      5/14/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3.6
      5/14/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.02
      5/14/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         235
      5/14/2016   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                    100
      5/14/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      5/14/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      5/14/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      5/14/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/14/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.55
      5/14/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.29
      5/14/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.86
      5/14/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.68
      5/14/2016   709   NR0010   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            67.36
      5/14/2016   709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                     100
      5/14/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      5/14/2016   709   NR0010   Owner Operator   Tire Purchase                  PO: 709-00334670 - PO System        177.21
      5/14/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 192004 Tractor Sublease      252.11
      5/14/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL           8.75
      5/14/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware Q1109                         8
      5/14/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/14/2016   709   NT9564   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            51.69
      5/14/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - Q1109                     100
      5/14/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           39.07

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      5/14/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 192031 Lease Q1109            252.11
      5/14/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      5/14/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      5/14/2016   709   RC0030   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
      5/14/2016   709   RC0030   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            132.86
      5/14/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/14/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.16
      5/14/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      5/14/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
      5/14/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      5/14/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 192004 Down Payment lo        303.55
      5/14/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.7
      5/14/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/14/2016   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-21       -284.98
      5/14/2016   709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
      5/14/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      5/14/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      5/14/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        156.62
      5/14/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        334.52
      5/14/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        190.72
      5/14/2016   709   RC0089   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            -12.16
      5/14/2016   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                      100
      5/14/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/14/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.07
      5/14/2016   709   RC0089   Owner Operator   Repair Order                   CTMS - 191988 Parts                   96.23
      5/14/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
      5/14/2016   709   RL0017   Owner Operator   AP Invoice Deductions          Covestro LLC FKA Bayer Materia       206.25
      5/14/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
      5/14/2016   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/14/2016   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/14/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        373.67
      5/14/2016   709   RL0017   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement             85.47
      5/14/2016   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                     100
      5/14/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/14/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.32
      5/14/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System          372.2
      5/14/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System        -463.09
      5/14/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/14/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      5/14/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/14/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/14/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/14/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/14/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/14/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/14/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        389.76
      5/14/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.79
      5/14/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        380.15
      5/14/2016   709   RL0062   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            184.14
      5/14/2016   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                      100
      5/14/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/14/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
      5/14/2016   709   RL0062   Owner Operator   Repair Order                   CTMS - 191989 Repair                 131.99
      5/14/2016   709   RL0062   Owner Operator   Repair Order                   CTMS - 191989 Truck Renatl Q11       321.43
      5/14/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      5/14/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
      5/14/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      5/14/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
      5/14/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.51
      5/14/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.7
      5/14/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.62
      5/14/2016   709   RM0026   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            134.59
      5/14/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                      100
      5/14/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/14/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
      5/14/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      5/14/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      5/14/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                             80
      5/14/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.8
      5/14/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.33
      5/14/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        273.41
      5/14/2016   709   RP0082   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement             11.59
      5/14/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                     10.58

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      5/14/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      5/14/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      5/14/2016   709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00334221 - PO System         73.61
      5/14/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 192005 Q1202 Truck Leas      278.76
      5/14/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      5/14/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      5/14/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/14/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                          250
      5/14/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.5
      5/14/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.72
      5/14/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.36
      5/14/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       453.23
      5/14/2016   709   RR0123   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           259.64
      5/14/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      5/14/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      5/14/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      5/14/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      5/14/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 192030 Q1248                 311.97
      5/14/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/14/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      5/14/2016   709   SB0009   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      5/14/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/14/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/14/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        67.88
      5/14/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.73
      5/14/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.51
      5/14/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         59.5
      5/14/2016   709   SB0009   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           116.21
      5/14/2016   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                     100
      5/14/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      5/14/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      5/14/2016   709   SB0009   Owner Operator   Tractor Wash                   CTMS - 192052 Sb0009. Tractor          -50
      5/14/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/14/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      5/14/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            80
      5/14/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/14/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.8
      5/14/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.13
      5/14/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.99
      5/14/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        92.73
      5/14/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.64
      5/14/2016   709   SN0019   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            86.54
      5/14/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      5/14/2016   709   UE0001   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/14/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.33
      5/14/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       420.04
      5/14/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.2
      5/14/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        97.08
      5/14/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    30
      5/14/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      5/14/2016   709   UE0001   Owner Operator   Repair Order                   CTMS - 191989 Parts Invoice          122.2
      5/14/2016   709   UE0001   Owner Operator   Repair Order                   CTMS - 191989 Repair                  250
      5/14/2016   709   UE0001   Owner Operator   Repair Order                   CTMS - 191989 Repair                202.99
      5/14/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      5/14/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      5/14/2016   709   VB0015   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      5/14/2016   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.03
      5/14/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.54
      5/14/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.04
      5/14/2016   709   VB0015   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            36.49
      5/14/2016   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                     100
      5/14/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5

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      5/14/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 192131 Tractor Sub leas      242.03
      5/14/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/14/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      5/14/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/14/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         0.34
      5/14/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.61
      5/14/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.01
      5/14/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.91
      5/14/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.97
      5/14/2016   709   VJ0006   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           185.05
      5/14/2016   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                     100
      5/14/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      5/14/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      5/14/2016   709   VJ0006   Owner Operator   Truck Payment                  CTMS - 191988 Truck Rental            450
      5/14/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      5/14/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      5/14/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      5/14/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      5/14/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      5/14/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.84
      5/14/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.46
      5/14/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       102.19
      5/14/2016   709   WH0087   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           126.11
      5/14/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                    10.58
      5/14/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      5/14/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      5/14/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 192031 Q1238 Lease           311.97
      5/14/2016   730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/14/2016   730   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
      5/14/2016   730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      5/14/2016   730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      5/14/2016   730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      5/14/2016   730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/14/2016   730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/14/2016   730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/14/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/14/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.36
      5/14/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        56.36
      5/14/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.15
      5/14/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.72
      5/14/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.61
      5/14/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        212.9
      5/14/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        60.73
      5/14/2016   730   JK0112   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            63.09
      5/14/2016   730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                     100
      5/14/2016   730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                     100
      5/14/2016   730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      5/14/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      5/14/2016   730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       323.24
      5/14/2016   730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      5/14/2016   730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      5/14/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      5/14/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      5/14/2016   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      5/14/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      5/14/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      5/14/2016   742   AP0047   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      5/14/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1

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      5/14/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/14/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/14/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/14/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/14/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/14/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.83
      5/14/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.64
      5/14/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.94
      5/14/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       117.67
      5/14/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       115.45
      5/14/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.38
      5/14/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.13
      5/14/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.81
      5/14/2016   742   AP0047   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           153.52
      5/14/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
      5/14/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
      5/14/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      5/14/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      5/14/2016   742   AP0047   Owner Operator   Tire Fee                       Tire Fee: 1917738                        8
      5/14/2016   742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System        206.49
      5/14/2016   742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System        206.49
      5/14/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      5/14/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      5/14/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.61
      5/14/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.16
      5/14/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       476.56
      5/14/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.05
      5/14/2016   742   BS0078   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            75.14
      5/14/2016   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                     100
      5/14/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      5/14/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      5/14/2016   742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00335117 - PO System         163.5
      5/14/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      5/14/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      5/14/2016   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                 10.18
      5/14/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      5/14/2016   742   ED0041   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-30          186
      5/14/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.22
      5/14/2016   742   ED0041   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            57.29
      5/14/2016   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                     100
      5/14/2016   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                     100
      5/14/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      5/14/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      5/14/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      5/14/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      5/14/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/14/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      5/14/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.48
      5/14/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        209.9
      5/14/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.61
      5/14/2016   742   EN0016   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            83.83
      5/14/2016   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                     100
      5/14/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      5/14/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/14/2016   742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00334478 - PO System        365.54
      5/14/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      5/14/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      5/14/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      5/14/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      5/14/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      5/14/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      5/14/2016   742   KJ0045   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      5/14/2016   742   KJ0045   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            15.05
      5/14/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      5/14/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      5/14/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75

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      5/14/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.82
      5/14/2016   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                     100
      5/14/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      5/14/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      5/14/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      5/14/2016   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      5/14/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      5/14/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      5/14/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.39
      5/14/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.8
      5/14/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        66.51
      5/14/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.17
      5/14/2016   742   MH0117   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            13.91
      5/14/2016   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                     100
      5/14/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      5/14/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      5/14/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      5/14/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      5/14/2016   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      5/14/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      5/14/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      5/14/2016   742   NG0024   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      5/14/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/14/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/14/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.79
      5/14/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.51
      5/14/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.86
      5/14/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       476.28
      5/14/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.18
      5/14/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        516.2
      5/14/2016   742   NG0024   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            90.49
      5/14/2016   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                     100
      5/14/2016   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                     100
      5/14/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      5/14/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      5/14/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      5/14/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      5/14/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/14/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      5/14/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/14/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/14/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/14/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.59
      5/14/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.19
      5/14/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.27
      5/14/2016   742   PC0012   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            75.87
      5/14/2016   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                     100
      5/14/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      5/14/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      5/14/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      5/14/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      5/14/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      5/14/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.27
      5/14/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.07
      5/14/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.82
      5/14/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.22
      5/14/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.59
      5/14/2016   742   RN0054   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            58.93
      5/14/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      5/14/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      5/14/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/14/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      5/14/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      5/14/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 192006 Tractor Lease         353.28
      5/21/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75

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      5/21/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      5/21/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      5/21/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      5/21/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         202
      5/21/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                    100
      5/21/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      5/21/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      5/21/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      5/21/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      5/21/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/21/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       435.02
      5/21/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       447.09
      5/21/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      5/21/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      5/21/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      5/21/2016   709   AR0064   Owner Operator   Toll Charges                   Q13147 ILTOLL Meyers                     6
      5/21/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 192242 Trck Lease            353.28
      5/21/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      5/21/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      5/21/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/21/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.94
      5/21/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.46
      5/21/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.94
      5/21/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.14
      5/21/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2016 - Q13169                   10.58
      5/21/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      5/21/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      5/21/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 192247 Q13169 Sublease       352.68
      5/21/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      5/21/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      5/21/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/21/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.46
      5/21/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.77
      5/21/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.51
      5/21/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.97
      5/21/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2016 - Q13168                   10.58
      5/21/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      5/21/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      5/21/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 192209 Q13168 sub lease      352.68
      5/21/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/21/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      5/21/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/21/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/21/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       461.78
      5/21/2016   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                     100
      5/21/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      5/21/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/21/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      5/21/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      5/21/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      5/21/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.96
      5/21/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.26
      5/21/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.33
      5/21/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.97
      5/21/2016   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                     100
      5/21/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      5/21/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      5/21/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      5/21/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      5/21/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.13
      5/21/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      5/21/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      5/21/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      5/21/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 192207 Q1201                 278.76
      5/21/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      5/21/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      5/21/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      5/21/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/21/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.82
      5/21/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.32
      5/21/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       108.21
      5/21/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.34
      5/21/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.03
      5/21/2016   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                     100
      5/21/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      5/21/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      5/21/2016   709   DJ0028   Owner Operator   Repair Order                   CTMS - 192151 Repair                604.51
      5/21/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 192211 Q1104                 252.11
      5/21/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      5/21/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      5/21/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.21
      5/21/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.11
      5/21/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.96
      5/21/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      5/21/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      5/21/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      5/21/2016   709   DL0107   Owner Operator   Repair Order                   CTMS - 192152 Repair                  250
      5/21/2016   709   DL0107   Owner Operator   Repair Order                   CTMS - 192320 Repair                  250
      5/21/2016   709   DL0107   Owner Operator   Toll Charges                   Ship Channel Bridge ML                   7
      5/21/2016   709   DL0107   Owner Operator   Toll Charges                   Ship Channel Bridge ML                 3.5
      5/21/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 192158 Sublease              338.99
      5/21/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      5/21/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/21/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      5/21/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      5/21/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      5/21/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       405.42
      5/21/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.19
      5/21/2016   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                     100
      5/21/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      5/21/2016   709   DS0049   Owner Operator   Repair Order                   CTMS - 192152 Repair                544.74
      5/21/2016   709   DS0049   Owner Operator   Repair Order                   CTMS - 192152 Truck Rental            450
      5/21/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      5/21/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      5/21/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.64
      5/21/2016   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                     100
      5/21/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      5/21/2016   709   DS0225   Owner Operator   Repair Order                   CTMS - 192151 Repair                 391.4
      5/21/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      5/21/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      5/21/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.48
      5/21/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        49.29
      5/21/2016   709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                     100
      5/21/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      5/21/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      5/21/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      5/21/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/21/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      5/21/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
      5/21/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/21/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/21/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.36
      5/21/2016   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                     100
      5/21/2016   709   EA0003   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       269.47
      5/21/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      5/21/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      5/21/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/21/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      5/21/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          140
      5/21/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/21/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            40
      5/21/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      5/21/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/21/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4
      5/21/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       116.14

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      5/21/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        274.23
      5/21/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        178.02
      5/21/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.43
      5/21/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        354.97
      5/21/2016   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                      100
      5/21/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/21/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.92
      5/21/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
      5/21/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/21/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
      5/21/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      5/21/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/21/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/21/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/21/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/21/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/21/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/21/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        297.16
      5/21/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.12
      5/21/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        156.61
      5/21/2016   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                      100
      5/21/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/21/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.01
      5/21/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                        532.24
      5/21/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
      5/21/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
      5/21/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                            50
      5/21/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        164.19
      5/21/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        237.58
      5/21/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.2
      5/21/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.28
      5/21/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.5
      5/21/2016   709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                      100
      5/21/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/21/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.88
      5/21/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 192244 truck lease 3304       434.29
      5/21/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
      5/21/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
      5/21/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           150
      5/21/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             50
      5/21/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
      5/21/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
      5/21/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        152.36
      5/21/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        153.04
      5/21/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                     10.58
      5/21/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                     34.17
      5/21/2016   709   FT0004   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         262.6
      5/21/2016   709   FT0004   Owner Operator   Loan Repayment                 Repair 137836 Setup Loan           -2079.19
      5/21/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/21/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.52
      5/21/2016   709   FT0004   Owner Operator   Repair Order                   CTMS - 192318 Repair                 124.43
      5/21/2016   709   FT0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                      20.59
      5/21/2016   709   FT0004   Owner Operator   T Chek Fee                     Tractor Repair 73129                 2058.6
      5/21/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 192211 73129                  181.08
      5/21/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      5/21/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      5/21/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                           300
      5/21/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      5/21/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        198.79
      5/21/2016   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                     100
      5/21/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/21/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
      5/21/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
      5/21/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
      5/21/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.23
      5/21/2016   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                      100
      5/21/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/21/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
      5/21/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 192211 Lease                  252.11
      5/21/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      5/21/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      5/21/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      5/21/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3

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      5/21/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.16
      5/21/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.52
      5/21/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.76
      5/21/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.14
      5/21/2016   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                     100
      5/21/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      5/21/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      5/21/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      5/21/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/21/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/21/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.28
      5/21/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       415.92
      5/21/2016   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                     100
      5/21/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      5/21/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      5/21/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/21/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         37.28
      5/21/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.37
      5/21/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         332
      5/21/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.13
      5/21/2016   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                     100
      5/21/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      5/21/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/21/2016   709   IR0002   Owner Operator   Repair Order                   CTMS - 192318 Parts                  91.47
      5/21/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      5/21/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      5/21/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      5/21/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      5/21/2016   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-28       -117.6
      5/21/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      5/21/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/21/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/21/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/21/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/21/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.52
      5/21/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.69
      5/21/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.16
      5/21/2016   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                     100
      5/21/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      5/21/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      5/21/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/21/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      5/21/2016   709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-14        230.34
      5/21/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      5/21/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/21/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/21/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/21/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/21/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.75
      5/21/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.57
      5/21/2016   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                     100
      5/21/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      5/21/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      5/21/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/21/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      5/21/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/21/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/21/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/21/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/21/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        406.2
      5/21/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        430.7
      5/21/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.07
      5/21/2016   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                     100
      5/21/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      5/21/2016   709   JG0072   Owner Operator   Tire Fee                       Tire Fee: 1921885                        4
      5/21/2016   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00335573 - PO System         77.74
      5/21/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26

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      5/21/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      5/21/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      5/21/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        178.8
      5/21/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.45
      5/21/2016   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                     100
      5/21/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      5/21/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      5/21/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      5/21/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      5/21/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                    34.17
      5/21/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      5/21/2016   709   JR0099   Owner Operator   T Chek Fee                     ExpressCheck Fee                       2.5
      5/21/2016   709   JR0099   Owner Operator   T Chek Fee                     Tractor Repair Q1203                  250
      5/21/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 192164 Truck Lease           278.76
      5/21/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      5/21/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      5/21/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      5/21/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      5/21/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/21/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/21/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/21/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/21/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.61
      5/21/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.61
      5/21/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.44
      5/21/2016   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                     100
      5/21/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      5/21/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      5/21/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/21/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      5/21/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/21/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/21/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/21/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        21.38
      5/21/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.01
      5/21/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.15
      5/21/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        44.91
      5/21/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.88
      5/21/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       134.87
      5/21/2016   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                     100
      5/21/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      5/21/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/21/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      5/21/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      5/21/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      5/21/2016   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                     100
      5/21/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      5/21/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 192275 Lease Q1111           252.11
      5/21/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      5/21/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      5/21/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.73
      5/21/2016   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                     100
      5/21/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      5/21/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      5/21/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      5/21/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      5/21/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.42
      5/21/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      5/21/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      5/21/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.06
      5/21/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.21
      5/21/2016   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                     100
      5/21/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      5/21/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      5/21/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75

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      5/21/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      5/21/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.49
      5/21/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.45
      5/21/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.38
      5/21/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment       257.39
      5/21/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      5/21/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      5/21/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      5/21/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      5/21/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
      5/21/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            80
      5/21/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.8
      5/21/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.4
      5/21/2016   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                     100
      5/21/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      5/21/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      5/21/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      5/21/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      5/21/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      5/21/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.22
      5/21/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.38
      5/21/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.43
      5/21/2016   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                     100
      5/21/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      5/21/2016   709   NB0029   Owner Operator   Toll Charges                   Carquinez Bridge                        25
      5/21/2016   709   NB0029   Owner Operator   Toll Charges                   Carquinez Bridge                        25
      5/21/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      5/21/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      5/21/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          160
      5/21/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
      5/21/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.12
      5/21/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         265
      5/21/2016   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                    100
      5/21/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      5/21/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      5/21/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      5/21/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/21/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/21/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/21/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.63
      5/21/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       125.82
      5/21/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.36
      5/21/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.01
      5/21/2016   709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                     100
      5/21/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      5/21/2016   709   NR0010   Owner Operator   Tire Purchase                  PO: 709-00334670 - PO System        177.21
      5/21/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 192163 Tractor Sublease      252.11
      5/21/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      5/21/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL           8.75
      5/21/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware Q1109                         8
      5/21/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/21/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - Q1109                     100
      5/21/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      5/21/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           39.07
      5/21/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 192175 Truck 73130 Leas      196.65
      5/21/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 192207 Lease Q1109           252.11
      5/21/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      5/21/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      5/21/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.27
      5/21/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      5/21/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      5/21/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      5/21/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      5/21/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 192163 Down Payment lo       303.55
      5/21/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      5/21/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75

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      5/21/2016   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-14         284.98
      5/21/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      5/21/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      5/21/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.71
      5/21/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        171.97
      5/21/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        329.74
      5/21/2016   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                      100
      5/21/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/21/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.07
      5/21/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
      5/21/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
      5/21/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        352.39
      5/21/2016   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                     100
      5/21/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/21/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.32
      5/21/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System          372.2
      5/21/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System        -463.09
      5/21/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/21/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      5/21/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/21/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/21/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/21/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/21/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/21/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/21/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        378.62
      5/21/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        429.72
      5/21/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        412.24
      5/21/2016   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                      100
      5/21/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/21/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
      5/21/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      5/21/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
      5/21/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      5/21/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
      5/21/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.61
      5/21/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         78.15
      5/21/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        239.39
      5/21/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        144.06
      5/21/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        202.73
      5/21/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                      100
      5/21/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/21/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
      5/21/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      5/21/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      5/21/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        198.65
      5/21/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                     10.58
      5/21/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                     34.17
      5/21/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/21/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      5/21/2016   709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00334221 - PO System          73.57
      5/21/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 192164 Q1202 Truck Leas       278.76
      5/21/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
      5/21/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
      5/21/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
      5/21/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/21/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/21/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        383.87
      5/21/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        391.13
      5/21/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.85
      5/21/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                     10.58
      5/21/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
      5/21/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/21/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
      5/21/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
      5/21/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 192206 Q1248                  311.97
      5/21/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      5/21/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
      5/21/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
      5/21/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/21/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/21/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/21/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1

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      5/21/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        179.5
      5/21/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.81
      5/21/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.79
      5/21/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.11
      5/21/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.09
      5/21/2016   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                     100
      5/21/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      5/21/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      5/21/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/21/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      5/21/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.66
      5/21/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      5/21/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/21/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/21/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.18
      5/21/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.13
      5/21/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    30
      5/21/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      5/21/2016   709   UE0001   Owner Operator   Repair Order                   CTMS - 192151 Repair                  250
      5/21/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      5/21/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      5/21/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         215
      5/21/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         284
      5/21/2016   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                     100
      5/21/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      5/21/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 192309 Tractor Sub leas      242.03
      5/21/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/21/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      5/21/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/21/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.06
      5/21/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       134.07
      5/21/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.9
      5/21/2016   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                     100
      5/21/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      5/21/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      5/21/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      5/21/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      5/21/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      5/21/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      5/21/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      5/21/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      5/21/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      5/21/2016   709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-7           1.71
      5/21/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/21/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/21/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                          150
      5/21/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      5/21/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.39
      5/21/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        55.37
      5/21/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.3
      5/21/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        322.8
      5/21/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        91.25
      5/21/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        21.83
      5/21/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                    10.58
      5/21/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      5/21/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      5/21/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 192207 Q1238 Lease           311.97
      5/21/2016   730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/21/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/21/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/21/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       113.52
      5/21/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.92
      5/21/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.45
      5/21/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.13
      5/21/2016   730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                     100
      5/21/2016   730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99

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      5/21/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      5/21/2016   730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      5/21/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      5/21/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      5/21/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/21/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/21/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.56
      5/21/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
      5/21/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      5/21/2016   742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System        206.49
      5/21/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      5/21/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      5/21/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.25
      5/21/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.16
      5/21/2016   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                     100
      5/21/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      5/21/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      5/21/2016   742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00335117 - PO System         163.5
      5/21/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      5/21/2016   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  2.32
      5/21/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      5/21/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      5/21/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.12
      5/21/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.83
      5/21/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.11
      5/21/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.28
      5/21/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.59
      5/21/2016   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                     100
      5/21/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      5/21/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      5/21/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/21/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.09
      5/21/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         377
      5/21/2016   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                     100
      5/21/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      5/21/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/21/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                       394.09
      5/21/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      5/21/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      5/21/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      5/21/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      5/21/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      5/21/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.86
      5/21/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.59
      5/21/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      5/21/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      5/21/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      5/21/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      5/21/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.94
      5/21/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.9
      5/21/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.09
      5/21/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.45
      5/21/2016   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                     100
      5/21/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      5/21/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      5/21/2016   742   MH0117   Owner Operator   Repair Order                   CTMS - 192266 repair                    60
      5/21/2016   742   MH0117   Owner Operator   Repair Order                   CTMS - 192267 repair                    60
      5/21/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      5/21/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      5/21/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.94
      5/21/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.61
      5/21/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       547.45
      5/21/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         274
      5/21/2016   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                     100
      5/21/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      5/21/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5

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      5/21/2016   742   NG0024   Owner Operator   Toll Charges                   Carquinez Bridge                        25
      5/21/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/21/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      5/21/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/21/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/21/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/21/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.44
      5/21/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.09
      5/21/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.92
      5/21/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.33
      5/21/2016   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                     100
      5/21/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      5/21/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      5/21/2016   742   PC0012   Owner Operator   Toll Charges                   Carquinez Bridge                        25
      5/21/2016   742   PC0012   Owner Operator   Toll Charges                   Carquinez Bridge                        25
      5/21/2016   742   PC0012   Owner Operator   Toll Charges                   Carquinez Bridge                        25
      5/21/2016   742   PC0012   Owner Operator   Toll Charges                   Ship Channel Bridge ML                   7
      5/21/2016   742   PC0012   Owner Operator   Toll Charges                   Ship Channel Bridge ML                   7
      5/21/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      5/21/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      5/21/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      5/21/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.39
      5/21/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.42
      5/21/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       389.58
      5/21/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      5/21/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      5/21/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/21/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      5/21/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      5/21/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 192165 Tractor Lease         353.28
      5/28/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      5/28/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      5/28/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          400
      5/28/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      5/28/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.89
      5/28/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.23
      5/28/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                    100
      5/28/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
      5/28/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      5/28/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      5/28/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        22.19
      5/28/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.99
      5/28/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      5/28/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      5/28/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      5/28/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      5/28/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      5/28/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/28/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.48
      5/28/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.68
      5/28/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.05
      5/28/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2016 - Q13169                   10.58
      5/28/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      5/28/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      5/28/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 192422 Q13169 Sublease       352.68
      5/28/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      5/28/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      5/28/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/28/2016   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/28/2016   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/28/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        326.1
      5/28/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.61
      5/28/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.36
      5/28/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        90.59
      5/28/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2016 - Q13168                   10.58
      5/28/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      5/28/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      5/28/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 192383 Q13168 sub lease      352.68
      5/28/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/28/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13

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      5/28/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/28/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/28/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/28/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/28/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.98
      5/28/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.66
      5/28/2016   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                     100
      5/28/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
      5/28/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/28/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      5/28/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      5/28/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      5/28/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-4        -11.47
      5/28/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           62
      5/28/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.52
      5/28/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.55
      5/28/2016   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                     100
      5/28/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
      5/28/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      5/28/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      5/28/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      5/28/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.62
      5/28/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        148.4
      5/28/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.74
      5/28/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      5/28/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      5/28/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.07
      5/28/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 192381 Q1201                 278.76
      5/28/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      5/28/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      5/28/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/28/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/28/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.38
      5/28/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.13
      5/28/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.02
      5/28/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.32
      5/28/2016   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                     100
      5/28/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.86
      5/28/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      5/28/2016   709   DJ0028   Owner Operator   Repair Order                   CTMS - 192319 Repair                604.51
      5/28/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 192385 Q1104                 252.11
      5/28/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      5/28/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      5/28/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        355.2
      5/28/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       512.96
      5/28/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.78
      5/28/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      5/28/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      5/28/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.69
      5/28/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 192340 Sublease              338.99
      5/28/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
      5/28/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/28/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      5/28/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      5/28/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      5/28/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.25
      5/28/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       461.97
      5/28/2016   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                     100
      5/28/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
      5/28/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      5/28/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      5/28/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.41
      5/28/2016   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                     100
      5/28/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.51
      5/28/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      5/28/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13

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      5/28/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.02
      5/28/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.18
      5/28/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.69
      5/28/2016   709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                     100
      5/28/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      5/28/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
      5/28/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      5/28/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/28/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      5/28/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
      5/28/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/28/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/28/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/28/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/28/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       493.82
      5/28/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       447.83
      5/28/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.83
      5/28/2016   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                     100
      5/28/2016   709   EA0003   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       269.47
      5/28/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      5/28/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      5/28/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/28/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      5/28/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/28/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/28/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.76
      5/28/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        243.5
      5/28/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       444.31
      5/28/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.57
      5/28/2016   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                     100
      5/28/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.91
      5/28/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      5/28/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/28/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      5/28/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      5/28/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/28/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/28/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/28/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/28/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.04
      5/28/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.37
      5/28/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.45
      5/28/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.42
      5/28/2016   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                     100
      5/28/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93
      5/28/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      5/28/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      5/28/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      5/28/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/28/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.74
      5/28/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.66
      5/28/2016   709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                     100
      5/28/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.86
      5/28/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 192419 truck lease 3304      434.29
      5/28/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      5/28/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      5/28/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          150
      5/28/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      5/28/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.62
      5/28/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      5/28/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      5/28/2016   709   FT0004   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        262.6
      5/28/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.51
      5/28/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 192385 73129                 181.08
      5/28/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      5/28/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      5/28/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.5
      5/28/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.93

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      5/28/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.76
      5/28/2016   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                    100
      5/28/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.01
      5/28/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      5/28/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      5/28/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.2
      5/28/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.25
      5/28/2016   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                     100
      5/28/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
      5/28/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 192386 Lease                 252.11
      5/28/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      5/28/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      5/28/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/28/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/28/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       353.33
      5/28/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.04
      5/28/2016   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                     100
      5/28/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
      5/28/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      5/28/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/28/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/28/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/28/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/28/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.19
      5/28/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.46
      5/28/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.71
      5/28/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.92
      5/28/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.43
      5/28/2016   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                     100
      5/28/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      5/28/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      5/28/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/28/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         25.43
      5/28/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
      5/28/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.01
      5/28/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        266.2
      5/28/2016   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                     100
      5/28/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      5/28/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      5/28/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      5/28/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      5/28/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      5/28/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      5/28/2016   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-21         117.6
      5/28/2016   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-4        -27.08
      5/28/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      5/28/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/28/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/28/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.37
      5/28/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        494.7
      5/28/2016   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                     100
      5/28/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
      5/28/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      5/28/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/28/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      5/28/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      5/28/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/28/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/28/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/28/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/28/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.85
      5/28/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.08
      5/28/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       437.45
      5/28/2016   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                     100
      5/28/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      5/28/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6

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      5/28/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      5/28/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                      13
      5/28/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        100
      5/28/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        400
      5/28/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       4
      5/28/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      5/28/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     428.52
      5/28/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     392.39
      5/28/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       412
      5/28/2016   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                   100
      5/28/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/28/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               74.22
      5/28/2016   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00335573 - PO System       77.74
      5/28/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                     513.26
      5/28/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      5/28/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      5/28/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      5/28/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      5/28/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      5/28/2016   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                12.5
      5/28/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         50
      5/28/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                     247.01
      5/28/2016   709   JG0092   Owner Operator   IRP License Deduction          2017 IL IRP plate charge            100
      5/28/2016   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                   100
      5/28/2016   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                   100
      5/28/2016   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                   100
      5/28/2016   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                   100
      5/28/2016   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                  62.95
      5/28/2016   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                   100
      5/28/2016   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                   100
      5/28/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/28/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/28/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/28/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/28/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/28/2016   709   JG0092   Owner Operator   Permits                        ID06:2016 - 33669                     11
      5/28/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   61.7
      5/28/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   61.7
      5/28/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   61.7
      5/28/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   61.7
      5/28/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   61.7
      5/28/2016   709   JG0092   Owner Operator   Toll Charges                   PrePass device charge                 25
      5/28/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL               8.75
      5/28/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                      13
      5/28/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                        100
      5/28/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      5/28/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      122.3
      5/28/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     187.86
      5/28/2016   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                   100
      5/28/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/28/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD               19.51
      5/28/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL         8.75
      5/28/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                      13
      5/28/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                     246.94
      5/28/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                  10.58
      5/28/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                  34.17
      5/28/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/28/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD         58.58
      5/28/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 192345 Truck Lease         278.76
      5/28/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                8.75
      5/28/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                   8.75
      5/28/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                      13
      5/28/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                       100
      5/28/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                        200
      5/28/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      5/28/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      300.2
      5/28/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                     283.32
      5/28/2016   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                   100
      5/28/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      5/28/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                15.93
      5/28/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                    37.5
      5/28/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      5/28/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                      13

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      5/28/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/28/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/28/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/28/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/28/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/28/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        206.03
      5/28/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        108.46
      5/28/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        135.52
      5/28/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         48.02
      5/28/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        129.58
      5/28/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           173
      5/28/2016   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                       100
      5/28/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      5/28/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      5/28/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      5/28/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      5/28/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      5/28/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-4        -174.02
      5/28/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-4        -174.02
      5/28/2016   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                       100
      5/28/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.04
      5/28/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 192461 Lease Q1111            252.11
      5/28/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      5/28/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      5/28/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/28/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      5/28/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.03
      5/28/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.8
      5/28/2016   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                       100
      5/28/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.51
      5/28/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      5/28/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      5/28/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      5/28/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/28/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/28/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        134.75
      5/28/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.29
      5/28/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      5/28/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      5/28/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        230.05
      5/28/2016   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                       100
      5/28/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
      5/28/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      5/28/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      5/28/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      5/28/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/28/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/28/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.2
      5/28/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        257.39
      5/28/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.11
      5/28/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      5/28/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/28/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      5/28/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           650
      5/28/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/28/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/28/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.2
      5/28/2016   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                       100
      5/28/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.86
      5/28/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      5/28/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      5/28/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      5/28/2016   709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 192412 Wash Bleach trai         -125
      5/28/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      5/28/2016   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                     -2500
      5/28/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500

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      5/28/2016   709   NB0029   Owner Operator   Express Check                  T-Check Payment                       2500
      5/28/2016   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/28/2016   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      5/28/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.36
      5/28/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        404.92
      5/28/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        381.84
      5/28/2016   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                       100
      5/28/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.15
      5/28/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      5/28/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      5/28/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            140
      5/28/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.4
      5/28/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.03
      5/28/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                            82
      5/28/2016   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                      100
      5/28/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.97
      5/28/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      5/28/2016   709   NR0010   Owner Operator   Charge back by affiliate       CTMS - 192412 Wash Bleach trai         -125
      5/28/2016   709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                     29.71
      5/28/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.04
      5/28/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      5/28/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL            8.75
      5/28/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      5/28/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      5/28/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                     10.58
      5/28/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                     34.17
      5/28/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            30.47
      5/28/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD            39.04
      5/28/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 192378 Truck 73130 Leas       196.65
      5/28/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 192381 Lease Q1109            252.11
      5/28/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 192412 Credit for Q1109      -252.11
      5/28/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      5/28/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      5/28/2016   709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-4          -27.3
      5/28/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        466.85
      5/28/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.15
      5/28/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      5/28/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.04
      5/28/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      5/28/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 192344 Down Payment lo        303.55
      5/28/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.69
      5/28/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/28/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/28/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      5/28/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        248.25
      5/28/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        168.41
      5/28/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        106.73
      5/28/2016   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                       100
      5/28/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.05
      5/28/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
      5/28/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
      5/28/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        418.44
      5/28/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        217.25
      5/28/2016   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                      100
      5/28/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.29
      5/28/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System          372.2
      5/28/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System        -463.09
      5/28/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/28/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      5/28/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/28/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/28/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/28/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/28/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.11
      5/28/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        403.33
      5/28/2016   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                       100

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      5/28/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.13
      5/28/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      5/28/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.46
      5/28/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      5/28/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      5/28/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.27
      5/28/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.46
      5/28/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.33
      5/28/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                     100
      5/28/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      5/28/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      5/28/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      5/28/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.71
      5/28/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      5/28/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      5/28/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
      5/28/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 192345 Q1202 Truck Leas      278.76
      5/28/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      5/28/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      5/28/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/28/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/28/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/28/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.84
      5/28/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       406.36
      5/28/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.23
      5/28/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.79
      5/28/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      5/28/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      5/28/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.07
      5/28/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      5/28/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 192381 Q1248                 311.97
      5/28/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/28/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      5/28/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/28/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/28/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/28/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/28/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/28/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       358.83
      5/28/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.26
      5/28/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        158.3
      5/28/2016   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                     100
      5/28/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      5/28/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      5/28/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/28/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      5/28/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/28/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/28/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/28/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/28/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.83
      5/28/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.17
      5/28/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.99
      5/28/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.97
      5/28/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      5/28/2016   709   UE0001   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/28/2016   709   UE0001   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/28/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance                            40
      5/28/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance                          250
      5/28/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/28/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      5/28/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.5
      5/28/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      5/28/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.31
      5/28/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.26
      5/28/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.97
      5/28/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        54.32

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      5/28/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.6
      5/28/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.81
      5/28/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        32.64
      5/28/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        53.91
      5/28/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.68
      5/28/2016   709   UE0001   Owner Operator   IRP License Deduction          LCIL:2016 - 33786                     100
      5/28/2016   709   UE0001   Owner Operator   Permits                        IL02:2016 - 33786                     3.75
      5/28/2016   709   UE0001   Owner Operator   Permits                        NM07:2016 - 33786                      5.5
      5/28/2016   709   UE0001   Owner Operator   Permits                        OR16:2016 - 33786                        8
      5/28/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    30
      5/28/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      5/28/2016   709   UE0001   Owner Operator   Repair Order                   CTMS - 192187 Repair                 122.2
      5/28/2016   709   UE0001   Owner Operator   Repair Order                   CTMS - 192319 Repair                  250
      5/28/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      5/28/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      5/28/2016   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-4        -27.08
      5/28/2016   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-4        -24.55
      5/28/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.01
      5/28/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.03
      5/28/2016   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                     100
      5/28/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      5/28/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 192508 Tractor Sub leas      242.03
      5/28/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      5/28/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      5/28/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      5/28/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/28/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/28/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.94
      5/28/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.56
      5/28/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.65
      5/28/2016   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                     100
      5/28/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      5/28/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      5/28/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      5/28/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      5/28/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      5/28/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      5/28/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      5/28/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      5/28/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/28/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/28/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/28/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       415.79
      5/28/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.66
      5/28/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.79
      5/28/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                    10.58
      5/28/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      5/28/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      5/28/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 192381 Q1238 Lease           311.97
      5/28/2016   730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      5/28/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/28/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/28/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      5/28/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/28/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        49.42
      5/28/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.29
      5/28/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.5
      5/28/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.44
      5/28/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.82
      5/28/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       116.22
      5/28/2016   730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                     100
      5/28/2016   730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
      5/28/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      5/28/2016   730   JK0112   Owner Operator   Tire Purchase                  PO: 730-00335254 - PO System         75.23
      5/28/2016   730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      5/28/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      5/28/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      5/28/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100

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      5/28/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/28/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/28/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/28/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/28/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/28/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        189.97
      5/28/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.9
      5/28/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        367.44
      5/28/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        142.53
      5/28/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        139.17
      5/28/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 52.33
      5/28/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
      5/28/2016   742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System         206.49
      5/28/2016   742   BS0030   Owner Operator   *Arrears Collection W/O        Arrears Collection W/O              -478.91
      5/28/2016   742   BS0030   Owner Operator   Broker Pre Pass                32947 PrePass Device                   12.5
      5/28/2016   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                         13
      5/28/2016   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                         13
      5/28/2016   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                         13
      5/28/2016   742   BS0030   Owner Operator   Communication Charge           PNet Hware 32947                         13
      5/28/2016   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                          125
      5/28/2016   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                          125
      5/28/2016   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                          125
      5/28/2016   742   BS0030   Owner Operator   ESCROW                         Weekly Escrow                          6.46
      5/28/2016   742   BS0030   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      5/28/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      5/28/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
      5/28/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        353.82
      5/28/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        158.36
      5/28/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.44
      5/28/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        419.37
      5/28/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        457.28
      5/28/2016   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                      100
      5/28/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.54
      5/28/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
      5/28/2016   742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00335117 - PO System          163.5
      5/28/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
      5/28/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
      5/28/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        354.77
      5/28/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        248.91
      5/28/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        320.96
      5/28/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        154.15
      5/28/2016   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                      100
      5/28/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.34
      5/28/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
      5/28/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/28/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                         13
      5/28/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                         13
      5/28/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        122.03
      5/28/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        179.87
      5/28/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.62
      5/28/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.2
      5/28/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.32
      5/28/2016   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                      100
      5/28/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/28/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
      5/28/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      5/28/2016   742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00334478 - PO System         365.54
      5/28/2016   742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00334478 - PO System         365.49
      5/28/2016   742   EN0016   Owner Operator   Toll Charges                   Carquinez Bridge                         25
      5/28/2016   742   EN0016   Owner Operator   Toll Charges                   Carquinez Bridge                         25
      5/28/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         25.31
      5/28/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
      5/28/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
      5/28/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-4        -204.75
      5/28/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.74
      5/28/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.68
      5/28/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
      5/28/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                         8.75
      5/28/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                         13
      5/28/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                         13

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      5/28/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      5/28/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/28/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      5/28/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        82.58
      5/28/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        111.2
      5/28/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.95
      5/28/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        81.45
      5/28/2016   742   KJ0045   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement           136.16
      5/28/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.86
      5/28/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      5/28/2016   742   KJ0045   Owner Operator   Tire Purchase                  PO: 742-00334626 - PO System        185.44
      5/28/2016   742   KJ0045   Owner Operator   Tire Purchase                  PO: 742-00334626 - PO System        185.44
      5/28/2016   742   KJ0045   Owner Operator   Tire Purchase                  PO: 742-00334626 - PO System        185.44
      5/28/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      5/28/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      5/28/2016   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                      100
      5/28/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      5/28/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      5/28/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      5/28/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      5/28/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.95
      5/28/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       108.87
      5/28/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.78
      5/28/2016   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                      100
      5/28/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
      5/28/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      5/28/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      5/28/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      5/28/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      5/28/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/28/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      5/28/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.54
      5/28/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.77
      5/28/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.95
      5/28/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.92
      5/28/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.35
      5/28/2016   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                      100
      5/28/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      5/28/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
      5/28/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      5/28/2016   742   PS0080   Owner Operator   Broker Pre Pass                33584 PrePass Device                  12.5
      5/28/2016   742   PS0080   Owner Operator   ESCROW                         Final Balance Refund                 -1550
      5/28/2016   742   PS0080   Owner Operator   FUEL TAX                       DQ Fuel Tax                          18.99
      5/28/2016   742   PS0080   Owner Operator   FUEL TAX                       MAR16 Fuel Tax Settlement            75.11
      5/28/2016   742   PS0080   Owner Operator   Toll Charges                   CANCELLED/NOT RETURNED                 100
      5/28/2016   742   PS0080   Owner Operator   Toll Charges                   Ship Channel Bridge ML                   7
      5/28/2016   742   PS0080   Owner Operator   Toll Charges                   Ship Channel Bridge ML                   7
      5/28/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      5/28/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      5/28/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.59
      5/28/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.63
      5/28/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.27
      5/28/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.08
      5/28/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.02
      5/28/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      5/28/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      5/28/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      5/28/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
      5/28/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      5/28/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 192347 Tractor Lease         353.28
       6/4/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
       6/4/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
       6/4/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
       6/4/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
       6/4/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.53
       6/4/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                     100
       6/4/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       6/4/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
       6/4/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
       6/4/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75

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      6/4/2016    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        13
      6/4/2016    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        13
      6/4/2016    709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/4/2016    709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/4/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.45
      6/4/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        144.32
      6/4/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.53
      6/4/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.01
      6/4/2016    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                    10.58
      6/4/2016    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                    34.17
      6/4/2016    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD           74.22
      6/4/2016    709   AR0064   Owner Operator   Truck Payment                  CTMS - 192418 Trck Lease             353.28
      6/4/2016    709   AR0064   Owner Operator   Truck Payment                  CTMS - 192589 Trck Lease             353.28
      6/4/2016    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL           8.75
      6/4/2016    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                         8
      6/4/2016    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/4/2016    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                             50
      6/4/2016    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
      6/4/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.57
      6/4/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.99
      6/4/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.31
      6/4/2016    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2016 - Q13169                    10.58
      6/4/2016    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                    34.17
      6/4/2016    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD           68.36
      6/4/2016    709   AV0021   Owner Operator   Truck Payment                  CTMS - 192593 Q13169 Sublease        352.68
      6/4/2016    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL           8.75
      6/4/2016    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                         8
      6/4/2016    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/4/2016    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        302.45
      6/4/2016    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.99
      6/4/2016    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         48.27
      6/4/2016    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        348.43
      6/4/2016    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2016 - Q13168                    10.58
      6/4/2016    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                    34.17
      6/4/2016    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD           68.36
      6/4/2016    709   CC0134   Owner Operator   Truck Payment                  CTMS - 192554 Q13168 sub lease       352.68
      6/4/2016    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/4/2016    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                         13
      6/4/2016    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/4/2016    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/4/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        361.87
      6/4/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        489.11
      6/4/2016    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                      100
      6/4/2016    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.96
      6/4/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      6/4/2016    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
      6/4/2016    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      6/4/2016    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      6/4/2016    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-28          11.47
      6/4/2016    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/4/2016    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/4/2016    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/4/2016    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/4/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.47
      6/4/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        153.05
      6/4/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.01
      6/4/2016    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                      100
      6/4/2016    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment        258.39
      6/4/2016    709   CR0064   Owner Operator   Loan Repayment                 Repair 139020 Setup Loan           -5536.41
      6/4/2016    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
      6/4/2016    709   CR0064   Owner Operator   T Chek Fee                     ExpressCheck Fee                      54.82
      6/4/2016    709   CR0064   Owner Operator   T Chek Fee                     Tractor Repair 32864                5481.59
      6/4/2016    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      6/4/2016    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
      6/4/2016    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      6/4/2016    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        387.98
      6/4/2016    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                     10.58
      6/4/2016    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                     34.17

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      6/4/2016    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      6/4/2016    709   CS0091   Owner Operator   Repair Order                   CTMS - 192582 Clamp                  27.59
      6/4/2016    709   CS0091   Owner Operator   Truck Payment                  CTMS - 192551 Q1201                 278.76
      6/4/2016    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      6/4/2016    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      6/4/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/4/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/4/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         289
      6/4/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       115.54
      6/4/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.95
      6/4/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.41
      6/4/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.78
      6/4/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.53
      6/4/2016    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                     100
      6/4/2016    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      6/4/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      6/4/2016    709   DJ0028   Owner Operator   Repair Order                   CTMS - 192639 repair                355.19
      6/4/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 192556 Q1104                 252.11
      6/4/2016    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      6/4/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/4/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/4/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/4/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.11
      6/4/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.02
      6/4/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.77
      6/4/2016    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      6/4/2016    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      6/4/2016    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      6/4/2016    709   DL0107   Owner Operator   Repair Order                   CTMS - 192567 Repair                148.47
      6/4/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 192537 Sublease              338.99
      6/4/2016    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      6/4/2016    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/4/2016    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      6/4/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      6/4/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      6/4/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       389.75
      6/4/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.69
      6/4/2016    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                     100
      6/4/2016    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      6/4/2016    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      6/4/2016    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      6/4/2016    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       406.07
      6/4/2016    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                     100
      6/4/2016    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      6/4/2016    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      6/4/2016    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      6/4/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.01
      6/4/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.12
      6/4/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.76
      6/4/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.07
      6/4/2016    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                     100
      6/4/2016    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      6/4/2016    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      6/4/2016    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      6/4/2016    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/4/2016    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      6/4/2016    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
      6/4/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/4/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/4/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/4/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/4/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.4
      6/4/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.08
      6/4/2016    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                     100
      6/4/2016    709   EA0003   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment       269.47
      6/4/2016    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      6/4/2016    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56

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      6/4/2016    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/4/2016    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      6/4/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/4/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/4/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/4/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/4/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.57
      6/4/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.07
      6/4/2016    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                     100
      6/4/2016    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      6/4/2016    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      6/4/2016    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/4/2016    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      6/4/2016    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      6/4/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/4/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/4/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        33.14
      6/4/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.77
      6/4/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.96
      6/4/2016    709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                     100
      6/4/2016    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      6/4/2016    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      6/4/2016    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      6/4/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      6/4/2016    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/4/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.91
      6/4/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.61
      6/4/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.46
      6/4/2016    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                     100
      6/4/2016    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      6/4/2016    709   FS0039   Owner Operator   Truck Payment                  CTMS - 192590 truck lease 3304      434.29
      6/4/2016    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      6/4/2016    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      6/4/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            70
      6/4/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
      6/4/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            10
      6/4/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/4/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      6/4/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      6/4/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/4/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
      6/4/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      6/4/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.7
      6/4/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.57
      6/4/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.95
      6/4/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       129.19
      6/4/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.57
      6/4/2016    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      6/4/2016    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      6/4/2016    709   FT0004   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        262.6
      6/4/2016    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      6/4/2016    709   FT0004   Owner Operator   Truck Payment                  CTMS - 192556 73129                 181.08
      6/4/2016    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      6/4/2016    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      6/4/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        264.9
      6/4/2016    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                    100
      6/4/2016    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      6/4/2016    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      6/4/2016    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      6/4/2016    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                     100
      6/4/2016    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      6/4/2016    709   GS0015   Owner Operator   Truck Payment                  CTMS - 192556 Lease                 252.11
      6/4/2016    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      6/4/2016    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      6/4/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/4/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/4/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.27

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      6/4/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.22
      6/4/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.57
      6/4/2016    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                      100
      6/4/2016    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      6/4/2016    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      6/4/2016    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      6/4/2016    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      6/4/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.96
      6/4/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.74
      6/4/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        51.33
      6/4/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.37
      6/4/2016    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                      100
      6/4/2016    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      6/4/2016    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      6/4/2016    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/4/2016    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-11          -15
      6/4/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/4/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/4/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.09
      6/4/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.43
      6/4/2016    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                      100
      6/4/2016    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      6/4/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/4/2016    709   IR0002   Owner Operator   Repair Order                   CTMS - 192582 Repair                  72.1
      6/4/2016    709   IR0002   Owner Operator   Repair Order                   CTMS - 192682 Repair                 92.47
      6/4/2016    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      6/4/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        97.92
      6/4/2016    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/4/2016    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      6/4/2016    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -2500
      6/4/2016    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      6/4/2016    709   JG0017   Owner Operator   Express Check                  T-Check Payment                       2500
      6/4/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      6/4/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/4/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.86
      6/4/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.51
      6/4/2016    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                      100
      6/4/2016    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      6/4/2016    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      6/4/2016    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/4/2016    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      6/4/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      6/4/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/4/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/4/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/4/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.24
      6/4/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.17
      6/4/2016    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                      100
      6/4/2016    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      6/4/2016    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00335573 - PO System         77.74
      6/4/2016    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      6/4/2016    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      6/4/2016    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/4/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/4/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/4/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          221
      6/4/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          486
      6/4/2016    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                      100
      6/4/2016    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      6/4/2016    709   JG0092   Owner Operator   Repair Order                   CTMS - 192568 Repair                 153.4
      6/4/2016    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      6/4/2016    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      6/4/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       125.36
      6/4/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        196.3
      6/4/2016    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                      100
      6/4/2016    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54

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      6/4/2016    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      6/4/2016    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      6/4/2016    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.9
      6/4/2016    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.19
      6/4/2016    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                     10.58
      6/4/2016    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                     34.17
      6/4/2016    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      6/4/2016    709   JR0099   Owner Operator   Truck Payment                  CTMS - 192543 Truck Lease            278.76
      6/4/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      6/4/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      6/4/2016    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      6/4/2016    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      6/4/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/4/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/4/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/4/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/4/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.9
      6/4/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        362.74
      6/4/2016    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                      100
      6/4/2016    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      6/4/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      6/4/2016    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/4/2016    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      6/4/2016    709   KP0004   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
      6/4/2016    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      6/4/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/4/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/4/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.34
      6/4/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        114.45
      6/4/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        334.49
      6/4/2016    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                      100
      6/4/2016    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      6/4/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      6/4/2016    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      6/4/2016    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      6/4/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      6/4/2016    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-28         174.02
      6/4/2016    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-28         174.02
      6/4/2016    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-11       -320.47
      6/4/2016    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                      100
      6/4/2016    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      6/4/2016    709   LL0160   Owner Operator   Truck Payment                  CTMS - 192624 Lease Q1111            252.11
      6/4/2016    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      6/4/2016    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      6/4/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/4/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/4/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.29
      6/4/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.75
      6/4/2016    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                      100
      6/4/2016    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      6/4/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      6/4/2016    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      6/4/2016    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      6/4/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        140.21
      6/4/2016    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      6/4/2016    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      6/4/2016    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.08
      6/4/2016    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        315.01
      6/4/2016    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                      100
      6/4/2016    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      6/4/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      6/4/2016    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      6/4/2016    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      6/4/2016    709   MM0093   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
      6/4/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/4/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100

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      6/4/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/4/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/4/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        302.27
      6/4/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.83
      6/4/2016    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        257.39
      6/4/2016    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      6/4/2016    709   MM0093   Owner Operator   Repair Order                   CTMS - 192682 Repair                  81.96
      6/4/2016    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      6/4/2016    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      6/4/2016    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      6/4/2016    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      6/4/2016    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                      100
      6/4/2016    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      6/4/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      6/4/2016    709   MP0035   Owner Operator   Repair Order                   CTMS - 192569 Repair                     70
      6/4/2016    709   MP0035   Owner Operator   Tire Fee                       Tire Fee: 1925761                         4
      6/4/2016    709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00335972 - PO System          30.01
      6/4/2016    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      6/4/2016    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      6/4/2016    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      6/4/2016    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      6/4/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.78
      6/4/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        293.67
      6/4/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        407.93
      6/4/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.35
      6/4/2016    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                      100
      6/4/2016    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      6/4/2016    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      6/4/2016    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      6/4/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             40
      6/4/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.4
      6/4/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.01
      6/4/2016    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                     100
      6/4/2016    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      6/4/2016    709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      6/4/2016    709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      6/4/2016    709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      6/4/2016    709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                          250
      6/4/2016    709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/4/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/4/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/4/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.9
      6/4/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.9
      6/4/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        215.19
      6/4/2016    709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                      100
      6/4/2016    709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                     70.29
      6/4/2016    709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.07
      6/4/2016    709   NR0010   Owner Operator   Tire Purchase                  PO: 709-00334670 - PO System         177.17
      6/4/2016    709   NR0010   Owner Operator   Tire Purchase                  PO: 709-00334670 - PO System         177.21
      6/4/2016    709   NR0010   Owner Operator   Truck Payment                  CTMS - 192344 Tractor Sublease       252.11
      6/4/2016    709   NR0010   Owner Operator   Truck Payment                  CTMS - 192542 Tractor Sublease       252.11
      6/4/2016    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      6/4/2016    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      6/4/2016    709   NT9564   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             -35
      6/4/2016    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      6/4/2016    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/4/2016    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                     10.58
      6/4/2016    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                     34.17
      6/4/2016    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            30.47
      6/4/2016    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            30.47
      6/4/2016    709   NT9564   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD          -156.25
      6/4/2016    709   NT9564   Owner Operator   Truck Payment                  CTMS - 192554 Truck 73130 Leas       196.65
      6/4/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      6/4/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      6/4/2016    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-28           27.3
      6/4/2016    709   RC0030   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
      6/4/2016    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      6/4/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.16
      6/4/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      6/4/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
      6/4/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      6/4/2016    709   RC0030   Owner Operator   Truck Payment                  CTMS - 192542 Down Payment lo        303.55
      6/4/2016    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.7
      6/4/2016    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/4/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      6/4/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      6/4/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        180.84
      6/4/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        363.52
      6/4/2016    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                      100
      6/4/2016    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.07
      6/4/2016    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
      6/4/2016    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
      6/4/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        433.06
      6/4/2016    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                     100
      6/4/2016    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.32
      6/4/2016    709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System         372.17
      6/4/2016    709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System        -463.09
      6/4/2016    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/4/2016    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      6/4/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/4/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/4/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/4/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/4/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/4/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/4/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        418.69
      6/4/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        408.94
      6/4/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        426.17
      6/4/2016    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                      100
      6/4/2016    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
      6/4/2016    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      6/4/2016    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
      6/4/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      6/4/2016    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
      6/4/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        340.82
      6/4/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        318.48
      6/4/2016    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                      100
      6/4/2016    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
      6/4/2016    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      6/4/2016    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      6/4/2016    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                             60
      6/4/2016    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.6
      6/4/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        151.51
      6/4/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.14
      6/4/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.28
      6/4/2016    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                     10.58
      6/4/2016    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                     34.17
      6/4/2016    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      6/4/2016    709   RP0082   Owner Operator   Truck Payment                  CTMS - 192543 Q1202 Truck Leas       278.76
      6/4/2016    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
      6/4/2016    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
      6/4/2016    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/4/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.73
      6/4/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        403.48
      6/4/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        164.94
      6/4/2016    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                     10.58
      6/4/2016    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
      6/4/2016    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/4/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
      6/4/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
      6/4/2016    709   RR0123   Owner Operator   Truck Payment                  CTMS - 192551 Q1248                  311.97
      6/4/2016    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      6/4/2016    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
      6/4/2016    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
      6/4/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           200

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      6/4/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/4/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.49
      6/4/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.44
      6/4/2016    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                     100
      6/4/2016    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      6/4/2016    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      6/4/2016    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/4/2016    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      6/4/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.91
      6/4/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.35
      6/4/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.23
      6/4/2016    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      6/4/2016    709   UE0001   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/4/2016    709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/4/2016    709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/4/2016    709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/4/2016    709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/4/2016    709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.4
      6/4/2016    709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.66
      6/4/2016    709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       129.21
      6/4/2016    709   UE0001   Owner Operator   IRP License Deduction          LCIL:2016 - 33786                     100
      6/4/2016    709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    30
      6/4/2016    709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      6/4/2016    709   UE0001   Owner Operator   Repair Order                   CTMS - 192568 Repair                  250
      6/4/2016    709   UE0001   Owner Operator   Repair Order                   CTMS - 192682 Repair                  250
      6/4/2016    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      6/4/2016    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      6/4/2016    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-28         27.08
      6/4/2016    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-28         24.55
      6/4/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.01
      6/4/2016    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                     100
      6/4/2016    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      6/4/2016    709   VB0015   Owner Operator   Truck Payment                  CTMS - 192658 Tractor Sub leas      242.03
      6/4/2016    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/4/2016    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      6/4/2016    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/4/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/4/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      6/4/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      6/4/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/4/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.46
      6/4/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.83
      6/4/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.27
      6/4/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.79
      6/4/2016    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                     100
      6/4/2016    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      6/4/2016    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      6/4/2016    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      6/4/2016    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      6/4/2016    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      6/4/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      6/4/2016    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      6/4/2016    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      6/4/2016    709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/4/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.71
      6/4/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.71
      6/4/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.27
      6/4/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.69
      6/4/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.42
      6/4/2016    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                    10.58
      6/4/2016    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      6/4/2016    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      6/4/2016    709   WH0087   Owner Operator   Truck Payment                  CTMS - 192552 Q1238 Lease           311.97
      6/4/2016    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      6/4/2016    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      6/4/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/4/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      6/4/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/4/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/4/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/4/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/4/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/4/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/4/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.92
      6/4/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.89
      6/4/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.73
      6/4/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        129.8
      6/4/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.01
      6/4/2016    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
      6/4/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      6/4/2016    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System        206.45
      6/4/2016    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      6/4/2016    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      6/4/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.21
      6/4/2016    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                      100
      6/4/2016    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      6/4/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      6/4/2016    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00335117 - PO System        163.46
      6/4/2016    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      6/4/2016    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      6/4/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.46
      6/4/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.72
      6/4/2016    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                      100
      6/4/2016    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      6/4/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      6/4/2016    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/4/2016    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      6/4/2016    742   EN0016   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-11         -155
      6/4/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.17
      6/4/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.97
      6/4/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.66
      6/4/2016    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                      100
      6/4/2016    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      6/4/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/4/2016    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      6/4/2016    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      6/4/2016    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-28        204.75
      6/4/2016    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      6/4/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      6/4/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      6/4/2016    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      6/4/2016    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      6/4/2016    742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/4/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.79
      6/4/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.35
      6/4/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.24
      6/4/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.5
      6/4/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.17
      6/4/2016    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      6/4/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      6/4/2016    742   KJ0045   Owner Operator   Tire Purchase                  PO: 742-00334626 - PO System        185.39
      6/4/2016    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      6/4/2016    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      6/4/2016    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                      100
      6/4/2016    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/4/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      6/4/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      6/4/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.23
      6/4/2016    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/4/2016    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        71.63
      6/4/2016    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/4/2016    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/4/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.78
      6/4/2016    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                      100
      6/4/2016    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75

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       6/4/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
       6/4/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
       6/4/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
       6/4/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         302
       6/4/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.56
       6/4/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.03
       6/4/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         96.4
       6/4/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.76
       6/4/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
       6/4/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
       6/4/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       6/4/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
       6/4/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
       6/4/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 192544 Tractor Lease         353.28
      6/11/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      6/11/2016   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
      6/11/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      6/11/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                    100
      6/11/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      6/11/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      6/11/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      6/11/2016   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
      6/11/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      6/11/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/11/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         287
      6/11/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.73
      6/11/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       405.55
      6/11/2016   709   AR0064   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    219.86
      6/11/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      6/11/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      6/11/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      6/11/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 192760 Trck Lease            353.28
      6/11/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      6/11/2016   709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                 12.5
      6/11/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      6/11/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/11/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       117.46
      6/11/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        70.24
      6/11/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.49
      6/11/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.91
      6/11/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2016 - Q13169                   10.58
      6/11/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      6/11/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      6/11/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 192764 Q13169 Sublease       352.68
      6/11/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      6/11/2016   709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                 12.5
      6/11/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      6/11/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/11/2016   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/11/2016   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/11/2016   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/11/2016   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/11/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.19
      6/11/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        49.14
      6/11/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.01
      6/11/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.04
      6/11/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.58
      6/11/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2016 - Q13168                   10.58
      6/11/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      6/11/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   CC0134   Owner Operator   Permits1                       ID06:2016 - Q13168                      11
      6/11/2016   709   CC0134   Owner Operator   Permits1                       IL02:2016 - Q13168                    3.75
      6/11/2016   709   CC0134   Owner Operator   Permits1                       NM07:2016 - Q13168                     5.5
      6/11/2016   709   CC0134   Owner Operator   Permits1                       NY13:2016 - Q13168                      19
      6/11/2016   709   CC0134   Owner Operator   Permits1                       OR16:2016 - Q13168                       8
      6/11/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      6/11/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 192731 Q13168 sub lease      352.68
      6/11/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/11/2016   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      6/11/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13

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      6/11/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/11/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/11/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        215.84
      6/11/2016   709   CM0119   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                      61.82
      6/11/2016   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                      100
      6/11/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.96
      6/11/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      6/11/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
      6/11/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      6/11/2016   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                   12.5
      6/11/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      6/11/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        191.52
      6/11/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        168.95
      6/11/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        141.52
      6/11/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.1
      6/11/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.16
      6/11/2016   709   CR0064   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                       0.56
      6/11/2016   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                      100
      6/11/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment        258.39
      6/11/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
      6/11/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      6/11/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
      6/11/2016   709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                   12.5
      6/11/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      6/11/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.33
      6/11/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                     10.58
      6/11/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                     34.17
      6/11/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
      6/11/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 192729 Q1201                  278.76
      6/11/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            8.75
      6/11/2016   709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                   12.5
      6/11/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                         13
      6/11/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/11/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/11/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.96
      6/11/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.28
      6/11/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.53
      6/11/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        276.45
      6/11/2016   709   DJ0028   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     336.26
      6/11/2016   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                      100
      6/11/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD            46.88
      6/11/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter          2.5
      6/11/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 192733 Q1104                  252.11
      6/11/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      6/11/2016   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                   6.63
      6/11/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      6/11/2016   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
      6/11/2016   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      6/11/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        193.83
      6/11/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.38
      6/11/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.4
      6/11/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        170.62
      6/11/2016   709   DL0107   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                      24.32
      6/11/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                     10.58
      6/11/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                     34.17
      6/11/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
      6/11/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
      6/11/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/11/2016   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                   12.5
      6/11/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      6/11/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      6/11/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      6/11/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        455.85
      6/11/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.6
      6/11/2016   709   DS0049   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    -343.34
      6/11/2016   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                      100
      6/11/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35

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      6/11/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
      6/11/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
      6/11/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      328.23
      6/11/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      307.24
      6/11/2016   709   DS0225   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    -27.4
      6/11/2016   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                    100
      6/11/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/11/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   19.54
      6/11/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                       8.75
      6/11/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      333.42
      6/11/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      243.07
      6/11/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      240.99
      6/11/2016   709   DW0138   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    62.42
      6/11/2016   709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                    100
      6/11/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
      6/11/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                       68.52
      6/11/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                      463.27
      6/11/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/11/2016   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                 12.5
      6/11/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
      6/11/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        100
      6/11/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/11/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/11/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/11/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/11/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      296.99
      6/11/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      289.49
      6/11/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      421.36
      6/11/2016   709   EA0003   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                   115.15
      6/11/2016   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                    100
      6/11/2016   709   EA0003   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment      269.47
      6/11/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/11/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
      6/11/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
      6/11/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/11/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           40
      6/11/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         100
      6/11/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      6/11/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.4
      6/11/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       88.82
      6/11/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      300.95
      6/11/2016   709   EE0011   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    85.27
      6/11/2016   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                    100
      6/11/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/11/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.92
      6/11/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                      505.27
      6/11/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/11/2016   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                 12.5
      6/11/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                       13
      6/11/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        250
      6/11/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/11/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/11/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/11/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/11/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/11/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/11/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      156.91
      6/11/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.9
      6/11/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      159.43
      6/11/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                      335.37
      6/11/2016   709   EH0020   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                   108.82
      6/11/2016   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                    100
      6/11/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/11/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.01
      6/11/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                      532.24
      6/11/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL          8.75
      6/11/2016   709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                 12.5
      6/11/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                        8
      6/11/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                          50
      6/11/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        221
      6/11/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                      347.18
      6/11/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                      342.56
      6/11/2016   709   FS0039   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    -2.47

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      6/11/2016   709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                     100
      6/11/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      6/11/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 192761 truck lease 3304      434.29
      6/11/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      6/11/2016   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
      6/11/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      6/11/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            10
      6/11/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            80
      6/11/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          260
      6/11/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            60
      6/11/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      6/11/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.6
      6/11/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.8
      6/11/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
      6/11/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.29
      6/11/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.71
      6/11/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.66
      6/11/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       112.93
      6/11/2016   709   FT0004   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                      5.99
      6/11/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      6/11/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      6/11/2016   709   FT0004   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        262.6
      6/11/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      6/11/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 192733 73129                 181.08
      6/11/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      6/11/2016   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
      6/11/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      6/11/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/11/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/11/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       124.06
      6/11/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.21
      6/11/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.35
      6/11/2016   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                    100
      6/11/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      6/11/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      6/11/2016   709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                  12.5
      6/11/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      6/11/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.35
      6/11/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.84
      6/11/2016   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                     100
      6/11/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      6/11/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 192733 Lease                 252.11
      6/11/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      6/11/2016   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      6/11/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      6/11/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/11/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/11/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.48
      6/11/2016   709   HG0007   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     61.04
      6/11/2016   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                     100
      6/11/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      6/11/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      6/11/2016   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      6/11/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      6/11/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/11/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/11/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/11/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/11/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.77
      6/11/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.51
      6/11/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       127.38
      6/11/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.99
      6/11/2016   709   HG0027   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     64.65
      6/11/2016   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                     100
      6/11/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      6/11/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      6/11/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75

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      6/11/2016   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-4             15
      6/11/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                        132.54
      6/11/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.33
      6/11/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        376.2
      6/11/2016   709   IR0002   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    -29.95
      6/11/2016   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                     100
      6/11/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      6/11/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/11/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      6/11/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      6/11/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      6/11/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      6/11/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      6/11/2016   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      6/11/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      6/11/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      6/11/2016   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-28         27.08
      6/11/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      6/11/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      6/11/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/11/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/11/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/11/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/11/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.4
      6/11/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       416.16
      6/11/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.66
      6/11/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.6
      6/11/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.11
      6/11/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.27
      6/11/2016   709   JC0292   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     94.03
      6/11/2016   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                     100
      6/11/2016   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                     100
      6/11/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      6/11/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      6/11/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      6/11/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      6/11/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/11/2016   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      6/11/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      6/11/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      6/11/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/11/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/11/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.74
      6/11/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.18
      6/11/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.22
      6/11/2016   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                     100
      6/11/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      6/11/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      6/11/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/11/2016   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
      6/11/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      6/11/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/11/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/11/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/11/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/11/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       449.37
      6/11/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       458.68
      6/11/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       425.11
      6/11/2016   709   JG0072   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    206.23
      6/11/2016   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                     100
      6/11/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      6/11/2016   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00335573 - PO System         77.74
      6/11/2016   709   JG0072   Owner Operator   Toll Charges                   32909 ILTOLL Marengo                   1.5
      6/11/2016   709   JG0072   Owner Operator   Toll Charges                   BestPass Tolls for May 2016           -1.5
      6/11/2016   709   JG0072   Owner Operator   Toll Charges                   BestPass Tolls for May 2016            1.5
      6/11/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      6/11/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      6/11/2016   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5

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      6/11/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/11/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/11/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/11/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.46
      6/11/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.37
      6/11/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.07
      6/11/2016   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                     100
      6/11/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      6/11/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      6/11/2016   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
      6/11/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      6/11/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.32
      6/11/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.5
      6/11/2016   709   JQ0015   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                      1.46
      6/11/2016   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                     100
      6/11/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      6/11/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      6/11/2016   709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
      6/11/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      6/11/2016   709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/11/2016   709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/11/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.62
      6/11/2016   709   JR0099   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    120.36
      6/11/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      6/11/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                    34.17
      6/11/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      6/11/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 192699 Truck Lease           278.76
      6/11/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      6/11/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      6/11/2016   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
      6/11/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      6/11/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      6/11/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/11/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/11/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/11/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/11/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.93
      6/11/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.41
      6/11/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.59
      6/11/2016   709   JS0265   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     58.69
      6/11/2016   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                     100
      6/11/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      6/11/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      6/11/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/11/2016   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      6/11/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      6/11/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      6/11/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/11/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/11/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        153.7
      6/11/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.25
      6/11/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.18
      6/11/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       423.31
      6/11/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.57
      6/11/2016   709   KP0004   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    292.34
      6/11/2016   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                     100
      6/11/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      6/11/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/11/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      6/11/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      6/11/2016   709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                  12.5
      6/11/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      6/11/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-4         320.47
      6/11/2016   709   LL0160   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    291.21
      6/11/2016   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                     100
      6/11/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      6/11/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 192797 Lease Q1111           252.11

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      6/11/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      6/11/2016   709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                  12.5
      6/11/2016   709   LS0023   Owner Operator   Charge back by affiliate       CTMS - 192867 Trailer wash TL9       -35.5
      6/11/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      6/11/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/11/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/11/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.41
      6/11/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       469.46
      6/11/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       457.49
      6/11/2016   709   LS0023   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     29.89
      6/11/2016   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                     100
      6/11/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      6/11/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      6/11/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      6/11/2016   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                 12.5
      6/11/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      6/11/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      6/11/2016   709   MB0048   Owner Operator   Repair Order                   CTMS - 192682 Repair                437.97
      6/11/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      6/11/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.26
      6/11/2016   709   MG0067   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    142.13
      6/11/2016   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                     100
      6/11/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      6/11/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      6/11/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/11/2016   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                  12.5
      6/11/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      6/11/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/11/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/11/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.53
      6/11/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.95
      6/11/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.62
      6/11/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment       257.39
      6/11/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      6/11/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      6/11/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      6/11/2016   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                  12.5
      6/11/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      6/11/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
      6/11/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/11/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/11/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       534.05
      6/11/2016   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                     100
      6/11/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      6/11/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      6/11/2016   709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00335972 - PO System         30.01
      6/11/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      6/11/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      6/11/2016   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                  12.5
      6/11/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      6/11/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
      6/11/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.58
      6/11/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.49
      6/11/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.14
      6/11/2016   709   NB0029   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     24.76
      6/11/2016   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                     100
      6/11/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      6/11/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      6/11/2016   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                 12.5
      6/11/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      6/11/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/11/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/11/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         270
      6/11/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         168
      6/11/2016   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                    100
      6/11/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98

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      6/11/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      6/11/2016   709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                  12.5
      6/11/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      6/11/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/11/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/11/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/11/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/11/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.43
      6/11/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.5
      6/11/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.57
      6/11/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.78
      6/11/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.04
      6/11/2016   709   NR0010   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     35.89
      6/11/2016   709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                     100
      6/11/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      6/11/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 192699 Tractor Sublease      252.11
      6/11/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      6/11/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      6/11/2016   709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                  12.5
      6/11/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
      6/11/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/11/2016   709   NT9564   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     58.65
      6/11/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
      6/11/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
      6/11/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   NT9564   Owner Operator   Permits1                       ID06:2016 - 73130                       11
      6/11/2016   709   NT9564   Owner Operator   Permits1                       ID06:2016 - Q1109                      -11
      6/11/2016   709   NT9564   Owner Operator   Permits1                       IL02:2016 - 73130                     3.75
      6/11/2016   709   NT9564   Owner Operator   Permits1                       IL02:2016 - Q1109                    -3.75
      6/11/2016   709   NT9564   Owner Operator   Permits1                       NM07:2016 - 73130                      5.5
      6/11/2016   709   NT9564   Owner Operator   Permits1                       NM07:2016 - Q1109                     -5.5
      6/11/2016   709   NT9564   Owner Operator   Permits1                       NY13:2016 - 73130                       19
      6/11/2016   709   NT9564   Owner Operator   Permits1                       NY13:2016 - Q1109                      -19
      6/11/2016   709   NT9564   Owner Operator   Permits1                       OR16:2016 - 73130                        8
      6/11/2016   709   NT9564   Owner Operator   Permits1                       OR16:2016 - Q1109                       -8
      6/11/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      6/11/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      6/11/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 192731 Truck 73130 Leas      196.65
      6/11/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      6/11/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      6/11/2016   709   RC0030   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     446.6
      6/11/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      6/11/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      6/11/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      6/11/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      6/11/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 192699 Down Payment lo       303.55
      6/11/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      6/11/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/11/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      6/11/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      6/11/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.07
      6/11/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        331.2
      6/11/2016   709   RC0089   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    -85.04
      6/11/2016   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                     100
      6/11/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      6/11/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      6/11/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      6/11/2016   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                 12.5
      6/11/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.98
      6/11/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.28
      6/11/2016   709   RL0017   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    -32.45
      6/11/2016   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                    100
      6/11/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      6/11/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00331097 - PO System         -0.03
      6/11/2016   709   RL0017   Owner Operator   Toll Charges                   Toll Roads 348256270 - 21975A        33.99
      6/11/2016   709   RL0017   Owner Operator   Toll Charges                   Toll Roads 348257195 - 21975A        33.99
      6/11/2016   709   RL0017   Owner Operator   Toll Charges                   Toll Roads 348257708 - 21975A        35.53
      6/11/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/11/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13

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      6/11/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/11/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/11/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/11/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/11/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       466.14
      6/11/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       439.26
      6/11/2016   709   RL0062   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    195.61
      6/11/2016   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                     100
      6/11/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      6/11/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      6/11/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      6/11/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      6/11/2016   709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                  12.5
      6/11/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      6/11/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        177.9
      6/11/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.53
      6/11/2016   709   RM0026   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    142.31
      6/11/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                     100
      6/11/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      6/11/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      6/11/2016   709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                  12.5
      6/11/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      6/11/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.45
      6/11/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.32
      6/11/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      6/11/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      6/11/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      6/11/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 192699 Q1202 Truck Leas      278.76
      6/11/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      6/11/2016   709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                  12.5
      6/11/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      6/11/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/11/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.51
      6/11/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        422.5
      6/11/2016   709   RR0123   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    170.47
      6/11/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      6/11/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      6/11/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      6/11/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      6/11/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 192729 Q1248                 311.97
      6/11/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      6/11/2016   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                  12.5
      6/11/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      6/11/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/11/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/11/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/11/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.25
      6/11/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.35
      6/11/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.56
      6/11/2016   709   SB0009   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     165.6
      6/11/2016   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                     100
      6/11/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      6/11/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      6/11/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/11/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      6/11/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/11/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/11/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.23
      6/11/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.45
      6/11/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.62
      6/11/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.94
      6/11/2016   709   SN0019   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     74.47
      6/11/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      6/11/2016   709   UE0001   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-18       -187.5
      6/11/2016   709   UE0001   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/11/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance                          400
      6/11/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      6/11/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/11/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
      6/11/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         82.98
      6/11/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        100.12
      6/11/2016   709   UE0001   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                      65.25
      6/11/2016   709   UE0001   Owner Operator   IRP License Deduction          LCIL:2016 - 33786                      100
      6/11/2016   709   UE0001   Owner Operator   Miscellaneous                  Voided Check #963483               -4733.22
      6/11/2016   709   UE0001   Owner Operator   Permits                        NY13:2016 - 33786                       1.5
      6/11/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                     30
      6/11/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism          2.5
      6/11/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
      6/11/2016   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                   12.5
      6/11/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      6/11/2016   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-18       -223.82
      6/11/2016   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-18        -27.08
      6/11/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.07
      6/11/2016   709   VB0015   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                      26.29
      6/11/2016   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                      100
      6/11/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
      6/11/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 192840 Tractor Sub leas       242.03
      6/11/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      6/11/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                        101.93
      6/11/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/11/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/11/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.4
      6/11/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.89
      6/11/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.3
      6/11/2016   709   VJ0006   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     224.03
      6/11/2016   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                      100
      6/11/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
      6/11/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
      6/11/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      6/11/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      6/11/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
      6/11/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      6/11/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
      6/11/2016   709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                   12.5
      6/11/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
      6/11/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/11/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        356.68
      6/11/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         21.59
      6/11/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         31.15
      6/11/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        339.69
      6/11/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        133.72
      6/11/2016   709   WH0087   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                      -2.68
      6/11/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                     10.58
      6/11/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                     34.17
      6/11/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD               60.47
      6/11/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 192729 Q1238 Lease            311.97
      6/11/2016   730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      6/11/2016   730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      6/11/2016   730   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                   12.5
      6/11/2016   730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      6/11/2016   730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      6/11/2016   730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      6/11/2016   730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      6/11/2016   730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/11/2016   730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/11/2016   730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/11/2016   730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/11/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/11/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/11/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/11/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/11/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/11/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/11/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/11/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/11/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2

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      6/11/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/11/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.65
      6/11/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.28
      6/11/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        293.5
      6/11/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.07
      6/11/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.27
      6/11/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.63
      6/11/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.81
      6/11/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.4
      6/11/2016   730   JK0112   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     62.45
      6/11/2016   730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                     100
      6/11/2016   730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                     100
      6/11/2016   730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      6/11/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      6/11/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      6/11/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      6/11/2016   730   JK0112   Owner Operator   Tire Fee                       Tire Fee: 1921875                        8
      6/11/2016   730   JK0112   Owner Operator   Tire Purchase                  PO: 730-00335254 - PO System        119.31
      6/11/2016   730   JK0112   Owner Operator   Tire Purchase                  PO: 730-00335254 - PO System        194.54
      6/11/2016   730   JK0112   Owner Operator   Tire Purchase                  PO: 730-00335254 - PO System        194.54
      6/11/2016   730   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
      6/11/2016   730   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
      6/11/2016   730   JK0112   Owner Operator   Toll Charges                   33211 DRPA Walt Whitman Br.           37.5
      6/11/2016   730   JK0112   Owner Operator   Toll Charges                   33211 MdTA Kennedy Memorial Hi          48
      6/11/2016   730   JK0112   Owner Operator   Toll Charges                   BestPass Tolls for May 2016             -9
      6/11/2016   730   JK0112   Owner Operator   Toll Charges                   BestPass Tolls for May 2016             -9
      6/11/2016   730   JK0112   Owner Operator   Toll Charges                   BestPass Tolls for May 2016          -37.5
      6/11/2016   730   JK0112   Owner Operator   Toll Charges                   BestPass Tolls for May 2016            -48
      6/11/2016   730   JK0112   Owner Operator   Toll Charges                   BestPass Tolls for May 2016              9
      6/11/2016   730   JK0112   Owner Operator   Toll Charges                   BestPass Tolls for May 2016              9
      6/11/2016   730   JK0112   Owner Operator   Toll Charges                   BestPass Tolls for May 2016           37.5
      6/11/2016   730   JK0112   Owner Operator   Toll Charges                   BestPass Tolls for May 2016             48
      6/11/2016   730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      6/11/2016   730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      6/11/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      6/11/2016   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      6/11/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      6/11/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/11/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/11/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/11/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/11/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.32
      6/11/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         278
      6/11/2016   742   AP0047   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     79.47
      6/11/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
      6/11/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      6/11/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      6/11/2016   742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                  12.5
      6/11/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      6/11/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.84
      6/11/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.75
      6/11/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.93
      6/11/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.86
      6/11/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.35
      6/11/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.35
      6/11/2016   742   BS0078   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    103.31
      6/11/2016   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                     100
      6/11/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/11/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      6/11/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      6/11/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      6/11/2016   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      6/11/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      6/11/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.27
      6/11/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.05
      6/11/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.63
      6/11/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.99
      6/11/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.45
      6/11/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       364.13
      6/11/2016   742   ED0041   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                      95.9

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      6/11/2016   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                      100
      6/11/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.36
      6/11/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
      6/11/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/11/2016   742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                   12.5
      6/11/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                         13
      6/11/2016   742   EN0016   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-4            155
      6/11/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        420.28
      6/11/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         50.21
      6/11/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        125.73
      6/11/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.91
      6/11/2016   742   EN0016   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                      93.63
      6/11/2016   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                      100
      6/11/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
      6/11/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      6/11/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
      6/11/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
      6/11/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-18       -146.37
      6/11/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      6/11/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.69
      6/11/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
      6/11/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                         8.75
      6/11/2016   742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                   12.5
      6/11/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                         13
      6/11/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/11/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         98.91
      6/11/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        237.58
      6/11/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.75
      6/11/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.87
      6/11/2016   742   KJ0045   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                      64.55
      6/11/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                         46.88
      6/11/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
      6/11/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      6/11/2016   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                   12.5
      6/11/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                         13
      6/11/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.46
      6/11/2016   742   MH0117   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                      87.33
      6/11/2016   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                      100
      6/11/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                            75
      6/11/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      6/11/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/11/2016   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                   12.5
      6/11/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      6/11/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      6/11/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      6/11/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        128.37
      6/11/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/11/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/11/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        188.93
      6/11/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        109.41
      6/11/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        161.82
      6/11/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        339.33
      6/11/2016   742   PC0012   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                      43.02
      6/11/2016   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                      100
      6/11/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      6/11/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.38
      6/11/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
      6/11/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
      6/11/2016   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                  12.5
      6/11/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
      6/11/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
      6/11/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.85
      6/11/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        208.07
      6/11/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         71.67
      6/11/2016   742   RN0054   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                      80.18
      6/11/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                    10.58
      6/11/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                    34.17
      6/11/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/11/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.26

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      6/11/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      6/11/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 192701 Tractor Lease         353.28
      6/18/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      6/18/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      6/18/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.32
      6/18/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                    100
      6/18/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      6/18/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      6/18/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      6/18/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      6/18/2016   709   AR0064   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/18/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        153.1
      6/18/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.69
      6/18/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.61
      6/18/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      6/18/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      6/18/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      6/18/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 192962 Trck Lease            353.28
      6/18/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      6/18/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.46
      6/18/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.66
      6/18/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.24
      6/18/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2016 - Q13169                   10.58
      6/18/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      6/18/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      6/18/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 192959 Q13169 Sublease       352.68
      6/18/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      6/18/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      6/18/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/18/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.75
      6/18/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       113.23
      6/18/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        41.14
      6/18/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2016 - Q13168                   10.58
      6/18/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      6/18/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      6/18/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 192927 Q13168 sub lease      352.68
      6/18/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      6/18/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      6/18/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        16.62
      6/18/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       104.88
      6/18/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.97
      6/18/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.86
      6/18/2016   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                     100
      6/18/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
      6/18/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      6/18/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      6/18/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      6/18/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      6/18/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       362.06
      6/18/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      6/18/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      6/18/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      6/18/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 192925 Q1201                 278.76
      6/18/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      6/18/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      6/18/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/18/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/18/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.1
      6/18/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.18
      6/18/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.42
      6/18/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        122.9
      6/18/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.98
      6/18/2016   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                     100
      6/18/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      6/18/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      6/18/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 192929 Q1104                 252.11

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      6/18/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL             8.75
      6/18/2016   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                 5.87
      6/18/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                       13
      6/18/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.5
      6/18/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      278.95
      6/18/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      189.36
      6/18/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      269.74
      6/18/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                   10.58
      6/18/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                   34.17
      6/18/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/18/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
      6/18/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 192692 Sublease             338.99
      6/18/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 192888 Sublease             338.99
      6/18/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.38
      6/18/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/18/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
      6/18/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                         500
      6/18/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      6/18/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      444.11
      6/18/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      437.63
      6/18/2016   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                    100
      6/18/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/18/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.35
      6/18/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
      6/18/2016   709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                 32.95
      6/18/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
      6/18/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       436.2
      6/18/2016   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                    100
      6/18/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/18/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   19.54
      6/18/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                       8.75
      6/18/2016   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                 12.5
      6/18/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                       13
      6/18/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                       13
      6/18/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      138.47
      6/18/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      193.59
      6/18/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      365.34
      6/18/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      208.74
      6/18/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.5
      6/18/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        7.97
      6/18/2016   709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                    100
      6/18/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
      6/18/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                       68.52
      6/18/2016   709   DW0138   Owner Operator   Repair Order                   CTMS - 192880 Repair                 252
      6/18/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                      463.27
      6/18/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/18/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
      6/18/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        100
      6/18/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/18/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/18/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/18/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/18/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      256.01
      6/18/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      294.03
      6/18/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      253.56
      6/18/2016   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                    100
      6/18/2016   709   EA0003   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment      268.55
      6/18/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      6/18/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
      6/18/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
      6/18/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      6/18/2016   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                 12.5
      6/18/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                       13
      6/18/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                       13
      6/18/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         200
      6/18/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         300
      6/18/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
      6/18/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      6/18/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      302.41
      6/18/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      474.03
      6/18/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      104.39
      6/18/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      352.55
      6/18/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      256.97

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      6/18/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.54
      6/18/2016   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                     100
      6/18/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      6/18/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      6/18/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      6/18/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.17
      6/18/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.07
      6/18/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
      6/18/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      6/18/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 6/16 #                        324.4
      6/18/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/18/2016   709   EH0020   Owner Operator   Charge back by affiliate       CTMS - 192970 Tractor wash EH0      -41.99
      6/18/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      6/18/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      6/18/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/18/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/18/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/18/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/18/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.49
      6/18/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.14
      6/18/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        44.99
      6/18/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.79
      6/18/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.78
      6/18/2016   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                     100
      6/18/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      6/18/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      6/18/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      6/18/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      6/18/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/18/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.92
      6/18/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.98
      6/18/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.49
      6/18/2016   709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                     100
      6/18/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      6/18/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 192956 truck lease 3304      434.29
      6/18/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      6/18/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      6/18/2016   709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-25       -65.65
      6/18/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          250
      6/18/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            80
      6/18/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.8
      6/18/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.5
      6/18/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.47
      6/18/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.33
      6/18/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.58
      6/18/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      6/18/2016   709   FT0004   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        262.6
      6/18/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      6/18/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 192929 73129                 181.08
      6/18/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      6/18/2016   709   FV0001   Owner Operator   Charge back by affiliate       CTMS - 192970 Trailer wash 702         -40
      6/18/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      6/18/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       443.48
      6/18/2016   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                    100
      6/18/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      6/18/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      6/18/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      6/18/2016   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                     100
      6/18/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      6/18/2016   709   GS0015   Owner Operator   Repair Order                   CTMS - 192880 Used Tire               100
      6/18/2016   709   GS0015   Owner Operator   Tire Fee                       Tire Fee: 1928563                        4
      6/18/2016   709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00336511 - PO System        100.41
      6/18/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 192929 Lease                 252.11
      6/18/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      6/18/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      6/18/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/18/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3

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      6/18/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.12
      6/18/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       364.73
      6/18/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.47
      6/18/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.34
      6/18/2016   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                     100
      6/18/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      6/18/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      6/18/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      6/18/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/18/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/18/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.14
      6/18/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.42
      6/18/2016   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                     100
      6/18/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      6/18/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      6/18/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/18/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/18/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         26.28
      6/18/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.26
      6/18/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/18/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.67
      6/18/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        333.7
      6/18/2016   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                     100
      6/18/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      6/18/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/18/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      6/18/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      6/18/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      6/18/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      6/18/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      6/18/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/18/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/18/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       406.14
      6/18/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.45
      6/18/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       372.26
      6/18/2016   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                     100
      6/18/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      6/18/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      6/18/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/18/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      6/18/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      6/18/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/18/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/18/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.88
      6/18/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.25
      6/18/2016   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                     100
      6/18/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      6/18/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      6/18/2016   709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      6/18/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/18/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      6/18/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/18/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/18/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/18/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/18/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       403.06
      6/18/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       402.48
      6/18/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        453.4
      6/18/2016   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                     100
      6/18/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      6/18/2016   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00335573 - PO System         77.67
      6/18/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      6/18/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      6/18/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/18/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/18/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/18/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       528.66

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      6/18/2016   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                     100
      6/18/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      6/18/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      6/18/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      6/18/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/18/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/18/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.26
      6/18/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         125
      6/18/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       101.41
      6/18/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.66
      6/18/2016   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                     100
      6/18/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      6/18/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      6/18/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      6/18/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.94
      6/18/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      6/18/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                    34.17
      6/18/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      6/18/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 192893 Truck Lease           278.76
      6/18/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      6/18/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      6/18/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      6/18/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      6/18/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/18/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/18/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/18/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/18/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.27
      6/18/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.39
      6/18/2016   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                     100
      6/18/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      6/18/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      6/18/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/18/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      6/18/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      6/18/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/18/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/18/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.93
      6/18/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       364.19
      6/18/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       116.66
      6/18/2016   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                     100
      6/18/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      6/18/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/18/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      6/18/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      6/18/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      6/18/2016   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                     100
      6/18/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      6/18/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 192997 Lease Q1111           252.11
      6/18/2016   709   LS0023   Owner Operator   Accident Claim                 09/01/15 LS0023 Accident            281.78
      6/18/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      6/18/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      6/18/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/18/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/18/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.37
      6/18/2016   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                     100
      6/18/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      6/18/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      6/18/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      6/18/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      6/18/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/18/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/18/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.35
      6/18/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      6/18/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75

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      6/18/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          200
      6/18/2016   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                      100
      6/18/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/18/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      6/18/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      6/18/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      6/18/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      6/18/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.32
      6/18/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.76
      6/18/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.35
      6/18/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        257.39
      6/18/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/18/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      6/18/2016   709   MM0093   Owner Operator   Repair Order                   CTMS - 192880 Repair                  81.96
      6/18/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      6/18/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      6/18/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      6/18/2016   709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-25       -407.83
      6/18/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      6/18/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           140
      6/18/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.4
      6/18/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        514.42
      6/18/2016   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                      100
      6/18/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/18/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      6/18/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      6/18/2016   709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00335972 - PO System          30.01
      6/18/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      6/18/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      6/18/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      6/18/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      6/18/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.07
      6/18/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.97
      6/18/2016   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                      100
      6/18/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/18/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      6/18/2016   709   NB0029   Owner Operator   Repair Order                   CTMS - 192881 Parts                   42.58
      6/18/2016   709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      6/18/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      6/18/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      6/18/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/18/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/18/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        169.43
      6/18/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          344
      6/18/2016   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                     100
      6/18/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/18/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      6/18/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      6/18/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      6/18/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/18/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/18/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.32
      6/18/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        180.54
      6/18/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        199.65
      6/18/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.68
      6/18/2016   709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                      100
      6/18/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/18/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.07
      6/18/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 192892 Tractor Sublease       252.11
      6/18/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      6/18/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      6/18/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/18/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                     10.58
      6/18/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                     34.17
      6/18/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/18/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            30.47
      6/18/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 192927 Truck 73130 Leas       196.65
      6/18/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      6/18/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      6/18/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/18/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.16
      6/18/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      6/18/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07

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      6/18/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      6/18/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 192892 Down Payment lo       303.55
      6/18/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      6/18/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/18/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      6/18/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      6/18/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.91
      6/18/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.07
      6/18/2016   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                     100
      6/18/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      6/18/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      6/18/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      6/18/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.54
      6/18/2016   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                    100
      6/18/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      6/18/2016   709   RL0017   Owner Operator   Toll Charges                   Toll Roads 348256270 - 21975A        33.99
      6/18/2016   709   RL0017   Owner Operator   Toll Charges                   Toll Roads 348257195 - 21975A        33.99
      6/18/2016   709   RL0017   Owner Operator   Toll Charges                   Toll Roads 348257708 - 21975A        35.53
      6/18/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/18/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      6/18/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/18/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/18/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/18/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/18/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/18/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/18/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       424.96
      6/18/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.97
      6/18/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       427.61
      6/18/2016   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                     100
      6/18/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      6/18/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      6/18/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      6/18/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      6/18/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      6/18/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.15
      6/18/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.24
      6/18/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                     100
      6/18/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      6/18/2016   709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      6/18/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      6/18/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      6/18/2016   709   RP0082   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-25        -5.87
      6/18/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                            60
      6/18/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      6/18/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.61
      6/18/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       374.46
      6/18/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      6/18/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      6/18/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      6/18/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 192893 Q1202 Truck Leas      278.76
      6/18/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      6/18/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      6/18/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/18/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       436.02
      6/18/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.49
      6/18/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      6/18/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      6/18/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      6/18/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      6/18/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 192925 Q1248                 311.97
      6/18/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      6/18/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      6/18/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/18/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                         17.94
      6/18/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.18
      6/18/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.7

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      6/18/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.08
      6/18/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.44
      6/18/2016   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                     100
      6/18/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      6/18/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      6/18/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/18/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      6/18/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/18/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/18/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.99
      6/18/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.65
      6/18/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        169.1
      6/18/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.55
      6/18/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      6/18/2016   709   UE0001   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      6/18/2016   709   UE0001   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      6/18/2016   709   UE0001   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      6/18/2016   709   UE0001   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-11         187.5
      6/18/2016   709   UE0001   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/18/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance                          400
      6/18/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      6/18/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.44
      6/18/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.8
      6/18/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.14
      6/18/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.34
      6/18/2016   709   UE0001   Owner Operator   IRP License Deduction          LCIL:2016 - 33786                     100
      6/18/2016   709   UE0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   UE0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    30
      6/18/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      6/18/2016   709   UE0001   Owner Operator   Repair Order                   CTMS - 192880 Repair                  250
      6/18/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      6/18/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      6/18/2016   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-11        223.82
      6/18/2016   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-11         27.08
      6/18/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.08
      6/18/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         160
      6/18/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.31
      6/18/2016   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                     100
      6/18/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      6/18/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 193053 Tractor Sub leas      242.03
      6/18/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/18/2016   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
      6/18/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      6/18/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      6/18/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                        98.07
      6/18/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/18/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      6/18/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      6/18/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.92
      6/18/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.41
      6/18/2016   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                     100
      6/18/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      6/18/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      6/18/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      6/18/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      6/18/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      6/18/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      6/18/2016   709   WB0062   Owner Operator   Tire Fee                       Tire Fee: 1928578                        8
      6/18/2016   709   WB0062   Owner Operator   Tire Purchase                  PO: 709-00336519 - PO System        223.95
      6/18/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      6/18/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      6/18/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/18/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/18/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/18/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        73.41
      6/18/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.66
      6/18/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.83

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      6/18/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.91
      6/18/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                    10.58
      6/18/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      6/18/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      6/18/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 192925 Q1238 Lease           311.97
      6/18/2016   730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  4.9
      6/18/2016   730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                     100
      6/18/2016   730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      6/18/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      6/18/2016   730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      6/18/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      6/18/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      6/18/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/18/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/18/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/18/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/18/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.1
      6/18/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.18
      6/18/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
      6/18/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      6/18/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      6/18/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      6/18/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        289.9
      6/18/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.72
      6/18/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.98
      6/18/2016   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                     100
      6/18/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      6/18/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      6/18/2016   742   BS0078   Owner Operator   Tire Fee                       Tire Fee: 1928577                       16
      6/18/2016   742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00336525 - PO System        343.18
      6/18/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      6/18/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      6/18/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.52
      6/18/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.09
      6/18/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.91
      6/18/2016   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                     100
      6/18/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      6/18/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      6/18/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/18/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/18/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        67.65
      6/18/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      6/18/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-11        146.37
      6/18/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      6/18/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      6/18/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      6/18/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      6/18/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      6/18/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/18/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.44
      6/18/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.05
      6/18/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.91
      6/18/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       417.51
      6/18/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      6/18/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      6/18/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      6/18/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      6/18/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      6/18/2016   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      6/18/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      6/18/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      6/18/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      6/18/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/18/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/18/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/18/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/18/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3

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      6/18/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/18/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/18/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/18/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.85
      6/18/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        193.2
      6/18/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.89
      6/18/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        230.5
      6/18/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.5
      6/18/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.54
      6/18/2016   742   NG0024   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                    111.99
      6/18/2016   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                     100
      6/18/2016   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                     100
      6/18/2016   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                     100
      6/18/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      6/18/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      6/18/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      6/18/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      6/18/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      6/18/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      6/18/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/18/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        82.01
      6/18/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/18/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/18/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.27
      6/18/2016   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                     100
      6/18/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      6/18/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      6/18/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      6/18/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      6/18/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      6/18/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.77
      6/18/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.41
      6/18/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.66
      6/18/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.61
      6/18/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.22
      6/18/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.84
      6/18/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      6/18/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      6/18/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/18/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      6/18/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      6/18/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 192894 Tractor Lease         353.28
      6/25/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      6/25/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      6/25/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                    100
      6/25/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
      6/25/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      6/25/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      6/25/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      6/25/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.39
      6/25/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       445.22
      6/25/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       415.51
      6/25/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         145
      6/25/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.58
      6/25/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      6/25/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      6/25/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 193152 Trck Lease            353.28
      6/25/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      6/25/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      6/25/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      6/25/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/25/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/25/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.06
      6/25/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        133.5
      6/25/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.29
      6/25/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2016 - Q13169                   10.58
      6/25/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      6/25/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      6/25/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      6/25/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 193149 Q13169 Sublease       352.68
      6/25/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      6/25/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      6/25/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/25/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        342.3
      6/25/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       403.84
      6/25/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       358.43
      6/25/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2016 - Q13168                   10.58
      6/25/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      6/25/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      6/25/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 193114 Q13168 sub lease      352.68
      6/25/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/25/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/25/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      6/25/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      6/25/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.17
      6/25/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       413.32
      6/25/2016   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                     100
      6/25/2016   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                     100
      6/25/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      6/25/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
      6/25/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/25/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/25/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      6/25/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      6/25/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      6/25/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      6/25/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.86
      6/25/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.17
      6/25/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.26
      6/25/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        162.7
      6/25/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.07
      6/25/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       129.81
      6/25/2016   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                     100
      6/25/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
      6/25/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
      6/25/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      6/25/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      6/25/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      6/25/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.13
      6/25/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.58
      6/25/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      6/25/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.07
      6/25/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 193112 Q1201                 278.76
      6/25/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      6/25/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      6/25/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.06
      6/25/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.74
      6/25/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.38
      6/25/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.37
      6/25/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.23
      6/25/2016   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                     100
      6/25/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.86
      6/25/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      6/25/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 193116 Q1104                 252.11
      6/25/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      6/25/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/25/2016   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.98

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      6/25/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.94
      6/25/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.97
      6/25/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.21
      6/25/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.58
      6/25/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      6/25/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.69
      6/25/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 193080 Sublease              338.99
      6/25/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
      6/25/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/25/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      6/25/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      6/25/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      6/25/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.61
      6/25/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       497.79
      6/25/2016   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                     100
      6/25/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
      6/25/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      6/25/2016   709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      6/25/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      6/25/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       383.31
      6/25/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.12
      6/25/2016   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                     100
      6/25/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.51
      6/25/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      6/25/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      6/25/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.79
      6/25/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        346.3
      6/25/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.75
      6/25/2016   709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                     100
      6/25/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      6/25/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
      6/25/2016   709   DW0138   Owner Operator   Repair Order                   CTMS - 193073 Repair                  252
      6/25/2016   709   DW0138   Owner Operator   Toll Charges                   TreO 2206959733 050616 - 33443        42.4
      6/25/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      6/25/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/25/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      6/25/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
      6/25/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.33
      6/25/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.09
      6/25/2016   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                     100
      6/25/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      6/25/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      6/25/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/25/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      6/25/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.75
      6/25/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.65
      6/25/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.39
      6/25/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.07
      6/25/2016   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                     100
      6/25/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.91
      6/25/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      6/25/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      6/25/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      6/25/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
      6/25/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/25/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/25/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.94
      6/25/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.49
      6/25/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.31
      6/25/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19

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      6/25/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                  42.19
      6/25/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism          2.5
      6/25/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism          2.5
      6/25/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 6/16 #17105                    324.4
      6/25/2016   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                      100
      6/25/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                        115.18
      6/25/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
      6/25/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
      6/25/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/25/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          150
      6/25/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.8
      6/25/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.34
      6/25/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          130
      6/25/2016   709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                      100
      6/25/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/25/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.86
      6/25/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 193146 truck lease 3304       434.29
      6/25/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
      6/25/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
      6/25/2016   709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-18          65.65
      6/25/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           125
      6/25/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             20
      6/25/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             40
      6/25/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.4
      6/25/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.2
      6/25/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.25
      6/25/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.74
      6/25/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.21
      6/25/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                     10.58
      6/25/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                     34.17
      6/25/2016   709   FT0004   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         262.6
      6/25/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/25/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.51
      6/25/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 193116 73129                  181.08
      6/25/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      6/25/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      6/25/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/25/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/25/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        450.62
      6/25/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.46
      6/25/2016   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                     100
      6/25/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/25/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.01
      6/25/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
      6/25/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
      6/25/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.85
      6/25/2016   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                      100
      6/25/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/25/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.04
      6/25/2016   709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00336511 - PO System         100.41
      6/25/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 193116 Lease                  252.11
      6/25/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      6/25/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      6/25/2016   709   HG0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-2        -506.49
      6/25/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        430.17
      6/25/2016   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                      100
      6/25/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/25/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.61
      6/25/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      6/25/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      6/25/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/25/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/25/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/25/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/25/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.63
      6/25/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        156.59
      6/25/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.57
      6/25/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        182.44
      6/25/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        183.19
      6/25/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.07
      6/25/2016   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                      100
      6/25/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/25/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.68

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      6/25/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      6/25/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/25/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.2
      6/25/2016   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                     100
      6/25/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      6/25/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/25/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      6/25/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      6/25/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      6/25/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      6/25/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      6/25/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.83
      6/25/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.98
      6/25/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       441.92
      6/25/2016   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                     100
      6/25/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
      6/25/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      6/25/2016   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                     100
      6/25/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                       397.91
      6/25/2016   709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      6/25/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/25/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      6/25/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      6/25/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/25/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       406.84
      6/25/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       441.93
      6/25/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       468.58
      6/25/2016   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                     100
      6/25/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      6/25/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      6/25/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      6/25/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/25/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.1
      6/25/2016   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                     100
      6/25/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      6/25/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      6/25/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      6/25/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/25/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/25/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.75
      6/25/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.56
      6/25/2016   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                     100
      6/25/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
      6/25/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      6/25/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      6/25/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.55
      6/25/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.48
      6/25/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                    10.58
      6/25/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                    34.17
      6/25/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
      6/25/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 193085 Truck Lease           278.76
      6/25/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      6/25/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      6/25/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      6/25/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      6/25/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.09
      6/25/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.19
      6/25/2016   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                     100
      6/25/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.93
      6/25/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5

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      6/25/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/25/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      6/25/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      6/25/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/25/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/25/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.07
      6/25/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.01
      6/25/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.01
      6/25/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.05
      6/25/2016   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                     100
      6/25/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      6/25/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/25/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      6/25/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      6/25/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      6/25/2016   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                     100
      6/25/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.04
      6/25/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 193177 Lease Q1111           252.11
      6/25/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      6/25/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      6/25/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/25/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/25/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       502.33
      6/25/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        519.5
      6/25/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        30.19
      6/25/2016   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                     100
      6/25/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.51
      6/25/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      6/25/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      6/25/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      6/25/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.3
      6/25/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.56
      6/25/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.29
      6/25/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      6/25/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.01
      6/25/2016   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                     100
      6/25/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.15
      6/25/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      6/25/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/25/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      6/25/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.63
      6/25/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.94
      6/25/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.36
      6/25/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment       257.39
      6/25/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.11
      6/25/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      6/25/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      6/25/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      6/25/2016   709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-18        407.83
      6/25/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
      6/25/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          140
      6/25/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4
      6/25/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       556.04
      6/25/2016   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                     100
      6/25/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.86
      6/25/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      6/25/2016   709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00335972 - PO System         30.01
      6/25/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      6/25/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      6/25/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                       238.36
      6/25/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.64
      6/25/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.21
      6/25/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.42
      6/25/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.92
      6/25/2016   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                     100
      6/25/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      6/25/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.15
      6/25/2016   709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      6/25/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      6/25/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      6/25/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            60
      6/25/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      6/25/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         271
      6/25/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.01
      6/25/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.39
      6/25/2016   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                    100
      6/25/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.97
      6/25/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      6/25/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      6/25/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/25/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/25/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        96.25
      6/25/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        269.5
      6/25/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.14
      6/25/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.56
      6/25/2016   709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                     100
      6/25/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.04
      6/25/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 193084 Tractor Sublease      252.11
      6/25/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      6/25/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
      6/25/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/25/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.58
      6/25/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
      6/25/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      6/25/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 193114 Truck 73130 Leas      196.65
      6/25/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      6/25/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      6/25/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       103.19
      6/25/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.15
      6/25/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      6/25/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.04
      6/25/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      6/25/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 193084 Down Payment lo       303.55
      6/25/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  51.69
      6/25/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/25/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      6/25/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      6/25/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.25
      6/25/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.6
      6/25/2016   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                     100
      6/25/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.05
      6/25/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      6/25/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      6/25/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       423.92
      6/25/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.12
      6/25/2016   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                    100
      6/25/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.29
      6/25/2016   709   RL0017   Owner Operator   Toll Charges                   Toll Roads 348256270 - 21975A        33.96
      6/25/2016   709   RL0017   Owner Operator   Toll Charges                   Toll Roads 348257195 - 21975A        33.96
      6/25/2016   709   RL0017   Owner Operator   Toll Charges                   Toll Roads 348257708 - 21975A        32.51
      6/25/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/25/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      6/25/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/25/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/25/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/25/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/25/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/25/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/25/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       444.61
      6/25/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       425.35
      6/25/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.59

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      6/25/2016   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                     100
      6/25/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.13
      6/25/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      6/25/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.46
      6/25/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      6/25/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      6/25/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.32
      6/25/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.13
      6/25/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.68
      6/25/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                     100
      6/25/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      6/25/2016   709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      6/25/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      6/25/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      6/25/2016   709   RP0082   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-18          5.87
      6/25/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                            40
      6/25/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      6/25/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.06
      6/25/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        255.3
      6/25/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.58
      6/25/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      6/25/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
      6/25/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 193085 Q1202 Truck Leas      278.76
      6/25/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      6/25/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      6/25/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/25/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       362.82
      6/25/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        410.8
      6/25/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       435.22
      6/25/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.91
      6/25/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.58
      6/25/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      6/25/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.07
      6/25/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      6/25/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 193112 Q1248                 311.97
      6/25/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      6/25/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      6/25/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      6/25/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.27
      6/25/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.21
      6/25/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.84
      6/25/2016   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                     100
      6/25/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      6/25/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      6/25/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/25/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      6/25/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/25/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/25/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.44
      6/25/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.68
      6/25/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.28
      6/25/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        239.6
      6/25/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.82
      6/25/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      6/25/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      6/25/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      6/25/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.01
      6/25/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.02
      6/25/2016   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                     100
      6/25/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      6/25/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 193216 Tractor Sub leas      242.03
      6/25/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      6/25/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      6/25/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200

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      6/25/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      6/25/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/25/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/25/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/25/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/25/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      6/25/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.99
      6/25/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.66
      6/25/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.45
      6/25/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.46
      6/25/2016   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                     100
      6/25/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      6/25/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      6/25/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      6/25/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      6/25/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      6/25/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      6/25/2016   709   WB0062   Owner Operator   Tire Purchase                  PO: 709-00336519 - PO System        223.95
      6/25/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      6/25/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      6/25/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/25/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            25
      6/25/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
      6/25/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.62
      6/25/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.64
      6/25/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                    10.58
      6/25/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      6/25/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      6/25/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 193112 Q1238 Lease           311.97
      6/25/2016   730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      6/25/2016   730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 3.85
      6/25/2016   730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      6/25/2016   730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      6/25/2016   730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/25/2016   730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/25/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/25/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/25/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.25
      6/25/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.51
      6/25/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.06
      6/25/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.96
      6/25/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       353.19
      6/25/2016   730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                     100
      6/25/2016   730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
      6/25/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      6/25/2016   730   JK0112   Owner Operator   Repair Order                   TRACTOR 33211                       124.22
      6/25/2016   730   JK0112   Owner Operator   Tire Purchase                  PO: 730-00335254 - PO System        194.54
      6/25/2016   730   JK0112   Owner Operator   Tire Purchase                  PO: 730-00335254 - PO System         194.5
      6/25/2016   730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      6/25/2016   742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-2        -30.39
      6/25/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      6/25/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      6/25/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.38
      6/25/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.5
      6/25/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.73
      6/25/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       455.97
      6/25/2016   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                     100
      6/25/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.54
      6/25/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      6/25/2016   742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00336525 - PO System        343.18
      6/25/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
      6/25/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
      6/25/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.64
      6/25/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.54

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      6/25/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.16
      6/25/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.16
      6/25/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      6/25/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      6/25/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/25/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/25/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      6/25/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      6/25/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.47
      6/25/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         104
      6/25/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.98
      6/25/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.78
      6/25/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.34
      6/25/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        46.92
      6/25/2016   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                     100
      6/25/2016   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                     100
      6/25/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      6/25/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      6/25/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/25/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      6/25/2016   742   EN0016   Owner Operator   Tire Fee                       Tire Fee: 1930133                       16
      6/25/2016   742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00336695 - PO System        314.21
      6/25/2016   742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00336695 - PO System        314.21
      6/25/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      6/25/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      6/25/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      6/25/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      6/25/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
      6/25/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      6/25/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      6/25/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      6/25/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/25/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.85
      6/25/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.11
      6/25/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.34
      6/25/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       174.69
      6/25/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.66
      6/25/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.86
      6/25/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      6/25/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      6/25/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/25/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/25/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.77
      6/25/2016   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                     100
      6/25/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      6/25/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      6/25/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      6/25/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      6/25/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       358.96
      6/25/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        489.2
      6/25/2016   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                     100
      6/25/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
      6/25/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      6/25/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      6/25/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      6/25/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.19
      6/25/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.88
      6/25/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.58
      6/25/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      6/25/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/25/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
      6/25/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      6/25/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 191807 Tractor Lease         353.28
      6/25/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 193087 Tractor Lease         353.28
       7/2/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
       7/2/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
       7/2/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                    100
       7/2/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      7/2/2016    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      7/2/2016    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      7/2/2016    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      7/2/2016    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      7/2/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.92
      7/2/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.03
      7/2/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       444.92
      7/2/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           22
      7/2/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.94
      7/2/2016    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2016 - Q13147                   10.42
      7/2/2016    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      7/2/2016    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      7/2/2016    709   AR0064   Owner Operator   Truck Payment                  CTMS - 193324 Trck Lease            353.28
      7/2/2016    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      7/2/2016    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      7/2/2016    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/2/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.91
      7/2/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.04
      7/2/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.47
      7/2/2016    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2016 - Q13169                   10.42
      7/2/2016    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      7/2/2016    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      7/2/2016    709   AV0021   Owner Operator   Truck Payment                  CTMS - 193328 Q13169 Sublease       352.68
      7/2/2016    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      7/2/2016    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      7/2/2016    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/2/2016    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       383.06
      7/2/2016    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.36
      7/2/2016    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.41
      7/2/2016    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       372.83
      7/2/2016    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2016 - Q13168                   10.42
      7/2/2016    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      7/2/2016    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      7/2/2016    709   CC0134   Owner Operator   Truck Payment                  CTMS - 193282 Q13168 sub lease      352.68
      7/2/2016    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/2/2016    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      7/2/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       483.64
      7/2/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       468.64
      7/2/2016    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                     100
      7/2/2016    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      7/2/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/2/2016    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      7/2/2016    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      7/2/2016    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      7/2/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         124
      7/2/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        91.85
      7/2/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.09
      7/2/2016    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                     100
      7/2/2016    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
      7/2/2016    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      7/2/2016    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      7/2/2016    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      7/2/2016    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      7/2/2016    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.47
      7/2/2016    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.42
      7/2/2016    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2016 - Q1201                    10.42
      7/2/2016    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      7/2/2016    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      7/2/2016    709   CS0091   Owner Operator   Truck Payment                  CTMS - 193280 Q1201                 278.76
      7/2/2016    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      7/2/2016    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      7/2/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.76
      7/2/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       114.96
      7/2/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.84
      7/2/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.4

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      7/2/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.36
      7/2/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.91
      7/2/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.44
      7/2/2016    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                     100
      7/2/2016    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      7/2/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      7/2/2016    709   DJ0028   Owner Operator   Repair Order                   CTMS - 193245 Repair                109.93
      7/2/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 193284 Q1104                 252.11
      7/2/2016    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      7/2/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      7/2/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.67
      7/2/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.99
      7/2/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       435.77
      7/2/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.69
      7/2/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.37
      7/2/2016    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2016 - Q1245                    10.42
      7/2/2016    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      7/2/2016    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      7/2/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 193252 Sublease              338.99
      7/2/2016    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      7/2/2016    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/2/2016    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      7/2/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      7/2/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      7/2/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       497.38
      7/2/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.68
      7/2/2016    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                     100
      7/2/2016    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      7/2/2016    709   DS0049   Owner Operator   Toll Charges                   CA Bay Bridge                           25
      7/2/2016    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      7/2/2016    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      7/2/2016    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        451.7
      7/2/2016    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                     100
      7/2/2016    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      7/2/2016    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      7/2/2016    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      7/2/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.91
      7/2/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.78
      7/2/2016    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                     100
      7/2/2016    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      7/2/2016    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      7/2/2016    709   DW0138   Owner Operator   Tire Fee                       Tire Fee: 1932999                        8
      7/2/2016    709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00336963 - PO System        166.03
      7/2/2016    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      7/2/2016    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/2/2016    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      7/2/2016    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
      7/2/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.48
      7/2/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.17
      7/2/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       508.87
      7/2/2016    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                     100
      7/2/2016    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      7/2/2016    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      7/2/2016    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/2/2016    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      7/2/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.68
      7/2/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.79
      7/2/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.55

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      7/2/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       469.68
      7/2/2016    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                     100
      7/2/2016    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      7/2/2016    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      7/2/2016    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      7/2/2016    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      7/2/2016    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
      7/2/2016    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/2/2016    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       353.23
      7/2/2016    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.92
      7/2/2016    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.95
      7/2/2016    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
      7/2/2016    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.18
      7/2/2016    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      7/2/2016    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      7/2/2016    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 6/30 #17105                   324.4
      7/2/2016    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/2/2016    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/2/2016    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      7/2/2016    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      7/2/2016    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      7/2/2016    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      7/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.42
      7/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.06
      7/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.62
      7/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.81
      7/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.84
      7/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.98
      7/2/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.33
      7/2/2016    709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                     100
      7/2/2016    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93
      7/2/2016    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      7/2/2016    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      7/2/2016    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       417.06
      7/2/2016    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      7/2/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      7/2/2016    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/2/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       358.94
      7/2/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.78
      7/2/2016    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                     100
      7/2/2016    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      7/2/2016    709   FS0039   Owner Operator   Truck Payment                  CTMS - 193325 truck lease 3304      434.29
      7/2/2016    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      7/2/2016    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      7/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            15
      7/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
      7/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      7/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
      7/2/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.58
      7/2/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.36
      7/2/2016    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2016 - 73129                    10.42
      7/2/2016    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      7/2/2016    709   FT0004   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        262.6
      7/2/2016    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      7/2/2016    709   FT0004   Owner Operator   Repair Order                   CTMS - 193245 Repair                185.59
      7/2/2016    709   FT0004   Owner Operator   Truck Payment                  CTMS - 193284 73129                 181.08
      7/2/2016    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75

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      7/2/2016    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      7/2/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.4
      7/2/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        119.24
      7/2/2016    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                     100
      7/2/2016    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/2/2016    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
      7/2/2016    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
      7/2/2016    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
      7/2/2016    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.04
      7/2/2016    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.24
      7/2/2016    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                      100
      7/2/2016    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/2/2016    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
      7/2/2016    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00336511 - PO System         100.41
      7/2/2016    709   GS0015   Owner Operator   Truck Payment                  CTMS - 193284 Lease                  252.11
      7/2/2016    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      7/2/2016    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      7/2/2016    709   HG0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-25         506.49
      7/2/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/2/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      7/2/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        407.23
      7/2/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        370.33
      7/2/2016    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                      100
      7/2/2016    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/2/2016    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
      7/2/2016    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      7/2/2016    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      7/2/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/2/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/2/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/2/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/2/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        125.98
      7/2/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.19
      7/2/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        384.92
      7/2/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.55
      7/2/2016    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                      100
      7/2/2016    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/2/2016    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      7/2/2016    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
      7/2/2016    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/2/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/2/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/2/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.24
      7/2/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.55
      7/2/2016    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                      100
      7/2/2016    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/2/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
      7/2/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      7/2/2016    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
      7/2/2016    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
      7/2/2016    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
      7/2/2016    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
      7/2/2016    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      7/2/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/2/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/2/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/2/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/2/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/2/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/2/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        368.01
      7/2/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        273.39
      7/2/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        309.91
      7/2/2016    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                      100
      7/2/2016    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/2/2016    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.13
      7/2/2016    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      7/2/2016    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/2/2016    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/2/2016    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      7/2/2016    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      7/2/2016    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-9        -262.21
      7/2/2016    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-9          -33.6
      7/2/2016    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500

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      7/2/2016    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                      500
      7/2/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                       100
      7/2/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                       200
      7/2/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                       200
      7/2/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      7/2/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      7/2/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      7/2/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    262.56
      7/2/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    208.48
      7/2/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     201.4
      7/2/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    161.82
      7/2/2016    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                  100
      7/2/2016    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/2/2016    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/2/2016    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              90.85
      7/2/2016    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              90.86
      7/2/2016    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                     504.6
      7/2/2016    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                    106.69
      7/2/2016    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      7/2/2016    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                     13
      7/2/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                       200
      7/2/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                       300
      7/2/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      3
      7/2/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      7/2/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                    399.82
      7/2/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                    399.08
      7/2/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                    437.01
      7/2/2016    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                  100
      7/2/2016    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/2/2016    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              74.22
      7/2/2016    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                    513.26
      7/2/2016    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                 8.75
      7/2/2016    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                        50
      7/2/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                    228.39
      7/2/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                    416.77
      7/2/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                    162.18
      7/2/2016    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                  100
      7/2/2016    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/2/2016    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                  61.7
      7/2/2016    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL              8.75
      7/2/2016    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                     13
      7/2/2016    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                       100
      7/2/2016    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      7/2/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                    203.69
      7/2/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                    121.83
      7/2/2016    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                  100
      7/2/2016    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/2/2016    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD              19.54
      7/2/2016    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL        8.75
      7/2/2016    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                     13
      7/2/2016    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                    331.66
      7/2/2016    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2016 - Q1203                 10.42
      7/2/2016    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                 34.17
      7/2/2016    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/2/2016    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD         58.6
      7/2/2016    709   JR0099   Owner Operator   Truck Payment                  CTMS - 193257 Truck Lease        278.76
      7/2/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL               8.75
      7/2/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                  8.75
      7/2/2016    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                     13
      7/2/2016    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                      100
      7/2/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                       200
      7/2/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      7/2/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                    280.92
      7/2/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                    319.31
      7/2/2016    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                  100
      7/2/2016    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/2/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD               15.94
      7/2/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                   37.5
      7/2/2016    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      7/2/2016    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                     13
      7/2/2016    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                      250
      7/2/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                       100
      7/2/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                       100

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      7/2/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         245
      7/2/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       109.16
      7/2/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.19
      7/2/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         154
      7/2/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.01
      7/2/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         178
      7/2/2016    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                     100
      7/2/2016    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      7/2/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/2/2016    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      7/2/2016    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      7/2/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      7/2/2016    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                     100
      7/2/2016    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      7/2/2016    709   LL0160   Owner Operator   Truck Payment                  CTMS - 193365 Lease Q1111           252.11
      7/2/2016    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      7/2/2016    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      7/2/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       433.83
      7/2/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       496.94
      7/2/2016    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                     100
      7/2/2016    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      7/2/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      7/2/2016    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      7/2/2016    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      7/2/2016    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      7/2/2016    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        18.44
      7/2/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      7/2/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      7/2/2016    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/2/2016    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      7/2/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/2/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.47
      7/2/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        166.3
      7/2/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.02
      7/2/2016    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment       257.39
      7/2/2016    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      7/2/2016    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      7/2/2016    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      7/2/2016    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      7/2/2016    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
      7/2/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            40
      7/2/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      7/2/2016    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         250
      7/2/2016    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                     100
      7/2/2016    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      7/2/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      7/2/2016    709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00335972 - PO System         29.96
      7/2/2016    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      7/2/2016    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      7/2/2016    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      7/2/2016    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      7/2/2016    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
      7/2/2016    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                       261.64
      7/2/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        63.43
      7/2/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.87
      7/2/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.58
      7/2/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.28
      7/2/2016    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                     100
      7/2/2016    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16

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      7/2/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 193182 Lease                 215.66
      7/2/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 193203 Past due tractor      215.66
      7/2/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 193362 Past due tractor      215.66
      7/2/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 193370 Lease                 215.66
      7/2/2016    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      7/2/2016    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      7/2/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          400
      7/2/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      7/2/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        86.02
      7/2/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.06
      7/2/2016    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                    100
      7/2/2016    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      7/2/2016    709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      7/2/2016    709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      7/2/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          300
      7/2/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/2/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.07
      7/2/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.96
      7/2/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.43
      7/2/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.81
      7/2/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.12
      7/2/2016    709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                     100
      7/2/2016    709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      7/2/2016    709   NR0010   Owner Operator   Truck Payment                  CTMS - 193256 Tractor Sublease      252.11
      7/2/2016    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      7/2/2016    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
      7/2/2016    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/2/2016    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2016 - 73130                    10.42
      7/2/2016    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
      7/2/2016    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      7/2/2016    709   NT9564   Owner Operator   Truck Payment                  CTMS - 193282 Truck 73130 Leas      196.65
      7/2/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      7/2/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      7/2/2016    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      7/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      7/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      7/2/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      7/2/2016    709   RC0030   Owner Operator   Truck Payment                  CTMS - 193256 Down Payment lo       303.55
      7/2/2016    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      7/2/2016    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/2/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      7/2/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      7/2/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.18
      7/2/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.47
      7/2/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.91
      7/2/2016    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                     100
      7/2/2016    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      7/2/2016    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      7/2/2016    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      7/2/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       417.91
      7/2/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.56
      7/2/2016    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                    100
      7/2/2016    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      7/2/2016    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/2/2016    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      7/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       457.55
      7/2/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       449.12
      7/2/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        404.3
      7/2/2016    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                     100
      7/2/2016    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15

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      7/2/2016    709   RL0062   Owner Operator   Repair Order                   CTMS - 193245 Parts                    354
      7/2/2016    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      7/2/2016    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      7/2/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      7/2/2016    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      7/2/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.12
      7/2/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.12
      7/2/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.24
      7/2/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          224
      7/2/2016    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                      100
      7/2/2016    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      7/2/2016    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      7/2/2016    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      7/2/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.05
      7/2/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.19
      7/2/2016    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2016 - Q1202                    10.42
      7/2/2016    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      7/2/2016    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      7/2/2016    709   RP0082   Owner Operator   Truck Payment                  CTMS - 193257 Q1202 Truck Leas      278.76
      7/2/2016    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      7/2/2016    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      7/2/2016    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/2/2016    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/2/2016    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        421.3
      7/2/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.88
      7/2/2016    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2016 - Q1248                    10.42
      7/2/2016    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      7/2/2016    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      7/2/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      7/2/2016    709   RR0123   Owner Operator   Truck Payment                  CTMS - 193280 Q1248                 311.97
      7/2/2016    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/2/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                         15.43
      7/2/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.27
      7/2/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         27.6
      7/2/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.29
      7/2/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.52
      7/2/2016    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                      100
      7/2/2016    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      7/2/2016    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      7/2/2016    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/2/2016    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      7/2/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.53
      7/2/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.92
      7/2/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          264
      7/2/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.23
      7/2/2016    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      7/2/2016    709   UE0001   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  -35
      7/2/2016    709   UE0001   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 17.5
      7/2/2016    709   UE0001   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 17.5
      7/2/2016    709   UE0001   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 17.5
      7/2/2016    709   UE0001   Owner Operator   IRP License Deduction          LCIL:2016 - 33786                   759.16
      7/2/2016    709   UE0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         -190
      7/2/2016    709   UE0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          190
      7/2/2016    709   UE0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           95
      7/2/2016    709   UE0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           95
      7/2/2016    709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                  -120
      7/2/2016    709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         -10
      7/2/2016    709   UE0001   Owner Operator   Repair Order                   CTMS - 193073 Repair                   250
      7/2/2016    709   UE0001   Owner Operator   Repair Order                   CTMS - 193238 Repair                   250
      7/2/2016    709   UE0001   Owner Operator   Toll Charges                   CA Bay Bridge                           25
      7/2/2016    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      7/2/2016    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      7/2/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.07
      7/2/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          272
      7/2/2016    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                      100
      7/2/2016    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      7/2/2016    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      7/2/2016    709   VB0015   Owner Operator   Truck Payment                  CTMS - 193405 Tractor Sub leas      242.03
      7/2/2016    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/2/2016    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      7/2/2016    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      7/2/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        352.6
      7/2/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.89
      7/2/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.21
      7/2/2016    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                     100
      7/2/2016    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      7/2/2016    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      7/2/2016    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      7/2/2016    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      7/2/2016    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      7/2/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      7/2/2016    709   WB0062   Owner Operator   Tire Purchase                  PO: 709-00336519 - PO System        223.95
      7/2/2016    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      7/2/2016    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      7/2/2016    709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/2/2016    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/2/2016    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/2/2016    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.61
      7/2/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.4
      7/2/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.9
      7/2/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.87
      7/2/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       127.96
      7/2/2016    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2016 - Q1239                    10.42
      7/2/2016    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      7/2/2016    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      7/2/2016    709   WH0087   Owner Operator   Truck Payment                  CTMS - 193280 Q1238 Lease           311.97
      7/2/2016    730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/2/2016    730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      7/2/2016    730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/2/2016    730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/2/2016    730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.23
      7/2/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        293.9
      7/2/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.21
      7/2/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.23
      7/2/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.91
      7/2/2016    730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                     100
      7/2/2016    730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      7/2/2016    730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      7/2/2016    730   JK0112   Owner Operator   Toll Charges                   DIBC                                  27.5
      7/2/2016    730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      7/2/2016    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      7/2/2016    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      7/2/2016    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      7/2/2016    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      7/2/2016    742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-25         30.39
      7/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.96
      7/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.77
      7/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.34

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      7/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        141.35
      7/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.06
      7/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.6
      7/2/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        180.04
      7/2/2016    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/2/2016    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/2/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 52.35
      7/2/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 52.33
      7/2/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
      7/2/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
      7/2/2016    742   AP0047   Owner Operator   Tire Fee                       Tire Fee: 1933003                         8
      7/2/2016    742   AP0047   Owner Operator   Tire Fee                       Tire Fee: 1933005                         8
      7/2/2016    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System         162.49
      7/2/2016    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System        -206.47
      7/2/2016    742   AP0047   Owner Operator   Toll Charges                   32604      TX Ship Channel B              7
      7/2/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         15.08
      7/2/2016    742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL                8.75
      7/2/2016    742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL                8.75
      7/2/2016    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/2/2016    742   CA0089   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/2/2016    742   CA0089   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/2/2016    742   CA0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/2/2016    742   CA0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/2/2016    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        452.98
      7/2/2016    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        467.09
      7/2/2016    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/2/2016    742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD                35.16
      7/2/2016    742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD                35.16
      7/2/2016    742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori          2.5
      7/2/2016    742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori          2.5
      7/2/2016    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
      7/2/2016    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
      7/2/2016    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
      7/2/2016    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
      7/2/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        262.93
      7/2/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        242.92
      7/2/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.56
      7/2/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.9
      7/2/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.83
      7/2/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        258.28
      7/2/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        343.51
      7/2/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        140.67
      7/2/2016    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                      100
      7/2/2016    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                      100
      7/2/2016    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/2/2016    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/2/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.34
      7/2/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.36
      7/2/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
      7/2/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
      7/2/2016    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/2/2016    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                         13
      7/2/2016    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/2/2016    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/2/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.66
      7/2/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.1
      7/2/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        384.13
      7/2/2016    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                      100
      7/2/2016    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/2/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
      7/2/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      7/2/2016    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00336695 - PO System         314.21
      7/2/2016    742   EN0016   Owner Operator   Toll Charges                   CA Carquinez Bridge                      25
      7/2/2016    742   EN0016   Owner Operator   Toll Charges                   CA Carquinez Bridge                      25
      7/2/2016    742   EN0016   Owner Operator   Toll Charges                   CA Carquinez Bridge                      25
      7/2/2016    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
      7/2/2016    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
      7/2/2016    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      7/2/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.69
      7/2/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
      7/2/2016    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                         8.75
      7/2/2016    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                         13
      7/2/2016    742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                            50

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      7/2/2016    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      7/2/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      7/2/2016    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/2/2016    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/2/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.39
      7/2/2016    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.26
      7/2/2016    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                     100
      7/2/2016    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      7/2/2016    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      7/2/2016    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       338.33
      7/2/2016    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      7/2/2016    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      7/2/2016    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      7/2/2016    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      7/2/2016    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      7/2/2016    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      7/2/2016    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                     100
      7/2/2016    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                     100
      7/2/2016    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                     100
      7/2/2016    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      7/2/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      7/2/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      7/2/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      7/2/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      7/2/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      7/2/2016    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      7/2/2016    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      7/2/2016    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.81
      7/2/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.07
      7/2/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.03
      7/2/2016    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                     100
      7/2/2016    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      7/2/2016    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      7/2/2016    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/2/2016    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/2/2016    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      7/2/2016    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      7/2/2016    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      7/2/2016    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                       117.99
      7/2/2016    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      7/2/2016    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      7/2/2016    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/2/2016    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/2/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.54
      7/2/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.45
      7/2/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.39
      7/2/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.43
      7/2/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.78
      7/2/2016    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                     100
      7/2/2016    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                     100
      7/2/2016    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      7/2/2016    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      7/2/2016    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
      7/2/2016    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      7/2/2016    742   PC0012   Owner Operator   Toll Charges                   CA Antioch Bridge                       25
      7/2/2016    742   PC0012   Owner Operator   Toll Charges                   CA Carquinez Bridge                     25
      7/2/2016    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      7/2/2016    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      7/2/2016    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      7/2/2016    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      7/2/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.63

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      7/2/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        357.2
      7/2/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.13
      7/2/2016    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2016 - Q13157                   10.42
      7/2/2016    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      7/2/2016    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/2/2016    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      7/2/2016    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      7/2/2016    742   RN0054   Owner Operator   Truck Payment                  CTMS - 193258 Tractor Lease         353.28
      7/9/2016    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      7/9/2016    709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
      7/9/2016    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      7/9/2016    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         454
      7/9/2016    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                    100
      7/9/2016    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      7/9/2016    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      7/9/2016    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      7/9/2016    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
      7/9/2016    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      7/9/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        464.7
      7/9/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.31
      7/9/2016    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.11
      7/9/2016    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      7/9/2016    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      7/9/2016    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      7/9/2016    709   AR0064   Owner Operator   Truck Payment                  CTMS - 193472 Trck Lease            353.28
      7/9/2016    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      7/9/2016    709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                 12.5
      7/9/2016    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      7/9/2016    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/9/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.61
      7/9/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         200
      7/9/2016    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.06
      7/9/2016    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      7/9/2016    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      7/9/2016    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      7/9/2016    709   AV0021   Owner Operator   Truck Payment                  CTMS - 193469 Q13169 Sublease       352.68
      7/9/2016    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      7/9/2016    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                 12.5
      7/9/2016    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      7/9/2016    709   CC0134   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-16       -71.12
      7/9/2016    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/9/2016    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        46.18
      7/9/2016    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       383.32
      7/9/2016    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.37
      7/9/2016    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      7/9/2016    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      7/9/2016    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      7/9/2016    709   CC0134   Owner Operator   Repair Order                   CTMS - 193553 Repair                 475.1
      7/9/2016    709   CC0134   Owner Operator   Truck Payment                  CTMS - 193442 Q13168 sub lease      352.68
      7/9/2016    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/9/2016    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      7/9/2016    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      7/9/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.38
      7/9/2016    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                     100
      7/9/2016    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      7/9/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/9/2016    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      7/9/2016    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      7/9/2016    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
      7/9/2016    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      7/9/2016    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/9/2016    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       102.38
      7/9/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.42
      7/9/2016    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                     100
      7/9/2016    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
      7/9/2016    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07

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      7/9/2016    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      7/9/2016    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      7/9/2016    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                  12.5
      7/9/2016    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      7/9/2016    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.31
      7/9/2016    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2017 - Q1201                    10.58
      7/9/2016    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      7/9/2016    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      7/9/2016    709   CS0091   Owner Operator   Repair Order                   CTMS - 193553 Repair                 95.65
      7/9/2016    709   CS0091   Owner Operator   Truck Payment                  CTMS - 193440 Q1201                 278.76
      7/9/2016    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      7/9/2016    709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                  12.5
      7/9/2016    709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      7/9/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/9/2016    709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.78
      7/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.83
      7/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        177.2
      7/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.7
      7/9/2016    709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.23
      7/9/2016    709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                     100
      7/9/2016    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      7/9/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      7/9/2016    709   DJ0028   Owner Operator   Truck Payment                  CTMS - 193444 Q1104                 252.11
      7/9/2016    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      7/9/2016    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5
      7/9/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      7/9/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                          300
      7/9/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/9/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.95
      7/9/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.03
      7/9/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.23
      7/9/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       425.78
      7/9/2016    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                    10.58
      7/9/2016    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      7/9/2016    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      7/9/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 193429 Sublease              338.99
      7/9/2016    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      7/9/2016    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/9/2016    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                  12.5
      7/9/2016    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      7/9/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      7/9/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      7/9/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        434.9
      7/9/2016    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                     100
      7/9/2016    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      7/9/2016    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      7/9/2016    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      7/9/2016    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.02
      7/9/2016    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                     100
      7/9/2016    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      7/9/2016    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      7/9/2016    709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  12.5
      7/9/2016    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      7/9/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.05
      7/9/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.06
      7/9/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.96
      7/9/2016    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                     100
      7/9/2016    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      7/9/2016    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      7/9/2016    709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00336963 - PO System        166.03
      7/9/2016    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      7/9/2016    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/9/2016    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                  12.5
      7/9/2016    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      7/9/2016    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
      7/9/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/9/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      7/9/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        338.5
      7/9/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.02
      7/9/2016    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                     100
      7/9/2016    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      7/9/2016    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      7/9/2016    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/9/2016    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                  12.5
      7/9/2016    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      7/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/9/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.45
      7/9/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.38
      7/9/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.85
      7/9/2016    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                     100
      7/9/2016    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      7/9/2016    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      7/9/2016    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      7/9/2016    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
      7/9/2016    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/9/2016    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.17
      7/9/2016    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.04
      7/9/2016    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.68
      7/9/2016    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
      7/9/2016    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      7/9/2016    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 7/7 #17105                    324.4
      7/9/2016    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/9/2016    709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                  12.5
      7/9/2016    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      7/9/2016    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      7/9/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/9/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                         76.8
      7/9/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.83
      7/9/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.21
      7/9/2016    709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                     100
      7/9/2016    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      7/9/2016    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      7/9/2016    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      7/9/2016    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                  12.5
      7/9/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      7/9/2016    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/9/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.86
      7/9/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.69
      7/9/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        164.5
      7/9/2016    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                     100
      7/9/2016    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      7/9/2016    709   FS0039   Owner Operator   Truck Payment                  CTMS - 193466 truck lease 3304      434.29
      7/9/2016    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      7/9/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            25
      7/9/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            10
      7/9/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                        240.41
      7/9/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/9/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
      7/9/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
      7/9/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.71
      7/9/2016    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      7/9/2016    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      7/9/2016    709   FT0004   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment       261.87
      7/9/2016    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      7/9/2016    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      7/9/2016    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
      7/9/2016    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      7/9/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       458.64
      7/9/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.34
      7/9/2016    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                    100

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      7/9/2016    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      7/9/2016    709   FV0001   Owner Operator   Tractor Wash                   CTMS - 193422 Trailer wash TL9         -32
      7/9/2016    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      7/9/2016    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                  12.5
      7/9/2016    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      7/9/2016    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.17
      7/9/2016    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                      100
      7/9/2016    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      7/9/2016    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00336511 - PO System        100.41
      7/9/2016    709   GS0015   Owner Operator   Truck Payment                  CTMS - 193444 Lease                 252.11
      7/9/2016    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      7/9/2016    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      7/9/2016    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      7/9/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/9/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/9/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/9/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/9/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.19
      7/9/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.83
      7/9/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        412.4
      7/9/2016    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                      100
      7/9/2016    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      7/9/2016    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      7/9/2016    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/9/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                        131.38
      7/9/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.31
      7/9/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.13
      7/9/2016    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                      100
      7/9/2016    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      7/9/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/9/2016    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      7/9/2016    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      7/9/2016    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      7/9/2016    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      7/9/2016    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      7/9/2016    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      7/9/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/9/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/9/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       442.55
      7/9/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.34
      7/9/2016    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                      100
      7/9/2016    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      7/9/2016    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      7/9/2016    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/9/2016    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      7/9/2016    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      7/9/2016    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-2         262.21
      7/9/2016    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-2           33.6
      7/9/2016    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -3000
      7/9/2016    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      7/9/2016    709   JG0017   Owner Operator   Express Check                  T-Check Payment                       3000
      7/9/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/9/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/9/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.22
      7/9/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.81
      7/9/2016    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                      100
      7/9/2016    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      7/9/2016    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      7/9/2016    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/9/2016    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
      7/9/2016    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      7/9/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/9/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/9/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3

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      7/9/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       422.63
      7/9/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.19
      7/9/2016    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                     100
      7/9/2016    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      7/9/2016    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      7/9/2016    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      7/9/2016    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5
      7/9/2016    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/9/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/9/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/9/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/9/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.66
      7/9/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        482.4
      7/9/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        437.1
      7/9/2016    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                     100
      7/9/2016    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      7/9/2016    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      7/9/2016    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
      7/9/2016    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      7/9/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.54
      7/9/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.04
      7/9/2016    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                     100
      7/9/2016    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      7/9/2016    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      7/9/2016    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
      7/9/2016    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      7/9/2016    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.66
      7/9/2016    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2017 - Q1203                    10.58
      7/9/2016    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                    34.17
      7/9/2016    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      7/9/2016    709   JR0099   Owner Operator   Truck Payment                  CTMS - 193435 Truck Lease           278.76
      7/9/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      7/9/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      7/9/2016    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
      7/9/2016    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      7/9/2016    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      7/9/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/9/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.4
      7/9/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.02
      7/9/2016    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                     100
      7/9/2016    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      7/9/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      7/9/2016    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/9/2016    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      7/9/2016    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      7/9/2016    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      7/9/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/9/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/9/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       442.71
      7/9/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.08
      7/9/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        41.91
      7/9/2016    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                     100
      7/9/2016    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      7/9/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/9/2016    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      7/9/2016    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      7/9/2016    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                  12.5
      7/9/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      7/9/2016    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                     100
      7/9/2016    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      7/9/2016    709   LL0160   Owner Operator   Truck Payment                  CTMS - 193498 Lease Q1111           252.11
      7/9/2016    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      7/9/2016    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                  12.5
      7/9/2016    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13

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      7/9/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/9/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/9/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        331.66
      7/9/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        394.51
      7/9/2016    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                      100
      7/9/2016    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      7/9/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      7/9/2016    709   LS0023   Owner Operator   Tractor Wash                   CTMS - 193422 Trailer wash TL8        -35.5
      7/9/2016    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      7/9/2016    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                  12.5
      7/9/2016    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      7/9/2016    709   MB0048   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-16       -854.51
      7/9/2016    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      7/9/2016    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-16        -38.63
      7/9/2016    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-16        -38.63
      7/9/2016    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-16        -38.63
      7/9/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                1.88
      7/9/2016    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      7/9/2016    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                   12.5
      7/9/2016    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      7/9/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.05
      7/9/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.05
      7/9/2016    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        257.39
      7/9/2016    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      7/9/2016    709   MM0093   Owner Operator   Repair Order                   CTMS - 193421 Repair                   200
      7/9/2016    709   MM0093   Owner Operator   Repair Order                   CTMS - 193553 Repair                   200
      7/9/2016    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      7/9/2016    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      7/9/2016    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                   12.5
      7/9/2016    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      7/9/2016    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      7/9/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             40
      7/9/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           140
      7/9/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.4
      7/9/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.4
      7/9/2016    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        538.97
      7/9/2016    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        218.33
      7/9/2016    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                      100
      7/9/2016    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      7/9/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      7/9/2016    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      7/9/2016    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      7/9/2016    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                   12.5
      7/9/2016    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      7/9/2016    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      7/9/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        324.54
      7/9/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        218.65
      7/9/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.5
      7/9/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         94.05
      7/9/2016    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                      100
      7/9/2016    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      7/9/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 193503 Past due tractor       215.66
      7/9/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 193504 Lease                  215.66
      7/9/2016    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      7/9/2016    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                  12.5
      7/9/2016    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      7/9/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/9/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/9/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        183.41
      7/9/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        175.02
      7/9/2016    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                     100
      7/9/2016    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      7/9/2016    709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      7/9/2016    709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                   12.5
      7/9/2016    709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      7/9/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/9/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           200

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      7/9/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/9/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        130.41
      7/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        219.07
      7/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        231.87
      7/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         86.16
      7/9/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        248.94
      7/9/2016    709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                      100
      7/9/2016    709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.07
      7/9/2016    709   NR0010   Owner Operator   Truck Payment                  CTMS - 193434 Tractor Sublease       252.11
      7/9/2016    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      7/9/2016    709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                   12.5
      7/9/2016    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      7/9/2016    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/9/2016    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                     10.58
      7/9/2016    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                     34.17
      7/9/2016    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            30.47
      7/9/2016    709   NT9564   Owner Operator   Truck Payment                  CTMS - 193442 Truck 73130 Leas       196.65
      7/9/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      7/9/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      7/9/2016    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.16
      7/9/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      7/9/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
      7/9/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      7/9/2016    709   RC0030   Owner Operator   Truck Payment                  CTMS - 193434 Down Payment lo        303.55
      7/9/2016    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.7
      7/9/2016    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/9/2016    709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-16       -120.65
      7/9/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      7/9/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      7/9/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        322.57
      7/9/2016    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                      100
      7/9/2016    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.07
      7/9/2016    709   RC0089   Owner Operator   Repair Order                   CTMS - 193420 Repair                 250.99
      7/9/2016    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
      7/9/2016    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
      7/9/2016    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                  12.5
      7/9/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.09
      7/9/2016    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                     100
      7/9/2016    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.32
      7/9/2016    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/9/2016    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      7/9/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/9/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/9/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/9/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/9/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        357.32
      7/9/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        105.76
      7/9/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        451.67
      7/9/2016    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                      100
      7/9/2016    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
      7/9/2016    709   RL0062   Owner Operator   Repair Order                   CTMS - 193553 Repair                 217.47
      7/9/2016    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      7/9/2016    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
      7/9/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      7/9/2016    709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                   12.5
      7/9/2016    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
      7/9/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.39
      7/9/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        355.03
      7/9/2016    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                      100
      7/9/2016    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
      7/9/2016    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      7/9/2016    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                   12.5
      7/9/2016    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      7/9/2016    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                             80
      7/9/2016    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.8

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      7/9/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.51
      7/9/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        352.2
      7/9/2016    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2017 - Q1202                    10.58
      7/9/2016    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      7/9/2016    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      7/9/2016    709   RP0082   Owner Operator   Truck Payment                  CTMS - 193435 Q1202 Truck Leas      278.76
      7/9/2016    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      7/9/2016    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                  12.5
      7/9/2016    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      7/9/2016    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/9/2016    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/9/2016    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/9/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.11
      7/9/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       464.63
      7/9/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.67
      7/9/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       440.31
      7/9/2016    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                    10.58
      7/9/2016    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      7/9/2016    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      7/9/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      7/9/2016    709   RR0123   Owner Operator   Truck Payment                  CTMS - 193440 Q1248                 311.97
      7/9/2016    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/9/2016    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                  12.5
      7/9/2016    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      7/9/2016    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      7/9/2016    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      7/9/2016    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      7/9/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/9/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                         84.57
      7/9/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/9/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.19
      7/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         308
      7/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.09
      7/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.35
      7/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.68
      7/9/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.65
      7/9/2016    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                     100
      7/9/2016    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      7/9/2016    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      7/9/2016    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/9/2016    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      7/9/2016    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/9/2016    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/9/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.46
      7/9/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.16
      7/9/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.68
      7/9/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.31
      7/9/2016    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      7/9/2016    709   UE0001   Owner Operator   IRP License Deduction          LCIL:2016 - 33786                     0.14
      7/9/2016    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      7/9/2016    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                  12.5
      7/9/2016    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      7/9/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         263
      7/9/2016    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                     100
      7/9/2016    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      7/9/2016    709   VB0015   Owner Operator   Truck Payment                  CTMS - 193534 Tractor Sub leas      242.03
      7/9/2016    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/9/2016    709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
      7/9/2016    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      7/9/2016    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      7/9/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/9/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.34
      7/9/2016    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                     100
      7/9/2016    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47

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      7/9/2016    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
      7/9/2016    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      7/9/2016    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      7/9/2016    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
      7/9/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      7/9/2016    709   WB0062   Owner Operator   Tire Purchase                  PO: 709-00336519 - PO System         223.95
      7/9/2016    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
      7/9/2016    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                   12.5
      7/9/2016    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
      7/9/2016    709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/9/2016    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             50
      7/9/2016    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
      7/9/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        217.79
      7/9/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          153
      7/9/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.65
      7/9/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        346.37
      7/9/2016    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                     10.58
      7/9/2016    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                     34.17
      7/9/2016    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD               60.47
      7/9/2016    709   WH0087   Owner Operator   Truck Payment                  CTMS - 193440 Q1238 Lease            311.97
      7/9/2016    730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      7/9/2016    730   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                   12.5
      7/9/2016    730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      7/9/2016    730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/9/2016    730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/9/2016    730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/9/2016    730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/9/2016    730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/9/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        329.01
      7/9/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.96
      7/9/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.89
      7/9/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.68
      7/9/2016    730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        207.42
      7/9/2016    730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                      100
      7/9/2016    730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
      7/9/2016    730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      7/9/2016    730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      7/9/2016    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
      7/9/2016    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                   12.5
      7/9/2016    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
      7/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/9/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/9/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        343.81
      7/9/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        401.56
      7/9/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.16
      7/9/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        174.09
      7/9/2016    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 52.35
      7/9/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
      7/9/2016    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System         162.49
      7/9/2016    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System        -206.47
      7/9/2016    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      7/9/2016    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      7/9/2016    742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                   12.5
      7/9/2016    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
      7/9/2016    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
      7/9/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        499.11
      7/9/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.93
      7/9/2016    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        191.64
      7/9/2016    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                      100
      7/9/2016    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                      100
      7/9/2016    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/9/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.55
      7/9/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.55
      7/9/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
      7/9/2016    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
      7/9/2016    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00336525 - PO System         343.18

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      7/9/2016    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00336525 - PO System        343.18
      7/9/2016    742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
      7/9/2016    742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
      7/9/2016    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/9/2016    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.47
      7/9/2016    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.16
      7/9/2016    742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.15
      7/9/2016    742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      7/9/2016    742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      7/9/2016    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      7/9/2016    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      7/9/2016    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      7/9/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.46
      7/9/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.68
      7/9/2016    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                      100
      7/9/2016    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      7/9/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      7/9/2016    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/9/2016    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                  12.5
      7/9/2016    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      7/9/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.43
      7/9/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.53
      7/9/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.13
      7/9/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.51
      7/9/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.42
      7/9/2016    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                      100
      7/9/2016    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      7/9/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/9/2016    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00336695 - PO System        314.21
      7/9/2016    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      7/9/2016    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      7/9/2016    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      7/9/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      7/9/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      7/9/2016    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      7/9/2016    742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                  12.5
      7/9/2016    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      7/9/2016    742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/9/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.66
      7/9/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.54
      7/9/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        430.9
      7/9/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.35
      7/9/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.6
      7/9/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.12
      7/9/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.97
      7/9/2016    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      7/9/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      7/9/2016    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      7/9/2016    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      7/9/2016    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      7/9/2016    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                      100
      7/9/2016    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      7/9/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      7/9/2016    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      7/9/2016    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      7/9/2016    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      7/9/2016    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/9/2016    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/9/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.32
      7/9/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       383.03
      7/9/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       573.81
      7/9/2016    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                      100
      7/9/2016    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/9/2016    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      7/9/2016    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      7/9/2016    742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                    -2400
      7/9/2016    742   PC0012   Owner Operator   Express Check                  T-Check Payment                       2400
      7/9/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         4.94

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       7/9/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
       7/9/2016   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
       7/9/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
       7/9/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.54
       7/9/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       398.91
       7/9/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       406.38
       7/9/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
       7/9/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
       7/9/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       7/9/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
       7/9/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
       7/9/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 193436 Tractor Lease         353.28
      7/16/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      7/16/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      7/16/2016   709   AN0007   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  -1.86
      7/16/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                    100
      7/16/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      7/16/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      7/16/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      7/16/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      7/16/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.95
      7/16/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.27
      7/16/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.99
      7/16/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.19
      7/16/2016   709   AR0064   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                 109.71
      7/16/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      7/16/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      7/16/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      7/16/2016   709   AR0064   Owner Operator   Repair Order                   CTMS - 193759 Truck Rental Cha        200
      7/16/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 193639 Trck Lease            353.28
      7/16/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      7/16/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      7/16/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/16/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            50
      7/16/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      7/16/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.36
      7/16/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        64.21
      7/16/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.36
      7/16/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        131.5
      7/16/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.54
      7/16/2016   709   AV0021   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  16.46
      7/16/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      7/16/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      7/16/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      7/16/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 193636 Q13169 Sublease       352.68
      7/16/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      7/16/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      7/16/2016   709   CC0134   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-9          71.12
      7/16/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/16/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.78
      7/16/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       434.14
      7/16/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.68
      7/16/2016   709   CC0134   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  59.71
      7/16/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      7/16/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      7/16/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      7/16/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 193597 Q13168 sub lease      352.68
      7/16/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/16/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      7/16/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/16/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/16/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/16/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/16/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       459.86
      7/16/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.38
      7/16/2016   709   CM0119   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                 191.78
      7/16/2016   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                     100
      7/16/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96

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      7/16/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      7/16/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
      7/16/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      7/16/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      7/16/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-23       -916.65
      7/16/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-23       -362.74
      7/16/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.61
      7/16/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        174.02
      7/16/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        186.73
      7/16/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        122.41
      7/16/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.66
      7/16/2016   709   CR0064   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                   16.12
      7/16/2016   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                      100
      7/16/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment        258.39
      7/16/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
      7/16/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      7/16/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
      7/16/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      7/16/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.82
      7/16/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2017 - Q1201                     10.58
      7/16/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                     34.17
      7/16/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
      7/16/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 193595 Q1201                  278.76
      7/16/2016   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                      100
      7/16/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD             9.22
      7/16/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter          2.5
      7/16/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      7/16/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      7/16/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.56
      7/16/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.53
      7/16/2016   709   DL0107   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  124.79
      7/16/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                     10.58
      7/16/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                     34.17
      7/16/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
      7/16/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 193562 Sublease               338.99
      7/16/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
      7/16/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/16/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      7/16/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      7/16/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      7/16/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        465.06
      7/16/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        401.63
      7/16/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.3
      7/16/2016   709   DS0049   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                   60.19
      7/16/2016   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                      100
      7/16/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
      7/16/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      7/16/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      7/16/2016   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-23        -95.48
      7/16/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        366.52
      7/16/2016   709   DS0225   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  -37.72
      7/16/2016   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                      100
      7/16/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     19.54
      7/16/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/16/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      7/16/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      7/16/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/16/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/16/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/16/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/16/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        398.44
      7/16/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.21
      7/16/2016   709   EA0003   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  164.68
      7/16/2016   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                      100
      7/16/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      7/16/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      7/16/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75

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      7/16/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      7/16/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/16/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/16/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.46
      7/16/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       473.37
      7/16/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       431.04
      7/16/2016   709   EE0011   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                 126.25
      7/16/2016   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                     100
      7/16/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      7/16/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      7/16/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      7/16/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       125.07
      7/16/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        499.3
      7/16/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.25
      7/16/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
      7/16/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      7/16/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 7/14 #17105                   324.4
      7/16/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/16/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      7/16/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      7/16/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/16/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/16/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/16/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/16/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.15
      7/16/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.19
      7/16/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.95
      7/16/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.19
      7/16/2016   709   EH0020   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  91.05
      7/16/2016   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                     100
      7/16/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      7/16/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      7/16/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      7/16/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      7/16/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/16/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.73
      7/16/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.56
      7/16/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.04
      7/16/2016   709   FS0039   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  -8.24
      7/16/2016   709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                     100
      7/16/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      7/16/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 193633 truck lease 3304      434.29
      7/16/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      7/16/2016   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
      7/16/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      7/16/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      7/16/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                         59.59
      7/16/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             5
      7/16/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          160
      7/16/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
      7/16/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.05
      7/16/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.76
      7/16/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.61
      7/16/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       110.04
      7/16/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      7/16/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      7/16/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      7/16/2016   709   FT0004   Owner Operator   Repair Order                   CTMS - 193421 Repair                185.58
      7/16/2016   709   FT0004   Owner Operator   Repair Order                   CTMS - 193553 Repair                262.91
      7/16/2016   709   FT0004   Owner Operator   Repair Order                   CTMS - 193759 Repair                262.92
      7/16/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 193444 73129                 181.08
      7/16/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 193599 73129                 181.08
      7/16/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      7/16/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      7/16/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/16/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/16/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        89.83
      7/16/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.13

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      7/16/2016   709   FV0001   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  46.47
      7/16/2016   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                    100
      7/16/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      7/16/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      7/16/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      7/16/2016   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                     100
      7/16/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      7/16/2016   709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00336511 - PO System        100.34
      7/16/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 193599 Lease                 252.11
      7/16/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      7/16/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      7/16/2016   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      7/16/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      7/16/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      7/16/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/16/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.33
      7/16/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.33
      7/16/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.29
      7/16/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.71
      7/16/2016   709   HG0007   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                   56.9
      7/16/2016   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                     100
      7/16/2016   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                     100
      7/16/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      7/16/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      7/16/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      7/16/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      7/16/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/16/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/16/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        85.44
      7/16/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.13
      7/16/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       425.68
      7/16/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.75
      7/16/2016   709   HG0027   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                   66.5
      7/16/2016   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                     100
      7/16/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      7/16/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      7/16/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/16/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.33
      7/16/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.41
      7/16/2016   709   IR0002   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                 -25.29
      7/16/2016   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                     100
      7/16/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      7/16/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/16/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      7/16/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      7/16/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      7/16/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      7/16/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      7/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
      7/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/16/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/16/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        401.8
      7/16/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.26
      7/16/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.05
      7/16/2016   709   JC0292   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                 152.22
      7/16/2016   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                     100
      7/16/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      7/16/2016   709   JC0292   Owner Operator   Repair Order                   CTMS - 193759 Parts                  92.47
      7/16/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      7/16/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/16/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      7/16/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      7/16/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/16/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/16/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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      7/16/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      7/16/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    332.99
      7/16/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     412.5
      7/16/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    297.88
      7/16/2016   709   JG0017   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  92
      7/16/2016   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                  100
      7/16/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/16/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              90.86
      7/16/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                     504.6
      7/16/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      7/16/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                     13
      7/16/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                       200
      7/16/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                       200
      7/16/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      7/16/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      7/16/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                    410.16
      7/16/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                    455.88
      7/16/2016   709   JG0072   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes              177.76
      7/16/2016   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                  100
      7/16/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/16/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              74.22
      7/16/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                    513.26
      7/16/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                 8.75
      7/16/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                        50
      7/16/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                    536.72
      7/16/2016   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                  100
      7/16/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/16/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                  61.7
      7/16/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL              8.75
      7/16/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                     13
      7/16/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                    199.25
      7/16/2016   709   JQ0015   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes              -15.85
      7/16/2016   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                  100
      7/16/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/16/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD              19.54
      7/16/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL        8.75
      7/16/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                     13
      7/16/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                    371.41
      7/16/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                    321.91
      7/16/2016   709   JR0099   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes              160.19
      7/16/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2017 - Q1203                 10.58
      7/16/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                 34.17
      7/16/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/16/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD         58.6
      7/16/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 193567 Truck Lease        278.76
      7/16/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL               8.75
      7/16/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                  8.75
      7/16/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                     13
      7/16/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                      100
      7/16/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                       200
      7/16/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                       200
      7/16/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      7/16/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      7/16/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      278
      7/16/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                     291.8
      7/16/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                    288.42
      7/16/2016   709   JS0265   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes              107.97
      7/16/2016   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                  100
      7/16/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      7/16/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD               15.94
      7/16/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                   37.5
      7/16/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      7/16/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                     13
      7/16/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                      250
      7/16/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                       100
      7/16/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                       100
      7/16/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      7/16/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      7/16/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                    165.52
      7/16/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                     85.75
      7/16/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                    337.35
      7/16/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      34.1
      7/16/2016   709   KP0004   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes              331.47

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      7/16/2016   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                       100
      7/16/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/16/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      7/16/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/16/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      7/16/2016   709   LL0160   Owner Operator   Accident Claim                 06/14/16 LL0160 Contamination          2000
      7/16/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      7/16/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      7/16/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-23       -203.85
      7/16/2016   709   LL0160   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  376.63
      7/16/2016   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                       100
      7/16/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/16/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      7/16/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 193663 Lease Q1111            252.11
      7/16/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      7/16/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      7/16/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/16/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/16/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        383.72
      7/16/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        501.08
      7/16/2016   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                       100
      7/16/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/16/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      7/16/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      7/16/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      7/16/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      7/16/2016   709   MB0048   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-9          854.51
      7/16/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        142.85
      7/16/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.56
      7/16/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/16/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      7/16/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      7/16/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      7/16/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/16/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/16/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.1
      7/16/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.12
      7/16/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        169.05
      7/16/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        255.72
      7/16/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/16/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      7/16/2016   709   MM0093   Owner Operator   Repair Order                   CTMS - 193759 Repair                    200
      7/16/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      7/16/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/16/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      7/16/2016   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                     -1327
      7/16/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           650
      7/16/2016   709   MP0035   Owner Operator   Express Check                  T-Check Payment                        1327
      7/16/2016   709   MP0035   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                    -0.41
      7/16/2016   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                       100
      7/16/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/16/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      7/16/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/16/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      7/16/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      7/16/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      7/16/2016   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                     -3500
      7/16/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      7/16/2016   709   NB0029   Owner Operator   Express Check                  T-Check Payment                        3500
      7/16/2016   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/16/2016   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/16/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        183.36
      7/16/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.88
      7/16/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.43
      7/16/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        172.72
      7/16/2016   709   NB0029   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                   78.09
      7/16/2016   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                       100
      7/16/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/16/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      7/16/2016   709   NB0029   Owner Operator   Repair Order                   CTMS - 193759 GTO Auto Glass          184.9
      7/16/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 193667 Past due tractor       215.66
      7/16/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 193668 Lease                  215.66
      7/16/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75

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      7/16/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      7/16/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/16/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            60
      7/16/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      7/16/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/16/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.54
      7/16/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.01
      7/16/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.13
      7/16/2016   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                    100
      7/16/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      7/16/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      7/16/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      7/16/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/16/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/16/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.14
      7/16/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.13
      7/16/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.04
      7/16/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.21
      7/16/2016   709   NR0010   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                   3.97
      7/16/2016   709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                     100
      7/16/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      7/16/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 193566 Tractor Sublease      252.11
      7/16/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      7/16/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
      7/16/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/16/2016   709   NT9564   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                 114.95
      7/16/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
      7/16/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
      7/16/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      7/16/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 193597 Truck 73130 Leas      196.65
      7/16/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      7/16/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      7/16/2016   709   RC0030   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                 440.79
      7/16/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      7/16/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      7/16/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      7/16/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      7/16/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 193567 Down Payment lo       303.55
      7/16/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      7/16/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/16/2016   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-9         120.65
      7/16/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      7/16/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      7/16/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.25
      7/16/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.81
      7/16/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.54
      7/16/2016   709   RC0089   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                 -14.23
      7/16/2016   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                     100
      7/16/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      7/16/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      7/16/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      7/16/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       429.72
      7/16/2016   709   RL0017   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                 -51.06
      7/16/2016   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                    100
      7/16/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      7/16/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/16/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      7/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/16/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/16/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.58
      7/16/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.17
      7/16/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       105.19
      7/16/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.89
      7/16/2016   709   RL0062   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                 206.33
      7/16/2016   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                     100

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      7/16/2016   709   RL0062   Owner Operator   Loan Repayment                 Credit Express Cde 141848 Loan     -5050.41
      7/16/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        258.68
      7/16/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
      7/16/2016   709   RL0062   Owner Operator   Repair Order                   CTMS - 193759 Repair                 217.47
      7/16/2016   709   RL0062   Owner Operator   Repair Order                   CTMS - 193759 Truck Rental Cha         200
      7/16/2016   709   RL0062   Owner Operator   T Chek Fee                     ExpressCheck Fee                         50
      7/16/2016   709   RL0062   Owner Operator   T Chek Fee                     Tractor Repair 32912                5000.41
      7/16/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      7/16/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
      7/16/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      7/16/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
      7/16/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.8
      7/16/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        326.38
      7/16/2016   709   RM0026   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  131.47
      7/16/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                      100
      7/16/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
      7/16/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      7/16/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      7/16/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        153.85
      7/16/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        344.11
      7/16/2016   709   RP0082   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  154.44
      7/16/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2017 - Q1202                     10.58
      7/16/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                     34.17
      7/16/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      7/16/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 193567 Q1202 Truck Leas       278.76
      7/16/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
      7/16/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
      7/16/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/16/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/16/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/16/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/16/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/16/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.43
      7/16/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.02
      7/16/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        397.73
      7/16/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.23
      7/16/2016   709   RR0123   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  -12.12
      7/16/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                     10.58
      7/16/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
      7/16/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
      7/16/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
      7/16/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 193595 Q1248                  311.97
      7/16/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      7/16/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
      7/16/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
      7/16/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        211.97
      7/16/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        189.53
      7/16/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.43
      7/16/2016   709   SB0009   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                   99.95
      7/16/2016   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                      100
      7/16/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
      7/16/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
      7/16/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      7/16/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
      7/16/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/16/2016   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/16/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        125.06
      7/16/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.45
      7/16/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        172.21
      7/16/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        113.54
      7/16/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.43
      7/16/2016   709   SN0019   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                   95.38
      7/16/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
      7/16/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
      7/16/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      7/16/2016   709   VB0015   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                   48.33
      7/16/2016   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                      100

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      7/16/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
      7/16/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 193711 Tractor Sub leas       242.03
      7/16/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      7/16/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
      7/16/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      7/16/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/16/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/16/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/16/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/16/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.12
      7/16/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.71
      7/16/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        332.79
      7/16/2016   709   VJ0006   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  150.19
      7/16/2016   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                      100
      7/16/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
      7/16/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
      7/16/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      7/16/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      7/16/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
      7/16/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      7/16/2016   709   WB0062   Owner Operator   Tire Purchase                  PO: 709-00336519 - PO System         223.92
      7/16/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
      7/16/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
      7/16/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/16/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        140.88
      7/16/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.7
      7/16/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.41
      7/16/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         24.89
      7/16/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        181.84
      7/16/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        242.06
      7/16/2016   709   WH0087   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                   36.25
      7/16/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                     10.58
      7/16/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                     34.17
      7/16/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD               60.47
      7/16/2016   709   WH0087   Owner Operator   Repair Order                   CTMS - 193759 Repair                 285.54
      7/16/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 193596 Q1238 Lease            311.97
      7/16/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Breezewood                  48.01
      7/16/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Valley Forge               142.82
      7/16/2016   730   JK0112   Owner Operator   Toll Charges                   33211 WVPEDTA Chelyan                  5.87
      7/16/2016   730   JK0112   Owner Operator   Toll Charges                   33211 WVPEDTA Pax                      5.87
      7/16/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
      7/16/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
      7/16/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        346.33
      7/16/2016   742   AP0047   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                   71.55
      7/16/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 52.35
      7/16/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
      7/16/2016   742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System         162.49
      7/16/2016   742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System        -206.47
      7/16/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      7/16/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
      7/16/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        121.72
      7/16/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        346.45
      7/16/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        352.65
      7/16/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.26
      7/16/2016   742   BS0078   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  151.61
      7/16/2016   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                      100
      7/16/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.55
      7/16/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
      7/16/2016   742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00336525 - PO System         343.13
      7/16/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL                8.75
      7/16/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/16/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        162.55
      7/16/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        375.58
      7/16/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        172.71
      7/16/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        383.17
      7/16/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/16/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD                35.16

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      7/16/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      7/16/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      7/16/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      7/16/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.55
      7/16/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        262.9
      7/16/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        280.9
      7/16/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.14
      7/16/2016   742   ED0041   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  87.69
      7/16/2016   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                      100
      7/16/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      7/16/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      7/16/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/16/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      7/16/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/16/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/16/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.79
      7/16/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.93
      7/16/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        331.7
      7/16/2016   742   EN0016   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                 118.01
      7/16/2016   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                      100
      7/16/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      7/16/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/16/2016   742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00336695 - PO System        314.17
      7/16/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      7/16/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      7/16/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      7/16/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      7/16/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      7/16/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      7/16/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      7/16/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/16/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.84
      7/16/2016   742   KJ0045   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                 109.94
      7/16/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      7/16/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      7/16/2016   742   KJ0045   Owner Operator   Repair Order                   CTMS - 193682 repair                 157.2
      7/16/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      7/16/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      7/16/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        59.98
      7/16/2016   742   MH0117   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  92.64
      7/16/2016   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                      100
      7/16/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      7/16/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      7/16/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/16/2016   742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                     -500
      7/16/2016   742   PC0012   Owner Operator   Express Check                  T-Check Payment                        500
      7/16/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.73
      7/16/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        93.97
      7/16/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.98
      7/16/2016   742   PC0012   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  78.48
      7/16/2016   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                      100
      7/16/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      7/16/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      7/16/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      7/16/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      7/16/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      7/16/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.71
      7/16/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       416.05
      7/16/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.07
      7/16/2016   742   RN0054   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  63.65
      7/16/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
      7/16/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      7/16/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/16/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      7/16/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      7/23/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      7/23/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      7/23/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.64
      7/23/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                     100

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      7/23/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
      7/23/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      7/23/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      7/23/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      7/23/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.49
      7/23/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.95
      7/23/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.5
      7/23/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      7/23/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      7/23/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      7/23/2016   709   AR0064   Owner Operator   Repair Order                   CTMS - 193936 Parts                 106.69
      7/23/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 193841 Trck Lease            353.28
      7/23/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      7/23/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      7/23/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/23/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.22
      7/23/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.46
      7/23/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        70.01
      7/23/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.96
      7/23/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.46
      7/23/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      7/23/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      7/23/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      7/23/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 193838 Q13169 Sublease       352.68
      7/23/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      7/23/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      7/23/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/23/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.76
      7/23/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        444.5
      7/23/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.63
      7/23/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      7/23/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      7/23/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      7/23/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 193810 Q13168 sub lease      352.68
      7/23/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/23/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      7/23/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        374.7
      7/23/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       493.48
      7/23/2016   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                     100
      7/23/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
      7/23/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/23/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      7/23/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      7/23/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      7/23/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-16        916.65
      7/23/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-16        362.74
      7/23/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.97
      7/23/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.08
      7/23/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.76
      7/23/2016   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                     100
      7/23/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
      7/23/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
      7/23/2016   709   CR0064   Owner Operator   Repair Order                   CTMS - 193937 Repair                  452
      7/23/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      7/23/2016   709   CR0064   Owner Operator   Truck Payment                  CTMS - 193758 Truck Rental Cha        452
      7/23/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      7/23/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      7/23/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.79
      7/23/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.24
      7/23/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2017 - Q1201                    10.58
      7/23/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      7/23/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.07
      7/23/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 193809 Q1201                 278.76
      7/23/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75

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      7/23/2016   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                     100
      7/23/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         7.53
      7/23/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           37.66
      7/23/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.86
      7/23/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      7/23/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
      7/23/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/23/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      7/23/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      7/23/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      7/23/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.4
      7/23/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       452.17
      7/23/2016   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                     100
      7/23/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
      7/23/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      7/23/2016   709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      7/23/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      7/23/2016   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-16         95.48
      7/23/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       429.45
      7/23/2016   709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                     100
      7/23/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.51
      7/23/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      7/23/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      7/23/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.95
      7/23/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.32
      7/23/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.99
      7/23/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.12
      7/23/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.64
      7/23/2016   709   DW0138   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                 420.39
      7/23/2016   709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                     100
      7/23/2016   709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                     100
      7/23/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      7/23/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      7/23/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      7/23/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
      7/23/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      7/23/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      7/23/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/23/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      7/23/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
      7/23/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       538.75
      7/23/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       443.65
      7/23/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.07
      7/23/2016   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                     100
      7/23/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      7/23/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      7/23/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/23/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      7/23/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       465.56
      7/23/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.15
      7/23/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       422.63
      7/23/2016   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                     100
      7/23/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.91
      7/23/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      7/23/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      7/23/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        49.16
      7/23/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.41
      7/23/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       413.08

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      7/23/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         191
      7/23/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       429.66
      7/23/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.18
      7/23/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      7/23/2016   709   EG0062   Owner Operator   T Chek Fee                     Advance                              784.9
      7/23/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt int wk 6/16-7/14 #17105          129.8
      7/23/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 7/21 #17105                  350.36
      7/23/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/23/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      7/23/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      7/23/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        485.3
      7/23/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.31
      7/23/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.78
      7/23/2016   709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                     100
      7/23/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93
      7/23/2016   709   EH0020   Owner Operator   Repair Order                   CTMS - 193936 Parts                   58.8
      7/23/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      7/23/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      7/23/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      7/23/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/23/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.06
      7/23/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.23
      7/23/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       169.21
      7/23/2016   709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                     100
      7/23/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.86
      7/23/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 193835 truck lease 3304      434.29
      7/23/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      7/23/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      7/23/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          240
      7/23/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      7/23/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          125
      7/23/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.25
      7/23/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      7/23/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.4
      7/23/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.43
      7/23/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.66
      7/23/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      7/23/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      7/23/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.51
      7/23/2016   709   FT0004   Owner Operator   Repair Order                   CTMS - 193936 Parts                 212.79
      7/23/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 193812 73129                 181.08
      7/23/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      7/23/2016   709   FV0001   Owner Operator   Charge back by affiliate       CTMS - 193822 TL9205                   -30
      7/23/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      7/23/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.96
      7/23/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        160.4
      7/23/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.15
      7/23/2016   709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                    100
      7/23/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.01
      7/23/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      7/23/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      7/23/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.95
      7/23/2016   709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                     100
      7/23/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
      7/23/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 193812 Lease                 252.11
      7/23/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      7/23/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      7/23/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/23/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      7/23/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.7
      7/23/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.54
      7/23/2016   709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                     100
      7/23/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
      7/23/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      7/23/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      7/23/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.2
      7/23/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.93
      7/23/2016   709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                     100
      7/23/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      7/23/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      7/23/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/23/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                        136.66
      7/23/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.37
      7/23/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.69
      7/23/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.59
      7/23/2016   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                     100
      7/23/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      7/23/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/23/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      7/23/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      7/23/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      7/23/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      7/23/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      7/23/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
      7/23/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/23/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.54
      7/23/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.36
      7/23/2016   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                     100
      7/23/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
      7/23/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      7/23/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/23/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      7/23/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      7/23/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      7/23/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      7/23/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.31
      7/23/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.01
      7/23/2016   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                     100
      7/23/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      7/23/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      7/23/2016   709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      7/23/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/23/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      7/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       447.26
      7/23/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       448.37
      7/23/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       454.68
      7/23/2016   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                     100
      7/23/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      7/23/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      7/23/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      7/23/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/23/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       518.42
      7/23/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.04

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      7/23/2016   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                     100
      7/23/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      7/23/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      7/23/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      7/23/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.58
      7/23/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.62
      7/23/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.9
      7/23/2016   709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                     100
      7/23/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
      7/23/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      7/23/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      7/23/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.88
      7/23/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.35
      7/23/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2017 - Q1203                    10.58
      7/23/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                    34.17
      7/23/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
      7/23/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 193772 Truck Lease           278.76
      7/23/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/23/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      7/23/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      7/23/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.01
      7/23/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         342
      7/23/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       124.01
      7/23/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         160
      7/23/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           38
      7/23/2016   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                     100
      7/23/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      7/23/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      7/23/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      7/23/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      7/23/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      7/23/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-16        203.85
      7/23/2016   709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                     100
      7/23/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.04
      7/23/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 193865 Lease Q1111           252.11
      7/23/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      7/23/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      7/23/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       492.33
      7/23/2016   709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                     100
      7/23/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.51
      7/23/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      7/23/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      7/23/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      7/23/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.29
      7/23/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/23/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      7/23/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.83
      7/23/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.38
      7/23/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.22
      7/23/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.11
      7/23/2016   709   MM0093   Owner Operator   Repair Order                   CTMS - 193937 Repair                  200
      7/23/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      7/23/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      7/23/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      7/23/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650

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      7/23/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          140
      7/23/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            80
      7/23/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.8
      7/23/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4
      7/23/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       512.81
      7/23/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.64
      7/23/2016   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                     100
      7/23/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.86
      7/23/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      7/23/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      7/23/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      7/23/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      7/23/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
      7/23/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        363.1
      7/23/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.69
      7/23/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         260
      7/23/2016   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                     100
      7/23/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.15
      7/23/2016   709   NB0029   Owner Operator   Repair Order                   CTMS - 193937 Repair                 314.3
      7/23/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 193869 Past due tractor      215.66
      7/23/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 193870 Lease                 215.66
      7/23/2016   709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      7/23/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      7/23/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      7/23/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        84.01
      7/23/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.03
      7/23/2016   709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                    100
      7/23/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.97
      7/23/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      7/23/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      7/23/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.54
      7/23/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.2
      7/23/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.63
      7/23/2016   709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                     100
      7/23/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.04
      7/23/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 193771 Tractor Sublease      252.11
      7/23/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      7/23/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
      7/23/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/23/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
      7/23/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
      7/23/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      7/23/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 193810 Truck 73130 Leas      196.65
      7/23/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      7/23/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      7/23/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.15
      7/23/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      7/23/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.04
      7/23/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      7/23/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 193771 Down Payment lo       303.55
      7/23/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  51.69
      7/23/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/23/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      7/23/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      7/23/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       110.11
      7/23/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.82
      7/23/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.48
      7/23/2016   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                     100
      7/23/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.05
      7/23/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      7/23/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      7/23/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.96

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      7/23/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.12
      7/23/2016   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                    100
      7/23/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.29
      7/23/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/23/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      7/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.36
      7/23/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.24
      7/23/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       416.67
      7/23/2016   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                     100
      7/23/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       258.68
      7/23/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.13
      7/23/2016   709   RL0062   Owner Operator   Repair Order                   CTMS - 193936 Repair                217.47
      7/23/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      7/23/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.46
      7/23/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      7/23/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      7/23/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.5
      7/23/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        342.8
      7/23/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.56
      7/23/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                     100
      7/23/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      7/23/2016   709   RM0026   Owner Operator   Tire Fee                       Tire Fee: 1938549                       24
      7/23/2016   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00338037 - PO System        879.85
      7/23/2016   709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      7/23/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      7/23/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      7/23/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.47
      7/23/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.22
      7/23/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2017 - Q1202                    10.58
      7/23/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      7/23/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
      7/23/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 193772 Q1202 Truck Leas      278.76
      7/23/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      7/23/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                        48.43
      7/23/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                    10.58
      7/23/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      7/23/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.07
      7/23/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      7/23/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/23/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      7/23/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      7/23/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.67
      7/23/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.6
      7/23/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.51
      7/23/2016   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                     100
      7/23/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      7/23/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      7/23/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      7/23/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      7/23/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.35
      7/23/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.59
      7/23/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.44
      7/23/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.03
      7/23/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      7/23/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      7/23/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      7/23/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        340.2
      7/23/2016   709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                     100
      7/23/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5

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      7/23/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 193928 Tractor Sub leas      242.03
      7/23/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         86.66
      7/23/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      7/23/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      7/23/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      7/23/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      7/23/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      7/23/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      7/23/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/23/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.26
      7/23/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.33
      7/23/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.62
      7/23/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.87
      7/23/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
      7/23/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      7/23/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      7/23/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 193809 Q1238 Lease           311.97
      7/23/2016   730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/23/2016   730   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/23/2016   730   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      7/23/2016   730   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/23/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   730   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.39
      7/23/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        305.8
      7/23/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.72
      7/23/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.56
      7/23/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.39
      7/23/2016   730   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.57
      7/23/2016   730   JK0112   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                   61.1
      7/23/2016   730   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                     100
      7/23/2016   730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   730   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      7/23/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
      7/23/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      7/23/2016   730   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 BCBC Burlington Bristol           30
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 DRPA Commodore Barry Br         37.5
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL 163rd St.                 4.5
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL 163rd St.                   6
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL 163rd St.                   6
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL 82nd St.                    6
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL 83rd St.                  4.5
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL Boughton Rd. (Mai           6
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL Farnsworth Rd.            4.5
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL Farnsworth Rd.            3.4
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL I-57/147th St (Il           6
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL Route 80 (West)           4.5
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL York Rd.                  4.5
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 ITRCC Eastpoint                35.92
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 ITRCC Portage                  35.92
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 ITRCC South Bend West           13.3
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 NYSTA Syracuse (I-690)         24.42
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 OTC Eastgate                    1.25
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 OTC Eastgate                    1.25
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 OTC Eastgate                     3.5
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 OTC Eastgate                     3.5
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 OTC Niles-Youngstown             3.5
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 OTC Niles-Youngstown             3.5
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 OTC Perrysburg-Toledo          27.75
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 OTC Westgate                    36.5
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 OTC Youngstown                  36.5
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 OTC Youngstown                  2.25
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 OTC Youngstown                  1.25
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 OTC Youngstown                  1.25

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      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Breezewood                  75.25
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Breezewood                  48.73
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Clark Summit                 6.91
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Gateway Barrier             18.42
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Gateway Barrier             18.42
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Gateway Barrier             18.42
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Gateway Barrier             18.42
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Keyser Avenue                6.91
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Mid-County                  41.46
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Somerset                    53.74
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Somerset                    29.16
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Somerset                    29.16
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Warrendale                  67.58
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Warrendale                  67.58
      7/23/2016   730   JK0112   Owner Operator   Toll Charges                   33211 PTC Warrendale                  16.51
      7/23/2016   730   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      7/23/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
      7/23/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
      7/23/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/23/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/23/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        353.52
      7/23/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/23/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 52.33
      7/23/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
      7/23/2016   742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System         162.49
      7/23/2016   742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System        -206.47
      7/23/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      7/23/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
      7/23/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.93
      7/23/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        472.09
      7/23/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        383.79
      7/23/2016   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                      100
      7/23/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/23/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.54
      7/23/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
      7/23/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL                8.75
      7/23/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/23/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        378.78
      7/23/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        462.52
      7/23/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.17
      7/23/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        191.12
      7/23/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/23/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD                35.15
      7/23/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori          2.5
      7/23/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/23/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/23/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.39
      7/23/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        503.99
      7/23/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          450
      7/23/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         21.01
      7/23/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
      7/23/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
      7/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.9
      7/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        354.52
      7/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         97.33
      7/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        233.49
      7/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        242.96
      7/23/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.11
      7/23/2016   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                      100
      7/23/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/23/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.34
      7/23/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
      7/23/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/23/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                         13
      7/23/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/23/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/23/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        182.68
      7/23/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        360.86
      7/23/2016   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                      100
      7/23/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/23/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
      7/23/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      7/23/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         419.4

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      7/23/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      7/23/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      7/23/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
      7/23/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      7/23/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      7/23/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      7/23/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      7/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.16
      7/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.45
      7/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.14
      7/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.03
      7/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.64
      7/23/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.14
      7/23/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.86
      7/23/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      7/23/2016   742   KJ0045   Owner Operator   Repair Order                   CTMS - 193829 repair                 157.2
      7/23/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/23/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      7/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/23/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       353.29
      7/23/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.61
      7/23/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.55
      7/23/2016   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                     100
      7/23/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      7/23/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      7/23/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         12.2
      7/23/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        440.2
      7/23/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      7/23/2016   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                    35.34
      7/23/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      7/23/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      7/23/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      7/23/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      7/23/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/23/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/23/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.98
      7/23/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.79
      7/23/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       447.35
      7/23/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.09
      7/23/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.19
      7/23/2016   742   NG0024   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  59.86
      7/23/2016   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                     100
      7/23/2016   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                     100
      7/23/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/23/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      7/23/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
      7/23/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      7/23/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      7/23/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/23/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        151.8
      7/23/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        53.92
      7/23/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.49
      7/23/2016   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                     100
      7/23/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      7/23/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
      7/23/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      7/23/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      7/23/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      7/23/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.78
      7/23/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.16
      7/23/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.82
      7/23/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       398.55
      7/23/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
      7/23/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      7/23/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      7/23/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE             Q13157 2013 Freightliner PD           74.25
      7/23/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE             Q13157 2013 Freightliner PD Te          2.5
      7/23/2016   742   RN0054   Owner Operator   Tire Fee                    Tire Fee: 1937172                         4
      7/23/2016   742   RN0054   Owner Operator   Tire Purchase               PO: 742-00337791 - PO System           137
      7/23/2016   742   RN0054   Owner Operator   Truck Payment               CTMS - 193569 Tractor Lease          353.28
      7/23/2016   742   RN0054   Owner Operator   Truck Payment               CTMS - 193773 Tractor Lease          353.28
      7/23/2016   844   JK0112   Owner Operator   Communication Charge        PNet Hware 33211                         13
      7/23/2016   844   JK0112   Owner Operator   ESCROW                      Weekly Escrow                            50
      7/23/2016   844   JK0112   Owner Operator   Fuel Card Advances          Cash Advance                           100
      7/23/2016   844   JK0112   Owner Operator   Fuel Card Advances          Cash Advance Fee                          1
      7/23/2016   844   JK0112   Owner Operator   Fuel Purchase               Fuel Purchase                        352.52
      7/23/2016   844   JK0112   Owner Operator   Fuel Purchase               Fuel Purchase                         83.52
      7/23/2016   844   JK0112   Owner Operator   Fuel Purchase               Fuel Purchase                        349.74
      7/23/2016   844   JK0112   Owner Operator   Fuel Purchase               Fuel Purchase                        302.77
      7/23/2016   844   JK0112   Owner Operator   IRP License Deduction       LCIL:2016 - 33211                      100
      7/23/2016   844   JK0112   Owner Operator   Tractor Charge              52901 - 33211                         635.4
      7/30/2016   709   AN0007   Owner Operator   Communication Charge        PNet Hware 21157A                        13
      7/30/2016   709   AN0007   Owner Operator   Fuel Purchase               Fuel Purchase                        166.73
      7/30/2016   709   AN0007   Owner Operator   IRP License Deduction       LCIL:2016 - 21157A                     100
      7/30/2016   709   AR0064   Owner Operator   Fuel Purchase               Fuel Purchase                        297.97
      7/30/2016   709   AR0064   Owner Operator   Highway Use Tax             HUTC:2017 - Q13147                    10.58
      7/30/2016   709   AR0064   Owner Operator   IRP License Deduction       LCIL:2016 - Q13147                    34.17
      7/30/2016   709   AV0021   Owner Operator   Communication Charge        PNet Hware Q13169                         8
      7/30/2016   709   AV0021   Owner Operator   ESCROW                      Weekly Escrow                            50
      7/30/2016   709   AV0021   Owner Operator   Fuel Purchase               Fuel Purchase                          100
      7/30/2016   709   AV0021   Owner Operator   Fuel Purchase               Fuel Purchase                        260.02
      7/30/2016   709   AV0021   Owner Operator   Fuel Purchase               Fuel Purchase                         131.5
      7/30/2016   709   AV0021   Owner Operator   Fuel Purchase               Fuel Purchase                         98.93
      7/30/2016   709   AV0021   Owner Operator   Highway Use Tax             HUTC:2017 - Q13169                    10.58
      7/30/2016   709   AV0021   Owner Operator   IRP License Deduction       LCIL:2016 - Q13169                    34.17
      7/30/2016   709   AV0021   Owner Operator   T Chek Fee                  ExpressCheck Fee                       3.77
      7/30/2016   709   AV0021   Owner Operator   T Chek Fee                  Tractor Repair Q13169                377.24
      7/30/2016   709   AV0021   Owner Operator   Truck Payment               CTMS - 194028 Q13169 Sublease        352.68
      7/30/2016   709   CC0134   Owner Operator   Communication Charge        PNet Hware Q13168                         8
      7/30/2016   709   CC0134   Owner Operator   ESCROW                      Weekly Escrow                            50
      7/30/2016   709   CC0134   Owner Operator   Fuel Purchase               Fuel Purchase                        339.03
      7/30/2016   709   CC0134   Owner Operator   Fuel Purchase               Fuel Purchase                        362.22
      7/30/2016   709   CC0134   Owner Operator   Fuel Purchase               Fuel Purchase                        406.01
      7/30/2016   709   CC0134   Owner Operator   Highway Use Tax             HUTC:2017 - Q13168                    10.58
      7/30/2016   709   CC0134   Owner Operator   IRP License Deduction       LCIL:2016 - Q13168                    34.17
      7/30/2016   709   CC0134   Owner Operator   Truck Payment               CTMS - 193998 Q13168 sub lease       352.68
      7/30/2016   709   CM0119   Owner Operator   Communication Charge        PNet Hware 32920                         13
      7/30/2016   709   CM0119   Owner Operator   Fuel Card Advances          Cash Advance                           200
      7/30/2016   709   CM0119   Owner Operator   Fuel Card Advances          Cash Advance Fee                          2
      7/30/2016   709   CM0119   Owner Operator   Fuel Purchase               Fuel Purchase                        345.45
      7/30/2016   709   CM0119   Owner Operator   Fuel Purchase               Fuel Purchase                        482.72
      7/30/2016   709   CM0119   Owner Operator   IRP License Deduction       LCIL:2016 - 32920                      100
      7/30/2016   709   CM0119   Owner Operator   Tractor Charge              14620 - 32920                        507.91
      7/30/2016   709   CR0064   Owner Operator   Communication Charge        PNet Hware 32864                         13
      7/30/2016   709   CR0064   Owner Operator   Fuel Purchase               Fuel Purchase                        136.02
      7/30/2016   709   CR0064   Owner Operator   Fuel Purchase               Fuel Purchase                        120.05
      7/30/2016   709   CR0064   Owner Operator   Fuel Purchase               Fuel Purchase                        122.56
      7/30/2016   709   CR0064   Owner Operator   Fuel Purchase               Fuel Purchase                        263.52
      7/30/2016   709   CR0064   Owner Operator   Fuel Purchase               Fuel Purchase                        117.17
      7/30/2016   709   CR0064   Owner Operator   IRP License Deduction       LCIL:2016 - 32864                      100
      7/30/2016   709   CR0064   Owner Operator   Loan Repayment              Loan # 00002 - Loan Repayment        258.39
      7/30/2016   709   CR0064   Owner Operator   Tractor Charge              14267 - 32864                        245.63
      7/30/2016   709   CS0091   Owner Operator   Communication Charge        PNet Hware Q1201                          8
      7/30/2016   709   CS0091   Owner Operator   Fuel Purchase               Fuel Purchase                        332.38
      7/30/2016   709   CS0091   Owner Operator   Highway Use Tax             HUTC:2017 - Q1201                     10.58
      7/30/2016   709   CS0091   Owner Operator   IRP License Deduction       LCIL:2016 - Q1201                     34.17
      7/30/2016   709   CS0091   Owner Operator   Truck Payment               CTMS - 193996 Q1201                  278.76
      7/30/2016   709   DS0049   Owner Operator   Communication Charge        PNet Hware 32915                         13
      7/30/2016   709   DS0049   Owner Operator   Deferred Negative Pay       ** Net Rebill to post on 8-6        -270.84
      7/30/2016   709   DS0049   Owner Operator   Fuel Card Advances          Cash Advance                           500
      7/30/2016   709   DS0049   Owner Operator   Fuel Card Advances          Cash Advance Fee                          5
      7/30/2016   709   DS0049   Owner Operator   Fuel Purchase               Fuel Purchase                        237.66
      7/30/2016   709   DS0049   Owner Operator   Fuel Purchase               Fuel Purchase                        353.41
      7/30/2016   709   DS0049   Owner Operator   Fuel Purchase               Fuel Purchase                        225.67
      7/30/2016   709   DS0049   Owner Operator   IRP License Deduction       LCIL:2016 - 32915                      100
      7/30/2016   709   DS0049   Owner Operator   Tractor Charge              15738 - 32915                        512.35
      7/30/2016   709   DS0225   Owner Operator   Driver Excellence Program   Clean Inspection Awards                 -50
      7/30/2016   709   DS0225   Owner Operator   Fuel Purchase               Fuel Purchase                        426.18

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      7/30/2016   709   DS0225   Owner Operator   Fuel Purchase           Fuel Purchase                       339.65
      7/30/2016   709   DS0225   Owner Operator   IRP License Deduction   LCIL:2016 - 33320                     100
      7/30/2016   709   DW0138   Owner Operator   Communication Charge    PNet Hware 33443                        13
      7/30/2016   709   DW0138   Owner Operator   Communication Charge    PNet Hware 33443                        13
      7/30/2016   709   DW0138   Owner Operator   Communication Charge    PNet Hware 33443                        13
      7/30/2016   709   DW0138   Owner Operator   Fuel Purchase           Fuel Purchase                       286.72
      7/30/2016   709   DW0138   Owner Operator   Fuel Purchase           Fuel Purchase                       311.45
      7/30/2016   709   DW0138   Owner Operator   Fuel Purchase           Fuel Purchase                       328.53
      7/30/2016   709   DW0138   Owner Operator   Fuel Purchase           Fuel Purchase                       237.99
      7/30/2016   709   DW0138   Owner Operator   FUEL TAX                May 2016 Fuel Taxes                  15.19
      7/30/2016   709   DW0138   Owner Operator   IRP License Deduction   LCIL:2016 - 33443                     100
      7/30/2016   709   DW0138   Owner Operator   Tire Purchase           PO: 709-00336963 - PO System        166.03
      7/30/2016   709   DW0138   Owner Operator   Tire Purchase           PO: 709-00336963 - PO System        166.03
      7/30/2016   709   DW0138   Owner Operator   Tire Purchase           PO: 709-00336963 - PO System        165.99
      7/30/2016   709   DW0138   Owner Operator   Tractor Charge          55584 - 33443                       463.27
      7/30/2016   709   EA0003   Owner Operator   Communication Charge    PNet Hware 33051                        13
      7/30/2016   709   EA0003   Owner Operator   ESCROW                  Weekly Escrow                         100
      7/30/2016   709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                          100
      7/30/2016   709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                          200
      7/30/2016   709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      7/30/2016   709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      7/30/2016   709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                       286.14
      7/30/2016   709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                       217.58
      7/30/2016   709   EA0003   Owner Operator   IRP License Deduction   LCIL:2016 - 33051                     100
      7/30/2016   709   EA0003   Owner Operator   Tire Fee                Tire Fee: 1940077                       16
      7/30/2016   709   EA0003   Owner Operator   Tire Purchase           PO: 709-00338304 - PO System        326.44
      7/30/2016   709   EA0003   Owner Operator   Tractor Charge          16439 - 33051                       555.56
      7/30/2016   709   EE0011   Owner Operator   Communication Charge    PNet Hware 32910                        13
      7/30/2016   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance                          200
      7/30/2016   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      7/30/2016   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                       269.05
      7/30/2016   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                       258.41
      7/30/2016   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                       431.07
      7/30/2016   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                        456.6
      7/30/2016   709   EE0011   Owner Operator   IRP License Deduction   LCIL:2016 - 32910                     100
      7/30/2016   709   EE0011   Owner Operator   Tractor Charge          14619 - 32910                       505.27
      7/30/2016   709   EG0062   Owner Operator   Communication Charge    PNet Hware 33828                         8
      7/30/2016   709   EG0062   Owner Operator   Communication Charge    PNet Hware 33828                         8
      7/30/2016   709   EG0062   Owner Operator   Communication Charge    PNet Hware 33828                         8
      7/30/2016   709   EG0062   Owner Operator   ESCROW                  Weekly Escrow                           50
      7/30/2016   709   EG0062   Owner Operator   ESCROW                  Weekly Escrow                           50
      7/30/2016   709   EG0062   Owner Operator   ESCROW                  Weekly Escrow                           50
      7/30/2016   709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                       336.41
      7/30/2016   709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                       285.89
      7/30/2016   709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                       391.63
      7/30/2016   709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                       256.56
      7/30/2016   709   EG0062   Owner Operator   IRP License Deduction   LCIL:2016 - 33828                     100
      7/30/2016   709   EG0062   Owner Operator   Permits                 NM07:2016 - 33828                      5.5
      7/30/2016   709   EG0062   Owner Operator   Permits                 NY13:2016 - 33828                      1.5
      7/30/2016   709   EG0062   Owner Operator   Permits                 OR16:2016 - 33828                        8
      7/30/2016   709   EG0062   Owner Operator   Permits                 OR16:2016 - 33828                        8
      7/30/2016   709   EG0062   Owner Operator   T Chek Fee              Advance                             377.83
      7/30/2016   709   EG0062   Owner Operator   T Chek Fee              ExpressCheck Fee                     11.63
      7/30/2016   709   EG0062   Owner Operator   Tractor Charge          dbt wk 7/28 #17105                  350.36
      7/30/2016   709   EH0020   Owner Operator   Communication Charge    PNet Hware 33065                        13
      7/30/2016   709   EH0020   Owner Operator   ESCROW                  Weekly Escrow                         250
      7/30/2016   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance                          200
      7/30/2016   709   EH0020   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      7/30/2016   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                       316.87
      7/30/2016   709   EH0020   Owner Operator   Fuel Purchase           Fuel Purchase                       351.11
      7/30/2016   709   EH0020   Owner Operator   IRP License Deduction   LCIL:2016 - 33065                     100
      7/30/2016   709   EH0020   Owner Operator   Tractor Charge          16433 - 33065                       532.24
      7/30/2016   709   FS0039   Owner Operator   Communication Charge    PNet Hware 33040                         8
      7/30/2016   709   FS0039   Owner Operator   ESCROW                  Weekly Escrow                           50
      7/30/2016   709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                        151.5
      7/30/2016   709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                       242.41
      7/30/2016   709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                       358.29
      7/30/2016   709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                        185.5
      7/30/2016   709   FS0039   Owner Operator   IRP License Deduction   LCIL:2016 - 33040                     100
      7/30/2016   709   FS0039   Owner Operator   Truck Payment           CTMS - 194026 truck lease 3304      434.29
      7/30/2016   709   FT0004   Owner Operator   Communication Charge    PNet Hware 73129                        13
      7/30/2016   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance                          300
      7/30/2016   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance                            10

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      7/30/2016   709   FT0004   Owner Operator   Fuel Card Advances          Cash Advance                          10
      7/30/2016   709   FT0004   Owner Operator   Fuel Card Advances          Cash Advance Fee                     0.1
      7/30/2016   709   FT0004   Owner Operator   Fuel Card Advances          Cash Advance Fee                     0.1
      7/30/2016   709   FT0004   Owner Operator   Fuel Card Advances          Cash Advance Fee                       3
      7/30/2016   709   FT0004   Owner Operator   Fuel Purchase               Fuel Purchase                     232.21
      7/30/2016   709   FT0004   Owner Operator   Fuel Purchase               Fuel Purchase                       117
      7/30/2016   709   FT0004   Owner Operator   Fuel Purchase               Fuel Purchase                     156.64
      7/30/2016   709   FT0004   Owner Operator   Highway Use Tax             HUTC:2017 - 73129                  10.58
      7/30/2016   709   FT0004   Owner Operator   IRP License Deduction       LCIL:2016 - 73129                  34.17
      7/30/2016   709   FT0004   Owner Operator   Repair Order                CTMS - 194131 Repair              212.79
      7/30/2016   709   FT0004   Owner Operator   Truck Payment               CTMS - 193999 73129               181.08
      7/30/2016   709   FV0001   Owner Operator   Communication Charge        PNet Hware 21521B                     13
      7/30/2016   709   FV0001   Owner Operator   Fuel Card Advances          Cash Advance                        200
      7/30/2016   709   FV0001   Owner Operator   Fuel Card Advances          Cash Advance Fee                       2
      7/30/2016   709   FV0001   Owner Operator   Fuel Purchase               Fuel Purchase                     263.64
      7/30/2016   709   FV0001   Owner Operator   Fuel Purchase               Fuel Purchase                      230.6
      7/30/2016   709   FV0001   Owner Operator   IRP License Deduction       LCIL:2016 - 21521B                  100
      7/30/2016   709   FV0001   Owner Operator   Repair Order                CTMS - 194131 Repair                  70
      7/30/2016   709   GS0015   Owner Operator   Communication Charge        PNet Hware Q1110                      13
      7/30/2016   709   GS0015   Owner Operator   Fuel Purchase               Fuel Purchase                     188.04
      7/30/2016   709   GS0015   Owner Operator   Fuel Purchase               Fuel Purchase                     215.42
      7/30/2016   709   GS0015   Owner Operator   IRP License Deduction       LCIL:2016 - Q1110                   100
      7/30/2016   709   GS0015   Owner Operator   Truck Payment               CTMS - 194000 Lease               252.11
      7/30/2016   709   HG0007   Owner Operator   Communication Charge        PNet Hware 33180                      13
      7/30/2016   709   HG0007   Owner Operator   ESCROW                      Weekly Escrow                         50
      7/30/2016   709   HG0007   Owner Operator   Fuel Purchase               Fuel Purchase                     246.53
      7/30/2016   709   HG0007   Owner Operator   Fuel Purchase               Fuel Purchase                     432.81
      7/30/2016   709   HG0007   Owner Operator   IRP License Deduction       LCIL:2016 - 33180                   100
      7/30/2016   709   HG0027   Owner Operator   Communication Charge        PNet Hware 33418                      13
      7/30/2016   709   HG0027   Owner Operator   Fuel Card Advances          Cash Advance                        100
      7/30/2016   709   HG0027   Owner Operator   Fuel Card Advances          Cash Advance Fee                       1
      7/30/2016   709   HG0027   Owner Operator   Fuel Purchase               Fuel Purchase                     248.43
      7/30/2016   709   HG0027   Owner Operator   Fuel Purchase               Fuel Purchase                     247.51
      7/30/2016   709   HG0027   Owner Operator   Fuel Purchase               Fuel Purchase                     251.06
      7/30/2016   709   HG0027   Owner Operator   Fuel Purchase               Fuel Purchase                     287.59
      7/30/2016   709   HG0027   Owner Operator   IRP License Deduction       LCIL:2016 - 33418                   100
      7/30/2016   709   IR0002   Owner Operator   Fuel Card Advances          Cash Advance                       20.12
      7/30/2016   709   IR0002   Owner Operator   Fuel Card Advances          Cash Advance                        100
      7/30/2016   709   IR0002   Owner Operator   Fuel Card Advances          Cash Advance Fee                       1
      7/30/2016   709   IR0002   Owner Operator   Fuel Card Advances          Cash Advance Fee                     0.2
      7/30/2016   709   IR0002   Owner Operator   Fuel Purchase               Fuel Purchase                     254.99
      7/30/2016   709   IR0002   Owner Operator   Fuel Purchase               Fuel Purchase                     210.56
      7/30/2016   709   IR0002   Owner Operator   IRP License Deduction       LCIL:2016 - 32901                   100
      7/30/2016   709   IR0002   Owner Operator   Tractor Charge              14461 - 32901                     521.95
      7/30/2016   709   JC0292   Owner Operator   Deferred Negative Pay       ** Net Rebill to post on 8-6       -58.9
      7/30/2016   709   JC0292   Owner Operator   Driver Excellence Program   Clean Inspection Awards              -50
      7/30/2016   709   JC0292   Owner Operator   Fuel Purchase               Fuel Purchase                         50
      7/30/2016   709   JG0017   Owner Operator   Communication Charge        PNet Hware 32908                      13
      7/30/2016   709   JG0017   Owner Operator   ESCROW                      Weekly Escrow                       500
      7/30/2016   709   JG0017   Owner Operator   Fuel Card Advances          Cash Advance                        100
      7/30/2016   709   JG0017   Owner Operator   Fuel Card Advances          Cash Advance                        200
      7/30/2016   709   JG0017   Owner Operator   Fuel Card Advances          Cash Advance Fee                       2
      7/30/2016   709   JG0017   Owner Operator   Fuel Card Advances          Cash Advance Fee                       1
      7/30/2016   709   JG0017   Owner Operator   Fuel Purchase               Fuel Purchase                       299
      7/30/2016   709   JG0017   Owner Operator   Fuel Purchase               Fuel Purchase                     445.42
      7/30/2016   709   JG0017   Owner Operator   Fuel Purchase               Fuel Purchase                     203.94
      7/30/2016   709   JG0017   Owner Operator   IRP License Deduction       LCIL:2016 - 32908                   100
      7/30/2016   709   JG0017   Owner Operator   Tractor Charge              14298 - 32908                      504.6
      7/30/2016   709   JG0072   Owner Operator   Communication Charge        PNet Hware 32909                      13
      7/30/2016   709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance                        200
      7/30/2016   709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance                        200
      7/30/2016   709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance                        100
      7/30/2016   709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance Fee                       1
      7/30/2016   709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance Fee                       2
      7/30/2016   709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance Fee                       2
      7/30/2016   709   JG0072   Owner Operator   Fuel Purchase               Fuel Purchase                     417.56
      7/30/2016   709   JG0072   Owner Operator   Fuel Purchase               Fuel Purchase                     437.32
      7/30/2016   709   JG0072   Owner Operator   Fuel Purchase               Fuel Purchase                     458.01
      7/30/2016   709   JG0072   Owner Operator   IRP License Deduction       LCIL:2016 - 32909                   100
      7/30/2016   709   JG0072   Owner Operator   Tractor Charge              14534 - 32909                     513.26
      7/30/2016   709   JQ0015   Owner Operator   Communication Charge        PNet Hware 33438                      13
      7/30/2016   709   JQ0015   Owner Operator   Fuel Purchase               Fuel Purchase                     244.79
      7/30/2016   709   JQ0015   Owner Operator   IRP License Deduction       LCIL:2016 - 33438                   100

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      7/30/2016   709   JR0099   Owner Operator   Communication Charge        PNet Hware Q1203                         13
      7/30/2016   709   JR0099   Owner Operator   Fuel Purchase               Fuel Purchase                        310.53
      7/30/2016   709   JR0099   Owner Operator   Highway Use Tax             HUTC:2017 - Q1203                     10.58
      7/30/2016   709   JR0099   Owner Operator   IRP License Deduction       LCIL:2016 - Q1203                     34.17
      7/30/2016   709   JR0099   Owner Operator   Truck Payment               CTMS - 193956 Truck Lease            278.76
      7/30/2016   709   KP0004   Owner Operator   Communication Charge        PNet Hware 32914                         13
      7/30/2016   709   KP0004   Owner Operator   ESCROW                      Weekly Escrow                          250
      7/30/2016   709   KP0004   Owner Operator   Fuel Card Advances          Cash Advance                           100
      7/30/2016   709   KP0004   Owner Operator   Fuel Card Advances          Cash Advance Fee                          1
      7/30/2016   709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                        138.48
      7/30/2016   709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                        178.05
      7/30/2016   709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                          412
      7/30/2016   709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                          390
      7/30/2016   709   KP0004   Owner Operator   IRP License Deduction       LCIL:2016 - 32914                      100
      7/30/2016   709   KP0004   Owner Operator   Tractor Charge              14457 - 32914                        519.59
      7/30/2016   709   LL0160   Owner Operator   Communication Charge        PNet Hware Q1111                          8
      7/30/2016   709   LL0160   Owner Operator   IRP License Deduction       LCIL:2016 - Q1111                      100
      7/30/2016   709   LL0160   Owner Operator   Truck Payment               CTMS - 194058 Lease Q1111            252.11
      7/30/2016   709   LS0023   Owner Operator   Communication Charge        PNet Hware 33655                         13
      7/30/2016   709   LS0023   Owner Operator   Deferred Negative Pay       ** Net Rebill to post on 8-6       -1054.09
      7/30/2016   709   LS0023   Owner Operator   Fuel Card Advances          Cash Advance                           200
      7/30/2016   709   LS0023   Owner Operator   Fuel Card Advances          Cash Advance                           200
      7/30/2016   709   LS0023   Owner Operator   Fuel Card Advances          Cash Advance Fee                          2
      7/30/2016   709   LS0023   Owner Operator   Fuel Card Advances          Cash Advance Fee                          2
      7/30/2016   709   LS0023   Owner Operator   Fuel Purchase               Fuel Purchase                        597.26
      7/30/2016   709   LS0023   Owner Operator   Fuel Purchase               Fuel Purchase                        262.91
      7/30/2016   709   LS0023   Owner Operator   IRP License Deduction       LCIL:2016 - 33655                      100
      7/30/2016   709   LS0023   Owner Operator   Tractor Wash                CTMS - 194083 SNF trailerwash7        -35.5
      7/30/2016   709   MB0048   Owner Operator   Communication Charge        PNet Hware 21727b                        13
      7/30/2016   709   MB0048   Owner Operator   Fuel Card Advances          Cash Advance                           200
      7/30/2016   709   MB0048   Owner Operator   Fuel Card Advances          Cash Advance Fee                          2
      7/30/2016   709   MB0048   Owner Operator   Fuel Purchase               Fuel Purchase                        144.42
      7/30/2016   709   MM0093   Owner Operator   Communication Charge        PNet Hware 32931                         13
      7/30/2016   709   MM0093   Owner Operator   Driver Excellence Program   Clean Inspection Awards                 -50
      7/30/2016   709   MM0093   Owner Operator   Fuel Card Advances          Cash Advance                           100
      7/30/2016   709   MM0093   Owner Operator   Fuel Card Advances          Cash Advance Fee                          1
      7/30/2016   709   MM0093   Owner Operator   Fuel Purchase               Fuel Purchase                        291.78
      7/30/2016   709   MM0093   Owner Operator   Fuel Purchase               Fuel Purchase                        303.76
      7/30/2016   709   MM0093   Owner Operator   Repair Order                CTMS - 194131 Repair                   200
      7/30/2016   709   MM0093   Owner Operator   Tractor Charge              16434 - 32931                        337.19
      7/30/2016   709   MP0035   Owner Operator   Communication Charge        PNet Hware 32904                         13
      7/30/2016   709   MP0035   Owner Operator   ESCROW                      Weekly Escrow                          650
      7/30/2016   709   MP0035   Owner Operator   IRP License Deduction       LCIL:2016 - 32904                      100
      7/30/2016   709   MP0035   Owner Operator   Tractor Charge              15571 - 32904                        323.05
      7/30/2016   709   NG0005   Owner Operator   Communication Charge        PNet Hware 21412B                        13
      7/30/2016   709   NG0005   Owner Operator   Fuel Card Advances          Cash Advance                           500
      7/30/2016   709   NG0005   Owner Operator   Fuel Card Advances          Cash Advance Fee                          5
      7/30/2016   709   NG0005   Owner Operator   Fuel Purchase               Fuel Purchase                        250.35
      7/30/2016   709   NG0005   Owner Operator   Fuel Purchase               Fuel Purchase                        175.49
      7/30/2016   709   NG0005   Owner Operator   Fuel Purchase               Fuel Purchase                         83.74
      7/30/2016   709   NG0005   Owner Operator   IRP License Deduction       LCIL:2016 - 21412B                     100
      7/30/2016   709   NR0010   Owner Operator   Communication Charge        PNet Hware Q1106                         13
      7/30/2016   709   NR0010   Owner Operator   Fuel Card Advances          Cash Advance                           300
      7/30/2016   709   NR0010   Owner Operator   Fuel Card Advances          Cash Advance Fee                          3
      7/30/2016   709   NR0010   Owner Operator   Fuel Purchase               Fuel Purchase                        117.06
      7/30/2016   709   NR0010   Owner Operator   Fuel Purchase               Fuel Purchase                        247.18
      7/30/2016   709   NR0010   Owner Operator   IRP License Deduction       LCIL:2016 - Q1106                      100
      7/30/2016   709   NR0010   Owner Operator   Truck Payment               CTMS - 193955 Tractor Sublease       252.11
      7/30/2016   709   NT9564   Owner Operator   Communication Charge        PNet Hware 73130                         13
      7/30/2016   709   NT9564   Owner Operator   ESCROW                      Weekly Escrow                            50
      7/30/2016   709   NT9564   Owner Operator   Highway Use Tax             HUTC:2017 - 73130                     10.58
      7/30/2016   709   NT9564   Owner Operator   IRP License Deduction       LCIL:2016 - 73130                     34.17
      7/30/2016   709   NT9564   Owner Operator   Truck Payment               CTMS - 193998 Truck 73130 Leas       196.65
      7/30/2016   709   RC0030   Owner Operator   Driver Excellence Program   Clean Inspection Awards                 -50
      7/30/2016   709   RC0030   Owner Operator   Truck Payment               CTMS - 193955 Down Payment lo        303.55
      7/30/2016   709   RC0089   Owner Operator   Driver Excellence Program   Clean Inspection Awards                 -50
      7/30/2016   709   RC0089   Owner Operator   Fuel Card Advances          Cash Advance                           500
      7/30/2016   709   RC0089   Owner Operator   Fuel Card Advances          Cash Advance Fee                          5
      7/30/2016   709   RC0089   Owner Operator   Fuel Purchase               Fuel Purchase                        257.81
      7/30/2016   709   RC0089   Owner Operator   Fuel Purchase               Fuel Purchase                        232.67
      7/30/2016   709   RC0089   Owner Operator   IRP License Deduction       LCIL:2016 - 32986                      100
      7/30/2016   709   RC0089   Owner Operator   Tractor Charge              14592 - 32986                        504.72
      7/30/2016   709   RL0017   Owner Operator   Driver Excellence Program   Clean Inspection Awards                 -50

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      7/30/2016   709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                        364.59
      7/30/2016   709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                          150
      7/30/2016   709   RL0017   Owner Operator   IRP License Deduction   LCIL:2016 - 21975A                     100
      7/30/2016   709   RL0062   Owner Operator   Communication Charge    PNet Hware 32912                         13
      7/30/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                           100
      7/30/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                           100
      7/30/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
      7/30/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
      7/30/2016   709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                        417.38
      7/30/2016   709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                        364.72
      7/30/2016   709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                        402.98
      7/30/2016   709   RL0062   Owner Operator   IRP License Deduction   LCIL:2016 - 32912                      100
      7/30/2016   709   RL0062   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment        258.68
      7/30/2016   709   RL0062   Owner Operator   Tractor Charge          14460 - 32912                        512.16
      7/30/2016   709   RM0026   Owner Operator   Communication Charge    PNet Hware 33664                         13
      7/30/2016   709   RM0026   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 8-6       -1033.99
      7/30/2016   709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                        359.51
      7/30/2016   709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                        295.17
      7/30/2016   709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                         380.4
      7/30/2016   709   RM0026   Owner Operator   IRP License Deduction   LCIL:2016 - 33664                      100
      7/30/2016   709   RM0026   Owner Operator   Tire Purchase           PO: 709-00338037 - PO System         879.85
      7/30/2016   709   RP0082   Owner Operator   Communication Charge    PNet Hware Q1202                         13
      7/30/2016   709   RP0082   Owner Operator   Fuel Card Advances      Cash Advance                             60
      7/30/2016   709   RP0082   Owner Operator   Fuel Card Advances      Cash Advance Fee                        0.6
      7/30/2016   709   RP0082   Owner Operator   Fuel Purchase           Fuel Purchase                        156.94
      7/30/2016   709   RP0082   Owner Operator   Fuel Purchase           Fuel Purchase                        311.48
      7/30/2016   709   RP0082   Owner Operator   Fuel Purchase           Fuel Purchase                        299.39
      7/30/2016   709   RP0082   Owner Operator   Highway Use Tax         HUTC:2017 - Q1202                     10.58
      7/30/2016   709   RP0082   Owner Operator   IRP License Deduction   LCIL:2016 - Q1202                     34.17
      7/30/2016   709   RP0082   Owner Operator   Truck Payment           CTMS - 193956 Q1202 Truck Leas       278.76
      7/30/2016   709   RR0123   Owner Operator   Communication Charge    PNet Hware Q1248                          8
      7/30/2016   709   RR0123   Owner Operator   Communication Charge    PNet Hware Q1248                          8
      7/30/2016   709   RR0123   Owner Operator   ESCROW                  Weekly Escrow                          1.57
      7/30/2016   709   RR0123   Owner Operator   ESCROW                  Weekly Escrow                            50
      7/30/2016   709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                        353.83
      7/30/2016   709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                        239.03
      7/30/2016   709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                        338.89
      7/30/2016   709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                        331.84
      7/30/2016   709   RR0123   Owner Operator   Highway Use Tax         HUTC:2017 - Q1248                     10.58
      7/30/2016   709   RR0123   Owner Operator   IRP License Deduction   LCIL:2016 - Q1248                     34.17
      7/30/2016   709   RR0123   Owner Operator   Truck Payment           CTMS - 193808 Q1248                  311.97
      7/30/2016   709   RR0123   Owner Operator   Truck Payment           CTMS - 193996 Q1248                  311.97
      7/30/2016   709   SB0009   Owner Operator   Communication Charge    PNet Hware 33236                         13
      7/30/2016   709   SB0009   Owner Operator   ESCROW                  Weekly Escrow                          200
      7/30/2016   709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance                           200
      7/30/2016   709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      7/30/2016   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                        116.53
      7/30/2016   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                        201.52
      7/30/2016   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                        167.55
      7/30/2016   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                        324.62
      7/30/2016   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                        309.76
      7/30/2016   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                        278.01
      7/30/2016   709   SB0009   Owner Operator   IRP License Deduction   LCIL:2016 - 33236                      100
      7/30/2016   709   SB0009   Owner Operator   Tractor Charge          19100 - 33236                        564.33
      7/30/2016   709   SN0019   Owner Operator   Communication Charge    PNet Hware 33461                         13
      7/30/2016   709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                        122.94
      7/30/2016   709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                        263.74
      7/30/2016   709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                        270.79
      7/30/2016   709   VB0015   Owner Operator   Communication Charge    PNet Hware Q1112                          8
      7/30/2016   709   VB0015   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 8-6            -15
      7/30/2016   709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                         317.5
      7/30/2016   709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                          344
      7/30/2016   709   VB0015   Owner Operator   IRP License Deduction   LCIL:2016 - Q1112                      100
      7/30/2016   709   VB0015   Owner Operator   Truck Payment           CTMS - 194102 Tractor Sub leas       242.03
      7/30/2016   709   VJ0006   Owner Operator   BOBTAIL INS.            2010 Freightliner NTL                  8.75
      7/30/2016   709   VJ0006   Owner Operator   Communication Charge    PNet Hware 32945                         13
      7/30/2016   709   VJ0006   Owner Operator   Communication Charge    PNet Hware 32945                         13
      7/30/2016   709   VJ0006   Owner Operator   ESCROW                  Weekly Escrow                          200
      7/30/2016   709   VJ0006   Owner Operator   ESCROW                  Weekly Escrow                          200
      7/30/2016   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                           200
      7/30/2016   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                           100
      7/30/2016   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                         113.34
      7/30/2016   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                           120

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      7/30/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.2
      7/30/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      7/30/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      7/30/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      272.37
      7/30/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      143.75
      7/30/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      279.12
      7/30/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      167.19
      7/30/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      304.72
      7/30/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.6
      7/30/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      153.72
      7/30/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      124.62
      7/30/2016   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                    100
      7/30/2016   709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                    100
      7/30/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      7/30/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                55.47
      7/30/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                       375.9
      7/30/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                       375.9
      7/30/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                       13
      7/30/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                        8
      7/30/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                          50
      7/30/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                         100
      7/30/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      7/30/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        266
      7/30/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                      253.71
      7/30/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                      214.63
      7/30/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                      145.93
      7/30/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                   10.58
      7/30/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                   34.17
      7/30/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 193996 Q1238 Lease          311.97
      7/30/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                       13
      7/30/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
      7/30/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
      7/30/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
      7/30/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
      7/30/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                         100
      7/30/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      7/30/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      7/30/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      7/30/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      7/30/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      7/30/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      219.93
      7/30/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      159.21
      7/30/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      314.43
      7/30/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      310.21
      7/30/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      348.75
      7/30/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                      381.17
      7/30/2016   742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System       162.45
      7/30/2016   742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System      -206.47
      7/30/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                       13
      7/30/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      286.25
      7/30/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      136.65
      7/30/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       94.22
      7/30/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      126.86
      7/30/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                      179.51
      7/30/2016   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                    100
      7/30/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                          50
      7/30/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      441.43
      7/30/2016   742   CA0089   Owner Operator   Permits                        IL02:2016 - 33832                    3.75
      7/30/2016   742   CA0089   Owner Operator   Repair Order                   CTMS - 193989 repair               215.24
      7/30/2016   742   DA0067   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -50
      7/30/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                          50
      7/30/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                      400.01
      7/30/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          16
      7/30/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                       13
      7/30/2016   742   ED0041   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -50
      7/30/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      216.82
      7/30/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                      157.74
      7/30/2016   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                    100
      7/30/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                       13
      7/30/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                         200
      7/30/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      7/30/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      138.56
      7/30/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      355.54

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      7/30/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                     354.61
      7/30/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      230.3
      7/30/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                      141.7
      7/30/2016   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                   100
      7/30/2016   742   EN0016   Owner Operator   Tire Fee                       Tire Fee: 1939046                      8
      7/30/2016   742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00338200 - PO System       195.2
      7/30/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                      419.4
      7/30/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                         50
      7/30/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                     232.35
      7/30/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                     384.79
      7/30/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                     285.61
      7/30/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-6      -45.83
      7/30/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                      13
      7/30/2016   742   KJ0045   Owner Operator   Driver Excellence Program      Clean Inspection Awards              -50
      7/30/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                         50
      7/30/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                     195.45
      7/30/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                      271.7
      7/30/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                     258.04
      7/30/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       285
      7/30/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/30/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/30/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                     272.47
      7/30/2016   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                   100
      7/30/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                     554.49
      7/30/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                      8.75
      7/30/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                      13
      7/30/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                      13
      7/30/2016   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                  64.66
      7/30/2016   742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                   100
      7/30/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      7/30/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         75
      7/30/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism              2.5
      7/30/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      7/30/2016   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                12.5
      7/30/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                      13
      7/30/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                      13
      7/30/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                      13
      7/30/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                      13
      7/30/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                       200
      7/30/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                       200
      7/30/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                       200
      7/30/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                       200
      7/30/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                        100
      7/30/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      7/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     282.07
      7/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     230.77
      7/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     184.85
      7/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     166.46
      7/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     268.47
      7/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     248.23
      7/30/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     374.19
      7/30/2016   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                   100
      7/30/2016   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                   100
      7/30/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      55.75
      7/30/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              104.38
      7/30/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                     509.18
      7/30/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                     509.18
      7/30/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                     13
      7/30/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                     337.12
      7/30/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      95.24
      7/30/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      293.3
      7/30/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                 10.58
      7/30/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                 34.17
      7/30/2016   742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00337791 - PO System        137
      7/30/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                      13
      7/30/2016   844   JK0112   Owner Operator   ESCROW                         Weekly Escrow                         50
      7/30/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                        200
      7/30/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                        100
      7/30/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      7/30/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      7/30/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                     325.65
      7/30/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                     114.25
      7/30/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                     331.49

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      7/30/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.52
      7/30/2016   844   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                     100
      7/30/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
       8/6/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
       8/6/2016   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
       8/6/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
       8/6/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.22
       8/6/2016   709   AN0007   Owner Operator   IRP License Deduction          LCIL:2016 - 21157A                   76.62
       8/6/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/6/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
       8/6/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
       8/6/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
       8/6/2016   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
       8/6/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
       8/6/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
       8/6/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.68
       8/6/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         227
       8/6/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       117.73
       8/6/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.1
       8/6/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
       8/6/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
       8/6/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/6/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
       8/6/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 194031 Trck Lease            353.28
       8/6/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 194189 Trck Lease            353.28
       8/6/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
       8/6/2016   709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                 12.5
       8/6/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
       8/6/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
       8/6/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        50.18
       8/6/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         200
       8/6/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.18
       8/6/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.83
       8/6/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.53
       8/6/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       109.74
       8/6/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
       8/6/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
       8/6/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/6/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
       8/6/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 194186 Q13169 Sublease       352.68
       8/6/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
       8/6/2016   709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                 12.5
       8/6/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
       8/6/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
       8/6/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.49
       8/6/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          1.4
       8/6/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.17
       8/6/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.36
       8/6/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
       8/6/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
       8/6/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/6/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
       8/6/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 194167 Q13168 sub lease      352.68
       8/6/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       8/6/2016   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
       8/6/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
       8/6/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       451.87
       8/6/2016   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2016 - 32920                    76.62
       8/6/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/6/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
       8/6/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
       8/6/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
       8/6/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
       8/6/2016   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
       8/6/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
       8/6/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.53
       8/6/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        230.5
       8/6/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.06
       8/6/2016   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2016 - 32864                    76.62
       8/6/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
       8/6/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/6/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
       8/6/2016   709   CR0064   Owner Operator   Repair Order                   CTMS - 194131 Repair                  452

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      8/6/2016    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                     245.63
      8/6/2016    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL         8.75
      8/6/2016    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                12.5
      8/6/2016    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                       8
      8/6/2016    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                     322.63
      8/6/2016    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2017 - Q1201                  10.58
      8/6/2016    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                  34.17
      8/6/2016    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/6/2016    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD         65.08
      8/6/2016    709   CS0091   Owner Operator   Truck Payment                  CTMS - 194166 Q1201               278.76
      8/6/2016    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL               8.75
      8/6/2016    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL               8.75
      8/6/2016    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL               8.75
      8/6/2016    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                12.5
      8/6/2016    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/6/2016    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/6/2016    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     366.69
      8/6/2016    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     179.27
      8/6/2016    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     381.58
      8/6/2016    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/6/2016    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                34.2
      8/6/2016    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                34.2
      8/6/2016    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                34.2
      8/6/2016    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                34.2
      8/6/2016    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL            8.75
      8/6/2016    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL            8.75
      8/6/2016    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                12.5
      8/6/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                      13
      8/6/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                      13
      8/6/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                      13
      8/6/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                        300
      8/6/2016    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      8/6/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      565.8
      8/6/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                     160.48
      8/6/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      238.2
      8/6/2016    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                  10.58
      8/6/2016    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                  10.58
      8/6/2016    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                  10.58
      8/6/2016    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                  34.17
      8/6/2016    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                  34.17
      8/6/2016    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                  34.17
      8/6/2016    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/6/2016    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/6/2016    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD            65.69
      8/6/2016    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD            65.71
      8/6/2016    709   DL0107   Owner Operator   Tire Fee                       905-02262415: Q1245                    4
      8/6/2016    709   DL0107   Owner Operator   Tire Purchase                  905-02262415                      137.32
      8/6/2016    709   DL0107   Owner Operator   Tire Purchase                  905-02262415                      137.32
      8/6/2016    709   DL0107   Owner Operator   Tire Purchase                  905-02262415                      137.32
      8/6/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 193765 Sublease            338.99
      8/6/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 193949 Sublease            338.99
      8/6/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 194139 Sublease            338.99
      8/6/2016    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                18.38
      8/6/2016    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/6/2016    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                12.5
      8/6/2016    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                      13
      8/6/2016    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-30      270.84
      8/6/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                        500
      8/6/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      8/6/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                     264.24
      8/6/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                     469.65
      8/6/2016    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2016 - 32915                  76.62
      8/6/2016    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/6/2016    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               92.35
      8/6/2016    709   DS0049   Owner Operator   Tire Fee                       Tire Fee: 1941234                     24
      8/6/2016    709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00338142 - PO System      557.25
      8/6/2016    709   DS0049   Owner Operator   Toll Charges                   CA 32915 Carquinez Bridge             25
      8/6/2016    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                     512.35
      8/6/2016    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                32.95
      8/6/2016    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                  8.75
      8/6/2016    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                     335.17
      8/6/2016    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2016 - 33320                  76.62
      8/6/2016    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5

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      8/6/2016    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    19.54
      8/6/2016    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      8/6/2016    709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  2.61
      8/6/2016    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      8/6/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.44
      8/6/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.11
      8/6/2016    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2016 - 33443                    76.62
      8/6/2016    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      8/6/2016    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      8/6/2016    709   DW0138   Owner Operator   Toll Charges                   CA 33443 Carquinez Bridge               25
      8/6/2016    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      8/6/2016    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/6/2016    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                  12.5
      8/6/2016    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      8/6/2016    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      8/6/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/6/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/6/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/6/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/6/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/6/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/6/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.55
      8/6/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.33
      8/6/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.96
      8/6/2016    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2016 - 33051                    76.62
      8/6/2016    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      8/6/2016    709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00338304 - PO System        326.44
      8/6/2016    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      8/6/2016    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/6/2016    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                  12.5
      8/6/2016    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      8/6/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/6/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/6/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.51
      8/6/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.86
      8/6/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.64
      8/6/2016    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2016 - 32910                    76.62
      8/6/2016    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      8/6/2016    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      8/6/2016    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      8/6/2016    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
      8/6/2016    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/6/2016    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                           500
      8/6/2016    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      8/6/2016    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          350
      8/6/2016    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.15
      8/6/2016    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       127.46
      8/6/2016    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                      100
      8/6/2016    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
      8/6/2016    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      8/6/2016    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 8/5 #17105                   350.36
      8/6/2016    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/6/2016    709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                  12.5
      8/6/2016    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      8/6/2016    709   EH0020   Owner Operator   ESCROW                         Escrow Withdrawal                    -4700
      8/6/2016    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      8/6/2016    709   EH0020   Owner Operator   Express Check                  T-Check Payment                       4700
      8/6/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/6/2016    709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/6/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.82
      8/6/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        30.18
      8/6/2016    709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.41
      8/6/2016    709   EH0020   Owner Operator   IRP License Deduction          LCIL:2016 - 33065                    76.62
      8/6/2016    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   EH0020   Owner Operator   Permits                        NM07:2016 - 33065                      5.5
      8/6/2016    709   EH0020   Owner Operator   Permits                        NY13:2016 - 33065                      1.5
      8/6/2016    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      8/6/2016    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      8/6/2016    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      8/6/2016    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                  12.5

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      8/6/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      8/6/2016    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/6/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.45
      8/6/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.45
      8/6/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.56
      8/6/2016    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33040                    76.62
      8/6/2016    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      8/6/2016    709   FS0039   Owner Operator   Truck Payment                  CTMS - 194184 truck lease 3304      434.29
      8/6/2016    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      8/6/2016    709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
      8/6/2016    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      8/6/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            85
      8/6/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            60
      8/6/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      8/6/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.85
      8/6/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.08
      8/6/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.94
      8/6/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       106.83
      8/6/2016    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      8/6/2016    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      8/6/2016    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      8/6/2016    709   FT0004   Owner Operator   Truck Payment                  CTMS - 194169 73129                 181.08
      8/6/2016    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      8/6/2016    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
      8/6/2016    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      8/6/2016    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/6/2016    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/6/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.75
      8/6/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.26
      8/6/2016    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2016 - 21521B                   76.62
      8/6/2016    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      8/6/2016    709   FV0001   Owner Operator   Toll Charges                   CA 21521B Carquinez Bridge              25
      8/6/2016    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      8/6/2016    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                  12.5
      8/6/2016    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      8/6/2016    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1110                    76.62
      8/6/2016    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      8/6/2016    709   GS0015   Owner Operator   Truck Payment                  CTMS - 194169 Lease                 252.11
      8/6/2016    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      8/6/2016    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      8/6/2016    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      8/6/2016    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/6/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.65
      8/6/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.06
      8/6/2016    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2016 - 33180                    76.62
      8/6/2016    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      8/6/2016    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      8/6/2016    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      8/6/2016    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      8/6/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/6/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/6/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.39
      8/6/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.1
      8/6/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.14
      8/6/2016    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2016 - 33418                    76.62
      8/6/2016    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      8/6/2016    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      8/6/2016    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/6/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         33.97
      8/6/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.34
      8/6/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.34
      8/6/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.31
      8/6/2016    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2016 - 32901                    76.62
      8/6/2016    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      8/6/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/6/2016    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95

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      8/6/2016    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL               8.75
      8/6/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                       200
      8/6/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                       200
      8/6/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      8/6/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      8/6/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                    139.21
      8/6/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                    468.79
      8/6/2016    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                 76.62
      8/6/2016    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      8/6/2016    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD               78.13
      8/6/2016    709   JC0292   Owner Operator   Toll Charges                   DIBC                               27.5
      8/6/2016    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                    458.72
      8/6/2016    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      8/6/2016    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device               12.5
      8/6/2016    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                     13
      8/6/2016    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                      500
      8/6/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                       300
      8/6/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                      3
      8/6/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    337.37
      8/6/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    402.53
      8/6/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                    335.52
      8/6/2016    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2016 - 32908                 76.62
      8/6/2016    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      8/6/2016    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              90.86
      8/6/2016    709   JG0017   Owner Operator   Toll Charges                   CA 32908 Carquinez Bridge            25
      8/6/2016    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                     504.6
      8/6/2016    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services               32.95
      8/6/2016    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75
      8/6/2016    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device               12.5
      8/6/2016    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                     13
      8/6/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                       200
      8/6/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                       100
      8/6/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                       200
      8/6/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      8/6/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      8/6/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      8/6/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                    408.56
      8/6/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                    292.89
      8/6/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                    452.96
      8/6/2016    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2016 - 32909                 76.62
      8/6/2016    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      8/6/2016    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              74.22
      8/6/2016    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                    513.26
      8/6/2016    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                 8.75
      8/6/2016    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device               12.5
      8/6/2016    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                        50
      8/6/2016    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                        50
      8/6/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                    330.04
      8/6/2016    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                 76.62
      8/6/2016    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2016 - 33669                  100
      8/6/2016    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      8/6/2016    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                  61.7
      8/6/2016    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL              8.75
      8/6/2016    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device               12.5
      8/6/2016    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                     13
      8/6/2016    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                         95
      8/6/2016    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                   0.95
      8/6/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     99.81
      8/6/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     76.24
      8/6/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                    232.79
      8/6/2016    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2016 - 33438                 76.62
      8/6/2016    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      8/6/2016    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD              19.54
      8/6/2016    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL        8.75
      8/6/2016    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device               12.5
      8/6/2016    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                     13
      8/6/2016    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                    316.76
      8/6/2016    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2017 - Q1203                 10.58
      8/6/2016    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                 34.17
      8/6/2016    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      8/6/2016    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD         58.6
      8/6/2016    709   JR0099   Owner Operator   Truck Payment                  CTMS - 194144 Truck Lease        278.76
      8/6/2016    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL              8.75

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      8/6/2016    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
      8/6/2016    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      8/6/2016    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      8/6/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/6/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/6/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.75
      8/6/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        170.17
      8/6/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          320
      8/6/2016    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2016 - 32914                     76.62
      8/6/2016    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/6/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      8/6/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      8/6/2016    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      8/6/2016    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      8/6/2016    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                   12.5
      8/6/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      8/6/2016    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2016 - Q1111                     76.62
      8/6/2016    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/6/2016    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      8/6/2016    709   LL0160   Owner Operator   Truck Payment                  CTMS - 194205 Lease Q1111            252.11
      8/6/2016    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      8/6/2016    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                   12.5
      8/6/2016    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      8/6/2016    709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-30        1054.09
      8/6/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/6/2016    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/6/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        597.12
      8/6/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        107.67
      8/6/2016    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2016 - 33655                     76.62
      8/6/2016    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/6/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      8/6/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      8/6/2016    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      8/6/2016    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                  12.5
      8/6/2016    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      8/6/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        140.58
      8/6/2016    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/6/2016    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      8/6/2016    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      8/6/2016    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                   12.5
      8/6/2016    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      8/6/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/6/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/6/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/6/2016    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/6/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        252.12
      8/6/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.79
      8/6/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        273.24
      8/6/2016    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/6/2016    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      8/6/2016    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      8/6/2016    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      8/6/2016    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                   12.5
      8/6/2016    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      8/6/2016    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      8/6/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/6/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/6/2016    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        497.57
      8/6/2016    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2016 - 32904                     76.62
      8/6/2016    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/6/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      8/6/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      8/6/2016    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      8/6/2016    709   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                     10.58
      8/6/2016    709   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                     34.17
      8/6/2016    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      8/6/2016    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                   12.5
      8/6/2016    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      8/6/2016    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      8/6/2016    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      8/6/2016    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      8/6/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.84
      8/6/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        255.91

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      8/6/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.15
      8/6/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        192.8
      8/6/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.55
      8/6/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.01
      8/6/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.62
      8/6/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.83
      8/6/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.88
      8/6/2016    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                     100
      8/6/2016    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2016 - Q1108                    76.62
      8/6/2016    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      8/6/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 194064 Lease                 215.66
      8/6/2016    709   NB0029   Owner Operator   Truck Payment                  CTMS - 194211 Lease                 215.66
      8/6/2016    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      8/6/2016    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      8/6/2016    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                 12.5
      8/6/2016    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      8/6/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/6/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/6/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.12
      8/6/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.84
      8/6/2016    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2016 - 21412B                   76.62
      8/6/2016    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      8/6/2016    709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      8/6/2016    709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                  12.5
      8/6/2016    709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      8/6/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.56
      8/6/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.61
      8/6/2016    709   NR0010   Owner Operator   IRP License Deduction          LCIL:2016 - Q1106                    76.62
      8/6/2016    709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      8/6/2016    709   NR0010   Owner Operator   Truck Payment                  CTMS - 194143 Tractor Sublease      252.11
      8/6/2016    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      8/6/2016    709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                  12.5
      8/6/2016    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
      8/6/2016    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/6/2016    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
      8/6/2016    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
      8/6/2016    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      8/6/2016    709   NT9564   Owner Operator   Truck Payment                  CTMS - 194167 Truck 73130 Leas      196.65
      8/6/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      8/6/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      8/6/2016    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      8/6/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      8/6/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      8/6/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      8/6/2016    709   RC0030   Owner Operator   Truck Payment                  CTMS - 194144 Down Payment lo       303.55
      8/6/2016    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      8/6/2016    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/6/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      8/6/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      8/6/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.83
      8/6/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.98
      8/6/2016    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2016 - 32986                    76.62
      8/6/2016    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      8/6/2016    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      8/6/2016    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      8/6/2016    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                 12.5
      8/6/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.62
      8/6/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.79
      8/6/2016    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2016 - 21975A                   76.62
      8/6/2016    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      8/6/2016    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/6/2016    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      8/6/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/6/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/6/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       415.26
      8/6/2016    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2016 - 32912                    76.62

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      8/6/2016    709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        258.68
      8/6/2016    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/6/2016    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
      8/6/2016    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      8/6/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      8/6/2016    709   RM0026   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-30        1033.99
      8/6/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.18
      8/6/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        364.44
      8/6/2016    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                     76.62
      8/6/2016    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/6/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
      8/6/2016    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00338037 - PO System          594.2
      8/6/2016    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      8/6/2016    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      8/6/2016    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                   12.5
      8/6/2016    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      8/6/2016    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                             60
      8/6/2016    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.6
      8/6/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        148.29
      8/6/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.3
      8/6/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.02
      8/6/2016    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2017 - Q1202                     10.58
      8/6/2016    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                     34.17
      8/6/2016    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/6/2016    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      8/6/2016    709   RP0082   Owner Operator   Truck Payment                  CTMS - 194144 Q1202 Truck Leas       278.76
      8/6/2016    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
      8/6/2016    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                   12.5
      8/6/2016    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
      8/6/2016    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/6/2016    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/6/2016    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/6/2016    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/6/2016    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/6/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.07
      8/6/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        229.09
      8/6/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.62
      8/6/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.79
      8/6/2016    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                     10.58
      8/6/2016    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
      8/6/2016    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/6/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
      8/6/2016    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
      8/6/2016    709   RR0123   Owner Operator   Truck Payment                  CTMS - 194166 Q1248                  311.97
      8/6/2016    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      8/6/2016    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                   12.5
      8/6/2016    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
      8/6/2016    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
      8/6/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/6/2016    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/6/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        192.74
      8/6/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        155.56
      8/6/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        396.87
      8/6/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.5
      8/6/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.5
      8/6/2016    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2016 - 33236                     76.62
      8/6/2016    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/6/2016    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
      8/6/2016    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
      8/6/2016    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      8/6/2016    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
      8/6/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.41
      8/6/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        177.61
      8/6/2016    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/6/2016    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
      8/6/2016    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
      8/6/2016    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                   12.5
      8/6/2016    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      8/6/2016    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-30             15
      8/6/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        327.01
      8/6/2016    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2016 - Q1112                     76.62
      8/6/2016    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/6/2016    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5

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      8/6/2016    709   VB0015   Owner Operator   Truck Payment                  CTMS - 194253 Tractor Sub leas      242.03
      8/6/2016    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      8/6/2016    709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
      8/6/2016    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      8/6/2016    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      8/6/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          120
      8/6/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
      8/6/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.71
      8/6/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.8
      8/6/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.95
      8/6/2016    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 32945                    76.62
      8/6/2016    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      8/6/2016    709   VJ0006   Owner Operator   Repair Order                   CTMS - 194131 Repair                 355.5
      8/6/2016    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      8/6/2016    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      8/6/2016    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      8/6/2016    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      8/6/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      8/6/2016    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      8/6/2016    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                  12.5
      8/6/2016    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      8/6/2016    709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/6/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.82
      8/6/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.23
      8/6/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.13
      8/6/2016    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
      8/6/2016    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      8/6/2016    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      8/6/2016    709   WH0087   Owner Operator   Truck Payment                  CTMS - 194166 Q1238 Lease           311.97
      8/6/2016    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      8/6/2016    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      8/6/2016    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      8/6/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/6/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/6/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        181.3
      8/6/2016    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
      8/6/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      8/6/2016    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00334379 - PO System         -0.06
      8/6/2016    742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
      8/6/2016    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/6/2016    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       478.91
      8/6/2016    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.11
      8/6/2016    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.34
      8/6/2016    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    742   CA0089   Owner Operator   Permits                        NM07:2016 - 33832                      5.5
      8/6/2016    742   CA0089   Owner Operator   Permits                        OR16:2016 - 33832                        8
      8/6/2016    742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.16
      8/6/2016    742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      8/6/2016    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/6/2016    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
      8/6/2016    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/6/2016    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.81
      8/6/2016    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.85
      8/6/2016    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.31
      8/6/2016    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.71
      8/6/2016    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.32
      8/6/2016    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/6/2016    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
      8/6/2016    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                         8
      8/6/2016    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/6/2016    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.13
      8/6/2016    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
      8/6/2016    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      8/6/2016    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-30         45.83
      8/6/2016    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      8/6/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      8/6/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5

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      8/6/2016    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      8/6/2016    742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                  12.5
      8/6/2016    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      8/6/2016    742   KJ0045   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-13         -114
      8/6/2016    742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/6/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.86
      8/6/2016    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      8/6/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      8/6/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/6/2016    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/6/2016    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         3.02
      8/6/2016    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      8/6/2016    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      8/6/2016    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      8/6/2016    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2016 - 33296                    76.62
      8/6/2016    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      8/6/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      8/6/2016    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
      8/6/2016    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
      8/6/2016    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/6/2016    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/6/2016    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.42
      8/6/2016    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.09
      8/6/2016    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.45
      8/6/2016    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.57
      8/6/2016    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
      8/6/2016    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      8/6/2016    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      8/6/2016    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      8/6/2016    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      8/6/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.01
      8/6/2016    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                      100
      8/6/2016    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2016 - 33252                    76.62
      8/6/2016    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      8/6/2016    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      8/6/2016    742   NG0024   Owner Operator   Toll Charges                   CA 33252 Carquinez Bridge               25
      8/6/2016    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/6/2016    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
      8/6/2016    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      8/6/2016    742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                    -1300
      8/6/2016    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      8/6/2016    742   PC0012   Owner Operator   Express Check                  T-Check Payment                       1300
      8/6/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.86
      8/6/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.96
      8/6/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.27
      8/6/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.7
      8/6/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.55
      8/6/2016    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2016 - 32969                    76.62
      8/6/2016    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      8/6/2016    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      8/6/2016    742   PC0012   Owner Operator   Toll Charges                   CA 32969 Bay Bridge                      5
      8/6/2016    742   PC0012   Owner Operator   Toll Charges                   CA 32969 Carquinez Bridge               25
      8/6/2016    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      8/6/2016    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      8/6/2016    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
      8/6/2016    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      8/6/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.91
      8/6/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.59
      8/6/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.87
      8/6/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.57
      8/6/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        280.5
      8/6/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.52
      8/6/2016    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
      8/6/2016    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      8/6/2016    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/6/2016    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      8/6/2016    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      8/6/2016    742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00337791 - PO System           137
      8/6/2016    742   RN0054   Owner Operator   Truck Payment                  CTMS - 194146 Tractor Lease         353.28

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       8/6/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
       8/6/2016   844   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
       8/6/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
       8/6/2016   844   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
       8/6/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
       8/6/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
       8/6/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       8/6/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       8/6/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.88
       8/6/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.34
       8/6/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        70.19
       8/6/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.47
       8/6/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.25
       8/6/2016   844   JK0112   Owner Operator   IRP License Deduction          LCIL:2016 - 33211                    76.62
       8/6/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       8/6/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
       8/6/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
       8/6/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      8/13/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      8/13/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      8/13/2016   709   AN0007   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 99.01
      8/13/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      8/13/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      8/13/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      8/13/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      8/13/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.95
      8/13/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         220
      8/13/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.72
      8/13/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.37
      8/13/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.92
      8/13/2016   709   AR0064   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                117.67
      8/13/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      8/13/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      8/13/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      8/13/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 194374 Trck Lease            353.28
      8/13/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      8/13/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      8/13/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/13/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/13/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/13/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.68
      8/13/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         286
      8/13/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       174.69
      8/13/2016   709   AV0021   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 34.67
      8/13/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      8/13/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      8/13/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      8/13/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 194371 Q13169 Sublease       352.68
      8/13/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      8/13/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      8/13/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/13/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        69.39
      8/13/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.73
      8/13/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.76
      8/13/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.88
      8/13/2016   709   CC0134   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 22.94
      8/13/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      8/13/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      8/13/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      8/13/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 194332 Q13168 sub lease      352.68
      8/13/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/13/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      8/13/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/13/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/13/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       426.73
      8/13/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         361
      8/13/2016   709   CM0119   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 79.57
      8/13/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96

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      8/13/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      8/13/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
      8/13/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      8/13/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      8/13/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.14
      8/13/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        131.19
      8/13/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment        258.39
      8/13/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
      8/13/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      8/13/2016   709   CR0064   Owner Operator   Truck Payment                  CTMS - 194317 Truck Rental            63.27
      8/13/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
      8/13/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      8/13/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        327.57
      8/13/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.56
      8/13/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2017 - Q1201                     10.58
      8/13/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                     34.17
      8/13/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
      8/13/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 194330 Q1201                  278.76
      8/13/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
      8/13/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
      8/13/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/13/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        182.79
      8/13/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.8
      8/13/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.2
      8/13/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.19
      8/13/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      8/13/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      8/13/2016   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
      8/13/2016   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      8/13/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        490.53
      8/13/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        268.18
      8/13/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        202.97
      8/13/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.42
      8/13/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.81
      8/13/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                     10.58
      8/13/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                     34.17
      8/13/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
      8/13/2016   709   DL0107   Owner Operator   Tire Purchase                  905-02262415                         137.32
      8/13/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 194294 Sublease               338.99
      8/13/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
      8/13/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/13/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      8/13/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      8/13/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      8/13/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.84
      8/13/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        425.32
      8/13/2016   709   DS0049   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                  14.43
      8/13/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
      8/13/2016   709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00338142 - PO System         557.25
      8/13/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      8/13/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      8/13/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        419.63
      8/13/2016   709   DS0225   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 -40.82
      8/13/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     19.54
      8/13/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
      8/13/2016   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                   9.89
      8/13/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      8/13/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        333.78
      8/13/2016   709   DW0138   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 146.27
      8/13/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      8/13/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
      8/13/2016   709   DW0138   Owner Operator   Toll Charges                   33443 ILTOLL 43                         3.4
      8/13/2016   709   DW0138   Owner Operator   Toll Charges                   33443 ILTOLL 45                         3.4
      8/13/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      8/13/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/13/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      8/13/2016   709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-20       -212.99

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      8/13/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      8/13/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/13/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/13/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/13/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/13/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.77
      8/13/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.49
      8/13/2016   709   EA0003   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                137.43
      8/13/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      8/13/2016   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00338304 - PO System        326.44
      8/13/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      8/13/2016   709   EE0011   Owner Operator   Accident Claim                 07/25/16 EE0011 Physical Damag       -1000
      8/13/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/13/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/13/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/13/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       114.51
      8/13/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.02
      8/13/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.32
      8/13/2016   709   EE0011   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 72.21
      8/13/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      8/13/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      8/13/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  8.75
      8/13/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                          8
      8/13/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/13/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       389.72
      8/13/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.91
      8/13/2016   709   EG0062   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                118.33
      8/13/2016   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                      100
      8/13/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
      8/13/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism          2.5
      8/13/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 8/11 #17105                  350.36
      8/13/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/13/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
      8/13/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
      8/13/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/13/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/13/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.11
      8/13/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.45
      8/13/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.32
      8/13/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.24
      8/13/2016   709   EH0020   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 85.89
      8/13/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      8/13/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      8/13/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
      8/13/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
      8/13/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/13/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.81
      8/13/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.21
      8/13/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        175.5
      8/13/2016   709   FS0039   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                  -5.23
      8/13/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      8/13/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 194369 truck lease 3304      434.29
      8/13/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
      8/13/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
      8/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             80
      8/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             10
      8/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                              5
      8/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             10
      8/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           300
      8/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      8/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.1
      8/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.05
      8/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.1
      8/13/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.8
      8/13/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.33
      8/13/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       114.75
      8/13/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       115.67
      8/13/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.37

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      8/13/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      8/13/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      8/13/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      8/13/2016   709   FT0004   Owner Operator   Repair Order                   CTMS - 194317 Repair                212.79
      8/13/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 194333 73129                 181.08
      8/13/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      8/13/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      8/13/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/13/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/13/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       445.06
      8/13/2016   709   FV0001   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                  -0.21
      8/13/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      8/13/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
      8/13/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
      8/13/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.37
      8/13/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      8/13/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 194334 Lease                 252.11
      8/13/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      8/13/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      8/13/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/13/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.03
      8/13/2016   709   HG0007   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 19.63
      8/13/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      8/13/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      8/13/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      8/13/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/13/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/13/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.84
      8/13/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.92
      8/13/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       440.21
      8/13/2016   709   HG0027   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                101.77
      8/13/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      8/13/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      8/13/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/13/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         22.45
      8/13/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.22
      8/13/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.39
      8/13/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.43
      8/13/2016   709   IR0002   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                -38.44
      8/13/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      8/13/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      8/13/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      8/13/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      8/13/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      8/13/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
      8/13/2016   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                   12.5
      8/13/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
      8/13/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
      8/13/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
      8/13/2016   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-30           58.9
      8/13/2016   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-20       -48.36
      8/13/2016   709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                    -7400
      8/13/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      8/13/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      8/13/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      8/13/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
      8/13/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      8/13/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.29
      8/13/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.55
      8/13/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.74
      8/13/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.26
      8/13/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.81
      8/13/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       454.12
      8/13/2016   709   JC0292   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 36.38
      8/13/2016   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2016 - Q1210                      100
      8/13/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13

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      8/13/2016   709   JC0292   Owner Operator   Repair Order                   TRACTOR Q1210                      76.79
      8/13/2016   709   JC0292   Owner Operator   Tire Fee                       Tire Fee: 1943538                     32
      8/13/2016   709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00339330 - PO System      635.97
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 1                       7.5
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 1                       7.5
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 326                     2.3
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 328                    1.45
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 330                    1.25
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 35                        6
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 37                     2.25
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 39                        6
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 43                      4.5
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 5                        12
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 52                        6
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 61                        6
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 66                    14.25
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 73                        6
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 89                        6
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 9                         6
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 95                      4.5
      8/13/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL 99                       12
      8/13/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                     458.72
      8/13/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                     458.72
      8/13/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/13/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                      13
      8/13/2016   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                  -2000
      8/13/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                        500
      8/13/2016   709   JG0017   Owner Operator   Express Check                  T-Check Payment                     2000
      8/13/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                         300
      8/13/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      8/13/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      369.4
      8/13/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     300.19
      8/13/2016   709   JG0017   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes               33.04
      8/13/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/13/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               90.86
      8/13/2016   709   JG0017   Owner Operator   Repair Order                   CTMS - 194466 Parts                64.37
      8/13/2016   709   JG0017   Owner Operator   Tire Fee                       Tire Fee: 1942555                      8
      8/13/2016   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00338486 - PO System      206.75
      8/13/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                      504.6
      8/13/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/13/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                      13
      8/13/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         300
      8/13/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         100
      8/13/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      8/13/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      8/13/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     336.71
      8/13/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     457.11
      8/13/2016   709   JG0072   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes              229.23
      8/13/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/13/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               74.22
      8/13/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                     513.26
      8/13/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      8/13/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/13/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                      469.1
      8/13/2016   709   JG0092   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes               45.84
      8/13/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/13/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   61.7
      8/13/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL               8.75
      8/13/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                      13
      8/13/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                         100
      8/13/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      8/13/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       70.1
      8/13/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     199.69
      8/13/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     150.09
      8/13/2016   709   JQ0015   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                  -2
      8/13/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/13/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD               19.54
      8/13/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL         8.75
      8/13/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                      13
      8/13/2016   709   JR0099   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes              159.99
      8/13/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2017 - Q1203                  10.58
      8/13/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                  34.17
      8/13/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5

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      8/13/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      8/13/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 194300 Truck Lease           278.76
      8/13/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      8/13/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      8/13/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      8/13/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      8/13/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      8/13/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      8/13/2016   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
      8/13/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      8/13/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      8/13/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      8/13/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      8/13/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      8/13/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      8/13/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      8/13/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      8/13/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/13/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/13/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/13/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/13/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.46
      8/13/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.6
      8/13/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.99
      8/13/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.07
      8/13/2016   709   JS0265   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                115.42
      8/13/2016   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                    76.62
      8/13/2016   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                     100
      8/13/2016   709   JS0265   Owner Operator   IRP License Deduction          LCIL:2016 - 33325                     100
      8/13/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      8/13/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.93
      8/13/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      8/13/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      8/13/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      8/13/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      8/13/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/13/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      8/13/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      8/13/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/13/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/13/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.31
      8/13/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.5
      8/13/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.28
      8/13/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.96
      8/13/2016   709   KP0004   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                273.27
      8/13/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      8/13/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/13/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      8/13/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      8/13/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      8/13/2016   709   LL0160   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 380.8
      8/13/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      8/13/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 194397 Lease Q1111           252.11
      8/13/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      8/13/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      8/13/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/13/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/13/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.78
      8/13/2016   709   LS0023   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 58.09
      8/13/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      8/13/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      8/13/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      8/13/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      8/13/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.87
      8/13/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      8/13/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75

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      8/13/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                     8.75
      8/13/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                     8.75
      8/13/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                     8.75
      8/13/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-9        5.43
      8/13/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-9       38.63
      8/13/2016   709   MG0067   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes              47.31
      8/13/2016   709   MG0067   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes               11.14
      8/13/2016   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                 76.62
      8/13/2016   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                  100
      8/13/2016   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                  100
      8/13/2016   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                  100
      8/13/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      8/13/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      8/13/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      8/13/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      8/13/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                     35.16
      8/13/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                     35.15
      8/13/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                     35.16
      8/13/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                     35.16
      8/13/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism             2.5
      8/13/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism             2.5
      8/13/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism             2.5
      8/13/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism             2.5
      8/13/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL              8.75
      8/13/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                     13
      8/13/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                       100
      8/13/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                       200
      8/13/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      8/13/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
      8/13/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                     257.4
      8/13/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                    246.75
      8/13/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      8/13/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD              53.13
      8/13/2016   709   MM0093   Owner Operator   Repair Order                   CTMS - 194317 Repair               200
      8/13/2016   709   MM0093   Owner Operator   Repair Order                   CTMS - 194466 Repair               200
      8/13/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                    337.19
      8/13/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                 8.75
      8/13/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                     13
      8/13/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                      650
      8/13/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                       240
      8/13/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.4
      8/13/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                    525.03
      8/13/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      8/13/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                 71.88
      8/13/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism         2.5
      8/13/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                    323.05
      8/13/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL         8.75
      8/13/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                     13
      8/13/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                      500
      8/13/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                    306.64
      8/13/2016   709   NB0029   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes              41.86
      8/13/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      8/13/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD         35.16
      8/13/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 194402 Lease              215.66
      8/13/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL           8.75
      8/13/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                    13
      8/13/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                       200
      8/13/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      8/13/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                    184.35
      8/13/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                    171.53
      8/13/2016   709   NG0005   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes               6.77
      8/13/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      8/13/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD           32.98
      8/13/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL        8.75
      8/13/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                     13
      8/13/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                       200
      8/13/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      8/13/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                    216.74
      8/13/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                    181.07
      8/13/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                    358.52
      8/13/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                     336.9
      8/13/2016   709   NR0010   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes             125.93
      8/13/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5

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      8/13/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.07
      8/13/2016   709   NR0010   Owner Operator   Toll Charges                   CTMS - 194466 709001902 - Ferr      -355.52
      8/13/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 194299 Tractor Sublease       252.11
      8/13/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      8/13/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      8/13/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/13/2016   709   NT9564   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 170.76
      8/13/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                     10.58
      8/13/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                     34.17
      8/13/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            30.47
      8/13/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 194332 Truck 73130 Leas       196.65
      8/13/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      8/13/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      8/13/2016   709   RC0030   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 197.21
      8/13/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.16
      8/13/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      8/13/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
      8/13/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      8/13/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 194299 Down Payment lo        303.55
      8/13/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.7
      8/13/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/13/2016   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-20        -96.52
      8/13/2016   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-20          -127
      8/13/2016   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-20        -96.52
      8/13/2016   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-20        -96.52
      8/13/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/13/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      8/13/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        233.81
      8/13/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        190.44
      8/13/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        325.24
      8/13/2016   709   RC0089   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                  -6.51
      8/13/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.07
      8/13/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
      8/13/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
      8/13/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.63
      8/13/2016   709   RL0017   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 -28.68
      8/13/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.32
      8/13/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/13/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      8/13/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/13/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/13/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/13/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/13/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/13/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/13/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        402.52
      8/13/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        325.92
      8/13/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.52
      8/13/2016   709   RL0062   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 219.05
      8/13/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        258.68
      8/13/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
      8/13/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      8/13/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
      8/13/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
      8/13/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      8/13/2016   709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                   12.5
      8/13/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
      8/13/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
      8/13/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.94
      8/13/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        378.64
      8/13/2016   709   RM0026   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 109.74
      8/13/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
      8/13/2016   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00338037 - PO System         879.85
      8/13/2016   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00338037 - PO System         285.65
      8/13/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      8/13/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      8/13/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                             40

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      8/13/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.4
      8/13/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.43
      8/13/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        331.36
      8/13/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2017 - Q1202                     10.58
      8/13/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                     34.17
      8/13/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      8/13/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 194300 Q1202 Truck Leas       278.76
      8/13/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
      8/13/2016   709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 194388 Wash 702042               -42
      8/13/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
      8/13/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/13/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.01
      8/13/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        375.01
      8/13/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.6
      8/13/2016   709   RR0123   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                  221.2
      8/13/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                     10.58
      8/13/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
      8/13/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
      8/13/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
      8/13/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 194330 Q1248                  311.97
      8/13/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      8/13/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
      8/13/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/13/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/13/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/13/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.95
      8/13/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.45
      8/13/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.77
      8/13/2016   709   SB0009   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 120.85
      8/13/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
      8/13/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
      8/13/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      8/13/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
      8/13/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        141.08
      8/13/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.32
      8/13/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        255.09
      8/13/2016   709   SN0019   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                  88.49
      8/13/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
      8/13/2016   709   UE0001   Owner Operator   ESCROW                         Final Balance Refund                   -450
      8/13/2016   709   UE0001   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                  43.28
      8/13/2016   709   UE0001   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  116.95
      8/13/2016   709   UE0001   Owner Operator   IRP License Deduction          LCIL:2016 - 33786                     289.9
      8/13/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
      8/13/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      8/13/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.49
      8/13/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        392.35
      8/13/2016   709   VB0015   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                -412.11
      8/13/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
      8/13/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 194444 Tractor Sub leas       242.03
      8/13/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      8/13/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
      8/13/2016   709   VJ0006   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-20        -362.3
      8/13/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/13/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/13/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/13/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/13/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/13/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        199.46
      8/13/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        207.32
      8/13/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        315.65
      8/13/2016   709   VJ0006   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 107.92
      8/13/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
      8/13/2016   709   VJ0006   Owner Operator   Repair Order                   CTMS - 194317 Repair                  355.5
      8/13/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
      8/13/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      8/13/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      8/13/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      8/13/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      8/13/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      8/13/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      8/13/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      8/13/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/13/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.96
      8/13/2016   709   WH0087   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 10.69
      8/13/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
      8/13/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      8/13/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      8/13/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 194330 Q1238 Lease           311.97
      8/13/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
      8/13/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/13/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.67
      8/13/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.55
      8/13/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.35
      8/13/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.09
      8/13/2016   742   CA0089   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                  53.9
      8/13/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.16
      8/13/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      8/13/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/13/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
      8/13/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/13/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.02
      8/13/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.81
      8/13/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.32
      8/13/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/13/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      8/13/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      8/13/2016   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      8/13/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      8/13/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      8/13/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.84
      8/13/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.33
      8/13/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.86
      8/13/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.05
      8/13/2016   742   ED0041   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                105.58
      8/13/2016   742   ED0041   Owner Operator   IRP License Deduction          LCIL:2016 - 32897                    76.62
      8/13/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      8/13/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      8/13/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      8/13/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      8/13/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/13/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        45.01
      8/13/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.64
      8/13/2016   742   EN0016   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 92.84
      8/13/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      8/13/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/13/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      8/13/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
      8/13/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                         8
      8/13/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/13/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.04
      8/13/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.47
      8/13/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       129.96
      8/13/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/13/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.13
      8/13/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
      8/13/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      8/13/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      8/13/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      8/13/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      8/13/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      8/13/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      8/13/2016   742   KJ0045   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-6           114
      8/13/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/13/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.42

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      8/13/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        252.24
      8/13/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.42
      8/13/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.15
      8/13/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.94
      8/13/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        280.65
      8/13/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.03
      8/13/2016   742   KJ0045   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                   76.7
      8/13/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                         46.88
      8/13/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
      8/13/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      8/13/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      8/13/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      8/13/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/13/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/13/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/13/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/13/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        346.97
      8/13/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.68
      8/13/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        302.58
      8/13/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      8/13/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      8/13/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      8/13/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        554.49
      8/13/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        265.83
      8/13/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        223.54
      8/13/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        554.49
      8/13/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      8/13/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                         13
      8/13/2016   742   MH0117   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                  77.33
      8/13/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                            75
      8/13/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      8/13/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL               8.75
      8/13/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                          8
      8/13/2016   742   MT0112   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-20       -274.04
      8/13/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/13/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/13/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/13/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        385.68
      8/13/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.44
      8/13/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        111.59
      8/13/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        436.74
      8/13/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                     10.58
      8/13/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                     34.17
      8/13/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD               72.57
      8/13/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror          2.5
      8/13/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 194329 Q1247 Sub Lease        311.97
      8/13/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL            8.75
      8/13/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
      8/13/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/13/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/13/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.65
      8/13/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        409.96
      8/13/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.28
      8/13/2016   742   NG0024   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                  94.02
      8/13/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           100.79
      8/13/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter          2.5
      8/13/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/13/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      8/13/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      8/13/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/13/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/13/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        280.92
      8/13/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.83
      8/13/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.54
      8/13/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.35
      8/13/2016   742   PC0012   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 131.85

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      8/13/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      8/13/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.38
      8/13/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
      8/13/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
      8/13/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
      8/13/2016   742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-20      -3187.63
      8/13/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        356.51
      8/13/2016   742   RN0054   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                   46.8
      8/13/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                    10.58
      8/13/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                    34.17
      8/13/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/13/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.26
      8/13/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      8/13/2016   742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00337791 - PO System            137
      8/13/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 194302 Tractor Lease          353.28
      8/13/2016   936   EE0011   Owner Operator   Accident Claim                 07/25/16 EE0011 Physical Damag        1000
      8/20/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL           8.75
      8/20/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                        13
      8/20/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         99.35
      8/20/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        168.31
      8/20/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD            7.82
      8/20/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te          2.5
      8/20/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL           8.75
      8/20/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        13
      8/20/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        198.81
      8/20/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        331.33
      8/20/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.9
      8/20/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                    10.58
      8/20/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                    34.17
      8/20/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD           74.22
      8/20/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL           8.75
      8/20/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                         8
      8/20/2016   709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-27          -186
      8/20/2016   709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-27         -37.2
      8/20/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/20/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                          65.01
      8/20/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.65
      8/20/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.02
      8/20/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        119.47
      8/20/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           137
      8/20/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         74.14
      8/20/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        349.13
      8/20/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                    10.58
      8/20/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                    34.17
      8/20/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD           68.36
      8/20/2016   709   AV0021   Owner Operator   Repair Order                   CTMS - 194639 Repair                 260.68
      8/20/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL           8.75
      8/20/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                         8
      8/20/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/20/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        322.67
      8/20/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.7
      8/20/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        354.32
      8/20/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                    10.58
      8/20/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                    34.17
      8/20/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD           68.36
      8/20/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 194514 Q13168 sub lease       352.68
      8/20/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/20/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                         13
      8/20/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      8/20/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        382.86
      8/20/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        373.67
      8/20/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.96
      8/20/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      8/20/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
      8/20/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      8/20/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      8/20/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        165.21
      8/20/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.5

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      8/20/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.13
      8/20/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.48
      8/20/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
      8/20/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      8/20/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      8/20/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      8/20/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      8/20/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.02
      8/20/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2017 - Q1201                    10.58
      8/20/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      8/20/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      8/20/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 194513 Q1201                 278.76
      8/20/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      8/20/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      8/20/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      8/20/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      8/20/2016   709   DJ0028   Owner Operator   Broker Pre Pass                Q1104 PrePass Device                  12.5
      8/20/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      8/20/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      8/20/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      8/20/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      8/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                            50
      8/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          250
      8/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.5
      8/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      8/20/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.53
      8/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.18
      8/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.01
      8/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.58
      8/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        174.1
      8/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        111.8
      8/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.1
      8/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       121.09
      8/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.34
      8/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.31
      8/20/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.97
      8/20/2016   709   DJ0028   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                212.11
      8/20/2016   709   DJ0028   Owner Operator   FUEL TAX                       May 2016 Fuel Taxes                  84.26
      8/20/2016   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                    76.62
      8/20/2016   709   DJ0028   Owner Operator   IRP License Deduction          LCIL:2016 - Q1104                     100
      8/20/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        39.97
      8/20/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      8/20/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      8/20/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.88
      8/20/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      8/20/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      8/20/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      8/20/2016   709   DJ0028   Owner Operator   Tire Purchase                  PO: 709-00338156 - PO System         191.3
      8/20/2016   709   DJ0028   Owner Operator   Tire Purchase                  PO: 709-00338156 - PO System        194.98
      8/20/2016   709   DJ0028   Owner Operator   Tire Purchase                  PO: 709-00338156 - PO System        194.98
      8/20/2016   709   DJ0028   Owner Operator   Tire Purchase                  PO: 709-00338156 - PO System        194.98
      8/20/2016   709   DJ0028   Owner Operator   Tire Purchase                  PO: 709-00338156 - PO System        194.93
      8/20/2016   709   DJ0028   Owner Operator   Toll Charges                   CA Q1104 Carquinez Bridge               25
      8/20/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      8/20/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      8/20/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/20/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.32
      8/20/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.25
      8/20/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        180.9
      8/20/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      8/20/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 34.2
      8/20/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL             8.75
      8/20/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                       13
      8/20/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       477.6
      8/20/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      538.75
      8/20/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      273.89
      8/20/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                   10.58
      8/20/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                   34.17
      8/20/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      8/20/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
      8/20/2016   709   DL0107   Owner Operator   Tire Purchase                  905-02262415                       137.29
      8/20/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 194476 Sublease             338.99
      8/20/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.38
      8/20/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      8/20/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
      8/20/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                         500
      8/20/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      8/20/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      238.96
      8/20/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      497.65
      8/20/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      8/20/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.35
      8/20/2016   709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00338142 - PO System       557.25
      8/20/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
      8/20/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
      8/20/2016   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-27         -93
      8/20/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      375.85
      8/20/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      305.54
      8/20/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      8/20/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   19.54
      8/20/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                       14.21
      8/20/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      8/20/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
      8/20/2016   709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-13       212.99
      8/20/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        100
      8/20/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         100
      8/20/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      8/20/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      8/20/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      8/20/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      8/20/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      8/20/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      342.77
      8/20/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      349.01
      8/20/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      349.23
      8/20/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      8/20/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
      8/20/2016   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00338304 - PO System       326.44
      8/20/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
      8/20/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      8/20/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                       13
      8/20/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                       13
      8/20/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         200
      8/20/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         200
      8/20/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         100
      8/20/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      8/20/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      8/20/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      8/20/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      254.84
      8/20/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      410.79
      8/20/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      245.13
      8/20/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      248.57
      8/20/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      191.45
      8/20/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      392.77
      8/20/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      181.34
      8/20/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      8/20/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.92
      8/20/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                      505.27
      8/20/2016   709   EE0011   Owner Operator   Truck Payment                  CTMS - 194638 Truck Rental         274.42
      8/20/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                8.75
      8/20/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                        8
      8/20/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                          50
      8/20/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      296.46
      8/20/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      410.32
      8/20/2016   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                    100

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      8/20/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                  42.19
      8/20/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism          2.5
      8/20/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 8/18 #17105                   350.36
      8/20/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/20/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                        212.55
      8/20/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/20/2016   709   EH0020   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/20/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.64
      8/20/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.57
      8/20/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        221.51
      8/20/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.01
      8/20/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                        532.24
      8/20/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
      8/20/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
      8/20/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/20/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        315.51
      8/20/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        326.44
      8/20/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.92
      8/20/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.88
      8/20/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
      8/20/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
      8/20/2016   709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-27       -863.94
      8/20/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             75
      8/20/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/20/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.75
      8/20/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/20/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        186.12
      8/20/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        117.52
      8/20/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.08
      8/20/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                     10.58
      8/20/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                     34.17
      8/20/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.52
      8/20/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 194517 73129                  181.08
      8/20/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      8/20/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      8/20/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        209.06
      8/20/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        271.13
      8/20/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
      8/20/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
      8/20/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
      8/20/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.46
      8/20/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
      8/20/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 194517 Lease                  252.11
      8/20/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      8/20/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      8/20/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/20/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/20/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/20/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        391.94
      8/20/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        422.63
      8/20/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        237.85
      8/20/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
      8/20/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      8/20/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      8/20/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.9
      8/20/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.41
      8/20/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        412.12
      8/20/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      8/20/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
      8/20/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/20/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                          21.12
      8/20/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.21
      8/20/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.52
      8/20/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64

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      8/20/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/20/2016   709   IR0002   Owner Operator   Repair Order                   CTMS - 194639 Repair                154.68
      8/20/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      8/20/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      8/20/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      8/20/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      8/20/2016   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-13         48.36
      8/20/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      8/20/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/20/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/20/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.67
      8/20/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.21
      8/20/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      8/20/2016   709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00339330 - PO System        635.97
      8/20/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      8/20/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/20/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      8/20/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      8/20/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/20/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/20/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       388.81
      8/20/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.11
      8/20/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      8/20/2016   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00338486 - PO System        206.75
      8/20/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      8/20/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/20/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      8/20/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/20/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/20/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/20/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/20/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       461.76
      8/20/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.01
      8/20/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      8/20/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      8/20/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      8/20/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/20/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/20/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/20/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.59
      8/20/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       405.51
      8/20/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.27
      8/20/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      8/20/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      8/20/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      8/20/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/20/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/20/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.23
      8/20/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.59
      8/20/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      8/20/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      8/20/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      8/20/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.58
      8/20/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2017 - Q1203                    10.58
      8/20/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                    34.17
      8/20/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      8/20/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 194481 Truck Lease           278.76
      8/20/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      8/20/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      8/20/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      8/20/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      8/20/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/20/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/20/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.69
      8/20/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.15
      8/20/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94

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      8/20/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      8/20/2016   709   JS0265   Owner Operator   Repair Order                   CTMS - 194639 Repair                288.89
      8/20/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/20/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      8/20/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      8/20/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/20/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/20/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        95.43
      8/20/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         135
      8/20/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         308
      8/20/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.67
      8/20/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         330
      8/20/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      8/20/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/20/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      8/20/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      8/20/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      8/20/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      8/20/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 194570 Lease Q1111           252.11
      8/20/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      8/20/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      8/20/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.67
      8/20/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.35
      8/20/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      8/20/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      8/20/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      8/20/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      8/20/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/20/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/20/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.29
      8/20/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      8/20/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      8/20/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      8/20/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      8/20/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-9          38.63
      8/20/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-9           33.2
      8/20/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.04
      8/20/2016   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                     100
      8/20/2016   709   MG0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33435                     100
      8/20/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        29.06
      8/20/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      8/20/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      8/20/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      8/20/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               0.62
      8/20/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      8/20/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      8/20/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/20/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/20/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.7
      8/20/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.26
      8/20/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.03
      8/20/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      8/20/2016   709   MM0093   Owner Operator   Repair Order                   CTMS - 194639 Repair                131.39
      8/20/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      8/20/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      8/20/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      8/20/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
      8/20/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          220
      8/20/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.2
      8/20/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        372.6
      8/20/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      8/20/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      8/20/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      8/20/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      8/20/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13

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      8/20/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
      8/20/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.26
      8/20/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.83
      8/20/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.59
      8/20/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      8/20/2016   709   NB0029   Owner Operator   Repair Order                   CTMS - 194639 Repair                165.44
      8/20/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 194578 Lease                 215.66
      8/20/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      8/20/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      8/20/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/20/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/20/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.3
      8/20/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.21
      8/20/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      8/20/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      8/20/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      8/20/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/20/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/20/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/20/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/20/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.7
      8/20/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.31
      8/20/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      8/20/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 194481 Tractor Sublease      252.11
      8/20/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      8/20/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
      8/20/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/20/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
      8/20/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
      8/20/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      8/20/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 194515 Truck 73130 Leas      196.65
      8/20/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      8/20/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      8/20/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      8/20/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      8/20/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      8/20/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      8/20/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 194481 Down Payment lo       303.55
      8/20/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      8/20/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/20/2016   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-13         96.52
      8/20/2016   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-13          127
      8/20/2016   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-13         96.52
      8/20/2016   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-13         96.52
      8/20/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      8/20/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      8/20/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.08
      8/20/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      8/20/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      8/20/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      8/20/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        410.2
      8/20/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.66
      8/20/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      8/20/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/20/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      8/20/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/20/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/20/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/20/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/20/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       374.15
      8/20/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.87
      8/20/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       258.68
      8/20/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      8/20/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      8/20/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48

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      8/20/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      8/20/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
      8/20/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.89
      8/20/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      8/20/2016   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00338037 - PO System        879.81
      8/20/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      8/20/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      8/20/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.14
      8/20/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.46
      8/20/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2017 - Q1202                    10.58
      8/20/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      8/20/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      8/20/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 194481 Q1202 Truck Leas      278.76
      8/20/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
      8/20/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
      8/20/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/20/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.61
      8/20/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.03
      8/20/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                    10.58
      8/20/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      8/20/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      8/20/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
      8/20/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 194513 Q1248                 311.97
      8/20/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      8/20/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
      8/20/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
      8/20/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.11
      8/20/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.33
      8/20/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      8/20/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      8/20/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      8/20/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
      8/20/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.53
      8/20/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.17
      8/20/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.59
      8/20/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.35
      8/20/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.76
      8/20/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      8/20/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
      8/20/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      8/20/2016   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-27         -20.8
      8/20/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.03
      8/20/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.18
      8/20/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
      8/20/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 194621 Tractor Sub leas      242.03
      8/20/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      8/20/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
      8/20/2016   709   VJ0006   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-13         362.3
      8/20/2016   709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                    -3000
      8/20/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      8/20/2016   709   VJ0006   Owner Operator   Express Check                  T-Check Payment                       3000
      8/20/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           120
      8/20/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.2
      8/20/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.69
      8/20/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      8/20/2016   709   VJ0006   Owner Operator   Repair Order                   CTMS - 194636 Parts                    46.8
      8/20/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      8/20/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      8/20/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      8/20/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      8/20/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      8/20/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
      8/20/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
      8/20/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/20/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.87

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      8/20/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.26
      8/20/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.14
      8/20/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
      8/20/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      8/20/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      8/20/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 194513 Q1238 Lease           311.97
      8/20/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      8/20/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      8/20/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      8/20/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      8/20/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/20/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/20/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/20/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/20/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/20/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/20/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.46
      8/20/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.65
      8/20/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.66
      8/20/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.39
      8/20/2016   742   AP0047   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                 57.71
      8/20/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
      8/20/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
      8/20/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      8/20/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      8/20/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
      8/20/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/20/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.32
      8/20/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.04
      8/20/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.28
      8/20/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.47
      8/20/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.16
      8/20/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      8/20/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
      8/20/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/20/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.79
      8/20/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       372.02
      8/20/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
      8/20/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
      8/20/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/20/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
      8/20/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/20/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.38
      8/20/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.9
      8/20/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.68
      8/20/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       450.31
      8/20/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.91
      8/20/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.32
      8/20/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/20/2016   742   DA0067   Owner Operator   Repair Order                   CTMS - 194229 repair                229.04
      8/20/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      8/20/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      8/20/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.81
      8/20/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.92
      8/20/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       134.56
      8/20/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/20/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      8/20/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      8/20/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/20/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/20/2016   742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                  12.5
      8/20/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      8/20/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      8/20/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      8/20/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       114.41
      8/20/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.31
      8/20/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.94
      8/20/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.72

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      8/20/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        255.93
      8/20/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.32
      8/20/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.39
      8/20/2016   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2016 - 32947                     76.62
      8/20/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
      8/20/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
      8/20/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      8/20/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      8/20/2016   742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00338200 - PO System          195.2
      8/20/2016   742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00338200 - PO System          195.2
      8/20/2016   742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00338200 - PO System          195.2
      8/20/2016   742   EN0016   Owner Operator   Toll Charges                   CA 32947 San Mateo                       25
      8/20/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
      8/20/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
      8/20/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL               8.75
      8/20/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          8
      8/20/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/20/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        108.91
      8/20/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        148.15
      8/20/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.8
      8/20/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        215.13
      8/20/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   742   EO0014   Owner Operator   Permits                        IL02:2016 - 33846                      3.75
      8/20/2016   742   EO0014   Owner Operator   Permits                        OR16:2016 - 33846                         8
      8/20/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD               78.13
      8/20/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror          2.5
      8/20/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
      8/20/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      8/20/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.69
      8/20/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
      8/20/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                         8.75
      8/20/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                         13
      8/20/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/20/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        154.58
      8/20/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        258.05
      8/20/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                         46.88
      8/20/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
      8/20/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      8/20/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/20/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/20/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/20/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/20/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        347.24
      8/20/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.62
      8/20/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      8/20/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        554.49
      8/20/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        414.67
      8/20/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      8/20/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                         13
      8/20/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                            75
      8/20/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      8/20/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL               8.75
      8/20/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                          8
      8/20/2016   742   MT0112   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-13         274.04
      8/20/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/20/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/20/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/20/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        292.38
      8/20/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.52
      8/20/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        339.23
      8/20/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.69
      8/20/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                     10.58
      8/20/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                     34.17
      8/20/2016   742   MT0112   Owner Operator   Miscellaneous                  Voided Check #964334               -2900.29
      8/20/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD               72.57
      8/20/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror          2.5
      8/20/2016   742   MT0112   Owner Operator   T Chek Fee                     Advance                             2900.29

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      8/20/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 194180 Q1247 Sub Lease        311.97
      8/20/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 194515 Q1247 Sub Lease        311.97
      8/20/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL            8.75
      8/20/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
      8/20/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/20/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                             50
      8/20/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
      8/20/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/20/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        237.98
      8/20/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        164.87
      8/20/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        344.54
      8/20/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        207.59
      8/20/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.85
      8/20/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           100.79
      8/20/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter          2.5
      8/20/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/20/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      8/20/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      8/20/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/20/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/20/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/20/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/20/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.56
      8/20/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        283.32
      8/20/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        234.26
      8/20/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        280.58
      8/20/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      8/20/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.38
      8/20/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
      8/20/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
      8/20/2016   742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-13        1248.37
      8/20/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        159.69
      8/20/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        322.44
      8/20/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.42
      8/20/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.74
      8/20/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.63
      8/20/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.34
      8/20/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                    10.58
      8/20/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                    34.17
      8/20/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.26
      8/20/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      8/20/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      8/20/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.88
      8/20/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/20/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
      8/20/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      8/20/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         246.1
      8/27/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL           8.75
      8/27/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                        13
      8/27/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                           400
      8/27/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
      8/27/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        206.76
      8/27/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD            7.79
      8/27/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te          2.5
      8/27/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL           8.75
      8/27/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        13
      8/27/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.08
      8/27/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          222
      8/27/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.25
      8/27/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                    10.58
      8/27/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                    34.17
      8/27/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD           74.22
      8/27/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 194545 Trck Lease             353.28
      8/27/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 194723 Trck Lease             353.28
      8/27/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL           8.75
      8/27/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                         8
      8/27/2016   709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-20           37.2
      8/27/2016   709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-20           186
      8/27/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                            50

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      8/27/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.91
      8/27/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.9
      8/27/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.5
      8/27/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      8/27/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      8/27/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      8/27/2016   709   AV0021   Owner Operator   Repair Order                   CTMS - 194813 Repair                260.68
      8/27/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 194542 Q13169 Sublease       352.68
      8/27/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 194720 Q13169 Sublease       352.68
      8/27/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      8/27/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      8/27/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/27/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        349.1
      8/27/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       403.79
      8/27/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      8/27/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      8/27/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      8/27/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 194684 Q13168 sub lease      352.68
      8/27/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/27/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      8/27/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
      8/27/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/27/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.61
      8/27/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       473.97
      8/27/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
      8/27/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/27/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      8/27/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      8/27/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      8/27/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        90.61
      8/27/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.31
      8/27/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.04
      8/27/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.29
      8/27/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       110.51
      8/27/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        43.51
      8/27/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
      8/27/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
      8/27/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      8/27/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      8/27/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      8/27/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2017 - Q1201                    10.58
      8/27/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      8/27/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.07
      8/27/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 194683 Q1201                 278.76
      8/27/2016   709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL           8.75
      8/27/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      8/27/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      8/27/2016   709   DJ0028   Owner Operator   Communication Charge           PNet Hware q1104                        13
      8/27/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/27/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                            25
      8/27/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance                          275
      8/27/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.75
      8/27/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
      8/27/2016   709   DJ0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.73
      8/27/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.87
      8/27/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.69
      8/27/2016   709   DJ0028   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.74
      8/27/2016   709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD           46.86
      8/27/2016   709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         2.5
      8/27/2016   709   DJ0028   Owner Operator   Tire Fee                       Balance Of Tire Fee                      4
      8/27/2016   709   DJ0028   Owner Operator   Tire Fee                       Tire Fee: 1937992                        8
      8/27/2016   709   DJ0028   Owner Operator   Tire Purchase                  Balance Of Tire Purchase            259.28
      8/27/2016   709   DJ0028   Owner Operator   Tire Purchase                  PO: 709-00338156 - PO System          3.68
      8/27/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 193599 Q1104                 252.11
      8/27/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 193812 Q1104                 252.11

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      8/27/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 193999 Q1104               252.11
      8/27/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 194169 Q1104               252.11
      8/27/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 194333 Q1104               252.11
      8/27/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 194517 Q1104               252.11
      8/27/2016   709   DJ0028   Owner Operator   Truck Payment                  CTMS - 194686 Q1104               252.11
      8/27/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL               8.75
      8/27/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/27/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      164.4
      8/27/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     275.06
      8/27/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     176.83
      8/27/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                     278.23
      8/27/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/27/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD               34.19
      8/27/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL            8.75
      8/27/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                      13
      8/27/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                     159.11
      8/27/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                     486.79
      8/27/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                     245.82
      8/27/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                     166.94
      8/27/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                  10.58
      8/27/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                  34.17
      8/27/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/27/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD            65.69
      8/27/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 194650 Sublease            338.99
      8/27/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                18.36
      8/27/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/27/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                      13
      8/27/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                        500
      8/27/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                       5
      8/27/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                     301.72
      8/27/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                     192.42
      8/27/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                     328.67
      8/27/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                     471.62
      8/27/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/27/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               92.33
      8/27/2016   709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00338142 - PO System      557.25
      8/27/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                     512.35
      8/27/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                  8.75
      8/27/2016   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-20          93
      8/27/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                     380.34
      8/27/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/27/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                  19.51
      8/27/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                      8.75
      8/27/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                      8.75
      8/27/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                      13
      8/27/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                      13
      8/27/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                     245.94
      8/27/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                     314.01
      8/27/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      55.74
      8/27/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      55.75
      8/27/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                      54.31
      8/27/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                      68.49
      8/27/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                     463.27
      8/27/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                     463.27
      8/27/2016   709   DW0138   Owner Operator   Truck Payment                  CTMS - 194639 Truck Payment         350
      8/27/2016   709   DW0138   Owner Operator   Truck Payment                  CTMS - 194812 Reuck Payment         350
      8/27/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/27/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                      13
      8/27/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                       100
      8/27/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/27/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/27/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/27/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/27/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     435.28
      8/27/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     286.01
      8/27/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/27/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              105.47
      8/27/2016   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00338304 - PO System      326.38
      8/27/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                     555.56
      8/27/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/27/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                      13
      8/27/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        200
      8/27/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                        200

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      8/27/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/27/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/27/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.68
      8/27/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.92
      8/27/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.57
      8/27/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/27/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.91
      8/27/2016   709   EE0011   Owner Operator   Repair Order                   CTMS - 194813 Truck Rental           274.42
      8/27/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
      8/27/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      8/27/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      8/27/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/27/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.05
      8/27/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        427.25
      8/27/2016   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                       100
      8/27/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/27/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                  42.18
      8/27/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      8/27/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/27/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                          13
      8/27/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                          13
      8/27/2016   709   EH0020   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-3           -13.5
      8/27/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/27/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         37.45
      8/27/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.66
      8/27/2016   709   EH0020   Owner Operator   Fuel Purchase                  Fuel Purchase                        156.29
      8/27/2016   709   EH0020   Owner Operator   Miscellaneous                  Check Deposited by QCI             -1715.04
      8/27/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/27/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                      93
      8/27/2016   709   EH0020   Owner Operator   Repair Order                   CTMS - 194705 repair                  211.8
      8/27/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                        532.24
      8/27/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      8/27/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      8/27/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/27/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.67
      8/27/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.39
      8/27/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        343.97
      8/27/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/27/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.86
      8/27/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 194540 truck lease 3304       434.29
      8/27/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 194718 truck lease 3304       434.29
      8/27/2016   709   FT0004   Owner Operator   Accident Claim                 08/23/16 FT0004 Accident               2000
      8/27/2016   709   FT0004   Owner Operator   Accident Claim                 Accident Claim S/U On wkly Ded        -2000
      8/27/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL             8.75
      8/27/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                          13
      8/27/2016   709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-20         863.94
      8/27/2016   709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-3         -32.82
      8/27/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/27/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                              20
      8/27/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      8/27/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/27/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.1
      8/27/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        162.76
      8/27/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                     10.58
      8/27/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                     34.17
      8/27/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/27/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.51
      8/27/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 194686 73129                  181.08
      8/27/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/27/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      8/27/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/27/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/27/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        340.89
      8/27/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/27/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.01
      8/27/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      8/27/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      8/27/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.37
      8/27/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/27/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.04
      8/27/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 194686 Lease                  252.11
      8/27/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      8/27/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13

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      8/27/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/27/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/27/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       374.69
      8/27/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.03
      8/27/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
      8/27/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      8/27/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      8/27/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/27/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/27/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.28
      8/27/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        489.1
      8/27/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       113.67
      8/27/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      8/27/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      8/27/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/27/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         18.72
      8/27/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.19
      8/27/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.58
      8/27/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.33
      8/27/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      8/27/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/27/2016   709   IR0002   Owner Operator   Repair Order                   CTMS - 194813 Repair                154.68
      8/27/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      8/27/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      8/27/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      8/27/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      8/27/2016   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-3        -13.84
      8/27/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      8/27/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/27/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/27/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.94
      8/27/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.98
      8/27/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        382.9
      8/27/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.74
      8/27/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
      8/27/2016   709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00339330 - PO System        635.97
      8/27/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      8/27/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/27/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      8/27/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      8/27/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/27/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/27/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.01
      8/27/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.22
      8/27/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      8/27/2016   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00338486 - PO System        206.75
      8/27/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      8/27/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/27/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      8/27/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/27/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/27/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/27/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/27/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/27/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/27/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       438.67
      8/27/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        406.2
      8/27/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.19
      8/27/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       406.15
      8/27/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      8/27/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      8/27/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      8/27/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      8/27/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50

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      8/27/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/27/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.71
      8/27/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       508.74
      8/27/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      8/27/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      8/27/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      8/27/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.06
      8/27/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.79
      8/27/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
      8/27/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      8/27/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      8/27/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.33
      8/27/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2017 - Q1203                    10.58
      8/27/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                    34.17
      8/27/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
      8/27/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 194657 Truck Lease           278.76
      8/27/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      8/27/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      8/27/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      8/27/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      8/27/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/27/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/27/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        367.2
      8/27/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.47
      8/27/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.44
      8/27/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.93
      8/27/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      8/27/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/27/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      8/27/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      8/27/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/27/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/27/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.42
      8/27/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.83
      8/27/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         221
      8/27/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         188
      8/27/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      8/27/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/27/2016   709   KP0004   Owner Operator   Tire Fee                       Tire Fee: 1945925                        4
      8/27/2016   709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00339432 - PO System         98.26
      8/27/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      8/27/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      8/27/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      8/27/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.04
      8/27/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 194742 Lease Q1111           252.11
      8/27/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      8/27/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      8/27/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/27/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/27/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.47
      8/27/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.96
      8/27/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       540.48
      8/27/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.51
      8/27/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      8/27/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      8/27/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      8/27/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/27/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.84
      8/27/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        140.2
      8/27/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      8/27/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.29
      8/27/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      8/27/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        215.01
      8/27/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.07
      8/27/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
      8/27/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      8/27/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      8/27/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      8/27/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/27/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/27/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.2
      8/27/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        312.45
      8/27/2016   709   MM0093   Owner Operator   Loan Repayment                 Crdt Xps Cde 144522 S/U Loan       -1983.99
      8/27/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        250.58
      8/27/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.11
      8/27/2016   709   MM0093   Owner Operator   T Chek Fee                     ExpressCheck Fee                      19.64
      8/27/2016   709   MM0093   Owner Operator   T Chek Fee                     Tractor Repair 32931                1964.35
      8/27/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      8/27/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      8/27/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      8/27/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      8/27/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           260
      8/27/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.6
      8/27/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.1
      8/27/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.86
      8/27/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      8/27/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      8/27/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      8/27/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      8/27/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      8/27/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        189.41
      8/27/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        126.09
      8/27/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.15
      8/27/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        305.17
      8/27/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.15
      8/27/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 194749 Lease                  215.66
      8/27/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      8/27/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      8/27/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           140
      8/27/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.4
      8/27/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          196
      8/27/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.99
      8/27/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.97
      8/27/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      8/27/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      8/27/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/27/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/27/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/27/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/27/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        229.76
      8/27/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.76
      8/27/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        248.31
      8/27/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.96
      8/27/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        135.19
      8/27/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.04
      8/27/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 194656 Tractor Sublease       252.11
      8/27/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      8/27/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      8/27/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/27/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                     10.58
      8/27/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                     34.17
      8/27/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            30.47
      8/27/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 194684 Truck 73130 Leas       196.65
      8/27/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      8/27/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      8/27/2016   709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance                           200

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      8/27/2016   709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.92
      8/27/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.48
      8/27/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.15
      8/27/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      8/27/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.04
      8/27/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      8/27/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 194656 Down Payment lo       303.55
      8/27/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  51.69
      8/27/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/27/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      8/27/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      8/27/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.36
      8/27/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        373.7
      8/27/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.05
      8/27/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      8/27/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      8/27/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       389.06
      8/27/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.51
      8/27/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.29
      8/27/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/27/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      8/27/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/27/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/27/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/27/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/27/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       403.28
      8/27/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.69
      8/27/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.7
      8/27/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       258.68
      8/27/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.13
      8/27/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      8/27/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.46
      8/27/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      8/27/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      8/27/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.04
      8/27/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.8
      8/27/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.77
      8/27/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.05
      8/27/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      8/27/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      8/27/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      8/27/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.06
      8/27/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.58
      8/27/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2017 - Q1202                    10.58
      8/27/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      8/27/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
      8/27/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 194657 Q1202 Truck Leas      278.76
      8/27/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      8/27/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      8/27/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/27/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/27/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/27/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/27/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.06
      8/27/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.35
      8/27/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.08
      8/27/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.24
      8/27/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                    10.58
      8/27/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      8/27/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.07
      8/27/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      8/27/2016   709   RR0123   Owner Operator   Repair Order                   CTMS - 194675 Repair                409.87
      8/27/2016   709   RR0123   Owner Operator   Repair Order                   CTMS - 194813 Repair                409.88
      8/27/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 194683 Q1248                 311.97

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      8/27/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      8/27/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      8/27/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      8/27/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/27/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.87
      8/27/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.15
      8/27/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.55
      8/27/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.87
      8/27/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.23
      8/27/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.26
      8/27/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      8/27/2016   709   SB0009   Owner Operator   Repair Order                   CTMS - 194812 Repair                289.28
      8/27/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      8/27/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      8/27/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      8/27/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.93
      8/27/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.28
      8/27/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      8/27/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      8/27/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      8/27/2016   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-20          20.8
      8/27/2016   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-3        -13.54
      8/27/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.9
      8/27/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.23
      8/27/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      8/27/2016   709   VB0015   Owner Operator   Repair Order                   CTMS - 194637 Parts                 395.99
      8/27/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 194792 Tractor Sub leas      242.03
      8/27/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      8/27/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      8/27/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      8/27/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/27/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      8/27/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      8/27/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/27/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.44
      8/27/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.64
      8/27/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.25
      8/27/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      8/27/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      8/27/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      8/27/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      8/27/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      8/27/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      8/27/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      8/27/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      8/27/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/27/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            60
      8/27/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      8/27/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        49.57
      8/27/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.76
      8/27/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.89
      8/27/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.57
      8/27/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
      8/27/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      8/27/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      8/27/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 194683 Q1238 Lease           311.97
      8/27/2016   730   JK0112   Owner Operator   Toll Charges                   33211 BCBC BBB                          18
      8/27/2016   730   JK0112   Owner Operator   Toll Charges                   33211 DelDOT D95                         9
      8/27/2016   730   JK0112   Owner Operator   Toll Charges                   33211 DelDOT D95                         9
      8/27/2016   730   JK0112   Owner Operator   Toll Charges                   33211 DelDOT D95                         9
      8/27/2016   730   JK0112   Owner Operator   Toll Charges                   33211 DelDOT D95                         9
      8/27/2016   730   JK0112   Owner Operator   Toll Charges                   33211 DRPA BFB                        37.5
      8/27/2016   730   JK0112   Owner Operator   Toll Charges                   33211 DRPA CBB                        37.5
      8/27/2016   730   JK0112   Owner Operator   Toll Charges                   33211 MdTA FMT                          24
      8/27/2016   730   JK0112   Owner Operator   Toll Charges                   33211 MdTA JFK                          48
      8/27/2016   730   JK0112   Owner Operator   Toll Charges                   33211 MdTA JFK                          48

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      8/27/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      8/27/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/27/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/27/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/27/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/27/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/27/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/27/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/27/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/27/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.13
      8/27/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        130.3
      8/27/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.94
      8/27/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.79
      8/27/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        16.69
      8/27/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
      8/27/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/27/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.43
      8/27/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.06
      8/27/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.9
      8/27/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.15
      8/27/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      8/27/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
      8/27/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/27/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        384.4
      8/27/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.85
      8/27/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.87
      8/27/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
      8/27/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
      8/27/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 194681 Sub Lease Q13171      352.68
      8/27/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/27/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
      8/27/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/27/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.35
      8/27/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       456.87
      8/27/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.29
      8/27/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/27/2016   742   DA0067   Owner Operator   Repair Order                   CTMS - 194707 repair                    88
      8/27/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/27/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      8/27/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/27/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/27/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.74
      8/27/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.53
      8/27/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.11
      8/27/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      8/27/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      8/27/2016   742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00338200 - PO System        195.15
      8/27/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      8/27/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
      8/27/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
      8/27/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/27/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.15
      8/27/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.21
      8/27/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.21
      8/27/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.49
      8/27/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.11
      8/27/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
      8/27/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      8/27/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      8/27/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
      8/27/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      8/27/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      8/27/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      8/27/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      8/27/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/27/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.86
      8/27/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      8/27/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      8/27/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75

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      8/27/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      8/27/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         45.73
      8/27/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.5
      8/27/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  33.96
      8/27/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      8/27/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      8/27/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      8/27/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      8/27/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        542.29
      8/27/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        554.49
      8/27/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      8/27/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                         13
      8/27/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                            75
      8/27/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      8/27/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL               8.75
      8/27/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                          8
      8/27/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/27/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/27/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/27/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/27/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/27/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        372.68
      8/27/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.41
      8/27/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.3
      8/27/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.04
      8/27/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                     10.58
      8/27/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                     34.17
      8/27/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD               72.54
      8/27/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror          2.5
      8/27/2016   742   MT0112   Owner Operator   T Chek Fee                     ExpressCheck Fee                        0.8
      8/27/2016   742   MT0112   Owner Operator   T Chek Fee                     Tractor Repair Q1247                  80.46
      8/27/2016   742   MT0112   Owner Operator   Tire Fee                       Tire Fee: 1946274                         4
      8/27/2016   742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00339787 - PO System          84.21
      8/27/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 194685 Q1247 Sub Lease        311.97
      8/27/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL            8.75
      8/27/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
      8/27/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/27/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/27/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.95
      8/27/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        330.81
      8/27/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           100.76
      8/27/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter          2.5
      8/27/2016   742   NG0024   Owner Operator   Repair Order                   CTMS - 194676 repair                     60
      8/27/2016   742   NG0024   Owner Operator   Tire Fee                       Tire Fee: 1946932                        16
      8/27/2016   742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00340098 - PO System         725.18
      8/27/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
      8/27/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
      8/27/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
      8/27/2016   742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-13        1939.26
      8/27/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        342.17
      8/27/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        187.91
      8/27/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.02
      8/27/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                    10.58
      8/27/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                    34.17
      8/27/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/27/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.25
      8/27/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      8/27/2016   742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00337791 - PO System         136.97
      8/27/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 193957 Tractor Lease          353.28
      8/27/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 194483 Tractor Lease          353.28
      8/27/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 194659 Tractor Lease          353.28
      8/27/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        348.45
      8/27/2016   844   JK0112   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                  69.94
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT D95                          6
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT D95                          9

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      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT D95                         9
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT D95                         9
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT D95                         9
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRBA DMB                          25
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRBA DMB                          25
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRPA BFB                        37.5
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRPA BRB                        37.5
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRPA WWB                        37.5
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRPA WWB                        37.5
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA BHT                          24
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA BHT                          24
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA JFK                          48
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA JFK                          48
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA JFK                       25.78
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 NJTP 13A                       16.35
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 NJTP 18W                        37.2
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 NJTP 7                         16.35
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 NYSTA 48                        5.64
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 NYSTA 50                       10.81
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 NYSTA NR                        5.73
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PBA PB4                         25.2
      8/27/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PTC LEV                        16.89
      8/27/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
       9/3/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
       9/3/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
       9/3/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          150
       9/3/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
       9/3/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.69
       9/3/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/3/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
       9/3/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
       9/3/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
       9/3/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
       9/3/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.11
       9/3/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.31
       9/3/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         160
       9/3/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       413.39
       9/3/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
       9/3/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
       9/3/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/3/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
       9/3/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 194885 Trck Lease            353.28
       9/3/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
       9/3/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
       9/3/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
       9/3/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                          150
       9/3/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
       9/3/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        50.01
       9/3/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.02
       9/3/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.05
       9/3/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        113.5
       9/3/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.17
       9/3/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.47
       9/3/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.49
       9/3/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
       9/3/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
       9/3/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/3/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
       9/3/2016   709   AV0021   Owner Operator   Repair Order                   CTMS - 194981 Repair                260.68
       9/3/2016   709   AV0021   Owner Operator   Repair Order                   TRACTOR Q13169                       73.71
       9/3/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 194882 Q13169 Sublease       352.68
       9/3/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
       9/3/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
       9/3/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
       9/3/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.66
       9/3/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.19
       9/3/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        75.57
       9/3/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
       9/3/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
       9/3/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/3/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
       9/3/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 194855 Q13168 sub lease      352.68
       9/3/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75

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      9/3/2016    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      9/3/2016    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                          300
      9/3/2016    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/3/2016    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.15
      9/3/2016    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       358.14
      9/3/2016    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      9/3/2016    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/3/2016    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      9/3/2016    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      9/3/2016    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      9/3/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        269.9
      9/3/2016    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        144.1
      9/3/2016    709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
      9/3/2016    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      9/3/2016    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      9/3/2016    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      9/3/2016    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      9/3/2016    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        351.8
      9/3/2016    709   CS0091   Owner Operator   Highway Use Tax                HUTC:2017 - Q1201                    10.58
      9/3/2016    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      9/3/2016    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      9/3/2016    709   CS0091   Owner Operator   Toll Charges                   TX Q1201 CATALINA VIEW NORTH         26.44
      9/3/2016    709   CS0091   Owner Operator   Tractor Wash                   CTMS - 194841 Trailer Wash             -40
      9/3/2016    709   CS0091   Owner Operator   Truck Payment                  CTMS - 194853 Q1201                 278.76
      9/3/2016    709   DJ0028   Owner Operator   BOBTAIL INS.                   Q1104 2011 Freightliner NTL            -35
      9/3/2016    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         -190
      9/3/2016    709   DJ0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          190
      9/3/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD          -187.5
      9/3/2016    709   DJ0028   Owner Operator   PHYSICAL DAMAGE                Q1104 2011 Freightliner PD Ter         -10
      9/3/2016    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      9/3/2016    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
      9/3/2016    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/3/2016    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.54
      9/3/2016    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.41
      9/3/2016    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.17
      9/3/2016    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.88
      9/3/2016    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.2
      9/3/2016    709   DL0029   Owner Operator   Repair Order                   CTMS - 194840 New Truck Set Up         250
      9/3/2016    709   DL0029   Owner Operator   Repair Order                   CTMS - 194982 Repair                   250
      9/3/2016    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      9/3/2016    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      9/3/2016    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       504.58
      9/3/2016    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                    10.58
      9/3/2016    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      9/3/2016    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      9/3/2016    709   DL0107   Owner Operator   Truck Payment                  CTMS - 194822 Sublease              338.99
      9/3/2016    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      9/3/2016    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/3/2016    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      9/3/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      9/3/2016    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      9/3/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.75
      9/3/2016    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.59
      9/3/2016    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      9/3/2016    709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00338142 - PO System        557.21
      9/3/2016    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      9/3/2016    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      9/3/2016    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.54
      9/3/2016    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    39.07
      9/3/2016    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      9/3/2016    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      9/3/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.66
      9/3/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          287
      9/3/2016    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.68
      9/3/2016    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75

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      9/3/2016    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      9/3/2016    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      9/3/2016    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/3/2016    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      9/3/2016    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
      9/3/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/3/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/3/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/3/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/3/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.57
      9/3/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.03
      9/3/2016    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.18
      9/3/2016    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      9/3/2016    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      9/3/2016    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/3/2016    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      9/3/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/3/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/3/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/3/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.48
      9/3/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.02
      9/3/2016    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       401.12
      9/3/2016    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      9/3/2016    709   EE0011   Owner Operator   Repair Order                   CTMS - 194981 Repair                100.82
      9/3/2016    709   EE0011   Owner Operator   Repair Order                   CTMS - 194981 Repair                274.42
      9/3/2016    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      9/3/2016    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      9/3/2016    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
      9/3/2016    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/3/2016    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.02
      9/3/2016    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       523.85
      9/3/2016    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                     100
      9/3/2016    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
      9/3/2016    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      9/3/2016    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 8/25 #17105                  350.36
      9/3/2016    709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/3/2016    709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
      9/3/2016    709   EH0020   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-27          13.5
      9/3/2016    709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                         250
      9/3/2016    709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.01
      9/3/2016    709   EH0020   Owner Operator   Tire Fee                       Tire Fee: 1948065                        8
      9/3/2016    709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00340143 - PO System        204.93
      9/3/2016    709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
      9/3/2016    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      9/3/2016    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      9/3/2016    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/3/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.87
      9/3/2016    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.97
      9/3/2016    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      9/3/2016    709   FS0039   Owner Operator   Truck Payment                  CTMS - 194880 truck lease 3304      434.29
      9/3/2016    709   FT0004   Owner Operator   Accident Claim                 Claim Setup On Wkly Deductions        250
      9/3/2016    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      9/3/2016    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      9/3/2016    709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-27         32.82
      9/3/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/3/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          115
      9/3/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
      9/3/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      9/3/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.15
      9/3/2016    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/3/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.99
      9/3/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.57
      9/3/2016    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.95
      9/3/2016    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      9/3/2016    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17

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      9/3/2016    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      9/3/2016    709   FT0004   Owner Operator   Repair Order                   CTMS - 194982 Repair                 125.8
      9/3/2016    709   FT0004   Owner Operator   Truck Payment                  CTMS - 194857 73129                 181.08
      9/3/2016    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/3/2016    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      9/3/2016    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/3/2016    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       388.86
      9/3/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       434.33
      9/3/2016    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        55.41
      9/3/2016    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      9/3/2016    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      9/3/2016    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      9/3/2016    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.16
      9/3/2016    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.13
      9/3/2016    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      9/3/2016    709   GS0015   Owner Operator   Truck Payment                  CTMS - 194857 Lease                 252.11
      9/3/2016    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      9/3/2016    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      9/3/2016    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/3/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/3/2016    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.15
      9/3/2016    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.45
      9/3/2016    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      9/3/2016    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      9/3/2016    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      9/3/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/3/2016    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       532.14
      9/3/2016    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.43
      9/3/2016    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      9/3/2016    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      9/3/2016    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/3/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                        131.16
      9/3/2016    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.31
      9/3/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.54
      9/3/2016    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.38
      9/3/2016    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      9/3/2016    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/3/2016    709   IR0002   Owner Operator   Tire Fee                       Tire Fee: 1948017                        8
      9/3/2016    709   IR0002   Owner Operator   Tire Fee                       Tire Fee: 1948019                        8
      9/3/2016    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00339433 - PO System         160.6
      9/3/2016    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00339528 - PO System         160.6
      9/3/2016    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      9/3/2016    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      9/3/2016    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      9/3/2016    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      9/3/2016    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-27         13.84
      9/3/2016    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      9/3/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/3/2016    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.87
      9/3/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.01
      9/3/2016    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       500.96
      9/3/2016    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      9/3/2016    709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00339330 - PO System        635.97
      9/3/2016    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      9/3/2016    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/3/2016    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      9/3/2016    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      9/3/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/3/2016    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/3/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.18
      9/3/2016    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.48
      9/3/2016    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      9/3/2016    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      9/3/2016    709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00338486 - PO System        206.75
      9/3/2016    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      9/3/2016    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/3/2016    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      9/3/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      9/3/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/3/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/3/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/3/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/3/2016    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/3/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       423.12
      9/3/2016    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.77
      9/3/2016    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      9/3/2016    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      9/3/2016    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      9/3/2016    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      9/3/2016    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/3/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/3/2016    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       488.03
      9/3/2016    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.99
      9/3/2016    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      9/3/2016    709   JG0092   Owner Operator   Tractor Wash                   CTMS - 194846 Wash TL9214            -35.5
      9/3/2016    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      9/3/2016    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      9/3/2016    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-10         -155
      9/3/2016    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/3/2016    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/3/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       110.72
      9/3/2016    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.69
      9/3/2016    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      9/3/2016    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      9/3/2016    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      9/3/2016    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.96
      9/3/2016    709   JR0099   Owner Operator   Highway Use Tax                HUTC:2017 - Q1203                    10.58
      9/3/2016    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                    34.17
      9/3/2016    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      9/3/2016    709   JR0099   Owner Operator   Truck Payment                  CTMS - 194827 Truck Lease           278.76
      9/3/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      9/3/2016    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      9/3/2016    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      9/3/2016    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      9/3/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/3/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/3/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.66
      9/3/2016    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.94
      9/3/2016    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      9/3/2016    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      9/3/2016    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/3/2016    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      9/3/2016    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      9/3/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           175
      9/3/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/3/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/3/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/3/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.75
      9/3/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.15
      9/3/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.62
      9/3/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.41
      9/3/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.64
      9/3/2016    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.01
      9/3/2016    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      9/3/2016    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5

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      9/3/2016    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00339432 - PO System          98.26
      9/3/2016    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      9/3/2016    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      9/3/2016    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      9/3/2016    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-10        -242.7
      9/3/2016    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      9/3/2016    709   LL0160   Owner Operator   Truck Payment                  CTMS - 194910 Lease Q1111            252.11
      9/3/2016    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      9/3/2016    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      9/3/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.67
      9/3/2016    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.03
      9/3/2016    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      9/3/2016    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      9/3/2016    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      9/3/2016    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      9/3/2016    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        143.59
      9/3/2016    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      9/3/2016    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             -35
      9/3/2016    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
      9/3/2016    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
      9/3/2016    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD          -156.25
      9/3/2016    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.07
      9/3/2016    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      9/3/2016    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-10       -744.48
      9/3/2016    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-10       -495.66
      9/3/2016    709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/3/2016    709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/3/2016    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.03
      9/3/2016    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.15
      9/3/2016    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        196.41
      9/3/2016    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        342.22
      9/3/2016    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      9/3/2016    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      9/3/2016    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      9/3/2016    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      9/3/2016    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        316.19
      9/3/2016    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        250.58
      9/3/2016    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      9/3/2016    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      9/3/2016    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      9/3/2016    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      9/3/2016    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           650
      9/3/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            260
      9/3/2016    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.6
      9/3/2016    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        426.47
      9/3/2016    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                           298
      9/3/2016    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      9/3/2016    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      9/3/2016    709   MP0035   Owner Operator   Repair Order                   CTMS - 194866 Q1105 Fuel               -298
      9/3/2016    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      9/3/2016    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      9/3/2016    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      9/3/2016    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                     -3500
      9/3/2016    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        186.38
      9/3/2016    709   NB0029   Owner Operator   Express Check                  T-Check Payment                        3500
      9/3/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.81
      9/3/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        233.23
      9/3/2016    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        283.24
      9/3/2016    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      9/3/2016    709   NB0029   Owner Operator   Toll Charges                   TX Q1108       Carquinez Brid            25
      9/3/2016    709   NB0029   Owner Operator   Toll Charges                   TX Q1108       Carquinez Brid            25
      9/3/2016    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      9/3/2016    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      9/3/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            160
      9/3/2016    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.6

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      9/3/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        175.91
      9/3/2016    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.2
      9/3/2016    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      9/3/2016    709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      9/3/2016    709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      9/3/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/3/2016    709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/3/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.31
      9/3/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        158.94
      9/3/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        231.85
      9/3/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.9
      9/3/2016    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.63
      9/3/2016    709   NR0010   Owner Operator   Loan Repayment                 Credit Exp Cde 145124 S/U Loan     -3817.01
      9/3/2016    709   NR0010   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        482.09
      9/3/2016    709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.07
      9/3/2016    709   NR0010   Owner Operator   T Chek Fee                     ExpressCheck Fee                      37.79
      9/3/2016    709   NR0010   Owner Operator   T Chek Fee                     Tractor Repair Q1106                3779.22
      9/3/2016    709   NR0010   Owner Operator   Truck Payment                  CTMS - 194826 Tractor Sublease       252.11
      9/3/2016    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      9/3/2016    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      9/3/2016    709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                          13
      9/3/2016    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/3/2016    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                     10.58
      9/3/2016    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                     34.17
      9/3/2016    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            30.47
      9/3/2016    709   NT9564   Owner Operator   Truck Payment                  CTMS - 194855 Truck 73130 Leas       196.65
      9/3/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      9/3/2016    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      9/3/2016    709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/3/2016    709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/3/2016    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.4
      9/3/2016    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.16
      9/3/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      9/3/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
      9/3/2016    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      9/3/2016    709   RC0030   Owner Operator   Truck Payment                  CTMS - 194826 Down Payment lo        303.55
      9/3/2016    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.7
      9/3/2016    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/3/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      9/3/2016    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      9/3/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        163.11
      9/3/2016    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        440.48
      9/3/2016    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.07
      9/3/2016    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
      9/3/2016    709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
      9/3/2016    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/3/2016    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/3/2016    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        406.82
      9/3/2016    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.32
      9/3/2016    709   RL0017   Owner Operator   Repair Order                   CTMS - 194982 Truck Wash                 60
      9/3/2016    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/3/2016    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      9/3/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/3/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/3/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/3/2016    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/3/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        399.31
      9/3/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        376.89
      9/3/2016    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        122.11
      9/3/2016    709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        258.68
      9/3/2016    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/3/2016    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
      9/3/2016    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      9/3/2016    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
      9/3/2016    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      9/3/2016    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
      9/3/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        322.82

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      9/3/2016    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.77
      9/3/2016    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      9/3/2016    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      9/3/2016    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      9/3/2016    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.71
      9/3/2016    709   RP0082   Owner Operator   Highway Use Tax                HUTC:2017 - Q1202                    10.58
      9/3/2016    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      9/3/2016    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      9/3/2016    709   RP0082   Owner Operator   Truck Payment                  CTMS - 194827 Q1202 Truck Leas      278.76
      9/3/2016    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         42.5
      9/3/2016    709   RR0123   Owner Operator   Tractor Wash                   CTMS - 194847 Wash W55198            -42.5
      9/3/2016    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/3/2016    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      9/3/2016    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/3/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.71
      9/3/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.15
      9/3/2016    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.11
      9/3/2016    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      9/3/2016    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      9/3/2016    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                  56.95
      9/3/2016    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/3/2016    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      9/3/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.58
      9/3/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.98
      9/3/2016    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        223.9
      9/3/2016    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      9/3/2016    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      9/3/2016    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      9/3/2016    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-27         13.54
      9/3/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         285
      9/3/2016    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.99
      9/3/2016    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      9/3/2016    709   VB0015   Owner Operator   Repair Order                   CTMS - 194981 Repair                247.84
      9/3/2016    709   VB0015   Owner Operator   Truck Payment                  CTMS - 194959 Tractor Sub leas      242.03
      9/3/2016    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/3/2016    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      9/3/2016    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/3/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/3/2016    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.53
      9/3/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.81
      9/3/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.56
      9/3/2016    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.58
      9/3/2016    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      9/3/2016    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      9/3/2016    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      9/3/2016    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      9/3/2016    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      9/3/2016    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      9/3/2016    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      9/3/2016    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      9/3/2016    709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/3/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.21
      9/3/2016    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.03
      9/3/2016    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
      9/3/2016    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      9/3/2016    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      9/3/2016    709   WH0087   Owner Operator   Truck Payment                  CTMS - 194853 Q1238 Lease           311.97
      9/3/2016    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      9/3/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/3/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/3/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/3/2016    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/3/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       443.82
      9/3/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.49

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      9/3/2016    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.4
      9/3/2016    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        30.81
      9/3/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.33
      9/3/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                16.54
      9/3/2016    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      9/3/2016    742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
      9/3/2016    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/3/2016    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.21
      9/3/2016    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.97
      9/3/2016    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.16
      9/3/2016    742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      9/3/2016    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL          8.75
      9/3/2016    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
      9/3/2016    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/3/2016    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.13
      9/3/2016    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.81
      9/3/2016    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
      9/3/2016    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
      9/3/2016    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD          82.04
      9/3/2016    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te         2.5
      9/3/2016    742   CT0085   Owner Operator   Truck Payment                  CTMS - 194528 Sub Lease Q13171      352.68
      9/3/2016    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/3/2016    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
      9/3/2016    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/3/2016    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       422.44
      9/3/2016    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        80.01
      9/3/2016    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.43
      9/3/2016    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.32
      9/3/2016    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/3/2016    742   DA0067   Owner Operator   Toll Charges                   TX 33847 Carquinez Bridge               25
      9/3/2016    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      9/3/2016    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      9/3/2016    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      9/3/2016    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      9/3/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.72
      9/3/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.89
      9/3/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.58
      9/3/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        34.85
      9/3/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.62
      9/3/2016    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.68
      9/3/2016    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
      9/3/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      9/3/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      9/3/2016    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      9/3/2016    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/3/2016    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      9/3/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.56
      9/3/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       116.86
      9/3/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.49
      9/3/2016    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.6
      9/3/2016    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      9/3/2016    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/3/2016    742   EN0016   Owner Operator   Toll Charges                   32947      TX Ship Channel B             7
      9/3/2016    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      9/3/2016    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
      9/3/2016    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
      9/3/2016    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/3/2016    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.98
      9/3/2016    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.29
      9/3/2016    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.1
      9/3/2016    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.57
      9/3/2016    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.13
      9/3/2016    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
      9/3/2016    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      9/3/2016    742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75

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      9/3/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      9/3/2016    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      9/3/2016    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      9/3/2016    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      9/3/2016    742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/3/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.14
      9/3/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.76
      9/3/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.79
      9/3/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.84
      9/3/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.45
      9/3/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.36
      9/3/2016    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.25
      9/3/2016    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      9/3/2016    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      9/3/2016    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/3/2016    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.74
      9/3/2016    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        71.71
      9/3/2016    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.52
      9/3/2016    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                     100
      9/3/2016    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      9/3/2016    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      9/3/2016    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       516.76
      9/3/2016    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      9/3/2016    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      9/3/2016    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      9/3/2016    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      9/3/2016    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
      9/3/2016    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
      9/3/2016    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/3/2016    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/3/2016    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         100
      9/3/2016    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.02
      9/3/2016    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         183
      9/3/2016    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
      9/3/2016    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
      9/3/2016    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.57
      9/3/2016    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
      9/3/2016    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00339787 - PO System         84.21
      9/3/2016    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      9/3/2016    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      9/3/2016    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/3/2016    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/3/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       423.33
      9/3/2016    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.84
      9/3/2016    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/3/2016    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      9/3/2016    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      9/3/2016    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00340098 - PO System        725.18
      9/3/2016    742   NG0024   Owner Operator   Toll Charges                   TX 33252 Carquinez Bridge               25
      9/3/2016    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/3/2016    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                         83.62
      9/3/2016    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/3/2016    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/3/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.22
      9/3/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.88
      9/3/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.85
      9/3/2016    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.42
      9/3/2016    742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      9/3/2016    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
      9/3/2016    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      9/3/2016    742   PS0080   Owner Operator   *Arrears Collection W/O        Arrears write-off                   -43.99
      9/3/2016    742   PS0080   Owner Operator   Broker Pre Pass                33584 PrePass Device                  12.5
      9/3/2016    742   PS0080   Owner Operator   Broker Pre Pass                33584 PrePass Device                  12.5
      9/3/2016    742   PS0080   Owner Operator   FUEL TAX                       Apr16 Fuel Taxes                     18.99
      9/3/2016    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      9/3/2016    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      9/3/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.89
      9/3/2016    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.45

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       9/3/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
       9/3/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
       9/3/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/3/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
       9/3/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
       9/3/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 194829 Tractor Lease         353.28
       9/3/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
       9/3/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
       9/3/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
       9/3/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
       9/3/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
       9/3/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
       9/3/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
       9/3/2016   844   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
       9/3/2016   844   JK0112   Owner Operator   ESCROW                         Weekly Escrow                           50
       9/3/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
       9/3/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
       9/3/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
       9/3/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
       9/3/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
       9/3/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       9/3/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       9/3/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       9/3/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       9/3/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       9/3/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.93
       9/3/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.34
       9/3/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.96
       9/3/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.61
       9/3/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.79
       9/3/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.17
       9/3/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.59
       9/3/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.78
       9/3/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        202.4
       9/3/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.27
       9/3/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.87
       9/3/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/3/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/3/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/3/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
       9/3/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
       9/3/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
       9/3/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
       9/3/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
       9/3/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
       9/3/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA JFK                          48
       9/3/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA JFK                       22.22
       9/3/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PANYNJ GWU                        85
       9/3/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        389.3
       9/3/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
       9/3/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      9/10/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      9/10/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      9/10/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.5
      9/10/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      9/10/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      9/10/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      9/10/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      9/10/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.01
      9/10/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      9/10/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      9/10/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      9/10/2016   709   AR0064   Owner Operator   Repair Order                   CTMS - 194982 Repair                501.08
      9/10/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 195043 Trck Lease            353.28
      9/10/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      9/10/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      9/10/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/10/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.51
      9/10/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        22.53
      9/10/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.34
      9/10/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        88.15

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      9/10/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      9/10/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      9/10/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      9/10/2016   709   AV0021   Owner Operator   Repair Order                   CTMS - 195130 Repair                260.69
      9/10/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 195041 Q13169 Sublease       352.68
      9/10/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      9/10/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      9/10/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/10/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.94
      9/10/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      9/10/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      9/10/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      9/10/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 195007 Q13168 sub lease      352.68
      9/10/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/10/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      9/10/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
      9/10/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/10/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/10/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.87
      9/10/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      9/10/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/10/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      9/10/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      9/10/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      9/10/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.04
      9/10/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.28
      9/10/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.01
      9/10/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
      9/10/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      9/10/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      9/10/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      9/10/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      9/10/2016   709   CS0091   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-17         -6.5
      9/10/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2017 - Q1201                    10.58
      9/10/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      9/10/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      9/10/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 195006 Q1201                 278.76
      9/10/2016   709   DJ0028   Owner Operator   Permits1                       ID06:2016 - Q1104                      -11
      9/10/2016   709   DJ0028   Owner Operator   Permits1                       IL02:2016 - Q1104                    -3.75
      9/10/2016   709   DJ0028   Owner Operator   Permits1                       NM07:2016 - Q1104                     -5.5
      9/10/2016   709   DJ0028   Owner Operator   Permits1                       NY13:2016 - Q1104                      -19
      9/10/2016   709   DJ0028   Owner Operator   Permits1                       OR16:2016 - Q1104                       -8
      9/10/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      9/10/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
      9/10/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/10/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.51
      9/10/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.49
      9/10/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.2
      9/10/2016   709   DL0029   Owner Operator   Repair Order                   CTMS - 195129 Repair                  250
      9/10/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      9/10/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      9/10/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.44
      9/10/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       492.67
      9/10/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                    10.58
      9/10/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      9/10/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      9/10/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 194994 Sublease              338.99
      9/10/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      9/10/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/10/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      9/10/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      9/10/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      9/10/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.07
      9/10/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       478.61
      9/10/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35

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      9/10/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      9/10/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      9/10/2016   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-17        -86.5
      9/10/2016   709   DS0225   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      9/10/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.05
      9/10/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    39.07
      9/10/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      9/10/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      9/10/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.56
      9/10/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         277
      9/10/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.43
      9/10/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      9/10/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      9/10/2016   709   DW0138   Owner Operator   Repair Order                   CTMS - 194981 Repair                501.08
      9/10/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      9/10/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/10/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      9/10/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
      9/10/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/10/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/10/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       530.85
      9/10/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      9/10/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      9/10/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/10/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      9/10/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/10/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/10/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.6
      9/10/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.76
      9/10/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.99
      9/10/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      9/10/2016   709   EE0011   Owner Operator   Repair Order                   CTMS - 195129 Repair                274.45
      9/10/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      9/10/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      9/10/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
      9/10/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/10/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        382.1
      9/10/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.21
      9/10/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.02
      9/10/2016   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                     100
      9/10/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
      9/10/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      9/10/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 9/1 #17105                   350.36
      9/10/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 9/8 #17105                   350.36
      9/10/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      9/10/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      9/10/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/10/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.77
      9/10/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        130.5
      9/10/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      9/10/2016   709   FS0039   Owner Operator   Tire Fee                       Tire Fee: 1948707                        8
      9/10/2016   709   FS0039   Owner Operator   Tire Purchase                  PO: 709-00340056 - PO System        222.97
      9/10/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 195038 truck lease 3304      434.29
      9/10/2016   709   FT0004   Owner Operator   Accident Claim                 Claim Setup On Wkly Deductions        250
      9/10/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      9/10/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      9/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            40
      9/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          265
      9/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            55
      9/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.55
      9/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.65
      9/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      9/10/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.37
      9/10/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      9/10/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      9/10/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      9/10/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 195009 73129                 181.08

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      9/10/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/10/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      9/10/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.97
      9/10/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/10/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
      9/10/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      9/10/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      9/10/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/10/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
      9/10/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 195009 Lease                  252.11
      9/10/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      9/10/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      9/10/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/10/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        273.33
      9/10/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        431.15
      9/10/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/10/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
      9/10/2016   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-17       -327.88
      9/10/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        327.88
      9/10/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
      9/10/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/10/2016   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-17          -29.7
      9/10/2016   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-17          -32.3
      9/10/2016   709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
      9/10/2016   709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
      9/10/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/10/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
      9/10/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/10/2016   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00339433 - PO System          160.6
      9/10/2016   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00339528 - PO System          160.6
      9/10/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
      9/10/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         175.19
      9/10/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        544.76
      9/10/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.6
      9/10/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      9/10/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/10/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      9/10/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      9/10/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/10/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/10/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.27
      9/10/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.6
      9/10/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/10/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      9/10/2016   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00338486 - PO System         206.72
      9/10/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      9/10/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/10/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      9/10/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/10/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/10/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/10/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/10/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        427.73
      9/10/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        376.49
      9/10/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/10/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      9/10/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      9/10/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/10/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      9/10/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/10/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        148.43
      9/10/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/10/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      9/10/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      9/10/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      9/10/2016   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-3             155
      9/10/2016   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-17         -2015
      9/10/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.39
      9/10/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.36
      9/10/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/10/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      9/10/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      9/10/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13

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      9/10/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.4
      9/10/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2017 - Q1203                     10.58
      9/10/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                     34.17
      9/10/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      9/10/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 194998 Truck Lease            278.76
      9/10/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      9/10/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      9/10/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      9/10/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/10/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/10/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/10/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        385.01
      9/10/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      9/10/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      9/10/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/10/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      9/10/2016   709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                     -1500
      9/10/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/10/2016   709   KP0004   Owner Operator   Express Check                  T-Check Payment                        1500
      9/10/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/10/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/10/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         86.26
      9/10/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      9/10/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      9/10/2016   709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00339432 - PO System          98.26
      9/10/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      9/10/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      9/10/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      9/10/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-3           242.7
      9/10/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      9/10/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 195070 Lease Q1111            252.11
      9/10/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      9/10/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      9/10/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        424.51
      9/10/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        264.28
      9/10/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        435.68
      9/10/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      9/10/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      9/10/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      9/10/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      9/10/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/10/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/10/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        152.31
      9/10/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      9/10/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
      9/10/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
      9/10/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        178.03
      9/10/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.07
      9/10/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 195030 Q1113 Lease            252.11
      9/10/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      9/10/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-3          744.48
      9/10/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-3          495.66
      9/10/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-17       -808.42
      9/10/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.88
      9/10/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      9/10/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      9/10/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      9/10/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      9/10/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/10/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/10/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.2
      9/10/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        189.99
      9/10/2016   709   MM0093   Owner Operator   Loan Repayment                 Bal Of Loan 5 Comb W/145285        -4640.93
      9/10/2016   709   MM0093   Owner Operator   Loan Repayment                 Close Open Loan Roll To New         1490.74
      9/10/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment        263.52

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      9/10/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      9/10/2016   709   MM0093   Owner Operator   T Chek Fee                     ExpressCheck Fee                      31.19
      9/10/2016   709   MM0093   Owner Operator   T Chek Fee                     Tractor Repair 32931                  3119
      9/10/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      9/10/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      9/10/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      9/10/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      9/10/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             40
      9/10/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.4
      9/10/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        209.53
      9/10/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      9/10/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      9/10/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      9/10/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      9/10/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      9/10/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      9/10/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        313.62
      9/10/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.22
      9/10/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.73
      9/10/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      9/10/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 194917 Lease                  215.66
      9/10/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 195077 Lease                  215.66
      9/10/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      9/10/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      9/10/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           160
      9/10/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.6
      9/10/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          330
      9/10/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      9/10/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      9/10/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      9/10/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.88
      9/10/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.59
      9/10/2016   709   NR0010   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        482.09
      9/10/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.07
      9/10/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 194997 Tractor Sublease       252.11
      9/10/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      9/10/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      9/10/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                          13
      9/10/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/10/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                     10.58
      9/10/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                     34.17
      9/10/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            30.47
      9/10/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 195007 Truck 73130 Leas       196.65
      9/10/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      9/10/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      9/10/2016   709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-17       -130.48
      9/10/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.85
      9/10/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.16
      9/10/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      9/10/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
      9/10/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      9/10/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 194997 Down Payment lo        303.55
      9/10/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.7
      9/10/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/10/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      9/10/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      9/10/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        342.24
      9/10/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        188.03
      9/10/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.07
      9/10/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
      9/10/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            8.75
      9/10/2016   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-17           -55
      9/10/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.32
      9/10/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75

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      9/10/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      9/10/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/10/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/10/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/10/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/10/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        392.63
      9/10/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        382.38
      9/10/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        258.68
      9/10/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
      9/10/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      9/10/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
      9/10/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      9/10/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
      9/10/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
      9/10/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      9/10/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      9/10/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2017 - Q1202                     10.58
      9/10/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                     34.17
      9/10/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      9/10/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 194998 Q1202 Truck Leas       278.76
      9/10/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
      9/10/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
      9/10/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
      9/10/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
      9/10/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/10/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/10/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.8
      9/10/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.39
      9/10/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.6
      9/10/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        415.67
      9/10/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                     10.58
      9/10/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                     10.58
      9/10/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
      9/10/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
      9/10/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
      9/10/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
      9/10/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
      9/10/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
      9/10/2016   709   RR0123   Owner Operator   Tractor Wash                   CTMS - 195122 Trailer wash W70          -42
      9/10/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 194853 Q1248                  311.97
      9/10/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 195006 Q1248                  311.97
      9/10/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/10/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/10/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        289.46
      9/10/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.61
      9/10/2016   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                   56.95
      9/10/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      9/10/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
      9/10/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        276.58
      9/10/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        243.94
      9/10/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
      9/10/2016   709   UE0001   Owner Operator   *Arrears Collection W/O        Arrears Write-off                  -6600.07
      9/10/2016   709   UE0001   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  8.75
      9/10/2016   709   UE0001   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  8.75
      9/10/2016   709   UE0001   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  8.75
      9/10/2016   709   UE0001   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/10/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance                           500
      9/10/2016   709   UE0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      9/10/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        126.01
      9/10/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.21
      9/10/2016   709   UE0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.47
      9/10/2016   709   UE0001   Owner Operator   IRP License Deduction          LCIL:2016 - 33786                      100
      9/10/2016   709   UE0001   Owner Operator   IRP License Deduction          LCIL:2016 - 33786                    242.42
      9/10/2016   709   UE0001   Owner Operator   Miscellaneous                  manual chk replace 963483           4733.22
      9/10/2016   709   UE0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   UE0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                     30

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      9/10/2016   709   UE0001   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      9/10/2016   709   UE0001   Owner Operator   Repair Order                   TRACTOR 33786                       128.99
      9/10/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      9/10/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      9/10/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         384
      9/10/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         194
      9/10/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.16
      9/10/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      9/10/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 195113 Tractor Sub leas      242.03
      9/10/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/10/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      9/10/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/10/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.04
      9/10/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.98
      9/10/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      9/10/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      9/10/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      9/10/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      9/10/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      9/10/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      9/10/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      9/10/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      9/10/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/10/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            50
      9/10/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      9/10/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.99
      9/10/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.05
      9/10/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.89
      9/10/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
      9/10/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      9/10/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      9/10/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 195006 Q1238 Lease           311.97
      9/10/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      9/10/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      9/10/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      9/10/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      9/10/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/10/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/10/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.53
      9/10/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
      9/10/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                35.81
      9/10/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      9/10/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      9/10/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/10/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/10/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/10/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/10/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/10/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        93.89
      9/10/2016   742   BS0078   Owner Operator   FUEL TAX                       June 2016 Fuel Taxes                112.87
      9/10/2016   742   BS0078   Owner Operator   IRP License Deduction          LCIL:2016 - 33471                    76.62
      9/10/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/10/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      9/10/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.54
      9/10/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      9/10/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      9/10/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      9/10/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      9/10/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      9/10/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      9/10/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      9/10/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      9/10/2016   742   BS0078   Owner Operator   Toll Charges                   33471      TX Ship Channel B             7
      9/10/2016   742   BS0078   Owner Operator   Toll Charges                   33471      TX Ship Channel B           3.5

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      9/10/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL                8.75
      9/10/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/10/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        392.96
      9/10/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.76
      9/10/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD                35.16
      9/10/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori          2.5
      9/10/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
      9/10/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                         8
      9/10/2016   742   CT0085   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-17       -190.18
      9/10/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/10/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         81.26
      9/10/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        -82.17
      9/10/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.23
      9/10/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         69.48
      9/10/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        324.48
      9/10/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                    10.58
      9/10/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                    34.17
      9/10/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   742   CT0085   Owner Operator   Permits1                       ID06:2016 - Q13171                       11
      9/10/2016   742   CT0085   Owner Operator   Permits1                       IL02:2016 - Q13171                     3.75
      9/10/2016   742   CT0085   Owner Operator   Permits1                       NM07:2016 - Q13171                      5.5
      9/10/2016   742   CT0085   Owner Operator   Permits1                       NY13:2016 - Q13171                       19
      9/10/2016   742   CT0085   Owner Operator   Permits1                       OR16:2016 - Q13171                        8
      9/10/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           82.04
      9/10/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te          2.5
      9/10/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/10/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                         13
      9/10/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/10/2016   742   DA0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33847                      100
      9/10/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   742   DA0067   Owner Operator   Permits                        IL02:2016 - 33847                      3.75
      9/10/2016   742   DA0067   Owner Operator   Permits                        NM07:2016 - 33847                       5.5
      9/10/2016   742   DA0067   Owner Operator   Permits                        NY13:2016 - 33847                       1.5
      9/10/2016   742   DA0067   Owner Operator   Permits                        OR16:2016 - 33847                         8
      9/10/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.32
      9/10/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      9/10/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL               8.75
      9/10/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                         13
      9/10/2016   742   EO0014   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
      9/10/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/10/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.64
      9/10/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD               78.13
      9/10/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror          2.5
      9/10/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
      9/10/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-17           -32
      9/10/2016   742   FS0011   Owner Operator   Miscellaneous                  Payee Mismatch Returned Item          -12.5
      9/10/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      9/10/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.69
      9/10/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
      9/10/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                         8.75
      9/10/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                         13
      9/10/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/10/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                         46.88
      9/10/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
      9/10/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        134.67
      9/10/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         91.89
      9/10/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                     99
      9/10/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        216.16
      9/10/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      9/10/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                         13
      9/10/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        109.45
      9/10/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                            75
      9/10/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      9/10/2016   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                   16.15
      9/10/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL               8.75
      9/10/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                          8
      9/10/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/10/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          150

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      9/10/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          150
      9/10/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          100
      9/10/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          150
      9/10/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                     10.58
      9/10/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                     34.17
      9/10/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   742   MT0112   Owner Operator   Permits1                       ID06:2016 - Q1247                        11
      9/10/2016   742   MT0112   Owner Operator   Permits1                       IL02:2016 - Q1247                      3.75
      9/10/2016   742   MT0112   Owner Operator   Permits1                       NM07:2016 - Q1247                       5.5
      9/10/2016   742   MT0112   Owner Operator   Permits1                       NY13:2016 - Q1247                        19
      9/10/2016   742   MT0112   Owner Operator   Permits1                       OR16:2016 - Q1247                         8
      9/10/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD               72.57
      9/10/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror          2.5
      9/10/2016   742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00339787 - PO System          84.21
      9/10/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL            8.75
      9/10/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
      9/10/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/10/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/10/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        211.28
      9/10/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          297
      9/10/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        587.84
      9/10/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           100.79
      9/10/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter          2.5
      9/10/2016   742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00340098 - PO System         725.18
      9/10/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/10/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/10/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          16.38
      9/10/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/10/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/10/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.96
      9/10/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.8
      9/10/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.14
      9/10/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        125.79
      9/10/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      9/10/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.38
      9/10/2016   742   PC0012   Owner Operator   Toll Charges                   TX 32969       Carquinez Brid            25
      9/10/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
      9/10/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
      9/10/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
      9/10/2016   742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-17       -255.24
      9/10/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        288.94
      9/10/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.12
      9/10/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        177.75
      9/10/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                    10.58
      9/10/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                    34.17
      9/10/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.26
      9/10/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      9/10/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      9/10/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                         13
      9/10/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/10/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/10/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/10/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/10/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.7
      9/10/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        349.04
      9/10/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.75
      9/10/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.39
      9/10/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/10/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
      9/10/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
      9/10/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         635.4
      9/17/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL           8.75
      9/17/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                        13
      9/17/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        228.22
      9/17/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/17/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD            7.82
      9/17/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te          2.5
      9/17/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL           8.75
      9/17/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        13
      9/17/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        316.54
      9/17/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.8

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      9/17/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       438.07
      9/17/2016   709   AR0064   Owner Operator   FUEL TAX                       July 16 fuel taxes                  181.69
      9/17/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      9/17/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      9/17/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      9/17/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 195205 Trck Lease            353.28
      9/17/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      9/17/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      9/17/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/17/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.73
      9/17/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        163.5
      9/17/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.31
      9/17/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        48.92
      9/17/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.5
      9/17/2016   709   AV0021   Owner Operator   FUEL TAX                       July 16 fuel taxes                   45.93
      9/17/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      9/17/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      9/17/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      9/17/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 195202 Q13169 Sublease       352.68
      9/17/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      9/17/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      9/17/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/17/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.25
      9/17/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.78
      9/17/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.4
      9/17/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.8
      9/17/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      9/17/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      9/17/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      9/17/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 195173 Q13168 sub lease      352.68
      9/17/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/17/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      9/17/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
      9/17/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/17/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.76
      9/17/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.46
      9/17/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        384.9
      9/17/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      9/17/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/17/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      9/17/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      9/17/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      9/17/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.97
      9/17/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.02
      9/17/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.33
      9/17/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.13
      9/17/2016   709   CR0064   Owner Operator   FUEL TAX                       July 16 fuel taxes                   30.36
      9/17/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
      9/17/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      9/17/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      9/17/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      9/17/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      9/17/2016   709   CS0091   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-10           6.5
      9/17/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.95
      9/17/2016   709   CS0091   Owner Operator   Highway Use Tax                HUTC:2017 - Q1201                    10.58
      9/17/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    34.17
      9/17/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      9/17/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 195172 Q1201                 278.76
      9/17/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      9/17/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
      9/17/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/17/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.33
      9/17/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.67
      9/17/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.31

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      9/17/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.93
      9/17/2016   709   DL0029   Owner Operator   FUEL TAX                       July 16 fuel taxes                  -131.27
      9/17/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/17/2016   709   DL0029   Owner Operator   Permits                        ID06:2016 - 33850                        11
      9/17/2016   709   DL0029   Owner Operator   Permits                        IL02:2016 - 33850                      3.75
      9/17/2016   709   DL0029   Owner Operator   Permits                        NY13:2016 - 33850                       1.5
      9/17/2016   709   DL0029   Owner Operator   Permits                        OR16:2016 - 33850                         8
      9/17/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.2
      9/17/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      9/17/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      9/17/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        349.58
      9/17/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                     10.58
      9/17/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                     34.17
      9/17/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/17/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
      9/17/2016   709   DL0107   Owner Operator   Toll Charges                   Q1245 CA Bay Bridge                      25
      9/17/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 195142 Sublease               338.99
      9/17/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
      9/17/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/17/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      9/17/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      9/17/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      9/17/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.11
      9/17/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        547.28
      9/17/2016   709   DS0049   Owner Operator   FUEL TAX                       July 16 fuel taxes                    -4.14
      9/17/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/17/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
      9/17/2016   709   DS0049   Owner Operator   Toll Charges                   32915 CA Bay Bridge                      25
      9/17/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      9/17/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      9/17/2016   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-10           86.5
      9/17/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        413.11
      9/17/2016   709   DS0225   Owner Operator   FUEL TAX                       July 16 fuel taxes                   -35.75
      9/17/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/17/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.07
      9/17/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
      9/17/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      9/17/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        354.56
      9/17/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.77
      9/17/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.39
      9/17/2016   709   DW0138   Owner Operator   FUEL TAX                       July 16 fuel taxes                    60.22
      9/17/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      9/17/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
      9/17/2016   709   DW0138   Owner Operator   Toll Charges                   TReO BC 2212658646 061 - 33443         28.1
      9/17/2016   709   DW0138   Owner Operator   Toll Charges                   TReO BC 2218268740 062 - 33443         23.5
      9/17/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      9/17/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/17/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      9/17/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      9/17/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/17/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/17/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        309.22
      9/17/2016   709   EA0003   Owner Operator   FUEL TAX                       July 16 fuel taxes                   108.76
      9/17/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/17/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      9/17/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      9/17/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/17/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
      9/17/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/17/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/17/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.7
      9/17/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.47
      9/17/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        399.26
      9/17/2016   709   EE0011   Owner Operator   FUEL TAX                       July 16 fuel taxes                   145.51
      9/17/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/17/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.92
      9/17/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
      9/17/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  8.75
      9/17/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                          8
      9/17/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/17/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        360.56
      9/17/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        439.95
      9/17/2016   709   EG0062   Owner Operator   FUEL TAX                       July 16 fuel taxes                    54.16

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      9/17/2016   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                       100
      9/17/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/17/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                  42.19
      9/17/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism          2.5
      9/17/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 9/15 #17105                   350.36
      9/17/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/17/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   -35
      9/17/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          -190
      9/17/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/17/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   8.54
      9/17/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                -372.03
      9/17/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                        532.24
      9/17/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
      9/17/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
      9/17/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/17/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        329.42
      9/17/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.08
      9/17/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.13
      9/17/2016   709   FS0039   Owner Operator   FUEL TAX                       July 16 fuel taxes                    12.54
      9/17/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/17/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.88
      9/17/2016   709   FS0039   Owner Operator   Tire Purchase                  PO: 709-00340056 - PO System         222.97
      9/17/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 195200 truck lease 3304       434.29
      9/17/2016   709   FT0004   Owner Operator   Accident Claim                 Claim Setup On Wkly Deductions          250
      9/17/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
      9/17/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
      9/17/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            150
      9/17/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/17/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/17/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
      9/17/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.46
      9/17/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.4
      9/17/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        169.09
      9/17/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                     10.58
      9/17/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                     34.17
      9/17/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/17/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.52
      9/17/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 195176 73129                  181.08
      9/17/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      9/17/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      9/17/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/17/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/17/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        309.26
      9/17/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        390.27
      9/17/2016   709   FV0001   Owner Operator   FUEL TAX                       July 16 fuel taxes                    30.94
      9/17/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/17/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
      9/17/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
      9/17/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
      9/17/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.51
      9/17/2016   709   GS0015   Owner Operator   FUEL TAX                       July 16 fuel taxes                    85.01
      9/17/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/17/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
      9/17/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 195176 Lease                  252.11
      9/17/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      9/17/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      9/17/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/17/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        409.09
      9/17/2016   709   HG0007   Owner Operator   FUEL TAX                       July 16 fuel taxes                    58.37
      9/17/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/17/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
      9/17/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      9/17/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      9/17/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      9/17/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      9/17/2016   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-10         327.88
      9/17/2016   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-24       -327.88
      9/17/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/17/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/17/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/17/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/17/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        427.15
      9/17/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         73.74

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      9/17/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        364.5
      9/17/2016   709   HG0027   Owner Operator   FUEL TAX                       July 16 fuel taxes                   49.14
      9/17/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      9/17/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      9/17/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      9/17/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/17/2016   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-10          29.7
      9/17/2016   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-10          32.3
      9/17/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         24.38
      9/17/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                          5.58
      9/17/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.06
      9/17/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.24
      9/17/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.7
      9/17/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.68
      9/17/2016   709   IR0002   Owner Operator   FUEL TAX                       July 16 fuel taxes                  -37.32
      9/17/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      9/17/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/17/2016   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00339433 - PO System         160.6
      9/17/2016   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00339528 - PO System         160.6
      9/17/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      9/17/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      9/17/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      9/17/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      9/17/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      9/17/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      9/17/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      9/17/2016   709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                    -2400
      9/17/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      9/17/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      9/17/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         24.81
      9/17/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/17/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       403.67
      9/17/2016   709   JC0292   Owner Operator   FUEL TAX                       July 16 fuel taxes                   53.46
      9/17/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      9/17/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      9/17/2016   709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00339330 - PO System        635.91
      9/17/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      9/17/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/17/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      9/17/2016   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1500
      9/17/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      9/17/2016   709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1500
      9/17/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      9/17/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/17/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       417.36
      9/17/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.52
      9/17/2016   709   JG0017   Owner Operator   FUEL TAX                       July 16 fuel taxes                    3.64
      9/17/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      9/17/2016   709   JG0017   Owner Operator   Tire Fee                       Tire Fee: 1952139                        4
      9/17/2016   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00340712 - PO System         37.01
      9/17/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      9/17/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/17/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      9/17/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/17/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      9/17/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/17/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.56
      9/17/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        408.6
      9/17/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        386.1
      9/17/2016   709   JG0072   Owner Operator   FUEL TAX                       July 16 fuel taxes                  200.73
      9/17/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      9/17/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      9/17/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75

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      9/17/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      9/17/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/17/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/17/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.14
      9/17/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       468.52
      9/17/2016   709   JG0092   Owner Operator   FUEL TAX                       July 16 fuel taxes                   132.2
      9/17/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      9/17/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      9/17/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      9/17/2016   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-10         2015
      9/17/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            90
      9/17/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.9
      9/17/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.22
      9/17/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.25
      9/17/2016   709   JQ0015   Owner Operator   FUEL TAX                       July 16 fuel taxes                   -9.93
      9/17/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      9/17/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      9/17/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      9/17/2016   709   JR0099   Owner Operator   Highway Use Tax                HUTC:2017 - Q1203                    10.58
      9/17/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                    34.17
      9/17/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      9/17/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 195148 Truck Lease           278.76
      9/17/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      9/17/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      9/17/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      9/17/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      9/17/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/17/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.53
      9/17/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         396
      9/17/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.88
      9/17/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      9/17/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      9/17/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/17/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      9/17/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      9/17/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       433.35
      9/17/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.48
      9/17/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         185
      9/17/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.44
      9/17/2016   709   KP0004   Owner Operator   FUEL TAX                       July 16 fuel taxes                  163.45
      9/17/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      9/17/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/17/2016   709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00339432 - PO System         98.26
      9/17/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      9/17/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      9/17/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      9/17/2016   709   LL0160   Owner Operator   FUEL TAX                       July 16 fuel taxes                  356.28
      9/17/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      9/17/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 195235 Lease Q1111           252.11
      9/17/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      9/17/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      9/17/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/17/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        456.7
      9/17/2016   709   LS0023   Owner Operator   FUEL TAX                       July 16 fuel taxes                   18.71
      9/17/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      9/17/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      9/17/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      9/17/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      9/17/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      9/17/2016   709   MB0048   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.58
      9/17/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      9/17/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      9/17/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                         8
      9/17/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/17/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        29.08
      9/17/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.31
      9/17/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
      9/17/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 195171 Q1113 Lease           252.11
      9/17/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      9/17/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-10        808.42
      9/17/2016   709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.02
      9/17/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.04
      9/17/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      9/17/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      9/17/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/17/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      9/17/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.18
      9/17/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.13
      9/17/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.01
      9/17/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment       263.52
      9/17/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      9/17/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      9/17/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      9/17/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      9/17/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
      9/17/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
      9/17/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      9/17/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        506.6
      9/17/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      9/17/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      9/17/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      9/17/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      9/17/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      9/17/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
      9/17/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.09
      9/17/2016   709   NB0029   Owner Operator   FUEL TAX                       July 16 fuel taxes                  244.15
      9/17/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      9/17/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 195242 Lease                 215.66
      9/17/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      9/17/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      9/17/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          160
      9/17/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
      9/17/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        81.54
      9/17/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         327
      9/17/2016   709   NG0005   Owner Operator   FUEL TAX                       July 16 fuel taxes                   11.44
      9/17/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      9/17/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      9/17/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      9/17/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.99
      9/17/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        283.6
      9/17/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.03
      9/17/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.46
      9/17/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.49
      9/17/2016   709   NR0010   Owner Operator   FUEL TAX                       July 16 fuel taxes                  132.08
      9/17/2016   709   NR0010   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       482.09
      9/17/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      9/17/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 195147 Tractor Sublease      252.11

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      9/17/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      9/17/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
      9/17/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
      9/17/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/17/2016   709   NT9564   Owner Operator   FUEL TAX                       July 16 fuel taxes                   143.4
      9/17/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
      9/17/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
      9/17/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      9/17/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 195173 Truck 73130 Leas      196.65
      9/17/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      9/17/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      9/17/2016   709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-10        130.48
      9/17/2016   709   RC0030   Owner Operator   FUEL TAX                       July 16 fuel taxes                  549.35
      9/17/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      9/17/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      9/17/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      9/17/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      9/17/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 195147 Down Payment lo       303.55
      9/17/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      9/17/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/17/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      9/17/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      9/17/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.75
      9/17/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.56
      9/17/2016   709   RC0089   Owner Operator   FUEL TAX                       July 16 fuel taxes                  -10.71
      9/17/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      9/17/2016   709   RC0089   Owner Operator   Tire Fee                       Tire Fee: 1952320                       16
      9/17/2016   709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00340142 - PO System        327.35
      9/17/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      9/17/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      9/17/2016   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-10            55
      9/17/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       443.83
      9/17/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.37
      9/17/2016   709   RL0017   Owner Operator   FUEL TAX                       July 16 fuel taxes                  -29.81
      9/17/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      9/17/2016   709   RL0017   Owner Operator   Tire Fee                       Tire Fee: 1952239                       24
      9/17/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00340724 - PO System        677.83
      9/17/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/17/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      9/17/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       420.27
      9/17/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.15
      9/17/2016   709   RL0062   Owner Operator   FUEL TAX                       July 16 fuel taxes                  142.96
      9/17/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       258.68
      9/17/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      9/17/2016   709   RL0062   Owner Operator   Tire Fee                       Tire Fee: 1952151                        8
      9/17/2016   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00340715 - PO System        208.34
      9/17/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      9/17/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      9/17/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      9/17/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      9/17/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.92
      9/17/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.32
      9/17/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.08
      9/17/2016   709   RM0026   Owner Operator   FUEL TAX                       July 16 fuel taxes                  192.09
      9/17/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      9/17/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      9/17/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      9/17/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.63
      9/17/2016   709   RP0082   Owner Operator   Highway Use Tax                HUTC:2017 - Q1202                    10.58
      9/17/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    34.17
      9/17/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      9/17/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 195148 Q1202 Truck Leas      278.76

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      9/17/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      9/17/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      9/17/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/17/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       436.36
      9/17/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.31
      9/17/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.48
      9/17/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.22
      9/17/2016   709   RR0123   Owner Operator   FUEL TAX                       July 16 fuel taxes                   56.83
      9/17/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                    10.58
      9/17/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      9/17/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      9/17/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      9/17/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 195172 Q1248                 311.97
      9/17/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/17/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/17/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      9/17/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      9/17/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/17/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/17/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/17/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.61
      9/17/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         4.28
      9/17/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.97
      9/17/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        230.3
      9/17/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.16
      9/17/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.31
      9/17/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.45
      9/17/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.62
      9/17/2016   709   SB0009   Owner Operator   FUEL TAX                       July 16 fuel taxes                   92.33
      9/17/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      9/17/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      9/17/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      9/17/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      9/17/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/17/2016   709   SN0019   Owner Operator   FUEL TAX                       July 16 fuel taxes                   53.92
      9/17/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      9/17/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      9/17/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      9/17/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         380
      9/17/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         154
      9/17/2016   709   VB0015   Owner Operator   FUEL TAX                       July 16 fuel taxes                  324.06
      9/17/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      9/17/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 195286 Tractor Sub leas      242.03
      9/17/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/17/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      9/17/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/17/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.2
      9/17/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.34
      9/17/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.48
      9/17/2016   709   VJ0006   Owner Operator   FUEL TAX                       July 16 fuel taxes                  212.34
      9/17/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      9/17/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      9/17/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      9/17/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      9/17/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      9/17/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      9/17/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      9/17/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      9/17/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/17/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/17/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                          200

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      9/17/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.39
      9/17/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.46
      9/17/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.58
      9/17/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.35
      9/17/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.75
      9/17/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.78
      9/17/2016   709   WH0087   Owner Operator   FUEL TAX                       July 16 fuel taxes                      65
      9/17/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
      9/17/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      9/17/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      9/17/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 195172 Q1238 Lease           311.97
      9/17/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      9/17/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      9/17/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.83
      9/17/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.74
      9/17/2016   742   AP0047   Owner Operator   FUEL TAX                       July 16 fuel taxes                   59.75
      9/17/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
      9/17/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      9/17/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/17/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/17/2016   742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                  12.5
      9/17/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      9/17/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      9/17/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      9/17/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      9/17/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      9/17/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      9/17/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      9/17/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        320.7
      9/17/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.32
      9/17/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.98
      9/17/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.75
      9/17/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.91
      9/17/2016   742   BS0078   Owner Operator   FUEL TAX                       July 16 fuel taxes                  131.13
      9/17/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      9/17/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      9/17/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      9/17/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      9/17/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
      9/17/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/17/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.99
      9/17/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.38
      9/17/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.35
      9/17/2016   742   CA0089   Owner Operator   FUEL TAX                       July 16 fuel taxes                   99.74
      9/17/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.16
      9/17/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      9/17/2016   742   CA0089   Owner Operator   Repair Order                   CTMS - 195232 repair                211.98
      9/17/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL          8.75
      9/17/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
      9/17/2016   742   CT0085   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-10        190.18
      9/17/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/17/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.59
      9/17/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.58
      9/17/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
      9/17/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
      9/17/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD          82.04
      9/17/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te         2.5
      9/17/2016   742   CT0085   Owner Operator   Toll Charges                   Q13171 CA Carquinez Brid                15
      9/17/2016   742   CT0085   Owner Operator   Toll Charges                   Q13171 CA Carquinez Brid                25
      9/17/2016   742   CT0085   Owner Operator   Toll Charges                   Q13171 CA Carquinez Brid                25
      9/17/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 194856 Sub Lease Q13171      352.68
      9/17/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 195008 Sub Lease Q13171      352.68
      9/17/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 195174 Sub Lease Q13171      352.68

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      9/17/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/17/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
      9/17/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/17/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         280
      9/17/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        34.51
      9/17/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
      9/17/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         120
      9/17/2016   742   DA0067   Owner Operator   FUEL TAX                       July 16 fuel taxes                   49.86
      9/17/2016   742   DA0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33847                     100
      9/17/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.32
      9/17/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/17/2016   742   DA0067   Owner Operator   Repair Order                   CTMS - 195233 repair                377.75
      9/17/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      9/17/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      9/17/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      9/17/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      9/17/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.79
      9/17/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.57
      9/17/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.66
      9/17/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.84
      9/17/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.67
      9/17/2016   742   ED0041   Owner Operator   FUEL TAX                       July 16 fuel taxes                   71.51
      9/17/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      9/17/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      9/17/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      9/17/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      9/17/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/17/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/17/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      9/17/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      9/17/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/17/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.68
      9/17/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        117.6
      9/17/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       362.02
      9/17/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.53
      9/17/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.22
      9/17/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.49
      9/17/2016   742   EN0016   Owner Operator   FUEL TAX                       July 16 fuel taxes                    96.4
      9/17/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      9/17/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      9/17/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/17/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/17/2016   742   EN0016   Owner Operator   Toll Charges                   32947 CA Carquinez Brid                 25
      9/17/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      9/17/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      9/17/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
      9/17/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
      9/17/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/17/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.34
      9/17/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        25.57
      9/17/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.79
      9/17/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.91
      9/17/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         112
      9/17/2016   742   EO0014   Owner Operator   FUEL TAX                       July 16 fuel taxes                  141.82
      9/17/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.13
      9/17/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
      9/17/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      9/17/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-10            32
      9/17/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-24       -15.97
      9/17/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      9/17/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      9/17/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      9/17/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      9/17/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      9/17/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/17/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.26

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      9/17/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.3
      9/17/2016   742   KJ0045   Owner Operator   FUEL TAX                       July 16 fuel taxes                   67.09
      9/17/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      9/17/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      9/17/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/17/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/17/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/17/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/17/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/17/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/17/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.8
      9/17/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.47
      9/17/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.24
      9/17/2016   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                     100
      9/17/2016   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                     100
      9/17/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      9/17/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      9/17/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      9/17/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 89.24
      9/17/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       330.95
      9/17/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      9/17/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      9/17/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      9/17/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      9/17/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      9/17/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.9
      9/17/2016   742   MH0117   Owner Operator   FUEL TAX                       July 16 fuel taxes                  469.81
      9/17/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      9/17/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      9/17/2016   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                  16.15
      9/17/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
      9/17/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
      9/17/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                         4.73
      9/17/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/17/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/17/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        174.6
      9/17/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      9/17/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         200
      9/17/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       118.08
      9/17/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         100
      9/17/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         100
      9/17/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
      9/17/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
      9/17/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.57
      9/17/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
      9/17/2016   742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00339787 - PO System         84.21
      9/17/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 194855 Q1247 Sub Lease       311.97
      9/17/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 195008 Q1247 Sub Lease       311.97
      9/17/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 195174 Q1247 Sub Lease       311.97
      9/17/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      9/17/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      9/17/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       443.08
      9/17/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.59
      9/17/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.54
      9/17/2016   742   NG0024   Owner Operator   FUEL TAX                       July 16 fuel taxes                  188.36
      9/17/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      9/17/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      9/17/2016   742   NG0024   Owner Operator   Repair Order                   CTMS - 195233 repair                 110.6
      9/17/2016   742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00340098 - PO System        725.18

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      9/17/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/17/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/17/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      9/17/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      9/17/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      9/17/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      9/17/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/17/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/17/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/17/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/17/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/17/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/17/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        71.66
      9/17/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.87
      9/17/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        234.6
      9/17/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.64
      9/17/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.43
      9/17/2016   742   PC0012   Owner Operator   FUEL TAX                       July 16 fuel taxes                   40.27
      9/17/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      9/17/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      9/17/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      9/17/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      9/17/2016   742   PC0012   Owner Operator   Repair Order                   CTMS - 194639 Repair                217.28
      9/17/2016   742   PC0012   Owner Operator   Toll Charges                   32969 CA Carquinez Brid                 25
      9/17/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      9/17/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      9/17/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      9/17/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      9/17/2016   742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-10        255.24
      9/17/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.87
      9/17/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.99
      9/17/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.76
      9/17/2016   742   RN0054   Owner Operator   FUEL TAX                       July 16 fuel taxes                  137.33
      9/17/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
      9/17/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      9/17/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      9/17/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      9/17/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 195000 Tractor Lease         353.28
      9/17/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 195150 Tractor Lease         353.28
      9/17/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/17/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      9/17/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          160
      9/17/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          140
      9/17/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4
      9/17/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
      9/17/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        47.63
      9/17/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.19
      9/17/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.07
      9/17/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.88
      9/17/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.37
      9/17/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.27
      9/17/2016   844   JK0112   Owner Operator   FUEL TAX                       July 16 fuel taxes                  124.96
      9/17/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/17/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      9/17/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      9/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 BCBC Burlington Bristol           30
      9/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
      9/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
      9/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
      9/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRPA Walt Whitman Br            37.5
      9/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA Kennedy Memorial Hi          48
      9/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 WVPEDTA Chelyan                 5.87
      9/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 WVPEDTA Ghent North             5.87
      9/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 WVPEDTA Pax                     5.87
      9/17/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      9/24/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      9/24/2016   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
      9/24/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13

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      9/24/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.88
      9/24/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
      9/24/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      9/24/2016   709   AN0007   Owner Operator   Repair Order                   CTMS - 195330 Parts                 176.32
      9/24/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      9/24/2016   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
      9/24/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      9/24/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.26
      9/24/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.19
      9/24/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.96
      9/24/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.99
      9/24/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      9/24/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      9/24/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      9/24/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 195398 Trck Lease            353.28
      9/24/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      9/24/2016   709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                 12.5
      9/24/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      9/24/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/24/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       104.49
      9/24/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.98
      9/24/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.46
      9/24/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      9/24/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      9/24/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      9/24/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 195395 Q13169 Sublease       352.68
      9/24/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      9/24/2016   709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                 12.5
      9/24/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      9/24/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/24/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.71
      9/24/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.95
      9/24/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      9/24/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      9/24/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      9/24/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 195353 Q13168 sub lease      352.68
      9/24/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/24/2016   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      9/24/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      9/24/2016   709   CM0119   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-1          -50
      9/24/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
      9/24/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       448.17
      9/24/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
      9/24/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/24/2016   709   CM0119   Owner Operator   Repair Order                   CTMS - 195331 Repair                 33.97
      9/24/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      9/24/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      9/24/2016   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
      9/24/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      9/24/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.99
      9/24/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.78
      9/24/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.04
      9/24/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.42
      9/24/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
      9/24/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
      9/24/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      9/24/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      9/24/2016   709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                  12.5
      9/24/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      9/24/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.76
      9/24/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.72
      9/24/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                     100
      9/24/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.07
      9/24/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 195352 Q1201                 278.76
      9/24/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      9/24/2016   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5

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      9/24/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      9/24/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        496.2
      9/24/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                    10.58
      9/24/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      9/24/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.69
      9/24/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 195308 Sublease              338.99
      9/24/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
      9/24/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/24/2016   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                  12.5
      9/24/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      9/24/2016   709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-1          -50
      9/24/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      9/24/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      9/24/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.07
      9/24/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.26
      9/24/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.6
      9/24/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
      9/24/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      9/24/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      9/24/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       413.68
      9/24/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    39.04
      9/24/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      9/24/2016   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  12.5
      9/24/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      9/24/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.25
      9/24/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.46
      9/24/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.78
      9/24/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      9/24/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
      9/24/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
      9/24/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/24/2016   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                  12.5
      9/24/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      9/24/2016   709   EA0003   Owner Operator   ESCROW                         Escrow Withdrawal                    -2000
      9/24/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      9/24/2016   709   EA0003   Owner Operator   Express Check                  T-Check Payment                       2000
      9/24/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/24/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/24/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/24/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/24/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/24/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/24/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.96
      9/24/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.16
      9/24/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.58
      9/24/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      9/24/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      9/24/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/24/2016   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                  12.5
      9/24/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      9/24/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/24/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/24/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.52
      9/24/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.73
      9/24/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.44
      9/24/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.82
      9/24/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.91
      9/24/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      9/24/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      9/24/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
      9/24/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/24/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.48
      9/24/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.57
      9/24/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.73
      9/24/2016   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                      100
      9/24/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.18
      9/24/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5

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      9/24/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 9/22 #17105                  350.36
      9/24/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      9/24/2016   709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                  12.5
      9/24/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      9/24/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/24/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.71
      9/24/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.43
      9/24/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.19
      9/24/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.86
      9/24/2016   709   FS0039   Owner Operator   Tire Purchase                  PO: 709-00340056 - PO System        222.97
      9/24/2016   709   FS0039   Owner Operator   Tractor Wash                   CTMS - 195453 Trailer wash WFG       -38.5
      9/24/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 195394 truck lease 3304      434.29
      9/24/2016   709   FT0004   Owner Operator   Accident Claim                 Claim Setup On Wkly Deductions        250
      9/24/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      9/24/2016   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
      9/24/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      9/24/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            10
      9/24/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            75
      9/24/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/24/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/24/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.75
      9/24/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
      9/24/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.63
      9/24/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       134.25
      9/24/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         213
      9/24/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      9/24/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      9/24/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.51
      9/24/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 195356 73129                 181.08
      9/24/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/24/2016   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
      9/24/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      9/24/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/24/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/24/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.48
      9/24/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.41
      9/24/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.01
      9/24/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      9/24/2016   709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                  12.5
      9/24/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      9/24/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.24
      9/24/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
      9/24/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 195356 Lease                 252.11
      9/24/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      9/24/2016   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      9/24/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      9/24/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/24/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/24/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/24/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.51
      9/24/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.57
      9/24/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.78
      9/24/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
      9/24/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      9/24/2016   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      9/24/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      9/24/2016   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-17        327.88
      9/24/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       109.31
      9/24/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.38
      9/24/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.24
      9/24/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.74
      9/24/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
      9/24/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      9/24/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/24/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.22
      9/24/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64

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      9/24/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/24/2016   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00339433 - PO System         160.6
      9/24/2016   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00339528 - PO System         160.6
      9/24/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      9/24/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/24/2016   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      9/24/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      9/24/2016   709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-1          -50
      9/24/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      9/24/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/24/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/24/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.4
      9/24/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.44
      9/24/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      9/24/2016   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00340712 - PO System         37.01
      9/24/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      9/24/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/24/2016   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
      9/24/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      9/24/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/24/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/24/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/24/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/24/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/24/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/24/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.46
      9/24/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         472
      9/24/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.62
      9/24/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      9/24/2016   709   JG0072   Owner Operator   Repair Order                   CTMS - 195331 Repair                  100
      9/24/2016   709   JG0072   Owner Operator   Repair Order                   CTMS - 195331 Repair                134.78
      9/24/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      9/24/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      9/24/2016   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5
      9/24/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      9/24/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/24/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/24/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/24/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.12
      9/24/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.03
      9/24/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.63
      9/24/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      9/24/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      9/24/2016   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
      9/24/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      9/24/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/24/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/24/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.53
      9/24/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.47
      9/24/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.78
      9/24/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
      9/24/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      9/24/2016   709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
      9/24/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      9/24/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                     100
      9/24/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
      9/24/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 195312 Truck Lease           278.76
      9/24/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      9/24/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      9/24/2016   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
      9/24/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      9/24/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      9/24/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/24/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/24/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.75
      9/24/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.22
      9/24/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.29
      9/24/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      9/24/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.93
      9/24/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      9/24/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/24/2016   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
      9/24/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      9/24/2016   709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-1        -232.5
      9/24/2016   709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                  -6111.97
      9/24/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      9/24/2016   709   KP0004   Owner Operator   Express Check                  T-Check Payment                     6111.97
      9/24/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/24/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/24/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/24/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/24/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          368
      9/24/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        161.51
      9/24/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        297.01
      9/24/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        170.01
      9/24/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         37.34
      9/24/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          330
      9/24/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/24/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      9/24/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      9/24/2016   709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00339432 - PO System          98.19
      9/24/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      9/24/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      9/24/2016   709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                   12.5
      9/24/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      9/24/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-1       -333.33
      9/24/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/24/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.04
      9/24/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 195430 Lease Q1111            252.11
      9/24/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      9/24/2016   709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                   12.5
      9/24/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      9/24/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/24/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/24/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/24/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/24/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        351.35
      9/24/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        487.88
      9/24/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/24/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.51
      9/24/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      9/24/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      9/24/2016   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                  12.5
      9/24/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      9/24/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        154.18
      9/24/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        143.78
      9/24/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/24/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.29
      9/24/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
      9/24/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
      9/24/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/24/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        142.75
      9/24/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        239.39
      9/24/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.1
      9/24/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.11
      9/24/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/24/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.04
      9/24/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 195355 Q1113 Lease            252.11
      9/24/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      9/24/2016   709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance                           150
      9/24/2016   709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
      9/24/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          225
      9/24/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.07
      9/24/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/24/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
      9/24/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      9/24/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      9/24/2016   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                   12.5
      9/24/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      9/24/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/24/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1

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      9/24/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.89
      9/24/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.85
      9/24/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.54
      9/24/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment       263.52
      9/24/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.11
      9/24/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      9/24/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      9/24/2016   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                  12.5
      9/24/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      9/24/2016   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                    -2000
      9/24/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      9/24/2016   709   MP0035   Owner Operator   Express Check                  T-Check Payment                       2000
      9/24/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.43
      9/24/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.86
      9/24/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      9/24/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      9/24/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      9/24/2016   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                  12.5
      9/24/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      9/24/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      9/24/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.38
      9/24/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.43
      9/24/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        194.2
      9/24/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.59
      9/24/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          300
      9/24/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.15
      9/24/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 195437 Lease                 215.66
      9/24/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      9/24/2016   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                 12.5
      9/24/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      9/24/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/24/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/24/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.22
      9/24/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.97
      9/24/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      9/24/2016   709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                  12.5
      9/24/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      9/24/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.5
      9/24/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.39
      9/24/2016   709   NR0010   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       482.09
      9/24/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.04
      9/24/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 195311 Tractor Sublease      252.11
      9/24/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      9/24/2016   709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                  12.5
      9/24/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
      9/24/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 9564                         13
      9/24/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/24/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
      9/24/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
      9/24/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      9/24/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 195354 Truck 73130 Leas      196.65
      9/24/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      9/24/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      9/24/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.15
      9/24/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      9/24/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.04
      9/24/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      9/24/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 195312 Down Payment lo       303.55
      9/24/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  51.69
      9/24/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/24/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      9/24/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      9/24/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.89
      9/24/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.69
      9/24/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.05

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      9/24/2016   709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00340142 - PO System        327.35
      9/24/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      9/24/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      9/24/2016   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                 12.5
      9/24/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.89
      9/24/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.29
      9/24/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00340724 - PO System        677.83
      9/24/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/24/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      9/24/2016   709   RL0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-1       -20.97
      9/24/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/24/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/24/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/24/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/24/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       372.76
      9/24/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.04
      9/24/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        371.9
      9/24/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       258.68
      9/24/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.13
      9/24/2016   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00340715 - PO System        208.34
      9/24/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      9/24/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.46
      9/24/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      9/24/2016   709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                  12.5
      9/24/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      9/24/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         154
      9/24/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.81
      9/24/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.63
      9/24/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.67
      9/24/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      9/24/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      9/24/2016   709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                  12.5
      9/24/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      9/24/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.04
      9/24/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.8
      9/24/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                     100
      9/24/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
      9/24/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 195312 Q1202 Truck Leas      278.76
      9/24/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      9/24/2016   709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                  12.5
      9/24/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      9/24/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/24/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                    10.58
      9/24/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      9/24/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.07
      9/24/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      9/24/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 195352 Q1248                 311.97
      9/24/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.78
      9/24/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.87
      9/24/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.89
      9/24/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.79
      9/24/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.78
      9/24/2016   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                  56.95
      9/24/2016   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                  56.95
      9/24/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/24/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      9/24/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      9/24/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.61
      9/24/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       109.54
      9/24/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.02
      9/24/2016   709   SN0019   Owner Operator   FUEL TAX                       July 16 fuel taxes                   28.29
      9/24/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      9/24/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      9/24/2016   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                  12.5
      9/24/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      9/24/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         251
      9/24/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.02

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      9/24/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      9/24/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 195481 Tractor Sub leas      242.03
      9/24/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      9/24/2016   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
      9/24/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      9/24/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      9/24/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.77
      9/24/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.36
      9/24/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.91
      9/24/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      9/24/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      9/24/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      9/24/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      9/24/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      9/24/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      9/24/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      9/24/2016   709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                  12.5
      9/24/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      9/24/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/24/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            40
      9/24/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            40
      9/24/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      9/24/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      9/24/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.98
      9/24/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         87.7
      9/24/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.74
      9/24/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       169.16
      9/24/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
      9/24/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      9/24/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      9/24/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 195352 Q1238 Lease           311.97
      9/24/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      9/24/2016   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      9/24/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      9/24/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/24/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/24/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/24/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/24/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/24/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/24/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/24/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/24/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.98
      9/24/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       124.89
      9/24/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.04
      9/24/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       154.01
      9/24/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.87
      9/24/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.33
      9/24/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      9/24/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      9/24/2016   742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                  12.5
      9/24/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      9/24/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.57
      9/24/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.13
      9/24/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.47
      9/24/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.54
      9/24/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      9/24/2016   742   BS0078   Owner Operator   Tire Fee                       Tire Fee: 1953863                       16
      9/24/2016   742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00341258 - PO System        328.28
      9/24/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
      9/24/2016   742   CA0089   Owner Operator   Broker Pre Pass                33832 PrePass Device                  12.5
      9/24/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/24/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.21
      9/24/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        139.9
      9/24/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.06
      9/24/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.92
      9/24/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.84

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      9/24/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.15
      9/24/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      9/24/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/24/2016   742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                  12.5
      9/24/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
      9/24/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/24/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
      9/24/2016   742   DA0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33847                     100
      9/24/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.29
      9/24/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      9/24/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      9/24/2016   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      9/24/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      9/24/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.41
      9/24/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.78
      9/24/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       169.03
      9/24/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
      9/24/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      9/24/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
      9/24/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
      9/24/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/24/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.72
      9/24/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.73
      9/24/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.57
      9/24/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.11
      9/24/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
      9/24/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      9/24/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-17         15.97
      9/24/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      9/24/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
      9/24/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      9/24/2016   742   FS0011   Owner Operator   Repair Order                   CTMS - 195391 repair                    34
      9/24/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.97
      9/24/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.06
      9/24/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.2
      9/24/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.77
      9/24/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/24/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/24/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/24/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.62
      9/24/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      9/24/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 83.49
      9/24/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      9/24/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      9/24/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        460.3
      9/24/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      9/24/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       139.82
      9/24/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      9/24/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      9/24/2016   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                  16.15
      9/24/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
      9/24/2016   742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                  12.5
      9/24/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
      9/24/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      9/24/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                        45.27
      9/24/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/24/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/24/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      9/24/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      9/24/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        140.1
      9/24/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      9/24/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      9/24/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
      9/24/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
      9/24/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.54

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      9/24/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
      9/24/2016   742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00339787 - PO System         84.15
      9/24/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 195354 Q1247 Sub Lease       311.97
      9/24/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      9/24/2016   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      9/24/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      9/24/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.65
      9/24/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.35
      9/24/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.42
      9/24/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
      9/24/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      9/24/2016   742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00340098 - PO System        725.15
      9/24/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.94
      9/24/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      9/24/2016   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
      9/24/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
      9/24/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.45
      9/24/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.19
      9/24/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.26
      9/24/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.83
      9/24/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.15
      9/24/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
      9/24/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      9/24/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
      9/24/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      9/24/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 195314 Tractor Lease         353.28
      9/24/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      9/24/2016   844   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
      9/24/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      9/24/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/24/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/24/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/24/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/24/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.24
      9/24/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        381.7
      9/24/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.9
      9/24/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/24/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
      9/24/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      9/24/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      10/1/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      10/1/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      10/1/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         370
      10/1/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.27
      10/1/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      10/1/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      10/1/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      10/1/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      10/1/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.79
      10/1/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.21
      10/1/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.26
      10/1/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.72
      10/1/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      10/1/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      10/1/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      10/1/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 195588 Trck Lease            353.28
      10/1/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      10/1/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      10/1/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/1/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        83.08
      10/1/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        58.77
      10/1/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       122.22
      10/1/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.05
      10/1/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.9
      10/1/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      10/1/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      10/1/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      10/1/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 195586 Q13169 Sublease       352.68

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      10/1/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      10/1/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      10/1/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/1/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       415.78
      10/1/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.11
      10/1/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         43.1
      10/1/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      10/1/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      10/1/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      10/1/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 195549 Q13168 sub lease      352.68
      10/1/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/1/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      10/1/2016   709   CM0119   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-24            50
      10/1/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
      10/1/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/1/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/1/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.11
      10/1/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.36
      10/1/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      10/1/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      10/1/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      10/1/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      10/1/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      10/1/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.6
      10/1/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       104.68
      10/1/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.61
      10/1/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       117.88
      10/1/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.39
      10/1/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.33
      10/1/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
      10/1/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      10/1/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      10/1/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      10/1/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      10/1/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.52
      10/1/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                     100
      10/1/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      10/1/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 195548 Q1201                 278.76
      10/1/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      10/1/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      10/1/2016   709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                  12.5
      10/1/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
      10/1/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
      10/1/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/1/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/1/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.49
      10/1/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.41
      10/1/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.56
      10/1/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.46
      10/1/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.59
      10/1/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.04
      10/1/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.77
      10/1/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 34.19
      10/1/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.2
      10/1/2016   709   DL0029   Owner Operator   Repair Order                   CTMS - 195330 Repair                  250
      10/1/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      10/1/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      10/1/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        473.3
      10/1/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                    10.58
      10/1/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      10/1/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      10/1/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 195506 Sublease              338.99
      10/1/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      10/1/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/1/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      10/1/2016   709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-24            50

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      10/1/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      10/1/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      10/1/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.49
      10/1/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       437.39
      10/1/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.97
      10/1/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      10/1/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      10/1/2016   709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      10/1/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      10/1/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    39.07
      10/1/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/1/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      10/1/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
      10/1/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/1/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/1/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/1/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/1/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/1/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/1/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       451.44
      10/1/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       431.64
      10/1/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.47
      10/1/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      10/1/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      10/1/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/1/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      10/1/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/1/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/1/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/1/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/1/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.39
      10/1/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        57.88
      10/1/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.86
      10/1/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      10/1/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      10/1/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      10/1/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
      10/1/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/1/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.38
      10/1/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.57
      10/1/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        438.2
      10/1/2016   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                     100
      10/1/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
      10/1/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      10/1/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 9/29 #17105                  350.36
      10/1/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      10/1/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      10/1/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/1/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.94
      10/1/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.09
      10/1/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.87
      10/1/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      10/1/2016   709   FS0039   Owner Operator   Tire Purchase                  PO: 709-00340056 - PO System        222.97
      10/1/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 195584 truck lease 3304      434.29
      10/1/2016   709   FT0004   Owner Operator   Accident Claim                 Claim Setup On Wkly Deductions        250
      10/1/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      10/1/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      10/1/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/1/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            10
      10/1/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
      10/1/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/1/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.45
      10/1/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         100
      10/1/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      10/1/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      10/1/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52

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      10/1/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 195552 73129                 181.08
      10/1/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      10/1/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      10/1/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/1/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/1/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.18
      10/1/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.69
      10/1/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      10/1/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      10/1/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      10/1/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        199.2
      10/1/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.66
      10/1/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      10/1/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 195552 Lease                 252.11
      10/1/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      10/1/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      10/1/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/1/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/1/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/1/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.38
      10/1/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.99
      10/1/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.73
      10/1/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      10/1/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      10/1/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      10/1/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/1/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/1/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.81
      10/1/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.76
      10/1/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.96
      10/1/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      10/1/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      10/1/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/1/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                        124.28
      10/1/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         22.56
      10/1/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.23
      10/1/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.24
      10/1/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.66
      10/1/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.62
      10/1/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.97
      10/1/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      10/1/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      10/1/2016   709   IR0002   Owner Operator   Tire Fee                       Tire Fee: 1955729                       24
      10/1/2016   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00339433 - PO System        160.56
      10/1/2016   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00339528 - PO System        160.56
      10/1/2016   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00341223 - PO System        477.42
      10/1/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      10/1/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      10/1/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      10/1/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      10/1/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      10/1/2016   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
      10/1/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      10/1/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      10/1/2016   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-8          -62
      10/1/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      10/1/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      10/1/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/1/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/1/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/1/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
      10/1/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      10/1/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/1/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/1/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/1/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       505.27
      10/1/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.8
      10/1/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.29

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      10/1/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     277.99
      10/1/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     459.52
      10/1/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/1/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/1/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                78.11
      10/1/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                78.13
      10/1/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                     458.72
      10/1/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                     458.72
      10/1/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      10/1/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                      13
      10/1/2016   709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-24          50
      10/1/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                       500
      10/1/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                        200
      10/1/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                        100
      10/1/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      10/1/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      10/1/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     406.35
      10/1/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     267.67
      10/1/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/1/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               90.86
      10/1/2016   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00340712 - PO System       37.01
      10/1/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                      504.6
      10/1/2016   709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                32.95
      10/1/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      10/1/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                      13
      10/1/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        100
      10/1/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        100
      10/1/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                        300
      10/1/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      10/1/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      10/1/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      10/1/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     381.94
      10/1/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     401.66
      10/1/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                     403.97
      10/1/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/1/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               74.22
      10/1/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                     513.26
      10/1/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      10/1/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                       8
      10/1/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         50
      10/1/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                        200
      10/1/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      10/1/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                     190.12
      10/1/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                     163.46
      10/1/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                     200.09
      10/1/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/1/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   61.7
      10/1/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL               8.75
      10/1/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                      13
      10/1/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     258.77
      10/1/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/1/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD               19.54
      10/1/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL         8.75
      10/1/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                      13
      10/1/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                     341.44
      10/1/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                   100
      10/1/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/1/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD          58.6
      10/1/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 195512 Truck Lease         278.76
      10/1/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                8.75
      10/1/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                   8.75
      10/1/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                      13
      10/1/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                       100
      10/1/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                        200
      10/1/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                        200
      10/1/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      10/1/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      10/1/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                     321.09
      10/1/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                     232.82
      10/1/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      10/1/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                15.94
      10/1/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                    37.5
      10/1/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75

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      10/1/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      10/1/2016   709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-24          232.5
      10/1/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      10/1/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      10/1/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      10/1/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.1
      10/1/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.6
      10/1/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        205.76
      10/1/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      10/1/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      10/1/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      10/1/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      10/1/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      10/1/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-24         333.33
      10/1/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-8       -174.02
      10/1/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      10/1/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 195611 Lease Q1111            252.11
      10/1/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      10/1/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      10/1/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        129.57
      10/1/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      10/1/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
      10/1/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
      10/1/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/1/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.74
      10/1/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.35
      10/1/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.73
      10/1/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.07
      10/1/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 195550 Q1113 Lease            252.11
      10/1/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      10/1/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.52
      10/1/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.99
      10/1/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      10/1/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      10/1/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      10/1/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                             40
      10/1/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.4
      10/1/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        132.14
      10/1/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         21.92
      10/1/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      10/1/2016   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                        35
      10/1/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                            40
      10/1/2016   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                      112.5
      10/1/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      10/1/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      10/1/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      10/1/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
      10/1/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
      10/1/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        531.72
      10/1/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      10/1/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      10/1/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      10/1/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      10/1/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      10/1/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      10/1/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.48
      10/1/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.6
      10/1/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.76
      10/1/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.62
      10/1/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      10/1/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 195617 Lease                  215.66
      10/1/2016   709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      10/1/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      10/1/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      10/1/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/1/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2

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      10/1/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.72
      10/1/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      10/1/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      10/1/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      10/1/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/1/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/1/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.32
      10/1/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.35
      10/1/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.15
      10/1/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.63
      10/1/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.18
      10/1/2016   709   NR0010   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       482.09
      10/1/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      10/1/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 195511 Tractor Sublease      252.11
      10/1/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      10/1/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
      10/1/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/1/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
      10/1/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
      10/1/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      10/1/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 195549 Truck 73130 Leas      196.65
      10/1/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      10/1/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      10/1/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.32
      10/1/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      10/1/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      10/1/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      10/1/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      10/1/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 195511 Down Payment lo       303.55
      10/1/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      10/1/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/1/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      10/1/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      10/1/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.32
      10/1/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.57
      10/1/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.88
      10/1/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      10/1/2016   709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00340142 - PO System        327.35
      10/1/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      10/1/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      10/1/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       417.88
      10/1/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      10/1/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00340724 - PO System        677.83
      10/1/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/1/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      10/1/2016   709   RL0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-24         20.97
      10/1/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          150
      10/1/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/1/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/1/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      10/1/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.41
      10/1/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.85
      10/1/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.1
      10/1/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       258.68
      10/1/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      10/1/2016   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00340715 - PO System        208.34
      10/1/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      10/1/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      10/1/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      10/1/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      10/1/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.48
      10/1/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.48
      10/1/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.76
      10/1/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      10/1/2016   709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                  32.95

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      10/1/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      10/1/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      10/1/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.33
      10/1/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        233.77
      10/1/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                      100
      10/1/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      10/1/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 195512 Q1202 Truck Leas       278.76
      10/1/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
      10/1/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
      10/1/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/1/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
      10/1/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      10/1/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        368.14
      10/1/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        354.97
      10/1/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                     10.58
      10/1/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
      10/1/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
      10/1/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
      10/1/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 195548 Q1248                  311.97
      10/1/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      10/1/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/1/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/1/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.43
      10/1/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  86.37
      10/1/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
      10/1/2016   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                   56.95
      10/1/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      10/1/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
      10/1/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        273.21
      10/1/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.41
      10/1/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
      10/1/2016   709   UE0001   Owner Operator   IRP License Deduction          2017 IL IRP plate refund           -1159.97
      10/1/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
      10/1/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      10/1/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.49
      10/1/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.01
      10/1/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          350
      10/1/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
      10/1/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 195664 Tractor Sub leas       242.03
      10/1/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      10/1/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
      10/1/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      10/1/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        362.68
      10/1/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.69
      10/1/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        274.65
      10/1/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
      10/1/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
      10/1/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      10/1/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      10/1/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
      10/1/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      10/1/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
      10/1/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
      10/1/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/1/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        104.03
      10/1/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.42
      10/1/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        146.38
      10/1/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.67
      10/1/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                     10.58
      10/1/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                     34.17
      10/1/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD               60.47
      10/1/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 195548 Q1238 Lease            311.97
      10/1/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
      10/1/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
      10/1/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100

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      10/1/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      10/1/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      10/1/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      10/1/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      10/1/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      10/1/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.1
      10/1/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        376.86
      10/1/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.73
      10/1/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.85
      10/1/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 52.35
      10/1/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
      10/1/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      10/1/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
      10/1/2016   742   BS0078   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-8       -164.54
      10/1/2016   742   BS0078   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-8       -153.68
      10/1/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        449.06
      10/1/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.55
      10/1/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
      10/1/2016   742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00341258 - PO System         328.28
      10/1/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL                8.75
      10/1/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/1/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.28
      10/1/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.98
      10/1/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          4.36
      10/1/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        352.31
      10/1/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD                35.16
      10/1/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori          2.5
      10/1/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
      10/1/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
      10/1/2016   742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                  12.5
      10/1/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                         8
      10/1/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                         8
      10/1/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/1/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/1/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        340.48
      10/1/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        354.97
      10/1/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        283.87
      10/1/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                    10.58
      10/1/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                    10.58
      10/1/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                    34.17
      10/1/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                    34.17
      10/1/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           82.04
      10/1/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           82.01
      10/1/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te          2.5
      10/1/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te          2.5
      10/1/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 195354 Sub Lease Q13171       352.68
      10/1/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 195549 Sub Lease Q13171       352.68
      10/1/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      10/1/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                         13
      10/1/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/1/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          188
      10/1/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            25
      10/1/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          300
      10/1/2016   742   DA0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33847                      100
      10/1/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.32
      10/1/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      10/1/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
      10/1/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
      10/1/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        264.76
      10/1/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        169.45
      10/1/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        347.73
      10/1/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        315.64
      10/1/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.25
      10/1/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        153.03
      10/1/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.36
      10/1/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5

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      10/1/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      10/1/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      10/1/2016   742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                   12.5
      10/1/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                         13
      10/1/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                         13
      10/1/2016   742   EN0016   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-8       -156.56
      10/1/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        115.93
      10/1/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.94
      10/1/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.99
      10/1/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        305.01
      10/1/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        182.52
      10/1/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
      10/1/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
      10/1/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      10/1/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      10/1/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
      10/1/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
      10/1/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL               8.75
      10/1/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                         13
      10/1/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/1/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        191.44
      10/1/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.69
      10/1/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.84
      10/1/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD               78.13
      10/1/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror          2.5
      10/1/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
      10/1/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      10/1/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.69
      10/1/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
      10/1/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                         8.75
      10/1/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                         8.75
      10/1/2016   742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                   12.5
      10/1/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                         13
      10/1/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                         13
      10/1/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/1/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/1/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.41
      10/1/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        116.75
      10/1/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.73
      10/1/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.8
      10/1/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.4
      10/1/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         77.34
      10/1/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                         46.88
      10/1/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                         46.86
      10/1/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
      10/1/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
      10/1/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      10/1/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      10/1/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/1/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           100
      10/1/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      10/1/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/1/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         56.45
      10/1/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.71
      10/1/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        354.25
      10/1/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         20.88
      10/1/2016   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                      100
      10/1/2016   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                      100
      10/1/2016   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                      100
      10/1/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/1/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      10/1/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      10/1/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        554.49
      10/1/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        554.49
      10/1/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        554.49
      10/1/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      10/1/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75

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      10/1/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.9
      10/1/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      10/1/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        50.01
      10/1/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      10/1/2016   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                  16.15
      10/1/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
      10/1/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
      10/1/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/1/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      10/1/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      10/1/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      10/1/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         100
      10/1/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
      10/1/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
      10/1/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.57
      10/1/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
      10/1/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 195549 Q1247 Sub Lease       311.97
      10/1/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      10/1/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      10/1/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/1/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/1/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.72
      10/1/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.57
      10/1/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       494.81
      10/1/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      10/1/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      10/1/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/1/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/1/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.55
      10/1/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.36
      10/1/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         36.9
      10/1/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      10/1/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
      10/1/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      10/1/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      10/1/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      10/1/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       442.16
      10/1/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
      10/1/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      10/1/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      10/1/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      10/1/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      10/1/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      10/1/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/1/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/1/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/1/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/1/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       372.42
      10/1/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.38
      10/1/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.24
      10/1/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/1/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      10/1/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      10/1/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      10/8/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      10/8/2016   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
      10/8/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      10/8/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      10/8/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      10/8/2016   709   AN0007   Owner Operator   Repair Order                   CTMS - 195675 repair                    78
      10/8/2016   709   AN0007   Owner Operator   Truck Payment                  CTMS - 195707 Truck Rental            160
      10/8/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      10/8/2016   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
      10/8/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      10/8/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         399
      10/8/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.01
      10/8/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.99

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      10/8/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       390.61
      10/8/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      10/8/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      10/8/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      10/8/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 195755 Trck Lease            353.28
      10/8/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      10/8/2016   709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                 12.5
      10/8/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      10/8/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.35
      10/8/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.61
      10/8/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.02
      10/8/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.27
      10/8/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      10/8/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      10/8/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      10/8/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 195707 Truck Rental            650
      10/8/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 195753 Q13169 Sublease       352.68
      10/8/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      10/8/2016   709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                 12.5
      10/8/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      10/8/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.05
      10/8/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.18
      10/8/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       409.29
      10/8/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      10/8/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      10/8/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      10/8/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 195730 Q13168 sub lease      352.68
      10/8/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/8/2016   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      10/8/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      10/8/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
      10/8/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       415.84
      10/8/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       408.77
      10/8/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      10/8/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      10/8/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      10/8/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      10/8/2016   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
      10/8/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      10/8/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/8/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/8/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.29
      10/8/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.65
      10/8/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.72
      10/8/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       103.77
      10/8/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
      10/8/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      10/8/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      10/8/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      10/8/2016   709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                  12.5
      10/8/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      10/8/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        79.31
      10/8/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                     100
      10/8/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                        3
      10/8/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      10/8/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 195729 Q1201                 278.76
      10/8/2016   709   DJ0028   Owner Operator   FUEL TAX                       July 16 fuel taxes                    2.69
      10/8/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      10/8/2016   709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                  12.5
      10/8/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
      10/8/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.35
      10/8/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        292.3
      10/8/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.68
      10/8/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.25

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      10/8/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/8/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.2
      10/8/2016   709   DL0029   Owner Operator   Repair Order                   CTMS - 195707 Repair                   250
      10/8/2016   709   DL0029   Owner Operator   Repair Order                   CTMS - 195839 Repair                   250
      10/8/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      10/8/2016   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                   12.5
      10/8/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      10/8/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        487.57
      10/8/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                     10.58
      10/8/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                     34.17
      10/8/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/8/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
      10/8/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 195690 Sublease               338.99
      10/8/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
      10/8/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      10/8/2016   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                   12.5
      10/8/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      10/8/2016   709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-15      -270.84
      10/8/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      10/8/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      10/8/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.08
      10/8/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.18
      10/8/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        542.32
      10/8/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/8/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
      10/8/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      10/8/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      10/8/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        374.29
      10/8/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        376.43
      10/8/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/8/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.07
      10/8/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
      10/8/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
      10/8/2016   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                   12.5
      10/8/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      10/8/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      10/8/2016   709   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-15          -95
      10/8/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        360.35
      10/8/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        139.26
      10/8/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.08
      10/8/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          257
      10/8/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.56
      10/8/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        283.17
      10/8/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.31
      10/8/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      10/8/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      10/8/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
      10/8/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
      10/8/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      10/8/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      10/8/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      10/8/2016   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                   12.5
      10/8/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      10/8/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      10/8/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/8/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/8/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/8/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/8/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.93
      10/8/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        439.39
      10/8/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/8/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      10/8/2016   709   EA0003   Owner Operator   Repair Order                   CTMS - 195707 Repair                 281.72
      10/8/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      10/8/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      10/8/2016   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                   12.5
      10/8/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
      10/8/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           300
      10/8/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      10/8/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.08
      10/8/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        316.74
      10/8/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        385.15
      10/8/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.83

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      10/8/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      10/8/2016   709   EE0011   Owner Operator   Repair Order                   CTMS - 195838 Repairs                 75.5
      10/8/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      10/8/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      10/8/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
      10/8/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.81
      10/8/2016   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                     100
      10/8/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
      10/8/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      10/8/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 10/6 #17105                  350.36
      10/8/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  3.93
      10/8/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      10/8/2016   709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                  12.5
      10/8/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      10/8/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.5
      10/8/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.85
      10/8/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         120
      10/8/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      10/8/2016   709   FS0039   Owner Operator   Tire Purchase                  PO: 709-00340056 - PO System        222.93
      10/8/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 195751 truck lease 3304      434.29
      10/8/2016   709   FT0004   Owner Operator   Accident Claim                 Claim Setup On Wkly Deductions      210.73
      10/8/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      10/8/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          300
      10/8/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            60
      10/8/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      10/8/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      10/8/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.1
      10/8/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.84
      10/8/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      10/8/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      10/8/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      10/8/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 195732 73129                 181.08
      10/8/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      10/8/2016   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
      10/8/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      10/8/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          300
      10/8/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      10/8/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.62
      10/8/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        274.6
      10/8/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      10/8/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      10/8/2016   709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                  12.5
      10/8/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      10/8/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.48
      10/8/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      10/8/2016   709   GS0015   Owner Operator   Repair Order                   CTMS - 195838 Repair                252.55
      10/8/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 195732 Lease                 252.11
      10/8/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      10/8/2016   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
      10/8/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      10/8/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/8/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/8/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.54
      10/8/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.58
      10/8/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.05
      10/8/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      10/8/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      10/8/2016   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      10/8/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      10/8/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/8/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/8/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/8/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1

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      10/8/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.53
      10/8/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        249.6
      10/8/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.4
      10/8/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.48
      10/8/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      10/8/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      10/8/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/8/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       105.15
      10/8/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.04
      10/8/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      10/8/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      10/8/2016   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00341223 - PO System        477.42
      10/8/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      10/8/2016   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-1            62
      10/8/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                        107.86
      10/8/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       456.34
      10/8/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/8/2016   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
      10/8/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      10/8/2016   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1500
      10/8/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      10/8/2016   709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1500
      10/8/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      10/8/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      10/8/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.16
      10/8/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       494.31
      10/8/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      10/8/2016   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00340712 - PO System         37.01
      10/8/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      10/8/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/8/2016   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
      10/8/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      10/8/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      10/8/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/8/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/8/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      10/8/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.76
      10/8/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       419.24
      10/8/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       413.38
      10/8/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      10/8/2016   709   JG0072   Owner Operator   Repair Order                   CTMS - 195838 Part                     177
      10/8/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      10/8/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/8/2016   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5
      10/8/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/8/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/8/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/8/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       533.12
      10/8/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.03
      10/8/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      10/8/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      10/8/2016   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
      10/8/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      10/8/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        231.1
      10/8/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.8
      10/8/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      10/8/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      10/8/2016   709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
      10/8/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      10/8/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.98
      10/8/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                        3
      10/8/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                      100
      10/8/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      10/8/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 195695 Truck Lease           278.76
      10/8/2016   709   JS0265   Owner Operator   Accident Claim                 01/28/16 JS0265 Accident               228

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      10/8/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      10/8/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      10/8/2016   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
      10/8/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      10/8/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      10/8/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/8/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/8/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/8/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/8/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.34
      10/8/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        417.1
      10/8/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.55
      10/8/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      10/8/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      10/8/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/8/2016   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      10/8/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      10/8/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      10/8/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/8/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/8/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/8/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/8/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.83
      10/8/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       358.06
      10/8/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        48.07
      10/8/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.43
      10/8/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.01
      10/8/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        69.02
      10/8/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.77
      10/8/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      10/8/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      10/8/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      10/8/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      10/8/2016   709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                  12.5
      10/8/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      10/8/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-1        174.02
      10/8/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      10/8/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 195776 Lease Q1111           252.11
      10/8/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      10/8/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      10/8/2016   709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                  12.5
      10/8/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      10/8/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      10/8/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/8/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/8/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       596.78
      10/8/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      10/8/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      10/8/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      10/8/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      10/8/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      10/8/2016   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                 12.5
      10/8/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      10/8/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.26
      10/8/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      10/8/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      10/8/2016   709   ME0053   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                  12.5
      10/8/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                         8
      10/8/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.85
      10/8/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        404.3
      10/8/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.66
      10/8/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         66.3
      10/8/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   ME0053   Owner Operator   Permits1                       ID06:2016 - Q1113                       11
      10/8/2016   709   ME0053   Owner Operator   Permits1                       IL02:2016 - Q1113                     3.75
      10/8/2016   709   ME0053   Owner Operator   Permits1                       NM07:2016 - Q1113                      5.5

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      10/8/2016   709   ME0053   Owner Operator   Permits1                       NY13:2016 - Q1113                        19
      10/8/2016   709   ME0053   Owner Operator   Permits1                       OR16:2016 - Q1113                         8
      10/8/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.07
      10/8/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 195731 Q1113 Lease            252.11
      10/8/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      10/8/2016   709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/8/2016   709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/8/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.22
      10/8/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      10/8/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/8/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      10/8/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      10/8/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      10/8/2016   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                   12.5
      10/8/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      10/8/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      10/8/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/8/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/8/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      10/8/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      10/8/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.19
      10/8/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.31
      10/8/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        344.51
      10/8/2016   709   MM0093   Owner Operator   Loan Repayment                 Balance Loan 6 W/ Exp Ck 14690     -5829.41
      10/8/2016   709   MM0093   Owner Operator   Loan Repayment                 Close Open Loan Roll To New         3624.61
      10/8/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment        263.52
      10/8/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment        260.53
      10/8/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/8/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         25.58
      10/8/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      10/8/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      10/8/2016   709   MM0093   Owner Operator   T Chek Fee                     ExpressCheck Fee                      21.83
      10/8/2016   709   MM0093   Owner Operator   T Chek Fee                     Tractor Repair 32931                2182.97
      10/8/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      10/8/2016   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                      8.75
      10/8/2016   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                      8.75
      10/8/2016   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                         13
      10/8/2016   709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/8/2016   709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/8/2016   709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/8/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                        115.63
      10/8/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.61
      10/8/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.61
      10/8/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.7
      10/8/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                        316.18
      10/8/2016   709   MM0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/8/2016   709   MM0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/8/2016   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                      28.13
      10/8/2016   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                      28.13
      10/8/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      10/8/2016   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                   12.5
      10/8/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      10/8/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           650
      10/8/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             60
      10/8/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.6
      10/8/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        356.34
      10/8/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/8/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      10/8/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      10/8/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      10/8/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             3.77
      10/8/2016   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                     -2500
      10/8/2016   709   NB0029   Owner Operator   Express Check                  T-Check Payment                        2500
      10/8/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      10/8/2016   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                  12.5
      10/8/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      10/8/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/8/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/8/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        405.87
      10/8/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/8/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      10/8/2016   709   NG0005   Owner Operator   Tire Fee                       Tire Fee: 1956750                         8
      10/8/2016   709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00340930 - PO System         275.85

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      10/8/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      10/8/2016   709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                  12.5
      10/8/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      10/8/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                          250
      10/8/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           100
      10/8/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/8/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.92
      10/8/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.99
      10/8/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.22
      10/8/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       140.89
      10/8/2016   709   NR0010   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       482.09
      10/8/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      10/8/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 195695 Tractor Sublease      252.11
      10/8/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      10/8/2016   709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                  12.5
      10/8/2016   709   NT9564   Owner Operator   Communication Charge           PNET Charges                          -216
      10/8/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
      10/8/2016   709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-15       -11.1
      10/8/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
      10/8/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
      10/8/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      10/8/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 195730 Truck 73130 Leas      196.65
      10/8/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      10/8/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      10/8/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        426.5
      10/8/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      10/8/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      10/8/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      10/8/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      10/8/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 195695 Down Payment lo       303.55
      10/8/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      10/8/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/8/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      10/8/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      10/8/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.29
      10/8/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      10/8/2016   709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00340142 - PO System        327.35
      10/8/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      10/8/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
      10/8/2016   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                 12.5
      10/8/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.53
      10/8/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.32
      10/8/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00340724 - PO System        677.83
      10/8/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/8/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      10/8/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/8/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/8/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.67
      10/8/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       398.32
      10/8/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.03
      10/8/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       258.68
      10/8/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      10/8/2016   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00340715 - PO System        208.34
      10/8/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      10/8/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      10/8/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      10/8/2016   709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                  12.5
      10/8/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      10/8/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.85
      10/8/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.78
      10/8/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      10/8/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      10/8/2016   709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                  12.5
      10/8/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      10/8/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                            80

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      10/8/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.8
      10/8/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.33
      10/8/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.56
      10/8/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                        3
      10/8/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                     100
      10/8/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      10/8/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 195695 Q1202 Truck Leas      278.76
      10/8/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         1.12
      10/8/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      10/8/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      10/8/2016   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                  12.5
      10/8/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      10/8/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                       111.79
      10/8/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/8/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/8/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/8/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/8/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.74
      10/8/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.74
      10/8/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.14
      10/8/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.57
      10/8/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        177.9
      10/8/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.89
      10/8/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      10/8/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 14.61
      10/8/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      10/8/2016   709   SB0009   Owner Operator   Repair Order                   CTMS - 195707 Repair                253.58
      10/8/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      10/8/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      10/8/2016   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                  56.95
      10/8/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      10/8/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      10/8/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.67
      10/8/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.49
      10/8/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.68
      10/8/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      10/8/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      10/8/2016   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                  12.5
      10/8/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      10/8/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         331
      10/8/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      10/8/2016   709   VB0015   Owner Operator   Tire Fee                       Tire Fee: 1957119                        8
      10/8/2016   709   VB0015   Owner Operator   Tire Purchase                  PO: 709-00342021 - PO System        180.99
      10/8/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 195826 Tractor Sub leas      242.03
      10/8/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      10/8/2016   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
      10/8/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      10/8/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      10/8/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          120
      10/8/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      10/8/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      10/8/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
      10/8/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.55
      10/8/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.52
      10/8/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        325.9
      10/8/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      10/8/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      10/8/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      10/8/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      10/8/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      10/8/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      10/8/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      10/8/2016   709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                  12.5
      10/8/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      10/8/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.03

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      10/8/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        21.43
      10/8/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.92
      10/8/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.96
      10/8/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.17
      10/8/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
      10/8/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      10/8/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      10/8/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 195729 Q1238 Lease           311.97
      10/8/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      10/8/2016   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
      10/8/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      10/8/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/8/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/8/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/8/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/8/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/8/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/8/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.23
      10/8/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.38
      10/8/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       409.87
      10/8/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.95
      10/8/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
      10/8/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      10/8/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      10/8/2016   742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                  12.5
      10/8/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      10/8/2016   742   BS0078   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-1        164.54
      10/8/2016   742   BS0078   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-1        153.68
      10/8/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.2
      10/8/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       467.58
      10/8/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.93
      10/8/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.84
      10/8/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.03
      10/8/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      10/8/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      10/8/2016   742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00341258 - PO System        328.28
      10/8/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
      10/8/2016   742   CA0089   Owner Operator   Broker Pre Pass                33832 PrePass Device                  12.5
      10/8/2016   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                        13
      10/8/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       395.25
      10/8/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       466.16
      10/8/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.9
      10/8/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.16
      10/8/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      10/8/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL          8.75
      10/8/2016   742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                 12.5
      10/8/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
      10/8/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.69
      10/8/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.91
      10/8/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
      10/8/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
      10/8/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD          82.04
      10/8/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te         2.5
      10/8/2016   742   CT0085   Owner Operator   Repair Order                   CTMS - 195803 repair                 287.9
      10/8/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/8/2016   742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                  12.5
      10/8/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
      10/8/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.58
      10/8/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.76
      10/8/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.62
      10/8/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.43
      10/8/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.19
      10/8/2016   742   DA0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33847                     100
      10/8/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.32

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      10/8/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      10/8/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      10/8/2016   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      10/8/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      10/8/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.9
      10/8/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.45
      10/8/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      10/8/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      10/8/2016   742   EN0016   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-1        156.56
      10/8/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        101.8
      10/8/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
      10/8/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
      10/8/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        28.21
      10/8/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         91.8
      10/8/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.58
      10/8/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.74
      10/8/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.13
      10/8/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
      10/8/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      10/8/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      10/8/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      10/8/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      10/8/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      10/8/2016   742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                  12.5
      10/8/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      10/8/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.84
      10/8/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.22
      10/8/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        159.3
      10/8/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        89.71
      10/8/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.06
      10/8/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      10/8/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      10/8/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      10/8/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      10/8/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/8/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/8/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/8/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/8/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        318.2
      10/8/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.89
      10/8/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.36
      10/8/2016   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                     100
      10/8/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      10/8/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        37.73
      10/8/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      10/8/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      10/8/2016   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      10/8/2016   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      10/8/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      10/8/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      10/8/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      10/8/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        24.99
      10/8/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      10/8/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      10/8/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      10/8/2016   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                  16.15
      10/8/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
      10/8/2016   742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                  12.5
      10/8/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
      10/8/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/8/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         100
      10/8/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      10/8/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      10/8/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.81
      10/8/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      10/8/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58

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      10/8/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
      10/8/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.57
      10/8/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
      10/8/2016   742   MT0112   Owner Operator   Repair Order                   TRACTOR Q1247                         126
      10/8/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      10/8/2016   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      10/8/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      10/8/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/8/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/8/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.11
      10/8/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        509.5
      10/8/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        127.3
      10/8/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.42
      10/8/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      10/8/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      10/8/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/8/2016   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
      10/8/2016   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
      10/8/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      10/8/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      10/8/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      10/8/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      10/8/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      10/8/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      10/8/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/8/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/8/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/8/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/8/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        124.1
      10/8/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.34
      10/8/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.05
      10/8/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.52
      10/8/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.36
      10/8/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        18.85
      10/8/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      10/8/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      10/8/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      10/8/2016   742   PC0012   Owner Operator   Repair Order                   CTMS - 195330 Repair                    70
      10/8/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      10/8/2016   742   PS0080   Owner Operator   Miscellaneous                  Credit Voided Ck #964850            -47.12
      10/8/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 195513 Tractor Lease          59.02
      10/8/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      10/8/2016   844   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
      10/8/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      10/8/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/8/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/8/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.43
      10/8/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.05
      10/8/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.47
      10/8/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.93
      10/8/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/8/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      10/8/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      10/8/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     10/15/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     10/15/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     10/15/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.28
     10/15/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
     10/15/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     10/15/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
     10/15/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
     10/15/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.84
     10/15/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.02
     10/15/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.9
     10/15/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.04
     10/15/2016   709   AR0064   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               83.88
     10/15/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
     10/15/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
     10/15/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22

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     10/15/2016   709   AR0064   Owner Operator   Repair Order                   CTMS - 196031 Parts                    36.3
     10/15/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 195917 Trck Lease            353.28
     10/15/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL           8.75
     10/15/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                         8
     10/15/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/15/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                             50
     10/15/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
     10/15/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.97
     10/15/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          215
     10/15/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.87
     10/15/2016   709   AV0021   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes                 33.1
     10/15/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
     10/15/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
     10/15/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
     10/15/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 195914 Q13169 Sublease       352.68
     10/15/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL           8.75
     10/15/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                         8
     10/15/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/15/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        84.86
     10/15/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        45.26
     10/15/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       353.35
     10/15/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.56
     10/15/2016   709   CC0134   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes                -6.25
     10/15/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
     10/15/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
     10/15/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
     10/15/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 195873 Q13168 sub lease      352.68
     10/15/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/15/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                         13
     10/15/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                          300
     10/15/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/15/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/15/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       475.49
     10/15/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.04
     10/15/2016   709   CM0119   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               11.28
     10/15/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
     10/15/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     10/15/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     10/15/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
     10/15/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
     10/15/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.18
     10/15/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.95
     10/15/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.91
     10/15/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.42
     10/15/2016   709   CR0064   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               11.94
     10/15/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       258.39
     10/15/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
     10/15/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
     10/15/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
     10/15/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
     10/15/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.36
     10/15/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.11
     10/15/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                      100
     10/15/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
     10/15/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 195872 Q1201                 278.76
     10/15/2016   709   DJ0028   Owner Operator   ESCROW                         Final Balance Refund                 -3500
     10/15/2016   709   DJ0028   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes                 89.8
     10/15/2016   709   DJ0028   Owner Operator   FUEL TAX                       July 16 fuel taxes                   57.02
     10/15/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
     10/15/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                          8
     10/15/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/15/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          253
     10/15/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.91
     10/15/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.05
     10/15/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.52
     10/15/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.96
     10/15/2016   709   DL0029   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               42.86
     10/15/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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     10/15/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.2
     10/15/2016   709   DL0029   Owner Operator   Repair Order                   CTMS - 196031 Repair                  250
     10/15/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
     10/15/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     10/15/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         400
     10/15/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.26
     10/15/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                    10.58
     10/15/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
     10/15/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
     10/15/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 195852 Sublease              338.99
     10/15/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
     10/15/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/15/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
     10/15/2016   709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-8        270.84
     10/15/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
     10/15/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     10/15/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.21
     10/15/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       439.88
     10/15/2016   709   DS0049   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              103.99
     10/15/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
     10/15/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
     10/15/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
     10/15/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       444.56
     10/15/2016   709   DS0225   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              -24.34
     10/15/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    39.07
     10/15/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
     10/15/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
     10/15/2016   709   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-8            95
     10/15/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.12
     10/15/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.38
     10/15/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.32
     10/15/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.83
     10/15/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.94
     10/15/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.81
     10/15/2016   709   DW0138   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               -4.55
     10/15/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     10/15/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
     10/15/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
     10/15/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/15/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
     10/15/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
     10/15/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/15/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/15/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/15/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.23
     10/15/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.37
     10/15/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.46
     10/15/2016   709   EA0003   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               94.81
     10/15/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
     10/15/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
     10/15/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/15/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
     10/15/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/15/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.35
     10/15/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       393.98
     10/15/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.56
     10/15/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       446.36
     10/15/2016   709   EE0011   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes                90.6
     10/15/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
     10/15/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
     10/15/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
     10/15/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
     10/15/2016   709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-22      -52.02
     10/15/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50

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     10/15/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        338.7
     10/15/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.19
     10/15/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         297
     10/15/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.63
     10/15/2016   709   EG0062   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               96.29
     10/15/2016   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                     100
     10/15/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
     10/15/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
     10/15/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 10/13 #17105                 350.36
     10/15/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
     10/15/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
     10/15/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/15/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.94
     10/15/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        141.6
     10/15/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.26
     10/15/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.5
     10/15/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
     10/15/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 195913 truck lease 3304      434.29
     10/15/2016   709   FT0004   Owner Operator   Accident Claim                 Claim Setup On Wkly Deductions        250
     10/15/2016   709   FT0004   Owner Operator   Accident Claim                 Claim Setup On Wkly Deductions       39.27
     10/15/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
     10/15/2016   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
     10/15/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
     10/15/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
     10/15/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            10
     10/15/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/15/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            10
     10/15/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            40
     10/15/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
     10/15/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
     10/15/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/15/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
     10/15/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.2
     10/15/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.95
     10/15/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.05
     10/15/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
     10/15/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
     10/15/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
     10/15/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 195875 73129                 181.08
     10/15/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     10/15/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
     10/15/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/15/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       483.21
     10/15/2016   709   FV0001   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              100.46
     10/15/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
     10/15/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
     10/15/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
     10/15/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.03
     10/15/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.32
     10/15/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
     10/15/2016   709   GS0015   Owner Operator   Repair Order                   CTMS - 196034 Repair                252.55
     10/15/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 195875 Lease                 252.11
     10/15/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
     10/15/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
     10/15/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/15/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.95
     10/15/2016   709   HG0007   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               62.73
     10/15/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
     10/15/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     10/15/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
     10/15/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/15/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/15/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/15/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.53
     10/15/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.95

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     10/15/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.94
     10/15/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.82
     10/15/2016   709   HG0027   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              192.25
     10/15/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
     10/15/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
     10/15/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/15/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         28.42
     10/15/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.28
     10/15/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.93
     10/15/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.54
     10/15/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.69
     10/15/2016   709   IR0002   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              -29.42
     10/15/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
     10/15/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     10/15/2016   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00341223 - PO System        477.42
     10/15/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
     10/15/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
     10/15/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
     10/15/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
     10/15/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
     10/15/2016   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
     10/15/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
     10/15/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
     10/15/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
     10/15/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
     10/15/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         92.14
     10/15/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/15/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.78
     10/15/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       458.97
     10/15/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        82.72
     10/15/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.11
     10/15/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       440.38
     10/15/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        440.7
     10/15/2016   709   JC0292   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              356.63
     10/15/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
     10/15/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
     10/15/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
     10/15/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
     10/15/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/15/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
     10/15/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
     10/15/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/15/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/15/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/15/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.79
     10/15/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.94
     10/15/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.74
     10/15/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.77
     10/15/2016   709   JG0017   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               80.77
     10/15/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
     10/15/2016   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00340712 - PO System         36.96
     10/15/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     10/15/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/15/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     10/15/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
     10/15/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/15/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/15/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       425.36
     10/15/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.23
     10/15/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.79
     10/15/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.48
     10/15/2016   709   JG0072   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               154.9
     10/15/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22

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     10/15/2016   709   JG0072   Owner Operator   Repair Order                   CTMS - 196034 Part                    177
     10/15/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     10/15/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     10/15/2016   709   JG0092   Owner Operator   Charge back by affiliate       CTMS - 195866 Trailer TL1300           -40
     10/15/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
     10/15/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         250
     10/15/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/15/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.28
     10/15/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.66
     10/15/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.01
     10/15/2016   709   JG0092   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              -12.38
     10/15/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
     10/15/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     10/15/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     10/15/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.31
     10/15/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.92
     10/15/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
     10/15/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
     10/15/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
     10/15/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.33
     10/15/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.04
     10/15/2016   709   JR0099   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               90.46
     10/15/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                     100
     10/15/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
     10/15/2016   709   JR0099   Owner Operator   Repair Order                   CTMS - 195911 Inv 007-70623 Cu      255.61
     10/15/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 195856 Truck Lease           278.76
     10/15/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     10/15/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     10/15/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     10/15/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
     10/15/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/15/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.53
     10/15/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.76
     10/15/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.76
     10/15/2016   709   JS0265   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              114.88
     10/15/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
     10/15/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
     10/15/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/15/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
     10/15/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
     10/15/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/15/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.51
     10/15/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         416
     10/15/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         410
     10/15/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        218.7
     10/15/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         380
     10/15/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.37
     10/15/2016   709   KP0004   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               90.59
     10/15/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
     10/15/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     10/15/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
     10/15/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
     10/15/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
     10/15/2016   709   LL0160   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               380.6
     10/15/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
     10/15/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 195953 Lease Q1111           252.11
     10/15/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
     10/15/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
     10/15/2016   709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-22         -50
     10/15/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.33
     10/15/2016   709   LS0023   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               32.68
     10/15/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
     10/15/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5

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     10/15/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                   8.75
     10/15/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                      13
     10/15/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/15/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                   70.32
     10/15/2016   709   MB0048   Owner Operator   Tire Fee                       Tire Fee: 1959722                       8
     10/15/2016   709   MB0048   Owner Operator   Tire Purchase                  PO: 709-00341604 - PO System       215.28
     10/15/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL          8.75
     10/15/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                        8
     10/15/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                          50
     10/15/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                      434.81
     10/15/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       57.86
     10/15/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                      103.92
     10/15/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                      165.36
     10/15/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                      181.42
     10/15/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/15/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD          39.07
     10/15/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 195874 Q1113 Lease          252.11
     10/15/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
     10/15/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                      280.02
     10/15/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                      275.02
     10/15/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                      188.63
     10/15/2016   709   MG0067   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              -5.57
     10/15/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/15/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       35.16
     10/15/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
     10/15/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
     10/15/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       13
     10/15/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/15/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/15/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     10/15/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     10/15/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        85.4
     10/15/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      305.37
     10/15/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      284.51
     10/15/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      333.06
     10/15/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment      260.53
     10/15/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/15/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                53.13
     10/15/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                      337.19
     10/15/2016   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                    8.75
     10/15/2016   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                       13
     10/15/2016   709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                          50
     10/15/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                      156.82
     10/15/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                      377.52
     10/15/2016   709   MM0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/15/2016   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                    28.13
     10/15/2016   709   MM0103   Owner Operator   Repair Order                   CTMS - 195707 Repair               190.75
     10/15/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
     10/15/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
     10/15/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
     10/15/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
     10/15/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2.8
     10/15/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                      519.33
     10/15/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     10/15/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   71.88
     10/15/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
     10/15/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                      323.05
     10/15/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           8.75
     10/15/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           4.98
     10/15/2016   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                 12.5
     10/15/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
     10/15/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
     10/15/2016   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                    -500
     10/15/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
     10/15/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
     10/15/2016   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/15/2016   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     10/15/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      172.19
     10/15/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      345.34
     10/15/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      256.04
     10/15/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      319.21
     10/15/2016   709   NB0029   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes             102.53
     10/15/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5

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     10/15/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
     10/15/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
     10/15/2016   709   NB0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                      9.75
     10/15/2016   709   NB0029   Owner Operator   T Chek Fee                     Tractor Repair Q1108                974.86
     10/15/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 195782 Lease                 215.66
     10/15/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 195959 Lease                 215.66
     10/15/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
     10/15/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
     10/15/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           160
     10/15/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
     10/15/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.75
     10/15/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
     10/15/2016   709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00340930 - PO System        275.85
     10/15/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
     10/15/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
     10/15/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                          250
     10/15/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/15/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.66
     10/15/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.71
     10/15/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        206.6
     10/15/2016   709   NR0010   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              112.14
     10/15/2016   709   NR0010   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       482.09
     10/15/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
     10/15/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 195856 Tractor Sublease      252.11
     10/15/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
     10/15/2016   709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-8          11.1
     10/15/2016   709   NT9564   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              116.37
     10/15/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
     10/15/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
     10/15/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
     10/15/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 195873 Truck 73130 Leas       31.28
     10/15/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
     10/15/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
     10/15/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       481.73
     10/15/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       436.23
     10/15/2016   709   RC0030   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              695.97
     10/15/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
     10/15/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
     10/15/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
     10/15/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
     10/15/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 195856 Down Payment lo       303.55
     10/15/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
     10/15/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/15/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
     10/15/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     10/15/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.68
     10/15/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.85
     10/15/2016   709   RC0089   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               -9.06
     10/15/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
     10/15/2016   709   RC0089   Owner Operator   Repair Order                   CTMS - 196034 Parts                   88.5
     10/15/2016   709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00340142 - PO System        327.32
     10/15/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
     10/15/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
     10/15/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/15/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
     10/15/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL            -35
     10/15/2016   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/15/2016   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/15/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.67
     10/15/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.01
     10/15/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       462.82
     10/15/2016   709   RL0017   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              -27.67
     10/15/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         -190
     10/15/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 45.32
     10/15/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 77.22

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     10/15/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD          -181.25
     10/15/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD            45.32
     10/15/2016   709   RL0017   Owner Operator   Tire Purchase                  PO: 709-00340724 - PO System         677.79
     10/15/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/15/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
     10/15/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/15/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             50
     10/15/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
     10/15/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/15/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        406.23
     10/15/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        373.33
     10/15/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        384.71
     10/15/2016   709   RL0062   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               120.45
     10/15/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        258.68
     10/15/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
     10/15/2016   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00340715 - PO System         208.27
     10/15/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
     10/15/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
     10/15/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
     10/15/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
     10/15/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.15
     10/15/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.41
     10/15/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.48
     10/15/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.38
     10/15/2016   709   RM0026   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               104.45
     10/15/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
     10/15/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
     10/15/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
     10/15/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        379.28
     10/15/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.37
     10/15/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                      100
     10/15/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
     10/15/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 195856 Q1202 Truck Leas       278.76
     10/15/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
     10/15/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.89
     10/15/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        125.37
     10/15/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                     10.58
     10/15/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
     10/15/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
     10/15/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
     10/15/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 195729 Q1248                  311.97
     10/15/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
     10/15/2016   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                   12.5
     10/15/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
     10/15/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
     10/15/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
     10/15/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         88.21
     10/15/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
     10/15/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
     10/15/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
     10/15/2016   709   SB0009   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               131.66
     10/15/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
     10/15/2016   709   SB0009   Owner Operator   Repair Order                   CTMS - 195838 Repair                 253.58
     10/15/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
     10/15/2016   709   SB0009   Owner Operator   Tractor Wash                   CTMS - 195866 Driver App Tract          -40
     10/15/2016   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                   56.95
     10/15/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     10/15/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
     10/15/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.78
     10/15/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.5
     10/15/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.69
     10/15/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.28
     10/15/2016   709   SN0019   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes                 20.8
     10/15/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
     10/15/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
     10/15/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
     10/15/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        451.05

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     10/15/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       405.01
     10/15/2016   709   VB0015   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes                5.23
     10/15/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
     10/15/2016   709   VB0015   Owner Operator   Tire Purchase                  PO: 709-00342021 - PO System        180.99
     10/15/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 196006 Tractor Sub leas      242.03
     10/15/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     10/15/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     10/15/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
     10/15/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
     10/15/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
     10/15/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.86
     10/15/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.03
     10/15/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.23
     10/15/2016   709   VJ0006   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              259.87
     10/15/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
     10/15/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     10/15/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
     10/15/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     10/15/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
     10/15/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
     10/15/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
     10/15/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
     10/15/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/15/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            50
     10/15/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
     10/15/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.66
     10/15/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.04
     10/15/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.65
     10/15/2016   709   WH0087   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              -10.57
     10/15/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
     10/15/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
     10/15/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
     10/15/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 195872 Q1238 Lease           311.97
     10/15/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
     10/15/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     10/15/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/15/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/15/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.24
     10/15/2016   742   AP0047   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               38.83
     10/15/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
     10/15/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
     10/15/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     10/15/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
     10/15/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.21
     10/15/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.8
     10/15/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
     10/15/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
     10/15/2016   742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00341258 - PO System        328.28
     10/15/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
     10/15/2016   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                        13
     10/15/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/15/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.04
     10/15/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        95.31
     10/15/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.68
     10/15/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        71.58
     10/15/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.41
     10/15/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.46
     10/15/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.22
     10/15/2016   742   CA0089   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               72.05
     10/15/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.16
     10/15/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
     10/15/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL          8.75
     10/15/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
     10/15/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/15/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.01
     10/15/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.73

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     10/15/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        407.61
     10/15/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                    10.58
     10/15/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                    34.17
     10/15/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           82.04
     10/15/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te          2.5
     10/15/2016   742   CT0085   Owner Operator   T Chek Fee                     ExpressCheck Fee                      13.96
     10/15/2016   742   CT0085   Owner Operator   T Chek Fee                     Tractor Repair 33480                1395.75
     10/15/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 195730 Sub Lease Q13171       352.68
     10/15/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 195874 Sub Lease Q13171       352.68
     10/15/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/15/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                         13
     10/15/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/15/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        437.82
     10/15/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        390.44
     10/15/2016   742   DA0067   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes                106.9
     10/15/2016   742   DA0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33847                      100
     10/15/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.32
     10/15/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     10/15/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
     10/15/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
     10/15/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.8
     10/15/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.34
     10/15/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        361.85
     10/15/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.42
     10/15/2016   742   ED0041   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes                56.23
     10/15/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.36
     10/15/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
     10/15/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/15/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/15/2016   742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                   12.5
     10/15/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                         13
     10/15/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                         13
     10/15/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.21
     10/15/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        333.49
     10/15/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.12
     10/15/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        322.56
     10/15/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.39
     10/15/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        134.72
     10/15/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        366.06
     10/15/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         51.34
     10/15/2016   742   EN0016   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes                56.77
     10/15/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
     10/15/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
     10/15/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     10/15/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     10/15/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
     10/15/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
     10/15/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL               8.75
     10/15/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                         13
     10/15/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/15/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        318.89
     10/15/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        331.53
     10/15/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        271.93
     10/15/2016   742   EO0014   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               244.07
     10/15/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/15/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD               78.13
     10/15/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror          2.5
     10/15/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
     10/15/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
     10/15/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.69
     10/15/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
     10/15/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                         8.75
     10/15/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                         13
     10/15/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/15/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.48
     10/15/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        326.26
     10/15/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.27
     10/15/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.73

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     10/15/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.53
     10/15/2016   742   KJ0045   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               75.53
     10/15/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
     10/15/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
     10/15/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     10/15/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          6.58
     10/15/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/15/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.49
     10/15/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.24
     10/15/2016   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2016 - 33195                    76.62
     10/15/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     10/15/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 28.21
     10/15/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
     10/15/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
     10/15/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     10/15/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     10/15/2016   742   MH0117   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.96
     10/15/2016   742   MH0117   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               44.55
     10/15/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
     10/15/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     10/15/2016   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                  16.15
     10/15/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
     10/15/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
     10/15/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/15/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        35.09
     10/15/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         200
     10/15/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        10.84
     10/15/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         200
     10/15/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
     10/15/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
     10/15/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.57
     10/15/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
     10/15/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 195730 Q1247 Sub Lease       311.97
     10/15/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 195873 Q1247 Sub Lease       311.97
     10/15/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
     10/15/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     10/15/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.69
     10/15/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.21
     10/15/2016   742   NG0024   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               55.07
     10/15/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
     10/15/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
     10/15/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/15/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     10/15/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
     10/15/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/15/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/15/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/15/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/15/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        217.4
     10/15/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.04
     10/15/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.44
     10/15/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.11
     10/15/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.44
     10/15/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.81
     10/15/2016   742   PC0012   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes               32.27
     10/15/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     10/15/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
     10/15/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
     10/15/2016   742   PS0080   Owner Operator   Miscellaneous                  Credit Voided Check #964850         -47.12
     10/15/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
     10/15/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
     10/15/2016   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
     10/15/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     10/15/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     10/15/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     10/15/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.54
     10/15/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.81

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     10/15/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.94
     10/15/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.53
     10/15/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.1
     10/15/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        142.4
     10/15/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.77
     10/15/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.21
     10/15/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.52
     10/15/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.73
     10/15/2016   742   RN0054   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              157.98
     10/15/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
     10/15/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
     10/15/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
     10/15/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
     10/15/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
     10/15/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
     10/15/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     10/15/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     10/15/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 195513 Tractor Lease         294.26
     10/15/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 195697 Tractor Lease         353.28
     10/15/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 195858 Tractor Lease         353.28
     10/15/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     10/15/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     10/15/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/15/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/15/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.12
     10/15/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.18
     10/15/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        46.11
     10/15/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.06
     10/15/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.16
     10/15/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.11
     10/15/2016   844   JK0112   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              199.78
     10/15/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/15/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
     10/15/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     10/15/2016   844   JK0112   Owner Operator   Toll Charges                   33211 BCBC Burlington Bristol           30
     10/15/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
     10/15/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
     10/15/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
     10/15/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
     10/15/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRPA Commodore Barry Br         37.5
     10/15/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRPA Walt Whitman Br            37.5
     10/15/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA Fort McHenry Tunnel          24
     10/15/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA Kennedy Memorial Hi          48
     10/15/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     10/22/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     10/22/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     10/22/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            60
     10/22/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
     10/22/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.03
     10/22/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.85
     10/22/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
     10/22/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     10/22/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
     10/22/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
     10/22/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         301
     10/22/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.39
     10/22/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.96
     10/22/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
     10/22/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
     10/22/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
     10/22/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 196124 Trck Lease            353.28
     10/22/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
     10/22/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
     10/22/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/22/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.95
     10/22/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.08
     10/22/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.27
     10/22/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        50.01
     10/22/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        49.13

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     10/22/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        148.27
     10/22/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                    10.58
     10/22/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                    34.17
     10/22/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD           68.36
     10/22/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 196122 Q13169 Sublease        352.68
     10/22/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL           8.75
     10/22/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                         8
     10/22/2016   709   CC0134   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-29      -231.89
     10/22/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/22/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        332.89
     10/22/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                    10.58
     10/22/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                    34.17
     10/22/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD           68.36
     10/22/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 196075 Q13168 sub lease       352.68
     10/22/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/22/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                         13
     10/22/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                          300
     10/22/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/22/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/22/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        473.09
     10/22/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.93
     10/22/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     10/22/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
     10/22/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
     10/22/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
     10/22/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-29      -235.64
     10/22/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-29      -235.64
     10/22/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/22/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/22/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         81.48
     10/22/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.08
     10/22/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        264.23
     10/22/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.8
     10/22/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.37
     10/22/2016   709   CR0064   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment        258.39
     10/22/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.04
     10/22/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
     10/22/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
     10/22/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
     10/22/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.01
     10/22/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                      100
     10/22/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.07
     10/22/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 196074 Q1201                  278.76
     10/22/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
     10/22/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                          8
     10/22/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/22/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          250
     10/22/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        276.72
     10/22/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.51
     10/22/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.19
     10/22/2016   709   DL0029   Owner Operator   Repair Order                   CTMS - 196207 Repair                   250
     10/22/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
     10/22/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
     10/22/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        589.23
     10/22/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                     10.58
     10/22/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                     34.17
     10/22/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.69
     10/22/2016   709   DL0107   Owner Operator   Tire Fee                       Tire Fee: 1960892                        16
     10/22/2016   709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00342387 - PO System         417.11
     10/22/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 196041 Sublease               338.99
     10/22/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.36
     10/22/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/22/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
     10/22/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
     10/22/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     10/22/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        417.39

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     10/22/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.33
     10/22/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
     10/22/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
     10/22/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.04
     10/22/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
     10/22/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
     10/22/2016   709   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-29      -231.89
     10/22/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        408.03
     10/22/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.74
     10/22/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.49
     10/22/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
     10/22/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/22/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
     10/22/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
     10/22/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/22/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/22/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/22/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/22/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        438.89
     10/22/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        433.67
     10/22/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
     10/22/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
     10/22/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     10/22/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
     10/22/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/22/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/22/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     10/22/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/22/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        188.51
     10/22/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        416.82
     10/22/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        378.72
     10/22/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.7
     10/22/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.91
     10/22/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
     10/22/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  8.75
     10/22/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                          8
     10/22/2016   709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-15         52.02
     10/22/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/22/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.49
     10/22/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        508.07
     10/22/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        161.42
     10/22/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         98.88
     10/22/2016   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                      100
     10/22/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                  42.18
     10/22/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism          2.5
     10/22/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 10/20 #17105                  350.36
     10/22/2016   709   EH0020   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  17.5
     10/22/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         42.59
     10/22/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  80.54
     10/22/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
     10/22/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
     10/22/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/22/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        234.62
     10/22/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.5
     10/22/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          233
     10/22/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.86
     10/22/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 196120 truck lease 3304       434.29
     10/22/2016   709   FT0004   Owner Operator   Accident Claim                 Claim Setup On Wkly Deductions         250
     10/22/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
     10/22/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
     10/22/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/22/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/22/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/22/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/22/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.78
     10/22/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                     10.58
     10/22/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                     34.17

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     10/22/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.51
     10/22/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 196077 73129                 181.08
     10/22/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     10/22/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
     10/22/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        312.9
     10/22/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.01
     10/22/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
     10/22/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
     10/22/2016   709   GS0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-29       -47.5
     10/22/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.05
     10/22/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
     10/22/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 196077 Lease                 252.11
     10/22/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
     10/22/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
     10/22/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/22/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/22/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.21
     10/22/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       551.74
     10/22/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
     10/22/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.16
     10/22/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.39
     10/22/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
     10/22/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/22/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         26.62
     10/22/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.27
     10/22/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.31
     10/22/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
     10/22/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     10/22/2016   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00341223 - PO System        477.42
     10/22/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
     10/22/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
     10/22/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
     10/22/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
     10/22/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
     10/22/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/22/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/22/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/22/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/22/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.05
     10/22/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.54
     10/22/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.84
     10/22/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
     10/22/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
     10/22/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/22/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
     10/22/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
     10/22/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
     10/22/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/22/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       423.26
     10/22/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.26
     10/22/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
     10/22/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     10/22/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/22/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     10/22/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
     10/22/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/22/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/22/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       447.39
     10/22/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.08
     10/22/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        383.9
     10/22/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22

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     10/22/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     10/22/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     10/22/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
     10/22/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         250
     10/22/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/22/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       485.12
     10/22/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        203.9
     10/22/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
     10/22/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     10/22/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     10/22/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/22/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/22/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.84
     10/22/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.22
     10/22/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
     10/22/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
     10/22/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
     10/22/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.46
     10/22/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                     100
     10/22/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
     10/22/2016   709   JR0099   Owner Operator   Repair Order                   CTMS - 196073 Inv 007-70623 Cu      255.61
     10/22/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 196044 Truck Lease           278.76
     10/22/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     10/22/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     10/22/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     10/22/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
     10/22/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/22/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/22/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.44
     10/22/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.9
     10/22/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.97
     10/22/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.93
     10/22/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
     10/22/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/22/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
     10/22/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
     10/22/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/22/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/22/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.01
     10/22/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        174.6
     10/22/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           72
     10/22/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.84
     10/22/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
     10/22/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.5
     10/22/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
     10/22/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     10/22/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
     10/22/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
     10/22/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
     10/22/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.04
     10/22/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 196145 Lease Q1111           252.11
     10/22/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
     10/22/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
     10/22/2016   709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-15           50
     10/22/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/22/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/22/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.93
     10/22/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.14
     10/22/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.51
     10/22/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
     10/22/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75

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     10/22/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
     10/22/2016   709   MB0048   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-29      -233.76
     10/22/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.99
     10/22/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.29
     10/22/2016   709   MB0048   Owner Operator   Tire Purchase                  PO: 709-00341604 - PO System         215.28
     10/22/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
     10/22/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
     10/22/2016   709   ME0053   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-29      -231.89
     10/22/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/22/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        214.47
     10/22/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        155.38
     10/22/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        413.08
     10/22/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        119.71
     10/22/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.04
     10/22/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 196076 Q1113 Lease            252.11
     10/22/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
     10/22/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          260
     10/22/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
     10/22/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
     10/22/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     10/22/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
     10/22/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/22/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/22/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.79
     10/22/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        159.75
     10/22/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment        260.53
     10/22/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.11
     10/22/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
     10/22/2016   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                      8.75
     10/22/2016   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                         13
     10/22/2016   709   MM0103   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-29     -1414.89
     10/22/2016   709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/22/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                        381.15
     10/22/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.94
     10/22/2016   709   MM0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                      28.11
     10/22/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
     10/22/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
     10/22/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
     10/22/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
     10/22/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
     10/22/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        394.56
     10/22/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        332.29
     10/22/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.86
     10/22/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
     10/22/2016   709   MP0035   Owner Operator   Repair Order                   CTMS - 196207 Q1105 Fuel            -332.29
     10/22/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
     10/22/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
     10/22/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
     10/22/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
     10/22/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.16
     10/22/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          150
     10/22/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.15
     10/22/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 196151 Lease                  215.66
     10/22/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
     10/22/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
     10/22/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             50
     10/22/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           300
     10/22/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     10/22/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
     10/22/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.06
     10/22/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          265
     10/22/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.97
     10/22/2016   709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00340930 - PO System         275.85
     10/22/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
     10/22/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13

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     10/22/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                         250
     10/22/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       280.51
     10/22/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.55
     10/22/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.52
     10/22/2016   709   NR0010   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       480.72
     10/22/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.04
     10/22/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 196044 Tractor Sublease      252.11
     10/22/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
     10/22/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
     10/22/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
     10/22/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           26.39
     10/22/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 195873 Truck 73130 Leas      165.37
     10/22/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
     10/22/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
     10/22/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.15
     10/22/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
     10/22/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.04
     10/22/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
     10/22/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 196044 Down Payment lo       303.55
     10/22/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  51.69
     10/22/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/22/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
     10/22/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     10/22/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.67
     10/22/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.89
     10/22/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.05
     10/22/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
     10/22/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
     10/22/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/22/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   21975 2009 Freightliner NTL           8.75
     10/22/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       480.29
     10/22/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 45.32
     10/22/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 77.22
     10/22/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                21975 2009 Freightliner PD           45.29
     10/22/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/22/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
     10/22/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/22/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/22/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/22/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.2
     10/22/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.7
     10/22/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       409.85
     10/22/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       258.68
     10/22/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.13
     10/22/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
     10/22/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.46
     10/22/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
     10/22/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
     10/22/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.03
     10/22/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.26
     10/22/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
     10/22/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
     10/22/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
     10/22/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.56
     10/22/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                     100
     10/22/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
     10/22/2016   709   RP0082   Owner Operator   Tire Fee                       Tire Fee: 1960890                        8
     10/22/2016   709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00342341 - PO System        200.56
     10/22/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 196045 Q1202 Truck Leas      278.76
     10/22/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
     10/22/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
     10/22/2016   709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                  12.5
     10/22/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
     10/22/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8

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     10/22/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
     10/22/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/22/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/22/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/22/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/22/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/22/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/22/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/22/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/22/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/22/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/22/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/22/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        177.91
     10/22/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.9
     10/22/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.13
     10/22/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        422.32
     10/22/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        293.99
     10/22/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        386.58
     10/22/2016   709   RR0123   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes                47.16
     10/22/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                     10.58
     10/22/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                     10.58
     10/22/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
     10/22/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
     10/22/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.07
     10/22/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
     10/22/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
     10/22/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
     10/22/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 195872 Q1248                  311.97
     10/22/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 196074 Q1248                  311.97
     10/22/2016   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                   56.95
     10/22/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     10/22/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
     10/22/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        266.55
     10/22/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.11
     10/22/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        105.47
     10/22/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
     10/22/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
     10/22/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
     10/22/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          385
     10/22/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.93
     10/22/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.04
     10/22/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        137.58
     10/22/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
     10/22/2016   709   VB0015   Owner Operator   Repair Order                   CTMS - 196207 Parts                   29.32
     10/22/2016   709   VB0015   Owner Operator   Tire Purchase                  PO: 709-00342021 - PO System         180.99
     10/22/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 196190 Tractor Sub leas       242.03
     10/22/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     10/22/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
     10/22/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
     10/22/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/22/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     10/22/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.01
     10/22/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        356.55
     10/22/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.2
     10/22/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
     10/22/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
     10/22/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
     10/22/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
     10/22/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     10/22/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
     10/22/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
     10/22/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
     10/22/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
     10/22/2016   709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-29      -235.64
     10/22/2016   709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-29      -235.64
     10/22/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
     10/22/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        100.95
     10/22/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.37

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     10/22/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.9
     10/22/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.71
     10/22/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
     10/22/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
     10/22/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
     10/22/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 196074 Q1238 Lease           311.97
     10/22/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     10/22/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
     10/22/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       441.06
     10/22/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.29
     10/22/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.54
     10/22/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
     10/22/2016   742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00341258 - PO System        328.21
     10/22/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
     10/22/2016   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                        13
     10/22/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/22/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.05
     10/22/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.09
     10/22/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.89
     10/22/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       108.74
     10/22/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.56
     10/22/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.15
     10/22/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
     10/22/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/22/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
     10/22/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/22/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        19.15
     10/22/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       383.98
     10/22/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
     10/22/2016   742   DA0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33847                     100
     10/22/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.29
     10/22/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     10/22/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
     10/22/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
     10/22/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.11
     10/22/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.72
     10/22/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.74
     10/22/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.62
     10/22/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.35
     10/22/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
     10/22/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
     10/22/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/22/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
     10/22/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/22/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.83
     10/22/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        344.4
     10/22/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        354.5
     10/22/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.08
     10/22/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       426.67
     10/22/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
     10/22/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     10/22/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
     10/22/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
     10/22/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
     10/22/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/22/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.36
     10/22/2016   742   EO0014   Owner Operator   IRP License Deduction          LCIL:2016 - 33846                     100
     10/22/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   742   EO0014   Owner Operator   Permits                        NM07:2016 - 33846                      5.5
     10/22/2016   742   EO0014   Owner Operator   Permits                        OR16:2016 - 33846                        8
     10/22/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.11
     10/22/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
     10/22/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
     10/22/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
     10/22/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
     10/22/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5

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     10/22/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
     10/22/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        45.83
     10/22/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/22/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/22/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.48
     10/22/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.85
     10/22/2016   742   LL0134   Owner Operator   Repair Order                   CTMS - 196082 Trailer wash             -62
     10/22/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        99.71
     10/22/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     10/22/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     10/22/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
     10/22/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     10/22/2016   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                  16.15
     10/22/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
     10/22/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
     10/22/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/22/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/22/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          300
     10/22/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.01
     10/22/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          200
     10/22/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
     10/22/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
     10/22/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.54
     10/22/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
     10/22/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 196076 Q1247 Sub Lease       311.97
     10/22/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
     10/22/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     10/22/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/22/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/22/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.72
     10/22/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.78
     10/22/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
     10/22/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
     10/22/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     10/22/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     10/22/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
     10/22/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/22/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/22/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/22/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/22/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.89
     10/22/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.38
     10/22/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.06
     10/22/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.58
     10/22/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
     10/22/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
     10/22/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
     10/22/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
     10/22/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     10/22/2016   742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-29        -155
     10/22/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.23
     10/22/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.54
     10/22/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       431.21
     10/22/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
     10/22/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
     10/22/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/22/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
     10/22/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     10/22/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 196046 Tractor Lease         353.28
     10/29/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     10/29/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
     10/29/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       374.31
     10/29/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          150
     10/29/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.1
     10/29/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
     10/29/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17

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     10/29/2016   709   AR0064   Owner Operator   Truck Payment               CTMS - 196295 Trck Lease            353.28
     10/29/2016   709   CC0134   Owner Operator   Communication Charge        PNet Hware Q13168                        8
     10/29/2016   709   CC0134   Owner Operator   Deferred Negative Pay       ** Net Rebill held from 10-22       231.89
     10/29/2016   709   CC0134   Owner Operator   Driver Excellence Program   Clean Inspection Awards                -50
     10/29/2016   709   CC0134   Owner Operator   ESCROW                      Weekly Escrow                           50
     10/29/2016   709   CC0134   Owner Operator   Fuel Purchase               Fuel Purchase                       298.89
     10/29/2016   709   CC0134   Owner Operator   Fuel Purchase               Fuel Purchase                       390.34
     10/29/2016   709   CC0134   Owner Operator   Fuel Purchase               Fuel Purchase                       357.74
     10/29/2016   709   CC0134   Owner Operator   Fuel Purchase               Fuel Purchase                       184.56
     10/29/2016   709   CC0134   Owner Operator   Fuel Purchase               Fuel Purchase                       189.34
     10/29/2016   709   CC0134   Owner Operator   Highway Use Tax             HUTC:2017 - Q13168                   10.58
     10/29/2016   709   CC0134   Owner Operator   IRP License Deduction       LCIL:2016 - Q13168                   34.17
     10/29/2016   709   CC0134   Owner Operator   Repair Order                CTMS - 196242 Repair                  100
     10/29/2016   709   CC0134   Owner Operator   Truck Payment               CTMS - 196245 Q13168 sub lease      352.68
     10/29/2016   709   CM0119   Owner Operator   Communication Charge        PNet Hware 32920                        13
     10/29/2016   709   CM0119   Owner Operator   ESCROW                      Weekly Escrow                         300
     10/29/2016   709   CM0119   Owner Operator   Fuel Card Advances          Cash Advance                          200
     10/29/2016   709   CM0119   Owner Operator   Fuel Card Advances          Cash Advance Fee                         2
     10/29/2016   709   CM0119   Owner Operator   Fuel Purchase               Fuel Purchase                       426.15
     10/29/2016   709   CM0119   Owner Operator   Tractor Charge              14620 - 32920                       507.91
     10/29/2016   709   CR0064   Owner Operator   Communication Charge        PNet Hware 32864                        13
     10/29/2016   709   CR0064   Owner Operator   Deferred Negative Pay       ** Net Rebill held from 10-22       235.64
     10/29/2016   709   CR0064   Owner Operator   Deferred Negative Pay       ** Net Rebill held from 10-22       235.64
     10/29/2016   709   CR0064   Owner Operator   Fuel Purchase               Fuel Purchase                       164.78
     10/29/2016   709   CR0064   Owner Operator   Fuel Purchase               Fuel Purchase                       126.06
     10/29/2016   709   CR0064   Owner Operator   Fuel Purchase               Fuel Purchase                        161.9
     10/29/2016   709   CR0064   Owner Operator   Fuel Purchase               Fuel Purchase                       145.33
     10/29/2016   709   CR0064   Owner Operator   Loan Repayment              Loan # 00002 - Loan Repayment       255.91
     10/29/2016   709   CR0064   Owner Operator   Tractor Charge              14267 - 32864                       245.63
     10/29/2016   709   CS0091   Owner Operator   Communication Charge        PNet Hware Q1201                         8
     10/29/2016   709   CS0091   Owner Operator   Fuel Purchase               Fuel Purchase                       299.74
     10/29/2016   709   CS0091   Owner Operator   IRP License Deduction       LCIL:2016 - Q1201                     100
     10/29/2016   709   CS0091   Owner Operator   Repair Order                CTMS - 196242 Repair                 287.2
     10/29/2016   709   CS0091   Owner Operator   Truck Payment               CTMS - 196243 Q1201                 278.76
     10/29/2016   709   DL0029   Owner Operator   Communication Charge        PNet Hware 33850                         8
     10/29/2016   709   DL0029   Owner Operator   ESCROW                      Weekly Escrow                           50
     10/29/2016   709   DL0029   Owner Operator   Fuel Purchase               Fuel Purchase                         282
     10/29/2016   709   DL0029   Owner Operator   Fuel Purchase               Fuel Purchase                       197.79
     10/29/2016   709   DL0029   Owner Operator   Fuel Purchase               Fuel Purchase                       232.28
     10/29/2016   709   DL0029   Owner Operator   Fuel Purchase               Fuel Purchase                       282.77
     10/29/2016   709   DL0107   Owner Operator   Communication Charge        PNet Hware Q1245                        13
     10/29/2016   709   DL0107   Owner Operator   Fuel Purchase               Fuel Purchase                       404.33
     10/29/2016   709   DL0107   Owner Operator   Fuel Purchase               Fuel Purchase                       518.34
     10/29/2016   709   DL0107   Owner Operator   Highway Use Tax             HUTC:2017 - Q1245                    10.58
     10/29/2016   709   DL0107   Owner Operator   IRP License Deduction       LCIL:2016 - Q1245                    34.17
     10/29/2016   709   DL0107   Owner Operator   Tire Purchase               PO: 709-00342387 - PO System        417.11
     10/29/2016   709   DL0107   Owner Operator   Truck Payment               CTMS - 196215 Sublease              338.99
     10/29/2016   709   DS0049   Owner Operator   Communication Charge        PNet Hware 32915                        13
     10/29/2016   709   DS0049   Owner Operator   Fuel Card Advances          Cash Advance                          500
     10/29/2016   709   DS0049   Owner Operator   Fuel Card Advances          Cash Advance Fee                         5
     10/29/2016   709   DS0049   Owner Operator   Fuel Purchase               Fuel Purchase                       390.87
     10/29/2016   709   DS0049   Owner Operator   Fuel Purchase               Fuel Purchase                       159.57
     10/29/2016   709   DS0049   Owner Operator   Tractor Charge              15738 - 32915                       512.35
     10/29/2016   709   DS0049   Owner Operator   US Legal Services           U.S. Legal Services                  32.95
     10/29/2016   709   DS0225   Owner Operator   Fuel Purchase               Fuel Purchase                       351.56
     10/29/2016   709   DW0138   Owner Operator   Communication Charge        PNet Hware 33443                        13
     10/29/2016   709   DW0138   Owner Operator   Deferred Negative Pay       ** Net Rebill held from 10-22       231.89
     10/29/2016   709   DW0138   Owner Operator   Fuel Purchase               Fuel Purchase                       347.98
     10/29/2016   709   DW0138   Owner Operator   Fuel Purchase               Fuel Purchase                        361.2
     10/29/2016   709   DW0138   Owner Operator   Tractor Charge              55584 - 33443                       463.27
     10/29/2016   709   EA0003   Owner Operator   Communication Charge        PNet Hware 33051                        13
     10/29/2016   709   EA0003   Owner Operator   ESCROW                      Weekly Escrow                         100
     10/29/2016   709   EA0003   Owner Operator   Fuel Card Advances          Cash Advance                          100
     10/29/2016   709   EA0003   Owner Operator   Fuel Card Advances          Cash Advance                          200
     10/29/2016   709   EA0003   Owner Operator   Fuel Card Advances          Cash Advance                          200
     10/29/2016   709   EA0003   Owner Operator   Fuel Card Advances          Cash Advance Fee                         2
     10/29/2016   709   EA0003   Owner Operator   Fuel Card Advances          Cash Advance Fee                         2
     10/29/2016   709   EA0003   Owner Operator   Fuel Card Advances          Cash Advance Fee                         1
     10/29/2016   709   EA0003   Owner Operator   Fuel Purchase               Fuel Purchase                       512.94
     10/29/2016   709   EA0003   Owner Operator   Fuel Purchase               Fuel Purchase                       345.54
     10/29/2016   709   EA0003   Owner Operator   Fuel Purchase               Fuel Purchase                       486.77
     10/29/2016   709   EA0003   Owner Operator   Tractor Charge              16439 - 33051                       555.56
     10/29/2016   709   EE0011   Owner Operator   Fuel Card Advances          Cash Advance                          200

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     10/29/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/29/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/29/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/29/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.47
     10/29/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       419.97
     10/29/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.61
     10/29/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        16.83
     10/29/2016   709   EG0062   Owner Operator   Accident Claim                 07/09/16 EG0062 Incident              1500
     10/29/2016   709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33828         9.84
     10/29/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
     10/29/2016   709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-5       -14.32
     10/29/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/29/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.53
     10/29/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.89
     10/29/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        452.4
     10/29/2016   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                      100
     10/29/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 10/27 #17105                 350.36
     10/29/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                        13
     10/29/2016   709   EH0020   Owner Operator   ESCROW                         Final Balance Refund                 -4500
     10/29/2016   709   EH0020   Owner Operator   ESCROW                         Weekly Escrow                          250
     10/29/2016   709   EH0020   Owner Operator   FUEL TAX                       August 2016 Fuel Taxes              101.65
     10/29/2016   709   EH0020   Owner Operator   FUEL TAX                       July 16 fuel taxes                  107.67
     10/29/2016   709   EH0020   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        52.41
     10/29/2016   709   EH0020   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                186.01
     10/29/2016   709   EH0020   Owner Operator   Repair Order                   Reseat Charge- Lease 16433             995
     10/29/2016   709   EH0020   Owner Operator   Tire Purchase                  Balance Of Tire Purchase            461.25
     10/29/2016   709   EH0020   Owner Operator   Tire Purchase                  PO: 709-00340143 - PO System        204.93
     10/29/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
     10/29/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
     10/29/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
     10/29/2016   709   EH0020   Owner Operator   Tractor Charge                 16433 - 33065                       532.24
     10/29/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
     10/29/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/29/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.5
     10/29/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.23
     10/29/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.96
     10/29/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 196291 truck lease 3304      434.29
     10/29/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
     10/29/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           180
     10/29/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            80
     10/29/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.8
     10/29/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.8
     10/29/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.93
     10/29/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        149.9
     10/29/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
     10/29/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
     10/29/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 196247 73129                 181.08
     10/29/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
     10/29/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                           300
     10/29/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/29/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.32
     10/29/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       180.02
     10/29/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
     10/29/2016   709   GS0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-22         47.5
     10/29/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.01
     10/29/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 196247 Lease                 252.11
     10/29/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
     10/29/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/29/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/29/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/29/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.19
     10/29/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.55
     10/29/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.95
     10/29/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     10/29/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
     10/29/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
     10/29/2016   709   HG0027   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
     10/29/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           200
     10/29/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/29/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/29/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/29/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.31
     10/29/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        179.9

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     10/29/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.53
     10/29/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       127.36
     10/29/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/29/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
     10/29/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/29/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/29/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.19
     10/29/2016   709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00341223 - PO System        477.39
     10/29/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
     10/29/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
     10/29/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
     10/29/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
     10/29/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/29/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.88
     10/29/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.18
     10/29/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     10/29/2016   709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
     10/29/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     10/29/2016   709   JG0072   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
     10/29/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
     10/29/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/29/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/29/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     10/29/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       402.23
     10/29/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       425.15
     10/29/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     10/29/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
     10/29/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         250
     10/29/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/29/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/29/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       204.05
     10/29/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.15
     10/29/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       420.46
     10/29/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     10/29/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.19
     10/29/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.69
     10/29/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
     10/29/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.72
     10/29/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.73
     10/29/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                     100
     10/29/2016   709   JR0099   Owner Operator   Repair Order                   CTMS - 196246 Inv 007-70623 Cu      255.61
     10/29/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 196218 Truck Lease           278.76
     10/29/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     10/29/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
     10/29/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/29/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/29/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.55
     10/29/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.41
     10/29/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
     10/29/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
     10/29/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/29/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/29/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.43
     10/29/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.01
     10/29/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.51
     10/29/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
     10/29/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
     10/29/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 196322 Lease Q1111           252.11
     10/29/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
     10/29/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/29/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/29/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/29/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/29/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.56
     10/29/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.42
     10/29/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.07
     10/29/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
     10/29/2016   709   MB0048   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-22       233.76
     10/29/2016   709   MB0048   Owner Operator   Tire Purchase                  PO: 709-00341604 - PO System        215.28
     10/29/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                         8
     10/29/2016   709   ME0053   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-22       231.89
     10/29/2016   709   ME0053   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
     10/29/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                           50

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     10/29/2016   709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                         395.3
     10/29/2016   709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                        126.56
     10/29/2016   709   ME0053   Owner Operator   Truck Payment           CTMS - 196245 Q1113 Lease            252.11
     10/29/2016   709   MG0067   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 11-5       -968.62
     10/29/2016   709   MG0067   Owner Operator   Fuel Purchase           Fuel Purchase                        280.01
     10/29/2016   709   MM0093   Owner Operator   Communication Charge    PNet Hware 32931                         13
     10/29/2016   709   MM0093   Owner Operator   Fuel Card Advances      Cash Advance                           100
     10/29/2016   709   MM0093   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
     10/29/2016   709   MM0093   Owner Operator   Fuel Purchase           Fuel Purchase                         270.8
     10/29/2016   709   MM0093   Owner Operator   Fuel Purchase           Fuel Purchase                        321.83
     10/29/2016   709   MM0093   Owner Operator   Loan Repayment          Loan # 00007 - Loan Repayment        260.53
     10/29/2016   709   MM0093   Owner Operator   Tractor Charge          16434 - 32931                        337.19
     10/29/2016   709   MM0103   Owner Operator   Communication Charge    PNet Hware 33889                         13
     10/29/2016   709   MM0103   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 10-22       1414.89
     10/29/2016   709   MM0103   Owner Operator   ESCROW                  Weekly Escrow                            50
     10/29/2016   709   MM0103   Owner Operator   Fuel Card Advances      Cash Advance                           100
     10/29/2016   709   MM0103   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
     10/29/2016   709   MM0103   Owner Operator   Fuel Purchase           Fuel Purchase                        163.75
     10/29/2016   709   MM0103   Owner Operator   Fuel Purchase           Fuel Purchase                        135.12
     10/29/2016   709   MM0103   Owner Operator   Fuel Purchase           Fuel Purchase                        225.29
     10/29/2016   709   MM0103   Owner Operator   Fuel Purchase           Fuel Purchase                        369.88
     10/29/2016   709   MP0035   Owner Operator   Communication Charge    PNet Hware 32904                         13
     10/29/2016   709   MP0035   Owner Operator   ESCROW                  Weekly Escrow                          650
     10/29/2016   709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance                           280
     10/29/2016   709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2.8
     10/29/2016   709   MP0035   Owner Operator   Fuel Purchase           Fuel Purchase                         528.7
     10/29/2016   709   MP0035   Owner Operator   Tractor Charge          15571 - 32904                        323.05
     10/29/2016   709   NB0029   Owner Operator   Communication Charge    PNet Hware Q1108                         13
     10/29/2016   709   NB0029   Owner Operator   ESCROW                  Weekly Escrow                          500
     10/29/2016   709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                        215.43
     10/29/2016   709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                        323.64
     10/29/2016   709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                        196.57
     10/29/2016   709   NB0029   Owner Operator   Truck Payment           CTMS - 196328 Lease                  215.66
     10/29/2016   709   NB0029   Owner Operator   US Legal Services       U.S. Legal Services                   32.95
     10/29/2016   709   NG0005   Owner Operator   Communication Charge    PNet Hware 21412B                        13
     10/29/2016   709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance                           350
     10/29/2016   709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance Fee                        3.5
     10/29/2016   709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                         89.43
     10/29/2016   709   NG0005   Owner Operator   Tire Purchase           PO: 709-00340930 - PO System         275.85
     10/29/2016   709   NR0010   Owner Operator   Communication Charge    PNet Hware Q1106                         13
     10/29/2016   709   NR0010   Owner Operator   ESCROW                  Weekly Escrow                          250
     10/29/2016   709   NR0010   Owner Operator   Fuel Card Advances      Cash Advance                           200
     10/29/2016   709   NR0010   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
     10/29/2016   709   NR0010   Owner Operator   Fuel Purchase           Fuel Purchase                        190.58
     10/29/2016   709   NR0010   Owner Operator   Fuel Purchase           Fuel Purchase                        295.91
     10/29/2016   709   NR0010   Owner Operator   Fuel Purchase           Fuel Purchase                        184.38
     10/29/2016   709   NR0010   Owner Operator   Repair Order            CTMS - 196242 Repair                 131.26
     10/29/2016   709   NR0010   Owner Operator   Truck Payment           CTMS - 196217 Tractor Sublease       252.11
     10/29/2016   709   NT9564   Owner Operator   Communication Charge    PNET Chrgs On 2nd Truck                216
     10/29/2016   709   NT9564   Owner Operator   Communication Charge    PNet Hware 73130                         13
     10/29/2016   709   NT9564   Owner Operator   Communication Charge    PNet Hware 73130                         13
     10/29/2016   709   NT9564   Owner Operator   ESCROW                  Weekly Escrow                            50
     10/29/2016   709   NT9564   Owner Operator   ESCROW                  Weekly Escrow                         31.16
     10/29/2016   709   NT9564   Owner Operator   Highway Use Tax         HUTC:2017 - 73130                     10.58
     10/29/2016   709   NT9564   Owner Operator   IRP License Deduction   LCIL:2016 - 73130                     34.17
     10/29/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE         73130 2007 Freightliner PD             4.08
     10/29/2016   709   NT9564   Owner Operator   Truck Payment           CTMS - 196076 Truck 73130 Leas       196.65
     10/29/2016   709   NT9564   Owner Operator   Truck Payment           CTMS - 196245 Truck 73130 Leas       196.65
     10/29/2016   709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                        483.43
     10/29/2016   709   RC0030   Owner Operator   Truck Payment           CTMS - 196217 Down Payment lo        303.55
     10/29/2016   709   RC0089   Owner Operator   Fuel Card Advances      Cash Advance                           500
     10/29/2016   709   RC0089   Owner Operator   Fuel Card Advances      Cash Advance Fee                          5
     10/29/2016   709   RC0089   Owner Operator   Fuel Purchase           Fuel Purchase                        163.73
     10/29/2016   709   RC0089   Owner Operator   Fuel Purchase           Fuel Purchase                        210.79
     10/29/2016   709   RC0089   Owner Operator   Tractor Charge          14592 - 32986                        504.72
     10/29/2016   709   RL0017   Owner Operator   BOBTAIL INS.            2009 Freightliner NTL                  8.75
     10/29/2016   709   RL0017   Owner Operator   BOBTAIL INS.            2014 Freightliner NTL                  8.75
     10/29/2016   709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                        412.07
     10/29/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE         2009 Freightliner PD                  45.32
     10/29/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE         2014 Freightliner PD                  77.22
     10/29/2016   709   RL0062   Owner Operator   Communication Charge    PNet Hware 32912                         13
     10/29/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                           100
     10/29/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1

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     10/29/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       415.33
     10/29/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       408.89
     10/29/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       258.68
     10/29/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
     10/29/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
     10/29/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.62
     10/29/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.85
     10/29/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.93
     10/29/2016   709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
     10/29/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
     10/29/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                            60
     10/29/2016   709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
     10/29/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.43
     10/29/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.84
     10/29/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                      100
     10/29/2016   709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00342341 - PO System        200.56
     10/29/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 196218 Q1202 Truck Leas      278.76
     10/29/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/29/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/29/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.48
     10/29/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.66
     10/29/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.86
     10/29/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
     10/29/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.62
     10/29/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.54
     10/29/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.63
     10/29/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
     10/29/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       388.01
     10/29/2016   709   VB0015   Owner Operator   Tire Purchase                  PO: 709-00342021 - PO System        180.99
     10/29/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 196374 Tractor Sub leas      242.03
     10/29/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     10/29/2016   709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                    -2200
     10/29/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
     10/29/2016   709   VJ0006   Owner Operator   Express Check                  T-Check Payment                       2200
     10/29/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           150
     10/29/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
     10/29/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.55
     10/29/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.47
     10/29/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.19
     10/29/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     10/29/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     10/29/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
     10/29/2016   709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-22       235.64
     10/29/2016   709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-22       235.64
     10/29/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/29/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.79
     10/29/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.46
     10/29/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.56
     10/29/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
     10/29/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
     10/29/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 196244 Q1238 Lease           311.97
     10/29/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
     10/29/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     10/29/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     10/29/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/29/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/29/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/29/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/29/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
     10/29/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/29/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/29/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/29/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/29/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/29/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        196.9
     10/29/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.09
     10/29/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.01
     10/29/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        97.59
     10/29/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.06
     10/29/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.09
     10/29/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/29/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.33
     10/29/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5

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     10/29/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
     10/29/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.03
     10/29/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.59
     10/29/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       442.06
     10/29/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       353.54
     10/29/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       364.45
     10/29/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL          8.75
     10/29/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
     10/29/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
     10/29/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/29/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/29/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.16
     10/29/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.86
     10/29/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.36
     10/29/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.38
     10/29/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         260
     10/29/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
     10/29/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
     10/29/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
     10/29/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
     10/29/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/29/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD          82.01
     10/29/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te         2.5
     10/29/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 196076 Sub Lease Q13171      352.68
     10/29/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 196245 Sub Lease Q13171      352.68
     10/29/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
     10/29/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/29/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       459.04
     10/29/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.72
     10/29/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.64
     10/29/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.51
     10/29/2016   742   DA0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33847                     100
     10/29/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
     10/29/2016   742   ED0041   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
     10/29/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
     10/29/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       477.18
     10/29/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       302.25
     10/29/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       125.95
     10/29/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
     10/29/2016   742   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33846        19.68
     10/29/2016   742   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33846         9.84
     10/29/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
     10/29/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/29/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.71
     10/29/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.31
     10/29/2016   742   EO0014   Owner Operator   IRP License Deduction          LCIL:2016 - 33846                     100
     10/29/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
     10/29/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
     10/29/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
     10/29/2016   742   KJ0045   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
     10/29/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/29/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/29/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        379.7
     10/29/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                         1.03
     10/29/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
     10/29/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     10/29/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/29/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/29/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/29/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/29/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.79
     10/29/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.13
     10/29/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/29/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     10/29/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       122.34
     10/29/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     10/29/2016   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                  16.15
     10/29/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
     10/29/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     10/29/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/29/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/29/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.25
     10/29/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         200

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     10/29/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
     10/29/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
     10/29/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
     10/29/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 196245 Q1247 Sub Lease       311.97
     10/29/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     10/29/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/29/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/29/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.96
     10/29/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       563.49
     10/29/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.76
     10/29/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     10/29/2016   742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-22         155
     10/29/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.36
     10/29/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.63
     10/29/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.92
     10/29/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
     10/29/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
     10/29/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 196220 Tractor Lease         353.28
     10/29/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     10/29/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     10/29/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     10/29/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/29/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     10/29/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/29/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
     10/29/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/29/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     10/29/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/29/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     10/29/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.22
     10/29/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.69
     10/29/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.12
     10/29/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.39
     10/29/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.97
     10/29/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.49
     10/29/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     10/29/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
     10/29/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     10/29/2016   844   JK0112   Owner Operator   Repair Order                   TRACTOR 33211                        31.25
     10/29/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     10/29/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      11/5/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      11/5/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      11/5/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.79
      11/5/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      11/5/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      11/5/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      11/5/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      11/5/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.42
      11/5/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.92
      11/5/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.9
      11/5/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      11/5/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      11/5/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      11/5/2016   709   AR0064   Owner Operator   Tire Fee                       Tire Fee: 1965276                        8
      11/5/2016   709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00342612 - PO System        172.89
      11/5/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 196471 Trck Lease            353.28
      11/5/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      11/5/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      11/5/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      11/5/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/5/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/5/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/5/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/5/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.83
      11/5/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.61
      11/5/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.25
      11/5/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         270
      11/5/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       109.68
      11/5/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        123.4
      11/5/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        63.74

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      11/5/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        49.48
      11/5/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.07
      11/5/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.94
      11/5/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      11/5/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      11/5/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      11/5/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      11/5/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      11/5/2016   709   AV0021   Owner Operator   Repair Order                   CTMS - 196242 Repair                 148.5
      11/5/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 196293 Q13169 Sublease       352.68
      11/5/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 196469 Q13169 Sublease       352.68
      11/5/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      11/5/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      11/5/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/5/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.98
      11/5/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.93
      11/5/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      11/5/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      11/5/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      11/5/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 196436 Q13168 sub lease      352.68
      11/5/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/5/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      11/5/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
      11/5/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.45
      11/5/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       489.41
      11/5/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      11/5/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      11/5/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      11/5/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      11/5/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      11/5/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.57
      11/5/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.39
      11/5/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.01
      11/5/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.63
      11/5/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      11/5/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      11/5/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      11/5/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      11/5/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        11.35
      11/5/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.68
      11/5/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                     100
      11/5/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      11/5/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 196435 Q1201                 278.76
      11/5/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      11/5/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      11/5/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       445.55
      11/5/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                    10.58
      11/5/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      11/5/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      11/5/2016   709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00342387 - PO System        417.11
      11/5/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 196405 Sublease              338.99
      11/5/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      11/5/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/5/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      11/5/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      11/5/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      11/5/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        231.8
      11/5/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.68
      11/5/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      11/5/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      11/5/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      11/5/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       489.31
      11/5/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        202.4
      11/5/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    39.07
      11/5/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75

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      11/5/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      11/5/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      11/5/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/5/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/5/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      11/5/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      11/5/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        367.61
      11/5/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        338.25
      11/5/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/5/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      11/5/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      11/5/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      11/5/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
      11/5/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
      11/5/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           100
      11/5/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/5/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      11/5/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      11/5/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.78
      11/5/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.98
      11/5/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        424.69
      11/5/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.4
      11/5/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/5/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.92
      11/5/2016   709   EE0011   Owner Operator   Tire Fee                       Tire Fee: 1962703                         8
      11/5/2016   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00342848 - PO System         157.87
      11/5/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
      11/5/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        488.44
      11/5/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  8.75
      11/5/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                          8
      11/5/2016   709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-29         14.32
      11/5/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                            50
      11/5/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        196.54
      11/5/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        471.39
      11/5/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        515.59
      11/5/2016   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                      100
      11/5/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/5/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                  42.19
      11/5/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism          2.5
      11/5/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 11/3 #17105                   350.36
      11/5/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
      11/5/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
      11/5/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                            50
      11/5/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          140
      11/5/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.67
      11/5/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.2
      11/5/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.5
      11/5/2016   709   FS0039   Owner Operator   Miscellaneous                  Replace Voided Ck 964944            1049.35
      11/5/2016   709   FS0039   Owner Operator   Miscellaneous                  Voided Ck #964955                  -1049.35
      11/5/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/5/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.88
      11/5/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 196468 truck lease 3304       434.29
      11/5/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
      11/5/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
      11/5/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             20
      11/5/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             80
      11/5/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.8
      11/5/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.2
      11/5/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        269.13
      11/5/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        206.09
      11/5/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.41
      11/5/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                     10.58
      11/5/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                     34.17
      11/5/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/5/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.52
      11/5/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 196438 73129                  181.08
      11/5/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      11/5/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      11/5/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/5/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      11/5/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        479.93
      11/5/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/5/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04

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      11/5/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      11/5/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      11/5/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.23
      11/5/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      11/5/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 196438 Lease                 252.11
      11/5/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      11/5/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      11/5/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/5/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.98
      11/5/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.45
      11/5/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      11/5/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      11/5/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      11/5/2016   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-12         -50
      11/5/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/5/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/5/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.99
      11/5/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.99
      11/5/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.69
      11/5/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      11/5/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      11/5/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/5/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         25.45
      11/5/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
      11/5/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.88
      11/5/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      11/5/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      11/5/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      11/5/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      11/5/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/5/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/5/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       558.85
      11/5/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.59
      11/5/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      11/5/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      11/5/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      11/5/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/5/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      11/5/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      11/5/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      11/5/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      11/5/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       364.66
      11/5/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.71
      11/5/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      11/5/2016   709   JG0017   Owner Operator   Repair Order                   CTMS - 196582 Repair                    50
      11/5/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      11/5/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/5/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      11/5/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      11/5/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/5/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/5/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      11/5/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.23
      11/5/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       450.92
      11/5/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.58
      11/5/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      11/5/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      11/5/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      11/5/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      11/5/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         250
      11/5/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/5/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/5/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.68
      11/5/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.04
      11/5/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        35.65
      11/5/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      11/5/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      11/5/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      11/5/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      11/5/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
      11/5/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/5/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.5
      11/5/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.52
      11/5/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      11/5/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      11/5/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      11/5/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.78
      11/5/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                      100
      11/5/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      11/5/2016   709   JR0099   Owner Operator   Repair Order                   CTMS - 196437 Inv 007-70623 Cu      255.61
      11/5/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 196409 Truck Lease           278.76
      11/5/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      11/5/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      11/5/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      11/5/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      11/5/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/5/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/5/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/5/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/5/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.32
      11/5/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.91
      11/5/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      11/5/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      11/5/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/5/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      11/5/2016   709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                    -1250
      11/5/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      11/5/2016   709   KP0004   Owner Operator   Express Check                  T-Check Payment                       1250
      11/5/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           250
      11/5/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.5
      11/5/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.52
      11/5/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          238
      11/5/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          215
      11/5/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          245
      11/5/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         9.95
      11/5/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      11/5/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      11/5/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      11/5/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      11/5/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      11/5/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      11/5/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 196504 Lease Q1111           252.11
      11/5/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      11/5/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      11/5/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/5/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/5/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.97
      11/5/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.72
      11/5/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      11/5/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      11/5/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      11/5/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      11/5/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.22
      11/5/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      11/5/2016   709   MB0048   Owner Operator   Tire Purchase                  PO: 709-00341604 - PO System        215.28
      11/5/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      11/5/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                         8
      11/5/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/5/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.89
      11/5/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.12
      11/5/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.28
      11/5/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.11

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      11/5/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/5/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.07
      11/5/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 196437 Q1113 Lease            252.11
      11/5/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-29         18.26
      11/5/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-12     -2031.25
      11/5/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-12        -8.58
      11/5/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-12         -978
      11/5/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      11/5/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      11/5/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/5/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      11/5/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.97
      11/5/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.71
      11/5/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        283.48
      11/5/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment        260.53
      11/5/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/5/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      11/5/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      11/5/2016   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                      8.75
      11/5/2016   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                         13
      11/5/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/5/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      11/5/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                        119.37
      11/5/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.89
      11/5/2016   709   MM0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/5/2016   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                      28.13
      11/5/2016   709   MM0103   Owner Operator   Tire Fee                       Tire Fee: 1960939                        32
      11/5/2016   709   MM0103   Owner Operator   Tire Purchase                  PO: 709-00342337 - PO System          69.96
      11/5/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      11/5/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      11/5/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           650
      11/5/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/5/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      11/5/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      11/5/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      11/5/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      11/5/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      11/5/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      11/5/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.92
      11/5/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        207.75
      11/5/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        185.91
      11/5/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.82
      11/5/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/5/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      11/5/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 196510 Lease                  215.66
      11/5/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      11/5/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      11/5/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        135.15
      11/5/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/5/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      11/5/2016   709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00340930 - PO System         275.82
      11/5/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
      11/5/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
      11/5/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/5/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/5/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      11/5/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        229.43
      11/5/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.46
      11/5/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.21
      11/5/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.73
      11/5/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/5/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD            39.07
      11/5/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 196408 Tractor Sublease       252.11
      11/5/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      11/5/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      11/5/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      11/5/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                         18.84
      11/5/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      11/5/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      11/5/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                     10.58
      11/5/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                     34.17
      11/5/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/5/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            30.47

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      11/5/2016   709   NT9564   Owner Operator   Repair Order                   CTMS - 196582 Towing                  190
      11/5/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 196437 Truck 73130 Leas      196.65
      11/5/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      11/5/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      11/5/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.93
      11/5/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      11/5/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      11/5/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      11/5/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      11/5/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 196408 Down Payment lo       303.55
      11/5/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      11/5/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/5/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      11/5/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      11/5/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.64
      11/5/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.02
      11/5/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      11/5/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      11/5/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      11/5/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      11/5/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/5/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/5/2016   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                          400
      11/5/2016   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      11/5/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       516.48
      11/5/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 45.29
      11/5/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 45.32
      11/5/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 77.22
      11/5/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  77.2
      11/5/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/5/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      11/5/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/5/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/5/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/5/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/5/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       409.05
      11/5/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.35
      11/5/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.48
      11/5/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       258.68
      11/5/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      11/5/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      11/5/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      11/5/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      11/5/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      11/5/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.03
      11/5/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.58
      11/5/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        175.3
      11/5/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      11/5/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      11/5/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      11/5/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.22
      11/5/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.15
      11/5/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                     100
      11/5/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      11/5/2016   709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00342341 - PO System        200.56
      11/5/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 196409 Q1202 Truck Leas      278.76
      11/5/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      11/5/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      11/5/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      11/5/2016   709   RR0123   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-12      -85.68
      11/5/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/5/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/5/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.59
      11/5/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.71
      11/5/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       119.66
      11/5/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.55
      11/5/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.58

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      11/5/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                    10.58
      11/5/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                    10.58
      11/5/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      11/5/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      11/5/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      11/5/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      11/5/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 196243 Q1248                 311.97
      11/5/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 196435 Q1248                 311.97
      11/5/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      11/5/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.21
      11/5/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.01
      11/5/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
      11/5/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      11/5/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       327.52
      11/5/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
      11/5/2016   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                  56.95
      11/5/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      11/5/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
      11/5/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.89
      11/5/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.25
      11/5/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.42
      11/5/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
      11/5/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
      11/5/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
      11/5/2016   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/5/2016   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/5/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.39
      11/5/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         355
      11/5/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
      11/5/2016   709   VB0015   Owner Operator   Tire Purchase                  PO: 709-00342021 - PO System        180.93
      11/5/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 196557 Tractor Sub leas      242.03
      11/5/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      11/5/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
      11/5/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
      11/5/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          150
      11/5/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/5/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/5/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      11/5/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.85
      11/5/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.42
      11/5/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       187.01
      11/5/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.66
      11/5/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       100.58
      11/5/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
      11/5/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
      11/5/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      11/5/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
      11/5/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
      11/5/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
      11/5/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
      11/5/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
      11/5/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/5/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.65
      11/5/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.96
      11/5/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.11
      11/5/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
      11/5/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
      11/5/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      11/5/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 196435 Q1238 Lease           311.97
      11/5/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      11/5/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      11/5/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/5/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/5/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/5/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/5/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.38

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      11/5/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       109.01
      11/5/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.7
      11/5/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.07
      11/5/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.36
      11/5/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
      11/5/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      11/5/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      11/5/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      11/5/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        237.7
      11/5/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.07
      11/5/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.84
      11/5/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      11/5/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      11/5/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
      11/5/2016   742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33832         9.84
      11/5/2016   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                        13
      11/5/2016   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                        13
      11/5/2016   742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-12      -56.84
      11/5/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/5/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/5/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        464.7
      11/5/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.08
      11/5/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        22.56
      11/5/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.16
      11/5/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      11/5/2016   742   CA0089   Owner Operator   Repair Order                   CTMS - 196243 Repair                 90.04
      11/5/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL          8.75
      11/5/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
      11/5/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/5/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.65
      11/5/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.04
      11/5/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.8
      11/5/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
      11/5/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
      11/5/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD          82.04
      11/5/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te         2.5
      11/5/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 196437 Sub Lease Q13171      352.68
      11/5/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
      11/5/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
      11/5/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/5/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.69
      11/5/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.47
      11/5/2016   742   EO0014   Owner Operator   IRP License Deduction          LCIL:2016 - 33846                     100
      11/5/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.13
      11/5/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
      11/5/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      11/5/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      11/5/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      11/5/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      11/5/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
      11/5/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      11/5/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      11/5/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/5/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.98
      11/5/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       408.89
      11/5/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.81
      11/5/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.17
      11/5/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.43
      11/5/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      11/5/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      11/5/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      11/5/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/5/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/5/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/5/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/5/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/5/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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      11/5/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/5/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.87
      11/5/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.45
      11/5/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.29
      11/5/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      11/5/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      11/5/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       432.15
      11/5/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        62.06
      11/5/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      11/5/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      11/5/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      11/5/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      11/5/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      11/5/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
      11/5/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
      11/5/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/5/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         250
      11/5/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         250
      11/5/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        49.58
      11/5/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      11/5/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
      11/5/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
      11/5/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.57
      11/5/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
      11/5/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 196437 Q1247 Sub Lease       311.97
      11/5/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      11/5/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      11/5/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/5/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/5/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.74
      11/5/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.26
      11/5/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.47
      11/5/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.18
      11/5/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.57
      11/5/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      11/5/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      11/5/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/5/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      11/5/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      11/5/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      11/5/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      11/5/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/5/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/5/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.02
      11/5/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.06
      11/5/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.2
      11/5/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       260.22
      11/5/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.91
      11/5/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      11/5/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      11/5/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      11/5/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      11/5/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      11/5/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       124.33
      11/5/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.25
      11/5/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.33
      11/5/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.39
      11/5/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.83
      11/5/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
      11/5/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      11/5/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         2.11
      11/5/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      11/5/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      11/5/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      11/5/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      11/5/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/5/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/5/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.6
      11/5/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.67

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      11/5/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.88
      11/5/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.02
      11/5/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.95
      11/5/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/5/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      11/5/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      11/5/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     11/12/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     11/12/2016   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
     11/12/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     11/12/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.22
     11/12/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
     11/12/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     11/12/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
     11/12/2016   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
     11/12/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
     11/12/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        157.4
     11/12/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.17
     11/12/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.48
     11/12/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.45
     11/12/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.96
     11/12/2016   709   AR0064   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    183.34
     11/12/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
     11/12/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
     11/12/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
     11/12/2016   709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00342612 - PO System        172.89
     11/12/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 196643 Trck Lease            353.28
     11/12/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
     11/12/2016   709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                 12.5
     11/12/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
     11/12/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/12/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        34.27
     11/12/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         201
     11/12/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.01
     11/12/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.55
     11/12/2016   709   AV0021   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     77.73
     11/12/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
     11/12/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
     11/12/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
     11/12/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 196640 Q13169 Sublease       352.68
     11/12/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
     11/12/2016   709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                 12.5
     11/12/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
     11/12/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/12/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.12
     11/12/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.78
     11/12/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        354.2
     11/12/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
     11/12/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
     11/12/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
     11/12/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 196620 Q13168 sub lease      352.68
     11/12/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/12/2016   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
     11/12/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     11/12/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
     11/12/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/12/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/12/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       388.37
     11/12/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
     11/12/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/12/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     11/12/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
     11/12/2016   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
     11/12/2016   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 196678 MDI & EG Heel           125
     11/12/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     11/12/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.14
     11/12/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       124.61
     11/12/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.49

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     11/12/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         5.69
     11/12/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.75
     11/12/2016   709   CR0064   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     17.69
     11/12/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
     11/12/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
     11/12/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
     11/12/2016   709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                  12.5
     11/12/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
     11/12/2016   709   CS0091   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    -60.61
     11/12/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                     100
     11/12/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
     11/12/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 196619 Q1201                 278.76
     11/12/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 196672 CS0091. Tractor       268.35
     11/12/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.81
     11/12/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.15
     11/12/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        88.84
     11/12/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
     11/12/2016   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                  12.5
     11/12/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     11/12/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       495.94
     11/12/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
     11/12/2016   709   DL0107   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     96.72
     11/12/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                    10.58
     11/12/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
     11/12/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
     11/12/2016   709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00342387 - PO System        417.11
     11/12/2016   709   DL0107   Owner Operator   Toll Charges                   CA Q1245       Bay Bridge               25
     11/12/2016   709   DL0107   Owner Operator   Toll Charges                   CA Q1245       Bay Bridge               25
     11/12/2016   709   DL0107   Owner Operator   Toll Charges                   CA Q1245       Benicia                  25
     11/12/2016   709   DL0107   Owner Operator   Toll Charges                   CA Q1245       Benicia                  25
     11/12/2016   709   DL0107   Owner Operator   Toll Charges                   CA Q1245       Richmond                 25
     11/12/2016   709   DL0107   Owner Operator   Toll Charges                   CA Q1245       San Mateo                25
     11/12/2016   709   DL0107   Owner Operator   Toll Charges                   CA Q1245       San Mateo                25
     11/12/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 196591 Sublease              338.99
     11/12/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
     11/12/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/12/2016   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                  12.5
     11/12/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
     11/12/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
     11/12/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     11/12/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       408.87
     11/12/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.37
     11/12/2016   709   DS0049   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     -6.83
     11/12/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
     11/12/2016   709   DS0049   Owner Operator   Toll Charges                   CA 32915      San Mateo                 25
     11/12/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
     11/12/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
     11/12/2016   709   DS0225   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    -30.64
     11/12/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    39.07
     11/12/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
     11/12/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
     11/12/2016   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                  12.5
     11/12/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
     11/12/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
     11/12/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        80.82
     11/12/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.43
     11/12/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.98
     11/12/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.25
     11/12/2016   709   DW0138   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    284.14
     11/12/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     11/12/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     11/12/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
     11/12/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
     11/12/2016   709   DW0138   Owner Operator   Toll Charges                   TRO BC 2234818211 0923 - 33443       10.26
     11/12/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
     11/12/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
     11/12/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/12/2016   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                  12.5

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     11/12/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
     11/12/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
     11/12/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/12/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/12/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/12/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/12/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.1
     11/12/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.88
     11/12/2016   709   EA0003   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      80.81
     11/12/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
     11/12/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
     11/12/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/12/2016   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                   12.5
     11/12/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
     11/12/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/12/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           400
     11/12/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
     11/12/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/12/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.2
     11/12/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        362.03
     11/12/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        316.95
     11/12/2016   709   EE0011   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      39.85
     11/12/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.92
     11/12/2016   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00342848 - PO System         157.87
     11/12/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
     11/12/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  8.75
     11/12/2016   709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                   12.5
     11/12/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                          8
     11/12/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/12/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.77
     11/12/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.4
     11/12/2016   709   EG0062   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      46.65
     11/12/2016   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2016 - 33828                     20.52
     11/12/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                  42.19
     11/12/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism          2.5
     11/12/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 11/10 #17105                  350.36
     11/12/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
     11/12/2016   709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                   12.5
     11/12/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
     11/12/2016   709   FS0039   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19      -152.82
     11/12/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/12/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          130
     11/12/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.75
     11/12/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        333.58
     11/12/2016   709   FS0039   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                       4.16
     11/12/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.88
     11/12/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 196638 truck lease 3304       434.29
     11/12/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
     11/12/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           400
     11/12/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
     11/12/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        106.06
     11/12/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                     10.58
     11/12/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                     34.17
     11/12/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.52
     11/12/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 196622 73129                   80.75
     11/12/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
     11/12/2016   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                  12.5
     11/12/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
     11/12/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/12/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/12/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        193.77
     11/12/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        364.16
     11/12/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        390.18
     11/12/2016   709   FV0001   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      66.94
     11/12/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
     11/12/2016   709   FV0001   Owner Operator   Tractor Wash                   CTMS - 196671 Trailer wash TL9          -32
     11/12/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75

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     11/12/2016   709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                   12.5
     11/12/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
     11/12/2016   709   GS0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19       -87.85
     11/12/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        211.74
     11/12/2016   709   GS0015   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      63.78
     11/12/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
     11/12/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 196622 Lease                  252.11
     11/12/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
     11/12/2016   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                   12.5
     11/12/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
     11/12/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/12/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/12/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/12/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.2
     11/12/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        407.73
     11/12/2016   709   HG0007   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      66.08
     11/12/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
     11/12/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
     11/12/2016   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                   12.5
     11/12/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
     11/12/2016   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-5             50
     11/12/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
     11/12/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/12/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        131.45
     11/12/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        449.27
     11/12/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        177.04
     11/12/2016   709   HG0027   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      67.02
     11/12/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
     11/12/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
     11/12/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/12/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.75
     11/12/2016   709   IR0002   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    -310.79
     11/12/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
     11/12/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     11/12/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
     11/12/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
     11/12/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
     11/12/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
     11/12/2016   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                   12.5
     11/12/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
     11/12/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
     11/12/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
     11/12/2016   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19       -417.6
     11/12/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
     11/12/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
     11/12/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
     11/12/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/12/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/12/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/12/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/12/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        390.38
     11/12/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         37.65
     11/12/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.3
     11/12/2016   709   JC0292   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      85.04
     11/12/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.13
     11/12/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
     11/12/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/12/2016   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                   12.5
     11/12/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
     11/12/2016   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                     -3000
     11/12/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
     11/12/2016   709   JG0017   Owner Operator   Express Check                  T-Check Payment                        3000
     11/12/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
     11/12/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     11/12/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.09
     11/12/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        315.36
     11/12/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        365.31
     11/12/2016   709   JG0017   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     104.96

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     11/12/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
     11/12/2016   709   JG0017   Owner Operator   Toll Charges                   CA 32908       Bay Bridge                4
     11/12/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     11/12/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/12/2016   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
     11/12/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     11/12/2016   709   JG0072   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19      -344.4
     11/12/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/12/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
     11/12/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/12/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/12/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/12/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/12/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       383.32
     11/12/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.52
     11/12/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.54
     11/12/2016   709   JG0072   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    148.38
     11/12/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
     11/12/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     11/12/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     11/12/2016   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5
     11/12/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
     11/12/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         250
     11/12/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/12/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/12/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       487.24
     11/12/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.33
     11/12/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.29
     11/12/2016   709   JG0092   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    116.82
     11/12/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
     11/12/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     11/12/2016   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
     11/12/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     11/12/2016   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19       -33.1
     11/12/2016   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19      -29.75
     11/12/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.66
     11/12/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.21
     11/12/2016   709   JQ0015   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    -11.14
     11/12/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
     11/12/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
     11/12/2016   709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                  12.5
     11/12/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
     11/12/2016   709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19       -26.5
     11/12/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.34
     11/12/2016   709   JR0099   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     97.21
     11/12/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                     100
     11/12/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
     11/12/2016   709   JR0099   Owner Operator   Repair Order                   CTMS - 196621 Inv 007-70623 Cu      255.61
     11/12/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 196596 Truck Lease           278.76
     11/12/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     11/12/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     11/12/2016   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                  12.5
     11/12/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     11/12/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
     11/12/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/12/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/12/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/12/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/12/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.79
     11/12/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       298.39
     11/12/2016   709   JS0265   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    108.08
     11/12/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
     11/12/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
     11/12/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          250
     11/12/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.5
     11/12/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         320
     11/12/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        46.25

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     11/12/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        325.03
     11/12/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.07
     11/12/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.5
     11/12/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        372.13
     11/12/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
     11/12/2016   709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                   12.5
     11/12/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
     11/12/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/12/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/12/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        406.49
     11/12/2016   709   LS0023   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      14.46
     11/12/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
     11/12/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
     11/12/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
     11/12/2016   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                  12.5
     11/12/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
     11/12/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        342.24
     11/12/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
     11/12/2016   709   MB0048   Owner Operator   Tire Purchase                  PO: 709-00341604 - PO System         215.25
     11/12/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
     11/12/2016   709   ME0053   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                   12.5
     11/12/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
     11/12/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/12/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        163.27
     11/12/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.44
     11/12/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.17
     11/12/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.26
     11/12/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.1
     11/12/2016   709   ME0053   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                       1.19
     11/12/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.07
     11/12/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 196620 Q1113 Lease            252.11
     11/12/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
     11/12/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
     11/12/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-29        950.36
     11/12/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-5        2031.25
     11/12/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-5           8.58
     11/12/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-5           978
     11/12/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19         -6.5
     11/12/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19        -8.58
     11/12/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19      -203.13
     11/12/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19        -8.58
     11/12/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        312.15
     11/12/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
     11/12/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          6.74
     11/12/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
     11/12/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     11/12/2016   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                   12.5
     11/12/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
     11/12/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/12/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/12/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/12/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/12/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        208.85
     11/12/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.79
     11/12/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment        260.53
     11/12/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
     11/12/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
     11/12/2016   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                      8.75
     11/12/2016   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                         13
     11/12/2016   709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/12/2016   709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/12/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/12/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/12/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                        446.63
     11/12/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                        160.16
     11/12/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                        388.06
     11/12/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                        193.54

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     11/12/2016   709   MM0103   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      -6.66
     11/12/2016   709   MM0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                     28.13
     11/12/2016   709   MM0103   Owner Operator   Tire Purchase                  PO: 709-00342337 - PO System        711.36
     11/12/2016   709   MM0103   Owner Operator   Tire Purchase                  PO: 709-00342337 - PO System         641.4
     11/12/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
     11/12/2016   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                   12.5
     11/12/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
     11/12/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
     11/12/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
     11/12/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
     11/12/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       446.35
     11/12/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
     11/12/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
     11/12/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
     11/12/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
     11/12/2016   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                   12.5
     11/12/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
     11/12/2016   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                    -2000
     11/12/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
     11/12/2016   709   NB0029   Owner Operator   Express Check                  T-Check Payment                       2000
     11/12/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.64
     11/12/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       435.29
     11/12/2016   709   NB0029   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     92.75
     11/12/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
     11/12/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 196693 Lease                 215.66
     11/12/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
     11/12/2016   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                  12.5
     11/12/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
     11/12/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           140
     11/12/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.4
     11/12/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          270
     11/12/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
     11/12/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
     11/12/2016   709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                   12.5
     11/12/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13
     11/12/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                          250
     11/12/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        288.1
     11/12/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.43
     11/12/2016   709   NR0010   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    328.42
     11/12/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
     11/12/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 196595 Tractor Sublease      252.11
     11/12/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 196676 NR0010. Tractor       282.95
     11/12/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
     11/12/2016   709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                   12.5
     11/12/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
     11/12/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/12/2016   709   NT9564   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    138.45
     11/12/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
     11/12/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
     11/12/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
     11/12/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 196620 Truck 73130 Leas      196.65
     11/12/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
     11/12/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
     11/12/2016   709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19      -51.53
     11/12/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.29
     11/12/2016   709   RC0030   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    679.85
     11/12/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
     11/12/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
     11/12/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
     11/12/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
     11/12/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 196595 Down Payment lo       303.55
     11/12/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.7
     11/12/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/12/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
     11/12/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     11/12/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.26

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     11/12/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.26
     11/12/2016   709   RC0089   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      -8.34
     11/12/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.07
     11/12/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
     11/12/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
     11/12/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/12/2016   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                  12.5
     11/12/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        223.68
     11/12/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        436.65
     11/12/2016   709   RL0017   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    -224.11
     11/12/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  45.32
     11/12/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  77.22
     11/12/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/12/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
     11/12/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/12/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             50
     11/12/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
     11/12/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/12/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.99
     11/12/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        439.82
     11/12/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        390.86
     11/12/2016   709   RL0062   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     146.72
     11/12/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        258.68
     11/12/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
     11/12/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
     11/12/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
     11/12/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
     11/12/2016   709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                   12.5
     11/12/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
     11/12/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        360.53
     11/12/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          312
     11/12/2016   709   RM0026   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     118.42
     11/12/2016   709   RM0026   Owner Operator   IRP License Deduction          LCIL:2016 - 33664                        21
     11/12/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   RM0026   Owner Operator   Permits                        OR16:2016 - 33664                         8
     11/12/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
     11/12/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
     11/12/2016   709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                   12.5
     11/12/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
     11/12/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        361.56
     11/12/2016   709   RP0082   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     110.92
     11/12/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                      100
     11/12/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
     11/12/2016   709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00342341 - PO System         200.56
     11/12/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 196596 Q1202 Truck Leas       278.76
     11/12/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
     11/12/2016   709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                   12.5
     11/12/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
     11/12/2016   709   RR0123   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-5          85.68
     11/12/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/12/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/12/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/12/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.86
     11/12/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        391.89
     11/12/2016   709   RR0123   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      77.84
     11/12/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                     10.58
     11/12/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
     11/12/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
     11/12/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
     11/12/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 196618 Q1248                  311.97
     11/12/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
     11/12/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
     11/12/2016   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                   12.5
     11/12/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
     11/12/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
     11/12/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
     11/12/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
     11/12/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200

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     11/12/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
     11/12/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
     11/12/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
     11/12/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/12/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/12/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.97
     11/12/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        280.24
     11/12/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        393.91
     11/12/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         67.54
     11/12/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        172.32
     11/12/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.64
     11/12/2016   709   SB0009   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     218.58
     11/12/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
     11/12/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
     11/12/2016   709   SB0009   Owner Operator   Repair Order                   CTMS - 196582 Repair                 501.08
     11/12/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
     11/12/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        236.81
     11/12/2016   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                   56.95
     11/12/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     11/12/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
     11/12/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        130.97
     11/12/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.25
     11/12/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.49
     11/12/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        280.06
     11/12/2016   709   SN0019   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      22.29
     11/12/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
     11/12/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
     11/12/2016   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                   12.5
     11/12/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
     11/12/2016   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/12/2016   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/12/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          363
     11/12/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          182
     11/12/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        407.51
     11/12/2016   709   VB0015   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     227.54
     11/12/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
     11/12/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 196744 Tractor Sub leas       242.03
     11/12/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
     11/12/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
     11/12/2016   709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19        -21.2
     11/12/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
     11/12/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
     11/12/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
     11/12/2016   709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                   12.5
     11/12/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
     11/12/2016   709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19       -85.68
     11/12/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/12/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/12/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/12/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.91
     11/12/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.84
     11/12/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        189.47
     11/12/2016   709   WH0087   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    -394.68
     11/12/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                     10.58
     11/12/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                     34.17
     11/12/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD               60.47
     11/12/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 196619 Q1238 Lease            311.97
     11/12/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
     11/12/2016   742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                   12.5
     11/12/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
     11/12/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.79
     11/12/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        248.48
     11/12/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        423.62
     11/12/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.3
     11/12/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        172.18
     11/12/2016   742   BS0078   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      82.15
     11/12/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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     11/12/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.55
     11/12/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
     11/12/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL                8.75
     11/12/2016   742   CA0089   Owner Operator   Broker Pre Pass                33832 PrePass Device                   12.5
     11/12/2016   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                         13
     11/12/2016   742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-5          56.84
     11/12/2016   742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19      -250.25
     11/12/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/12/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        401.04
     11/12/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        164.74
     11/12/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        437.75
     11/12/2016   742   CA0089   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      23.82
     11/12/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD                35.16
     11/12/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori          2.5
     11/12/2016   742   CT0085   Owner Operator   Accident Claim                 10/31/16 CT0085 Incident               432
     11/12/2016   742   CT0085   Owner Operator   Accident Claim                 10/31/16 CT0085 Incident              1568
     11/12/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
     11/12/2016   742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                  12.5
     11/12/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                         8
     11/12/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/12/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          385
     11/12/2016   742   CT0085   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      70.61
     11/12/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                    10.58
     11/12/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                    34.17
     11/12/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           82.04
     11/12/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te          2.5
     11/12/2016   742   CT0085   Owner Operator   Toll Charges                   CA Q13171       Carquinez Brid           25
     11/12/2016   742   CT0085   Owner Operator   Toll Charges                   CA Q13171       Carquinez Brid           25
     11/12/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 196620 Sub Lease Q13171       352.68
     11/12/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/12/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/12/2016   742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                   12.5
     11/12/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                         13
     11/12/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                         13
     11/12/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/12/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/12/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        448.56
     11/12/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.52
     11/12/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        330.02
     11/12/2016   742   DA0067   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      35.55
     11/12/2016   742   DA0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33847                      100
     11/12/2016   742   DA0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33847                      100
     11/12/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.32
     11/12/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.32
     11/12/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     11/12/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     11/12/2016   742   DA0067   Owner Operator   Toll Charges                   CA 33847 Carquinez Bridge                25
     11/12/2016   742   DA0067   Owner Operator   Toll Charges                   CA 33847 Carquinez Bridge                25
     11/12/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
     11/12/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
     11/12/2016   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                   12.5
     11/12/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
     11/12/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
     11/12/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        316.03
     11/12/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        248.26
     11/12/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.14
     11/12/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.54
     11/12/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.77
     11/12/2016   742   ED0041   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      89.64
     11/12/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/12/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.36
     11/12/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.36
     11/12/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
     11/12/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
     11/12/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/12/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/12/2016   742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                   12.5
     11/12/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                         13

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     11/12/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
     11/12/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/12/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/12/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.67
     11/12/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.6
     11/12/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       372.79
     11/12/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.79
     11/12/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.52
     11/12/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.64
     11/12/2016   742   EN0016   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     49.65
     11/12/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
     11/12/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
     11/12/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/12/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/12/2016   742   EN0016   Owner Operator   Toll Charges                   CA 32947       Carquinez Brid           25
     11/12/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
     11/12/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
     11/12/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
     11/12/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
     11/12/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/12/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.47
     11/12/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.94
     11/12/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.52
     11/12/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       257.29
     11/12/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.67
     11/12/2016   742   EO0014   Owner Operator   IRP License Deduction          LCIL:2016 - 33846                      100
     11/12/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   742   EO0014   Owner Operator   Permits                        NY13:2016 - 33846                      1.5
     11/12/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.13
     11/12/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
     11/12/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
     11/12/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
     11/12/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19       -8.32
     11/12/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19       -21.2
     11/12/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19      -19.76
     11/12/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19      -19.76
     11/12/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     11/12/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
     11/12/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
     11/12/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     11/12/2016   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
     11/12/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     11/12/2016   742   MH0117   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19        -527
     11/12/2016   742   MH0117   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     34.83
     11/12/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
     11/12/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     11/12/2016   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                  20.17
     11/12/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
     11/12/2016   742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                  12.5
     11/12/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
     11/12/2016   742   MT0112   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-19      -146.3
     11/12/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/12/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/12/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/12/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          200
     11/12/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          150
     11/12/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.59
     11/12/2016   742   MT0112   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      7.16
     11/12/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
     11/12/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
     11/12/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.57
     11/12/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
     11/12/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 196620 Q1247 Sub Lease       311.97
     11/12/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
     11/12/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.38
     11/12/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.51
     11/12/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.28
     11/12/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           41.16

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     11/12/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/12/2016   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
     11/12/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     11/12/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
     11/12/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.39
     11/12/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.11
     11/12/2016   742   PC0012   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     82.84
     11/12/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     11/12/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
     11/12/2016   742   PC0012   Owner Operator   Toll Charges                   CA 32969      Carquinez Brid            25
     11/12/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
     11/12/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
     11/12/2016   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                 12.5
     11/12/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     11/12/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     11/12/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.52
     11/12/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.06
     11/12/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.79
     11/12/2016   742   RN0054   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     53.06
     11/12/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
     11/12/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
     11/12/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        45.39
     11/12/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
     11/12/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
     11/12/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     11/12/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     11/12/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 196411 Tractor Lease         353.28
     11/12/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 196598 Tractor Lease         353.28
     11/12/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     11/12/2016   844   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
     11/12/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     11/12/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/12/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/12/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/12/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/12/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.19
     11/12/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.21
     11/12/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.5
     11/12/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.61
     11/12/2016   844   JK0112   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    400.53
     11/12/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/12/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
     11/12/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     11/12/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     11/19/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     11/19/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     11/19/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.59
     11/19/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
     11/19/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     11/19/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
     11/19/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
     11/19/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.9
     11/19/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.57
     11/19/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.59
     11/19/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
     11/19/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
     11/19/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
     11/19/2016   709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00342612 - PO System        172.89
     11/19/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 196844 Trck Lease            353.28
     11/19/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
     11/19/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
     11/19/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/19/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/19/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.44
     11/19/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        39.18
     11/19/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.18
     11/19/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.74
     11/19/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.09
     11/19/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58

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     11/19/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
     11/19/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
     11/19/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 196842 Q13169 Sublease       352.68
     11/19/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
     11/19/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
     11/19/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        406.9
     11/19/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.28
     11/19/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
     11/19/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
     11/19/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
     11/19/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 196807 Q13168 sub lease      352.68
     11/19/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/19/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     11/19/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
     11/19/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/19/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/19/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       479.14
     11/19/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
     11/19/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/19/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     11/19/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
     11/19/2016   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 196840 MDI & EG Heel           125
     11/19/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     11/19/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-26       -10.6
     11/19/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.36
     11/19/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
     11/19/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
     11/19/2016   709   CR0064   Owner Operator   Truck Payment                  CTMS - 196981 Truck Rental          392.85
     11/19/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
     11/19/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
     11/19/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.09
     11/19/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                     100
     11/19/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
     11/19/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 196806 Q1201                 278.76
     11/19/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
     11/19/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
     11/19/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
     11/19/2016   709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                  12.5
     11/19/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
     11/19/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
     11/19/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
     11/19/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   709   DL0029   Owner Operator   Fuel Card Advances             Cash Advance                          500
     11/19/2016   709   DL0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     11/19/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         79.7
     11/19/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.52
     11/19/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         233
     11/19/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.29
     11/19/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.43
     11/19/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.31
     11/19/2016   709   DL0029   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                      93.7
     11/19/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.2
     11/19/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.2
     11/19/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.2
     11/19/2016   709   DL0029   Owner Operator   Repair Order                   CTMS - 196582 Repair                  250
     11/19/2016   709   DL0029   Owner Operator   Repair Order                   CTMS - 196805 Repair                  250
     11/19/2016   709   DL0029   Owner Operator   T Chek Fee                     Advance 33850                        1000
     11/19/2016   709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        10
     11/19/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
     11/19/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     11/19/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         400
     11/19/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       431.89

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     11/19/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        297.35
     11/19/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                     10.58
     11/19/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                     34.17
     11/19/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
     11/19/2016   709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00342387 - PO System         417.05
     11/19/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 196782 Sublease               338.99
     11/19/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
     11/19/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/19/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
     11/19/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
     11/19/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     11/19/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.54
     11/19/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
     11/19/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
     11/19/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
     11/19/2016   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-26      -567.25
     11/19/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        489.12
     11/19/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.07
     11/19/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
     11/19/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
     11/19/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        118.65
     11/19/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        100.26
     11/19/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        248.07
     11/19/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
     11/19/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
     11/19/2016   709   DW0138   Owner Operator   Repair Order                   CTMS - 196981 Repair                 196.48
     11/19/2016   709   DW0138   Owner Operator   Toll Charges                   33443 ILTOLL Belvidere                   12
     11/19/2016   709   DW0138   Owner Operator   Toll Charges                   33443 ILTOLL Devon Ave.                   6
     11/19/2016   709   DW0138   Owner Operator   Toll Charges                   33443 ILTOLL Elgin Rd                     6
     11/19/2016   709   DW0138   Owner Operator   Toll Charges                   33443 ILTOLL South Beloit               7.5
     11/19/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
     11/19/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/19/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
     11/19/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
     11/19/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/19/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/19/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/19/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/19/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        419.93
     11/19/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        331.03
     11/19/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
     11/19/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
     11/19/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/19/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
     11/19/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/19/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/19/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/19/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/19/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.49
     11/19/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        446.52
     11/19/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        426.57
     11/19/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.92
     11/19/2016   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00342848 - PO System         157.87
     11/19/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
     11/19/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  8.75
     11/19/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                          8
     11/19/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/19/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.3
     11/19/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.05
     11/19/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                  42.19
     11/19/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism          2.5
     11/19/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 11/17 #17105                  350.36
     11/19/2016   709   EH0020   Owner Operator   *Arrears Collection W/O        ARREARS WRITE-OFF                   -422.63
     11/19/2016   709   EH0020   Owner Operator   Arrears                        Credit Billing                       140.63
     11/19/2016   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                   12.5
     11/19/2016   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                   12.5
     11/19/2016   709   EH0020   Owner Operator   Broker Pre Pass                33065 PrePass Device                   12.5

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     11/19/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
     11/19/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
     11/19/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
     11/19/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
     11/19/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
     11/19/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
     11/19/2016   709   EH0020   Owner Operator   Communication Charge           PNet Hware 33065                         13
     11/19/2016   709   EH0020   Owner Operator   Tire Purchase                  Balance Of Tire Purchase              153.5
     11/19/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
     11/19/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
     11/19/2016   709   FS0039   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12        152.82
     11/19/2016   709   FS0039   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-26          -93
     11/19/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/19/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        215.01
     11/19/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          157
     11/19/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          171
     11/19/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.88
     11/19/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 196840 truck lease 3304       434.29
     11/19/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
     11/19/2016   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                   12.5
     11/19/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
     11/19/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                         13
     11/19/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             30
     11/19/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/19/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/19/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.3
     11/19/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        208.95
     11/19/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        203.81
     11/19/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                     10.58
     11/19/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                     34.17
     11/19/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.52
     11/19/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 196622 73129                  100.33
     11/19/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 196809 73129                  181.08
     11/19/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
     11/19/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
     11/19/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
     11/19/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
     11/19/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
     11/19/2016   709   GS0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12         87.85
     11/19/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        223.75
     11/19/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
     11/19/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 196809 Lease                  252.11
     11/19/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
     11/19/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
     11/19/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/19/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
     11/19/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     11/19/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        425.17
     11/19/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        425.08
     11/19/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
     11/19/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
     11/19/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
     11/19/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/19/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/19/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.32
     11/19/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.38
     11/19/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        180.93
     11/19/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
     11/19/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
     11/19/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/19/2016   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-26      -473.65
     11/19/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                          30.17
     11/19/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.3
     11/19/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.86
     11/19/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.1
     11/19/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64

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     11/19/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/19/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
     11/19/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
     11/19/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
     11/19/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
     11/19/2016   709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12        417.6
     11/19/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
     11/19/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/19/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/19/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.93
     11/19/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.61
     11/19/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.37
     11/19/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
     11/19/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL South Beloit              7.5
     11/19/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
     11/19/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/19/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
     11/19/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
     11/19/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
     11/19/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/19/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.61
     11/19/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
     11/19/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     11/19/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/19/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     11/19/2016   709   JG0072   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12        344.4
     11/19/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
     11/19/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/19/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/19/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/19/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.03
     11/19/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.46
     11/19/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
     11/19/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     11/19/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     11/19/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
     11/19/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                          250
     11/19/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.06
     11/19/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
     11/19/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     11/19/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     11/19/2016   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12         33.1
     11/19/2016   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12        29.75
     11/19/2016   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-26         -93
     11/19/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.52
     11/19/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
     11/19/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
     11/19/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
     11/19/2016   709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12         26.5
     11/19/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.64
     11/19/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                      100
     11/19/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
     11/19/2016   709   JR0099   Owner Operator   Repair Order                   CTMS - 196808 Inv 007-70623 Cu      255.61
     11/19/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 196785 Truck Lease           278.76
     11/19/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     11/19/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     11/19/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     11/19/2016   709   JS0265   Owner Operator   ESCROW                         Escrow Withdrawal                    -5000
     11/19/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
     11/19/2016   709   JS0265   Owner Operator   Express Check                  T-Check Payment                       5000
     11/19/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/19/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/19/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/19/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/19/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/19/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/19/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.91

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     11/19/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.45
     11/19/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.81
     11/19/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
     11/19/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
     11/19/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/19/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/19/2016   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
     11/19/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
     11/19/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
     11/19/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
     11/19/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
     11/19/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/19/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/19/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          272
     11/19/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          202
     11/19/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          163
     11/19/2016   709   KP0004   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     117.47
     11/19/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
     11/19/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
     11/19/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     11/19/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     11/19/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        147.46
     11/19/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
     11/19/2016   709   KP0004   Owner Operator   Truck Payment                  CTMS - 196583 Truck Rental             550
     11/19/2016   709   LL0160   Owner Operator   AP Invoice Deductions          duplicat billing                    1135.43
     11/19/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
     11/19/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
     11/19/2016   709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                   12.5
     11/19/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
     11/19/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
     11/19/2016   709   LL0160   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     347.81
     11/19/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
     11/19/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
     11/19/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 196688 Lease Q1111            252.11
     11/19/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 196885 Lease Q1111            252.11
     11/19/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
     11/19/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
     11/19/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/19/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/19/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        643.54
     11/19/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
     11/19/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
     11/19/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
     11/19/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
     11/19/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        147.83
     11/19/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        143.08
     11/19/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
     11/19/2016   709   MB0048   Owner Operator   Repair Order                   CTMS - 196806 Parts                   73.03
     11/19/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
     11/19/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
     11/19/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/19/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        139.42
     11/19/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        112.14
     11/19/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        292.88
     11/19/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/19/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.07
     11/19/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 196808 Q1113 Lease            252.11
     11/19/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
     11/19/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12           6.5
     11/19/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12          8.58
     11/19/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12        203.13
     11/19/2016   709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12          8.58
     11/19/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        355.03
     11/19/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          100
     11/19/2016   709   MG0067   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                        7.6
     11/19/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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     11/19/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
     11/19/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        28.42
     11/19/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     11/19/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     11/19/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     11/19/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
     11/19/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/19/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/19/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/19/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/19/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.52
     11/19/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.84
     11/19/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       260.53
     11/19/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
     11/19/2016   709   MM0093   Owner Operator   Repair Order                   CTMS - 196805 Repair                140.03
     11/19/2016   709   MM0093   Owner Operator   Repair Order                   CTMS - 196981 Repair                140.03
     11/19/2016   709   MM0093   Owner Operator   T Chek Fee                     ExpressCheck Fee                       2.5
     11/19/2016   709   MM0093   Owner Operator   T Chek Fee                     Tractor Repair 32931                  250
     11/19/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
     11/19/2016   709   MM0103   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-26         -20
     11/19/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     11/19/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
     11/19/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
     11/19/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
     11/19/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
     11/19/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       601.51
     11/19/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
     11/19/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
     11/19/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
     11/19/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
     11/19/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
     11/19/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
     11/19/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.93
     11/19/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
     11/19/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 196890 Lease                 215.66
     11/19/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
     11/19/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
     11/19/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          120
     11/19/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
     11/19/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.01
     11/19/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
     11/19/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
     11/19/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
     11/19/2016   709   NR0010   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-26       -74.7
     11/19/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                         250
     11/19/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/19/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/19/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.46
     11/19/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.79
     11/19/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.39
     11/19/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.44
     11/19/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
     11/19/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 196785 Tractor Sublease      252.11
     11/19/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 196840 NR0010. Tractor       282.95
     11/19/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
     11/19/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
     11/19/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
     11/19/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
     11/19/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
     11/19/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 196808 Truck 73130 Leas      196.65
     11/19/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
     11/19/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
     11/19/2016   709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12        51.53
     11/19/2016   709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-26       -27.5
     11/19/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        46.02
     11/19/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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     11/19/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
     11/19/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
     11/19/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
     11/19/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
     11/19/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 196785 Down Payment lo       303.55
     11/19/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
     11/19/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/19/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
     11/19/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     11/19/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.32
     11/19/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       464.52
     11/19/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
     11/19/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
     11/19/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
     11/19/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/19/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.76
     11/19/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 45.32
     11/19/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 77.22
     11/19/2016   709   RL0017   Owner Operator   Tractor Charge                 dbt wk 11/10-11/17 #35015           1058.1
     11/19/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/19/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
     11/19/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/19/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/19/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.16
     11/19/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        389.9
     11/19/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       258.68
     11/19/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
     11/19/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
     11/19/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
     11/19/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
     11/19/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
     11/19/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.58
     11/19/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.45
     11/19/2016   709   RM0026   Owner Operator   IRP License Deduction          Refund for Replacement Plate           -21
     11/19/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   RM0026   Owner Operator   Permits                        Refund for OR Permit                    -8
     11/19/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
     11/19/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
     11/19/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
     11/19/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.41
     11/19/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.37
     11/19/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                     100
     11/19/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
     11/19/2016   709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00342341 - PO System         200.5
     11/19/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 196785 Q1202 Truck Leas      278.76
     11/19/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
     11/19/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
     11/19/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.28
     11/19/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.07
     11/19/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                    10.58
     11/19/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
     11/19/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
     11/19/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
     11/19/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 196806 Q1248                 311.97
     11/19/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     11/19/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
     11/19/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
     11/19/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/19/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/19/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.42
     11/19/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.76
     11/19/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.56
     11/19/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
     11/19/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
     11/19/2016   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                  56.95
     11/19/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75

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     11/19/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
     11/19/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.65
     11/19/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.43
     11/19/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.44
     11/19/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
     11/19/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
     11/19/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
     11/19/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.01
     11/19/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.01
     11/19/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
     11/19/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 196948 Tractor Sub leas      242.03
     11/19/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     11/19/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     11/19/2016   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                  12.5
     11/19/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     11/19/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     11/19/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
     11/19/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
     11/19/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/19/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/19/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/19/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/19/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       133.58
     11/19/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.42
     11/19/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.77
     11/19/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.61
     11/19/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.93
     11/19/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.54
     11/19/2016   709   VJ0006   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                    292.04
     11/19/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
     11/19/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
     11/19/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     11/19/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     11/19/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
     11/19/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     11/19/2016   709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12         21.2
     11/19/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
     11/19/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
     11/19/2016   709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12        11.44
     11/19/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
     11/19/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
     11/19/2016   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
     11/19/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     11/19/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     11/19/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/19/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/19/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/19/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/19/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/19/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/19/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.79
     11/19/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.43
     11/19/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.86
     11/19/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.25
     11/19/2016   742   AP0047   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     88.15
     11/19/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
     11/19/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
     11/19/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
     11/19/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
     11/19/2016   742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/19/2016   742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/19/2016   742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/19/2016   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 54.69
     11/19/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 54.69

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     11/19/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 54.69
     11/19/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/19/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/19/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/19/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     11/19/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
     11/19/2016   742   BS0078   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-26      -692.8
     11/19/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       402.13
     11/19/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        95.14
     11/19/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.35
     11/19/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
     11/19/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
     11/19/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
     11/19/2016   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                        13
     11/19/2016   742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12       250.25
     11/19/2016   742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-26        -868
     11/19/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.66
     11/19/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.74
     11/19/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.6
     11/19/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.32
     11/19/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.64
     11/19/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.21
     11/19/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.16
     11/19/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
     11/19/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL          8.75
     11/19/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
     11/19/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.41
     11/19/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.6
     11/19/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.95
     11/19/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.68
     11/19/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.98
     11/19/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
     11/19/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
     11/19/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD          82.04
     11/19/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te         2.5
     11/19/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 196808 Sub Lease Q13171      352.68
     11/19/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
     11/19/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
     11/19/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.24
     11/19/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.29
     11/19/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       134.41
     11/19/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
     11/19/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
     11/19/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/19/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
     11/19/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.49
     11/19/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.02
     11/19/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.34
     11/19/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.39
     11/19/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
     11/19/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/19/2016   742   EN0016   Owner Operator   Toll Charges                   32947 ILTOLL Touhy Ave.               5.65
     11/19/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
     11/19/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
     11/19/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
     11/19/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.82
     11/19/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       239.77
     11/19/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.31
     11/19/2016   742   EO0014   Owner Operator   IRP License Deduction          LCIL:2016 - 33846                      100
     11/19/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.13
     11/19/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
     11/19/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
     11/19/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
     11/19/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12         8.32

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     11/19/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12         21.2
     11/19/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12        19.76
     11/19/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12        19.76
     11/19/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     11/19/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
     11/19/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
     11/19/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
     11/19/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
     11/19/2016   742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                  12.5
     11/19/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
     11/19/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
     11/19/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.73
     11/19/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.71
     11/19/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.77
     11/19/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.94
     11/19/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.85
     11/19/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.32
     11/19/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.44
     11/19/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.56
     11/19/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       221.84
     11/19/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.41
     11/19/2016   742   KJ0045   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     79.51
     11/19/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
     11/19/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
     11/19/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
     11/19/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
     11/19/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                         54.64
     11/19/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/19/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                        193.42
     11/19/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/19/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/19/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         45.5
     11/19/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.78
     11/19/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.42
     11/19/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     11/19/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     11/19/2016   742   MH0117   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12         527
     11/19/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
     11/19/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     11/19/2016   742   MH0117   Owner Operator   Tire Fee                       Tire Fee: 1969255                        8
     11/19/2016   742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00343346 - PO System        209.28
     11/19/2016   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                  20.17
     11/19/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
     11/19/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
     11/19/2016   742   MT0112   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12        146.3
     11/19/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/19/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/19/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/19/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.71
     11/19/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         250
     11/19/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         250
     11/19/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
     11/19/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
     11/19/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.57
     11/19/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
     11/19/2016   742   MT0112   Owner Operator   Repair Order                   TRACTOR Q1247                       465.01
     11/19/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 196808 Q1247 Sub Lease       311.97
     11/19/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
     11/19/2016   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
     11/19/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     11/19/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     11/19/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       208.49
     11/19/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        85.65
     11/19/2016   742   NG0024   Owner Operator   FUEL TAX                       Sep16 Fuel Taxes                     78.26
     11/19/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
     11/19/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           59.63

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     11/19/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
     11/19/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
     11/19/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/19/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     11/19/2016   742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                    -1000
     11/19/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
     11/19/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     11/19/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
     11/19/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
     11/19/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
     11/19/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.63
     11/19/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.12
     11/19/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.96
     11/19/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.07
     11/19/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
     11/19/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
     11/19/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/19/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
     11/19/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     11/26/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     11/26/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     11/26/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.1
     11/26/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
     11/26/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     11/26/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
     11/26/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
     11/26/2016   709   AR0064   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
     11/26/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.99
     11/26/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.46
     11/26/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.28
     11/26/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.28
     11/26/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
     11/26/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
     11/26/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
     11/26/2016   709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00342612 - PO System        172.89
     11/26/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 197077 Trck Lease            353.28
     11/26/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
     11/26/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
     11/26/2016   709   AV0021   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
     11/26/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/26/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.94
     11/26/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         0.06
     11/26/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.05
     11/26/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
     11/26/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
     11/26/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
     11/26/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 197075 Q13169 Sublease       352.68
     11/26/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
     11/26/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
     11/26/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/26/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.52
     11/26/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.42
     11/26/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
     11/26/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
     11/26/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
     11/26/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 197034 Q13168 sub lease      352.68
     11/26/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/26/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     11/26/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                          300
     11/26/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/26/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/26/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.45
     11/26/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
     11/26/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/26/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     11/26/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
     11/26/2016   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 197076 MDI & EG Heel            125
     11/26/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13

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     11/26/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-19         10.6
     11/26/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.63
     11/26/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.35
     11/26/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.74
     11/26/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
     11/26/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
     11/26/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
     11/26/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
     11/26/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.93
     11/26/2016   709   CS0091   Owner Operator   IRP License Deduction          LCIL:2016 - Q1201                    56.54
     11/26/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.07
     11/26/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 197033 Q1201                 278.76
     11/26/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
     11/26/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
     11/26/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/26/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.42
     11/26/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 34.19
     11/26/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
     11/26/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     11/26/2016   709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-3      -121.45
     11/26/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
     11/26/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         200
     11/26/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                    10.58
     11/26/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
     11/26/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.69
     11/26/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 196989 Sublease              338.99
     11/26/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
     11/26/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/26/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
     11/26/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/26/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/26/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       478.68
     11/26/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.44
     11/26/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
     11/26/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
     11/26/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
     11/26/2016   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-19       567.25
     11/26/2016   709   DS0225   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
     11/26/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       433.76
     11/26/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    39.04
     11/26/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
     11/26/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
     11/26/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.55
     11/26/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.63
     11/26/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
     11/26/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
     11/26/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27
     11/26/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/26/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
     11/26/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
     11/26/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/26/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/26/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.04
     11/26/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.84
     11/26/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
     11/26/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
     11/26/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/26/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
     11/26/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            60
     11/26/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            40
     11/26/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/26/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/26/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
     11/26/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
     11/26/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.97
     11/26/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.78

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     11/26/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       406.37
     11/26/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.91
     11/26/2016   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00342848 - PO System        157.87
     11/26/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
     11/26/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
     11/26/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
     11/26/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/26/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.11
     11/26/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.64
     11/26/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.18
     11/26/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
     11/26/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 11/24 #17105                 350.36
     11/26/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
     11/26/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
     11/26/2016   709   FS0039   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-19           93
     11/26/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/26/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.03
     11/26/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        170.5
     11/26/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.86
     11/26/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 197073 truck lease 3304      434.29
     11/26/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       475.06
     11/26/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
     11/26/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
     11/26/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.98
     11/26/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
     11/26/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 197036 Lease                 252.11
     11/26/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
     11/26/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
     11/26/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/26/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/26/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/26/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.06
     11/26/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        153.1
     11/26/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
     11/26/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     11/26/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
     11/26/2016   709   HG0027   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
     11/26/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.17
     11/26/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
     11/26/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
     11/26/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/26/2016   709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-19       473.65
     11/26/2016   709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
     11/26/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        379.5
     11/26/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        22.95
     11/26/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
     11/26/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/26/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
     11/26/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
     11/26/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
     11/26/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
     11/26/2016   709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                    -3000
     11/26/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
     11/26/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
     11/26/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/26/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/26/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/26/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       419.91
     11/26/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       398.16
     11/26/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
     11/26/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
     11/26/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/26/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
     11/26/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
     11/26/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300

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     11/26/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/26/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.44
     11/26/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.86
     11/26/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
     11/26/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     11/26/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/26/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     11/26/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/26/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
     11/26/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     11/26/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/26/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       449.33
     11/26/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.5
     11/26/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        425.5
     11/26/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
     11/26/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     11/26/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     11/26/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
     11/26/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         250
     11/26/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/26/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/26/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.07
     11/26/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       534.14
     11/26/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
     11/26/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     11/26/2016   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-19           93
     11/26/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/26/2016   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/26/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.75
     11/26/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.16
     11/26/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 11.71
     11/26/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
     11/26/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
     11/26/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.17
     11/26/2016   709   JR0099   Owner Operator   IRP License Deduction          LCIL:2016 - Q1203                    56.54
     11/26/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
     11/26/2016   709   JR0099   Owner Operator   Repair Order                   CTMS - 197035 Inv 007-70623 Cu      255.61
     11/26/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 196995 Truck Lease           278.76
     11/26/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     11/26/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     11/26/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     11/26/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
     11/26/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
     11/26/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/26/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.72
     11/26/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.93
     11/26/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
     11/26/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/26/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
     11/26/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
     11/26/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.82
     11/26/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.65
     11/26/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
     11/26/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     11/26/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
     11/26/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
     11/26/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
     11/26/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.04
     11/26/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
     11/26/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
     11/26/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       505.21
     11/26/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.51
     11/26/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
     11/26/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75

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     11/26/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                      13
     11/26/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                      170.99
     11/26/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     11/26/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                   70.29
     11/26/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL          8.75
     11/26/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                        8
     11/26/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                          50
     11/26/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                      329.28
     11/26/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                      224.08
     11/26/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     11/26/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD          39.04
     11/26/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 197034 Q1113 Lease          252.11
     11/26/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                       8.75
     11/26/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         325
     11/26/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     11/26/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       35.15
     11/26/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
     11/26/2016   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                    8.75
     11/26/2016   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                    8.75
     11/26/2016   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                       13
     11/26/2016   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                       13
     11/26/2016   709   MM0103   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-19          20
     11/26/2016   709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                          50
     11/26/2016   709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                          50
     11/26/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/26/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance                          100
     11/26/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     11/26/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
     11/26/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                      334.61
     11/26/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                      318.62
     11/26/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                      435.01
     11/26/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                      419.06
     11/26/2016   709   MM0103   Owner Operator   IRP License Deduction          LCIL:2016 - 33889                     100
     11/26/2016   709   MM0103   Owner Operator   IRP License Deduction          LCIL:2016 - 33889                     100
     11/26/2016   709   MM0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     11/26/2016   709   MM0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     11/26/2016   709   MM0103   Owner Operator   Permits                        ID06:2016 - 33889                      11
     11/26/2016   709   MM0103   Owner Operator   Permits                        IL02:2016 - 33889                    3.75
     11/26/2016   709   MM0103   Owner Operator   Permits                        NM07:2016 - 33889                     5.5
     11/26/2016   709   MM0103   Owner Operator   Permits                        NY13:2016 - 33889                     1.5
     11/26/2016   709   MM0103   Owner Operator   Permits                        OR16:2016 - 33889                       8
     11/26/2016   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                    28.13
     11/26/2016   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                    28.11
     11/26/2016   709   MM0103   Owner Operator   Tire Purchase                  PO: 709-00342337 - PO System       711.36
     11/26/2016   709   MM0103   Owner Operator   Tire Purchase                  PO: 709-00342337 - PO System       711.36
     11/26/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
     11/26/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
     11/26/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
     11/26/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          140
     11/26/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.4
     11/26/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       56.38
     11/26/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     11/26/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   71.86
     11/26/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
     11/26/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                      323.05
     11/26/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           8.75
     11/26/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
     11/26/2016   709   NB0029   Owner Operator   Driver Excellence Program      Clean Inspection Awards              -100
     11/26/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
     11/26/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.8
     11/26/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     11/26/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD           35.15
     11/26/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
     11/26/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
     11/26/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           60
     11/26/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           40
     11/26/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.4
     11/26/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.6
     11/26/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      101.73
     11/26/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      213.62
     11/26/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         294
     11/26/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
     11/26/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.97

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     11/26/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
     11/26/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
     11/26/2016   709   NR0010   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-19         74.7
     11/26/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                          250
     11/26/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.75
     11/26/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.74
     11/26/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        107.5
     11/26/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.04
     11/26/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 196994 Tractor Sublease      252.11
     11/26/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 197076 NR0010. Tractor       282.95
     11/26/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
     11/26/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
     11/26/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
     11/26/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
     11/26/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
     11/26/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
     11/26/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 197034 Truck 73130 Leas      196.65
     11/26/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
     11/26/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
     11/26/2016   709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-19         27.5
     11/26/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                        40.93
     11/26/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.15
     11/26/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
     11/26/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.04
     11/26/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
     11/26/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 196994 Down Payment lo       303.55
     11/26/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  51.69
     11/26/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/26/2016   709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
     11/26/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
     11/26/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     11/26/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       495.22
     11/26/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.05
     11/26/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
     11/26/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
     11/26/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/26/2016   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                        13
     11/26/2016   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                          100
     11/26/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       447.66
     11/26/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 45.29
     11/26/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  77.2
     11/26/2016   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                       529.05
     11/26/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/26/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
     11/26/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            50
     11/26/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           200
     11/26/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     11/26/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
     11/26/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        417.7
     11/26/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.46
     11/26/2016   709   RL0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       256.59
     11/26/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.13
     11/26/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
     11/26/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.46
     11/26/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
     11/26/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
     11/26/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.35
     11/26/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.05
     11/26/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
     11/26/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
     11/26/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
     11/26/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.08
     11/26/2016   709   RP0082   Owner Operator   IRP License Deduction          LCIL:2016 - Q1202                    56.54
     11/26/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
     11/26/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 196995 Q1202 Truck Leas      278.76

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     11/26/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
     11/26/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
     11/26/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/26/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
     11/26/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     11/26/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        339.21
     11/26/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        388.01
     11/26/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                     10.58
     11/26/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
     11/26/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/26/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.07
     11/26/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
     11/26/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 197033 Q1248                  311.97
     11/26/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
     11/26/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
     11/26/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         49.21
     11/26/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/26/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/26/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.45
     11/26/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.08
     11/26/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        257.06
     11/26/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/26/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
     11/26/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
     11/26/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
     11/26/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
     11/26/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.08
     11/26/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/26/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
     11/26/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     11/26/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
     11/26/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
     11/26/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/26/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
     11/26/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
     11/26/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
     11/26/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
     11/26/2016   709   WB0062   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -100
     11/26/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/26/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
     11/26/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
     11/26/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
     11/26/2016   709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-12         74.24
     11/26/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        363.52
     11/26/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                     10.58
     11/26/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                     34.17
     11/26/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/26/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD               60.47
     11/26/2016   742   AP0047   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -100
     11/26/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
     11/26/2016   742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/26/2016   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/26/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  54.68
     11/26/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     11/26/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
     11/26/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
     11/26/2016   742   BS0078   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-19         692.8
     11/26/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.25
     11/26/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.85
     11/26/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.5
     11/26/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/26/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.54
     11/26/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
     11/26/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL                8.75
     11/26/2016   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                         13
     11/26/2016   742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-19           868
     11/26/2016   742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-3      -1005.42
     11/26/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/26/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.65
     11/26/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.92
     11/26/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/26/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD                35.15
     11/26/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori          2.5

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     11/26/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.85
     11/26/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/26/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/26/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                         13
     11/26/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                         13
     11/26/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/26/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/26/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        388.18
     11/26/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.5
     11/26/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        408.73
     11/26/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.63
     11/26/2016   742   DA0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33847                       100
     11/26/2016   742   DA0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33847                       100
     11/26/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/26/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/26/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.32
     11/26/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.29
     11/26/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     11/26/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     11/26/2016   742   DA0067   Owner Operator   Repair Order                   CTMS - 196967 repair                  121.7
     11/26/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
     11/26/2016   742   ED0041   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-3          -135
     11/26/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          6.33
     11/26/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     11/26/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/26/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/26/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        406.74
     11/26/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        426.77
     11/26/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/26/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
     11/26/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     11/26/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        350.14
     11/26/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL               8.75
     11/26/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                         13
     11/26/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/26/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.19
     11/26/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        255.06
     11/26/2016   742   EO0014   Owner Operator   IRP License Deduction          LCIL:2016 - 33846                       100
     11/26/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/26/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD               78.11
     11/26/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror          2.5
     11/26/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
     11/26/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                        13
     11/26/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-3      -1505.85
     11/26/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-3       -1277.3
     11/26/2016   742   FS0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.74
     11/26/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.68
     11/26/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
     11/26/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                         8.75
     11/26/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                       7.91
     11/26/2016   742   KJ0045   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -100
     11/26/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.31
     11/26/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/26/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                         46.86
     11/26/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
     11/26/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL               8.75
     11/26/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                          8
     11/26/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                            50
     11/26/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
     11/26/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     11/26/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
     11/26/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        117.21
     11/26/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                     10.58
     11/26/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                     34.17
     11/26/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     11/26/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD               72.54
     11/26/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror          2.5
     11/26/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 197034 Q1247 Sub Lease        311.97
     11/26/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL            8.75
     11/26/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
     11/26/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        343.27
     11/26/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.9
     11/26/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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     11/26/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.76
     11/26/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
     11/26/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     11/26/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     11/26/2016   742   PC0012   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
     11/26/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
     11/26/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
     11/26/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     11/26/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.93
     11/26/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.1
     11/26/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.64
     11/26/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.11
     11/26/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
     11/26/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.35
     11/26/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
     11/26/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
     11/26/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     11/26/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     11/26/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        44.82
     11/26/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.05
     11/26/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
     11/26/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
     11/26/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     11/26/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.25
     11/26/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     11/26/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 196787 Tractor Lease         353.28
     11/26/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 196997 Tractor Lease         353.28
      12/3/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      12/3/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      12/3/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            75
      12/3/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.75
      12/3/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       465.03
      12/3/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      12/3/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      12/3/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      12/3/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      12/3/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.45
      12/3/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.48
      12/3/2016   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.82
      12/3/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      12/3/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      12/3/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      12/3/2016   709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00342612 - PO System        172.84
      12/3/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 197224 Trck Lease            353.28
      12/3/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      12/3/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      12/3/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/3/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.48
      12/3/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.04
      12/3/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.89
      12/3/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.16
      12/3/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      12/3/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      12/3/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      12/3/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 197222 Q13169 Sublease       352.68
      12/3/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      12/3/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      12/3/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/3/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.18
      12/3/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       405.32
      12/3/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.23
      12/3/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         28.3
      12/3/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      12/3/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      12/3/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      12/3/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 197176 Q13168 sub lease      352.68
      12/3/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/3/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      12/3/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                          300

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      12/3/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/3/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/3/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/3/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/3/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       485.85
      12/3/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       460.36
      12/3/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      12/3/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      12/3/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      12/3/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      12/3/2016   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 197223 MDI & EG Heel           125
      12/3/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      12/3/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.46
      12/3/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.28
      12/3/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.08
      12/3/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.95
      12/3/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.98
      12/3/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      12/3/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      12/3/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      12/3/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      12/3/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.24
      12/3/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      12/3/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 197175 Q1201                 278.76
      12/3/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      12/3/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
      12/3/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/3/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.27
      12/3/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        71.44
      12/3/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.92
      12/3/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       431.43
      12/3/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.2
      12/3/2016   709   DL0029   Owner Operator   Repair Order                   CTMS - 196981 Repair                  250
      12/3/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      12/3/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      12/3/2016   709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-26       121.45
      12/3/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       442.33
      12/3/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         400
      12/3/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                    10.58
      12/3/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      12/3/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      12/3/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 197149 Sublease              338.99
      12/3/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      12/3/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/3/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      12/3/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          400
      12/3/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
      12/3/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      12/3/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      12/3/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       504.15
      12/3/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.73
      12/3/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      12/3/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      12/3/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      12/3/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       428.92
      12/3/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    39.07
      12/3/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        202.8
      12/3/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.27
      12/3/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.7
      12/3/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/3/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      12/3/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
      12/3/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/3/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/3/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/3/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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      12/3/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       416.28
      12/3/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.72
      12/3/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      12/3/2016   709   EA0003   Owner Operator   Tire Fee                       Tire Fee: 1970673                        8
      12/3/2016   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00342336 - PO System        229.29
      12/3/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      12/3/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/3/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      12/3/2016   709   EE0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-10      -20.97
      12/3/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/3/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/3/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       424.19
      12/3/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.3
      12/3/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       401.79
      12/3/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      12/3/2016   709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00342848 - PO System        157.82
      12/3/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      12/3/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      12/3/2016   709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33828         9.84
      12/3/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
      12/3/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/3/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.06
      12/3/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        142.8
      12/3/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.28
      12/3/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
      12/3/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      12/3/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 12/1 #17105                  350.36
      12/3/2016   709   EP0017   Owner Operator   *Arrears Collection W/O        ARREARS WRITE-OFF                     -452
      12/3/2016   709   EP0017   Owner Operator   Communication Charge           PNet Hware 33858                         8
      12/3/2016   709   EP0017   Owner Operator   Communication Charge           PNet Hware 33858                         8
      12/3/2016   709   EP0017   Owner Operator   Communication Charge           PNet Hware 33858                         8
      12/3/2016   709   EP0017   Owner Operator   Communication Charge           PNet Hware 33858                         8
      12/3/2016   709   EP0017   Owner Operator   Communication Charge           PNet Hware 33858                         8
      12/3/2016   709   EP0017   Owner Operator   Communication Charge           PNet Hware 33858                         8
      12/3/2016   709   EP0017   Owner Operator   Communication Charge           PNet Hware 33858                         8
      12/3/2016   709   EP0017   Owner Operator   Communication Charge           PNet Hware 33858                         8
      12/3/2016   709   EP0017   Owner Operator   Communication Charge           PNet Hware 33858                         8
      12/3/2016   709   EP0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   EP0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   EP0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   EP0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   EP0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   EP0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   EP0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   EP0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      12/3/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      12/3/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/3/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.56
      12/3/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        161.3
      12/3/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.67
      12/3/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.25
      12/3/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      12/3/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 197220 truck lease 3304      434.29
      12/3/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      12/3/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                         60.16
      12/3/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           300
      12/3/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            90
      12/3/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.9
      12/3/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      12/3/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.87
      12/3/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.63
      12/3/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.22
      12/3/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      12/3/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      12/3/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      12/3/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      12/3/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.51

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      12/3/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      12/3/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      12/3/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      12/3/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      12/3/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/3/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/3/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         30.78
      12/3/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.6
      12/3/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
      12/3/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.01
      12/3/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
      12/3/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
      12/3/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.93
      12/3/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
      12/3/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 197178 Lease                  252.11
      12/3/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      12/3/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      12/3/2016   709   HG0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-10      -130.21
      12/3/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/3/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/3/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/3/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        487.21
      12/3/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        409.05
      12/3/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
      12/3/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      12/3/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      12/3/2016   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-10        -18.9
      12/3/2016   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          100
      12/3/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/3/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/3/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/3/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/3/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        139.25
      12/3/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        203.68
      12/3/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        193.71
      12/3/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.97
      12/3/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      12/3/2016   709   HG0027   Owner Operator   T Chek Fee                     ExpressCheck Fee                      12.79
      12/3/2016   709   HG0027   Owner Operator   T Chek Fee                     Tractor Repair 33418                1279.03
      12/3/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
      12/3/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/3/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                          21.07
      12/3/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.21
      12/3/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        398.39
      12/3/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
      12/3/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      12/3/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
      12/3/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
      12/3/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
      12/3/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
      12/3/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      12/3/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/3/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
      12/3/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      12/3/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/3/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.1
      12/3/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.24
      12/3/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.28
      12/3/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        481.18
      12/3/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.13
      12/3/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      12/3/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      12/3/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      12/3/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.5
      12/3/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.8
      12/3/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        424.45

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      12/3/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/3/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      12/3/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/3/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/3/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/3/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      12/3/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        433.28
      12/3/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        403.47
      12/3/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        421.43
      12/3/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      12/3/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      12/3/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      12/3/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      12/3/2016   709   JG0092   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-10       -77.65
      12/3/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/3/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        362.52
      12/3/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      61.7
      12/3/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      12/3/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      12/3/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      12/3/2016   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-10      -863.94
      12/3/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      12/3/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                    7.8
      12/3/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      12/3/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      12/3/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        347.53
      12/3/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      12/3/2016   709   JR0099   Owner Operator   Repair Order                   CTMS - 197176 Inv 007-70623 Cu       255.61
      12/3/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 197154 Truck Lease            278.76
      12/3/2016   709   JS0265   Owner Operator   ESCROW                         Escrow Withdrawal                     -5000
      12/3/2016   709   JS0265   Owner Operator   Express Check                  T-Check Payment                        5000
      12/3/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/3/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      12/3/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/3/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/3/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/3/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/3/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/3/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.69
      12/3/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           328
      12/3/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         70.39
      12/3/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        205.66
      12/3/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        389.85
      12/3/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.7
      12/3/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      12/3/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      12/3/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      12/3/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      12/3/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      12/3/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      12/3/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 197118 Lease Q1111            252.11
      12/3/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 197270 Lease Q1111            252.11
      12/3/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      12/3/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      12/3/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.54
      12/3/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
      12/3/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      12/3/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      12/3/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      12/3/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
      12/3/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
      12/3/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/3/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.71
      12/3/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        108.73
      12/3/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        224.57

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      12/3/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.17
      12/3/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
      12/3/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 197176 Q1113 Lease           252.11
      12/3/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      12/3/2016   709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance                           150
      12/3/2016   709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      12/3/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.45
      12/3/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.02
      12/3/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          155
      12/3/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      12/3/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      12/3/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      12/3/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      12/3/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      12/3/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      12/3/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/3/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/3/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/3/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/3/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.22
      12/3/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.15
      12/3/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.67
      12/3/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       260.53
      12/3/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       260.53
      12/3/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.11
      12/3/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      12/3/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      12/3/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      12/3/2016   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                     8.75
      12/3/2016   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                        13
      12/3/2016   709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/3/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/3/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/3/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/3/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/3/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.73
      12/3/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.75
      12/3/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.43
      12/3/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.96
      12/3/2016   709   MM0103   Owner Operator   IRP License Deduction          LCIL:2016 - 33889                      100
      12/3/2016   709   MM0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                     28.13
      12/3/2016   709   MM0103   Owner Operator   Tire Purchase                  PO: 709-00342337 - PO System        711.29
      12/3/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      12/3/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      12/3/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      12/3/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            60
      12/3/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
      12/3/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       408.85
      12/3/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.26
      12/3/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      12/3/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      12/3/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      12/3/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      12/3/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      12/3/2016   709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-10        -186
      12/3/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      12/3/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       383.08
      12/3/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.53
      12/3/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.96
      12/3/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.56
      12/3/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      12/3/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 197124 Lease                 215.66
      12/3/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 197276 Lease                 215.66
      12/3/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      12/3/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      12/3/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200

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      12/3/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/3/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        85.38
      12/3/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.01
      12/3/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      12/3/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
      12/3/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
      12/3/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                          250
      12/3/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/3/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/3/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.59
      12/3/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.34
      12/3/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.49
      12/3/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
      12/3/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 197153 Tractor Sublease      252.11
      12/3/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      12/3/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
      12/3/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/3/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
      12/3/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
      12/3/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      12/3/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 197176 Truck 73130 Leas      196.65
      12/3/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      12/3/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      12/3/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      12/3/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      12/3/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      12/3/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      12/3/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 197153 Down Payment lo       303.55
      12/3/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      12/3/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/3/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      12/3/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      12/3/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.07
      12/3/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        186.8
      12/3/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      12/3/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      12/3/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      12/3/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/3/2016   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                        13
      12/3/2016   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-10        -165
      12/3/2016   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                          100
      12/3/2016   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                            50
      12/3/2016   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      12/3/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.72
      12/3/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.41
      12/3/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 45.32
      12/3/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 77.22
      12/3/2016   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                       529.05
      12/3/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/3/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      12/3/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.15
      12/3/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      12/3/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      12/3/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      12/3/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      12/3/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      12/3/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.03
      12/3/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.87
      12/3/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       276.24
      12/3/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      12/3/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      12/3/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      12/3/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       330.43
      12/3/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.01
      12/3/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      12/3/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      12/3/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 197154 Q1202 Truck Leas       278.76
      12/3/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
      12/3/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
      12/3/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/3/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/3/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/3/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.91
      12/3/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        376.82
      12/3/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.25
      12/3/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                     10.58
      12/3/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
      12/3/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
      12/3/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
      12/3/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 197174 Q1248                  311.97
      12/3/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      12/3/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
      12/3/2016   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-10      -600.49
      12/3/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/3/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                        150.79
      12/3/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        258.84
      12/3/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        271.82
      12/3/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.54
      12/3/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         96.32
      12/3/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
      12/3/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
      12/3/2016   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                   56.95
      12/3/2016   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                   56.95
      12/3/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      12/3/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      12/3/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
      12/3/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
      12/3/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.7
      12/3/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.3
      12/3/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.58
      12/3/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        129.53
      12/3/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
      12/3/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
      12/3/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
      12/3/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      12/3/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      12/3/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        100.02
      12/3/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        344.37
      12/3/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
      12/3/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 197141 Tractor Sub leas       242.03
      12/3/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 197345 Tractor Sub leas       242.03
      12/3/2016   709   VJ0006   Owner Operator   Accident Claim                 11/17/16 VJ0006 Accident               2000
      12/3/2016   709   VJ0006   Owner Operator   Accident Claim                 claim 62566 s/u 8 payments            -2000
      12/3/2016   709   VJ0006   Owner Operator   Accident Claim                 Claim 62566 s/u pmts                    250
      12/3/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      12/3/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
      12/3/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/3/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             80
      12/3/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            120
      12/3/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/3/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/3/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.2
      12/3/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.8
      12/3/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        137.32
      12/3/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        219.04
      12/3/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        233.09
      12/3/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        446.99
      12/3/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        218.46
      12/3/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
      12/3/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
      12/3/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      12/3/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13

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      12/3/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
      12/3/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      12/3/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
      12/3/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
      12/3/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
      12/3/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
      12/3/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
      12/3/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/3/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/3/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/3/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             40
      12/3/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             50
      12/3/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
      12/3/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.4
      12/3/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         28.12
      12/3/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        175.71
      12/3/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        221.98
      12/3/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        129.36
      12/3/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.77
      12/3/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.08
      12/3/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                     10.58
      12/3/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                     10.58
      12/3/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                     34.17
      12/3/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                     34.17
      12/3/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD               60.47
      12/3/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD               60.47
      12/3/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 196806 Q1238 Lease            311.97
      12/3/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 197033 Q1238 Lease            311.97
      12/3/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 197175 Q1238 Lease            311.97
      12/3/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
      12/3/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
      12/3/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
      12/3/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
      12/3/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/3/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/3/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/3/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/3/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/3/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/3/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         54.15
      12/3/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        420.15
      12/3/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.05
      12/3/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.33
      12/3/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 52.35
      12/3/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 52.33
      12/3/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
      12/3/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
      12/3/2016   742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/3/2016   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/3/2016   742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  54.69
      12/3/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      12/3/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      12/3/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
      12/3/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        221.34
      12/3/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        262.78
      12/3/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        412.18
      12/3/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.55
      12/3/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
      12/3/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL                8.75
      12/3/2016   742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33832          9.84
      12/3/2016   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                         13
      12/3/2016   742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-26       1005.42
      12/3/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/3/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.2
      12/3/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.26
      12/3/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        397.58

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      12/3/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.48
      12/3/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.16
      12/3/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      12/3/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL          8.75
      12/3/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL          8.75
      12/3/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
      12/3/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
      12/3/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/3/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/3/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.98
      12/3/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         76.6
      12/3/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.93
      12/3/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       282.17
      12/3/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.72
      12/3/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
      12/3/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
      12/3/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
      12/3/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
      12/3/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD          82.04
      12/3/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD          82.01
      12/3/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te         2.5
      12/3/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te         2.5
      12/3/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 197034 Sub Lease Q13171      352.68
      12/3/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 197176 Sub Lease Q13171      352.68
      12/3/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/3/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
      12/3/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/3/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.72
      12/3/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.75
      12/3/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.67
      12/3/2016   742   DA0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33847                     100
      12/3/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.32
      12/3/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      12/3/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      12/3/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      12/3/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      12/3/2016   742   ED0041   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-26         135
      12/3/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.14
      12/3/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.9
      12/3/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       116.46
      12/3/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.63
      12/3/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.48
      12/3/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        41.17
      12/3/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      12/3/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
      12/3/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      12/3/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      12/3/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/3/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      12/3/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      12/3/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.94
      12/3/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.03
      12/3/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.84
      12/3/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.97
      12/3/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      12/3/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      12/3/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      12/3/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        69.26
      12/3/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
      12/3/2016   742   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33846         9.84
      12/3/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
      12/3/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/3/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.48
      12/3/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.18
      12/3/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.74
      12/3/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.71
      12/3/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.53

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      12/3/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        107.28
      12/3/2016   742   EO0014   Owner Operator   IRP License Deduction          LCIL:2016 - 33846                      100
      12/3/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD               78.13
      12/3/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror          2.5
      12/3/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
      12/3/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                        13
      12/3/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-26       1505.85
      12/3/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-26        1277.3
      12/3/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.69
      12/3/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
      12/3/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                         8.75
      12/3/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                         13
      12/3/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                       5.09
      12/3/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/3/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/3/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.96
      12/3/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.2
      12/3/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.73
      12/3/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                         46.88
      12/3/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                 2.5
      12/3/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      12/3/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      12/3/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                         13
      12/3/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                         13
      12/3/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                            75
      12/3/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                            75
      12/3/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      12/3/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      12/3/2016   742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00343346 - PO System         209.28
      12/3/2016   742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00343346 - PO System         209.28
      12/3/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL               8.75
      12/3/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                          8
      12/3/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/3/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/3/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/3/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          250
      12/3/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          200
      12/3/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                     10.58
      12/3/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                     34.17
      12/3/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD               72.57
      12/3/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror          2.5
      12/3/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 197176 Q1247 Sub Lease        311.97
      12/3/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL            8.75
      12/3/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
      12/3/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           300
      12/3/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      12/3/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.7
      12/3/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        442.42
      12/3/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        234.73
      12/3/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        346.36
      12/3/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.2
      12/3/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/3/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           100.79
      12/3/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter          2.5
      12/3/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/3/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      12/3/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      12/3/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/3/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/3/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.72
      12/3/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.17
      12/3/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        183.21
      12/3/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      12/3/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.38
      12/3/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
      12/3/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
      12/3/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
      12/3/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        234.79

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      12/3/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       427.89
      12/3/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.98
      12/3/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.67
      12/3/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
      12/3/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      12/3/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/3/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      12/3/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      12/3/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 197156 Tractor Lease         353.28
      12/3/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          300
      12/3/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      12/3/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.07
      12/3/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        39.13
     12/10/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     12/10/2016   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
     12/10/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     12/10/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                          140
     12/10/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4
     12/10/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
     12/10/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     12/10/2016   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
     12/10/2016   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
     12/10/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
     12/10/2016   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
     12/10/2016   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
     12/10/2016   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
     12/10/2016   709   AR0064   Owner Operator   Truck Payment                  CTMS - 197503 Trck Lease            353.28
     12/10/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
     12/10/2016   709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                 12.5
     12/10/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
     12/10/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/10/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            50
     12/10/2016   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
     12/10/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       125.01
     12/10/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.23
     12/10/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       108.77
     12/10/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.02
     12/10/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.07
     12/10/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       128.48
     12/10/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
     12/10/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
     12/10/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
     12/10/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 197501 Q13169 Sublease       352.68
     12/10/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
     12/10/2016   709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                 12.5
     12/10/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
     12/10/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/10/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       409.41
     12/10/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.15
     12/10/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       305.53
     12/10/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
     12/10/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
     12/10/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
     12/10/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 197444 Q13168 sub lease      352.68
     12/10/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/10/2016   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
     12/10/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     12/10/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
     12/10/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/10/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/10/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       409.78
     12/10/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       416.89
     12/10/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
     12/10/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/10/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     12/10/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
     12/10/2016   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
     12/10/2016   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 197502 MDI & EG Heel           125

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     12/10/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
     12/10/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.1
     12/10/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.78
     12/10/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.44
     12/10/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
     12/10/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
     12/10/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
     12/10/2016   709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                   12.5
     12/10/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
     12/10/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.89
     12/10/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
     12/10/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 197443 Q1201                  278.76
     12/10/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
     12/10/2016   709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                   12.5
     12/10/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                          8
     12/10/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/10/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        325.83
     12/10/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.8
     12/10/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.86
     12/10/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        113.48
     12/10/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.2
     12/10/2016   709   DL0029   Owner Operator   Repair Order                   CTMS - 197376 New                      250
     12/10/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
     12/10/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          400
     12/10/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         37.18
     12/10/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                     10.58
     12/10/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                     34.17
     12/10/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
     12/10/2016   709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                      28.85
     12/10/2016   709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                1909.78
     12/10/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
     12/10/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/10/2016   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                   12.5
     12/10/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
     12/10/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
     12/10/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     12/10/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        570.39
     12/10/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.28
     12/10/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
     12/10/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
     12/10/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
     12/10/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        437.26
     12/10/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        401.71
     12/10/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.07
     12/10/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
     12/10/2016   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
     12/10/2016   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                   12.5
     12/10/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
     12/10/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
     12/10/2016   709   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-17        -34.2
     12/10/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         30.72
     12/10/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.84
     12/10/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.4
     12/10/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        131.46
     12/10/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.29
     12/10/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.21
     12/10/2016   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        203.81
     12/10/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
     12/10/2016   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
     12/10/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
     12/10/2016   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
     12/10/2016   709   DW0138   Owner Operator   Toll Charges                   TReO 2240184865 092316 - 33443         25.8
     12/10/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
     12/10/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
     12/10/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/10/2016   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                   12.5
     12/10/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13

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     12/10/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
     12/10/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/10/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/10/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/10/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/10/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.52
     12/10/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.99
     12/10/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
     12/10/2016   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00342336 - PO System        229.29
     12/10/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
     12/10/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/10/2016   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                  12.5
     12/10/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
     12/10/2016   709   EE0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-3         20.97
     12/10/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/10/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/10/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/10/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/10/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.74
     12/10/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.53
     12/10/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       490.87
     12/10/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
     12/10/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
     12/10/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
     12/10/2016   709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                  12.5
     12/10/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
     12/10/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/10/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       473.36
     12/10/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.42
     12/10/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
     12/10/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
     12/10/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 12/8 #17105                  350.36
     12/10/2016   709   EH0020   Owner Operator   Permits1                       ID06:2016 - 33065                      -11
     12/10/2016   709   EH0020   Owner Operator   Permits1                       IL02:2016 - 33065                    -3.75
     12/10/2016   709   EH0020   Owner Operator   Permits1                       NM07:2016 - 33065                     -5.5
     12/10/2016   709   EH0020   Owner Operator   Permits1                       NY13:2016 - 33065                     -1.5
     12/10/2016   709   EH0020   Owner Operator   Permits1                       OR16:2016 - 33065                       -8
     12/10/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
     12/10/2016   709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                  12.5
     12/10/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
     12/10/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/10/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        309.5
     12/10/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.77
     12/10/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
     12/10/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 197499 truck lease 3304      434.29
     12/10/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
     12/10/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
     12/10/2016   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
     12/10/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
     12/10/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
     12/10/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
     12/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            40
     12/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
     12/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            60
     12/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          230
     12/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                         14.84
     12/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.75
     12/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.3
     12/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
     12/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
     12/10/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
     12/10/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.49
     12/10/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       174.76
     12/10/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
     12/10/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
     12/10/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
     12/10/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52

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     12/10/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 197036 73129                 181.08
     12/10/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 197177 73129                 181.08
     12/10/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 197446 73129                 181.08
     12/10/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     12/10/2016   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
     12/10/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
     12/10/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.82
     12/10/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
     12/10/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
     12/10/2016   709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                  12.5
     12/10/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
     12/10/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.93
     12/10/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
     12/10/2016   709   GS0015   Owner Operator   Repair Order                   CTMS - 197377 Glass Replacemen        185
     12/10/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 197446 Lease                 252.11
     12/10/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
     12/10/2016   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                  12.5
     12/10/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
     12/10/2016   709   HG0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-3        130.21
     12/10/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/10/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.86
     12/10/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.48
     12/10/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.32
     12/10/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
     12/10/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
     12/10/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/10/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         22.36
     12/10/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.22
     12/10/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.89
     12/10/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       130.41
     12/10/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.88
     12/10/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
     12/10/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/10/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
     12/10/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
     12/10/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
     12/10/2016   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                  12.5
     12/10/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
     12/10/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
     12/10/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/10/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          300
     12/10/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     12/10/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/10/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       416.86
     12/10/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       353.92
     12/10/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.76
     12/10/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       439.62
     12/10/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
     12/10/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
     12/10/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/10/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/10/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
     12/10/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                        21.44
     12/10/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
     12/10/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     12/10/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         298
     12/10/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
     12/10/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
     12/10/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     12/10/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        80.15
     12/10/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/10/2016   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
     12/10/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     12/10/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/10/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
     12/10/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3

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     12/10/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/10/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        417.97
     12/10/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        466.11
     12/10/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        463.83
     12/10/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
     12/10/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
     12/10/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
     12/10/2016   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                   12.5
     12/10/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
     12/10/2016   709   JG0092   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-3          77.65
     12/10/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                          250
     12/10/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/10/2016   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/10/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.41
     12/10/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.45
     12/10/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.9
     12/10/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      61.7
     12/10/2016   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-3         559.65
     12/10/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
     12/10/2016   709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                   12.5
     12/10/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
     12/10/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        358.58
     12/10/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
     12/10/2016   709   JR0099   Owner Operator   Repair Order                   CTMS - 197445 Inv 007-70623 Cu       255.61
     12/10/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 197400 Truck Lease            278.76
     12/10/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
     12/10/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
     12/10/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
     12/10/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
     12/10/2016   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                   12.5
     12/10/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
     12/10/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
     12/10/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
     12/10/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
     12/10/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/10/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/10/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.29
     12/10/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        418.93
     12/10/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
     12/10/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
     12/10/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
     12/10/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
     12/10/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/10/2016   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
     12/10/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
     12/10/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
     12/10/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/10/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/10/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          284
     12/10/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.5
     12/10/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        126.25
     12/10/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        248.92
     12/10/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        172.95
     12/10/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.02
     12/10/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
     12/10/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     12/10/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
     12/10/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
     12/10/2016   709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                   12.5
     12/10/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
     12/10/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-17      -333.33
     12/10/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
     12/10/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 197549 Lease Q1111            252.11
     12/10/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
     12/10/2016   709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                   12.5
     12/10/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13

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     12/10/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/10/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/10/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.49
     12/10/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       636.69
     12/10/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
     12/10/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
     12/10/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
     12/10/2016   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                 12.5
     12/10/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
     12/10/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.28
     12/10/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
     12/10/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
     12/10/2016   709   ME0053   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                  12.5
     12/10/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                         8
     12/10/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/10/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.59
     12/10/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.63
     12/10/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
     12/10/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 197444 Q1113 Lease           252.11
     12/10/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     12/10/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        320.6
     12/10/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.08
     12/10/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.02
     12/10/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
     12/10/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     12/10/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     12/10/2016   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                  12.5
     12/10/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
     12/10/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/10/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/10/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.44
     12/10/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       286.17
     12/10/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.49
     12/10/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       260.53
     12/10/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
     12/10/2016   709   MM0093   Owner Operator   Repair Order                   CTMS - 197376 Repair                140.04
     12/10/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
     12/10/2016   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                     8.75
     12/10/2016   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                        13
     12/10/2016   709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/10/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/10/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/10/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.57
     12/10/2016   709   MM0103   Owner Operator   IRP License Deduction          LCIL:2016 - 33889                      100
     12/10/2016   709   MM0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                     28.13
     12/10/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     12/10/2016   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                  12.5
     12/10/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
     12/10/2016   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                    -2500
     12/10/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
     12/10/2016   709   MP0035   Owner Operator   Express Check                  T-Check Payment                       2500
     12/10/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
     12/10/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
     12/10/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
     12/10/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
     12/10/2016   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                  12.5
     12/10/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
     12/10/2016   709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-3           186
     12/10/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                       419.97
     12/10/2016   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/10/2016   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                           300
     12/10/2016   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     12/10/2016   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/10/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.49
     12/10/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.48
     12/10/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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     12/10/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
     12/10/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 197554 Lease                 215.66
     12/10/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
     12/10/2016   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                 12.5
     12/10/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
     12/10/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          300
     12/10/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     12/10/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.58
     12/10/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.61
     12/10/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         290
     12/10/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.21
     12/10/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
     12/10/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
     12/10/2016   709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                  12.5
     12/10/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
     12/10/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                         250
     12/10/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/10/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/10/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/10/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/10/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                        47.54
     12/10/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.65
     12/10/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.12
     12/10/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.99
     12/10/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
     12/10/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 197399 Tractor Sublease      252.11
     12/10/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
     12/10/2016   709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                  12.5
     12/10/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
     12/10/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/10/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
     12/10/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
     12/10/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
     12/10/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 197444 Truck 73130 Leas      196.65
     12/10/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
     12/10/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
     12/10/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
     12/10/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
     12/10/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
     12/10/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
     12/10/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 197399 Down Payment lo       303.55
     12/10/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
     12/10/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/10/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
     12/10/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     12/10/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.25
     12/10/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.25
     12/10/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.22
     12/10/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
     12/10/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
     12/10/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
     12/10/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/10/2016   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                 12.5
     12/10/2016   709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                  12.5
     12/10/2016   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                        13
     12/10/2016   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-3          165
     12/10/2016   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                         100
     12/10/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       447.24
     12/10/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   709   RL0017   Owner Operator   Permits1                       ID06:2016 - 33065                       11
     12/10/2016   709   RL0017   Owner Operator   Permits1                       IL02:2016 - 33065                     3.75
     12/10/2016   709   RL0017   Owner Operator   Permits1                       NM07:2016 - 33065                      5.5
     12/10/2016   709   RL0017   Owner Operator   Permits1                       NY13:2016 - 33065                      1.5
     12/10/2016   709   RL0017   Owner Operator   Permits1                       OR16:2016 - 33065                        8
     12/10/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 45.32
     12/10/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 77.22
     12/10/2016   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                       529.05
     12/10/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75

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     12/10/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
     12/10/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/10/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             50
     12/10/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
     12/10/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/10/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.78
     12/10/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        443.26
     12/10/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        419.14
     12/10/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
     12/10/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
     12/10/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
     12/10/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
     12/10/2016   709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                   12.5
     12/10/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
     12/10/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.46
     12/10/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.59
     12/10/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.6
     12/10/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
     12/10/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
     12/10/2016   709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                   12.5
     12/10/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
     12/10/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        342.42
     12/10/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
     12/10/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 197400 Q1202 Truck Leas       278.76
     12/10/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
     12/10/2016   709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                   12.5
     12/10/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
     12/10/2016   709   RR0123   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-17      -143.01
     12/10/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/10/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/10/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/10/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/10/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/10/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.77
     12/10/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        322.53
     12/10/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        438.01
     12/10/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        342.63
     12/10/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                     10.58
     12/10/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
     12/10/2016   709   RR0123   Owner Operator   Loan Repayment                 Exp ck 150789 s/u loan             -2606.45
     12/10/2016   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        263.96
     12/10/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
     12/10/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
     12/10/2016   709   RR0123   Owner Operator   T Chek Fee                     ExpressCheck Fee                      25.81
     12/10/2016   709   RR0123   Owner Operator   T Chek Fee                     Tractor Repair Q1248                2580.64
     12/10/2016   709   RR0123   Owner Operator   Tire Fee                       Tire Fee: 1972472                         8
     12/10/2016   709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00343799 - PO System           205
     12/10/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 197443 Q1248                  311.97
     12/10/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
     12/10/2016   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                   12.5
     12/10/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
     12/10/2016   709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-3         600.49
     12/10/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
     12/10/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/10/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/10/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        320.46
     12/10/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        164.85
     12/10/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        140.99
     12/10/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
     12/10/2016   709   SB0009   Owner Operator   Tire Fee                       Tire Fee: 1972483                         8
     12/10/2016   709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00344066 - PO System         160.34
     12/10/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
     12/10/2016   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                   56.95
     12/10/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     12/10/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
     12/10/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.8
     12/10/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.53
     12/10/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         14.82

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     12/10/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        273.44
     12/10/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
     12/10/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
     12/10/2016   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                   12.5
     12/10/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
     12/10/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          350
     12/10/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        262.03
     12/10/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
     12/10/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 197602 Tractor Sub leas       242.03
     12/10/2016   709   VJ0006   Owner Operator   Accident Claim                 Claim 62566 s/u pmts                   250
     12/10/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     12/10/2016   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                   12.5
     12/10/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
     12/10/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
     12/10/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           140
     12/10/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             60
     12/10/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.6
     12/10/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.4
     12/10/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        219.06
     12/10/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.16
     12/10/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        289.95
     12/10/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
     12/10/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                         375.9
     12/10/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
     12/10/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
     12/10/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
     12/10/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
     12/10/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
     12/10/2016   709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                   12.5
     12/10/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
     12/10/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/10/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             50
     12/10/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             50
     12/10/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
     12/10/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
     12/10/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.4
     12/10/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.2
     12/10/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.96
     12/10/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        224.54
     12/10/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                     10.58
     12/10/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                     34.17
     12/10/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD               60.47
     12/10/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 197443 Q1238 Lease            311.97
     12/10/2016   742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/10/2016   742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                          8
     12/10/2016   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/10/2016   742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  54.69
     12/10/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     12/10/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
     12/10/2016   742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                   12.5
     12/10/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
     12/10/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.07
     12/10/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.56
     12/10/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        365.88
     12/10/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        356.55
     12/10/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.55
     12/10/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
     12/10/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL                8.75
     12/10/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL                 -35
     12/10/2016   742   CA0089   Owner Operator   Broker Pre Pass                33832 PrePass Device                   12.5
     12/10/2016   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                         13
     12/10/2016   742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-17      -219.87
     12/10/2016   742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-17       -26.04
     12/10/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/10/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.44
     12/10/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        218.12

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     12/10/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        312.82
     12/10/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         54.99
     12/10/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        361.83
     12/10/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD                35.16
     12/10/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD              -140.63
     12/10/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori          -10
     12/10/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori          2.5
     12/10/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
     12/10/2016   742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                  12.5
     12/10/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                         8
     12/10/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/10/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        322.74
     12/10/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.63
     12/10/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.04
     12/10/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.04
     12/10/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                    10.58
     12/10/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                    34.17
     12/10/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           82.04
     12/10/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te          2.5
     12/10/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                      8.75
     12/10/2016   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                   12.5
     12/10/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                         13
     12/10/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.09
     12/10/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        237.42
     12/10/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        346.38
     12/10/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                      65.36
     12/10/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism              2.5
     12/10/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/10/2016   742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                   12.5
     12/10/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                         13
     12/10/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/10/2016   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/10/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.44
     12/10/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.04
     12/10/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.7
     12/10/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        344.66
     12/10/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        326.07
     12/10/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
     12/10/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     12/10/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
     12/10/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL               8.75
     12/10/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                         13
     12/10/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/10/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        146.98
     12/10/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.64
     12/10/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.55
     12/10/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        190.36
     12/10/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        189.32
     12/10/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        163.43
     12/10/2016   742   EO0014   Owner Operator   IRP License Deduction          LCIL:2016 - 33846                      100
     12/10/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/10/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD               78.13
     12/10/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror          2.5
     12/10/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
     12/10/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                        13
     12/10/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-17         -5.2
     12/10/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.69
     12/10/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
     12/10/2016   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL            8.75
     12/10/2016   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL            8.75
     12/10/2016   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          350
     12/10/2016   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD            35.16
     12/10/2016   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD            35.16
     12/10/2016   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter          2.5
     12/10/2016   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter          2.5
     12/10/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                         8.75
     12/10/2016   742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                   12.5
     12/10/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                         13
     12/10/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                            50

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     12/10/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.49
     12/10/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        219.1
     12/10/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.62
     12/10/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.94
     12/10/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.33
     12/10/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
     12/10/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
     12/10/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/10/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/10/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/10/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/10/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/10/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.89
     12/10/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     12/10/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     12/10/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     12/10/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       492.43
     12/10/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       148.63
     12/10/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
     12/10/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     12/10/2016   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
     12/10/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     12/10/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
     12/10/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     12/10/2016   742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00343346 - PO System        209.28
     12/10/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
     12/10/2016   742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                  12.5
     12/10/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
     12/10/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/10/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/10/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/10/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.14
     12/10/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.05
     12/10/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
     12/10/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
     12/10/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.57
     12/10/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
     12/10/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
     12/10/2016   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
     12/10/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     12/10/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/10/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/10/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.63
     12/10/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.52
     12/10/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        268.9
     12/10/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.36
     12/10/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
     12/10/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
     12/10/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/10/2016   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
     12/10/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     12/10/2016   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
     12/10/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/10/2016   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/10/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.73
     12/10/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.03
     12/10/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.32
     12/10/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        215.2
     12/10/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
     12/10/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
     12/10/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
     12/10/2016   742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-17      -11.31
     12/10/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.27
     12/10/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.8
     12/10/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.02
     12/10/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75

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     12/10/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/10/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/10/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          47.5
     12/10/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/10/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/10/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/10/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/10/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.69
     12/10/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       285.54
     12/10/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.32
     12/10/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.83
     12/10/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.53
     12/10/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/10/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
     12/10/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
     12/10/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
     12/10/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     12/10/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     12/10/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 BCBC Burlington Bristol           18
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                4
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRBA Delaware Memorial B          25
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRPA Ben Franklin Br            37.5
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRPA Betsy Ross Br              37.5
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRPA Walt Whitman Br            37.5
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRPA Walt Whitman Br            37.5
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL 163rd St.                 4.5
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL 163rd St.                   6
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL 163rd St.                   6
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL I-57/147th St (Il           6
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL I-57/147th St (Il           6
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL I-57/147th St (Il         4.5
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL Route 80 (West)           4.5
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ITRCC Eastpoint                36.93
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ITRCC Eastpoint                36.93
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ITRCC Eastpoint                23.08
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ITRCC Portage                  36.93
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ITRCC South Bend West          13.86
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA Baltimore Harbor Tu          24
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA Fort McHenry Tunnel          24
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA Fort McHenry Tunnel          24
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA Fort McHenry Tunnel          24
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA Kennedy Memorial Hi          48
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA Kennedy Memorial Hi          48
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA Kennedy Memorial Hi          48
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA Kennedy Memorial Hi          48
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA Kennedy Memorial Hi          48
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 NJTP Bordentown/Trenton           10
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 NJTP Carteret/Rahway              28
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 OTC Eastgate                   26.75
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 OTC Eastgate                      38
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 OTC Eastgate                      38
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 OTC Stony Ridge-Toledo         11.25
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 OTC Westgate                      38
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PTC Bedford                    21.12
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PTC Blue Mountain              12.29
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PTC Breezewood                 67.58
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PTC Breezewood                 96.74
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PTC Breezewood                 67.58
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PTC Breezewood                 67.58
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PTC Carlisle                   44.53
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PTC Gateway Barrier            18.42
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PTC Gateway Barrier            18.42
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PTC Gateway Barrier            18.42
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PTC New Stanton                17.27
     12/10/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PTC Warrendale                 67.58

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     12/10/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     12/10/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     12/10/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       596.27
     12/17/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     12/17/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     12/17/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            60
     12/17/2016   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
     12/17/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.19
     12/17/2016   709   AN0007   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes               57.5
     12/17/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
     12/17/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     12/17/2016   709   AR0064   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              22.88
     12/17/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
     12/17/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
     12/17/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.08
     12/17/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.06
     12/17/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       153.34
     12/17/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.39
     12/17/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        99.09
     12/17/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.01
     12/17/2016   709   AV0021   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              41.93
     12/17/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
     12/17/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
     12/17/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   AV0021   Owner Operator   Permits                        ID06:2017 - Q13169                      11
     12/17/2016   709   AV0021   Owner Operator   Permits                        IL02:2017 - Q13169                    3.75
     12/17/2016   709   AV0021   Owner Operator   Permits                        NM07:2017 - Q13169                     5.5
     12/17/2016   709   AV0021   Owner Operator   Permits                        OR16:2017 - Q13169                       8
     12/17/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
     12/17/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 197702 Q13169 Sublease       352.68
     12/17/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
     12/17/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
     12/17/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.97
     12/17/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.72
     12/17/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.45
     12/17/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.3
     12/17/2016   709   CC0134   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              -9.01
     12/17/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
     12/17/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
     12/17/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   CC0134   Owner Operator   Permits                        ID06:2017 - Q13168                      11
     12/17/2016   709   CC0134   Owner Operator   Permits                        IL02:2017 - Q13168                    3.75
     12/17/2016   709   CC0134   Owner Operator   Permits                        NM07:2017 - Q13168                     5.5
     12/17/2016   709   CC0134   Owner Operator   Permits                        OR16:2017 - Q13168                       8
     12/17/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
     12/17/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 197675 Q13168 sub lease      352.68
     12/17/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/17/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     12/17/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
     12/17/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/17/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/17/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       480.27
     12/17/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
     12/17/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/17/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     12/17/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
     12/17/2016   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 197703 MDI & EG Heel           125
     12/17/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     12/17/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/17/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/17/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.98
     12/17/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.16
     12/17/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.04
     12/17/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       222.33
     12/17/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
     12/17/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
     12/17/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
     12/17/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8

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     12/17/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
     12/17/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 197674 Q1201                  278.76
     12/17/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
     12/17/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                          8
     12/17/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/17/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        353.31
     12/17/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        121.45
     12/17/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.04
     12/17/2016   709   DL0029   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes               43.16
     12/17/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   DL0029   Owner Operator   Permits                        ID06:2017 - 33850                        11
     12/17/2016   709   DL0029   Owner Operator   Permits                        IL02:2017 - 33850                      3.75
     12/17/2016   709   DL0029   Owner Operator   Permits                        NM07:2017 - 33850                       5.5
     12/17/2016   709   DL0029   Owner Operator   Permits                        OR16:2017 - 33850                         8
     12/17/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.2
     12/17/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
     12/17/2016   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                   12.5
     12/17/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
     12/17/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
     12/17/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        399.43
     12/17/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.96
     12/17/2016   709   DL0107   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes               65.16
     12/17/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                     10.58
     12/17/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                     34.17
     12/17/2016   709   DL0107   Owner Operator   Loan Repayment                 Credit exp 151183 s/u loan         -2913.36
     12/17/2016   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        268.53
     12/17/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
     12/17/2016   709   DL0107   Owner Operator   T Chek Fee                     Advance                               1500
     12/17/2016   709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                         15
     12/17/2016   709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                 974.73
     12/17/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 197390 Sublease               338.99
     12/17/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 197633 Sublease               338.99
     12/17/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
     12/17/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/17/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
     12/17/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
     12/17/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     12/17/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.5
     12/17/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.26
     12/17/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.79
     12/17/2016   709   DS0049   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             -134.07
     12/17/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
     12/17/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
     12/17/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
     12/17/2016   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-24       -136.4
     12/17/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        441.72
     12/17/2016   709   DS0225   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes               -25.8
     12/17/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.07
     12/17/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/17/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
     12/17/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
     12/17/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/17/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/17/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.08
     12/17/2016   709   EA0003   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              122.17
     12/17/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
     12/17/2016   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00342336 - PO System         229.29
     12/17/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
     12/17/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/17/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
     12/17/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           300
     12/17/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     12/17/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        274.55
     12/17/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        302.11
     12/17/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        382.13
     12/17/2016   709   EE0011   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes               94.55
     12/17/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.92

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     12/17/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
     12/17/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
     12/17/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
     12/17/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       287.63
     12/17/2016   709   EG0062   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes               12.2
     12/17/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   EG0062   Owner Operator   Permits                        ID06:2017 - 33828                       11
     12/17/2016   709   EG0062   Owner Operator   Permits                        IL02:2017 - 33828                     3.75
     12/17/2016   709   EG0062   Owner Operator   Permits                        NM07:2017 - 33828                      5.5
     12/17/2016   709   EG0062   Owner Operator   Permits                        OR16:2017 - 33828                        8
     12/17/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
     12/17/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
     12/17/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 12/15 #17105                 350.36
     12/17/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
     12/17/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
     12/17/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.79
     12/17/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.54
     12/17/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        182.3
     12/17/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        133.5
     12/17/2016   709   FS0039   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              12.61
     12/17/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   FS0039   Owner Operator   Permits                        ID06:2017 - 33040                       11
     12/17/2016   709   FS0039   Owner Operator   Permits                        IL02:2017 - 33040                     3.75
     12/17/2016   709   FS0039   Owner Operator   Permits                        NM07:2017 - 33040                      5.5
     12/17/2016   709   FS0039   Owner Operator   Permits                        OR16:2017 - 33040                        8
     12/17/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
     12/17/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 197700 truck lease 3304      434.29
     12/17/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
     12/17/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
     12/17/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          120
     12/17/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            30
     12/17/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/17/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/17/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/17/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/17/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.3
     12/17/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.2
     12/17/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.85
     12/17/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           99
     12/17/2016   709   FT0004   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes               7.92
     12/17/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
     12/17/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
     12/17/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
     12/17/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 197677 73129                 181.08
     12/17/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     12/17/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
     12/17/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/17/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/17/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        58.72
     12/17/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.22
     12/17/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
     12/17/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
     12/17/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
     12/17/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.16
     12/17/2016   709   GS0015   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              47.24
     12/17/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
     12/17/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 197677 Lease                 252.11
     12/17/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
     12/17/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
     12/17/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/17/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/17/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.53
     12/17/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
     12/17/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     12/17/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     12/17/2016   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5

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     12/17/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
     12/17/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
     12/17/2016   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-3          18.9
     12/17/2016   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          100
     12/17/2016   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          100
     12/17/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/17/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/17/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/17/2016   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/17/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.52
     12/17/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.01
     12/17/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       434.17
     12/17/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.12
     12/17/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.4
     12/17/2016   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.43
     12/17/2016   709   HG0027   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              73.63
     12/17/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
     12/17/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
     12/17/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
     12/17/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/17/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         19.99
     12/17/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
     12/17/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.14
     12/17/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.34
     12/17/2016   709   IR0002   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             -21.52
     12/17/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
     12/17/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/17/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
     12/17/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
     12/17/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
     12/17/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
     12/17/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
     12/17/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
     12/17/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/17/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/17/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     12/17/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.72
     12/17/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.71
     12/17/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       426.27
     12/17/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       402.26
     12/17/2016   709   JC0292   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              39.41
     12/17/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
     12/17/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 DRPA Betsy Ross Br              37.5
     12/17/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 DRPA Walt Whitman Br            37.5
     12/17/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 ILTOLL South Beloit              7.5
     12/17/2016   709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC Mid-County                  9.59
     12/17/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
     12/17/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/17/2016   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                  12.5
     12/17/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
     12/17/2016   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
     12/17/2016   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -2500
     12/17/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
     12/17/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                       478.56
     12/17/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
     12/17/2016   709   JG0017   Owner Operator   Express Check                  T-Check Payment                       2500
     12/17/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
     12/17/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     12/17/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.2
     12/17/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.18
     12/17/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.11
     12/17/2016   709   JG0017   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             105.13
     12/17/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
     12/17/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
     12/17/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/17/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
     12/17/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/17/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300

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     12/17/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
     12/17/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/17/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         441
     12/17/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       413.37
     12/17/2016   709   JG0072   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             147.44
     12/17/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
     12/17/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
     12/17/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
     12/17/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
     12/17/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         250
     12/17/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       529.85
     12/17/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
     12/17/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     12/17/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
     12/17/2016   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
     12/17/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     12/17/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
     12/17/2016   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-3        304.29
     12/17/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.44
     12/17/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.21
     12/17/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.99
     12/17/2016   709   JQ0015   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              -9.01
     12/17/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
     12/17/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
     12/17/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
     12/17/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
     12/17/2016   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.05
     12/17/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
     12/17/2016   709   JR0099   Owner Operator   Repair Order                   CTMS - 197675 Inv 007-70623 Cu      255.61
     12/17/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 197638 Truck Lease           278.76
     12/17/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
     12/17/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
     12/17/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
     12/17/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
     12/17/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/17/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/17/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.18
     12/17/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.34
     12/17/2016   709   JS0265   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             113.85
     12/17/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
     12/17/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
     12/17/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/17/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
     12/17/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
     12/17/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/17/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/17/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/17/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/17/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         333
     12/17/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.06
     12/17/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.46
     12/17/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         168
     12/17/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       174.97
     12/17/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       134.99
     12/17/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.03
     12/17/2016   709   KP0004   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             248.86
     12/17/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
     12/17/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/17/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
     12/17/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
     12/17/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
     12/17/2016   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-10       333.33
     12/17/2016   709   LL0160   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             296.35
     12/17/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
     12/17/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 197730 Lease Q1111           252.11

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     12/17/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
     12/17/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
     12/17/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/17/2016   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/17/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.59
     12/17/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       322.63
     12/17/2016   709   LS0023   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              14.15
     12/17/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
     12/17/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
     12/17/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
     12/17/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
     12/17/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
     12/17/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
     12/17/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
     12/17/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/17/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       444.33
     12/17/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.24
     12/17/2016   709   ME0053   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              97.74
     12/17/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   ME0053   Owner Operator   Permits                        ID06:2017 - Q1113                        11
     12/17/2016   709   ME0053   Owner Operator   Permits                        IL02:2017 - Q1113                      3.75
     12/17/2016   709   ME0053   Owner Operator   Permits                        NM07:2017 - Q1113                       5.5
     12/17/2016   709   ME0053   Owner Operator   Permits                        OR16:2017 - Q1113                         8
     12/17/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
     12/17/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 197675 Q1113 Lease           252.11
     12/17/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
     12/17/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.03
     12/17/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.07
     12/17/2016   709   MG0067   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes               -8.73
     12/17/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
     12/17/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
     12/17/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     12/17/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/17/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/17/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/17/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/17/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.33
     12/17/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.53
     12/17/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 37.33
     12/17/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
     12/17/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
     12/17/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
     12/17/2016   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                    -2000
     12/17/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                       496.83
     12/17/2016   709   MP0035   Owner Operator   Express Check                  T-Check Payment                       2000
     12/17/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
     12/17/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
     12/17/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
     12/17/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
     12/17/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
     12/17/2016   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                    -2000
     12/17/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          281
     12/17/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        80.03
     12/17/2016   709   NB0029   Owner Operator   Express Check                  T-Check Payment                       2000
     12/17/2016   709   NB0029   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             102.83
     12/17/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
     12/17/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
     12/17/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
     12/17/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/17/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/17/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          260
     12/17/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.1
     12/17/2016   709   NG0005   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             125.44
     12/17/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
     12/17/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL            8.75
     12/17/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                         13

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     12/17/2016   709   NR0010   Owner Operator   ESCROW                         Escrow Withdrawal                    -2000
     12/17/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                          250
     12/17/2016   709   NR0010   Owner Operator   Express Check                  T-Check Payment                       2000
     12/17/2016   709   NR0010   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             203.08
     12/17/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.07
     12/17/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 197637 Tractor Sublease      252.11
     12/17/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
     12/17/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
     12/17/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/17/2016   709   NT9564   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              61.48
     12/17/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
     12/17/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
     12/17/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
     12/17/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 197675 Truck 73130 Leas      196.65
     12/17/2016   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       372.65
     12/17/2016   709   RC0030   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             362.41
     12/17/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.7
     12/17/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/17/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
     12/17/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
     12/17/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.87
     12/17/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        196.8
     12/17/2016   709   RC0089   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes               -9.47
     12/17/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
     12/17/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
     12/17/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
     12/17/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/17/2016   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                          100
     12/17/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          200
     12/17/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.07
     12/17/2016   709   RL0017   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes               -5.07
     12/17/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 45.32
     12/17/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 77.22
     12/17/2016   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                       529.05
     12/17/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/17/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
     12/17/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/17/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/17/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       419.52
     12/17/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       110.79
     12/17/2016   709   RL0062   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             145.71
     12/17/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
     12/17/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
     12/17/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
     12/17/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
     12/17/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
     12/17/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.59
     12/17/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.85
     12/17/2016   709   RM0026   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              134.2
     12/17/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
     12/17/2016   709   RM0026   Owner Operator   T Chek Fee                     ExpressCheck Fee                       3.32
     12/17/2016   709   RM0026   Owner Operator   T Chek Fee                     Tractor Repair 33664                331.82
     12/17/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
     12/17/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
     12/17/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.79
     12/17/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/17/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
     12/17/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 197638 Q1202 Truck Leas      278.76
     12/17/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
     12/17/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                          8
     12/17/2016   709   RR0123   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-10       143.01
     12/17/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/17/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/17/2016   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/17/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.56
     12/17/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.99
     12/17/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.93

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     12/17/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.29
     12/17/2016   709   RR0123   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              19.59
     12/17/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                    10.58
     12/17/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
     12/17/2016   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       263.96
     12/17/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   RR0123   Owner Operator   Permits                        ID06:2017 - Q1248                       11
     12/17/2016   709   RR0123   Owner Operator   Permits                        IL02:2017 - Q1248                     3.75
     12/17/2016   709   RR0123   Owner Operator   Permits                        NM07:2017 - Q1248                      5.5
     12/17/2016   709   RR0123   Owner Operator   Permits                        OR16:2017 - Q1248                        8
     12/17/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
     12/17/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
     12/17/2016   709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00343799 - PO System          205
     12/17/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 197674 Q1248                 311.97
     12/17/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/17/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
     12/17/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
     12/17/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/17/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/17/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         248
     12/17/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       365.33
     12/17/2016   709   SB0009   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              24.46
     12/17/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
     12/17/2016   709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00344066 - PO System        160.34
     12/17/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
     12/17/2016   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                  56.95
     12/17/2016   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     12/17/2016   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                        13
     12/17/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.72
     12/17/2016   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.58
     12/17/2016   709   SN0019   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              34.71
     12/17/2016   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 42.97
     12/17/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
     12/17/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
     12/17/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         395
     12/17/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         398
     12/17/2016   709   VB0015   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes               7.14
     12/17/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
     12/17/2016   709   VB0015   Owner Operator   Truck Payment                  CTMS - 197782 Tractor Sub leas      242.03
     12/17/2016   709   VJ0006   Owner Operator   Accident Claim                 Claim 62566 s/u pmts                  250
     12/17/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     12/17/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        13
     12/17/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         200
     12/17/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.35
     12/17/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.21
     12/17/2016   709   VJ0006   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             225.88
     12/17/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
     12/17/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     12/17/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
     12/17/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     12/17/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
     12/17/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
     12/17/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
     12/17/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
     12/17/2016   709   WH0087   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            40
     12/17/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
     12/17/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.51
     12/17/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       259.34
     12/17/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.34
     12/17/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         240
     12/17/2016   709   WH0087   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             -12.87
     12/17/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
     12/17/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
     12/17/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
     12/17/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 197674 Q1238 Lease           311.97
     12/17/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75

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     12/17/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
     12/17/2016   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                  12.5
     12/17/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     12/17/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     12/17/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/17/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/17/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/17/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/17/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/17/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/17/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/17/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/17/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/17/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/17/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/17/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/17/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.87
     12/17/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.93
     12/17/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.15
     12/17/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.12
     12/17/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.86
     12/17/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       134.85
     12/17/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.69
     12/17/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.11
     12/17/2016   742   AP0047   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             139.54
     12/17/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
     12/17/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
     12/17/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
     12/17/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
     12/17/2016   742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/17/2016   742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                         8
     12/17/2016   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 54.69
     12/17/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/17/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     12/17/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
     12/17/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        460.3
     12/17/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.26
     12/17/2016   742   BS0078   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              53.82
     12/17/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
     12/17/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
     12/17/2016   742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
     12/17/2016   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                        13
     12/17/2016   742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-10       219.87
     12/17/2016   742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-10        26.04
     12/17/2016   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.75
     12/17/2016   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.26
     12/17/2016   742   CA0089   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              46.22
     12/17/2016   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   CA0089   Owner Operator   Permits                        ID06:2017 - 33832                       11
     12/17/2016   742   CA0089   Owner Operator   Permits                        IL02:2017 - 33832                     3.75
     12/17/2016   742   CA0089   Owner Operator   Permits                        OR16:2017 - 33832                        8
     12/17/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.16
     12/17/2016   742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
     12/17/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL          8.75
     12/17/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
     12/17/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.04
     12/17/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.96
     12/17/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.2
     12/17/2016   742   CT0085   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              16.45
     12/17/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
     12/17/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
     12/17/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   CT0085   Owner Operator   Permits                        ID06:2017 - Q13171                      11
     12/17/2016   742   CT0085   Owner Operator   Permits                        IL02:2017 - Q13171                    3.75
     12/17/2016   742   CT0085   Owner Operator   Permits                        NM07:2017 - Q13171                     5.5
     12/17/2016   742   CT0085   Owner Operator   Permits                        OR16:2017 - Q13171                       8

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     12/17/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD          82.04
     12/17/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te         2.5
     12/17/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 197444 Sub Lease Q13171      352.68
     12/17/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 197675 Sub Lease Q13171      352.68
     12/17/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/17/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/17/2016   742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                  12.5
     12/17/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
     12/17/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
     12/17/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        16.25
     12/17/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       433.82
     12/17/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.61
     12/17/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.56
     12/17/2016   742   DA0067   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              70.66
     12/17/2016   742   DA0067   Owner Operator   IRP License Deduction          LCIL:2016 - 33847                    84.97
     12/17/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   DA0067   Owner Operator   Permits                        ID06:2017 - 33847                       11
     12/17/2016   742   DA0067   Owner Operator   Permits                        IL02:2017 - 33847                     3.75
     12/17/2016   742   DA0067   Owner Operator   Permits                        NM07:2017 - 33847                      5.5
     12/17/2016   742   DA0067   Owner Operator   Permits                        OR16:2017 - 33847                        8
     12/17/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.32
     12/17/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.32
     12/17/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/17/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/17/2016   742   DA0067   Owner Operator   Tire Fee                       Tire Fee: 1976866                        8
     12/17/2016   742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00343109 - PO System        203.91
     12/17/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
     12/17/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
     12/17/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.76
     12/17/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.34
     12/17/2016   742   ED0041   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              57.68
     12/17/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
     12/17/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
     12/17/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        23.78
     12/17/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
     12/17/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
     12/17/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.86
     12/17/2016   742   EO0014   Owner Operator   IRP License Deduction          LCIL:2016 - 33846                     100
     12/17/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   EO0014   Owner Operator   Permits                        ID06:2017 - 33846                       11
     12/17/2016   742   EO0014   Owner Operator   Permits                        IL02:2017 - 33846                     3.75
     12/17/2016   742   EO0014   Owner Operator   Permits                        OR16:2017 - 33846                        8
     12/17/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.13
     12/17/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
     12/17/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
     12/17/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
     12/17/2016   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-10          5.2
     12/17/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
     12/17/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
     12/17/2016   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL           8.75
     12/17/2016   742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.44
     12/17/2016   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.14
     12/17/2016   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD           35.16
     12/17/2016   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter         2.5
     12/17/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
     12/17/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
     12/17/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   742   KJ0045   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              47.75
     12/17/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
     12/17/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
     12/17/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/17/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/17/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/17/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/17/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/17/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2

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     12/17/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/17/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/17/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.37
     12/17/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.34
     12/17/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        79.81
     12/17/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     12/17/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     12/17/2016   742   LL0134   Owner Operator   Repair Order                   CTMS - 190141 repair                178.11
     12/17/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
     12/17/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
     12/17/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
     12/17/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/17/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            40
     12/17/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                          360
     12/17/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3.6
     12/17/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
     12/17/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         200
     12/17/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.87
     12/17/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.16
     12/17/2016   742   MT0112   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              27.37
     12/17/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
     12/17/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
     12/17/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   MT0112   Owner Operator   Permits                        ID06:2017 - Q1247                       11
     12/17/2016   742   MT0112   Owner Operator   Permits                        IL02:2017 - Q1247                     3.75
     12/17/2016   742   MT0112   Owner Operator   Permits                        NM07:2017 - Q1247                      5.5
     12/17/2016   742   MT0112   Owner Operator   Permits                        OR16:2017 - Q1247                        8
     12/17/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.57
     12/17/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
     12/17/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 197444 Q1247 Sub Lease       311.97
     12/17/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 197675 Q1247 Sub Lease       311.97
     12/17/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
     12/17/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     12/17/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       482.18
     12/17/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.21
     12/17/2016   742   NG0024   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              42.41
     12/17/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
     12/17/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
     12/17/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
     12/17/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
     12/17/2016   742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-10        11.31
     12/17/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.89
     12/17/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                        51.53
     12/17/2016   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         283
     12/17/2016   742   RN0054   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes               49.4
     12/17/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
     12/17/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
     12/17/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
     12/17/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
     12/17/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
     12/17/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
     12/17/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     12/17/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
     12/17/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 197402 Tractor Lease         221.04
     12/17/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/17/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/17/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/17/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/17/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                         152.5
     12/17/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/17/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/17/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/17/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/17/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       351.77
     12/17/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.34
     12/17/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.06
     12/17/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.35
     12/17/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.65

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     12/17/2016   844   JK0112   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             109.92
     12/17/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/17/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
     12/17/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                6
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DelDOT Newark Plaza                9
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 DRJTBC Delaware Water Ga          20
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL 163rd St.                   6
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL 83rd St.                    6
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL Belvidere                  12
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL Cermak Rd.                  6
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL Elgin Rd                    6
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ILTOLL South Beloit              7.5
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 ITRCC Portage                  36.93
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA Baltimore Harbor Tu          24
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 MdTA Kennedy Memorial Hi          48
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 NJTP Carteret/Rahway            19.8
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 NJTP Geo Washington Br/U        43.2
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 NJTP GSP/Woodbridge/The         2.45
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 NJTP Sprtsplx/NJ 3/Secau       16.75
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 NYSTA New Rochelle Toll         5.73
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 OTC Westgate                    34.5
     12/17/2016   844   JK0112   Owner Operator   Toll Charges                   33211 PANYNJ George Washington        77.5
     12/17/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       358.18
     12/17/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     12/24/2016   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
     12/24/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     12/24/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
     12/24/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.63
     12/24/2016   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
     12/24/2016   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
     12/24/2016   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
     12/24/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
     12/24/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
     12/24/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/24/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.67
     12/24/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.56
     12/24/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.33
     12/24/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         130
     12/24/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
     12/24/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
     12/24/2016   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
     12/24/2016   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
     12/24/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
     12/24/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
     12/24/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/24/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.76
     12/24/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.37
     12/24/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
     12/24/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
     12/24/2016   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
     12/24/2016   709   CC0134   Owner Operator   Truck Payment                  CTMS - 197877 Q13168 sub lease      352.68
     12/24/2016   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/24/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     12/24/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     12/24/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
     12/24/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/24/2016   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/24/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       465.51
     12/24/2016   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
     12/24/2016   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/24/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     12/24/2016   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
     12/24/2016   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 197913 MDI & EG Heel           125
     12/24/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     12/24/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     12/24/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-31       -94.5
     12/24/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.12

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     12/24/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.67
     12/24/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.33
     12/24/2016   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
     12/24/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
     12/24/2016   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
     12/24/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
     12/24/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
     12/24/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.97
     12/24/2016   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.07
     12/24/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 197853 Tractor rental S      268.35
     12/24/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 197876 Q1201                 278.76
     12/24/2016   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
     12/24/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
     12/24/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
     12/24/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/24/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.77
     12/24/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       339.71
     12/24/2016   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 34.19
     12/24/2016   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
     12/24/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     12/24/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     12/24/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.28
     12/24/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.82
     12/24/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.86
     12/24/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                    10.58
     12/24/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
     12/24/2016   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       268.53
     12/24/2016   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.69
     12/24/2016   709   DL0107   Owner Operator   Truck Payment                  CTMS - 197813 Sublease              338.99
     12/24/2016   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
     12/24/2016   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-17        136.4
     12/24/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.04
     12/24/2016   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    39.04
     12/24/2016   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/24/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
     12/24/2016   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
     12/24/2016   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
     12/24/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/24/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/24/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/24/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/24/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/24/2016   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/24/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.53
     12/24/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.02
     12/24/2016   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       525.44
     12/24/2016   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
     12/24/2016   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00342336 - PO System        229.29
     12/24/2016   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
     12/24/2016   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/24/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
     12/24/2016   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
     12/24/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/24/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/24/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/24/2016   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/24/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.81
     12/24/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       460.92
     12/24/2016   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       422.42
     12/24/2016   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.91
     12/24/2016   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
     12/24/2016   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
     12/24/2016   709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33828         9.84
     12/24/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
     12/24/2016   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
     12/24/2016   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50

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     12/24/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.41
     12/24/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       314.62
     12/24/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.72
     12/24/2016   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.71
     12/24/2016   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.18
     12/24/2016   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
     12/24/2016   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 12/22 #17105                 350.36
     12/24/2016   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
     12/24/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
     12/24/2016   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
     12/24/2016   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/24/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.9
     12/24/2016   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.93
     12/24/2016   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.86
     12/24/2016   709   FS0039   Owner Operator   Truck Payment                  CTMS - 197910 truck lease 3304      434.29
     12/24/2016   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
     12/24/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
     12/24/2016   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
     12/24/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          125
     12/24/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            35
     12/24/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            60
     12/24/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
     12/24/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.35
     12/24/2016   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.25
     12/24/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.7
     12/24/2016   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.63
     12/24/2016   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
     12/24/2016   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
     12/24/2016   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.51
     12/24/2016   709   FT0004   Owner Operator   Truck Payment                  CTMS - 197879 73129                 181.08
     12/24/2016   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     12/24/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
     12/24/2016   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
     12/24/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/24/2016   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/24/2016   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       460.97
     12/24/2016   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.01
     12/24/2016   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
     12/24/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
     12/24/2016   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
     12/24/2016   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.57
     12/24/2016   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
     12/24/2016   709   GS0015   Owner Operator   Truck Payment                  CTMS - 197879 Lease                 252.11
     12/24/2016   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
     12/24/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
     12/24/2016   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
     12/24/2016   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/24/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/24/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/24/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/24/2016   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/24/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.4
     12/24/2016   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       487.45
     12/24/2016   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
     12/24/2016   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     12/24/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
     12/24/2016   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
     12/24/2016   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                         100
     12/24/2016   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68
     12/24/2016   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
     12/24/2016   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/24/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         20.07
     12/24/2016   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
     12/24/2016   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       343.53
     12/24/2016   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64

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     12/24/2016   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     12/24/2016   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
     12/24/2016   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.96
     12/24/2016   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
     12/24/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
     12/24/2016   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
     12/24/2016   709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                     -3000
     12/24/2016   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
     12/24/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
     12/24/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
     12/24/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/24/2016   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     12/24/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.03
     12/24/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        409.19
     12/24/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        363.51
     12/24/2016   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.84
     12/24/2016   709   JC0292   Owner Operator   Loan Repayment                 Credit exp 151999 s/u loan         -5428.28
     12/24/2016   709   JC0292   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment        272.93
     12/24/2016   709   JC0292   Owner Operator   Loan Repayment                 Reduce loan s/u bal by escrow          3000
     12/24/2016   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.11
     12/24/2016   709   JC0292   Owner Operator   T Chek Fee                     ExpressCheck Fee                      53.75
     12/24/2016   709   JC0292   Owner Operator   T Chek Fee                     Tractor Repair Q1210                5374.53
     12/24/2016   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
     12/24/2016   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/24/2016   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                        434.35
     12/24/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
     12/24/2016   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     12/24/2016   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.93
     12/24/2016   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.85
     12/24/2016   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
     12/24/2016   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/24/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
     12/24/2016   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
     12/24/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
     12/24/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
     12/24/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
     12/24/2016   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/24/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.1
     12/24/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        407.69
     12/24/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        354.56
     12/24/2016   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          0.02
     12/24/2016   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
     12/24/2016   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
     12/24/2016   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
     12/24/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
     12/24/2016   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
     12/24/2016   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           250
     12/24/2016   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        583.47
     12/24/2016   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      61.7
     12/24/2016   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
     12/24/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
     12/24/2016   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
     12/24/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.45
     12/24/2016   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
     12/24/2016   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51
     12/24/2016   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
     12/24/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
     12/24/2016   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
     12/24/2016   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.58
     12/24/2016   709   JR0099   Owner Operator   Repair Order                   CTMS - 197877 Inv 007-70623 Cu       255.61
     12/24/2016   709   JR0099   Owner Operator   Truck Payment                  CTMS - 197832 Truck Lease            278.76
     12/24/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
     12/24/2016   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
     12/24/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
     12/24/2016   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
     12/24/2016   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
     12/24/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200

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     12/24/2016   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/24/2016   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        386.28
     12/24/2016   709   JS0265   Owner Operator   Miscellaneous                  90 Day Outstanding Reissue         -3305.45
     12/24/2016   709   JS0265   Owner Operator   Miscellaneous                  90 Day Outstanding Reissue         -3473.93
     12/24/2016   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.93
     12/24/2016   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
     12/24/2016   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/24/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
     12/24/2016   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
     12/24/2016   709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-31          -45
     12/24/2016   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
     12/24/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/24/2016   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/24/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         31.64
     12/24/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          385
     12/24/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         54.55
     12/24/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        160.01
     12/24/2016   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         27.79
     12/24/2016   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
     12/24/2016   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
     12/24/2016   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
     12/24/2016   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
     12/24/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
     12/24/2016   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
     12/24/2016   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.04
     12/24/2016   709   LL0160   Owner Operator   Truck Payment                  CTMS - 197944 Lease Q1111            252.11
     12/24/2016   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
     12/24/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
     12/24/2016   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
     12/24/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        320.91
     12/24/2016   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        327.84
     12/24/2016   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  94.51
     12/24/2016   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism          2.5
     12/24/2016   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
     12/24/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
     12/24/2016   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
     12/24/2016   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        169.87
     12/24/2016   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.29
     12/24/2016   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
     12/24/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
     12/24/2016   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
     12/24/2016   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/24/2016   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        346.88
     12/24/2016   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.04
     12/24/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 197877 Q1113 Lease            252.11
     12/24/2016   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
     12/24/2016   709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance                           150
     12/24/2016   709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
     12/24/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        440.24
     12/24/2016   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
     12/24/2016   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
     12/24/2016   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
     12/24/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
     12/24/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
     12/24/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
     12/24/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/24/2016   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/24/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        293.76
     12/24/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        352.17
     12/24/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment        260.53
     12/24/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment        260.53
     12/24/2016   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.11
     12/24/2016   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   15.8
     12/24/2016   709   MM0093   Owner Operator   T Chek Fee                     ExpressCheck Fee                       7.31
     12/24/2016   709   MM0093   Owner Operator   T Chek Fee                     Tractor Repair 32931                  730.9

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     12/24/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                    337.19
     12/24/2016   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                  8.75
     12/24/2016   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                  8.75
     12/24/2016   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                     13
     12/24/2016   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                     13
     12/24/2016   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                     13
     12/24/2016   709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                        50
     12/24/2016   709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                        50
     12/24/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance                       100
     12/24/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance                       100
     12/24/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance                       100
     12/24/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance                       100
     12/24/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance                       100
     12/24/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance                       100
     12/24/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
     12/24/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
     12/24/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
     12/24/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
     12/24/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
     12/24/2016   709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
     12/24/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                    142.75
     12/24/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                     325.4
     12/24/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                    282.98
     12/24/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                    224.48
     12/24/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                    405.88
     12/24/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                    185.65
     12/24/2016   709   MM0103   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes           50.25
     12/24/2016   709   MM0103   Owner Operator   IRP License Deduction          LCIL:2016 - 33889                  100
     12/24/2016   709   MM0103   Owner Operator   IRP License Deduction          LCIL:2016 - 33889                  100
     12/24/2016   709   MM0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     12/24/2016   709   MM0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     12/24/2016   709   MM0103   Owner Operator   Permits                        ID06:2017 - 33889                    11
     12/24/2016   709   MM0103   Owner Operator   Permits                        IL02:2017 - 33889                  3.75
     12/24/2016   709   MM0103   Owner Operator   Permits                        NM07:2017 - 33889                   5.5
     12/24/2016   709   MM0103   Owner Operator   Permits                        OR16:2017 - 33889                     8
     12/24/2016   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                  28.13
     12/24/2016   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                  28.11
     12/24/2016   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                 8.75
     12/24/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                     13
     12/24/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                     13
     12/24/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                      650
     12/24/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                    153.17
     12/24/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                       100
     12/24/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1
     12/24/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                    482.07
     12/24/2016   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     12/24/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                 71.86
     12/24/2016   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism         2.5
     12/24/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                    323.05
     12/24/2016   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL         8.75
     12/24/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                     13
     12/24/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                     13
     12/24/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                      219
     12/24/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                      500
     12/24/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                    472.46
     12/24/2016   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     12/24/2016   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD         35.15
     12/24/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 197735 Lease              215.66
     12/24/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 197949 Lease              215.66
     12/24/2016   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL           8.75
     12/24/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                    13
     12/24/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                    13
     12/24/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                       160
     12/24/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                    1.6
     12/24/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                    260.23
     12/24/2016   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
     12/24/2016   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD           32.97
     12/24/2016   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL        8.75
     12/24/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                     13
     12/24/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                     13
     12/24/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                        50
     12/24/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                 10.58
     12/24/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                 34.17

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     12/24/2016   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
     12/24/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 197877 Truck 73130 Leas      196.65
     12/24/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
     12/24/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
     12/24/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
     12/24/2016   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
     12/24/2016   709   RC0030   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             364.81
     12/24/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
     12/24/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.15
     12/24/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
     12/24/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
     12/24/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
     12/24/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.04
     12/24/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
     12/24/2016   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
     12/24/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 197637 Down Payment lo       303.55
     12/24/2016   709   RC0030   Owner Operator   Truck Payment                  CTMS - 197832 Down Payment lo       303.55
     12/24/2016   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  51.69
     12/24/2016   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/24/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
     12/24/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     12/24/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.59
     12/24/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.16
     12/24/2016   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.05
     12/24/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
     12/24/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
     12/24/2016   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/24/2016   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                         100
     12/24/2016   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        440.4
     12/24/2016   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 45.29
     12/24/2016   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  77.2
     12/24/2016   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                       529.05
     12/24/2016   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/24/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
     12/24/2016   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
     12/24/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/24/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/24/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/24/2016   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/24/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        430.4
     12/24/2016   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.51
     12/24/2016   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   RL0062   Owner Operator   Permits                        ID06:2017 - 32912                       11
     12/24/2016   709   RL0062   Owner Operator   Permits                        IL02:2017 - 32912                     3.75
     12/24/2016   709   RL0062   Owner Operator   Permits                        NM07:2017 - 32912                      5.5
     12/24/2016   709   RL0062   Owner Operator   Permits                        OR16:2017 - 32912                        8
     12/24/2016   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.13
     12/24/2016   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
     12/24/2016   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.46
     12/24/2016   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
     12/24/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
     12/24/2016   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
     12/24/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.28
     12/24/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.46
     12/24/2016   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.63
     12/24/2016   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
     12/24/2016   709   RM0026   Owner Operator   T Chek Fee                     ExpressCheck Fee                       1.5
     12/24/2016   709   RM0026   Owner Operator   T Chek Fee                     Tractor Repair 33664                 149.6
     12/24/2016   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
     12/24/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
     12/24/2016   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
     12/24/2016   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.4
     12/24/2016   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD           58.58
     12/24/2016   709   RP0082   Owner Operator   Truck Payment                  CTMS - 197832 Q1202 Truck Leas      278.76
     12/24/2016   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
     12/24/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8

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     12/24/2016   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
     12/24/2016   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/24/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.85
     12/24/2016   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        288.9
     12/24/2016   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                    10.58
     12/24/2016   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
     12/24/2016   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       263.96
     12/24/2016   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.07
     12/24/2016   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
     12/24/2016   709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00343799 - PO System           205
     12/24/2016   709   RR0123   Owner Operator   Truck Payment                  CTMS - 197875 Q1248                 311.97
     12/24/2016   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/24/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
     12/24/2016   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
     12/24/2016   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
     12/24/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           200
     12/24/2016   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/24/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.41
     12/24/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.94
     12/24/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.86
     12/24/2016   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.35
     12/24/2016   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98
     12/24/2016   709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00344066 - PO System        160.34
     12/24/2016   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                       564.33
     12/24/2016   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL           8.75
     12/24/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
     12/24/2016   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                         8
     12/24/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          357
     12/24/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.9
     12/24/2016   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       152.01
     12/24/2016   709   VB0015   Owner Operator   Loan Repayment                 credit exp 151746 s/u loan           -3030
     12/24/2016   709   VB0015   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        256.3
     12/24/2016   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD            37.5
     12/24/2016   709   VB0015   Owner Operator   T Chek Fee                     Advance Q1112                         3000
     12/24/2016   709   VB0015   Owner Operator   T Chek Fee                     ExpressCheck Fee                        30
     12/24/2016   709   VJ0006   Owner Operator   Accident Claim                 Claim 62566 s/u pmts                   250
     12/24/2016   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
     12/24/2016   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                      8.75
     12/24/2016   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
     12/24/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/24/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/24/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/24/2016   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/24/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.85
     12/24/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.95
     12/24/2016   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.29
     12/24/2016   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 55.47
     12/24/2016   709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                        375.9
     12/24/2016   709   VJ0006   Owner Operator   Truck Payment                  CTMS - 197849 Tractor Q1235            565
     12/24/2016   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
     12/24/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     12/24/2016   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                        13
     12/24/2016   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 56.25
     12/24/2016   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism         2.5
     12/24/2016   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL              8.75
     12/24/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
     12/24/2016   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                         8
     12/24/2016   709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-31         -35
     12/24/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/24/2016   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/24/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.12
     12/24/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.17
     12/24/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.41
     12/24/2016   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.57
     12/24/2016   709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                    10.58
     12/24/2016   709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                    34.17
     12/24/2016   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47

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     12/24/2016   709   WH0087   Owner Operator   Truck Payment                  CTMS - 197876 Q1238 Lease           311.97
     12/24/2016   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
     12/24/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     12/24/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     12/24/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/24/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/24/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
     12/24/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/24/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/24/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/24/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.16
     12/24/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.64
     12/24/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.12
     12/24/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        139.8
     12/24/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       413.64
     12/24/2016   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.33
     12/24/2016   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
     12/24/2016   742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/24/2016   742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                         8
     12/24/2016   742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                         8
     12/24/2016   742   AS0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-31        -507
     12/24/2016   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/24/2016   742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 54.68
     12/24/2016   742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/24/2016   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
     12/24/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.35
     12/24/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       553.31
     12/24/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.69
     12/24/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       433.03
     12/24/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.54
     12/24/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         9.02
     12/24/2016   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL          8.75
     12/24/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
     12/24/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
     12/24/2016   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/24/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.99
     12/24/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.24
     12/24/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.8
     12/24/2016   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
     12/24/2016   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
     12/24/2016   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD          82.01
     12/24/2016   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te         2.5
     12/24/2016   742   CT0085   Owner Operator   Truck Payment                  CTMS - 197877 Sub Lease Q13171      352.68
     12/24/2016   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
     12/24/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
     12/24/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
     12/24/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.52
     12/24/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.46
     12/24/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.34
     12/24/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       138.46
     12/24/2016   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.34
     12/24/2016   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
     12/24/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/24/2016   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/24/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
     12/24/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
     12/24/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
     12/24/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.25
     12/24/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       415.12
     12/24/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.48
     12/24/2016   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        343.7
     12/24/2016   742   EN0016   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             109.13
     12/24/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
     12/24/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
     12/24/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/24/2016   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/24/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4

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     12/24/2016   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
     12/24/2016   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
     12/24/2016   742   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33846         9.84
     12/24/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
     12/24/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
     12/24/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/24/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.26
     12/24/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.15
     12/24/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.1
     12/24/2016   742   EO0014   Owner Operator   IRP License Deduction          LCIL:2016 - 33846                    78.31
     12/24/2016   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.11
     12/24/2016   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
     12/24/2016   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
     12/24/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
     12/24/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
     12/24/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.68
     12/24/2016   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5
     12/24/2016   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL           8.75
     12/24/2016   742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/24/2016   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       203.07
     12/24/2016   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.57
     12/24/2016   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD           35.15
     12/24/2016   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter         2.5
     12/24/2016   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
     12/24/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
     12/24/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
     12/24/2016   742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/24/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        401.6
     12/24/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.63
     12/24/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        289.7
     12/24/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.1
     12/24/2016   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.86
     12/24/2016   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
     12/24/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/24/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                        145.36
     12/24/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/24/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     12/24/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
     12/24/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       262.21
     12/24/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     12/24/2016   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
     12/24/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     12/24/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     12/24/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     12/24/2016   742   MH0117   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             456.09
     12/24/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
     12/24/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
     12/24/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     12/24/2016   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
     12/24/2016   742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00343346 - PO System        209.23
     12/24/2016   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
     12/24/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
     12/24/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
     12/24/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/24/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                          210
     12/24/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                          290
     12/24/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.9
     12/24/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.1
     12/24/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         250
     12/24/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       212.29
     12/24/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         200
     12/24/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
     12/24/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
     12/24/2016   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/24/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.54
     12/24/2016   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
     12/24/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 197877 Q1247 Sub Lease       311.97
     12/24/2016   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75

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     12/24/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
     12/24/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
     12/24/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
     12/24/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
     12/24/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        396.92
     12/24/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.92
     12/24/2016   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           100.76
     12/24/2016   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter          2.5
     12/24/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/24/2016   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
     12/24/2016   742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                  -1666.56
     12/24/2016   742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                     -1769
     12/24/2016   742   PC0012   Owner Operator   Express Check                  T-Check Payment                     1666.56
     12/24/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        178.29
     12/24/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.28
     12/24/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.74
     12/24/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.15
     12/24/2016   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        186.47
     12/24/2016   742   PC0012   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              123.04
     12/24/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.74
     12/24/2016   742   PC0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
     12/24/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.38
     12/24/2016   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 104.35
     12/24/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        509.18
     12/24/2016   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                        210.01
     12/24/2016   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
     12/24/2016   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                  12.5
     12/24/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
     12/24/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
     12/24/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
     12/24/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                        13
     12/24/2016   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                    10.58
     12/24/2016   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                    34.17
     12/24/2016   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           74.25
     12/24/2016   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
     12/24/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 197402 Tractor Lease          132.24
     12/24/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 197639 Tractor Lease          353.28
     12/24/2016   742   RN0054   Owner Operator   Truck Payment                  CTMS - 197834 Tractor Lease          353.28
     12/24/2016   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
     12/24/2016   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.6
     12/24/2016   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism             2.5
     12/24/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
     12/24/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
     12/24/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
     12/24/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.4
     12/24/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.5
     12/24/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        355.83
     12/24/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.81
     12/24/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
     12/24/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 145.99
     12/24/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism          2.5
     12/24/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        277.22
     12/31/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       -13
     12/31/2016   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                        13
     12/31/2016   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        189.55
     12/31/2016   709   AN0007   Owner Operator   Toll Charges                   CA 21157A      CATALINA VIEW          21.44
     12/31/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                        13
     12/31/2016   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       -13
     12/31/2016   709   AR0064   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes               139.5
     12/31/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        -8
     12/31/2016   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                         8
     12/31/2016   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/31/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
     12/31/2016   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           225
     12/31/2016   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                    10.58
     12/31/2016   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                    34.17
     12/31/2016   709   AV0021   Owner Operator   Truck Payment                  CTMS - 197912 Q13169 Sublease        352.68
     12/31/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                         8
     12/31/2016   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        -8
     12/31/2016   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                            50
     12/31/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        376.48

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     12/31/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        12.32
     12/31/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.19
     12/31/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       360.99
     12/31/2016   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.22
     12/31/2016   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
     12/31/2016   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
     12/31/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
     12/31/2016   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                       -13
     12/31/2016   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
     12/31/2016   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       478.27
     12/31/2016   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
     12/31/2016   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 198056 MDI & EG Heel           125
     12/31/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                       -13
     12/31/2016   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
     12/31/2016   709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-24         94.5
     12/31/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/31/2016   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/31/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       114.18
     12/31/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.87
     12/31/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.22
     12/31/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        71.42
     12/31/2016   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.23
     12/31/2016   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
     12/31/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                        -8
     12/31/2016   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
     12/31/2016   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.16
     12/31/2016   709   CS0091   Owner Operator   Truck Payment                  CTMS - 198022 Q1201                 278.76
     12/31/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
     12/31/2016   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                        -8
     12/31/2016   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/31/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.33
     12/31/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.33
     12/31/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.18
     12/31/2016   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.96
     12/31/2016   709   DL0029   Owner Operator   Repair Order                   CTMS - 198052 Repair                  250
     12/31/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                       -13
     12/31/2016   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
     12/31/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.05
     12/31/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.06
     12/31/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.8
     12/31/2016   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.17
     12/31/2016   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                    10.58
     12/31/2016   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
     12/31/2016   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       268.53
     12/31/2016   709   DL0107   Owner Operator   Toll Charges                   CA Q1245       Antioch Bridge           25
     12/31/2016   709   DL0107   Owner Operator   Toll Charges                   CA Q1245       Bay Bridge               25
     12/31/2016   709   DL0107   Owner Operator   Toll Charges                   CA Q1245       San Mateo                25
     12/31/2016   709   DL0107   Owner Operator   Toll Charges                   CA Q1245       San Mateo                25
     12/31/2016   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.36
     12/31/2016   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/31/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       -13
     12/31/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
     12/31/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
     12/31/2016   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
     12/31/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
     12/31/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          500
     12/31/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     12/31/2016   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     12/31/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       491.28
     12/31/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       358.37
     12/31/2016   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         320
     12/31/2016   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/31/2016   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.33
     12/31/2016   709   DS0049   Owner Operator   Toll Charges                   CA 32915       San Mateo                25
     12/31/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
     12/31/2016   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
     12/31/2016   709   DS0049   Owner Operator   Truck Payment                  CTMS - 197854 Tractor rental       1321.45
     12/31/2016   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        385.8
     12/31/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                       -13
     12/31/2016   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
     12/31/2016   709   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-10         34.2
     12/31/2016   709   DW0138   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes             181.28
     12/31/2016   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       358.08

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     12/31/2016   709   EA0003   Owner Operator   Communication Charge    PNet Hware 33051                       -13
     12/31/2016   709   EA0003   Owner Operator   Communication Charge    PNet Hware 33051                        13
     12/31/2016   709   EA0003   Owner Operator   ESCROW                  Weekly Escrow                         100
     12/31/2016   709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                          200
     12/31/2016   709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
     12/31/2016   709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                       385.42
     12/31/2016   709   EA0003   Owner Operator   Tire Purchase           PO: 709-00342336 - PO System        229.24
     12/31/2016   709   EA0003   Owner Operator   Tractor Charge          16439 - 33051                       555.56
     12/31/2016   709   EE0011   Owner Operator   Communication Charge    PNet Hware 32910                        13
     12/31/2016   709   EE0011   Owner Operator   Communication Charge    PNet Hware 32910                       -13
     12/31/2016   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance                          300
     12/31/2016   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance Fee                         3
     12/31/2016   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                        369.1
     12/31/2016   709   EE0011   Owner Operator   Tractor Charge          14619 - 32910                       505.27
     12/31/2016   709   EG0062   Owner Operator   Communication Charge    PNet Hware 33828                        -8
     12/31/2016   709   EG0062   Owner Operator   Communication Charge    PNet Hware 33828                         8
     12/31/2016   709   EG0062   Owner Operator   ESCROW                  Weekly Escrow                           50
     12/31/2016   709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                       497.27
     12/31/2016   709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                       128.75
     12/31/2016   709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                       198.17
     12/31/2016   709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                       425.18
     12/31/2016   709   EG0062   Owner Operator   Tractor Charge          dbt wk 12/29 #17105                 350.36
     12/31/2016   709   FS0039   Owner Operator   Communication Charge    PNet Hware 33040                        -8
     12/31/2016   709   FS0039   Owner Operator   Communication Charge    PNet Hware 33040                         8
     12/31/2016   709   FS0039   Owner Operator   ESCROW                  Weekly Escrow                           50
     12/31/2016   709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                       344.73
     12/31/2016   709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                       174.25
     12/31/2016   709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                       305.78
     12/31/2016   709   FT0004   Owner Operator   Communication Charge    PNet Hware 73129                       -13
     12/31/2016   709   FT0004   Owner Operator   Communication Charge    PNet Hware 73129                        13
     12/31/2016   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance                          130
     12/31/2016   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance                          300
     12/31/2016   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                         3
     12/31/2016   709   FT0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                       1.3
     12/31/2016   709   FT0004   Owner Operator   Fuel Purchase           Fuel Purchase                       219.78
     12/31/2016   709   FT0004   Owner Operator   Highway Use Tax         HUTC:2017 - 73129                    10.58
     12/31/2016   709   FT0004   Owner Operator   IRP License Deduction   LCIL:2016 - 73129                    34.17
     12/31/2016   709   FT0004   Owner Operator   Truck Payment           CTMS - 198025 73129                 181.08
     12/31/2016   709   FV0001   Owner Operator   Communication Charge    PNet Hware 21521B                       13
     12/31/2016   709   FV0001   Owner Operator   Communication Charge    PNet Hware 21521B                      -13
     12/31/2016   709   FV0001   Owner Operator   Fuel Card Advances      Cash Advance                          200
     12/31/2016   709   FV0001   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
     12/31/2016   709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                       252.99
     12/31/2016   709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                       490.37
     12/31/2016   709   FV0001   Owner Operator   Toll Charges            CA 21521B      Bay Bridge               25
     12/31/2016   709   GS0015   Owner Operator   Communication Charge    PNet Hware Q1110                       -13
     12/31/2016   709   GS0015   Owner Operator   Communication Charge    PNet Hware Q1110                        13
     12/31/2016   709   GS0015   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 1-7      -3195.85
     12/31/2016   709   GS0015   Owner Operator   Fuel Purchase           Fuel Purchase                       272.65
     12/31/2016   709   GS0015   Owner Operator   Truck Payment           CTMS - 198025 Lease                 252.11
     12/31/2016   709   HG0007   Owner Operator   Communication Charge    PNet Hware 33180                        13
     12/31/2016   709   HG0007   Owner Operator   Communication Charge    PNet Hware 33180                       -13
     12/31/2016   709   HG0007   Owner Operator   ESCROW                  Weekly Escrow                           50
     12/31/2016   709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance                          100
     12/31/2016   709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
     12/31/2016   709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                        354.5
     12/31/2016   709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                       240.29
     12/31/2016   709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                       241.74
     12/31/2016   709   HG0027   Owner Operator   Communication Charge    PNet Hware 33418                        13
     12/31/2016   709   HG0027   Owner Operator   Communication Charge    PNet Hware 33418                       -13
     12/31/2016   709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                        306.2
     12/31/2016   709   IR0002   Owner Operator   Tractor Charge          14461 - 32901                       521.95
     12/31/2016   709   JC0292   Owner Operator   Communication Charge    PNet Hware q1210                       -13
     12/31/2016   709   JC0292   Owner Operator   Communication Charge    PNet Hware q1210                        13
     12/31/2016   709   JC0292   Owner Operator   ESCROW                  Weekly Escrow                         400
     12/31/2016   709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                       218.56
     12/31/2016   709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                       200.24
     12/31/2016   709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                       526.41
     12/31/2016   709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                        215.2
     12/31/2016   709   JC0292   Owner Operator   Loan Repayment          Loan # 00002 - Loan Repayment       272.93
     12/31/2016   709   JC0292   Owner Operator   Tractor Charge          51362 - Q1210                       458.72
     12/31/2016   709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                       -13
     12/31/2016   709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                        13

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     12/31/2016   709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                        13
     12/31/2016   709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                        13
     12/31/2016   709   JG0017   Owner Operator   ESCROW                  Escrow Withdrawal                    -2000
     12/31/2016   709   JG0017   Owner Operator   ESCROW                  Weekly Escrow                          500
     12/31/2016   709   JG0017   Owner Operator   ESCROW                  Weekly Escrow                        65.65
     12/31/2016   709   JG0017   Owner Operator   Express Check           T-Check Payment                       2000
     12/31/2016   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                           300
     12/31/2016   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                         3
     12/31/2016   709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                       228.19
     12/31/2016   709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                       343.79
     12/31/2016   709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                       265.87
     12/31/2016   709   JG0017   Owner Operator   Tractor Charge          14298 - 32908                        504.6
     12/31/2016   709   JG0072   Owner Operator   Communication Charge    PNet Hware 32909                       -13
     12/31/2016   709   JG0072   Owner Operator   Communication Charge    PNet Hware 32909                        13
     12/31/2016   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                           300
     12/31/2016   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                           200
     12/31/2016   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
     12/31/2016   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                         3
     12/31/2016   709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                        438.8
     12/31/2016   709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                       385.02
     12/31/2016   709   JG0072   Owner Operator   Tractor Charge          14534 - 32909                       513.26
     12/31/2016   709   JG0092   Owner Operator   Communication Charge    PNet Hware 33669                        -8
     12/31/2016   709   JG0092   Owner Operator   Communication Charge    PNet Hware 33669                         8
     12/31/2016   709   JG0092   Owner Operator   ESCROW                  Weekly Escrow                          250
     12/31/2016   709   JG0092   Owner Operator   Fuel Purchase           Fuel Purchase                       223.14
     12/31/2016   709   JQ0015   Owner Operator   Accident Claim          12/16/16 JQ0015 Accident            705.05
     12/31/2016   709   JQ0015   Owner Operator   Communication Charge    PNet Hware 33438                       -13
     12/31/2016   709   JQ0015   Owner Operator   Communication Charge    PNet Hware 33438                        13
     12/31/2016   709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                       240.17
     12/31/2016   709   JQ0015   Owner Operator   Repair Order            CTMS - 198053 Repair                    70
     12/31/2016   709   JR0099   Owner Operator   Communication Charge    PNet Hware Q1203                        13
     12/31/2016   709   JR0099   Owner Operator   Communication Charge    PNet Hware Q1203                       -13
     12/31/2016   709   JR0099   Owner Operator   Fuel Purchase           Fuel Purchase                       332.19
     12/31/2016   709   JR0099   Owner Operator   Repair Order            CTMS - 198024 Inv 007-70623 Cu      255.61
     12/31/2016   709   JR0099   Owner Operator   Truck Payment           CTMS - 198018 Truck Lease           278.76
     12/31/2016   709   JS0265   Owner Operator   Communication Charge    PNet Hware 33325                        13
     12/31/2016   709   JS0265   Owner Operator   Communication Charge    PNet Hware 33325                       -13
     12/31/2016   709   JS0265   Owner Operator   ESCROW                  Weekly Escrow                          100
     12/31/2016   709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                           200
     12/31/2016   709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                           200
     12/31/2016   709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
     12/31/2016   709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
     12/31/2016   709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                       415.99
     12/31/2016   709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                       427.22
     12/31/2016   709   KP0004   Owner Operator   Communication Charge    PNet Hware 32914                        13
     12/31/2016   709   KP0004   Owner Operator   Communication Charge    PNet Hware 32914                       -13
     12/31/2016   709   KP0004   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 12-24           45
     12/31/2016   709   KP0004   Owner Operator   ESCROW                  Weekly Escrow                          250
     12/31/2016   709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                         70.02
     12/31/2016   709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                       0.7
     12/31/2016   709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                          400
     12/31/2016   709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                          256
     12/31/2016   709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                          220
     12/31/2016   709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                        60.03
     12/31/2016   709   KP0004   Owner Operator   Repair Order            CTMS - 198052 Repair                 236.2
     12/31/2016   709   KP0004   Owner Operator   Tractor Charge          14457 - 32914                       519.59
     12/31/2016   709   LL0160   Owner Operator   Communication Charge    PNet Hware Q1111                         8
     12/31/2016   709   LL0160   Owner Operator   Communication Charge    PNet Hware Q1111                        -8
     12/31/2016   709   LL0160   Owner Operator   Truck Payment           CTMS - 198080 Lease Q1111           252.11
     12/31/2016   709   LS0023   Owner Operator   Communication Charge    PNet Hware 33655                        13
     12/31/2016   709   LS0023   Owner Operator   Communication Charge    PNet Hware 33655                       -13
     12/31/2016   709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                       197.99
     12/31/2016   709   LS0023   Owner Operator   Toll Charges            CA 33655 Bay Bridge                     25
     12/31/2016   709   MB0048   Owner Operator   Communication Charge    PNet Hware 21727b                       13
     12/31/2016   709   MB0048   Owner Operator   Communication Charge    PNet Hware 21727b                      -13
     12/31/2016   709   ME0053   Owner Operator   Communication Charge    PNet Hware Q1113                         8
     12/31/2016   709   ME0053   Owner Operator   Communication Charge    PNet Hware Q1113                        -8
     12/31/2016   709   ME0053   Owner Operator   ESCROW                  Weekly Escrow                           50
     12/31/2016   709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                        39.22
     12/31/2016   709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                       227.95
     12/31/2016   709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                       371.84
     12/31/2016   709   ME0053   Owner Operator   Toll Charges            CA Q1113       Carquinez Brid           25
     12/31/2016   709   ME0053   Owner Operator   Toll Charges            CA Q1113       Carquinez Brid           25

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     12/31/2016   709   ME0053   Owner Operator   Truck Payment                  CTMS - 198024 Q1113 Lease           252.11
     12/31/2016   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       375.34
     12/31/2016   709   MG0067   Owner Operator   Repair Order                   CTMS - 198052 Parts                     51
     12/31/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
     12/31/2016   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       -13
     12/31/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       219.35
     12/31/2016   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.2
     12/31/2016   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       260.53
     12/31/2016   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
     12/31/2016   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                        13
     12/31/2016   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                       -13
     12/31/2016   709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/31/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.14
     12/31/2016   709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.14
     12/31/2016   709   MM0103   Owner Operator   IRP License Deduction          LCIL:2016 - 33889                     100
     12/31/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
     12/31/2016   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       -13
     12/31/2016   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
     12/31/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                          280
     12/31/2016   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
     12/31/2016   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       508.86
     12/31/2016   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
     12/31/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       -13
     12/31/2016   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
     12/31/2016   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
     12/31/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.58
     12/31/2016   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.76
     12/31/2016   709   NB0029   Owner Operator   Truck Payment                  CTMS - 198085 Lease                 215.66
     12/31/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
     12/31/2016   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      -13
     12/31/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            40
     12/31/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          160
     12/31/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
     12/31/2016   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
     12/31/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.23
     12/31/2016   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       105.93
     12/31/2016   709   NG0005   Owner Operator   Repair Order                   CTMS - 198052 Parts                  107.4
     12/31/2016   709   NR0010   Owner Operator   BOBTAIL INS.                   Q1106 2011 Freightliner NTL           8.75
     12/31/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                       -13
     12/31/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
     12/31/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
     12/31/2016   709   NR0010   Owner Operator   Communication Charge           PNet Hware Q1106                        13
     12/31/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                         250
     12/31/2016   709   NR0010   Owner Operator   ESCROW                         Weekly Escrow                         250
     12/31/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/31/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/31/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/31/2016   709   NR0010   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/31/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.44
     12/31/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.51
     12/31/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.61
     12/31/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.38
     12/31/2016   709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.47
     12/31/2016   709   NR0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/31/2016   709   NR0010   Owner Operator   PHYSICAL DAMAGE                Q1106 2011 Freightliner PD           39.04
     12/31/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 197832 Tractor Sublease      252.11
     12/31/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 197853 Tractor payment       282.95
     12/31/2016   709   NR0010   Owner Operator   Truck Payment                  CTMS - 198017 Tractor Sublease      252.11
     12/31/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
     12/31/2016   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                       -13
     12/31/2016   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/31/2016   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
     12/31/2016   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
     12/31/2016   709   NT9564   Owner Operator   Truck Payment                  CTMS - 198024 Truck 73130 Leas      196.65
     12/31/2016   709   RC0030   Owner Operator   Repair Order                   CTMS - 198053 57118 Lights          -39.98
     12/31/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
     12/31/2016   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     12/31/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       199.65
     12/31/2016   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.83
     12/31/2016   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
     12/31/2016   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                         100
     12/31/2016   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                          500
     12/31/2016   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5

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     12/31/2016   709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                       349.99
     12/31/2016   709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                       148.88
     12/31/2016   709   RL0017   Owner Operator   Tractor Charge          35015 - 33065                       529.05
     12/31/2016   709   RL0062   Owner Operator   Communication Charge    PNet Hware 32912                        13
     12/31/2016   709   RL0062   Owner Operator   Communication Charge    PNet Hware 32912                       -13
     12/31/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                          100
     12/31/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                          100
     12/31/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
     12/31/2016   709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
     12/31/2016   709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                        401.5
     12/31/2016   709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                       414.02
     12/31/2016   709   RL0062   Owner Operator   Repair Order            CTMS - 198052 Repair                219.26
     12/31/2016   709   RL0062   Owner Operator   Tractor Charge          14460 - 32912                       512.16
     12/31/2016   709   RM0026   Owner Operator   Communication Charge    PNet Hware 33664                        13
     12/31/2016   709   RM0026   Owner Operator   Communication Charge    PNet Hware 33664                       -13
     12/31/2016   709   RP0082   Owner Operator   Communication Charge    PNet Hware Q1202                       -13
     12/31/2016   709   RP0082   Owner Operator   Communication Charge    PNet Hware Q1202                        13
     12/31/2016   709   RP0082   Owner Operator   Fuel Purchase           Fuel Purchase                       141.99
     12/31/2016   709   RP0082   Owner Operator   Fuel Purchase           Fuel Purchase                       150.06
     12/31/2016   709   RP0082   Owner Operator   Truck Payment           CTMS - 198018 Q1202 Truck Leas      278.76
     12/31/2016   709   RR0123   Owner Operator   Communication Charge    PNet Hware Q1248                         8
     12/31/2016   709   RR0123   Owner Operator   Communication Charge    PNet Hware Q1248                        -8
     12/31/2016   709   RR0123   Owner Operator   Fuel Card Advances      Cash Advance                          100
     12/31/2016   709   RR0123   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
     12/31/2016   709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                       342.09
     12/31/2016   709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                       379.73
     12/31/2016   709   SB0009   Owner Operator   Communication Charge    PNet Hware 33236                       -13
     12/31/2016   709   SB0009   Owner Operator   Communication Charge    PNet Hware 33236                        13
     12/31/2016   709   SB0009   Owner Operator   ESCROW                  Weekly Escrow                         200
     12/31/2016   709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance                          200
     12/31/2016   709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
     12/31/2016   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                       280.02
     12/31/2016   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                        251.2
     12/31/2016   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                       351.97
     12/31/2016   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                       307.74
     12/31/2016   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                       205.27
     12/31/2016   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                       283.21
     12/31/2016   709   SB0009   Owner Operator   Tire Purchase           PO: 709-00344066 - PO System        160.34
     12/31/2016   709   SB0009   Owner Operator   Tractor Charge          19100 - 33236                       564.33
     12/31/2016   709   SN0019   Owner Operator   Communication Charge    PNet Hware 33461                        13
     12/31/2016   709   SN0019   Owner Operator   Communication Charge    PNet Hware 33461                       -13
     12/31/2016   709   VB0015   Owner Operator   Communication Charge    PNet Hware Q1112                         8
     12/31/2016   709   VB0015   Owner Operator   Communication Charge    PNet Hware Q1112                        -8
     12/31/2016   709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                         408
     12/31/2016   709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                         394
     12/31/2016   709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                        98.91
     12/31/2016   709   VB0015   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment        256.3
     12/31/2016   709   VB0015   Owner Operator   Truck Payment           CTMS - 197993 Tractor Sub leas      242.03
     12/31/2016   709   VB0015   Owner Operator   Truck Payment           CTMS - 198121 Tractor Sub leas      242.03
     12/31/2016   709   VJ0006   Owner Operator   Accident Claim          Claim 62566 s/u pmts                 72.09
     12/31/2016   709   VJ0006   Owner Operator   Communication Charge    PNet Hware 32945                       -13
     12/31/2016   709   VJ0006   Owner Operator   Communication Charge    PNet Hware 32945                        13
     12/31/2016   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                          100
     12/31/2016   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                          200
     12/31/2016   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
     12/31/2016   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
     12/31/2016   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                       301.16
     12/31/2016   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                       375.36
     12/31/2016   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         222
     12/31/2016   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                       155.03
     12/31/2016   709   VJ0006   Owner Operator   Repair Order            TRACTOR 32945                        31.25
     12/31/2016   709   VJ0006   Owner Operator   Tractor Charge          16453 - 32945                        375.9
     12/31/2016   709   WB0062   Owner Operator   Communication Charge    PNet Hware 33407                        13
     12/31/2016   709   WB0062   Owner Operator   Communication Charge    PNet Hware 33407                       -13
     12/31/2016   709   WH0087   Owner Operator   Communication Charge    PNet Hware q1239                        -8
     12/31/2016   709   WH0087   Owner Operator   Communication Charge    PNet Hware q1239                         8
     12/31/2016   709   WH0087   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 12-24           35
     12/31/2016   709   WH0087   Owner Operator   Fuel Card Advances      Cash Advance                            40
     12/31/2016   709   WH0087   Owner Operator   Fuel Card Advances      Cash Advance Fee                       0.4
     12/31/2016   709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                       261.11
     12/31/2016   709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                       336.05
     12/31/2016   709   WH0087   Owner Operator   Highway Use Tax         HUTC:2017 - Q1239                    10.58
     12/31/2016   709   WH0087   Owner Operator   IRP License Deduction   LCIL:2016 - Q1239                    34.17

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     12/31/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
     12/31/2016   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                       -13
     12/31/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/31/2016   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/31/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.51
     12/31/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.32
     12/31/2016   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.93
     12/31/2016   742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                        -8
     12/31/2016   742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                         8
     12/31/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
     12/31/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                       -13
     12/31/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
     12/31/2016   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
     12/31/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.57
     12/31/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       475.12
     12/31/2016   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       126.92
     12/31/2016   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        38.48
     12/31/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.54
     12/31/2016   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
     12/31/2016   742   BS0078   Owner Operator   Toll Charges                   33471     TX Ship Channel B            3.5
     12/31/2016   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                       -13
     12/31/2016   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                        13
     12/31/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                       -8
     12/31/2016   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
     12/31/2016   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.2
     12/31/2016   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
     12/31/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                       -13
     12/31/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
     12/31/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
     12/31/2016   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
     12/31/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/31/2016   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/31/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        19.69
     12/31/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
     12/31/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
     12/31/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        484.3
     12/31/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       413.14
     12/31/2016   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         16.4
     12/31/2016   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/31/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.29
     12/31/2016   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
     12/31/2016   742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00343109 - PO System        203.91
     12/31/2016   742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00343109 - PO System        203.91
     12/31/2016   742   DA0067   Owner Operator   Toll Charges                   CA 33847 Bay Bridge                     25
     12/31/2016   742   DA0067   Owner Operator   Toll Charges                   CA 33847 Carquinez Bridge               25
     12/31/2016   742   DA0067   Owner Operator   Toll Charges                   CA 33847 Carquinez Bridge               25
     12/31/2016   742   DA0067   Owner Operator   Toll Charges                   CA 33847 Carquinez Bridge               25
     12/31/2016   742   DA0067   Owner Operator   Toll Charges                   CA 33847 Richmond                       25
     12/31/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                       -13
     12/31/2016   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
     12/31/2016   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.99
     12/31/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                       -13
     12/31/2016   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
     12/31/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
     12/31/2016   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                       -13
     12/31/2016   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/31/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       242.36
     12/31/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.59
     12/31/2016   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.46
     12/31/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
     12/31/2016   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                      -13
     12/31/2016   742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/31/2016   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         200
     12/31/2016   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.18
     12/31/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
     12/31/2016   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                       -13
     12/31/2016   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       136.85
     12/31/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/31/2016   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/31/2016   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        13
     12/31/2016   742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                       -13
     12/31/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/31/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200

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     12/31/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/31/2016   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/31/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.1
     12/31/2016   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.73
     12/31/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/31/2016   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/31/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     12/31/2016   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
     12/31/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         4.65
     12/31/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       454.78
     12/31/2016   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       405.86
     12/31/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                       -13
     12/31/2016   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
     12/31/2016   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                  20.17
     12/31/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
     12/31/2016   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                        -8
     12/31/2016   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
     12/31/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                          500
     12/31/2016   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
     12/31/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         350
     12/31/2016   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         200
     12/31/2016   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
     12/31/2016   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
     12/31/2016   742   MT0112   Owner Operator   Toll Charges                   CA Q1247 Bay Bridge                      6
     12/31/2016   742   MT0112   Owner Operator   Truck Payment                  CTMS - 198024 Q1247 Sub Lease       311.97
     12/31/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
     12/31/2016   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                       -13
     12/31/2016   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                         17.14
     12/31/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       612.49
     12/31/2016   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.96
     12/31/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
     12/31/2016   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                       -13
     12/31/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       13
     12/31/2016   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                      -13
     12/31/2016   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
     12/31/2016   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     58.6
     12/31/2016   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
     12/31/2016   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
     12/31/2016   844   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
     12/31/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     12/31/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     12/31/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     12/31/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     12/31/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     12/31/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     12/31/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     12/31/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
     12/31/2016   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                       -13
     12/31/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/31/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
     12/31/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
     12/31/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
     12/31/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/31/2016   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
     12/31/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.54
     12/31/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.45
     12/31/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.05
     12/31/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.32
     12/31/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       234.99
     12/31/2016   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.9
     12/31/2016   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
     12/31/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.96
     12/31/2016   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
     12/31/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
     12/31/2016   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
       1/7/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
       1/7/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
       1/7/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            60
       1/7/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.6
       1/7/2017   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.05
       1/7/2017   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.15
       1/7/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       1/7/2017   709   AN0007   Owner Operator   Permits                        ID06:2017 - 21157A                      11

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      1/7/2017    709   AN0007   Owner Operator   Permits                        IL02:2017 - 21157A                    3.75
      1/7/2017    709   AN0007   Owner Operator   Permits                        NM07:2017 - 21157A                     5.5
      1/7/2017    709   AN0007   Owner Operator   Permits                        OR16:2017 - 21157A                       8
      1/7/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      1/7/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      1/7/2017    709   AR0064   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              46.69
      1/7/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      1/7/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      1/7/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.13
      1/7/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.05
      1/7/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.37
      1/7/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.5
      1/7/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.01
      1/7/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      1/7/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      1/7/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      1/7/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 198055 Q13169 Sublease       352.68
      1/7/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 198202 Q13169 Sublease       352.68
      1/7/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      1/7/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      1/7/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.85
      1/7/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.43
      1/7/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.73
      1/7/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      1/7/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      1/7/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      1/7/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 198023 Q13168 sub lease      352.68
      1/7/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 198168 Q13168 sub lease      352.68
      1/7/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/7/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      1/7/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
      1/7/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       483.15
      1/7/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         405
      1/7/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   CM0119   Owner Operator   Permits                        ID06:2017 - 32920                       11
      1/7/2017    709   CM0119   Owner Operator   Permits                        IL02:2017 - 32920                     3.75
      1/7/2017    709   CM0119   Owner Operator   Permits                        NM07:2017 - 32920                      5.5
      1/7/2017    709   CM0119   Owner Operator   Permits                        OR16:2017 - 32920                        8
      1/7/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      1/7/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/7/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      1/7/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      1/7/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      1/7/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.44
      1/7/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.26
      1/7/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   CR0064   Owner Operator   Permits                        ID06:2017 - 32864                       11
      1/7/2017    709   CR0064   Owner Operator   Permits                        IL02:2017 - 32864                     3.75
      1/7/2017    709   CR0064   Owner Operator   Permits                        NM07:2017 - 32864                      5.5
      1/7/2017    709   CR0064   Owner Operator   Permits                        OR16:2017 - 32864                        8
      1/7/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      1/7/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      1/7/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      1/7/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      1/7/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                       347.14
      1/7/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   CS0091   Owner Operator   Permits                        ID06:2017 - Q1201                       11
      1/7/2017    709   CS0091   Owner Operator   Permits                        IL02:2017 - Q1201                     3.75
      1/7/2017    709   CS0091   Owner Operator   Permits                        NM07:2017 - Q1201                      5.5
      1/7/2017    709   CS0091   Owner Operator   Permits                        OR16:2017 - Q1201                        8
      1/7/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.08
      1/7/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 198167 Q1201                 278.76
      1/7/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      1/7/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                         8
      1/7/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.91
      1/7/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.99
      1/7/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.12
      1/7/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      1/7/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.2
      1/7/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      1/7/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      1/7/2017    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-14      -461.95
      1/7/2017    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-14      -461.95
      1/7/2017    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-14        -7.44
      1/7/2017    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-14      -461.95
      1/7/2017    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-14      -461.95
      1/7/2017    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-14      -461.95
      1/7/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       262.37
      1/7/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.48
      1/7/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       374.96
      1/7/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.97
      1/7/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                    10.58
      1/7/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                    34.17
      1/7/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       268.53
      1/7/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   DL0107   Owner Operator   Permits                        ID06:2017 - Q1245                       11
      1/7/2017    709   DL0107   Owner Operator   Permits                        IL02:2017 - Q1245                     3.75
      1/7/2017    709   DL0107   Owner Operator   Permits                        NM07:2017 - Q1245                      5.5
      1/7/2017    709   DL0107   Owner Operator   Permits                        OR16:2017 - Q1245                        8
      1/7/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      1/7/2017    709   DL0107   Owner Operator   Tire Fee                       Tire Fee: 1981366                        8
      1/7/2017    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00345068 - PO System        210.64
      1/7/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 198010 Sublease              338.99
      1/7/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 198151 Sublease              338.99
      1/7/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                  18.38
      1/7/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/7/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      1/7/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      1/7/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/7/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       440.96
      1/7/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   DS0049   Owner Operator   Permits                        ID06:2017 - 32915                       11
      1/7/2017    709   DS0049   Owner Operator   Permits                        IL02:2017 - 32915                     3.75
      1/7/2017    709   DS0049   Owner Operator   Permits                        NM07:2017 - 32915                      5.5
      1/7/2017    709   DS0049   Owner Operator   Permits                        OR16:2017 - 32915                        8
      1/7/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      1/7/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      1/7/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      1/7/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-14         -124
      1/7/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       394.36
      1/7/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   DS0225   Owner Operator   Permits                        CUST:2017 - 33320                   401.67
      1/7/2017    709   DS0225   Owner Operator   Permits                        IL02:2017 - 33320                     3.75
      1/7/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    39.07
      1/7/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      1/7/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      1/7/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                        8.75
      1/7/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      1/7/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      1/7/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      1/7/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                        13
      1/7/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         40.1
      1/7/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.35
      1/7/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       274.34
      1/7/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.72
      1/7/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.47
      1/7/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       247.14
      1/7/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          218
      1/7/2017    709   DW0138   Owner Operator   Miscellaneous                  IL title work fee                       95
      1/7/2017    709   DW0138   Owner Operator   Miscellaneous                  title work admin fee                    10
      1/7/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.74
      1/7/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      1/7/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        55.75
      1/7/2017    709   DW0138   Owner Operator   Permits                        ID06:2017 - 33443                       11
      1/7/2017    709   DW0138   Owner Operator   Permits                        IL02:2017 - 33443                     3.75
      1/7/2017    709   DW0138   Owner Operator   Permits                        NM07:2017 - 33443                      5.5
      1/7/2017    709   DW0138   Owner Operator   Permits                        OR16:2017 - 33443                        8
      1/7/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      1/7/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.52
      1/7/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        68.49
      1/7/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                       463.27

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      1/7/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      1/7/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        105.19
      1/7/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      1/7/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/7/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      1/7/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      1/7/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/7/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/7/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        499.67
      1/7/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/7/2017    709   EA0003   Owner Operator   Permits                        ID06:2017 - 33051                        11
      1/7/2017    709   EA0003   Owner Operator   Permits                        IL02:2017 - 33051                      3.75
      1/7/2017    709   EA0003   Owner Operator   Permits                        NM07:2017 - 33051                       5.5
      1/7/2017    709   EA0003   Owner Operator   Permits                        OR16:2017 - 33051                         8
      1/7/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      1/7/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      1/7/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/7/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/7/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      1/7/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.87
      1/7/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.29
      1/7/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/7/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.92
      1/7/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                          130
      1/7/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  8.75
      1/7/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                          8
      1/7/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/7/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         90.12
      1/7/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.21
      1/7/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/7/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                  42.19
      1/7/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism          2.5
      1/7/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 1/5 #17105                    350.36
      1/7/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL            8.75
      1/7/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
      1/7/2017    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/7/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.62
      1/7/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.86
      1/7/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          181
      1/7/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        194.34
      1/7/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/7/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            76.88
      1/7/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 198053 truck lease 3304       434.29
      1/7/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 198200 truck lease 3304       434.29
      1/7/2017    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL            8.75
      1/7/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/7/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      1/7/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         90.72
      1/7/2017    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                     10.58
      1/7/2017    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                     34.17
      1/7/2017    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/7/2017    709   FT0004   Owner Operator   Permits                        ID06:2017 - 73129                        11
      1/7/2017    709   FT0004   Owner Operator   Permits                        IL02:2017 - 73129                      3.75
      1/7/2017    709   FT0004   Owner Operator   Permits                        NM07:2017 - 73129                       5.5
      1/7/2017    709   FT0004   Owner Operator   Permits                        OR16:2017 - 73129                         8
      1/7/2017    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.52
      1/7/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      1/7/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      1/7/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/7/2017    709   FV0001   Owner Operator   Permits                        ID06:2017 - 21521B                       11
      1/7/2017    709   FV0001   Owner Operator   Permits                        IL02:2017 - 21521B                     3.75
      1/7/2017    709   FV0001   Owner Operator   Permits                        NM07:2017 - 21521B                      5.5
      1/7/2017    709   FV0001   Owner Operator   Permits                        OR16:2017 - 21521B                        8
      1/7/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
      1/7/2017    709   GS0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-31       1072.48
      1/7/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      1/7/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      1/7/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/7/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/7/2017    709   HG0007   Owner Operator   Permits                        ID06:2017 - 33180                        11
      1/7/2017    709   HG0007   Owner Operator   Permits                        IL02:2017 - 33180                      3.75
      1/7/2017    709   HG0007   Owner Operator   Permits                        NM07:2017 - 33180                       5.5
      1/7/2017    709   HG0007   Owner Operator   Permits                        OR16:2017 - 33180                         8

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      1/7/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      1/7/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/7/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      1/7/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                         100
      1/7/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                         100
      1/7/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       228.15
      1/7/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       484.81
      1/7/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   HG0027   Owner Operator   Permits                        ID06:2017 - 33418                       11
      1/7/2017    709   HG0027   Owner Operator   Permits                        IL02:2017 - 33418                     3.75
      1/7/2017    709   HG0027   Owner Operator   Permits                        NM07:2017 - 33418                      5.5
      1/7/2017    709   HG0027   Owner Operator   Permits                        OR16:2017 - 33418                        8
      1/7/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      1/7/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      1/7/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/7/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                          31.1
      1/7/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.31
      1/7/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.63
      1/7/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   IR0002   Owner Operator   Permits                        CUST:2017 - 32901                   401.67
      1/7/2017    709   IR0002   Owner Operator   Permits                        IL02:2017 - 32901                     3.75
      1/7/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      1/7/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/7/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      1/7/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      1/7/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      1/7/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      1/7/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      1/7/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        536.1
      1/7/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       466.15
      1/7/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       272.93
      1/7/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   JC0292   Owner Operator   Permits                        CUST:2017 - Q1210                   401.67
      1/7/2017    709   JC0292   Owner Operator   Permits                        ID06:2017 - Q1210                       11
      1/7/2017    709   JC0292   Owner Operator   Permits                        IL02:2017 - Q1210                     3.75
      1/7/2017    709   JC0292   Owner Operator   Permits                        NM07:2017 - Q1210                      5.5
      1/7/2017    709   JC0292   Owner Operator   Permits                        OR16:2017 - Q1210                        8
      1/7/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      1/7/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      1/7/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/7/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      1/7/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      1/7/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      1/7/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/7/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        396.5
      1/7/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   JG0017   Owner Operator   Permits                        ID06:2017 - 32908                       11
      1/7/2017    709   JG0017   Owner Operator   Permits                        IL02:2017 - 32908                     3.75
      1/7/2017    709   JG0017   Owner Operator   Permits                        NM07:2017 - 32908                      5.5
      1/7/2017    709   JG0017   Owner Operator   Permits                        OR16:2017 - 32908                        8
      1/7/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      1/7/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      1/7/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/7/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      1/7/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      1/7/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/7/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/7/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/7/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       513.12
      1/7/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.07
      1/7/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   JG0072   Owner Operator   Permits                        ID06:2017 - 32909                       11
      1/7/2017    709   JG0072   Owner Operator   Permits                        IL02:2017 - 32909                     3.75
      1/7/2017    709   JG0072   Owner Operator   Permits                        NM07:2017 - 32909                      5.5
      1/7/2017    709   JG0072   Owner Operator   Permits                        OR16:2017 - 32909                        8
      1/7/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      1/7/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      1/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      1/7/2017    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      1/7/2017    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         250
      1/7/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.94
      1/7/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       555.88
      1/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      1/7/2017    709   JG0092   Owner Operator   Permits                        ID06:2017 - 33669                        11
      1/7/2017    709   JG0092   Owner Operator   Permits                        IL02:2017 - 33669                      3.75
      1/7/2017    709   JG0092   Owner Operator   Permits                        NM07:2017 - 33669                       5.5
      1/7/2017    709   JG0092   Owner Operator   Permits                        OR16:2017 - 33669                         8
      1/7/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      61.7
      1/7/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      1/7/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      1/7/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.08
      1/7/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/7/2017    709   JQ0015   Owner Operator   Permits                        IL02:2017 - 33438                      3.75
      1/7/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      1/7/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      1/7/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      1/7/2017    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-14        -51.94
      1/7/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.89
      1/7/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/7/2017    709   JR0099   Owner Operator   Permits                        IL02:2017 - Q1203                      3.75
      1/7/2017    709   JR0099   Owner Operator   Permits                        NM07:2017 - Q1203                       5.5
      1/7/2017    709   JR0099   Owner Operator   Permits                        OR16:2017 - Q1203                         8
      1/7/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      1/7/2017    709   JR0099   Owner Operator   Repair Order                   CTMS - 198169 Inv 007-70623 Cu       255.61
      1/7/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 198163 Truck Lease            278.76
      1/7/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      1/7/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      1/7/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      1/7/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      1/7/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/7/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/7/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/7/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/7/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.8
      1/7/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.08
      1/7/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.1
      1/7/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/7/2017    709   JS0265   Owner Operator   Permits                        ID06:2017 - 33325                        11
      1/7/2017    709   JS0265   Owner Operator   Permits                        IL02:2017 - 33325                      3.75
      1/7/2017    709   JS0265   Owner Operator   Permits                        NM07:2017 - 33325                       5.5
      1/7/2017    709   JS0265   Owner Operator   Permits                        OR16:2017 - 33325                         8
      1/7/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      1/7/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      1/7/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/7/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      1/7/2017    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-14       -600.49
      1/7/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      1/7/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/7/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/7/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        175.15
      1/7/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          128
      1/7/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        268.18
      1/7/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         39.89
      1/7/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/7/2017    709   KP0004   Owner Operator   Permits                        ID06:2017 - 32914                        11
      1/7/2017    709   KP0004   Owner Operator   Permits                        IL02:2017 - 32914                      3.75
      1/7/2017    709   KP0004   Owner Operator   Permits                        NM07:2017 - 32914                       5.5
      1/7/2017    709   KP0004   Owner Operator   Permits                        OR16:2017 - 32914                         8
      1/7/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32
      1/7/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      1/7/2017    709   KP0004   Owner Operator   Tire Fee                       Tire Fee: 1981807                         4
      1/7/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00344469 - PO System          91.02
      1/7/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      1/7/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      1/7/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      1/7/2017    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/7/2017    709   LL0160   Owner Operator   Permits                        ID06:2017 - Q1111                        11
      1/7/2017    709   LL0160   Owner Operator   Permits                        NM07:2017 - Q1111                       5.5
      1/7/2017    709   LL0160   Owner Operator   Permits                        OR16:2017 - Q1111                         8
      1/7/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      1/7/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 198229 Lease Q1111            252.11
      1/7/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      1/7/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      1/7/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/7/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/7/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        522.53

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      1/7/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.31
      1/7/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   LS0023   Owner Operator   Permits                        ID06:2017 - 33655                       11
      1/7/2017    709   LS0023   Owner Operator   Permits                        IL02:2017 - 33655                     3.75
      1/7/2017    709   LS0023   Owner Operator   Permits                        NM07:2017 - 33655                      5.5
      1/7/2017    709   LS0023   Owner Operator   Permits                        OR16:2017 - 33655                        8
      1/7/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      1/7/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      1/7/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      1/7/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      1/7/2017    709   MB0048   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-14       -96.84
      1/7/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       139.75
      1/7/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       149.14
      1/7/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.37
      1/7/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.29
      1/7/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       144.16
      1/7/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   MB0048   Owner Operator   Permits                        OR16:2017 - 21727B                       8
      1/7/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      1/7/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      1/7/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                         8
      1/7/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.12
      1/7/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
      1/7/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 198169 Q1113 Lease           252.11
      1/7/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      1/7/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         335
      1/7/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   MG0067   Owner Operator   Permits                        CUST:2017 - 33435                   401.67
      1/7/2017    709   MG0067   Owner Operator   Permits                        IL02:2017 - 33435                     3.75
      1/7/2017    709   MG0067   Owner Operator   Permits                        NM07:2017 - 33435                      5.5
      1/7/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      1/7/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      1/7/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      1/7/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      1/7/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/7/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/7/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/7/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/7/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.89
      1/7/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.61
      1/7/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       260.53
      1/7/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      1/7/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      1/7/2017    709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                     8.75
      1/7/2017    709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                        13
      1/7/2017    709   MM0103   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/7/2017    709   MM0103   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/7/2017    709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.77
      1/7/2017    709   MM0103   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.24
      1/7/2017    709   MM0103   Owner Operator   IRP License Deduction          LCIL:2016 - 33889                     100
      1/7/2017    709   MM0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                     28.13
      1/7/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      1/7/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      1/7/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         650
      1/7/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   MP0035   Owner Operator   Permits                        ID06:2017 - 32904                       11
      1/7/2017    709   MP0035   Owner Operator   Permits                        IL02:2017 - 32904                     3.75
      1/7/2017    709   MP0035   Owner Operator   Permits                        NM07:2017 - 32904                      5.5
      1/7/2017    709   MP0035   Owner Operator   Permits                        OR16:2017 - 32904                        8
      1/7/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      1/7/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      1/7/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      1/7/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      1/7/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      1/7/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
      1/7/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.09
      1/7/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   NB0029   Owner Operator   Permits                        ID06:2017 - Q1108                       11

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      1/7/2017    709   NB0029   Owner Operator   Permits                        IL02:2017 - Q1108                     3.75
      1/7/2017    709   NB0029   Owner Operator   Permits                        NM07:2017 - Q1108                      5.5
      1/7/2017    709   NB0029   Owner Operator   Permits                        OR16:2017 - Q1108                        8
      1/7/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      1/7/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 198234 Lease                 215.66
      1/7/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
      1/7/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
      1/7/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          160
      1/7/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
      1/7/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       277.03
      1/7/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   NG0005   Owner Operator   Permits                        ID06:2017 - 21412B                      11
      1/7/2017    709   NG0005   Owner Operator   Permits                        IL02:2017 - 21412B                    3.75
      1/7/2017    709   NG0005   Owner Operator   Permits                        NM07:2017 - 21412B                     5.5
      1/7/2017    709   NG0005   Owner Operator   Permits                        OR16:2017 - 21412B                       8
      1/7/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      1/7/2017    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         4.76
      1/7/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL           8.75
      1/7/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                        13
      1/7/2017    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
      1/7/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
      1/7/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   NT9564   Owner Operator   Permits                        IL02:2017 - 73130                     3.75
      1/7/2017    709   NT9564   Owner Operator   Permits                        NM07:2017 - 73130                      5.5
      1/7/2017    709   NT9564   Owner Operator   Permits                        OR16:2017 - 73130                        8
      1/7/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      1/7/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 198169 Truck 73130 Leas      196.65
      1/7/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
      1/7/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL               8.75
      1/7/2017    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       416.27
      1/7/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   RC0030   Owner Operator   Permits                        CUST:2017 - 33676                   401.67
      1/7/2017    709   RC0030   Owner Operator   Permits                        ID06:2017 - 33676                       11
      1/7/2017    709   RC0030   Owner Operator   Permits                        IL02:2017 - 33676                     3.75
      1/7/2017    709   RC0030   Owner Operator   Permits                        NM07:2017 - 33676                      5.5
      1/7/2017    709   RC0030   Owner Operator   Permits                        OR16:2017 - 33676                        8
      1/7/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      1/7/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
      1/7/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      1/7/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori         2.5
      1/7/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 198017 Down Payment lo       303.55
      1/7/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 198162 Down Payment lo       303.55
      1/7/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      1/7/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/7/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
      1/7/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/7/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.93
      1/7/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        189.7
      1/7/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   RC0089   Owner Operator   Permits                        CUST:2017 - 32986                   401.67
      1/7/2017    709   RC0089   Owner Operator   Permits                        ID06:2017 - 32986                       11
      1/7/2017    709   RC0089   Owner Operator   Permits                        IL02:2017 - 32986                     3.75
      1/7/2017    709   RC0089   Owner Operator   Permits                        NM07:2017 - 32986                      5.5
      1/7/2017    709   RC0089   Owner Operator   Permits                        OR16:2017 - 32986                        8
      1/7/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      1/7/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      1/7/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      1/7/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/7/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-14       -93.75
      1/7/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                         100
      1/7/2017    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                          250
      1/7/2017    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.5
      1/7/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.78
      1/7/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       111.48
      1/7/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.03
      1/7/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   RL0017   Owner Operator   Permits                        CUST:2017 - 21975A                  401.67
      1/7/2017    709   RL0017   Owner Operator   Permits                        CUST:2017 - 33065                   401.67
      1/7/2017    709   RL0017   Owner Operator   Permits                        ID06:2017 - 33065                       11
      1/7/2017    709   RL0017   Owner Operator   Permits                        IL02:2017 - 21975A                    3.75
      1/7/2017    709   RL0017   Owner Operator   Permits                        IL02:2017 - 33065                     3.75
      1/7/2017    709   RL0017   Owner Operator   Permits                        NM07:2017 - 33065                      5.5

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      1/7/2017    709   RL0017   Owner Operator   Permits                        OR16:2017 - 33065                        8
      1/7/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 45.32
      1/7/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 77.22
      1/7/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                       529.05
      1/7/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/7/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      1/7/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/7/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/7/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/7/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/7/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       426.74
      1/7/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       410.33
      1/7/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      1/7/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      1/7/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      1/7/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      1/7/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      1/7/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.51
      1/7/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   RM0026   Owner Operator   Permits                        ID06:2017 - 33664                       11
      1/7/2017    709   RM0026   Owner Operator   Permits                        IL02:2017 - 33664                     3.75
      1/7/2017    709   RM0026   Owner Operator   Permits                        NM07:2017 - 33664                      5.5
      1/7/2017    709   RM0026   Owner Operator   Permits                        OR16:2017 - 33664                        8
      1/7/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      1/7/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      1/7/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      1/7/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/7/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/7/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        340.3
      1/7/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.38
      1/7/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   RP0082   Owner Operator   Permits                        IL02:2017 - Q1202                     3.75
      1/7/2017    709   RP0082   Owner Operator   Permits                        NM07:2017 - Q1202                      5.5
      1/7/2017    709   RP0082   Owner Operator   Permits                        OR16:2017 - Q1202                        8
      1/7/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      1/7/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 198163 Q1202 Truck Leas      278.76
      1/7/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      1/7/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      1/7/2017    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/7/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/7/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.28
      1/7/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        402.4
      1/7/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       350.34
      1/7/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         1.26
      1/7/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.9
      1/7/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                    10.58
      1/7/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                    10.58
      1/7/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      1/7/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      1/7/2017    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       263.96
      1/7/2017    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       263.96
      1/7/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      1/7/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      1/7/2017    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00343799 - PO System        204.93
      1/7/2017    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00343799 - PO System          205
      1/7/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 198022 Q1248                 311.97
      1/7/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 198167 Q1248                 311.97
      1/7/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/7/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                        13
      1/7/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/7/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.88
      1/7/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        63.22
      1/7/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.9
      1/7/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    709   SB0009   Owner Operator   Permits                        ID06:2017 - 33236                       11
      1/7/2017    709   SB0009   Owner Operator   Permits                        IL02:2017 - 33236                     3.75
      1/7/2017    709   SB0009   Owner Operator   Permits                        NM07:2017 - 33236                      5.5
      1/7/2017    709   SB0009   Owner Operator   Permits                        OR16:2017 - 33236                        8
      1/7/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                100.98

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      1/7/2017    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00344066 - PO System          160.28
      1/7/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      1/7/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      1/7/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      1/7/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/7/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/7/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/7/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/7/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/7/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.74
      1/7/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.21
      1/7/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.6
      1/7/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/7/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/7/2017    709   SN0019   Owner Operator   Permits                        ID06:2017 - 33461                         11
      1/7/2017    709   SN0019   Owner Operator   Permits                        IL02:2017 - 33461                       3.75
      1/7/2017    709   SN0019   Owner Operator   Permits                        NM07:2017 - 33461                        5.5
      1/7/2017    709   SN0019   Owner Operator   Permits                        OR16:2017 - 33461                          8
      1/7/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      1/7/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      1/7/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      1/7/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      1/7/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.03
      1/7/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.96
      1/7/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.34
      1/7/2017    709   VB0015   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          256.3
      1/7/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/7/2017    709   VB0015   Owner Operator   Permits                        CUST:2017 - Q1112                     401.67
      1/7/2017    709   VB0015   Owner Operator   Permits                        ID06:2017 - Q1112                         11
      1/7/2017    709   VB0015   Owner Operator   Permits                        IL02:2017 - Q1112                       3.75
      1/7/2017    709   VB0015   Owner Operator   Permits                        NM07:2017 - Q1112                        5.5
      1/7/2017    709   VB0015   Owner Operator   Permits                        OR16:2017 - Q1112                          8
      1/7/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      1/7/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 198271 Tractor Sub leas        242.03
      1/7/2017    709   VJ0006   Owner Operator   Accident Claim                 Claim 62566 s/u pmts                    250
      1/7/2017    709   VJ0006   Owner Operator   Accident Claim                 Claim 62566 s/u pmts                  177.91
      1/7/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/7/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                          13
      1/7/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                        4.25
      1/7/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                          13
      1/7/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/7/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/7/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
      1/7/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
      1/7/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      1/7/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      1/7/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.64
      1/7/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.14
      1/7/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.51
      1/7/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/7/2017    709   VJ0006   Owner Operator   Permits                        ID06:2017 - 32945                         11
      1/7/2017    709   VJ0006   Owner Operator   Permits                        IL02:2017 - 32945                       3.75
      1/7/2017    709   VJ0006   Owner Operator   Permits                        NM07:2017 - 32945                        5.5
      1/7/2017    709   VJ0006   Owner Operator   Permits                        OR16:2017 - 32945                          8
      1/7/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   55.47
      1/7/2017    709   VJ0006   Owner Operator   Tractor Charge                 16453 - 32945                          375.9
      1/7/2017    709   VJ0006   Owner Operator   Truck Payment                  CTMS - 197849 Tractor Q1235             565
      1/7/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/7/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      1/7/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/7/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      1/7/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      1/7/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      1/7/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      1/7/2017    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-14      -10032.75
      1/7/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.23
      1/7/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.08
      1/7/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.16
      1/7/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      1/7/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                      34.17
      1/7/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/7/2017    709   WH0087   Owner Operator   Permits                        ID06:2017 - Q1239                         11
      1/7/2017    709   WH0087   Owner Operator   Permits                        IL02:2017 - Q1239                       3.75

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      1/7/2017    709   WH0087   Owner Operator   Permits                        NM07:2017 - Q1239                      5.5
      1/7/2017    709   WH0087   Owner Operator   Permits                        OR16:2017 - Q1239                        8
      1/7/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD              60.47
      1/7/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 198023 Q1238 Lease           311.97
      1/7/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 198168 Q1238 Lease           311.97
      1/7/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                8.75
      1/7/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                        13
      1/7/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/7/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/7/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.65
      1/7/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    742   AP0047   Owner Operator   Permits                        ID06:2017 - 32604                       11
      1/7/2017    742   AP0047   Owner Operator   Permits                        IL02:2017 - 32604                     3.75
      1/7/2017    742   AP0047   Owner Operator   Permits                        NM07:2017 - 32604                      5.5
      1/7/2017    742   AP0047   Owner Operator   Permits                        OR16:2017 - 32604                        8
      1/7/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                52.35
      1/7/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris         2.5
      1/7/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/7/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                         8
      1/7/2017    742   AS0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-24         507
      1/7/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2016 - 33912                     100
      1/7/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2016 - 33912                     100
      1/7/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    742   AS0089   Owner Operator   Permits                        ID06:2017 - 33912                       11
      1/7/2017    742   AS0089   Owner Operator   Permits                        IL02:2016 - 33912                     3.75
      1/7/2017    742   AS0089   Owner Operator   Permits                        IL02:2017 - 33912                     3.75
      1/7/2017    742   AS0089   Owner Operator   Permits                        NM07:2017 - 33912                      5.5
      1/7/2017    742   AS0089   Owner Operator   Permits                        OR16:2016 - 33912                        8
      1/7/2017    742   AS0089   Owner Operator   Permits                        OR16:2017 - 33912                        8
      1/7/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 54.69
      1/7/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/7/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      1/7/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                        13
      1/7/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        458.8
      1/7/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       411.58
      1/7/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.31
      1/7/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       201.31
      1/7/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    742   BS0078   Owner Operator   Permits                        ID06:2017 - 33471                       11
      1/7/2017    742   BS0078   Owner Operator   Permits                        IL02:2017 - 33471                     3.75
      1/7/2017    742   BS0078   Owner Operator   Permits                        NM07:2017 - 33471                      5.5
      1/7/2017    742   BS0078   Owner Operator   Permits                        OR16:2017 - 33471                        8
      1/7/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      1/7/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      1/7/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   33832 2010 Kenworth NTL               8.75
      1/7/2017    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33832         9.84
      1/7/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                        13
      1/7/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                        13
      1/7/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                        13
      1/7/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       362.26
      1/7/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD               35.15
      1/7/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                33832 2010 Kenworth PD Terrori         2.5
      1/7/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL          8.75
      1/7/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
      1/7/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.55
      1/7/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.37
      1/7/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        58.71
      1/7/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.85
      1/7/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
      1/7/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
      1/7/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
      1/7/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
      1/7/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD          82.04
      1/7/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te         2.5

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      1/7/2017    742   CT0085   Owner Operator   Toll Charges                   CA Q13171      Benicia                  25
      1/7/2017    742   CT0085   Owner Operator   Toll Charges                   CA Q13171      Carquinez Brid           25
      1/7/2017    742   CT0085   Owner Operator   Toll Charges                   CA Q13171      Carquinez Brid           25
      1/7/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171      TX Ship Channel B            7
      1/7/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171 TX Ship Channel Bridge            7
      1/7/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 198024 Sub Lease Q13171      352.68
      1/7/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 198169 Sub Lease Q13171      352.68
      1/7/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/7/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
      1/7/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.32
      1/7/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/7/2017    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00343109 - PO System        196.36
      1/7/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      1/7/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      1/7/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.54
      1/7/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       342.18
      1/7/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.69
      1/7/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.23
      1/7/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    742   ED0041   Owner Operator   Permits                        ID06:2017 - 32897                       11
      1/7/2017    742   ED0041   Owner Operator   Permits                        IL02:2017 - 32897                     3.75
      1/7/2017    742   ED0041   Owner Operator   Permits                        NM07:2017 - 32897                      5.5
      1/7/2017    742   ED0041   Owner Operator   Permits                        OR16:2017 - 32897                        8
      1/7/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      1/7/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      1/7/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         3.29
      1/7/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
      1/7/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
      1/7/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.61
      1/7/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.47
      1/7/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.13
      1/7/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
      1/7/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      1/7/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             48.66
      1/7/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL           8.75
      1/7/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       218.92
      1/7/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.87
      1/7/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD           35.16
      1/7/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter         2.5
      1/7/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      1/7/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      1/7/2017    742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    742   KJ0045   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         32.1
      1/7/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.32
      1/7/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.87
      1/7/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.36
      1/7/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    742   KJ0045   Owner Operator   Permits                        ID06:2017 - 33634                       11
      1/7/2017    742   KJ0045   Owner Operator   Permits                        IL02:2017 - 33634                     3.75
      1/7/2017    742   KJ0045   Owner Operator   Permits                        OR16:2017 - 33634                        8
      1/7/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      1/7/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      1/7/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/7/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/7/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/7/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/7/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.65
      1/7/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.18
      1/7/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        52.73
      1/7/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      1/7/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      1/7/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    742   MH0117   Owner Operator   Permits                        ID06:2017 - 33296                       11
      1/7/2017    742   MH0117   Owner Operator   Permits                        NM07:2017 - 33296                      5.5
      1/7/2017    742   MH0117   Owner Operator   Permits                        OR16:2017 - 33296                        8
      1/7/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      1/7/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5

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      1/7/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
      1/7/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                          500
      1/7/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/7/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         100
      1/7/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         100
      1/7/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         100
      1/7/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         300
      1/7/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.69
      1/7/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
      1/7/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
      1/7/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.57
      1/7/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
      1/7/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 198169 Q1247 Sub Lease       262.67
      1/7/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      1/7/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      1/7/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                         82.86
      1/7/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/7/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/7/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/7/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       439.36
      1/7/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.63
      1/7/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        208.2
      1/7/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    742   NG0024   Owner Operator   Permits                        ID06:2017 - 33252                       11
      1/7/2017    742   NG0024   Owner Operator   Permits                        IL02:2017 - 33252                     3.75
      1/7/2017    742   NG0024   Owner Operator   Permits                        NM07:2017 - 33252                      5.5
      1/7/2017    742   NG0024   Owner Operator   Permits                        OR16:2017 - 33252                        8
      1/7/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      1/7/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      1/7/2017    742   NG0024   Owner Operator   Toll Charges                   CA 33252 Carquinez Bridge               25
      1/7/2017    742   NG0024   Owner Operator   Toll Charges                   CA 33252 Carquinez Bridge               25
      1/7/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/7/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      1/7/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      1/7/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      1/7/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      1/7/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/7/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/7/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/7/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/7/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/7/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/7/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.17
      1/7/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       283.84
      1/7/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.57
      1/7/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.86
      1/7/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.28
      1/7/2017    742   PC0012   Owner Operator   Permits                        ID06:2017 - 32969                       11
      1/7/2017    742   PC0012   Owner Operator   Permits                        IL02:2017 - 32969                     3.75
      1/7/2017    742   PC0012   Owner Operator   Permits                        NM07:2017 - 32969                      5.5
      1/7/2017    742   PC0012   Owner Operator   Permits                        OR16:2017 - 32969                        8
      1/7/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      1/7/2017    742   PC0012   Owner Operator   Toll Charges                   CA 32969      Carquinez Brid            25
      1/7/2017    742   PC0012   Owner Operator   Toll Charges                   CA 32969      Carquinez Brid            25
      1/7/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       299.17
      1/7/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      1/7/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      1/7/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                    3.29
      1/7/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/7/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/7/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/7/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/7/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     58.6
      1/7/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     58.6
      1/7/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      1/7/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      1/7/2017    844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/7/2017    844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      1/7/2017    844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          140
      1/7/2017    844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          160
      1/7/2017    844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.6
      1/7/2017    844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.4

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       1/7/2017   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.71
       1/7/2017   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       364.83
       1/7/2017   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       1/7/2017   844   JK0112   Owner Operator   Permits                        IL02:2017 - 33211                     3.75
       1/7/2017   844   JK0112   Owner Operator   Permits                        NM07:2017 - 33211                      5.5
       1/7/2017   844   JK0112   Owner Operator   Permits                        OR16:2017 - 33211                        8
       1/7/2017   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
       1/7/2017   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
       1/7/2017   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      1/14/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      1/14/2017   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                 12.5
      1/14/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      1/14/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      1/14/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      1/14/2017   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      1/14/2017   709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                 12.5
      1/14/2017   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      1/14/2017   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/14/2017   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            50
      1/14/2017   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      1/14/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.72
      1/14/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.87
      1/14/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.02
      1/14/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.5
      1/14/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        15.04
      1/14/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.21
      1/14/2017   709   AV0021   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  42.23
      1/14/2017   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      1/14/2017   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      1/14/2017   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      1/14/2017   709   AV0021   Owner Operator   Truck Payment                  CTMS - 198393 Q13169 Sublease       352.68
      1/14/2017   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      1/14/2017   709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                 12.5
      1/14/2017   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      1/14/2017   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/14/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        353.6
      1/14/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       226.29
      1/14/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.55
      1/14/2017   709   CC0134   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   7.15
      1/14/2017   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      1/14/2017   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      1/14/2017   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      1/14/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 198364 Q13168 sub lease      352.68
      1/14/2017   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/14/2017   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                  12.5
      1/14/2017   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      1/14/2017   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
      1/14/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/14/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/14/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       424.05
      1/14/2017   709   CM0119   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                 121.09
      1/14/2017   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      1/14/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/14/2017   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      1/14/2017   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      1/14/2017   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                  12.5
      1/14/2017   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      1/14/2017   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.95
      1/14/2017   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        99.15
      1/14/2017   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       205.76
      1/14/2017   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.98
      1/14/2017   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       168.08
      1/14/2017   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       267.29
      1/14/2017   709   CR0064   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  15.67
      1/14/2017   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.07
      1/14/2017   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      1/14/2017   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      1/14/2017   709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                  12.5

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      1/14/2017   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                        8
      1/14/2017   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                      346.59
      1/14/2017   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      1/14/2017   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD          65.08
      1/14/2017   709   CS0091   Owner Operator   Truck Payment                  CTMS - 198363 Q1201                278.76
      1/14/2017   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                8.75
      1/14/2017   709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                 12.5
      1/14/2017   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                        8
      1/14/2017   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                          50
      1/14/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      393.73
      1/14/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      321.25
      1/14/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       299.5
      1/14/2017   709   DL0029   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                105.97
      1/14/2017   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      1/14/2017   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 34.2
      1/14/2017   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL             8.75
      1/14/2017   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                 12.5
      1/14/2017   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                       13
      1/14/2017   709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7        461.95
      1/14/2017   709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7        461.95
      1/14/2017   709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7          7.44
      1/14/2017   709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7        461.95
      1/14/2017   709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7        461.95
      1/14/2017   709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7        461.95
      1/14/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      324.48
      1/14/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      241.36
      1/14/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      250.17
      1/14/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      198.25
      1/14/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      249.45
      1/14/2017   709   DL0107   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                 142.5
      1/14/2017   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                   10.58
      1/14/2017   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                   34.17
      1/14/2017   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      268.53
      1/14/2017   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      1/14/2017   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
      1/14/2017   709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00345068 - PO System       210.64
      1/14/2017   709   DL0107   Owner Operator   Truck Payment                  CTMS - 198299 Sublease             338.99
      1/14/2017   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.38
      1/14/2017   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      1/14/2017   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                 12.5
      1/14/2017   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
      1/14/2017   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                         500
      1/14/2017   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      1/14/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      182.07
      1/14/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      468.48
      1/14/2017   709   DS0049   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                102.62
      1/14/2017   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      1/14/2017   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.35
      1/14/2017   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
      1/14/2017   709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                 32.95
      1/14/2017   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
      1/14/2017   709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7          124
      1/14/2017   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       445.6
      1/14/2017   709   DS0225   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                 -15.9
      1/14/2017   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      1/14/2017   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   39.07
      1/14/2017   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                       8.75
      1/14/2017   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                 12.5
      1/14/2017   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                       13
      1/14/2017   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      239.05
      1/14/2017   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      154.15
      1/14/2017   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      325.08
      1/14/2017   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.6
      1/14/2017   709   DW0138   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                129.01
      1/14/2017   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
      1/14/2017   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                       68.52
      1/14/2017   709   DW0138   Owner Operator   Tire Fee                       Tire Fee: 1984556                       8
      1/14/2017   709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00345891 - PO System       230.32
      1/14/2017   709   DW0138   Owner Operator   Toll Charges                   33443 ILTOLL Route 80 (West)          4.5
      1/14/2017   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                      463.27
      1/14/2017   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      1/14/2017   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                 12.5
      1/14/2017   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13

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      1/14/2017   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                         100
      1/14/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/14/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/14/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/14/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/14/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.59
      1/14/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.07
      1/14/2017   709   EA0003   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  44.56
      1/14/2017   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      1/14/2017   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      1/14/2017   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/14/2017   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                  12.5
      1/14/2017   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      1/14/2017   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                        13
      1/14/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/14/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/14/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/14/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/14/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       467.06
      1/14/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.95
      1/14/2017   709   EE0011   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   95.2
      1/14/2017   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   EE0011   Owner Operator   Permits                        ID06:2017 - 32910                       11
      1/14/2017   709   EE0011   Owner Operator   Permits                        IL02:2017 - 32910                     3.75
      1/14/2017   709   EE0011   Owner Operator   Permits                        NM07:2017 - 32910                      5.5
      1/14/2017   709   EE0011   Owner Operator   Permits                        OR16:2017 - 32910                        8
      1/14/2017   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      1/14/2017   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      1/14/2017   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       375.27
      1/14/2017   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      1/14/2017   709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                  12.5
      1/14/2017   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
      1/14/2017   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/14/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       437.05
      1/14/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       312.72
      1/14/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       167.73
      1/14/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       215.19
      1/14/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       223.02
      1/14/2017   709   EG0062   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  239.6
      1/14/2017   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
      1/14/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      1/14/2017   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 1/12 #17105                  350.36
      1/14/2017   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      1/14/2017   709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                  12.5
      1/14/2017   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      1/14/2017   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/14/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        340.1
      1/14/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.58
      1/14/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         140
      1/14/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.45
      1/14/2017   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      1/14/2017   709   FS0039   Owner Operator   Truck Payment                  CTMS - 198396 truck lease 3304      434.29
      1/14/2017   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      1/14/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      1/14/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          260
      1/14/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            10
      1/14/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/14/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      1/14/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            40
      1/14/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      1/14/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      1/14/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/14/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
      1/14/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.6
      1/14/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      1/14/2017   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        49.44
      1/14/2017   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        65.77
      1/14/2017   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       115.02
      1/14/2017   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      1/14/2017   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17

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      1/14/2017   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.52
      1/14/2017   709   FT0004   Owner Operator   Truck Payment                  CTMS - 198170 73129                   47.47
      1/14/2017   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      1/14/2017   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                  12.5
      1/14/2017   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      1/14/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.4
      1/14/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        406.96
      1/14/2017   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
      1/14/2017   709   GS0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-31       2080.69
      1/14/2017   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      1/14/2017   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                   12.5
      1/14/2017   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      1/14/2017   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/14/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/14/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      1/14/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        462.38
      1/14/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        561.03
      1/14/2017   709   HG0007   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   61.32
      1/14/2017   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
      1/14/2017   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      1/14/2017   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                   12.5
      1/14/2017   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      1/14/2017   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-21       -545.92
      1/14/2017   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          100
      1/14/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        407.41
      1/14/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        162.79
      1/14/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        416.38
      1/14/2017   709   HG0027   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   26.57
      1/14/2017   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      1/14/2017   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
      1/14/2017   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/14/2017   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                          20.12
      1/14/2017   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.2
      1/14/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        368.84
      1/14/2017   709   IR0002   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  -22.49
      1/14/2017   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.64
      1/14/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      1/14/2017   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
      1/14/2017   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
      1/14/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
      1/14/2017   709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                   12.5
      1/14/2017   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
      1/14/2017   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      1/14/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        320.14
      1/14/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.84
      1/14/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        487.24
      1/14/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        482.42
      1/14/2017   709   JC0292   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  117.26
      1/14/2017   709   JC0292   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment        272.93
      1/14/2017   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.13
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 DelDOT Newark Plaza                 9
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 DRBA Delaware Memorial B           25
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 MdTA Fort McHenry Tunnel           24
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 MdTA Lane Memorial Br              24
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 NJTP PA Turnpike/Florenc         4.65
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 NJTP PA Turnpike/Florenc         4.65
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 NYSTA Batavia                    5.64
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 NYSTA Lackawanna Toll           12.42
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 NYSTA North Grand Island         2.99
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 OTC Eastgate                      3.5
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 OTC Niles-Youngstown              3.5
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 PBA Peace Bridge                 25.2
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC Bensalem                     2.31
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC Bensalem                     2.31
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC Carlisle                    66.03
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC Delaware River Bridg           20
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC Delaware River Bridg           20

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      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC Gateway Barrier             18.42
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC Harrisburg East Shor        41.46
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC New Stanton                 72.18
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC Quakertown                     2.7
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 PTC Valley Forge                20.34
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 WVPEDTA Chelyan                   5.87
      1/14/2017   709   JC0292   Owner Operator   Toll Charges                   Q1210 WVPEDTA Pax                       5.87
      1/14/2017   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      1/14/2017   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/14/2017   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
      1/14/2017   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      1/14/2017   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                     -1000
      1/14/2017   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      1/14/2017   709   JG0017   Owner Operator   Express Check                  T-Check Payment                        1000
      1/14/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/14/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/14/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.63
      1/14/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.8
      1/14/2017   709   JG0017   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                    -5.03
      1/14/2017   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/14/2017   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      1/14/2017   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      1/14/2017   709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      1/14/2017   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/14/2017   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                    12.5
      1/14/2017   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      1/14/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/14/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/14/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/14/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/14/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        404.66
      1/14/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.07
      1/14/2017   709   JG0072   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  144.64
      1/14/2017   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/14/2017   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      1/14/2017   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      1/14/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/14/2017   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                    12.5
      1/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      1/14/2017   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/14/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        297.04
      1/14/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        501.93
      1/14/2017   709   JG0092   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  107.41
      1/14/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/14/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      1/14/2017   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      1/14/2017   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                    12.5
      1/14/2017   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      1/14/2017   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-21       -179.92
      1/14/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/14/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/14/2017   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.05
      1/14/2017   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        155.82
      1/14/2017   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/14/2017   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      1/14/2017   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      1/14/2017   709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                    12.5
      1/14/2017   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      1/14/2017   709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7           51.94
      1/14/2017   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.77
      1/14/2017   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/14/2017   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      1/14/2017   709   JR0099   Owner Operator   Repair Order                   CTMS - 198365 Inv 007-70623 Cu       255.61
      1/14/2017   709   JR0099   Owner Operator   Truck Payment                  CTMS - 198321 Truck Lease            278.76
      1/14/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      1/14/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      1/14/2017   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                    12.5
      1/14/2017   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      1/14/2017   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/14/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/14/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/14/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        370.35
      1/14/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.29

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      1/14/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      1/14/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      1/14/2017   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/14/2017   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      1/14/2017   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      1/14/2017   709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7         600.49
      1/14/2017   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      1/14/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/14/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/14/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       160.28
      1/14/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       368.12
      1/14/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       266.31
      1/14/2017   709   KP0004   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                 292.05
      1/14/2017   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      1/14/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/14/2017   709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00344469 - PO System         91.02
      1/14/2017   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      1/14/2017   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      1/14/2017   709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                  12.5
      1/14/2017   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      1/14/2017   709   LL0160   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                 202.31
      1/14/2017   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         -190
      1/14/2017   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      1/14/2017   709   LL0160   Owner Operator   Truck Payment                  CTMS - 198424 Lease Q1111           252.11
      1/14/2017   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      1/14/2017   709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                  12.5
      1/14/2017   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      1/14/2017   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.78
      1/14/2017   709   LS0023   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  39.46
      1/14/2017   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      1/14/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      1/14/2017   709   LS0023   Owner Operator   Truck Payment                  CTMS - 198492 Trailer Wash 920         -30
      1/14/2017   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      1/14/2017   709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                 12.5
      1/14/2017   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      1/14/2017   709   MB0048   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7          96.84
      1/14/2017   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       135.41
      1/14/2017   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      1/14/2017   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      1/14/2017   709   ME0053   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                  12.5
      1/14/2017   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                         8
      1/14/2017   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/14/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.38
      1/14/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       348.84
      1/14/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        432.6
      1/14/2017   709   ME0053   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  47.23
      1/14/2017   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
      1/14/2017   709   ME0053   Owner Operator   Truck Payment                  CTMS - 198364 Q1113 Lease           252.11
      1/14/2017   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      1/14/2017   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          320
      1/14/2017   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       194.57
      1/14/2017   709   MG0067   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                 -10.54
      1/14/2017   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      1/14/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      1/14/2017   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      1/14/2017   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                  12.5
      1/14/2017   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      1/14/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/14/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/14/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/14/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/14/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.45
      1/14/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.07
      1/14/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.59
      1/14/2017   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment       260.53
      1/14/2017   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      1/14/2017   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.13
      1/14/2017   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      1/14/2017   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                       -35
      1/14/2017   709   MM0103   Owner Operator   IRP License Deduction          LCIL:2016 - 33889                   270.62
      1/14/2017   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                    -112.5
      1/14/2017   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      1/14/2017   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                   12.5
      1/14/2017   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      1/14/2017   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          650
      1/14/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
      1/14/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
      1/14/2017   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        487.1
      1/14/2017   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      1/14/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      1/14/2017   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      1/14/2017   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      1/14/2017   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                   12.5
      1/14/2017   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      1/14/2017   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                    -2500
      1/14/2017   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      1/14/2017   709   NB0029   Owner Operator   Express Check                  T-Check Payment                       2500
      1/14/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.04
      1/14/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.97
      1/14/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        447.4
      1/14/2017   709   NB0029   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                 135.66
      1/14/2017   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
      1/14/2017   709   NB0029   Owner Operator   Truck Payment                  CTMS - 198429 Lease                 215.66
      1/14/2017   709   NB0029   Owner Operator   Truck Payment                  CTMS - 198493 Trailer 6866              -30
      1/14/2017   709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      1/14/2017   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      1/14/2017   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                  12.5
      1/14/2017   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      1/14/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/14/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/14/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.74
      1/14/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          315
      1/14/2017   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      1/14/2017   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      1/14/2017   709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                   12.5
      1/14/2017   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      1/14/2017   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/14/2017   709   NT9564   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                 121.69
      1/14/2017   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                    10.58
      1/14/2017   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                    34.17
      1/14/2017   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           30.47
      1/14/2017   709   NT9564   Owner Operator   Truck Payment                  CTMS - 198364 Truck 73130 Leas      196.65
      1/14/2017   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      1/14/2017   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      1/14/2017   709   RC0030   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                 470.37
      1/14/2017   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      1/14/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      1/14/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               39.07
      1/14/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      1/14/2017   709   RC0030   Owner Operator   Truck Payment                  CTMS - 198321 Down Payment lo       303.55
      1/14/2017   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.7
      1/14/2017   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/14/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      1/14/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      1/14/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.43
      1/14/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.09
      1/14/2017   709   RC0089   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   -5.31
      1/14/2017   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      1/14/2017   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      1/14/2017   709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
      1/14/2017   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/14/2017   709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                  12.5
      1/14/2017   709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                   12.5

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      1/14/2017   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7           93.75
      1/14/2017   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                          100
      1/14/2017   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                           400
      1/14/2017   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
      1/14/2017   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        435.24
      1/14/2017   709   RL0017   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  -19.87
      1/14/2017   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  45.32
      1/14/2017   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  77.22
      1/14/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                        529.05
      1/14/2017   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/14/2017   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      1/14/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/14/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/14/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/14/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/14/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        426.54
      1/14/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        418.99
      1/14/2017   709   RL0062   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  109.91
      1/14/2017   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.15
      1/14/2017   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      1/14/2017   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                   27.48
      1/14/2017   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                      8.75
      1/14/2017   709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                   12.5
      1/14/2017   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                         13
      1/14/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        403.25
      1/14/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                        329.58
      1/14/2017   709   RM0026   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   62.25
      1/14/2017   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                      31.25
      1/14/2017   709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      1/14/2017   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL            8.75
      1/14/2017   709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                   12.5
      1/14/2017   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                         13
      1/14/2017   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.41
      1/14/2017   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        194.24
      1/14/2017   709   RP0082   Owner Operator   Loan Repayment                 Crdt exp ck 153591 -s/u loan       -2377.89
      1/14/2017   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.6
      1/14/2017   709   RP0082   Owner Operator   T Chek Fee                     ExpressCheck Fee                      23.54
      1/14/2017   709   RP0082   Owner Operator   T Chek Fee                     Tractor Repair Q1202                2354.35
      1/14/2017   709   RP0082   Owner Operator   Truck Payment                  CTMS - 198321 Q1202 Truck Leas       278.76
      1/14/2017   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL               8.75
      1/14/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/14/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/14/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/14/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/14/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        371.54
      1/14/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.5
      1/14/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        324.74
      1/14/2017   709   RR0123   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   48.91
      1/14/2017   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                     10.58
      1/14/2017   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                     34.17
      1/14/2017   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        102.13
      1/14/2017   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD               65.08
      1/14/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror          2.5
      1/14/2017   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      1/14/2017   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                   12.5
      1/14/2017   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
      1/14/2017   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          200
      1/14/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/14/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/14/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/14/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/14/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        271.59
      1/14/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        346.03
      1/14/2017   709   SB0009   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   89.62
      1/14/2017   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
      1/14/2017   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
      1/14/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                   56.95

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      1/14/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      1/14/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
      1/14/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.39
      1/14/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        177.69
      1/14/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        149.44
      1/14/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        274.13
      1/14/2017   709   SN0019   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   52.02
      1/14/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
      1/14/2017   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
      1/14/2017   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                   12.5
      1/14/2017   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      1/14/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        316.14
      1/14/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.18
      1/14/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        466.89
      1/14/2017   709   VB0015   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  117.58
      1/14/2017   709   VB0015   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         256.3
      1/14/2017   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
      1/14/2017   709   VB0015   Owner Operator   Truck Payment                  CTMS - 198471 Tractor Sub leas       242.03
      1/14/2017   709   VJ0006   Owner Operator   Accident Claim                 Claim 62566 s/u pmts                    250
      1/14/2017   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      1/14/2017   709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                   12.5
      1/14/2017   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
      1/14/2017   709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                      -200
      1/14/2017   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/14/2017   709   VJ0006   Owner Operator   Express Check                  T-Check Payment                         200
      1/14/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             40
      1/14/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      1/14/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.6
      1/14/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.4
      1/14/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        258.34
      1/14/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        336.85
      1/14/2017   709   VJ0006   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   29.01
      1/14/2017   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
      1/14/2017   709   VJ0006   Owner Operator   Truck Payment                  CTMS - 198017 Tractor Q1235             565
      1/14/2017   709   VJ0006   Owner Operator   Truck Payment                  CTMS - 198164 Tractor Q1235             565
      1/14/2017   709   VJ0006   Owner Operator   Truck Payment                  CTMS - 198322 Tractor Q1235             565
      1/14/2017   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      1/14/2017   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      1/14/2017   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
      1/14/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      1/14/2017   709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7         2377.12
      1/14/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/14/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/14/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/14/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/14/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/14/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/14/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         29.44
      1/14/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        453.15
      1/14/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        568.02
      1/14/2017   742   AP0047   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   28.21
      1/14/2017   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      1/14/2017   742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                   12.5
      1/14/2017   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
      1/14/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        269.82
      1/14/2017   742   BS0078   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   136.4
      1/14/2017   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  60.55
      1/14/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism          2.5
      1/14/2017   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
      1/14/2017   742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                  12.5
      1/14/2017   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                         8
      1/14/2017   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/14/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        224.25
      1/14/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         38.07
      1/14/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        343.92
      1/14/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.98
      1/14/2017   742   CT0085   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   52.74
      1/14/2017   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                    10.58

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      1/14/2017   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                    34.17
      1/14/2017   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           82.04
      1/14/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te          2.5
      1/14/2017   742   CT0085   Owner Operator   Truck Payment                  CTMS - 198364 Sub Lease Q13171       352.68
      1/14/2017   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/14/2017   742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                   12.5
      1/14/2017   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                         13
      1/14/2017   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/14/2017   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/14/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         17.42
      1/14/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        334.87
      1/14/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         15.72
      1/14/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        467.28
      1/14/2017   742   DA0067   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   32.95
      1/14/2017   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.32
      1/14/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      1/14/2017   742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00343109 - PO System           7.55
      1/14/2017   742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00343109 - PO System         203.87
      1/14/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.1
      1/14/2017   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/14/2017   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/14/2017   742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                   12.5
      1/14/2017   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                         13
      1/14/2017   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                         13
      1/14/2017   742   EN0016   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-21       -558.48
      1/14/2017   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/14/2017   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/14/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.6
      1/14/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        412.41
      1/14/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.14
      1/14/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.6
      1/14/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        399.96
      1/14/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.1
      1/14/2017   742   EN0016   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  221.58
      1/14/2017   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   742   EN0016   Owner Operator   Permits                        ID06:2017 - 32947                        11
      1/14/2017   742   EN0016   Owner Operator   Permits                        IL02:2017 - 32947                      3.75
      1/14/2017   742   EN0016   Owner Operator   Permits                        NM07:2017 - 32947                       5.5
      1/14/2017   742   EN0016   Owner Operator   Permits                        OR16:2017 - 32947                         8
      1/14/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
      1/14/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.89
      1/14/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      1/14/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.5
      1/14/2017   742   EN0016   Owner Operator   Toll Charges                   32947      TX Ship Channel B              7
      1/14/2017   742   EN0016   Owner Operator   Toll Charges                   CA 32947       Carquinez Brid            25
      1/14/2017   742   EN0016   Owner Operator   Toll Charges                   CA 32947       Carquinez Brid            25
      1/14/2017   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        416.11
      1/14/2017   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
      1/14/2017   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
      1/14/2017   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL               8.75
      1/14/2017   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                         13
      1/14/2017   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/14/2017   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        198.39
      1/14/2017   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        202.38
      1/14/2017   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.12
      1/14/2017   742   EO0014   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   196.6
      1/14/2017   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/14/2017   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD               78.13
      1/14/2017   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror          2.5
      1/14/2017   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL              8.75
      1/14/2017   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                        13
      1/14/2017   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                        13
      1/14/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD              54.69
      1/14/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               6.03
      1/14/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
      1/14/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro          2.5
      1/14/2017   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL            8.75
      1/14/2017   742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/14/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.24
      1/14/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          200

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      1/14/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         190
      1/14/2017   742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD           35.16
      1/14/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter         2.5
      1/14/2017   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      1/14/2017   742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                  12.5
      1/14/2017   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      1/14/2017   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       364.05
      1/14/2017   742   KJ0045   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  49.85
      1/14/2017   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      1/14/2017   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      1/14/2017   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/14/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/14/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/14/2017   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.87
      1/14/2017   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      1/14/2017   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       423.99
      1/14/2017   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      1/14/2017   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                  12.5
      1/14/2017   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      1/14/2017   742   MH0117   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                 387.78
      1/14/2017   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      1/14/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      1/14/2017   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                  20.17
      1/14/2017   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                  20.17
      1/14/2017   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
      1/14/2017   742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                  12.5
      1/14/2017   742   MT0112   Owner Operator   Charge back by affiliate       CTMS - 198220 chemical suit         204.65
      1/14/2017   742   MT0112   Owner Operator   Charge back by affiliate       CTMS - 198490 chemical suit         204.65
      1/14/2017   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
      1/14/2017   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
      1/14/2017   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/14/2017   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/14/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                          500
      1/14/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/14/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       161.75
      1/14/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         200
      1/14/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         100
      1/14/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      1/14/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
      1/14/2017   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
      1/14/2017   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
      1/14/2017   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.57
      1/14/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
      1/14/2017   742   MT0112   Owner Operator   Truck Payment                  CTMS - 198169 Q1247 Sub Lease         49.3
      1/14/2017   742   MT0112   Owner Operator   Truck Payment                  CTMS - 198364 Q1247 Sub Lease       311.97
      1/14/2017   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      1/14/2017   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                  12.5
      1/14/2017   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      1/14/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       191.38
      1/14/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.76
      1/14/2017   742   NG0024   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  47.71
      1/14/2017   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      1/14/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      1/14/2017   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/14/2017   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/14/2017   742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/14/2017   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/14/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    58.58
      1/14/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     58.6
      1/14/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      1/14/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      1/14/2017   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/14/2017   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/14/2017   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        199.4
      1/14/2017   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.6
      1/14/2017   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       438.62
      1/14/2017   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       453.55

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      1/21/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      1/21/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      1/21/2017   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.73
      1/21/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.82
      1/21/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      1/21/2017   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      1/21/2017   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      1/21/2017   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      1/21/2017   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      1/21/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        42.07
      1/21/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       188.12
      1/21/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       173.08
      1/21/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.59
      1/21/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.81
      1/21/2017   709   AR0064   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                 263.75
      1/21/2017   709   AR0064   Owner Operator   FUEL TAX                       October 2016 Fuel Taxes              55.68
      1/21/2017   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      1/21/2017   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      1/21/2017   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      1/21/2017   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      1/21/2017   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      1/21/2017   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      1/21/2017   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      1/21/2017   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      1/21/2017   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      1/21/2017   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      1/21/2017   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      1/21/2017   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      1/21/2017   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   AR0064   Owner Operator   Permits                        ID06:2017 - Q13147                      11
      1/21/2017   709   AR0064   Owner Operator   Permits                        IL02:2017 - Q13147                    3.75
      1/21/2017   709   AR0064   Owner Operator   Permits                        NM07:2017 - Q13147                     5.5
      1/21/2017   709   AR0064   Owner Operator   Permits                        OR16:2017 - Q13147                       8
      1/21/2017   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      1/21/2017   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      1/21/2017   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      1/21/2017   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      1/21/2017   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL          8.75
      1/21/2017   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                        8
      1/21/2017   709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.07
      1/21/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       195.07
      1/21/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        98.85
      1/21/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         110
      1/21/2017   709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                   10.58
      1/21/2017   709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                   34.17
      1/21/2017   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          68.36
      1/21/2017   709   AV0021   Owner Operator   Truck Payment                  CTMS - 198579 Q13169 Sublease       352.68
      1/21/2017   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      1/21/2017   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      1/21/2017   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.83
      1/21/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       426.25
      1/21/2017   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      1/21/2017   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      1/21/2017   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      1/21/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 198541 Q13168 sub lease      352.68
      1/21/2017   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/21/2017   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      1/21/2017   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
      1/21/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       453.06
      1/21/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                       404.12
      1/21/2017   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.96
      1/21/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/21/2017   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      1/21/2017   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75

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      1/21/2017   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                       13
      1/21/2017   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      298.31
      1/21/2017   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      217.43
      1/21/2017   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      1/21/2017   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                   39.07
      1/21/2017   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                      245.63
      1/21/2017   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL          8.75
      1/21/2017   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                        8
      1/21/2017   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      1/21/2017   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD          65.08
      1/21/2017   709   CS0091   Owner Operator   Truck Payment                  CTMS - 198540 Q1201                278.76
      1/21/2017   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                8.75
      1/21/2017   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                        8
      1/21/2017   709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                          50
      1/21/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      232.55
      1/21/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      228.32
      1/21/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      245.17
      1/21/2017   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      1/21/2017   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 34.2
      1/21/2017   709   DL0029   Owner Operator   Repair Order                   CTMS - 198503 Repair                 250
      1/21/2017   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL             8.75
      1/21/2017   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                       13
      1/21/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       97.88
      1/21/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      140.82
      1/21/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                      220.97
      1/21/2017   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                   10.58
      1/21/2017   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                   34.17
      1/21/2017   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      268.53
      1/21/2017   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      1/21/2017   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
      1/21/2017   709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00345068 - PO System       210.64
      1/21/2017   709   DL0107   Owner Operator   Truck Payment                  CTMS - 198505 Sublease             338.99
      1/21/2017   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.38
      1/21/2017   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      1/21/2017   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
      1/21/2017   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                         500
      1/21/2017   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      1/21/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      200.05
      1/21/2017   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      1/21/2017   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.35
      1/21/2017   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
      1/21/2017   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
      1/21/2017   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      410.58
      1/21/2017   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      1/21/2017   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   39.07
      1/21/2017   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                       8.75
      1/21/2017   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                       13
      1/21/2017   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                      234.32
      1/21/2017   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       246.9
      1/21/2017   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                       224.9
      1/21/2017   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
      1/21/2017   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                       68.52
      1/21/2017   709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00345891 - PO System       230.32
      1/21/2017   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                      463.27
      1/21/2017   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      1/21/2017   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
      1/21/2017   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        100
      1/21/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      1/21/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      1/21/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      1/21/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      1/21/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      244.17
      1/21/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      412.48
      1/21/2017   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      1/21/2017   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
      1/21/2017   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
      1/21/2017   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      1/21/2017   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                       13
      1/21/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         100
      1/21/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           30
      1/21/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         200
      1/21/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      1/21/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.3

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      1/21/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/21/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       433.24
      1/21/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.42
      1/21/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.5
      1/21/2017   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.92
      1/21/2017   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                       505.27
      1/21/2017   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75
      1/21/2017   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                         8
      1/21/2017   709   EG0062   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
      1/21/2017   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       346.87
      1/21/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.23
      1/21/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.18
      1/21/2017   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                 42.19
      1/21/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism         2.5
      1/21/2017   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 1/19 #17105                  350.36
      1/21/2017   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      1/21/2017   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      1/21/2017   709   FS0039   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
      1/21/2017   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       335.56
      1/21/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.81
      1/21/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       356.01
      1/21/2017   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.88
      1/21/2017   709   FS0039   Owner Operator   Truck Payment                  CTMS - 198577 truck lease 3304      434.29
      1/21/2017   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      1/21/2017   709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                  12.5
      1/21/2017   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      1/21/2017   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      1/21/2017   709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                        13
      1/21/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           280
      1/21/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      1/21/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      1/21/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            20
      1/21/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.2
      1/21/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      1/21/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      1/21/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      1/21/2017   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.69
      1/21/2017   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.91
      1/21/2017   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      1/21/2017   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      1/21/2017   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.52
      1/21/2017   709   FT0004   Owner Operator   Truck Payment                  CTMS - 198170 73129                 133.61
      1/21/2017   709   FT0004   Owner Operator   Truck Payment                  CTMS - 198366 73129                 181.08
      1/21/2017   709   FT0004   Owner Operator   Truck Payment                  CTMS - 198543 73129                 181.08
      1/21/2017   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      1/21/2017   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                       13
      1/21/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        82.97
      1/21/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       474.83
      1/21/2017   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 82.04
      1/21/2017   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      1/21/2017   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      1/21/2017   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      1/21/2017   709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                  12.5
      1/21/2017   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      1/21/2017   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      1/21/2017   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      1/21/2017   709   GS0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-31        42.68
      1/21/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.48
      1/21/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.37
      1/21/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.06
      1/21/2017   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   GS0015   Owner Operator   Permits                        IL02:2017 - Q1110                     3.75
      1/21/2017   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      1/21/2017   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07

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      1/21/2017   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.07
      1/21/2017   709   GS0015   Owner Operator   Repair Order                   CTMS - 198503 Repair                317.14
      1/21/2017   709   GS0015   Owner Operator   Truck Payment                  CTMS - 198170 Lease                 252.11
      1/21/2017   709   GS0015   Owner Operator   Truck Payment                  CTMS - 198366 Lease                 252.11
      1/21/2017   709   GS0015   Owner Operator   Truck Payment                  CTMS - 198543 Lease                 252.11
      1/21/2017   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      1/21/2017   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      1/21/2017   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/21/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/21/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       403.22
      1/21/2017   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.63
      1/21/2017   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/21/2017   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      1/21/2017   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-14        545.92
      1/21/2017   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          100
      1/21/2017   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.69
      1/21/2017   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.35
      1/21/2017   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/21/2017   709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
      1/21/2017   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                         14.88
      1/21/2017   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.15
      1/21/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.65
      1/21/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       175.31
      1/21/2017   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      1/21/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/21/2017   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      1/21/2017   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      1/21/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      1/21/2017   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      1/21/2017   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      1/21/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/21/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/21/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/21/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/21/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        297.8
      1/21/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       477.55
      1/21/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.06
      1/21/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        295.6
      1/21/2017   709   JC0292   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       272.93
      1/21/2017   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      1/21/2017   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      1/21/2017   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/21/2017   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      1/21/2017   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      1/21/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/21/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/21/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.68
      1/21/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       491.18
      1/21/2017   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      1/21/2017   709   JG0017   Owner Operator   Repair Order                   CTMS - 198567 Repair                283.28
      1/21/2017   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      1/21/2017   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/21/2017   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      1/21/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/21/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/21/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/21/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/21/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.54
      1/21/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       405.25
      1/21/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       422.59
      1/21/2017   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      1/21/2017   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      1/21/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      1/21/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      1/21/2017   709   JG0092   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
      1/21/2017   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                          250

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      1/21/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.77
      1/21/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      1/21/2017   709   JQ0015   Owner Operator   Accident Claim                 12/16/16 JQ0015 Accident            271.62
      1/21/2017   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      1/21/2017   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      1/21/2017   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-14        179.92
      1/21/2017   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.05
      1/21/2017   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      1/21/2017   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      1/21/2017   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      1/21/2017   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       269.07
      1/21/2017   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.46
      1/21/2017   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      1/21/2017   709   JR0099   Owner Operator   Repair Order                   CTMS - 198542 Inv 007-70623 Cu      255.61
      1/21/2017   709   JR0099   Owner Operator   Truck Payment                  CTMS - 198519 Truck Lease           278.76
      1/21/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      1/21/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      1/21/2017   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      1/21/2017   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      1/21/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/21/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/21/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/21/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/21/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.51
      1/21/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       183.09
      1/21/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.47
      1/21/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      1/21/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      1/21/2017   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/21/2017   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      1/21/2017   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      1/21/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          150
      1/21/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.5
      1/21/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       170.01
      1/21/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         380
      1/21/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       179.49
      1/21/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       340.27
      1/21/2017   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      1/21/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/21/2017   709   KP0004   Owner Operator   Repair Order                   CTMS - 198503 Repair                 236.2
      1/21/2017   709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00344469 - PO System         91.02
      1/21/2017   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      1/21/2017   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      1/21/2017   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      1/21/2017   709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.07
      1/21/2017   709   LL0160   Owner Operator   Truck Payment                  CTMS - 198612 Lease Q1111           252.11
      1/21/2017   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      1/21/2017   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      1/21/2017   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/21/2017   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/21/2017   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.03
      1/21/2017   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       543.27
      1/21/2017   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.54
      1/21/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      1/21/2017   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      1/21/2017   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      1/21/2017   709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       217.88
      1/21/2017   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.32
      1/21/2017   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      1/21/2017   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                         8
      1/21/2017   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.77
      1/21/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       438.46
      1/21/2017   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07

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      1/21/2017   709   ME0053   Owner Operator   Truck Payment                  CTMS - 198541 Q1113 Lease            252.11
      1/21/2017   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      1/21/2017   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/21/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      1/21/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      1/21/2017   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      1/21/2017   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      1/21/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/21/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/21/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        318.14
      1/21/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.12
      1/21/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.84
      1/21/2017   709   MM0093   Owner Operator   Loan Repayment                 Bal loan 7 w/ efs 153928           -2759.52
      1/21/2017   709   MM0093   Owner Operator   Loan Repayment                 Close open loan to roll to new       2060.2
      1/21/2017   709   MM0093   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment        254.35
      1/21/2017   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/21/2017   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      1/21/2017   709   MM0093   Owner Operator   T Chek Fee                     ExpressCheck Fee                       6.92
      1/21/2017   709   MM0093   Owner Operator   T Chek Fee                     Tractor Repair 32931                  692.4
      1/21/2017   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      1/21/2017   709   MM0103   Owner Operator   BOBTAIL INS.                   1999 Kenworth NTL                     26.25
      1/21/2017   709   MM0103   Owner Operator   Communication Charge           PNet Hware 33889                         13
      1/21/2017   709   MM0103   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   59.03
      1/21/2017   709   MM0103   Owner Operator   IRP License Deduction          LCIL:2016 - 33889                     43.24
      1/21/2017   709   MM0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         142.5
      1/21/2017   709   MM0103   Owner Operator   PHYSICAL DAMAGE                1999 Kenworth PD                      84.37
      1/21/2017   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      1/21/2017   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      1/21/2017   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                     -1800
      1/21/2017   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           800
      1/21/2017   709   MP0035   Owner Operator   Express Check                  T-Check Payment                        1800
      1/21/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/21/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      1/21/2017   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        376.89
      1/21/2017   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/21/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      1/21/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      1/21/2017   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      1/21/2017   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      1/21/2017   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      1/21/2017   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      1/21/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        358.27
      1/21/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        391.36
      1/21/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.11
      1/21/2017   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/21/2017   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      1/21/2017   709   NB0029   Owner Operator   Truck Payment                  CTMS - 198617 Lease                  215.66
      1/21/2017   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      1/21/2017   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      1/21/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            150
      1/21/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
      1/21/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        190.79
      1/21/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           275
      1/21/2017   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/21/2017   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      1/21/2017   709   NG0005   Owner Operator   Repair Order                   CTMS - 198503 Repair                  107.4
      1/21/2017   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      1/21/2017   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      1/21/2017   709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/21/2017   709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                     10.58
      1/21/2017   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                     34.17
      1/21/2017   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/21/2017   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD            30.47
      1/21/2017   709   NT9564   Owner Operator   Truck Payment                  CTMS - 198541 Truck 73130 Leas       196.65
      1/21/2017   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      1/21/2017   709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                8.75
      1/21/2017   709   RC0030   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -100
      1/21/2017   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/21/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                     135.16
      1/21/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      1/21/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                39.07
      1/21/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori          2.5
      1/21/2017   709   RC0030   Owner Operator   Truck Payment                  CTMS - 198519 Down Payment lo        303.55

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      1/21/2017   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   51.7
      1/21/2017   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/21/2017   709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-28       -55.88
      1/21/2017   709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
      1/21/2017   709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
      1/21/2017   709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
      1/21/2017   709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
      1/21/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      1/21/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/21/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.92
      1/21/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.19
      1/21/2017   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      1/21/2017   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      1/21/2017   709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      1/21/2017   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/21/2017   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                          100
      1/21/2017   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                           500
      1/21/2017   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/21/2017   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       456.42
      1/21/2017   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.51
      1/21/2017   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 45.32
      1/21/2017   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 77.22
      1/21/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                       529.05
      1/21/2017   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/21/2017   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                        13
      1/21/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/21/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/21/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/21/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/21/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       388.71
      1/21/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       429.34
      1/21/2017   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      1/21/2017   709   RL0062   Owner Operator   Repair Order                   CTMS - 198503 Repair                219.26
      1/21/2017   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      1/21/2017   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                  27.48
      1/21/2017   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                     8.75
      1/21/2017   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                        13
      1/21/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.24
      1/21/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.32
      1/21/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.85
      1/21/2017   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                     31.25
      1/21/2017   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL           8.75
      1/21/2017   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                        13
      1/21/2017   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                       321.28
      1/21/2017   709   RP0082   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       267.27
      1/21/2017   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD            58.6
      1/21/2017   709   RP0082   Owner Operator   Truck Payment                  CTMS - 198519 Q1202 Truck Leas      278.76
      1/21/2017   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL              8.75
      1/21/2017   709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                  12.5
      1/21/2017   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      1/21/2017   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         8
      1/21/2017   709   RR0123   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
      1/21/2017   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/21/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/21/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.27
      1/21/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.94
      1/21/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.12
      1/21/2017   709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                    10.58
      1/21/2017   709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                    34.17
      1/21/2017   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       161.83
      1/21/2017   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment       263.96
      1/21/2017   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              65.08
      1/21/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror         2.5
      1/21/2017   709   RR0123   Owner Operator   Truck Payment                  CTMS - 198363 Q1248                 311.97
      1/21/2017   709   RR0123   Owner Operator   Truck Payment                  CTMS - 198540 Q1248                 311.97

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      1/21/2017   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      1/21/2017   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                         13
      1/21/2017   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/21/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/21/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/21/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        368.33
      1/21/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        327.68
      1/21/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        419.46
      1/21/2017   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/21/2017   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 100.98
      1/21/2017   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                        564.33
      1/21/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                   56.95
      1/21/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      1/21/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                         13
      1/21/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        207.88
      1/21/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.31
      1/21/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        149.52
      1/21/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        209.46
      1/21/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        151.59
      1/21/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           264
      1/21/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/21/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  42.97
      1/21/2017   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL            8.75
      1/21/2017   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      1/21/2017   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/21/2017   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/21/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.4
      1/21/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           308
      1/21/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           382
      1/21/2017   709   VB0015   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         256.3
      1/21/2017   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/21/2017   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             37.5
      1/21/2017   709   VB0015   Owner Operator   Truck Payment                  CTMS - 198655 Tractor Sub leas       242.03
      1/21/2017   709   VJ0006   Owner Operator   Accident Claim                 Claim 62566 s/u pmts                    250
      1/21/2017   709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      1/21/2017   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                         13
      1/21/2017   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/21/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/21/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/21/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/21/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/21/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        373.81
      1/21/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        217.73
      1/21/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        101.17
      1/21/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.34
      1/21/2017   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/21/2017   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  55.47
      1/21/2017   709   VJ0006   Owner Operator   Truck Payment                  CTMS - 198520 Tractor Q1235             565
      1/21/2017   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      1/21/2017   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                         13
      1/21/2017   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/21/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  56.25
      1/21/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism          2.5
      1/21/2017   709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7         2886.31
      1/21/2017   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
      1/21/2017   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                 8.75
      1/21/2017   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                   12.5
      1/21/2017   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
      1/21/2017   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
      1/21/2017   742   AP0047   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -100
      1/21/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/21/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/21/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        292.93
      1/21/2017   742   AP0047   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   13.44
      1/21/2017   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/21/2017   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/21/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 52.35
      1/21/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                 52.35
      1/21/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
      1/21/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris          2.5
      1/21/2017   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      1/21/2017   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                         13
      1/21/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.1

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      1/21/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                       313.64
      1/21/2017   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 60.55
      1/21/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism         2.5
      1/21/2017   742   CA0089   Owner Operator   Broker Pre Pass                33832 PrePass Device                  12.5
      1/21/2017   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                        13
      1/21/2017   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                        13
      1/21/2017   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.87
      1/21/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.42
      1/21/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       310.72
      1/21/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.28
      1/21/2017   742   CA0089   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                   88.2
      1/21/2017   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL          8.75
      1/21/2017   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                        8
      1/21/2017   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.62
      1/21/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.44
      1/21/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.75
      1/21/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        112.2
      1/21/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.39
      1/21/2017   742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                   10.58
      1/21/2017   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                   34.17
      1/21/2017   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD          82.04
      1/21/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te         2.5
      1/21/2017   742   CT0085   Owner Operator   Truck Payment                  CTMS - 198541 Sub Lease Q13171      352.68
      1/21/2017   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/21/2017   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                        13
      1/21/2017   742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       434.14
      1/21/2017   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.32
      1/21/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/21/2017   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      1/21/2017   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                     8.75
      1/21/2017   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                  12.5
      1/21/2017   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      1/21/2017   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      1/21/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.42
      1/21/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        46.03
      1/21/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       372.51
      1/21/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.75
      1/21/2017   742   ED0041   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  51.23
      1/21/2017   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      1/21/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                     65.36
      1/21/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      1/21/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism             2.5
      1/21/2017   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/21/2017   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      1/21/2017   742   EN0016   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-14        558.48
      1/21/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.32
      1/21/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        165.3
      1/21/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       369.23
      1/21/2017   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 70.89
      1/21/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/21/2017   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      1/21/2017   742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL              8.75
      1/21/2017   742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
      1/21/2017   742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       231.97
      1/21/2017   742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       263.97
      1/21/2017   742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD              78.13
      1/21/2017   742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror         2.5
      1/21/2017   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL             8.75
      1/21/2017   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      1/21/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD             54.69
      1/21/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro         2.5

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      1/21/2017   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL           8.75
      1/21/2017   742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                        13
      1/21/2017   742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       166.06
      1/21/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.15
      1/21/2017   742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD           35.16
      1/21/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter         2.5
      1/21/2017   742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                        8.75
      1/21/2017   742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      1/21/2017   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.04
      1/21/2017   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.97
      1/21/2017   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.24
      1/21/2017   742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       303.37
      1/21/2017   742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                        46.88
      1/21/2017   742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                2.5
      1/21/2017   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/21/2017   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/21/2017   742   LL0134   Owner Operator   Driver Excellence Program      Clean Inspection Awards               -100
      1/21/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/21/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/21/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/21/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/21/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/21/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/21/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/21/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/21/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/21/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/21/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/21/2017   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        338.6
      1/21/2017   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       324.88
      1/21/2017   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.78
      1/21/2017   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.31
      1/21/2017   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          355
      1/21/2017   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.28
      1/21/2017   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.5
      1/21/2017   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      1/21/2017   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      1/21/2017   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      1/21/2017   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      1/21/2017   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        130.5
      1/21/2017   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      1/21/2017   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       292.28
      1/21/2017   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
      1/21/2017   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      1/21/2017   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           75
      1/21/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
      1/21/2017   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                  20.17
      1/21/2017   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL              8.75
      1/21/2017   742   MT0112   Owner Operator   Charge back by affiliate       CTMS - 198645 charge back by a      204.65
      1/21/2017   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
      1/21/2017   742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                           500
      1/21/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/21/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       211.16
      1/21/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          150
      1/21/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          300
      1/21/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       213.77
      1/21/2017   742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
      1/21/2017   742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                    34.17
      1/21/2017   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD              72.57
      1/21/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror         2.5
      1/21/2017   742   MT0112   Owner Operator   Truck Payment                  CTMS - 198541 Q1247 Sub Lease       311.97
      1/21/2017   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL           8.75
      1/21/2017   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                        13
      1/21/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.93
      1/21/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       178.12

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      1/21/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.94
      1/21/2017   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD          100.79
      1/21/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter         2.5
      1/21/2017   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/21/2017   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/21/2017   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                  12.5
      1/21/2017   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      1/21/2017   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                        13
      1/21/2017   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/21/2017   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         200
      1/21/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/21/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/21/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.14
      1/21/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.71
      1/21/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       279.83
      1/21/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.53
      1/21/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       265.38
      1/21/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.89
      1/21/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       237.51
      1/21/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.81
      1/21/2017   742   PC0012   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  27.35
      1/21/2017   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      1/21/2017   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                104.38
      1/21/2017   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      1/21/2017   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                       509.18
      1/21/2017   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      1/21/2017   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL          8.75
      1/21/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                       273.01
      1/21/2017   742   RN0054   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                  43.51
      1/21/2017   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
      1/21/2017   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
      1/21/2017   742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                   10.58
      1/21/2017   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      1/21/2017   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   34.17
      1/21/2017   742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                   30.88
      1/21/2017   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   RN0054   Owner Operator   Permits                        ID06:2017 - Q13157                      11
      1/21/2017   742   RN0054   Owner Operator   Permits                        IL02:2017 - Q13157                    3.75
      1/21/2017   742   RN0054   Owner Operator   Permits                        NM07:2017 - Q13157                     5.5
      1/21/2017   742   RN0054   Owner Operator   Permits                        OR16:2017 - Q13157                       8
      1/21/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      1/21/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          74.26
      1/21/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      1/21/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te         2.5
      1/21/2017   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/21/2017   742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/21/2017   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     58.6
      1/21/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism            2.5
      1/21/2017   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/21/2017   844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      1/21/2017   844   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                  12.5
      1/21/2017   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      1/21/2017   844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                        13
      1/21/2017   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/21/2017   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          100
      1/21/2017   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/21/2017   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/21/2017   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/21/2017   844   JK0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/21/2017   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       157.32
      1/21/2017   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       345.66
      1/21/2017   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       196.93
      1/21/2017   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       233.19
      1/21/2017   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       291.43
      1/21/2017   844   JK0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.62
      1/21/2017   844   JK0112   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                 202.33
      1/21/2017   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/21/2017   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99
      1/21/2017   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                145.99

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      1/21/2017   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      1/21/2017   844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism         2.5
      1/21/2017   844   JK0112   Owner Operator   Toll Charges                   TreO 2249612703 011517 - 33211       14.17
      1/21/2017   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                        635.4
      1/21/2017   844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                       181.85
      1/28/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL          8.75
      1/28/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                       13
      1/28/2017   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.43
      1/28/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           7.79
      1/28/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te         2.5
      1/28/2017   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      1/28/2017   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL          8.75
      1/28/2017   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                 12.5
      1/28/2017   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      1/28/2017   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      1/28/2017   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      1/28/2017   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      1/28/2017   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      1/28/2017   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      1/28/2017   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                       13
      1/28/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       198.89
      1/28/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.89
      1/28/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.96
      1/28/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       200.76
      1/28/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        355.5
      1/28/2017   709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                   10.58
      1/28/2017   709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                   34.17
      1/28/2017   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      1/28/2017   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          74.22
      1/28/2017   709   AR0064   Owner Operator   Truck Payment                  CTMS - 198543 Trck Lease            353.28
      1/28/2017   709   AR0064   Owner Operator   Truck Payment                  CTMS - 198734 Trck Lease            353.28
      1/28/2017   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            50
      1/28/2017   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      1/28/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                        49.41
      1/28/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         238
      1/28/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         9.29
      1/28/2017   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL          8.75
      1/28/2017   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                        8
      1/28/2017   709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/28/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       354.41
      1/28/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       391.05
      1/28/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.79
      1/28/2017   709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                   10.58
      1/28/2017   709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                   34.17
      1/28/2017   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          68.36
      1/28/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 198731 Q13168 sub lease      352.68
      1/28/2017   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/28/2017   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                        13
      1/28/2017   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         300
      1/28/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/28/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/28/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                        515.5
      1/28/2017   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.93
      1/28/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/28/2017   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                       507.91
      1/28/2017   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      1/28/2017   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                        13
      1/28/2017   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.84
      1/28/2017   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       243.86
      1/28/2017   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       148.53
      1/28/2017   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.7
      1/28/2017   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    39.04
      1/28/2017   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                       245.63
      1/28/2017   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL           8.75
      1/28/2017   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                         8
      1/28/2017   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           65.07

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      1/28/2017   709   CS0091   Owner Operator   Truck Payment                  CTMS - 198730 Q1201                   278.76
      1/28/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.01
      1/28/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.35
      1/28/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.16
      1/28/2017   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      1/28/2017   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      1/28/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.43
      1/28/2017   709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
      1/28/2017   709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                      34.17
      1/28/2017   709   DL0107   Owner Operator   Loan Repayment                 close open loan to roll to new       1332.35
      1/28/2017   709   DL0107   Owner Operator   Loan Repayment                 EFS 154182 w/ bal of loan 1        -12785.25
      1/28/2017   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      1/28/2017   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      1/28/2017   709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                       113.4
      1/28/2017   709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                 11339.5
      1/28/2017   709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00345068 - PO System          210.64
      1/28/2017   709   DL0107   Owner Operator   Truck Payment                  CTMS - 198699 Sublease                338.99
      1/28/2017   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      1/28/2017   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/28/2017   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      1/28/2017   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      1/28/2017   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/28/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.69
      1/28/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.36
      1/28/2017   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      1/28/2017   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      1/28/2017   709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      1/28/2017   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      1/28/2017   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.34
      1/28/2017   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      1/28/2017   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      1/28/2017   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      1/28/2017   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.36
      1/28/2017   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.04
      1/28/2017   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.92
      1/28/2017   709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.22
      1/28/2017   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.74
      1/28/2017   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.49
      1/28/2017   709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00345891 - PO System          230.32
      1/28/2017   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      1/28/2017   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/28/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/28/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/28/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.09
      1/28/2017   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   82.86
      1/28/2017   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      1/28/2017   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/28/2017   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      1/28/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             100
      1/28/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/28/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/28/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/28/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.19
      1/28/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.93
      1/28/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          438.1
      1/28/2017   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      1/28/2017   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      1/28/2017   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      1/28/2017   709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33828           9.84
      1/28/2017   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      1/28/2017   709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-4            -155
      1/28/2017   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/28/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.22
      1/28/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.25
      1/28/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.19
      1/28/2017   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      1/28/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5

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      1/28/2017   709   EG0062   Owner Operator   Tractor Charge                 dbt wk 1/26 #17105                  350.36
      1/28/2017   709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                        8.75
      1/28/2017   709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                        8.75
      1/28/2017   709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                        8.75
      1/28/2017   709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                        8.75
      1/28/2017   709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/28/2017   709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/28/2017   709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/28/2017   709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                        74.22
      1/28/2017   709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                        74.22
      1/28/2017   709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                        74.22
      1/28/2017   709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                        74.22
      1/28/2017   709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                2.5
      1/28/2017   709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                2.5
      1/28/2017   709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                2.5
      1/28/2017   709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                2.5
      1/28/2017   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL           8.75
      1/28/2017   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                         8
      1/28/2017   709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/28/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       361.89
      1/28/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.79
      1/28/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.56
      1/28/2017   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           76.86
      1/28/2017   709   FS0039   Owner Operator   Truck Payment                  CTMS - 198776 truck lease 3304      434.29
      1/28/2017   709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL           8.75
      1/28/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           325
      1/28/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            10
      1/28/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      1/28/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            75
      1/28/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.75
      1/28/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      1/28/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.1
      1/28/2017   709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      3.25
      1/28/2017   709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        221.8
      1/28/2017   709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                    10.58
      1/28/2017   709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                    34.17
      1/28/2017   709   FT0004   Owner Operator   Loan Repayment                 crdt exp ck 154430 - s/u loan        -1010
      1/28/2017   709   FT0004   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment       506.75
      1/28/2017   709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           29.51
      1/28/2017   709   FT0004   Owner Operator   T Chek Fee                     Advance 73129                       604.49
      1/28/2017   709   FT0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                        10
      1/28/2017   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      1/28/2017   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                        13
      1/28/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       309.45
      1/28/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        243.4
      1/28/2017   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           39.04
      1/28/2017   709   GS0015   Owner Operator   Truck Payment                  CTMS - 198734 Lease                 252.11
      1/28/2017   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL               8.75
      1/28/2017   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                        13
      1/28/2017   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/28/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/28/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/28/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       448.59
      1/28/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       293.15
      1/28/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.44
      1/28/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        515.6
      1/28/2017   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD               15.61
      1/28/2017   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      1/28/2017   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                        13
      1/28/2017   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          100
      1/28/2017   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/28/2017   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/28/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       141.14
      1/28/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       371.09
      1/28/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.38
      1/28/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.27
      1/28/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       392.98
      1/28/2017   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    54.68

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      1/28/2017   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                  21.34
      1/28/2017   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/28/2017   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                          24.7
      1/28/2017   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.25
      1/28/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.15
      1/28/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.79
      1/28/2017   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 91.64
      1/28/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/28/2017   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                       521.95
      1/28/2017   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      1/28/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                  8.75
      1/28/2017   709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                        13
      1/28/2017   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      1/28/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/28/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/28/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/28/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/28/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.79
      1/28/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.25
      1/28/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       515.39
      1/28/2017   709   JC0292   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment       272.93
      1/28/2017   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.11
      1/28/2017   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      1/28/2017   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/28/2017   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      1/28/2017   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      1/28/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          500
      1/28/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      1/28/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         179
      1/28/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       383.21
      1/28/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       317.18
      1/28/2017   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      1/28/2017   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      1/28/2017   709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
      1/28/2017   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/28/2017   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      1/28/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/28/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      1/28/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      1/28/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/28/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       429.46
      1/28/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.73
      1/28/2017   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      1/28/2017   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      1/28/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      1/28/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      1/28/2017   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         250
      1/28/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      1/28/2017   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      1/28/2017   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      1/28/2017   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.29
      1/28/2017   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        110.2
      1/28/2017   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
      1/28/2017   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      1/28/2017   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.58
      1/28/2017   709   JR0099   Owner Operator   Truck Payment                  CTMS - 198714 Truck Lease           169.69
      1/28/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      1/28/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      1/28/2017   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      1/28/2017   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      1/28/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/28/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      1/28/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/28/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/28/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        348.6
      1/28/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.67

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      1/28/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       275.41
      1/28/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.93
      1/28/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      1/28/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      1/28/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      1/28/2017    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-4          -100
      1/28/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      1/28/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/28/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      1/28/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       186.32
      1/28/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       320.98
      1/28/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          400
      1/28/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.51
      1/28/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       171.51
      1/28/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.09
      1/28/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32
      1/28/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism         2.5
      1/28/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00344469 - PO System         91.02
      1/28/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                       519.59
      1/28/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL           8.75
      1/28/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                         8
      1/28/2017    709   LL0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD           39.04
      1/28/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 198809 Lease Q1111           252.11
      1/28/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                 8.75
      1/28/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                        13
      1/28/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/28/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      1/28/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       439.08
      1/28/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       509.36
      1/28/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 94.51
      1/28/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism         2.5
      1/28/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      1/28/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                       13
      1/28/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                       158.58
      1/28/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    70.29
      1/28/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL           8.75
      1/28/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                         8
      1/28/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                           50
      1/28/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.59
      1/28/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       278.62
      1/28/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.39
      1/28/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.04
      1/28/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 198732 Q1113 Lease           252.11
      1/28/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                 8.75
      1/28/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                        13
      1/28/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.28
      1/28/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.91
      1/28/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.02
      1/28/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment       254.35
      1/28/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 53.11
      1/28/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                       337.19
      1/28/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      1/28/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
      1/28/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          800
      1/28/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
      1/28/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.8
      1/28/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       426.16
      1/28/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      1/28/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.86
      1/28/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
      1/28/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      1/28/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
      1/28/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
      1/28/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      1/28/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       472.36
      1/28/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.79

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      1/28/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.44
      1/28/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      1/28/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 198815 Lease                   215.66
      1/28/2017    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      1/28/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      1/28/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      1/28/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/28/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/28/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.51
      1/28/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.43
      1/28/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      1/28/2017    709   NG0005   Owner Operator   Repair Order                   CTMS - 198891 Repair                   214.8
      1/28/2017    709   NG0005   Owner Operator   Tire Fee                       Tire Fee: 1986776                          4
      1/28/2017    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00345274 - PO System          237.76
      1/28/2017    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.28
      1/28/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      1/28/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      1/28/2017    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/28/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
      1/28/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                      34.17
      1/28/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      1/28/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 198731 Truck 73130 Leas        196.65
      1/28/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      1/28/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                 8.75
      1/28/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      1/28/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      1/28/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD                 39.04
      1/28/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori           2.5
      1/28/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 198714 Down Payment lo         303.55
      1/28/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.69
      1/28/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/28/2017    709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-21           55.88
      1/28/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/28/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/28/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.92
      1/28/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           195
      1/28/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.74
      1/28/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      1/28/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      1/28/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/28/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/28/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/28/2017    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/28/2017    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/28/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.17
      1/28/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.52
      1/28/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   45.29
      1/28/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      1/28/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      1/28/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/28/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      1/28/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/28/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/28/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/28/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/28/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/28/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/28/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.41
      1/28/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.16
      1/28/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.84
      1/28/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      1/28/2017    709   RL0062   Owner Operator   Repair Order                   CTMS - 198892 Repair                  219.27
      1/28/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      1/28/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      1/28/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      1/28/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13

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      1/28/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          380.3
      1/28/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.32
      1/28/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      1/28/2017    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      1/28/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      1/28/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      1/28/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.92
      1/28/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.09
      1/28/2017    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         267.27
      1/28/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      1/28/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 198714 Q1202 Truck Leas        278.76
      1/28/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      1/28/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      1/28/2017    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/28/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/28/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/28/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/28/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/28/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.17
      1/28/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.54
      1/28/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.8
      1/28/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.66
      1/28/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
      1/28/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                      34.17
      1/28/2017    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         263.96
      1/28/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      1/28/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      1/28/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 198730 Q1248                   311.97
      1/28/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      1/28/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      1/28/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/28/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/28/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/28/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.34
      1/28/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.17
      1/28/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.27
      1/28/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      1/28/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      1/28/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      1/28/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/28/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/28/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.11
      1/28/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.73
      1/28/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.76
      1/28/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.48
      1/28/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.09
      1/28/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      1/28/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      1/28/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      1/28/2017    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/28/2017    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/28/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.7
      1/28/2017    709   VB0015   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          256.3
      1/28/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      1/28/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 198852 Tractor Sub leas        242.03
      1/28/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/28/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 32945                          13
      1/28/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/28/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/28/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/28/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.39
      1/28/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.49
      1/28/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   55.47
      1/28/2017    709   VJ0006   Owner Operator   Truck Payment                  CTMS - 198715 Tractor Q1235             565
      1/28/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/28/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13

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      1/28/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      1/28/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      1/28/2017    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7          4450.39
      1/28/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/28/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      1/28/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.16
      1/28/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.69
      1/28/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      1/28/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/28/2017    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33832           9.84
      1/28/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      1/28/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/28/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.93
      1/28/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.93
      1/28/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.47
      1/28/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      1/28/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      1/28/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/28/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
      1/28/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                     34.17
      1/28/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.01
      1/28/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      1/28/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 198732 Sub Lease Q13171        352.68
      1/28/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/28/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      1/28/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/28/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.22
      1/28/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.62
      1/28/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.46
      1/28/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.05
      1/28/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      1/28/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/28/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/28/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      1/28/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          67.87
      1/28/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.99
      1/28/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.36
      1/28/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.66
      1/28/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      1/28/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/28/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      1/28/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      1/28/2017    742   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33846           9.84
      1/28/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      1/28/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/28/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.46
      1/28/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.81
      1/28/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      1/28/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      1/28/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      1/28/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      1/28/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      1/28/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      1/28/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      1/28/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      1/28/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/28/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      1/28/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.85
      1/28/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.15
      1/28/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      1/28/2017    742   IK0012   Owner Operator   Repair Order                   CTMS - 198835 repair                    265
      1/28/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
      1/28/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
      1/28/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.54
      1/28/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.96
      1/28/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.54

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      1/28/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.62
      1/28/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.86
      1/28/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
      1/28/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/28/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/28/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.31
      1/28/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.21
      1/28/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         549.84
      1/28/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/28/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      1/28/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      1/28/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/28/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      1/28/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      1/28/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      1/28/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/28/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/28/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/28/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.25
      1/28/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      1/28/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      1/28/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          162.3
      1/28/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
      1/28/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                      34.17
      1/28/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.54
      1/28/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      1/28/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 198732 Q1247 Sub Lease         311.97
      1/28/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      1/28/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      1/28/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/28/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/28/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.84
      1/28/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      1/28/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/28/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/28/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/28/2017    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      1/28/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/28/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/28/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/28/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/28/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                            5.6
      1/28/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.48
      1/28/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.49
      1/28/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
      1/28/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
      1/28/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                     34.17
      1/28/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                     34.17
      1/28/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.26
      1/28/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.25
      1/28/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/28/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/28/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 198019 Tractor Lease           353.28
      1/28/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 198164 Tractor Lease           353.28
      1/28/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 198322 Tractor Lease           353.28
      1/28/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 198521 Tractor Lease           353.28
      1/28/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 198715 Tractor Lease           353.28
      1/28/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      1/28/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/28/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/28/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      1/28/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       2/4/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       2/4/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       2/4/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                              60
       2/4/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                              60
       2/4/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6

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       2/4/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.6
       2/4/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.34
       2/4/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.96
       2/4/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           311.1
       2/4/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/4/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD              7.82
       2/4/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te            2.5
       2/4/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL             8.75
       2/4/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                          13
       2/4/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.97
       2/4/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                            297
       2/4/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                      10.58
       2/4/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                      34.17
       2/4/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/4/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             74.22
       2/4/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 198940 Trck Lease               353.28
       2/4/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             8.75
       2/4/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             8.75
       2/4/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                           8
       2/4/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                           8
       2/4/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                              50
       2/4/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                              50
       2/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            100
       2/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          128.01
       2/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            150
       2/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           49.15
       2/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.08
       2/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.02
       2/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            110
       2/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.01
       2/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          117.52
       2/4/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                      10.58
       2/4/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                      10.58
       2/4/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                      34.17
       2/4/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                      34.17
       2/4/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/4/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/4/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             68.36
       2/4/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             68.36
       2/4/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 198778 Q13169 Sublease          352.68
       2/4/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 198970 Q13169 Sublease          352.68
       2/4/2017    709   CC0134   Owner Operator   Accident Claim                 01/09/17 CC0134 Property              1840.08
       2/4/2017    709   CC0134   Owner Operator   Accident Claim                 cond cr pend recpt                   -1840.04
       2/4/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
       2/4/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
       2/4/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                              50
       2/4/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          285.23
       2/4/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.18
       2/4/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           84.23
       2/4/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.04
       2/4/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                      10.58
       2/4/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                      34.17
       2/4/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/4/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             68.36
       2/4/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 198937 Q13168 sub lease         352.68
       2/4/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       2/4/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
       2/4/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                            300
       2/4/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/4/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       2/4/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          405.37
       2/4/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.54
       2/4/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          415.53
       2/4/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/4/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.96
       2/4/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       2/4/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
       2/4/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
       2/4/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                           13
       2/4/2017    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/4/2017    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       2/4/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          144.04
       2/4/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          142.77

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       2/4/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.62
       2/4/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.64
       2/4/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.18
       2/4/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       2/4/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       2/4/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       2/4/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       2/4/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.19
       2/4/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       2/4/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 198936 Q1201                   278.76
       2/4/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/4/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/4/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.01
       2/4/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.15
       2/4/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.37
       2/4/2017    709   DL0029   Owner Operator   Loan Repayment                 Crdt Exp Ck 155016 - s/u loan       -3386.62
       2/4/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         264.74
       2/4/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
       2/4/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       2/4/2017    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.24
       2/4/2017    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                       33.53
       2/4/2017    709   DL0029   Owner Operator   T Chek Fee                     Towing 33850                          273.22
       2/4/2017    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                 3353.09
       2/4/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.72
       2/4/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       2/4/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       2/4/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
       2/4/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       2/4/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.95
       2/4/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.38
       2/4/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       2/4/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       2/4/2017    709   DS0049   Owner Operator   Truck Payment                  CTMS - 199084 Tractor rental         1321.45
       2/4/2017    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       2/4/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       2/4/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-11           -186
       2/4/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       2/4/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
       2/4/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
       2/4/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.33
       2/4/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.49
       2/4/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
       2/4/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
       2/4/2017    709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00345891 - PO System          230.32
       2/4/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
       2/4/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       2/4/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       2/4/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            100
       2/4/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            100
       2/4/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/4/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/4/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/4/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/4/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/4/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/4/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.86
       2/4/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.12
       2/4/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.05
       2/4/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       2/4/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   22.61
       2/4/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       2/4/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
       2/4/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             300

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       2/4/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/4/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.58
       2/4/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.28
       2/4/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.43
       2/4/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
       2/4/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
       2/4/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       2/4/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/4/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.44
       2/4/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       2/4/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       2/4/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       2/4/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       2/4/2017    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/4/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.97
       2/4/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          247.6
       2/4/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.24
       2/4/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          325.2
       2/4/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       2/4/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 198968 truck lease 3304        434.29
       2/4/2017    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL             8.75
       2/4/2017    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                          13
       2/4/2017    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                          13
       2/4/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                              30
       2/4/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
       2/4/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            210
       2/4/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                              30
       2/4/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                              35
       2/4/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.35
       2/4/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.3
       2/4/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.1
       2/4/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       2/4/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.3
       2/4/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.5
       2/4/2017    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                      10.58
       2/4/2017    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                      34.17
       2/4/2017    709   FT0004   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment          506.4
       2/4/2017    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD             29.52
       2/4/2017    709   FT0004   Owner Operator   T Chek Fee                     Advance 73129                         395.51
       2/4/2017    709   FT0004   Owner Operator   Truck Payment                  CTMS - 198734 73129                   181.08
       2/4/2017    709   FT0004   Owner Operator   Truck Payment                  CTMS - 198940 73129                   181.08
       2/4/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/4/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/4/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       2/4/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       2/4/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.11
       2/4/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                           62.4
       2/4/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
       2/4/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       2/4/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       2/4/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       2/4/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.48
       2/4/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       2/4/2017    709   GS0015   Owner Operator   Repair Order                   CTMS - 198892 Repair                  317.14
       2/4/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 198940 Lease                   252.11
       2/4/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       2/4/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       2/4/2017    709   HC0023   Owner Operator   Fuel Card Advances             Cash Advance                              60
       2/4/2017    709   HC0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       2/4/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.91
       2/4/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.25
       2/4/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                     10.58
       2/4/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2016 - Q13170                     34.17
       2/4/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            68.36
       2/4/2017    709   HC0023   Owner Operator   Tractor Fee                    Fee - Q13170                          455.25
       2/4/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 198955 Q13170                  352.68

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       2/4/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       2/4/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       2/4/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/4/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             300
       2/4/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/4/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.48
       2/4/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.91
       2/4/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.09
       2/4/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       2/4/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/4/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       2/4/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
       2/4/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.59
       2/4/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.38
       2/4/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.19
       2/4/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.91
       2/4/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.13
       2/4/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       2/4/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       2/4/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/4/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/4/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.38
       2/4/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          104.5
       2/4/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       2/4/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/4/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       2/4/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       2/4/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
       2/4/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
       2/4/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
       2/4/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/4/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/4/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/4/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/4/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          382.5
       2/4/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          416.5
       2/4/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.03
       2/4/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.34
       2/4/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         272.93
       2/4/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
       2/4/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
       2/4/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       2/4/2017    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
       2/4/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
       2/4/2017    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         2000
       2/4/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
       2/4/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/4/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.67
       2/4/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.88
       2/4/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       2/4/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       2/4/2017    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       2/4/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       2/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             300
       2/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/4/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.53
       2/4/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          436.4
       2/4/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          439.9
       2/4/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       2/4/2017    709   JG0072   Owner Operator   Tire Fee                       Tire Fee: 1989868                          8

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       2/4/2017    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00345296 - PO System          111.89
       2/4/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       2/4/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/4/2017    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       2/4/2017    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           250
       2/4/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.25
       2/4/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.89
       2/4/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
       2/4/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       2/4/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       2/4/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.12
       2/4/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       2/4/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       2/4/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       2/4/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       2/4/2017    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-11         -51.94
       2/4/2017    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-11         -51.94
       2/4/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       2/4/2017    709   JR0099   Owner Operator   Repair Order                   CTMS - 198732 Inv 007-70623 Cu        255.61
       2/4/2017    709   JR0099   Owner Operator   Repair Order                   CTMS - 198938 Inv 007-70623 Cu        255.61
       2/4/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 198714 Truck Lease             109.07
       2/4/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 198908 Truck Lease             278.76
       2/4/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       2/4/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       2/4/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       2/4/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       2/4/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/4/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/4/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/4/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/4/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.83
       2/4/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.25
       2/4/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       2/4/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       2/4/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       2/4/2017    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-28            100
       2/4/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       2/4/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/4/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
       2/4/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
       2/4/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       2/4/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       2/4/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           160
       2/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.76
       2/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.04
       2/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           423
       2/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.37
       2/4/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       2/4/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/4/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00344469 - PO System           90.96
       2/4/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       2/4/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       2/4/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       2/4/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       2/4/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 199020 Lease Q1111             252.11
       2/4/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       2/4/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       2/4/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/4/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/4/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.86
       2/4/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.26
       2/4/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       2/4/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       2/4/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       2/4/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13

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       2/4/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.88
       2/4/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
       2/4/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       2/4/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       2/4/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/4/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.22
       2/4/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.69
       2/4/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       2/4/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 198938 Q1113 Lease             252.11
       2/4/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       2/4/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
       2/4/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/4/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/4/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/4/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/4/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.19
       2/4/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.29
       2/4/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.76
       2/4/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         254.35
       2/4/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
       2/4/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
       2/4/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/4/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       2/4/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           800
       2/4/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
       2/4/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
       2/4/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.67
       2/4/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       2/4/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       2/4/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       2/4/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       2/4/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       2/4/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
       2/4/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.47
       2/4/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.75
       2/4/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       2/4/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 199027 Lease                   215.66
       2/4/2017    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       2/4/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       2/4/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       2/4/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/4/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/4/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.96
       2/4/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.03
       2/4/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       2/4/2017    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00345274 - PO System          237.76
       2/4/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       2/4/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       2/4/2017    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/4/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
       2/4/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                      34.17
       2/4/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       2/4/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 198937 Truck 73130 Leas        196.65
       2/4/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       2/4/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                  -35
       2/4/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   X7086 1995 Kenworth NTL                  -35
       2/4/2017    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-11          -22.6
       2/4/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       2/4/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       2/4/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               -156.25
       2/4/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD               -156.25
       2/4/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori           -10
       2/4/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                X7086 1995 Kenworth PD Terrori           -10
       2/4/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 198908 Down Payment lo         303.55
       2/4/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     51.7

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       2/4/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
       2/4/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       2/4/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.43
       2/4/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.16
       2/4/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.87
       2/4/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       2/4/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       2/4/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/4/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-11        -206.25
       2/4/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       2/4/2017    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
       2/4/2017    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       2/4/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.35
       2/4/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.54
       2/4/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   45.32
       2/4/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       2/4/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       2/4/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       2/4/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/4/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/4/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/4/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/4/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.48
       2/4/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.74
       2/4/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       2/4/2017    709   RL0062   Owner Operator   Tire Fee                       Tire Fee: 1989869                          8
       2/4/2017    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00345294 - PO System           46.58
       2/4/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       2/4/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       2/4/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       2/4/2017    709   RM0026   Owner Operator   Charge back by affiliate       CTMS - 199085 PAPR                    237.77
       2/4/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       2/4/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.86
       2/4/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       2/4/2017    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       2/4/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       2/4/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       2/4/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.84
       2/4/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.14
       2/4/2017    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         267.27
       2/4/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       2/4/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 198908 Q1202 Truck Leas        278.76
       2/4/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       2/4/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       2/4/2017    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/4/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
       2/4/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                      34.17
       2/4/2017    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         263.96
       2/4/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       2/4/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       2/4/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 198936 Q1248                   311.97
       2/4/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       2/4/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       2/4/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       2/4/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/4/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/4/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          161.6
       2/4/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.55
       2/4/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.51
       2/4/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.89
       2/4/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       2/4/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       2/4/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95

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       2/4/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       2/4/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       2/4/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.83
       2/4/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.19
       2/4/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       2/4/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       2/4/2017    709   VB0015   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          52.22
       2/4/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       2/4/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    -35
       2/4/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/4/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/4/2017    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                      -1600
       2/4/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          26.86
       2/4/2017    709   VJ0006   Owner Operator   Express Check                  T-Check Payment                         1600
       2/4/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.28
       2/4/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.73
       2/4/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.57
       2/4/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.44
       2/4/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.86
       2/4/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                 -221.88
       2/4/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       2/4/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       2/4/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       2/4/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       2/4/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       2/4/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       2/4/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       2/4/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       2/4/2017    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-7           318.93
       2/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.86
       2/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.57
       2/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.61
       2/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.16
       2/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.92
       2/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.25
       2/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.34
       2/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.68
       2/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.42
       2/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.52
       2/4/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
       2/4/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
       2/4/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                        6.3
       2/4/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                      34.17
       2/4/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                      34.17
       2/4/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       2/4/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       2/4/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
       2/4/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
       2/4/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       2/4/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       2/4/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/4/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/4/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/4/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/4/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.98
       2/4/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.54
       2/4/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.33
       2/4/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
       2/4/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
       2/4/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
       2/4/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8

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       2/4/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       2/4/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/4/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                          33.89
       2/4/2017    742   AS0089   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                    46.36
       2/4/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2016 - 33912                       100
       2/4/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2016 - 33912                       100
       2/4/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2016 - 33912                       100
       2/4/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2016 - 33912                       100
       2/4/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.69
       2/4/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.68
       2/4/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.69
       2/4/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.69
       2/4/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/4/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/4/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/4/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/4/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/4/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       2/4/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.35
       2/4/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.92
       2/4/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.78
       2/4/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.62
       2/4/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       2/4/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       2/4/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       2/4/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/4/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.38
       2/4/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.01
       2/4/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.49
       2/4/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.05
       2/4/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.78
       2/4/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       2/4/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       2/4/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/4/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.22
       2/4/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.02
       2/4/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.34
       2/4/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.16
       2/4/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.98
       2/4/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.97
       2/4/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
       2/4/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                     34.17
       2/4/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.04
       2/4/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       2/4/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 198938 Sub Lease Q13171        352.68
       2/4/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       2/4/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/4/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.01
       2/4/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           26.3
       2/4/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           160
       2/4/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       2/4/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/4/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       2/4/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       2/4/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       65.34
       2/4/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       17.58
       2/4/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       2/4/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       2/4/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       2/4/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/4/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          230.9
       2/4/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.94
       2/4/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.91

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       2/4/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       2/4/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       2/4/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       2/4/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       2/4/2017    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-11          -1.12
       2/4/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       2/4/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       2/4/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
       2/4/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
       2/4/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/4/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.08
       2/4/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.06
       2/4/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
       2/4/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
       2/4/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
       2/4/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
       2/4/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.16
       2/4/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.8
       2/4/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.88
       2/4/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
       2/4/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       2/4/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/4/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/4/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/4/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/4/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.88
       2/4/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.11
       2/4/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  105.63
       2/4/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         501.76
       2/4/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
       2/4/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       2/4/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       2/4/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       2/4/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       2/4/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       2/4/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       2/4/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/4/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
       2/4/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       2/4/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       2/4/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
       2/4/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       2/4/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
       2/4/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                      34.17
       2/4/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
       2/4/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
       2/4/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 198937 Q1247 Sub Lease         311.97
       2/4/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       2/4/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       2/4/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/4/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/4/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.92
       2/4/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.88
       2/4/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.05
       2/4/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.53
       2/4/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.44
       2/4/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       2/4/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       2/4/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/4/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.99
       2/4/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.28
       2/4/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
       2/4/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         193.42
       2/4/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       2/4/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       2/4/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13

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       2/4/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.56
       2/4/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.55
       2/4/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.05
       2/4/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.58
       2/4/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.73
       2/4/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
       2/4/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                     34.17
       2/4/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.26
       2/4/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       2/4/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 198909 Tractor Lease           353.28
       2/4/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/4/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/4/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/4/2017    742   SK0049   Owner Operator   Permits                        ID06:2017 - 33934                         11
       2/4/2017    742   SK0049   Owner Operator   Permits                        NM07:2017 - 33934                        5.5
       2/4/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       2/4/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      2/11/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      2/11/2017    709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                   12.5
      2/11/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      2/11/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      2/11/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      2/11/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/11/2017    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      2/11/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      2/11/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.01
      2/11/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.05
      2/11/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.46
      2/11/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.99
      2/11/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.45
      2/11/2017    709   AR0064   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                        2.25
      2/11/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
      2/11/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                     34.17
      2/11/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
      2/11/2017    709   AR0064   Owner Operator   Repair Order                   CTMS - 199275 Repair                  286.75
      2/11/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 199140 Trck Lease              353.28
      2/11/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      2/11/2017    709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                   12.5
      2/11/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      2/11/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.89
      2/11/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.01
      2/11/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           125
      2/11/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      2/11/2017    709   AV0021   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       29.62
      2/11/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
      2/11/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                     34.17
      2/11/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
      2/11/2017    709   AV0021   Owner Operator   Tire Fee                       Tire Fee: 1990100                          4
      2/11/2017    709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00346387 - PO System          113.83
      2/11/2017    709   AV0021   Owner Operator   Toll Charges                   Carquinez Bridge 12                       25
      2/11/2017    709   AV0021   Owner Operator   Toll Charges                   Carquinez Bridge 12                       25
      2/11/2017    709   AV0021   Owner Operator   Toll Charges                   Carquinez Bridge 12                       25
      2/11/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 199162 Q13169 Sublease         352.68
      2/11/2017    709   CC0134   Owner Operator   Accident Claim                 01/09/17 CC0134 Property             -920.22
      2/11/2017    709   CC0134   Owner Operator   Accident Claim                 Reverse conditnl credit 2/4/17       1840.04
      2/11/2017    709   CC0134   Owner Operator   Advance                        Bal of Clm 63057 s/u 5 wks              200
      2/11/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      2/11/2017    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
      2/11/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      2/11/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.07
      2/11/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.06
      2/11/2017    709   CC0134   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       41.14
      2/11/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
      2/11/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                     34.17
      2/11/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
      2/11/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 199137 Q13168 sub lease        352.68

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      2/11/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      2/11/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      2/11/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      2/11/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/11/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/11/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.63
      2/11/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      2/11/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/11/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      2/11/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      2/11/2017    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                    12.5
      2/11/2017    709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 199094 MDI & EG Heel             125
      2/11/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      2/11/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.89
      2/11/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.07
      2/11/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.42
      2/11/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.59
      2/11/2017    709   CR0064   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       26.78
      2/11/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      2/11/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      2/11/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      2/11/2017    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                    12.5
      2/11/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      2/11/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.53
      2/11/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.94
      2/11/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      2/11/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 199136 Q1201                   278.76
      2/11/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/11/2017    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                    12.5
      2/11/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      2/11/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      2/11/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      2/11/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.54
      2/11/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.64
      2/11/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.98
      2/11/2017    709   DL0029   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                      149.72
      2/11/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         264.74
      2/11/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      2/11/2017    709   DL0029   Owner Operator   Repair Order                   CTMS - 198891 Repair                    250
      2/11/2017    709   DL0029   Owner Operator   Repair Order                   CTMS - 199003 Repair                    150
      2/11/2017    709   DL0029   Owner Operator   Repair Order                   CTMS - 199276 Repair                  255.68
      2/11/2017    709   DL0029   Owner Operator   T Chek Fee                     Towing 33850                           51.03
      2/11/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      2/11/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      2/11/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.82
      2/11/2017    709   DL0107   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                     -117.39
      2/11/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
      2/11/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
      2/11/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                      34.17
      2/11/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                      34.17
      2/11/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      2/11/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      2/11/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      2/11/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      2/11/2017    709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                       14.38
      2/11/2017    709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                   425.4
      2/11/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      2/11/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                    12.5
      2/11/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      2/11/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/11/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/11/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.37

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      2/11/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.71
      2/11/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      2/11/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      2/11/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      2/11/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-4             186
      2/11/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-18        -2813.1
      2/11/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.39
      2/11/2017    709   DS0225   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       -30.5
      2/11/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      2/11/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      2/11/2017    709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                    12.5
      2/11/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      2/11/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.01
      2/11/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.99
      2/11/2017    709   DW0138   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       21.14
      2/11/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      2/11/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
      2/11/2017    709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00345891 - PO System          230.28
      2/11/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      2/11/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
      2/11/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      2/11/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/11/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/11/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/11/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.27
      2/11/2017    709   EA0003   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       94.24
      2/11/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      2/11/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      2/11/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
      2/11/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      2/11/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/11/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/11/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/11/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/11/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.75
      2/11/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.31
      2/11/2017    709   EE0011   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       54.39
      2/11/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      2/11/2017    709   EE0011   Owner Operator   Repair Order                   CTMS - 199276 Parts                     96.9
      2/11/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      2/11/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      2/11/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      2/11/2017    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
      2/11/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      2/11/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      2/11/2017    709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-28            155
      2/11/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.83
      2/11/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.29
      2/11/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.1
      2/11/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.41
      2/11/2017    709   EG0062   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                      151.81
      2/11/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      2/11/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      2/11/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      2/11/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      2/11/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 2/2 #17105                     350.36
      2/11/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 2/9 #61526                     350.36
      2/11/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/11/2017    709   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      2/11/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.37
      2/11/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22

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      2/11/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/11/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      2/11/2017    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
      2/11/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      2/11/2017    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.39
      2/11/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.99
      2/11/2017    709   FS0039   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                        6.36
      2/11/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      2/11/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 199160 truck lease 3304        434.29
      2/11/2017    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL             8.75
      2/11/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/11/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             300
      2/11/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/11/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/11/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.29
      2/11/2017    709   FT0004   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                        7.48
      2/11/2017    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                      10.58
      2/11/2017    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                      34.17
      2/11/2017    709   FT0004   Owner Operator   Loan Repayment                 Exp ck 155608 s/u loan                 -1616
      2/11/2017    709   FT0004   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         271.51
      2/11/2017    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD             29.52
      2/11/2017    709   FT0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                          16
      2/11/2017    709   FT0004   Owner Operator   T Chek Fee                     Tractor Repair 73129                  1459.6
      2/11/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/11/2017    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      2/11/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      2/11/2017    709   FV0001   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                        16.8
      2/11/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      2/11/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      2/11/2017    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                    12.5
      2/11/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      2/11/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          243.7
      2/11/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      2/11/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 199140 Lease                   252.11
      2/11/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      2/11/2017    709   HC0023   Owner Operator   Broker Pre Pass                Q13170 PrePass Device                   12.5
      2/11/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      2/11/2017    709   HC0023   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-18        -626.27
      2/11/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.99
      2/11/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.26
      2/11/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                     10.58
      2/11/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2016 - Q13170                     34.17
      2/11/2017    709   HC0023   Owner Operator   Permits1                       ID06:2017 - Q13170                        11
      2/11/2017    709   HC0023   Owner Operator   Permits1                       IL02:2017 - Q13170                      3.75
      2/11/2017    709   HC0023   Owner Operator   Permits1                       NM07:2017 - Q13170                       5.5
      2/11/2017    709   HC0023   Owner Operator   Permits1                       NY13:2016 - Q13170                        19
      2/11/2017    709   HC0023   Owner Operator   Permits1                       OR16:2017 - Q13170                         8
      2/11/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            68.36
      2/11/2017    709   HC0023   Owner Operator   Tractor Fee                    Fee - Q13170                          455.25
      2/11/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 199135 Q13170                  352.68
      2/11/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      2/11/2017    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                    12.5
      2/11/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      2/11/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             300
      2/11/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/11/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.95
      2/11/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.11
      2/11/2017    709   HG0007   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                        5.86
      2/11/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      2/11/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/11/2017    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
      2/11/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      2/11/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
      2/11/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.03
      2/11/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.15

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      2/11/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.2
      2/11/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.67
      2/11/2017    709   HG0027   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       22.35
      2/11/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      2/11/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      2/11/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           28.85
      2/11/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.29
      2/11/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.97
      2/11/2017    709   IR0002   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                      -31.41
      2/11/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      2/11/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/11/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      2/11/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      2/11/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      2/11/2017    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                    12.5
      2/11/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
      2/11/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      2/11/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/11/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/11/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/11/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/11/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.52
      2/11/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.32
      2/11/2017    709   JC0292   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                      168.94
      2/11/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         272.93
      2/11/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
      2/11/2017    709   JC0292   Owner Operator   Toll Charges                   Benicia 12                                25
      2/11/2017    709   JC0292   Owner Operator   Toll Charges                   Carquinez Bridge 12                       25
      2/11/2017    709   JC0292   Owner Operator   Toll Charges                   Carquinez Bridge 12                       25
      2/11/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      2/11/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
      2/11/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      2/11/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      2/11/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/11/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/11/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.49
      2/11/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.32
      2/11/2017    709   JG0017   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       75.79
      2/11/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      2/11/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      2/11/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                    12.5
      2/11/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      2/11/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/11/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/11/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/11/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/11/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.39
      2/11/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.48
      2/11/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.3
      2/11/2017    709   JG0072   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                      136.17
      2/11/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      2/11/2017    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00345296 - PO System          111.89
      2/11/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      2/11/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/11/2017    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                    12.5
      2/11/2017    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      2/11/2017    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/11/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.13
      2/11/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.06
      2/11/2017    709   JG0092   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       -2.66
      2/11/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      2/11/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      2/11/2017    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                    12.5
      2/11/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13

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      2/11/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           180
      2/11/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.5
      2/11/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      2/11/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      2/11/2017    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                    12.5
      2/11/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      2/11/2017    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-4            51.94
      2/11/2017    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-4            51.94
      2/11/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.37
      2/11/2017    709   JR0099   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       72.59
      2/11/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      2/11/2017    709   JR0099   Owner Operator   Repair Order                   CTMS - 199137 Inv 007-70623 Cu        255.61
      2/11/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 199111 Truck Lease             278.76
      2/11/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      2/11/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      2/11/2017    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                    12.5
      2/11/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      2/11/2017    709   JS0265   Owner Operator   ESCROW                         Escrow Withdrawal                     -171.7
      2/11/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/11/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/11/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/11/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/11/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/11/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/11/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/11/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.08
      2/11/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.18
      2/11/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.23
      2/11/2017    709   JS0265   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       -1.31
      2/11/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      2/11/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      2/11/2017    709   JS0265   Owner Operator   T Chek Fee                     ExpressCheck Fee                         1.7
      2/11/2017    709   JS0265   Owner Operator   T Chek Fee                     Tractor Repair 33325                    170
      2/11/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      2/11/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      2/11/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/11/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/11/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/11/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           288
      2/11/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           280
      2/11/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          61.44
      2/11/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.02
      2/11/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.01
      2/11/2017    709   KP0004   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                      225.73
      2/11/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      2/11/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/11/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      2/11/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      2/11/2017    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                    12.5
      2/11/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      2/11/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      2/11/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 199207 Lease Q1111             252.11
      2/11/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      2/11/2017    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      2/11/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      2/11/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/11/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/11/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.65
      2/11/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      2/11/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      2/11/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      2/11/2017    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                   12.5
      2/11/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      2/11/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.75
      2/11/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
      2/11/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75

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      2/11/2017    709   ME0053   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                     12.5
      2/11/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                            8
      2/11/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                              50
      2/11/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.16
      2/11/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.16
      2/11/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.37
      2/11/2017    709   ME0053   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                         3.14
      2/11/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/11/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      2/11/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 199137 Q1113 Lease             252.11
      2/11/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      2/11/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      2/11/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      2/11/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.95
      2/11/2017    709   MG0067   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                        -6.41
      2/11/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/11/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/11/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/11/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      2/11/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      2/11/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      2/11/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      2/11/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      2/11/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      2/11/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      2/11/2017    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                     12.5
      2/11/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                           13
      2/11/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/11/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/11/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/11/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/11/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.01
      2/11/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.58
      2/11/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         254.35
      2/11/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/11/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      2/11/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      2/11/2017    709   MP0035   Owner Operator   Accident Claim                 01/16/17 MP0035 Trailer Damage        968.77
      2/11/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      2/11/2017    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                     12.5
      2/11/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           13
      2/11/2017    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                      -2500
      2/11/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            800
      2/11/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             280
      2/11/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2.8
      2/11/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.94
      2/11/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/11/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      2/11/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      2/11/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      2/11/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
      2/11/2017    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                     12.5
      2/11/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                           13
      2/11/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
      2/11/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.22
      2/11/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.35
      2/11/2017    709   NB0029   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                         70.6
      2/11/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/11/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      2/11/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 199213 Lease                   215.66
      2/11/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
      2/11/2017    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                    12.5
      2/11/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
      2/11/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                               60
      2/11/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/11/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/11/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.6
      2/11/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.13
      2/11/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.33
      2/11/2017    709   NG0005   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                         3.32
      2/11/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/11/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      2/11/2017    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00345274 - PO System          237.76

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      2/11/2017    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                             19
      2/11/2017    709   NR0010   Owner Operator   Permits1                       NY13:2016 - Q1106                        -19
      2/11/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      2/11/2017    709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                    12.5
      2/11/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      2/11/2017    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    709   NT9564   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       66.45
      2/11/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
      2/11/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                      34.17
      2/11/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      2/11/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 199137 Truck 73130 Leas        196.65
      2/11/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      2/11/2017    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-4             22.6
      2/11/2017    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.2
      2/11/2017    709   RC0030   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                      717.41
      2/11/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      2/11/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      2/11/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 199111 Down Payment lo         303.55
      2/11/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     51.7
      2/11/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/11/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/11/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.02
      2/11/2017    709   RC0089   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                      -14.46
      2/11/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      2/11/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      2/11/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/11/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                   12.5
      2/11/2017    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      2/11/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-4           206.25
      2/11/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-18             -3
      2/11/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/11/2017    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/11/2017    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/11/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.22
      2/11/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.54
      2/11/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.48
      2/11/2017    709   RL0017   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                      -33.58
      2/11/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   45.32
      2/11/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      2/11/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      2/11/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      2/11/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/11/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/11/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/11/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/11/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.63
      2/11/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.19
      2/11/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.79
      2/11/2017    709   RL0062   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       96.17
      2/11/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      2/11/2017    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00345294 - PO System           46.58
      2/11/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      2/11/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      2/11/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      2/11/2017    709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                    12.5
      2/11/2017    709   RM0026   Owner Operator   Charge back by affiliate       CTMS - 199277 PAPR unit               237.77
      2/11/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      2/11/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.32
      2/11/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.52
      2/11/2017    709   RM0026   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       28.23
      2/11/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      2/11/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      2/11/2017    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                    12.5
      2/11/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13

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      2/11/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                           208
      2/11/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.93
      2/11/2017    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         267.27
      2/11/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      2/11/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 199112 Q1202 Truck Leas        278.76
      2/11/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      2/11/2017    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                    12.5
      2/11/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      2/11/2017    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/11/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/11/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/11/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/11/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.02
      2/11/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.52
      2/11/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          328.8
      2/11/2017    709   RR0123   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       113.4
      2/11/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
      2/11/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                      34.17
      2/11/2017    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment           263
      2/11/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      2/11/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      2/11/2017    709   RR0123   Owner Operator   Toll Charges                   Benicia 5                                 15
      2/11/2017    709   RR0123   Owner Operator   Toll Charges                   Carquinez Bridge 8                        25
      2/11/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 199136 Q1248                   311.97
      2/11/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      2/11/2017    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      2/11/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      2/11/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/11/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/11/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/11/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.7
      2/11/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.17
      2/11/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.34
      2/11/2017    709   SB0009   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       50.99
      2/11/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      2/11/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      2/11/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      2/11/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      2/11/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      2/11/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.16
      2/11/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.96
      2/11/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.91
      2/11/2017    709   SN0019   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       12.07
      2/11/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      2/11/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      2/11/2017    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
      2/11/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      2/11/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      2/11/2017    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/11/2017    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/11/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.01
      2/11/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.43
      2/11/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           335
      2/11/2017    709   VB0015   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                      -25.48
      2/11/2017    709   VB0015   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          256.3
      2/11/2017    709   VB0015   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         204.08
      2/11/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      2/11/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 199061 Tractor Sub leas        242.03
      2/11/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 199248 Tractor Sub leas        242.03
      2/11/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/11/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/11/2017    709   VJ0006   Owner Operator   Broker Pre Pass                32945 PrePass Device                    12.5
      2/11/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         173.14
      2/11/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/11/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.42
      2/11/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.1
      2/11/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.33

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      2/11/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           278.8
      2/11/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/11/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.54
      2/11/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.54
      2/11/2017    709   VJ0006   Owner Operator   Truck Payment                  CTMS - 198909 Tractor Q1235              565
      2/11/2017    709   VJ0006   Owner Operator   Truck Payment                  CTMS - 199112 Tractor Q1235              565
      2/11/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      2/11/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      2/11/2017    709   WB0062   Owner Operator   Miscellaneous                  To replace voided ck 965976           1384.92
      2/11/2017    709   WB0062   Owner Operator   Miscellaneous                  Voided Ck 965976                     -1384.92
      2/11/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/11/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
      2/11/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      2/11/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      2/11/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.31
      2/11/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          259.81
      2/11/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.73
      2/11/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.15
      2/11/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           91.28
      2/11/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                       10.58
      2/11/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                       10.58
      2/11/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                       34.17
      2/11/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                       27.87
      2/11/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/11/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 60.47
      2/11/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                   8.75
      2/11/2017    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                     12.5
      2/11/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                           13
      2/11/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/11/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/11/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/11/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/11/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/11/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/11/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/11/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/11/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.03
      2/11/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.68
      2/11/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.91
      2/11/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          162.13
      2/11/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           215.3
      2/11/2017    742   AP0047   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                        32.38
      2/11/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/11/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                   52.35
      2/11/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris            2.5
      2/11/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/11/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2016 - 33912                        100
      2/11/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            2.25
      2/11/2017    742   AS0089   Owner Operator   Permits                        NY13:2016 - 33912                         1.5
      2/11/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      2/11/2017    742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                     12.5
      2/11/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                           13
      2/11/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          253.25
      2/11/2017    742   BS0078   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                        193.8
      2/11/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/11/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    60.55
      2/11/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
      2/11/2017    742   CA0089   Owner Operator   Broker Pre Pass                33832 PrePass Device                     12.5
      2/11/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                           13
      2/11/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                              50
      2/11/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          377.48
      2/11/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.07
      2/11/2017    742   CA0089   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                        41.08
      2/11/2017    742   CA0089   Owner Operator   Permits                        NY13:2016 - 33832                         1.5
      2/11/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL             8.75
      2/11/2017    742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                    12.5
      2/11/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                           8
      2/11/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                              50
      2/11/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                           340.2
      2/11/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          360.35
      2/11/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.61
      2/11/2017    742   CT0085   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                        61.97
      2/11/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                      10.58

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      2/11/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                     34.17
      2/11/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.04
      2/11/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      2/11/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 199137 Sub Lease Q13171        352.68
      2/11/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      2/11/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           23.8
      2/11/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.78
      2/11/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      2/11/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.5
      2/11/2017    742   DA0067   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       28.74
      2/11/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      2/11/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/11/2017    742   DA0067   Owner Operator   Repair Order                   CTMS - 199159 repair                 -158.59
      2/11/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      2/11/2017    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                    12.5
      2/11/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      2/11/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      2/11/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      2/11/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.08
      2/11/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.06
      2/11/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.73
      2/11/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.49
      2/11/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.04
      2/11/2017    742   ED0041   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       73.34
      2/11/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      2/11/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                        9.77
      2/11/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      2/11/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      2/11/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      2/11/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      2/11/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      2/11/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.97
      2/11/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.28
      2/11/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.06
      2/11/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.29
      2/11/2017    742   EN0016   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       41.45
      2/11/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      2/11/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      2/11/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/11/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/11/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      2/11/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      2/11/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      2/11/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      2/11/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.03
      2/11/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.15
      2/11/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.23
      2/11/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.65
      2/11/2017    742   EO0014   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       41.24
      2/11/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      2/11/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      2/11/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      2/11/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      2/11/2017    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-4             1.12
      2/11/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      2/11/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      2/11/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      2/11/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      2/11/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.03
      2/11/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.81
      2/11/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      2/11/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      2/11/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      2/11/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
      2/11/2017    742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                    12.5
      2/11/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
      2/11/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.24
      2/11/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.63
      2/11/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.36
      2/11/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.44
      2/11/2017    742   KJ0045   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       58.47
      2/11/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.88
      2/11/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
      2/11/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           42.78
      2/11/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.2
      2/11/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    742   LL0134   Owner Operator   Permits                        ID06:2017 - 33195                         11
      2/11/2017    742   LL0134   Owner Operator   Permits                        IL02:2017 - 33195                       3.75
      2/11/2017    742   LL0134   Owner Operator   Permits                        NM07:2017 - 33195                        5.5
      2/11/2017    742   LL0134   Owner Operator   Permits                        OR16:2017 - 33195                          8
      2/11/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      2/11/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      2/11/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/11/2017    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                    12.5
      2/11/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      2/11/2017    742   MH0117   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       16.17
      2/11/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      2/11/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/11/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      2/11/2017    742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                    12.5
      2/11/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      2/11/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/11/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/11/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.51
      2/11/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      2/11/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.73
      2/11/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      2/11/2017    742   MT0112   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                        4.84
      2/11/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
      2/11/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                      34.17
      2/11/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      2/11/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      2/11/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 199137 Q1247 Sub Lease         311.97
      2/11/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      2/11/2017    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      2/11/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      2/11/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/11/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/11/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.75
      2/11/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.7
      2/11/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.94
      2/11/2017    742   NG0024   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       84.94
      2/11/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      2/11/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      2/11/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      2/11/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      2/11/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/11/2017    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                    12.5
      2/11/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      2/11/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      2/11/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      2/11/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/11/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/11/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/11/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/11/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/11/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.83
      2/11/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.29

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      2/11/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.8
      2/11/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.93
      2/11/2017    742   PC0012   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                        49.3
      2/11/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      2/11/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      2/11/2017    742   PC0012   Owner Operator   Repair Order                   CTMS - 198892 Repair                  114.87
      2/11/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      2/11/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         315.76
      2/11/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      2/11/2017    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      2/11/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      2/11/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.17
      2/11/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.72
      2/11/2017    742   RN0054   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       19.98
      2/11/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
      2/11/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                     34.17
      2/11/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.26
      2/11/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      2/11/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 199113 Tractor Lease           353.28
      2/11/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/11/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/11/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/11/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      2/11/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      2/18/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      2/18/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      2/18/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      2/18/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      2/18/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/18/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      2/18/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.9
      2/18/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.69
      2/18/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.95
      2/18/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.3
      2/18/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
      2/18/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                     34.17
      2/18/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
      2/18/2017    709   AR0064   Owner Operator   Repair Order                   CTMS - 199444 Repair                  286.75
      2/18/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 199325 Trck Lease              353.28
      2/18/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 199375 Q13147 Lease            440.14
      2/18/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      2/18/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      2/18/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            150
      2/18/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      2/18/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.08
      2/18/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.74
      2/18/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.79
      2/18/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           190
      2/18/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      2/18/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
      2/18/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                     34.17
      2/18/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
      2/18/2017    709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00346387 - PO System          113.83
      2/18/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 199377 Q13169 Sublease         352.68
      2/18/2017    709   CC0134   Owner Operator   Advance                        Acc Clm 63057 - s/u $200 pmts        -919.86
      2/18/2017    709   CC0134   Owner Operator   Advance                        Bal of Clm 63057 s/u 5 wks              200
      2/18/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      2/18/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      2/18/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.26
      2/18/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.68
      2/18/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
      2/18/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                     34.17
      2/18/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
      2/18/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 199321 Q13168 sub lease        352.68
      2/18/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/18/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13

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      2/18/2017    709   CM0119   Owner Operator   ESCROW                         Escrow Withdrawal                      -8000
      2/18/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                            300
      2/18/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          444.6
      2/18/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.44
      2/18/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      2/18/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/18/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      2/18/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      2/18/2017    709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 199278 MDI & EG Heel              125
      2/18/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      2/18/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.16
      2/18/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.68
      2/18/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.02
      2/18/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.96
      2/18/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.83
      2/18/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      2/18/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      2/18/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      2/18/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      2/18/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.3
      2/18/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      2/18/2017    709   CS0091   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.19
      2/18/2017    709   CS0091   Owner Operator   T Chek Fee                     Tractor Repair Q1201                  118.62
      2/18/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 199320 Q1201                   278.76
      2/18/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/18/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      2/18/2017    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-25        -185.99
      2/18/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.83
      2/18/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.8
      2/18/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.15
      2/18/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.94
      2/18/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         264.74
      2/18/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      2/18/2017    709   DL0029   Owner Operator   Repair Order                   CTMS - 199444 Repair                  255.68
      2/18/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      2/18/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/18/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      2/18/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      2/18/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/18/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.76
      2/18/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      2/18/2017    709   DS0049   Owner Operator   Toll Charges                   FasTrak 32915       Bay Bridg             25
      2/18/2017    709   DS0049   Owner Operator   Toll Charges                   FasTrak 32915       Bay Bridg             25
      2/18/2017    709   DS0049   Owner Operator   Toll Charges                   FasTrak 32915       Bay Bridg             25
      2/18/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      2/18/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      2/18/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-11          2813.1
      2/18/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.51
      2/18/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      2/18/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      2/18/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      2/18/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          365.9
      2/18/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.41
      2/18/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.88
      2/18/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      2/18/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
      2/18/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      2/18/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/18/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      2/18/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            100
      2/18/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/18/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/18/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/18/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/18/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/18/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      2/18/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.78
      2/18/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.66
      2/18/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.16
      2/18/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      2/18/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      2/18/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/18/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      2/18/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/18/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/18/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.19
      2/18/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.58
      2/18/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.12
      2/18/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      2/18/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      2/18/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      2/18/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      2/18/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.87
      2/18/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.91
      2/18/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.1
      2/18/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.1
      2/18/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      2/18/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      2/18/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 2/16 #17105                    350.36
      2/18/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/18/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/18/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/18/2017    709   EI0003   Owner Operator   Repair Order                   CTMS - 199276 Repair                  261.33
      2/18/2017    709   EI0003   Owner Operator   Repair Order                   CTMS - 199445 Repair                  261.33
      2/18/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      2/18/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      2/18/2017    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           285
      2/18/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.86
      2/18/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.62
      2/18/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      2/18/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 199375 truck lease 3304        434.29
      2/18/2017    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL             8.75
      2/18/2017    709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                    12.5
      2/18/2017    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                          13
      2/18/2017    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                          13
      2/18/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/18/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            250
      2/18/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                              20
      2/18/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      2/18/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
      2/18/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/18/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.09
      2/18/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.57
      2/18/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.54
      2/18/2017    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                      10.58
      2/18/2017    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                      34.17
      2/18/2017    709   FT0004   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         271.51
      2/18/2017    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD             29.52
      2/18/2017    709   FT0004   Owner Operator   T Chek Fee                     Tractor Repair 73129                   140.4
      2/18/2017    709   FT0004   Owner Operator   Truck Payment                  CTMS - 199139 73129                   181.08
      2/18/2017    709   FT0004   Owner Operator   Truck Payment                  CTMS - 199324 73129                   181.08
      2/18/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/18/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      2/18/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/18/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/18/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.38
      2/18/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.37
      2/18/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.06
      2/18/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04

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      2/18/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      2/18/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      2/18/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.79
      2/18/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.83
      2/18/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      2/18/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 199324 Lease                   252.11
      2/18/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      2/18/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      2/18/2017    709   HC0023   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-11          626.27
      2/18/2017    709   HC0023   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-25        -209.42
      2/18/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          365.3
      2/18/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          409.9
      2/18/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.45
      2/18/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                     10.58
      2/18/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2016 - Q13170                     34.17
      2/18/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            68.36
      2/18/2017    709   HC0023   Owner Operator   Tractor Fee                    crt wk 2/2-2/9                        -910.5
      2/18/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 199323 Q13170                  352.68
      2/18/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      2/18/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      2/18/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/18/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/18/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/18/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/18/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.61
      2/18/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.85
      2/18/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      2/18/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/18/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      2/18/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/18/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/18/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/18/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.29
      2/18/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.14
      2/18/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.16
      2/18/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                           285
      2/18/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.43
      2/18/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      2/18/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      2/18/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/18/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.87
      2/18/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      2/18/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/18/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      2/18/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      2/18/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      2/18/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
      2/18/2017    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-25        -667.43
      2/18/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      2/18/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/18/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/18/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/18/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/18/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.89
      2/18/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.06
      2/18/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.92
      2/18/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         272.02
      2/18/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
      2/18/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      2/18/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/18/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      2/18/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      2/18/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/18/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/18/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.62
      2/18/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.19

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      2/18/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      2/18/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      2/18/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/18/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      2/18/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/18/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/18/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/18/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/18/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.27
      2/18/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.01
      2/18/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      2/18/2017    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00345296 - PO System          111.89
      2/18/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      2/18/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/18/2017    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      2/18/2017    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/18/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.55
      2/18/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      2/18/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      2/18/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      2/18/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-25        -338.57
      2/18/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/18/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/18/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.04
      2/18/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.11
      2/18/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.28
      2/18/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      2/18/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      2/18/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      2/18/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.91
      2/18/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      2/18/2017    709   JR0099   Owner Operator   Repair Order                   CTMS - 199322 Inv 007-70623 Cu        255.61
      2/18/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 199296 Truck Lease             278.76
      2/18/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      2/18/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      2/18/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      2/18/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/18/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/18/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/18/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.91
      2/18/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.3
      2/18/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      2/18/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      2/18/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/18/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      2/18/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/18/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/18/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/18/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/18/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/18/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      2/18/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.65
      2/18/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.05
      2/18/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.55
      2/18/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.02
      2/18/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.25
      2/18/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      2/18/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/18/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      2/18/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      2/18/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      2/18/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      2/18/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 199404 Lease Q1111             252.11
      2/18/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      2/18/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      2/18/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      2/18/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/18/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.44
      2/18/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.61
      2/18/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      2/18/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      2/18/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      2/18/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      2/18/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.19
      2/18/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
      2/18/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      2/18/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      2/18/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.99
      2/18/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.74
      2/18/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      2/18/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 199322 Q1113 Lease             252.11
      2/18/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/18/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.13
      2/18/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      2/18/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/18/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      2/18/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      2/18/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/18/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/18/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/18/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/18/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.81
      2/18/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.87
      2/18/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.22
      2/18/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         254.35
      2/18/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      2/18/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      2/18/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/18/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      2/18/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            800
      2/18/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             300
      2/18/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/18/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.71
      2/18/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.7
      2/18/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      2/18/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/18/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      2/18/2017    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-25        -204.12
      2/18/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.12
      2/18/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      2/18/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      2/18/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             300
      2/18/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/18/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          205.9
      2/18/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.19
      2/18/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                            170
      2/18/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      2/18/2017    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00345274 - PO System          237.76
      2/18/2017    709   NR0010   Owner Operator   Broker Pre Pass                Q1106 PrePass Device                    12.5
      2/18/2017    709   NR0010   Owner Operator   ESCROW                         Final Balance Refund                   -4250
      2/18/2017    709   NR0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.06
      2/18/2017    709   NR0010   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                      191.47
      2/18/2017    709   NR0010   Owner Operator   FUEL TAX                       Nov 2016 Fuel Taxes                    44.28
      2/18/2017    709   NR0010   Owner Operator   Truck Payment                  CTMS - 198164 Tractor Sublease        252.11
      2/18/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      2/18/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      2/18/2017    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
      2/18/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                      34.17
      2/18/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47

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      2/18/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 199321 Truck 73130 Leas        196.65
      2/18/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      2/18/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      2/18/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      2/18/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 199296 Down Payment lo         303.55
      2/18/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     51.7
      2/18/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/18/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/18/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/18/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.22
      2/18/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.31
      2/18/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      2/18/2017    709   RC0089   Owner Operator   Toll Charges                   FasTrak 32986       CATALINA            20.4
      2/18/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      2/18/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/18/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/18/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-11               3
      2/18/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-25            -80
      2/18/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/18/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.54
      2/18/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   45.32
      2/18/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      2/18/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      2/18/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/18/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      2/18/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/18/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/18/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/18/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/18/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.26
      2/18/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          427.5
      2/18/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.57
      2/18/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      2/18/2017    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00345294 - PO System           46.58
      2/18/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      2/18/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      2/18/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      2/18/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      2/18/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.24
      2/18/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.84
      2/18/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.19
      2/18/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      2/18/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      2/18/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      2/18/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              60
      2/18/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      2/18/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.75
      2/18/2017    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         267.27
      2/18/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      2/18/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 199297 Q1202 Truck Leas        278.76
      2/18/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.88
      2/18/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      2/18/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      2/18/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/18/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/18/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/18/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.95
      2/18/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.7
      2/18/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.15
      2/18/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      2/18/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      2/18/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      2/18/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      2/18/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      2/18/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.92
      2/18/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.73

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      2/18/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.22
      2/18/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.32
      2/18/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      2/18/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      2/18/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      2/18/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.07
      2/18/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      2/18/2017    709   VB0015   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          256.3
      2/18/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      2/18/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 199454 Tractor Sub leas        242.03
      2/18/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/18/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/18/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/18/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/18/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/18/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.03
      2/18/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.23
      2/18/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.18
      2/18/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      2/18/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      2/18/2017    709   VJ0006   Owner Operator   Truck Payment                  CTMS - 199297 Tractor Q1235             565
      2/18/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/18/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      2/18/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      2/18/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      2/18/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      2/18/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      2/18/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      2/18/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              40
      2/18/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      2/18/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.38
      2/18/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.92
      2/18/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.93
      2/18/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.72
      2/18/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.88
      2/18/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.27
      2/18/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          205.4
      2/18/2017    709   WH0087   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       18.19
      2/18/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      2/18/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      2/18/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                      34.17
      2/18/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                      34.17
      2/18/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      2/18/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      2/18/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      2/18/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 198363 Q1238 Lease             311.97
      2/18/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 198540 Q1238 Lease             311.97
      2/18/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 198730 Q1238 Lease             311.97
      2/18/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 198936 Q1238 Lease             311.97
      2/18/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 199136 Q1238 Lease             311.97
      2/18/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 199320 Q1238 Lease             300.18
      2/18/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      2/18/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      2/18/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/18/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/18/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/18/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/18/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.42
      2/18/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.03
      2/18/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.16
      2/18/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.21
      2/18/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.74
      2/18/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      2/18/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      2/18/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75

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      2/18/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      2/18/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.22
      2/18/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          377.3
      2/18/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      2/18/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      2/18/2017    742   BS0078   Owner Operator   Toll Charges                   TxT 33471      Ship Channel                7
      2/18/2017    742   BS0078   Owner Operator   Toll Charges                   TxT 33471      Ship Channel              3.5
      2/18/2017    742   BS0078   Owner Operator   Toll Charges                   TxT 33471      Ship Channel              1.5
      2/18/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      2/18/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.08
      2/18/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.86
      2/18/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.14
      2/18/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      2/18/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      2/18/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.74
      2/18/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.33
      2/18/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
      2/18/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                     34.17
      2/18/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.04
      2/18/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      2/18/2017    742   CT0085   Owner Operator   Toll Charges                   FasTrak Q13171      Carquinez             25
      2/18/2017    742   CT0085   Owner Operator   Toll Charges                   FasTrak Q13171      Carquinez             25
      2/18/2017    742   CT0085   Owner Operator   Toll Charges                   FasTrak Q13171      Carquinez             25
      2/18/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 199322 Sub Lease Q13171        352.68
      2/18/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/18/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      2/18/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.62
      2/18/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.01
      2/18/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           30.1
      2/18/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      2/18/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/18/2017    742   DA0067   Owner Operator   Toll Charges                   FasTrak 33847 Antioch Bridge              25
      2/18/2017    742   DA0067   Owner Operator   Toll Charges                   FasTrak 33847 Bay Bridge                  25
      2/18/2017    742   DA0067   Owner Operator   Toll Charges                   FasTrak 33847 Benicia                     25
      2/18/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.54
      2/18/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/18/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      2/18/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.03
      2/18/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          444.8
      2/18/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      2/18/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/18/2017    742   EN0016   Owner Operator   Toll Charges                   TxT 32947      Ship Channel                7
      2/18/2017    742   EN0016   Owner Operator   Toll Charges                   TxT 32947      Ship Channel                7
      2/18/2017    742   EN0016   Owner Operator   Toll Charges                   TxT 32947      Ship Channel                7
      2/18/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      2/18/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      2/18/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      2/18/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.29
      2/18/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.19
      2/18/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.44
      2/18/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.4
      2/18/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      2/18/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      2/18/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      2/18/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      2/18/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      2/18/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      2/18/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      2/18/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      2/18/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      2/18/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.21
      2/18/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16

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      2/18/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      2/18/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
      2/18/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
      2/18/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.9
      2/18/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                          142.2
      2/18/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.55
      2/18/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.74
      2/18/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.88
      2/18/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
      2/18/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      2/18/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      2/18/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      2/18/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/18/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          157.22
      2/18/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/18/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          135.68
      2/18/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/18/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/18/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/18/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.68
      2/18/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.93
      2/18/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.79
      2/18/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      2/18/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      2/18/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      2/18/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/18/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      2/18/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      2/18/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/18/2017    742   MH0117   Owner Operator   Tire Fee                       Tire Fee: 1994321                          8
      2/18/2017    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00346828 - PO System          197.74
      2/18/2017    742   MH0117   Owner Operator   Toll Charges                   FasTrak 702077/33296 Carquinez            25
      2/18/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      2/18/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      2/18/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/18/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/18/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/18/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/18/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.09
      2/18/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.71
      2/18/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.46
      2/18/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      2/18/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
      2/18/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                      34.17
      2/18/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      2/18/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      2/18/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 199322 Q1247 Sub Lease         311.97
      2/18/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      2/18/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      2/18/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.04
      2/18/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.03
      2/18/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.27
      2/18/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.64
      2/18/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.62
      2/18/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      2/18/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      2/18/2017    742   NG0024   Owner Operator   Toll Charges                   FasTrak 702042/33252 Carquinez            25
      2/18/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.57
      2/18/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.25
      2/18/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.78
      2/18/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      2/18/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      2/18/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.68
      2/18/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.38
      2/18/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.46
      2/18/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.01

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      2/18/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.71
      2/18/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
      2/18/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                     34.17
      2/18/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.26
      2/18/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      2/18/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 199298 Tractor Lease           353.28
      2/18/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/18/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/18/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      2/18/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      2/18/2017    742   SK0049   Owner Operator   Toll Charges                   FasTrak FG5435/33934 Antioch B            25
      2/18/2017    742   SK0049   Owner Operator   Toll Charges                   FasTrak FG5455/33934 Bay Bridg            25
      2/18/2017    742   SK0049   Owner Operator   Toll Charges                   FasTrak FG5455/33934 Bay Bridg            25
      2/18/2017    844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      2/18/2017    844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    -35
      2/18/2017    844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      2/18/2017    844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/18/2017    844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  127.28
      2/18/2017    844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 -583.93
      2/18/2017    844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism           -10
      2/18/2017    844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                          635.4
      2/25/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      2/25/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      2/25/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.33
      2/25/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      2/25/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      2/25/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/25/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      2/25/2017    709   AR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-4          -71.54
      2/25/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.43
      2/25/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.08
      2/25/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.82
      2/25/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
      2/25/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                     34.17
      2/25/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
      2/25/2017    709   AR0064   Owner Operator   Repair Order                   CTMS - 199668 Repair                  286.75
      2/25/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 199540 Q13147 Lease            440.14
      2/25/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      2/25/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      2/25/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            100
      2/25/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.25
      2/25/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.11
      2/25/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.46
      2/25/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.64
      2/25/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.07
      2/25/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.24
      2/25/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.79
      2/25/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
      2/25/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                     34.17
      2/25/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
      2/25/2017    709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00346387 - PO System          113.83
      2/25/2017    709   AV0021   Owner Operator   Toll Charges                   Q13169      Carquinez Bridge             -25
      2/25/2017    709   AV0021   Owner Operator   Toll Charges                   Q13169      Carquinez Bridge             -25
      2/25/2017    709   AV0021   Owner Operator   Toll Charges                   Q13169      Carquinez Bridge             -25
      2/25/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 199564 Q13169 Sublease         352.68
      2/25/2017    709   CC0134   Owner Operator   Advance                        Bal of Clm 63057 s/u 5 wks               200
      2/25/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      2/25/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      2/25/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.16
      2/25/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.51
      2/25/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
      2/25/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                     34.17
      2/25/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
      2/25/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 199541 Q13168 sub lease        352.68
      2/25/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      2/25/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      2/25/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      2/25/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          437.4
      2/25/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      2/25/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/25/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      2/25/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      2/25/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      2/25/2017    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/25/2017    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/25/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.78
      2/25/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.69
      2/25/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.11
      2/25/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.05
      2/25/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      2/25/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      2/25/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      2/25/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      2/25/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.5
      2/25/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.65
      2/25/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      2/25/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 199540 Q1201                   278.76
      2/25/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/25/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      2/25/2017    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-18          185.99
      2/25/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.4
      2/25/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.77
      2/25/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.07
      2/25/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.77
      2/25/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         264.74
      2/25/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      2/25/2017    709   DL0029   Owner Operator   Repair Order                   CTMS - 199668 Repair                  255.68
      2/25/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      2/25/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      2/25/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      2/25/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/25/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/25/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.24
      2/25/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.71
      2/25/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.68
      2/25/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.37
      2/25/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
      2/25/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
      2/25/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                      34.17
      2/25/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                      34.17
      2/25/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      2/25/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      2/25/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      2/25/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      2/25/2017    709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                 1012.71
      2/25/2017    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00345068 - PO System           74.14
      2/25/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 198894 Sublease                338.99
      2/25/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 199095 Sublease                338.99
      2/25/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 199279 Sublease                338.99
      2/25/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 199491 Sublease                338.99
      2/25/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      2/25/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/25/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      2/25/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/25/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/25/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.74
      2/25/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.41
      2/25/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.61
      2/25/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      2/25/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35

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      2/25/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      2/25/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.12
      2/25/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      2/25/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      2/25/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      2/25/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.01
      2/25/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.02
      2/25/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.57
      2/25/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.74
      2/25/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.49
      2/25/2017    709   DW0138   Owner Operator   T Chek Fee                     ExpressCheck Fee                        7.02
      2/25/2017    709   DW0138   Owner Operator   T Chek Fee                     Tractor Repair 33443                    702
      2/25/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      2/25/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/25/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      2/25/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/25/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/25/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/25/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/25/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/25/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          389.9
      2/25/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.34
      2/25/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      2/25/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      2/25/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/25/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      2/25/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/25/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/25/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/25/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.41
      2/25/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.84
      2/25/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.65
      2/25/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      2/25/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      2/25/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      2/25/2017    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33828           9.84
      2/25/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      2/25/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.7
      2/25/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.66
      2/25/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.08
      2/25/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.86
      2/25/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      2/25/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      2/25/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 2/23 #17105                    350.36
      2/25/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/25/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.65
      2/25/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.15
      2/25/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.39
      2/25/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/25/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/25/2017    709   EI0003   Owner Operator   Repair Order                   CTMS - 199668 Repair                  261.33
      2/25/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      2/25/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      2/25/2017    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           363
      2/25/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.46
      2/25/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      2/25/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 199563 truck lease 3304        434.29
      2/25/2017    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL             8.75
      2/25/2017    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                          13
      2/25/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/25/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            150
      2/25/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      2/25/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3

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      2/25/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.28
      2/25/2017    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                      10.58
      2/25/2017    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                      34.17
      2/25/2017    709   FT0004   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         271.51
      2/25/2017    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD             29.51
      2/25/2017    709   FT0004   Owner Operator   Truck Payment                  CTMS - 199544 73129                   181.08
      2/25/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/25/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      2/25/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.89
      2/25/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      2/25/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      2/25/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      2/25/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.14
      2/25/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      2/25/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 199544 Lease                   252.11
      2/25/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      2/25/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      2/25/2017    709   HC0023   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-18          209.42
      2/25/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.89
      2/25/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.51
      2/25/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.08
      2/25/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                     10.58
      2/25/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2016 - Q13170                     34.17
      2/25/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            68.36
      2/25/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 199542 Q13170                  352.68
      2/25/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      2/25/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      2/25/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/25/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.35
      2/25/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.81
      2/25/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      2/25/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/25/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      2/25/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
      2/25/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/25/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.54
      2/25/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.89
      2/25/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.69
      2/25/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.85
      2/25/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      2/25/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      2/25/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/25/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/25/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           19.01
      2/25/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.19
      2/25/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.41
      2/25/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      2/25/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/25/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      2/25/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      2/25/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      2/25/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
      2/25/2017    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-18          667.43
      2/25/2017    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                      -3600
      2/25/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      2/25/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/25/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/25/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.6
      2/25/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.48
      2/25/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.94
      2/25/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.22
      2/25/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.68

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      2/25/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.11
      2/25/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210     Benicia 12                     -25
      2/25/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210     Carquinez Bridge               -25
      2/25/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210     Carquinez Bridge               -25
      2/25/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210 WVPEDTA Chelyan                   5.87
      2/25/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210 WVPEDTA Pax                       5.87
      2/25/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      2/25/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/25/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      2/25/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      2/25/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/25/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/25/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.17
      2/25/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.36
      2/25/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.9
      2/25/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      2/25/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      2/25/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/25/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      2/25/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/25/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/25/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/25/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/25/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.81
      2/25/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.85
      2/25/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.36
      2/25/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      2/25/2017    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00345296 - PO System          111.89
      2/25/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      2/25/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/25/2017    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      2/25/2017    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/25/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.09
      2/25/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      2/25/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      2/25/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      2/25/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-18          338.57
      2/25/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.53
      2/25/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.92
      2/25/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      2/25/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      2/25/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      2/25/2017    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/25/2017    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.04
      2/25/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      2/25/2017    709   JR0099   Owner Operator   Repair Order                   CTMS - 199542 Inv 007-70623 Cu        255.61
      2/25/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 199507 Truck Lease             278.76
      2/25/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      2/25/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      2/25/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      2/25/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/25/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/25/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/25/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/25/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/25/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/25/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.38
      2/25/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.12
      2/25/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.43
      2/25/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      2/25/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      2/25/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      2/25/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      2/25/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      2/25/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             300
      2/25/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/25/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/25/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/25/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            305
      2/25/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.94
      2/25/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            252
      2/25/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      2/25/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/25/2017    709   KP0004   Owner Operator   Tire Fee                       Tire Fee: 1996190                          4
      2/25/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00347418 - PO System           93.23
      2/25/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      2/25/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      2/25/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      2/25/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      2/25/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 199608 Lease Q1111             252.11
      2/25/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      2/25/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      2/25/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/25/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/25/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.79
      2/25/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      2/25/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      2/25/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      2/25/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      2/25/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.29
      2/25/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      2/25/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.33
      2/25/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.1
      2/25/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.81
      2/25/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.41
      2/25/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      2/25/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 199541 Q1113 Lease             246.28
      2/25/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/25/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.4
      2/25/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.02
      2/25/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.21
      2/25/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      2/25/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/25/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      2/25/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      2/25/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/25/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.54
      2/25/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.77
      2/25/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          315.8
      2/25/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.92
      2/25/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         254.35
      2/25/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.11
      2/25/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      2/25/2017    709   MM0103   Owner Operator   ESCROW                         Final Balance Refund                    -800
      2/25/2017    709   MM0103   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                       74.06
      2/25/2017    709   MM0103   Owner Operator   FUEL TAX                       DQ Fuel Tax                            97.94
      2/25/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/25/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      2/25/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            800
      2/25/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             300
      2/25/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/25/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.78
      2/25/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      2/25/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/25/2017    709   MP0035   Owner Operator   Repair Order                   CTMS - 199599 Fuel Q1105              -371.7

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      2/25/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                          323.05
      2/25/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
      2/25/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
      2/25/2017    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-18           204.12
      2/25/2017    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-4          -204.12
      2/25/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/25/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/25/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          431.75
      2/25/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          101.63
      2/25/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.29
      2/25/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/25/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/25/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               35.16
      2/25/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               35.15
      2/25/2017    709   NB0029   Owner Operator   Toll Charges                   TxT Q1108       Ship Channel              3.5
      2/25/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
      2/25/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
      2/25/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/25/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/25/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          272.88
      2/25/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           190.8
      2/25/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/25/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 32.97
      2/25/2017    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00345274 - PO System            237.7
      2/25/2017    709   NR0010   Owner Operator   Miscellaneous                  Void Statement Only                  -3521.12
      2/25/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
      2/25/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           13
      2/25/2017    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                              50
      2/25/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                       10.58
      2/25/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                       34.17
      2/25/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/25/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              30.47
      2/25/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 199541 Truck 73130 Leas         196.65
      2/25/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      2/25/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/25/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.15
      2/25/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      2/25/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 199507 Down Payment lo          303.55
      2/25/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     51.69
      2/25/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/25/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
      2/25/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      2/25/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                            270
      2/25/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          166.66
      2/25/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/25/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   103.05
      2/25/2017    709   RC0089   Owner Operator   Tire Fee                       Tire Fee: 1995980                          16
      2/25/2017    709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00347107 - PO System           292.92
      2/25/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                          504.72
      2/25/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      2/25/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/25/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-18               80
      2/25/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      2/25/2017    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      2/25/2017    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      2/25/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.84
      2/25/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/25/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    45.29
      2/25/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                     77.2
      2/25/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
      2/25/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/25/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
      2/25/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/25/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/25/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/25/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/25/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.85
      2/25/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.18
      2/25/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.55
      2/25/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          433.07
      2/25/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/25/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.13
      2/25/2017    709   RL0062   Owner Operator   T Chek Fee                     ExpressCheck Fee                         2.63

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      2/25/2017    709   RL0062   Owner Operator   T Chek Fee                     Tractor Repair 32912                  263.33
      2/25/2017    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00345294 - PO System           46.58
      2/25/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      2/25/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      2/25/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      2/25/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      2/25/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.55
      2/25/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.22
      2/25/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      2/25/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      2/25/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      2/25/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              40
      2/25/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      2/25/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.64
      2/25/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.73
      2/25/2017    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         267.27
      2/25/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      2/25/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 199507 Q1202 Truck Leas        278.76
      2/25/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      2/25/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      2/25/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      2/25/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      2/25/2017    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/25/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.55
      2/25/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.24
      2/25/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.09
      2/25/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.78
      2/25/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.03
      2/25/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
      2/25/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
      2/25/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                      34.17
      2/25/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                      34.17
      2/25/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      2/25/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      2/25/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      2/25/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      2/25/2017    709   RR0123   Owner Operator   Toll Charges                   FasTrak Q1248      Benicia                15
      2/25/2017    709   RR0123   Owner Operator   Toll Charges                   FasTrak Q1248      Carquinez              25
      2/25/2017    709   RR0123   Owner Operator   Toll Charges                   Q1248      Benicia 5                     -15
      2/25/2017    709   RR0123   Owner Operator   Toll Charges                   Q1248      Carquinez Bridge              -25
      2/25/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 199320 Q1248                   311.97
      2/25/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 199540 Q1248                   311.97
      2/25/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      2/25/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      2/25/2017    709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                      -5000
      2/25/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      2/25/2017    709   SB0009   Owner Operator   Express Check                  T-Check Payment                         5000
      2/25/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/25/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.72
      2/25/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                            162
      2/25/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.86
      2/25/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.37
      2/25/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      2/25/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      2/25/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      2/25/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      2/25/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      2/25/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.82
      2/25/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          190.4
      2/25/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.14
      2/25/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.48
      2/25/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.02
      2/25/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97

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      2/25/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      2/25/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      2/25/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.25
      2/25/2017    709   VB0015   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          256.3
      2/25/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      2/25/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 199668 Tractor Sub leas        242.03
      2/25/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/25/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/25/2017    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                      -1400
      2/25/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      2/25/2017    709   VJ0006   Owner Operator   Express Check                  T-Check Payment                         1400
      2/25/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             160
      2/25/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      2/25/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.65
      2/25/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.16
      2/25/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.44
      2/25/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      2/25/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      2/25/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 199687 New Truck Set Up        248.96
      2/25/2017    709   VJ0006   Owner Operator   Truck Payment                  CTMS - 199508 Tractor Q1235              565
      2/25/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/25/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      2/25/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      2/25/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      2/25/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      2/25/2017    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      2/25/2017    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      2/25/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      2/25/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      2/25/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      2/25/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      2/25/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      2/25/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      2/25/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      2/25/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              60
      2/25/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/25/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/25/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      2/25/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.47
      2/25/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.65
      2/25/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.44
      2/25/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.77
      2/25/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                             95
      2/25/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      2/25/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                      34.17
      2/25/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      2/25/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 199320 Q1238 Lease              11.79
      2/25/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 199540 Q1238 Lease             311.97
      2/25/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      2/25/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      2/25/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/25/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/25/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/25/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.45
      2/25/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.71
      2/25/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.33
      2/25/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      2/25/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/25/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      2/25/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.61
      2/25/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.3
      2/25/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.32
      2/25/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.46
      2/25/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      2/25/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      2/25/2017    742   BS0078   Owner Operator   Tire Fee                       Tire Fee: 1994671                          8

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      2/25/2017    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00346980 - PO System           70.75
      2/25/2017    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33832           9.84
      2/25/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      2/25/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.86
      2/25/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.65
      2/25/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.63
      2/25/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      2/25/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      2/25/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.6
      2/25/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.68
      2/25/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
      2/25/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                     34.17
      2/25/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.01
      2/25/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      2/25/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 199541 Sub Lease Q13171        352.68
      2/25/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/25/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      2/25/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.31
      2/25/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.37
      2/25/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.09
      2/25/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      2/25/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/25/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      2/25/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      2/25/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      2/25/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      2/25/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.48
      2/25/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.35
      2/25/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.91
      2/25/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.89
      2/25/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.35
      2/25/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      2/25/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      2/25/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      2/25/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      2/25/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.61
      2/25/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      2/25/2017    742   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33846           9.84
      2/25/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      2/25/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.67
      2/25/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.76
      2/25/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.64
      2/25/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.12
      2/25/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.23
      2/25/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      2/25/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      2/25/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      2/25/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      2/25/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      2/25/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      2/25/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      2/25/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      2/25/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.82
      2/25/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      2/25/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.15
      2/25/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      2/25/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
      2/25/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
      2/25/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.86
      2/25/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
      2/25/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            46.7

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      2/25/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          278.9
      2/25/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      2/25/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      2/25/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/25/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/25/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/25/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/25/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.57
      2/25/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      2/25/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.36
      2/25/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          247.8
      2/25/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      2/25/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      2/25/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
      2/25/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                      34.17
      2/25/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.54
      2/25/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      2/25/2017    742   MT0112   Owner Operator   Tire Fee                       Tire Fee: 1996232                          4
      2/25/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00347604 - PO System          163.44
      2/25/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 199541 Q1247 Sub Lease         311.97
      2/25/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      2/25/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      2/25/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/25/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/25/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.83
      2/25/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.2
      2/25/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.39
      2/25/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.26
      2/25/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      2/25/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      2/25/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      2/25/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      2/25/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/25/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/25/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      2/25/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      2/25/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/25/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/25/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.55
      2/25/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.54
      2/25/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.46
      2/25/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.06
      2/25/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.29
      2/25/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      2/25/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      2/25/2017    742   PC0012   Owner Operator   Toll Charges                   FasTrak 32969      Antioch B              25
      2/25/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      2/25/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      2/25/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      2/25/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      2/25/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.08
      2/25/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.92
      2/25/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
      2/25/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                     34.17
      2/25/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.25
      2/25/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      2/25/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 199509 Tractor Lease           353.28
      2/25/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/25/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/25/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/25/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      2/25/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       3/4/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       3/4/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       3/4/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.67
       3/4/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       3/4/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       3/4/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75

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       3/4/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       3/4/2017    709   AR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-25           71.54
       3/4/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.01
       3/4/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.48
       3/4/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.35
       3/4/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.28
       3/4/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.96
       3/4/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
       3/4/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                     34.17
       3/4/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
       3/4/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 199744 Q13147 Lease            440.14
       3/4/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       3/4/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       3/4/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.66
       3/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.95
       3/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.81
       3/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.95
       3/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           110
       3/4/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.86
       3/4/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
       3/4/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                     34.17
       3/4/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
       3/4/2017    709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00346387 - PO System          113.83
       3/4/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 199764 Q13169 Sublease         352.68
       3/4/2017    709   CC0134   Owner Operator   Advance                        Bal of Clm 63057 s/u 5 wks              200
       3/4/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       3/4/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       3/4/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.94
       3/4/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.57
       3/4/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.55
       3/4/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.92
       3/4/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          34.99
       3/4/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
       3/4/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                     34.17
       3/4/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
       3/4/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 199742 Q13168 sub lease        352.68
       3/4/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/4/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       3/4/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
       3/4/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/4/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/4/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.17
       3/4/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.14
       3/4/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       3/4/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/4/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       3/4/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       3/4/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       3/4/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.18
       3/4/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.63
       3/4/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.39
       3/4/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.54
       3/4/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       3/4/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       3/4/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       3/4/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       3/4/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       3/4/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 199747 Q1201                   278.76
       3/4/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/4/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       3/4/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          381.8
       3/4/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.17
       3/4/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.05
       3/4/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.92

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       3/4/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         264.74
       3/4/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       3/4/2017    709   DL0029   Owner Operator   Repair Order                   CTMS - 199844 Repair                  255.68
       3/4/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       3/4/2017    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                    12.5
       3/4/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       3/4/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       3/4/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       3/4/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       3/4/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.82
       3/4/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.63
       3/4/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.33
       3/4/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
       3/4/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                      34.17
       3/4/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
       3/4/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       3/4/2017    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00345068 - PO System          136.44
       3/4/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 199701 Sublease                338.99
       3/4/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       3/4/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/4/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       3/4/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       3/4/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       3/4/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.47
       3/4/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       3/4/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       3/4/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       3/4/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.66
       3/4/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.67
       3/4/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       3/4/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
       3/4/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
       3/4/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.05
       3/4/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                             30
       3/4/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
       3/4/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
       3/4/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
       3/4/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/4/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       3/4/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/4/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/4/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/4/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/4/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/4/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.72
       3/4/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.63
       3/4/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       3/4/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       3/4/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/4/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/4/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/4/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/4/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.06
       3/4/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.42
       3/4/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.41
       3/4/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.26
       3/4/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       3/4/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       3/4/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.08
       3/4/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.27
       3/4/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       3/4/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       3/4/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 3/2 #17105                     350.36
       3/4/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       3/4/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       3/4/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50

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       3/4/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.42
       3/4/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          431.6
       3/4/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   EI0003   Owner Operator   Permits                        ID06:2017 - 33949                         11
       3/4/2017    709   EI0003   Owner Operator   Permits                        IL02:2017 - 33949                       3.75
       3/4/2017    709   EI0003   Owner Operator   Permits                        NM07:2017 - 33949                        5.5
       3/4/2017    709   EI0003   Owner Operator   Permits                        NY13:2017 - 33949                        1.5
       3/4/2017    709   EI0003   Owner Operator   Permits                        OR16:2017 - 33949                          8
       3/4/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       3/4/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       3/4/2017    709   EI0003   Owner Operator   Repair Order                   CTMS - 199844 Repair                  261.33
       3/4/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       3/4/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       3/4/2017    709   FS0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.19
       3/4/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.96
       3/4/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       3/4/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 199767 truck lease 3304        434.29
       3/4/2017    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL             8.75
       3/4/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                              55
       3/4/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/4/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/4/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.55
       3/4/2017    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                      10.58
       3/4/2017    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                      34.17
       3/4/2017    709   FT0004   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         271.51
       3/4/2017    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD             29.52
       3/4/2017    709   FT0004   Owner Operator   Truck Payment                  CTMS - 199745 73129                    74.82
       3/4/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/4/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       3/4/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.86
       3/4/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       3/4/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       3/4/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       3/4/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.78
       3/4/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.09
       3/4/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       3/4/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 199745 Lease                   252.11
       3/4/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       3/4/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       3/4/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.67
       3/4/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.58
       3/4/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                     10.58
       3/4/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2016 - Q13170                     34.17
       3/4/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            68.36
       3/4/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 199744 Q13170                  352.68
       3/4/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       3/4/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       3/4/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/4/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/4/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.44
       3/4/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       3/4/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       3/4/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       3/4/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/4/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.48
       3/4/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.62
       3/4/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       3/4/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       3/4/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/4/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           24.96
       3/4/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.25
       3/4/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.26
       3/4/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          334.4
       3/4/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       3/4/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       3/4/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/4/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       3/4/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       3/4/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
       3/4/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
       3/4/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
       3/4/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
       3/4/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       3/4/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.95
       3/4/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
       3/4/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
       3/4/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/4/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       3/4/2017    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -2500
       3/4/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
       3/4/2017    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         2500
       3/4/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
       3/4/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       3/4/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.95
       3/4/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.53
       3/4/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       3/4/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       3/4/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/4/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       3/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
       3/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             300
       3/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       3/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/4/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.72
       3/4/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.56
       3/4/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.82
       3/4/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       3/4/2017    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00345296 - PO System          111.84
       3/4/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       3/4/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/4/2017    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       3/4/2017    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                            250
       3/4/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.7
       3/4/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.3
       3/4/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
       3/4/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       3/4/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       3/4/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       3/4/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       3/4/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       3/4/2017    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance                             100
       3/4/2017    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/4/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.71
       3/4/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.88
       3/4/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       3/4/2017    709   JR0099   Owner Operator   Repair Order                   CTMS - 199743 Inv 007-70623 Cu        255.61
       3/4/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 199714 Truck Lease             278.76
       3/4/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       3/4/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       3/4/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       3/4/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
       3/4/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
       3/4/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/4/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.89
       3/4/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       3/4/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       3/4/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/4/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       3/4/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
       3/4/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100

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       3/4/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           272
       3/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          407.1
       3/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.01
       3/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.33
       3/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.55
       3/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           380
       3/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.35
       3/4/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       3/4/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/4/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00347418 - PO System           93.23
       3/4/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       3/4/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       3/4/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       3/4/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       3/4/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 199812 Lease Q1111             252.11
       3/4/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       3/4/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       3/4/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/4/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/4/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.72
       3/4/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       3/4/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       3/4/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       3/4/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
       3/4/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.81
       3/4/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
       3/4/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       3/4/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       3/4/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       3/4/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.21
       3/4/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.93
       3/4/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.66
       3/4/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.98
       3/4/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.85
       3/4/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.82
       3/4/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       3/4/2017    709   ME0053   Owner Operator   Tire Fee                       Tire Fee: 1996372                          8
       3/4/2017    709   ME0053   Owner Operator   Tire Purchase                  PO: 709-00347508 - PO System           153.3
       3/4/2017    709   ME0053   Owner Operator   Tire Purchase                  PO: 709-00347508 - PO System           153.3
       3/4/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 199541 Q1113 Lease               5.83
       3/4/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 199743 Q1113 Lease             252.11
       3/4/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       3/4/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.02
       3/4/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.02
       3/4/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       3/4/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       3/4/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       3/4/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
       3/4/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              40
       3/4/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/4/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
       3/4/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/4/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.85
       3/4/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.58
       3/4/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.21
       3/4/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.67
       3/4/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         254.35
       3/4/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
       3/4/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
       3/4/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/4/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       3/4/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           800
       3/4/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
       3/4/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8

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       3/4/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.37
       3/4/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       3/4/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       3/4/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       3/4/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       3/4/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       3/4/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       3/4/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       3/4/2017    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-25          204.12
       3/4/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
       3/4/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
       3/4/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
       3/4/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/4/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/4/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.38
       3/4/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.67
       3/4/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.13
       3/4/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.54
       3/4/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       3/4/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 199411 Lease                   215.66
       3/4/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 199606 Lease                   215.66
       3/4/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 199811 Lease                   215.66
       3/4/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       3/4/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       3/4/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/4/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/4/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
       3/4/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.12
       3/4/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       3/4/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       3/4/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       3/4/2017    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
       3/4/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                      34.17
       3/4/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       3/4/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 199742 Truck 73130 Leas        196.65
       3/4/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       3/4/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       3/4/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       3/4/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 199716 Down Payment lo         303.55
       3/4/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     51.7
       3/4/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/4/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
       3/4/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       3/4/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          481.4
       3/4/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.26
       3/4/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       3/4/2017    709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00347107 - PO System          292.92
       3/4/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       3/4/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/4/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/4/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-11        -593.75
       3/4/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/4/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.96
       3/4/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.03
       3/4/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.16
       3/4/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   45.32
       3/4/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       3/4/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       3/4/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/4/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       3/4/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/4/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/4/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/4/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/4/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.64

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       3/4/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.82
       3/4/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       3/4/2017    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00345294 - PO System           46.51
       3/4/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       3/4/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       3/4/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       3/4/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       3/4/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.84
       3/4/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          346.8
       3/4/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.92
       3/4/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       3/4/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       3/4/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       3/4/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              60
       3/4/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       3/4/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.21
       3/4/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.41
       3/4/2017    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         267.27
       3/4/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       3/4/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 199714 Q1202 Truck Leas        278.76
       3/4/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       3/4/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       3/4/2017    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/4/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/4/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.25
       3/4/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.19
       3/4/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
       3/4/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                      34.17
       3/4/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       3/4/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       3/4/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 199747 Q1248                   311.97
       3/4/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       3/4/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       3/4/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       3/4/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/4/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/4/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.76
       3/4/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.79
       3/4/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.44
       3/4/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       3/4/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       3/4/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
       3/4/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       3/4/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       3/4/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.37
       3/4/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.3
       3/4/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.71
       3/4/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.06
       3/4/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.55
       3/4/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       3/4/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       3/4/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       3/4/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
       3/4/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           132
       3/4/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           376
       3/4/2017    709   VB0015   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          256.3
       3/4/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       3/4/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 199845 Tractor Sub leas        242.03
       3/4/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/4/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       3/4/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       3/4/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.39
       3/4/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.19
       3/4/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          170.1
       3/4/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          209.1

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       3/4/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.39
       3/4/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       3/4/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 199837 New Truck Set Up        248.96
       3/4/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       3/4/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       3/4/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       3/4/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       3/4/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       3/4/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       3/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.25
       3/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.14
       3/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.14
       3/4/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
       3/4/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                      34.17
       3/4/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       3/4/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 199742 Q1238 Lease             311.97
       3/4/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
       3/4/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       3/4/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/4/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/4/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/4/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/4/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.4
       3/4/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           402
       3/4/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
       3/4/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
       3/4/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/4/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       3/4/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.25
       3/4/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.14
       3/4/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.94
       3/4/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.66
       3/4/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       3/4/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       3/4/2017    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00346980 - PO System          167.71
       3/4/2017    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00346980 - PO System           96.96
       3/4/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       3/4/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       3/4/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.3
       3/4/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.89
       3/4/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       3/4/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       3/4/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       3/4/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.09
       3/4/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.19
       3/4/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.01
       3/4/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
       3/4/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                     34.17
       3/4/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.04
       3/4/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       3/4/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 199743 Sub Lease Q13171        352.68
       3/4/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/4/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       3/4/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.18
       3/4/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           315
       3/4/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.12
       3/4/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       3/4/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/4/2017    742   DA0067   Owner Operator   Repair Order                   CTMS - 199687 Repair                   181.8
       3/4/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/4/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/4/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       3/4/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13

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       3/4/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/4/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/4/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.13
       3/4/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.16
       3/4/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.04
       3/4/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.26
       3/4/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.35
       3/4/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       3/4/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       3/4/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/4/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/4/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       3/4/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       3/4/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       3/4/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       3/4/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          384.6
       3/4/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.07
       3/4/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.43
       3/4/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.11
       3/4/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       3/4/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       3/4/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       3/4/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       3/4/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       3/4/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       3/4/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
       3/4/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
       3/4/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.32
       3/4/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          226.7
       3/4/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.75
       3/4/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
       3/4/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
       3/4/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
       3/4/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
       3/4/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.34
       3/4/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.59
       3/4/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.22
       3/4/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.55
       3/4/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.88
       3/4/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
       3/4/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       3/4/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.57
       3/4/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
       3/4/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
       3/4/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       3/4/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       3/4/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       3/4/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       3/4/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       3/4/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       3/4/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       3/4/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       3/4/2017    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00346828 - PO System          197.74
       3/4/2017    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00346828 - PO System          197.74
       3/4/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       3/4/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       3/4/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/4/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
       3/4/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       3/4/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.23
       3/4/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.55
       3/4/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
       3/4/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58

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       3/4/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                      34.17
       3/4/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
       3/4/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
       3/4/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00347604 - PO System          163.44
       3/4/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 199743 Q1247 Sub Lease         311.97
       3/4/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       3/4/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       3/4/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.93
       3/4/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       3/4/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       3/4/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       3/4/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/4/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       3/4/2017    742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
       3/4/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
       3/4/2017    742   PC0012   Owner Operator   Express Check                  T-Check Payment                         2000
       3/4/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.21
       3/4/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.16
       3/4/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       3/4/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       3/4/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       3/4/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       3/4/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          274.5
       3/4/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.13
       3/4/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.17
       3/4/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
       3/4/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                     34.17
       3/4/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.26
       3/4/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       3/4/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 199716 Tractor Lease           353.28
       3/4/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       3/4/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       3/4/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/4/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       3/4/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      3/11/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      3/11/2017    709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                   12.5
      3/11/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      3/11/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                             150
      3/11/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      3/11/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.38
      3/11/2017    709   AN0007   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                        6.92
      3/11/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      3/11/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      3/11/2017    709   AN0007   Owner Operator   Toll Charges                   21157A      CATALINA VIEW NOR          21.44
      3/11/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      3/11/2017    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   9.16
      3/11/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                            170
      3/11/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                            297
      3/11/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.92
      3/11/2017    709   AR0064   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      131.66
      3/11/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
      3/11/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                     34.17
      3/11/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
      3/11/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 199926 Q13147 Lease            440.14
      3/11/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      3/11/2017    709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                   12.5
      3/11/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      3/11/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/11/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      3/11/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      3/11/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.55
      3/11/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.93
      3/11/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.03
      3/11/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.09
      3/11/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.79
      3/11/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.96
      3/11/2017    709   AV0021   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       16.15

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      3/11/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
      3/11/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                     34.17
      3/11/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
      3/11/2017    709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00346387 - PO System           113.8
      3/11/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 199957 Q13169 Sublease         352.68
      3/11/2017    709   CC0134   Owner Operator   Advance                        Bal of Clm 63057 s/u 5 wks            119.86
      3/11/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      3/11/2017    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
      3/11/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      3/11/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/11/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.14
      3/11/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.66
      3/11/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.15
      3/11/2017    709   CC0134   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                        8.76
      3/11/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
      3/11/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                     34.17
      3/11/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
      3/11/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 199924 Q13168 sub lease        352.68
      3/11/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      3/11/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      3/11/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      3/11/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/11/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/11/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          434.7
      3/11/2017    709   CM0119   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       44.35
      3/11/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      3/11/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/11/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      3/11/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      3/11/2017    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                    12.5
      3/11/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      3/11/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.42
      3/11/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.33
      3/11/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          136.7
      3/11/2017    709   CR0064   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       13.37
      3/11/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      3/11/2017    709   CR0064   Owner Operator   Toll Charges                   32864      Carquinez Bridge               25
      3/11/2017    709   CR0064   Owner Operator   Toll Charges                   32864      Carquinez Bridge               15
      3/11/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      3/11/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      3/11/2017    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                    12.5
      3/11/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      3/11/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.77
      3/11/2017    709   CS0091   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       40.45
      3/11/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      3/11/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 199929 Q1201                   278.76
      3/11/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/11/2017    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                    12.5
      3/11/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      3/11/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/11/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.85
      3/11/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.46
      3/11/2017    709   DL0029   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                        45.3
      3/11/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         264.74
      3/11/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      3/11/2017    709   DL0029   Owner Operator   Repair Order                   CTMS - 200033 Repair                  255.68
      3/11/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      3/11/2017    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                    12.5
      3/11/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      3/11/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.49
      3/11/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.61
      3/11/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.81
      3/11/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.91
      3/11/2017    709   DL0107   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                     -142.27
      3/11/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
      3/11/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                      34.17

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      3/11/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      3/11/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      3/11/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 199878 Sublease                338.99
      3/11/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      3/11/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                    12.5
      3/11/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      3/11/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/11/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/11/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.57
      3/11/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      3/11/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      3/11/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      3/11/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.93
      3/11/2017    709   DS0225   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      -25.65
      3/11/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      3/11/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      3/11/2017    709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                    12.5
      3/11/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      3/11/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.15
      3/11/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.02
      3/11/2017    709   DW0138   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      260.41
      3/11/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      3/11/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
      3/11/2017    709   DW0138   Owner Operator   Toll Charges                   33443     Carquinez Bridge                25
      3/11/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      3/11/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
      3/11/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      3/11/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/11/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/11/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/11/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.33
      3/11/2017    709   EA0003   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       45.66
      3/11/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      3/11/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      3/11/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
      3/11/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      3/11/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      3/11/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/11/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/11/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/11/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/11/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.58
      3/11/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.65
      3/11/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.38
      3/11/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.16
      3/11/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.36
      3/11/2017    709   EE0011   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      110.99
      3/11/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      3/11/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      3/11/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      3/11/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      3/11/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      3/11/2017    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
      3/11/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      3/11/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/11/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.67
      3/11/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.59
      3/11/2017    709   EG0062   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      173.13
      3/11/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      3/11/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      3/11/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 3/9 #17105                     350.36
      3/11/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75

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      3/11/2017    709   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                     12.5
      3/11/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                           13
      3/11/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                              50
      3/11/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          453.73
      3/11/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.78
      3/11/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.86
      3/11/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          525.52
      3/11/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          111.35
      3/11/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/11/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           74.22
      3/11/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                   2.5
      3/11/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
      3/11/2017    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                     12.5
      3/11/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
      3/11/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           182.3
      3/11/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          253.38
      3/11/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.51
      3/11/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          181.49
      3/11/2017    709   FS0039   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                         2.61
      3/11/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/11/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              76.88
      3/11/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 199956 truck lease 3304         434.29
      3/11/2017    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL              8.75
      3/11/2017    709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-18        -2379.06
      3/11/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/11/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             350
      3/11/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                               30
      3/11/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.3
      3/11/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3.5
      3/11/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/11/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.69
      3/11/2017    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                       10.58
      3/11/2017    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                       34.17
      3/11/2017    709   FT0004   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment           59.94
      3/11/2017    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/11/2017    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD              29.52
      3/11/2017    709   FT0004   Owner Operator   Truck Payment                  CTMS - 199745 73129                    106.26
      3/11/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      3/11/2017    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                    12.5
      3/11/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                          13
      3/11/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/11/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/11/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          474.67
      3/11/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                           236.3
      3/11/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/11/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    82.04
      3/11/2017    709   FV0001   Owner Operator   Toll Charges                   21521B      Bay Bridge                     15
      3/11/2017    709   FV0001   Owner Operator   Toll Charges                   21521B      Bay Bridge                     15
      3/11/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL              8.75
      3/11/2017    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                     12.5
      3/11/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                           13
      3/11/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          247.53
      3/11/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/11/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD              39.07
      3/11/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 199927 Lease                    252.11
      3/11/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             8.75
      3/11/2017    709   HC0023   Owner Operator   Broker Pre Pass                Q13170 PrePass Device                    12.5
      3/11/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                           8
      3/11/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                              50
      3/11/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.66
      3/11/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.25
      3/11/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                      10.58
      3/11/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2016 - Q13170                      34.17
      3/11/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             68.36
      3/11/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 199925 Q13170                   352.68
      3/11/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                  8.75
      3/11/2017    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                     12.5
      3/11/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                           13
      3/11/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      3/11/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/11/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/11/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          432.77
      3/11/2017    709   HG0007   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                        62.32

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      3/11/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      3/11/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/11/2017    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
      3/11/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      3/11/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/11/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.79
      3/11/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.83
      3/11/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.16
      3/11/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                           211
      3/11/2017    709   HG0027   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       69.12
      3/11/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      3/11/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      3/11/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                          119.18
      3/11/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.19
      3/11/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.12
      3/11/2017    709   IR0002   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      -26.12
      3/11/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      3/11/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/11/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      3/11/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
      3/11/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      3/11/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      3/11/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/11/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/11/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.73
      3/11/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.04
      3/11/2017    709   JG0017   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                        8.47
      3/11/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      3/11/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      3/11/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                    12.5
      3/11/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      3/11/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/11/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/11/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/11/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/11/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.94
      3/11/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.83
      3/11/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.51
      3/11/2017    709   JG0072   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      147.11
      3/11/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      3/11/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      3/11/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      3/11/2017    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                    12.5
      3/11/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      3/11/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.23
      3/11/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      3/11/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      3/11/2017    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                    12.5
      3/11/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      3/11/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.67
      3/11/2017    709   JR0099   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       75.27
      3/11/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      3/11/2017    709   JR0099   Owner Operator   Repair Order                   CTMS - 199925 Inv 007-70623 Cu        255.61
      3/11/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 199892 Truck Lease             278.76
      3/11/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      3/11/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      3/11/2017    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                    12.5
      3/11/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      3/11/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/11/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/11/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/11/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/11/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      3/11/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          343.1
      3/11/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.83
      3/11/2017    709   JS0265   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      125.15
      3/11/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      3/11/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      3/11/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      3/11/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      3/11/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/11/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/11/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/11/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/11/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/11/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.48
      3/11/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.73
      3/11/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.35
      3/11/2017    709   KP0004   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      284.76
      3/11/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      3/11/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/11/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00347418 - PO System           93.23
      3/11/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      3/11/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      3/11/2017    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                    12.5
      3/11/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      3/11/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      3/11/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 199987 Lease Q1111             252.11
      3/11/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      3/11/2017    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      3/11/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      3/11/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/11/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/11/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.08
      3/11/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      3/11/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      3/11/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      3/11/2017    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                   12.5
      3/11/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      3/11/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
      3/11/2017    709   MB0048   Owner Operator   Repair Order                   CTMS - 199876 W5557 Repair            -51.98
      3/11/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      3/11/2017    709   ME0053   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                    12.5
      3/11/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      3/11/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/11/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.66
      3/11/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.56
      3/11/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          138.2
      3/11/2017    709   ME0053   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       28.06
      3/11/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      3/11/2017    709   ME0053   Owner Operator   Tire Purchase                  PO: 709-00347508 - PO System           153.3
      3/11/2017    709   ME0053   Owner Operator   Toll Charges                   Q1113      Carquinez Bridge               25
      3/11/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 199924 Q1113 Lease             252.11
      3/11/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/11/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.01
      3/11/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           210
      3/11/2017    709   MG0067   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      123.32
      3/11/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      3/11/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/11/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      3/11/2017    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                    12.5
      3/11/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      3/11/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/11/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/11/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.69
      3/11/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         254.35
      3/11/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      3/11/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19

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      3/11/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/11/2017    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
      3/11/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      3/11/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            800
      3/11/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             280
      3/11/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      3/11/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          434.6
      3/11/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      3/11/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/11/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      3/11/2017    709   NB0029   Owner Operator   Accident Claim                 02/20/17 NB0029 Incident              695.68
      3/11/2017    709   NB0029   Owner Operator   Advance                        Acc Clm 63536 s/u 3 wks                  250
      3/11/2017    709   NB0029   Owner Operator   Advance                        Accident Claim 63536 s/u 3 wks       -695.68
      3/11/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      3/11/2017    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                    12.5
      3/11/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      3/11/2017    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -4000
      3/11/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
      3/11/2017    709   NB0029   Owner Operator   Express Check                  T-Check Payment                         4000
      3/11/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.99
      3/11/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.31
      3/11/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.87
      3/11/2017    709   NB0029   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       164.3
      3/11/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      3/11/2017    709   NB0029   Owner Operator   Repair Order                   CTMS - 199876 C40189 Repair           -140.4
      3/11/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 199996 Lease                   215.66
      3/11/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      3/11/2017    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                   12.5
      3/11/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      3/11/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/11/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/11/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.01
      3/11/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.73
      3/11/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      3/11/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      3/11/2017    709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                    12.5
      3/11/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      3/11/2017    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/11/2017    709   NT9564   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       73.19
      3/11/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
      3/11/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                      34.17
      3/11/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   NT9564   Owner Operator   Permits                        IL02:2017 - 73130                       3.75
      3/11/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      3/11/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 199924 Truck 73130 Leas        196.65
      3/11/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      3/11/2017    709   RC0030   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      613.91
      3/11/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      3/11/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      3/11/2017    709   RC0030   Owner Operator   Tire Fee                       Tire Fee: 1999369                          4
      3/11/2017    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00348510 - PO System          206.57
      3/11/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 199895 Down Payment lo         303.55
      3/11/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     51.7
      3/11/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
      3/11/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/11/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.6
      3/11/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.18
      3/11/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.68
      3/11/2017    709   RC0089   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      -15.38
      3/11/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      3/11/2017    709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00347107 - PO System          292.92
      3/11/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      3/11/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/11/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                   12.5
      3/11/2017    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      3/11/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-4           593.75

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      3/11/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/11/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.98
      3/11/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.54
      3/11/2017    709   RL0017   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      -11.87
      3/11/2017    709   RL0017   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                        9.18
      3/11/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   45.32
      3/11/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      3/11/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      3/11/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      3/11/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/11/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/11/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/11/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/11/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.58
      3/11/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.69
      3/11/2017    709   RL0062   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      127.63
      3/11/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      3/11/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      3/11/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      3/11/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      3/11/2017    709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                    12.5
      3/11/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      3/11/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.81
      3/11/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.46
      3/11/2017    709   RM0026   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      103.12
      3/11/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      3/11/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      3/11/2017    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                    12.5
      3/11/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      3/11/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.75
      3/11/2017    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         267.27
      3/11/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      3/11/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 199892 Q1202 Truck Leas        278.76
      3/11/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      3/11/2017    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                    12.5
      3/11/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      3/11/2017    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/11/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/11/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/11/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.41
      3/11/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.57
      3/11/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.54
      3/11/2017    709   RR0123   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      302.48
      3/11/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
      3/11/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                      34.17
      3/11/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      3/11/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      3/11/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 199929 Q1248                   311.97
      3/11/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/11/2017    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      3/11/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      3/11/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/11/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/11/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/11/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.56
      3/11/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.4
      3/11/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.09
      3/11/2017    709   SB0009   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      284.41
      3/11/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      3/11/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      3/11/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      3/11/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      3/11/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      3/11/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.43
      3/11/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.73
      3/11/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.16

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      3/11/2017    709   SN0019   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       58.08
      3/11/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      3/11/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      3/11/2017    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
      3/11/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      3/11/2017    709   VB0015   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      388.39
      3/11/2017    709   VB0015   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         255.16
      3/11/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      3/11/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 200035 Tractor Sub leas        242.03
      3/11/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/11/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      3/11/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/11/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            140
      3/11/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      3/11/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.75
      3/11/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.26
      3/11/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.11
      3/11/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.38
      3/11/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.75
      3/11/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 33961                       100
      3/11/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   VJ0006   Owner Operator   Permits                        IL02:2017 - 33961                       3.75
      3/11/2017    709   VJ0006   Owner Operator   Permits                        NM07:2017 - 33961                        5.5
      3/11/2017    709   VJ0006   Owner Operator   Permits                        OR16:2017 - 33961                          8
      3/11/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      3/11/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 200033 New Truck Set Up        248.96
      3/11/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      3/11/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      3/11/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      3/11/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      3/11/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      3/11/2017    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      3/11/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      3/11/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          101.8
      3/11/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.46
      3/11/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.11
      3/11/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.88
      3/11/2017    709   WH0087   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                        9.44
      3/11/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      3/11/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                      34.17
      3/11/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      3/11/2017    709   WH0087   Owner Operator   Repair Order                   CTMS - 199876 Repair                   182.8
      3/11/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 199923 Q1238 Lease             311.97
      3/11/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      3/11/2017    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      3/11/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      3/11/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/11/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/11/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/11/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/11/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/11/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/11/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.69
      3/11/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.47
      3/11/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.94
      3/11/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.91
      3/11/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.39
      3/11/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.09
      3/11/2017    742   AP0047   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       55.39
      3/11/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      3/11/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      3/11/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/11/2017    742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                    12.5
      3/11/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      3/11/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.95
      3/11/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.41
      3/11/2017    742   BS0078   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       99.65
      3/11/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      3/11/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      3/11/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/11/2017    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00346980 - PO System          167.71
      3/11/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      3/11/2017    742   CA0089   Owner Operator   Broker Pre Pass                33832 PrePass Device                    12.5
      3/11/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      3/11/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/11/2017    742   CA0089   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       43.68
      3/11/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      3/11/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      3/11/2017    742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                   12.5
      3/11/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      3/11/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/11/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.33
      3/11/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.31
      3/11/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.26
      3/11/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.7
      3/11/2017    742   CT0085   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       18.35
      3/11/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
      3/11/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                     34.17
      3/11/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.04
      3/11/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      3/11/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171      Carquinez Bridge              25
      3/11/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 199924 Sub Lease Q13171        352.68
      3/11/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      3/11/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/11/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         562.28
      3/11/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           140
      3/11/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          196.3
      3/11/2017    742   DA0067   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       34.59
      3/11/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      3/11/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/11/2017    742   DA0067   Owner Operator   Repair Order                   CTMS - 199876 repair                    130
      3/11/2017    742   DA0067   Owner Operator   Toll Charges                   33847 Benicia                             25
      3/11/2017    742   DA0067   Owner Operator   Toll Charges                   33847 Benicia                             20
      3/11/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      3/11/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      3/11/2017    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                    12.5
      3/11/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      3/11/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      3/11/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.01
      3/11/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.54
      3/11/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.13
      3/11/2017    742   ED0041   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       36.07
      3/11/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      3/11/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      3/11/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      3/11/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      3/11/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      3/11/2017    742   EN0016   Owner Operator   Charge back by affiliate       CTMS - 200018 trailer wash             -36.5
      3/11/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      3/11/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.11
      3/11/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.43
      3/11/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.13
      3/11/2017    742   EN0016   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       67.84
      3/11/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      3/11/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/11/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      3/11/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      3/11/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      3/11/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/11/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.45
      3/11/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.96
      3/11/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.39
      3/11/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.9
      3/11/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.4

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      3/11/2017    742   EO0014   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       92.83
      3/11/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2016 - 33846                         21
      3/11/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    742   EO0014   Owner Operator   Permits                        OR16:2017 - 33846                          8
      3/11/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      3/11/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      3/11/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      3/11/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      3/11/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      3/11/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      3/11/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      3/11/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      3/11/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/11/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.46
      3/11/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.52
      3/11/2017    742   IK0012   Owner Operator   Miscellaneous                  Voided Check 966135                  -2172.7
      3/11/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      3/11/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      3/11/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.32
      3/11/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                          274.8
      3/11/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.55
      3/11/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.64
      3/11/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/11/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/11/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/11/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/11/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/11/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/11/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           153.3
      3/11/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/11/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/11/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/11/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/11/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.43
      3/11/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.15
      3/11/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.17
      3/11/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.01
      3/11/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      3/11/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   11.82
      3/11/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      3/11/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      3/11/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      3/11/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      3/11/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      3/11/2017    742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                    12.5
      3/11/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      3/11/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/11/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/11/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/11/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/11/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/11/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      3/11/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      3/11/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      3/11/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.53
      3/11/2017    742   MT0112   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                        7.11
      3/11/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
      3/11/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                      34.17
      3/11/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      3/11/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      3/11/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00347604 - PO System          163.44
      3/11/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 199924 Q1247 Sub Lease         311.97
      3/11/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/11/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.67
      3/11/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.49
      3/11/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.24
      3/11/2017    742   NG0024   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       39.94
      3/11/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      3/11/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      3/11/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/11/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      3/11/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/11/2017    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                    12.5
      3/11/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      3/11/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/11/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/11/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/11/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.45
      3/11/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.31
      3/11/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.52
      3/11/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.63
      3/11/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           208
      3/11/2017    742   PC0012   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       40.56
      3/11/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      3/11/2017    742   PC0012   Owner Operator   Toll Charges                   32969      Carquinez Bridge               25
      3/11/2017    742   PC0012   Owner Operator   Toll Charges                   32969      Carquinez Bridge               25
      3/11/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      3/11/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      3/11/2017    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      3/11/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      3/11/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.31
      3/11/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.6
      3/11/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.89
      3/11/2017    742   RN0054   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       44.75
      3/11/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
      3/11/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                     34.17
      3/11/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/11/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.26
      3/11/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      3/11/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 199895 Tractor Lease           353.28
      3/18/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      3/18/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      3/18/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/18/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                              60
      3/18/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      3/18/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/18/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.36
      3/18/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.53
      3/18/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      3/18/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      3/18/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      3/18/2017    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   3.34
      3/18/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      3/18/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      3/18/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           251
      3/18/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.87
      3/18/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.46
      3/18/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           312
      3/18/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
      3/18/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                     34.17
      3/18/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
      3/18/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 200135 Q13147 Lease            440.14
      3/18/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      3/18/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      3/18/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.01
      3/18/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.02
      3/18/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.42
      3/18/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          123.7
      3/18/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.03
      3/18/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      3/18/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
      3/18/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                     34.17
      3/18/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
      3/18/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 200153 Q13169 Sublease         352.68
      3/18/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      3/18/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      3/18/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50

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      3/18/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.16
      3/18/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.76
      3/18/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.55
      3/18/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.44
      3/18/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
      3/18/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                     34.17
      3/18/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
      3/18/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 200134 Q13168 sub lease        352.68
      3/18/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/18/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      3/18/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      3/18/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/18/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.04
      3/18/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      3/18/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/18/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      3/18/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      3/18/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      3/18/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.51
      3/18/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.73
      3/18/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.77
      3/18/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.25
      3/18/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      3/18/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      3/18/2017    709   CR0064   Owner Operator   Truck Payment                  CTMS - 200175 Retain and MDI i          220
      3/18/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      3/18/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      3/18/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.41
      3/18/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      3/18/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 200138 Q1201                   278.76
      3/18/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/18/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      3/18/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.69
      3/18/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.96
      3/18/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.15
      3/18/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         264.74
      3/18/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      3/18/2017    709   DL0029   Owner Operator   Repair Order                   CTMS - 200227 Repair                  255.68
      3/18/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      3/18/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      3/18/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.04
      3/18/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.86
      3/18/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.61
      3/18/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
      3/18/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                      34.17
      3/18/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      3/18/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      3/18/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 200069 Sublease                338.99
      3/18/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      3/18/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/18/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      3/18/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/18/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/18/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.73
      3/18/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.92
      3/18/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      3/18/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      3/18/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      3/18/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.43
      3/18/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      3/18/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      3/18/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      3/18/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.66

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      3/18/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.6
      3/18/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.74
      3/18/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.55
      3/18/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      3/18/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
      3/18/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      3/18/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/18/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      3/18/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/18/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/18/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/18/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/18/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/18/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.86
      3/18/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.9
      3/18/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.86
      3/18/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      3/18/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      3/18/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/18/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      3/18/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/18/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/18/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/18/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.71
      3/18/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.15
      3/18/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.45
      3/18/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.65
      3/18/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      3/18/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      3/18/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      3/18/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      3/18/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.93
      3/18/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.73
      3/18/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.07
      3/18/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.78
      3/18/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      3/18/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      3/18/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 3/16 #17105                    350.36
      3/18/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      3/18/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      3/18/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.34
      3/18/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.53
      3/18/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      3/18/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      3/18/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      3/18/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      3/18/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.5
      3/18/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.8
      3/18/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.2
      3/18/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           175
      3/18/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      3/18/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 200157 truck lease 3304        434.29
      3/18/2017    709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-11         1055.47
      3/18/2017    709   FT0004   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         211.57
      3/18/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/18/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      3/18/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/18/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/18/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.05
      3/18/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.16
      3/18/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      3/18/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75

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      3/18/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      3/18/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.31
      3/18/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.82
      3/18/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      3/18/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 200136 Lease                   252.11
      3/18/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      3/18/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      3/18/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.31
      3/18/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                     10.58
      3/18/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2016 - Q13170                     34.17
      3/18/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            68.36
      3/18/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 200135 Q13170                  352.68
      3/18/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      3/18/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      3/18/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/18/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/18/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.57
      3/18/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.13
      3/18/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.74
      3/18/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      3/18/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/18/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      3/18/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
      3/18/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.71
      3/18/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.45
      3/18/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.94
      3/18/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                            311
      3/18/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.77
      3/18/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      3/18/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      3/18/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/18/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.16
      3/18/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.94
      3/18/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      3/18/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/18/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      3/18/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      3/18/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      3/18/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      3/18/2017    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                    12.5
      3/18/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
      3/18/2017    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                      -1200
      3/18/2017    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
      3/18/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          77.54
      3/18/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/18/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
      3/18/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/18/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.31
      3/18/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                            403
      3/18/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.66
      3/18/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.24
      3/18/2017    709   JC0292   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      381.13
      3/18/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
      3/18/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
      3/18/2017    709   JC0292   Owner Operator   T Chek Fee                     ExpressCheck Fee                       35.44
      3/18/2017    709   JC0292   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.35
      3/18/2017    709   JC0292   Owner Operator   T Chek Fee                     Tractor Repair Q1210                  434.76
      3/18/2017    709   JC0292   Owner Operator   T Chek Fee                     Tractor Repair Q1210                  3543.9
      3/18/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      3/18/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      3/18/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/18/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      3/18/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      3/18/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300

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      3/18/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/18/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.99
      3/18/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.18
      3/18/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      3/18/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      3/18/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/18/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      3/18/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             300
      3/18/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/18/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/18/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.15
      3/18/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.12
      3/18/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.41
      3/18/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      3/18/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      3/18/2017    709   JG0092   Owner Operator   ESCROW                         Escrow Withdrawal                      -5600
      3/18/2017    709   JG0092   Owner Operator   Express Check                  T-Check Payment                         5600
      3/18/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      3/18/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      3/18/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.18
      3/18/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.53
      3/18/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      3/18/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      3/18/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      3/18/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.57
      3/18/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      3/18/2017    709   JR0099   Owner Operator   Repair Order                   CTMS - 200134 Inv 007-70623 Cu        255.61
      3/18/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 200083 Truck Lease             278.76
      3/18/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      3/18/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      3/18/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      3/18/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      3/18/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/18/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/18/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.18
      3/18/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.9
      3/18/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      3/18/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      3/18/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/18/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      3/18/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      3/18/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/18/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/18/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.01
      3/18/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.28
      3/18/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            233
      3/18/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.12
      3/18/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.99
      3/18/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      3/18/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/18/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00347418 - PO System           93.23
      3/18/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      3/18/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      3/18/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      3/18/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      3/18/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 200194 Lease Q1111             252.11
      3/18/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      3/18/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      3/18/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                            459
      3/18/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.29
      3/18/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      3/18/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      3/18/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75

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      3/18/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      3/18/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
      3/18/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      3/18/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      3/18/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.97
      3/18/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.76
      3/18/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.72
      3/18/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.08
      3/18/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      3/18/2017    709   ME0053   Owner Operator   Tire Purchase                  PO: 709-00347508 - PO System           153.3
      3/18/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 200134 Q1113 Lease             252.11
      3/18/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/18/2017    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-25         -93.75
      3/18/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.03
      3/18/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      3/18/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/18/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      3/18/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      3/18/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/18/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/18/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.27
      3/18/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.04
      3/18/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          325.1
      3/18/2017    709   MM0093   Owner Operator   Loan Repayment                 Bal of Loan 8, EFS 157897            -1840.8
      3/18/2017    709   MM0093   Owner Operator   Loan Repayment                 Close open loan to roll to new        758.52
      3/18/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment          265.4
      3/18/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      3/18/2017    709   MM0093   Owner Operator   T Chek Fee                     ExpressCheck Fee                       10.72
      3/18/2017    709   MM0093   Owner Operator   T Chek Fee                     Tractor Repair 32931                 1071.56
      3/18/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      3/18/2017    709   MM0103   Owner Operator   IRP License Deduction          2017 IL IRP plate refund             -346.66
      3/18/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/18/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      3/18/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           800
      3/18/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      3/18/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      3/18/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          420.3
      3/18/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      3/18/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/18/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      3/18/2017    709   NB0029   Owner Operator   Advance                        Acc Clm 63536 s/u 3 wks                 250
      3/18/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      3/18/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      3/18/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      3/18/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.15
      3/18/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.68
      3/18/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      3/18/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 200193 Lease                   215.66
      3/18/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      3/18/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      3/18/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/18/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.02
      3/18/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.06
      3/18/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      3/18/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      3/18/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      3/18/2017    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
      3/18/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                      34.17
      3/18/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      3/18/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 200134 Truck 73130 Leas        196.65
      3/18/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      3/18/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      3/18/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      3/18/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      3/18/2017    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00348510 - PO System          206.57
      3/18/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 200086 Down Payment lo         303.55
      3/18/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     51.7
      3/18/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/18/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/18/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/18/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           429
      3/18/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      3/18/2017    709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00347107 - PO System          292.92
      3/18/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      3/18/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/18/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/18/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/18/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          431.4
      3/18/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   45.32
      3/18/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      3/18/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      3/18/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/18/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      3/18/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/18/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/18/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/18/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/18/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.65
      3/18/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.21
      3/18/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.17
      3/18/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      3/18/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      3/18/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      3/18/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      3/18/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      3/18/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.57
      3/18/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.19
      3/18/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.06
      3/18/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      3/18/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      3/18/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      3/18/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              60
      3/18/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      3/18/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.83
      3/18/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.55
      3/18/2017    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         266.35
      3/18/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      3/18/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 200083 Q1202 Truck Leas        278.76
      3/18/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      3/18/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      3/18/2017    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.06
      3/18/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.95
      3/18/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.43
      3/18/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
      3/18/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                      34.17
      3/18/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      3/18/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      3/18/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 200138 Q1248                   311.97
      3/18/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/18/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      3/18/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/18/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/18/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.83
      3/18/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.58
      3/18/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.94
      3/18/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98

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      3/18/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      3/18/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      3/18/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      3/18/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      3/18/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.95
      3/18/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.53
      3/18/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.61
      3/18/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      3/18/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      3/18/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      3/18/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.88
      3/18/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.18
      3/18/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      3/18/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 200229 Tractor Sub leas        242.03
      3/18/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/18/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      3/18/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/18/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/18/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
      3/18/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      3/18/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.55
      3/18/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.21
      3/18/2017    709   VJ0006   Owner Operator   IRP License Deduction          2017 IL IRP plate refund             -346.66
      3/18/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 33961                       100
      3/18/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      3/18/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 200228 New Truck Set Up        248.96
      3/18/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      3/18/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      3/18/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      3/18/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      3/18/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      3/18/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      3/18/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.57
      3/18/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.79
      3/18/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.21
      3/18/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.07
      3/18/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      3/18/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                      34.17
      3/18/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      3/18/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 200133 Q1238 Lease             311.97
      3/18/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      3/18/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      3/18/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/18/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/18/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/18/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/18/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/18/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/18/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.8
      3/18/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.11
      3/18/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.39
      3/18/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      3/18/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      3/18/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/18/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      3/18/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.61
      3/18/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.59
      3/18/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.98
      3/18/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          406.3
      3/18/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      3/18/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/18/2017    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00346980 - PO System          167.71
      3/18/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      3/18/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      3/18/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50

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      3/18/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.25
      3/18/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.08
      3/18/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          55.37
      3/18/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      3/18/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      3/18/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      3/18/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.7
      3/18/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
      3/18/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                     34.17
      3/18/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.04
      3/18/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      3/18/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 200134 Sub Lease Q13171        352.68
      3/18/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/18/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      3/18/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             24
      3/18/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           149
      3/18/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.32
      3/18/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.51
      3/18/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.44
      3/18/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.07
      3/18/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      3/18/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/18/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      3/18/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      3/18/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.94
      3/18/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.87
      3/18/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.01
      3/18/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.9
      3/18/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.15
      3/18/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      3/18/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      3/18/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/18/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      3/18/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.41
      3/18/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.88
      3/18/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          380.8
      3/18/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      3/18/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/18/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      3/18/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      3/18/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      3/18/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.32
      3/18/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.63
      3/18/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.61
      3/18/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          140.5
      3/18/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      3/18/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      3/18/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      3/18/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      3/18/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      3/18/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      3/18/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      3/18/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      3/18/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      3/18/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.14
      3/18/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      3/18/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      3/18/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
      3/18/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
      3/18/2017    742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                    12.5
      3/18/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
      3/18/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
      3/18/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.74

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      3/18/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.89
      3/18/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.87
      3/18/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.91
      3/18/2017    742   KJ0045   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                       51.23
      3/18/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.88
      3/18/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.88
      3/18/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
      3/18/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
      3/18/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/18/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           64.32
      3/18/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/18/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/18/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.28
      3/18/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.97
      3/18/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          30.62
      3/18/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      3/18/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      3/18/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/18/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/18/2017    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                    12.5
      3/18/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      3/18/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      3/18/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      3/18/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/18/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/18/2017    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00346828 - PO System           20.92
      3/18/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      3/18/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      3/18/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      3/18/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/18/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/18/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      3/18/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           500
      3/18/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      3/18/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
      3/18/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                      34.17
      3/18/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      3/18/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      3/18/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00347604 - PO System          163.44
      3/18/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 200134 Q1247 Sub Lease         311.97
      3/18/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/18/2017    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      3/18/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      3/18/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      3/18/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/18/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/18/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.56
      3/18/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          449.2
      3/18/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.96
      3/18/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.01
      3/18/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      3/18/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/18/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      3/18/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/18/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      3/18/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/18/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/18/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/18/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.89
      3/18/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.92
      3/18/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.83
      3/18/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.47
      3/18/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          247.1

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      3/18/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      3/18/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      3/18/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.22
      3/18/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.63
      3/18/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/18/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/18/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      3/18/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      3/18/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/18/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/18/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      3/18/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      3/18/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      3/18/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      3/25/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      3/25/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      3/25/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.93
      3/25/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      3/25/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      3/25/2017    709   AN0007   Owner Operator   Repair Order                   CTMS - 200295 Solvay fuel             -622.1
      3/25/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      3/25/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      3/25/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.99
      3/25/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.41
      3/25/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.89
      3/25/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
      3/25/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                     34.17
      3/25/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
      3/25/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 200309 Q13147 Lease            440.14
      3/25/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      3/25/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      3/25/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      3/25/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      3/25/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.04
      3/25/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.99
      3/25/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.43
      3/25/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           170
      3/25/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.37
      3/25/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
      3/25/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                     34.17
      3/25/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
      3/25/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 200341 Q13169 Sublease         352.68
      3/25/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      3/25/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      3/25/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.83
      3/25/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.91
      3/25/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          32.41
      3/25/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.95
      3/25/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.55
      3/25/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
      3/25/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                     34.17
      3/25/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
      3/25/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 200307 Q13168 sub lease        352.68
      3/25/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/25/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      3/25/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      3/25/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.91
      3/25/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.37
      3/25/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      3/25/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      3/25/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
      3/25/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      3/25/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
      3/25/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        176.94
      3/25/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        209.21
      3/25/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.07
      3/25/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.4
      3/25/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/25/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.04
      3/25/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      3/25/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
      3/25/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      3/25/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.23
      3/25/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/25/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.07
      3/25/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 200312 Q1201                  278.76
      3/25/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
      3/25/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                          8
      3/25/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/25/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.31
      3/25/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        149.19
      3/25/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.68
      3/25/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        264.74
      3/25/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/25/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.19
      3/25/2017    709   DL0029   Owner Operator   Repair Order                   CTMS - 200409 Repair                 255.68
      3/25/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      3/25/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      3/25/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
      3/25/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      3/25/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        525.93
      3/25/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        418.36
      3/25/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                     10.58
      3/25/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                     34.17
      3/25/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         261.2
      3/25/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/25/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.69
      3/25/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 200263 Sublease               338.99
      3/25/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.36
      3/25/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/25/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      3/25/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      3/25/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      3/25/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        437.15
      3/25/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        280.53
      3/25/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/25/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.33
      3/25/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      3/25/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      3/25/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        390.33
      3/25/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/25/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.04
      3/25/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
      3/25/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      3/25/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        190.94
      3/25/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        273.99
      3/25/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.74
      3/25/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.49
      3/25/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      3/25/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/25/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      3/25/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      3/25/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/25/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/25/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/25/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/25/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/25/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/25/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        476.16
      3/25/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        331.57
      3/25/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        450.74
      3/25/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/25/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47

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      3/25/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      3/25/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/25/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      3/25/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/25/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/25/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.84
      3/25/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.14
      3/25/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.81
      3/25/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      3/25/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      3/25/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      3/25/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      3/25/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.96
      3/25/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.61
      3/25/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.35
      3/25/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      3/25/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      3/25/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 3/23 #17105                    350.36
      3/25/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      3/25/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      3/25/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.05
      3/25/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.11
      3/25/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.76
      3/25/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      3/25/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      3/25/2017    709   EI0003   Owner Operator   Repair Order                   CTMS - 200261 Repair                  261.33
      3/25/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      3/25/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      3/25/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.95
      3/25/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.25
      3/25/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.78
      3/25/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      3/25/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 200345 truck lease 3304        434.29
      3/25/2017    709   FT0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-11         1323.59
      3/25/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           19.73
      3/25/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.34
      3/25/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/25/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      3/25/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.53
      3/25/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.46
      3/25/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      3/25/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      3/25/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      3/25/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.35
      3/25/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      3/25/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 200310 Lease                   252.11
      3/25/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      3/25/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      3/25/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.69
      3/25/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.23
      3/25/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.29
      3/25/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.11
      3/25/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                     10.58
      3/25/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2016 - Q13170                     34.17
      3/25/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            68.36
      3/25/2017    709   HC0023   Owner Operator   Repair Order                   CTMS - 200261 Repair                  304.06
      3/25/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 200308 Q13170                  352.68
      3/25/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      3/25/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      3/25/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50

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      3/25/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/25/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/25/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.54
      3/25/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.35
      3/25/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.73
      3/25/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      3/25/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/25/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      3/25/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/25/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.05
      3/25/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.56
      3/25/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          53.36
      3/25/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          459.2
      3/25/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      3/25/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      3/25/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/25/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           35.83
      3/25/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.36
      3/25/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.41
      3/25/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      3/25/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/25/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      3/25/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      3/25/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      3/25/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      3/25/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
      3/25/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
      3/25/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      3/25/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         322.46
      3/25/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      3/25/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/25/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/25/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.97
      3/25/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          378.9
      3/25/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.11
      3/25/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      3/25/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/25/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      3/25/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      3/25/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/25/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/25/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.23
      3/25/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.76
      3/25/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      3/25/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      3/25/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/25/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      3/25/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/25/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/25/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.97
      3/25/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.38
      3/25/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.29
      3/25/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      3/25/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      3/25/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      3/25/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      3/25/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          140.4
      3/25/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      3/25/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      3/25/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13

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      3/25/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.53
      3/25/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      3/25/2017    709   JR0099   Owner Operator   Repair Order                   CTMS - 200308 Inv 007-70623 Cu        255.61
      3/25/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 200281 Truck Lease             278.76
      3/25/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      3/25/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      3/25/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      3/25/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/25/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.85
      3/25/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.92
      3/25/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      3/25/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      3/25/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/25/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      3/25/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/25/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/25/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/25/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          418.3
      3/25/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.65
      3/25/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.88
      3/25/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      3/25/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.94
      3/25/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.51
      3/25/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.53
      3/25/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      3/25/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/25/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00347418 - PO System           93.19
      3/25/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      3/25/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      3/25/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      3/25/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      3/25/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 200368 Lease Q1111             252.11
      3/25/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      3/25/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      3/25/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.69
      3/25/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      3/25/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      3/25/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      3/25/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      3/25/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.29
      3/25/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      3/25/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      3/25/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.56
      3/25/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.22
      3/25/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.07
      3/25/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.53
      3/25/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      3/25/2017    709   ME0053   Owner Operator   Repair Order                   CTMS - 200261 Repair                  163.44
      3/25/2017    709   ME0053   Owner Operator   Tire Purchase                  PO: 709-00347508 - PO System          153.23
      3/25/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 200308 Q1113 Lease             252.11
      3/25/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/25/2017    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-18           93.75
      3/25/2017    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-1         -203.13
      3/25/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.41
      3/25/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.46
      3/25/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.06
      3/25/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      3/25/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/25/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75

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      3/25/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      3/25/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              60
      3/25/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              60
      3/25/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      3/25/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      3/25/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.39
      3/25/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.68
      3/25/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.94
      3/25/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.62
      3/25/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment          265.4
      3/25/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.11
      3/25/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      3/25/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/25/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      3/25/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           800
      3/25/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      3/25/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      3/25/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.69
      3/25/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      3/25/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/25/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      3/25/2017    709   NB0029   Owner Operator   Advance                        Acc Clm 63536 s/u 3 wks               195.68
      3/25/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      3/25/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      3/25/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         201.56
      3/25/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.83
      3/25/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.83
      3/25/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      3/25/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      3/25/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      3/25/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.95
      3/25/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.18
      3/25/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      3/25/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      3/25/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      3/25/2017    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
      3/25/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                      34.17
      3/25/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      3/25/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 200307 Truck 73130 Leas        196.65
      3/25/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      3/25/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      3/25/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      3/25/2017    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00348510 - PO System          206.57
      3/25/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 200281 Down Payment lo         303.55
      3/25/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.69
      3/25/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/25/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/25/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/25/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.2
      3/25/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      3/25/2017    709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00347107 - PO System          292.86
      3/25/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      3/25/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/25/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/25/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/25/2017    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                            250
      3/25/2017    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
      3/25/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.98
      3/25/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   45.29
      3/25/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      3/25/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      3/25/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      3/25/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      3/25/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/25/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/25/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/25/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/25/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.47
      3/25/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.18
      3/25/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.44
      3/25/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      3/25/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      3/25/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      3/25/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      3/25/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      3/25/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.96
      3/25/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.03
      3/25/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      3/25/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      3/25/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      3/25/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.24
      3/25/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.21
      3/25/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      3/25/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 200281 Q1202 Truck Leas        278.76
      3/25/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      3/25/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      3/25/2017    709   RR0123   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.19
      3/25/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.91
      3/25/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
      3/25/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                      34.17
      3/25/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      3/25/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      3/25/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 200311 Q1248                   311.97
      3/25/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/25/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      3/25/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/25/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.52
      3/25/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.47
      3/25/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.95
      3/25/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          140.3
      3/25/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      3/25/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      3/25/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      3/25/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      3/25/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      3/25/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.89
      3/25/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.97
      3/25/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.58
      3/25/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.63
      3/25/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.08
      3/25/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.61
      3/25/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      3/25/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      3/25/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      3/25/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.52
      3/25/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           354
      3/25/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.97
      3/25/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      3/25/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      3/25/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 200410 Tractor Sub leas        242.03
      3/25/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/25/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      3/25/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/25/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/25/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                              60

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      3/25/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            140
      3/25/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      3/25/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      3/25/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/25/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.1
      3/25/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.17
      3/25/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.48
      3/25/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.83
      3/25/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.93
      3/25/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 33961                       100
      3/25/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      3/25/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 200261 Parts                    11.99
      3/25/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 200409 New Truck Set Up        248.96
      3/25/2017    709   VJ0006   Owner Operator   Truck Payment                  CTMS - 200295 Tractor rental Q          565
      3/25/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      3/25/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      3/25/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      3/25/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      3/25/2017    709   WH0087   Owner Operator   Accident Claim                 02/08/17 WH0087 Incident              601.62
      3/25/2017    709   WH0087   Owner Operator   Advance                        02/08/17 Incident - Clm 63405        -601.62
      3/25/2017    709   WH0087   Owner Operator   Advance                        2/8/17 Clm 63405 s/u 2 pmts           300.81
      3/25/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      3/25/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      3/25/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/25/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/25/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.18
      3/25/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.7
      3/25/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.35
      3/25/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.83
      3/25/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      3/25/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                      34.17
      3/25/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      3/25/2017    709   WH0087   Owner Operator   Repair Order                   CTMS - 200261 Repair                  121.74
      3/25/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 200306 Q1238 Lease             311.97
      3/25/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      3/25/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      3/25/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/25/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/25/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/25/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/25/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/25/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/25/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.98
      3/25/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.16
      3/25/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.92
      3/25/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.12
      3/25/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.33
      3/25/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      3/25/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/25/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      3/25/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.48
      3/25/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.4
      3/25/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.63
      3/25/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      3/25/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/25/2017    742   BS0078   Owner Operator   Repair Order                   CTMS - 200329 repair                      90
      3/25/2017    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00346980 - PO System          167.66
      3/25/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      3/25/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      3/25/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.58
      3/25/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.88
      3/25/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2016 - 33987                       100
      3/25/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      3/25/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      3/25/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      3/25/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.95

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      3/25/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      3/25/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
      3/25/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                     34.17
      3/25/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.01
      3/25/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      3/25/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 200308 Sub Lease Q13171        352.68
      3/25/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/25/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      3/25/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.95
      3/25/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.29
      3/25/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      3/25/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/25/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      3/25/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.47
      3/25/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.87
      3/25/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/25/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/25/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/25/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      3/25/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      3/25/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.68
      3/25/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.7
      3/25/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.29
      3/25/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.02
      3/25/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      3/25/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      3/25/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/25/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      3/25/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.17
      3/25/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.89
      3/25/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.08
      3/25/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      3/25/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/25/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      3/25/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      3/25/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      3/25/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.61
      3/25/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.01
      3/25/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.27
      3/25/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.73
      3/25/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      3/25/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      3/25/2017    742   EO0014   Owner Operator   Repair Order                   CTMS - 200261 Repair                      70
      3/25/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      3/25/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      3/25/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      3/25/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      3/25/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      3/25/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      3/25/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.46
      3/25/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.78
      3/25/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.15
      3/25/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      3/25/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
      3/25/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
      3/25/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.15
      3/25/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.38
      3/25/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.28
      3/25/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.86
      3/25/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
      3/25/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/25/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      3/25/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         109.57
      3/25/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.58
      3/25/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.52
      3/25/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      3/25/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      3/25/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         163.26
      3/25/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/25/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      3/25/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      3/25/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      3/25/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/25/2017    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00346828 - PO System          176.82
      3/25/2017    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00346828 - PO System           197.7
      3/25/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      3/25/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      3/25/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      3/25/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/25/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/25/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/25/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/25/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      3/25/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      3/25/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.43
      3/25/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.58
      3/25/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.02
      3/25/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
      3/25/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                      34.17
      3/25/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.54
      3/25/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      3/25/2017    742   MT0112   Owner Operator   Repair Order                   CTMS - 200329 repair                      35
      3/25/2017    742   MT0112   Owner Operator   Tire Fee                       Tire Fee: 2003157                          4
      3/25/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00347604 - PO System           163.4
      3/25/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00348982 - PO System            9.01
      3/25/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 200307 Q1247 Sub Lease         311.97
      3/25/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/25/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      3/25/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.66
      3/25/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.23
      3/25/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      3/25/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/25/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      3/25/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      3/25/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      3/25/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      3/25/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.57
      3/25/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.35
      3/25/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.91
      3/25/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.13
      3/25/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.61
      3/25/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
      3/25/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
      3/25/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                     34.17
      3/25/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                     34.17
      3/25/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.26
      3/25/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.25
      3/25/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      3/25/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      3/25/2017    742   RN0054   Owner Operator   Repair Order                   CTMS - 200328 repair                    106
      3/25/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 200085 Tractor Lease           353.28
      3/25/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 200280 Tractor Lease           353.28
      3/25/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75

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      3/25/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      3/25/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/25/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/25/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      3/25/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       4/1/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       4/1/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       4/1/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            150
       4/1/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       4/1/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.38
       4/1/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       4/1/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       4/1/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       4/1/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       4/1/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.97
       4/1/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.93
       4/1/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.51
       4/1/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
       4/1/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2016 - Q13147                     33.95
       4/1/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
       4/1/2017    709   AR0064   Owner Operator   Tire Fee                       Tire Fee: 2005144                         16
       4/1/2017    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00349171 - PO System          333.68
       4/1/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 200484 Q13147 Lease            440.14
       4/1/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
       4/1/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
       4/1/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       4/1/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       4/1/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/1/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.6
       4/1/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.17
       4/1/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.09
       4/1/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.45
       4/1/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.18
       4/1/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.88
       4/1/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
       4/1/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2016 - Q13169                     33.95
       4/1/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
       4/1/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 200526 Q13169 Sublease         352.68
       4/1/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       4/1/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       4/1/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/1/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.37
       4/1/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.17
       4/1/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.53
       4/1/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
       4/1/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2016 - Q13168                     33.95
       4/1/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
       4/1/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 200482 Q13168 sub lease        352.68
       4/1/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       4/1/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
       4/1/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/1/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/1/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.74
       4/1/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       4/1/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/1/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       4/1/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       4/1/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       4/1/2017    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/1/2017    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/1/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.24
       4/1/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.73
       4/1/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.79
       4/1/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       4/1/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       4/1/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75

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       4/1/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
       4/1/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        353.05
       4/1/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       4/1/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
       4/1/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 200487 Q1201                  278.76
       4/1/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
       4/1/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                          8
       4/1/2017    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-8        -887.31
       4/1/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                            50
       4/1/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.67
       4/1/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        187.66
       4/1/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        356.99
       4/1/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        339.52
       4/1/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        264.74
       4/1/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       4/1/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.2
       4/1/2017    709   DL0029   Owner Operator   Repair Order                   CTMS - 200616 Repair                 255.68
       4/1/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
       4/1/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
       4/1/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        391.87
       4/1/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        181.48
       4/1/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      8.71
       4/1/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2016 - Q1245                     33.95
       4/1/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
       4/1/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       4/1/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
       4/1/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
       4/1/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
       4/1/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.23
       4/1/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        619.53
       4/1/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       4/1/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
       4/1/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
       4/1/2017    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
       4/1/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
       4/1/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        344.88
       4/1/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       4/1/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.07
       4/1/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
       4/1/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
       4/1/2017    709   DW0138   Owner Operator   Fuel Card Advances             Cash Advance                          13.96
       4/1/2017    709   DW0138   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.14
       4/1/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.2
       4/1/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        153.84
       4/1/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.05
       4/1/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.9
       4/1/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
       4/1/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
       4/1/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
       4/1/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       4/1/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
       4/1/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
       4/1/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
       4/1/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
       4/1/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           100
       4/1/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       4/1/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       4/1/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       4/1/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        224.44
       4/1/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        342.62
       4/1/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.8
       4/1/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.3
       4/1/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       4/1/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
       4/1/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
       4/1/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       4/1/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
       4/1/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
       4/1/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       4/1/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        358.47
       4/1/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        533.95
       4/1/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       4/1/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.92

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       4/1/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
       4/1/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       4/1/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       4/1/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/1/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.21
       4/1/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.62
       4/1/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.02
       4/1/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.07
       4/1/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       4/1/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       4/1/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 3/30 #17105                    350.36
       4/1/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       4/1/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       4/1/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/1/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.18
       4/1/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.64
       4/1/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       4/1/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       4/1/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       4/1/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       4/1/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.55
       4/1/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.12
       4/1/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.09
       4/1/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.02
       4/1/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       4/1/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 200531 truck lease 3304        434.29
       4/1/2017    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL             8.75
       4/1/2017    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL             8.75
       4/1/2017    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL             8.75
       4/1/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                              25
       4/1/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                              35
       4/1/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          280.27
       4/1/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/1/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/1/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            300
       4/1/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       4/1/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/1/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/1/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       4/1/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.35
       4/1/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.25
       4/1/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.53
       4/1/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.9
       4/1/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.85
       4/1/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.74
       4/1/2017    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                      10.58
       4/1/2017    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                      10.58
       4/1/2017    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                      10.58
       4/1/2017    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                      34.17
       4/1/2017    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                      33.95
       4/1/2017    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2016 - 73129                      34.17
       4/1/2017    709   FT0004   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         270.93
       4/1/2017    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          15.92
       4/1/2017    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD             29.51
       4/1/2017    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD             29.52
       4/1/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       4/1/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       4/1/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            300
       4/1/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       4/1/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.59
       4/1/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.88
       4/1/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       4/1/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       4/1/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       4/1/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.65
       4/1/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07

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       4/1/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 200485 Lease                   252.11
       4/1/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       4/1/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       4/1/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/1/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.89
       4/1/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.9
       4/1/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.75
       4/1/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                     10.58
       4/1/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2016 - Q13170                     33.95
       4/1/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            68.36
       4/1/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 200484 Q13170                  352.68
       4/1/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       4/1/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       4/1/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/1/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/1/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/1/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.77
       4/1/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.67
       4/1/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       4/1/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       4/1/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       4/1/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
       4/1/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.37
       4/1/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.17
       4/1/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.5
       4/1/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.87
       4/1/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       4/1/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       4/1/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           16.96
       4/1/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.17
       4/1/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.95
       4/1/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       4/1/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/1/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       4/1/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       4/1/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
       4/1/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
       4/1/2017    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-8          -117.8
       4/1/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       4/1/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
       4/1/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/1/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/1/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       4/1/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.42
       4/1/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.95
       4/1/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.42
       4/1/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
       4/1/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
       4/1/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       4/1/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
       4/1/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       4/1/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       4/1/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.93
       4/1/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.48
       4/1/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       4/1/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       4/1/2017    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       4/1/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       4/1/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/1/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
       4/1/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       4/1/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/1/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.87
       4/1/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.29
       4/1/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       4/1/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       4/1/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       4/1/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/1/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/1/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/1/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/1/2017    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                    12.5
       4/1/2017    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       4/1/2017    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       4/1/2017    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       4/1/2017    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       4/1/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
       4/1/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
       4/1/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
       4/1/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
       4/1/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       4/1/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       4/1/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/1/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/1/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.95
       4/1/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.06
       4/1/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       4/1/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       4/1/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       4/1/2017    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/1/2017    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/1/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.11
       4/1/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.7
       4/1/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       4/1/2017    709   JR0099   Owner Operator   Repair Order                   CTMS - 200483 Inv 007-70623 Cu        255.61
       4/1/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 200458 Truck Lease             278.76
       4/1/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       4/1/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       4/1/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       4/1/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
       4/1/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/1/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/1/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.78
       4/1/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.97
       4/1/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       4/1/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       4/1/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       4/1/2017    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                      -4500
       4/1/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
       4/1/2017    709   KP0004   Owner Operator   Express Check                  T-Check Payment                         4500
       4/1/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/1/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/1/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.6
       4/1/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.11
       4/1/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       4/1/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/1/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       4/1/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       4/1/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       4/1/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       4/1/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 200576 Lease Q1111             252.11
       4/1/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       4/1/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       4/1/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/1/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/1/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/1/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/1/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.57
       4/1/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.27

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       4/1/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/1/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                    94.54
       4/1/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism            2.5
       4/1/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
       4/1/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                          13
       4/1/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                          134.91
       4/1/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/1/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                       70.32
       4/1/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL              8.75
       4/1/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                            8
       4/1/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                              50
       4/1/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          270.11
       4/1/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          131.24
       4/1/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/1/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD              39.07
       4/1/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 200483 Q1113 Lease              252.11
       4/1/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
       4/1/2017    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-25           203.13
       4/1/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           291.9
       4/1/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/1/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           35.16
       4/1/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
       4/1/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
       4/1/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                           13
       4/1/2017    709   MM0093   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-8            -8.38
       4/1/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                               60
       4/1/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.6
       4/1/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.31
       4/1/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          288.39
       4/1/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          324.42
       4/1/2017    709   MM0093   Owner Operator   Loan Repayment                 Bal of Loan 9, EFS 159157            -5120.95
       4/1/2017    709   MM0093   Owner Operator   Loan Repayment                 Close open loan to roll to new        1317.26
       4/1/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment           262.3
       4/1/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/1/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    53.13
       4/1/2017    709   MM0093   Owner Operator   T Chek Fee                     Advance                               3766.03
       4/1/2017    709   MM0093   Owner Operator   T Chek Fee                     ExpressCheck Fee                        37.66
       4/1/2017    709   MM0093   Owner Operator   Tire Fee                       Tire Fee: 2005161                          24
       4/1/2017    709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00349172 - PO System           548.54
       4/1/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                          337.19
       4/1/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
       4/1/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           13
       4/1/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            800
       4/1/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             125
       4/1/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.25
       4/1/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.03
       4/1/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/1/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       71.88
       4/1/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
       4/1/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                          323.05
       4/1/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
       4/1/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                           13
       4/1/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          298.44
       4/1/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
       4/1/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/1/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       4/1/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.92
       4/1/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          334.48
       4/1/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           346.1
       4/1/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/1/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               35.16
       4/1/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 200367 Lease                    215.66
       4/1/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 200575 Lease                    215.66
       4/1/2017    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
       4/1/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
       4/1/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
       4/1/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/1/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       4/1/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           91.13
       4/1/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                            266
       4/1/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/1/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 32.98
       4/1/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75

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       4/1/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       4/1/2017    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/1/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
       4/1/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2016 - 73130                      33.95
       4/1/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       4/1/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 200482 Truck 73130 Leas        196.65
       4/1/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       4/1/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       4/1/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       4/1/2017    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00348510 - PO System          206.57
       4/1/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 200457 Down Payment lo         303.55
       4/1/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     51.7
       4/1/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
       4/1/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       4/1/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.36
       4/1/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.51
       4/1/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.51
       4/1/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       4/1/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       4/1/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-8          -40.01
       4/1/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       4/1/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.71
       4/1/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.93
       4/1/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       4/1/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       4/1/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       4/1/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/1/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/1/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/1/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/1/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/1/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/1/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.87
       4/1/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.72
       4/1/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.41
       4/1/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       4/1/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       4/1/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       4/1/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       4/1/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       4/1/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.08
       4/1/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       4/1/2017    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       4/1/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       4/1/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       4/1/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.09
       4/1/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.02
       4/1/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       4/1/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 200458 Q1202 Truck Leas        278.76
       4/1/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       4/1/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       4/1/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/1/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/1/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.85
       4/1/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.53
       4/1/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.81
       4/1/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
       4/1/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2016 - Q1248                      33.95
       4/1/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       4/1/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       4/1/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 200487 Q1248                   311.97
       4/1/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75

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       4/1/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       4/1/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       4/1/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/1/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/1/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.93
       4/1/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.91
       4/1/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.07
       4/1/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.28
       4/1/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.67
       4/1/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       4/1/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       4/1/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
       4/1/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       4/1/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       4/1/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.42
       4/1/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.79
       4/1/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.29
       4/1/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.62
       4/1/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       4/1/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       4/1/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       4/1/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           266
       4/1/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       4/1/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 200617 Tractor Sub leas        242.03
       4/1/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       4/1/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       4/1/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       4/1/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
       4/1/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
       4/1/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          161.1
       4/1/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.96
       4/1/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.52
       4/1/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.13
       4/1/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 33961                       100
       4/1/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       4/1/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 200616 New Truck Set Up        248.96
       4/1/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       4/1/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       4/1/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       4/1/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       4/1/2017    709   WH0087   Owner Operator   Advance                        2/8/17 Clm 63405 s/u 2 pmts           300.81
       4/1/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       4/1/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       4/1/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.45
       4/1/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.57
       4/1/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           283
       4/1/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.31
       4/1/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
       4/1/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2016 - Q1239                      33.95
       4/1/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       4/1/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 200482 Q1238 Lease             311.97
       4/1/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
       4/1/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/1/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/1/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          124.8
       4/1/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  45.88
       4/1/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    742   AS0089   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                      162.42
       4/1/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2016 - 33912                       100
       4/1/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2016 - 33912                      42.76

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       4/1/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          12.51
       4/1/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          45.25
       4/1/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.69
       4/1/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.69
       4/1/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.69
       4/1/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.69
       4/1/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.69
       4/1/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.68
       4/1/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.68
       4/1/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/1/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/1/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/1/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/1/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/1/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/1/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/1/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       4/1/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       4/1/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.06
       4/1/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.15
       4/1/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.8
       4/1/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.75
       4/1/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.42
       4/1/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       4/1/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       4/1/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       4/1/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       4/1/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/1/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.59
       4/1/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.41
       4/1/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2016 - 33987                       100
       4/1/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       4/1/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       4/1/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.87
       4/1/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
       4/1/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2016 - Q13171                     33.95
       4/1/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.04
       4/1/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       4/1/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       4/1/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/1/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         612.26
       4/1/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             25
       4/1/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       4/1/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/1/2017    742   DA0067   Owner Operator   Repair Order                   CTMS - 200643 repair                    180
       4/1/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       4/1/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   Bobtail Ins-wrong drvr on file            35
       4/1/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       4/1/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/1/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.47
       4/1/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.83
       4/1/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.76
       4/1/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       4/1/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       4/1/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       4/1/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                PhysDam had wrong broker #              125
       4/1/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       4/1/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       4/1/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       4/1/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5

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       4/1/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       4/1/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.79
       4/1/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.63
       4/1/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       4/1/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/1/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       4/1/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       4/1/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       4/1/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/1/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.28
       4/1/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.2
       4/1/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.69
       4/1/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.08
       4/1/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.39
       4/1/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       4/1/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       4/1/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       4/1/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       4/1/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       4/1/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       4/1/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
       4/1/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
       4/1/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/1/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.86
       4/1/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.25
       4/1/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
       4/1/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
       4/1/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
       4/1/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
       4/1/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.65
       4/1/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.86
       4/1/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.63
       4/1/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.95
       4/1/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.48
       4/1/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.88
       4/1/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
       4/1/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       4/1/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       4/1/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/1/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/1/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/1/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/1/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.14
       4/1/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.87
       4/1/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
       4/1/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                    3.44
       4/1/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
       4/1/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         391.23
       4/1/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       4/1/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       4/1/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       4/1/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       4/1/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
       4/1/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       4/1/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       4/1/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/1/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/1/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/1/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.37
       4/1/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.74
       4/1/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.29
       4/1/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           83.4
       4/1/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.08
       4/1/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
       4/1/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2016 - Q1247                      33.95

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       4/1/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
       4/1/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
       4/1/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00348982 - PO System            9.01
       4/1/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 200483 Q1247 Sub Lease         311.97
       4/1/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       4/1/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
       4/1/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/1/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       4/1/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       4/1/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
       4/1/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
       4/1/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/1/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/1/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.44
       4/1/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.26
       4/1/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.16
       4/1/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.97
       4/1/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       4/1/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
       4/1/2017    742   PC0012   Owner Operator   Repair Order                   CTMS - 200646 repair                      38
       4/1/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       4/1/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       4/1/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       4/1/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       4/1/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.79
       4/1/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.97
       4/1/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.89
       4/1/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.87
       4/1/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.51
       4/1/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
       4/1/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2016 - Q13157                     33.95
       4/1/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.26
       4/1/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       4/1/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 200457 Tractor Lease           353.28
       4/1/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       4/1/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       4/1/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/1/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       4/1/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       4/1/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/1/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/1/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/1/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/1/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/1/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.12
       4/1/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.35
       4/1/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       4/1/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       4/1/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       4/1/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       4/1/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       4/1/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       4/1/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       4/1/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       4/1/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       4/1/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       4/1/2017    742   TH0130   Owner Operator   T Chek Fee                     ExpressCheck Fee                           6
       4/1/2017    742   TH0130   Owner Operator   T Chek Fee                     Towing 33991                             387
       4/1/2017    844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       4/1/2017    844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       4/1/2017    844   JK0112   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   17.5
       4/1/2017    844   JK0112   Owner Operator   ESCROW                         Final Balance Refund                   -5000
       4/1/2017    844   JK0112   Owner Operator   FUEL TAX                       Dec16 Fuel Taxes                      613.44
       4/1/2017    844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             95
       4/1/2017    844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    844   JK0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/1/2017    844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  145.99
       4/1/2017    844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  145.99

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       4/1/2017    844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  291.95
       4/1/2017    844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   18.68
       4/1/2017    844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism           2.5
       4/1/2017    844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism             5
       4/1/2017    844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism           2.5
       4/1/2017    844   JK0112   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD Terrorism           2.5
       4/1/2017    844   JK0112   Owner Operator   Repair Order                   TRACTOR 33211                          31.25
       4/1/2017    844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                          635.4
       4/1/2017    844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                          635.4
       4/1/2017    844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                          635.4
       4/1/2017    844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         361.32
       4/1/2017    844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                          635.4
       4/1/2017    844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                          635.4
       4/8/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       4/8/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       4/8/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/8/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/8/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.76
       4/8/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                      100
       4/8/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       4/8/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       4/8/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       4/8/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       4/8/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.78
       4/8/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.33
       4/8/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.83
       4/8/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.96
       4/8/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
       4/8/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                        33
       4/8/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
       4/8/2017    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00349171 - PO System          333.68
       4/8/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 200699 Q13147 Lease            440.14
       4/8/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
       4/8/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
       4/8/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       4/8/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       4/8/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.51
       4/8/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.69
       4/8/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.96
       4/8/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.57
       4/8/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.22
       4/8/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.35
       4/8/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
       4/8/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                     32.99
       4/8/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
       4/8/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       4/8/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       4/8/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.76
       4/8/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.84
       4/8/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.36
       4/8/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.51
       4/8/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.07
       4/8/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
       4/8/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                     32.99
       4/8/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
       4/8/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 200697 Q13168 sub lease        352.68
       4/8/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       4/8/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
       4/8/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.69
       4/8/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.67
       4/8/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
       4/8/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       4/8/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/8/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       4/8/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75

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       4/8/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       4/8/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.08
       4/8/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.74
       4/8/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.25
       4/8/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.63
       4/8/2017    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2017 - 32864                      32.99
       4/8/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       4/8/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       4/8/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       4/8/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       4/8/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.78
       4/8/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                       100
       4/8/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       4/8/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 200701 Q1201                   278.76
       4/8/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       4/8/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       4/8/2017    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-1           887.31
       4/8/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.39
       4/8/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.37
       4/8/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.39
       4/8/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         264.74
       4/8/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       4/8/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       4/8/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       4/8/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.77
       4/8/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          441.3
       4/8/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
       4/8/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                       1.87
       4/8/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                       100
       4/8/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
       4/8/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          19.89
       4/8/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       4/8/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       4/8/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       4/8/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       4/8/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       4/8/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.43
       4/8/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.64
       4/8/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.23
       4/8/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
       4/8/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       4/8/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       4/8/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       4/8/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-15         -86.62
       4/8/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.12
       4/8/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          428.7
       4/8/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                       100
       4/8/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       4/8/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
       4/8/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
       4/8/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                           254
       4/8/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.07
       4/8/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
       4/8/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
       4/8/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
       4/8/2017    709   DW0138   Owner Operator   Toll Charges                   33443,TxTag,Ship Channel Bridg             7
       4/8/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
       4/8/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       4/8/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
       4/8/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/8/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/8/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/8/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/8/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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       4/8/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/8/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.18
       4/8/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.96
       4/8/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.17
       4/8/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
       4/8/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       4/8/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       4/8/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
       4/8/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/8/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/8/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/8/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/8/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.18
       4/8/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.49
       4/8/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.24
       4/8/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
       4/8/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
       4/8/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
       4/8/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       4/8/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       4/8/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.23
       4/8/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.89
       4/8/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
       4/8/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       4/8/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       4/8/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 4/6 #17105                     350.36
       4/8/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       4/8/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       4/8/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.71
       4/8/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.03
       4/8/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          82.81
       4/8/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       4/8/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       4/8/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       4/8/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       4/8/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          343.1
       4/8/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.08
       4/8/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.72
       4/8/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                       100
       4/8/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       4/8/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 200742 truck lease 3304        434.29
       4/8/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                              15
       4/8/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                          229.25
       4/8/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/8/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/8/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.15
       4/8/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.56
       4/8/2017    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          31.58
       4/8/2017    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD             29.52
       4/8/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       4/8/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       4/8/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.11
       4/8/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                      100
       4/8/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       4/8/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       4/8/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       4/8/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.01
       4/8/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                       100
       4/8/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       4/8/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 200700 Lease                   252.11
       4/8/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       4/8/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       4/8/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50

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       4/8/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.04
       4/8/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.83
       4/8/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.06
       4/8/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                     10.58
       4/8/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                     32.99
       4/8/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            68.36
       4/8/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 200698 Q13170                  352.68
       4/8/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       4/8/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       4/8/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             300
       4/8/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       4/8/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.61
       4/8/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.93
       4/8/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                        100
       4/8/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       4/8/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       4/8/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       4/8/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
       4/8/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/8/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/8/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.51
       4/8/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.73
       4/8/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.03
       4/8/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.54
       4/8/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.04
       4/8/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                        100
       4/8/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       4/8/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       4/8/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           16.95
       4/8/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.17
       4/8/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.55
       4/8/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                           60.5
       4/8/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.95
       4/8/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
       4/8/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       4/8/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/8/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       4/8/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       4/8/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
       4/8/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
       4/8/2017    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-1            117.8
       4/8/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
       4/8/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/8/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/8/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/8/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/8/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.14
       4/8/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          270.8
       4/8/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.27
       4/8/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          306.6
       4/8/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.72
       4/8/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
       4/8/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
       4/8/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
       4/8/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       4/8/2017    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
       4/8/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
       4/8/2017    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         1500
       4/8/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
       4/8/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       4/8/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.26
       4/8/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.62
       4/8/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
       4/8/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       4/8/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6

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       4/8/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       4/8/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/8/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
       4/8/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       4/8/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/8/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.51
       4/8/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.99
       4/8/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.18
       4/8/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
       4/8/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       4/8/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       4/8/2017    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                       9.51
       4/8/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       4/8/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       4/8/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-15        -285.68
       4/8/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.23
       4/8/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                       100
       4/8/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       4/8/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       4/8/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       4/8/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.8
       4/8/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                       100
       4/8/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       4/8/2017    709   JR0099   Owner Operator   Repair Order                   CTMS - 200698 Inv 007-70623 Cu        255.61
       4/8/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 200669 Truck Lease             278.76
       4/8/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       4/8/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       4/8/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       4/8/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       4/8/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/8/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/8/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/8/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/8/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.07
       4/8/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.37
       4/8/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                       100
       4/8/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       4/8/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       4/8/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       4/8/2017    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                     -181.8
       4/8/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       4/8/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/8/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/8/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/8/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/8/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          182.6
       4/8/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.39
       4/8/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           148
       4/8/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             30
       4/8/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
       4/8/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.27
       4/8/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          147.7
       4/8/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.01
       4/8/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
       4/8/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       4/8/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/8/2017    709   KP0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                         1.8
       4/8/2017    709   KP0004   Owner Operator   T Chek Fee                     Towing 32914                            180
       4/8/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       4/8/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       4/8/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       4/8/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
       4/8/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       4/8/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 200788 Lease Q1111             252.11
       4/8/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       4/8/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13

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       4/8/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                              200
       4/8/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       4/8/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.11
       4/8/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.09
       4/8/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.82
       4/8/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                         100
       4/8/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/8/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                    94.54
       4/8/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism            2.5
       4/8/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
       4/8/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                          13
       4/8/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/8/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                       70.32
       4/8/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL              8.75
       4/8/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                            8
       4/8/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                              50
       4/8/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.89
       4/8/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.85
       4/8/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.14
       4/8/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.87
       4/8/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                         100
       4/8/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/8/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD              39.07
       4/8/2017    709   ME0053   Owner Operator   Toll Charges                   Q1119,TxTag,FM565 NB                     2.24
       4/8/2017    709   ME0053   Owner Operator   Toll Charges                   Q1119,TxTag,SH - Northbound Ma              7
       4/8/2017    709   ME0053   Owner Operator   Toll Charges                   Q1119,TxTag,SH - Northbound Ma            3.5
       4/8/2017    709   ME0053   Owner Operator   Toll Charges                   Q1119,TxTag,SH - Northbound Ma              7
       4/8/2017    709   ME0053   Owner Operator   Toll Charges                   Q1119,TxTag,SH - Southbound Ma              7
       4/8/2017    709   ME0053   Owner Operator   Toll Charges                   Q1119,TxTag,SH - Southbound Ma              7
       4/8/2017    709   ME0053   Owner Operator   Toll Charges                   Q1119,TxTag,SH - Southbound Ma              7
       4/8/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 200698 Q1113 Lease             252.11
       4/8/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
       4/8/2017    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-15          -87.31
       4/8/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.01
       4/8/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.32
       4/8/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                         100
       4/8/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/8/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           35.16
       4/8/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
       4/8/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
       4/8/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                           13
       4/8/2017    709   MM0093   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-1              8.38
       4/8/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              100
       4/8/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       4/8/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.82
       4/8/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.25
       4/8/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.61
       4/8/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment           262.3
       4/8/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/8/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    53.13
       4/8/2017    709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00349172 - PO System          548.54
       4/8/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
       4/8/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
       4/8/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           13
       4/8/2017    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                     -23000
       4/8/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                             800
       4/8/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              125
       4/8/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.25
       4/8/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.97
       4/8/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.09
       4/8/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                       32.99
       4/8/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/8/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       71.88
       4/8/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
       4/8/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       4/8/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
       4/8/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                           13
       4/8/2017    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                       -2000
       4/8/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           479.5
       4/8/2017    709   NB0029   Owner Operator   Express Check                  T-Check Payment                          2000
       4/8/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                              100
       4/8/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       4/8/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.39

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       4/8/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                        100
       4/8/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       4/8/2017    709   NB0029   Owner Operator   Repair Order                   CTMS - 200775 651048 Reinburse        -88.08
       4/8/2017    709   NB0029   Owner Operator   Repair Order                   CTMS - 200794 repair                  151.14
       4/8/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 200786 Lease                   215.66
       4/8/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       4/8/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       4/8/2017    709   NG0005   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-15        -156.25
       4/8/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              25
       4/8/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/8/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/8/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/8/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/8/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.25
       4/8/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.75
       4/8/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.09
       4/8/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                            176
       4/8/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                       100
       4/8/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       4/8/2017    709   NT9564   Owner Operator   Accident Claim                 03/08/17 NT9564 Accident              779.85
       4/8/2017    709   NT9564   Owner Operator   Advance                        Acc Clm 63764 s/u $100 pmts              100
       4/8/2017    709   NT9564   Owner Operator   Advance                        Accident Clm 63764 s/u $100pmt       -779.85
       4/8/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       4/8/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       4/8/2017    709   NT9564   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
       4/8/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                      32.99
       4/8/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       4/8/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 200697 Truck 73130 Leas        196.65
       4/8/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       4/8/2017    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-15           -990
       4/8/2017    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.47
       4/8/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       4/8/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       4/8/2017    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00348510 - PO System          206.52
       4/8/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 200669 Down Payment lo         303.55
       4/8/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     51.7
       4/8/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
       4/8/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       4/8/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.13
       4/8/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          336.7
       4/8/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.57
       4/8/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
       4/8/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       4/8/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       4/8/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-1            40.01
       4/8/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-15            -45
       4/8/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
       4/8/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.15
       4/8/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 21975A                       100
       4/8/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
       4/8/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       4/8/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       4/8/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       4/8/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/8/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/8/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/8/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/8/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.81
       4/8/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.23
       4/8/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
       4/8/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       4/8/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16

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       4/8/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       4/8/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       4/8/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       4/8/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.82
       4/8/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.88
       4/8/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                        100
       4/8/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       4/8/2017    709   RM0026   Owner Operator   Repair Order                   CTMS - 200775 Repair                     196
       4/8/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       4/8/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       4/8/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.97
       4/8/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.37
       4/8/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                        100
       4/8/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       4/8/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 200669 Q1202 Truck Leas        278.76
       4/8/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       4/8/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       4/8/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/8/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/8/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/8/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/8/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.51
       4/8/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.01
       4/8/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.84
       4/8/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
       4/8/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                        100
       4/8/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       4/8/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       4/8/2017    709   RR0123   Owner Operator   Toll Charges                   Q1248,TxTag,Ship Channel Bridg           3.5
       4/8/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 200701 Q1248                   311.97
       4/8/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       4/8/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       4/8/2017    709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                      -3000
       4/8/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
       4/8/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          196.8
       4/8/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
       4/8/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       4/8/2017    709   SB0009   Owner Operator   Toll Charges                   33236,TxTag,Kelly Blvd.                 2.48
       4/8/2017    709   SB0009   Owner Operator   Toll Charges                   33236,TxTag,Plaza 1 - Wycliff           5.92
       4/8/2017    709   SB0009   Owner Operator   Toll Charges                   33236,TxTag,Plaza 2 Keller Sp           4.24
       4/8/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       4/8/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
       4/8/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       4/8/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       4/8/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.09
       4/8/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.11
       4/8/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.33
       4/8/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.46
       4/8/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.23
       4/8/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       4/8/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       4/8/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       4/8/2017    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-15            -30
       4/8/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.96
       4/8/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            442
       4/8/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                        100
       4/8/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       4/8/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           9.55
       4/8/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       4/8/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       4/8/2017    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-15         -87.31
       4/8/2017    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-15         -87.31
       4/8/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       4/8/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       4/8/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       4/8/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8

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       4/8/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.01
       4/8/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.39
       4/8/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.73
       4/8/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.32
       4/8/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
       4/8/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                       100
       4/8/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       4/8/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 200696 Q1238 Lease             311.97
       4/8/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
       4/8/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       4/8/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       4/8/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/8/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/8/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/8/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/8/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/8/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/8/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.12
       4/8/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.68
       4/8/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.67
       4/8/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
       4/8/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                   6.47
       4/8/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
       4/8/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
       4/8/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       4/8/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       4/8/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       4/8/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       4/8/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       4/8/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       4/8/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       4/8/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       4/8/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       4/8/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       4/8/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       4/8/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                          16.11
       4/8/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   AS0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.16
       4/8/2017    742   AS0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.07
       4/8/2017    742   AS0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.01
       4/8/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                       100
       4/8/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          34.99
       4/8/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.69
       4/8/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.69
       4/8/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/8/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/8/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       4/8/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       4/8/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.39
       4/8/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.67
       4/8/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.64
       4/8/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                       100
       4/8/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       4/8/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       4/8/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,Ship Channel Bridg           3.5
       4/8/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,Ship Channel Bridg           3.5
       4/8/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,Ship Channel Bridg             7
       4/8/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,Ship Channel Bridg             7

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       4/8/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,Ship Channel Bridg             7
       4/8/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.71
       4/8/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       4/8/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       4/8/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       4/8/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.62
       4/8/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.14
       4/8/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.76
       4/8/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.21
       4/8/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.41
       4/8/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
       4/8/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                     32.99
       4/8/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.04
       4/8/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       4/8/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171,TxTag,SH - South Plaza              7
       4/8/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 200483 Sub Lease Q13171        352.68
       4/8/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 200697 Sub Lease Q13171        352.68
       4/8/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       4/8/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.47
       4/8/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.82
       4/8/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.15
       4/8/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.84
       4/8/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.17
       4/8/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.96
       4/8/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.22
       4/8/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                       100
       4/8/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       4/8/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/8/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       4/8/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       4/8/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.18
       4/8/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.63
       4/8/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.01
       4/8/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       4/8/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       4/8/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       4/8/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       4/8/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.83
       4/8/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.72
       4/8/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.21
       4/8/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.54
       4/8/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.99
       4/8/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
       4/8/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       4/8/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       4/8/2017    742   ED0041   Owner Operator   Toll Charges                   32897,TxTag,SH - East Plaza L5             7
       4/8/2017    742   ED0041   Owner Operator   Toll Charges                   32897,TxTag,Ship Channel Bridg             7
       4/8/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       4/8/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.41
       4/8/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.06
       4/8/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.89
       4/8/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.84
       4/8/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
       4/8/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       4/8/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/8/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       4/8/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       4/8/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       4/8/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.42
       4/8/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.73
       4/8/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.68

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       4/8/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.59
       4/8/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
       4/8/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       4/8/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       4/8/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       4/8/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       4/8/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       4/8/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       4/8/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
       4/8/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
       4/8/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
       4/8/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
       4/8/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
       4/8/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
       4/8/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.27
       4/8/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.41
       4/8/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.88
       4/8/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
       4/8/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       4/8/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/8/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/8/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           46.79
       4/8/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/8/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/8/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.89
       4/8/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.64
       4/8/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.6
       4/8/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
       4/8/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  114.01
       4/8/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
       4/8/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       4/8/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       4/8/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                       100
       4/8/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       4/8/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       4/8/2017    742   MH0117   Owner Operator   Toll Charges                   33296,TxTag,Ship Channel Bridg             7
       4/8/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
       4/8/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
       4/8/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
       4/8/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
       4/8/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       4/8/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       4/8/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                          455.68
       4/8/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                              45
       4/8/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.45
       4/8/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                        4.56
       4/8/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.22
       4/8/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.67
       4/8/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.25
       4/8/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.56
       4/8/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.32
       4/8/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
       4/8/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                       100
       4/8/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
       4/8/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
       4/8/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00348982 - PO System            9.01
       4/8/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 200697 Q1247 Sub Lease         311.97
       4/8/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       4/8/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       4/8/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/8/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/8/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/8/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/8/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.12
       4/8/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.28

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       4/8/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.63
       4/8/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.76
       4/8/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100
       4/8/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       4/8/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       4/8/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       4/8/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       4/8/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       4/8/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/8/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       4/8/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       4/8/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.3
       4/8/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.33
       4/8/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.21
       4/8/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
       4/8/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       4/8/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,SH - East Plaza L5             7
       4/8/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,SH - Southeast Pla           3.5
       4/8/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,SH - Southwest Pla             7
       4/8/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,Ship Channel Bridg             7
       4/8/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       4/8/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       4/8/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.69
       4/8/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          327.8
       4/8/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.91
       4/8/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
       4/8/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                     32.99
       4/8/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.26
       4/8/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       4/8/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       4/8/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       4/8/2017    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-15         -19.51
       4/8/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       4/8/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       4/8/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/8/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       4/8/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       4/8/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       4/8/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/8/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.36
       4/8/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.24
       4/8/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.52
       4/8/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.46
       4/8/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.51
       4/8/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/8/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       4/8/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       4/8/2017    742   TH0130   Owner Operator   T Chek Fee                     Towing 33991                            213
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        LWO:52901 - 33211                     -317.7
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        LWO:52901 - 33211                     -317.7
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        LWO:52901 - 33211                    -137.04
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:33211 PrePass Device                -12.5
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:33211 PrePass Device                -12.5
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:52901 - 33211                     -137.04
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:52901 - 33211                      -317.7
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:52901 - 33211                      -317.7
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:Jan17 Fuel Taxes                  -605.57
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33211                      -13
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33211                      -13
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33211                      -13
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33211                      -13
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33211                      -13
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33211                      -13
       4/8/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33211                      -13
       4/8/2017    844   JK0112   Owner Operator   FUEL TAX                       Jan17 Fuel Taxes                      605.57

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       4/8/2017    844   JK0112   Owner Operator   Repair Order                   Reseat Charge for Unit 33211            116
       4/8/2017    844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                         274.08
       4/8/2017    844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                          635.4
       4/8/2017    844   JK0112   Owner Operator   Tractor Charge                 52901 - 33211                          635.4
      4/15/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      4/15/2017    709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                   12.5
      4/15/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      4/15/2017    709   AN0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-22         -21.87
      4/15/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                      100
      4/15/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      4/15/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      4/15/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      4/15/2017    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      4/15/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      4/15/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.39
      4/15/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.96
      4/15/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.3
      4/15/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
      4/15/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                        33
      4/15/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
      4/15/2017    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00349171 - PO System          333.68
      4/15/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 200892 Q13147 Lease            440.14
      4/15/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      4/15/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      4/15/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      4/15/2017    709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                   12.5
      4/15/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      4/15/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/15/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.64
      4/15/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.44
      4/15/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.19
      4/15/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.58
      4/15/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.01
      4/15/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.96
      4/15/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.21
      4/15/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
      4/15/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                     32.99
      4/15/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
      4/15/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 200738 Q13169 Sublease         352.68
      4/15/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 200917 Q13169 Sublease         352.68
      4/15/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      4/15/2017    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
      4/15/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      4/15/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/15/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.51
      4/15/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.15
      4/15/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          38.98
      4/15/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.85
      4/15/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
      4/15/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                     32.99
      4/15/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
      4/15/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 200890 Q13168 sub lease        352.68
      4/15/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/15/2017    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      4/15/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      4/15/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                          60.79
      4/15/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/15/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/15/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.08
      4/15/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.03
      4/15/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      4/15/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      4/15/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/15/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      4/15/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      4/15/2017    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                    12.5
      4/15/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      4/15/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.79

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      4/15/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.55
      4/15/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        373.75
      4/15/2017    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2017 - 32864                     32.99
      4/15/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/15/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
      4/15/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      4/15/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
      4/15/2017    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                   12.5
      4/15/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      4/15/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        371.71
      4/15/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                      100
      4/15/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/15/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
      4/15/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 200894 Q1201                  278.76
      4/15/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
      4/15/2017    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                   12.5
      4/15/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                          8
      4/15/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/15/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.9
      4/15/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.1
      4/15/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.9
      4/15/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        341.25
      4/15/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.65
      4/15/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        264.74
      4/15/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/15/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.2
      4/15/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      4/15/2017    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                   12.5
      4/15/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      4/15/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      4/15/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      4/15/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
      4/15/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      4/15/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        466.59
      4/15/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        158.88
      4/15/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        473.58
      4/15/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        377.76
      4/15/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                     10.58
      4/15/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                      100
      4/15/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         261.2
      4/15/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         261.2
      4/15/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/15/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         27.61
      4/15/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
      4/15/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
      4/15/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 200441 Sublease               338.99
      4/15/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 200653 Sublease               338.99
      4/15/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 200850 Sublease               338.99
      4/15/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
      4/15/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/15/2017    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                   12.5
      4/15/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      4/15/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      4/15/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      4/15/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        413.91
      4/15/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        545.52
      4/15/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                     32.99
      4/15/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/15/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
      4/15/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      4/15/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      4/15/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-8           86.62
      4/15/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-22           -93
      4/15/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        389.77
      4/15/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                      100
      4/15/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/15/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.07
      4/15/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
      4/15/2017    709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                   12.5
      4/15/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      4/15/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.69
      4/15/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.98
      4/15/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          287

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      4/15/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                           277
      4/15/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.83
      4/15/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.23
      4/15/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      4/15/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      4/15/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
      4/15/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      4/15/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/15/2017    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
      4/15/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      4/15/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/15/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/15/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/15/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/15/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/15/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.07
      4/15/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.68
      4/15/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.72
      4/15/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          38.41
      4/15/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      4/15/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      4/15/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      4/15/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/15/2017    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
      4/15/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      4/15/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/15/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/15/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/15/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/15/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.15
      4/15/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.46
      4/15/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.34
      4/15/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      4/15/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      4/15/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      4/15/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      4/15/2017    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
      4/15/2017    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK TRK33828              9.84
      4/15/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      4/15/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/15/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.35
      4/15/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.58
      4/15/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
      4/15/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      4/15/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      4/15/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 4/12 #17105                    350.36
      4/15/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      4/15/2017    709   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      4/15/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      4/15/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/15/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.71
      4/15/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      4/15/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      4/15/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      4/15/2017    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
      4/15/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      4/15/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           294
      4/15/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.74
      4/15/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.61
      4/15/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                       100
      4/15/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      4/15/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 200921 truck lease 3304        434.29
      4/15/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                           70.75
      4/15/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/15/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.15
      4/15/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/15/2017    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      4/15/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13

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      4/15/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/15/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/15/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.15
      4/15/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          457.19
      4/15/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                       100
      4/15/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/15/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    82.04
      4/15/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL              8.75
      4/15/2017    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                     12.5
      4/15/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                           13
      4/15/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.94
      4/15/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                        100
      4/15/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/15/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD              39.07
      4/15/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 200893 Lease                    252.11
      4/15/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             8.75
      4/15/2017    709   HC0023   Owner Operator   Broker Pre Pass                Q13170 PrePass Device                    12.5
      4/15/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                           8
      4/15/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                              50
      4/15/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.94
      4/15/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          329.96
      4/15/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                      10.58
      4/15/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                      32.99
      4/15/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             68.36
      4/15/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 200891 Q13170                   352.68
      4/15/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                  8.75
      4/15/2017    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                     12.5
      4/15/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                           13
      4/15/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      4/15/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             300
      4/15/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      4/15/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          427.62
      4/15/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           373.5
      4/15/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                            183
      4/15/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                        100
      4/15/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/15/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                  15.63
      4/15/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      4/15/2017    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                     12.5
      4/15/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                           13
      4/15/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
      4/15/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          407.99
      4/15/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.11
      4/15/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          348.54
      4/15/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                        100
      4/15/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/15/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       54.69
      4/15/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                     21.35
      4/15/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      4/15/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                            20.04
      4/15/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.2
      4/15/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          283.24
      4/15/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          247.32
      4/15/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                       32.99
      4/15/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/15/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.64
      4/15/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      4/15/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                          521.95
      4/15/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                     13.98
      4/15/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                     8.75
      4/15/2017    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                     12.5
      4/15/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                           13
      4/15/2017    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                    -1066.62
      4/15/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      4/15/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/15/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/15/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/15/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/15/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/15/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/15/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.66
      4/15/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.78
      4/15/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          426.05

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      4/15/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          108.3
      4/15/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.84
      4/15/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      4/15/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
      4/15/2017    709   JC0292   Owner Operator   T Chek Fee                     ExpressCheck Fee                       10.56
      4/15/2017    709   JC0292   Owner Operator   T Chek Fee                     Tractor Repair Q1210                 1056.06
      4/15/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      4/15/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/15/2017    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
      4/15/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      4/15/2017    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-22        -211.25
      4/15/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      4/15/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/15/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/15/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.73
      4/15/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.55
      4/15/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.23
      4/15/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      4/15/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      4/15/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      4/15/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/15/2017    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                    12.5
      4/15/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      4/15/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/15/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/15/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/15/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/15/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.39
      4/15/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.01
      4/15/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      4/15/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      4/15/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      4/15/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      4/15/2017    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                    12.5
      4/15/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      4/15/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-8           285.68
      4/15/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-22       -1298.96
      4/15/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.12
      4/15/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.98
      4/15/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                       100
      4/15/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      4/15/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      4/15/2017    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                    12.5
      4/15/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      4/15/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.89
      4/15/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                       100
      4/15/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      4/15/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 200868 Truck Lease             278.76
      4/15/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      4/15/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      4/15/2017    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                    12.5
      4/15/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      4/15/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/15/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/15/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/15/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.08
      4/15/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                       100
      4/15/2017    709   JS0265   Owner Operator   Miscellaneous                  Voided Check 964837                 -4126.59
      4/15/2017    709   JS0265   Owner Operator   Miscellaneous                  Voided Check 964964                 -1915.63
      4/15/2017    709   JS0265   Owner Operator   Miscellaneous                  Voided Check 965137                  -2902.4
      4/15/2017    709   JS0265   Owner Operator   Miscellaneous                  Voided Ck 965020                    -3215.02
      4/15/2017    709   JS0265   Owner Operator   Miscellaneous                  Voided Ck 965083                    -2463.65
      4/15/2017    709   JS0265   Owner Operator   Miscellaneous                  Voided Ck 965224                    -1130.76
      4/15/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      4/15/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      4/15/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/15/2017    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5

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      4/15/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      4/15/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/15/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            150
      4/15/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      4/15/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           181
      4/15/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          45.85
      4/15/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      4/15/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          38.95
      4/15/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.02
      4/15/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      4/15/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      4/15/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/15/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      4/15/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      4/15/2017    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                    12.5
      4/15/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      4/15/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
      4/15/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      4/15/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 200962 Lease Q1111             252.11
      4/15/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      4/15/2017    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      4/15/2017    709   LS0023   Owner Operator   Charge back by affiliate       CTMS - 200947 Trailer wash 552           -32
      4/15/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      4/15/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         603.52
      4/15/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                       100
      4/15/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      4/15/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      4/15/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/15/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/15/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/15/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      4/15/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      4/15/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      4/15/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      4/15/2017    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                   12.5
      4/15/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      4/15/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.95
      4/15/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
      4/15/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      4/15/2017    709   ME0053   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                    12.5
      4/15/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      4/15/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/15/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.96
      4/15/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.39
      4/15/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                       100
      4/15/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      4/15/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 200891 Q1113 Lease             252.11
      4/15/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/15/2017    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-8            87.31
      4/15/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.02
      4/15/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.04
      4/15/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                       100
      4/15/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      4/15/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/15/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      4/15/2017    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                    12.5
      4/15/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/15/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/15/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.33
      4/15/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.74
      4/15/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          134.6
      4/15/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.35
      4/15/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          262.3
      4/15/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13

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      4/15/2017    709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00349172 - PO System          346.98
      4/15/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      4/15/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/15/2017    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
      4/15/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      4/15/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      4/15/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      4/15/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      4/15/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/15/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      4/15/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      4/15/2017    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                    12.5
      4/15/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      4/15/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      4/15/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           20.5
      4/15/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/15/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/15/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.02
      4/15/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.96
      4/15/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.37
      4/15/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.18
      4/15/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.53
      4/15/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                       100
      4/15/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      4/15/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 200961 Lease                   215.66
      4/15/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      4/15/2017    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                   12.5
      4/15/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      4/15/2017    709   NG0005   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-8           156.25
      4/15/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/15/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/15/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.06
      4/15/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           216
      4/15/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                      100
      4/15/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      4/15/2017    709   NT9564   Owner Operator   Advance                        Acc Clm 63764 s/u $100 pmts             100
      4/15/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      4/15/2017    709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                    12.5
      4/15/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      4/15/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
      4/15/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                      32.99
      4/15/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      4/15/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 200890 Truck 73130 Leas        196.65
      4/15/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      4/15/2017    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-8             990
      4/15/2017    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.69
      4/15/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      4/15/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      4/15/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 200867 Down Payment lo         303.55
      4/15/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     51.7
      4/15/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/15/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/15/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/15/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.1
      4/15/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.45
      4/15/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      4/15/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      4/15/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      4/15/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/15/2017    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                   12.5
      4/15/2017    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      4/15/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-8               45
      4/15/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/15/2017    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                           26.93
      4/15/2017    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.27
      4/15/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.21
      4/15/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.71

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      4/15/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 21975A                      100
      4/15/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      4/15/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      4/15/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      4/15/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/15/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      4/15/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/15/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/15/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/15/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/15/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.08
      4/15/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.59
      4/15/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      4/15/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      4/15/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      4/15/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      4/15/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      4/15/2017    709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                    12.5
      4/15/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      4/15/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.98
      4/15/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.75
      4/15/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                       100
      4/15/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      4/15/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      4/15/2017    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                    12.5
      4/15/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      4/15/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.98
      4/15/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.23
      4/15/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.82
      4/15/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                       100
      4/15/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      4/15/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 200868 Q1202 Truck Leas        278.76
      4/15/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      4/15/2017    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                    12.5
      4/15/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      4/15/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.82
      4/15/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
      4/15/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                       100
      4/15/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      4/15/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      4/15/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 200894 Q1248                   311.97
      4/15/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      4/15/2017    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      4/15/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      4/15/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/15/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/15/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/15/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.8
      4/15/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.86
      4/15/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           221
      4/15/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      4/15/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      4/15/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      4/15/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      4/15/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      4/15/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      4/15/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.07
      4/15/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.69
      4/15/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.28
      4/15/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.49
      4/15/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      4/15/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      4/15/2017    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
      4/15/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      4/15/2017    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-8               30
      4/15/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           422

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      4/15/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.02
      4/15/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                       100
      4/15/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      4/15/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/15/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/15/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      4/15/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      4/15/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/15/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/15/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
      4/15/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/15/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/15/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      4/15/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.58
      4/15/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.7
      4/15/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.71
      4/15/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.37
      4/15/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.35
      4/15/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.77
      4/15/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.52
      4/15/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.04
      4/15/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2016 - 33961                       36.1
      4/15/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                       100
      4/15/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                       100
      4/15/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   VJ0006   Owner Operator   Permits                        NY13:2017 - 33961                        1.5
      4/15/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      4/15/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      4/15/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 200818 New Truck Set Up        248.96
      4/15/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/15/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      4/15/2017    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-8            87.31
      4/15/2017    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-8            87.31
      4/15/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      4/15/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      4/15/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      4/15/2017    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      4/15/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      4/15/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/15/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/15/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.53
      4/15/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.29
      4/15/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      4/15/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                       100
      4/15/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      4/15/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 200889 Q1238 Lease             311.97
      4/15/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/15/2017    742   AS0089   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK TRK33912              9.84
      4/15/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      4/15/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/15/2017    742   AS0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.62
      4/15/2017    742   AS0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.16
      4/15/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                       100
      4/15/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.69
      4/15/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/15/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.45
      4/15/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.42
      4/15/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.27
      4/15/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      4/15/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      4/15/2017    742   CA0089   Owner Operator   Broker Pre Pass                33832 PrePass Device                    12.5
      4/15/2017    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK TRK33987              9.84
      4/15/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      4/15/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      4/15/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/15/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/15/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.05
      4/15/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.59

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      4/15/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.58
      4/15/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.03
      4/15/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.35
      4/15/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2016 - 33987                       100
      4/15/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2016 - 33987                       0.55
      4/15/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                       100
      4/15/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                       100
      4/15/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    742   CA0089   Owner Operator   Permits                        IL02:2017 - 33987                       3.75
      4/15/2017    742   CA0089   Owner Operator   Permits                        NM07:2017 - 33987                        5.5
      4/15/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      4/15/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      4/15/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      4/15/2017    742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                   12.5
      4/15/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      4/15/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/15/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.53
      4/15/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.46
      4/15/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.39
      4/15/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.56
      4/15/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
      4/15/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                     32.99
      4/15/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.04
      4/15/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      4/15/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/15/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      4/15/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/15/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.75
      4/15/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.91
      4/15/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                       100
      4/15/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      4/15/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/15/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/15/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      4/15/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/15/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          383.6
      4/15/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.05
      4/15/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      4/15/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/15/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/15/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.42
      4/15/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.97
      4/15/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.88
      4/15/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.08
      4/15/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                      71.65
      4/15/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      4/15/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      4/15/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.55
      4/15/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.97
      4/15/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.72
      4/15/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      4/15/2017    742   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK TRK33846              9.84
      4/15/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      4/15/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/15/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.06
      4/15/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.56
      4/15/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.24
      4/15/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.36
      4/15/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
      4/15/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      4/15/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      4/15/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      4/15/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      4/15/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      4/15/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      4/15/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      4/15/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13

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      4/15/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                              50
      4/15/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.62
      4/15/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/15/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD              35.16
      4/15/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter            2.5
      4/15/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                           8.75
      4/15/2017    742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                     12.5
      4/15/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                           13
      4/15/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                          219.94
      4/15/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                          270.56
      4/15/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/15/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                           46.88
      4/15/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                   2.5
      4/15/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           125.23
      4/15/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                              200
      4/15/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/15/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          343.88
      4/15/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                             358
      4/15/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   117.45
      4/15/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      4/15/2017    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                     12.5
      4/15/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                           13
      4/15/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                         100
      4/15/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/15/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                              75
      4/15/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      4/15/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                     20.17
      4/15/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                     20.17
      4/15/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                     20.17
      4/15/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                     20.17
      4/15/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      4/15/2017    742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                     12.5
      4/15/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                            8
      4/15/2017    742   MT0112   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-22        -1275.62
      4/15/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                              50
      4/15/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                              200
      4/15/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                              100
      4/15/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/15/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/15/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          247.33
      4/15/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.39
      4/15/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                             150
      4/15/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                             150
      4/15/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                       10.58
      4/15/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                         100
      4/15/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/15/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 72.57
      4/15/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror            2.5
      4/15/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00348982 - PO System             9.01
      4/15/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75
      4/15/2017    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                     12.5
      4/15/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                           13
      4/15/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                              200
      4/15/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/15/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          140.26
      4/15/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          393.56
      4/15/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          318.89
      4/15/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.79
      4/15/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                         100
      4/15/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/15/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             100.79
      4/15/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            2.5
      4/15/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.56
      4/15/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      4/15/2017    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                     12.5
      4/15/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      4/15/2017    742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                       -1300
      4/15/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                             200
      4/15/2017    742   PC0012   Owner Operator   Express Check                  T-Check Payment                          1300
      4/15/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          203.73
      4/15/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.32
      4/15/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          319.69
      4/15/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                       32.99

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      4/15/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      4/15/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      4/15/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.55
      4/15/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.15
      4/15/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.82
      4/15/2017    742   RN0054   Owner Operator   Toll Charges                   Q13157,TxTag,Ship Channel Brid             7
      4/15/2017    742   RN0054   Owner Operator   Toll Charges                   Q13157,TxTag,Ship Channel Brid             7
      4/15/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/15/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      4/15/2017    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-8            19.51
      4/15/2017    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-22           -248
      4/15/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/15/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      4/15/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      4/15/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/15/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      4/15/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/15/2017    742   TH0130   Owner Operator   Fuel Card Advances             Cash Advance                             500
      4/15/2017    742   TH0130   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/15/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          209.4
      4/15/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.88
      4/15/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          36.72
      4/15/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                            200
      4/15/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.36
      4/15/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/15/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      4/15/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/15/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        LWO:Reseat Charge for Unit 332       -796.93
      4/15/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:33211 PrePass Device                -12.5
      4/15/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:33211 PrePass Device                -12.5
      4/15/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33211                      -13
      4/15/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33211                      -13
      4/15/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33211                      -13
      4/15/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33211                      -13
      4/15/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33211                      -13
      4/15/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33211                      -13
      4/15/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33211                      -13
      4/15/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:Reseat Charge for Unit 3321       -796.93
      4/15/2017    844   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                    12.5
      4/15/2017    844   JK0112   Owner Operator   Broker Pre Pass                33211 PrePass Device                    12.5
      4/15/2017    844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                          13
      4/15/2017    844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                          13
      4/15/2017    844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                          13
      4/15/2017    844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                          13
      4/15/2017    844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                          13
      4/15/2017    844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                          13
      4/15/2017    844   JK0112   Owner Operator   Communication Charge           PNet Hware 33211                          13
      4/15/2017    844   JK0112   Owner Operator   Repair Order                   Reseat Charge for Unit 33211         1593.86
      4/15/2017    844   JK0112   Owner Operator   Tractor Charge                 crt wk 3/16-3/23 #52901              -1270.8
      4/22/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      4/22/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      4/22/2017    709   AN0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-15           21.87
      4/22/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/22/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.69
      4/22/2017    709   AN0007   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               63.02
      4/22/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                       100
      4/22/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      4/22/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      4/22/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      4/22/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      4/22/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.99
      4/22/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        -283.04
      4/22/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.15
      4/22/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                            247
      4/22/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.46
      4/22/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.76
      4/22/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.42
      4/22/2017    709   AR0064   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes              102.43
      4/22/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
      4/22/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                        33

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      4/22/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
      4/22/2017    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00349171 - PO System          333.68
      4/22/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 201052 Q13147 Lease            440.14
      4/22/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      4/22/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      4/22/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      4/22/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.63
      4/22/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.02
      4/22/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.62
      4/22/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.47
      4/22/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.47
      4/22/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.51
      4/22/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.53
      4/22/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.69
      4/22/2017    709   AV0021   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes              246.22
      4/22/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
      4/22/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                     32.99
      4/22/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
      4/22/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 201088 Q13169 Sublease         352.68
      4/22/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      4/22/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      4/22/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.36
      4/22/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.39
      4/22/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.84
      4/22/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.85
      4/22/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
      4/22/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                     32.99
      4/22/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
      4/22/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 201050 Q13168 sub lease        352.68
      4/22/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/22/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      4/22/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      4/22/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                         239.21
      4/22/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/22/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.29
      4/22/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.16
      4/22/2017    709   CM0119   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               31.36
      4/22/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      4/22/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      4/22/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/22/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      4/22/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      4/22/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      4/22/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.23
      4/22/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.55
      4/22/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.54
      4/22/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.27
      4/22/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.36
      4/22/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.95
      4/22/2017    709   CR0064   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               31.53
      4/22/2017    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2017 - 32864                      32.99
      4/22/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      4/22/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      4/22/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      4/22/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      4/22/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.95
      4/22/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                       100
      4/22/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      4/22/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 201055 Q1201                   278.76
      4/22/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/22/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      4/22/2017    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-29         -130.2
      4/22/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.16

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      4/22/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.84
      4/22/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          190.9
      4/22/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.47
      4/22/2017    709   DL0029   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               56.87
      4/22/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         264.74
      4/22/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      4/22/2017    709   DL0029   Owner Operator   Repair Order                   CTMS - 201116 Repair                  355.74
      4/22/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      4/22/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      4/22/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      4/22/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/22/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.12
      4/22/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.83
      4/22/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.64
      4/22/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.18
      4/22/2017    709   DL0107   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               38.04
      4/22/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
      4/22/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                        100
      4/22/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      4/22/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      4/22/2017    709   DL0107   Owner Operator   Toll Charges                   Q1245     ,Bay Bridge                     25
      4/22/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 201018 Sublease                338.99
      4/22/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      4/22/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/22/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      4/22/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      4/22/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/22/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.16
      4/22/2017    709   DS0049   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes              133.89
      4/22/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      4/22/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      4/22/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      4/22/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      4/22/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-15              93
      4/22/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.11
      4/22/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.7
      4/22/2017    709   DS0225   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes              -21.86
      4/22/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                        100
      4/22/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      4/22/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      4/22/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      4/22/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.98
      4/22/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.9
      4/22/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.67
      4/22/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.51
      4/22/2017    709   DW0138   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes              537.91
      4/22/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      4/22/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.74
      4/22/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.49
      4/22/2017    709   DW0138   Owner Operator   Toll Charges                   TreO 174059318 021617 - 33443           8.82
      4/22/2017    709   DW0138   Owner Operator   Toll Charges                   TreO 174087306 021617 - 33443           8.82
      4/22/2017    709   DW0138   Owner Operator   Toll Charges                   TreO 177369097 31417 W - 33443          8.82
      4/22/2017    709   DW0138   Owner Operator   Toll Charges                   TreO 177396264 31417 E - 33443          8.82
      4/22/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      4/22/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/22/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      4/22/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            100
      4/22/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            -100
      4/22/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/22/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/22/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/22/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          -1
      4/22/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.44
      4/22/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        -191.06
      4/22/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        -356.97
      4/22/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.21

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      4/22/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.15
      4/22/2017    709   EA0003   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               98.62
      4/22/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      4/22/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      4/22/2017    709   EA0003   Owner Operator   Toll Charges                   33051,ILTOLL,Route 80 (West)             4.8
      4/22/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      4/22/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/22/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      4/22/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            -100
      4/22/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/22/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          -1
      4/22/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.49
      4/22/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        -448.46
      4/22/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.43
      4/22/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.28
      4/22/2017    709   EE0011   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               76.37
      4/22/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      4/22/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      4/22/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      4/22/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      4/22/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      4/22/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.23
      4/22/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.13
      4/22/2017    709   EG0062   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               67.78
      4/22/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
      4/22/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      4/22/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      4/22/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 4/20 #17105                    350.36
      4/22/2017    709   EI0003   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes                  93
      4/22/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      4/22/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      4/22/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        -359.76
      4/22/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.79
      4/22/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.02
      4/22/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.18
      4/22/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                        100
      4/22/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      4/22/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 201094 truck lease 3304        434.29
      4/22/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           3.22
      4/22/2017    709   FT0004   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               -3.22
      4/22/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/22/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      4/22/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.55
      4/22/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                       100
      4/22/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      4/22/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      4/22/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      4/22/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.15
      4/22/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                        100
      4/22/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      4/22/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 201053 Lease                   252.11
      4/22/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      4/22/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      4/22/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.78
      4/22/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.09
      4/22/2017    709   HC0023   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes              -13.17
      4/22/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                     10.58
      4/22/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                     32.99
      4/22/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            68.36
      4/22/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 201051 Q13170                  352.68
      4/22/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      4/22/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      4/22/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             200

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      4/22/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.84
      4/22/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          406.7
      4/22/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                       100
      4/22/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      4/22/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/22/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      4/22/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/22/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/22/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/22/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.13
      4/22/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.02
      4/22/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.06
      4/22/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.01
      4/22/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.93
      4/22/2017    709   HG0027   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes                38.3
      4/22/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                       100
      4/22/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      4/22/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      4/22/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/22/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                           20.05
      4/22/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      4/22/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.33
      4/22/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.38
      4/22/2017    709   IR0002   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               52.98
      4/22/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      4/22/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      4/22/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/22/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      4/22/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      4/22/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      4/22/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
      4/22/2017    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-29         -75.02
      4/22/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      4/22/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/22/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/22/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/22/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.89
      4/22/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.03
      4/22/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.72
      4/22/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.33
      4/22/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.05
      4/22/2017    709   JC0292   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes              259.82
      4/22/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      4/22/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.11
      4/22/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      4/22/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/22/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      4/22/2017    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-15          211.25
      4/22/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      4/22/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/22/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/22/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.07
      4/22/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.76
      4/22/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.65
      4/22/2017    709   JG0017   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               71.96
      4/22/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      4/22/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      4/22/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      4/22/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/22/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      4/22/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/22/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/22/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/22/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          459.5
      4/22/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.39

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      4/22/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.18
      4/22/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.99
      4/22/2017    709   JG0072   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes              142.35
      4/22/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      4/22/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      4/22/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      4/22/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      4/22/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      4/22/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-15         1298.96
      4/22/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/22/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/22/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.45
      4/22/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.48
      4/22/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.76
      4/22/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                        100
      4/22/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      4/22/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      4/22/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      4/22/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.42
      4/22/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.56
      4/22/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                        100
      4/22/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      4/22/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 201029 Truck Lease             278.76
      4/22/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      4/22/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      4/22/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      4/22/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      4/22/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            -200
      4/22/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/22/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/22/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/22/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/22/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          -2
      4/22/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.72
      4/22/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.83
      4/22/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.88
      4/22/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.08
      4/22/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        -402.98
      4/22/2017    709   JS0265   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               14.29
      4/22/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                        100
      4/22/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      4/22/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      4/22/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/22/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      4/22/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      4/22/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/22/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            514
      4/22/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            377
      4/22/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             27
      4/22/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          41.86
      4/22/2017    709   KP0004   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes              243.98
      4/22/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      4/22/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      4/22/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/22/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      4/22/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      4/22/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      4/22/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                        100
      4/22/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      4/22/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 201139 Lease Q1111             252.11
      4/22/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75

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      4/22/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      4/22/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.64
      4/22/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                        100
      4/22/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      4/22/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      4/22/2017    709   LS0023   Owner Operator   Toll Charges                   33655/TL9211,Bay Bridge                   25
      4/22/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/22/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      4/22/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      4/22/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      4/22/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.72
      4/22/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.29
      4/22/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      4/22/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      4/22/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.98
      4/22/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.15
      4/22/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.91
      4/22/2017    709   ME0053   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               56.92
      4/22/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                        100
      4/22/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      4/22/2017    709   ME0053   Owner Operator   Toll Charges                   Q1113     ,Carquinez Bridge               25
      4/22/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 201051 Q1113 Lease             252.11
      4/22/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/22/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.01
      4/22/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.05
      4/22/2017    709   MG0067   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               -5.25
      4/22/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                        100
      4/22/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      4/22/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/22/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      4/22/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      4/22/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      4/22/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            -100
      4/22/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          -1
      4/22/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/22/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.07
      4/22/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.24
      4/22/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.77
      4/22/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        -367.35
      4/22/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.86
      4/22/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          262.3
      4/22/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.11
      4/22/2017    709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00349172 - PO System          201.56
      4/22/2017    709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00349172 - PO System          548.54
      4/22/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      4/22/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/22/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      4/22/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      4/22/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              80
      4/22/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      4/22/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         645.21
      4/22/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      4/22/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      4/22/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/22/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      4/22/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      4/22/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.38
      4/22/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.57
      4/22/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         -224.5
      4/22/2017    709   NB0029   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               34.28
      4/22/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                        100
      4/22/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          44.12
      4/22/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75

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      4/22/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
      4/22/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             500
      4/22/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             140
      4/22/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.4
      4/22/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      4/22/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           86.39
      4/22/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           90.01
      4/22/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           135.2
      4/22/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           204.8
      4/22/2017    709   NG0005   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes                  2.5
      4/22/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                       100
      4/22/2017    709   NG0005   Owner Operator   Loan Repayment                 Crdt Exp 160903 - s/u loan           -1629.83
      4/22/2017    709   NG0005   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment          273.84
      4/22/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/22/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 32.97
      4/22/2017    709   NG0005   Owner Operator   T Chek Fee                     ExpressCheck Fee                        16.14
      4/22/2017    709   NG0005   Owner Operator   T Chek Fee                     Tractor Repair 21412B                 1613.69
      4/22/2017    709   NT9564   Owner Operator   Accident Claim                 03/08/17 NT9564 Accident                484.1
      4/22/2017    709   NT9564   Owner Operator   Advance                        3/8/17 acc Clm 63764                   -484.1
      4/22/2017    709   NT9564   Owner Operator   Advance                        Acc Clm 63764 s/u $100 pmts              100
      4/22/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
      4/22/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           13
      4/22/2017    709   NT9564   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes                118.1
      4/22/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                       10.58
      4/22/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                       32.99
      4/22/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/22/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              30.47
      4/22/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 201050 Truck 73130 Leas         196.65
      4/22/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      4/22/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/22/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.15
      4/22/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      4/22/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 201029 Down Payment lo          303.55
      4/22/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     51.69
      4/22/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      4/22/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
      4/22/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      4/22/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          345.72
      4/22/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           224.9
      4/22/2017    709   RC0089   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes                -7.83
      4/22/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                       32.99
      4/22/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/22/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   103.05
      4/22/2017    709   RC0089   Owner Operator   Toll Charges                   32986,MassPike,Charlton - West           1.95
      4/22/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                          504.72
      4/22/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      4/22/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      4/22/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          366.09
      4/22/2017    709   RL0017   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               -31.66
      4/22/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 21975A                       100
      4/22/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                       32.99
      4/22/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/22/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                     77.2
      4/22/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
      4/22/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      4/22/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
      4/22/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/22/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/22/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/22/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.02
      4/22/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          447.59
      4/22/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.36
      4/22/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          336.79
      4/22/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           12.84
      4/22/2017    709   RL0062   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes                132.4
      4/22/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                       32.99
      4/22/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/22/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.13
      4/22/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          512.16
      4/22/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                     27.46

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      4/22/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      4/22/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      4/22/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.75
      4/22/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.23
      4/22/2017    709   RM0026   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes              123.76
      4/22/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                        100
      4/22/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      4/22/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      4/22/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      4/22/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                             120
      4/22/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
      4/22/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        -255.62
      4/22/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          355.5
      4/22/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          207.9
      4/22/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                        100
      4/22/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      4/22/2017    709   RP0082   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.38
      4/22/2017    709   RP0082   Owner Operator   T Chek Fee                     Tractor Repair Q1202                  138.38
      4/22/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 201029 Q1202 Truck Leas        278.76
      4/22/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      4/22/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      4/22/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/22/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.83
      4/22/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.1
      4/22/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                        -408.58
      4/22/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.61
      4/22/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.53
      4/22/2017    709   RR0123   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               62.58
      4/22/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
      4/22/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                        100
      4/22/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      4/22/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      4/22/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 201055 Q1248                   311.97
      4/22/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      4/22/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      4/22/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      4/22/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/22/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.93
      4/22/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.56
      4/22/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           -221
      4/22/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.86
      4/22/2017    709   SB0009   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes              119.69
      4/22/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      4/22/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      4/22/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      4/22/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      4/22/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      4/22/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      4/22/2017    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/22/2017    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/22/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                        -198.28
      4/22/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.88
      4/22/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.07
      4/22/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.83
      4/22/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.06
      4/22/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.15
      4/22/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.83
      4/22/2017    709   SN0019   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               36.84
      4/22/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      4/22/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      4/22/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      4/22/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.71
      4/22/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            345
      4/22/2017    709   VB0015   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes              -22.15

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      4/22/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                        100
      4/22/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      4/22/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/22/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      4/22/2017    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                      -1800
      4/22/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      4/22/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            -150
      4/22/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                              40
      4/22/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             160
      4/22/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.6
      4/22/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.4
      4/22/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         -1.5
      4/22/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.24
      4/22/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.89
      4/22/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.89
      4/22/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.59
      4/22/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        -194.32
      4/22/2017    709   VJ0006   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               27.41
      4/22/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                        100
      4/22/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      4/22/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 201002 New Truck Set Up        248.96
      4/22/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 201176 New Truck Set Up        248.96
      4/22/2017    709   VJ0006   Owner Operator   Toll Charges                   33961,DelDOT,Newark Plaza                   9
      4/22/2017    709   VJ0006   Owner Operator   Toll Charges                   33961,MdTA,Kennedy Memorial Hi            48
      4/22/2017    709   VJ0006   Owner Operator   Toll Charges                   33961,MdTA,Key Br                         24
      4/22/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/22/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      4/22/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      4/22/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      4/22/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      4/22/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      4/22/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.33
      4/22/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.68
      4/22/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.76
      4/22/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.55
      4/22/2017    709   WH0087   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               11.82
      4/22/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      4/22/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                        100
      4/22/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      4/22/2017    709   WH0087   Owner Operator   Toll Charges                   Q1239,VDOT,ERT: Downtown Tunne          7.79
      4/22/2017    709   WH0087   Owner Operator   Toll Charges                   Q1239,VDOT,ERT: Downtown Tunne          7.79
      4/22/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 201050 Q1238 Lease             311.97
      4/22/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      4/22/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      4/22/2017    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      4/22/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      4/22/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      4/22/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/22/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/22/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/22/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/22/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/22/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/22/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/22/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.62
      4/22/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.04
      4/22/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          407.1
      4/22/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.28
      4/22/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.35
      4/22/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.25
      4/22/2017    742   AP0047   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes                30.3
      4/22/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35

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      4/22/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.33
      4/22/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      4/22/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      4/22/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/22/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      4/22/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    742   AS0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.01
      4/22/2017    742   AS0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.42
      4/22/2017    742   AS0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.6
      4/22/2017    742   AS0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.29
      4/22/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                       100
      4/22/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   54.68
      4/22/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/22/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/22/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/22/2017    742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                    12.5
      4/22/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      4/22/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      4/22/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.59
      4/22/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.59
      4/22/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.85
      4/22/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.63
      4/22/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.06
      4/22/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        -301.97
      4/22/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        -423.68
      4/22/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.06
      4/22/2017    742   BS0078   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               54.29
      4/22/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                       100
      4/22/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                       100
      4/22/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      4/22/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      4/22/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/22/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/22/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      4/22/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      4/22/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        -204.07
      4/22/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.17
      4/22/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.61
      4/22/2017    742   CA0089   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               14.17
      4/22/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                       100
      4/22/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      4/22/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      4/22/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.87
      4/22/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         -314.5
      4/22/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                        -249.91
      4/22/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.19
      4/22/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.13
      4/22/2017    742   CT0085   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               42.97
      4/22/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
      4/22/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                     32.99
      4/22/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.01
      4/22/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      4/22/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171 ,Carquinez Bridge                  25
      4/22/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171 ,Carquinez Bridge                  25
      4/22/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 200891 Sub Lease Q13171        352.68
      4/22/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 201051 Sub Lease Q13171         243.7
      4/22/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/22/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      4/22/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      4/22/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          374.2
      4/22/2017    742   DA0067   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes                8.49
      4/22/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                       100
      4/22/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      4/22/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/22/2017    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge                    25

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      4/22/2017    742   DA0067   Owner Operator   Toll Charges                   33847/W50357,Bay Bridge                   25
      4/22/2017    742   DA0067   Owner Operator   Toll Charges                   33847/W55197,Bay Bridge                   25
      4/22/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/22/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      4/22/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.45
      4/22/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.85
      4/22/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          411.8
      4/22/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      4/22/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/22/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/22/2017    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                    12.5
      4/22/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/22/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/22/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.44
      4/22/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.54
      4/22/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.1
      4/22/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.29
      4/22/2017    742   ED0041   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               41.13
      4/22/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
      4/22/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                      28.35
      4/22/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      4/22/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      4/22/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/22/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/22/2017    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      4/22/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      4/22/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      4/22/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.85
      4/22/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.19
      4/22/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.34
      4/22/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                        -329.98
      4/22/2017    742   EN0016   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes                  67
      4/22/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      4/22/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      4/22/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      4/22/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      4/22/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/22/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/22/2017    742   EN0016   Owner Operator   Toll Charges                   32947     ,Benicia                        25
      4/22/2017    742   EN0016   Owner Operator   Toll Charges                   32947     ,Carquinez Bridge               25
      4/22/2017    742   EN0016   Owner Operator   Toll Charges                   32947     ,Carquinez Bridge               25
      4/22/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      4/22/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      4/22/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      4/22/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      4/22/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.15
      4/22/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                        -151.28
      4/22/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.04
      4/22/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.9
      4/22/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.08
      4/22/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.29
      4/22/2017    742   EO0014   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes              183.84
      4/22/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
      4/22/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      4/22/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      4/22/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      4/22/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      4/22/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      4/22/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      4/22/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      4/22/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      4/22/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      4/22/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.01
      4/22/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.02
      4/22/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      4/22/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.15
      4/22/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      4/22/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
      4/22/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
      4/22/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.18
      4/22/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.45
      4/22/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.89
      4/22/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.04
      4/22/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.68
      4/22/2017    742   KJ0045   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               43.91
      4/22/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.86
      4/22/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
      4/22/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      4/22/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      4/22/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/22/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           74.77
      4/22/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/22/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          153.21
      4/22/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/22/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/22/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.34
      4/22/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.4
      4/22/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.43
      4/22/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.69
      4/22/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      4/22/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      4/22/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          16.88
      4/22/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      4/22/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      4/22/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      4/22/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      4/22/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/22/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      4/22/2017    742   MH0117   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-29            -33
      4/22/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                        100
      4/22/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      4/22/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/22/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      4/22/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      4/22/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      4/22/2017    742   MT0112   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-15         1275.62
      4/22/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                             250
      4/22/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
      4/22/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.08
      4/22/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           -150
      4/22/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.62
      4/22/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.8
      4/22/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.22
      4/22/2017    742   MT0112   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes                 1.2
      4/22/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
      4/22/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                        100
      4/22/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.54
      4/22/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      4/22/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00348982 - PO System            8.96
      4/22/2017    742   MT0112   Owner Operator   Toll Charges                   Q1247/WFG5428,San Mateo                   25
      4/22/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 200891 Q1247 Sub Lease         311.97
      4/22/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 201051 Q1247 Sub Lease         311.97
      4/22/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      4/22/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      4/22/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.32
      4/22/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.08
      4/22/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.24
      4/22/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          253.3

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      4/22/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.94
      4/22/2017    742   NG0024   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               43.16
      4/22/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100
      4/22/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      4/22/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      4/22/2017    742   NG0024   Owner Operator   Toll Charges                   33252     ,Carquinez Bridge               25
      4/22/2017    742   NG0024   Owner Operator   Toll Charges                   33252/70672,Carquinez Bridge              25
      4/22/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      4/22/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/22/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      4/22/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/22/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        -375.56
      4/22/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.82
      4/22/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.94
      4/22/2017    742   PC0012   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               128.1
      4/22/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      4/22/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      4/22/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      4/22/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      4/22/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      4/22/2017    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      4/22/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/22/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/22/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/22/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.77
      4/22/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.32
      4/22/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.24
      4/22/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.12
      4/22/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.75
      4/22/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.31
      4/22/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.99
      4/22/2017    742   RN0054   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes               45.72
      4/22/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
      4/22/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
      4/22/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                     32.99
      4/22/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                     32.99
      4/22/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.26
      4/22/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.25
      4/22/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      4/22/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      4/22/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 200668 Tractor Lease           353.28
      4/22/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 200867 Tractor Lease           353.28
      4/22/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 201028 Tractor Lease           353.28
      4/22/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/22/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      4/22/2017    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-15            248
      4/22/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      4/22/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      4/22/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/22/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      4/22/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/22/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                        -208.36
      4/22/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.72
      4/22/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.54
      4/22/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.51
      4/22/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.07
      4/22/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2016 - 33991                       100
      4/22/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                       100
      4/22/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/22/2017    742   TH0130   Owner Operator   Permits                        IL02:2017 - 33991                       3.75
      4/22/2017    742   TH0130   Owner Operator   Permits                        NM07:2017 - 33991                        5.5
      4/22/2017    742   TH0130   Owner Operator   Permits                        OR16:2017 - 33991                          8
      4/22/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      4/22/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/29/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      4/29/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/29/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/29/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.52

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      4/29/2017    709   AN0007   Owner Operator   IRP License Deduction       LCIL:2017 - 21157A                      100
      4/29/2017    709   AR0064   Owner Operator   Communication Charge        PNet Hware Q13147                         13
      4/29/2017    709   AR0064   Owner Operator   Fuel Purchase               Fuel Purchase                         151.87
      4/29/2017    709   AR0064   Owner Operator   Fuel Purchase               Fuel Purchase                           287
      4/29/2017    709   AR0064   Owner Operator   Fuel Purchase               Fuel Purchase                         311.74
      4/29/2017    709   AR0064   Owner Operator   Fuel Purchase               Fuel Purchase                         217.61
      4/29/2017    709   AR0064   Owner Operator   Highway Use Tax             HUTC:2017 - Q13147                     10.58
      4/29/2017    709   AR0064   Owner Operator   IRP License Deduction       LCIL:2017 - Q13147                        33
      4/29/2017    709   AR0064   Owner Operator   Tire Purchase               PO: 709-00349171 - PO System          333.64
      4/29/2017    709   AR0064   Owner Operator   Truck Payment               CTMS - 201260 Q13147 Lease            440.14
      4/29/2017    709   AV0021   Owner Operator   Communication Charge        PNet Hware Q13169                          8
      4/29/2017    709   AV0021   Owner Operator   ESCROW                      Weekly Escrow                             50
      4/29/2017    709   AV0021   Owner Operator   Fuel Card Advances          Cash Advance                            100
      4/29/2017    709   AV0021   Owner Operator   Fuel Card Advances          Cash Advance Fee                           1
      4/29/2017    709   AV0021   Owner Operator   Fuel Purchase               Fuel Purchase                          73.92
      4/29/2017    709   AV0021   Owner Operator   Fuel Purchase               Fuel Purchase                         173.05
      4/29/2017    709   AV0021   Owner Operator   Fuel Purchase               Fuel Purchase                         175.04
      4/29/2017    709   AV0021   Owner Operator   Fuel Purchase               Fuel Purchase                          73.93
      4/29/2017    709   AV0021   Owner Operator   Fuel Purchase               Fuel Purchase                         210.02
      4/29/2017    709   AV0021   Owner Operator   Highway Use Tax             HUTC:2017 - Q13169                     10.58
      4/29/2017    709   AV0021   Owner Operator   IRP License Deduction       LCIL:2017 - Q13169                     32.99
      4/29/2017    709   AV0021   Owner Operator   Loan Repayment              Crdt Exp Ck 161486 s/u loan          -1103.1
      4/29/2017    709   AV0021   Owner Operator   Loan Repayment              Loan # 00001 - Loan Repayment         277.37
      4/29/2017    709   AV0021   Owner Operator   T Chek Fee                  ExpressCheck Fee                       10.92
      4/29/2017    709   AV0021   Owner Operator   T Chek Fee                  Tractor Repair Q13169                1092.18
      4/29/2017    709   AV0021   Owner Operator   Truck Payment               CTMS - 201292 Q13169 Sublease         352.68
      4/29/2017    709   CC0134   Owner Operator   Communication Charge        PNet Hware Q13168                          8
      4/29/2017    709   CC0134   Owner Operator   ESCROW                      Weekly Escrow                             50
      4/29/2017    709   CC0134   Owner Operator   Fuel Purchase               Fuel Purchase                         375.65
      4/29/2017    709   CC0134   Owner Operator   Fuel Purchase               Fuel Purchase                         327.85
      4/29/2017    709   CC0134   Owner Operator   Highway Use Tax             HUTC:2017 - Q13168                     10.58
      4/29/2017    709   CC0134   Owner Operator   IRP License Deduction       LCIL:2017 - Q13168                     32.99
      4/29/2017    709   CC0134   Owner Operator   Tire Fee                    Tire Fee: 2012738                          8
      4/29/2017    709   CC0134   Owner Operator   Tire Purchase               PO: 709-00350399 - PO System          183.95
      4/29/2017    709   CC0134   Owner Operator   Truck Payment               CTMS - 201258 Q13168 sub lease        352.68
      4/29/2017    709   CM0119   Owner Operator   Communication Charge        PNet Hware 32920                          13
      4/29/2017    709   CM0119   Owner Operator   Driver Excellence Program   Clean Inspection Awards                  -50
      4/29/2017    709   CM0119   Owner Operator   ESCROW                      Weekly Escrow                           300
      4/29/2017    709   CM0119   Owner Operator   Fuel Card Advances          Cash Advance                            200
      4/29/2017    709   CM0119   Owner Operator   Fuel Card Advances          Cash Advance Fee                           2
      4/29/2017    709   CM0119   Owner Operator   Fuel Purchase               Fuel Purchase                         463.47
      4/29/2017    709   CM0119   Owner Operator   Fuel Purchase               Fuel Purchase                         409.33
      4/29/2017    709   CM0119   Owner Operator   IRP License Deduction       LCIL:2017 - 32920                      32.99
      4/29/2017    709   CM0119   Owner Operator   Tractor Charge              14620 - 32920                         507.91
      4/29/2017    709   CR0064   Owner Operator   Communication Charge        PNet Hware 32864                          13
      4/29/2017    709   CR0064   Owner Operator   Fuel Purchase               Fuel Purchase                         292.73
      4/29/2017    709   CR0064   Owner Operator   Fuel Purchase               Fuel Purchase                         291.91
      4/29/2017    709   CR0064   Owner Operator   Fuel Purchase               Fuel Purchase                         150.71
      4/29/2017    709   CR0064   Owner Operator   IRP License Deduction       LCIL:2017 - 32864                      32.99
      4/29/2017    709   CR0064   Owner Operator   Tractor Charge              14267 - 32864                         245.63
      4/29/2017    709   CS0091   Owner Operator   Communication Charge        PNet Hware Q1201                           8
      4/29/2017    709   CS0091   Owner Operator   Fuel Purchase               Fuel Purchase                         371.39
      4/29/2017    709   CS0091   Owner Operator   IRP License Deduction       LCIL:2017 - Q1201                       100
      4/29/2017    709   CS0091   Owner Operator   Truck Payment               CTMS - 201263 Q1201                   278.76
      4/29/2017    709   DL0107   Owner Operator   Communication Charge        PNet Hware Q1245                          13
      4/29/2017    709   DL0107   Owner Operator   Fuel Card Advances          Cash Advance                            300
      4/29/2017    709   DL0107   Owner Operator   Fuel Card Advances          Cash Advance Fee                           3
      4/29/2017    709   DL0107   Owner Operator   Fuel Purchase               Fuel Purchase                         479.74
      4/29/2017    709   DL0107   Owner Operator   Fuel Purchase               Fuel Purchase                         430.12
      4/29/2017    709   DL0107   Owner Operator   Fuel Purchase               Fuel Purchase                         158.45
      4/29/2017    709   DL0107   Owner Operator   Highway Use Tax             HUTC:2017 - Q1245                      10.58
      4/29/2017    709   DL0107   Owner Operator   IRP License Deduction       LCIL:2017 - Q1245                       100
      4/29/2017    709   DL0107   Owner Operator   Loan Repayment              Loan # 00002 - Loan Repayment          261.2
      4/29/2017    709   DL0107   Owner Operator   Truck Payment               CTMS - 201211 Sublease                338.99
      4/29/2017    709   DS0049   Owner Operator   Communication Charge        PNet Hware 32915                          13
      4/29/2017    709   DS0049   Owner Operator   Fuel Card Advances          Cash Advance                            500
      4/29/2017    709   DS0049   Owner Operator   Fuel Card Advances          Cash Advance Fee                           5
      4/29/2017    709   DS0049   Owner Operator   Fuel Purchase               Fuel Purchase                         256.49
      4/29/2017    709   DS0049   Owner Operator   Fuel Purchase               Fuel Purchase                         454.67
      4/29/2017    709   DS0049   Owner Operator   IRP License Deduction       LCIL:2017 - 32915                      32.99
      4/29/2017    709   DS0049   Owner Operator   Tractor Charge              15738 - 32915                         512.35
      4/29/2017    709   DS0049   Owner Operator   US Legal Services           U.S. Legal Services                    32.95
      4/29/2017    709   DS0225   Owner Operator   Fuel Purchase               Fuel Purchase                         442.22

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      4/29/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                       100
      4/29/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      4/29/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.48
      4/29/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.69
      4/29/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      4/29/2017    709   DW0138   Owner Operator   Tire Fee                       Tire Fee: 2012407                          8
      4/29/2017    709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00350671 - PO System           177.1
      4/29/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      4/29/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      4/29/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/29/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/29/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/29/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/29/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/29/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/29/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/29/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.33
      4/29/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.33
      4/29/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.99
      4/29/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.82
      4/29/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      4/29/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      4/29/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      4/29/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/29/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/29/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/29/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/29/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.34
      4/29/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.21
      4/29/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.32
      4/29/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      4/29/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      4/29/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      4/29/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/29/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.43
      4/29/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.12
      4/29/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
      4/29/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 4/27 #17105                    350.36
      4/29/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      4/29/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          43.12
      4/29/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.56
      4/29/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.05
      4/29/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      4/29/2017    709   EI0003   Owner Operator   FUEL TAX                       February 2017 Fuel Taxes              201.97
      4/29/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/29/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      4/29/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      4/29/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      4/29/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.2
      4/29/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.7
      4/29/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          140.4
      4/29/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           170
      4/29/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                       100
      4/29/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 201297 truck lease 3304        434.29
      4/29/2017    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL              -35
      4/29/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.07
      4/29/2017    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD           -118.07
      4/29/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      4/29/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/29/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/29/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.43
      4/29/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.13
      4/29/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                      100
      4/29/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      4/29/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.54
      4/29/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.14
      4/29/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                       100
      4/29/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 201261 Lease                   252.11
      4/29/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      4/29/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/29/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.25
      4/29/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.03
      4/29/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.13

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      4/29/2017    709   HC0023   Owner Operator   Fuel Purchase               Fuel Purchase                       303.47
      4/29/2017    709   HC0023   Owner Operator   Highway Use Tax             HUTC:2017 - Q13170                   10.58
      4/29/2017    709   HC0023   Owner Operator   IRP License Deduction       LCIL:2017 - Q13170                   32.99
      4/29/2017    709   HC0023   Owner Operator   Truck Payment               CTMS - 201260 Q13170                352.68
      4/29/2017    709   HG0007   Owner Operator   Communication Charge        PNet Hware 33180                        13
      4/29/2017    709   HG0007   Owner Operator   ESCROW                      Weekly Escrow                           50
      4/29/2017    709   HG0007   Owner Operator   Fuel Card Advances          Cash Advance                          200
      4/29/2017    709   HG0007   Owner Operator   Fuel Card Advances          Cash Advance Fee                         2
      4/29/2017    709   HG0007   Owner Operator   Fuel Purchase               Fuel Purchase                       412.29
      4/29/2017    709   HG0007   Owner Operator   IRP License Deduction       LCIL:2017 - 33180                     100
      4/29/2017    709   HG0027   Owner Operator   Communication Charge        PNet Hware 33418                        13
      4/29/2017    709   HG0027   Owner Operator   ESCROW                      Weekly Escrow                         100
      4/29/2017    709   HG0027   Owner Operator   Fuel Purchase               Fuel Purchase                       468.75
      4/29/2017    709   HG0027   Owner Operator   Fuel Purchase               Fuel Purchase                        226.1
      4/29/2017    709   HG0027   Owner Operator   Fuel Purchase               Fuel Purchase                        370.7
      4/29/2017    709   HG0027   Owner Operator   IRP License Deduction       LCIL:2017 - 33418                     100
      4/29/2017    709   IR0002   Owner Operator   Driver Excellence Program   Clean Inspection Awards                -50
      4/29/2017    709   IR0002   Owner Operator   Driver Excellence Program   Clean Inspection Awards                -50
      4/29/2017    709   IR0002   Owner Operator   Fuel Card Advances          Cash Advance                         28.99
      4/29/2017    709   IR0002   Owner Operator   Fuel Card Advances          Cash Advance Fee                      0.29
      4/29/2017    709   IR0002   Owner Operator   Fuel Purchase               Fuel Purchase                       351.06
      4/29/2017    709   IR0002   Owner Operator   IRP License Deduction       LCIL:2017 - 32901                    32.99
      4/29/2017    709   IR0002   Owner Operator   Tractor Charge              14461 - 32901                       521.95
      4/29/2017    709   JC0292   Owner Operator   Communication Charge        PNet Hware q1210                        13
      4/29/2017    709   JC0292   Owner Operator   Deferred Negative Pay       ** Net Rebill held from 4-22         75.02
      4/29/2017    709   JC0292   Owner Operator   ESCROW                      Weekly Escrow                         400
      4/29/2017    709   JC0292   Owner Operator   Fuel Purchase               Fuel Purchase                       415.29
      4/29/2017    709   JC0292   Owner Operator   IRP License Deduction       LCIL:2017 - Q1210                    32.99
      4/29/2017    709   JC0292   Owner Operator   Tractor Charge              51362 - Q1210                       458.72
      4/29/2017    709   JG0017   Owner Operator   Communication Charge        PNet Hware 32908                        13
      4/29/2017    709   JG0017   Owner Operator   ESCROW                      Weekly Escrow                         500
      4/29/2017    709   JG0017   Owner Operator   Fuel Card Advances          Cash Advance                          300
      4/29/2017    709   JG0017   Owner Operator   Fuel Card Advances          Cash Advance Fee                         3
      4/29/2017    709   JG0017   Owner Operator   Fuel Purchase               Fuel Purchase                       372.03
      4/29/2017    709   JG0017   Owner Operator   Fuel Purchase               Fuel Purchase                       381.94
      4/29/2017    709   JG0017   Owner Operator   Fuel Purchase               Fuel Purchase                       149.95
      4/29/2017    709   JG0017   Owner Operator   Fuel Purchase               Fuel Purchase                       370.22
      4/29/2017    709   JG0017   Owner Operator   IRP License Deduction       LCIL:2017 - 32908                    32.99
      4/29/2017    709   JG0017   Owner Operator   Tractor Charge              14298 - 32908                        504.6
      4/29/2017    709   JG0017   Owner Operator   US Legal Services           U.S. Legal Services                  32.95
      4/29/2017    709   JG0072   Owner Operator   Communication Charge        PNet Hware 32909                        13
      4/29/2017    709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance                          300
      4/29/2017    709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance                          200
      4/29/2017    709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance Fee                         2
      4/29/2017    709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance Fee                         3
      4/29/2017    709   JG0072   Owner Operator   Fuel Purchase               Fuel Purchase                       441.71
      4/29/2017    709   JG0072   Owner Operator   Fuel Purchase               Fuel Purchase                       478.67
      4/29/2017    709   JG0072   Owner Operator   Fuel Purchase               Fuel Purchase                       435.46
      4/29/2017    709   JG0072   Owner Operator   IRP License Deduction       LCIL:2017 - 32909                    32.99
      4/29/2017    709   JG0072   Owner Operator   Tractor Charge              14534 - 32909                       513.26
      4/29/2017    709   JQ0015   Owner Operator   Communication Charge        PNet Hware 33438                        13
      4/29/2017    709   JQ0015   Owner Operator   Fuel Purchase               Fuel Purchase                       264.22
      4/29/2017    709   JQ0015   Owner Operator   Fuel Purchase               Fuel Purchase                       136.23
      4/29/2017    709   JQ0015   Owner Operator   IRP License Deduction       LCIL:2017 - 33438                     100
      4/29/2017    709   JR0099   Owner Operator   Communication Charge        PNet Hware Q1203                        13
      4/29/2017    709   JR0099   Owner Operator   Fuel Purchase               Fuel Purchase                       289.56
      4/29/2017    709   JR0099   Owner Operator   IRP License Deduction       LCIL:2017 - Q1203                     100
      4/29/2017    709   JR0099   Owner Operator   Truck Payment               CTMS - 201226 Truck Lease           278.76
      4/29/2017    709   JS0265   Owner Operator   Communication Charge        PNet Hware 33325                        13
      4/29/2017    709   JS0265   Owner Operator   ESCROW                      Weekly Escrow                         100
      4/29/2017    709   JS0265   Owner Operator   Fuel Card Advances          Cash Advance                          200
      4/29/2017    709   JS0265   Owner Operator   Fuel Card Advances          Cash Advance Fee                         2
      4/29/2017    709   JS0265   Owner Operator   Fuel Purchase               Fuel Purchase                       416.86
      4/29/2017    709   JS0265   Owner Operator   IRP License Deduction       LCIL:2017 - 33325                     100
      4/29/2017    709   KP0004   Owner Operator   Communication Charge        PNet Hware 32914                        13
      4/29/2017    709   KP0004   Owner Operator   ESCROW                      Weekly Escrow                         250
      4/29/2017    709   KP0004   Owner Operator   Fuel Card Advances          Cash Advance                          100
      4/29/2017    709   KP0004   Owner Operator   Fuel Card Advances          Cash Advance Fee                         1
      4/29/2017    709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                       216.59
      4/29/2017    709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                         153
      4/29/2017    709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                         245
      4/29/2017    709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                       239.99
      4/29/2017    709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                         317

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      4/29/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                     32.99
      4/29/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      4/29/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      4/29/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
      4/29/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 201341 Lease Q1111            252.11
      4/29/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      4/29/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.8
      4/29/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                       100
      4/29/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/29/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        231.65
      4/29/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      4/29/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.91
      4/29/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
      4/29/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/29/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        362.89
      4/29/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        289.39
      4/29/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        305.13
      4/29/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                       100
      4/29/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 201259 Q1113 Lease            252.11
      4/29/2017    709   MG0067   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
      4/29/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.7
      4/29/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.04
      4/29/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.01
      4/29/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                       100
      4/29/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      4/29/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/29/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/29/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.95
      4/29/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        326.15
      4/29/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        262.65
      4/29/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         262.3
      4/29/2017    709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00349172 - PO System          548.5
      4/29/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      4/29/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      4/29/2017    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                     -1000
      4/29/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      4/29/2017    709   MP0035   Owner Operator   Express Check                  T-Check Payment                        1000
      4/29/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             80
      4/29/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.8
      4/29/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        417.35
      4/29/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                     32.99
      4/29/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      4/29/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      4/29/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      4/29/2017    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                    -63.62
      4/29/2017    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -750
      4/29/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      4/29/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      4/29/2017    709   NB0029   Owner Operator   Express Check                  T-Check Payment                         750
      4/29/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/29/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      4/29/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        160.92
      4/29/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.16
      4/29/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        382.37
      4/29/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        208.35
      4/29/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                       100
      4/29/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          3.38
      4/29/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.15
      4/29/2017    709   NB0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                       0.63
      4/29/2017    709   NB0029   Owner Operator   T Chek Fee                     Tractor Repair Q1108                  62.99
      4/29/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 201138 Lease                  215.66
      4/29/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 201340 Lease                  215.66
      4/29/2017    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      4/29/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      4/29/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/29/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             60
      4/29/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.6
      4/29/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/29/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.37
      4/29/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           110
      4/29/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        106.83
      4/29/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.44
      4/29/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                      100

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      4/29/2017    709   NG0005   Owner Operator   Loan Repayment              Loan # 00007 - Loan Repayment         273.84
      4/29/2017    709   NT9564   Owner Operator   Advance                     Acc Clm 63764 s/u pmts                  100
      4/29/2017    709   NT9564   Owner Operator   Communication Charge        PNet Hware 73130                          13
      4/29/2017    709   NT9564   Owner Operator   Highway Use Tax             HUTC:2017 - 73130                      10.58
      4/29/2017    709   NT9564   Owner Operator   IRP License Deduction       LCIL:2017 - 73130                      32.99
      4/29/2017    709   NT9564   Owner Operator   Truck Payment               CTMS - 201259 Truck 73130 Leas        196.65
      4/29/2017    709   RC0030   Owner Operator   Driver Excellence Program   Clean Inspection Awards                  -50
      4/29/2017    709   RC0030   Owner Operator   Truck Payment               CTMS - 201226 Down Payment lo         303.55
      4/29/2017    709   RC0089   Owner Operator   Fuel Card Advances          Cash Advance                            500
      4/29/2017    709   RC0089   Owner Operator   Fuel Card Advances          Cash Advance Fee                           5
      4/29/2017    709   RC0089   Owner Operator   Fuel Purchase               Fuel Purchase                         345.73
      4/29/2017    709   RC0089   Owner Operator   Fuel Purchase               Fuel Purchase                          210.6
      4/29/2017    709   RC0089   Owner Operator   IRP License Deduction       LCIL:2017 - 32986                      32.99
      4/29/2017    709   RC0089   Owner Operator   Tractor Charge              14592 - 32986                         504.72
      4/29/2017    709   RL0017   Owner Operator   ESCROW                      Weekly Escrow                           100
      4/29/2017    709   RL0017   Owner Operator   Fuel Purchase               Fuel Purchase                         444.31
      4/29/2017    709   RL0017   Owner Operator   IRP License Deduction       LCIL:2017 - 21975A                      100
      4/29/2017    709   RL0017   Owner Operator   IRP License Deduction       LCIL:2017 - 33065                      32.99
      4/29/2017    709   RL0017   Owner Operator   Tractor Charge              35015 - 33065                         529.05
      4/29/2017    709   RL0062   Owner Operator   Communication Charge        PNet Hware 32912                          13
      4/29/2017    709   RL0062   Owner Operator   Fuel Card Advances          Cash Advance                            100
      4/29/2017    709   RL0062   Owner Operator   Fuel Card Advances          Cash Advance                            100
      4/29/2017    709   RL0062   Owner Operator   Fuel Card Advances          Cash Advance Fee                           1
      4/29/2017    709   RL0062   Owner Operator   Fuel Card Advances          Cash Advance Fee                           1
      4/29/2017    709   RL0062   Owner Operator   Fuel Purchase               Fuel Purchase                         303.13
      4/29/2017    709   RL0062   Owner Operator   Fuel Purchase               Fuel Purchase                         402.95
      4/29/2017    709   RL0062   Owner Operator   Fuel Purchase               Fuel Purchase                         385.62
      4/29/2017    709   RL0062   Owner Operator   IRP License Deduction       LCIL:2017 - 32912                      32.99
      4/29/2017    709   RL0062   Owner Operator   Tractor Charge              14460 - 32912                         512.16
      4/29/2017    709   RL0180   Owner Operator   BOBTAIL INS.                2009 Freightliner NTL                   8.75
      4/29/2017    709   RL0180   Owner Operator   BOBTAIL INS.                2009 Freightliner NTL                   8.75
      4/29/2017    709   RL0180   Owner Operator   BOBTAIL INS.                2009 Freightliner NTL                   8.75
      4/29/2017    709   RL0180   Owner Operator   BOBTAIL INS.                2009 Freightliner NTL                   8.75
      4/29/2017    709   RL0180   Owner Operator   BOBTAIL INS.                2009 Freightliner NTL                   8.75
      4/29/2017    709   RL0180   Owner Operator   BOBTAIL INS.                2009 Freightliner NTL                   8.75
      4/29/2017    709   RL0180   Owner Operator   BOBTAIL INS.                2009 Freightliner NTL                   8.75
      4/29/2017    709   RL0180   Owner Operator   BOBTAIL INS.                2009 Freightliner NTL                   8.75
      4/29/2017    709   RL0180   Owner Operator   ESCROW                      Weekly Escrow                             50
      4/29/2017    709   RL0180   Owner Operator   ESCROW                      Weekly Escrow                             50
      4/29/2017    709   RL0180   Owner Operator   Fuel Purchase               Fuel Purchase                         460.26
      4/29/2017    709   RL0180   Owner Operator   Fuel Purchase               Fuel Purchase                         165.59
      4/29/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE             2009 Freightliner PD                    37.5
      4/29/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE             2009 Freightliner PD                    37.5
      4/29/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE             2009 Freightliner PD                    37.5
      4/29/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE             2009 Freightliner PD                    37.5
      4/29/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE             2009 Freightliner PD                    37.5
      4/29/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE             2009 Freightliner PD                    37.5
      4/29/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE             2009 Freightliner PD                    37.5
      4/29/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE             2009 Freightliner PD                    37.5
      4/29/2017    709   RM0026   Owner Operator   Communication Charge        PNet Hware 33664                          13
      4/29/2017    709   RM0026   Owner Operator   Fuel Purchase               Fuel Purchase                         359.84
      4/29/2017    709   RM0026   Owner Operator   Fuel Purchase               Fuel Purchase                         396.15
      4/29/2017    709   RM0026   Owner Operator   IRP License Deduction       LCIL:2017 - 33664                       100
      4/29/2017    709   RM0026   Owner Operator   T Chek Fee                  ExpressCheck Fee                        3.12
      4/29/2017    709   RM0026   Owner Operator   T Chek Fee                  Tractor Repair 33664                  311.59
      4/29/2017    709   RM0026   Owner Operator   US Legal Services           U.S. Legal Services                    32.95
      4/29/2017    709   RP0082   Owner Operator   Communication Charge        PNet Hware Q1202                          13
      4/29/2017    709   RP0082   Owner Operator   Driver Excellence Program   Clean Inspection Awards                  -50
      4/29/2017    709   RP0082   Owner Operator   Fuel Purchase               Fuel Purchase                         214.44
      4/29/2017    709   RP0082   Owner Operator   Fuel Purchase               Fuel Purchase                         370.92
      4/29/2017    709   RP0082   Owner Operator   IRP License Deduction       LCIL:2017 - Q1202                       100
      4/29/2017    709   RP0082   Owner Operator   Truck Payment               CTMS - 201227 Q1202 Truck Leas        278.76
      4/29/2017    709   RR0123   Owner Operator   Communication Charge        PNet Hware Q1248                           8
      4/29/2017    709   RR0123   Owner Operator   Driver Excellence Program   Clean Inspection Awards                  -50
      4/29/2017    709   RR0123   Owner Operator   Fuel Purchase               Fuel Purchase                         197.27
      4/29/2017    709   RR0123   Owner Operator   Fuel Purchase               Fuel Purchase                         359.28
      4/29/2017    709   RR0123   Owner Operator   Fuel Purchase               Fuel Purchase                         387.43
      4/29/2017    709   RR0123   Owner Operator   Fuel Purchase               Fuel Purchase                         417.32
      4/29/2017    709   RR0123   Owner Operator   Highway Use Tax             HUTC:2017 - Q1248                      10.58
      4/29/2017    709   RR0123   Owner Operator   IRP License Deduction       LCIL:2017 - Q1248                       100
      4/29/2017    709   RR0123   Owner Operator   Truck Payment               CTMS - 201263 Q1248                   311.97
      4/29/2017    709   SB0009   Owner Operator   Communication Charge        PNet Hware 33236                          13
      4/29/2017    709   SB0009   Owner Operator   Driver Excellence Program   Clean Inspection Awards                  -50

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      4/29/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/29/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/29/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/29/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.23
      4/29/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.45
      4/29/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.14
      4/29/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.41
      4/29/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      4/29/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      4/29/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      4/29/2017    709   SN0019   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
      4/29/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      4/29/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.43
      4/29/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.94
      4/29/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                       100
      4/29/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      4/29/2017    709   VJ0006   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
      4/29/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/29/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/29/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
      4/29/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      4/29/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/29/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.86
      4/29/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.33
      4/29/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.89
      4/29/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.94
      4/29/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                       100
      4/29/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 201374 New Truck Set Up        248.96
      4/29/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      4/29/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      4/29/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.24
      4/29/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.21
      4/29/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.63
      4/29/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.01
      4/29/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      4/29/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                       100
      4/29/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 201258 Q1238 Lease             311.97
      4/29/2017    742   AS0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    -35
      4/29/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      4/29/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/29/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                       100
      4/29/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/29/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 -218.75
      4/29/2017    742   AS0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           -10
      4/29/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      4/29/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.98
      4/29/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           445
      4/29/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                       100
      4/29/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      4/29/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/29/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.54
      4/29/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.97
      4/29/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.35
      4/29/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                       100
      4/29/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      4/29/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      4/29/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/29/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/29/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.54
      4/29/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.8
      4/29/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.52
      4/29/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.51
      4/29/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
      4/29/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                     32.99
      4/29/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 201051 Sub Lease Q13171        108.98
      4/29/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 201259 Sub Lease Q13171        352.68
      4/29/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      4/29/2017    742   DA0067   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
      4/29/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/29/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          459.4
      4/29/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.25
      4/29/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             19
      4/29/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.01

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      4/29/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       197.56
      4/29/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       281.73
      4/29/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       397.58
      4/29/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                     100
      4/29/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                         8
      4/29/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/29/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       444.14
      4/29/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.61
      4/29/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                        13
      4/29/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.55
      4/29/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.01
      4/29/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       304.68
      4/29/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       159.19
      4/29/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                        383.8
      4/29/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.21
      4/29/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                     100
      4/29/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                        13
      4/29/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/29/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/29/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.18
      4/29/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.45
      4/29/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       442.92
      4/29/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       155.07
      4/29/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                       319.99
      4/29/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                    32.99
      4/29/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                        419.4
      4/29/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                        13
      4/29/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/29/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.99
      4/29/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.24
      4/29/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                       181.29
      4/29/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                     100
      4/29/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                       13
      4/29/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                        13
      4/29/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/29/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.04
      4/29/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.17
      4/29/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                        13
      4/29/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       244.63
      4/29/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       289.29
      4/29/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.33
      4/29/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.75
      4/29/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                 8.75
      4/29/2017    742   LL0134   Owner Operator   Driver Excellence Program      Clean Inspection Awards                -50
      4/29/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/29/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/29/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          200
      4/29/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/29/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/29/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      4/29/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       352.33
      4/29/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       253.12
      4/29/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       333.34
      4/29/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                    32.99
      4/29/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      4/29/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                117.45
      4/29/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                       554.49
      4/29/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        54.75
      4/29/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                        13
      4/29/2017    742   MH0117   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-22            33
      4/29/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                     100
      4/29/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                  20.17
      4/29/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                         8
      4/29/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                           50
      4/29/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                          300
      4/29/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      4/29/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       165.19
      4/29/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.93
      4/29/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.8
      4/29/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       307.42
      4/29/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                       249.61
      4/29/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                    10.58
      4/29/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                     100

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      4/29/2017    742   MT0112   Owner Operator   Tire Fee                       Tire Fee: 2012825                          4
      4/29/2017    742   MT0112   Owner Operator   Tire Fee                       Tire Fee: 2012833                          4
      4/29/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00350500 - PO System           90.63
      4/29/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00350525 - PO System           90.63
      4/29/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 201259 Q1247 Sub Lease         311.97
      4/29/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      4/29/2017    742   NG0024   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
      4/29/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/29/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/29/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.98
      4/29/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.21
      4/29/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.35
      4/29/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100
      4/29/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/29/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/29/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.84
      4/29/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.22
      4/29/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.09
      4/29/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.47
      4/29/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/29/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.06
      4/29/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.48
      4/29/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.92
      4/29/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.83
      4/29/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.17
      4/29/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
      4/29/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                     32.99
      4/29/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 201226 Tractor Lease           353.28
      4/29/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      4/29/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/29/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      4/29/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/29/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.65
      4/29/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.24
      4/29/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2016 - 33991                       100
      4/29/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                       100
      4/29/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:33211,ILTOLL,Route 80 (East          -3.6
      4/29/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:33211,ITRCC,Valparaiso              -2.76
      4/29/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:33211,OTC,Eastgate                    -11
      4/29/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:33211,PTC,Gateway Barrier          -19.53
      4/29/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:33211,PTC,Norristown               -61.86
      4/29/2017    844   JK0112   Owner Operator   Repair Order                   Reseat charge lease 52901             671.15
      4/29/2017    844   JK0112   Owner Operator   Toll Charges                   33211,ILTOLL,Route 80 (East)             3.6
      4/29/2017    844   JK0112   Owner Operator   Toll Charges                   33211,ITRCC,Valparaiso                  2.76
      4/29/2017    844   JK0112   Owner Operator   Toll Charges                   33211,OTC,Eastgate                        11
      4/29/2017    844   JK0112   Owner Operator   Toll Charges                   33211,PTC,Gateway Barrier              19.53
      4/29/2017    844   JK0112   Owner Operator   Toll Charges                   33211,PTC,Norristown                   61.86
       5/6/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       5/6/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       5/6/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            125
       5/6/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.25
       5/6/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          175.5
       5/6/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                      100
       5/6/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       5/6/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       5/6/2017    709   AN0007   Owner Operator   Toll Charges                   21157A,CATALINA VIEW NORTH             21.44
       5/6/2017    709   AN0007   Owner Operator   Toll Charges                   21157A,CATALINA VIEW NORTH             21.44
       5/6/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       5/6/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       5/6/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          335.5
       5/6/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.37
       5/6/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          177.8
       5/6/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.13
       5/6/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.46
       5/6/2017    709   AR0064   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             205.28
       5/6/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
       5/6/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                        33
       5/6/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
       5/6/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 201456 Q13147 Lease            440.14
       5/6/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
       5/6/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75

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       5/6/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       5/6/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.53
       5/6/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.13
       5/6/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.98
       5/6/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.27
       5/6/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.78
       5/6/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.15
       5/6/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.33
       5/6/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.05
       5/6/2017    709   AV0021   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             225.54
       5/6/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
       5/6/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                     32.99
       5/6/2017    709   AV0021   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         277.37
       5/6/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
       5/6/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 201480 Q13169 Sublease         352.68
       5/6/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       5/6/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       5/6/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.69
       5/6/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.48
       5/6/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        -333.85
       5/6/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          286.2
       5/6/2017    709   CC0134   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              23.78
       5/6/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
       5/6/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                     32.99
       5/6/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
       5/6/2017    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00350399 - PO System          183.95
       5/6/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 201455 Q13168 sub lease        352.68
       5/6/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/6/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       5/6/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
       5/6/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/6/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.19
       5/6/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
       5/6/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       5/6/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/6/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       5/6/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       5/6/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       5/6/2017    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            300
       5/6/2017    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       5/6/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.66
       5/6/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           179
       5/6/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.23
       5/6/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.87
       5/6/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.31
       5/6/2017    709   CR0064   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              15.96
       5/6/2017    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2017 - 32864                      32.99
       5/6/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       5/6/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       5/6/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       5/6/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       5/6/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.01
       5/6/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.59
       5/6/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                       100
       5/6/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       5/6/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 201459 Q1201                   278.76
       5/6/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/6/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       5/6/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       5/6/2017    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-22           130.2
       5/6/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.52
       5/6/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         -195.1
       5/6/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.11

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       5/6/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.87
       5/6/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.79
       5/6/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.94
       5/6/2017    709   DL0029   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             438.01
       5/6/2017    709   DL0029   Owner Operator   Loan Repayment                 Crdt Exp Ck 161955 s/u loan          -971.12
       5/6/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         263.36
       5/6/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         244.18
       5/6/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       5/6/2017    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        9.62
       5/6/2017    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                   961.5
       5/6/2017    709   DL0029   Owner Operator   Tire Fee                       Tire Fee: 2013197                          4
       5/6/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00350623 - PO System           74.55
       5/6/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00350623 - PO System           74.55
       5/6/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       5/6/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       5/6/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       5/6/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       5/6/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.85
       5/6/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.25
       5/6/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.82
       5/6/2017    709   DL0107   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement               99.9
       5/6/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
       5/6/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                       100
       5/6/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
       5/6/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       5/6/2017    709   DL0107   Owner Operator   Toll Charges                   Q1245,TxTag,Ship Channel Bridg           3.5
       5/6/2017    709   DL0107   Owner Operator   Toll Charges                   Q1245,TxTag,Ship Channel Bridg           3.5
       5/6/2017    709   DL0107   Owner Operator   Toll Charges                   Q1245,TxTag,Ship Channel Bridg             7
       5/6/2017    709   DL0107   Owner Operator   Toll Charges                   Q1245,TxTag,Ship Channel Bridg             7
       5/6/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 201416 Sublease                338.99
       5/6/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       5/6/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/6/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       5/6/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       5/6/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       5/6/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.65
       5/6/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.78
       5/6/2017    709   DS0049   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement               7.01
       5/6/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
       5/6/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       5/6/2017    709   DS0049   Owner Operator   Toll Charges                   TL9210/32915,San Mateo                    25
       5/6/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       5/6/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       5/6/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.78
       5/6/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.63
       5/6/2017    709   DS0225   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             -25.18
       5/6/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                       100
       5/6/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       5/6/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
       5/6/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
       5/6/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.28
       5/6/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.24
       5/6/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        -286.62
       5/6/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       5/6/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.66
       5/6/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.63
       5/6/2017    709   DW0138   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             239.49
       5/6/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
       5/6/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
       5/6/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
       5/6/2017    709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00350671 - PO System           177.1
       5/6/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
       5/6/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/6/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       5/6/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
       5/6/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/6/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/6/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/6/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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       5/6/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.68
       5/6/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.21
       5/6/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.71
       5/6/2017    709   EA0003   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             122.02
       5/6/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
       5/6/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       5/6/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       5/6/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/6/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
       5/6/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            160
       5/6/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/6/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
       5/6/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.48
       5/6/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.95
       5/6/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.23
       5/6/2017    709   EE0011   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              74.01
       5/6/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
       5/6/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
       5/6/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
       5/6/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       5/6/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       5/6/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.85
       5/6/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.22
       5/6/2017    709   EG0062   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              35.62
       5/6/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
       5/6/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       5/6/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       5/6/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 5/4 #17105                     350.36
       5/6/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       5/6/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       5/6/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       5/6/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       5/6/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.93
       5/6/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.08
       5/6/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.74
       5/6/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.57
       5/6/2017    709   EI0003   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              149.3
       5/6/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       5/6/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       5/6/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       5/6/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       5/6/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.51
       5/6/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.29
       5/6/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.12
       5/6/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.56
       5/6/2017    709   FS0039   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement                3.8
       5/6/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                       100
       5/6/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       5/6/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 201486 truck lease 3304        434.29
       5/6/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                              10
       5/6/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.1
       5/6/2017    709   FT0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          45.58
       5/6/2017    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2017 - 73129                      14.82
       5/6/2017    709   FT0004   Owner Operator   Permits1                       ID06:2017 - 73129                        -11
       5/6/2017    709   FT0004   Owner Operator   Permits1                       IL02:2017 - 73129                      -3.75
       5/6/2017    709   FT0004   Owner Operator   Permits1                       NM07:2017 - 73129                       -5.5
       5/6/2017    709   FT0004   Owner Operator   Permits1                       NY13:2016 - 73129                        -19
       5/6/2017    709   FT0004   Owner Operator   Permits1                       OR16:2017 - 73129                         -8
       5/6/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/6/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       5/6/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200

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       5/6/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.29
       5/6/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.08
       5/6/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.46
       5/6/2017    709   FV0001   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              11.67
       5/6/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                       100
       5/6/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       5/6/2017    709   FV0001   Owner Operator   Toll Charges                   21521B,Richmond                           25
       5/6/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       5/6/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       5/6/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.98
       5/6/2017    709   GS0015   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              86.21
       5/6/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                        100
       5/6/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       5/6/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 201458 Lease                   252.11
       5/6/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       5/6/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       5/6/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.56
       5/6/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.38
       5/6/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                     10.58
       5/6/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                     32.99
       5/6/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            68.36
       5/6/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 201456 Q13170                  352.68
       5/6/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       5/6/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       5/6/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             200
       5/6/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             100
       5/6/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/6/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.44
       5/6/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.7
       5/6/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.56
       5/6/2017    709   HG0007   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              69.29
       5/6/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                        100
       5/6/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       5/6/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       5/6/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       5/6/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
       5/6/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             100
       5/6/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/6/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.22
       5/6/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.4
       5/6/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.04
       5/6/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.52
       5/6/2017    709   HG0027   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              47.36
       5/6/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                        100
       5/6/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       5/6/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       5/6/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/6/2017    709   IR0002   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              81.63
       5/6/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
       5/6/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       5/6/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/6/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       5/6/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       5/6/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
       5/6/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
       5/6/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
       5/6/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
       5/6/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
       5/6/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            -100
       5/6/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          -1
       5/6/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.9
       5/6/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        -426.05

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       5/6/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.51
       5/6/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          381.58
       5/6/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.08
       5/6/2017    709   JC0292   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              120.92
       5/6/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                       32.99
       5/6/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
       5/6/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                     78.13
       5/6/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210,TxTag,Ship Channel Bridg               7
       5/6/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                          458.72
       5/6/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                     8.75
       5/6/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                            13
       5/6/2017    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                       -1500
       5/6/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                             500
       5/6/2017    709   JG0017   Owner Operator   Express Check                  T-Check Payment                          1500
       5/6/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                              300
       5/6/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                             3
       5/6/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           441.2
       5/6/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          223.49
       5/6/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                       32.99
       5/6/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
       5/6/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    90.86
       5/6/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                           504.6
       5/6/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                     8.75
       5/6/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                            13
       5/6/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                              200
       5/6/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                              300
       5/6/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                             2
       5/6/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                             3
       5/6/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          446.01
       5/6/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          405.01
       5/6/2017    709   JG0072   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              155.59
       5/6/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                       32.99
       5/6/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
       5/6/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    74.22
       5/6/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                          513.26
       5/6/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                     8.75
       5/6/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                            13
       5/6/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                              100
       5/6/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                             1
       5/6/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.12
       5/6/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.12
       5/6/2017    709   JQ0015   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement                -5.76
       5/6/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                         100
       5/6/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
       5/6/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                    19.54
       5/6/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL               8.75
       5/6/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                            13
       5/6/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.23
       5/6/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.62
       5/6/2017    709   JR0099   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement               97.14
       5/6/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                         100
       5/6/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
       5/6/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD                58.6
       5/6/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 201431 Truck Lease              278.76
       5/6/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                      8.75
       5/6/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                         8.75
       5/6/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                            13
       5/6/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                             100
       5/6/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                              100
       5/6/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                             1
       5/6/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          139.97
       5/6/2017    709   JS0265   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement               111.5
       5/6/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                         100
       5/6/2017    709   JS0265   Owner Operator   Miscellaneous                  * Void Check 963388                  -4095.46
       5/6/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
       5/6/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                     15.94
       5/6/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                          37.5
       5/6/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                     8.75
       5/6/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                            13
       5/6/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                             250
       5/6/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              200
       5/6/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              150
       5/6/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1.5

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       5/6/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           288
       5/6/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.01
       5/6/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.04
       5/6/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.44
       5/6/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.46
       5/6/2017    709   KP0004   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             322.66
       5/6/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
       5/6/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       5/6/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/6/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       5/6/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       5/6/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       5/6/2017    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-13        -181.38
       5/6/2017    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-13        -270.83
       5/6/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
       5/6/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       5/6/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 201520 Lease Q1111             252.11
       5/6/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       5/6/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       5/6/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.01
       5/6/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                       100
       5/6/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       5/6/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       5/6/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       5/6/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       5/6/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.89
       5/6/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.32
       5/6/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       5/6/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       5/6/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
       5/6/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
       5/6/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       5/6/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       5/6/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.06
       5/6/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.27
       5/6/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.26
       5/6/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.52
       5/6/2017    709   ME0053   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement                 37
       5/6/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                       100
       5/6/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       5/6/2017    709   ME0053   Owner Operator   Toll Charges                   Q1113     ,TxTag,Ship Channe               7
       5/6/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 201455 Q1113 Lease             252.11
       5/6/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       5/6/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.18
       5/6/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.75
       5/6/2017    709   MG0067   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement               9.89
       5/6/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                       100
       5/6/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       5/6/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       5/6/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       5/6/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
       5/6/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/6/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/6/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/6/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/6/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.95
       5/6/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.68
       5/6/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.87
       5/6/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          262.3
       5/6/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
       5/6/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
       5/6/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       5/6/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       5/6/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000

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       5/6/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              50
       5/6/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              50
       5/6/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       5/6/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       5/6/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.93
       5/6/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.29
       5/6/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
       5/6/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       5/6/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       5/6/2017    709   MP0035   Owner Operator   Repair Order                   CTMS - 201532 Fuel                   -363.93
       5/6/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       5/6/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       5/6/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       5/6/2017    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-13        -2844.1
       5/6/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
       5/6/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.09
       5/6/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          307.5
       5/6/2017    709   NB0029   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              69.88
       5/6/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                       100
       5/6/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       5/6/2017    709   NB0029   Owner Operator   Toll Charges                   Q1108,Carquinez Bridge                    25
       5/6/2017    709   NB0029   Owner Operator   Toll Charges                   Q1108,Carquinez Bridge                    25
       5/6/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 201518 Lease                   215.66
       5/6/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       5/6/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       5/6/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/6/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           194
       5/6/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           280
       5/6/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                      100
       5/6/2017    709   NG0005   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment         273.84
       5/6/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       5/6/2017    709   NT9564   Owner Operator   Advance                        Acc Clm 63764 s/u pmts                  100
       5/6/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       5/6/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       5/6/2017    709   NT9564   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             106.01
       5/6/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
       5/6/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                      32.99
       5/6/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       5/6/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 201455 Truck 73130 Leas        196.65
       5/6/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       5/6/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       5/6/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       5/6/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 201431 Down Payment lo         303.55
       5/6/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     51.7
       5/6/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/6/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
       5/6/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       5/6/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.98
       5/6/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.94
       5/6/2017    709   RC0089   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              -5.07
       5/6/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
       5/6/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       5/6/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       5/6/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/6/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-13        -593.75
       5/6/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       5/6/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.93
       5/6/2017    709   RL0017   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             144.03
       5/6/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 21975A                      100
       5/6/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
       5/6/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       5/6/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       5/6/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/6/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       5/6/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100

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       5/6/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
       5/6/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            -100
       5/6/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          -1
       5/6/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/6/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/6/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.71
       5/6/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.24
       5/6/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        -456.75
       5/6/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.77
       5/6/2017    709   RL0062   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             143.91
       5/6/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
       5/6/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       5/6/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       5/6/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/6/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
       5/6/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.28
       5/6/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
       5/6/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       5/6/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       5/6/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       5/6/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.93
       5/6/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.34
       5/6/2017    709   RM0026   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              91.04
       5/6/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                        100
       5/6/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       5/6/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       5/6/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       5/6/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              60
       5/6/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       5/6/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.03
       5/6/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.44
       5/6/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                        100
       5/6/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       5/6/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 201431 Q1202 Truck Leas        278.76
       5/6/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       5/6/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       5/6/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.95
       5/6/2017    709   RR0123   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             272.15
       5/6/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
       5/6/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                        100
       5/6/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       5/6/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       5/6/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 201459 Q1248                   311.97
       5/6/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       5/6/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       5/6/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
       5/6/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
       5/6/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                        -362.86
       5/6/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.94
       5/6/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.78
       5/6/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.89
       5/6/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.17
       5/6/2017    709   SB0009   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             174.19
       5/6/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
       5/6/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       5/6/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       5/6/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       5/6/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.71
       5/6/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.45
       5/6/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       5/6/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       5/6/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
       5/6/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       5/6/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13

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       5/6/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.19
       5/6/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.14
       5/6/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.82
       5/6/2017    709   SN0019   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              32.25
       5/6/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       5/6/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       5/6/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       5/6/2017    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/6/2017    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.87
       5/6/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.83
       5/6/2017    709   VB0015   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             -28.03
       5/6/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                       100
       5/6/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       5/6/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 201457 Tractor Sub leas        242.03
       5/6/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/6/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       5/6/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       5/6/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
       5/6/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
       5/6/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       5/6/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       5/6/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.36
       5/6/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.05
       5/6/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.83
       5/6/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.16
       5/6/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          165.9
       5/6/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.3
       5/6/2017    709   VJ0006   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             245.54
       5/6/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                       100
       5/6/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       5/6/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 201551 New Truck Set Up        248.96
       5/6/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       5/6/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       5/6/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       5/6/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       5/6/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       5/6/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       5/6/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/6/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            120
       5/6/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
       5/6/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/6/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.48
       5/6/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.82
       5/6/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.75
       5/6/2017    709   WH0087   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement             120.93
       5/6/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
       5/6/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                       100
       5/6/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       5/6/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 201454 Q1238 Lease             311.97
       5/6/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
       5/6/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       5/6/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       5/6/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/6/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/6/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/6/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/6/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/6/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.03
       5/6/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.8
       5/6/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.63
       5/6/2017    742   AP0047   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement               58.5
       5/6/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
       5/6/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
       5/6/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       5/6/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50

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       5/6/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                       100
       5/6/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/6/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       5/6/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.46
       5/6/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.92
       5/6/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          395.3
       5/6/2017    742   BS0078   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              76.34
       5/6/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                       100
       5/6/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       5/6/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       5/6/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,DNT TEXpress Ex              6.6
       5/6/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,I-35E TEXpress Ent           3.2
       5/6/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,I-35E TEXpress Ent           5.2
       5/6/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,Ship Channel Bridg             7
       5/6/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       5/6/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       5/6/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.3
       5/6/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.16
       5/6/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.56
       5/6/2017    742   CA0089   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              35.93
       5/6/2017    742   CA0089   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement               47.9
       5/6/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                       100
       5/6/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   CA0089   Owner Operator   Permits                        NY13:2017 - 33987                        1.5
       5/6/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       5/6/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       5/6/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       5/6/2017    742   CT0085   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-13          -3.35
       5/6/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.04
       5/6/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.21
       5/6/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.11
       5/6/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.55
       5/6/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.82
       5/6/2017    742   CT0085   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              18.76
       5/6/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
       5/6/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                     32.99
       5/6/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.04
       5/6/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       5/6/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171,Benicia                            25
       5/6/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171,Carquinez Bridge                   25
       5/6/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171,Carquinez Bridge                   25
       5/6/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 201455 Sub Lease Q13171        352.68
       5/6/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/6/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       5/6/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.01
       5/6/2017    742   DA0067   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              23.58
       5/6/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                       100
       5/6/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       5/6/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/6/2017    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge                    25
       5/6/2017    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge                    25
       5/6/2017    742   DA0067   Owner Operator   Toll Charges                   702451/33847,Carquinez Bridge             25
       5/6/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/6/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       5/6/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.16
       5/6/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.89
       5/6/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.83
       5/6/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.54
       5/6/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33993                       100
       5/6/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
       5/6/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   EA0039   Owner Operator   Permits                        IL02:2017 - 33993                       3.75
       5/6/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       5/6/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       5/6/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75

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       5/6/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       5/6/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          131.5
       5/6/2017    742   ED0041   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              37.58
       5/6/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
       5/6/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       5/6/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       5/6/2017    742   ED0041   Owner Operator   Toll Charges                   32897,TxTag,Ship Channel Bridg             7
       5/6/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.86
       5/6/2017    742   EN0016   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              59.69
       5/6/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         104.61
       5/6/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       5/6/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       5/6/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.85
       5/6/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.5
       5/6/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           59.4
       5/6/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.71
       5/6/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.17
       5/6/2017    742   EO0014   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement               1.53
       5/6/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
       5/6/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       5/6/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       5/6/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       5/6/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       5/6/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       5/6/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       5/6/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
       5/6/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
       5/6/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           198
       5/6/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
       5/6/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
       5/6/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
       5/6/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
       5/6/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.17
       5/6/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.96
       5/6/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.36
       5/6/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.07
       5/6/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                           295
       5/6/2017    742   KJ0045   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              89.19
       5/6/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.88
       5/6/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
       5/6/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/6/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/6/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.31
       5/6/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          87.04
       5/6/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.16
       5/6/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
       5/6/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
       5/6/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         499.74
       5/6/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
       5/6/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       5/6/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       5/6/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                       100
       5/6/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       5/6/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       5/6/2017    742   MH0117   Owner Operator   Toll Charges                   33296,TxTag,Ship Channel Bridg             7
       5/6/2017    742   MH0117   Owner Operator   Toll Charges                   33296,TxTag,Ship Channel Bridg             7
       5/6/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
       5/6/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       5/6/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       5/6/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            250
       5/6/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            250
       5/6/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
       5/6/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5

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       5/6/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.35
       5/6/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.62
       5/6/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.94
       5/6/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.71
       5/6/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
       5/6/2017    742   MT0112   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement               7.88
       5/6/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
       5/6/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                       100
       5/6/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
       5/6/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
       5/6/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00350500 - PO System           90.63
       5/6/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00350525 - PO System           90.63
       5/6/2017    742   MT0112   Owner Operator   Toll Charges                   Q1247,Benicia                             15
       5/6/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 201455 Q1247 Sub Lease         311.97
       5/6/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       5/6/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       5/6/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.08
       5/6/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.76
       5/6/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.39
       5/6/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.07
       5/6/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.08
       5/6/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.92
       5/6/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.85
       5/6/2017    742   NG0024   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              46.45
       5/6/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100
       5/6/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       5/6/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       5/6/2017    742   NG0024   Owner Operator   Toll Charges                   FG5438/33252,Bay Bridge                   25
       5/6/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       5/6/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/6/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       5/6/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       5/6/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       5/6/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       5/6/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/6/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/6/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/6/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/6/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.94
       5/6/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          108.6
       5/6/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.35
       5/6/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.21
       5/6/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.46
       5/6/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.93
       5/6/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.45
       5/6/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.37
       5/6/2017    742   PC0012   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              59.88
       5/6/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
       5/6/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
       5/6/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       5/6/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,SH - East Plaza L5             7
       5/6/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,SH - Southeast Pla             7
       5/6/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,Ship Channel Bridg             7
       5/6/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       5/6/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       5/6/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       5/6/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       5/6/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           381
       5/6/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          373.8
       5/6/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.57
       5/6/2017    742   RN0054   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              50.45
       5/6/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
       5/6/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                     32.99
       5/6/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.26
       5/6/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       5/6/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 201431 Tractor Lease           353.28
       5/6/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       5/6/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       5/6/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       5/6/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       5/6/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       5/6/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       5/6/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       5/6/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/6/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.78
       5/6/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.17
       5/6/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.55
       5/6/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2016 - 33991                       100
       5/6/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                       100
       5/6/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/6/2017    742   TH0130   Owner Operator   Permits                        NY13:2017 - 33991                        1.5
       5/6/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       5/6/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       5/6/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        LWO:Reseat charge lease 52901        -451.41
       5/6/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        LWO:Reseat charge lease 52901        -157.41
       5/6/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:Reseat charge lease 52901         -451.41
       5/6/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:Reseat charge lease 52901         -157.41
       5/6/2017    844   JK0112   Owner Operator   Repair Order                   Reseat charge lease 52901             902.82
       5/6/2017    844   JK0112   Owner Operator   Repair Order                   Reseat charge lease 52901             314.82
      5/13/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      5/13/2017    709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                   12.5
      5/13/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      5/13/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/13/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/13/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.98
      5/13/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                      100
      5/13/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      5/13/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      5/13/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      5/13/2017    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      5/13/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      5/13/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.39
      5/13/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.95
      5/13/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.91
      5/13/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
      5/13/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                        33
      5/13/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
      5/13/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 201640 Q13147 Lease            440.14
      5/13/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      5/13/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      5/13/2017    709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                   12.5
      5/13/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      5/13/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.96
      5/13/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.41
      5/13/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.97
      5/13/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.29
      5/13/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.03
      5/13/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
      5/13/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                     32.99
      5/13/2017    709   AV0021   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         277.37
      5/13/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
      5/13/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 201687 Q13169 Sublease         352.68
      5/13/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/13/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/13/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      5/13/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      5/13/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/13/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/13/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      5/13/2017    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
      5/13/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      5/13/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.65
      5/13/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.57

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      5/13/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
      5/13/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                     32.99
      5/13/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
      5/13/2017    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00350399 - PO System          183.95
      5/13/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 201639 Q13168 sub lease        352.68
      5/13/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/13/2017    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      5/13/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      5/13/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      5/13/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/13/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/13/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.04
      5/13/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          416.7
      5/13/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.31
      5/13/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      5/13/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      5/13/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/13/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      5/13/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      5/13/2017    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                    12.5
      5/13/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      5/13/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.1
      5/13/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.32
      5/13/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.98
      5/13/2017    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2017 - 32864                      32.99
      5/13/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      5/13/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      5/13/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      5/13/2017    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                    12.5
      5/13/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      5/13/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.89
      5/13/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                       100
      5/13/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      5/13/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 201643 Q1201                   278.76
      5/13/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/13/2017    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                    12.5
      5/13/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      5/13/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.38
      5/13/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.01
      5/13/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         244.18
      5/13/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      5/13/2017    709   DL0029   Owner Operator   Tire Fee                       Tire Fee: 2016454                          4
      5/13/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00350623 - PO System           74.55
      5/13/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00351413 - PO System          110.11
      5/13/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      5/13/2017    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                    12.5
      5/13/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      5/13/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/13/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/13/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.78
      5/13/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.03
      5/13/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.58
      5/13/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
      5/13/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                       100
      5/13/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      5/13/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      5/13/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 201582 Sublease                338.99
      5/13/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      5/13/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/13/2017    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                    12.5
      5/13/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      5/13/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/13/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/13/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.86
      5/13/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.78
      5/13/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99

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      5/13/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      5/13/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      5/13/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      5/13/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-20           -168
      5/13/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.61
      5/13/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.94
      5/13/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                        100
      5/13/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      5/13/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          3.74
      5/13/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      5/13/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      5/13/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/13/2017    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
      5/13/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      5/13/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            100
      5/13/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/13/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/13/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.02
      5/13/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      5/13/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      5/13/2017    709   EA0003   Owner Operator   Toll Charges                   33051,ILTOLL,Route 80 (West) ,           -4.8
      5/13/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      5/13/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/13/2017    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
      5/13/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      5/13/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/13/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/13/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/13/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/13/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.64
      5/13/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.42
      5/13/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.23
      5/13/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          444.9
      5/13/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      5/13/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      5/13/2017    709   EE0011   Owner Operator   Tire Fee                       Tire Fee: 2015405                           8
      5/13/2017    709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00350732 - PO System          259.57
      5/13/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      5/13/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      5/13/2017    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
      5/13/2017    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33828           9.84
      5/13/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
      5/13/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.92
      5/13/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.81
      5/13/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
      5/13/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      5/13/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
      5/13/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 5/11 #17105                    350.36
      5/13/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      5/13/2017    709   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      5/13/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      5/13/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      5/13/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                   2.5
      5/13/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      5/13/2017    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
      5/13/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
      5/13/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.65
      5/13/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.33
      5/13/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.35
      5/13/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.87
      5/13/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                        100
      5/13/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      5/13/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 201693 truck lease 3304        434.29
      5/13/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75

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      5/13/2017    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      5/13/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      5/13/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.54
      5/13/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                      100
      5/13/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      5/13/2017    709   FV0001   Owner Operator   Tire Fee                       Tire Fee: 2016775                         32
      5/13/2017    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00351791 - PO System          790.89
      5/13/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      5/13/2017    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                    12.5
      5/13/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      5/13/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.23
      5/13/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                       100
      5/13/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      5/13/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 201642 Lease                   252.11
      5/13/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      5/13/2017    709   HC0023   Owner Operator   Broker Pre Pass                Q13170 PrePass Device                   12.5
      5/13/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      5/13/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.07
      5/13/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.92
      5/13/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.95
      5/13/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.26
      5/13/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                     10.58
      5/13/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                     32.99
      5/13/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            68.36
      5/13/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 201640 Q13170                  352.68
      5/13/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      5/13/2017    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                    12.5
      5/13/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      5/13/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/13/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/13/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.54
      5/13/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                       100
      5/13/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      5/13/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/13/2017    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
      5/13/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      5/13/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/13/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.08
      5/13/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.94
      5/13/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          321.2
      5/13/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          272.3
      5/13/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.74
      5/13/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                       100
      5/13/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      5/13/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      5/13/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/13/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                          225.06
      5/13/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.25
      5/13/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.86
      5/13/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.44
      5/13/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      5/13/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      5/13/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/13/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      5/13/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      5/13/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      5/13/2017    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                    12.5
      5/13/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
      5/13/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      5/13/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/13/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/13/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.05
      5/13/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.15
      5/13/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.65
      5/13/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      5/13/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/13/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
      5/13/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      5/13/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/13/2017    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
      5/13/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      5/13/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      5/13/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/13/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/13/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.95
      5/13/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      5/13/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      5/13/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      5/13/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/13/2017    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                    12.5
      5/13/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      5/13/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/13/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/13/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/13/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/13/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.45
      5/13/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          475.7
      5/13/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.83
      5/13/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.02
      5/13/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      5/13/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      5/13/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      5/13/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      5/13/2017    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                    12.5
      5/13/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      5/13/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-20           -8.4
      5/13/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-20         -29.79
      5/13/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/13/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/13/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.84
      5/13/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.59
      5/13/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                       100
      5/13/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      5/13/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      5/13/2017    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                    12.5
      5/13/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      5/13/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                       100
      5/13/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      5/13/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 201600 Truck Lease             278.76
      5/13/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/13/2017    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      5/13/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      5/13/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/13/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/13/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/13/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.86
      5/13/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           275
      5/13/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.52
      5/13/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          53.38
      5/13/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      5/13/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      5/13/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/13/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      5/13/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      5/13/2017    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                    12.5
      5/13/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      5/13/2017    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-6           181.38
      5/13/2017    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-6           270.83
      5/13/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
      5/13/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      5/13/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 201734 Lease Q1111             252.11
      5/13/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      5/13/2017    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      5/13/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13

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      5/13/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.33
      5/13/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                       100
      5/13/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      5/13/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      5/13/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      5/13/2017    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                   12.5
      5/13/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      5/13/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.44
      5/13/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                          141.9
      5/13/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
      5/13/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      5/13/2017    709   ME0053   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                    12.5
      5/13/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      5/13/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.91
      5/13/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.08
      5/13/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.82
      5/13/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.19
      5/13/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                       100
      5/13/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      5/13/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 201639 Q1113 Lease             252.11
      5/13/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/13/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.07
      5/13/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.01
      5/13/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      5/13/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                       100
      5/13/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      5/13/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/13/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      5/13/2017    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                    12.5
      5/13/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      5/13/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/13/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/13/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/13/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/13/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.75
      5/13/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.47
      5/13/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.25
      5/13/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          262.3
      5/13/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      5/13/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      5/13/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/13/2017    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
      5/13/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      5/13/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      5/13/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              80
      5/13/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      5/13/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         602.87
      5/13/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      5/13/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      5/13/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/13/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      5/13/2017    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-6           2829.5
      5/13/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      5/13/2017    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                   12.5
      5/13/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      5/13/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            160
      5/13/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/13/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/13/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      5/13/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.76
      5/13/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           265
      5/13/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                      100
      5/13/2017    709   NG0005   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment         273.84
      5/13/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      5/13/2017    709   NT9564   Owner Operator   Advance                        Acc Clm 63764 s/u pmts                  100

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      5/13/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
      5/13/2017    709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                     12.5
      5/13/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           13
      5/13/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                       10.58
      5/13/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                       32.99
      5/13/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/13/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              30.47
      5/13/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 201639 Truck 73130 Leas         196.65
      5/13/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      5/13/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/13/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.16
      5/13/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      5/13/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 201599 Down Payment lo          303.55
      5/13/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                      51.7
      5/13/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    -38.79
      5/13/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    -38.79
      5/13/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/13/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
      5/13/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      5/13/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          286.11
      5/13/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.28
      5/13/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.26
      5/13/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                       32.99
      5/13/2017    709   RC0089   Owner Operator   Loan Repayment                 Crdt Exp Ck 162669 s/u ln            -3704.88
      5/13/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          251.58
      5/13/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/13/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   103.07
      5/13/2017    709   RC0089   Owner Operator   T Chek Fee                     ExpressCheck Fee                        36.68
      5/13/2017    709   RC0089   Owner Operator   T Chek Fee                     Tractor Repair 32986                   3668.2
      5/13/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                          504.72
      5/13/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/13/2017    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                    12.5
      5/13/2017    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                     12.5
      5/13/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-6            593.75
      5/13/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-20          -93.75
      5/13/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-20        -1595.59
      5/13/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      5/13/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          476.15
      5/13/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           30.51
      5/13/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.28
      5/13/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 21975A                       100
      5/13/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                       32.99
      5/13/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/13/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.22
      5/13/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
      5/13/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/13/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
      5/13/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/13/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/13/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/13/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/13/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/13/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/13/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.61
      5/13/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.69
      5/13/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          384.05
      5/13/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                       32.99
      5/13/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/13/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.15
      5/13/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          512.16
      5/13/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      5/13/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                            8
      5/13/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/13/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.66
      5/13/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.89
      5/13/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/13/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     37.5
      5/13/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                     27.48
      5/13/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                        8.75
      5/13/2017    709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                     12.5
      5/13/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                           13
      5/13/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.87
      5/13/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.37

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      5/13/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                        100
      5/13/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      5/13/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      5/13/2017    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                    12.5
      5/13/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      5/13/2017    709   RP0082   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-20            -31
      5/13/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              60
      5/13/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      5/13/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.89
      5/13/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          386.6
      5/13/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                        100
      5/13/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      5/13/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 201600 Q1202 Truck Leas        278.76
      5/13/2017    709   RR0123   Owner Operator   Accident Claim                 05/08/17 RR0123 Incident                2000
      5/13/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 s/u pmts                   250
      5/13/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 s/u pmts                 -2000
      5/13/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      5/13/2017    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                    12.5
      5/13/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      5/13/2017    709   RR0123   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-20            -45
      5/13/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/13/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/13/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/13/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/13/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.97
      5/13/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.12
      5/13/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.53
      5/13/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.88
      5/13/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
      5/13/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                        100
      5/13/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      5/13/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      5/13/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 201643 Q1248                   311.97
      5/13/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      5/13/2017    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      5/13/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      5/13/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      5/13/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.33
      5/13/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          163.3
      5/13/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.73
      5/13/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      5/13/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      5/13/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      5/13/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      5/13/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.34
      5/13/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.38
      5/13/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.73
      5/13/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      5/13/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      5/13/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      5/13/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      5/13/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      5/13/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.71
      5/13/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.41
      5/13/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.59
      5/13/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.71
      5/13/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.48
      5/13/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      5/13/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      5/13/2017    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
      5/13/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      5/13/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            305
      5/13/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.25
      5/13/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                        100
      5/13/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5

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      5/13/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 201641 Tractor Sub leas        242.03
      5/13/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/13/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      5/13/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/13/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.06
      5/13/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.29
      5/13/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.45
      5/13/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                       100
      5/13/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      5/13/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 201764 New Truck Set Up        248.96
      5/13/2017    709   VJ0006   Owner Operator   Toll Charges                   33961,DelDOT,Newark Plaza ,D95            -9
      5/13/2017    709   VJ0006   Owner Operator   Toll Charges                   33961,MdTA,Kennedy Memorial Hi           -48
      5/13/2017    709   VJ0006   Owner Operator   Toll Charges                   33961,MdTA,Key Br ,FSK                   -24
      5/13/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/13/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      5/13/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      5/13/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      5/13/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      5/13/2017    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      5/13/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      5/13/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.85
      5/13/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.02
      5/13/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      5/13/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                       100
      5/13/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      5/13/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 201638 Q1238 Lease             311.97
      5/13/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      5/13/2017    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      5/13/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      5/13/2017    742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-20            -25
      5/13/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/13/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/13/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/13/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/13/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/13/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/13/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.76
      5/13/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.11
      5/13/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.27
      5/13/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.69
      5/13/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      5/13/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      5/13/2017    742   AP0047   Owner Operator   Repair Order                   TRACTOR 32604                         163.01
      5/13/2017    742   AS0089   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33912           9.84
      5/13/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      5/13/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                       100
      5/13/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/13/2017    742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                    12.5
      5/13/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      5/13/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.61
      5/13/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.61
      5/13/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.39
      5/13/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                       100
      5/13/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      5/13/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/13/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      5/13/2017    742   CA0089   Owner Operator   Broker Pre Pass                33832 PrePass Device                    12.5
      5/13/2017    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      5/13/2017    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33987           9.84
      5/13/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      5/13/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.58
      5/13/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          158.3
      5/13/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                         21
      5/13/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                       100
      5/13/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/13/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      5/13/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      5/13/2017    742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                   12.5
      5/13/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      5/13/2017    742   CT0085   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-6             3.35
      5/13/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.47
      5/13/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.73
      5/13/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.57
      5/13/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.9
      5/13/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
      5/13/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                     32.99
      5/13/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.04
      5/13/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      5/13/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 201639 Sub Lease Q13171        352.68
      5/13/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/13/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      5/13/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.69
      5/13/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.79
      5/13/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.61
      5/13/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.69
      5/13/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.74
      5/13/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                       100
      5/13/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      5/13/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/13/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/13/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      5/13/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          488.3
      5/13/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.05
      5/13/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33993                       100
      5/13/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
      5/13/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      5/13/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/13/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      5/13/2017    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                    12.5
      5/13/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      5/13/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.41
      5/13/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.73
      5/13/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.27
      5/13/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.03
      5/13/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.59
      5/13/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
      5/13/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      5/13/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      5/13/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/13/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/13/2017    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      5/13/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      5/13/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      5/13/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/13/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/13/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.26
      5/13/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.28
      5/13/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.81
      5/13/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          84.62
      5/13/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.75
      5/13/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.83
      5/13/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      5/13/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      5/13/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      5/13/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      5/13/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/13/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/13/2017    742   EN0016   Owner Operator   Toll Charges                   32947,Carquinez Bridge                    25
      5/13/2017    742   EN0016   Owner Operator   Toll Charges                   32947,Carquinez Bridge                    25

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      5/13/2017    742   EN0016   Owner Operator   Toll Charges                   32947,TxTag,HN - Rankin Rd                 2
      5/13/2017    742   EN0016   Owner Operator   Toll Charges                   32947,TxTag,HN - Rankin Rd                 2
      5/13/2017    742   EN0016   Owner Operator   Toll Charges                   32947,TxTag,HN - Rankin Rd                 4
      5/13/2017    742   EN0016   Owner Operator   Toll Charges                   32947,TxTag,HS - South Plaza L           3.5
      5/13/2017    742   EN0016   Owner Operator   Toll Charges                   32947,TxTag,SH - North Plaza L           3.5
      5/13/2017    742   EN0016   Owner Operator   Toll Charges                   32947,TxTag,SH - North Plaza L             7
      5/13/2017    742   EN0016   Owner Operator   Toll Charges                   32947,TxTag,Ship Channel Bridg             7
      5/13/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         314.79
      5/13/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      5/13/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      5/13/2017    742   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33846           9.84
      5/13/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      5/13/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.82
      5/13/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.42
      5/13/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.27
      5/13/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.97
      5/13/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.64
      5/13/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
      5/13/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      5/13/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      5/13/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      5/13/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      5/13/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      5/13/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      5/13/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      5/13/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      5/13/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           299
      5/13/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      5/13/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      5/13/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
      5/13/2017    742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                    12.5
      5/13/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
      5/13/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.14
      5/13/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.29
      5/13/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.59
      5/13/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.54
      5/13/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.88
      5/13/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
      5/13/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      5/13/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      5/13/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           37.12
      5/13/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/13/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/13/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/13/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/13/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.27
      5/13/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.26
      5/13/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.39
      5/13/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      5/13/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/13/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/13/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/13/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/13/2017    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                    12.5
      5/13/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      5/13/2017    742   MH0117   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-20            -62
      5/13/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                       100
      5/13/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      5/13/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/13/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      5/13/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      5/13/2017    742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                    12.5
      5/13/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      5/13/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            300

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      5/13/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/13/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.71
      5/13/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.18
      5/13/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.47
      5/13/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.8
      5/13/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.94
      5/13/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
      5/13/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                       100
      5/13/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      5/13/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      5/13/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00350500 - PO System           90.63
      5/13/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00350525 - PO System           90.63
      5/13/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 201639 Q1247 Sub Lease         311.97
      5/13/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      5/13/2017    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      5/13/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      5/13/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.23
      5/13/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.59
      5/13/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100
      5/13/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      5/13/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      5/13/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      5/13/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/13/2017    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                    12.5
      5/13/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      5/13/2017    742   PC0012   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-20         -25.93
      5/13/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/13/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/13/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/13/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/13/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/13/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/13/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/13/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.86
      5/13/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.82
      5/13/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.15
      5/13/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      5/13/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      5/13/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      5/13/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      5/13/2017    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      5/13/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      5/13/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.41
      5/13/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.1
      5/13/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.96
      5/13/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.1
      5/13/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
      5/13/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                     32.99
      5/13/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.26
      5/13/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      5/13/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 201599 Tractor Lease           353.28
      5/13/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/13/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      5/13/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    742   SK0049   Owner Operator   Loan Repayment                 Crdt Exp ck 162426 s/u loan          -7611.4
      5/13/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
      5/13/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      5/13/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      5/13/2017    742   SK0049   Owner Operator   T Chek Fee                     ExpressCheck Fee                       75.36
      5/13/2017    742   SK0049   Owner Operator   T Chek Fee                     Tractor Repair 33934                 7536.04
      5/13/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/13/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      5/13/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/13/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.33
      5/13/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.59
      5/13/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.96
      5/13/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2016 - 33991                       0.55
      5/13/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                         21
      5/13/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                       100

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      5/13/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/13/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      5/13/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/13/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:Mar17 Fuel Tax Settlement          -46.02
      5/13/2017    844   JK0112   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              46.02
      5/20/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      5/20/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      5/20/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.84
      5/20/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                      100
      5/20/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      5/20/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      5/20/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      5/20/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      5/20/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.04
      5/20/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.96
      5/20/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.95
      5/20/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.94
      5/20/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
      5/20/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                        33
      5/20/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
      5/20/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 201843 Q13147 Lease            440.14
      5/20/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      5/20/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      5/20/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      5/20/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.47
      5/20/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.03
      5/20/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.2
      5/20/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.52
      5/20/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.99
      5/20/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.15
      5/20/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
      5/20/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                     32.99
      5/20/2017    709   AV0021   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         276.97
      5/20/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
      5/20/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 201864 Q13169 Sublease         352.68
      5/20/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/20/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      5/20/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/20/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      5/20/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      5/20/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          383.2
      5/20/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           21.2
      5/20/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.46
      5/20/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.91
      5/20/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
      5/20/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                     32.99
      5/20/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
      5/20/2017    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00350399 - PO System          183.95
      5/20/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 201841 Q13168 sub lease        352.68
      5/20/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/20/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      5/20/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      5/20/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/20/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/20/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.17
      5/20/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      5/20/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      5/20/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/20/2017    709   CM0119   Owner Operator   Tire Fee                       Tire Fee: 2018958                          8
      5/20/2017    709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00351854 - PO System          197.51
      5/20/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      5/20/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      5/20/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      5/20/2017    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      5/20/2017    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/20/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.39
      5/20/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.35
      5/20/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.35
      5/20/2017    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2017 - 32864                      32.99
      5/20/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      5/20/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      5/20/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      5/20/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      5/20/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.44
      5/20/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                       100
      5/20/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      5/20/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 201846 Q1201                   278.76
      5/20/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/20/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      5/20/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.44
      5/20/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.25
      5/20/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.07
      5/20/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.01
      5/20/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         244.18
      5/20/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      5/20/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00350623 - PO System           74.55
      5/20/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00351413 - PO System          110.11
      5/20/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      5/20/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      5/20/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.76
      5/20/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.61
      5/20/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.9
      5/20/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.06
      5/20/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.07
      5/20/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
      5/20/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                       100
      5/20/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      5/20/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      5/20/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 201797 Sublease                338.99
      5/20/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      5/20/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/20/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      5/20/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/20/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/20/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.47
      5/20/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.12
      5/20/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      5/20/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      5/20/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      5/20/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      5/20/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-13            168
      5/20/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.86
      5/20/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                       100
      5/20/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      5/20/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      5/20/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          5.01
      5/20/2017    709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                    12.5
      5/20/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      5/20/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      5/20/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.44
      5/20/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      5/20/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      5/20/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      5/20/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
      5/20/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
      5/20/2017    709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00350671 - PO System           177.1
      5/20/2017    709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00350671 - PO System           177.1
      5/20/2017    709   DW0138   Owner Operator   Toll Charges                   33443,DelDOT,Biddles Plaza              3.75
      5/20/2017    709   DW0138   Owner Operator   Toll Charges                   33443,DelDOT,Newark Plaza                  9
      5/20/2017    709   DW0138   Owner Operator   Toll Charges                   33443,DelDOT,South Smyrna Ramp          0.94

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      5/20/2017    709   DW0138   Owner Operator   Toll Charges                   33443,DRPA,Commodore Barry Br           37.5
      5/20/2017    709   DW0138   Owner Operator   Toll Charges                   33443,MdTA,Fort McHenry Tunnel            24
      5/20/2017    709   DW0138   Owner Operator   Toll Charges                   33443,MdTA,Lane Memorial Br               24
      5/20/2017    709   DW0138   Owner Operator   Toll Charges                   33443,PTC,Toll 43 California            4.89
      5/20/2017    709   DW0138   Owner Operator   Toll Charges                   33443,PTC,Toll 43 Main M19              6.52
      5/20/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      5/20/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/20/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      5/20/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/20/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/20/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/20/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/20/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/20/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/20/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.46
      5/20/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.05
      5/20/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.18
      5/20/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.24
      5/20/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      5/20/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      5/20/2017    709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00350732 - PO System          259.57
      5/20/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      5/20/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      5/20/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      5/20/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.82
      5/20/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.77
      5/20/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.45
      5/20/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.36
      5/20/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
      5/20/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      5/20/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      5/20/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 5/18 #17105                    350.36
      5/20/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      5/20/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      5/20/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.61
      5/20/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.52
      5/20/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.33
      5/20/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      5/20/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      5/20/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      5/20/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      5/20/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.15
      5/20/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.64
      5/20/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.74
      5/20/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.42
      5/20/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.06
      5/20/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.24
      5/20/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                       100
      5/20/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      5/20/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 201871 truck lease 3304        434.29
      5/20/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/20/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      5/20/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/20/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/20/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.18
      5/20/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.02
      5/20/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          375.2
      5/20/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                      100
      5/20/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      5/20/2017    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00351791 - PO System          790.89
      5/20/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      5/20/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      5/20/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.18
      5/20/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                       100
      5/20/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07

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      5/20/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 201844 Lease                    252.11
      5/20/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             8.75
      5/20/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                           8
      5/20/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/20/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          415.89
      5/20/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          414.72
      5/20/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                      10.58
      5/20/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                      32.99
      5/20/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             68.36
      5/20/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 201843 Q13170                   352.68
      5/20/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                  8.75
      5/20/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                           13
      5/20/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/20/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          457.26
      5/20/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                         100
      5/20/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/20/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                  15.63
      5/20/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      5/20/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                           13
      5/20/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                             100
      5/20/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.05
      5/20/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          485.62
      5/20/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                         100
      5/20/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/20/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       54.69
      5/20/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                     21.35
      5/20/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/20/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.83
      5/20/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                           27.73
      5/20/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.36
      5/20/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                       32.99
      5/20/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/20/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.64
      5/20/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      5/20/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                          521.95
      5/20/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                     13.98
      5/20/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                     8.75
      5/20/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                           13
      5/20/2017    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                    -2533.38
      5/20/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                             400
      5/20/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                              200
      5/20/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                              200
      5/20/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/20/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/20/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          501.72
      5/20/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.93
      5/20/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                           71.69
      5/20/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          478.86
      5/20/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.84
      5/20/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                       32.99
      5/20/2017    709   JC0292   Owner Operator   Loan Repayment                 Crdt Exp Ck 162822 s/u loan             -5553
      5/20/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          255.43
      5/20/2017    709   JC0292   Owner Operator   Loan Repayment                 Reduce loan s/u bal by escrow         2533.38
      5/20/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/20/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                     78.13
      5/20/2017    709   JC0292   Owner Operator   T Chek Fee                     ExpressCheck Fee                        54.98
      5/20/2017    709   JC0292   Owner Operator   T Chek Fee                     Tractor Repair Q1210                  5498.02
      5/20/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210,ILTOLL,Route 80 (East)              4.8
      5/20/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                          458.72
      5/20/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/20/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                           13
      5/20/2017    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                       -1500
      5/20/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                             500
      5/20/2017    709   JG0017   Owner Operator   Express Check                  T-Check Payment                          1500
      5/20/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                              300
      5/20/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      5/20/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          212.53
      5/20/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.25
      5/20/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.45
      5/20/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.34
      5/20/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                       32.99
      5/20/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/20/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    90.86

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      5/20/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      5/20/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/20/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      5/20/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/20/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/20/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/20/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/20/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.24
      5/20/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                           470
      5/20/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.48
      5/20/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      5/20/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      5/20/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      5/20/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      5/20/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      5/20/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-13           29.79
      5/20/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-13             8.4
      5/20/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                       100
      5/20/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      5/20/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      5/20/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      5/20/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.48
      5/20/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                       100
      5/20/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      5/20/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 201814 Truck Lease             278.76
      5/20/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      5/20/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      5/20/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          127.48
      5/20/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/20/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/20/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.26
      5/20/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.08
      5/20/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                       100
      5/20/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      5/20/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      5/20/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/20/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      5/20/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/20/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/20/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/20/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/20/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/20/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.33
      5/20/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           147
      5/20/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.77
      5/20/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           375
      5/20/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.92
      5/20/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.78
      5/20/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.01
      5/20/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      5/20/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      5/20/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/20/2017    709   KP0004   Owner Operator   Tire Fee                       Tire Fee: 2018978                         16
      5/20/2017    709   KP0004   Owner Operator   Tire Purchase                  905-02564320 5/19/17                   59.06
      5/20/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00351522 - PO System          361.54
      5/20/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      5/20/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      5/20/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      5/20/2017    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-27        -318.62
      5/20/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
      5/20/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      5/20/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 201917 Lease Q1111             252.11
      5/20/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      5/20/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      5/20/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/20/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/20/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.37
      5/20/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.14

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      5/20/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.08
      5/20/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.53
      5/20/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                       100
      5/20/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      5/20/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      5/20/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/20/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/20/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      5/20/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      5/20/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.3
      5/20/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.39
      5/20/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.22
      5/20/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.91
      5/20/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.91
      5/20/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                       100
      5/20/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   MA0092   Owner Operator   Permits                        IL02:2017 - 34005                       3.75
      5/20/2017    709   MA0092   Owner Operator   Permits                        NM07:2017 - 34005                        5.5
      5/20/2017    709   MA0092   Owner Operator   Permits                        OR16:2017 - 34005                          8
      5/20/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      5/20/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      5/20/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      5/20/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      5/20/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
      5/20/2017    709   MB0048   Owner Operator   Repair Order                   CTMS - 201904 Flat Repair             -55.88
      5/20/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      5/20/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      5/20/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.08
      5/20/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.61
      5/20/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.87
      5/20/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                       100
      5/20/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      5/20/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 201842 Q1113 Lease             252.11
      5/20/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/20/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.11
      5/20/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                       100
      5/20/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      5/20/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/20/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      5/20/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      5/20/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/20/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/20/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/20/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/20/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.22
      5/20/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.24
      5/20/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.15
      5/20/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.35
      5/20/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          262.3
      5/20/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      5/20/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      5/20/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/20/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      5/20/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      5/20/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/20/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/20/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.52
      5/20/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      5/20/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      5/20/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/20/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      5/20/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      5/20/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75

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      5/20/2017    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                    12.5
      5/20/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      5/20/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      5/20/2017    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-6             14.6
      5/20/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          44.75
      5/20/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      5/20/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.18
      5/20/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.83
      5/20/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.57
      5/20/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.65
      5/20/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                       100
      5/20/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                       100
      5/20/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      5/20/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      5/20/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      5/20/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      5/20/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            160
      5/20/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      5/20/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.24
      5/20/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.21
      5/20/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                      100
      5/20/2017    709   NG0005   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment         273.84
      5/20/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      5/20/2017    709   NT9564   Owner Operator   Advance                        Acc Clm 63764 s/u pmts                  100
      5/20/2017    709   NT9564   Owner Operator   AP Invoice Deductions          T Square Inc                            175
      5/20/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      5/20/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      5/20/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
      5/20/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                      32.99
      5/20/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      5/20/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 201842 Truck 73130 Leas        196.65
      5/20/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      5/20/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      5/20/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      5/20/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 201813 Down Payment lo         303.55
      5/20/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     51.7
      5/20/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/20/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/20/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/20/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.32
      5/20/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.13
      5/20/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      5/20/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         251.58
      5/20/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      5/20/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      5/20/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/20/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-13         1595.59
      5/20/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-13           93.75
      5/20/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/20/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.13
      5/20/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 21975A                      100
      5/20/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      5/20/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      5/20/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      5/20/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/20/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      5/20/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/20/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/20/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/20/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/20/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.73
      5/20/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.17
      5/20/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.94
      5/20/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      5/20/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15

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      5/20/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      5/20/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/20/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      5/20/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.87
      5/20/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.11
      5/20/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   RL0180   Owner Operator   Permits                        IL02:2017 - 34012                       3.75
      5/20/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      5/20/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      5/20/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      5/20/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      5/20/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.66
      5/20/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.03
      5/20/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                        100
      5/20/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      5/20/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      5/20/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      5/20/2017    709   RP0082   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-13              31
      5/20/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/20/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/20/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.99
      5/20/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.82
      5/20/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.99
      5/20/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          364.2
      5/20/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                        100
      5/20/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      5/20/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 201814 Q1202 Truck Leas        278.76
      5/20/2017    709   RR0123   Owner Operator   Accident Claim                 05/08/17 RR0123 Incident                2000
      5/20/2017    709   RR0123   Owner Operator   Advance                        2nd $2k chg Clm 64518                  -2000
      5/20/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts               250
      5/20/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      5/20/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      5/20/2017    709   RR0123   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-13              45
      5/20/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.82
      5/20/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.56
      5/20/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
      5/20/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                        100
      5/20/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      5/20/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      5/20/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      5/20/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      5/20/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      5/20/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/20/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/20/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.36
      5/20/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.53
      5/20/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.02
      5/20/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.98
      5/20/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                            221
      5/20/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      5/20/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      5/20/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      5/20/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      5/20/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.12
      5/20/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          76.74
      5/20/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.04
      5/20/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.66
      5/20/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      5/20/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      5/20/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 201822 Sub Lease               388.33
      5/20/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      5/20/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      5/20/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      5/20/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.37
      5/20/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.95
      5/20/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.35

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      5/20/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.28
      5/20/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      5/20/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      5/20/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      5/20/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.54
      5/20/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                        100
      5/20/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      5/20/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 201844 Tractor Sub leas        242.03
      5/20/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/20/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      5/20/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      5/20/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/20/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             150
      5/20/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/20/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/20/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      5/20/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/20/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.36
      5/20/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.44
      5/20/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.04
      5/20/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.84
      5/20/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.98
      5/20/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.22
      5/20/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.33
      5/20/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                        100
      5/20/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      5/20/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 201950 New Truck Set Up        248.96
      5/20/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/20/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      5/20/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      5/20/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      5/20/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      5/20/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      5/20/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/20/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/20/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.24
      5/20/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.69
      5/20/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      5/20/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                        100
      5/20/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      5/20/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 201841 Q1238 Lease             311.97
      5/20/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      5/20/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      5/20/2017    742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-13              25
      5/20/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      5/20/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      5/20/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      5/20/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                        100
      5/20/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      5/20/2017    742   AS0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/20/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      5/20/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.56
      5/20/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.42
      5/20/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.27
      5/20/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.66
      5/20/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.18
      5/20/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                        100
      5/20/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      5/20/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/20/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      5/20/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      5/20/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.34
      5/20/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.31

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      5/20/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.47
      5/20/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.03
      5/20/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.16
      5/20/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                       100
      5/20/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      5/20/2017    742   CA0089   Owner Operator   Toll Charges                   33987,ILTOLL,North Ave.                  5.1
      5/20/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      5/20/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      5/20/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.08
      5/20/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.18
      5/20/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.46
      5/20/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.53
      5/20/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.34
      5/20/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.22
      5/20/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
      5/20/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                     32.99
      5/20/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.04
      5/20/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      5/20/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/20/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      5/20/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.18
      5/20/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.55
      5/20/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.61
      5/20/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.01
      5/20/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           18.3
      5/20/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                       100
      5/20/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      5/20/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/20/2017    742   DA0067   Owner Operator   Repair Order                   CTMS - 201859 repair                      70
      5/20/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/20/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      5/20/2017    742   EA0039   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-27        -574.11
      5/20/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.79
      5/20/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.85
      5/20/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.07
      5/20/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33993                       100
      5/20/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
      5/20/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      5/20/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/20/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      5/20/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      5/20/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.74
      5/20/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.79
      5/20/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.76
      5/20/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
      5/20/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      5/20/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      5/20/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      5/20/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      5/20/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.99
      5/20/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.19
      5/20/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.07
      5/20/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          194.9
      5/20/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
      5/20/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      5/20/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      5/20/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      5/20/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      5/20/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      5/20/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      5/20/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      5/20/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      5/20/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50

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      5/20/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           550
      5/20/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.06
      5/20/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.01
      5/20/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      5/20/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      5/20/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      5/20/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/20/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/20/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/20/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/20/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/20/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/20/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/20/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/20/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          162.88
      5/20/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/20/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/20/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/20/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/20/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/20/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.04
      5/20/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.99
      5/20/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      5/20/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/20/2017    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00340731 - PO System          179.03
      5/20/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/20/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/20/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      5/20/2017    742   MH0117   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-13              62
      5/20/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                       100
      5/20/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      5/20/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/20/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      5/20/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      5/20/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      5/20/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/20/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/20/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          194.6
      5/20/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.57
      5/20/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.41
      5/20/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.87
      5/20/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      5/20/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.41
      5/20/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
      5/20/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                       100
      5/20/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      5/20/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      5/20/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00350500 - PO System           90.63
      5/20/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00350525 - PO System           90.63
      5/20/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      5/20/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      5/20/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/20/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/20/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.01
      5/20/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.75
      5/20/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.25
      5/20/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                           289
      5/20/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.16
      5/20/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100
      5/20/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      5/20/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      5/20/2017    742   PC0012   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-13           25.93
      5/20/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.81
      5/20/2017    742   PS0083   Owner Operator   BOBTAIL INS.                   7861 2015 Freightliner NTL              8.75
      5/20/2017    742   PS0083   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD              93.75
      5/20/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD Terr           2.5

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      5/20/2017    742   RN0054   Owner Operator   Accident Claim                 05/07/17 RN0054 Incident                810
      5/20/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      5/20/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      5/20/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.01
      5/20/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.94
      5/20/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.86
      5/20/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
      5/20/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                     32.99
      5/20/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.26
      5/20/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      5/20/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/20/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      5/20/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
      5/20/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      5/20/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      5/20/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/20/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      5/20/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/20/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.75
      5/20/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.35
      5/20/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.72
      5/20/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.36
      5/20/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                       100
      5/20/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/20/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      5/20/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/27/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      5/27/2017    709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 202154 Peroxide fuel          -185.72
      5/27/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      5/27/2017    709   AN0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-3          -93.75
      5/27/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.37
      5/27/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                      100
      5/27/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      5/27/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      5/27/2017    709   AN0007   Owner Operator   Toll Charges                   21157A ,FasTrak,CATALINA               21.44
      5/27/2017    709   AN0007   Owner Operator   Toll Charges                   21157A ,FasTrak,CATALINA               21.44
      5/27/2017    709   AN0007   Owner Operator   Toll Charges                   21157A ,FasTrak,CATALINA               21.44
      5/27/2017    709   AN0007   Owner Operator   Toll Charges                   21157A ,FasTrak,CATALINA               21.44
      5/27/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      5/27/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      5/27/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.23
      5/27/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.39
      5/27/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           160
      5/27/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
      5/27/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                        33
      5/27/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            74.22
      5/27/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 202031 Q13147 Lease            440.14
      5/27/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      5/27/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      5/27/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      5/27/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              75
      5/27/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.75
      5/27/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.39
      5/27/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.09
      5/27/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.75
      5/27/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.42
      5/27/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.02
      5/27/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.03
      5/27/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
      5/27/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                     32.99
      5/27/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            68.36
      5/27/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 202062 Q13169 Sublease         352.68
      5/27/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/27/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11

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      5/27/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/27/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      5/27/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      5/27/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.45
      5/27/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.03
      5/27/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.15
      5/27/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
      5/27/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                     32.99
      5/27/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            68.36
      5/27/2017    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00350399 - PO System          183.88
      5/27/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 202029 Q13168 sub lease        352.68
      5/27/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/27/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      5/27/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      5/27/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/27/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/27/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.75
      5/27/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.54
      5/27/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      5/27/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      5/27/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/27/2017    709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00351854 - PO System          197.51
      5/27/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      5/27/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      5/27/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      5/27/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.03
      5/27/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.65
      5/27/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.93
      5/27/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.7
      5/27/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.9
      5/27/2017    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2017 - 32864                     1484.6
      5/27/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      5/27/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      5/27/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      5/27/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      5/27/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          359.8
      5/27/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.77
      5/27/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                       100
      5/27/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      5/27/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 202034 Q1201                   278.76
      5/27/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/27/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      5/27/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.49
      5/27/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.21
      5/27/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.93
      5/27/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.65
      5/27/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.38
      5/27/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         243.85
      5/27/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      5/27/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00350623 - PO System           74.52
      5/27/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00351413 - PO System          110.11
      5/27/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      5/27/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      5/27/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/27/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/27/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.2
      5/27/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.48
      5/27/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.49
      5/27/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.58
      5/27/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
      5/27/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                       100
      5/27/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      5/27/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      5/27/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 201981 Sublease                338.99
      5/27/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36

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      5/27/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/27/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      5/27/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/27/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/27/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.23
      5/27/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.84
      5/27/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                           461
      5/27/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      5/27/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      5/27/2017    709   DS0049   Owner Operator   Toll Charges                   TL9206/32915,FasTrak,Bay Bridg            25
      5/27/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      5/27/2017    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/27/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      5/27/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.9
      5/27/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.15
      5/27/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                       100
      5/27/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      5/27/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      5/27/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      5/27/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.13
      5/27/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                             20
      5/27/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.05
      5/27/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.65
      5/27/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.18
      5/27/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      5/27/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.74
      5/27/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.49
      5/27/2017    709   DW0138   Owner Operator   Repair Order                   CTMS - 202187 Parts                   220.92
      5/27/2017    709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00350671 - PO System          177.04
      5/27/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      5/27/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/27/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      5/27/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/27/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/27/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.94
      5/27/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.15
      5/27/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.75
      5/27/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      5/27/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      5/27/2017    709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00350732 - PO System          259.57
      5/27/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      5/27/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      5/27/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      5/27/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.26
      5/27/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.98
      5/27/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
      5/27/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      5/27/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      5/27/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 5/25 #17105                    350.36
      5/27/2017    709   EH0020   Owner Operator   *Arrears Collection W/O        Arrears Write Off                      29.75
      5/27/2017    709   EH0020   Owner Operator   *Arrears Collection W/O        Void statement only                   -29.75
      5/27/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      5/27/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      5/27/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          484.8
      5/27/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         109.55
      5/27/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.35
      5/27/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      5/27/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      5/27/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      5/27/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      5/27/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.29
      5/27/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.24
      5/27/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.39
      5/27/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                       100
      5/27/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86

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      5/27/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 202067 truck lease 3304        434.29
      5/27/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/27/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      5/27/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/27/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/27/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.81
      5/27/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.27
      5/27/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                       100
      5/27/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      5/27/2017    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00351791 - PO System          790.89
      5/27/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      5/27/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      5/27/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.81
      5/27/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                        100
      5/27/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      5/27/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 202032 Lease                   252.11
      5/27/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
      5/27/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
      5/27/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      5/27/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      5/27/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          229.7
      5/27/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          181.6
      5/27/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.37
      5/27/2017    709   GW0043   Owner Operator   Highway Use Tax                HUTC:2017 - Q1263                      10.58
      5/27/2017    709   GW0043   Owner Operator   Highway Use Tax                HUTC:2017 - Q1263                      10.58
      5/27/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                      32.99
      5/27/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                      32.99
      5/27/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                54.12
      5/27/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                54.12
      5/27/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 202154 Tractor Q1235          -364.78
      5/27/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      5/27/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      5/27/2017    709   HC0023   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-3         -218.33
      5/27/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.78
      5/27/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.66
      5/27/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.41
      5/27/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.28
      5/27/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                     10.58
      5/27/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                     32.99
      5/27/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            68.36
      5/27/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 202030 Q13170                  352.68
      5/27/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      5/27/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      5/27/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/27/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/27/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.35
      5/27/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.57
      5/27/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.1
      5/27/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                        100
      5/27/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      5/27/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/27/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      5/27/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
      5/27/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          307.2
      5/27/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.14
      5/27/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.89
      5/27/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.96
      5/27/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                        100
      5/27/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      5/27/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      5/27/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/27/2017    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-3            -100
      5/27/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.97
      5/27/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      5/27/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      5/27/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      5/27/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
      5/27/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.96
      5/27/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
      5/27/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                         13
      5/27/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      5/27/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/27/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/27/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/27/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/27/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        386.78
      5/27/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.29
      5/27/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        398.38
      5/27/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                     32.99
      5/27/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment        255.43
      5/27/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/27/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.11
      5/27/2017    709   JC0292   Owner Operator   T Chek Fee                     ExpressCheck Fee                       9.55
      5/27/2017    709   JC0292   Owner Operator   T Chek Fee                     Tractor Repair Q1210                 954.78
      5/27/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      5/27/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/27/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      5/27/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      5/27/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      5/27/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      5/27/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        193.26
      5/27/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.32
      5/27/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        442.49
      5/27/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                     32.99
      5/27/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/27/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.85
      5/27/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      5/27/2017    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      5/27/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/27/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      5/27/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/27/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      5/27/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      5/27/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/27/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        480.93
      5/27/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        481.27
      5/27/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        418.03
      5/27/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                     32.99
      5/27/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/27/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      5/27/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      5/27/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      5/27/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      5/27/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-3            -93
      5/27/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        108.38
      5/27/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        151.23
      5/27/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                      100
      5/27/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/27/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51
      5/27/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      5/27/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      5/27/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        365.65
      5/27/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                      100
      5/27/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/27/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.58
      5/27/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 201999 Truck Lease            278.76
      5/27/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      5/27/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      5/27/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      5/27/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      5/27/2017    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                   12.5
      5/27/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      5/27/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      5/27/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      5/27/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      5/27/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      5/27/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      5/27/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/27/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          72.52

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      5/27/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/27/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/27/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/27/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/27/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.47
      5/27/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          399.2
      5/27/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.72
      5/27/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                       100
      5/27/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                       100
      5/27/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      5/27/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      5/27/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      5/27/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      5/27/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/27/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      5/27/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/27/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      5/27/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      5/27/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           177
      5/27/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                              9
      5/27/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             67
      5/27/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           168
      5/27/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.01
      5/27/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.01
      5/27/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.96
      5/27/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      5/27/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      5/27/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/27/2017    709   KP0004   Owner Operator   Tire Purchase                  905-02564320 5/19/17                   59.06
      5/27/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00351522 - PO System          361.54
      5/27/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      5/27/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      5/27/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      5/27/2017    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-20          318.62
      5/27/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
      5/27/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      5/27/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 202110 Lease Q1111             252.11
      5/27/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      5/27/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      5/27/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/27/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/27/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.61
      5/27/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.59
      5/27/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                       100
      5/27/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      5/27/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      5/27/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/27/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      5/27/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.52
      5/27/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.61
      5/27/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.84
      5/27/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.93
      5/27/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                       100
      5/27/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      5/27/2017    709   MA0092   Owner Operator   Repair Order                   CTMS - 202186 Truck Rental              400
      5/27/2017    709   MA0092   Owner Operator   Repair Order                   CTMS - 202187 New Truck Set Up         262.5
      5/27/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      5/27/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      5/27/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.54
      5/27/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.29
      5/27/2017    709   MB0048   Owner Operator   Repair Order                   CTMS - 202186 Repair                      70
      5/27/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      5/27/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      5/27/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.64
      5/27/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.97

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      5/27/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.26
      5/27/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        159.02
      5/27/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                       100
      5/27/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/27/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.04
      5/27/2017    709   ME0053   Owner Operator   Toll Charges                   Q1113      ,FasTrak,Carquinez            25
      5/27/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 202030 Q1113 Lease            252.11
      5/27/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      5/27/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           220
      5/27/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.09
      5/27/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                       100
      5/27/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/27/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
      5/27/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      5/27/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      5/27/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      5/27/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/27/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/27/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        332.32
      5/27/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.16
      5/27/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         262.3
      5/27/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/27/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.11
      5/27/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      5/27/2017    709   MM0103   Owner Operator   Miscellaneous                  Void Statement Only                 -346.66
      5/27/2017    709   MM0103   Owner Operator   Miscellaneous                  Void Statement Only                  -297.2
      5/27/2017    709   MM0103   Owner Operator   Miscellaneous                  Void Statement Only                 -628.56
      5/27/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/27/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      5/27/2017    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                     -1350
      5/27/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      5/27/2017    709   MP0035   Owner Operator   Express Check                  T-Check Payment                        1350
      5/27/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/27/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/27/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        343.62
      5/27/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                     32.99
      5/27/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/27/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.86
      5/27/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      5/27/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      5/27/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      5/27/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      5/27/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      5/27/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                        455.25
      5/27/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/27/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/27/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        136.79
      5/27/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        372.82
      5/27/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.97
      5/27/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                       100
      5/27/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/27/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.15
      5/27/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 201733 Lease                  215.66
      5/27/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 201916 Lease                  215.66
      5/27/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 202108 Lease                  215.66
      5/27/2017    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      5/27/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      5/27/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      5/27/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            400
      5/27/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
      5/27/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        175.23
      5/27/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.03
      5/27/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                      100
      5/27/2017    709   NG0005   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment        273.23
      5/27/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/27/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.97
      5/27/2017    709   NG0005   Owner Operator   Repair Order                   CTMS - 202186 Truck Rental              100
      5/27/2017    709   NT9564   Owner Operator   Advance                        Acc Clm 63764 s/u pmts                  100
      5/27/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      5/27/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      5/27/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                     10.58
      5/27/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                     32.99
      5/27/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      5/27/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      5/27/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 202029 Truck 73130 Leas        196.65
      5/27/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      5/27/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      5/27/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      5/27/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 201999 Down Payment lo         303.55
      5/27/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    51.69
      5/27/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/27/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/27/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/27/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.54
      5/27/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.24
      5/27/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.53
      5/27/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      5/27/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         251.58
      5/27/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      5/27/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      5/27/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/27/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/27/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.81
      5/27/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.54
      5/27/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 21975A                      100
      5/27/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      5/27/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      5/27/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      5/27/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/27/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      5/27/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/27/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/27/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/27/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/27/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.49
      5/27/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.53
      5/27/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      5/27/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      5/27/2017    709   RL0062   Owner Operator   Repair Order                   CTMS - 202186 Repair                    92.8
      5/27/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      5/27/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/27/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      5/27/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.14
      5/27/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.89
      5/27/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      5/27/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      5/27/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      5/27/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      5/27/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.15
      5/27/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.08
      5/27/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                       100
      5/27/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      5/27/2017    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/27/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      5/27/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      5/27/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              40
      5/27/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      5/27/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.56
      5/27/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                       100
      5/27/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      5/27/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 201999 Q1202 Truck Leas        278.76
      5/27/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts              250
      5/27/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      5/27/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/27/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/27/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.51
      5/27/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.1
      5/27/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58

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      5/27/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                        100
      5/27/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/27/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                 65.07
      5/27/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror            2.5
      5/27/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 201846 Q1248                    311.97
      5/27/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 202034 Q1248                    251.88
      5/27/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      5/27/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                           13
      5/27/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      5/27/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/27/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/27/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          328.18
      5/27/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.87
      5/27/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.13
      5/27/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           59.45
      5/27/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.37
      5/27/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          158.66
      5/27/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                       32.99
      5/27/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/27/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   100.98
      5/27/2017    709   SB0009   Owner Operator   Repair Order                   CTMS - 202186 Repair                    96.12
      5/27/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
      5/27/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      5/27/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/27/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.58
      5/27/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          322.91
      5/27/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/27/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      5/27/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      5/27/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 201996 Sub Lease                388.33
      5/27/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                     56.95
      5/27/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      5/27/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      5/27/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          262.45
      5/27/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.48
      5/27/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.74
      5/27/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.18
      5/27/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/27/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
      5/27/2017    709   UE0001   Owner Operator   *Arrears Collection W/O        Arrears Write Off                     1159.97
      5/27/2017    709   UE0001   Owner Operator   *Arrears Collection W/O        Void statement only                  -1159.97
      5/27/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      5/27/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      5/27/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.64
      5/27/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            259
      5/27/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            330
      5/27/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                        100
      5/27/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/27/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
      5/27/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 202032 Tractor Sub leas         242.03
      5/27/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      5/27/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      5/27/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      5/27/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             180
      5/27/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                               70
      5/27/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.7
      5/27/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.8
      5/27/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.48
      5/27/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.38
      5/27/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           152.7
      5/27/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           158.4
      5/27/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          143.81
      5/27/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                        100
      5/27/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/27/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.51
      5/27/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 202161 New Truck Set Up         248.96
      5/27/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      5/27/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      5/27/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/27/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
      5/27/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      5/27/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      5/27/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8

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      5/27/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/27/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/27/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.66
      5/27/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.43
      5/27/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.56
      5/27/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.31
      5/27/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      5/27/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                       100
      5/27/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      5/27/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 202034 Q1238 Lease             311.97
      5/27/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      5/27/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      5/27/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/27/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/27/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/27/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/27/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.06
      5/27/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.86
      5/27/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.33
      5/27/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      5/27/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      5/27/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                       100
      5/27/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/27/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      5/27/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.49
      5/27/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.17
      5/27/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.92
      5/27/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                       100
      5/27/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      5/27/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/27/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      5/27/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      5/27/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.43
      5/27/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.49
      5/27/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                       100
      5/27/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      5/27/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      5/27/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      5/27/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.76
      5/27/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.82
      5/27/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.18
      5/27/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.73
      5/27/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
      5/27/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                     32.99
      5/27/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            82.01
      5/27/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      5/27/2017    742   CT0085   Owner Operator   Repair Order                   CTMS - 202184 repair                      38
      5/27/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171 ,FasTrak,Benicia                   25
      5/27/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171 ,FasTrak,Carquinez                 25
      5/27/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171 ,FasTrak,Carquinez                 25
      5/27/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 201842 Sub Lease Q13171        352.68
      5/27/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 202030 Sub Lease Q13171        352.68
      5/27/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/27/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      5/27/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.45
      5/27/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             19
      5/27/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.43
      5/27/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                       100
      5/27/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      5/27/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/27/2017    742   DA0067   Owner Operator   Toll Charges                   33847,FasTrak,Benicia                     25
      5/27/2017    742   DA0067   Owner Operator   Toll Charges                   33847,FasTrak,Benicia                     25
      5/27/2017    742   DA0067   Owner Operator   Toll Charges                   33847,FasTrak,Carquinez Bridge            25

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      5/27/2017    742   DA0067   Owner Operator   Toll Charges                   33847,FasTrak,Carquinez Bridge            25
      5/27/2017    742   DA0067   Owner Operator   Toll Charges                   FG5456/33847,FasTrak,Bay Bridg            25
      5/27/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/27/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      5/27/2017    742   EA0039   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-20          574.11
      5/27/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.82
      5/27/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.76
      5/27/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2016 - 33993                       0.55
      5/27/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
      5/27/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      5/27/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/27/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      5/27/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      5/27/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           149
      5/27/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
      5/27/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      5/27/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      5/27/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/27/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/27/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      5/27/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      5/27/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/27/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/27/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.77
      5/27/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.72
      5/27/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.54
      5/27/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.24
      5/27/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.52
      5/27/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.23
      5/27/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.64
      5/27/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      5/27/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      5/27/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      5/27/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      5/27/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/27/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/27/2017    742   EN0016   Owner Operator   Repair Order                   CTMS - 202016 repair                  -21.93
      5/27/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      5/27/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      5/27/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      5/27/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      5/27/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.26
      5/27/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.43
      5/27/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          58.63
      5/27/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.77
      5/27/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
      5/27/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      5/27/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      5/27/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      5/27/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      5/27/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      5/27/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      5/27/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      5/27/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      5/27/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.04
      5/27/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.15
      5/27/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      5/27/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
      5/27/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.72
      5/27/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.08
      5/27/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.79
      5/27/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.66
      5/27/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.28
      5/27/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.93

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      5/27/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.21
      5/27/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.88
      5/27/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
      5/27/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      5/27/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/27/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/27/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/27/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/27/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/27/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/27/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/27/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/27/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/27/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           382
      5/27/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      5/27/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/27/2017    742   LL0134   Owner Operator   Tire Fee                       Tire Fee: 1997968                          8
      5/27/2017    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00340731 - PO System          121.67
      5/27/2017    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00348120 - PO System          197.73
      5/27/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/27/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/27/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      5/27/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                       100
      5/27/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      5/27/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/27/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      5/27/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      5/27/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      5/27/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/27/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                              35
      5/27/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.35
      5/27/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/27/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.21
      5/27/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.37
      5/27/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
      5/27/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                       100
      5/27/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.54
      5/27/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      5/27/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00350500 - PO System           90.58
      5/27/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00350525 - PO System           90.58
      5/27/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 201842 Q1247 Sub Lease         311.97
      5/27/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 202030 Q1247 Sub Lease         311.97
      5/27/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      5/27/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      5/27/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.99
      5/27/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.55
      5/27/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100
      5/27/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      5/27/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      5/27/2017    742   NG0024   Owner Operator   Toll Charges                   33252      ,FasTrak,Carquinez             25
      5/27/2017    742   NG0024   Owner Operator   Toll Charges                   33252      ,FasTrak,Carquinez             25
      5/27/2017    742   NG0024   Owner Operator   Toll Charges                   702140/33252,FasTrak,Carquinez            25
      5/27/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.51
      5/27/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         452.62
      5/27/2017    742   PS0080   Owner Operator   *Arrears Collection W/O        Arrears Offset                         47.12
      5/27/2017    742   PS0080   Owner Operator   *Arrears Collection W/O        Void statement only                   -47.12
      5/27/2017    742   PS0083   Owner Operator   BOBTAIL INS.                   7861 2015 Freightliner NTL              8.75
      5/27/2017    742   PS0083   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD              93.75
      5/27/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD Terr           2.5
      5/27/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      5/27/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      5/27/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.54
      5/27/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.67
      5/27/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
      5/27/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                     32.99
      5/27/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/27/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            74.25
      5/27/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      5/27/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 201813 Tractor Lease           353.28
      5/27/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 201998 Tractor Lease           353.28
      5/27/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/27/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      5/27/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
      5/27/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      5/27/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      5/27/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/27/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      5/27/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/27/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.96
      5/27/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.23
      5/27/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.58
      5/27/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.12
      5/27/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                       100
      5/27/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/27/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      5/27/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/27/2017    844   JK0112   Owner Operator   Miscellaneous                  Void Statement Only                  -1270.8
      5/27/2017    844   JK0112   Owner Operator   Repair Order                   Reseat Charge Lease 52901             1270.8
       6/3/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       6/3/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       6/3/2017    709   AN0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-27           93.75
       6/3/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.99
       6/3/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                      100
       6/3/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       6/3/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       6/3/2017    709   AN0007   Owner Operator   T Chek Fee                     ExpressCheck Fee                        0.61
       6/3/2017    709   AN0007   Owner Operator   T Chek Fee                     Tractor Repair 21157A                  61.16
       6/3/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL             -35
       6/3/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       6/3/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       6/3/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.77
       6/3/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.15
       6/3/2017    709   AR0064   Owner Operator   Highway Use Tax                HUTC:2017 - Q13147                     10.58
       6/3/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                        33
       6/3/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD          -296.88
       6/3/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 202216 Q13147 Lease            440.14
       6/3/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
       6/3/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             -35
       6/3/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       6/3/2017    709   AV0021   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.21
       6/3/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.43
       6/3/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.5
       6/3/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.01
       6/3/2017    709   AV0021   Owner Operator   Highway Use Tax                HUTC:2017 - Q13169                     10.58
       6/3/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                     32.99
       6/3/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD          -273.44
       6/3/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 202237 Q13169 Sublease         352.68
       6/3/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       6/3/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       6/3/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       6/3/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             -35
       6/3/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.93
       6/3/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.55
       6/3/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.9
       6/3/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.3
       6/3/2017    709   CC0134   Owner Operator   Highway Use Tax                HUTC:2017 - Q13168                     10.58
       6/3/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                     32.99
       6/3/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD          -273.44
       6/3/2017    709   CC0134   Owner Operator   Repair Order                   CTMS - 202187 Repair                  499.57

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       6/3/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/3/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       6/3/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
       6/3/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/3/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/3/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.82
       6/3/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.33
       6/3/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
       6/3/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       6/3/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/3/2017    709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00351854 - PO System          197.51
       6/3/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       6/3/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       6/3/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       6/3/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.69
       6/3/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.9
       6/3/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.98
       6/3/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.04
       6/3/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       6/3/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       6/3/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       6/3/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       6/3/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          318.4
       6/3/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                       100
       6/3/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       6/3/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 202219 Q1201                   278.76
       6/3/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       6/3/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       6/3/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.63
       6/3/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.24
       6/3/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                       100
       6/3/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       6/3/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00351413 - PO System          110.11
       6/3/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       6/3/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       6/3/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/3/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/3/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.11
       6/3/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.72
       6/3/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.48
       6/3/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.66
       6/3/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
       6/3/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                       100
       6/3/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
       6/3/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       6/3/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 202193 Sublease                338.99
       6/3/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       6/3/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/3/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       6/3/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/3/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/3/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.51
       6/3/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          220.9
       6/3/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
       6/3/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       6/3/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       6/3/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       6/3/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.32
       6/3/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                       100
       6/3/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       6/3/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
       6/3/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
       6/3/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.23
       6/3/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.59
       6/3/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          38.99

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       6/3/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
       6/3/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
       6/3/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
       6/3/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
       6/3/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/3/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/3/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/3/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/3/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          163.7
       6/3/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.68
       6/3/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.07
       6/3/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
       6/3/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
       6/3/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       6/3/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       6/3/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       6/3/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       6/3/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/3/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
       6/3/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
       6/3/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/3/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/3/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       6/3/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.05
       6/3/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          61.71
       6/3/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.22
       6/3/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.41
       6/3/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
       6/3/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
       6/3/2017    709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00350732 - PO System          259.57
       6/3/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
       6/3/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       6/3/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       6/3/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.37
       6/3/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.43
       6/3/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.81
       6/3/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.08
       6/3/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
       6/3/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       6/3/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       6/3/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 6/1 #17105                     350.36
       6/3/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       6/3/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       6/3/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.76
       6/3/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       6/3/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       6/3/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       6/3/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       6/3/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.6
       6/3/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.3
       6/3/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.45
       6/3/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                       100
       6/3/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       6/3/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 202243 truck lease 3304        434.29
       6/3/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/3/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       6/3/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.36
       6/3/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                      100
       6/3/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       6/3/2017    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00351791 - PO System          790.89
       6/3/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       6/3/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       6/3/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.91
       6/3/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                       100

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       6/3/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       6/3/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 202217 Lease                   252.11
       6/3/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                 -35
       6/3/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
       6/3/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
       6/3/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.1
       6/3/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.01
       6/3/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.91
       6/3/2017    709   GW0043   Owner Operator   Highway Use Tax                HUTC:2017 - Q1263                      10.58
       6/3/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                      32.99
       6/3/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD              -216.45
       6/3/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                54.12
       6/3/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 202270 Tractor Q1235          -364.78
       6/3/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             -35
       6/3/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       6/3/2017    709   HC0023   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-27          218.33
       6/3/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.2
       6/3/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.26
       6/3/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.85
       6/3/2017    709   HC0023   Owner Operator   Highway Use Tax                HUTC:2017 - Q13170                     10.58
       6/3/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                     32.99
       6/3/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD          -273.44
       6/3/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 202215 Q13170                  352.68
       6/3/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       6/3/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       6/3/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             300
       6/3/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       6/3/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.24
       6/3/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.91
       6/3/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                        100
       6/3/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       6/3/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       6/3/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       6/3/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
       6/3/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          319.8
       6/3/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.16
       6/3/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                        100
       6/3/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       6/3/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       6/3/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/3/2017    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-27             100
       6/3/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.35
       6/3/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
       6/3/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       6/3/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/3/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       6/3/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       6/3/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
       6/3/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
       6/3/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          35.37
       6/3/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
       6/3/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       6/3/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.81
       6/3/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.62
       6/3/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
       6/3/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         255.43
       6/3/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
       6/3/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
       6/3/2017    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -2500
       6/3/2017    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         2500
       6/3/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
       6/3/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       6/3/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.48
       6/3/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         223.27

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       6/3/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/3/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       6/3/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
       6/3/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/3/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/3/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       6/3/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.47
       6/3/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          494.7
       6/3/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
       6/3/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       6/3/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       6/3/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       6/3/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       6/3/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-27              93
       6/3/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.97
       6/3/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.76
       6/3/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                       100
       6/3/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       6/3/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       6/3/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       6/3/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.44
       6/3/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                       100
       6/3/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       6/3/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 202210 Truck Lease             278.76
       6/3/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       6/3/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       6/3/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       6/3/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       6/3/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/3/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/3/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/3/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/3/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.6
       6/3/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.25
       6/3/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.36
       6/3/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                       100
       6/3/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       6/3/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       6/3/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/3/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       6/3/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       6/3/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/3/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/3/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.01
       6/3/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.01
       6/3/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           195
       6/3/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.14
       6/3/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.87
       6/3/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
       6/3/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       6/3/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/3/2017    709   KP0004   Owner Operator   Tire Purchase                  905-02564320 5/19/17                   59.06
       6/3/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00351522 - PO System          361.54
       6/3/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       6/3/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       6/3/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       6/3/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
       6/3/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       6/3/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 202281 Lease Q1111             252.11
       6/3/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       6/3/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       6/3/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/3/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/3/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.25
       6/3/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                       100
       6/3/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       6/3/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5

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       6/3/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
       6/3/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                            8
       6/3/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                              50
       6/3/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.67
       6/3/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                        100
       6/3/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       49.69
       6/3/2017    709   MA0092   Owner Operator   Repair Order                   CTMS - 202304 New Truck Set Up          262.5
       6/3/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
       6/3/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                          13
       6/3/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                       70.32
       6/3/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL              8.75
       6/3/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                            8
       6/3/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                              50
       6/3/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.91
       6/3/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.33
       6/3/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                        100
       6/3/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD              39.07
       6/3/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 202215 Q1113 Lease              252.11
       6/3/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
       6/3/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            260
       6/3/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                        100
       6/3/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           35.16
       6/3/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
       6/3/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
       6/3/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                           13
       6/3/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                             100
       6/3/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       6/3/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          282.67
       6/3/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          291.93
       6/3/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.88
       6/3/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          133.34
       6/3/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment           262.3
       6/3/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    53.13
       6/3/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                          337.19
       6/3/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
       6/3/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           13
       6/3/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           1000
       6/3/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             100
       6/3/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       6/3/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                            426
       6/3/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                       32.99
       6/3/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       71.88
       6/3/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
       6/3/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                          323.05
       6/3/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
       6/3/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                           13
       6/3/2017    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                    -3186.38
       6/3/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
       6/3/2017    709   NB0029   Owner Operator   Express Check                  T-Check Payment                       3186.38
       6/3/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           358.8
       6/3/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.42
       6/3/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          341.07
       6/3/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                        100
       6/3/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               35.16
       6/3/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 202280 Lease                    215.66
       6/3/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
       6/3/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
       6/3/2017    709   NG0005   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-10          -20.97
       6/3/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                               80
       6/3/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.8
       6/3/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.29
       6/3/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                       100
       6/3/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 32.98
       6/3/2017    709   NT9564   Owner Operator   Advance                        Acc Clm 63764 s/u pmts                   100
       6/3/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75

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       6/3/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           13
       6/3/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                       10.58
       6/3/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                       32.99
       6/3/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              30.47
       6/3/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 202214 Truck 73130 Leas         196.65
       6/3/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
       6/3/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.16
       6/3/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
       6/3/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 202209 Down Payment lo          303.55
       6/3/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                      52.2
       6/3/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       6/3/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
       6/3/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
       6/3/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.76
       6/3/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.68
       6/3/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                       32.99
       6/3/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          251.58
       6/3/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   103.07
       6/3/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                          504.72
       6/3/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       6/3/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
       6/3/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.71
       6/3/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 21975A                       100
       6/3/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                       32.99
       6/3/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.22
       6/3/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
       6/3/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       6/3/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
       6/3/2017    709   RL0062   Owner Operator   Express Check                  Cacelled EFS Check 164164            -6743.42
       6/3/2017    709   RL0062   Owner Operator   Express Check                  Cancelled EFS Check 164265           -8771.66
       6/3/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
       6/3/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
       6/3/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       6/3/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       6/3/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.46
       6/3/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           83.72
       6/3/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.49
       6/3/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.59
       6/3/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           140.3
       6/3/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                       32.99
       6/3/2017    709   RL0062   Owner Operator   Loan Repayment                 Close open loan                       8613.06
       6/3/2017    709   RL0062   Owner Operator   Loan Repayment                 Crdt Exp Ck 164265 s/u loan          -8859.38
       6/3/2017    709   RL0062   Owner Operator   Loan Repayment                 Crdt loan intrst for pmt loan2         -17.45
       6/3/2017    709   RL0062   Owner Operator   Loan Repayment                 Credit for loan pmt Loan 2            -246.33
       6/3/2017    709   RL0062   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          263.78
       6/3/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.15
       6/3/2017    709   RL0062   Owner Operator   T Chek Fee                     ExpressCheck Fee                        87.72
       6/3/2017    709   RL0062   Owner Operator   T Chek Fee                     ExpressCheck Fee                        67.43
       6/3/2017    709   RL0062   Owner Operator   T Chek Fee                     Tractor Repair 32912                  6743.42
       6/3/2017    709   RL0062   Owner Operator   T Chek Fee                     Tractor Repair 32912                  8771.66
       6/3/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          512.16
       6/3/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
       6/3/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                            8
       6/3/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                              50
       6/3/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.05
       6/3/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.36
       6/3/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     37.5
       6/3/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                     27.48
       6/3/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                        8.75
       6/3/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                           13
       6/3/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.53
       6/3/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                        100
       6/3/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/3/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        31.25
       6/3/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
       6/3/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                           13
       6/3/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                               40

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       6/3/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
       6/3/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.47
       6/3/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                       100
       6/3/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       6/3/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 202210 Q1202 Truck Leas        278.76
       6/3/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts              250
       6/3/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       6/3/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       6/3/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       6/3/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/3/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/3/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          425.3
       6/3/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
       6/3/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                       100
       6/3/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       6/3/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       6/3/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 202034 Q1248                    60.09
       6/3/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 202219 Q1248                   311.97
       6/3/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       6/3/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       6/3/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       6/3/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/3/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/3/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/3/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/3/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.14
       6/3/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.24
       6/3/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.77
       6/3/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.62
       6/3/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
       6/3/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       6/3/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       6/3/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       6/3/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.99
       6/3/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.02
       6/3/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.76
       6/3/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.86
       6/3/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       6/3/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       6/3/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 202208 Sub Lease               388.33
       6/3/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
       6/3/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       6/3/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       6/3/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.1
       6/3/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.15
       6/3/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.25
       6/3/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.14
       6/3/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       6/3/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       6/3/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       6/3/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.89
       6/3/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.81
       6/3/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                       100
       6/3/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       6/3/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 202217 Tractor Sub leas        242.03
       6/3/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
       6/3/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
       6/3/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/3/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       6/3/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       6/3/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/3/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/3/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/3/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/3/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.4
       6/3/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.66

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       6/3/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.7
       6/3/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.85
       6/3/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.29
       6/3/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                       100
       6/3/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       6/3/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 202308 New Truck Set Up        248.96
       6/3/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       6/3/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       6/3/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       6/3/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       6/3/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       6/3/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       6/3/2017    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-10         -21.13
       6/3/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              60
       6/3/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       6/3/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.93
       6/3/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.78
       6/3/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.56
       6/3/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.33
       6/3/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          247.5
       6/3/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
       6/3/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                       100
       6/3/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       6/3/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 202219 Q1238 Lease             311.97
       6/3/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
       6/3/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       6/3/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/3/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/3/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/3/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/3/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.81
       6/3/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.45
       6/3/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.79
       6/3/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.73
       6/3/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
       6/3/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
       6/3/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       6/3/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                       100
       6/3/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/3/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       6/3/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.43
       6/3/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.21
       6/3/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.46
       6/3/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.19
       6/3/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                       100
       6/3/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       6/3/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       6/3/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       6/3/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       6/3/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.96
       6/3/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.34
       6/3/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                       100
       6/3/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       6/3/2017    742   CA0089   Owner Operator   Toll Charges                   33987,ILTOLL,North Ave.                 -5.1
       6/3/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL             -35
       6/3/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       6/3/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                           326
       6/3/2017    742   CT0085   Owner Operator   Highway Use Tax                HUTC:2017 - Q13171                     10.58
       6/3/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                     32.99
       6/3/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD          -328.13
       6/3/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           -10
       6/3/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 202215 Sub Lease Q13171        352.68
       6/3/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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       6/3/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       6/3/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           470
       6/3/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.51
       6/3/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.74
       6/3/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.51
       6/3/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                       100
       6/3/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       6/3/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/3/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/3/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       6/3/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.72
       6/3/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.97
       6/3/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          452.2
       6/3/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
       6/3/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       6/3/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       6/3/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       6/3/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       6/3/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.45
       6/3/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
       6/3/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       6/3/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       6/3/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/3/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       6/3/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.11
       6/3/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.99
       6/3/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.69
       6/3/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
       6/3/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       6/3/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/3/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       6/3/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       6/3/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       6/3/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.06
       6/3/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.13
       6/3/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.03
       6/3/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.88
       6/3/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.04
       6/3/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
       6/3/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       6/3/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       6/3/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       6/3/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       6/3/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       6/3/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       6/3/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
       6/3/2017    742   IK0012   Owner Operator   Charge back by affiliate       CTMS - 202263 gortex suit               200
       6/3/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
       6/3/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.98
       6/3/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
       6/3/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
       6/3/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
       6/3/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
       6/3/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
       6/3/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
       6/3/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
       6/3/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.09
       6/3/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.79
       6/3/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.47
       6/3/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.12
       6/3/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.11
       6/3/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       6/3/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.86
       6/3/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.88
       6/3/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
       6/3/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
       6/3/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       6/3/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/3/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/3/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.41
       6/3/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
       6/3/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          12.92
       6/3/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
       6/3/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
       6/3/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       6/3/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       6/3/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/3/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            300
       6/3/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       6/3/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/3/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.91
       6/3/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.55
       6/3/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.01
       6/3/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
       6/3/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                       100
       6/3/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
       6/3/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
       6/3/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 202215 Q1247 Sub Lease         311.97
       6/3/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       6/3/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       6/3/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.08
       6/3/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.01
       6/3/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.67
       6/3/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100
       6/3/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       6/3/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       6/3/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       6/3/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       6/3/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       6/3/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       6/3/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
       6/3/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
       6/3/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
       6/3/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
       6/3/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       6/3/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       6/3/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       6/3/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       6/3/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       6/3/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
       6/3/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       6/3/2017    742   PC0012   Owner Operator   Accident Claim                 05/04/17 PC0012 Incident               2000
       6/3/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/3/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/3/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/3/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       6/3/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       6/3/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       6/3/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       6/3/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       6/3/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       6/3/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/3/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/3/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/3/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/3/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.47
       6/3/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.17
       6/3/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.14
       6/3/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.68
       6/3/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.33

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       6/3/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.9
       6/3/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.61
       6/3/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.59
       6/3/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
       6/3/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
       6/3/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
       6/3/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       6/3/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       6/3/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
       6/3/2017    742   PC0012   Owner Operator   Toll Charges                   32969     ,FasTrak,Carquinez              25
       6/3/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          56.56
       6/3/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       6/3/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       6/3/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             -35
       6/3/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       6/3/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.79
       6/3/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.39
       6/3/2017    742   RN0054   Owner Operator   Highway Use Tax                HUTC:2017 - Q13157                     10.58
       6/3/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                     32.99
       6/3/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD          -297.03
       6/3/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           -10
       6/3/2017    742   RN0054   Owner Operator   Repair Order                   CTMS - 202263 repair                      38
       6/3/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 202209 Tractor Lease           353.28
       6/3/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       6/3/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       6/3/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
       6/3/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       6/3/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       6/3/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       6/3/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       6/3/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/3/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.8
       6/3/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          192.3
       6/3/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.6
       6/3/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.05
       6/3/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                       100
       6/3/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/3/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       6/3/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       6/3/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        LWO:Reseat Charge Lease 52901        -826.13
       6/3/2017    844   JK0112   Owner Operator   *Arrears Collection W/O        WO:Reseat Charge Lease 52901         -826.12
       6/3/2017    844   JK0112   Owner Operator   Repair Order                   Reseat Charge Lease 52901            1652.25
      6/10/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      6/10/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      6/10/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/10/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/10/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.98
      6/10/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                      100
      6/10/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      6/10/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      6/10/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      6/10/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.56
      6/10/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.11
      6/10/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.39
      6/10/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.92
      6/10/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.13
      6/10/2017    709   AR0064   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            179.35
      6/10/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                      100
      6/10/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 202405 Q13147 Lease            440.14
      6/10/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      6/10/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      6/10/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.75
      6/10/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.86
      6/10/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      6/10/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.04
      6/10/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.43
      6/10/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.03

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      6/10/2017    709   AV0021   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             22.96
      6/10/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                      100
      6/10/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 202444 Q13169 Sublease         352.68
      6/10/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      6/10/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      6/10/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      6/10/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      6/10/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      6/10/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           341
      6/10/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.45
      6/10/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.22
      6/10/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          328.8
      6/10/2017    709   CC0134   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             19.37
      6/10/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                      100
      6/10/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   CC0134   Owner Operator   Repair Order                   CTMS - 202187 Repair                    2.11
      6/10/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 202214 Q13168 sub lease        352.68
      6/10/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 202404 Q13168 sub lease        352.68
      6/10/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/10/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      6/10/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      6/10/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/10/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/10/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.52
      6/10/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.36
      6/10/2017    709   CM0119   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            139.84
      6/10/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      6/10/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      6/10/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/10/2017    709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00351854 - PO System          197.51
      6/10/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      6/10/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      6/10/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      6/10/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.16
      6/10/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.09
      6/10/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.95
      6/10/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          123.4
      6/10/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.06
      6/10/2017    709   CR0064   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             30.04
      6/10/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      6/10/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      6/10/2017    709   CR0064   Owner Operator   Truck Payment                  CTMS - 202505 Truck Rental              100
      6/10/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      6/10/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      6/10/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.05
      6/10/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                       100
      6/10/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      6/10/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 202409 Q1201                   278.76
      6/10/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/10/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.41
      6/10/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.14
      6/10/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.43
      6/10/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.15
      6/10/2017    709   DL0029   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             67.59
      6/10/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                       100
      6/10/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   DL0029   Owner Operator   Permits                        OR16:2017 - 33850                          8
      6/10/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      6/10/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      6/10/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      6/10/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/10/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/10/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.68
      6/10/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.83
      6/10/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.26

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      6/10/2017    709   DL0107   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks           287.45
      6/10/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                     10.58
      6/10/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                      100
      6/10/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         261.2
      6/10/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
      6/10/2017    709   DL0107   Owner Operator   Toll Charges                   Q1245     ,TxTag,Ship Channe              7
      6/10/2017    709   DL0107   Owner Operator   Toll Charges                   Q1245     ,TxTag,Ship Channe              7
      6/10/2017    709   DL0107   Owner Operator   Toll Charges                   Q1245     ,TxTag,Ship Channe            3.5
      6/10/2017    709   DL0107   Owner Operator   Toll Charges                   Q1245     ,TxTag,Ship Channe            3.5
      6/10/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 202341 Sublease               338.99
      6/10/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
      6/10/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/10/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      6/10/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      6/10/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      6/10/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.92
      6/10/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        554.23
      6/10/2017    709   DS0049   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            126.1
      6/10/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                     32.99
      6/10/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
      6/10/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      6/10/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      6/10/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        412.58
      6/10/2017    709   DS0225   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks           -25.51
      6/10/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                      100
      6/10/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.07
      6/10/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
      6/10/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      6/10/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.49
      6/10/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.33
      6/10/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        199.72
      6/10/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        291.03
      6/10/2017    709   DW0138   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks           205.81
      6/10/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                     32.99
      6/10/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      6/10/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
      6/10/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      6/10/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/10/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/10/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      6/10/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      6/10/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      6/10/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      6/10/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      6/10/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      6/10/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      6/10/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      6/10/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/10/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/10/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/10/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/10/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/10/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/10/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/10/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/10/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.63
      6/10/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.6
      6/10/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.8
      6/10/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.04
      6/10/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        384.58
      6/10/2017    709   EA0003   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks           101.73
      6/10/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                     32.99
      6/10/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                     32.99
      6/10/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      6/10/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      6/10/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      6/10/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      6/10/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75

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      6/10/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      6/10/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             300
      6/10/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/10/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.5
      6/10/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.14
      6/10/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.02
      6/10/2017    709   EE0011   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             61.15
      6/10/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      6/10/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      6/10/2017    709   EE0011   Owner Operator   Tire Purchase                  PO: 709-00350732 - PO System           259.5
      6/10/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      6/10/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      6/10/2017    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33828           9.84
      6/10/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      6/10/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.44
      6/10/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.01
      6/10/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.03
      6/10/2017    709   EG0062   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            -11.37
      6/10/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
      6/10/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      6/10/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      6/10/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 6/8 #17105                     350.36
      6/10/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      6/10/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      6/10/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.84
      6/10/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          577.4
      6/10/2017    709   EI0003   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            117.42
      6/10/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      6/10/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      6/10/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      6/10/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      6/10/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.29
      6/10/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                            170
      6/10/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          243.7
      6/10/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.14
      6/10/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                        100
      6/10/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      6/10/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 202449 truck lease 3304        434.29
      6/10/2017    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL             8.75
      6/10/2017    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL             8.75
      6/10/2017    709   FT0004   Owner Operator   BOBTAIL INS.                   73129 2007 Freightliner NTL             8.75
      6/10/2017    709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                    12.5
      6/10/2017    709   FT0004   Owner Operator   Broker Pre Pass                73129 PrePass Device                    12.5
      6/10/2017    709   FT0004   Owner Operator   Communication Charge           PNet Device Not Returned              806.71
      6/10/2017    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                          13
      6/10/2017    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                          13
      6/10/2017    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                          13
      6/10/2017    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                          13
      6/10/2017    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                          13
      6/10/2017    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                          13
      6/10/2017    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                          13
      6/10/2017    709   FT0004   Owner Operator   Communication Charge           PNet Hware 73129                          13
      6/10/2017    709   FT0004   Owner Operator   ESCROW                         Final Balance Refund                   -3000
      6/10/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             300
      6/10/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance                             150
      6/10/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      6/10/2017    709   FT0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/10/2017    709   FT0004   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement               4.33
      6/10/2017    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                      10.58
      6/10/2017    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                      10.58
      6/10/2017    709   FT0004   Owner Operator   Highway Use Tax                HUTC:2017 - 73129                      10.58
      6/10/2017    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2017 - 73129                      32.99
      6/10/2017    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2017 - 73129                      32.99
      6/10/2017    709   FT0004   Owner Operator   IRP License Deduction          LCIL:2017 - 73129                      18.17
      6/10/2017    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   FT0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      6/10/2017    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.52
      6/10/2017    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.51
      6/10/2017    709   FT0004   Owner Operator   PHYSICAL DAMAGE                73129 2007 Freightliner PD            29.52
      6/10/2017    709   FT0004   Owner Operator   Tire Fee                       Tire Fee: 1997929                         4
      6/10/2017    709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00347878 - PO System          10.41
      6/10/2017    709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00347878 - PO System          10.41
      6/10/2017    709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00347878 - PO System          10.41
      6/10/2017    709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00347878 - PO System          10.41
      6/10/2017    709   FT0004   Owner Operator   Tire Purchase                  PO: 709-00347878 - PO System          10.36
      6/10/2017    709   FT0004   Owner Operator   Truck Payment                  CTMS - 199927 73129                  181.08
      6/10/2017    709   FT0004   Owner Operator   Truck Payment                  CTMS - 200136 73129                  181.08
      6/10/2017    709   FT0004   Owner Operator   Truck Payment                  CTMS - 200310 73129                  181.08
      6/10/2017    709   FT0004   Owner Operator   Truck Payment                  CTMS - 200485 73129                  181.08
      6/10/2017    709   FT0004   Owner Operator   Truck Payment                  CTMS - 200700 73129                  181.08
      6/10/2017    709   FT0004   Owner Operator   Truck Payment                  CTMS - 200893 73129                  181.08
      6/10/2017    709   FT0004   Owner Operator   Truck Payment                  CTMS - 201053 73129                  181.08
      6/10/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      6/10/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      6/10/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.22
      6/10/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        403.22
      6/10/2017    709   FV0001   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            -0.18
      6/10/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                     100
      6/10/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  82.04
      6/10/2017    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00351791 - PO System         790.84
      6/10/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
      6/10/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
      6/10/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.37
      6/10/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                      100
      6/10/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
      6/10/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 202407 Lease                  252.11
      6/10/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL               8.75
      6/10/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                          8
      6/10/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/10/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        351.75
      6/10/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        332.01
      6/10/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.37
      6/10/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                      100
      6/10/2017    709   GW0043   Owner Operator   Miscellaneous                  Void check 966978                  -2091.22
      6/10/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   GW0043   Owner Operator   Permits1                       NY13:2016 - Q1263                        19
      6/10/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD               54.09
      6/10/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 202485 Tractor Q1235         -364.78
      6/10/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                         8
      6/10/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/10/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        262.93
      6/10/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        349.23
      6/10/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.65
      6/10/2017    709   HC0023   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             6.77
      6/10/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                     100
      6/10/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 202405 Q13170                 352.68
      6/10/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      6/10/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      6/10/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/10/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           300
      6/10/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      6/10/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        466.86
      6/10/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        440.96
      6/10/2017    709   HG0007   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            -0.88
      6/10/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                      100
      6/10/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
      6/10/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      6/10/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      6/10/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                          100
      6/10/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        353.37
      6/10/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.21
      6/10/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        358.16
      6/10/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.4
      6/10/2017    709   HG0027   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             95.8
      6/10/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                      100
      6/10/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      6/10/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      6/10/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      6/10/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/10/2017    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-17           -100
      6/10/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.12
      6/10/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.43
      6/10/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.69
      6/10/2017    709   IR0002   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks           -244.47
      6/10/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      6/10/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      6/10/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/10/2017    709   IR0002   Owner Operator   Repair Order                   CTMS - 202505 Repair                      70
      6/10/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      6/10/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      6/10/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      6/10/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
      6/10/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      6/10/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         364.63
      6/10/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/10/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
      6/10/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/10/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/10/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.86
      6/10/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.36
      6/10/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.22
      6/10/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.76
      6/10/2017    709   JC0292   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            349.78
      6/10/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      6/10/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         255.43
      6/10/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
      6/10/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      6/10/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/10/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/10/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      6/10/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      6/10/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      6/10/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      6/10/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      6/10/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/10/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.87
      6/10/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.06
      6/10/2017    709   JG0017   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             65.38
      6/10/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      6/10/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      6/10/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      6/10/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      6/10/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      6/10/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         281.33
      6/10/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/10/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      6/10/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             300
      6/10/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/10/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/10/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/10/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          456.7
      6/10/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.51
      6/10/2017    709   JG0072   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            156.63
      6/10/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      6/10/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      6/10/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      6/10/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      6/10/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      6/10/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/10/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/10/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.01
      6/10/2017    709   JQ0015   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             -6.47
      6/10/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                        100
      6/10/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      6/10/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      6/10/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      6/10/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      6/10/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.01
      6/10/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.09
      6/10/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                       100
      6/10/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      6/10/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 202358 Truck Lease             278.76
      6/10/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      6/10/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      6/10/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      6/10/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/10/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/10/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/10/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.21
      6/10/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.72
      6/10/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                       100
      6/10/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      6/10/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      6/10/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/10/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      6/10/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/10/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            150
      6/10/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      6/10/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           261
      6/10/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      6/10/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          38.84
      6/10/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      6/10/2017    709   KP0004   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            267.56
      6/10/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      6/10/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      6/10/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/10/2017    709   KP0004   Owner Operator   Tire Purchase                  905-02564320 5/19/17                   59.06
      6/10/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00351522 - PO System          361.54
      6/10/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      6/10/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      6/10/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      6/10/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
      6/10/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      6/10/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 202487 Lease Q1111             252.11
      6/10/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      6/10/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      6/10/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/10/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/10/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/10/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/10/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.18
      6/10/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.08
      6/10/2017    709   LS0023   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            119.84
      6/10/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                       100
      6/10/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      6/10/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      6/10/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/10/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      6/10/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         109.73
      6/10/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.47
      6/10/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.99
      6/10/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.94
      6/10/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.04
      6/10/2017    709   MA0092   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            139.74
      6/10/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                       100
      6/10/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   MA0092   Owner Operator   Permits                        NY13:2017 - 34005                        1.5
      6/10/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      6/10/2017    709   MA0092   Owner Operator   Repair Order                   CTMS - 202518 New Truck Set Up         262.5
      6/10/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      6/10/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      6/10/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.49

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      6/10/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.32
      6/10/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
      6/10/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
      6/10/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/10/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.96
      6/10/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        276.01
      6/10/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        330.16
      6/10/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.19
      6/10/2017    709   ME0053   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             21.4
      6/10/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                      100
      6/10/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.07
      6/10/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 202404 Q1113 Lease            252.11
      6/10/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      6/10/2017    709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance                           150
      6/10/2017    709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
      6/10/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.01
      6/10/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          400
      6/10/2017    709   MG0067   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks          -357.55
      6/10/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                      100
      6/10/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      6/10/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      6/10/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      6/10/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      6/10/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/10/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/10/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        376.46
      6/10/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        315.47
      6/10/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         262.3
      6/10/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      6/10/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      6/10/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      6/10/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      6/10/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         1000
      6/10/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           125
      6/10/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1.25
      6/10/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.6
      6/10/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.48
      6/10/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                     32.99
      6/10/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      6/10/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      6/10/2017    709   MP0035   Owner Operator   Repair Order                   CTMS - 202381 Fuel                  -138.48
      6/10/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      6/10/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      6/10/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      6/10/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          500
      6/10/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        353.97
      6/10/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.37
      6/10/2017    709   NB0029   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            79.57
      6/10/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                      100
      6/10/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      6/10/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 202486 Lease                  215.66
      6/10/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      6/10/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      6/10/2017    709   NG0005   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-3           20.97
      6/10/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/10/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/10/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         94.35
      6/10/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        343.08
      6/10/2017    709   NG0005   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             7.56
      6/10/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                     100
      6/10/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/10/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.98
      6/10/2017    709   NT9564   Owner Operator   Advance                        Acc Clm 63764 s/u pmts                 100
      6/10/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      6/10/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      6/10/2017    709   NT9564   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks           106.25
      6/10/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                     10.58

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      6/10/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                      32.99
      6/10/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      6/10/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 202404 Truck 73130 Leas        196.65
      6/10/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      6/10/2017    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-17        -332.48
      6/10/2017    709   RC0030   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            400.74
      6/10/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      6/10/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      6/10/2017    709   RC0030   Owner Operator   Repair Order                   CTMS - 202506 Parts                    37.78
      6/10/2017    709   RC0030   Owner Operator   Tire Fee                       Tire Fee: 2023716                         32
      6/10/2017    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00352612 - PO System          936.91
      6/10/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 202358 Down Payment lo         303.55
      6/10/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      6/10/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/10/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/10/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/10/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.22
      6/10/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.25
      6/10/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.05
      6/10/2017    709   RC0089   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks           -351.29
      6/10/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      6/10/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         251.58
      6/10/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      6/10/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      6/10/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/10/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/10/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.93
      6/10/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.16
      6/10/2017    709   RL0017   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks           -278.79
      6/10/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 21975A                      100
      6/10/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      6/10/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      6/10/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      6/10/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/10/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      6/10/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/10/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/10/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/10/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/10/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.79
      6/10/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.29
      6/10/2017    709   RL0062   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            128.27
      6/10/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      6/10/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      6/10/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      6/10/2017    709   RL0062   Owner Operator   Truck Payment                  CTMS - 202467 Truck Rental              500
      6/10/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/10/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      6/10/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.56
      6/10/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.72
      6/10/2017    709   RL0180   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             55.29
      6/10/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      6/10/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      6/10/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      6/10/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      6/10/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          383.9
      6/10/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.02
      6/10/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.67
      6/10/2017    709   RM0026   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             87.02
      6/10/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                       100
      6/10/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      6/10/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      6/10/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      6/10/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.62
      6/10/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.45

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      6/10/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                       100
      6/10/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      6/10/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 202358 Q1202 Truck Leas        278.76
      6/10/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts              250
      6/10/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      6/10/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      6/10/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/10/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/10/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.49
      6/10/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.25
      6/10/2017    709   RR0123   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            263.42
      6/10/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
      6/10/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                       100
      6/10/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      6/10/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      6/10/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 202408 Q1248                   311.97
      6/10/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      6/10/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      6/10/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      6/10/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/10/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/10/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.11
      6/10/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.99
      6/10/2017    709   SB0009   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            209.06
      6/10/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      6/10/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      6/10/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      6/10/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      6/10/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.98
      6/10/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.95
      6/10/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.94
      6/10/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      6/10/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      6/10/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 202357 Sub Lease               388.33
      6/10/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      6/10/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      6/10/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      6/10/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.99
      6/10/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.29
      6/10/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.72
      6/10/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.06
      6/10/2017    709   SN0019   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             29.33
      6/10/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      6/10/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      6/10/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      6/10/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.99
      6/10/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           433
      6/10/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.64
      6/10/2017    709   VB0015   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             60.85
      6/10/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                       100
      6/10/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      6/10/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 202406 Tractor Sub leas        242.03
      6/10/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
      6/10/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
      6/10/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/10/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      6/10/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      6/10/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.29
      6/10/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.37
      6/10/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.47
      6/10/2017    709   VJ0006   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             62.75
      6/10/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                       100
      6/10/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      6/10/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 202516 New Truck Set Up        248.96
      6/10/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75

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      6/10/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      6/10/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      6/10/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      6/10/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      6/10/2017    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-3            21.13
      6/10/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.75
      6/10/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.79
      6/10/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.17
      6/10/2017    709   WH0087   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            143.11
      6/10/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      6/10/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                        100
      6/10/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      6/10/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 202409 Q1238 Lease             272.49
      6/10/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      6/10/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      6/10/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/10/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/10/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.88
      6/10/2017    742   AP0047   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            209.47
      6/10/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      6/10/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      6/10/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      6/10/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    742   AS0089   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             68.29
      6/10/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                        100
      6/10/2017    742   AS0089   Owner Operator   Toll Charges                   33912,TxTag,Ship Channel Bridg             7
      6/10/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/10/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      6/10/2017    742   BS0078   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-17           -186
      6/10/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.06
      6/10/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.66
      6/10/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.55
      6/10/2017    742   BS0078   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             91.87
      6/10/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                        100
      6/10/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      6/10/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/10/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,Ship Channel Bridg           3.5
      6/10/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,Ship Channel Bridg             7
      6/10/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,Ship Channel Bridg           3.5
      6/10/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      6/10/2017    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33987           9.84
      6/10/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      6/10/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.12
      6/10/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.01
      6/10/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.54
      6/10/2017    742   CA0089   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            364.17
      6/10/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                        100
      6/10/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   CA0089   Owner Operator   Permits                        OR16:2017 - 33987                          8
      6/10/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      6/10/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      6/10/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    742   CT0085   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             31.95
      6/10/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                       100
      6/10/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171 ,TxTag,Ship Channe                  7
      6/10/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 202404 Sub Lease Q13171        352.68
      6/10/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/10/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      6/10/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.75
      6/10/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.64
      6/10/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.65
      6/10/2017    742   DA0067   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             79.11
      6/10/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                        100
      6/10/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      6/10/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      6/10/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/10/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      6/10/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.93
      6/10/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.16
      6/10/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.1
      6/10/2017    742   EA0039   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks              37.7
      6/10/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
      6/10/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   EA0039   Owner Operator   Permits                        NM07:2017 - 33993                        5.5
      6/10/2017    742   EA0039   Owner Operator   Permits                        NY13:2017 - 33993                        1.5
      6/10/2017    742   EA0039   Owner Operator   Permits                        OR16:2017 - 33993                          8
      6/10/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      6/10/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/10/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      6/10/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      6/10/2017    742   ED0041   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             71.69
      6/10/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
      6/10/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      6/10/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      6/10/2017    742   ED0041   Owner Operator   Toll Charges                   32897,TxTag,SH - East Plaza L8             7
      6/10/2017    742   ED0041   Owner Operator   Toll Charges                   32897,TxTag,Ship Channel Bridg             7
      6/10/2017    742   ED0041   Owner Operator   Toll Charges                   32897,TxTag,Ship Channel Bridg             7
      6/10/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/10/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      6/10/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.1
      6/10/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.26
      6/10/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          196.2
      6/10/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.62
      6/10/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.23
      6/10/2017    742   EN0016   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             45.24
      6/10/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      6/10/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      6/10/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/10/2017    742   EN0016   Owner Operator   Toll Charges                   32947,TxTag,Ship Channel Bridg             7
      6/10/2017    742   EN0016   Owner Operator   Toll Charges                   32947,TxTag,Ship Channel Bridg             7
      6/10/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      6/10/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      6/10/2017    742   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33846           9.84
      6/10/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      6/10/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.85
      6/10/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.61
      6/10/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.62
      6/10/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.46
      6/10/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.94
      6/10/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
      6/10/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      6/10/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      6/10/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      6/10/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      6/10/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      6/10/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      6/10/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      6/10/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      6/10/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.89
      6/10/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      6/10/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.18
      6/10/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      6/10/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      6/10/2017    742   IK0012   Owner Operator   Repair Order                   CTMS - 202507 repair                    200
      6/10/2017    742   IK0012   Owner Operator   Repair Order                   CTMS - 202507 repair                    200
      6/10/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/10/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/10/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      6/10/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      6/10/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                       100
      6/10/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                       100

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      6/10/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      6/10/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      6/10/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/10/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/10/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      6/10/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      6/10/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      6/10/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/10/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/10/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/10/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/10/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.85
      6/10/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.65
      6/10/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.33
      6/10/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.15
      6/10/2017    742   MT0112   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            107.12
      6/10/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
      6/10/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                       100
      6/10/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      6/10/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      6/10/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 202404 Q1247 Sub Lease         311.97
      6/10/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      6/10/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      6/10/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.06
      6/10/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.18
      6/10/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.53
      6/10/2017    742   NG0024   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             61.82
      6/10/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100
      6/10/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      6/10/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      6/10/2017    742   NG0024   Owner Operator   Repair Order                   CTMS - 202506 repair                      60
      6/10/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/10/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/10/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.33
      6/10/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.53
      6/10/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.53
      6/10/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                       100
      6/10/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   NK0013   Owner Operator   Permits                        IL02:2017 - 34038                       3.75
      6/10/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    28.9
      6/10/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      6/10/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      6/10/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      6/10/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      6/10/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/10/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      6/10/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      6/10/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.27
      6/10/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.15
      6/10/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.44
      6/10/2017    742   PC0012   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks            117.38
      6/10/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      6/10/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      6/10/2017    742   PC0012   Owner Operator   Repair Order                   CTMS - 202402 Repair                  233.12
      6/10/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,SH - East Plaza L5             7
      6/10/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,SH - East Plaza L8             7
      6/10/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,SH - South Plaza L             7
      6/10/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,SH - South Plaza L             7
      6/10/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,SH - Southeast Pla             7
      6/10/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,SH - Southeast Pla           3.5
      6/10/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,Ship Channel Bridg             7
      6/10/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,Ship Channel Bridg             7
      6/10/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,Ship Channel Bridg           3.5
      6/10/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,Ship Channel Bridg           3.5
      6/10/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,Ship Channel Bridg             7
      6/10/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      6/10/2017    742   PS0083   Owner Operator   BOBTAIL INS.                   7861 2015 Freightliner NTL              8.75

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      6/10/2017    742   PS0083   Owner Operator   BOBTAIL INS.                   7861 2015 Freightliner NTL              8.75
      6/10/2017    742   PS0083   Owner Operator   BOBTAIL INS.                   7861 2015 Freightliner NTL              8.75
      6/10/2017    742   PS0083   Owner Operator   BOBTAIL INS.                   7861 2015 Freightliner NTL              8.75
      6/10/2017    742   PS0083   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    742   PS0083   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    742   PS0083   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   PS0083   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD              93.75
      6/10/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD              93.75
      6/10/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD              93.75
      6/10/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD              93.75
      6/10/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD Terr           2.5
      6/10/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD Terr           2.5
      6/10/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD Terr           2.5
      6/10/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD Terr           2.5
      6/10/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      6/10/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.55
      6/10/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.07
      6/10/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.22
      6/10/2017    742   RN0054   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             49.28
      6/10/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                      100
      6/10/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   RN0054   Owner Operator   Repair Order                   CTMS - 202402 repair                    180
      6/10/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 202358 Tractor Lease           353.28
      6/10/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/10/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      6/10/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
      6/10/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      6/10/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      6/10/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/10/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      6/10/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/10/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.07
      6/10/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.58
      6/10/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.06
      6/10/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.08
      6/10/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.38
      6/10/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                       100
      6/10/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/10/2017    742   TH0130   Owner Operator   Permits                        OR16:2017 - 33991                          8
      6/10/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      6/10/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/17/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      6/17/2017    709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                   12.5
      6/17/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      6/17/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/17/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/17/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.26
      6/17/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                      100
      6/17/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      6/17/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      6/17/2017    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      6/17/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      6/17/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          168.3
      6/17/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.01
      6/17/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.19
      6/17/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.31
      6/17/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           273
      6/17/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                      100
      6/17/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 202581 Q13147 Lease            440.14
      6/17/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      6/17/2017    709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                   12.5
      6/17/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      6/17/2017    709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-24        -174.24
      6/17/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.46
      6/17/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.43
      6/17/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.91
      6/17/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.83

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      6/17/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            330
      6/17/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                       100
      6/17/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/17/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 202620 Q13169 Sublease          352.68
      6/17/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
      6/17/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
      6/17/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/17/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/17/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.13
      6/17/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
      6/17/2017    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                    12.5
      6/17/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
      6/17/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/17/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          271.49
      6/17/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.74
      6/17/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           264.1
      6/17/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.11
      6/17/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                            28.3
      6/17/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                       100
      6/17/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/17/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 202579 Q13168 sub lease         352.68
      6/17/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      6/17/2017    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                     12.5
      6/17/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
      6/17/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                            300
      6/17/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/17/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      6/17/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          408.73
      6/17/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          365.66
      6/17/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                       32.99
      6/17/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/17/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.96
      6/17/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      6/17/2017    709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00351854 - PO System           197.45
      6/17/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
      6/17/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      6/17/2017    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                     12.5
      6/17/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                           13
      6/17/2017    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-24         -886.62
      6/17/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.65
      6/17/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          239.66
      6/17/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           260.3
      6/17/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/17/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       39.07
      6/17/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                          245.63
      6/17/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL              8.75
      6/17/2017    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                     12.5
      6/17/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                            8
      6/17/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          272.17
      6/17/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                        100
      6/17/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/17/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD              65.08
      6/17/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 202584 Q1201                    278.76
      6/17/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      6/17/2017    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                     12.5
      6/17/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      6/17/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      6/17/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/17/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/17/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           31.91
      6/17/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.97
      6/17/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.55
      6/17/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.09
      6/17/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                        100
      6/17/2017    709   DL0029   Owner Operator   Loan Repayment                 Crdt Exp Ck 165135 s/u loan          -1741.73
      6/17/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment          251.12
      6/17/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/17/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     34.2
      6/17/2017    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        17.24
      6/17/2017    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                  1724.49
      6/17/2017    709   DL0029   Owner Operator   Tire Fee                       Tire Fee: 2026953                           8
      6/17/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00351413 - PO System           110.05
      6/17/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00352805 - PO System           197.37

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      6/17/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      6/17/2017    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                   12.5
      6/17/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      6/17/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.63
      6/17/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.83
      6/17/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        152.74
      6/17/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        466.08
      6/17/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                     10.58
      6/17/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                      100
      6/17/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         261.2
      6/17/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/17/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
      6/17/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 202545 Sublease               338.99
      6/17/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
      6/17/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/17/2017    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                   12.5
      6/17/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      6/17/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      6/17/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      6/17/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.94
      6/17/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        262.84
      6/17/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        389.76
      6/17/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                     32.99
      6/17/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/17/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
      6/17/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      6/17/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      6/17/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        130.24
      6/17/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         52.56
      6/17/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                      100
      6/17/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/17/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.07
      6/17/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
      6/17/2017    709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                   12.5
      6/17/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      6/17/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.9
      6/17/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        348.46
      6/17/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.12
      6/17/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        272.38
      6/17/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                     32.99
      6/17/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      6/17/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
      6/17/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      6/17/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/17/2017    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                   12.5
      6/17/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      6/17/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      6/17/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/17/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/17/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         28.35
      6/17/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        375.16
      6/17/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                     32.99
      6/17/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/17/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      6/17/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      6/17/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/17/2017    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                   12.5
      6/17/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
      6/17/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/17/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/17/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/17/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/17/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        155.52
      6/17/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                            98
      6/17/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        242.73
      6/17/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        397.11
      6/17/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.08
      6/17/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                     32.99
      6/17/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/17/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.92
      6/17/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
      6/17/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  8.75
      6/17/2017    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                   12.5

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      6/17/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      6/17/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.51
      6/17/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.97
      6/17/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          241.9
      6/17/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
      6/17/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      6/17/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      6/17/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 6/15 #17105                    350.36
      6/17/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      6/17/2017    709   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      6/17/2017    709   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      6/17/2017    709   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.47
      6/17/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          53.55
      6/17/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.79
      6/17/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      6/17/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      6/17/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      6/17/2017    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
      6/17/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      6/17/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.44
      6/17/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.28
      6/17/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          227.1
      6/17/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                       100
      6/17/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      6/17/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 202625 truck lease 3304        434.29
      6/17/2017    709   FT0004   Owner Operator   *Arrears Collection W/O        WO:PNet Device Not Returned          -443.29
      6/17/2017    709   FT0004   Owner Operator   Communication Charge           PNet Device Not Returned              443.29
      6/17/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/17/2017    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      6/17/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      6/17/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.28
      6/17/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.52
      6/17/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                      100
      6/17/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      6/17/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      6/17/2017    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                    12.5
      6/17/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      6/17/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.47
      6/17/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                       100
      6/17/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      6/17/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 202583 Lease                   252.11
      6/17/2017    709   GW0043   Owner Operator   Broker Pre Pass                Q1263 PrePass Device                    12.5
      6/17/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      6/17/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.26
      6/17/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.23
      6/17/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.28
      6/17/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.69
      6/17/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                       100
      6/17/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 202672 Tractor Q1235          -364.78
      6/17/2017    709   HC0023   Owner Operator   Broker Pre Pass                Q13170 PrePass Device                   12.5
      6/17/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      6/17/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.58
      6/17/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.09
      6/17/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.26
      6/17/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                      100
      6/17/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 202580 Q13170                  352.68
      6/17/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      6/17/2017    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                    12.5
      6/17/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      6/17/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/17/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/17/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.51

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      6/17/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.22
      6/17/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          437.3
      6/17/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                        100
      6/17/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      6/17/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/17/2017    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
      6/17/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      6/17/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
      6/17/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.98
      6/17/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.23
      6/17/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.22
      6/17/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.39
      6/17/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.54
      6/17/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.13
      6/17/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                        100
      6/17/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      6/17/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      6/17/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/17/2017    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-10             100
      6/17/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/17/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/17/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.84
      6/17/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.78
      6/17/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.82
      6/17/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      6/17/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      6/17/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/17/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      6/17/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      6/17/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      6/17/2017    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                    12.5
      6/17/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
      6/17/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          68.53
      6/17/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
      6/17/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/17/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/17/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/17/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.93
      6/17/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.99
      6/17/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.59
      6/17/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.51
      6/17/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      6/17/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         255.43
      6/17/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
      6/17/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      6/17/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/17/2017    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
      6/17/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      6/17/2017    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -1000
      6/17/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      6/17/2017    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         1000
      6/17/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      6/17/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/17/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.08
      6/17/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      6/17/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      6/17/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      6/17/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/17/2017    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                    12.5
      6/17/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      6/17/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/17/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/17/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/17/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/17/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/17/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/17/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                            450
      6/17/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          478.3

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      6/17/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.19
      6/17/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      6/17/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      6/17/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      6/17/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      6/17/2017    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                    12.5
      6/17/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      6/17/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/17/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/17/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.18
      6/17/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.88
      6/17/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                       100
      6/17/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      6/17/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      6/17/2017    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                    12.5
      6/17/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      6/17/2017    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/17/2017    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/17/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.47
      6/17/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                       100
      6/17/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      6/17/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 202560 Truck Lease             278.76
      6/17/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      6/17/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      6/17/2017    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                    12.5
      6/17/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      6/17/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/17/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/17/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/17/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/17/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/17/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.28
      6/17/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.26
      6/17/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                       100
      6/17/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      6/17/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      6/17/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/17/2017    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      6/17/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      6/17/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/17/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/17/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/17/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/17/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/17/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.61
      6/17/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.01
      6/17/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.03
      6/17/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.37
      6/17/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          64.22
      6/17/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.01
      6/17/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      6/17/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      6/17/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/17/2017    709   KP0004   Owner Operator   Tire Purchase                  905-02564320 5/19/17                   59.04
      6/17/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00351522 - PO System          361.51
      6/17/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      6/17/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      6/17/2017    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                    12.5
      6/17/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      6/17/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
      6/17/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      6/17/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 202674 Lease Q1111             252.11
      6/17/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      6/17/2017    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      6/17/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      6/17/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         569.34
      6/17/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                       100
      6/17/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      6/17/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      6/17/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      6/17/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      6/17/2017    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                   12.5
      6/17/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      6/17/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.04
      6/17/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
      6/17/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      6/17/2017    709   ME0053   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                    12.5
      6/17/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      6/17/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.9
      6/17/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          366.4
      6/17/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.76
      6/17/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                       100
      6/17/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      6/17/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 202580 Q1113 Lease             252.11
      6/17/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/17/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           265
      6/17/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.75
      6/17/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                       100
      6/17/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      6/17/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/17/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      6/17/2017    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                    12.5
      6/17/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      6/17/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/17/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/17/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.57
      6/17/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.05
      6/17/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.5
      6/17/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          262.3
      6/17/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      6/17/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      6/17/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/17/2017    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
      6/17/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      6/17/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      6/17/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/17/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/17/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.58
      6/17/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.12
      6/17/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      6/17/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      6/17/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/17/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      6/17/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      6/17/2017    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                    12.5
      6/17/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      6/17/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      6/17/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/17/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/17/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.68
      6/17/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                       100
      6/17/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      6/17/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 202673 Lease                   215.66
      6/17/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      6/17/2017    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                   12.5
      6/17/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      6/17/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/17/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/17/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.84
      6/17/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           260
      6/17/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                      100
      6/17/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      6/17/2017    709   NT9564   Owner Operator   Advance                        Acc Clm 63764 s/u pmts                  100

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      6/17/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      6/17/2017    709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                    12.5
      6/17/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      6/17/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
      6/17/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                      32.99
      6/17/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      6/17/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 202579 Truck 73130 Leas        196.65
      6/17/2017    709   RC0030   Owner Operator   Accident Claim                 06/09/17 RC0030 Incident                2000
      6/17/2017    709   RC0030   Owner Operator   Advance                        claim 64897 s/u $250.00 per wk           250
      6/17/2017    709   RC0030   Owner Operator   Advance                        Claim 64897 s/u $250/wk                -2000
      6/17/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      6/17/2017    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-10          332.48
      6/17/2017    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-24         -56.76
      6/17/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      6/17/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      6/17/2017    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00352612 - PO System          936.91
      6/17/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 202560 Down Payment lo         303.55
      6/17/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      6/17/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/17/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
      6/17/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/17/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.66
      6/17/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.72
      6/17/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      6/17/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         251.58
      6/17/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      6/17/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      6/17/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/17/2017    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                   12.5
      6/17/2017    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      6/17/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      6/17/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.89
      6/17/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.22
      6/17/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 21975A                       100
      6/17/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      6/17/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      6/17/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      6/17/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/17/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      6/17/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/17/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/17/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/17/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/17/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.41
      6/17/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.04
      6/17/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.79
      6/17/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      6/17/2017    709   RL0062   Owner Operator   Loan Repayment                 * Rev crdt given in err 6/3/17         17.45
      6/17/2017    709   RL0062   Owner Operator   Loan Repayment                 *Rev crdt given in err 6/3/17         246.33
      6/17/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      6/17/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      6/17/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/17/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      6/17/2017    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-24        -434.11
      6/17/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.29
      6/17/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.82
      6/17/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                         18
      6/17/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      6/17/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      6/17/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      6/17/2017    709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                    12.5
      6/17/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      6/17/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.47
      6/17/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.02
      6/17/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                        100
      6/17/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      6/17/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      6/17/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      6/17/2017    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                    12.5
      6/17/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      6/17/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.81
      6/17/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                        100
      6/17/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      6/17/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 202560 Q1202 Truck Leas        278.76
      6/17/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts               250
      6/17/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      6/17/2017    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                    12.5
      6/17/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      6/17/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/17/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/17/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.71
      6/17/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.17
      6/17/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.78
      6/17/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.82
      6/17/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
      6/17/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                        100
      6/17/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      6/17/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      6/17/2017    709   RR0123   Owner Operator   Tire Fee                       Tire Fee: 2026938                          8
      6/17/2017    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00352279 - PO System          186.85
      6/17/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 202584 Q1248                   311.97
      6/17/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      6/17/2017    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      6/17/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      6/17/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      6/17/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/17/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/17/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.38
      6/17/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.95
      6/17/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.34
      6/17/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.28
      6/17/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      6/17/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      6/17/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      6/17/2017    709   SB0103   Owner Operator   Accident Claim                 06/13/17 SB0103 Incident                2000
      6/17/2017    709   SB0103   Owner Operator   Accident Claim                 reschedule to 6/24/17                  -2000
      6/17/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      6/17/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.88
      6/17/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.73
      6/17/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.62
      6/17/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.34
      6/17/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      6/17/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      6/17/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 202559 Sub Lease               388.33
      6/17/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           16.2
      6/17/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      6/17/2017    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
      6/17/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      6/17/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.48
      6/17/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                        100
      6/17/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      6/17/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 202582 Tractor Sub leas        242.03
      6/17/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
      6/17/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
      6/17/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/17/2017    709   VJ0006   Owner Operator   Broker Pre Pass                33961 PrePass Device                    12.5
      6/17/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      6/17/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      6/17/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/17/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/17/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.36
      6/17/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.17
      6/17/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          174.9

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      6/17/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                       100
      6/17/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      6/17/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 202726 New Truck Set Up        248.96
      6/17/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/17/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      6/17/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      6/17/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      6/17/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      6/17/2017    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      6/17/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      6/17/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      6/17/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.32
      6/17/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.38
      6/17/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.95
      6/17/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.28
      6/17/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      6/17/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                       100
      6/17/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      6/17/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 202409 Q1238 Lease              39.48
      6/17/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 202584 Q1238 Lease             311.97
      6/17/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 202720 Truck Rental              500
      6/17/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      6/17/2017    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      6/17/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      6/17/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.04
      6/17/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      6/17/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      6/17/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      6/17/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                       100
      6/17/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/17/2017    742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                    12.5
      6/17/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      6/17/2017    742   BS0078   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-10            186
      6/17/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.88
      6/17/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.59
      6/17/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                       100
      6/17/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      6/17/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/17/2017    742   BS0078   Owner Operator   Repair Order                   CTMS - 202761 repair                   187.2
      6/17/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      6/17/2017    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      6/17/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      6/17/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          454.8
      6/17/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.07
      6/17/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                       100
      6/17/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      6/17/2017    742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                   12.5
      6/17/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      6/17/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.34
      6/17/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.66
      6/17/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.32
      6/17/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                      100
      6/17/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 202580 Sub Lease Q13171        352.68
      6/17/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/17/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      6/17/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.33
      6/17/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                       100
      6/17/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      6/17/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/17/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/17/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      6/17/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50

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      6/17/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.49
      6/17/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.71
      6/17/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.97
      6/17/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
      6/17/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      6/17/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/17/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/17/2017    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      6/17/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      6/17/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/17/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/17/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.49
      6/17/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.15
      6/17/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.39
      6/17/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.02
      6/17/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      6/17/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      6/17/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/17/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      6/17/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      6/17/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      6/17/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.67
      6/17/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.75
      6/17/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
      6/17/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      6/17/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      6/17/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      6/17/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      6/17/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      6/17/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      6/17/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      6/17/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      6/17/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.31
      6/17/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      6/17/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      6/17/2017    742   IK0012   Owner Operator   Repair Order                   CTMS - 202697 repair                    200
      6/17/2017    742   IK0012   Owner Operator   Repair Order                   CTMS - 202697 repair                    200
      6/17/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
      6/17/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
      6/17/2017    742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                    12.5
      6/17/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
      6/17/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
      6/17/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.31
      6/17/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.95
      6/17/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.41
      6/17/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.31
      6/17/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.19
      6/17/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.89
      6/17/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.01
      6/17/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.33
      6/17/2017    742   KJ0045   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks             65.79
      6/17/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    742   KJ0045   Owner Operator   Permits                        NM07:2017 - 33634                        5.5
      6/17/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.88
      6/17/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.88
      6/17/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
      6/17/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
      6/17/2017    742   KJ0045   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.15
      6/17/2017    742   KJ0045   Owner Operator   T Chek Fee                     Tractor Repair 33634                    315
      6/17/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      6/17/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/17/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/17/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.97
      6/17/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          34.58
      6/17/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45

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      6/17/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   117.45
      6/17/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                          268.86
      6/17/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      6/17/2017    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                     12.5
      6/17/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                           13
      6/17/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                        100
      6/17/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/17/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                              75
      6/17/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      6/17/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                     20.17
      6/17/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      6/17/2017    742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                     12.5
      6/17/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                            8
      6/17/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/17/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                             500
      6/17/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      6/17/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.93
      6/17/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.12
      6/17/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            200
      6/17/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                       10.58
      6/17/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                        100
      6/17/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/17/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 72.57
      6/17/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror            2.5
      6/17/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 202579 Q1247 Sub Lease          311.97
      6/17/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75
      6/17/2017    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                     12.5
      6/17/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                           13
      6/17/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          285.49
      6/17/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          177.47
      6/17/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          561.12
      6/17/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                        100
      6/17/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/17/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             100.79
      6/17/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            2.5
      6/17/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      6/17/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/17/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          235.37
      6/17/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.47
      6/17/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                        100
      6/17/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/17/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    28.91
      6/17/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      6/17/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.56
      6/17/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      6/17/2017    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                     12.5
      6/17/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      6/17/2017    742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                    -3555.83
      6/17/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      6/17/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/17/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      6/17/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          355.45
      6/17/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           153.7
      6/17/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.79
      6/17/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                       32.99
      6/17/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.38
      6/17/2017    742   PC0012   Owner Operator   Repair Order                   CTMS - 202568 Repair                   233.12
      6/17/2017    742   PC0012   Owner Operator   T Chek Fee                     ExpressCheck Fee                        35.21
      6/17/2017    742   PC0012   Owner Operator   T Chek Fee                     Tractor Repair 32969                  3520.62
      6/17/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      6/17/2017    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                    12.5
      6/17/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                          13
      6/17/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.43
      6/17/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          378.09
      6/17/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          259.21
      6/17/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          260.69
      6/17/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                       100
      6/17/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/17/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 202559 Tractor Lease            353.28
      6/17/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      6/17/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
      6/17/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/17/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          262.89

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      6/17/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      6/17/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      6/17/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/17/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      6/17/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/17/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.28
      6/17/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          194.4
      6/17/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.19
      6/17/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.33
      6/17/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.21
      6/17/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                       100
      6/17/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/17/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      6/17/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/24/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      6/24/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      6/24/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/24/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.87
      6/24/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.88
      6/24/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                      100
      6/24/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      6/24/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      6/24/2017    709   AN0007   Owner Operator   Repair Order                   CTMS - 202933 Repair                    100
      6/24/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      6/24/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.01
      6/24/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           282
      6/24/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.13
      6/24/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.01
      6/24/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.01
      6/24/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                      100
      6/24/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 202825 Q13147 Lease            440.14
      6/24/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      6/24/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      6/24/2017    709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-17          174.24
      6/24/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          149.1
      6/24/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      6/24/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           230
      6/24/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.02
      6/24/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                      100
      6/24/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 202870 Q13169 Sublease         352.68
      6/24/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      6/24/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      6/24/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                       100
      6/24/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   BM0030   Owner Operator   Permits                        IL02:2017 - 34023                       3.75
      6/24/2017    709   BM0030   Owner Operator   Permits                        IL02:2017 - 34023                       3.75
      6/24/2017    709   BM0030   Owner Operator   Permits                        NM07:2017 - 34023                        5.5
      6/24/2017    709   BM0030   Owner Operator   Permits                        NY13:2017 - 34023                        1.5
      6/24/2017    709   BM0030   Owner Operator   Permits                        OR16:2017 - 34023                          8
      6/24/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      6/24/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      6/24/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      6/24/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.91
      6/24/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.49
      6/24/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                      100
      6/24/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 202824 Q13168 sub lease        352.68
      6/24/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/24/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      6/24/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      6/24/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.63
      6/24/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.51
      6/24/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      6/24/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93

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      6/24/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/24/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      6/24/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      6/24/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      6/24/2017    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-17          886.62
      6/24/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.04
      6/24/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.57
      6/24/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.96
      6/24/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      6/24/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      6/24/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      6/24/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      6/24/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                       100
      6/24/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      6/24/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 202829 Q1201                   278.76
      6/24/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/24/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      6/24/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.97
      6/24/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.91
      6/24/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.95
      6/24/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.3
      6/24/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.5
      6/24/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.94
      6/24/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                       100
      6/24/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         251.12
      6/24/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      6/24/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00352805 - PO System          197.37
      6/24/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      6/24/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      6/24/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.72
      6/24/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.05
      6/24/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         527.15
      6/24/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.58
      6/24/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                       100
      6/24/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      6/24/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      6/24/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 202770 Sublease                338.99
      6/24/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      6/24/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/24/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      6/24/2017    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-1         -440.98
      6/24/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/24/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/24/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.96
      6/24/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.84
      6/24/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      6/24/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      6/24/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      6/24/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      6/24/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.99
      6/24/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                       100
      6/24/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      6/24/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      6/24/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      6/24/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.85
      6/24/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.19
      6/24/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.39
      6/24/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.68
      6/24/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      6/24/2017    709   DW0138   Owner Operator   Miscellaneous                  Saskatchewan 2016 prem                 10.35
      6/24/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.74
      6/24/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.49
      6/24/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      6/24/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/24/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      6/24/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100

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      6/24/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/24/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/24/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/24/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/24/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/24/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          425.2
      6/24/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.44
      6/24/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.72
      6/24/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      6/24/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      6/24/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      6/24/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/24/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      6/24/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             300
      6/24/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/24/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.34
      6/24/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.99
      6/24/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.37
      6/24/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.47
      6/24/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      6/24/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      6/24/2017    709   EE0011   Owner Operator   Repair Order                   CTMS - 202933 Repair                  250.54
      6/24/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      6/24/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      6/24/2017    709   EG0062   Owner Operator   Charge back by affiliate       CTMS - 202891 Tank wash exteri           -50
      6/24/2017    709   EG0062   Owner Operator   Charge back by affiliate       CTMS - 202932 Exterior trailer           -50
      6/24/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      6/24/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.19
      6/24/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.16
      6/24/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.39
      6/24/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
      6/24/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      6/24/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      6/24/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 6/22 #17105                    350.36
      6/24/2017    709   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      6/24/2017    709   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.92
      6/24/2017    709   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      6/24/2017    709   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      6/24/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      6/24/2017    709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 202891 Trailer Exerior           -100
      6/24/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      6/24/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.98
      6/24/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.6
      6/24/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.73
      6/24/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                        100
      6/24/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      6/24/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 202875 truck lease 3304        434.29
      6/24/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/24/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      6/24/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.51
      6/24/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.59
      6/24/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                       100
      6/24/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      6/24/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      6/24/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      6/24/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.28
      6/24/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.53
      6/24/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                        100
      6/24/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      6/24/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 202827 Lease                   252.11
      6/24/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      6/24/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.02
      6/24/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.48

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      6/24/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.66
      6/24/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                       100
      6/24/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 202915 Tractor Q1235          -364.78
      6/24/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      6/24/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.14
      6/24/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          307.1
      6/24/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                      100
      6/24/2017    709   HC0023   Owner Operator   Miscellaneous                  Saskatchewan 2016 prem                 11.51
      6/24/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 202825 Q13170                  352.68
      6/24/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      6/24/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      6/24/2017    709   HG0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-1         -506.49
      6/24/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.51
      6/24/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.63
      6/24/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                       100
      6/24/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      6/24/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      6/24/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/24/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.76
      6/24/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.06
      6/24/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.47
      6/24/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      6/24/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      6/24/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/24/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      6/24/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      6/24/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      6/24/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      6/24/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
      6/24/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          8
      6/24/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      6/24/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         331.47
      6/24/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/24/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/24/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/24/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/24/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.46
      6/24/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.81
      6/24/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.56
      6/24/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.9
      6/24/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.54
      6/24/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      6/24/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q13197                      100
      6/24/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         255.43
      6/24/2017    709   JC0292   Owner Operator   Miscellaneous                  Saskatchewan 2016 prem                  8.95
      6/24/2017    709   JC0292   Owner Operator   Miscellaneous                  Saskatchewan Prem                      -3.97
      6/24/2017    709   JC0292   Owner Operator   Miscellaneous                  Saskatchewan Prem                      -3.93
      6/24/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.11
      6/24/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      6/24/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210,WVPEDTA,Chelyan                   5.87
      6/24/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210,WVPEDTA,Chelyan                   5.87
      6/24/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210,WVPEDTA,Pax                       5.87
      6/24/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210,WVPEDTA,Pax                       5.87
      6/24/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      6/24/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/24/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      6/24/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      6/24/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/24/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/24/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.79
      6/24/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.51
      6/24/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      6/24/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      6/24/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      6/24/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/24/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13

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      6/24/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/24/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/24/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/24/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/24/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.18
      6/24/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.06
      6/24/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      6/24/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      6/24/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      6/24/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      6/24/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      6/24/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/24/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.21
      6/24/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                       100
      6/24/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      6/24/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      6/24/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      6/24/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.67
      6/24/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                       100
      6/24/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      6/24/2017    709   JR0099   Owner Operator   Tire Fee                       Tire Fee: 2027147                          4
      6/24/2017    709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00353046 - PO System          179.61
      6/24/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 202787 Truck Lease             278.76
      6/24/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      6/24/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      6/24/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      6/24/2017    709   JS0265   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-1         -420.64
      6/24/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/24/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/24/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/24/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.04
      6/24/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.27
      6/24/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                       100
      6/24/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      6/24/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      6/24/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/24/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      6/24/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/24/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      6/24/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      6/24/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/24/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      6/24/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      6/24/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.83
      6/24/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           245
      6/24/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           175
      6/24/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           360
      6/24/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.25
      6/24/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.75
      6/24/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      6/24/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      6/24/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/24/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      6/24/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      6/24/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      6/24/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
      6/24/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      6/24/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 202918 Lease Q1111             252.11
      6/24/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      6/24/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      6/24/2017    709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-1         -440.98
      6/24/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/24/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/24/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/24/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/24/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.53

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      6/24/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.32
      6/24/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                       100
      6/24/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      6/24/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      6/24/2017    709   LS0023   Owner Operator   Repair Order                   CTMS - 202853 WN55196                 -61.73
      6/24/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/24/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/24/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      6/24/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      6/24/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.52
      6/24/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.65
      6/24/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.79
      6/24/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.16
      6/24/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          239.7
      6/24/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.93
      6/24/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                       100
      6/24/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                       100
      6/24/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      6/24/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      6/24/2017    709   MA0092   Owner Operator   Repair Order                   CTMS - 202729 New Truck Set Up         262.5
      6/24/2017    709   MA0092   Owner Operator   Repair Order                   CTMS - 202816 Truck Rental              500
      6/24/2017    709   MA0092   Owner Operator   Truck Payment                  CTMS - 202567 Truck Rental              400
      6/24/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      6/24/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      6/24/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.46
      6/24/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.29
      6/24/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      6/24/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      6/24/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.58
      6/24/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.86
      6/24/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                       100
      6/24/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      6/24/2017    709   ME0053   Owner Operator   Tire Fee                       Tire Fee: 2028499                         24
      6/24/2017    709   ME0053   Owner Operator   Tire Purchase                  PO: 709-00349406 - PO System          507.82
      6/24/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 202824 Q1113 Lease             252.11
      6/24/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/24/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.05
      6/24/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                       100
      6/24/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      6/24/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/24/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      6/24/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      6/24/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/24/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.48
      6/24/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.41
      6/24/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.27
      6/24/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          262.3
      6/24/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.11
      6/24/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      6/24/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/24/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      6/24/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      6/24/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/24/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.66
      6/24/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      6/24/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      6/24/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/24/2017    709   MP0035   Owner Operator   Repair Order                   CTMS - 202794 Q1105 Fuel             -412.58
      6/24/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      6/24/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75

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      6/24/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      6/24/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      6/24/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.74
      6/24/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.56
      6/24/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.68
      6/24/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.62
      6/24/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                       100
      6/24/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      6/24/2017    709   NB0029   Owner Operator   Repair Order                   CTMS - 202859 W8056                   -54.98
      6/24/2017    709   NB0029   Owner Operator   Repair Order                   CTMS - 202859 W8056-TA                 -8.61
      6/24/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 202917 Lease                   215.66
      6/24/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      6/24/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      6/24/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/24/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/24/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/24/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.85
      6/24/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.3
      6/24/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                      100
      6/24/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      6/24/2017    709   NT9564   Owner Operator   Advance                        Acc Clm 63764 s/u pmts                  100
      6/24/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      6/24/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      6/24/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                      10.58
      6/24/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                      32.99
      6/24/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      6/24/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 202824 Truck 73130 Leas        196.65
      6/24/2017    709   RC0030   Owner Operator   Advance                        claim 64897 s/u $250.00 per wk          250
      6/24/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      6/24/2017    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-17           56.76
      6/24/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      6/24/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      6/24/2017    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00352612 - PO System          936.91
      6/24/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 202786 Down Payment lo         303.55
      6/24/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.19
      6/24/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/24/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/24/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/24/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           182
      6/24/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.62
      6/24/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.64
      6/24/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      6/24/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         251.58
      6/24/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      6/24/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      6/24/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/24/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-1         -506.49
      6/24/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/24/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.36
      6/24/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.48
      6/24/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.26
      6/24/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 21975A                    615.53
      6/24/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      6/24/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      6/24/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      6/24/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/24/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      6/24/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/24/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/24/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/24/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.98
      6/24/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.97
      6/24/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.11

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      6/24/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      6/24/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      6/24/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      6/24/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/24/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      6/24/2017    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-17          434.11
      6/24/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.89
      6/24/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.74
      6/24/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      6/24/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      6/24/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      6/24/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      6/24/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.57
      6/24/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.21
      6/24/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                        100
      6/24/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      6/24/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      6/24/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      6/24/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.23
      6/24/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                        100
      6/24/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      6/24/2017    709   RP0082   Owner Operator   Tire Fee                       Tire Fee: 2027160                          8
      6/24/2017    709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00353048 - PO System          200.98
      6/24/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 202787 Q1202 Truck Leas        278.76
      6/24/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts               250
      6/24/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      6/24/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      6/24/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/24/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/24/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/24/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.26
      6/24/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.98
      6/24/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.48
      6/24/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.58
      6/24/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                        100
      6/24/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      6/24/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      6/24/2017    709   RR0123   Owner Operator   Repair Order                   CTMS - 202933 Repair                  210.25
      6/24/2017    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00352279 - PO System          186.85
      6/24/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 202829 Q1248                   311.97
      6/24/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      6/24/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      6/24/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      6/24/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/24/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.91
      6/24/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.46
      6/24/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.02
      6/24/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.11
      6/24/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                             16
      6/24/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.42
      6/24/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      6/24/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      6/24/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      6/24/2017    709   SB0103   Owner Operator   Accident Claim                 06/13/17 SB0103 Incident               -2000
      6/24/2017    709   SB0103   Owner Operator   Accident Claim                 Reverse credit 6/16/17                  2000
      6/24/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      6/24/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.79
      6/24/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.13
      6/24/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.9
      6/24/2017    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2017 - 33037                        100
      6/24/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      6/24/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      6/24/2017    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        5.72

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      6/24/2017    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  435.14
      6/24/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 202785 Sub Lease               388.33
      6/24/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      6/24/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      6/24/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            345
      6/24/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            433
      6/24/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                        100
      6/24/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      6/24/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 202826 Tractor Sub leas        242.03
      6/24/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.32
      6/24/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.32
      6/24/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/24/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      6/24/2017    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                      -1000
      6/24/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      6/24/2017    709   VJ0006   Owner Operator   Express Check                  T-Check Payment                         1000
      6/24/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/24/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/24/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/24/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.66
      6/24/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.54
      6/24/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.45
      6/24/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.6
      6/24/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                        100
      6/24/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      6/24/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 202951 New Truck Set Up        248.96
      6/24/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/24/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      6/24/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      6/24/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      6/24/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      6/24/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      6/24/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.15
      6/24/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          70.58
      6/24/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.6
      6/24/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.58
      6/24/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                        100
      6/24/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      6/24/2017    709   WH0087   Owner Operator   Repair Order                   CTMS - 202933 Truck Rental               500
      6/24/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 202829 Q1238 Lease             311.97
      6/24/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      6/24/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      6/24/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/24/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/24/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.85
      6/24/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.25
      6/24/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.03
      6/24/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.33
      6/24/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      6/24/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      6/24/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                        100
      6/24/2017    742   AS0089   Owner Operator   Repair Order                   CTMS - 202887 repair                  105.44
      6/24/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/24/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      6/24/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.28
      6/24/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.71
      6/24/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                            427
      6/24/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          329.4
      6/24/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                        100
      6/24/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      6/24/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/24/2017    742   BS0078   Owner Operator   Toll Charges                   33471,HCTRA,Ship Channel Bridg             7
      6/24/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75

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      6/24/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      6/24/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          429.6
      6/24/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                       100
      6/24/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      6/24/2017    742   CA0089   Owner Operator   Toll Charges                   33987,ILTOLL,Army Trail Rd.              6.4
      6/24/2017    742   CA0089   Owner Operator   Toll Charges                   33987,ILTOLL,North Ave.                  2.9
      6/24/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.66
      6/24/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/24/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      6/24/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.48
      6/24/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.85
      6/24/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.34
      6/24/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.15
      6/24/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                       100
      6/24/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      6/24/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/24/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/24/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      6/24/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.31
      6/24/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.94
      6/24/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.48
      6/24/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
      6/24/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      6/24/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/24/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/24/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      6/24/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.02
      6/24/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.06
      6/24/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.98
      6/24/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      6/24/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      6/24/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/24/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      6/24/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      6/24/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      6/24/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.01
      6/24/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.76
      6/24/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.97
      6/24/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
      6/24/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      6/24/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      6/24/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      6/24/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      6/24/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      6/24/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      6/24/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                          8.75
      6/24/2017    742   KJ0045   Owner Operator   Communication Charge           PNet Hware 33634                          13
      6/24/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.94
      6/24/2017    742   KJ0045   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.78
      6/24/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                          46.86
      6/24/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  2.5
      6/24/2017    742   KJ0045   Owner Operator   Repair Order                   CTMS - 202886 repair                    78.6
      6/24/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      6/24/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      6/24/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      6/24/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      6/24/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      6/24/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                       12.54
      6/24/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      6/24/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      6/24/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      6/24/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      6/24/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13

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      6/24/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      6/24/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      6/24/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
      6/24/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/24/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/24/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/24/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/24/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/24/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/24/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/24/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/24/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/24/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/24/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          335.6
      6/24/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.61
      6/24/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.33
      6/24/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.62
      6/24/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.04
      6/24/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      6/24/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      6/24/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      6/24/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      6/24/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      6/24/2017    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00340731 - PO System           81.48
      6/24/2017    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00348120 - PO System          197.68
      6/24/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      6/24/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      6/24/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         285.63
      6/24/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/24/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      6/24/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                        100
      6/24/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      6/24/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/24/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      6/24/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      6/24/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      6/24/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                             500
      6/24/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/24/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            250
      6/24/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            150
      6/24/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.31
      6/24/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.92
      6/24/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.58
      6/24/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                        100
      6/24/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.54
      6/24/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      6/24/2017    742   MT0112   Owner Operator   Tire Fee                       Tire Fee: 2028840                          4
      6/24/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00353888 - PO System            9.01
      6/24/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 202824 Q1247 Sub Lease         311.97
      6/24/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.92
      6/24/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/24/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/24/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.42
      6/24/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.57
      6/24/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.27
      6/24/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                        100
      6/24/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    28.9
      6/24/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      6/24/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      6/24/2017    742   PC0012   Owner Operator   Advance                        Escrow Ck 136019 s/u 20 wks            -1000
      6/24/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/24/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      6/24/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      6/24/2017    742   PC0012   Owner Operator   Express Check                  Drvr not chgd for escrw wthdrw          1000
      6/24/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.76
      6/24/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.34
      6/24/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99

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      6/24/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      6/24/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      6/24/2017    742   PS0083   Owner Operator   BOBTAIL INS.                   7861 2015 Freightliner NTL                -35
      6/24/2017    742   PS0083   Owner Operator   BOBTAIL INS.                   7861 2015 Freightliner NTL              17.5
      6/24/2017    742   PS0083   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              95
      6/24/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD              187.5
      6/24/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD               -375
      6/24/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD Terr            -10
      6/24/2017    742   PS0083   Owner Operator   PHYSICAL DAMAGE                7861 2015 Freightliner PD Terr              5
      6/24/2017    742   PS0083   Owner Operator   Repair Order                   CTMS - 202893 Repair                     115
      6/24/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                          13
      6/24/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          288.1
      6/24/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.79
      6/24/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.74
      6/24/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.72
      6/24/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.54
      6/24/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                       100
      6/24/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 202786 Tractor Lease           353.28
      6/24/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/24/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
      6/24/2017    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-1          -36.62
      6/24/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/24/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
      6/24/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      6/24/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
      6/24/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/24/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
      6/24/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/24/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.68
      6/24/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.19
      6/24/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.64
      6/24/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.5
      6/24/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.82
      6/24/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                        100
      6/24/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/24/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      6/24/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      6/24/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                           13
      6/24/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/24/2017    844   JK0112   Owner Operator   Miscellaneous                  Saskatchewan Prem                        -1.6
      6/24/2017    844   JK0112   Owner Operator   Miscellaneous                  Saskatchewan Prem                      -1.62
       7/1/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       7/1/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                          13
       7/1/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                              50
       7/1/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                             200
       7/1/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       7/1/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.47
       7/1/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                       100
       7/1/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       7/1/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te            2.5
       7/1/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                          13
       7/1/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.48
       7/1/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.62
       7/1/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                       100
       7/1/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
       7/1/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                           8
       7/1/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.29
       7/1/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            185
       7/1/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.5
       7/1/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.55
       7/1/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                       100
       7/1/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       7/1/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
       7/1/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                              50
       7/1/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                        100
       7/1/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       7/1/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5

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       7/1/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       7/1/2017    709   CC0134   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.83
       7/1/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.92
       7/1/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.18
       7/1/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.86
       7/1/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.95
       7/1/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                      100
       7/1/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/1/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       7/1/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
       7/1/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.18
       7/1/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
       7/1/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       7/1/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/1/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       7/1/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       7/1/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       7/1/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.05
       7/1/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.16
       7/1/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.47
       7/1/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       7/1/2017    709   CR0064   Owner Operator   Repair Order                   CTMS - 203064 Parts                    31.42
       7/1/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       7/1/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       7/1/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       7/1/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          348.7
       7/1/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                       100
       7/1/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       7/1/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 203049 Q1201                   278.76
       7/1/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       7/1/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       7/1/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          139.4
       7/1/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.43
       7/1/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.28
       7/1/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.24
       7/1/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                       100
       7/1/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         251.12
       7/1/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       7/1/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00352805 - PO System          197.37
       7/1/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       7/1/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       7/1/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       7/1/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.81
       7/1/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.1
       7/1/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.37
       7/1/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          36.79
       7/1/2017    709   DL0107   Owner Operator   Highway Use Tax                HUTC:2017 - Q1245                      10.42
       7/1/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                       100
       7/1/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          29.44
       7/1/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       7/1/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/1/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       7/1/2017    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-24          440.98
       7/1/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       7/1/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       7/1/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.48
       7/1/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.07
       7/1/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.01
       7/1/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
       7/1/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       7/1/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       7/1/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       7/1/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.29
       7/1/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.37
       7/1/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                       100

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       7/1/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.07
       7/1/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                           8.75
       7/1/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                           13
       7/1/2017    709   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-8         -2858.98
       7/1/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.77
       7/1/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.17
       7/1/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                       32.99
       7/1/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           55.75
       7/1/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                           68.52
       7/1/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                          463.27
       7/1/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       7/1/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
       7/1/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            100
       7/1/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
       7/1/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
       7/1/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       7/1/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       7/1/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.72
       7/1/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           17.12
       7/1/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.96
       7/1/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           12.66
       7/1/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                       32.99
       7/1/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   105.47
       7/1/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                          555.56
       7/1/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       7/1/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                           13
       7/1/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             300
       7/1/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
       7/1/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          128.05
       7/1/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.69
       7/1/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.27
       7/1/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.97
       7/1/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          181.08
       7/1/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                       32.99
       7/1/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.92
       7/1/2017    709   EE0011   Owner Operator   Repair Order                   CTMS - 203189 Repair                   250.54
       7/1/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                          505.27
       7/1/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
       7/1/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
       7/1/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                              50
       7/1/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.18
       7/1/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.57
       7/1/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                       32.99
       7/1/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    42.19
       7/1/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
       7/1/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 6/29 #17105                     350.36
       7/1/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
       7/1/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
       7/1/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.69
       7/1/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                            195
       7/1/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                            184
       7/1/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          229.79
       7/1/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                        100
       7/1/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              76.88
       7/1/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
       7/1/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                          13
       7/1/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.92
       7/1/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.72
       7/1/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          431.93
       7/1/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                       100
       7/1/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    82.04
       7/1/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL              8.75
       7/1/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                           13
       7/1/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.98
       7/1/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                        100
       7/1/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD              39.07

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       7/1/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 203047 Lease                   252.11
       7/1/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
       7/1/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.39
       7/1/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.54
       7/1/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.46
       7/1/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.29
       7/1/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.43
       7/1/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                       100
       7/1/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 203122 Tractor Q1235          -364.78
       7/1/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       7/1/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.95
       7/1/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.96
       7/1/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           326
       7/1/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.63
       7/1/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                      100
       7/1/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       7/1/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       7/1/2017    709   HG0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-24          506.49
       7/1/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/1/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/1/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          526.7
       7/1/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                       100
       7/1/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       7/1/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       7/1/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       7/1/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       7/1/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       7/1/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
       7/1/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
       7/1/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.37
       7/1/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.25
       7/1/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.42
       7/1/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.27
       7/1/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.7
       7/1/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.79
       7/1/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                       100
       7/1/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                       100
       7/1/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
       7/1/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       7/1/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       7/1/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/1/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.35
       7/1/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.67
       7/1/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
       7/1/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       7/1/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/1/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       7/1/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       7/1/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
       7/1/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       7/1/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       7/1/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
       7/1/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          8
       7/1/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       7/1/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/1/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
       7/1/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       7/1/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/1/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.78
       7/1/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.18
       7/1/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.75
       7/1/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.29
       7/1/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.42
       7/1/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
       7/1/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q13197                      100

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       7/1/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         255.43
       7/1/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
       7/1/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       7/1/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       7/1/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
       7/1/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 203090 Q13197 Lease            276.63
       7/1/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/1/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       7/1/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
       7/1/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       7/1/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       7/1/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.37
       7/1/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.53
       7/1/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.04
       7/1/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
       7/1/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       7/1/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       7/1/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/1/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       7/1/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/1/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
       7/1/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       7/1/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/1/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.22
       7/1/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.17
       7/1/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.12
       7/1/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
       7/1/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       7/1/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       7/1/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       7/1/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       7/1/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.86
       7/1/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                       100
       7/1/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       7/1/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       7/1/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       7/1/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.95
       7/1/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                       100
       7/1/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       7/1/2017    709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00353046 - PO System          179.61
       7/1/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 203008 Truck Lease             278.76
       7/1/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       7/1/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       7/1/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       7/1/2017    709   JS0265   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-24          420.64
       7/1/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       7/1/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/1/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/1/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.63
       7/1/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.82
       7/1/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                       100
       7/1/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       7/1/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       7/1/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/1/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       7/1/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       7/1/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/1/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/1/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.05
       7/1/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.49
       7/1/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.15
       7/1/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
       7/1/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       7/1/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/1/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       7/1/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75

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       7/1/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       7/1/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
       7/1/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       7/1/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 203111 Lease Q1111             252.11
       7/1/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       7/1/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       7/1/2017    709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-24          440.98
       7/1/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/1/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/1/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.08
       7/1/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                       100
       7/1/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       7/1/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       7/1/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       7/1/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       7/1/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.27
       7/1/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.21
       7/1/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.96
       7/1/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.06
       7/1/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.09
       7/1/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.68
       7/1/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                       100
       7/1/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       7/1/2017    709   MA0092   Owner Operator   Repair Order                   CTMS - 203189 Repair                   262.5
       7/1/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       7/1/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       7/1/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.74
       7/1/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.23
       7/1/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.22
       7/1/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                       100
       7/1/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       7/1/2017    709   ME0053   Owner Operator   Tire Purchase                  PO: 709-00349406 - PO System          507.82
       7/1/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 203045 Q1113 Lease             252.11
       7/1/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       7/1/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.02
       7/1/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.65
       7/1/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           290
       7/1/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                       100
       7/1/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       7/1/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       7/1/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       7/1/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
       7/1/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/1/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/1/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.84
       7/1/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.87
       7/1/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.18
       7/1/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          262.3
       7/1/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
       7/1/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
       7/1/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       7/1/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       7/1/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
       7/1/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/1/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/1/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.43
       7/1/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
       7/1/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       7/1/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       7/1/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       7/1/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       7/1/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       7/1/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
       7/1/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/1/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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       7/1/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          152.46
       7/1/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                            308
       7/1/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                        100
       7/1/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               35.16
       7/1/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 203123 Lease                    215.66
       7/1/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
       7/1/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
       7/1/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             300
       7/1/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
       7/1/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       7/1/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
       7/1/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          312.55
       7/1/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.67
       7/1/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                       100
       7/1/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 32.98
       7/1/2017    709   NT9564   Owner Operator   Advance                        Acc Clm 63764 s/u pmts                  63.95
       7/1/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
       7/1/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           13
       7/1/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2017 - 73130                       10.42
       7/1/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                       32.99
       7/1/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              30.47
       7/1/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 203044 Truck 73130 Leas         196.65
       7/1/2017    709   RC0030   Owner Operator   Advance                        claim 64897 s/u $250.00 per wk           250
       7/1/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
       7/1/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.16
       7/1/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
       7/1/2017    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00352612 - PO System           936.91
       7/1/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 203064 Truck Rental               100
       7/1/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                      52.2
       7/1/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       7/1/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
       7/1/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
       7/1/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          329.36
       7/1/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          177.71
       7/1/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.05
       7/1/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                       32.99
       7/1/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          251.58
       7/1/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   103.07
       7/1/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                          504.72
       7/1/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       7/1/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-24           506.49
       7/1/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
       7/1/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          447.46
       7/1/2017    709   RL0017   Owner Operator   IRP License Deduction          IL IRP plate refund                  -1715.53
       7/1/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                       32.99
       7/1/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.22
       7/1/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
       7/1/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       7/1/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
       7/1/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
       7/1/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
       7/1/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       7/1/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       7/1/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.63
       7/1/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          439.67
       7/1/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                       32.99
       7/1/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.15
       7/1/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          512.16
       7/1/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
       7/1/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                            8
       7/1/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                              50
       7/1/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           312.4
       7/1/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          465.52
       7/1/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/1/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     37.5
       7/1/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                     27.48

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       7/1/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       7/1/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       7/1/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.15
       7/1/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.37
       7/1/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                       100
       7/1/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       7/1/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       7/1/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       7/1/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.15
       7/1/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.39
       7/1/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.73
       7/1/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                       100
       7/1/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       7/1/2017    709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00353048 - PO System          200.98
       7/1/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 203009 Q1202 Truck Leas        278.76
       7/1/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts              250
       7/1/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       7/1/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       7/1/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/1/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/1/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/1/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/1/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.79
       7/1/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.36
       7/1/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.71
       7/1/2017    709   RR0123   Owner Operator   Highway Use Tax                HUTC:2017 - Q1248                      10.42
       7/1/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                       100
       7/1/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       7/1/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       7/1/2017    709   RR0123   Owner Operator   Repair Order                   CTMS - 203064 Repair                    210
       7/1/2017    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00352279 - PO System          186.85
       7/1/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       7/1/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       7/1/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/1/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/1/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/1/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/1/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/1/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.05
       7/1/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.74
       7/1/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.67
       7/1/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.7
       7/1/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
       7/1/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       7/1/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       7/1/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       7/1/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       7/1/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       7/1/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.1
       7/1/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.42
       7/1/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.82
       7/1/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.94
       7/1/2017    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2017 - 33037                       100
       7/1/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       7/1/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       7/1/2017    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  136.61
       7/1/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
       7/1/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
       7/1/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
       7/1/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       7/1/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       7/1/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       7/1/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       7/1/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       7/1/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       7/1/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.43

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       7/1/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.3
       7/1/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.61
       7/1/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.94
       7/1/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.96
       7/1/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       7/1/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       7/1/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       7/1/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       7/1/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       7/1/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            410
       7/1/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                        100
       7/1/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       7/1/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 203047 Tractor Sub leas        242.03
       7/1/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
       7/1/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       7/1/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       7/1/2017    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                      -1000
       7/1/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
       7/1/2017    709   VJ0006   Owner Operator   Express Check                  T-Check Payment                         1000
       7/1/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
       7/1/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/1/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.29
       7/1/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.61
       7/1/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.77
       7/1/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                        100
       7/1/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       7/1/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 203174 New Truck Set Up        248.96
       7/1/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       7/1/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       7/1/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       7/1/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       7/1/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       7/1/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       7/1/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.46
       7/1/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.19
       7/1/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          315.5
       7/1/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.1
       7/1/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.69
       7/1/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.61
       7/1/2017    709   WH0087   Owner Operator   Highway Use Tax                HUTC:2017 - Q1239                      10.42
       7/1/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                        100
       7/1/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       7/1/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
       7/1/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       7/1/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
       7/1/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
       7/1/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       7/1/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                        100
       7/1/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       7/1/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       7/1/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.14
       7/1/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.87
       7/1/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.91
       7/1/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                        100
       7/1/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       7/1/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       7/1/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       7/1/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.11
       7/1/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.12
       7/1/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.73

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       7/1/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.14
       7/1/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.86
       7/1/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.08
       7/1/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                       100
       7/1/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                       100
       7/1/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/1/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       7/1/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            225
       7/1/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.32
       7/1/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                        100
       7/1/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       7/1/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/1/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       7/1/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       7/1/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.76
       7/1/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.47
       7/1/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.11
       7/1/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                        100
       7/1/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       7/1/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       7/1/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/1/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       7/1/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.86
       7/1/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.14
       7/1/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.66
       7/1/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.17
       7/1/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
       7/1/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       7/1/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/1/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       7/1/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       7/1/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       7/1/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.32
       7/1/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.87
       7/1/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.39
       7/1/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.89
       7/1/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.54
       7/1/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.62
       7/1/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                        100
       7/1/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       7/1/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       7/1/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       7/1/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       7/1/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       7/1/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       7/1/2017    742   KJ0045   Owner Operator   BOBTAIL INS.                   2009 Volvo NTL                           -35
       7/1/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            190
       7/1/2017    742   KJ0045   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
       7/1/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD                         -187.5
       7/1/2017    742   KJ0045   Owner Operator   PHYSICAL DAMAGE                2009 Volvo PD Terrorism                  -10
       7/1/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                        0.46
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13

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       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/1/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/1/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/1/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/1/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/1/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.21
       7/1/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          345.7
       7/1/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
       7/1/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
       7/1/2017    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00340731 - PO System          382.25
       7/1/2017    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00340731 - PO System          233.58
       7/1/2017    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00348120 - PO System          197.73
       7/1/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
       7/1/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       7/1/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       7/1/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                       100
       7/1/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       7/1/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       7/1/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
       7/1/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       7/1/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       7/1/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/1/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/1/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       7/1/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.36
       7/1/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       7/1/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       7/1/2017    742   MT0112   Owner Operator   Highway Use Tax                HUTC:2017 - Q1247                      10.42
       7/1/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                       100
       7/1/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
       7/1/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
       7/1/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00353888 - PO System            9.01
       7/1/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 203044 Q1247 Sub Lease         311.97
       7/1/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       7/1/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       7/1/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       7/1/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       7/1/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/1/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/1/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/1/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/1/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.96
       7/1/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.14
       7/1/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.27
       7/1/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.48
       7/1/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100

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       7/1/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100
       7/1/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
       7/1/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       7/1/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       7/1/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       7/1/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       7/1/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.29
       7/1/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.92
       7/1/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                       100
       7/1/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
       7/1/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       7/1/2017    742   PS0083   Owner Operator   Repair Order                   CTMS - 202893 Repair                  140.76
       7/1/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       7/1/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.77
       7/1/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.06
       7/1/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.44
       7/1/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                      100
       7/1/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 203008 Tractor Lease           353.28
       7/1/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       7/1/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       7/1/2017    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-24           36.62
       7/1/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
       7/1/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       7/1/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       7/1/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       7/1/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       7/1/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.85
       7/1/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.12
       7/1/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.49
       7/1/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.34
       7/1/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                       100
       7/1/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       7/1/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       7/1/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       7/1/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       7/1/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/1/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.74
       7/1/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          155.5
       7/1/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.35
       7/1/2017    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/1/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       7/1/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       7/8/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       7/8/2017    709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                   12.5
       7/8/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       7/8/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            350
       7/8/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3.5
       7/8/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.41
       7/8/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.89
       7/8/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                      100
       7/8/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       7/8/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       7/8/2017    709   AN0007   Owner Operator   Toll Charges                   21157A ,ALTON PARKWAY OFF               1.49
       7/8/2017    709   AN0007   Owner Operator   Toll Charges                   21157A ,TOMATO SPRINGS SO                9.8
       7/8/2017    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
       7/8/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       7/8/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          398.4
       7/8/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.78
       7/8/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.88
       7/8/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.47
       7/8/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                      100
       7/8/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       7/8/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 203045 Q13147 Lease            440.14
       7/8/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 203241 Q13147 Lease            440.14
       7/8/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
       7/8/2017    709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                   12.5
       7/8/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       7/8/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.86
       7/8/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           330
       7/8/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          55.03
       7/8/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          146.9
       7/8/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                      100
       7/8/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 203075 Q13169 Sublease         352.68
       7/8/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 203251 Q13169 Sublease         352.68
       7/8/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       7/8/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       7/8/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                       100
       7/8/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       7/8/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       7/8/2017    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
       7/8/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       7/8/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          374.2
       7/8/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.76
       7/8/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.49
       7/8/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.49
       7/8/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                      100
       7/8/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 203044 Q13168 sub lease        352.68
       7/8/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 203239 Q13168 sub lease        352.68
       7/8/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/8/2017    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
       7/8/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       7/8/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
       7/8/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/8/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/8/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/8/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/8/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.53
       7/8/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.08
       7/8/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
       7/8/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       7/8/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/8/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       7/8/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       7/8/2017    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                    12.5
       7/8/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       7/8/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.95
       7/8/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.77
       7/8/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.13
       7/8/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       7/8/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       7/8/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       7/8/2017    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                    12.5
       7/8/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       7/8/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.66
       7/8/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                       100
       7/8/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       7/8/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 203245 Q1201                   278.76
       7/8/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       7/8/2017    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                    12.5
       7/8/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       7/8/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.43
       7/8/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.48
       7/8/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                       100
       7/8/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         251.12
       7/8/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       7/8/2017    709   DL0029   Owner Operator   Tire Fee                       Tire Fee: 2031338                          8

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       7/8/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00352805 - PO System         197.37
       7/8/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00353945 - PO System         181.11
       7/8/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
       7/8/2017    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                   12.5
       7/8/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
       7/8/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
       7/8/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
       7/8/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
       7/8/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         98.62
       7/8/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        389.73
       7/8/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        492.49
       7/8/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                      100
       7/8/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         261.2
       7/8/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         261.2
       7/8/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/8/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         18.06
       7/8/2017    709   DL0107   Owner Operator   Permits                        IL02:2017 - Q1245                      3.75
       7/8/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
       7/8/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
       7/8/2017    709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                       5.26
       7/8/2017    709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                  525.9
       7/8/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 202998 Sublease               338.99
       7/8/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 203208 Sublease               338.99
       7/8/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
       7/8/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       7/8/2017    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                   12.5
       7/8/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
       7/8/2017    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-15       -161.46
       7/8/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
       7/8/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
       7/8/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        342.56
       7/8/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                     32.99
       7/8/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/8/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
       7/8/2017    709   DS0049   Owner Operator   Toll Charges                   32915      ,Bay Bridge,17                25
       7/8/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
       7/8/2017    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
       7/8/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
       7/8/2017    709   DS0225   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
       7/8/2017    709   DS0225   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
       7/8/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        384.31
       7/8/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                      100
       7/8/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/8/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.07
       7/8/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
       7/8/2017    709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                   12.5
       7/8/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
       7/8/2017    709   DW0138   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-1         2858.98
       7/8/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        354.65
       7/8/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.68
       7/8/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        196.81
       7/8/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                     32.99
       7/8/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
       7/8/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
       7/8/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
       7/8/2017    709   DW0138   Owner Operator   Truck Payment                  CTMS - 203313 Truck Rental             500
       7/8/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       7/8/2017    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                   12.5
       7/8/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
       7/8/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
       7/8/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
       7/8/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           100
       7/8/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
       7/8/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       7/8/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       7/8/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       7/8/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.76
       7/8/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        219.21
       7/8/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.2
       7/8/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                     32.99
       7/8/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/8/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
       7/8/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56

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       7/8/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/8/2017    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
       7/8/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
       7/8/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/8/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/8/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/8/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/8/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.77
       7/8/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.35
       7/8/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.37
       7/8/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.52
       7/8/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
       7/8/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
       7/8/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
       7/8/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       7/8/2017    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
       7/8/2017    709   EG0062   Owner Operator   Charge back by affiliate       CTMS - 203268 WL55237                    -50
       7/8/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       7/8/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.62
       7/8/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.22
       7/8/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.23
       7/8/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
       7/8/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       7/8/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       7/8/2017    709   EG0062   Owner Operator   T Chek Fee                     Advance                              1018.14
       7/8/2017    709   EG0062   Owner Operator   T Chek Fee                     ExpressCheck Fee                       10.18
       7/8/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 7/6 #17105                     350.36
       7/8/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       7/8/2017    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
       7/8/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       7/8/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.53
       7/8/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           236
       7/8/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.23
       7/8/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          168.7
       7/8/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                       100
       7/8/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       7/8/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 203080 truck lease 3304        434.29
       7/8/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 203257 truck lease 3304        434.29
       7/8/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       7/8/2017    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
       7/8/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       7/8/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/8/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/8/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.75
       7/8/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.57
       7/8/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.13
       7/8/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.56
       7/8/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                      100
       7/8/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       7/8/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       7/8/2017    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                    12.5
       7/8/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       7/8/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.72
       7/8/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                       100
       7/8/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       7/8/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 203243 Lease                   252.11
       7/8/2017    709   GW0043   Owner Operator   Broker Pre Pass                Q1263 PrePass Device                    12.5
       7/8/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
       7/8/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.27
       7/8/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.71
       7/8/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.24
       7/8/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.07
       7/8/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                          3
       7/8/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                       100
       7/8/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   GW0043   Owner Operator   Permits                        CUST:2017 - Q1263                     401.67

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       7/8/2017    709   GW0043   Owner Operator   Permits                        IL02:2017 - Q1263                       3.75
       7/8/2017    709   GW0043   Owner Operator   Permits                        IL02:2017 - Q1263                      -3.75
       7/8/2017    709   GW0043   Owner Operator   Permits                        IL02:2017 - Q1263                       3.75
       7/8/2017    709   GW0043   Owner Operator   Permits                        NM07:2017 - Q1263                        5.5
       7/8/2017    709   GW0043   Owner Operator   Permits                        OR16:2017 - Q1263                          8
       7/8/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 203273 Tractor Q1235           364.78
       7/8/2017    709   HC0023   Owner Operator   Broker Pre Pass                Q13170 PrePass Device                   12.5
       7/8/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       7/8/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.11
       7/8/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.96
       7/8/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                      100
       7/8/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 203045 Q13170                  352.68
       7/8/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 203241 Q13170                  352.68
       7/8/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       7/8/2017    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                    12.5
       7/8/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       7/8/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
       7/8/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       7/8/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.95
       7/8/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.29
       7/8/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                       100
       7/8/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       7/8/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       7/8/2017    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
       7/8/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       7/8/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
       7/8/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.85
       7/8/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          394.4
       7/8/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                       100
       7/8/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       7/8/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       7/8/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/8/2017    709   IR0002   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
       7/8/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.39
       7/8/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.44
       7/8/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
       7/8/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       7/8/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/8/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       7/8/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       7/8/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
       7/8/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       7/8/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       7/8/2017    709   JC0292   Owner Operator   Broker Pre Pass                Q1210 PrePass Device                    12.5
       7/8/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware q1210                          13
       7/8/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          8
       7/8/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       7/8/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/8/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/8/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.65
       7/8/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.14
       7/8/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.37
       7/8/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.11
       7/8/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
       7/8/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q13197                      100
       7/8/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         255.43
       7/8/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   JC0292   Owner Operator   Permits                        IL02:2017 - Q13197                      3.75
       7/8/2017    709   JC0292   Owner Operator   Permits1                       CUST:2017 - Q13197                    401.67
       7/8/2017    709   JC0292   Owner Operator   Permits1                       ID06:2017 - Q13197                        11
       7/8/2017    709   JC0292   Owner Operator   Permits1                       NM07:2017 - Q13197                       5.5
       7/8/2017    709   JC0292   Owner Operator   Permits1                       NY13:2016 - Q13197                        19
       7/8/2017    709   JC0292   Owner Operator   Permits1                       OR16:2017 - Q13197                         8
       7/8/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
       7/8/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       7/8/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       7/8/2017    709   JC0292   Owner Operator   Repair Order                   CTMS - 203313 Wash                      370
       7/8/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72

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       7/8/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 203250 Q13197 Lease           276.63
       7/8/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       7/8/2017    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                   12.5
       7/8/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
       7/8/2017    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                     -1000
       7/8/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
       7/8/2017    709   JG0017   Owner Operator   Express Check                  T-Check Payment                        1000
       7/8/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       7/8/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
       7/8/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        382.69
       7/8/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                     32.99
       7/8/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/8/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
       7/8/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
       7/8/2017    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
       7/8/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       7/8/2017    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                   12.5
       7/8/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
       7/8/2017    709   JG0072   Owner Operator   Driver Excellence Program      Clean Inspection Awards                 -50
       7/8/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       7/8/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
       7/8/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        476.86
       7/8/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        477.13
       7/8/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.12
       7/8/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                     32.99
       7/8/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/8/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
       7/8/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
       7/8/2017    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                      6.89
       7/8/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
       7/8/2017    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                   12.5
       7/8/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
       7/8/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-15        -51.12
       7/8/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/8/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       7/8/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        183.02
       7/8/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        120.58
       7/8/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                       100
       7/8/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/8/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
       7/8/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
       7/8/2017    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                   12.5
       7/8/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
       7/8/2017    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/8/2017    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       7/8/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.01
       7/8/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                       100
       7/8/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/8/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
       7/8/2017    709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00353046 - PO System         179.61
       7/8/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 203217 Truck Lease            278.76
       7/8/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
       7/8/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
       7/8/2017    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                   12.5
       7/8/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
       7/8/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       7/8/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/8/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/8/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       7/8/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       7/8/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        378.65
       7/8/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        391.54
       7/8/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                       100
       7/8/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/8/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
       7/8/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
       7/8/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       7/8/2017    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
       7/8/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
       7/8/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       7/8/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/8/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       7/8/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        107.51

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       7/8/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.82
       7/8/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           356
       7/8/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
       7/8/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   KP0004   Owner Operator   Permits                        IL02:2017 - 32914                       3.75
       7/8/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       7/8/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/8/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       7/8/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       7/8/2017    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                    12.5
       7/8/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       7/8/2017    709   LL0160   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
       7/8/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
       7/8/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       7/8/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 203299 Lease Q1111             252.11
       7/8/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       7/8/2017    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
       7/8/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       7/8/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/8/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/8/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/8/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/8/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.52
       7/8/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.46
       7/8/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.1
       7/8/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                       100
       7/8/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       7/8/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       7/8/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       7/8/2017    709   MA0092   Owner Operator   Broker Pre Pass                34005 PrePass Device                    12.5
       7/8/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       7/8/2017    709   MA0092   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
       7/8/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.57
       7/8/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.17
       7/8/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           11.5
       7/8/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.67
       7/8/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                       100
       7/8/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       7/8/2017    709   MA0092   Owner Operator   Repair Order                   CTMS - 203064 Truck Rental              500
       7/8/2017    709   MA0092   Owner Operator   Repair Order                   CTMS - 203239 Truck Rental              500
       7/8/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       7/8/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       7/8/2017    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                   12.5
       7/8/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
       7/8/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
       7/8/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
       7/8/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
       7/8/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       7/8/2017    709   ME0053   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                    12.5
       7/8/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       7/8/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.66
       7/8/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.31
       7/8/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.25
       7/8/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.2
       7/8/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.64
       7/8/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                       100
       7/8/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       7/8/2017    709   ME0053   Owner Operator   Tire Purchase                  PO: 709-00349406 - PO System          507.82
       7/8/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 203240 Q1113 Lease             252.11
       7/8/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       7/8/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                       100
       7/8/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       7/8/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       7/8/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       7/8/2017    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                    12.5

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       7/8/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
       7/8/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                             200
       7/8/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                             100
       7/8/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/8/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/8/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.2
       7/8/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.27
       7/8/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          262.3
       7/8/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
       7/8/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
       7/8/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       7/8/2017    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
       7/8/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       7/8/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           1000
       7/8/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             100
       7/8/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/8/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.48
       7/8/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
       7/8/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       7/8/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       7/8/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       7/8/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       7/8/2017    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                    12.5
       7/8/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       7/8/2017    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-15        -580.56
       7/8/2017    709   NB0029   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
       7/8/2017    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -2500
       7/8/2017    709   NB0029   Owner Operator   Express Check                  T-Check Payment                         2500
       7/8/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.91
       7/8/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.48
       7/8/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                        100
       7/8/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       7/8/2017    709   NB0029   Owner Operator   Toll Charges                   Q1108      ,Carquinez Bridge,             25
       7/8/2017    709   NB0029   Owner Operator   Toll Charges                   Q1108      ,Carquinez Bridge,             25
       7/8/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 203298 Lease                   215.66
       7/8/2017    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       7/8/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       7/8/2017    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                   12.5
       7/8/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       7/8/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.83
       7/8/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.98
       7/8/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                       100
       7/8/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       7/8/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       7/8/2017    709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                    12.5
       7/8/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       7/8/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2018 - 73130                      10.58
       7/8/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                      32.99
       7/8/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       7/8/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 203240 Truck 73130 Leas        196.65
       7/8/2017    709   RC0030   Owner Operator   Advance                        claim 64897 s/u $250.00 per wk           250
       7/8/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       7/8/2017    709   RC0030   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
       7/8/2017    709   RC0030   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
       7/8/2017    709   RC0030   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
       7/8/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       7/8/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       7/8/2017    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00352612 - PO System          936.85
       7/8/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 203008 Down Payment lo         303.55
       7/8/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 203216 Down Payment lo         303.55
       7/8/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
       7/8/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/8/2017    709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
       7/8/2017    709   RC0089   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
       7/8/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
       7/8/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       7/8/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.03

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       7/8/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.03
       7/8/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.67
       7/8/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
       7/8/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         251.58
       7/8/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       7/8/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       7/8/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/8/2017    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                   12.5
       7/8/2017    709   RL0017   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
       7/8/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       7/8/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.79
       7/8/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.76
       7/8/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
       7/8/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       7/8/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       7/8/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/8/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       7/8/2017    709   RL0062   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
       7/8/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/8/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/8/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/8/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/8/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.93
       7/8/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.19
       7/8/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.22
       7/8/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
       7/8/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       7/8/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       7/8/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       7/8/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
       7/8/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.75
       7/8/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.29
       7/8/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
       7/8/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   RL0180   Owner Operator   Permits                        NM07:2017 - 34012                        5.5
       7/8/2017    709   RL0180   Owner Operator   Permits                        NY13:2017 - 34012                        1.5
       7/8/2017    709   RL0180   Owner Operator   Permits                        OR16:2017 - 34012                          8
       7/8/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
       7/8/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       7/8/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       7/8/2017    709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                    12.5
       7/8/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       7/8/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.12
       7/8/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.6
       7/8/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                       100
       7/8/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       7/8/2017    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       7/8/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       7/8/2017    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                    12.5
       7/8/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       7/8/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.24
       7/8/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                       100
       7/8/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       7/8/2017    709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00353048 - PO System          200.98
       7/8/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 203217 Q1202 Truck Leas        278.76
       7/8/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts              250
       7/8/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       7/8/2017    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                    12.5
       7/8/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       7/8/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/8/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/8/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.22
       7/8/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.63
       7/8/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          408.5
       7/8/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                       100
       7/8/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08

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       7/8/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       7/8/2017    709   RR0123   Owner Operator   Repair Order                   TRACTOR Q1248                         116.55
       7/8/2017    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00352279 - PO System          186.85
       7/8/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 203049 Q1248                   311.97
       7/8/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 203244 Q1248                   311.97
       7/8/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       7/8/2017    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
       7/8/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       7/8/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/8/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.95
       7/8/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.39
       7/8/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.63
       7/8/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.05
       7/8/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.75
       7/8/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
       7/8/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       7/8/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       7/8/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       7/8/2017    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
       7/8/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       7/8/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.61
       7/8/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.62
       7/8/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.82
       7/8/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.85
       7/8/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.06
       7/8/2017    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2017 - 33037                       100
       7/8/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       7/8/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       7/8/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 203007 Sub Lease               388.33
       7/8/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 203215 Sub Lease               388.33
       7/8/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
       7/8/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       7/8/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       7/8/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.64
       7/8/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.54
       7/8/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.67
       7/8/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       7/8/2017    709   SN0019   Owner Operator   Repair Order                   CTMS - 203221 Truck Rental              500
       7/8/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       7/8/2017    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
       7/8/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       7/8/2017    709   VB0015   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
       7/8/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.76
       7/8/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           353
       7/8/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                       100
       7/8/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       7/8/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 203242 Tractor Sub leas        242.03
       7/8/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
       7/8/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       7/8/2017    709   VJ0006   Owner Operator   Broker Pre Pass                33961 PrePass Device                    12.5
       7/8/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       7/8/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/8/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
       7/8/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
       7/8/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.68
       7/8/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.26
       7/8/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.46
       7/8/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.22
       7/8/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                       100
       7/8/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       7/8/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 203323 New Truck Set Up        248.96
       7/8/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   6.78
       7/8/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       7/8/2017    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
       7/8/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       7/8/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.01
       7/8/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.72

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       7/8/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                       100
       7/8/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       7/8/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 203049 Q1238 Lease             311.97
       7/8/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 203245 Q1238 Lease             311.97
       7/8/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/8/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/8/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.68
       7/8/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          347.7
       7/8/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                        3.2
       7/8/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       7/8/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       7/8/2017    742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                    12.5
       7/8/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       7/8/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       7/8/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.65
       7/8/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                       100
       7/8/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                       100
       7/8/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       7/8/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       7/8/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       7/8/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       7/8/2017    742   BS0078   Owner Operator   Repair Order                   CTMS - 203306 repair                   187.2
       7/8/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                      14.64
       7/8/2017    742   CA0089   Owner Operator   Toll Charges                   33987,ILTOLL,Army Trail Rd.             -6.4
       7/8/2017    742   CA0089   Owner Operator   Toll Charges                   33987,ILTOLL,North Ave.                 -2.9
       7/8/2017    742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                   12.5
       7/8/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       7/8/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.59
       7/8/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.55
       7/8/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.39
       7/8/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.86
       7/8/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                      100
       7/8/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/8/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       7/8/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          35.01
       7/8/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.36
       7/8/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           448
       7/8/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.87
       7/8/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             31
       7/8/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.55
       7/8/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                       100
       7/8/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       7/8/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/8/2017    742   DA0067   Owner Operator   Repair Order                   CTMS - 203275 repair                    180
       7/8/2017    742   DA0067   Owner Operator   Toll Charges                   33847,Benicia,12                          25
       7/8/2017    742   DA0067   Owner Operator   Toll Charges                   33847,Benicia,12                          25
       7/8/2017    742   DA0067   Owner Operator   Toll Charges                   33847,Benicia,12                          25
       7/8/2017    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge,8                  25
       7/8/2017    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge,8                  25
       7/8/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       7/8/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       7/8/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.97
       7/8/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.2
       7/8/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
       7/8/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       7/8/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       7/8/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       7/8/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       7/8/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       7/8/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       7/8/2017    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                    12.5
       7/8/2017    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                    12.5
       7/8/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       7/8/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13

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       7/8/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       7/8/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       7/8/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.93
       7/8/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.83
       7/8/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.39
       7/8/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.3
       7/8/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.45
       7/8/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.56
       7/8/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.04
       7/8/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.68
       7/8/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
       7/8/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
       7/8/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
       7/8/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
       7/8/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       7/8/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       7/8/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
       7/8/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       7/8/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       7/8/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       7/8/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       7/8/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       7/8/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/8/2017    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
       7/8/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       7/8/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.14
       7/8/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.58
       7/8/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          428.8
       7/8/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
       7/8/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       7/8/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/8/2017    742   EN0016   Owner Operator   Repair Order                   CTMS - 203188 Repair                   126.2
       7/8/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       7/8/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       7/8/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       7/8/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.86
       7/8/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.67
       7/8/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.68
       7/8/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
       7/8/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   EO0014   Owner Operator   Permits                        NM07:2017 - 33846                        5.5
       7/8/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       7/8/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       7/8/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       7/8/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       7/8/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       7/8/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       7/8/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
       7/8/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
       7/8/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
       7/8/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
       7/8/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
       7/8/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
       7/8/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.99
       7/8/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.05
       7/8/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
       7/8/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.15
       7/8/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
       7/8/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
       7/8/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
       7/8/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5

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       7/8/2017    742   KJ0045   Owner Operator   Tire Purchase                  Balance of PO: 742-00353991 -           6.78
       7/8/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       7/8/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/8/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/8/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.6
       7/8/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
       7/8/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
       7/8/2017    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00340731 - PO System           99.67
       7/8/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
       7/8/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       7/8/2017    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                    12.5
       7/8/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       7/8/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                       100
       7/8/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       7/8/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       7/8/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
       7/8/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       7/8/2017    742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                    12.5
       7/8/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       7/8/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
       7/8/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       7/8/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
       7/8/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       7/8/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
       7/8/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.34
       7/8/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                       100
       7/8/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
       7/8/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
       7/8/2017    742   MT0112   Owner Operator   Tire Fee                       Tire Fee: 2031430                          4
       7/8/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00353888 - PO System            9.01
       7/8/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00354148 - PO System           91.33
       7/8/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       7/8/2017    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
       7/8/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       7/8/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.44
       7/8/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.49
       7/8/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.73
       7/8/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100
       7/8/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       7/8/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       7/8/2017    742   NG0024   Owner Operator   Toll Charges                   33252      ,Carquinez Bridge,             25
       7/8/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       7/8/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            150
       7/8/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       7/8/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.03
       7/8/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.88
       7/8/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.48
       7/8/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                       100
       7/8/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   NK0013   Owner Operator   Permits                        NM07:2017 - 34038                        5.5
       7/8/2017    742   NK0013   Owner Operator   Permits                        NY13:2017 - 34038                        1.5
       7/8/2017    742   NK0013   Owner Operator   Permits                        OR16:2017 - 34038                          8
       7/8/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
       7/8/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       7/8/2017    742   NK0013   Owner Operator   Toll Charges                   FG5438/34038,Bay Bridge,9                 25
       7/8/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       7/8/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       7/8/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
       7/8/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
       7/8/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/8/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/8/2017    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                    12.5
       7/8/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       7/8/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       7/8/2017    742   PC0012   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50
       7/8/2017    742   PC0012   Owner Operator   Driver Excellence Program      Clean Inspection Awards                  -50

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       7/8/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/8/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/8/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/8/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/8/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          288.5
       7/8/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.1
       7/8/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.88
       7/8/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.86
       7/8/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.49
       7/8/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
       7/8/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
       7/8/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       7/8/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       7/8/2017    742   PC0012   Owner Operator   Toll Charges                   32969      ,Carquinez Bridge,             25
       7/8/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       7/8/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       7/8/2017    742   PS0083   Owner Operator   Repair Order                   CTMS - 202893 Repair                    0.22
       7/8/2017    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
       7/8/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       7/8/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.11
       7/8/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.44
       7/8/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.09
       7/8/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                      100
       7/8/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       7/8/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       7/8/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
       7/8/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       7/8/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       7/8/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       7/8/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       7/8/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.23
       7/8/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.92
       7/8/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.08
       7/8/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.52
       7/8/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                       100
       7/8/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       7/8/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       7/8/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       7/8/2017    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
       7/8/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       7/8/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/8/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.15
       7/8/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.09
       7/8/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.71
       7/8/2017    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/8/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       7/8/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       7/8/2017    844   JK0112   Owner Operator   Miscellaneous                  Credit Voided Check 967247             -3.22
      7/15/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      7/15/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      7/15/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/15/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/15/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.56
      7/15/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                      100
      7/15/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      7/15/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      7/15/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      7/15/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.22
      7/15/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.84
      7/15/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.12
      7/15/2017    709   AR0064   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      335.94
      7/15/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                      100
      7/15/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   AR0064   Owner Operator   Tire Fee                       Tire Fee: 2034936                         16
      7/15/2017    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00355231 - PO System          429.13
      7/15/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 203414 Q13147 Lease            440.14

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      7/15/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      7/15/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      7/15/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            125
      7/15/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.01
      7/15/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.65
      7/15/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.53
      7/15/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.04
      7/15/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.64
      7/15/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.47
      7/15/2017    709   AV0021   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       19.24
      7/15/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                       100
      7/15/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 203446 Q13169 Sublease         352.68
      7/15/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      7/15/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      7/15/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    709   BM0030   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      476.77
      7/15/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                        100
      7/15/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      7/15/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      7/15/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      7/15/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.32
      7/15/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.44
      7/15/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.99
      7/15/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.14
      7/15/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                       100
      7/15/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 203413 Q13168 sub lease        352.68
      7/15/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/15/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      7/15/2017    709   CM0119   Owner Operator   ESCROW                         Escrow Withdrawal                      -4000
      7/15/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                            300
      7/15/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/15/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/15/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.15
      7/15/2017    709   CM0119   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       66.42
      7/15/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      7/15/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      7/15/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/15/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      7/15/2017    709   CR0064   Owner Operator   Accident Claim                 07/09/17 CR0064 Contamination          662.3
      7/15/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.87
      7/15/2017    709   CR0064   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       12.25
      7/15/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      7/15/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      7/15/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.21
      7/15/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          347.2
      7/15/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                        100
      7/15/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      7/15/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 203418 Q1201                   278.76
      7/15/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/15/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.48
      7/15/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          185.8
      7/15/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.09
      7/15/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.46
      7/15/2017    709   DL0029   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      100.84
      7/15/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                        100
      7/15/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         247.36
      7/15/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      7/15/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      7/15/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      7/15/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      7/15/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/15/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.69
      7/15/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.66
      7/15/2017    709   DL0107   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      -18.13
      7/15/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                        100
      7/15/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      7/15/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      7/15/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      7/15/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      7/15/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/15/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      7/15/2017    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-8           161.46
      7/15/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/15/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/15/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.68
      7/15/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.69
      7/15/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      7/15/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      7/15/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      7/15/2017    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      7/15/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      7/15/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.65
      7/15/2017    709   DS0225   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      -24.28
      7/15/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                       100
      7/15/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      7/15/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      7/15/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      7/15/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.66
      7/15/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.91
      7/15/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.33
      7/15/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.59
      7/15/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.23
      7/15/2017    709   DW0138   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      185.95
      7/15/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      7/15/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      7/15/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
      7/15/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      7/15/2017    709   DW0138   Owner Operator   Truck Payment                  CTMS - 203432 Truck Rental              500
      7/15/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/15/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      7/15/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/15/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/15/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/15/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/15/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/15/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.53
      7/15/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          43.85
      7/15/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.79
      7/15/2017    709   EA0003   Owner Operator   FUEL TAX                       May17 Fuel Taxes                        91.7
      7/15/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      7/15/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      7/15/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      7/15/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/15/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      7/15/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/15/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/15/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.34
      7/15/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.77
      7/15/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.11
      7/15/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.06
      7/15/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.39
      7/15/2017    709   EE0011   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      208.63
      7/15/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      7/15/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      7/15/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      7/15/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      7/15/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      7/15/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.91
      7/15/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.61
      7/15/2017    709   EG0062   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       11.57
      7/15/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
      7/15/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      7/15/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      7/15/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 7/13 #17105                    350.36

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      7/15/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      7/15/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      7/15/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.85
      7/15/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.98
      7/15/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.25
      7/15/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.21
      7/15/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                       100
      7/15/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      7/15/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 203452 truck lease 3304        434.29
      7/15/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/15/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      7/15/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.44
      7/15/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.85
      7/15/2017    709   FV0001   Owner Operator   FUEL TAX                       May17 Fuel Taxes                         2.8
      7/15/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                      100
      7/15/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      7/15/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      7/15/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      7/15/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.29
      7/15/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                       100
      7/15/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      7/15/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 203416 Lease                   252.11
      7/15/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      7/15/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          70.79
      7/15/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.93
      7/15/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.25
      7/15/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.53
      7/15/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.41
      7/15/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                       100
      7/15/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 203445 Tractor Q1235           364.78
      7/15/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      7/15/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.49
      7/15/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.27
      7/15/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.58
      7/15/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                      100
      7/15/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 203414 Q13170                  352.68
      7/15/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      7/15/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      7/15/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/15/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/15/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.98
      7/15/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.01
      7/15/2017    709   HG0007   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       13.53
      7/15/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                       100
      7/15/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      7/15/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/15/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      7/15/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/15/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          380.3
      7/15/2017    709   HG0027   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       71.65
      7/15/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                       100
      7/15/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      7/15/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      7/15/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/15/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/15/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/15/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.64
      7/15/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.7
      7/15/2017    709   IR0002   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      -20.11
      7/15/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      7/15/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      7/15/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/15/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95

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      7/15/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
      7/15/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
      7/15/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL              8.75
      7/15/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL              8.75
      7/15/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         8
      7/15/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      7/15/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/15/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/15/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        325.01
      7/15/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.39
      7/15/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.15
      7/15/2017    709   JC0292   Owner Operator   FUEL TAX                       May17 Fuel Taxes                     320.64
      7/15/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                     32.99
      7/15/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q13197                     100
      7/15/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment        255.43
      7/15/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/15/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.13
      7/15/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      7/15/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.18
      7/15/2017    709   JC0292   Owner Operator   Repair Order                   CTMS - 203433 Wash                     370
      7/15/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      7/15/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 203451 Q13197 Lease           276.63
      7/15/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/15/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      7/15/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      7/15/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/15/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      7/15/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.97
      7/15/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        492.09
      7/15/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          343
      7/15/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        309.51
      7/15/2017    709   JG0017   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       3.63
      7/15/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                     32.99
      7/15/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/15/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      7/15/2017    709   JG0017   Owner Operator   Repair Order                   CTMS - 203508 LED Light              -23.58
      7/15/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      7/15/2017    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      7/15/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/15/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      7/15/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/15/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/15/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/15/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      7/15/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        444.75
      7/15/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        436.54
      7/15/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        464.83
      7/15/2017    709   JG0072   Owner Operator   FUEL TAX                       May17 Fuel Taxes                     176.95
      7/15/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                     32.99
      7/15/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/15/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      7/15/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      7/15/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      7/15/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      7/15/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-8           51.12
      7/15/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/15/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/15/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        160.27
      7/15/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         97.73
      7/15/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        206.16
      7/15/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                      100
      7/15/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/15/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      7/15/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      7/15/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      7/15/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        205.33
      7/15/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.97
      7/15/2017    709   JR0099   Owner Operator   FUEL TAX                       May17 Fuel Taxes                     102.59
      7/15/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                      100
      7/15/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/15/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      7/15/2017    709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00353046 - PO System         179.61
      7/15/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 203378 Truck Lease            278.76

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      7/15/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      7/15/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      7/15/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      7/15/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/15/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/15/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/15/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.44
      7/15/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.45
      7/15/2017    709   JS0265   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      105.13
      7/15/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                       100
      7/15/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      7/15/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      7/15/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/15/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      7/15/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/15/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/15/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/15/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/15/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/15/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           175
      7/15/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.05
      7/15/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.01
      7/15/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           164
      7/15/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.38
      7/15/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.63
      7/15/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           270
      7/15/2017    709   KP0004   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      203.92
      7/15/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      7/15/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      7/15/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/15/2017    709   KP0004   Owner Operator   Toll Charges                   32914,TxTag,SH - South Plaza L             7
      7/15/2017    709   KP0004   Owner Operator   Toll Charges                   32914,TxTag,SH - Southwest Pla             7
      7/15/2017    709   KP0004   Owner Operator   Toll Charges                   32914,TxTag,Ship Channel Bridg             7
      7/15/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      7/15/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      7/15/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      7/15/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
      7/15/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      7/15/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 203492 Lease Q1111             252.11
      7/15/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      7/15/2017    709   LS0023   Owner Operator   Charge back by affiliate       CTMS - 203512 TL9206                   -36.5
      7/15/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      7/15/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/15/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/15/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.16
      7/15/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.43
      7/15/2017    709   LS0023   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       20.28
      7/15/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                       100
      7/15/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      7/15/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      7/15/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/15/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      7/15/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.19
      7/15/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          366.1
      7/15/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           21.8
      7/15/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.27
      7/15/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.88
      7/15/2017    709   MA0092   Owner Operator   FUEL TAX                       May17 Fuel Taxes                        39.4
      7/15/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                       100
      7/15/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      7/15/2017    709   MA0092   Owner Operator   Repair Order                   CTMS - 203432 Truck Rental              500
      7/15/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      7/15/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      7/15/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
      7/15/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      7/15/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      7/15/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50

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      7/15/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.28
      7/15/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                           295.7
      7/15/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.01
      7/15/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                        100
      7/15/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/15/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD              39.07
      7/15/2017    709   ME0053   Owner Operator   Tire Purchase                  PO: 709-00349406 - PO System           507.82
      7/15/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 203413 Q1113 Lease              252.11
      7/15/2017    709   MG0067   Owner Operator   FUEL TAX                       May17 Fuel Taxes                        -5.08
      7/15/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                       18.58
      7/15/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      7/15/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                           13
      7/15/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.35
      7/15/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          307.46
      7/15/2017    709   MM0093   Owner Operator   Loan Repayment                 Bal Loan 10, EFS 167375              -2171.53
      7/15/2017    709   MM0093   Owner Operator   Loan Repayment                 Close open loan to roll to new        1300.27
      7/15/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment          274.27
      7/15/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/15/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    53.13
      7/15/2017    709   MM0093   Owner Operator   T Chek Fee                     ExpressCheck Fee                         8.63
      7/15/2017    709   MM0093   Owner Operator   T Chek Fee                     Tractor Repair 32931                   862.63
      7/15/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                          337.19
      7/15/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      7/15/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           13
      7/15/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           1000
      7/15/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             125
      7/15/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.25
      7/15/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          546.67
      7/15/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                       32.99
      7/15/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/15/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       71.88
      7/15/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      7/15/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                          323.05
      7/15/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
      7/15/2017    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-8            580.56
      7/15/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          315.22
      7/15/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          398.33
      7/15/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.16
      7/15/2017    709   NB0029   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       139.17
      7/15/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                        100
      7/15/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            1.34
      7/15/2017    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      7/15/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
      7/15/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
      7/15/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                               60
      7/15/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.6
      7/15/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.99
      7/15/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                            199
      7/15/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                       100
      7/15/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/15/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 32.98
      7/15/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
      7/15/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           13
      7/15/2017    709   NT9564   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       116.52
      7/15/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2018 - 73130                       10.58
      7/15/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                       32.99
      7/15/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/15/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              30.47
      7/15/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 203413 Truck 73130 Leas         196.65
      7/15/2017    709   RC0030   Owner Operator   Advance                        claim 64897 s/u $250.00 per wk           250
      7/15/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      7/15/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/15/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.16
      7/15/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      7/15/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 203378 Down Payment lo          303.55
      7/15/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                      52.2
      7/15/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      7/15/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
      7/15/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      7/15/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          272.41
      7/15/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          318.78
      7/15/2017    709   RC0089   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       -10.22
      7/15/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                       32.99

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      7/15/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         251.58
      7/15/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      7/15/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      7/15/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/15/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/15/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.65
      7/15/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.48
      7/15/2017    709   RL0017   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      -76.79
      7/15/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      7/15/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      7/15/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      7/15/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/15/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      7/15/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/15/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/15/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.86
      7/15/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.51
      7/15/2017    709   RL0062   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      115.21
      7/15/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      7/15/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      7/15/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      7/15/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/15/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      7/15/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.09
      7/15/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.36
      7/15/2017    709   RL0180   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       -2.16
      7/15/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
      7/15/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      7/15/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      7/15/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      7/15/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      7/15/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.22
      7/15/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.4
      7/15/2017    709   RM0026   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      109.51
      7/15/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                       100
      7/15/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      7/15/2017    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      7/15/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      7/15/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      7/15/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.16
      7/15/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                       100
      7/15/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      7/15/2017    709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00353048 - PO System          200.98
      7/15/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 203378 Q1202 Truck Leas        278.76
      7/15/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts              250
      7/15/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      7/15/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      7/15/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/15/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/15/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.8
      7/15/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.32
      7/15/2017    709   RR0123   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      195.15
      7/15/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                       100
      7/15/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      7/15/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      7/15/2017    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00352279 - PO System          186.79
      7/15/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 203418 Q1248                   311.97
      7/15/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      7/15/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      7/15/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/15/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/15/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/15/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/15/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/15/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.02

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      7/15/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.59
      7/15/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.74
      7/15/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.36
      7/15/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.06
      7/15/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.16
      7/15/2017    709   SB0009   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      296.72
      7/15/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      7/15/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      7/15/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      7/15/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      7/15/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      7/15/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.56
      7/15/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.86
      7/15/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.27
      7/15/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.54
      7/15/2017    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2017 - 33037                       100
      7/15/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      7/15/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      7/15/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 203377 Sub Lease               388.33
      7/15/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      7/15/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      7/15/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      7/15/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.73
      7/15/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.29
      7/15/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          259.5
      7/15/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.15
      7/15/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.24
      7/15/2017    709   SN0019   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       37.85
      7/15/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      7/15/2017    709   SN0019   Owner Operator   Truck Payment                  CTMS - 203432 Truck Rental              500
      7/15/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      7/15/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      7/15/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.72
      7/15/2017    709   VB0015   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       70.99
      7/15/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                       100
      7/15/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      7/15/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 203415 Tractor Sub leas        242.03
      7/15/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 203431 Back lease payme        255.61
      7/15/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
      7/15/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/15/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      7/15/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/15/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/15/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/15/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.24
      7/15/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          194.5
      7/15/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.36
      7/15/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.94
      7/15/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          208.3
      7/15/2017    709   VJ0006   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       114.7
      7/15/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                       100
      7/15/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      7/15/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 203527 New Truck Set Up        248.96
      7/15/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/15/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   1.97
      7/15/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      7/15/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      7/15/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      7/15/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      7/15/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      7/15/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      7/15/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      7/15/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      7/15/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/15/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      7/15/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/15/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/15/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.59
      7/15/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.41
      7/15/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.94
      7/15/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.33
      7/15/2017    709   WH0087   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       35.73
      7/15/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                       100
      7/15/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      7/15/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 203418 Q1238 Lease             311.97
      7/15/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      7/15/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      7/15/2017    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      7/15/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      7/15/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      7/15/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/15/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/15/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/15/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/15/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/15/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/15/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/15/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/15/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.8
      7/15/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.36
      7/15/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          497.9
      7/15/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.78
      7/15/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.42
      7/15/2017    742   AP0047   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      163.13
      7/15/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      7/15/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      7/15/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      7/15/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      7/15/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      7/15/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      7/15/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    742   AS0089   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      311.92
      7/15/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                       100
      7/15/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                       96.8
      7/15/2017    742   AS0089   Owner Operator   Toll Charges                   33912,TxTag,Ship Channel Bridg             7
      7/15/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/15/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      7/15/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.28
      7/15/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.26
      7/15/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          395.8
      7/15/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.37
      7/15/2017    742   BS0078   Owner Operator   FUEL TAX                       May17 Fuel Taxes                        74.9
      7/15/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                       100
      7/15/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      7/15/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      7/15/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,Ship Channel Bridg             7
      7/15/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,Ship Channel Bridg           3.5
      7/15/2017    742   BS0078   Owner Operator   Toll Charges                   33471,TxTag,Ship Channel Bridg           3.5
      7/15/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      7/15/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      7/15/2017    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      7/15/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      7/15/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      7/15/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.46
      7/15/2017    742   CA0089   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      240.88
      7/15/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                       100
      7/15/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                      85.36
      7/15/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      7/15/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32

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      7/15/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      7/15/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.03
      7/15/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.88
      7/15/2017    742   CT0085   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       68.77
      7/15/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                      100
      7/15/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 203113 Sub Lease Q13171        352.68
      7/15/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 203288 Sub Lease Q13171        352.68
      7/15/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/15/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      7/15/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.5
      7/15/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.41
      7/15/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.01
      7/15/2017    742   DA0067   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       166.6
      7/15/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                       100
      7/15/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      7/15/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/15/2017    742   DA0067   Owner Operator   Repair Order                   CTMS - 203542 repair                    180
      7/15/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/15/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      7/15/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          449.7
      7/15/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.34
      7/15/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.55
      7/15/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
      7/15/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      7/15/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      7/15/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      7/15/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      7/15/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.4
      7/15/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.46
      7/15/2017    742   ED0041   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       41.11
      7/15/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
      7/15/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      7/15/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      7/15/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/15/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      7/15/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          76.34
      7/15/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.73
      7/15/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.05
      7/15/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.19
      7/15/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.06
      7/15/2017    742   EN0016   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       80.03
      7/15/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      7/15/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      7/15/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/15/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      7/15/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      7/15/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      7/15/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.79
      7/15/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          165.1
      7/15/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.76
      7/15/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
      7/15/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      7/15/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      7/15/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      7/15/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      7/15/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      7/15/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      7/15/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      7/15/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      7/15/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.99
      7/15/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      7/15/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      7/15/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      7/15/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      7/15/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/15/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/15/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.14
      7/15/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      19.83
      7/15/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      7/15/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/15/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      7/15/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                       100
      7/15/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      7/15/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/15/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      7/15/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      7/15/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      7/15/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/15/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/15/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.04
      7/15/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      7/15/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.39
      7/15/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                       100
      7/15/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      7/15/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      7/15/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00353888 - PO System            9.01
      7/15/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00354148 - PO System           91.33
      7/15/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 203240 Q1247 Sub Lease         311.97
      7/15/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 203413 Q1247 Sub Lease         311.97
      7/15/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      7/15/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      7/15/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/15/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/15/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.68
      7/15/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.34
      7/15/2017    742   NG0024   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       10.55
      7/15/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100
      7/15/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      7/15/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      7/15/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/15/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/15/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/15/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.57
      7/15/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.7
      7/15/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                       100
      7/15/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      7/15/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      7/15/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      7/15/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
      7/15/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/15/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      7/15/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/15/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/15/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/15/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/15/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/15/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.82
      7/15/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.39
      7/15/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.42
      7/15/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.78
      7/15/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.77
      7/15/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.39
      7/15/2017    742   PC0012   Owner Operator   FUEL TAX                       May17 Fuel Taxes                      133.27
      7/15/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      7/15/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      7/15/2017    742   PC0012   Owner Operator   Toll Charges                   32969,TxTag,Ship Channel Bridg             7
      7/15/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      7/15/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13

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      7/15/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.81
      7/15/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.51
      7/15/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.59
      7/15/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.57
      7/15/2017    742   RN0054   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       45.62
      7/15/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                      100
      7/15/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 203216 Tractor Lease           353.28
      7/15/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 203378 Tractor Lease           353.28
      7/15/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/15/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      7/15/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
      7/15/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      7/15/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      7/15/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/15/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      7/15/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/15/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.77
      7/15/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.57
      7/15/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.16
      7/15/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.71
      7/15/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.64
      7/15/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                       100
      7/15/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/15/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      7/15/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/15/2017    843   EI0003   Owner Operator   FUEL TAX                       May17 Fuel Taxes                        15.5
      7/15/2017    843   EI0003   Owner Operator   Miscellaneous                  Unclaimed Property                     -15.5
      7/22/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      7/22/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      7/22/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            400
      7/22/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      7/22/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.37
      7/22/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.58
      7/22/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                      100
      7/22/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      7/22/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      7/22/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      7/22/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.68
      7/22/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.61
      7/22/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.53
      7/22/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.39
      7/22/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                      100
      7/22/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00355231 - PO System          429.13
      7/22/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 203596 Q13147 Lease            440.14
      7/22/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      7/22/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      7/22/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/22/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/22/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.51
      7/22/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.79
      7/22/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.01
      7/22/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.37
      7/22/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                      100
      7/22/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 203639 Q13169 Sublease         352.68
      7/22/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      7/22/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      7/22/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                       100
      7/22/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      7/22/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      7/22/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      7/22/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.79
      7/22/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.11
      7/22/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.98
      7/22/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                      100

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      7/22/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 203594 Q13168 sub lease        352.68
      7/22/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/22/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      7/22/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      7/22/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/22/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/22/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.08
      7/22/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.87
      7/22/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.36
      7/22/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      7/22/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      7/22/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/22/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      7/22/2017    709   CR0064   Owner Operator   Accident Claim                 07/09/17 CR0064 Contamination         180.18
      7/22/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      7/22/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      7/22/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.33
      7/22/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                       100
      7/22/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      7/22/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 203599 Q1201                   278.76
      7/22/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/22/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      7/22/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      7/22/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    709   DL0029   Owner Operator   Fuel Card Advances             Cash Advance                            400
      7/22/2017    709   DL0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      7/22/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.82
      7/22/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.62
      7/22/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.53
      7/22/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.49
      7/22/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.45
      7/22/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                       100
      7/22/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment           3.76
      7/22/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         251.12
      7/22/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      7/22/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00352805 - PO System          197.33
      7/22/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00353945 - PO System          181.11
      7/22/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00353945 - PO System          181.11
      7/22/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      7/22/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      7/22/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          392.7
      7/22/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      7/22/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          552.5
      7/22/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                       100
      7/22/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      7/22/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      7/22/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      7/22/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/22/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      7/22/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.54
      7/22/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      7/22/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      7/22/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      7/22/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      7/22/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.47
      7/22/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.06
      7/22/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                       100
      7/22/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      7/22/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/22/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      7/22/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/22/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/22/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/22/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/22/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      7/22/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/22/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/22/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.53
      7/22/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.81
      7/22/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.07
      7/22/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      7/22/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      7/22/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      7/22/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/22/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      7/22/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/22/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/22/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/22/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/22/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.32
      7/22/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.37
      7/22/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.34
      7/22/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.32
      7/22/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      7/22/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      7/22/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      7/22/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      7/22/2017    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33828           9.84
      7/22/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      7/22/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.72
      7/22/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.14
      7/22/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
      7/22/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      7/22/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      7/22/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 7/20 #17105                    350.36
      7/22/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      7/22/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      7/22/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.43
      7/22/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.77
      7/22/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.04
      7/22/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                        100
      7/22/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      7/22/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 203644 truck lease 3304        434.29
      7/22/2017    709   FT0004   Owner Operator   *Arrears Collection W/O        Reverse WO - Unreturned PNet          443.29
      7/22/2017    709   FT0004   Owner Operator   Communication Charge           Rev Unreturned PNet chrg               -1250
      7/22/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/22/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      7/22/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                             300
      7/22/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/22/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.73
      7/22/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.52
      7/22/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                       100
      7/22/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      7/22/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      7/22/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      7/22/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.44
      7/22/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                        100
      7/22/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      7/22/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 203598 Lease                   252.11
      7/22/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      7/22/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.33
      7/22/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.1
      7/22/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.93
      7/22/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.27
      7/22/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                        100
      7/22/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 203644 Tractor Q1235           364.78
      7/22/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      7/22/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.11

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      7/22/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.35
      7/22/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.13
      7/22/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.18
      7/22/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                       100
      7/22/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 203595 Q13170                  352.68
      7/22/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      7/22/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      7/22/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.32
      7/22/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.65
      7/22/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                        100
      7/22/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      7/22/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/22/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      7/22/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
      7/22/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.78
      7/22/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.55
      7/22/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.63
      7/22/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.73
      7/22/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.55
      7/22/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.51
      7/22/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                        100
      7/22/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      7/22/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      7/22/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/22/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                             150
      7/22/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      7/22/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.41
      7/22/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.62
      7/22/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      7/22/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      7/22/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/22/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      7/22/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      7/22/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      7/22/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      7/22/2017    709   JC0292   Owner Operator   Communication Charge           2 wk PNet chrg unit Q1210                -26
      7/22/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      7/22/2017    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                      -3600
      7/22/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      7/22/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.73
      7/22/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.97
      7/22/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.81
      7/22/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      7/22/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q13197                       100
      7/22/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q13197                         3
      7/22/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         255.43
      7/22/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.11
      7/22/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      7/22/2017    709   JC0292   Owner Operator   Toll Charges                   Pike Pass Tolls June 2 - Q1210          35.2
      7/22/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210,WVPEDTA,Chelyan                   5.87
      7/22/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210,WVPEDTA,Chelyan                   5.87
      7/22/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210,WVPEDTA,Pax                       5.87
      7/22/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210,WVPEDTA,Pax                       5.87
      7/22/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      7/22/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 203643 Q13197 Lease            276.63
      7/22/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/22/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      7/22/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      7/22/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             500
      7/22/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/22/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.92
      7/22/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.1
      7/22/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      7/22/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      7/22/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      7/22/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/22/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13

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      7/22/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/22/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/22/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/22/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/22/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.61
      7/22/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.01
      7/22/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      7/22/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      7/22/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      7/22/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      7/22/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      7/22/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/22/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/22/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.74
      7/22/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.03
      7/22/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                       100
      7/22/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      7/22/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      7/22/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      7/22/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.99
      7/22/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                       100
      7/22/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      7/22/2017    709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00353046 - PO System          179.55
      7/22/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 203570 Truck Lease             278.76
      7/22/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      7/22/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      7/22/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      7/22/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/22/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/22/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/22/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/22/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/22/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.79
      7/22/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.09
      7/22/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                       100
      7/22/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      7/22/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      7/22/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/22/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      7/22/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/22/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            250
      7/22/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/22/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/22/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
      7/22/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.11
      7/22/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.08
      7/22/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.53
      7/22/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      7/22/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      7/22/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/22/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      7/22/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      7/22/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      7/22/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                       100
      7/22/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      7/22/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 203685 Lease Q1111             252.11
      7/22/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      7/22/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      7/22/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/22/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/22/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.86
      7/22/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.58
      7/22/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                       100
      7/22/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      7/22/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      7/22/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/22/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8

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      7/22/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/22/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         14.58
      7/22/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        367.65
      7/22/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.51
      7/22/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        364.48
      7/22/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                      100
      7/22/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/22/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     49.68
      7/22/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      7/22/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                        13
      7/22/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        142.96
      7/22/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                        171.86
      7/22/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/22/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     70.29
      7/22/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
      7/22/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
      7/22/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/22/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        305.23
      7/22/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.05
      7/22/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        309.05
      7/22/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                      100
      7/22/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/22/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.04
      7/22/2017    709   ME0053   Owner Operator   Tire Purchase                  PO: 709-00349406 - PO System         507.79
      7/22/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 203595 Q1113 Lease            252.11
      7/22/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      7/22/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      7/22/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        252.24
      7/22/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                     81.42
      7/22/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                      100
      7/22/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/22/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/22/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      7/22/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
      7/22/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      7/22/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      7/22/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      7/22/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      7/22/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/22/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/22/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        264.26
      7/22/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        117.79
      7/22/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.39
      7/22/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment        274.27
      7/22/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/22/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.11
      7/22/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      7/22/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      7/22/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      7/22/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         1000
      7/22/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           120
      7/22/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.2
      7/22/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.74
      7/22/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                     32.99
      7/22/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/22/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.86
      7/22/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      7/22/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      7/22/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        104.68
      7/22/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         46.16
      7/22/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      7/22/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      7/22/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      7/22/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             80
      7/22/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.8
      7/22/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        172.06
      7/22/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          300
      7/22/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                     100
      7/22/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/22/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               32.97
      7/22/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL            8.75
      7/22/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                         13
      7/22/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2018 - 73130                     10.58

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      7/22/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                      32.99
      7/22/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      7/22/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 203595 Truck 73130 Leas        196.65
      7/22/2017    709   RC0030   Owner Operator   Advance                        claim 64897 s/u $250.00 per wk          250
      7/22/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      7/22/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      7/22/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      7/22/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 203569 Down Payment lo         303.55
      7/22/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.19
      7/22/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/22/2017    709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-29         -48.26
      7/22/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/22/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/22/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.05
      7/22/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.08
      7/22/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      7/22/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         251.58
      7/22/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      7/22/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      7/22/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/22/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/22/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.08
      7/22/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      7/22/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      7/22/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      7/22/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/22/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      7/22/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/22/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/22/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/22/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/22/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.26
      7/22/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.18
      7/22/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      7/22/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      7/22/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      7/22/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/22/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      7/22/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.12
      7/22/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.74
      7/22/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
      7/22/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      7/22/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      7/22/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      7/22/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      7/22/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.74
      7/22/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.46
      7/22/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                       100
      7/22/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      7/22/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      7/22/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      7/22/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.78
      7/22/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.95
      7/22/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                       100
      7/22/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      7/22/2017    709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00353048 - PO System          200.94
      7/22/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 203570 Q1202 Truck Leas        278.76
      7/22/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts              250
      7/22/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      7/22/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      7/22/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.54
      7/22/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.53
      7/22/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                       100
      7/22/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      7/22/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      7/22/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      7/22/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 203599 Q1248                   311.97
      7/22/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      7/22/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      7/22/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/22/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/22/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/22/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.22
      7/22/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.92
      7/22/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.88
      7/22/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.53
      7/22/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      7/22/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      7/22/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      7/22/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      7/22/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      7/22/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.38
      7/22/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.11
      7/22/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.61
      7/22/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.23
      7/22/2017    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2017 - 33037                       100
      7/22/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      7/22/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      7/22/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 203568 Sub Lease               388.33
      7/22/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      7/22/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      7/22/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      7/22/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.18
      7/22/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.74
      7/22/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.83
      7/22/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      7/22/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      7/22/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      7/22/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.87
      7/22/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      7/22/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.94
      7/22/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                       100
      7/22/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      7/22/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 203594 Back lease payme        255.61
      7/22/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 203597 Tractor Sub leas        242.03
      7/22/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.32
      7/22/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/22/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      7/22/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/22/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/22/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/22/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.37
      7/22/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.79
      7/22/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.77
      7/22/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.27
      7/22/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.79
      7/22/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                       100
      7/22/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      7/22/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 203720 New Truck Set Up        248.96
      7/22/2017    709   VJ0006   Owner Operator   Repair Order                   TRACTOR 33961                          23.58
      7/22/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/22/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      7/22/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      7/22/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      7/22/2017    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-29         -201.5
      7/22/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              40
      7/22/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      7/22/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.68
      7/22/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.89
      7/22/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.03

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      7/22/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                      34.88
      7/22/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      7/22/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      7/22/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/22/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/22/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.25
      7/22/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.33
      7/22/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      7/22/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      7/22/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                       100
      7/22/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/22/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      7/22/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.06
      7/22/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.64
      7/22/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                       100
      7/22/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      7/22/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      7/22/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      7/22/2017    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33987           9.84
      7/22/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      7/22/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.72
      7/22/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.31
      7/22/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          404.7
      7/22/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                       100
      7/22/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      7/22/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      7/22/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.32
      7/22/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.77
      7/22/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                      100
      7/22/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 203481 Sub Lease Q13171        352.68
      7/22/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/22/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      7/22/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      7/22/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.71
      7/22/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                       100
      7/22/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      7/22/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/22/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/22/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      7/22/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.01
      7/22/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.51
      7/22/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.04
      7/22/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
      7/22/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      7/22/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      7/22/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      7/22/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      7/22/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.28
      7/22/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.21
      7/22/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.23
      7/22/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           403
      7/22/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.19
      7/22/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
      7/22/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      7/22/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      7/22/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/22/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      7/22/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/22/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/22/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          71.27
      7/22/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.68

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      7/22/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.63
      7/22/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.14
      7/22/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.31
      7/22/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      7/22/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      7/22/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/22/2017    742   EN0016   Owner Operator   Toll Charges                   32947,HCTRA,Ship Channel Bridg             7
      7/22/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      7/22/2017    742   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      7/22/2017    742   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33846           9.84
      7/22/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      7/22/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.84
      7/22/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          236.9
      7/22/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.04
      7/22/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.93
      7/22/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
      7/22/2017    742   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      7/22/2017    742   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      7/22/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      7/22/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      7/22/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      7/22/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      7/22/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      7/22/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      7/22/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.39
      7/22/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          241.8
      7/22/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.15
      7/22/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      7/22/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/22/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      7/22/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                       100
      7/22/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      7/22/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/22/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      7/22/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      7/22/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      7/22/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/22/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/22/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/22/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/22/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/22/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      7/22/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      7/22/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.75
      7/22/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      7/22/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.03
      7/22/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                       100
      7/22/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.54
      7/22/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      7/22/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00353888 - PO System            8.96
      7/22/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00354148 - PO System           91.33
      7/22/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 203595 Q1247 Sub Lease         311.97
      7/22/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      7/22/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      7/22/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.59
      7/22/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.07
      7/22/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.6
      7/22/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.6
      7/22/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100
      7/22/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/22/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      7/22/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      7/22/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/22/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
      7/22/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50

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      7/22/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                              200
      7/22/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                              200
      7/22/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/22/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/22/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          325.85
      7/22/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          288.24
      7/22/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                           289.9
      7/22/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.15
      7/22/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                         100
      7/22/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/22/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                     28.9
      7/22/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      7/22/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                    50
      7/22/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          328.08
      7/22/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                          13
      7/22/2017    742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-29            -300
      7/22/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          255.66
      7/22/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.28
      7/22/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           297.8
      7/22/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           181.1
      7/22/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                        100
      7/22/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/22/2017    742   RN0054   Owner Operator   Repair Order                   CTMS - 203615 repair                      312
      7/22/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 203569 Tractor Lease            353.28
      7/22/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      7/22/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
      7/22/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/22/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          262.89
      7/22/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/22/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.58
      7/22/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
      7/22/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      7/22/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
      7/22/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/22/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.54
      7/22/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.78
      7/22/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          172.36
      7/22/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.77
      7/22/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.56
      7/22/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                         100
      7/22/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/22/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
      7/22/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      7/22/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                           8.75
      7/22/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                           8.75
      7/22/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                           13
      7/22/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                           13
      7/22/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/22/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/22/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           322.1
      7/22/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           46.06
      7/22/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          413.38
      7/22/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          205.92
      7/22/2017    843   EI0003   Owner Operator   FUEL TAX                       May17 Fuel Taxes                        91.78
      7/22/2017    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/22/2017    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/22/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           74.22
      7/22/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           74.22
      7/22/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                   2.5
      7/22/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                   2.5
      7/29/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                          13
      7/29/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/29/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                              350
      7/29/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3.5
      7/29/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.91
      7/29/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                        100
      7/29/2017    709   AN0007   Owner Operator   Loan Repayment                 Crdt Exp Ck 168256 s/u loan          -1391.11
      7/29/2017    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          280.15
      7/29/2017    709   AN0007   Owner Operator   T Chek Fee                     ExpressCheck Fee                        13.77
      7/29/2017    709   AN0007   Owner Operator   T Chek Fee                     Tractor Repair 21157A                 1377.34
      7/29/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                          13
      7/29/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                             180
      7/29/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          432.53

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      7/29/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                      100
      7/29/2017    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00355231 - PO System          429.13
      7/29/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 203809 Q13147 Lease            440.14
      7/29/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      7/29/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.24
      7/29/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           74.1
      7/29/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.01
      7/29/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.16
      7/29/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           360
      7/29/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.39
      7/29/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.05
      7/29/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.36
      7/29/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                      100
      7/29/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 203843 Q13169 Sublease         352.68
      7/29/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      7/29/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                       100
      7/29/2017    709   BM0030   Owner Operator   Repair Order                   CTMS - 203883 Batteries               501.08
      7/29/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      7/29/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.03
      7/29/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.17
      7/29/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.56
      7/29/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.43
      7/29/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                      100
      7/29/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 203808 Q13168 sub lease        352.68
      7/29/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      7/29/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      7/29/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          335.3
      7/29/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      7/29/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      7/29/2017    709   CR0064   Owner Operator   Accident Claim                 07/09/17 CR0064 Contamination        1157.52
      7/29/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      7/29/2017    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      7/29/2017    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/29/2017    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/29/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.27
      7/29/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.63
      7/29/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/29/2017    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/29/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      7/29/2017    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      7/29/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      7/29/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      7/29/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         156.95
      7/29/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      7/29/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                       100
      7/29/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 203813 Q1201                   278.76
      7/29/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      7/29/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.46
      7/29/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.37
      7/29/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.62
      7/29/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.34
      7/29/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.69
      7/29/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.62
      7/29/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                       100
      7/29/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         250.49
      7/29/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00353945 - PO System          181.11
      7/29/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      7/29/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/29/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/29/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.63
      7/29/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.32
      7/29/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.41
      7/29/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.14
      7/29/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                       100
      7/29/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
      7/29/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      7/29/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.98
      7/29/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                           600
      7/29/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      7/29/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      7/29/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.87

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      7/29/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.28
      7/29/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                       100
      7/29/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      7/29/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      7/29/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      7/29/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.15
      7/29/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.74
      7/29/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.07
      7/29/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.95
      7/29/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      7/29/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      7/29/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.74
      7/29/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.49
      7/29/2017    709   DW0138   Owner Operator   Toll Charges                   33443,ILTOLL,Route 80 (East)             3.6
      7/29/2017    709   DW0138   Owner Operator   Toll Charges                   33443,ITRCC,Eastpoint                  36.93
      7/29/2017    709   DW0138   Owner Operator   Toll Charges                   33443,OTC,North Ridgeville-Cle          24.5
      7/29/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      7/29/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      7/29/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      7/29/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/29/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/29/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/29/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/29/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/29/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/29/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/29/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.62
      7/29/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.78
      7/29/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           11.9
      7/29/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.61
      7/29/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      7/29/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      7/29/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      7/29/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/29/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/29/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.88
      7/29/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.48
      7/29/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      7/29/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      7/29/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      7/29/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      7/29/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.88
      7/29/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.19
      7/29/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.89
      7/29/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
      7/29/2017    709   EG0062   Owner Operator   Tractor Charge                 dbt wk 7/27 #17105                    350.36
      7/29/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      7/29/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.45
      7/29/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.93
      7/29/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.88
      7/29/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                       100
      7/29/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 203848 truck lease 3304        434.29
      7/29/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      7/29/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.62
      7/29/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                      100
      7/29/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      7/29/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.44
      7/29/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                       100
      7/29/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 203812 Lease                   252.11
      7/29/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      7/29/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.44
      7/29/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          302.4
      7/29/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.62
      7/29/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.28
      7/29/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                       100
      7/29/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 203847 Tractor Q1235           364.78
      7/29/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      7/29/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.51
      7/29/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.79
      7/29/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.76

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      7/29/2017    709   HC0023   Owner Operator   IRP License Deduction   LCIL:2017 - Q13170                     100
      7/29/2017    709   HC0023   Owner Operator   Truck Payment           CTMS - 203809 Q13170                 352.68
      7/29/2017    709   HG0007   Owner Operator   Communication Charge    PNet Hware 33180                         13
      7/29/2017    709   HG0007   Owner Operator   ESCROW                  Weekly Escrow                            50
      7/29/2017    709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance                           100
      7/29/2017    709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance                           300
      7/29/2017    709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance Fee                          3
      7/29/2017    709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
      7/29/2017    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                        256.46
      7/29/2017    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                        301.42
      7/29/2017    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                        238.47
      7/29/2017    709   HG0007   Owner Operator   IRP License Deduction   LCIL:2017 - 33180                      100
      7/29/2017    709   HG0027   Owner Operator   Communication Charge    PNet Hware 33418                         13
      7/29/2017    709   HG0027   Owner Operator   ESCROW                  Weekly Escrow                          100
      7/29/2017    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                        260.27
      7/29/2017    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                        161.71
      7/29/2017    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                        341.82
      7/29/2017    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                        339.38
      7/29/2017    709   HG0027   Owner Operator   IRP License Deduction   LCIL:2017 - 33418                      100
      7/29/2017    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                        326.95
      7/29/2017    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                        316.56
      7/29/2017    709   IR0002   Owner Operator   IRP License Deduction   LCIL:2017 - 32901                     32.99
      7/29/2017    709   IR0002   Owner Operator   Tractor Charge          14461 - 32901                        521.95
      7/29/2017    709   JC0292   Owner Operator   Communication Charge    PNet Hware Q13197                        13
      7/29/2017    709   JC0292   Owner Operator   ESCROW                  Weekly Escrow                          400
      7/29/2017    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         349.4
      7/29/2017    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                        449.86
      7/29/2017    709   JC0292   Owner Operator   IRP License Deduction   LCIL:2017 - Q1210                     32.99
      7/29/2017    709   JC0292   Owner Operator   IRP License Deduction   LCIL:2017 - Q13197                     100
      7/29/2017    709   JC0292   Owner Operator   Loan Repayment          Loan # 00003 - Loan Repayment        255.43
      7/29/2017    709   JC0292   Owner Operator   Tractor Charge          51362 - Q1210                        458.72
      7/29/2017    709   JC0292   Owner Operator   Truck Payment           CTMS - 203846 Q13197 Lease           276.63
      7/29/2017    709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                         13
      7/29/2017    709   JG0017   Owner Operator   ESCROW                  Weekly Escrow                          500
      7/29/2017    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                           300
      7/29/2017    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                          3
      7/29/2017    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                        378.67
      7/29/2017    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                        513.21
      7/29/2017    709   JG0017   Owner Operator   IRP License Deduction   LCIL:2017 - 32908                     32.99
      7/29/2017    709   JG0017   Owner Operator   Tractor Charge          14298 - 32908                         504.6
      7/29/2017    709   JG0072   Owner Operator   Communication Charge    PNet Hware 32909                         13
      7/29/2017    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                           500
      7/29/2017    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                          5
      7/29/2017    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                        538.88
      7/29/2017    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                        429.81
      7/29/2017    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                        498.07
      7/29/2017    709   JG0072   Owner Operator   IRP License Deduction   LCIL:2017 - 32909                     32.99
      7/29/2017    709   JG0072   Owner Operator   Tractor Charge          14534 - 32909                        513.26
      7/29/2017    709   JQ0015   Owner Operator   Communication Charge    PNet Hware 33438                         13
      7/29/2017    709   JQ0015   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 8-5        -269.76
      7/29/2017    709   JQ0015   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 8-5         -45.58
      7/29/2017    709   JQ0015   Owner Operator   Fuel Card Advances      Cash Advance                           100
      7/29/2017    709   JQ0015   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
      7/29/2017    709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                        223.79
      7/29/2017    709   JQ0015   Owner Operator   IRP License Deduction   LCIL:2017 - 33438                      100
      7/29/2017    709   JR0099   Owner Operator   Communication Charge    PNet Hware Q1203                         13
      7/29/2017    709   JR0099   Owner Operator   Fuel Purchase           Fuel Purchase                        235.89
      7/29/2017    709   JR0099   Owner Operator   Fuel Purchase           Fuel Purchase                        356.57
      7/29/2017    709   JR0099   Owner Operator   IRP License Deduction   LCIL:2017 - Q1203                      100
      7/29/2017    709   JR0099   Owner Operator   Truck Payment           CTMS - 203766 Truck Lease            278.76
      7/29/2017    709   JS0265   Owner Operator   Communication Charge    PNet Hware 33325                         13
      7/29/2017    709   JS0265   Owner Operator   ESCROW                  Weekly Escrow                          100
      7/29/2017    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                           200
      7/29/2017    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                           200
      7/29/2017    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      7/29/2017    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      7/29/2017    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                        138.64
      7/29/2017    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                        421.66
      7/29/2017    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                        401.29
      7/29/2017    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                        266.74
      7/29/2017    709   JS0265   Owner Operator   IRP License Deduction   LCIL:2017 - 33325                      100
      7/29/2017    709   KP0004   Owner Operator   Communication Charge    PNet Hware 32914                         13
      7/29/2017    709   KP0004   Owner Operator   ESCROW                  Weekly Escrow                          250

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      7/29/2017    709   KP0004   Owner Operator   Fuel Card Advances         Cash Advance                           100
      7/29/2017    709   KP0004   Owner Operator   Fuel Card Advances         Cash Advance Fee                          1
      7/29/2017    709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                          275
      7/29/2017    709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                        270.02
      7/29/2017    709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                          323
      7/29/2017    709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                        170.75
      7/29/2017    709   KP0004   Owner Operator   IRP License Deduction      LCIL:2017 - 32914                     32.99
      7/29/2017    709   KP0004   Owner Operator   Tractor Charge             14457 - 32914                        519.59
      7/29/2017    709   LL0160   Owner Operator   Communication Charge       PNet Hware Q1111                          8
      7/29/2017    709   LL0160   Owner Operator   IRP License Deduction      LCIL:2017 - Q1111                      100
      7/29/2017    709   LL0160   Owner Operator   Truck Payment              CTMS - 203903 Lease Q1111            252.11
      7/29/2017    709   LS0023   Owner Operator   Communication Charge       PNet Hware 33655                         13
      7/29/2017    709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance                           200
      7/29/2017    709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance                           200
      7/29/2017    709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance Fee                          2
      7/29/2017    709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance Fee                          2
      7/29/2017    709   LS0023   Owner Operator   Fuel Purchase              Fuel Purchase                         347.1
      7/29/2017    709   LS0023   Owner Operator   Fuel Purchase              Fuel Purchase                         411.3
      7/29/2017    709   LS0023   Owner Operator   IRP License Deduction      LCIL:2017 - 33655                      100
      7/29/2017    709   MA0092   Owner Operator   Communication Charge       PNet Hware 34005                          8
      7/29/2017    709   MA0092   Owner Operator   ESCROW                     Weekly Escrow                            50
      7/29/2017    709   MA0092   Owner Operator   Fuel Purchase              Fuel Purchase                        238.26
      7/29/2017    709   MA0092   Owner Operator   Fuel Purchase              Fuel Purchase                         12.95
      7/29/2017    709   MA0092   Owner Operator   Fuel Purchase              Fuel Purchase                        260.09
      7/29/2017    709   MA0092   Owner Operator   Fuel Purchase              Fuel Purchase                         10.25
      7/29/2017    709   MA0092   Owner Operator   Fuel Purchase              Fuel Purchase                        100.54
      7/29/2017    709   MA0092   Owner Operator   IRP License Deduction      LCIL:2017 - 34005                      100
      7/29/2017    709   MA0092   Owner Operator   Truck Payment              CTMS - 203882 Batteries              501.08
      7/29/2017    709   MB0048   Owner Operator   Communication Charge       PNet Hware 21727b                        13
      7/29/2017    709   MB0048   Owner Operator   Fuel Purchase              Fuel Purchase                        267.81
      7/29/2017    709   MB0048   Owner Operator   Fuel Purchase              Fuel Purchase                        248.88
      7/29/2017    709   MB0048   Owner Operator   Fuel Purchase              Fuel Purchase                        255.07
      7/29/2017    709   ME0053   Owner Operator   Communication Charge       PNet Hware Q1113                          8
      7/29/2017    709   ME0053   Owner Operator   ESCROW                     Weekly Escrow                            50
      7/29/2017    709   ME0053   Owner Operator   Fuel Purchase              Fuel Purchase                        189.38
      7/29/2017    709   ME0053   Owner Operator   Fuel Purchase              Fuel Purchase                        291.18
      7/29/2017    709   ME0053   Owner Operator   IRP License Deduction      LCIL:2017 - Q1113                      100
      7/29/2017    709   ME0053   Owner Operator   Truck Payment              CTMS - 203809 Q1113 Lease            252.11
      7/29/2017    709   MG0067   Owner Operator   Deferred Negative Pay      ** Net Rebill to post on 8-5        -231.68
      7/29/2017    709   MG0067   Owner Operator   Fuel Purchase              Fuel Purchase                          290
      7/29/2017    709   MG0067   Owner Operator   Fuel Purchase              Fuel Purchase                        230.75
      7/29/2017    709   MG0067   Owner Operator   IRP License Deduction      LCIL:2017 - 33435                      100
      7/29/2017    709   MM0093   Owner Operator   Communication Charge       PNet Hware 32931                         13
      7/29/2017    709   MM0093   Owner Operator   Fuel Card Advances         Cash Advance                           100
      7/29/2017    709   MM0093   Owner Operator   Fuel Card Advances         Cash Advance Fee                          1
      7/29/2017    709   MM0093   Owner Operator   Fuel Purchase              Fuel Purchase                         78.81
      7/29/2017    709   MM0093   Owner Operator   Fuel Purchase              Fuel Purchase                        378.23
      7/29/2017    709   MM0093   Owner Operator   Fuel Purchase              Fuel Purchase                        405.82
      7/29/2017    709   MM0093   Owner Operator   Loan Repayment             Loan # 00011 - Loan Repayment        274.27
      7/29/2017    709   MM0093   Owner Operator   Tractor Charge             16434 - 32931                        337.19
      7/29/2017    709   MP0035   Owner Operator   Charge back by affiliate   CTMS - 203881 Fuel Q1105            -368.28
      7/29/2017    709   MP0035   Owner Operator   Communication Charge       PNet Hware 32904                         13
      7/29/2017    709   MP0035   Owner Operator   ESCROW                     Weekly Escrow                         1000
      7/29/2017    709   MP0035   Owner Operator   Fuel Card Advances         Cash Advance                           125
      7/29/2017    709   MP0035   Owner Operator   Fuel Card Advances         Cash Advance Fee                       1.25
      7/29/2017    709   MP0035   Owner Operator   Fuel Purchase              Fuel Purchase                        368.28
      7/29/2017    709   MP0035   Owner Operator   Fuel Purchase              Fuel Purchase                        529.06
      7/29/2017    709   MP0035   Owner Operator   IRP License Deduction      LCIL:2017 - 32904                     32.99
      7/29/2017    709   MP0035   Owner Operator   Tractor Charge             15571 - 32904                        323.05
      7/29/2017    709   NB0029   Owner Operator   BOBTAIL INS.               1108 2011 Freightliner NTL             8.75
      7/29/2017    709   NB0029   Owner Operator   Communication Charge       PNet Hware Q1108                         13
      7/29/2017    709   NB0029   Owner Operator   Communication Charge       PNet Hware Q1108                         13
      7/29/2017    709   NB0029   Owner Operator   Communication Charge       PNet Hware Q1108                         13
      7/29/2017    709   NB0029   Owner Operator   Fuel Card Advances         Cash Advance                           200
      7/29/2017    709   NB0029   Owner Operator   Fuel Card Advances         Cash Advance                           200
      7/29/2017    709   NB0029   Owner Operator   Fuel Card Advances         Cash Advance Fee                          2
      7/29/2017    709   NB0029   Owner Operator   Fuel Card Advances         Cash Advance Fee                          2
      7/29/2017    709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                        178.13
      7/29/2017    709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                        375.31
      7/29/2017    709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                        132.92
      7/29/2017    709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                        141.56
      7/29/2017    709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                        146.98
      7/29/2017    709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                        142.74

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      7/29/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.18
      7/29/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.52
      7/29/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                       100
      7/29/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                       100
      7/29/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/29/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      7/29/2017    709   NB0029   Owner Operator   Repair Order                   CTMS - 203432 Repairs                 365.62
      7/29/2017    709   NB0029   Owner Operator   Repair Order                   CTMS - 203883 Misc Tractor rep        365.62
      7/29/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 203490 Lease                   215.66
      7/29/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 203684 Lease                   215.66
      7/29/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 203902 Lease                   215.66
      7/29/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      7/29/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/29/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/29/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.03
      7/29/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.45
      7/29/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                      100
      7/29/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      7/29/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2018 - 73130                      10.58
      7/29/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                      32.99
      7/29/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 203808 Truck 73130 Leas        196.65
      7/29/2017    709   RC0030   Owner Operator   Advance                        claim 64897 s/u $250.00 per wk          250
      7/29/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 203766 Down Payment lo         303.55
      7/29/2017    709   RC0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-22           48.26
      7/29/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/29/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/29/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.17
      7/29/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.81
      7/29/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.28
      7/29/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      7/29/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         251.58
      7/29/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      7/29/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/29/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.47
      7/29/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.87
      7/29/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.6
      7/29/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      7/29/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      7/29/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      7/29/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                              40
      7/29/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/29/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/29/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/29/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/29/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      7/29/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          422.5
      7/29/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.03
      7/29/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.64
      7/29/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      7/29/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      7/29/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      7/29/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.08
      7/29/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.25
      7/29/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.82
      7/29/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
      7/29/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      7/29/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.21
      7/29/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.84
      7/29/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                       100
      7/29/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      7/29/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.78
      7/29/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                       100
      7/29/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 203766 Q1202 Truck Leas        278.76
      7/29/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts              250
      7/29/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      7/29/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/29/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/29/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.46
      7/29/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.29
      7/29/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.96
      7/29/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                       100
      7/29/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 203813 Q1248                   311.97

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      7/29/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      7/29/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/29/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.95
      7/29/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.33
      7/29/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.59
      7/29/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      7/29/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      7/29/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      7/29/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.43
      7/29/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.98
      7/29/2017    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2017 - 33037                       100
      7/29/2017    709   SB0103   Owner Operator   Tire Fee                       Tire Fee: 2037822                          8
      7/29/2017    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00354425 - PO System          154.31
      7/29/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 203764 Sub Lease               388.33
      7/29/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      7/29/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.52
      7/29/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.41
      7/29/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.35
      7/29/2017    709   SN0019   Owner Operator   Truck Payment                  CTMS - 203882 Tractor rental            700
      7/29/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      7/29/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           146
      7/29/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                       100
      7/29/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 203811 Back lease payme        255.61
      7/29/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 203811 Tractor Sub leas        242.03
      7/29/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      7/29/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/29/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      7/29/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/29/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/29/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      7/29/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.33
      7/29/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.57
      7/29/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.94
      7/29/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.77
      7/29/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.97
      7/29/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                       100
      7/29/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 203951 New Truck Set Up        248.96
      7/29/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      7/29/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      7/29/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      7/29/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      7/29/2017    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-22           201.5
      7/29/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.19
      7/29/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                      65.12
      7/29/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                       100
      7/29/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/29/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      7/29/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 203600 Q1238 Lease             311.97
      7/29/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 203813 Q1238 Lease             311.97
      7/29/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      7/29/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/29/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/29/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/29/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/29/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/29/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/29/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/29/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/29/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.44
      7/29/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.27
      7/29/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.06
      7/29/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.68
      7/29/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      7/29/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                       100
      7/29/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      7/29/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.11
      7/29/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.96
      7/29/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.12
      7/29/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                       100
      7/29/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      7/29/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50

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      7/29/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.66
      7/29/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.97
      7/29/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                       100
      7/29/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      7/29/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.08
      7/29/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.83
      7/29/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                      100
      7/29/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 203674 Sub Lease Q13171        352.68
      7/29/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 203892 Sub Lease Q13171        352.68
      7/29/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      7/29/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.25
      7/29/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                       100
      7/29/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      7/29/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.14
      7/29/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.35
      7/29/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
      7/29/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      7/29/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.66
      7/29/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.9
      7/29/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.45
      7/29/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.01
      7/29/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                       100
      7/29/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.54
      7/29/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          53.42
      7/29/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.69
      7/29/2017    742   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      7/29/2017    742   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.31
      7/29/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.87
      7/29/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.76
      7/29/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.64
      7/29/2017    742   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                       100
      7/29/2017    742   EO0014   Owner Operator   Repair Order                   CTMS - 203883 repair                  -56.83
      7/29/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      7/29/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      7/29/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           268
      7/29/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.26
      7/29/2017    742   KJ0045   Owner Operator   FUEL TAX                       May17 Fuel Taxes                       47.12
      7/29/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      7/29/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      13.16
      7/29/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          19.13
      7/29/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      7/29/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                       100
      7/29/2017    742   MK0078   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
      7/29/2017    742   MK0078   Owner Operator   T Chek Fee                     School Checks (Corp)                    300
      7/29/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      7/29/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      7/29/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/29/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/29/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/29/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/29/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.97
      7/29/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      7/29/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.96
      7/29/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                       100
      7/29/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00354148 - PO System           91.33
      7/29/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 203808 Q1247 Sub Lease         311.97
      7/29/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      7/29/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.76
      7/29/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          236.6
      7/29/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                       100
      7/29/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/29/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                          199.47
      7/29/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/29/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                           2.06
      7/29/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.27
      7/29/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          129.3

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      7/29/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.35
      7/29/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      7/29/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
      7/29/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/29/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      7/29/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      7/29/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/29/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/29/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.44
      7/29/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.08
      7/29/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      7/29/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      7/29/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      7/29/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      7/29/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          181.1
      7/29/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      7/29/2017    742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-22            300
      7/29/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.15
      7/29/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.31
      7/29/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                      100
      7/29/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 203765 Tractor Lease           353.28
      7/29/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      7/29/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      7/29/2017    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      7/29/2017    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      7/29/2017    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.24
      7/29/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      7/29/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      7/29/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      7/29/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      7/29/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      7/29/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
      7/29/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      7/29/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.46
      7/29/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.25
      7/29/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.51
      7/29/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.38
      7/29/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          271.2
      7/29/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                       100
      7/29/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      7/29/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/29/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.03
      7/29/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.76
      7/29/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.76
       8/5/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       8/5/2017    709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                   12.5
       8/5/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       8/5/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/5/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/5/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.51
       8/5/2017    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2017 - 21157A                     15.53
       8/5/2017    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         280.15
       8/5/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       8/5/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       8/5/2017    709   AN0007   Owner Operator   Toll Charges                   21157A,CATALINA VIEW SOUTH,10          21.44
       8/5/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       8/5/2017    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
       8/5/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       8/5/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.49
       8/5/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.01
       8/5/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.18
       8/5/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.01
       8/5/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.4
       8/5/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                      100
       8/5/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       8/5/2017    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00355231 - PO System          429.13
       8/5/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 204034 Q13147 Lease            440.14

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       8/5/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
       8/5/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       8/5/2017    709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                   12.5
       8/5/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       8/5/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.79
       8/5/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.25
       8/5/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          58.96
       8/5/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           342
       8/5/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                      100
       8/5/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       8/5/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 204077 Q13169 Sublease         352.68
       8/5/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       8/5/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       8/5/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                       100
       8/5/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       8/5/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       8/5/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       8/5/2017    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
       8/5/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       8/5/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.57
       8/5/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.42
       8/5/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                      100
       8/5/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       8/5/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 204032 Q13168 sub lease        352.68
       8/5/2017    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       8/5/2017    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                    12.5
       8/5/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       8/5/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       8/5/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       8/5/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       8/5/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.93
       8/5/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.93
       8/5/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.1
       8/5/2017    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.48
       8/5/2017    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       8/5/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                          88.68
       8/5/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       8/5/2017    709   CR0064   Owner Operator   Truck Payment                  CTMS - 203434 Rental Truck              100
       8/5/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       8/5/2017    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                    12.5
       8/5/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       8/5/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.96
       8/5/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.24
       8/5/2017    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2017 - Q1201                      15.53
       8/5/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       8/5/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 204038 Q1201                   278.76
       8/5/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       8/5/2017    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                    12.5
       8/5/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       8/5/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.03
       8/5/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.85
       8/5/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                       100
       8/5/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       8/5/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00353945 - PO System          181.07
       8/5/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       8/5/2017    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                    12.5
       8/5/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       8/5/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          170.4
       8/5/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.61
       8/5/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.79
       8/5/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.89
       8/5/2017    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2017 - Q1245                      15.53
       8/5/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          261.2
       8/5/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71

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       8/5/2017    709   DL0107   Owner Operator   Tire Fee                       Tire Fee: 2039277                          4
       8/5/2017    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00355606 - PO System          297.77
       8/5/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 204068 Tractor payments       1016.97
       8/5/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 204082 Sublease                338.99
       8/5/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       8/5/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/5/2017    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                    12.5
       8/5/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       8/5/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         614.01
       8/5/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
       8/5/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       8/5/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       8/5/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       8/5/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.99
       8/5/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.5
       8/5/2017    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2017 - 33320                      15.53
       8/5/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       8/5/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
       8/5/2017    709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                    12.5
       8/5/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
       8/5/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.38
       8/5/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.08
       8/5/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.29
       8/5/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.81
       8/5/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
       8/5/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
       8/5/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
       8/5/2017    709   DW0138   Owner Operator   Toll Charges                   TxTag,33443     ,Emporia: I-           10.35
       8/5/2017    709   DW0138   Owner Operator   Toll Charges                   TxTag,33443     ,Southern Te               6
       8/5/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
       8/5/2017    709   DW0138   Owner Operator   Truck Payment                  CTMS - 204077 Tractor Rental            500
       8/5/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/5/2017    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
       8/5/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       8/5/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/5/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/5/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/5/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/5/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/5/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.24
       8/5/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.83
       8/5/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.72
       8/5/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.98
       8/5/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.26
       8/5/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
       8/5/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       8/5/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       8/5/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/5/2017    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
       8/5/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
       8/5/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/5/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/5/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.08
       8/5/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.54
       8/5/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.05
       8/5/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.71
       8/5/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.52
       8/5/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
       8/5/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
       8/5/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
       8/5/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       8/5/2017    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
       8/5/2017    709   EG0062   Owner Operator   Charge back by affiliate       CTMS - 204016 Trailer wash WL5           -50
       8/5/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       8/5/2017    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.51
       8/5/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.85
       8/5/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         566.48
       8/5/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99

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       8/5/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       8/5/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       8/5/2017    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       8/5/2017    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       8/5/2017    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2017 - 33846                      15.53
       8/5/2017    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       8/5/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       8/5/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       8/5/2017    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
       8/5/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       8/5/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.95
       8/5/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.88
       8/5/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.78
       8/5/2017    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33040                      15.53
       8/5/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       8/5/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 204083 truck lease 3304        434.29
       8/5/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       8/5/2017    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
       8/5/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       8/5/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/5/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.49
       8/5/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.35
       8/5/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.45
       8/5/2017    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2017 - 21521B                     15.53
       8/5/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       8/5/2017    709   FV0001   Owner Operator   Toll Charges                   21521B,Bay Bridge,17                       4
       8/5/2017    709   FV0001   Owner Operator   Toll Charges                   21521B,Bay Bridge,17                      25
       8/5/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       8/5/2017    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                    12.5
       8/5/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       8/5/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.95
       8/5/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.92
       8/5/2017    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1110                      15.53
       8/5/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       8/5/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 204037 Lease                   252.11
       8/5/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
       8/5/2017    709   GW0043   Owner Operator   Broker Pre Pass                Q1263 PrePass Device                    12.5
       8/5/2017    709   GW0043   Owner Operator   Broker Pre Pass                Q1263 PrePass Device                    12.5
       8/5/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
       8/5/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.86
       8/5/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.67
       8/5/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.25
       8/5/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.83
       8/5/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.18
       8/5/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                       100
       8/5/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                42.19
       8/5/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 204081 Tractor Q1235           364.78
       8/5/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       8/5/2017    709   HC0023   Owner Operator   Broker Pre Pass                Q13170 PrePass Device                   12.5
       8/5/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       8/5/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.63
       8/5/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                      100
       8/5/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       8/5/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 204033 Q13170                  352.68
       8/5/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       8/5/2017    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                    12.5
       8/5/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       8/5/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
       8/5/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       8/5/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.18
       8/5/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.27
       8/5/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.31

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       8/5/2017    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2017 - 33180                      15.53
       8/5/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       8/5/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       8/5/2017    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
       8/5/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       8/5/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
       8/5/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.55
       8/5/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          449.4
       8/5/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.49
       8/5/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.21
       8/5/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.01
       8/5/2017    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2017 - 33418                      15.53
       8/5/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       8/5/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       8/5/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/5/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.07
       8/5/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.69
       8/5/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
       8/5/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       8/5/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/5/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       8/5/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       8/5/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
       8/5/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       8/5/2017    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
       8/5/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       8/5/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
       8/5/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
       8/5/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
       8/5/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/5/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       8/5/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.24
       8/5/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.22
       8/5/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.66
       8/5/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.08
       8/5/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.37
       8/5/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
       8/5/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q13197                       100
       8/5/2017    709   JC0292   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         254.18
       8/5/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
       8/5/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       8/5/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210,Carquinez Bridge,4                  25
       8/5/2017    709   JC0292   Owner Operator   Toll Charges                   Q1236,Carquinez Bridge,7                  25
       8/5/2017    709   JC0292   Owner Operator   Toll Charges                   Q1236,Carquinez Bridge,7                  25
       8/5/2017    709   JC0292   Owner Operator   Toll Charges                   Q1236,Carquinez Bridge,7                  25
       8/5/2017    709   JC0292   Owner Operator   Toll Charges                   Q1236,Carquinez Bridge,8                  25
       8/5/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
       8/5/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 204081 Q13197 Lease            276.63
       8/5/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/5/2017    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
       8/5/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       8/5/2017    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -2500
       8/5/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
       8/5/2017    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         2500
       8/5/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
       8/5/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       8/5/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.48
       8/5/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.32
       8/5/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.73
       8/5/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
       8/5/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       8/5/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       8/5/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/5/2017    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                    12.5
       8/5/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       8/5/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             500
       8/5/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       8/5/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.12

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       8/5/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.82
       8/5/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.18
       8/5/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
       8/5/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       8/5/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       8/5/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       8/5/2017    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                    12.5
       8/5/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       8/5/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-29          269.76
       8/5/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-29           45.58
       8/5/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-12         -60.91
       8/5/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                              60
       8/5/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       8/5/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.32
       8/5/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.04
       8/5/2017    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2017 - 33438                      15.53
       8/5/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       8/5/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       8/5/2017    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                    12.5
       8/5/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       8/5/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.18
       8/5/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.92
       8/5/2017    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2017 - Q1203                      15.53
       8/5/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       8/5/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 204009 Truck Lease             278.76
       8/5/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       8/5/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       8/5/2017    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                    12.5
       8/5/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       8/5/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/5/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/5/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/5/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.41
       8/5/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.05
       8/5/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.93
       8/5/2017    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2017 - 33325                      15.53
       8/5/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       8/5/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       8/5/2017    709   JS0265   Owner Operator   Tire Fee                       Tire Fee: 2039604                         40
       8/5/2017    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00355366 - PO System          950.77
       8/5/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/5/2017    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
       8/5/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       8/5/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       8/5/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/5/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/5/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.01
       8/5/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.96
       8/5/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.2
       8/5/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.78
       8/5/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           148
       8/5/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
       8/5/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       8/5/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/5/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       8/5/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       8/5/2017    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                    12.5
       8/5/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       8/5/2017    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2017 - Q1111                      15.53
       8/5/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       8/5/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 204122 Lease Q1111             252.11
       8/5/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       8/5/2017    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
       8/5/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       8/5/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/5/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200

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       8/5/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/5/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/5/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.32
       8/5/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.64
       8/5/2017    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2017 - 33655                      15.53
       8/5/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       8/5/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       8/5/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       8/5/2017    709   MA0092   Owner Operator   Broker Pre Pass                34005 PrePass Device                    12.5
       8/5/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       8/5/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.55
       8/5/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.24
       8/5/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.52
       8/5/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.35
       8/5/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           6.03
       8/5/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.43
       8/5/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                       100
       8/5/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       8/5/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       8/5/2017    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                   12.5
       8/5/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
       8/5/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.57
       8/5/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.76
       8/5/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
       8/5/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       8/5/2017    709   ME0053   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                    12.5
       8/5/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       8/5/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.35
       8/5/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.15
       8/5/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.26
       8/5/2017    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2017 - Q1113                      15.53
       8/5/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       8/5/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 204033 Q1113 Lease             252.11
       8/5/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       8/5/2017    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-29          231.68
       8/5/2017    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-12        -336.74
       8/5/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.05
       8/5/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           325
       8/5/2017    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33435                      15.53
       8/5/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       8/5/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       8/5/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       8/5/2017    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                    12.5
       8/5/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
       8/5/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/5/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/5/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.3
       8/5/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.25
       8/5/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.94
       8/5/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         274.27
       8/5/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
       8/5/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
       8/5/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       8/5/2017    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
       8/5/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       8/5/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
       8/5/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
       8/5/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       8/5/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       8/5/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       8/5/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.58
       8/5/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75

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       8/5/2017    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                   12.5
       8/5/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       8/5/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            140
       8/5/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
       8/5/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.13
       8/5/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.36
       8/5/2017    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2017 - 21412B                     15.53
       8/5/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       8/5/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       8/5/2017    709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                    12.5
       8/5/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       8/5/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2018 - 73130                      10.58
       8/5/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                      32.99
       8/5/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       8/5/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 204033 Truck 73130 Leas        196.65
       8/5/2017    709   RC0030   Owner Operator   Advance                        claim 64897 s/u $250.00 per wk          250
       8/5/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       8/5/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       8/5/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       8/5/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 204009 Down Payment lo         303.55
       8/5/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
       8/5/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/5/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
       8/5/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       8/5/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.69
       8/5/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
       8/5/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         251.58
       8/5/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       8/5/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       8/5/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/5/2017    709   RL0017   Owner Operator   Broker Pre Pass                21975A PrePass Device                   12.5
       8/5/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/5/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.31
       8/5/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
       8/5/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       8/5/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       8/5/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/5/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       8/5/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/5/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/5/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/5/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.63
       8/5/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.65
       8/5/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.48
       8/5/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
       8/5/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       8/5/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       8/5/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       8/5/2017    709   RL0180   Owner Operator   Broker Pre Pass                34012 PrePass Device                    12.5
       8/5/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
       8/5/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.31
       8/5/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.05
       8/5/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          170.5
       8/5/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
       8/5/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
       8/5/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       8/5/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       8/5/2017    709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                    12.5
       8/5/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       8/5/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.14
       8/5/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.97
       8/5/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.23

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       8/5/2017    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2017 - 33664                      15.53
       8/5/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       8/5/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       8/5/2017    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                    12.5
       8/5/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       8/5/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.9
       8/5/2017    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2017 - Q1202                      15.53
       8/5/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       8/5/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 204009 Q1202 Truck Leas        278.76
       8/5/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts               250
       8/5/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       8/5/2017    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                    12.5
       8/5/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       8/5/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
       8/5/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.81
       8/5/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.15
       8/5/2017    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2017 - Q1248                      15.53
       8/5/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       8/5/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       8/5/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 204038 Q1248                   311.97
       8/5/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       8/5/2017    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
       8/5/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       8/5/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
       8/5/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
       8/5/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
       8/5/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/5/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/5/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.5
       8/5/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.88
       8/5/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.75
       8/5/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.9
       8/5/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.65
       8/5/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
       8/5/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       8/5/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       8/5/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       8/5/2017    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
       8/5/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       8/5/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.12
       8/5/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.48
       8/5/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.79
       8/5/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.14
       8/5/2017    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2017 - 33037                      15.53
       8/5/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       8/5/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       8/5/2017    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00354425 - PO System          154.31
       8/5/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 204004 Sub Lease               388.33
       8/5/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       8/5/2017    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
       8/5/2017    709   VB0015   Owner Operator   Charge back by affiliate       CTMS - 204015 Tank wash                 -280
       8/5/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       8/5/2017    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-12            -93
       8/5/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.27
       8/5/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            130
       8/5/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.93
       8/5/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.79
       8/5/2017    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2017 - Q1112                      15.53
       8/5/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       8/5/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 204036 Tractor Sub leas        242.03
       8/5/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
       8/5/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       8/5/2017    709   VJ0006   Owner Operator   Broker Pre Pass                33961 PrePass Device                    12.5
       8/5/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       8/5/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200

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       8/5/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/5/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/5/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/5/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.59
       8/5/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           182
       8/5/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           144
       8/5/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.06
       8/5/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.85
       8/5/2017    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2017 - 33961                      15.53
       8/5/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       8/5/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 204153 New Truck Set Up        248.96
       8/5/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       8/5/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       8/5/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       8/5/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       8/5/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       8/5/2017    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
       8/5/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       8/5/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              60
       8/5/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       8/5/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.4
       8/5/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.72
       8/5/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.93
       8/5/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.97
       8/5/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.7
       8/5/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          56.88
       8/5/2017    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2017 - Q1239                      15.53
       8/5/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       8/5/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 204038 Q1238 Lease             311.97
       8/5/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
       8/5/2017    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
       8/5/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       8/5/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/5/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/5/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/5/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.01
       8/5/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.22
       8/5/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.12
       8/5/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.68
       8/5/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.48
       8/5/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
       8/5/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
       8/5/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       8/5/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33912                      15.53
       8/5/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       8/5/2017    742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                    12.5
       8/5/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       8/5/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.03
       8/5/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.16
       8/5/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.79
       8/5/2017    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2017 - 33471                      15.53
       8/5/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       8/5/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       8/5/2017    742   BS0078   Owner Operator   Toll Charges                   TxTag,33471     ,Ship Channe             3.5
       8/5/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       8/5/2017    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
       8/5/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       8/5/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.56
       8/5/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.48
       8/5/2017    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2017 - 33987                      15.53
       8/5/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32

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       8/5/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       8/5/2017    742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                   12.5
       8/5/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       8/5/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.74
       8/5/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.46
       8/5/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                      100
       8/5/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
       8/5/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/5/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171,Benicia,2                          25
       8/5/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171,Carquinez Bridge,12                25
       8/5/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171,Carquinez Bridge,12                25
       8/5/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171,Carquinez Bridge,8                 25
       8/5/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171,Carquinez Bridge,9                 25
       8/5/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 204111 Sub Lease Q13171        352.68
       8/5/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/5/2017    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
       8/5/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       8/5/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.02
       8/5/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.01
       8/5/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.08
       8/5/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           34.5
       8/5/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           305
       8/5/2017    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2017 - 33847                      15.53
       8/5/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       8/5/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/5/2017    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge,7                  25
       8/5/2017    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge,8                  25
       8/5/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       8/5/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       8/5/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.27
       8/5/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.24
       8/5/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.57
       8/5/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
       8/5/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       8/5/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       8/5/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       8/5/2017    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                    12.5
       8/5/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       8/5/2017    742   ED0041   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-12        -2813.1
       8/5/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.08
       8/5/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.17
       8/5/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.18
       8/5/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.74
       8/5/2017    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2017 - 32897                      15.53
       8/5/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       8/5/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       8/5/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/5/2017    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
       8/5/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       8/5/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       8/5/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.54
       8/5/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.43
       8/5/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.03
       8/5/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
       8/5/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
       8/5/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       8/5/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/5/2017    742   EN0016   Owner Operator   Tire Fee                       Tire Fee: 2037767                          8
       8/5/2017    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00353179 - PO System          191.74
       8/5/2017    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00353179 - PO System          191.74
       8/5/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       8/5/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       8/5/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.99
       8/5/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.13
       8/5/2017    742   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.04

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       8/5/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       8/5/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       8/5/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       8/5/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       8/5/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
       8/5/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
       8/5/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.67
       8/5/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
       8/5/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
       8/5/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       8/5/2017    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                    12.5
       8/5/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       8/5/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2017 - 33296                      15.53
       8/5/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       8/5/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       8/5/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
       8/5/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       8/5/2017    742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                    12.5
       8/5/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       8/5/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
       8/5/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       8/5/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.2
       8/5/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
       8/5/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       8/5/2017    742   MT0112   Owner Operator   IRP License Deduction          LCIL:2017 - Q1247                      15.53
       8/5/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
       8/5/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
       8/5/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00354148 - PO System           91.28
       8/5/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 204033 Q1247 Sub Lease         311.97
       8/5/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       8/5/2017    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
       8/5/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       8/5/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.95
       8/5/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.59
       8/5/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.89
       8/5/2017    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2017 - 33252                      15.53
       8/5/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       8/5/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       8/5/2017    742   NG0024   Owner Operator   Toll Charges                   33252,Carquinez Bridge,7                  25
       8/5/2017    742   NG0024   Owner Operator   Toll Charges                   33252,Carquinez Bridge,7                  25
       8/5/2017    742   NG0024   Owner Operator   Toll Charges                   33252,Carquinez Bridge,7                  25
       8/5/2017    742   NG0024   Owner Operator   Toll Charges                   33252,Carquinez Bridge,9                  25
       8/5/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       8/5/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
       8/5/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
       8/5/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                              50
       8/5/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            0.53
       8/5/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/5/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/5/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/5/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/5/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       8/5/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.68
       8/5/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.39
       8/5/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.33
       8/5/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.89
       8/5/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.31
       8/5/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                       100
       8/5/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                       100
       8/5/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
       8/5/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       8/5/2017    742   NK0013   Owner Operator   Toll Charges                   FG5438/34038,Antioch Bridge,2             25

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       8/5/2017    742   NK0013   Owner Operator   Toll Charges                   FG5438/34038,Benicia,12                   25
       8/5/2017    742   NK0013   Owner Operator   Toll Charges                   WFG5428/34038,Antioch Bridge,2            25
       8/5/2017    742   NK0013   Owner Operator   Toll Charges                   WFG5428/34038,Benicia,12                  20
       8/5/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       8/5/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
       8/5/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/5/2017    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                    12.5
       8/5/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       8/5/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
       8/5/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
       8/5/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
       8/5/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/5/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.62
       8/5/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.97
       8/5/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.51
       8/5/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.44
       8/5/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.07
       8/5/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.5
       8/5/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
       8/5/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       8/5/2017    742   PC0012   Owner Operator   Toll Charges                   32969,Antioch Bridge,2                    25
       8/5/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       8/5/2017    742   PS0083   Owner Operator   ESCROW                         Final Balance Refund                    -200
       8/5/2017    742   PS0083   Owner Operator   Repair Order                   CTMS - 202893 Repair                  200.17
       8/5/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       8/5/2017    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
       8/5/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       8/5/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.71
       8/5/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.19
       8/5/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.62
       8/5/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.95
       8/5/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.34
       8/5/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.06
       8/5/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.73
       8/5/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                       100
       8/5/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       8/5/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       8/5/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 204009 Tractor Lease           353.28
       8/5/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       8/5/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       8/5/2017    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       8/5/2017    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       8/5/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       8/5/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       8/5/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       8/5/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       8/5/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       8/5/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
       8/5/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       8/5/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       8/5/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       8/5/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       8/5/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.12
       8/5/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.53
       8/5/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.91
       8/5/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.53
       8/5/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.13
       8/5/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                        100
       8/5/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       8/5/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       8/5/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       8/5/2017    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
       8/5/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       8/5/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/5/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.91

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       8/5/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.62
       8/5/2017    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/5/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       8/5/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      8/12/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      8/12/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      8/12/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/12/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/12/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/12/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/12/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.75
      8/12/2017    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         280.15
      8/12/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      8/12/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      8/12/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      8/12/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      8/12/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.95
      8/12/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.01
      8/12/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.96
      8/12/2017    709   AR0064   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         35.34
      8/12/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                      100
      8/12/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      8/12/2017    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00355231 - PO System          429.07
      8/12/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 204241 Q13147 Lease            440.14
      8/12/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      8/12/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      8/12/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      8/12/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/12/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/12/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.08
      8/12/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.84
      8/12/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.72
      8/12/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.04
      8/12/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.02
      8/12/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.02
      8/12/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.03
      8/12/2017    709   AV0021   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         14.75
      8/12/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                      100
      8/12/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      8/12/2017    709   AV0021   Owner Operator   Repair Order                   CTMS - 204226 Parts                   181.42
      8/12/2017    709   AV0021   Owner Operator   T Chek Fee                     ExpressCheck Fee                        2.98
      8/12/2017    709   AV0021   Owner Operator   T Chek Fee                     Tractor Repair Q13169                 298.05
      8/12/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 204299 Q13169 Sublease         352.68
      8/12/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      8/12/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      8/12/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    709   BM0030   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        588.79
      8/12/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                       100
      8/12/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      8/12/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      8/12/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      8/12/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      8/12/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.59
      8/12/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.68
      8/12/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.68
      8/12/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.1
      8/12/2017    709   CC0134   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                          2.88
      8/12/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                      100
      8/12/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      8/12/2017    709   CC0134   Owner Operator   Tire Fee                       Tire Fee: 2042552                         16
      8/12/2017    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00355673 - PO System          342.51
      8/12/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 204240 Q13168 sub lease        352.68
      8/12/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/12/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/12/2017    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      8/12/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      8/12/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13

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      8/12/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                          273.59
      8/12/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                            300
      8/12/2017    709   CM0119   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                          13.57
      8/12/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                       32.99
      8/12/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                       32.99
      8/12/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.96
      8/12/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.96
      8/12/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      8/12/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      8/12/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
      8/12/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
      8/12/2017    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      8/12/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                           13
      8/12/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           285.7
      8/12/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          147.51
      8/12/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.76
      8/12/2017    709   CR0064   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                          22.14
      8/12/2017    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       39.07
      8/12/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                          245.63
      8/12/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL              8.75
      8/12/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                            8
      8/12/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          366.34
      8/12/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD              65.08
      8/12/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 204245 Q1201                    278.76
      8/12/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      8/12/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      8/12/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                              50
      8/12/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          274.79
      8/12/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.34
      8/12/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           267.3
      8/12/2017    709   DL0029   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         236.24
      8/12/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                        100
      8/12/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     34.2
      8/12/2017    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                          6.5
      8/12/2017    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                   650.12
      8/12/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      8/12/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      8/12/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      8/12/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      8/12/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           281.7
      8/12/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          571.63
      8/12/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          192.41
      8/12/2017    709   DL0107   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         111.93
      8/12/2017    709   DL0107   Owner Operator   Loan Repayment                 Bal of Loan 2, EFS 169390           -25287.96
      8/12/2017    709   DL0107   Owner Operator   Loan Repayment                 Close open loan to roll to new        6084.94
      8/12/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          260.57
      8/12/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 65.71
      8/12/2017    709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                       190.13
      8/12/2017    709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                 19012.89
      8/12/2017    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00355606 - PO System           297.77
      8/12/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 204304 Sublease                 338.99
      8/12/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                     18.38
      8/12/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      8/12/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
      8/12/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          513.44
      8/12/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                           288.2
      8/12/2017    709   DS0049   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                          66.16
      8/12/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                       32.99
      8/12/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    92.35
      8/12/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                          512.35
      8/12/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      8/12/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          426.19
      8/12/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                           429.2
      8/12/2017    709   DS0225   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         -37.39
      8/12/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.07

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      8/12/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      8/12/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      8/12/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.55
      8/12/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.23
      8/12/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.99
      8/12/2017    709   DW0138   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         76.22
      8/12/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      8/12/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      8/12/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
      8/12/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      8/12/2017    709   DW0138   Owner Operator   Truck Payment                  CTMS - 204304 Tractor Rental            500
      8/12/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/12/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      8/12/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/12/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/12/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/12/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/12/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/12/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/12/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/12/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.07
      8/12/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.18
      8/12/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.56
      8/12/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.51
      8/12/2017    709   EA0003   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        145.61
      8/12/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      8/12/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      8/12/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      8/12/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/12/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      8/12/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/12/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/12/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.76
      8/12/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.84
      8/12/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.21
      8/12/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.97
      8/12/2017    709   EE0011   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        131.11
      8/12/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      8/12/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      8/12/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      8/12/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      8/12/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      8/12/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          595.4
      8/12/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      32.99
      8/12/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      8/12/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      8/12/2017    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      8/12/2017    709   EO0014   Owner Operator   Charge back by affiliate       CTMS - 204318 Trailer FG5455             -45
      8/12/2017    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      8/12/2017    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.15
      8/12/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.04
      8/12/2017    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      8/12/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      8/12/2017    709   EO0014   Owner Operator   Tire Fee                       Tire Fee: 2042209                          8
      8/12/2017    709   EO0014   Owner Operator   Tire Purchase                  PO: 742-00355607 - PO System          175.39
      8/12/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      8/12/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      8/12/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.65
      8/12/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.21
      8/12/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.2
      8/12/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.9
      8/12/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      8/12/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 204305 truck lease 3304        434.29
      8/12/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/12/2017    709   FV0001   Owner Operator   Charge back by affiliate       CTMS - 204281 Trailer wash               -39
      8/12/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      8/12/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          444.1

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      8/12/2017    709   FV0001   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                          -4.3
      8/12/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      8/12/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      8/12/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      8/12/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.86
      8/12/2017    709   GS0015   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         77.16
      8/12/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      8/12/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 204244 Lease                   252.11
      8/12/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
      8/12/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      8/12/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.76
      8/12/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.94
      8/12/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                       100
      8/12/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                42.19
      8/12/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 204303 Tractor Q1235           364.78
      8/12/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      8/12/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      8/12/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.55
      8/12/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.03
      8/12/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.25
      8/12/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                      100
      8/12/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      8/12/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 204241 Q13170                  352.68
      8/12/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      8/12/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      8/12/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/12/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/12/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.04
      8/12/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.15
      8/12/2017    709   HG0007   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         61.16
      8/12/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      8/12/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/12/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      8/12/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/12/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.89
      8/12/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.57
      8/12/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.02
      8/12/2017    709   HG0027   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        148.69
      8/12/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      8/12/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      8/12/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/12/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.95
      8/12/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.54
      8/12/2017    709   IR0002   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        -22.23
      8/12/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      8/12/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      8/12/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/12/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      8/12/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      8/12/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      8/12/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      8/12/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      8/12/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      8/12/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/12/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/12/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/12/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      8/12/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.66
      8/12/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.37
      8/12/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       458.33
      8/12/2017    709   JC0292   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        19.4
      8/12/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                    32.99
      8/12/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q13197                    100
      8/12/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/12/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  78.13
      8/12/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD             42.19
      8/12/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      8/12/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 204303 Q13197 Lease          276.63
      8/12/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/12/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      8/12/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      8/12/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      8/12/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      8/12/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.95
      8/12/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       430.37
      8/12/2017    709   JG0017   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                       12.22
      8/12/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                    32.99
      8/12/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/12/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      8/12/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      8/12/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/12/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      8/12/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          500
      8/12/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      8/12/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       557.25
      8/12/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       584.52
      8/12/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       487.94
      8/12/2017    709   JG0072   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                       149.7
      8/12/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                    32.99
      8/12/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/12/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      8/12/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      8/12/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      8/12/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      8/12/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-5          60.91
      8/12/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/12/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/12/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        170.3
      8/12/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       101.67
      8/12/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/12/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      8/12/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      8/12/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      8/12/2017    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance                            40
      8/12/2017    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.4
      8/12/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        309.5
      8/12/2017    709   JR0099   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                      125.28
      8/12/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/12/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      8/12/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 204200 Truck Lease           278.76
      8/12/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      8/12/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      8/12/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      8/12/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      8/12/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          100
      8/12/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/12/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      8/12/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/12/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      8/12/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      8/12/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.87
      8/12/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.13
      8/12/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.41
      8/12/2017    709   JS0265   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        -4.1
      8/12/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      8/12/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      8/12/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      8/12/2017    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00355366 - PO System        950.77
      8/12/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      8/12/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13

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      8/12/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/12/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/12/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/12/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/12/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/12/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.06
      8/12/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.22
      8/12/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.27
      8/12/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             75
      8/12/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.88
      8/12/2017    709   KP0004   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        363.14
      8/12/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      8/12/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      8/12/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/12/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      8/12/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      8/12/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      8/12/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      8/12/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 204339 Lease Q1111             252.11
      8/12/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      8/12/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      8/12/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.08
      8/12/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         620.49
      8/12/2017    709   LS0023   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         58.44
      8/12/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      8/12/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      8/12/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/12/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      8/12/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.58
      8/12/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.02
      8/12/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           6.45
      8/12/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.12
      8/12/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                       100
      8/12/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      8/12/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      8/12/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      8/12/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.12
      8/12/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.13
      8/12/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
      8/12/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      8/12/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      8/12/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.62
      8/12/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.58
      8/12/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      8/12/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 204240 Q1113 Lease             252.11
      8/12/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/12/2017    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-5           336.74
      8/12/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      8/12/2017    709   MG0067   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         11.42
      8/12/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      8/12/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      8/12/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      8/12/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      8/12/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/12/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/12/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.36
      8/12/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.18
      8/12/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         274.27
      8/12/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      8/12/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      8/12/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/12/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      8/12/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      8/12/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            125

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      8/12/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.25
      8/12/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.74
      8/12/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      8/12/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      8/12/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/12/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      8/12/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      8/12/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      8/12/2017    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                    12.5
      8/12/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      8/12/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      8/12/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/12/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/12/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.92
      8/12/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.88
      8/12/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.59
      8/12/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.63
      8/12/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.05
      8/12/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          405.7
      8/12/2017    709   NB0029   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        202.51
      8/12/2017    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2017 - Q1108                      15.53
      8/12/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      8/12/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      8/12/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 204121 Lease                   215.66
      8/12/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 204338 Lease                   215.66
      8/12/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      8/12/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      8/12/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            140
      8/12/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      8/12/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.03
      8/12/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.67
      8/12/2017    709   NG0005   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                          1.75
      8/12/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      8/12/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      8/12/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      8/12/2017    709   NT9564   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        149.99
      8/12/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2018 - 73130                      10.58
      8/12/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                      32.99
      8/12/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      8/12/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 204240 Truck 73130 Leas        196.65
      8/12/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/12/2017    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-19         -612.5
      8/12/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      8/12/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/12/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 204200 Down Payment lo         303.55
      8/12/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      8/12/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/12/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/12/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/12/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          498.7
      8/12/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.46
      8/12/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.07
      8/12/2017    709   RC0089   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         -6.69
      8/12/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      8/12/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         251.58
      8/12/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      8/12/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      8/12/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/12/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/12/2017    709   RL0017   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                       -183.19
      8/12/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      8/12/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      8/12/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      8/12/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/12/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13

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      8/12/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/12/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/12/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/12/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/12/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.57
      8/12/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          439.3
      8/12/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.06
      8/12/2017    709   RL0062   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        130.61
      8/12/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      8/12/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      8/12/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      8/12/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/12/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      8/12/2017    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-19        -109.41
      8/12/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.48
      8/12/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
      8/12/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      8/12/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      8/12/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      8/12/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      8/12/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.79
      8/12/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.32
      8/12/2017    709   RM0026   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        120.97
      8/12/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      8/12/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      8/12/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      8/12/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.43
      8/12/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.56
      8/12/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      8/12/2017    709   RP0082   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.35
      8/12/2017    709   RP0082   Owner Operator   T Chek Fee                     Tractor Repair Q1202                  434.64
      8/12/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 204200 Q1202 Truck Leas        278.76
      8/12/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts              250
      8/12/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      8/12/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      8/12/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.12
      8/12/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.87
      8/12/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.96
      8/12/2017    709   RR0123   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         346.9
      8/12/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      8/12/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      8/12/2017    709   RR0123   Owner Operator   T Chek Fee                     ExpressCheck Fee                        7.79
      8/12/2017    709   RR0123   Owner Operator   T Chek Fee                     Tractor Repair Q1248                  779.37
      8/12/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 204245 Q1248                   311.97
      8/12/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      8/12/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      8/12/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/12/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.73
      8/12/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.59
      8/12/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.66
      8/12/2017    709   SB0009   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         67.68
      8/12/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      8/12/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      8/12/2017    709   SB0009   Owner Operator   Repair Order                   CTMS - 204213 Repair                  204.45
      8/12/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      8/12/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      8/12/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      8/12/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.59
      8/12/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.21
      8/12/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.37
      8/12/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      8/12/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      8/12/2017    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00354425 - PO System          154.31
      8/12/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 204195 Sub Lease               388.33

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      8/12/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                     56.95
      8/12/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                     56.95
      8/12/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      8/12/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      8/12/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      8/12/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      8/12/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.54
      8/12/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          255.22
      8/12/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           74.61
      8/12/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          347.34
      8/12/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          142.35
      8/12/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.62
      8/12/2017    709   SN0019   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                          12.15
      8/12/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
      8/12/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
      8/12/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      8/12/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      8/12/2017    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-5                93
      8/12/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            436
      8/12/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            435
      8/12/2017    709   VB0015   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         -24.82
      8/12/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
      8/12/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 204243 Tractor Sub leas         242.03
      8/12/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    152.34
      8/12/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      8/12/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      8/12/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      8/12/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/12/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/12/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          223.99
      8/12/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           215.8
      8/12/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.79
      8/12/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.55
      8/12/2017    709   VJ0006   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                          48.83
      8/12/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.54
      8/12/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 204364 New Truck Set Up         248.96
      8/12/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      8/12/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      8/12/2017    709   WB0062   Owner Operator   Miscellaneous                  * Replace check # 967646              3065.82
      8/12/2017    709   WB0062   Owner Operator   Miscellaneous                  * Voided Check # 967646              -3065.82
      8/12/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
      8/12/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      8/12/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      8/12/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      8/12/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             160
      8/12/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.6
      8/12/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.11
      8/12/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.25
      8/12/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          229.07
      8/12/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.45
      8/12/2017    709   WH0087   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                          15.11
      8/12/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 60.47
      8/12/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 204246 Q1238 Lease              311.97
      8/12/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                   8.75
      8/12/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                           13
      8/12/2017    742   AP0047   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                          59.51
      8/12/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/12/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                   52.35
      8/12/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris            2.5
      8/12/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                            8
      8/12/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                              50
      8/12/2017    742   AS0089   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         491.32
      8/12/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      8/12/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                           13
      8/12/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.67
      8/12/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           430.5
      8/12/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.05

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      8/12/2017    742   BS0078   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        210.95
      8/12/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      8/12/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/12/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      8/12/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      8/12/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.34
      8/12/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.65
      8/12/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      8/12/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      8/12/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      8/12/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.22
      8/12/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.01
      8/12/2017    742   CT0085   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        128.66
      8/12/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                      100
      8/12/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      8/12/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      8/12/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 204329 Sub Lease Q13171        352.68
      8/12/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/12/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      8/12/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.44
      8/12/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             17
      8/12/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.01
      8/12/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.44
      8/12/2017    742   DA0067   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        214.67
      8/12/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      8/12/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/12/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/12/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      8/12/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.34
      8/12/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.91
      8/12/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.27
      8/12/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
      8/12/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      8/12/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/12/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      8/12/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      8/12/2017    742   ED0041   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-5           2813.1
      8/12/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.46
      8/12/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.53
      8/12/2017    742   ED0041   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                          2.98
      8/12/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      8/12/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      8/12/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/12/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      8/12/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.16
      8/12/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          460.7
      8/12/2017    742   EN0016   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                        115.47
      8/12/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      8/12/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/12/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      8/12/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/12/2017    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00353179 - PO System          191.74
      8/12/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      8/12/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      8/12/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      8/12/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      8/12/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      8/12/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      8/12/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      8/12/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/12/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.43
      8/12/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.47
      8/12/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      8/12/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD         35.16
      8/12/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter       2.5
      8/12/2017    742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                12.5
      8/12/2017    742   KJ0045   Owner Operator   Broker Pre Pass                33634 PrePass Device                12.5
      8/12/2017    742   KJ0045   Owner Operator   Broker Pre Pass                675528394,CANCELLED/NOT RETURN       100
      8/12/2017    742   KJ0045   Owner Operator   ESCROW                         Final Balance Refund               -3000
      8/12/2017    742   KJ0045   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                     48.21
      8/12/2017    742   KJ0045   Owner Operator   FUEL TAX                       May17 Fuel Taxes                   24.06
      8/12/2017    742   KJ0045   Owner Operator   Miscellaneous                  ? Pay was not released           -326.74
      8/12/2017    742   KJ0045   Owner Operator   Tire Fee                       Balance of                             4
      8/12/2017    742   KJ0045   Owner Operator   Tire Purchase                  Balance of PO: 742-00353991 -     443.64
      8/12/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL               8.75
      8/12/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                  32.99
      8/12/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/12/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      28.37
      8/12/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD              117.45
      8/12/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD              117.45
      8/12/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                     225.88
      8/12/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                     554.49
      8/12/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                      8.75
      8/12/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                      13
      8/12/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/12/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/12/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         75
      8/12/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism              2.5
      8/12/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                20.17
      8/12/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL            8.75
      8/12/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                       8
      8/12/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/12/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                       242.5
      8/12/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                         250
      8/12/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                     2.5
      8/12/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                    2.43
      8/12/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        250
      8/12/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                     314.31
      8/12/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                     148.62
      8/12/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        300
      8/12/2017    742   MT0112   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                      9.88
      8/12/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/12/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD            72.57
      8/12/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror       2.5
      8/12/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 204240 Q1247 Sub Lease     311.97
      8/12/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL         8.75
      8/12/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                      13
      8/12/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                     452.99
      8/12/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                     231.79
      8/12/2017    742   NG0024   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                     27.15
      8/12/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/12/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD        100.79
      8/12/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter       2.5
      8/12/2017    742   NG0024   Owner Operator   Repair Order                   CTMS - 204281 repair                  60
      8/12/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL               8.75
      8/12/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                      13
      8/12/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                         50
      8/12/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                         200
      8/12/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                         300
      8/12/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      8/12/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      8/12/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                     205.58
      8/12/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                     207.99
      8/12/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                     339.03
      8/12/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                     267.68
      8/12/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                     286.35
      8/12/2017    742   NK0013   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                      6.74
      8/12/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                    100
      8/12/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      8/12/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD               28.91
      8/12/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism       2.5
      8/12/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                 5.56
      8/12/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks               50
      8/12/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      8/12/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                      13
      8/12/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                        200

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      8/12/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                              100
      8/12/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                             1
      8/12/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           307.3
      8/12/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          393.35
      8/12/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          154.88
      8/12/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          373.98
      8/12/2017    742   PC0012   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                          175.1
      8/12/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                       32.99
      8/12/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.38
      8/12/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      8/12/2017    742   PS0083   Owner Operator   *Arrears Collection W/O        WO:34097 PrePass Device                  -12.5
      8/12/2017    742   PS0083   Owner Operator   *Arrears Collection W/O        WO:CTMS - 202893 Repair              -4316.29
      8/12/2017    742   PS0083   Owner Operator   *Arrears Collection W/O        WO:CTMS - 202931 deadhead               -1008
      8/12/2017    742   PS0083   Owner Operator   Broker Pre Pass                34097 PrePass Device                      12.5
      8/12/2017    742   PS0083   Owner Operator   Repair Order                   CTMS - 202893 Repair                  4316.29
      8/12/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL              8.75
      8/12/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                           13
      8/12/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.32
      8/12/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.51
      8/12/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          334.12
      8/12/2017    742   RN0054   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                          89.89
      8/12/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                        100
      8/12/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      8/12/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             35.16
      8/12/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te             2.5
      8/12/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 204200 Tractor Lease            353.28
      8/12/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                        8.75
      8/12/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                        8.75
      8/12/2017    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                            13
      8/12/2017    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                               50
      8/12/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          143.48
      8/12/2017    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      8/12/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                      143.18
      8/12/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                      143.21
      8/12/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism                2.5
      8/12/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism                2.5
      8/12/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                        8.75
      8/12/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                            13
      8/12/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                               50
      8/12/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          262.89
      8/12/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      8/12/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                         58.6
      8/12/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism                2.5
      8/12/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                        8.75
      8/12/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                             8
      8/12/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                               50
      8/12/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          146.37
      8/12/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          167.62
      8/12/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          172.23
      8/12/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.79
      8/12/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          359.54
      8/12/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                         100
      8/12/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      8/12/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                         37.5
      8/12/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism                2.5
      8/12/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                            8.75
      8/12/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                            13
      8/12/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                               50
      8/12/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          209.68
      8/12/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.94
      8/12/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          392.93
      8/12/2017    843   EI0003   Owner Operator   FUEL TAX                       Jun16 Fuel Tax                         270.25
      8/12/2017    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      8/12/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           74.22
      8/12/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                    2.5
      8/19/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL              8.75
      8/19/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                           13
      8/19/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                               50
      8/19/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.16
      8/19/2017    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          280.15
      8/19/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      8/19/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD               7.82
      8/19/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te             2.5

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      8/19/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      8/19/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      8/19/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.86
      8/19/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.02
      8/19/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.13
      8/19/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                      100
      8/19/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                         3
      8/19/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      8/19/2017    709   AR0064   Owner Operator   Repair Order                   CTMS - 204399 Repair                  101.26
      8/19/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 204447 Q13147 Lease            440.14
      8/19/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      8/19/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      8/19/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      8/19/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.02
      8/19/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.37
      8/19/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.07
      8/19/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.76
      8/19/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           180
      8/19/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.04
      8/19/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.25
      8/19/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                      100
      8/19/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                         3
      8/19/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      8/19/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 204484 Q13169 Sublease         352.68
      8/19/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      8/19/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      8/19/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.38
      8/19/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           37.9
      8/19/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.64
      8/19/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.73
      8/19/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.89
      8/19/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                         3
      8/19/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                      100
      8/19/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      8/19/2017    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00355673 - PO System          342.51
      8/19/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 204446 Q13168 sub lease        352.68
      8/19/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/19/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      8/19/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      8/19/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                          26.41
      8/19/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/19/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/19/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/19/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/19/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.38
      8/19/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.53
      8/19/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.99
      8/19/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      8/19/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      8/19/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/19/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      8/19/2017    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/19/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      8/19/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.82
      8/19/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.76
      8/19/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.75
      8/19/2017    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      8/19/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      8/19/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      8/19/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      8/19/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.06
      8/19/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      8/19/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 204452 Q1201                   278.76
      8/19/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/19/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      8/19/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.94

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      8/19/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.02
      8/19/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.29
      8/19/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          407.2
      8/19/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                       100
      8/19/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      8/19/2017    709   DL0029   Owner Operator   Repair Order                   CTMS - 204439 Parts                       60
      8/19/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      8/19/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      8/19/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.45
      8/19/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.83
      8/19/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.34
      8/19/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.04
      8/19/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         260.57
      8/19/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      8/19/2017    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00355606 - PO System          297.77
      8/19/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 204490 Sublease                338.99
      8/19/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      8/19/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/19/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      8/19/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.75
      8/19/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.21
      8/19/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.58
      8/19/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      8/19/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      8/19/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      8/19/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      8/19/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.02
      8/19/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      8/19/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/19/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      8/19/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/19/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/19/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/19/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/19/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/19/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          422.8
      8/19/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.94
      8/19/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                             10
      8/19/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      8/19/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      8/19/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      8/19/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/19/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      8/19/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/19/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/19/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                              40
      8/19/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      8/19/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/19/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/19/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          116.4
      8/19/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.51
      8/19/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.84
      8/19/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.18
      8/19/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      8/19/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      8/19/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      8/19/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      8/19/2017    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33828           9.84
      8/19/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      8/19/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.15
      8/19/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.97
      8/19/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                       100
      8/19/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      8/19/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      8/19/2017    709   EG0062   Owner Operator   Tractor Charge                 crt payoff lease #22776              -934.64
      8/19/2017    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75

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      8/19/2017    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13
      8/19/2017    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                              50
      8/19/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            150
      8/19/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.11
      8/19/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            307
      8/19/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          214.53
      8/19/2017    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/19/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 78.13
      8/19/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
      8/19/2017    709   EO0014   Owner Operator   Tire Purchase                  PO: 742-00355607 - PO System           175.39
      8/19/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
      8/19/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
      8/19/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          235.35
      8/19/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           257.6
      8/19/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.97
      8/19/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          334.66
      8/19/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/19/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              76.88
      8/19/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 204490 truck lease 3304         434.29
      8/19/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      8/19/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                          13
      8/19/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          500.92
      8/19/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/19/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    82.04
      8/19/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL              8.75
      8/19/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                           13
      8/19/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.15
      8/19/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/19/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD              39.07
      8/19/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 204450 Lease                    252.11
      8/19/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                 8.75
      8/19/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                            8
      8/19/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                              50
      8/19/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          236.04
      8/19/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.39
      8/19/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.24
      8/19/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           25.07
      8/19/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                           3
      8/19/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                        100
      8/19/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/19/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                 42.19
      8/19/2017    709   GW0043   Owner Operator   Repair Order                   Crdt SL402-091400, pnding rvw        -2031.81
      8/19/2017    709   GW0043   Owner Operator   Repair Order                   TRACTOR Q1263                         2031.81
      8/19/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 204488 Tractor Q1235            364.78
      8/19/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 204543 Reimbursement            364.78
      8/19/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             8.75
      8/19/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                           8
      8/19/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                              50
      8/19/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           360.6
      8/19/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                       100
      8/19/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                          3
      8/19/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/19/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/19/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/19/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/19/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/19/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/19/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/19/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             35.16
      8/19/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 204447 Q13170                   352.68
      8/19/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                  8.75
      8/19/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                           13
      8/19/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      8/19/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             300
      8/19/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      8/19/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          247.89
      8/19/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          538.17
      8/19/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/19/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                  15.63
      8/19/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      8/19/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                           13
      8/19/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
      8/19/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             200

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      8/19/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/19/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.79
      8/19/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.95
      8/19/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.45
      8/19/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.19
      8/19/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.21
      8/19/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      8/19/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      8/19/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/19/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.48
      8/19/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      8/19/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      8/19/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/19/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      8/19/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      8/19/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      8/19/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      8/19/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      8/19/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      8/19/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/19/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/19/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/19/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/19/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.16
      8/19/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.75
      8/19/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      8/19/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q13197                      100
      8/19/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
      8/19/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      8/19/2017    709   JC0292   Owner Operator   Toll Charges                   Q1236,Carquinez Bridge,7                 -25
      8/19/2017    709   JC0292   Owner Operator   Toll Charges                   Q1236,Carquinez Bridge,7                 -25
      8/19/2017    709   JC0292   Owner Operator   Toll Charges                   Q1236,Carquinez Bridge,7                 -25
      8/19/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      8/19/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 204488 Q13197 Lease            276.63
      8/19/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/19/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      8/19/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      8/19/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/19/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/19/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.75
      8/19/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.18
      8/19/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      8/19/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      8/19/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      8/19/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/19/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      8/19/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/19/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/19/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/19/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/19/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/19/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/19/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.76
      8/19/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.39
      8/19/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.04
      8/19/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      8/19/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      8/19/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      8/19/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      8/19/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      8/19/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/19/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/19/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.19
      8/19/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      8/19/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      8/19/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      8/19/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.54

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      8/19/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      8/19/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 204421 Truck Lease             278.76
      8/19/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      8/19/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      8/19/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      8/19/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/19/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/19/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/19/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.38
      8/19/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      8/19/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      8/19/2017    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00355366 - PO System          950.77
      8/19/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/19/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      8/19/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/19/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/19/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/19/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/19/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/19/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           444
      8/19/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.5
      8/19/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           258
      8/19/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.02
      8/19/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.07
      8/19/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      8/19/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      8/19/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/19/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      8/19/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      8/19/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      8/19/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      8/19/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 204533 Lease Q1111             252.11
      8/19/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      8/19/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      8/19/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/19/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/19/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           356
      8/19/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.99
      8/19/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      8/19/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      8/19/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/19/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      8/19/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          138.7
      8/19/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.58
      8/19/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          71.68
      8/19/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                       100
      8/19/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      8/19/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      8/19/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      8/19/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                          177.3
      8/19/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
      8/19/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      8/19/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      8/19/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.63
      8/19/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.17
      8/19/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      8/19/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 204447 Q1113 Lease             252.11
      8/19/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/19/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      8/19/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.5
      8/19/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.01
      8/19/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      8/19/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5

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      8/19/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      8/19/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      8/19/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/19/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/19/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.31
      8/19/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          190.6
      8/19/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.64
      8/19/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         274.27
      8/19/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      8/19/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      8/19/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/19/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      8/19/2017    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
      8/19/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           1000
      8/19/2017    709   MP0035   Owner Operator   Express Check                  T-Check Payment                         1500
      8/19/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             125
      8/19/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.25
      8/19/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.17
      8/19/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      8/19/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      8/19/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/19/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      8/19/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      8/19/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      8/19/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/19/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/19/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.11
      8/19/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.38
      8/19/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.87
      8/19/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      8/19/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 204532 Lease                   215.66
      8/19/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      8/19/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      8/19/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             120
      8/19/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
      8/19/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.85
      8/19/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.92
      8/19/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      8/19/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      8/19/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      8/19/2017    709   NT9564   Owner Operator   Highway Use Tax                HUTC:2018 - 73130                      10.58
      8/19/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                      32.99
      8/19/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      8/19/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 204446 Truck 73130 Leas        196.65
      8/19/2017    709   RC0030   Owner Operator   Accident Claim                 06/09/17 RC0030 Incident               -2000
      8/19/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/19/2017    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-12           612.5
      8/19/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      8/19/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/19/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 204421 Down Payment lo         303.55
      8/19/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      8/19/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/19/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
      8/19/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/19/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.61
      8/19/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.29
      8/19/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      8/19/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         250.02
      8/19/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      8/19/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      8/19/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/19/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      8/19/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.02
      8/19/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      8/19/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22

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      8/19/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      8/19/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/19/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      8/19/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/19/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/19/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/19/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/19/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.16
      8/19/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.21
      8/19/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.84
      8/19/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      8/19/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      8/19/2017    709   RL0062   Owner Operator   Tire Fee                       Tire Fee: 2045104                         16
      8/19/2017    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00355602 - PO System          344.36
      8/19/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      8/19/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/19/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      8/19/2017    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-12          109.41
      8/19/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.56
      8/19/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.96
      8/19/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
      8/19/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      8/19/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      8/19/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      8/19/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      8/19/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.22
      8/19/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      8/19/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      8/19/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      8/19/2017    709   RP0082   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-26         -23.25
      8/19/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.93
      8/19/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      8/19/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 204421 Q1202 Truck Leas        278.76
      8/19/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts              250
      8/19/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      8/19/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      8/19/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/19/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/19/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.83
      8/19/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.41
      8/19/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.93
      8/19/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.11
      8/19/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      8/19/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      8/19/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 204452 Q1248                   311.97
      8/19/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      8/19/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      8/19/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/19/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/19/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/19/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/19/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/19/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.66
      8/19/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.69
      8/19/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          175.2
      8/19/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      8/19/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      8/19/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      8/19/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      8/19/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      8/19/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.5
      8/19/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.39
      8/19/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.59
      8/19/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60

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      8/19/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      8/19/2017    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00354425 - PO System          154.31
      8/19/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 204416 Sub Lease               388.33
      8/19/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      8/19/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      8/19/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      8/19/2017    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/19/2017    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/19/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.57
      8/19/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.66
      8/19/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.42
      8/19/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.02
      8/19/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      8/19/2017    709   SN0019   Owner Operator   Truck Payment                  CTMS - 204399 Truck Rental               500
      8/19/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      8/19/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      8/19/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.55
      8/19/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      8/19/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 204450 Tractor Sub leas        242.03
      8/19/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
      8/19/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/19/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      8/19/2017    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                      -1400
      8/19/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      8/19/2017    709   VJ0006   Owner Operator   Express Check                  T-Check Payment                         1400
      8/19/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.89
      8/19/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      8/19/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 204568 New Truck Set Up        248.96
      8/19/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/19/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      8/19/2017    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-26        -476.72
      8/19/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      8/19/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      8/19/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      8/19/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      8/19/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              80
      8/19/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      8/19/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.15
      8/19/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.11
      8/19/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.38
      8/19/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.77
      8/19/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      8/19/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 204452 Q1238 Lease             311.97
      8/19/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      8/19/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/19/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      8/19/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.35
      8/19/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.24
      8/19/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.01
      8/19/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.91
      8/19/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      8/19/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/19/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      8/19/2017    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33987           9.84
      8/19/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      8/19/2017    742   CA0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.52
      8/19/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.09
      8/19/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      8/19/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      8/19/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      8/19/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.68
      8/19/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.97
      8/19/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.56

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      8/19/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                      100
      8/19/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                         3
      8/19/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      8/19/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      8/19/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 204522 Sub Lease Q13171        352.68
      8/19/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/19/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      8/19/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           26.4
      8/19/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.04
      8/19/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      8/19/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/19/2017    742   DC0117   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
      8/19/2017    742   DC0117   Owner Operator   T Chek Fee                     School Checks (Corp)                    300
      8/19/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/19/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      8/19/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.45
      8/19/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.57
      8/19/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.71
      8/19/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
      8/19/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      8/19/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/19/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/19/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      8/19/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/19/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/19/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.94
      8/19/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.45
      8/19/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.76
      8/19/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.46
      8/19/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          67.51
      8/19/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      8/19/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      8/19/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/19/2017    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00353179 - PO System          191.74
      8/19/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      8/19/2017    742   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33846           9.84
      8/19/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      8/19/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      8/19/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      8/19/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      8/19/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      8/19/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      8/19/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.05
      8/19/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      8/19/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      8/19/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      8/19/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      8/19/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           55.36
      8/19/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.6
      8/19/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      8/19/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      8/19/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      8/19/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      8/19/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      8/19/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         328.61
      8/19/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      8/19/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      8/19/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/19/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      8/19/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      8/19/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5

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      8/19/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      8/19/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      8/19/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                           355.2
      8/19/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3.55
      8/19/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.11
      8/19/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      8/19/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.57
      8/19/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.53
      8/19/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      8/19/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      8/19/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      8/19/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 204446 Q1247 Sub Lease         311.97
      8/19/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      8/19/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      8/19/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.73
      8/19/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.25
      8/19/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.53
      8/19/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          473.4
      8/19/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      8/19/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      8/19/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/19/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
      8/19/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/19/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/19/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.77
      8/19/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                       100
      8/19/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      8/19/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      8/19/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      8/19/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
      8/19/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/19/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      8/19/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/19/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.3
      8/19/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.51
      8/19/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.38
      8/19/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.08
      8/19/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      8/19/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      8/19/2017    742   PC0012   Owner Operator   Repair Order                   CTMS - 204399 Repair                   11.28
      8/19/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      8/19/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      8/19/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      8/19/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.89
      8/19/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.35
      8/19/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.68
      8/19/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.25
      8/19/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.38
      8/19/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                         3
      8/19/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                      100
      8/19/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      8/19/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      8/19/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 204420 Tractor Lease           353.28
      8/19/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      8/19/2017    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      8/19/2017    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.07
      8/19/2017    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      8/19/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      8/19/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/19/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      8/19/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
      8/19/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      8/19/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5

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      8/19/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/19/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      8/19/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.87
      8/19/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.46
      8/19/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.46
      8/19/2017    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2017 - 33991                      15.53
      8/19/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      8/19/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/19/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      8/19/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      8/19/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/19/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.87
      8/19/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.94
      8/19/2017    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/19/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      8/19/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      8/26/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      8/26/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      8/26/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/26/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/26/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.73
      8/26/2017    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         279.65
      8/26/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      8/26/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      8/26/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      8/26/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      8/26/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.18
      8/26/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           290
      8/26/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          386.3
      8/26/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                      100
      8/26/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      8/26/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 204639 Q13147 Lease            440.14
      8/26/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      8/26/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      8/26/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      8/26/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/26/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/26/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          123.5
      8/26/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.76
      8/26/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.12
      8/26/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.22
      8/26/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           49.4
      8/26/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.71
      8/26/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                      100
      8/26/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      8/26/2017    709   AV0021   Owner Operator   Repair Order                   CTMS - 204592 Parts                    11.76
      8/26/2017    709   AV0021   Owner Operator   Repair Order                   CTMS - 204592 Repair                  181.42
      8/26/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 204683 Q13169 Sublease         352.68
      8/26/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      8/26/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      8/26/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.26
      8/26/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.12
      8/26/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.81
      8/26/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.95
      8/26/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.88
      8/26/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                      100
      8/26/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      8/26/2017    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00355673 - PO System          342.51
      8/26/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 204638 Q13168 sub lease        352.68
      8/26/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/26/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      8/26/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      8/26/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/26/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/26/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.45
      8/26/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99

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      8/26/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      8/26/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/26/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      8/26/2017    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/26/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      8/26/2017    709   cr0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/26/2017    709   cr0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/26/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          282.2
      8/26/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.85
      8/26/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.4
      8/26/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.86
      8/26/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.41
      8/26/2017    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      8/26/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      8/26/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      8/26/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      8/26/2017    709   CS0091   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-2          -23.25
      8/26/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.43
      8/26/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      8/26/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 204644 Q1201                   278.76
      8/26/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/26/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.73
      8/26/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.64
      8/26/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.59
      8/26/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                       100
      8/26/2017    709   DL0029   Owner Operator   Loan Repayment                 Crdt Exp Ck 170709 s/u loan          -712.89
      8/26/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment         238.73
      8/26/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      8/26/2017    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        6.75
      8/26/2017    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        7.06
      8/26/2017    709   DL0029   Owner Operator   T Chek Fee                     Towing 33850                            675
      8/26/2017    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                  275.96
      8/26/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      8/26/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      8/26/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.58
      8/26/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.55
      8/26/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.21
      8/26/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         260.57
      8/26/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      8/26/2017    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00355606 - PO System          297.77
      8/26/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 204689 Sublease                338.99
      8/26/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      8/26/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/26/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      8/26/2017    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-2         -270.84
      8/26/2017    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-2          -67.64
      8/26/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.92
      8/26/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.99
      8/26/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      8/26/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      8/26/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      8/26/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      8/26/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-2             -35
      8/26/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.03
      8/26/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      8/26/2017    709   DS0225   Owner Operator   Toll Charges                   33320,MeTA,York Mainline Plaza             3
      8/26/2017    709   DW0138   Owner Operator   Accident Claim                 07/30/17 DW0138 Trailer Damage        969.62
      8/26/2017    709   DW0138   Owner Operator   Advance                        Acc Clm 65683 s/u $250 pmts             250
      8/26/2017    709   DW0138   Owner Operator   Advance                        AccClm 65683 7/30 s/u $250/pmt       -969.62
      8/26/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      8/26/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      8/26/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      8/26/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      8/26/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                           45.6
      8/26/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.03
      8/26/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.98

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      8/26/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.98
      8/26/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.85
      8/26/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          433.1
      8/26/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.26
      8/26/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.34
      8/26/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.88
      8/26/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.28
      8/26/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      8/26/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      8/26/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.74
      8/26/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      8/26/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
      8/26/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.49
      8/26/2017    709   DW0138   Owner Operator   Toll Charges                   33443,ILTOLL,Route 80 (West)             4.8
      8/26/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      8/26/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      8/26/2017    709   DW0138   Owner Operator   Truck Payment                  CTMS - 204489 Tractor Rental            500
      8/26/2017    709   DW0138   Owner Operator   Truck Payment                  CTMS - 204687 Tractor Rental            500
      8/26/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/26/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      8/26/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/26/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/26/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/26/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.87
      8/26/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      8/26/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      8/26/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      8/26/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/26/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      8/26/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/26/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/26/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/26/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/26/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.84
      8/26/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.58
      8/26/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.45
      8/26/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.08
      8/26/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      8/26/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      8/26/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      8/26/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      8/26/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      8/26/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.21
      8/26/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.76
      8/26/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.95
      8/26/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                       100
      8/26/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      8/26/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      8/26/2017    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      8/26/2017    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      8/26/2017    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.26
      8/26/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.49
      8/26/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.87
      8/26/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.88
      8/26/2017    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      8/26/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      8/26/2017    709   EO0014   Owner Operator   Tire Purchase                  PO: 742-00355607 - PO System          175.39
      8/26/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      8/26/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      8/26/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.37
      8/26/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.19
      8/26/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.11
      8/26/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      8/26/2017    709   FS0039   Owner Operator   Repair Order                   CTMS - 204592 Repair                  228.14
      8/26/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 204690 truck lease 3304        434.29
      8/26/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/26/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13

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      8/26/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.26
      8/26/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      8/26/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      8/26/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      8/26/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.45
      8/26/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      8/26/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 204643 Lease                   252.11
      8/26/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
      8/26/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      8/26/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/26/2017    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/26/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.96
      8/26/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.41
      8/26/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.67
      8/26/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.05
      8/26/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          61.32
      8/26/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                       100
      8/26/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                42.18
      8/26/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 204687 Tractor Q1235           364.78
      8/26/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      8/26/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      8/26/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.67
      8/26/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.89
      8/26/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.06
      8/26/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                      100
      8/26/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      8/26/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 204639 Q13170                  352.68
      8/26/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      8/26/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      8/26/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/26/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/26/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.94
      8/26/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.54
      8/26/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      8/26/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/26/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      8/26/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/26/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/26/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/26/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.46
      8/26/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.44
      8/26/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          158.1
      8/26/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.42
      8/26/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.33
      8/26/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      8/26/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      8/26/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/26/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/26/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/26/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.26
      8/26/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.51
      8/26/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.34
      8/26/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      8/26/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      8/26/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/26/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      8/26/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96

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      8/26/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                   8.75
      8/26/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL              8.75
      8/26/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                        13
      8/26/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      8/26/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/26/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/26/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        223.25
      8/26/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        408.23
      8/26/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        327.42
      8/26/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                     32.99
      8/26/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q13197                     100
      8/26/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/26/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.11
      8/26/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.18
      8/26/2017    709   JC0292   Owner Operator   Repair Order                   CTMS - 204591 Repair                     70
      8/26/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      8/26/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 204686 Q13197 Lease           276.63
      8/26/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/26/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      8/26/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      8/26/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      8/26/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      8/26/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        412.95
      8/26/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        496.64
      8/26/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                     32.99
      8/26/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/26/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.85
      8/26/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      8/26/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/26/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      8/26/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      8/26/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      8/26/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        440.83
      8/26/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        425.86
      8/26/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        494.69
      8/26/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                     32.99
      8/26/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/26/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      8/26/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      8/26/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      8/26/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      8/26/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-2       -1208.52
      8/26/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-2       -1368.67
      8/26/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/26/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/26/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.85
      8/26/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/26/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51
      8/26/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      8/26/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      8/26/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        305.62
      8/26/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/26/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.58
      8/26/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 204614 Truck Lease            278.76
      8/26/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      8/26/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      8/26/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      8/26/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      8/26/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/26/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/26/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/26/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/26/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/26/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/26/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.8
      8/26/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        403.08
      8/26/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.75
      8/26/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/26/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.93
      8/26/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      8/26/2017    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00355366 - PO System         950.77
      8/26/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/26/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13

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      8/26/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                             250
      8/26/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              100
      8/26/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      8/26/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          383.54
      8/26/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          208.26
      8/26/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          430.02
      8/26/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             130
      8/26/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                       32.99
      8/26/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.32
      8/26/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      8/26/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                          519.59
      8/26/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
      8/26/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                            8
      8/26/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              39.04
      8/26/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 204729 Lease Q1111              252.11
      8/26/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                    8.75
      8/26/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                           13
      8/26/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                              200
      8/26/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                              200
      8/26/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/26/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/26/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          411.62
      8/26/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.88
      8/26/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           421.3
      8/26/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           234.5
      8/26/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                    94.51
      8/26/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism            2.5
      8/26/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      8/26/2017    709   MA0092   Owner Operator   Charge back by affiliate       CTMS - 204781 Dannys Truck Was           -475
      8/26/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                            8
      8/26/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                              50
      8/26/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.21
      8/26/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          342.97
      8/26/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          141.84
      8/26/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                         100
      8/26/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       49.68
      8/26/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
      8/26/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                          13
      8/26/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.67
      8/26/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.76
      8/26/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                       70.29
      8/26/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL              8.75
      8/26/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                            8
      8/26/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                              50
      8/26/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          223.37
      8/26/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          189.69
      8/26/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                           267.1
      8/26/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD              39.04
      8/26/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 204639 Q1113 Lease              252.11
      8/26/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      8/26/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.12
      8/26/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             254
      8/26/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           35.15
      8/26/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      8/26/2017    709   MM0093   Owner Operator   Advance                        defer charge to 9/1/17               -3629.91
      8/26/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      8/26/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                           13
      8/26/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.31
      8/26/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          282.81
      8/26/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment          274.27
      8/26/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    53.11
      8/26/2017    709   MM0093   Owner Operator   Repair Order                   CTMS - 204592 Repair                   104.03
      8/26/2017    709   MM0093   Owner Operator   T Chek Fee                     ExpressCheck Fee                        35.94
      8/26/2017    709   MM0093   Owner Operator   T Chek Fee                     Tractor Repair 32931                  3593.97
      8/26/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                          337.19
      8/26/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75

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      8/26/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           13
      8/26/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          795.54
      8/26/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          288.02
      8/26/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                       32.99
      8/26/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       71.86
      8/26/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      8/26/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                          323.05
      8/26/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
      8/26/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                           13
      8/26/2017    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-2             -310
      8/26/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          490.55
      8/26/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.11
      8/26/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               35.15
      8/26/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 204728 Lease                    215.66
      8/26/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
      8/26/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
      8/26/2017    709   NG0005   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-2         -3790.55
      8/26/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              200
      8/26/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/26/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          270.29
      8/26/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.59
      8/26/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 32.97
      8/26/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
      8/26/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           13
      8/26/2017    709   NT9564   Owner Operator   Highway Use Tax                2017-18 FVHUT                          -74.06
      8/26/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                         100
      8/26/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              30.47
      8/26/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 204638 Truck 73130 Leas         196.65
      8/26/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      8/26/2017    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-2          -781.25
      8/26/2017    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-2           -94.08
      8/26/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.15
      8/26/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      8/26/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 204613 Down Payment lo          303.55
      8/26/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.19
      8/26/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      8/26/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                              500
      8/26/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      8/26/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          449.94
      8/26/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.02
      8/26/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                       32.99
      8/26/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   103.05
      8/26/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                          504.72
      8/26/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      8/26/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                             100
      8/26/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          399.85
      8/26/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                       32.99
      8/26/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                     77.2
      8/26/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
      8/26/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      8/26/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
      8/26/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                              100
      8/26/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                              100
      8/26/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      8/26/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      8/26/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          440.67
      8/26/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          426.45
      8/26/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          447.26
      8/26/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                       32.99
      8/26/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/26/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.13
      8/26/2017    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00355602 - PO System           344.36
      8/26/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          512.16
      8/26/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      8/26/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                            8
      8/26/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                              50

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      8/26/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          272.3
      8/26/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.11
      8/26/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
      8/26/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      8/26/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      8/26/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      8/26/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      8/26/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      8/26/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      8/26/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      8/26/2017    709   RP0082   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-19           23.25
      8/26/2017    709   RP0082   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-2         -104.63
      8/26/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.03
      8/26/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      8/26/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 204614 Q1202 Truck Leas        278.76
      8/26/2017    709   RR0123   Owner Operator   Advance                        Acc Clm 64518 (2) s/u pmts              250
      8/26/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      8/26/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      8/26/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/26/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/26/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.19
      8/26/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      8/26/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      8/26/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 204644 Q1248                   311.97
      8/26/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      8/26/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      8/26/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/26/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/26/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/26/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.07
      8/26/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.19
      8/26/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.89
      8/26/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.25
      8/26/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      8/26/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      8/26/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      8/26/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      8/26/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      8/26/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.43
      8/26/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.53
      8/26/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.28
      8/26/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.38
      8/26/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      8/26/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      8/26/2017    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                         8.3
      8/26/2017    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  830.42
      8/26/2017    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00354425 - PO System          154.27
      8/26/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 204609 Sub Lease               388.33
      8/26/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      8/26/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      8/26/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      8/26/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.46
      8/26/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      8/26/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      8/26/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      8/26/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.38
      8/26/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           417
      8/26/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      8/26/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 204642 Tractor Sub leas        242.03
      8/26/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.32
      8/26/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/26/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      8/26/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/26/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.18

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      8/26/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.01
      8/26/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.12
      8/26/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.4
      8/26/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      8/26/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 204766 New Truck Set Up        248.96
      8/26/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/26/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      8/26/2017    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-19          476.72
      8/26/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      8/26/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      8/26/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      8/26/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      8/26/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              40
      8/26/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/26/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/26/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      8/26/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.5
      8/26/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.81
      8/26/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.91
      8/26/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      8/26/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 204644 Q1238 Lease             311.97
      8/26/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      8/26/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      8/26/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      8/26/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      8/26/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/26/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/26/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/26/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/26/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/26/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/26/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/26/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/26/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/26/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/26/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.75
      8/26/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.58
      8/26/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         109.31
      8/26/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.94
      8/26/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.02
      8/26/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.69
      8/26/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.97
      8/26/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      8/26/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.33
      8/26/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      8/26/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      8/26/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      8/26/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/26/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      8/26/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.98
      8/26/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.99
      8/26/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      8/26/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/26/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      8/26/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      8/26/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.89
      8/26/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.13
      8/26/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.03
      8/26/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      8/26/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      8/26/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      8/26/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.94
      8/26/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                      100
      8/26/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      8/26/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      8/26/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      8/26/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 204719 Sub Lease Q13171        352.68
      8/26/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/26/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      8/26/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.39
      8/26/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.8
      8/26/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                       100
      8/26/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      8/26/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/26/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      8/26/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      8/26/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      8/26/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      8/26/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.18
      8/26/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.33
      8/26/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.74
      8/26/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.61
      8/26/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.94
      8/26/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.64
      8/26/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.41
      8/26/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      8/26/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      8/26/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      8/26/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      8/26/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/26/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      8/26/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.35
      8/26/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.54
      8/26/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      8/26/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      8/26/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/26/2017    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00353179 - PO System          191.67
      8/26/2017    742   EN0016   Owner Operator   Toll Charges                   32947,HCTRA,Ship Channel Bridg            -7
      8/26/2017    742   EN0016   Owner Operator   Toll Charges                   32947,HCTRA,Ship Channel Bridg             7
      8/26/2017    742   EN0016   Owner Operator   Toll Charges                   32947,HCTRA,Ship Channel Bridg             7
      8/26/2017    742   EN0016   Owner Operator   Toll Charges                   32947,HCTRA,Ship Channel Bridg             7
      8/26/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      8/26/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      8/26/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      8/26/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      8/26/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      8/26/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      8/26/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      8/26/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.29
      8/26/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      8/26/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.15
      8/26/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      8/26/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/26/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      8/26/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      8/26/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      8/26/2017    742   MK0078   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/26/2017    742   MK0078   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/26/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.47
      8/26/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.14
      8/26/2017    742   MK0078   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   38.29
      8/26/2017    742   MK0078   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   38.29
      8/26/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      8/26/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      8/26/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      8/26/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/26/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5

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      8/26/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      8/26/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      8/26/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.65
      8/26/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      8/26/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.54
      8/26/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      8/26/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 204638 Q1247 Sub Lease         311.97
      8/26/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      8/26/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      8/26/2017    742   NG0024   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-2          -201.5
      8/26/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/26/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/26/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.86
      8/26/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.47
      8/26/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.06
      8/26/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.14
      8/26/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      8/26/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      8/26/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      8/26/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
      8/26/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/26/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      8/26/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/26/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.21
      8/26/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      8/26/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      8/26/2017    742   PC0012   Owner Operator   Toll Charges                   32969,ILTOLL,Spring Creek                9.6
      8/26/2017    742   PC0012   Owner Operator   Toll Charges                   32969,OTA,Exit WR-STLINE-05             17.6
      8/26/2017    742   PC0012   Owner Operator   Toll Charges                   32969,OTA,Kilpatrick Turnpike            8.4
      8/26/2017    742   PC0012   Owner Operator   Toll Charges                   32969,OTA,Turner Turnpike West          17.6
      8/26/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      8/26/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      8/26/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      8/26/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.79
      8/26/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.61
      8/26/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.72
      8/26/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                      100
      8/26/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      8/26/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      8/26/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 204613 Tractor Lease           353.28
      8/26/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      8/26/2017    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      8/26/2017    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.7
      8/26/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.01
      8/26/2017    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      8/26/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      8/26/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/26/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      8/26/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
      8/26/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      8/26/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      8/26/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/26/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      8/26/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/26/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.26
      8/26/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.77
      8/26/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.14
      8/26/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/26/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      8/26/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       9/2/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       9/2/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       9/2/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           358
       9/2/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82

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       9/2/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       9/2/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       9/2/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           264
       9/2/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          168.3
       9/2/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           170
       9/2/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.98
       9/2/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                      100
       9/2/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       9/2/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 204836 Q13147 Lease            368.82
       9/2/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       9/2/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           225
       9/2/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
       9/2/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.99
       9/2/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.49
       9/2/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.02
       9/2/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                      100
       9/2/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       9/2/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 204876 Q13169 Sublease         338.18
       9/2/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       9/2/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       9/2/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       9/2/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       9/2/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       9/2/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       9/2/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                       100
       9/2/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                       100
       9/2/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                       100
       9/2/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       9/2/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
       9/2/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       9/2/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       9/2/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       9/2/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       9/2/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       9/2/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       9/2/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.63
       9/2/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.65
       9/2/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.86
       9/2/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                      100
       9/2/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       9/2/2017    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00355673 - PO System          342.51
       9/2/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 204835 Q13168 sub lease        352.68
       9/2/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/2/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       9/2/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
       9/2/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/2/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/2/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.22
       9/2/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.94
       9/2/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
       9/2/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       9/2/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/2/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       9/2/2017    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       9/2/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       9/2/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.24
       9/2/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.56
       9/2/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.56
       9/2/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.77
       9/2/2017    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       9/2/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       9/2/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75

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       9/2/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
       9/2/2017    709   CS0091   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26          23.25
       9/2/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       9/2/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
       9/2/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 204841 Q1201                  278.76
       9/2/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
       9/2/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                          8
       9/2/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                          8
       9/2/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                            50
       9/2/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                            50
       9/2/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        348.64
       9/2/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        266.58
       9/2/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        280.48
       9/2/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        152.54
       9/2/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                      100
       9/2/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment        238.73
       9/2/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       9/2/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.2
       9/2/2017    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                 429.87
       9/2/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
       9/2/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
       9/2/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        388.56
       9/2/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         43.53
       9/2/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        564.91
       9/2/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.53
       9/2/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment        260.57
       9/2/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       9/2/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
       9/2/2017    709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                       7.83
       9/2/2017    709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                 782.95
       9/2/2017    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00355606 - PO System         297.72
       9/2/2017    709   DL0107   Owner Operator   Toll Charges                   Q1245 Carquinez Bridge 12                25
       9/2/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 204881 Sublease               338.99
       9/2/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
       9/2/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       9/2/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
       9/2/2017    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26         270.84
       9/2/2017    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26          67.64
       9/2/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.1
       9/2/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        471.47
       9/2/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                     32.99
       9/2/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       9/2/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
       9/2/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
       9/2/2017    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
       9/2/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
       9/2/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26             35
       9/2/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        420.01
       9/2/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       9/2/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.07
       9/2/2017    709   DW0138   Owner Operator   Advance                        Acc Clm 65683 s/u $250 pmts            250
       9/2/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
       9/2/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.66
       9/2/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        502.87
       9/2/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                     32.99
       9/2/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
       9/2/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
       9/2/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
       9/2/2017    709   DW0138   Owner Operator   Truck Payment                  CTMS - 204880 Tractor Rental         320.11
       9/2/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       9/2/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
       9/2/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
       9/2/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
       9/2/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
       9/2/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       9/2/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       9/2/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         14.81
       9/2/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        409.52
       9/2/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                            40
       9/2/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.21
       9/2/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                     32.99
       9/2/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       9/2/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47

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       9/2/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       9/2/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/2/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
       9/2/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/2/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/2/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.13
       9/2/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.83
       9/2/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.95
       9/2/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
       9/2/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
       9/2/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
       9/2/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       9/2/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       9/2/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.59
       9/2/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.09
       9/2/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.23
       9/2/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.68
       9/2/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                       100
       9/2/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       9/2/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       9/2/2017    709   EG0062   Owner Operator   Repair Order                   CTMS - 204791 WL55237 Flat Rep           -45
       9/2/2017    709   EG0062   Owner Operator   Repair Order                   CTMS - 204979 Repair                      70
       9/2/2017    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       9/2/2017    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       9/2/2017    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.14
       9/2/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.09
       9/2/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.16
       9/2/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.51
       9/2/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.26
       9/2/2017    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       9/2/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       9/2/2017    709   EO0014   Owner Operator   Tire Purchase                  PO: 742-00355607 - PO System          175.39
       9/2/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       9/2/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       9/2/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.38
       9/2/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.91
       9/2/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.61
       9/2/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.79
       9/2/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       9/2/2017    709   FS0039   Owner Operator   Repair Order                   CTMS - 204791 Repairs                 228.14
       9/2/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 204882 truck lease 3304        434.29
       9/2/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/2/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       9/2/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/2/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/2/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.87
       9/2/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.94
       9/2/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       9/2/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       9/2/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       9/2/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.13
       9/2/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.51
       9/2/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       9/2/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 204840 Lease                   252.11
       9/2/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
       9/2/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
       9/2/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/2/2017    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/2/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.63
       9/2/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.22
       9/2/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.57
       9/2/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.77
       9/2/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                       100
       9/2/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                42.19

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       9/2/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 204716 Reimbursement           364.78
       9/2/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 204879 Tractor Q1235           364.78
       9/2/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 204919 Reimbursement           364.78
       9/2/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       9/2/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       9/2/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.92
       9/2/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          327.4
       9/2/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.55
       9/2/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                      100
       9/2/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       9/2/2017    709   HC0023   Owner Operator   Repair Order                   CTMS - 204980 Repair                  154.59
       9/2/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 204836 Q13170                  352.68
       9/2/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       9/2/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       9/2/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/2/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/2/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/2/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/2/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.21
       9/2/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.41
       9/2/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       9/2/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       9/2/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       9/2/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/2/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.71
       9/2/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.82
       9/2/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.11
       9/2/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.41
       9/2/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       9/2/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       9/2/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/2/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.36
       9/2/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
       9/2/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       9/2/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/2/2017    709   IR0002   Owner Operator   Repair Order                   CTMS - 204791 Repair                      70
       9/2/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       9/2/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       9/2/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
       9/2/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       9/2/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       9/2/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       9/2/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/2/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/2/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/2/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/2/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.75
       9/2/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.45
       9/2/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.16
       9/2/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.68
       9/2/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.29
       9/2/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
       9/2/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q13197                      100
       9/2/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
       9/2/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       9/2/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
       9/2/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 204879 Q13197 Lease            276.63
       9/2/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/2/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13

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       9/2/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
       9/2/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/2/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/2/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.79
       9/2/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.54
       9/2/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.21
       9/2/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
       9/2/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       9/2/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       9/2/2017    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       9/2/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/2/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       9/2/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/2/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/2/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/2/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/2/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.71
       9/2/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.74
       9/2/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
       9/2/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       9/2/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       9/2/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26          218.84
       9/2/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       9/2/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       9/2/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.73
       9/2/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       9/2/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 204810 Truck Lease             278.76
       9/2/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       9/2/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       9/2/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       9/2/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/2/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/2/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/2/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.35
       9/2/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.55
       9/2/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       9/2/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       9/2/2017    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00355366 - PO System          950.74
       9/2/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/2/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       9/2/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       9/2/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/2/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/2/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/2/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/2/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.02
       9/2/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           266
       9/2/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          446.8
       9/2/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
       9/2/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       9/2/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/2/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       9/2/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       9/2/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       9/2/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       9/2/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 204922 Lease Q1111             252.11
       9/2/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       9/2/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       9/2/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/2/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/2/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.21
       9/2/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.44
       9/2/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       9/2/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       9/2/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/2/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       9/2/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50

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       9/2/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.03
       9/2/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          168.42
       9/2/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.58
       9/2/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          190.75
       9/2/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                         100
       9/2/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/2/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       49.69
       9/2/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
       9/2/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                          13
       9/2/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/2/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                       70.32
       9/2/2017    709   MB0048   Owner Operator   Repair Order                   CTMS - 204792 Repairs                  501.08
       9/2/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL              8.75
       9/2/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                            8
       9/2/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                              50
       9/2/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          211.28
       9/2/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.72
       9/2/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.25
       9/2/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.53
       9/2/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/2/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD              39.07
       9/2/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 204836 Q1113 Lease              252.11
       9/2/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
       9/2/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             260
       9/2/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          302.04
       9/2/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/2/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           35.16
       9/2/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
       9/2/2017    709   MM0093   Owner Operator   Advance                        Defered chg from 8/26/17              3629.91
       9/2/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
       9/2/2017    709   MM0093   Owner Operator   Charge back by affiliate       CTMS - 204871 Tractorrepairs 3          283.5
       9/2/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                           13
       9/2/2017    709   MM0093   Owner Operator   Express Check                  Cancelled EFS Check 171016           -3593.97
       9/2/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              100
       9/2/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       9/2/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          319.16
       9/2/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          377.98
       9/2/2017    709   MM0093   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment          273.45
       9/2/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/2/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    53.13
       9/2/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                          337.19
       9/2/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
       9/2/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           13
       9/2/2017    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                       -5500
       9/2/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            1000
       9/2/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          204.46
       9/2/2017    709   MP0035   Owner Operator   Express Check                  T-Check Payment                          5500
       9/2/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              140
       9/2/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.4
       9/2/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.07
       9/2/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                           475.5
       9/2/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                       32.99
       9/2/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/2/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       71.88
       9/2/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
       9/2/2017    709   MP0035   Owner Operator   Repair Order                   CTMS - 204903 Q1105 Fuel              -403.07
       9/2/2017    709   MP0035   Owner Operator   Repair Order                   CTMS - 204979 Repair                   246.39
       9/2/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                          323.05
       9/2/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
       9/2/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                           13
       9/2/2017    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26              310
       9/2/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                              200
       9/2/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       9/2/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.12
       9/2/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.05
       9/2/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/2/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               35.16
       9/2/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 204920 Lease                    215.66
       9/2/2017    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
       9/2/2017    709   NG0005   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26          2746.14
       9/2/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
       9/2/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           13
       9/2/2017    709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-9          -199.22

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       9/2/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                       100
       9/2/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       9/2/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 204835 Truck 73130 Leas        196.65
       9/2/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       9/2/2017    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26          781.25
       9/2/2017    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26           94.08
       9/2/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       9/2/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       9/2/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 204810 Down Payment lo         303.55
       9/2/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
       9/2/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/2/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
       9/2/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/2/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.86
       9/2/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.49
       9/2/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.99
       9/2/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
       9/2/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       9/2/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       9/2/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/2/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/2/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.82
       9/2/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.47
       9/2/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
       9/2/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       9/2/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       9/2/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/2/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       9/2/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/2/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/2/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/2/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/2/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.93
       9/2/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.03
       9/2/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.59
       9/2/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
       9/2/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       9/2/2017    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00355602 - PO System          344.36
       9/2/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       9/2/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       9/2/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
       9/2/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.09
       9/2/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.12
       9/2/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.05
       9/2/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
       9/2/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
       9/2/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       9/2/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       9/2/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       9/2/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.33
       9/2/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.61
       9/2/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       9/2/2017    709   RM0026   Owner Operator   Repair Order                   CTMS - 204592 Repair                    537
       9/2/2017    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       9/2/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       9/2/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       9/2/2017    709   RP0082   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26          104.63
       9/2/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              80
       9/2/2017    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
       9/2/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.15
       9/2/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.77
       9/2/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       9/2/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 204810 Q1202 Truck Leas        278.76
       9/2/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       9/2/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8

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       9/2/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
       9/2/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/2/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.67
       9/2/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.25
       9/2/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.65
       9/2/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       9/2/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       9/2/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 204841 Q1248                   311.97
       9/2/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       9/2/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       9/2/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
       9/2/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/2/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/2/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                            224
       9/2/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.75
       9/2/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          288.5
       9/2/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.18
       9/2/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
       9/2/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       9/2/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       9/2/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       9/2/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       9/2/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.7
       9/2/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.16
       9/2/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          322.4
       9/2/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       9/2/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       9/2/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 204805 Sub Lease               388.33
       9/2/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       9/2/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       9/2/2017    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/2/2017    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/2/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            406
       9/2/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.36
       9/2/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.1
       9/2/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       9/2/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 204839 Tractor Sub leas        242.03
       9/2/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
       9/2/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/2/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       9/2/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
       9/2/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
       9/2/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             150
       9/2/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       9/2/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/2/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.28
       9/2/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.68
       9/2/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.18
       9/2/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.17
       9/2/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.95
       9/2/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       9/2/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 204953 New Truck Set Up        248.96
       9/2/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       9/2/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       9/2/2017    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-9            -105
       9/2/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       9/2/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       9/2/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       9/2/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       9/2/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             100
       9/2/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/2/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.35
       9/2/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.45
       9/2/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.18
       9/2/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.64
       9/2/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.52

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       9/2/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       9/2/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 204841 Q1238 Lease             311.97
       9/2/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
       9/2/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       9/2/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/2/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/2/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/2/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/2/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.32
       9/2/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          163.3
       9/2/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
       9/2/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
       9/2/2017    742   AS0089   Owner Operator   Repair Order                   CTMS - 204868 repair                  105.78
       9/2/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/2/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       9/2/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.07
       9/2/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.54
       9/2/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.3
       9/2/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.93
       9/2/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.89
       9/2/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.88
       9/2/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       9/2/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       9/2/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       9/2/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       9/2/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.22
       9/2/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.42
       9/2/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.53
       9/2/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       9/2/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       9/2/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       9/2/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.38
       9/2/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.69
       9/2/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                      100
       9/2/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
       9/2/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       9/2/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 12                25
       9/2/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 8                 25
       9/2/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 8                 25
       9/2/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 204911 Sub Lease Q13171        352.68
       9/2/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/2/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/2/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       9/2/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       9/2/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    742   DA0067   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          450.1
       9/2/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
       9/2/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       9/2/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/2/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/2/2017    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  25
       9/2/2017    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 8                  25
       9/2/2017    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 8                  25
       9/2/2017    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 8                  25
       9/2/2017    742   DA0067   Owner Operator   Toll Charges                   33847/701746 Carquinez Br 8               25
       9/2/2017    742   DA0067   Owner Operator   Toll Charges                   33847/701911 Carquinez Br 7               25
       9/2/2017    742   DA0067   Owner Operator   Toll Charges                   33847/702079 Carquinez Br7                25
       9/2/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/2/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       9/2/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          375.1
       9/2/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.4
       9/2/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.64
       9/2/2017    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2017 - 33993                      15.53

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       9/2/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       9/2/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       9/2/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       9/2/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       9/2/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.91
       9/2/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       9/2/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       9/2/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/2/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       9/2/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/2/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/2/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.28
       9/2/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.26
       9/2/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.16
       9/2/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.75
       9/2/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
       9/2/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       9/2/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/2/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       9/2/2017    742   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-9             -31
       9/2/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       9/2/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       9/2/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       9/2/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       9/2/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
       9/2/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
       9/2/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.83
       9/2/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.04
       9/2/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
       9/2/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
       9/2/2017    742   KJ0045   Owner Operator   Toll Charges                   675528394 CANCELLED/ RETURNED           -100
       9/2/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       9/2/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/2/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          144.64
       9/2/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/2/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/2/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/2/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/2/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.88
       9/2/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.25
       9/2/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.64
       9/2/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
       9/2/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
       9/2/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
       9/2/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       9/2/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       9/2/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       9/2/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       9/2/2017    742   MH0117   Owner Operator   Repair Order                   CTMS - 204868 repair                      60
       9/2/2017    742   MK0078   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       9/2/2017    742   MK0078   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       9/2/2017    742   MK0078   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       9/2/2017    742   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.09
       9/2/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.97
       9/2/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.44
       9/2/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.02
       9/2/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.84
       9/2/2017    742   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   MK0078   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   38.26
       9/2/2017    742   MK0078   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   38.29
       9/2/2017    742   MK0078   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   38.29
       9/2/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       9/2/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                        0.32
       9/2/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                             500

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       9/2/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/2/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.47
       9/2/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
       9/2/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
       9/2/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
       9/2/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       9/2/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       9/2/2017    742   NG0024   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26           201.5
       9/2/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.64
       9/2/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.58
       9/2/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       9/2/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       9/2/2017    742   NG0024   Owner Operator   Toll Charges                   33252 Bay Bridge 14                       25
       9/2/2017    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 7                  25
       9/2/2017    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                  25
       9/2/2017    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                  25
       9/2/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.24
       9/2/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       9/2/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
       9/2/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/2/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       9/2/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       9/2/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/2/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/2/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.51
       9/2/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.2
       9/2/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.09
       9/2/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.39
       9/2/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.53
       9/2/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
       9/2/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       9/2/2017    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 9                  25
       9/2/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       9/2/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       9/2/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       9/2/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.94
       9/2/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.12
       9/2/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                      100
       9/2/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       9/2/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       9/2/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 204810 Tractor Lease           353.28
       9/2/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       9/2/2017    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       9/2/2017    742   RS0342   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-9         -156.24
       9/2/2017    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.47
       9/2/2017    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2017 - 33738                       100
       9/2/2017    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   RS0342   Owner Operator   Permits                        ID06:2017 - 33738                         11
       9/2/2017    742   RS0342   Owner Operator   Permits                        IL02:2017 - 33738                       3.75
       9/2/2017    742   RS0342   Owner Operator   Permits                        NM07:2017 - 33738                        5.5
       9/2/2017    742   RS0342   Owner Operator   Permits                        OR16:2017 - 33738                          8
       9/2/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       9/2/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       9/2/2017    742   RS0342   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
       9/2/2017    742   RS0342   Owner Operator   T Chek Fee                     School Checks (Corp)                    300
       9/2/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       9/2/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       9/2/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
       9/2/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       9/2/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       9/2/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/2/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       9/2/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/2/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.14
       9/2/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.64
       9/2/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.72
       9/2/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.45

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       9/2/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/2/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       9/2/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       9/9/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       9/9/2017    709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                   12.5
       9/9/2017    709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 205084 Solvay fuel            -175.18
       9/9/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       9/9/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/9/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/9/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.56
       9/9/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.44
       9/9/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       9/9/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       9/9/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       9/9/2017    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
       9/9/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       9/9/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       9/9/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           343
       9/9/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                      100
       9/9/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       9/9/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 204836 Q13147 Lease             71.32
       9/9/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 205008 Q13147 Lease            440.14
       9/9/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
       9/9/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
       9/9/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       9/9/2017    709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                   12.5
       9/9/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       9/9/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       9/9/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             25
       9/9/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.05
       9/9/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.48
       9/9/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.97
       9/9/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.83
       9/9/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.78
       9/9/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.37
       9/9/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.26
       9/9/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.41
       9/9/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                      100
       9/9/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       9/9/2017    709   AV0021   Owner Operator   Repair Order                   CTMS - 204979 Repairs                   96.8
       9/9/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 204876 Q13169 Sublease           14.5
       9/9/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 205036 Q13169 Sublease         352.68
       9/9/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       9/9/2017    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
       9/9/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       9/9/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                       100
       9/9/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       9/9/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       9/9/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       9/9/2017    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
       9/9/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       9/9/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.38
       9/9/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.19
       9/9/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.38
       9/9/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                      100
       9/9/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       9/9/2017    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00355673 - PO System          342.46
       9/9/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 205007 Q13168 sub lease        352.68
       9/9/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/9/2017    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
       9/9/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       9/9/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
       9/9/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/9/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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       9/9/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          518.6
       9/9/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
       9/9/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       9/9/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/9/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       9/9/2017    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       9/9/2017    709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                    12.5
       9/9/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       9/9/2017    709   cr0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/9/2017    709   cr0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.53
       9/9/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          144.4
       9/9/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.25
       9/9/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.37
       9/9/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.62
       9/9/2017    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       9/9/2017    709   CR0064   Owner Operator   Repair Order                   CTMS - 204979 Repair                  314.73
       9/9/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       9/9/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       9/9/2017    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                    12.5
       9/9/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       9/9/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.48
       9/9/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       9/9/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 205014 Q1201                   278.76
       9/9/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       9/9/2017    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                    12.5
       9/9/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       9/9/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    709   DL0029   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/9/2017    709   DL0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/9/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.65
       9/9/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.72
       9/9/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.94
       9/9/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.25
       9/9/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.02
       9/9/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.37
       9/9/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                       100
       9/9/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment         238.47
       9/9/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       9/9/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       9/9/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/9/2017    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                    12.5
       9/9/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       9/9/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.92
       9/9/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         673.08
       9/9/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
       9/9/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       9/9/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       9/9/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       9/9/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.33
       9/9/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       9/9/2017    709   DW0138   Owner Operator   Advance                        Acc Clm 65683 s/u $250 pmts             250
       9/9/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
       9/9/2017    709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                    12.5
       9/9/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
       9/9/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
       9/9/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          141.5
       9/9/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.03
       9/9/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.18
       9/9/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.83
       9/9/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.64
       9/9/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
       9/9/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
       9/9/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
       9/9/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
       9/9/2017    709   DW0138   Owner Operator   Truck Payment                  CTMS - 204880 Tractor Rental          179.89
       9/9/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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       9/9/2017    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
       9/9/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       9/9/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/9/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/9/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/9/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.61
       9/9/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.59
       9/9/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.69
       9/9/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
       9/9/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       9/9/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       9/9/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/9/2017    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
       9/9/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
       9/9/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/9/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/9/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/9/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.14
       9/9/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.87
       9/9/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.71
       9/9/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
       9/9/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
       9/9/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
       9/9/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       9/9/2017    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
       9/9/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       9/9/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.83
       9/9/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                       100
       9/9/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       9/9/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       9/9/2017    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       9/9/2017    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       9/9/2017    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.99
       9/9/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.92
       9/9/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           306
       9/9/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           191
       9/9/2017    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       9/9/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       9/9/2017    709   EO0014   Owner Operator   Tire Purchase                  PO: 742-00355607 - PO System          175.36
       9/9/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       9/9/2017    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
       9/9/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       9/9/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.09
       9/9/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.15
       9/9/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.03
       9/9/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       9/9/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 205042 truck lease 3304        434.29
       9/9/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/9/2017    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
       9/9/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       9/9/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.55
       9/9/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       9/9/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       9/9/2017    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                    12.5
       9/9/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       9/9/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       9/9/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 205012 Lease                   252.11
       9/9/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
       9/9/2017    709   GW0043   Owner Operator   Broker Pre Pass                Q1263 PrePass Device                    12.5
       9/9/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
       9/9/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.37

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       9/9/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.78
       9/9/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           9.12
       9/9/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                       100
       9/9/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                42.19
       9/9/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 205039 Tractor Q1235           364.78
       9/9/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 205075 Reimbursement           364.78
       9/9/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       9/9/2017    709   HC0023   Owner Operator   Broker Pre Pass                Q13170 PrePass Device                   12.5
       9/9/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       9/9/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.34
       9/9/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.44
       9/9/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                      100
       9/9/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       9/9/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 205008 Q13170                  352.68
       9/9/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       9/9/2017    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                    12.5
       9/9/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       9/9/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/9/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/9/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/9/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.57
       9/9/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.63
       9/9/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       9/9/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       9/9/2017    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
       9/9/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       9/9/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/9/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/9/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/9/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.55
       9/9/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.46
       9/9/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.48
       9/9/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.91
       9/9/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.86
       9/9/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       9/9/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       9/9/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/9/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/9/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/9/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.54
       9/9/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
       9/9/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       9/9/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/9/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       9/9/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       9/9/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
       9/9/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       9/9/2017    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
       9/9/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       9/9/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       9/9/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/9/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/9/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/9/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.01
       9/9/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.99
       9/9/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.84
       9/9/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.13
       9/9/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
       9/9/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q13197                      100
       9/9/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
       9/9/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       9/9/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
       9/9/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 205039 Q13197 Lease            276.63

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       9/9/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/9/2017    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
       9/9/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       9/9/2017    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -2500
       9/9/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
       9/9/2017    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         2500
       9/9/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
       9/9/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/9/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.21
       9/9/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                            387
       9/9/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
       9/9/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       9/9/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       9/9/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/9/2017    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                    12.5
       9/9/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       9/9/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             300
       9/9/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/9/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/9/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.92
       9/9/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.57
       9/9/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.02
       9/9/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
       9/9/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       9/9/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       9/9/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26          989.68
       9/9/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26          873.82
       9/9/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       9/9/2017    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                    12.5
       9/9/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       9/9/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.64
       9/9/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       9/9/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 205003 Truck Lease             278.76
       9/9/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       9/9/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       9/9/2017    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                    12.5
       9/9/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       9/9/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
       9/9/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/9/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/9/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.37
       9/9/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.03
       9/9/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.48
       9/9/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       9/9/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       9/9/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/9/2017    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
       9/9/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       9/9/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
       9/9/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/9/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
       9/9/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/9/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.94
       9/9/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.51
       9/9/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            361
       9/9/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.73
       9/9/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.02
       9/9/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            207
       9/9/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
       9/9/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       9/9/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/9/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       9/9/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       9/9/2017    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                    12.5

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       9/9/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       9/9/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       9/9/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 205077 Lease Q1111             252.11
       9/9/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       9/9/2017    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
       9/9/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       9/9/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.62
       9/9/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.17
       9/9/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       9/9/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       9/9/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/9/2017    709   MA0092   Owner Operator   Broker Pre Pass                34005 PrePass Device                    12.5
       9/9/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       9/9/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.06
       9/9/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.02
       9/9/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.71
       9/9/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.52
       9/9/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                       100
       9/9/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       9/9/2017    709   MA0092   Owner Operator   Truck Payment                  CTMS - 204979 Truck Rental              500
       9/9/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       9/9/2017    709   MB0048   Owner Operator   Broker Pre Pass                21727B PrePass Device                   12.5
       9/9/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
       9/9/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.56
       9/9/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
       9/9/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       9/9/2017    709   ME0053   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                    12.5
       9/9/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       9/9/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       9/9/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 205007 Q1113 Lease             252.11
       9/9/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       9/9/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.05
       9/9/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.05
       9/9/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       9/9/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       9/9/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       9/9/2017    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                    12.5
       9/9/2017    709   MM0093   Owner Operator   Charge back by affiliate       CTMS - 205035 Tractorrepairs 3         283.5
       9/9/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
       9/9/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/9/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/9/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.83
       9/9/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.55
       9/9/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.86
       9/9/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
       9/9/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
       9/9/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/9/2017    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
       9/9/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       9/9/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
       9/9/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            125
       9/9/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.25
       9/9/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.96
       9/9/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
       9/9/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       9/9/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       9/9/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       9/9/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       9/9/2017    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                    12.5
       9/9/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       9/9/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         152.53
       9/9/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   NB0029   Owner Operator   Permits                        NY13:2017 - Q1108                        1.5
       9/9/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16

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       9/9/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       9/9/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       9/9/2017    709   NG0005   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26         1044.41
       9/9/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/9/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            120
       9/9/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/9/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/9/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
       9/9/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           270
       9/9/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.1
       9/9/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          182.7
       9/9/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                17.71
       9/9/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       9/9/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       9/9/2017    709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                    12.5
       9/9/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       9/9/2017    709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-2           199.22
       9/9/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                       100
       9/9/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       9/9/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 205007 Truck 73130 Leas        196.65
       9/9/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       9/9/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       9/9/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       9/9/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 205003 Down Payment lo         303.55
       9/9/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
       9/9/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/9/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
       9/9/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/9/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.07
       9/9/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
       9/9/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       9/9/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       9/9/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/9/2017    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
       9/9/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/9/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.81
       9/9/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
       9/9/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       9/9/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       9/9/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/9/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       9/9/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/9/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/9/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/9/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/9/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.54
       9/9/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.97
       9/9/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.95
       9/9/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
       9/9/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       9/9/2017    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00355602 - PO System          344.36
       9/9/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       9/9/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       9/9/2017    709   RL0180   Owner Operator   Broker Pre Pass                34012 PrePass Device                    12.5
       9/9/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
       9/9/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.35
       9/9/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
       9/9/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
       9/9/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       9/9/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       9/9/2017    709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                    12.5
       9/9/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       9/9/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.02

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       9/9/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.72
       9/9/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       9/9/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       9/9/2017    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                    12.5
       9/9/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       9/9/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.68
       9/9/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       9/9/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 205004 Q1202 Truck Leas        278.76
       9/9/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       9/9/2017    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                    12.5
       9/9/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       9/9/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/9/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          406.7
       9/9/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.62
       9/9/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       9/9/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       9/9/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 205014 Q1248                   311.97
       9/9/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       9/9/2017    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
       9/9/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       9/9/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       9/9/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/9/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.46
       9/9/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.46
       9/9/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.35
       9/9/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.05
       9/9/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
       9/9/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       9/9/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       9/9/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       9/9/2017    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
       9/9/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.97
       9/9/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          328.2
       9/9/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.56
       9/9/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.29
       9/9/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       9/9/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       9/9/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 204998 Sub Lease               388.33
       9/9/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       9/9/2017    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
       9/9/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       9/9/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           429
       9/9/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           376
       9/9/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       9/9/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 205012 Tractor Sub leas        242.03
       9/9/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
       9/9/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/9/2017    709   VJ0006   Owner Operator   Broker Pre Pass                33961 PrePass Device                    12.5
       9/9/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       9/9/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       9/9/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/9/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.17
       9/9/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.76
       9/9/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.15
       9/9/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       9/9/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 205104 New Truck Set Up        248.96
       9/9/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       9/9/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       9/9/2017    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-2             105
       9/9/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       9/9/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5

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       9/9/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       9/9/2017    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
       9/9/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       9/9/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/9/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/9/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.67
       9/9/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.12
       9/9/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.01
       9/9/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       9/9/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 205014 Q1238 Lease             311.97
       9/9/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
       9/9/2017    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
       9/9/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       9/9/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
       9/9/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
       9/9/2017    742   AS0089   Owner Operator   Repair Order                   CTMS - 204868 repair                   35.63
       9/9/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/9/2017    742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                    12.5
       9/9/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       9/9/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.16
       9/9/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.92
       9/9/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.56
       9/9/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       9/9/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       9/9/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       9/9/2017    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
       9/9/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       9/9/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.72
       9/9/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.72
       9/9/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       9/9/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       9/9/2017    742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                   12.5
       9/9/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       9/9/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       9/9/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.41
       9/9/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                      100
       9/9/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
       9/9/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       9/9/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/9/2017    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
       9/9/2017    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
       9/9/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       9/9/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          117.1
       9/9/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       9/9/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/9/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/9/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       9/9/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.48
       9/9/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.52
       9/9/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       9/9/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       9/9/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/9/2017    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
       9/9/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       9/9/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.5
       9/9/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.02
       9/9/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
       9/9/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       9/9/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/9/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       9/9/2017    742   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-2               31
       9/9/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       9/9/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13

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       9/9/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       9/9/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       9/9/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
       9/9/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
       9/9/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.39
       9/9/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
       9/9/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
       9/9/2017    742   IK0012   Owner Operator   Repair Order                   CTMS - 205091 repair                     250
       9/9/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       9/9/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          55.35
       9/9/2017    742   MK0078   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       9/9/2017    742   MK0078   Owner Operator   Communication Charge           PNet Hware 33761                          13
       9/9/2017    742   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.03
       9/9/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                            190
       9/9/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.61
       9/9/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.36
       9/9/2017    742   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   MK0078   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   38.29
       9/9/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
       9/9/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
       9/9/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       9/9/2017    742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                    12.5
       9/9/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       9/9/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                        7.68
       9/9/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                             300
       9/9/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/9/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/9/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.41
       9/9/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            100
       9/9/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            200
       9/9/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.9
       9/9/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
       9/9/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
       9/9/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 204836 Q1247 Sub Lease         311.97
       9/9/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 205007 Q1247 Sub Lease         311.97
       9/9/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       9/9/2017    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
       9/9/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       9/9/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/9/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/9/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.66
       9/9/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.72
       9/9/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.94
       9/9/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.32
       9/9/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       9/9/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       9/9/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       9/9/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
       9/9/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/9/2017    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                    12.5
       9/9/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       9/9/2017    742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                       -700
       9/9/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
       9/9/2017    742   PC0012   Owner Operator   Express Check                  T-Check Payment                          700
       9/9/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
       9/9/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
       9/9/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/9/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/9/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.04
       9/9/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.83
       9/9/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.58
       9/9/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
       9/9/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       9/9/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18

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       9/9/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       9/9/2017    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
       9/9/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       9/9/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.63
       9/9/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.08
       9/9/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.67
       9/9/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                      100
       9/9/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       9/9/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       9/9/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 205003 Tractor Lease           353.28
       9/9/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       9/9/2017    742   RS0342   Owner Operator   Broker Pre Pass                33738 PrePass Device                    12.5
       9/9/2017    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       9/9/2017    742   RS0342   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-2           156.24
       9/9/2017    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          140.9
       9/9/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                           413
       9/9/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.2
       9/9/2017    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2017 - 33738                       100
       9/9/2017    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   RS0342   Owner Operator   Permits                        NY13:2017 - 33738                        1.5
       9/9/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       9/9/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       9/9/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       9/9/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       9/9/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
       9/9/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       9/9/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       9/9/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/9/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       9/9/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.19
       9/9/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.82
       9/9/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       9/9/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       9/9/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       9/9/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       9/9/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       9/9/2017    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
       9/9/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       9/9/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       9/9/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       9/9/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/9/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.78
       9/9/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          590.6
       9/9/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.28
       9/9/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.02
       9/9/2017    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/9/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       9/9/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       9/9/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       9/9/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       9/9/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       9/9/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      9/16/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      9/16/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      9/16/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/16/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.62
      9/16/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      9/16/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      9/16/2017    709   AN0007   Owner Operator   Toll Charges                   21157A FasTrak CATALINA VIEW S         21.96
      9/16/2017    709   AN0007   Owner Operator   Toll Charges                   21157A FasTrak TOMATO SPRINGS          10.08
      9/16/2017    709   AN0007   Owner Operator   Toll Charges                   21157A FasTrak TOMATO SPRINGS          10.08
      9/16/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75

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      9/16/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                          13
      9/16/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.49
      9/16/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          523.49
      9/16/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          405.61
      9/16/2017    709   AR0064   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         324.34
      9/16/2017    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2017 - Q13147                      18.53
      9/16/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             35.16
      9/16/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 205177 Q13147 Lease             440.14
      9/16/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                     57.45
      9/16/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             8.75
      9/16/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                           8
      9/16/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                               50
      9/16/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      9/16/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.03
      9/16/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          108.75
      9/16/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           98.96
      9/16/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.27
      9/16/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           98.89
      9/16/2017    709   AV0021   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                           5.17
      9/16/2017    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2017 - Q13169                      18.62
      9/16/2017    709   AV0021   Owner Operator   Miscellaneous                  replace check 968000                  1456.68
      9/16/2017    709   AV0021   Owner Operator   Miscellaneous                  void check 968000                    -1456.68
      9/16/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             35.16
      9/16/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 205202 Q13169 Sublease          352.68
      9/16/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
      9/16/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
      9/16/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/16/2017    709   BM0030   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         459.42
      9/16/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                        100
      9/16/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.13
      9/16/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
      9/16/2017    709   BM0030   Owner Operator   Repair Order                   CTMS - 205313 Parts                     33.74
      9/16/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
      9/16/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
      9/16/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           19.97
      9/16/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           74.15
      9/16/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           16.45
      9/16/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.88
      9/16/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          420.04
      9/16/2017    709   CC0134   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                           2.89
      9/16/2017    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2017 - Q13168                      18.62
      9/16/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.16
      9/16/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 205176 Q13168 sub lease         352.68
      9/16/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 205315 Truck Rental               100
      9/16/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      9/16/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
      9/16/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                            300
      9/16/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          518.69
      9/16/2017    709   CM0119   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          70.43
      9/16/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                       32.99
      9/16/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.96
      9/16/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      9/16/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
      9/16/2017    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      9/16/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                           13
      9/16/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.29
      9/16/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          239.58
      9/16/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.73
      9/16/2017    709   CR0064   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          -9.31
      9/16/2017    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       39.07
      9/16/2017    709   CR0064   Owner Operator   Repair Order                   CTMS - 205100 Repair                   314.73
      9/16/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                          245.63
      9/16/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL              8.75
      9/16/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                            8
      9/16/2017    709   CS0091   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-23             -31
      9/16/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.01
      9/16/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.15

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      9/16/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      9/16/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 205182 Q1201                   278.76
      9/16/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/16/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      9/16/2017    709   DL0029   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/16/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.44
      9/16/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.95
      9/16/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.23
      9/16/2017    709   DL0029   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                        133.87
      9/16/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                       100
      9/16/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      9/16/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      9/16/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      9/16/2017    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                    12.5
      9/16/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      9/16/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      9/16/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/16/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/16/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.46
      9/16/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           500
      9/16/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.22
      9/16/2017    709   DL0107   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                       -220.82
      9/16/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         260.57
      9/16/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         260.57
      9/16/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      9/16/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      9/16/2017    709   DL0107   Owner Operator   Toll Charges                   Q1245 FasTrak Bay Bridge                  25
      9/16/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 205207 Sublease                338.99
      9/16/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      9/16/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/16/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      9/16/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/16/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/16/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.43
      9/16/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          472.3
      9/16/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      9/16/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      9/16/2017    709   DS0049   Owner Operator   Toll Charges                   32915/TL9207 FasTrak Bay Bridg            25
      9/16/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      9/16/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      9/16/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-23            -93
      9/16/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.57
      9/16/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.14
      9/16/2017    709   DS0225   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         -36.7
      9/16/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      9/16/2017    709   DW0138   Owner Operator   Advance                        Acc Clm 65683 s/u $250 pmts           219.62
      9/16/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      9/16/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      9/16/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          540.4
      9/16/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.57
      9/16/2017    709   DW0138   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         23.15
      9/16/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      9/16/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      9/16/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.52
      9/16/2017    709   DW0138   Owner Operator   Repair Order                   CTMS - 205314 Parts                    69.98
      9/16/2017    709   DW0138   Owner Operator   Toll Charges                   TxTag 33443 Southern Terminal           6.75
      9/16/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      9/16/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/16/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      9/16/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/16/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/16/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/16/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/16/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/16/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.77
      9/16/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.59
      9/16/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.76

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      9/16/2017    709   EA0003   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         73.86
      9/16/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      9/16/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      9/16/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      9/16/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/16/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      9/16/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                              60
      9/16/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/16/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/16/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      9/16/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.69
      9/16/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.95
      9/16/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.66
      9/16/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.26
      9/16/2017    709   EE0011   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         66.84
      9/16/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      9/16/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      9/16/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      9/16/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      9/16/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      9/16/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.77
      9/16/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.65
      9/16/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.71
      9/16/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          192.6
      9/16/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          121.7
      9/16/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.82
      9/16/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.92
      9/16/2017    709   EG0062   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          -4.4
      9/16/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                       100
      9/16/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      9/16/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      9/16/2017    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      9/16/2017    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      9/16/2017    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/16/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.66
      9/16/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           137
      9/16/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.28
      9/16/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.49
      9/16/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.16
      9/16/2017    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      9/16/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      9/16/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      9/16/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      9/16/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.77
      9/16/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.11
      9/16/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.1
      9/16/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.53
      9/16/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           291
      9/16/2017    709   FS0039   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         10.54
      9/16/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      9/16/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 205208 truck lease 3304        434.29
      9/16/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/16/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      9/16/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/16/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/16/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.45
      9/16/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.33
      9/16/2017    709   FV0001   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         82.79
      9/16/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      9/16/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      9/16/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      9/16/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.16
      9/16/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.09
      9/16/2017    709   GS0015   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         58.13
      9/16/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      9/16/2017    709   GS0015   Owner Operator   Repair Order                   CTMS - 205313 Repair                    182

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      9/16/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 205181 Lease                   252.11
      9/16/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
      9/16/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      9/16/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/16/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.52
      9/16/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.96
      9/16/2017    709   GW0043   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          2.23
      9/16/2017    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2017 - Q1263                      18.62
      9/16/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                42.19
      9/16/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 205206 Tractor Q1235           364.78
      9/16/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 205245 Reimbursement           364.78
      9/16/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      9/16/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      9/16/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/16/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.77
      9/16/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.68
      9/16/2017    709   HC0023   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          5.34
      9/16/2017    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2017 - Q13170                     18.62
      9/16/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      9/16/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 205176 Q13170                  352.68
      9/16/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      9/16/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      9/16/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/16/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/16/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/16/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.01
      9/16/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.45
      9/16/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.54
      9/16/2017    709   HG0007   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         62.39
      9/16/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      9/16/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      9/16/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      9/16/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/16/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/16/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/16/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.99
      9/16/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                           173
      9/16/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.73
      9/16/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.05
      9/16/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.58
      9/16/2017    709   HG0027   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         51.23
      9/16/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      9/16/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      9/16/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/16/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.02
      9/16/2017    709   IR0002   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                        -20.78
      9/16/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      9/16/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      9/16/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/16/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      9/16/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      9/16/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      9/16/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      9/16/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      9/16/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      9/16/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/16/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/16/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/16/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/16/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.96
      9/16/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.1
      9/16/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.53
      9/16/2017    709   JC0292   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                        201.56
      9/16/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      9/16/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q13197                     28.58
      9/16/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
      9/16/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19

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      9/16/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
      9/16/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 205205 Q13197 Lease          276.63
      9/16/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/16/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      9/16/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      9/16/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      9/16/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      9/16/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.97
      9/16/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       441.07
      9/16/2017    709   JG0017   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                        70.5
      9/16/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                    32.99
      9/16/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/16/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      9/16/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      9/16/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/16/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      9/16/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          500
      9/16/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      9/16/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       433.37
      9/16/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        461.8
      9/16/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       341.44
      9/16/2017    709   JG0072   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                      163.36
      9/16/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                    32.99
      9/16/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/16/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      9/16/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      9/16/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      9/16/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      9/16/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      9/16/2017    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
      9/16/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      9/16/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      9/16/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      9/16/2017    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-26        494.85
      9/16/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.38
      9/16/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.05
      9/16/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/16/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/16/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/16/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      9/16/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      9/16/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      9/16/2017    709   JQ0015   Owner Operator   Repair Order                   CTMS - 204791 Repair                101.26
      9/16/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      9/16/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      9/16/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.94
      9/16/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/16/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      9/16/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 205156 Truck Lease           278.76
      9/16/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      9/16/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      9/16/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      9/16/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      9/16/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/16/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/16/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/16/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/16/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       441.23
      9/16/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.37
      9/16/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/16/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      9/16/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      9/16/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/16/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      9/16/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
      9/16/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/16/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/16/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       184.75
      9/16/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        26.04
      9/16/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.01
      9/16/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.51
      9/16/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       240.01
      9/16/2017    709   KP0004   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                       97.54

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      9/16/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                        32.99
      9/16/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      9/16/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                     93.32
      9/16/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism             2.5
      9/16/2017    709   KP0004   Owner Operator   Toll Charges                   TxTag 32914 Ship Channel Bridg             3.5
      9/16/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                          519.59
      9/16/2017    709   KP0004   Owner Operator   Tractor Wash                   CTMS - 205259 DAW - KP0004                 -42
      9/16/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL               8.75
      9/16/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                             8
      9/16/2017    709   LL0160   Owner Operator   Miscellaneous                  replace check 967965                  2449.47
      9/16/2017    709   LL0160   Owner Operator   Miscellaneous                  void check 967965                    -2449.47
      9/16/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD               39.07
      9/16/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 205248 Lease Q1111              252.11
      9/16/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                     8.75
      9/16/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                            13
      9/16/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                               200
      9/16/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                             2
      9/16/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          547.95
      9/16/2017    709   LS0023   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                           144.9
      9/16/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      9/16/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                     94.54
      9/16/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism             2.5
      9/16/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                        8.75
      9/16/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                             8
      9/16/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                               50
      9/16/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          318.77
      9/16/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                             10.2
      9/16/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.87
      9/16/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                            287.8
      9/16/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                            10.29
      9/16/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          247.95
      9/16/2017    709   MA0092   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          -13.37
      9/16/2017    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2017 - 34005                        30.53
      9/16/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      9/16/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        49.69
      9/16/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                        8.75
      9/16/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                           13
      9/16/2017    709   MB0048   Owner Operator   Fuel Purchase                  Fuel Purchase                          161.19
      9/16/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      9/16/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                        70.32
      9/16/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                             3.13
      9/16/2017    709   ME0053   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                           -3.13
      9/16/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                            8.75
      9/16/2017    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-23           -93.75
      9/16/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            157.1
      9/16/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.05
      9/16/2017    709   MG0067   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                        -147.44
      9/16/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      9/16/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                            35.16
      9/16/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                    2.5
      9/16/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                     8.75
      9/16/2017    709   MM0093   Owner Operator   Charge back by affiliate       CTMS - 205207 Tractorrepairs 3           283.5
      9/16/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                            13
      9/16/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.01
      9/16/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          365.58
      9/16/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      9/16/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                     53.13
      9/16/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                          337.19
      9/16/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                        8.75
      9/16/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                            13
      9/16/2017    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                      -14000
      9/16/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            1000
      9/16/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                        32.99
      9/16/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      9/16/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        71.88
      9/16/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism                2.5
      9/16/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                          323.05
      9/16/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL                8.75
      9/16/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                            13
      9/16/2017    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                         -250
      9/16/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                              250
      9/16/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            97.47
      9/16/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                               200

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      9/16/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/16/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.41
      9/16/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.38
      9/16/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           198.3
      9/16/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.67
      9/16/2017    709   NB0029   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         122.72
      9/16/2017    709   NB0029   Owner Operator   Loan Repayment                 Crdt ExpCk 171955 s/u loan           -2267.45
      9/16/2017    709   NB0029   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          254.85
      9/16/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               35.16
      9/16/2017    709   NB0029   Owner Operator   Repair Order                   CTMS - 205313 Repair                   253.78
      9/16/2017    709   NB0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        22.45
      9/16/2017    709   NB0029   Owner Operator   T Chek Fee                     Tractor Repair Q1108                    2245
      9/16/2017    709   NB0029   Owner Operator   Toll Charges                   TxTag Q1108 Topeka: I-70                 6.75
      9/16/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 205076 Lease                    215.66
      9/16/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 205247 Lease                    215.66
      9/16/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
      9/16/2017    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                    12.5
      9/16/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
      9/16/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
      9/16/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
      9/16/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/16/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      9/16/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                            97.2
      9/16/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 32.98
      9/16/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 15.27
      9/16/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
      9/16/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           13
      9/16/2017    709   NT9564   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          125.4
      9/16/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                        100
      9/16/2017    709   NT9564   Owner Operator   Miscellaneous                  replace check 967973                   436.45
      9/16/2017    709   NT9564   Owner Operator   Miscellaneous                  void check 967973                     -436.45
      9/16/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              30.47
      9/16/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 205176 Truck 73130 Leas         196.65
      9/16/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      9/16/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.16
      9/16/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      9/16/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 205156 Down Payment lo          303.55
      9/16/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                      52.2
      9/16/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      9/16/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
      9/16/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      9/16/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.93
      9/16/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          380.46
      9/16/2017    709   RC0089   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          -2.96
      9/16/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                       32.99
      9/16/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   103.07
      9/16/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                          504.72
      9/16/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      9/16/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      9/16/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          484.31
      9/16/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           19.66
      9/16/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          151.67
      9/16/2017    709   RL0017   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         -20.93
      9/16/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                       32.99
      9/16/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.22
      9/16/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
      9/16/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      9/16/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
      9/16/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/16/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/16/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/16/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      9/16/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          450.39
      9/16/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          167.07
      9/16/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          465.85
      9/16/2017    709   RL0062   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         139.57
      9/16/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                       32.99

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      9/16/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      9/16/2017    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00355602 - PO System          344.32
      9/16/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      9/16/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/16/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      9/16/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/16/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.92
      9/16/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.32
      9/16/2017    709   RL0180   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         15.91
      9/16/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
      9/16/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      9/16/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      9/16/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      9/16/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      9/16/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.38
      9/16/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.74
      9/16/2017    709   RM0026   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                        113.09
      9/16/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      9/16/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      9/16/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      9/16/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.43
      9/16/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      9/16/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 205156 Q1202 Truck Leas        278.76
      9/16/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      9/16/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      9/16/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/16/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/16/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.07
      9/16/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.64
      9/16/2017    709   RR0123   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                        455.33
      9/16/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      9/16/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      9/16/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 205182 Q1248                   311.97
      9/16/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      9/16/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      9/16/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/16/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           392
      9/16/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.04
      9/16/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.07
      9/16/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.34
      9/16/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.98
      9/16/2017    709   SB0009   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          205
      9/16/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      9/16/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      9/16/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      9/16/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      9/16/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/16/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.94
      9/16/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.33
      9/16/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.66
      9/16/2017    709   SB0103   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                        123.66
      9/16/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      9/16/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      9/16/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 205151 Sub Lease               388.33
      9/16/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      9/16/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      9/16/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.91
      9/16/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.49
      9/16/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.06
      9/16/2017    709   VB0015   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         74.85
      9/16/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      9/16/2017    709   VB0015   Owner Operator   Repair Order                   CTMS - 205315 Parts                    50.58
      9/16/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 205180 Tractor Sub leas        242.03
      9/16/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
      9/16/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75

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      9/16/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      9/16/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      9/16/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/16/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      9/16/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          283.46
      9/16/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.16
      9/16/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          208.98
      9/16/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.27
      9/16/2017    709   VJ0006   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          57.74
      9/16/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.54
      9/16/2017    709   VJ0006   Owner Operator   Repair Order                   CTMS - 205314 Repair                   248.96
      9/16/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      9/16/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      9/16/2017    709   WB0062   Owner Operator   Miscellaneous                  replace check 967986                  2575.15
      9/16/2017    709   WB0062   Owner Operator   Miscellaneous                  void check 967986                    -2575.15
      9/16/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
      9/16/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      9/16/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      9/16/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      9/16/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                            320
      9/16/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                              20
      9/16/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           299.7
      9/16/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.95
      9/16/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           187.4
      9/16/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.13
      9/16/2017    709   WH0087   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          29.33
      9/16/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 60.47
      9/16/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 205182 Q1238 Lease              311.97
      9/16/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                            8
      9/16/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                            8
      9/16/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                            8
      9/16/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/16/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/16/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/16/2017    742   AS0089   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          99.63
      9/16/2017    742   AS0089   Owner Operator   Repair Order                   CTMS - 204868 repair                    28.59
      9/16/2017    742   AS0089   Owner Operator   Toll Charges                   TxTag 33912 Ship Channel Bridg              7
      9/16/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      9/16/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                           13
      9/16/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.22
      9/16/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          455.14
      9/16/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          366.99
      9/16/2017    742   BS0078   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         145.51
      9/16/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    60.55
      9/16/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
      9/16/2017    742   BS0078   Owner Operator   Toll Charges                   TxTag 33471 Ship Channel Bridg            3.5
      9/16/2017    742   BS0078   Owner Operator   Toll Charges                   TxTag 33471 Ship Channel Bridg              7
      9/16/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                       8.75
      9/16/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                           13
      9/16/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.05
      9/16/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          447.56
      9/16/2017    742   CA0089   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          15.65
      9/16/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                       70.32
      9/16/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL             8.75
      9/16/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                           8
      9/16/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/16/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.36
      9/16/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.09
      9/16/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                           370.4
      9/16/2017    742   CT0085   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          38.92
      9/16/2017    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2017 - Q13171                      18.62
      9/16/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD             42.19
      9/16/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te            2.5
      9/16/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171 FasTrak Antioch Bridge              25
      9/16/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171 FasTrak Carquinez Bridg             25
      9/16/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171 FasTrak Carquinez Bridg             25
      9/16/2017    742   CT0085   Owner Operator   Toll Charges                   Q13171 FasTrak Carquinez Bridg             25

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      9/16/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 205202 Sub Lease Q13171        352.68
      9/16/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/16/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      9/16/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.32
      9/16/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.15
      9/16/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.27
      9/16/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.01
      9/16/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.06
      9/16/2017    742   DA0067   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                        166.74
      9/16/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      9/16/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/16/2017    742   DA0067   Owner Operator   Toll Charges                   33847 FasTrak Carquinez Bridge            25
      9/16/2017    742   DA0067   Owner Operator   Toll Charges                   33847/701746 FasTrak Carquinez            25
      9/16/2017    742   DA0067   Owner Operator   Toll Charges                   33847/W701174 FasTrak Carquine            25
      9/16/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/16/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      9/16/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/16/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.95
      9/16/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.65
      9/16/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.67
      9/16/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      9/16/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/16/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/16/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/16/2017    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                    12.5
      9/16/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/16/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/16/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.44
      9/16/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.96
      9/16/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.39
      9/16/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.55
      9/16/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.46
      9/16/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.78
      9/16/2017    742   ED0041   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                        123.44
      9/16/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      9/16/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      9/16/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/16/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/16/2017    742   ED0041   Owner Operator   Toll Charges                   TxTag 32897 Ship Channel Bridg             7
      9/16/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/16/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      9/16/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.86
      9/16/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.65
      9/16/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.28
      9/16/2017    742   EN0016   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         89.91
      9/16/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      9/16/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      9/16/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/16/2017    742   EN0016   Owner Operator   Toll Charges                   32947 FasTrak Carquinez Bridge            25
      9/16/2017    742   EN0016   Owner Operator   Toll Charges                   32947 FasTrak Carquinez Bridge            25
      9/16/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      9/16/2017    742   EO0014   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         33.66
      9/16/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      9/16/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      9/16/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      9/16/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      9/16/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      9/16/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      9/16/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/16/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           154
      9/16/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      9/16/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      9/16/2017    742   IK0012   Owner Operator   Repair Order                   CTMS - 205215 repair                  250.36
      9/16/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      9/16/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/16/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/16/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          82.87

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      9/16/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          103.67
      9/16/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                       32.99
      9/16/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   117.45
      9/16/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                          554.49
      9/16/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      9/16/2017    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                     12.5
      9/16/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                           13
      9/16/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                           13
      9/16/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/16/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/16/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                              75
      9/16/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           19.65
      9/16/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      9/16/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      9/16/2017    742   MK0078   Owner Operator   Miscellaneous                  replace check 967969                  5811.81
      9/16/2017    742   MK0078   Owner Operator   Miscellaneous                  void check 967969                    -5811.81
      9/16/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                     20.17
      9/16/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      9/16/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                            8
      9/16/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/16/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                             300
      9/16/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/16/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/16/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      9/16/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            200
      9/16/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          208.74
      9/16/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            400
      9/16/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          112.89
      9/16/2017    742   MT0112   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                           9.38
      9/16/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 72.57
      9/16/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror            2.5
      9/16/2017    742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Antioch Bridge               25
      9/16/2017    742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Bay Bridge                   25
      9/16/2017    742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Bay Bridge                   25
      9/16/2017    742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Bay Bridge                   25
      9/16/2017    742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Bay Bridge                   25
      9/16/2017    742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Benicia                      25
      9/16/2017    742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Benicia                      20
      9/16/2017    742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Benicia                      25
      9/16/2017    742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Richmond                     25
      9/16/2017    742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak San Mateo                    25
      9/16/2017    742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak San Mateo                    25
      9/16/2017    742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak San Mateo                    25
      9/16/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 205176 Q1247 Sub Lease          311.97
      9/16/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75
      9/16/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                           13
      9/16/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/16/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/16/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          219.28
      9/16/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          230.52
      9/16/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.67
      9/16/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.11
      9/16/2017    742   NG0024   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          26.58
      9/16/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             100.79
      9/16/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            2.5
      9/16/2017    742   NG0024   Owner Operator   Toll Charges                   33252 FasTrak Benicia                      25
      9/16/2017    742   NG0024   Owner Operator   Toll Charges                   33252 FasTrak Carquinez Bridge             25
      9/16/2017    742   NG0024   Owner Operator   Toll Charges                   33252 FasTrak Carquinez Bridge             25
      9/16/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      9/16/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      9/16/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      9/16/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      9/16/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                           13
      9/16/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                           13
      9/16/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                        10.99
      9/16/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/16/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/16/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/16/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                             100

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      9/16/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/16/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/16/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/16/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/16/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/16/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/16/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.96
      9/16/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.54
      9/16/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.86
      9/16/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.44
      9/16/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.39
      9/16/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.16
      9/16/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.59
      9/16/2017    742   NK0013   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                        260.69
      9/16/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                       100
      9/16/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                       100
      9/16/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                       100
      9/16/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                       100
      9/16/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    28.9
      9/16/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      9/16/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      9/16/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      9/16/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      9/16/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      9/16/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      9/16/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      9/16/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      9/16/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
      9/16/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/16/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      9/16/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/16/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.34
      9/16/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.03
      9/16/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.63
      9/16/2017    742   PC0012   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         95.61
      9/16/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      9/16/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      9/16/2017    742   PC0012   Owner Operator   Toll Charges                   32969 FasTrak Carquinez Bridge            25
      9/16/2017    742   PC0012   Owner Operator   Toll Charges                   32969 FasTrak Carquinez Bridge            25
      9/16/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      9/16/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      9/16/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      9/16/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.91
      9/16/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.79
      9/16/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.81
      9/16/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.03
      9/16/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.59
      9/16/2017    742   RN0054   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                        117.74
      9/16/2017    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2017 - Q13157                     18.62
      9/16/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      9/16/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      9/16/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 205156 Tractor Lease           353.28
      9/16/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      9/16/2017    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      9/16/2017    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/16/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.76
      9/16/2017    742   RS0342   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                        256.21
      9/16/2017    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2017 - 33738                       100
      9/16/2017    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      9/16/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      9/16/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      9/16/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      9/16/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/16/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.89
      9/16/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/16/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      9/16/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5

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      9/16/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      9/16/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
      9/16/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/16/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.93
      9/16/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          476.22
      9/16/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                           457.6
      9/16/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
      9/16/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      9/16/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                           8.75
      9/16/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                           13
      9/16/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/16/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.48
      9/16/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          407.65
      9/16/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          539.33
      9/16/2017    843   EI0003   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                          88.34
      9/16/2017    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/16/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           74.22
      9/16/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                   2.5
      9/23/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL             8.75
      9/23/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                          13
      9/23/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/23/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                             400
      9/23/2017    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                            4
      9/23/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           251.2
      9/23/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD              7.79
      9/23/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te            2.5
      9/23/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL             8.75
      9/23/2017    709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 205401 HVUT Form 2290            137.5
      9/23/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                          13
      9/23/2017    709   AR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-30        -1592.19
      9/23/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          157.48
      9/23/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.88
      9/23/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                            287
      9/23/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           429.8
      9/23/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             35.15
      9/23/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 205366 Q13147 Lease             440.14
      9/23/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                     57.45
      9/23/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             8.75
      9/23/2017    709   AV0021   Owner Operator   Charge back by affiliate       CTMS - 205402 HVUT Form 2290            137.5
      9/23/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                           8
      9/23/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/23/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      9/23/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.05
      9/23/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           49.54
      9/23/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          123.74
      9/23/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          133.86
      9/23/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           98.97
      9/23/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                              99
      9/23/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           49.06
      9/23/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.58
      9/23/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             35.15
      9/23/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 205393 Q13169 Sublease          352.68
      9/23/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
      9/23/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
      9/23/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/23/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                        100
      9/23/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.11
      9/23/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
      9/23/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
      9/23/2017    709   CC0134   Owner Operator   Charge back by affiliate       CTMS - 205403 HVUT Form 2290            137.5
      9/23/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
      9/23/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.93
      9/23/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          402.77
      9/23/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.15
      9/23/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 205365 Q13168 sub lease         352.68
      9/23/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      9/23/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13

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      9/23/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      9/23/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/23/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/23/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          456.1
      9/23/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.14
      9/23/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      9/23/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      9/23/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/23/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      9/23/2017    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      9/23/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      9/23/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           278
      9/23/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.56
      9/23/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.15
      9/23/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.37
      9/23/2017    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      9/23/2017    709   CR0064   Owner Operator   Repair Order                   CTMS - 205313 Repair                  314.73
      9/23/2017    709   CR0064   Owner Operator   Repair Order                   CTMS - 205313 Repair                    500
      9/23/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      9/23/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      9/23/2017    709   CS0091   Owner Operator   Charge back by affiliate       CTMS - 205404 HVUT Form 2290           137.5
      9/23/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      9/23/2017    709   CS0091   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-16              31
      9/23/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.6
      9/23/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      9/23/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 205371 Q1201                   278.76
      9/23/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/23/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      9/23/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.43
      9/23/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.55
      9/23/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.41
      9/23/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.23
      9/23/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.88
      9/23/2017    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2017 - 33850                       0.07
      9/23/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      9/23/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      9/23/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      9/23/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.03
      9/23/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.51
      9/23/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.85
      9/23/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.77
      9/23/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         260.57
      9/23/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      9/23/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 205398 Sublease                338.99
      9/23/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      9/23/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/23/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      9/23/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/23/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/23/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.02
      9/23/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.18
      9/23/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      9/23/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      9/23/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      9/23/2017    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      9/23/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      9/23/2017    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-16              93
      9/23/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.13
      9/23/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      9/23/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                          8.75
      9/23/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      9/23/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          42.59
      9/23/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.25
      9/23/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.85
      9/23/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.89
      9/23/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99

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      9/23/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.74
      9/23/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          68.49
      9/23/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      9/23/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/23/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      9/23/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/23/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/23/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/23/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/23/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/23/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.79
      9/23/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.79
      9/23/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.81
      9/23/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      9/23/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      9/23/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      9/23/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/23/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      9/23/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/23/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/23/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                              60
      9/23/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      9/23/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/23/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.22
      9/23/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.36
      9/23/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.74
      9/23/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.28
      9/23/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      9/23/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      9/23/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      9/23/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      9/23/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      9/23/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.11
      9/23/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.03
      9/23/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                       100
      9/23/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      9/23/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      9/23/2017    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      9/23/2017    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      9/23/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.13
      9/23/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           361
      9/23/2017    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      9/23/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      9/23/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      9/23/2017    709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 205405 HVUT Form 2290           137.5
      9/23/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      9/23/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.81
      9/23/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.34
      9/23/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      9/23/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 205399 truck lease 3304        434.29
      9/23/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/23/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      9/23/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/23/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/23/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.35
      9/23/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      9/23/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      9/23/2017    709   GS0015   Owner Operator   Charge back by affiliate       CTMS - 205405 HVUT Form 2290           137.5
      9/23/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      9/23/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.77
      9/23/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      9/23/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 205369 Lease                   252.11
      9/23/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
      9/23/2017    709   GW0043   Owner Operator   Charge back by affiliate       CTMS - 205405 HVUT Form 2290           137.5
      9/23/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8

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      9/23/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/23/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.75
      9/23/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.48
      9/23/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.94
      9/23/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.14
      9/23/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                42.18
      9/23/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 205397 Tractor Q1235           364.78
      9/23/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 205449 Reimbursement           364.78
      9/23/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      9/23/2017    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 205406 HVUT Form 2290           137.5
      9/23/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      9/23/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/23/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.99
      9/23/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.14
      9/23/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      9/23/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 205365 Q13170                  352.68
      9/23/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      9/23/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      9/23/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/23/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/23/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.97
      9/23/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.77
      9/23/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.59
      9/23/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      9/23/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      9/23/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      9/23/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/23/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.38
      9/23/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.95
      9/23/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.33
      9/23/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.26
      9/23/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.39
      9/23/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      9/23/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      9/23/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/23/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/23/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/23/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.89
      9/23/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.07
      9/23/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      9/23/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      9/23/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/23/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      9/23/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      9/23/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      9/23/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      9/23/2017    709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 205407 HVUT Form 2290           137.5
      9/23/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      9/23/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      9/23/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/23/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/23/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/23/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/23/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.16
      9/23/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.26
      9/23/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.83
      9/23/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          451.7
      9/23/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      9/23/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.11
      9/23/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      9/23/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210 FDOT LEESBURG                     11.6
      9/23/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210 OTA Turner Turnpike East          17.6
      9/23/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210 OTA Will Rogers Turnpike          17.6
      9/23/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72

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      9/23/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 205396 Q13197 Lease            276.63
      9/23/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/23/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      9/23/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      9/23/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/23/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/23/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.61
      9/23/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.51
      9/23/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      9/23/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      9/23/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      9/23/2017    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      9/23/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/23/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      9/23/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/23/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/23/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.31
      9/23/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.42
      9/23/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.97
      9/23/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      9/23/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      9/23/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      9/23/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      9/23/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      9/23/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.39
      9/23/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      9/23/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      9/23/2017    709   JR0099   Owner Operator   Charge back by affiliate       CTMS - 205413 HVUT Form 2290           137.5
      9/23/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      9/23/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.57
      9/23/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      9/23/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 205338 Truck Lease             278.76
      9/23/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      9/23/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      9/23/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      9/23/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/23/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/23/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/23/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.48
      9/23/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.78
      9/23/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.74
      9/23/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      9/23/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      9/23/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/23/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      9/23/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/23/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/23/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          138.5
      9/23/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.13
      9/23/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.65
      9/23/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.02
      9/23/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.01
      9/23/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      9/23/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      9/23/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/23/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      9/23/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      9/23/2017    709   LL0160   Owner Operator   Charge back by affiliate       CTMS - 205413 HVUT Form 2290           137.5
      9/23/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      9/23/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      9/23/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 205453 Lease Q1111             252.11
      9/23/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      9/23/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      9/23/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/23/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/23/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.45

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      9/23/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.22
      9/23/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      9/23/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      9/23/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/23/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      9/23/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/23/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.08
      9/23/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.15
      9/23/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.77
      9/23/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      9/23/2017    709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      9/23/2017    709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      9/23/2017    709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.29
      9/23/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      9/23/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      9/23/2017    709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 205413 HVUT Form 2290           137.5
      9/23/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      9/23/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      9/23/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/23/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/23/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                           97.9
      9/23/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.35
      9/23/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.93
      9/23/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.14
      9/23/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      9/23/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      9/23/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 205176 Q1113 Lease             252.11
      9/23/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 205365 Q1113 Lease             252.11
      9/23/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/23/2017    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-16           93.75
      9/23/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.08
      9/23/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      9/23/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/23/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      9/23/2017    709   MM0093   Owner Operator   Charge back by affiliate       CTMS - 205398 Tractorrepairs 3         283.5
      9/23/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      9/23/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.18
      9/23/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.11
      9/23/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      9/23/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/23/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      9/23/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      9/23/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      9/23/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      9/23/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.96
      9/23/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      9/23/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      9/23/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      9/23/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      9/23/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      9/23/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      9/23/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/23/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/23/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/23/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/23/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.03
      9/23/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.26
      9/23/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      9/23/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      9/23/2017    709   NT9564   Owner Operator   Charge back by affiliate       CTMS - 205414 HVUT Form 2290           137.5
      9/23/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      9/23/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                       100
      9/23/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47

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      9/23/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 205365 Truck 73130 Leas        196.65
      9/23/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      9/23/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      9/23/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      9/23/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 205338 Down Payment lo         303.55
      9/23/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.19
      9/23/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/23/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/23/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/23/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.37
      9/23/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.88
      9/23/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      9/23/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      9/23/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      9/23/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/23/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/23/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.68
      9/23/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.81
      9/23/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      9/23/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      9/23/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      9/23/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/23/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      9/23/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/23/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.1
      9/23/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.11
      9/23/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.69
      9/23/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      9/23/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      9/23/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      9/23/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/23/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      9/23/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/23/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.89
      9/23/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
      9/23/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      9/23/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      9/23/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      9/23/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      9/23/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.25
      9/23/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.28
      9/23/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.27
      9/23/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      9/23/2017    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      9/23/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      9/23/2017    709   RP0082   Owner Operator   Charge back by affiliate       CTMS - 205414 HVUT Form 2290           137.5
      9/23/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      9/23/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.31
      9/23/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      9/23/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 205339 Q1202 Truck Leas        278.76
      9/23/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      9/23/2017    709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 205415 HVUT Form 2290           137.5
      9/23/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      9/23/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/23/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.85
      9/23/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.18
      9/23/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      9/23/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      9/23/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 205370 Q1248                   311.97
      9/23/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      9/23/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      9/23/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/23/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      9/23/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/23/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/23/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.78
      9/23/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.12
      9/23/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.46
      9/23/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.23
      9/23/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      9/23/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      9/23/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      9/23/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      9/23/2017    709   SB0103   Owner Operator   Charge back by affiliate       CTMS - 205415 HVUT Form 2290           137.5
      9/23/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/23/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.45
      9/23/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.12
      9/23/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.24
      9/23/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.76
      9/23/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      9/23/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      9/23/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 205333 Sub Lease               388.33
      9/23/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      9/23/2017    709   VB0015   Owner Operator   Charge back by affiliate       CTMS - 205415 HVUT Form 2290           137.5
      9/23/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      9/23/2017    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-30           -155
      9/23/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            395
      9/23/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.35
      9/23/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      9/23/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 205369 Tractor Sub leas        242.03
      9/23/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.32
      9/23/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/23/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      9/23/2017    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                     -191.9
      9/23/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      9/23/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/23/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/23/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.18
      9/23/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.22
      9/23/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          196.1
      9/23/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      9/23/2017    709   VJ0006   Owner Operator   T Chek Fee                     ExpressCheck Fee                         1.9
      9/23/2017    709   VJ0006   Owner Operator   T Chek Fee                     Towing 33961                             190
      9/23/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      9/23/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      9/23/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      9/23/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      9/23/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      9/23/2017    709   WH0087   Owner Operator   Charge back by affiliate       CTMS - 205416 HVUT Form 2290           137.5
      9/23/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      9/23/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.05
      9/23/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.74
      9/23/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      9/23/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 205371 Q1238 Lease             311.97
      9/23/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      9/23/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      9/23/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      9/23/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      9/23/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/23/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/23/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/23/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/23/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/23/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/23/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/23/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      9/23/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/23/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/23/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.14
      9/23/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.27
      9/23/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.55
      9/23/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.65
      9/23/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.83
      9/23/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.22
      9/23/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.68
      9/23/2017    742   AP0047   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                         75.55
      9/23/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      9/23/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.33
      9/23/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      9/23/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      9/23/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      9/23/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/23/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/23/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      9/23/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.02
      9/23/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          426.1
      9/23/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      9/23/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/23/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      9/23/2017    742   CA0089   Owner Operator   Charge back by affiliate       CTMS - 205433 trailer wash               -50
      9/23/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      9/23/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.79
      9/23/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.76
      9/23/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.06
      9/23/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      9/23/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      9/23/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.41
      9/23/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          380.9
      9/23/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.75
      9/23/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      9/23/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      9/23/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 205394 Sub Lease Q13171        341.01
      9/23/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/23/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      9/23/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.94
      9/23/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         595.01
      9/23/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           16.8
      9/23/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      9/23/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/23/2017    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      9/23/2017    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/23/2017    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/23/2017    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.07
      9/23/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/23/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      9/23/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/23/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.53
      9/23/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.48
      9/23/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.68
      9/23/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      9/23/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/23/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/23/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/23/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.56
      9/23/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.45
      9/23/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          421.8
      9/23/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/23/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      9/23/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5

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      9/23/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                8.75
      9/23/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                          13
      9/23/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD                54.68
      9/23/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro            2.5
      9/23/2017    742   FS0011   Owner Operator   Repair Order                   CTMS - 205464 repair                     115
      9/23/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL              8.75
      9/23/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                           13
      9/23/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/23/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          322.73
      9/23/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.49
      9/23/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD              35.15
      9/23/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter            2.5
      9/23/2017    742   KJ0045   Owner Operator   *Arrears Collection W/O        WO:Jul17 Fuel Tax                       -0.01
      9/23/2017    742   KJ0045   Owner Operator   FUEL TAX                       Jul17 Fuel Tax                           0.01
      9/23/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      9/23/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                           13
      9/23/2017    742   MH0117   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-30          -772.8
      9/23/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/23/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                              75
      9/23/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      9/23/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          122.96
      9/23/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           62.49
      9/23/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                     20.17
      9/23/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      9/23/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                            8
      9/23/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/23/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            250
      9/23/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            250
      9/23/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            150
      9/23/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            200
      9/23/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 72.54
      9/23/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror            2.5
      9/23/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 205365 Q1247 Sub Lease          311.97
      9/23/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75
      9/23/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                           13
      9/23/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.38
      9/23/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.87
      9/23/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          211.46
      9/23/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          174.37
      9/23/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          548.86
      9/23/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             100.76
      9/23/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            2.5
      9/23/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      9/23/2017    742   NK0013   Owner Operator   Broker Pre Pass                34038 PrePass Device                     12.5
      9/23/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                           13
      9/23/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                         2.01
      9/23/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                           13
      9/23/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/23/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/23/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/23/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/23/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/23/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/23/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      9/23/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          116.98
      9/23/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          319.66
      9/23/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.17
      9/23/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                           308.5
      9/23/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          161.02
      9/23/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                        100
      9/23/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                     28.9
      9/23/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      9/23/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                    50
      9/23/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      9/23/2017    742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                    -1798.67
      9/23/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/23/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      9/23/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.94

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      9/23/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                       32.99
      9/23/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.35
      9/23/2017    742   PC0012   Owner Operator   T Chek Fee                     ExpressCheck Fee                        17.81
      9/23/2017    742   PC0012   Owner Operator   T Chek Fee                     Tractor Repair 32969                   662.65
      9/23/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      9/23/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             8.75
      9/23/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                          13
      9/23/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          382.33
      9/23/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.22
      9/23/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          138.51
      9/23/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          278.74
      9/23/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             35.15
      9/23/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
      9/23/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 205338 Tractor Lease            353.28
      9/23/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       8.75
      9/23/2017    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13
      9/23/2017    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/23/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          498.81
      9/23/2017    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2017 - 33738                        100
      9/23/2017    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                      143.18
      9/23/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism               2.5
      9/23/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      9/23/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
      9/23/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/23/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          262.89
      9/23/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.58
      9/23/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
      9/23/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      9/23/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
      9/23/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/23/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.75
      9/23/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          487.69
      9/23/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          426.08
      9/23/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
      9/23/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      9/23/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                           8.75
      9/23/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                           13
      9/23/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/23/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          440.47
      9/23/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.68
      9/23/2017    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/23/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           74.22
      9/23/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                   2.5
      9/30/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                          13
      9/30/2017    709   AN0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-7        -2153.99
      9/30/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/30/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.49
      9/30/2017    709   AN0007   Owner Operator   T Chek Fee                     ExpressCheck Fee                          1.5
      9/30/2017    709   AN0007   Owner Operator   T Chek Fee                     Tractor Repair 21157A                  150.13
      9/30/2017    709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 205602 HVUT Form 2290            137.5
      9/30/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                          13
      9/30/2017    709   AR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-23          1592.19
      9/30/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           198.1
      9/30/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.48
      9/30/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          475.75
      9/30/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 205547 Q13147 Lease             440.14
      9/30/2017    709   AV0021   Owner Operator   Charge back by affiliate       CTMS - 205602 HVUT Form 2290            137.5
      9/30/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                           8
      9/30/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/30/2017    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/30/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                              99
      9/30/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           50.03
      9/30/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.02
      9/30/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          123.79
      9/30/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           40.01
      9/30/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            150
      9/30/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          139.86
      9/30/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 205604 Q13169 Sublease          352.68
      9/30/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13

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      9/30/2017    709   BM0030   Owner Operator   ESCROW                      Weekly Escrow                            50
      9/30/2017    709   BM0030   Owner Operator   IRP License Deduction       LCIL:2017 - 34023                       100
      9/30/2017    709   CC0134   Owner Operator   Charge back by affiliate    CTMS - 205602 HVUT Form 2290           10.6
      9/30/2017    709   CC0134   Owner Operator   Communication Charge        PNet Hware Q13168                         8
      9/30/2017    709   CM0119   Owner Operator   Communication Charge        PNet Hware 32920                         13
      9/30/2017    709   CM0119   Owner Operator   ESCROW                      Escrow Withdrawal                     -3000
      9/30/2017    709   CM0119   Owner Operator   ESCROW                      Weekly Escrow                           300
      9/30/2017    709   CM0119   Owner Operator   Fuel Card Advances          Cash Advance                            200
      9/30/2017    709   CM0119   Owner Operator   Fuel Card Advances          Cash Advance Fee                          2
      9/30/2017    709   CM0119   Owner Operator   Fuel Purchase               Fuel Purchase                        457.95
      9/30/2017    709   CM0119   Owner Operator   Fuel Purchase               Fuel Purchase                        457.49
      9/30/2017    709   CM0119   Owner Operator   IRP License Deduction       LCIL:2017 - 32920                     32.99
      9/30/2017    709   CM0119   Owner Operator   Tractor Charge              14620 - 32920                        507.91
      9/30/2017    709   CR0064   Owner Operator   Communication Charge        PNet Hware 32864                         13
      9/30/2017    709   cr0064   Owner Operator   Driver Excellence Program   Clean Insp CA-1546401593                -50
      9/30/2017    709   cr0064   Owner Operator   Fuel Purchase               Fuel Purchase                         304.3
      9/30/2017    709   cr0064   Owner Operator   Fuel Purchase               Fuel Purchase                        166.45
      9/30/2017    709   cr0064   Owner Operator   Fuel Purchase               Fuel Purchase                        298.35
      9/30/2017    709   CR0064   Owner Operator   Tractor Charge              14267 - 32864                        245.63
      9/30/2017    709   CS0091   Owner Operator   Charge back by affiliate    CTMS - 205602 HVUT Form 2290          137.5
      9/30/2017    709   CS0091   Owner Operator   Communication Charge        PNet Hware Q1201                          8
      9/30/2017    709   CS0091   Owner Operator   Truck Payment               CTMS - 205553 Q1201                  278.76
      9/30/2017    709   DL0029   Owner Operator   Communication Charge        PNet Hware 33850                          8
      9/30/2017    709   DL0029   Owner Operator   Driver Excellence Program   Clean Insp CA-1361001270                -50
      9/30/2017    709   DL0029   Owner Operator   Fuel Card Advances          Cash Advance                            300
      9/30/2017    709   DL0029   Owner Operator   Fuel Card Advances          Cash Advance Fee                          3
      9/30/2017    709   DL0029   Owner Operator   Fuel Purchase               Fuel Purchase                        164.48
      9/30/2017    709   DL0029   Owner Operator   Fuel Purchase               Fuel Purchase                        197.83
      9/30/2017    709   DL0029   Owner Operator   Fuel Purchase               Fuel Purchase                        407.88
      9/30/2017    709   DL0029   Owner Operator   Fuel Purchase               Fuel Purchase                        418.56
      9/30/2017    709   DL0029   Owner Operator   Fuel Purchase               Fuel Purchase                        229.43
      9/30/2017    709   DL0029   Owner Operator   Fuel Purchase               Fuel Purchase                        197.96
      9/30/2017    709   DL0029   Owner Operator   Tire Fee                    Tire Fee: 2055659                        16
      9/30/2017    709   DL0029   Owner Operator   Tire Purchase               PO: 709-00357593 - PO System         379.95
      9/30/2017    709   DL0107   Owner Operator   Communication Charge        PNet Hware Q1245                         13
      9/30/2017    709   DL0107   Owner Operator   Fuel Purchase               Fuel Purchase                        540.15
      9/30/2017    709   DL0107   Owner Operator   Fuel Purchase               Fuel Purchase                        480.94
      9/30/2017    709   DL0107   Owner Operator   Loan Repayment              Loan # 00003 - Loan Repayment        260.57
      9/30/2017    709   DL0107   Owner Operator   Truck Payment               CTMS - 205609 Sublease               338.99
      9/30/2017    709   DS0049   Owner Operator   Communication Charge        PNet Hware 32915                         13
      9/30/2017    709   DS0049   Owner Operator   Fuel Purchase               Fuel Purchase                        158.42
      9/30/2017    709   DS0049   Owner Operator   Fuel Purchase               Fuel Purchase                        613.29
      9/30/2017    709   DS0049   Owner Operator   IRP License Deduction       LCIL:2017 - 32915                     32.99
      9/30/2017    709   DS0049   Owner Operator   Tractor Charge              15738 - 32915                        512.35
      9/30/2017    709   DS0225   Owner Operator   Driver Excellence Program   Clean Insp CA-AXXXXXXXX                -50
      9/30/2017    709   DS0225   Owner Operator   Fuel Purchase               Fuel Purchase                        518.66
      9/30/2017    709   DW0138   Owner Operator   Communication Charge        PNet Hware 33443                         13
      9/30/2017    709   DW0138   Owner Operator   Fuel Purchase               Fuel Purchase                         155.2
      9/30/2017    709   DW0138   Owner Operator   Fuel Purchase               Fuel Purchase                        259.92
      9/30/2017    709   DW0138   Owner Operator   Fuel Purchase               Fuel Purchase                        295.21
      9/30/2017    709   DW0138   Owner Operator   Fuel Purchase               Fuel Purchase                         196.1
      9/30/2017    709   DW0138   Owner Operator   IRP License Deduction       LCIL:2017 - 33443                     32.99
      9/30/2017    709   DW0138   Owner Operator   Tractor Charge              55584 - 33443                        463.27
      9/30/2017    709   EA0003   Owner Operator   Communication Charge        PNet Hware 33051                         13
      9/30/2017    709   EA0003   Owner Operator   Driver Excellence Program   Clean Insp CA-1720900381                -50
      9/30/2017    709   EA0003   Owner Operator   ESCROW                      Weekly Escrow                           100
      9/30/2017    709   EA0003   Owner Operator   Fuel Card Advances          Cash Advance                            100
      9/30/2017    709   EA0003   Owner Operator   Fuel Card Advances          Cash Advance                            100
      9/30/2017    709   EA0003   Owner Operator   Fuel Card Advances          Cash Advance Fee                          1
      9/30/2017    709   EA0003   Owner Operator   Fuel Card Advances          Cash Advance Fee                          1
      9/30/2017    709   EA0003   Owner Operator   Fuel Purchase               Fuel Purchase                         20.56
      9/30/2017    709   EA0003   Owner Operator   Fuel Purchase               Fuel Purchase                        433.87
      9/30/2017    709   EA0003   Owner Operator   Fuel Purchase               Fuel Purchase                        160.01
      9/30/2017    709   EA0003   Owner Operator   IRP License Deduction       LCIL:2017 - 33051                     32.99
      9/30/2017    709   EA0003   Owner Operator   Repair Order                CTMS - 205578 Repair                 162.47
      9/30/2017    709   EA0003   Owner Operator   Tractor Charge              16439 - 33051                        555.56
      9/30/2017    709   EE0011   Owner Operator   Communication Charge        PNet Hware 32910                         13
      9/30/2017    709   EE0011   Owner Operator   Fuel Card Advances          Cash Advance                             60
      9/30/2017    709   EE0011   Owner Operator   Fuel Card Advances          Cash Advance                            300
      9/30/2017    709   EE0011   Owner Operator   Fuel Card Advances          Cash Advance Fee                          3
      9/30/2017    709   EE0011   Owner Operator   Fuel Card Advances          Cash Advance Fee                        0.6
      9/30/2017    709   EE0011   Owner Operator   Fuel Purchase               Fuel Purchase                        139.64
      9/30/2017    709   EE0011   Owner Operator   Fuel Purchase               Fuel Purchase                        216.85

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      9/30/2017    709   EE0011   Owner Operator   Fuel Purchase               Fuel Purchase                         266.11
      9/30/2017    709   EE0011   Owner Operator   Fuel Purchase               Fuel Purchase                         498.17
      9/30/2017    709   EE0011   Owner Operator   IRP License Deduction       LCIL:2017 - 32910                      32.99
      9/30/2017    709   EE0011   Owner Operator   Tractor Charge              14619 - 32910                         505.27
      9/30/2017    709   EG0062   Owner Operator   Broker Pre Pass             DriveWyze Ded TRK 33828                 9.84
      9/30/2017    709   EG0062   Owner Operator   Communication Charge        PNet Hware 33828                           8
      9/30/2017    709   EG0062   Owner Operator   Driver Excellence Program   Clean Insp CA-AXXXXXXXX                 -50
      9/30/2017    709   EG0062   Owner Operator   Fuel Purchase               Fuel Purchase                          65.38
      9/30/2017    709   EG0062   Owner Operator   Fuel Purchase               Fuel Purchase                         427.47
      9/30/2017    709   EG0062   Owner Operator   Fuel Purchase               Fuel Purchase                         554.14
      9/30/2017    709   EG0062   Owner Operator   IRP License Deduction       LCIL:2017 - 33828                       100
      9/30/2017    709   EO0014   Owner Operator   Broker Pre Pass             DriveWyze Ded TRK 33846                 9.84
      9/30/2017    709   EO0014   Owner Operator   Communication Charge        PNet Hware 33846                          13
      9/30/2017    709   EO0014   Owner Operator   Driver Excellence Program   Clean Insp CA-1470400816                 -50
      9/30/2017    709   EO0014   Owner Operator   Fuel Purchase               Fuel Purchase                           307
      9/30/2017    709   EO0014   Owner Operator   Fuel Purchase               Fuel Purchase                         269.85
      9/30/2017    709   EO0014   Owner Operator   Fuel Purchase               Fuel Purchase                         195.64
      9/30/2017    709   EO0014   Owner Operator   Fuel Purchase               Fuel Purchase                         280.97
      9/30/2017    709   FS0039   Owner Operator   Charge back by affiliate    CTMS - 205602 HVUT Form 2290           137.5
      9/30/2017    709   FS0039   Owner Operator   Communication Charge        PNet Hware 33040                           8
      9/30/2017    709   FS0039   Owner Operator   Fuel Purchase               Fuel Purchase                         314.64
      9/30/2017    709   FS0039   Owner Operator   Fuel Purchase               Fuel Purchase                           261
      9/30/2017    709   FS0039   Owner Operator   Tire Fee                    Tire Fee: 2055768                          8
      9/30/2017    709   FS0039   Owner Operator   Tire Purchase               PO: 709-00358162 - PO System          205.39
      9/30/2017    709   FS0039   Owner Operator   Truck Payment               CTMS - 205610 truck lease 3304        434.29
      9/30/2017    709   FV0001   Owner Operator   Communication Charge        PNet Hware 21521B                         13
      9/30/2017    709   FV0001   Owner Operator   Fuel Purchase               Fuel Purchase                         410.82
      9/30/2017    709   GS0015   Owner Operator   Charge back by affiliate    CTMS - 205602 HVUT Form 2290           137.5
      9/30/2017    709   GS0015   Owner Operator   Communication Charge        PNet Hware Q1110                          13
      9/30/2017    709   GS0015   Owner Operator   Fuel Purchase               Fuel Purchase                         319.13
      9/30/2017    709   GS0015   Owner Operator   Truck Payment               CTMS - 205551 Lease                   252.11
      9/30/2017    709   GW0043   Owner Operator   Broker Pre Pass             DriveWyze Ded TRK q1263                19.68
      9/30/2017    709   GW0043   Owner Operator   Charge back by affiliate    CTMS - 205602 HVUT Form 2290           137.5
      9/30/2017    709   GW0043   Owner Operator   Communication Charge        PNet Hware Q1263                           8
      9/30/2017    709   GW0043   Owner Operator   ESCROW                      Weekly Escrow                             50
      9/30/2017    709   GW0043   Owner Operator   Fuel Purchase               Fuel Purchase                         153.72
      9/30/2017    709   GW0043   Owner Operator   Fuel Purchase               Fuel Purchase                         365.26
      9/30/2017    709   GW0043   Owner Operator   Fuel Purchase               Fuel Purchase                         343.73
      9/30/2017    709   GW0043   Owner Operator   Truck Payment               CTMS - 205740 Tractor payments       -422.75
      9/30/2017    709   HC0023   Owner Operator   Charge back by affiliate    CTMS - 205602 HVUT Form 2290           137.5
      9/30/2017    709   HC0023   Owner Operator   Communication Charge        PNet Hware Q13170                          8
      9/30/2017    709   HC0023   Owner Operator   Driver Excellence Program   Clean Insp CA-AXXXXXXXX                 -50
      9/30/2017    709   HC0023   Owner Operator   ESCROW                      Weekly Escrow                             50
      9/30/2017    709   HC0023   Owner Operator   Fuel Purchase               Fuel Purchase                         247.23
      9/30/2017    709   HC0023   Owner Operator   Fuel Purchase               Fuel Purchase                         369.43
      9/30/2017    709   HC0023   Owner Operator   Fuel Purchase               Fuel Purchase                         188.47
      9/30/2017    709   HC0023   Owner Operator   Repair Order                CTMS - 205533 Repair                  121.08
      9/30/2017    709   HC0023   Owner Operator   Truck Payment               CTMS - 205547 Q13170                  352.68
      9/30/2017    709   HG0007   Owner Operator   Communication Charge        PNet Hware 33180                          13
      9/30/2017    709   HG0007   Owner Operator   ESCROW                      Weekly Escrow                             50
      9/30/2017    709   HG0007   Owner Operator   Fuel Card Advances          Cash Advance                            200
      9/30/2017    709   HG0007   Owner Operator   Fuel Card Advances          Cash Advance Fee                           2
      9/30/2017    709   HG0007   Owner Operator   Fuel Purchase               Fuel Purchase                         397.61
      9/30/2017    709   HG0027   Owner Operator   Communication Charge        PNet Hware 33418                          13
      9/30/2017    709   HG0027   Owner Operator   ESCROW                      Weekly Escrow                           100
      9/30/2017    709   HG0027   Owner Operator   Fuel Purchase               Fuel Purchase                          566.1
      9/30/2017    709   IR0002   Owner Operator   Driver Excellence Program   Clean Insp CA-1384800888                 -50
      9/30/2017    709   IR0002   Owner Operator   Fuel Purchase               Fuel Purchase                         320.72
      9/30/2017    709   IR0002   Owner Operator   Fuel Purchase               Fuel Purchase                         287.08
      9/30/2017    709   IR0002   Owner Operator   IRP License Deduction       LCIL:2017 - 32901                      32.99
      9/30/2017    709   IR0002   Owner Operator   Tractor Charge              14461 - 32901                         521.95
      9/30/2017    709   JC0292   Owner Operator   Charge back by affiliate    CTMS - 205603 HVUT Form 2290           137.5
      9/30/2017    709   JC0292   Owner Operator   Communication Charge        PNet Hware Q13197                         13
      9/30/2017    709   JC0292   Owner Operator   Driver Excellence Program   Clean Insp 10128481                      -50
      9/30/2017    709   JC0292   Owner Operator   ESCROW                      Weekly Escrow                           400
      9/30/2017    709   JC0292   Owner Operator   Fuel Purchase               Fuel Purchase                         335.21
      9/30/2017    709   JC0292   Owner Operator   Fuel Purchase               Fuel Purchase                         394.25
      9/30/2017    709   JC0292   Owner Operator   Fuel Purchase               Fuel Purchase                         377.05
      9/30/2017    709   JC0292   Owner Operator   Fuel Purchase               Fuel Purchase                         300.66
      9/30/2017    709   JC0292   Owner Operator   IRP License Deduction       LCIL:2017 - Q1210                      32.99
      9/30/2017    709   JC0292   Owner Operator   Tractor Charge              51362 - Q1210                         458.72
      9/30/2017    709   JC0292   Owner Operator   Truck Payment               CTMS - 205607 Q13197 Lease            276.63
      9/30/2017    709   JG0017   Owner Operator   Communication Charge        PNet Hware 32908                          13

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      9/30/2017    709   JG0017   Owner Operator   ESCROW                      Weekly Escrow                         500
      9/30/2017    709   JG0017   Owner Operator   Fuel Card Advances          Cash Advance                          300
      9/30/2017    709   JG0017   Owner Operator   Fuel Card Advances          Cash Advance Fee                         3
      9/30/2017    709   JG0017   Owner Operator   Fuel Purchase               Fuel Purchase                       271.92
      9/30/2017    709   JG0017   Owner Operator   Fuel Purchase               Fuel Purchase                       339.55
      9/30/2017    709   JG0017   Owner Operator   IRP License Deduction       LCIL:2017 - 32908                    32.99
      9/30/2017    709   JG0017   Owner Operator   Tractor Charge              14298 - 32908                        504.6
      9/30/2017    709   JG0072   Owner Operator   Communication Charge        PNet Hware 32909                        13
      9/30/2017    709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance                          100
      9/30/2017    709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance                          300
      9/30/2017    709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance                          100
      9/30/2017    709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance Fee                         1
      9/30/2017    709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance Fee                         3
      9/30/2017    709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance Fee                         1
      9/30/2017    709   JG0072   Owner Operator   Fuel Purchase               Fuel Purchase                       177.93
      9/30/2017    709   JG0072   Owner Operator   Fuel Purchase               Fuel Purchase                        311.2
      9/30/2017    709   JG0072   Owner Operator   Fuel Purchase               Fuel Purchase                       340.64
      9/30/2017    709   JG0072   Owner Operator   IRP License Deduction       LCIL:2017 - 32909                    32.99
      9/30/2017    709   JG0072   Owner Operator   Tractor Charge              14534 - 32909                       513.26
      9/30/2017    709   JQ0015   Owner Operator   Communication Charge        PNet Hware 33438                        13
      9/30/2017    709   JQ0015   Owner Operator   Fuel Card Advances          Cash Advance                          100
      9/30/2017    709   JQ0015   Owner Operator   Fuel Card Advances          Cash Advance Fee                         1
      9/30/2017    709   JQ0015   Owner Operator   Fuel Purchase               Fuel Purchase                       153.47
      9/30/2017    709   JR0099   Owner Operator   Charge back by affiliate    CTMS - 205603 HVUT Form 2290         137.5
      9/30/2017    709   JR0099   Owner Operator   Communication Charge        PNet Hware Q1203                        13
      9/30/2017    709   JR0099   Owner Operator   Fuel Purchase               Fuel Purchase                        74.35
      9/30/2017    709   JR0099   Owner Operator   Fuel Purchase               Fuel Purchase                       388.33
      9/30/2017    709   JR0099   Owner Operator   Truck Payment               CTMS - 205524 Truck Lease           278.76
      9/30/2017    709   JS0265   Owner Operator   Communication Charge        PNet Hware 33325                        13
      9/30/2017    709   JS0265   Owner Operator   ESCROW                      Weekly Escrow                         100
      9/30/2017    709   JS0265   Owner Operator   Fuel Card Advances          Cash Advance                          200
      9/30/2017    709   JS0265   Owner Operator   Fuel Card Advances          Cash Advance                          200
      9/30/2017    709   JS0265   Owner Operator   Fuel Card Advances          Cash Advance Fee                         2
      9/30/2017    709   JS0265   Owner Operator   Fuel Card Advances          Cash Advance Fee                         2
      9/30/2017    709   JS0265   Owner Operator   Fuel Purchase               Fuel Purchase                       416.56
      9/30/2017    709   JS0265   Owner Operator   Fuel Purchase               Fuel Purchase                       379.13
      9/30/2017    709   KP0004   Owner Operator   Communication Charge        PNet Hware 32914                        13
      9/30/2017    709   KP0004   Owner Operator   ESCROW                      Weekly Escrow                         250
      9/30/2017    709   KP0004   Owner Operator   Fuel Card Advances          Cash Advance                            50
      9/30/2017    709   KP0004   Owner Operator   Fuel Card Advances          Cash Advance                          100
      9/30/2017    709   KP0004   Owner Operator   Fuel Card Advances          Cash Advance Fee                         1
      9/30/2017    709   KP0004   Owner Operator   Fuel Card Advances          Cash Advance Fee                       0.5
      9/30/2017    709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                       300.02
      9/30/2017    709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                         54.5
      9/30/2017    709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                       245.11
      9/30/2017    709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                       165.96
      9/30/2017    709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                         435
      9/30/2017    709   KP0004   Owner Operator   IRP License Deduction       LCIL:2017 - 32914                    32.99
      9/30/2017    709   KP0004   Owner Operator   Tire Fee                    Tire Fee: 2056803                       16
      9/30/2017    709   KP0004   Owner Operator   Tire Purchase               PO: 709-00358500 - PO System        344.07
      9/30/2017    709   KP0004   Owner Operator   Tractor Charge              14457 - 32914                       519.59
      9/30/2017    709   LL0160   Owner Operator   Charge back by affiliate    CTMS - 205603 HVUT Form 2290         137.5
      9/30/2017    709   LL0160   Owner Operator   Communication Charge        PNet Hware Q1111                         8
      9/30/2017    709   LL0160   Owner Operator   Truck Payment               CTMS - 205678 Lease Q1111           252.11
      9/30/2017    709   LS0023   Owner Operator   Communication Charge        PNet Hware 33655                        13
      9/30/2017    709   LS0023   Owner Operator   Driver Excellence Program   Clean Insp CA-AXXXXXXXX               -50
      9/30/2017    709   LS0023   Owner Operator   Fuel Purchase               Fuel Purchase                        250.6
      9/30/2017    709   LS0023   Owner Operator   Fuel Purchase               Fuel Purchase                        472.4
      9/30/2017    709   LS0023   Owner Operator   Tire Fee                    Tire Fee: 2055803                        8
      9/30/2017    709   LS0023   Owner Operator   Tire Purchase               PO: 709-00358161 - PO System        278.65
      9/30/2017    709   MA0092   Owner Operator   Communication Charge        PNet Hware 34005                         8
      9/30/2017    709   MA0092   Owner Operator   ESCROW                      Weekly Escrow                           50
      9/30/2017    709   MA0092   Owner Operator   Fuel Purchase               Fuel Purchase                       350.58
      9/30/2017    709   MA0092   Owner Operator   Fuel Purchase               Fuel Purchase                        11.95
      9/30/2017    709   MA0092   Owner Operator   Fuel Purchase               Fuel Purchase                       337.59
      9/30/2017    709   MB0048   Owner Operator   Communication Charge        PNet Hware 21727b                       13
      9/30/2017    709   MB0048   Owner Operator   Driver Excellence Program   Clean Insp NV-7263005145               -50
      9/30/2017    709   ME0053   Owner Operator   Charge back by affiliate    CTMS - 205603 HVUT Form 2290         137.5
      9/30/2017    709   ME0053   Owner Operator   Communication Charge        PNet Hware Q1113                         8
      9/30/2017    709   ME0053   Owner Operator   Driver Excellence Program   Clean Insp CA-1517101901               -50
      9/30/2017    709   ME0053   Owner Operator   Driver Excellence Program   Clean Insp NV-7033013237               -50
      9/30/2017    709   ME0053   Owner Operator   ESCROW                      Weekly Escrow                           50
      9/30/2017    709   ME0053   Owner Operator   Fuel Purchase               Fuel Purchase                       316.84

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      9/30/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.98
      9/30/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 205546 Q1113 Lease             252.11
      9/30/2017    709   MG0067   Owner Operator   Driver Excellence Program      Clean Insp CA-AXXXXXXXX                 -50
      9/30/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           240
      9/30/2017    709   MM0093   Owner Operator   Charge back by affiliate       CTMS - 205608 Tractorrepairs 3         283.5
      9/30/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      9/30/2017    709   MM0093   Owner Operator   Driver Excellence Program      Clean Insp .CA-1517101905                -50
      9/30/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/30/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/30/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.82
      9/30/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.58
      9/30/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.48
      9/30/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.65
      9/30/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      9/30/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      9/30/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      9/30/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            150
      9/30/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      9/30/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.25
      9/30/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      9/30/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      9/30/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      9/30/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      9/30/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      9/30/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         151.27
      9/30/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/30/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/30/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/30/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/30/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/30/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.09
      9/30/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.48
      9/30/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.66
      9/30/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.51
      9/30/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.15
      9/30/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.6
      9/30/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.55
      9/30/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.76
      9/30/2017    709   NB0029   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.85
      9/30/2017    709   NB0029   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.85
      9/30/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/30/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      9/30/2017    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      9/30/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      9/30/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/30/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/30/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/30/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/30/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.97
      9/30/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.14
      9/30/2017    709   NT9564   Owner Operator   Charge back by affiliate       CTMS - 205603 HVUT Form 2290           137.5
      9/30/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      9/30/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                       100
      9/30/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 205546 Truck 73130 Leas        196.65
      9/30/2017    709   RC0030   Owner Operator   Driver Excellence Program      Clean Insp CA-1471901440                 -50
      9/30/2017    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.92
      9/30/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 205524 Down Payment lo         303.55
      9/30/2017    709   RC0089   Owner Operator   Driver Excellence Program      Clean Insp CA-1773300919                 -50
      9/30/2017    709   RC0089   Owner Operator   Driver Excellence Program      Clean Insp CA-AXXXXXXXX                 -50
      9/30/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/30/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/30/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.21
      9/30/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.8
      9/30/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      9/30/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      9/30/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/30/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.32
      9/30/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      9/30/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      9/30/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      9/30/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/30/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/30/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.73

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      9/30/2017    709   RL0062   Owner Operator   Fuel Purchase               Fuel Purchase                         291.36
      9/30/2017    709   RL0062   Owner Operator   Fuel Purchase               Fuel Purchase                         410.17
      9/30/2017    709   RL0062   Owner Operator   Fuel Purchase               Fuel Purchase                         169.93
      9/30/2017    709   RL0062   Owner Operator   IRP License Deduction       LCIL:2017 - 32912                      32.99
      9/30/2017    709   RL0062   Owner Operator   Tractor Charge              14460 - 32912                         512.16
      9/30/2017    709   RL0180   Owner Operator   Communication Charge        PNet Hware 34012                           8
      9/30/2017    709   RL0180   Owner Operator   ESCROW                      Weekly Escrow                             50
      9/30/2017    709   RL0180   Owner Operator   Fuel Purchase               Fuel Purchase                         200.69
      9/30/2017    709   RL0180   Owner Operator   Fuel Purchase               Fuel Purchase                         455.47
      9/30/2017    709   RL0180   Owner Operator   IRP License Deduction       LCIL:2017 - 34012                       100
      9/30/2017    709   RM0026   Owner Operator   Communication Charge        PNet Hware 33664                          13
      9/30/2017    709   RM0026   Owner Operator   Fuel Purchase               Fuel Purchase                         297.39
      9/30/2017    709   RM0026   Owner Operator   Fuel Purchase               Fuel Purchase                         287.53
      9/30/2017    709   RM0026   Owner Operator   Tire Fee                    Tire Fee: 2055780                          8
      9/30/2017    709   RM0026   Owner Operator   Tire Purchase               PO: 709-00358166 - PO System          310.67
      9/30/2017    709   RP0082   Owner Operator   Charge back by affiliate    CTMS - 205603 HVUT Form 2290           137.5
      9/30/2017    709   RP0082   Owner Operator   Communication Charge        PNet Hware Q1202                          13
      9/30/2017    709   RP0082   Owner Operator   Fuel Purchase               Fuel Purchase                         402.15
      9/30/2017    709   RP0082   Owner Operator   Truck Payment               CTMS - 205524 Q1202 Truck Leas        278.76
      9/30/2017    709   RR0123   Owner Operator   Charge back by affiliate    CTMS - 205603 HVUT Form 2290           137.5
      9/30/2017    709   RR0123   Owner Operator   Communication Charge        PNet Hware Q1248                           8
      9/30/2017    709   RR0123   Owner Operator   Fuel Purchase               Fuel Purchase                         488.06
      9/30/2017    709   RR0123   Owner Operator   Fuel Purchase               Fuel Purchase                         331.89
      9/30/2017    709   RR0123   Owner Operator   Fuel Purchase               Fuel Purchase                         344.56
      9/30/2017    709   RR0123   Owner Operator   Fuel Purchase               Fuel Purchase                         476.31
      9/30/2017    709   RR0123   Owner Operator   Truck Payment               CTMS - 205553 Q1248                   311.97
      9/30/2017    709   SB0009   Owner Operator   Communication Charge        PNet Hware 33236                          13
      9/30/2017    709   SB0009   Owner Operator   ESCROW                      Weekly Escrow                           200
      9/30/2017    709   SB0009   Owner Operator   Fuel Card Advances          Cash Advance                            100
      9/30/2017    709   SB0009   Owner Operator   Fuel Card Advances          Cash Advance Fee                           1
      9/30/2017    709   SB0009   Owner Operator   Fuel Purchase               Fuel Purchase                          25.11
      9/30/2017    709   SB0009   Owner Operator   Fuel Purchase               Fuel Purchase                         232.45
      9/30/2017    709   SB0009   Owner Operator   Fuel Purchase               Fuel Purchase                         290.75
      9/30/2017    709   SB0009   Owner Operator   Fuel Purchase               Fuel Purchase                         180.97
      9/30/2017    709   SB0009   Owner Operator   IRP License Deduction       LCIL:2017 - 33236                      32.99
      9/30/2017    709   SB0009   Owner Operator   Tractor Charge              19100 - 33236                         564.33
      9/30/2017    709   SB0103   Owner Operator   Charge back by affiliate    CTMS - 205603 HVUT Form 2290           137.5
      9/30/2017    709   SB0103   Owner Operator   ESCROW                      Weekly Escrow                             50
      9/30/2017    709   SB0103   Owner Operator   Fuel Purchase               Fuel Purchase                          314.2
      9/30/2017    709   SB0103   Owner Operator   Fuel Purchase               Fuel Purchase                         106.25
      9/30/2017    709   SB0103   Owner Operator   Fuel Purchase               Fuel Purchase                         295.58
      9/30/2017    709   SB0103   Owner Operator   Fuel Purchase               Fuel Purchase                         174.52
      9/30/2017    709   SB0103   Owner Operator   Fuel Purchase               Fuel Purchase                         289.46
      9/30/2017    709   SB0103   Owner Operator   Fuel Purchase               Fuel Purchase                         226.22
      9/30/2017    709   SB0103   Owner Operator   Fuel Purchase               Fuel Purchase                         143.96
      9/30/2017    709   SB0103   Owner Operator   Truck Payment               CTMS - 205522 Sub Lease               388.33
      9/30/2017    709   VB0015   Owner Operator   Charge back by affiliate    CTMS - 205603 HVUT Form 2290           137.5
      9/30/2017    709   VB0015   Owner Operator   Communication Charge        PNet Hware Q1112                           8
      9/30/2017    709   VB0015   Owner Operator   Deferred Negative Pay       ** Net Rebill held from 9-23            155
      9/30/2017    709   VB0015   Owner Operator   Deferred Negative Pay       ** Net Rebill to post on 10-7        -365.18
      9/30/2017    709   VB0015   Owner Operator   Driver Excellence Program   Clean Insp US1354173220                  -50
      9/30/2017    709   VB0015   Owner Operator   Fuel Purchase               Fuel Purchase                         434.14
      9/30/2017    709   VB0015   Owner Operator   Truck Payment               CTMS - 205551 Tractor Sub leas        242.03
      9/30/2017    709   VJ0006   Owner Operator   Communication Charge        PNet Hware 33961                           8
      9/30/2017    709   VJ0006   Owner Operator   Driver Excellence Program   Clean Insp TX-4XIL0VAYHU                 -50
      9/30/2017    709   VJ0006   Owner Operator   ESCROW                      Weekly Escrow                           200
      9/30/2017    709   VJ0006   Owner Operator   Fuel Card Advances          Cash Advance                            160
      9/30/2017    709   VJ0006   Owner Operator   Fuel Card Advances          Cash Advance Fee                         1.6
      9/30/2017    709   VJ0006   Owner Operator   Fuel Purchase               Fuel Purchase                         287.23
      9/30/2017    709   VJ0006   Owner Operator   Fuel Purchase               Fuel Purchase                         268.27
      9/30/2017    709   VJ0006   Owner Operator   Fuel Purchase               Fuel Purchase                         235.42
      9/30/2017    709   WB0062   Owner Operator   Communication Charge        PNet Hware 33407                          13
      9/30/2017    709   WH0087   Owner Operator   Charge back by affiliate    CTMS - 205604 HVUT Form 2290           137.5
      9/30/2017    709   WH0087   Owner Operator   Communication Charge        PNet Hware q1239                           8
      9/30/2017    709   WH0087   Owner Operator   Fuel Card Advances          Cash Advance                              80
      9/30/2017    709   WH0087   Owner Operator   Fuel Card Advances          Cash Advance Fee                         0.8
      9/30/2017    709   WH0087   Owner Operator   Fuel Purchase               Fuel Purchase                         253.84
      9/30/2017    709   WH0087   Owner Operator   Fuel Purchase               Fuel Purchase                         226.98
      9/30/2017    709   WH0087   Owner Operator   Fuel Purchase               Fuel Purchase                         400.69
      9/30/2017    709   WH0087   Owner Operator   Truck Payment               CTMS - 205553 Q1238 Lease             311.97
      9/30/2017    742   AP0047   Owner Operator   Communication Charge        PNet Hware 32604                          13
      9/30/2017    742   AP0047   Owner Operator   Fuel Card Advances          Cash Advance                            100
      9/30/2017    742   AP0047   Owner Operator   Fuel Card Advances          Cash Advance                            100

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      9/30/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/30/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/30/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.67
      9/30/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.71
      9/30/2017    742   AS0089   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33912                19.68
      9/30/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      9/30/2017    742   AS0089   Owner Operator   Driver Excellence Program      Clean Insp CA-AXXXXXXXX                 -50
      9/30/2017    742   AS0089   Owner Operator   Driver Excellence Program      Clean Insp NV-7324010265                 -50
      9/30/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/30/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      9/30/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.21
      9/30/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.49
      9/30/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.45
      9/30/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.18
      9/30/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          34.99
      9/30/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.91
      9/30/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.12
      9/30/2017    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33987                 9.84
      9/30/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      9/30/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.91
      9/30/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.42
      9/30/2017    742   CT0085   Owner Operator   Charge back by affiliate       CTMS - 205581 HVUT Form 2290           137.5
      9/30/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      9/30/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      9/30/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/30/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/30/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.81
      9/30/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.04
      9/30/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 205394 Sub Lease Q13171         11.67
      9/30/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 205604 Sub Lease Q13171        352.68
      9/30/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      9/30/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.38
      9/30/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.31
      9/30/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.25
      9/30/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.01
      9/30/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.89
      9/30/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.45
      9/30/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      9/30/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/30/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.99
      9/30/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.05
      9/30/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.75
      9/30/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/30/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          444.7
      9/30/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.67
      9/30/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.45
      9/30/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.96
      9/30/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.27
      9/30/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          76.65
      9/30/2017    742   ED0041   Owner Operator   Tire Fee                       Tire Fee: 2055665                          8
      9/30/2017    742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00356838 - PO System          228.03
      9/30/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/30/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      9/30/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      9/30/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/30/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/30/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.56
      9/30/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.64
      9/30/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.67
      9/30/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.73
      9/30/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.64
      9/30/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.54
      9/30/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.12
      9/30/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.24
      9/30/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      9/30/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      9/30/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/30/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      9/30/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/30/2017    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg             7
      9/30/2017    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg             7
      9/30/2017    742   EN0016   Owner Operator   Toll Charges                   32947 KTA Southern Terminal              7.2
      9/30/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4

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      9/30/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         419.4
      9/30/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                        13
      9/30/2017    742   IK0012   Owner Operator   Charge back by affiliate       CTMS - 205659 trailer wash              -35
      9/30/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                         13
      9/30/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/30/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.55
      9/30/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.38
      9/30/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                  8.75
      9/30/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/30/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/30/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/30/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/30/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.38
      9/30/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        392.87
      9/30/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                     32.99
      9/30/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/30/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                 117.45
      9/30/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        500.37
      9/30/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                        554.49
      9/30/2017    742   MK0078   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      9/30/2017    742   MK0078   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      9/30/2017    742   MK0078   Owner Operator   Communication Charge           PNet Hware 33761                         13
      9/30/2017    742   MK0078   Owner Operator   Communication Charge           PNet Hware 33761                         13
      9/30/2017    742   MK0078   Owner Operator   Communication Charge           PNet Hware 33761                         13
      9/30/2017    742   MK0078   Owner Operator   Driver Excellence Program      Clean Insp CA-AXXXXXXXX                -50
      9/30/2017    742   MK0078   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/30/2017    742   MK0078   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/30/2017    742   MK0078   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/30/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          415
      9/30/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.81
      9/30/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.2
      9/30/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          390
      9/30/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.77
      9/30/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.62
      9/30/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.1
      9/30/2017    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        212.41
      9/30/2017    742   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/30/2017    742   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/30/2017    742   MK0078   Owner Operator   Permits                        IL02:2017 - 33761                      3.75
      9/30/2017    742   MK0078   Owner Operator   Permits                        NM07:2017 - 33761                       5.5
      9/30/2017    742   MK0078   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  38.26
      9/30/2017    742   MK0078   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  38.29
      9/30/2017    742   MK0078   Owner Operator   Repair Order                   CTMS - 205225 repair                 109.44
      9/30/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                   20.17
      9/30/2017    742   MT0112   Owner Operator   Charge back by affiliate       CTMS - 205582 HVUT Form 2290          137.5
      9/30/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                          8
      9/30/2017    742   MT0112   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/30/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          200
      9/30/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          200
      9/30/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          150
      9/30/2017    742   MT0112   Owner Operator   Tire Fee                       Tire Fee: 2055726                         8
      9/30/2017    742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00358112 - PO System         163.45
      9/30/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 205546 Q1247 Sub Lease        311.97
      9/30/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                         13
      9/30/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.07
      9/30/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.85
      9/30/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                         13
      9/30/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/30/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                        378.82
      9/30/2017    742   NK0013   Owner Operator   IRP License Deduction          LCIL:2017 - 34038                      0.07
      9/30/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                    5.55
      9/30/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                  50
      9/30/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      9/30/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                         13
      9/30/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      9/30/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                          200
      9/30/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/30/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/30/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.47
      9/30/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        322.32
      9/30/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                        329.71
      9/30/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.1
      9/30/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                     32.99

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      9/30/2017    742   PC0012   Owner Operator   Repair Order                   CTMS - 205313 Repair                   232.78
      9/30/2017    742   PC0012   Owner Operator   T Chek Fee                     Tractor Repair 32969                  1118.21
      9/30/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      9/30/2017    742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 205581 HVUT Form 2290             550
      9/30/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                          13
      9/30/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.04
      9/30/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          171.21
      9/30/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          391.97
      9/30/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 205524 Tractor Lease            353.28
      9/30/2017    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13
      9/30/2017    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/30/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.47
      9/30/2017    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2017 - 33738                        100
      9/30/2017    742   RS0342   Owner Operator   Tire Fee                       Tire Fee: 2055560                           4
      9/30/2017    742   RS0342   Owner Operator   Tire Purchase                  PO: 742-00359178 - PO System           113.16
      9/30/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
      9/30/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/30/2017    742   SK0049   Owner Operator   Loan Repayment                 2 efs 172960, bal loan 1            -20309.44
      9/30/2017    742   SK0049   Owner Operator   Loan Repayment                 Balance of Loan 1                     2592.37
      9/30/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          430.54
      9/30/2017    742   SK0049   Owner Operator   T Chek Fee                     ExpressCheck Fee                       175.42
      9/30/2017    742   SK0049   Owner Operator   T Chek Fee                     Tractor Repair 33934                 17541.65
      9/30/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
      9/30/2017    742   TH0130   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-7         -765.48
      9/30/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/30/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          479.95
      9/30/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                           17.34
      9/30/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                           243.1
      10/7/2017    709   AN0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-30          1915.74
      10/7/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL             8.75
      10/7/2017    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                    12.5
      10/7/2017    709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 205867 HVUT Form 2290            137.5
      10/7/2017    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                          13
      10/7/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.25
      10/7/2017    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.31
      10/7/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/7/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             35.16
      10/7/2017    709   AR0064   Owner Operator   Truck Payment                  CTMS - 205824 Q13147 Lease             440.14
      10/7/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                     57.45
      10/7/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             8.75
      10/7/2017    709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                    12.5
      10/7/2017    709   AV0021   Owner Operator   Charge back by affiliate       CTMS - 205867 HVUT Form 2290            137.5
      10/7/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                           8
      10/7/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           50.04
      10/7/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          140.01
      10/7/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           50.47
      10/7/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.75
      10/7/2017    709   AV0021   Owner Operator   Miscellaneous                  Voided Check # 968060                -1456.68
      10/7/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/7/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             35.16
      10/7/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 205862 Q13169 Sublease          352.68
      10/7/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
      10/7/2017    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                     12.5
      10/7/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
      10/7/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/7/2017    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                        100
      10/7/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/7/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.13
      10/7/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
      10/7/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      10/7/2017    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                     12.5
      10/7/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
      10/7/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                            300
      10/7/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/7/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/7/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          435.65
      10/7/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                       32.99
      10/7/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/7/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.96
      10/7/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      10/7/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
      10/7/2017    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      10/7/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          121.24

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      10/7/2017    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/7/2017    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.07
      10/7/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      10/7/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
      10/7/2017    709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                   12.5
      10/7/2017    709   CS0091   Owner Operator   Charge back by affiliate       CTMS - 205867 HVUT Form 2290          137.5
      10/7/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      10/7/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        377.86
      10/7/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/7/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.08
      10/7/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 205829 Q1201                  278.76
      10/7/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      10/7/2017    709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                   12.5
      10/7/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      10/7/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
      10/7/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      10/7/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        618.66
      10/7/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        441.99
      10/7/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.94
      10/7/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment        260.57
      10/7/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/7/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
      10/7/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 205869 Sublease               338.99
      10/7/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      10/7/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      10/7/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        443.34
      10/7/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        167.45
      10/7/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        628.58
      10/7/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                     31.37
      10/7/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      10/7/2017    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      10/7/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      10/7/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        477.04
      10/7/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/7/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.07
      10/7/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         8.75
      10/7/2017    709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                   12.5
      10/7/2017    709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                         13
      10/7/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.21
      10/7/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                        500.95
      10/7/2017    709   DW0138   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.2
      10/7/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                     32.99
      10/7/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         55.75
      10/7/2017    709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         68.52
      10/7/2017    709   DW0138   Owner Operator   Tire Fee                       Tire Fee: 2058371                         4
      10/7/2017    709   DW0138   Owner Operator   Tire Purchase                  PO: 709-00359446 - PO System          98.85
      10/7/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                        463.27
      10/7/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      10/7/2017    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                   12.5
      10/7/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      10/7/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          100
      10/7/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           100
      10/7/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/7/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/7/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/7/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/7/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      10/7/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        479.04
      10/7/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        364.36
      10/7/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.3
      10/7/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                     32.99
      10/7/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/7/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      10/7/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      10/7/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      10/7/2017    709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                   12.5
      10/7/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
      10/7/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           100
      10/7/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/7/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/7/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      10/7/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        373.59
      10/7/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        413.38

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      10/7/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.26
      10/7/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.68
      10/7/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      10/7/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      10/7/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      10/7/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      10/7/2017    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
      10/7/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      10/7/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.68
      10/7/2017    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                       100
      10/7/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      10/7/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      10/7/2017    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      10/7/2017    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      10/7/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           336
      10/7/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           280
      10/7/2017    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      10/7/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      10/7/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      10/7/2017    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
      10/7/2017    709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 205867 HVUT Form 2290           137.5
      10/7/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      10/7/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.41
      10/7/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.2
      10/7/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.75
      10/7/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      10/7/2017    709   FS0039   Owner Operator   Tire Purchase                  PO: 709-00358162 - PO System          205.39
      10/7/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 205870 truck lease 3304        434.29
      10/7/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/7/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/7/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/7/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.97
      10/7/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         574.23
      10/7/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.77
      10/7/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      10/7/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      10/7/2017    709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                    12.5
      10/7/2017    709   GS0015   Owner Operator   Charge back by affiliate       CTMS - 205867 HVUT Form 2290           137.5
      10/7/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      10/7/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.88
      10/7/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      10/7/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 205827 Lease                   252.11
      10/7/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
      10/7/2017    709   GW0043   Owner Operator   Broker Pre Pass                Q1263 PrePass Device                    12.5
      10/7/2017    709   GW0043   Owner Operator   Charge back by affiliate       CTMS - 205867 HVUT Form 2290           137.5
      10/7/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      10/7/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/7/2017    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/7/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.26
      10/7/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.99
      10/7/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.01
      10/7/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                42.19
      10/7/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 205784 Truck Lease             298.33
      10/7/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 205853 Tractor payback         422.75
      10/7/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 205854 Payback 09.29.17        422.75
      10/7/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      10/7/2017    709   HC0023   Owner Operator   Broker Pre Pass                Q13170 PrePass Device                   12.5
      10/7/2017    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 205867 HVUT Form 2290           137.5
      10/7/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      10/7/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.89
      10/7/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.64
      10/7/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      10/7/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 205824 Q13170                  352.68

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      10/7/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      10/7/2017    709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                    12.5
      10/7/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      10/7/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/7/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.19
      10/7/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.17
      10/7/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          364.9
      10/7/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      10/7/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/7/2017    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
      10/7/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      10/7/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
      10/7/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/7/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.48
      10/7/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.57
      10/7/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.26
      10/7/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      10/7/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      10/7/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/7/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/7/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/7/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/7/2017    709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/7/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.67
      10/7/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          402.8
      10/7/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      10/7/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      10/7/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/7/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      10/7/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      10/7/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      10/7/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      10/7/2017    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      10/7/2017    709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 205868 HVUT Form 2290           137.5
      10/7/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      10/7/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      10/7/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/7/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
      10/7/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/7/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.32
      10/7/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.13
      10/7/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.27
      10/7/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.23
      10/7/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      10/7/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
      10/7/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      10/7/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      10/7/2017    709   JC0292   Owner Operator   Tractor Wash                   CTMS - 205920 Trailer wash 702           -39
      10/7/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 205865 Q13197 Lease            276.63
      10/7/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/7/2017    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
      10/7/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      10/7/2017    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
      10/7/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      10/7/2017    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         2000
      10/7/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      10/7/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/7/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.21
      10/7/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.06
      10/7/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.61
      10/7/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      10/7/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      10/7/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      10/7/2017    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95

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      10/7/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/7/2017    709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                  12.5
      10/7/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      10/7/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      10/7/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/7/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/7/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      10/7/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       382.16
      10/7/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       373.31
      10/7/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         100
      10/7/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       511.03
      10/7/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                    32.99
      10/7/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      10/7/2017    709   JG0072   Owner Operator   Tire Fee                       Tire Fee: 2058399                       32
      10/7/2017    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00358498 - PO System        453.14
      10/7/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      10/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/7/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/7/2017    709   JG0092   Owner Operator   FUEL TAX                       Apr17 Fuel Tax Chargebacks           25.94
      10/7/2017    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                     100
      10/7/2017    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                     100
      10/7/2017    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                     100
      10/7/2017    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                     100
      10/7/2017    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                     100
      10/7/2017    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                     100
      10/7/2017    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                     83.6
      10/7/2017    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                     100
      10/7/2017    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                    15.53
      10/7/2017    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                     100
      10/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/7/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      10/7/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      10/7/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      10/7/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      10/7/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      10/7/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      10/7/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      10/7/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      10/7/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      10/7/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      10/7/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      10/7/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     61.7
      10/7/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    47.75
      10/7/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      10/7/2017    709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                  12.5
      10/7/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      10/7/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100

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      10/7/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/7/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.96
      10/7/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      10/7/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      10/7/2017    709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                    12.5
      10/7/2017    709   JR0099   Owner Operator   Charge back by affiliate       CTMS - 205868 HVUT Form 2290           137.5
      10/7/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      10/7/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.41
      10/7/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      10/7/2017    709   JR0099   Owner Operator   Tire Fee                       Tire Fee: 2058367                          4
      10/7/2017    709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00359325 - PO System           79.53
      10/7/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 205775 Truck Lease             278.76
      10/7/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      10/7/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      10/7/2017    709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                    12.5
      10/7/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      10/7/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/7/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/7/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/7/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/7/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.47
      10/7/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.47
      10/7/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      10/7/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      10/7/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      10/7/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/7/2017    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      10/7/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      10/7/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/7/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/7/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/7/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.14
      10/7/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           460
      10/7/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.04
      10/7/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      10/7/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      10/7/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/7/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00358500 - PO System          344.07
      10/7/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      10/7/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      10/7/2017    709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                    12.5
      10/7/2017    709   LL0160   Owner Operator   Charge back by affiliate       CTMS - 205868 HVUT Form 2290           137.5
      10/7/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      10/7/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      10/7/2017    709   LL0160   Owner Operator   Truck Payment                  CTMS - 205911 Lease Q1111             252.11
      10/7/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      10/7/2017    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      10/7/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      10/7/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/7/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         707.05
      10/7/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      10/7/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      10/7/2017    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00358161 - PO System          278.65
      10/7/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/7/2017    709   MA0092   Owner Operator   Broker Pre Pass                34005 PrePass Device                    12.5
      10/7/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      10/7/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.04
      10/7/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.54
      10/7/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           14.2
      10/7/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.67
      10/7/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      10/7/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75

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      10/7/2017    709   ME0053   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                    12.5
      10/7/2017    709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 205868 HVUT Form 2290           137.5
      10/7/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      10/7/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.11
      10/7/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.64
      10/7/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.78
      10/7/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      10/7/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 205823 Q1113 Lease             252.11
      10/7/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/7/2017    709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance                            150
      10/7/2017    709   MG0067   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      10/7/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.01
      10/7/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.1
      10/7/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.02
      10/7/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      10/7/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/7/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/7/2017    709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                    12.5
      10/7/2017    709   MM0093   Owner Operator   Charge back by affiliate       CTMS - 205866 Tractorrepairs 3         283.5
      10/7/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      10/7/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/7/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/7/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.97
      10/7/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.1
      10/7/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      10/7/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      10/7/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/7/2017    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
      10/7/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      10/7/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      10/7/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      10/7/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      10/7/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/7/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      10/7/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      10/7/2017    709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                    12.5
      10/7/2017    709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 205414 HVUT Form 2290           137.5
      10/7/2017    709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 205603 HVUT Form 2290           137.5
      10/7/2017    709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 205868 HVUT Form 2290           137.5
      10/7/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      10/7/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/7/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          98.73
      10/7/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/7/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/7/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.52
      10/7/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.33
      10/7/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.94
      10/7/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.83
      10/7/2017    709   NB0029   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.85
      10/7/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      10/7/2017    709   NB0029   Owner Operator   Repair Order                   CTMS - 205477 Repair                  253.78
      10/7/2017    709   NB0029   Owner Operator   Repair Order                   CTMS - 205732 Repair                  253.78
      10/7/2017    709   NB0029   Owner Operator   Repair Order                   CTMS - 205942 Repair                  253.78
      10/7/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 205452 Lease                   215.66
      10/7/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 205677 Lease                   215.66
      10/7/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 205910 Lease                   215.66
      10/7/2017    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/7/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/7/2017    709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                   12.5
      10/7/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      10/7/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/7/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/7/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.57

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      10/7/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.27
      10/7/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      10/7/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/7/2017    709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                    12.5
      10/7/2017    709   NT9564   Owner Operator   Charge back by affiliate       CTMS - 205868 HVUT Form 2290           137.5
      10/7/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      10/7/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                       100
      10/7/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      10/7/2017    709   NT9564   Owner Operator   Tire Fee                       Tire Fee: 2058369                          4
      10/7/2017    709   NT9564   Owner Operator   Tire Purchase                  PO: 709-00359328 - PO System          111.49
      10/7/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 205823 Truck 73130 Leas        196.65
      10/7/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/7/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      10/7/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/7/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 205775 Down Payment lo         303.55
      10/7/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      10/7/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/7/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/7/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/7/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.36
      10/7/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.97
      10/7/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      10/7/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/7/2017    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      10/7/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/7/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.85
      10/7/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      10/7/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      10/7/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      10/7/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/7/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      10/7/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/7/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/7/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/7/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/7/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/7/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/7/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.61
      10/7/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.05
      10/7/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.23
      10/7/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.75
      10/7/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      10/7/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      10/7/2017    709   RL0062   Owner Operator   Tire Fee                       Tire Fee: 2057803                          8
      10/7/2017    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00359686 - PO System          178.43
      10/7/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      10/7/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/7/2017    709   RL0180   Owner Operator   Broker Pre Pass                34012 PrePass Device                    12.5
      10/7/2017    709   RL0180   Owner Operator   Broker Pre Pass                34012 PrePass Device                    12.5
      10/7/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      10/7/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.39
      10/7/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.59
      10/7/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
      10/7/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      10/7/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      10/7/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      10/7/2017    709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                    12.5
      10/7/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      10/7/2017    709   RM0026   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-14       -156.25
      10/7/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.94
      10/7/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.56
      10/7/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      10/7/2017    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00358166 - PO System          310.67
      10/7/2017    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95

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      10/7/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      10/7/2017    709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                    12.5
      10/7/2017    709   RP0082   Owner Operator   Charge back by affiliate       CTMS - 205868 HVUT Form 2290           137.5
      10/7/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      10/7/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.53
      10/7/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.29
      10/7/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      10/7/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 205775 Q1202 Truck Leas        278.76
      10/7/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      10/7/2017    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                    12.5
      10/7/2017    709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 205868 HVUT Form 2290           137.5
      10/7/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      10/7/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/7/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/7/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.63
      10/7/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          358.8
      10/7/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      10/7/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      10/7/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 205828 Q1248                   311.97
      10/7/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/7/2017    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      10/7/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      10/7/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/7/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/7/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/7/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/7/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.52
      10/7/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.99
      10/7/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.59
      10/7/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.77
      10/7/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.29
      10/7/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      10/7/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      10/7/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      10/7/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/7/2017    709   SB0103   Owner Operator   Charge back by affiliate       CTMS - 205868 HVUT Form 2290           137.5
      10/7/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      10/7/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.61
      10/7/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.91
      10/7/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          220.7
      10/7/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.33
      10/7/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   SB0103   Owner Operator   Permits1                       ID06:2017 - 33037                        -11
      10/7/2017    709   SB0103   Owner Operator   Permits1                       IL02:2017 - 33037                      -3.75
      10/7/2017    709   SB0103   Owner Operator   Permits1                       NM07:2017 - 33037                       -5.5
      10/7/2017    709   SB0103   Owner Operator   Permits1                       NY13:2016 - 33037                        -19
      10/7/2017    709   SB0103   Owner Operator   Permits1                       OR16:2017 - 33037                         -8
      10/7/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      10/7/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/7/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 205773 Sub Lease               388.33
      10/7/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/7/2017    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
      10/7/2017    709   VB0015   Owner Operator   Charge back by affiliate       CTMS - 205868 HVUT Form 2290           137.5
      10/7/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      10/7/2017    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-30          365.18
      10/7/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.77
      10/7/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.41
      10/7/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      10/7/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 205827 Tractor Sub leas        242.03
      10/7/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
      10/7/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/7/2017    709   VJ0006   Owner Operator   Broker Pre Pass                33961 PrePass Device                    12.5
      10/7/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      10/7/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/7/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/7/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.78

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      10/7/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.39
      10/7/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.76
      10/7/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.82
      10/7/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      10/7/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/7/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      10/7/2017    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-14        -87.31
      10/7/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      10/7/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/7/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      10/7/2017    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      10/7/2017    709   WH0087   Owner Operator   Charge back by affiliate       CTMS - 205869 HVUT Form 2290           137.5
      10/7/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      10/7/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/7/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                               1
      10/7/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              60
      10/7/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      10/7/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.01
      10/7/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/7/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.69
      10/7/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.62
      10/7/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.85
      10/7/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           242
      10/7/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.27
      10/7/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.67
      10/7/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      10/7/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 205829 Q1238 Lease             311.97
      10/7/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      10/7/2017    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      10/7/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      10/7/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/7/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/7/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.27
      10/7/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      10/7/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      10/7/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      10/7/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/7/2017    742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                    12.5
      10/7/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      10/7/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.42
      10/7/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.52
      10/7/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.67
      10/7/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.06
      10/7/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      10/7/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/7/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      10/7/2017    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      10/7/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      10/7/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.47
      10/7/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.83
      10/7/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.02
      10/7/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      10/7/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/7/2017    742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                   12.5
      10/7/2017    742   CT0085   Owner Operator   Charge back by affiliate       CTMS - 205822 HVUT Form 2290           137.5
      10/7/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      10/7/2017    742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.56
      10/7/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.47
      10/7/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/7/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/7/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 205862 Sub Lease Q13171        352.68
      10/7/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/7/2017    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
      10/7/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13

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      10/7/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.95
      10/7/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           575
      10/7/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.45
      10/7/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      10/7/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/7/2017    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      10/7/2017    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      10/7/2017    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         651.48
      10/7/2017    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.51
      10/7/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/7/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      10/7/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.86
      10/7/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.57
      10/7/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.76
      10/7/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      10/7/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/7/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      10/7/2017    742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                    12.5
      10/7/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      10/7/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.66
      10/7/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      10/7/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      10/7/2017    742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00356838 - PO System          228.03
      10/7/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/7/2017    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      10/7/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      10/7/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.02
      10/7/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.58
      10/7/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.95
      10/7/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      10/7/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      10/7/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/7/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      10/7/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      10/7/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      10/7/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      10/7/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      10/7/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      10/7/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      10/7/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.49
      10/7/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.56
      10/7/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      10/7/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      10/7/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/7/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/7/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/7/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                          182.18
      10/7/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.03
      10/7/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      10/7/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      10/7/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      10/7/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      10/7/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      10/7/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      10/7/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                          54.12
      10/7/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      10/7/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      10/7/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/7/2017    742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                    12.5
      10/7/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      10/7/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13

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      10/7/2017    742   MH0117   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-23           772.8
      10/7/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      10/7/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/7/2017    742   MH0117   Owner Operator   Repair Order                   CTMS - 205707 repair                      60
      10/7/2017    742   MK0078   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/7/2017    742   MK0078   Owner Operator   Broker Pre Pass                33761 PrePass Device                    12.5
      10/7/2017    742   MK0078   Owner Operator   Communication Charge           PNet Hware 33761                          13
      10/7/2017    742   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    742   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   MK0078   Owner Operator   Permits                        NY13:2017 - 33761                        1.5
      10/7/2017    742   MK0078   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   38.29
      10/7/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.22
      10/7/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.83
      10/7/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/7/2017    742   NK0013   Owner Operator   Broker Pre Pass                34038 PrePass Device                    12.5
      10/7/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
      10/7/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/7/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/7/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/7/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          375.1
      10/7/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.26
      10/7/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.28
      10/7/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      10/7/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/7/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      10/7/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
      10/7/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/7/2017    742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                    12.5
      10/7/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      10/7/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/7/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/7/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/7/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.48
      10/7/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.74
      10/7/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.88
      10/7/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.45
      10/7/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.75
      10/7/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      10/7/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      10/7/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      10/7/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.68
      10/7/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.83
      10/7/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.55
      10/7/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      10/7/2017    742   RS0342   Owner Operator   Broker Pre Pass                33738 PrePass Device                    12.5
      10/7/2017    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      10/7/2017    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2017 - 33738                       100
      10/7/2017    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      10/7/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      10/7/2017    742   RS0342   Owner Operator   Tire Purchase                  PO: 742-00359178 - PO System          113.16
      10/7/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/7/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      10/7/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/7/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      10/7/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/7/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      10/7/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      10/7/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/7/2017    742   TH0130   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-30          765.48
      10/7/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          196.8
      10/7/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          25.69
      10/7/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      10/7/2017    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      10/7/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      10/7/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13

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       10/7/2017   843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                              50
       10/7/2017   843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                              50
       10/7/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          219.44
       10/7/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.16
       10/7/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          540.89
       10/7/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.75
       10/7/2017   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       10/7/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           74.22
       10/7/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                   2.5
      10/14/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL             8.75
      10/14/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL             8.75
      10/14/2017   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                    12.5
      10/14/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                          13
      10/14/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                          13
      10/14/2017   709   AN0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-30           238.25
      10/14/2017   709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/14/2017   709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/14/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                               40
      10/14/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                               40
      10/14/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.4
      10/14/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.4
      10/14/2017   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           121.2
      10/14/2017   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.21
      10/14/2017   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.83
      10/14/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/14/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/14/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD              7.82
      10/14/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD              7.82
      10/14/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te            2.5
      10/14/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te            2.5
      10/14/2017   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL             8.75
      10/14/2017   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                          13
      10/14/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.39
      10/14/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                            305
      10/14/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          424.55
      10/14/2017   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/14/2017   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             35.16
      10/14/2017   709   AR0064   Owner Operator   Truck Payment                  CTMS - 206014 Q13147 Lease             440.14
      10/14/2017   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                     57.45
      10/14/2017   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             8.75
      10/14/2017   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                           8
      10/14/2017   709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-21         -20.15
      10/14/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           59.44
      10/14/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           127.9
      10/14/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            114
      10/14/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           98.99
      10/14/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.02
      10/14/2017   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/14/2017   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             35.16
      10/14/2017   709   AV0021   Owner Operator   Truck Payment                  CTMS - 206075 Q13169 Sublease          352.68
      10/14/2017   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
      10/14/2017   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
      10/14/2017   709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/14/2017   709   BM0030   Owner Operator   IRP License Deduction          LCIL:2017 - 34023                        0.07
      10/14/2017   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/14/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.13
      10/14/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
      10/14/2017   709   BM0030   Owner Operator   Truck Payment                  CTMS - 206198 Trailer Wash ext            -40
      10/14/2017   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
      10/14/2017   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
      10/14/2017   709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                    12.5
      10/14/2017   709   CC0134   Owner Operator   Charge back by affiliate       CTMS - 205602 HVUT Form 2290            126.9
      10/14/2017   709   CC0134   Owner Operator   Charge back by affiliate       CTMS - 205867 HVUT Form 2290            137.5
      10/14/2017   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
      10/14/2017   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
      10/14/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                            38.3
      10/14/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.38
      10/14/2017   709   CC0134   Owner Operator   Loan Repayment                 1 efs 3102419054                     -4153.96
      10/14/2017   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          301.87
      10/14/2017   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/14/2017   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/14/2017   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.16
      10/14/2017   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.16

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      10/14/2017   709   CC0134   Owner Operator   T Chek Fee                     ExpressCheck Fee                       41.13
      10/14/2017   709   CC0134   Owner Operator   T Chek Fee                     Tractor Repair Q13168                4112.83
      10/14/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 205546 Q13168 sub lease        352.68
      10/14/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 205823 Q13168 sub lease        352.68
      10/14/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 206013 Q13168 sub lease        352.68
      10/14/2017   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/14/2017   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      10/14/2017   709   CM0119   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-21       -350.22
      10/14/2017   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      10/14/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.14
      10/14/2017   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      10/14/2017   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      10/14/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/14/2017   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      10/14/2017   709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/14/2017   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                    12.5
      10/14/2017   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      10/14/2017   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      10/14/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.22
      10/14/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.19
      10/14/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.99
      10/14/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.66
      10/14/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.21
      10/14/2017   709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      10/14/2017   709   CR0064   Owner Operator   Repair Order                   CTMS - 206103 Towing                  283.33
      10/14/2017   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      10/14/2017   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      10/14/2017   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      10/14/2017   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.63
      10/14/2017   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      10/14/2017   709   CS0091   Owner Operator   Tire Fee                       Tire Fee: 2059452                          8
      10/14/2017   709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00359629 - PO System           212.4
      10/14/2017   709   CS0091   Owner Operator   Truck Payment                  CTMS - 206019 Q1201                   278.76
      10/14/2017   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/14/2017   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/14/2017   709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                    12.5
      10/14/2017   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      10/14/2017   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      10/14/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.14
      10/14/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.17
      10/14/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.83
      10/14/2017   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      10/14/2017   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      10/14/2017   709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00357593 - PO System          379.95
      10/14/2017   709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00357593 - PO System          379.95
      10/14/2017   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      10/14/2017   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      10/14/2017   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/14/2017   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/14/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.95
      10/14/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.52
      10/14/2017   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         260.57
      10/14/2017   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      10/14/2017   709   DL0107   Owner Operator   Truck Payment                  CTMS - 206080 Sublease                338.99
      10/14/2017   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      10/14/2017   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      10/14/2017   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/14/2017   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/14/2017   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                    12.5
      10/14/2017   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      10/14/2017   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      10/14/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.29
      10/14/2017   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      10/14/2017   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                       1.62
      10/14/2017   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/14/2017   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      10/14/2017   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      10/14/2017   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      10/14/2017   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      10/14/2017   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.61
      10/14/2017   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.43
      10/14/2017   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      10/14/2017   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/14/2017   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      10/14/2017   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/14/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/14/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.49
      10/14/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.91
      10/14/2017   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      10/14/2017   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      10/14/2017   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      10/14/2017   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/14/2017   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      10/14/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/14/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.21
      10/14/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.81
      10/14/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.63
      10/14/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.04
      10/14/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.69
      10/14/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.91
      10/14/2017   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      10/14/2017   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      10/14/2017   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      10/14/2017   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      10/14/2017   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      10/14/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          487.3
      10/14/2017   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                       100
      10/14/2017   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      10/14/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      10/14/2017   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      10/14/2017   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      10/14/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.98
      10/14/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.05
      10/14/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.45
      10/14/2017   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      10/14/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      10/14/2017   709   EO0014   Owner Operator   Tractor Wash                   CTMS - 206061 Trailer wash FG5         -36.5
      10/14/2017   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      10/14/2017   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      10/14/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.83
      10/14/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.82
      10/14/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.25
      10/14/2017   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      10/14/2017   709   FS0039   Owner Operator   Tire Purchase                  PO: 709-00358162 - PO System          205.39
      10/14/2017   709   FS0039   Owner Operator   Truck Payment                  CTMS - 206081 truck lease 3304        434.29
      10/14/2017   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/14/2017   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      10/14/2017   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      10/14/2017   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      10/14/2017   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/14/2017   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.14
      10/14/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.94
      10/14/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.82
      10/14/2017   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      10/14/2017   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75

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      10/14/2017   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      10/14/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.01
      10/14/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            269
      10/14/2017   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      10/14/2017   709   GS0015   Owner Operator   Truck Payment                  CTMS - 206018 Lease                   252.11
      10/14/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.02
      10/14/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.68
      10/14/2017   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      10/14/2017   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      10/14/2017   709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.2
      10/14/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.59
      10/14/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.93
      10/14/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.06
      10/14/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.18
      10/14/2017   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      10/14/2017   709   HC0023   Owner Operator   Truck Payment                  CTMS - 206014 Q13170                  352.68
      10/14/2017   709   HC0023   Owner Operator   UNIFORMS                       CTMS - 206182 Uniforms                328.24
      10/14/2017   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      10/14/2017   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      10/14/2017   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.05
      10/14/2017   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      10/14/2017   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/14/2017   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      10/14/2017   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                            100
      10/14/2017   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/14/2017   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/14/2017   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.6
      10/14/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.19
      10/14/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.56
      10/14/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.54
      10/14/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.12
      10/14/2017   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      10/14/2017   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      10/14/2017   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/14/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.06
      10/14/2017   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      10/14/2017   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      10/14/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/14/2017   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      10/14/2017   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      10/14/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      10/14/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      10/14/2017   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      10/14/2017   709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                      -4800
      10/14/2017   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      10/14/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
      10/14/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/14/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/14/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.16
      10/14/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.52
      10/14/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.56
      10/14/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.98
      10/14/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.65
      10/14/2017   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      10/14/2017   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
      10/14/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      10/14/2017   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      10/14/2017   709   JC0292   Owner Operator   Truck Payment                  CTMS - 206078 Q13197 Lease            276.63
      10/14/2017   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/14/2017   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      10/14/2017   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      10/14/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300

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      10/14/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      10/14/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       229.93
      10/14/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       485.05
      10/14/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       318.59
      10/14/2017   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                    32.99
      10/14/2017   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/14/2017   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      10/14/2017   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      10/14/2017   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/14/2017   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      10/14/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/14/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          300
      10/14/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/14/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/14/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      10/14/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/14/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       363.07
      10/14/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.79
      10/14/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       502.54
      10/14/2017   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                    32.99
      10/14/2017   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/14/2017   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      10/14/2017   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00358498 - PO System         30.97
      10/14/2017   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00358498 - PO System        484.11
      10/14/2017   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      10/14/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/14/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/14/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/14/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/14/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/14/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/14/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/14/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/14/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/14/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/14/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/14/2017   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5
      10/14/2017   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5
      10/14/2017   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5
      10/14/2017   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5
      10/14/2017   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5
      10/14/2017   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5
      10/14/2017   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/14/2017   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/14/2017   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          100

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      10/14/2017   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.06
      10/14/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.11
      10/14/2017   709   JG0092   Owner Operator   FUEL TAX                       Mar17 Fuel Tax Settlement              45.67
      10/14/2017   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                       100
      10/14/2017   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                       100
      10/14/2017   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                       100
      10/14/2017   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                       100
      10/14/2017   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                       100
      10/14/2017   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                       100
      10/14/2017   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                       100
      10/14/2017   709   JG0092   Owner Operator   IRP License Deduction          LCIL:2017 - 33669                       100
      10/14/2017   709   JG0092   Owner Operator   Loan Repayment                 1 arrears 10/10                     -3537.49
      10/14/2017   709   JG0092   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         358.25
      10/14/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      10/14/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      10/14/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      10/14/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      10/14/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      10/14/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      10/14/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      10/14/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      10/14/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      10/14/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      10/14/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      10/14/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      10/14/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      13.95
      10/14/2017   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      10/14/2017   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      10/14/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.93
      10/14/2017   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      10/14/2017   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      10/14/2017   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      10/14/2017   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.27
      10/14/2017   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.22
      10/14/2017   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      10/14/2017   709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00359325 - PO System           79.53
      10/14/2017   709   JR0099   Owner Operator   Truck Payment                  CTMS - 205986 Truck Lease             278.76
      10/14/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      10/14/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      10/14/2017   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      10/14/2017   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/14/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/14/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/14/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.36
      10/14/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.83
      10/14/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      10/14/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      10/14/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      10/14/2017   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/14/2017   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      10/14/2017   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/14/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/14/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      10/14/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.45
      10/14/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.57
      10/14/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.24
      10/14/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            214
      10/14/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.26
      10/14/2017   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      10/14/2017   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   KP0004   Owner Operator   Permits                        AK trip permit                           350
      10/14/2017   709   KP0004   Owner Operator   Permits                        AK trip permit                            10
      10/14/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      10/14/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/14/2017   709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00358500 - PO System          344.07
      10/14/2017   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      10/14/2017   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      10/14/2017   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      10/14/2017   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      10/14/2017   709   LL0160   Owner Operator   Truck Payment                  CTMS - 206122 Lease Q1111             252.11
      10/14/2017   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      10/14/2017   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      10/14/2017   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.75
      10/14/2017   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.68
      10/14/2017   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      10/14/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      10/14/2017   709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00358161 - PO System          122.16
      10/14/2017   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/14/2017   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      10/14/2017   709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.37
      10/14/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.82
      10/14/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.5
      10/14/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.53
      10/14/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.26
      10/14/2017   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      10/14/2017   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     26.25
      10/14/2017   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       -35
      10/14/2017   709   MB0048   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/14/2017   709   MB0048   Owner Operator   Communication Charge           PNet Hware 21727b                         13
      10/14/2017   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      10/14/2017   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          142.5
      10/14/2017   709   MB0048   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      70.32
      10/14/2017   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     210.93
      10/14/2017   709   MB0048   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    -281.25
      10/14/2017   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      10/14/2017   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      10/14/2017   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.69
      10/14/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.82
      10/14/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.3
      10/14/2017   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      10/14/2017   709   ME0053   Owner Operator   Truck Payment                  CTMS - 206014 Q1113 Lease             252.11
      10/14/2017   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/14/2017   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.36
      10/14/2017   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      10/14/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/14/2017   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/14/2017   709   MM0093   Owner Operator   Charge back by affiliate       CTMS - 206079 Tractorrepairs 3         283.5
      10/14/2017   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      10/14/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              40
      10/14/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      10/14/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.09
      10/14/2017   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      10/14/2017   709   MM0093   Owner Operator   Tire Fee                       Tire Fee: 2059469                         16
      10/14/2017   709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00359634 - PO System          270.83
      10/14/2017   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      10/14/2017   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/14/2017   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      10/14/2017   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000

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      10/14/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.39
      10/14/2017   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         635.42
      10/14/2017   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      10/14/2017   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      10/14/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/14/2017   709   MP0035   Owner Operator   Repair Order                   CTMS - 206044 Q1105 Fuel             -387.39
      10/14/2017   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      10/14/2017   709   MP0035   Owner Operator   Tractor Wash                   CTMS - 206061 Trailer wash TL0         -40.5
      10/14/2017   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      10/14/2017   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      10/14/2017   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/14/2017   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.82
      10/14/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.05
      10/14/2017   709   NB0029   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.85
      10/14/2017   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      10/14/2017   709   NB0029   Owner Operator   Truck Payment                  CTMS - 206121 Lease                   215.66
      10/14/2017   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/14/2017   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      10/14/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/14/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.7
      10/14/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.34
      10/14/2017   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      10/14/2017   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/14/2017   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      10/14/2017   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                       100
      10/14/2017   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      10/14/2017   709   NT9564   Owner Operator   Tire Purchase                  PO: 709-00359328 - PO System          111.49
      10/14/2017   709   NT9564   Owner Operator   Truck Payment                  CTMS - 206013 Truck 73130 Leas        196.65
      10/14/2017   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/14/2017   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      10/14/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/14/2017   709   RC0030   Owner Operator   Truck Payment                  CTMS - 205986 Down Payment lo         303.55
      10/14/2017   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      10/14/2017   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/14/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/14/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/14/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.66
      10/14/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.75
      10/14/2017   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      10/14/2017   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/14/2017   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/14/2017   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/14/2017   709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/14/2017   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.06
      10/14/2017   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.67
      10/14/2017   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      10/14/2017   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      10/14/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      10/14/2017   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/14/2017   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      10/14/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.09
      10/14/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.16
      10/14/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.1
      10/14/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.52
      10/14/2017   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99

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      10/14/2017   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      10/14/2017   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00359686 - PO System          180.17
      10/14/2017   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00359686 - PO System           358.6
      10/14/2017   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      10/14/2017   709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/14/2017   709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      10/14/2017   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.5
      10/14/2017   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.19
      10/14/2017   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
      10/14/2017   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      10/14/2017   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      10/14/2017   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      10/14/2017   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      10/14/2017   709   RM0026   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-7          156.25
      10/14/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.3
      10/14/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.96
      10/14/2017   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      10/14/2017   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00358166 - PO System          310.67
      10/14/2017   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      10/14/2017   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      10/14/2017   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.21
      10/14/2017   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.05
      10/14/2017   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      10/14/2017   709   RP0082   Owner Operator   Truck Payment                  CTMS - 205986 Q1202 Truck Leas        278.76
      10/14/2017   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      10/14/2017   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      10/14/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.46
      10/14/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.45
      10/14/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.52
      10/14/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.61
      10/14/2017   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      10/14/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      10/14/2017   709   RR0123   Owner Operator   Truck Payment                  CTMS - 206019 Q1248                   311.97
      10/14/2017   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/14/2017   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      10/14/2017   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/14/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/14/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.61
      10/14/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.61
      10/14/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.53
      10/14/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.03
      10/14/2017   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      10/14/2017   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      10/14/2017   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      10/14/2017   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/14/2017   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      10/14/2017   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.58
      10/14/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.74
      10/14/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.11
      10/14/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.54
      10/14/2017   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      10/14/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/14/2017   709   SB0103   Owner Operator   Truck Payment                  CTMS - 205984 Sub Lease               388.33
      10/14/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      10/14/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      10/14/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      10/14/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      10/14/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      10/14/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      10/14/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/14/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75

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      10/14/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/14/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/14/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/14/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/14/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/14/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/14/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/14/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/14/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/14/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/14/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/14/2017   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/14/2017   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.17
      10/14/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.3
      10/14/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.87
      10/14/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.86
      10/14/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.04
      10/14/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/14/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/14/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/14/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/14/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/14/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/14/2017   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/14/2017   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      10/14/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           387
      10/14/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           387
      10/14/2017   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      10/14/2017   709   VB0015   Owner Operator   Truck Payment                  CTMS - 206017 Tractor Sub leas        242.03
      10/14/2017   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
      10/14/2017   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/14/2017   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      10/14/2017   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/14/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      10/14/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      10/14/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.82
      10/14/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.74
      10/14/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.08
      10/14/2017   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      10/14/2017   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/14/2017   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      10/14/2017   709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-7           87.31
      10/14/2017   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      10/14/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/14/2017   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      10/14/2017   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      10/14/2017   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            160
      10/14/2017   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      10/14/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.99
      10/14/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.09
      10/14/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.13
      10/14/2017   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      10/14/2017   709   WH0087   Owner Operator   Truck Payment                  CTMS - 206019 Q1238 Lease             311.97
      10/14/2017   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      10/14/2017   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      10/14/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      10/14/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.94
      10/14/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.45
      10/14/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.66
      10/14/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.73
      10/14/2017   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      10/14/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      10/14/2017   742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      10/14/2017   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/14/2017   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      10/14/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.14
      10/14/2017   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      10/14/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/14/2017   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      10/14/2017   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      10/14/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.19
      10/14/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.92
      10/14/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.68
      10/14/2017   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      10/14/2017   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/14/2017   742   CT0085   Owner Operator   Charge back by affiliate       CTMS - 206017 HVUT Form 2290           137.5
      10/14/2017   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      10/14/2017   742   CT0085   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.21
      10/14/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.03
      10/14/2017   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/14/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/14/2017   742   CT0085   Owner Operator   Truck Payment                  CTMS - 206076 Sub Lease Q13171        352.68
      10/14/2017   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/14/2017   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      10/14/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      10/14/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.53
      10/14/2017   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      10/14/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/14/2017   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/14/2017   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      10/14/2017   742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.12
      10/14/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.29
      10/14/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.44
      10/14/2017   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      10/14/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/14/2017   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      10/14/2017   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      10/14/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.81
      10/14/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.27
      10/14/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.91
      10/14/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.94
      10/14/2017   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      10/14/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      10/14/2017   742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00356838 - PO System          228.03
      10/14/2017   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/14/2017   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      10/14/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.97
      10/14/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.76
      10/14/2017   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      10/14/2017   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      10/14/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/14/2017   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      10/14/2017   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      10/14/2017   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      10/14/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69

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      10/14/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      10/14/2017   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      10/14/2017   742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      10/14/2017   742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.83
      10/14/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.89
      10/14/2017   742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      10/14/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      10/14/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                           17.82
      10/14/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.46
      10/14/2017   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      10/14/2017   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      10/14/2017   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/14/2017   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      10/14/2017   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      10/14/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/14/2017   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      10/14/2017   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      10/14/2017   742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.93
      10/14/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.98
      10/14/2017   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      10/14/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      10/14/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      10/14/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      10/14/2017   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      10/14/2017   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      10/14/2017   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      10/14/2017   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      10/14/2017   742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                    12.5
      10/14/2017   742   MT0112   Owner Operator   Charge back by affiliate       CTMS - 205822 HVUT Form 2290           137.5
      10/14/2017   742   MT0112   Owner Operator   Charge back by affiliate       CTMS - 206017 HVUT Form 2290           137.5
      10/14/2017   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      10/14/2017   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      10/14/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/14/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/14/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/14/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/14/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.35
      10/14/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      10/14/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.14
      10/14/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.23
      10/14/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.43
      10/14/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      10/14/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.45
      10/14/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      10/14/2017   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      10/14/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      10/14/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      10/14/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      10/14/2017   742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00358112 - PO System          163.45
      10/14/2017   742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00358112 - PO System          163.45
      10/14/2017   742   MT0112   Owner Operator   Truck Payment                  CTMS - 205823 Q1247 Sub Lease         311.97
      10/14/2017   742   MT0112   Owner Operator   Truck Payment                  CTMS - 206014 Q1247 Sub Lease         311.97
      10/14/2017   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      10/14/2017   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      10/14/2017   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      10/14/2017   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      10/14/2017   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      10/14/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          34.94
      10/14/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.99
      10/14/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.69
      10/14/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.92
      10/14/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.23
      10/14/2017   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/14/2017   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      10/14/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      10/14/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      10/14/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      10/14/2017   742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/14/2017   742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
      10/14/2017   742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/14/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/14/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/14/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/14/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/14/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.33
      10/14/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.53
      10/14/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.93
      10/14/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.07
      10/14/2017   742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      10/14/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/14/2017   742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
      10/14/2017   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/14/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.51
      10/14/2017   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      10/14/2017   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.72
      10/14/2017   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      10/14/2017   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      10/14/2017   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      10/14/2017   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      10/14/2017   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      10/14/2017   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      10/14/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.12
      10/14/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.52
      10/14/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.67
      10/14/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.25
      10/14/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.74
      10/14/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.71
      10/14/2017   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      10/14/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      10/14/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      10/14/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      10/14/2017   742   RN0054   Owner Operator   Truck Payment                  CTMS - 205774 Tractor Lease           353.28
      10/14/2017   742   RN0054   Owner Operator   Truck Payment                  CTMS - 205985 Tractor Lease           353.28
      10/14/2017   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      10/14/2017   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      10/14/2017   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   742   RS0342   Owner Operator   IRP License Deduction          LCIL:2017 - 33738                       100
      10/14/2017   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      10/14/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      10/14/2017   742   RS0342   Owner Operator   Tire Purchase                  PO: 742-00359178 - PO System          113.16
      10/14/2017   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/14/2017   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      10/14/2017   742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      10/14/2017   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      10/14/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      10/14/2017   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/14/2017   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      10/14/2017   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      10/14/2017   742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          547.8
      10/14/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.66
      10/14/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.04
      10/14/2017   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          21.81
      10/14/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      10/14/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5

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      10/14/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/14/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/14/2017   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      10/14/2017   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      10/14/2017   843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/14/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.76
      10/14/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.29
      10/14/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          395.9
      10/14/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.77
      10/14/2017   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/14/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      10/14/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      10/21/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      10/21/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      10/21/2017   709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/21/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/21/2017   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.8
      10/21/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      10/21/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      10/21/2017   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      10/21/2017   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      10/21/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.62
      10/21/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           293
      10/21/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.8
      10/21/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.6
      10/21/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.96
      10/21/2017   709   AR0064   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     347.51
      10/21/2017   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      10/21/2017   709   AR0064   Owner Operator   Truck Payment                  CTMS - 206259 Q13147 Lease            440.14
      10/21/2017   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      10/21/2017   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                   -157.3
      10/21/2017   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      10/21/2017   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      10/21/2017   709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-14          20.15
      10/21/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.17
      10/21/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.25
      10/21/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           74.4
      10/21/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.01
      10/21/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.45
      10/21/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.02
      10/21/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.04
      10/21/2017   709   AV0021   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                       7.53
      10/21/2017   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      10/21/2017   709   AV0021   Owner Operator   Truck Payment                  CTMS - 206297 Q13169 Sublease         352.68
      10/21/2017   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      10/21/2017   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      10/21/2017   709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   709   BM0030   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     403.86
      10/21/2017   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      10/21/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      10/21/2017   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      10/21/2017   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      10/21/2017   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            400
      10/21/2017   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      10/21/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          412.7
      10/21/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.49
      10/21/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.04
      10/21/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.95
      10/21/2017   709   CC0134   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      11.82
      10/21/2017   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         301.87
      10/21/2017   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      10/21/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 206258 Q13168 sub lease        352.68
      10/21/2017   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/21/2017   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      10/21/2017   709   CM0119   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-14         350.22
      10/21/2017   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      10/21/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      10/21/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/21/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.73
      10/21/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.64
      10/21/2017   709   CM0119   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     231.82
      10/21/2017   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      10/21/2017   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      10/21/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/21/2017   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      10/21/2017   709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/21/2017   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      10/21/2017   709   cr0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/21/2017   709   cr0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/21/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.29
      10/21/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.83
      10/21/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.16
      10/21/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.73
      10/21/2017   709   CR0064   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      83.45
      10/21/2017   709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      10/21/2017   709   CR0064   Owner Operator   Repair Order                   CTMS - 206325 Towing                  283.33
      10/21/2017   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      10/21/2017   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      10/21/2017   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      10/21/2017   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.89
      10/21/2017   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      10/21/2017   709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00359629 - PO System           212.4
      10/21/2017   709   CS0091   Owner Operator   Truck Payment                  CTMS - 206264 Q1201                   278.76
      10/21/2017   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/21/2017   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      10/21/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.16
      10/21/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.46
      10/21/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.01
      10/21/2017   709   DL0029   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     184.54
      10/21/2017   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      10/21/2017   709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00357593 - PO System          379.95
      10/21/2017   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      10/21/2017   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      10/21/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.21
      10/21/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.22
      10/21/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.13
      10/21/2017   709   DL0107   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     304.32
      10/21/2017   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         260.57
      10/21/2017   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      10/21/2017   709   DL0107   Owner Operator   Truck Payment                  CTMS - 206301 Sublease                338.99
      10/21/2017   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      10/21/2017   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/21/2017   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      10/21/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.8
      10/21/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.09
      10/21/2017   709   DS0049   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                       91.9
      10/21/2017   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      10/21/2017   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      10/21/2017   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      10/21/2017   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      10/21/2017   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.98
      10/21/2017   709   DS0225   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     -36.25
      10/21/2017   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      10/21/2017   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/21/2017   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      10/21/2017   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/21/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/21/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/21/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/21/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/21/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          34.14
      10/21/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.69
      10/21/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.33

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      10/21/2017   709   EA0003   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     120.67
      10/21/2017   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      10/21/2017   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      10/21/2017   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      10/21/2017   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      10/21/2017   709   EG0062   Owner Operator   Broker Pre Pass                DrveWyze Ded TRK 33828                  9.84
      10/21/2017   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      10/21/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.53
      10/21/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.34
      10/21/2017   709   EG0062   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      31.19
      10/21/2017   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                       100
      10/21/2017   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      10/21/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      10/21/2017   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      10/21/2017   709   EO0014   Owner Operator   Broker Pre Pass                DrveWyze Ded TRK 33846                  9.84
      10/21/2017   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      10/21/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.14
      10/21/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.49
      10/21/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.71
      10/21/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.84
      10/21/2017   709   EO0014   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      17.52
      10/21/2017   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      10/21/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      10/21/2017   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      10/21/2017   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      10/21/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.49
      10/21/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.48
      10/21/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           223
      10/21/2017   709   FS0039   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      16.02
      10/21/2017   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      10/21/2017   709   FS0039   Owner Operator   Tire Purchase                  PO: 709-00358162 - PO System          205.39
      10/21/2017   709   FS0039   Owner Operator   Truck Payment                  CTMS - 206302 truck lease 3304        434.29
      10/21/2017   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/21/2017   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      10/21/2017   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/21/2017   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/21/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.42
      10/21/2017   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      10/21/2017   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      10/21/2017   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      10/21/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.33
      10/21/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.95
      10/21/2017   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      10/21/2017   709   GS0015   Owner Operator   Truck Payment                  CTMS - 206262 Lease                   252.11
      10/21/2017   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
      10/21/2017   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
      10/21/2017   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      10/21/2017   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      10/21/2017   709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/21/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/21/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/21/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/21/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.31
      10/21/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.64
      10/21/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.08
      10/21/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.72
      10/21/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.04
      10/21/2017   709   GW0043   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      12.77
      10/21/2017   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                42.19
      10/21/2017   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                42.19
      10/21/2017   709   GW0043   Owner Operator   Truck Payment                  CTMS - 206012 Tractor payback         422.75
      10/21/2017   709   GW0043   Owner Operator   Truck Payment                  CTMS - 206012 Truck Lease             298.33
      10/21/2017   709   GW0043   Owner Operator   Truck Payment                  CTMS - 206262 Tractor payback         422.75

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      10/21/2017   709   GW0043   Owner Operator   Truck Payment                  CTMS - 206262 Truck Lease             298.33
      10/21/2017   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      10/21/2017   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      10/21/2017   709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.48
      10/21/2017   709   HC0023   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      -8.25
      10/21/2017   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      10/21/2017   709   HC0023   Owner Operator   Truck Payment                  CTMS - 206259 Q13170                  352.68
      10/21/2017   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      10/21/2017   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      10/21/2017   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/21/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/21/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.04
      10/21/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.25
      10/21/2017   709   HG0007   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                       13.7
      10/21/2017   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      10/21/2017   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/21/2017   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      10/21/2017   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/21/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.23
      10/21/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.81
      10/21/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.64
      10/21/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.76
      10/21/2017   709   HG0027   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      57.25
      10/21/2017   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      10/21/2017   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      10/21/2017   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/21/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.05
      10/21/2017   709   IR0002   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     -53.35
      10/21/2017   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      10/21/2017   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      10/21/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/21/2017   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      10/21/2017   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      10/21/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      10/21/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      10/21/2017   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      10/21/2017   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      10/21/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/21/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/21/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.95
      10/21/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.24
      10/21/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.53
      10/21/2017   709   JC0292   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     263.76
      10/21/2017   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      10/21/2017   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
      10/21/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      10/21/2017   709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL 83rd St.                   6.4
      10/21/2017   709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL Belvidere                  9.6
      10/21/2017   709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL Cermak Rd.                 6.4
      10/21/2017   709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL Elgin Rd                   6.4
      10/21/2017   709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL South Beloit                 8
      10/21/2017   709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL South Beloit                 8
      10/21/2017   709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL South Beloit                 6
      10/21/2017   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      10/21/2017   709   JC0292   Owner Operator   Truck Payment                  CTMS - 206300 Q13197 Lease            276.63
      10/21/2017   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/21/2017   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      10/21/2017   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      10/21/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/21/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/21/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.76
      10/21/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.05
      10/21/2017   709   JG0017   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      68.81
      10/21/2017   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      10/21/2017   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86

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      10/21/2017   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      10/21/2017   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      10/21/2017   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      10/21/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/21/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      10/21/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      10/21/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/21/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.4
      10/21/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        447.14
      10/21/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        310.13
      10/21/2017   709   JG0072   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                    125.77
      10/21/2017   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                     32.99
      10/21/2017   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/21/2017   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      10/21/2017   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00358498 - PO System         484.11
      10/21/2017   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      10/21/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      10/21/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      10/21/2017   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/21/2017   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/21/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        500.17
      10/21/2017   709   JG0092   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        358.25
      10/21/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/21/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      61.7
      10/21/2017   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      10/21/2017   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      10/21/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
      10/21/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      10/21/2017   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.38
      10/21/2017   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/21/2017   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      10/21/2017   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      10/21/2017   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      10/21/2017   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.4
      10/21/2017   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        214.13
      10/21/2017   709   JR0099   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                    103.44
      10/21/2017   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/21/2017   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      10/21/2017   709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00359325 - PO System          79.53
      10/21/2017   709   JR0099   Owner Operator   Truck Payment                  CTMS - 206219 Truck Lease            278.76
      10/21/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      10/21/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      10/21/2017   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      10/21/2017   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      10/21/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/21/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/21/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/21/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/21/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        266.55
      10/21/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        475.39
      10/21/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.94
      10/21/2017   709   JS0265   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                    105.16
      10/21/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          2.51
      10/21/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/21/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      10/21/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      10/21/2017   709   KP0004   Owner Operator   Accident Claim                 10/14/17 KP0004 Accident             432.68
      10/21/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/21/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/21/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          291
      10/21/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        385.93
      10/21/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.52
      10/21/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        297.83
      10/21/2017   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      10/21/2017   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      10/21/2017   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      10/21/2017   709   LL0160   Owner Operator   Truck Payment                  CTMS - 206343 Lease Q1111            252.11
      10/21/2017   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      10/21/2017   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      10/21/2017   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/21/2017   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      10/21/2017   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          334
      10/21/2017   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        243.57

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      10/21/2017   709   LS0023   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     117.24
      10/21/2017   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      10/21/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      10/21/2017   709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00358161 - PO System          156.49
      10/21/2017   709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00358161 - PO System          278.65
      10/21/2017   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/21/2017   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      10/21/2017   709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.32
      10/21/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.73
      10/21/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.25
      10/21/2017   709   MA0092   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                         28
      10/21/2017   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      10/21/2017   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      10/21/2017   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      10/21/2017   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.56
      10/21/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.31
      10/21/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.67
      10/21/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.13
      10/21/2017   709   ME0053   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                       -5.1
      10/21/2017   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      10/21/2017   709   ME0053   Owner Operator   Truck Payment                  CTMS - 206258 Q1113 Lease             252.11
      10/21/2017   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/21/2017   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.05
      10/21/2017   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.42
      10/21/2017   709   MG0067   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                    -160.44
      10/21/2017   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      10/21/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/21/2017   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/21/2017   709   MM0093   Owner Operator   Charge back by affiliate       CTMS - 206300 Tractorrepairs 3         283.5
      10/21/2017   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      10/21/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              40
      10/21/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      10/21/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.2
      10/21/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.35
      10/21/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.66
      10/21/2017   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      10/21/2017   709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00359634 - PO System          270.83
      10/21/2017   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      10/21/2017   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/21/2017   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      10/21/2017   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      10/21/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            125
      10/21/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.25
      10/21/2017   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.79
      10/21/2017   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      10/21/2017   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      10/21/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/21/2017   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      10/21/2017   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      10/21/2017   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      10/21/2017   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/21/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.95
      10/21/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.33
      10/21/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.87
      10/21/2017   709   NB0029   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     266.88
      10/21/2017   709   NB0029   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.85
      10/21/2017   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      10/21/2017   709   NB0029   Owner Operator   Repair Order                   CTMS - 206325 Repair                  253.78
      10/21/2017   709   NB0029   Owner Operator   Truck Payment                  CTMS - 206342 Lease                   215.66
      10/21/2017   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/21/2017   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      10/21/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/21/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/21/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      10/21/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/21/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.43
      10/21/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.03
      10/21/2017   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      10/21/2017   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/21/2017   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      10/21/2017   709   NT9564   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     122.73
      10/21/2017   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                       100
      10/21/2017   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      10/21/2017   709   NT9564   Owner Operator   Tire Purchase                  PO: 709-00359328 - PO System          111.49
      10/21/2017   709   NT9564   Owner Operator   Truck Payment                  CTMS - 206258 Truck 73130 Leas        196.65
      10/21/2017   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/21/2017   709   RC0030   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     225.36
      10/21/2017   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      10/21/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/21/2017   709   RC0030   Owner Operator   Truck Payment                  CTMS - 206219 Down Payment lo         303.55
      10/21/2017   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      10/21/2017   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/21/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/21/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/21/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.46
      10/21/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.37
      10/21/2017   709   RC0089   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      -6.17
      10/21/2017   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      10/21/2017   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/21/2017   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/21/2017   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.11
      10/21/2017   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.69
      10/21/2017   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.88
      10/21/2017   709   RL0017   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      63.75
      10/21/2017   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      10/21/2017   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      10/21/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      10/21/2017   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/21/2017   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      10/21/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/21/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/21/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/21/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/21/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.54
      10/21/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.9
      10/21/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.2
      10/21/2017   709   RL0062   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     113.74
      10/21/2017   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      10/21/2017   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      10/21/2017   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00359686 - PO System           358.6
      10/21/2017   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      10/21/2017   709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/21/2017   709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      10/21/2017   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.94
      10/21/2017   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.66
      10/21/2017   709   RL0180   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     136.71
      10/21/2017   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
      10/21/2017   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      10/21/2017   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      10/21/2017   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      10/21/2017   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      10/21/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.2
      10/21/2017   709   RM0026   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      57.06
      10/21/2017   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      10/21/2017   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00358166 - PO System          310.67
      10/21/2017   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      10/21/2017   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      10/21/2017   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.35

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      10/21/2017   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      10/21/2017   709   RP0082   Owner Operator   Truck Payment                  CTMS - 206219 Q1202 Truck Leas        278.76
      10/21/2017   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      10/21/2017   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      10/21/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.97
      10/21/2017   709   RR0123   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     489.74
      10/21/2017   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      10/21/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      10/21/2017   709   RR0123   Owner Operator   T Chek Fee                     ExpressCheck Fee                         3.5
      10/21/2017   709   RR0123   Owner Operator   T Chek Fee                     Towing Q1248                             350
      10/21/2017   709   RR0123   Owner Operator   Truck Payment                  CTMS - 206264 Q1248                   311.97
      10/21/2017   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/21/2017   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      10/21/2017   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      10/21/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/21/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/21/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/21/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/21/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.66
      10/21/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          359.9
      10/21/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          102.7
      10/21/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.33
      10/21/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.32
      10/21/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.91
      10/21/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.56
      10/21/2017   709   SB0009   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     242.06
      10/21/2017   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      10/21/2017   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      10/21/2017   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      10/21/2017   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/21/2017   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      10/21/2017   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.14
      10/21/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.27
      10/21/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.58
      10/21/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.82
      10/21/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.95
      10/21/2017   709   SB0103   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      92.04
      10/21/2017   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      10/21/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/21/2017   709   SB0103   Owner Operator   Truck Payment                  CTMS - 206217 Sub Lease               388.33
      10/21/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      10/21/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                      2.5
      10/21/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/21/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/21/2017   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/21/2017   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/21/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.14
      10/21/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.18
      10/21/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/21/2017   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/21/2017   709   VB0015   Owner Operator   Charge back by affiliate       CTMS - 206393 Tank wash 701343          -280
      10/21/2017   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      10/21/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.31
      10/21/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            237
      10/21/2017   709   VB0015   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     155.47
      10/21/2017   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      10/21/2017   709   VB0015   Owner Operator   Truck Payment                  CTMS - 206262 Tractor Sub leas        242.03
      10/21/2017   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                  -340.41
      10/21/2017   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.34
      10/21/2017   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/21/2017   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      10/21/2017   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      10/21/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/21/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             160
      10/21/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      10/21/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      10/21/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.66
      10/21/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.83
      10/21/2017   709   VJ0006   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     230.04
      10/21/2017   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      10/21/2017   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/21/2017   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      10/21/2017   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      10/21/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/21/2017   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      10/21/2017   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      10/21/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.14
      10/21/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.19
      10/21/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.66
      10/21/2017   709   WH0087   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      15.62
      10/21/2017   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      10/21/2017   709   WH0087   Owner Operator   Truck Payment                  CTMS - 206264 Q1238 Lease             311.97
      10/21/2017   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      10/21/2017   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      10/21/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/21/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/21/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/21/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/21/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/21/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/21/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.96
      10/21/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.56
      10/21/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.45
      10/21/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      10/21/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.92
      10/21/2017   742   AP0047   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      53.81
      10/21/2017   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      10/21/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      10/21/2017   742   AS0089   Owner Operator   Broker Pre Pass                Drivewyze charged in error cxl        -19.68
      10/21/2017   742   AS0089   Owner Operator   Broker Pre Pass                DrveWyze Ded TRK 33912                  9.84
      10/21/2017   742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      10/21/2017   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   742   AS0089   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      28.94
      10/21/2017   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/21/2017   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      10/21/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.09
      10/21/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.06
      10/21/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.08
      10/21/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.44
      10/21/2017   742   BS0078   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     128.92
      10/21/2017   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      10/21/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/21/2017   742   BS0078   Owner Operator   Repair Order                   CTMS - 206355 repair                    200
      10/21/2017   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      10/21/2017   742   CA0089   Owner Operator   Broker Pre Pass                DrveWyze Ded TRK 33987                  9.84
      10/21/2017   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      10/21/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.12
      10/21/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.46
      10/21/2017   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      10/21/2017   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/21/2017   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      10/21/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.96
      10/21/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.15
      10/21/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.55
      10/21/2017   742   CT0085   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      22.27
      10/21/2017   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/21/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/21/2017   742   CT0085   Owner Operator   Truck Payment                  CTMS - 206297 Sub Lease Q13171        352.68
      10/21/2017   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/21/2017   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      10/21/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.27
      10/21/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           430

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      10/21/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.27
      10/21/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.01
      10/21/2017   742   DA0067   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      60.86
      10/21/2017   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      10/21/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/21/2017   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/21/2017   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      10/21/2017   742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.03
      10/21/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          434.1
      10/21/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.75
      10/21/2017   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      10/21/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/21/2017   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      10/21/2017   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      10/21/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.22
      10/21/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.39
      10/21/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.57
      10/21/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.87
      10/21/2017   742   ED0041   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      56.67
      10/21/2017   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      10/21/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      10/21/2017   742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00356838 - PO System          228.03
      10/21/2017   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - East             7
      10/21/2017   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/21/2017   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      10/21/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.5
      10/21/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.79
      10/21/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.2
      10/21/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.24
      10/21/2017   742   EN0016   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      54.92
      10/21/2017   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      10/21/2017   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      10/21/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/21/2017   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      10/21/2017   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      10/21/2017   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      10/21/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      10/21/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      10/21/2017   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      10/21/2017   742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      10/21/2017   742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.91
      10/21/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.16
      10/21/2017   742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      10/21/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      10/21/2017   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/21/2017   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      10/21/2017   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      10/21/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/21/2017   742   MK0078   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    -35
      10/21/2017   742   MK0078   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   17.5
      10/21/2017   742   MK0078   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/21/2017   742   MK0078   Owner Operator   Communication Charge           PNet Hware 33761                          13
      10/21/2017   742   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   742   MK0078   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     318.33
      10/21/2017   742   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             95
      10/21/2017   742   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   MK0078   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   38.29
      10/21/2017   742   MK0078   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   76.55
      10/21/2017   742   MK0078   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 -153.13
      10/21/2017   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      10/21/2017   742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.18
      10/21/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.92
      10/21/2017   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/21/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      10/21/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      10/21/2017   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      10/21/2017   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      10/21/2017   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      10/21/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/21/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/21/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.69
      10/21/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.61
      10/21/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      10/21/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.11
      10/21/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.56
      10/21/2017   742   MT0112   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      14.35
      10/21/2017   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      10/21/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      10/21/2017   742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00358112 - PO System          163.45
      10/21/2017   742   MT0112   Owner Operator   Truck Payment                  CTMS - 206258 Q1247 Sub Lease         311.97
      10/21/2017   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      10/21/2017   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      10/21/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.56
      10/21/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.82
      10/21/2017   742   NG0024   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      99.02
      10/21/2017   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      10/21/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      10/21/2017   742   NG0024   Owner Operator   Tire Fee                       Tire Fee: 2061286                          4
      10/21/2017   742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00360155 - PO System           103.1
      10/21/2017   742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/21/2017   742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
      10/21/2017   742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/21/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/21/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.96
      10/21/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.44
      10/21/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.94
      10/21/2017   742   NK0013   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      46.33
      10/21/2017   742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      10/21/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/21/2017   742   NK0013   Owner Operator   Toll Charges                   34038 NTTA Plaza 8 - N. Carrol          4.96
      10/21/2017   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      10/21/2017   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      10/21/2017   742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
      10/21/2017   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/21/2017   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      10/21/2017   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      10/21/2017   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/21/2017   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/21/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/21/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/21/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.99
      10/21/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.49
      10/21/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.36
      10/21/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.25
      10/21/2017   742   PC0012   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     133.76
      10/21/2017   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      10/21/2017   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      10/21/2017   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   76.66
      10/21/2017   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      10/21/2017   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      10/21/2017   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      10/21/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.74
      10/21/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.37
      10/21/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.37
      10/21/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.91
      10/21/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.77
      10/21/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.48
      10/21/2017   742   RN0054   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      90.13
      10/21/2017   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      10/21/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      10/21/2017   742   RN0054   Owner Operator   Truck Payment                  CTMS - 206219 Tractor Lease           353.28

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      10/21/2017   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      10/21/2017   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      10/21/2017   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.16
      10/21/2017   742   RS0342   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     478.84
      10/21/2017   742   RS0342   Owner Operator   IRP License Deduction          LCIL:2017 - 33738                       100
      10/21/2017   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      10/21/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      10/21/2017   742   RS0342   Owner Operator   Tire Purchase                  PO: 742-00359178 - PO System          113.16
      10/21/2017   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/21/2017   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      10/21/2017   742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      10/21/2017   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      10/21/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      10/21/2017   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/21/2017   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      10/21/2017   742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.65
      10/21/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.44
      10/21/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.58
      10/21/2017   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      10/21/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/21/2017   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      10/21/2017   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      10/21/2017   843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/21/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.38
      10/21/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.54
      10/21/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.28
      10/21/2017   843   EI0003   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     439.65
      10/21/2017   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/21/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      10/21/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      10/28/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      10/28/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      10/28/2017   709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/28/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      10/28/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      10/28/2017   709   AN0007   Owner Operator   Toll Charges                   21157A FasTrak LOS ALISOS BLVD          0.61
      10/28/2017   709   AN0007   Owner Operator   Toll Charges                   21157A FasTrak OSO PARKWAY ON           1.44
      10/28/2017   709   AN0007   Owner Operator   Toll Charges                   21157A FasTrak TOMATO SPRINGS          10.08
      10/28/2017   709   AN0007   Owner Operator   Toll Charges                   21157A FasTrak TOMATO SPRINGS          10.08
      10/28/2017   709   AN0007   Owner Operator   Toll Charges                   21157A FasTrak TOMATO SPRINGS          10.08
      10/28/2017   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      10/28/2017   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      10/28/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.9
      10/28/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           217
      10/28/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.32
      10/28/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.28
      10/28/2017   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      10/28/2017   709   AR0064   Owner Operator   Truck Payment                  CTMS - 206459 Q13147 Lease            440.14
      10/28/2017   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    57.45
      10/28/2017   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      10/28/2017   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      10/28/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.85
      10/28/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.72
      10/28/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.06
      10/28/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.01
      10/28/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             99
      10/28/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.99
      10/28/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           298
      10/28/2017   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      10/28/2017   709   AV0021   Owner Operator   Tire Fee                       Tire Fee: 2065794                          8
      10/28/2017   709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00356863 - PO System          173.34
      10/28/2017   709   AV0021   Owner Operator   Truck Payment                  CTMS - 206507 Q13169 Sublease         352.68
      10/28/2017   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      10/28/2017   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13

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      10/28/2017   709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/28/2017   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      10/28/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      10/28/2017   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      10/28/2017   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      10/28/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          435.2
      10/28/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.1
      10/28/2017   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         301.87
      10/28/2017   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      10/28/2017   709   CC0134   Owner Operator   Repair Order                   CTMS - 206484 Repair Pump               200
      10/28/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 206458 Q13168 sub lease        352.68
      10/28/2017   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/28/2017   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      10/28/2017   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      10/28/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.98
      10/28/2017   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      10/28/2017   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      10/28/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/28/2017   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      10/28/2017   709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/28/2017   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      10/28/2017   709   cr0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/28/2017   709   cr0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/28/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.31
      10/28/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.79
      10/28/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          70.83
      10/28/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.35
      10/28/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.96
      10/28/2017   709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      10/28/2017   709   CR0064   Owner Operator   Toll Charges                   32864 FasTrak Carquinez Bridge            25
      10/28/2017   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      10/28/2017   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      10/28/2017   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      10/28/2017   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.79
      10/28/2017   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      10/28/2017   709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00359629 - PO System           212.4
      10/28/2017   709   CS0091   Owner Operator   Truck Payment                  CTMS - 206464 Q1201                   278.76
      10/28/2017   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/28/2017   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      10/28/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.46
      10/28/2017   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      10/28/2017   709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00357593 - PO System           22.13
      10/28/2017   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      10/28/2017   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      10/28/2017   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/28/2017   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/28/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.06
      10/28/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.77
      10/28/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.41
      10/28/2017   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         260.57
      10/28/2017   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      10/28/2017   709   DL0107   Owner Operator   Truck Payment                  CTMS - 206512 Sublease                338.99
      10/28/2017   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      10/28/2017   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/28/2017   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      10/28/2017   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/28/2017   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/28/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.09
      10/28/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.46
      10/28/2017   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      10/28/2017   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      10/28/2017   709   DS0049   Owner Operator   Toll Charges                   32915/TL9207 FasTrak Bay Bridg            25
      10/28/2017   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      10/28/2017   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      10/28/2017   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.32

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      10/28/2017   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      10/28/2017   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                         26.25
      10/28/2017   709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      10/28/2017   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         167.24
      10/28/2017   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         205.53
      10/28/2017   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      10/28/2017   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         393.86
      10/28/2017   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/28/2017   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      10/28/2017   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/28/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/28/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/28/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/28/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/28/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.98
      10/28/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.59
      10/28/2017   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      10/28/2017   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      10/28/2017   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      10/28/2017   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/28/2017   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/28/2017   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      10/28/2017   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      10/28/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/28/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/28/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/28/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/28/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.09
      10/28/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.66
      10/28/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.98
      10/28/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.76
      10/28/2017   709   EE0011   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                      64.27
      10/28/2017   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      10/28/2017   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      10/28/2017   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      10/28/2017   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      10/28/2017   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      10/28/2017   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      10/28/2017   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      10/28/2017   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      10/28/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.25
      10/28/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.34
      10/28/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          166.1
      10/28/2017   709   EG0062   Owner Operator   IRP License Deduction          LCIL:2017 - 33828                      88.72
      10/28/2017   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      10/28/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      10/28/2017   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      10/28/2017   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      10/28/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.72
      10/28/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.98
      10/28/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.74
      10/28/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.67
      10/28/2017   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      10/28/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      10/28/2017   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      10/28/2017   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      10/28/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.27
      10/28/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.09
      10/28/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.09
      10/28/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.1
      10/28/2017   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      10/28/2017   709   FS0039   Owner Operator   Tire Purchase                  PO: 709-00358162 - PO System          205.36
      10/28/2017   709   FS0039   Owner Operator   Truck Payment                  CTMS - 206513 truck lease 3304        434.29
      10/28/2017   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/28/2017   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      10/28/2017   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      10/28/2017   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/28/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                           371.9
      10/28/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          462.49
      10/28/2017   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    82.01
      10/28/2017   709   FV0001   Owner Operator   Toll Charges                   21521B FasTrak Bay Bridge 17               25
      10/28/2017   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL              8.75
      10/28/2017   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                           13
      10/28/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.61
      10/28/2017   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD              39.04
      10/28/2017   709   GS0015   Owner Operator   Truck Payment                  CTMS - 206463 Lease                    252.11
      10/28/2017   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                 8.75
      10/28/2017   709   GW0043   Owner Operator   Loan Repayment                 Credit ExpCk 175206 s/u loan         -5243.92
      10/28/2017   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                 42.18
      10/28/2017   709   GW0043   Owner Operator   T Chek Fee                     ExpressCheck Fee                        51.92
      10/28/2017   709   GW0043   Owner Operator   T Chek Fee                     Towing Q1263                          4668.45
      10/28/2017   709   GW0043   Owner Operator   Truck Payment                  CTMS - 206461 Tractor payback          422.75
      10/28/2017   709   GW0043   Owner Operator   Truck Payment                  CTMS - 206461 Truck Lease              298.33
      10/28/2017   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             8.75
      10/28/2017   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                           8
      10/28/2017   709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/28/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.13
      10/28/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           380.8
      10/28/2017   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             35.15
      10/28/2017   709   HC0023   Owner Operator   Truck Payment                  CTMS - 206458 Q13170                   352.68
      10/28/2017   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                  8.75
      10/28/2017   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                           13
      10/28/2017   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/28/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.42
      10/28/2017   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                  15.61
      10/28/2017   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      10/28/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                           96.67
      10/28/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          214.86
      10/28/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                           95.29
      10/28/2017   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       54.68
      10/28/2017   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                     21.34
      10/28/2017   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      10/28/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          343.32
      10/28/2017   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                       32.99
      10/28/2017   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.64
      10/28/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      10/28/2017   709   IR0002   Owner Operator   Repair Order                   CTMS - 206548 Flat Repair               -10.5
      10/28/2017   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                          521.95
      10/28/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                           14.44
      10/28/2017   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      10/28/2017   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                           13
      10/28/2017   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      10/28/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      10/28/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      10/28/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.88
      10/28/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          394.52
      10/28/2017   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                       32.99
      10/28/2017   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    90.85
      10/28/2017   709   JG0017   Owner Operator   Tire Fee                       Tire Fee: 2065767                          40
      10/28/2017   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00360073 - PO System           642.96
      10/28/2017   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                           504.6
      10/28/2017   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      10/28/2017   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                           13
      10/28/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/28/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             300
      10/28/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      10/28/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/28/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.15
      10/28/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          525.76
      10/28/2017   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                       32.99
      10/28/2017   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      10/28/2017   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      10/28/2017   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00358498 - PO System          484.11
      10/28/2017   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      10/28/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/28/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      10/28/2017   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/28/2017   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/28/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.12
      10/28/2017   709   JG0092   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         358.25
      10/28/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      10/28/2017   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      10/28/2017   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      10/28/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/28/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/28/2017   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.6
      10/28/2017   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.77
      10/28/2017   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      10/28/2017   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      10/28/2017   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      10/28/2017   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.56
      10/28/2017   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.17
      10/28/2017   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      10/28/2017   709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00359325 - PO System           79.53
      10/28/2017   709   JR0099   Owner Operator   Truck Payment                  CTMS - 206424 Truck Lease             278.76
      10/28/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      10/28/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      10/28/2017   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      10/28/2017   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/28/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/28/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/28/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/28/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/28/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.49
      10/28/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.14
      10/28/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.69
      10/28/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      10/28/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      10/28/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      10/28/2017   709   KP0004   Owner Operator   Accident Claim                 10/14/17 KP0004 Accident             1567.32
      10/28/2017   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/28/2017   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/28/2017   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      10/28/2017   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      10/28/2017   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/28/2017   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/28/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/28/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/28/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/28/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/28/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.41
      10/28/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.39
      10/28/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.75
      10/28/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             75
      10/28/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.03
      10/28/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      10/28/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.01
      10/28/2017   709   KP0004   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                     292.35
      10/28/2017   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      10/28/2017   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      10/28/2017   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      10/28/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      10/28/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/28/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/28/2017   709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00358500 - PO System          344.04
      10/28/2017   709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00358500 - PO System          344.07
      10/28/2017   709   KP0004   Owner Operator   Toll Charges                   32914 TxTag SH South Plaza L               7
      10/28/2017   709   KP0004   Owner Operator   Toll Charges                   32914 TxTag Ship Channel Bridg             7

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      10/28/2017   709   KP0004   Owner Operator   Toll Charges                   32914 TxTag Ship Channel Bridg             7
      10/28/2017   709   KP0004   Owner Operator   Toll Charges                   32914 TxTag Ship Channel Bridg           3.5
      10/28/2017   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      10/28/2017   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      10/28/2017   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      10/28/2017   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      10/28/2017   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      10/28/2017   709   LL0160   Owner Operator   Truck Payment                  CTMS - 206574 Lease Q1111             252.11
      10/28/2017   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      10/28/2017   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      10/28/2017   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/28/2017   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/28/2017   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         604.62
      10/28/2017   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      10/28/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      10/28/2017   709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00358161 - PO System          278.61
      10/28/2017   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/28/2017   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      10/28/2017   709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/28/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           9.43
      10/28/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.93
      10/28/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.57
      10/28/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.04
      10/28/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.68
      10/28/2017   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      10/28/2017   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      10/28/2017   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      10/28/2017   709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/28/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.53
      10/28/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                            315
      10/28/2017   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      10/28/2017   709   ME0053   Owner Operator   Toll Charges                   Q1113 TxTag Plaza 10 Irving             2.28
      10/28/2017   709   ME0053   Owner Operator   Toll Charges                   Q1113 TxTag Ship Channel Bridg             7
      10/28/2017   709   ME0053   Owner Operator   Toll Charges                   Q1113 TxTag Ship Channel Bridg           3.5
      10/28/2017   709   ME0053   Owner Operator   Truck Payment                  CTMS - 206458 Q1113 Lease             252.11
      10/28/2017   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/28/2017   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.02
      10/28/2017   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.04
      10/28/2017   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      10/28/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/28/2017   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/28/2017   709   MM0093   Owner Operator   Charge back by affiliate       CTMS - 206511 Tractorrepairs 3         283.5
      10/28/2017   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      10/28/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/28/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              40
      10/28/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      10/28/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/28/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.1
      10/28/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.12
      10/28/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.71
      10/28/2017   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.11
      10/28/2017   709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00359634 - PO System          270.83
      10/28/2017   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      10/28/2017   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/28/2017   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      10/28/2017   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           1000
      10/28/2017   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      10/28/2017   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      10/28/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/28/2017   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      10/28/2017   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      10/28/2017   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      10/28/2017   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
      10/28/2017   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      10/28/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.23
      10/28/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.31
      10/28/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.27

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      10/28/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.42
      10/28/2017   709   NB0029   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.85
      10/28/2017   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      10/28/2017   709   NB0029   Owner Operator   Truck Payment                  CTMS - 206573 Lease                   215.66
      10/28/2017   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/28/2017   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      10/28/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/28/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/28/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.78
      10/28/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.27
      10/28/2017   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      10/28/2017   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/28/2017   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      10/28/2017   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                       100
      10/28/2017   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      10/28/2017   709   NT9564   Owner Operator   Tire Purchase                  PO: 709-00359328 - PO System          111.49
      10/28/2017   709   NT9564   Owner Operator   Truck Payment                  CTMS - 206458 Truck 73130 Leas        196.65
      10/28/2017   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/28/2017   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      10/28/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/28/2017   709   RC0030   Owner Operator   Truck Payment                  CTMS - 206424 Down Payment lo         303.55
      10/28/2017   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.19
      10/28/2017   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/28/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/28/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/28/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.35
      10/28/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.89
      10/28/2017   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      10/28/2017   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/28/2017   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/28/2017   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.23
      10/28/2017   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.54
      10/28/2017   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      10/28/2017   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      10/28/2017   709   RL0017   Owner Operator   Toll Charges                   33062 TxTag SH Northbound Ma             3.5
      10/28/2017   709   RL0017   Owner Operator   Toll Charges                   33062 TxTag Ship Channel Bridg             7
      10/28/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      10/28/2017   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/28/2017   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      10/28/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/28/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/28/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.31
      10/28/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.08
      10/28/2017   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      10/28/2017   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      10/28/2017   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00359686 - PO System           358.6
      10/28/2017   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      10/28/2017   709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/28/2017   709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      10/28/2017   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/28/2017   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.93
      10/28/2017   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                       100
      10/28/2017   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      10/28/2017   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      10/28/2017   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      10/28/2017   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      10/28/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.64
      10/28/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.77
      10/28/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          402.5
      10/28/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.86
      10/28/2017   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      10/28/2017   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00358166 - PO System           310.6
      10/28/2017   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      10/28/2017   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13

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      10/28/2017   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.21
      10/28/2017   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      10/28/2017   709   RP0082   Owner Operator   Truck Payment                  CTMS - 206424 Q1202 Truck Leas        278.76
      10/28/2017   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      10/28/2017   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      10/28/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/28/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/28/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.57
      10/28/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.08
      10/28/2017   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      10/28/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      10/28/2017   709   RR0123   Owner Operator   T Chek Fee                     ExpressCheck Fee                        8.48
      10/28/2017   709   RR0123   Owner Operator   T Chek Fee                     Tractor Repair Q1248                  847.87
      10/28/2017   709   RR0123   Owner Operator   Truck Payment                  CTMS - 206464 Q1248                   311.97
      10/28/2017   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/28/2017   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      10/28/2017   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/28/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/28/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/28/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           209
      10/28/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.73
      10/28/2017   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.42
      10/28/2017   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      10/28/2017   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      10/28/2017   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      10/28/2017   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/28/2017   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      10/28/2017   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/28/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.54
      10/28/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.93
      10/28/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                           280
      10/28/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.69
      10/28/2017   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      10/28/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/28/2017   709   SB0103   Owner Operator   Tire Fee                       Tire Fee: 2064816                          4
      10/28/2017   709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00360157 - PO System           10.11
      10/28/2017   709   SB0103   Owner Operator   Toll Charges                   33037 TxTag I820 East TEXpres            3.8
      10/28/2017   709   SB0103   Owner Operator   Truck Payment                  CTMS - 206422 Sub Lease               388.33
      10/28/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    56.95
      10/28/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                      2.5
      10/28/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/28/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/28/2017   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/28/2017   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/28/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.2
      10/28/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.99
      10/28/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          324.1
      10/28/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/28/2017   709   SN0019   Owner Operator   Truck Payment                  CTMS - 206484 Truck Rental              500
      10/28/2017   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/28/2017   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      10/28/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           407
      10/28/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.95
      10/28/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.01
      10/28/2017   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/28/2017   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      10/28/2017   709   VB0015   Owner Operator   Truck Payment                  CTMS - 206462 Tractor Sub leas        242.03
      10/28/2017   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   152.32
      10/28/2017   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/28/2017   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      10/28/2017   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/28/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            110
      10/28/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      10/28/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      10/28/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.1
      10/28/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.09
      10/28/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.24
      10/28/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.92

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      10/28/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.58
      10/28/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.18
      10/28/2017   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.51
      10/28/2017   709   VJ0006   Owner Operator   Repair Order                   CTMS - 206484 Repair Pump                  70
      10/28/2017   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      10/28/2017   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      10/28/2017   709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-4         -203.13
      10/28/2017   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
      10/28/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      10/28/2017   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      10/28/2017   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      10/28/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          117.34
      10/28/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.65
      10/28/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.21
      10/28/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.99
      10/28/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.48
      10/28/2017   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 60.47
      10/28/2017   709   WH0087   Owner Operator   Truck Payment                  CTMS - 206464 Q1238 Lease              311.97
      10/28/2017   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                   8.75
      10/28/2017   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                           13
      10/28/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.43
      10/28/2017   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                   52.33
      10/28/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris            2.5
      10/28/2017   742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                            8
      10/28/2017   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/28/2017   742   AS0089   Owner Operator   Toll Charges                   33912 TxTag Ship Channel Bridg              7
      10/28/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          131.75
      10/28/2017   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                       8.75
      10/28/2017   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                           13
      10/28/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          531.36
      10/28/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           502.1
      10/28/2017   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                       70.29
      10/28/2017   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL             8.75
      10/28/2017   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                           8
      10/28/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.49
      10/28/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.19
      10/28/2017   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD             42.18
      10/28/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te            2.5
      10/28/2017   742   CT0085   Owner Operator   Toll Charges                   Q13171 FasTrak Carquinez Bridg             25
      10/28/2017   742   CT0085   Owner Operator   Toll Charges                   Q13171 FasTrak Carquinez Bridg             25
      10/28/2017   742   CT0085   Owner Operator   Toll Charges                   Q13171 FasTrak Carquinez Bridg             25
      10/28/2017   742   CT0085   Owner Operator   Toll Charges                   Q13171 FasTrak Carquinez Bridg             25
      10/28/2017   742   CT0085   Owner Operator   Toll Charges                   Q13171 FasTrak Carquinez Bridg             25
      10/28/2017   742   CT0085   Owner Operator   Truck Payment                  CTMS - 206507 Sub Lease Q13171         352.68
      10/28/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           17.67
      10/28/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           163.1
      10/28/2017   742   DC0117   Owner Operator   Permits                        OR16:2017 - 34063                        0.06
      10/28/2017   742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843             100
      10/28/2017   742   EA0039   Owner Operator   Advance                        New Hire Equipment s/u pmts          -3894.78
      10/28/2017   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      10/28/2017   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                            8
      10/28/2017   742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/28/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          459.45
      10/28/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           452.9
      10/28/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          415.85
      10/28/2017   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    31.25
      10/28/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
      10/28/2017   742   EA0039   Owner Operator   Repair Order                   TRACTOR 33993                         3894.78
      10/28/2017   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                        8.75
      10/28/2017   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                           13
      10/28/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.84
      10/28/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.86
      10/28/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          274.94
      10/28/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          241.74
      10/28/2017   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                        27.33

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      10/28/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism                2.5
      10/28/2017   742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00356838 - PO System             228
      10/28/2017   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      10/28/2017   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                           13
      10/28/2017   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/28/2017   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/28/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          239.21
      10/28/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.34
      10/28/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.11
      10/28/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.68
      10/28/2017   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                       32.99
      10/28/2017   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    70.89
      10/28/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      10/28/2017   742   EN0016   Owner Operator   Toll Charges                   32947 FasTrak Antioch Bridge 1             25
      10/28/2017   742   EN0016   Owner Operator   Toll Charges                   32947/702097 FasTrak Carquinez             25
      10/28/2017   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                           419.4
      10/28/2017   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                8.75
      10/28/2017   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                          13
      10/28/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD                54.68
      10/28/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro            2.5
      10/28/2017   742   IK0012   Owner Operator   Advance                        New Hire Equip SL 402-092844             100
      10/28/2017   742   IK0012   Owner Operator   Advance                        New Hire Equipment s/u pmts          -3894.78
      10/28/2017   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL              8.75
      10/28/2017   742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                           13
      10/28/2017   742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/28/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.46
      10/28/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.36
      10/28/2017   742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD              35.15
      10/28/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter            2.5
      10/28/2017   742   IK0012   Owner Operator   Repair Order                   TRACTOR 33922                         3894.78
      10/28/2017   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      10/28/2017   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                           13
      10/28/2017   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/28/2017   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                              75
      10/28/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      10/28/2017   742   MH0117   Owner Operator   Toll Charges                   33296 TxTag Ship Channel Bridg              7
      10/28/2017   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                     20.17
      10/28/2017   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      10/28/2017   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                            8
      10/28/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                             500
      10/28/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      10/28/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            300
      10/28/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            250
      10/28/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           219.9
      10/28/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            250
      10/28/2017   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 72.54
      10/28/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror            2.5
      10/28/2017   742   MT0112   Owner Operator   Tire Purchase                  PO: 742-00358112 - PO System           163.39
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Antioch Bridge 2             25
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Bay Bridge 11                25
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Bay Bridge 16                25
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Bay Bridge 8                 25
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Bay Bridge 9                 25
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Benicia 12                   25
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Benicia 12                   15
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Benicia 12                   20
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Carquinez Bridge             25
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Richmond 7                   25
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak Richmond 7                   25
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak San Mateo 4                  25
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak San Mateo 5                  25
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak San Mateo 5                  25
      10/28/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 FasTrak San Mateo 7                  25
      10/28/2017   742   MT0112   Owner Operator   Truck Payment                  CTMS - 206458 Q1247 Sub Lease          311.97
      10/28/2017   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75
      10/28/2017   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                           13
      10/28/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          431.55
      10/28/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.83
      10/28/2017   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      10/28/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             100.76
      10/28/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            2.5
      10/28/2017   742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00360155 - PO System            103.1
      10/28/2017   742   NG0024   Owner Operator   Toll Charges                   33252 FasTrak Carquinez Bridge             25
      10/28/2017   742   NG0024   Owner Operator   Toll Charges                   33252 FasTrak Carquinez Bridge             25
      10/28/2017   742   NG0024   Owner Operator   Toll Charges                   33252 TxTag Direct Connect NB               1
      10/28/2017   742   NG0024   Owner Operator   Toll Charges                   33252 TxTag Direct Connect SB               2
      10/28/2017   742   NG0024   Owner Operator   Toll Charges                   33252 TxTag Old Alice Road Exi              2
      10/28/2017   742   NG0024   Owner Operator   Toll Charges                   33252 TxTag Ship Channel Bridg              7
      10/28/2017   742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845             100
      10/28/2017   742   NK0013   Owner Operator   Advance                        New Hire Equipment s/u pmts          -3833.31
      10/28/2017   742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      10/28/2017   742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                           13
      10/28/2017   742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/28/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/28/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/28/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/28/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/28/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          377.04
      10/28/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.28
      10/28/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                            333
      10/28/2017   742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                     28.9
      10/28/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      10/28/2017   742   NK0013   Owner Operator   Repair Order                   TRACTOR 34038                         3833.31
      10/28/2017   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.55
      10/28/2017   742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                    50
      10/28/2017   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      10/28/2017   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      10/28/2017   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      10/28/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/28/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/28/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      10/28/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      10/28/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.15
      10/28/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          270.51
      10/28/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.46
      10/28/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.19
      10/28/2017   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                       32.99
      10/28/2017   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.35
      10/28/2017   742   PC0012   Owner Operator   Toll Charges                   32969 FasTrak Carquinez Bridge             25
      10/28/2017   742   PC0012   Owner Operator   Toll Charges                   32969 FasTrak Carquinez Bridge             25
      10/28/2017   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      10/28/2017   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             8.75
      10/28/2017   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                          13
      10/28/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          395.96
      10/28/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.27
      10/28/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          208.63
      10/28/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.15
      10/28/2017   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             35.15
      10/28/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
      10/28/2017   742   RN0054   Owner Operator   Toll Charges                   Q13157 TxTag Direct Connect NB              1
      10/28/2017   742   RN0054   Owner Operator   Toll Charges                   Q13157 TxTag Old Alice Road Ex              2
      10/28/2017   742   RN0054   Owner Operator   Truck Payment                  CTMS - 206424 Tractor Lease            353.28
      10/28/2017   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       8.75
      10/28/2017   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13
      10/28/2017   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/28/2017   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          335.66
      10/28/2017   742   RS0342   Owner Operator   IRP License Deduction          LCIL:2017 - 33738                        100
      10/28/2017   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                      143.18
      10/28/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism               2.5
      10/28/2017   742   RS0342   Owner Operator   Tire Purchase                  PO: 742-00359178 - PO System            113.1
      10/28/2017   742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842             100
      10/28/2017   742   SK0049   Owner Operator   Advance                        New Hire Equipment s/u pmts          -3894.78
      10/28/2017   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      10/28/2017   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
      10/28/2017   742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/28/2017   742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          430.54
      10/28/2017   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.58
      10/28/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5

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      10/28/2017   742   SK0049   Owner Operator   Repair Order                   TRACTOR 33934                         3894.78
      10/28/2017   742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841             100
      10/28/2017   742   TH0130   Owner Operator   Advance                        New Hire Equipment s/u pmts          -3894.78
      10/28/2017   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      10/28/2017   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
      10/28/2017   742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/28/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.22
      10/28/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          524.89
      10/28/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.54
      10/28/2017   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
      10/28/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      10/28/2017   742   TH0130   Owner Operator   Repair Order                   TRACTOR 33991                         3894.78
      10/28/2017   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                           8.75
      10/28/2017   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                           13
      10/28/2017   843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/28/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          196.18
      10/28/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          424.73
      10/28/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           298.9
      10/28/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          470.22
      10/28/2017   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/28/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           74.22
      10/28/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                   2.5
       11/4/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL             8.75
       11/4/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                          13
       11/4/2017   709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                              50
       11/4/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                             300
       11/4/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
       11/4/2017   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.55
       11/4/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       11/4/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD              7.82
       11/4/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te            2.5
       11/4/2017   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL             8.75
       11/4/2017   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                          13
       11/4/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.57
       11/4/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                            200
       11/4/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.72
       11/4/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.86
       11/4/2017   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       11/4/2017   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             35.16
       11/4/2017   709   AR0064   Owner Operator   Truck Payment                  CTMS - 206746 Q13147 Lease             440.14
       11/4/2017   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
       11/4/2017   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
       11/4/2017   709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                              50
       11/4/2017   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       11/4/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.13
       11/4/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
       11/4/2017   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
       11/4/2017   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
       11/4/2017   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             100
       11/4/2017   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       11/4/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.67
       11/4/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          406.55
       11/4/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          381.31
       11/4/2017   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          301.87
       11/4/2017   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       11/4/2017   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.16
       11/4/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 206745 Q13168 sub lease         352.68
       11/4/2017   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       11/4/2017   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
       11/4/2017   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                            300
       11/4/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
       11/4/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       11/4/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          410.21
       11/4/2017   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                       32.99
       11/4/2017   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       11/4/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.96
       11/4/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       11/4/2017   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
       11/4/2017   709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
       11/4/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          149.95
       11/4/2017   709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       11/4/2017   709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       39.07

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      11/4/2017    709   CR0064   Owner Operator   Repair Order                   CTMS - 206710 Towing                   147.48
      11/4/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                          245.63
      11/4/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL              8.75
      11/4/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                            8
      11/4/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.78
      11/4/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/4/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD              65.08
      11/4/2017    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00359629 - PO System            212.4
      11/4/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 206751 Q1201                    278.76
      11/4/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      11/4/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      11/4/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.21
      11/4/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          243.43
      11/4/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          243.51
      11/4/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          212.78
      11/4/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.85
      11/4/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/4/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     34.2
      11/4/2017    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00357593 - PO System           357.75
      11/4/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      11/4/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      11/4/2017    709   DL0107   Owner Operator   Express Check                  Close open loan to roll to new       22819.53
      11/4/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          508.44
      11/4/2017    709   DL0107   Owner Operator   Loan Repayment                 EFS 175979, Bal Loan 3              -25436.63
      11/4/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          260.57
      11/4/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/4/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 65.71
      11/4/2017    709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                        25.91
      11/4/2017    709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                  2591.19
      11/4/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 206820 Sublease                 338.99
      11/4/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                     18.38
      11/4/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      11/4/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
      11/4/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      11/4/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      11/4/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          423.83
      11/4/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                           184.3
      11/4/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.58
      11/4/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                       32.99
      11/4/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/4/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    92.35
      11/4/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                          512.35
      11/4/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      11/4/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          607.41
      11/4/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/4/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.07
      11/4/2017    709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                             35
      11/4/2017    709   DW0138   Owner Operator   FUEL TAX                       Aug 2017 Fuel Tax                       63.47
      11/4/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                       32.99
      11/4/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                       32.99
      11/4/2017    709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                       32.99
      11/4/2017    709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           83.92
      11/4/2017    709   DW0138   Owner Operator   Toll Charges                   33443 TxTag Ship Channel Bridg              7
      11/4/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                          463.27
      11/4/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                           69.41
      11/4/2017    709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                          463.27
      11/4/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      11/4/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
      11/4/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            100
      11/4/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/4/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/4/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           422.7
      11/4/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                       32.99
      11/4/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/4/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   105.47
      11/4/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                          555.56
      11/4/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      11/4/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                           13
      11/4/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/4/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/4/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/4/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/4/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.87

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      11/4/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.99
      11/4/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.99
      11/4/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.97
      11/4/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      11/4/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      11/4/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      11/4/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      11/4/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      11/4/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.55
      11/4/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.32
      11/4/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.16
      11/4/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      11/4/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/4/2017    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      11/4/2017    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      11/4/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.92
      11/4/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           185
      11/4/2017    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      11/4/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      11/4/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      11/4/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      11/4/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.89
      11/4/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          272.5
      11/4/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      11/4/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 206821 truck lease 3304        434.29
      11/4/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/4/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      11/4/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      11/4/2017    709   FV0001   Owner Operator   Tractor Wash                   CTMS - 206953 TL9205                     -50
      11/4/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      11/4/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      11/4/2017    709   GS0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-11       -894.47
      11/4/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.95
      11/4/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      11/4/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 206750 Lease                   252.11
      11/4/2017    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
      11/4/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      11/4/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      11/4/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                42.19
      11/4/2017    709   GW0043   Owner Operator   T Chek Fee                     Towing Q1263                          523.55
      11/4/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/4/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      11/4/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/4/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.52
      11/4/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.24
      11/4/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      11/4/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 206746 Q13170                  352.68
      11/4/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      11/4/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      11/4/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/4/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.57
      11/4/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      11/4/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/4/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      11/4/2017    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      11/4/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/4/2017    709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/4/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/4/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/4/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/4/2017    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/4/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.52
      11/4/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.05
      11/4/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          76.27

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      11/4/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.99
      11/4/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.94
      11/4/2017    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.27
      11/4/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      11/4/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      11/4/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/4/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.79
      11/4/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      11/4/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      11/4/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/4/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      11/4/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      11/4/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      11/4/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
      11/4/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
      11/4/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/4/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/4/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/4/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/4/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.35
      11/4/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.01
      11/4/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.58
      11/4/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.26
      11/4/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      11/4/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.11
      11/4/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      11/4/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                          71.07
      11/4/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      11/4/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/4/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      11/4/2017    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
      11/4/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      11/4/2017    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         2000
      11/4/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      11/4/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/4/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.66
      11/4/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.22
      11/4/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      11/4/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      11/4/2017    709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00360073 - PO System          642.96
      11/4/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      11/4/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/4/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      11/4/2017    709   JG0072   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-11        -75.63
      11/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             300
      11/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/4/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/4/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.79
      11/4/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.73
      11/4/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         527.57
      11/4/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      11/4/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      11/4/2017    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00358498 - PO System          484.06
      11/4/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      11/4/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/4/2017    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      11/4/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.22
      11/4/2017    709   JG0092   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         358.25
      11/4/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      11/4/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      11/4/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      11/4/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/4/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/4/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.14

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      11/4/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      11/4/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      11/4/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      11/4/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      11/4/2017    709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00359325 - PO System           79.47
      11/4/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 206690 Truck Lease             278.76
      11/4/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      11/4/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      11/4/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      11/4/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      11/4/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/4/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/4/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/4/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/4/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.11
      11/4/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.16
      11/4/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      11/4/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      11/4/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      11/4/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/4/2017    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-11       -131.25
      11/4/2017    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                      -5000
      11/4/2017    709   KP0004   Owner Operator   Express Check                  T-Check Payment                         5000
      11/4/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/4/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          133.5
      11/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            213
      11/4/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             94
      11/4/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      11/4/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      11/4/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/4/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      11/4/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      11/4/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      11/4/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/4/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/4/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.97
      11/4/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.77
      11/4/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      11/4/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      11/4/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/4/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      11/4/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/4/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           9.44
      11/4/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.12
      11/4/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.82
      11/4/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      11/4/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      11/4/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      11/4/2017    709   ME0053   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/4/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.56
      11/4/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.18
      11/4/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.61
      11/4/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      11/4/2017    709   ME0053   Owner Operator   Repair Order                   CTMS - 206710 Repair                      70
      11/4/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 206746 Q1113 Lease             252.11
      11/4/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/4/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      11/4/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/4/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/4/2017    709   MM0093   Owner Operator   Charge back by affiliate       CTMS - 206819 Tractorrepairs 3         283.5
      11/4/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      11/4/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/4/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/4/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.09

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      11/4/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.35
      11/4/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      11/4/2017    709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00359634 - PO System          270.83
      11/4/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      11/4/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/4/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      11/4/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      11/4/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/4/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/4/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.93
      11/4/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      11/4/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      11/4/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/4/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      11/4/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      11/4/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      11/4/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/4/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.03
      11/4/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.52
      11/4/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.51
      11/4/2017    709   NB0029   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.85
      11/4/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      11/4/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 206879 Lease                   215.66
      11/4/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      11/4/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      11/4/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/4/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/4/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.92
      11/4/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      11/4/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      11/4/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      11/4/2017    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2017 - 73130                      55.73
      11/4/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      11/4/2017    709   NT9564   Owner Operator   Tire Purchase                  PO: 709-00359328 - PO System          111.46
      11/4/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 206745 Truck 73130 Leas        196.65
      11/4/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/4/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      11/4/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/4/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 206690 Down Payment lo         303.55
      11/4/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      11/4/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/4/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/4/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/4/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.96
      11/4/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.32
      11/4/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      11/4/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      11/4/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      11/4/2017    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/4/2017    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-11        -93.75
      11/4/2017    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/4/2017    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           11.8
      11/4/2017    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      11/4/2017    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      11/4/2017    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      11/4/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/4/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      11/4/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/4/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/4/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.78
      11/4/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.99
      11/4/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      11/4/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      11/4/2017    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00359686 - PO System          358.54

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      11/4/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      11/4/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/4/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      11/4/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/4/2017    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2017 - 34012                      15.53
      11/4/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      11/4/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      11/4/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      11/4/2017    709   RM0026   Owner Operator   T Chek Fee                     ExpressCheck Fee                           8
      11/4/2017    709   RM0026   Owner Operator   T Chek Fee                     Tractor Repair 33664                  218.75
      11/4/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      11/4/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      11/4/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.21
      11/4/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchased At Shop                376.48
      11/4/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchased At Shop                298.66
      11/4/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchased At Shop                124.12
      11/4/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchased At Shop                419.64
      11/4/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      11/4/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 206691 Q1202 Truck Leas        278.76
      11/4/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      11/4/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      11/4/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/4/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/4/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.64
      11/4/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      11/4/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      11/4/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 206751 Q1248                   311.97
      11/4/2017    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      11/4/2017    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      11/4/2017    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/4/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.67
      11/4/2017    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.33
      11/4/2017    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      11/4/2017    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      11/4/2017    709   SB0009   Owner Operator   Repair Order                   CTMS - 206710 Replace Shocks          486.28
      11/4/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      11/4/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      11/4/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      11/4/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/4/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.87
      11/4/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.96
      11/4/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.08
      11/4/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      11/4/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      11/4/2017    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00360157 - PO System           10.11
      11/4/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 206688 Sub Lease               388.33
      11/4/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      11/4/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                      2.5
      11/4/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/4/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      11/4/2017    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/4/2017    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/4/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.36
      11/4/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      11/4/2017    709   SN0019   Owner Operator   Truck Payment                  CTMS - 206710 Truck Rental              500
      11/4/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      11/4/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      11/4/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.43
      11/4/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           461
      11/4/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      11/4/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 206750 Tractor Sub leas        242.03
      11/4/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      11/4/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/4/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      11/4/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200

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      11/4/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/4/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/4/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.59
      11/4/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.24
      11/4/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.03
      11/4/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      11/4/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/4/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      11/4/2017    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-28         203.13
      11/4/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      11/4/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/4/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      11/4/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      11/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.48
      11/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          209.3
      11/4/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.07
      11/4/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      11/4/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 206751 Q1238 Lease             311.97
      11/4/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      11/4/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      11/4/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/4/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/4/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/4/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/4/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/4/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/4/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.88
      11/4/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.15
      11/4/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.93
      11/4/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.02
      11/4/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      11/4/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      11/4/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      11/4/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/4/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/4/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      11/4/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           380
      11/4/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.61
      11/4/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.65
      11/4/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      11/4/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      11/4/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/4/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.29
      11/4/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          381.1
      11/4/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      11/4/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      11/4/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 206815 Sub Lease Q13171        352.68
      11/4/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/4/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/4/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      11/4/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      11/4/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.02
      11/4/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.34
      11/4/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      11/4/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      11/4/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/4/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/4/2017    742   DA0067   Owner Operator   Repair Order                   CTMS - 206718 repair                    130
      11/4/2017    742   DA0067   Owner Operator   Toll Charges                   33847 FasTrak Carquinez Bridge            25
      11/4/2017    742   DA0067   Owner Operator   Toll Charges                   33847 FasTrak Carquinez Bridge            25
      11/4/2017    742   DA0067   Owner Operator   Toll Charges                   33847 FasTrak Carquinez Bridge            25
      11/4/2017    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      11/4/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/4/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      11/4/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50

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      11/4/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.73
      11/4/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      11/4/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/4/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      11/4/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      11/4/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.84
      11/4/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.18
      11/4/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      11/4/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      11/4/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/4/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      11/4/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/4/2017    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/4/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.84
      11/4/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.58
      11/4/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.42
      11/4/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.34
      11/4/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      11/4/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      11/4/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/4/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      11/4/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      11/4/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      11/4/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      11/4/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      11/4/2017    742   IK0012   Owner Operator   Advance                        New Hire Equip SL 402-092844            100
      11/4/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      11/4/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      11/4/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/4/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           306
      11/4/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      11/4/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      11/4/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/4/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      11/4/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/4/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      11/4/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/4/2017    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      11/4/2017    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      11/4/2017    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.56
      11/4/2017    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.26
      11/4/2017    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      11/4/2017    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      11/4/2017    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      11/4/2017    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      11/4/2017    742   MS0230   Owner Operator   T Chek Fee                     ExpressCheck Fee                        79.5
      11/4/2017    742   MS0230   Owner Operator   T Chek Fee                     ExpressCheck Fee                         9.1
      11/4/2017    742   MS0230   Owner Operator   T Chek Fee                     ExpressCheck Fee                        7.25
      11/4/2017    742   MS0230   Owner Operator   T Chek Fee                     ExpressCheck Fee                        7.29
      11/4/2017    742   MS0230   Owner Operator   T Chek Fee                     Tractor Repair 34082                  728.61
      11/4/2017    742   MS0230   Owner Operator   T Chek Fee                     Tractor Repair 34082                    725
      11/4/2017    742   MS0230   Owner Operator   T Chek Fee                     Tractor Repair 34082                    910
      11/4/2017    742   MS0230   Owner Operator   T Chek Fee                     Tractor Repair 34082                  853.49
      11/4/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      11/4/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      11/4/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      11/4/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/4/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/4/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      11/4/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      11/4/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      11/4/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      11/4/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      11/4/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 206746 Q1247 Sub Lease         311.97
      11/4/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75

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      11/4/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      11/4/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/4/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/4/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.92
      11/4/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.86
      11/4/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.34
      11/4/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      11/4/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      11/4/2017    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00360155 - PO System           103.1
      11/4/2017    742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845            100
      11/4/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/4/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
      11/4/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                           9.75
      11/4/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/4/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/4/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/4/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/4/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.23
      11/4/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.59
      11/4/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.4
      11/4/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      11/4/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/4/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      11/4/2017    742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
      11/4/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/4/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      11/4/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/4/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/4/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/4/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.22
      11/4/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.05
      11/4/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          328.6
      11/4/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      11/4/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      11/4/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      11/4/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      11/4/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      11/4/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.13
      11/4/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.64
      11/4/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.49
      11/4/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.35
      11/4/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.84
      11/4/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      11/4/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      11/4/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 206690 Tractor Lease           353.28
      11/4/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      11/4/2017    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      11/4/2017    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/4/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.33
      11/4/2017    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2017 - 33738                       100
      11/4/2017    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      11/4/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      11/4/2017    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      11/4/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/4/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      11/4/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/4/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      11/4/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      11/4/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      11/4/2017    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      11/4/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/4/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      11/4/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/4/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.11
      11/4/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.55
      11/4/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/4/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      11/4/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5

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       11/4/2017   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       11/4/2017   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       11/4/2017   843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       11/4/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.32
       11/4/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.54
       11/4/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.58
       11/4/2017   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/4/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       11/4/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      11/11/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      11/11/2017   709   AN0007   Owner Operator   Broker Pre Pass                21157A PrePass Device                   12.5
      11/11/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      11/11/2017   709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                              60
      11/11/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      11/11/2017   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.96
      11/11/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   AN0007   Owner Operator   Permits                        21157A NY13 389494 NYHUTref           -13.15
      11/11/2017   709   AN0007   Owner Operator   Permits                        21157A NY13 595076 NYHUTref           -11.55
      11/11/2017   709   AN0007   Owner Operator   Permits                        21157A NY13 S96196 NYHUTref           -12.11
      11/11/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      11/11/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      11/11/2017   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      11/11/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.59
      11/11/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.47
      11/11/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.01
      11/11/2017   709   AR0064   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    526.25
      11/11/2017   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   AR0064   Owner Operator   Permits                        Q13147 NY13 337092 NYHUTref           -13.15
      11/11/2017   709   AR0064   Owner Operator   Permits                        Q13147 NY13 594873 NYHUTref           -11.55
      11/11/2017   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      11/11/2017   709   AR0064   Owner Operator   Truck Payment                  CTMS - 207015 Q13147 Lease            417.67
      11/11/2017   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      11/11/2017   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      11/11/2017   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                   -157.3
      11/11/2017   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      11/11/2017   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      11/11/2017   709   AV0021   Owner Operator   Broker Pre Pass                Q13169 PrePass Device                   12.5
      11/11/2017   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      11/11/2017   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      11/11/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.76
      11/11/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.78
      11/11/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.03
      11/11/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.48
      11/11/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.01
      11/11/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.05
      11/11/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.46
      11/11/2017   709   AV0021   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     26.74
      11/11/2017   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   AV0021   Owner Operator   Permits                        Q13169 NY13 594872 NYHUTref           -11.55
      11/11/2017   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      11/11/2017   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      11/11/2017   709   AV0021   Owner Operator   Repair Order                   CTMS - 206710 Repair                  129.58
      11/11/2017   709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00356863 - PO System          173.34
      11/11/2017   709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00356863 - PO System          173.34
      11/11/2017   709   AV0021   Owner Operator   Truck Payment                  CTMS - 206815 Q13169 Sublease         352.68
      11/11/2017   709   AV0021   Owner Operator   Truck Payment                  CTMS - 207060 Q13169 Sublease         352.68
      11/11/2017   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      11/11/2017   709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      11/11/2017   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      11/11/2017   709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   709   BM0030   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    532.88
      11/11/2017   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      11/11/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      11/11/2017   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      11/11/2017   709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
      11/11/2017   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      11/11/2017   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/11/2017   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/11/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.49
      11/11/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          42.73

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      11/11/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.19
      11/11/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.82
      11/11/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.61
      11/11/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.54
      11/11/2017   709   CC0134   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                      9.99
      11/11/2017   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         301.87
      11/11/2017   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   CC0134   Owner Operator   Permits                        Q13168 NY13 594868 NYHUTref           -11.55
      11/11/2017   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      11/11/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 207014 Q13168 sub lease        352.68
      11/11/2017   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/11/2017   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      11/11/2017   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      11/11/2017   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      11/11/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/11/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/11/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.63
      11/11/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         608.33
      11/11/2017   709   CM0119   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     -0.89
      11/11/2017   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      11/11/2017   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   CM0119   Owner Operator   Permits                        32920 NY13 595712 NYHUTref            -11.55
      11/11/2017   709   CM0119   Owner Operator   Permits                        32920 NY13 787646 NYHUTref            -13.15
      11/11/2017   709   CM0119   Owner Operator   Permits                        Q3201 NY13 389484 NYHUTref            -13.15
      11/11/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      11/11/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/11/2017   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      11/11/2017   709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/11/2017   709   CR0064   Owner Operator   Broker Pre Pass                32864 PrePass Device                    12.5
      11/11/2017   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      11/11/2017   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      11/11/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.94
      11/11/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.32
      11/11/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.19
      11/11/2017   709   CR0064   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                      0.51
      11/11/2017   709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   CR0064   Owner Operator   Permits                        31793 NY13 389777 NYHUTref            -13.15
      11/11/2017   709   CR0064   Owner Operator   Permits                        32864 NY13 595632 NYHUTref            -11.55
      11/11/2017   709   CR0064   Owner Operator   Permits                        32864 NY13 744902 NYHUTref            -13.15
      11/11/2017   709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      11/11/2017   709   CR0064   Owner Operator   Repair Order                   CTMS - 206710 Towing                  135.86
      11/11/2017   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      11/11/2017   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      11/11/2017   709   CS0091   Owner Operator   Broker Pre Pass                Q1201 PrePass Device                    12.5
      11/11/2017   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      11/11/2017   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.7
      11/11/2017   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   CS0091   Owner Operator   Permits                        Q1201 NY13 669352 NYHUTref            -11.55
      11/11/2017   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      11/11/2017   709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00359629 - PO System          212.33
      11/11/2017   709   CS0091   Owner Operator   Truck Payment                  CTMS - 207020 Q1201                   278.76
      11/11/2017   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/11/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.24
      11/11/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.83
      11/11/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.15
      11/11/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.77
      11/11/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.83
      11/11/2017   709   DL0029   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    124.16
      11/11/2017   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      11/11/2017   709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                       35.36
      11/11/2017   709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                 1918.33
      11/11/2017   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/11/2017   709   DL0107   Owner Operator   Broker Pre Pass                Q1245 PrePass Device                    12.5
      11/11/2017   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      11/11/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.72
      11/11/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.39
      11/11/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.54
      11/11/2017   709   DL0107   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     -0.29
      11/11/2017   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      11/11/2017   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   DL0107   Owner Operator   Permits                        Q1245 NY13 389593 NYHUTref            -13.15
      11/11/2017   709   DL0107   Owner Operator   Permits                        Q1245 NY13 618662 NYHUTref            -11.55

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      11/11/2017   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD             65.71
      11/11/2017   709   DL0107   Owner Operator   Truck Payment                  CTMS - 207058 Sublease             338.99
      11/11/2017   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                 18.38
      11/11/2017   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      11/11/2017   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                 12.5
      11/11/2017   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                       13
      11/11/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                      260.55
      11/11/2017   709   DS0049   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                   2.78
      11/11/2017   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                   32.99
      11/11/2017   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      11/11/2017   709   DS0049   Owner Operator   Permits                        32915 NY13 595704 NYHUTref         -11.55
      11/11/2017   709   DS0049   Owner Operator   Permits                        32915 NY13 783387 NYHUTref         -13.15
      11/11/2017   709   DS0049   Owner Operator   Permits                        9738 NY13 389991 NYHUTref          -13.15
      11/11/2017   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                92.35
      11/11/2017   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                      512.35
      11/11/2017   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                   8.75
      11/11/2017   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                      581.47
      11/11/2017   709   DS0225   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                 254.39
      11/11/2017   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      11/11/2017   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                   39.07
      11/11/2017   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      139.07
      11/11/2017   709   DW0138   Owner Operator   Permits                        33443 NY13 594550 NYHUTref         -11.55
      11/11/2017   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                      258.43
      11/11/2017   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      11/11/2017   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                 12.5
      11/11/2017   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                       13
      11/11/2017   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                        100
      11/11/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         100
      11/11/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      11/11/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      11/11/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                         200
      11/11/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      11/11/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      11/11/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      11/11/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      11/11/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      395.47
      11/11/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      434.56
      11/11/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      129.19
      11/11/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                      597.98
      11/11/2017   709   EA0003   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                  54.26
      11/11/2017   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                   32.99
      11/11/2017   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      11/11/2017   709   EA0003   Owner Operator   Permits                        33051 NY13 595811 NYHUTref         -11.55
      11/11/2017   709   EA0003   Owner Operator   Permits                        33051 NY13 870766 NYHUTref         -13.15
      11/11/2017   709   EA0003   Owner Operator   Permits                        51046C NY13 256154 NYHUTref        -12.11
      11/11/2017   709   EA0003   Owner Operator   Permits                        51046D NY13 744928 NYHUTref        -13.15
      11/11/2017   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               105.47
      11/11/2017   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                      555.56
      11/11/2017   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      11/11/2017   709   EE0011   Owner Operator   Broker Pre Pass                32910 PrePass Device                 12.5
      11/11/2017   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                       13
      11/11/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         200
      11/11/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                         200
      11/11/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      11/11/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      11/11/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          77
      11/11/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      261.92
      11/11/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                      201.02
      11/11/2017   709   EE0011   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                  27.43
      11/11/2017   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                   32.99
      11/11/2017   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      11/11/2017   709   EE0011   Owner Operator   Permits                        30675 NY13 255910 NYHUTref         -12.11
      11/11/2017   709   EE0011   Owner Operator   Permits                        30675A NY13 S96199 NYHUTref        -12.11
      11/11/2017   709   EE0011   Owner Operator   Permits                        30675B NY13 389538 NYHUTref        -13.15
      11/11/2017   709   EE0011   Owner Operator   Permits                        30675B NY13 U02798 NYHUTref        -12.11
      11/11/2017   709   EE0011   Owner Operator   Permits                        32910 NY13 595696 NYHUTref         -11.55
      11/11/2017   709   EE0011   Owner Operator   Permits                        32910 NY13 778978 NYHUTref         -13.15
      11/11/2017   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.92
      11/11/2017   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                      505.27
      11/11/2017   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                8.75
      11/11/2017   709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                 12.5
      11/11/2017   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                        8
      11/11/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       137.9

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      11/11/2017   709   EG0062   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     36.61
      11/11/2017   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      11/11/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/11/2017   709   EH0020   Owner Operator   Permits                        21856A NY13 389823 NYHUTref           -13.15
      11/11/2017   709   EH0020   Owner Operator   Permits                        33065 NY13 595818 NYHUTref            -11.55
      11/11/2017   709   EH0020   Owner Operator   Permits                        33065 NY13 876398 NYHUTref            -13.15
      11/11/2017   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      11/11/2017   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      11/11/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.88
      11/11/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            275
      11/11/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.63
      11/11/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.06
      11/11/2017   709   EO0014   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     24.69
      11/11/2017   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      11/11/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      11/11/2017   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      11/11/2017   709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
      11/11/2017   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      11/11/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.03
      11/11/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.45
      11/11/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.98
      11/11/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          154.7
      11/11/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.15
      11/11/2017   709   FS0039   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                      5.39
      11/11/2017   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   FS0039   Owner Operator   Permits                        33040 NY13 595793 NYHUTref            -11.55
      11/11/2017   709   FS0039   Owner Operator   Permits                        33040 NY13 858381 NYHUTref            -13.15
      11/11/2017   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      11/11/2017   709   FS0039   Owner Operator   Truck Payment                  CTMS - 207059 truck lease 3304        434.29
      11/11/2017   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/11/2017   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      11/11/2017   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      11/11/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.76
      11/11/2017   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   FV0001   Owner Operator   Permits                        21521A NY13 390236 NYHUTref           -13.15
      11/11/2017   709   FV0001   Owner Operator   Permits                        21521B NY13 595676 NYHUTref           -11.55
      11/11/2017   709   FV0001   Owner Operator   Permits                        21521B NY13 766578 NYHUTref           -13.15
      11/11/2017   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      11/11/2017   709   FV0001   Owner Operator   Toll Charges                   675525114 CANCELLED/RETURNED            -100
      11/11/2017   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      11/11/2017   709   GS0015   Owner Operator   Broker Pre Pass                Q1110 PrePass Device                    12.5
      11/11/2017   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      11/11/2017   709   GS0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-4          894.47
      11/11/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.26
      11/11/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.32
      11/11/2017   709   GS0015   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     78.26
      11/11/2017   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   GS0015   Owner Operator   Permits                        Q1110 NY13 537481 NYHUTref            -13.15
      11/11/2017   709   GS0015   Owner Operator   Permits                        Q1110 NY13 595343 NYHUTref            -11.55
      11/11/2017   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      11/11/2017   709   GS0015   Owner Operator   Truck Payment                  CTMS - 207018 Lease                   252.11
      11/11/2017   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
      11/11/2017   709   GW0043   Owner Operator   Broker Pre Pass                Q1263 PrePass Device                    12.5
      11/11/2017   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      11/11/2017   709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/11/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/11/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.99
      11/11/2017   709   GW0043   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    121.42
      11/11/2017   709   GW0043   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          256.1
      11/11/2017   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   GW0043   Owner Operator   Permits                        Q1263 NY13 595117 NYHUTref            -11.55
      11/11/2017   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                42.19
      11/11/2017   709   GW0043   Owner Operator   Truck Payment                  CTMS - 207098 Truck Lease             298.33
      11/11/2017   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/11/2017   709   HC0023   Owner Operator   Broker Pre Pass                Q13170 PrePass Device                   12.5
      11/11/2017   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      11/11/2017   709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.4
      11/11/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.77
      11/11/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.15

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      11/11/2017   709   HC0023   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    -10.71
      11/11/2017   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   HC0023   Owner Operator   Permits                        Q13170 NY13 594878 NYHUTref           -11.55
      11/11/2017   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      11/11/2017   709   HC0023   Owner Operator   Truck Payment                  CTMS - 207015 Q13170                  352.68
      11/11/2017   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      11/11/2017   709   HG0007   Owner Operator   Broker Pre Pass                33180 PrePass Device                    12.5
      11/11/2017   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      11/11/2017   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/11/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/11/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/11/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/11/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.27
      11/11/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.87
      11/11/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.36
      11/11/2017   709   HG0007   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     71.32
      11/11/2017   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   HG0007   Owner Operator   Permits                        21146C NY13 892740 NYHUTref           -13.15
      11/11/2017   709   HG0007   Owner Operator   Permits                        33180 NY13 596016 NYHUTref            -11.55
      11/11/2017   709   HG0007   Owner Operator   Permits                        33180 NY13 964991 NYHUTref            -13.15
      11/11/2017   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      11/11/2017   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/11/2017   709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
      11/11/2017   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      11/11/2017   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/11/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.87
      11/11/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.77
      11/11/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.86
      11/11/2017   709   HG0027   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     68.88
      11/11/2017   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   HG0027   Owner Operator   Permits                        31702 NY13 115342 NYHUTref            -12.11
      11/11/2017   709   HG0027   Owner Operator   Permits                        31702 NY13 389776 NYHUTref            -13.15
      11/11/2017   709   HG0027   Owner Operator   Permits                        33418 NY13 594514 NYHUTref            -11.55
      11/11/2017   709   HG0027   Owner Operator   Permits                        33418 NY13 B29381 NYHUTref            -13.15
      11/11/2017   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      11/11/2017   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      11/11/2017   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/11/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.47
      11/11/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.47
      11/11/2017   709   IR0002   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    -17.72
      11/11/2017   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      11/11/2017   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   IR0002   Owner Operator   Permits                        32901 NY13 669362 NYHUTref            -11.55
      11/11/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      11/11/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/11/2017   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      11/11/2017   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      11/11/2017   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      11/11/2017   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      11/11/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      11/11/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      11/11/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                     -35
      11/11/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                     -35
      11/11/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      11/11/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      11/11/2017   709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      11/11/2017   709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 207072 Trailer wash 702           -30
      11/11/2017   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      11/11/2017   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      11/11/2017   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      11/11/2017   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/11/2017   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/11/2017   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/11/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/11/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/11/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/11/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/11/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/11/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/11/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.04
      11/11/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.12
      11/11/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.54

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      11/11/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.75
      11/11/2017   709   JC0292   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    -3.27
      11/11/2017   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                     32.99
      11/11/2017   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                     32.99
      11/11/2017   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/11/2017   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/11/2017   709   JC0292   Owner Operator   Permits                        Q1210 NY13 594976 NYHUTref           -11.55
      11/11/2017   709   JC0292   Owner Operator   Permits                        Q13197 NY13 594900 NYHUTref          -11.55
      11/11/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.13
      11/11/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  -312.5
      11/11/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                  -312.5
      11/11/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.13
      11/11/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      11/11/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      11/11/2017   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      11/11/2017   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        387.65
      11/11/2017   709   JC0292   Owner Operator   Truck Payment                  CTMS - 206510 Q13197 Lease           276.63
      11/11/2017   709   JC0292   Owner Operator   Truck Payment                  CTMS - 206818 Q13197 Lease           276.63
      11/11/2017   709   JC0292   Owner Operator   Truck Payment                  CTMS - 207056 Q13197 Lease           276.63
      11/11/2017   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      11/11/2017   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                   12.5
      11/11/2017   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      11/11/2017   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      11/11/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      11/11/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      11/11/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        352.81
      11/11/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        385.24
      11/11/2017   709   JG0017   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     8.56
      11/11/2017   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                     32.99
      11/11/2017   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/11/2017   709   JG0017   Owner Operator   Permits                        32908 NY13 595695 NYHUTref           -11.55
      11/11/2017   709   JG0017   Owner Operator   Permits                        32908 NY13 778977 NYHUTref           -13.15
      11/11/2017   709   JG0017   Owner Operator   Permits                        75323 NY13 390150 NYHUTref           -13.15
      11/11/2017   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      11/11/2017   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00360073 - PO System         642.96
      11/11/2017   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      11/11/2017   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      11/11/2017   709   JG0072   Owner Operator   Broker Pre Pass                32909 PrePass Device                   12.5
      11/11/2017   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      11/11/2017   709   JG0072   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-4          75.63
      11/11/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      11/11/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      11/11/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        511.44
      11/11/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        174.16
      11/11/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        579.87
      11/11/2017   709   JG0072   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     58.3
      11/11/2017   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                     32.99
      11/11/2017   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/11/2017   709   JG0072   Owner Operator   Permits                        22196 NY13 389987 NYHUTref           -13.15
      11/11/2017   709   JG0072   Owner Operator   Permits                        32909 NY13 595694 NYHUTref           -11.55
      11/11/2017   709   JG0072   Owner Operator   Permits                        32909 NY13 778976 NYHUTref           -13.15
      11/11/2017   709   JG0072   Owner Operator   Permits                        IL02:2017 - 32909                      3.75
      11/11/2017   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      11/11/2017   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      11/11/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      11/11/2017   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                   12.5
      11/11/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      11/11/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         68.76
      11/11/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        353.13
      11/11/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        462.12
      11/11/2017   709   JG0092   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                   -39.39
      11/11/2017   709   JG0092   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        358.25
      11/11/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/11/2017   709   JG0092   Owner Operator   Permits                        33595 NY13 654099 NYHUTref           -11.55
      11/11/2017   709   JG0092   Owner Operator   Permits                        33595 NY13 D01628 NYHUTref           -11.55
      11/11/2017   709   JG0092   Owner Operator   Permits                        33669 NY13 694625 NYHUTref           -11.55
      11/11/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      61.7
      11/11/2017   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      11/11/2017   709   JQ0015   Owner Operator   Broker Pre Pass                33438 PrePass Device                   12.5
      11/11/2017   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      11/11/2017   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.39
      11/11/2017   709   JQ0015   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    41.21
      11/11/2017   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      11/11/2017   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      11/11/2017   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      11/11/2017   709   JR0099   Owner Operator   Broker Pre Pass                Q1203 PrePass Device                    12.5
      11/11/2017   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      11/11/2017   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.55
      11/11/2017   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.78
      11/11/2017   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   JR0099   Owner Operator   Permits                        Q1203 NY13 669350 NYHUTref            -11.55
      11/11/2017   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      11/11/2017   709   JR0099   Owner Operator   Truck Payment                  CTMS - 206988 Truck Lease             278.76
      11/11/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      11/11/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      11/11/2017   709   JS0265   Owner Operator   Broker Pre Pass                33325 PrePass Device                    12.5
      11/11/2017   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      11/11/2017   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/11/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/11/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/11/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.96
      11/11/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.83
      11/11/2017   709   JS0265   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    100.94
      11/11/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      11/11/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   JS0265   Owner Operator   Permits                        32298 NY13 389233 NYHUTref            -13.15
      11/11/2017   709   JS0265   Owner Operator   Permits                        33325 NY13 594650 NYHUTref            -11.55
      11/11/2017   709   JS0265   Owner Operator   Permits                        33325 NY13 C22749 NYHUTref            -13.15
      11/11/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      11/11/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      11/11/2017   709   KP0004   Owner Operator   AP Invoice Deductions          EFS - Mastercard                     2439.76
      11/11/2017   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/11/2017   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      11/11/2017   709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-4          131.25
      11/11/2017   709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-18        -914.9
      11/11/2017   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         238.25
      11/11/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/11/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/11/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/11/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/11/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.01
      11/11/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             30
      11/11/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.02
      11/11/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           244
      11/11/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.88
      11/11/2017   709   KP0004   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    346.48
      11/11/2017   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      11/11/2017   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   KP0004   Owner Operator   Permits                        32914 NY13 595705 NYHUTref            -11.55
      11/11/2017   709   KP0004   Owner Operator   Permits                        32914 NY13 783388 NYHUTref            -13.15
      11/11/2017   709   KP0004   Owner Operator   Permits                        51057B NY13 256027 NYHUTref           -12.11
      11/11/2017   709   KP0004   Owner Operator   Permits                        51057C NY13 389766 NYHUTref           -13.15
      11/11/2017   709   KP0004   Owner Operator   Permits                        51057C NY13 U23602 NYHUTref           -12.11
      11/11/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      11/11/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/11/2017   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      11/11/2017   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/11/2017   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-18       -320.83
      11/11/2017   709   LL0160   Owner Operator   Permits                        Q1111 NY13 537482 NYHUTref            -13.15
      11/11/2017   709   LL0160   Owner Operator   Permits                        Q1111 NY13 595344 NYHUTref            -11.55
      11/11/2017   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             15.95
      11/11/2017   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      11/11/2017   709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      11/11/2017   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      11/11/2017   709   LS0023   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     11.76
      11/11/2017   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   LS0023   Owner Operator   Permits                        21489A NY13 389668 NYHUTref           -13.15
      11/11/2017   709   LS0023   Owner Operator   Permits                        33655 NY13 608460 NYHUTref            -11.55
      11/11/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      11/11/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      11/11/2017   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/11/2017   709   MA0092   Owner Operator   Broker Pre Pass                34005 PrePass Device                    12.5
      11/11/2017   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      11/11/2017   709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.72
      11/11/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.05

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      11/11/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        343.01
      11/11/2017   709   MA0092   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    -7.46
      11/11/2017   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/11/2017   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     49.69
      11/11/2017   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
      11/11/2017   709   ME0053   Owner Operator   Broker Pre Pass                Q1113 PrePass Device                   12.5
      11/11/2017   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
      11/11/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        364.26
      11/11/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        264.52
      11/11/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.59
      11/11/2017   709   ME0053   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     6.13
      11/11/2017   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/11/2017   709   ME0053   Owner Operator   Permits                        Q1113 NY13 595341 NYHUTref           -11.55
      11/11/2017   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.07
      11/11/2017   709   ME0053   Owner Operator   T Chek Fee                     ExpressCheck Fee                       0.39
      11/11/2017   709   ME0053   Owner Operator   T Chek Fee                     Tractor Repair Q1113                  38.69
      11/11/2017   709   ME0053   Owner Operator   Truck Payment                  CTMS - 207014 Q1113 Lease            252.11
      11/11/2017   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      11/11/2017   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.7
      11/11/2017   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.1
      11/11/2017   709   MG0067   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    -2.44
      11/11/2017   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/11/2017   709   MG0067   Owner Operator   Permits                        31340A NY13 R91057 NYHUTref          -12.11
      11/11/2017   709   MG0067   Owner Operator   Permits                        33435 NY13 669363 NYHUTref           -11.55
      11/11/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      11/11/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      11/11/2017   709   MK0005   Owner Operator   Permits                        51048B NY13 256419 NYHUTref          -12.11
      11/11/2017   709   MM0054   Owner Operator   Permits                        21203A NY13 256088 NYHUTref          -12.11
      11/11/2017   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  8.75
      11/11/2017   709   MM0093   Owner Operator   Broker Pre Pass                32931 PrePass Device                   12.5
      11/11/2017   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                         13
      11/11/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.09
      11/11/2017   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/11/2017   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  53.13
      11/11/2017   709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00359634 - PO System          209.4
      11/11/2017   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                        337.19
      11/11/2017   709   MM0103   Owner Operator   Permits                        31096 NY13 255562 NYHUTref           -12.11
      11/11/2017   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      11/11/2017   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                   12.5
      11/11/2017   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      11/11/2017   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         1000
      11/11/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             50
      11/11/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             50
      11/11/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
      11/11/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
      11/11/2017   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.91
      11/11/2017   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.54
      11/11/2017   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                     32.99
      11/11/2017   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/11/2017   709   MP0035   Owner Operator   Permits                        32904 NY13 595677 NYHUTref           -11.55
      11/11/2017   709   MP0035   Owner Operator   Permits                        32904 NY13 766581 NYHUTref           -13.15
      11/11/2017   709   MP0035   Owner Operator   Permits                        39271 NY13 562871 NYHUTref           -13.15
      11/11/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      11/11/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      11/11/2017   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                        323.05
      11/11/2017   709   MS0070   Owner Operator   Permits                        30354 NY13 256336 NYHUTref           -12.11
      11/11/2017   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      11/11/2017   709   NB0029   Owner Operator   Broker Pre Pass                Q1108 PrePass Device                   12.5
      11/11/2017   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                         13
      11/11/2017   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          250
      11/11/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          395
      11/11/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        325.34
      11/11/2017   709   NB0029   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                   158.98
      11/11/2017   709   NB0029   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        254.05
      11/11/2017   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/11/2017   709   NB0029   Owner Operator   Permits                        Q1108 NY13 389272 NYHUTref           -13.15
      11/11/2017   709   NB0029   Owner Operator   Permits                        Q1108 NY13 595006 NYHUTref           -11.55
      11/11/2017   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD             35.16
      11/11/2017   709   NB0029   Owner Operator   Truck Payment                  CTMS - 207100 Lease                  215.66
      11/11/2017   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      11/11/2017   709   NG0005   Owner Operator   Broker Pre Pass                21412B PrePass Device                  12.5
      11/11/2017   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      11/11/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           200

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      11/11/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/11/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.17
      11/11/2017   709   NG0005   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     102.7
      11/11/2017   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   NG0005   Owner Operator   Permits                        21412B NY13 389782 NYHUTref           -13.15
      11/11/2017   709   NG0005   Owner Operator   Permits                        21412B NY13 595188 NYHUTref           -11.55
      11/11/2017   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      11/11/2017   709   NR0010   Owner Operator   Permits                        Q1106 NY13 537477 NYHUTref            -13.15
      11/11/2017   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      11/11/2017   709   NT9564   Owner Operator   Broker Pre Pass                73130 PrePass Device                    12.5
      11/11/2017   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      11/11/2017   709   NT9564   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    101.99
      11/11/2017   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   NT9564   Owner Operator   Permits                        73130 NY13 669346 NYHUTref            -11.55
      11/11/2017   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      11/11/2017   709   NT9564   Owner Operator   Truck Payment                  CTMS - 207014 Truck 73130 Leas        196.65
      11/11/2017   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/11/2017   709   RC0030   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    426.02
      11/11/2017   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   RC0030   Owner Operator   Permits                        33676 NY13 737069 NYHUTref            -11.55
      11/11/2017   709   RC0030   Owner Operator   Permits                        51064A NY13 256190 NYHUTref           -12.11
      11/11/2017   709   RC0030   Owner Operator   Permits                        51064A NY13 390007 NYHUTref           -13.15
      11/11/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      11/11/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/11/2017   709   RC0030   Owner Operator   Truck Payment                  CTMS - 206988 Down Payment lo         303.55
      11/11/2017   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      11/11/2017   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/11/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/11/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/11/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.88
      11/11/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.91
      11/11/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.27
      11/11/2017   709   RC0089   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                      -4.6
      11/11/2017   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      11/11/2017   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   RC0089   Owner Operator   Permits                        22288 NY13 256093 NYHUTref            -12.11
      11/11/2017   709   RC0089   Owner Operator   Permits                        22288 NY13 570759 NYHUTref            -13.15
      11/11/2017   709   RC0089   Owner Operator   Permits                        32986 NY13 595772 NYHUTref            -11.55
      11/11/2017   709   RC0089   Owner Operator   Permits                        32986 NY13 P825182 NYHUTref           -13.15
      11/11/2017   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      11/11/2017   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      11/11/2017   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/11/2017   709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      11/11/2017   709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      11/11/2017   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-4           93.75
      11/11/2017   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/11/2017   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.64
      11/11/2017   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.2
      11/11/2017   709   RL0017   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    -20.18
      11/11/2017   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      11/11/2017   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   RL0017   Owner Operator   Permits                        21975 NY13 R18688 NYHUTref            -12.11
      11/11/2017   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      11/11/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      11/11/2017   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/11/2017   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      11/11/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/11/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/11/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/11/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/11/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          217.6
      11/11/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.67
      11/11/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.93
      11/11/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.34
      11/11/2017   709   RL0062   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     79.43
      11/11/2017   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      11/11/2017   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   RL0062   Owner Operator   Permits                        22691A NY13 389908 NYHUTref           -13.15
      11/11/2017   709   RL0062   Owner Operator   Permits                        32912 NY13 595693 NYHUTref            -11.55
      11/11/2017   709   RL0062   Owner Operator   Permits                        32912 NY13 778975 NYHUTref            -13.15
      11/11/2017   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      11/11/2017   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      11/11/2017   709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75

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      11/11/2017   709   RL0180   Owner Operator   Broker Pre Pass                34012 PrePass Device                    12.5
      11/11/2017   709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      11/11/2017   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.17
      11/11/2017   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.06
      11/11/2017   709   RL0180   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    109.72
      11/11/2017   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      11/11/2017   709   RM0026   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     48.92
      11/11/2017   709   RM0026   Owner Operator   Permits                        30811A NY13 389515 NYHUTref           -13.15
      11/11/2017   709   RM0026   Owner Operator   Permits                        30811A NY13 S96950 NYHUTref           -12.11
      11/11/2017   709   RM0026   Owner Operator   Permits                        33664 NY13 635095 NYHUTref            -11.55
      11/11/2017   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      11/11/2017   709   RP0082   Owner Operator   Broker Pre Pass                Q1202 PrePass Device                    12.5
      11/11/2017   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      11/11/2017   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.67
      11/11/2017   709   RP0082   Owner Operator   Fuel Purchase                  Rvrs Fuel Purchased at Shop          -376.48
      11/11/2017   709   RP0082   Owner Operator   Fuel Purchase                  Rvrs Fuel Purchased at Shop          -298.66
      11/11/2017   709   RP0082   Owner Operator   Fuel Purchase                  Rvrs Fuel Purchased at Shop          -124.12
      11/11/2017   709   RP0082   Owner Operator   Fuel Purchase                  Rvrs Fuel Purchased at Shop          -419.64
      11/11/2017   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   RP0082   Owner Operator   Permits                        Q1202 NY13 669348 NYHUTref            -11.55
      11/11/2017   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      11/11/2017   709   RP0082   Owner Operator   Truck Payment                  CTMS - 206988 Q1202 Truck Leas        278.76
      11/11/2017   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      11/11/2017   709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                    12.5
      11/11/2017   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      11/11/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/11/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/11/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.56
      11/11/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.92
      11/11/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.73
      11/11/2017   709   RR0123   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    553.56
      11/11/2017   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   RR0123   Owner Operator   Permits                        Q1248 NY13 595110 NYHUTref            -11.55
      11/11/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      11/11/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      11/11/2017   709   RR0123   Owner Operator   Truck Payment                  CTMS - 207020 Q1248                   311.97
      11/11/2017   709   SB0009   Owner Operator   Permits                        33236 NY13 594409 NYHUTref            -11.55
      11/11/2017   709   SB0009   Owner Operator   Permits                        33236 NY13 A12042 NYHUTref            -13.15
      11/11/2017   709   SB0009   Owner Operator   Permits                        51065A NY13 256962 NYHUTref           -12.11
      11/11/2017   709   SB0009   Owner Operator   Permits                        51065A NY13 390234 NYHUTref           -13.15
      11/11/2017   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          49.96
      11/11/2017   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      11/11/2017   709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
      11/11/2017   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      11/11/2017   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.93
      11/11/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.22
      11/11/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.95
      11/11/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.89
      11/11/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.38
      11/11/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          212.3
      11/11/2017   709   SB0103   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     96.76
      11/11/2017   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   SB0103   Owner Operator   Permits1                       ID06:2017 - 33037                         11
      11/11/2017   709   SB0103   Owner Operator   Permits1                       IL02:2017 - 33037                       3.75
      11/11/2017   709   SB0103   Owner Operator   Permits1                       NM07:2017 - 33037                        5.5
      11/11/2017   709   SB0103   Owner Operator   Permits1                       NY13:2016 - 33037                         19
      11/11/2017   709   SB0103   Owner Operator   Permits1                       OR16:2017 - 33037                          8
      11/11/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      11/11/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      11/11/2017   709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00360157 - PO System           10.11
      11/11/2017   709   SB0103   Owner Operator   Truck Payment                  CTMS - 206986 Sub Lease               388.33
      11/11/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      11/11/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                      2.5
      11/11/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/11/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      11/11/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.5
      11/11/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   SN0019   Owner Operator   Permits                        33461 NY13 669353 NYHUTref            -11.55
      11/11/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      11/11/2017   709   SN0019   Owner Operator   Repair Order                   CTMS - 207028 Truck Rental              500

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      11/11/2017   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      11/11/2017   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
      11/11/2017   709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
      11/11/2017   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      11/11/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           205
      11/11/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.56
      11/11/2017   709   VB0015   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    -14.25
      11/11/2017   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   VB0015   Owner Operator   Permits                        Q1112 NY13 389292 NYHUTref            -13.15
      11/11/2017   709   VB0015   Owner Operator   Permits                        Q1112 NY13 595015 NYHUTref            -11.55
      11/11/2017   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      11/11/2017   709   VB0015   Owner Operator   Truck Payment                  CTMS - 207018 Tractor Sub leas        242.03
      11/11/2017   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      11/11/2017   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                  -340.41
      11/11/2017   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/11/2017   709   VJ0006   Owner Operator   Broker Pre Pass                33961 PrePass Device                    12.5
      11/11/2017   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      11/11/2017   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/11/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.31
      11/11/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.69
      11/11/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.39
      11/11/2017   709   VJ0006   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     159.6
      11/11/2017   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   VJ0006   Owner Operator   Permits                        32945 NY13 595755 NYHUTref            -11.55
      11/11/2017   709   VJ0006   Owner Operator   Permits                        32945 NY13 816215 NYHUTref            -13.15
      11/11/2017   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      11/11/2017   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/11/2017   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      11/11/2017   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   WB0062   Owner Operator   Permits                        31271 NY13 744951 NYHUTref            -13.15
      11/11/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      11/11/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/11/2017   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      11/11/2017   709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      11/11/2017   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      11/11/2017   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                               6
      11/11/2017   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.06
      11/11/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.44
      11/11/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.81
      11/11/2017   709   WH0087   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     36.15
      11/11/2017   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   709   WH0087   Owner Operator   Permits                        Q1113 NY13 537479 NYHUTref            -13.15
      11/11/2017   709   WH0087   Owner Operator   Permits                        Q1239 NY13 595109 NYHUTref            -11.55
      11/11/2017   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      11/11/2017   709   WH0087   Owner Operator   Truck Payment                  CTMS - 207020 Q1238 Lease             311.97
      11/11/2017   742   AB0075   Owner Operator   Permits                        32282 NY13 R11233 NYHUTref            -12.11
      11/11/2017   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      11/11/2017   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      11/11/2017   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      11/11/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/11/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/11/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/11/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/11/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/11/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/11/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.97
      11/11/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.02
      11/11/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.65
      11/11/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.74
      11/11/2017   742   AP0047   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     62.49
      11/11/2017   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   AP0047   Owner Operator   Permits                        32604 NY13 389664 NYHUTref            -13.15
      11/11/2017   742   AP0047   Owner Operator   Permits                        32604 NY13 595667 NYHUTref            -11.55
      11/11/2017   742   AP0047   Owner Operator   Permits                        32604 NY13 744962 NYHUTref            -13.15
      11/11/2017   742   AP0047   Owner Operator   Permits                        32604 NY13 U07062 NYHUTref            -12.11
      11/11/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      11/11/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      11/11/2017   742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      11/11/2017   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   742   AS0089   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     88.39
      11/11/2017   742   AS0089   Owner Operator   Permits                        32274 NY13 R11225 NYHUTref            -12.11
      11/11/2017   742   BS0030   Owner Operator   Permits                        22215A NY13 256794 NYHUTref           -12.11
      11/11/2017   742   BS0030   Owner Operator   Permits                        22215A NY13 390190 NYHUTref           -13.15

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      11/11/2017   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/11/2017   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/11/2017   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/11/2017   742   BS0078   Owner Operator   Broker Pre Pass                33471 PrePass Device                    12.5
      11/11/2017   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      11/11/2017   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      11/11/2017   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      11/11/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.19
      11/11/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.64
      11/11/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.62
      11/11/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.59
      11/11/2017   742   BS0078   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     86.74
      11/11/2017   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   BS0078   Owner Operator   Permits                        33471 NY13 594581 NYHUTref            -11.55
      11/11/2017   742   BS0078   Owner Operator   Permits                        33471 NY13 B97841 NYHUTref            -13.15
      11/11/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      11/11/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      11/11/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      11/11/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/11/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/11/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/11/2017   742   BS0078   Owner Operator   T Chek Fee                     ExpressCheck Fee                        17.7
      11/11/2017   742   BS0078   Owner Operator   T Chek Fee                     Tractor Repair 33471                 1769.56
      11/11/2017   742   BS0078   Owner Operator   Toll Charges                   33471 TxTag Ship Channel Bridg             7
      11/11/2017   742   BS0078   Owner Operator   Toll Charges                   33471 TxTag Ship Channel Bridg             7
      11/11/2017   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/11/2017   742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      11/11/2017   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      11/11/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         597.23
      11/11/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.82
      11/11/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.59
      11/11/2017   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      11/11/2017   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      11/11/2017   742   CT0085   Owner Operator   Broker Pre Pass                Q13171 PrePass Device                   12.5
      11/11/2017   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/11/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.62
      11/11/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.23
      11/11/2017   742   CT0085   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     26.25
      11/11/2017   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   CT0085   Owner Operator   Permits                        Q13171 NY13 594859 NYHUTref           -11.55
      11/11/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      11/11/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      11/11/2017   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/11/2017   742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
      11/11/2017   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      11/11/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.51
      11/11/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.55
      11/11/2017   742   DA0067   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     49.12
      11/11/2017   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      11/11/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/11/2017   742   DJ0028   Owner Operator   Permits                        22745A NY13 118149 NYHUTref           -12.11
      11/11/2017   742   DJ0028   Owner Operator   Permits                        Q1104 NY13 389270 NYHUTref            -13.15
      11/11/2017   742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      11/11/2017   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/11/2017   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      11/11/2017   742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.51
      11/11/2017   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      11/11/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/11/2017   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      11/11/2017   742   ED0041   Owner Operator   Broker Pre Pass                32897 PrePass Device                    12.5
      11/11/2017   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      11/11/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.96
      11/11/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.46
      11/11/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.99
      11/11/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.08
      11/11/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.25
      11/11/2017   742   ED0041   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                      47.2

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      11/11/2017   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   ED0041   Owner Operator   Permits                        32897 NY13 595785 NYHUTref            -11.55
      11/11/2017   742   ED0041   Owner Operator   Permits                        32897 NY13 846108 NYHUTref            -13.15
      11/11/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      11/11/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      11/11/2017   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/11/2017   742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      11/11/2017   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      11/11/2017   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/11/2017   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/11/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.74
      11/11/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.05
      11/11/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.42
      11/11/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.24
      11/11/2017   742   EN0016   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     48.94
      11/11/2017   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      11/11/2017   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   EN0016   Owner Operator   Permits                        32674 NY13 678147 NYHUTref            -11.55
      11/11/2017   742   EN0016   Owner Operator   Permits                        32947 NY13 808144 NYHUTref            -13.15
      11/11/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      11/11/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/11/2017   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      11/11/2017   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      11/11/2017   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      11/11/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      11/11/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      11/11/2017   742   IK0012   Owner Operator   Advance                        New Hire Equip SL 402-092844            100
      11/11/2017   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      11/11/2017   742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      11/11/2017   742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.56
      11/11/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.04
      11/11/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.74
      11/11/2017   742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      11/11/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      11/11/2017   742   JH0148   Owner Operator   Permits                        30975 NY13 256588 NYHUTref            -12.11
      11/11/2017   742   KJ0045   Owner Operator   Permits                        33634 NY13 348789 NYHUTref            -11.55
      11/11/2017   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      11/11/2017   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      11/11/2017   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           8.22
      11/11/2017   742   LL0134   Owner Operator   Permits                        33195 NY13 596050 NYHUTref            -11.55
      11/11/2017   742   LL0134   Owner Operator   Permits                        33195 NY13 988530 NYHUTref            -13.15
      11/11/2017   742   LL0134   Owner Operator   Permits                        9566A NY13 389240 NYHUTref            -13.15
      11/11/2017   742   LL0134   Owner Operator   Permits                        9566A NY13 R12796 NYHUTref            -12.11
      11/11/2017   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/11/2017   742   MH0117   Owner Operator   Broker Pre Pass                33296 PrePass Device                    12.5
      11/11/2017   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      11/11/2017   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   MH0117   Owner Operator   Permits                        33296 NY13 594472 NYHUTref            -11.55
      11/11/2017   742   MH0117   Owner Operator   Permits                        33296 NY13 A60400 NYHUTref            -13.15
      11/11/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      11/11/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/11/2017   742   MK0078   Owner Operator   Broker Pre Pass                33761 PrePass Device                    12.5
      11/11/2017   742   MK0078   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     81.57
      11/11/2017   742   MK0078   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 -153.13
      11/11/2017   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      11/11/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.06
      11/11/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.94
      11/11/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.79
      11/11/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.53
      11/11/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.18
      11/11/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.37
      11/11/2017   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      11/11/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      11/11/2017   742   MS0230   Owner Operator   T Chek Fee                     Tractor Repair 34082                  446.47
      11/11/2017   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      11/11/2017   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      11/11/2017   742   MT0112   Owner Operator   Broker Pre Pass                Q1247 PrePass Device                    12.5
      11/11/2017   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      11/11/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           161

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      11/11/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      11/11/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      11/11/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      11/11/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      11/11/2017   742   MT0112   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                      8.27
      11/11/2017   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   MT0112   Owner Operator   Permits                        Q1247 NY13 595108 NYHUTref            -11.55
      11/11/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      11/11/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      11/11/2017   742   MT0112   Owner Operator   Truck Payment                  CTMS - 207014 Q1247 Sub Lease         311.97
      11/11/2017   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      11/11/2017   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      11/11/2017   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      11/11/2017   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/11/2017   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/11/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.92
      11/11/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.96
      11/11/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.53
      11/11/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.85
      11/11/2017   742   NG0024   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     24.73
      11/11/2017   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   NG0024   Owner Operator   Permits                        33252 NY13 594631 NYHUTref            -11.55
      11/11/2017   742   NG0024   Owner Operator   Permits                        33252 NY13 C21562 NYHUTref            -13.15
      11/11/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      11/11/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      11/11/2017   742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00360155 - PO System           103.1
      11/11/2017   742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845            100
      11/11/2017   742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/11/2017   742   NK0013   Owner Operator   Broker Pre Pass                34038 PrePass Device                    12.5
      11/11/2017   742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
      11/11/2017   742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                          40.25
      11/11/2017   742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/11/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/11/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/11/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/11/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.25
      11/11/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.14
      11/11/2017   742   NK0013   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    194.32
      11/11/2017   742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      11/11/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/11/2017   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      11/11/2017   742   PC0012   Owner Operator   Advance                        chk 136019 s/u 20 weeks                   50
      11/11/2017   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/11/2017   742   PC0012   Owner Operator   Broker Pre Pass                32969 PrePass Device                    12.5
      11/11/2017   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      11/11/2017   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/11/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/11/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/11/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/11/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/11/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/11/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/11/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.74
      11/11/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.92
      11/11/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.79
      11/11/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.23
      11/11/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.86
      11/11/2017   742   PC0012   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     23.05
      11/11/2017   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      11/11/2017   742   PC0012   Owner Operator   Permits                        30846 NY13 255830 NYHUTref            -12.11
      11/11/2017   742   PC0012   Owner Operator   Permits                        30846A NY13 389407 NYHUTref           -13.15
      11/11/2017   742   PC0012   Owner Operator   Permits                        30846A NY13 R91029 NYHUTref           -12.11
      11/11/2017   742   PC0012   Owner Operator   Permits                        32969 NY13 595763 NYHUTref            -11.55
      11/11/2017   742   PC0012   Owner Operator   Permits                        32969 NY13 P823596 NYHUTref           -13.15
      11/11/2017   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      11/11/2017   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      11/11/2017   742   PS0080   Owner Operator   Permits                        33584 NY13 654098 NYHUTref            -11.55
      11/11/2017   742   PS0080   Owner Operator   Permits                        33584 NY13 C81114 NYHUTref            -13.15
      11/11/2017   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      11/11/2017   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      11/11/2017   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13

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      11/11/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.68
      11/11/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.87
      11/11/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.51
      11/11/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.14
      11/11/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.36
      11/11/2017   742   RN0054   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     72.38
      11/11/2017   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   RN0054   Owner Operator   Permits                        Q13157 NY13 337076 NYHUTref           -13.15
      11/11/2017   742   RN0054   Owner Operator   Permits                        Q13157 NY13 594858 NYHUTref           -11.55
      11/11/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      11/11/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      11/11/2017   742   RN0054   Owner Operator   Truck Payment                  CTMS - 206988 Tractor Lease           353.28
      11/11/2017   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      11/11/2017   742   RS0342   Owner Operator   Broker Pre Pass                33738 PrePass Device                    12.5
      11/11/2017   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      11/11/2017   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         608.47
      11/11/2017   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         574.84
      11/11/2017   742   RS0342   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    440.19
      11/11/2017   742   RS0342   Owner Operator   IRP License Deduction          LCIL:2017 - 33738                        100
      11/11/2017   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      11/11/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      11/11/2017   742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842             100
      11/11/2017   742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         143.14
      11/11/2017   742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841             100
      11/11/2017   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/11/2017   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      11/11/2017   742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/11/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.44
      11/11/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.59
      11/11/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                            525
      11/11/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.63
      11/11/2017   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/11/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      11/11/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/11/2017   750   JC0292   Owner Operator   Permits                        Q1210 NY13 389194 NYHUTref            -13.15
      11/11/2017   750   JW0173   Owner Operator   Permits                        31860A NY13 O91597 NYHUTref           -12.11
      11/11/2017   753   CM0119   Owner Operator   Permits                        Q3201 NY13 S95984 NYHUTref            -12.11
      11/11/2017   753   DS0049   Owner Operator   Permits                        9738 NY13 256122 NYHUTref             -12.11
      11/11/2017   753   FV0001   Owner Operator   Permits                        21521A NY13 256970 NYHUTref           -12.11
      11/11/2017   753   JG0017   Owner Operator   Permits                        75323 NY13 256671 NYHUTref            -12.11
      11/11/2017   753   JS0265   Owner Operator   Permits                        32298 NY13 R11229 NYHUTref            -12.11
      11/11/2017   753   LS0023   Owner Operator   Permits                        21489 NY13 256084 NYHUTref            -12.11
      11/11/2017   753   LS0023   Owner Operator   Permits                        21489A NY13 U07244 NYHUTref           -12.11
      11/11/2017   753   MP0035   Owner Operator   Permits                        39271 NY13 255886 NYHUTref            -12.11
      11/11/2017   771   EN0016   Owner Operator   Permits                        32947 NY13 654132 NYHUTref            -11.55
      11/11/2017   821   DW0138   Owner Operator   Permits                        33443 NY13 B51285 NYHUTref            -13.15
      11/11/2017   821   JK0112   Owner Operator   Permits                        33211 NY13 992077 NYHUTref            -13.15
      11/11/2017   821   WH0073   Owner Operator   Permits                        31116 NY13 256749 NYHUTref            -12.11
      11/11/2017   821   WH0073   Owner Operator   Permits                        Q1235 NY13 389587 NYHUTref            -13.15
      11/11/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.63
      11/11/2017   858   EH0020   Owner Operator   Permits                        21856A NY13 255412 NYHUTref           -12.11
      11/11/2017   859   EI0003   Owner Operator   Permits                        32350A NY13 556407 NYHUTref           -13.15
      11/11/2017   862   CR0064   Owner Operator   Permits                        31793 NY13 115356 NYHUTref            -12.11
      11/11/2017   862   HG0007   Owner Operator   Permits                        21146B NY13 256310 NYHUTref           -12.11
      11/11/2017   862   JG0072   Owner Operator   Permits                        22196 NY13 256089 NYHUTref            -12.11
      11/11/2017   862   NG0005   Owner Operator   Permits                        21412B NY13 115439 NYHUTref           -12.11
      11/11/2017   862   RL0062   Owner Operator   Permits                        22691A NY13 255743 NYHUTref           -12.11
      11/11/2017   862   RM0026   Owner Operator   Permits                        30811 NY13 255545 NYHUTref            -12.11
      11/11/2017   862   SS0084   Owner Operator   Permits                        31838 NY13 115288 NYHUTref            -12.11
      11/18/2017   709   AN0007   Owner Operator   Accident Claim                 11/06/17 AN0007 Spill                   2000
      11/18/2017   709   AN0007   Owner Operator   Advance                        11/6/17 Spill s/u pmts                 -2000
      11/18/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      11/18/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      11/18/2017   709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/18/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      11/18/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      11/18/2017   709   AN0007   Owner Operator   Truck Payment                  CTMS - 207379 Truck Rental               100
      11/18/2017   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      11/18/2017   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      11/18/2017   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13

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      11/18/2017   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      11/18/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.75
      11/18/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.46
      11/18/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.48
      11/18/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.38
      11/18/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.56
      11/18/2017   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      11/18/2017   709   AR0064   Owner Operator   Truck Payment                  CTMS - 207015 Q13147 Lease             22.47
      11/18/2017   709   AR0064   Owner Operator   Truck Payment                  CTMS - 207222 Q13147 Lease            440.14
      11/18/2017   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      11/18/2017   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    157.3
      11/18/2017   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      11/18/2017   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      11/18/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.55
      11/18/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.06
      11/18/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.95
      11/18/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.06
      11/18/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          108.9
      11/18/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           39.7
      11/18/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.04
      11/18/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.13
      11/18/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.12
      11/18/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.99
      11/18/2017   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      11/18/2017   709   AV0021   Owner Operator   Repair Order                   CTMS - 207378 Repair                  104.09
      11/18/2017   709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00356863 - PO System          173.34
      11/18/2017   709   AV0021   Owner Operator   Truck Payment                  CTMS - 207270 Q13169 Sublease         352.68
      11/18/2017   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      11/18/2017   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      11/18/2017   709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/18/2017   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      11/18/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      11/18/2017   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      11/18/2017   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      11/18/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.29
      11/18/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.59
      11/18/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          358.3
      11/18/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          43.99
      11/18/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          415.7
      11/18/2017   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         301.87
      11/18/2017   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      11/18/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 207221 Q13168 sub lease        352.68
      11/18/2017   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/18/2017   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      11/18/2017   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      11/18/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         611.26
      11/18/2017   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      11/18/2017   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      11/18/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/18/2017   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      11/18/2017   709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/18/2017   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      11/18/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.56
      11/18/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.42
      11/18/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.38
      11/18/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.93
      11/18/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.83
      11/18/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.26
      11/18/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.79
      11/18/2017   709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      11/18/2017   709   CR0064   Owner Operator   Repair Order                   CTMS - 207396 Repair                  112.28
      11/18/2017   709   cr0064   Owner Operator   T Chek Fee                     ExpressCheck Fee                          25
      11/18/2017   709   cr0064   Owner Operator   T Chek Fee                     Towing 32864                           2500
      11/18/2017   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      11/18/2017   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      11/18/2017   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      11/18/2017   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.03

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      11/18/2017   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      11/18/2017   709   CS0091   Owner Operator   Truck Payment                  CTMS - 207227 Q1201                   278.76
      11/18/2017   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/18/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.28
      11/18/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.46
      11/18/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.38
      11/18/2017   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      11/18/2017   709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                  945.68
      11/18/2017   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/18/2017   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      11/18/2017   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/18/2017   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/18/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.25
      11/18/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.73
      11/18/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.85
      11/18/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.99
      11/18/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.21
      11/18/2017   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      11/18/2017   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      11/18/2017   709   DL0107   Owner Operator   Repair Order                   CTMS - 207384 Repairs                 105.72
      11/18/2017   709   DL0107   Owner Operator   Truck Payment                  CTMS - 207269 Sublease                338.99
      11/18/2017   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      11/18/2017   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/18/2017   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      11/18/2017   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/18/2017   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/18/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.63
      11/18/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         620.41
      11/18/2017   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      11/18/2017   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      11/18/2017   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      11/18/2017   709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      11/18/2017   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      11/18/2017   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          575.4
      11/18/2017   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      11/18/2017   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                           -35
      11/18/2017   709   DW0138   Owner Operator   BOBTAIL INS.                   2012 Volvo NTL                           -35
      11/18/2017   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        -222.99
      11/18/2017   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        -222.99
      11/18/2017   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         222.99
      11/18/2017   709   DW0138   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         222.99
      11/18/2017   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         274.05
      11/18/2017   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                          15.62
      11/18/2017   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                         274.05
      11/18/2017   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        -274.05
      11/18/2017   709   DW0138   Owner Operator   PHYSICAL DAMAGE                2012 Volvo PD                        -274.05
      11/18/2017   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                          54.38
      11/18/2017   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/18/2017   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      11/18/2017   709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-25       -638.71
      11/18/2017   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/18/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/18/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/18/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.54
      11/18/2017   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      11/18/2017   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      11/18/2017   709   EA0003   Owner Operator   Repair Order                   CTMS - 207389 Repair                   83.27
      11/18/2017   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      11/18/2017   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/18/2017   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      11/18/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/18/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/18/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/18/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/18/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.54
      11/18/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.29
      11/18/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.14

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      11/18/2017   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      11/18/2017   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      11/18/2017   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      11/18/2017   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      11/18/2017   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      11/18/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         594.29
      11/18/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.34
      11/18/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.36
      11/18/2017   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      11/18/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/18/2017   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      11/18/2017   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      11/18/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.71
      11/18/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          209.5
      11/18/2017   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      11/18/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      11/18/2017   709   EO0014   Owner Operator   Repair Order                   CTMS - 207379 Batteries               411.25
      11/18/2017   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      11/18/2017   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      11/18/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.21
      11/18/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.1
      11/18/2017   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      11/18/2017   709   FS0039   Owner Operator   Truck Payment                  CTMS - 207269 truck lease 3304        434.29
      11/18/2017   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/18/2017   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      11/18/2017   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/18/2017   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/18/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.56
      11/18/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.86
      11/18/2017   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      11/18/2017   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      11/18/2017   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      11/18/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.05
      11/18/2017   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      11/18/2017   709   GS0015   Owner Operator   Truck Payment                  CTMS - 207226 Lease                   252.11
      11/18/2017   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
      11/18/2017   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      11/18/2017   709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                           0.08
      11/18/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/18/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/18/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/18/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/18/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/18/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/18/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.07
      11/18/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          286.2
      11/18/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.07
      11/18/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.95
      11/18/2017   709   GW0043   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          256.1
      11/18/2017   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                42.19
      11/18/2017   709   GW0043   Owner Operator   Truck Payment                  CTMS - 207300 Truck Lease             298.33
      11/18/2017   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/18/2017   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      11/18/2017   709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/18/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.65
      11/18/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.31
      11/18/2017   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      11/18/2017   709   HC0023   Owner Operator   Repair Order                   CTMS - 207393 Check engine lig          190
      11/18/2017   709   HC0023   Owner Operator   Truck Payment                  CTMS - 207222 Q13170                  352.68
      11/18/2017   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      11/18/2017   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      11/18/2017   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/18/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/18/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/18/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          499.1

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      11/18/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          511.8
      11/18/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.97
      11/18/2017   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      11/18/2017   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/18/2017   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      11/18/2017   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/18/2017   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/18/2017   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/18/2017   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/18/2017   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/18/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.57
      11/18/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.87
      11/18/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.69
      11/18/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.54
      11/18/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.91
      11/18/2017   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      11/18/2017   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      11/18/2017   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/18/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.47
      11/18/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.47
      11/18/2017   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      11/18/2017   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      11/18/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/18/2017   709   IR0002   Owner Operator   Repair Order                   CTMS - 207393 Parts                    42.43
      11/18/2017   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      11/18/2017   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      11/18/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      11/18/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      11/18/2017   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      11/18/2017   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/18/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/18/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/18/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/18/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/18/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.22
      11/18/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.68
      11/18/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.62
      11/18/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.69
      11/18/2017   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      11/18/2017   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                    78.13
      11/18/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      11/18/2017   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      11/18/2017   709   JC0292   Owner Operator   Truck Payment                  CTMS - 207266 Q13197 Lease            276.63
      11/18/2017   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/18/2017   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      11/18/2017   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      11/18/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/18/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/18/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.46
      11/18/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.18
      11/18/2017   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      11/18/2017   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      11/18/2017   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00360073 - PO System          642.96
      11/18/2017   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      11/18/2017   709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      11/18/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/18/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/18/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/18/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/18/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.18
      11/18/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          490.4
      11/18/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.98
      11/18/2017   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                          364.6
      11/18/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/18/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      11/18/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.76
      11/18/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         655.02
      11/18/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.9

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      11/18/2017   709   JG0092   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          358.25
      11/18/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/18/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        61.7
      11/18/2017   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                    8.75
      11/18/2017   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                           13
      11/18/2017   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-25         -27.96
      11/18/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/18/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/18/2017   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          227.98
      11/18/2017   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/18/2017   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                    19.54
      11/18/2017   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL              8.75
      11/18/2017   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                           13
      11/18/2017   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          381.98
      11/18/2017   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/18/2017   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD               58.6
      11/18/2017   709   JR0099   Owner Operator   Truck Payment                  CTMS - 207190 Truck Lease              278.76
      11/18/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                     8.75
      11/18/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                        8.75
      11/18/2017   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                           13
      11/18/2017   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      11/18/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/18/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/18/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          217.63
      11/18/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          439.32
      11/18/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                           359.7
      11/18/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            2.51
      11/18/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/18/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                     15.94
      11/18/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                         37.5
      11/18/2017   709   KP0004   Owner Operator   AP Invoice Deductions          EFS Mastercard Charge                -2439.76
      11/18/2017   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      11/18/2017   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                     12.5
      11/18/2017   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                           13
      11/18/2017   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                           13
      11/18/2017   709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-11           914.9
      11/18/2017   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      11/18/2017   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           11.75
      11/18/2017   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      11/18/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/18/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/18/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/18/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/18/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.23
      11/18/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          421.02
      11/18/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            293
      11/18/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          302.02
      11/18/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          170.58
      11/18/2017   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                       32.99
      11/18/2017   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/18/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.32
      11/18/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      11/18/2017   709   KP0004   Owner Operator   Repair Order                   CTMS - 207379 Parts                     81.88
      11/18/2017   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                          519.59
      11/18/2017   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
      11/18/2017   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              23.12
      11/18/2017   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD               5.63
      11/18/2017   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                    8.75
      11/18/2017   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                           13
      11/18/2017   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/18/2017   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/18/2017   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          689.31
      11/18/2017   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          690.11
      11/18/2017   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/18/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                    94.54
      11/18/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism            2.5
      11/18/2017   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      11/18/2017   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                            8
      11/18/2017   709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                              50
      11/18/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          168.72
      11/18/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          126.74
      11/18/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           11.22
      11/18/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                            161

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      11/18/2017   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      11/18/2017   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      11/18/2017   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      11/18/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.28
      11/18/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.67
      11/18/2017   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      11/18/2017   709   ME0053   Owner Operator   Truck Payment                  CTMS - 207221 Q1113 Lease             252.11
      11/18/2017   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/18/2017   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.03
      11/18/2017   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.05
      11/18/2017   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      11/18/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/18/2017   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/18/2017   709   MM0093   Owner Operator   Charge back by affiliate       CTMS - 207056 Tractorrepairs 3         283.5
      11/18/2017   709   MM0093   Owner Operator   Charge back by affiliate       CTMS - 207267 Tractorrepairs 3         283.5
      11/18/2017   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      11/18/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              40
      11/18/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              40
      11/18/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      11/18/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      11/18/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.93
      11/18/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.37
      11/18/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.8
      11/18/2017   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      11/18/2017   709   MM0093   Owner Operator   Tire Purchase                  PO: 709-00359634 - PO System           61.38
      11/18/2017   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      11/18/2017   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/18/2017   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      11/18/2017   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      11/18/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/18/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/18/2017   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.17
      11/18/2017   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      11/18/2017   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      11/18/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/18/2017   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      11/18/2017   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      11/18/2017   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      11/18/2017   709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-25       -286.44
      11/18/2017   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/18/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.49
      11/18/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.69
      11/18/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.56
      11/18/2017   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      11/18/2017   709   NB0029   Owner Operator   Truck Payment                  CTMS - 207302 Lease                   215.66
      11/18/2017   709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      11/18/2017   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      11/18/2017   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      11/18/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/18/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/18/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.24
      11/18/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
      11/18/2017   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      11/18/2017   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      11/18/2017   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      11/18/2017   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      11/18/2017   709   NT9564   Owner Operator   Truck Payment                  CTMS - 207221 Truck 73130 Leas        196.65
      11/18/2017   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/18/2017   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      11/18/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/18/2017   709   RC0030   Owner Operator   Truck Payment                  CTMS - 207190 Down Payment lo         303.55
      11/18/2017   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      11/18/2017   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/18/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500

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      11/18/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/18/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.46
      11/18/2017   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      11/18/2017   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      11/18/2017   709   RC0089   Owner Operator   Repair Order                   CTMS - 207397 Parts                   118.11
      11/18/2017   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      11/18/2017   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/18/2017   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/18/2017   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.43
      11/18/2017   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      11/18/2017   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      11/18/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      11/18/2017   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/18/2017   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      11/18/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/18/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/18/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/18/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/18/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/18/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/18/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.57
      11/18/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.54
      11/18/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.27
      11/18/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.3
      11/18/2017   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      11/18/2017   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      11/18/2017   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      11/18/2017   709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/18/2017   709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      11/18/2017   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/18/2017   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.45
      11/18/2017   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.58
      11/18/2017   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      11/18/2017   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      11/18/2017   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      11/18/2017   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      11/18/2017   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      11/18/2017   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      11/18/2017   709   RM0026   Owner Operator   Broker Pre Pass                33664 PrePass Device                    12.5
      11/18/2017   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      11/18/2017   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      11/18/2017   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      11/18/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.12
      11/18/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.67
      11/18/2017   709   RM0026   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     19.56
      11/18/2017   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      11/18/2017   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      11/18/2017   709   RM0026   Owner Operator   T Chek Fee                     Tractor Repair 33664                  581.25
      11/18/2017   709   RM0026   Owner Operator   Truck Payment                  CTMS - 207394 Truck Payment             400
      11/18/2017   709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      11/18/2017   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      11/18/2017   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      11/18/2017   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.58
      11/18/2017   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      11/18/2017   709   RP0082   Owner Operator   Truck Payment                  CTMS - 207190 Q1202 Truck Leas        278.76
      11/18/2017   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      11/18/2017   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      11/18/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/18/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/18/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/18/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/18/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.84
      11/18/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.82
      11/18/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.48
      11/18/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.33
      11/18/2017   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      11/18/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      11/18/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      11/18/2017   709   RR0123   Owner Operator   Truck Payment                  CTMS - 207227 Q1248                   311.97
      11/18/2017   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      11/18/2017   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      11/18/2017   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/18/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.19
      11/18/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.29
      11/18/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.74
      11/18/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.48
      11/18/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.23
      11/18/2017   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      11/18/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      11/18/2017   709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00360157 - PO System           10.11
      11/18/2017   709   SB0103   Owner Operator   Truck Payment                  CTMS - 207187 Sub Lease               388.33
      11/18/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      11/18/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/18/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      11/18/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.34
      11/18/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.27
      11/18/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.36
      11/18/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      11/18/2017   709   SN0019   Owner Operator   Truck Payment                  CTMS - 207379 Truck Rental              300
      11/18/2017   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      11/18/2017   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      11/18/2017   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-25        -207.7
      11/18/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           425
      11/18/2017   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      11/18/2017   709   VB0015   Owner Operator   Truck Payment                  CTMS - 207225 Tractor Sub leas        242.03
      11/18/2017   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      11/18/2017   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   340.41
      11/18/2017   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/18/2017   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      11/18/2017   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/18/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      11/18/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      11/18/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.65
      11/18/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.78
      11/18/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.66
      11/18/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.54
      11/18/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.9
      11/18/2017   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      11/18/2017   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/18/2017   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      11/18/2017   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      11/18/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/18/2017   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      11/18/2017   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      11/18/2017   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            140
      11/18/2017   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      11/18/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.52
      11/18/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.98
      11/18/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.36
      11/18/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.45
      11/18/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.23
      11/18/2017   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      11/18/2017   709   WH0087   Owner Operator   Truck Payment                  CTMS - 207227 Q1238 Lease             311.97
      11/18/2017   742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      11/18/2017   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/18/2017   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/18/2017   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      11/18/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.76
      11/18/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.57
      11/18/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.59
      11/18/2017   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      11/18/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5

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      11/18/2017   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/18/2017   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      11/18/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.25
      11/18/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          529.3
      11/18/2017   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      11/18/2017   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      11/18/2017   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/18/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.9
      11/18/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.92
      11/18/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.68
      11/18/2017   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      11/18/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      11/18/2017   742   CT0085   Owner Operator   Truck Payment                  CTMS - 207053 Sub Lease Q13171        352.68
      11/18/2017   742   CT0085   Owner Operator   Truck Payment                  CTMS - 207263 Sub Lease Q13171        352.68
      11/18/2017   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/18/2017   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      11/18/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.77
      11/18/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.05
      11/18/2017   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      11/18/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/18/2017   742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      11/18/2017   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/18/2017   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      11/18/2017   742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/18/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.79
      11/18/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.34
      11/18/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.63
      11/18/2017   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      11/18/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/18/2017   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      11/18/2017   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      11/18/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          343.3
      11/18/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.02
      11/18/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.06
      11/18/2017   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      11/18/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      11/18/2017   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/18/2017   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      11/18/2017   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/18/2017   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/18/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.46
      11/18/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.02
      11/18/2017   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      11/18/2017   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      11/18/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/18/2017   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      11/18/2017   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      11/18/2017   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      11/18/2017   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-25         -0.89
      11/18/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      11/18/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      11/18/2017   742   IK0012   Owner Operator   Advance                        New Hire Equip SL 402-092844            100
      11/18/2017   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      11/18/2017   742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      11/18/2017   742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/18/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      11/18/2017   742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      11/18/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      11/18/2017   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/18/2017   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      11/18/2017   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/18/2017   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      11/18/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/18/2017   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      11/18/2017   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13

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      11/18/2017   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                           13
      11/18/2017   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                           13
      11/18/2017   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                           13
      11/18/2017   742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                              50
      11/18/2017   742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                              50
      11/18/2017   742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                              50
      11/18/2017   742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                              50
      11/18/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          268.64
      11/18/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          111.75
      11/18/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.58
      11/18/2017   742   MS0230   Owner Operator   Loan Repayment                 EFS 177112, 11/11 arrears            -10173.7
      11/18/2017   742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          351.39
      11/18/2017   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/18/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                   27.35
      11/18/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris            2.5
      11/18/2017   742   MS0230   Owner Operator   Repair Order                   CTMS - 207110 repair                       70
      11/18/2017   742   MS0230   Owner Operator   T Chek Fee                     ExpressCheck Fee                        21.07
      11/18/2017   742   MS0230   Owner Operator   T Chek Fee                     ExpressCheck Fee                        11.95
      11/18/2017   742   MS0230   Owner Operator   T Chek Fee                     Towing 34082                            1195
      11/18/2017   742   MS0230   Owner Operator   T Chek Fee                     Tractor Repair 34082                  6650.04
      11/18/2017   742   MS0230   Owner Operator   T Chek Fee                     Tractor Repair 34082                  2106.64
      11/18/2017   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                     20.17
      11/18/2017   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      11/18/2017   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                            8
      11/18/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                           129.14
      11/18/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                             120
      11/18/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.2
      11/18/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.29
      11/18/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            200
      11/18/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            250
      11/18/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          229.74
      11/18/2017   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/18/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 72.57
      11/18/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror            2.5
      11/18/2017   742   MT0112   Owner Operator   Truck Payment                  CTMS - 207221 Q1247 Sub Lease          311.97
      11/18/2017   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75
      11/18/2017   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                           13
      11/18/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.96
      11/18/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          465.71
      11/18/2017   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/18/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             100.79
      11/18/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            2.5
      11/18/2017   742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00360155 - PO System           103.03
      11/18/2017   742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845             100
      11/18/2017   742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      11/18/2017   742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                           13
      11/18/2017   742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                              50
      11/18/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/18/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/18/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          375.84
      11/18/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          384.29
      11/18/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          521.61
      11/18/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.64
      11/18/2017   742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/18/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    28.91
      11/18/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      11/18/2017   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       8.75
      11/18/2017   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13
      11/18/2017   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                              50
      11/18/2017   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.54
      11/18/2017   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          414.72
      11/18/2017   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          268.82
      11/18/2017   742   RS0342   Owner Operator   IRP License Deduction          LCIL:2017 - 33738                        100
      11/18/2017   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/18/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                      143.21
      11/18/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism               2.5
      11/18/2017   742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842             100
      11/18/2017   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      11/18/2017   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      11/18/2017   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
      11/18/2017   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
      11/18/2017   742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                              50
      11/18/2017   742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                              50

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      11/18/2017   742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      11/18/2017   742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          287.4
      11/18/2017   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      11/18/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      11/18/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      11/18/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      11/18/2017   742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841             100
      11/18/2017   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/18/2017   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      11/18/2017   742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/18/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.62
      11/18/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.55
      11/18/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.3
      11/18/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.03
      11/18/2017   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      11/18/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/18/2017   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      11/18/2017   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      11/18/2017   843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      11/18/2017   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      11/18/2017   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      11/18/2017   843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/18/2017   843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/18/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.05
      11/18/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.57
      11/18/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         661.78
      11/18/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.33
      11/18/2017   843   EI0003   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                     97.61
      11/18/2017   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/18/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      11/18/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      11/18/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      11/18/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      11/25/2017   709   AN0007   Owner Operator   Advance                        11/6/17 Spill s/u pmts                   250
      11/25/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      11/25/2017   709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 21157a               19.68
      11/25/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      11/25/2017   709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      11/25/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      11/25/2017   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      11/25/2017   709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK q13147               19.68
      11/25/2017   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      11/25/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.12
      11/25/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                            237
      11/25/2017   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      11/25/2017   709   AR0064   Owner Operator   Truck Payment                  CTMS - 207471 Q13147 Lease            440.14
      11/25/2017   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      11/25/2017   709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK Q13168               19.68
      11/25/2017   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      11/25/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.34
      11/25/2017   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         301.87
      11/25/2017   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      11/25/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 207470 Q13168 sub lease        352.68
      11/25/2017   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/25/2017   709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 32920                19.68
      11/25/2017   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      11/25/2017   709   CM0119   Owner Operator   ESCROW                         Escrow Withdrawal                      -5000
      11/25/2017   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                            300
      11/25/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         627.15
      11/25/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.61
      11/25/2017   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      11/25/2017   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      11/25/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/25/2017   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91

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      11/25/2017   709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/25/2017   709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 32864                19.68
      11/25/2017   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      11/25/2017   709   cr0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/25/2017   709   cr0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/25/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.78
      11/25/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.58
      11/25/2017   709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      11/25/2017   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      11/25/2017   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      11/25/2017   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      11/25/2017   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.44
      11/25/2017   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      11/25/2017   709   CS0091   Owner Operator   Truck Payment                  CTMS - 207476 Q1201                   278.76
      11/25/2017   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/25/2017   709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                    12.5
      11/25/2017   709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33850                19.68
      11/25/2017   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      11/25/2017   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      11/25/2017   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      11/25/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.28
      11/25/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.53
      11/25/2017   709   DL0029   Owner Operator   Loan Repayment                 EFS 2475962136                      -3491.67
      11/25/2017   709   DL0029   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         253.74
      11/25/2017   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      11/25/2017   709   DL0029   Owner Operator   Repair Order                   CTMS - 207028 Repair                  174.53
      11/25/2017   709   DL0029   Owner Operator   Repair Order                   CTMS - 207220 Repair                  174.53
      11/25/2017   709   DL0029   Owner Operator   Repair Order                   CTMS - 207474 Repair                  174.53
      11/25/2017   709   DL0029   Owner Operator   Repair Order                   CTMS - 207551 Repair                      70
      11/25/2017   709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                       34.57
      11/25/2017   709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                  3457.1
      11/25/2017   709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                  672.43
      11/25/2017   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/25/2017   709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK q1245                19.68
      11/25/2017   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      11/25/2017   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      11/25/2017   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/25/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.39
      11/25/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         654.99
      11/25/2017   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      11/25/2017   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      11/25/2017   709   DL0107   Owner Operator   Toll Charges                   Q1245 Carquinez Bridge 12                 25
      11/25/2017   709   DL0107   Owner Operator   Truck Payment                  CTMS - 207535 Sublease                338.99
      11/25/2017   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      11/25/2017   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      11/25/2017   709   DW0138   Owner Operator   Broker Pre Pass                33443 PrePass Device                    12.5
      11/25/2017   709   DW0138   Owner Operator   Communication Charge           PNet Device Not Returned                1250
      11/25/2017   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      11/25/2017   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      11/25/2017   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      11/25/2017   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      11/25/2017   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      11/25/2017   709   DW0138   Owner Operator   Communication Charge           PNet Hware 33443                          13
      11/25/2017   709   DW0138   Owner Operator   ESCROW                         Final Balance Refund                   -5000
      11/25/2017   709   DW0138   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                    306.79
      11/25/2017   709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      11/25/2017   709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      11/25/2017   709   DW0138   Owner Operator   IRP License Deduction          LCIL:2017 - 33443                      32.99
      11/25/2017   709   DW0138   Owner Operator   Tire Fee                       Balance of                                 8
      11/25/2017   709   DW0138   Owner Operator   Tire Purchase                  Balance of PO: 709-00359446 -         395.33
      11/25/2017   709   DW0138   Owner Operator   Tire Purchase                  Balance of PO: 709-00359821 -         934.34
      11/25/2017   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      11/25/2017   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         463.27
      11/25/2017   709   DW0138   Owner Operator   Tractor Charge                 55584 - 33443                         408.89
      11/25/2017   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/25/2017   709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33051                19.68
      11/25/2017   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      11/25/2017   709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-18         638.71

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      11/25/2017   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            100
      11/25/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/25/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/25/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/25/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/25/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.17
      11/25/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.54
      11/25/2017   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      11/25/2017   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      11/25/2017   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      11/25/2017   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/25/2017   709   EE0011   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 32910                19.68
      11/25/2017   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      11/25/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/25/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/25/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/25/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/25/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.99
      11/25/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          352.5
      11/25/2017   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      11/25/2017   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      11/25/2017   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      11/25/2017   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      11/25/2017   709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33828                 9.84
      11/25/2017   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      11/25/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.46
      11/25/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.97
      11/25/2017   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      11/25/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/25/2017   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      11/25/2017   709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33846                 9.84
      11/25/2017   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      11/25/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.53
      11/25/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.56
      11/25/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.72
      11/25/2017   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      11/25/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      11/25/2017   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      11/25/2017   709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33040                19.68
      11/25/2017   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      11/25/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.2
      11/25/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.65
      11/25/2017   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      11/25/2017   709   FS0039   Owner Operator   Truck Payment                  CTMS - 207536 truck lease 3304        434.29
      11/25/2017   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/25/2017   709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 21521b               19.68
      11/25/2017   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      11/25/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.01
      11/25/2017   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      11/25/2017   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      11/25/2017   709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK q1110                19.68
      11/25/2017   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      11/25/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.65
      11/25/2017   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      11/25/2017   709   GS0015   Owner Operator   Truck Payment                  CTMS - 207475 Lease                   252.11
      11/25/2017   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1263 2012 Peterbilt NTL                8.75
      11/25/2017   709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK q1263                 9.84
      11/25/2017   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      11/25/2017   709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                          49.92
      11/25/2017   709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.11
      11/25/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                            198
      11/25/2017   709   GW0043   Owner Operator   Loan Repayment                 Credit Loan Interest Loan 1           -21.83
      11/25/2017   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1263 2012 Peterbilt PD                42.18
      11/25/2017   709   GW0043   Owner Operator   T Chek Fee                     Rvrs EFS 175206                        -5192

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      11/25/2017   709   GW0043   Owner Operator   T Chek Fee                     Rvrs EFS 175206 Fee                   -51.92
      11/25/2017   709   GW0043   Owner Operator   Truck Payment                  CTMS - 207557 Truck Rental              500
      11/25/2017   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/25/2017   709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK Q13170               19.68
      11/25/2017   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      11/25/2017   709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.18
      11/25/2017   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      11/25/2017   709   HC0023   Owner Operator   Truck Payment                  CTMS - 207471 Q13170                  352.68
      11/25/2017   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      11/25/2017   709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33180                19.68
      11/25/2017   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      11/25/2017   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.91
      11/25/2017   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      11/25/2017   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/25/2017   709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33418                19.68
      11/25/2017   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      11/25/2017   709   HG0027   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/25/2017   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/25/2017   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/25/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.04
      11/25/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.55
      11/25/2017   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.38
      11/25/2017   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      11/25/2017   709   HG0027   Owner Operator   Repair Order                   CTMS - 207547 Repairs                 280.86
      11/25/2017   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/25/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.54
      11/25/2017   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      11/25/2017   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      11/25/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          0.26
      11/25/2017   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      11/25/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/25/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/25/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.64
      11/25/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.83
      11/25/2017   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/25/2017   709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 32908                19.68
      11/25/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/25/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/25/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.68
      11/25/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.71
      11/25/2017   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      11/25/2017   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      11/25/2017   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00360073 - PO System           79.14
      11/25/2017   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      11/25/2017   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/25/2017   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/25/2017   709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 32909                19.68
      11/25/2017   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      11/25/2017   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      11/25/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/25/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/25/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.41
      11/25/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         628.93
      11/25/2017   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      11/25/2017   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      11/25/2017   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      11/25/2017   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      11/25/2017   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         148.66
      11/25/2017   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      11/25/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/25/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      11/25/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.21
      11/25/2017   709   JG0092   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         358.25
      11/25/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      11/25/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       61.7
      11/25/2017   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      11/25/2017   709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33438                19.68
      11/25/2017   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      11/25/2017   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-18          27.96
      11/25/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/25/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/25/2017   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.42
      11/25/2017   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      11/25/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      11/25/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      11/25/2017   709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33325                19.68
      11/25/2017   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      11/25/2017   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      11/25/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/25/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/25/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.49
      11/25/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      11/25/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      11/25/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      11/25/2017   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/25/2017   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      11/25/2017   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      11/25/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/25/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/25/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/25/2017   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/25/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            210
      11/25/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.64
      11/25/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.51
      11/25/2017   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.26
      11/25/2017   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      11/25/2017   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      11/25/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/25/2017   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      11/25/2017   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/25/2017   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/25/2017   709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK q1111                19.68
      11/25/2017   709   LL0160   Owner Operator   Broker Pre Pass                Q1111 PrePass Device                    12.5
      11/25/2017   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      11/25/2017   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      11/25/2017   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      11/25/2017   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      11/25/2017   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-11         320.83
      11/25/2017   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      11/25/2017   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             33.44
      11/25/2017   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      11/25/2017   709   LL0160   Owner Operator   Truck Payment                  CTMS - 206880 Lease Q1111             252.11
      11/25/2017   709   LL0160   Owner Operator   Truck Payment                  CTMS - 207101 Lease Q1111             252.11
      11/25/2017   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      11/25/2017   709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33655                19.68
      11/25/2017   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      11/25/2017   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      11/25/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      11/25/2017   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/25/2017   709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 34005                19.68
      11/25/2017   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      11/25/2017   709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.82
      11/25/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.32
      11/25/2017   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.58
      11/25/2017   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      11/25/2017   709   MB0048   Owner Operator   ESCROW                         Final Balance Refund                   -3000
      11/25/2017   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      11/25/2017   709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK q1113                19.68
      11/25/2017   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      11/25/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.31
      11/25/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.76

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      11/25/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.93
      11/25/2017   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      11/25/2017   709   ME0053   Owner Operator   Toll Charges                   Q1113 Carquinez Bridge 11                 25
      11/25/2017   709   ME0053   Owner Operator   Truck Payment                  CTMS - 207471 Q1113 Lease             252.11
      11/25/2017   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/25/2017   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.03
      11/25/2017   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.02
      11/25/2017   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      11/25/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/25/2017   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/25/2017   709   MM0093   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 32931                19.68
      11/25/2017   709   MM0093   Owner Operator   Charge back by affiliate       CTMS - 207533 Tractorrepairs 3         283.5
      11/25/2017   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      11/25/2017   709   MM0093   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-2         -148.8
      11/25/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              40
      11/25/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      11/25/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.27
      11/25/2017   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.11
      11/25/2017   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      11/25/2017   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/25/2017   709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 32904                19.68
      11/25/2017   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      11/25/2017   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         667.39
      11/25/2017   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.41
      11/25/2017   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      11/25/2017   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      11/25/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/25/2017   709   MP0035   Owner Operator   Repair Order                   CTMS - 207428 Q1105 Fuel             -461.41
      11/25/2017   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      11/25/2017   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      11/25/2017   709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK q1108                19.68
      11/25/2017   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      11/25/2017   709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-18         286.44
      11/25/2017   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/25/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.73
      11/25/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           385
      11/25/2017   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      11/25/2017   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      11/25/2017   709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 21412b               19.68
      11/25/2017   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      11/25/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            260
      11/25/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.6
      11/25/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.47
      11/25/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.03
      11/25/2017   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      11/25/2017   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      11/25/2017   709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 73130                19.68
      11/25/2017   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      11/25/2017   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      11/25/2017   709   NT9564   Owner Operator   Truck Payment                  CTMS - 207470 Truck 73130 Leas        196.65
      11/25/2017   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/25/2017   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      11/25/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/25/2017   709   RC0030   Owner Operator   Truck Payment                  CTMS - 207423 Down Payment lo         303.55
      11/25/2017   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/25/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.02
      11/25/2017   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      11/25/2017   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      11/25/2017   709   RC0089   Owner Operator   T Chek Fee                     ExpressCheck Fee                        20.5
      11/25/2017   709   RC0089   Owner Operator   T Chek Fee                     Tractor Repair 32986                  785.74
      11/25/2017   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      11/25/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         109.44
      11/25/2017   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/25/2017   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13

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      11/25/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/25/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/25/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/25/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/25/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.22
      11/25/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.44
      11/25/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.57
      11/25/2017   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      11/25/2017   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      11/25/2017   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      11/25/2017   709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/25/2017   709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 34012                19.68
      11/25/2017   709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      11/25/2017   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.79
      11/25/2017   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.41
      11/25/2017   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      11/25/2017   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      11/25/2017   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      11/25/2017   709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33664                19.68
      11/25/2017   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      11/25/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.41
      11/25/2017   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      11/25/2017   709   RM0026   Owner Operator   Repair Order                   CTMS - 207557 Truck Rental              200
      11/25/2017   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      11/25/2017   709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK q1202                19.68
      11/25/2017   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      11/25/2017   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.59
      11/25/2017   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      11/25/2017   709   RP0082   Owner Operator   Truck Payment                  CTMS - 207424 Q1202 Truck Leas        278.76
      11/25/2017   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      11/25/2017   709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK q1248                19.68
      11/25/2017   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      11/25/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.44
      11/25/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.97
      11/25/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.17
      11/25/2017   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      11/25/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      11/25/2017   709   RR0123   Owner Operator   Truck Payment                  CTMS - 207476 Q1248                   311.97
      11/25/2017   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          17.69
      11/25/2017   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      11/25/2017   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      11/25/2017   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.67
      11/25/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.38
      11/25/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.91
      11/25/2017   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      11/25/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      11/25/2017   709   SB0103   Owner Operator   Repair Order                   CTMS - 207552 Repair                  380.55
      11/25/2017   709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00360157 - PO System           10.06
      11/25/2017   709   SB0103   Owner Operator   Truck Payment                  CTMS - 207421 Sub Lease               388.33
      11/25/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      11/25/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/25/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      11/25/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.34
      11/25/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.57
      11/25/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      11/25/2017   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      11/25/2017   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      11/25/2017   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-18          207.7
      11/25/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          507.2
      11/25/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.69
      11/25/2017   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      11/25/2017   709   VB0015   Owner Operator   Truck Payment                  CTMS - 207474 Tractor Sub leas        242.03
      11/25/2017   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82

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      11/25/2017   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/25/2017   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      11/25/2017   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/25/2017   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      11/25/2017   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/25/2017   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      11/25/2017   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      11/25/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/25/2017   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      11/25/2017   709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK q1239                19.68
      11/25/2017   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      11/25/2017   709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-2         -148.8
      11/25/2017   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/25/2017   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/25/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           155
      11/25/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.45
      11/25/2017   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      11/25/2017   709   WH0087   Owner Operator   Truck Payment                  CTMS - 207476 Q1238 Lease             311.97
      11/25/2017   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      11/25/2017   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      11/25/2017   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      11/25/2017   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      11/25/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/25/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/25/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/25/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/25/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/25/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/25/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/25/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/25/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.52
      11/25/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.11
      11/25/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.01
      11/25/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.19
      11/25/2017   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      11/25/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.33
      11/25/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      11/25/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      11/25/2017   742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      11/25/2017   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/25/2017   742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33471                19.68
      11/25/2017   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      11/25/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.65
      11/25/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.53
      11/25/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.91
      11/25/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           481
      11/25/2017   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      11/25/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/25/2017   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/25/2017   742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33987                 9.84
      11/25/2017   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      11/25/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.93
      11/25/2017   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      11/25/2017   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      11/25/2017   742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK Q13171               19.68
      11/25/2017   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/25/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.78
      11/25/2017   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      11/25/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      11/25/2017   742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 4                 25
      11/25/2017   742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 4                 25
      11/25/2017   742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 8                 25
      11/25/2017   742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 8                 25
      11/25/2017   742   CT0085   Owner Operator   Truck Payment                  CTMS - 207530 Sub Lease Q13171        352.68

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      11/25/2017   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/25/2017   742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33847                19.68
      11/25/2017   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      11/25/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.44
      11/25/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.07
      11/25/2017   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      11/25/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/25/2017   742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 10                 25
      11/25/2017   742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  25
      11/25/2017   742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 8                  25
      11/25/2017   742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 9                  25
      11/25/2017   742   DA0067   Owner Operator   Toll Charges                   33847 Richmond 3                          25
      11/25/2017   742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      11/25/2017   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/25/2017   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      11/25/2017   742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.31
      11/25/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.61
      11/25/2017   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      11/25/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/25/2017   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/25/2017   742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 32947                19.68
      11/25/2017   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      11/25/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          449.3
      11/25/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.16
      11/25/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.73
      11/25/2017   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      11/25/2017   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      11/25/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/25/2017   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      11/25/2017   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      11/25/2017   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      11/25/2017   742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-18           0.89
      11/25/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      11/25/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      11/25/2017   742   IK0012   Owner Operator   Advance                        New Hire Equip SL 402-092844            100
      11/25/2017   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      11/25/2017   742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      11/25/2017   742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.2
      11/25/2017   742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.15
      11/25/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      11/25/2017   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      11/25/2017   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      11/25/2017   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      11/25/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/25/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/25/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/25/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/25/2017   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.52
      11/25/2017   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.07
      11/25/2017   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      11/25/2017   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      11/25/2017   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      11/25/2017   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      11/25/2017   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      11/25/2017   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      11/25/2017   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      11/25/2017   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      11/25/2017   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      11/25/2017   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      11/25/2017   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                          15.82
      11/25/2017   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/25/2017   742   MH0117   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33296                19.68
      11/25/2017   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      11/25/2017   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50

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      11/25/2017   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      11/25/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/25/2017   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      11/25/2017   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      11/25/2017   742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.26
      11/25/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.08
      11/25/2017   742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      11/25/2017   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      11/25/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      11/25/2017   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      11/25/2017   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      11/25/2017   742   MT0112   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK q1247                19.68
      11/25/2017   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      11/25/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            350
      11/25/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3.5
      11/25/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      11/25/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      11/25/2017   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.54
      11/25/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Antioch Bridge 2                    25
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Bay Bridge 10                       25
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Bay Bridge 10                       25
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Bay Bridge 8                        25
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Bay Bridge 9                        25
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Bay Bridge 9                        25
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Bay Bridge 9                        25
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Benicia 12                          20
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Benicia 12                          25
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Benicia 12                          20
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Benicia 12                          20
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Benicia 12                          20
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Benicia 12                          25
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Carquinez Bridge 9                  25
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Richmond 6                          25
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Richmond 7                          25
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 Richmond 7                          25
      11/25/2017   742   MT0112   Owner Operator   Toll Charges                   Q1247 San Mateo 4                         25
      11/25/2017   742   MT0112   Owner Operator   Truck Payment                  CTMS - 207470 Q1247 Sub Lease         311.97
      11/25/2017   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      11/25/2017   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/25/2017   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/25/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.25
      11/25/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.27
      11/25/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.49
      11/25/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.06
      11/25/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          312.4
      11/25/2017   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          15.24
      11/25/2017   742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                  25
      11/25/2017   742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                  25
      11/25/2017   742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                  25
      11/25/2017   742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845            100
      11/25/2017   742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/25/2017   742   NK0013   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 34038                19.68
      11/25/2017   742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
      11/25/2017   742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/25/2017   742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/25/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.73
      11/25/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.39
      11/25/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.2
      11/25/2017   742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    28.9
      11/25/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/25/2017   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      11/25/2017   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      11/25/2017   742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK q13157               19.68
      11/25/2017   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      11/25/2017   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      11/25/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.16

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      11/25/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.76
      11/25/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           2.95
      11/25/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           2.94
      11/25/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.99
      11/25/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           5.24
      11/25/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.2
      11/25/2017   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      11/25/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      11/25/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      11/25/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      11/25/2017   742   RN0054   Owner Operator   Truck Payment                  CTMS - 207189 Tractor Lease           353.28
      11/25/2017   742   RN0054   Owner Operator   Truck Payment                  CTMS - 207423 Tractor Lease           353.28
      11/25/2017   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      11/25/2017   742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33738                19.68
      11/25/2017   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      11/25/2017   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   742   RS0342   Owner Operator   IRP License Deduction          LCIL:2017 - 33738                       100
      11/25/2017   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      11/25/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      11/25/2017   742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      11/25/2017   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/25/2017   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      11/25/2017   742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      11/25/2017   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      11/25/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      11/25/2017   742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      11/25/2017   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/25/2017   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      11/25/2017   742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/25/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.84
      11/25/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         617.95
      11/25/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.93
      11/25/2017   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/25/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      11/25/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       12/2/2017   709   AN0007   Owner Operator   Advance                        11/6/17 Spill s/u pmts                  250
       12/2/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       12/2/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       12/2/2017   709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       12/2/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
       12/2/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       12/2/2017   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          241.7
       12/2/2017   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.64
       12/2/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/2/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       12/2/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       12/2/2017   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       12/2/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.99
       12/2/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.81
       12/2/2017   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.93
       12/2/2017   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/2/2017   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       12/2/2017   709   AR0064   Owner Operator   Truck Payment                  CTMS - 207654 Q13147 Lease            440.14
       12/2/2017   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       12/2/2017   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       12/2/2017   709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK q13169               19.68
       12/2/2017   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            200
       12/2/2017   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       12/2/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.97
       12/2/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
       12/2/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.77
       12/2/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.64
       12/2/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             40
       12/2/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.02
       12/2/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.25
       12/2/2017   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/2/2017   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/2/2017   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16

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      12/2/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      12/2/2017    709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00356863 - PO System          112.34
      12/2/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 207537 Q13169 Sublease         352.68
      12/2/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 207712 Q13169 Sublease         352.68
      12/2/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      12/2/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      12/2/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.16
      12/2/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.99
      12/2/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.55
      12/2/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.57
      12/2/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.62
      12/2/2017    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         301.87
      12/2/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      12/2/2017    709   CC0134   Owner Operator   Repair Order                   CTMS - 207777 Repair                  101.26
      12/2/2017    709   CC0134   Owner Operator   Tire Fee                       905-02756391 12/2/17:                      4
      12/2/2017    709   CC0134   Owner Operator   Tire Purchase                  905-02756391 12/2/17                   87.56
      12/2/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 207653 Q13168 sub lease        352.68
      12/2/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/2/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      12/2/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      12/2/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/2/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.06
      12/2/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      12/2/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      12/2/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/2/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      12/2/2017    709   CR0064   Owner Operator   Express Check                  Towing 32864                           2000
      12/2/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.3
      12/2/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.83
      12/2/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.04
      12/2/2017    709   cr0064   Owner Operator   Repair Order                   TRACTOR 32864                         140.35
      12/2/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         147.14
      12/2/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/2/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      12/2/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.87
      12/2/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      12/2/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 207659 Q1201                   278.76
      12/2/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/2/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      12/2/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.39
      12/2/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.22
      12/2/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.68
      12/2/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.99
      12/2/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.55
      12/2/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         253.74
      12/2/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      12/2/2017    709   DL0029   Owner Operator   Repair Order                   CTMS - 207657 Repair                  174.53
      12/2/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      12/2/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      12/2/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.24
      12/2/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.82
      12/2/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.48
      12/2/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.85
      12/2/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      12/2/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      12/2/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 207710 Sublease                338.99
      12/2/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      12/2/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      12/2/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/2/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/2/2017    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 32915                19.68
      12/2/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      12/2/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      12/2/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/2/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/2/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      12/2/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/2/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/2/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.98
      12/2/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.91
      12/2/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.68
      12/2/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      12/2/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      12/2/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      12/2/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      12/2/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      12/2/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      12/2/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      12/2/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         621.64
      12/2/2017    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.97
      12/2/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      12/2/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/2/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      12/2/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/2/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/2/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/2/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.19
      12/2/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.58
      12/2/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.59
      12/2/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      12/2/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      12/2/2017    709   EA0003   Owner Operator   Repair Order                   CTMS - 207778 Repair                   156.7
      12/2/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      12/2/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/2/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      12/2/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                              60
      12/2/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/2/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      12/2/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/2/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.32
      12/2/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.39
      12/2/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.57
      12/2/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.45
      12/2/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      12/2/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      12/2/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      12/2/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      12/2/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      12/2/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.58
      12/2/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.75
      12/2/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           120
      12/2/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      12/2/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      12/2/2017    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      12/2/2017    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      12/2/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.77
      12/2/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.1
      12/2/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.66
      12/2/2017    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      12/2/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/2/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      12/2/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      12/2/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          451.1
      12/2/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.22
      12/2/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      12/2/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 207711 truck lease 3304        434.29
      12/2/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75

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      12/2/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      12/2/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/2/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          695.3
      12/2/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          146.8
      12/2/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      12/2/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      12/2/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      12/2/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.7
      12/2/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      12/2/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 207658 Lease                   252.11
      12/2/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      12/2/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/2/2017    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/2/2017    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/2/2017    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/2/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.92
      12/2/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.55
      12/2/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.01
      12/2/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.38
      12/2/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 207583 Truck Lease             298.33
      12/2/2017    709   GW0043   Owner Operator   Truck Payment                  CTMS - 207683 Truck Rental              500
      12/2/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      12/2/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      12/2/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.32
      12/2/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.32
      12/2/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.93
      12/2/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      12/2/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 207654 Q13170                  352.68
      12/2/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      12/2/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      12/2/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/2/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/2/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.63
      12/2/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.37
      12/2/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      12/2/2017    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/2/2017    709   HG0027   Owner Operator   Driver Excellence Program      AZ-0Y2A000400                            -50
      12/2/2017    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          41.25
      12/2/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      12/2/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      12/2/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/2/2017    709   IR0002   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      12/2/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.15
      12/2/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.05
      12/2/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      12/2/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      12/2/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/2/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism          2.24
      12/2/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      12/2/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      12/2/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      12/2/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q1210 2012 Volvo NTL                    8.75
      12/2/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      12/2/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      12/2/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      12/2/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      12/2/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      12/2/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      12/2/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      12/2/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
      12/2/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      12/2/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/2/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        110.73
      12/2/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        160.16
      12/2/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        276.14
      12/2/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.87
      12/2/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        174.86
      12/2/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        135.99
      12/2/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                     32.99
      12/2/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                     32.99
      12/2/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/2/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/2/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q1210 2012 Volvo PD                   78.11
      12/2/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.18
      12/2/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      12/2/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210 FDOT 3110                        5.28
      12/2/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210 FDOT 3140                        2.12
      12/2/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210 FDOT 500090                      0.28
      12/2/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210 FDOT 500091                      0.28
      12/2/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210 OTA JKT-MCRTHR-01                4.35
      12/2/2017    709   JC0292   Owner Operator   Toll Charges                   Q1210 OTA TRN-OKCWGT-03                17.6
      12/2/2017    709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL 1                           8
      12/2/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      12/2/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      12/2/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 207533 Q13197 Lease           276.63
      12/2/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 207708 Q13197 Lease           276.63
      12/2/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/2/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      12/2/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      12/2/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      12/2/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      12/2/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      12/2/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      12/2/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.6
      12/2/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        499.89
      12/2/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        314.67
      12/2/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                     32.99
      12/2/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/2/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      12/2/2017    709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00360073 - PO System         563.75
      12/2/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      12/2/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/2/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      12/2/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      12/2/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      12/2/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        504.11
      12/2/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        580.47
      12/2/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                     32.99
      12/2/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/2/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      12/2/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      12/2/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      12/2/2017    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      12/2/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        170.74
      12/2/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.23
      12/2/2017    709   JG0092   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        358.25
      12/2/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/2/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
      12/2/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      12/2/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      12/2/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/2/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/2/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        215.33
      12/2/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/2/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      12/2/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      12/2/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      12/2/2017    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK q1203               19.68
      12/2/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      12/2/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      12/2/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        420.38
      12/2/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      12/2/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      12/2/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      12/2/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 207424 Truck Lease             278.76
      12/2/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 207619 Truck Lease             278.76
      12/2/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      12/2/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      12/2/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      12/2/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/2/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/2/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.44
      12/2/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      12/2/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      12/2/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      12/2/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/2/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      12/2/2017    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/2/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/2/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/2/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/2/2017    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/2/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           365
      12/2/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.48
      12/2/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           245
      12/2/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.64
      12/2/2017    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.78
      12/2/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      12/2/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      12/2/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/2/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      12/2/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      12/2/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      12/2/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      12/2/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      12/2/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      12/2/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/2/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.36
      12/2/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.06
      12/2/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      12/2/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      12/2/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/2/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      12/2/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.27
      12/2/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.43
      12/2/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.1
      12/2/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.64
      12/2/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.44
      12/2/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      12/2/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      12/2/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      12/2/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.09
      12/2/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.72
      12/2/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      12/2/2017    709   ME0053   Owner Operator   Repair Order                   TRACTOR Q1113                           315
      12/2/2017    709   ME0053   Owner Operator   Repair Order                   TRACTOR Q1113                         190.58
      12/2/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 207654 Q1113 Lease             252.11
      12/2/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/2/2017    709   MG0067   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      12/2/2017    709   MG0067   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      12/2/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.09
      12/2/2017    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.03
      12/2/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      12/2/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/2/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75

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      12/2/2017    709   MM0093   Owner Operator   Charge back by affiliate       CTMS - 207708 Tractorrepairs 3         283.5
      12/2/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      12/2/2017    709   MM0093   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-25          148.8
      12/2/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              40
      12/2/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      12/2/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.67
      12/2/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.59
      12/2/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.02
      12/2/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      12/2/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      12/2/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/2/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      12/2/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          1000
      12/2/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         332.61
      12/2/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              50
      12/2/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      12/2/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         664.13
      12/2/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      12/2/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      12/2/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/2/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      12/2/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      12/2/2017    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      12/2/2017    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-9        -102.14
      12/2/2017    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/2/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.03
      12/2/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.84
      12/2/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.12
      12/2/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      12/2/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 207585 Lease                   215.66
      12/2/2017    709   NB0029   Owner Operator   Truck Payment                  CTMS - 207768 Lease                   215.66
      12/2/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/2/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      12/2/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              60
      12/2/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      12/2/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.91
      12/2/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.04
      12/2/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.04
      12/2/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      12/2/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      12/2/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      12/2/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      12/2/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 207653 Truck 73130 Leas        196.65
      12/2/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/2/2017    709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/2/2017    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.82
      12/2/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      12/2/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/2/2017    709   RC0030   Owner Operator   Toll Charges                   33676 NTTA I820-I35W-3                   5.7
      12/2/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 207619 Down Payment lo         303.55
      12/2/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.19
      12/2/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      12/2/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/2/2017    709   RC0089   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      12/2/2017    709   RC0089   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      12/2/2017    709   RC0089   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      12/2/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/2/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/2/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         579.39
      12/2/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.56
      12/2/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      12/2/2017    709   RC0089   Owner Operator   Loan Repayment                 EFS 3062857781                       -2070.5
      12/2/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         261.51
      12/2/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      12/2/2017    709   RC0089   Owner Operator   T Chek Fee                     Advance                                 754

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      12/2/2017    709   RC0089   Owner Operator   T Chek Fee                     ExpressCheck Fee                        7.54
      12/2/2017    709   RC0089   Owner Operator   T Chek Fee                     Tractor Repair 32986                 1264.26
      12/2/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      12/2/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/2/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      12/2/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/2/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/2/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.73
      12/2/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.57
      12/2/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.44
      12/2/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      12/2/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      12/2/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      12/2/2017    709   RL0180   Owner Operator   Accident Claim                 11/08/17 RL0180 Incident               967.1
      12/2/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.39
      12/2/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      12/2/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      12/2/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      12/2/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.62
      12/2/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.16
      12/2/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.41
      12/2/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      12/2/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      12/2/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      12/2/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.33
      12/2/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      12/2/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 207619 Q1202 Truck Leas        278.76
      12/2/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      12/2/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      12/2/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/2/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/2/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.74
      12/2/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.56
      12/2/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.34
      12/2/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      12/2/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      12/2/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 207659 Q1248                   311.97
      12/2/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/2/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      12/2/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.12
      12/2/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.21
      12/2/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.11
      12/2/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.25
      12/2/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.93
      12/2/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.22
      12/2/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.82
      12/2/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      12/2/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/2/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 207616 Sub Lease               388.33
      12/2/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      12/2/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/2/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      12/2/2017    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/2/2017    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/2/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.65
      12/2/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.34
      12/2/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      12/2/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      12/2/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      12/2/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           487
      12/2/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.96
      12/2/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           234
      12/2/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      12/2/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 207657 Tractor Sub leas        242.03
      12/2/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 207683 Truck Rental              100

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      12/2/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      12/2/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/2/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      12/2/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/2/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/2/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/2/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/2/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/2/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.32
      12/2/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.43
      12/2/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.81
      12/2/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.78
      12/2/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.17
      12/2/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.73
      12/2/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      12/2/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/2/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      12/2/2017    709   WB0062   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      12/2/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      12/2/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/2/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      12/2/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      12/2/2017    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-25          148.8
      12/2/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/2/2017    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/2/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.72
      12/2/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.15
      12/2/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.24
      12/2/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      12/2/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 207659 Q1238 Lease             311.97
      12/2/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.01
      12/2/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      12/2/2017    742   AS0089   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      12/2/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/2/2017    742   BS0078   Owner Operator   Broker Pre Pass                675567177 PREP not returned             100
      12/2/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      12/2/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.78
      12/2/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.82
      12/2/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.77
      12/2/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      12/2/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/2/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      12/2/2017    742   CA0089   Owner Operator   Broker Pre Pass                675664373 PREP not returned             100
      12/2/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      12/2/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.24
      12/2/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.17
      12/2/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      12/2/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      12/2/2017    742   CT0085   Owner Operator   Broker Pre Pass                675322528 PREP not returned             100
      12/2/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      12/2/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.51
      12/2/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.49
      12/2/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          495.7
      12/2/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      12/2/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      12/2/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 207706 Sub Lease Q13171        352.68
      12/2/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/2/2017    742   DA0067   Owner Operator   Broker Pre Pass                675711136 PREP not returned             100
      12/2/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      12/2/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.71
      12/2/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.34
      12/2/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.98
      12/2/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.47
      12/2/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.62
      12/2/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32

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      12/2/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/2/2017    742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA SHT-SAMSE-08                 3.5
      12/2/2017    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843             100
      12/2/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/2/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      12/2/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.84
      12/2/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.69
      12/2/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      12/2/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/2/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/2/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/2/2017    742   ED0041   Owner Operator   Broker Pre Pass                675252241 PREP not returned              100
      12/2/2017    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 32897                19.68
      12/2/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      12/2/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      12/2/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.56
      12/2/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          306.9
      12/2/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.5
      12/2/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.92
      12/2/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          392.3
      12/2/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      12/2/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      12/2/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/2/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/2/2017    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA SHT-SHIP-21                    7
      12/2/2017    742   ED0041   Owner Operator   Toll Charges                   32897 KTA KTA-PLZ236                    6.75
      12/2/2017    742   ED0041   Owner Operator   Toll Charges                   32897 TOLLROAD                         25.96
      12/2/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      12/2/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      12/2/2017    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-9         -90.41
      12/2/2017    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-9        -117.91
      12/2/2017    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-9        -191.23
      12/2/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      12/2/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      12/2/2017    742   IK0012   Owner Operator   Advance                        New Hire Equip SL 402-092844             100
      12/2/2017    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      12/2/2017    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      12/2/2017    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.17
      12/2/2017    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.83
      12/2/2017    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      12/2/2017    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      12/2/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/2/2017    742   MH0117   Owner Operator   Broker Pre Pass                675485918 PREP not returned              100
      12/2/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      12/2/2017    742   MH0117   Owner Operator   Driver Excellence Program      NM-3887201880                            -50
      12/2/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      12/2/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/2/2017    742   MK0078   Owner Operator   ESCROW                         Final Balance Refund                    -350
      12/2/2017    742   MK0078   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  153.13
      12/2/2017    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      12/2/2017    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      12/2/2017    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.6
      12/2/2017    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.85
      12/2/2017    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.21
      12/2/2017    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.59
      12/2/2017    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2017 - 34082                        100
      12/2/2017    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      12/2/2017    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   MS0230   Owner Operator   Permits                        IL02:2017 - 34082                       3.75
      12/2/2017    742   MS0230   Owner Operator   Permits                        OR16:2017 - 34082                          8
      12/2/2017    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      12/2/2017    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      12/2/2017    742   MS0230   Owner Operator   Repair Order                   CTMS - 207796 repair                     170
      12/2/2017    742   MT0112   Owner Operator   24 HOUR DISABILITY             L&H                                   126.94

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      12/2/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      12/2/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      12/2/2017    742   MT0112   Owner Operator   Broker Pre Pass                675453691 PREP not returned             100
      12/2/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      12/2/2017    742   MT0112   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-9         -175.5
      12/2/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/2/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/2/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.11
      12/2/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      12/2/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      12/2/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      12/2/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      12/2/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      12/2/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 207654 Q1247 Sub Lease         311.97
      12/2/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      12/2/2017    742   NG0024   Owner Operator   Broker Pre Pass                675485930 PREP not returned             100
      12/2/2017    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 33252                19.68
      12/2/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      12/2/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      12/2/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/2/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/2/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.74
      12/2/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.64
      12/2/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          32.26
      12/2/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      12/2/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      12/2/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      12/2/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      12/2/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/2/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/2/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/2/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/2/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/2/2017    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/2/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.55
      12/2/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.79
      12/2/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.66
      12/2/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.48
      12/2/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.74
      12/2/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.5
      12/2/2017    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.99
      12/2/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      12/2/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      12/2/2017    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      12/2/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      12/2/2017    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      12/2/2017    742   PC0012   Owner Operator   Toll Charges                   32969 FDOT 3100                         11.6
      12/2/2017    742   PC0012   Owner Operator   Toll Charges                   32969 FDOT 3100                         11.6
      12/2/2017    742   PC0012   Owner Operator   Toll Charges                   32969 FDOT 3150                         3.16
      12/2/2017    742   PC0012   Owner Operator   Toll Charges                   32969 FDOT 3151                         3.16
      12/2/2017    742   PC0012   Owner Operator   Toll Charges                   32969 OTA JKT-I35-04                    5.85
      12/2/2017    742   PC0012   Owner Operator   Toll Charges                   32969 OTA JKT-WLSHR-05                   2.1
      12/2/2017    742   PC0012   Owner Operator   Toll Charges                   32969 OTA TRN-TULSA-01                  17.6
      12/2/2017    742   PC0012   Owner Operator   Toll Charges                   32969 OTA WR-STLINE-04                  17.6
      12/2/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      12/2/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      12/2/2017    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      12/2/2017    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      12/2/2017    742   RN0054   Owner Operator   Broker Pre Pass                675513116 PREP not returned             100
      12/2/2017    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      12/2/2017    742   RN0054   Owner Operator   Driver Excellence Program      CA-1441802246                            -50
      12/2/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.24
      12/2/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.04
      12/2/2017    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.73
      12/2/2017    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      12/2/2017    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      12/2/2017    742   RN0054   Owner Operator   Repair Order                   CTMS - 207789 Claim #65570           1003.51
      12/2/2017    742   RN0054   Owner Operator   Truck Payment                  CTMS - 207619 Tractor Lease           353.28
      12/2/2017    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      12/2/2017    742   RS0342   Owner Operator   Broker Pre Pass                675674790 PREP not returned             100

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      12/2/2017    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      12/2/2017    742   RS0342   Owner Operator   Driver Excellence Program      NM-3683105793                            -50
      12/2/2017    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.95
      12/2/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.55
      12/2/2017    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.31
      12/2/2017    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2017 - 33738                      39.15
      12/2/2017    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      12/2/2017    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      12/2/2017    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      12/2/2017    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/2/2017    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 207837 fuel                      250
      12/2/2017    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      12/2/2017    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      12/2/2017    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      12/2/2017    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      12/2/2017    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      12/2/2017    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/2/2017    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      12/2/2017    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.96
      12/2/2017    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         617.17
      12/2/2017    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      12/2/2017    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/2/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      12/2/2017    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      12/2/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      12/2/2017    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      12/2/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/2/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.56
      12/2/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.58
      12/2/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.63
      12/2/2017    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.46
      12/2/2017    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/2/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      12/2/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      12/2/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      12/2/2017    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      12/2/2017    843   EI0003   Owner Operator   Toll Charges                   33949 RIVERLIN DTS                         5
      12/2/2017    843   EI0003   Owner Operator   Toll Charges                   33949 RIVERLIN ECN                        10
      12/9/2017    709   AN0007   Owner Operator   Advance                        11/6/17 Spill s/u pmts                  250
      12/9/2017    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      12/9/2017    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      12/9/2017    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.18
      12/9/2017    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      12/9/2017    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      12/9/2017    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      12/9/2017    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            26.21
      12/9/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      12/9/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      12/9/2017    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      12/9/2017    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      12/9/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      12/9/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      12/9/2017    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      12/9/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.87
      12/9/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.83
      12/9/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.93
      12/9/2017    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.36
      12/9/2017    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      12/9/2017    709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00356863 - PO System           60.95
      12/9/2017    709   AV0021   Owner Operator   Truck Payment                  CTMS - 207984 Q13169 Sublease         352.68
      12/9/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75

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      12/9/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      12/9/2017    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      12/9/2017    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      12/9/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      12/9/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      12/9/2017    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      12/9/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      12/9/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      12/9/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      12/9/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      12/9/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      12/9/2017    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      12/9/2017    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      12/9/2017    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      12/9/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.11
      12/9/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.51
      12/9/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.37
      12/9/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.66
      12/9/2017    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.01
      12/9/2017    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         301.87
      12/9/2017    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      12/9/2017    709   CC0134   Owner Operator   Tire Purchase                  905-02756391 12/2/17                   87.56
      12/9/2017    709   CC0134   Owner Operator   Truck Payment                  CTMS - 207923 Q13168 sub lease        352.68
      12/9/2017    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/9/2017    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      12/9/2017    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      12/9/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/9/2017    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/9/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.16
      12/9/2017    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          559.8
      12/9/2017    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      12/9/2017    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      12/9/2017    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/9/2017    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      12/9/2017    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/9/2017    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/9/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      12/9/2017    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      12/9/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.86
      12/9/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.04
      12/9/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.75
      12/9/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.95
      12/9/2017    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.95
      12/9/2017    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      12/9/2017    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      12/9/2017    709   CR0064   Owner Operator   T Chek Fee                     Express Ck Fee                            20
      12/9/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                          98.49
      12/9/2017    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      12/9/2017    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/9/2017    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      12/9/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.24
      12/9/2017    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.87
      12/9/2017    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      12/9/2017    709   CS0091   Owner Operator   Truck Payment                  CTMS - 207929 Q1201                   278.76
      12/9/2017    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/9/2017    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      12/9/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.01
      12/9/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.31
      12/9/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.11
      12/9/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.31
      12/9/2017    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.2
      12/9/2017    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         253.74

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      12/9/2017    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/9/2017    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     34.2
      12/9/2017    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      12/9/2017    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      12/9/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/9/2017    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      12/9/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.29
      12/9/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.21
      12/9/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.49
      12/9/2017    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.75
      12/9/2017    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      12/9/2017    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/9/2017    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      12/9/2017    709   DL0107   Owner Operator   Truck Payment                  CTMS - 207982 Sublease                338.99
      12/9/2017    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      12/9/2017    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/9/2017    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
      12/9/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/9/2017    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      12/9/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.95
      12/9/2017    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         653.54
      12/9/2017    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      12/9/2017    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/9/2017    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      12/9/2017    709   DS0049   Owner Operator   Tire Fee                       Tire Fee: 2079869                           8
      12/9/2017    709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00362106 - PO System          249.49
      12/9/2017    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      12/9/2017    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      12/9/2017    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/9/2017    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      12/9/2017    709   DW0138   Owner Operator   Permits1                       ID06:2017 - 33443                         -11
      12/9/2017    709   DW0138   Owner Operator   Permits1                       IL02:2017 - 33443                       -3.75
      12/9/2017    709   DW0138   Owner Operator   Permits1                       NM07:2017 - 33443                        -5.5
      12/9/2017    709   DW0138   Owner Operator   Permits1                       NY13:2016 - 33443                         -19
      12/9/2017    709   DW0138   Owner Operator   Permits1                       OR16:2017 - 33443                          -8
      12/9/2017    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/9/2017    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
      12/9/2017    709   EA0003   Owner Operator   ESCROW                         Escrow Withdrawal                      -6500
      12/9/2017    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      12/9/2017    709   EA0003   Owner Operator   Express Check                  T-Check Payment                         6500
      12/9/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/9/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/9/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/9/2017    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/9/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.21
      12/9/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.33
      12/9/2017    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.47
      12/9/2017    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      12/9/2017    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/9/2017    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      12/9/2017    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      12/9/2017    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/9/2017    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                           13
      12/9/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/9/2017    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/9/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.09
      12/9/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.59
      12/9/2017    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.26
      12/9/2017    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      12/9/2017    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/9/2017    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      12/9/2017    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      12/9/2017    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
      12/9/2017    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
      12/9/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.89
      12/9/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.39
      12/9/2017    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.23
      12/9/2017    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/9/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      12/9/2017    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
      12/9/2017    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
      12/9/2017    709   EO0014   Owner Operator   Charge back by affiliate       CTMS - 208059 Trailer wash              -36.5
      12/9/2017    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13

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      12/9/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.99
      12/9/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.18
      12/9/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      12/9/2017    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.71
      12/9/2017    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      12/9/2017    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/9/2017    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      12/9/2017    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      12/9/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.16
      12/9/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.75
      12/9/2017    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.86
      12/9/2017    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      12/9/2017    709   FS0039   Owner Operator   Truck Payment                  CTMS - 207983 truck lease 3304        434.29
      12/9/2017    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/9/2017    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      12/9/2017    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.32
      12/9/2017    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      12/9/2017    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      12/9/2017    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      12/9/2017    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.09
      12/9/2017    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      12/9/2017    709   GS0015   Owner Operator   Truck Payment                  CTMS - 207928 Lease                   252.11
      12/9/2017    709   GW0043   Owner Operator   Broker Pre Pass                Q1263 PrePass Device                    12.5
      12/9/2017    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      12/9/2017    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/9/2017    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/9/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.17
      12/9/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.49
      12/9/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.94
      12/9/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.46
      12/9/2017    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.88
      12/9/2017    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      12/9/2017    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      12/9/2017    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.75
      12/9/2017    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.62
      12/9/2017    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      12/9/2017    709   HC0023   Owner Operator   Truck Payment                  CTMS - 207924 Q13170                  352.68
      12/9/2017    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      12/9/2017    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      12/9/2017    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/9/2017    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/9/2017    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.53
      12/9/2017    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      12/9/2017    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      12/9/2017    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/9/2017    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.07
      12/9/2017    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      12/9/2017    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      12/9/2017    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/9/2017    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      12/9/2017    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      12/9/2017    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      12/9/2017    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      12/9/2017    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      12/9/2017    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      12/9/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/9/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/9/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/9/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/9/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/9/2017    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/9/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.67

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      12/9/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.28
      12/9/2017    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.14
      12/9/2017    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      12/9/2017    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      12/9/2017    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      12/9/2017    709   JC0292   Owner Operator   Truck Payment                  CTMS - 207980 Q13197 Lease            276.63
      12/9/2017    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/9/2017    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      12/9/2017    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
      12/9/2017    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      12/9/2017    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         1500
      12/9/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/9/2017    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/9/2017    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.17
      12/9/2017    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      12/9/2017    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      12/9/2017    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      12/9/2017    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/9/2017    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      12/9/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/9/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/9/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/9/2017    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/9/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.22
      12/9/2017    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.85
      12/9/2017    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      12/9/2017    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      12/9/2017    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      12/9/2017    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/9/2017    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                    12.5
      12/9/2017    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      12/9/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.76
      12/9/2017    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          569.9
      12/9/2017    709   JG0092   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         358.25
      12/9/2017    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      12/9/2017    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      12/9/2017    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      12/9/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/9/2017    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/9/2017    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.1
      12/9/2017    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      12/9/2017    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      12/9/2017    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      12/9/2017    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.14
      12/9/2017    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      12/9/2017    709   JR0099   Owner Operator   Repair Order                   CTMS - 207943 Repair, Differen         75.43
      12/9/2017    709   JR0099   Owner Operator   Truck Payment                  CTMS - 207870 Truck Lease             278.76
      12/9/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      12/9/2017    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      12/9/2017    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      12/9/2017    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/9/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/9/2017    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/9/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.87
      12/9/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.89
      12/9/2017    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.22
      12/9/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      12/9/2017    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      12/9/2017    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      12/9/2017    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/9/2017    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      12/9/2017    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      12/9/2017    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                      -1000
      12/9/2017    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      12/9/2017    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32

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      12/9/2017    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/9/2017    709   KP0004   Owner Operator   Tire Fee                       Tire Fee: 2079369                          8
      12/9/2017    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00361346 - PO System           200.8
      12/9/2017    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      12/9/2017    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      12/9/2017    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      12/9/2017    709   LL0160   Owner Operator   Permits                        IL02:2017 - Q1111                       3.75
      12/9/2017    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      12/9/2017    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      12/9/2017    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      12/9/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/9/2017    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/9/2017    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         630.92
      12/9/2017    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      12/9/2017    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      12/9/2017    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/9/2017    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      12/9/2017    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.31
      12/9/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.51
      12/9/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           25.1
      12/9/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.15
      12/9/2017    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.05
      12/9/2017    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      12/9/2017    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      12/9/2017    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      12/9/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          440.8
      12/9/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.6
      12/9/2017    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.77
      12/9/2017    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      12/9/2017    709   ME0053   Owner Operator   Truck Payment                  CTMS - 207924 Q1113 Lease             252.11
      12/9/2017    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/9/2017    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      12/9/2017    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/9/2017    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/9/2017    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      12/9/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              60
      12/9/2017    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      12/9/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.58
      12/9/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          465.6
      12/9/2017    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.45
      12/9/2017    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      12/9/2017    709   MM0093   Owner Operator   Repair Order                   CTMS - 207899 Repair-Brake            135.51
      12/9/2017    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      12/9/2017    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/9/2017    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      12/9/2017    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                      -6000
      12/9/2017    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                      -6000
      12/9/2017    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            200
      12/9/2017    709   MP0035   Owner Operator   Express Check                  T-Check Payment                         6000
      12/9/2017    709   MP0035   Owner Operator   Express Check                  T-Check Payment                         6000
      12/9/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             125
      12/9/2017    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.25
      12/9/2017    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.57
      12/9/2017    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      12/9/2017    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      12/9/2017    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/9/2017    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      12/9/2017    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      12/9/2017    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-2          102.14
      12/9/2017    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
      12/9/2017    709   NB0029   Owner Operator   Express Check                  T-Check Payment                         1500
      12/9/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/9/2017    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/9/2017    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                            248
      12/9/2017    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16

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      12/9/2017    709   NB0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        5.08
      12/9/2017    709   NB0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                       12.22
      12/9/2017    709   NB0029   Owner Operator   T Chek Fee                     Towing Q1108                          172.37
      12/9/2017    709   NB0029   Owner Operator   T Chek Fee                     Tractor Repair Q1108                  508.38
      12/9/2017    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/9/2017    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      12/9/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/9/2017    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/9/2017    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.05
      12/9/2017    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      12/9/2017    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      12/9/2017    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      12/9/2017    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      12/9/2017    709   NT9564   Owner Operator   Truck Payment                  CTMS - 207923 Truck 73130 Leas        196.65
      12/9/2017    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/9/2017    709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/9/2017    709   RC0030   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/9/2017    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.57
      12/9/2017    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      12/9/2017    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/9/2017    709   RC0030   Owner Operator   Truck Payment                  CTMS - 207870 Down Payment lo         303.55
      12/9/2017    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      12/9/2017    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/9/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/9/2017    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/9/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.97
      12/9/2017    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.8
      12/9/2017    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      12/9/2017    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         261.51
      12/9/2017    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      12/9/2017    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      12/9/2017    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/9/2017    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      12/9/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/9/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/9/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/9/2017    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/9/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.8
      12/9/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.44
      12/9/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.04
      12/9/2017    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.2
      12/9/2017    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      12/9/2017    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      12/9/2017    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      12/9/2017    709   RL0180   Owner Operator   Accident Claim                 11/08/17 RL0180 Incident              1032.9
      12/9/2017    709   RL0180   Owner Operator   Advance                        Acc clm 67098 s/u 8 pmts                 250
      12/9/2017    709   RL0180   Owner Operator   Advance                        AccClm 67098 s/u 8 pmts                -2000
      12/9/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/9/2017    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/9/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      12/9/2017    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      12/9/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.66
      12/9/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      12/9/2017    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      12/9/2017    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      12/9/2017    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      12/9/2017    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      12/9/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.48
      12/9/2017    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.89
      12/9/2017    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      12/9/2017    709   RM0026   Owner Operator   Tire Fee                       Tire Fee: 2079469                          4
      12/9/2017    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00361262 - PO System           11.55
      12/9/2017    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75

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      12/9/2017    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      12/9/2017    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.18
      12/9/2017    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      12/9/2017    709   RP0082   Owner Operator   Truck Payment                  CTMS - 207870 Q1202 Truck Leas        278.76
      12/9/2017    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      12/9/2017    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      12/9/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/9/2017    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/9/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.69
      12/9/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.95
      12/9/2017    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.76
      12/9/2017    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      12/9/2017    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      12/9/2017    709   RR0123   Owner Operator   Truck Payment                  CTMS - 207929 Q1248                   311.97
      12/9/2017    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          302.5
      12/9/2017    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/9/2017    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
      12/9/2017    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      12/9/2017    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.75
      12/9/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.7
      12/9/2017    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.75
      12/9/2017    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      12/9/2017    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/9/2017    709   SB0103   Owner Operator   Repair Order                   CTMS - 207897 Repair                  380.54
      12/9/2017    709   SB0103   Owner Operator   Truck Payment                  CTMS - 207867 Sub Lease               388.33
      12/9/2017    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      12/9/2017    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/9/2017    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      12/9/2017    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/9/2017    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/9/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.51
      12/9/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.5
      12/9/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.59
      12/9/2017    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.8
      12/9/2017    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      12/9/2017    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      12/9/2017    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
      12/9/2017    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      12/9/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           492
      12/9/2017    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.64
      12/9/2017    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      12/9/2017    709   VB0015   Owner Operator   Truck Payment                  CTMS - 207927 Tractor Sub leas        242.03
      12/9/2017    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      12/9/2017    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/9/2017    709   VJ0006   Owner Operator   Broker Pre Pass                33961 PrePass Device                    12.5
      12/9/2017    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      12/9/2017    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/9/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      12/9/2017    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      12/9/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.76
      12/9/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.8
      12/9/2017    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.99
      12/9/2017    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      12/9/2017    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/9/2017    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      12/9/2017    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      12/9/2017    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/9/2017    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      12/9/2017    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      12/9/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.24
      12/9/2017    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.39
      12/9/2017    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      12/9/2017    709   WH0087   Owner Operator   Truck Payment                  CTMS - 207929 Q1238 Lease             311.97
      12/9/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75

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      12/9/2017    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      12/9/2017    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      12/9/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      12/9/2017    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      12/9/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/9/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/9/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/9/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/9/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/9/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/9/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/9/2017    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/9/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.19
      12/9/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.94
      12/9/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.49
      12/9/2017    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.44
      12/9/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      12/9/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      12/9/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      12/9/2017    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      12/9/2017    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      12/9/2017    742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/9/2017    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      12/9/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.79
      12/9/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.23
      12/9/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.48
      12/9/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.61
      12/9/2017    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.87
      12/9/2017    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      12/9/2017    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/9/2017    742   BS0078   Owner Operator   Repair Order                   CTMS - 207967 Repair                  255.44
      12/9/2017    742   BS0078   Owner Operator   Toll Charges                   675567177 CXL/DRIVEWYZE/ RTRND          -100
      12/9/2017    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      12/9/2017    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      12/9/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.59
      12/9/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         586.73
      12/9/2017    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.85
      12/9/2017    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      12/9/2017    742   CA0089   Owner Operator   Toll Charges                   675664373 CXL/DRIVEWYZE/ RTRND          -100
      12/9/2017    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      12/9/2017    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      12/9/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.57
      12/9/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.74
      12/9/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.18
      12/9/2017    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.55
      12/9/2017    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      12/9/2017    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      12/9/2017    742   CT0085   Owner Operator   Toll Charges                   675322528 CXL/DRIVEWYZE/ RTRND          -100
      12/9/2017    742   CT0085   Owner Operator   Truck Payment                  CTMS - 207977 Sub Lease Q13171        352.68
      12/9/2017    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/9/2017    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      12/9/2017    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            398
      12/9/2017    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      12/9/2017    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/9/2017    742   DA0067   Owner Operator   Toll Charges                   675711136 CXL/DRIVEWYZE/ RTRND          -100
      12/9/2017    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843             100
      12/9/2017    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/9/2017    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      12/9/2017    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.03
      12/9/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.32
      12/9/2017    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          518.7
      12/9/2017    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      12/9/2017    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/9/2017    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75

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      12/9/2017    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      12/9/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.84
      12/9/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.38
      12/9/2017    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          450.4
      12/9/2017    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      12/9/2017    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/9/2017    742   ED0041   Owner Operator   Toll Charges                   675252241 CXL/DRIVEWYZE/ RTRND          -100
      12/9/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/9/2017    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/9/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      12/9/2017    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      12/9/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.98
      12/9/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.37
      12/9/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.13
      12/9/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.93
      12/9/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.28
      12/9/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.05
      12/9/2017    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.07
      12/9/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      12/9/2017    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      12/9/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      12/9/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      12/9/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/9/2017    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/9/2017    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA SHT-REDBL-78                   2
      12/9/2017    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA SHT-SHIP-21                    7
      12/9/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      12/9/2017    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      12/9/2017    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      12/9/2017    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      12/9/2017    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-2           90.41
      12/9/2017    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-2          117.91
      12/9/2017    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-2          191.23
      12/9/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      12/9/2017    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      12/9/2017    742   IK0012   Owner Operator   Advance                        New Hire Equip SL 402-092844              75
      12/9/2017    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      12/9/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/9/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/9/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/9/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/9/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/9/2017    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/9/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.78
      12/9/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.23
      12/9/2017    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.78
      12/9/2017    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      12/9/2017    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      12/9/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      12/9/2017    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         144.12
      12/9/2017    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/9/2017    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      12/9/2017    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      12/9/2017    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/9/2017    742   MH0117   Owner Operator   Toll Charges                   675485918 CXL/DRIVEWYZE/ RTRND          -100
      12/9/2017    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      12/9/2017    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      12/9/2017    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.04
      12/9/2017    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.67
      12/9/2017    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.94
      12/9/2017    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.36
      12/9/2017    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.87
      12/9/2017    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.47
      12/9/2017    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2017 - 34082                        100
      12/9/2017    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      12/9/2017    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/9/2017    742   MS0230   Owner Operator   Permits                        NY13:2017 - 34082                        1.5
      12/9/2017    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      12/9/2017    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      12/9/2017    742   MT0112   Owner Operator   24 HOUR DISABILITY             L&H                                   126.94
      12/9/2017    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      12/9/2017    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      12/9/2017    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      12/9/2017    742   MT0112   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-2           175.5
      12/9/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/9/2017    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/9/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            200
      12/9/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.49
      12/9/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.98
      12/9/2017    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.4
      12/9/2017    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      12/9/2017    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      12/9/2017    742   MT0112   Owner Operator   Repair Order                   CTMS - 208011 repair                  304.66
      12/9/2017    742   MT0112   Owner Operator   Toll Charges                   675453691 CXL/DRIVEWYZE/ RTRND          -100
      12/9/2017    742   MT0112   Owner Operator   Truck Payment                  CTMS - 207924 Q1247 Sub Lease         311.97
      12/9/2017    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      12/9/2017    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      12/9/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/9/2017    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/9/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.88
      12/9/2017    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.92
      12/9/2017    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      12/9/2017    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      12/9/2017    742   NG0024   Owner Operator   Tire Fee                       Tire Fee: 2078387                          4
      12/9/2017    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00362548 - PO System           111.8
      12/9/2017    742   NG0024   Owner Operator   Toll Charges                   675485930 CXL/DRIVEWYZE/ RTRND          -100
      12/9/2017    742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845             100
      12/9/2017    742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845             100
      12/9/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/9/2017    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/9/2017    742   NK0013   Owner Operator   Broker Pre Pass                675674809 PREP not returned              100
      12/9/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
      12/9/2017    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
      12/9/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/9/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/9/2017    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/9/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.06
      12/9/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.94
      12/9/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          419.5
      12/9/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.61
      12/9/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.04
      12/9/2017    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          493.5
      12/9/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/9/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      12/9/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      12/9/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/9/2017    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/9/2017    742   NK0013   Owner Operator   Toll Charges                   34038 KTA KTA-PLZ004                   52.13
      12/9/2017    742   NK0013   Owner Operator   Toll Charges                   34038 OTA TRN-OKCWGT-04                 17.6
      12/9/2017    742   NK0013   Owner Operator   Toll Charges                   34038 OTA WR-TLSWGT-01                  17.6
      12/9/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      12/9/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      12/9/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      12/9/2017    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      12/9/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/9/2017    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/9/2017    742   PC0012   Owner Operator   Broker Pre Pass                675409509 PREP not returned              100
      12/9/2017    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze Ded TRK 32969                19.68
      12/9/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/9/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/9/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/9/2017    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/9/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      12/9/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      12/9/2017    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200

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       12/9/2017   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                             200
       12/9/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                              100
       12/9/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       12/9/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           359.7
       12/9/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.72
       12/9/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          142.29
       12/9/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          288.35
       12/9/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          229.97
       12/9/2017   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                       32.99
       12/9/2017   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.38
       12/9/2017   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.38
       12/9/2017   742   PC0012   Owner Operator   Toll Charges                   675409509 CXL/DRIVEWYZE/ RTRND           -100
       12/9/2017   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
       12/9/2017   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             8.75
       12/9/2017   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                          13
       12/9/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.98
       12/9/2017   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          343.86
       12/9/2017   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       12/9/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             35.16
       12/9/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
       12/9/2017   742   RN0054   Owner Operator   Toll Charges                   675513116 CXL/DRIVEWYZE/ RTRND           -100
       12/9/2017   742   RN0054   Owner Operator   Truck Payment                  CTMS - 207870 Tractor Lease            353.28
       12/9/2017   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       8.75
       12/9/2017   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13
       12/9/2017   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                              50
       12/9/2017   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          207.34
       12/9/2017   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                           248.2
       12/9/2017   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       12/9/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                      143.21
       12/9/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism               2.5
       12/9/2017   742   RS0342   Owner Operator   Toll Charges                   675674790 CXL/DRIVEWYZE/ RTRND           -100
       12/9/2017   742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842              100
       12/9/2017   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
       12/9/2017   742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 208011 fuel                        250
       12/9/2017   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
       12/9/2017   742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                              50
       12/9/2017   742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          430.54
       12/9/2017   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       12/9/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                        58.6
       12/9/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
       12/9/2017   742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841              100
       12/9/2017   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
       12/9/2017   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
       12/9/2017   742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                              50
       12/9/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          552.99
       12/9/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          545.65
       12/9/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          259.92
       12/9/2017   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       12/9/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
       12/9/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
       12/9/2017   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                           8.75
       12/9/2017   843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                     12.5
       12/9/2017   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                           13
       12/9/2017   843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                              50
       12/9/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          506.63
       12/9/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           247.6
       12/9/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                            2.31
       12/9/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.38
       12/9/2017   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       12/9/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           74.22
       12/9/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                   2.5
      12/16/2017   709   AN0007   Owner Operator   Advance                        11/6/17 Spill s/u pmts                    250
      12/16/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL             8.75
      12/16/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                          13
      12/16/2017   709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/16/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                              200
      12/16/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/16/2017   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.74
      12/16/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD              7.82
      12/16/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te            2.5
      12/16/2017   709   AV0021   Owner Operator   Advance                        EFS 178960 - s/u 4 pmts                352.41
      12/16/2017   709   AV0021   Owner Operator   Advance                        EFS 178960 s/u 4 pmts                -1409.61

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      12/16/2017   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      12/16/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.93
      12/16/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.12
      12/16/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.86
      12/16/2017   709   AV0021   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     166.71
      12/16/2017   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      12/16/2017   709   AV0021   Owner Operator   T Chek Fee                     ExpressCheck Fee                       13.96
      12/16/2017   709   AV0021   Owner Operator   T Chek Fee                     Tractor Repair Q13169                 157.21
      12/16/2017   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      12/16/2017   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      12/16/2017   709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/16/2017   709   BM0030   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     610.69
      12/16/2017   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      12/16/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      12/16/2017   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      12/16/2017   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      12/16/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.17
      12/16/2017   709   CC0134   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     235.46
      12/16/2017   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         301.87
      12/16/2017   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      12/16/2017   709   CC0134   Owner Operator   T Chek Fee                     ExpressCheck Fee                         2.4
      12/16/2017   709   CC0134   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.21
      12/16/2017   709   CC0134   Owner Operator   T Chek Fee                     Tractor Repair Q13168                 120.77
      12/16/2017   709   CC0134   Owner Operator   T Chek Fee                     Tractor Repair Q13168                 239.51
      12/16/2017   709   CC0134   Owner Operator   Tire Purchase                  905-02756391 12/2/17                   87.56
      12/16/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 208147 Q13168 sub lease        352.68
      12/16/2017   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/16/2017   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      12/16/2017   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      12/16/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/16/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/16/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.57
      12/16/2017   709   CM0119   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      -0.39
      12/16/2017   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      12/16/2017   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      12/16/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/16/2017   709   CM0119   Owner Operator   Repair Order                   CTMS - 208235 Repair                    51.6
      12/16/2017   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      12/16/2017   709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/16/2017   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      12/16/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          149.6
      12/16/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.17
      12/16/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.72
      12/16/2017   709   CR0064   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      97.44
      12/16/2017   709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      12/16/2017   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      12/16/2017   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/16/2017   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      12/16/2017   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      12/16/2017   709   CS0091   Owner Operator   Truck Payment                  CTMS - 208152 Q1201                   278.76
      12/16/2017   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/16/2017   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      12/16/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.66
      12/16/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.68
      12/16/2017   709   DL0029   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     150.97
      12/16/2017   709   DL0029   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         253.74
      12/16/2017   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      12/16/2017   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      12/16/2017   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/16/2017   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/16/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.35
      12/16/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.92
      12/16/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.4
      12/16/2017   709   DL0107   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     411.55
      12/16/2017   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          58.94
      12/16/2017   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/16/2017   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      12/16/2017   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      12/16/2017   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/16/2017   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      12/16/2017   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/16/2017   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/16/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.64
      12/16/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         568.35
      12/16/2017   709   DS0049   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      85.26
      12/16/2017   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      12/16/2017   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      12/16/2017   709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00362106 - PO System          249.49
      12/16/2017   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      12/16/2017   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      12/16/2017   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.88
      12/16/2017   709   DS0225   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     -41.79
      12/16/2017   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      12/16/2017   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/16/2017   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      12/16/2017   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/16/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/16/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/16/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/16/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/16/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.27
      12/16/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.82
      12/16/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.14
      12/16/2017   709   EA0003   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     103.29
      12/16/2017   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      12/16/2017   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      12/16/2017   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      12/16/2017   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/16/2017   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      12/16/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/16/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/16/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.23
      12/16/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.31
      12/16/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.16
      12/16/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.61
      12/16/2017   709   EE0011   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      40.57
      12/16/2017   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      12/16/2017   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      12/16/2017   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      12/16/2017   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      12/16/2017   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      12/16/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.48
      12/16/2017   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      12/16/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      12/16/2017   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      12/16/2017   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      12/16/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.55
      12/16/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.93
      12/16/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.06
      12/16/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.36
      12/16/2017   709   EO0014   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                        3.7
      12/16/2017   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      12/16/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/16/2017   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      12/16/2017   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      12/16/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.32
      12/16/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          458.4
      12/16/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           302
      12/16/2017   709   FS0039   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      -6.62
      12/16/2017   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      12/16/2017   709   FS0039   Owner Operator   Truck Payment                  CTMS - 208183 truck lease 3304        434.29
      12/16/2017   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75

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      12/16/2017   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                          13
      12/16/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          430.11
      12/16/2017   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    82.04
      12/16/2017   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL              8.75
      12/16/2017   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                           13
      12/16/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          121.11
      12/16/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          262.27
      12/16/2017   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD              39.07
      12/16/2017   709   GS0015   Owner Operator   Truck Payment                  CTMS - 208151 Lease                    252.11
      12/16/2017   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                            8
      12/16/2017   709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/16/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/16/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      12/16/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.67
      12/16/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.93
      12/16/2017   709   GW0043   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      143.74
      12/16/2017   709   GW0043   Owner Operator   Loan Repayment                 Bal loan 1 not ded                   -4753.55
      12/16/2017   709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment            256
      12/16/2017   709   GW0043   Owner Operator   Loan Repayment                 System err loan not deducted          4753.55
      12/16/2017   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             8.75
      12/16/2017   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                           8
      12/16/2017   709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/16/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          510.89
      12/16/2017   709   HC0023   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                       -5.09
      12/16/2017   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             35.16
      12/16/2017   709   HC0023   Owner Operator   Truck Payment                  CTMS - 208148 Q13170                   352.68
      12/16/2017   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                  8.75
      12/16/2017   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                           13
      12/16/2017   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/16/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/16/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/16/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          558.44
      12/16/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          510.74
      12/16/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          603.06
      12/16/2017   709   HG0007   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                        4.18
      12/16/2017   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                  15.63
      12/16/2017   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      12/16/2017   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      12/16/2017   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                           13
      12/16/2017   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                           13
      12/16/2017   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                           13
      12/16/2017   709   HG0027   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                       43.84
      12/16/2017   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            6.25
      12/16/2017   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       54.69
      12/16/2017   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       54.69
      12/16/2017   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       54.69
      12/16/2017   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                     21.35
      12/16/2017   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/16/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          360.91
      12/16/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          504.65
      12/16/2017   709   IR0002   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      -19.53
      12/16/2017   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                       32.99
      12/16/2017   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.64
      12/16/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      12/16/2017   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                          521.95
      12/16/2017   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                     13.98
      12/16/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
      12/16/2017   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          13
      12/16/2017   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      12/16/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/16/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/16/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/16/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/16/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/16/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2

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      12/16/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.56
      12/16/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.15
      12/16/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.54
      12/16/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.03
      12/16/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.64
      12/16/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.66
      12/16/2017   709   JC0292   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     146.69
      12/16/2017   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      12/16/2017   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      12/16/2017   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      12/16/2017   709   JC0292   Owner Operator   Truck Payment                  CTMS - 208180 Q13197 Lease            276.63
      12/16/2017   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/16/2017   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                           13
      12/16/2017   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
      12/16/2017   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      12/16/2017   709   JG0017   Owner Operator   Express Check                  T-Check Payment                         1500
      12/16/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/16/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      12/16/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.58
      12/16/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.72
      12/16/2017   709   JG0017   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      97.82
      12/16/2017   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      12/16/2017   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      12/16/2017   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      12/16/2017   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/16/2017   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                           13
      12/16/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/16/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/16/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/16/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      12/16/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         109.82
      12/16/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.68
      12/16/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.99
      12/16/2017   709   JG0072   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      99.04
      12/16/2017   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      12/16/2017   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      12/16/2017   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      12/16/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      12/16/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                            8
      12/16/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.71
      12/16/2017   709   JG0092   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                       -0.49
      12/16/2017   709   JG0092   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         356.95
      12/16/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      12/16/2017   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                    8.75
      12/16/2017   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                           13
      12/16/2017   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-23          -31.8
      12/16/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/16/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/16/2017   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.41
      12/16/2017   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      12/16/2017   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL              8.75
      12/16/2017   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                           13
      12/16/2017   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.46
      12/16/2017   709   JR0099   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      96.52
      12/16/2017   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/16/2017   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD               58.6
      12/16/2017   709   JR0099   Owner Operator   Truck Payment                  CTMS - 208118 Truck Lease             278.76
      12/16/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                     8.75
      12/16/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                        8.75
      12/16/2017   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                           13
      12/16/2017   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/16/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/16/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/16/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.91
      12/16/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.48
      12/16/2017   709   JS0265   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      85.41
      12/16/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            2.51
      12/16/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      12/16/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      12/16/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      12/16/2017   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/16/2017   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      12/16/2017   709   KP0004   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      189.5
      12/16/2017   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      12/16/2017   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      12/16/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/16/2017   709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00361346 - PO System           200.8
      12/16/2017   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      12/16/2017   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      12/16/2017   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      12/16/2017   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-23         -62.5
      12/16/2017   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      12/16/2017   709   LL0160   Owner Operator   Truck Payment                  CTMS - 208107 Lease Q1111             252.11
      12/16/2017   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      12/16/2017   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      12/16/2017   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/16/2017   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/16/2017   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.21
      12/16/2017   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         669.44
      12/16/2017   709   LS0023   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      11.75
      12/16/2017   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      12/16/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      12/16/2017   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/16/2017   709   MA0092   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                       4.01
      12/16/2017   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      12/16/2017   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      12/16/2017   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      12/16/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.62
      12/16/2017   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.41
      12/16/2017   709   ME0053   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      17.05
      12/16/2017   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      12/16/2017   709   ME0053   Owner Operator   Truck Payment                  CTMS - 208147 Q1113 Lease             252.11
      12/16/2017   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/16/2017   709   MG0067   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     -14.48
      12/16/2017   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      12/16/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/16/2017   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/16/2017   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      12/16/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              40
      12/16/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      12/16/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          212.2
      12/16/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.32
      12/16/2017   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      12/16/2017   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      12/16/2017   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/16/2017   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      12/16/2017   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            200
      12/16/2017   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      12/16/2017   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      12/16/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/16/2017   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      12/16/2017   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      12/16/2017   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                       -500
      12/16/2017   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
      12/16/2017   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/16/2017   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/16/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.46
      12/16/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.89
      12/16/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.15
      12/16/2017   709   NB0029   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     275.61
      12/16/2017   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      12/16/2017   709   NB0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        51.3
      12/16/2017   709   NB0029   Owner Operator   T Chek Fee                     Towing Q1108                         1049.49

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      12/16/2017   709   NB0029   Owner Operator   T Chek Fee                     Tractor Repair Q1108                 1680.48
      12/16/2017   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/16/2017   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      12/16/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/16/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/16/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                            150
      12/16/2017   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      12/16/2017   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      12/16/2017   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      12/16/2017   709   NT9564   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     129.29
      12/16/2017   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      12/16/2017   709   NT9564   Owner Operator   Truck Payment                  CTMS - 208147 Truck 73130 Leas        196.65
      12/16/2017   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/16/2017   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      12/16/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      12/16/2017   709   RC0030   Owner Operator   Truck Payment                  CTMS - 208118 Down Payment lo         303.55
      12/16/2017   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      12/16/2017   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/16/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/16/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      12/16/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         527.76
      12/16/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.66
      12/16/2017   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      12/16/2017   709   RC0089   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         261.51
      12/16/2017   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      12/16/2017   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      12/16/2017   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/16/2017   709   RL0017   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                        -1.6
      12/16/2017   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      12/16/2017   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      12/16/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         415.16
      12/16/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         419.61
      12/16/2017   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/16/2017   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      12/16/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/16/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/16/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/16/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/16/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.16
      12/16/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.13
      12/16/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.92
      12/16/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.86
      12/16/2017   709   RL0062   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      87.22
      12/16/2017   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      12/16/2017   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      12/16/2017   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      12/16/2017   709   RL0180   Owner Operator   Accident Claim                 11/08/17 RL0180 Incident               -2000
      12/16/2017   709   RL0180   Owner Operator   Advance                        Acc clm 67098 s/u 8 pmts                 250
      12/16/2017   709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/16/2017   709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                            8
      12/16/2017   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/16/2017   709   RL0180   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     127.58
      12/16/2017   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      12/16/2017   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      12/16/2017   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      12/16/2017   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      12/16/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.84
      12/16/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          395.7
      12/16/2017   709   RM0026   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      59.88
      12/16/2017   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      12/16/2017   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00361262 - PO System           11.55
      12/16/2017   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      12/16/2017   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      12/16/2017   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.32
      12/16/2017   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/16/2017   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      12/16/2017   709   RP0082   Owner Operator   Truck Payment                  CTMS - 208118 Q1202 Truck Leas        278.76
      12/16/2017   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      12/16/2017   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      12/16/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/16/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/16/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/16/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/16/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.98
      12/16/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.79
      12/16/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         569.14
      12/16/2017   709   RR0123   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      415.2
      12/16/2017   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      12/16/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      12/16/2017   709   RR0123   Owner Operator   Truck Payment                  CTMS - 208152 Q1248                   311.97
      12/16/2017   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/16/2017   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      12/16/2017   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/16/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          313.6
      12/16/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.57
      12/16/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.96
      12/16/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.74
      12/16/2017   709   SB0103   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     108.35
      12/16/2017   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      12/16/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/16/2017   709   SB0103   Owner Operator   Truck Payment                  CTMS - 208114 Sub Lease               388.33
      12/16/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      12/16/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/16/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      12/16/2017   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/16/2017   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/16/2017   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/16/2017   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/16/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.91
      12/16/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.64
      12/16/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.77
      12/16/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.47
      12/16/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      12/16/2017   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      12/16/2017   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      12/16/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           158
      12/16/2017   709   VB0015   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                        1.6
      12/16/2017   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      12/16/2017   709   VB0015   Owner Operator   Truck Payment                  CTMS - 208151 Tractor Sub leas        242.03
      12/16/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/16/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/16/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/16/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/16/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.73
      12/16/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.6
      12/16/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           196
      12/16/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          224.1
      12/16/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.54
      12/16/2017   709   VJ0006   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     157.33
      12/16/2017   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/16/2017   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      12/16/2017   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      12/16/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/16/2017   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      12/16/2017   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      12/16/2017   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/16/2017   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/16/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.12
      12/16/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.72
      12/16/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.29
      12/16/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.86
      12/16/2017   709   WH0087   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      57.96
      12/16/2017   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/16/2017   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      12/16/2017   709   WH0087   Owner Operator   Truck Payment                  CTMS - 208152 Q1238 Lease             311.97
      12/16/2017   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      12/16/2017   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      12/16/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/16/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/16/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/16/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/16/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/16/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/16/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.14
      12/16/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.19
      12/16/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.15
      12/16/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.11
      12/16/2017   742   AP0047   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      87.01
      12/16/2017   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      12/16/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      12/16/2017   742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      12/16/2017   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/16/2017   742   AS0089   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      60.64
      12/16/2017   742   AS0089   Owner Operator   Tire Fee                       Tire Fee: 2082371                          4
      12/16/2017   742   AS0089   Owner Operator   Tire Purchase                  PO: 742-00363256 - PO System          189.78
      12/16/2017   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/16/2017   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      12/16/2017   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/16/2017   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/16/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.16
      12/16/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.27
      12/16/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.23
      12/16/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.31
      12/16/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.07
      12/16/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.21
      12/16/2017   742   BS0078   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      43.93
      12/16/2017   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      12/16/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/16/2017   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      12/16/2017   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      12/16/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.15
      12/16/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.18
      12/16/2017   742   CA0089   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     188.16
      12/16/2017   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      12/16/2017   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      12/16/2017   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      12/16/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.74
      12/16/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          374.8
      12/16/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.84
      12/16/2017   742   CT0085   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                       23.3
      12/16/2017   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      12/16/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      12/16/2017   742   CT0085   Owner Operator   Truck Payment                  CTMS - 208177 Sub Lease Q13171        352.68
      12/16/2017   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/16/2017   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      12/16/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.01
      12/16/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             24
      12/16/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           353
      12/16/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           248
      12/16/2017   742   DA0067   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      70.56
      12/16/2017   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      12/16/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/16/2017   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      12/16/2017   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      12/16/2017   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/16/2017   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/16/2017   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/16/2017   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/16/2017   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.43
      12/16/2017   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.69
      12/16/2017   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.37

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      12/16/2017   742   DS0254   Owner Operator   Truck Payment                  CTMS - 208084 Trk 33487 Lease          434.2
      12/16/2017   742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      12/16/2017   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/16/2017   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      12/16/2017   742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/16/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         590.47
      12/16/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         568.94
      12/16/2017   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      12/16/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/16/2017   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/16/2017   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      12/16/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.03
      12/16/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.93
      12/16/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.93
      12/16/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.91
      12/16/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.45
      12/16/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.63
      12/16/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.18
      12/16/2017   742   ED0041   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                       63.5
      12/16/2017   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      12/16/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/16/2017   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/16/2017   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      12/16/2017   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/16/2017   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/16/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.75
      12/16/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.28
      12/16/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.14
      12/16/2017   742   EN0016   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      59.91
      12/16/2017   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      12/16/2017   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      12/16/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/16/2017   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      12/16/2017   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      12/16/2017   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      12/16/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      12/16/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      12/16/2017   742   IK0012   Owner Operator   Advance                        New Hire Equip SL 402-092844              25
      12/16/2017   742   IK0012   Owner Operator   Advance                        New Hire Equip SL 402-092844            100
      12/16/2017   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      12/16/2017   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      12/16/2017   742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      12/16/2017   742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      12/16/2017   742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/16/2017   742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/16/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.83
      12/16/2017   742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      12/16/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      12/16/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      12/16/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      12/16/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/16/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/16/2017   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.69
      12/16/2017   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         178.07
      12/16/2017   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/16/2017   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      12/16/2017   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/16/2017   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      12/16/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/16/2017   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      12/16/2017   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      12/16/2017   742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/16/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          270.8
      12/16/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           293
      12/16/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.32
      12/16/2017   742   MS0230   Owner Operator   IRP License Deduction          LCIL:2017 - 34082                       100
      12/16/2017   742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39

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      12/16/2017   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      12/16/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      12/16/2017   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      12/16/2017   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                        6.38
      12/16/2017   742   MT0112   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-23        -141.2
      12/16/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/16/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/16/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      12/16/2017   742   MT0112   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      23.66
      12/16/2017   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
      12/16/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      12/16/2017   742   MT0112   Owner Operator   Repair Order                   CTMS - 208158 repair                  304.66
      12/16/2017   742   MT0112   Owner Operator   Truck Payment                  CTMS - 208147 Q1247 Sub Lease         311.97
      12/16/2017   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      12/16/2017   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      12/16/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.94
      12/16/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.88
      12/16/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.28
      12/16/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.91
      12/16/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.06
      12/16/2017   742   NG0024   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      48.32
      12/16/2017   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      12/16/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      12/16/2017   742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00362548 - PO System           111.8
      12/16/2017   742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845            100
      12/16/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.19
      12/16/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.6
      12/16/2017   742   OS0018   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
      12/16/2017   742   OS0018   Owner Operator   T Chek Fee                     School Checks (Corp)                    300
      12/16/2017   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      12/16/2017   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/16/2017   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/16/2017   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/16/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/16/2017   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/16/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.75
      12/16/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.26
      12/16/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          331.9
      12/16/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.63
      12/16/2017   742   PC0012   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      53.11
      12/16/2017   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      12/16/2017   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      12/16/2017   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      12/16/2017   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      12/16/2017   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      12/16/2017   742   RN0054   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     158.69
      12/16/2017   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      12/16/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      12/16/2017   742   RN0054   Owner Operator   Truck Payment                  CTMS - 208117 Tractor Lease           353.28
      12/16/2017   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      12/16/2017   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      12/16/2017   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/16/2017   742   RS0342   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     334.12
      12/16/2017   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      12/16/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      12/16/2017   742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      12/16/2017   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/16/2017   742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 208157 fuel                      250
      12/16/2017   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      12/16/2017   742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/16/2017   742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      12/16/2017   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      12/16/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      12/16/2017   742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      12/16/2017   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/16/2017   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      12/16/2017   742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50

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      12/16/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.45
      12/16/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.9
      12/16/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         621.37
      12/16/2017   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      12/16/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/16/2017   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      12/16/2017   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      12/16/2017   843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/16/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.64
      12/16/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         631.49
      12/16/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.15
      12/16/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           282
      12/16/2017   843   EI0003   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     167.88
      12/16/2017   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/16/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      12/16/2017   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      12/23/2017   709   AN0007   Owner Operator   Advance                        11/6/17 Spill s/u pmts                  250
      12/23/2017   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      12/23/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      12/23/2017   709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  CITY OF INDUS,CA to SOUTH G,CA         12.88
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  CITY OF INDUS,CA to SOUTH G,CA          2.99
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  CITY OF INDUS,CA to SOUTH G,CA         12.88
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  CITY OF INDUS,CA to SOUTH G,CA          2.99
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  CITY OF INDUS,CA to SOUTH G,CA         12.65
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  CITY OF INDUS,CA to SOUTH G,CA          2.99
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  CITY OF INDUS,CA to SOUTH G,CA         12.65
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  CITY OF INDUS,CA to SOUTH G,CA          2.99
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  CITY OF INDUS,CA to SOUTH G,CA         12.65
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  CITY OF INDUS,CA to SOUTH G,CA          2.99
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  COSTA MESA,CA to OCEANSIDE,CA          21.93
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  COSTA MESA,CA to OCEANSIDE,CA            5.1
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  OCEANSIDE,CA to OCEANSIDE,CA               1
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  OCEANSIDE,CA to OCEANSIDE,CA             4.3
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  OCEANSIDE,CA to SOUTH GATE,CA          35.26
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  OCEANSIDE,CA to SOUTH GATE,CA            8.2
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH G,CA to CITY OF INDUS,CA          2.99
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH G,CA to CITY OF INDUS,CA         12.65
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH G,CA to CITY OF INDUS,CA          2.99
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH G,CA to CITY OF INDUS,CA         12.65
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH G,CA to CITY OF INDUS,CA          2.99
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH G,CA to CITY OF INDUS,CA         12.65
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH G,CA to CITY OF INDUS,CA          2.99
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH G,CA to CITY OF INDUS,CA         12.88
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH G,CA to CITY OF INDUS,CA          2.99
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH G,CA to CITY OF INDUS,CA         12.88
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COSTA MESA,CA           3.8
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COSTA MESA,CA         16.34
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.6
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.6
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA             1
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           4.4
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to WINCHESTER,CA           8.8
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  SOUTH GATE,CA to WINCHESTER,CA         38.72
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  WINCHESTER,CA to SOUTH GATE,CA         38.72
      12/23/2017   709   AN0007   Owner Operator   Miscellaneous                  WINCHESTER,CA to SOUTH GATE,CA           8.8
      12/23/2017   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      12/23/2017   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      12/23/2017   709   AV0021   Owner Operator   Advance                        EFS 178960 - s/u 4 pmts               352.41

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      12/23/2017   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      12/23/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.71
      12/23/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.37
      12/23/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.84
      12/23/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.97
      12/23/2017   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      12/23/2017   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      12/23/2017   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      12/23/2017   709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   709   BM0030   Owner Operator   Miscellaneous                  SOUTH GATE,CA to VERNON,CA              1.44
      12/23/2017   709   BM0030   Owner Operator   Miscellaneous                  SOUTH GATE,CA to VERNON,CA              0.36
      12/23/2017   709   BM0030   Owner Operator   Miscellaneous                  VERNON,CA to WILLOWS,CA                42.48
      12/23/2017   709   BM0030   Owner Operator   Miscellaneous                  VERNON,CA to WILLOWS,CA               169.92
      12/23/2017   709   BM0030   Owner Operator   Miscellaneous                  WILLOWS,CA to SOUTH GATE,CA            43.11
      12/23/2017   709   BM0030   Owner Operator   Miscellaneous                  WILLOWS,CA to SOUTH GATE,CA           172.44
      12/23/2017   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      12/23/2017   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      12/23/2017   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      12/23/2017   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      12/23/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.93
      12/23/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           15.6
      12/23/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.92
      12/23/2017   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         301.87
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  LONGVIEW,WA to VANCOUVER,WA            22.55
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  LONGVIEW,WA to VANCOUVER,WA             5.33
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  LOS ANGELES,CA to PORTLAND,OR          86.67
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  LOS ANGELES,CA to PORTLAND,OR         346.68
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  PORTLAND,OR to LONGVIEW,WA              6.37
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  PORTLAND,OR to LONGVIEW,WA             26.95
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  PORTLAND,OR to VANCOUVER,WA             0.63
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  PORTLAND,OR to VANCOUVER,WA             2.52
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  SANTA ANA,CA to SOUTH GATE,CA           16.8
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  SANTA ANA,CA to SOUTH GATE,CA            3.9
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  SOUTH GAT,CA to LOS ANGELES,CA          3.96
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  SOUTH GAT,CA to LOS ANGELES,CA          0.99
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             8.4
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.95
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  TORRANCE,CA to SANTA ANA,CA             4.16
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  TORRANCE,CA to SANTA ANA,CA            17.92
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  VANCOUVER,WA to PORTLAND,OR             0.91
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  VANCOUVER,WA to PORTLAND,OR             3.85
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  VANCOUVER,WA to VANCOUVER,WA             1.3
      12/23/2017   709   CC0134   Owner Operator   Miscellaneous                  VANCOUVER,WA to VANCOUVER,WA             5.5
      12/23/2017   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      12/23/2017   709   CC0134   Owner Operator   Tire Purchase                  905-02756391 12/2/17                   87.56
      12/23/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 208342 Q13168 sub lease        352.68
      12/23/2017   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/23/2017   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      12/23/2017   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      12/23/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/23/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/23/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         562.69
      12/23/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         579.55
      12/23/2017   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  FOUNTAIN VAL,CA to LOS ANGE,CA          19.6
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  FOUNTAIN VAL,CA to LOS ANGE,CA          4.55
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  HUNTINGTON B,CA to LOS ANG,CA          21.45
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  HUNTINGTON B,CA to LOS ANG,CA           5.07
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  LOS ANG,CA to HUNTINGTON B,CA           5.07
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  LOS ANG,CA to HUNTINGTON B,CA          21.45
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  LOS ANGE,CA to FOUNTAIN VAL,CA          4.55
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  LOS ANGE,CA to FOUNTAIN VAL,CA          19.6
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  LOS ANGEL,CA to SAN FRANCIS,CA         34.29
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  LOS ANGEL,CA to SAN FRANCIS,CA        137.16
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          10.8
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          43.2
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          10.8
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          44.4
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  LOS ANGELES,CA to VALENCIA,CA           4.16
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  LOS ANGELES,CA to VALENCIA,CA           17.6

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      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          44.4
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          10.8
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          43.2
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          10.8
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  SAN FRANCIS,CA to LOS ANGEL,CA        137.16
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  SAN FRANCIS,CA to LOS ANGEL,CA         34.29
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  VALENCIA,CA to LOS ANGELES,CA           17.6
      12/23/2017   709   CM0119   Owner Operator   Miscellaneous                  VALENCIA,CA to LOS ANGELES,CA           4.16
      12/23/2017   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      12/23/2017   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/23/2017   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      12/23/2017   709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/23/2017   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      12/23/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          129.4
      12/23/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.39
      12/23/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.08
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  CARLSBAD,CA to SOUTH GATE,CA            37.4
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  CARLSBAD,CA to SOUTH GATE,CA             8.5
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  IMPERIAL,CA to PHOENIX,AZ              22.14
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  IMPERIAL,CA to PHOENIX,AZ              88.56
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  MESA,AZ to SOUTH GATE,CA               142.2
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  MESA,AZ to SOUTH GATE,CA               35.55
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  PHOENIX,AZ to SOUTH GATE,CA           134.64
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  PHOENIX,AZ to SOUTH GATE,CA            33.66
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  SAN PEDRO,CA to SOUTH GATE,CA            2.6
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  SAN PEDRO,CA to SOUTH GATE,CA           11.2
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARLSBAD,CA             8.5
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARLSBAD,CA            37.4
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  SOUTH GATE,CA to MESA,AZ               35.55
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  SOUTH GATE,CA to MESA,AZ               142.2
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SAN PEDRO,CA           11.2
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SAN PEDRO,CA            2.6
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  SOUTH GATE,CA to WILMINGTON,CA          9.35
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  SOUTH GATE,CA to WILMINGTON,CA          2.21
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  SOUTH GATE,CA to WILMINGTON,CA          1.53
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  SOUTH GATE,CA to WILMINGTON,CA          6.12
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  WILMINGTON,CA to IMPERIAL,CA            79.2
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  WILMINGTON,CA to IMPERIAL,CA            19.8
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  WILMINGTON,CA to SOUTH GATE,CA          2.21
      12/23/2017   709   CR0064   Owner Operator   Miscellaneous                  WILMINGTON,CA to SOUTH GATE,CA          9.35
      12/23/2017   709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      12/23/2017   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      12/23/2017   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/23/2017   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      12/23/2017   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.88
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  BUENA P,CA to SANTA FE SPRI,CA          3.92
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  BUENA P,CA to SANTA FE SPRI,CA          0.91
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  BUENA P,CA to SANTA FE SPRI,CA          3.85
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  BUENA P,CA to SANTA FE SPRI,CA          0.91
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  ORANG,CA to SANTA FE SPRING,CA         10.45
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  ORANG,CA to SANTA FE SPRING,CA          2.47
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  PARAMO,CA to SANTA FE SPRI,CA           4.95
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  PARAMO,CA to SANTA FE SPRI,CA           1.17
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to BUENA P,CA          0.91
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to BUENA P,CA          3.85
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to BUENA P,CA          0.91
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to BUENA P,CA          3.92
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to PARAMO,CA           1.17
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to PARAMO,CA           4.95
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  SANTA FE SPRIN,CA to VAN NU,CA          4.03
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  SANTA FE SPRIN,CA to VAN NU,CA         17.36
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  SANTA FE SPRIN,CA to VAN NU,CA          4.03
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  SANTA FE SPRIN,CA to VAN NU,CA         17.05
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  SANTA FE SPRING,CA to ORANG,CA          2.47
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  SANTA FE SPRING,CA to ORANG,CA         10.45
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  VAN NU,CA to SANTA FE SPRIN,CA         17.05
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  VAN NU,CA to SANTA FE SPRIN,CA          4.03
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  VAN NU,CA to SANTA FE SPRIN,CA         17.36
      12/23/2017   709   CS0091   Owner Operator   Miscellaneous                  VAN NU,CA to SANTA FE SPRIN,CA          4.03
      12/23/2017   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07

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      12/23/2017   709   CS0091   Owner Operator   Truck Payment                  CTMS - 208348 Q1201                   278.76
      12/23/2017   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/23/2017   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      12/23/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.67
      12/23/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.44
      12/23/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.92
      12/23/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.43
      12/23/2017   709   DL0029   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         253.74
      12/23/2017   709   DL0029   Owner Operator   Miscellaneous                  GARDEN GROVE,CA to MORENCI,AZ          51.75
      12/23/2017   709   DL0029   Owner Operator   Miscellaneous                  GARDEN GROVE,CA to MORENCI,AZ         212.75
      12/23/2017   709   DL0029   Owner Operator   Miscellaneous                  MORENCI,AZ to SOUTH GATE,CA           218.67
      12/23/2017   709   DL0029   Owner Operator   Miscellaneous                  MORENCI,AZ to SOUTH GATE,CA            53.19
      12/23/2017   709   DL0029   Owner Operator   Miscellaneous                  SOUTH GAT,CA to GARDEN GROV,CA          2.61
      12/23/2017   709   DL0029   Owner Operator   Miscellaneous                  SOUTH GAT,CA to GARDEN GROV,CA         10.73
      12/23/2017   709   DL0029   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   DL0029   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   DL0029   Owner Operator   Miscellaneous                  SOUTH GATE,CA to VERNON,CA              0.52
      12/23/2017   709   DL0029   Owner Operator   Miscellaneous                  SOUTH GATE,CA to VERNON,CA               2.2
      12/23/2017   709   DL0029   Owner Operator   Miscellaneous                  VERNON,CA to SOUTH GATE,CA               2.2
      12/23/2017   709   DL0029   Owner Operator   Miscellaneous                  VERNON,CA to SOUTH GATE,CA              0.52
      12/23/2017   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      12/23/2017   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      12/23/2017   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      12/23/2017   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      12/23/2017   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/23/2017   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/23/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.36
      12/23/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          569.1
      12/23/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.7
      12/23/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.11
      12/23/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.07
      12/23/2017   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         293.65
      12/23/2017   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      12/23/2017   709   DL0107   Owner Operator   Miscellaneous                  Arrears applied to 12/16 Fuel        -306.65
      12/23/2017   709   DL0107   Owner Operator   Miscellaneous                  BEATT,NV to NORTH LAS VEGAS,NV         42.84
      12/23/2017   709   DL0107   Owner Operator   Miscellaneous                  BEATT,NV to NORTH LAS VEGAS,NV         10.71
      12/23/2017   709   DL0107   Owner Operator   Miscellaneous                  CHANDLER,AZ to BEATTY,NV               44.37
      12/23/2017   709   DL0107   Owner Operator   Miscellaneous                  CHANDLER,AZ to BEATTY,NV              177.48
      12/23/2017   709   DL0107   Owner Operator   Miscellaneous                  HENDERSON,NV to CALIPATRIA,CA          32.58
      12/23/2017   709   DL0107   Owner Operator   Miscellaneous                  HENDERSON,NV to CALIPATRIA,CA         133.94
      12/23/2017   709   DL0107   Owner Operator   Miscellaneous                  NORTH LAS VEG,NV to CHANDL,AZ          33.93
      12/23/2017   709   DL0107   Owner Operator   Miscellaneous                  NORTH LAS VEG,NV to CHANDL,AZ         135.72
      12/23/2017   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      12/23/2017   709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.29
      12/23/2017   709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                  428.53
      12/23/2017   709   DL0107   Owner Operator   Truck Payment                  CTMS - 208182 Sublease                338.99
      12/23/2017   709   DL0107   Owner Operator   Truck Payment                  CTMS - 208380 Sublease                338.99
      12/23/2017   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      12/23/2017   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/23/2017   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      12/23/2017   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/23/2017   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/23/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.69
      12/23/2017   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.38
      12/23/2017   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             9.52
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  CERRITOS,CA to LOS ANGELES,CA          12.32
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  CERRITOS,CA to LOS ANGELES,CA           2.86
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.35
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.35
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.35
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.35
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.35
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.52

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      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.52
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.52
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGELE,CA to LOS ANGELE,CA           5.5
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGELE,CA to LOS ANGELE,CA           1.3
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             9.52
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CERRITOS,CA           2.86
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CERRITOS,CA          12.32
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGELES,CA to LOS GATOS,CA         31.41
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGELES,CA to LOS GATOS,CA        125.64
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGELES,CA to VALENCIA,CA           4.16
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS ANGELES,CA to VALENCIA,CA          17.92
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS GATOS,CA to LOS ANGELES,CA        125.64
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  LOS GATOS,CA to LOS ANGELES,CA         31.41
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.35
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.35
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.35
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.35
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.35
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.52
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.52
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.52
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  VALENCIA,CA to LOS ANGELES,CA          17.92
      12/23/2017   709   DS0049   Owner Operator   Miscellaneous                  VALENCIA,CA to LOS ANGELES,CA           4.16
      12/23/2017   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      12/23/2017   709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00362106 - PO System          249.49
      12/23/2017   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      12/23/2017   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      12/23/2017   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         596.91
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  CARSON,CA to CARSON,CA                   1.3
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  CARSON,CA to CARSON,CA                   5.6
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  CARSON,CA to SOUTH GATE,CA              1.69
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  CARSON,CA to SOUTH GATE,CA              7.28
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  CARSON,CA to TIJUANA,BJ                11.34
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  CARSON,CA to TIJUANA,BJ                36.54
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ               14.58
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ               46.98
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ               14.58
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ               46.98
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  Fuel Stabilization                     61.05
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  Fuel Stabilization                     61.05
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  Fuel Stabilization                     61.05
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast          14.85
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast          14.85
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast          14.85
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA              3.77
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA              1.17
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA              7.28
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA              1.69
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA            2.32
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA            0.72
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA            2.32
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA            0.72
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  TIJUANA,BJ to SOUTH GATE,CA            12.15
      12/23/2017   709   DS0225   Owner Operator   Miscellaneous                  TIJUANA,BJ to SOUTH GATE,CA            39.15
      12/23/2017   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      12/23/2017   709   DW0138   Owner Operator   *Arrears Collection W/O        WO:Oct 2017 Fuel Tax                  -38.86
      12/23/2017   709   DW0138   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      38.86
      12/23/2017   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/23/2017   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      12/23/2017   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250

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      12/23/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/23/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/23/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/23/2017   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/23/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          36.62
      12/23/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.62
      12/23/2017   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.06
      12/23/2017   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.52
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.52
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGEL,CA to SAN FRANCIS,CA         34.29
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGEL,CA to SAN FRANCIS,CA        137.16
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGELES,CA to PALMDALE,CA              6
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGELES,CA to PALMDALE,CA           25.8
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGELES,CA to PHOENIX,AZ            33.3
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGELES,CA to PHOENIX,AZ           136.9
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          10.8
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          43.2
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          10.8
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          43.2
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SYLMAR,CA             2.99
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SYLMAR,CA            12.65
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  PALMDALE,CA to LOS ANGELES,CA           25.8
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  PALMDALE,CA to LOS ANGELES,CA              6
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  PHOENIX,AZ to LOS ANGELES,CA           136.9
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  PHOENIX,AZ to LOS ANGELES,CA            33.3
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.52
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.52
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          43.2
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          10.8
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          43.2
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          10.8
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  SAN FRANCIS,CA to LOS ANGEL,CA        137.16
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  SAN FRANCIS,CA to LOS ANGEL,CA         34.29
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  SYLMAR,CA to LOS ANGELES,CA            12.65
      12/23/2017   709   EA0003   Owner Operator   Miscellaneous                  SYLMAR,CA to LOS ANGELES,CA             2.99
      12/23/2017   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      12/23/2017   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      12/23/2017   709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/23/2017   709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      12/23/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/23/2017   709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/23/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.17
      12/23/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.21
      12/23/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.37
      12/23/2017   709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.78
      12/23/2017   709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  FERNLEY,NV to SOUTH GATE,CA           177.84
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  FERNLEY,NV to SOUTH GATE,CA           182.78
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  FERNLEY,NV to SOUTH GATE,CA            44.46
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  FERNLEY,NV to SOUTH GATE,CA            44.46
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  PHOENIX,AZ to SOUTH GATE,CA            33.66
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  PHOENIX,AZ to SOUTH GATE,CA           138.38
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            5.55
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            5.55
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             5.4
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV              44.91
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV             184.63
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV              44.91
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV             179.64
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  TORRANCE,CA to PHOENIX,AZ               34.2
      12/23/2017   709   EE0011   Owner Operator   Miscellaneous                  TORRANCE,CA to PHOENIX,AZ              140.6
      12/23/2017   709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      12/23/2017   709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27

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      12/23/2017   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      12/23/2017   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      12/23/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          162.4
      12/23/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.07
      12/23/2017   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           182
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  FERNLEY,NV to SAN DIEGO,CA             51.39
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  FERNLEY,NV to SAN DIEGO,CA            205.56
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  LOS ANGELES,CA to LOS GATOS,CA         31.41
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  LOS ANGELES,CA to LOS GATOS,CA        125.64
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  LOS GATOS,CA to RICHMOND,CA             21.6
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  LOS GATOS,CA to RICHMOND,CA              5.4
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  ONTARIO,CA to SOUTH GATE,CA             5.59
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  ONTARIO,CA to SOUTH GATE,CA            24.08
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  RICHMOND,CA to FERNLEY,NV              87.12
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  RICHMOND,CA to FERNLEY,NV              21.78
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  RIVERSIDE,CA to SOUTH GATE,CA          33.04
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  RIVERSIDE,CA to SOUTH GATE,CA           7.67
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          10.71
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          42.84
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to RIVERS,CA           6.37
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to RIVERS,CA          27.44
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  SANTA FE SPRIN,CA to ONTAR,CA           4.29
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  SANTA FE SPRIN,CA to ONTAR,CA          18.48
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  SOUTH G,CA to SANTA FE SPRI,CA          1.95
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  SOUTH G,CA to SANTA FE SPRI,CA           8.4
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  SOUTH G,CA to SANTA FE SPRI,CA          1.95
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  SOUTH G,CA to SANTA FE SPRI,CA           8.4
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  SOUTH GAT,CA to LOS ANGELES,CA          0.99
      12/23/2017   709   EG0062   Owner Operator   Miscellaneous                  SOUTH GAT,CA to LOS ANGELES,CA          3.96
      12/23/2017   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      12/23/2017   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      12/23/2017   709   EG0062   Owner Operator   Tractor Wash                   CTMS - 208357 Trailer wash WFG           -50
      12/23/2017   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      12/23/2017   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      12/23/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.35
      12/23/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.73
      12/23/2017   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           221
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  FERNLEY,NV to SOUTH GATE,CA            44.46
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  FERNLEY,NV to SOUTH GATE,CA           177.84
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  NORTH LAS VE,NV to SOUTH G,CA         103.23
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  NORTH LAS VE,NV to SOUTH G,CA          25.11
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  ONTARIO,CA to SOUTH GATE,CA            15.91
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  ONTARIO,CA to SOUTH GATE,CA             3.87
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  PITTSBURG,CA to ONTARIO,CA             37.44
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  PITTSBURG,CA to ONTARIO,CA            153.92
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  SOUTH GATE,CA to PITTSBURG,CA           35.1
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  SOUTH GATE,CA to PITTSBURG,CA          144.3
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             5.4
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  SOUTH GATE,CA to WILMINGTON,CA          6.29
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  SOUTH GATE,CA to WILMINGTON,CA          1.53
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV              44.91
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV             179.64
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  WILMING,CA to NORTH LAS VE,NV           26.1
      12/23/2017   709   EO0014   Owner Operator   Miscellaneous                  WILMING,CA to NORTH LAS VE,NV          107.3
      12/23/2017   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      12/23/2017   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/23/2017   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      12/23/2017   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      12/23/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.85
      12/23/2017   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          359.3
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  CITY OF INDUS,CA to SOUTH G,CA         12.88
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  CITY OF INDUS,CA to SOUTH G,CA          2.99
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  Fuel Stabilization                     12.32
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast           2.86
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  SANTA FE S,CA to CITY OF IN,CA          1.82
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  SANTA FE S,CA to CITY OF IN,CA          7.84
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  SOUTH G,CA to SANTA FE SPRI,CA          1.95
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  SOUTH G,CA to SANTA FE SPRI,CA           8.4
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  SOUTH GATE,CA to VERNON,CA              0.36
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  SOUTH GATE,CA to VERNON,CA              0.36

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      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  SOUTH GATE,CA to VERNON,CA              1.44
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  SOUTH GATE,CA to VERNON,CA              1.44
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  VERNON,CA to WILLOWS,CA                42.48
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  VERNON,CA to WILLOWS,CA               169.92
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  VERNON,CA to WILLOWS,CA                42.48
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  VERNON,CA to WILLOWS,CA               169.92
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  WILLOWS,CA to SOUTH GATE,CA           172.44
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  WILLOWS,CA to SOUTH GATE,CA           172.44
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  WILLOWS,CA to SOUTH GATE,CA            43.11
      12/23/2017   709   FS0039   Owner Operator   Miscellaneous                  WILLOWS,CA to SOUTH GATE,CA            43.11
      12/23/2017   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      12/23/2017   709   FS0039   Owner Operator   Truck Payment                  CTMS - 208380 truck lease 3304        434.29
      12/23/2017   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/23/2017   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      12/23/2017   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.13
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  GRANADA HL,CA to LOS ANGELE,CA         13.75
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  GRANADA HL,CA to LOS ANGELE,CA          3.25
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LA VERNE,CA to LOS ANGELES,CA          17.05
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LA VERNE,CA to LOS ANGELES,CA           4.03
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.35
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.35
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.35
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGELE,CA to GRANADA HL,CA          3.25
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGELE,CA to GRANADA HL,CA         13.75
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGELE,CA to LOS ANGELE,CA           1.3
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGELE,CA to LOS ANGELE,CA           5.5
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGELES,CA to LA VERNE,CA           4.03
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGELES,CA to LA VERNE,CA          17.05
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGELES,CA to MESA,AZ              35.19
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGELES,CA to MESA,AZ             144.67
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          10.8
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          43.2
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  MESA,AZ to LOS ANGELES,CA             144.67
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  MESA,AZ to LOS ANGELES,CA              35.19
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.35
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.35
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.35
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          43.2
      12/23/2017   709   FV0001   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          10.8
      12/23/2017   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      12/23/2017   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      12/23/2017   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      12/23/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.11
      12/23/2017   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.21
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          42.84
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          10.71
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          10.71
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          42.84
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          42.84
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          10.71
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          10.71
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          44.03
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          42.84
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          10.71
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             5.4
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            5.55
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             5.4
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             5.4
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             5.4
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            10.53

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      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            42.12
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            10.53
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            42.12
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            10.53
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            42.12
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            10.53
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            43.29
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            10.53
      12/23/2017   709   GS0015   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            42.12
      12/23/2017   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      12/23/2017   709   GS0015   Owner Operator   Truck Payment                  CTMS - 208346 Lease                   252.11
      12/23/2017   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      12/23/2017   709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/23/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/23/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/23/2017   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/23/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.13
      12/23/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.69
      12/23/2017   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.64
      12/23/2017   709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  CHANDLER,AZ to SOUTH GATE,CA          143.64
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  CHANDLER,AZ to SOUTH GATE,CA           35.91
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  Fuel Stabilization                     27.28
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast            6.2
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  LONG BEAC,CA to LOS ANGELES,CA          2.99
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  LONG BEAC,CA to LOS ANGELES,CA         12.65
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  LOS ANGELE,CA to SOUTH GATE,CA          6.05
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  LOS ANGELE,CA to SOUTH GATE,CA          1.43
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  ORANGE,CA to VISTA,CA                    6.3
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  ORANGE,CA to VISTA,CA                  27.72
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  SOUTH GATE,CA to LONG BEACH,CA          1.95
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  SOUTH GATE,CA to LONG BEACH,CA          8.25
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ORANGE,CA               3.1
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ORANGE,CA             13.64
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  SOUTH GATE,CA to WILMINGTON,CA          1.53
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  SOUTH GATE,CA to WILMINGTON,CA          6.12
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  VISTA,CA to SOUTH GATE,CA                9.1
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  VISTA,CA to SOUTH GATE,CA              40.04
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  WILMINGTON,CA to CHANDLER,AZ           36.54
      12/23/2017   709   GW0043   Owner Operator   Miscellaneous                  WILMINGTON,CA to CHANDLER,AZ          146.16
      12/23/2017   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      12/23/2017   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      12/23/2017   709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.51
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  BAKERSFIEL,CA to SOUTH GATE,CA         44.64
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  BAKERSFIEL,CA to SOUTH GATE,CA         11.16
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  CARLSBAD,CA to SOUTH GATE,CA            37.4
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  CARLSBAD,CA to SOUTH GATE,CA             8.5
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  IRWINDALE,CA to SOUTH GATE,CA          14.85
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  IRWINDALE,CA to SOUTH GATE,CA           3.51
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SAN PEDRO,CA to CARLSBAD,CA              8.5
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SAN PEDRO,CA to CARLSBAD,CA             37.4
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SANTA ANA,CA to SOUTH GATE,CA           16.8
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SANTA ANA,CA to SOUTH GATE,CA            3.9
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SANTA FE SPR,CA to BAKERSF,CA          11.52
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SANTA FE SPR,CA to BAKERSF,CA          46.08
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SOUTH G,CA to SANTA FE SPRI,CA          1.35
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SOUTH G,CA to SANTA FE SPRI,CA           5.4
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SOUTH GATE,CA to IRWINDALE,CA           3.51
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SOUTH GATE,CA to IRWINDALE,CA          14.85
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SAN PEDRO,CA              2
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SAN PEDRO,CA            8.8
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.95
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             8.4
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  TORRANCE,CA to SANTA ANA,CA             4.16
      12/23/2017   709   HC0023   Owner Operator   Miscellaneous                  TORRANCE,CA to SANTA ANA,CA            17.92
      12/23/2017   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15

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      12/23/2017   709   HC0023   Owner Operator   Truck Payment                  CTMS - 208343 Q13170                  352.68
      12/23/2017   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      12/23/2017   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      12/23/2017   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/23/2017   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/23/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.65
      12/23/2017   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.41
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  LONG BEAC,CA to LOS ANGELES,CA         12.88
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  LONG BEAC,CA to LOS ANGELES,CA          2.99
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.35
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  LOS ANGELE,CA to LONG BEACH,CA          2.99
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  LOS ANGELE,CA to LONG BEACH,CA         12.88
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          10.8
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          44.4
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          10.8
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          43.2
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  LOS ANGELES,CA to VANCOUVER,WA         87.39
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  LOS ANGELES,CA to VANCOUVER,WA        359.27
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.35
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          44.4
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          10.8
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          43.2
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          10.8
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  VANCOUVER,WA to LOS ANGELES,CA        359.27
      12/23/2017   709   HG0007   Owner Operator   Miscellaneous                  VANCOUVER,WA to LOS ANGELES,CA         87.39
      12/23/2017   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      12/23/2017   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      12/23/2017   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/23/2017   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/23/2017   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/23/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.17
      12/23/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.55
      12/23/2017   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.58
      12/23/2017   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  CARSON,CA to TECATE,BJ                 14.04
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  CARSON,CA to TECATE,BJ                 45.24
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ               14.58
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ               46.98
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ               14.58
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ               46.98
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  Fuel Stabilization                     61.05
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast          14.85
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA              3.77
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA              1.17
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA            2.32
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA            0.72
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA            2.32
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA            0.72
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.6
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.6
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.95
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.95
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             8.4
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             8.4
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA            1.95
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA             8.4
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA            1.95
      12/23/2017   709   IR0002   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA             8.4
      12/23/2017   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      12/23/2017   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/23/2017   709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      12/23/2017   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      12/23/2017   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      12/23/2017   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      12/23/2017   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      12/23/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      12/23/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/23/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/23/2017   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/23/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.99
      12/23/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.82
      12/23/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.74
      12/23/2017   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.09
      12/23/2017   709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      12/23/2017   709   JC0292   Owner Operator   Miscellaneous                  LA PORTE,TX to TORRANCE,CA            142.83
      12/23/2017   709   JC0292   Owner Operator   Miscellaneous                  LA PORTE,TX to TORRANCE,CA            460.23
      12/23/2017   709   JC0292   Owner Operator   Miscellaneous                  SOUTH GATE,CA to LA PORTE,TX          142.47
      12/23/2017   709   JC0292   Owner Operator   Miscellaneous                  SOUTH GATE,CA to LA PORTE,TX          459.07
      12/23/2017   709   JC0292   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA            1.35
      12/23/2017   709   JC0292   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA            4.35
      12/23/2017   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      12/23/2017   709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      12/23/2017   709   JC0292   Owner Operator   Truck Payment                  CTMS - 208377 Q13197 Lease            276.63
      12/23/2017   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/23/2017   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      12/23/2017   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      12/23/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/23/2017   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/23/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.09
      12/23/2017   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.35
      12/23/2017   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             9.52
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             2.21
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             9.35
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             2.21
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             9.52
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             2.21
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.52
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.35
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.35
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGEL,CA to SAN FRANCIS,CA         34.29
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGEL,CA to SAN FRANCIS,CA        140.97
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGELE,CA to LOS ANGELE,CA           5.5
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGELE,CA to LOS ANGELE,CA           1.3
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGELE,CA to LOS ANGELE,CA           1.3
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGELE,CA to LOS ANGELE,CA           5.5
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             2.21
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             9.35
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             2.21
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             9.52
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             2.21
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             9.52
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGELES,CA to VAN NUYS,CA           2.08
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGELES,CA to VAN NUYS,CA           8.96
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGELES,CA to WHITTIER,CA           2.47
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  LOS ANGELES,CA to WHITTIER,CA          10.45
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.52
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.35
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.35
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  SAN FRANCIS,CA to LOS ANGEL,CA        140.97
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  SAN FRANCIS,CA to LOS ANGEL,CA         34.29
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  VAN NUYS,CA to LOS ANGELES,CA           8.96
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  VAN NUYS,CA to LOS ANGELES,CA           2.08
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  WHITTIER,CA to LOS ANGELES,CA          10.45
      12/23/2017   709   JG0017   Owner Operator   Miscellaneous                  WHITTIER,CA to LOS ANGELES,CA           2.47
      12/23/2017   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      12/23/2017   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      12/23/2017   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/23/2017   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      12/23/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/23/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      12/23/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/23/2017   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/23/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.53
      12/23/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.32
      12/23/2017   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.66
      12/23/2017   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      12/23/2017   709   JG0072   Owner Operator   Miscellaneous                  EL PASO,TX to SOUTH GATE,CA            72.63
      12/23/2017   709   JG0072   Owner Operator   Miscellaneous                  EL PASO,TX to SOUTH GATE,CA           234.03
      12/23/2017   709   JG0072   Owner Operator   Miscellaneous                  PHOENIX,AZ to SOUTH GATE,CA            33.66
      12/23/2017   709   JG0072   Owner Operator   Miscellaneous                  PHOENIX,AZ to SOUTH GATE,CA           138.38
      12/23/2017   709   JG0072   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            5.55
      12/23/2017   709   JG0072   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   JG0072   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   JG0072   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            4.35
      12/23/2017   709   JG0072   Owner Operator   Miscellaneous                  TORRANCE,CA to EL PASO,TX              73.08
      12/23/2017   709   JG0072   Owner Operator   Miscellaneous                  TORRANCE,CA to EL PASO,TX             235.48
      12/23/2017   709   JG0072   Owner Operator   Miscellaneous                  TORRANCE,CA to PHOENIX,AZ               34.2
      12/23/2017   709   JG0072   Owner Operator   Miscellaneous                  TORRANCE,CA to PHOENIX,AZ              140.6
      12/23/2017   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      12/23/2017   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      12/23/2017   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/23/2017   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      12/23/2017   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                              60
      12/23/2017   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      12/23/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         632.58
      12/23/2017   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.26
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             9.52
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             2.21
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  GILROY,CA to LOS ANGELES,CA            111.6
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  GILROY,CA to LOS ANGELES,CA             27.9
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  HUNTINGTON B,CA to LOS ANG,CA          21.84
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  HUNTINGTON B,CA to LOS ANG,CA           5.07
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  LOS ANG,CA to HUNTINGTON B,CA           5.07
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  LOS ANG,CA to HUNTINGTON B,CA          21.84
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.35
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             2.21
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             9.52
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  LOS ANGELES,CA to GILROY,CA             27.9
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  LOS ANGELES,CA to GILROY,CA            111.6
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          10.8
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          43.2
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          10.8
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          43.2
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.35
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          43.2
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          10.8
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          43.2
      12/23/2017   709   JG0092   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          10.8
      12/23/2017   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      12/23/2017   709   JG0092   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.28
      12/23/2017   709   JG0092   Owner Operator   T Chek Fee                     Tractor Repair 33669                  328.05
      12/23/2017   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      12/23/2017   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      12/23/2017   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-16           31.8
      12/23/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/23/2017   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/23/2017   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.49
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  CARSON,CA to SOUTH GATE,CA              1.69
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  CARSON,CA to SOUTH GATE,CA              7.28
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  CARSON,CA to SOUTH GATE,CA              1.69
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  CARSON,CA to SOUTH GATE,CA              7.28
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  CARSON,CA to SOUTH GATE,CA              1.69
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  CARSON,CA to SOUTH GATE,CA              7.15
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  ONTARIO,CA to SOUTH GATE,CA            23.65
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  ONTARIO,CA to SOUTH GATE,CA             5.59
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  ONTARIO,CA to SOUTH GATE,CA            23.65
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  ONTARIO,CA to SOUTH GATE,CA             5.59
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  ONTARIO,CA to SOUTH GATE,CA            24.08
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  ONTARIO,CA to SOUTH GATE,CA             5.59

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      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  RIVERSIDE,CA to SOUTH GATE,CA          25.96
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  RIVERSIDE,CA to SOUTH GATE,CA            5.9
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA              7.28
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA              1.69
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA              7.15
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA              1.69
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA              7.28
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA              1.69
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to FORT WORTH,TX        790.16
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to FORT WORTH,TX        183.43
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ONTARIO,CA             5.59
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ONTARIO,CA            23.65
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ONTARIO,CA             5.59
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ONTARIO,CA            23.65
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ONTARIO,CA             5.59
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ONTARIO,CA            24.08
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to RIVERSIDE,CA            5.9
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to RIVERSIDE,CA          25.96
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.6
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.6
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.6
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.6
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/23/2017   709   JQ0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.5
      12/23/2017   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      12/23/2017   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      12/23/2017   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      12/23/2017   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.05
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  CHULA V,CA to SANTA FE SPR,CA          43.29
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  CHULA V,CA to SANTA FE SPR,CA          10.53
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  CHULA V,CA to SANTA FE SPR,CA          42.12
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  CHULA V,CA to SANTA FE SPR,CA          10.53
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  FULLER,CA to SANTA FE SPRI,CA            7.7
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  FULLER,CA to SANTA FE SPRI,CA           1.82
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  PLAYA DE,CA to SANTA FE SP,CA             14
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  PLAYA DE,CA to SANTA FE SP,CA           3.25
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SAN JUAN CA,CA to SANTA FE ,CA         22.55
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SAN JUAN CA,CA to SANTA FE ,CA          5.33
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SANTA FE ,CA to SAN JUAN CA,CA          5.33
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SANTA FE ,CA to SAN JUAN CA,CA         22.55
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SANTA FE SP,CA to PLAYA DE,CA           3.25
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SANTA FE SP,CA to PLAYA DE,CA             14
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SANTA FE SPR,CA to CHULA V,CA          10.53
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SANTA FE SPR,CA to CHULA V,CA          42.12
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SANTA FE SPR,CA to CHULA V,CA          10.53
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SANTA FE SPR,CA to CHULA V,CA          43.29
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to FULLER,CA           1.82
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to FULLER,CA            7.7
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SANTA FE SPRIN,CA to VAN NU,CA          4.03
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SANTA FE SPRIN,CA to VAN NU,CA         17.05
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SANTA FE SPRIN,CA to VAN NU,CA          4.03
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  SANTA FE SPRIN,CA to VAN NU,CA         17.05
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  VAN NU,CA to SANTA FE SPRIN,CA         17.05
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  VAN NU,CA to SANTA FE SPRIN,CA          4.03

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      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  VAN NU,CA to SANTA FE SPRIN,CA         17.05
      12/23/2017   709   JR0099   Owner Operator   Miscellaneous                  VAN NU,CA to SANTA FE SPRIN,CA          4.03
      12/23/2017   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      12/23/2017   709   JR0099   Owner Operator   Truck Payment                  CTMS - 208312 Truck Lease             278.76
      12/23/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      12/23/2017   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      12/23/2017   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      12/23/2017   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/23/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/23/2017   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/23/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.91
      12/23/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.67
      12/23/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.27
      12/23/2017   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.98
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LANCASTER,CA to LOS ANGELES,CA         31.24
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LANCASTER,CA to LOS ANGELES,CA           7.1
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LIVINGSTO,CA to LOS ANGELES,CA        103.32
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LIVINGSTO,CA to LOS ANGELES,CA         25.83
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.35
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LOS ANGELE,CA to LIVINGSTON,CA         25.83
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LOS ANGELE,CA to LIVINGSTON,CA        103.32
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LOS ANGELES,CA to LANCASTER,CA           7.1
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LOS ANGELES,CA to LANCASTER,CA         31.24
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LOS ANGELES,CA to VAN NUYS,CA           2.08
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LOS ANGELES,CA to VAN NUYS,CA            8.8
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LOS ANGELES,CA to VAN NUYS,CA           2.08
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LOS ANGELES,CA to VAN NUYS,CA            8.8
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LOS ANGELES,CA to WHITTIER,CA           2.47
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  LOS ANGELES,CA to WHITTIER,CA          10.64
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.35
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  VAN NUYS,CA to LOS ANGELES,CA            8.8
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  VAN NUYS,CA to LOS ANGELES,CA           2.08
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  VAN NUYS,CA to LOS ANGELES,CA            8.8
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  VAN NUYS,CA to LOS ANGELES,CA           2.08
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  WHITTIER,CA to LOS ANGELES,CA          10.64
      12/23/2017   709   JS0265   Owner Operator   Miscellaneous                  WHITTIER,CA to LOS ANGELES,CA           2.47
      12/23/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      12/23/2017   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      12/23/2017   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      12/23/2017   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/23/2017   709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
      12/23/2017   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      12/23/2017   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      12/23/2017   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/23/2017   709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00361346 - PO System           200.8
      12/23/2017   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      12/23/2017   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      12/23/2017   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      12/23/2017   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-16           62.5
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  EL SEGUNDO,CA to TORRANCE,CA             7.7
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  EL SEGUNDO,CA to TORRANCE,CA            1.82
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  OXNARD,CA to TORRANCE,CA                  33
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  OXNARD,CA to TORRANCE,CA                 7.5
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  SAN DIEGO,CA to TORRANCE,CA            42.12
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  SAN DIEGO,CA to TORRANCE,CA            10.53
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  SAN DIEGO,CA to TORRANCE,CA            42.12
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  SAN DIEGO,CA to TORRANCE,CA            10.53
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  SAN DIEGO,CA to TORRANCE,CA            42.12
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  SAN DIEGO,CA to TORRANCE,CA            10.53
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  TORRANCE,CA to EL SEGUNDO,CA            1.82
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  TORRANCE,CA to EL SEGUNDO,CA             7.7
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  TORRANCE,CA to OXNARD,CA                 7.5
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  TORRANCE,CA to OXNARD,CA                  33
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            10.53
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            42.12
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            10.53
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            42.12
      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            10.53

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      12/23/2017   709   LL0160   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            42.12
      12/23/2017   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      12/23/2017   709   LL0160   Owner Operator   Truck Payment                  CTMS - 208299 Lease Q1111             252.11
      12/23/2017   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      12/23/2017   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             9.35
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             2.21
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  FOUNTAIN VAL,CA to LOS ANGE,CA          19.6
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  FOUNTAIN VAL,CA to LOS ANGE,CA          4.55
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGE,CA to FOUNTAIN VAL,CA          4.55
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGE,CA to FOUNTAIN VAL,CA          19.6
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.52
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.52
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.52
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.52
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.52
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGEL,CA to SAN FRANCIS,CA         34.29
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGEL,CA to SAN FRANCIS,CA        137.16
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             2.21
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             9.35
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGELES,CA to PALMDALE,CA              6
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGELES,CA to PALMDALE,CA           26.4
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          10.8
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  LOS ANGELES,CA to SAN DIEGO,CA          43.2
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  PALMDALE,CA to LOS ANGELES,CA           26.4
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  PALMDALE,CA to LOS ANGELES,CA              6
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.52
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.52
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.52
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.52
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.52
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          43.2
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  SAN DIEGO,CA to LOS ANGELES,CA          10.8
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  SAN FRANCIS,CA to LOS ANGEL,CA        137.16
      12/23/2017   709   LS0023   Owner Operator   Miscellaneous                  SAN FRANCIS,CA to LOS ANGEL,CA         34.29
      12/23/2017   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      12/23/2017   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      12/23/2017   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/23/2017   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      40.35
      12/23/2017   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      12/23/2017   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                        3.51
      12/23/2017   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      12/23/2017   709   ME0053   Owner Operator   Truck Payment                  CTMS - 208343 Q1113 Lease             252.11
      12/23/2017   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/23/2017   709   MG0067   Owner Operator   Miscellaneous                  Fuel Stabilization                     14.56
      12/23/2017   709   MG0067   Owner Operator   Miscellaneous                  Fuel Stabilization                     61.05
      12/23/2017   709   MG0067   Owner Operator   Miscellaneous                  Fuel Stabilization                     14.56
      12/23/2017   709   MG0067   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast           3.38
      12/23/2017   709   MG0067   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast          14.85
      12/23/2017   709   MG0067   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast           3.38
      12/23/2017   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      12/23/2017   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/23/2017   709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/23/2017   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      12/23/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              40
      12/23/2017   709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      12/23/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.88
      12/23/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.65
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  LAGUNA NIGU,CA to SOUTH GA,CA          24.94

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      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  LAGUNA NIGU,CA to SOUTH GA,CA            5.8
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  LOS ANGELE,CA to SOUTH GATE,CA          6.05
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  LOS ANGELE,CA to SOUTH GATE,CA          1.43
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  LOS ANGELES,CA to MIRA LOMA,CA          5.72
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  LOS ANGELES,CA to MIRA LOMA,CA          24.2
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  MIRA LOMA,CA to LOS ANGELES,CA          5.72
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  MIRA LOMA,CA to LOS ANGELES,CA          24.2
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SANTA ANA,CA to SOUTH GATE,CA            3.9
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SANTA ANA,CA to SOUTH GATE,CA           16.5
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SANTA ANA,CA to SOUTH GATE,CA            3.9
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SANTA ANA,CA to SOUTH GATE,CA           16.5
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SANTA FE SP,CA to LAGUNA N,CA            5.2
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SANTA FE SP,CA to LAGUNA N,CA          22.36
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to SANTA ,CA           2.34
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to SANTA ,CA            9.9
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SOUTH G,CA to SANTA FE SPRI,CA          6.45
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SOUTH G,CA to SANTA FE SPRI,CA          1.95
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SOUTH G,CA to SANTA FE SPRI,CA          8.25
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SOUTH G,CA to SANTA FE SPRI,CA           1.5
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SOUTH GAT,CA to LOS ANGELES,CA          6.05
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SOUTH GAT,CA to LOS ANGELES,CA          1.43
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SOUTH GAT,CA to LOS ANGELES,CA          1.43
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SOUTH GAT,CA to LOS ANGELES,CA          6.05
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            8.25
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.95
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  TORRANCE,CA to SANTA ANA,CA             4.16
      12/23/2017   709   MM0093   Owner Operator   Miscellaneous                  TORRANCE,CA to SANTA ANA,CA             17.6
      12/23/2017   709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.11
      12/23/2017   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      12/23/2017   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/23/2017   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      12/23/2017   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/23/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/23/2017   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/23/2017   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.89
      12/23/2017   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             9.35
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             2.21
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             9.35
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             2.21
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             9.52
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             2.21
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             9.35
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  CARSON,CA to LOS ANGELES,CA             2.21
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  FOUNTAIN VAL,CA to LOS ANGE,CA         19.25
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  FOUNTAIN VAL,CA to LOS ANGE,CA          4.55
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  GRANADA HL,CA to LOS ANGELE,CA          3.25
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  GRANADA HL,CA to LOS ANGELE,CA            14
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANG,CA to RANCHO CUCAM,CA            5.2
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANG,CA to RANCHO CUCAM,CA             22
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANGE,CA to FOUNTAIN VAL,CA          4.55
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANGE,CA to FOUNTAIN VAL,CA         19.25
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          2.21
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANGEL,CA to PLAYA DEL R,CA          9.35
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANGELE,CA to GRANADA HL,CA          3.25
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANGELE,CA to GRANADA HL,CA            14
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             2.21
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             9.52
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             2.21
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             9.35
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             2.21
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             9.35
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             2.21
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             9.35
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          9.35
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  PLAYA DEL R,CA to LOS ANGEL,CA          2.21
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  RANCHO CUCAM,CA to LOS ANG,CA             22
      12/23/2017   709   MP0035   Owner Operator   Miscellaneous                  RANCHO CUCAM,CA to LOS ANG,CA            5.2
      12/23/2017   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      12/23/2017   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/23/2017   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05

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      12/23/2017   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      12/23/2017   709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-30       -318.06
      12/23/2017   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/23/2017   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/23/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.75
      12/23/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.44
      12/23/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.67
      12/23/2017   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      12/23/2017   709   NB0029   Owner Operator   T Chek Fee                     Tractor Repair Q1108                  3149.7
      12/23/2017   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/23/2017   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      12/23/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            140
      12/23/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      12/23/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           382
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  LA MIRADA,CA to SOUTH GATE,CA          12.88
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  LA MIRADA,CA to SOUTH GATE,CA           2.99
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          44.03
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          10.71
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          44.03
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          42.84
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          10.71
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          10.71
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          10.71
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          10.71
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          42.84
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          42.84
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             5.4
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             5.4
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             5.4
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            5.55
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            5.55
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.95
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             8.4
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  TORRANCE,CA to LA MIRADA,CA             3.38
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  TORRANCE,CA to LA MIRADA,CA            14.56
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            10.53
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            43.29
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            10.53
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            42.12
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            10.53
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            42.12
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            10.53
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            43.29
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            10.53
      12/23/2017   709   NG0005   Owner Operator   Miscellaneous                  TORRANCE,CA to SAN DIEGO,CA            42.12
      12/23/2017   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      12/23/2017   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      12/23/2017   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  ANAHEIM,CA to LOS ANGELES,CA           14.56
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  ANAHEIM,CA to LOS ANGELES,CA           14.56
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  ANAHEIM,CA to LOS ANGELES,CA            3.38
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  ANAHEIM,CA to LOS ANGELES,CA            3.38
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  ANAHEIM,CA to LOS ANGELES,CA            14.3
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  ANAHEIM,CA to LOS ANGELES,CA            14.3
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  ANAHEIM,CA to LOS ANGELES,CA            3.38
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  ANAHEIM,CA to LOS ANGELES,CA            3.38
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  ANAHEIM,CA to SOUTH GATE,CA            13.75
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  ANAHEIM,CA to SOUTH GATE,CA             3.25
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  LOS ANGELES,CA to ANAHEIM,CA            3.38
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  LOS ANGELES,CA to ANAHEIM,CA           14.56
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  LOS ANGELES,CA to ANAHEIM,CA           14.56
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  LOS ANGELES,CA to ANAHEIM,CA            3.38
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  LOS ANGELES,CA to ANAHEIM,CA            3.38
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  LOS ANGELES,CA to ANAHEIM,CA            14.3
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  LOS ANGELES,CA to ANAHEIM,CA            14.3
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  LOS ANGELES,CA to ANAHEIM,CA            3.38

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      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  SANTA ANA,CA to SOUTH GATE,CA            3.9
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  SANTA ANA,CA to SOUTH GATE,CA           16.5
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ANAHEIM,CA             3.25
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ANAHEIM,CA            13.75
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            8.25
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.95
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  TORRANCE,CA to SANTA ANA,CA             4.16
      12/23/2017   709   NT9564   Owner Operator   Miscellaneous                  TORRANCE,CA to SANTA ANA,CA             17.6
      12/23/2017   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      12/23/2017   709   NT9564   Owner Operator   Truck Payment                  CTMS - 208342 Truck 73130 Leas        196.65
      12/23/2017   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/23/2017   709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-30        -11.88
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ               14.58
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ               46.98
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ               14.58
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ               46.98
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  Fuel Stabilization                     14.56
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  Fuel Stabilization                     61.05
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  Fuel Stabilization                      7.28
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  Fuel Stabilization                     61.05
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  Fuel Stabilization                     61.05
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast          14.85
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast          14.85
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast           3.38
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast          14.85
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast           1.69
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  LOS ANGELE,CA to SOUTH GATE,CA          3.19
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  LOS ANGELE,CA to SOUTH GATE,CA          0.99
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  LOS ANGELES,CA to TIJUANA,BJ           12.24
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  LOS ANGELES,CA to TIJUANA,BJ           39.44
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  PERRIS,CA to TIJUANA,BJ                  9.5
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  PERRIS,CA to TIJUANA,BJ                33.25
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  SOUTH GAT,CA to LOS ANGELES,CA          0.99
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  SOUTH GAT,CA to LOS ANGELES,CA          3.19
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA            2.32
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA            0.72
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA            2.32
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA            0.72
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  SOUTH GATE,CA to PERRIS,CA               7.7
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  SOUTH GATE,CA to PERRIS,CA             26.95
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  SOUTH GATE,CA to WILMINGTON,CA          6.29
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  SOUTH GATE,CA to WILMINGTON,CA          1.53
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  TIJUANA,BJ to LOS ANGELES,CA           12.24
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  TIJUANA,BJ to LOS ANGELES,CA           39.44
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  TIJUANA,BJ to SOUTH GATE,CA             13.5
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  TIJUANA,BJ to SOUTH GATE,CA            47.25
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  WILMINGTON,CA to YUMA,AZ                25.2
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  WILMINGTON,CA to YUMA,AZ               103.6
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  YUMA,AZ to SOUTH GATE,CA               25.47
      12/23/2017   709   RC0030   Owner Operator   Miscellaneous                  YUMA,AZ to SOUTH GATE,CA              104.71
      12/23/2017   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      12/23/2017   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/23/2017   709   RC0030   Owner Operator   Truck Payment                  CTMS - 208312 Down Payment lo         303.55
      12/23/2017   709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.19
      12/23/2017   709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/23/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/23/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/23/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.25
      12/23/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.06
      12/23/2017   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      12/23/2017   709   RC0089   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         261.51
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  CARSON,CA to TIJUANA,BJ                11.34
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  CARSON,CA to TIJUANA,BJ                36.54
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             1.53
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  LOS ANGELES,CA to CARSON,CA             4.93
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  LOS ANGELES,CA to TIJUANA,BJ           12.24
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  LOS ANGELES,CA to TIJUANA,BJ           39.44
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  LOS ANGELES,CA to TIJUANA,BJ           12.24
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  LOS ANGELES,CA to TIJUANA,BJ           39.44
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  LOS ANGELES,CA to TIJUANA,BJ           12.24
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  LOS ANGELES,CA to TIJUANA,BJ           39.44

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      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TECATE,BJ            14.85
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TECATE,BJ            47.85
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  TIJUANA,BJ to LOS ANGELES,CA          39.44
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  TIJUANA,BJ to LOS ANGELES,CA          12.24
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  TIJUANA,BJ to LOS ANGELES,CA          39.44
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  TIJUANA,BJ to LOS ANGELES,CA          12.24
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  TIJUANA,BJ to LOS ANGELES,CA          39.44
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  TIJUANA,BJ to LOS ANGELES,CA          12.24
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  TIJUANA,BJ to SOUTH GATE,CA           12.15
      12/23/2017   709   RC0089   Owner Operator   Miscellaneous                  TIJUANA,BJ to SOUTH GATE,CA           39.15
      12/23/2017   709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/23/2017   709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 103.05
      12/23/2017   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                        504.72
      12/23/2017   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/23/2017   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/23/2017   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/23/2017   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                     32.99
      12/23/2017   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                     32.99
      12/23/2017   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                     32.99
      12/23/2017   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/23/2017   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/23/2017   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/23/2017   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  77.22
      12/23/2017   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  77.22
      12/23/2017   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  77.22
      12/23/2017   709   RL0017   Owner Operator   Toll Charges                   675400665 DEV CXLD/ NOT RTRND          100
      12/23/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                        529.05
      12/23/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                        113.89
      12/23/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                        529.05
      12/23/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         353.9
      12/23/2017   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/23/2017   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      12/23/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/23/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/23/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/23/2017   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/23/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        445.02
      12/23/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        453.91
      12/23/2017   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.4
      12/23/2017   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                     32.99
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  FERNLEY,NV to RICHMOND,CA             89.54
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  FERNLEY,NV to RICHMOND,CA             21.78
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  FERNLEY,NV to SAN DIEGO,CA            51.39
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  FERNLEY,NV to SAN DIEGO,CA           205.56
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  FERNLEY,NV to SOUTH GATE,CA          182.78
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  FERNLEY,NV to SOUTH GATE,CA           44.46
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  RICHMOND,CA to FERNLEY,NV             87.12
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  RICHMOND,CA to FERNLEY,NV             21.78
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA         42.84
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA         10.71
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA           1.35
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA           5.55
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA           1.35
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA           5.55
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV             44.91
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV            184.63
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV             44.91
      12/23/2017   709   RL0062   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV            184.63
      12/23/2017   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/23/2017   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.13
      12/23/2017   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                        512.16
      12/23/2017   709   RL0180   Owner Operator   Advance                        Acc clm 67098 s/u 8 pmts               250
      12/23/2017   709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
      12/23/2017   709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                          8
      12/23/2017   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/23/2017   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.23
      12/23/2017   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.56
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  Fuel Stabilization                     16.8
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  Fuel Stabilization                     16.8
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast           3.9
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast           3.9
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  MARICOPA,AZ to SOUTH GATE,CA         147.96
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  MARICOPA,AZ to SOUTH GATE,CA          36.99

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      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  PERRIS,CA to SOUTH GATE,CA               7.7
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  PERRIS,CA to SOUTH GATE,CA             33.11
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  SOUTH GATE,CA to PERRIS,CA             33.11
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  SOUTH GATE,CA to PERRIS,CA               7.7
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             8.4
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.95
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  SOUTH GATE,CA to WILMINGTON,CA          1.53
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  SOUTH GATE,CA to WILMINGTON,CA          6.12
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA            1.95
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA             8.4
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  WILMINGTON,CA to MARICOPA,AZ           37.71
      12/23/2017   709   RL0180   Owner Operator   Miscellaneous                  WILMINGTON,CA to MARICOPA,AZ          150.84
      12/23/2017   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      12/23/2017   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      12/23/2017   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      12/23/2017   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      12/23/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.52
      12/23/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.72
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  GOODYEAR,AZ to ORANGE,CA               30.51
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  GOODYEAR,AZ to ORANGE,CA              125.43
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  MARICOPA,AZ to SOUTH GATE,CA          147.96
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  MARICOPA,AZ to SOUTH GATE,CA           36.99
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  ORANGE,CA to GOODYEAR,AZ               30.51
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  ORANGE,CA to GOODYEAR,AZ              125.43
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  ORANGE,CA to SOUTH GATE,CA              2.79
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  ORANGE,CA to SOUTH GATE,CA             11.47
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  SANTA ANA,CA to SOUTH GATE,CA           16.5
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  SANTA ANA,CA to SOUTH GATE,CA            3.9
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  SANTA ANA,CA to SOUTH GATE,CA           16.5
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  SANTA ANA,CA to SOUTH GATE,CA            3.9
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  SOUTH GATE,CA to MARICOPA,AZ           36.99
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  SOUTH GATE,CA to MARICOPA,AZ          147.96
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ORANGE,CA              2.79
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ORANGE,CA             11.47
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           0.9
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           3.6
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            8.25
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.95
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.95
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            8.25
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  TORRANCE,CA to SANTA ANA,CA             4.16
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  TORRANCE,CA to SANTA ANA,CA             17.6
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  TORRANCE,CA to SANTA ANA,CA             4.16
      12/23/2017   709   RM0026   Owner Operator   Miscellaneous                  TORRANCE,CA to SANTA ANA,CA             17.6
      12/23/2017   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      12/23/2017   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00361262 - PO System           11.55
      12/23/2017   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      12/23/2017   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      12/23/2017   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.03
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  CORON,CA to SANTA FE SPRING,CA          18.7
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  CORON,CA to SANTA FE SPRING,CA          4.42
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  FOUNTAIN ,CA to SANTA FE S,CA           13.2
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  FOUNTAIN ,CA to SANTA FE S,CA           3.12
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  LAGUNA N,CA to SANTA FE SP,CA          22.88
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  LAGUNA N,CA to SANTA FE SP,CA            5.2
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  PLAYA DE,CA to SANTA FE SP,CA             14
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  PLAYA DE,CA to SANTA FE SP,CA           3.25
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  PLAYA DE,CA to SANTA FE SP,CA          13.75
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  PLAYA DE,CA to SANTA FE SP,CA           3.25
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  RANCHO CUC,CA to SANTA FE S,CA         20.35
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  RANCHO CUC,CA to SANTA FE S,CA          4.81
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  RIVERS,CA to SANTA FE SPRI,CA          27.44
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  RIVERS,CA to SANTA FE SPRI,CA           6.37
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA ,CA to SANTA FE SPRI,CA          10.08
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA ,CA to SANTA FE SPRI,CA           2.34
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE S,CA to FOUNTAIN ,CA           3.12
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE S,CA to FOUNTAIN ,CA           13.2
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE S,CA to RANCHO CUC,CA          4.81
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE S,CA to RANCHO CUC,CA         20.35
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE S,CA to SANTA FE S,CA           5.5
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE S,CA to SANTA FE S,CA           1.3

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      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE S,CA to SANTA FE S,CA            1.3
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE S,CA to SANTA FE S,CA            5.5
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE SP,CA to LAGUNA N,CA             5.2
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE SP,CA to LAGUNA N,CA           22.88
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE SP,CA to PLAYA DE,CA            3.25
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE SP,CA to PLAYA DE,CA              14
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE SP,CA to PLAYA DE,CA            3.25
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE SP,CA to PLAYA DE,CA           13.75
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to RIVERS,CA            6.37
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to RIVERS,CA           27.44
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to SANTA ,CA            2.34
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE SPRI,CA to SANTA ,CA           10.08
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE SPRIN,CA to VAN NU,CA           4.03
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE SPRIN,CA to VAN NU,CA          17.36
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE SPRING,CA to CORON,CA           4.42
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  SANTA FE SPRING,CA to CORON,CA           18.7
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  VAN NU,CA to SANTA FE SPRIN,CA          17.36
      12/23/2017   709   RP0082   Owner Operator   Miscellaneous                  VAN NU,CA to SANTA FE SPRIN,CA           4.03
      12/23/2017   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/23/2017   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.58
      12/23/2017   709   RP0082   Owner Operator   Truck Payment                  CTMS - 208312 Q1202 Truck Leas         278.76
      12/23/2017   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                 8.75
      12/23/2017   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                            8
      12/23/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/23/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/23/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          392.34
      12/23/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          590.43
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  CHOWCHILLA,CA to PORTLAND,OR            64.08
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  CHOWCHILLA,CA to PORTLAND,OR           263.44
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  FERNLEY,NV to RICHMOND,CA               89.54
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  FERNLEY,NV to RICHMOND,CA               21.78
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  FRESNO,CA to SOUTH GATE,CA              82.44
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  FRESNO,CA to SOUTH GATE,CA              20.61
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  PORTLAND,OR to VANCOUVER,WA              2.59
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  PORTLAND,OR to VANCOUVER,WA              0.63
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  RICHMOND,CA to CHOWCHILLA,CA            13.23
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  RICHMOND,CA to CHOWCHILLA,CA            54.39
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  VANCOUVER,WA to WOODBURN,OR              3.69
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  VANCOUVER,WA to WOODBURN,OR             14.76
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  VANCOUVER,WA to WOODBURN,OR              3.69
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  VANCOUVER,WA to WOODBURN,OR             15.17
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  WOODBURN,OR to FERNLEY,NV               52.47
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  WOODBURN,OR to FERNLEY,NV              215.71
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  WOODBURN,OR to FRESNO,CA                64.98
      12/23/2017   709   RR0123   Owner Operator   Miscellaneous                  WOODBURN,OR to FRESNO,CA               259.92
      12/23/2017   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/23/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                 65.07
      12/23/2017   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror            2.5
      12/23/2017   709   RR0123   Owner Operator   Truck Payment                  CTMS - 208347 Q1248                    311.97
      12/23/2017   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      12/23/2017   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      12/23/2017   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      12/23/2017   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      12/23/2017   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      12/23/2017   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      12/23/2017   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      12/23/2017   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                     12.5
      12/23/2017   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                     12.5
      12/23/2017   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                           13
      12/23/2017   709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                    -5204.04
      12/23/2017   709   SB0009   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      165.97
      12/23/2017   709   SB0009   Owner Operator   FUEL TAX                       Sept 2017 Fuel Tax                      88.37
      12/23/2017   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                       32.99
      12/23/2017   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                       32.99
      12/23/2017   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                       32.99
      12/23/2017   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                       32.99
      12/23/2017   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                       32.99
      12/23/2017   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                       32.99
      12/23/2017   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                       32.99
      12/23/2017   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/23/2017   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/23/2017   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/23/2017   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      12/23/2017   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/23/2017   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/23/2017   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/23/2017   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/23/2017   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/23/2017   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/23/2017   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/23/2017   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      12/23/2017   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      12/23/2017   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      12/23/2017   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      12/23/2017   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      12/23/2017   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         194.18
      12/23/2017   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      12/23/2017   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/23/2017   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      12/23/2017   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.34
      12/23/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.26
      12/23/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.33
      12/23/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.98
      12/23/2017   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.64
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  CALIPATRIA,CA to HENDERSON,NV         133.94
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  CALIPATRIA,CA to HENDERSON,NV         133.94
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  CALIPATRIA,CA to HENDERSON,NV          32.58
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  CALIPATRIA,CA to HENDERSON,NV          32.58
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  CALIPATRIA,CA to HENDERSON,NV         133.94
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  CALIPATRIA,CA to HENDERSON,NV          32.58
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  CALIPATRIA,CA to HENDERSON,NV         130.32
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  CALIPATRIA,CA to HENDERSON,NV          32.58
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  CALIPATRIA,CA to HENDERSON,NV         130.32
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  CALIPATRIA,CA to HENDERSON,NV          32.58
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  Fuel Stabilization                    133.94
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast          32.58
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  HENDERSON,NV to CALIPATRIA,CA          32.58
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  HENDERSON,NV to CALIPATRIA,CA         130.32
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  HENDERSON,NV to CALIPATRIA,CA          32.58
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  HENDERSON,NV to CALIPATRIA,CA         130.32
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  HENDERSON,NV to CALIPATRIA,CA          32.58
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  HENDERSON,NV to CALIPATRIA,CA         133.94
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  HENDERSON,NV to CALIPATRIA,CA          32.58
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  HENDERSON,NV to CALIPATRIA,CA         133.94
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  HENDERSON,NV to VIDAL,CA                13.5
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  HENDERSON,NV to VIDAL,CA                55.5
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  VIDAL,CA to VIDAL,CA                     0.9
      12/23/2017   709   SB0103   Owner Operator   Miscellaneous                  VIDAL,CA to VIDAL,CA                     3.7
      12/23/2017   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      12/23/2017   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/23/2017   709   SB0103   Owner Operator   Truck Payment                  CTMS - 208308 Sub Lease               388.33
      12/23/2017   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      12/23/2017   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/23/2017   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      12/23/2017   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/23/2017   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/23/2017   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/23/2017   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/23/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.93
      12/23/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.29
      12/23/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           77.6
      12/23/2017   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.71
      12/23/2017   709   SN0019   Owner Operator   Miscellaneous                  FERNLEY,NV to SOUTH GATE,CA           177.84
      12/23/2017   709   SN0019   Owner Operator   Miscellaneous                  FERNLEY,NV to SOUTH GATE,CA            44.46
      12/23/2017   709   SN0019   Owner Operator   Miscellaneous                  FERNLEY,NV to SOUTH GATE,CA           182.78
      12/23/2017   709   SN0019   Owner Operator   Miscellaneous                  FERNLEY,NV to SOUTH GATE,CA            44.46
      12/23/2017   709   SN0019   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   SN0019   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            5.55
      12/23/2017   709   SN0019   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   SN0019   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             5.4
      12/23/2017   709   SN0019   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV              44.91

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      12/23/2017   709   SN0019   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV         179.64
      12/23/2017   709   SN0019   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV          44.91
      12/23/2017   709   SN0019   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV         184.63
      12/23/2017   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/23/2017   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD               42.97
      12/23/2017   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL         8.75
      12/23/2017   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                       8
      12/23/2017   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     514.02
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ           14.58
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ           46.98
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ           14.58
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  COMMERCE,CA to TECATE,BJ           46.98
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  ORANGE,CA to SOUTH GATE,CA          2.79
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  ORANGE,CA to SOUTH GATE,CA          8.99
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  ORANGE,CA to TIJUANA,BJ             9.63
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  ORANGE,CA to TIJUANA,BJ            31.03
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA        2.32
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA        0.72
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA        2.32
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to COMMERCE,CA        0.72
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ORANGE,CA          8.99
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ORANGE,CA          2.79
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TECATE,BJ         14.85
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TECATE,BJ         47.85
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  TIJUANA,BJ to ORANGE,CA             9.63
      12/23/2017   709   VB0015   Owner Operator   Miscellaneous                  TIJUANA,BJ to ORANGE,CA            31.03
      12/23/2017   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/23/2017   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD          37.5
      12/23/2017   709   VB0015   Owner Operator   Truck Payment                  CTMS - 208346 Tractor Sub leas    242.03
      12/23/2017   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                               154.82
      12/23/2017   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                               154.84
      12/23/2017   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL               8.75
      12/23/2017   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL               8.75
      12/23/2017   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                       8
      12/23/2017   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                       8
      12/23/2017   709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                  -1000
      12/23/2017   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                        200
      12/23/2017   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                        200
      12/23/2017   709   VJ0006   Owner Operator   Express Check                  T-Check Payment                     1000
      12/23/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         100
      12/23/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                         200
      12/23/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      12/23/2017   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      12/23/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                     273.55
      12/23/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                      224.9
      12/23/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                     290.12
      12/23/2017   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                     294.59
      12/23/2017   709   VJ0006   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                   6.27
      12/23/2017   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/23/2017   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/23/2017   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD               38.54
      12/23/2017   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD               38.51
      12/23/2017   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL               8.75
      12/23/2017   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                      13
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  CARSON,CA to CARSON,CA               1.3
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  CARSON,CA to CARSON,CA               5.6
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  CARSON,CA to SOUTH GATE,CA          1.69
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  CARSON,CA to SOUTH GATE,CA          7.28
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  CARSON,CA to SOUTH GATE,CA          1.69
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  CARSON,CA to SOUTH GATE,CA          7.15
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  Fuel Stabilization                 14.56
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast       3.38
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  ONTARIO,CA to SOUTH GATE,CA        24.08
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  ONTARIO,CA to SOUTH GATE,CA         5.59
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  RANCHO CUCAMO,CA to SOUTH G,CA      25.3
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  RANCHO CUCAMO,CA to SOUTH G,CA      5.98
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  RIVERSIDE,CA to SOUTH GATE,CA      25.37
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  RIVERSIDE,CA to SOUTH GATE,CA        5.9
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  SOUTH G,CA to RANCHO CUCAMO,CA      5.98
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  SOUTH G,CA to RANCHO CUCAMO,CA      25.3
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA          7.15
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA          1.69
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA          7.28

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      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  SOUTH GATE,CA to CARSON,CA              1.69
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ONTARIO,CA             5.59
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  SOUTH GATE,CA to ONTARIO,CA            24.08
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  SOUTH GATE,CA to RIVERSIDE,CA            5.9
      12/23/2017   709   WB0062   Owner Operator   Miscellaneous                  SOUTH GATE,CA to RIVERSIDE,CA          25.37
      12/23/2017   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      12/23/2017   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/23/2017   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      12/23/2017   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      12/23/2017   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/23/2017   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/23/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.07
      12/23/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.74
      12/23/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.08
      12/23/2017   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.84
      12/23/2017   709   WH0087   Owner Operator   Miscellaneous                  FERNLEY,NV to RICHMOND,CA              89.54
      12/23/2017   709   WH0087   Owner Operator   Miscellaneous                  FERNLEY,NV to RICHMOND,CA              21.78
      12/23/2017   709   WH0087   Owner Operator   Miscellaneous                  FERNLEY,NV to SAN DIEGO,CA             51.39
      12/23/2017   709   WH0087   Owner Operator   Miscellaneous                  FERNLEY,NV to SAN DIEGO,CA            205.56
      12/23/2017   709   WH0087   Owner Operator   Miscellaneous                  RICHMOND,CA to FERNLEY,NV              21.78
      12/23/2017   709   WH0087   Owner Operator   Miscellaneous                  RICHMOND,CA to FERNLEY,NV              87.12
      12/23/2017   709   WH0087   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          10.71
      12/23/2017   709   WH0087   Owner Operator   Miscellaneous                  SAN DIEGO,CA to SOUTH GATE,CA          42.84
      12/23/2017   709   WH0087   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   709   WH0087   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            5.55
      12/23/2017   709   WH0087   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV              44.91
      12/23/2017   709   WH0087   Owner Operator   Miscellaneous                  TORRANCE,CA to FERNLEY,NV             184.63
      12/23/2017   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      12/23/2017   709   WH0087   Owner Operator   Truck Payment                  CTMS - 208348 Q1238 Lease             311.97
      12/23/2017   742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      12/23/2017   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      12/23/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/23/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/23/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/23/2017   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/23/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.79
      12/23/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.25
      12/23/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.46
      12/23/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.47
      12/23/2017   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          114.3
      12/23/2017   742   AP0047   Owner Operator   Miscellaneous                  CITY OF COMME,CA to CLEARFI,UT         64.62
      12/23/2017   742   AP0047   Owner Operator   Miscellaneous                  CITY OF COMME,CA to CLEARFI,UT        208.22
      12/23/2017   742   AP0047   Owner Operator   Miscellaneous                  CLEARFIE,UT to SALT LAKE CI,UT          2.61
      12/23/2017   742   AP0047   Owner Operator   Miscellaneous                  CLEARFIE,UT to SALT LAKE CI,UT          8.41
      12/23/2017   742   AP0047   Owner Operator   Miscellaneous                  DEER PARK,TX to SOUTH GATE,CA         456.17
      12/23/2017   742   AP0047   Owner Operator   Miscellaneous                  DEER PARK,TX to SOUTH GATE,CA         141.57
      12/23/2017   742   AP0047   Owner Operator   Miscellaneous                  HOUSTON,TX to DEER PARK,TX              4.64
      12/23/2017   742   AP0047   Owner Operator   Miscellaneous                  HOUSTON,TX to DEER PARK,TX              1.44
      12/23/2017   742   AP0047   Owner Operator   Miscellaneous                  SOUTH G,CA to CITY OF COMME,CA          0.72
      12/23/2017   742   AP0047   Owner Operator   Miscellaneous                  SOUTH G,CA to CITY OF COMME,CA          2.32
      12/23/2017   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.33
      12/23/2017   742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      12/23/2017   742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      12/23/2017   742   AS0089   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   742   AS0089   Owner Operator   Miscellaneous                  LAREDO,TX to HOUSTON,TX                31.86
      12/23/2017   742   AS0089   Owner Operator   Miscellaneous                  LAREDO,TX to HOUSTON,TX               102.66
      12/23/2017   742   AS0089   Owner Operator   Miscellaneous                  RICHMOND,CA to SOUTH GATE,CA           35.19
      12/23/2017   742   AS0089   Owner Operator   Miscellaneous                  RICHMOND,CA to SOUTH GATE,CA          144.67
      12/23/2017   742   AS0089   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            4.35
      12/23/2017   742   AS0089   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   742   AS0089   Owner Operator   Miscellaneous                  TORRANCE,CA to LAREDO,TX              127.71
      12/23/2017   742   AS0089   Owner Operator   Miscellaneous                  TORRANCE,CA to LAREDO,TX              411.51
      12/23/2017   742   AS0089   Owner Operator   Tire Purchase                  PO: 742-00363256 - PO System          189.78
      12/23/2017   742   AS0089   Owner Operator   Toll Charges                   33912 NTTA Mainline One Plaza            2.8
      12/23/2017   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/23/2017   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      12/23/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.8
      12/23/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.11
      12/23/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.51
      12/23/2017   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.02

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      12/23/2017   742   BS0078   Owner Operator   Miscellaneous                  Fuel Stabilization                        21
      12/23/2017   742   BS0078   Owner Operator   Miscellaneous                  HAYWARD,CA to SAND SPRINGS,OK         154.53
      12/23/2017   742   BS0078   Owner Operator   Miscellaneous                  HAYWARD,CA to SAND SPRINGS,OK         497.93
      12/23/2017   742   BS0078   Owner Operator   Miscellaneous                  SAND SPRINGS,OK to HOUSTON,TX         148.48
      12/23/2017   742   BS0078   Owner Operator   Miscellaneous                  SAND SPRINGS,OK to HOUSTON,TX          46.08
      12/23/2017   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      12/23/2017   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/23/2017   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      12/23/2017   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      12/23/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.09
      12/23/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.22
      12/23/2017   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.24
      12/23/2017   742   CA0089   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        104.34
      12/23/2017   742   CA0089   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   CA0089   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        104.34
      12/23/2017   742   CA0089   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   CA0089   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        101.52
      12/23/2017   742   CA0089   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   CA0089   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   CA0089   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        101.52
      12/23/2017   742   CA0089   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   CA0089   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        104.34
      12/23/2017   742   CA0089   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   CA0089   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        104.34
      12/23/2017   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      12/23/2017   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      12/23/2017   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      12/23/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.53
      12/23/2017   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.21
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  CARLSBAD,CA to RICHMOND,CA             42.12
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  CARLSBAD,CA to RICHMOND,CA            168.48
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  GARDEN GROVE,CA to RENO,NV             44.64
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  GARDEN GROVE,CA to RENO,NV            183.52
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  PITTSBURG,CA to CARLSBAD,CA            42.03
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  PITTSBURG,CA to CARLSBAD,CA           168.12
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  RENO,NV to RICHMOND,CA                 76.96
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  RENO,NV to RICHMOND,CA                 18.72
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  RICHMOND,CA to PITTSBURG,CA             3.42
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  RICHMOND,CA to PITTSBURG,CA            13.68
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  RICHMOND,CA to SALINAS,CA                9.9
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  RICHMOND,CA to SALINAS,CA               40.7
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  SALINAS,CA to RICHMOND,CA               40.7
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  SALINAS,CA to RICHMOND,CA                9.9
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  SOUTH GAT,CA to GARDEN GROV,CA          2.61
      12/23/2017   742   CT0085   Owner Operator   Miscellaneous                  SOUTH GAT,CA to GARDEN GROV,CA         10.73
      12/23/2017   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      12/23/2017   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      12/23/2017   742   CT0085   Owner Operator   Truck Payment                  CTMS - 208375 Sub Lease Q13171        352.68
      12/23/2017   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/23/2017   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      12/23/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           33.5
      12/23/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.02
      12/23/2017   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           475
      12/23/2017   742   DA0067   Owner Operator   Miscellaneous                  LAREDO,TX to HOUSTON,TX                31.86
      12/23/2017   742   DA0067   Owner Operator   Miscellaneous                  LAREDO,TX to HOUSTON,TX               102.66
      12/23/2017   742   DA0067   Owner Operator   Miscellaneous                  RICHMOND,CA to SACRAMENTO,CA           22.62
      12/23/2017   742   DA0067   Owner Operator   Miscellaneous                  RICHMOND,CA to SACRAMENTO,CA            7.02
      12/23/2017   742   DA0067   Owner Operator   Miscellaneous                  SACRAMENTO,CA to LAREDO,TX            161.19
      12/23/2017   742   DA0067   Owner Operator   Miscellaneous                  SACRAMENTO,CA to LAREDO,TX            519.39
      12/23/2017   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      12/23/2017   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/23/2017   742   DA0067   Owner Operator   Toll Charges                   33847 ILTOLL Route 80 (East)             4.8
      12/23/2017   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      12/23/2017   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      12/23/2017   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      12/23/2017   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      12/23/2017   742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50

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      12/23/2017   742   DC0117   Owner Operator   ESCROW                  Weekly Escrow                            50
      12/23/2017   742   DC0117   Owner Operator   Fuel Purchase           Fuel Purchase                        694.38
      12/23/2017   742   DC0117   Owner Operator   FUEL TAX                Sept 2017 Fuel Tax                    71.91
      12/23/2017   742   DC0117   Owner Operator   IRP License Deduction   LCIL:2017 - 34063                      100
      12/23/2017   742   DC0117   Owner Operator   IRP License Deduction   LCIL:2017 - 34063                      100
      12/23/2017   742   DC0117   Owner Operator   IRP License Deduction   LCIL:2017 - 34063                      100
      12/23/2017   742   DC0117   Owner Operator   IRP License Deduction   LCIL:2017 - 34063                      100
      12/23/2017   742   DC0117   Owner Operator   IRP License Deduction   LCIL:2017 - 34063                      100
      12/23/2017   742   DC0117   Owner Operator   IRP License Deduction   LCIL:2017 - 34063                      100
      12/23/2017   742   DC0117   Owner Operator   IRP License Deduction   LCIL:2017 - 34063                      100
      12/23/2017   742   DC0117   Owner Operator   IRP License Deduction   LCIL:2017 - 34063                      100
      12/23/2017   742   DC0117   Owner Operator   IRP License Deduction   LCIL:2017 - 34063                      100
      12/23/2017   742   DC0117   Owner Operator   IRP License Deduction   LCIL:2017 - 34063                      100
      12/23/2017   742   DC0117   Owner Operator   IRP License Deduction   LCIL:2017 - 34063                     78.23
      12/23/2017   742   DC0117   Owner Operator   Permits                 IL02:2017 - 34063                      3.75
      12/23/2017   742   DC0117   Owner Operator   Permits                 NM07:2017 - 34063                       5.5
      12/23/2017   742   DC0117   Owner Operator   Permits                 NY13:2017 - 34063                       1.5
      12/23/2017   742   DC0117   Owner Operator   Permits                 OR16:2017 - 34063                      7.94
      12/23/2017   742   DC0117   Owner Operator   Permits                 OR16:2017 - 34063                         8
      12/23/2017   742   DS0254   Owner Operator   Communication Charge    PNet Hware 33487                          8
      12/23/2017   742   DS0254   Owner Operator   ESCROW                  Weekly Escrow                            50
      12/23/2017   742   DS0254   Owner Operator   Fuel Card Advances      Cash Advance                           500
      12/23/2017   742   DS0254   Owner Operator   Fuel Card Advances      Cash Advance Fee                          5
      12/23/2017   742   DS0254   Owner Operator   Fuel Purchase           Fuel Purchase                        414.72
      12/23/2017   742   DS0254   Owner Operator   Fuel Purchase           Fuel Purchase                        443.81
      12/23/2017   742   DS0254   Owner Operator   Fuel Purchase           Fuel Purchase                        374.45
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           CARSON,CA to FAIRFIELD,CA              36.9
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           CARSON,CA to FAIRFIELD,CA             151.7
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           FAIRFIELD,CA to SOUTH GATE,CA         36.36
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           FAIRFIELD,CA to SOUTH GATE,CA        149.48
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           FERNLEY,NV to RICHMOND,CA             21.78
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           FERNLEY,NV to RICHMOND,CA             89.54
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           FERNLEY,NV to SAN DIEGO,CA            51.39
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           FERNLEY,NV to SAN DIEGO,CA           211.27
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           Fuel Stabilization                   172.42
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           Fuel Stabilization                   144.67
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           Fuel Stabilization West Coast         35.19
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           Fuel Stabilization West Coast         41.94
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           HAYWARD,CA to MCCARRAN,NV             21.06
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           HAYWARD,CA to MCCARRAN,NV             86.58
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           HAYWARD,CA to SURREY,BC               85.14
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           HAYWARD,CA to SURREY,BC              350.02
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           HAYWARD,CA to TORRANCE,CA             34.29
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           HAYWARD,CA to TORRANCE,CA            137.16
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           MCCARRAN,NV to RICHMOND,CA            78.81
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           MCCARRAN,NV to RICHMOND,CA            19.17
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           PINOLE,CA to PITTSBURG,CA                14
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           PINOLE,CA to PITTSBURG,CA              3.25
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           PITTSBURG,CA to PINOLE,CA              3.25
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           PITTSBURG,CA to PINOLE,CA                14
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           PITTSBURG,CA to VALLEJO,CA             3.38
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           PITTSBURG,CA to VALLEJO,CA            14.56
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           RICHMOND,CA to FERNLEY,NV             21.78
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           RICHMOND,CA to FERNLEY,NV             89.54
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           RICHMOND,CA to HAYWARD,CA             10.73
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           RICHMOND,CA to HAYWARD,CA              2.61
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           RICHMOND,CA to HAYWARD,CA              2.61
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           RICHMOND,CA to HAYWARD,CA             10.73
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           RICHMOND,CA to HAYWARD,CA              2.61
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           RICHMOND,CA to HAYWARD,CA             10.44
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           RICHMOND,CA to PITTSBURG,CA            4.94
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           RICHMOND,CA to PITTSBURG,CA           21.28
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           SAN DIEGO,CA to SOUTH GATE,CA         10.71
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           SAN DIEGO,CA to SOUTH GATE,CA         44.03
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           SOUTH GATE,CA to CARSON,CA             4.81
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           SOUTH GATE,CA to CARSON,CA             1.17
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           SURREY,BC to SURREY,BC                  0.9
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           SURREY,BC to SURREY,BC                  3.7
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           SURREY,BC to VANCOUVER,WA             26.19
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           SURREY,BC to VANCOUVER,WA            107.67
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           TORRANCE,CA to SOUTH GATE,CA           1.35
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           TORRANCE,CA to SOUTH GATE,CA            5.4
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous           VALLEJO,CA to PITTSBURG,CA            14.56

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      12/23/2017   742   DS0254   Owner Operator   Miscellaneous                  VALLEJO,CA to PITTSBURG,CA              3.38
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous                  VANCOUVER,WA to WOODBURN,OR             3.69
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous                  VANCOUVER,WA to WOODBURN,OR            15.17
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous                  WOODBURN,OR to FERNLEY,NV              52.47
      12/23/2017   742   DS0254   Owner Operator   Miscellaneous                  WOODBURN,OR to FERNLEY,NV             215.71
      12/23/2017   742   DS0254   Owner Operator   Truck Payment                  CTMS - 208256 Trk 33487 Lease          434.2
      12/23/2017   742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      12/23/2017   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/23/2017   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      12/23/2017   742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.04
      12/23/2017   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.76
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        101.52
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        104.34
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        104.34
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        104.34
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        101.52
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        101.52
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        104.34
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        104.34
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        104.34
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   EA0039   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        101.52
      12/23/2017   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      12/23/2017   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/23/2017   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/23/2017   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      12/23/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.16
      12/23/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.05
      12/23/2017   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.97
      12/23/2017   742   ED0041   Owner Operator   Miscellaneous                  COLUMBUS,OH to COLUMBUS,OH               2.9
      12/23/2017   742   ED0041   Owner Operator   Miscellaneous                  COLUMBUS,OH to COLUMBUS,OH               0.9
      12/23/2017   742   ED0041   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.35
      12/23/2017   742   ED0041   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            4.35
      12/23/2017   742   ED0041   Owner Operator   Miscellaneous                  TORRANCE,CA to COLUMBUS,OH            203.94
      12/23/2017   742   ED0041   Owner Operator   Miscellaneous                  TORRANCE,CA to COLUMBUS,OH            657.14
      12/23/2017   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      12/23/2017   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/23/2017   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Ship Channel Bridg             7
      12/23/2017   742   ED0041   Owner Operator   Toll Charges                   32897 KTA Andover: 21st St               7.2
      12/23/2017   742   ED0041   Owner Operator   Toll Charges                   32897 KTA Southern Terminal              7.2
      12/23/2017   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/23/2017   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      12/23/2017   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/23/2017   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/23/2017   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/23/2017   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/23/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.57
      12/23/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          345.5
      12/23/2017   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.88
      12/23/2017   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      12/23/2017   742   EN0016   Owner Operator   Miscellaneous                  Fuel Stabilization                     16.24
      12/23/2017   742   EN0016   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast           2.61
      12/23/2017   742   EN0016   Owner Operator   Miscellaneous                  HAYWARD,CA to SAND SPRINGS,OK         154.53
      12/23/2017   742   EN0016   Owner Operator   Miscellaneous                  HAYWARD,CA to SAND SPRINGS,OK         497.93
      12/23/2017   742   EN0016   Owner Operator   Miscellaneous                  RICHMOND,CA to HAYWARD,CA               8.41
      12/23/2017   742   EN0016   Owner Operator   Miscellaneous                  RICHMOND,CA to HAYWARD,CA               2.61
      12/23/2017   742   EN0016   Owner Operator   Miscellaneous                  SAND SPRINGS,OK to HOUSTON,TX          46.08
      12/23/2017   742   EN0016   Owner Operator   Miscellaneous                  SAND SPRINGS,OK to HOUSTON,TX         148.48
      12/23/2017   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      12/23/2017   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      12/23/2017   742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg             7
      12/23/2017   742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Spencer Mai          8.08
      12/23/2017   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      12/23/2017   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      12/23/2017   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      12/23/2017   742   FS0011   Owner Operator   Miscellaneous                  RICHMOND,CA to PITTSBURG,CA             4.94
      12/23/2017   742   FS0011   Owner Operator   Miscellaneous                  RICHMOND,CA to PITTSBURG,CA            21.28
      12/23/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      12/23/2017   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      12/23/2017   742   IK0012   Owner Operator   Advance                        New Hire Equip SL 402-092844            100
      12/23/2017   742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      12/23/2017   742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      12/23/2017   742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.52
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  ELK GROVE,CA to PITTSBURG,CA           29.92
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  ELK GROVE,CA to PITTSBURG,CA             6.8
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  ELK GROVE,CA to PITTSBURG,CA           29.92
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  ELK GROVE,CA to PITTSBURG,CA             6.8
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  ELK GROVE,CA to PITTSBURG,CA           29.92
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  ELK GROVE,CA to PITTSBURG,CA             6.8
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  ELK GROVE,CA to PITTSBURG,CA           29.92
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  ELK GROVE,CA to PITTSBURG,CA             6.8
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  PITTSBUR,CA to SAN FRANCISC,CA          5.98
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  PITTSBUR,CA to SAN FRANCISC,CA         25.76
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  PITTSBURG,CA to ELK GROVE,CA             6.8
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  PITTSBURG,CA to ELK GROVE,CA           29.92
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  PITTSBURG,CA to ELK GROVE,CA             6.8
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  PITTSBURG,CA to ELK GROVE,CA           29.92
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  PITTSBURG,CA to ELK GROVE,CA             6.8
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  PITTSBURG,CA to ELK GROVE,CA           29.92
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  PITTSBURG,CA to SUNOL,CA                5.59
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  PITTSBURG,CA to SUNOL,CA               24.08
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  PITTSBURG,CA to TRACY,CA               26.84
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  PITTSBURG,CA to TRACY,CA                 6.1
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  PITTSBURG,CA to WOODACRE,CA              5.5
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  PITTSBURG,CA to WOODACRE,CA             24.2
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  SAN FRANCISC,CA to PITTSBUR,CA         25.76
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  SAN FRANCISC,CA to PITTSBUR,CA          5.98
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  SUNOL,CA to PITTSBURG,CA               24.08
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  SUNOL,CA to PITTSBURG,CA                5.59
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  TRACY,CA to ELK GROVE,CA                 5.6
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  TRACY,CA to ELK GROVE,CA               24.64
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  WOODACRE,CA to PITTSBURG,CA             24.2
      12/23/2017   742   IK0012   Owner Operator   Miscellaneous                  WOODACRE,CA to PITTSBURG,CA              5.5
      12/23/2017   742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.15
      12/23/2017   742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      12/23/2017   742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      12/23/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/23/2017   742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/23/2017   742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.71
      12/23/2017   742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
      12/23/2017   742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      12/23/2017   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         195.61
      12/23/2017   742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      12/23/2017   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/23/2017   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      12/23/2017   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   742   MH0117   Owner Operator   Miscellaneous                  DEER PARK,TX to SOUTH GATE,CA         141.57
      12/23/2017   742   MH0117   Owner Operator   Miscellaneous                  DEER PARK,TX to SOUTH GATE,CA         456.17
      12/23/2017   742   MH0117   Owner Operator   Miscellaneous                  HOUSTON,TX to DEER PARK,TX              4.64
      12/23/2017   742   MH0117   Owner Operator   Miscellaneous                  HOUSTON,TX to DEER PARK,TX              1.44
      12/23/2017   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      12/23/2017   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/23/2017   742   MH0117   Owner Operator   Repair Order                   CTMS - 208467 repair                      60
      12/23/2017   742   MH0117   Owner Operator   Toll Charges                   33296 HCTRA Ship Channel Bridg             7
      12/23/2017   742   MH0117   Owner Operator   Toll Charges                   33296 HCTRA Ship Channel Bridg             7
      12/23/2017   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      12/23/2017   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      12/23/2017   742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.97

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      12/23/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.91
      12/23/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.44
      12/23/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.74
      12/23/2017   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.32
      12/23/2017   742   MS0230   Owner Operator   IRP License Deduction          LCIL:2017 - 34082                       100
      12/23/2017   742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        104.34
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        104.34
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        104.34
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        101.52
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        101.52
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        101.52
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        101.52
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        104.34
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        104.34
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   MS0230   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        104.34
      12/23/2017   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      12/23/2017   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      12/23/2017   742   MT0112   Owner Operator   24 HOUR DISABILITY             L&H                                   126.92
      12/23/2017   742   MT0112   Owner Operator   24 HOUR DISABILITY             L&H                                   126.94
      12/23/2017   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      12/23/2017   742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
      12/23/2017   742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      12/23/2017   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                        1.62
      12/23/2017   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      12/23/2017   742   MT0112   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-16          141.2
      12/23/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/23/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/23/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      12/23/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.55
      12/23/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  Arrears applied to 12/16 Fuel        -148.73
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  EL SOBRANTE,CA to PITTSBURG,CA          14.3
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  EL SOBRANTE,CA to PITTSBURG,CA          3.38
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  HAYWARD,CA to PITTSBURG,CA              27.5
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  HAYWARD,CA to PITTSBURG,CA               6.5
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  PITTSBUR,CA to SAINT HELENA,CA           5.9
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  PITTSBUR,CA to SAINT HELENA,CA         25.37
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  PITTSBURG,CA to EL SOBRANTE,CA          3.38
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  PITTSBURG,CA to EL SOBRANTE,CA          14.3
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  PITTSBURG,CA to HAYWARD,CA               6.5
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  PITTSBURG,CA to HAYWARD,CA              27.5
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  PITTSBURG,CA to TRACY,CA                 6.1
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  PITTSBURG,CA to TRACY,CA               26.23
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  SAINT HELEN,CA to PITTSBURG,CA         25.37
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  SAINT HELEN,CA to PITTSBURG,CA           5.9
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  TRACY,CA to PITTSBURG,CA               26.23
      12/23/2017   742   MT0112   Owner Operator   Miscellaneous                  TRACY,CA to PITTSBURG,CA                 6.1
      12/23/2017   742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.54
      12/23/2017   742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
      12/23/2017   742   MT0112   Owner Operator   Truck Payment                  CTMS - 208343 Q1247 Sub Lease         311.97
      12/23/2017   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      12/23/2017   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      12/23/2017   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/23/2017   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/23/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.68
      12/23/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.27
      12/23/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.15
      12/23/2017   742   NG0024   Owner Operator   Miscellaneous                  DEER PARK,TX to HAYWARD,CA            173.97
      12/23/2017   742   NG0024   Owner Operator   Miscellaneous                  DEER PARK,TX to HAYWARD,CA            560.57
      12/23/2017   742   NG0024   Owner Operator   Miscellaneous                  Fuel Stabilization                     16.24

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      12/23/2017   742   NG0024   Owner Operator   Miscellaneous                  Fuel Stabilization West Coast           3.77
      12/23/2017   742   NG0024   Owner Operator   Miscellaneous                  HAYWARD,CA to MCCARRAN,NV              21.06
      12/23/2017   742   NG0024   Owner Operator   Miscellaneous                  HAYWARD,CA to MCCARRAN,NV              84.24
      12/23/2017   742   NG0024   Owner Operator   Miscellaneous                  HAYWARD,CA to RICHMOND,CA               8.41
      12/23/2017   742   NG0024   Owner Operator   Miscellaneous                  HAYWARD,CA to RICHMOND,CA               2.61
      12/23/2017   742   NG0024   Owner Operator   Miscellaneous                  HOUSTON,TX to DEER PARK,TX              1.44
      12/23/2017   742   NG0024   Owner Operator   Miscellaneous                  HOUSTON,TX to DEER PARK,TX              4.64
      12/23/2017   742   NG0024   Owner Operator   Miscellaneous                  MCCARRAN,NV to RICHMOND,CA             76.68
      12/23/2017   742   NG0024   Owner Operator   Miscellaneous                  MCCARRAN,NV to RICHMOND,CA             19.17
      12/23/2017   742   NG0024   Owner Operator   Miscellaneous                  RICHMOND,CA to HAYWARD,CA               2.61
      12/23/2017   742   NG0024   Owner Operator   Miscellaneous                  RICHMOND,CA to HAYWARD,CA              10.44
      12/23/2017   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      12/23/2017   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      12/23/2017   742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00362548 - PO System           111.8
      12/23/2017   742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845            100
      12/23/2017   742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/23/2017   742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/23/2017   742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
      12/23/2017   742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
      12/23/2017   742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.42
      12/23/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.85
      12/23/2017   742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.48
      12/23/2017   742   NK0013   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                      85.56
      12/23/2017   742   NK0013   Owner Operator   Miscellaneous                  Arrears applied to 12/16 Fuel        -665.55
      12/23/2017   742   NK0013   Owner Operator   Miscellaneous                  DEER PARK,TX to HAYWARD,CA            173.97
      12/23/2017   742   NK0013   Owner Operator   Miscellaneous                  DEER PARK,TX to HAYWARD,CA            560.57
      12/23/2017   742   NK0013   Owner Operator   Miscellaneous                  HAYWARD,CA to RICHMOND,CA               2.61
      12/23/2017   742   NK0013   Owner Operator   Miscellaneous                  HAYWARD,CA to RICHMOND,CA               8.41
      12/23/2017   742   NK0013   Owner Operator   Miscellaneous                  HOUSTON,TX to DEER PARK,TX              4.64
      12/23/2017   742   NK0013   Owner Operator   Miscellaneous                  HOUSTON,TX to DEER PARK,TX              1.44
      12/23/2017   742   NK0013   Owner Operator   Miscellaneous                  SARALAND,AL to HOUSTON,TX              43.02
      12/23/2017   742   NK0013   Owner Operator   Miscellaneous                  SARALAND,AL to HOUSTON,TX             138.62
      12/23/2017   742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      12/23/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    28.9
      12/23/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/23/2017   742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/23/2017   742   NK0013   Owner Operator   T Chek Fee                     Advance                              3470.77
      12/23/2017   742   NK0013   Owner Operator   T Chek Fee                     ExpressCheck Fee                       34.71
      12/23/2017   742   NK0013   Owner Operator   Toll Charges                   34038 ILTOLL Route 80 (West)             4.8
      12/23/2017   742   NK0013   Owner Operator   Toll Charges                   34038 KTA Emporia: I-35N               12.37
      12/23/2017   742   NK0013   Owner Operator   Toll Charges                   34038 OTA Turner Turnpike West          17.6
      12/23/2017   742   NK0013   Owner Operator   Toll Charges                   34038 OTA Turner Turnpike West          17.6
      12/23/2017   742   NK0013   Owner Operator   Toll Charges                   34038 OTA Will Rogers Turnpike          17.6
      12/23/2017   742   NK0013   Owner Operator   Toll Charges                   34038 OTA Will Rogers Turnpike          17.6
      12/23/2017   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      12/23/2017   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/23/2017   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/23/2017   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/23/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.61
      12/23/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.09
      12/23/2017   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.19
      12/23/2017   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      12/23/2017   742   PC0012   Owner Operator   Miscellaneous                  DEER PARK,TX to LOS ANGELES,CA        141.39
      12/23/2017   742   PC0012   Owner Operator   Miscellaneous                  DEER PARK,TX to LOS ANGELES,CA        455.59
      12/23/2017   742   PC0012   Owner Operator   Miscellaneous                  HOUSTON,TX to DEER PARK,TX              4.64
      12/23/2017   742   PC0012   Owner Operator   Miscellaneous                  HOUSTON,TX to DEER PARK,TX              1.44
      12/23/2017   742   PC0012   Owner Operator   Miscellaneous                  LOS ANGELE,CA to SOUTH GATE,CA          0.99
      12/23/2017   742   PC0012   Owner Operator   Miscellaneous                  LOS ANGELE,CA to SOUTH GATE,CA          3.19
      12/23/2017   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      12/23/2017   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Hardy South - Barr          5.25
      12/23/2017   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      12/23/2017   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      12/23/2017   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      12/23/2017   742   RN0054   Owner Operator   Miscellaneous                  HAYWARD,CA to MCCARRAN,NV              21.06
      12/23/2017   742   RN0054   Owner Operator   Miscellaneous                  HAYWARD,CA to MCCARRAN,NV              86.58
      12/23/2017   742   RN0054   Owner Operator   Miscellaneous                  MCCARRAN,NV to RICHMOND,CA             78.81
      12/23/2017   742   RN0054   Owner Operator   Miscellaneous                  MCCARRAN,NV to RICHMOND,CA             19.17
      12/23/2017   742   RN0054   Owner Operator   Miscellaneous                  PITTSBURG,CA to SAN JOSE,CA                6

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      12/23/2017   742   RN0054   Owner Operator   Miscellaneous                  PITTSBURG,CA to SAN JOSE,CA             26.4
      12/23/2017   742   RN0054   Owner Operator   Miscellaneous                  RICHMOND,CA to PITTSBURG,CA             5.39
      12/23/2017   742   RN0054   Owner Operator   Miscellaneous                  SAN FRANCISC,CA to PITTSBUR,CA         25.76
      12/23/2017   742   RN0054   Owner Operator   Miscellaneous                  SAN JOSE,CA to PITTSBURG,CA             26.4
      12/23/2017   742   RN0054   Owner Operator   Miscellaneous                  SAN JOSE,CA to PITTSBURG,CA                6
      12/23/2017   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      12/23/2017   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      12/23/2017   742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Ship Channel Brid             7
      12/23/2017   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      12/23/2017   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      12/23/2017   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.39
      12/23/2017   742   RS0342   Owner Operator   Miscellaneous                  ADRIAN,MI to DELAWARE,OH               43.21
      12/23/2017   742   RS0342   Owner Operator   Miscellaneous                  ADRIAN,MI to DELAWARE,OH               13.41
      12/23/2017   742   RS0342   Owner Operator   Miscellaneous                  CINCINNAT,OH to KANSAS CITY,MO         53.01
      12/23/2017   742   RS0342   Owner Operator   Miscellaneous                  CINCINNAT,OH to KANSAS CITY,MO        170.81
      12/23/2017   742   RS0342   Owner Operator   Miscellaneous                  CIRCLEVILLE,OH to ADRIAN,MI            18.36
      12/23/2017   742   RS0342   Owner Operator   Miscellaneous                  CIRCLEVILLE,OH to ADRIAN,MI            59.16
      12/23/2017   742   RS0342   Owner Operator   Miscellaneous                  COLUMBUS,OH to CIRCLEVILLE,OH           2.61
      12/23/2017   742   RS0342   Owner Operator   Miscellaneous                  COLUMBUS,OH to CIRCLEVILLE,OH           8.41
      12/23/2017   742   RS0342   Owner Operator   Miscellaneous                  DELAWARE,OH to CINCINNATI,OH           12.15
      12/23/2017   742   RS0342   Owner Operator   Miscellaneous                  DELAWARE,OH to CINCINNATI,OH           39.15
      12/23/2017   742   RS0342   Owner Operator   Miscellaneous                  KANSAS CI,MO to PLEASANT V,MO           0.99
      12/23/2017   742   RS0342   Owner Operator   Miscellaneous                  KANSAS CI,MO to PLEASANT V,MO           3.19
      12/23/2017   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      12/23/2017   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      12/23/2017   742   RS0342   Owner Operator   Toll Charges                   33738 BATA Carquinez Bridge               25
      12/23/2017   742   RS0342   Owner Operator   Toll Charges                   33738 BATA Carquinez Bridge               25
      12/23/2017   742   RS0342   Owner Operator   Toll Charges                   33738 BATA Carquinez Bridge               25
      12/23/2017   742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Ship Channel Bridg             7
      12/23/2017   742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      12/23/2017   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/23/2017   742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 208393 fuel                      250
      12/23/2017   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      12/23/2017   742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  FREMONT,CA to PITTSBURG,CA             22.44
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  FREMONT,CA to PITTSBURG,CA               5.1
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  HOLLISTER,CA to PITTSBURG,CA            40.7
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  HOLLISTER,CA to PITTSBURG,CA             9.9
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  LIVERMORE,CA to PITTSBURG,CA           25.76
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  LIVERMORE,CA to PITTSBURG,CA            5.98
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  LOS GATOS,CA to PITTSBURG,CA           31.24
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  LOS GATOS,CA to PITTSBURG,CA             7.1
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  MARTINEZ,CA to PITTSBURG,CA             8.96
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  MARTINEZ,CA to PITTSBURG,CA             2.08
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  MARTINEZ,CA to PITTSBURG,CA             8.96
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  MARTINEZ,CA to PITTSBURG,CA             2.08
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  OAKLAND,CA to PITTSBURG,CA             17.92
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  OAKLAND,CA to PITTSBURG,CA              4.16
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  OAKLAND,CA to PITTSBURG,CA             17.92
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  OAKLAND,CA to PITTSBURG,CA              4.16
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  OAKLAND,CA to PITTSBURG,CA             17.92
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  OAKLAND,CA to PITTSBURG,CA              4.16
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  OAKLAND,CA to PITTSBURG,CA             17.92
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  OAKLAND,CA to PITTSBURG,CA              4.16
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  OAKLAND,CA to PITTSBURG,CA             17.92
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  OAKLAND,CA to PITTSBURG,CA              4.16
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTS,CA to SOUTH SAN FRAN,CA            5.5
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTS,CA to SOUTH SAN FRAN,CA           24.2
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBUR,CA to REDWOOD CITY,CA           7.1
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBUR,CA to REDWOOD CITY,CA         31.24
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBUR,CA to SAINT HELENA,CA           5.9
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBUR,CA to SAINT HELENA,CA         25.96
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBUR,CA to SAN FRANCISC,CA          5.98
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBUR,CA to SAN FRANCISC,CA         25.76
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBUR,CA to SAN FRANCISC,CA          5.98
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBUR,CA to SAN FRANCISC,CA          25.3
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBUR,CA to WALNUT CREEK,CA          2.21
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBUR,CA to WALNUT CREEK,CA          9.52
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to FREMONT,CA               5.1

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      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to FREMONT,CA             22.44
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to HOLLISTER,CA             9.9
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to HOLLISTER,CA            40.7
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to LIVERMORE,CA            5.98
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to LIVERMORE,CA           25.76
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to LOS GATOS,CA             7.1
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to LOS GATOS,CA           31.24
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to MARTINEZ,CA             2.08
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to MARTINEZ,CA             8.96
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to MARTINEZ,CA             2.08
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to MARTINEZ,CA             8.96
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to OAKLAND,CA              4.16
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to OAKLAND,CA             17.92
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to OAKLAND,CA              4.16
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to OAKLAND,CA             17.92
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to OAKLAND,CA              4.16
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to OAKLAND,CA              4.16
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to OAKLAND,CA             17.92
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to OAKLAND,CA              4.16
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to OAKLAND,CA             17.92
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to OAKLAND,CA             17.92
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to PITTSBURG,CA             5.6
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to PITTSBURG,CA             1.3
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to PITTSBURG,CA             1.3
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to PITTSBURG,CA             5.6
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to RICHMOND,CA             4.94
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to RICHMOND,CA            21.28
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to SAN JOSE,CA                6
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to SAN JOSE,CA             25.8
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to SAN LORENZO,CA          5.98
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to SAN LORENZO,CA          25.3
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to SUNOL,CA                5.59
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to SUNOL,CA               23.65
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to UNION CITY,CA            5.1
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  PITTSBURG,CA to UNION CITY,CA          22.44
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  REDWOOD CIT,CA to PITTSBURG,CA         31.24
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  REDWOOD CIT,CA to PITTSBURG,CA           7.1
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  RICHMOND,CA to PITTSBURG,CA            21.28
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  RICHMOND,CA to PITTSBURG,CA             4.94
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  SAINT HELEN,CA to PITTSBURG,CA         25.96
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  SAINT HELEN,CA to PITTSBURG,CA           5.9
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  SAN FRANCISC,CA to PITTSBUR,CA         25.76
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  SAN FRANCISC,CA to PITTSBUR,CA          5.98
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  SAN FRANCISC,CA to PITTSBUR,CA          25.3
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  SAN FRANCISC,CA to PITTSBUR,CA          5.98
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  SAN JOSE,CA to PITTSBURG,CA             25.8
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  SAN JOSE,CA to PITTSBURG,CA                6
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  SAN LORENZO,CA to PITTSBURG,CA          25.3
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  SAN LORENZO,CA to PITTSBURG,CA          5.98
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  SOUTH SAN FRAN,CA to PITTS,CA           24.2
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  SOUTH SAN FRAN,CA to PITTS,CA            5.5
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  SUNOL,CA to PITTSBURG,CA               23.65
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  SUNOL,CA to PITTSBURG,CA                5.59
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  UNION CITY,CA to PITTSBURG,CA          23.32
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  UNION CITY,CA to PITTSBURG,CA            5.3
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  WALNUT CREE,CA to PITTSBURG,CA          9.52
      12/23/2017   742   SK0049   Owner Operator   Miscellaneous                  WALNUT CREE,CA to PITTSBURG,CA          2.21
      12/23/2017   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      12/23/2017   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      12/23/2017   742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      12/23/2017   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/23/2017   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      12/23/2017   742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/23/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.66
      12/23/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.6
      12/23/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          118.2
      12/23/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.63
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        104.34
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        104.34
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        104.34

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      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        101.52
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA        101.52
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  BAKERSFIELD,CA to PITTSBURG,CA         25.38
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        101.52
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        101.52
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        104.34
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        104.34
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA         25.38
      12/23/2017   742   TH0130   Owner Operator   Miscellaneous                  PITTSBURG,CA to BAKERSFIELD,CA        104.34
      12/23/2017   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/23/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      12/23/2017   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/23/2017   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 15
      12/23/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.22
      12/23/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.91
      12/23/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.15
      12/23/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          155.8
      12/23/2017   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.59
      12/30/2017   709   AN0007   Owner Operator   Advance                        11/6/17 Spill s/u pmts                  250
      12/30/2017   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      12/30/2017   709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/30/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/30/2017   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/30/2017   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.09
      12/30/2017   709   AV0021   Owner Operator   Advance                        EFS 178960 - s/u 4 pmts               352.41
      12/30/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.87
      12/30/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.03
      12/30/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.84
      12/30/2017   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.79
      12/30/2017   709   AV0021   Owner Operator   T Chek Fee                     ExpressCheck Fee                        17.5
      12/30/2017   709   AV0021   Owner Operator   T Chek Fee                     Tractor Repair Q13169                1297.93
      12/30/2017   709   AV0021   Owner Operator   T Chek Fee                     Tractor Repair Q13169                1238.44
      12/30/2017   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      12/30/2017   709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/30/2017   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      12/30/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.38
      12/30/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         574.86
      12/30/2017   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.73
      12/30/2017   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         301.87
      12/30/2017   709   CC0134   Owner Operator   Tire Purchase                  905-02756391 12/2/17                   87.55
      12/30/2017   709   CC0134   Owner Operator   Truck Payment                  CTMS - 208498 Q13168 sub lease        352.68
      12/30/2017   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      12/30/2017   709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      12/30/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/30/2017   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/30/2017   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.08
      12/30/2017   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      12/30/2017   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      12/30/2017   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      12/30/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.67
      12/30/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.44
      12/30/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.69
      12/30/2017   709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.61
      12/30/2017   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      12/30/2017   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      12/30/2017   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.16
      12/30/2017   709   CS0091   Owner Operator   Truck Payment                  CTMS - 208503 Q1201                   278.76
      12/30/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.91
      12/30/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.44
      12/30/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.56
      12/30/2017   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.53
      12/30/2017   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/30/2017   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/30/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.61
      12/30/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.37
      12/30/2017   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.11
      12/30/2017   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59

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      12/30/2017   709   DL0107   Owner Operator   Miscellaneous           CTMS - 208570 Univar Intel Nov       -147.56
      12/30/2017   709   DL0107   Owner Operator   T Chek Fee              ExpressCheck Fee                           6
      12/30/2017   709   DL0107   Owner Operator   T Chek Fee              Tractor Repair Q1245                  570.34
      12/30/2017   709   DL0107   Owner Operator   Truck Payment           CTMS - 208515 Sublease                338.99
      12/30/2017   709   DS0049   Owner Operator   Communication Charge    PNet Hware 32915                          13
      12/30/2017   709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance                            500
      12/30/2017   709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance Fee                           5
      12/30/2017   709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                         426.97
      12/30/2017   709   DS0049   Owner Operator   IRP License Deduction   LCIL:2017 - 32915                      32.99
      12/30/2017   709   DS0049   Owner Operator   Tire Purchase           PO: 709-00362106 - PO System          249.49
      12/30/2017   709   DS0049   Owner Operator   Tractor Charge          15738 - 32915                         512.35
      12/30/2017   709   EE0011   Owner Operator   Communication Charge    PNet Hware 32910                          13
      12/30/2017   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance                            100
      12/30/2017   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance                            200
      12/30/2017   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      12/30/2017   709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      12/30/2017   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                         378.64
      12/30/2017   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                         522.73
      12/30/2017   709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                         247.93
      12/30/2017   709   EE0011   Owner Operator   IRP License Deduction   LCIL:2017 - 32910                      32.99
      12/30/2017   709   EE0011   Owner Operator   Tractor Charge          14619 - 32910                         505.27
      12/30/2017   709   EG0062   Owner Operator   Communication Charge    PNet Hware 33828                           8
      12/30/2017   709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                         136.22
      12/30/2017   709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                         435.53
      12/30/2017   709   EO0014   Owner Operator   Communication Charge    PNet Hware 33846                          13
      12/30/2017   709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                           350
      12/30/2017   709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                         208.98
      12/30/2017   709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                         242.13
      12/30/2017   709   FS0039   Owner Operator   Communication Charge    PNet Hware 33040                           8
      12/30/2017   709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                           260
      12/30/2017   709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                         333.65
      12/30/2017   709   FS0039   Owner Operator   Truck Payment           CTMS - 208515 truck lease 3304        434.29
      12/30/2017   709   FV0001   Owner Operator   Communication Charge    PNet Hware 21521B                         13
      12/30/2017   709   GS0015   Owner Operator   Communication Charge    PNet Hware Q1110                          13
      12/30/2017   709   GS0015   Owner Operator   Fuel Purchase           Fuel Purchase                          257.5
      12/30/2017   709   GS0015   Owner Operator   Truck Payment           CTMS - 208502 Lease                   252.11
      12/30/2017   709   GW0043   Owner Operator   Communication Charge    PNet Hware Q1263                           8
      12/30/2017   709   GW0043   Owner Operator   ESCROW                  Weekly Escrow                             50
      12/30/2017   709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance                            200
      12/30/2017   709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance                            300
      12/30/2017   709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance Fee                           3
      12/30/2017   709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      12/30/2017   709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                         249.61
      12/30/2017   709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                         261.58
      12/30/2017   709   GW0043   Owner Operator   Loan Repayment          Loan # 00002 - Loan Repayment           256
      12/30/2017   709   HC0023   Owner Operator   Communication Charge    PNet Hware Q13170                          8
      12/30/2017   709   HC0023   Owner Operator   ESCROW                  Weekly Escrow                             50
      12/30/2017   709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                         210.79
      12/30/2017   709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                         346.28
      12/30/2017   709   HC0023   Owner Operator   Truck Payment           CTMS - 208499 Q13170                  352.68
      12/30/2017   709   HG0007   Owner Operator   Communication Charge    PNet Hware 33180                          13
      12/30/2017   709   HG0007   Owner Operator   ESCROW                  Weekly Escrow                             50
      12/30/2017   709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                         490.81
      12/30/2017   709   IR0002   Owner Operator   IRP License Deduction   LCIL:2017 - 32901                      32.99
      12/30/2017   709   IR0002   Owner Operator   Tractor Charge          14461 - 32901                         521.95
      12/30/2017   709   JC0292   Owner Operator   Communication Charge    PNet Hware Q13197                         13
      12/30/2017   709   JC0292   Owner Operator   ESCROW                  Weekly Escrow                           400
      12/30/2017   709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                            200
      12/30/2017   709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                            100
      12/30/2017   709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                            200
      12/30/2017   709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      12/30/2017   709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      12/30/2017   709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      12/30/2017   709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         441.52
      12/30/2017   709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         414.88
      12/30/2017   709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         206.94
      12/30/2017   709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         465.18
      12/30/2017   709   JC0292   Owner Operator   IRP License Deduction   LCIL:2017 - Q1210                      32.99
      12/30/2017   709   JC0292   Owner Operator   Tractor Charge          51362 - Q1210                         458.72
      12/30/2017   709   JC0292   Owner Operator   Truck Payment           CTMS - 208513 Q13197 Lease            276.63
      12/30/2017   709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                          13
      12/30/2017   709   JG0017   Owner Operator   ESCROW                  Weekly Escrow                           500
      12/30/2017   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                            300

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      12/30/2017   709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                           3
      12/30/2017   709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                         567.06
      12/30/2017   709   JG0017   Owner Operator   IRP License Deduction   LCIL:2017 - 32908                      32.99
      12/30/2017   709   JG0017   Owner Operator   Tractor Charge          14298 - 32908                          504.6
      12/30/2017   709   JG0072   Owner Operator   Communication Charge    PNet Hware 32909                          13
      12/30/2017   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                            100
      12/30/2017   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                            200
      12/30/2017   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      12/30/2017   709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      12/30/2017   709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                         228.15
      12/30/2017   709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                         535.59
      12/30/2017   709   JG0072   Owner Operator   IRP License Deduction   LCIL:2017 - 32909                      32.99
      12/30/2017   709   JG0072   Owner Operator   Tractor Charge          14534 - 32909                         513.26
      12/30/2017   709   JG0092   Owner Operator   Communication Charge    PNet Hware 33669                           8
      12/30/2017   709   JQ0015   Owner Operator   Communication Charge    PNet Hware 33438                          13
      12/30/2017   709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                         151.75
      12/30/2017   709   JR0099   Owner Operator   Communication Charge    PNet Hware Q1203                          13
      12/30/2017   709   JR0099   Owner Operator   Fuel Card Advances      Cash Advance                              30
      12/30/2017   709   JR0099   Owner Operator   Fuel Card Advances      Cash Advance Fee                         0.3
      12/30/2017   709   JR0099   Owner Operator   Fuel Purchase           Fuel Purchase                          294.1
      12/30/2017   709   JR0099   Owner Operator   Truck Payment           CTMS - 208496 Truck Lease             278.76
      12/30/2017   709   JS0265   Owner Operator   Communication Charge    PNet Hware 33325                          13
      12/30/2017   709   JS0265   Owner Operator   ESCROW                  Weekly Escrow                           100
      12/30/2017   709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                            200
      12/30/2017   709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      12/30/2017   709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                         425.46
      12/30/2017   709   KP0004   Owner Operator   Communication Charge    PNet Hware 32914                          13
      12/30/2017   709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                              50
      12/30/2017   709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                         0.5
      12/30/2017   709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                          50.03
      12/30/2017   709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                         318.69
      12/30/2017   709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                         250.27
      12/30/2017   709   KP0004   Owner Operator   IRP License Deduction   LCIL:2017 - 32914                      32.99
      12/30/2017   709   KP0004   Owner Operator   Tire Purchase           PO: 709-00361346 - PO System           200.8
      12/30/2017   709   KP0004   Owner Operator   Tractor Charge          14457 - 32914                         519.59
      12/30/2017   709   LL0160   Owner Operator   Communication Charge    PNet Hware Q1111                           8
      12/30/2017   709   LL0160   Owner Operator   Truck Payment           CTMS - 208488 Lease Q1111             252.11
      12/30/2017   709   LS0023   Owner Operator   Communication Charge    PNet Hware 33655                          13
      12/30/2017   709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance                            200
      12/30/2017   709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      12/30/2017   709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                         554.61
      12/30/2017   709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                         363.28
      12/30/2017   709   MA0092   Owner Operator   Miscellaneous           SOUTH GATE,CA to SOUTH GATE,CA           5.6
      12/30/2017   709   MA0092   Owner Operator   Miscellaneous           SOUTH GATE,CA to SOUTH GATE,CA          0.23
      12/30/2017   709   MA0092   Owner Operator   Miscellaneous           SOUTH GATE,CA to TORRANCE,CA             8.4
      12/30/2017   709   MA0092   Owner Operator   PHYSICAL DAMAGE         2012 Peterbilt PD                       9.33
      12/30/2017   709   ME0053   Owner Operator   Communication Charge    PNet Hware Q1113                        4.49
      12/30/2017   709   ME0053   Owner Operator   Communication Charge    PNet Hware Q1113                           8
      12/30/2017   709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                         486.42
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           FOUNTAIN VAL,CA to SOUTH G,CA            3.9
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           FOUNTAIN VAL,CA to SOUTH G,CA           16.5
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           LOS ANGELE,CA to SOUTH GATE,CA          6.05
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           LOS ANGELE,CA to SOUTH GATE,CA          1.43
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           LOS ANGELE,CA to SOUTH GATE,CA          1.43
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           LOS ANGELE,CA to SOUTH GATE,CA          6.16
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SANTA FE S,CA to FOUNTAIN ,CA           3.12
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SANTA FE S,CA to FOUNTAIN ,CA           13.2
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SANTA FE SPRI,CA to SOUTH G,CA          1.95
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SANTA FE SPRI,CA to SOUTH G,CA           8.4
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SOUTH G,CA to SANTA FE SPRI,CA           8.4
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SOUTH G,CA to SANTA FE SPRI,CA          1.95
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SOUTH G,CA to SANTA FE SPRI,CA          8.25
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SOUTH G,CA to SANTA FE SPRI,CA          1.95
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SOUTH GAT,CA to LOS ANGELES,CA          1.43
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SOUTH GAT,CA to LOS ANGELES,CA          6.05
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SOUTH GAT,CA to LOS ANGELES,CA          1.43
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SOUTH GAT,CA to LOS ANGELES,CA          6.16
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SOUTH GAT,CA to LOS ANGELES,CA          6.16
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SOUTH GAT,CA to LOS ANGELES,CA          1.43
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SOUTH GATE,CA to SOUTH GATE,CA           5.6
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SOUTH GATE,CA to SOUTH GATE,CA           1.3
      12/30/2017   709   ME0053   Owner Operator   Miscellaneous           SOUTH GATE,CA to SOUTH GATE,CA           5.5

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      12/30/2017   709   ME0053   Owner Operator   Truck Payment                  CTMS - 208498 Q1113 Lease             252.11
      12/30/2017   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.05
      12/30/2017   709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      12/30/2017   709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.11
      12/30/2017   709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      12/30/2017   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      12/30/2017   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/30/2017   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      12/30/2017   709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      12/30/2017   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      12/30/2017   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      12/30/2017   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      12/30/2017   709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      12/30/2017   709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-23         318.06
      12/30/2017   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      12/30/2017   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      12/30/2017   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          40.61
      12/30/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.66
      12/30/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.61
      12/30/2017   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.88
      12/30/2017   709   NB0029   Owner Operator   T Chek Fee                     Tractor Repair Q1108                  299.73
      12/30/2017   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      12/30/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/30/2017   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/30/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          58.04
      12/30/2017   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           345
      12/30/2017   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      12/30/2017   709   NT9564   Owner Operator   Truck Payment                  CTMS - 208498 Truck 73130 Leas        196.65
      12/30/2017   709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-23          11.88
      12/30/2017   709   RC0030   Owner Operator   Truck Payment                  CTMS - 208496 Down Payment lo         303.55
      12/30/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/30/2017   709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/30/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.16
      12/30/2017   709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.08
      12/30/2017   709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      12/30/2017   709   RC0089   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         261.51
      12/30/2017   709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      12/30/2017   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/30/2017   709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      12/30/2017   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/30/2017   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/30/2017   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/30/2017   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.57
      12/30/2017   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      12/30/2017   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      12/30/2017   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/30/2017   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      12/30/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      12/30/2017   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         175.15
      12/30/2017   709   RL0180   Owner Operator   Advance                        Acc clm 67098 s/u 8 pmts                250
      12/30/2017   709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      12/30/2017   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/30/2017   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.41
      12/30/2017   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      12/30/2017   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.26
      12/30/2017   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00361262 - PO System           11.55
      12/30/2017   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      12/30/2017   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.61
      12/30/2017   709   RP0082   Owner Operator   Truck Payment                  CTMS - 208496 Q1202 Truck Leas        278.76
      12/30/2017   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      12/30/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/30/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/30/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/30/2017   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/30/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.37
      12/30/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.6
      12/30/2017   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.83
      12/30/2017   709   RR0123   Owner Operator   Truck Payment                  CTMS - 208503 Q1248                   311.97
      12/30/2017   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      12/30/2017   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/30/2017   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/30/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/30/2017   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      12/30/2017   709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      12/30/2017   709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      12/30/2017   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         294.82
      12/30/2017   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         266.87
      12/30/2017   709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         282.85
      12/30/2017   709   SB0009   Owner Operator   IRP License Deduction   LCIL:2017 - 33236                      32.99
      12/30/2017   709   SB0009   Owner Operator   Tractor Charge          19100 - 33236                         564.33
      12/30/2017   709   SB0103   Owner Operator   Communication Charge    PNet Hware 33037                           8
      12/30/2017   709   SB0103   Owner Operator   ESCROW                  Weekly Escrow                             50
      12/30/2017   709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                         290.28
      12/30/2017   709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                         259.95
      12/30/2017   709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                         215.61
      12/30/2017   709   SB0103   Owner Operator   Truck Payment           CTMS - 208493 Sub Lease               388.33
      12/30/2017   709   VB0015   Owner Operator   Communication Charge    PNet Hware Q1112                           8
      12/30/2017   709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                         308.49
      12/30/2017   709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                         432.86
      12/30/2017   709   VB0015   Owner Operator   Truck Payment           CTMS - 208502 Tractor Sub leas        242.03
      12/30/2017   709   VJ0006   Owner Operator   Communication Charge    PNet Hware 33961                           8
      12/30/2017   709   VJ0006   Owner Operator   ESCROW                  Weekly Escrow                           200
      12/30/2017   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                            200
      12/30/2017   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                            100
      12/30/2017   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                            200
      12/30/2017   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      12/30/2017   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      12/30/2017   709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      12/30/2017   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         253.01
      12/30/2017   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                          249.6
      12/30/2017   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         206.02
      12/30/2017   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         274.69
      12/30/2017   709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         301.05
      12/30/2017   709   WB0062   Owner Operator   Communication Charge    PNet Hware 33407                          13
      12/30/2017   709   WH0087   Owner Operator   Communication Charge    PNet Hware q1239                           8
      12/30/2017   709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                         341.81
      12/30/2017   709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                         257.35
      12/30/2017   709   WH0087   Owner Operator   Truck Payment           CTMS - 208503 Q1238 Lease             311.97
      12/30/2017   742   AP0047   Owner Operator   Communication Charge    PNet Hware 32604                          13
      12/30/2017   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                            100
      12/30/2017   742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      12/30/2017   742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                          226.5
      12/30/2017   742   AS0089   Owner Operator   Communication Charge    PNet Hware 33912                           8
      12/30/2017   742   AS0089   Owner Operator   ESCROW                  Weekly Escrow                             50
      12/30/2017   742   AS0089   Owner Operator   Tire Purchase           PO: 742-00363256 - PO System          189.78
      12/30/2017   742   CA0089   Owner Operator   Communication Charge    PNet Hware 33832                          13
      12/30/2017   742   CA0089   Owner Operator   Fuel Purchase           Fuel Purchase                         549.42
      12/30/2017   742   CA0089   Owner Operator   Fuel Purchase           Fuel Purchase                         320.05
      12/30/2017   742   CT0085   Owner Operator   Communication Charge    PNet Hware Q13171                          8
      12/30/2017   742   CT0085   Owner Operator   Fuel Purchase           Fuel Purchase                         496.38
      12/30/2017   742   CT0085   Owner Operator   Truck Payment           CTMS - 208510 Sub Lease Q13171        352.68
      12/30/2017   742   DS0254   Owner Operator   Communication Charge    PNet Hware 33487                           8
      12/30/2017   742   DS0254   Owner Operator   ESCROW                  Weekly Escrow                          49.01
      12/30/2017   742   DS0254   Owner Operator   Fuel Card Advances      Cash Advance                            200
      12/30/2017   742   DS0254   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      12/30/2017   742   DS0254   Owner Operator   Fuel Purchase           Fuel Purchase                          508.7
      12/30/2017   742   DS0254   Owner Operator   Fuel Purchase           Fuel Purchase                         446.92
      12/30/2017   742   DS0254   Owner Operator   Fuel Purchase           Fuel Purchase                         398.33
      12/30/2017   742   DS0254   Owner Operator   Truck Payment           CTMS - 208460 Trk 33487 Lease          434.2
      12/30/2017   742   DS0254   Owner Operator   Truck Payment           CTMS - 208600 Trk 33487 Lease          434.2
      12/30/2017   742   EA0039   Owner Operator   Advance                 New Hire Equip SL 402-092843            100
      12/30/2017   742   EA0039   Owner Operator   Communication Charge    PNet Hware 33993                           8
      12/30/2017   742   EA0039   Owner Operator   ESCROW                  Weekly Escrow                             50
      12/30/2017   742   EA0039   Owner Operator   Fuel Purchase           Fuel Purchase                         575.34
      12/30/2017   742   EN0016   Owner Operator   Fuel Purchase           Fuel Purchase                           243
      12/30/2017   742   FS0011   Owner Operator   Communication Charge    PNet Hware 51069A                         13
      12/30/2017   742   IK0012   Owner Operator   Advance                 New Hire Equip SL 402-092844            100
      12/30/2017   742   IK0012   Owner Operator   Communication Charge    PNet Hware 33922                          13
      12/30/2017   742   IK0012   Owner Operator   ESCROW                  Weekly Escrow                             50
      12/30/2017   742   IK0012   Owner Operator   Fuel Purchase           Fuel Purchase                         321.21
      12/30/2017   742   MS0230   Owner Operator   Communication Charge    PNet Hware 34082                          13
      12/30/2017   742   MS0230   Owner Operator   ESCROW                  Weekly Escrow                             50
      12/30/2017   742   MS0230   Owner Operator   Fuel Purchase           Fuel Purchase                         298.47
      12/30/2017   742   MS0230   Owner Operator   Fuel Purchase           Fuel Purchase                         296.77
      12/30/2017   742   MS0230   Owner Operator   IRP License Deduction   LCIL:2017 - 34082                       100
      12/30/2017   742   MS0230   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment         351.39

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      12/30/2017   742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      12/30/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            420
      12/30/2017   742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4.2
      12/30/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      12/30/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      12/30/2017   742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      12/30/2017   742   MT0112   Owner Operator   Truck Payment                  CTMS - 208498 Q1247 Sub Lease         311.97
      12/30/2017   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      12/30/2017   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/30/2017   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/30/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.4
      12/30/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.47
      12/30/2017   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          492.7
      12/30/2017   742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00362548 - PO System           111.8
      12/30/2017   742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      12/30/2017   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      12/30/2017   742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/30/2017   742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      12/30/2017   742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      12/30/2017   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      12/30/2017   742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/30/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          307.8
      12/30/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.73
      12/30/2017   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.01
        1/6/2018   709   AN0007   Owner Operator   Advance                        11/6/17 Spill s/u pmts                  250
        1/6/2018   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
        1/6/2018   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
        1/6/2018   709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
        1/6/2018   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
        1/6/2018   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
        1/6/2018   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.42
        1/6/2018   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
        1/6/2018   709   AN0007   Owner Operator   Permits                        ID06:2018 - 21157A                        11
        1/6/2018   709   AN0007   Owner Operator   Permits                        IL02:2018 - 21157A                      3.75
        1/6/2018   709   AN0007   Owner Operator   Permits                        NM07:2018 - 21157A                       5.5
        1/6/2018   709   AN0007   Owner Operator   Permits                        OR16:2018 - 21157A                       8.5
        1/6/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
        1/6/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
        1/6/2018   709   AV0021   Owner Operator   Advance                        EFS 178960 - s/u 4 pmts               352.38
        1/6/2018   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
        1/6/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.11
        1/6/2018   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
        1/6/2018   709   AV0021   Owner Operator   Permits                        ID06:2018 - Q13169                        11
        1/6/2018   709   AV0021   Owner Operator   Permits                        IL02:2018 - Q13169                      3.75
        1/6/2018   709   AV0021   Owner Operator   Permits                        NM07:2018 - Q13169                       5.5
        1/6/2018   709   AV0021   Owner Operator   Permits                        OR16:2018 - Q13169                       8.5
        1/6/2018   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
        1/6/2018   709   AV0021   Owner Operator   T Chek Fee                     ExpressCheck Fee                        5.16
        1/6/2018   709   AV0021   Owner Operator   T Chek Fee                     Towing Q13169                           8.16
        1/6/2018   709   AV0021   Owner Operator   T Chek Fee                     Tractor Repair Q13169                 451.73
        1/6/2018   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
        1/6/2018   709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
        1/6/2018   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
        1/6/2018   709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
        1/6/2018   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
        1/6/2018   709   BM0030   Owner Operator   Permits                        ID06:2018 - 34023                         11
        1/6/2018   709   BM0030   Owner Operator   Permits                        IL02:2018 - 34023                       3.75
        1/6/2018   709   BM0030   Owner Operator   Permits                        NM07:2018 - 34023                        5.5
        1/6/2018   709   BM0030   Owner Operator   Permits                        OR16:2018 - 34023                        8.5
        1/6/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
        1/6/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
        1/6/2018   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
        1/6/2018   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
        1/6/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.52
        1/6/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.59
        1/6/2018   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         301.87
        1/6/2018   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
        1/6/2018   709   CC0134   Owner Operator   Permits                        ID06:2018 - Q13168                        11
        1/6/2018   709   CC0134   Owner Operator   Permits                        IL02:2018 - Q13168                      3.75
        1/6/2018   709   CC0134   Owner Operator   Permits                        NM07:2018 - Q13168                       5.5
        1/6/2018   709   CC0134   Owner Operator   Permits                        OR16:2018 - Q13168                       8.5
        1/6/2018   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
        1/6/2018   709   CC0134   Owner Operator   Truck Payment                  CTMS - 208645 Q13168 sub lease        352.68

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       1/6/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/6/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       1/6/2018    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
       1/6/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.78
       1/6/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          545.2
       1/6/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
       1/6/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   CM0119   Owner Operator   Permits                        ID06:2018 - 32920                         11
       1/6/2018    709   CM0119   Owner Operator   Permits                        IL02:2018 - 32920                       3.75
       1/6/2018    709   CM0119   Owner Operator   Permits                        NM07:2018 - 32920                        5.5
       1/6/2018    709   CM0119   Owner Operator   Permits                        OR16:2018 - 32920                        8.5
       1/6/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       1/6/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/6/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       1/6/2018    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       1/6/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       1/6/2018    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.97
       1/6/2018    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.94
       1/6/2018    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.09
       1/6/2018    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.86
       1/6/2018    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   CR0064   Owner Operator   Permits                        ID06:2018 - 32864                         11
       1/6/2018    709   CR0064   Owner Operator   Permits                        IL02:2018 - 32864                       3.75
       1/6/2018    709   CR0064   Owner Operator   Permits                        NM07:2018 - 32864                        5.5
       1/6/2018    709   CR0064   Owner Operator   Permits                        OR16:2018 - 32864                        8.5
       1/6/2018    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       1/6/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       1/6/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       1/6/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       1/6/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.22
       1/6/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   CS0091   Owner Operator   Permits                        ID06:2018 - Q1201                         11
       1/6/2018    709   CS0091   Owner Operator   Permits                        IL02:2018 - Q1201                       3.75
       1/6/2018    709   CS0091   Owner Operator   Permits                        NM07:2018 - Q1201                        5.5
       1/6/2018    709   CS0091   Owner Operator   Permits                        OR16:2018 - Q1201                        8.5
       1/6/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       1/6/2018    709   CS0091   Owner Operator   Repair Order                   CTMS - 208746 Repair                      70
       1/6/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 208650 Q1201                   278.76
       1/6/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       1/6/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       1/6/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.75
       1/6/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.05
       1/6/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.35
       1/6/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         253.74
       1/6/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         253.74
       1/6/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   DL0029   Owner Operator   Permits                        ID06:2018 - 33850                         11
       1/6/2018    709   DL0029   Owner Operator   Permits                        IL02:2018 - 33850                       3.75
       1/6/2018    709   DL0029   Owner Operator   Permits                        NM07:2018 - 33850                        5.5
       1/6/2018    709   DL0029   Owner Operator   Permits                        OR16:2018 - 33850                        8.5
       1/6/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       1/6/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       1/6/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       1/6/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       1/6/2018    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-13         -21.82
       1/6/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       1/6/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       1/6/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.24
       1/6/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.52
       1/6/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.52
       1/6/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       1/6/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   DL0107   Owner Operator   Permits                        ID06:2018 - Q1245                         11
       1/6/2018    709   DL0107   Owner Operator   Permits                        IL02:2018 - Q1245                       3.75
       1/6/2018    709   DL0107   Owner Operator   Permits                        NM07:2018 - Q1245                        5.5
       1/6/2018    709   DL0107   Owner Operator   Permits                        OR16:2018 - Q1245                        8.5
       1/6/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       1/6/2018    709   DL0107   Owner Operator   Repair Order                   CTMS - 208744 Repair                   97.54
       1/6/2018    709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                   29.66
       1/6/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 208694 Sublease                338.99
       1/6/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       1/6/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/6/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13

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       1/6/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       1/6/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       1/6/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         527.53
       1/6/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
       1/6/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   DS0049   Owner Operator   Permits                        ID06:2018 - 32915                         11
       1/6/2018    709   DS0049   Owner Operator   Permits                        IL02:2018 - 32915                       3.75
       1/6/2018    709   DS0049   Owner Operator   Permits                        NM07:2018 - 32915                        5.5
       1/6/2018    709   DS0049   Owner Operator   Permits                        OR16:2018 - 32915                        8.5
       1/6/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       1/6/2018    709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00362106 - PO System          249.44
       1/6/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       1/6/2018    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       1/6/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       1/6/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   DS0225   Owner Operator   Permits                        ID06:2018 - 33320                         11
       1/6/2018    709   DS0225   Owner Operator   Permits                        IL02:2018 - 33320                       3.75
       1/6/2018    709   DS0225   Owner Operator   Permits                        NM07:2018 - 33320                        5.5
       1/6/2018    709   DS0225   Owner Operator   Permits                        OR16:2018 - 33320                        8.5
       1/6/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       1/6/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/6/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       1/6/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       1/6/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       1/6/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       1/6/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/6/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/6/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.4
       1/6/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.49
       1/6/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
       1/6/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
       1/6/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   EA0003   Owner Operator   Permits                        ID06:2018 - 33051                         11
       1/6/2018    709   EA0003   Owner Operator   Permits                        IL02:2018 - 33051                       3.75
       1/6/2018    709   EA0003   Owner Operator   Permits                        NM07:2018 - 33051                        5.5
       1/6/2018    709   EA0003   Owner Operator   Permits                        OR16:2018 - 33051                        8.5
       1/6/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       1/6/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       1/6/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       1/6/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/6/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
       1/6/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/6/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/6/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.48
       1/6/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.65
       1/6/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.6
       1/6/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
       1/6/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   EE0011   Owner Operator   Permits                        ID06:2018 - 32910                         11
       1/6/2018    709   EE0011   Owner Operator   Permits                        IL02:2018 - 32910                       3.75
       1/6/2018    709   EE0011   Owner Operator   Permits                        NM07:2018 - 32910                        5.5
       1/6/2018    709   EE0011   Owner Operator   Permits                        OR16:2018 - 32910                        8.5
       1/6/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
       1/6/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
       1/6/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       1/6/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       1/6/2018    709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-13        -577.44
       1/6/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.62
       1/6/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.94
       1/6/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   EG0062   Owner Operator   Permits                        ID06:2018 - 33828                         11
       1/6/2018    709   EG0062   Owner Operator   Permits                        IL02:2018 - 33828                       3.75
       1/6/2018    709   EG0062   Owner Operator   Permits                        NM07:2018 - 33828                        5.5
       1/6/2018    709   EG0062   Owner Operator   Permits                        OR16:2018 - 33828                        8.5
       1/6/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       1/6/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       1/6/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       1/6/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       1/6/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.01
       1/6/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.12
       1/6/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   EO0014   Owner Operator   Permits                        ID06:2018 - 33846                         11
       1/6/2018    709   EO0014   Owner Operator   Permits                        IL02:2018 - 33846                       3.75

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       1/6/2018    709   EO0014   Owner Operator   Permits                        NM07:2018 - 33846                        5.5
       1/6/2018    709   EO0014   Owner Operator   Permits                        OR16:2018 - 33846                        8.5
       1/6/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       1/6/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       1/6/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       1/6/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       1/6/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.87
       1/6/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.6
       1/6/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   FS0039   Owner Operator   Permits                        ID06:2018 - 33040                         11
       1/6/2018    709   FS0039   Owner Operator   Permits                        IL02:2018 - 33040                       3.75
       1/6/2018    709   FS0039   Owner Operator   Permits                        NM07:2018 - 33040                        5.5
       1/6/2018    709   FS0039   Owner Operator   Permits                        OR16:2018 - 33040                        8.5
       1/6/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       1/6/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 208694 truck lease 3304        434.29
       1/6/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       1/6/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       1/6/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          669.7
       1/6/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   FV0001   Owner Operator   Permits                        ID06:2018 - 21521B                        11
       1/6/2018    709   FV0001   Owner Operator   Permits                        IL02:2018 - 21521B                      3.75
       1/6/2018    709   FV0001   Owner Operator   Permits                        NM07:2018 - 21521B                       5.5
       1/6/2018    709   FV0001   Owner Operator   Permits                        OR16:2018 - 21521B                       8.5
       1/6/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       1/6/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       1/6/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.13
       1/6/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   GS0015   Owner Operator   Permits                        ID06:2018 - Q1110                         11
       1/6/2018    709   GS0015   Owner Operator   Permits                        IL02:2018 - Q1110                       3.75
       1/6/2018    709   GS0015   Owner Operator   Permits                        NM07:2018 - Q1110                        5.5
       1/6/2018    709   GS0015   Owner Operator   Permits                        OR16:2018 - Q1110                        8.5
       1/6/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       1/6/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 208649 Lease                   199.79
       1/6/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/6/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/6/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/6/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/6/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.02
       1/6/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.93
       1/6/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.24
       1/6/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
       1/6/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   GW0043   Owner Operator   Permits                        ID06:2018 - Q1263                         11
       1/6/2018    709   GW0043   Owner Operator   Permits                        IL02:2018 - Q1263                       3.75
       1/6/2018    709   GW0043   Owner Operator   Permits                        NM07:2018 - Q1263                        5.5
       1/6/2018    709   GW0043   Owner Operator   Permits                        OR16:2018 - Q1263                        8.5
       1/6/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 208322 Truck Rental            375.68
       1/6/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       1/6/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       1/6/2018    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.27
       1/6/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   HC0023   Owner Operator   Permits                        ID06:2018 - Q13170                        11
       1/6/2018    709   HC0023   Owner Operator   Permits                        IL02:2018 - Q13170                      3.75
       1/6/2018    709   HC0023   Owner Operator   Permits                        NM07:2018 - Q13170                       5.5
       1/6/2018    709   HC0023   Owner Operator   Permits                        OR16:2018 - Q13170                       8.5
       1/6/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       1/6/2018    709   HC0023   Owner Operator   Repair Order                   CTMS - 208743 Repair                  248.83
       1/6/2018    709   HC0023   Owner Operator   Repair Order                   CTMS - 208778 Repair                  370.35
       1/6/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 208646 Q13170                  352.68
       1/6/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       1/6/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       1/6/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.33
       1/6/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   HG0007   Owner Operator   Permits                        ID06:2018 - 33180                         11
       1/6/2018    709   HG0007   Owner Operator   Permits                        IL02:2018 - 33180                       3.75
       1/6/2018    709   HG0007   Owner Operator   Permits                        NM07:2018 - 33180                        5.5
       1/6/2018    709   HG0007   Owner Operator   Permits                        OR16:2018 - 33180                        8.5
       1/6/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       1/6/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       1/6/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/6/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.54

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       1/6/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
       1/6/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   IR0002   Owner Operator   Permits                        CUST:2018 - 32901                     401.67
       1/6/2018    709   IR0002   Owner Operator   Permits                        ID06:2018 - 32901                         11
       1/6/2018    709   IR0002   Owner Operator   Permits                        IL02:2018 - 32901                       3.75
       1/6/2018    709   IR0002   Owner Operator   Permits                        NM07:2018 - 32901                        5.5
       1/6/2018    709   IR0002   Owner Operator   Permits                        OR16:2018 - 32901                        8.5
       1/6/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       1/6/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/6/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       1/6/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       1/6/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       1/6/2018    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
       1/6/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       1/6/2018    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                      -4800
       1/6/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
       1/6/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
       1/6/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       1/6/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          161.7
       1/6/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.07
       1/6/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.33
       1/6/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.24
       1/6/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.39
       1/6/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.08
       1/6/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
       1/6/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   JC0292   Owner Operator   Permits                        CUST:2018 - Q13197                    401.67
       1/6/2018    709   JC0292   Owner Operator   Permits                        ID06:2018 - Q13197                        11
       1/6/2018    709   JC0292   Owner Operator   Permits                        IL02:2018 - Q13197                      3.75
       1/6/2018    709   JC0292   Owner Operator   Permits                        NM07:2018 - Q13197                       5.5
       1/6/2018    709   JC0292   Owner Operator   Permits                        OR16:2018 - Q13197                       8.5
       1/6/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       1/6/2018    709   JC0292   Owner Operator   Repair Order                   CTMS - 208742 Repair                  495.85
       1/6/2018    709   JC0292   Owner Operator   Toll Charges                   CTMS - 208785 Trailer wash               -36
       1/6/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
       1/6/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 208692 Q13197 Lease            276.63
       1/6/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/6/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       1/6/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
       1/6/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
       1/6/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       1/6/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.52
       1/6/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.67
       1/6/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
       1/6/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   JG0017   Owner Operator   Permits                        ID06:2018 - 32908                         11
       1/6/2018    709   JG0017   Owner Operator   Permits                        IL02:2018 - 32908                       3.75
       1/6/2018    709   JG0017   Owner Operator   Permits                        NM07:2018 - 32908                        5.5
       1/6/2018    709   JG0017   Owner Operator   Permits                        OR16:2018 - 32908                        8.5
       1/6/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       1/6/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       1/6/2018    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       1/6/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/6/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
       1/6/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
       1/6/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/6/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/6/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.46
       1/6/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          460.5
       1/6/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       1/6/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         264.74
       1/6/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       1/6/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       1/6/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.99
       1/6/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.61
       1/6/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   JG0092   Owner Operator   Permits                        ID06:2018 - 33669                         11
       1/6/2018    709   JG0092   Owner Operator   Permits                        IL02:2018 - 33669                       3.75
       1/6/2018    709   JG0092   Owner Operator   Permits                        NM07:2018 - 33669                        5.5
       1/6/2018    709   JG0092   Owner Operator   Permits                        OR16:2018 - 33669                        8.5
       1/6/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
       1/6/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75

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       1/6/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       1/6/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/6/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/6/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.11
       1/6/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   JQ0015   Owner Operator   Permits                        ID06:2018 - 33438                         11
       1/6/2018    709   JQ0015   Owner Operator   Permits                        IL02:2018 - 33438                       3.75
       1/6/2018    709   JQ0015   Owner Operator   Permits                        NM07:2018 - 33438                        5.5
       1/6/2018    709   JQ0015   Owner Operator   Permits                        OR16:2018 - 33438                        8.5
       1/6/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       1/6/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       1/6/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       1/6/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.31
       1/6/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   JR0099   Owner Operator   Permits                        ID06:2018 - Q1203                         11
       1/6/2018    709   JR0099   Owner Operator   Permits                        IL02:2018 - Q1203                       3.75
       1/6/2018    709   JR0099   Owner Operator   Permits                        NM07:2018 - Q1203                        5.5
       1/6/2018    709   JR0099   Owner Operator   Permits                        OR16:2018 - Q1203                        8.5
       1/6/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       1/6/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 208642 Truck Lease             278.76
       1/6/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/6/2018    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
       1/6/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       1/6/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/6/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/6/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/6/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/6/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.17
       1/6/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.86
       1/6/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          163.4
       1/6/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.65
       1/6/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.21
       1/6/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           455
       1/6/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
       1/6/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   KP0004   Owner Operator   Permits                        ID06:2018 - 32914                         11
       1/6/2018    709   KP0004   Owner Operator   Permits                        IL02:2018 - 32914                       3.75
       1/6/2018    709   KP0004   Owner Operator   Permits                        NM07:2018 - 32914                        5.5
       1/6/2018    709   KP0004   Owner Operator   Permits                        OR16:2018 - 32914                        8.5
       1/6/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       1/6/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/6/2018    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00361346 - PO System          200.76
       1/6/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       1/6/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       1/6/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       1/6/2018    709   LL0160   Owner Operator   Permits                        ID06:2018 - Q1111                         11
       1/6/2018    709   LL0160   Owner Operator   Permits                        NM07:2018 - Q1111                        5.5
       1/6/2018    709   LL0160   Owner Operator   Permits                        OR16:2018 - Q1111                        8.5
       1/6/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       1/6/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 208629 Lease Q1111             252.11
       1/6/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       1/6/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       1/6/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   LS0023   Owner Operator   Permits                        ID06:2018 - 33655                         11
       1/6/2018    709   LS0023   Owner Operator   Permits                        IL02:2018 - 33655                       3.75
       1/6/2018    709   LS0023   Owner Operator   Permits                        NM07:2018 - 33655                        5.5
       1/6/2018    709   LS0023   Owner Operator   Permits                        OR16:2018 - 33655                        8.5
       1/6/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       1/6/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       1/6/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       1/6/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       1/6/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.23
       1/6/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.5
       1/6/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   ME0053   Owner Operator   Permits                        ID06:2018 - Q1113                         11
       1/6/2018    709   ME0053   Owner Operator   Permits                        IL02:2018 - Q1113                       3.75
       1/6/2018    709   ME0053   Owner Operator   Permits                        NM07:2018 - Q1113                        5.5
       1/6/2018    709   ME0053   Owner Operator   Permits                        OR16:2018 - Q1113                        8.5
       1/6/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       1/6/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 208645 Q1113 Lease             252.11
       1/6/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       1/6/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.09
       1/6/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       1/6/2018    709   MG0067   Owner Operator   Permits                        CUST:2018 - 33435                  401.67
       1/6/2018    709   MG0067   Owner Operator   Permits                        ID06:2018 - 33435                      11
       1/6/2018    709   MG0067   Owner Operator   Permits                        IL02:2018 - 33435                    3.75
       1/6/2018    709   MG0067   Owner Operator   Permits                        NM07:2018 - 33435                     5.5
       1/6/2018    709   MG0067   Owner Operator   Permits                        OR16:2018 - 33435                     8.5
       1/6/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       35.16
       1/6/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
       1/6/2018    709   MG0067   Owner Operator   Truck Payment                  CTMS - 208704 Truck Rental           100
       1/6/2018    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                8.75
       1/6/2018    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                       13
       1/6/2018    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                           40
       1/6/2018    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.4
       1/6/2018    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                      392.47
       1/6/2018    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
       1/6/2018    709   MM0093   Owner Operator   Permits                        ID06:2018 - 32931                      11
       1/6/2018    709   MM0093   Owner Operator   Permits                        IL02:2018 - 32931                    3.75
       1/6/2018    709   MM0093   Owner Operator   Permits                        NM07:2018 - 32931                     5.5
       1/6/2018    709   MM0093   Owner Operator   Permits                        OR16:2018 - 32931                     8.5
       1/6/2018    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                53.13
       1/6/2018    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                      337.19
       1/6/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
       1/6/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
       1/6/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        200
       1/6/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                         150
       1/6/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.5
       1/6/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                      595.18
       1/6/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                      605.43
       1/6/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                   32.99
       1/6/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
       1/6/2018    709   MP0035   Owner Operator   Permits                        ID06:2018 - 32904                      11
       1/6/2018    709   MP0035   Owner Operator   Permits                        IL02:2018 - 32904                    3.75
       1/6/2018    709   MP0035   Owner Operator   Permits                        NM07:2018 - 32904                     5.5
       1/6/2018    709   MP0035   Owner Operator   Permits                        OR16:2018 - 32904                     8.5
       1/6/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   71.88
       1/6/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
       1/6/2018    709   MP0035   Owner Operator   Repair Order                   CTMS - 208700 Q1105 Fuel          -595.18
       1/6/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                      323.05
       1/6/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL           8.75
       1/6/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                       13
       1/6/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                      419.89
       1/6/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                      459.39
       1/6/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                         200
       1/6/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
       1/6/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      396.26
       1/6/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      287.62
       1/6/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       288.9
       1/6/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
       1/6/2018    709   NB0029   Owner Operator   Permits                        ID06:2018 - Q1108                      11
       1/6/2018    709   NB0029   Owner Operator   Permits                        IL02:2018 - Q1108                    3.75
       1/6/2018    709   NB0029   Owner Operator   Permits                        NM07:2018 - Q1108                     5.5
       1/6/2018    709   NB0029   Owner Operator   Permits                        OR16:2018 - Q1108                     8.5
       1/6/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD           35.16
       1/6/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 208040 Lease                215.66
       1/6/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 208225 Lease                215.66
       1/6/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 208425 Lease                215.66
       1/6/2018    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                 32.95
       1/6/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
       1/6/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
       1/6/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                         140
       1/6/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.4
       1/6/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        350
       1/6/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       58.91
       1/6/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
       1/6/2018    709   NG0005   Owner Operator   Permits                        ID06:2018 - 21412B                     11
       1/6/2018    709   NG0005   Owner Operator   Permits                        IL02:2018 - 21412B                   3.75
       1/6/2018    709   NG0005   Owner Operator   Permits                        NM07:2018 - 21412B                    5.5
       1/6/2018    709   NG0005   Owner Operator   Permits                        OR16:2018 - 21412B                    8.5
       1/6/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.98
       1/6/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL          8.75
       1/6/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                       13
       1/6/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
       1/6/2018    709   NT9564   Owner Operator   Permits                        ID06:2018 - 73130                      11
       1/6/2018    709   NT9564   Owner Operator   Permits                        IL02:2018 - 73130                    3.75

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       1/6/2018    709   NT9564   Owner Operator   Permits                        NM07:2018 - 73130                        5.5
       1/6/2018    709   NT9564   Owner Operator   Permits                        OR16:2018 - 73130                        8.5
       1/6/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       1/6/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 208645 Truck 73130 Leas        196.65
       1/6/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       1/6/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   RC0030   Owner Operator   Permits                        CUST:2018 - 33676                     401.67
       1/6/2018    709   RC0030   Owner Operator   Permits                        ID06:2018 - 33676                         11
       1/6/2018    709   RC0030   Owner Operator   Permits                        IL02:2018 - 33676                       3.75
       1/6/2018    709   RC0030   Owner Operator   Permits                        NM07:2018 - 33676                        5.5
       1/6/2018    709   RC0030   Owner Operator   Permits                        OR16:2018 - 33676                        8.5
       1/6/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       1/6/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       1/6/2018    709   RC0030   Owner Operator   Truck Payment                  CTMS - 208642 Down Payment lo         303.55
       1/6/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
       1/6/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/6/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
       1/6/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       1/6/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.59
       1/6/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.24
       1/6/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
       1/6/2018    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         261.51
       1/6/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   RC0089   Owner Operator   Permits                        CUST:2018 - 32986                     401.67
       1/6/2018    709   RC0089   Owner Operator   Permits                        ID06:2018 - 32986                         11
       1/6/2018    709   RC0089   Owner Operator   Permits                        IL02:2018 - 32986                       3.75
       1/6/2018    709   RC0089   Owner Operator   Permits                        NM07:2018 - 32986                        5.5
       1/6/2018    709   RC0089   Owner Operator   Permits                        OR16:2018 - 32986                        8.5
       1/6/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       1/6/2018    709   RC0089   Owner Operator   Repair Order                   CTMS - 208788 Repair                    14.9
       1/6/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       1/6/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/6/2018    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
       1/6/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       1/6/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.68
       1/6/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
       1/6/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   RL0017   Owner Operator   Permits                        CUST:2018 - 33065                     401.67
       1/6/2018    709   RL0017   Owner Operator   Permits                        ID06:2018 - 33065                         11
       1/6/2018    709   RL0017   Owner Operator   Permits                        IL02:2018 - 33065                       3.75
       1/6/2018    709   RL0017   Owner Operator   Permits                        NM07:2018 - 33065                        5.5
       1/6/2018    709   RL0017   Owner Operator   Permits                        OR16:2018 - 33065                        8.5
       1/6/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       1/6/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       1/6/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/6/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       1/6/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       1/6/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/6/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/6/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.25
       1/6/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.34
       1/6/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.57
       1/6/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.03
       1/6/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
       1/6/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
       1/6/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   RL0062   Owner Operator   Permits                        ID06:2018 - 32912                         11
       1/6/2018    709   RL0062   Owner Operator   Permits                        IL02:2018 - 32912                       3.75
       1/6/2018    709   RL0062   Owner Operator   Permits                        NM07:2018 - 32912                        5.5
       1/6/2018    709   RL0062   Owner Operator   Permits                        OR16:2018 - 32912                        8.5
       1/6/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       1/6/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       1/6/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       1/6/2018    709   RL0180   Owner Operator   Advance                        Acc clm 67098 s/u 8 pmts                250
       1/6/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       1/6/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           52.7
       1/6/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   RL0180   Owner Operator   Permits                        ID06:2018 - 34012                         11
       1/6/2018    709   RL0180   Owner Operator   Permits                        IL02:2018 - 34012                       3.75
       1/6/2018    709   RL0180   Owner Operator   Permits                        NM07:2018 - 34012                        5.5
       1/6/2018    709   RL0180   Owner Operator   Permits                        OR16:2018 - 34012                        8.5
       1/6/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
       1/6/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48

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       1/6/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       1/6/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       1/6/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.83
       1/6/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.5
       1/6/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   RM0026   Owner Operator   Permits                        ID06:2018 - 33664                         11
       1/6/2018    709   RM0026   Owner Operator   Permits                        IL02:2018 - 33664                       3.75
       1/6/2018    709   RM0026   Owner Operator   Permits                        NM07:2018 - 33664                        5.5
       1/6/2018    709   RM0026   Owner Operator   Permits                        OR16:2018 - 33664                        8.5
       1/6/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       1/6/2018    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00361262 - PO System           11.52
       1/6/2018    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       1/6/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       1/6/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       1/6/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.99
       1/6/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   RP0082   Owner Operator   Permits                        ID06:2018 - Q1202                         11
       1/6/2018    709   RP0082   Owner Operator   Permits                        IL02:2018 - Q1202                       3.75
       1/6/2018    709   RP0082   Owner Operator   Permits                        NM07:2018 - Q1202                        5.5
       1/6/2018    709   RP0082   Owner Operator   Permits                        OR16:2018 - Q1202                        8.5
       1/6/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       1/6/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 208642 Q1202 Truck Leas        278.76
       1/6/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       1/6/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       1/6/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/6/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/6/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.21
       1/6/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.24
       1/6/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   RR0123   Owner Operator   Permits                        ID06:2018 - Q1248                         11
       1/6/2018    709   RR0123   Owner Operator   Permits                        IL02:2018 - Q1248                       3.75
       1/6/2018    709   RR0123   Owner Operator   Permits                        NM07:2018 - Q1248                        5.5
       1/6/2018    709   RR0123   Owner Operator   Permits                        OR16:2018 - Q1248                        8.5
       1/6/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       1/6/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       1/6/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 208650 Q1248                   311.97
       1/6/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       1/6/2018    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
       1/6/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       1/6/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       1/6/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/6/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/6/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/6/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/6/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.78
       1/6/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.02
       1/6/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.74
       1/6/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.96
       1/6/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.1
       1/6/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.55
       1/6/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
       1/6/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   SB0009   Owner Operator   Permits                        ID06:2018 - 33236                         11
       1/6/2018    709   SB0009   Owner Operator   Permits                        IL02:2018 - 33236                       3.75
       1/6/2018    709   SB0009   Owner Operator   Permits                        NM07:2018 - 33236                        5.5
       1/6/2018    709   SB0009   Owner Operator   Permits                        OR16:2018 - 33236                        8.5
       1/6/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       1/6/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       1/6/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       1/6/2018    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
       1/6/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       1/6/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          382.2
       1/6/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.65
       1/6/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.75
       1/6/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.88
       1/6/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   SB0103   Owner Operator   Permits                        ID06:2018 - 33037                         11
       1/6/2018    709   SB0103   Owner Operator   Permits                        IL02:2018 - 33037                       3.75
       1/6/2018    709   SB0103   Owner Operator   Permits                        NM07:2018 - 33037                        5.5
       1/6/2018    709   SB0103   Owner Operator   Permits                        OR16:2018 - 33037                        8.5
       1/6/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       1/6/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5

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       1/6/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 208639 Sub Lease               388.33
       1/6/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
       1/6/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       1/6/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       1/6/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       1/6/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/6/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/6/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.75
       1/6/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.38
       1/6/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   SN0019   Owner Operator   Permits                        ID06:2018 - 33461                         11
       1/6/2018    709   SN0019   Owner Operator   Permits                        IL02:2018 - 33461                       3.75
       1/6/2018    709   SN0019   Owner Operator   Permits                        NM07:2018 - 33461                        5.5
       1/6/2018    709   SN0019   Owner Operator   Permits                        OR16:2018 - 33461                        8.5
       1/6/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       1/6/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       1/6/2018    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
       1/6/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       1/6/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.51
       1/6/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   VB0015   Owner Operator   Permits                        ID06:2018 - Q1112                         11
       1/6/2018    709   VB0015   Owner Operator   Permits                        IL02:2018 - Q1112                       3.75
       1/6/2018    709   VB0015   Owner Operator   Permits                        NM07:2018 - Q1112                        5.5
       1/6/2018    709   VB0015   Owner Operator   Permits                        OR16:2018 - Q1112                        8.5
       1/6/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       1/6/2018    709   VB0015   Owner Operator   Repair Order                   CTMS - 208789 Repair                   80.42
       1/6/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 208649 Tractor Sub leas        242.03
       1/6/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       1/6/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       1/6/2018    709   VJ0006   Owner Operator   Broker Pre Pass                18109 PrePass Device                    12.5
       1/6/2018    709   VJ0006   Owner Operator   Broker Pre Pass                33961 PrePass Device                    12.5
       1/6/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       1/6/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       1/6/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
       1/6/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/6/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/6/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       1/6/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.88
       1/6/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.69
       1/6/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.66
       1/6/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.34
       1/6/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           22.8
       1/6/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.69
       1/6/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   VJ0006   Owner Operator   Permits                        ID06:2018 - 33961                         11
       1/6/2018    709   VJ0006   Owner Operator   Permits                        IL02:2018 - 33961                       3.75
       1/6/2018    709   VJ0006   Owner Operator   Permits                        NM07:2018 - 33961                        5.5
       1/6/2018    709   VJ0006   Owner Operator   Permits                        OR16:2018 - 33961                        8.5
       1/6/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       1/6/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       1/6/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       1/6/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       1/6/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       1/6/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       1/6/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       1/6/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.92
       1/6/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    709   WH0087   Owner Operator   Permits                        ID06:2018 - Q1239                         11
       1/6/2018    709   WH0087   Owner Operator   Permits                        IL02:2018 - Q1239                       3.75
       1/6/2018    709   WH0087   Owner Operator   Permits                        NM07:2018 - Q1239                        5.5
       1/6/2018    709   WH0087   Owner Operator   Permits                        OR16:2018 - Q1239                        8.5
       1/6/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       1/6/2018    709   WH0087   Owner Operator   Repair Order                   CTMS - 208705 repair                  411.24
       1/6/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 208650 Q1238 Lease             311.97
       1/6/2018    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       1/6/2018    742   AS0089   Owner Operator   Permits                        ID06:2018 - 33912                         11
       1/6/2018    742   AS0089   Owner Operator   Permits                        IL02:2018 - 33912                       3.75
       1/6/2018    742   AS0089   Owner Operator   Permits                        NM07:2018 - 33912                        5.5
       1/6/2018    742   AS0089   Owner Operator   Permits                        OR16:2018 - 33912                        8.5
       1/6/2018    742   AS0089   Owner Operator   Tire Purchase                  PO: 742-00363256 - PO System          189.78
       1/6/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       1/6/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13

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       1/6/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       1/6/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.12
       1/6/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.75
       1/6/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.23
       1/6/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.54
       1/6/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          236.2
       1/6/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.89
       1/6/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    742   BS0078   Owner Operator   Permits                        ID06:2018 - 33471                         11
       1/6/2018    742   BS0078   Owner Operator   Permits                        IL02:2018 - 33471                       3.75
       1/6/2018    742   BS0078   Owner Operator   Permits                        NM07:2018 - 33471                        5.5
       1/6/2018    742   BS0078   Owner Operator   Permits                        OR16:2018 - 33471                        8.5
       1/6/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       1/6/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       1/6/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       1/6/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       1/6/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                            6.5
       1/6/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.79
       1/6/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.92
       1/6/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    742   CA0089   Owner Operator   Permits                        ID06:2018 - 33987                         11
       1/6/2018    742   CA0089   Owner Operator   Permits                        NM07:2018 - 33987                        5.5
       1/6/2018    742   CA0089   Owner Operator   Permits                        OR16:2018 - 33987                        8.5
       1/6/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       1/6/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       1/6/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       1/6/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.93
       1/6/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.59
       1/6/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.25
       1/6/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    742   CT0085   Owner Operator   Permits                        ID06:2018 - Q13171                        11
       1/6/2018    742   CT0085   Owner Operator   Permits                        IL02:2018 - Q13171                      3.75
       1/6/2018    742   CT0085   Owner Operator   Permits                        NM07:2018 - Q13171                       5.5
       1/6/2018    742   CT0085   Owner Operator   Permits                        OR16:2018 - Q13171                       8.5
       1/6/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
       1/6/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       1/6/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 208689 Sub Lease Q13171        352.68
       1/6/2018    742   DA0067   Owner Operator   Arrears                        Credit Billing                         176.6
       1/6/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/6/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       1/6/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       1/6/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.33
       1/6/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    742   DA0067   Owner Operator   Permits                        ID06:2018 - 33847                         11
       1/6/2018    742   DA0067   Owner Operator   Permits                        IL02:2018 - 33847                       3.75
       1/6/2018    742   DA0067   Owner Operator   Permits                        NM07:2018 - 33847                        5.5
       1/6/2018    742   DA0067   Owner Operator   Permits                        OR16:2018 - 33847                        8.5
       1/6/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       1/6/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/6/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       1/6/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       1/6/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         781.95
       1/6/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.84
       1/6/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.76
       1/6/2018    742   DC0117   Owner Operator   Permits                        ID06:2018 - 34063                         11
       1/6/2018    742   DC0117   Owner Operator   Permits                        IL02:2018 - 34063                       3.75
       1/6/2018    742   DC0117   Owner Operator   Permits                        NM07:2018 - 34063                        5.5
       1/6/2018    742   DC0117   Owner Operator   Permits                        OR16:2018 - 34063                        8.5
       1/6/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       1/6/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       1/6/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                           0.99
       1/6/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.48
       1/6/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.44
       1/6/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    742   DS0254   Owner Operator   Permits1                       ID06:2017 - 33487                         11
       1/6/2018    742   DS0254   Owner Operator   Permits1                       IL02:2017 - 33487                       3.75
       1/6/2018    742   DS0254   Owner Operator   Permits1                       NM07:2017 - 33487                        5.5
       1/6/2018    742   DS0254   Owner Operator   Permits1                       NY13:2016 - 33487                       26.5
       1/6/2018    742   DS0254   Owner Operator   Permits1                       OR16:2017 - 33487                          8
       1/6/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79

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       1/6/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       1/6/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
       1/6/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       1/6/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       1/6/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.04
       1/6/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.53
       1/6/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.8
       1/6/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    742   EA0039   Owner Operator   Permits                        ID06:2018 - 33993                         11
       1/6/2018    742   EA0039   Owner Operator   Permits                        IL02:2018 - 33993                       3.75
       1/6/2018    742   EA0039   Owner Operator   Permits                        NM07:2018 - 33993                        5.5
       1/6/2018    742   EA0039   Owner Operator   Permits                        OR16:2018 - 33993                        8.5
       1/6/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       1/6/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       1/6/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       1/6/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          38.52
       1/6/2018    742   ED0041   Owner Operator   Repair Order                   TRACTOR 32897                          45.73
       1/6/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/6/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       1/6/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       1/6/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.48
       1/6/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.89
       1/6/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.45
       1/6/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.53
       1/6/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          375.3
       1/6/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
       1/6/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
       1/6/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    742   EN0016   Owner Operator   Permits                        ID06:2018 - 32947                         11
       1/6/2018    742   EN0016   Owner Operator   Permits                        IL02:2018 - 32947                       3.75
       1/6/2018    742   EN0016   Owner Operator   Permits                        NM07:2018 - 32947                        5.5
       1/6/2018    742   EN0016   Owner Operator   Permits                        OR16:2018 - 32947                        8.5
       1/6/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       1/6/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/6/2018    742   EN0016   Owner Operator   Repair Order                   CTMS - 208744 Repair                  149.43
       1/6/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       1/6/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       1/6/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       1/6/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       1/6/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       1/6/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       1/6/2018    742   IK0012   Owner Operator   Advance                        New Hire Equip SL 402-092844            100
       1/6/2018    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
       1/6/2018    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
       1/6/2018    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    742   IK0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.79
       1/6/2018    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
       1/6/2018    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
       1/6/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       1/6/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       1/6/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.88
       1/6/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.41
       1/6/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2017 - 34082                       100
       1/6/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
       1/6/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    742   MS0230   Owner Operator   Permits                        ID06:2018 - 34082                         11
       1/6/2018    742   MS0230   Owner Operator   Permits                        IL02:2018 - 34082                       3.75
       1/6/2018    742   MS0230   Owner Operator   Permits                        NM07:2018 - 34082                        5.5
       1/6/2018    742   MS0230   Owner Operator   Permits                        OR16:2018 - 34082                        8.5
       1/6/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       1/6/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       1/6/2018    742   MT0112   Owner Operator   24 HOUR DISABILITY             L&H                                   126.94
       1/6/2018    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                    20.17
       1/6/2018    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       1/6/2018    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       1/6/2018    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                            500
       1/6/2018    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       1/6/2018    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
       1/6/2018    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         667.09
       1/6/2018    742   MT0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           200

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       1/6/2018    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    742   MT0112   Owner Operator   Permits                        ID06:2018 - Q1247                         11
       1/6/2018    742   MT0112   Owner Operator   Permits                        IL02:2018 - Q1247                       3.75
       1/6/2018    742   MT0112   Owner Operator   Permits                        NM07:2018 - Q1247                        5.5
       1/6/2018    742   MT0112   Owner Operator   Permits                        OR16:2018 - Q1247                        8.5
       1/6/2018    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                72.57
       1/6/2018    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
       1/6/2018    742   MT0112   Owner Operator   Truck Payment                  CTMS - 208645 Q1247 Sub Lease         311.97
       1/6/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       1/6/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       1/6/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.24
       1/6/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    742   NG0024   Owner Operator   Permits                        ID06:2018 - 33252                         11
       1/6/2018    742   NG0024   Owner Operator   Permits                        IL02:2018 - 33252                       3.75
       1/6/2018    742   NG0024   Owner Operator   Permits                        NM07:2018 - 33252                        5.5
       1/6/2018    742   NG0024   Owner Operator   Permits                        OR16:2018 - 33252                        8.5
       1/6/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       1/6/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       1/6/2018    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00362548 - PO System          111.74
       1/6/2018    742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845             100
       1/6/2018    742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845             100
       1/6/2018    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       1/6/2018    742   NK0013   Owner Operator   Broker Pre Pass                PREP CXL/RETURNED                       -100
       1/6/2018    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
       1/6/2018    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
       1/6/2018    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                             100
       1/6/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                             200
       1/6/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/6/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/6/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.53
       1/6/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                            360
       1/6/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.41
       1/6/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                            376
       1/6/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.73
       1/6/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.38
       1/6/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.45
       1/6/2018    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    742   NK0013   Owner Operator   Permits                        ID06:2018 - 34038                         11
       1/6/2018    742   NK0013   Owner Operator   Permits                        IL02:2018 - 34038                       3.75
       1/6/2018    742   NK0013   Owner Operator   Permits                        NM07:2018 - 34038                        5.5
       1/6/2018    742   NK0013   Owner Operator   Permits                        OR16:2018 - 34038                        8.5
       1/6/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
       1/6/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       1/6/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       1/6/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
       1/6/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
       1/6/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       1/6/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       1/6/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       1/6/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       1/6/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       1/6/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       1/6/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       1/6/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.63
       1/6/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/6/2018    742   RS0342   Owner Operator   Permits                        ID06:2018 - 33738                         11
       1/6/2018    742   RS0342   Owner Operator   Permits                        IL02:2018 - 33738                       3.75
       1/6/2018    742   RS0342   Owner Operator   Permits                        NM07:2018 - 33738                        5.5
       1/6/2018    742   RS0342   Owner Operator   Permits                        OR16:2018 - 33738                        8.5
       1/6/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       1/6/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       1/6/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842             100
       1/6/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       1/6/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 208702 fuel                       250
       1/6/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       1/6/2018    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/6/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54

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       1/6/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
       1/6/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                   58.6
       1/6/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism          2.5
       1/6/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841        100
       1/6/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
       1/6/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                       8
       1/6/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/6/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                     248.96
       1/6/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                     398.23
       1/6/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                     256.18
       1/6/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                     283.46
       1/6/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
       1/6/2018    742   TH0130   Owner Operator   Permits                        ID06:2018 - 33991                     11
       1/6/2018    742   TH0130   Owner Operator   Permits                        IL02:2018 - 33991                   3.75
       1/6/2018    742   TH0130   Owner Operator   Permits                        NM07:2018 - 33991                    5.5
       1/6/2018    742   TH0130   Owner Operator   Permits                        OR16:2018 - 33991                    8.5
       1/6/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   37.5
       1/6/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism          2.5
       1/6/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                      8.75
       1/6/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                      8.75
       1/6/2018    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                12.5
       1/6/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                      13
       1/6/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                      13
       1/6/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                      13
       1/6/2018    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/6/2018    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/6/2018    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/6/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     377.57
       1/6/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     241.46
       1/6/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     510.97
       1/6/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     596.58
       1/6/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        3.3
       1/6/2018    843   EI0003   Owner Operator   Miscellaneous                  BELLE CHA,LA to JEFFERSONVI,IN    209.09
       1/6/2018    843   EI0003   Owner Operator   Miscellaneous                  JEFFERSONVIL,IN to MARYSVIL,OH     65.54
       1/6/2018    843   EI0003   Owner Operator   Miscellaneous                  LA PORTE,TX to PASADENA,TX          3.77
       1/6/2018    843   EI0003   Owner Operator   Miscellaneous                  MARYSVIL,OH to JEFFERSONVIL,IN     65.54
       1/6/2018    843   EI0003   Owner Operator   Miscellaneous                  PASADENA,TX to PEARLAND,TX          4.06
       1/6/2018    843   EI0003   Owner Operator   Miscellaneous                  PEARLAND,TX to PHILADELPHIA,PA    450.66
       1/6/2018    843   EI0003   Owner Operator   Miscellaneous                  PHILADELPHI,PA to SAINT ROS,LA    359.02
       1/6/2018    843   EI0003   Owner Operator   Miscellaneous                  SAINT ROS,LA to BELLE CHASS,LA      7.83
       1/6/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
       1/6/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
       1/6/2018    843   EI0003   Owner Operator   Permits                        IL02:2018 - 33949                   3.75
       1/6/2018    843   EI0003   Owner Operator   Permits                        NM07:2018 - 33949                    5.5
       1/6/2018    843   EI0003   Owner Operator   Permits                        OR16:2018 - 33949                    8.5
       1/6/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                      74.22
       1/6/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                      74.22
       1/6/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism              2.5
       1/6/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism              2.5
      1/13/2018    709   AN0007   Owner Operator   Advance                        11/6/17 Spill s/u pmts              250
      1/13/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL        8.75
      1/13/2018    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 21157a      9.84
      1/13/2018    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 21157a      9.84
      1/13/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                     13
      1/13/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                         50
      1/13/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/13/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD         7.82
      1/13/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te       2.5
      1/13/2018    709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS NORTH 11     10.08
      1/13/2018    709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS NORTH 11     10.08
      1/13/2018    709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS SOUTH 11     10.08
      1/13/2018    709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS SOUTH 11     10.08
      1/13/2018    709   AR0064   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                   0.17
      1/13/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD         8.95
      1/13/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL        8.75
      1/13/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                        100
      1/13/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                        100
      1/13/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      1/13/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      1/13/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       260
      1/13/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                     109.56
      1/13/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                     123.84
      1/13/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                     300.02

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      1/13/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.01
      1/13/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      1/13/2018    709   AV0021   Owner Operator   T Chek Fee                     ExpressCheck Fee                        10.4
      1/13/2018    709   AV0021   Owner Operator   T Chek Fee                     Towing Q13169                         508.24
      1/13/2018    709   AV0021   Owner Operator   T Chek Fee                     Tractor Repair Q13169                  39.09
      1/13/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      1/13/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      1/13/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      1/13/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      1/13/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      1/13/2018    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK Q13168          9.84
      1/13/2018    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK Q13168          9.84
      1/13/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      1/13/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.55
      1/13/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.23
      1/13/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.28
      1/13/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.71
      1/13/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.18
      1/13/2018    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         300.23
      1/13/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      1/13/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 208857 Q13168 sub lease        352.68
      1/13/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/13/2018    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32920           9.84
      1/13/2018    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32920           9.84
      1/13/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      1/13/2018    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      1/13/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/13/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/13/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.85
      1/13/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.41
      1/13/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      1/13/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      1/13/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/13/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      1/13/2018    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      1/13/2018    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32864           9.84
      1/13/2018    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32864           9.84
      1/13/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      1/13/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.89
      1/13/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.97
      1/13/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.04
      1/13/2018    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.9
      1/13/2018    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.1
      1/13/2018    709   cr0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.19
      1/13/2018    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      1/13/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      1/13/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      1/13/2018    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1201          19.68
      1/13/2018    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1201           9.84
      1/13/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      1/13/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      1/13/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 208862 Q1201                   278.76
      1/13/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/13/2018    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-20        -303.92
      1/13/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           0.37
      1/13/2018    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-6            21.82
      1/13/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.64
      1/13/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      1/13/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/13/2018    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32915           9.84
      1/13/2018    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32915           9.84
      1/13/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      1/13/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/13/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/13/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.87
      1/13/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         684.44

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      1/13/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      1/13/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      1/13/2018    709   DS0049   Owner Operator   Toll Charges                   32915 Richmond 3                          25
      1/13/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      1/13/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      1/13/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      1/13/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/13/2018    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33051           9.84
      1/13/2018    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33051           9.84
      1/13/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      1/13/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/13/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/13/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/13/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/13/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/13/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.83
      1/13/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          35.01
      1/13/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         602.47
      1/13/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.84
      1/13/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      1/13/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      1/13/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      1/13/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/13/2018    709   EE0011   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32910           9.84
      1/13/2018    709   EE0011   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32910           9.84
      1/13/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      1/13/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/13/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/13/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.01
      1/13/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.24
      1/13/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.07
      1/13/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.66
      1/13/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      1/13/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      1/13/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      1/13/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      1/13/2018    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33828           9.84
      1/13/2018    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33828           9.84
      1/13/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      1/13/2018    709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-6           577.44
      1/13/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.06
      1/13/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          515.8
      1/13/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      1/13/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      1/13/2018    709   EG0062   Owner Operator   Tire Fee                       Tire Fee: 2089025                         32
      1/13/2018    709   EG0062   Owner Operator   Tire Purchase                  PO: 709-00361623 - PO System          470.25
      1/13/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      1/13/2018    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33846           9.84
      1/13/2018    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33846           9.84
      1/13/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      1/13/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.17
      1/13/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.16
      1/13/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           378
      1/13/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.37
      1/13/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      1/13/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      1/13/2018    709   EO0014   Owner Operator   Repair Order                   CTMS - 209007 Parts                    60.17
      1/13/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      1/13/2018    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33040           9.84
      1/13/2018    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33040           9.84
      1/13/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      1/13/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.15
      1/13/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.02
      1/13/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.73
      1/13/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      1/13/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 208938 truck lease 3304        434.29

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      1/13/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   6.07
      1/13/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      1/13/2018    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1110           9.84
      1/13/2018    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1110           9.84
      1/13/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      1/13/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      1/13/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.47
      1/13/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      1/13/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 208649 Lease                    52.32
      1/13/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 208861 Lease                   252.11
      1/13/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      1/13/2018    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1263           9.84
      1/13/2018    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1263           9.84
      1/13/2018    709   GW0043   Owner Operator   Broker Pre Pass                Q1263 PrePass Device                    12.5
      1/13/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      1/13/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1263                           8
      1/13/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/13/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/13/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/13/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/13/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/13/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/13/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.21
      1/13/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.58
      1/13/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.65
      1/13/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
      1/13/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      1/13/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 208322 Truck Rental            124.32
      1/13/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 208530 Truck Rental              500
      1/13/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      1/13/2018    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK Q13170          9.84
      1/13/2018    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK Q13170          9.84
      1/13/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      1/13/2018    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.85
      1/13/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      1/13/2018    709   HC0023   Owner Operator   Tire Fee                       Tire Fee: 2088825                          8
      1/13/2018    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00361856 - PO System          183.42
      1/13/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 208858 Q13170                  352.68
      1/13/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      1/13/2018    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33180           9.84
      1/13/2018    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33180           9.84
      1/13/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      1/13/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/13/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/13/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.16
      1/13/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.38
      1/13/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.69
      1/13/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      1/13/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      1/13/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          15.64
      1/13/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      1/13/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/13/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.16
      1/13/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.03
      1/13/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.71
      1/13/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      1/13/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      1/13/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/13/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      1/13/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      1/13/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      1/13/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      1/13/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      1/13/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300

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      1/13/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/13/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/13/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      1/13/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          453
      1/13/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        423.72
      1/13/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.1
      1/13/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        416.59
      1/13/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                     32.99
      1/13/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/13/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      1/13/2018    709   JC0292   Owner Operator   Repair Order                   CTMS - 208842 Repair                 331.37
      1/13/2018    709   JC0292   Owner Operator   Tire Fee                       Tire Fee: 2089054                         8
      1/13/2018    709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00362671 - PO System         211.82
      1/13/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      1/13/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 208936 Q13197 Lease           276.63
      1/13/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/13/2018    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32908          9.84
      1/13/2018    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32908          9.84
      1/13/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      1/13/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      1/13/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/13/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      1/13/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        211.16
      1/13/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.75
      1/13/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        498.06
      1/13/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                     32.99
      1/13/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/13/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      1/13/2018    709   JG0017   Owner Operator   Repair Order                   CTMS - 209009 Repair                     70
      1/13/2018    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                      15
      1/13/2018    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       4
      1/13/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      1/13/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/13/2018    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32909          9.84
      1/13/2018    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32909          9.84
      1/13/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      1/13/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      1/13/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/13/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/13/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      1/13/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/13/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        450.68
      1/13/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.8
      1/13/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                     32.99
      1/13/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                     32.99
      1/13/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/13/2018    709   JG0072   Owner Operator   Permits                        ID06:2018 - 32909                        11
      1/13/2018    709   JG0072   Owner Operator   Permits                        IL02:2018 - 32909                      3.75
      1/13/2018    709   JG0072   Owner Operator   Permits                        NM07:2018 - 32909                       5.5
      1/13/2018    709   JG0072   Owner Operator   Permits                        OR16:2018 - 32909                       8.5
      1/13/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      1/13/2018    709   JG0072   Owner Operator   Repair Order                   CTMS - 208883 Repair                 156.64
      1/13/2018    709   JG0072   Owner Operator   Tire Fee                       Tire Fee: 2089643                         8
      1/13/2018    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00363641 - PO System         182.19
      1/13/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      1/13/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        248.52
      1/13/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      1/13/2018    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33669         19.68
      1/13/2018    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33669          9.84
      1/13/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      1/13/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        202.12
      1/13/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/13/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
      1/13/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      1/13/2018    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33438          9.84
      1/13/2018    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33438          9.84
      1/13/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/13/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      1/13/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      1/13/2018    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1203          9.84
      1/13/2018    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1203          9.84
      1/13/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      1/13/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        460.38

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      1/13/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          70.66
      1/13/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      1/13/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 208823 Truck Lease             278.76
      1/13/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      1/13/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      1/13/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      1/13/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          38.94
      1/13/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/13/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      1/13/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/13/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/13/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.61
      1/13/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           193
      1/13/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.01
      1/13/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           520
      1/13/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      1/13/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      1/13/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/13/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      1/13/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      1/13/2018    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1111           9.84
      1/13/2018    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1111           9.84
      1/13/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      1/13/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      1/13/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 208810 Lease Q1111             252.11
      1/13/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      1/13/2018    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33655           9.84
      1/13/2018    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33655           9.84
      1/13/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      1/13/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/13/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/13/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/13/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/13/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         677.33
      1/13/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.96
      1/13/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      1/13/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      1/13/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/13/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/13/2018    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 34005           9.84
      1/13/2018    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 34005           9.84
      1/13/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      1/13/2018    709   MA0092   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-20         -75.02
      1/13/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.39
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA          1.07
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           5.6
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  SOUTH GATE,CA to SOUTH GATE,CA           1.3
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.95
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             8.4
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.95
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             8.4
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.95
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA             8.4
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  SOUTH GATE,CA to TORRANCE,CA            1.95
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA            1.95
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA             8.4
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA            1.95
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA             8.4
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA            1.95
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA             8.4
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA            1.95
      1/13/2018    709   MA0092   Owner Operator   Miscellaneous                  TORRANCE,CA to SOUTH GATE,CA             8.4
      1/13/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   MA0092   Owner Operator   Permits                        ID06:2018 - 34005                         11
      1/13/2018    709   MA0092   Owner Operator   Permits                        IL02:2018 - 34005                       3.75
      1/13/2018    709   MA0092   Owner Operator   Permits                        NM07:2018 - 34005                        5.5
      1/13/2018    709   MA0092   Owner Operator   Permits                        OR16:2018 - 34005                        8.5
      1/13/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69

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      1/13/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      1/13/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      1/13/2018    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1113           9.84
      1/13/2018    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1113           9.84
      1/13/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      1/13/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.87
      1/13/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.53
      1/13/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.06
      1/13/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      1/13/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 208857 Q1113 Lease             252.11
      1/13/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/13/2018    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-20        -203.13
      1/13/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.08
      1/13/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.06
      1/13/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      1/13/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/13/2018    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/13/2018    709   MM0093   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32931           9.84
      1/13/2018    709   MM0093   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32931           9.84
      1/13/2018    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      1/13/2018    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.14
      1/13/2018    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.97
      1/13/2018    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.49
      1/13/2018    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.23
      1/13/2018    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      1/13/2018    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      1/13/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/13/2018    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32904           9.84
      1/13/2018    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32904           9.84
      1/13/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      1/13/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/13/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              50
      1/13/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      1/13/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.64
      1/13/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      1/13/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      1/13/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/13/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      1/13/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/13/2018    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1108           9.84
      1/13/2018    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1108           9.84
      1/13/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      1/13/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      1/13/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          80.11
      1/13/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/13/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/13/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           388
      1/13/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.42
      1/13/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.23
      1/13/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.88
      1/13/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      1/13/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 208552 Lease                   215.66
      1/13/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 208728 Lease                   215.66
      1/13/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 208992 Lease                   215.66
      1/13/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      1/13/2018    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 21412b          9.84
      1/13/2018    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 21412b          9.84
      1/13/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      1/13/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/13/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/13/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.64
      1/13/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           381
      1/13/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      1/13/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      1/13/2018    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 73130           9.84
      1/13/2018    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 73130           9.84
      1/13/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13

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      1/13/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      1/13/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 208857 Truck 73130 Leas        196.65
      1/13/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      1/13/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      1/13/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      1/13/2018    709   RC0030   Owner Operator   Truck Payment                  CTMS - 208823 Down Payment lo         303.55
      1/13/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      1/13/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/13/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/13/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/13/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.69
      1/13/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.33
      1/13/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      1/13/2018    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         261.51
      1/13/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      1/13/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      1/13/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/13/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/13/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         609.04
      1/13/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.74
      1/13/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      1/13/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      1/13/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      1/13/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/13/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      1/13/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/13/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/13/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.65
      1/13/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          451.6
      1/13/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.82
      1/13/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      1/13/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      1/13/2018    709   RL0062   Owner Operator   Tire Fee                       Tire Fee: 2089431                         16
      1/13/2018    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00363020 - PO System          204.29
      1/13/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      1/13/2018    709   RL0180   Owner Operator   Advance                        Acc clm 67098 s/u 8 pmts                250
      1/13/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/13/2018    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 34012           9.84
      1/13/2018    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 34012           9.84
      1/13/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      1/13/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      1/13/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.47
      1/13/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.06
      1/13/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.5
      1/13/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.66
      1/13/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.48
      1/13/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      1/13/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      1/13/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      1/13/2018    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33664           9.84
      1/13/2018    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33664           9.84
      1/13/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      1/13/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.96
      1/13/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          416.1
      1/13/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      1/13/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      1/13/2018    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1202           9.84
      1/13/2018    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1202           9.84
      1/13/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      1/13/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                        -420.99
      1/13/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.62
      1/13/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      1/13/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 208823 Q1202 Truck Leas        278.76

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      1/13/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      1/13/2018    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1248           9.84
      1/13/2018    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1248           9.84
      1/13/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      1/13/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/13/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/13/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         583.76
      1/13/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.91
      1/13/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.12
      1/13/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      1/13/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      1/13/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 208862 Q1248                   311.97
      1/13/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      1/13/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      1/13/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/13/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/13/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/13/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/13/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/13/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.09
      1/13/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.31
      1/13/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.83
      1/13/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      1/13/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      1/13/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      1/13/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      1/13/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      1/13/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.05
      1/13/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.2
      1/13/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.08
      1/13/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      1/13/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      1/13/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 208819 Sub Lease               388.33
      1/13/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      1/13/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/13/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/13/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/13/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/13/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.84
      1/13/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.65
      1/13/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.08
      1/13/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.21
      1/13/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.5
      1/13/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      1/13/2018    709   SN0019   Owner Operator   Repair Order                   CTMS - 208841 Repair                      80
      1/13/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      1/13/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      1/13/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.19
      1/13/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.83
      1/13/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      1/13/2018    709   VB0015   Owner Operator   Repair Order                   CTMS - 208834 Parts                    298.8
      1/13/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 208860 Tractor Sub leas        242.03
      1/13/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      1/13/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/13/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      1/13/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/13/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           231
      1/13/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.12
      1/13/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.26
      1/13/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.96
      1/13/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      1/13/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/13/2018    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33407           9.84
      1/13/2018    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33407          19.68
      1/13/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      1/13/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      1/13/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      1/13/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      1/13/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      1/13/2018    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1239           9.84
      1/13/2018    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1239           9.84
      1/13/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      1/13/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/13/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/13/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.74
      1/13/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.87
      1/13/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.1
      1/13/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          421.9
      1/13/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.77
      1/13/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      1/13/2018    709   WH0087   Owner Operator   Tire Fee                       Tire Fee: 2088846                         16
      1/13/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00361622 - PO System           88.17
      1/13/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 208862 Q1238 Lease             311.97
      1/13/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      1/13/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.47
      1/13/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   AP0047   Owner Operator   Permits                        ID06:2018 - 32604                         11
      1/13/2018    742   AP0047   Owner Operator   Permits                        IL02:2018 - 32604                       3.75
      1/13/2018    742   AP0047   Owner Operator   Permits                        NM07:2018 - 32604                        5.5
      1/13/2018    742   AP0047   Owner Operator   Permits                        OR16:2018 - 32604                        8.5
      1/13/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      1/13/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      1/13/2018    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      1/13/2018    742   AS0089   Owner Operator   Tire Purchase                  PO: 742-00363256 - PO System          189.75
      1/13/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/13/2018    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33471           9.84
      1/13/2018    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33471           9.84
      1/13/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      1/13/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/13/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/13/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.26
      1/13/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.74
      1/13/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.16
      1/13/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      1/13/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/13/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      1/13/2018    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33987           9.84
      1/13/2018    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33987           9.84
      1/13/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      1/13/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.91
      1/13/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         597.91
      1/13/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      1/13/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      1/13/2018    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK Q13171          9.84
      1/13/2018    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK Q13171          9.84
      1/13/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      1/13/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.45
      1/13/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.16
      1/13/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.89
      1/13/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.35
      1/13/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      1/13/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      1/13/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Benicia 2                          25
      1/13/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 12                25
      1/13/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 4                 25
      1/13/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 7                 25
      1/13/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 8                 25
      1/13/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 208934 Sub Lease Q13171        352.68
      1/13/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/13/2018    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33847           9.84
      1/13/2018    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33847           9.84
      1/13/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      1/13/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.01
      1/13/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           377
      1/13/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             33

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      1/13/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.01
      1/13/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.48
      1/13/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           425
      1/13/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           14.2
      1/13/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      1/13/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/13/2018    742   DA0067   Owner Operator   Repair Order                   CTMS - 209056 repair                    250
      1/13/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      1/13/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         685.63
      1/13/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.52
      1/13/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      1/13/2018    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33487           9.84
      1/13/2018    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33487           9.84
      1/13/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      1/13/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/13/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/13/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.94
      1/13/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.29
      1/13/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.83
      1/13/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      1/13/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      1/13/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 7                  25
      1/13/2018    742   DS0254   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  25
      1/13/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 208768 Trk 33487 Lease          434.2
      1/13/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 209036 Trk 33487 Lease          434.2
      1/13/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      1/13/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/13/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      1/13/2018    742   EA0039   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-20        -765.48
      1/13/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.71
      1/13/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         594.23
      1/13/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      1/13/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/13/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      1/13/2018    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32897           9.84
      1/13/2018    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32897           9.84
      1/13/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      1/13/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      1/13/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      1/13/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.22
      1/13/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           8.98
      1/13/2018    742   ED0041   Owner Operator   Permits                        ID06:2018 - 32897                         11
      1/13/2018    742   ED0041   Owner Operator   Permits                        IL02:2018 - 32897                       3.75
      1/13/2018    742   ED0041   Owner Operator   Permits                        NM07:2018 - 32897                        5.5
      1/13/2018    742   ED0041   Owner Operator   Permits                        OR16:2018 - 32897                        8.5
      1/13/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      1/13/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      1/13/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      1/13/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      1/13/2018    742   ED0041   Owner Operator   Tire Fee                       Tire Fee: 2088817                         16
      1/13/2018    742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00361529 - PO System          403.94
      1/13/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                          141.25
      1/13/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.94
      1/13/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      1/13/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      1/13/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      1/13/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      1/13/2018    742   IK0012   Owner Operator   Advance                        New Hire Equip SL 402-092844            100
      1/13/2018    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             8.75
      1/13/2018    742   IK0012   Owner Operator   Communication Charge           PNet Hware 33922                          13
      1/13/2018    742   IK0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             35.16
      1/13/2018    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           2.5
      1/13/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/13/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75

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      1/13/2018    742   MH0117   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33296           9.84
      1/13/2018    742   MH0117   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33296           9.84
      1/13/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      1/13/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      1/13/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      1/13/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   MH0117   Owner Operator   Permits                        ID06:2018 - 33296                         11
      1/13/2018    742   MH0117   Owner Operator   Permits                        NM07:2018 - 33296                        5.5
      1/13/2018    742   MH0117   Owner Operator   Permits                        OR16:2018 - 33296                        8.5
      1/13/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      1/13/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      1/13/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/13/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/13/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      1/13/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      1/13/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.37
      1/13/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.2
      1/13/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.35
      1/13/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2017 - 34082                       100
      1/13/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      1/13/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      1/13/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      1/13/2018    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                              44
      1/13/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      1/13/2018    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33252           9.84
      1/13/2018    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33252           9.84
      1/13/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      1/13/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/13/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/13/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.71
      1/13/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.47
      1/13/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.17
      1/13/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.81
      1/13/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.29
      1/13/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      1/13/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/13/2018    742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845            100
      1/13/2018    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/13/2018    742   NK0013   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 34038           9.84
      1/13/2018    742   NK0013   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 34038           9.84
      1/13/2018    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
      1/13/2018    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/13/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/13/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.46
      1/13/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.73
      1/13/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                           390
      1/13/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.85
      1/13/2018    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      1/13/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      1/13/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/13/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      1/13/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    742   OS0018   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
      1/13/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      1/13/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      1/13/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      1/13/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      1/13/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      1/13/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/13/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/13/2018    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32969           9.84
      1/13/2018    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32969           9.84
      1/13/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13

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      1/13/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      1/13/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      1/13/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/13/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/13/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/13/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/13/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/13/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.71
      1/13/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.74
      1/13/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.8
      1/13/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.9
      1/13/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.46
      1/13/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.06
      1/13/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.71
      1/13/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      1/13/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      1/13/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      1/13/2018    742   PC0012   Owner Operator   Permits                        ID06:2018 - 32969                         11
      1/13/2018    742   PC0012   Owner Operator   Permits                        IL02:2018 - 32969                       3.75
      1/13/2018    742   PC0012   Owner Operator   Permits                        NM07:2018 - 32969                        5.5
      1/13/2018    742   PC0012   Owner Operator   Permits                        OR16:2018 - 32969                        8.5
      1/13/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      1/13/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      1/13/2018    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 10                 25
      1/13/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      1/13/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      1/13/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      1/13/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/13/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/13/2018    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q13157          9.84
      1/13/2018    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q13157          9.84
      1/13/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/13/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/13/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/13/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.81
      1/13/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.33
      1/13/2018    742   RN0054   Owner Operator   Miscellaneous                  PITTSBUR,CA to SAN FRANCISC,CA          5.98
      1/13/2018    742   RN0054   Owner Operator   Miscellaneous                  PITTSBUR,CA to SAN FRANCISC,CA         25.76
      1/13/2018    742   RN0054   Owner Operator   Miscellaneous                  RICHMOND,CA to PITTSBURG,CA            15.89
      1/13/2018    742   RN0054   Owner Operator   Miscellaneous                  RICHMOND,CA to PITTSBURG,CA             4.94
      1/13/2018    742   RN0054   Owner Operator   Miscellaneous                  SAN FRANCISC,CA to PITTSBUR,CA          5.98
      1/13/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   RN0054   Owner Operator   Permits                        ID06:2018 - Q13157                        11
      1/13/2018    742   RN0054   Owner Operator   Permits                        IL02:2018 - Q13157                      3.75
      1/13/2018    742   RN0054   Owner Operator   Permits                        NM07:2018 - Q13157                       5.5
      1/13/2018    742   RN0054   Owner Operator   Permits                        OR16:2018 - Q13157                       8.5
      1/13/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      1/13/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      1/13/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/13/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/13/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 208312 Tractor Lease           353.28
      1/13/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      1/13/2018    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33738           9.84
      1/13/2018    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33738           9.84
      1/13/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      1/13/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.32
      1/13/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.22
      1/13/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      1/13/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      1/13/2018    742   RS0342   Owner Operator   Toll Charges                   33738/FG5287 Benicia 12                    5
      1/13/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      1/13/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      1/13/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 208832 fuel                      250
      1/13/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      1/13/2018    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      1/13/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      1/13/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      1/13/2018    742   SK0049   Owner Operator   Tire Fee                       Tire Fee: 2088878                          8

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      1/13/2018    742   SK0049   Owner Operator   Tire Purchase                  PO: 742-00362409 - PO System          252.51
      1/13/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      1/13/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/13/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      1/13/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.59
      1/13/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      1/13/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/13/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      1/13/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      1/13/2018    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/13/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/13/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      1/13/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      1/20/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      1/20/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      1/20/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/20/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.81
      1/20/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      1/20/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      1/20/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      1/20/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      1/20/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      1/20/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      1/20/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      1/20/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      1/20/2018    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q13169          9.84
      1/20/2018    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q13169          9.84
      1/20/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/20/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/20/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/20/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/20/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/20/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/20/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.67
      1/20/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.11
      1/20/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.44
      1/20/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.94
      1/20/2018    709   AV0021   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     186.13
      1/20/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      1/20/2018    709   AV0021   Owner Operator   T Chek Fee                     ExpressCheck Fee                        5.76
      1/20/2018    709   AV0021   Owner Operator   T Chek Fee                     Tractor Repair Q13169                 576.38
      1/20/2018    709   AV0021   Owner Operator   T Chek Fee                     Tractor Repair Q13169                1000.71
      1/20/2018    709   AV0021   Owner Operator   Tire Fee                       PO: 905-02604673 Fee: Q13169               8
      1/20/2018    709   AV0021   Owner Operator   Tire Purchase                  PO: 905-02604673                      268.81
      1/20/2018    709   AV0021   Owner Operator   Tire Purchase                  PO: 905-02604673                      268.81
      1/20/2018    709   AV0021   Owner Operator   Tire Purchase                  PO: 905-02604673                      268.81
      1/20/2018    709   AV0021   Owner Operator   Tire Purchase                  PO: 905-02604673                      268.81
      1/20/2018    709   AV0021   Owner Operator   Tire Purchase                  PO: 905-02604673                      120.11
      1/20/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 208184 Q13169 Sublease         352.68
      1/20/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      1/20/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      1/20/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/20/2018    709   BM0030   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     417.42
      1/20/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      1/20/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      1/20/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      1/20/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      1/20/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.15
      1/20/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.37
      1/20/2018    709   CC0134   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     188.01
      1/20/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      1/20/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 209121 Q13168 sub lease        352.68
      1/20/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/20/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      1/20/2018    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      1/20/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.12
      1/20/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.22

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      1/20/2018    709   CM0119   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      57.06
      1/20/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      1/20/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      1/20/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/20/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      1/20/2018    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      1/20/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      1/20/2018    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-27        -115.92
      1/20/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.46
      1/20/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.75
      1/20/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.29
      1/20/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.22
      1/20/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.05
      1/20/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.22
      1/20/2018    709   CR0064   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     219.09
      1/20/2018    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      1/20/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      1/20/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      1/20/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      1/20/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.86
      1/20/2018    709   CS0091   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      65.09
      1/20/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      1/20/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 209127 Q1201                   278.76
      1/20/2018    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-13          131.86
      1/20/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         253.74
      1/20/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.13
      1/20/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      1/20/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      1/20/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      1/20/2018    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1245           9.84
      1/20/2018    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1245           9.84
      1/20/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      1/20/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      1/20/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/20/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/20/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.59
      1/20/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.01
      1/20/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.39
      1/20/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.19
      1/20/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.62
      1/20/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.35
      1/20/2018    709   DL0107   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     146.22
      1/20/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      1/20/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      1/20/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      1/20/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      1/20/2018    709   DL0107   Owner Operator   Tire Fee                       Tire Fee: 2088766                          8
      1/20/2018    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00361489 - PO System          196.72
      1/20/2018    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00361489 - PO System          196.72
      1/20/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 208938 Sublease                338.99
      1/20/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 209177 Sublease                338.99
      1/20/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      1/20/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/20/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      1/20/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         681.27
      1/20/2018    709   DS0049   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     -13.85
      1/20/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      1/20/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      1/20/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      1/20/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      1/20/2018    709   DS0225   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     -43.35
      1/20/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      1/20/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/20/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13

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      1/20/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/20/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/20/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/20/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/20/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/20/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         668.71
      1/20/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         608.52
      1/20/2018    709   EA0003   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     196.67
      1/20/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      1/20/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      1/20/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      1/20/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/20/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      1/20/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/20/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/20/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.78
      1/20/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.37
      1/20/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.53
      1/20/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.37
      1/20/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          416.5
      1/20/2018    709   EE0011   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                       3.73
      1/20/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      1/20/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      1/20/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      1/20/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      1/20/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      1/20/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          506.3
      1/20/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.83
      1/20/2018    709   EG0062   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      60.66
      1/20/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      1/20/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      1/20/2018    709   EG0062   Owner Operator   Repair Order                   CTMS - 209272 Repair                   299.3
      1/20/2018    709   EG0062   Owner Operator   Tire Purchase                  PO: 709-00361623 - PO System          470.25
      1/20/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      1/20/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      1/20/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.09
      1/20/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.45
      1/20/2018    709   EO0014   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     107.15
      1/20/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      1/20/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      1/20/2018    709   EO0014   Owner Operator   Repair Order                   CTMS - 209239 Repair                    130
      1/20/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      1/20/2018    709   FS0039   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     -13.33
      1/20/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           4.58
      1/20/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/20/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   2.68
      1/20/2018    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 21521b          9.84
      1/20/2018    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 21521b          9.84
      1/20/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      1/20/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      1/20/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      1/20/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      1/20/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      1/20/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      1/20/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.92
      1/20/2018    709   GS0015   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     110.62
      1/20/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      1/20/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 209125 Lease                   252.11
      1/20/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      1/20/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      1/20/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/20/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/20/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/20/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/20/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      1/20/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.5
      1/20/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.31
      1/20/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.67
      1/20/2018    709   GW0043   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                       0.01
      1/20/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment            256
      1/20/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      1/20/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 209140 Q1109 Lease             302.85
      1/20/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      1/20/2018    709   HC0023   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     -17.04
      1/20/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           8.29
      1/20/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      1/20/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      1/20/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/20/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.91
      1/20/2018    709   HG0007   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                       45.2
      1/20/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      1/20/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      1/20/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/20/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.65
      1/20/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          348.9
      1/20/2018    709   IR0002   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     -19.92
      1/20/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      1/20/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      1/20/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/20/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      1/20/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      1/20/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      1/20/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      1/20/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      1/20/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
      1/20/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/20/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/20/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/20/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.09
      1/20/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.83
      1/20/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.04
      1/20/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.31
      1/20/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.47
      1/20/2018    709   JC0292   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     291.79
      1/20/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      1/20/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      1/20/2018    709   JC0292   Owner Operator   Repair Order                   CTMS - 209105 Repair                  331.37
      1/20/2018    709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00362671 - PO System          211.82
      1/20/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      1/20/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 209175 Q13197 Lease            276.63
      1/20/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/20/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      1/20/2018    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
      1/20/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      1/20/2018    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         2000
      1/20/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      1/20/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/20/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.19
      1/20/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          383.4
      1/20/2018    709   JG0017   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      51.93
      1/20/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      1/20/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      1/20/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      1/20/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/20/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      1/20/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             100
      1/20/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             100
      1/20/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             100
      1/20/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/20/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/20/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      1/20/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.8
      1/20/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.63
      1/20/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         541.28
      1/20/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.28
      1/20/2018    709   JG0072   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      143.9
      1/20/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      1/20/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      1/20/2018    709   JG0072   Owner Operator   Repair Order                   CTMS - 209159 Repair                     -70
      1/20/2018    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00363641 - PO System          182.19
      1/20/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      1/20/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/20/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      1/20/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/20/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/20/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.41
      1/20/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.07
      1/20/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.37
      1/20/2018    709   JG0092   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      -6.97
      1/20/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      1/20/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      1/20/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           9.19
      1/20/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      1/20/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      1/20/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.17
      1/20/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      1/20/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 209091 Truck Lease             278.76
      1/20/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/20/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      1/20/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/20/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/20/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/20/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.1
      1/20/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          177.5
      1/20/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.71
      1/20/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           418
      1/20/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.01
      1/20/2018    709   KP0004   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      556.7
      1/20/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      1/20/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      1/20/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/20/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      1/20/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      1/20/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      1/20/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      1/20/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 209076 Lease Q1111             252.11
      1/20/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      1/20/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      1/20/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         639.51
      1/20/2018    709   LS0023   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      -0.01
      1/20/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      1/20/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      1/20/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/20/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      1/20/2018    709   MA0092   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-13           75.02
      1/20/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/20/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.3
      1/20/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.63
      1/20/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.47
      1/20/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.35
      1/20/2018    709   MA0092   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      36.34
      1/20/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      1/20/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75

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      1/20/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      1/20/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.53
      1/20/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.37
      1/20/2018    709   ME0053   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      56.95
      1/20/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      1/20/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 209122 Q1113 Lease             252.11
      1/20/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/20/2018    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-13          203.13
      1/20/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.32
      1/20/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.16
      1/20/2018    709   MG0067   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     -24.13
      1/20/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      1/20/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/20/2018    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/20/2018    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      1/20/2018    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.45
      1/20/2018    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.76
      1/20/2018    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.85
      1/20/2018    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
      1/20/2018    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      1/20/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/20/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      1/20/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/20/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            225
      1/20/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.25
      1/20/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         749.33
      1/20/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      1/20/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      1/20/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/20/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      1/20/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/20/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      1/20/2018    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-27            -12
      1/20/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      1/20/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/20/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/20/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.46
      1/20/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.73
      1/20/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.9
      1/20/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.88
      1/20/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.41
      1/20/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.54
      1/20/2018    709   NB0029   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      50.99
      1/20/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      1/20/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 209221 Lease                   215.66
      1/20/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      1/20/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      1/20/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/20/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/20/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.15
      1/20/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.52
      1/20/2018    709   NG0005   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     118.55
      1/20/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      1/20/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      1/20/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      1/20/2018    709   NT9564   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     141.53
      1/20/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      1/20/2018    709   NT9564   Owner Operator   Repair Order                   CTMS - 209098 Parts                    60.12
      1/20/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 209121 Truck 73130 Leas        196.65
      1/20/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75

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      1/20/2018    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-27        -231.25
      1/20/2018    709   RC0030   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     602.78
      1/20/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      1/20/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      1/20/2018    709   RC0030   Owner Operator   Tire Fee                       Tire Fee: 2091069                          8
      1/20/2018    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00364372 - PO System            215
      1/20/2018    709   RC0030   Owner Operator   Truck Payment                  CTMS - 209091 Down Payment lo         303.55
      1/20/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      1/20/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/20/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/20/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/20/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.24
      1/20/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.01
      1/20/2018    709   RC0089   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      -26.8
      1/20/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      1/20/2018    709   RC0089   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         260.72
      1/20/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      1/20/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      1/20/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/20/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/20/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.14
      1/20/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.09
      1/20/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.67
      1/20/2018    709   RL0017   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     -11.02
      1/20/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      1/20/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      1/20/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      1/20/2018    709   RL0180   Owner Operator   Advance                        Acc clm 67098 s/u 8 pmts                250
      1/20/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/20/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      1/20/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/20/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.54
      1/20/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.34
      1/20/2018    709   RL0180   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     148.48
      1/20/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      1/20/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      1/20/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      1/20/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      1/20/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.52
      1/20/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.04
      1/20/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.24
      1/20/2018    709   RM0026   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      62.74
      1/20/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      1/20/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      1/20/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      1/20/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.33
      1/20/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      1/20/2018    709   RP0082   Owner Operator   Repair Order                   CTMS - 209240 Repair                  205.63
      1/20/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 209091 Q1202 Truck Leas        278.76
      1/20/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      1/20/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      1/20/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          427.4
      1/20/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.85
      1/20/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.64
      1/20/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.13
      1/20/2018    709   RR0123   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      118.7
      1/20/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      1/20/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      1/20/2018    709   RR0123   Owner Operator   Repair Order                   TRACTOR Q1248                          80.33
      1/20/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 209126 Q1248                   311.97
      1/20/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      1/20/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13

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      1/20/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/20/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.26
      1/20/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.38
      1/20/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.66
      1/20/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.91
      1/20/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.24
      1/20/2018    709   SB0009   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                       0.03
      1/20/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      1/20/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      1/20/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      1/20/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      1/20/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      1/20/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/20/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.92
      1/20/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.64
      1/20/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.33
      1/20/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.52
      1/20/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.33
      1/20/2018    709   SB0103   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     261.04
      1/20/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      1/20/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      1/20/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 209087 Sub Lease               388.33
      1/20/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      1/20/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/20/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/20/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.01
      1/20/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.94
      1/20/2018    709   SN0019   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      79.27
      1/20/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      1/20/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      1/20/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      1/20/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           362
      1/20/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           481
      1/20/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.62
      1/20/2018    709   VB0015   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      59.02
      1/20/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      1/20/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 209125 Tractor Sub leas        242.03
      1/20/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      1/20/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/20/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      1/20/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/20/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            120
      1/20/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            130
      1/20/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.3
      1/20/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
      1/20/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           7.06
      1/20/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.69
      1/20/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.82
      1/20/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.66
      1/20/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          271.3
      1/20/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.98
      1/20/2018    709   VJ0006   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      33.56
      1/20/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      1/20/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/20/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      1/20/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-27        -124.27
      1/20/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      1/20/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      1/20/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      1/20/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      1/20/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/20/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/20/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.38
      1/20/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.86
      1/20/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.59

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      1/20/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.46
      1/20/2018    709   WH0087   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     110.94
      1/20/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      1/20/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00361622 - PO System           88.17
      1/20/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 209127 Q1238 Lease             311.97
      1/20/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      1/20/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      1/20/2018    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      1/20/2018    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32604          19.68
      1/20/2018    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32604           9.84
      1/20/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      1/20/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      1/20/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      1/20/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.19
      1/20/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.86
      1/20/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.04
      1/20/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.43
      1/20/2018    742   AP0047   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     167.69
      1/20/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      1/20/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      1/20/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      1/20/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      1/20/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/20/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      1/20/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.71
      1/20/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.14
      1/20/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.04
      1/20/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.92
      1/20/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           570
      1/20/2018    742   BS0078   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     123.55
      1/20/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      1/20/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/20/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      1/20/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      1/20/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.44
      1/20/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.49
      1/20/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.28
      1/20/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.34
      1/20/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      1/20/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      1/20/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      1/20/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.65
      1/20/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.32
      1/20/2018    742   CT0085   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      44.32
      1/20/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      1/20/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      1/20/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 209173 Sub Lease Q13171        352.68
      1/20/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/20/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      1/20/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.65
      1/20/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.25
      1/20/2018    742   DA0067   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     290.74
      1/20/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      1/20/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/20/2018    742   DA0067   Owner Operator   Repair Order                   CTMS - 209159 towing                    250
      1/20/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      1/20/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/20/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.23

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      1/20/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.96
      1/20/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          624.1
      1/20/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.63
      1/20/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.49
      1/20/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      1/20/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      1/20/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/20/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/20/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/20/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.14
      1/20/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.6
      1/20/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.73
      1/20/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      1/20/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      1/20/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843             100
      1/20/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/20/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      1/20/2018    742   EA0039   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-13          765.48
      1/20/2018    742   EA0039   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-27         -253.8
      1/20/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/20/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.25
      1/20/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      1/20/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/20/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      1/20/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      1/20/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.44
      1/20/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.19
      1/20/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.56
      1/20/2018    742   ED0041   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     110.81
      1/20/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      1/20/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      1/20/2018    742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00361529 - PO System          403.94
      1/20/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/20/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                           58.75
      1/20/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/20/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.93
      1/20/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.66
      1/20/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         541.65
      1/20/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.87
      1/20/2018    742   EN0016   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                       39.9
      1/20/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      1/20/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      1/20/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/20/2018    742   EN0016   Owner Operator   Toll Charges                   32947 Benicia 12                          25
      1/20/2018    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 11                 25
      1/20/2018    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 12                 25
      1/20/2018    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 8                  25
      1/20/2018    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 9                  25
      1/20/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      1/20/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      1/20/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      1/20/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      1/20/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      1/20/2018    742   IK0012   Owner Operator   Advance                        Balance of NewHireEqp                 668.12
      1/20/2018    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL              -35
      1/20/2018    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD           -140.63
      1/20/2018    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter           -10
      1/20/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                       9.19
      1/20/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      1/20/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         180.81
      1/20/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/20/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      1/20/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/20/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      1/20/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/20/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      1/20/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      1/20/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50

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      1/20/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.61
      1/20/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.71
      1/20/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.1
      1/20/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.47
      1/20/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2017 - 34082                       100
      1/20/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      1/20/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      1/20/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      1/20/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      1/20/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      1/20/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.42
      1/20/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.97
      1/20/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          500.8
      1/20/2018    742   NG0024   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     110.39
      1/20/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      1/20/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/20/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/20/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      1/20/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/20/2018    742   OS0018   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.66
      1/20/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      1/20/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      1/20/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/20/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/20/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.71
      1/20/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.35
      1/20/2018    742   PC0012   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      58.15
      1/20/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/20/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/20/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.15
      1/20/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.51
      1/20/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.74
      1/20/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.36
      1/20/2018    742   RN0054   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     101.32
      1/20/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      1/20/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/20/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 208496 Tractor Lease           353.28
      1/20/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 208642 Tractor Lease           353.28
      1/20/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 208822 Tractor Lease           353.28
      1/20/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 209090 Tractor Lease           353.28
      1/20/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      1/20/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      1/20/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 209159 fuel                      250
      1/20/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      1/20/2018    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/20/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      1/20/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      1/20/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      1/20/2018    742   SK0049   Owner Operator   Tire Purchase                  PO: 742-00362409 - PO System          252.51
      1/20/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      1/20/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/20/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      1/20/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/20/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.94
      1/20/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.58
      1/20/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/20/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      1/20/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/27/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      1/27/2018    709   AN0007   Owner Operator   Broker Pre Pass                675433831 CXL/DRWZ/NOT RET              100
      1/27/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      1/27/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/27/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.92
      1/27/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      1/27/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      1/27/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      1/27/2018    709   AN0007   Owner Operator   Toll Charges                   21157A CATALINA VIEW SOUTH 10          21.96
      1/27/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      1/27/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      1/27/2018    709   AR0064   Owner Operator   FUEL TAX                       Oct 2017 Fuel Tax                     238.72
      1/27/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            6.7
      1/27/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      1/27/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      1/27/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      1/27/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/27/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.97
      1/27/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.05
      1/27/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.32
      1/27/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.18
      1/27/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.06
      1/27/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.89
      1/27/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.59
      1/27/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      1/27/2018    709   AV0021   Owner Operator   Tire Purchase                  PO: 905-02604673                      148.67
      1/27/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 208381 Q13169 Sublease         352.68
      1/27/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 208516 Q13169 Sublease         352.68
      1/27/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 208695 Q13169 Sublease         352.68
      1/27/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 208939 Q13169 Sublease         352.68
      1/27/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 209179 Q13169 Sublease         352.68
      1/27/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 209389 Q13169 Sublease         352.68
      1/27/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      1/27/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      1/27/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/27/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      1/27/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      1/27/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      1/27/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      1/27/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.99
      1/27/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.97
      1/27/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      1/27/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 209351 Q13168 sub lease        352.68
      1/27/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      1/27/2018    709   CM0119   Owner Operator   ESCROW                         Weekly Escrow                           300
      1/27/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/27/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/27/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.97
      1/27/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      1/27/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      1/27/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/27/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      1/27/2018    709   cr0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      1/27/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      1/27/2018    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-20          115.92
      1/27/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/27/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/27/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.98
      1/27/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.75
      1/27/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.52
      1/27/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           345
      1/27/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.04
      1/27/2018    709   cr0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   cr0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      1/27/2018    709   CR0064   Owner Operator   Toll Charges                   32864 Carquinez Bridge 11                 25
      1/27/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      1/27/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      1/27/2018    709   CS0091   Owner Operator   Broker Pre Pass                675256681 CXL/DRWZ/NOT RET              100
      1/27/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      1/27/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.98
      1/27/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      1/27/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 209356 Q1201                   278.76

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      1/27/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      1/27/2018    709   DL0107   Owner Operator   Broker Pre Pass                675151536 CXL/DRWZ/NOT RET              100
      1/27/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      1/27/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/27/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/27/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.09
      1/27/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.92
      1/27/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      1/27/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      1/27/2018    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00361489 - PO System          196.72
      1/27/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 209388 Sublease                338.99
      1/27/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      1/27/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      1/27/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/27/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/27/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.57
      1/27/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         566.89
      1/27/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.35
      1/27/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      1/27/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      1/27/2018    709   DS0049   Owner Operator   Toll Charges                   32915/WN55196 Benicia 12                  25
      1/27/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      1/27/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      1/27/2018    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-3          -75.02
      1/27/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      1/27/2018    709   DS0225   Owner Operator   Toll Charges                   33320 ACE Cross Keys                     0.4
      1/27/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      1/27/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/27/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      1/27/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      1/27/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      1/27/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      1/27/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/27/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/27/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/27/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/27/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.22
      1/27/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.96
      1/27/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.09
      1/27/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.95
      1/27/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      1/27/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      1/27/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      1/27/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      1/27/2018    709   EG0062   Owner Operator   Charge back by affiliate       CTMS - 209326 Trailer wash FG5           -50
      1/27/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      1/27/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.93
      1/27/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.81
      1/27/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      1/27/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      1/27/2018    709   EG0062   Owner Operator   Tire Purchase                  PO: 709-00361623 - PO System          470.25
      1/27/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      1/27/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      1/27/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.33
      1/27/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.86
      1/27/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           218
      1/27/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.13
      1/27/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      1/27/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      1/27/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/27/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      1/27/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         636.52
      1/27/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.65

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      1/27/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/27/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD               82.01
      1/27/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL         8.75
      1/27/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                      13
      1/27/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                     297.43
      1/27/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/27/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD         39.04
      1/27/2018    709   GS0015   Owner Operator   Toll Charges                   Q1110 ANTONIO PARKWAY OFF 1         0.71
      1/27/2018    709   GS0015   Owner Operator   Toll Charges                   Q1110 ANTONIO PARKWAY ON 1          0.71
      1/27/2018    709   GS0015   Owner Operator   Toll Charges                   Q1110 TOMATO SPRINGS SOUTH 11      10.08
      1/27/2018    709   GS0015   Owner Operator   Toll Charges                   Q1110/5770 TOMATO SPRINGS NORT     10.08
      1/27/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 209354 Lease               252.11
      1/27/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                         200
      1/27/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      1/27/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                      96.55
      1/27/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                     304.25
      1/27/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL        8.75
      1/27/2018    709   HC0023   Owner Operator   Broker Pre Pass                675219098 CXL/DRWZ/NOT RET         48.71
      1/27/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                      8
      1/27/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                      8
      1/27/2018    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                         50
      1/27/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/27/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      39.21
      1/27/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD        35.16
      1/27/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD        35.15
      1/27/2018    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00361856 - PO System      183.42
      1/27/2018    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00361856 - PO System      183.42
      1/27/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 209122 Q13170              352.68
      1/27/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL             8.75
      1/27/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                      13
      1/27/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                         50
      1/27/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     439.43
      1/27/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/27/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD             15.61
      1/27/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                21.34
      1/27/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      1/27/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                     354.79
      1/27/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                     456.97
      1/27/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                  32.99
      1/27/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/27/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.64
      1/27/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism       2.5
      1/27/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                     521.95
      1/27/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                13.96
      1/27/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL           8.75
      1/27/2018    709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 209326 Trailer wash 701       -34
      1/27/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                     13
      1/27/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                        400
      1/27/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         200
      1/27/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         100
      1/27/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      1/27/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      1/27/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     458.23
      1/27/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                     292.26
      1/27/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                  32.99
      1/27/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/27/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD           42.18
      1/27/2018    709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00362671 - PO System      211.82
      1/27/2018    709   JC0292   Owner Operator   Toll Charges                   Q1210 OTA Kilpatrick Turnpike        8.4
      1/27/2018    709   JC0292   Owner Operator   Toll Charges                   Q1210 OTA Turner Turnpike West      17.6
      1/27/2018    709   JC0292   Owner Operator   Toll Charges                   Q1210 OTA Will Rogers Turnpike      17.6
      1/27/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                     458.72
      1/27/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 209386 Q13197 Lease        276.63
      1/27/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      1/27/2018    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                  -1000
      1/27/2018    709   JG0017   Owner Operator   Express Check                  T-Check Payment                     1000
      1/27/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                         300
      1/27/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       3
      1/27/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                     334.08
      1/27/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                  32.99
      1/27/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      1/27/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               25.95
      1/27/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                      504.6

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      1/27/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      1/27/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                              60
      1/27/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      1/27/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.65
      1/27/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      1/27/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      1/27/2018    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00363641 - PO System          182.19
      1/27/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      1/27/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/27/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      1/27/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         623.05
      1/27/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.57
      1/27/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.91
      1/27/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      1/27/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      1/27/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      1/27/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.05
      1/27/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          38.31
      1/27/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      1/27/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      1/27/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      1/27/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      1/27/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      1/27/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 209317 Truck Lease             278.76
      1/27/2018    709   KP0004   Owner Operator   Accident Claim                 11/17/17 KP0004 Incident              1000.5
      1/27/2018    709   KP0004   Owner Operator   Advance                        11/17/17 Incident s/u 4 weeks         250.13
      1/27/2018    709   KP0004   Owner Operator   Advance                        11/17/17 Incident s/u 4 wks          -1000.5
      1/27/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      1/27/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/27/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      1/27/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/27/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/27/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      1/27/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.44
      1/27/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.58
      1/27/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.46
      1/27/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.18
      1/27/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      1/27/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      1/27/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/27/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      1/27/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      1/27/2018    709   LL0160   Owner Operator   Broker Pre Pass                675302966 CXL/DRWZ/NOT RET              100
      1/27/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      1/27/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      1/27/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 209305 Lease Q1111             252.11
      1/27/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      1/27/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      1/27/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/27/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/27/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          642.9
      1/27/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      1/27/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      1/27/2018    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     25
      1/27/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/27/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      1/27/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/27/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.74
      1/27/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.38
      1/27/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.44
      1/27/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.28
      1/27/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      1/27/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      1/27/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8

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      1/27/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.79
      1/27/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.12
      1/27/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          302.5
      1/27/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.85
      1/27/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      1/27/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 209351 Q1113 Lease             252.11
      1/27/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/27/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      1/27/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/27/2018    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/27/2018    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
      1/27/2018    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance                              60
      1/27/2018    709   MM0093   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      1/27/2018    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.28
      1/27/2018    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.11
      1/27/2018    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      1/27/2018    709   MP0035   Owner Operator   Accident Claim                 12/20/17 MP0035 Trailer Damage        949.06
      1/27/2018    709   MP0035   Owner Operator   Advance                        12/20/17 Trl Dmg s/u 3 pmts          -949.06
      1/27/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/27/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      1/27/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/27/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            120
      1/27/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
      1/27/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.15
      1/27/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      1/27/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      1/27/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/27/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      1/27/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/27/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      1/27/2018    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-20              12
      1/27/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      1/27/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/27/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/27/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.11
      1/27/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.12
      1/27/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.39
      1/27/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.99
      1/27/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.7
      1/27/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      1/27/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 209443 Lease                   215.66
      1/27/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      1/27/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      1/27/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/27/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/27/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           365
      1/27/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      1/27/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      1/27/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      1/27/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      1/27/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 209351 Truck 73130 Leas        196.65
      1/27/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      1/27/2018    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-20          231.25
      1/27/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      1/27/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      1/27/2018    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00364372 - PO System            215
      1/27/2018    709   RC0030   Owner Operator   Truck Payment                  CTMS - 209316 Down Payment lo         303.55
      1/27/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.19
      1/27/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/27/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/27/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.59
      1/27/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.72
      1/27/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      1/27/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      1/27/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      1/27/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      1/27/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/27/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.57
      1/27/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.05
      1/27/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      1/27/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      1/27/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      1/27/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      1/27/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      1/27/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/27/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/27/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.77
      1/27/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.79
      1/27/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.11
      1/27/2018    709   RL0062   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     243.48
      1/27/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      1/27/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      1/27/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      1/27/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      1/27/2018    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00363020 - PO System          204.29
      1/27/2018    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00363020 - PO System          204.29
      1/27/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      1/27/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      1/27/2018    709   RL0180   Owner Operator   Advance                        Acc clm 67098 s/u 8 pmts                250
      1/27/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/27/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      1/27/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/27/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.69
      1/27/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.18
      1/27/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      1/27/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      1/27/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      1/27/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      1/27/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.26
      1/27/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      1/27/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      1/27/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      1/27/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.9
      1/27/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      1/27/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 209317 Q1202 Truck Leas        278.76
      1/27/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      1/27/2018    709   RR0123   Owner Operator   Broker Pre Pass                675279843 CXL/DRWZ/NOT RET              100
      1/27/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      1/27/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/27/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/27/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.09
      1/27/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.01
      1/27/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      1/27/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      1/27/2018    709   RR0123   Owner Operator   Repair Order                   CTMS - 209326 Repair tail ligh         -8.05
      1/27/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 209356 Q1248                   311.97
      1/27/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      1/27/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      1/27/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/27/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/27/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/27/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.24
      1/27/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      1/27/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      1/27/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      1/27/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75

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      1/27/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      1/27/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                              50
      1/27/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.11
      1/27/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                           262.8
      1/27/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.87
      1/27/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.65
      1/27/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/27/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      1/27/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      1/27/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 209314 Sub Lease                388.33
      1/27/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                     59.45
      1/27/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      1/27/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      1/27/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           240.8
      1/27/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.33
      1/27/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           68.17
      1/27/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/27/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
      1/27/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      1/27/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      1/27/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          532.09
      1/27/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          500.04
      1/27/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/27/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
      1/27/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 209354 Tractor Sub leas         242.03
      1/27/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    154.82
      1/27/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      1/27/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      1/27/2018    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                    -1521.99
      1/27/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      1/27/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           226.9
      1/27/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          292.74
      1/27/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.64
      1/27/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/27/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.51
      1/27/2018    709   VJ0006   Owner Operator   T Chek Fee                     ExpressCheck Fee                        15.07
      1/27/2018    709   VJ0006   Owner Operator   T Chek Fee                     Tractor Repair 33961                  1506.92
      1/27/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      1/27/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      1/27/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-20           124.27
      1/27/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/27/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
      1/27/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      1/27/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      1/27/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      1/27/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/27/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      1/27/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.27
      1/27/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          278.32
      1/27/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/27/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 60.47
      1/27/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00361622 - PO System            88.17
      1/27/2018    709   WH0087   Owner Operator   Toll Charges                   Q1239 Carquinez Bridge 9                   25
      1/27/2018    709   WH0087   Owner Operator   Toll Charges                   Q1239/W70753 Carquinez Bridge              25
      1/27/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 209356 Q1238 Lease              311.97
      1/27/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                   8.75
      1/27/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                           13
      1/27/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      1/27/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      1/27/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      1/27/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      1/27/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.03
      1/27/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          495.08
      1/27/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          127.38
      1/27/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/27/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                   52.33
      1/27/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris            2.5
      1/27/2018    742   AS0089   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      118.75
      1/27/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      1/27/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                           13
      1/27/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.26
      1/27/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.69
      1/27/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      1/27/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      1/27/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/27/2018    742   BS0078   Owner Operator   Toll Charges                   33471/701730 HCTRA Ship Channe             7
      1/27/2018    742   BS0078   Owner Operator   Toll Charges                   33471/W701556 HCTRA Ship Chann             7
      1/27/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      1/27/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      1/27/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         541.08
      1/27/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      1/27/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      1/27/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      1/27/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.34
      1/27/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.06
      1/27/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      1/27/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      1/27/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 10                25
      1/27/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 12                25
      1/27/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 8                 25
      1/27/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 209384 Sub Lease Q13171        352.68
      1/27/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      1/27/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             11
      1/27/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.48
      1/27/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.88
      1/27/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      1/27/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/27/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  25
      1/27/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  25
      1/27/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  25
      1/27/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  25
      1/27/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  25
      1/27/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 8                  25
      1/27/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 8                  25
      1/27/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 8                  25
      1/27/2018    742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Ship Channel Bridg             7
      1/27/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      1/27/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/27/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      1/27/2018    742   EA0039   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-20           253.8
      1/27/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/27/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          538.5
      1/27/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.22
      1/27/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.01
      1/27/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      1/27/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/27/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      1/27/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      1/27/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.94
      1/27/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.14
      1/27/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.86
      1/27/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.23
      1/27/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      1/27/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      1/27/2018    742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00361529 - PO System          403.94
      1/27/2018    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - NE M             7
      1/27/2018    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Ship Channel Bridg             7
      1/27/2018    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Ship Channel Bridg             7
      1/27/2018    742   ED0041   Owner Operator   Toll Charges                   32897 OTA Turner Turnpike East          17.6
      1/27/2018    742   ED0041   Owner Operator   Toll Charges                   32897 OTA Will Rogers Turnpike          17.6
      1/27/2018    742   ED0041   Owner Operator   Toll Charges                   32897/702952 HCTRA Sam Houston             7
      1/27/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32947           9.84
      1/27/2018    742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32947           9.84
      1/27/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      1/27/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      1/27/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      1/27/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.05
      1/27/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.97

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      1/27/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.64
      1/27/2018    742   EN0016   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                       80.73
      1/27/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                       32.99
      1/27/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                       32.99
      1/27/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/27/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/27/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    70.89
      1/27/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    70.89
      1/27/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      1/27/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      1/27/2018    742   EN0016   Owner Operator   Toll Charges                   32947 OTA Turner Turnpike East           16.1
      1/27/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                           419.4
      1/27/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                           419.4
      1/27/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                8.75
      1/27/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                          13
      1/27/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD                54.68
      1/27/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro            2.5
      1/27/2018    742   MH0117   Owner Operator   Toll Charges                   33296 HCTRA Ship Channel Bridg              7
      1/27/2018    742   MH0117   Owner Operator   Toll Charges                   33296/701863 HCTRA Ship Channe             -7
      1/27/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                  100
      1/27/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679             -3225.44
      1/27/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                   8.75
      1/27/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                           13
      1/27/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                              50
      1/27/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.24
      1/27/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.75
      1/27/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.16
      1/27/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          102.51
      1/27/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2017 - 34082                         100
      1/27/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          351.39
      1/27/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/27/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                   27.33
      1/27/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris            2.5
      1/27/2018    742   MS0230   Owner Operator   Repair Order                   TRACTOR 34082                         3225.44
      1/27/2018    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      1/27/2018    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                  -35
      1/27/2018    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance                              456
      1/27/2018    742   MT0112   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      1/27/2018    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            -190
      1/27/2018    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/27/2018    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                     8
      1/27/2018    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD               -290.25
      1/27/2018    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror            -10
      1/27/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75
      1/27/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                           13
      1/27/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                           323.6
      1/27/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          655.32
      1/27/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/27/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             100.76
      1/27/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            2.5
      1/27/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                   25
      1/27/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                   25
      1/27/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                   25
      1/27/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy North - Barr            3.5
      1/27/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy North - Rank              4
      1/27/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy North - Rank              4
      1/27/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy South - Barr              7
      1/27/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy South - Barr            3.5
      1/27/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Sam Houston - Cent              7
      1/27/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Sam Houston - Nort              7
      1/27/2018    742   NG0024   Owner Operator   Toll Charges                   33252/702042 Carquinez Bridge              25
      1/27/2018    742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845              100
      1/27/2018    742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845              100
      1/27/2018    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      1/27/2018    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      1/27/2018    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                           13
      1/27/2018    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                           13
      1/27/2018    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                              50
      1/27/2018    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                              50
      1/27/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                              200
      1/27/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                              100
      1/27/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      1/27/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2

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      1/27/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.91
      1/27/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.56
      1/27/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.56
      1/27/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.2
      1/27/2018    742   NK0013   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      86.65
      1/27/2018    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      1/27/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    28.9
      1/27/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      1/27/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      1/27/2018    742   NK0013   Owner Operator   Toll Charges                   34038 Carquinez Bridge 7                  25
      1/27/2018    742   NK0013   Owner Operator   Toll Charges                   34038 Carquinez Bridge 8                  25
      1/27/2018    742   NK0013   Owner Operator   Toll Charges                   34038 HCTRA Ship Channel Bridg             7
      1/27/2018    742   NK0013   Owner Operator   Toll Charges                   34038 HCTRA Ship Channel Bridg             7
      1/27/2018    742   NK0013   Owner Operator   Toll Charges                   34038 HCTRA Ship Channel Bridg             7
      1/27/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/27/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      1/27/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/27/2018    742   OS0018   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      1/27/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      1/27/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      1/27/2018    742   OS0018   Owner Operator   Repair Order                   CTMS - 209372 repair                    186
      1/27/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      1/27/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      1/27/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/27/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      1/27/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      1/27/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/27/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/27/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/27/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/27/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.41
      1/27/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.78
      1/27/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.24
      1/27/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.63
      1/27/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.69
      1/27/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.77
      1/27/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.99
      1/27/2018    742   PC0012   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                       4.05
      1/27/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      1/27/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      1/27/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      1/27/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      1/27/2018    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 10                 25
      1/27/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - East             7
      1/27/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout             7
      1/27/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout             7
      1/27/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout             7
      1/27/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout             7
      1/27/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout             7
      1/27/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg             7
      1/27/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg             7
      1/27/2018    742   PC0012   Owner Operator   Toll Charges                   32969 NTTA Exit I35WN-820-24             4.4
      1/27/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      1/27/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      1/27/2018    742   RF0136   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
      1/27/2018    742   RF0136   Owner Operator   T Chek Fee                     School Checks (Corp)                    300
      1/27/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          41.04
      1/27/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      1/27/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      1/27/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      1/27/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      1/27/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/27/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/27/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.02
      1/27/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.59
      1/27/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.97
      1/27/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.63
      1/27/2018    742   RS0342   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     418.31
      1/27/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      1/27/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      1/27/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      1/27/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      1/27/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      1/27/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Ship Channel Bridg             7
      1/27/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Ship Channel Bridg             7
      1/27/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      1/27/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      1/27/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 209362 fuel                      250
      1/27/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      1/27/2018    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/27/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      1/27/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      1/27/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      1/27/2018    742   SK0049   Owner Operator   Tire Purchase                  PO: 742-00362409 - PO System          252.51
      1/27/2018    742   SK0049   Owner Operator   Toll Charges                   33934/WFG5404 Bay Bridge 18                6
      1/27/2018    742   SK0049   Owner Operator   Toll Charges                   33934/WFG5404 Bay Bridge 18               25
      1/27/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      1/27/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      1/27/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      1/27/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      1/27/2018    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/27/2018    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/27/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         726.95
      1/27/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.46
      1/27/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.12
      1/27/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.63
      1/27/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.23
      1/27/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.93
      1/27/2018    843   EI0003   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      53.28
      1/27/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/27/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      1/27/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      1/27/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      1/27/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      1/27/2018    843   EI0003   Owner Operator   Toll Charges                   33949 RIVERLIN Exit ECN                   10
      1/27/2018    843   EI0003   Owner Operator   Toll Charges                   33949 RIVERLIN Exit ECS                    5
       2/3/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       2/3/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       2/3/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       2/3/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       2/3/2018    709   AR0064   Owner Operator   Arrears                        Credit Billing                         82.46
       2/3/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       2/3/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       2/3/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       2/3/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       2/3/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       2/3/2018    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q13147          9.84
       2/3/2018    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q13147          9.84
       2/3/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       2/3/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       2/3/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.93
       2/3/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.75
       2/3/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.99
       2/3/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.88
       2/3/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.3
       2/3/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.32
       2/3/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.08
       2/3/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.43
       2/3/2018    709   AR0064   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                       0.06
       2/3/2018    709   AR0064   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     477.54
       2/3/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           40.8
       2/3/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   AR0064   Owner Operator   Permits                        ID06:2018 - Q13147                        11

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       2/3/2018    709   AR0064   Owner Operator   Permits                        IL02:2018 - Q13147                      3.75
       2/3/2018    709   AR0064   Owner Operator   Permits                        NM07:2018 - Q13147                       5.5
       2/3/2018    709   AR0064   Owner Operator   Permits                        OR16:2018 - Q13147                       8.5
       2/3/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       2/3/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
       2/3/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       2/3/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       2/3/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
       2/3/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       2/3/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 209652 Q13147 Lease            440.14
       2/3/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       2/3/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       2/3/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       2/3/2018    709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-10         -11.78
       2/3/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.49
       2/3/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.77
       2/3/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.78
       2/3/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.68
       2/3/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.57
       2/3/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.53
       2/3/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.03
       2/3/2018    709   AV0021   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      18.32
       2/3/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       2/3/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 209617 Q13169 Sublease         352.68
       2/3/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       2/3/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       2/3/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    709   BM0030   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     512.56
       2/3/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       2/3/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       2/3/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       2/3/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       2/3/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.06
       2/3/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.91
       2/3/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          420.8
       2/3/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.54
       2/3/2018    709   CC0134   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     250.81
       2/3/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       2/3/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 209579 Q13168 sub lease        352.68
       2/3/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/3/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       2/3/2018    709   CM0119   Owner Operator   ESCROW                         Escrow Withdrawal                      -7600
       2/3/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             300
       2/3/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/3/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         627.16
       2/3/2018    709   CM0119   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     -14.66
       2/3/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
       2/3/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       2/3/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/3/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       2/3/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       2/3/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       2/3/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.18
       2/3/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.86
       2/3/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.78
       2/3/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.99
       2/3/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.14
       2/3/2018    709   CR0064   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      64.89
       2/3/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       2/3/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       2/3/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       2/3/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       2/3/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.92
       2/3/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       2/3/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 209578 Q1201                   278.76
       2/3/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       2/3/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13

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       2/3/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       2/3/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/3/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.82
       2/3/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.62
       2/3/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.73
       2/3/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          36.88
       2/3/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         648.69
       2/3/2018    709   DL0107   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      85.19
       2/3/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       2/3/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       2/3/2018    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00361489 - PO System           61.73
       2/3/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 209616 Sublease                338.99
       2/3/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       2/3/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/3/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       2/3/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       2/3/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       2/3/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         574.41
       2/3/2018    709   DS0049   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     114.86
       2/3/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
       2/3/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       2/3/2018    709   DS0049   Owner Operator   Repair Order                   CTMS - 209593 Repair                   75.62
       2/3/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       2/3/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       2/3/2018    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-27           75.02
       2/3/2018    709   DS0225   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      97.83
       2/3/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       2/3/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/3/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       2/3/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       2/3/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/3/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/3/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/3/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/3/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/3/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/3/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          476.8
       2/3/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.37
       2/3/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         646.69
       2/3/2018    709   EA0003   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      72.75
       2/3/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
       2/3/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       2/3/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       2/3/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       2/3/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       2/3/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          402.5
       2/3/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.77
       2/3/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.32
       2/3/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.59
       2/3/2018    709   EG0062   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      35.39
       2/3/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       2/3/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       2/3/2018    709   EG0062   Owner Operator   Tire Purchase                  PO: 709-00361623 - PO System          470.25
       2/3/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       2/3/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       2/3/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.99
       2/3/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.84
       2/3/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.65
       2/3/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                             31
       2/3/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           282
       2/3/2018    709   EO0014   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      23.58
       2/3/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       2/3/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       2/3/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/3/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       2/3/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/3/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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       2/3/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.99
       2/3/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.07
       2/3/2018    709   FV0001   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      27.12
       2/3/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       2/3/2018    709   FV0001   Owner Operator   Tractor Wash                   CTMS - 209670 Trailer washn TL           -50
       2/3/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       2/3/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       2/3/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.34
       2/3/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.32
       2/3/2018    709   GS0015   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     120.18
       2/3/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       2/3/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 209576 Lease                   252.11
       2/3/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       2/3/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       2/3/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       2/3/2018    709   GW0043   Owner Operator   Broker Pre Pass                675330781 CXL/DRWZ/NOT RET              100
       2/3/2018    709   GW0043   Owner Operator   Broker Pre Pass                675576696 CXL/DRWZ/NOT RET              100
       2/3/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       2/3/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       2/3/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.81
       2/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.71
       2/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.98
       2/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.26
       2/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.53
       2/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.36
       2/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.93
       2/3/2018    709   GW0043   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                       0.01
       2/3/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
       2/3/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
       2/3/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       2/3/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       2/3/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       2/3/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 209350 Q1109 Lease             302.85
       2/3/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 209576 Q1109 Lease             302.85
       2/3/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       2/3/2018    709   HC0023   Owner Operator   Broker Pre Pass                675219098 CXL/DRWZ/NOT RET             51.29
       2/3/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       2/3/2018    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.71
       2/3/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.06
       2/3/2018    709   HC0023   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      -0.01
       2/3/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       2/3/2018    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00361856 - PO System          183.42
       2/3/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 209351 Q13170                  352.68
       2/3/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 209573 Q13170                  352.68
       2/3/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       2/3/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       2/3/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
       2/3/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/3/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          648.6
       2/3/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.57
       2/3/2018    709   HG0007   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      48.38
       2/3/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63

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       2/3/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/3/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/3/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/3/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/3/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/3/2018    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33418           9.84
       2/3/2018    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33418           9.84
       2/3/2018    709   HG0027   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                       3.63
       2/3/2018    709   HG0027   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      37.15
       2/3/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          31.86
       2/3/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   HG0027   Owner Operator   Permits                        ID06:2018 - 33418                         11
       2/3/2018    709   HG0027   Owner Operator   Permits                        IL02:2018 - 33418                       3.75
       2/3/2018    709   HG0027   Owner Operator   Permits                        NM07:2018 - 33418                        5.5
       2/3/2018    709   HG0027   Owner Operator   Permits                        OR16:2018 - 33418                        8.5
       2/3/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       2/3/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       2/3/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
       2/3/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       2/3/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
       2/3/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       2/3/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       2/3/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/3/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.08
       2/3/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          460.2
       2/3/2018    709   IR0002   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     -45.78
       2/3/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
       2/3/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       2/3/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/3/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       2/3/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       2/3/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       2/3/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       2/3/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       2/3/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/3/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/3/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/3/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/3/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/3/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/3/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/3/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/3/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.19
       2/3/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.11
       2/3/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.14
       2/3/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.12
       2/3/2018    709   JC0292   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     120.09
       2/3/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
       2/3/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       2/3/2018    709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00362671 - PO System          211.82
       2/3/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
       2/3/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 209614 Q13197 Lease            276.63
       2/3/2018    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-10         -27.74
       2/3/2018    709   JG0017   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     -17.37
       2/3/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   17.37
       2/3/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
       2/3/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                              60
       2/3/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            140
       2/3/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                              40
       2/3/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
       2/3/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
       2/3/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       2/3/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/3/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          534.9
       2/3/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.96
       2/3/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.81
       2/3/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.89

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       2/3/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        247.74
       2/3/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
       2/3/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
       2/3/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.02
       2/3/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          270
       2/3/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.05
       2/3/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       2/3/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
       2/3/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
       2/3/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
       2/3/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.7
       2/3/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       2/3/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
       2/3/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
       2/3/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
       2/3/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        379.34
       2/3/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        421.15
       2/3/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          150
       2/3/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       2/3/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
       2/3/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 209532 Truck Lease            278.76
       2/3/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
       2/3/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
       2/3/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
       2/3/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
       2/3/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
       2/3/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
       2/3/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
       2/3/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
       2/3/2018    709   JS0265   Owner Operator   Broker Pre Pass                675509521 CXL/DRWZ/NOT RET             100
       2/3/2018    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33325          9.84
       2/3/2018    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33325          9.84
       2/3/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
       2/3/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
       2/3/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
       2/3/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
       2/3/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
       2/3/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
       2/3/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
       2/3/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
       2/3/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       2/3/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        410.53
       2/3/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        522.08
       2/3/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        415.67
       2/3/2018    709   JS0265   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                    138.49
       2/3/2018    709   JS0265   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     12.29
       2/3/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          2.51
       2/3/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          2.51
       2/3/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          2.48
       2/3/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          2.51
       2/3/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       2/3/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       2/3/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       2/3/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       2/3/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          8.56
       2/3/2018    709   JS0265   Owner Operator   Permits                        ID06:2018 - 33325                        11
       2/3/2018    709   JS0265   Owner Operator   Permits                        IL02:2018 - 33325                      3.75
       2/3/2018    709   JS0265   Owner Operator   Permits                        NM07:2018 - 33325                       5.5
       2/3/2018    709   JS0265   Owner Operator   Permits                        OR16:2018 - 33325                       8.5
       2/3/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
       2/3/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.93
       2/3/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
       2/3/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
       2/3/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
       2/3/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
       2/3/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
       2/3/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
       2/3/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
       2/3/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
       2/3/2018    709   KP0004   Owner Operator   Advance                        11/17/17 Incident s/u 4 weeks        250.13
       2/3/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       2/3/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
       2/3/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250

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       2/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
       2/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
       2/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       2/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       2/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/3/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.15
       2/3/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.01
       2/3/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            495
       2/3/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.18
       2/3/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            318
       2/3/2018    709   KP0004   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     160.48
       2/3/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
       2/3/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       2/3/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/3/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       2/3/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       2/3/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       2/3/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       2/3/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 209520 Lease Q1111             252.11
       2/3/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       2/3/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       2/3/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/3/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/3/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/3/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/3/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          366.6
       2/3/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          759.2
       2/3/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       2/3/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       2/3/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/3/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       2/3/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.49
       2/3/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.23
       2/3/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       2/3/2018    709   MB0048   Owner Operator   *Arrears Collection W/O        WO:675239302 CXL/DRWZ/NOT RET           -100
       2/3/2018    709   MB0048   Owner Operator   Broker Pre Pass                675239302 CXL/DRWZ/NOT RET               100
       2/3/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       2/3/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       2/3/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.46
       2/3/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.29
       2/3/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.84
       2/3/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          456.3
       2/3/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       2/3/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 209573 Q1113 Lease             252.11
       2/3/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       2/3/2018    709   MG0067   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      27.45
       2/3/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       2/3/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       2/3/2018    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       2/3/2018    709   MM0093   Owner Operator   Communication Charge           PNet Hware 32931                          13
       2/3/2018    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         631.73
       2/3/2018    709   MM0093   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.01
       2/3/2018    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   53.13
       2/3/2018    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
       2/3/2018    709   MP0035   Owner Operator   Advance                        12/20/17 Trl Dmg s/u 3 pmts           316.36
       2/3/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/3/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       2/3/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            200
       2/3/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             240
       2/3/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.4
       2/3/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         626.47
       2/3/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
       2/3/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       2/3/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5

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       2/3/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       2/3/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
       2/3/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                           13
       2/3/2018    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
       2/3/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
       2/3/2018    709   NB0029   Owner Operator   Express Check                  T-Check Payment                         2000
       2/3/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/3/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       2/3/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.39
       2/3/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.66
       2/3/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.04
       2/3/2018    709   NB0029   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                        84.6
       2/3/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/3/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       2/3/2018    709   NB0029   Owner Operator   Repair Order                   CTMS - 209592 Repair                       70
       2/3/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 TxTag Ship Channel Bridg              7
       2/3/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 209659 Lease                   215.66
       2/3/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
       2/3/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
       2/3/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             140
       2/3/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             160
       2/3/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.6
       2/3/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.4
       2/3/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.03
       2/3/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.99
       2/3/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                            351
       2/3/2018    709   NG0005   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     179.11
       2/3/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/3/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       2/3/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
       2/3/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           13
       2/3/2018    709   NT9564   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     121.57
       2/3/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/3/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       2/3/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 209573 Truck 73130 Leas        196.65
       2/3/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
       2/3/2018    709   RC0030   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     611.25
       2/3/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/3/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       2/3/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
       2/3/2018    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00364372 - PO System             215
       2/3/2018    709   RC0030   Owner Operator   Truck Payment                  CTMS - 209669 Loan overpayment       -303.55
       2/3/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                      52.2
       2/3/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       2/3/2018    709   RC0089   Owner Operator   Charge back by affiliate       CTMS - 209670 Citation CL3015.           171
       2/3/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
       2/3/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
       2/3/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.62
       2/3/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.03
       2/3/2018    709   RC0089   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                       -21.9
       2/3/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
       2/3/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/3/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       2/3/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       2/3/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       2/3/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
       2/3/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         633.13
       2/3/2018    709   RL0017   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      30.48
       2/3/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
       2/3/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/3/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       2/3/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       2/3/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       2/3/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
       2/3/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/3/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       2/3/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.38
       2/3/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.96
       2/3/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.18
       2/3/2018    709   RL0062   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     194.85
       2/3/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
       2/3/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/3/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15

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       2/3/2018    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00363020 - PO System          204.29
       2/3/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       2/3/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/3/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
       2/3/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.79
       2/3/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.54
       2/3/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.4
       2/3/2018    709   RL0180   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     154.71
       2/3/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
       2/3/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       2/3/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       2/3/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       2/3/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.02
       2/3/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.44
       2/3/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.52
       2/3/2018    709   RM0026   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      175.6
       2/3/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       2/3/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       2/3/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       2/3/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.68
       2/3/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       2/3/2018    709   RP0082   Owner Operator   Repair Order                   CTMS - 209663 repair                  205.62
       2/3/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 209532 Q1202 Truck Leas        278.76
       2/3/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       2/3/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       2/3/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/3/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/3/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.23
       2/3/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.94
       2/3/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.59
       2/3/2018    709   RR0123   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     590.86
       2/3/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       2/3/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       2/3/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 209578 Q1248                   311.97
       2/3/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       2/3/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       2/3/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       2/3/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          34.14
       2/3/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.29
       2/3/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.67
       2/3/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.09
       2/3/2018    709   SB0009   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      38.46
       2/3/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
       2/3/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       2/3/2018    709   SB0009   Owner Operator   Repair Order                   CTMS - 209663 Repair                  374.14
       2/3/2018    709   SB0009   Owner Operator   Toll Charges                   33236 TxTag Denton Hwy W TEXpr           4.8
       2/3/2018    709   SB0009   Owner Operator   Toll Charges                   33236 TxTag Ship Channel Bridg             7
       2/3/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       2/3/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       2/3/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       2/3/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          392.6
       2/3/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          432.2
       2/3/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.13
       2/3/2018    709   SB0103   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     346.28
       2/3/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       2/3/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       2/3/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 209529 Sub Lease               388.33
       2/3/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
       2/3/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       2/3/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       2/3/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/3/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/3/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/3/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/3/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.88

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       2/3/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.2
       2/3/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.43
       2/3/2018    709   SN0019   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      81.15
       2/3/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       2/3/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       2/3/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       2/3/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.01
       2/3/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.58
       2/3/2018    709   VB0015   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     223.24
       2/3/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       2/3/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 209576 Tractor Sub leas        242.03
       2/3/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       2/3/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/3/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       2/3/2018    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                    -273.71
       2/3/2018    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                      -1800
       2/3/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                         143.79
       2/3/2018    709   VJ0006   Owner Operator   Express Check                  T-Check Payment                         1800
       2/3/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             120
       2/3/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
       2/3/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.46
       2/3/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.36
       2/3/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.41
       2/3/2018    709   VJ0006   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     117.11
       2/3/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       2/3/2018    709   VJ0006   Owner Operator   T Chek Fee                     ExpressCheck Fee                        2.71
       2/3/2018    709   VJ0006   Owner Operator   T Chek Fee                     Towing 33961                             271
       2/3/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       2/3/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       2/3/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       2/3/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       2/3/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       2/3/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       2/3/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             150
       2/3/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       2/3/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.77
       2/3/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.6
       2/3/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.89
       2/3/2018    709   WH0087   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      80.32
       2/3/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       2/3/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00361622 - PO System           88.17
       2/3/2018    709   WH0087   Owner Operator   Toll Charges                   Q1239 TxTag Ship Channel Bridg             7
       2/3/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 209578 Q1238 Lease             311.97
       2/3/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
       2/3/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       2/3/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/3/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/3/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.21
       2/3/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.68
       2/3/2018    742   AP0047   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     195.73
       2/3/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
       2/3/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
       2/3/2018    742   AS0089   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     155.19
       2/3/2018    742   AS0089   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                      63.69
       2/3/2018    742   AS0089   Owner Operator   Toll Charges                   33912 TxTag Ship Channel Bridg           3.5
       2/3/2018    742   AS0089   Owner Operator   Toll Charges                   33912 TxTag Ship Channel Bridg             7
       2/3/2018    742   AS0089   Owner Operator   Toll Charges                   33912 TxTag Ship Channel Bridg           3.5
       2/3/2018    742   AS0089   Owner Operator   Toll Charges                   33912 TxTag Ship Channel Bridg             7
       2/3/2018    742   AS0089   Owner Operator   Toll Charges                   33912/701861 HCTRA Sam Houston             7
       2/3/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/3/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       2/3/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                             400
       2/3/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
       2/3/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.3
       2/3/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.51
       2/3/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.03
       2/3/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.75

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       2/3/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.77
       2/3/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.56
       2/3/2018    742   BS0078   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     162.11
       2/3/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       2/3/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       2/3/2018    742   BS0078   Owner Operator   Toll Charges                   33471 TxTag Ship Channel Bridg             7
       2/3/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       2/3/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       2/3/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.92
       2/3/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           359
       2/3/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.99
       2/3/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.4
       2/3/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       2/3/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       2/3/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       2/3/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.18
       2/3/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.39
       2/3/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.48
       2/3/2018    742   CT0085   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      69.75
       2/3/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
       2/3/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       2/3/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 209612 Sub Lease Q13171        352.68
       2/3/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/3/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       2/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         656.01
       2/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.01
       2/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.02
       2/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.4
       2/3/2018    742   DA0067   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     174.36
       2/3/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       2/3/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/3/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       2/3/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       2/3/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         614.12
       2/3/2018    742   DC0117   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      64.88
       2/3/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       2/3/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       2/3/2018    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 209554 trailer wash               -40
       2/3/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       2/3/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       2/3/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                          42.46
       2/3/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.54
       2/3/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.53
       2/3/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.38
       2/3/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.93
       2/3/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.34
       2/3/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.48
       2/3/2018    742   DS0254   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     142.08
       2/3/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   DS0254   Owner Operator   Permits                        ID06:2018 - 33487                         11
       2/3/2018    742   DS0254   Owner Operator   Permits                        IL02:2018 - 33487                       3.75
       2/3/2018    742   DS0254   Owner Operator   Permits                        NM07:2018 - 33487                        5.5
       2/3/2018    742   DS0254   Owner Operator   Permits                        OR16:2018 - 33487                        8.5
       2/3/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
       2/3/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       2/3/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       2/3/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       2/3/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 10                 25
       2/3/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 8                  25
       2/3/2018    742   DS0254   Owner Operator   Toll Charges                   33487 TxTag Andover: 21st St             7.2
       2/3/2018    742   DS0254   Owner Operator   Toll Charges                   33487 TxTag HS - Greens Rd                 4
       2/3/2018    742   DS0254   Owner Operator   Toll Charges                   33487 TxTag SH - Southbound Ma             7
       2/3/2018    742   DS0254   Owner Operator   Toll Charges                   33487 TxTag Ship Channel Bridg             7
       2/3/2018    742   DS0254   Owner Operator   Toll Charges                   33487 TxTag Southern Terminal            7.2
       2/3/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 209265 Trk 33487 Lease          434.2

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       2/3/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 209481 Trk 33487 Lease          434.2
       2/3/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 209692 Trk 33487 Lease          434.2
       2/3/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
       2/3/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/3/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       2/3/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.55
       2/3/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         596.69
       2/3/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       2/3/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       2/3/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       2/3/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       2/3/2018    742   ED0041   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-10        -115.92
       2/3/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.73
       2/3/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.05
       2/3/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.18
       2/3/2018    742   ED0041   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     103.67
       2/3/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       2/3/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       2/3/2018    742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00361529 - PO System          403.94
       2/3/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/3/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       2/3/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/3/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/3/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.71
       2/3/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.17
       2/3/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.96
       2/3/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.72
       2/3/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.37
       2/3/2018    742   EN0016   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     113.09
       2/3/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
       2/3/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       2/3/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/3/2018    742   EN0016   Owner Operator   Toll Charges                   32947 TxTag Ship Channel Bridg             7
       2/3/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       2/3/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       2/3/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       2/3/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       2/3/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       2/3/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       2/3/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       2/3/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       2/3/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       2/3/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       2/3/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       2/3/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       2/3/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       2/3/2018    742   MH0117   Owner Operator   Toll Charges                   33296 HCTRA Ship Channel Bridg             7
       2/3/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
       2/3/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       2/3/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       2/3/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.95
       2/3/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.06
       2/3/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.23
       2/3/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.03
       2/3/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2017 - 34082                      47.77
       2/3/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
       2/3/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       2/3/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       2/3/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       2/3/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       2/3/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/3/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/3/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.17

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       2/3/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.18
       2/3/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.47
       2/3/2018    742   NG0024   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     156.24
       2/3/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       2/3/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       2/3/2018    742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845            100
       2/3/2018    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       2/3/2018    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
       2/3/2018    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/3/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                              50
       2/3/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       2/3/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/3/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          493.3
       2/3/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.57
       2/3/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.26
       2/3/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.94
       2/3/2018    742   NK0013   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      83.14
       2/3/2018    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
       2/3/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       2/3/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/3/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
       2/3/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    742   OS0018   Owner Operator   Fuel Purchase                  Fuel Purchase                          391.9
       2/3/2018    742   OS0018   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      17.95
       2/3/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
       2/3/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       2/3/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       2/3/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/3/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       2/3/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       2/3/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.79
       2/3/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.42
       2/3/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.81
       2/3/2018    742   PC0012   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      68.07
       2/3/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
       2/3/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       2/3/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       2/3/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       2/3/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       2/3/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       2/3/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       2/3/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.12
       2/3/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.66
       2/3/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.93
       2/3/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.83
       2/3/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.95
       2/3/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          399.5
       2/3/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.35
       2/3/2018    742   RN0054   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                      60.25
       2/3/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
       2/3/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       2/3/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       2/3/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       2/3/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 209316 Tractor Lease           353.28
       2/3/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 209532 Tractor Lease           353.28
       2/3/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       2/3/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       2/3/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/3/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.14
       2/3/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.18
       2/3/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.55
       2/3/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.27
       2/3/2018    742   RS0342   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     316.27
       2/3/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/3/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       2/3/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       2/3/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100

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       2/3/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
       2/3/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
       2/3/2018    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                              50
       2/3/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          430.54
       2/3/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/3/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                        58.6
       2/3/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
       2/3/2018    742   SK0049   Owner Operator   Tire Purchase                  PO: 742-00362409 - PO System           252.51
       2/3/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841             100
       2/3/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841             100
       2/3/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
       2/3/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
       2/3/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
       2/3/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
       2/3/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                              50
       2/3/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                              50
       2/3/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.29
       2/3/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.68
       2/3/2018    742   TH0130   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                       13.88
       2/3/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/3/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/3/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
       2/3/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
       2/3/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
       2/3/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      2/10/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL             8.75
      2/10/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                          13
      2/10/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      2/10/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          125.72
      2/10/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.05
      2/10/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/10/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD              7.82
      2/10/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te            2.5
      2/10/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL             8.75
      2/10/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                          13
      2/10/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          321.94
      2/10/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.49
      2/10/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          425.84
      2/10/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           183.5
      2/10/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/10/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             35.16
      2/10/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 209860 Q13147 Lease             440.14
      2/10/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                     59.95
      2/10/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             8.75
      2/10/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                           8
      2/10/2018    709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-3             11.78
      2/10/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                              15
      2/10/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            200
      2/10/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            75.6
      2/10/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/10/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             35.16
      2/10/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 209825 Q13169 Sublease          352.68
      2/10/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
      2/10/2018    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                     12.5
      2/10/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
      2/10/2018    709   BM0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-17        -2517.62
      2/10/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                              50
      2/10/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/10/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.13
      2/10/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
      2/10/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
      2/10/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
      2/10/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          477.64
      2/10/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          223.84
      2/10/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          533.57
      2/10/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/10/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.16
      2/10/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 209783 Q13168 sub lease         352.68
      2/10/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/10/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
      2/10/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/10/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/10/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          439.86

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      2/10/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.15
      2/10/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      2/10/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      2/10/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/10/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      2/10/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      2/10/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      2/10/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.01
      2/10/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.69
      2/10/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.52
      2/10/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.75
      2/10/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      2/10/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      2/10/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      2/10/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      2/10/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.72
      2/10/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      2/10/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 209782 Q1201                   278.76
      2/10/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/10/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/10/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/10/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/10/2018    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33850           9.84
      2/10/2018    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33850           9.84
      2/10/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      2/10/2018    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-13          172.06
      2/10/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.35
      2/10/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.36
      2/10/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          207.9
      2/10/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.45
      2/10/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.85
      2/10/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.83
      2/10/2018    709   DL0029   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     174.63
      2/10/2018    709   DL0029   Owner Operator   FUEL TAX                       Nov 2017 Fuel Tax                     183.51
      2/10/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         253.74
      2/10/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         253.74
      2/10/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         253.74
      2/10/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         253.74
      2/10/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      2/10/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      2/10/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      2/10/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      2/10/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      2/10/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      2/10/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/10/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/10/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.99
      2/10/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.06
      2/10/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.71
      2/10/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      2/10/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      2/10/2018    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00361489 - PO System          196.68
      2/10/2018    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00361489 - PO System          134.99
      2/10/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 209623 Sublease                338.99
      2/10/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 209823 Sublease                338.99
      2/10/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      2/10/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/10/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      2/10/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/10/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/10/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         722.18
      2/10/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.61
      2/10/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      2/10/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35

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      2/10/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                          512.35
      2/10/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      2/10/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/10/2018    709   DS0225   Owner Operator   Permits                        CUST:2018 - 33320                      404.35
      2/10/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.07
      2/10/2018    709   DW0138   Owner Operator   *Arrears Collection W/O        LWO:Reseat Repair - Truck33443       -2572.87
      2/10/2018    709   DW0138   Owner Operator   *Arrears Collection W/O        WO:Reseat Repair - Truck33443        -2572.88
      2/10/2018    709   DW0138   Owner Operator   Repair Order                   Reseat Repair - Truck33443            5145.75
      2/10/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/10/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
      2/10/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      2/10/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/10/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/10/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/10/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/10/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          550.21
      2/10/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          479.49
      2/10/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                       32.99
      2/10/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/10/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   105.47
      2/10/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                          555.56
      2/10/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/10/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/10/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                           13
      2/10/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                           13
      2/10/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/10/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/10/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/10/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/10/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/10/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/10/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                           96.34
      2/10/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.81
      2/10/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          455.64
      2/10/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          172.87
      2/10/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.99
      2/10/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          281.01
      2/10/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          262.29
      2/10/2018    709   EE0011   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                       88.53
      2/10/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                       32.99
      2/10/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                       32.99
      2/10/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/10/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/10/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.92
      2/10/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.92
      2/10/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                          505.27
      2/10/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                          505.27
      2/10/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
      2/10/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
      2/10/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.83
      2/10/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.05
      2/10/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/10/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    42.19
      2/10/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
      2/10/2018    709   EG0062   Owner Operator   Tire Purchase                  PO: 709-00361623 - PO System           470.22
      2/10/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
      2/10/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13
      2/10/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          411.56
      2/10/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            171
      2/10/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.61
      2/10/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/10/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 78.13
      2/10/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
      2/10/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
      2/10/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
      2/10/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
      2/10/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
      2/10/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
      2/10/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
      2/10/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.15
      2/10/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          394.96
      2/10/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.77
      2/10/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           385.7

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      2/10/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          42.92
      2/10/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      2/10/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      2/10/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      2/10/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      2/10/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 209178 truck lease 3304        434.29
      2/10/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 209660 truck lease 3304        434.29
      2/10/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 209868 truck lease 3304        434.29
      2/10/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/10/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      2/10/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/10/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/10/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.95
      2/10/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      2/10/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      2/10/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      2/10/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.11
      2/10/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      2/10/2018    709   GS0015   Owner Operator   T Chek Fee                     ExpressCheck Fee                        6.09
      2/10/2018    709   GS0015   Owner Operator   T Chek Fee                     Tractor Repair Q1110                  608.95
      2/10/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 209781 Lease                   252.11
      2/10/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      2/10/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      2/10/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/10/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/10/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/10/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/10/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/10/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/10/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.66
      2/10/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.55
      2/10/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.38
      2/10/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
      2/10/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   GW0043   Owner Operator   Permits1                       ID06:2018 - Q1109                         11
      2/10/2018    709   GW0043   Owner Operator   Permits1                       ID06:2018 - Q1263                        -11
      2/10/2018    709   GW0043   Owner Operator   Permits1                       IL02:2018 - Q1109                       3.75
      2/10/2018    709   GW0043   Owner Operator   Permits1                       IL02:2018 - Q1263                      -3.75
      2/10/2018    709   GW0043   Owner Operator   Permits1                       NM07:2018 - Q1109                        5.5
      2/10/2018    709   GW0043   Owner Operator   Permits1                       NM07:2018 - Q1263                       -5.5
      2/10/2018    709   GW0043   Owner Operator   Permits1                       NY13:2016 - Q1109                         19
      2/10/2018    709   GW0043   Owner Operator   Permits1                       NY13:2016 - Q1263                        -19
      2/10/2018    709   GW0043   Owner Operator   Permits1                       OR16:2018 - Q1109                        8.5
      2/10/2018    709   GW0043   Owner Operator   Permits1                       OR16:2018 - Q1263                       -8.5
      2/10/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      2/10/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 209781 Q1109 Lease             302.85
      2/10/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      2/10/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      2/10/2018    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.02
      2/10/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      2/10/2018    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00361856 - PO System          183.37
      2/10/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 209778 Q13170                  352.68
      2/10/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      2/10/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      2/10/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/10/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/10/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.75
      2/10/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         600.28
      2/10/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      2/10/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      2/10/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/10/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.11
      2/10/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.38

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      2/10/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      2/10/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      2/10/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/10/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      2/10/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      2/10/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      2/10/2018    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      2/10/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      2/10/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      2/10/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/10/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/10/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/10/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/10/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.72
      2/10/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.52
      2/10/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.67
      2/10/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      2/10/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      2/10/2018    709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00362671 - PO System          211.75
      2/10/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      2/10/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 209822 Q13197 Lease            276.63
      2/10/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/10/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/10/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      2/10/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      2/10/2018    709   JG0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-3            27.74
      2/10/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      2/10/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      2/10/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/10/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/10/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/10/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/10/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          511.3
      2/10/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.52
      2/10/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      2/10/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      2/10/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      2/10/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      2/10/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   47.53
      2/10/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      2/10/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      2/10/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/10/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/10/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      2/10/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      2/10/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/10/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/10/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/10/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/10/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          554.8
      2/10/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.11
      2/10/2018    709   JG0072   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     196.73
      2/10/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      2/10/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      2/10/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      2/10/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      2/10/2018    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00363641 - PO System          182.19
      2/10/2018    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00363641 - PO System          182.16
      2/10/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         265.52
      2/10/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      2/10/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/10/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      2/10/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         673.12
      2/10/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.25
      2/10/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      2/10/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75

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      2/10/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      2/10/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.3
      2/10/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      2/10/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      2/10/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      2/10/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.55
      2/10/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      2/10/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 209740 Truck Lease             278.76
      2/10/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      2/10/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      2/10/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      2/10/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/10/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/10/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/10/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/10/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/10/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.03
      2/10/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          331.9
      2/10/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.91
      2/10/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      2/10/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      2/10/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      2/10/2018    709   KP0004   Owner Operator   Advance                        11/17/17 Incident s/u 4 weeks         250.13
      2/10/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/10/2018    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      2/10/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      2/10/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/10/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/10/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/10/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/10/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/10/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.34
      2/10/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.05
      2/10/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.13
      2/10/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           305
      2/10/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.02
      2/10/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      2/10/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      2/10/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/10/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      2/10/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      2/10/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      2/10/2018    709   LL0160   Owner Operator   Permits                        IL02:2018 - Q1111                       3.75
      2/10/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      2/10/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 209730 Lease Q1111             252.11
      2/10/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      2/10/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      2/10/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/10/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/10/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         612.44
      2/10/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          538.9
      2/10/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      2/10/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      2/10/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/10/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      2/10/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.29
      2/10/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.62
      2/10/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.19
      2/10/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.24
      2/10/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.12
      2/10/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      2/10/2018    709   MA0092   Owner Operator   Tire Fee                       Tire Fee: 2098318                          8
      2/10/2018    709   MA0092   Owner Operator   Tire Purchase                  PO: 709-00364568 - PO System          250.55
      2/10/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      2/10/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      2/10/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.85

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      2/10/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.92
      2/10/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.33
      2/10/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      2/10/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 209778 Q1113 Lease             252.11
      2/10/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/10/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.15
      2/10/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.02
      2/10/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      2/10/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/10/2018    709   MP0035   Owner Operator   Advance                        12/20/17 Trl Dmg s/u 3 pmts           316.36
      2/10/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/10/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      2/10/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           615
      2/10/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      2/10/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      2/10/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/10/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      2/10/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      2/10/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      2/10/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      2/10/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/10/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/10/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.16
      2/10/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      2/10/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 209867 Lease                   215.66
      2/10/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      2/10/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      2/10/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            160
      2/10/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/10/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/10/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      2/10/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.25
      2/10/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.01
      2/10/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      2/10/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      2/10/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      2/10/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      2/10/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 209777 Truck 73130 Leas        196.65
      2/10/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      2/10/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      2/10/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      2/10/2018    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00364372 - PO System            215
      2/10/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      2/10/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/10/2018    709   RC0089   Owner Operator   Charge back by affiliate       CTMS - 209858 Citation CL3015.          171
      2/10/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/10/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/10/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.66
      2/10/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      2/10/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      2/10/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      2/10/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/10/2018    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      2/10/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/10/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         584.98
      2/10/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.48
      2/10/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      2/10/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      2/10/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      2/10/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/10/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      2/10/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/10/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/10/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.58

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      2/10/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.54
      2/10/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.38
      2/10/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          177.2
      2/10/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      2/10/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      2/10/2018    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00363020 - PO System          204.25
      2/10/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      2/10/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/10/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      2/10/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.16
      2/10/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.44
      2/10/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.33
      2/10/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.93
      2/10/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.61
      2/10/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      2/10/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      2/10/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      2/10/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      2/10/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.53
      2/10/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      2/10/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      2/10/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      2/10/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.01
      2/10/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      2/10/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 209740 Q1202 Truck Leas        278.76
      2/10/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      2/10/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      2/10/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/10/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/10/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.27
      2/10/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      2/10/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      2/10/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 209782 Q1248                   311.97
      2/10/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          444.4
      2/10/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      2/10/2018    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
      2/10/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      2/10/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.75
      2/10/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.72
      2/10/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      2/10/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      2/10/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 209737 Sub Lease               388.33
      2/10/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      2/10/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      2/10/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      2/10/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/10/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/10/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.88
      2/10/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.16
      2/10/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.45
      2/10/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      2/10/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      2/10/2018    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
      2/10/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      2/10/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           545
      2/10/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   VB0015   Owner Operator   Permits                        CUST:2018 - Q1112                     404.35
      2/10/2018    709   VB0015   Owner Operator   Permits                        IL02:2018 - Q1112                       3.75
      2/10/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      2/10/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 209781 Tractor Sub leas        242.03
      2/10/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      2/10/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/10/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      2/10/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          56.21

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      2/10/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/10/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      2/10/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      2/10/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.98
      2/10/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.39
      2/10/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.66
      2/10/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.25
      2/10/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.34
      2/10/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      2/10/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/10/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      2/10/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      2/10/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      2/10/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      2/10/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      2/10/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/10/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/10/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.18
      2/10/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.95
      2/10/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.82
      2/10/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.62
      2/10/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.06
      2/10/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      2/10/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00361622 - PO System           88.12
      2/10/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 209783 Q1238 Lease             311.97
      2/10/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      2/10/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      2/10/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/10/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/10/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/10/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/10/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/10/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/10/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.41
      2/10/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.19
      2/10/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.95
      2/10/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      2/10/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      2/10/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/10/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      2/10/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.83
      2/10/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.16
      2/10/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.71
      2/10/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.91
      2/10/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      2/10/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      2/10/2018    742   BS0078   Owner Operator   Tire Fee                       Tire Fee: 2098271                          4
      2/10/2018    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00364452 - PO System              96
      2/10/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      2/10/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      2/10/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.28
      2/10/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.52
      2/10/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      2/10/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      2/10/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      2/10/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.11
      2/10/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.68
      2/10/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      2/10/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      2/10/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 209820 Sub Lease Q13171        352.68
      2/10/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/10/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      2/10/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      2/10/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/10/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13

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      2/10/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.95
      2/10/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         748.66
      2/10/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.81
      2/10/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      2/10/2018    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 209837 trailer wash               -50
      2/10/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      2/10/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                           7.54
      2/10/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/10/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/10/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          386.3
      2/10/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.61
      2/10/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.93
      2/10/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      2/10/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      2/10/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      2/10/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/10/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      2/10/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.85
      2/10/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.14
      2/10/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      2/10/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      2/10/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      2/10/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      2/10/2018    742   ED0041   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-3           115.92
      2/10/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.76
      2/10/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.95
      2/10/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.81
      2/10/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.04
      2/10/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      2/10/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      2/10/2018    742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00361529 - PO System          403.87
      2/10/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/10/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      2/10/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.62
      2/10/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.04
      2/10/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.8
      2/10/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      2/10/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      2/10/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/10/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      2/10/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      2/10/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      2/10/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      2/10/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      2/10/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/10/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      2/10/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      2/10/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/10/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      2/10/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      2/10/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      2/10/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.11
      2/10/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.85
      2/10/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      2/10/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      2/10/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      2/10/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      2/10/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      2/10/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.09
      2/10/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      2/10/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5

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      2/10/2018    742   NK0013   Owner Operator   Advance                        New Hire Equip SL 402-092845            100
      2/10/2018    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/10/2018    742   NK0013   Owner Operator   Communication Charge           PNet Hware 34038                          13
      2/10/2018    742   NK0013   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            150
      2/10/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      2/10/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.52
      2/10/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.85
      2/10/2018    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.91
      2/10/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      2/10/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/10/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      2/10/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   OS0018   Owner Operator   Permits                        IL02:2018 - 34147                       3.75
      2/10/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      2/10/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      2/10/2018    742   OS0018   Owner Operator   Repair Order                   CTMS - 209752 repair                    186
      2/10/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      2/10/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/10/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      2/10/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/10/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      2/10/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      2/10/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      2/10/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      2/10/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                       0.84
      2/10/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.23
      2/10/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      2/10/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      2/10/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 209740 Tractor Lease           353.28
      2/10/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      2/10/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      2/10/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         690.19
      2/10/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.71
      2/10/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.02
      2/10/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.03
      2/10/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.36
      2/10/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      2/10/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      2/10/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      2/10/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/10/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 209752 fuel                      250
      2/10/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      2/10/2018    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      2/10/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      2/10/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      2/10/2018    742   SK0049   Owner Operator   Tire Purchase                  PO: 742-00362409 - PO System          252.48
      2/10/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/10/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/10/2018    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      2/10/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      2/10/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      2/10/2018    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/10/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           80.7
      2/10/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         724.16
      2/10/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.46
      2/10/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.21
      2/10/2018    843   EI0003   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                     173.51
      2/10/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/10/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/10/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/10/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/10/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/17/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75

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      2/17/2018    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 21157a          9.84
      2/17/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      2/17/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/17/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/17/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.42
      2/17/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.58
      2/17/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      2/17/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      2/17/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/17/2018    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK Q13150          9.84
      2/17/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      2/17/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.69
      2/17/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.42
      2/17/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.48
      2/17/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.76
      2/17/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      2/17/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 210071 Q13147 Lease            440.14
      2/17/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      2/17/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      2/17/2018    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK Q13170          9.84
      2/17/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      2/17/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.88
      2/17/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.01
      2/17/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.02
      2/17/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.51
      2/17/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.12
      2/17/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      2/17/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 210032 Q13169 Sublease         352.68
      2/17/2018    709   BM0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-10          2461.9
      2/17/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      2/17/2018    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q13169          9.84
      2/17/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      2/17/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          414.6
      2/17/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.73
      2/17/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.16
      2/17/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      2/17/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 210003 Q13168 sub lease        352.68
      2/17/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/17/2018    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32920           9.84
      2/17/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      2/17/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/17/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/17/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.37
      2/17/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.13
      2/17/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      2/17/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      2/17/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/17/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      2/17/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      2/17/2018    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32864           9.84
      2/17/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      2/17/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.85
      2/17/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.36
      2/17/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.02
      2/17/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      2/17/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      2/17/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      2/17/2018    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1202           9.84
      2/17/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      2/17/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.92
      2/17/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      2/17/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 210002 Q1201                   278.76
      2/17/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      2/17/2018    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1246           9.84
      2/17/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13

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      2/17/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/17/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/17/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/17/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.54
      2/17/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.92
      2/17/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.99
      2/17/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.53
      2/17/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      2/17/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      2/17/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 210030 Sublease                338.99
      2/17/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      2/17/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/17/2018    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32915           9.84
      2/17/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      2/17/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/17/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/17/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         574.46
      2/17/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      2/17/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      2/17/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      2/17/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      2/17/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      2/17/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/17/2018    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33051           9.84
      2/17/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      2/17/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/17/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/17/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/17/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.69
      2/17/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      2/17/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      2/17/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      2/17/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/17/2018    709   EE0011   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32910           9.84
      2/17/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      2/17/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/17/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/17/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.51
      2/17/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.29
      2/17/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.05
      2/17/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.28
      2/17/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      2/17/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      2/17/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      2/17/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      2/17/2018    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33828           9.84
      2/17/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      2/17/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.2
      2/17/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.85
      2/17/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         622.16
      2/17/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.87
      2/17/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      2/17/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      2/17/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      2/17/2018    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33846           9.84
      2/17/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      2/17/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           387
      2/17/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.38
      2/17/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.61
      2/17/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      2/17/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      2/17/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      2/17/2018    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33040           9.84
      2/17/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      2/17/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.5

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      2/17/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.56
      2/17/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.23
      2/17/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      2/17/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 210079 truck lease 3304        434.29
      2/17/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/17/2018    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 21521b          9.84
      2/17/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      2/17/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.58
      2/17/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          515.4
      2/17/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      2/17/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      2/17/2018    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1111           9.84
      2/17/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      2/17/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.39
      2/17/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      2/17/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 210001 Lease                   252.11
      2/17/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      2/17/2018    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1110           9.84
      2/17/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      2/17/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/17/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/17/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/17/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/17/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/17/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.02
      2/17/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.55
      2/17/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.84
      2/17/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
      2/17/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      2/17/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 210000 Q1109 Lease             302.85
      2/17/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      2/17/2018    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK Q13171          9.84
      2/17/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      2/17/2018    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.19
      2/17/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.46
      2/17/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.68
      2/17/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      2/17/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 209998 Q13170                  352.68
      2/17/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      2/17/2018    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33180           9.84
      2/17/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      2/17/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/17/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/17/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.94
      2/17/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.25
      2/17/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.79
      2/17/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.55
      2/17/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      2/17/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/17/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/17/2018    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33418           9.84
      2/17/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      2/17/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      2/17/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      2/17/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/17/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.1
      2/17/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.05
      2/17/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      2/17/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      2/17/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      2/17/2018    709   IR0002   Owner Operator   Repair Order                   CTMS - 210010 Parts                   40.18
      2/17/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                        521.95
      2/17/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
      2/17/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL              8.75
      2/17/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                        13
      2/17/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      2/17/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/17/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/17/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/17/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/17/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        385.35
      2/17/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.7
      2/17/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.32
      2/17/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        498.46
      2/17/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                     32.99
      2/17/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/17/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      2/17/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                        458.72
      2/17/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 210029 Q13197 Lease           276.63
      2/17/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      2/17/2018    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32908          9.84
      2/17/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      2/17/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      2/17/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      2/17/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      2/17/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        471.31
      2/17/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        487.35
      2/17/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        230.42
      2/17/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                     32.99
      2/17/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/17/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      2/17/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      2/17/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      2/17/2018    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32909          9.84
      2/17/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      2/17/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      2/17/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      2/17/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        455.45
      2/17/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        231.48
      2/17/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          537
      2/17/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                     32.99
      2/17/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/17/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      2/17/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      2/17/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      2/17/2018    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33669          9.84
      2/17/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      2/17/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        500.46
      2/17/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/17/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
      2/17/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      2/17/2018    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33438          9.84
      2/17/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      2/17/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
      2/17/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      2/17/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.07
      2/17/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        140.37
      2/17/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/17/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      2/17/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      2/17/2018    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1204          9.84
      2/17/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      2/17/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        455.43
      2/17/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/17/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      2/17/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 209965 Truck Lease            278.76
      2/17/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      2/17/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      2/17/2018    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33325          9.84
      2/17/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      2/17/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      2/17/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      2/17/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200

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      2/17/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/17/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/17/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.29
      2/17/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.06
      2/17/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      2/17/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      2/17/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      2/17/2018    709   KP0004   Owner Operator   Advance                        11/17/17 Incident s/u 4 weeks         250.11
      2/17/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/17/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      2/17/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      2/17/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/17/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/17/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            352
      2/17/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            371
      2/17/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.01
      2/17/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      2/17/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      2/17/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/17/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      2/17/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      2/17/2018    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1113           9.84
      2/17/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      2/17/2018    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-24        -320.83
      2/17/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      2/17/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 209954 Lease Q1111             252.11
      2/17/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      2/17/2018    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33655           9.84
      2/17/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      2/17/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.34
      2/17/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.72
      2/17/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      2/17/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      2/17/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/17/2018    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 34005           9.84
      2/17/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      2/17/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.6
      2/17/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.19
      2/17/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.64
      2/17/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.48
      2/17/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           6.31
      2/17/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.53
      2/17/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      2/17/2018    709   MA0092   Owner Operator   Tire Purchase                  PO: 709-00364568 - PO System          250.55
      2/17/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      2/17/2018    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1200           9.84
      2/17/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      2/17/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.65
      2/17/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.78
      2/17/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.81
      2/17/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          364.1
      2/17/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.68
      2/17/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      2/17/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 209997 Q1113 Lease             252.11
      2/17/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/17/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.13
      2/17/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.02
      2/17/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      2/17/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/17/2018    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    -35
      2/17/2018    709   MM0093   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                  26.25
      2/17/2018    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      2/17/2018    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          74.06
      2/17/2018    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  -212.5

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      2/17/2018    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      2/17/2018    709   MP0035   Owner Operator   Advance                        12/20/17 Trl Dmg s/u 3 pmts           316.34
      2/17/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/17/2018    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32904           9.84
      2/17/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      2/17/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           615
      2/17/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            220
      2/17/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.2
      2/17/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         680.08
      2/17/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      2/17/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      2/17/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/17/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      2/17/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      2/17/2018    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1109           9.84
      2/17/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      2/17/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      2/17/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/17/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/17/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.88
      2/17/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.27
      2/17/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.08
      2/17/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.04
      2/17/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      2/17/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 210078 Lease                   215.66
      2/17/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      2/17/2018    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 21412b          9.84
      2/17/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      2/17/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/17/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.76
      2/17/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      2/17/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      2/17/2018    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 73130           9.84
      2/17/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      2/17/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      2/17/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 210003 Truck 73130 Leas        196.65
      2/17/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      2/17/2018    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-24        -293.36
      2/17/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      2/17/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      2/17/2018    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00364372 - PO System          214.94
      2/17/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      2/17/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/17/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/17/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/17/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.31
      2/17/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.33
      2/17/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      2/17/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      2/17/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      2/17/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/17/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/17/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.94
      2/17/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.68
      2/17/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      2/17/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      2/17/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      2/17/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/17/2018    709   RL0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32912          19.68
      2/17/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      2/17/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/17/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/17/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/17/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      2/17/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.64
      2/17/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.72
      2/17/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          384.8
      2/17/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.08
      2/17/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      2/17/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      2/17/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      2/17/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/17/2018    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 34012           9.84
      2/17/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      2/17/2018    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-24         -36.11
      2/17/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.23
      2/17/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.52
      2/17/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.38
      2/17/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      2/17/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      2/17/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      2/17/2018    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33664           9.84
      2/17/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      2/17/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.27
      2/17/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.69
      2/17/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.97
      2/17/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      2/17/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      2/17/2018    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1203           9.84
      2/17/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      2/17/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.26
      2/17/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      2/17/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 209966 Q1202 Truck Leas        278.76
      2/17/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      2/17/2018    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1249           9.84
      2/17/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      2/17/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.75
      2/17/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.76
      2/17/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         586.21
      2/17/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      2/17/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      2/17/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 210002 Q1248                   311.97
      2/17/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      2/17/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      2/17/2018    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33236          19.68
      2/17/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      2/17/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      2/17/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/17/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/17/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/17/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/17/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/17/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.67
      2/17/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.19
      2/17/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.61
      2/17/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.52
      2/17/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.96
      2/17/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      2/17/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      2/17/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      2/17/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      2/17/2018    709   SB0009   Owner Operator   Repair Order                   CTMS - 209789 Repair                  374.14
      2/17/2018    709   SB0009   Owner Operator   Repair Order                   CTMS - 209977 Repair                  374.14
      2/17/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      2/17/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         119.93

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      2/17/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      2/17/2018    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33037          19.68
      2/17/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      2/17/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.87
      2/17/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.98
      2/17/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.83
      2/17/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.54
      2/17/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.3
      2/17/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      2/17/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      2/17/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 209963 Sub Lease               388.33
      2/17/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      2/17/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      2/17/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      2/17/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/17/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.12
      2/17/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.22
      2/17/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      2/17/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      2/17/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      2/17/2018    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-24         -259.2
      2/17/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.93
      2/17/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.17
      2/17/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           498
      2/17/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      2/17/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 210000 Tractor Sub leas        242.03
      2/17/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      2/17/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/17/2018    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33961          19.68
      2/17/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      2/17/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/17/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      2/17/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      2/17/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.92
      2/17/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.87
      2/17/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.79
      2/17/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.78
      2/17/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.17
      2/17/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.07
      2/17/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.88
      2/17/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      2/17/2018    709   VJ0006   Owner Operator   Truck Payment                  CTMS - 210045 Tractor rental Q          160
      2/17/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/17/2018    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33407           9.84
      2/17/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      2/17/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      2/17/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      2/17/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      2/17/2018    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1240           9.84
      2/17/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      2/17/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.21
      2/17/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.21
      2/17/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.11
      2/17/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          355.9
      2/17/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      2/17/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 210002 Q1238 Lease             311.97
      2/17/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      2/17/2018    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32604           9.84
      2/17/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      2/17/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/17/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/17/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.14
      2/17/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.62

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      2/17/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.74
      2/17/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.25
      2/17/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      2/17/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      2/17/2018    742   AS0089   Owner Operator   FUEL TAX                       Dec 2017 Fuel Tax                       18.6
      2/17/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/17/2018    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33471           9.84
      2/17/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      2/17/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.48
      2/17/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.89
      2/17/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.63
      2/17/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      2/17/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      2/17/2018    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00364452 - PO System              96
      2/17/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      2/17/2018    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33987           9.84
      2/17/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      2/17/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.35
      2/17/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.64
      2/17/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      2/17/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      2/17/2018    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q13173          9.84
      2/17/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      2/17/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      2/17/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      2/17/2018    742   CT0085   Owner Operator   T Chek Fee                     ExpressCheck Fee                       10.06
      2/17/2018    742   CT0085   Owner Operator   T Chek Fee                     Tractor Repair Q13171                1005.62
      2/17/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 210027 Sub Lease Q13171        352.68
      2/17/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/17/2018    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33847           9.84
      2/17/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      2/17/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           284
      2/17/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.75
      2/17/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.99
      2/17/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.78
      2/17/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.62
      2/17/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.19
      2/17/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      2/17/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/17/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      2/17/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.64
      2/17/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         567.53
      2/17/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      2/17/2018    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33487           9.84
      2/17/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      2/17/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/17/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/17/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         562.96
      2/17/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.61
      2/17/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.01
      2/17/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      2/17/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      2/17/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 209912 Trk 33487 Lease          434.2
      2/17/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      2/17/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/17/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      2/17/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.05
      2/17/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.75
      2/17/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      2/17/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      2/17/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      2/17/2018    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32897           9.84
      2/17/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13

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      2/17/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.57
      2/17/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          319.6
      2/17/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.46
      2/17/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.34
      2/17/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      2/17/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      2/17/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/17/2018    742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32947           9.84
      2/17/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      2/17/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.05
      2/17/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.21
      2/17/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.02
      2/17/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.6
      2/17/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      2/17/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      2/17/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/17/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      2/17/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      2/17/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      2/17/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      2/17/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      2/17/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/17/2018    742   MH0117   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33296           9.84
      2/17/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      2/17/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      2/17/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/17/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      2/17/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      2/17/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      2/17/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.97
      2/17/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.11
      2/17/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      2/17/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      2/17/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      2/17/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      2/17/2018    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33252           9.84
      2/17/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      2/17/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/17/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.25
      2/17/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.55
      2/17/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.5
      2/17/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.09
      2/17/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.76
      2/17/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          417.9
      2/17/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      2/17/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      2/17/2018    742   NK0013   Owner Operator   Advance                        Balance of NewHireEqp                2233.31
      2/17/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/17/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/17/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.9
      2/17/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.15
      2/17/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/17/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      2/17/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    742   OS0018   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.06
      2/17/2018    742   OS0018   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
      2/17/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      2/17/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      2/17/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      2/17/2018    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK Q13159          9.84
      2/17/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      2/17/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                      12.16
      2/17/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.41
      2/17/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.86

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      2/17/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.58
      2/17/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.02
      2/17/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      2/17/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      2/17/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 209965 Tractor Lease           353.28
      2/17/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      2/17/2018    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33738           9.84
      2/17/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      2/17/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.78
      2/17/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      2/17/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      2/17/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      2/17/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/17/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 210009 fuel                      250
      2/17/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      2/17/2018    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      2/17/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      2/17/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      2/17/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      2/17/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      2/17/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/17/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/17/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      2/17/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      2/17/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/17/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/17/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      2/17/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      2/17/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/17/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/24/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      2/24/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      2/24/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      2/24/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      2/24/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/24/2018    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKq13147                     9.84
      2/24/2018    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13150                    -9.84
      2/24/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      2/24/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.05
      2/24/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.38
      2/24/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.35
      2/24/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           307
      2/24/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.41
      2/24/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      2/24/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 210290 Q13147 Lease            440.14
      2/24/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      2/24/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      2/24/2018    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKq13169                     9.84
      2/24/2018    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                    -9.84
      2/24/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      2/24/2018    709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-3         -460.46
      2/24/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.55
      2/24/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      2/24/2018    709   AV0021   Owner Operator   T Chek Fee                     ExpressCheck Fee                           4
      2/24/2018    709   AV0021   Owner Operator   T Chek Fee                     Tractor Repair Q13169                   400
      2/24/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 210255 Q13169 Sublease         352.68
      2/24/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      2/24/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      2/24/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      2/24/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      2/24/2018    709   BM0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-10           55.72
      2/24/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50

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      2/24/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      2/24/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      2/24/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      2/24/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      2/24/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      2/24/2018    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      2/24/2018    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKq13169                    -9.84
      2/24/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      2/24/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         600.23
      2/24/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.99
      2/24/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.35
      2/24/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      2/24/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 210215 Q13168 sub lease        352.68
      2/24/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/24/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      2/24/2018    709   CM0119   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      2/24/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/24/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/24/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/24/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/24/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.49
      2/24/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.75
      2/24/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      2/24/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      2/24/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/24/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      2/24/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      2/24/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      2/24/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.11
      2/24/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.98
      2/24/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.35
      2/24/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.13
      2/24/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      2/24/2018    709   CR0064   Owner Operator   Repair Order                   CTMS - 210356 Q1263 Cap Fill          -17.74
      2/24/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      2/24/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      2/24/2018    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKq1201                      9.84
      2/24/2018    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKq1202                     -9.84
      2/24/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      2/24/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.24
      2/24/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      2/24/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 210214 Q1201                   278.76
      2/24/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/24/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/24/2018    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 33850           9.84
      2/24/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      2/24/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      2/24/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.09
      2/24/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.23
      2/24/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.71
      2/24/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.63
      2/24/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.22
      2/24/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.11
      2/24/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.92
      2/24/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.29
      2/24/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         252.39
      2/24/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         253.74
      2/24/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      2/24/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      2/24/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      2/24/2018    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKq1245                      9.84
      2/24/2018    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKq1246                     -9.84
      2/24/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      2/24/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300

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      2/24/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/24/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.65
      2/24/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.57
      2/24/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.12
      2/24/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      2/24/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      2/24/2018    709   DL0107   Owner Operator   Toll Charges                   Q1245 MassPike Westfield - Eas          1.15
      2/24/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 210254 Sublease                338.99
      2/24/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      2/24/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/24/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      2/24/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/24/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/24/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         759.75
      2/24/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      2/24/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      2/24/2018    709   DS0049   Owner Operator   Toll Charges                   32915 Richmond 3                          25
      2/24/2018    709   DS0049   Owner Operator   Toll Charges                   32915 San Mateo 4                         25
      2/24/2018    709   DS0049   Owner Operator   Toll Charges                   32915/TL0211 Bay Bridge 17                25
      2/24/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      2/24/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      2/24/2018    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-3         -119.66
      2/24/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         670.41
      2/24/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      2/24/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/24/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      2/24/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/24/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/24/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/24/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.52
      2/24/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      2/24/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      2/24/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      2/24/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/24/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      2/24/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/24/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/24/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.29
      2/24/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.37
      2/24/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.15
      2/24/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.76
      2/24/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      2/24/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      2/24/2018    709   EE0011   Owner Operator   Toll Charges                   32910 TxTag Plaza 10 - Irving           2.28
      2/24/2018    709   EE0011   Owner Operator   Toll Charges                   32910 TxTag Plaza 10 - Irving           2.28
      2/24/2018    709   EE0011   Owner Operator   Toll Charges                   32910 TxTag Shady Grove Road            1.88
      2/24/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      2/24/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      2/24/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      2/24/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         619.07
      2/24/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.83
      2/24/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.88
      2/24/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.5
      2/24/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      2/24/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      2/24/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      2/24/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      2/24/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.98
      2/24/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           331
      2/24/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                             23
      2/24/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           375
      2/24/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.97
      2/24/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      2/24/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      2/24/2018    709   EO0014   Owner Operator   Tractor Wash                   CTMS - 210177 Trailer wash FG5           -44
      2/24/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75

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      2/24/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      2/24/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           160
      2/24/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.7
      2/24/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.34
      2/24/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           368
      2/24/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      2/24/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 210298 truck lease 3304        434.29
      2/24/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/24/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      2/24/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          374.4
      2/24/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      2/24/2018    709   FV0001   Owner Operator   Toll Charges                   21521B Bay Bridge 17                      25
      2/24/2018    709   FV0001   Owner Operator   Toll Charges                   21521B Bay Bridge 17                      25
      2/24/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      2/24/2018    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKq1110                      9.84
      2/24/2018    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKq1111                     -9.84
      2/24/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      2/24/2018    709   GS0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-3         -115.46
      2/24/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.01
      2/24/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.43
      2/24/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      2/24/2018    709   GS0015   Owner Operator   Repair Order                   CTMS - 210231 Repair                  125.93
      2/24/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 210212 Lease                   252.11
      2/24/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      2/24/2018    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKq1109                      9.84
      2/24/2018    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKq1110                     -9.84
      2/24/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      2/24/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/24/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/24/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/24/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/24/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/24/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/24/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.62
      2/24/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.24
      2/24/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.01
      2/24/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.25
      2/24/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
      2/24/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      2/24/2018    709   GW0043   Owner Operator   Repair Order                   CTMS - 210357 Repair                  186.37
      2/24/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 210212 Q1109 Lease             302.85
      2/24/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      2/24/2018    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      2/24/2018    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                    -9.84
      2/24/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      2/24/2018    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.16
      2/24/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.52
      2/24/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.55
      2/24/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      2/24/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 210210 Q13170                  352.68
      2/24/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      2/24/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      2/24/2018    709   HG0007   Owner Operator   Driver Excellence Program      CA-1704101953                            -50
      2/24/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/24/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/24/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.86
      2/24/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         594.51
      2/24/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      2/24/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      2/24/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/24/2018    709   IR0002   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      2/24/2018    709   IR0002   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      2/24/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.17
      2/24/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.94

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      2/24/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.24
      2/24/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      2/24/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      2/24/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/24/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      2/24/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      2/24/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      2/24/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      2/24/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      2/24/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/24/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/24/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/24/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/24/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.74
      2/24/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.91
      2/24/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.31
      2/24/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.15
      2/24/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.66
      2/24/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      2/24/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      2/24/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 Benicia 12                         25
      2/24/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 Benicia 12                         25
      2/24/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      2/24/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 210252 Q13197 Lease            276.63
      2/24/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/24/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      2/24/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      2/24/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/24/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/24/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.54
      2/24/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           521
      2/24/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.76
      2/24/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      2/24/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      2/24/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      2/24/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/24/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      2/24/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            400
      2/24/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/24/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/24/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      2/24/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.35
      2/24/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.13
      2/24/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.56
      2/24/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.51
      2/24/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      2/24/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      2/24/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      2/24/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/24/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      2/24/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.46
      2/24/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          500.5
      2/24/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      2/24/2018    709   JG0092   Owner Operator   Toll Charges                   33669/TL9212 San Mateo 6                  25
      2/24/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      2/24/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      2/24/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/24/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/24/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.41
      2/24/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.21
      2/24/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      2/24/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      2/24/2018    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKq1203                      9.84
      2/24/2018    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKq1204                     -9.84
      2/24/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      2/24/2018    709   JR0099   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      2/24/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.94

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      2/24/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.08
      2/24/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      2/24/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 210170 Truck Lease             278.76
      2/24/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      2/24/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      2/24/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      2/24/2018    709   JS0265   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      2/24/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/24/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/24/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/24/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.69
      2/24/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          447.4
      2/24/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      2/24/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      2/24/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      2/24/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/24/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      2/24/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/24/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      2/24/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/24/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/24/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      2/24/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
      2/24/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      2/24/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             27
      2/24/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.29
      2/24/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      2/24/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      2/24/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/24/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      2/24/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      2/24/2018    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKq1111                      9.84
      2/24/2018    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKq1113                     -9.84
      2/24/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      2/24/2018    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-17          320.83
      2/24/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      2/24/2018    709   LL0160   Owner Operator   Toll Charges                   Q1111 NTTA Plaza 1 - Wycliff            2.34
      2/24/2018    709   LL0160   Owner Operator   Toll Charges                   Q1111 NTTA Plaza 1 - Wycliff            2.34
      2/24/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 210159 Lease Q1111             252.11
      2/24/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      2/24/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      2/24/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/24/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/24/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.68
      2/24/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.66
      2/24/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           409
      2/24/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      2/24/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      2/24/2018    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     25
      2/24/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/24/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      2/24/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.26
      2/24/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.28
      2/24/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.73
      2/24/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      2/24/2018    709   MA0092   Owner Operator   Tire Purchase                  PO: 709-00364568 - PO System          250.55
      2/24/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      2/24/2018    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKq1113                      9.84
      2/24/2018    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKq1200                     -9.84
      2/24/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      2/24/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.99
      2/24/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.06
      2/24/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.56
      2/24/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      2/24/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 210209 Q1113 Lease             252.11
      2/24/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75

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      2/24/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.12
      2/24/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.01
      2/24/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.91
      2/24/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      2/24/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/24/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/24/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      2/24/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           615
      2/24/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/24/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/24/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         527.31
      2/24/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.94
      2/24/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      2/24/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      2/24/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/24/2018    709   MP0035   Owner Operator   Repair Order                   CTMS - 210301 Fuel Q1105             -527.31
      2/24/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      2/24/2018    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRKq1108                      9.84
      2/24/2018    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRKq1109                     -9.84
      2/24/2018    709   NB0029   Owner Operator   Driver Excellence Program      CO-PF10301902                            -50
      2/24/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           74.8
      2/24/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      2/24/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      2/24/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/24/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/24/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.93
      2/24/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           270
      2/24/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      2/24/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      2/24/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      2/24/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      2/24/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 210215 Truck 73130 Leas        196.65
      2/24/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      2/24/2018    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-17          293.36
      2/24/2018    709   RC0030   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      2/24/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.31
      2/24/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      2/24/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      2/24/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.19
      2/24/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/24/2018    709   RC0089   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      2/24/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/24/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/24/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.86
      2/24/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.13
      2/24/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      2/24/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      2/24/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      2/24/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/24/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/24/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.26
      2/24/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.13
      2/24/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      2/24/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      2/24/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      2/24/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/24/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      2/24/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/24/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/24/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/24/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/24/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.06
      2/24/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.35
      2/24/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.74
      2/24/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.45
      2/24/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99

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      2/24/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      2/24/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      2/24/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/24/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      2/24/2018    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-17           36.11
      2/24/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.07
      2/24/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.31
      2/24/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.37
      2/24/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      2/24/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      2/24/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      2/24/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      2/24/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.01
      2/24/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.03
      2/24/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      2/24/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      2/24/2018    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKq1202                      9.84
      2/24/2018    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKq1203                     -9.84
      2/24/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      2/24/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.04
      2/24/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      2/24/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 210170 Q1202 Truck Leas        278.76
      2/24/2018    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKq1248                      9.84
      2/24/2018    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKq1249                     -9.84
      2/24/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/24/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/24/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.13
      2/24/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.19
      2/24/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 TxTag 290                         2.28
      2/24/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      2/24/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      2/24/2018    709   SB0009   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      2/24/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/24/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/24/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/24/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.97
      2/24/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.17
      2/24/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.13
      2/24/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.34
      2/24/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      2/24/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      2/24/2018    709   SB0009   Owner Operator   Repair Order                   CTMS - 210230 Repair                  374.13
      2/24/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      2/24/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      2/24/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      2/24/2018    709   SB0103   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      2/24/2018    709   SB0103   Owner Operator   Driver Excellence Program      NV-7263005457                            -50
      2/24/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.47
      2/24/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.96
      2/24/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.47
      2/24/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      2/24/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      2/24/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 210167 Sub Lease               388.33
      2/24/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      2/24/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      2/24/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      2/24/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.43
      2/24/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.97
      2/24/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      2/24/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      2/24/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      2/24/2018    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-17           259.2
      2/24/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           443
      2/24/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           523

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      2/24/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/24/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
      2/24/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 210212 Tractor Sub leas         242.03
      2/24/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    154.82
      2/24/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      2/24/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      2/24/2018    709   VJ0006   Owner Operator   Driver Excellence Program      CA-1548402089                             -50
      2/24/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      2/24/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             160
      2/24/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.6
      2/24/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.61
      2/24/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          159.95
      2/24/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          163.72
      2/24/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.96
      2/24/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.25
      2/24/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/24/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.51
      2/24/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      2/24/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      2/24/2018    709   WB0062   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                             -50
      2/24/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/24/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
      2/24/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      2/24/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      2/24/2018    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKq1239                       9.84
      2/24/2018    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKq1240                      -9.84
      2/24/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      2/24/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.64
      2/24/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          422.76
      2/24/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.75
      2/24/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.08
      2/24/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/24/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 60.47
      2/24/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 210214 Q1238 Lease              311.97
      2/24/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                   8.75
      2/24/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                           13
      2/24/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/24/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/24/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          548.39
      2/24/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/24/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                   52.33
      2/24/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris            2.5
      2/24/2018    742   AP0047   Owner Operator   Tire Fee                       Tire Fee: 2102593                          32
      2/24/2018    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00365070 - PO System           668.01
      2/24/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      2/24/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                           13
      2/24/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/24/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/24/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.79
      2/24/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          425.03
      2/24/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           26.64
      2/24/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          496.69
      2/24/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          155.32
      2/24/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/24/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    60.54
      2/24/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
      2/24/2018    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00364452 - PO System               96
      2/24/2018    742   BS0078   Owner Operator   Toll Charges                   33471 TxTag HCTRA Consolidated              7
      2/24/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                       8.75
      2/24/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                           13
      2/24/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.41
      2/24/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           445.7
      2/24/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/24/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                       70.29
      2/24/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL             8.75
      2/24/2018    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                      9.84
      2/24/2018    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKq13173                     -9.84
      2/24/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                           8
      2/24/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          425.04
      2/24/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          220.61
      2/24/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.92
      2/24/2018    742   CT0085   Owner Operator   Loan Repayment                 EFS 184208                           -3752.53
      2/24/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          254.81

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      2/24/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      2/24/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      2/24/2018    742   CT0085   Owner Operator   T Chek Fee                     ExpressCheck Fee                       37.15
      2/24/2018    742   CT0085   Owner Operator   T Chek Fee                     Tractor Repair Q13171                3715.38
      2/24/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 4                 25
      2/24/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 4                 25
      2/24/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 9                 25
      2/24/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 9                 25
      2/24/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/24/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      2/24/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.87
      2/24/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.22
      2/24/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      2/24/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/24/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Benicia 12                          20
      2/24/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  25
      2/24/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  25
      2/24/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  25
      2/24/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  25
      2/24/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  25
      2/24/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      2/24/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                           11.5
      2/24/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.58
      2/24/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.86
      2/24/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      2/24/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      2/24/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.12
      2/24/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.16
      2/24/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      2/24/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      2/24/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 1                    25
      2/24/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 1                    25
      2/24/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 1                    25
      2/24/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Benicia 12                          25
      2/24/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 12                 25
      2/24/2018    742   DS0254   Owner Operator   Toll Charges                   33487 CATALINA VIEW SOUTH 10           21.96
      2/24/2018    742   DS0254   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                 -25
      2/24/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 210120 Trk 33487 Lease          434.2
      2/24/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      2/24/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/24/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      2/24/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.07
      2/24/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.01
      2/24/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.06
      2/24/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      2/24/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      2/24/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      2/24/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      2/24/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.76
      2/24/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.31
      2/24/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.94
      2/24/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.23
      2/24/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      2/24/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      2/24/2018    742   ED0041   Owner Operator   Toll Charges                   32897 TxTag HN - Rankin Rd                 4
      2/24/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/24/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      2/24/2018    742   EN0016   Owner Operator   Driver Excellence Program      AZ-0173000078                            -50
      2/24/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          434.3
      2/24/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.12
      2/24/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.12
      2/24/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      2/24/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      2/24/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      2/24/2018    742   EN0016   Owner Operator   Repair Order                   CTMS - 210311 repair                  142.34
      2/24/2018    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg           3.5
      2/24/2018    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg             7
      2/24/2018    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg             7
      2/24/2018    742   EN0016   Owner Operator   Toll Charges                   32947 TxTag IH-10 WB Wilcrest              7
      2/24/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      2/24/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      2/24/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      2/24/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      2/24/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      2/24/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/24/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      2/24/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      2/24/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/24/2018    742   MH0117   Owner Operator   Toll Charges                   33296 Antioch Bridge 2                    25
      2/24/2018    742   MH0117   Owner Operator   Toll Charges                   33296 FDOT Hillsborough Ave Ea          1.06
      2/24/2018    742   MH0117   Owner Operator   Toll Charges                   33296 HCTRA Ship Channel Bridg          5.25
      2/24/2018    742   MH0117   Owner Operator   Toll Charges                   33296 HCTRA Ship Channel Bridg             7
      2/24/2018    742   MH0117   Owner Operator   Toll Charges                   33296 KTA Southern Terminal              7.2
      2/24/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      2/24/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      2/24/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      2/24/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.79
      2/24/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.28
      2/24/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      2/24/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      2/24/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      2/24/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Richmond                       25
      2/24/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      2/24/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      2/24/2018    742   NG0024   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      2/24/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/24/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/24/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.11
      2/24/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.13
      2/24/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.45
      2/24/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.58
      2/24/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      2/24/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      2/24/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                  25
      2/24/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                  25
      2/24/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                  25
      2/24/2018    742   NG0024   Owner Operator   Toll Charges                   33252 CTRMA SH550 - DC North L             2
      2/24/2018    742   NG0024   Owner Operator   Toll Charges                   33252 CTRMA SH550 - FM1847 Nor             2
      2/24/2018    742   NG0024   Owner Operator   Toll Charges                   33252 CTRMA SH550 Old Alice Rd             2
      2/24/2018    742   NG0024   Owner Operator   Toll Charges                   33252 CTRMA SH550 Old Alice Rd             2
      2/24/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Ship Channel Bridg             7
      2/24/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Ship Channel Bridg             7
      2/24/2018    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Indian Nation Turnpi           6.2
      2/24/2018    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    -35
      2/24/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.63
      2/24/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 -115.63
      2/24/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           -10
      2/24/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/24/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      2/24/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      2/24/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      2/24/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      2/24/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      2/24/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      2/24/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      2/24/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      2/24/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.35
      2/24/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.54
      2/24/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.65
      2/24/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11

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      2/24/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      2/24/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      2/24/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      2/24/2018    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                        2.53
      2/24/2018    742   RF0136   Owner Operator   T Chek Fee                     Tractor Repair 34182                  253.22
      2/24/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      2/24/2018    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKq13157                     9.84
      2/24/2018    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                    -9.84
      2/24/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      2/24/2018    742   RN0054   Owner Operator   Driver Excellence Program      TX-52ZD0ADHNY                            -50
      2/24/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.41
      2/24/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.27
      2/24/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.22
      2/24/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.59
      2/24/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.94
      2/24/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      2/24/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      2/24/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Sam Houston - Sou             7
      2/24/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Sam Houston - Sou           3.5
      2/24/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Ship Channel Brid             7
      2/24/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157/701821 HCTRA Sam Housto             7
      2/24/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157/701821 HCTRA Sam Housto             7
      2/24/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157/701821 HCTRA Sam Housto             7
      2/24/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 210170 Tractor Lease           353.28
      2/24/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      2/24/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      2/24/2018    742   RS0342   Owner Operator   Driver Excellence Program      NM-3683105793                            -50
      2/24/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          34.06
      2/24/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.06
      2/24/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.31
      2/24/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      2/24/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      2/24/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA KTY WB @ Eldridge              7
      2/24/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Ship Channel Bridg             7
      2/24/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Ship Channel Bridg             7
      2/24/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Ship Channel Bridg             7
      2/24/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      2/24/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/24/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      2/24/2018    742   SK0049   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      2/24/2018    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      2/24/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      2/24/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      2/24/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      2/24/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/24/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      2/24/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.46
      2/24/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.31
      2/24/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.72
      2/24/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      2/24/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/24/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/24/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/24/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      2/24/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      2/24/2018    843   EI0003   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      2/24/2018    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/24/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.64
      2/24/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         605.24
      2/24/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.91
      2/24/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         605.36
      2/24/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/24/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/24/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22

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      2/24/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/24/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       3/3/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       3/3/2018    709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 210417 Solvay fuel            -179.42
       3/3/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       3/3/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.95
       3/3/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       3/3/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       3/3/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       3/3/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       3/3/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.95
       3/3/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.87
       3/3/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.61
       3/3/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.49
       3/3/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       3/3/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 210521 Q13147 Lease            440.14
       3/3/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       3/3/2018    709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-24          460.46
       3/3/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/3/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/3/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.2
       3/3/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.42
       3/3/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.48
       3/3/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.52
       3/3/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.23
       3/3/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.04
       3/3/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.06
       3/3/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       3/3/2018    709   AV0021   Owner Operator   T Chek Fee                     ExpressCheck Fee                          25
       3/3/2018    709   AV0021   Owner Operator   T Chek Fee                     Tractor Repair Q13169                 664.45
       3/3/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       3/3/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       3/3/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       3/3/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       3/3/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       3/3/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       3/3/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.89
       3/3/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         577.08
       3/3/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       3/3/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 210439 Q13168 sub lease        352.68
       3/3/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/3/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       3/3/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/3/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/3/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         601.79
       3/3/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
       3/3/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       3/3/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/3/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       3/3/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       3/3/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       3/3/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.21
       3/3/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.84
       3/3/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.15
       3/3/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.84
       3/3/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.29
       3/3/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       3/3/2018    709   CR0064   Owner Operator   Repair Order                   CTMS - 210500 WFG5298 Flat Rep           -30
       3/3/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       3/3/2018    709   CR0064   Owner Operator   Truck Payment                  CTMS - 210410 Q1263 Truck Rent          300
       3/3/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       3/3/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       3/3/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08

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       3/3/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 210438 Q1201                   278.76
       3/3/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/3/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       3/3/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.75
       3/3/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.96
       3/3/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.02
       3/3/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.18
       3/3/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.66
       3/3/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.76
       3/3/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       3/3/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       3/3/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       3/3/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.19
       3/3/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          556.5
       3/3/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       3/3/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       3/3/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 210410 33482 Truck Rent          500
       3/3/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 210488 Sublease                338.99
       3/3/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       3/3/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/3/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       3/3/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       3/3/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       3/3/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.27
       3/3/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.99
       3/3/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
       3/3/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       3/3/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       3/3/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       3/3/2018    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-24          119.66
       3/3/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.66
       3/3/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       3/3/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/3/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       3/3/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       3/3/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/3/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/3/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         641.17
       3/3/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
       3/3/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       3/3/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       3/3/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/3/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
       3/3/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                              60
       3/3/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                              40
       3/3/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/3/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/3/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
       3/3/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       3/3/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.01
       3/3/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.52
       3/3/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
       3/3/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
       3/3/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
       3/3/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       3/3/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       3/3/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         607.72
       3/3/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.01
       3/3/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       3/3/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       3/3/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       3/3/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       3/3/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.53
       3/3/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           189
       3/3/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.16
       3/3/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.94

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       3/3/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.1
       3/3/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       3/3/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       3/3/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       3/3/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       3/3/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.99
       3/3/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.65
       3/3/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.93
       3/3/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       3/3/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 210529 truck lease 3304        434.29
       3/3/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/3/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       3/3/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.31
       3/3/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.98
       3/3/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       3/3/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       3/3/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       3/3/2018    709   GS0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-24          115.46
       3/3/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.96
       3/3/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       3/3/2018    709   GS0015   Owner Operator   Repair Order                   CTMS - 210579 Repair                  205.62
       3/3/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 210437 Lease                   252.11
       3/3/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       3/3/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       3/3/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.34
       3/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.69
       3/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.12
       3/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.62
       3/3/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
       3/3/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       3/3/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 210436 Q1109 Lease             302.85
       3/3/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       3/3/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       3/3/2018    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.37
       3/3/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.45
       3/3/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          499.5
       3/3/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       3/3/2018    709   HC0023   Owner Operator   Repair Order                   CTMS - 210545 Repair                   162.4
       3/3/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 210434 Q13170                  352.68
       3/3/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       3/3/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       3/3/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.19
       3/3/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         601.71
       3/3/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       3/3/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       3/3/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/3/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.89
       3/3/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
       3/3/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       3/3/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/3/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       3/3/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       3/3/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       3/3/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       3/3/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       3/3/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/3/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/3/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/3/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/3/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/3/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/3/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.16

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       3/3/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      246.42
       3/3/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      284.52
       3/3/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      393.87
       3/3/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      269.83
       3/3/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                   32.99
       3/3/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
       3/3/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD            42.19
       3/3/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                      458.72
       3/3/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 210487 Q13197 Lease         276.63
       3/3/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
       3/3/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                       13
       3/3/2018    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                   -2000
       3/3/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
       3/3/2018    709   JG0017   Owner Operator   Express Check                  T-Check Payment                      2000
       3/3/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
       3/3/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
       3/3/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      297.47
       3/3/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        -521
       3/3/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                   32.99
       3/3/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
       3/3/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                90.86
       3/3/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                       504.6
       3/3/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
       3/3/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                       13
       3/3/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           60
       3/3/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          400
       3/3/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                        4
       3/3/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.6
       3/3/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      499.02
       3/3/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      231.42
       3/3/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      502.48
       3/3/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                   32.99
       3/3/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
       3/3/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                74.22
       3/3/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                      513.26
       3/3/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
       3/3/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                        8
       3/3/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                      545.48
       3/3/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
       3/3/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   35.16
       3/3/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                8.75
       3/3/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                       13
       3/3/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
       3/3/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
       3/3/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      270.08
       3/3/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
       3/3/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                19.54
       3/3/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL          8.75
       3/3/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                       13
       3/3/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                      433.18
       3/3/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
       3/3/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.6
       3/3/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 210402 Truck Lease          278.76
       3/3/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                 8.75
       3/3/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                    8.75
       3/3/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                       13
       3/3/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
       3/3/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
       3/3/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
       3/3/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      393.71
       3/3/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        2.51
       3/3/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
       3/3/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                 15.94
       3/3/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                     37.5
       3/3/2018    709   JS0265   Owner Operator   T Chek Fee                     ExpressCheck Fee                      4.5
       3/3/2018    709   JS0265   Owner Operator   T Chek Fee                     Towing 33325                          450
       3/3/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
       3/3/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                       13
       3/3/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
       3/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
       3/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           50
       3/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.5
       3/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1

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       3/3/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.85
       3/3/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           417
       3/3/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.49
       3/3/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.82
       3/3/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
       3/3/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       3/3/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/3/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       3/3/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       3/3/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       3/3/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       3/3/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 210390 Lease Q1111             252.11
       3/3/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       3/3/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       3/3/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         595.95
       3/3/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       3/3/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       3/3/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/3/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       3/3/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.47
       3/3/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.77
       3/3/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.47
       3/3/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       3/3/2018    709   MA0092   Owner Operator   Tire Purchase                  PO: 709-00364568 - PO System          250.55
       3/3/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       3/3/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       3/3/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.75
       3/3/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.79
       3/3/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.66
       3/3/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       3/3/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 210434 Q1113 Lease             252.11
       3/3/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       3/3/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.1
       3/3/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.02
       3/3/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       3/3/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       3/3/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/3/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       3/3/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           615
       3/3/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            225
       3/3/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.25
       3/3/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         696.08
       3/3/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
       3/3/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       3/3/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       3/3/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       3/3/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       3/3/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       3/3/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       3/3/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       3/3/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
       3/3/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
       3/3/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/3/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/3/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/3/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/3/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/3/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/3/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/3/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/3/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.78
       3/3/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.64
       3/3/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.76
       3/3/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.3
       3/3/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.53
       3/3/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.85

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       3/3/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.23
       3/3/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.38
       3/3/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.57
       3/3/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.26
       3/3/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
       3/3/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       3/3/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 210297 Lease                   215.66
       3/3/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 210528 Lease                   215.66
       3/3/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       3/3/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       3/3/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/3/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/3/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.14
       3/3/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           356
       3/3/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       3/3/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       3/3/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       3/3/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       3/3/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 210439 Truck 73130 Leas        196.65
       3/3/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       3/3/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       3/3/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       3/3/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
       3/3/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/3/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
       3/3/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       3/3/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          452.3
       3/3/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          471.2
       3/3/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
       3/3/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       3/3/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       3/3/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/3/2018    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-10            -15
       3/3/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/3/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          605.8
       3/3/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
       3/3/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       3/3/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       3/3/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/3/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       3/3/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/3/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/3/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/3/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/3/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.07
       3/3/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.71
       3/3/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
       3/3/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       3/3/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       3/3/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/3/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
       3/3/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.24
       3/3/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.61
       3/3/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.46
       3/3/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
       3/3/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       3/3/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       3/3/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       3/3/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.53
       3/3/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.98
       3/3/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.68
       3/3/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25

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       3/3/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       3/3/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       3/3/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.29
       3/3/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.47
       3/3/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.3
       3/3/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       3/3/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 210403 Q1202 Truck Leas        278.76
       3/3/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       3/3/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       3/3/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       3/3/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       3/3/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/3/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/3/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.99
       3/3/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.03
       3/3/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.74
       3/3/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.56
       3/3/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.82
       3/3/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
       3/3/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       3/3/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       3/3/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       3/3/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL 127th Street                6.5
       3/3/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL DeKalb                      1.8
       3/3/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL Dixon                       1.8
       3/3/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 210214 Q1248                   311.97
       3/3/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 210438 Q1248                   311.97
       3/3/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       3/3/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       3/3/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       3/3/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/3/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/3/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.98
       3/3/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.59
       3/3/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
       3/3/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       3/3/2018    709   SB0009   Owner Operator   Repair Order                   CTMS - 210409 Repair                  278.98
       3/3/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       3/3/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       3/3/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       3/3/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.04
       3/3/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.2
       3/3/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.05
       3/3/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.95
       3/3/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       3/3/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       3/3/2018    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.48
       3/3/2018    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  448.35
       3/3/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       3/3/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.36
       3/3/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       3/3/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       3/3/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       3/3/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.56
       3/3/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           225
       3/3/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       3/3/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 210437 Tractor Sub leas        242.03
       3/3/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       3/3/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/3/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       3/3/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       3/3/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/3/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/3/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.41
       3/3/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.73

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       3/3/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.84
       3/3/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.09
       3/3/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       3/3/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       3/3/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       3/3/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       3/3/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       3/3/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       3/3/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       3/3/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/3/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/3/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.39
       3/3/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          444.1
       3/3/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.41
       3/3/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.31
       3/3/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       3/3/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 210438 Q1238 Lease             311.97
       3/3/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
       3/3/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       3/3/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/3/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/3/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/3/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/3/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/3/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/3/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.77
       3/3/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.82
       3/3/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.97
       3/3/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.11
       3/3/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
       3/3/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
       3/3/2018    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00365070 - PO System          674.41
       3/3/2018    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00365070 - PO System             6.4
       3/3/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/3/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       3/3/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.04
       3/3/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.13
       3/3/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.32
       3/3/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       3/3/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       3/3/2018    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00364452 - PO System              96
       3/3/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       3/3/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       3/3/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.14
       3/3/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.43
       3/3/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       3/3/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       3/3/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.11
       3/3/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                           411
       3/3/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.79
       3/3/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.81
       3/3/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
       3/3/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       3/3/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 210250 Sub Lease Q13171        352.68
       3/3/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 210485 Sub Lease Q13171        352.68
       3/3/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 210498 Make Up Truck Pa        280.23
       3/3/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/3/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       3/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.01
       3/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           527
       3/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          217.6
       3/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.6
       3/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           327
       3/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           558
       3/3/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32

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       3/3/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/3/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       3/3/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.85
       3/3/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         648.38
       3/3/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       3/3/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       3/3/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                             250
       3/3/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
       3/3/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.98
       3/3/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.45
       3/3/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.45
       3/3/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.77
       3/3/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       3/3/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       3/3/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 210340 Trk 33487 Lease          434.2
       3/3/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 210566 Trk 33487 Lease          434.2
       3/3/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843             100
       3/3/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/3/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       3/3/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.12
       3/3/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.29
       3/3/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       3/3/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       3/3/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       3/3/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       3/3/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.99
       3/3/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.68
       3/3/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.85
       3/3/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.08
       3/3/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       3/3/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       3/3/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/3/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       3/3/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.08
       3/3/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.88
       3/3/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
       3/3/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       3/3/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/3/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       3/3/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       3/3/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       3/3/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       3/3/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       3/3/2018    742   IK0012   Owner Operator   Advance                        Balance of NewHireEqp                2026.66
       3/3/2018    742   IK0012   Owner Operator   BOBTAIL INS.                   33922 2009 Freightliner NTL             17.5
       3/3/2018    742   IK0012   Owner Operator   ESCROW                         Final Balance Refund                   -2850
       3/3/2018    742   IK0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             95
       3/3/2018    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD             70.31
       3/3/2018    742   IK0012   Owner Operator   PHYSICAL DAMAGE                33922 2009 Freightliner PD Ter             5
       3/3/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       3/3/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       3/3/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       3/3/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       3/3/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                 100
       3/3/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       3/3/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       3/3/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.51
       3/3/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.17
       3/3/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.23
       3/3/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.84
       3/3/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
       3/3/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35

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       3/3/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       3/3/2018    742   MT0112   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                17.5
       3/3/2018    742   MT0112   Owner Operator   ESCROW                         Final Balance Refund                   -3000
       3/3/2018    742   MT0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             95
       3/3/2018    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD               145.11
       3/3/2018    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                64.57
       3/3/2018    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror           2.5
       3/3/2018    742   MT0112   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD Terror             5
       3/3/2018    742   MT0112   Owner Operator   Repair Order                   CTMS - 210579 Q1247 Return           1608.21
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 Bay Bridge 10                       25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 Bay Bridge 10                       25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 Bay Bridge 8                        25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 Bay Bridge 9                        25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 Bay Bridge 9                        25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 Bay Bridge 9                        25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 Benicia 12                          25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 Benicia 12                          25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 Benicia 12                          25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 Benicia 12                          20
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 Carquinez Bridge 11                 25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 Richmond 6                          25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 Richmond 7                          25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 Richmond 7                          25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 San Mateo 3                         25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 San Mateo 4                         25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 San Mateo 4                         25
       3/3/2018    742   MT0112   Owner Operator   Toll Charges                   Q1247 San Mateo 4                         25
       3/3/2018    742   MT0112   Owner Operator   Truck Payment                  CTMS - 208857 Q1247 Sub Lease         311.97
       3/3/2018    742   MT0112   Owner Operator   Truck Payment                  CTMS - 209122 Q1247 Sub Lease         311.97
       3/3/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       3/3/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       3/3/2018    742   NG0024   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-10        -823.71
       3/3/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.49
       3/3/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.56
       3/3/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.92
       3/3/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.94
       3/3/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       3/3/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       3/3/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance                              50
       3/3/2018    742   NK0013   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       3/3/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                           21.5
       3/3/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.24
       3/3/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/3/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
       3/3/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
       3/3/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       3/3/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       3/3/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       3/3/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                              60
       3/3/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             100
       3/3/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/3/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       3/3/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.25
       3/3/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.9
       3/3/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.62
       3/3/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.79
       3/3/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.41
       3/3/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.87
       3/3/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.98
       3/3/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       3/3/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       3/3/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       3/3/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.14
       3/3/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.38
       3/3/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.54
       3/3/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.25
       3/3/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16

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       3/3/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       3/3/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 210402 Tractor Lease           353.28
       3/3/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       3/3/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       3/3/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.88
       3/3/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.8
       3/3/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.51
       3/3/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.55
       3/3/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       3/3/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       3/3/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
       3/3/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       3/3/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 210452 fuel                      250
       3/3/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       3/3/2018    742   SK0049   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
       3/3/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       3/3/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       3/3/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
       3/3/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/3/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       3/3/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.75
       3/3/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.36
       3/3/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.53
       3/3/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       3/3/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       3/3/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       3/3/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       3/3/2018    843   EI0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/3/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.09
       3/3/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.29
       3/3/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.83
       3/3/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/3/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       3/3/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      3/10/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      3/10/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      3/10/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/10/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            400
      3/10/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      3/10/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.54
      3/10/2018    709   AN0007   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                    -166.62
      3/10/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      3/10/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      3/10/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      3/10/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      3/10/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.93
      3/10/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.2
      3/10/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.44
      3/10/2018    709   AR0064   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                       2.51
      3/10/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      3/10/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 210728 Q13147 Lease            440.14
      3/10/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      3/10/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      3/10/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      3/10/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      3/10/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      3/10/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.18
      3/10/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           49.6
      3/10/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.02
      3/10/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.61
      3/10/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.04
      3/10/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          124.1
      3/10/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           420
      3/10/2018    709   AV0021   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      57.54
      3/10/2018    709   AV0021   Owner Operator   Loan Repayment                 1/2 loan pmt - re s/u nxt wk         -317.45

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      3/10/2018    709   AV0021   Owner Operator   Loan Repayment                 EFS 184566                             -2525
      3/10/2018    709   AV0021   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          634.9
      3/10/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      3/10/2018    709   AV0021   Owner Operator   T Chek Fee                     Advance                                621.5
      3/10/2018    709   AV0021   Owner Operator   T Chek Fee                     Tractor Repair Q13169                1835.55
      3/10/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 210489 Q13169 Sublease         352.68
      3/10/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 210691 Q13169 Sublease         352.68
      3/10/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      3/10/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      3/10/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/10/2018    709   BM0030   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     113.55
      3/10/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      3/10/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      3/10/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      3/10/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      3/10/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.67
      3/10/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.14
      3/10/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.73
      3/10/2018    709   CC0134   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     351.95
      3/10/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      3/10/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 210658 Q13168 sub lease        352.68
      3/10/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/10/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      3/10/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         579.52
      3/10/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         633.38
      3/10/2018    709   CM0119   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      77.07
      3/10/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      3/10/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      3/10/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/10/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      3/10/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      3/10/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      3/10/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/10/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.76
      3/10/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.54
      3/10/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.35
      3/10/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                            353
      3/10/2018    709   CR0064   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     312.39
      3/10/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      3/10/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      3/10/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      3/10/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      3/10/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.36
      3/10/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      3/10/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 210657 Q1201                   278.76
      3/10/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/10/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      3/10/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.91
      3/10/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.35
      3/10/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.48
      3/10/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.98
      3/10/2018    709   DL0029   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                       0.01
      3/10/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      3/10/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      3/10/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      3/10/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/10/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      3/10/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/10/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           38.5
      3/10/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.95
      3/10/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         599.51
      3/10/2018    709   DL0107   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     589.86
      3/10/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      3/10/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      3/10/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      3/10/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 210689 Sublease                338.99
      3/10/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      3/10/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/10/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      3/10/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/10/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/10/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         725.19
      3/10/2018    709   DS0049   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     138.81
      3/10/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      32.99
      3/10/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      3/10/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      3/10/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      3/10/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         592.56
      3/10/2018    709   DS0225   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     510.29
      3/10/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      3/10/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/10/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      3/10/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/10/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/10/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.03
      3/10/2018    709   EA0003   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     141.64
      3/10/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      32.99
      3/10/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      3/10/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      3/10/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/10/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      3/10/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/10/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/10/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.32
      3/10/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.53
      3/10/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.86
      3/10/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.79
      3/10/2018    709   EE0011   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     105.52
      3/10/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      32.99
      3/10/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      3/10/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      3/10/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      3/10/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      3/10/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         595.51
      3/10/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.3
      3/10/2018    709   EG0062   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      34.55
      3/10/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      3/10/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      3/10/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      3/10/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      3/10/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.08
      3/10/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.61
      3/10/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.33
      3/10/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.56
      3/10/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.12
      3/10/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      3/10/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      3/10/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      3/10/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      3/10/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.8
      3/10/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.47
      3/10/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.3
      3/10/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.37
      3/10/2018    709   FS0039   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      99.95
      3/10/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      3/10/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 210736 truck lease 3304        434.29
      3/10/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/10/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      3/10/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.67

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      3/10/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      3/10/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      3/10/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      3/10/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.93
      3/10/2018    709   GS0015   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      115.1
      3/10/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      3/10/2018    709   GS0015   Owner Operator   Repair Order                   CTMS - 210630 Repair                  205.62
      3/10/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 210655 Lease                   252.11
      3/10/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      3/10/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      3/10/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/10/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/10/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.43
      3/10/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.56
      3/10/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.09
      3/10/2018    709   GW0043   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     121.19
      3/10/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
      3/10/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      3/10/2018    709   GW0043   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.54
      3/10/2018    709   GW0043   Owner Operator   T Chek Fee                     Tractor Repair Q1109                  353.55
      3/10/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 210655 Q1109 Lease             302.85
      3/10/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      3/10/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      3/10/2018    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/10/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.23
      3/10/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      3/10/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 210652 Q13170                  352.68
      3/10/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      3/10/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      3/10/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/10/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/10/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/10/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/10/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.38
      3/10/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.87
      3/10/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      3/10/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      3/10/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/10/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.69
      3/10/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.19
      3/10/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.98
      3/10/2018    709   IR0002   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      -37.4
      3/10/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      3/10/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      3/10/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/10/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      3/10/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      3/10/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      3/10/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      3/10/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      3/10/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/10/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/10/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/10/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.52
      3/10/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.18
      3/10/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.63
      3/10/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.85
      3/10/2018    709   JC0292   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     731.14
      3/10/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      3/10/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      3/10/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      3/10/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 210688 Q13197 Lease            276.63
      3/10/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      3/10/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                       13
      3/10/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                        500
      3/10/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                         300
      3/10/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
      3/10/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      212.14
      3/10/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      402.06
      3/10/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      525.75
      3/10/2018    709   JG0017   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                    22.8
      3/10/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                   32.99
      3/10/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/10/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                90.86
      3/10/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                       504.6
      3/10/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      3/10/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                       13
      3/10/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         500
      3/10/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      3/10/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      334.68
      3/10/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       389.7
      3/10/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      465.02
      3/10/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       214.8
      3/10/2018    709   JG0072   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                  315.62
      3/10/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                   32.99
      3/10/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/10/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                74.22
      3/10/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                      513.26
      3/10/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
      3/10/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                        8
      3/10/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/10/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      3/10/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                      566.31
      3/10/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                      328.01
      3/10/2018    709   JG0092   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                  215.51
      3/10/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/10/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   35.16
      3/10/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                8.75
      3/10/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                       13
      3/10/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/10/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      3/10/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      257.03
      3/10/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      121.01
      3/10/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/10/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                19.54
      3/10/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL          8.75
      3/10/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                       13
      3/10/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                      336.02
      3/10/2018    709   JR0099   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                  152.96
      3/10/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/10/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.6
      3/10/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 210620 Truck Lease          278.76
      3/10/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                 8.75
      3/10/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                    8.75
      3/10/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                       13
      3/10/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                        100
      3/10/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/10/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                         200
      3/10/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      3/10/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      3/10/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      421.37
      3/10/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       436.8
      3/10/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        2.51
      3/10/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      3/10/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                 15.94
      3/10/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                     37.5
      3/10/2018    709   KP0004   Owner Operator   Accident Claim                 03/06/18 KP0004 Incident            1300
      3/10/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      3/10/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                       13
      3/10/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                        250
      3/10/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/10/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/10/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/10/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
      3/10/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      3/10/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1

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      3/10/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/10/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/10/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.9
      3/10/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.55
      3/10/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.93
      3/10/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.57
      3/10/2018    709   KP0004   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     402.75
      3/10/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      3/10/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      3/10/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/10/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      3/10/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      3/10/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      3/10/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      3/10/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 210608 Lease Q1111             252.11
      3/10/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      3/10/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      3/10/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/10/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.84
      3/10/2018    709   LS0023   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      49.21
      3/10/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      3/10/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      3/10/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/10/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      3/10/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/10/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.81
      3/10/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.61
      3/10/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.86
      3/10/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.3
      3/10/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.48
      3/10/2018    709   MA0092   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                       9.81
      3/10/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      3/10/2018    709   MA0092   Owner Operator   Tire Purchase                  PO: 709-00364568 - PO System          250.52
      3/10/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      3/10/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      3/10/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.91
      3/10/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.75
      3/10/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.04
      3/10/2018    709   ME0053   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      18.44
      3/10/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      3/10/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 210652 Q1113 Lease             252.11
      3/10/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/10/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
      3/10/2018    709   MG0067   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      -24.4
      3/10/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      3/10/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/10/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/10/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      3/10/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           615
      3/10/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      3/10/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      3/10/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/10/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      3/10/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      3/10/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      3/10/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      3/10/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/10/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/10/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.57
      3/10/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.11
      3/10/2018    709   NB0029   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     193.07
      3/10/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      3/10/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 210735 Lease                   215.66

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      3/10/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      3/10/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      3/10/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/10/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           355
      3/10/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.94
      3/10/2018    709   NG0005   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     164.45
      3/10/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      3/10/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      3/10/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      3/10/2018    709   NT9564   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     205.49
      3/10/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      3/10/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 210658 Truck 73130 Leas        196.65
      3/10/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      3/10/2018    709   RC0030   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     912.54
      3/10/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      3/10/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      3/10/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      3/10/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/10/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/10/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/10/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.45
      3/10/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.28
      3/10/2018    709   RC0089   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     -11.41
      3/10/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      3/10/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      3/10/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      3/10/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/10/2018    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-3               15
      3/10/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/10/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.67
      3/10/2018    709   RL0017   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     -51.84
      3/10/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      3/10/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      3/10/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      3/10/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/10/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      3/10/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/10/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/10/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/10/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.78
      3/10/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          129.3
      3/10/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.19
      3/10/2018    709   RL0062   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     159.76
      3/10/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      3/10/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      3/10/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      3/10/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/10/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      3/10/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/10/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.26
      3/10/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.57
      3/10/2018    709   RL0180   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      21.23
      3/10/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      3/10/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      3/10/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      3/10/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      3/10/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.88
      3/10/2018    709   RM0026   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     213.94
      3/10/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      3/10/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      3/10/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      3/10/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.04
      3/10/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      3/10/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      3/10/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 210620 Q1202 Truck Leas        278.76
      3/10/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      3/10/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      3/10/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.35
      3/10/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.54
      3/10/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.06
      3/10/2018    709   RR0123   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     342.25
      3/10/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      3/10/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      3/10/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 210657 Q1248                   311.97
      3/10/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/10/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      3/10/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/10/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/10/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/10/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/10/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/10/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.49
      3/10/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.54
      3/10/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.44
      3/10/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.63
      3/10/2018    709   SB0009   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     516.35
      3/10/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      3/10/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      3/10/2018    709   SB0009   Owner Operator   Repair Order                   CTMS - 210628 Repair                  278.98
      3/10/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      3/10/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      3/10/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      3/10/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/10/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          166.7
      3/10/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.01
      3/10/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.4
      3/10/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.3
      3/10/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.52
      3/10/2018    709   SB0103   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     278.31
      3/10/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      3/10/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      3/10/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 210399 Sub Lease               388.33
      3/10/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 210617 Sub Lease               388.33
      3/10/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      3/10/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      3/10/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      3/10/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      3/10/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      3/10/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/10/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/10/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/10/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/10/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.98
      3/10/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.12
      3/10/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.18
      3/10/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.42
      3/10/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.44
      3/10/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.61
      3/10/2018    709   SN0019   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      97.76
      3/10/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      3/10/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      3/10/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      3/10/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           571
      3/10/2018    709   VB0015   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      38.69
      3/10/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      3/10/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 210655 Tractor Sub leas        242.03
      3/10/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      3/10/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/10/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      3/10/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/10/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      3/10/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      3/10/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            140
      3/10/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      3/10/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      3/10/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.92
      3/10/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.91
      3/10/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.74
      3/10/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.47
      3/10/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.06
      3/10/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.96
      3/10/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.98
      3/10/2018    709   VJ0006   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      180.2
      3/10/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      3/10/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      3/10/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      3/10/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      3/10/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      3/10/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      3/10/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      3/10/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              60
      3/10/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      3/10/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.26
      3/10/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.45
      3/10/2018    709   WH0087   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     237.67
      3/10/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      3/10/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 210657 Q1238 Lease             311.97
      3/10/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/10/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/10/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.96
      3/10/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.83
      3/10/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.49
      3/10/2018    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      3/10/2018    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      3/10/2018    742   AS0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-17         -142.5
      3/10/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/10/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      3/10/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/10/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/10/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.71
      3/10/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.43
      3/10/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.09
      3/10/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.29
      3/10/2018    742   BS0078   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     125.47
      3/10/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      3/10/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/10/2018    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00364452 - PO System           95.93
      3/10/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      3/10/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      3/10/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.75
      3/10/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.53
      3/10/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      3/10/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      3/10/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      3/10/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      3/10/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.35
      3/10/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.93
      3/10/2018    742   CT0085   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      84.07
      3/10/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.81
      3/10/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      3/10/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      3/10/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 210498 Make Up Truck Pa         72.45
      3/10/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 210686 Sub Lease Q13171        352.68
      3/10/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/10/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13

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      3/10/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.01
      3/10/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.48
      3/10/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.38
      3/10/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           30.2
      3/10/2018    742   DA0067   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     180.81
      3/10/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      3/10/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/10/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      3/10/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/10/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.53
      3/10/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         606.48
      3/10/2018    742   DC0117   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     104.93
      3/10/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      3/10/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      3/10/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/10/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/10/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.97
      3/10/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.3
      3/10/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.47
      3/10/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.38
      3/10/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.07
      3/10/2018    742   DS0254   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      59.83
      3/10/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      3/10/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      3/10/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      3/10/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/10/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      3/10/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/10/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.86
      3/10/2018    742   EA0039   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      -0.52
      3/10/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      3/10/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/10/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/10/2018    742   EN0016   Owner Operator   Charge back by affiliate       CTMS - 210749 trailer wash            -38.16
      3/10/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      3/10/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/10/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/10/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.86
      3/10/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.68
      3/10/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.38
      3/10/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.02
      3/10/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.05
      3/10/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.13
      3/10/2018    742   EN0016   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      88.22
      3/10/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      3/10/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      3/10/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/10/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      3/10/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      3/10/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      3/10/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      3/10/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      3/10/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      3/10/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      3/10/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      3/10/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/10/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.85
      3/10/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.97
      3/10/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.88
      3/10/2018    742   MS0230   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      34.84
      3/10/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      3/10/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      3/10/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      3/10/2018    742   MT0112   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     -60.96
      3/10/2018    742   MT0112   Owner Operator   Repair Order                   CTMS - 210579 Q1247 Return             684.9
      3/10/2018    742   MT0112   Owner Operator   Truck Payment                  ?Rvrs CTMS Q1247 Sub Lse Pmt         -311.97
      3/10/2018    742   MT0112   Owner Operator   Truck Payment                  ?Rvrs CTMS Q1247 Sub Lse Pmt         -311.97

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      3/10/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75
      3/10/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                           13
      3/10/2018    742   NG0024   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-3            823.71
      3/10/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/10/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/10/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.54
      3/10/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.36
      3/10/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                           469.5
      3/10/2018    742   NG0024   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      111.09
      3/10/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/10/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             100.79
      3/10/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            2.5
      3/10/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      3/10/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                           13
      3/10/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                              50
      3/10/2018    742   OS0018   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      240.75
      3/10/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/10/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    31.25
      3/10/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism            2.5
      3/10/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/10/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/10/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/10/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/10/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/10/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.68
      3/10/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          157.76
      3/10/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.18
      3/10/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.05
      3/10/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.11
      3/10/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          149.69
      3/10/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.26
      3/10/2018    742   PC0012   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                       50.32
      3/10/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                       32.99
      3/10/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                       32.99
      3/10/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                       32.99
      3/10/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.38
      3/10/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.35
      3/10/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.38
      3/10/2018    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Kilpatrick Turnpike            8.65
      3/10/2018    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Turner Turnpike West          18.05
      3/10/2018    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Will Rogers Turnpike          18.05
      3/10/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      3/10/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      3/10/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      3/10/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                       8.75
      3/10/2018    742   RF0136   Owner Operator   Broker Pay Void/Reissue        Credit Voided Ck # 971378             -2091.4
      3/10/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                           13
      3/10/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                              50
      3/10/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/10/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/10/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.15
      3/10/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.19
      3/10/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           92.05
      3/10/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          255.69
      3/10/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/10/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                       53.13
      3/10/2018    742   RF0136   Owner Operator   T Chek Fee                     Pay adv 2/24/18 - DD not s/u            2000
      3/10/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             8.75
      3/10/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                          13
      3/10/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          431.74
      3/10/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.02
      3/10/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          282.47
      3/10/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           20.98
      3/10/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.68
      3/10/2018    742   RN0054   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      100.99
      3/10/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/10/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             35.16
      3/10/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
      3/10/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 210620 Tractor Lease            353.28
      3/10/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       8.75
      3/10/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13
      3/10/2018    742   RS0342   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-17        -2958.37
      3/10/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                              50

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      3/10/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          161.9
      3/10/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.12
      3/10/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          407.1
      3/10/2018    742   RS0342   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     110.85
      3/10/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      3/10/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      3/10/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      3/10/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/10/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 210696 fuel                      250
      3/10/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      3/10/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      3/10/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      3/10/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      3/10/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      3/10/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/10/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      3/10/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/10/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.26
      3/10/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.94
      3/10/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.15
      3/10/2018    742   TH0130   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      -5.73
      3/10/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      3/10/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/10/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      3/10/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      3/10/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.75
      3/10/2018    843   EI0003   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      86.55
      3/10/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/10/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      3/10/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      3/17/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      3/17/2018    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157a                     9.84
      3/17/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      3/17/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      3/17/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      3/17/2018    709   AN0007   Owner Operator   Repair Order                   CTMS - 210955 Fuel for H2o2            -87.1
      3/17/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      3/17/2018    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKq13147                     9.84
      3/17/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      3/17/2018    709   AR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-24         -740.8
      3/17/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.31
      3/17/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.56
      3/17/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.01
      3/17/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      3/17/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 210937 Q13147 Lease            440.14
      3/17/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      3/17/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      3/17/2018    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKq13169                     9.84
      3/17/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      3/17/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.49
      3/17/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.61
      3/17/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.44
      3/17/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.29
      3/17/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.14
      3/17/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           330
      3/17/2018    709   AV0021   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          634.9
      3/17/2018    709   AV0021   Owner Operator   Loan Repayment                 Loan Payment 1/2 pmt                 -317.45
      3/17/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      3/17/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 210905 Q13169 Sublease         352.68
      3/17/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      3/17/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      3/17/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      3/17/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      3/17/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75

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      3/17/2018    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                      9.84
      3/17/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
      3/17/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          494.15
      3/17/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.03
      3/17/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          470.22
      3/17/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.16
      3/17/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 210871 Q13168 sub lease         352.68
      3/17/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/17/2018    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                       9.84
      3/17/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
      3/17/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/17/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/17/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          501.16
      3/17/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                       32.99
      3/17/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.96
      3/17/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      3/17/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
      3/17/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      3/17/2018    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                       9.84
      3/17/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                           13
      3/17/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/17/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/17/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          231.05
      3/17/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.44
      3/17/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          159.66
      3/17/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           261.9
      3/17/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.13
      3/17/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       39.07
      3/17/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                          245.63
      3/17/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL              8.75
      3/17/2018    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKq1201                       9.84
      3/17/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                            8
      3/17/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          479.68
      3/17/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD              65.08
      3/17/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 210870 Q1201                    278.76
      3/17/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      3/17/2018    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                       9.84
      3/17/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      3/17/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          292.98
      3/17/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          334.99
      3/17/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.48
      3/17/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          331.58
      3/17/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     34.2
      3/17/2018    709   DL0029   Owner Operator   T Chek Fee                     EFS 186190 s/u pmts                  -1153.93
      3/17/2018    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        11.43
      3/17/2018    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                   1142.5
      3/17/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      3/17/2018    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKq1245                       9.84
      3/17/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      3/17/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      3/17/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      3/17/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.87
      3/17/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           392.1
      3/17/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          430.21
      3/17/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          352.59
      3/17/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 65.71
      3/17/2018    709   DL0107   Owner Operator   Repair Order                   CTMS - 210877 Repair                    238.7
      3/17/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 210904 Sublease                 338.99
      3/17/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                     18.38
      3/17/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/17/2018    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                       9.84
      3/17/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
      3/17/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      3/17/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      3/17/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.78
      3/17/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          575.98
      3/17/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                       32.99

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      3/17/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    92.35
      3/17/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                          512.35
      3/17/2018    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      3/17/2018    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      3/17/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      3/17/2018    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-24          -953.6
      3/17/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          606.58
      3/17/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.07
      3/17/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/17/2018    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                       9.84
      3/17/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
      3/17/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      3/17/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/17/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/17/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/17/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/17/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          440.27
      3/17/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          512.11
      3/17/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                       32.99
      3/17/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   105.47
      3/17/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                          555.56
      3/17/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/17/2018    709   EE0011   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                       9.84
      3/17/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                           13
      3/17/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             400
      3/17/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                            4
      3/17/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.02
      3/17/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.72
      3/17/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.46
      3/17/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.55
      3/17/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          407.98
      3/17/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                       32.99
      3/17/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.92
      3/17/2018    709   EE0011   Owner Operator   Toll Charges                   32910 Carquinez Brg 9 Toll                 25
      3/17/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                          505.27
      3/17/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
      3/17/2018    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                       9.84
      3/17/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
      3/17/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          430.48
      3/17/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          336.02
      3/17/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          259.17
      3/17/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    42.19
      3/17/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
      3/17/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
      3/17/2018    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                       9.84
      3/17/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13
      3/17/2018    709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-24        -2871.45
      3/17/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.95
      3/17/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            204
      3/17/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 78.13
      3/17/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
      3/17/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
      3/17/2018    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                       9.84
      3/17/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
      3/17/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          459.75
      3/17/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          439.52
      3/17/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              76.88
      3/17/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 210945 truck lease 3304         434.29
      3/17/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      3/17/2018    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521b                      9.84
      3/17/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                          13
      3/17/2018    709   FV0001   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-24           -7.59
      3/17/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/17/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/17/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.25
      3/17/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          488.67

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      3/17/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      3/17/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      3/17/2018    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKq1110                      9.84
      3/17/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      3/17/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.21
      3/17/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      3/17/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 210869 Lease                   252.11
      3/17/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      3/17/2018    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKq1109                      9.84
      3/17/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      3/17/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.61
      3/17/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.01
      3/17/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
      3/17/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      3/17/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 210868 Q1109 Lease             302.85
      3/17/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      3/17/2018    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      3/17/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      3/17/2018    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.01
      3/17/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.37
      3/17/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.92
      3/17/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      3/17/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 210866 Q13170                  352.68
      3/17/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      3/17/2018    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK33180                      9.84
      3/17/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      3/17/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/17/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/17/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.45
      3/17/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      3/17/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      3/17/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/17/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.19
      3/17/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.87
      3/17/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      3/17/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      3/17/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/17/2018    709   IR0002   Owner Operator   Repair Order                   CTMS - 210920 Repair                  373.99
      3/17/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      3/17/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      3/17/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      3/17/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      3/17/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      3/17/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/17/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/17/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/17/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/17/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/17/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/17/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.03
      3/17/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.15
      3/17/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.34
      3/17/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.15
      3/17/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          463.1
      3/17/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.39
      3/17/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      3/17/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      3/17/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      3/17/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 210903 Q13197 Lease            276.63
      3/17/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/17/2018    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                      9.84
      3/17/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      3/17/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500

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      3/17/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/17/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/17/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.6
      3/17/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.34
      3/17/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      3/17/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      3/17/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      3/17/2018    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      3/17/2018    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      3/17/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/17/2018    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                      9.84
      3/17/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      3/17/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/17/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/17/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.79
      3/17/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.89
      3/17/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.12
      3/17/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      3/17/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      3/17/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      3/17/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/17/2018    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                      9.84
      3/17/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      3/17/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/17/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/17/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.53
      3/17/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.39
      3/17/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.26
      3/17/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.04
      3/17/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      3/17/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      3/17/2018    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                      9.84
      3/17/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      3/17/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/17/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/17/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.55
      3/17/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      3/17/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      3/17/2018    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKq1203                      9.84
      3/17/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      3/17/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.82
      3/17/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      3/17/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 210836 Truck Lease             278.76
      3/17/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      3/17/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      3/17/2018    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRK33325                      9.84
      3/17/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      3/17/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/17/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/17/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/17/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/17/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/17/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                           368
      3/17/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.57
      3/17/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      3/17/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      3/17/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      3/17/2018    709   JS0265   Owner Operator   Truck Payment                  CTMS - 210920 33482 Truck Rent          500
      3/17/2018    709   KP0004   Owner Operator   Accident Claim                 03/06/18 KP0004 Incident               407.9
      3/17/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/17/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      3/17/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/17/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           225
      3/17/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.86
      3/17/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           500
      3/17/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      3/17/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      3/17/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      3/17/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/17/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      3/17/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      3/17/2018    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKq1111                      9.84
      3/17/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      3/17/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      3/17/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 210831 Lease Q1111             252.11
      3/17/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      3/17/2018    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                      9.84
      3/17/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      3/17/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/17/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/17/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.65
      3/17/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      3/17/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      3/17/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/17/2018    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      3/17/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      3/17/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.94
      3/17/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.42
      3/17/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.44
      3/17/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.22
      3/17/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.43
      3/17/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      3/17/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      3/17/2018    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKq1113                      9.84
      3/17/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      3/17/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.16
      3/17/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          315.3
      3/17/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.31
      3/17/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      3/17/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 210866 Q1113 Lease             252.11
      3/17/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/17/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           360
      3/17/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.01
      3/17/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      3/17/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/17/2018    709   MM0093   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          68.44
      3/17/2018    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   12.94
      3/17/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/17/2018    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                      9.84
      3/17/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      3/17/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           615
      3/17/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            240
      3/17/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.4
      3/17/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         761.38
      3/17/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      3/17/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      3/17/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/17/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      3/17/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      3/17/2018    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRKq1108                      9.84
      3/17/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      3/17/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      3/17/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            250
      3/17/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
      3/17/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.61
      3/17/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.23
      3/17/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.29
      3/17/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.76
      3/17/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      3/17/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 210944 Lease                   215.66
      3/17/2018    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      3/17/2018    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      3/17/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75

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      3/17/2018    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412b                     9.84
      3/17/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      3/17/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/17/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/17/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.35
      3/17/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.92
      3/17/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      3/17/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      3/17/2018    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      3/17/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      3/17/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      3/17/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 210871 Truck 73130 Leas        196.65
      3/17/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      3/17/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.18
      3/17/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      3/17/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      3/17/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      3/17/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/17/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/17/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/17/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.71
      3/17/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.44
      3/17/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      3/17/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      3/17/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      3/17/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/17/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/17/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.05
      3/17/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      3/17/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      3/17/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      3/17/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/17/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      3/17/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/17/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/17/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.74
      3/17/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.07
      3/17/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      3/17/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      3/17/2018    709   RL0062   Owner Operator   Repair Order                   CTMS - 210920 33923 Truck Rent          200
      3/17/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      3/17/2018    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      3/17/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/17/2018    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      3/17/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      3/17/2018    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-24        -185.35
      3/17/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.88
      3/17/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          377.7
      3/17/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      3/17/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      3/17/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      3/17/2018    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      3/17/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      3/17/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.77
      3/17/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      3/17/2018    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      3/17/2018    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      3/17/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      3/17/2018    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKq1202                      9.84
      3/17/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      3/17/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.63
      3/17/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      3/17/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 210836 Q1202 Truck Leas        278.76

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      3/17/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      3/17/2018    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKq1248                      9.84
      3/17/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      3/17/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/17/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/17/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.78
      3/17/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.09
      3/17/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.33
      3/17/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          476.2
      3/17/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      3/17/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      3/17/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 210870 Q1248                   311.97
      3/17/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/17/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      3/17/2018    709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                      -4000
      3/17/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      3/17/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/17/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/17/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.85
      3/17/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.54
      3/17/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.88
      3/17/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.64
      3/17/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      3/17/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      3/17/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      3/17/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      3/17/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.86
      3/17/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.53
      3/17/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.53
      3/17/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.91
      3/17/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.01
      3/17/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      3/17/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      3/17/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      3/17/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      3/17/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      3/17/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.94
      3/17/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.67
      3/17/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      3/17/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      3/17/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      3/17/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.57
      3/17/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            525
      3/17/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.71
      3/17/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      3/17/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 210869 Tractor Sub leas        242.03
      3/17/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      3/17/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/17/2018    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      3/17/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      3/17/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      3/17/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/17/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/17/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.99
      3/17/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.33
      3/17/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.36
      3/17/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                            7.1
      3/17/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.58
      3/17/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      3/17/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      3/17/2018    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      3/17/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      3/17/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      3/17/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      3/17/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      3/17/2018    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKq1239                      9.84

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      3/17/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      3/17/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/17/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            160
      3/17/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      3/17/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/17/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.25
      3/17/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.96
      3/17/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.94
      3/17/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.84
      3/17/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      3/17/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 210870 Q1238 Lease             311.97
      3/17/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      3/17/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      3/17/2018    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      3/17/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      3/17/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      3/17/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/17/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/17/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.55
      3/17/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.02
      3/17/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.21
      3/17/2018    742   AP0047   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     105.21
      3/17/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      3/17/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      3/17/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      3/17/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      3/17/2018    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00365070 - PO System          674.41
      3/17/2018    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00365070 - PO System          674.41
      3/17/2018    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      3/17/2018    742   AS0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-10           142.5
      3/17/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/17/2018    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRK33471                      9.84
      3/17/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      3/17/2018    742   BS0078   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-24        -381.39
      3/17/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/17/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/17/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.41
      3/17/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.31
      3/17/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      3/17/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/17/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      3/17/2018    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      3/17/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      3/17/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.97
      3/17/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      3/17/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      3/17/2018    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      3/17/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      3/17/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.88
      3/17/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.55
      3/17/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.81
      3/17/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      3/17/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      3/17/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 210900 Sub Lease Q13171        352.68
      3/17/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/17/2018    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      3/17/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      3/17/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.16
      3/17/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           405
      3/17/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             18
      3/17/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      3/17/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/17/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      3/17/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         595.91
      3/17/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75

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      3/17/2018    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      3/17/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      3/17/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            250
      3/17/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
      3/17/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.16
      3/17/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.78
      3/17/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.72
      3/17/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      3/17/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      3/17/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 210768 Trk 33487 Lease          434.2
      3/17/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 210993 Trk 33487 Lease          434.2
      3/17/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      3/17/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/17/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      3/17/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.83
      3/17/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      3/17/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/17/2018    742   ED0041   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-24        -130.21
      3/17/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/17/2018    742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze TRK32947                      9.84
      3/17/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      3/17/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.56
      3/17/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.73
      3/17/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.23
      3/17/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.89
      3/17/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      3/17/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      3/17/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/17/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      3/17/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      3/17/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      3/17/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      3/17/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      3/17/2018    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    -35
      3/17/2018    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/17/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                       23.8
      3/17/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      3/17/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  -469.8
      3/17/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                          307.3
      3/17/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/17/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/17/2018    742   MH0117   Owner Operator   Broker Pre Pass                DriveWyze TRK33296                      9.84
      3/17/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      3/17/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      3/17/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      3/17/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      3/17/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/17/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/17/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      3/17/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      3/17/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      3/17/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         584.36
      3/17/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          32.64
      3/17/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.5
      3/17/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.7
      3/17/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      3/17/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      3/17/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      3/17/2018    742   MT0112   Owner Operator   *Arrears Collection W/O        WO:ATBS Accounting Fee                -20.17
      3/17/2018    742   MT0112   Owner Operator   *Arrears Collection W/O        WO:ATBS Accounting Fee                -20.17
      3/17/2018    742   MT0112   Owner Operator   *Arrears Collection W/O        WO:ATBS Accounting Fee                -20.17

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      3/17/2018    742   MT0112   Owner Operator   *Arrears Collection W/O        WO:ATBS Accounting Fee                 -20.17
      3/17/2018    742   MT0112   Owner Operator   *Arrears Collection W/O        WO:ATBS Accounting Fee                 -20.17
      3/17/2018    742   MT0112   Owner Operator   *Arrears Collection W/O        WO:CTMS - 210579 Q1247 Return        -3465.89
      3/17/2018    742   MT0112   Owner Operator   *Arrears Collection W/O        WO:DriveWyze Deduction TRK q12          -9.84
      3/17/2018    742   MT0112   Owner Operator   *Arrears Collection W/O        WO:DriveWyze Deduction TRK q12          -9.84
      3/17/2018    742   MT0112   Owner Operator   *Arrears Collection W/O        WO:Milton C. Taylor, Jr. L&H          -253.86
      3/17/2018    742   MT0112   Owner Operator   *Arrears Collection W/O        WO:Milton C. Taylor, Jr. L&H          -126.94
      3/17/2018    742   MT0112   Owner Operator   *Arrears Collection W/O        WO:PNet Hware Q1247                        -8
      3/17/2018    742   MT0112   Owner Operator   24 HOUR DISABILITY             L&H                                    126.94
      3/17/2018    742   MT0112   Owner Operator   24 HOUR DISABILITY             L&H                                    253.86
      3/17/2018    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                     20.17
      3/17/2018    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                     20.17
      3/17/2018    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                     20.17
      3/17/2018    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                     20.17
      3/17/2018    742   MT0112   Owner Operator   ATBS                           ATBS Accounting Fee                     20.17
      3/17/2018    742   MT0112   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1247            9.84
      3/17/2018    742   MT0112   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK q1247            9.84
      3/17/2018    742   MT0112   Owner Operator   Communication Charge           PNet Hware Q1247                            8
      3/17/2018    742   MT0112   Owner Operator   Repair Order                   CTMS - 210579 Q1247 Return            3465.89
      3/17/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75
      3/17/2018    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                       9.84
      3/17/2018    742   NG0024   Owner Operator   Charge back by affiliate       CTMS - 210957 Tank Wash                -359.7
      3/17/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                           13
      3/17/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/17/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/17/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          477.32
      3/17/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          517.07
      3/17/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          175.67
      3/17/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             100.79
      3/17/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            2.5
      3/17/2018    742   NG0024   Owner Operator   T Chek Fee                     ExpressCheck Fee                        39.94
      3/17/2018    742   NG0024   Owner Operator   T Chek Fee                     Tractor Repair 33252                  3993.66
      3/17/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      3/17/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                           13
      3/17/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                              50
      3/17/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/17/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    31.25
      3/17/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism            2.5
      3/17/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.56
      3/17/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.56
      3/17/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.55
      3/17/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.56
      3/17/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.56
      3/17/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/17/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/17/2018    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32969            9.84
      3/17/2018    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                       9.84
      3/17/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      3/17/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      3/17/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      3/17/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      3/17/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      3/17/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      3/17/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      3/17/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      3/17/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      3/17/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      3/17/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/17/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/17/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           35.92
      3/17/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.72
      3/17/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          226.01
      3/17/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.61
      3/17/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                       32.99
      3/17/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                       32.99
      3/17/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.38
      3/17/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.38
      3/17/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      3/17/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      3/17/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                       8.75
      3/17/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                           13
      3/17/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                              50

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      3/17/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            400
      3/17/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      3/17/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.36
      3/17/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.47
      3/17/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.41
      3/17/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.69
      3/17/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.56
      3/17/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.92
      3/17/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.45
      3/17/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.35
      3/17/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.87
      3/17/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      3/17/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      3/17/2018    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKq13157                     9.84
      3/17/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      3/17/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.03
      3/17/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          36.08
      3/17/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.83
      3/17/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.16
      3/17/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      3/17/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      3/17/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 210836 Tractor Lease           353.28
      3/17/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      3/17/2018    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                      9.84
      3/17/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      3/17/2018    742   RS0342   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-10         2958.37
      3/17/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.16
      3/17/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.54
      3/17/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.17
      3/17/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.94
      3/17/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      3/17/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      3/17/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      3/17/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/17/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 210953 fuel                      250
      3/17/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      3/17/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      3/17/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      3/17/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      3/17/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      3/17/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/17/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      3/17/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/17/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.88
      3/17/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.87
      3/17/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.35
      3/17/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.46
      3/17/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.13
      3/17/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.88
      3/17/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      3/17/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/17/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      3/17/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      3/17/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         640.61
      3/17/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         569.14
      3/17/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.93
      3/17/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           51.2
      3/17/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/17/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      3/17/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      3/24/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      3/24/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      3/24/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/24/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/24/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           461
      3/24/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      3/24/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      3/24/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      3/24/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      3/24/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      3/24/2018    709   AR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-17           740.8
      3/24/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.97
      3/24/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.83
      3/24/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.97
      3/24/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      3/24/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 211172 Q13147 Lease            440.14
      3/24/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      3/24/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      3/24/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      3/24/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      3/24/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      3/24/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      3/24/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      3/24/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.34
      3/24/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.53
      3/24/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.61
      3/24/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.1
      3/24/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.96
      3/24/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.02
      3/24/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.5
      3/24/2018    709   AV0021   Owner Operator   Loan Repayment                 Balance of Loan 2                    1264.53
      3/24/2018    709   AV0021   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         250.09
      3/24/2018    709   AV0021   Owner Operator   Loan Repayment                 rewrite loan 2 to correct pmts       -1980.1
      3/24/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      3/24/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 211127 Q13169 Sublease         352.68
      3/24/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      3/24/2018    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      3/24/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      3/24/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      3/24/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      3/24/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      3/24/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      3/24/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.29
      3/24/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.13
      3/24/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.95
      3/24/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      3/24/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 211078 Q13168 sub lease        352.68
      3/24/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/24/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      3/24/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/24/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/24/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.53
      3/24/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                      32.99
      3/24/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      3/24/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/24/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      3/24/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      3/24/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      3/24/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/24/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/24/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.75
      3/24/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.07
      3/24/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.5
      3/24/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.64
      3/24/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      3/24/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      3/24/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      3/24/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      3/24/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.58
      3/24/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      3/24/2018    709   CS0091   Owner Operator   Repair Order                   CTMS - 211209 Repair                  102.58

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      3/24/2018    709   CS0091   Owner Operator   Tire Fee                       Tire Fee: 2109654                         4
      3/24/2018    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00365834 - PO System         108.61
      3/24/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 211077 Q1201                  278.76
      3/24/2018    709   DL0029   Owner Operator   Advance                        EFS 186190 s/u $250/wk                 250
      3/24/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
      3/24/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                          8
      3/24/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.79
      3/24/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        447.22
      3/24/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/24/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.19
      3/24/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      3/24/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      3/24/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/24/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/24/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.16
      3/24/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        478.84
      3/24/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        352.59
      3/24/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/24/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.69
      3/24/2018    709   DL0107   Owner Operator   Repair Order                   CTMS - 211051 Repair                  238.7
      3/24/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 211125 Sublease               338.99
      3/24/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.36
      3/24/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/24/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      3/24/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      3/24/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      3/24/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.3
      3/24/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        293.63
      3/24/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.92
      3/24/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                     32.99
      3/24/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/24/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.33
      3/24/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      3/24/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      3/24/2018    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-17          953.6
      3/24/2018    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-31       -480.15
      3/24/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        540.52
      3/24/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/24/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.04
      3/24/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/24/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      3/24/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      3/24/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/24/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/24/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/24/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/24/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        628.02
      3/24/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        367.69
      3/24/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                     32.99
      3/24/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/24/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      3/24/2018    709   EA0003   Owner Operator   Tire Fee                       Tire Fee: 2111827                         8
      3/24/2018    709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00366119 - PO System         240.14
      3/24/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      3/24/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/24/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
      3/24/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/24/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/24/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/24/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/24/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        181.42
      3/24/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        219.01
      3/24/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        279.37
      3/24/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                     32.99
      3/24/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/24/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.91
      3/24/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
      3/24/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  8.75
      3/24/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                          8
      3/24/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        384.87
      3/24/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.83
      3/24/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        715.98
      3/24/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      3/24/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      3/24/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      3/24/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      3/24/2018    709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-17         2871.45
      3/24/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.73
      3/24/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.39
      3/24/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.03
      3/24/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.48
      3/24/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      3/24/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      3/24/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      3/24/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      3/24/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.19
      3/24/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.88
      3/24/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.6
      3/24/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      3/24/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 211180 truck lease 3304        434.29
      3/24/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/24/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      3/24/2018    709   FV0001   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-17            7.59
      3/24/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.25
      3/24/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      3/24/2018    709   FV0001   Owner Operator   Toll Charges                   21521B Fastrak Richmond                   25
      3/24/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      3/24/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      3/24/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.77
      3/24/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.95
      3/24/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      3/24/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 211075 Lease                   252.11
      3/24/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      3/24/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.25
      3/24/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
      3/24/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      3/24/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 211075 Q1109 Lease             190.17
      3/24/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      3/24/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      3/24/2018    709   HC0023   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.47
      3/24/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.13
      3/24/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      3/24/2018    709   HC0023   Owner Operator   Tire Fee                       Tire Fee: 2110908                         16
      3/24/2018    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00366762 - PO System          381.99
      3/24/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 211073 Q13170                  352.68
      3/24/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      3/24/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      3/24/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/24/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/24/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.16
      3/24/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.01
      3/24/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      3/24/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      3/24/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/24/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.52
      3/24/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.04
      3/24/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                      32.99
      3/24/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      3/24/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/24/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      3/24/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      3/24/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      3/24/2018    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      3/24/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      3/24/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      3/24/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         574.75

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      3/24/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                      32.99
      3/24/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      3/24/2018    709   JC0292   Owner Operator   Repair Order                   CTMS - 211212 Repair                   23.95
      3/24/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      3/24/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 211124 Q13197 Lease            276.63
      3/24/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/24/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      3/24/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      3/24/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/24/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/24/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.59
      3/24/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          516.1
      3/24/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                      32.99
      3/24/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      3/24/2018    709   JG0017   Owner Operator   Toll Charges                   32908 Fastrak Bay Bridge                  25
      3/24/2018    709   JG0017   Owner Operator   Toll Charges                   32908/TL9206 Fastrak Bay Bridg            25
      3/24/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      3/24/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/24/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      3/24/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/24/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/24/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.51
      3/24/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.34
      3/24/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.19
      3/24/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.92
      3/24/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                      32.99
      3/24/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      3/24/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      3/24/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/24/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      3/24/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/24/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/24/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.07
      3/24/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.01
      3/24/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      3/24/2018    709   JG0092   Owner Operator   Toll Charges                   33669 BATA San Mateo                      25
      3/24/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      3/24/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      3/24/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/24/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/24/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.88
      3/24/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      3/24/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      3/24/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      3/24/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.19
      3/24/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      3/24/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 211045 Truck Lease             278.76
      3/24/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      3/24/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      3/24/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      3/24/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          72.53
      3/24/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/24/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/24/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.26
      3/24/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      3/24/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      3/24/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      3/24/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/24/2018    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      3/24/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      3/24/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/24/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/24/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/24/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/24/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/24/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.43

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      3/24/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.02
      3/24/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            305
      3/24/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.55
      3/24/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.07
      3/24/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.02
      3/24/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                      32.99
      3/24/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      3/24/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/24/2018    709   KP0004   Owner Operator   Toll Charges                   32914/701709 ILTOLL Route 80 (           4.9
      3/24/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      3/24/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      3/24/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      3/24/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      3/24/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 211030 Lease Q1111             252.11
      3/24/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      3/24/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      3/24/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/24/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/24/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/24/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/24/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.64
      3/24/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.31
      3/24/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      3/24/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      3/24/2018    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     25
      3/24/2018    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     25
      3/24/2018    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     25
      3/24/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/24/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      3/24/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.22
      3/24/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.57
      3/24/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.37
      3/24/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.79
      3/24/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      3/24/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      3/24/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      3/24/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.89
      3/24/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          398.9
      3/24/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          312.6
      3/24/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.77
      3/24/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      3/24/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 211072 Q1113 Lease             252.11
      3/24/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/24/2018    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-31        -958.38
      3/24/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.04
      3/24/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.31
      3/24/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      3/24/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/24/2018    709   MM0093   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 32931           9.84
      3/24/2018    709   MM0093   Owner Operator   Broker Pre Pass                DriveWyze TRK32931                      9.84
      3/24/2018    709   MM0093   Owner Operator   ESCROW                         Final Balance Refund                   -3000
      3/24/2018    709   MM0093   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                  146.43
      3/24/2018    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      3/24/2018    709   MM0093   Owner Operator   Tractor Charge                 16434 - 32931                         337.19
      3/24/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/24/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      3/24/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            615
      3/24/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              50
      3/24/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      3/24/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.73
      3/24/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                      32.99
      3/24/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      3/24/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/24/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      3/24/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      3/24/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13

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      3/24/2018    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -5000
      3/24/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
      3/24/2018    709   NB0029   Owner Operator   Express Check                  T-Check Payment                         5000
      3/24/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/24/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/24/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          318.2
      3/24/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          413.6
      3/24/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.34
      3/24/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      3/24/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Kilpatrick Turnpike           8.65
      3/24/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Turner Turnpike East         18.05
      3/24/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Will Rogers Turnpike         18.05
      3/24/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 PTC Neshaminy Falls              72.47
      3/24/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 211179 Lease                   215.66
      3/24/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      3/24/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      3/24/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/24/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              60
      3/24/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      3/24/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/24/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.33
      3/24/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.55
      3/24/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          348.1
      3/24/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      3/24/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      3/24/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      3/24/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      3/24/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 211078 Truck 73130 Leas        196.65
      3/24/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      3/24/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.35
      3/24/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.58
      3/24/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      3/24/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      3/24/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.19
      3/24/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/24/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                             500
      3/24/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/24/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.57
      3/24/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         584.22
      3/24/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                      32.99
      3/24/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      3/24/2018    709   RC0089   Owner Operator   Repair Order                   CTMS - 211058 Repair                  201.49
      3/24/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      3/24/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/24/2018    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      3/24/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      3/24/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.49
      3/24/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.52
      3/24/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                      32.99
      3/24/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      3/24/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      3/24/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/24/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      3/24/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/24/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/24/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/24/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/24/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.81
      3/24/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.86
      3/24/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.67
      3/24/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          223.1
      3/24/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                      32.99
      3/24/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      3/24/2018    709   RL0062   Owner Operator   Repair Order                   CTMS - 211214 Repair                    80.8
      3/24/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      3/24/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75

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      3/24/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      3/24/2018    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-17          185.35
      3/24/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.12
      3/24/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      3/24/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      3/24/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      3/24/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      3/24/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.93
      3/24/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.24
      3/24/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      3/24/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      3/24/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      3/24/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.41
      3/24/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      3/24/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 211045 Q1202 Truck Leas        278.76
      3/24/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      3/24/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      3/24/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/24/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/24/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/24/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/24/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          465.7
      3/24/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.92
      3/24/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.72
      3/24/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.23
      3/24/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      3/24/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      3/24/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 211077 Q1248                   311.97
      3/24/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/24/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      3/24/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/24/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/24/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/24/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           19.9
      3/24/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.66
      3/24/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           278
      3/24/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.34
      3/24/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.81
      3/24/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.18
      3/24/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                      32.99
      3/24/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      3/24/2018    709   SB0009   Owner Operator   Repair Order                   CTMS - 211052 Repair                   230.7
      3/24/2018    709   SB0009   Owner Operator   Tire Fee                       Tire Fee: 2110981                          4
      3/24/2018    709   SB0009   Owner Operator   Tire Fee                       Tire Fee: 2111983                          8
      3/24/2018    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00366124 - PO System           59.34
      3/24/2018    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00366546 - PO System           231.1
      3/24/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      3/24/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      3/24/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      3/24/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      3/24/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.48
      3/24/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.75
      3/24/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.62
      3/24/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      3/24/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      3/24/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 210833 Sub Lease               388.33
      3/24/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 211043 Sub Lease               388.33
      3/24/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      3/24/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      3/24/2018    709   SM0109   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/24/2018    709   SM0109   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/24/2018    709   SM0109   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/24/2018    709   SM0109   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/24/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.25

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      3/24/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           310.5
      3/24/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          259.88
      3/24/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          599.81
      3/24/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                       32.99
      3/24/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
      3/24/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
      3/24/2018    709   SM0109   Owner Operator   Repair Order                   CTMS - 211155 repair                     -339
      3/24/2018    709   SM0109   Owner Operator   Tractor Charge                 16634 - 33195                          554.49
      3/24/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                     59.45
      3/24/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      3/24/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      3/24/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                              100
      3/24/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                              100
      3/24/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/24/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/24/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          262.08
      3/24/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          227.81
      3/24/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.76
      3/24/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/24/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
      3/24/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      3/24/2018    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                     12.5
      3/24/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      3/24/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          469.99
      3/24/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/24/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
      3/24/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 211075 Tractor Sub leas         242.03
      3/24/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    154.82
      3/24/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      3/24/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      3/24/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                             200
      3/24/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          120.62
      3/24/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          230.71
      3/24/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/24/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.51
      3/24/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      3/24/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      3/24/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/24/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
      3/24/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      3/24/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      3/24/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      3/24/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.46
      3/24/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.31
      3/24/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          329.47
      3/24/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/24/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 60.47
      3/24/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 211077 Q1238 Lease              311.97
      3/24/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                   8.75
      3/24/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                           13
      3/24/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                              100
      3/24/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                              100
      3/24/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                              100
      3/24/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/24/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/24/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/24/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          412.12
      3/24/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          441.15
      3/24/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          419.88
      3/24/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          137.21
      3/24/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          360.04
      3/24/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/24/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                   52.33
      3/24/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris            2.5
      3/24/2018    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00365070 - PO System           674.35
      3/24/2018    742   AS0089   Owner Operator   Broker Pay Void/Reissue        ACH Request 3/23/18                  10617.91
      3/24/2018    742   AS0089   Owner Operator   Broker Pay Void/Reissue        Credit voided ck # 971508            -8414.47
      3/24/2018    742   AS0089   Owner Operator   Broker Pay Void/Reissue        Credit Voided Ck 971449             -10617.91
      3/24/2018    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                            8
      3/24/2018    742   AS0089   Owner Operator   T Chek Fee                     Advance processed Friday               10000
      3/24/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      3/24/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                           13
      3/24/2018    742   BS0078   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-17           381.39

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      3/24/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.36
      3/24/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.93
      3/24/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.28
      3/24/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.24
      3/24/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      3/24/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/24/2018    742   BS0078   Owner Operator   Toll Charges                   TxTag 33471 SHIP                         3.5
      3/24/2018    742   BS0078   Owner Operator   Toll Charges                   TxTag 33471 SHIP                         3.5
      3/24/2018    742   BS0078   Owner Operator   Toll Charges                   TxTag 33471 SHIP                         3.5
      3/24/2018    742   BS0078   Owner Operator   Toll Charges                   TxTag 33471 SHIP                         3.5
      3/24/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      3/24/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      3/24/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         598.81
      3/24/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.34
      3/24/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      3/24/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      3/24/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      3/24/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.62
      3/24/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.79
      3/24/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.79
      3/24/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.81
      3/24/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      3/24/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      3/24/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Fastrak Carquinez Bridg            15
      3/24/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Fastrak Carquinez Bridg            25
      3/24/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Fastrak Carquinez Bridg            25
      3/24/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Fastrak Carquinez Bridg            25
      3/24/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Fastrak Carquinez Bridg            25
      3/24/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Fastrak Carquinez Bridg            25
      3/24/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Fastrak Carquinez Bridg            25
      3/24/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 211122 Sub Lease Q13171        352.68
      3/24/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/24/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      3/24/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             13
      3/24/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             30
      3/24/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         625.04
      3/24/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      3/24/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/24/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Fastrak Carquinez Bridge            25
      3/24/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Fastrak Carquinez Bridge            25
      3/24/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Fastrak Carquinez Bridge            25
      3/24/2018    742   DA0067   Owner Operator   Toll Charges                   33847 ILTOLL Route 80 (East)             4.9
      3/24/2018    742   DA0067   Owner Operator   Toll Charges                   33847 OTC Eastgate                      3.75
      3/24/2018    742   DA0067   Owner Operator   Toll Charges                   33847 OTC Niles-Youngstown              25.5
      3/24/2018    742   DA0067   Owner Operator   Toll Charges                   33847 PTC Gateway Barrier               20.7
      3/24/2018    742   DA0067   Owner Operator   Toll Charges                   33847 PTC Toll 376 - East 30            1.74
      3/24/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      3/24/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    742   DC0117   Owner Operator   Toll Charges                   34063/701915 HCTRA Sam Houston             7
      3/24/2018    742   DC0117   Owner Operator   Toll Charges                   34063/701915 HCTRA Ship Channe             7
      3/24/2018    742   DC0117   Owner Operator   Toll Charges                   34063/702318 HCTRA Sam Houston           3.5
      3/24/2018    742   DC0117   Owner Operator   Toll Charges                   34063/702318 HCTRA Sam Houston             7
      3/24/2018    742   DC0117   Owner Operator   Toll Charges                   34063/702853 CTRMA SH550 Old A             2
      3/24/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      3/24/2018    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 211059 trailer wash               -44
      3/24/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      3/24/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/24/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/24/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.69
      3/24/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.47
      3/24/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.37
      3/24/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.37
      3/24/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      3/24/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      3/24/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Fastrak Carquinez Bridge            25
      3/24/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Fastrak Carquinez Bridge            25
      3/24/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 211237 Trk 33487 Lease          434.2

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      3/24/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      3/24/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/24/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      3/24/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.18
      3/24/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.78
      3/24/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          500.6
      3/24/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      3/24/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/24/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/24/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      3/24/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/24/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/24/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.94
      3/24/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.24
      3/24/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.51
      3/24/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                      32.99
      3/24/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      3/24/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/24/2018    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg             7
      3/24/2018    742   EN0016   Owner Operator   Toll Charges                   TxTag 32947 SH East Plaza L1               7
      3/24/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      3/24/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      3/24/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      3/24/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      3/24/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      3/24/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/24/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      3/24/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      3/24/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/24/2018    742   MH0117   Owner Operator   Toll Charges                   33296 Fastrak Carquinez Bridge            25
      3/24/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      3/24/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      3/24/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      3/24/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.36
      3/24/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      3/24/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      3/24/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      3/24/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/24/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      3/24/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.92
      3/24/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      3/24/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/24/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/24/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      3/24/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      3/24/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      3/24/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      3/24/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.53
      3/24/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          175.2
      3/24/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.39
      3/24/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.23
      3/24/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.93
      3/24/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.43
      3/24/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.61
      3/24/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.52
      3/24/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      51.39
      3/24/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      3/24/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      3/24/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.1
      3/24/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.95
      3/24/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.91

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      3/24/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      3/24/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      3/24/2018    742   RS0342   Owner Operator   Toll Charges                   33738 BATA Carquinez Bridge               25
      3/24/2018    742   RS0342   Owner Operator   Toll Charges                   33738 BATA Carquinez Bridge               25
      3/24/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      3/24/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/24/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 211155 fuel                      250
      3/24/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      3/24/2018    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-31        -316.57
      3/24/2018    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-31        -120.06
      3/24/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      3/24/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      3/24/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      3/24/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      3/24/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/24/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      3/24/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/24/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.99
      3/24/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.64
      3/24/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.49
      3/24/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.87
      3/24/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/24/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      3/24/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/24/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 15
      3/24/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 15
      3/24/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               25
      3/24/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.28
      3/24/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.72
      3/24/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          686.3
      3/31/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      3/31/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/31/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/31/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/31/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.07
      3/31/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      3/31/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          482.9
      3/31/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.99
      3/31/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.19
      3/31/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      3/31/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 211431 Q13147 Lease            440.14
      3/31/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      3/31/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.06
      3/31/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.41
      3/31/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.01
      3/31/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.02
      3/31/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.78
      3/31/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.01
      3/31/2018    709   AV0021   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         250.09
      3/31/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 211390 Q13169 Sublease         352.68
      3/31/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      3/31/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/31/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      3/31/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.58
      3/31/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.27
      3/31/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.96
      3/31/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.99
      3/31/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 211349 Q13168 sub lease        352.68
      3/31/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/31/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/31/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          302.2
      3/31/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         162.64
      3/31/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                          229.2
      3/31/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      3/31/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.63
      3/31/2018    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00365834 - PO System          108.61
      3/31/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 211348 Q1201                   278.76
      3/31/2018    709   DL0029   Owner Operator   Advance                        EFS 186190 s/u $250/wk                  250
      3/31/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      3/31/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.36
      3/31/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.35

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      3/31/2018    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                         462.23
      3/31/2018    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                         178.17
      3/31/2018    709   DL0107   Owner Operator   Fuel Card Advances      Cash Advance                            300
      3/31/2018    709   DL0107   Owner Operator   Fuel Card Advances      Cash Advance Fee                           3
      3/31/2018    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                         385.67
      3/31/2018    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                         340.53
      3/31/2018    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                         183.27
      3/31/2018    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                         442.33
      3/31/2018    709   DL0107   Owner Operator   Loan Repayment          Loan # 00004 - Loan Repayment         324.28
      3/31/2018    709   DS0049   Owner Operator   Communication Charge    PNet Hware 32915                          13
      3/31/2018    709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance                            500
      3/31/2018    709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance Fee                           5
      3/31/2018    709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                         563.45
      3/31/2018    709   DS0049   Owner Operator   IRP License Deduction   LCIL:2017 - 32915                      32.99
      3/31/2018    709   DS0049   Owner Operator   Tractor Charge          15738 - 32915                         512.35
      3/31/2018    709   DS0225   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 3-24          480.15
      3/31/2018    709   DS0225   Owner Operator   Fuel Purchase           Fuel Purchase                         542.48
      3/31/2018    709   EA0003   Owner Operator   Communication Charge    PNet Hware 33051                          13
      3/31/2018    709   EA0003   Owner Operator   ESCROW                  Weekly Escrow                           250
      3/31/2018    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                            200
      3/31/2018    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                            200
      3/31/2018    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/31/2018    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/31/2018    709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                         566.71
      3/31/2018    709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                         555.14
      3/31/2018    709   EA0003   Owner Operator   IRP License Deduction   LCIL:2017 - 33051                      32.99
      3/31/2018    709   EA0003   Owner Operator   Tire Purchase           PO: 709-00366119 - PO System          240.14
      3/31/2018    709   EA0003   Owner Operator   Tractor Charge          16439 - 33051                         555.56
      3/31/2018    709   EE0011   Owner Operator   Communication Charge    PNet Hware 32910                          13
      3/31/2018    709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance                            200
      3/31/2018    709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance                            200
      3/31/2018    709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/31/2018    709   EE0011   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/31/2018    709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                         315.85
      3/31/2018    709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                         329.76
      3/31/2018    709   EE0011   Owner Operator   Fuel Purchase           Fuel Purchase                         428.39
      3/31/2018    709   EE0011   Owner Operator   IRP License Deduction   LCIL:2017 - 32910                      32.99
      3/31/2018    709   EE0011   Owner Operator   Tractor Charge          14619 - 32910                         505.27
      3/31/2018    709   EG0062   Owner Operator   Communication Charge    PNet Hware 33828                           8
      3/31/2018    709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                         299.85
      3/31/2018    709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                         350.15
      3/31/2018    709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                         220.95
      3/31/2018    709   EO0014   Owner Operator   Communication Charge    PNet Hware 33846                          13
      3/31/2018    709   EO0014   Owner Operator   Communication Charge    PNet Hware 33846                          13
      3/31/2018    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                         277.28
      3/31/2018    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                           250
      3/31/2018    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                         448.63
      3/31/2018    709   FS0039   Owner Operator   Communication Charge    PNet Hware 33040                           8
      3/31/2018    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                         380.56
      3/31/2018    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                         429.72
      3/31/2018    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                         352.37
      3/31/2018    709   FS0039   Owner Operator   Truck Payment           CTMS - 211441 truck lease 3304        434.29
      3/31/2018    709   FV0001   Owner Operator   Communication Charge    PNet Hware 21521B                         13
      3/31/2018    709   FV0001   Owner Operator   Fuel Card Advances      Cash Advance                            200
      3/31/2018    709   FV0001   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/31/2018    709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                         422.84
      3/31/2018    709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                         438.74
      3/31/2018    709   GS0015   Owner Operator   Communication Charge    PNet Hware Q1110                          13
      3/31/2018    709   GS0015   Owner Operator   Fuel Purchase           Fuel Purchase                         301.06
      3/31/2018    709   GS0015   Owner Operator   Truck Payment           CTMS - 211347 Lease                   252.11
      3/31/2018    709   HC0023   Owner Operator   Communication Charge    PNet Hware Q13170                          8
      3/31/2018    709   HC0023   Owner Operator   ESCROW                  Weekly Escrow                             50
      3/31/2018    709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                          531.9
      3/31/2018    709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                         226.44
      3/31/2018    709   HC0023   Owner Operator   Tire Purchase           PO: 709-00366762 - PO System          381.99
      3/31/2018    709   HC0023   Owner Operator   Truck Payment           CTMS - 211344 Q13170                  352.68
      3/31/2018    709   HG0007   Owner Operator   Communication Charge    PNet Hware 33180                          13
      3/31/2018    709   HG0007   Owner Operator   ESCROW                  Weekly Escrow                             50
      3/31/2018    709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance                            200
      3/31/2018    709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/31/2018    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                         471.93
      3/31/2018    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                         472.49
      3/31/2018    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                          22.89

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      3/31/2018    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                     456.05
      3/31/2018    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                     119.72
      3/31/2018    709   IR0002   Owner Operator   IRP License Deduction   LCIL:2017 - 32901                  32.99
      3/31/2018    709   IR0002   Owner Operator   Tractor Charge          14461 - 32901                     521.95
      3/31/2018    709   JC0292   Owner Operator   Communication Charge    PNet Hware Q13197                     13
      3/31/2018    709   JC0292   Owner Operator   ESCROW                  Weekly Escrow                        400
      3/31/2018    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                     376.47
      3/31/2018    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                     200.82
      3/31/2018    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                     365.64
      3/31/2018    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                     561.91
      3/31/2018    709   JC0292   Owner Operator   IRP License Deduction   LCIL:2017 - Q1210                  32.99
      3/31/2018    709   JC0292   Owner Operator   Tractor Charge          51362 - Q1210                     458.72
      3/31/2018    709   JC0292   Owner Operator   Truck Payment           CTMS - 211387 Q13197 Lease        276.63
      3/31/2018    709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                      13
      3/31/2018    709   JG0017   Owner Operator   ESCROW                  Escrow Withdrawal                  -2000
      3/31/2018    709   JG0017   Owner Operator   ESCROW                  Weekly Escrow                        500
      3/31/2018    709   JG0017   Owner Operator   Express Check           T-Check Payment                     2000
      3/31/2018    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                         300
      3/31/2018    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                       3
      3/31/2018    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                     478.81
      3/31/2018    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                     385.32
      3/31/2018    709   JG0017   Owner Operator   IRP License Deduction   LCIL:2017 - 32908                  32.99
      3/31/2018    709   JG0017   Owner Operator   Tractor Charge          14298 - 32908                      504.6
      3/31/2018    709   JG0072   Owner Operator   Communication Charge    PNet Hware 32909                      13
      3/31/2018    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                         400
      3/31/2018    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                          60
      3/31/2018    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                     0.6
      3/31/2018    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                       4
      3/31/2018    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                     300.53
      3/31/2018    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                     561.61
      3/31/2018    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                     279.61
      3/31/2018    709   JG0072   Owner Operator   IRP License Deduction   LCIL:2017 - 32909                  32.99
      3/31/2018    709   JG0072   Owner Operator   Tractor Charge          14534 - 32909                     513.26
      3/31/2018    709   JG0092   Owner Operator   Communication Charge    PNet Hware 33669                       8
      3/31/2018    709   JG0092   Owner Operator   Fuel Card Advances      Cash Advance                         200
      3/31/2018    709   JG0092   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2
      3/31/2018    709   JG0092   Owner Operator   Fuel Purchase           Fuel Purchase                     390.86
      3/31/2018    709   JG0092   Owner Operator   Fuel Purchase           Fuel Purchase                      538.1
      3/31/2018    709   JQ0015   Owner Operator   Communication Charge    PNet Hware 33438                      13
      3/31/2018    709   JQ0015   Owner Operator   Fuel Card Advances      Cash Advance                         100
      3/31/2018    709   JQ0015   Owner Operator   Fuel Card Advances      Cash Advance Fee                       1
      3/31/2018    709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                     202.24
      3/31/2018    709   JR0099   Owner Operator   Communication Charge    PNet Hware Q1203                      13
      3/31/2018    709   JR0099   Owner Operator   Fuel Purchase           Fuel Purchase                      279.2
      3/31/2018    709   JR0099   Owner Operator   Truck Payment           CTMS - 211305 Truck Lease         278.76
      3/31/2018    709   JS0265   Owner Operator   Communication Charge    PNet Hware 33325                      13
      3/31/2018    709   JS0265   Owner Operator   ESCROW                  Weekly Escrow                      27.47
      3/31/2018    709   JS0265   Owner Operator   ESCROW                  Weekly Escrow                        100
      3/31/2018    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                         200
      3/31/2018    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2
      3/31/2018    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                     304.58
      3/31/2018    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                     397.95
      3/31/2018    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                     275.19
      3/31/2018    709   JS0265   Owner Operator   Repair Order            CTMS - 211199 Repair               331.6
      3/31/2018    709   JS0265   Owner Operator   Repair Order            CTMS - 211325 Repair               331.6
      3/31/2018    709   KP0004   Owner Operator   Communication Charge    PNet Hware 32914                      13
      3/31/2018    709   KP0004   Owner Operator   ESCROW                  Weekly Escrow                        250
      3/31/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                         100
      3/31/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                         100
      3/31/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                       1
      3/31/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                       1
      3/31/2018    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                     225.28
      3/31/2018    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                     428.62
      3/31/2018    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                     373.01
      3/31/2018    709   KP0004   Owner Operator   IRP License Deduction   LCIL:2017 - 32914                  32.99
      3/31/2018    709   KP0004   Owner Operator   Tractor Charge          14457 - 32914                     519.59
      3/31/2018    709   LL0160   Owner Operator   Communication Charge    PNet Hware Q1111                       8
      3/31/2018    709   LL0160   Owner Operator   Truck Payment           CTMS - 211294 Lease Q1111         252.11
      3/31/2018    709   LS0023   Owner Operator   Communication Charge    PNet Hware 33655                      13
      3/31/2018    709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance                         200
      3/31/2018    709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2
      3/31/2018    709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                     401.98
      3/31/2018    709   MA0092   Owner Operator   Communication Charge    PNet Hware 34005                       8

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      3/31/2018    709   MA0092   Owner Operator   ESCROW                  Weekly Escrow                             50
      3/31/2018    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                         380.18
      3/31/2018    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                         182.89
      3/31/2018    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                         315.29
      3/31/2018    709   ME0053   Owner Operator   Communication Charge    PNet Hware Q1113                           8
      3/31/2018    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                          429.6
      3/31/2018    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                         443.22
      3/31/2018    709   ME0053   Owner Operator   Truck Payment           CTMS - 211343 Q1113 Lease             252.11
      3/31/2018    709   MG0067   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 3-24          958.38
      3/31/2018    709   MG0067   Owner Operator   Fuel Purchase           Fuel Purchase                         300.03
      3/31/2018    709   MP0035   Owner Operator   Communication Charge    PNet Hware 32904                          13
      3/31/2018    709   MP0035   Owner Operator   ESCROW                  Weekly Escrow                           615
      3/31/2018    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance                            225
      3/31/2018    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2.25
      3/31/2018    709   MP0035   Owner Operator   Fuel Purchase           Fuel Purchase                          547.1
      3/31/2018    709   MP0035   Owner Operator   IRP License Deduction   LCIL:2017 - 32904                      32.99
      3/31/2018    709   MP0035   Owner Operator   Tractor Charge          15571 - 32904                         323.05
      3/31/2018    709   NB0029   Owner Operator   Communication Charge    PNet Hware Q1108                          13
      3/31/2018    709   NB0029   Owner Operator   ESCROW                  Weekly Escrow                           500
      3/31/2018    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance                            100
      3/31/2018    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      3/31/2018    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                         210.05
      3/31/2018    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                         412.61
      3/31/2018    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                         220.86
      3/31/2018    709   NB0029   Owner Operator   Truck Payment           CTMS - 211441 Lease                   215.66
      3/31/2018    709   NG0005   Owner Operator   Communication Charge    PNet Hware 21412B                         13
      3/31/2018    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance                            200
      3/31/2018    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/31/2018    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                           420
      3/31/2018    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                         237.53
      3/31/2018    709   NT9564   Owner Operator   Communication Charge    PNet Hware 73130                          13
      3/31/2018    709   NT9564   Owner Operator   Truck Payment           CTMS - 211349 Truck 73130 Leas        196.65
      3/31/2018    709   RC0030   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 4-7         -108.75
      3/31/2018    709   RC0089   Owner Operator   Fuel Card Advances      Cash Advance                            500
      3/31/2018    709   RC0089   Owner Operator   Fuel Card Advances      Cash Advance Fee                           5
      3/31/2018    709   RC0089   Owner Operator   Fuel Purchase           Fuel Purchase                         461.98
      3/31/2018    709   RC0089   Owner Operator   IRP License Deduction   LCIL:2017 - 32986                      32.99
      3/31/2018    709   RC0089   Owner Operator   Tractor Charge          14592 - 32986                         504.72
      3/31/2018    709   RL0017   Owner Operator   ESCROW                  Weekly Escrow                           100
      3/31/2018    709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                         525.29
      3/31/2018    709   RL0017   Owner Operator   IRP License Deduction   LCIL:2017 - 33065                      32.99
      3/31/2018    709   RL0017   Owner Operator   Tractor Charge          35015 - 33065                         529.05
      3/31/2018    709   RL0062   Owner Operator   Communication Charge    PNet Hware 32912                          13
      3/31/2018    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                            200
      3/31/2018    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/31/2018    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                           448
      3/31/2018    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                         180.45
      3/31/2018    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                          496.5
      3/31/2018    709   RL0062   Owner Operator   IRP License Deduction   LCIL:2017 - 32912                      32.99
      3/31/2018    709   RL0062   Owner Operator   Tractor Charge          14460 - 32912                         512.16
      3/31/2018    709   RL0180   Owner Operator   Communication Charge    PNet Hware 34012                           8
      3/31/2018    709   RL0180   Owner Operator   ESCROW                  Weekly Escrow                             50
      3/31/2018    709   RL0180   Owner Operator   Fuel Purchase           Fuel Purchase                         443.17
      3/31/2018    709   RL0180   Owner Operator   Fuel Purchase           Fuel Purchase                         362.66
      3/31/2018    709   RM0026   Owner Operator   Communication Charge    PNet Hware 33664                          13
      3/31/2018    709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                         383.93
      3/31/2018    709   RP0082   Owner Operator   Communication Charge    PNet Hware Q1202                          13
      3/31/2018    709   RP0082   Owner Operator   Truck Payment           CTMS - 211305 Q1202 Truck Leas        278.76
      3/31/2018    709   RR0123   Owner Operator   Communication Charge    PNet Hware Q1248                           8
      3/31/2018    709   RR0123   Owner Operator   Fuel Card Advances      Cash Advance                            100
      3/31/2018    709   RR0123   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      3/31/2018    709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                         424.89
      3/31/2018    709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                         437.31
      3/31/2018    709   RR0123   Owner Operator   Truck Payment           CTMS - 211348 Q1248                   311.97
      3/31/2018    709   SB0009   Owner Operator   Communication Charge    PNet Hware 33236                          13
      3/31/2018    709   SB0009   Owner Operator   ESCROW                  Weekly Escrow                           200
      3/31/2018    709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance                            200
      3/31/2018    709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/31/2018    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         158.06
      3/31/2018    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         245.61
      3/31/2018    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         326.74
      3/31/2018    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         176.65
      3/31/2018    709   SB0009   Owner Operator   IRP License Deduction   LCIL:2017 - 33236                      32.99

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      3/31/2018    709   SB0009   Owner Operator   Repair Order            CTMS - 211362 Repair                       80
      3/31/2018    709   SB0009   Owner Operator   Tire Purchase           PO: 709-00366124 - PO System            59.34
      3/31/2018    709   SB0009   Owner Operator   Tire Purchase           PO: 709-00366546 - PO System            231.1
      3/31/2018    709   SB0009   Owner Operator   Tractor Charge          19100 - 33236                         564.33
      3/31/2018    709   SB0103   Owner Operator   Communication Charge    PNet Hware 33037                            8
      3/31/2018    709   SB0103   Owner Operator   ESCROW                  Weekly Escrow                              50
      3/31/2018    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                         405.92
      3/31/2018    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                         391.43
      3/31/2018    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                         275.33
      3/31/2018    709   SB0103   Owner Operator   Truck Payment           CTMS - 211302 Sub Lease               388.33
      3/31/2018    709   SM0109   Owner Operator   BOBTAIL INS.            33195 2015 Freightliner NTL              8.75
      3/31/2018    709   SM0109   Owner Operator   Fuel Card Advances      Cash Advance                              200
      3/31/2018    709   SM0109   Owner Operator   Fuel Card Advances      Cash Advance Fee                            2
      3/31/2018    709   SM0109   Owner Operator   Fuel Purchase           Fuel Purchase                         323.37
      3/31/2018    709   SM0109   Owner Operator   Fuel Purchase           Fuel Purchase                         633.34
      3/31/2018    709   SM0109   Owner Operator   Fuel Purchase           Fuel Purchase                         436.36
      3/31/2018    709   SM0109   Owner Operator   IRP License Deduction   LCIL:2017 - 33195                       32.99
      3/31/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE         33195 2015 Freightliner PD              74.22
      3/31/2018    709   SM0109   Owner Operator   Repair Order            CTMS - 211371 Repair                  496.75
      3/31/2018    709   SM0109   Owner Operator   Tractor Charge          16634 - 33195                         554.49
      3/31/2018    709   SN0019   Owner Operator   Communication Charge    PNet Hware 33461                           13
      3/31/2018    709   SN0019   Owner Operator   Fuel Card Advances      Cash Advance                               40
      3/31/2018    709   SN0019   Owner Operator   Fuel Card Advances      Cash Advance Fee                          0.4
      3/31/2018    709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                         224.32
      3/31/2018    709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                         303.09
      3/31/2018    709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                         174.69
      3/31/2018    709   VB0015   Owner Operator   Communication Charge    PNet Hware Q1112                            8
      3/31/2018    709   VB0015   Owner Operator   Fuel Card Advances      Cash Advance                              200
      3/31/2018    709   VB0015   Owner Operator   Fuel Card Advances      Cash Advance Fee                            2
      3/31/2018    709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                           469.4
      3/31/2018    709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                         257.89
      3/31/2018    709   VB0015   Owner Operator   Truck Payment           CTMS - 211347 Tractor Sub leas        242.03
      3/31/2018    709   VJ0006   Owner Operator   Communication Charge    PNet Hware 33961                            8
      3/31/2018    709   VJ0006   Owner Operator   ESCROW                  Weekly Escrow                             200
      3/31/2018    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                              100
      3/31/2018    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                            1
      3/31/2018    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         270.18
      3/31/2018    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         336.63
      3/31/2018    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                           14.84
      3/31/2018    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         308.98
      3/31/2018    709   WB0062   Owner Operator   Communication Charge    PNet Hware 33407                           13
      3/31/2018    709   WH0087   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 4-7           -86.62
      3/31/2018    709   WH0087   Owner Operator   Truck Payment           CTMS - 211349 Q1238 Lease                 155
      3/31/2018    742   AP0047   Owner Operator   Communication Charge    PNet Hware 32604                           13
      3/31/2018    742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                              100
      3/31/2018    742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                              100
      3/31/2018    742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                            1
      3/31/2018    742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                            1
      3/31/2018    742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                         554.64
      3/31/2018    742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                         362.48
      3/31/2018    742   AS0089   Owner Operator   Communication Charge    PNet Hware 33912                            8
      3/31/2018    742   AS0089   Owner Operator   T Chek Fee              Advance 33912                          10000
      3/31/2018    742   AS0089   Owner Operator   T Chek Fee              Credit EFS 186743 Fee                    -100
      3/31/2018    742   AS0089   Owner Operator   T Chek Fee              ExpressCheck Fee                          100
      3/31/2018    742   AS0089   Owner Operator   T Chek Fee              Rvrs Dup EFS 186743                   -10000
      3/31/2018    742   BS0078   Owner Operator   Communication Charge    PNet Hware 33471                           13
      3/31/2018    742   BS0078   Owner Operator   Fuel Card Advances      Cash Advance                              200
      3/31/2018    742   BS0078   Owner Operator   Fuel Card Advances      Cash Advance Fee                            2
      3/31/2018    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                         158.87
      3/31/2018    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                         603.92
      3/31/2018    742   CA0089   Owner Operator   Communication Charge    PNet Hware 33832                           13
      3/31/2018    742   CA0089   Owner Operator   Fuel Purchase           Fuel Purchase                           399.2
      3/31/2018    742   CA0089   Owner Operator   Fuel Purchase           Fuel Purchase                         338.28
      3/31/2018    742   CT0085   Owner Operator   Communication Charge    PNet Hware Q13171                           8
      3/31/2018    742   CT0085   Owner Operator   Fuel Purchase           Fuel Purchase                         362.33
      3/31/2018    742   CT0085   Owner Operator   Fuel Purchase           Fuel Purchase                         402.29
      3/31/2018    742   CT0085   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment         254.81
      3/31/2018    742   CT0085   Owner Operator   Truck Payment           CTMS - 211386 Sub Lease Q13171        352.68
      3/31/2018    742   DA0067   Owner Operator   Communication Charge    PNet Hware 33847                           13
      3/31/2018    742   DA0067   Owner Operator   Fuel Purchase           Fuel Purchase                           98.92
      3/31/2018    742   DA0067   Owner Operator   Fuel Purchase           Fuel Purchase                         715.01
      3/31/2018    742   DC0117   Owner Operator   Communication Charge    PNet Hware 34063                           13
      3/31/2018    742   DC0117   Owner Operator   ESCROW                  Weekly Escrow                              50

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      3/31/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      3/31/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/31/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.39
      3/31/2018    742   DS0254   Owner Operator   Tire Fee                       Tire Fee: 2113099                          8
      3/31/2018    742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00367378 - PO System          247.91
      3/31/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843             100
      3/31/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      3/31/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/31/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.29
      3/31/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.39
      3/31/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      3/31/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      3/31/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/31/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      3/31/2018    742   NG0024   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-7            -193
      3/31/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/31/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/31/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.69
      3/31/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.01
      3/31/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.24
      3/31/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.79
      3/31/2018    742   NK0013   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   17.5
      3/31/2018    742   NK0013   Owner Operator   Broker Pre Pass                DriveWyze Deduction TRK 34038           9.84
      3/31/2018    742   NK0013   Owner Operator   ESCROW                         Final Balance Refund                   -1850
      3/31/2018    742   NK0013   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.12
      3/31/2018    742   NK0013   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                     114.53
      3/31/2018    742   NK0013   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             95
      3/31/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.81
      3/31/2018    742   NK0013   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism             5
      3/31/2018    742   NK0013   Owner Operator   Toll Charges                   34038 HCTRA Ship Channel Bridg             7
      3/31/2018    742   NK0013   Owner Operator   Toll Charges                   34038 HCTRA Ship Channel Bridg             7
      3/31/2018    742   NK0013   Owner Operator   Toll Charges                   34038/701649 Carquinez Bdge 7             25
      3/31/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      3/31/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/31/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      3/31/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/31/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      3/31/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      3/31/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      3/31/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      3/31/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/31/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/31/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/31/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/31/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/31/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/31/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.39
      3/31/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.81
      3/31/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.58
      3/31/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.17
      3/31/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.28
      3/31/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.23
      3/31/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.58
      3/31/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.38
      3/31/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.61
      3/31/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.18
      3/31/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      3/31/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                      32.99
      3/31/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      3/31/2018    742   PC0012   Owner Operator   Toll Charges                   32969 Fastrak Antioch Bridge              25
      3/31/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      3/31/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      3/31/2018    742   RF0136   Owner Operator   Accident Claim                 03/26/18 RF0136 Spill                   2000
      3/31/2018    742   RF0136   Owner Operator   Advance                        3/26/18 Spill - s/u pmts               -2000
      3/31/2018    742   RF0136   Owner Operator   Advance                        3/26/18 Spill Clm 68591-1                250
      3/31/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.25
      3/31/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                             60
      3/31/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.26
      3/31/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2017 - 34182                       60.6
      3/31/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2017 - 34182                        100
      3/31/2018    742   RF0136   Owner Operator   Permits                        IL02:2018 - 34182                       3.75
      3/31/2018    742   RF0136   Owner Operator   Permits                        OR16:2018 - 34182                        8.5
      3/31/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                       1.72

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      3/31/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      3/31/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      3/31/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      3/31/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.36
      3/31/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.11
      3/31/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.28
      3/31/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.73
      3/31/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.72
      3/31/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.18
      3/31/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/31/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      3/31/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      3/31/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157/701821 HCTRA Sam Housto             7
      3/31/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157/701821 HCTRA Sam Housto             7
      3/31/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157/701821 HCTRA Sam Housto          1.25
      3/31/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157/701821 HCTRA Sam Housto             7
      3/31/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157/701821 HCTRA Ship Chann             7
      3/31/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 211045 Tractor Lease           353.28
      3/31/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 211304 Tractor Lease           353.28
      3/31/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      3/31/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/31/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.48
      3/31/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.09
      3/31/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.69
      3/31/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      3/31/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      3/31/2018    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-24          316.57
      3/31/2018    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-24          120.06
      3/31/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      3/31/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      3/31/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      3/31/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/31/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                           147
      3/31/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.06
      3/31/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.74
      3/31/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                           203
      3/31/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.16
      3/31/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      3/31/2018    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      3/31/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      3/31/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      3/31/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.95
      3/31/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          66.88
      3/31/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.43
      3/31/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         656.99
      3/31/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/31/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      3/31/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       4/7/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       4/7/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       4/7/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/7/2018    709   AN0007   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      26.05
       4/7/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
       4/7/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       4/7/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       4/7/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       4/7/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       4/7/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          458.6
       4/7/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.01
       4/7/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.51
       4/7/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.4
       4/7/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.79
       4/7/2018    709   AR0064   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     232.71
       4/7/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
       4/7/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       4/7/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 211636 Q13147 Lease            440.14
       4/7/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       4/7/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       4/7/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       4/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.25
       4/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.04

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       4/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          123.79
       4/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.56
       4/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           49.85
       4/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.78
       4/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          152.33
       4/7/2018    709   AV0021   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                       35.93
       4/7/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                       100
       4/7/2018    709   AV0021   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          250.09
       4/7/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             35.16
       4/7/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 211605 Q13169 Sublease          352.68
       4/7/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
       4/7/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
       4/7/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                              50
       4/7/2018    709   BM0030   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      114.91
       4/7/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                        100
       4/7/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.13
       4/7/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
       4/7/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
       4/7/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
       4/7/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          525.18
       4/7/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.29
       4/7/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          479.06
       4/7/2018    709   CC0134   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                       28.18
       4/7/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                       100
       4/7/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.16
       4/7/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 211562 Q13168 sub lease         352.68
       4/7/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       4/7/2018    709   CM0119   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                       -0.23
       4/7/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                        0.05
       4/7/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2017 - 32920                       32.99
       4/7/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                       33.64
       4/7/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    39.67
       4/7/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
       4/7/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          345.27
       4/7/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
       4/7/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                           13
       4/7/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                           13
       4/7/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.94
       4/7/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.15
       4/7/2018    709   CR0064   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      117.14
       4/7/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                       33.64
       4/7/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       39.07
       4/7/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                          245.63
       4/7/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                           16.43
       4/7/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL              8.75
       4/7/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                            8
       4/7/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                        100
       4/7/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD              65.08
       4/7/2018    709   CS0091   Owner Operator   Repair Order                   CTMS - 211576 Repair                   411.25
       4/7/2018    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00365834 - PO System           108.61
       4/7/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 211561 Q1201                    278.76
       4/7/2018    709   DL0029   Owner Operator   Advance                        Bal of EFS rolled into loan            653.93
       4/7/2018    709   DL0029   Owner Operator   Advance                        Balance of EFS 186190                  653.93
       4/7/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
       4/7/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
       4/7/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          393.66
       4/7/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.01
       4/7/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           319.4
       4/7/2018    709   DL0029   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      138.23
       4/7/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                        100
       4/7/2018    709   DL0029   Owner Operator   Loan Repayment                 EFS 187393, adv 186190               -2356.45
       4/7/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment          264.86
       4/7/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     34.2
       4/7/2018    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        16.86
       4/7/2018    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                  1685.66
       4/7/2018    709   DL0029   Owner Operator   Truck Payment                  CTMS - 211587 Truck Rental               500

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       4/7/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
       4/7/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
       4/7/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
       4/7/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
       4/7/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
       4/7/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.24
       4/7/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.2
       4/7/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.33
       4/7/2018    709   DL0107   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     52.88
       4/7/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                      100
       4/7/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         28.31
       4/7/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        352.59
       4/7/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       4/7/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.71
       4/7/2018    709   DL0107   Owner Operator   Repair Order                   CTMS - 211326 Repair                  238.7
       4/7/2018    709   DL0107   Owner Operator   Repair Order                   CTMS - 211537 Repair                 238.69
       4/7/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 211389 Sublease               338.99
       4/7/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 211587 Truck Rental             500
       4/7/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 211604 Sublease               338.99
       4/7/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.38
       4/7/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       4/7/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
       4/7/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
       4/7/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
       4/7/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        725.42
       4/7/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        264.71
       4/7/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2017 - 32915                      0.05
       4/7/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                     33.64
       4/7/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       4/7/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.35
       4/7/2018    709   DS0049   Owner Operator   Repair Order                   CTMS - 211575 Repair                  75.62
       4/7/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
       4/7/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
       4/7/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                          8
       4/7/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        509.34
       4/7/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        589.69
       4/7/2018    709   DS0225   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                   -454.07
       4/7/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                      100
       4/7/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       4/7/2018    709   DS0225   Owner Operator   Permits                        NY13:2018 - 33320                       1.5
       4/7/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.07
       4/7/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       4/7/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
       4/7/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
       4/7/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
       4/7/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       4/7/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        686.34
       4/7/2018    709   EA0003   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     66.57
       4/7/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2017 - 33051                      0.05
       4/7/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                     33.64
       4/7/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       4/7/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
       4/7/2018    709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00366119 - PO System         240.14
       4/7/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
       4/7/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       4/7/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                         13
       4/7/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           400
       4/7/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
       4/7/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.73
       4/7/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.78
       4/7/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        481.03
       4/7/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        158.31
       4/7/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        531.48
       4/7/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                        206.78
       4/7/2018    709   EE0011   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     25.26
       4/7/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2017 - 32910                      0.05
       4/7/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                     33.64
       4/7/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       4/7/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  91.92
       4/7/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                        505.27
       4/7/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  8.75
       4/7/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                          8
       4/7/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        224.71

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       4/7/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         594.51
       4/7/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                       100
       4/7/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       4/7/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       4/7/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       4/7/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       4/7/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.24
       4/7/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.81
       4/7/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.78
       4/7/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           423
       4/7/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
       4/7/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       4/7/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       4/7/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       4/7/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       4/7/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.84
       4/7/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.15
       4/7/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.24
       4/7/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
       4/7/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       4/7/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 211648 truck lease 3304        434.29
       4/7/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       4/7/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       4/7/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.23
       4/7/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.53
       4/7/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.55
       4/7/2018    709   FV0001   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      13.67
       4/7/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
       4/7/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       4/7/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       4/7/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       4/7/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.66
       4/7/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.79
       4/7/2018    709   GS0015   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     116.31
       4/7/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
       4/7/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       4/7/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 211560 Lease                   252.11
       4/7/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       4/7/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       4/7/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       4/7/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/7/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.75
       4/7/2018    709   GW0043   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      35.92
       4/7/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
       4/7/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
       4/7/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
       4/7/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       4/7/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 211075 Q1109 Lease             112.68
       4/7/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       4/7/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       4/7/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.89
       4/7/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.63
       4/7/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
       4/7/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       4/7/2018    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00366762 - PO System          381.99
       4/7/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 211556 Q13170                  352.68
       4/7/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       4/7/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       4/7/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/7/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.41
       4/7/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         541.54
       4/7/2018    709   HG0007   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      76.37
       4/7/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100
       4/7/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       4/7/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35

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       4/7/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/7/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       4/7/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.93
       4/7/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.79
       4/7/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.37
       4/7/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          413.2
       4/7/2018    709   IR0002   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     -40.68
       4/7/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2017 - 32901                       0.05
       4/7/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
       4/7/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       4/7/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/7/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       4/7/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       4/7/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.35
       4/7/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.31
       4/7/2018    709   JC0292   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     285.88
       4/7/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2017 - Q1210                       0.05
       4/7/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                      100
       4/7/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       4/7/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
       4/7/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/7/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       4/7/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
       4/7/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/7/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       4/7/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       4/7/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.03
       4/7/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.19
       4/7/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.33
       4/7/2018    709   JG0017   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     118.02
       4/7/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2017 - 32908                       0.05
       4/7/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
       4/7/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       4/7/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       4/7/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/7/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       4/7/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       4/7/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                              40
       4/7/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
       4/7/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       4/7/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.46
       4/7/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.46
       4/7/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.71
       4/7/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.31
       4/7/2018    709   JG0072   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     285.76
       4/7/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2017 - 32909                       0.05
       4/7/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
       4/7/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       4/7/2018    709   JG0072   Owner Operator   Repair Order                   CTMS - 211615 Repair                    71.3
       4/7/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       4/7/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/7/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       4/7/2018    709   JG0092   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-14         -344.8
       4/7/2018    709   JG0092   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-14          -23.8
       4/7/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/7/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.27
       4/7/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.07
       4/7/2018    709   JG0092   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      15.21
       4/7/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                       100
       4/7/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
       4/7/2018    709   JG0092   Owner Operator   Repair Order                   CTMS - 211615 Repair                  259.42
       4/7/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       4/7/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       4/7/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/7/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.04

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       4/7/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                        100
       4/7/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       4/7/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       4/7/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       4/7/2018    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/7/2018    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.35
       4/7/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.93
       4/7/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                        100
       4/7/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       4/7/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 211525 Truck Lease             278.76
       4/7/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       4/7/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       4/7/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       4/7/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
       4/7/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/7/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/7/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/7/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/7/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.62
       4/7/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.54
       4/7/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.32
       4/7/2018    709   JS0265   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     144.69
       4/7/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                        100
       4/7/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       4/7/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       4/7/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       4/7/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/7/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       4/7/2018    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                      -5000
       4/7/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
       4/7/2018    709   KP0004   Owner Operator   Express Check                  T-Check Payment                         5000
       4/7/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/7/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/7/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/7/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.02
       4/7/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.19
       4/7/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          321.5
       4/7/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.89
       4/7/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.53
       4/7/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            475
       4/7/2018    709   KP0004   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     184.57
       4/7/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2017 - 32914                       0.05
       4/7/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
       4/7/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       4/7/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/7/2018    709   KP0004   Owner Operator   Repair Order                   CTMS - 211536 Repair                     130
       4/7/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       4/7/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       4/7/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       4/7/2018    709   LL0160   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     132.38
       4/7/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                        100
       4/7/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       4/7/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 211514 Lease Q1111             252.11
       4/7/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       4/7/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       4/7/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/7/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/7/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/7/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/7/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.2
       4/7/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         625.52
       4/7/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         668.45
       4/7/2018    709   LS0023   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     186.01
       4/7/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                        100
       4/7/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       4/7/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       4/7/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       4/7/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/7/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       4/7/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/7/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.85
       4/7/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.41
       4/7/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.89
       4/7/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.91
       4/7/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.31
       4/7/2018    709   MA0092   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      19.21
       4/7/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                       100
       4/7/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       4/7/2018    709   MA0092   Owner Operator   Repair Order                   CTMS - 211617 repair                   76.45
       4/7/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       4/7/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       4/7/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.92
       4/7/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.4
       4/7/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.59
       4/7/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                       100
       4/7/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       4/7/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 211556 Q1113 Lease             252.11
       4/7/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       4/7/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       4/7/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.04
       4/7/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.3
       4/7/2018    709   MG0067   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     -44.42
       4/7/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                       100
       4/7/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       4/7/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       4/7/2018    709   MM0093   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                       5.33
       4/7/2018    709   MM0093   Owner Operator   Permits1                       ID06:2018 - 32931                        -11
       4/7/2018    709   MM0093   Owner Operator   Permits1                       IL02:2018 - 32931                      -3.75
       4/7/2018    709   MM0093   Owner Operator   Permits1                       NM07:2018 - 32931                       -5.5
       4/7/2018    709   MM0093   Owner Operator   Permits1                       OR16:2018 - 32931                       -8.5
       4/7/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/7/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       4/7/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           615
       4/7/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              50
       4/7/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       4/7/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.7
       4/7/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2017 - 32904                       0.05
       4/7/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
       4/7/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       4/7/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       4/7/2018    709   MP0035   Owner Operator   Repair Order                   CTMS - 211615 Repair                  215.44
       4/7/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       4/7/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       4/7/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       4/7/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
       4/7/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/7/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/7/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.14
       4/7/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.2
       4/7/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.23
       4/7/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.57
       4/7/2018    709   NB0029   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     121.99
       4/7/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                       100
       4/7/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       4/7/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 211647 Lease                   215.66
       4/7/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       4/7/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       4/7/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/7/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/7/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           234
       4/7/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.26
       4/7/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                      100
       4/7/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       4/7/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       4/7/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       4/7/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       4/7/2018    709   NT9564   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     221.25
       4/7/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                       100
       4/7/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       4/7/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 211562 Truck 73130 Leas        196.65
       4/7/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       4/7/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       4/7/2018    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-31          108.75
       4/7/2018    709   RC0030   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     827.45
       4/7/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       4/7/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       4/7/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
       4/7/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/7/2018    709   RC0089   Owner Operator   Communication Charge           PNet Hware 32986                          13
       4/7/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
       4/7/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       4/7/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.38
       4/7/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.23
       4/7/2018    709   RC0089   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      -7.39
       4/7/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2017 - 32986                       0.05
       4/7/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       4/7/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       4/7/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       4/7/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/7/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       4/7/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       4/7/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         623.55
       4/7/2018    709   RL0017   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     423.36
       4/7/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2017 - 33065                       0.05
       4/7/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
       4/7/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       4/7/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       4/7/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/7/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       4/7/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/7/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.84
       4/7/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.91
       4/7/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.93
       4/7/2018    709   RL0062   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     252.61
       4/7/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2017 - 32912                       0.05
       4/7/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
       4/7/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       4/7/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       4/7/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       4/7/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
       4/7/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/7/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.92
       4/7/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
       4/7/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
       4/7/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       4/7/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       4/7/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       4/7/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.61
       4/7/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.06
       4/7/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.85
       4/7/2018    709   RM0026   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     200.89
       4/7/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
       4/7/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       4/7/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       4/7/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       4/7/2018    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              60
       4/7/2018    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       4/7/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.51

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       4/7/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          391.42
       4/7/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                        100
       4/7/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD               58.6
       4/7/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 211525 Q1202 Truck Leas         278.76
       4/7/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                 8.75
       4/7/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                            8
       4/7/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/7/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/7/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       4/7/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       4/7/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          476.68
       4/7/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          585.16
       4/7/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.55
       4/7/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          479.67
       4/7/2018    709   RR0123   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      187.52
       4/7/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                        100
       4/7/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                 65.08
       4/7/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror            2.5
       4/7/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 211561 Q1248                    311.97
       4/7/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
       4/7/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                           13
       4/7/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
       4/7/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/7/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       4/7/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.52
       4/7/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.39
       4/7/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          325.93
       4/7/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                              31
       4/7/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          223.93
       4/7/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          283.12
       4/7/2018    709   SB0009   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      361.88
       4/7/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2017 - 33236                        0.05
       4/7/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                       33.64
       4/7/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   100.98
       4/7/2018    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00366124 - PO System            59.34
       4/7/2018    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00366546 - PO System            231.1
       4/7/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
       4/7/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
       4/7/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
       4/7/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                              50
       4/7/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.31
       4/7/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          408.39
       4/7/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.05
       4/7/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.41
       4/7/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                           267.1
       4/7/2018    709   SB0103   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                       72.19
       4/7/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                        100
       4/7/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
       4/7/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
       4/7/2018    709   SB0103   Owner Operator   Repair Order                   CTMS - 211536 Repair                   248.79
       4/7/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 211521 Sub Lease                388.33
       4/7/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
       4/7/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
       4/7/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                              50
       4/7/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           550.7
       4/7/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          562.72
       4/7/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.29
       4/7/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                        0.05
       4/7/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                       33.64
       4/7/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    709   SM0109   Owner Operator   Permits1                       ID06:2018 - 33195                          11
       4/7/2018    709   SM0109   Owner Operator   Permits1                       NM07:2018 - 33195                         5.5
       4/7/2018    709   SM0109   Owner Operator   Permits1                       NY13:2016 - 33195                          19
       4/7/2018    709   SM0109   Owner Operator   Permits1                       OR16:2018 - 33195                         8.5
       4/7/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
       4/7/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
       4/7/2018    709   SM0109   Owner Operator   Repair Order                   CTMS - 211533 Reimburse for re        -496.75
       4/7/2018    709   SM0109   Owner Operator   Tractor Charge                 crt wk 3/22-3/29 #43667              -1108.98
       4/7/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                     59.45

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       4/7/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       4/7/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       4/7/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/7/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/7/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.4
       4/7/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.94
       4/7/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.53
       4/7/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.77
       4/7/2018    709   SN0019   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      34.28
       4/7/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       4/7/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       4/7/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       4/7/2018    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            500
       4/7/2018    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       4/7/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           523
       4/7/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.33
       4/7/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.61
       4/7/2018    709   VB0015   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      -3.88
       4/7/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                       100
       4/7/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       4/7/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 211560 Tractor Sub leas        242.03
       4/7/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       4/7/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       4/7/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       4/7/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       4/7/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
       4/7/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
       4/7/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.26
       4/7/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.28
       4/7/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.82
       4/7/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.22
       4/7/2018    709   VJ0006   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     423.44
       4/7/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                       100
       4/7/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       4/7/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       4/7/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       4/7/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       4/7/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       4/7/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       4/7/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       4/7/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       4/7/2018    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-31           86.62
       4/7/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/7/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          394.1
       4/7/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.23
       4/7/2018    709   WH0087   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      59.53
       4/7/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                       100
       4/7/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       4/7/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 211349 Q1238 Lease             156.97
       4/7/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 211562 Q1238 Lease             311.97
       4/7/2018    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       4/7/2018    742   AS0089   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      20.49
       4/7/2018    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33912                       100
       4/7/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       4/7/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       4/7/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/7/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/7/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.44
       4/7/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.85
       4/7/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.46
       4/7/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         569.25
       4/7/2018    742   BS0078   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     323.33
       4/7/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                       100
       4/7/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55

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       4/7/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
       4/7/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                       8.75
       4/7/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                           13
       4/7/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.61
       4/7/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           546.2
       4/7/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          499.43
       4/7/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                        100
       4/7/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                       70.32
       4/7/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL             8.75
       4/7/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                           8
       4/7/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                           417.6
       4/7/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          431.66
       4/7/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          307.71
       4/7/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                       100
       4/7/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          254.81
       4/7/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD             42.19
       4/7/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te            2.5
       4/7/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 211601 Sub Lease Q13171         352.68
       4/7/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       4/7/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                           13
       4/7/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          470.55
       4/7/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                              19
       4/7/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.02
       4/7/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                              14
       4/7/2018    742   DA0067   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      117.13
       4/7/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                        100
       4/7/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    70.32
       4/7/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       4/7/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                           13
       4/7/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                              50
       4/7/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.88
       4/7/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          670.58
       4/7/2018    742   DC0117   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      209.88
       4/7/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                        100
       4/7/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL              8.75
       4/7/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                            8
       4/7/2018    742   DS0254   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-14        -1048.35
       4/7/2018    742   DS0254   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-14          -174.8
       4/7/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                              50
       4/7/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/7/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/7/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       4/7/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       4/7/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                           415.3
       4/7/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          441.05
       4/7/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          441.45
       4/7/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          440.45
       4/7/2018    742   DS0254   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      607.72
       4/7/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                        100
       4/7/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD              70.79
       4/7/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter            2.5
       4/7/2018    742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00367378 - PO System           247.91
       4/7/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 211498 Trk 33487 Lease           434.2
       4/7/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 211690 Trk 33487 Lease           434.2
       4/7/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843             100
       4/7/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
       4/7/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                            8
       4/7/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                              50
       4/7/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.53
       4/7/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          585.94
       4/7/2018    742   EA0039   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      161.42
       4/7/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                        100
       4/7/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    31.25
       4/7/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
       4/7/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       4/7/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                           13
       4/7/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                           13
       4/7/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                             200

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       4/7/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       4/7/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          422.64
       4/7/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          404.37
       4/7/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.51
       4/7/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          458.69
       4/7/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.96
       4/7/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          161.38
       4/7/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          313.01
       4/7/2018    742   EN0016   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                       117.1
       4/7/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                        0.05
       4/7/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2017 - 32947                       32.99
       4/7/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                       33.64
       4/7/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    70.89
       4/7/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       4/7/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                           419.4
       4/7/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                           419.4
       4/7/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                8.75
       4/7/2018    742   FS0011   Owner Operator   Broker Pay Void/Reissue        Lost in the mail                     -3126.08
       4/7/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                          13
       4/7/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD                54.69
       4/7/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro            2.5
       4/7/2018    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                              44
       4/7/2018    742   LL0134   Owner Operator   Permits1                       ID06:2018 - 33195                         -11
       4/7/2018    742   LL0134   Owner Operator   Permits1                       NM07:2018 - 33195                        -5.5
       4/7/2018    742   LL0134   Owner Operator   Permits1                       NY13:2016 - 33195                         -19
       4/7/2018    742   LL0134   Owner Operator   Permits1                       OR16:2018 - 33195                        -8.5
       4/7/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
       4/7/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                           13
       4/7/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                              50
       4/7/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                        100
       4/7/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                              75
       4/7/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
       4/7/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                 100
       4/7/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                 100
       4/7/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                   8.75
       4/7/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                           13
       4/7/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                           13
       4/7/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                              50
       4/7/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                              50
       4/7/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           114.1
       4/7/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           181.3
       4/7/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          152.55
       4/7/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          139.95
       4/7/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           120.7
       4/7/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          106.36
       4/7/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          107.45
       4/7/2018    742   MS0230   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                       -2.93
       4/7/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                        100
       4/7/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          351.39
       4/7/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          351.39
       4/7/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                   27.35
       4/7/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris            2.5
       4/7/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75
       4/7/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                           13
       4/7/2018    742   NG0024   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-31             193
       4/7/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.76
       4/7/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          278.83
       4/7/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          662.92
       4/7/2018    742   NG0024   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                       320.1
       4/7/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                        100
       4/7/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             100.79
       4/7/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            2.5
       4/7/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
       4/7/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                           13
       4/7/2018    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-14        -1862.64
       4/7/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                              50
       4/7/2018    742   OS0018   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      413.01
       4/7/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/7/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    31.25

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       4/7/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       4/7/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       4/7/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/7/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       4/7/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       4/7/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/7/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/7/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.21
       4/7/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.85
       4/7/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.23
       4/7/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.46
       4/7/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.62
       4/7/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2017 - 32969                       0.05
       4/7/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
       4/7/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       4/7/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       4/7/2018    742   RF0136   Owner Operator   Advance                        3/26/18 Spill Clm 68591-1               250
       4/7/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       4/7/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       4/7/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       4/7/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       4/7/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/7/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/7/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/7/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/7/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/7/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/7/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          207.8
       4/7/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.97
       4/7/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.95
       4/7/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.99
       4/7/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.81
       4/7/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.41
       4/7/2018    742   RF0136   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      98.09
       4/7/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2017 - 34182                       100
       4/7/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2017 - 34182                       39.4
       4/7/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    742   RF0136   Owner Operator   Permits                        ID06:2018 - 34182                         11
       4/7/2018    742   RF0136   Owner Operator   Permits                        NM07:2018 - 34182                        5.5
       4/7/2018    742   RF0136   Owner Operator   Permits                        OR16:2018 - 34182                        8.5
       4/7/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       4/7/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       4/7/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       4/7/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.38
       4/7/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.03
       4/7/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.61
       4/7/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.81
       4/7/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.06
       4/7/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           4.48
       4/7/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.69
       4/7/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.98
       4/7/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.54
       4/7/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.72
       4/7/2018    742   RN0054   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     254.81
       4/7/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
       4/7/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       4/7/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       4/7/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 211524 Tractor Lease           353.28
       4/7/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       4/7/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       4/7/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/7/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.03
       4/7/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.81
       4/7/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.05
       4/7/2018    742   RS0342   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     181.47
       4/7/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
       4/7/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       4/7/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5

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       4/7/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
       4/7/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       4/7/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 211669 fuel                      250
       4/7/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       4/7/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
       4/7/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       4/7/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       4/7/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
       4/7/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/7/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       4/7/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/7/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                           398
       4/7/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.89
       4/7/2018    742   TH0130   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                      56.04
       4/7/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
       4/7/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       4/7/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       4/7/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       4/7/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       4/7/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.99
       4/7/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.23
       4/7/2018    843   EI0003   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     224.32
       4/7/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/7/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       4/7/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      4/14/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      4/14/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      4/14/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/14/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.14
      4/14/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.07
      4/14/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
      4/14/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      4/14/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      4/14/2018    709   AN0007   Owner Operator   Toll Charges                   CTMS - 211818 Solvay fuel                -40
      4/14/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      4/14/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      4/14/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.34
      4/14/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.34
      4/14/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          466.6
      4/14/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
      4/14/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      4/14/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 211872 Q13147 Lease            440.14
      4/14/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      4/14/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      4/14/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      4/14/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.73
      4/14/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.01
      4/14/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.1
      4/14/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.02
      4/14/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.11
      4/14/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.89
      4/14/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100
      4/14/2018    709   AV0021   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         250.09
      4/14/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      4/14/2018    709   AV0021   Owner Operator   Repair Order                   TRACTOR Q13169                        133.49
      4/14/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 211837 Q13169 Sublease         352.68
      4/14/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      4/14/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      4/14/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.56
      4/14/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.29
      4/14/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           16.1
      4/14/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                      100
      4/14/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      4/14/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 211803 Q13168 sub lease        352.68
      4/14/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/14/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      4/14/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13

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      4/14/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      4/14/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.03
      4/14/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         623.34
      4/14/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.37
      4/14/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      4/14/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      4/14/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   52.29
      4/14/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/14/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/14/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      4/14/2018    709   CM0119   Owner Operator   Truck Payment                  CTMS - 211810 Truck Rental              100
      4/14/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      4/14/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      4/14/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.98
      4/14/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.54
      4/14/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.52
      4/14/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.92
      4/14/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      4/14/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      4/14/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      4/14/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      4/14/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      4/14/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.29
      4/14/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.19
      4/14/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                       100
      4/14/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      4/14/2018    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00365834 - PO System          108.61
      4/14/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 211802 Q1201                   278.76
      4/14/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/14/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      4/14/2018    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-21        -548.32
      4/14/2018    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-21        -155.01
      4/14/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.49
      4/14/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.1
      4/14/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.08
      4/14/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                       100
      4/14/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         264.86
      4/14/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      4/14/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      4/14/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      4/14/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/14/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/14/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/14/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/14/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.94
      4/14/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.72
      4/14/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.46
      4/14/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.41
      4/14/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                       100
      4/14/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      4/14/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      4/14/2018    709   DL0107   Owner Operator   Tire Fee                       Tire Fee: 2117666                          4
      4/14/2018    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00367832 - PO System          198.03
      4/14/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 211796 Truck Rental              500
      4/14/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 211835 Sublease                338.99
      4/14/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      4/14/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/14/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      4/14/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/14/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/14/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.76
      4/14/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         794.46
      4/14/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      4/14/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      4/14/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      4/14/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      4/14/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8

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      4/14/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          605.3
      4/14/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                       100
      4/14/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      4/14/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/14/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      4/14/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/14/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/14/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/14/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.79
      4/14/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.01
      4/14/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      4/14/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      4/14/2018    709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00366119 - PO System          240.14
      4/14/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      4/14/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/14/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      4/14/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            400
      4/14/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      4/14/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.73
      4/14/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                           259
      4/14/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                           282
      4/14/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.55
      4/14/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      4/14/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      4/14/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      4/14/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      4/14/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      4/14/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.78
      4/14/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         674.54
      4/14/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.96
      4/14/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.09
      4/14/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                       100
      4/14/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      4/14/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      4/14/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      4/14/2018    709   EO0014   Owner Operator   Charge back by affiliate       CTMS - 211818 FG5455                     -40
      4/14/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      4/14/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.83
      4/14/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.1
      4/14/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.81
      4/14/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           144
      4/14/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.73
      4/14/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
      4/14/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      4/14/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      4/14/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      4/14/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      4/14/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.98
      4/14/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.43
      4/14/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.54
      4/14/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.11
      4/14/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
      4/14/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      4/14/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 211883 truck lease 3304        434.29
      4/14/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/14/2018    709   FV0001   Owner Operator   Charge back by affiliate       CTMS - 211818 TL8207                     -42
      4/14/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      4/14/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.92
      4/14/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
      4/14/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      4/14/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      4/14/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      4/14/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.18
      4/14/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
      4/14/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07

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      4/14/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 211801 Lease                  252.11
      4/14/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL            8.75
      4/14/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                          8
      4/14/2018    709   GW0043   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-21          -175
      4/14/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/14/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/14/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/14/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/14/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/14/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/14/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/14/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        102.83
      4/14/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.7
      4/14/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.88
      4/14/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        403.95
      4/14/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        352.57
      4/14/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
      4/14/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment           256
      4/14/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/14/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD            44.11
      4/14/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL           8.75
      4/14/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                         8
      4/14/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.79
      4/14/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.61
      4/14/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        415.08
      4/14/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
      4/14/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/14/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD           35.16
      4/14/2018    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00366762 - PO System         381.99
      4/14/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 211797 Q13170                 352.68
      4/14/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                8.75
      4/14/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                         13
      4/14/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/14/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/14/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      4/14/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        580.36
      4/14/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        526.28
      4/14/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100
      4/14/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/14/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                15.63
      4/14/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      4/14/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      4/14/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      4/14/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      4/14/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      4/14/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      4/14/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      4/14/2018    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                     9.84
      4/14/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        454.28
      4/14/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.57
      4/14/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        155.86
      4/14/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        168.47
      4/14/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.6
      4/14/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.06
      4/14/2018    709   HG0027   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      3.15
      4/14/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                       100
      4/14/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                       100
      4/14/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/14/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/14/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/14/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/14/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/14/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/14/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/14/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      4/14/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      4/14/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.68
      4/14/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      4/14/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.68
      4/14/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      4/14/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      4/14/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
      4/14/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75

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      4/14/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      4/14/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.02
      4/14/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          224.2
      4/14/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.29
      4/14/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      4/14/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      4/14/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/14/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      4/14/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      4/14/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      4/14/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      4/14/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      4/14/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      4/14/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      4/14/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      4/14/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/14/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/14/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/14/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/14/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.93
      4/14/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                           305
      4/14/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.38
      4/14/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.03
      4/14/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.15
      4/14/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          549.2
      4/14/2018    709   JC0292   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     143.44
      4/14/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                      100
      4/14/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      4/14/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      4/14/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 211603 Q13197 Lease            276.63
      4/14/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 211834 Q13197 Lease            276.63
      4/14/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/14/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      4/14/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      4/14/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/14/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/14/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.7
      4/14/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          593.3
      4/14/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      4/14/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      4/14/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      4/14/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/14/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      4/14/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                              60
      4/14/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            400
      4/14/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                              40
      4/14/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      4/14/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      4/14/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      4/14/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.33
      4/14/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.91
      4/14/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.41
      4/14/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.67
      4/14/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      4/14/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      4/14/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      4/14/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/14/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      4/14/2018    709   JG0092   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-7            344.8
      4/14/2018    709   JG0092   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-7             23.8
      4/14/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/14/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/14/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.84
      4/14/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         699.42
      4/14/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                       100
      4/14/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      4/14/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      4/14/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13

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      4/14/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-21         -3452.8
      4/14/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-21        -1611.36
      4/14/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/14/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/14/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.03
      4/14/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          161.83
      4/14/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                        100
      4/14/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/14/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                    19.54
      4/14/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL              8.75
      4/14/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                           13
      4/14/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                           326.1
      4/14/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                        100
      4/14/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/14/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD               58.6
      4/14/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 211750 Truck Lease              278.76
      4/14/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                     8.75
      4/14/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                        8.75
      4/14/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                           13
      4/14/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      4/14/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/14/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/14/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/14/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/14/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          306.76
      4/14/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.32
      4/14/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          192.22
      4/14/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          501.03
      4/14/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                        100
      4/14/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            2.51
      4/14/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/14/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                     15.94
      4/14/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                         37.5
      4/14/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      4/14/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                           13
      4/14/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      4/14/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/14/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/14/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.14
      4/14/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          440.65
      4/14/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                       33.64
      4/14/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/14/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.32
      4/14/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      4/14/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                          519.59
      4/14/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
      4/14/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                            8
      4/14/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                        100
      4/14/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              39.07
      4/14/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 211739 Lease Q1111              252.11
      4/14/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                    8.75
      4/14/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                           13
      4/14/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          552.78
      4/14/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                        100
      4/14/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/14/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                    94.54
      4/14/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism            2.5
      4/14/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      4/14/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                            8
      4/14/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                              50
      4/14/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           334.4
      4/14/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          399.82
      4/14/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                        100
      4/14/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/14/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       49.69
      4/14/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL              8.75
      4/14/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                            8
      4/14/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.32
      4/14/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.47
      4/14/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          430.72
      4/14/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.85
      4/14/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                        100
      4/14/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      4/14/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      4/14/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 211796 Q1113 Lease             252.11
      4/14/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/14/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      4/14/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.01
      4/14/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                       100
      4/14/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      4/14/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/14/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/14/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      4/14/2018    709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-21        -124.27
      4/14/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           615
      4/14/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/14/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/14/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          812.5
      4/14/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.09
      4/14/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      4/14/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      4/14/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/14/2018    709   MP0035   Owner Operator   Repair Order                   CTMS - 211779 Repair                  215.64
      4/14/2018    709   MP0035   Owner Operator   Repair Order                   CTMS - 211780 Fuel Q1105             -557.09
      4/14/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      4/14/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      4/14/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      4/14/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      4/14/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.74
      4/14/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                       100
      4/14/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      4/14/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 211883 Lease                   215.66
      4/14/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      4/14/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      4/14/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/14/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/14/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.72
      4/14/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           360
      4/14/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                      100
      4/14/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      4/14/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      4/14/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      4/14/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                       100
      4/14/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      4/14/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 211803 Truck 73130 Leas        196.65
      4/14/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      4/14/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      4/14/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      4/14/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      4/14/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      4/14/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/14/2018    709   RC0089   Owner Operator   Communication Charge           PNet Hware 32986                          13
      4/14/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/14/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/14/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.63
      4/14/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      4/14/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      4/14/2018    709   RC0089   Owner Operator   Tire Fee                       Tire Fee: 2117549                          8
      4/14/2018    709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00367928 - PO System          295.35
      4/14/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      4/14/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/14/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      4/14/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/14/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.25
      4/14/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.18
      4/14/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      4/14/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      4/14/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05

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      4/14/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/14/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      4/14/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/14/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/14/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.47
      4/14/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.03
      4/14/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      4/14/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      4/14/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      4/14/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/14/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      4/14/2018    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-21         -285.2
      4/14/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/14/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.16
      4/14/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.84
      4/14/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.01
      4/14/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
      4/14/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      4/14/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      4/14/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      4/14/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      4/14/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.43
      4/14/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.53
      4/14/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.24
      4/14/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
      4/14/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      4/14/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      4/14/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      4/14/2018    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              80
      4/14/2018    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      4/14/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.13
      4/14/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.41
      4/14/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
      4/14/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      4/14/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 211750 Q1202 Truck Leas        278.76
      4/14/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      4/14/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      4/14/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/14/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/14/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/14/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/14/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.46
      4/14/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          436.8
      4/14/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.12
      4/14/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.62
      4/14/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100
      4/14/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      4/14/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      4/14/2018    709   RR0123   Owner Operator   Repair Order                   CTMS - 211818 Repair                  161.26
      4/14/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 211802 Q1248                   311.97
      4/14/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      4/14/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      4/14/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/14/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/14/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/14/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.73
      4/14/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.92
      4/14/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.04
      4/14/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.57
      4/14/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.84
      4/14/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      4/14/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      4/14/2018    709   SB0009   Owner Operator   Repair Order                   CTMS - 211818 Repair                  112.43
      4/14/2018    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00366124 - PO System           59.34
      4/14/2018    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00366546 - PO System           231.1
      4/14/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      4/14/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75

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      4/14/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      4/14/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/14/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.97
      4/14/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.65
      4/14/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                       100
      4/14/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      4/14/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      4/14/2018    709   SB0103   Owner Operator   Repair Order                   CTMS - 211780 Repair                  227.21
      4/14/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 211747 Sub Lease               388.33
      4/14/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      4/14/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/14/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.15
      4/14/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          466.5
      4/14/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.47
      4/14/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.89
      4/14/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.77
      4/14/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      4/14/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      4/14/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      4/14/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      4/14/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      4/14/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      4/14/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/14/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/14/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.87
      4/14/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.34
      4/14/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.93
      4/14/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.6
      4/14/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      4/14/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      4/14/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      4/14/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.1
      4/14/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.02
      4/14/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                       100
      4/14/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      4/14/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 211801 Tractor Sub leas        242.03
      4/14/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      4/14/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/14/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      4/14/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/14/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      4/14/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/14/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/14/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      4/14/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.11
      4/14/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.05
      4/14/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.56
      4/14/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.25
      4/14/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.21
      4/14/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                       100
      4/14/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      4/14/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/14/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      4/14/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      4/14/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      4/14/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      4/14/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      4/14/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              60
      4/14/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      4/14/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.95
      4/14/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.38
      4/14/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.57
      4/14/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                       100
      4/14/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      4/14/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 211803 Q1238 Lease             311.97
      4/14/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75

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      4/14/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      4/14/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      4/14/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      4/14/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/14/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/14/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/14/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/14/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/14/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/14/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/14/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/14/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/14/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/14/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.82
      4/14/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.68
      4/14/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.51
      4/14/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.43
      4/14/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         590.34
      4/14/2018    742   AP0047   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     137.63
      4/14/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      4/14/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      4/14/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      4/14/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      4/14/2018    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      4/14/2018    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33912                       100
      4/14/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/14/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      4/14/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/14/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/14/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.57
      4/14/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.34
      4/14/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.67
      4/14/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.08
      4/14/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.49
      4/14/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                       100
      4/14/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      4/14/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/14/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      4/14/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      4/14/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.72
      4/14/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.06
      4/14/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          548.1
      4/14/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                       100
      4/14/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      4/14/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      4/14/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      4/14/2018    742   CT0085   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-21         -11.78
      4/14/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.91
      4/14/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.67
      4/14/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      4/14/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                      100
      4/14/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.81
      4/14/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      4/14/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      4/14/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 211832 Sub Lease Q13171        352.68
      4/14/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/14/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      4/14/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          677.6
      4/14/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                       100
      4/14/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      4/14/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/14/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      4/14/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/14/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.47
      4/14/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.74
      4/14/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         609.53
      4/14/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100

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      4/14/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      4/14/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      4/14/2018    742   DS0254   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-7          1048.35
      4/14/2018    742   DS0254   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-7            174.8
      4/14/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/14/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.1
      4/14/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.38
      4/14/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.24
      4/14/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
      4/14/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      4/14/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      4/14/2018    742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00367378 - PO System          247.91
      4/14/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 211934 Trk 33487 Lease          434.2
      4/14/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      4/14/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/14/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      4/14/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/14/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.62
      4/14/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.9
      4/14/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                       100
      4/14/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      4/14/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/14/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/14/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/14/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/14/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/14/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/14/2018    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      4/14/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/14/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/14/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/14/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/14/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/14/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/14/2018    742   ED0041   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-17          130.21
      4/14/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.7
      4/14/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          552.7
      4/14/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.55
      4/14/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.71
      4/14/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.63
      4/14/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.58
      4/14/2018    742   ED0041   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     151.59
      4/14/2018    742   ED0041   Owner Operator   FUEL TAX                       Jan 2018 Fuel Tax                      67.63
      4/14/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
      4/14/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
      4/14/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      4/14/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      4/14/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      4/14/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      4/14/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      4/14/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      4/14/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      4/14/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      4/14/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      4/14/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      4/14/2018    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Ship Channel Bridg             7
      4/14/2018    742   ED0041   Owner Operator   Toll Charges                   32897/701708 HCTRA Hardy North             4
      4/14/2018    742   ED0041   Owner Operator   Toll Charges                   32897/701708 HCTRA Sam Houston             7
      4/14/2018    742   ED0041   Owner Operator   Toll Charges                   32897/701708 HCTRA Sam Houston             7
      4/14/2018    742   ED0041   Owner Operator   Toll Charges                   32897/701708 HCTRA Sam Houston             7
      4/14/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/14/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      4/14/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/14/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/14/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.09
      4/14/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.66

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      4/14/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.12
      4/14/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.75
      4/14/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      4/14/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      4/14/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/14/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      4/14/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      4/14/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      4/14/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      4/14/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      4/14/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                 100
      4/14/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      4/14/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      4/14/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/14/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.86
      4/14/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.26
      4/14/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.21
      4/14/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.82
      4/14/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                        100
      4/14/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      4/14/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      4/14/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      4/14/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      4/14/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      4/14/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/14/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/14/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.73
      4/14/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.41
      4/14/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.86
      4/14/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                        100
      4/14/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      4/14/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      4/14/2018    742   NK0013   Owner Operator   *Arrears Collection W/O        WO:Feb 2018 Fuel Tax                 -224.25
      4/14/2018    742   NK0013   Owner Operator   FUEL TAX                       Feb 2018 Fuel Tax                     224.25
      4/14/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/14/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      4/14/2018    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-7          1862.64
      4/14/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/14/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      4/14/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      4/14/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      4/14/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/14/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      4/14/2018    742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                      -6400
      4/14/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      4/14/2018    742   PC0012   Owner Operator   Express Check                  T-Check Payment                         6400
      4/14/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/14/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/14/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.32
      4/14/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.98
      4/14/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.87
      4/14/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.37
      4/14/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      4/14/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      4/14/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      4/14/2018    742   RF0136   Owner Operator   Advance                        3/26/18 Spill Clm 68591-1                250
      4/14/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      4/14/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                              60
      4/14/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                              40
      4/14/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                              40
      4/14/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                              40
      4/14/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      4/14/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      4/14/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      4/14/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      4/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.52
      4/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.43
      4/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.89
      4/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.45

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      4/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.18
      4/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.82
      4/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.94
      4/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          113.7
      4/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.49
      4/14/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      28.13
      4/14/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      4/14/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/14/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          285.7
      4/14/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.64
      4/14/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.04
      4/14/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.92
      4/14/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.31
      4/14/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.91
      4/14/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
      4/14/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      4/14/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      4/14/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 211750 Tractor Lease           353.28
      4/14/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      4/14/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/14/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      4/14/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      4/14/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      4/14/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      4/14/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      4/14/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/14/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      4/14/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/14/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          38.48
      4/14/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.86
      4/14/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.48
      4/14/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
      4/14/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      4/14/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/14/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      4/14/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          67.03
      4/14/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/14/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      4/14/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      4/21/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      4/21/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      4/21/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
      4/21/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      4/21/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      4/21/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      4/21/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      4/21/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.55
      4/21/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.95
      4/21/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           215
      4/21/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.03
      4/21/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.56
      4/21/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
      4/21/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      4/21/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 212106 Q13147 Lease            440.14
      4/21/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      4/21/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      4/21/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      4/21/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.89
      4/21/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.03
      4/21/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100
      4/21/2018    709   AV0021   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         250.09
      4/21/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      4/21/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 212065 Q13169 Sublease         352.68
      4/21/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      4/21/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75

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      4/21/2018    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      4/21/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      4/21/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      4/21/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                       100
      4/21/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                       100
      4/21/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      4/21/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      4/21/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      4/21/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      4/21/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      4/21/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      4/21/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.2
      4/21/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          484.9
      4/21/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                      100
      4/21/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      4/21/2018    709   CC0134   Owner Operator   Tire Fee                       Tire Fee: 2119965                          4
      4/21/2018    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00368680 - PO System            90.9
      4/21/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 212021 Q13168 sub lease        352.68
      4/21/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/21/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      4/21/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/21/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/21/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         633.26
      4/21/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      4/21/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      4/21/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/21/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      4/21/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      4/21/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      4/21/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/21/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/21/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.65
      4/21/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.27
      4/21/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.13
      4/21/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.65
      4/21/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.38
      4/21/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      4/21/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      4/21/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      4/21/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      4/21/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      4/21/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                       100
      4/21/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      4/21/2018    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00365834 - PO System          108.56
      4/21/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 212020 Q1201                   278.76
      4/21/2018    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-14          548.32
      4/21/2018    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-14          155.01
      4/21/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          35.42
      4/21/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.68
      4/21/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          366.6
      4/21/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.09
      4/21/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      4/21/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      4/21/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.05
      4/21/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.39
      4/21/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.93
      4/21/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.48
      4/21/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                       100
      4/21/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      4/21/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      4/21/2018    709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                       16.34
      4/21/2018    709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                 1633.79
      4/21/2018    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00367832 - PO System          198.03
      4/21/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 212064 Sublease                338.99

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      4/21/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 212152 Truck Rental              300
      4/21/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      4/21/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/21/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      4/21/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/21/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/21/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                           704
      4/21/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.82
      4/21/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      4/21/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      4/21/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      4/21/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      4/21/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      4/21/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.08
      4/21/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                       100
      4/21/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      4/21/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/21/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      4/21/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/21/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/21/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/21/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/21/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/21/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.61
      4/21/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.78
      4/21/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      4/21/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      4/21/2018    709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00366119 - PO System           240.1
      4/21/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      4/21/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/21/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      4/21/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            400
      4/21/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      4/21/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.19
      4/21/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.62
      4/21/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.96
      4/21/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      4/21/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      4/21/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      4/21/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      4/21/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      4/21/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.72
      4/21/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.46
      4/21/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.12
      4/21/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.15
      4/21/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                       100
      4/21/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      4/21/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      4/21/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      4/21/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      4/21/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.46
      4/21/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.98
      4/21/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.12
      4/21/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.24
      4/21/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           261
      4/21/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           145
      4/21/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
      4/21/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      4/21/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      4/21/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      4/21/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      4/21/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.53
      4/21/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.87
      4/21/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
      4/21/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      4/21/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 212117 truck lease 3304        434.29

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      4/21/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/21/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      4/21/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          625.6
      4/21/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
      4/21/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      4/21/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      4/21/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      4/21/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.51
      4/21/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.36
      4/21/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
      4/21/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      4/21/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 212019 Lease                   252.11
      4/21/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      4/21/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      4/21/2018    709   GW0043   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-14            175
      4/21/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/21/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/21/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/21/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/21/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.65
      4/21/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.01
      4/21/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.53
      4/21/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
      4/21/2018    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         253.99
      4/21/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      4/21/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 212017 Q1109 Lease             302.85
      4/21/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      4/21/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      4/21/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.09
      4/21/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.22
      4/21/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.98
      4/21/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
      4/21/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      4/21/2018    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00366762 - PO System          381.96
      4/21/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 212014 Q13170                  352.68
      4/21/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      4/21/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      4/21/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/21/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/21/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.25
      4/21/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.01
      4/21/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100
      4/21/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      4/21/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/21/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      4/21/2018    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/21/2018    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/21/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.85
      4/21/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.76
      4/21/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          693.9
      4/21/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.77
      4/21/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                       100
      4/21/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      4/21/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      4/21/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/21/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      4/21/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.75
      4/21/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.84
      4/21/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.52
      4/21/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      4/21/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      4/21/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/21/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      4/21/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75

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      4/21/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      4/21/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      4/21/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      4/21/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      4/21/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
      4/21/2018    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                    12.5
      4/21/2018    709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 212152 Trailer wash 701          -33.5
      4/21/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          13
      4/21/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      4/21/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/21/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/21/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.77
      4/21/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.65
      4/21/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.69
      4/21/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                       100
      4/21/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/21/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      4/21/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      4/21/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 212063 Q13197 Lease            276.63
      4/21/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      4/21/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                           13
      4/21/2018    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
      4/21/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      4/21/2018    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         1500
      4/21/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      4/21/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      4/21/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.17
      4/21/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          537.8
      4/21/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      4/21/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/21/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      4/21/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      4/21/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      4/21/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                           13
      4/21/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                               60
      4/21/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                               40
      4/21/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             400
      4/21/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                            4
      4/21/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.4
      4/21/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.6
      4/21/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.5
      4/21/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         574.38
      4/21/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.02
      4/21/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         591.81
      4/21/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      4/21/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/21/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      4/21/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      4/21/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      4/21/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                            8
      4/21/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/21/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/21/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.27
      4/21/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.06
      4/21/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                        100
      4/21/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/21/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      4/21/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-14         2770.53
      4/21/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL              8.75
      4/21/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                           13
      4/21/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.28
      4/21/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                        100
      4/21/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/21/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD               58.6
      4/21/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 211982 Truck Lease             278.76
      4/21/2018    709   JS0265   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-28        -383.88
      4/21/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/21/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/21/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.65
      4/21/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.36
      4/21/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      4/21/2018    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                     12.5
      4/21/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                           13

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      4/21/2018    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                      -568.2
      4/21/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                             250
      4/21/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              100
      4/21/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              100
      4/21/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/21/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/21/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           56.85
      4/21/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             340
      4/21/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          239.43
      4/21/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                       33.64
      4/21/2018    709   KP0004   Owner Operator   Loan Repayment                 EFS 188413                            -2878.6
      4/21/2018    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment          265.33
      4/21/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/21/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.32
      4/21/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      4/21/2018    709   KP0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                         28.5
      4/21/2018    709   KP0004   Owner Operator   T Chek Fee                     Tractor Repair 32914                   2850.1
      4/21/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                          519.59
      4/21/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
      4/21/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                            8
      4/21/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                         100
      4/21/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              39.07
      4/21/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 211970 Lease Q1111              252.11
      4/21/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                    8.75
      4/21/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                           13
      4/21/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                         100
      4/21/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/21/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                    94.54
      4/21/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism            2.5
      4/21/2018    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                      25
      4/21/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      4/21/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                            8
      4/21/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                              50
      4/21/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           413.1
      4/21/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          358.07
      4/21/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.35
      4/21/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                         100
      4/21/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/21/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       49.69
      4/21/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL              8.75
      4/21/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                            8
      4/21/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.83
      4/21/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          487.21
      4/21/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.03
      4/21/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                         100
      4/21/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/21/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD              39.07
      4/21/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 212014 Q1113 Lease              252.11
      4/21/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      4/21/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                            8
      4/21/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          470.09
      4/21/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          230.84
      4/21/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          360.32
      4/21/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                         100
      4/21/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/21/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           35.16
      4/21/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      4/21/2018    709   MG0067   Owner Operator   Toll Charges                   33435/702049 E470 96TH AVE 1             1.95
      4/21/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      4/21/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           13
      4/21/2018    709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-14           124.27
      4/21/2018    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                       -2000
      4/21/2018    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                    -5930.31
      4/21/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                             700
      4/21/2018    709   MP0035   Owner Operator   Express Check                  T-Check Payment                          2000
      4/21/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                       33.64
      4/21/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/21/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       71.88
      4/21/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      4/21/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                          323.05
      4/21/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
      4/21/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                           13
      4/21/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                             500

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      4/21/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/21/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/21/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/21/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/21/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.88
      4/21/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.7
      4/21/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.83
      4/21/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.49
      4/21/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.39
      4/21/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                       100
      4/21/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      4/21/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 NTTA Mainline One Plaza            2.8
      4/21/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 PTC Carlisle                     43.14
      4/21/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 212117 Lease                   215.66
      4/21/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      4/21/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      4/21/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/21/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/21/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.61
      4/21/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.67
      4/21/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                      100
      4/21/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      4/21/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      4/21/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      4/21/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                       100
      4/21/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      4/21/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 212021 Truck 73130 Leas        196.65
      4/21/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      4/21/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      4/21/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      4/21/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      4/21/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      4/21/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/21/2018    709   RC0089   Owner Operator   Communication Charge           PNet Hware 32986                          13
      4/21/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/21/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/21/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.41
      4/21/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.99
      4/21/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      4/21/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      4/21/2018    709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00367928 - PO System          295.35
      4/21/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      4/21/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/21/2018    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      4/21/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      4/21/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/21/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          651.1
      4/21/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      4/21/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      4/21/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      4/21/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/21/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      4/21/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/21/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/21/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/21/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/21/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.89
      4/21/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.23
      4/21/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.97
      4/21/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          452.2
      4/21/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      4/21/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      4/21/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      4/21/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/21/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      4/21/2018    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-14           285.2

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      4/21/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.01
      4/21/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.88
      4/21/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.35
      4/21/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
      4/21/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      4/21/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      4/21/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      4/21/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      4/21/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.03
      4/21/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.84
      4/21/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
      4/21/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      4/21/2018    709   RM0026   Owner Operator   Tire Fee                       Tire Fee: 2120271                         16
      4/21/2018    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00368993 - PO System          647.43
      4/21/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      4/21/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      4/21/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          292.5
      4/21/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          452.9
      4/21/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
      4/21/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      4/21/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 211982 Q1202 Truck Leas        278.76
      4/21/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      4/21/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      4/21/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/21/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/21/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/21/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/21/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.31
      4/21/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          532.5
      4/21/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.47
      4/21/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          543.4
      4/21/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100
      4/21/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      4/21/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      4/21/2018    709   RR0123   Owner Operator   Tire Fee                       Tire Fee: 2119913                          4
      4/21/2018    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00368119 - PO System          104.42
      4/21/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 212020 Q1248                   311.97
      4/21/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      4/21/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      4/21/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/21/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/21/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/21/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.92
      4/21/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.68
      4/21/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.01
      4/21/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          409.8
      4/21/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      4/21/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      4/21/2018    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00366124 - PO System           59.31
      4/21/2018    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00366546 - PO System          231.06
      4/21/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      4/21/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      4/21/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      4/21/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.25
      4/21/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.84
      4/21/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.43
      4/21/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.37
      4/21/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.13
      4/21/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                       100
      4/21/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      4/21/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      4/21/2018    709   SB0103   Owner Operator   Tire Fee                       Tire Fee: 2120231                         16
      4/21/2018    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00368928 - PO System          371.04
      4/21/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 211979 Sub Lease               388.33
      4/21/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75

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      4/21/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.56
      4/21/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.66
      4/21/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.37
      4/21/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          366.6
      4/21/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      4/21/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      4/21/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      4/21/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      4/21/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      4/21/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      4/21/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/21/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/21/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/21/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/21/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.22
      4/21/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          321.9
      4/21/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.46
      4/21/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.58
      4/21/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      4/21/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      4/21/2018    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
      4/21/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      4/21/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           500
      4/21/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                       100
      4/21/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      4/21/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 212018 Tractor Sub leas        242.03
      4/21/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      4/21/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/21/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      4/21/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/21/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/21/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/21/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.15
      4/21/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.28
      4/21/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.8
      4/21/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.97
      4/21/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                       100
      4/21/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      4/21/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/21/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      4/21/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      4/21/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      4/21/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      4/21/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      4/21/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              60
      4/21/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      4/21/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.64
      4/21/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.84
      4/21/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.91
      4/21/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.49
      4/21/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                       100
      4/21/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      4/21/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 212020 Q1238 Lease             311.97
      4/21/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 212152 Truck Rental              100
      4/21/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.73
      4/21/2018    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33912                      12.73
      4/21/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/21/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      4/21/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.69
      4/21/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         604.54
      4/21/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.05
      4/21/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.57
      4/21/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                       100
      4/21/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      4/21/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5

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      4/21/2018    742   BS0078   Owner Operator   Toll Charges                   33471 HCTRA Ship Channel Bridg             7
      4/21/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      4/21/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      4/21/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.48
      4/21/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.53
      4/21/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.76
      4/21/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                       100
      4/21/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      4/21/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      4/21/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      4/21/2018    742   CT0085   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-14           11.78
      4/21/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.33
      4/21/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                      100
      4/21/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.81
      4/21/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      4/21/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      4/21/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/21/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      4/21/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           592
      4/21/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             75
      4/21/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           22.5
      4/21/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.03
      4/21/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.55
      4/21/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                       100
      4/21/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      4/21/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/21/2018    742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Sam Houston - East             7
      4/21/2018    742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Ship Channel Bridg             7
      4/21/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      4/21/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.88
      4/21/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.56
      4/21/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.74
      4/21/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.52
      4/21/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100
      4/21/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      4/21/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      4/21/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/21/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/21/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         576.31
      4/21/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.83
      4/21/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.55
      4/21/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.85
      4/21/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
      4/21/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      4/21/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      4/21/2018    742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00367378 - PO System          247.91
      4/21/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      4/21/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/21/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      4/21/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.37
      4/21/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.63
      4/21/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.11
      4/21/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                       100
      4/21/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      4/21/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/21/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/21/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/21/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.58
      4/21/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.91
      4/21/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.66
      4/21/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.47
      4/21/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
      4/21/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      4/21/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5

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      4/21/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/21/2018    742   EN0016   Owner Operator   Charge back by affiliate       CTMS - 212036 trailer wash             -33.5
      4/21/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      4/21/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.81
      4/21/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.19
      4/21/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          71.02
      4/21/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          498.6
      4/21/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      4/21/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      4/21/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/21/2018    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg             7
      4/21/2018    742   EN0016   Owner Operator   Toll Charges                   32947 OTA Kilpatrick Turnpike           8.65
      4/21/2018    742   EN0016   Owner Operator   Toll Charges                   32947 OTA Turner Turnpike East         18.05
      4/21/2018    742   EN0016   Owner Operator   Toll Charges                   32947 OTA Turner Turnpike West         18.05
      4/21/2018    742   EN0016   Owner Operator   Toll Charges                   32947 OTA Will Rogers Turnpike         18.05
      4/21/2018    742   EN0016   Owner Operator   Toll Charges                   32947 OTA Will Rogers Turnpike         18.05
      4/21/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      4/21/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      4/21/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      4/21/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      4/21/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      4/21/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/21/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/21/2018    742   MH0117   Owner Operator   Charge back by affiliate       CTMS - 212046 trailer wash             -33.5
      4/21/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      4/21/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      4/21/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                       100
      4/21/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                       100
      4/21/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      4/21/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      4/21/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/21/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/21/2018    742   MH0117   Owner Operator   Repair Order                   CTMS - 212040 repair                 -129.24
      4/21/2018    742   MH0117   Owner Operator   Toll Charges                   33296 HCTRA Sam Houston - Redd             4
      4/21/2018    742   MH0117   Owner Operator   Toll Charges                   33296 HCTRA Ship Channel Bridg             7
      4/21/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      4/21/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      4/21/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      4/21/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.15
      4/21/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.03
      4/21/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.25
      4/21/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.95
      4/21/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.54
      4/21/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.85
      4/21/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                       100
      4/21/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      4/21/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      4/21/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      4/21/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      4/21/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      4/21/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      4/21/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      4/21/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      4/21/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/21/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/21/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.42
      4/21/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         739.42
      4/21/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.82
      4/21/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                       100
      4/21/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      4/21/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      4/21/2018    742   NG0024   Owner Operator   Toll Charges                   33252 E470 PLAZA C 2                    16.6
      4/21/2018    742   NG0024   Owner Operator   Toll Charges                   33252 E470 PLAZA E 2                      18
      4/21/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Sam Houston - NE M             7
      4/21/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Sam Houston - NE M             7

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      4/21/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Ship Channel Bridg             7
      4/21/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Ship Channel Bridg             7
      4/21/2018    742   NG0024   Owner Operator   Toll Charges                   33252/701824 E470 PLAZA D 2               18
      4/21/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/21/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      4/21/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      4/21/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      4/21/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/21/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   25.98
      4/21/2018    742   RF0136   Owner Operator   Advance                        3/26/18 Spill Clm 68591-1               250
      4/21/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      4/21/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      4/21/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      4/21/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                              40
      4/21/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                              40
      4/21/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            400
      4/21/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      4/21/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      4/21/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      4/21/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.44
      4/21/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.28
      4/21/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.66
      4/21/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.89
      4/21/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2017 - 34182                      25.92
      4/21/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2017 - 34182                       100
      4/21/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                         25
      4/21/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      4/21/2018    742   RF0136   Owner Operator   T Chek Fee                     Advance 34182                        1376.24
      4/21/2018    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                       13.76
      4/21/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      4/21/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/21/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.52
      4/21/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.22
      4/21/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.84
      4/21/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
      4/21/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      4/21/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      4/21/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      4/21/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      4/21/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      4/21/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      4/21/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.05
      4/21/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.94
      4/21/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.13
      4/21/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.32
      4/21/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                           198
      4/21/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
      4/21/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
      4/21/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      4/21/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      4/21/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      4/21/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      4/21/2018    742   RS0342   Owner Operator   Toll Charges                   33738 PTC Toll 376 - West 18            3.89
      4/21/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      4/21/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/21/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 212035 fuel                      250
      4/21/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      4/21/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      4/21/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      4/21/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      4/21/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      4/21/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75

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      4/21/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      4/21/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/21/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.89
      4/21/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.79
      4/21/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.67
      4/21/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
      4/21/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      4/21/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/21/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 15
      4/21/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 15
      4/21/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               25
      4/21/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               25
      4/21/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               25
      4/21/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               25
      4/21/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      4/21/2018    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      4/21/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      4/21/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      4/21/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.9
      4/21/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           45.7
      4/21/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.88
      4/21/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.08
      4/21/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/21/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      4/21/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      4/28/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      4/28/2018    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
      4/28/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      4/28/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                              50
      4/28/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      4/28/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          239.4
      4/28/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
      4/28/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      4/28/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      4/28/2018    709   AN0007   Owner Operator   Toll Charges                   FasTrak 21157A CATALINA VIEW S         21.96
      4/28/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      4/28/2018    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      4/28/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      4/28/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.79
      4/28/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.21
      4/28/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.8
      4/28/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
      4/28/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      4/28/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 212342 Q13147 Lease            440.14
      4/28/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      4/28/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      4/28/2018    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      4/28/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      4/28/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.38
      4/28/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.34
      4/28/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.08
      4/28/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      4/28/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.86
      4/28/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.81
      4/28/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.38
      4/28/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.44
      4/28/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.27
      4/28/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.06
      4/28/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100
      4/28/2018    709   AV0021   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         250.09
      4/28/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      4/28/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 212301 Q13169 Sublease         352.68
      4/28/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      4/28/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      4/28/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                       100
      4/28/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11

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      4/28/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      4/28/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      4/28/2018    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      4/28/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      4/28/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.94
      4/28/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.54
      4/28/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.86
      4/28/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                      100
      4/28/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      4/28/2018    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00368680 - PO System            90.9
      4/28/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 212265 Q13168 sub lease        352.68
      4/28/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/28/2018    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      4/28/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      4/28/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         654.86
      4/28/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          582.1
      4/28/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      4/28/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      4/28/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/28/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      4/28/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      4/28/2018    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                      9.84
      4/28/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      4/28/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           64.1
      4/28/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.26
      4/28/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.7
      4/28/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.98
      4/28/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.89
      4/28/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      4/28/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      4/28/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      4/28/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      4/28/2018    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                      9.84
      4/28/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      4/28/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          432.4
      4/28/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                       100
      4/28/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      4/28/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 212264 Q1201                   278.76
      4/28/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/28/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/28/2018    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                      9.84
      4/28/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      4/28/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      4/28/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.17
      4/28/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.02
      4/28/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.73
      4/28/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      4/28/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.83
      4/28/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                       100
      4/28/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                       100
      4/28/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         264.86
      4/28/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         264.86
      4/28/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      4/28/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      4/28/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      4/28/2018    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      4/28/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      4/28/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/28/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/28/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.59
      4/28/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         604.74
      4/28/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.66
      4/28/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.1

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      4/28/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                       100
      4/28/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      4/28/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      4/28/2018    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00367832 - PO System          198.03
      4/28/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 212300 Sublease                338.99
      4/28/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      4/28/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/28/2018    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                      9.84
      4/28/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      4/28/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/28/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/28/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         582.47
      4/28/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      4/28/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      4/28/2018    709   DS0049   Owner Operator   Toll Charges                   FasTrak 32915 San Mateo 4                 25
      4/28/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      4/28/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      4/28/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      4/28/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         617.73
      4/28/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          602.2
      4/28/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                       100
      4/28/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      4/28/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/28/2018    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                      9.84
      4/28/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      4/28/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/28/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.78
      4/28/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         637.08
      4/28/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.13
      4/28/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      4/28/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      4/28/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      4/28/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/28/2018    709   EE0011   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      4/28/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
      4/28/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/28/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/28/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.23
      4/28/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.57
      4/28/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.9
      4/28/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.26
      4/28/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      4/28/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.91
      4/28/2018    709   EE0011   Owner Operator   Repair Order                   TRACTOR 32910                          45.73
      4/28/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      4/28/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      4/28/2018    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      4/28/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      4/28/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.82
      4/28/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.28
      4/28/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         696.75
      4/28/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                       100
      4/28/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      4/28/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      4/28/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      4/28/2018    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      4/28/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      4/28/2018    709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-5             -62
      4/28/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.59
      4/28/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.48
      4/28/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.42
      4/28/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
      4/28/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      4/28/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      4/28/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      4/28/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      4/28/2018    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      4/28/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      4/28/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.38
      4/28/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          283.5
      4/28/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.54
      4/28/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
      4/28/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      4/28/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 212354 truck lease 3304        434.29
      4/28/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/28/2018    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521B                     9.84
      4/28/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      4/28/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         635.29
      4/28/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
      4/28/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      4/28/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      4/28/2018    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      4/28/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      4/28/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.63
      4/28/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.85
      4/28/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
      4/28/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      4/28/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 212263 Lease                   252.11
      4/28/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      4/28/2018    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      4/28/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      4/28/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.92
      4/28/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.48
      4/28/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
      4/28/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      4/28/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 212347 Q1109 Lease             302.85
      4/28/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      4/28/2018    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      4/28/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      4/28/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          516.8
      4/28/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.32
      4/28/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
      4/28/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      4/28/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 212259 Q13170                  352.68
      4/28/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      4/28/2018    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK33180                      9.84
      4/28/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      4/28/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.01
      4/28/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100
      4/28/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      4/28/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/28/2018    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      4/28/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      4/28/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.05
      4/28/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                       100
      4/28/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      4/28/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      4/28/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/28/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      4/28/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.13
      4/28/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.33
      4/28/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.11
      4/28/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.24
      4/28/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      4/28/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      4/28/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      4/28/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/28/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      4/28/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/28/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.05
      4/28/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      4/28/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      4/28/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      4/28/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      4/28/2018    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                      -6400
      4/28/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      4/28/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/28/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/28/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.72
      4/28/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.89
      4/28/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.17
      4/28/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                       100
      4/28/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      4/28/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      4/28/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 212298 Q13197 Lease            276.63
      4/28/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/28/2018    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                      9.84
      4/28/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      4/28/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      4/28/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      4/28/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/28/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          616.2
      4/28/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.41
      4/28/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      4/28/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      4/28/2018    709   JG0017   Owner Operator   Toll Charges                   FasTrak 32908 Bay Bridge 17                4
      4/28/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      4/28/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/28/2018    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                      9.84
      4/28/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      4/28/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                              60
      4/28/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/28/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/28/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                              40
      4/28/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      4/28/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      4/28/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.43
      4/28/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.14
      4/28/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         596.53
      4/28/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      4/28/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      4/28/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      4/28/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/28/2018    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                      9.84
      4/28/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      4/28/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.07
      4/28/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.69
      4/28/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                        100
      4/28/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      4/28/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-14          682.27
      4/28/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-14         1611.36
      4/28/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.2
      4/28/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      4/28/2018    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      4/28/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      4/28/2018    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-5             -31
      4/28/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.59
      4/28/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                        100
      4/28/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      4/28/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      4/28/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 212229 Truck Lease             278.76
      4/28/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      4/28/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      4/28/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      4/28/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      4/28/2018    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRK33325                      9.84
      4/28/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      4/28/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      4/28/2018    709   JS0265   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-21          383.88
      4/28/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/28/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/28/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.56
      4/28/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.06
      4/28/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.88
      4/28/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.45
      4/28/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.58
      4/28/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.04
      4/28/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.37
      4/28/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                       100
      4/28/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                       100
      4/28/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      4/28/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      4/28/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      4/28/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      4/28/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      4/28/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      4/28/2018    709   JS0265   Owner Operator   Tire Fee                       Tire Fee: 2120273                          8
      4/28/2018    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00368994 - PO System          177.82
      4/28/2018    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00368994 - PO System          177.82
      4/28/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/28/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      4/28/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/28/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/28/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/28/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.14
      4/28/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.09
      4/28/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      4/28/2018    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         265.33
      4/28/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      4/28/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/28/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      4/28/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      4/28/2018    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      4/28/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      4/28/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                       100
      4/28/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      4/28/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 212217 Lease Q1111             252.11
      4/28/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      4/28/2018    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                      9.84
      4/28/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      4/28/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         744.56
      4/28/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                       100
      4/28/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      4/28/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      4/28/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/28/2018    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      4/28/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      4/28/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.84
      4/28/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.93
      4/28/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.17
      4/28/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.24
      4/28/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.64
      4/28/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                       100

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      4/28/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      4/28/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      4/28/2018    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                      9.84
      4/28/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      4/28/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.18
      4/28/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.65
      4/28/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.26
      4/28/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.08
      4/28/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.14
      4/28/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                       100
      4/28/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      4/28/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 212258 Q1113 Lease             252.11
      4/28/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/28/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      4/28/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.75
      4/28/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.07
      4/28/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                       100
      4/28/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      4/28/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/28/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/28/2018    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                      9.84
      4/28/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      4/28/2018    709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-5         -124.27
      4/28/2018    709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-5         -124.27
      4/28/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      4/28/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            250
      4/28/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
      4/28/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         774.38
      4/28/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      4/28/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      4/28/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/28/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      4/28/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      4/28/2018    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1108                      9.84
      4/28/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      4/28/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      4/28/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.64
      4/28/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.48
      4/28/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.88
      4/28/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          315.8
      4/28/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          411.6
      4/28/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                       100
      4/28/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      4/28/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 212353 Lease                   215.66
      4/28/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      4/28/2018    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      4/28/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      4/28/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/28/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/28/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           386
      4/28/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.66
      4/28/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                      100
      4/28/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      4/28/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      4/28/2018    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      4/28/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                       100
      4/28/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      4/28/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 212265 Truck 73130 Leas        196.65
      4/28/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      4/28/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      4/28/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15

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      4/28/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      4/28/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.19
      4/28/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/28/2018    709   RC0089   Owner Operator   Communication Charge           PNet Hware 32986                          13
      4/28/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/28/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/28/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.29
      4/28/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      4/28/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      4/28/2018    709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00367928 - PO System          295.35
      4/28/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      4/28/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/28/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      4/28/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/28/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.83
      4/28/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.71
      4/28/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      4/28/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      4/28/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      4/28/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/28/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      4/28/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/28/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/28/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.98
      4/28/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.73
      4/28/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      4/28/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      4/28/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      4/28/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/28/2018    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      4/28/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      4/28/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.05
      4/28/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
      4/28/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      4/28/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      4/28/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      4/28/2018    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      4/28/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      4/28/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.16
      4/28/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.56
      4/28/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
      4/28/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      4/28/2018    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00368993 - PO System          647.43
      4/28/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      4/28/2018    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      4/28/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      4/28/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.75
      4/28/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
      4/28/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      4/28/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 212229 Q1202 Truck Leas        278.76
      4/28/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      4/28/2018    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      4/28/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      4/28/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.62
      4/28/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.91
      4/28/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.86
      4/28/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.51
      4/28/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100
      4/28/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      4/28/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      4/28/2018    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00368119 - PO System          104.42
      4/28/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 212264 Q1248                   311.97
      4/28/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      4/28/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      4/28/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200

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      4/28/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.74
      4/28/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.83
      4/28/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.41
      4/28/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.66
      4/28/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      4/28/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      4/28/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      4/28/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      4/28/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      4/28/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.36
      4/28/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.98
      4/28/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.59
      4/28/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                       100
      4/28/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      4/28/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      4/28/2018    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00368928 - PO System          371.04
      4/28/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 212152 Truck Rental              350
      4/28/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 212226 Sub Lease               388.33
      4/28/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      4/28/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.11
      4/28/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.82
      4/28/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      4/28/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      4/28/2018    709   SM0109   Owner Operator   Toll Charges                   33195 TxTag HN North Plaza L1              7
      4/28/2018    709   SM0109   Owner Operator   Toll Charges                   33195 TxTag HN North Plaza L1              7
      4/28/2018    709   SM0109   Owner Operator   Toll Charges                   33195 TxTag HS South Plaza L1            3.5
      4/28/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      4/28/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          70.68
      4/28/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      4/28/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      4/28/2018    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      4/28/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.04
      4/28/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                       100
      4/28/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      4/28/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 212263 Tractor Sub leas        242.03
      4/28/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      4/28/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/28/2018    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      4/28/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      4/28/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/28/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.67
      4/28/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.38
      4/28/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.59
      4/28/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.97
      4/28/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                       100
      4/28/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      4/28/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/28/2018    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      4/28/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      4/28/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      4/28/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      4/28/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      4/28/2018    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKq1239                      9.84
      4/28/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      4/28/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.93
      4/28/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.24
      4/28/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.25

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      4/28/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          203.2
      4/28/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                       100
      4/28/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      4/28/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 212264 Q1238 Lease             311.97
      4/28/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      4/28/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   V558374 2012 Volvo NTL                  8.75
      4/28/2018    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      4/28/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      4/28/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      4/28/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/28/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/28/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/28/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/28/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/28/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/28/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.21
      4/28/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.88
      4/28/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.16
      4/28/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.74
      4/28/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.02
      4/28/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.35
      4/28/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD                  52.33
      4/28/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      4/28/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                V558374 2012 Volvo PD Terroris           2.5
      4/28/2018    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      4/28/2018    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
      4/28/2018    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33912                      87.27
      4/28/2018    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33912                       100
      4/28/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/28/2018    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRK33471                      9.84
      4/28/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      4/28/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.51
      4/28/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.43
      4/28/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         664.75
      4/28/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                       100
      4/28/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      4/28/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/28/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      4/28/2018    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK                           9.84
      4/28/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      4/28/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.4
      4/28/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.46
      4/28/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                       100
      4/28/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      4/28/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      4/28/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                      100
      4/28/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         124.32
      4/28/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      4/28/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      4/28/2018    742   CT0085   Owner Operator   Toll Charges                   FasTrak Q13171 Carquinez Bridg            25
      4/28/2018    742   CT0085   Owner Operator   Toll Charges                   FasTrak Q13171 Carquinez Bridg            25
      4/28/2018    742   CT0085   Owner Operator   Toll Charges                   FasTrak Q13171 Carquinez Bridg            25
      4/28/2018    742   CT0085   Owner Operator   Toll Charges                   FasTrak Q13171 Carquinez Bridg            25
      4/28/2018    742   CT0085   Owner Operator   Toll Charges                   FasTrak Q13171 Carquinez Bridg            25
      4/28/2018    742   CT0085   Owner Operator   Toll Charges                   FasTrak Q13171 Carquinez Bridg            25
      4/28/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/28/2018    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      4/28/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      4/28/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           245
      4/28/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             32
      4/28/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           420
      4/28/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                       100
      4/28/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      4/28/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/28/2018    742   DA0067   Owner Operator   Toll Charges                   FasTrak 33847 Benicia 12                  25
      4/28/2018    742   DA0067   Owner Operator   Toll Charges                   FasTrak 33847 Benicia 12                  25

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      4/28/2018    742   DA0067   Owner Operator   Toll Charges                   FasTrak 33847 Benicia 12                  25
      4/28/2018    742   DA0067   Owner Operator   Toll Charges                   FasTrak 33847 Carquinez Bridge            25
      4/28/2018    742   DA0067   Owner Operator   Toll Charges                   FasTrak 33847 Carquinez Bridge            25
      4/28/2018    742   DA0067   Owner Operator   Toll Charges                   FasTrak 33847 Carquinez Bridge            25
      4/28/2018    742   DA0067   Owner Operator   Toll Charges                   FasTrak 33847 Carquinez Bridge            25
      4/28/2018    742   DA0067   Owner Operator   Toll Charges                   FasTrak 33847 Richmond 3                  25
      4/28/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      4/28/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.14
      4/28/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.66
      4/28/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100
      4/28/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      4/28/2018    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      4/28/2018    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 212363 trailer wash             -36.5
      4/28/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      4/28/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.09
      4/28/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.61
      4/28/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.81
      4/28/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
      4/28/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      4/28/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      4/28/2018    742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00367378 - PO System          247.87
      4/28/2018    742   DS0254   Owner Operator   Toll Charges                   FasTrak 33487 Antioch Bridge 1            25
      4/28/2018    742   DS0254   Owner Operator   Toll Charges                   FasTrak 33487 Antioch Bridge 1            25
      4/28/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 212170 Trk 33487 Lease          434.2
      4/28/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 212394 Trk 33487 Lease          434.2
      4/28/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      4/28/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/28/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      4/28/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.65
      4/28/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.59
      4/28/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                       100
      4/28/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      4/28/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/28/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/28/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.38
      4/28/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.68
      4/28/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
      4/28/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      4/28/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      4/28/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/28/2018    742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze TRK32947                      9.84
      4/28/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      4/28/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/28/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/28/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.94
      4/28/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.72
      4/28/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.96
      4/28/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.95
      4/28/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      4/28/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      4/28/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/28/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      4/28/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      4/28/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      4/28/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      4/28/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      4/28/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/28/2018    742   MH0117   Owner Operator   Broker Pre Pass                DriveWyze TRK33296                      9.84
      4/28/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      4/28/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                         18
      4/28/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                       100
      4/28/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75

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      4/28/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      4/28/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                 100
      4/28/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                   8.75
      4/28/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                           13
      4/28/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                              50
      4/28/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.75
      4/28/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.67
      4/28/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          125.55
      4/28/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.69
      4/28/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                        100
      4/28/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          351.39
      4/28/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/28/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                   27.33
      4/28/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris            2.5
      4/28/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75
      4/28/2018    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                       9.84
      4/28/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                           13
      4/28/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          585.27
      4/28/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          405.79
      4/28/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          270.67
      4/28/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                        100
      4/28/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/28/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             100.76
      4/28/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            2.5
      4/28/2018    742   NG0024   Owner Operator   Toll Charges                   FasTrak 33252 Carquinez Bridge             25
      4/28/2018    742   NG0024   Owner Operator   Toll Charges                   FasTrak 33252/W7078 Carquinez              25
      4/28/2018    742   NK0013   Owner Operator   *Arrears Collection W/O        Applicable Amount to Arrears           224.25
      4/28/2018    742   NK0013   Owner Operator   Broker Pay Void/Reissue        Void Check - Apply to Arrears        -1340.61
      4/28/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      4/28/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                           13
      4/28/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                              50
      4/28/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/28/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    31.25
      4/28/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism            2.5
      4/28/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.56
      4/28/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.55
      4/28/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      4/28/2018    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                       9.84
      4/28/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      4/28/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      4/28/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      4/28/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      4/28/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/28/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/28/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/28/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/28/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          236.43
      4/28/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          418.63
      4/28/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.94
      4/28/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.65
      4/28/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                       33.64
      4/28/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                       33.64
      4/28/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                     78.4
      4/28/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.35
      4/28/2018    742   PC0012   Owner Operator   Toll Charges                   32969 AmBrdg Ambassador Bridge          19.47
      4/28/2018    742   PC0012   Owner Operator   Toll Charges                   32969 AmBrdg Detroit Internati           27.5
      4/28/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg              7
      4/28/2018    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Turner Turnpike East          18.05
      4/28/2018    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Will Rogers Turnpike            9.2
      4/28/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      4/28/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      4/28/2018    742   RF0136   Owner Operator   Advance                        3/26/18 Spill Clm 68591-1                250
      4/28/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                       8.75
      4/28/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                           13
      4/28/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                              50
      4/28/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/28/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/28/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.12
      4/28/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/28/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                       53.11
      4/28/2018    742   RF0136   Owner Operator   Toll Charges                   FasTrak 34182 Carquinez Bridge             25
      4/28/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             8.75
      4/28/2018    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKq13157                      9.84

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      4/28/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/28/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          383.6
      4/28/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.56
      4/28/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.99
      4/28/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
      4/28/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      4/28/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      4/28/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 211982 Tractor Lease           353.28
      4/28/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 212228 Tractor Lease           353.28
      4/28/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      4/28/2018    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                      9.84
      4/28/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      4/28/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.21
      4/28/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.49
      4/28/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.19
      4/28/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
      4/28/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      4/28/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      4/28/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      4/28/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/28/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 212362 fuel                      250
      4/28/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      4/28/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      4/28/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      4/28/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      4/28/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      4/28/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/28/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      4/28/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/28/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.34
      4/28/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.01
      4/28/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.68
      4/28/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
      4/28/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/28/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      4/28/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/28/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.91
      4/28/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.74
      4/28/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.19
      4/28/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.86
       5/5/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       5/5/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       5/5/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            400
       5/5/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
       5/5/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.81
       5/5/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.09
       5/5/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.81
       5/5/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
       5/5/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       5/5/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       5/5/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       5/5/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       5/5/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.39
       5/5/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.84
       5/5/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.93
       5/5/2018    709   AR0064   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             325.33
       5/5/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
       5/5/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       5/5/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 212553 Q13147 Lease            440.14
       5/5/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       5/5/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       5/5/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       5/5/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.62
       5/5/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.37
       5/5/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          398.6
       5/5/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.24

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       5/5/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.82
       5/5/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.25
       5/5/2018    709   AV0021   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              60.63
       5/5/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100
       5/5/2018    709   AV0021   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         250.09
       5/5/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       5/5/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 212519 Q13169 Sublease         352.68
       5/5/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       5/5/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       5/5/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    709   BM0030   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             210.12
       5/5/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                       100
       5/5/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       5/5/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       5/5/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       5/5/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       5/5/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.25
       5/5/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.37
       5/5/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.05
       5/5/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.25
       5/5/2018    709   CC0134   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              242.8
       5/5/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                      100
       5/5/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       5/5/2018    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00368680 - PO System            90.9
       5/5/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 212484 Q13168 sub lease        352.68
       5/5/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/5/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       5/5/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/5/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/5/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          614.5
       5/5/2018    709   CM0119   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              70.05
       5/5/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
       5/5/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       5/5/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/5/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       5/5/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       5/5/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       5/5/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
       5/5/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.16
       5/5/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.59
       5/5/2018    709   CR0064   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              290.3
       5/5/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
       5/5/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       5/5/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       5/5/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/5/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       5/5/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           307
       5/5/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           354
       5/5/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.36
       5/5/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.1
       5/5/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.7
       5/5/2018    709   DL0029   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              238.7
       5/5/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                       100
       5/5/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         264.86
       5/5/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       5/5/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       5/5/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       5/5/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.48
       5/5/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.98
       5/5/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         615.12
       5/5/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.54
       5/5/2018    709   DL0107   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             147.98
       5/5/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                       100
       5/5/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       5/5/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       5/5/2018    709   DL0107   Owner Operator   Repair Order                   TRACTOR Q1245                          568.3

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       5/5/2018    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00367832 - PO System          198.03
       5/5/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 212518 Sublease                338.99
       5/5/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       5/5/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/5/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       5/5/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       5/5/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       5/5/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.15
       5/5/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         611.12
       5/5/2018    709   DS0049   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              81.78
       5/5/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
       5/5/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       5/5/2018    709   DS0049   Owner Operator   Repair Order                   TRACTOR 32915                             50
       5/5/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       5/5/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       5/5/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       5/5/2018    709   DS0225   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
       5/5/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          611.5
       5/5/2018    709   DS0225   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             -56.51
       5/5/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                       100
       5/5/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       5/5/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/5/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       5/5/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       5/5/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/5/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/5/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.77
       5/5/2018    709   EA0003   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             177.39
       5/5/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
       5/5/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       5/5/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       5/5/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                           12.83
       5/5/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.92
       5/5/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       5/5/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       5/5/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.77
       5/5/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         626.09
       5/5/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         683.97
       5/5/2018    709   EG0062   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              15.97
       5/5/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                       100
       5/5/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       5/5/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       5/5/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       5/5/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       5/5/2018    709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-28              62
       5/5/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.99
       5/5/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.77
       5/5/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.82
       5/5/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.99
       5/5/2018    709   EO0014   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              33.83
       5/5/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
       5/5/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       5/5/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       5/5/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       5/5/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       5/5/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.77
       5/5/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           339
       5/5/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.66
       5/5/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.61
       5/5/2018    709   FS0039   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             -34.27
       5/5/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
       5/5/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       5/5/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 212565 truck lease 3304        434.29
       5/5/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/5/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       5/5/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/5/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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       5/5/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         622.88
       5/5/2018    709   FV0001   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              87.72
       5/5/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
       5/5/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       5/5/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       5/5/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       5/5/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.02
       5/5/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.76
       5/5/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
       5/5/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       5/5/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 212481 Lease                   252.11
       5/5/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       5/5/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       5/5/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.83
       5/5/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.84
       5/5/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
       5/5/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       5/5/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 212558 Q1109 Lease             302.85
       5/5/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       5/5/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       5/5/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.34
       5/5/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.11
       5/5/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          395.5
       5/5/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.73
       5/5/2018    709   HC0023   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              -3.65
       5/5/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
       5/5/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       5/5/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 212478 Q13170                  352.68
       5/5/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       5/5/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       5/5/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
       5/5/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       5/5/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.51
       5/5/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.03
       5/5/2018    709   HG0007   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              29.71
       5/5/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100
       5/5/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       5/5/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       5/5/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       5/5/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.61
       5/5/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.58
       5/5/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.13
       5/5/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                       100
       5/5/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       5/5/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       5/5/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/5/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       5/5/2018    709   IR0002   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
       5/5/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.73
       5/5/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.59
       5/5/2018    709   IR0002   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             -39.72
       5/5/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
       5/5/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       5/5/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/5/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       5/5/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       5/5/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       5/5/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       5/5/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
       5/5/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
       5/5/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       5/5/2018    709   JC0292   Owner Operator   Driver Excellence Program      KS-HP01890608                            -50

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       5/5/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       146.82
       5/5/2018    709   JC0292   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax           206.77
       5/5/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                    100
       5/5/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/5/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD             42.19
       5/5/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
       5/5/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       5/5/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
       5/5/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
       5/5/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
       5/5/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
       5/5/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.22
       5/5/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       580.37
       5/5/2018    709   JG0017   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax            73.02
       5/5/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                    33.64
       5/5/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/5/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
       5/5/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
       5/5/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       5/5/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
       5/5/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          500
       5/5/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
       5/5/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        97.37
       5/5/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       608.97
       5/5/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       612.38
       5/5/2018    709   JG0072   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax           266.52
       5/5/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                    33.64
       5/5/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/5/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
       5/5/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
       5/5/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
       5/5/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
       5/5/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       438.57
       5/5/2018    709   JG0092   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax            -8.95
       5/5/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                     100
       5/5/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/5/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    35.16
       5/5/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
       5/5/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
       5/5/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
       5/5/2018    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                    9.84
       5/5/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
       5/5/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
       5/5/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
       5/5/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
       5/5/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
       5/5/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
       5/5/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       5/5/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       5/5/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       5/5/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       150.11
       5/5/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        11.82
       5/5/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.68
       5/5/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.38
       5/5/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         150
       5/5/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                     100
       5/5/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                     100
       5/5/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                     100
       5/5/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/5/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/5/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/5/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
       5/5/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
       5/5/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
       5/5/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
       5/5/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
       5/5/2018    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-28            31
       5/5/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       254.59
       5/5/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.25
       5/5/2018    709   JR0099   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax           167.92
       5/5/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                     100
       5/5/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/5/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6

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       5/5/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 212447 Truck Lease             278.76
       5/5/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       5/5/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       5/5/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       5/5/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       5/5/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/5/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/5/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/5/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/5/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.83
       5/5/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          417.4
       5/5/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.54
       5/5/2018    709   JS0265   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             145.54
       5/5/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                       100
       5/5/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       5/5/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       5/5/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       5/5/2018    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00368994 - PO System          177.82
       5/5/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/5/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       5/5/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       5/5/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/5/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/5/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/5/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/5/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/5/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/5/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.81
       5/5/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.03
       5/5/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           386
       5/5/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.62
       5/5/2018    709   KP0004   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             722.59
       5/5/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
       5/5/2018    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         265.33
       5/5/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       5/5/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/5/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       5/5/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       5/5/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       5/5/2018    709   LL0160   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             238.04
       5/5/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                       100
       5/5/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       5/5/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 212437 Lease Q1111             252.11
       5/5/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       5/5/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       5/5/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/5/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/5/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         607.06
       5/5/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.75
       5/5/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.04
       5/5/2018    709   LS0023   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              80.16
       5/5/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                       100
       5/5/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       5/5/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       5/5/2018    709   LS0023   Owner Operator   Tire Fee                       Tire Fee: 2124097                         32
       5/5/2018    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00369828 - PO System          744.66
       5/5/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       5/5/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       5/5/2018    709   MA0092   Owner Operator   Driver Excellence Program      AZ-0266000427                            -50
       5/5/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.75
       5/5/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.24
       5/5/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.13
       5/5/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.28
       5/5/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.15
       5/5/2018    709   MA0092   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax               72.3
       5/5/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                       100
       5/5/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       5/5/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75

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       5/5/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                         8
       5/5/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       377.71
       5/5/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       387.36
       5/5/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       366.13
       5/5/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.45
       5/5/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                     100
       5/5/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/5/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD           39.07
       5/5/2018    709   ME0053   Owner Operator   T Chek Fee                     ExpressCheck Fee                         2
       5/5/2018    709   ME0053   Owner Operator   T Chek Fee                     Towing Q1113                          200
       5/5/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 212477 Q1113 Lease           252.11
       5/5/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                        8.75
       5/5/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                         8
       5/5/2018    709   MG0067   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                          -50
       5/5/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       450.02
       5/5/2018    709   MG0067   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax            31.54
       5/5/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                     100
       5/5/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/5/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
       5/5/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                2.5
       5/5/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
       5/5/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                        13
       5/5/2018    709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-28        124.27
       5/5/2018    709   MP0035   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-28        124.27
       5/5/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         700
       5/5/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            50
       5/5/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
       5/5/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.95
       5/5/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                    33.64
       5/5/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/5/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
       5/5/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism            2.5
       5/5/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
       5/5/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL            8.75
       5/5/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                        13
       5/5/2018    709   NB0029   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                          -50
       5/5/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         500
       5/5/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                          100
       5/5/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       5/5/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       284.69
       5/5/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.32
       5/5/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       452.82
       5/5/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                       272.04
       5/5/2018    709   NB0029   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax           188.73
       5/5/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                     100
       5/5/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/5/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD            35.16
       5/5/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 212564 Lease                 215.66
       5/5/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL              8.75
       5/5/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                       13
       5/5/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                          240
       5/5/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2.4
       5/5/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         371
       5/5/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                    100
       5/5/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/5/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
       5/5/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                     8.75
       5/5/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                         8
       5/5/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       596.23
       5/5/2018    709   RC0030   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax           969.34
       5/5/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       5/5/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
       5/5/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism             2.5
       5/5/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                   52.2
       5/5/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       5/5/2018    709   RC0089   Owner Operator   Communication Charge           PNet Hware 32986                        13
       5/5/2018    709   RC0089   Owner Operator   Driver Excellence Program      CA-1716401250                          -50
       5/5/2018    709   RC0089   Owner Operator   Driver Excellence Program      CA-1773301119                          -50
       5/5/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                          500
       5/5/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
       5/5/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       503.64
       5/5/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       511.91
       5/5/2018    709   RC0089   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax            -48.4

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       5/5/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       5/5/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       5/5/2018    709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00367928 - PO System          295.35
       5/5/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       5/5/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/5/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       5/5/2018    709   RL0017   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
       5/5/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       5/5/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         609.24
       5/5/2018    709   RL0017   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              79.18
       5/5/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
       5/5/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       5/5/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       5/5/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/5/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       5/5/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/5/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/5/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.19
       5/5/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          573.7
       5/5/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.09
       5/5/2018    709   RL0062   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             229.18
       5/5/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
       5/5/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       5/5/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       5/5/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/5/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
       5/5/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.69
       5/5/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.43
       5/5/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.34
       5/5/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
       5/5/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
       5/5/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       5/5/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       5/5/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       5/5/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.7
       5/5/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.28
       5/5/2018    709   RM0026   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             124.88
       5/5/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
       5/5/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       5/5/2018    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00368993 - PO System          647.43
       5/5/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       5/5/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       5/5/2018    709   RP0082   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
       5/5/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.09
       5/5/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.55
       5/5/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
       5/5/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       5/5/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 212447 Q1202 Truck Leas        278.76
       5/5/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       5/5/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       5/5/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/5/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/5/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.27
       5/5/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.31
       5/5/2018    709   RR0123   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             160.58
       5/5/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100
       5/5/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       5/5/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       5/5/2018    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00368119 - PO System          104.42
       5/5/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 212483 Q1248                   311.97
       5/5/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       5/5/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       5/5/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       5/5/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/5/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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       5/5/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.67
       5/5/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.01
       5/5/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.09
       5/5/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.12
       5/5/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           270
       5/5/2018    709   SB0009   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             343.07
       5/5/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
       5/5/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       5/5/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       5/5/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       5/5/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       5/5/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.21
       5/5/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.55
       5/5/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.66
       5/5/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.85
       5/5/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.89
       5/5/2018    709   SB0103   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              230.2
       5/5/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                       100
       5/5/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       5/5/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       5/5/2018    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00368928 - PO System          371.04
       5/5/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 212444 Sub Lease               388.33
       5/5/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       5/5/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           532
       5/5/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.48
       5/5/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.6
       5/5/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.99
       5/5/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
       5/5/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
       5/5/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       5/5/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
       5/5/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
       5/5/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       5/5/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       5/5/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       5/5/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       5/5/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/5/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/5/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.07
       5/5/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.06
       5/5/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          219.9
       5/5/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.41
       5/5/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.29
       5/5/2018    709   SN0019   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             196.72
       5/5/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       5/5/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       5/5/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       5/5/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       5/5/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         600.07
       5/5/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         590.03
       5/5/2018    709   VB0015   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             274.13
       5/5/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                       100
       5/5/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       5/5/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 212481 Tractor Sub leas        242.03
       5/5/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       5/5/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/5/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       5/5/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       5/5/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/5/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/5/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.02
       5/5/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.53
       5/5/2018    709   VJ0006   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             154.71
       5/5/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                       100
       5/5/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       5/5/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       5/5/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       5/5/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       5/5/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       5/5/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       5/5/2018    709   WH0087   Owner Operator   Accident Claim                 04/29/18 WH0087 Spill                    865
       5/5/2018    709   WH0087   Owner Operator   Advance                        4/29/18 Clm 69038-1 s/u pmts            -865
       5/5/2018    709   WH0087   Owner Operator   Advance                        4/29/18 Clm 69038-1 s/u pmts          288.34
       5/5/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       5/5/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       5/5/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.97
       5/5/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.86
       5/5/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.38
       5/5/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.43
       5/5/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.62
       5/5/2018    709   WH0087   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              25.71
       5/5/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                        100
       5/5/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       5/5/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 212483 Q1238 Lease             311.97
       5/5/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       5/5/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       5/5/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
       5/5/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/5/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         693.88
       5/5/2018    742   AP0047   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             117.69
       5/5/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       5/5/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       5/5/2018    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                           8
       5/5/2018    742   AS0089   Owner Operator   Driver Excellence Program      CA-1680701012                            -50
       5/5/2018    742   AS0089   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             218.57
       5/5/2018    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33912                        100
       5/5/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/5/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       5/5/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         582.93
       5/5/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.95
       5/5/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         579.34
       5/5/2018    742   BS0078   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             128.67
       5/5/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                        100
       5/5/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       5/5/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       5/5/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       5/5/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       5/5/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.93
       5/5/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.09
       5/5/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                        100
       5/5/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       5/5/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       5/5/2018    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
       5/5/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       5/5/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       5/5/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.76
       5/5/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.72
       5/5/2018    742   CT0085   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              56.25
       5/5/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                       100
       5/5/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.81
       5/5/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         130.49
       5/5/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
       5/5/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       5/5/2018    742   CT0085   Owner Operator   Tire Fee                       Tire Fee: 2123681                          8
       5/5/2018    742   CT0085   Owner Operator   Tire Purchase                  PO: 742-00369708 - PO System          233.92
       5/5/2018    742   CT0085   Owner Operator   Tire Purchase                  PO: 742-00369708 - PO System           51.59
       5/5/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 212061 Sub Lease Q13171        352.68
       5/5/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/5/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       5/5/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.83
       5/5/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            375
       5/5/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            240

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       5/5/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.05
       5/5/2018    742   DA0067   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             516.59
       5/5/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                        100
       5/5/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       5/5/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/5/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       5/5/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       5/5/2018    742   DS0254   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
       5/5/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.68
       5/5/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          522.9
       5/5/2018    742   DS0254   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             145.19
       5/5/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                        100
       5/5/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       5/5/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       5/5/2018    742   DS0254   Owner Operator   Repair Order                   TRACTOR 33487                          45.73
       5/5/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 212599 Trk 33487 Lease          434.2
       5/5/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843             100
       5/5/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/5/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       5/5/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.6
       5/5/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.52
       5/5/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.01
       5/5/2018    742   EA0039   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             116.32
       5/5/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                        100
       5/5/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       5/5/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       5/5/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       5/5/2018    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
       5/5/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       5/5/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       5/5/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.97
       5/5/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.82
       5/5/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          163.5
       5/5/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          392.9
       5/5/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.16
       5/5/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.74
       5/5/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.49
       5/5/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.29
       5/5/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.91
       5/5/2018    742   ED0041   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              90.36
       5/5/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                        100
       5/5/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       5/5/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       5/5/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/5/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       5/5/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                             200
       5/5/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/5/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.84
       5/5/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.84
       5/5/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.11
       5/5/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.8
       5/5/2018    742   EN0016   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             125.57
       5/5/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
       5/5/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       5/5/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/5/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       5/5/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       5/5/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       5/5/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       5/5/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       5/5/2018    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       5/5/2018    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       5/5/2018    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       5/5/2018    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   17.5
       5/5/2018    742   LL0134   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       5/5/2018    742   LL0134   Owner Operator   ESCROW                         Final Balance Refund                   -3000

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       5/5/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
       5/5/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
       5/5/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
       5/5/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                      32.99
       5/5/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
       5/5/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         111.49
       5/5/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
       5/5/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   234.9
       5/5/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
       5/5/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
       5/5/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
       5/5/2018    742   LL0134   Owner Operator   Repair Order                   CTMS - 208467 repair                      60
       5/5/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
       5/5/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
       5/5/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
       5/5/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         103.07
       5/5/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                          35.07
       5/5/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
       5/5/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       5/5/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       5/5/2018    742   MS0230   Owner Operator   Driver Excellence Program      CA-1606900563                            -50
       5/5/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.52
       5/5/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.65
       5/5/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.28
       5/5/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.96
       5/5/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.81
       5/5/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.76
       5/5/2018    742   MS0230   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              82.27
       5/5/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                       100
       5/5/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
       5/5/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       5/5/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       5/5/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       5/5/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       5/5/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/5/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/5/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.67
       5/5/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.31
       5/5/2018    742   NG0024   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              68.31
       5/5/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                       100
       5/5/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       5/5/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       5/5/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/5/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
       5/5/2018    742   OS0018   Owner Operator   Driver Excellence Program      CA-1763501132                            -50
       5/5/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    742   OS0018   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax               714
       5/5/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
       5/5/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       5/5/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       5/5/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/5/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       5/5/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       5/5/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.25
       5/5/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.96
       5/5/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.57
       5/5/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.92
       5/5/2018    742   PC0012   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              37.76
       5/5/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
       5/5/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       5/5/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       5/5/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       5/5/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       5/5/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.32
       5/5/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.94
       5/5/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.46

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       5/5/2018    742   RN0054   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             172.55
       5/5/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
       5/5/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       5/5/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       5/5/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 212447 Tractor Lease           353.28
       5/5/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       5/5/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       5/5/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.89
       5/5/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.01
       5/5/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.29
       5/5/2018    742   RS0342   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             147.82
       5/5/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
       5/5/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       5/5/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       5/5/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
       5/5/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       5/5/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 212497 fuel                      250
       5/5/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       5/5/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
       5/5/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       5/5/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       5/5/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
       5/5/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       5/5/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       5/5/2018    742   TH0130   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/5/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.73
       5/5/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.05
       5/5/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.12
       5/5/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.08
       5/5/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.73
       5/5/2018    742   TH0130   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             165.34
       5/5/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
       5/5/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       5/5/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       5/5/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       5/5/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       5/5/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       5/5/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       5/5/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          67.84
       5/5/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.95
       5/5/2018    843   EI0003   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             187.15
       5/5/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/5/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       5/5/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       5/5/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       5/5/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      5/12/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      5/12/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      5/12/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            400
      5/12/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      5/12/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.06
      5/12/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.88
      5/12/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          348.2
      5/12/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
      5/12/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      5/12/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      5/12/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      5/12/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      5/12/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.76
      5/12/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.27
      5/12/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.73
      5/12/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
      5/12/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      5/12/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 212766 Q13147 Lease            440.14

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      5/12/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      5/12/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      5/12/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      5/12/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.31
      5/12/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.65
      5/12/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.59
      5/12/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.02
      5/12/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.07
      5/12/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100
      5/12/2018    709   AV0021   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         249.35
      5/12/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      5/12/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 212728 Q13169 Sublease         352.68
      5/12/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/12/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      5/12/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                       100
      5/12/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      5/12/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/12/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      5/12/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      5/12/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.41
      5/12/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.18
      5/12/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                      100
      5/12/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      5/12/2018    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00368680 - PO System            90.9
      5/12/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 212678 Q13168 sub lease        352.68
      5/12/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/12/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      5/12/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/12/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/12/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.21
      5/12/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      5/12/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      5/12/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/12/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      5/12/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      5/12/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      5/12/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.54
      5/12/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.93
      5/12/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.14
      5/12/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      5/12/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      5/12/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      5/12/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      5/12/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      5/12/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      5/12/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      5/12/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.37
      5/12/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                       100
      5/12/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                       100
      5/12/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      5/12/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      5/12/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 212483 Q1201                   278.76
      5/12/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 212677 Q1201                   278.76
      5/12/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/12/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      5/12/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.54
      5/12/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.43
      5/12/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.49
      5/12/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.47
      5/12/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                       100
      5/12/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         264.86
      5/12/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      5/12/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      5/12/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13

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      5/12/2018    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-19        -819.98
      5/12/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/12/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/12/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.01
      5/12/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.95
      5/12/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.75
      5/12/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.49
      5/12/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.61
      5/12/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                       100
      5/12/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      5/12/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      5/12/2018    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00367832 - PO System            198
      5/12/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 212727 Sublease                338.99
      5/12/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      5/12/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/12/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      5/12/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.47
      5/12/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         721.77
      5/12/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      5/12/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      5/12/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      5/12/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      5/12/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      5/12/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         571.03
      5/12/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                       100
      5/12/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      5/12/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/12/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      5/12/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/12/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/12/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/12/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/12/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/12/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.36
      5/12/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         618.44
      5/12/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      5/12/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      5/12/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      5/12/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    -35
      5/12/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                          187.17
      5/12/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/12/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          57.25
      5/12/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 -367.67
      5/12/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      5/12/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      5/12/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.35
      5/12/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.95
      5/12/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.69
      5/12/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                       100
      5/12/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      5/12/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      5/12/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      5/12/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      5/12/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.59
      5/12/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.15
      5/12/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.87
      5/12/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.5
      5/12/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
      5/12/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      5/12/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      5/12/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      5/12/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      5/12/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.17
      5/12/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.54
      5/12/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.58
      5/12/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
      5/12/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/12/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      5/12/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 212778 truck lease 3304        434.29
      5/12/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/12/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      5/12/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.37
      5/12/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
      5/12/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      5/12/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      5/12/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      5/12/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.44
      5/12/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          66.19
      5/12/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.04
      5/12/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
      5/12/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      5/12/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 212676 Lease                   252.11
      5/12/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      5/12/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      5/12/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/12/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/12/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.04
      5/12/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.42
      5/12/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.48
      5/12/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.57
      5/12/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
      5/12/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      5/12/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 212772 Q1109 Lease             302.85
      5/12/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      5/12/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      5/12/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.22
      5/12/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.14
      5/12/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
      5/12/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      5/12/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 212672 Q13170                  352.68
      5/12/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      5/12/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      5/12/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/12/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/12/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         601.83
      5/12/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.86
      5/12/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100
      5/12/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      5/12/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/12/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      5/12/2018    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/12/2018    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/12/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.62
      5/12/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.95
      5/12/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.51
      5/12/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          580.3
      5/12/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                       100
      5/12/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      5/12/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      5/12/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/12/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      5/12/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.52
      5/12/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.19
      5/12/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      5/12/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      5/12/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/12/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      5/12/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/12/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      5/12/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.09

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      5/12/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                        205
      5/12/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/12/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                27.35
      5/12/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                 13.98
      5/12/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                 13.98
      5/12/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL            8.75
      5/12/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                      13
      5/12/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                      13
      5/12/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                        400
      5/12/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                        400
      5/12/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         100
      5/12/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         200
      5/12/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                         200
      5/12/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/12/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/12/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      5/12/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      503.13
      5/12/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      249.67
      5/12/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      297.11
      5/12/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      292.89
      5/12/2018    709   JC0292   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax           68.58
      5/12/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                   100
      5/12/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/12/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD            42.19
      5/12/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                      458.72
      5/12/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 212516 Q13197 Lease         276.63
      5/12/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 212726 Q13197 Lease         276.63
      5/12/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/12/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                       13
      5/12/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                        500
      5/12/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                         300
      5/12/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
      5/12/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      275.98
      5/12/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      687.37
      5/12/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                   33.64
      5/12/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/12/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                90.86
      5/12/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                       504.6
      5/12/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/12/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                       13
      5/12/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         500
      5/12/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      5/12/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.6
      5/12/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      123.25
      5/12/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      513.73
      5/12/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                   33.64
      5/12/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/12/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                74.22
      5/12/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                      513.26
      5/12/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
      5/12/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                        8
      5/12/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                         200
      5/12/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/12/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                      404.12
      5/12/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                      415.04
      5/12/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                    100
      5/12/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/12/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   35.16
      5/12/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                8.75
      5/12/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                       13
      5/12/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                         100
      5/12/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      5/12/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      200.58
      5/12/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.9
      5/12/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                    100
      5/12/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/12/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                19.54
      5/12/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL          8.75
      5/12/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                       13
      5/12/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                      414.81
      5/12/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                    100
      5/12/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/12/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.6

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      5/12/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 212645 Truck Lease             278.76
      5/12/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      5/12/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      5/12/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      5/12/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/12/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.28
      5/12/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.32
      5/12/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          518.3
      5/12/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                       100
      5/12/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      5/12/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      5/12/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      5/12/2018    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00368994 - PO System          177.82
      5/12/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/12/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      5/12/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/12/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      5/12/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/12/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/12/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/12/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/12/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/12/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/12/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      5/12/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.05
      5/12/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.15
      5/12/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.59
      5/12/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.42
      5/12/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           315
      5/12/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           313
      5/12/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      5/12/2018    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         265.33
      5/12/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      5/12/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/12/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      5/12/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      5/12/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      5/12/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                       100
      5/12/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      5/12/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 212635 Lease Q1111             252.11
      5/12/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      5/12/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      5/12/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.96
      5/12/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                       100
      5/12/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      5/12/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      5/12/2018    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00369828 - PO System          744.66
      5/12/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/12/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      5/12/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.99
      5/12/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.87
      5/12/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.07
      5/12/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                       100
      5/12/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      5/12/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      5/12/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      5/12/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.41
      5/12/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.69
      5/12/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.63
      5/12/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.35
      5/12/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                       100
      5/12/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      5/12/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 212672 Q1113 Lease             252.11
      5/12/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/12/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      5/12/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.24
      5/12/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.14

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      5/12/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                       131.03
      5/12/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          250
      5/12/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                      100
      5/12/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/12/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        35.16
      5/12/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      5/12/2018    709   MM0093   Owner Operator   *Arrears Collection W/O        WO:Mar 2018 Fuel/Mileage Tax          -0.01
      5/12/2018    709   MM0093   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              0.01
      5/12/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/12/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      5/12/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          700
      5/12/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           280
      5/12/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.8
      5/12/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       713.56
      5/12/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                    33.64
      5/12/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/12/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    71.88
      5/12/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      5/12/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                       323.05
      5/12/2018    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                    -3000
      5/12/2018    709   NB0029   Owner Operator   Express Check                  T-Check Payment                       3000
      5/12/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                            62
      5/12/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      5/12/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      5/12/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           300
      5/12/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      5/12/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.43
      5/12/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       124.71
      5/12/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.65
      5/12/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                     100
      5/12/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/12/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD              32.98
      5/12/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                      8.75
      5/12/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                          8
      5/12/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                       514.48
      5/12/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/12/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                    135.16
      5/12/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism              2.5
      5/12/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.2
      5/12/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/12/2018    709   RC0089   Owner Operator   Communication Charge           PNet Hware 32986                         13
      5/12/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                           500
      5/12/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      5/12/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       516.21
      5/12/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                       531.83
      5/12/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                    33.64
      5/12/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/12/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                103.07
      5/12/2018    709   RC0089   Owner Operator   Tire Purchase                  PO: 709-00367928 - PO System        295.32
      5/12/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                       504.72
      5/12/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/12/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                         13
      5/12/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                          100
      5/12/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       176.26
      5/12/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       535.49
      5/12/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                    33.64
      5/12/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/12/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 77.22
      5/12/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                       529.05
      5/12/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/12/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                         13
      5/12/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/12/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/12/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/12/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/12/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       227.84
      5/12/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                       531.34
      5/12/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                    33.64
      5/12/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/12/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.15
      5/12/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                       512.16
      5/12/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
      5/12/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                          8

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      5/12/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.24
      5/12/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.05
      5/12/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.44
      5/12/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
      5/12/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      5/12/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      5/12/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      5/12/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      5/12/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.43
      5/12/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.04
      5/12/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.91
      5/12/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
      5/12/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      5/12/2018    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00368993 - PO System          647.43
      5/12/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      5/12/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      5/12/2018    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              60
      5/12/2018    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      5/12/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.89
      5/12/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.15
      5/12/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
      5/12/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      5/12/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 212645 Q1202 Truck Leas        278.76
      5/12/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      5/12/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      5/12/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/12/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/12/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.03
      5/12/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         581.04
      5/12/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.66
      5/12/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100
      5/12/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      5/12/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      5/12/2018    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00368119 - PO System          104.42
      5/12/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 212677 Q1248                   311.97
      5/12/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      5/12/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      5/12/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/12/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/12/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/12/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.27
      5/12/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.31
      5/12/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.45
      5/12/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.18
      5/12/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.45
      5/12/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      5/12/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      5/12/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      5/12/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      5/12/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      5/12/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.51
      5/12/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.79
      5/12/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.97
      5/12/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.54
      5/12/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                       100
      5/12/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      5/12/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      5/12/2018    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00368928 - PO System          371.04
      5/12/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 212642 Sub Lease               388.33
      5/12/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      5/12/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           514
      5/12/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           284
      5/12/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           548
      5/12/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64

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      5/12/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   SM0109   Owner Operator   Permits                        IL02:2018 - 33195                       3.75
      5/12/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      5/12/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      5/12/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      5/12/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      5/12/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      5/12/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             300
      5/12/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/12/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          192.6
      5/12/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.42
      5/12/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.34
      5/12/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.19
      5/12/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.94
      5/12/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      5/12/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      5/12/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      5/12/2018    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/12/2018    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/12/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            405
      5/12/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            430
      5/12/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                        100
      5/12/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      5/12/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 212676 Tractor Sub leas        242.03
      5/12/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/12/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      5/12/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-19           -450
      5/12/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-19            -30
      5/12/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      5/12/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      5/12/2018    709   WH0087   Owner Operator   Advance                        4/29/18 Clm 69038-1 s/u pmts          288.34
      5/12/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.2
      5/12/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.92
      5/12/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.51
      5/12/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      5/12/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      5/12/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/12/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/12/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/12/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/12/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.93
      5/12/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.44
      5/12/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      5/12/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      5/12/2018    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33912                      71.25
      5/12/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      5/12/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      5/12/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.46
      5/12/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          466.1
      5/12/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         627.16
      5/12/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                        100
      5/12/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      5/12/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      5/12/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      5/12/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.66
      5/12/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.47
      5/12/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.34
      5/12/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                       100
      5/12/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.81
      5/12/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      5/12/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      5/12/2018    742   CT0085   Owner Operator   Tire Purchase                  PO: 742-00369708 - PO System          233.92
      5/12/2018    742   CT0085   Owner Operator   Tire Purchase                  PO: 742-00369708 - PO System          182.33
      5/12/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 212297 Sub Lease Q13171        352.68
      5/12/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 212515 Sub Lease Q13171        352.68
      5/12/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 212724 Sub Lease Q13171        352.68
      5/12/2018    742   DA0067   Owner Operator   Fuel Card Advances             Cash Advance                              33

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      5/12/2018    742   DA0067   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.33
      5/12/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           145
      5/12/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          171.7
      5/12/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      5/12/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          219.2
      5/12/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      5/12/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      5/12/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/12/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/12/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.82
      5/12/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.42
      5/12/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.51
      5/12/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
      5/12/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      5/12/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      5/12/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 212822 Trk 33487 Lease          434.2
      5/12/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      5/12/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/12/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      5/12/2018    742   EA0039   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.63
      5/12/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.34
      5/12/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                       100
      5/12/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      5/12/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/12/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      5/12/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      5/12/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.63
      5/12/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.83
      5/12/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           3.88
      5/12/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.07
      5/12/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.54
      5/12/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.56
      5/12/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
      5/12/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      5/12/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      5/12/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/12/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      5/12/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.87
      5/12/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.71
      5/12/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.83
      5/12/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      5/12/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      5/12/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/12/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      5/12/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      5/12/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      5/12/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      5/12/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:16634 - 33195                    -277.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:16634 - 33195                    -277.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:16634 - 33195                    -277.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:16634 - 33195                    -269.33
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:16634 - 33195                    -277.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:16634 - 33195                    -277.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:16634 - 33195                    -277.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:16634 - 33195                    -277.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:16634 - 33195                    -259.71
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:16634 - 33195                    -277.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:16634 - 33195                    -277.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:16634 - 33195                    -277.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:16634 - 33195                    -277.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:16634 - 33195                    -277.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:LCIL:2017 - 33195                 -16.49
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:LCIL:2017 - 33195                 -16.49
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:LCIL:2017 - 33195                 -16.49
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:LCIL:2017 - 33195                 -16.49
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O        LWO:LCIL:2017 - 33195                 -16.49

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      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:LCIL:2017 - 33195                 -16.49
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:LCIL:2017 - 33195                 -16.49
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:LCIL:2017 - 33195                 -16.49
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:LCIL:2017 - 33195                 -16.49
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:LCIL:2017 - 33195                 -16.49
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:LCIL:2017 - 33195                 -16.49
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:LCIL:2017 - 33195                 -16.49
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:LCIL:2017 - 33195                 -16.49
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:PO: 742-00340731 - PO Syst       -191.13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:PO: 742-00340731 - PO Syst       -191.13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:PO: 742-00340731 - PO Syst         -24.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:PO: 742-00348120 - PO Syst        -98.87
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:PO: 742-00348120 - PO Syst        -98.87
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:PO: 742-00354272 - PO Syst        -94.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:PO: 742-00354272 - PO Syst        -94.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:PO: 742-00354272 - PO Syst        -94.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:PO: 742-00354272 - PO Syst        -94.25
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   LWO:PO: 742-00354272 - PO Syst        -94.23
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:16634 - 33195                     -277.24
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:16634 - 33195                     -277.24
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:16634 - 33195                     -259.71
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:16634 - 33195                     -277.24
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:16634 - 33195                     -277.24
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:16634 - 33195                     -277.24
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:16634 - 33195                     -277.24
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:16634 - 33195                     -277.24
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:16634 - 33195                     -277.24
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:16634 - 33195                     -277.24
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:16634 - 33195                     -269.34
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:16634 - 33195                     -277.24
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:16634 - 33195                     -277.24
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:16634 - 33195                     -277.24
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner NTL               -8.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner NTL               -8.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner NTL               -8.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner NTL               -8.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner NTL               -8.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner NTL               -8.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner NTL               -8.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner NTL               -8.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner NTL               -8.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner NTL               -8.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner NTL               -8.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner PD              -117.45
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner PD              -117.45
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner PD              -117.45
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner PD              -117.45
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner PD              -117.45
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner PD              -117.45
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner PD              -117.45
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner PD              -117.45
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner PD              -117.45
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner PD              -117.45
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:2015 Freightliner PD              -117.45
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Cash Advance                         -200
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Cash Advance                         -200
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Cash Advance                         -200
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Cash Advance                         -200
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Cash Advance Fee                       -2
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Cash Advance Fee                       -2
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Cash Advance Fee                       -2
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Cash Advance Fee                       -2
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Fuel Purchase                     -431.44
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Fuel Purchase                     -368.92
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Fuel Purchase                      -373.4
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Fuel Purchase                     -394.73
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:ID06:2018 - 33195                     -11
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:IL02:2018 - 33195                   -3.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:LCIL:2017 - 33195                   -16.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:LCIL:2017 - 33195                   -16.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:LCIL:2017 - 33195                   -16.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:LCIL:2017 - 33195                   -16.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:LCIL:2017 - 33195                   -16.5

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      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:LCIL:2017 - 33195                 -16.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:LCIL:2017 - 33195                 -16.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:LCIL:2017 - 33195                 -16.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:LCIL:2017 - 33195                 -16.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:LCIL:2017 - 33195                 -16.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:LCIL:2017 - 33195                 -16.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:LCIL:2017 - 33195                 -16.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:LCIL:2017 - 33195                 -16.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Mar 2018 Fuel/Mileage Tax       -210.57
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:NM07:2018 - 33195                  -5.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:OR16:2018 - 33195                  -8.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                    -13

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      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                      -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                      -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                      -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PNet Hware 33195                      -13
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PO: 742-00340731 - PO Syste       -191.12
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PO: 742-00340731 - PO Syste         -24.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PO: 742-00340731 - PO Syste       -191.12
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PO: 742-00348120 - PO Syste        -98.86
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PO: 742-00348120 - PO Syste        -98.86
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PO: 742-00354272 - PO Syste        -94.26
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PO: 742-00354272 - PO Syste        -94.26
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PO: 742-00354272 - PO Syste        -94.26
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PO: 742-00354272 - PO Syste        -94.26
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:PO: 742-00354272 - PO Syste        -94.24
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:OCAC-Sfty Pr                       -55.74
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:OCAC-Sfty Pr                        -47.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:OCAC-Sfty Pr                       -55.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:OCAC-Sfty Pr                        -47.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:OCAC-Sfty Pr                       -55.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:OCAC-Sfty Pr                        -47.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:OCAC-Sfty Pr                       -55.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:OCAC-Sfty Pr                        -47.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:OCAC-Sfty Pr                       -55.75
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:OCAC-Sfty Pr                        -47.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:OCAC-Sfty Pr                       -39.28
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:OCAC-Sfty Pr                        -47.5
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Tire Fee: 1952159                     -16
      5/12/2018    742   LL0134   Owner Operator   *Arrears Collection W/O   WO:Tire Fee: 2031444                      -8
      5/12/2018    742   LL0134   Owner Operator   BOBTAIL INS.              2015 Freightliner NTL                   8.75
      5/12/2018    742   LL0134   Owner Operator   BOBTAIL INS.              2015 Freightliner NTL                   8.75
      5/12/2018    742   LL0134   Owner Operator   BOBTAIL INS.              2015 Freightliner NTL                   8.75
      5/12/2018    742   LL0134   Owner Operator   BOBTAIL INS.              2015 Freightliner NTL                   8.75
      5/12/2018    742   LL0134   Owner Operator   BOBTAIL INS.              2015 Freightliner NTL                   8.75
      5/12/2018    742   LL0134   Owner Operator   BOBTAIL INS.              2015 Freightliner NTL                   8.75
      5/12/2018    742   LL0134   Owner Operator   BOBTAIL INS.              2015 Freightliner NTL                   8.75
      5/12/2018    742   LL0134   Owner Operator   BOBTAIL INS.              2015 Freightliner NTL                   8.75
      5/12/2018    742   LL0134   Owner Operator   BOBTAIL INS.              2015 Freightliner NTL                   8.75
      5/12/2018    742   LL0134   Owner Operator   BOBTAIL INS.              2015 Freightliner NTL                   8.75
      5/12/2018    742   LL0134   Owner Operator   BOBTAIL INS.              2015 Freightliner NTL                   8.75
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge      PNet Hware 33195                          13

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      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Communication Charge           PNet Hware 33195                     13
      5/12/2018    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                       200
      5/12/2018    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                       200
      5/12/2018    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                       200
      5/12/2018    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance                       200
      5/12/2018    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      5/12/2018    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      5/12/2018    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      5/12/2018    742   LL0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                      2
      5/12/2018    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                    368.92
      5/12/2018    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                    431.44
      5/12/2018    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                    394.73
      5/12/2018    742   LL0134   Owner Operator   Fuel Purchase                  Fuel Purchase                     373.4
      5/12/2018    742   LL0134   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax        210.57
      5/12/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                 32.99
      5/12/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                 32.99
      5/12/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                 32.99
      5/12/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                 32.99
      5/12/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                 32.99
      5/12/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                 32.99
      5/12/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                 32.99
      5/12/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                 32.99
      5/12/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                 32.99
      5/12/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                 32.99
      5/12/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                 32.99
      5/12/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                 32.99
      5/12/2018    742   LL0134   Owner Operator   IRP License Deduction          LCIL:2017 - 33195                 32.99
      5/12/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     55.75
      5/12/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      5/12/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     39.28
      5/12/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     55.75
      5/12/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      5/12/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     55.75
      5/12/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      5/12/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     55.74
      5/12/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      5/12/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                     55.75
      5/12/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      5/12/2018    742   LL0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.5
      5/12/2018    742   LL0134   Owner Operator   Permits                        ID06:2018 - 33195                    11
      5/12/2018    742   LL0134   Owner Operator   Permits                        IL02:2018 - 33195                  3.75
      5/12/2018    742   LL0134   Owner Operator   Permits                        NM07:2018 - 33195                   5.5

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      5/12/2018    742   LL0134   Owner Operator   Permits                        OR16:2018 - 33195                        8.5
      5/12/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/12/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/12/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/12/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/12/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/12/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/12/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/12/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/12/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/12/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/12/2018    742   LL0134   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  117.45
      5/12/2018    742   LL0134   Owner Operator   Tire Fee                       Tire Fee: 1952159                         16
      5/12/2018    742   LL0134   Owner Operator   Tire Fee                       Tire Fee: 2031444                          8
      5/12/2018    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00340731 - PO System          382.25
      5/12/2018    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00340731 - PO System          382.25
      5/12/2018    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00340731 - PO System              49
      5/12/2018    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00348120 - PO System          197.73
      5/12/2018    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00348120 - PO System          197.73
      5/12/2018    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00354272 - PO System          188.51
      5/12/2018    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00354272 - PO System          188.51
      5/12/2018    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00354272 - PO System          188.51
      5/12/2018    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00354272 - PO System          188.51
      5/12/2018    742   LL0134   Owner Operator   Tire Purchase                  PO: 742-00354272 - PO System          188.47
      5/12/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/12/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/12/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         519.42
      5/12/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/12/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         538.67
      5/12/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/12/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/12/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/12/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/12/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/12/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/12/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/12/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/12/2018    742   LL0134   Owner Operator   Tractor Charge                 16634 - 33195                         554.49
      5/12/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/12/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/12/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      5/12/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      5/12/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                       100
      5/12/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                       100
      5/12/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      5/12/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      5/12/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/12/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/12/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      5/12/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      5/12/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      5/12/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.44
      5/12/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.57
      5/12/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.14
      5/12/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.66
      5/12/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                       100
      5/12/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      5/12/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      5/12/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      5/12/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      5/12/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      5/12/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/12/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/12/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.13
      5/12/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.73
      5/12/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.03
      5/12/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.84

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      5/12/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                       100
      5/12/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      5/12/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      5/12/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/12/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      5/12/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      5/12/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      5/12/2018    742   RF0136   Owner Operator   Advance                        3/26/18 Spill Clm 68591-1               250
      5/12/2018    742   RF0136   Owner Operator   Advance                        3/26/18 Spill Clm 68591-1               250
      5/12/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      5/12/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      5/12/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.34
      5/12/2018    742   RF0136   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax              71.59
      5/12/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                       100
      5/12/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   RF0136   Owner Operator   Permits                        NY13:2018 - 34182                        1.5
      5/12/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      5/12/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      5/12/2018    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                        8.99
      5/12/2018    742   RF0136   Owner Operator   T Chek Fee                     Tractor Repair 34182                  278.38
      5/12/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      5/12/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      5/12/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.3
      5/12/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.72
      5/12/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.24
      5/12/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.01
      5/12/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.23
      5/12/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          172.5
      5/12/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
      5/12/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      5/12/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      5/12/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 212645 Tractor Lease           353.28
      5/12/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      5/12/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      5/12/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/12/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.02
      5/12/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.53
      5/12/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.03
      5/12/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
      5/12/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      5/12/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      5/12/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      5/12/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/12/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 212749 fuel                      250
      5/12/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      5/12/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      5/12/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      5/12/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      5/12/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      5/12/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/12/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      5/12/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.05
      5/12/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.13
      5/12/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.03
      5/12/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.52
      5/12/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
      5/12/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/12/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      5/12/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/12/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      5/12/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      5/12/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         661.96
      5/12/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.27
      5/12/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           44.3
      5/12/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         625.86
      5/12/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/12/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      5/12/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      5/19/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      5/19/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      5/19/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/19/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            400
      5/19/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      5/19/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.55
      5/19/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
      5/19/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      5/19/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      5/19/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      5/19/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      5/19/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          253.1
      5/19/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.99
      5/19/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.09
      5/19/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.99
      5/19/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
      5/19/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      5/19/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 213018 Q13147 Lease            440.14
      5/19/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      5/19/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      5/19/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      5/19/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/19/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/19/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.79
      5/19/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.02
      5/19/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.51
      5/19/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.01
      5/19/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.01
      5/19/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100
      5/19/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      5/19/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 212975 Q13169 Sublease         352.68
      5/19/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/19/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      5/19/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/19/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                       100
      5/19/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      5/19/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/19/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      5/19/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      5/19/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           557
      5/19/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.58
      5/19/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         615.29
      5/19/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                      100
      5/19/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      5/19/2018    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00368680 - PO System           90.85
      5/19/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 212927 Q13168 sub lease        352.68
      5/19/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/19/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      5/19/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/19/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/19/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.35
      5/19/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         617.44
      5/19/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      5/19/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      5/19/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/19/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      5/19/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      5/19/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      5/19/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.49
      5/19/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.76
      5/19/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.54
      5/19/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.78
      5/19/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      5/19/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07

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      5/19/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
      5/19/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      5/19/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      5/19/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          508.3
      5/19/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                       100
      5/19/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      5/19/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 212926 Q1201                   278.76
      5/19/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/19/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      5/19/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.02
      5/19/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.11
      5/19/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.58
      5/19/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                       100
      5/19/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         264.86
      5/19/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      5/19/2018    709   DL0029   Owner Operator   Repair Order                   CTMS - 212944 Repair                  531.08
      5/19/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      5/19/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      5/19/2018    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-12          819.98
      5/19/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.87
      5/19/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.84
      5/19/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.76
      5/19/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                       100
      5/19/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      5/19/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      5/19/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 212943 Truck rental              300
      5/19/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 212974 Sublease                338.99
      5/19/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      5/19/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/19/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      5/19/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/19/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/19/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         607.29
      5/19/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      5/19/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      5/19/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      5/19/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      5/19/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      5/19/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          600.4
      5/19/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.72
      5/19/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                       100
      5/19/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      5/19/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      5/19/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      5/19/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.38
      5/19/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.41
      5/19/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.81
      5/19/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          598.3
      5/19/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                       100
      5/19/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      5/19/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      5/19/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      5/19/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      5/19/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.11
      5/19/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.62
      5/19/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.88
      5/19/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.39
      5/19/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.88
      5/19/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
      5/19/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      5/19/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      5/19/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      5/19/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      5/19/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.79
      5/19/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.03
      5/19/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.64

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      5/19/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
      5/19/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      5/19/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 213030 truck lease 3304        434.29
      5/19/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/19/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      5/19/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.88
      5/19/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.13
      5/19/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
      5/19/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      5/19/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      5/19/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      5/19/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.09
      5/19/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.42
      5/19/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
      5/19/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      5/19/2018    709   GS0015   Owner Operator   Tire Fee                       Tire Fee: 2130448                          4
      5/19/2018    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00336959 - PO System           18.27
      5/19/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 212925 Lease                   252.11
      5/19/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      5/19/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      5/19/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/19/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.73
      5/19/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.49
      5/19/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.42
      5/19/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
      5/19/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      5/19/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 213023 Q1109 Lease             302.85
      5/19/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.25
      5/19/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      5/19/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      5/19/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/19/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/19/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/19/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.18
      5/19/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100
      5/19/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      5/19/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/19/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      5/19/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.78
      5/19/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.04
      5/19/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.23
      5/19/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                       100
      5/19/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      5/19/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      5/19/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/19/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      5/19/2018    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-26         -41.25
      5/19/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.41
      5/19/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.59
      5/19/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.04
      5/19/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      5/19/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      5/19/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/19/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      5/19/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/19/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      5/19/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/19/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.96
      5/19/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      5/19/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      5/19/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      5/19/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      5/19/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      5/19/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/19/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      5/19/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/19/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/19/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/19/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      5/19/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      432.08
      5/19/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      236.36
      5/19/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      250.22
      5/19/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                      606.15
      5/19/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                    100
      5/19/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD            42.19
      5/19/2018    709   JC0292   Owner Operator   Repair Order                   CTMS - 212942 Repair                   70
      5/19/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                      458.72
      5/19/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 212973 Q13197 Lease         276.63
      5/19/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/19/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                       13
      5/19/2018    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                   -2000
      5/19/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      5/19/2018    709   JG0017   Owner Operator   Express Check                  T-Check Payment                      2000
      5/19/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      5/19/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                        3
      5/19/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       327.8
      5/19/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      662.16
      5/19/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      351.71
      5/19/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                   33.64
      5/19/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                90.86
      5/19/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                       504.6
      5/19/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/19/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                       13
      5/19/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           20
      5/19/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          440
      5/19/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           40
      5/19/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.4
      5/19/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      4.4
      5/19/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.2
      5/19/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      558.42
      5/19/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      260.36
      5/19/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      405.15
      5/19/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      140.24
      5/19/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                   33.64
      5/19/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                74.22
      5/19/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                      513.26
      5/19/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
      5/19/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                        8
      5/19/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          100
      5/19/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      5/19/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                      499.13
      5/19/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       192.3
      5/19/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                     100
      5/19/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   35.16
      5/19/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                8.75
      5/19/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                       13
      5/19/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      205.69
      5/19/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                     100
      5/19/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                19.54
      5/19/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL          8.75
      5/19/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                       13
      5/19/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                      513.05
      5/19/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                     100
      5/19/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.6
      5/19/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 212887 Truck Lease          278.76
      5/19/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                 8.75
      5/19/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                    8.75
      5/19/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                       13
      5/19/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      5/19/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      5/19/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/19/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       551.7

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      5/19/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.33
      5/19/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.14
      5/19/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         571.54
      5/19/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                       100
      5/19/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      5/19/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      5/19/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      5/19/2018    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00368994 - PO System          177.77
      5/19/2018    709   JS0265   Owner Operator   Truck Payment                  CTMS - 212943 Truck rental              400
      5/19/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/19/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      5/19/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/19/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/19/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/19/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/19/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/19/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.48
      5/19/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           245
      5/19/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         676.02
      5/19/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.03
      5/19/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      5/19/2018    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         265.33
      5/19/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      5/19/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/19/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      5/19/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      5/19/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      5/19/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                       100
      5/19/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      5/19/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 212876 Lease Q1111             252.11
      5/19/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      5/19/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      5/19/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/19/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/19/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         788.45
      5/19/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.19
      5/19/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                       100
      5/19/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      5/19/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      5/19/2018    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00369828 - PO System          744.66
      5/19/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/19/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      5/19/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/19/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.24
      5/19/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.12
      5/19/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.24
      5/19/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.52
      5/19/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                       100
      5/19/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      5/19/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      5/19/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      5/19/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          268.2
      5/19/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.57
      5/19/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.78
      5/19/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.82
      5/19/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.79
      5/19/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                       100
      5/19/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      5/19/2018    709   ME0053   Owner Operator   Repair Order                   CTMS - 212943 Truck rental              500
      5/19/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 212921 Q1113 Lease             252.11
      5/19/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/19/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      5/19/2018    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-26         -78.12
      5/19/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             15
      5/19/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.82
      5/19/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.12
      5/19/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
      5/19/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                       100

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      5/19/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                       35.16
      5/19/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism               2.5
      5/19/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
      5/19/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                       13
      5/19/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                        700
      5/19/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           50
      5/19/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                      0.5
      5/19/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.8
      5/19/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                   33.64
      5/19/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   71.88
      5/19/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
      5/19/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                      323.05
      5/19/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                      309.93
      5/19/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL             8.75
      5/19/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                      13
      5/19/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                         200
      5/19/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/19/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      380.36
      5/19/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                      247.22
      5/19/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                   100
      5/19/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD             32.98
      5/19/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL          8.75
      5/19/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL          8.75
      5/19/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL          8.75
      5/19/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                       13
      5/19/2018    709   NT9564   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax          197.92
      5/19/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                    100
      5/19/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                    100
      5/19/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                    100
      5/19/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD          30.47
      5/19/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD          30.47
      5/19/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD          30.47
      5/19/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                    8.75
      5/19/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                        8
      5/19/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                   135.16
      5/19/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism            2.5
      5/19/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                  52.2
      5/19/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/19/2018    709   RC0089   Owner Operator   Communication Charge           PNet Hware 32986                       13
      5/19/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                         500
      5/19/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      5/19/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                      341.42
      5/19/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                   33.64
      5/19/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               103.07
      5/19/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                      504.72
      5/19/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/19/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                       13
      5/19/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                        100
      5/19/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                   33.64
      5/19/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                77.22
      5/19/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                      529.05
      5/19/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/19/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                       13
      5/19/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
      5/19/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                         100
      5/19/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      5/19/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      5/19/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      542.25
      5/19/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                      600.74
      5/19/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                   33.64
      5/19/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/19/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.15
      5/19/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                      512.16
      5/19/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                8.75

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      5/19/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      5/19/2018    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-26            -93
      5/19/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/19/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.78
      5/19/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.79
      5/19/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
      5/19/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      5/19/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      5/19/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      5/19/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      5/19/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.16
      5/19/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.09
      5/19/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.72
      5/19/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
      5/19/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      5/19/2018    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00368993 - PO System           647.4
      5/19/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      5/19/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      5/19/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.73
      5/19/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.35
      5/19/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
      5/19/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      5/19/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 212887 Q1202 Truck Leas        278.76
      5/19/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      5/19/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/19/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/19/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          560.8
      5/19/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100
      5/19/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      5/19/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      5/19/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 212926 Q1248                   195.82
      5/19/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      5/19/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      5/19/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/19/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/19/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/19/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.09
      5/19/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          449.8
      5/19/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.07
      5/19/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      5/19/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      5/19/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      5/19/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      5/19/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      5/19/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/19/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.86
      5/19/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.09
      5/19/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.74
      5/19/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.39
      5/19/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.02
      5/19/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                       100
      5/19/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      5/19/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      5/19/2018    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00368928 - PO System            371
      5/19/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 212884 Sub Lease               388.33
      5/19/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 212943 Truck rental              350
      5/19/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      5/19/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/19/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         603.18
      5/19/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.53
      5/19/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.59
      5/19/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      5/19/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      5/19/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      5/19/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      5/19/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75

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      5/19/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      5/19/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
      5/19/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      5/19/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      5/19/2018    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-26          -61.38
      5/19/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          306.93
      5/19/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          553.99
      5/19/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                        100
      5/19/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
      5/19/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 212925 Tractor Sub leas         242.03
      5/19/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    154.84
      5/19/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    154.84
      5/19/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      5/19/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      5/19/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      5/19/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      5/19/2018    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                    -2767.25
      5/19/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      5/19/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      5/19/2018    709   VJ0006   Owner Operator   Express Check                  T-Check Payment                       2767.25
      5/19/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/19/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/19/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/19/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/19/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.31
      5/19/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.64
      5/19/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.34
      5/19/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.95
      5/19/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          152.09
      5/19/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          286.59
      5/19/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.97
      5/19/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.85
      5/19/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           71.85
      5/19/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                        100
      5/19/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                        100
      5/19/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.54
      5/19/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.54
      5/19/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      5/19/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      5/19/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-12             450
      5/19/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-12               30
      5/19/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
      5/19/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      5/19/2018    709   WH0087   Owner Operator   Advance                        4/29/18 Clm 69038-1 s/u pmts           288.32
      5/19/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      5/19/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      5/19/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      5/19/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      5/19/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                               60
      5/19/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.6
      5/19/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          171.99
      5/19/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          130.86
      5/19/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           33.56
      5/19/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.43
      5/19/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          366.32
      5/19/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          217.31
      5/19/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          467.66
      5/19/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.67
      5/19/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                        100
      5/19/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                        100
      5/19/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 60.47
      5/19/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 60.47
      5/19/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 212678 Q1238 Lease              311.97
      5/19/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 212927 Q1238 Lease              311.97
      5/19/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                     8.75
      5/19/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                           13

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      5/19/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/19/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/19/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/19/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/19/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/19/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/19/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          392.38
      5/19/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           232.9
      5/19/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           405.1
      5/19/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          531.93
      5/19/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                     52.35
      5/19/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism             2.5
      5/19/2018    742   AS0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-26        -2412.99
      5/19/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      5/19/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      5/19/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                           13
      5/19/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                           13
      5/19/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          143.43
      5/19/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           181.3
      5/19/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          611.48
      5/19/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.15
      5/19/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          520.16
      5/19/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.89
      5/19/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                        100
      5/19/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                        100
      5/19/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    60.55
      5/19/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    60.55
      5/19/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
      5/19/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
      5/19/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                       8.75
      5/19/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                           13
      5/19/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.96
      5/19/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           351.8
      5/19/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          560.98
      5/19/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          327.77
      5/19/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                        100
      5/19/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                       70.32
      5/19/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL             8.75
      5/19/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                           8
      5/19/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          485.02
      5/19/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                            391
      5/19/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.99
      5/19/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.82
      5/19/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          402.47
      5/19/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                       100
      5/19/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          254.81
      5/19/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD             42.19
      5/19/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te            2.5
      5/19/2018    742   CT0085   Owner Operator   Tire Purchase                  PO: 742-00369708 - PO System           233.92
      5/19/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/19/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/19/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                           13
      5/19/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                           13
      5/19/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.73
      5/19/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           95.82
      5/19/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            285
      5/19/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.07
      5/19/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            28.5
      5/19/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.58
      5/19/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                        100
      5/19/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                        100
      5/19/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    70.32
      5/19/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    70.32
      5/19/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      5/19/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      5/19/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                         8.56

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      5/19/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      5/19/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      5/19/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/19/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/19/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         658.51
      5/19/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.04
      5/19/2018    742   DC0117   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax             109.28
      5/19/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100
      5/19/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100
      5/19/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100
      5/19/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      5/19/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      5/19/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/19/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.77
      5/19/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.78
      5/19/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.43
      5/19/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
      5/19/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      5/19/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      5/19/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      5/19/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/19/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      5/19/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          678.6
      5/19/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         595.32
      5/19/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                       100
      5/19/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      5/19/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/19/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      5/19/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      5/19/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.25
      5/19/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
      5/19/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      5/19/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      5/19/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/19/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      5/19/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/19/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/19/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.45
      5/19/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.72
      5/19/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.62
      5/19/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      5/19/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      5/19/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/19/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      5/19/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      5/19/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      5/19/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      5/19/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      5/19/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/19/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      5/19/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/19/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                       100
      5/19/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      5/19/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/19/2018    742   MH0117   Owner Operator   Repair Order                   CTMS - 213108 repair                 -129.24
      5/19/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      5/19/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      5/19/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      5/19/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/19/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.59
      5/19/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.37
      5/19/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.24
      5/19/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.61
      5/19/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                       100
      5/19/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      5/19/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/19/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      5/19/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5

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      5/19/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          501.37
      5/19/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.06
      5/19/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      5/19/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                           13
      5/19/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/19/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    31.25
      5/19/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism            2.5
      5/19/2018    742   RF0136   Owner Operator   Advance                        3/26/18 Spill Clm 68591-1                250
      5/19/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                       8.75
      5/19/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                           13
      5/19/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                           13
      5/19/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                           41.67
      5/19/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/19/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/19/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/19/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/19/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/19/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          278.09
      5/19/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           294.1
      5/19/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.72
      5/19/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.11
      5/19/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           263.3
      5/19/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.54
      5/19/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                        100
      5/19/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                       53.13
      5/19/2018    742   RF0136   Owner Operator   T Chek Fee                     Tractor Repair 34182                   620.79
      5/19/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             8.75
      5/19/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                          13
      5/19/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          501.97
      5/19/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          319.75
      5/19/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                       100
      5/19/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             35.16
      5/19/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
      5/19/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       8.75
      5/19/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13
      5/19/2018    742   RS0342   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-26        -1552.91
      5/19/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/19/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          798.69
      5/19/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          684.76
      5/19/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                        100
      5/19/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                      143.21
      5/19/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism               2.5
      5/19/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842             100
      5/19/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      5/19/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 213110 fuel                       250
      5/19/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
      5/19/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          430.54
      5/19/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                        58.6
      5/19/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
      5/19/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841             100
      5/19/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      5/19/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
      5/19/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.86
      5/19/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                            9.99
      5/19/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          570.41
      5/19/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          431.58
      5/19/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                        100
      5/19/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
      5/19/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      5/19/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                           8.75
      5/19/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                           13
      5/19/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.44
      5/19/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          678.64
      5/19/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          336.81
      5/19/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/19/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           74.22
      5/19/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                   2.5

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      5/26/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      5/26/2018    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
      5/26/2018    709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 213382 Solvay fuel             -71.81
      5/26/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      5/26/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/26/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
      5/26/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      5/26/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      5/26/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      5/26/2018    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      5/26/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      5/26/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          441.7
      5/26/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.98
      5/26/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           327
      5/26/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.72
      5/26/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.48
      5/26/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
      5/26/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      5/26/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 213312 Q13147 Lease            440.14
      5/26/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      5/26/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      5/26/2018    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      5/26/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      5/26/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.05
      5/26/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          177.5
      5/26/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.57
      5/26/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.01
      5/26/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.83
      5/26/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100
      5/26/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      5/26/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 213267 Q13169 Sublease         352.68
      5/26/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/26/2018    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      5/26/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      5/26/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/26/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                       100
      5/26/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      5/26/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/26/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      5/26/2018    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      5/26/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      5/26/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.29
      5/26/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.05
      5/26/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         599.18
      5/26/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           5.66
      5/26/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          45.22
      5/26/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                      100
      5/26/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      5/26/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 213193 Q13168 sub lease        352.68
      5/26/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/26/2018    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      5/26/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      5/26/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/26/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/26/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         645.23
      5/26/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.39
      5/26/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      5/26/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      5/26/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/26/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      5/26/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      5/26/2018    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                      9.84
      5/26/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      5/26/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/26/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/26/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.11
      5/26/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.37

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      5/26/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        306.59
      5/26/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        189.41
      5/26/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                     33.64
      5/26/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/26/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     39.04
      5/26/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                        245.63
      5/26/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
      5/26/2018    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                     9.84
      5/26/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      5/26/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        492.49
      5/26/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                      100
      5/26/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/26/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.07
      5/26/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 213192 Q1201                  278.76
      5/26/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
      5/26/2018    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                     9.84
      5/26/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                          8
      5/26/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        467.52
      5/26/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        519.14
      5/26/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                      100
      5/26/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment        264.86
      5/26/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/26/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.19
      5/26/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      5/26/2018    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                     9.84
      5/26/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
      5/26/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
      5/26/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      5/26/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        360.81
      5/26/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        506.25
      5/26/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        457.06
      5/26/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.9
      5/26/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        517.63
      5/26/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                      100
      5/26/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment        352.59
      5/26/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/26/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               65.69
      5/26/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 213186 Truck rental             300
      5/26/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 213266 Sublease               338.99
      5/26/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.36
      5/26/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/26/2018    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                     9.84
      5/26/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      5/26/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      5/26/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      5/26/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        651.68
      5/26/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        194.11
      5/26/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                     33.64
      5/26/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/26/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.33
      5/26/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      5/26/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      5/26/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                          8
      5/26/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        683.43
      5/26/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                      100
      5/26/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/26/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.04
      5/26/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/26/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/26/2018    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                     9.84
      5/26/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      5/26/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      5/26/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      5/26/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      5/26/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/26/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/26/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         17.75
      5/26/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        561.31
      5/26/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                     33.64
      5/26/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                     33.64
      5/26/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/26/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/26/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47

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      5/26/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      5/26/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      5/26/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      5/26/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.75
      5/26/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      5/26/2018    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      5/26/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      5/26/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         703.39
      5/26/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.36
      5/26/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                       100
      5/26/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      5/26/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      5/26/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      5/26/2018    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      5/26/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      5/26/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.45
      5/26/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.18
      5/26/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.93
      5/26/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.21
      5/26/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
      5/26/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      5/26/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      5/26/2018    709   EO0014   Owner Operator   Tractor Wash                   CTMS - 213382 Trailer wash FG5         -36.5
      5/26/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      5/26/2018    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      5/26/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      5/26/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.86
      5/26/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.02
      5/26/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
      5/26/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      5/26/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 213324 truck lease 3304        434.29
      5/26/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/26/2018    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521B                     9.84
      5/26/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      5/26/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/26/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/26/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         697.46
      5/26/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          568.3
      5/26/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
      5/26/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      5/26/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      5/26/2018    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      5/26/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      5/26/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.29
      5/26/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
      5/26/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      5/26/2018    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00336959 - PO System           18.27
      5/26/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 213191 Lease                   252.11
      5/26/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      5/26/2018    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      5/26/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      5/26/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/26/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.89
      5/26/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.1
      5/26/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.39
      5/26/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.91
      5/26/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
      5/26/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      5/26/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 213317 Q1109 Lease             302.85
      5/26/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      5/26/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      5/26/2018    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      5/26/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      5/26/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      5/26/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.84
      5/26/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.36
      5/26/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.98

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      5/26/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
      5/26/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
      5/26/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      5/26/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      5/26/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 212921 Q13170                  352.68
      5/26/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 213187 Q13170                  352.68
      5/26/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      5/26/2018    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK33180                      9.84
      5/26/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      5/26/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/26/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.51
      5/26/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100
      5/26/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      5/26/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/26/2018    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      5/26/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      5/26/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.62
      5/26/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                           517
      5/26/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         604.52
      5/26/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.62
      5/26/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                       100
      5/26/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      5/26/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      5/26/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/26/2018    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                     19.68
      5/26/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      5/26/2018    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-19           41.25
      5/26/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.95
      5/26/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.44
      5/26/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.09
      5/26/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      5/26/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      5/26/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/26/2018    709   IR0002   Owner Operator   Tire Fee                       Tire Fee: 2132160                          8
      5/26/2018    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00370629 - PO System          278.66
      5/26/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      5/26/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/26/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      5/26/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/26/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.05
      5/26/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      5/26/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      5/26/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      5/26/2018    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      5/26/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      5/26/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      5/26/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                              20
      5/26/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/26/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/26/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/26/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/26/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      5/26/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.63
      5/26/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.17
      5/26/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.24
      5/26/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.17
      5/26/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                      100
      5/26/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      5/26/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 WVPEDTA Chelyan 9                5.87
      5/26/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 WVPEDTA Ghent North 11           5.87
      5/26/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 WVPEDTA Pax 2                    5.87
      5/26/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      5/26/2018    709   JC0292   Owner Operator   Tractor Wash                   CTMS - 213298 Trailer wsh 7023           -30
      5/26/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 213264 Q13197 Lease            276.63
      5/26/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/26/2018    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                      9.84

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      5/26/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                       13
      5/26/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                        500
      5/26/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                         500
      5/26/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      5/26/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       177.9
      5/26/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      433.61
      5/26/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                      611.04
      5/26/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                   33.64
      5/26/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/26/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                90.85
      5/26/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                       504.6
      5/26/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/26/2018    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                   9.84
      5/26/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                       13
      5/26/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         500
      5/26/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      5/26/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       151.5
      5/26/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       533.2
      5/26/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      521.85
      5/26/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      188.23
      5/26/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                   33.64
      5/26/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/26/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                74.22
      5/26/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                      513.26
      5/26/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
      5/26/2018    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                   9.84
      5/26/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                        8
      5/26/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                      249.86
      5/26/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                      621.17
      5/26/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                    100
      5/26/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/26/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   35.15
      5/26/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                8.75
      5/26/2018    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                   9.84
      5/26/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                       13
      5/26/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                         100
      5/26/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      5/26/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                      282.55
      5/26/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                    100
      5/26/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/26/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                19.51
      5/26/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL          8.75
      5/26/2018    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                   9.84
      5/26/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                       13
      5/26/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                      482.24
      5/26/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                    100
      5/26/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/26/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD          58.58
      5/26/2018    709   JR0099   Owner Operator   Repair Order                   CTMS - 213244 Repair               408.54
      5/26/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 213150 Truck Lease          278.76
      5/26/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                 8.75
      5/26/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                    8.75
      5/26/2018    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRK33325                   9.84
      5/26/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                       13
      5/26/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                        100
      5/26/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                         200
      5/26/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/26/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      378.49
      5/26/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      562.04
      5/26/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      471.39
      5/26/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                    100
      5/26/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        2.48
      5/26/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/26/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                 15.93
      5/26/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                     37.5
      5/26/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      5/26/2018    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                 12.5
      5/26/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                       13
      5/26/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                        250
      5/26/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
      5/26/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
      5/26/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
      5/26/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100

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      5/26/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           343
      5/26/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.51
      5/26/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.04
      5/26/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           414
      5/26/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          34.57
      5/26/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           360
      5/26/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      5/26/2018    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         265.33
      5/26/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      5/26/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/26/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      5/26/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      5/26/2018    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      5/26/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      5/26/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                       100
      5/26/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      5/26/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 213138 Lease Q1111             252.11
      5/26/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      5/26/2018    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                      9.84
      5/26/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      5/26/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/26/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/26/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/26/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/26/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.51
      5/26/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         669.25
      5/26/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.21
      5/26/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                       100
      5/26/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      5/26/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      5/26/2018    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00369828 - PO System          744.66
      5/26/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/26/2018    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      5/26/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      5/26/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/26/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.86
      5/26/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.17
      5/26/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.74
      5/26/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.28
      5/26/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                       100
      5/26/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      5/26/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      5/26/2018    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                      9.84
      5/26/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      5/26/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.28
      5/26/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.66
      5/26/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.03
      5/26/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                       100
      5/26/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      5/26/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 213186 Q1113 Lease             252.11
      5/26/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/26/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      5/26/2018    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-19           78.12
      5/26/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.07
      5/26/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                       100
      5/26/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      5/26/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/26/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/26/2018    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                      9.84
      5/26/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      5/26/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      5/26/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280

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      5/26/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      5/26/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         674.55
      5/26/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      5/26/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      5/26/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/26/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      5/26/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      5/26/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      5/26/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      5/26/2018    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1108                      9.84
      5/26/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      5/26/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      5/26/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      5/26/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      5/26/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      5/26/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      5/26/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.01
      5/26/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.78
      5/26/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.92
      5/26/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.26
      5/26/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.87
      5/26/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.73
      5/26/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.21
      5/26/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                       100
      5/26/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                       100
      5/26/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                       100
      5/26/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      5/26/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      5/26/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      5/26/2018    709   NB0029   Owner Operator   Repair Order                   CTMS - 212942 Parts                   139.36
      5/26/2018    709   NB0029   Owner Operator   Tire Fee                       Tire Fee: 2131178                          8
      5/26/2018    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00348930 - PO System          227.09
      5/26/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Kilpatrick Turnpike           8.65
      5/26/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Turner Turnpike East         18.05
      5/26/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Will Rogers Turnpike         18.05
      5/26/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 212777 Lease                   215.66
      5/26/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 213029 Lease                   215.66
      5/26/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 213323 Lease                   215.66
      5/26/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      5/26/2018    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      5/26/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      5/26/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/26/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/26/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.11
      5/26/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.33
      5/26/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                      100
      5/26/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      5/26/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      5/26/2018    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      5/26/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      5/26/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                       100
      5/26/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      5/26/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      5/26/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      5/26/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      5/26/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      5/26/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.19
      5/26/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/26/2018    709   RC0089   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                     19.68
      5/26/2018    709   RC0089   Owner Operator   Communication Charge           PNet Hware 32986                          13

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      5/26/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/26/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/26/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.51
      5/26/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.79
      5/26/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      5/26/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      5/26/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      5/26/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/26/2018    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      5/26/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      5/26/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/26/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.84
      5/26/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.57
      5/26/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      5/26/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      5/26/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      5/26/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/26/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      5/26/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.09
      5/26/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.74
      5/26/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.08
      5/26/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.14
      5/26/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      5/26/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      5/26/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      5/26/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/26/2018    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      5/26/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      5/26/2018    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-19              93
      5/26/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/26/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.11
      5/26/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
      5/26/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      5/26/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      5/26/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      5/26/2018    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      5/26/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      5/26/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.83
      5/26/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.69
      5/26/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.85
      5/26/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
      5/26/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      5/26/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      5/26/2018    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      5/26/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      5/26/2018    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              40
      5/26/2018    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      5/26/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.24
      5/26/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.74
      5/26/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.94
      5/26/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
      5/26/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      5/26/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 213151 Q1202 Truck Leas        278.76
      5/26/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      5/26/2018    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      5/26/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      5/26/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      5/26/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         716.73
      5/26/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         607.29
      5/26/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100
      5/26/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/26/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                 65.07
      5/26/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror            2.5
      5/26/2018    709   RR0123   Owner Operator   Tire Fee                       Tire Fee: 2132253                          20
      5/26/2018    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00368119 - PO System           104.38
      5/26/2018    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00369879 - PO System            452.3
      5/26/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 PTC Carlisle                     110.43
      5/26/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 PTC Neshaminy Falls               86.28
      5/26/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 PTC New Stanton                    81.1
      5/26/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 212926 Q1248                    116.15
      5/26/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 213192 Q1248                    311.97
      5/26/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      5/26/2018    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                       9.84
      5/26/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                           13
      5/26/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      5/26/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/26/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/26/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/26/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/26/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          460.66
      5/26/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          194.26
      5/26/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           91.78
      5/26/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.24
      5/26/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          259.87
      5/26/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.03
      5/26/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                       33.64
      5/26/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/26/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   100.98
      5/26/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
      5/26/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      5/26/2018    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      19.68
      5/26/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      5/26/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/26/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.55
      5/26/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          435.99
      5/26/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.76
      5/26/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.28
      5/26/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                        100
      5/26/2018    709   SB0103   Owner Operator   Loan Repayment                 EFS 191515                           -1703.43
      5/26/2018    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          343.05
      5/26/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/26/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      5/26/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      5/26/2018    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        16.87
      5/26/2018    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  1686.56
      5/26/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 213147 Sub Lease                388.33
      5/26/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
      5/26/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                            100
      5/26/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            404
      5/26/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          422.95
      5/26/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          544.65
      5/26/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                       33.64
      5/26/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/26/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
      5/26/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
      5/26/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                     59.45
      5/26/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      5/26/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      5/26/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/26/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
      5/26/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      5/26/2018    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      19.68
      5/26/2018    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                     12.5
      5/26/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      5/26/2018    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-19            61.38
      5/26/2018    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/26/2018    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/26/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          552.26
      5/26/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          436.51
      5/26/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                        100
      5/26/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/26/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
      5/26/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 213190 Tractor Sub leas         242.03
      5/26/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    154.82

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      5/26/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/26/2018    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      5/26/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      5/26/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/26/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/26/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/26/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/26/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/26/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.52
      5/26/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.22
      5/26/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.69
      5/26/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.75
      5/26/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                       100
      5/26/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      5/26/2018    709   VJ0006   Owner Operator   Toll Charges                   33961 ILTOLL 95th St. 2                  4.9
      5/26/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/26/2018    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      5/26/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      5/26/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      5/26/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      5/26/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      5/26/2018    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      5/26/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      5/26/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              60
      5/26/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      5/26/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.52
      5/26/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.83
      5/26/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.58
      5/26/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                       100
      5/26/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      5/26/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 213192 Q1238 Lease             311.97
      5/26/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      5/26/2018    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      5/26/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      5/26/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.75
      5/26/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.71
      5/26/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.01
      5/26/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.73
      5/26/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          177.6
      5/26/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.36
      5/26/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      5/26/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      5/26/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/26/2018    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRK33471                      9.84
      5/26/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      5/26/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.18
      5/26/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.92
      5/26/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.95
      5/26/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                       100
      5/26/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      5/26/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/26/2018    742   BS0078   Owner Operator   Toll Charges                   33471 OTA Turner Turnpike East         18.05
      5/26/2018    742   BS0078   Owner Operator   Toll Charges                   33471 OTA Turner Turnpike West         18.05
      5/26/2018    742   BS0078   Owner Operator   Toll Charges                   33471 OTA Will Rogers Turnpike         18.05
      5/26/2018    742   BS0078   Owner Operator   Toll Charges                   33471 OTA Will Rogers Turnpike         18.05
      5/26/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      5/26/2018    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      5/26/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      5/26/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.4
      5/26/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          633.7

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      5/26/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.39
      5/26/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.22
      5/26/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                       100
      5/26/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      5/26/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      5/26/2018    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      5/26/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      5/26/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.21
      5/26/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.03
      5/26/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                      100
      5/26/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.81
      5/26/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      5/26/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      5/26/2018    742   CT0085   Owner Operator   Tire Purchase                  PO: 742-00369708 - PO System          233.86
      5/26/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 212971 Sub Lease Q13171        352.68
      5/26/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 213263 Sub Lease Q13171        352.68
      5/26/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/26/2018    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      5/26/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      5/26/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           465
      5/26/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           382
      5/26/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           21.5
      5/26/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           317
      5/26/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                       100
      5/26/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      5/26/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/26/2018    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      5/26/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                        4.44
      5/26/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      5/26/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/26/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/26/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                           600
      5/26/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.91
      5/26/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.7
      5/26/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.9
      5/26/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100
      5/26/2018    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA A 23                   16.6
      5/26/2018    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA B 22                     18
      5/26/2018    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA C 2                    16.6
      5/26/2018    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA C 22                   16.6
      5/26/2018    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA D 2                      18
      5/26/2018    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA D 22                     18
      5/26/2018    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA E 2                      18
      5/26/2018    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA E 22                     18
      5/26/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      5/26/2018    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      5/26/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      5/26/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/26/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/26/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/26/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          472.7
      5/26/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.91
      5/26/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.56
      5/26/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.73
      5/26/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
      5/26/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      5/26/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      5/26/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 213086 Trk 33487 Lease          434.2
      5/26/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      5/26/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/26/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      5/26/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         594.27
      5/26/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          476.9
      5/26/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.88
      5/26/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                       100
      5/26/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      5/26/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/26/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75

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      5/26/2018    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      5/26/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      5/26/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.23
      5/26/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.41
      5/26/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.38
      5/26/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.18
      5/26/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
      5/26/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      5/26/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      5/26/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/26/2018    742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze TRK32947                      9.84
      5/26/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      5/26/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/26/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/26/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.35
      5/26/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.35
      5/26/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.33
      5/26/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.74
      5/26/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.92
      5/26/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.38
      5/26/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      5/26/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      5/26/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/26/2018    742   EN0016   Owner Operator   Repair Order                   CTMS - 212944 Repair                  586.62
      5/26/2018    742   EN0016   Owner Operator   Tire Fee                       Tire Fee: 2132165                          8
      5/26/2018    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00370630 - PO System          208.81
      5/26/2018    742   EN0016   Owner Operator   Toll Charges                   32947 NTTA I-820/35W SOUTH TEX             3
      5/26/2018    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Spencer Mai          8.24
      5/26/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      5/26/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      5/26/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      5/26/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      5/26/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      5/26/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/26/2018    742   MH0117   Owner Operator   Broker Pre Pass                DriveWyze TRK33296                      9.84
      5/26/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      5/26/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/26/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                       100
      5/26/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      5/26/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/26/2018    742   MH0117   Owner Operator   Repair Order                   CTMS - 212944 Repair                  521.49
      5/26/2018    742   MH0117   Owner Operator   Toll Charges                   33296 HCTRA Ship Channel Bridg             7
      5/26/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      5/26/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      5/26/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      5/26/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/26/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.01
      5/26/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.42
      5/26/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.62
      5/26/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.13
      5/26/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                       100
      5/26/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
      5/26/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      5/26/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      5/26/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      5/26/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      5/26/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      5/26/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      5/26/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      5/26/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      5/26/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      5/26/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      5/26/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      5/26/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      5/26/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      5/26/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      5/26/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      5/26/2018    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                      9.84
      5/26/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13

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      5/26/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      5/26/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.37
      5/26/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         608.75
      5/26/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.07
      5/26/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.42
      5/26/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                       100
      5/26/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                       100
      5/26/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      5/26/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      5/26/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      5/26/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      5/26/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Sam Houston - East             7
      5/26/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Sam Houston - Sout             7
      5/26/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Ship Channel Bridg             7
      5/26/2018    742   NG0024   Owner Operator   Tractor Wash                   CTMS - 213006 Exterior Wash on         -33.5
      5/26/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/26/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      5/26/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/26/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      5/26/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      5/26/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      5/26/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      5/26/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      5/26/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/26/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/26/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/26/2018    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      5/26/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      5/26/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      5/26/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      5/26/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/26/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/26/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/26/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.75
      5/26/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.73
      5/26/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.15
      5/26/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.15
      5/26/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.76
      5/26/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.76
      5/26/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      5/26/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      5/26/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      5/26/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      5/26/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      5/26/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      5/26/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Hardy North - Rank             4
      5/26/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Hardy North - Rank             4
      5/26/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Hardy South - Barr             7
      5/26/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg           3.5
      5/26/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      5/26/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      5/26/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      5/26/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/26/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/26/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.38
      5/26/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.97
      5/26/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.45
      5/26/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.86
      5/26/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      5/26/2018    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13157                     9.84
      5/26/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      5/26/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.65
      5/26/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
      5/26/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/26/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      5/26/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      5/26/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157/W6620 HCTRA Sam Houston             7
      5/26/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 212887 Tractor Lease           353.28
      5/26/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 213150 Tractor Lease           353.28
      5/26/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      5/26/2018    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                      9.84
      5/26/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      5/26/2018    742   RS0342   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-19         1552.91
      5/26/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/26/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         617.48
      5/26/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.46
      5/26/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
      5/26/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      5/26/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      5/26/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      5/26/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/26/2018    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 213231 fuel                    244.61
      5/26/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      5/26/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      5/26/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      5/26/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      5/26/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      5/26/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/26/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      5/26/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.81
      5/26/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.15
      5/26/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.91
      5/26/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
      5/26/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      5/26/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/26/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
      5/26/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 15
      5/26/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               25
      5/26/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               25
      5/26/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               25
      5/26/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      5/26/2018    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      5/26/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      5/26/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         615.39
      5/26/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         541.63
      5/26/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/26/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      5/26/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       6/2/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       6/2/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       6/2/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.39
       6/2/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
       6/2/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       6/2/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       6/2/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       6/2/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.06
       6/2/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          19.09
       6/2/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       6/2/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       6/2/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       6/2/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.33
       6/2/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.61
       6/2/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           455
       6/2/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.35
       6/2/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100
       6/2/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       6/2/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 213452 Q13169 Sublease         352.68
       6/2/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       6/2/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       6/2/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                       100

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       6/2/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       6/2/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       6/2/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       6/2/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       6/2/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.19
       6/2/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.87
       6/2/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          32.93
       6/2/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.92
       6/2/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                      100
       6/2/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       6/2/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 213413 Q13168 sub lease        352.68
       6/2/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/2/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       6/2/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/2/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/2/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/2/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/2/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.22
       6/2/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          581.7
       6/2/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
       6/2/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       6/2/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/2/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       6/2/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       6/2/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       6/2/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.55
       6/2/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.11
       6/2/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.51
       6/2/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.52
       6/2/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.64
       6/2/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
       6/2/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       6/2/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         245.63
       6/2/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       6/2/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       6/2/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.26
       6/2/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                       100
       6/2/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       6/2/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 213420 Q1201                   278.76
       6/2/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       6/2/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       6/2/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.66
       6/2/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.25
       6/2/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.19
       6/2/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                       100
       6/2/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         263.95
       6/2/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       6/2/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       6/2/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       6/2/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       6/2/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          415.1
       6/2/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.69
       6/2/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.5
       6/2/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.54
       6/2/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                       100
       6/2/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       6/2/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       6/2/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 213418 Truck rental            113.41
       6/2/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       6/2/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/2/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       6/2/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/2/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/2/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         710.57
       6/2/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                           221
       6/2/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.81

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       6/2/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
       6/2/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       6/2/2018    709   DS0049   Owner Operator   Toll Charges                   32915/TL0212 Bay Bridge 18                25
       6/2/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       6/2/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       6/2/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       6/2/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         651.41
       6/2/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                       100
       6/2/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       6/2/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       6/2/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       6/2/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       6/2/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       6/2/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.48
       6/2/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.2
       6/2/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.26
       6/2/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.75
       6/2/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.02
       6/2/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.79
       6/2/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/2/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       6/2/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       6/2/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/2/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/2/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/2/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/2/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.86
       6/2/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.61
       6/2/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.33
       6/2/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.77
       6/2/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
       6/2/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       6/2/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       6/2/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       6/2/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       6/2/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         527.62
       6/2/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         669.25
       6/2/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.17
       6/2/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                       100
       6/2/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       6/2/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       6/2/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       6/2/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       6/2/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.29
       6/2/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.66
       6/2/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.08
       6/2/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.11
       6/2/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
       6/2/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       6/2/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       6/2/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       6/2/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       6/2/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.34
       6/2/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.47
       6/2/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.18
       6/2/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
       6/2/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       6/2/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 213507 truck lease 3304        434.29
       6/2/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/2/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       6/2/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.02
       6/2/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.39
       6/2/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
       6/2/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       6/2/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       6/2/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13

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       6/2/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.38
       6/2/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.88
       6/2/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
       6/2/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       6/2/2018    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00336959 - PO System           18.27
       6/2/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 213418 Lease                   252.11
       6/2/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       6/2/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       6/2/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.12
       6/2/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.59
       6/2/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.63
       6/2/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
       6/2/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       6/2/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 213500 Q1109 Lease             302.85
       6/2/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       6/2/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       6/2/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.05
       6/2/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.17
       6/2/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.7
       6/2/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
       6/2/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       6/2/2018    709   HC0023   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.55
       6/2/2018    709   HC0023   Owner Operator   T Chek Fee                     Tractor Repair Q13170                   355
       6/2/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 213414 Q13170                  352.68
       6/2/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       6/2/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       6/2/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/2/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/2/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          628.6
       6/2/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         638.88
       6/2/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.81
       6/2/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100
       6/2/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       6/2/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       6/2/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       6/2/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          373.4
       6/2/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.19
       6/2/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.36
       6/2/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.33
       6/2/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                       100
       6/2/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       6/2/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       6/2/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/2/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       6/2/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.95
       6/2/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.38
       6/2/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.08
       6/2/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
       6/2/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       6/2/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/2/2018    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00370629 - PO System          278.66
       6/2/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       6/2/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       6/2/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
       6/2/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.43
       6/2/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
       6/2/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       6/2/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       6/2/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       6/2/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       6/2/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
       6/2/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       6/2/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.17

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       6/2/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.61
       6/2/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       325.13
       6/2/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.27
       6/2/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       571.02
       6/2/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                     100
       6/2/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       6/2/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD             42.19
       6/2/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                       458.72
       6/2/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 213449 Q13197 Lease          276.63
       6/2/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       6/2/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
       6/2/2018    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1500
       6/2/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
       6/2/2018    709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1500
       6/2/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           200
       6/2/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           200
       6/2/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       6/2/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       6/2/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       380.72
       6/2/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       401.31
       6/2/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                    33.64
       6/2/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       6/2/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
       6/2/2018    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                      4
       6/2/2018    709   JG0017   Owner Operator   Toll Charges                   32908 Richmond 6                        25
       6/2/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
       6/2/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       6/2/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
       6/2/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
       6/2/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
       6/2/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       442.64
       6/2/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        208.2
       6/2/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       602.08
       6/2/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                    33.64
       6/2/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       6/2/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
       6/2/2018    709   JG0072   Owner Operator   Toll Charges                   32909 Carquinez Bridge 12               25
       6/2/2018    709   JG0072   Owner Operator   Toll Charges                   32909 Carquinez Bridge 12               25
       6/2/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
       6/2/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
       6/2/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
       6/2/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           100
       6/2/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       6/2/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       376.41
       6/2/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       370.05
       6/2/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                      100
       6/2/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       6/2/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    35.16
       6/2/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
       6/2/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
       6/2/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-9          -806
       6/2/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
       6/2/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       6/2/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.6
       6/2/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                      100
       6/2/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       6/2/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
       6/2/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
       6/2/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
       6/2/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                      100
       6/2/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       6/2/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
       6/2/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 213409 Truck Lease           278.76
       6/2/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
       6/2/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
       6/2/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
       6/2/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
       6/2/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
       6/2/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       6/2/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.97
       6/2/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.05
       6/2/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       210.44
       6/2/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                      100

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       6/2/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       6/2/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       6/2/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       6/2/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/2/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       6/2/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       6/2/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/2/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/2/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/2/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/2/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.5
       6/2/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           330
       6/2/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.01
       6/2/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.99
       6/2/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.16
       6/2/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       6/2/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
       6/2/2018    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         265.33
       6/2/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       6/2/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/2/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       6/2/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       6/2/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       6/2/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                       100
       6/2/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       6/2/2018    709   LL0160   Owner Operator   Toll Charges                   Q1111 Otay Mainline Toll 4               5.5
       6/2/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 213397 Lease Q1111             252.11
       6/2/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       6/2/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       6/2/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/2/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/2/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.82
       6/2/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                       100
       6/2/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       6/2/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       6/2/2018    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00369828 - PO System           744.6
       6/2/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       6/2/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       6/2/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.53
       6/2/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.86
       6/2/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.52
       6/2/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                       100
       6/2/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       6/2/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       6/2/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       6/2/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.02
       6/2/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.45
       6/2/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.59
       6/2/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.29
       6/2/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                       100
       6/2/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       6/2/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 213413 Q1113 Lease             252.11
       6/2/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       6/2/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       6/2/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           325
       6/2/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           125
       6/2/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.41
       6/2/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                       100
       6/2/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       6/2/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       6/2/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       6/2/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       6/2/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
       6/2/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              60
       6/2/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       6/2/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.04

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       6/2/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.94
       6/2/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
       6/2/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       6/2/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       6/2/2018    709   MP0035   Owner Operator   Repair Order                   CTMS - 213436 Fuel Q1105             -499.94
       6/2/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       6/2/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       6/2/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       6/2/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
       6/2/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/2/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/2/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/2/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/2/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.03
       6/2/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.92
       6/2/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.55
       6/2/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.34
       6/2/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.85
       6/2/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                       100
       6/2/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       6/2/2018    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00348930 - PO System          227.09
       6/2/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 213506 Lease                   215.66
       6/2/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       6/2/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       6/2/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/2/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/2/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.57
       6/2/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                      100
       6/2/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       6/2/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       6/2/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       6/2/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                       100
       6/2/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       6/2/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 213537 Truck 73130 Leas        196.65
       6/2/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       6/2/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       6/2/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       6/2/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       6/2/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
       6/2/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/2/2018    709   RC0089   Owner Operator   Communication Charge           PNet Hware 32986                          13
       6/2/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/2/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/2/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.69
       6/2/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       6/2/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       6/2/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       6/2/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/2/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       6/2/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       6/2/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.66
       6/2/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.4
       6/2/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
       6/2/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       6/2/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       6/2/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/2/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       6/2/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.02
       6/2/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.52
       6/2/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
       6/2/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       6/2/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       6/2/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       6/2/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
       6/2/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50

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       6/2/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.98
       6/2/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         579.11
       6/2/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
       6/2/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
       6/2/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       6/2/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       6/2/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       6/2/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
       6/2/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       6/2/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       6/2/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       6/2/2018    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              40
       6/2/2018    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
       6/2/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.25
       6/2/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.37
       6/2/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.47
       6/2/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
       6/2/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       6/2/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 213409 Q1202 Truck Leas        278.76
       6/2/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       6/2/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       6/2/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         586.91
       6/2/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.11
       6/2/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100
       6/2/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       6/2/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       6/2/2018    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00369879 - PO System           452.3
       6/2/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 213420 Q1248                   311.97
       6/2/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       6/2/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       6/2/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       6/2/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/2/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/2/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.32
       6/2/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.51
       6/2/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.71
       6/2/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.57
       6/2/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.42
       6/2/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
       6/2/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       6/2/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       6/2/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       6/2/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       6/2/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          412.8
       6/2/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.25
       6/2/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.84
       6/2/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.24
       6/2/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                       100
       6/2/2018    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         343.05
       6/2/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       6/2/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       6/2/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 213406 Sub Lease               388.33
       6/2/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       6/2/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
       6/2/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.52
       6/2/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           576
       6/2/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         686.01
       6/2/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.74
       6/2/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
       6/2/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
       6/2/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       6/2/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
       6/2/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       6/2/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       6/2/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100

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       6/2/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/2/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.06
       6/2/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.23
       6/2/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.95
       6/2/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       6/2/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       6/2/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       6/2/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.52
       6/2/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                       100
       6/2/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       6/2/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 213418 Tractor Sub leas        242.03
       6/2/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       6/2/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/2/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       6/2/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       6/2/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/2/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/2/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.55
       6/2/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.31
       6/2/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.07
       6/2/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.02
       6/2/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                       100
       6/2/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       6/2/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       6/2/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       6/2/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-9             -60
       6/2/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       6/2/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       6/2/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       6/2/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       6/2/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.29
       6/2/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.61
       6/2/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                       100
       6/2/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       6/2/2018    709   WH0087   Owner Operator   Toll Charges                   Q1239 Carquinez Bridge 9                  25
       6/2/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 213420 Q1238 Lease             311.97
       6/2/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       6/2/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       6/2/2018    742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-9         -133.56
       6/2/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       6/2/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       6/2/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/2/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       6/2/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/2/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/2/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.6
       6/2/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.41
       6/2/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.03
       6/2/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.33
       6/2/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                       100
       6/2/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       6/2/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       6/2/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       6/2/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       6/2/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.06
       6/2/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.95
       6/2/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.33
       6/2/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                       100
       6/2/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       6/2/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       6/2/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       6/2/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.03
       6/2/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.06
       6/2/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.05
       6/2/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                      100

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       6/2/2018    742   CT0085   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         253.32
       6/2/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
       6/2/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       6/2/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 12                25
       6/2/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 4                 25
       6/2/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 4                 25
       6/2/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 9                 25
       6/2/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 213447 Sub Lease Q13171        352.68
       6/2/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/2/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       6/2/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.62
       6/2/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.79
       6/2/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           175
       6/2/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.96
       6/2/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           258
       6/2/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                       100
       6/2/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       6/2/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/2/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 9                  25
       6/2/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       6/2/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          666.1
       6/2/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         579.08
       6/2/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100
       6/2/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       6/2/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       6/2/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.87
       6/2/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.11
       6/2/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.09
       6/2/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
       6/2/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       6/2/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       6/2/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 1                    25
       6/2/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 1                    25
       6/2/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 2                    15
       6/2/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 12                 25
       6/2/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 213542 Trk 33487 Lease          434.2
       6/2/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
       6/2/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/2/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       6/2/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.19
       6/2/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.39
       6/2/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                       100
       6/2/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       6/2/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       6/2/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       6/2/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       6/2/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.66
       6/2/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.69
       6/2/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.7
       6/2/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.68
       6/2/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
       6/2/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       6/2/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       6/2/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/2/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       6/2/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.29
       6/2/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
       6/2/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       6/2/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/2/2018    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00370630 - PO System          208.81
       6/2/2018    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 11                 25
       6/2/2018    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 8                  25
       6/2/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       6/2/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       6/2/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13

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       6/2/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       6/2/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       6/2/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       6/2/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       6/2/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                       100
       6/2/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       6/2/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       6/2/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
       6/2/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       6/2/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       6/2/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.97
       6/2/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.74
       6/2/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.54
       6/2/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.86
       6/2/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.04
       6/2/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                       100
       6/2/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         351.39
       6/2/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       6/2/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       6/2/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       6/2/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       6/2/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/2/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/2/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.44
       6/2/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.19
       6/2/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         602.62
       6/2/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.99
       6/2/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                       100
       6/2/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       6/2/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       6/2/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Benicia 1                           25
       6/2/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 7                  15
       6/2/2018    742   NG0024   Owner Operator   Toll Charges                   33252/W7078 Carquinez Bridge 8            25
       6/2/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       6/2/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
       6/2/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
       6/2/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       6/2/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       6/2/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/2/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       6/2/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       6/2/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/2/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/2/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.8
       6/2/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.85
       6/2/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.47
       6/2/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.25
       6/2/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
       6/2/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       6/2/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       6/2/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       6/2/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       6/2/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       6/2/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       6/2/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       6/2/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                           8.33
       6/2/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/2/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/2/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/2/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/2/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/2/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/2/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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       6/2/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/2/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.76
       6/2/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.55
       6/2/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.41
       6/2/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          53.44
       6/2/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.69
       6/2/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.36
       6/2/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.32
       6/2/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.09
       6/2/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.66
       6/2/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.34
       6/2/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          123.1
       6/2/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                       100
       6/2/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                       100
       6/2/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
       6/2/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       6/2/2018    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 7                  25
       6/2/2018    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 8                  15
       6/2/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       6/2/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       6/2/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.98
       6/2/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
       6/2/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       6/2/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       6/2/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 213409 Tractor Lease           353.28
       6/2/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       6/2/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       6/2/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/2/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.04
       6/2/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
       6/2/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       6/2/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       6/2/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
       6/2/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       6/2/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       6/2/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
       6/2/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       6/2/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       6/2/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       6/2/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       6/2/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         621.86
       6/2/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.24
       6/2/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          44.86
       6/2/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/2/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       6/2/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       6/9/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       6/9/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       6/9/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/9/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
       6/9/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       6/9/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       6/9/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       6/9/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       6/9/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       6/9/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.13
       6/9/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.95
       6/9/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.01
       6/9/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.99
       6/9/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
       6/9/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
       6/9/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          28.41
       6/9/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       6/9/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       6/9/2018    709   AR0064   Owner Operator   Tire Fee                       Tire Fee: 2134534                          8
       6/9/2018    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00372111 - PO System          215.64

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       6/9/2018    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00372111 - PO System           215.64
       6/9/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 213495 Q13147 Lease             440.14
       6/9/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 213705 Q13147 Lease             440.14
       6/9/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                     59.95
       6/9/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             8.75
       6/9/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                           8
       6/9/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          123.93
       6/9/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            300
       6/9/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            301
       6/9/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            125
       6/9/2018    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                   67.94
       6/9/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                       100
       6/9/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/9/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             35.16
       6/9/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 213670 Q13169 Sublease          352.68
       6/9/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
       6/9/2018    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                     12.5
       6/9/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
       6/9/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                              50
       6/9/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                        100
       6/9/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/9/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.13
       6/9/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
       6/9/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
       6/9/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
       6/9/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          586.15
       6/9/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.55
       6/9/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          452.35
       6/9/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           31.93
       6/9/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          510.27
       6/9/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                       100
       6/9/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/9/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.16
       6/9/2018    709   CC0134   Owner Operator   Repair Order                   CTMS - 213612 Truck Repair              374.8
       6/9/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 213622 Q13168 sub lease         352.68
       6/9/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       6/9/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
       6/9/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
       6/9/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       6/9/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          618.97
       6/9/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                       33.64
       6/9/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/9/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.96
       6/9/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       6/9/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
       6/9/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
       6/9/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                           13
       6/9/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          229.55
       6/9/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.22
       6/9/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                       33.64
       6/9/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/9/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       39.07
       6/9/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL              8.75
       6/9/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                            8
       6/9/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          528.14
       6/9/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                        100
       6/9/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/9/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD              65.08
       6/9/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 213629 Q1201                    278.76
       6/9/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
       6/9/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
       6/9/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.37
       6/9/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.18
       6/9/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           392.4
       6/9/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          410.47
       6/9/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                        100
       6/9/2018    709   DL0029   Owner Operator   Loan Repayment                 EFS 192244                           -3594.44
       6/9/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          261.21
       6/9/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/9/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     34.2
       6/9/2018    709   DL0029   Owner Operator   Repair Order                   CTMS - 213611 Repair                   198.38
       6/9/2018    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        35.59
       6/9/2018    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                  3558.85

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       6/9/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       6/9/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       6/9/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       6/9/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       6/9/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       6/9/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          537.2
       6/9/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.31
       6/9/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.68
       6/9/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                       100
       6/9/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       6/9/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       6/9/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 213418 Truck rental            186.59
       6/9/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 213450 Sublease                338.99
       6/9/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 213627 Truck rental              300
       6/9/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 213673 Sublease                338.99
       6/9/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       6/9/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/9/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       6/9/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/9/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/9/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         820.74
       6/9/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
       6/9/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       6/9/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       6/9/2018    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       6/9/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       6/9/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       6/9/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          546.3
       6/9/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                       100
       6/9/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       6/9/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       6/9/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/9/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       6/9/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       6/9/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       6/9/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       6/9/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       6/9/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       6/9/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.36
       6/9/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.08
       6/9/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         693.94
       6/9/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.79
       6/9/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/9/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       6/9/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       6/9/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.72
       6/9/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.74
       6/9/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.52
       6/9/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.62
       6/9/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
       6/9/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       6/9/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       6/9/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.75
       6/9/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       6/9/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       6/9/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.98
       6/9/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.91
       6/9/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.78
       6/9/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                       100
       6/9/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       6/9/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       6/9/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       6/9/2018    709   EO0014   Owner Operator   Charge back by affiliate       CTMS - 213741 TW FG5455                -36.5
       6/9/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13

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       6/9/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          495.8
       6/9/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.48
       6/9/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.54
       6/9/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.79
       6/9/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.31
       6/9/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
       6/9/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       6/9/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       6/9/2018    709   EO0014   Owner Operator   Repair Order                   CTMS - 213612 Truck Repair                70
       6/9/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       6/9/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       6/9/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.07
       6/9/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          494.9
       6/9/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.22
       6/9/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
       6/9/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       6/9/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 213717 truck lease 3304        434.29
       6/9/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/9/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       6/9/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.89
       6/9/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.94
       6/9/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
       6/9/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       6/9/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       6/9/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       6/9/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.53
       6/9/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
       6/9/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       6/9/2018    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00336959 - PO System           18.27
       6/9/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 213627 Lease                   252.11
       6/9/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       6/9/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       6/9/2018    709   GW0043   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-16        -806.61
       6/9/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/9/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.76
       6/9/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.42
       6/9/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.72
       6/9/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.08
       6/9/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
       6/9/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       6/9/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 213710 Q1109 Lease             302.85
       6/9/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       6/9/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       6/9/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.91
       6/9/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.57
       6/9/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.46
       6/9/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
       6/9/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       6/9/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 213612 Truck Rental              300
       6/9/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 213623 Q13170                  352.68
       6/9/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       6/9/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       6/9/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/9/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.64
       6/9/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          592.8
       6/9/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100
       6/9/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       6/9/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75

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       6/9/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       6/9/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.79
       6/9/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                       100
       6/9/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       6/9/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       6/9/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/9/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       6/9/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.07
       6/9/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.64
       6/9/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          236.5
       6/9/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.58
       6/9/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
       6/9/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       6/9/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/9/2018    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00370629 - PO System          278.66
       6/9/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       6/9/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       6/9/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
       6/9/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/9/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       6/9/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.83
       6/9/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.83
       6/9/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.83
       6/9/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.83
       6/9/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.83
       6/9/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
       6/9/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       6/9/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       6/9/2018    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
       6/9/2018    709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 213741 TW 702097                -33.5
       6/9/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       6/9/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       6/9/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/9/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/9/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.16
       6/9/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.25
       6/9/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.67
       6/9/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.97
       6/9/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.82
       6/9/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.32
       6/9/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                      100
       6/9/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       6/9/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
       6/9/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 213672 Q13197 Lease            276.63
       6/9/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/9/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       6/9/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
       6/9/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       6/9/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       6/9/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         567.42
       6/9/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.15
       6/9/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
       6/9/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       6/9/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       6/9/2018    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       6/9/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/9/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       6/9/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/9/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/9/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.19
       6/9/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         621.24
       6/9/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.14
       6/9/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.01
       6/9/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64

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       6/9/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       6/9/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       6/9/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       6/9/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       6/9/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         601.31
       6/9/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.35
       6/9/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.22
       6/9/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                       100
       6/9/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
       6/9/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       6/9/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       6/9/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-2             806
       6/9/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/9/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/9/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          334.5
       6/9/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                       100
       6/9/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       6/9/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       6/9/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       6/9/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.53
       6/9/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                       100
       6/9/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       6/9/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 213599 Truck Lease             278.76
       6/9/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       6/9/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       6/9/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       6/9/2018    709   JS0265   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-16         -427.8
       6/9/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       6/9/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.95
       6/9/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.79
       6/9/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.05
       6/9/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          512.1
       6/9/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                       100
       6/9/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       6/9/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       6/9/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       6/9/2018    709   JS0265   Owner Operator   Truck Payment                  CTMS - 213611 Truck Rental              400
       6/9/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/9/2018    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
       6/9/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       6/9/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       6/9/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/9/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/9/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/9/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/9/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/9/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/9/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           358
       6/9/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.06
       6/9/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.72
       6/9/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           409
       6/9/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.12
       6/9/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
       6/9/2018    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         265.33
       6/9/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       6/9/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/9/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       6/9/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       6/9/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       6/9/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                       100
       6/9/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       6/9/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 213587 Lease Q1111             252.11
       6/9/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75

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       6/9/2018    709   LS0023   Owner Operator   Charge back by affiliate       CTMS - 213741 Trailer washTL92         -36.5
       6/9/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       6/9/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.09
       6/9/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         608.56
       6/9/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                       100
       6/9/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       6/9/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       6/9/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       6/9/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       6/9/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.02
       6/9/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.47
       6/9/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.66
       6/9/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.47
       6/9/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.28
       6/9/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                       100
       6/9/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       6/9/2018    709   ME0053   Owner Operator   Repair Order                   CTMS - 213611 Road Service             675.9
       6/9/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 213623 Q1113 Lease             252.11
       6/9/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       6/9/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       6/9/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.08
       6/9/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.01
       6/9/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.02
       6/9/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                       100
       6/9/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       6/9/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       6/9/2018    709   MG0067   Owner Operator   Truck Payment                  CTMS - 213611 Truck Rental              500
       6/9/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       6/9/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       6/9/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
       6/9/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              40
       6/9/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              50
       6/9/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       6/9/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
       6/9/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.95
       6/9/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.33
       6/9/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
       6/9/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       6/9/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       6/9/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       6/9/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       6/9/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       6/9/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
       6/9/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.34
       6/9/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.24
       6/9/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                       100
       6/9/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       6/9/2018    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00348930 - PO System          227.09
       6/9/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 213716 Lease                   215.66
       6/9/2018    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       6/9/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       6/9/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       6/9/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.1
       6/9/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          380.3
       6/9/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                      100
       6/9/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       6/9/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       6/9/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       6/9/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                       100
       6/9/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       6/9/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 213774 Truck 73130 Leas        196.65
       6/9/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75

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       6/9/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       6/9/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.23
       6/9/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.66
       6/9/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       6/9/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       6/9/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
       6/9/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/9/2018    709   RC0089   Owner Operator   Communication Charge           PNet Hware 32986                          13
       6/9/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/9/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/9/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          393.7
       6/9/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.62
       6/9/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       6/9/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       6/9/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       6/9/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/9/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   32910 2013 Freightliner NTL             8.75
       6/9/2018    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
       6/9/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       6/9/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       6/9/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
       6/9/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
       6/9/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       6/9/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD             51.57
       6/9/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD Ter           2.5
       6/9/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       6/9/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/9/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       6/9/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.69
       6/9/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.61
       6/9/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.74
       6/9/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
       6/9/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       6/9/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       6/9/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       6/9/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
       6/9/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/9/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.11
       6/9/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.22
       6/9/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
       6/9/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
       6/9/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       6/9/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       6/9/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       6/9/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          364.9
       6/9/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         569.85
       6/9/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
       6/9/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       6/9/2018    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       6/9/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       6/9/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       6/9/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.27
       6/9/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.45
       6/9/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
       6/9/2018    709   RP0082   Owner Operator   Loan Repayment                 EFS 192300                           -3385.6
       6/9/2018    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         264.66
       6/9/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       6/9/2018    709   RP0082   Owner Operator   T Chek Fee                     ExpressCheck Fee                       33.52
       6/9/2018    709   RP0082   Owner Operator   T Chek Fee                     Tractor Repair Q1202                 3352.08
       6/9/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 213599 Q1202 Truck Leas        278.76
       6/9/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 213612 Truck Rental              400
       6/9/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       6/9/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       6/9/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100

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       6/9/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       6/9/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          495.19
       6/9/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          480.79
       6/9/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          577.17
       6/9/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                        100
       6/9/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/9/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                 65.08
       6/9/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror            2.5
       6/9/2018    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00369879 - PO System            452.3
       6/9/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 213629 Q1248                    311.97
       6/9/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
       6/9/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                           13
       6/9/2018    709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                    -1062.52
       6/9/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
       6/9/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
       6/9/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       6/9/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          409.92
       6/9/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.44
       6/9/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           26.23
       6/9/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.81
       6/9/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                       33.64
       6/9/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/9/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   100.98
       6/9/2018    709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                        10.52
       6/9/2018    709   SB0009   Owner Operator   T Chek Fee                     Tractor Repair 33236                    1052
       6/9/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
       6/9/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
       6/9/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
       6/9/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                              50
       6/9/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          313.14
       6/9/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          348.47
       6/9/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          465.37
       6/9/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.22
       6/9/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                        100
       6/9/2018    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          343.05
       6/9/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/9/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
       6/9/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
       6/9/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 213595 Sub Lease                388.33
       6/9/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 213611 Truck Rental               500
       6/9/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
       6/9/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                            100
       6/9/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          465.89
       6/9/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          532.81
       6/9/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                       33.64
       6/9/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/9/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
       6/9/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
       6/9/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                     59.45
       6/9/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
       6/9/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
       6/9/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
       6/9/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
       6/9/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       6/9/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       6/9/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.97
       6/9/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           253.4
       6/9/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.48
       6/9/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          306.49
       6/9/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/9/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
       6/9/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
       6/9/2018    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                     12.5
       6/9/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
       6/9/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          644.05
       6/9/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          499.07
       6/9/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                        100
       6/9/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/9/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
       6/9/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 213627 Tractor Sub leas         242.03
       6/9/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    154.84
       6/9/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
       6/9/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8

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       6/9/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       6/9/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
       6/9/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
       6/9/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
       6/9/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
       6/9/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.88
       6/9/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.83
       6/9/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.37
       6/9/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.51
       6/9/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                       100
       6/9/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       6/9/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       6/9/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       6/9/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-2               60
       6/9/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       6/9/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       6/9/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       6/9/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       6/9/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              50
       6/9/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       6/9/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.99
       6/9/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.11
       6/9/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.67
       6/9/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.74
       6/9/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.94
       6/9/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                       100
       6/9/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       6/9/2018    709   WH0087   Owner Operator   Repair Order                   CTMS - 213611 Repair                  131.26
       6/9/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 213629 Q1238 Lease             311.97
       6/9/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       6/9/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       6/9/2018    742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-2           133.56
       6/9/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/9/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/9/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/9/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/9/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.41
       6/9/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.48
       6/9/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       6/9/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       6/9/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/9/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       6/9/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.42
       6/9/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.05
       6/9/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         764.57
       6/9/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                       100
       6/9/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       6/9/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       6/9/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       6/9/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       6/9/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.87
       6/9/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.11
       6/9/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                       100
       6/9/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       6/9/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       6/9/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       6/9/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.56
       6/9/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.76
       6/9/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.26
       6/9/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.89
       6/9/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                      100
       6/9/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
       6/9/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       6/9/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 213670 Sub Lease Q13171        352.68
       6/9/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/9/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13

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       6/9/2018    742   DA0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-16        -133.56
       6/9/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.93
       6/9/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                       100
       6/9/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       6/9/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/9/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       6/9/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/9/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.57
       6/9/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                           500
       6/9/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.83
       6/9/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100
       6/9/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       6/9/2018    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 213811 2-Trailer Washes         -86.5
       6/9/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       6/9/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/9/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.35
       6/9/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.27
       6/9/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.14
       6/9/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.74
       6/9/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
       6/9/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       6/9/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       6/9/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 213778 Trk 33487 Lease          434.2
       6/9/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
       6/9/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/9/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       6/9/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                       100
       6/9/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       6/9/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       6/9/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       6/9/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       6/9/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          158.5
       6/9/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.9
       6/9/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.33
       6/9/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.88
       6/9/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.54
       6/9/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
       6/9/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       6/9/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       6/9/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/9/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       6/9/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/9/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/9/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.28
       6/9/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.11
       6/9/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.23
       6/9/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.22
       6/9/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
       6/9/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       6/9/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/9/2018    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00370630 - PO System          208.81
       6/9/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       6/9/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       6/9/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       6/9/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       6/9/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       6/9/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       6/9/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       6/9/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/9/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                       100
       6/9/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       6/9/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       6/9/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
       6/9/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       6/9/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13

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       6/9/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/9/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.77
       6/9/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.89
       6/9/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.26
       6/9/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                       100
       6/9/2018    742   MS0230   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         346.46
       6/9/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       6/9/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       6/9/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       6/9/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       6/9/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/9/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/9/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.06
       6/9/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.63
       6/9/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.56
       6/9/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.51
       6/9/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                       100
       6/9/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       6/9/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       6/9/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       6/9/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
       6/9/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/9/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
       6/9/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       6/9/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       6/9/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/9/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       6/9/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       6/9/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/9/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/9/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/9/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/9/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.65
       6/9/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.76
       6/9/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.97
       6/9/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          336.6
       6/9/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
       6/9/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       6/9/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       6/9/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       6/9/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       6/9/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/9/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/9/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/9/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.88
       6/9/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.16
       6/9/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.16
       6/9/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.53
       6/9/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.92
       6/9/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.29
       6/9/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.17
       6/9/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.22
       6/9/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.68
       6/9/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                       100
       6/9/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       6/9/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       6/9/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       6/9/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.39
       6/9/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.75
       6/9/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.38
       6/9/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
       6/9/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       6/9/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       6/9/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 213598 Tractor Lease           353.28
       6/9/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       6/9/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       6/9/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/9/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         605.69

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       6/9/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.34
       6/9/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
       6/9/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       6/9/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       6/9/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
       6/9/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       6/9/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       6/9/2018    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-16         -83.76
       6/9/2018    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-16         -83.76
       6/9/2018    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-16         -83.76
       6/9/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
       6/9/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       6/9/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       6/9/2018    742   SK0049   Owner Operator   T Chek Fee                     ExpressCheck Fee                         5.8
       6/9/2018    742   SK0049   Owner Operator   T Chek Fee                     Towing 33934                            580
       6/9/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
       6/9/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
       6/9/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       6/9/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       6/9/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       6/9/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       6/9/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.49
       6/9/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.61
       6/9/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.27
       6/9/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.66
       6/9/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.2
       6/9/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
       6/9/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
       6/9/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       6/9/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       6/9/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       6/9/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       6/9/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       6/9/2018    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
       6/9/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       6/9/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         647.04
       6/9/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/9/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       6/9/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      6/16/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      6/16/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      6/16/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.75
      6/16/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
      6/16/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      6/16/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      6/16/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      6/16/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      6/16/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.67
      6/16/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.99
      6/16/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.28
      6/16/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.06
      6/16/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.13
      6/16/2018    709   AR0064   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax             746
      6/16/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
      6/16/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      6/16/2018    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00372111 - PO System          215.64
      6/16/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 213989 Q13147 Lease            440.14
      6/16/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                     9.44
      6/16/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      6/16/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.75
      6/16/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.25
      6/16/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.12
      6/16/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.02
      6/16/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.74
      6/16/2018    709   AV0021   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            69.38
      6/16/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100

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      6/16/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      6/16/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 213948 Q13169 Sublease         352.68
      6/16/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      6/16/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      6/16/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    709   BM0030   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           527.13
      6/16/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                       100
      6/16/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      6/16/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      6/16/2018    709   BM0030   Owner Operator   Tire Fee                       Tire Fee: 2139558                          8
      6/16/2018    709   BM0030   Owner Operator   Tire Purchase                  PO: 709-00372081 - PO System          265.15
      6/16/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      6/16/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      6/16/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         617.34
      6/16/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          476.7
      6/16/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.37
      6/16/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.49
      6/16/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.47
      6/16/2018    709   CC0134   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           227.42
      6/16/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                      100
      6/16/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      6/16/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 213890 Q13168 sub lease        352.68
      6/16/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/16/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      6/16/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/16/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/16/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         594.88
      6/16/2018    709   CM0119   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           115.89
      6/16/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      6/16/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      6/16/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/16/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      6/16/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      6/16/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      6/16/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/16/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/16/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.79
      6/16/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.34
      6/16/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.59
      6/16/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.89
      6/16/2018    709   CR0064   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           104.49
      6/16/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      6/16/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      6/16/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                          53.51
      6/16/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      6/16/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      6/16/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.34
      6/16/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                       100
      6/16/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      6/16/2018    709   CS0091   Owner Operator   Tire Fee                       Tire Fee: 2139332                          4
      6/16/2018    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00372115 - PO System          120.06
      6/16/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 213896 Q1201                   278.76
      6/16/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/16/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      6/16/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.57
      6/16/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.05
      6/16/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.67
      6/16/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.38
      6/16/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.33
      6/16/2018    709   DL0029   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           223.66
      6/16/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                       100
      6/16/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         261.21
      6/16/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      6/16/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      6/16/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      6/16/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300

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      6/16/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/16/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          423.8
      6/16/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.92
      6/16/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.49
      6/16/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.99
      6/16/2018    709   DL0107   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax             7.26
      6/16/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                       100
      6/16/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      6/16/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      6/16/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 213894 Truck rental              300
      6/16/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 213952 Sublease                338.99
      6/16/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      6/16/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/16/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      6/16/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/16/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/16/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.02
      6/16/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         600.25
      6/16/2018    709   DS0049   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            -2.96
      6/16/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      6/16/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      6/16/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      6/16/2018    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      6/16/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      6/16/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      6/16/2018    709   DS0225   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           -52.58
      6/16/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                       100
      6/16/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      6/16/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      6/16/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/16/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      6/16/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      6/16/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      6/16/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      6/16/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      6/16/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      6/16/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/16/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.76
      6/16/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.11
      6/16/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.29
      6/16/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.32
      6/16/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/16/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      6/16/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/16/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/16/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/16/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/16/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/16/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.31
      6/16/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.71
      6/16/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.97
      6/16/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.53
      6/16/2018    709   EA0003   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           124.86
      6/16/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      6/16/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      6/16/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      6/16/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      6/16/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      6/16/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.22
      6/16/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         619.73
      6/16/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.46
      6/16/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         754.46
      6/16/2018    709   EG0062   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            -5.29
      6/16/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                       100
      6/16/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      6/16/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      6/16/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75

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      6/16/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      6/16/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.39
      6/16/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.49
      6/16/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.38
      6/16/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.78
      6/16/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
      6/16/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      6/16/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      6/16/2018    709   EO0014   Owner Operator   Tire Fee                       Tire Fee: 2139683                          4
      6/16/2018    709   EO0014   Owner Operator   Tire Purchase                  PO: 709-00372345 - PO System           96.76
      6/16/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      6/16/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      6/16/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.48
      6/16/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.07
      6/16/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.28
      6/16/2018    709   FS0039   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            20.85
      6/16/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
      6/16/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      6/16/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 214001 truck lease 3304        434.29
      6/16/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/16/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      6/16/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         639.87
      6/16/2018    709   FV0001   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            34.62
      6/16/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
      6/16/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      6/16/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      6/16/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      6/16/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.39
      6/16/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.22
      6/16/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
      6/16/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      6/16/2018    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00336959 - PO System           18.23
      6/16/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 213895 Lease                   252.11
      6/16/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      6/16/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      6/16/2018    709   GW0043   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-9           806.61
      6/16/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.13
      6/16/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.68
      6/16/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
      6/16/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      6/16/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 213994 Q1109 Lease             302.85
      6/16/2018    709   HC0023   Owner Operator   Advance                        EFS 193033 - s/u $250/wk              -959.5
      6/16/2018    709   HC0023   Owner Operator   Advance                        EFS 193033 - s/u 2 weeks                250
      6/16/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      6/16/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      6/16/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.88
      6/16/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.33
      6/16/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.93
      6/16/2018    709   HC0023   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           -15.29
      6/16/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
      6/16/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      6/16/2018    709   HC0023   Owner Operator   T Chek Fee                     ExpressCheck Fee                         9.5
      6/16/2018    709   HC0023   Owner Operator   T Chek Fee                     Towing Q13170                           950
      6/16/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 213891 Q13170                  352.68
      6/16/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      6/16/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      6/16/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/16/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/16/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.07
      6/16/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.14
      6/16/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.77
      6/16/2018    709   HG0007   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            72.74
      6/16/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100
      6/16/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63

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      6/16/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/16/2018    709   HG0027   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           144.14
      6/16/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                       100
      6/16/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      6/16/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      6/16/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/16/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      6/16/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.39
      6/16/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.4
      6/16/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          436.2
      6/16/2018    709   IR0002   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           -61.21
      6/16/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      6/16/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      6/16/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/16/2018    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00370629 - PO System          278.66
      6/16/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      6/16/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/16/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      6/16/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.83
      6/16/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      6/16/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      6/16/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      6/16/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      6/16/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      6/16/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      6/16/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/16/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/16/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.71
      6/16/2018    709   JC0292   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            42.86
      6/16/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                      100
      6/16/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      6/16/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      6/16/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 213950 Q13197 Lease            276.63
      6/16/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/16/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      6/16/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      6/16/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/16/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/16/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/16/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/16/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.65
      6/16/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          495.6
      6/16/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.25
      6/16/2018    709   JG0017   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           -14.15
      6/16/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      6/16/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      6/16/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      6/16/2018    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      6/16/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/16/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      6/16/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/16/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/16/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/16/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/16/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.3
      6/16/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.92
      6/16/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.03
      6/16/2018    709   JG0072   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           268.66
      6/16/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      6/16/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      6/16/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      6/16/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/16/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      6/16/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/16/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/16/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.41

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      6/16/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.05
      6/16/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.19
      6/16/2018    709   JG0092   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax             10.92
      6/16/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                        100
      6/16/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/16/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       35.16
      6/16/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                    8.75
      6/16/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                           13
      6/16/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           300.2
      6/16/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          125.45
      6/16/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                        100
      6/16/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/16/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                    19.54
      6/16/2018    709   JR0099   Owner Operator   Accident Claim                 06/06/18 JR0099 Incident              1395.67
      6/16/2018    709   JR0099   Owner Operator   Advance                        06/06/18 Clm 69589-1 s/u pmts        -1395.67
      6/16/2018    709   JR0099   Owner Operator   Advance                        6/6/18 Clm 69589-1 s/u pmts              250
      6/16/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL              8.75
      6/16/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                           13
      6/16/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          518.55
      6/16/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                        100
      6/16/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/16/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD               58.6
      6/16/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 213856 Truck Lease              278.76
      6/16/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                     8.75
      6/16/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                        8.75
      6/16/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                           13
      6/16/2018    709   JS0265   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-9             427.8
      6/16/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      6/16/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/16/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      6/16/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          302.35
      6/16/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.35
      6/16/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          473.78
      6/16/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.98
      6/16/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          515.91
      6/16/2018    709   JS0265   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            159.39
      6/16/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                        100
      6/16/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            2.51
      6/16/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/16/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                     15.94
      6/16/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                         37.5
      6/16/2018    709   JS0265   Owner Operator   Truck Payment                  CTMS - 213851 Truck Rental               400
      6/16/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      6/16/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                           13
      6/16/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      6/16/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/16/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/16/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      6/16/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      6/16/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            385
      6/16/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          381.03
      6/16/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.41
      6/16/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          440.51
      6/16/2018    709   KP0004   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            611.39
      6/16/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                       33.64
      6/16/2018    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment          265.33
      6/16/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/16/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.32
      6/16/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      6/16/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                          519.59
      6/16/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
      6/16/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                            8
      6/16/2018    709   LL0160   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            434.71
      6/16/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                        100
      6/16/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              39.07
      6/16/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 213843 Lease Q1111              252.11
      6/16/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                    8.75
      6/16/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                           13
      6/16/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/16/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/16/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      6/16/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      6/16/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          613.12

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      6/16/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         777.38
      6/16/2018    709   LS0023   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            -0.01
      6/16/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                       100
      6/16/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      6/16/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      6/16/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/16/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/16/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      6/16/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      6/16/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.72
      6/16/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.61
      6/16/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.71
      6/16/2018    709   MA0092   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           123.34
      6/16/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                       100
      6/16/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                       100
      6/16/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      6/16/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      6/16/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      6/16/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      6/16/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.67
      6/16/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.1
      6/16/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.72
      6/16/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.34
      6/16/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                       100
      6/16/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      6/16/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 213890 Q1113 Lease             252.11
      6/16/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/16/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      6/16/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.04
      6/16/2018    709   MG0067   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax              -39
      6/16/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                       100
      6/16/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      6/16/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/16/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/16/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      6/16/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      6/16/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              60
      6/16/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      6/16/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.09
      6/16/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      6/16/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      6/16/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/16/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      6/16/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      6/16/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      6/16/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      6/16/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/16/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/16/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.37
      6/16/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         620.17
      6/16/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.71
      6/16/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.54
      6/16/2018    709   NB0029   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           212.82
      6/16/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                       100
      6/16/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      6/16/2018    709   NB0029   Owner Operator   Tire Fee                       Tire Fee: 2139567                         40
      6/16/2018    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00348930 - PO System          227.09
      6/16/2018    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00371688 - PO System          572.49
      6/16/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 214000 Lease                   215.66
      6/16/2018    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      6/16/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      6/16/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      6/16/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/16/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3

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      6/16/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.09
      6/16/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.26
      6/16/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                      100
      6/16/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      6/16/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      6/16/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      6/16/2018    709   NT9564   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           146.89
      6/16/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                       100
      6/16/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      6/16/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 214052 Truck 73130 Leas        196.65
      6/16/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      6/16/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      6/16/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.98
      6/16/2018    709   RC0030   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           686.72
      6/16/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      6/16/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      6/16/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      6/16/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/16/2018    709   RC0089   Owner Operator   Communication Charge           PNet Hware 32986                          13
      6/16/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/16/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/16/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/16/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/16/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.28
      6/16/2018    709   RC0089   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           -65.79
      6/16/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      6/16/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      6/16/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      6/16/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/16/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   32910 2013 Freightliner NTL             8.75
      6/16/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      6/16/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/16/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.24
      6/16/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         620.87
      6/16/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.27
      6/16/2018    709   RL0017   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           -36.93
      6/16/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      6/16/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      6/16/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      6/16/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD             51.57
      6/16/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD Ter           2.5
      6/16/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      6/16/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/16/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      6/16/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/16/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/16/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         626.97
      6/16/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.94
      6/16/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.54
      6/16/2018    709   RL0062   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           213.06
      6/16/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      6/16/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      6/16/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      6/16/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/16/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      6/16/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         600.32
      6/16/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.39
      6/16/2018    709   RL0180   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           229.21
      6/16/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
      6/16/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      6/16/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      6/16/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      6/16/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      6/16/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.88
      6/16/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.27

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      6/16/2018    709   RM0026   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           180.64
      6/16/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
      6/16/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      6/16/2018    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      6/16/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      6/16/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      6/16/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.12
      6/16/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.41
      6/16/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
      6/16/2018    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         264.66
      6/16/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      6/16/2018    709   RP0082   Owner Operator   Tire Fee                       Tire PO709-00368488 6/16/18: q            12
      6/16/2018    709   RP0082   Owner Operator   Tire Purchase                  Tire PO709-00368488 6/16/1            358.01
      6/16/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 213851 Truck Rental              400
      6/16/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 213856 Q1202 Truck Leas        278.76
      6/16/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      6/16/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      6/16/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/16/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/16/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.71
      6/16/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.59
      6/16/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          533.6
      6/16/2018    709   RR0123   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           129.21
      6/16/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100
      6/16/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      6/16/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      6/16/2018    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00369879 - PO System           452.3
      6/16/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 213896 Q1248                   311.97
      6/16/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      6/16/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      6/16/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      6/16/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.17
      6/16/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.08
      6/16/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.14
      6/16/2018    709   SB0009   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           226.34
      6/16/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      6/16/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      6/16/2018    709   SB0009   Owner Operator   Tire Fee                       Tire Fee: 2139330                         32
      6/16/2018    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00372114 - PO System          675.92
      6/16/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      6/16/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      6/16/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      6/16/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.76
      6/16/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.52
      6/16/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.88
      6/16/2018    709   SB0103   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           255.61
      6/16/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                       100
      6/16/2018    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         343.05
      6/16/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      6/16/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      6/16/2018    709   SB0103   Owner Operator   Tire Fee                       Tire Fee: 2139690                          8
      6/16/2018    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00372344 - PO System           188.5
      6/16/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 213852 Sub Lease               388.33
      6/16/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      6/16/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/16/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.37
      6/16/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         611.47
      6/16/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           514
      6/16/2018    709   SM0109   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           314.53
      6/16/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      6/16/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      6/16/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      6/16/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      6/16/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      6/16/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      6/16/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      6/16/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/16/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/16/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/16/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.37
      6/16/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.78
      6/16/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.92
      6/16/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.17
      6/16/2018    709   SN0019   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           261.39
      6/16/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      6/16/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      6/16/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      6/16/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.84
      6/16/2018    709   VB0015   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           -42.79
      6/16/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                       100
      6/16/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      6/16/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 213895 Tractor Sub leas        242.03
      6/16/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      6/16/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/16/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      6/16/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      6/16/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/16/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/16/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.4
      6/16/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.27
      6/16/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.06
      6/16/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.85
      6/16/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.95
      6/16/2018    709   VJ0006   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           108.43
      6/16/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                       100
      6/16/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      6/16/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/16/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      6/16/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      6/16/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      6/16/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      6/16/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      6/16/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          451.8
      6/16/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.13
      6/16/2018    709   WH0087   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           312.15
      6/16/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                       100
      6/16/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      6/16/2018    709   WH0087   Owner Operator   Tire Fee                       Tire Fee: 2139609                         32
      6/16/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00372112 - PO System           671.6
      6/16/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 213889 Q1238 Lease             311.97
      6/16/2018    742   AS0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-19           11.88
      6/16/2018    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33912                      28.75
      6/16/2018    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33912                       100
      6/16/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/16/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      6/16/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.13
      6/16/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         566.76
      6/16/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         566.44
      6/16/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          181.2
      6/16/2018    742   BS0078   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           223.54
      6/16/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                       100
      6/16/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      6/16/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/16/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      6/16/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      6/16/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                       100
      6/16/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      6/16/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      6/16/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      6/16/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.34
      6/16/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.64
      6/16/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                      100

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      6/16/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      6/16/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      6/16/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 213948 Sub Lease Q13171        352.68
      6/16/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/16/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      6/16/2018    742   DA0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-9           133.56
      6/16/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.07
      6/16/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.49
      6/16/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.61
      6/16/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           410
      6/16/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           13.7
      6/16/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
      6/16/2018    742   DA0067   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           275.26
      6/16/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                       100
      6/16/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      6/16/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/16/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      6/16/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.58
      6/16/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         621.98
      6/16/2018    742   DC0117   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            57.09
      6/16/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100
      6/16/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      6/16/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      6/16/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.18
      6/16/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.47
      6/16/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.85
      6/16/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.37
      6/16/2018    742   DS0254   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           742.78
      6/16/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
      6/16/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      6/16/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      6/16/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      6/16/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      6/16/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.6
      6/16/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.78
      6/16/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.51
      6/16/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.74
      6/16/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.15
      6/16/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.74
      6/16/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.82
      6/16/2018    742   ED0041   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            49.99
      6/16/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
      6/16/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      6/16/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      6/16/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/16/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      6/16/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/16/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/16/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.73
      6/16/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.75
      6/16/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.75
      6/16/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.58
      6/16/2018    742   EN0016   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           175.78
      6/16/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      6/16/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      6/16/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/16/2018    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00370630 - PO System          208.81
      6/16/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      6/16/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      6/16/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      6/16/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      6/16/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      6/16/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/16/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      6/16/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                       100

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      6/16/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      6/16/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/16/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      6/16/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      6/16/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      6/16/2018    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-23         -201.5
      6/16/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.15
      6/16/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.92
      6/16/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.35
      6/16/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.23
      6/16/2018    742   MS0230   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            69.35
      6/16/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                       100
      6/16/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      6/16/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      6/16/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      6/16/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      6/16/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/16/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/16/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.7
      6/16/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.02
      6/16/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.89
      6/16/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.7
      6/16/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.62
      6/16/2018    742   NG0024   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           250.82
      6/16/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                       100
      6/16/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      6/16/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      6/16/2018    742   NG0024   Owner Operator   Tire Fee                       Tire Fee: 2137628                          4
      6/16/2018    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00373126 - PO System           248.3
      6/16/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/16/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      6/16/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    742   OS0018   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           570.73
      6/16/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      6/16/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      6/16/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      6/16/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/16/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      6/16/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      6/16/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/16/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/16/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/16/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/16/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.86
      6/16/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.99
      6/16/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.46
      6/16/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.49
      6/16/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.41
      6/16/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          393.4
      6/16/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.67
      6/16/2018    742   PC0012   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           157.05
      6/16/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      6/16/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      6/16/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      6/16/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      6/16/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      6/16/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/16/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/16/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/16/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/16/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.24
      6/16/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.58
      6/16/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.84
      6/16/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.41
      6/16/2018    742   RF0136   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            66.33
      6/16/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                       100
      6/16/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      6/16/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      6/16/2018    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                        8.79
      6/16/2018    742   RF0136   Owner Operator   T Chek Fee                     Tractor Repair 34182                  879.48
      6/16/2018    742   RF0136   Owner Operator   Tire Fee                       Tire Fee: 2132462                          4
      6/16/2018    742   RF0136   Owner Operator   Tire Purchase                  PO: 742-00371739 - PO System          122.03
      6/16/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      6/16/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      6/16/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.11
      6/16/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.94
      6/16/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.87
      6/16/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.18
      6/16/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.75
      6/16/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.95
      6/16/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.33
      6/16/2018    742   RN0054   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            327.7
      6/16/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
      6/16/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      6/16/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      6/16/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 213855 Tractor Lease           353.28
      6/16/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      6/16/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      6/16/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/16/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.88
      6/16/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.58
      6/16/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.01
      6/16/2018    742   RS0342   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           486.96
      6/16/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
      6/16/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      6/16/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      6/16/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      6/16/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/16/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      6/16/2018    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-9            83.76
      6/16/2018    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-9            83.76
      6/16/2018    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-9            83.76
      6/16/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      6/16/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      6/16/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      6/16/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      6/16/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/16/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      6/16/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.67
      6/16/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         630.67
      6/16/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.16
      6/16/2018    742   TH0130   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           147.92
      6/16/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
      6/16/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      6/16/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/16/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      6/16/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      6/16/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          421.5
      6/16/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         670.76
      6/16/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.49
      6/16/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.72
      6/16/2018    843   EI0003   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax           211.09
      6/16/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/16/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      6/16/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      6/23/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      6/23/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      6/23/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                              40
      6/23/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      6/23/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.97
      6/23/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
      6/23/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      6/23/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      6/23/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75

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      6/23/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      6/23/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.34
      6/23/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.57
      6/23/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.78
      6/23/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.45
      6/23/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.13
      6/23/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
      6/23/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      6/23/2018    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00372111 - PO System          215.64
      6/23/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 214245 Q13147 Lease            440.14
      6/23/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      6/23/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    50.51
      6/23/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      6/23/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      6/23/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      6/23/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           125
      6/23/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.01
      6/23/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.15
      6/23/2018    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 129.16
      6/23/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100
      6/23/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      6/23/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 214203 Q13169 Sublease         352.68
      6/23/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      6/23/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      6/23/2018    709   BM0030   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                       100
      6/23/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      6/23/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      6/23/2018    709   BM0030   Owner Operator   Tire Purchase                  PO: 709-00372081 - PO System          265.15
      6/23/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      6/23/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      6/23/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.74
      6/23/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.25
      6/23/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.03
      6/23/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           16.9
      6/23/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                      100
      6/23/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      6/23/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 214167 Q13168 sub lease        352.68
      6/23/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/23/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      6/23/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/23/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         606.46
      6/23/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.04
      6/23/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      6/23/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      6/23/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/23/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      6/23/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      6/23/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      6/23/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.15
      6/23/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          406.8
      6/23/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.67
      6/23/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      6/23/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      6/23/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                          53.51
      6/23/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      6/23/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      6/23/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.84
      6/23/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                       100
      6/23/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      6/23/2018    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00372115 - PO System          120.06
      6/23/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 214166 Q1201                   278.76
      6/23/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/23/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      6/23/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.95

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      6/23/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.27
      6/23/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.87
      6/23/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.62
      6/23/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                        100
      6/23/2018    709   DL0029   Owner Operator   Loan Repayment                 Balance of Loan 10                   3086.78
      6/23/2018    709   DL0029   Owner Operator   Loan Repayment                 efs 193694, BAL LN 3,086.78         -5021.78
      6/23/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         257.22
      6/23/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      6/23/2018    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                       19.16
      6/23/2018    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                 1915.84
      6/23/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      6/23/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      6/23/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      6/23/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/23/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.41
      6/23/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         594.63
      6/23/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.15
      6/23/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                        100
      6/23/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      6/23/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      6/23/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 214171 Truck rental               300
      6/23/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 214206 Sublease                338.99
      6/23/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      6/23/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/23/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      6/23/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      6/23/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/23/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.03
      6/23/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         766.83
      6/23/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      6/23/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      6/23/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      6/23/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      6/23/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      6/23/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          670.2
      6/23/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.78
      6/23/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                        100
      6/23/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      6/23/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      6/23/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      6/23/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      6/23/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.08
      6/23/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.38
      6/23/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/23/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      6/23/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      6/23/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/23/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/23/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         742.07
      6/23/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         619.57
      6/23/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      6/23/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      6/23/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      6/23/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/23/2018    709   EE0011   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  26.25
      6/23/2018    709   EE0011   Owner Operator   ESCROW                         Final Balance Refund                   -3000
      6/23/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance                             300
      6/23/2018    709   EE0011   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/23/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.62
      6/23/2018    709   EE0011   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.49
      6/23/2018    709   EE0011   Owner Operator   FUEL TAX                       Mar 2018 Fuel/Mileage Tax               0.63
      6/23/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      6/23/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      6/23/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          142.5
      6/23/2018    709   EE0011   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      6/23/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.92
      6/23/2018    709   EE0011   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  275.75
      6/23/2018    709   EE0011   Owner Operator   Repair Order                   CTMS - 212658 Tractor 32910 re        551.41
      6/23/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      6/23/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
      6/23/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      6/23/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      6/23/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.01
      6/23/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         683.28
      6/23/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                       100
      6/23/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      6/23/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      6/23/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      6/23/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      6/23/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.48
      6/23/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.44
      6/23/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
      6/23/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      6/23/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      6/23/2018    709   EO0014   Owner Operator   Tire Purchase                  PO: 709-00372345 - PO System           96.76
      6/23/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      6/23/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      6/23/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.97
      6/23/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           283
      6/23/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
      6/23/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      6/23/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 214243 truck lease 3304        434.29
      6/23/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/23/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      6/23/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/23/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.65
      6/23/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.03
      6/23/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
      6/23/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      6/23/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      6/23/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      6/23/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.64
      6/23/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
      6/23/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      6/23/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 214171 Lease                   252.11
      6/23/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      6/23/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      6/23/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.2
      6/23/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.29
      6/23/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.15
      6/23/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.14
      6/23/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
      6/23/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      6/23/2018    709   GW0043   Owner Operator   Repair Order                   CTMS - 214155 Repairs                 245.87
      6/23/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 214250 Q1109 Lease             302.85
      6/23/2018    709   HC0023   Owner Operator   Advance                        EFS 193033 - s/u 2 weeks                250
      6/23/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      6/23/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      6/23/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         527.37
      6/23/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
      6/23/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      6/23/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 214167 Q13170                  352.68
      6/23/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      6/23/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      6/23/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/23/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/23/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         657.18
      6/23/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100

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      6/23/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      6/23/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/23/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      6/23/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      6/23/2018    709   HG0027   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax             22.9
      6/23/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                        100
      6/23/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      6/23/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      6/23/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/23/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      6/23/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.78
      6/23/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.15
      6/23/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      6/23/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      6/23/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/23/2018    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00370629 - PO System          278.61
      6/23/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      6/23/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/23/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      6/23/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                            207
      6/23/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      6/23/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      6/23/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      6/23/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      6/23/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      6/23/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/23/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/23/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/23/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/23/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.72
      6/23/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.27
      6/23/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          342.8
      6/23/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                       100
      6/23/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      6/23/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      6/23/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 214205 Q13197 Lease            276.63
      6/23/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/23/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      6/23/2018    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
      6/23/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      6/23/2018    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         1500
      6/23/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      6/23/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/23/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          708.5
      6/23/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.45
      6/23/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      6/23/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      6/23/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      6/23/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/23/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      6/23/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             300
      6/23/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/23/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/23/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.48
      6/23/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.58
      6/23/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.36
      6/23/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      6/23/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      6/23/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      6/23/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/23/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      6/23/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                             200

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      6/23/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.26
      6/23/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         633.26
      6/23/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                       100
      6/23/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      6/23/2018    709   JG0092   Owner Operator   Truck Payment                  CTMS - 214155 Truck Rental              300
      6/23/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      6/23/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      6/23/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/23/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/23/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.32
      6/23/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.71
      6/23/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                       100
      6/23/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      6/23/2018    709   JR0099   Owner Operator   Advance                        6/6/18 Clm 69589-1 s/u pmts             250
      6/23/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      6/23/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      6/23/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.75
      6/23/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                       100
      6/23/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      6/23/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 214127 Truck Lease             278.76
      6/23/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      6/23/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      6/23/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      6/23/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/23/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/23/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          492.7
      6/23/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.31
      6/23/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.16
      6/23/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.15
      6/23/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                       100
      6/23/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      6/23/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      6/23/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      6/23/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/23/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      6/23/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/23/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/23/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/23/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/23/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/23/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.65
      6/23/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.35
      6/23/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          168.5
      6/23/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.51
      6/23/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           39.1
      6/23/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.07
      6/23/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      6/23/2018    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00008 - Loan Repayment         265.33
      6/23/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      6/23/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/23/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      6/23/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      6/23/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      6/23/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.5
      6/23/2018    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2018 - Q13156                      100
      6/23/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      6/23/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 214179 Q13156 Lease            388.16
      6/23/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      6/23/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      6/23/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                       100
      6/23/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      6/23/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 214117 Lease Q1111             252.11
      6/23/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      6/23/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      6/23/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/23/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      6/23/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.85
      6/23/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.38
      6/23/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                       100
      6/23/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      6/23/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      6/23/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/23/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      6/23/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.16
      6/23/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.85
      6/23/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                       100
      6/23/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      6/23/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      6/23/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      6/23/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.65
      6/23/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.09
      6/23/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                       100
      6/23/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      6/23/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 214167 Q1113 Lease             252.11
      6/23/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/23/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      6/23/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.01
      6/23/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                       100
      6/23/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      6/23/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/23/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/23/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      6/23/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      6/23/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            125
      6/23/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.25
      6/23/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.16
      6/23/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.18
      6/23/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.41
      6/23/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      6/23/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      6/23/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/23/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      6/23/2018    709   MP0035   Owner Operator   Truck Payment                  CTMS - 214155 Truck Rental              300
      6/23/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      6/23/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      6/23/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/23/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          402.5
      6/23/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         594.65
      6/23/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.75
      6/23/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                       100
      6/23/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      6/23/2018    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00371688 - PO System          459.82
      6/23/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 PTC Neshaminy Falls             -72.47
      6/23/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 PTC Neshaminy Falls              14.24
      6/23/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      6/23/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      6/23/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/23/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/23/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.05
      6/23/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.66
      6/23/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                      100
      6/23/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      6/23/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      6/23/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      6/23/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                       100
      6/23/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      6/23/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 214307 Truck 73130 Leas        196.65

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      6/23/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      6/23/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      6/23/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         597.79
      6/23/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      6/23/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      6/23/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.19
      6/23/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/23/2018    709   RC0089   Owner Operator   Communication Charge           PNet Hware 32986                          13
      6/23/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/23/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/23/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/23/2018    709   RC0089   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   RC0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.68
      6/23/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      6/23/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      6/23/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      6/23/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/23/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   32910 2013 Freightliner NTL             8.75
      6/23/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      6/23/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/23/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.99
      6/23/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      6/23/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      6/23/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      6/23/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD             51.57
      6/23/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD Ter           2.5
      6/23/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      6/23/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/23/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      6/23/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/23/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/23/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/23/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/23/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/23/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/23/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.24
      6/23/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           502
      6/23/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.23
      6/23/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.72
      6/23/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      6/23/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      6/23/2018    709   RL0062   Owner Operator   Repair Order                   TRACTOR 32912                             50
      6/23/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      6/23/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/23/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      6/23/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.56
      6/23/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
      6/23/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      6/23/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      6/23/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      6/23/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      6/23/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.87
      6/23/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
      6/23/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      6/23/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      6/23/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      6/23/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.25
      6/23/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
      6/23/2018    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         264.66
      6/23/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      6/23/2018    709   RP0082   Owner Operator   Tire Purchase                  Tire PO709-00368488 6/16/1            358.01
      6/23/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 214127 Q1202 Truck Leas        278.76
      6/23/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      6/23/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      6/23/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/23/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      6/23/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.52
      6/23/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.55
      6/23/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          535.7
      6/23/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100
      6/23/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      6/23/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      6/23/2018    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00369879 - PO System          452.25
      6/23/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 214166 Q1248                   311.97
      6/23/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      6/23/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      6/23/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         155.47
      6/23/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/23/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.22
      6/23/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.56
      6/23/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      6/23/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      6/23/2018    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00372114 - PO System          675.92
      6/23/2018    709   SB0009   Owner Operator   Toll Charges                   33236 ILTOLL 163rd St.                   6.5
      6/23/2018    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Kilpatrick Turnpike           8.65
      6/23/2018    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Turner Turnpike East         18.05
      6/23/2018    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Turner Turnpike West         18.05
      6/23/2018    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Will Rogers Turnpike         18.05
      6/23/2018    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Will Rogers Turnpike         18.05
      6/23/2018    709   SB0009   Owner Operator   Toll Charges                   33236 PTC Southern BW - Rt 22            2.5
      6/23/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      6/23/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      6/23/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      6/23/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.67
      6/23/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.64
      6/23/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.38
      6/23/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                       100
      6/23/2018    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         342.44
      6/23/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      6/23/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      6/23/2018    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00372344 - PO System           188.5
      6/23/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 214128 Sub Lease               388.33
      6/23/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      6/23/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      6/23/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      6/23/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/23/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/23/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/23/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/23/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.11
      6/23/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.18
      6/23/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.3
      6/23/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.13
      6/23/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      6/23/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      6/23/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      6/23/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           626
      6/23/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                       100
      6/23/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      6/23/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 214171 Tractor Sub leas        242.03
      6/23/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      6/23/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/23/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      6/23/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      6/23/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/23/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.62
      6/23/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.12
      6/23/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.57
      6/23/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                       100
      6/23/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51

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      6/23/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/23/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      6/23/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-30        -751.31
      6/23/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      6/23/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      6/23/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      6/23/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      6/23/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/23/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/23/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.21
      6/23/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.44
      6/23/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.73
      6/23/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                       100
      6/23/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      6/23/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00372112 - PO System           671.6
      6/23/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 214166 Q1238 Lease             311.97
      6/23/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      6/23/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      6/23/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      6/23/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      6/23/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/23/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/23/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.32
      6/23/2018    742   AP0047   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            75.99
      6/23/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      6/23/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      6/23/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      6/23/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      6/23/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/23/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      6/23/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         634.87
      6/23/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.78
      6/23/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         620.27
      6/23/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                       100
      6/23/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      6/23/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/23/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      6/23/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      6/23/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.69
      6/23/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.91
      6/23/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                      100
      6/23/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      6/23/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      6/23/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 214203 Sub Lease Q13171        352.68
      6/23/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/23/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      6/23/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           575
      6/23/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.49
      6/23/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.48
      6/23/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          420.7
      6/23/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.01
      6/23/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                       100
      6/23/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      6/23/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/23/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      6/23/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         737.44
      6/23/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.32
      6/23/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100
      6/23/2018    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Sam Houston - NE M             7
      6/23/2018    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Ship Channel Bridg             7
      6/23/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      6/23/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      6/23/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/23/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      6/23/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.98
      6/23/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.57
      6/23/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.33
      6/23/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.94
      6/23/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
      6/23/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      6/23/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      6/23/2018    742   DS0254   Owner Operator   Repair Order                   TRACTOR 33487                         103.19
      6/23/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 214056 Trk 33487 Lease          434.2
      6/23/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 214311 Trk 33487 Lease          434.2
      6/23/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      6/23/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      6/23/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/23/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/23/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      6/23/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      6/23/2018    742   EA0039   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax            93.97
      6/23/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                       100
      6/23/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                       100
      6/23/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      6/23/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      6/23/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/23/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/23/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      6/23/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      6/23/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
      6/23/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      6/23/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      6/23/2018    742   ED0041   Owner Operator   Toll Charges                   32897 OTA Turner Turnpike West         18.05
      6/23/2018    742   ED0041   Owner Operator   Toll Charges                   32897 OTA Will Rogers Turnpike         18.05
      6/23/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      6/23/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      6/23/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      6/23/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      6/23/2018    742   JS0390   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
      6/23/2018    742   JS0390   Owner Operator   T Chek Fee                     School Checks (Corp)                    300
      6/23/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/23/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      6/23/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                       100
      6/23/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      6/23/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/23/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      6/23/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      6/23/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      6/23/2018    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-16           201.5
      6/23/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.57
      6/23/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.38
      6/23/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                       100
      6/23/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      6/23/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      6/23/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      6/23/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      6/23/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      6/23/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      6/23/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/23/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/23/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.75
      6/23/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.05
      6/23/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.82
      6/23/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.14
      6/23/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                       100
      6/23/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      6/23/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      6/23/2018    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00373126 - PO System           248.3

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      6/23/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/23/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      6/23/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      6/23/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      6/23/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      6/23/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      6/23/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/23/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/23/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.81
      6/23/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.59
      6/23/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.79
      6/23/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.36
      6/23/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                       100
      6/23/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      6/23/2018    742   RF0136   Owner Operator   Tire Purchase                  PO: 742-00371739 - PO System          122.03
      6/23/2018    742   RF0136   Owner Operator   Toll Charges                   34182 HCTRA Ship Channel Bridg             7
      6/23/2018    742   RF0136   Owner Operator   Toll Charges                   34182 HCTRA Ship Channel Bridg             7
      6/23/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      6/23/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      6/23/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.17
      6/23/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.14
      6/23/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.53
      6/23/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
      6/23/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      6/23/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      6/23/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157 E470 PLAZA C                     16.6
      6/23/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157 E470 PLAZA D                       18
      6/23/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157 E470 PLAZA E                       18
      6/23/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 214131 Tractor Lease           353.28
      6/23/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      6/23/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      6/23/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/23/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.52
      6/23/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.61
      6/23/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
      6/23/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      6/23/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      6/23/2018    742   RS0342   Owner Operator   T Chek Fee                     ExpressCheck Fee                       16.39
      6/23/2018    742   RS0342   Owner Operator   T Chek Fee                     Tractor Repair 33738                 1639.42
      6/23/2018    742   RS0342   Owner Operator   Toll Charges                   33738 BATA Carquinez Bridge               25
      6/23/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      6/23/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/23/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      6/23/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      6/23/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      6/23/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      6/23/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      6/23/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/23/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      6/23/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.08
      6/23/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.35
      6/23/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.82
      6/23/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.15
      6/23/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.53
      6/23/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
      6/23/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      6/23/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/23/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
      6/23/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               25
      6/23/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      6/23/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      6/23/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.39
      6/23/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.7
      6/23/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/23/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22

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      6/23/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE         2014 Volvo PD Terrorism              2.5
      6/30/2018    709   AN0007   Owner Operator   Broker Pre Pass         DriveWyze TRK21157A                 9.84
      6/30/2018    709   AN0007   Owner Operator   Communication Charge    PNet Hware 21157A                     13
      6/30/2018    709   AN0007   Owner Operator   ESCROW                  Weekly Escrow                         50
      6/30/2018    709   AN0007   Owner Operator   Fuel Purchase           Fuel Purchase                     359.39
      6/30/2018    709   AN0007   Owner Operator   IRP License Deduction   LCIL:2018 - 21157A                  100
      6/30/2018    709   AN0007   Owner Operator   Toll Charges            21157A CATALINA VIEW SOUTH 10      21.96
      6/30/2018    709   AN0007   Owner Operator   Toll Charges            21157A TOMATO SPRINGS NORTH 11      5.04
      6/30/2018    709   AN0007   Owner Operator   Toll Charges            21157A TOMATO SPRINGS SOUTH 11     10.08
      6/30/2018    709   AR0064   Owner Operator   Broker Pre Pass         DriveWyze TRKQ13147                 9.84
      6/30/2018    709   AR0064   Owner Operator   Communication Charge    PNet Hware Q13147                     13
      6/30/2018    709   AR0064   Owner Operator   Fuel Purchase           Fuel Purchase                     208.48
      6/30/2018    709   AR0064   Owner Operator   Fuel Purchase           Fuel Purchase                     526.31
      6/30/2018    709   AR0064   Owner Operator   IRP License Deduction   LCIL:2018 - Q13147                  100
      6/30/2018    709   AR0064   Owner Operator   Tire Purchase           PO: 709-00372111 - PO System      215.59
      6/30/2018    709   AR0064   Owner Operator   Truck Payment           CTMS - 214480 Q13147 Lease        440.14
      6/30/2018    709   BM0030   Owner Operator   Communication Charge    PNet Hware 34023                      13
      6/30/2018    709   BM0030   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 7-7         -62
      6/30/2018    709   BM0030   Owner Operator   IRP License Deduction   LCIL:2018 - 34023                   100
      6/30/2018    709   BM0030   Owner Operator   Tire Purchase           PO: 709-00372081 - PO System      265.15
      6/30/2018    709   CC0134   Owner Operator   Broker Pre Pass         DriveWyze TRKQ13168                 9.84
      6/30/2018    709   CC0134   Owner Operator   Communication Charge    PNet Hware Q13168                      8
      6/30/2018    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                     421.78
      6/30/2018    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                     378.28
      6/30/2018    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                      495.8
      6/30/2018    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                     288.56
      6/30/2018    709   CC0134   Owner Operator   IRP License Deduction   LCIL:2018 - Q13168                  100
      6/30/2018    709   CC0134   Owner Operator   Truck Payment           CTMS - 214400 Q13168 sub lease    352.68
      6/30/2018    709   CM0119   Owner Operator   Broker Pre Pass         DriveWyze TRK32920                  9.84
      6/30/2018    709   CM0119   Owner Operator   Communication Charge    PNet Hware 32920                      13
      6/30/2018    709   CM0119   Owner Operator   Fuel Card Advances      Cash Advance                        200
      6/30/2018    709   CM0119   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2
      6/30/2018    709   CM0119   Owner Operator   Fuel Purchase           Fuel Purchase                     480.61
      6/30/2018    709   CM0119   Owner Operator   Fuel Purchase           Fuel Purchase                     622.93
      6/30/2018    709   CM0119   Owner Operator   IRP License Deduction   LCIL:2018 - 32920                  33.64
      6/30/2018    709   CM0119   Owner Operator   Tractor Charge          14620 - 32920                     507.91
      6/30/2018    709   CR0064   Owner Operator   Broker Pre Pass         DriveWyze TRK32864                  9.84
      6/30/2018    709   CR0064   Owner Operator   Communication Charge    PNet Hware 32864                      13
      6/30/2018    709   CR0064   Owner Operator   Fuel Card Advances      Cash Advance                        200
      6/30/2018    709   CR0064   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2
      6/30/2018    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                     237.53
      6/30/2018    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                     330.61
      6/30/2018    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                     175.98
      6/30/2018    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                     255.79
      6/30/2018    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                     292.84
      6/30/2018    709   CR0064   Owner Operator   IRP License Deduction   LCIL:2018 - 32864                  33.64
      6/30/2018    709   CR0064   Owner Operator   Toll Charges            32864 Carquinez Bridge 8              25
      6/30/2018    709   CR0064   Owner Operator   Tractor Charge          14267 - 32864                     244.46
      6/30/2018    709   CR0064   Owner Operator   Tractor Charge          14267, weekly pmt correction       381.9
      6/30/2018    709   CS0091   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1201                  9.84
      6/30/2018    709   CS0091   Owner Operator   Communication Charge    PNet Hware Q1201                       8
      6/30/2018    709   CS0091   Owner Operator   Fuel Purchase           Fuel Purchase                      476.5
      6/30/2018    709   CS0091   Owner Operator   IRP License Deduction   LCIL:2018 - Q1201                   100
      6/30/2018    709   CS0091   Owner Operator   Tire Purchase           PO: 709-00372115 - PO System      120.06
      6/30/2018    709   CS0091   Owner Operator   Truck Payment           CTMS - 214399 Q1201               278.76
      6/30/2018    709   DL0029   Owner Operator   Broker Pre Pass         DriveWyze TRK33850                  9.84
      6/30/2018    709   DL0029   Owner Operator   Communication Charge    PNet Hware 33850                       8
      6/30/2018    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                     387.04
      6/30/2018    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                     387.51
      6/30/2018    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                     527.99
      6/30/2018    709   DL0029   Owner Operator   IRP License Deduction   LCIL:2018 - 33850                   100
      6/30/2018    709   DL0029   Owner Operator   Loan Repayment          Loan # 00011 - Loan Repayment     257.22
      6/30/2018    709   DL0029   Owner Operator   Repair Order            CTMS - 214509 Repair               140.8
      6/30/2018    709   DL0107   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1245                  9.84
      6/30/2018    709   DL0107   Owner Operator   Communication Charge    PNet Hware Q1245                      13
      6/30/2018    709   DL0107   Owner Operator   Fuel Card Advances      Cash Advance                        300
      6/30/2018    709   DL0107   Owner Operator   Fuel Card Advances      Cash Advance Fee                       3
      6/30/2018    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                     552.39
      6/30/2018    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                     419.39
      6/30/2018    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                     265.08
      6/30/2018    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                     463.59
      6/30/2018    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                     423.02
      6/30/2018    709   DL0107   Owner Operator   IRP License Deduction   LCIL:2018 - Q1245                   100

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      6/30/2018    709   DL0107   Owner Operator   Loan Repayment          Loan # 00004 - Loan Repayment         352.59
      6/30/2018    709   DL0107   Owner Operator   Truck Payment           CTMS - 214404 Truck rental               300
      6/30/2018    709   DL0107   Owner Operator   Truck Payment           CTMS - 214439 Sublease                338.99
      6/30/2018    709   DS0049   Owner Operator   Broker Pre Pass         DriveWyze TRK32915                      9.84
      6/30/2018    709   DS0049   Owner Operator   Communication Charge    PNet Hware 32915                          13
      6/30/2018    709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance                             500
      6/30/2018    709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance Fee                           5
      6/30/2018    709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                          368.6
      6/30/2018    709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                         686.42
      6/30/2018    709   DS0049   Owner Operator   IRP License Deduction   LCIL:2018 - 32915                      33.64
      6/30/2018    709   DS0049   Owner Operator   Toll Charges            32915/TL1300 Bay Bridge 17                25
      6/30/2018    709   DS0049   Owner Operator   Tractor Charge          15738 - 32915                         512.35
      6/30/2018    709   DS0225   Owner Operator   Communication Charge    PNet Hware 33320                           8
      6/30/2018    709   DS0225   Owner Operator   Fuel Purchase           Fuel Purchase                         636.83
      6/30/2018    709   DS0225   Owner Operator   IRP License Deduction   LCIL:2018 - 33320                        100
      6/30/2018    709   DS0225   Owner Operator   Repair Order            CTMS - 214510 Truck Rental               300
      6/30/2018    709   DS0288   Owner Operator   Communication Charge    PNet Hware 34266                          13
      6/30/2018    709   DS0288   Owner Operator   ESCROW                  Weekly Escrow                             50
      6/30/2018    709   DS0288   Owner Operator   Fuel Purchase           Fuel Purchase                          189.5
      6/30/2018    709   DS0288   Owner Operator   Repair Order            CTMS - 214508 Repairs                 275.96
      6/30/2018    709   EA0003   Owner Operator   Broker Pre Pass         DriveWyze TRK33051                      9.84
      6/30/2018    709   EA0003   Owner Operator   Communication Charge    PNet Hware 33051                          13
      6/30/2018    709   EA0003   Owner Operator   ESCROW                  Escrow Withdrawal                      -5000
      6/30/2018    709   EA0003   Owner Operator   ESCROW                  Weekly Escrow                            250
      6/30/2018    709   EA0003   Owner Operator   Express Check           T-Check Payment                         5000
      6/30/2018    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                             200
      6/30/2018    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                             200
      6/30/2018    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      6/30/2018    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      6/30/2018    709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                         537.37
      6/30/2018    709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                         500.95
      6/30/2018    709   EA0003   Owner Operator   IRP License Deduction   LCIL:2018 - 33051                      33.64
      6/30/2018    709   EA0003   Owner Operator   Tractor Charge          16439 - 33051                         555.56
      6/30/2018    709   EG0062   Owner Operator   Broker Pre Pass         DriveWyze TRK33828                      9.84
      6/30/2018    709   EG0062   Owner Operator   Communication Charge    PNet Hware 33828                           8
      6/30/2018    709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                         248.88
      6/30/2018    709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                         249.09
      6/30/2018    709   EG0062   Owner Operator   IRP License Deduction   LCIL:2018 - 33828                        100
      6/30/2018    709   EO0014   Owner Operator   Broker Pre Pass         DriveWyze TRK33846                      9.84
      6/30/2018    709   EO0014   Owner Operator   Communication Charge    PNet Hware 33846                          13
      6/30/2018    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                         326.57
      6/30/2018    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                         445.71
      6/30/2018    709   EO0014   Owner Operator   IRP License Deduction   LCIL:2018 - 33846                        100
      6/30/2018    709   EO0014   Owner Operator   Tire Purchase           PO: 709-00372345 - PO System           96.76
      6/30/2018    709   FS0039   Owner Operator   Broker Pre Pass         DriveWyze TRK33040                      9.84
      6/30/2018    709   FS0039   Owner Operator   Communication Charge    PNet Hware 33040                           8
      6/30/2018    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                         450.13
      6/30/2018    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                         359.49
      6/30/2018    709   FS0039   Owner Operator   IRP License Deduction   LCIL:2018 - 33040                        100
      6/30/2018    709   FS0039   Owner Operator   Truck Payment           CTMS - 214479 truck lease 3304        434.29
      6/30/2018    709   FV0001   Owner Operator   Broker Pre Pass         DriveWyze TRK21521B                     9.84
      6/30/2018    709   FV0001   Owner Operator   Communication Charge    PNet Hware 21521B                         13
      6/30/2018    709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                         433.27
      6/30/2018    709   FV0001   Owner Operator   IRP License Deduction   LCIL:2018 - 21521B                       100
      6/30/2018    709   GS0015   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1110                      9.84
      6/30/2018    709   GS0015   Owner Operator   Communication Charge    PNet Hware Q1110                          13
      6/30/2018    709   GS0015   Owner Operator   Fuel Purchase           Fuel Purchase                         390.17
      6/30/2018    709   GS0015   Owner Operator   Fuel Purchase           Fuel Purchase                            250
      6/30/2018    709   GS0015   Owner Operator   IRP License Deduction   LCIL:2018 - Q1110                        100
      6/30/2018    709   GS0015   Owner Operator   Truck Payment           CTMS - 214405 Lease                   252.11
      6/30/2018    709   GW0043   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1109                      9.84
      6/30/2018    709   GW0043   Owner Operator   Communication Charge    PNet Hware Q1109                           8
      6/30/2018    709   GW0043   Owner Operator   ESCROW                  Weekly Escrow                             50
      6/30/2018    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                         316.03
      6/30/2018    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                         515.97
      6/30/2018    709   GW0043   Owner Operator   IRP License Deduction   LCIL:2018 - Q1109                        100
      6/30/2018    709   GW0043   Owner Operator   Repair Order            CTMS - 214360 Repairs                 245.87
      6/30/2018    709   GW0043   Owner Operator   Truck Payment           CTMS - 214485 Q1109 Lease             302.85
      6/30/2018    709   HC0023   Owner Operator   Advance                 EFS 193033 - s/u 2 weeks                 250
      6/30/2018    709   HC0023   Owner Operator   Broker Pre Pass         DriveWyze TRKQ13170                     9.84
      6/30/2018    709   HC0023   Owner Operator   Communication Charge    PNet Hware Q13170                          8
      6/30/2018    709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                         397.08
      6/30/2018    709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                         481.29

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      6/30/2018    709   HC0023   Owner Operator   IRP License Deduction   LCIL:2018 - Q13170                    100
      6/30/2018    709   HC0023   Owner Operator   Repair Order            CTMS - 214510 Repair                 80.02
      6/30/2018    709   HC0023   Owner Operator   Truck Payment           CTMS - 214401 Q13170                352.68
      6/30/2018    709   HG0007   Owner Operator   Broker Pre Pass         DriveWyze TRK33180                    9.84
      6/30/2018    709   HG0007   Owner Operator   Communication Charge    PNet Hware 33180                        13
      6/30/2018    709   HG0007   Owner Operator   ESCROW                  Weekly Escrow                           50
      6/30/2018    709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance                          200
      6/30/2018    709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      6/30/2018    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                         302
      6/30/2018    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                       533.53
      6/30/2018    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                       580.53
      6/30/2018    709   HG0007   Owner Operator   IRP License Deduction   LCIL:2018 - 33180                     100
      6/30/2018    709   HG0027   Owner Operator   Broker Pre Pass         DriveWyze TRK33418                    9.84
      6/30/2018    709   HG0027   Owner Operator   Communication Charge    PNet Hware 33418                        13
      6/30/2018    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                       433.21
      6/30/2018    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                       361.82
      6/30/2018    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                       400.04
      6/30/2018    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                       196.36
      6/30/2018    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                       563.92
      6/30/2018    709   HG0027   Owner Operator   IRP License Deduction   LCIL:2018 - 33418                     100
      6/30/2018    709   IR0002   Owner Operator   Broker Pre Pass         DriveWyze TRK32901                    9.84
      6/30/2018    709   IR0002   Owner Operator   Communication Charge    PNet Hware 32901                         8
      6/30/2018    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                       523.28
      6/30/2018    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                       223.33
      6/30/2018    709   IR0002   Owner Operator   IRP License Deduction   LCIL:2018 - 32901                    33.64
      6/30/2018    709   IR0002   Owner Operator   Repair Order            CTMS - 214509 Parts                   36.9
      6/30/2018    709   IR0002   Owner Operator   Tractor Charge          14461 - 32901                       521.95
      6/30/2018    709   JA0152   Owner Operator   Communication Charge    PNet Hware 34242                         8
      6/30/2018    709   JA0152   Owner Operator   ESCROW                  Weekly Escrow                           50
      6/30/2018    709   JA0152   Owner Operator   Fuel Purchase           Fuel Purchase                       195.08
      6/30/2018    709   JC0292   Owner Operator   Communication Charge    PNet Hware Q13197                       13
      6/30/2018    709   JC0292   Owner Operator   ESCROW                  Weekly Escrow                       378.81
      6/30/2018    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                          200
      6/30/2018    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                          200
      6/30/2018    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      6/30/2018    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      6/30/2018    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                       448.59
      6/30/2018    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                       228.66
      6/30/2018    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                        44.46
      6/30/2018    709   JC0292   Owner Operator   IRP License Deduction   LCIL:2018 - Q13197                    100
      6/30/2018    709   JC0292   Owner Operator   Tire Fee                Tire Fee: 2142766                        8
      6/30/2018    709   JC0292   Owner Operator   Tire Purchase           PO: 709-00373969 - PO System        212.08
      6/30/2018    709   JC0292   Owner Operator   Toll Charges            Q13197 Benicia 12                       25
      6/30/2018    709   JC0292   Owner Operator   Toll Charges            Q13197 Carquinez Bridge 12              25
      6/30/2018    709   JC0292   Owner Operator   Tractor Charge          51362 - Q1210                       458.72
      6/30/2018    709   JG0017   Owner Operator   Broker Pre Pass         DriveWyze TRK32908                    9.84
      6/30/2018    709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                        13
      6/30/2018    709   JG0017   Owner Operator   ESCROW                  Weekly Escrow                         500
      6/30/2018    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                            30
      6/30/2018    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                          270
      6/30/2018    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                       2.7
      6/30/2018    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                       0.3
      6/30/2018    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                       629.87
      6/30/2018    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                       657.66
      6/30/2018    709   JG0017   Owner Operator   IRP License Deduction   LCIL:2018 - 32908                    33.64
      6/30/2018    709   JG0017   Owner Operator   Toll Charges            32908 Bay Bridge 17                     25
      6/30/2018    709   JG0017   Owner Operator   Tractor Charge          14298 - 32908                        504.6
      6/30/2018    709   JG0072   Owner Operator   Broker Pre Pass         DriveWyze TRK32909                    9.84
      6/30/2018    709   JG0072   Owner Operator   Communication Charge    PNet Hware 32909                        13
      6/30/2018    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                          300
      6/30/2018    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                          200
      6/30/2018    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      6/30/2018    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                         3
      6/30/2018    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                       656.18
      6/30/2018    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                       510.18
      6/30/2018    709   JG0072   Owner Operator   IRP License Deduction   LCIL:2018 - 32909                    33.64
      6/30/2018    709   JG0072   Owner Operator   Toll Charges            32909 Carquinez Bridge 12               25
      6/30/2018    709   JG0072   Owner Operator   Toll Charges            32909 Carquinez Bridge 12               25
      6/30/2018    709   JG0072   Owner Operator   Tractor Charge          14534 - 32909                       513.26
      6/30/2018    709   JG0092   Owner Operator   Broker Pre Pass         DriveWyze TRK33669                    9.84
      6/30/2018    709   JG0092   Owner Operator   Communication Charge    PNet Hware 33669                         8
      6/30/2018    709   JG0092   Owner Operator   Fuel Card Advances      Cash Advance                          200
      6/30/2018    709   JG0092   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2

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      6/30/2018    709   JG0092   Owner Operator   Fuel Purchase           Fuel Purchase                        274.17
      6/30/2018    709   JG0092   Owner Operator   Fuel Purchase           Fuel Purchase                        675.03
      6/30/2018    709   JG0092   Owner Operator   IRP License Deduction   LCIL:2018 - 33669                      100
      6/30/2018    709   JG0092   Owner Operator   Repair Order            CTMS - 214508 Repair                 220.52
      6/30/2018    709   JQ0015   Owner Operator   Broker Pre Pass         DriveWyze TRK33438                     9.84
      6/30/2018    709   JQ0015   Owner Operator   Communication Charge    PNet Hware 33438                         13
      6/30/2018    709   JQ0015   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 7-7            -93
      6/30/2018    709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                        302.04
      6/30/2018    709   JQ0015   Owner Operator   IRP License Deduction   LCIL:2018 - 33438                      100
      6/30/2018    709   JR0099   Owner Operator   Advance                 6/6/18 Clm 69589-1 s/u pmts            250
      6/30/2018    709   JR0099   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1203                     9.84
      6/30/2018    709   JR0099   Owner Operator   Communication Charge    PNet Hware Q1203                         13
      6/30/2018    709   JR0099   Owner Operator   Fuel Card Advances      Cash Advance                           100
      6/30/2018    709   JR0099   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
      6/30/2018    709   JR0099   Owner Operator   Fuel Purchase           Fuel Purchase                        476.85
      6/30/2018    709   JR0099   Owner Operator   Fuel Purchase           Fuel Purchase                        137.48
      6/30/2018    709   JR0099   Owner Operator   IRP License Deduction   LCIL:2018 - Q1203                      100
      6/30/2018    709   JR0099   Owner Operator   Truck Payment           CTMS - 214360 Truck Lease            278.76
      6/30/2018    709   JS0265   Owner Operator   Broker Pre Pass         DriveWyze TRK33325                     9.84
      6/30/2018    709   JS0265   Owner Operator   Communication Charge    PNet Hware 33325                         13
      6/30/2018    709   JS0265   Owner Operator   ESCROW                  Weekly Escrow                          100
      6/30/2018    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                           200
      6/30/2018    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      6/30/2018    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                        303.51
      6/30/2018    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                        410.61
      6/30/2018    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                        253.49
      6/30/2018    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                        489.97
      6/30/2018    709   JS0265   Owner Operator   IRP License Deduction   LCIL:2018 - 33325                      100
      6/30/2018    709   JS0265   Owner Operator   Repair Order            CTMS - 214510 Truck Rental             400
      6/30/2018    709   KP0004   Owner Operator   Communication Charge    PNet Hware 32914                         13
      6/30/2018    709   KP0004   Owner Operator   ESCROW                  Weekly Escrow                          250
      6/30/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                           100
      6/30/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                           100
      6/30/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                             50
      6/30/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                             50
      6/30/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                        0.5
      6/30/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                        0.5
      6/30/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
      6/30/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
      6/30/2018    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                        200.02
      6/30/2018    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                          153
      6/30/2018    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                         435.5
      6/30/2018    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                        291.03
      6/30/2018    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                        382.13
      6/30/2018    709   KP0004   Owner Operator   IRP License Deduction   LCIL:2018 - 32914                     33.64
      6/30/2018    709   KP0004   Owner Operator   Loan Repayment          Loan # 00008 - Loan Repayment         264.2
      6/30/2018    709   KP0004   Owner Operator   Tractor Charge          14457 - 32914                        519.59
      6/30/2018    709   KT0055   Owner Operator   BOBTAIL INS.            Q13156 2013 Freightliner NTL           8.75
      6/30/2018    709   KT0055   Owner Operator   Communication Charge    PNet Hware Q13156                         8
      6/30/2018    709   KT0055   Owner Operator   ESCROW                  Weekly Escrow                            50
      6/30/2018    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                         185.1
      6/30/2018    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                         25.05
      6/30/2018    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                        228.47
      6/30/2018    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                        308.94
      6/30/2018    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                        386.96
      6/30/2018    709   KT0055   Owner Operator   IRP License Deduction   LCIL:2018 - Q13156                     100
      6/30/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE         Q13156 2013 Freightliner PD           42.19
      6/30/2018    709   KT0055   Owner Operator   Repair Order            CTMS - 214509 Repair                 433.31
      6/30/2018    709   KT0055   Owner Operator   Truck Payment           CTMS - 214398 Q13156 Lease           388.16
      6/30/2018    709   LL0160   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1111                     9.84
      6/30/2018    709   LL0160   Owner Operator   Communication Charge    PNet Hware Q1111                          8
      6/30/2018    709   LL0160   Owner Operator   IRP License Deduction   LCIL:2018 - Q1111                      100
      6/30/2018    709   LL0160   Owner Operator   Truck Payment           CTMS - 214349 Lease Q1111            252.11
      6/30/2018    709   LS0023   Owner Operator   Broker Pre Pass         DriveWyze TRK33655                     9.84
      6/30/2018    709   LS0023   Owner Operator   Communication Charge    PNet Hware 33655                         13
      6/30/2018    709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance                           200
      6/30/2018    709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      6/30/2018    709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                        850.47
      6/30/2018    709   LS0023   Owner Operator   IRP License Deduction   LCIL:2018 - 33655                      100
      6/30/2018    709   LS0023   Owner Operator   Toll Charges            33655/TL9212 Bay Bridge 17               25
      6/30/2018    709   MA0092   Owner Operator   Broker Pre Pass         DriveWyze TRK34005                     9.84
      6/30/2018    709   MA0092   Owner Operator   Communication Charge    PNet Hware 34005                          8
      6/30/2018    709   MA0092   Owner Operator   ESCROW                  Weekly Escrow                            50

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      6/30/2018    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                         400.65
      6/30/2018    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                         222.06
      6/30/2018    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                         370.93
      6/30/2018    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                          28.57
      6/30/2018    709   MA0092   Owner Operator   IRP License Deduction   LCIL:2018 - 34005                        100
      6/30/2018    709   MA0092   Owner Operator   Repair Order            CTMS - 214508 Repair                      70
      6/30/2018    709   ME0053   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1113                      9.84
      6/30/2018    709   ME0053   Owner Operator   Communication Charge    PNet Hware Q1113                           8
      6/30/2018    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                         549.23
      6/30/2018    709   ME0053   Owner Operator   IRP License Deduction   LCIL:2018 - Q1113                        100
      6/30/2018    709   ME0053   Owner Operator   Truck Payment           CTMS - 214400 Q1113 Lease             252.11
      6/30/2018    709   ME0053   Owner Operator   Truck Payment           CTMS - 214510 Truck Rental               500
      6/30/2018    709   MG0067   Owner Operator   Communication Charge    PNet Hware 33435                           8
      6/30/2018    709   MG0067   Owner Operator   Fuel Purchase           Fuel Purchase                         332.08
      6/30/2018    709   MG0067   Owner Operator   Fuel Purchase           Fuel Purchase                         393.39
      6/30/2018    709   MG0067   Owner Operator   IRP License Deduction   LCIL:2018 - 33435                        100
      6/30/2018    709   MP0035   Owner Operator   Broker Pre Pass         DriveWyze TRK32904                      9.84
      6/30/2018    709   MP0035   Owner Operator   Communication Charge    PNet Hware 32904                          13
      6/30/2018    709   MP0035   Owner Operator   ESCROW                  Weekly Escrow                            700
      6/30/2018    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance                             260
      6/30/2018    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2.6
      6/30/2018    709   MP0035   Owner Operator   Fuel Purchase           Fuel Purchase                          487.7
      6/30/2018    709   MP0035   Owner Operator   IRP License Deduction   LCIL:2018 - 32904                      33.64
      6/30/2018    709   MP0035   Owner Operator   Tractor Charge          15571 - 32904                         323.05
      6/30/2018    709   NB0029   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1108                      9.84
      6/30/2018    709   NB0029   Owner Operator   Communication Charge    PNet Hware Q1108                          13
      6/30/2018    709   NB0029   Owner Operator   ESCROW                  Weekly Escrow                            500
      6/30/2018    709   NB0029   Owner Operator   ESCROW                  Weekly Escrow                            500
      6/30/2018    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance                             100
      6/30/2018    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance                             100
      6/30/2018    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      6/30/2018    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      6/30/2018    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                         357.64
      6/30/2018    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                         401.64
      6/30/2018    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                          543.3
      6/30/2018    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                         522.75
      6/30/2018    709   NB0029   Owner Operator   IRP License Deduction   LCIL:2018 - Q1108                        100
      6/30/2018    709   NB0029   Owner Operator   Tire Purchase           PO: 709-00348930 - PO System          227.06
      6/30/2018    709   NB0029   Owner Operator   Tire Purchase           PO: 709-00371688 - PO System          112.67
      6/30/2018    709   NB0029   Owner Operator   Tire Purchase           PO: 709-00371688 - PO System          572.49
      6/30/2018    709   NB0029   Owner Operator   Truck Payment           CTMS - 214256 Lease                   215.66
      6/30/2018    709   NB0029   Owner Operator   Truck Payment           CTMS - 214491 Lease                   215.66
      6/30/2018    709   NG0005   Owner Operator   Broker Pre Pass         DriveWyze TRK21412B                     9.84
      6/30/2018    709   NG0005   Owner Operator   Communication Charge    PNet Hware 21412B                         13
      6/30/2018    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance                             200
      6/30/2018    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      6/30/2018    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                         254.25
      6/30/2018    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                         392.62
      6/30/2018    709   NG0005   Owner Operator   IRP License Deduction   LCIL:2018 - 21412B                       100
      6/30/2018    709   NT9564   Owner Operator   Broker Pre Pass         DriveWyze TRK73130                      9.84
      6/30/2018    709   NT9564   Owner Operator   Communication Charge    PNet Hware 73130                          13
      6/30/2018    709   NT9564   Owner Operator   IRP License Deduction   LCIL:2018 - 73130                        100
      6/30/2018    709   NT9564   Owner Operator   Truck Payment           CTMS - 214535 Truck 73130 Leas        196.65
      6/30/2018    709   RC0030   Owner Operator   Communication Charge    PNet Hware 33676                           8
      6/30/2018    709   RC0030   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 7-7          -93.75
      6/30/2018    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                         186.14
      6/30/2018    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                         476.99
      6/30/2018    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                         238.07
      6/30/2018    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                          40.25
      6/30/2018    709   RC0089   Owner Operator   Tractor Charge          14592 - 32986                          87.45
      6/30/2018    709   RL0017   Owner Operator   BOBTAIL INS.            32910 2013 Freightliner NTL             8.75
      6/30/2018    709   RL0017   Owner Operator   Broker Pre Pass         DriveWyze TRK32910                      9.84
      6/30/2018    709   RL0017   Owner Operator   Communication Charge    PNet Hware 33065                          13
      6/30/2018    709   RL0017   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 7-7            -165
      6/30/2018    709   RL0017   Owner Operator   ESCROW                  Weekly Escrow                            100
      6/30/2018    709   RL0017   Owner Operator   IRP License Deduction   LCIL:2018 - 32910                      33.64
      6/30/2018    709   RL0017   Owner Operator   IRP License Deduction   LCIL:2018 - 33065                      33.64
      6/30/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE         32910 2013 Freightliner PD             51.54
      6/30/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE         32910 2013 Freightliner PD Ter           2.5
      6/30/2018    709   RL0017   Owner Operator   Tractor Charge          35015 - 33065                         529.05
      6/30/2018    709   RL0062   Owner Operator   Communication Charge    PNet Hware 32912                          13
      6/30/2018    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                             100
      6/30/2018    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1

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      6/30/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.02
      6/30/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          485.5
      6/30/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      6/30/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      6/30/2018    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      6/30/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      6/30/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.97
      6/30/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
      6/30/2018    709   RL0180   Owner Operator   Repair Order                   CTMS - 214510 Parts                     250
      6/30/2018    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      6/30/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      6/30/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.51
      6/30/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.68
      6/30/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
      6/30/2018    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      6/30/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      6/30/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.38
      6/30/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.08
      6/30/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
      6/30/2018    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         264.66
      6/30/2018    709   RP0082   Owner Operator   Tire Purchase                  Tire PO709-00368488 6/16/1            358.01
      6/30/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 214360 Q1202 Truck Leas        278.76
      6/30/2018    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      6/30/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      6/30/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         671.47
      6/30/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.73
      6/30/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.08
      6/30/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.83
      6/30/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100
      6/30/2018    709   RR0123   Owner Operator   Repair Order                   TRACTOR Q1248                         137.94
      6/30/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 214399 Q1248                   311.97
      6/30/2018    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      6/30/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      6/30/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      6/30/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          44.53
      6/30/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.66
      6/30/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.57
      6/30/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.56
      6/30/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.69
      6/30/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.63
      6/30/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.45
      6/30/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.96
      6/30/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      6/30/2018    709   SB0009   Owner Operator   Repair Order                   CTMS - 214509 Repair                      70
      6/30/2018    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00372114 - PO System          675.92
      6/30/2018    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Kilpatrick Turnpike           8.65
      6/30/2018    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Turner Turnpike East         18.05
      6/30/2018    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Will Rogers Turnpike         18.05
      6/30/2018    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Will Rogers Turnpike         18.05
      6/30/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      6/30/2018    709   SB0009   Owner Operator   Truck Payment                  CTMS - 214509 Truck Rental              500
      6/30/2018    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      6/30/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      6/30/2018    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/30/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.54
      6/30/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.23
      6/30/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.31
      6/30/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.54
      6/30/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                       100
      6/30/2018    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00372344 - PO System           188.5
      6/30/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 214361 Sub Lease               388.33
      6/30/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      6/30/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/30/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/30/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         635.33
      6/30/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.05
      6/30/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           452
      6/30/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           485
      6/30/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.8
      6/30/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      6/30/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      6/30/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/30/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22

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      6/30/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      6/30/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      6/30/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      6/30/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/30/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/30/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/30/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/30/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.51
      6/30/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          131.9
      6/30/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.33
      6/30/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.36
      6/30/2018    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      6/30/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      6/30/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.99
      6/30/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         607.51
      6/30/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.71
      6/30/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                       100
      6/30/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 214405 Tractor Sub leas        242.03
      6/30/2018    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      6/30/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      6/30/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      6/30/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            140
      6/30/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      6/30/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      6/30/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      6/30/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.08
      6/30/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.61
      6/30/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.11
      6/30/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.51
      6/30/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.86
      6/30/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                       100
      6/30/2018    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      6/30/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      6/30/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-23          751.31
      6/30/2018    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      6/30/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      6/30/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.04
      6/30/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.48
      6/30/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.17
      6/30/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.88
      6/30/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                       100
      6/30/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00372112 - PO System           671.6
      6/30/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 214399 Q1238 Lease             311.97
      6/30/2018    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      6/30/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      6/30/2018    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRK33471                      9.84
      6/30/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      6/30/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/30/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/30/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.89
      6/30/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.09
      6/30/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.8
      6/30/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.96
      6/30/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                       100
      6/30/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      6/30/2018    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      6/30/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      6/30/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      6/30/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         631.04
      6/30/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         648.94
      6/30/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                       100
      6/30/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                       100
      6/30/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/30/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      6/30/2018    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      6/30/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      6/30/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.16
      6/30/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.8
      6/30/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                      100
      6/30/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 4                 25
      6/30/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 9                 25
      6/30/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 E470 PLAZA C                     16.6
      6/30/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 E470 PLAZA E                       18

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      6/30/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 HCTRA Ship Channel Brid             7
      6/30/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 KTA Wichita: I-135,I-23          4.95
      6/30/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 214435 Sub Lease Q13171        352.68
      6/30/2018    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      6/30/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      6/30/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.33
      6/30/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.93
      6/30/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           29.5
      6/30/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      6/30/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                       100
      6/30/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  25
      6/30/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  25
      6/30/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  25
      6/30/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 8                  25
      6/30/2018    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      6/30/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      6/30/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/30/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         568.14
      6/30/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.57
      6/30/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         625.82
      6/30/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100
      6/30/2018    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Sam Houston - NE M          5.25
      6/30/2018    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      6/30/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      6/30/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/30/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          582.5
      6/30/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.75
      6/30/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.78
      6/30/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.54
      6/30/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
      6/30/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 3                    25
      6/30/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 10                 25
      6/30/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 214539 Trk 33487 Lease          434.2
      6/30/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      6/30/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      6/30/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.3
      6/30/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.05
      6/30/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.99
      6/30/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                       100
      6/30/2018    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      6/30/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      6/30/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.94
      6/30/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.45
      6/30/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.38
      6/30/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.45
      6/30/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.37
      6/30/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.45
      6/30/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.15
      6/30/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
      6/30/2018    742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL South Beloit               8.15
      6/30/2018    742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL South Beloit               8.15
      6/30/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/30/2018    742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze TRK32947                      9.84
      6/30/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      6/30/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      6/30/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/30/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/30/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.16
      6/30/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.84
      6/30/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.95
      6/30/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.61
      6/30/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      6/30/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      6/30/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/30/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      6/30/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/30/2018    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00370630 - PO System          208.74
      6/30/2018    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg             7
      6/30/2018    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg             7
      6/30/2018    742   EN0016   Owner Operator   Toll Charges                   32947 KTA Southern Terminal              7.2
      6/30/2018    742   EN0016   Owner Operator   Toll Charges                   32947 NTTA I-820/35W SOUTH TEX             3
      6/30/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      6/30/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4

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      6/30/2018    742   FS0011   Owner Operator   Communication Charge    PNet Hware 51069A                         13
      6/30/2018    742   MH0117   Owner Operator   Broker Pre Pass         DriveWyze TRK33296                      9.84
      6/30/2018    742   MH0117   Owner Operator   Communication Charge    PNet Hware 33296                          13
      6/30/2018    742   MH0117   Owner Operator   ESCROW                  Weekly Escrow                             50
      6/30/2018    742   MH0117   Owner Operator   IRP License Deduction   LCIL:2018 - 33296                       100
      6/30/2018    742   MH0117   Owner Operator   Toll Charges            33296 Carquinez Bridge 8                  25
      6/30/2018    742   MH0117   Owner Operator   Toll Charges            33296 HCTRA Ship Channel Bridg             7
      6/30/2018    742   MS0230   Owner Operator   Advance                 NewHireEqp SL 402-095679                100
      6/30/2018    742   MS0230   Owner Operator   Communication Charge    PNet Hware 34082                          13
      6/30/2018    742   MS0230   Owner Operator   ESCROW                  Weekly Escrow                             50
      6/30/2018    742   MS0230   Owner Operator   Fuel Purchase           Fuel Purchase                         105.77
      6/30/2018    742   MS0230   Owner Operator   Fuel Purchase           Fuel Purchase                         120.88
      6/30/2018    742   MS0230   Owner Operator   Fuel Purchase           Fuel Purchase                          200.1
      6/30/2018    742   MS0230   Owner Operator   Fuel Purchase           Fuel Purchase                         106.57
      6/30/2018    742   MS0230   Owner Operator   Fuel Purchase           Fuel Purchase                         123.66
      6/30/2018    742   MS0230   Owner Operator   Fuel Purchase           Fuel Purchase                         120.67
      6/30/2018    742   MS0230   Owner Operator   IRP License Deduction   LCIL:2018 - 34082                       100
      6/30/2018    742   MS0230   Owner Operator   Toll Charges            34082 BATA Carquinez Bridge               25
      6/30/2018    742   MS0230   Owner Operator   Toll Charges            34082 BATA Carquinez Bridge               25
      6/30/2018    742   MS0230   Owner Operator   Toll Charges            34082 BATA Carquinez Bridge               25
      6/30/2018    742   MS0230   Owner Operator   Toll Charges            34082 BATA Carquinez Bridge               25
      6/30/2018    742   MS0230   Owner Operator   Toll Charges            34082 BATA Carquinez Bridge               25
      6/30/2018    742   MS0230   Owner Operator   Toll Charges            34082 BATA Carquinez Bridge               25
      6/30/2018    742   NG0024   Owner Operator   Broker Pre Pass         DriveWyze TRK33252                      9.84
      6/30/2018    742   NG0024   Owner Operator   Communication Charge    PNet Hware 33252                          13
      6/30/2018    742   NG0024   Owner Operator   Fuel Card Advances      Cash Advance                            100
      6/30/2018    742   NG0024   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      6/30/2018    742   NG0024   Owner Operator   Fuel Purchase           Fuel Purchase                         322.51
      6/30/2018    742   NG0024   Owner Operator   Fuel Purchase           Fuel Purchase                         532.49
      6/30/2018    742   NG0024   Owner Operator   Fuel Purchase           Fuel Purchase                         348.74
      6/30/2018    742   NG0024   Owner Operator   Fuel Purchase           Fuel Purchase                         200.54
      6/30/2018    742   NG0024   Owner Operator   IRP License Deduction   LCIL:2018 - 33252                       100
      6/30/2018    742   NG0024   Owner Operator   Tire Purchase           PO: 742-00373126 - PO System           248.3
      6/30/2018    742   NG0024   Owner Operator   Toll Charges            33252 Benicia 1                           25
      6/30/2018    742   OS0018   Owner Operator   Communication Charge    PNet Hware 34147                          13
      6/30/2018    742   OS0018   Owner Operator   ESCROW                  Weekly Escrow                             50
      6/30/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY      L&H                                     5.55
      6/30/2018    742   PC0012   Owner Operator   BOBTAIL INS.            2014 Freightliner NTL                   8.75
      6/30/2018    742   PC0012   Owner Operator   Broker Pre Pass         DriveWyze TRK32969                      9.84
      6/30/2018    742   PC0012   Owner Operator   Communication Charge    PNet Hware 32969                          13
      6/30/2018    742   PC0012   Owner Operator   Communication Charge    PNet Hware 32969                          13
      6/30/2018    742   PC0012   Owner Operator   ESCROW                  Weekly Escrow                           200
      6/30/2018    742   PC0012   Owner Operator   ESCROW                  Weekly Escrow                           200
      6/30/2018    742   PC0012   Owner Operator   Fuel Card Advances      Cash Advance                            100
      6/30/2018    742   PC0012   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      6/30/2018    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         487.94
      6/30/2018    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         319.43
      6/30/2018    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         333.45
      6/30/2018    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         282.13
      6/30/2018    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         305.36
      6/30/2018    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         364.38
      6/30/2018    742   PC0012   Owner Operator   IRP License Deduction   LCIL:2018 - 32969                      33.64
      6/30/2018    742   PC0012   Owner Operator   IRP License Deduction   LCIL:2018 - 32969                      33.64
      6/30/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE         2014 Freightliner PD                  104.35
      6/30/2018    742   PC0012   Owner Operator   Toll Charges            32969 Carquinez Bridge 4                  25
      6/30/2018    742   PC0012   Owner Operator   Tractor Charge          15577 - 32969                         509.18
      6/30/2018    742   PC0012   Owner Operator   Tractor Charge          15577 - 32969                         509.18
      6/30/2018    742   RF0136   Owner Operator   Broker Pre Pass         DriveWyze TRK34182                     19.68
      6/30/2018    742   RF0136   Owner Operator   Communication Charge    PNet Hware 34182                          13
      6/30/2018    742   RF0136   Owner Operator   ESCROW                  Weekly Escrow                             50
      6/30/2018    742   RF0136   Owner Operator   Fuel Purchase           Fuel Purchase                          126.1
      6/30/2018    742   RF0136   Owner Operator   Fuel Purchase           Fuel Purchase                         301.81
      6/30/2018    742   RF0136   Owner Operator   Fuel Purchase           Fuel Purchase                         300.51
      6/30/2018    742   RF0136   Owner Operator   Fuel Purchase           Fuel Purchase                         303.59
      6/30/2018    742   RF0136   Owner Operator   Fuel Purchase           Fuel Purchase                         244.56
      6/30/2018    742   RF0136   Owner Operator   IRP License Deduction   LCIL:2018 - 34182                       100
      6/30/2018    742   RF0136   Owner Operator   Repair Order            CTMS - 214503 repair                      70
      6/30/2018    742   RF0136   Owner Operator   Tire Purchase           PO: 742-00371739 - PO System          122.03
      6/30/2018    742   RF0136   Owner Operator   Toll Charges            34182 Carquinez Bridge 9                  15
      6/30/2018    742   RF0136   Owner Operator   Toll Charges            34182 Carquinez Bridge 9                  25
      6/30/2018    742   RN0054   Owner Operator   Broker Pre Pass         DriveWyze TRKQ13157                     9.84
      6/30/2018    742   RN0054   Owner Operator   Communication Charge    PNet Hware q13157                         13
      6/30/2018    742   RN0054   Owner Operator   Fuel Purchase           Fuel Purchase                         340.69

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      6/30/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.85
      6/30/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.62
      6/30/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.23
      6/30/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
      6/30/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 214364 Tractor Lease           353.28
      6/30/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      6/30/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      6/30/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      6/30/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      6/30/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      6/30/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.24
      6/30/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.37
      6/30/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.15
      6/30/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
      6/30/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
      6/30/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      6/30/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         616.58
      6/30/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.45
      6/30/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          44.09
       7/7/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       7/7/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       7/7/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/7/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
       7/7/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       7/7/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       7/7/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       7/7/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       7/7/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.5
       7/7/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.47
       7/7/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.03
       7/7/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.98
       7/7/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.49
       7/7/2018    709   AR0064   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             210.75
       7/7/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
       7/7/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       7/7/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 214687 Q13147 Lease            440.14
       7/7/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       7/7/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       7/7/2018    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
       7/7/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       7/7/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       7/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.87
       7/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.34
       7/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.02
       7/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.56
       7/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.96
       7/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.06
       7/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.6
       7/7/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.08
       7/7/2018    709   AV0021   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             102.37
       7/7/2018    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 215.67
       7/7/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100
       7/7/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100
       7/7/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       7/7/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 214435 Q13169 Sublease         352.68
       7/7/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 214676 Q13169 Sublease         352.68
       7/7/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       7/7/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       7/7/2018    709   BM0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-30              62
       7/7/2018    709   BM0030   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax              620.4
       7/7/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                       100
       7/7/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       7/7/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       7/7/2018    709   BM0030   Owner Operator   Tire Purchase                  PO: 709-00372081 - PO System          265.15
       7/7/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       7/7/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       7/7/2018    709   CC0134   Owner Operator   Driver Excellence Program      GA-0158002647                            -50
       7/7/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.61
       7/7/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                      100

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       7/7/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       7/7/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 214625 Q13168 sub lease        352.68
       7/7/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/7/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       7/7/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/7/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/7/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         665.84
       7/7/2018    709   CM0119   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax               3.07
       7/7/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
       7/7/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       7/7/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/7/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       7/7/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       7/7/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       7/7/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/7/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/7/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.16
       7/7/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.09
       7/7/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.03
       7/7/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.73
       7/7/2018    709   CR0064   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             111.61
       7/7/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
       7/7/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       7/7/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
       7/7/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       7/7/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       7/7/2018    709   CS0091   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-14            -31
       7/7/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.92
       7/7/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                       100
       7/7/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       7/7/2018    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00372115 - PO System          120.06
       7/7/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 214624 Q1201                   278.76
       7/7/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       7/7/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       7/7/2018    709   DL0029   Owner Operator   Driver Excellence Program      CO-FC08000167                            -50
       7/7/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.67
       7/7/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.36
       7/7/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.3
       7/7/2018    709   DL0029   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax               272
       7/7/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                       100
       7/7/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         257.22
       7/7/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       7/7/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       7/7/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       7/7/2018    709   DL0107   Owner Operator   Driver Excellence Program      NM-3683108058                            -50
       7/7/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       7/7/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       7/7/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.83
       7/7/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.84
       7/7/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.47
       7/7/2018    709   DL0107   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             191.45
       7/7/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                       100
       7/7/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       7/7/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       7/7/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 214629 Truck rental              300
       7/7/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 214680 Sublease                338.99
       7/7/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       7/7/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/7/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       7/7/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         784.92
       7/7/2018    709   DS0049   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax              92.41
       7/7/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
       7/7/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       7/7/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       7/7/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       7/7/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8

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       7/7/2018    709   DS0225   Owner Operator   Driver Excellence Program      US-1227000011                            -50
       7/7/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         690.56
       7/7/2018    709   DS0225   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             145.85
       7/7/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                       100
       7/7/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       7/7/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       7/7/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/7/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       7/7/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       7/7/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       7/7/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       7/7/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       7/7/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       7/7/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.77
       7/7/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.79
       7/7/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.81
       7/7/2018    709   DS0288   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax            -107.49
       7/7/2018    709   DS0288   Owner Operator   Permits                        IL02:2018 - 34266                       3.75
       7/7/2018    709   DS0288   Owner Operator   Permits                        NM07:2018 - 34266                        5.5
       7/7/2018    709   DS0288   Owner Operator   Permits                        NY13:2018 - 34266                        1.5
       7/7/2018    709   DS0288   Owner Operator   Permits                        OR16:2018 - 34266                        8.5
       7/7/2018    709   DS0288   Owner Operator   Repair Order                   CTMS - 214685 Repairs                 275.96
       7/7/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/7/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       7/7/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       7/7/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/7/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/7/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/7/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/7/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.62
       7/7/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.34
       7/7/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.41
       7/7/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.31
       7/7/2018    709   EA0003   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             133.47
       7/7/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
       7/7/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       7/7/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        LWO:14619 - 32910                    -252.63
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        LWO:14619 - 32910                    -252.63
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        LWO:14619 - 32910                    -252.63
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        LWO:CTMS - 212658 Tractor 3291      -2224.29
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        LWO:LCIL:2018 - 32910                 -16.82
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        LWO:LCIL:2018 - 32910                 -16.82
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        LWO:LCIL:2018 - 32910                 -16.82
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        LWO:Reseat Invoice                  -6919.33
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        WO:14619 - 32910                     -252.64
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        WO:14619 - 32910                     -252.64
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        WO:14619 - 32910                     -252.64
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        WO:April 2018 Fuel/Mileage Tax         -4.43
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        WO:CTMS - 212658 Tractor 32910       -2224.3
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        WO:DriveWyze TRK32910                  -9.84
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        WO:LCIL:2018 - 32910                  -16.82
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        WO:LCIL:2018 - 32910                  -16.82
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        WO:LCIL:2018 - 32910                  -16.82
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 32910                      -13
       7/7/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        WO:Reseat Invoice                   -6919.33
       7/7/2018    709   EE0011   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
       7/7/2018    709   EE0011   Owner Operator   Communication Charge           PNet Hware 32910                          13
       7/7/2018    709   EE0011   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax             4.43
       7/7/2018    709   EE0011   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             -75.25
       7/7/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
       7/7/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
       7/7/2018    709   EE0011   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
       7/7/2018    709   EE0011   Owner Operator   Permits1                       ID06:2018 - 32910                        -11
       7/7/2018    709   EE0011   Owner Operator   Permits1                       IL02:2018 - 32910                      -3.75
       7/7/2018    709   EE0011   Owner Operator   Permits1                       NM07:2018 - 32910                       -5.5
       7/7/2018    709   EE0011   Owner Operator   Permits1                       NY13:2016 - 32910                        -19
       7/7/2018    709   EE0011   Owner Operator   Permits1                       OR16:2018 - 32910                       -8.5
       7/7/2018    709   EE0011   Owner Operator   Repair Order                   CTMS - 212658 Tractor 32910 re       4448.59
       7/7/2018    709   EE0011   Owner Operator   Repair Order                   Reseat Invoice                      13838.66
       7/7/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27

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       7/7/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
       7/7/2018    709   EE0011   Owner Operator   Tractor Charge                 14619 - 32910                         505.27
       7/7/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       7/7/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       7/7/2018    709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-14         -70.98
       7/7/2018    709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-14         -40.56
       7/7/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.16
       7/7/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           22.8
       7/7/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.61
       7/7/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                       100
       7/7/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       7/7/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       7/7/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       7/7/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       7/7/2018    709   EO0014   Owner Operator   Driver Excellence Program      MO-W188000321                            -50
       7/7/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.74
       7/7/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.23
       7/7/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.17
       7/7/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
       7/7/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       7/7/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       7/7/2018    709   EO0014   Owner Operator   Tire Purchase                  PO: 709-00372345 - PO System           96.76
       7/7/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       7/7/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       7/7/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           322
       7/7/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.62
       7/7/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
       7/7/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       7/7/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 214685 truck lease 3304        434.29
       7/7/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       7/7/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       7/7/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.93
       7/7/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          217.5
       7/7/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         601.24
       7/7/2018    709   FV0001   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax              21.47
       7/7/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
       7/7/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       7/7/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       7/7/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       7/7/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.95
       7/7/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
       7/7/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       7/7/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 214630 Lease                   252.11
       7/7/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       7/7/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       7/7/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/7/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.98
       7/7/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.62
       7/7/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.42
       7/7/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.87
       7/7/2018    709   GW0043   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax               23.4
       7/7/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
       7/7/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       7/7/2018    709   GW0043   Owner Operator   Repair Order                   CTMS - 214589 Repairs                 245.87
       7/7/2018    709   GW0043   Owner Operator   Tire Fee                       Tire Fee: 2146319                          8
       7/7/2018    709   GW0043   Owner Operator   Tire Purchase                  PO: 709-00373796 - PO System          213.92
       7/7/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 214692 Q1109 Lease             302.85
       7/7/2018    709   HC0023   Owner Operator   Advance                        EFS 193033 - s/u 2 weeks               209.5
       7/7/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       7/7/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       7/7/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.07
       7/7/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
       7/7/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       7/7/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 214626 Q13170                  352.68
       7/7/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       7/7/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13

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       7/7/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/7/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/7/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/7/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.09
       7/7/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.17
       7/7/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.93
       7/7/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100
       7/7/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       7/7/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       7/7/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       7/7/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.17
       7/7/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.53
       7/7/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.74
       7/7/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.35
       7/7/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.3
       7/7/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.01
       7/7/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.34
       7/7/2018    709   HG0027   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             440.28
       7/7/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                       100
       7/7/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       7/7/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       7/7/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/7/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       7/7/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.06
       7/7/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.16
       7/7/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.08
       7/7/2018    709   IR0002   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             -73.54
       7/7/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
       7/7/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       7/7/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/7/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       7/7/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       7/7/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
       7/7/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/7/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.05
       7/7/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.98
       7/7/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
       7/7/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       7/7/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       7/7/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       7/7/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       7/7/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          21.19
       7/7/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/7/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/7/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          302.2
       7/7/2018    709   JC0292   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             376.99
       7/7/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                      100
       7/7/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       7/7/2018    709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00373969 - PO System          212.08
       7/7/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
       7/7/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 214437 Q13197 Lease            276.63
       7/7/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 214678 Q13197 Lease            276.63
       7/7/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/7/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       7/7/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
       7/7/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       7/7/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       7/7/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.23
       7/7/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         660.64
       7/7/2018    709   JG0017   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             -14.89
       7/7/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
       7/7/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       7/7/2018    709   JG0017   Owner Operator   Toll Charges                   32908 BATA Bay Bridge                     25
       7/7/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       7/7/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/7/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       7/7/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500

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       7/7/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
       7/7/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       603.52
       7/7/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       510.03
       7/7/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       297.47
       7/7/2018    709   JG0072   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax           257.48
       7/7/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                    33.64
       7/7/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       7/7/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
       7/7/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
       7/7/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
       7/7/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
       7/7/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
       7/7/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       7/7/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       598.67
       7/7/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        360.1
       7/7/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       300.43
       7/7/2018    709   JG0092   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax            58.02
       7/7/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                     100
       7/7/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       7/7/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    35.16
       7/7/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
       7/7/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
       7/7/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-30            93
       7/7/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
       7/7/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       7/7/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       250.16
       7/7/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       120.04
       7/7/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                     100
       7/7/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       7/7/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
       7/7/2018    709   JR0099   Owner Operator   Advance                        6/6/18 Clm 69589-1 s/u pmts           250
       7/7/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
       7/7/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
       7/7/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       496.04
       7/7/2018    709   JR0099   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax            166.6
       7/7/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                     100
       7/7/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       7/7/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
       7/7/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 214586 Truck Lease           278.76
       7/7/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
       7/7/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
       7/7/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
       7/7/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
       7/7/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
       7/7/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
       7/7/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       7/7/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       7/7/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        427.3
       7/7/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.2
       7/7/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        370.5
       7/7/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       483.49
       7/7/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                     100
       7/7/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         2.51
       7/7/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       7/7/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
       7/7/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
       7/7/2018    709   JS0265   Owner Operator   Repair Order                   CTMS - 214685 Truck Rental            400
       7/7/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       7/7/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
       7/7/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250
       7/7/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
       7/7/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
       7/7/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
       7/7/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       7/7/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       7/7/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       7/7/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       530.01
       7/7/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       301.52
       7/7/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         200
       7/7/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       216.02
       7/7/2018    709   KP0004   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax           328.73
       7/7/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                    33.64
       7/7/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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       7/7/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       7/7/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/7/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       7/7/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
       7/7/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
       7/7/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       7/7/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/7/2018    709   KT0055   Owner Operator   Fuel Card Advances             Cash Advance                            300
       7/7/2018    709   KT0055   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       7/7/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.22
       7/7/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.27
       7/7/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.72
       7/7/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.45
       7/7/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.4
       7/7/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.81
       7/7/2018    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2018 - Q13156                      100
       7/7/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   KT0055   Owner Operator   Permits1                       ID06:2018 - Q13156                        11
       7/7/2018    709   KT0055   Owner Operator   Permits1                       IL02:2018 - Q13156                      3.75
       7/7/2018    709   KT0055   Owner Operator   Permits1                       NM07:2018 - Q13156                       5.5
       7/7/2018    709   KT0055   Owner Operator   Permits1                       NY13:2016 - Q13156                        19
       7/7/2018    709   KT0055   Owner Operator   Permits1                       OR16:2018 - Q13156                       8.5
       7/7/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
       7/7/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
       7/7/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 214630 Q13156 Lease            388.16
       7/7/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       7/7/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       7/7/2018    709   LL0160   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             350.65
       7/7/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                       100
       7/7/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       7/7/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 214577 Lease Q1111             252.11
       7/7/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       7/7/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       7/7/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/7/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/7/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         735.02
       7/7/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.53
       7/7/2018    709   LS0023   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax              24.01
       7/7/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                       100
       7/7/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       7/7/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       7/7/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       7/7/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       7/7/2018    709   MA0092   Owner Operator   Driver Excellence Program      CA-1784102679                            -50
       7/7/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/7/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.99
       7/7/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.46
       7/7/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.17
       7/7/2018    709   MA0092   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax               5.78
       7/7/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                       100
       7/7/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       7/7/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       7/7/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       7/7/2018    709   ME0053   Owner Operator   Driver Excellence Program      TX-556D0SQCBA                            -50
       7/7/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.82
       7/7/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.57
       7/7/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                       100
       7/7/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       7/7/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 214626 Q1113 Lease             252.11
       7/7/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 214685 Truck Rental              500
       7/7/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       7/7/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       7/7/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.62
       7/7/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.54
       7/7/2018    709   MG0067   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax               15.7
       7/7/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                       100
       7/7/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       7/7/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       7/7/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75

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       7/7/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       7/7/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            700
       7/7/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             250
       7/7/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
       7/7/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         630.19
       7/7/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
       7/7/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       7/7/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       7/7/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       7/7/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       7/7/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       7/7/2018    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -3000
       7/7/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
       7/7/2018    709   NB0029   Owner Operator   Express Check                  T-Check Payment                         3000
       7/7/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             100
       7/7/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
       7/7/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/7/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/7/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.43
       7/7/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.24
       7/7/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.91
       7/7/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.41
       7/7/2018    709   NB0029   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax              92.73
       7/7/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                        100
       7/7/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       7/7/2018    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00371688 - PO System          572.49
       7/7/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Turner Turnpike Bi-d           8.5
       7/7/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Will Rogers Turnpike         18.05
       7/7/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 214697 Lease                   215.66
       7/7/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       7/7/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       7/7/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
       7/7/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/7/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          513.5
       7/7/2018    709   NG0005   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             136.23
       7/7/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                       100
       7/7/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       7/7/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       7/7/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       7/7/2018    709   NT9564   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             115.97
       7/7/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                        100
       7/7/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       7/7/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 214734 Truck 73130 Leas        196.65
       7/7/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       7/7/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       7/7/2018    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-30           93.75
       7/7/2018    709   RC0030   Owner Operator   Driver Excellence Program      GA-1255001679                            -50
       7/7/2018    709   RC0030   Owner Operator   Driver Excellence Program      GA-1255001709                            -50
       7/7/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.98
       7/7/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.17
       7/7/2018    709   RC0030   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             783.85
       7/7/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       7/7/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       7/7/2018    709   RC0089   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             -57.01
       7/7/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                          69.08
       7/7/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/7/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   32910 2013 Freightliner NTL             8.75
       7/7/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       7/7/2018    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-30             165
       7/7/2018    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-14          -1892
       7/7/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
       7/7/2018    709   RL0017   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             213.44
       7/7/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
       7/7/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
       7/7/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   RL0017   Owner Operator   Permits1                       ID06:2018 - 32910                         11
       7/7/2018    709   RL0017   Owner Operator   Permits1                       IL02:2018 - 32910                       3.75
       7/7/2018    709   RL0017   Owner Operator   Permits1                       NM07:2018 - 32910                        5.5

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       7/7/2018    709   RL0017   Owner Operator   Permits1                       NY13:2016 - 32910                         19
       7/7/2018    709   RL0017   Owner Operator   Permits1                       OR16:2018 - 32910                        8.5
       7/7/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       7/7/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/7/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD             51.57
       7/7/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD Ter           2.5
       7/7/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       7/7/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/7/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       7/7/2018    709   RL0062   Owner Operator   Driver Excellence Program      MD-2513000194                            -50
       7/7/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/7/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/7/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.44
       7/7/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.77
       7/7/2018    709   RL0062   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             202.52
       7/7/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
       7/7/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       7/7/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       7/7/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       7/7/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
       7/7/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
       7/7/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
       7/7/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       7/7/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       7/7/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       7/7/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.84
       7/7/2018    709   RM0026   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             179.02
       7/7/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
       7/7/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       7/7/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       7/7/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       7/7/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.76
       7/7/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
       7/7/2018    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         264.66
       7/7/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       7/7/2018    709   RP0082   Owner Operator   Tire Purchase                  Tire PO709-00368488 6/16/1            358.01
       7/7/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 214586 Q1202 Truck Leas        278.76
       7/7/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       7/7/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       7/7/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.78
       7/7/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.33
       7/7/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.22
       7/7/2018    709   RR0123   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax              86.63
       7/7/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100
       7/7/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       7/7/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       7/7/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 214624 Q1248                   311.97
       7/7/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       7/7/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       7/7/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/7/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/7/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/7/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.77
       7/7/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.06
       7/7/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.71
       7/7/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.02
       7/7/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.87
       7/7/2018    709   SB0009   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             226.29
       7/7/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
       7/7/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       7/7/2018    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00372114 - PO System          675.92
       7/7/2018    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Turner Turnpike West         18.05
       7/7/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       7/7/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       7/7/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       7/7/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.03
       7/7/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.66

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       7/7/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.93
       7/7/2018    709   SB0103   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax              230.27
       7/7/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                        100
       7/7/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/7/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
       7/7/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
       7/7/2018    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00372344 - PO System            188.5
       7/7/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 214587 Sub Lease                388.33
       7/7/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
       7/7/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           87.58
       7/7/2018    709   SM0109   Owner Operator   Fuel Card Advances             Cash Advance                               14
       7/7/2018    709   SM0109   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.14
       7/7/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            548
       7/7/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.49
       7/7/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          486.66
       7/7/2018    709   SM0109   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax              767.13
       7/7/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                       33.64
       7/7/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/7/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
       7/7/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
       7/7/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                     59.45
       7/7/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
       7/7/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
       7/7/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
       7/7/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
       7/7/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       7/7/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       7/7/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.59
       7/7/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                              97
       7/7/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          103.32
       7/7/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.59
       7/7/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          162.08
       7/7/2018    709   SN0019   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax               21.51
       7/7/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/7/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
       7/7/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
       7/7/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
       7/7/2018    709   VB0015   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax                22.6
       7/7/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                        100
       7/7/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/7/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
       7/7/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 214630 Tractor Sub leas         242.03
       7/7/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    154.84
       7/7/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
       7/7/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
       7/7/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
       7/7/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
       7/7/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       7/7/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.93
       7/7/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.35
       7/7/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.51
       7/7/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.23
       7/7/2018    709   VJ0006   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax              106.58
       7/7/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                        100
       7/7/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/7/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.54
       7/7/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
       7/7/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
       7/7/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-14        -1546.02
       7/7/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/7/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
       7/7/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
       7/7/2018    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-14          -72.94
       7/7/2018    709   WH0087   Owner Operator   Driver Excellence Program      MO-W227000877                             -50
       7/7/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                               50
       7/7/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                     8.75
       7/7/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                           13
       7/7/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
       7/7/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       7/7/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          503.57
       7/7/2018    742   AP0047   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax              183.85
       7/7/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/7/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                     52.35

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       7/7/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       7/7/2018    742   AS0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-19         2401.11
       7/7/2018    742   AS0089   Owner Operator   ESCROW                         Final Balance Refund                   -3000
       7/7/2018    742   AS0089   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             -18.99
       7/7/2018    742   AS0089   Owner Operator   Repair Order                   Balance of Dqd 04/11                   630.7
       7/7/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       7/7/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       7/7/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         541.23
       7/7/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.17
       7/7/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.71
       7/7/2018    742   BS0078   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             158.42
       7/7/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                        100
       7/7/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
       7/7/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       7/7/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       7/7/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       7/7/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.09
       7/7/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         581.48
       7/7/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                        100
       7/7/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       7/7/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       7/7/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                     38.52
       7/7/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
       7/7/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       7/7/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/7/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       7/7/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            485
       7/7/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          42.02
       7/7/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.01
       7/7/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            600
       7/7/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.11
       7/7/2018    742   DA0067   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             210.58
       7/7/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                        100
       7/7/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       7/7/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/7/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       7/7/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/7/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.25
       7/7/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.02
       7/7/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.21
       7/7/2018    742   DC0117   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             163.39
       7/7/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                        100
       7/7/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.32
       7/7/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843             100
       7/7/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       7/7/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       7/7/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.29
       7/7/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.75
       7/7/2018    742   EA0039   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             126.42
       7/7/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                        100
       7/7/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       7/7/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       7/7/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       7/7/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       7/7/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.46
       7/7/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.44
       7/7/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.55
       7/7/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.59
       7/7/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.7
       7/7/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.92
       7/7/2018    742   ED0041   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax              96.42
       7/7/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                        100
       7/7/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       7/7/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       7/7/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/7/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       7/7/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                             200

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       7/7/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/7/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.18
       7/7/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.15
       7/7/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.39
       7/7/2018    742   EN0016   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             121.95
       7/7/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
       7/7/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       7/7/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/7/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       7/7/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       7/7/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       7/7/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/7/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                       100
       7/7/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       7/7/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       7/7/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
       7/7/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       7/7/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       7/7/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/7/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           252
       7/7/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.69
       7/7/2018    742   MS0230   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax              32.36
       7/7/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                       100
       7/7/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       7/7/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       7/7/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
       7/7/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
       7/7/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
       7/7/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       7/7/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       7/7/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.68
       7/7/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.57
       7/7/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.87
       7/7/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.43
       7/7/2018    742   NG0024   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             111.61
       7/7/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                       100
       7/7/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       7/7/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       7/7/2018    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00373126 - PO System           248.3
       7/7/2018    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Turner Turnpike West         18.05
       7/7/2018    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Will Rogers Turnpike           9.2
       7/7/2018    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Will Rogers Turnpike          8.75
       7/7/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       7/7/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/7/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       7/7/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/7/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/7/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/7/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.09
       7/7/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.9
       7/7/2018    742   PC0012   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             129.01
       7/7/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
       7/7/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       7/7/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       7/7/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.44
       7/7/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.36
       7/7/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.84
       7/7/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.55
       7/7/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       7/7/2018    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                      9.84
       7/7/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       7/7/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       7/7/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/7/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/7/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.39
       7/7/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.66
       7/7/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.56
       7/7/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.21
       7/7/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.41

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       7/7/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.55
       7/7/2018    742   RS0342   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             416.92
       7/7/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
       7/7/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
       7/7/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       7/7/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       7/7/2018    742   RS0342   Owner Operator   Toll Charges                   33738 BATA Carquinez Bridge               25
       7/7/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
       7/7/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       7/7/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       7/7/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
       7/7/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       7/7/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       7/7/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
       7/7/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       7/7/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       7/7/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.79
       7/7/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.27
       7/7/2018    742   TH0130   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             203.73
       7/7/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
       7/7/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       7/7/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       7/7/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
       7/7/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       7/7/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       7/7/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         590.33
       7/7/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.09
       7/7/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.86
       7/7/2018    843   EI0003   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             121.35
       7/7/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/7/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       7/7/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      7/14/2018    708   DM0257   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
      7/14/2018    708   DM0257   Owner Operator   T Chek Fee                     School Checks (Corp)                    300
      7/14/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      7/14/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      7/14/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/14/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/14/2018    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/14/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.63
      7/14/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
      7/14/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      7/14/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      7/14/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      7/14/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      7/14/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.21
      7/14/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.46
      7/14/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.77
      7/14/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.88
      7/14/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
      7/14/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      7/14/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 214997 Q13147 Lease            440.14
      7/14/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      7/14/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      7/14/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                       100
      7/14/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      7/14/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      7/14/2018    709   BM0030   Owner Operator   Tire Purchase                  PO: 709-00372081 - PO System          265.12
      7/14/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      7/14/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      7/14/2018    709   CC0134   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      7/14/2018    709   CC0134   Owner Operator   Driver Excellence Program      GA-0158002647                             50
      7/14/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.45
      7/14/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.83
      7/14/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.47
      7/14/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                      100
      7/14/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      7/14/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.16
      7/14/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 214873 Q13168 sub lease         352.68
      7/14/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      7/14/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
      7/14/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/14/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/14/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.55
      7/14/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          658.47
      7/14/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                           298.1
      7/14/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                       33.64
      7/14/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/14/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.96
      7/14/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      7/14/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
      7/14/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      7/14/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                           13
      7/14/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/14/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/14/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/14/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/14/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          450.23
      7/14/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          174.58
      7/14/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          322.32
      7/14/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.68
      7/14/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           179.7
      7/14/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                       33.64
      7/14/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/14/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       39.07
      7/14/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                          244.46
      7/14/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL              8.75
      7/14/2018    709   CS0091   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-7                31
      7/14/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                        100
      7/14/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/14/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD              65.08
      7/14/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 214872 Q1201                    167.22
      7/14/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      7/14/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      7/14/2018    709   DL0029   Owner Operator   Driver Excellence Program      CA-1448301426                             -50
      7/14/2018    709   DL0029   Owner Operator   Driver Excellence Program      CO-FC08000167                              50
      7/14/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          436.81
      7/14/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.48
      7/14/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           358.5
      7/14/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                            327
      7/14/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                        100
      7/14/2018    709   DL0029   Owner Operator   Loan Repayment                 Balance of Loan 11                     4281.4
      7/14/2018    709   DL0029   Owner Operator   Loan Repayment                 EFS 194777, BAL LN 11                -7058.65
      7/14/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment          251.92
      7/14/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/14/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     34.2
      7/14/2018    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                         27.5
      7/14/2018    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                  2749.75
      7/14/2018    709   DL0029   Owner Operator   Tire Fee                       Tire Fee: 2147589                           8
      7/14/2018    709   DL0029   Owner Operator   Tire Fee                       Tire Fee: 2147593                           8
      7/14/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00374688 - PO System           201.18
      7/14/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00375065 - PO System           179.87
      7/14/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      7/14/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      7/14/2018    709   DL0107   Owner Operator   Driver Excellence Program      NM-3683108058                              50
      7/14/2018    709   DL0107   Owner Operator   Driver Excellence Program      NV-7278001232                             -50
      7/14/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      7/14/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      7/14/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          543.01
      7/14/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          383.09
      7/14/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          495.48
      7/14/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          352.82
      7/14/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                        100
      7/14/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          352.59
      7/14/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/14/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 65.71
      7/14/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 214877 Truck rental               300
      7/14/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 214934 Sublease                 338.99
      7/14/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                     18.38
      7/14/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75

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      7/14/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
      7/14/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      7/14/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      7/14/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          302.58
      7/14/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          460.72
      7/14/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          604.49
      7/14/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                       33.64
      7/14/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/14/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    92.35
      7/14/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                          512.35
      7/14/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      7/14/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
      7/14/2018    709   DS0225   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                             -50
      7/14/2018    709   DS0225   Owner Operator   Driver Excellence Program      US-1227000011                              50
      7/14/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          664.12
      7/14/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                        100
      7/14/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/14/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.07
      7/14/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                           13
      7/14/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/14/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      7/14/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      7/14/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      7/14/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      7/14/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      7/14/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      7/14/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          500.26
      7/14/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.78
      7/14/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          545.35
      7/14/2018    709   DS0288   Owner Operator   Repair Order                   CTMS - 215007 Repairs                  275.96
      7/14/2018    709   DW0138   Owner Operator   Broker Payment                 Agency Fee                             466.67
      7/14/2018    709   DW0138   Owner Operator   Broker Payment                 Amount - Agency Fee                   2125.94
      7/14/2018    709   DW0138   Owner Operator   Broker Payment                 Collection Payment                   -2592.61
      7/14/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      7/14/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
      7/14/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      7/14/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/14/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/14/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/14/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/14/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           605.4
      7/14/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                            487
      7/14/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                       33.64
      7/14/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/14/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   105.47
      7/14/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                          555.56
      7/14/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
      7/14/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
      7/14/2018    709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-7             70.98
      7/14/2018    709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-7             40.56
      7/14/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          170.99
      7/14/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          669.44
      7/14/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.16
      7/14/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                        100
      7/14/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/14/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    42.19
      7/14/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
      7/14/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
      7/14/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13
      7/14/2018    709   EO0014   Owner Operator   Driver Excellence Program      CA-1752602440                             -50
      7/14/2018    709   EO0014   Owner Operator   Driver Excellence Program      MO-W188000321                              50
      7/14/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          450.91
      7/14/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            173
      7/14/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.41
      7/14/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.19
      7/14/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                        100
      7/14/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/14/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 78.13
      7/14/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
      7/14/2018    709   EO0014   Owner Operator   Tire Purchase                  PO: 709-00372345 - PO System            96.73
      7/14/2018    709   EO0014   Owner Operator   Tractor Wash                   CTMS - 215020 FG5455                    -36.5
      7/14/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
      7/14/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8

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      7/14/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           321
      7/14/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.99
      7/14/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
      7/14/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      7/14/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 214995 truck lease 3304        434.29
      7/14/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/14/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      7/14/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/14/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/14/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/14/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.33
      7/14/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.95
      7/14/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         579.51
      7/14/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
      7/14/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      7/14/2018    709   FV0001   Owner Operator   Tire Fee                       Tire Fee: 2147569                          8
      7/14/2018    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00374689 - PO System          183.09
      7/14/2018    709   GA0051   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
      7/14/2018    709   GA0051   Owner Operator   T Chek Fee                     School Checks (Corp)                    300
      7/14/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      7/14/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      7/14/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.94
      7/14/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.95
      7/14/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
      7/14/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      7/14/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 214878 Lease                   252.11
      7/14/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      7/14/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      7/14/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/14/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/14/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/14/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/14/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/14/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/14/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.63
      7/14/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          479.3
      7/14/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.18
      7/14/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.41
      7/14/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.92
      7/14/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
      7/14/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      7/14/2018    709   GW0043   Owner Operator   Repair Order                   CTMS - 214806 Repairs                 245.87
      7/14/2018    709   GW0043   Owner Operator   Tire Purchase                  PO: 709-00373796 - PO System          213.92
      7/14/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 215001 Q1109 Lease             302.85
      7/14/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      7/14/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      7/14/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.21
      7/14/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.14
      7/14/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
      7/14/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      7/14/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 214874 Q13170                  352.68
      7/14/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      7/14/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      7/14/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/14/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/14/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/14/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.45
      7/14/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          543.1
      7/14/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100
      7/14/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      7/14/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/14/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      7/14/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.09
      7/14/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.47
      7/14/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.33

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      7/14/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                       100
      7/14/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      7/14/2018    709   HG0027   Owner Operator   Toll Charges                   33418 HCTRA Hardy South - Gree             4
      7/14/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/14/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      7/14/2018    709   IA0007   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
      7/14/2018    709   IA0007   Owner Operator   T Chek Fee                     School Checks (Corp)                  239.68
      7/14/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      7/14/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/14/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      7/14/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.92
      7/14/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.32
      7/14/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      7/14/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      7/14/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/14/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      7/14/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/14/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      7/14/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/14/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.34
      7/14/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      7/14/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      7/14/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      7/14/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      7/14/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      7/14/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/14/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/14/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/14/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/14/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.82
      7/14/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.06
      7/14/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.98
      7/14/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.46
      7/14/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                      100
      7/14/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      7/14/2018    709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00373969 - PO System          212.08
      7/14/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      7/14/2018    709   JC0292   Owner Operator   Tractor Wash                   CTMS - 215020 70074                      -39
      7/14/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 214932 Q13197 Lease            276.63
      7/14/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      7/14/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      7/14/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      7/14/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      7/14/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      7/14/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      7/14/2018    709   JD0211   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
      7/14/2018    709   JD0211   Owner Operator   T Chek Fee                     School Checks (Corp)                  254.06
      7/14/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/14/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      7/14/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      7/14/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/14/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/14/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.03
      7/14/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.71
      7/14/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.77
      7/14/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         638.23
      7/14/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      7/14/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      7/14/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      7/14/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/14/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      7/14/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/14/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/14/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.41
      7/14/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.65
      7/14/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          429.7
      7/14/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      7/14/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      7/14/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      7/14/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      7/14/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/14/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      7/14/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/14/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.25
      7/14/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         614.22
      7/14/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                       100
      7/14/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      7/14/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      7/14/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      7/14/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/14/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/14/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.46
      7/14/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.54
      7/14/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                       100
      7/14/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      7/14/2018    709   JR0099   Owner Operator   Advance                        6/6/18 Clm 69589-1 s/u pmts             250
      7/14/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      7/14/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      7/14/2018    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-21        -489.92
      7/14/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.92
      7/14/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                       100
      7/14/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      7/14/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 214803 Truck Lease             278.76
      7/14/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      7/14/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      7/14/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      7/14/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/14/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/14/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/14/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.74
      7/14/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.88
      7/14/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.75
      7/14/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.46
      7/14/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                       100
      7/14/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      7/14/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      7/14/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      7/14/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/14/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      7/14/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/14/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/14/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.03
      7/14/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           288
      7/14/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.57
      7/14/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             22
      7/14/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          226.9
      7/14/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      7/14/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      7/14/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/14/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      7/14/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      7/14/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      7/14/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      7/14/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/14/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.22
      7/14/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.69
      7/14/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          374.8
      7/14/2018    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2018 - Q13156                      100
      7/14/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      7/14/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      7/14/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 214878 Q13156 Lease            388.16

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      7/14/2018    709   KT0055   Owner Operator   UNIFORMS                       CTMS - 215020 Purchase uniform         327.8
      7/14/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      7/14/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      7/14/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                        100
      7/14/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      7/14/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 214794 Lease Q1111             252.11
      7/14/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      7/14/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      7/14/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.79
      7/14/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         651.43
      7/14/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                        100
      7/14/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      7/14/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      7/14/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/14/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      7/14/2018    709   MA0092   Owner Operator   Driver Excellence Program      CA-1784102679                             50
      7/14/2018    709   MA0092   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      7/14/2018    709   MA0092   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/14/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.44
      7/14/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.43
      7/14/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.92
      7/14/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.51
      7/14/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                        100
      7/14/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      7/14/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      7/14/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      7/14/2018    709   ME0053   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      7/14/2018    709   ME0053   Owner Operator   Driver Excellence Program      TX-556D0SQCBA                             50
      7/14/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.45
      7/14/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.88
      7/14/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.17
      7/14/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                        100
      7/14/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      7/14/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 214873 Q1113 Lease             252.11
      7/14/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 214954 Truck Rental Cre          -500
      7/14/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/14/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      7/14/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.01
      7/14/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.03
      7/14/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.37
      7/14/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                        100
      7/14/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      7/14/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/14/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/14/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      7/14/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            700
      7/14/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             160
      7/14/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/14/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/14/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      7/14/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.01
      7/14/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.95
      7/14/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      7/14/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      7/14/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/14/2018    709   MP0035   Owner Operator   Repair Order                   CTMS - 214940 Fuel Q1105             -645.97
      7/14/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      7/14/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      7/14/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      7/14/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
      7/14/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/14/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.16
      7/14/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.84
      7/14/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.26
      7/14/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.88
      7/14/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                        100
      7/14/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      7/14/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      7/14/2018    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00371688 - PO System          572.42
      7/14/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 PTC Carlisle                    110.43
      7/14/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 215007 Lease                   215.66
      7/14/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      7/14/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      7/14/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             300
      7/14/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/14/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.63
      7/14/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.67
      7/14/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                       100
      7/14/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      7/14/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      7/14/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      7/14/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                        100
      7/14/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      7/14/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 215053 Truck 73130 Leas        196.65
      7/14/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      7/14/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      7/14/2018    709   RC0030   Owner Operator   Driver Excellence Program      CA-1784102679                            -50
      7/14/2018    709   RC0030   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      7/14/2018    709   RC0030   Owner Operator   Driver Excellence Program      GA-1255001679                             50
      7/14/2018    709   RC0030   Owner Operator   Driver Excellence Program      GA-1255001709                             50
      7/14/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         644.55
      7/14/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      7/14/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      7/14/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/14/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   32910 2013 Freightliner NTL             8.75
      7/14/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   32910 2013 Freightliner NTL              -35
      7/14/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      7/14/2018    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-7            1892
      7/14/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      7/14/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         582.96
      7/14/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      7/14/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      7/14/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/14/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD             51.57
      7/14/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD           -206.25
      7/14/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD Ter           -10
      7/14/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD Ter           2.5
      7/14/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      7/14/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/14/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      7/14/2018    709   RL0062   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      7/14/2018    709   RL0062   Owner Operator   Driver Excellence Program      MD-2513000194                             50
      7/14/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/14/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/14/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.29
      7/14/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.59
      7/14/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          577.2
      7/14/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      7/14/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      7/14/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      7/14/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    -35
      7/14/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/14/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      7/14/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 34012                           8
      7/14/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.41
      7/14/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          504.5
      7/14/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      7/14/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                        100
      7/14/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      7/14/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    -150
      7/14/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      7/14/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5

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      7/14/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      7/14/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      7/14/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      7/14/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.13
      7/14/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.83
      7/14/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.85
      7/14/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
      7/14/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      7/14/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      7/14/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      7/14/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          459.2
      7/14/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.36
      7/14/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.51
      7/14/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
      7/14/2018    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         264.66
      7/14/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      7/14/2018    709   RP0082   Owner Operator   Tire Purchase                  Tire PO709-00368488 6/16/1            358.01
      7/14/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 214803 Q1202 Truck Leas        278.76
      7/14/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      7/14/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      7/14/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/14/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/14/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.63
      7/14/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.84
      7/14/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          484.1
      7/14/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100
      7/14/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      7/14/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      7/14/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 214872 Q1248                   311.97
      7/14/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      7/14/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      7/14/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/14/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/14/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/14/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.58
      7/14/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.66
      7/14/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.94
      7/14/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.25
      7/14/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.3
      7/14/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.82
      7/14/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      7/14/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      7/14/2018    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00372114 - PO System          675.86
      7/14/2018    709   SB0009   Owner Operator   Toll Charges                   33236 HCTRA Hardy North - Rank             4
      7/14/2018    709   SB0009   Owner Operator   Toll Charges                   33236 HCTRA Sam Houston - Cent             7
      7/14/2018    709   SB0009   Owner Operator   Toll Charges                   33236 HCTRA Sam Houston - NE M             7
      7/14/2018    709   SB0009   Owner Operator   Toll Charges                   33236 HCTRA Sam Houston - Nort             7
      7/14/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      7/14/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      7/14/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      7/14/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.72
      7/14/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.92
      7/14/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                       100
      7/14/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      7/14/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      7/14/2018    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00372344 - PO System          188.47
      7/14/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 214804 Sub Lease               388.33
      7/14/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      7/14/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                          12.42
      7/14/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           418
      7/14/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         711.83
      7/14/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      7/14/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      7/14/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      7/14/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      7/14/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      7/14/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13

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      7/14/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/14/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/14/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/14/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.87
      7/14/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.01
      7/14/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.88
      7/14/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          334.7
      7/14/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      7/14/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      7/14/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      7/14/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.42
      7/14/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.01
      7/14/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           550
      7/14/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                       100
      7/14/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      7/14/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 214878 Tractor Sub leas        242.03
      7/14/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      7/14/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/14/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      7/14/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/14/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      7/14/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      7/14/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.97
      7/14/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           9.04
      7/14/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.25
      7/14/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.92
      7/14/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.72
      7/14/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.42
      7/14/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                       100
      7/14/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      7/14/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/14/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      7/14/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-7          1546.02
      7/14/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      7/14/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      7/14/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      7/14/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      7/14/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      7/14/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      7/14/2018    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-7            72.94
      7/14/2018    709   WH0087   Owner Operator   Driver Excellence Program      MO-W227000877                             50
      7/14/2018    709   WH0087   Owner Operator   Driver Excellence Program      NM-3683108178                            -50
      7/14/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/14/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.92
      7/14/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.09
      7/14/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.62
      7/14/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.33
      7/14/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          393.6
      7/14/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.25
      7/14/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.32
      7/14/2018    709   WH0087   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax              79.07
      7/14/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                       100
      7/14/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                       100
      7/14/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      7/14/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      7/14/2018    709   WH0087   Owner Operator   Tire Fee                       Tire Fee: 2146472                          8
      7/14/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00369824 - PO System          238.62
      7/14/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00369824 - PO System          238.62
      7/14/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00372112 - PO System          671.57
      7/14/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00372112 - PO System           671.6
      7/14/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 214625 Q1238 Lease             311.97
      7/14/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 214873 Q1238 Lease             311.97
      7/14/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75

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      7/14/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      7/14/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      7/14/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      7/14/2018    742   AS0089   Owner Operator   Repair Order                   Balance of Dqd 04/11                   69.04
      7/14/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/14/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      7/14/2018    742   BS0078   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-21         -223.2
      7/14/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/14/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/14/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/14/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/14/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.16
      7/14/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.41
      7/14/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.76
      7/14/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.44
      7/14/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.9
      7/14/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                       100
      7/14/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      7/14/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      7/14/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      7/14/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      7/14/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         612.34
      7/14/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         717.95
      7/14/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         612.99
      7/14/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                       100
      7/14/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      7/14/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      7/14/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      7/14/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      7/14/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.88
      7/14/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.61
      7/14/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.83
      7/14/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.83
      7/14/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.56
      7/14/2018    742   CT0085   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             216.26
      7/14/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                      100
      7/14/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                     61.48
      7/14/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      7/14/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      7/14/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 214676 Sub Lease Q13171        352.68
      7/14/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 214930 Sub Lease Q13171        352.68
      7/14/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      7/14/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/14/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.68
      7/14/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.28
      7/14/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         615.41
      7/14/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.07
      7/14/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         595.42
      7/14/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100
      7/14/2018    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA A                      16.6
      7/14/2018    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA B                        18
      7/14/2018    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA C                      16.6
      7/14/2018    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA D                        18
      7/14/2018    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA E                        18
      7/14/2018    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Sam Houston - NE M             7
      7/14/2018    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Ship Channel Bridg             7
      7/14/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                           36.5
      7/14/2018    742   DS0254   Owner Operator   Tractor Wash                   CTMS - 215020 701511 trailer w         -36.5
      7/14/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843            100
      7/14/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/14/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      7/14/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.31
      7/14/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.03
      7/14/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.86
      7/14/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                       100
      7/14/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      7/14/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      7/14/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75

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      7/14/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      7/14/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.91
      7/14/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.9
      7/14/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.12
      7/14/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.2
      7/14/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.67
      7/14/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.51
      7/14/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
      7/14/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      7/14/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      7/14/2018    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - Cent             7
      7/14/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/14/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      7/14/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/14/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/14/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.25
      7/14/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.14
      7/14/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.34
      7/14/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      7/14/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      7/14/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/14/2018    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Sam Houston - NE M             7
      7/14/2018    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Sam Houston - Nort             7
      7/14/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      7/14/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      7/14/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      7/14/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      7/14/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      7/14/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      7/14/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      7/14/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      7/14/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      7/14/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      7/14/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      7/14/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      7/14/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/14/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.91
      7/14/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.83
      7/14/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.41
      7/14/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.59
      7/14/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                       100
      7/14/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      7/14/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      7/14/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      7/14/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      7/14/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      7/14/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      7/14/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      7/14/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/14/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.46
      7/14/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.87
      7/14/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.33
      7/14/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.87
      7/14/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                       100
      7/14/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      7/14/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      7/14/2018    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00373126 - PO System          248.23
      7/14/2018    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Turner Turnpike East         18.05
      7/14/2018    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Will Rogers Turnpike         18.05
      7/14/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/14/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/14/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      7/14/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      7/14/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/14/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/14/2018    742   OS0018   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             742.12
      7/14/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      7/14/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      7/14/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      7/14/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      7/14/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      7/14/2018    742   OS0018   Owner Operator   Tire Fee                       Tire Fee: 2146053                         16
      7/14/2018    742   OS0018   Owner Operator   Tire Purchase                  PO: 742-00373528 - PO System          191.69
      7/14/2018    742   OS0018   Owner Operator   Tire Purchase                  PO: 742-00373528 - PO System          191.69
      7/14/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      7/14/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/14/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      7/14/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/14/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.18
      7/14/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.12
      7/14/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          380.4
      7/14/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          291.3
      7/14/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.84
      7/14/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      7/14/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      7/14/2018    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Kilpatrick Turnpike           8.65
      7/14/2018    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Turner Turnpike East         18.05
      7/14/2018    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Will Rogers Turnpike         18.05
      7/14/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      7/14/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      7/14/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      7/14/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/14/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            140
      7/14/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      7/14/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.35
      7/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          63.19
      7/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.53
      7/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           1.72
      7/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.26
      7/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.23
      7/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.18
      7/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.93
      7/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.24
      7/14/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.59
      7/14/2018    742   RF0136   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             152.01
      7/14/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                       100
      7/14/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                       100
      7/14/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      7/14/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      7/14/2018    742   RF0136   Owner Operator   T Chek Fee                     Advance 34182                        1802.23
      7/14/2018    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                       32.79
      7/14/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      7/14/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      7/14/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      7/14/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      7/14/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.33
      7/14/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.23
      7/14/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.67
      7/14/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.81
      7/14/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.01
      7/14/2018    742   RN0054   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             271.37
      7/14/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
      7/14/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
      7/14/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      7/14/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      7/14/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      7/14/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      7/14/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 214589 Tractor Lease           353.28
      7/14/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 214806 Tractor Lease           353.28
      7/14/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      7/14/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      7/14/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/14/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         605.81
      7/14/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
      7/14/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      7/14/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      7/14/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      7/14/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA KTY WB @ Eldridge              7
      7/14/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA KTY WB @ Wilcrest              7
      7/14/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA KTY WB @ Wirt                  7
      7/14/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            100
      7/14/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/14/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      7/14/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      7/14/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      7/14/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      7/14/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            100
      7/14/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/14/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      7/14/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.37
      7/14/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.72
      7/14/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
      7/14/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      7/14/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/14/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
      7/14/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 15
      7/14/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               25
      7/14/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      7/14/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      7/14/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.36
      7/14/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/14/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      7/14/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      7/21/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      7/21/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      7/21/2018    709   AN0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/21/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.98
      7/21/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.59
      7/21/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
      7/21/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      7/21/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      7/21/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      7/21/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      7/21/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.98
      7/21/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.01
      7/21/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.49
      7/21/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.23
      7/21/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
      7/21/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      7/21/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 215269 Q13147 Lease            440.14
      7/21/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      7/21/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      7/21/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      7/21/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      7/21/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      7/21/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      7/21/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/21/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/21/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/21/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/21/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/21/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/21/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           160
      7/21/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.66
      7/21/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.74
      7/21/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.1
      7/21/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.04
      7/21/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.51
      7/21/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.01
      7/21/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.16
      7/21/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.13
      7/21/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.16
      7/21/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.28
      7/21/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.02

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      7/21/2018    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 199.01
      7/21/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100
      7/21/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100
      7/21/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      7/21/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      7/21/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 214930 Q13169 Sublease         352.68
      7/21/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 215231 Q13169 Sublease         352.68
      7/21/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      7/21/2018    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      7/21/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      7/21/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                       100
      7/21/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      7/21/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      7/21/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      7/21/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      7/21/2018    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/21/2018    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/21/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.58
      7/21/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.42
      7/21/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.02
      7/21/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.15
      7/21/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                      100
      7/21/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      7/21/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 215182 Q13168 sub lease        352.68
      7/21/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/21/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      7/21/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/21/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/21/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/21/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/21/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         562.78
      7/21/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         625.18
      7/21/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      7/21/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      7/21/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/21/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      7/21/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      7/21/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      7/21/2018    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-28        -149.42
      7/21/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.5
      7/21/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.22
      7/21/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.31
      7/21/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.39
      7/21/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      7/21/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      7/21/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      7/21/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      7/21/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      7/21/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      7/21/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.73
      7/21/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                       100
      7/21/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      7/21/2018    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00372115 - PO System          120.01
      7/21/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 214872 Q1201                   111.54
      7/21/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 215181 Q1201                   278.76
      7/21/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/21/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      7/21/2018    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-28         -75.02
      7/21/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.25
      7/21/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.65
      7/21/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                       100
      7/21/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      7/21/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      7/21/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00374688 - PO System          201.18
      7/21/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00375065 - PO System          179.87

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      7/21/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      7/21/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      7/21/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.65
      7/21/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.35
      7/21/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.65
      7/21/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                       100
      7/21/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      7/21/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      7/21/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 215186 Truck rental              300
      7/21/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 215235 Sublease                338.99
      7/21/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      7/21/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/21/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      7/21/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/21/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/21/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         729.16
      7/21/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      7/21/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      7/21/2018    709   DS0049   Owner Operator   Toll Charges                   32915 BATA Bay Bridge                     25
      7/21/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      7/21/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      7/21/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      7/21/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         606.39
      7/21/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                       100
      7/21/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      7/21/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      7/21/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/21/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/21/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/21/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/21/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/21/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.42
      7/21/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.44
      7/21/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.49
      7/21/2018    709   DS0288   Owner Operator   Repair Order                   CTMS - 215279 Repairs                 275.96
      7/21/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/21/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      7/21/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/21/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/21/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/21/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/21/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/21/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.85
      7/21/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.14
      7/21/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      7/21/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      7/21/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      7/21/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      7/21/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      7/21/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          479.5
      7/21/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.78
      7/21/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.77
      7/21/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.31
      7/21/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                       100
      7/21/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      7/21/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      7/21/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      7/21/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      7/21/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.96
      7/21/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.12
      7/21/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.89
      7/21/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.73
      7/21/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
      7/21/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      7/21/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      7/21/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      7/21/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8

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      7/21/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.06
      7/21/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                            300
      7/21/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.11
      7/21/2018    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 570.01
      7/21/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                        100
      7/21/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      7/21/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 215268 truck lease 3304        434.29
      7/21/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/21/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      7/21/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         649.03
      7/21/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.78
      7/21/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                       100
      7/21/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      7/21/2018    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00374689 - PO System          183.09
      7/21/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      7/21/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      7/21/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.48
      7/21/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                        100
      7/21/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      7/21/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 215187 Lease                   252.11
      7/21/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      7/21/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      7/21/2018    709   GW0043   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-28          -1054
      7/21/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/21/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/21/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/21/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/21/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/21/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.45
      7/21/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.68
      7/21/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.65
      7/21/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                        100
      7/21/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      7/21/2018    709   GW0043   Owner Operator   T Chek Fee                     ExpressCheck Fee                        5.68
      7/21/2018    709   GW0043   Owner Operator   T Chek Fee                     Tractor Repair TTQ1109                   568
      7/21/2018    709   GW0043   Owner Operator   Tire Purchase                  PO: 709-00373796 - PO System          213.92
      7/21/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 215274 Q1109 Lease             302.85
      7/21/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      7/21/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      7/21/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.39
      7/21/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.24
      7/21/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.06
      7/21/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.98
      7/21/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                       100
      7/21/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      7/21/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 215183 Q13170                  352.68
      7/21/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      7/21/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      7/21/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/21/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.34
      7/21/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                        100
      7/21/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      7/21/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/21/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      7/21/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.86
      7/21/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.67
      7/21/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.43
      7/21/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.04
      7/21/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                        100
      7/21/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      7/21/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      7/21/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/21/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      7/21/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.88
      7/21/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.88
      7/21/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                            315

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      7/21/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      7/21/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      7/21/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/21/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      7/21/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/21/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      7/21/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/21/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.99
      7/21/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.85
      7/21/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      7/21/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      7/21/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      7/21/2018    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      7/21/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      7/21/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      7/21/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/21/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/21/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/21/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/21/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.62
      7/21/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.14
      7/21/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.23
      7/21/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.92
      7/21/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.33
      7/21/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                       100
      7/21/2018    709   JC0292   Owner Operator   Miscellaneous                  Saskatchewan 2017 Prem                 11.42
      7/21/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      7/21/2018    709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00373969 - PO System          212.08
      7/21/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      7/21/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 215233 Q13197 Lease            276.63
      7/21/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/21/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      7/21/2018    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
      7/21/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      7/21/2018    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         1500
      7/21/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      7/21/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/21/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.84
      7/21/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.35
      7/21/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      7/21/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      7/21/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      7/21/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/21/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      7/21/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             500
      7/21/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/21/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.03
      7/21/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.59
      7/21/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.36
      7/21/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.7
      7/21/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.3
      7/21/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      7/21/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      7/21/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      7/21/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/21/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      7/21/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/21/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/21/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.01
      7/21/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.07
      7/21/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                        100
      7/21/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      7/21/2018    709   JG0092   Owner Operator   Toll Charges                   33669 BATA Richmond                       25
      7/21/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      7/21/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      7/21/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/21/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      7/21/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.38
      7/21/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          157.22
      7/21/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                        100
      7/21/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                    19.54
      7/21/2018    709   JR0099   Owner Operator   Advance                        6/6/18 Clm 69589-1 s/u pmts            145.67
      7/21/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL              8.75
      7/21/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                           13
      7/21/2018    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-14           489.92
      7/21/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                        100
      7/21/2018    709   JR0099   Owner Operator   Loan Repayment                 efs195599                            -2227.05
      7/21/2018    709   JR0099   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          250.31
      7/21/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD               58.6
      7/21/2018    709   JR0099   Owner Operator   T Chek Fee                     ExpressCheck Fee                        22.05
      7/21/2018    709   JR0099   Owner Operator   T Chek Fee                     Tractor Repair Q1203                    2205
      7/21/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 215127 Truck Lease              278.76
      7/21/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                     8.75
      7/21/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                        8.75
      7/21/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                           13
      7/21/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      7/21/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/21/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/21/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.51
      7/21/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          454.07
      7/21/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.84
      7/21/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                        100
      7/21/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            2.51
      7/21/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                     15.94
      7/21/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                         37.5
      7/21/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      7/21/2018    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                     12.5
      7/21/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                           13
      7/21/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/21/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/21/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/21/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/21/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      7/21/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      7/21/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      7/21/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      7/21/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.01
      7/21/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            26.5
      7/21/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.51
      7/21/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            155
      7/21/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            370
      7/21/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            368
      7/21/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            290
      7/21/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           70.02
      7/21/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                       33.64
      7/21/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.32
      7/21/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      7/21/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                          519.59
      7/21/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL             8.75
      7/21/2018    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                    12.5
      7/21/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                           8
      7/21/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/21/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                           429.9
      7/21/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          438.26
      7/21/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          453.66
      7/21/2018    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2018 - Q13156                       100
      7/21/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD             42.19
      7/21/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 215187 Q13156 Lease             388.16
      7/21/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
      7/21/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                            8
      7/21/2018    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-28         -338.85
      7/21/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                        100
      7/21/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              39.07
      7/21/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 215117 Lease Q1111              252.11
      7/21/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                    8.75

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      7/21/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      7/21/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/21/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/21/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           34.6
      7/21/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         862.03
      7/21/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                       100
      7/21/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      7/21/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      7/21/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/21/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      7/21/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.15
      7/21/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.24
      7/21/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.18
      7/21/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                       100
      7/21/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      7/21/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      7/21/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      7/21/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.81
      7/21/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.38
      7/21/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.13
      7/21/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                       100
      7/21/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      7/21/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 215182 Q1113 Lease             252.11
      7/21/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/21/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      7/21/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.02
      7/21/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.51
      7/21/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                       100
      7/21/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      7/21/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/21/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/21/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      7/21/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      7/21/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            250
      7/21/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
      7/21/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.88
      7/21/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      7/21/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      7/21/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/21/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      7/21/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      7/21/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      7/21/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      7/21/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/21/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/21/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.45
      7/21/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.44
      7/21/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                       100
      7/21/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      7/21/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 215280 Lease                   215.66
      7/21/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      7/21/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      7/21/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/21/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/21/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.33
      7/21/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.26
      7/21/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                      100
      7/21/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      7/21/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      7/21/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      7/21/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                       100
      7/21/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      7/21/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 215312 Truck 73130 Leas        196.65
      7/21/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      7/21/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8

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      7/21/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.81
      7/21/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      7/21/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      7/21/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/21/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   32910 2013 Freightliner NTL             8.75
      7/21/2018    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      7/21/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      7/21/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/21/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.78
      7/21/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         604.93
      7/21/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      7/21/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      7/21/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/21/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD             51.57
      7/21/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD Ter           2.5
      7/21/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      7/21/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/21/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      7/21/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/21/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/21/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/21/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/21/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/21/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/21/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.49
      7/21/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.13
      7/21/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.48
      7/21/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.63
      7/21/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      7/21/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      7/21/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      7/21/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/21/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      7/21/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.12
      7/21/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.94
      7/21/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.1
      7/21/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      7/21/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      7/21/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      7/21/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      7/21/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      7/21/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      7/21/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      7/21/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.86
      7/21/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.95
      7/21/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.39
      7/21/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
      7/21/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      7/21/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      7/21/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      7/21/2018    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/21/2018    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/21/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.71
      7/21/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.73
      7/21/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
      7/21/2018    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         264.66
      7/21/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      7/21/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 215127 Q1202 Truck Leas        278.76
      7/21/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      7/21/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      7/21/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/21/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/21/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.59
      7/21/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.72
      7/21/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.07
      7/21/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         569.52
      7/21/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100

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      7/21/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      7/21/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      7/21/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 215181 Q1248                   311.97
      7/21/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      7/21/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      7/21/2018    709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                    -227.25
      7/21/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/21/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/21/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/21/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.82
      7/21/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.56
      7/21/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.68
      7/21/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.01
      7/21/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.85
      7/21/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      7/21/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      7/21/2018    709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                        2.25
      7/21/2018    709   SB0009   Owner Operator   T Chek Fee                     Towing TT33236                          225
      7/21/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      7/21/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      7/21/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      7/21/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.21
      7/21/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.67
      7/21/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.59
      7/21/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                       100
      7/21/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      7/21/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      7/21/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 215128 Sub Lease               388.33
      7/21/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      7/21/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/21/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.65
      7/21/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          406.9
      7/21/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      7/21/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      7/21/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      7/21/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      7/21/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      7/21/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      7/21/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/21/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/21/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/21/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/21/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.85
      7/21/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.85
      7/21/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.06
      7/21/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.75
      7/21/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.33
      7/21/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      7/21/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      7/21/2018    709   VB0015   Owner Operator   Broker Pre Pass                Q1112 PrePass Device                    12.5
      7/21/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      7/21/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           312
      7/21/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.28
      7/21/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                       100
      7/21/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      7/21/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 215187 Tractor Sub leas        242.03
      7/21/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      7/21/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/21/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      7/21/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/21/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/21/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/21/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.71
      7/21/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.97
      7/21/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         109.22
      7/21/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.29
      7/21/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.77

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      7/21/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          208.77
      7/21/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                        100
      7/21/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.54
      7/21/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      7/21/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      7/21/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
      7/21/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      7/21/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      7/21/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      7/21/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/21/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      7/21/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          358.79
      7/21/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.85
      7/21/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          424.17
      7/21/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                        100
      7/21/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 60.47
      7/21/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00369824 - PO System           238.62
      7/21/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 215182 Q1238 Lease              311.97
      7/21/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                     8.75
      7/21/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                           13
      7/21/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/21/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/21/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/21/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/21/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      7/21/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      7/21/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      7/21/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      7/21/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          431.06
      7/21/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.94
      7/21/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.88
      7/21/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          335.66
      7/21/2018    742   AP0047   Owner Operator   Miscellaneous                  Saskatchewan 2017 Prem                   8.58
      7/21/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                     52.35
      7/21/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism             2.5
      7/21/2018    742   AS0089   Owner Operator   *Arrears Collection W/O        WO:33912 KTA Emporia: I-35N 8           -18.9
      7/21/2018    742   AS0089   Owner Operator   *Arrears Collection W/O        WO:April 2018 Fuel/Mileage Tax            -82
      7/21/2018    742   AS0089   Owner Operator   *Arrears Collection W/O        WO:Balance of Dqd 04/11              -2064.82
      7/21/2018    742   AS0089   Owner Operator   *Arrears Collection W/O        WO:LCIL:2018 - 33912                 -1049.19
      7/21/2018    742   AS0089   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33912                        -8
      7/21/2018    742   AS0089   Owner Operator   *Arrears Collection W/O        WO:PNet Hware 33912                        -8
      7/21/2018    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                            8
      7/21/2018    742   AS0089   Owner Operator   Communication Charge           PNet Hware 33912                            8
      7/21/2018    742   AS0089   Owner Operator   FUEL TAX                       April 2018 Fuel/Mileage Tax                82
      7/21/2018    742   AS0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33912                     1049.19
      7/21/2018    742   AS0089   Owner Operator   Repair Order                   Balance of Dqd 04/11                  2064.82
      7/21/2018    742   AS0089   Owner Operator   Toll Charges                   33912 KTA Emporia: I-35N 8               18.9
      7/21/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                       8.75
      7/21/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                           13
      7/21/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          574.07
      7/21/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           682.8
      7/21/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                        100
      7/21/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                       70.32
      7/21/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL             8.75
      7/21/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                           8
      7/21/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.67
      7/21/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.79
      7/21/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.03
      7/21/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.06
      7/21/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                       100
      7/21/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD             42.19
      7/21/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te            2.5
      7/21/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 215231 Sub Lease Q13171         352.68
      7/21/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      7/21/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      7/21/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                           13
      7/21/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                           13

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      7/21/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           500
      7/21/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.92
      7/21/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.45
      7/21/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.03
      7/21/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             23
      7/21/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.43
      7/21/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.46
      7/21/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.42
      7/21/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.39
      7/21/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                       100
      7/21/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                       100
      7/21/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      7/21/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      7/21/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/21/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/21/2018    742   DA0067   Owner Operator   Tire Fee                       Tire Fee: 2149539                         16
      7/21/2018    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00375059 - PO System           462.8
      7/21/2018    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00375059 - PO System           462.8
      7/21/2018    742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Sam Houston - Fair             5
      7/21/2018    742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Ship Channel Bridg             7
      7/21/2018    742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Ship Channel Bridg             7
      7/21/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      7/21/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/21/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.88
      7/21/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         658.12
      7/21/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100
      7/21/2018    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Sam Houston - NE M           3.5
      7/21/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      7/21/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      7/21/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      7/21/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            150
      7/21/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            250
      7/21/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
      7/21/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      7/21/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.1
      7/21/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          538.4
      7/21/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.39
      7/21/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.55
      7/21/2018    742   DS0254   Owner Operator   FUEL TAX                       May 2018 Fuel/Mileage Tax             357.67
      7/21/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
      7/21/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
      7/21/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
      7/21/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      7/21/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      7/21/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      7/21/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      7/21/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      7/21/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      7/21/2018    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Turner Turnpike East         18.05
      7/21/2018    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Will Rogers Turnpike         18.05
      7/21/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 214739 Trk 33487 Lease         430.17
      7/21/2018    742   EA0039   Owner Operator   Advance                        New Hire Equip SL 402-092843           94.78
      7/21/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/21/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      7/21/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.24
      7/21/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.03
      7/21/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.13
      7/21/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.78
      7/21/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                       100
      7/21/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      7/21/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      7/21/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                             35
      7/21/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/21/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      7/21/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/21/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/21/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.36

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      7/21/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.91
      7/21/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          416.4
      7/21/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.02
      7/21/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         584.67
      7/21/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      7/21/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      7/21/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/21/2018    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Hardy South - Barr           3.5
      7/21/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      7/21/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      7/21/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      7/21/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      7/21/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      7/21/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/21/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/21/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/21/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      7/21/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/21/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.59
      7/21/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.96
      7/21/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      7/21/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      7/21/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      7/21/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/21/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/21/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      7/21/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      7/21/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/21/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/21/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                       100
      7/21/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                       100
      7/21/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      7/21/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      7/21/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/21/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/21/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      7/21/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      7/21/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      7/21/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/21/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.49
      7/21/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.35
      7/21/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.77
      7/21/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.56
      7/21/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                       100
      7/21/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      7/21/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      7/21/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      7/21/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      7/21/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      7/21/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      7/21/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      7/21/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      7/21/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/21/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/21/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.94
      7/21/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.93
      7/21/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.81
      7/21/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.42
      7/21/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                       100
      7/21/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      7/21/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      7/21/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/21/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      7/21/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/21/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/21/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      7/21/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      7/21/2018    742   OS0018   Owner Operator   Tire Purchase                  PO: 742-00373528 - PO System          191.69

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      7/21/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                       8.75
      7/21/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                           13
      7/21/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                           13
      7/21/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                           13
      7/21/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/21/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/21/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/21/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                              140
      7/21/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.4
      7/21/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.87
      7/21/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          262.12
      7/21/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                         100
      7/21/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                       53.13
      7/21/2018    742   RF0136   Owner Operator   Repair Order                   CTMS - 214723 repair                    246.5
      7/21/2018    742   RF0136   Owner Operator   Repair Order                   CTMS - 214971 repair                    246.5
      7/21/2018    742   RF0136   Owner Operator   T Chek Fee                     Advance 34182                         1476.77
      7/21/2018    742   RF0136   Owner Operator   Tire Purchase                  PO: 742-00371739 - PO System           121.97
      7/21/2018    742   RF0136   Owner Operator   Tire Purchase                  PO: 742-00371739 - PO System           122.03
      7/21/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             8.75
      7/21/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                          13
      7/21/2018    742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-28        -1028.58
      7/21/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.78
      7/21/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          325.41
      7/21/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          386.09
      7/21/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           15.21
      7/21/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           336.1
      7/21/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           237.4
      7/21/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           389.7
      7/21/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                        100
      7/21/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             35.16
      7/21/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
      7/21/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 215130 Tractor Lease            353.28
      7/21/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       8.75
      7/21/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13
      7/21/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/21/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          487.12
      7/21/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.93
      7/21/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.56
      7/21/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          556.04
      7/21/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                           246.9
      7/21/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                         100
      7/21/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                      143.21
      7/21/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism               2.5
      7/21/2018    742   RS0342   Owner Operator   Repair Order                   CTMS - 214509 Repairs                  428.95
      7/21/2018    742   SK0049   Owner Operator   Advance                        New Hire Equip SL 402-092842            94.78
      7/21/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      7/21/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
      7/21/2018    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-28            -335
      7/21/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          430.54
      7/21/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                        58.6
      7/21/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
      7/21/2018    742   TH0130   Owner Operator   Advance                        New Hire Equip SL 402-092841            94.78
      7/21/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      7/21/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
      7/21/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.96
      7/21/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.73
      7/21/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                         100
      7/21/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/21/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
      7/21/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      7/21/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                  25
      7/21/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                           8.75
      7/21/2018    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                     12.5
      7/21/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                           13
      7/21/2018    843   EI0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-28        -1164.21
      7/21/2018    843   EI0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-28         -556.15
      7/21/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          671.36
      7/21/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.21
      7/21/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      7/21/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      7/21/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      7/28/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      7/28/2018    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
      7/28/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      7/28/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                      100
      7/28/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      7/28/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      7/28/2018    709   AN0007   Owner Operator   Repair Order                   CTMS - 215453 Repair                  100.08
      7/28/2018    709   AN0007   Owner Operator   Truck Payment                  CTMS - 215453 Truck Rental              100
      7/28/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      7/28/2018    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      7/28/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      7/28/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.09
      7/28/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.94
      7/28/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                      100
      7/28/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      7/28/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      7/28/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      7/28/2018    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      7/28/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      7/28/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/28/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/28/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.81
      7/28/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.77
      7/28/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          421.5
      7/28/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
      7/28/2018    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 192.27
      7/28/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                      100
      7/28/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      7/28/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 215477 Q13169 Sublease         352.68
      7/28/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      7/28/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      7/28/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                       100
      7/28/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      7/28/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      7/28/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      7/28/2018    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      7/28/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      7/28/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.34
      7/28/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         569.86
      7/28/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.73
      7/28/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                      100
      7/28/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      7/28/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 215430 Q13168 sub lease        352.68
      7/28/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/28/2018    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      7/28/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      7/28/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/28/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/28/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.69
      7/28/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.78
      7/28/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      7/28/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      7/28/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/28/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      7/28/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      7/28/2018    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                      9.84
      7/28/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      7/28/2018    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-21          149.42
      7/28/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/28/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/28/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.65
      7/28/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      7/28/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      7/28/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46

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      7/28/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL            8.75
      7/28/2018    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                     9.84
      7/28/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
      7/28/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.1
      7/28/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                      100
      7/28/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/28/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            65.07
      7/28/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 215429 Q1201                  278.76
      7/28/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
      7/28/2018    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                     9.84
      7/28/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                          8
      7/28/2018    709   DL0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-21          75.02
      7/28/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        379.13
      7/28/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        332.94
      7/28/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        454.15
      7/28/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                      100
      7/28/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment        251.92
      7/28/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/28/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.19
      7/28/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00374688 - PO System         201.18
      7/28/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00375065 - PO System         179.87
      7/28/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                   18.36
      7/28/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/28/2018    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                     9.84
      7/28/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
      7/28/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      7/28/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      7/28/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.4
      7/28/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        766.85
      7/28/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                     33.64
      7/28/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/28/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  92.33
      7/28/2018    709   DS0049   Owner Operator   Toll Charges                   32915 Bay Bridge                         25
      7/28/2018    709   DS0049   Owner Operator   Toll Charges                   32915/TL9209 Bay Bridge                  25
      7/28/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
      7/28/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      7/28/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                          8
      7/28/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        580.03
      7/28/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        550.54
      7/28/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                      100
      7/28/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/28/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     39.04
      7/28/2018    709   DS0225   Owner Operator   Repair Order                   CTMS - 215454 Repair                     70
      7/28/2018    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                    19.68
      7/28/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                         13
      7/28/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/28/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                             50
      7/28/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                             50
      7/28/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
      7/28/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
      7/28/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.83
      7/28/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                        230.31
      7/28/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/28/2018    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                     9.84
      7/28/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
      7/28/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      7/28/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/28/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/28/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/28/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/28/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        517.88
      7/28/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         14.15
      7/28/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        505.01
      7/28/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        582.03
      7/28/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                     33.64
      7/28/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/28/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 105.47
      7/28/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
      7/28/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                  8.75
      7/28/2018    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                     9.84
      7/28/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                          8
      7/28/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        372.29
      7/28/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                      100

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      7/28/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      7/28/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      7/28/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      7/28/2018    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      7/28/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      7/28/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           263
      7/28/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.57
      7/28/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.65
      7/28/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                       100
      7/28/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      7/28/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      7/28/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      7/28/2018    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      7/28/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      7/28/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.92
      7/28/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.99
      7/28/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.83
      7/28/2018    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 853.22
      7/28/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                       100
      7/28/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      7/28/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/28/2018    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521B                     9.84
      7/28/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      7/28/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/28/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/28/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.86
      7/28/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         562.09
      7/28/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.59
      7/28/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                      100
      7/28/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      7/28/2018    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00374689 - PO System          183.09
      7/28/2018    709   FV0001   Owner Operator   Toll Charges                   21521B Bay Bridge                         25
      7/28/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.72
      7/28/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.64
      7/28/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      7/28/2018    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      7/28/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      7/28/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.49
      7/28/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                       100
      7/28/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      7/28/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 215428 Lease                   252.11
      7/28/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      7/28/2018    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      7/28/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      7/28/2018    709   GW0043   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-21           1054
      7/28/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/28/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.07
      7/28/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.59
      7/28/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.53
      7/28/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                       100
      7/28/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      7/28/2018    709   GW0043   Owner Operator   Tire Purchase                  PO: 709-00373796 - PO System          213.92
      7/28/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      7/28/2018    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      7/28/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      7/28/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.29
      7/28/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          526.3
      7/28/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                      100
      7/28/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      7/28/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 215431 Q13170                  352.68
      7/28/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      7/28/2018    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK33180                      9.84
      7/28/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      7/28/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/28/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/28/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      7/28/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.76
      7/28/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         648.05
      7/28/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.08
      7/28/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           568
      7/28/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                       100
      7/28/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      7/28/2018    709   HG0027   Owner Operator   Accident Claim                 07/02/18 HG0027 Incident              1451.7
      7/28/2018    709   HG0027   Owner Operator   Advance                        Acc clm 69930 s/u pmts                  250
      7/28/2018    709   HG0027   Owner Operator   Advance                        Acc clm 69930 s/u pmts               -1451.7
      7/28/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/28/2018    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      7/28/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      7/28/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.63
      7/28/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.76
      7/28/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         586.02
      7/28/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                       100
      7/28/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      7/28/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      7/28/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/28/2018    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      7/28/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      7/28/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.44
      7/28/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.06
      7/28/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      7/28/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                         21
      7/28/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      7/28/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/28/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      7/28/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/28/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      7/28/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/28/2018    709   JA0152   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/28/2018    709   JA0152   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/28/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.08
      7/28/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      7/28/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      7/28/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      7/28/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      7/28/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      7/28/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/28/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/28/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/28/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/28/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.02
      7/28/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.12
      7/28/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.98
      7/28/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.55
      7/28/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.98
      7/28/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.8
      7/28/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                      100
      7/28/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      7/28/2018    709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00373969 - PO System          212.01
      7/28/2018    709   JC0292   Owner Operator   Tractor Charge                 51362 - Q1210                         458.72
      7/28/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 215479 Q13197 Lease            276.63
      7/28/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/28/2018    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                      9.84
      7/28/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      7/28/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      7/28/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/28/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/28/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.72
      7/28/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         652.18
      7/28/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      7/28/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      7/28/2018    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge                          25
      7/28/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      7/28/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      7/28/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/28/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      7/28/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        615.43
      7/28/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        424.25
      7/28/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                            14
      7/28/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                     33.64
      7/28/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/28/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      7/28/2018    709   JG0072   Owner Operator   Toll Charges                   32909 Carquinez Bridge                   25
      7/28/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      7/28/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      7/28/2018    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                     9.84
      7/28/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      7/28/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/28/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/28/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.09
      7/28/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        475.34
      7/28/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                       100
      7/28/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/28/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.15
      7/28/2018    709   JG0092   Owner Operator   Toll Charges                   33669 BATA San Mateo                     25
      7/28/2018    709   JG0092   Owner Operator   Toll Charges                   33669 BATA San Mateo                     25
      7/28/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      7/28/2018    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                     9.84
      7/28/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      7/28/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-4           -186
      7/28/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/28/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/28/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.26
      7/28/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                       100
      7/28/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/28/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51
      7/28/2018    709   JQ0015   Owner Operator   Repair Order                   CTMS - 215527 REPAIR                     70
      7/28/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      7/28/2018    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                     9.84
      7/28/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      7/28/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        458.38
      7/28/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                       100
      7/28/2018    709   JR0099   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        250.31
      7/28/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/28/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.58
      7/28/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 215374 Truck Lease            278.76
      7/28/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      7/28/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      7/28/2018    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRK33325                     9.84
      7/28/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      7/28/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/28/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/28/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/28/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        497.72
      7/28/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        283.03
      7/28/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        550.91
      7/28/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        100.02
      7/28/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.74
      7/28/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                       100
      7/28/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          2.48
      7/28/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/28/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.93
      7/28/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      7/28/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/28/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/28/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/28/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/28/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.33
      7/28/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        142.83
      7/28/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL           8.75
      7/28/2018    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                    9.84
      7/28/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                         8
      7/28/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/28/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        391.09
      7/28/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        469.99
      7/28/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.68
      7/28/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                           216

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      7/28/2018    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2018 - Q13156                      100
      7/28/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      7/28/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 215435 Q13156 Lease            388.16
      7/28/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      7/28/2018    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      7/28/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      7/28/2018    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-21          338.85
      7/28/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                       100
      7/28/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      7/28/2018    709   LL0160   Owner Operator   Toll Charges                   TxTag Q1111 SH 130 CR 138               0.77
      7/28/2018    709   LL0160   Owner Operator   Toll Charges                   TxTag Q1111 SH 130 FM 685 Nort          0.77
      7/28/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 215363 Lease Q1111             252.11
      7/28/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      7/28/2018    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                      9.84
      7/28/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      7/28/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/28/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/28/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/28/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/28/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.28
      7/28/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         618.11
      7/28/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.35
      7/28/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                       100
      7/28/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      7/28/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      7/28/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/28/2018    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      7/28/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      7/28/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.31
      7/28/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.65
      7/28/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                       100
      7/28/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      7/28/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      7/28/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      7/28/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      7/28/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      7/28/2018    709   MD0122   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
      7/28/2018    709   MD0122   Owner Operator   T Chek Fee                     School Checks (Corp)                  235.62
      7/28/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      7/28/2018    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                      9.84
      7/28/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      7/28/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.47
      7/28/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.35
      7/28/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.26
      7/28/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                       100
      7/28/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      7/28/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 215431 Q1113 Lease             252.11
      7/28/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/28/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      7/28/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.92
      7/28/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.34
      7/28/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                       100
      7/28/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      7/28/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/28/2018    709   MG0067   Owner Operator   Tire Fee                       Tire Fee: 2152432                          8
      7/28/2018    709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00374876 - PO System          187.16
      7/28/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/28/2018    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                      9.84
      7/28/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      7/28/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      7/28/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      7/28/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      7/28/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          596.3
      7/28/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      7/28/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      7/28/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/28/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05

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      7/28/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      7/28/2018    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1108                      9.84
      7/28/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      7/28/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      7/28/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/28/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/28/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/28/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/28/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.78
      7/28/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.32
      7/28/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.55
      7/28/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                       100
      7/28/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      7/28/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 215552 Lease                   215.66
      7/28/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      7/28/2018    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      7/28/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      7/28/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/28/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/28/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.16
      7/28/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.38
      7/28/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                      100
      7/28/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      7/28/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      7/28/2018    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      7/28/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      7/28/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                       100
      7/28/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      7/28/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 215606 Truck 73130 Leas        196.65
      7/28/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      7/28/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      7/28/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      7/28/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      7/28/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/28/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   32910 2013 Freightliner NTL             8.75
      7/28/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      7/28/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/28/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         581.04
      7/28/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.58
      7/28/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      7/28/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      7/28/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/28/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD             51.54
      7/28/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                32910 2013 Freightliner PD Ter           2.5
      7/28/2018    709   RL0017   Owner Operator   Repair Order                   CTMS - 215453 Repair                  425.75
      7/28/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      7/28/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/28/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      7/28/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      7/28/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      7/28/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      7/28/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/28/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      7/28/2018    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      7/28/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      7/28/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.48
      7/28/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.19
      7/28/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      7/28/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    37.5
      7/28/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      7/28/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      7/28/2018    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      7/28/2018    709   RL0180   Owner Operator   Truck Payment                  CTMS - 215452 Truck Rental              400
      7/28/2018    709   RL0180   Owner Operator   Truck Payment                  CTMS - 215452 Truck Rental              100
      7/28/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      7/28/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75

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      7/28/2018    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      7/28/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      7/28/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          474.1
      7/28/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                       100
      7/28/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      7/28/2018    709   RM0026   Owner Operator   Truck Payment                  CTMS - 215454 Truck Rental              300
      7/28/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      7/28/2018    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      7/28/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      7/28/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.85
      7/28/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.52
      7/28/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                       100
      7/28/2018    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         264.66
      7/28/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      7/28/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 215374 Q1202 Truck Leas        278.76
      7/28/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      7/28/2018    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      7/28/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      7/28/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.27
      7/28/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.29
      7/28/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.49
      7/28/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                       100
      7/28/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      7/28/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      7/28/2018    709   RR0123   Owner Operator   Toll Charges                   TxTag Q1248       SHT Ship Ch            1.5
      7/28/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 215429 Q1248                   311.97
      7/28/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      7/28/2018    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      7/28/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      7/28/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/28/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/28/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/28/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.61
      7/28/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.95
      7/28/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.96
      7/28/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      7/28/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      7/28/2018    709   SB0009   Owner Operator   Repair Order                   CTMS - 215454 Repair                   386.2
      7/28/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      7/28/2018    709   SB0009   Owner Operator   Truck Payment                  CTMS - 215454 Truck Rental              500
      7/28/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      7/28/2018    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      7/28/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      7/28/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.12
      7/28/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.05
      7/28/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.24
      7/28/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.23
      7/28/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.42
      7/28/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                       100
      7/28/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      7/28/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      7/28/2018    709   SB0103   Owner Operator   Repair Order                   CTMS - 215403 Repair                  314.67
      7/28/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 215375 Sub Lease               388.33
      7/28/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      7/28/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.74
      7/28/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.12
      7/28/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         704.75
      7/28/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      7/28/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      7/28/2018    709   SM0109   Owner Operator   Repair Order                   CTMS - 215454 Repair                  119.04
      7/28/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      7/28/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      7/28/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      7/28/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      7/28/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.86
      7/28/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97

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      7/28/2018    709   SN0019   Owner Operator   Truck Payment                  CTMS - 215452 Truck Rental              100
      7/28/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      7/28/2018    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      7/28/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      7/28/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.18
      7/28/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           522
      7/28/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                       100
      7/28/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      7/28/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 215435 Tractor Sub leas        242.03
      7/28/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/28/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/28/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.25
      7/28/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.55
      7/28/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/28/2018    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      7/28/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      7/28/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-4         -324.76
      7/28/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      7/28/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      7/28/2018    709   WB0062   Owner Operator   Tire Fee                       Tire Fee: 2154444                          8
      7/28/2018    709   WB0062   Owner Operator   Tire Purchase                  PO: 709-00375312 - PO System          156.12
      7/28/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      7/28/2018    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      7/28/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      7/28/2018    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-4          -201.5
      7/28/2018    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-4          -17.16
      7/28/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/28/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/28/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.5
      7/28/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.58
      7/28/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.06
      7/28/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                       100
      7/28/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      7/28/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00369824 - PO System          238.62
      7/28/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 215430 Q1238 Lease             311.97
      7/28/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      7/28/2018    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      7/28/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      7/28/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/28/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/28/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/28/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/28/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/28/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/28/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.04
      7/28/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         562.81
      7/28/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.26
      7/28/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.46
      7/28/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      7/28/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      7/28/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      7/28/2018    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      7/28/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      7/28/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.45
      7/28/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          431.5
      7/28/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                       100
      7/28/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      7/28/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      7/28/2018    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      7/28/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      7/28/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.81
      7/28/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         594.93
      7/28/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.83
      7/28/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.35
      7/28/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                      100
      7/28/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      7/28/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5

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      7/28/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge                   25
      7/28/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge                   25
      7/28/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 CATALINA VIEW NORTH             21.96
      7/28/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 215477 Sub Lease Q13171        352.68
      7/28/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/28/2018    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      7/28/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      7/28/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.49
      7/28/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.25
      7/28/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.77
      7/28/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                       100
      7/28/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      7/28/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/28/2018    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00375059 - PO System           462.8
      7/28/2018    742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Ship Channel Bridg           3.5
      7/28/2018    742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Ship Channel Bridg             7
      7/28/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         713.03
      7/28/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.48
      7/28/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          144.3
      7/28/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.13
      7/28/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge                    15
      7/28/2018    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Route 80 (West)             4.9
      7/28/2018    742   DS0254   Owner Operator   Toll Charges                   33847 Carquinez Bridge                    25
      7/28/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 214739 Trk 33487 Lease           4.03
      7/28/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/28/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      7/28/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.5
      7/28/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.41
      7/28/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.56
      7/28/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.96
      7/28/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                       100
      7/28/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      7/28/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      7/28/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      7/28/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      7/28/2018    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      7/28/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      7/28/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      7/28/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.97
      7/28/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.93
      7/28/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.39
      7/28/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.84
      7/28/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.3
      7/28/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.59
      7/28/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.76
      7/28/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.07
      7/28/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
      7/28/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                       100
      7/28/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      7/28/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      7/28/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      7/28/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      7/28/2018    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - East             7
      7/28/2018    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - Sout             7
      7/28/2018    742   ED0041   Owner Operator   Toll Charges                   TxTag 32897 HDY HN - Rankin Rd             4
      7/28/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/28/2018    742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze TRK32947                      9.84
      7/28/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      7/28/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.65
      7/28/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.75
      7/28/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.96
      7/28/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      7/28/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      7/28/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/28/2018    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge                    25
      7/28/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      7/28/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      7/28/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13

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      7/28/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      7/28/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      7/28/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/28/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      7/28/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/28/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.62
      7/28/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.27
      7/28/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.18
      7/28/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/28/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      7/28/2018    742   MH0117   Owner Operator   ESCROW                         Escrow Withdrawal                      -2500
      7/28/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/28/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                        100
      7/28/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      7/28/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/28/2018    742   MH0117   Owner Operator   Toll Charges                   33296 HCTRA Sam Houston - East             7
      7/28/2018    742   MH0117   Owner Operator   Toll Charges                   33296 HCTRA Ship Channel Bridg             7
      7/28/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                 100
      7/28/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      7/28/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      7/28/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/28/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                        100
      7/28/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      7/28/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      7/28/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      7/28/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      7/28/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      7/28/2018    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                      9.84
      7/28/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      7/28/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/28/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/28/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.47
      7/28/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.93
      7/28/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.14
      7/28/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.64
      7/28/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                        100
      7/28/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      7/28/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      7/28/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge                    25
      7/28/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge                    25
      7/28/2018    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Turner Turnpike West         18.05
      7/28/2018    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Will Rogers Turnpike         18.05
      7/28/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/28/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      7/28/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/28/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      7/28/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      7/28/2018    742   OS0018   Owner Operator   Tire Purchase                  PO: 742-00373528 - PO System          191.69
      7/28/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      7/28/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      7/28/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/28/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/28/2018    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      7/28/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      7/28/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      7/28/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      7/28/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      7/28/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/28/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/28/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.15
      7/28/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.58
      7/28/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.04
      7/28/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.97
      7/28/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.93
      7/28/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.47
      7/28/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.77
      7/28/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      7/28/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      7/28/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38

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      7/28/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      7/28/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - East             7
      7/28/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout             7
      7/28/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout             7
      7/28/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg             7
      7/28/2018    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Kilpatrick Turnpike           8.65
      7/28/2018    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Turner Turnpike West         18.05
      7/28/2018    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Will Rogers Turnpike         18.05
      7/28/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      7/28/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      7/28/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      7/28/2018    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      7/28/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      7/28/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/28/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/28/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            140
      7/28/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      7/28/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/28/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.17
      7/28/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.6
      7/28/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          162.2
      7/28/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.82
      7/28/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.78
      7/28/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.44
      7/28/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.85
      7/28/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.39
      7/28/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.03
      7/28/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                       100
      7/28/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      7/28/2018    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge                    25
      7/28/2018    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge                    25
      7/28/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      7/28/2018    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13157                     9.84
      7/28/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      7/28/2018    742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-21         1028.58
      7/28/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.81
      7/28/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.76
      7/28/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.69
      7/28/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.6
      7/28/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                      100
      7/28/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      7/28/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      7/28/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 215374 Tractor Lease           353.28
      7/28/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      7/28/2018    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                      9.84
      7/28/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      7/28/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/28/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.18
      7/28/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.88
      7/28/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                       100
      7/28/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      7/28/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      7/28/2018    742   RS0342   Owner Operator   Toll Charges                   33738 OTA Turner Turnpike Wes          18.05
      7/28/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/28/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      7/28/2018    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-21            335
      7/28/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      7/28/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      7/28/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      7/28/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/28/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      7/28/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.34
      7/28/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.51
      7/28/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                       100
      7/28/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      7/28/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/28/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
      7/28/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 15

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      7/28/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
      7/28/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      7/28/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      7/28/2018    843   EI0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-21         1164.21
      7/28/2018    843   EI0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-21          556.15
      7/28/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.42
      7/28/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.99
      7/28/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.64
      7/28/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          328.1
      7/28/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/28/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      7/28/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       8/4/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       8/4/2018    709   AN0007   Owner Operator   Broker Pre Pass                PrePass, dev not located                -100
       8/4/2018    709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 215774 Solvay Fuel             -90.28
       8/4/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       8/4/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          492.8
       8/4/2018    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2018 - 21157A                     49.19
       8/4/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       8/4/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       8/4/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       8/4/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       8/4/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.78
       8/4/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.88
       8/4/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.25
       8/4/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.39
       8/4/2018    709   AR0064   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            286.96
       8/4/2018    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2018 - Q13147                     49.19
       8/4/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       8/4/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 215542 Q13147 Lease            440.14
       8/4/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 215800 Q13147 Lease            440.14
       8/4/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       8/4/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            5.59
       8/4/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            303
       8/4/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.12
       8/4/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.02
       8/4/2018    709   AV0021   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax                98
       8/4/2018    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2018 - Q13169                     49.19
       8/4/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       8/4/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       8/4/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       8/4/2018    709   BM0030   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax           1018.68
       8/4/2018    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2018 - 34023                      49.19
       8/4/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       8/4/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       8/4/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       8/4/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       8/4/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.45
       8/4/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.63
       8/4/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.07
       8/4/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         629.02
       8/4/2018    709   CC0134   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             28.01
       8/4/2018    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2018 - Q13168                     49.19
       8/4/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       8/4/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 215710 Q13168 sub lease        352.68
       8/4/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/4/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       8/4/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
       8/4/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.45
       8/4/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         577.82
       8/4/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
       8/4/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       8/4/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/4/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       8/4/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       8/4/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13

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       8/4/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/4/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.59
       8/4/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.09
       8/4/2018    709   CR0064   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             113.3
       8/4/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
       8/4/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       8/4/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
       8/4/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       8/4/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       8/4/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          488.1
       8/4/2018    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2018 - Q1201                      49.19
       8/4/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       8/4/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 215709 Q1201                   278.76
       8/4/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       8/4/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       8/4/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.9
       8/4/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.05
       8/4/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.4
       8/4/2018    709   DL0029   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            133.65
       8/4/2018    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2018 - 33850                      49.19
       8/4/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
       8/4/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       8/4/2018    709   DL0029   Owner Operator   Tire Fee                       Tire Fee: 2157805                          4
       8/4/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00374688 - PO System          201.18
       8/4/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00375065 - PO System          179.87
       8/4/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00377251 - PO System           94.91
       8/4/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       8/4/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       8/4/2018    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
       8/4/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       8/4/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       8/4/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       8/4/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       8/4/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.92
       8/4/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.43
       8/4/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.3
       8/4/2018    709   DL0107   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax           -110.35
       8/4/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                       100
       8/4/2018    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2018 - Q1245                      49.19
       8/4/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       8/4/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       8/4/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
       8/4/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       8/4/2018    709   DL0107   Owner Operator   Repair Order                   CTMS - 215453 Repair                  337.64
       8/4/2018    709   DL0107   Owner Operator   Repair Order                   CTMS - 215708 Repair                  337.64
       8/4/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 215434 Truck rental              300
       8/4/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 215453 Truck Rental              200
       8/4/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 215481 Sublease                338.99
       8/4/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 215758 Sublease                338.99
       8/4/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       8/4/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       8/4/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       8/4/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       8/4/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.76
       8/4/2018    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       8/4/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       8/4/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       8/4/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       8/4/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       8/4/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       8/4/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       8/4/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       8/4/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       8/4/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/4/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       8/4/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.62

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       8/4/2018    709   DS0049   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax               5.5
       8/4/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
       8/4/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       8/4/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       8/4/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       8/4/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       8/4/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         677.91
       8/4/2018    709   DS0225   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            -40.64
       8/4/2018    709   DS0225   Owner Operator   FUEL TAX                       May fuel tax adjustment 33320        -184.29
       8/4/2018    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2018 - 33320                      49.19
       8/4/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       8/4/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       8/4/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       8/4/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       8/4/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       8/4/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       8/4/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       8/4/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       8/4/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       8/4/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       8/4/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          522.1
       8/4/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.84
       8/4/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.04
       8/4/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.33
       8/4/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/4/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       8/4/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       8/4/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/4/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.01
       8/4/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.06
       8/4/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.29
       8/4/2018    709   EA0003   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            175.47
       8/4/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
       8/4/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       8/4/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       8/4/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       8/4/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       8/4/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.94
       8/4/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.81
       8/4/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.63
       8/4/2018    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2018 - 33828                      49.19
       8/4/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       8/4/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       8/4/2018    709   EG0062   Owner Operator   Repair Order                   CTMS - 215730 REPAIR                  340.87
       8/4/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       8/4/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       8/4/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.07
       8/4/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           180
       8/4/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.52
       8/4/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.89
       8/4/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           170
       8/4/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.56
       8/4/2018    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2018 - 33846                      49.19
       8/4/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       8/4/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       8/4/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       8/4/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       8/4/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.83
       8/4/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.58
       8/4/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           284
       8/4/2018    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 509.34
       8/4/2018    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33040                      49.19
       8/4/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       8/4/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 215541 truck lease 3304        434.29
       8/4/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 215798 truck lease 3304        434.29

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       8/4/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       8/4/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       8/4/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/4/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         681.04
       8/4/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.92
       8/4/2018    709   FV0001   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             46.08
       8/4/2018    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2018 - 21521B                     49.19
       8/4/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       8/4/2018    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00374689 - PO System          183.09
       8/4/2018    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       8/4/2018    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
       8/4/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.62
       8/4/2018    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
       8/4/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       8/4/2018    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
       8/4/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       8/4/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       8/4/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.63
       8/4/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.64
       8/4/2018    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1110                      49.19
       8/4/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       8/4/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 215708 Lease                   252.11
       8/4/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       8/4/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       8/4/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/4/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/4/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/4/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/4/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.53
       8/4/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.64
       8/4/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.22
       8/4/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          278.8
       8/4/2018    709   GW0043   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             18.12
       8/4/2018    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2018 - Q1109                      49.19
       8/4/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       8/4/2018    709   GW0043   Owner Operator   Tire Purchase                  PO: 709-00373796 - PO System          213.87
       8/4/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 215546 Q1109 Lease             302.85
       8/4/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 215804 Q1109 Lease             302.85
       8/4/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       8/4/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       8/4/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.57
       8/4/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.37
       8/4/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.23
       8/4/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.87
       8/4/2018    709   HC0023   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             -0.55
       8/4/2018    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2018 - Q13170                     49.19
       8/4/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       8/4/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 215711 Q13170                  352.68
       8/4/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       8/4/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       8/4/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.78
       8/4/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.24
       8/4/2018    709   HG0007   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax              8.32
       8/4/2018    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 33180                      49.19
       8/4/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       8/4/2018    709   HG0027   Owner Operator   Advance                        Acc clm 69930 s/u pmts                  250
       8/4/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       8/4/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       8/4/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.08
       8/4/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          282.7
       8/4/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.12
       8/4/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.93

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       8/4/2018    709   HG0027   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            100.39
       8/4/2018    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2018 - 33418                      49.19
       8/4/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       8/4/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       8/4/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/4/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       8/4/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.91
       8/4/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.49
       8/4/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.98
       8/4/2018    709   IR0002   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            -59.78
       8/4/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
       8/4/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   IR0002   Owner Operator   Permits                        OR16:2018 - 32901                        8.5
       8/4/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       8/4/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/4/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
       8/4/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       8/4/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
       8/4/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
       8/4/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       8/4/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       8/4/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       8/4/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       8/4/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/4/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/4/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/4/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/4/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.31
       8/4/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.33
       8/4/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.07
       8/4/2018    709   JC0292   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            405.89
       8/4/2018    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2018 - Q13197                     46.95
       8/4/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       8/4/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 215756 Q13197 Lease            276.63
       8/4/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/4/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       8/4/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
       8/4/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       8/4/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       8/4/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.67
       8/4/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.24
       8/4/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.78
       8/4/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
       8/4/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       8/4/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       8/4/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/4/2018    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                      9.84
       8/4/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       8/4/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       8/4/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       8/4/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       8/4/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.31
       8/4/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.79
       8/4/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.38
       8/4/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.21
       8/4/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.19
       8/4/2018    709   JG0072   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            280.42
       8/4/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
       8/4/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       8/4/2018    709   JG0072   Owner Operator   Repair Order                   CTMS - 215454 parts                    40.63
       8/4/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       8/4/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       8/4/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       8/4/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/4/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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       8/4/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         604.62
       8/4/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.95
       8/4/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.11
       8/4/2018    709   JG0092   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             -0.28
       8/4/2018    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2018 - 33669                      49.19
       8/4/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
       8/4/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       8/4/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       8/4/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-28            186
       8/4/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.54
       8/4/2018    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2018 - 33438                      49.19
       8/4/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       8/4/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       8/4/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       8/4/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                           462
       8/4/2018    709   JR0099   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            140.24
       8/4/2018    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2018 - Q1203                      49.19
       8/4/2018    709   JR0099   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         250.31
       8/4/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       8/4/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 215670 Truck Lease             278.76
       8/4/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       8/4/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       8/4/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       8/4/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/4/2018    709   JS0265   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            135.33
       8/4/2018    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2018 - 33325                      49.19
       8/4/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       8/4/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       8/4/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       8/4/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/4/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/4/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       8/4/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       8/4/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       8/4/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       8/4/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/4/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
       8/4/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/4/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/4/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       8/4/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/4/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           173
       8/4/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.14
       8/4/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.01
       8/4/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.97
       8/4/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.04
       8/4/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           420
       8/4/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          469.4
       8/4/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           295
       8/4/2018    709   KP0004   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            416.06
       8/4/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
       8/4/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
       8/4/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       8/4/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       8/4/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/4/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/4/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       8/4/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       8/4/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
       8/4/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       8/4/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.26
       8/4/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.9
       8/4/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.68
       8/4/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.34
       8/4/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.83
       8/4/2018    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2018 - Q13156                     49.19

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       8/4/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
       8/4/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 215714 Q13156 Lease            388.16
       8/4/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       8/4/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       8/4/2018    709   LL0160   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             389.3
       8/4/2018    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2018 - Q1111                      49.19
       8/4/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       8/4/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 215659 Lease Q1111             252.11
       8/4/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       8/4/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       8/4/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             500
       8/4/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       8/4/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         592.24
       8/4/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         600.52
       8/4/2018    709   LS0023   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             33.28
       8/4/2018    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2018 - 33655                      49.19
       8/4/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       8/4/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       8/4/2018    709   LS0023   Owner Operator   Repair Order                   CTMS - 215905 REPAIR                      70
       8/4/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       8/4/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       8/4/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.86
       8/4/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.59
       8/4/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.67
       8/4/2018    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2018 - 34005                      49.19
       8/4/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       8/4/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       8/4/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       8/4/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.64
       8/4/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.83
       8/4/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.76
       8/4/2018    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2018 - Q1113                      49.19
       8/4/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       8/4/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 215710 Q1113 Lease             252.11
       8/4/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       8/4/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       8/4/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.25
       8/4/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.64
       8/4/2018    709   MG0067   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            -32.32
       8/4/2018    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33435                      49.19
       8/4/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       8/4/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       8/4/2018    709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00374876 - PO System          187.16
       8/4/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       8/4/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       8/4/2018    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
       8/4/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            700
       8/4/2018    709   MP0035   Owner Operator   Express Check                  T-Check Payment                         2000
       8/4/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             230
       8/4/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.3
       8/4/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          564.2
       8/4/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
       8/4/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       8/4/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       8/4/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       8/4/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       8/4/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       8/4/2018    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -3500
       8/4/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
       8/4/2018    709   NB0029   Owner Operator   Express Check                  T-Check Payment                         3500
       8/4/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
       8/4/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
       8/4/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.57
       8/4/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.22
       8/4/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.46

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       8/4/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.46
       8/4/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.11
       8/4/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.85
       8/4/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.53
       8/4/2018    709   NB0029   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            486.54
       8/4/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - Q1108                      49.19
       8/4/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       8/4/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 PTC Lansdale                     67.29
       8/4/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 215809 Lease                   215.66
       8/4/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       8/4/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       8/4/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/4/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.36
       8/4/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.79
       8/4/2018    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2018 - 21412B                     49.19
       8/4/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       8/4/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       8/4/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       8/4/2018    709   NT9564   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             204.9
       8/4/2018    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2018 - 73130                      49.19
       8/4/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       8/4/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 215878 Truck 73130 Leas        196.65
       8/4/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       8/4/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       8/4/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         681.51
       8/4/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.55
       8/4/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.77
       8/4/2018    709   RC0030   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            430.16
       8/4/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       8/4/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       8/4/2018    709   RC0089   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            -27.68
       8/4/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                          27.68
       8/4/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/4/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       8/4/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/4/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.18
       8/4/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.93
       8/4/2018    709   RL0017   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            306.98
       8/4/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
       8/4/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   RL0017   Owner Operator   Permits1                       ID06:2018 - 32910                        -11
       8/4/2018    709   RL0017   Owner Operator   Permits1                       IL02:2018 - 32910                      -3.75
       8/4/2018    709   RL0017   Owner Operator   Permits1                       NM07:2018 - 32910                       -5.5
       8/4/2018    709   RL0017   Owner Operator   Permits1                       NY13:2016 - 32910                        -19
       8/4/2018    709   RL0017   Owner Operator   Permits1                       OR16:2018 - 32910                       -8.5
       8/4/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       8/4/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/4/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       8/4/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/4/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       8/4/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/4/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.31
       8/4/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.94
       8/4/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.01
       8/4/2018    709   RL0062   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            208.62
       8/4/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
       8/4/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       8/4/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       8/4/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       8/4/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       8/4/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       8/4/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.45
       8/4/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.27
       8/4/2018    709   RL0180   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             10.91
       8/4/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
       8/4/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       8/4/2018    709   RL0180   Owner Operator   Permits1                       ID06:2018 - 32910                         11
       8/4/2018    709   RL0180   Owner Operator   Permits1                       ID06:2018 - 34012                        -11
       8/4/2018    709   RL0180   Owner Operator   Permits1                       IL02:2018 - 32910                       3.75
       8/4/2018    709   RL0180   Owner Operator   Permits1                       IL02:2018 - 34012                      -3.75
       8/4/2018    709   RL0180   Owner Operator   Permits1                       NM07:2018 - 32910                        5.5
       8/4/2018    709   RL0180   Owner Operator   Permits1                       NM07:2018 - 34012                       -5.5
       8/4/2018    709   RL0180   Owner Operator   Permits1                       NY13:2016 - 32910                         19
       8/4/2018    709   RL0180   Owner Operator   Permits1                       NY13:2017 - 34012                       -1.5
       8/4/2018    709   RL0180   Owner Operator   Permits1                       OR16:2018 - 32910                        8.5
       8/4/2018    709   RL0180   Owner Operator   Permits1                       OR16:2018 - 34012                       -8.5
       8/4/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
       8/4/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
       8/4/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       8/4/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       8/4/2018    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       8/4/2018    709   RL0180   Owner Operator   Tractor Charge                 45995, weekly pmt                     237.95
       8/4/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       8/4/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       8/4/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       8/4/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.42
       8/4/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.46
       8/4/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.65
       8/4/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.63
       8/4/2018    709   RM0026   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            144.37
       8/4/2018    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2018 - 33664                      49.19
       8/4/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       8/4/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       8/4/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       8/4/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.86
       8/4/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.88
       8/4/2018    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2018 - Q1202                      49.19
       8/4/2018    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         264.66
       8/4/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       8/4/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 215670 Q1202 Truck Leas        278.76
       8/4/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       8/4/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       8/4/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         586.84
       8/4/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.34
       8/4/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                             37
       8/4/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.57
       8/4/2018    709   RR0123   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax              72.5
       8/4/2018    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2018 - Q1248                      49.19
       8/4/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       8/4/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       8/4/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 WVPEDTA North Beckley Ra          1.39
       8/4/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 215709 Q1248                   311.97
       8/4/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       8/4/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       8/4/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       8/4/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/4/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.41
       8/4/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.85
       8/4/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.59
       8/4/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.48
       8/4/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.96
       8/4/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.99
       8/4/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.9
       8/4/2018    709   SB0009   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax           -115.66
       8/4/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
       8/4/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       8/4/2018    709   SB0009   Owner Operator   Repair Order                   CTMS - 215729 Repair                   386.2
       8/4/2018    709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                         1.9
       8/4/2018    709   SB0009   Owner Operator   T Chek Fee                     Towing 33236                            190
       8/4/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       8/4/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       8/4/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       8/4/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.9
       8/4/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.96

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       8/4/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.89
       8/4/2018    709   SB0103   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            252.68
       8/4/2018    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2018 - 33037                      49.19
       8/4/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       8/4/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       8/4/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 215670 Sub Lease               388.33
       8/4/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       8/4/2018    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
       8/4/2018    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
       8/4/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/4/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/4/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.33
       8/4/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           419
       8/4/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           492
       8/4/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           363
       8/4/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.81
       8/4/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.01
       8/4/2018    709   SM0109   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             157.3
       8/4/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
       8/4/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
       8/4/2018    709   SM0109   Owner Operator   Repair Order                   CTMS - 215454 Repair                  120.26
       8/4/2018    709   SM0109   Owner Operator   Tire Fee                       Tire Fee: 2157622                          8
       8/4/2018    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00376715 - PO System          272.97
       8/4/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       8/4/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
       8/4/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       8/4/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       8/4/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/4/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/4/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                              80
       8/4/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/4/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
       8/4/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/4/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.23
       8/4/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.42
       8/4/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.61
       8/4/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.89
       8/4/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           254
       8/4/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.69
       8/4/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          315.2
       8/4/2018    709   SN0019   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            110.92
       8/4/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       8/4/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       8/4/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       8/4/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           283
       8/4/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.22
       8/4/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.84
       8/4/2018    709   VB0015   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            -51.64
       8/4/2018    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2018 - Q1112                      49.19
       8/4/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       8/4/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 215715 Tractor Sub leas        242.03
       8/4/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       8/4/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
       8/4/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       8/4/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       8/4/2018    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
       8/4/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       8/4/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       8/4/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       8/4/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       8/4/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
       8/4/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/4/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
       8/4/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.25
       8/4/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.64
       8/4/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.97
       8/4/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.24
       8/4/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.65

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       8/4/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.71
       8/4/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          325.6
       8/4/2018    709   VJ0006   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            279.65
       8/4/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                       100
       8/4/2018    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2018 - 33961                      49.19
       8/4/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       8/4/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
       8/4/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       8/4/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       8/4/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-28          324.76
       8/4/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       8/4/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       8/4/2018    709   WB0062   Owner Operator   Tire Purchase                  PO: 709-00375312 - PO System          156.12
       8/4/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       8/4/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       8/4/2018    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-28           201.5
       8/4/2018    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-28           17.16
       8/4/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/4/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/4/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.49
       8/4/2018    709   WH0087   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            131.11
       8/4/2018    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2018 - Q1239                      49.19
       8/4/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       8/4/2018    709   WH0087   Owner Operator   Tire Purchase                  PO: 709-00369824 - PO System          238.56
       8/4/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 215709 Q1238 Lease             311.97
       8/4/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.12
       8/4/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.32
       8/4/2018    742   AS0089   Owner Operator   Permits                        IL02:2018 - 33912                      -3.75
       8/4/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       8/4/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       8/4/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.75
       8/4/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.28
       8/4/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.72
       8/4/2018    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2018 - 33987                      49.19
       8/4/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       8/4/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       8/4/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       8/4/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.75
       8/4/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.38
       8/4/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.53
       8/4/2018    742   CT0085   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             54.14
       8/4/2018    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2018 - Q13171                     49.19
       8/4/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
       8/4/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/4/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 215754 Sub Lease Q13171        352.68
       8/4/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/4/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       8/4/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           495
       8/4/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.04
       8/4/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.62
       8/4/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.72
       8/4/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.01
       8/4/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           285
       8/4/2018    742   DA0067   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            374.58
       8/4/2018    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2018 - 33847                      49.19
       8/4/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       8/4/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/4/2018    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00375059 - PO System           462.8
       8/4/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          137.3
       8/4/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         753.19
       8/4/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.52
       8/4/2018    742   DC0117   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            135.22
       8/4/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                      49.19
       8/4/2018    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2018 - 34063                       100
       8/4/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       8/4/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75

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       8/4/2018    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
       8/4/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       8/4/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       8/4/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       8/4/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       8/4/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       8/4/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/4/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/4/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/4/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/4/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/4/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/4/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.65
       8/4/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.09
       8/4/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          168.2
       8/4/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          391.4
       8/4/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.25
       8/4/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.32
       8/4/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.28
       8/4/2018    742   DS0254   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            211.33
       8/4/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                       100
       8/4/2018    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2018 - 33487                      49.19
       8/4/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   DS0254   Owner Operator   Permits                        IL02:2018 - 33487                       3.75
       8/4/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       8/4/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
       8/4/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       8/4/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       8/4/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 215057 Trk 33487 Lease          434.2
       8/4/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 215316 Trk 33487 Lease          434.2
       8/4/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 215611 Trk 33487 Lease          434.2
       8/4/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       8/4/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       8/4/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.17
       8/4/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         669.79
       8/4/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.06
       8/4/2018    742   EA0039   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             18.06
       8/4/2018    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2018 - 33993                      49.19
       8/4/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       8/4/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       8/4/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       8/4/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       8/4/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.32
       8/4/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.99
       8/4/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.12
       8/4/2018    742   ED0041   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             77.06
       8/4/2018    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2018 - 32897                      49.19
       8/4/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       8/4/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       8/4/2018    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Ship Channel Bridg           3.5
       8/4/2018    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Ship Channel Bridg             7
       8/4/2018    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Ship Channel Bridg             7
       8/4/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/4/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       8/4/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/4/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/4/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.26
       8/4/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.32
       8/4/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.87
       8/4/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.01
       8/4/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.79
       8/4/2018    742   EN0016   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            282.56
       8/4/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
       8/4/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89

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       8/4/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/4/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       8/4/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       8/4/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       8/4/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       8/4/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       8/4/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       8/4/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       8/4/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       8/4/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       8/4/2018    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       8/4/2018    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           800
       8/4/2018    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       8/4/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       8/4/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       8/4/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       8/4/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/4/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
       8/4/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.09
       8/4/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.36
       8/4/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.66
       8/4/2018    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
       8/4/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       8/4/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       8/4/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2018 - 33296                      49.19
       8/4/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       8/4/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       8/4/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
       8/4/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       8/4/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                      25.14
       8/4/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       8/4/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       8/4/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
       8/4/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
       8/4/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
       8/4/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
       8/4/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       8/4/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
       8/4/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    742   OS0018   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            591.05
       8/4/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
       8/4/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       8/4/2018    742   OS0018   Owner Operator   Tire Purchase                  PO: 742-00373528 - PO System          191.64
       8/4/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       8/4/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/4/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       8/4/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       8/4/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/4/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/4/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.3
       8/4/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.9
       8/4/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.55
       8/4/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.14
       8/4/2018    742   PC0012   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax              77.7
       8/4/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
       8/4/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       8/4/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       8/4/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       8/4/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       8/4/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/4/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/4/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/4/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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       8/4/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.67
       8/4/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.41
       8/4/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.27
       8/4/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.27
       8/4/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.23
       8/4/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.08
       8/4/2018    742   RF0136   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            207.64
       8/4/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                       100
       8/4/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       8/4/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       8/4/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       8/4/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.59
       8/4/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.32
       8/4/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.35
       8/4/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.27
       8/4/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.33
       8/4/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.13
       8/4/2018    742   RN0054   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            230.26
       8/4/2018    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2018 - Q13157                     49.19
       8/4/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       8/4/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       8/4/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157 NTTA Plaza 10 - Irving           2.28
       8/4/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 215669 Tractor Lease           353.28
       8/4/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       8/4/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       8/4/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/4/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.56
       8/4/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.28
       8/4/2018    742   RS0342   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            265.04
       8/4/2018    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2018 - 33738                      49.19
       8/4/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       8/4/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       8/4/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       8/4/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       8/4/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
       8/4/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       8/4/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       8/4/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.63
       8/4/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.85
       8/4/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       8/4/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       8/4/2018    843   EI0003   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            156.94
       8/4/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/4/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       8/4/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      8/11/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      8/11/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      8/11/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      8/11/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      8/11/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      8/11/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      8/11/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          563.4
      8/11/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          510.4
      8/11/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.3
      8/11/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      8/11/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 216072 Q13147 Lease            440.14
      8/11/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      8/11/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      8/11/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      8/11/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      8/11/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      8/11/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                           94.41
      8/11/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            150
      8/11/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      8/11/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.33
      8/11/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.97

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      8/11/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.59
      8/11/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.02
      8/11/2018    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  36.79
      8/11/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      8/11/2018    709   AV0021   Owner Operator   T Chek Fee                     ExpressCheck Fee                        5.62
      8/11/2018    709   AV0021   Owner Operator   T Chek Fee                     Tractor Repair Q13169                  561.9
      8/11/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 215754 Q13169 Sublease         352.68
      8/11/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 216022 Q13169 Sublease         352.68
      8/11/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      8/11/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      8/11/2018    709   BM0030   Owner Operator   Driver Excellence Program      NM - 3580110484 (CLN INSP)               -50
      8/11/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      8/11/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      8/11/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      8/11/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      8/11/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.92
      8/11/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.09
      8/11/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.56
      8/11/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      8/11/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 215987 Q13168 sub lease        352.68
      8/11/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/11/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      8/11/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/11/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/11/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         649.79
      8/11/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      8/11/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      8/11/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/11/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      8/11/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/11/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      8/11/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.44
      8/11/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.34
      8/11/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.21
      8/11/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.12
      8/11/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      8/11/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      8/11/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      8/11/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      8/11/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      8/11/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.81
      8/11/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      8/11/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 215986 Q1201                   278.76
      8/11/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/11/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      8/11/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.68
      8/11/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.95
      8/11/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.93
      8/11/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      8/11/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      8/11/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00374688 - PO System          201.11
      8/11/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00375065 - PO System          179.83
      8/11/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00377251 - PO System           94.91
      8/11/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      8/11/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      8/11/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/11/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/11/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.61
      8/11/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         687.77
      8/11/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.86
      8/11/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      8/11/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      8/11/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 216021 Sublease                338.99
      8/11/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      8/11/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75

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      8/11/2018    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.22
      8/11/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.57
      8/11/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.27
      8/11/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.76
      8/11/2018    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      8/11/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      8/11/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      8/11/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      8/11/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      8/11/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/11/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      8/11/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/11/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/11/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         822.23
      8/11/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      8/11/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      8/11/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      8/11/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      8/11/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      8/11/2018    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-18            -93
      8/11/2018    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-18           -3.1
      8/11/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         665.53
      8/11/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.76
      8/11/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      8/11/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      8/11/2018    709   DS0288   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-18          -68.4
      8/11/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/11/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/11/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/11/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/11/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/11/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/11/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.06
      8/11/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.77
      8/11/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.58
      8/11/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/11/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      8/11/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/11/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/11/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/11/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/11/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/11/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.31
      8/11/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.04
      8/11/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.61
      8/11/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.91
      8/11/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.31
      8/11/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.63
      8/11/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.09
      8/11/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      8/11/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      8/11/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      8/11/2018    709   EE0011   Owner Operator   *Arrears Collection W/O        WO:June 2018 Fuel/Mileage Tax          -0.25
      8/11/2018    709   EE0011   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax              0.25
      8/11/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      8/11/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      8/11/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.02
      8/11/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         800.03
      8/11/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      8/11/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      8/11/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      8/11/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      8/11/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.6
      8/11/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           195
      8/11/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.72
      8/11/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.43

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      8/11/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      8/11/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      8/11/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      8/11/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      8/11/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      8/11/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.54
      8/11/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.44
      8/11/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.44
      8/11/2018    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 706.68
      8/11/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      8/11/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 216083 truck lease 3304        434.29
      8/11/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/11/2018    709   FV0001   Owner Operator   Charge back by affiliate       CTMS - 215994 Wash Tl0201                -50
      8/11/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      8/11/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.61
      8/11/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.92
      8/11/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      8/11/2018    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00374689 - PO System          183.02
      8/11/2018    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                     35
      8/11/2018    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/11/2018    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      8/11/2018    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.88
      8/11/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.62
      8/11/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.61
      8/11/2018    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   93.75
      8/11/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      8/11/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terr                 10
      8/11/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      8/11/2018    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      8/11/2018    709   GA0051   Owner Operator   Tractor Charge                 16488, weekly pmt                     657.86
      8/11/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      8/11/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      8/11/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.85
      8/11/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      8/11/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 215985 Lease                   252.11
      8/11/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      8/11/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      8/11/2018    709   GW0043   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-18            -93
      8/11/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           93.6
      8/11/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      8/11/2018    709   GW0043   Owner Operator   Repair Order                   CTMS - 216096 REPAIR                  185.45
      8/11/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 216077 Q1109 Lease             302.85
      8/11/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      8/11/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      8/11/2018    709   HC0023   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX (CLN INSP)                 -50
      8/11/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.09
      8/11/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.02
      8/11/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      8/11/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 215980 Q13170                  352.68
      8/11/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      8/11/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      8/11/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/11/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/11/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.13
      8/11/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.08
      8/11/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          553.9
      8/11/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      8/11/2018    709   HG0027   Owner Operator   Advance                        Acc clm 69930 s/u pmts                  250
      8/11/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/11/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      8/11/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.68
      8/11/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.67

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      8/11/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.52
      8/11/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.45
      8/11/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.28
      8/11/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.48
      8/11/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         568.78
      8/11/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.26
      8/11/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      8/11/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/11/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/11/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/11/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/11/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/11/2018    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      8/11/2018    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      8/11/2018    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      8/11/2018    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      8/11/2018    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      8/11/2018    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.19
      8/11/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.86
      8/11/2018    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
      8/11/2018    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                       100
      8/11/2018    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34012                      49.19
      8/11/2018    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   IA0007   Owner Operator   Permits1                       ID06:2018 - 34012                         11
      8/11/2018    709   IA0007   Owner Operator   Permits1                       IL02:2018 - 34012                       3.75
      8/11/2018    709   IA0007   Owner Operator   Permits1                       NM07:2018 - 34012                        5.5
      8/11/2018    709   IA0007   Owner Operator   Permits1                       NY13:2017 - 34012                        1.5
      8/11/2018    709   IA0007   Owner Operator   Permits1                       OR16:2018 - 34012                        8.5
      8/11/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      8/11/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      8/11/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      8/11/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      8/11/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      8/11/2018    709   IA0007   Owner Operator   T Chek Fee                     School Checks (Corp)                   60.32
      8/11/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      8/11/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/11/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      8/11/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          499.7
      8/11/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.63
      8/11/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      8/11/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      8/11/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/11/2018    709   IR0002   Owner Operator   Repair Order                   CTMS - 215905 REPAIR                  495.34
      8/11/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      8/11/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/11/2018    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-18            -31
      8/11/2018    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-18         -13.26
      8/11/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          16.29
      8/11/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      8/11/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      8/11/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      8/11/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      8/11/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/11/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/11/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/11/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/11/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.99
      8/11/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.85
      8/11/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.43
      8/11/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.29
      8/11/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          41.42
      8/11/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.68
      8/11/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.46
      8/11/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.15
      8/11/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      8/11/2018    709   JC0292   Owner Operator   Toll Charges                   CTMS - 216037 Repairs 701586           -8.99
      8/11/2018    709   JC0292   Owner Operator   Toll Charges                   CTMS - 216037 Trailer wash 701           -35

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      8/11/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL 163rd St.                  6.5
      8/11/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL 82nd St.                   6.5
      8/11/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL Cermak Rd.                 6.5
      8/11/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL Elgin Rd                   6.5
      8/11/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL Marengo                  13.05
      8/11/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL Route 53                  2.45
      8/11/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL South Beloit              8.15
      8/11/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 OTA Kilpatrick Turnpike          8.65
      8/11/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 OTA Turner Turnpike Wes         18.05
      8/11/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 OTA Will Rogers Turnpik         18.05
      8/11/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 OTA Will Rogers Turnpik          8.75
      8/11/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 216020 Q13197 Lease            276.63
      8/11/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/11/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/11/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/11/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/11/2018    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      8/11/2018    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      8/11/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      8/11/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      8/11/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      8/11/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      8/11/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      8/11/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      8/11/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      8/11/2018    709   JD0211   Owner Operator   T Chek Fee                     School Checks (Corp)                   45.94
      8/11/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/11/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      8/11/2018    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
      8/11/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      8/11/2018    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         1500
      8/11/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      8/11/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/11/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         730.82
      8/11/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.38
      8/11/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      8/11/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      8/11/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      8/11/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/11/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      8/11/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             500
      8/11/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/11/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.37
      8/11/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.07
      8/11/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          558.2
      8/11/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.64
      8/11/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      8/11/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      8/11/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      8/11/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/11/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      8/11/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      8/11/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      8/11/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      8/11/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-18            -93
      8/11/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-18         -28.08
      8/11/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-18        -392.06
      8/11/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/11/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.54
      8/11/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.45
      8/11/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.46
      8/11/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      8/11/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      8/11/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13

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      8/11/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.22
      8/11/2018    709   JR0099   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         250.31
      8/11/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      8/11/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 215945 Truck Lease             278.76
      8/11/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      8/11/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      8/11/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      8/11/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/11/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/11/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/11/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/11/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/11/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          547.5
      8/11/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         566.81
      8/11/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.17
      8/11/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      8/11/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      8/11/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      8/11/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/11/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      8/11/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/11/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/11/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/11/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           256
      8/11/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             32
      8/11/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.03
      8/11/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.97
      8/11/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      8/11/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      8/11/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/11/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      8/11/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      8/11/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      8/11/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.06
      8/11/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.39
      8/11/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         598.29
      8/11/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      8/11/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 215984 Q13156 Lease            388.16
      8/11/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      8/11/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      8/11/2018    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-18        -185.66
      8/11/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      8/11/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 215934 Lease Q1111             252.11
      8/11/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      8/11/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      8/11/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/11/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/11/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/11/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.49
      8/11/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         632.71
      8/11/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      8/11/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      8/11/2018    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     25
      8/11/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/11/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      8/11/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.13
      8/11/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.34
      8/11/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.82
      8/11/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      8/11/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      8/11/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      8/11/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.28
      8/11/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.29

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      8/11/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      8/11/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 215980 Q1113 Lease             252.11
      8/11/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/11/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      8/11/2018    709   MG0067   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX (CLN INSP)                 -50
      8/11/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.41
      8/11/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      8/11/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      8/11/2018    709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00374876 - PO System          187.16
      8/11/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/11/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      8/11/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      8/11/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              60
      8/11/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      8/11/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.64
      8/11/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      8/11/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      8/11/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/11/2018    709   MP0035   Owner Operator   Repair Order                   CTMS - 216143 Fuel Q1105             -506.89
      8/11/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      8/11/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      8/11/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      8/11/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      8/11/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/11/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.53
      8/11/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.4
      8/11/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      8/11/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      8/11/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      8/11/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/11/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/11/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.06
      8/11/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.28
      8/11/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      8/11/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      8/11/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      8/11/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      8/11/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 216129 Truck 73130 Leas        196.65
      8/11/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/11/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      8/11/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         636.72
      8/11/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      8/11/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/11/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/11/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      8/11/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/11/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.71
      8/11/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.06
      8/11/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      8/11/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      8/11/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/11/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      8/11/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/11/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      8/11/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/11/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/11/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.49
      8/11/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.28
      8/11/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      8/11/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      8/11/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16

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      8/11/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      8/11/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           13
      8/11/2018    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-18             -93
      8/11/2018    709   RL0180   Owner Operator   Fuel Card Advances             Cash Advance                              200
      8/11/2018    709   RL0180   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/11/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.08
      8/11/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          509.92
      8/11/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                       33.64
      8/11/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/11/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    51.57
      8/11/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism            2.5
      8/11/2018    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                          350.65
      8/11/2018    709   RL0180   Owner Operator   Tractor Charge                 45995, weekly pmt                      237.94
      8/11/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                     27.48
      8/11/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                        8.75
      8/11/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                           13
      8/11/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          564.88
      8/11/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          467.86
      8/11/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                           182.1
      8/11/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/11/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        31.25
      8/11/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
      8/11/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                           13
      8/11/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          414.84
      8/11/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          450.96
      8/11/2018    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          264.66
      8/11/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/11/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD               58.6
      8/11/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 215945 Q1202 Truck Leas         278.76
      8/11/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                 8.75
      8/11/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                            8
      8/11/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                              100
      8/11/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                              100
      8/11/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      8/11/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      8/11/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.79
      8/11/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          551.09
      8/11/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          512.66
      8/11/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          686.51
      8/11/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/11/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                 65.08
      8/11/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror            2.5
      8/11/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 215986 Q1248                    311.97
      8/11/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      8/11/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                           13
      8/11/2018    709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                       -6500
      8/11/2018    709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                       -7000
      8/11/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                             200
      8/11/2018    709   SB0009   Owner Operator   Express Check                  T-Check Payment                          6500
      8/11/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                              200
      8/11/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/11/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          283.43
      8/11/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           19.47
      8/11/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           324.4
      8/11/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           293.9
      8/11/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          219.57
      8/11/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                       33.64
      8/11/2018    709   SB0009   Owner Operator   Loan Repayment                 Cond crd loan 9                     -12353.08
      8/11/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/11/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   100.98
      8/11/2018    709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                        26.66
      8/11/2018    709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                       164.96
      8/11/2018    709   SB0009   Owner Operator   T Chek Fee                     Tractor Repair 33236                 16495.84
      8/11/2018    709   SB0009   Owner Operator   T Chek Fee                     Tractor Repair 33236                  2665.62
      8/11/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
      8/11/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      8/11/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      8/11/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          474.69
      8/11/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                           402.3
      8/11/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                           205.2
      8/11/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/11/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      8/11/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5

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      8/11/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 215942 Sub Lease               388.33
      8/11/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      8/11/2018    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      8/11/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/11/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      8/11/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.84
      8/11/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.75
      8/11/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      8/11/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      8/11/2018    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00376715 - PO System          272.97
      8/11/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      8/11/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      8/11/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      8/11/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      8/11/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/11/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/11/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.66
      8/11/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.45
      8/11/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.9
      8/11/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.32
      8/11/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.32
      8/11/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      8/11/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      8/11/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      8/11/2018    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/11/2018    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/11/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.54
      8/11/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.03
      8/11/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      8/11/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 215984 Tractor Sub leas        242.03
      8/11/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      8/11/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/11/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      8/11/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/11/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/11/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      8/11/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      8/11/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.16
      8/11/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.71
      8/11/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.19
      8/11/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.33
      8/11/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.61
      8/11/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      8/11/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/11/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      8/11/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-18        -203.13
      8/11/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      8/11/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      8/11/2018    709   WB0062   Owner Operator   Tire Purchase                  PO: 709-00375312 - PO System          156.12
      8/11/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      8/11/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      8/11/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/11/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.69
      8/11/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.11
      8/11/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.89
      8/11/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      8/11/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 215986 Q1238 Lease             311.97
      8/11/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      8/11/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      8/11/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      8/11/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      8/11/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.01
      8/11/2018    742   AP0047   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             92.37

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      8/11/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      8/11/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      8/11/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      8/11/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      8/11/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      8/11/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      8/11/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.07
      8/11/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.97
      8/11/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.87
      8/11/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      8/11/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      8/11/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      8/11/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.83
      8/11/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.97
      8/11/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.29
      8/11/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      8/11/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      8/11/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 ILTOLL Route 80 (West)           3.65
      8/11/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 OTA Turner Turnpike Eas         18.05
      8/11/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 OTA Will Rogers Turnpik           9.2
      8/11/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 OTA Will Rogers Turnpik           2.9
      8/11/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 OTA Will Rogers Turnpik           5.4
      8/11/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 216018 Sub Lease Q13171        352.68
      8/11/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/11/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      8/11/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.47
      8/11/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      8/11/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/11/2018    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00375059 - PO System          462.73
      8/11/2018    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      8/11/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      8/11/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      8/11/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      8/11/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    742   DC0117   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            306.97
      8/11/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      8/11/2018    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 216037 Trailer wash               -50
      8/11/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      8/11/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.29
      8/11/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.79
      8/11/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          634.1
      8/11/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      8/11/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      8/11/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 215882 Trk 33487 Lease          434.2
      8/11/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/11/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      8/11/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.59
      8/11/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.98
      8/11/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.81
      8/11/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      8/11/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/11/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/11/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      8/11/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/11/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/11/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.23
      8/11/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.22
      8/11/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.88
      8/11/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.34
      8/11/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.21
      8/11/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.79
      8/11/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      8/11/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      8/11/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      8/11/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/11/2018    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Spencer Mai          8.24
      8/11/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      8/11/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      8/11/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      8/11/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      8/11/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      8/11/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      8/11/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      8/11/2018    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      8/11/2018    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         682.87
      8/11/2018    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      8/11/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      8/11/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/11/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      8/11/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.03
      8/11/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.95
      8/11/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          413.9
      8/11/2018    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      8/11/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/11/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      8/11/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      8/11/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      8/11/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      8/11/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      8/11/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      8/11/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      8/11/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.74
      8/11/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.39
      8/11/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.73
      8/11/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.27
      8/11/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.11
      8/11/2018    742   MS0230   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             14.89
      8/11/2018    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2018 - 34082                      24.05
      8/11/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      8/11/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      8/11/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      8/11/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      8/11/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      8/11/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      8/11/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      8/11/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      8/11/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      8/11/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      8/11/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/11/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.34
      8/11/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.53
      8/11/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.91
      8/11/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.42
      8/11/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          515.8
      8/11/2018    742   NG0024   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            197.35
      8/11/2018    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2018 - 33252                      49.19
      8/11/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      8/11/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      8/11/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      8/11/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      8/11/2018    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Turner Turnpike East         18.05
      8/11/2018    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Will Rogers Turnpike         18.05
      8/11/2018    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Will Rogers Turnpike         18.05
      8/11/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75

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      8/11/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      8/11/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      8/11/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      8/11/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      8/11/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/11/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      8/11/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/11/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/11/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/11/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/11/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.59
      8/11/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           323
      8/11/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.74
      8/11/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.57
      8/11/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      8/11/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      8/11/2018    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Kilpatrick Turnpike           8.65
      8/11/2018    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Turner Turnpike East         18.05
      8/11/2018    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Will Rogers Turnpike         18.05
      8/11/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      8/11/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      8/11/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      8/11/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                       100
      8/11/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      8/11/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      8/11/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      8/11/2018    742   RN0054   Owner Operator   Driver Excellence Program      CA-0177870334 (CLN INSP)                 -50
      8/11/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.74
      8/11/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.49
      8/11/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.91
      8/11/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.85
      8/11/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      8/11/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      8/11/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 215945 Tractor Lease           353.28
      8/11/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      8/11/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      8/11/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/11/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.63
      8/11/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.03
      8/11/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         567.16
      8/11/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.73
      8/11/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      8/11/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      8/11/2018    742   RS0342   Owner Operator   Toll Charges                   33738 BATA Carquinez Bridge               25
      8/11/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/11/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      8/11/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      8/11/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      8/11/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      8/11/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/11/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/11/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      8/11/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      8/11/2018    742   TH0130   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-18        -433.68
      8/11/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.23
      8/11/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.9
      8/11/2018    742   TH0130   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax            135.09
      8/11/2018    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2018 - 33991                      49.19
      8/11/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      8/11/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      8/11/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/11/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/11/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25

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      8/11/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
      8/11/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               25
      8/11/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      8/11/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      8/11/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.58
      8/11/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         663.25
      8/11/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.14
      8/11/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          38.24
      8/11/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/11/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      8/11/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      8/11/2018    843   EI0003   Owner Operator   Toll Charges                   33949 RIVERLIN Exit DTS                10.25
      8/18/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      8/18/2018    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
      8/18/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      8/18/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          288.8
      8/18/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      8/18/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      8/18/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      8/18/2018    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      8/18/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      8/18/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.05
      8/18/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.29
      8/18/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.9
      8/18/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.98
      8/18/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      8/18/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 216341 Q13147 Lease            440.14
      8/18/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      8/18/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      8/18/2018    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      8/18/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      8/18/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.74
      8/18/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           59.6
      8/18/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.12
      8/18/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.63
      8/18/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.05
      8/18/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.73
      8/18/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.51
      8/18/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.95
      8/18/2018    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 161.97
      8/18/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      8/18/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 216294 Q13169 Sublease         352.68
      8/18/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      8/18/2018    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      8/18/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      8/18/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.47
      8/18/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.19
      8/18/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.47
      8/18/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          503.2
      8/18/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.63
      8/18/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      8/18/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 216220 Q13168 sub lease        352.68
      8/18/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/18/2018    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      8/18/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      8/18/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/18/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/18/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.52
      8/18/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.62
      8/18/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      8/18/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      8/18/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/18/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      8/18/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/18/2018    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                      9.84
      8/18/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      8/18/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.48
      8/18/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.73

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      8/18/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.93
      8/18/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.02
      8/18/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      8/18/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      8/18/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      8/18/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      8/18/2018    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                      9.84
      8/18/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      8/18/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.46
      8/18/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      8/18/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 216219 Q1201                   278.76
      8/18/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/18/2018    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                      9.84
      8/18/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      8/18/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.67
      8/18/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.82
      8/18/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.87
      8/18/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      8/18/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      8/18/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00377251 - PO System           94.91
      8/18/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      8/18/2018    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      8/18/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      8/18/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         693.56
      8/18/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.18
      8/18/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          626.7
      8/18/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      8/18/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      8/18/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 216293 Sublease                338.99
      8/18/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      8/18/2018    709   DM0257   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-25        -149.24
      8/18/2018    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.86
      8/18/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.39
      8/18/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                           179
      8/18/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.89
      8/18/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.98
      8/18/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                           306
      8/18/2018    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      8/18/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      8/18/2018    709   DM0257   Owner Operator   Truck Payment                  CTMS - 216277 TRUCK RENTAL              100
      8/18/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      8/18/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/18/2018    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                      9.84
      8/18/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      8/18/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/18/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/18/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.19
      8/18/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         768.44
      8/18/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      8/18/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      8/18/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      8/18/2018    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      8/18/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      8/18/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      8/18/2018    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-11              93
      8/18/2018    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-11             3.1
      8/18/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.39
      8/18/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      8/18/2018    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      8/18/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      8/18/2018    709   DS0288   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-11            68.4
      8/18/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/18/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/18/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5

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      8/18/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/18/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.71
      8/18/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          502.7
      8/18/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.71
      8/18/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/18/2018    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                      9.84
      8/18/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      8/18/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/18/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/18/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/18/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/18/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/18/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          609.3
      8/18/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.92
      8/18/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      8/18/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      8/18/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      8/18/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      8/18/2018    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      8/18/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      8/18/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          272.7
      8/18/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.91
      8/18/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      8/18/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      8/18/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      8/18/2018    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      8/18/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      8/18/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           194
      8/18/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.64
      8/18/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           237
      8/18/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.8
      8/18/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.78
      8/18/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      8/18/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      8/18/2018    709   EO0014   Owner Operator   Toll Charges                   Irvine BlvdTollChg-Mv4mDO0014              1
      8/18/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      8/18/2018    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      8/18/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      8/18/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.42
      8/18/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           320
      8/18/2018    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 358.64
      8/18/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      8/18/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 216353 truck lease 3304        434.29
      8/18/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/18/2018    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521B                     9.84
      8/18/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      8/18/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.52
      8/18/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          345.3
      8/18/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      8/18/2018    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/18/2018    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      8/18/2018    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          384.3
      8/18/2018    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      8/18/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      8/18/2018    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      8/18/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      8/18/2018    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      8/18/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      8/18/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.44
      8/18/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.92
      8/18/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      8/18/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 216218 Lease                   252.11
      8/18/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      8/18/2018    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      8/18/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8

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      8/18/2018    709   GW0043   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-11              93
      8/18/2018    709   GW0043   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/18/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/18/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/18/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/18/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.38
      8/18/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.02
      8/18/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      8/18/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 216345 Q1109 Lease             302.85
      8/18/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      8/18/2018    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      8/18/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      8/18/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.68
      8/18/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.12
      8/18/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      8/18/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 216214 Q13170                  352.68
      8/18/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      8/18/2018    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK33180                      9.84
      8/18/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      8/18/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/18/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/18/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         580.43
      8/18/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.13
      8/18/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      8/18/2018    709   HG0027   Owner Operator   Advance                        Acc clm 69930 s/u pmts                  250
      8/18/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/18/2018    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      8/18/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      8/18/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.49
      8/18/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.7
      8/18/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.63
      8/18/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.59
      8/18/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.85
      8/18/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.86
      8/18/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      8/18/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/18/2018    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      8/18/2018    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      8/18/2018    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/18/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.07
      8/18/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.91
      8/18/2018    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      8/18/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      8/18/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/18/2018    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      8/18/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      8/18/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.42
      8/18/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.29
      8/18/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.42
      8/18/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      8/18/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      8/18/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/18/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      8/18/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/18/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      8/18/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      8/18/2018    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-11              31
      8/18/2018    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-11           13.26
      8/18/2018    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-25          -46.5
      8/18/2018    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-25         -13.26
      8/18/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.56
      8/18/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          31.21

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      8/18/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  27.35
      8/18/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  27.35
      8/18/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/18/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/18/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        288.13
      8/18/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        536.28
      8/18/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      8/18/2018    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      8/18/2018    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/18/2018    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/18/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      8/18/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      8/18/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/18/2018    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                     9.84
      8/18/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      8/18/2018    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                     -1000
      8/18/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      8/18/2018    709   JG0017   Owner Operator   Express Check                  T-Check Payment                        1000
      8/18/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/18/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/18/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/18/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/18/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.3
      8/18/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        593.52
      8/18/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        243.62
      8/18/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                     33.64
      8/18/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/18/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      8/18/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      8/18/2018    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      8/18/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/18/2018    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                     9.84
      8/18/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      8/18/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/18/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/18/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      8/18/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/18/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        382.64
      8/18/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        278.27
      8/18/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        453.03
      8/18/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                     33.64
      8/18/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/18/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      8/18/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      8/18/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      8/18/2018    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                     9.84
      8/18/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      8/18/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/18/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
      8/18/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      8/18/2018    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                     9.84
      8/18/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      8/18/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-11         392.06
      8/18/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-11             93
      8/18/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-11          28.08
      8/18/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/18/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/18/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.43
      8/18/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/18/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      8/18/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      8/18/2018    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                     9.84
      8/18/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      8/18/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.15
      8/18/2018    709   JR0099   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        250.31
      8/18/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/18/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      8/18/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 216182 Truck Lease            278.76
      8/18/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      8/18/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      8/18/2018    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRK33325                     9.84
      8/18/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      8/18/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100

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      8/18/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/18/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/18/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/18/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/18/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.96
      8/18/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         580.98
      8/18/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.06
      8/18/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.73
      8/18/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      8/18/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      8/18/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      8/18/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/18/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      8/18/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/18/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/18/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/18/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/18/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/18/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/18/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/18/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.62
      8/18/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.14
      8/18/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           145
      8/18/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           511
      8/18/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           398
      8/18/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           312
      8/18/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      8/18/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      8/18/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/18/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      8/18/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      8/18/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            35.93
      8/18/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      8/18/2018    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      8/18/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      8/18/2018    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-11          185.66
      8/18/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      8/18/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 216171 Lease Q1111             252.11
      8/18/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      8/18/2018    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                      9.84
      8/18/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      8/18/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/18/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/18/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         647.82
      8/18/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.24
      8/18/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      8/18/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      8/18/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/18/2018    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      8/18/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      8/18/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.11
      8/18/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.46
      8/18/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.46
      8/18/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.14
      8/18/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      8/18/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      8/18/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      8/18/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      8/18/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      8/18/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      8/18/2018    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.12
      8/18/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.49
      8/18/2018    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      8/18/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44

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      8/18/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      8/18/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      8/18/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      8/18/2018    709   MD0122   Owner Operator   T Chek Fee                     School Checks (Corp)                   64.38
      8/18/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      8/18/2018    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                      9.84
      8/18/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      8/18/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          315.6
      8/18/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.45
      8/18/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          472.6
      8/18/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      8/18/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 216213 Q1113 Lease             252.11
      8/18/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/18/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      8/18/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.71
      8/18/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.72
      8/18/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      8/18/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      8/18/2018    709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00374876 - PO System          187.16
      8/18/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/18/2018    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                      9.84
      8/18/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      8/18/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            700
      8/18/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              40
      8/18/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      8/18/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.89
      8/18/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.98
      8/18/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      8/18/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      8/18/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/18/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      8/18/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.48
      8/18/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Kilpatrick Turnpike           8.65
      8/18/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Turner Turnpike East           4.5
      8/18/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Will Rogers Turnpike         18.05
      8/18/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      8/18/2018    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      8/18/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      8/18/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             260
      8/18/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/18/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/18/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.6
      8/18/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.13
      8/18/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.82
      8/18/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      8/18/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      8/18/2018    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      8/18/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      8/18/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      8/18/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 216411 Truck 73130 Leas        196.65
      8/18/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/18/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      8/18/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.01
      8/18/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.26
      8/18/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         644.74
      8/18/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      8/18/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/18/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      8/18/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                            190
      8/18/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/18/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      8/18/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      8/18/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.04
      8/18/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         720.44
      8/18/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      8/18/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22

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      8/18/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      8/18/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
      8/18/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      8/18/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
      8/18/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/18/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/18/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      8/18/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/18/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          435.07
      8/18/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          466.53
      8/18/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                       33.64
      8/18/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/18/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.15
      8/18/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          512.16
      8/18/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      8/18/2018    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                       9.84
      8/18/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           13
      8/18/2018    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-11               93
      8/18/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            100
      8/18/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.29
      8/18/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.18
      8/18/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          568.97
      8/18/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                       33.64
      8/18/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/18/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    51.57
      8/18/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism            2.5
      8/18/2018    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                          350.65
      8/18/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                     27.48
      8/18/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                        8.75
      8/18/2018    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                       9.84
      8/18/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                           13
      8/18/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          461.55
      8/18/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/18/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        31.25
      8/18/2018    709   RM0026   Owner Operator   Truck Payment                  CTMS - 216276 TRUCK RENTAL               500
      8/18/2018    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      8/18/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
      8/18/2018    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                       9.84
      8/18/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                           13
      8/18/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          395.89
      8/18/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          374.05
      8/18/2018    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          264.66
      8/18/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/18/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD               58.6
      8/18/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 216182 Q1202 Truck Leas         278.76
      8/18/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      8/18/2018    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                       9.84
      8/18/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                           13
      8/18/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      8/18/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/18/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/18/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                            276
      8/18/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.96
      8/18/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          417.82
      8/18/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          157.45
      8/18/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                       33.64
      8/18/2018    709   SB0009   Owner Operator   Loan Repayment                 efs 197331, 197329                  -12353.08
      8/18/2018    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment          247.89
      8/18/2018    709   SB0009   Owner Operator   Loan Repayment                 Rev crd loan 9                       12353.08
      8/18/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/18/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   100.98
      8/18/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
      8/18/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      8/18/2018    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                       9.84
      8/18/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      8/18/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.41
      8/18/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          302.03
      8/18/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          408.71
      8/18/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/18/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      8/18/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      8/18/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 216179 Sub Lease                388.33
      8/18/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75

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      8/18/2018    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      8/18/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/18/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.97
      8/18/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.29
      8/18/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          509.8
      8/18/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      8/18/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      8/18/2018    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00376715 - PO System          272.97
      8/18/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      8/18/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      8/18/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      8/18/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      8/18/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/18/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/18/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.79
      8/18/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.21
      8/18/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.47
      8/18/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      8/18/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      8/18/2018    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      8/18/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      8/18/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.76
      8/18/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.06
      8/18/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      8/18/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 216218 Tractor Sub leas        242.03
      8/18/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      8/18/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/18/2018    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      8/18/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      8/18/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/18/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      8/18/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/18/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/18/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      8/18/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.66
      8/18/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.92
      8/18/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      8/18/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.68
      8/18/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.34
      8/18/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      8/18/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/18/2018    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      8/18/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      8/18/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-11          203.13
      8/18/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      8/18/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      8/18/2018    709   WB0062   Owner Operator   Tire Purchase                  PO: 709-00375312 - PO System          156.12
      8/18/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      8/18/2018    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      8/18/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      8/18/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            150
      8/18/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      8/18/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.12
      8/18/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.43
      8/18/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.55
      8/18/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.77
      8/18/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.88
      8/18/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      8/18/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 216220 Q1238 Lease             311.97
      8/18/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 216276 TRUCK RENTAL              100
      8/18/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      8/18/2018    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      8/18/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      8/18/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/18/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/18/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/18/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      8/18/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/18/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/18/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/18/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/18/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.35
      8/18/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.68
      8/18/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.93
      8/18/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.94
      8/18/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      8/18/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      8/18/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      8/18/2018    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      8/18/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      8/18/2018    742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-25          -15.6
      8/18/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.12
      8/18/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.19
      8/18/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.18
      8/18/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      8/18/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      8/18/2018    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      8/18/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      8/18/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.35
      8/18/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.45
      8/18/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.46
      8/18/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.51
      8/18/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      8/18/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      8/18/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 ILTOLL Route 80 (East)            4.9
      8/18/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 216294 Sub Lease Q13171        352.68
      8/18/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      8/18/2018    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      8/18/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      8/18/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/18/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/18/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.96
      8/18/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.66
      8/18/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.45
      8/18/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.36
      8/18/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      8/18/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      8/18/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 216122 Trk 33487 Lease          434.2
      8/18/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/18/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      8/18/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.77
      8/18/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.54
      8/18/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      8/18/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/18/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      8/18/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      8/18/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      8/18/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      8/18/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      8/18/2018    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      8/18/2018    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.32
      8/18/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      8/18/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.06
      8/18/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      8/18/2018    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      8/18/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/18/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      8/18/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.57
      8/18/2018    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    742   JS0390   Owner Operator   Permits                        IL02:2018 - 34327                       3.75
      8/18/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19

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      8/18/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/18/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      8/18/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      8/18/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      8/18/2018    742   MH0117   Owner Operator   Repair Order                   CTMS - 216277 TRACTOR REPAIR          153.97
      8/18/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                 100
      8/18/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      8/18/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      8/18/2018    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 8-25           -310
      8/18/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.44
      8/18/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.54
      8/18/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      8/18/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      8/18/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      8/18/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      8/18/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               15
      8/18/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      8/18/2018    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                      9.84
      8/18/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      8/18/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/18/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/18/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.99
      8/18/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.93
      8/18/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.95
      8/18/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.75
      8/18/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.42
      8/18/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      8/18/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      8/18/2018    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Turner Turnpike West         18.05
      8/18/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/18/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      8/18/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      8/18/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      8/18/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      8/18/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/18/2018    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      8/18/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      8/18/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      8/18/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.66
      8/18/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.38
      8/18/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.84
      8/18/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      8/18/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      8/18/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      8/18/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      8/18/2018    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                      9.84
      8/18/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      8/18/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/18/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.33
      8/18/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.23
      8/18/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.25
      8/18/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      8/18/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      8/18/2018    742   RS0342   Owner Operator   Repair Order                   CTMS - 216277 TRACTOR REPAIR             130
      8/18/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Sam Houston - East             7
      8/18/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Sam Houston - Sout             7
      8/18/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Sam Houston - Sout             7
      8/18/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Sam Houston - Sout             7
      8/18/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Ship Channel Bridg             7
      8/18/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/18/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      8/18/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      8/18/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      8/18/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5

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      8/18/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/18/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      8/18/2018    742   TH0130   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-11          433.68
      8/18/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.8
      8/18/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      8/18/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/18/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      8/18/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      8/18/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.97
      8/18/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         662.25
      8/18/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/18/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      8/18/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      8/25/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      8/25/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      8/25/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.94
      8/25/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      8/25/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      8/25/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      8/25/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      8/25/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          321.8
      8/25/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.52
      8/25/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.48
      8/25/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.74
      8/25/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      8/25/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 216585 Q13147 Lease            440.14
      8/25/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      8/25/2018    709   AV0021   Owner Operator   Advance                        Loan 2 balance s/u 2 weeks            -634.9
      8/25/2018    709   AV0021   Owner Operator   Advance                        Loan 2 Balance s/u 2 wks              317.45
      8/25/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      8/25/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      8/25/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.71
      8/25/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.94
      8/25/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.74
      8/25/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      8/25/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          76.95
      8/25/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.55
      8/25/2018    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  62.02
      8/25/2018    709   AV0021   Owner Operator   Loan Repayment                 Loan 2 balance                         634.9
      8/25/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      8/25/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 216553 Q13169 Sublease         352.68
      8/25/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      8/25/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           4.22
      8/25/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      8/25/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      8/25/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.26
      8/25/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      8/25/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 216507 Q13168 sub lease        352.68
      8/25/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/25/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      8/25/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/25/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/25/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          667.7
      8/25/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         595.15
      8/25/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      8/25/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      8/25/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/25/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      8/25/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/25/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      8/25/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.1
      8/25/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.83
      8/25/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.51
      8/25/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.12
      8/25/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.54

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      8/25/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      8/25/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      8/25/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      8/25/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      8/25/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      8/25/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.23
      8/25/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      8/25/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 216506 Q1201                   278.76
      8/25/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/25/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      8/25/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.37
      8/25/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.24
      8/25/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.46
      8/25/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.24
      8/25/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      8/25/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      8/25/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00377251 - PO System           94.91
      8/25/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      8/25/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      8/25/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/25/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/25/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.43
      8/25/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.63
      8/25/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         628.47
      8/25/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      8/25/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      8/25/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 216552 Sublease                338.99
      8/25/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      8/25/2018    709   DM0257   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-18          149.24
      8/25/2018    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.74
      8/25/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          288.9
      8/25/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          149.1
      8/25/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.26
      8/25/2018    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   DM0257   Owner Operator   Permits                        IL02:2018 - 34328                       3.75
      8/25/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      8/25/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      8/25/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      8/25/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/25/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      8/25/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/25/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/25/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          602.2
      8/25/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      8/25/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      8/25/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      8/25/2018    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      8/25/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      8/25/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      8/25/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.89
      8/25/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      8/25/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      8/25/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/25/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/25/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/25/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/25/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/25/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/25/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.86
      8/25/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.09
      8/25/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.48
      8/25/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.38
      8/25/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.55
      8/25/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      8/25/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8

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      8/25/2018    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/25/2018    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/25/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.39
      8/25/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.13
      8/25/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.88
      8/25/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.78
      8/25/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      8/25/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      8/25/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      8/25/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      8/25/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           275
      8/25/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           404
      8/25/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.8
      8/25/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.98
      8/25/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           407
      8/25/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      8/25/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      8/25/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      8/25/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      8/25/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.22
      8/25/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.14
      8/25/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.89
      8/25/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.14
      8/25/2018    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 260.35
      8/25/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      8/25/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 216597 truck lease 3304        434.29
      8/25/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/25/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      8/25/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/25/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         646.18
      8/25/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.82
      8/25/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      8/25/2018    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/25/2018    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      8/25/2018    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/25/2018    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/25/2018    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/25/2018    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.24
      8/25/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.11
      8/25/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.78
      8/25/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.74
      8/25/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.25
      8/25/2018    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      8/25/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      8/25/2018    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      8/25/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      8/25/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      8/25/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      8/25/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 216505 Lease                   252.11
      8/25/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      8/25/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      8/25/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/25/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/25/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/25/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.88
      8/25/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           295
      8/25/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.67
      8/25/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.19
      8/25/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.78
      8/25/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      8/25/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 216589 Q1109 Lease             302.85
      8/25/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75

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      8/25/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      8/25/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          393.2
      8/25/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.47
      8/25/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      8/25/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 216501 Q13170                  352.68
      8/25/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      8/25/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      8/25/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/25/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.31
      8/25/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.52
      8/25/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.08
      8/25/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      8/25/2018    709   HG0027   Owner Operator   Advance                        Acc clm 69930 s/u pmts                  250
      8/25/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/25/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      8/25/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         653.19
      8/25/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.3
      8/25/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.26
      8/25/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      8/25/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/25/2018    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      8/25/2018    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/25/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.25
      8/25/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          357.5
      8/25/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.45
      8/25/2018    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      8/25/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      8/25/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/25/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      8/25/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.39
      8/25/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.02
      8/25/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      8/25/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      8/25/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/25/2018    709   IR0002   Owner Operator   Tractor Charge                 14461 - 32901                         521.95
      8/25/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/25/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      8/25/2018    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-18            46.5
      8/25/2018    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-18           13.26
      8/25/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.85
      8/25/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          306.2
      8/25/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      8/25/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      8/25/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      8/25/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      8/25/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      8/25/2018    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      8/25/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      8/25/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      8/25/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      8/25/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      8/25/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/25/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/25/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/25/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/25/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/25/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/25/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.79
      8/25/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.92
      8/25/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.79
      8/25/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.89
      8/25/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.32

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      8/25/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        302.63
      8/25/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/25/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/25/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      8/25/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.18
      8/25/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 216292 Q13197 Lease           276.63
      8/25/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 216550 Q13197 Lease           276.63
      8/25/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      8/25/2018    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      8/25/2018    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/25/2018    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/25/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      8/25/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      8/25/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/25/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      8/25/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      8/25/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      8/25/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      8/25/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        605.19
      8/25/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.4
      8/25/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                     33.64
      8/25/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/25/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.85
      8/25/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      8/25/2018    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      8/25/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/25/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      8/25/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      8/25/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      8/25/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        514.56
      8/25/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        439.86
      8/25/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          0.05
      8/25/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        666.84
      8/25/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                     33.64
      8/25/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/25/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      8/25/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      8/25/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      8/25/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      8/25/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        478.06
      8/25/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/25/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.15
      8/25/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      8/25/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      8/25/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        154.21
      8/25/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.48
      8/25/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/25/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51
      8/25/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      8/25/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      8/25/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.3
      8/25/2018    709   JR0099   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        250.31
      8/25/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/25/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.58
      8/25/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 216458 Truck Lease            278.76
      8/25/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      8/25/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      8/25/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      8/25/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      8/25/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/25/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/25/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        236.78
      8/25/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.87
      8/25/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          2.48
      8/25/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/25/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.93
      8/25/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      8/25/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/25/2018    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
      8/25/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      8/25/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      8/25/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           150
      8/25/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             58

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      8/25/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.58
      8/25/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      8/25/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      8/25/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.48
      8/25/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           305
      8/25/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.72
      8/25/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.03
      8/25/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      8/25/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      8/25/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/25/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      8/25/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      8/25/2018    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                     9.84
      8/25/2018    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      8/25/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      8/25/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      8/25/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.34
      8/25/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.78
      8/25/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.87
      8/25/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          174.6
      8/25/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD             6.26
      8/25/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      8/25/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 216217 Q13156 Lease            388.16
      8/25/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 216504 Q13156 Lease            388.16
      8/25/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      8/25/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      8/25/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      8/25/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 216447 Lease Q1111             252.11
      8/25/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      8/25/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      8/25/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/25/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/25/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/25/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.01
      8/25/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         813.46
      8/25/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      8/25/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      8/25/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/25/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      8/25/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.82
      8/25/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.22
      8/25/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.69
      8/25/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.83
      8/25/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.77
      8/25/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.2
      8/25/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      8/25/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      8/25/2018    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      8/25/2018    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.06
      8/25/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.01
      8/25/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.99
      8/25/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.12
      8/25/2018    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      8/25/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      8/25/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      8/25/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          558.1
      8/25/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         562.86
      8/25/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.33
      8/25/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      8/25/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 216500 Q1113 Lease             252.11
      8/25/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/25/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      8/25/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.36

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      8/25/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.06
      8/25/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.03
      8/25/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.82
      8/25/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      8/25/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      8/25/2018    709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00374876 - PO System          187.13
      8/25/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/25/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      8/25/2018    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                     -10000
      8/25/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            700
      8/25/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.32
      8/25/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      8/25/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      8/25/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/25/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
      8/25/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      8/25/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      8/25/2018    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1108                      9.84
      8/25/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      8/25/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      8/25/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
      8/25/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
      8/25/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/25/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           4.84
      8/25/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.56
      8/25/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          118.7
      8/25/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.63
      8/25/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      8/25/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      8/25/2018    709   NB0029   Owner Operator   Repair Order                   CTMS - 216276 TRACTOR REPAIR             100
      8/25/2018    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      8/25/2018    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      8/25/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      8/25/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      8/25/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             300
      8/25/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/25/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.34
      8/25/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.9
      8/25/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.44
      8/25/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      8/25/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      8/25/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      8/25/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      8/25/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 216678 Truck 73130 Leas        196.65
      8/25/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/25/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      8/25/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      8/25/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/25/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                          23.21
      8/25/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/25/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      8/25/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/25/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         180.64
      8/25/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/25/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      8/25/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/25/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/25/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/25/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.73
      8/25/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.07
      8/25/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.84
      8/25/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.68
      8/25/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.23

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      8/25/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.53
      8/25/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.27
      8/25/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      8/25/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      8/25/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      8/25/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      8/25/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      8/25/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/25/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.76
      8/25/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.89
      8/25/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.83
      8/25/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.35
      8/25/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      8/25/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      8/25/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      8/25/2018    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      8/25/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      8/25/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      8/25/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      8/25/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.39
      8/25/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.47
      8/25/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.54
      8/25/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      8/25/2018    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      8/25/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      8/25/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      8/25/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.76
      8/25/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.58
      8/25/2018    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         264.66
      8/25/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      8/25/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 216458 Q1202 Truck Leas        278.76
      8/25/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      8/25/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      8/25/2018    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      8/25/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      8/25/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      8/25/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/25/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/25/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/25/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/25/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         628.29
      8/25/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.52
      8/25/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                           501
      8/25/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.26
      8/25/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          596.6
      8/25/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          558.6
      8/25/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      8/25/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      8/25/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      8/25/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      8/25/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL 163rd St.                   6.5
      8/25/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ITRCC Mishawaka                  22.05
      8/25/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ITRCC Portage                    18.15
      8/25/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 OTC Westgate                        40
      8/25/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 216219 Q1248                   311.97
      8/25/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 216506 Q1248                   311.97
      8/25/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      8/25/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      8/25/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/25/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/25/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.58
      8/25/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                             16
      8/25/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.15
      8/25/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.22
      8/25/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.67
      8/25/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64

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      8/25/2018    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      8/25/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      8/25/2018    709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.77
      8/25/2018    709   SB0009   Owner Operator   T Chek Fee                     Tractor Repair 33236                  476.81
      8/25/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      8/25/2018    709   SB0009   Owner Operator   Truck Payment                  CTMS - 216635 Truck Rental              500
      8/25/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      8/25/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      8/25/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.07
      8/25/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.53
      8/25/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.74
      8/25/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      8/25/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      8/25/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 216455 Sub Lease               388.33
      8/25/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      8/25/2018    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      8/25/2018    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      8/25/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/25/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.89
      8/25/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           374
      8/25/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           314
      8/25/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           605
      8/25/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      8/25/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      8/25/2018    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00376715 - PO System          272.97
      8/25/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      8/25/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      8/25/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      8/25/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      8/25/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/25/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/25/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.76
      8/25/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.56
      8/25/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.29
      8/25/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.19
      8/25/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      8/25/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      8/25/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      8/25/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.35
      8/25/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.78
      8/25/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      8/25/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 216505 Tractor Sub leas        242.03
      8/25/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      8/25/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/25/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      8/25/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/25/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/25/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.54
      8/25/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.63
      8/25/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.4
      8/25/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      8/25/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/25/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      8/25/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      8/25/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      8/25/2018    709   WB0062   Owner Operator   Tire Purchase                  PO: 709-00375312 - PO System          156.09
      8/25/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      8/25/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      8/25/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/25/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/25/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.15
      8/25/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.61
      8/25/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.88
      8/25/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.79
      8/25/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.43

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      8/25/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      8/25/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 216507 Q1238 Lease             311.97
      8/25/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      8/25/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      8/25/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/25/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/25/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/25/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/25/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/25/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/25/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/25/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/25/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.74
      8/25/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.39
      8/25/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.6
      8/25/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.95
      8/25/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.5
      8/25/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.84
      8/25/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          360.8
      8/25/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      8/25/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      8/25/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/25/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/25/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/25/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/25/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/25/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/25/2018    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRK33471                      9.84
      8/25/2018    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRK33471                      9.84
      8/25/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      8/25/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      8/25/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      8/25/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      8/25/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      8/25/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      8/25/2018    742   BS0078   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-14           223.2
      8/25/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.57
      8/25/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.5
      8/25/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.01
      8/25/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.43
      8/25/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.37
      8/25/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.14
      8/25/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.34
      8/25/2018    742   BS0078   Owner Operator   FUEL TAX                       June 2018 Fuel/Mileage Tax             89.42
      8/25/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                      49.19
      8/25/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                       100
      8/25/2018    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2018 - 33471                       100
      8/25/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      8/25/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      8/25/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      8/25/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      8/25/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      8/25/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      8/25/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/25/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/25/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/25/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/25/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/25/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/25/2018    742   BS0078   Owner Operator   Toll Charges                   33471 OTA Turner Turnpike West         18.05
      8/25/2018    742   BS0078   Owner Operator   Toll Charges                   33471 OTA Will Rogers Turnpike         18.05
      8/25/2018    742   BS0078   Owner Operator   Toll Charges                   33471 TXTAG GRDPKY Spencer Mai          8.24
      8/25/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      8/25/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      8/25/2018    742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-18            15.6

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      8/25/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.93
      8/25/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         628.43
      8/25/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      8/25/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.83
      8/25/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      8/25/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.12
      8/25/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/25/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/25/2018    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      8/25/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      8/25/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      8/25/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             30
      8/25/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.03
      8/25/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      8/25/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.54
      8/25/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.5
      8/25/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.72
      8/25/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      8/25/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      8/25/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/25/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/25/2018    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      8/25/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      8/25/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                       12.39
      8/25/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL Route 80 (West)             4.9
      8/25/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      8/25/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      8/25/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/25/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.07
      8/25/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.22
      8/25/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.36
      8/25/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.33
      8/25/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      8/25/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      8/25/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 216405 Trk 33487 Lease          434.2
      8/25/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 216672 Trk 33487 Lease          434.2
      8/25/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/25/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.83
      8/25/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.87
      8/25/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         621.53
      8/25/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.38
      8/25/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      8/25/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/25/2018    742   ED0041   Owner Operator   Toll Charges                   32897 OTA Turner Turnpike East         13.94
      8/25/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/25/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/25/2018    742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze TRK32947                      9.84
      8/25/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      8/25/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      8/25/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/25/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/25/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.03
      8/25/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.85
      8/25/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.56
      8/25/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.89
      8/25/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.75
      8/25/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.69
      8/25/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.49
      8/25/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      8/25/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      8/25/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      8/25/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      8/25/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      8/25/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/25/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      8/25/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      8/25/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      8/25/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      8/25/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      8/25/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      8/25/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      8/25/2018    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      8/25/2018    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           232
      8/25/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         692.43
      8/25/2018    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      8/25/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/25/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      8/25/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.55
      8/25/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.96
      8/25/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.01
      8/25/2018    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2018 - 34327                       100
      8/25/2018    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.18
      8/25/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/25/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      8/25/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      8/25/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      8/25/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
      8/25/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      8/25/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      8/25/2018    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 8-18            310
      8/25/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.38
      8/25/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.59
      8/25/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.88
      8/25/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      8/25/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      8/25/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                           303
      8/25/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy North - Rank             4
      8/25/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy North - Rank             4
      8/25/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy South - Barr             7
      8/25/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Sam Houston - Cent             7
      8/25/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Sam Houston - Nort             7
      8/25/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/25/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      8/25/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      8/25/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      8/25/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      8/25/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/25/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      8/25/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/25/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.73
      8/25/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      8/25/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      8/25/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - East             7
      8/25/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout             7
      8/25/2018    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg             7
      8/25/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      8/25/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      8/25/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      8/25/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.18
      8/25/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.45
      8/25/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.43
      8/25/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.15
      8/25/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.85
      8/25/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          104.6
      8/25/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                       100
      8/25/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                       100

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      8/25/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      8/25/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      8/25/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      8/25/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      8/25/2018    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13157                     9.84
      8/25/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      8/25/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      8/25/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.26
      8/25/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.33
      8/25/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.39
      8/25/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.49
      8/25/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.58
      8/25/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          278.4
      8/25/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.89
      8/25/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      8/25/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      8/25/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      8/25/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      8/25/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 216182 Tractor Lease           353.28
      8/25/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 216458 Tractor Lease           353.28
      8/25/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      8/25/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      8/25/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/25/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.22
      8/25/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.33
      8/25/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      8/25/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      8/25/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/25/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      8/25/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
      8/25/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      8/25/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      8/25/2018    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      8/25/2018    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      8/25/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.26
      8/25/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.54
      8/25/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.44
      8/25/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      8/25/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      8/25/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/25/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      8/25/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.81
      8/25/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.57
      8/25/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.16
      8/25/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      8/25/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/25/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
      8/25/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 15
      8/25/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      8/25/2018    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      8/25/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      8/25/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.47
      8/25/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         625.78
      8/25/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.5
      8/25/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/25/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      8/25/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       9/1/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       9/1/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       9/1/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          502.1
       9/1/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       9/1/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       9/1/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       9/1/2018    709   AV0021   Owner Operator   Advance                        Loan 2 Balance s/u 2 wks              317.45
       9/1/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75

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       9/1/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       9/1/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/1/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/1/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/1/2018    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/1/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.5
       9/1/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.49
       9/1/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.26
       9/1/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.69
       9/1/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          158.5
       9/1/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       9/1/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       9/1/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       9/1/2018    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
       9/1/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       9/1/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       9/1/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       9/1/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          43.28
       9/1/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       9/1/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
       9/1/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       9/1/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       9/1/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       9/1/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       9/1/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       9/1/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       9/1/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          365.6
       9/1/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.85
       9/1/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         633.12
       9/1/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          471.2
       9/1/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       9/1/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 216778 Q13168 sub lease        352.68
       9/1/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       9/1/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         618.16
       9/1/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.67
       9/1/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
       9/1/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       9/1/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/1/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       9/1/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       9/1/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       9/1/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.88
       9/1/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.31
       9/1/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.05
       9/1/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
       9/1/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       9/1/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
       9/1/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       9/1/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       9/1/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.63
       9/1/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       9/1/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 216778 Q1201                   278.76
       9/1/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       9/1/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       9/1/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.85
       9/1/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.77
       9/1/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.01
       9/1/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.05
       9/1/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
       9/1/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       9/1/2018    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00377251 - PO System           94.87
       9/1/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75

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       9/1/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       9/1/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/1/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/1/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.28
       9/1/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.89
       9/1/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.91
       9/1/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       9/1/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       9/1/2018    709   DL0107   Owner Operator   Repair Order                   CTMS - 216832 REPAIR                   496.6
       9/1/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 216847 Sublease                338.99
       9/1/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       9/1/2018    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.91
       9/1/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.74
       9/1/2018    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       9/1/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       9/1/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       9/1/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       9/1/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       9/1/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/1/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         704.05
       9/1/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
       9/1/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       9/1/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       9/1/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       9/1/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       9/1/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         576.39
       9/1/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       9/1/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       9/1/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/1/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       9/1/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       9/1/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/1/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.47
       9/1/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.44
       9/1/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                           257
       9/1/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       9/1/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       9/1/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       9/1/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       9/1/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.03
       9/1/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.68
       9/1/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.91
       9/1/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
       9/1/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
       9/1/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       9/1/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       9/1/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       9/1/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       9/1/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       9/1/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       9/1/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.76
       9/1/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           550
       9/1/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.78
       9/1/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       9/1/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       9/1/2018    709   EG0062   Owner Operator   Tire Fee                       Tire Fee: 2167912                          8
       9/1/2018    709   EG0062   Owner Operator   Tire Purchase                  PO: 709-00378299 - PO System          218.78

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       9/1/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       9/1/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       9/1/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           234
       9/1/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           227
       9/1/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.68
       9/1/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.15
       9/1/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.67
       9/1/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       9/1/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       9/1/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       9/1/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       9/1/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.18
       9/1/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.65
       9/1/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.09
       9/1/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.24
       9/1/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.48
       9/1/2018    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                1081.13
       9/1/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       9/1/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/1/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       9/1/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.92
       9/1/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                           412
       9/1/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
       9/1/2018    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       9/1/2018    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
       9/1/2018    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.34
       9/1/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.21
       9/1/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.71
       9/1/2018    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
       9/1/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       9/1/2018    709   GA0051   Owner Operator   Tire Fee                       Tire Fee: 2167936                          4
       9/1/2018    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00378129 - PO System          127.69
       9/1/2018    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
       9/1/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       9/1/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       9/1/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.44
       9/1/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       9/1/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 216776 Lease                   252.11
       9/1/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       9/1/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       9/1/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/1/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/1/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.55
       9/1/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.57
       9/1/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.37
       9/1/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.42
       9/1/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.53
       9/1/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       9/1/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       9/1/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       9/1/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.97
       9/1/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.79
       9/1/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.93
       9/1/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.89
       9/1/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.64
       9/1/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       9/1/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 216772 Q13170                  352.68
       9/1/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       9/1/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13

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       9/1/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/1/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.26
       9/1/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.98
       9/1/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       9/1/2018    709   HG0027   Owner Operator   Advance                        Acc clm 69930 s/u pmts                 201.7
       9/1/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       9/1/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       9/1/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.29
       9/1/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.45
       9/1/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.93
       9/1/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       9/1/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       9/1/2018    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
       9/1/2018    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            100
       9/1/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.27
       9/1/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          537.2
       9/1/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         595.04
       9/1/2018    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
       9/1/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       9/1/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       9/1/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.79
       9/1/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         567.56
       9/1/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
       9/1/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       9/1/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/1/2018    709   IR0002   Owner Operator   Repair Order                   CTMS - 216832 REPAIR                      70
       9/1/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       9/1/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
       9/1/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.61
       9/1/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
       9/1/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       9/1/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       9/1/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       9/1/2018    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                      -7200
       9/1/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
       9/1/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/1/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/1/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.82
       9/1/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.82
       9/1/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.95
       9/1/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       9/1/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 216845 Q13197 Lease            276.63
       9/1/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       9/1/2018    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
       9/1/2018    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
       9/1/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       9/1/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       9/1/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
       9/1/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             100
       9/1/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
       9/1/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/1/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/1/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.17
       9/1/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         693.92
       9/1/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
       9/1/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       9/1/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6

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       9/1/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       9/1/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       9/1/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/1/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          610.6
       9/1/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.88
       9/1/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.18
       9/1/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
       9/1/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       9/1/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       9/1/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/1/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       9/1/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/1/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/1/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.18
       9/1/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.91
       9/1/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.12
       9/1/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
       9/1/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       9/1/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       9/1/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/1/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/1/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.14
       9/1/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.24
       9/1/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       9/1/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       9/1/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       9/1/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.55
       9/1/2018    709   JR0099   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         250.31
       9/1/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       9/1/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 216736 Truck Lease             278.76
       9/1/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       9/1/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       9/1/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       9/1/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/1/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.94
       9/1/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.36
       9/1/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          549.5
       9/1/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       9/1/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       9/1/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       9/1/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       9/1/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       9/1/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.01
       9/1/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.01
       9/1/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.01
       9/1/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
       9/1/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       9/1/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/1/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       9/1/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
       9/1/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       9/1/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.56
       9/1/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          374.9
       9/1/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.97
       9/1/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
       9/1/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 216775 Q13156 Lease            388.16
       9/1/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       9/1/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       9/1/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07

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       9/1/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 216725 Lease Q1111             252.11
       9/1/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       9/1/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       9/1/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                              20
       9/1/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            180
       9/1/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.8
       9/1/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
       9/1/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         827.18
       9/1/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.8
       9/1/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       9/1/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       9/1/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/1/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       9/1/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.06
       9/1/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.24
       9/1/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.81
       9/1/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       9/1/2018    709   MA0092   Owner Operator   Repair Order                   CTMS - 216832 REPAIR                  531.95
       9/1/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       9/1/2018    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       9/1/2018    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.94
       9/1/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.41
       9/1/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.78
       9/1/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          64.27
       9/1/2018    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
       9/1/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       9/1/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       9/1/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.28
       9/1/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       9/1/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 216779 Q1113 Lease             252.11
       9/1/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       9/1/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       9/1/2018    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-8         -812.52
       9/1/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.71
       9/1/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       9/1/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       9/1/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/1/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       9/1/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
       9/1/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
       9/1/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
       9/1/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         623.31
       9/1/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
       9/1/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       9/1/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       9/1/2018    709   MP0035   Owner Operator   Repair Order                   CTMS - 216832 REPAIR                  262.82
       9/1/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       9/1/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       9/1/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
       9/1/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
       9/1/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/1/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/1/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.23
       9/1/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.98
       9/1/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.42
       9/1/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.71
       9/1/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.42
       9/1/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.55
       9/1/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.55
       9/1/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       9/1/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       9/1/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       9/1/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       9/1/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             300
       9/1/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/1/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.1
       9/1/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.16
       9/1/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       9/1/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       9/1/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       9/1/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       9/1/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 216983 Truck 73130 Leas        196.65
       9/1/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       9/1/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       9/1/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                            645
       9/1/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.72
       9/1/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       9/1/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       9/1/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    -35
       9/1/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       9/1/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       9/1/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       9/1/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       9/1/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       9/1/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       9/1/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
       9/1/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       9/1/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       9/1/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
       9/1/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 -412.26
       9/1/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                          356.3
       9/1/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       9/1/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       9/1/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       9/1/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
       9/1/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                          107.3
       9/1/2018    709   RC0089   Owner Operator   Tractor Charge                 Tractor Credit 32986                   -3000
       9/1/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
       9/1/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       9/1/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
       9/1/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
       9/1/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
       9/1/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       9/1/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/1/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       9/1/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         348.41
       9/1/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       9/1/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/1/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.86
       9/1/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.95
       9/1/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.29
       9/1/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
       9/1/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       9/1/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       9/1/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75

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       9/1/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       9/1/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/1/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.5
       9/1/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           28.4
       9/1/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.27
       9/1/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           6.39
       9/1/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.67
       9/1/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
       9/1/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
       9/1/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       9/1/2018    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       9/1/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       9/1/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       9/1/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       9/1/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.85
       9/1/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.62
       9/1/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       9/1/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       9/1/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       9/1/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.19
       9/1/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.05
       9/1/2018    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         263.28
       9/1/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       9/1/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 216736 Q1202 Truck Leas        278.76
       9/1/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       9/1/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       9/1/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/1/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/1/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         617.95
       9/1/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         636.79
       9/1/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       9/1/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       9/1/2018    709   RR0123   Owner Operator   Repair Order                   CTMS - 216831 REPAIR                  416.47
       9/1/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 216777 Q1248                   311.97
       9/1/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       9/1/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       9/1/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       9/1/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.87
       9/1/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.38
       9/1/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.23
       9/1/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.5
       9/1/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
       9/1/2018    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
       9/1/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       9/1/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       9/1/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       9/1/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       9/1/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.63
       9/1/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.72
       9/1/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          506.2
       9/1/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       9/1/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       9/1/2018    709   SB0103   Owner Operator   Repair Order                   CTMS - 216832 REPAIRS                 252.49
       9/1/2018    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                       10.13
       9/1/2018    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                   1013
       9/1/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 216733 Sub Lease               388.33
       9/1/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       9/1/2018    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
       9/1/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/1/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.07
       9/1/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           434
       9/1/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           597
       9/1/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           362
       9/1/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
       9/1/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
       9/1/2018    709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                        2.26

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       9/1/2018    709   SM0109   Owner Operator   T Chek Fee                     Tractor Repair 33195                    226
       9/1/2018    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00376715 - PO System          272.93
       9/1/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       9/1/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
       9/1/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       9/1/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       9/1/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/1/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/1/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.46
       9/1/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.59
       9/1/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       9/1/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       9/1/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       9/1/2018    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-8         -460.75
       9/1/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.82
       9/1/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       9/1/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 216776 Tractor Sub leas        242.03
       9/1/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       9/1/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/1/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       9/1/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       9/1/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.76
       9/1/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.57
       9/1/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.6
       9/1/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.57
       9/1/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       9/1/2018    709   VJ0006   Owner Operator   Repair Order                   CTMS - 216832 REPAIR                  259.52
       9/1/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       9/1/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       9/1/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-8         -406.26
       9/1/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       9/1/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       9/1/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       9/1/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       9/1/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.39
       9/1/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.59
       9/1/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.03
       9/1/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.07
       9/1/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.91
       9/1/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       9/1/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 216778 Q1238 Lease             311.97
       9/1/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       9/1/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       9/1/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/1/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/1/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/1/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/1/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/1/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/1/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.86
       9/1/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.06
       9/1/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.92
       9/1/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       9/1/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       9/1/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/1/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       9/1/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.87
       9/1/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.27
       9/1/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.11
       9/1/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55

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       9/1/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       9/1/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       9/1/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       9/1/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.34
       9/1/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.37
       9/1/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.81
       9/1/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       9/1/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       9/1/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       9/1/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       9/1/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       9/1/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.74
       9/1/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.77
       9/1/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.96
       9/1/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.35
       9/1/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.56
       9/1/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
       9/1/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
       9/1/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       9/1/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       9/1/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 216553 Sub Lease Q13171        352.68
       9/1/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 216848 Sub Lease Q13171        352.68
       9/1/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       9/1/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           600
       9/1/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       9/1/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/1/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       9/1/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       9/1/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/1/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/1/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.38
       9/1/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.28
       9/1/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.71
       9/1/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.78
       9/1/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.82
       9/1/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       9/1/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       9/1/2018    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Cent             7
       9/1/2018    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - East           3.5
       9/1/2018    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - East           3.5
       9/1/2018    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Fair          2.75
       9/1/2018    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - NE M             7
       9/1/2018    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Nort           3.5
       9/1/2018    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Ship Channel Bridg           3.5
       9/1/2018    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Ship Channel Bridg           3.5
       9/1/2018    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Westpark - Hillcro           3.5
       9/1/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/1/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       9/1/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       9/1/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.77
       9/1/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.8
       9/1/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       9/1/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       9/1/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       9/1/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.77
       9/1/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.81
       9/1/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          71.59
       9/1/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          157.2
       9/1/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.93
       9/1/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64

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       9/1/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       9/1/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/1/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       9/1/2018    742   FS0011   Owner Operator   Accident Claim                 06/04/18 FS0011 Incident               2000
       9/1/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       9/1/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       9/1/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       9/1/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       9/1/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       9/1/2018    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       9/1/2018    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         611.02
       9/1/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           500
       9/1/2018    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       9/1/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
       9/1/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.56
       9/1/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.93
       9/1/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.44
       9/1/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.61
       9/1/2018    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2018 - 34327                       100
       9/1/2018    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
       9/1/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       9/1/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       9/1/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       9/1/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       9/1/2018    742   MH0117   Owner Operator   Toll Charges                   33296 HCTRA Sam Houston - Redd            -4
       9/1/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679                100
       9/1/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       9/1/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       9/1/2018    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-8          -53.04
       9/1/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.37
       9/1/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.84
       9/1/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.18
       9/1/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.02
       9/1/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       9/1/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       9/1/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
       9/1/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
       9/1/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       9/1/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       9/1/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       9/1/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       9/1/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.21
       9/1/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          538.8
       9/1/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.73
       9/1/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.02
       9/1/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
       9/1/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       9/1/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       9/1/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       9/1/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       9/1/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
       9/1/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
       9/1/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       9/1/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       9/1/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/1/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       9/1/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       9/1/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.29
       9/1/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.5

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       9/1/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.17
       9/1/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.24
       9/1/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.78
       9/1/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
       9/1/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       9/1/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       9/1/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       9/1/2018    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
       9/1/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       9/1/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       9/1/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       9/1/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/1/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/1/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.14
       9/1/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.72
       9/1/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.82
       9/1/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.14
       9/1/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.77
       9/1/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.6
       9/1/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.03
       9/1/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                       100
       9/1/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       9/1/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       9/1/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       9/1/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.95
       9/1/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.81
       9/1/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.32
       9/1/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.85
       9/1/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       9/1/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       9/1/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 216735 Tractor Lease           353.28
       9/1/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       9/1/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       9/1/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.76
       9/1/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
       9/1/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.12
       9/1/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.01
       9/1/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.79
       9/1/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       9/1/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       9/1/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       9/1/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       9/1/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         430.54
       9/1/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       9/1/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       9/1/2018    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       9/1/2018    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       9/1/2018    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       9/1/2018    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/1/2018    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/1/2018    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/1/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.11
       9/1/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          428.7
       9/1/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.33
       9/1/2018    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
       9/1/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
       9/1/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       9/1/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       9/1/2018    742   TC0098   Owner Operator   Truck Payment                  CTMS - 216803 33489 Lease Paym        412.16
       9/1/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/1/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       9/1/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.65
       9/1/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.65
       9/1/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       9/1/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       9/1/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       9/1/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       9/1/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       9/1/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.55
       9/1/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         567.43
       9/1/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.58
       9/1/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/1/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       9/1/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       9/8/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       9/8/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       9/8/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          577.4
       9/8/2018    709   AN0007   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             -1.06
       9/8/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       9/8/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       9/8/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       9/8/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       9/8/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       9/8/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       9/8/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.85
       9/8/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.4
       9/8/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.99
       9/8/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.15
       9/8/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          66.39
       9/8/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.59
       9/8/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.17
       9/8/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          223.2
       9/8/2018    709   AR0064   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            636.57
       9/8/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       9/8/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       9/8/2018    709   AR0064   Owner Operator   Repair Order                   CTMS - 217180 REPAIR                    311
       9/8/2018    709   AR0064   Owner Operator   Toll Charges                   Q13147 WVPEDTA Chelyan                  5.87
       9/8/2018    709   AR0064   Owner Operator   Toll Charges                   Q13147 WVPEDTA Pax                      5.87
       9/8/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 216898 Q13147 Lease            440.14
       9/8/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 217136 Q13147 Lease            440.14
       9/8/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       9/8/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       9/8/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       9/8/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.2
       9/8/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.62
       9/8/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.19
       9/8/2018    709   AV0021   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            182.68
       9/8/2018    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  28.85
       9/8/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       9/8/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 216848 Q13169 Sublease         352.68
       9/8/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 217089 Q13169 Sublease         352.68
       9/8/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       9/8/2018    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
       9/8/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       9/8/2018    709   BM0030   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            664.24
       9/8/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       9/8/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       9/8/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       9/8/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.79
       9/8/2018    709   CC0134   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            126.51
       9/8/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       9/8/2018    709   CC0134   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.25
       9/8/2018    709   CC0134   Owner Operator   T Chek Fee                     Towing Q13168                          351.5
       9/8/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/8/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       9/8/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         603.49
       9/8/2018    709   CM0119   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             11.71
       9/8/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
       9/8/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       9/8/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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       9/8/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       9/8/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       9/8/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       9/8/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.55
       9/8/2018    709   CR0064   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            101.57
       9/8/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
       9/8/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       9/8/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
       9/8/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.64
       9/8/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       9/8/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       9/8/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/8/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/8/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.83
       9/8/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.35
       9/8/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.24
       9/8/2018    709   DL0107   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            313.69
       9/8/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       9/8/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       9/8/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 217088 Sublease                338.99
       9/8/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       9/8/2018    709   DM0257   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-15          -48.6
       9/8/2018    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/8/2018    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   DM0257   Owner Operator   Permits                        NY13:2018 - 34328                        1.5
       9/8/2018    709   DM0257   Owner Operator   Permits                        OR16:2018 - 34328                        8.5
       9/8/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       9/8/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       9/8/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       9/8/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/8/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       9/8/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       9/8/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/8/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.69
       9/8/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         818.51
       9/8/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
       9/8/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       9/8/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       9/8/2018    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       9/8/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       9/8/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       9/8/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          683.7
       9/8/2018    709   DS0225   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            129.29
       9/8/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       9/8/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       9/8/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/8/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       9/8/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       9/8/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.21
       9/8/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.95
       9/8/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/8/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       9/8/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       9/8/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/8/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/8/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/8/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/8/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.26
       9/8/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.67
       9/8/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.82
       9/8/2018    709   EA0003   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            226.92
       9/8/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
       9/8/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       9/8/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       9/8/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       9/8/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       9/8/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         703.73
       9/8/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.47

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       9/8/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/8/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    42.19
       9/8/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
       9/8/2018    709   EG0062   Owner Operator   Tire Purchase                  PO: 709-00378299 - PO System           218.78
       9/8/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
       9/8/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13
       9/8/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          440.75
       9/8/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.91
       9/8/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          285.04
       9/8/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            346
       9/8/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/8/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 78.13
       9/8/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
       9/8/2018    709   EO0014   Owner Operator   Tractor Wash                   CTMS - 217169 Trailer wash WFG            -40
       9/8/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
       9/8/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
       9/8/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          159.23
       9/8/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.06
       9/8/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.03
       9/8/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.03
       9/8/2018    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                  563.91
       9/8/2018    709   FS0039   Owner Operator   Loan Repayment                 efs 199388, 199455                  -12432.64
       9/8/2018    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          350.95
       9/8/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/8/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              76.88
       9/8/2018    709   FS0039   Owner Operator   T Chek Fee                     ExpressCheck Fee                         12.5
       9/8/2018    709   FS0039   Owner Operator   T Chek Fee                     ExpressCheck Fee                        110.6
       9/8/2018    709   FS0039   Owner Operator   T Chek Fee                     Towing 33040                            1250
       9/8/2018    709   FS0039   Owner Operator   T Chek Fee                     Tractor Repair 33040                 11059.54
       9/8/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 216910 truck lease 3304         434.29
       9/8/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 217149 truck lease 3304         434.29
       9/8/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
       9/8/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                          13
       9/8/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                           394.3
       9/8/2018    709   FV0001   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax              71.06
       9/8/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/8/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    82.04
       9/8/2018    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
       9/8/2018    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                           13
       9/8/2018    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                              50
       9/8/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.85
       9/8/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.13
       9/8/2018    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2018 - 34330                        100
       9/8/2018    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/8/2018    709   GA0051   Owner Operator   Permits                        IL02:2018 - 34330                        3.75
       9/8/2018    709   GA0051   Owner Operator   Permits                        NM07:2018 - 34330                         5.5
       9/8/2018    709   GA0051   Owner Operator   Permits                        OR16:2018 - 34330                         8.5
       9/8/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    23.44
       9/8/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism            2.5
       9/8/2018    709   GA0051   Owner Operator   Repair Order                   CTMS - 217009 REPAIR                    253.5
       9/8/2018    709   GA0051   Owner Operator   Repair Order                   CTMS - 217193 REPAIR                    253.5
       9/8/2018    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00378129 - PO System           127.69
       9/8/2018    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                            277
       9/8/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL              8.75
       9/8/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                           13
       9/8/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          288.24
       9/8/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/8/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD              39.07
       9/8/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 217045 Lease                    252.11
       9/8/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL              8.75
       9/8/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                            8
       9/8/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/8/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/8/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       9/8/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       9/8/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.36
       9/8/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          441.45
       9/8/2018    709   GW0043   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax              92.18
       9/8/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/8/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD              44.11
       9/8/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 216902 Q1109 Lease              302.85
       9/8/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 217140 Q1109 Lease              302.85
       9/8/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             8.75

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       9/8/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       9/8/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.13
       9/8/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.11
       9/8/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          321.5
       9/8/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.02
       9/8/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       9/8/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 217041 Q13170                  352.68
       9/8/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       9/8/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       9/8/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/8/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/8/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/8/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.14
       9/8/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.88
       9/8/2018    709   HG0007   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             60.18
       9/8/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       9/8/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       9/8/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       9/8/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.55
       9/8/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.03
       9/8/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         584.41
       9/8/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         658.48
       9/8/2018    709   HG0027   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             80.55
       9/8/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       9/8/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       9/8/2018    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
       9/8/2018    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/8/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           261
       9/8/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         610.97
       9/8/2018    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
       9/8/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       9/8/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/8/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       9/8/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         803.91
       9/8/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.49
       9/8/2018    709   IR0002   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            -65.87
       9/8/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
       9/8/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       9/8/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/8/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       9/8/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
       9/8/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/8/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.3
       9/8/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
       9/8/2018    709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       9/8/2018    709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      42.19
       9/8/2018    709   JA0156   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
       9/8/2018    709   JA0156   Owner Operator   T Chek Fee                     School Checks (Corp)                  249.06
       9/8/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       9/8/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       9/8/2018    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
       9/8/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       9/8/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       9/8/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/8/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/8/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/8/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/8/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/8/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/8/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.53
       9/8/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.38
       9/8/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.31
       9/8/2018    709   JC0292   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            315.42
       9/8/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       9/8/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 217086 Q13197 Lease            276.63
       9/8/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75

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       9/8/2018    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
       9/8/2018    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
       9/8/2018    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       9/8/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
       9/8/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
       9/8/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       9/8/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
       9/8/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
       9/8/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
       9/8/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           100
       9/8/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       9/8/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
       9/8/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        656.06
       9/8/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        401.97
       9/8/2018    709   JG0017   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            -9.26
       9/8/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                     33.64
       9/8/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       9/8/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
       9/8/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
       9/8/2018    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
       9/8/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       9/8/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
       9/8/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
       9/8/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
       9/8/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.35
       9/8/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        361.01
       9/8/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        647.08
       9/8/2018    709   JG0072   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax           251.16
       9/8/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                     33.64
       9/8/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       9/8/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
       9/8/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
       9/8/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
       9/8/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
       9/8/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        635.31
       9/8/2018    709   JG0092   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax           -18.21
       9/8/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       9/8/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
       9/8/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
       9/8/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
       9/8/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
       9/8/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       9/8/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.62
       9/8/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.43
       9/8/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       9/8/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
       9/8/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
       9/8/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
       9/8/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        116.18
       9/8/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        433.45
       9/8/2018    709   JR0099   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        250.31
       9/8/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       9/8/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
       9/8/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 217036 Truck Lease            278.76
       9/8/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
       9/8/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
       9/8/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
       9/8/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
       9/8/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
       9/8/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       9/8/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        488.27
       9/8/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        298.32
       9/8/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        452.56
       9/8/2018    709   JS0265   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax          -307.84
       9/8/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          2.51
       9/8/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       9/8/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
       9/8/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
       9/8/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       9/8/2018    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
       9/8/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
       9/8/2018    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-15         -14.4
       9/8/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250

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       9/8/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/8/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/8/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/8/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/8/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.36
       9/8/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.49
       9/8/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.04
       9/8/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.22
       9/8/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           145
       9/8/2018    709   KP0004   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            707.14
       9/8/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
       9/8/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       9/8/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/8/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       9/8/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
       9/8/2018    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
       9/8/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       9/8/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/8/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         580.49
       9/8/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.01
       9/8/2018    709   KT0055   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            169.26
       9/8/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
       9/8/2018    709   KT0055   Owner Operator   Tire Fee                       Tire Fee: 2171057                          8
       9/8/2018    709   KT0055   Owner Operator   Tire Purchase                  PO: 709-00380070 - PO System          191.82
       9/8/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 217044 Q13156 Lease            388.16
       9/8/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       9/8/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       9/8/2018    709   LL0160   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            410.05
       9/8/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       9/8/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 217027 Lease Q1111             252.11
       9/8/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       9/8/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       9/8/2018    709   LS0023   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            298.09
       9/8/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
       9/8/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
       9/8/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/8/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       9/8/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.92
       9/8/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.56
       9/8/2018    709   MA0092   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             41.38
       9/8/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       9/8/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       9/8/2018    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       9/8/2018    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/8/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          70.94
       9/8/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.7
       9/8/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.19
       9/8/2018    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
       9/8/2018    709   MD0122   Owner Operator   Repair Order                   CTMS - 217009 REPAIR                  373.29
       9/8/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       9/8/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       9/8/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.2
       9/8/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.19
       9/8/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       9/8/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 217047 Q1113 Lease             252.11
       9/8/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       9/8/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       9/8/2018    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-1           812.52
       9/8/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.12
       9/8/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.38
       9/8/2018    709   MG0067   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             -53.1
       9/8/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       9/8/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       9/8/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/8/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       9/8/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700

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       9/8/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
       9/8/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
       9/8/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.42
       9/8/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
       9/8/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       9/8/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       9/8/2018    709   MP0035   Owner Operator   Repair Order                   CTMS - 217041 REPAIR                  262.82
       9/8/2018    709   MP0035   Owner Operator   Tractor Charge                 15571 - 32904                         323.05
       9/8/2018    709   MP0035   Owner Operator   Tractor Charge                 crt wk 8/30-9/6 #15571                -646.1
       9/8/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                              42
       9/8/2018    709   NB0029   Owner Operator   Tractor Wash                   CTMS - 217169 Trailer wash 555           -42
       9/8/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       9/8/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       9/8/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            500
       9/8/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/8/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.29
       9/8/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          61.23
       9/8/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.15
       9/8/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       9/8/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       9/8/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       9/8/2018    709   NT9564   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            252.96
       9/8/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       9/8/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 217203 Truck 73130 Leas        196.65
       9/8/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       9/8/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       9/8/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.56
       9/8/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.59
       9/8/2018    709   RC0030   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            718.74
       9/8/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       9/8/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       9/8/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       9/8/2018    709   RC0089   Owner Operator   Permits1                       CUST:2018 - 32986                    -401.67
       9/8/2018    709   RC0089   Owner Operator   Permits1                       ID06:2018 - 32986                        -11
       9/8/2018    709   RC0089   Owner Operator   Permits1                       IL02:2018 - 32986                      -3.75
       9/8/2018    709   RC0089   Owner Operator   Permits1                       NM07:2018 - 32986                       -5.5
       9/8/2018    709   RC0089   Owner Operator   Permits1                       NY13:2016 - 32986                        -19
       9/8/2018    709   RC0089   Owner Operator   Permits1                       OR16:2018 - 32986                       -8.5
       9/8/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         267.36
       9/8/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         148.42
       9/8/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/8/2018    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
       9/8/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       9/8/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/8/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.16
       9/8/2018    709   RL0017   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            136.44
       9/8/2018    709   RL0017   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             40.69
       9/8/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
       9/8/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       9/8/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/8/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       9/8/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/8/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/8/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.85
       9/8/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.16
       9/8/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.03
       9/8/2018    709   RL0062   Owner Operator   Toll Charges                   32912 NTTA Plaza 10 - Irving            2.28
       9/8/2018    709   RL0062   Owner Operator   Toll Charges                   32912 NTTA Plaza 10 - Irving            2.28
       9/8/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       9/8/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       9/8/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/8/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.39
       9/8/2018    709   RL0180   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             60.95
       9/8/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
       9/8/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
       9/8/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       9/8/2018    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65

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       9/8/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       9/8/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       9/8/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       9/8/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.16
       9/8/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.84
       9/8/2018    709   RM0026   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             141.8
       9/8/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       9/8/2018    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       9/8/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       9/8/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       9/8/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          562.6
       9/8/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       9/8/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 217037 Q1202 Truck Leas        278.76
       9/8/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       9/8/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       9/8/2018    709   RR0123   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-15         -14.28
       9/8/2018    709   RR0123   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-15         -14.27
       9/8/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         596.97
       9/8/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.91
       9/8/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.49
       9/8/2018    709   RR0123   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax              38.3
       9/8/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       9/8/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       9/8/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 217046 Q1248                   311.97
       9/8/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/8/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/8/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/8/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/8/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.96
       9/8/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          347.1
       9/8/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.3
       9/8/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.93
       9/8/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.14
       9/8/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.73
       9/8/2018    709   SB0009   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            251.05
       9/8/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
       9/8/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       9/8/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       9/8/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       9/8/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.7
       9/8/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.97
       9/8/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.05
       9/8/2018    709   SB0103   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            422.67
       9/8/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       9/8/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       9/8/2018    709   SB0103   Owner Operator   Repair Order                   CTMS - 217041 REPAIRS                 252.49
       9/8/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 217033 Sub Lease               388.33
       9/8/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       9/8/2018    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
       9/8/2018    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
       9/8/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/8/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           559
       9/8/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         574.63
       9/8/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           554
       9/8/2018    709   SM0109   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            730.09
       9/8/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
       9/8/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
       9/8/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       9/8/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
       9/8/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       9/8/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       9/8/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/8/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/8/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.61
       9/8/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.97
       9/8/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.85
       9/8/2018    709   SN0019   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            156.16
       9/8/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       9/8/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       9/8/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       9/8/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       9/8/2018    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-1           460.75
       9/8/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.96
       9/8/2018    709   VB0015   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            -32.35
       9/8/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       9/8/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 217045 Tractor Sub leas        242.03
       9/8/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       9/8/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/8/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       9/8/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       9/8/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/8/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
       9/8/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            140
       9/8/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
       9/8/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
       9/8/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/8/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.64
       9/8/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.38
       9/8/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.93
       9/8/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.83
       9/8/2018    709   VJ0006   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            169.89
       9/8/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       9/8/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       9/8/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       9/8/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-1           406.26
       9/8/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       9/8/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       9/8/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       9/8/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.58
       9/8/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.12
       9/8/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.74
       9/8/2018    709   WH0087   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            137.96
       9/8/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       9/8/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 217047 Q1238 Lease             196.77
       9/8/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       9/8/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       9/8/2018    742   AP0047   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            213.41
       9/8/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       9/8/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       9/8/2018    742   AP0047   Owner Operator   Toll Charges                   32604 HCTRA Ship Channel Bridg             7
       9/8/2018    742   AP0047   Owner Operator   Toll Charges                   32604 OTA Will Rogers Turnpike           9.2
       9/8/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       9/8/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       9/8/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.36
       9/8/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.79
       9/8/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.82
       9/8/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.35
       9/8/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       9/8/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       9/8/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       9/8/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          526.3
       9/8/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.82
       9/8/2018    742   CT0085   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             22.77
       9/8/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
       9/8/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       9/8/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/8/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       9/8/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             16
       9/8/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           694
       9/8/2018    742   DA0067   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            421.62
       9/8/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       9/8/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/8/2018    742   DA0067   Owner Operator   Tire Fee                       Tire Fee: 2170066                         16

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       9/8/2018    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00380496 - PO System          411.19
       9/8/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       9/8/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       9/8/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/8/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
       9/8/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.08
       9/8/2018    742   DS0254   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            196.58
       9/8/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       9/8/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       9/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 DRJTBC I-78 Br                      20
       9/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Hardy North - Rich             5
       9/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Creek Turnpike Eastb           4.1
       9/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Turner Turnpike East         -1.55
       9/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Turner Turnpike East         18.05
       9/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Will Rogers Turnpike         18.05
       9/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 PTC Carlisle                     75.93
       9/8/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 216976 Trk 33487 Lease          434.2
       9/8/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   1.88
       9/8/2018    742   EA0039   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             -1.88
       9/8/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/8/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       9/8/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/8/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/8/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          498.6
       9/8/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.14
       9/8/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.24
       9/8/2018    742   EN0016   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            111.36
       9/8/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
       9/8/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       9/8/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/8/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       9/8/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       9/8/2018    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       9/8/2018    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/8/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           700
       9/8/2018    742   JH0148   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            158.83
       9/8/2018    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2018 - 34329                       100
       9/8/2018    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    742   JH0148   Owner Operator   Permits                        IL02:2018 - 34329                       3.75
       9/8/2018    742   JH0148   Owner Operator   Permits                        NM07:2018 - 34329                        5.5
       9/8/2018    742   JH0148   Owner Operator   Permits                        OR16:2018 - 34329                        8.5
       9/8/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       9/8/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/8/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
       9/8/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/8/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.96
       9/8/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.64
       9/8/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.82
       9/8/2018    742   JS0390   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             40.68
       9/8/2018    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2018 - 34327                       100
       9/8/2018    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    742   JS0390   Owner Operator   Permits                        NM07:2018 - 34327                        5.5
       9/8/2018    742   JS0390   Owner Operator   Permits                        OR16:2018 - 34327                        8.5
       9/8/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
       9/8/2018    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Sam Houston - NE M             7
       9/8/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       9/8/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           6.85
       9/8/2018    742   MS0230   Owner Operator   Advance                        NewHireEqp SL 402-095679               25.44
       9/8/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       9/8/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       9/8/2018    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-1            53.04
       9/8/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/8/2018    742   MS0230   Owner Operator   Fuel Card Advances             Cash Advance                            500
       9/8/2018    742   MS0230   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/8/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.18
       9/8/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.98
       9/8/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.34
       9/8/2018    742   MS0230   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             -5.21
       9/8/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       9/8/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5

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       9/8/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge                25
       9/8/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge                25
       9/8/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75
       9/8/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                           13
       9/8/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                           224.9
       9/8/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.92
       9/8/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.15
       9/8/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          288.34
       9/8/2018    742   NG0024   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             270.55
       9/8/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/8/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             100.79
       9/8/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            2.5
       9/8/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
       9/8/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                           13
       9/8/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                              50
       9/8/2018    742   OS0018   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax              767.7
       9/8/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/8/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    31.25
       9/8/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism            2.5
       9/8/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.56
       9/8/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       9/8/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
       9/8/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
       9/8/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/8/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       9/8/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          440.42
       9/8/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           398.8
       9/8/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.65
       9/8/2018    742   PC0012   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             111.79
       9/8/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                       33.64
       9/8/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.38
       9/8/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
       9/8/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             8.75
       9/8/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                          13
       9/8/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.05
       9/8/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           11.85
       9/8/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                            369
       9/8/2018    742   RN0054   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             226.98
       9/8/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/8/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             35.16
       9/8/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
       9/8/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157 OTA Turner Turnpike Wes          18.05
       9/8/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157 OTA Will Rogers Turnpik          18.05
       9/8/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 217036 Tractor Lease            353.28
       9/8/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       8.75
       9/8/2018    742   RS0342   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             276.35
       9/8/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/8/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                         2.2
       9/8/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
       9/8/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
       9/8/2018    742   SK0049   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          426.29
       9/8/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/8/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                        58.6
       9/8/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
       9/8/2018    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL              8.75
       9/8/2018    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL              8.75
       9/8/2018    742   TC0098   Owner Operator   Broker Pay Void/Reissue        ACH to repl 972770 & 972830           4254.45
       9/8/2018    742   TC0098   Owner Operator   Broker Pay Void/Reissue        cr Void Ck 972770                     -731.28
       9/8/2018    742   TC0098   Owner Operator   Broker Pay Void/Reissue        cr Void Ck 972830                    -3523.17
       9/8/2018    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                            8
       9/8/2018    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                              50
       9/8/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.21
       9/8/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          414.61
       9/8/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          393.88
       9/8/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          497.21
       9/8/2018    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/8/2018    742   TC0098   Owner Operator   Permits1                       ID06:2018 - 33489                          11
       9/8/2018    742   TC0098   Owner Operator   Permits1                       IL02:2018 - 33489                        3.75
       9/8/2018    742   TC0098   Owner Operator   Permits1                       NM07:2018 - 33489                         5.5
       9/8/2018    742   TC0098   Owner Operator   Permits1                       NY13:2016 - 33489                          19
       9/8/2018    742   TC0098   Owner Operator   Permits1                       OR16:2018 - 33489                         8.5
       9/8/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD              67.19
       9/8/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD              67.19

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       9/8/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       9/8/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       9/8/2018    742   TC0098   Owner Operator   Truck Payment                  CTMS - 217041 33489 Lease Paym        412.16
       9/8/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/8/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       9/8/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.43
       9/8/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          281.2
       9/8/2018    742   TH0130   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             22.04
       9/8/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/8/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       9/8/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      9/15/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      9/15/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      9/15/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      9/15/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      9/15/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      9/15/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      9/15/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.01
      9/15/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      9/15/2018    709   AR0064   Owner Operator   Toll Charges                   Q13147 ITRCC Elkhart East              22.59
      9/15/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 217439 Q13147 Lease            440.14
      9/15/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      9/15/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      9/15/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      9/15/2018    709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-22           -155
      9/15/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.87
      9/15/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.1
      9/15/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.05
      9/15/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.43
      9/15/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.62
      9/15/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.35
      9/15/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            150
      9/15/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.55
      9/15/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.52
      9/15/2018    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 176.91
      9/15/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      9/15/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 217406 Q13169 Sublease         352.68
      9/15/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      9/15/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      9/15/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      9/15/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      9/15/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      9/15/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      9/15/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      9/15/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.08
      9/15/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.86
      9/15/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.11
      9/15/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.3
      9/15/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      9/15/2018    709   CC0134   Owner Operator   T Chek Fee                     Towing Q13168                           73.5
      9/15/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 217047 Q13168 sub lease        352.68
      9/15/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 217315 Q13168 sub lease        352.68
      9/15/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/15/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      9/15/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/15/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/15/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/15/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/15/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.27
      9/15/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.39
      9/15/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      9/15/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      9/15/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/15/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      9/15/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      9/15/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      9/15/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.5

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      9/15/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      9/15/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      9/15/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      9/15/2018    709   CR0064   Owner Operator   Truck Payment                  CTMS - 217485 TRK RENTAL                100
      9/15/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      9/15/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      9/15/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      9/15/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      9/15/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.75
      9/15/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      9/15/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      9/15/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 217046 Q1201                   278.76
      9/15/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 217314 Q1201                   278.76
      9/15/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/15/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/15/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      9/15/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      9/15/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.48
      9/15/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.6
      9/15/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.15
      9/15/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.86
      9/15/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           335
      9/15/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.15
      9/15/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.44
      9/15/2018    709   DL0029   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             311.6
      9/15/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      9/15/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      9/15/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      9/15/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      9/15/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      9/15/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/15/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/15/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.99
      9/15/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.41
      9/15/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.51
      9/15/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.74
      9/15/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         347.41
      9/15/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      9/15/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      9/15/2018    709   DM0257   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-8             48.6
      9/15/2018    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.96
      9/15/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.41
      9/15/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.33
      9/15/2018    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      9/15/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      9/15/2018    709   DM0257   Owner Operator   Repair Order                   CTMS - 217485 REPAIR                    130
      9/15/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      9/15/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/15/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      9/15/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/15/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/15/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         736.66
      9/15/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      9/15/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      9/15/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      9/15/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      9/15/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      9/15/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         567.35
      9/15/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      9/15/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      9/15/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.39
      9/15/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      9/15/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      9/15/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/15/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/15/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/15/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/15/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/15/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         614.31
      9/15/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          414.6
      9/15/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           77.9
      9/15/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      9/15/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      9/15/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      9/15/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      9/15/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      9/15/2018    709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-22        -226.72
      9/15/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.73
      9/15/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.34
      9/15/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.28
      9/15/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      9/15/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      9/15/2018    709   EG0062   Owner Operator   Tire Purchase                  PO: 709-00378299 - PO System          218.78
      9/15/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      9/15/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      9/15/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      9/15/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.75
      9/15/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           201
      9/15/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.8
      9/15/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           175
      9/15/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      9/15/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      9/15/2018    709   EO0014   Owner Operator   Tire Fee                       Tire Fee: 2173284                          4
      9/15/2018    709   EO0014   Owner Operator   Tire Purchase                  PO: 709-00381372 - PO System          201.52
      9/15/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      9/15/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      9/15/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.84
      9/15/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.91
      9/15/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.78
      9/15/2018    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 741.87
      9/15/2018    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         350.95
      9/15/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      9/15/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 217453 truck lease 3304        434.29
      9/15/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/15/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      9/15/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/15/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/15/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.74
      9/15/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.79
      9/15/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.04
      9/15/2018    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/15/2018    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      9/15/2018    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.31
      9/15/2018    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2018 - 34330                       100
      9/15/2018    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      9/15/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      9/15/2018    709   GA0051   Owner Operator   Repair Order                   CTMS - 217508 REPAIR                   253.5
      9/15/2018    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00378129 - PO System          127.69
      9/15/2018    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      9/15/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      9/15/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      9/15/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.51
      9/15/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      9/15/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 217313 Lease                   252.11
      9/15/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      9/15/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      9/15/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      9/15/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/15/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          335.12
      9/15/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.14
      9/15/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.28
      9/15/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/15/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD              44.11
      9/15/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 217443 Q1109 Lease              302.85
      9/15/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             8.75
      9/15/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                           8
      9/15/2018    709   HC0023   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-22             -93
      9/15/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.01
      9/15/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.91
      9/15/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          470.58
      9/15/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/15/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             35.16
      9/15/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 217309 Q13170                   352.68
      9/15/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                  8.75
      9/15/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                           13
      9/15/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/15/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          404.73
      9/15/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          520.55
      9/15/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/15/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                  15.63
      9/15/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      9/15/2018    709   HG0027   Owner Operator   Charge back by affiliate       CTMS - 217367 Tank wash paid b           -215
      9/15/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                           13
      9/15/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                           506.3
      9/15/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                           399.9
      9/15/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          413.02
      9/15/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                           28.21
      9/15/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          355.87
      9/15/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/15/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       54.69
      9/15/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      9/15/2018    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                            8
      9/15/2018    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                             100
      9/15/2018    709   IA0007   Owner Operator   Fuel Card Advances             Cash Advance                               20
      9/15/2018    709   IA0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.2
      9/15/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.16
      9/15/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          590.67
      9/15/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          442.54
      9/15/2018    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/15/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    51.57
      9/15/2018    709   IA0007   Owner Operator   Truck Payment                  CTMS - 217485 TRUCK RENTAL                100
      9/15/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                     21.35
      9/15/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      9/15/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                            8
      9/15/2018    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-22            -100
      9/15/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          523.13
      9/15/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.33
      9/15/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                       33.64
      9/15/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/15/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.64
      9/15/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      9/15/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      9/15/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      9/15/2018    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-22        -3022.78
      9/15/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/15/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.94
      9/15/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/15/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    27.35
      9/15/2018    709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
      9/15/2018    709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                           13
      9/15/2018    709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                       42.19
      9/15/2018    709   JA0156   Owner Operator   T Chek Fee                     School Checks (Corp)                    50.94
      9/15/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                     13.98
      9/15/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
      9/15/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          13
      9/15/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                             400
      9/15/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                              300
      9/15/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                              200
      9/15/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/15/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3

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      9/15/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        485.11
      9/15/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        198.39
      9/15/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/15/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      9/15/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 217402 Q13197 Lease           276.63
      9/15/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      9/15/2018    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      9/15/2018    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/15/2018    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/15/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      9/15/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      9/15/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/15/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      9/15/2018    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                     -2000
      9/15/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      9/15/2018    709   JG0017   Owner Operator   Express Check                  T-Check Payment                        2000
      9/15/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/15/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      9/15/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        421.09
      9/15/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        607.56
      9/15/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                     33.64
      9/15/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/15/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      9/15/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      9/15/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/15/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      9/15/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/15/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/15/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/15/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      9/15/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.26
      9/15/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        598.57
      9/15/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          4.69
      9/15/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.23
      9/15/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        575.69
      9/15/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                     33.64
      9/15/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/15/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      9/15/2018    709   JG0072   Owner Operator   Tire Fee                       Tire Fee: 2172861                         4
      9/15/2018    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00380935 - PO System          85.56
      9/15/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      9/15/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      9/15/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      9/15/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/15/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.62
      9/15/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        353.89
      9/15/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        325.37
      9/15/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/15/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
      9/15/2018    709   JG0092   Owner Operator   Repair Order                   CTMS - 217484 REPAIR                    266
      9/15/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      9/15/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      9/15/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/15/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        252.04
      9/15/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/15/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      9/15/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      9/15/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      9/15/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        449.94
      9/15/2018    709   JR0099   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        249.52
      9/15/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/15/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      9/15/2018    709   JR0099   Owner Operator   Tire Fee                       Tire Fee: 2173193                        16
      9/15/2018    709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00380928 - PO System         206.68
      9/15/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 217263 Truck Lease            278.76
      9/15/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      9/15/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      9/15/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      9/15/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/15/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/15/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2

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      9/15/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.87
      9/15/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.14
      9/15/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.12
      9/15/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.58
      9/15/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      9/15/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      9/15/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      9/15/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/15/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      9/15/2018    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-8             14.4
      9/15/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/15/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.03
      9/15/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.54
      9/15/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.77
      9/15/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      9/15/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      9/15/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/15/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      9/15/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      9/15/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      9/15/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.71
      9/15/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.76
      9/15/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.64
      9/15/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.04
      9/15/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      9/15/2018    709   KT0055   Owner Operator   Tire Purchase                  PO: 709-00380070 - PO System          191.82
      9/15/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 217312 Q13156 Lease            388.16
      9/15/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      9/15/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      9/15/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      9/15/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 217253 Lease Q1111             252.11
      9/15/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      9/15/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      9/15/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/15/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/15/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         590.41
      9/15/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          391.4
      9/15/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.87
      9/15/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      9/15/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      9/15/2018    709   LS0023   Owner Operator   Tire Fee                       Tire Fee: 2173266                          4
      9/15/2018    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00378300 - PO System           95.62
      9/15/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/15/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      9/15/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.76
      9/15/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.94
      9/15/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.21
      9/15/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      9/15/2018    709   MA0092   Owner Operator   Truck Payment                  CTMS - 217486 TRK RENTAL                350
      9/15/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      9/15/2018    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      9/15/2018    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.46
      9/15/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.63
      9/15/2018    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      9/15/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      9/15/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      9/15/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.33
      9/15/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         615.09
      9/15/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      9/15/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 217316 Q1113 Lease             252.11

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      9/15/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/15/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      9/15/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.07
      9/15/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.16
      9/15/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      9/15/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/15/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/15/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      9/15/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            700
      9/15/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             160
      9/15/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      9/15/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                            468
      9/15/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      9/15/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      9/15/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      9/15/2018    709   MP0035   Owner Operator   Repair Order                   CTMS - 217312 REPAIR                  262.82
      9/15/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      9/15/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      9/15/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      9/15/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      9/15/2018    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
      9/15/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
      9/15/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
      9/15/2018    709   NB0029   Owner Operator   Express Check                  T-Check Payment                         2000
      9/15/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/15/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             158
      9/15/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/15/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/15/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/15/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/15/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/15/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/15/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/15/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.73
      9/15/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.12
      9/15/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.79
      9/15/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.32
      9/15/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.63
      9/15/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.75
      9/15/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.11
      9/15/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.23
      9/15/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.42
      9/15/2018    709   NB0029   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            206.31
      9/15/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      9/15/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      9/15/2018    709   NB0029   Owner Operator   Tire Fee                       Tire Fee: 2171047                          4
      9/15/2018    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00379236 - PO System           97.88
      9/15/2018    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00379236 - PO System           97.88
      9/15/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Creek Turnpike Westb           2.9
      9/15/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Muskogee Turnpike So          1.65
      9/15/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Muskogee Turnpike So           4.5
      9/15/2018    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      9/15/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      9/15/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      9/15/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/15/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/15/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.33
      9/15/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.3
      9/15/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      9/15/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      9/15/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      9/15/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      9/15/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 217509 Truck 73130 Leas        196.65
      9/15/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75

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      9/15/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      9/15/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         608.63
      9/15/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      9/15/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      9/15/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/15/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      9/15/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/15/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          667.2
      9/15/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      9/15/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      9/15/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/15/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      9/15/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/15/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/15/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      9/15/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      9/15/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/15/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/15/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           3.35
      9/15/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.97
      9/15/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.35
      9/15/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.74
      9/15/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.22
      9/15/2018    709   RL0062   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            291.98
      9/15/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      9/15/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      9/15/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      9/15/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      9/15/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      9/15/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      9/15/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      9/15/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      9/15/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/15/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.28
      9/15/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                             40
      9/15/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.29
      9/15/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      9/15/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      9/15/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      9/15/2018    709   RL0180   Owner Operator   Repair Order                   CTMS - 217485 REPAIR                  265.96
      9/15/2018    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      9/15/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      9/15/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      9/15/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      9/15/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.31
      9/15/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.6
      9/15/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.33
      9/15/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      9/15/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      9/15/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      9/15/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.13
      9/15/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      9/15/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 217263 Q1202 Truck Leas        278.76
      9/15/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      9/15/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      9/15/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      9/15/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      9/15/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/15/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/15/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/15/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/15/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.17
      9/15/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.61
      9/15/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.8

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      9/15/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.41
      9/15/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.51
      9/15/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      9/15/2018    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      9/15/2018    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      9/15/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      9/15/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      9/15/2018    709   SB0009   Owner Operator   Repair Order                   CTMS - 217180 REPAIR                      70
      9/15/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      9/15/2018    709   SB0009   Owner Operator   Truck Payment                  CTMS - 217180 TRUCK RENTAL              500
      9/15/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      9/15/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      9/15/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.57
      9/15/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.11
      9/15/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.14
      9/15/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          418.7
      9/15/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      9/15/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      9/15/2018    709   SB0103   Owner Operator   Repair Order                   CTMS - 217313 REPAIRS                 252.49
      9/15/2018    709   SB0103   Owner Operator   Tire Fee                       Tire Fee: 2173278                         16
      9/15/2018    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00381540 - PO System          340.34
      9/15/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 217260 Sub Lease               388.33
      9/15/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      9/15/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           570
      9/15/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      9/15/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                         299.53
      9/15/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      9/15/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      9/15/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      9/15/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.01
      9/15/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.54
      9/15/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.37
      9/15/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.34
      9/15/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      9/15/2018    709   SN0019   Owner Operator   Tire Fee                       Tire Fee: 2172832                          8
      9/15/2018    709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00380939 - PO System          223.17
      9/15/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      9/15/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      9/15/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      9/15/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 217313 Tractor Sub leas        242.03
      9/15/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      9/15/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/15/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      9/15/2018    709   VJ0006   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-22         -75.02
      9/15/2018    709   VJ0006   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-22        -495.44
      9/15/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/15/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.78
      9/15/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.87
      9/15/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.05
      9/15/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.63
      9/15/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.71
      9/15/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      9/15/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      9/15/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      9/15/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-22         -75.63
      9/15/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      9/15/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5

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      9/15/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      9/15/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      9/15/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      9/15/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/15/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/15/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.03
      9/15/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.84
      9/15/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.81
      9/15/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      9/15/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 217047 Q1238 Lease              115.2
      9/15/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 217315 Q1238 Lease             311.97
      9/15/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      9/15/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      9/15/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.83
      9/15/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.33
      9/15/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.13
      9/15/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.27
      9/15/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.17
      9/15/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.39
      9/15/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      9/15/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      9/15/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/15/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/15/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      9/15/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      9/15/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/15/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/15/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.43
      9/15/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.91
      9/15/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.26
      9/15/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.88
      9/15/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         691.46
      9/15/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.13
      9/15/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          106.1
      9/15/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase Credit                 -170.26
      9/15/2018    742   BS0078   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            110.38
      9/15/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      9/15/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      9/15/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/15/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/15/2018    742   BS0078   Owner Operator   Toll Charges                   33471 FBPK GP1 RIVERPARK TRIP           9.12
      9/15/2018    742   BS0078   Owner Operator   Toll Charges                   33471 NTTA Dallas North Tollwa            11
      9/15/2018    742   BS0078   Owner Operator   Toll Charges                   33471 NTTA Luna Road TEXpress           15.8
      9/15/2018    742   BS0078   Owner Operator   Toll Charges                   33471 NTTA Plaza 10 - Irving            2.28
      9/15/2018    742   BS0078   Owner Operator   Toll Charges                   33471 TXTAG GRDPKY Spencer Mai          8.24
      9/15/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      9/15/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      9/15/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.28
      9/15/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.37
      9/15/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      9/15/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/15/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      9/15/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
      9/15/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                              6
      9/15/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      9/15/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/15/2018    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00380496 - PO System          411.19
      9/15/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                        0.61
      9/15/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      9/15/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      9/15/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13

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      9/15/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         605.28
      9/15/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.81
      9/15/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.37
      9/15/2018    742   DC0117   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            360.26
      9/15/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      9/15/2018    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 217527 Exterior Tank Wa         -86.5
      9/15/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      9/15/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/15/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/15/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.76
      9/15/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.06
      9/15/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                           513
      9/15/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      9/15/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      9/15/2018    742   DS0254   Owner Operator   T Chek Fee                     ExpressCheck Fee                         2.4
      9/15/2018    742   DS0254   Owner Operator   T Chek Fee                     Tractor Repair 33487                    240
      9/15/2018    742   DS0254   Owner Operator   Toll Charges                   33487 MdTA Fort McHenry Tunnel            24
      9/15/2018    742   DS0254   Owner Operator   Toll Charges                   33487 NJTP PA Turnpike/Florenc          10.5
      9/15/2018    742   DS0254   Owner Operator   Toll Charges                   33487 PTC Bensalem                     58.67
      9/15/2018    742   DS0254   Owner Operator   Toll Charges                   33487 PTC Street Road Slip Ram         70.99
      9/15/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 217197 Trk 33487 Lease          434.2
      9/15/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 217502 Trk 33487 Lease          434.2
      9/15/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   6.87
      9/15/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/15/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      9/15/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      9/15/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.07
      9/15/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.07
      9/15/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      9/15/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      9/15/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/15/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/15/2018    742   EA0039   Owner Operator   Repair Order                   CTMS - 217339 Reimburse repair       -204.53
      9/15/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/15/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/15/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/15/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/15/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/15/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/15/2018    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      9/15/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/15/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/15/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/15/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/15/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/15/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/15/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.85
      9/15/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          384.2
      9/15/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.75
      9/15/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.82
      9/15/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          171.5
      9/15/2018    742   ED0041   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            243.52
      9/15/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      9/15/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      9/15/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      9/15/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      9/15/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      9/15/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      9/15/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5

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      9/15/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/15/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/15/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/15/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/15/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/15/2018    742   ED0041   Owner Operator   Toll Charges                   32897 NTTA Denton Highway West           3.6
      9/15/2018    742   ED0041   Owner Operator   Toll Charges                   32897 NTTA I-820 East TEXpress            14
      9/15/2018    742   ED0041   Owner Operator   Toll Charges                   32897 OTA Turner Turnpike East          4.11
      9/15/2018    742   ED0041   Owner Operator   Toll Charges                   32897 OTA Will Rogers Turnpike         18.05
      9/15/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/15/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      9/15/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/15/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/15/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.51
      9/15/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.89
      9/15/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.95
      9/15/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.56
      9/15/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.76
      9/15/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      9/15/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      9/15/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/15/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      9/15/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      9/15/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      9/15/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      9/15/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      9/15/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      9/15/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      9/15/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      9/15/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      9/15/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      9/15/2018    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      9/15/2018    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         630.01
      9/15/2018    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2018 - 34329                       100
      9/15/2018    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      9/15/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/15/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      9/15/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.64
      9/15/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                           391
      9/15/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                           37.7
      9/15/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.87
      9/15/2018    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2018 - 34327                       100
      9/15/2018    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      9/15/2018    742   JS0390   Owner Operator   Toll Charges                   34327 BATA Carquinez Bridge               25
      9/15/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/15/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      9/15/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      9/15/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          40.65
      9/15/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      9/15/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      9/15/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/15/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/15/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      9/15/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      9/15/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.42
      9/15/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.38
      9/15/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.57
      9/15/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.39
      9/15/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      9/15/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      9/15/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      9/15/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      9/15/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25

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      9/15/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      9/15/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      9/15/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      9/15/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.25
      9/15/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.17
      9/15/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.33
      9/15/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.88
      9/15/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      9/15/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      9/15/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/15/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      9/15/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      9/15/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      9/15/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      9/15/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      9/15/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      9/15/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      9/15/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/15/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/15/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.15
      9/15/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.74
      9/15/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.66
      9/15/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.98
      9/15/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          161.5
      9/15/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          185.4
      9/15/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.99
      9/15/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.44
      9/15/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.97
      9/15/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.37
      9/15/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.68
      9/15/2018    742   RF0136   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             36.81
      9/15/2018    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2018 - 34182                      49.19
      9/15/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      9/15/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      9/15/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      9/15/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      9/15/2018    742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-22         -23.32
      9/15/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.13
      9/15/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.93
      9/15/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.88
      9/15/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.07
      9/15/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      9/15/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      9/15/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 217263 Tractor Lease           353.28
      9/15/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      9/15/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      9/15/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      9/15/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          34.02
      9/15/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.01
      9/15/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.01
      9/15/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      9/15/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     141.01
      9/15/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      9/15/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      9/15/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Hardy North - Barr             7
      9/15/2018    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Hardy South - Barr             7

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      9/15/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      9/15/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      9/15/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      9/15/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      9/15/2018    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      9/15/2018    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      9/15/2018    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      9/15/2018    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/15/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          414.6
      9/15/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.73
      9/15/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          443.1
      9/15/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.05
      9/15/2018    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
      9/15/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      9/15/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      9/15/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      9/15/2018    742   TC0098   Owner Operator   Truck Payment                  CTMS - 217312 33489 Lease Paym        412.16
      9/15/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/15/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      9/15/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.26
      9/15/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.87
      9/15/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      9/15/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      9/15/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      9/15/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      9/15/2018    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      9/15/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      9/15/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      9/15/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           62.6
      9/15/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.33
      9/15/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          542.2
      9/15/2018    843   EI0003   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax            388.76
      9/15/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/15/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      9/15/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      9/15/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      9/15/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      9/15/2018    843   EI0003   Owner Operator   Repair Order                   TRACTOR 33949                             65
      9/22/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      9/22/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      9/22/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.37
      9/22/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      9/22/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      9/22/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      9/22/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      9/22/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.25
      9/22/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.01
      9/22/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.81
      9/22/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           215
      9/22/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         623.13
      9/22/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      9/22/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      9/22/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      9/22/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      9/22/2018    709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-15            155
      9/22/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.63
      9/22/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.75
      9/22/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          133.8
      9/22/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.86
      9/22/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.53
      9/22/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.05
      9/22/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.39
      9/22/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.08
      9/22/2018    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 260.96
      9/22/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      9/22/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75

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      9/22/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
      9/22/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/22/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.11
      9/22/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
      9/22/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
      9/22/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
      9/22/2018    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             500
      9/22/2018    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      9/22/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          519.47
      9/22/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.94
      9/22/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.51
      9/22/2018    709   CC0134   Owner Operator   Loan Repayment                 EFS 200067                          -10950.87
      9/22/2018    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          345.02
      9/22/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/22/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.15
      9/22/2018    709   CC0134   Owner Operator   T Chek Fee                     ExpressCheck Fee                       108.42
      9/22/2018    709   CC0134   Owner Operator   T Chek Fee                     Tractor Repair Q13168                10842.45
      9/22/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      9/22/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
      9/22/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/22/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/22/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          531.84
      9/22/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          572.75
      9/22/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                       33.64
      9/22/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/22/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.93
      9/22/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      9/22/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
      9/22/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      9/22/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                           13
      9/22/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          487.41
      9/22/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.63
      9/22/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.36
      9/22/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.64
      9/22/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                       33.64
      9/22/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/22/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       39.04
      9/22/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                          244.46
      9/22/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL              8.75
      9/22/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                            8
      9/22/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          469.78
      9/22/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          274.43
      9/22/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/22/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD              65.07
      9/22/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 217609 Q1201                    278.76
      9/22/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      9/22/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      9/22/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          413.23
      9/22/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          378.63
      9/22/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          285.24
      9/22/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment          251.92
      9/22/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/22/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.19
      9/22/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      9/22/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      9/22/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      9/22/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          646.57
      9/22/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          527.19
      9/22/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          359.31
      9/22/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          352.59
      9/22/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment            5.18
      9/22/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/22/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 65.69
      9/22/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 217405 Sublease                 338.99
      9/22/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      9/22/2018    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/22/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.24
      9/22/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          231.43
      9/22/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          321.27
      9/22/2018    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/22/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    18.75
      9/22/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      9/22/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                     18.36

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      9/22/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/22/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      9/22/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/22/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/22/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.69
      9/22/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         683.61
      9/22/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      9/22/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      9/22/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      9/22/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      9/22/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      9/22/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         626.41
      9/22/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      9/22/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      9/22/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/22/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      9/22/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      9/22/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      9/22/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      9/22/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      9/22/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      9/22/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      9/22/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      9/22/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      9/22/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      9/22/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      9/22/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      9/22/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.28
      9/22/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.63
      9/22/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.07
      9/22/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.68
      9/22/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.43
      9/22/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.36
      9/22/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.74
      9/22/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/22/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      9/22/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/22/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/22/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/22/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/22/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/22/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         669.03
      9/22/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.58
      9/22/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.24
      9/22/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      9/22/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      9/22/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      9/22/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      9/22/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      9/22/2018    709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-15          226.72
      9/22/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.94
      9/22/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.36
      9/22/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.43
      9/22/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.68
      9/22/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      9/22/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      9/22/2018    709   EG0062   Owner Operator   Tire Purchase                  PO: 709-00378299 - PO System          218.78
      9/22/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      9/22/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      9/22/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.78
      9/22/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.04
      9/22/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.73
      9/22/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      9/22/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      9/22/2018    709   EO0014   Owner Operator   Tire Purchase                  PO: 709-00381372 - PO System          201.52
      9/22/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      9/22/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      9/22/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.04

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      9/22/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.97
      9/22/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.96
      9/22/2018    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 625.69
      9/22/2018    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         350.95
      9/22/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      9/22/2018    709   FS0039   Owner Operator   Repair Order                   CTMS - 217774 REPAIR                  181.16
      9/22/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 217773 TRK RENTAL                180
      9/22/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/22/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      9/22/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.15
      9/22/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.19
      9/22/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.67
      9/22/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   82.01
      9/22/2018    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/22/2018    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      9/22/2018    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/22/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.23
      9/22/2018    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2018 - 34330                       100
      9/22/2018    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      9/22/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      9/22/2018    709   GA0051   Owner Operator   Repair Order                   CTMS - 217747 REPAIR                   253.5
      9/22/2018    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00378129 - PO System          127.69
      9/22/2018    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      9/22/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      9/22/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      9/22/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.41
      9/22/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      9/22/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 217608 Lease                   252.11
      9/22/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      9/22/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      9/22/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/22/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/22/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/22/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/22/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.64
      9/22/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.37
      9/22/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.92
      9/22/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      9/22/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      9/22/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      9/22/2018    709   HC0023   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-15              93
      9/22/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.42
      9/22/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.16
      9/22/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.93
      9/22/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      9/22/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      9/22/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      9/22/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/22/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/22/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/22/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.36
      9/22/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.71
      9/22/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      9/22/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      9/22/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      9/22/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.12
      9/22/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.52
      9/22/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.18
      9/22/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      9/22/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/22/2018    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      9/22/2018    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/22/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.63
      9/22/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.97
      9/22/2018    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      9/22/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      9/22/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      9/22/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/22/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      9/22/2018    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-15            100
      9/22/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.34
      9/22/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.85
      9/22/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      9/22/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      9/22/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/22/2018    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-15         1157.48
      9/22/2018    709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      9/22/2018    709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                          13
      9/22/2018    709   JA0156   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/22/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/22/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/22/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/22/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/22/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                          404.8
      9/22/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.82
      9/22/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.92
      9/22/2018    709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      42.19
      9/22/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      9/22/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      9/22/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      9/22/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         247.45
      9/22/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/22/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/22/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.48
      9/22/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.11
      9/22/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.92
      9/22/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      9/22/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      9/22/2018    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      9/22/2018    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/22/2018    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      9/22/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      9/22/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/22/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      9/22/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      9/22/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/22/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/22/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           556
      9/22/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         610.02
      9/22/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      9/22/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      9/22/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      9/22/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/22/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      9/22/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/22/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/22/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.46
      9/22/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.33
      9/22/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         622.77
      9/22/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      9/22/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      9/22/2018    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00380935 - PO System           85.56
      9/22/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      9/22/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/22/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      9/22/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          435.4
      9/22/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      9/22/2018    709   JG0092   Owner Operator   Repair Order                   CTMS - 217678 REPAIR                    266
      9/22/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      9/22/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      9/22/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-29          -15.6
      9/22/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      9/22/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/22/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.24
      9/22/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      9/22/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      9/22/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      9/22/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      9/22/2018    709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00380928 - PO System          206.68
      9/22/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 217562 Truck Lease             278.76
      9/22/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      9/22/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      9/22/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      9/22/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/22/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/22/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/22/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/22/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/22/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.11
      9/22/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         611.26
      9/22/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.45
      9/22/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      9/22/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      9/22/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      9/22/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/22/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      9/22/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/22/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/22/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/22/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/22/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/22/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.05
      9/22/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          224.6
      9/22/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           427
      9/22/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.01
      9/22/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.01
      9/22/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.96
      9/22/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      9/22/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      9/22/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/22/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      9/22/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      9/22/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      9/22/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/22/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.3
      9/22/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.78
      9/22/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.08
      9/22/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      9/22/2018    709   KT0055   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.29
      9/22/2018    709   KT0055   Owner Operator   T Chek Fee                     Tractor Repair Q13156                 428.88
      9/22/2018    709   KT0055   Owner Operator   Tire Purchase                  PO: 709-00380070 - PO System          191.82
      9/22/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      9/22/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      9/22/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      9/22/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 217550 Lease Q1111             252.11
      9/22/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      9/22/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      9/22/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/22/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/22/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/22/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/22/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.17
      9/22/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.24
      9/22/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.35
      9/22/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      9/22/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      9/22/2018    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00378300 - PO System           95.62
      9/22/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/22/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8

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      9/22/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.83
      9/22/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.93
      9/22/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.76
      9/22/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.36
      9/22/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      9/22/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      9/22/2018    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      9/22/2018    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/22/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.13
      9/22/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.36
      9/22/2018    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      9/22/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      9/22/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      9/22/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.91
      9/22/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      9/22/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 217610 Q1113 Lease             252.11
      9/22/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/22/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      9/22/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.58
      9/22/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      9/22/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/22/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/22/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      9/22/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      9/22/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/22/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/22/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          487.1
      9/22/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      9/22/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      9/22/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      9/22/2018    709   MP0035   Owner Operator   Repair Order                   CTMS - 217604 REPAIR                  262.82
      9/22/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      9/22/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      9/22/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      9/22/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.32
      9/22/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          325.1
      9/22/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.97
      9/22/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      9/22/2018    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00379236 - PO System           97.88
      9/22/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 HCTRA Sam Houston - Redd             4
      9/22/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 HCTRA Ship Channel Bridg             7
      9/22/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      9/22/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      9/22/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/22/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/22/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.84
      9/22/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          67.15
      9/22/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.38
      9/22/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      9/22/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      9/22/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      9/22/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      9/22/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 217748 Truck 73130 Leas        196.65
      9/22/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      9/22/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      9/22/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.05
      9/22/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.27
      9/22/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      9/22/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      9/22/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/22/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      9/22/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/22/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         651.96
      9/22/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64

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      9/22/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      9/22/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/22/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      9/22/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/22/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      9/22/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/22/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/22/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.16
      9/22/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         624.72
      9/22/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.8
      9/22/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.06
      9/22/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      9/22/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      9/22/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      9/22/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      9/22/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      9/22/2018    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 9-29         -130.2
      9/22/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/22/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.32
      9/22/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.6
      9/22/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           7.69
      9/22/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.07
      9/22/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      9/22/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      9/22/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      9/22/2018    709   RL0180   Owner Operator   Repair Order                   CTMS - 217678 REPAIR                  265.96
      9/22/2018    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      9/22/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      9/22/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      9/22/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      9/22/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.49
      9/22/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.52
      9/22/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      9/22/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      9/22/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      9/22/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.78
      9/22/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.68
      9/22/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      9/22/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 217562 Q1202 Truck Leas        278.76
      9/22/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 217624 TRUCK RENTAL              100
      9/22/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      9/22/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      9/22/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      9/22/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      9/22/2018    709   RR0123   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-8            14.28
      9/22/2018    709   RR0123   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-8            14.27
      9/22/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/22/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/22/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/22/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/22/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.92
      9/22/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.1
      9/22/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.24
      9/22/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.14
      9/22/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.81
      9/22/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.95
      9/22/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      9/22/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      9/22/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      9/22/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      9/22/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL Route 80 (West)             4.9
      9/22/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ITRCC Portage                    39.18
      9/22/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 OTC Westgate                        40
      9/22/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 PTC Toll 376 - East 30            4.74
      9/22/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 WVPEDTA Ghent North               5.87
      9/22/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 WVPEDTA North Beckley Ra          1.39

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      9/22/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 217314 Q1248                   311.97
      9/22/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      9/22/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          164.22
      9/22/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.08
      9/22/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.5
      9/22/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.21
      9/22/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.87
      9/22/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      9/22/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      9/22/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      9/22/2018    709   SB0103   Owner Operator   Accident Claim                 09/05/18 SB0103 Incident             1319.99
      9/22/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.87
      9/22/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      9/22/2018    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      9/22/2018    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      9/22/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/22/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/22/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          617.5
      9/22/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           371
      9/22/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.79
      9/22/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.84
      9/22/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      9/22/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      9/22/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      9/22/2018    709   SM0109   Owner Operator   Toll Charges                   33195 ILTOLL I-57/147th St (Il           4.9
      9/22/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                         169.07
      9/22/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      9/22/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      9/22/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      9/22/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      9/22/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/22/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/22/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/22/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/22/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/22/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/22/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.31
      9/22/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.14
      9/22/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.35
      9/22/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.58
      9/22/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.58
      9/22/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.24
      9/22/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      9/22/2018    709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00380939 - PO System          223.17
      9/22/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      9/22/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      9/22/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.94
      9/22/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      9/22/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 217607 Tractor Sub leas        242.03
      9/22/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      9/22/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/22/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      9/22/2018    709   VJ0006   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-15           75.02
      9/22/2018    709   VJ0006   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-15          495.44
      9/22/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/22/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/22/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/22/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.31
      9/22/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.05
      9/22/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          398.3
      9/22/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      9/22/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      9/22/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      9/22/2018    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-15           75.63
      9/22/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      9/22/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      9/22/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75

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      9/22/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      9/22/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/22/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/22/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.75
      9/22/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.11
      9/22/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.93
      9/22/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.28
      9/22/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      9/22/2018    709   WH0087   Owner Operator   Repair Order                   CTMS - 217624 REPAIR                  200.95
      9/22/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      9/22/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      9/22/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/22/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/22/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/22/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/22/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/22/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/22/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          443.8
      9/22/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.32
      9/22/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.36
      9/22/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.2
      9/22/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.47
      9/22/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      9/22/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      9/22/2018    742   AP0047   Owner Operator   Toll Charges                   32604 OTA Will Rogers Turnpike          8.75
      9/22/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      9/22/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      9/22/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.88
      9/22/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.78
      9/22/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           229
      9/22/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.58
      9/22/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.68
      9/22/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      9/22/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      9/22/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      9/22/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      9/22/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      9/22/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.06
      9/22/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.28
      9/22/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.83
      9/22/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      9/22/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      9/22/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      9/22/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      9/22/2018    742   CT0085   Owner Operator   Truck Payment                  CTMS - 217089 Sub Lease Q13171        352.68
      9/22/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/22/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      9/22/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      9/22/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.08
      9/22/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          158.1
      9/22/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.72
      9/22/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.33
      9/22/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.2
      9/22/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      9/22/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/22/2018    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00380496 - PO System          411.19
      9/22/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      9/22/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/22/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.94
      9/22/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      9/22/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      9/22/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/22/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.62
      9/22/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.84
      9/22/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.66
      9/22/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76

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      9/22/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      9/22/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 217740 Trk 33487 Lease          434.2
      9/22/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/22/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      9/22/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.99
      9/22/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.33
      9/22/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      9/22/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/22/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/22/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/22/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.41
      9/22/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          194.3
      9/22/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.86
      9/22/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.85
      9/22/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.97
      9/22/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      9/22/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/22/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      9/22/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      9/22/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      9/22/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      9/22/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      9/22/2018    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      9/22/2018    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/22/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.78
      9/22/2018    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2018 - 34329                       100
      9/22/2018    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      9/22/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/22/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      9/22/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/22/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.07
      9/22/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.53
      9/22/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.93
      9/22/2018    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2018 - 34327                       100
      9/22/2018    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.18
      9/22/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      9/22/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      9/22/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/22/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.9
      9/22/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           79.4
      9/22/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.56
      9/22/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      9/22/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      9/22/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      9/22/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      9/22/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/22/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/22/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.1
      9/22/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         574.03
      9/22/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.95
      9/22/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.21
      9/22/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      9/22/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      9/22/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy North - Barr           3.5
      9/22/2018    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy South - Barr           3.5
      9/22/2018    742   NG0024   Owner Operator   Toll Charges                   33252 NTTA Arkansas Mainlane G           4.4
      9/22/2018    742   NG0024   Owner Operator   Toll Charges                   33252 NTTA Lower Tarrant Mainl          4.16
      9/22/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/22/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      9/22/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/22/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/22/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      9/22/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      9/22/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/22/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/22/2018    742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                    -874.51
      9/22/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64

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      9/22/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              104.35
      9/22/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              104.38
      9/22/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                     509.18
      9/22/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                     105.46
      9/22/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                  8.75
      9/22/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                      13
      9/22/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                         50
      9/22/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                     331.01
      9/22/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                     327.42
      9/22/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                     300.36
      9/22/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      9/22/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                  53.11
      9/22/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL        8.75
      9/22/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                     13
      9/22/2018    742   RN0054   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-15       23.32
      9/22/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                     486.59
      9/22/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                     338.05
      9/22/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      9/22/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD        35.15
      9/22/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te       2.5
      9/22/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 217562 Tractor Lease       353.28
      9/22/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                  8.75
      9/22/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                      13
      9/22/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                     178.51
      9/22/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                     532.24
      9/22/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                      30.54
      9/22/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                     196.99
      9/22/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      9/22/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                 143.18
      9/22/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism          2.5
      9/22/2018    742   RS0342   Owner Operator   Toll Charges                   33738 BATA Carquinez Bridge           25
      9/22/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                  8.75
      9/22/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                      13
      9/22/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      9/22/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                  58.58
      9/22/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism          2.5
      9/22/2018    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL         8.75
      9/22/2018    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                       8
      9/22/2018    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                         50
      9/22/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     356.84
      9/22/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     317.19
      9/22/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     326.09
      9/22/2018    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      9/22/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD         67.18
      9/22/2018    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter       2.5
      9/22/2018    742   TC0098   Owner Operator   Truck Payment                  CTMS - 217604 33489 Lease Paym    412.16
      9/22/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      9/22/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                       8
      9/22/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                     200.81
      9/22/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                     460.12
      9/22/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      9/22/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   37.5
      9/22/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism          2.5
      9/22/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                      8.75
      9/22/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                      13
      9/22/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     492.58
      9/22/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      9/22/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                      74.22
      9/22/2018    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism              2.5
      9/29/2018    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                 9.84
      9/29/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                     13
      9/29/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     495.88
      9/29/2018    709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS NORTH 12     10.08
      9/29/2018    709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS SOUTH 11     10.08
      9/29/2018    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                 9.84
      9/29/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                     13
      9/29/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                     467.55
      9/29/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                     366.65
      9/29/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                     293.82
      9/29/2018    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                 9.84
      9/29/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                      8
      9/29/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                      99.36
      9/29/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       99.2

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      9/29/2018    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                         270.5
      9/29/2018    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                         34.68
      9/29/2018    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                         99.23
      9/29/2018    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                         74.37
      9/29/2018    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                         49.25
      9/29/2018    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                         99.11
      9/29/2018    709   AV0021   Owner Operator   GARNISHMENT             GARNISHMENT 881047509                 62.75
      9/29/2018    709   BM0030   Owner Operator   Communication Charge    PNet Hware 34023                         13
      9/29/2018    709   CC0134   Owner Operator   Broker Pre Pass         DriveWyze TRKQ13168                    9.84
      9/29/2018    709   CC0134   Owner Operator   Communication Charge    PNet Hware Q13168                         8
      9/29/2018    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                        520.39
      9/29/2018    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                        445.98
      9/29/2018    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                        275.73
      9/29/2018    709   CC0134   Owner Operator   Loan Repayment          Loan # 00002 - Loan Repayment        345.02
      9/29/2018    709   CM0119   Owner Operator   Broker Pre Pass         DriveWyze TRK32920                     9.84
      9/29/2018    709   CM0119   Owner Operator   Communication Charge    PNet Hware 32920                         13
      9/29/2018    709   CM0119   Owner Operator   Fuel Card Advances      Cash Advance                           200
      9/29/2018    709   CM0119   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      9/29/2018    709   CM0119   Owner Operator   Fuel Purchase           Fuel Purchase                        446.85
      9/29/2018    709   CM0119   Owner Operator   Fuel Purchase           Fuel Purchase                        700.56
      9/29/2018    709   CM0119   Owner Operator   IRP License Deduction   LCIL:2018 - 32920                     33.64
      9/29/2018    709   CM0119   Owner Operator   Tractor Charge          14620 - 32920                        507.91
      9/29/2018    709   CR0064   Owner Operator   Accident Claim          09/20/18 CR0064 Incident              2000
      9/29/2018    709   CR0064   Owner Operator   Broker Pre Pass         DriveWyze TRK32864                     9.84
      9/29/2018    709   CR0064   Owner Operator   Communication Charge    PNet Hware 32864                         13
      9/29/2018    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                        322.89
      9/29/2018    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                        313.13
      9/29/2018    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                        217.03
      9/29/2018    709   CR0064   Owner Operator   IRP License Deduction   LCIL:2018 - 32864                     33.64
      9/29/2018    709   CR0064   Owner Operator   Tractor Charge          14267 - 32864                        244.46
      9/29/2018    709   CS0091   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1201                     9.84
      9/29/2018    709   CS0091   Owner Operator   Communication Charge    PNet Hware Q1201                          8
      9/29/2018    709   CS0091   Owner Operator   Fuel Purchase           Fuel Purchase                        455.67
      9/29/2018    709   CS0091   Owner Operator   Truck Payment           CTMS - 217860 Q1201                  278.76
      9/29/2018    709   DL0029   Owner Operator   Broker Pre Pass         DriveWyze TRK33850                     9.84
      9/29/2018    709   DL0029   Owner Operator   Communication Charge    PNet Hware 33850                          8
      9/29/2018    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                        424.41
      9/29/2018    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                        467.57
      9/29/2018    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                        421.44
      9/29/2018    709   DL0029   Owner Operator   Loan Repayment          Loan # 00012 - Loan Repayment        251.92
      9/29/2018    709   DL0107   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1245                     9.84
      9/29/2018    709   DL0107   Owner Operator   Communication Charge    PNet Hware Q1245                         13
      9/29/2018    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                        403.71
      9/29/2018    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                        340.96
      9/29/2018    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                        344.51
      9/29/2018    709   DL0107   Owner Operator   Loan Repayment          Loan # 00004 - Loan Repayment        352.59
      9/29/2018    709   DM0257   Owner Operator   ESCROW                  Weekly Escrow                            50
      9/29/2018    709   DM0257   Owner Operator   Fuel Purchase           Fuel Purchase                        262.63
      9/29/2018    709   DM0257   Owner Operator   Fuel Purchase           Fuel Purchase                         99.01
      9/29/2018    709   DM0257   Owner Operator   Fuel Purchase           Fuel Purchase                        197.27
      9/29/2018    709   DM0257   Owner Operator   Fuel Purchase           Fuel Purchase                        364.44
      9/29/2018    709   DM0257   Owner Operator   Fuel Purchase           Fuel Purchase                        292.88
      9/29/2018    709   DS0049   Owner Operator   Broker Pre Pass         DriveWyze TRK32915                     9.84
      9/29/2018    709   DS0049   Owner Operator   Communication Charge    PNet Hware 32915                         13
      9/29/2018    709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance                           500
      9/29/2018    709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance Fee                          5
      9/29/2018    709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                        745.27
      9/29/2018    709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                        285.69
      9/29/2018    709   DS0049   Owner Operator   IRP License Deduction   LCIL:2018 - 32915                     33.64
      9/29/2018    709   DS0049   Owner Operator   Toll Charges            32915 Richmond 3                         25
      9/29/2018    709   DS0049   Owner Operator   Toll Charges            32915 San Mateo 4                        25
      9/29/2018    709   DS0049   Owner Operator   Tractor Charge          15738 - 32915                        512.35
      9/29/2018    709   DS0225   Owner Operator   Communication Charge    PNet Hware 33320                          8
      9/29/2018    709   DS0225   Owner Operator   Fuel Purchase           Fuel Purchase                        585.98
      9/29/2018    709   DS0225   Owner Operator   Fuel Purchase           Fuel Purchase                         568.8
      9/29/2018    709   DS0288   Owner Operator   Broker Pre Pass         DriveWyze TRK34266                     9.84
      9/29/2018    709   DS0288   Owner Operator   Communication Charge    PNet Hware 34266                         13
      9/29/2018    709   DS0288   Owner Operator   ESCROW                  Weekly Escrow                            50
      9/29/2018    709   DS0288   Owner Operator   Fuel Card Advances      Cash Advance                             50
      9/29/2018    709   DS0288   Owner Operator   Fuel Card Advances      Cash Advance                             50
      9/29/2018    709   DS0288   Owner Operator   Fuel Card Advances      Cash Advance                             50
      9/29/2018    709   DS0288   Owner Operator   Fuel Card Advances      Cash Advance Fee                        0.5
      9/29/2018    709   DS0288   Owner Operator   Fuel Card Advances      Cash Advance Fee                        0.5

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      9/29/2018    709   DS0288   Owner Operator   Fuel Card Advances      Cash Advance Fee                        0.5
      9/29/2018    709   DS0288   Owner Operator   Fuel Purchase           Fuel Purchase                          90.5
      9/29/2018    709   DS0288   Owner Operator   Fuel Purchase           Fuel Purchase                        433.09
      9/29/2018    709   DS0288   Owner Operator   Fuel Purchase           Fuel Purchase                        190.54
      9/29/2018    709   DS0288   Owner Operator   Fuel Purchase           Fuel Purchase                        346.67
      9/29/2018    709   DS0288   Owner Operator   Fuel Purchase           Fuel Purchase                        375.92
      9/29/2018    709   EA0003   Owner Operator   Broker Pre Pass         DriveWyze TRK33051                     9.84
      9/29/2018    709   EA0003   Owner Operator   Communication Charge    PNet Hware 33051                         13
      9/29/2018    709   EA0003   Owner Operator   ESCROW                  Weekly Escrow                          250
      9/29/2018    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                           200
      9/29/2018    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                           200
      9/29/2018    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      9/29/2018    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      9/29/2018    709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                        445.05
      9/29/2018    709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                         26.17
      9/29/2018    709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                         571.3
      9/29/2018    709   EA0003   Owner Operator   IRP License Deduction   LCIL:2018 - 33051                     33.64
      9/29/2018    709   EA0003   Owner Operator   Tractor Charge          16439 - 33051                        555.56
      9/29/2018    709   EG0062   Owner Operator   Broker Pre Pass         DriveWyze TRK33828                     9.84
      9/29/2018    709   EG0062   Owner Operator   Communication Charge    PNet Hware 33828                          8
      9/29/2018    709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                        241.11
      9/29/2018    709   EG0062   Owner Operator   Tire Purchase           PO: 709-00378299 - PO System         218.72
      9/29/2018    709   EO0014   Owner Operator   Broker Pre Pass         DriveWyze TRK33846                     9.84
      9/29/2018    709   EO0014   Owner Operator   Communication Charge    PNet Hware 33846                         13
      9/29/2018    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                        438.86
      9/29/2018    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                          245
      9/29/2018    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                        436.86
      9/29/2018    709   EO0014   Owner Operator   Tire Purchase           PO: 709-00381372 - PO System         201.52
      9/29/2018    709   FS0039   Owner Operator   Broker Pre Pass         DriveWyze TRK33040                     9.84
      9/29/2018    709   FS0039   Owner Operator   Communication Charge    PNet Hware 33040                          8
      9/29/2018    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                        249.68
      9/29/2018    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                        381.38
      9/29/2018    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                        399.43
      9/29/2018    709   FS0039   Owner Operator   GARNISHMENT             GARNISHMENT 884610662               1135.27
      9/29/2018    709   FS0039   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment        350.95
      9/29/2018    709   FS0039   Owner Operator   Truck Payment           CTMS - 218023 TRK RENTAL               180
      9/29/2018    709   FV0001   Owner Operator   Broker Pre Pass         DriveWyze TRK21521B                    9.84
      9/29/2018    709   FV0001   Owner Operator   Communication Charge    PNet Hware 21521B                        13
      9/29/2018    709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                        285.13
      9/29/2018    709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                        515.63
      9/29/2018    709   GA0051   Owner Operator   Communication Charge    PNet Hware 34330                         13
      9/29/2018    709   GA0051   Owner Operator   ESCROW                  Weekly Escrow                            50
      9/29/2018    709   GA0051   Owner Operator   Fuel Purchase           Fuel Purchase                        297.62
      9/29/2018    709   GA0051   Owner Operator   Fuel Purchase           Fuel Purchase                         257.7
      9/29/2018    709   GA0051   Owner Operator   IRP License Deduction   LCIL:2018 - 34330                      100
      9/29/2018    709   GA0051   Owner Operator   Repair Order            CTMS - 218032 REPAIR                  253.5
      9/29/2018    709   GA0051   Owner Operator   Tire Purchase           PO: 709-00378129 - PO System         127.64
      9/29/2018    709   GA0051   Owner Operator   Tractor Charge          16488 - 34330                          277
      9/29/2018    709   GS0015   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1110                     9.84
      9/29/2018    709   GS0015   Owner Operator   Communication Charge    PNet Hware Q1110                         13
      9/29/2018    709   GS0015   Owner Operator   Fuel Purchase           Fuel Purchase                        356.85
      9/29/2018    709   GS0015   Owner Operator   Fuel Purchase           Fuel Purchase                        303.54
      9/29/2018    709   GS0015   Owner Operator   Truck Payment           CTMS - 217859 Lease                  252.11
      9/29/2018    709   GW0043   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1109                     9.84
      9/29/2018    709   GW0043   Owner Operator   Communication Charge    PNet Hware Q1109                          8
      9/29/2018    709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance                           200
      9/29/2018    709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      9/29/2018    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                        297.66
      9/29/2018    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                        351.19
      9/29/2018    709   HC0023   Owner Operator   Broker Pre Pass         DriveWyze TRKQ13170                    9.84
      9/29/2018    709   HC0023   Owner Operator   Communication Charge    PNet Hware Q13170                         8
      9/29/2018    709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                        421.01
      9/29/2018    709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                        398.52
      9/29/2018    709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                          6.92
      9/29/2018    709   HG0007   Owner Operator   Broker Pre Pass         DriveWyze TRK33180                     9.84
      9/29/2018    709   HG0007   Owner Operator   Communication Charge    PNet Hware 33180                         13
      9/29/2018    709   HG0007   Owner Operator   ESCROW                  Weekly Escrow                            50
      9/29/2018    709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance                           200
      9/29/2018    709   HG0007   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      9/29/2018    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                        528.91
      9/29/2018    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                        346.83
      9/29/2018    709   IA0007   Owner Operator   Broker Pre Pass         DriveWyze TRK34012                     9.84
      9/29/2018    709   IA0007   Owner Operator   Communication Charge    PNet Hware 34012                          8

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      9/29/2018    709   IA0007   Owner Operator   ESCROW                  Weekly Escrow                         100
      9/29/2018    709   IA0007   Owner Operator   Fuel Purchase           Fuel Purchase                       666.31
      9/29/2018    709   IA0007   Owner Operator   Fuel Purchase           Fuel Purchase                       158.86
      9/29/2018    709   IR0002   Owner Operator   Broker Pre Pass         DriveWyze TRK32901                    9.84
      9/29/2018    709   IR0002   Owner Operator   Communication Charge    PNet Hware 32901                         8
      9/29/2018    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                        388.7
      9/29/2018    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                       458.77
      9/29/2018    709   IR0002   Owner Operator   IRP License Deduction   LCIL:2018 - 32901                    33.64
      9/29/2018    709   JA0152   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 9-15           7.8
      9/29/2018    709   JA0156   Owner Operator   BOBTAIL INS.            2008 Peterbilt NTL                    8.75
      9/29/2018    709   JA0156   Owner Operator   Communication Charge    PNet Hware 34364                        13
      9/29/2018    709   JA0156   Owner Operator   ESCROW                  Weekly Escrow                           50
      9/29/2018    709   JA0156   Owner Operator   Fuel Card Advances      Cash Advance                          100
      9/29/2018    709   JA0156   Owner Operator   Fuel Card Advances      Cash Advance                          400
      9/29/2018    709   JA0156   Owner Operator   Fuel Card Advances      Cash Advance Fee                         4
      9/29/2018    709   JA0156   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      9/29/2018    709   JA0156   Owner Operator   Fuel Purchase           Fuel Purchase                       282.91
      9/29/2018    709   JA0156   Owner Operator   Fuel Purchase           Fuel Purchase                       244.15
      9/29/2018    709   JA0156   Owner Operator   Fuel Purchase           Fuel Purchase                       417.78
      9/29/2018    709   JA0156   Owner Operator   PHYSICAL DAMAGE         2008 Peterbilt PD                    42.18
      9/29/2018    709   JC0292   Owner Operator   Communication Charge    PNet Hware Q13197                       13
      9/29/2018    709   JC0292   Owner Operator   ESCROW                  Weekly Escrow                       152.55
      9/29/2018    709   JC0292   Owner Operator   ESCROW                  Weekly Escrow                         400
      9/29/2018    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                          200
      9/29/2018    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                          200
      9/29/2018    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                          100
      9/29/2018    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      9/29/2018    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      9/29/2018    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      9/29/2018    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                       419.85
      9/29/2018    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                       507.05
      9/29/2018    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                       243.98
      9/29/2018    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                       474.31
      9/29/2018    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                        420.8
      9/29/2018    709   JC0292   Owner Operator   Toll Charges            Q13197 Carquinez Bridge 12              25
      9/29/2018    709   JC0292   Owner Operator   Toll Charges            Q13197 WVPEDTA Chelyan                5.87
      9/29/2018    709   JC0292   Owner Operator   Toll Charges            Q13197 WVPEDTA Ghent South            5.87
      9/29/2018    709   JC0292   Owner Operator   Toll Charges            Q13197 WVPEDTA Pax                    5.87
      9/29/2018    709   JC0292   Owner Operator   Truck Payment           CTMS - 217640 Q13197 Lease          276.63
      9/29/2018    709   JC0292   Owner Operator   Truck Payment           CTMS - 217910 Q13197 Lease          276.63
      9/29/2018    709   JD0211   Owner Operator   Broker Pre Pass         DriveWyze TRK34325                   19.68
      9/29/2018    709   JD0211   Owner Operator   Communication Charge    PNet Hware 34325                         8
      9/29/2018    709   JD0211   Owner Operator   ESCROW                  Weekly Escrow                           50
      9/29/2018    709   JG0017   Owner Operator   Broker Pre Pass         DriveWyze TRK32908                    9.84
      9/29/2018    709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                        13
      9/29/2018    709   JG0017   Owner Operator   ESCROW                  Weekly Escrow                         500
      9/29/2018    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                          300
      9/29/2018    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                         3
      9/29/2018    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                        657.4
      9/29/2018    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                       618.82
      9/29/2018    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                       270.28
      9/29/2018    709   JG0017   Owner Operator   IRP License Deduction   LCIL:2018 - 32908                    33.64
      9/29/2018    709   JG0017   Owner Operator   Toll Charges            32908 Bay Bridge 18                     25
      9/29/2018    709   JG0017   Owner Operator   Tractor Charge          14298 - 32908                        504.6
      9/29/2018    709   JG0072   Owner Operator   Broker Pre Pass         DriveWyze TRK32909                    9.84
      9/29/2018    709   JG0072   Owner Operator   Communication Charge    PNet Hware 32909                        13
      9/29/2018    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                          300
      9/29/2018    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                          200
      9/29/2018    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                         3
      9/29/2018    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      9/29/2018    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                       626.15
      9/29/2018    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                       571.37
      9/29/2018    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                       151.39
      9/29/2018    709   JG0072   Owner Operator   IRP License Deduction   LCIL:2018 - 32909                    33.64
      9/29/2018    709   JG0072   Owner Operator   Tire Purchase           PO: 709-00380935 - PO System         85.56
      9/29/2018    709   JG0072   Owner Operator   Tractor Charge          14534 - 32909                       513.26
      9/29/2018    709   JG0092   Owner Operator   Broker Pre Pass         DriveWyze TRK33669                    9.84
      9/29/2018    709   JG0092   Owner Operator   Communication Charge    PNet Hware 33669                         8
      9/29/2018    709   JG0092   Owner Operator   Fuel Card Advances      Cash Advance                          100
      9/29/2018    709   JG0092   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      9/29/2018    709   JG0092   Owner Operator   Fuel Purchase           Fuel Purchase                       525.16
      9/29/2018    709   JG0092   Owner Operator   Fuel Purchase           Fuel Purchase                       411.18
      9/29/2018    709   JQ0015   Owner Operator   Broker Pre Pass         DriveWyze TRK33438                    9.84

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      9/29/2018    709   JQ0015   Owner Operator   Communication Charge    PNet Hware 33438                         13
      9/29/2018    709   JQ0015   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 9-22           15.6
      9/29/2018    709   JQ0015   Owner Operator   Fuel Card Advances      Cash Advance                           100
      9/29/2018    709   JQ0015   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
      9/29/2018    709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                        201.53
      9/29/2018    709   JR0099   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1203                     9.84
      9/29/2018    709   JR0099   Owner Operator   Communication Charge    PNet Hware Q1203                         13
      9/29/2018    709   JR0099   Owner Operator   Fuel Purchase           Fuel Purchase                        498.71
      9/29/2018    709   JR0099   Owner Operator   Tire Purchase           PO: 709-00380928 - PO System         206.68
      9/29/2018    709   JR0099   Owner Operator   Truck Payment           CTMS - 217808 Truck Lease            278.76
      9/29/2018    709   JS0265   Owner Operator   Broker Pre Pass         DriveWyze TRK33325                     9.84
      9/29/2018    709   JS0265   Owner Operator   Communication Charge    PNet Hware 33325                         13
      9/29/2018    709   JS0265   Owner Operator   ESCROW                  Weekly Escrow                          100
      9/29/2018    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                           200
      9/29/2018    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      9/29/2018    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                        216.41
      9/29/2018    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                        227.14
      9/29/2018    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                        261.58
      9/29/2018    709   KP0004   Owner Operator   Communication Charge    PNet Hware 32914                         13
      9/29/2018    709   KP0004   Owner Operator   ESCROW                  Weekly Escrow                          250
      9/29/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                           100
      9/29/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                           100
      9/29/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
      9/29/2018    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
      9/29/2018    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                        362.78
      9/29/2018    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                        138.22
      9/29/2018    709   KP0004   Owner Operator   IRP License Deduction   LCIL:2018 - 32914                     33.64
      9/29/2018    709   KP0004   Owner Operator   Tractor Charge          14457 - 32914                        519.59
      9/29/2018    709   KT0055   Owner Operator   Broker Pre Pass         DriveWyze TRKQ13156                    9.84
      9/29/2018    709   KT0055   Owner Operator   Communication Charge    PNet Hware Q13156                         8
      9/29/2018    709   KT0055   Owner Operator   ESCROW                  Weekly Escrow                            50
      9/29/2018    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                          321
      9/29/2018    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                        340.27
      9/29/2018    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                        442.92
      9/29/2018    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                        222.35
      9/29/2018    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                        364.52
      9/29/2018    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                        398.84
      9/29/2018    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                        196.77
      9/29/2018    709   KT0055   Owner Operator   Tire Purchase           PO: 709-00380070 - PO System         191.82
      9/29/2018    709   LL0160   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1111                     9.84
      9/29/2018    709   LL0160   Owner Operator   Communication Charge    PNet Hware Q1111                          8
      9/29/2018    709   LL0160   Owner Operator   Truck Payment           CTMS - 217798 Lease Q1111            252.11
      9/29/2018    709   LS0023   Owner Operator   Broker Pre Pass         DriveWyze TRK33655                     9.84
      9/29/2018    709   LS0023   Owner Operator   Communication Charge    PNet Hware 33655                         13
      9/29/2018    709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance                           200
      9/29/2018    709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      9/29/2018    709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                        699.29
      9/29/2018    709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                        743.18
      9/29/2018    709   LS0023   Owner Operator   Tire Purchase           PO: 709-00378300 - PO System          95.62
      9/29/2018    709   MA0092   Owner Operator   Broker Pre Pass         DriveWyze TRK34005                     9.84
      9/29/2018    709   MA0092   Owner Operator   Communication Charge    PNet Hware 34005                          8
      9/29/2018    709   MA0092   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 10-6       -182.16
      9/29/2018    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                        244.81
      9/29/2018    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                        475.32
      9/29/2018    709   MD0122   Owner Operator   Communication Charge    PNet Hware 34342                          8
      9/29/2018    709   MD0122   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 10-6       -130.94
      9/29/2018    709   MD0122   Owner Operator   ESCROW                  Weekly Escrow                            50
      9/29/2018    709   MD0122   Owner Operator   Fuel Purchase           Fuel Purchase                        316.81
      9/29/2018    709   MD0122   Owner Operator   Fuel Purchase           Fuel Purchase                        101.36
      9/29/2018    709   MD0122   Owner Operator   Fuel Purchase           Fuel Purchase                        200.53
      9/29/2018    709   ME0053   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1113                     9.84
      9/29/2018    709   ME0053   Owner Operator   Communication Charge    PNet Hware Q1113                          8
      9/29/2018    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                        512.89
      9/29/2018    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                        360.08
      9/29/2018    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                        390.88
      9/29/2018    709   ME0053   Owner Operator   Truck Payment           CTMS - 217862 Q1113 Lease            252.11
      9/29/2018    709   MG0067   Owner Operator   Communication Charge    PNet Hware 33435                          8
      9/29/2018    709   MP0035   Owner Operator   Broker Pre Pass         DriveWyze TRK32904                     9.84
      9/29/2018    709   MP0035   Owner Operator   Communication Charge    PNet Hware 32904                         13
      9/29/2018    709   MP0035   Owner Operator   ESCROW                  Weekly Escrow                          700
      9/29/2018    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance                           240
      9/29/2018    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2.4
      9/29/2018    709   MP0035   Owner Operator   Fuel Purchase           Fuel Purchase                        631.85

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      9/29/2018    709   MP0035   Owner Operator   Fuel Purchase           Fuel Purchase                          526.38
      9/29/2018    709   MP0035   Owner Operator   IRP License Deduction   LCIL:2018 - 32904                       33.64
      9/29/2018    709   MP0035   Owner Operator   Repair Order            CTMS - 217935 Q1105 Fuel              -631.85
      9/29/2018    709   NG0005   Owner Operator   Broker Pre Pass         DriveWyze TRK21412B                      9.84
      9/29/2018    709   NG0005   Owner Operator   Communication Charge    PNet Hware 21412B                          13
      9/29/2018    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance                             300
      9/29/2018    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance Fee                            3
      9/29/2018    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                          257.33
      9/29/2018    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                           83.65
      9/29/2018    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                           75.74
      9/29/2018    709   NT9564   Owner Operator   Broker Pre Pass         DriveWyze TRK73130                       9.84
      9/29/2018    709   NT9564   Owner Operator   Communication Charge    PNet Hware 73130                           13
      9/29/2018    709   NT9564   Owner Operator   Truck Payment           CTMS - 218034 Truck 73130 Leas         196.65
      9/29/2018    709   OJ0007   Owner Operator   Communication Charge    PNet Hware 34370                            8
      9/29/2018    709   OJ0007   Owner Operator   Communication Charge    PNet Hware 34370                            8
      9/29/2018    709   OJ0007   Owner Operator   ESCROW                  Weekly Escrow                              50
      9/29/2018    709   OJ0007   Owner Operator   Fuel Card Advances      Cash Advance                               50
      9/29/2018    709   OJ0007   Owner Operator   Fuel Card Advances      Cash Advance                             200
      9/29/2018    709   OJ0007   Owner Operator   Fuel Card Advances      Cash Advance Fee                            2
      9/29/2018    709   OJ0007   Owner Operator   Fuel Card Advances      Cash Advance Fee                          0.5
      9/29/2018    709   OJ0007   Owner Operator   Fuel Purchase           Fuel Purchase                            263
      9/29/2018    709   OJ0007   Owner Operator   Fuel Purchase           Fuel Purchase                          291.01
      9/29/2018    709   OJ0007   Owner Operator   Tractor Charge          24925 - 34370                          215.66
      9/29/2018    709   OJ0007   Owner Operator   Tractor Charge          24925 - 34370                          215.66
      9/29/2018    709   OJ0007   Owner Operator   Tractor Charge          dbt 4 wks #24925                       862.64
      9/29/2018    709   RC0030   Owner Operator   Communication Charge    PNet Hware 33676                            8
      9/29/2018    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                          397.71
      9/29/2018    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                          219.23
      9/29/2018    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                          179.16
      9/29/2018    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                          245.37
      9/29/2018    709   RL0017   Owner Operator   Communication Charge    PNet Hware 33065                           13
      9/29/2018    709   RL0017   Owner Operator   ESCROW                  Weekly Escrow                            100
      9/29/2018    709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                          629.43
      9/29/2018    709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                          199.15
      9/29/2018    709   RL0017   Owner Operator   IRP License Deduction   LCIL:2018 - 33065                       33.64
      9/29/2018    709   RL0017   Owner Operator   Tractor Charge          35015 - 33065                          529.05
      9/29/2018    709   RL0062   Owner Operator   Communication Charge    PNet Hware 32912                           13
      9/29/2018    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                             200
      9/29/2018    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                             100
      9/29/2018    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                            2
      9/29/2018    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                            1
      9/29/2018    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                          577.46
      9/29/2018    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                          406.39
      9/29/2018    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                           14.93
      9/29/2018    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                          429.99
      9/29/2018    709   RL0062   Owner Operator   IRP License Deduction   LCIL:2018 - 32912                       33.64
      9/29/2018    709   RL0062   Owner Operator   Tractor Charge          14460 - 32912                          512.16
      9/29/2018    709   RL0180   Owner Operator   Broker Pre Pass         DriveWyze TRK32910                       9.84
      9/29/2018    709   RL0180   Owner Operator   Communication Charge    PNet Hware 32910                           13
      9/29/2018    709   RL0180   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 9-22            130.2
      9/29/2018    709   RL0180   Owner Operator   ESCROW                  Weekly Escrow                            100
      9/29/2018    709   RL0180   Owner Operator   Fuel Purchase           Fuel Purchase                          504.84
      9/29/2018    709   RL0180   Owner Operator   Fuel Purchase           Fuel Purchase                           99.75
      9/29/2018    709   RL0180   Owner Operator   Fuel Purchase           Fuel Purchase                          295.86
      9/29/2018    709   RL0180   Owner Operator   IRP License Deduction   LCIL:2018 - 32910                       33.64
      9/29/2018    709   RL0180   Owner Operator   Tractor Charge          45995 - 32910                          350.65
      9/29/2018    709   RM0026   Owner Operator   Broker Pre Pass         DriveWyze TRK33664                       9.84
      9/29/2018    709   RM0026   Owner Operator   Communication Charge    PNet Hware 33664                           13
      9/29/2018    709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                          543.26
      9/29/2018    709   RP0082   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1202                       9.84
      9/29/2018    709   RP0082   Owner Operator   Communication Charge    PNet Hware Q1202                           13
      9/29/2018    709   RP0082   Owner Operator   Fuel Purchase           Fuel Purchase                          438.22
      9/29/2018    709   RP0082   Owner Operator   Truck Payment           CTMS - 217808 Q1202 Truck Leas         278.76
      9/29/2018    709   RR0123   Owner Operator   Loan Repayment          efs 200995                           -9481.69
      9/29/2018    709   RR0123   Owner Operator   T Chek Fee              ExpressCheck Fee                        93.88
      9/29/2018    709   RR0123   Owner Operator   T Chek Fee              Tractor Repair Q1248                  9387.81
      9/29/2018    709   SB0009   Owner Operator   Broker Pre Pass         DriveWyze TRK33236                       9.84
      9/29/2018    709   SB0009   Owner Operator   Communication Charge    PNet Hware 33236                           13
      9/29/2018    709   SB0009   Owner Operator   Communication Charge    PNet Hware 33236                           13
      9/29/2018    709   SB0009   Owner Operator   ESCROW                  Weekly Escrow                            200
      9/29/2018    709   SB0009   Owner Operator   ESCROW                  Weekly Escrow                            200
      9/29/2018    709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance                            35.78
      9/29/2018    709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance                             200

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      9/29/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/29/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/29/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          243.65
      9/29/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          327.37
      9/29/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          119.55
      9/29/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           15.45
      9/29/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          313.01
      9/29/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          423.77
      9/29/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          428.67
      9/29/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                       33.64
      9/29/2018    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment          247.89
      9/29/2018    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment          247.89
      9/29/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
      9/29/2018    709   SB0103   Owner Operator   Accident Claim                 09/05/18 SB0103 Incident               303.43
      9/29/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      9/29/2018    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                       9.84
      9/29/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      9/29/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      9/29/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.22
      9/29/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.59
      9/29/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.15
      9/29/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.85
      9/29/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.39
      9/29/2018    709   SB0103   Owner Operator   Loan Repayment                 efs 200578                           -2470.02
      9/29/2018    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          250.15
      9/29/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/29/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      9/29/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      9/29/2018    709   SB0103   Owner Operator   Repair Order                   CTMS - 217604 REPAIRS                  252.49
      9/29/2018    709   SB0103   Owner Operator   Repair Order                   CTMS - 217855 REPAIRS                  252.49
      9/29/2018    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        24.46
      9/29/2018    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  2445.56
      9/29/2018    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00381540 - PO System           340.34
      9/29/2018    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00381540 - PO System           340.34
      9/29/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 217559 Sub Lease                388.33
      9/29/2018    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      9/29/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                            100
      9/29/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            629
      9/29/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            449
      9/29/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          360.01
      9/29/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                       33.64
      9/29/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
      9/29/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      9/29/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/29/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      9/29/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          194.26
      9/29/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          392.66
      9/29/2018    709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00380939 - PO System           223.17
      9/29/2018    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                       9.84
      9/29/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      9/29/2018    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/29/2018    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/29/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.52
      9/29/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          564.35
      9/29/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 217859 Tractor Sub leas         242.03
      9/29/2018    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                       9.84
      9/29/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      9/29/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      9/29/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/29/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/29/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.78
      9/29/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.05
      9/29/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          391.19
      9/29/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          341.19
      9/29/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.09
      9/29/2018    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                       9.84
      9/29/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      9/29/2018    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                       9.84
      9/29/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      9/29/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          429.66
      9/29/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           206.1
      9/29/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.35
      9/29/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           11.81

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      9/29/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.71
      9/29/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/29/2018    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRK33471                      9.84
      9/29/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      9/29/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      9/29/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/29/2018    742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/29/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.93
      9/29/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.19
      9/29/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.91
      9/29/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          192.9
      9/29/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/29/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      9/29/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/29/2018    742   BS0078   Owner Operator   Toll Charges                   33471 E470 PLAZA C                      16.6
      9/29/2018    742   BS0078   Owner Operator   Toll Charges                   33471 E470 PLAZA D                        18
      9/29/2018    742   BS0078   Owner Operator   Toll Charges                   33471 E470 PLAZA E                        18
      9/29/2018    742   BS0078   Owner Operator   Toll Charges                   33471 E470 PLAZA E                      22.5
      9/29/2018    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      9/29/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      9/29/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.78
      9/29/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         620.62
      9/29/2018    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      9/29/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      9/29/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.96
      9/29/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.49
      9/29/2018    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00380496 - PO System          411.19
      9/29/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Benicia 12                          20
      9/29/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Benicia 12                          25
      9/29/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  25
      9/29/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  25
      9/29/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 8                  25
      9/29/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 9                  25
      9/29/2018    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      9/29/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      9/29/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/29/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/29/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/29/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          589.8
      9/29/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.98
      9/29/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.33
      9/29/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 12                 25
      9/29/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 4                  15
      9/29/2018    742   DS0254   Owner Operator   Toll Charges                   33487 DelDOT Newark Plaza                  9
      9/29/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 218026 Trk 33487 Lease          434.2
      9/29/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      9/29/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          429.4
      9/29/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.9
      9/29/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.72
      9/29/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         614.53
      9/29/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.97
      9/29/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.12
      9/29/2018    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Hardy North - Barr             7
      9/29/2018    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - NE M             7
      9/29/2018    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Ship Channel Bridg           3.5
      9/29/2018    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Ship Channel Bridg           1.5
      9/29/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/29/2018    742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze TRK32947                      9.84
      9/29/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      9/29/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      9/29/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/29/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/29/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          480.8
      9/29/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.17
      9/29/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.34
      9/29/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.87
      9/29/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.59
      9/29/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.58
      9/29/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.95
      9/29/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      9/29/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      9/29/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/29/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89

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      9/29/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/29/2018    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 12                 25
      9/29/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      9/29/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      9/29/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      9/29/2018    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      9/29/2018    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/29/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           585
      9/29/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.99
      9/29/2018    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2018 - 34329                       100
      9/29/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.81
      9/29/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.26
      9/29/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.77
      9/29/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/29/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      9/29/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      9/29/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/29/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/29/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/29/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      9/29/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/29/2018    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 8                  25
      9/29/2018    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 9                  25
      9/29/2018    742   MH0117   Owner Operator   Toll Charges                   33296 San Mateo 10                        25
      9/29/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      9/29/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/29/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.44
      9/29/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.52
      9/29/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          63.82
      9/29/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      9/29/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      9/29/2018    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                      9.84
      9/29/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      9/29/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         576.66
      9/29/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.81
      9/29/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Bay Bridge 16                       25
      9/29/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Bay Bridge 16                       25
      9/29/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Benicia 1                           25
      9/29/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 7                  25
      9/29/2018    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                  25
      9/29/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      9/29/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/29/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/29/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/29/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.27
      9/29/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.69
      9/29/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.11
      9/29/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.34
      9/29/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.79
      9/29/2018    742   RF0136   Owner Operator   Toll Charges                   32812/WFG5270 Antioch Bridge 1            25
      9/29/2018    742   RF0136   Owner Operator   Toll Charges                   32812/WFG5270 San Mateo 10                25
      9/29/2018    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 11                 25
      9/29/2018    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 6                  25
      9/29/2018    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 7                  25
      9/29/2018    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 8                  25
      9/29/2018    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13157                     9.84
      9/29/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      9/29/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         574.93
      9/29/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.72
      9/29/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.14
      9/29/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.67
      9/29/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.09
      9/29/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.07
      9/29/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.98
      9/29/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.05
      9/29/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.86
      9/29/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.23
      9/29/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      9/29/2018    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      9/29/2018    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      9/29/2018    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/29/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.18
      9/29/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.55

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      9/29/2018    742   TC0098   Owner Operator   Truck Payment                  CTMS - 217855 33489 Lease Paym        412.16
      9/29/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      9/29/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.78
      9/29/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      9/29/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.48
      9/29/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.29
      9/29/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          278.5
      9/29/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         690.65
      10/6/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      10/6/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      10/6/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      10/6/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      10/6/2018    709   AN0007   Owner Operator   Repair Order                   CTMS - 218327 Solvay fuel                -55
      10/6/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      10/6/2018    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      10/6/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         659.93
      10/6/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.68
      10/6/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.71
      10/6/2018    709   AR0064   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          339.08
      10/6/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      10/6/2018    709   AR0064   Owner Operator   Repair Order                   CTMS - 218217 REPAIR                    311
      10/6/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 217679 Q13147 Lease            440.14
      10/6/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 217963 Q13147 Lease            440.14
      10/6/2018    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      10/6/2018    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      10/6/2018    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      10/6/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.79
      10/6/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.23
      10/6/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.59
      10/6/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          365.5
      10/6/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           210
      10/6/2018    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          61.71
      10/6/2018    709   AV0021   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           61.16
      10/6/2018    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  36.48
      10/6/2018    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      10/6/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 217645 Q13169 Sublease         352.68
      10/6/2018    709   AV0021   Owner Operator   Truck Payment                  CTMS - 217915 Q13169 Sublease         352.68
      10/6/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      10/6/2018    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      10/6/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      10/6/2018    709   BM0030   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          337.27
      10/6/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      10/6/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      10/6/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      10/6/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      10/6/2018    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/6/2018    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/6/2018    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/6/2018    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.23
      10/6/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         607.34
      10/6/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.69
      10/6/2018    709   CC0134   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          326.45
      10/6/2018    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
      10/6/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      10/6/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 217610 Q13168 sub lease        352.68
      10/6/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 217625 TRUCK RENTAL              360
      10/6/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 217861 Q13168 sub lease        352.68
      10/6/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/6/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      10/6/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/6/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         577.05
      10/6/2018    709   CM0119   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax            44.5
      10/6/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      10/6/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      10/6/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      10/6/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      10/6/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/6/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      10/6/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.07
      10/6/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.57
      10/6/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.51
      10/6/2018    709   CR0064   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          104.94
      10/6/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      10/6/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      10/6/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      10/6/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      10/6/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      10/6/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.68
      10/6/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      10/6/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 218143 Q1201                   278.76
      10/6/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/6/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      10/6/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.48
      10/6/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.29
      10/6/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.8
      10/6/2018    709   DL0029   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          341.98
      10/6/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      10/6/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      10/6/2018    709   DL0029   Owner Operator   Repair Order                   CTMS - 218208 REPAIR                  317.61
      10/6/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      10/6/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      10/6/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/6/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.59
      10/6/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          472.8
      10/6/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.33
      10/6/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.08
      10/6/2018    709   DL0107   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          686.98
      10/6/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      10/6/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      10/6/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 217644 Sublease                338.99
      10/6/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 217914 Sublease                338.99
      10/6/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 218241 Truck Rental              500
      10/6/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      10/6/2018    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.92
      10/6/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.5
      10/6/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.16
      10/6/2018    709   DM0257   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          887.01
      10/6/2018    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      10/6/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      10/6/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      10/6/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/6/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      10/6/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/6/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/6/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.3
      10/6/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         626.75
      10/6/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.03
      10/6/2018    709   DS0049   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           55.31
      10/6/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      10/6/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      10/6/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      10/6/2018    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/6/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      10/6/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      10/6/2018    709   DS0225   Owner Operator   Fuel Purchase                  Crd July fuel/Mileage tax            -162.55
      10/6/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         590.88
      10/6/2018    709   DS0225   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          -55.08
      10/6/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      10/6/2018    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75

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      10/6/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      10/6/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/6/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/6/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.01
      10/6/2018    709   DS0288   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           63.89
      10/6/2018    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      10/6/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/6/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      10/6/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/6/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/6/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/6/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         649.33
      10/6/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         757.49
      10/6/2018    709   EA0003   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          149.84
      10/6/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      10/6/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      10/6/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      10/6/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      10/6/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      10/6/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.6
      10/6/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         597.64
      10/6/2018    709   EG0062   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          155.31
      10/6/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      10/6/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      10/6/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      10/6/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      10/6/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.24
      10/6/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.88
      10/6/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.22
      10/6/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.19
      10/6/2018    709   EO0014   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          103.42
      10/6/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      10/6/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      10/6/2018    709   EO0014   Owner Operator   Tire Purchase                  PO: 709-00381372 - PO System          201.52
      10/6/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      10/6/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      10/6/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.07
      10/6/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.77
      10/6/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.71
      10/6/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.95
      10/6/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.44
      10/6/2018    709   FS0039   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          -228.3
      10/6/2018    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                  27.77
      10/6/2018    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         350.95
      10/6/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      10/6/2018    709   FS0039   Owner Operator   Repair Order                   CTMS - 218209 REPAIR                  181.16
      10/6/2018    709   FS0039   Owner Operator   T Chek Fee                     ExpressCheck Fee                           3
      10/6/2018    709   FS0039   Owner Operator   T Chek Fee                     Tractor Repair 33040                    300
      10/6/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 217692 truck lease 3304        434.29
      10/6/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 217977 truck lease 3304        434.29
      10/6/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 218303 TRK RENTAL                180
      10/6/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/6/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      10/6/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.54
      10/6/2018    709   FV0001   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           33.45
      10/6/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      10/6/2018    709   FV0001   Owner Operator   Repair Order                   CTMS - 218327 Trailer TL9209 w           -50
      10/6/2018    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/6/2018    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      10/6/2018    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.41
      10/6/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.18
      10/6/2018    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2018 - 34330                       100
      10/6/2018    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/6/2018    709   GA0051   Owner Operator   Permits                        NY13:2018 - 34330                        1.5
      10/6/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      10/6/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      10/6/2018    709   GA0051   Owner Operator   Repair Order                   CTMS - 218302 REPAIR                   253.5
      10/6/2018    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      10/6/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      10/6/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      10/6/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      10/6/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 218141 Lease                   252.11
      10/6/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      10/6/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      10/6/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/6/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/6/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.08
      10/6/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.31
      10/6/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.01
      10/6/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.89
      10/6/2018    709   GW0043   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           73.53
      10/6/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      10/6/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 217683 Q1109 Lease             302.85
      10/6/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 217968 Q1109 Lease             302.85
      10/6/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      10/6/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      10/6/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.08
      10/6/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.04
      10/6/2018    709   HC0023   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          -51.69
      10/6/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      10/6/2018    709   HC0023   Owner Operator   Repair Order                   CTMS - 218327 Solvay fuel                -24
      10/6/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 217601 Q13170                  352.68
      10/6/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 217852 Q13170                  352.68
      10/6/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      10/6/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      10/6/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/6/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/6/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.85
      10/6/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.61
      10/6/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.1
      10/6/2018    709   HG0007   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax            18.6
      10/6/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      10/6/2018    709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-13         -13.5
      10/6/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/6/2018    709   IA0007   Owner Operator   Broker Pre Pass                34012 PrePass Device                    12.5
      10/6/2018    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      10/6/2018    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/6/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.54
      10/6/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         607.73
      10/6/2018    709   IA0007   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          230.24
      10/6/2018    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      10/6/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      10/6/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/6/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      10/6/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.12
      10/6/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.96
      10/6/2018    709   IR0002   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          -91.14
      10/6/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      10/6/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      10/6/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/6/2018    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-15           35.34
      10/6/2018    709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/6/2018    709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                          13
      10/6/2018    709   JA0156   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/6/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/6/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3

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      10/6/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/6/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.95
      10/6/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.83
      10/6/2018    709   JA0156   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      42.19
      10/6/2018    709   JA0156   Owner Operator   Tire Fee                       Tire Fee: 2178744                          4
      10/6/2018    709   JA0156   Owner Operator   Tire Purchase                  PO: 709-00382217 - PO System           17.02
      10/6/2018    709   JA0156   Owner Operator   Truck Payment                  CTMS - 217772 TRK RENTAL                 100
      10/6/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.38
      10/6/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/6/2018    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      10/6/2018    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      10/6/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      10/6/2018    709   JD0211   Owner Operator   Repair Order                   CTMS - 218218 REPAIR                    81.4
      10/6/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/6/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      10/6/2018    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -1000
      10/6/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      10/6/2018    709   JG0017   Owner Operator   Express Check                  T-Check Payment                         1000
      10/6/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/6/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/6/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.44
      10/6/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          595.3
      10/6/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.5
      10/6/2018    709   JG0017   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax            41.6
      10/6/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      10/6/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      10/6/2018    709   JG0017   Owner Operator   Repair Order                   CTMS - 218208 REPAIR                  302.12
      10/6/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      10/6/2018    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/6/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/6/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      10/6/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             500
      10/6/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/6/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         615.39
      10/6/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         582.06
      10/6/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.64
      10/6/2018    709   JG0072   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          322.54
      10/6/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      10/6/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      10/6/2018    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00380935 - PO System           85.56
      10/6/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      10/6/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/6/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      10/6/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.59
      10/6/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      10/6/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      10/6/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      10/6/2018    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-13           -93
      10/6/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.85
      10/6/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      10/6/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      10/6/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      10/6/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.46
      10/6/2018    709   JR0099   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          249.76
      10/6/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      10/6/2018    709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00380928 - PO System          206.68
      10/6/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 218095 Truck Lease             278.76
      10/6/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      10/6/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      10/6/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      10/6/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      10/6/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/6/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      10/6/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.92
      10/6/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.81
      10/6/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.1
      10/6/2018    709   JS0265   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          220.55
      10/6/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      10/6/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      10/6/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      10/6/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/6/2018    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      10/6/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      10/6/2018    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/6/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100.01
      10/6/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/6/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/6/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/6/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.34
      10/6/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.84
      10/6/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.89
      10/6/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.73
      10/6/2018    709   KP0004   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          678.43
      10/6/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      10/6/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      10/6/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/6/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      10/6/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      10/6/2018    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      10/6/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      10/6/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.08
      10/6/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          443.7
      10/6/2018    709   KT0055   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           92.69
      10/6/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      10/6/2018    709   KT0055   Owner Operator   Tire Purchase                  PO: 709-00380070 - PO System          191.79
      10/6/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 217603 Q13156 Lease            388.16
      10/6/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 217855 Q13156 Lease            388.16
      10/6/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      10/6/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      10/6/2018    709   LL0160   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          684.66
      10/6/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      10/6/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 218083 Lease Q1111             252.11
      10/6/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      10/6/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      10/6/2018    709   LS0023   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           29.91
      10/6/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      10/6/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      10/6/2018    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00378300 - PO System           95.62
      10/6/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/6/2018    709   MA0092   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-29          182.16
      10/6/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.38
      10/6/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.08
      10/6/2018    709   MA0092   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           -6.58
      10/6/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      10/6/2018    709   MA0092   Owner Operator   Truck Payment                  CTMS - 217678 TRK RENTAL                350
      10/6/2018    709   MA0092   Owner Operator   Truck Payment                  CTMS - 217976 TRK RENTAL                350
      10/6/2018    709   MA0092   Owner Operator   Truck Payment                  CTMS - 218248 TRK RENTAL              200.58
      10/6/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/6/2018    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      10/6/2018    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-29          130.94
      10/6/2018    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          408.5
      10/6/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.66
      10/6/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.22
      10/6/2018    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      10/6/2018    709   MD0122   Owner Operator   Repair Order                   CTMS - 217625 REPAIR                  300.28
      10/6/2018    709   MD0122   Owner Operator   Repair Order                   CTMS - 218141 REPAIR                  300.28
      10/6/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      10/6/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8

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      10/6/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         566.18
      10/6/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.99
      10/6/2018    709   ME0053   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          -11.25
      10/6/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      10/6/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 218144 Q1113 Lease             252.11
      10/6/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 218207 TRUCK RENTAL              300
      10/6/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/6/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      10/6/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.44
      10/6/2018    709   MG0067   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          -50.73
      10/6/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      10/6/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/6/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/6/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      10/6/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      10/6/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/6/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.17
      10/6/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      10/6/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      10/6/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/6/2018    709   NB0029   Owner Operator   Arrears                        Credit Billing                         39.06
      10/6/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      10/6/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      10/6/2018    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1108                      9.84
      10/6/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware Q1108                          13
      10/6/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      10/6/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      10/6/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.18
      10/6/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.74
      10/6/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.34
      10/6/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.38
      10/6/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.21
      10/6/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.67
      10/6/2018    709   NB0029   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          180.69
      10/6/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      10/6/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      10/6/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      10/6/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      10/6/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      10/6/2018    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00379236 - PO System           97.82
      10/6/2018    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00379236 - PO System           97.88
      10/6/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Turner Turnpike West           4.5
      10/6/2018    709   NB0029   Owner Operator   Toll Charges                   Q1108 OTA Will Rogers Turnpike         18.05
      10/6/2018    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/6/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/6/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      10/6/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/6/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.02
      10/6/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          262.9
      10/6/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      10/6/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/6/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      10/6/2018    709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-13        -39.38
      10/6/2018    709   NT9564   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          321.27
      10/6/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      10/6/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 218304 Truck 73130 Leas        196.65
      10/6/2018    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/6/2018    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      10/6/2018    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.71
      10/6/2018    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.58
      10/6/2018    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          125.6
      10/6/2018    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      10/6/2018    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66

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      10/6/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/6/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      10/6/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.44
      10/6/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.08
      10/6/2018    709   RC0030   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          285.76
      10/6/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      10/6/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/6/2018    709   RC0030   Owner Operator   Tire Fee                       Tire Fee: 2178830                          4
      10/6/2018    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00382339 - PO System           109.5
      10/6/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      10/6/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      10/6/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      10/6/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.19
      10/6/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      10/6/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      10/6/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                     52.2
      10/6/2018    709   RC0089   Owner Operator   24 HOUR DISABILITY             L&H                                    52.19
      10/6/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/6/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/6/2018    709   RC0089   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/6/2018    709   RC0089   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      10/6/2018    709   RC0089   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      10/6/2018    709   RC0089   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      10/6/2018    709   RC0089   Owner Operator   Communication Charge           PNet Hware 32986                          13
      10/6/2018    709   RC0089   Owner Operator   ESCROW                         Final Balance Refund                   -5000
      10/6/2018    709   RC0089   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax            0.66
      10/6/2018    709   RC0089   Owner Operator   FUEL TAX                       July 2018 Fuel/Mileage Tax             16.09
      10/6/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      10/6/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      10/6/2018    709   RC0089   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      10/6/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   RC0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.05
      10/6/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      10/6/2018    709   RC0089   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  103.07
      10/6/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         504.72
      10/6/2018    709   RC0089   Owner Operator   Tractor Charge                 14592 - 32986                         237.36
      10/6/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/6/2018    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      10/6/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      10/6/2018    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-13        -272.5
      10/6/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      10/6/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         568.16
      10/6/2018    709   RL0017   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           35.32
      10/6/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      10/6/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      10/6/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/6/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      10/6/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/6/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      10/6/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/6/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/6/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/6/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.81
      10/6/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.26
      10/6/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.41
      10/6/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.93
      10/6/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.82
      10/6/2018    709   RL0062   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           317.7
      10/6/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      10/6/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      10/6/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      10/6/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/6/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      10/6/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            100
      10/6/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.35
      10/6/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         562.22
      10/6/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.87

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      10/6/2018    709   RL0180   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           60.28
      10/6/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      10/6/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      10/6/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      10/6/2018    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      10/6/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      10/6/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      10/6/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      10/6/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.65
      10/6/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.64
      10/6/2018    709   RM0026   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          242.88
      10/6/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      10/6/2018    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/6/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      10/6/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      10/6/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.82
      10/6/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.46
      10/6/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      10/6/2018    709   RP0082   Owner Operator   T Chek Fee                     ExpressCheck Fee                        5.59
      10/6/2018    709   RP0082   Owner Operator   T Chek Fee                     Tractor Repair Q1202                  559.48
      10/6/2018    709   RP0082   Owner Operator   Tire Fee                       Tire Fee: 2178220                          8
      10/6/2018    709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00381774 - PO System          182.56
      10/6/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 218095 Q1202 Truck Leas        278.76
      10/6/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 218208 TRUCK RENTAL              200
      10/6/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      10/6/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/6/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/6/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.1
      10/6/2018    709   RR0123   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           85.79
      10/6/2018    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      10/6/2018    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      10/6/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      10/6/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      10/6/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 217609 Q1248                   311.97
      10/6/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 217860 Q1248                   120.87
      10/6/2018    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/6/2018    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      10/6/2018    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/6/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/6/2018    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/6/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.8
      10/6/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.42
      10/6/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.36
      10/6/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.55
      10/6/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          42.87
      10/6/2018    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.75
      10/6/2018    709   SB0009   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           81.66
      10/6/2018    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      10/6/2018    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      10/6/2018    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      10/6/2018    709   SB0009   Owner Operator   Tire Fee                       Tire Fee: 2178752                          4
      10/6/2018    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00382218 - PO System          159.23
      10/6/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      10/6/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/6/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.88
      10/6/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.67
      10/6/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.03
      10/6/2018    709   SB0103   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          294.81
      10/6/2018    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         250.15
      10/6/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      10/6/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/6/2018    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        5.23
      10/6/2018    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  359.92
      10/6/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      10/6/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/6/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/6/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      10/6/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/6/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/6/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/6/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.78
      10/6/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.94
      10/6/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.46
      10/6/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.31
      10/6/2018    709   SN0019   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax            186
      10/6/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/6/2018    709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00380939 - PO System          223.17
      10/6/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/6/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      10/6/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.23
      10/6/2018    709   VB0015   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          138.91
      10/6/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      10/6/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 218141 Tractor Sub leas        242.03
      10/6/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      10/6/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/6/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      10/6/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/6/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/6/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      10/6/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/6/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/6/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      10/6/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.96
      10/6/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.64
      10/6/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.42
      10/6/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.91
      10/6/2018    709   VJ0006   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          640.57
      10/6/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      10/6/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/6/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      10/6/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      10/6/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/6/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      10/6/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      10/6/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/6/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/6/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.85
      10/6/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.8
      10/6/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.21
      10/6/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.93
      10/6/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.38
      10/6/2018    709   WH0087   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          159.96
      10/6/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      10/6/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 217609 Q1238 Lease             311.97
      10/6/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 217861 Q1238 Lease             311.97
      10/6/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      10/6/2018    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      10/6/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      10/6/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      10/6/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/6/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/6/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/6/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/6/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/6/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/6/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.74
      10/6/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.28
      10/6/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.93
      10/6/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.15
      10/6/2018    742   AP0047   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          170.52
      10/6/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      10/6/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      10/6/2018    742   AP0047   Owner Operator   Toll Charges                   32604 OTA Turner Turnpike West         18.05

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      10/6/2018    742   AP0047   Owner Operator   Toll Charges                   32604 OTA Will Rogers Turnpike           9.2
      10/6/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.52
      10/6/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.37
      10/6/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.76
      10/6/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.25
      10/6/2018    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/6/2018    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      10/6/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      10/6/2018    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      10/6/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.89
      10/6/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.7
      10/6/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.19
      10/6/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.32
      10/6/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.56
      10/6/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.84
      10/6/2018    742   CT0085   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           138.5
      10/6/2018    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/6/2018    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/6/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Benicia 1                          25
      10/6/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 4                 25
      10/6/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 ILTOLL 163rd St.                  6.5
      10/6/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 ILTOLL 82nd St.                   6.5
      10/6/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 ILTOLL Cermak Rd.                 6.5
      10/6/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 ILTOLL Elgin Rd                   6.5
      10/6/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 ILTOLL Marengo                  13.05
      10/6/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 ILTOLL Route 53                  2.45
      10/6/2018    742   CT0085   Owner Operator   Toll Charges                   Q13171 ILTOLL South Beloit              8.15
      10/6/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/6/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      10/6/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.62
      10/6/2018    742   DA0067   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          227.39
      10/6/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      10/6/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/6/2018    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00380496 - PO System          411.14
      10/6/2018    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      10/6/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      10/6/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      10/6/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         617.65
      10/6/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          646.5
      10/6/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         718.68
      10/6/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.45
      10/6/2018    742   DC0117   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          148.97
      10/6/2018    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 218069 Ext Trailer Wash           -30
      10/6/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.41
      10/6/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/6/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      10/6/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.31
      10/6/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.41
      10/6/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.71
      10/6/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.35
      10/6/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      10/6/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/6/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      10/6/2018    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      10/6/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      10/6/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      10/6/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.58
      10/6/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.57
      10/6/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.68
      10/6/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.19
      10/6/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          322.9
      10/6/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.93
      10/6/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.54
      10/6/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          348.5
      10/6/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      10/6/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      10/6/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      10/6/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      10/6/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/6/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.69
      10/6/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.94
      10/6/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.72
      10/6/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.81
      10/6/2018    742   EN0016   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          452.82
      10/6/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      10/6/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      10/6/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/6/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      10/6/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      10/6/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      10/6/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      10/6/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      10/6/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      10/6/2018    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      10/6/2018    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.12
      10/6/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           361
      10/6/2018    742   JH0148   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           66.09
      10/6/2018    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2018 - 34329                       100
      10/6/2018    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    742   JH0148   Owner Operator   Permits                        NY13:2018 - 34329                        1.5
      10/6/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      10/6/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/6/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      10/6/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      10/6/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.21
      10/6/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.93
      10/6/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.12
      10/6/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.89
      10/6/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.14
      10/6/2018    742   JS0390   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          278.75
      10/6/2018    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2018 - 34327                       100
      10/6/2018    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2018 - 34327                       100
      10/6/2018    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    742   JS0390   Owner Operator   Permits                        NY13:2018 - 34327                        1.5
      10/6/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      10/6/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/6/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      10/6/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      10/6/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/6/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      10/6/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      10/6/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/6/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.88
      10/6/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.6
      10/6/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.66
      10/6/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.94
      10/6/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      10/6/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      10/6/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      10/6/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      10/6/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      10/6/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      10/6/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/6/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/6/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         598.03
      10/6/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.68
      10/6/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.25
      10/6/2018    742   NG0024   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          319.08
      10/6/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/6/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      10/6/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      10/6/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75

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      10/6/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                           13
      10/6/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/6/2018    742   OS0018   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           887.29
      10/6/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/6/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    31.25
      10/6/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism            2.5
      10/6/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.56
      10/6/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.56
      10/6/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.55
      10/6/2018    742   PC0012   Owner Operator   Advance                        Bal of EFS 201588 s/u pmts               250
      10/6/2018    742   PC0012   Owner Operator   Advance                        crd bal efs 201588 s/u pmts          -1845.34
      10/6/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      10/6/2018    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                       9.84
      10/6/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      10/6/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      10/6/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      10/6/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      10/6/2018    742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                    -4135.43
      10/6/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      10/6/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      10/6/2018    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      10/6/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/6/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/6/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          357.91
      10/6/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.48
      10/6/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           339.1
      10/6/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          358.37
      10/6/2018    742   PC0012   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax           214.17
      10/6/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                       33.64
      10/6/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                       33.64
      10/6/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                       33.64
      10/6/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.38
      10/6/2018    742   PC0012   Owner Operator   T Chek Fee                     ExpressCheck Fee                        59.22
      10/6/2018    742   PC0012   Owner Operator   T Chek Fee                     Tractor Repair 32969                  5921.55
      10/6/2018    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 8                   25
      10/6/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      10/6/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          403.72
      10/6/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      10/6/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                       8.75
      10/6/2018    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                       9.84
      10/6/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                           13
      10/6/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                           13
      10/6/2018    742   RF0136   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-13          -99.2
      10/6/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/6/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/6/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/6/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      10/6/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          126.51
      10/6/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          125.91
      10/6/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          209.42
      10/6/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          283.44
      10/6/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          247.04
      10/6/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          272.98
      10/6/2018    742   RF0136   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax            18.82
      10/6/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/6/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                       53.13
      10/6/2018    742   RF0136   Owner Operator   Toll Charges                   34182 NTTA Plaza 10 - Irving             3.44
      10/6/2018    742   RF0136   Owner Operator   Toll Charges                   34182 NTTA Web Chappel Road TE            6.6
      10/6/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             8.75
      10/6/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                          13
      10/6/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.33
      10/6/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.13
      10/6/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          426.45
      10/6/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.23
      10/6/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.92
      10/6/2018    742   RN0054   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax             74.3
      10/6/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/6/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             35.16
      10/6/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
      10/6/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       8.75
      10/6/2018    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                       9.84
      10/6/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13
      10/6/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13

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       10/6/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.79
       10/6/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.01
       10/6/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.72
       10/6/2018   742   RS0342   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          362.09
       10/6/2018   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       10/6/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       10/6/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       10/6/2018   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       10/6/2018   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       10/6/2018   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       10/6/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       10/6/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       10/6/2018   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       10/6/2018   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       10/6/2018   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
       10/6/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.91
       10/6/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.41
       10/6/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.68
       10/6/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          405.7
       10/6/2018   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       10/6/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
       10/6/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       10/6/2018   742   TC0098   Owner Operator   Truck Payment                  CTMS - 218137 33489 Lease Paym        412.16
       10/6/2018   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       10/6/2018   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       10/6/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.29
       10/6/2018   742   TH0130   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax         -162.14
       10/6/2018   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       10/6/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       10/6/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       10/6/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.56
       10/6/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.03
       10/6/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         732.21
      10/13/2018   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      10/13/2018   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      10/13/2018   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.5
      10/13/2018   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      10/13/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      10/13/2018   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      10/13/2018   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      10/13/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.28
      10/13/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.97
      10/13/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.98
      10/13/2018   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      10/13/2018   709   AR0064   Owner Operator   Truck Payment                  CTMS - 218235 Q13147 Lease            440.14
      10/13/2018   709   AR0064   Owner Operator   Truck Payment                  CTMS - 218518 Q13147 Lease            440.14
      10/13/2018   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      10/13/2018   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      10/13/2018   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      10/13/2018   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/13/2018   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/13/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.96
      10/13/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.63
      10/13/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.42
      10/13/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.15
      10/13/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.39
      10/13/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.2
      10/13/2018   709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 103.22
      10/13/2018   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      10/13/2018   709   AV0021   Owner Operator   Truck Payment                  CTMS - 218196 Q13169 Sublease         352.68
      10/13/2018   709   AV0021   Owner Operator   Truck Payment                  CTMS - 218474 Q13169 Sublease         352.68
      10/13/2018   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      10/13/2018   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      10/13/2018   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      10/13/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      10/13/2018   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      10/13/2018   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      10/13/2018   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/13/2018   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5

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      10/13/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.33
      10/13/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.81
      10/13/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.22
      10/13/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.56
      10/13/2018   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
      10/13/2018   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      10/13/2018   709   CC0134   Owner Operator   Truck Payment                  CTMS - 218144 Q13168 sub lease        352.68
      10/13/2018   709   CC0134   Owner Operator   Truck Payment                  CTMS - 218428 Q13168 sub lease        352.68
      10/13/2018   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/13/2018   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      10/13/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.29
      10/13/2018   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         628.87
      10/13/2018   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      10/13/2018   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      10/13/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/13/2018   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      10/13/2018   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/13/2018   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      10/13/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.21
      10/13/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.49
      10/13/2018   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      10/13/2018   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      10/13/2018   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      10/13/2018   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      10/13/2018   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      10/13/2018   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.33
      10/13/2018   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      10/13/2018   709   CS0091   Owner Operator   Truck Payment                  CTMS - 218427 Q1201                   278.76
      10/13/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.65
      10/13/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.81
      10/13/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.69
      10/13/2018   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      10/13/2018   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      10/13/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.25
      10/13/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.35
      10/13/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.95
      10/13/2018   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      10/13/2018   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      10/13/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 218195 Sublease                338.99
      10/13/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 218473 Sublease                338.99
      10/13/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 218524 Truck Rental              500
      10/13/2018   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      10/13/2018   709   DM0257   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-20        -564.2
      10/13/2018   709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          101.7
      10/13/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.39
      10/13/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.07
      10/13/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.75
      10/13/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.14
      10/13/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.1
      10/13/2018   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      10/13/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      10/13/2018   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      10/13/2018   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/13/2018   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      10/13/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/13/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/13/2018   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.58
      10/13/2018   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      10/13/2018   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      10/13/2018   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      10/13/2018   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      10/13/2018   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      10/13/2018   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         664.23

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      10/13/2018   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      10/13/2018   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/13/2018   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      10/13/2018   709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/13/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/13/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.83
      10/13/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.67
      10/13/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.24
      10/13/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.02
      10/13/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.01
      10/13/2018   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      10/13/2018   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/13/2018   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      10/13/2018   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/13/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         667.52
      10/13/2018   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      10/13/2018   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      10/13/2018   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      10/13/2018   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      10/13/2018   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      10/13/2018   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.27
      10/13/2018   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      10/13/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      10/13/2018   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      10/13/2018   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      10/13/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           521
      10/13/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.53
      10/13/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.75
      10/13/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.73
      10/13/2018   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      10/13/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      10/13/2018   709   EO0014   Owner Operator   Tire Purchase                  PO: 709-00381372 - PO System          201.46
      10/13/2018   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      10/13/2018   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      10/13/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.12
      10/13/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.81
      10/13/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.8
      10/13/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.42
      10/13/2018   709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 599.94
      10/13/2018   709   FS0039   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         350.95
      10/13/2018   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      10/13/2018   709   FS0039   Owner Operator   Repair Order                   CTMS - 218468 REPAIR                  181.16
      10/13/2018   709   FS0039   Owner Operator   Truck Payment                  CTMS - 218248 truck lease 3304        434.29
      10/13/2018   709   FS0039   Owner Operator   Truck Payment                  CTMS - 218532 truck lease 3304        434.29
      10/13/2018   709   FS0039   Owner Operator   Truck Payment                  CTMS - 218604 TRK RENTAL                180
      10/13/2018   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/13/2018   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      10/13/2018   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.47
      10/13/2018   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                           538
      10/13/2018   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      10/13/2018   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/13/2018   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      10/13/2018   709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.08
      10/13/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.73
      10/13/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          205.1
      10/13/2018   709   GA0051   Owner Operator   IRP License Deduction          LCIL:2018 - 34330                       100
      10/13/2018   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44

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      10/13/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      10/13/2018   709   GA0051   Owner Operator   Repair Order                   CTMS - 218603 REPAIR                   253.5
      10/13/2018   709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      10/13/2018   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      10/13/2018   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      10/13/2018   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.94
      10/13/2018   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.02
      10/13/2018   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      10/13/2018   709   GS0015   Owner Operator   Truck Payment                  CTMS - 218426 Lease                   252.11
      10/13/2018   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      10/13/2018   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      10/13/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.46
      10/13/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.44
      10/13/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.38
      10/13/2018   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      10/13/2018   709   GW0043   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.05
      10/13/2018   709   GW0043   Owner Operator   T Chek Fee                     Tractor Repair Q1109                    105
      10/13/2018   709   GW0043   Owner Operator   Truck Payment                  CTMS - 218239 Q1109 Lease             302.85
      10/13/2018   709   GW0043   Owner Operator   Truck Payment                  CTMS - 218522 Q1109 Lease             302.85
      10/13/2018   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      10/13/2018   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      10/13/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         612.86
      10/13/2018   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      10/13/2018   709   HC0023   Owner Operator   Truck Payment                  CTMS - 218134 Q13170                  352.68
      10/13/2018   709   HC0023   Owner Operator   Truck Payment                  CTMS - 218419 Q13170                  352.68
      10/13/2018   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      10/13/2018   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      10/13/2018   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.91
      10/13/2018   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.95
      10/13/2018   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      10/13/2018   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/13/2018   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/13/2018   709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      10/13/2018   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      10/13/2018   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      10/13/2018   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      10/13/2018   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-6            13.5
      10/13/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.37
      10/13/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.22
      10/13/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.61
      10/13/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.76
      10/13/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.78
      10/13/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.38
      10/13/2018   709   HG0027   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          136.78
      10/13/2018   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      10/13/2018   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      10/13/2018   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/13/2018   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      10/13/2018   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/13/2018   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.25
      10/13/2018   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.65
      10/13/2018   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          656.8
      10/13/2018   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      10/13/2018   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      10/13/2018   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/13/2018   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      10/13/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.77
      10/13/2018   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      10/13/2018   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/13/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      10/13/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/13/2018   709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-15         1392.24
      10/13/2018   709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/13/2018   709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                          13
      10/13/2018   709   JA0156   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/13/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/13/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.71
      10/13/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.86
      10/13/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.43
      10/13/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.17
      10/13/2018   709   JA0156   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      42.19
      10/13/2018   709   JA0156   Owner Operator   Tire Purchase                  PO: 709-00382217 - PO System           17.02
      10/13/2018   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      10/13/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           15.24
      10/13/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/13/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/13/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.53
      10/13/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          399.9
      10/13/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.56
      10/13/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.97
      10/13/2018   709   JC0292   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          229.96
      10/13/2018   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      10/13/2018   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/13/2018   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      10/13/2018   709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      10/13/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      10/13/2018   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/13/2018   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      10/13/2018   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      10/13/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/13/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/13/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.91
      10/13/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         651.34
      10/13/2018   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      10/13/2018   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      10/13/2018   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      10/13/2018   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/13/2018   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      10/13/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/13/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/13/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         590.01
      10/13/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          700.9
      10/13/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.59
      10/13/2018   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      10/13/2018   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      10/13/2018   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00380935 - PO System           85.49
      10/13/2018   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      10/13/2018   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/13/2018   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      10/13/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.34
      10/13/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.92
      10/13/2018   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      10/13/2018   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      10/13/2018   709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-6              93
      10/13/2018   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/13/2018   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/13/2018   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.02
      10/13/2018   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.12

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      10/13/2018   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      10/13/2018   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      10/13/2018   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      10/13/2018   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.04
      10/13/2018   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      10/13/2018   709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00380928 - PO System          206.64
      10/13/2018   709   JR0099   Owner Operator   Truck Payment                  CTMS - 218376 Truck Lease             278.76
      10/13/2018   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/13/2018   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      10/13/2018   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/13/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/13/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/13/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/13/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/13/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.99
      10/13/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.04
      10/13/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.01
      10/13/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.15
      10/13/2018   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      10/13/2018   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      10/13/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/13/2018   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      10/13/2018   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      10/13/2018   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      10/13/2018   709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.3
      10/13/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.14
      10/13/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.57
      10/13/2018   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      10/13/2018   709   KT0055   Owner Operator   Truck Payment                  CTMS - 218137 Q13156 Lease            388.16
      10/13/2018   709   KT0055   Owner Operator   Truck Payment                  CTMS - 218422 Q13156 Lease            388.16
      10/13/2018   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      10/13/2018   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      10/13/2018   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      10/13/2018   709   LL0160   Owner Operator   Truck Payment                  CTMS - 218363 Lease Q1111             252.11
      10/13/2018   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      10/13/2018   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      10/13/2018   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.73
      10/13/2018   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         823.51
      10/13/2018   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      10/13/2018   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      10/13/2018   709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00378300 - PO System           95.58
      10/13/2018   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/13/2018   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      10/13/2018   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      10/13/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          409.8
      10/13/2018   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      10/13/2018   709   MA0092   Owner Operator   Truck Payment                  CTMS - 218248 TRK RENTAL              149.42
      10/13/2018   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/13/2018   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      10/13/2018   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.13
      10/13/2018   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.49
      10/13/2018   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      10/13/2018   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      10/13/2018   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      10/13/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.17
      10/13/2018   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      10/13/2018   709   ME0053   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.67
      10/13/2018   709   ME0053   Owner Operator   T Chek Fee                     Tractor Repair Q1113                  166.65
      10/13/2018   709   ME0053   Owner Operator   Truck Payment                  CTMS - 218428 Q1113 Lease             252.11
      10/13/2018   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/13/2018   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8

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      10/13/2018   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.35
      10/13/2018   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.66
      10/13/2018   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      10/13/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/13/2018   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/13/2018   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      10/13/2018   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      10/13/2018   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      10/13/2018   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      10/13/2018   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          703.6
      10/13/2018   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      10/13/2018   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      10/13/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/13/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      10/13/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      10/13/2018   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      10/13/2018   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      10/13/2018   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/13/2018   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/13/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.98
      10/13/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.03
      10/13/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.63
      10/13/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.48
      10/13/2018   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      10/13/2018   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      10/13/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      10/13/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      10/13/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      10/13/2018   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/13/2018   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      10/13/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.92
      10/13/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.01
      10/13/2018   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      10/13/2018   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/13/2018   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      10/13/2018   709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-6           39.38
      10/13/2018   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      10/13/2018   709   NT9564   Owner Operator   Truck Payment                  CTMS - 218605 Truck 73130 Leas        196.65
      10/13/2018   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/13/2018   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      10/13/2018   709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.31
      10/13/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.19
      10/13/2018   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      10/13/2018   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      10/13/2018   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/13/2018   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      10/13/2018   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.47
      10/13/2018   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.18
      10/13/2018   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      10/13/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/13/2018   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00382339 - PO System           109.5
      10/13/2018   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/13/2018   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      10/13/2018   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-6           272.5
      10/13/2018   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/13/2018   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         614.74
      10/13/2018   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.08
      10/13/2018   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      10/13/2018   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/13/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      10/13/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/13/2018   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      10/13/2018   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/13/2018   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      10/13/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.79
      10/13/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.53
      10/13/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.06
      10/13/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.02
      10/13/2018   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      10/13/2018   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      10/13/2018   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      10/13/2018   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/13/2018   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      10/13/2018   709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-20           -62
      10/13/2018   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/13/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.05
      10/13/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.93
      10/13/2018   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      10/13/2018   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      10/13/2018   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      10/13/2018   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      10/13/2018   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      10/13/2018   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      10/13/2018   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      10/13/2018   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.25
      10/13/2018   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      10/13/2018   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      10/13/2018   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      10/13/2018   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.53
      10/13/2018   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      10/13/2018   709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00381774 - PO System          182.56
      10/13/2018   709   RP0082   Owner Operator   Truck Payment                  CTMS - 218376 Q1202 Truck Leas        278.76
      10/13/2018   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      10/13/2018   709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      10/13/2018   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      10/13/2018   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      10/13/2018   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      10/13/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/13/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/13/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.96
      10/13/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         625.48
      10/13/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.06
      10/13/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.97
      10/13/2018   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      10/13/2018   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      10/13/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      10/13/2018   709   RR0123   Owner Operator   Truck Payment                  CTMS - 217860 Q1248                    191.1
      10/13/2018   709   RR0123   Owner Operator   Truck Payment                  CTMS - 218143 Q1248                   311.97
      10/13/2018   709   RR0123   Owner Operator   Truck Payment                  CTMS - 218427 Q1248                   311.97
      10/13/2018   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/13/2018   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      10/13/2018   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/13/2018   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.43
      10/13/2018   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.14
      10/13/2018   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.83
      10/13/2018   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.81
      10/13/2018   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      10/13/2018   709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      10/13/2018   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      10/13/2018   709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00382218 - PO System          159.23
      10/13/2018   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      10/13/2018   709   SB0009   Owner Operator   Tractor Wash                   CTMS - 218616 DAW tractor wash           -50

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      10/13/2018   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/13/2018   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      10/13/2018   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      10/13/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.82
      10/13/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.35
      10/13/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.32
      10/13/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.74
      10/13/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.95
      10/13/2018   709   SB0103   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         250.15
      10/13/2018   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      10/13/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/13/2018   709   SB0103   Owner Operator   Repair Order                   CTMS - 217625 REPAIR                  326.66
      10/13/2018   709   SB0103   Owner Operator   Repair Order                   CTMS - 218138 REPAIRS                 252.49
      10/13/2018   709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.21
      10/13/2018   709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  320.64
      10/13/2018   709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  163.04
      10/13/2018   709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00381540 - PO System          340.34
      10/13/2018   709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00381540 - PO System          340.28
      10/13/2018   709   SB0103   Owner Operator   Truck Payment                  CTMS - 217805 Sub Lease               388.33
      10/13/2018   709   SB0103   Owner Operator   Truck Payment                  CTMS - 218092 Sub Lease               388.33
      10/13/2018   709   SB0103   Owner Operator   Truck Payment                  CTMS - 218373 Sub Lease               388.33
      10/13/2018   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      10/13/2018   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      10/13/2018   709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      10/13/2018   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      10/13/2018   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      10/13/2018   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/13/2018   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/13/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           440
      10/13/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           344
      10/13/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           458
      10/13/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           510
      10/13/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           504
      10/13/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.36
      10/13/2018   709   SM0109   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          434.97
      10/13/2018   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      10/13/2018   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      10/13/2018   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      10/13/2018   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      10/13/2018   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      10/13/2018   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      10/13/2018   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/13/2018   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      10/13/2018   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.37
      10/13/2018   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          382.7
      10/13/2018   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      10/13/2018   709   VB0015   Owner Operator   Truck Payment                  CTMS - 218426 Tractor Sub leas        242.03
      10/13/2018   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      10/13/2018   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/13/2018   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      10/13/2018   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/13/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.26
      10/13/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.99
      10/13/2018   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      10/13/2018   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/13/2018   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      10/13/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/13/2018   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      10/13/2018   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      10/13/2018   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/13/2018   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/13/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.28
      10/13/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.46
      10/13/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.26
      10/13/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.57

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      10/13/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.12
      10/13/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.59
      10/13/2018   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      10/13/2018   709   WH0087   Owner Operator   Truck Payment                  CTMS - 218143 Q1238 Lease             311.97
      10/13/2018   709   WH0087   Owner Operator   Truck Payment                  CTMS - 218427 Q1238 Lease             311.97
      10/13/2018   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      10/13/2018   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      10/13/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/13/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/13/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/13/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/13/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/13/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/13/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          196.2
      10/13/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.94
      10/13/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      10/13/2018   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      10/13/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      10/13/2018   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      10/13/2018   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      10/13/2018   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      10/13/2018   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      10/13/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.42
      10/13/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         689.44
      10/13/2018   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      10/13/2018   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      10/13/2018   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/13/2018   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      10/13/2018   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.59
      10/13/2018   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.14
      10/13/2018   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/13/2018   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/13/2018   742   CT0085   Owner Operator   T Chek Fee                     ExpressCheck Fee                       11.95
      10/13/2018   742   CT0085   Owner Operator   T Chek Fee                     Tractor Repair Q13171                  1195
      10/13/2018   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/13/2018   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      10/13/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           401
      10/13/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             28
      10/13/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         650.01
      10/13/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.45
      10/13/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.95
      10/13/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           293
      10/13/2018   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      10/13/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/13/2018   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      10/13/2018   742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         759.81
      10/13/2018   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.49
      10/13/2018   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      10/13/2018   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      10/13/2018   742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 218578 Ext Trailer Wash           -31
      10/13/2018   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      10/13/2018   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      10/13/2018   742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.11
      10/13/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.83
      10/13/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.65
      10/13/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.31
      10/13/2018   742   DS0254   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          148.05
      10/13/2018   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      10/13/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      10/13/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      10/13/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5

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      10/13/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.99
      10/13/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.45
      10/13/2018   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/13/2018   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      10/13/2018   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.62
      10/13/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.21
      10/13/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.42
      10/13/2018   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      10/13/2018   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      10/13/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/13/2018   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      10/13/2018   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      10/13/2018   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      10/13/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      10/13/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      10/13/2018   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      10/13/2018   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      10/13/2018   742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.44
      10/13/2018   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         758.54
      10/13/2018   742   JH0148   Owner Operator   IRP License Deduction          LCIL:2018 - 34329                       100
      10/13/2018   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      10/13/2018   742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/13/2018   742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      10/13/2018   742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.4
      10/13/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.39
      10/13/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.97
      10/13/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.19
      10/13/2018   742   JS0390   Owner Operator   IRP License Deduction          LCIL:2018 - 34327                       100
      10/13/2018   742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      10/13/2018   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/13/2018   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      10/13/2018   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      10/13/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/13/2018   742   MH0117   Owner Operator   Toll Charges                   33296 HCTRA Ship Channel Bridg             7
      10/13/2018   742   MH0117   Owner Operator   Toll Charges                   33296 NTTA Exit I35WN-820-24             3.8
      10/13/2018   742   MH0117   Owner Operator   Toll Charges                   33296 NTTA I-30 WEST/US 287 TE           3.8
      10/13/2018   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      10/13/2018   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      10/13/2018   742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.47
      10/13/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.49
      10/13/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          103.5
      10/13/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.38
      10/13/2018   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      10/13/2018   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      10/13/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      10/13/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      10/13/2018   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      10/13/2018   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      10/13/2018   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/13/2018   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/13/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.79
      10/13/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.92
      10/13/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.29
      10/13/2018   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      10/13/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      10/13/2018   742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Ship Channel Bridg             7
      10/13/2018   742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/13/2018   742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      10/13/2018   742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25

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      10/13/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      10/13/2018   742   PC0012   Owner Operator   Advance                        Bal of EFS 201588 s/u pmts              250
      10/13/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.14
      10/13/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.64
      10/13/2018   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      10/13/2018   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      10/13/2018   742   RF0136   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-6            99.2
      10/13/2018   742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/13/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/13/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/13/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/13/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/13/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.14
      10/13/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.16
      10/13/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                             40
      10/13/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.97
      10/13/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          87.79
      10/13/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.92
      10/13/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.03
      10/13/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.64
      10/13/2018   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      10/13/2018   742   RF0136   Owner Operator   Toll Charges                   34182 NTTA Dallas North Tollwa          20.7
      10/13/2018   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      10/13/2018   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      10/13/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.38
      10/13/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.89
      10/13/2018   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      10/13/2018   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      10/13/2018   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      10/13/2018   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      10/13/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.78
      10/13/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.51
      10/13/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.02
      10/13/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.4
      10/13/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.1
      10/13/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.66
      10/13/2018   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      10/13/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      10/13/2018   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/13/2018   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      10/13/2018   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      10/13/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      10/13/2018   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/13/2018   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      10/13/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.19
      10/13/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.09
      10/13/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.32
      10/13/2018   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      10/13/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/13/2018   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      10/13/2018   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      10/13/2018   843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      10/13/2018   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      10/13/2018   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      10/13/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.03
      10/13/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.75
      10/13/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.14
      10/13/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         627.95
      10/13/2018   843   EI0003   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          218.39
      10/13/2018   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/13/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      10/13/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      10/13/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      10/13/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      10/13/2018   843   EI0003   Owner Operator   Repair Order                   CTMS - 218451 REPAIR                  142.12
      10/20/2018   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      10/20/2018   709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84

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      10/20/2018   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      10/20/2018   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.17
      10/20/2018   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      10/20/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      10/20/2018   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      10/20/2018   709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      10/20/2018   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      10/20/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.78
      10/20/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.08
      10/20/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.98
      10/20/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.38
      10/20/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.97
      10/20/2018   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      10/20/2018   709   AR0064   Owner Operator   Truck Payment                  CTMS - 218812 Q13147 Lease            440.14
      10/20/2018   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      10/20/2018   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      10/20/2018   709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      10/20/2018   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      10/20/2018   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/20/2018   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/20/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.49
      10/20/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.2
      10/20/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.18
      10/20/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.48
      10/20/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.61
      10/20/2018   709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  61.47
      10/20/2018   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      10/20/2018   709   AV0021   Owner Operator   Truck Payment                  CTMS - 218767 Q13169 Sublease         352.68
      10/20/2018   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      10/20/2018   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      10/20/2018   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      10/20/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      10/20/2018   709   BM0030   Owner Operator   Toll Charges                   34023 HCTRA HCTRA HARDY SOUTH          94.25
      10/20/2018   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      10/20/2018   709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      10/20/2018   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      10/20/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.99
      10/20/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          630.8
      10/20/2018   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
      10/20/2018   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      10/20/2018   709   CC0134   Owner Operator   Truck Payment                  CTMS - 218713 Q13168 sub lease        352.68
      10/20/2018   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/20/2018   709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      10/20/2018   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      10/20/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/20/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/20/2018   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         708.31
      10/20/2018   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      10/20/2018   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      10/20/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/20/2018   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      10/20/2018   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/20/2018   709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                      9.84
      10/20/2018   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      10/20/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.96
      10/20/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.58
      10/20/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.08
      10/20/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.01
      10/20/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.65
      10/20/2018   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      10/20/2018   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      10/20/2018   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      10/20/2018   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      10/20/2018   709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                      9.84
      10/20/2018   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      10/20/2018   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          475.7

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      10/20/2018   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      10/20/2018   709   CS0091   Owner Operator   Truck Payment                  CTMS - 218712 Q1201                   278.76
      10/20/2018   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/20/2018   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/20/2018   709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                      9.84
      10/20/2018   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      10/20/2018   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      10/20/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.84
      10/20/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.59
      10/20/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.17
      10/20/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.21
      10/20/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.06
      10/20/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.43
      10/20/2018   709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      10/20/2018   709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      10/20/2018   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      10/20/2018   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      10/20/2018   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      10/20/2018   709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      10/20/2018   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      10/20/2018   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/20/2018   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/20/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.62
      10/20/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         612.01
      10/20/2018   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      10/20/2018   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      10/20/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 218766 Sublease                338.99
      10/20/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 218818 Truck Rental              500
      10/20/2018   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      10/20/2018   709   DM0257   Owner Operator   Charge back by affiliate       CTMS - 218834 Trailer wash 686           -49
      10/20/2018   709   DM0257   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-13          564.2
      10/20/2018   709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.24
      10/20/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.13
      10/20/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.12
      10/20/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.4
      10/20/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.62
      10/20/2018   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      10/20/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      10/20/2018   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      10/20/2018   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/20/2018   709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                      9.84
      10/20/2018   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      10/20/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/20/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/20/2018   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.47
      10/20/2018   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.14
      10/20/2018   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         860.08
      10/20/2018   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      10/20/2018   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      10/20/2018   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      10/20/2018   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      10/20/2018   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      10/20/2018   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         673.62
      10/20/2018   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      10/20/2018   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/20/2018   709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      10/20/2018   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      10/20/2018   709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/20/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/20/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/20/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/20/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.95
      10/20/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.99
      10/20/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.4

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      10/20/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          302.42
      10/20/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.68
      10/20/2018   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/20/2018   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    42.19
      10/20/2018   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      10/20/2018   709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                       9.84
      10/20/2018   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
      10/20/2018   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      10/20/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/20/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/20/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/20/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/20/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                              20
      10/20/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.67
      10/20/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          290.68
      10/20/2018   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                       33.64
      10/20/2018   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/20/2018   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   105.47
      10/20/2018   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                          555.56
      10/20/2018   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
      10/20/2018   709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                       9.84
      10/20/2018   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
      10/20/2018   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          504.72
      10/20/2018   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/20/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    42.19
      10/20/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
      10/20/2018   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
      10/20/2018   709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                       9.84
      10/20/2018   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13
      10/20/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.81
      10/20/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          442.72
      10/20/2018   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/20/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 78.13
      10/20/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
      10/20/2018   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
      10/20/2018   709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                       9.84
      10/20/2018   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
      10/20/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          365.75
      10/20/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          282.95
      10/20/2018   709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                  580.02
      10/20/2018   709   FS0039   Owner Operator   Loan Repayment                 Balance of Loan 1                     10483.2
      10/20/2018   709   FS0039   Owner Operator   Loan Repayment                 efs 202621, bal ln 1                -12940.48
      10/20/2018   709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          356.08
      10/20/2018   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/20/2018   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              76.88
      10/20/2018   709   FS0039   Owner Operator   Repair Order                   CTMS - 218766 REPAIR                   181.16
      10/20/2018   709   FS0039   Owner Operator   T Chek Fee                     ExpressCheck Fee                        24.33
      10/20/2018   709   FS0039   Owner Operator   T Chek Fee                     Tractor Repair 33040                  2432.95
      10/20/2018   709   FS0039   Owner Operator   Truck Payment                  CTMS - 218825 truck lease 3304         434.29
      10/20/2018   709   FS0039   Owner Operator   Truck Payment                  CTMS - 218878 TRK RENTAL                 180
      10/20/2018   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      10/20/2018   709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521B                      9.84
      10/20/2018   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                          13
      10/20/2018   709   FV0001   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-27        -1709.7
      10/20/2018   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/20/2018   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/20/2018   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          593.43
      10/20/2018   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          480.89
      10/20/2018   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/20/2018   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    39.07
      10/20/2018   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      10/20/2018   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                           13
      10/20/2018   709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/20/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.46
      10/20/2018   709   GA0051   Owner Operator   IRP License Deduction          LCIL:2018 - 34330                        100
      10/20/2018   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/20/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    23.44
      10/20/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism            2.5
      10/20/2018   709   GA0051   Owner Operator   Repair Order                   CTMS - 218877 REPAIR                    253.5
      10/20/2018   709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                            277
      10/20/2018   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL              8.75
      10/20/2018   709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                       9.84
      10/20/2018   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                           13

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      10/20/2018   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.57
      10/20/2018   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      10/20/2018   709   GS0015   Owner Operator   Truck Payment                  CTMS - 218711 Lease                   252.11
      10/20/2018   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      10/20/2018   709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      10/20/2018   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      10/20/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.25
      10/20/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.22
      10/20/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.27
      10/20/2018   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      10/20/2018   709   GW0043   Owner Operator   Truck Payment                  CTMS - 218816 Q1109 Lease             302.85
      10/20/2018   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      10/20/2018   709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      10/20/2018   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      10/20/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.32
      10/20/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         595.97
      10/20/2018   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      10/20/2018   709   HC0023   Owner Operator   Truck Payment                  CTMS - 218704 Q13170                  352.68
      10/20/2018   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      10/20/2018   709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK33180                      9.84
      10/20/2018   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      10/20/2018   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/20/2018   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/20/2018   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         606.54
      10/20/2018   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.52
      10/20/2018   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      10/20/2018   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/20/2018   709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      10/20/2018   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      10/20/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.83
      10/20/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.57
      10/20/2018   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      10/20/2018   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/20/2018   709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      10/20/2018   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      10/20/2018   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/20/2018   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         721.61
      10/20/2018   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.27
      10/20/2018   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      10/20/2018   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      10/20/2018   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/20/2018   709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      10/20/2018   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      10/20/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.49
      10/20/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.25
      10/20/2018   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      10/20/2018   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      10/20/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/20/2018   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/20/2018   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/20/2018   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/20/2018   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/20/2018   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      10/20/2018   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      10/20/2018   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      10/20/2018   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      10/20/2018   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      10/20/2018   709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 9-15          429.92
      10/20/2018   709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   709   JA0152   Owner Operator   Fuel Card Advances             Cash Advance                              60
      10/20/2018   709   JA0152   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6

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      10/20/2018   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                       245.22
      10/20/2018   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                       142.87
      10/20/2018   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/20/2018   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/20/2018   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/20/2018   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/20/2018   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 27.35
      10/20/2018   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 27.35
      10/20/2018   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 27.35
      10/20/2018   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 27.33
      10/20/2018   709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                    8.75
      10/20/2018   709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                        13
      10/20/2018   709   JA0156   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/20/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/20/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/20/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                       261.18
      10/20/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.73
      10/20/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                       329.41
      10/20/2018   709   JA0156   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/20/2018   709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    42.19
      10/20/2018   709   JA0156   Owner Operator   Tire Purchase                  PO: 709-00382217 - PO System         17.02
      10/20/2018   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      10/20/2018   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      10/20/2018   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.98
      10/20/2018   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL             8.75
      10/20/2018   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL             8.75
      10/20/2018   709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                 12.5
      10/20/2018   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                       13
      10/20/2018   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                       13
      10/20/2018   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                       13
      10/20/2018   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      10/20/2018   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      10/20/2018   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         400
      10/20/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                        184.76
      10/20/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                          200
      10/20/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/20/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/20/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.02
      10/20/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       508.48
      10/20/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       328.57
      10/20/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       583.09
      10/20/2018   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/20/2018   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/20/2018   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD             42.19
      10/20/2018   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD             42.19
      10/20/2018   709   JC0292   Owner Operator   Repair Order                   CTMS - 218207 REPAIR                418.18
      10/20/2018   709   JC0292   Owner Operator   Tire Fee                       Tire Fee: 2181618                       32
      10/20/2018   709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00381827 - PO System        871.67
      10/20/2018   709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00381827 - PO System        871.67
      10/20/2018   709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00381827 - PO System        871.67
      10/20/2018   709   JC0292   Owner Operator   Truck Payment                  CTMS - 218191 Q13197 Lease          276.63
      10/20/2018   709   JC0292   Owner Operator   Truck Payment                  CTMS - 218469 Q13197 Lease          276.63
      10/20/2018   709   JC0292   Owner Operator   Truck Payment                  CTMS - 218763 Q13197 Lease          276.63
      10/20/2018   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      10/20/2018   709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                    9.84
      10/20/2018   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                         8
      10/20/2018   709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/20/2018   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/20/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    11.72
      10/20/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism            2.5
      10/20/2018   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/20/2018   709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                    9.84
      10/20/2018   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      10/20/2018   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      10/20/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          100
      10/20/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
      10/20/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      10/20/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      10/20/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       497.17
      10/20/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       379.53
      10/20/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       679.84
      10/20/2018   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                    33.64
      10/20/2018   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5

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      10/20/2018   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                90.86
      10/20/2018   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                       504.6
      10/20/2018   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      10/20/2018   709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                   9.84
      10/20/2018   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                       13
      10/20/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                         500
      10/20/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                        5
      10/20/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      382.53
      10/20/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      656.15
      10/20/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                      589.78
      10/20/2018   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                   33.64
      10/20/2018   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      10/20/2018   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                74.22
      10/20/2018   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                      513.26
      10/20/2018   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                   8.75
      10/20/2018   709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                   9.84
      10/20/2018   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                        8
      10/20/2018   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                         100
      10/20/2018   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      10/20/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                      546.89
      10/20/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                      470.26
      10/20/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       513.1
      10/20/2018   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      10/20/2018   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   35.16
      10/20/2018   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                8.75
      10/20/2018   709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                   9.84
      10/20/2018   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      10/20/2018   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                19.54
      10/20/2018   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL          8.75
      10/20/2018   709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                   9.84
      10/20/2018   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                       13
      10/20/2018   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      10/20/2018   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           58.6
      10/20/2018   709   JR0099   Owner Operator   Truck Payment                  CTMS - 218666 Truck Lease          278.76
      10/20/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                 8.75
      10/20/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                 8.75
      10/20/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                    8.75
      10/20/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                    8.75
      10/20/2018   709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRK33325                   9.84
      10/20/2018   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                       13
      10/20/2018   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                       13
      10/20/2018   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                        100
      10/20/2018   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                        100
      10/20/2018   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                         200
      10/20/2018   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      10/20/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      489.51
      10/20/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      465.29
      10/20/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                      250.14
      10/20/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        2.51
      10/20/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        2.51
      10/20/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      10/20/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      10/20/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                 15.94
      10/20/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                 15.94
      10/20/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                     37.5
      10/20/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                     37.5
      10/20/2018   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      10/20/2018   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                       13
      10/20/2018   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                        250
      10/20/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
      10/20/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
      10/20/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
      10/20/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                         100
      10/20/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      10/20/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      10/20/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      10/20/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1
      10/20/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      515.01
      10/20/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       457.6
      10/20/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                      256.85
      10/20/2018   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                   33.64
      10/20/2018   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      10/20/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                93.32

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      10/20/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/20/2018   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      10/20/2018   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      10/20/2018   709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                     9.84
      10/20/2018   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      10/20/2018   709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.62
      10/20/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.22
      10/20/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.75
      10/20/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.74
      10/20/2018   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      10/20/2018   709   KT0055   Owner Operator   Truck Payment                  CTMS - 218707 Q13156 Lease            388.16
      10/20/2018   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      10/20/2018   709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      10/20/2018   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      10/20/2018   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-27       -338.85
      10/20/2018   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      10/20/2018   709   LL0160   Owner Operator   Truck Payment                  CTMS - 218653 Lease Q1111             252.11
      10/20/2018   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      10/20/2018   709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                      9.84
      10/20/2018   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      10/20/2018   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         901.36
      10/20/2018   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      10/20/2018   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      10/20/2018   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/20/2018   709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      10/20/2018   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      10/20/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.49
      10/20/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.34
      10/20/2018   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      10/20/2018   709   MA0092   Owner Operator   Truck Payment                  CTMS - 218679 CREDIT                    -200
      10/20/2018   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/20/2018   709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                     19.68
      10/20/2018   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      10/20/2018   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                             300
      10/20/2018   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/20/2018   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.69
      10/20/2018   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.93
      10/20/2018   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          83.31
      10/20/2018   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      10/20/2018   709   MD0122   Owner Operator   Repair Order                   CTMS - 218748 REPAIRS                 300.28
      10/20/2018   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      10/20/2018   709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                      9.84
      10/20/2018   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      10/20/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.16
      10/20/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.94
      10/20/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.79
      10/20/2018   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      10/20/2018   709   ME0053   Owner Operator   Repair Order                   CTMS - 218680 REPAIR                  390.02
      10/20/2018   709   ME0053   Owner Operator   Truck Payment                  CTMS - 218713 Q1113 Lease             252.11
      10/20/2018   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/20/2018   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      10/20/2018   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.54
      10/20/2018   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.02
      10/20/2018   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      10/20/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/20/2018   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/20/2018   709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                      9.84
      10/20/2018   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      10/20/2018   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            700
      10/20/2018   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             280
      10/20/2018   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      10/20/2018   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.89
      10/20/2018   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      10/20/2018   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88

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      10/20/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/20/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      10/20/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      10/20/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         647.69
      10/20/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           820
      10/20/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.87
      10/20/2018   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      10/20/2018   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      10/20/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      10/20/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      10/20/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      10/20/2018   709   NB0029   Owner Operator   Repair Order                   CTMS - 218788 REPAIR/PARTS            -14.26
      10/20/2018   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/20/2018   709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      10/20/2018   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      10/20/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/20/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/20/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          76.64
      10/20/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.47
      10/20/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.04
      10/20/2018   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      10/20/2018   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/20/2018   709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      10/20/2018   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      10/20/2018   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      10/20/2018   709   NT9564   Owner Operator   Truck Payment                  CTMS - 218880 Truck 73130 Leas        196.65
      10/20/2018   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/20/2018   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      10/20/2018   709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   709   OJ0007   Owner Operator   Fuel Card Advances             Cash Advance                              40
      10/20/2018   709   OJ0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      10/20/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.95
      10/20/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.66
      10/20/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.15
      10/20/2018   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      10/20/2018   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      10/20/2018   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/20/2018   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      10/20/2018   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.62
      10/20/2018   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.15
      10/20/2018   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      10/20/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/20/2018   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00382339 - PO System           109.5
      10/20/2018   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/20/2018   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      10/20/2018   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/20/2018   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         612.28
      10/20/2018   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      10/20/2018   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      10/20/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/20/2018   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      10/20/2018   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/20/2018   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      10/20/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/20/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/20/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.93
      10/20/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.66
      10/20/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.26
      10/20/2018   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      10/20/2018   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      10/20/2018   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      10/20/2018   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/20/2018   709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      10/20/2018   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      10/20/2018   709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-13             62
      10/20/2018   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100

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      10/20/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.36
      10/20/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.97
      10/20/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.35
      10/20/2018   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      10/20/2018   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      10/20/2018   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      10/20/2018   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      10/20/2018   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      10/20/2018   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      10/20/2018   709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      10/20/2018   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      10/20/2018   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          185.6
      10/20/2018   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          506.1
      10/20/2018   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      10/20/2018   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      10/20/2018   709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      10/20/2018   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      10/20/2018   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.03
      10/20/2018   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      10/20/2018   709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00381774 - PO System          182.56
      10/20/2018   709   RP0082   Owner Operator   Truck Payment                  CTMS - 218666 Q1202 Truck Leas        278.76
      10/20/2018   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      10/20/2018   709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      10/20/2018   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      10/20/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/20/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/20/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/20/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/20/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.47
      10/20/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.49
      10/20/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         690.74
      10/20/2018   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      10/20/2018   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      10/20/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      10/20/2018   709   RR0123   Owner Operator   Truck Payment                  CTMS - 218712 Q1248                   311.97
      10/20/2018   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/20/2018   709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      10/20/2018   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      10/20/2018   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/20/2018   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/20/2018   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/20/2018   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.11
      10/20/2018   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.95
      10/20/2018   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          437.8
      10/20/2018   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.16
      10/20/2018   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      10/20/2018   709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      10/20/2018   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      10/20/2018   709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00382218 - PO System          159.23
      10/20/2018   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      10/20/2018   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/20/2018   709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      10/20/2018   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      10/20/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.2
      10/20/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.78
      10/20/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.51
      10/20/2018   709   SB0103   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         250.15
      10/20/2018   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      10/20/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/20/2018   709   SB0103   Owner Operator   Truck Payment                  CTMS - 218663 Sub Lease               388.33
      10/20/2018   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      10/20/2018   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      10/20/2018   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/20/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           738
      10/20/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.01
      10/20/2018   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      10/20/2018   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/20/2018   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      10/20/2018   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      10/20/2018   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      10/20/2018   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      10/20/2018   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/20/2018   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/20/2018   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/20/2018   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/20/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/20/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/20/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.7
      10/20/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.12
      10/20/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.88
      10/20/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.73
      10/20/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.84
      10/20/2018   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/20/2018   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/20/2018   709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00380939 - PO System           223.1
      10/20/2018   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/20/2018   709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      10/20/2018   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      10/20/2018   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.76
      10/20/2018   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.96
      10/20/2018   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      10/20/2018   709   VB0015   Owner Operator   Truck Payment                  CTMS - 218710 Tractor Sub leas        242.03
      10/20/2018   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      10/20/2018   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/20/2018   709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      10/20/2018   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      10/20/2018   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/20/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/20/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/20/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/20/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/20/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.92
      10/20/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.13
      10/20/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.22
      10/20/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.48
      10/20/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.61
      10/20/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.71
      10/20/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.5
      10/20/2018   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      10/20/2018   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/20/2018   709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      10/20/2018   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      10/20/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/20/2018   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      10/20/2018   709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      10/20/2018   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      10/20/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.12
      10/20/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.59
      10/20/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.25
      10/20/2018   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      10/20/2018   709   WH0087   Owner Operator   Truck Payment                  CTMS - 218712 Q1238 Lease             311.97
      10/20/2018   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      10/20/2018   742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      10/20/2018   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      10/20/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/20/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/20/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/20/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/20/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.37
      10/20/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.81
      10/20/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.54
      10/20/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.75
      10/20/2018   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35

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      10/20/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      10/20/2018   742   AP0047   Owner Operator   Toll Charges                   32604 HCTRA Sam Houston - Sout             7
      10/20/2018   742   AP0047   Owner Operator   Toll Charges                   32604 HCTRA Sam Houston - Sout             7
      10/20/2018   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/20/2018   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/20/2018   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/20/2018   742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRK33471                      9.84
      10/20/2018   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      10/20/2018   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      10/20/2018   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      10/20/2018   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/20/2018   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/20/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.34
      10/20/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.27
      10/20/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.26
      10/20/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.03
      10/20/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.66
      10/20/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.66
      10/20/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.64
      10/20/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           3.16
      10/20/2018   742   BS0078   Owner Operator   FUEL TAX                       August 2018 Fuel/Mileage Tax          114.96
      10/20/2018   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      10/20/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      10/20/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.55
      10/20/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/20/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/20/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/20/2018   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      10/20/2018   742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      10/20/2018   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      10/20/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.87
      10/20/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          189.1
      10/20/2018   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      10/20/2018   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.13
      10/20/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.13
      10/20/2018   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.04
      10/20/2018   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      10/20/2018   742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      10/20/2018   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      10/20/2018   742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         611.25
      10/20/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.33
      10/20/2018   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      10/20/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      10/20/2018   742   DS0254   Owner Operator   Truck Payment                  CTMS - 218735 Truck Payment            434.2
      10/20/2018   742   DS0254   Owner Operator   Truck Payment                  CTMS - 218763 Trk 33487 Lease          434.2
      10/20/2018   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/20/2018   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/20/2018   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      10/20/2018   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      10/20/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.61
      10/20/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.77
      10/20/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.53
      10/20/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.16
      10/20/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.84
      10/20/2018   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      10/20/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      10/20/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/20/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/20/2018   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      10/20/2018   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      10/20/2018   742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      10/20/2018   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      10/20/2018   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      10/20/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.28
      10/20/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.04

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      10/20/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.07
      10/20/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.91
      10/20/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.49
      10/20/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.72
      10/20/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.87
      10/20/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.21
      10/20/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.82
      10/20/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.24
      10/20/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.92
      10/20/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.87
      10/20/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          87.37
      10/20/2018   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      10/20/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      10/20/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      10/20/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      10/20/2018   742   ED0041   Owner Operator   Toll Charges                   32897 BATA Benicia                        15
      10/20/2018   742   ED0041   Owner Operator   Toll Charges                   32897 OTA Turner Turnpike West         18.05
      10/20/2018   742   ED0041   Owner Operator   Toll Charges                   32897 OTA Will Rogers Turnpike         18.05
      10/20/2018   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/20/2018   742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze TRK32947                      9.84
      10/20/2018   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      10/20/2018   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/20/2018   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/20/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.73
      10/20/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.61
      10/20/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          146.3
      10/20/2018   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      10/20/2018   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      10/20/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/20/2018   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      10/20/2018   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      10/20/2018   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      10/20/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      10/20/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      10/20/2018   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      10/20/2018   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      10/20/2018   742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           633
      10/20/2018   742   JH0148   Owner Operator   IRP License Deduction          LCIL:2018 - 34329                       100
      10/20/2018   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      10/20/2018   742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/20/2018   742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      10/20/2018   742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.6
      10/20/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.28
      10/20/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.12
      10/20/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.72
      10/20/2018   742   JS0390   Owner Operator   IRP License Deduction          LCIL:2018 - 34327                       100
      10/20/2018   742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      10/20/2018   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/20/2018   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      10/20/2018   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      10/20/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/20/2018   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      10/20/2018   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      10/20/2018   742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-27         -77.5
      10/20/2018   742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           83.3
      10/20/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.23
      10/20/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.14
      10/20/2018   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      10/20/2018   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      10/20/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      10/20/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      10/20/2018   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75

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      10/20/2018   742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                      9.84
      10/20/2018   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      10/20/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.25
      10/20/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.95
      10/20/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.74
      10/20/2018   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      10/20/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      10/20/2018   742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy North - Rank             4
      10/20/2018   742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy North - Rank             4
      10/20/2018   742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy South - Barr             7
      10/20/2018   742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy South - Barr             7
      10/20/2018   742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/20/2018   742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      10/20/2018   742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      10/20/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      10/20/2018   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      10/20/2018   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      10/20/2018   742   PC0012   Owner Operator   Advance                        Bal of EFS 201588 s/u pmts              250
      10/20/2018   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/20/2018   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/20/2018   742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      10/20/2018   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      10/20/2018   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      10/20/2018   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/20/2018   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/20/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.57
      10/20/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.99
      10/20/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.62
      10/20/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.25
      10/20/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.59
      10/20/2018   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      10/20/2018   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      10/20/2018   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      10/20/2018   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      10/20/2018   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Cull           0.9
      10/20/2018   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Cull          -0.9
      10/20/2018   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - East             7
      10/20/2018   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout             7
      10/20/2018   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg           3.5
      10/20/2018   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      10/20/2018   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      10/20/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.69
      10/20/2018   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      10/20/2018   742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13157                     9.84
      10/20/2018   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      10/20/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.32
      10/20/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.26
      10/20/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.58
      10/20/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           9.97
      10/20/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.32
      10/20/2018   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      10/20/2018   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      10/20/2018   742   RN0054   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.11
      10/20/2018   742   RN0054   Owner Operator   T Chek Fee                     Tractor Repair Q13157                 110.73
      10/20/2018   742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Sam Houston - Sou             7
      10/20/2018   742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Ship Channel Brid             7
      10/20/2018   742   RN0054   Owner Operator   Truck Payment                  CTMS - 218736 Truck Payment           353.28
      10/20/2018   742   RN0054   Owner Operator   Truck Payment                  CTMS - 218767 Tractor Lease           353.28
      10/20/2018   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      10/20/2018   742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                      9.84
      10/20/2018   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      10/20/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.2
      10/20/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          182.3
      10/20/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.02
      10/20/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.6
      10/20/2018   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      10/20/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      10/20/2018   742   RS0342   Owner Operator   Toll Charges                   33738 OTA Turner Turnpike Wes          18.05

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      10/20/2018   742   RS0342   Owner Operator   Toll Charges                   33738 OTA Will Rogers Turnpike         18.05
      10/20/2018   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/20/2018   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      10/20/2018   742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 10-27        -15.73
      10/20/2018   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      10/20/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      10/20/2018   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      10/20/2018   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      10/20/2018   742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      10/20/2018   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      10/20/2018   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      10/20/2018   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/20/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.61
      10/20/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.52
      10/20/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.52
      10/20/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.11
      10/20/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.35
      10/20/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.23
      10/20/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.71
      10/20/2018   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      10/20/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      10/20/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      10/20/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      10/20/2018   742   TC0098   Owner Operator   Truck Payment                  CTMS - 218422 33489 Lease Paym        412.16
      10/20/2018   742   TC0098   Owner Operator   Truck Payment                  CTMS - 218707 33489 Lease Paym        412.16
      10/20/2018   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/20/2018   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      10/20/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.84
      10/20/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.88
      10/20/2018   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      10/20/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/20/2018   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               15
      10/20/2018   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      10/20/2018   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      10/20/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.13
      10/20/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.69
      10/20/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.35
      10/20/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.74
      10/20/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.75
      10/20/2018   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/20/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      10/20/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      10/27/2018   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      10/27/2018   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      10/27/2018   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.93
      10/27/2018   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      10/27/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      10/27/2018   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      10/27/2018   709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 219075 HVUT Form 2290            275
      10/27/2018   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      10/27/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.96
      10/27/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.82
      10/27/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.98
      10/27/2018   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      10/27/2018   709   AR0064   Owner Operator   Truck Payment                  CTMS - 219109 Q13147 Lease            440.14
      10/27/2018   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      10/27/2018   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      10/27/2018   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      10/27/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      10/27/2018   709   BM0030   Owner Operator   Tire Fee                       Tire Fee: 2190207                         32
      10/27/2018   709   BM0030   Owner Operator   Tire Purchase                  PO: 709-00383750 - PO System          492.01
      10/27/2018   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      10/27/2018   709   CC0134   Owner Operator   Charge back by affiliate       CTMS - 219076 HVUT Form 2290          268.85
      10/27/2018   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      10/27/2018   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500

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      10/27/2018   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/27/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.19
      10/27/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         594.16
      10/27/2018   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
      10/27/2018   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      10/27/2018   709   CC0134   Owner Operator   Truck Payment                  CTMS - 218998 Q13168 sub lease        352.68
      10/27/2018   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/27/2018   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      10/27/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/27/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/27/2018   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         675.36
      10/27/2018   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      10/27/2018   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      10/27/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/27/2018   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      10/27/2018   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/27/2018   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      10/27/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.3
      10/27/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.67
      10/27/2018   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      10/27/2018   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      10/27/2018   709   CR0064   Owner Operator   Toll Charges                   32864 Carquinez Bridge 9                  25
      10/27/2018   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      10/27/2018   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      10/27/2018   709   CS0091   Owner Operator   Charge back by affiliate       CTMS - 219076 HVUT Form 2290            275
      10/27/2018   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      10/27/2018   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          471.4
      10/27/2018   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      10/27/2018   709   CS0091   Owner Operator   Truck Payment                  CTMS - 218997 Q1201                   278.76
      10/27/2018   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/27/2018   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      10/27/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.51
      10/27/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.59
      10/27/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.12
      10/27/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.45
      10/27/2018   709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      10/27/2018   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      10/27/2018   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      10/27/2018   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      10/27/2018   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/27/2018   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/27/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          192.2
      10/27/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.69
      10/27/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.61
      10/27/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          406.8
      10/27/2018   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      10/27/2018   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      10/27/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 219070 Sublease                338.99
      10/27/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 219115 Truck Rental              500
      10/27/2018   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      10/27/2018   709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.56
      10/27/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.57
      10/27/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.15
      10/27/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.23
      10/27/2018   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      10/27/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      10/27/2018   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      10/27/2018   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/27/2018   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      10/27/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/27/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/27/2018   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         790.25
      10/27/2018   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      10/27/2018   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33

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      10/27/2018   709   DS0049   Owner Operator   Repair Order                   TRACTOR 32915                            -50
      10/27/2018   709   DS0049   Owner Operator   Toll Charges                   32915 San Mateo 4                         25
      10/27/2018   709   DS0049   Owner Operator   Toll Charges                   32915/TL9212 Bay Bridge 17                25
      10/27/2018   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      10/27/2018   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      10/27/2018   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      10/27/2018   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.81
      10/27/2018   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          600.8
      10/27/2018   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      10/27/2018   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/27/2018   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      10/27/2018   709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/27/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/27/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.19
      10/27/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.89
      10/27/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.69
      10/27/2018   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.18
      10/27/2018   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/27/2018   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      10/27/2018   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/27/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/27/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/27/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/27/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/27/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          414.9
      10/27/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.29
      10/27/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         612.06
      10/27/2018   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      10/27/2018   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      10/27/2018   709   EA0003   Owner Operator   Tire Fee                       Tire Fee: 2191470                          8
      10/27/2018   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00384245 - PO System          171.05
      10/27/2018   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      10/27/2018   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      10/27/2018   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      10/27/2018   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.99
      10/27/2018   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          306.4
      10/27/2018   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      10/27/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      10/27/2018   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      10/27/2018   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      10/27/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.13
      10/27/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.12
      10/27/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.53
      10/27/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.31
      10/27/2018   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      10/27/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      10/27/2018   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      10/27/2018   709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 219077 HVUT Form 2290            275
      10/27/2018   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      10/27/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.25
      10/27/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.59
      10/27/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.76
      10/27/2018   709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 528.05
      10/27/2018   709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      10/27/2018   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      10/27/2018   709   FS0039   Owner Operator   Repair Order                   CTMS - 219069 REPAIR                  181.16
      10/27/2018   709   FS0039   Owner Operator   Truck Payment                  CTMS - 219123 truck lease 3304        434.29
      10/27/2018   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/27/2018   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      10/27/2018   709   FV0001   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-20         1709.7
      10/27/2018   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.76
      10/27/2018   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      10/27/2018   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/27/2018   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      10/27/2018   709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50

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      10/27/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.12
      10/27/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.43
      10/27/2018   709   GA0051   Owner Operator   IRP License Deduction          LCIL:2018 - 34330                       100
      10/27/2018   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      10/27/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      10/27/2018   709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      10/27/2018   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      10/27/2018   709   GS0015   Owner Operator   Charge back by affiliate       CTMS - 219077 HVUT Form 2290            275
      10/27/2018   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      10/27/2018   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.96
      10/27/2018   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      10/27/2018   709   GS0015   Owner Operator   Truck Payment                  CTMS - 218996 Lease                   252.11
      10/27/2018   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      10/27/2018   709   GW0043   Owner Operator   Charge back by affiliate       CTMS - 219077 HVUT Form 2290            275
      10/27/2018   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      10/27/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.39
      10/27/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.76
      10/27/2018   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      10/27/2018   709   GW0043   Owner Operator   Truck Payment                  CTMS - 219113 Q1109 Lease             302.85
      10/27/2018   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      10/27/2018   709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 219078 HVUT Form 2290            275
      10/27/2018   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      10/27/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.84
      10/27/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.61
      10/27/2018   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      10/27/2018   709   HC0023   Owner Operator   Truck Payment                  CTMS - 218990 Q13170                  352.68
      10/27/2018   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      10/27/2018   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      10/27/2018   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/27/2018   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/27/2018   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.46
      10/27/2018   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      10/27/2018   709   HG0007   Owner Operator   Tire Fee                       Tire Fee: 2190257                         40
      10/27/2018   709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00384244 - PO System           855.5
      10/27/2018   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/27/2018   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      10/27/2018   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/27/2018   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         669.12
      10/27/2018   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      10/27/2018   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      10/27/2018   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/27/2018   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      10/27/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.84
      10/27/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.42
      10/27/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.24
      10/27/2018   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      10/27/2018   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      10/27/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/27/2018   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/27/2018   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      10/27/2018   709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   709   JA0152   Owner Operator   Fuel Card Advances             Cash Advance                            140
      10/27/2018   709   JA0152   Owner Operator   Fuel Card Advances             Cash Advance                            120
      10/27/2018   709   JA0152   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
      10/27/2018   709   JA0152   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      10/27/2018   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          163.3
      10/27/2018   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.71
      10/27/2018   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      10/27/2018   709   JA0152   Owner Operator   Repair Order                   CTMS - 218208 PARTS                   591.51
      10/27/2018   709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/27/2018   709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                          13
      10/27/2018   709   JA0156   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/27/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      10/27/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                       306.43
      10/27/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.94
      10/27/2018   709   JA0156   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/27/2018   709   JA0156   Owner Operator   Permits                        NM07:2018 - 34364                      5.5
      10/27/2018   709   JA0156   Owner Operator   Permits                        NY13:2018 - 34364                      1.5
      10/27/2018   709   JA0156   Owner Operator   Permits                        OR16:2018 - 34364                      8.5
      10/27/2018   709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    42.18
      10/27/2018   709   JA0156   Owner Operator   Repair Order                   CTMS - 218915 TRACTOR REPAIR        256.35
      10/27/2018   709   JA0156   Owner Operator   Repair Order                   CTMS - 219171 TRACTOR REPAIR        256.35
      10/27/2018   709   JA0156   Owner Operator   Tire Purchase                  PO: 709-00382217 - PO System         17.02
      10/27/2018   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                  13.96
      10/27/2018   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL             8.75
      10/27/2018   709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 219078 HVUT Form 2290           275
      10/27/2018   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                       13
      10/27/2018   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      10/27/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
      10/27/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/27/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/27/2018   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      10/27/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.28
      10/27/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.51
      10/27/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       500.87
      10/27/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.43
      10/27/2018   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/27/2018   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD             42.18
      10/27/2018   709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00381827 - PO System        871.67
      10/27/2018   709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL South Beloit            8.15
      10/27/2018   709   JC0292   Owner Operator   Truck Payment                  CTMS - 219066 Q13197 Lease          276.63
      10/27/2018   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      10/27/2018   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                         8
      10/27/2018   709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                           50
      10/27/2018   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/27/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    11.72
      10/27/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism            2.5
      10/27/2018   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/27/2018   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      10/27/2018   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1500
      10/27/2018   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      10/27/2018   709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1500
      10/27/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      10/27/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      10/27/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       513.92
      10/27/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       632.77
      10/27/2018   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                    33.64
      10/27/2018   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/27/2018   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.85
      10/27/2018   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      10/27/2018   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      10/27/2018   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      10/27/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      10/27/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      10/27/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       500.76
      10/27/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.06
      10/27/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       638.11
      10/27/2018   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                    33.64
      10/27/2018   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/27/2018   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      10/27/2018   709   JG0072   Owner Operator   Tire Fee                       Tire Fee: 2191321                        4
      10/27/2018   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00384778 - PO System         97.07
      10/27/2018   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      10/27/2018   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      10/27/2018   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      10/27/2018   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
      10/27/2018   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      10/27/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        560.5
      10/27/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.42
      10/27/2018   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      10/27/2018   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    35.15
      10/27/2018   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      10/27/2018   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        12.31
      10/27/2018   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      10/27/2018   709   JR0099   Owner Operator   Charge back by affiliate       CTMS - 219078 HVUT Form 2290           275
      10/27/2018   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13

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      10/27/2018   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.01
      10/27/2018   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      10/27/2018   709   JR0099   Owner Operator   Truck Payment                  CTMS - 218939 Truck Lease             278.76
      10/27/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      10/27/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      10/27/2018   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      10/27/2018   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/27/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.12
      10/27/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         590.43
      10/27/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      10/27/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      10/27/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      10/27/2018   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/27/2018   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      10/27/2018   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/27/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/27/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/27/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/27/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/27/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/27/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/27/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           186
      10/27/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          55.89
      10/27/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           244
      10/27/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.01
      10/27/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           290
      10/27/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          453.5
      10/27/2018   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      10/27/2018   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      10/27/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/27/2018   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      10/27/2018   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      10/27/2018   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      10/27/2018   709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.25
      10/27/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.18
      10/27/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.09
      10/27/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.57
      10/27/2018   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      10/27/2018   709   KT0055   Owner Operator   T Chek Fee                     Advance Q13156                         492.5
      10/27/2018   709   KT0055   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.93
      10/27/2018   709   KT0055   Owner Operator   Tire Fee                       Tire Fee: 2191320                          8
      10/27/2018   709   KT0055   Owner Operator   Tire Purchase                  PO: 709-00384777 - PO System          217.38
      10/27/2018   709   KT0055   Owner Operator   Truck Payment                  CTMS - 218992 Q13156 Lease            388.16
      10/27/2018   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      10/27/2018   709   LL0160   Owner Operator   Charge back by affiliate       CTMS - 219079 HVUT Form 2290            275
      10/27/2018   709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-20         338.85
      10/27/2018   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      10/27/2018   709   LL0160   Owner Operator   Truck Payment                  CTMS - 218930 Lease Q1111             252.11
      10/27/2018   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      10/27/2018   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      10/27/2018   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/27/2018   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/27/2018   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.99
      10/27/2018   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         832.73
      10/27/2018   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      10/27/2018   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      10/27/2018   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/27/2018   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      10/27/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.57
      10/27/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.98
      10/27/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.07
      10/27/2018   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      10/27/2018   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/27/2018   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      10/27/2018   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.09

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      10/27/2018   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.26
      10/27/2018   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      10/27/2018   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      10/27/2018   709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 219079 HVUT Form 2290             275
      10/27/2018   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      10/27/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.09
      10/27/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          462.6
      10/27/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.88
      10/27/2018   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      10/27/2018   709   ME0053   Owner Operator   Truck Payment                  CTMS - 218998 Q1113 Lease             252.11
      10/27/2018   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/27/2018   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.33
      10/27/2018   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          500.4
      10/27/2018   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      10/27/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/27/2018   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/27/2018   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      10/27/2018   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            700
      10/27/2018   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      10/27/2018   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      10/27/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/27/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      10/27/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      10/27/2018   709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      10/27/2018   709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 219079 HVUT Form 2290             275
      10/27/2018   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      10/27/2018   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      10/27/2018   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -3500
      10/27/2018   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
      10/27/2018   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
      10/27/2018   709   NB0029   Owner Operator   Express Check                  T-Check Payment                         3500
      10/27/2018   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/27/2018   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/27/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.74
      10/27/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.01
      10/27/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          629.5
      10/27/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.29
      10/27/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.95
      10/27/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.55
      10/27/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.81
      10/27/2018   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      10/27/2018   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      10/27/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      10/27/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      10/27/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      10/27/2018   709   NB0029   Owner Operator   Truck Payment                  CTMS - 218731 32986 Lease             314.03
      10/27/2018   709   NB0029   Owner Operator   Truck Payment                  CTMS - 218989 32986 Lease             314.03
      10/27/2018   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/27/2018   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      10/27/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/27/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/27/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          61.63
      10/27/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.54
      10/27/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.34
      10/27/2018   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      10/27/2018   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/27/2018   709   NT9564   Owner Operator   Charge back by affiliate       CTMS - 219080 HVUT Form 2290             275
      10/27/2018   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      10/27/2018   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      10/27/2018   709   NT9564   Owner Operator   Truck Payment                  CTMS - 219171 Truck 73130 Leas        196.65
      10/27/2018   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/27/2018   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      10/27/2018   709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.05
      10/27/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.59
      10/27/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.05

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      10/27/2018   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
      10/27/2018   709   OJ0007   Owner Operator   Tire Fee                       Tire Fee: 2190004                          8
      10/27/2018   709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00382907 - PO System          287.67
      10/27/2018   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      10/27/2018   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/27/2018   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      10/27/2018   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.59
      10/27/2018   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      10/27/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/27/2018   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00382339 - PO System           109.5
      10/27/2018   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/27/2018   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      10/27/2018   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/27/2018   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.5
      10/27/2018   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.03
      10/27/2018   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      10/27/2018   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      10/27/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/27/2018   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      10/27/2018   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/27/2018   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      10/27/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/27/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/27/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/27/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/27/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.53
      10/27/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.06
      10/27/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.13
      10/27/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.79
      10/27/2018   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      10/27/2018   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      10/27/2018   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      10/27/2018   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/27/2018   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      10/27/2018   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/27/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.87
      10/27/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.41
      10/27/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.36
      10/27/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.12
      10/27/2018   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      10/27/2018   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      10/27/2018   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      10/27/2018   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      10/27/2018   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      10/27/2018   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      10/27/2018   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      10/27/2018   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.35
      10/27/2018   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      10/27/2018   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      10/27/2018   709   RP0082   Owner Operator   Charge back by affiliate       CTMS - 219080 HVUT Form 2290            275
      10/27/2018   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      10/27/2018   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.94
      10/27/2018   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      10/27/2018   709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00381774 - PO System          182.56
      10/27/2018   709   RP0082   Owner Operator   Truck Payment                  CTMS - 218939 Q1202 Truck Leas        278.76
      10/27/2018   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      10/27/2018   709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 219080 HVUT Form 2290           61.97
      10/27/2018   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      10/27/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.1
      10/27/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.11
      10/27/2018   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      10/27/2018   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      10/27/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      10/27/2018   709   RR0123   Owner Operator   Tire Fee                       Tire Fee: 2190304                          8
      10/27/2018   709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00383749 - PO System          183.45

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      10/27/2018   709   RR0123   Owner Operator   Truck Payment                  CTMS - 218997 Q1248                   311.97
      10/27/2018   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/27/2018   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.56
      10/27/2018   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.48
      10/27/2018   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      10/27/2018   709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      10/27/2018   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      10/27/2018   709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00382218 - PO System          159.23
      10/27/2018   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      10/27/2018   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/27/2018   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      10/27/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.87
      10/27/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.89
      10/27/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.13
      10/27/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.52
      10/27/2018   709   SB0103   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         250.15
      10/27/2018   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      10/27/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/27/2018   709   SB0103   Owner Operator   Repair Order                   CTMS - 219157 REPAIR DEDUCTIBL          300
      10/27/2018   709   SB0103   Owner Operator   Truck Payment                  CTMS - 218936 Sub Lease               388.33
      10/27/2018   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      10/27/2018   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      10/27/2018   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/27/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.79
      10/27/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.41
      10/27/2018   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      10/27/2018   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      10/27/2018   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      10/27/2018   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      10/27/2018   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/27/2018   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/27/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/27/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/27/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/27/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/27/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.6
      10/27/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.5
      10/27/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.53
      10/27/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.71
      10/27/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.89
      10/27/2018   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/27/2018   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/27/2018   709   VB0015   Owner Operator   Charge back by affiliate       CTMS - 219080 HVUT Form 2290            275
      10/27/2018   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      10/27/2018   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.83
      10/27/2018   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      10/27/2018   709   VB0015   Owner Operator   Truck Payment                  CTMS - 218996 Tractor Sub leas        242.03
      10/27/2018   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      10/27/2018   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/27/2018   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      10/27/2018   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/27/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      10/27/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/27/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      10/27/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/27/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.14
      10/27/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.68
      10/27/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.09
      10/27/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.81
      10/27/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.96
      10/27/2018   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      10/27/2018   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/27/2018   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      10/27/2018   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      10/27/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/27/2018   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75

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      10/27/2018   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      10/27/2018   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/27/2018   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/27/2018   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/27/2018   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/27/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.66
      10/27/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.78
      10/27/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.75
      10/27/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.77
      10/27/2018   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      10/27/2018   709   WH0087   Owner Operator   Truck Payment                  CTMS - 218997 Q1238 Lease             311.97
      10/27/2018   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      10/27/2018   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      10/27/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      10/27/2018   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      10/27/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      10/27/2018   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/27/2018   742   BS0078   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    -35
      10/27/2018   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      10/27/2018   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      10/27/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.56
      10/27/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.96
      10/27/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.76
      10/27/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.01
      10/27/2018   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   60.54
      10/27/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 -242.19
      10/27/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           -10
      10/27/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/27/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      10/27/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      10/27/2018   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      10/27/2018   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      10/27/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.74
      10/27/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          159.6
      10/27/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.64
      10/27/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.09
      10/27/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.15
      10/27/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.62
      10/27/2018   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      10/27/2018   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/27/2018   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/27/2018   742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      10/27/2018   742   CT0085   Owner Operator   Charge back by affiliate       CTMS - 219081 HVUT Form 2290            110
      10/27/2018   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      10/27/2018   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      10/27/2018   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          474.4
      10/27/2018   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.54
      10/27/2018   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.91
      10/27/2018   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.06
      10/27/2018   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.76
      10/27/2018   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.36
      10/27/2018   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.87
      10/27/2018   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      10/27/2018   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/27/2018   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/27/2018   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/27/2018   742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 12                25
      10/27/2018   742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 4                 25
      10/27/2018   742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 4                 25
      10/27/2018   742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 9                 25
      10/27/2018   742   CT0085   Owner Operator   Toll Charges                   Q13171 ILTOLL Barrington                4.05
      10/27/2018   742   CT0085   Owner Operator   Toll Charges                   Q13171 ILTOLL Cermak Rd.                 6.5
      10/27/2018   742   CT0085   Owner Operator   Toll Charges                   Q13171 ILTOLL Dixon                     15.5
      10/27/2018   742   CT0085   Owner Operator   Toll Charges                   Q13171 ILTOLL Irving Park                6.5
      10/27/2018   742   CT0085   Owner Operator   Toll Charges                   Q13171 ILTOLL Joliet Rd.                2.45
      10/27/2018   742   CT0085   Owner Operator   Truck Payment                  CTMS - 218735 Truck Payment           325.68
      10/27/2018   742   CT0085   Owner Operator   Truck Payment                  CTMS - 218768 Sub Lease Q13171        352.68

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      10/27/2018   742   CT0085   Owner Operator   Truck Payment                  CTMS - 218976 Truck Payment           352.68
      10/27/2018   742   CT0085   Owner Operator   Truck Payment                  CTMS - 219071 Sub Lease Q13171        352.68
      10/27/2018   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/27/2018   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/27/2018   742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      10/27/2018   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      10/27/2018   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      10/27/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      10/27/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.74
      10/27/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.44
      10/27/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.02
      10/27/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.31
      10/27/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.95
      10/27/2018   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      10/27/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      10/27/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/27/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/27/2018   742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      10/27/2018   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      10/27/2018   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      10/27/2018   742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         658.91
      10/27/2018   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.87
      10/27/2018   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         681.05
      10/27/2018   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.95
      10/27/2018   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      10/27/2018   742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 219081 HVUT Form 2290            110
      10/27/2018   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      10/27/2018   742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/27/2018   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/27/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.54
      10/27/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.49
      10/27/2018   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      10/27/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      10/27/2018   742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 1                    25
      10/27/2018   742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 2                    15
      10/27/2018   742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 2                    25
      10/27/2018   742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 3                    15
      10/27/2018   742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 3                    15
      10/27/2018   742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 11                 25
      10/27/2018   742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 9                  25
      10/27/2018   742   DS0254   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  25
      10/27/2018   742   DS0254   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  25
      10/27/2018   742   DS0254   Owner Operator   Truck Payment                  CTMS - 218976 Truck Payment            434.2
      10/27/2018   742   DS0254   Owner Operator   Truck Payment                  CTMS - 219066 Trk 33487 Lease          434.2
      10/27/2018   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/27/2018   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      10/27/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.85
      10/27/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         592.89
      10/27/2018   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      10/27/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/27/2018   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/27/2018   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      10/27/2018   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/27/2018   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/27/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.07
      10/27/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.38
      10/27/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.03
      10/27/2018   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      10/27/2018   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      10/27/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/27/2018   742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 8                  25
      10/27/2018   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      10/27/2018   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      10/27/2018   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      10/27/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68

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      10/27/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      10/27/2018   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      10/27/2018   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      10/27/2018   742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      10/27/2018   742   JH0148   Owner Operator   IRP License Deduction          LCIL:2018 - 34329                       100
      10/27/2018   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      10/27/2018   742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/27/2018   742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      10/27/2018   742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.99
      10/27/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.51
      10/27/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.51
      10/27/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.96
      10/27/2018   742   JS0390   Owner Operator   IRP License Deduction          LCIL:2018 - 34327                       100
      10/27/2018   742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.18
      10/27/2018   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/27/2018   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      10/27/2018   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      10/27/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/27/2018   742   MH0117   Owner Operator   Toll Charges                   33296 Antioch Bridge 2                    25
      10/27/2018   742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 7                  25
      10/27/2018   742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 8                  25
      10/27/2018   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      10/27/2018   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      10/27/2018   742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-20           77.5
      10/27/2018   742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.93
      10/27/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.07
      10/27/2018   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      10/27/2018   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      10/27/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      10/27/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      10/27/2018   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      10/27/2018   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      10/27/2018   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/27/2018   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/27/2018   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/27/2018   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/27/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.62
      10/27/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         618.36
      10/27/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.38
      10/27/2018   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      10/27/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      10/27/2018   742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 9                  25
      10/27/2018   742   NG0024   Owner Operator   Toll Charges                   33252/6681 Carquinez Bridge 7             25
      10/27/2018   742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/27/2018   742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      10/27/2018   742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-3        -232.96
      10/27/2018   742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      10/27/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      10/27/2018   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      10/27/2018   742   PC0012   Owner Operator   Advance                        Bal of EFS 201588 s/u pmts              250
      10/27/2018   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/27/2018   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      10/27/2018   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/27/2018   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/27/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.46
      10/27/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.65
      10/27/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.65
      10/27/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.69
      10/27/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.33
      10/27/2018   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      10/27/2018   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      10/27/2018   742   PC0012   Owner Operator   Toll Charges                   32969 Benicia 12                          25

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      10/27/2018   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg             7
      10/27/2018   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg           3.5
      10/27/2018   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg             7
      10/27/2018   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      10/27/2018   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      10/27/2018   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      10/27/2018   742   RF0136   Owner Operator   Broker Pay Void/Reissue        ACH 742022575 less arrears           3212.22
      10/27/2018   742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      10/27/2018   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      10/27/2018   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      10/27/2018   742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/27/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/27/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/27/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/27/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/27/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/27/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.27
      10/27/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.57
      10/27/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.31
      10/27/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          211.9
      10/27/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.5
      10/27/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.55
      10/27/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.44
      10/27/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.91
      10/27/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           272
      10/27/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.42
      10/27/2018   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      10/27/2018   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      10/27/2018   742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 12                 25
      10/27/2018   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      10/27/2018   742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 219081 FHVUT Form 2290           110
      10/27/2018   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      10/27/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.15
      10/27/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.33
      10/27/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.83
      10/27/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.62
      10/27/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.06
      10/27/2018   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      10/27/2018   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      10/27/2018   742   RN0054   Owner Operator   Truck Payment                  CTMS - 218976 Truck Payment           353.28
      10/27/2018   742   RN0054   Owner Operator   Truck Payment                  CTMS - 219070 Tractor Lease           353.28
      10/27/2018   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      10/27/2018   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      10/27/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.05
      10/27/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.29
      10/27/2018   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      10/27/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      10/27/2018   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/27/2018   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      10/27/2018   742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-20          15.73
      10/27/2018   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      10/27/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      10/27/2018   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      10/27/2018   742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 219082 HVUT Form 2290           114.5
      10/27/2018   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      10/27/2018   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/27/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.99
      10/27/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.64
      10/27/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.92
      10/27/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.14
      10/27/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.96
      10/27/2018   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
      10/27/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      10/27/2018   742   TC0098   Owner Operator   Truck Payment                  CTMS - 218992 33489 Lease Paym        412.16
      10/27/2018   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75

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      10/27/2018   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      10/27/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.45
      10/27/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.36
      10/27/2018   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      10/27/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/27/2018   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
      10/27/2018   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      10/27/2018   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      10/27/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.58
      10/27/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          566.7
      10/27/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.74
      10/27/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.96
      10/27/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.97
      10/27/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.85
      10/27/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.79
      10/27/2018   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/27/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      10/27/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       11/3/2018   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       11/3/2018   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       11/3/2018   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            140
       11/3/2018   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
       11/3/2018   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.74
       11/3/2018   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/3/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       11/3/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       11/3/2018   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       11/3/2018   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       11/3/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.42
       11/3/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.83
       11/3/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.96
       11/3/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.75
       11/3/2018   709   AR0064   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            354.96
       11/3/2018   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/3/2018   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       11/3/2018   709   AR0064   Owner Operator   Repair Order                   CTMS - 219379 REPAIR                   83.94
       11/3/2018   709   AR0064   Owner Operator   Truck Payment                  CTMS - 219396 Q13147 Lease            440.14
       11/3/2018   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       11/3/2018   709   CC0134   Owner Operator   Charge back by affiliate       CTMS - 219076 HVUT Form 2290            6.15
       11/3/2018   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       11/3/2018   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       11/3/2018   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       11/3/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         611.73
       11/3/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.16
       11/3/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.34
       11/3/2018   709   CC0134   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             21.65
       11/3/2018   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
       11/3/2018   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/3/2018   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       11/3/2018   709   CC0134   Owner Operator   Truck Payment                  CTMS - 219288 Q13168 sub lease        352.68
       11/3/2018   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       11/3/2018   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       11/3/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       11/3/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       11/3/2018   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         663.11
       11/3/2018   709   CM0119   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            -64.09
       11/3/2018   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
       11/3/2018   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/3/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       11/3/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       11/3/2018   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       11/3/2018   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       11/3/2018   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       11/3/2018   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       11/3/2018   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       11/3/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.75
       11/3/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.98
       11/3/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.35
       11/3/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.44
       11/3/2018   709   CR0064   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             45.48
       11/3/2018   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
       11/3/2018   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      11/3/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      11/3/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      11/3/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      11/3/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      11/3/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      11/3/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 219288 Q1201                   278.76
      11/3/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/3/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      11/3/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.06
      11/3/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.52
      11/3/2018    709   DL0029   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            204.43
      11/3/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      11/3/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      11/3/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/3/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      11/3/2018    709   DL0107   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax           -561.92
      11/3/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      11/3/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      11/3/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      11/3/2018    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.18
      11/3/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.71
      11/3/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.52
      11/3/2018    709   DM0257   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            281.82
      11/3/2018    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      11/3/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      11/3/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      11/3/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/3/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      11/3/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      11/3/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/3/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         805.57
      11/3/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      11/3/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      11/3/2018    709   DS0049   Owner Operator   Repair Order                   CTMS - 219380 REPAIR                  263.81
      11/3/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      11/3/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      11/3/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      11/3/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         715.65
      11/3/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      11/3/2018    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/3/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      11/3/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/3/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/3/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/3/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/3/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.52
      11/3/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.39
      11/3/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.74
      11/3/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.26
      11/3/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.47
      11/3/2018    709   DS0288   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             77.64
      11/3/2018    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      11/3/2018    709   DS0288   Owner Operator   Repair Order                   CTMS - 219380 REPAIRS                 173.59
      11/3/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/3/2018    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-10       -702.35
      11/3/2018    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-10       -225.78
      11/3/2018    709   EA0003   Owner Operator   ESCROW                         Escrow Withdrawal                      -6750
      11/3/2018    709   EA0003   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            287.41
      11/3/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      11/3/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      11/3/2018    709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00384245 - PO System          171.05
      11/3/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      11/3/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75

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      11/3/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      11/3/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          585.9
      11/3/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.48
      11/3/2018    709   EG0062   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            214.75
      11/3/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      11/3/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/3/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      11/3/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      11/3/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.3
      11/3/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.15
      11/3/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.74
      11/3/2018    709   EO0014   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             56.58
      11/3/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      11/3/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      11/3/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      11/3/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      11/3/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.07
      11/3/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.45
      11/3/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.12
      11/3/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.42
      11/3/2018    709   FS0039   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            353.66
      11/3/2018    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 556.12
      11/3/2018    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      11/3/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      11/3/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 219411 truck lease 3304        434.29
      11/3/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/3/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      11/3/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         571.54
      11/3/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.99
      11/3/2018    709   FV0001   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            141.74
      11/3/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      11/3/2018    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/3/2018    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      11/3/2018    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-10       -198.92
      11/3/2018    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                           342
      11/3/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      11/3/2018    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2018 - 34330                       100
      11/3/2018    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      11/3/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      11/3/2018    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      11/3/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      11/3/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      11/3/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.73
      11/3/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      11/3/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 219286 Lease                   252.11
      11/3/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      11/3/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      11/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/3/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.77
      11/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.77
      11/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.21
      11/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.92
      11/3/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           330
      11/3/2018    709   GW0043   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            123.02
      11/3/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      11/3/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 219400 Q1109 Lease             302.85
      11/3/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/3/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      11/3/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.88
      11/3/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.71

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      11/3/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.58
      11/3/2018    709   HC0023   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            -55.53
      11/3/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      11/3/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 219280 Q13170                  352.68
      11/3/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      11/3/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      11/3/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/3/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/3/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.35
      11/3/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.82
      11/3/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      11/3/2018    709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00384244 - PO System           855.5
      11/3/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/3/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/3/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      11/3/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      11/3/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.29
      11/3/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.54
      11/3/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.31
      11/3/2018    709   HG0027   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            118.45
      11/3/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      11/3/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      11/3/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/3/2018    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      11/3/2018    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/3/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.64
      11/3/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          481.2
      11/3/2018    709   IA0007   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             25.77
      11/3/2018    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      11/3/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      11/3/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/3/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      11/3/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.25
      11/3/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.71
      11/3/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      11/3/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      11/3/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/3/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/3/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      11/3/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    709   JA0152   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/3/2018    709   JA0152   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/3/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.13
      11/3/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.32
      11/3/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      11/3/2018    709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/3/2018    709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                          13
      11/3/2018    709   JA0156   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/3/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/3/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                          231.4
      11/3/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.07
      11/3/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.83
      11/3/2018    709   JA0156   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      42.19
      11/3/2018    709   JA0156   Owner Operator   Repair Order                   CTMS - 219474 TRACTOR REPAIR          256.35
      11/3/2018    709   JA0156   Owner Operator   Tire Purchase                  PO: 709-00382217 - PO System           16.96
      11/3/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/3/2018    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      11/3/2018    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      11/3/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      11/3/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/3/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13

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      11/3/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      11/3/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      11/3/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           100
      11/3/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/3/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      11/3/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       206.24
      11/3/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          535
      11/3/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        664.8
      11/3/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                    33.64
      11/3/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/3/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      11/3/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      11/3/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/3/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      11/3/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      11/3/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      11/3/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       408.71
      11/3/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       646.48
      11/3/2018    709   JG0072   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax          373.01
      11/3/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                    33.64
      11/3/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/3/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      11/3/2018    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00384778 - PO System         97.07
      11/3/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      11/3/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      11/3/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      11/3/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       507.62
      11/3/2018    709   JG0092   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax           32.78
      11/3/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/3/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    35.16
      11/3/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      11/3/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      11/3/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       514.71
      11/3/2018    709   JR0099   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax          123.45
      11/3/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/3/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      11/3/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 219241 Truck Lease           278.76
      11/3/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      11/3/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      11/3/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      11/3/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      11/3/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/3/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/3/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/3/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/3/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       493.56
      11/3/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       407.95
      11/3/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       447.62
      11/3/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        435.5
      11/3/2018    709   JS0265   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax           69.67
      11/3/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         2.51
      11/3/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/3/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      11/3/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      11/3/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/3/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      11/3/2018    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                    -4250
      11/3/2018    709   KP0004   Owner Operator   Express Check                  T-Check Payment                       4250
      11/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      11/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      11/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            50
      11/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      11/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      11/3/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      11/3/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       518.01
      11/3/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       147.69
      11/3/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          252
      11/3/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       608.02
      11/3/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           35
      11/3/2018    709   KP0004   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax          715.43
      11/3/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                    33.64
      11/3/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/3/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 93.32

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      11/3/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/3/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      11/3/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      11/3/2018    709   KT0055   Owner Operator   Charge back by affiliate       CTMS - 219483 HVUT Form 2290          161.43
      11/3/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      11/3/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.15
      11/3/2018    709   KT0055   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            145.31
      11/3/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      11/3/2018    709   KT0055   Owner Operator   Tire Purchase                  PO: 709-00384777 - PO System          217.38
      11/3/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 219282 Q13156 Lease            388.16
      11/3/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      11/3/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      11/3/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.04
      11/3/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         780.74
      11/3/2018    709   LS0023   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             34.53
      11/3/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      11/3/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      11/3/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/3/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      11/3/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.13
      11/3/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.14
      11/3/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.44
      11/3/2018    709   MA0092   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             122.2
      11/3/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      11/3/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/3/2018    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      11/3/2018    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      11/3/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      11/3/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      11/3/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.34
      11/3/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.42
      11/3/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.26
      11/3/2018    709   ME0053   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            -17.12
      11/3/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      11/3/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 219289 Q1113 Lease             252.11
      11/3/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/3/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      11/3/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      11/3/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            260
      11/3/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.6
      11/3/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         619.22
      11/3/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      11/3/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      11/3/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/3/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      11/3/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      11/3/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      11/3/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      11/3/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.91
      11/3/2018    709   NB0029   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            181.39
      11/3/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      11/3/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      11/3/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      11/3/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      11/3/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      11/3/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 219286 32986 Lease             314.03
      11/3/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      11/3/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      11/3/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/3/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/3/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.42
      11/3/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.31
      11/3/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.51
      11/3/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      11/3/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 32.98
      11/3/2018    709   NG0005   Owner Operator   Toll Charges                   21412B ILTOLL Spring Creek                1.9
      11/3/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
      11/3/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           13
      11/3/2018    709   NT9564   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             269.07
      11/3/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/3/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              30.47
      11/3/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 219475 Truck 73130 Leas         196.65
      11/3/2018    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      11/3/2018    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                            8
      11/3/2018    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      11/3/2018    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                            90.2
      11/3/2018    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                            79.6
      11/3/2018    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.17
      11/3/2018    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           30.78
      11/3/2018    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          159.58
      11/3/2018    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/3/2018    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    27.35
      11/3/2018    709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00382907 - PO System           287.67
      11/3/2018    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          215.66
      11/3/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      11/3/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                            8
      11/3/2018    709   RC0030   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             473.88
      11/3/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/3/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.16
      11/3/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      11/3/2018    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00382339 - PO System           109.47
      11/3/2018    709   RC0089   Owner Operator   Broker Pay Void/Reissue        ACH Request                           3225.77
      11/3/2018    709   RC0089   Owner Operator   Broker Pay Void/Reissue        Void Ck # 973088                     -3225.77
      11/3/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      11/3/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                           13
      11/3/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      11/3/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          389.56
      11/3/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                       33.64
      11/3/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/3/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.22
      11/3/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      11/3/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
      11/3/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      11/3/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
      11/3/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/3/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/3/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.11
      11/3/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          463.16
      11/3/2018    709   RL0062   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             398.47
      11/3/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                       33.64
      11/3/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/3/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.15
      11/3/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          512.16
      11/3/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      11/3/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           13
      11/3/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            100
      11/3/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.92
      11/3/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          468.42
      11/3/2018    709   RL0180   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax              47.18
      11/3/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                       33.64
      11/3/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/3/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    51.57
      11/3/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism            2.5
      11/3/2018    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                          350.65
      11/3/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                     27.48
      11/3/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                        8.75
      11/3/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                           13
      11/3/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.16
      11/3/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          360.49
      11/3/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          475.61
      11/3/2018    709   RM0026   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             237.41
      11/3/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/3/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        31.25
      11/3/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
      11/3/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                           13
      11/3/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.35
      11/3/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      11/3/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      11/3/2018    709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00381774 - PO System          182.53
      11/3/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 219241 Q1202 Truck Leas        278.76
      11/3/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      11/3/2018    709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 219080 HVUT Form 2290          213.03
      11/3/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      11/3/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.11
      11/3/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.54
      11/3/2018    709   RR0123   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            185.14
      11/3/2018    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      11/3/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      11/3/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      11/3/2018    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00383749 - PO System          183.45
      11/3/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 219288 Q1248                   311.97
      11/3/2018    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          47.02
      11/3/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      11/3/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      11/3/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.01
      11/3/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.89
      11/3/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.83
      11/3/2018    709   SB0103   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            283.18
      11/3/2018    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         250.15
      11/3/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      11/3/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      11/3/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 219238 Sub Lease               388.33
      11/3/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      11/3/2018    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      11/3/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/3/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           592
      11/3/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           398
      11/3/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
      11/3/2018    709   SM0109   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax              53.8
      11/3/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      11/3/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      11/3/2018    709   SM0109   Owner Operator   Repair Order                   CTMS - 219372 REPAIRS                 288.08
      11/3/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      11/3/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      11/3/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/3/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      11/3/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                              80
      11/3/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/3/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/3/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      11/3/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.17
      11/3/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.9
      11/3/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.84
      11/3/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.95
      11/3/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.45
      11/3/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.47
      11/3/2018    709   SN0019   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            208.92
      11/3/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      11/3/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      11/3/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      11/3/2018    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/3/2018    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/3/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.79
      11/3/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.55
      11/3/2018    709   VB0015   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            222.98
      11/3/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      11/3/2018    709   VB0015   Owner Operator   Truck Payment                  CTMS - 219286 Tractor Sub leas        242.03
      11/3/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      11/3/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/3/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      11/3/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/3/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/3/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/3/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/3/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      11/3/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.77
      11/3/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.59
      11/3/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.97
      11/3/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.07
      11/3/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.23
      11/3/2018    709   VJ0006   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            167.48
      11/3/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      11/3/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/3/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      11/3/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      11/3/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/3/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      11/3/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      11/3/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/3/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/3/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/3/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/3/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.78
      11/3/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.95
      11/3/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.66
      11/3/2018    709   WH0087   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            142.08
      11/3/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      11/3/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 219288 Q1238 Lease             311.97
      11/3/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      11/3/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      11/3/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          17.84
      11/3/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/3/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      11/3/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          464.3
      11/3/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.37
      11/3/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.52
      11/3/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      11/3/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/3/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      11/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             37
      11/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      11/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      11/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.12
      11/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.74
      11/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.44
      11/3/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.74
      11/3/2018    742   DA0067   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             44.57
      11/3/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      11/3/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/3/2018    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      11/3/2018    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.45
      11/3/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.91
      11/3/2018    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.14
      11/3/2018    742   DC0117   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             65.84
      11/3/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      11/3/2018    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 219339 HVUT Form 2290            110
      11/3/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      11/3/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/3/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/3/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.66
      11/3/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.72
      11/3/2018    742   DS0254   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            252.59
      11/3/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      11/3/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      11/3/2018    742   DS0254   Owner Operator   T Chek Fee                     ExpressCheck Fee                        10.5
      11/3/2018    742   DS0254   Owner Operator   T Chek Fee                     Tractor Repair 33487                 1050.27
      11/3/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 219341 Trk 33487 Lease          434.2
      11/3/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/3/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      11/3/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.75

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      11/3/2018    742   EA0039   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax              0.03
      11/3/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      11/3/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/3/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/3/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      11/3/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         611.88
      11/3/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.08
      11/3/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.39
      11/3/2018    742   EN0016   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            133.87
      11/3/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      11/3/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      11/3/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/3/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      11/3/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      11/3/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      11/3/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      11/3/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      11/3/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      11/3/2018    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      11/3/2018    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         736.25
      11/3/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      11/3/2018    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2018 - 34329                       100
      11/3/2018    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      11/3/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/3/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      11/3/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.97
      11/3/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.48
      11/3/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.77
      11/3/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.97
      11/3/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.17
      11/3/2018    742   JS0390   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            132.77
      11/3/2018    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2018 - 34327                       100
      11/3/2018    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      11/3/2018    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/3/2018    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      11/3/2018    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      11/3/2018    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/3/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      11/3/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      11/3/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.13
      11/3/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.25
      11/3/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.67
      11/3/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.97
      11/3/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      11/3/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      11/3/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      11/3/2018    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      11/3/2018    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      11/3/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/3/2018    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/3/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.59
      11/3/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.98
      11/3/2018    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.97
      11/3/2018    742   NG0024   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            299.21
      11/3/2018    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/3/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      11/3/2018    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      11/3/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/3/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      11/3/2018    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 10-27         232.96
      11/3/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/3/2018    742   OS0018   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            748.26
      11/3/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       11/3/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
       11/3/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       11/3/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.78
       11/3/2018   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       11/3/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.83
       11/3/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.81
       11/3/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.03
       11/3/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.76
       11/3/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.19
       11/3/2018   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/3/2018   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       11/3/2018   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       11/3/2018   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       11/3/2018   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       11/3/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.98
       11/3/2018   742   RS0342   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            153.38
       11/3/2018   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/3/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       11/3/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       11/3/2018   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       11/3/2018   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       11/3/2018   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/3/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       11/3/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       11/3/2018   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       11/3/2018   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       11/3/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.72
       11/3/2018   742   TH0130   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            -42.31
       11/3/2018   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/3/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       11/3/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       11/3/2018   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
       11/3/2018   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               25
       11/3/2018   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       11/3/2018   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       11/3/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.58
       11/3/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.83
       11/3/2018   843   EI0003   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            350.92
       11/3/2018   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/3/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       11/3/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      11/10/2018   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      11/10/2018   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      11/10/2018   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.52
      11/10/2018   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      11/10/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      11/10/2018   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      11/10/2018   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      11/10/2018   709   AR0064   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      11/10/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.19
      11/10/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.97
      11/10/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.52
      11/10/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.27
      11/10/2018   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      11/10/2018   709   AR0064   Owner Operator   Truck Payment                  CTMS - 219701 Q13147 Lease            440.14
      11/10/2018   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      11/10/2018   709   BM0030   Owner Operator   Driver Excellence Program      NM-3580110484                            -50
      11/10/2018   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          41.25
      11/10/2018   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      11/10/2018   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      11/10/2018   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/10/2018   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/10/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.12
      11/10/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.66
      11/10/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.01
      11/10/2018   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
      11/10/2018   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      11/10/2018   709   CC0134   Owner Operator   Truck Payment                  CTMS - 219593 Q13168 sub lease        352.68
      11/10/2018   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/10/2018   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13

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      11/10/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/10/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/10/2018   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         613.35
      11/10/2018   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          695.5
      11/10/2018   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      11/10/2018   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      11/10/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/10/2018   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      11/10/2018   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/10/2018   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      11/10/2018   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/10/2018   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/10/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.34
      11/10/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.06
      11/10/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.32
      11/10/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.66
      11/10/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.34
      11/10/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.54
      11/10/2018   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      11/10/2018   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      11/10/2018   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      11/10/2018   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      11/10/2018   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      11/10/2018   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          533.9
      11/10/2018   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      11/10/2018   709   CS0091   Owner Operator   Truck Payment                  CTMS - 219592 Q1201                   278.76
      11/10/2018   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/10/2018   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      11/10/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.51
      11/10/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         592.11
      11/10/2018   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      11/10/2018   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      11/10/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 219344 Sublease                338.99
      11/10/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 219402 Truck Rental              500
      11/10/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 219647 Sublease                338.99
      11/10/2018   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      11/10/2018   709   DM0257   Owner Operator   Driver Excellence Program      CA-1680701320                            -50
      11/10/2018   709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   709   DM0257   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/10/2018   709   DM0257   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/10/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.69
      11/10/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.99
      11/10/2018   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      11/10/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      11/10/2018   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      11/10/2018   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/10/2018   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      11/10/2018   709   DS0049   Owner Operator   Driver Excellence Program      NV-7177001575                            -50
      11/10/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/10/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/10/2018   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.94
      11/10/2018   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.87
      11/10/2018   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      11/10/2018   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      11/10/2018   709   DS0049   Owner Operator   Repair Order                   CTMS - 219742 NO REPAIR              -263.81
      11/10/2018   709   DS0049   Owner Operator   Tire Fee                       Tire Fee: 2196574                         16
      11/10/2018   709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00386579 - PO System          389.37
      11/10/2018   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      11/10/2018   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      11/10/2018   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      11/10/2018   709   DS0225   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      11/10/2018   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         619.68
      11/10/2018   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      11/10/2018   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/10/2018   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      11/10/2018   709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50

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      11/10/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/10/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/10/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/10/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/10/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.22
      11/10/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.93
      11/10/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.21
      11/10/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.37
      11/10/2018   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      11/10/2018   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/10/2018   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      11/10/2018   709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-3          702.35
      11/10/2018   709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-3          225.78
      11/10/2018   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      11/10/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.61
      11/10/2018   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      11/10/2018   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      11/10/2018   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00384245 - PO System          171.05
      11/10/2018   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      11/10/2018   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      11/10/2018   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      11/10/2018   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      11/10/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/10/2018   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      11/10/2018   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      11/10/2018   709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-17        -73.71
      11/10/2018   709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-17          -341
      11/10/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.56
      11/10/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            347
      11/10/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            256
      11/10/2018   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      11/10/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      11/10/2018   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      11/10/2018   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      11/10/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.5
      11/10/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.22
      11/10/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.56
      11/10/2018   709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 470.04
      11/10/2018   709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      11/10/2018   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      11/10/2018   709   FS0039   Owner Operator   Truck Payment                  CTMS - 219715 truck lease 3304        434.29
      11/10/2018   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/10/2018   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      11/10/2018   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/10/2018   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/10/2018   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.61
      11/10/2018   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          673.9
      11/10/2018   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      11/10/2018   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/10/2018   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      11/10/2018   709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-3          198.92
      11/10/2018   709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.02
      11/10/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.02
      11/10/2018   709   GA0051   Owner Operator   IRP License Deduction          LCIL:2018 - 34330                        100
      11/10/2018   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      11/10/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      11/10/2018   709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                            277
      11/10/2018   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      11/10/2018   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      11/10/2018   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.79
      11/10/2018   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.46
      11/10/2018   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      11/10/2018   709   GS0015   Owner Operator   Truck Payment                  CTMS - 219591 Lease                   252.11
      11/10/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                          170.46

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      11/10/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.39
      11/10/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.36
      11/10/2018   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/10/2018   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      11/10/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.25
      11/10/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.69
      11/10/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.96
      11/10/2018   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      11/10/2018   709   HC0023   Owner Operator   Truck Payment                  CTMS - 219584 Q13170                  352.68
      11/10/2018   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      11/10/2018   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      11/10/2018   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/10/2018   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/10/2018   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         584.08
      11/10/2018   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          576.1
      11/10/2018   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      11/10/2018   709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00384244 - PO System           855.5
      11/10/2018   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/10/2018   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      11/10/2018   709   HG0027   Owner Operator   Driver Excellence Program      NM-3738105275                            -50
      11/10/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.38
      11/10/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.01
      11/10/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.88
      11/10/2018   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      11/10/2018   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/10/2018   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      11/10/2018   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/10/2018   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.32
      11/10/2018   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         582.02
      11/10/2018   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      11/10/2018   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      11/10/2018   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/10/2018   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      11/10/2018   709   IR0002   Owner Operator   Driver Excellence Program      CA-1376600315                            -50
      11/10/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          378.7
      11/10/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.9
      11/10/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.08
      11/10/2018   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      11/10/2018   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      11/10/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/10/2018   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/10/2018   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      11/10/2018   709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.94
      11/10/2018   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.97
      11/10/2018   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      11/10/2018   709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/10/2018   709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                          13
      11/10/2018   709   JA0156   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/10/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/10/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/10/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/10/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.01
      11/10/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.02
      11/10/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.3
      11/10/2018   709   JA0156   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      42.19
      11/10/2018   709   JA0156   Owner Operator   Repair Order                   CTMS - 219779 TRACTOR REPAIR          256.35
      11/10/2018   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      11/10/2018   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      11/10/2018   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      11/10/2018   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      11/10/2018   709   JC0292   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            101.99
      11/10/2018   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      11/10/2018   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD             42.19
      11/10/2018   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD             42.19
      11/10/2018   709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00381827 - PO System        728.01
      11/10/2018   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      11/10/2018   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                         8
      11/10/2018   709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                           50
      11/10/2018   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/10/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    11.72
      11/10/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism            2.5
      11/10/2018   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/10/2018   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      11/10/2018   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -1000
      11/10/2018   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                          500
      11/10/2018   709   JG0017   Owner Operator   Express Check                  T-Check Payment                       1000
      11/10/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           400
      11/10/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4
      11/10/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       607.85
      11/10/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       687.64
      11/10/2018   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                    33.64
      11/10/2018   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/10/2018   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      11/10/2018   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      11/10/2018   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      11/10/2018   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      11/10/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      11/10/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      11/10/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       453.77
      11/10/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       512.79
      11/10/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        637.6
      11/10/2018   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                    33.64
      11/10/2018   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/10/2018   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      11/10/2018   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00384778 - PO System         97.07
      11/10/2018   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      11/10/2018   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      11/10/2018   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      11/10/2018   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/10/2018   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/10/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       444.92
      11/10/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       451.03
      11/10/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.14
      11/10/2018   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/10/2018   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    35.16
      11/10/2018   709   JG0092   Owner Operator   Truck Payment                  CTMS - 219630 TRUCK RENTAL             100
      11/10/2018   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      11/10/2018   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      11/10/2018   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      11/10/2018   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       290.56
      11/10/2018   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        35.19
      11/10/2018   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/10/2018   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/10/2018   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      11/10/2018   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      11/10/2018   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.51
      11/10/2018   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      11/10/2018   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      11/10/2018   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       544.08
      11/10/2018   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/10/2018   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      11/10/2018   709   JR0099   Owner Operator   Truck Payment                  CTMS - 219552 Truck Lease           278.76
      11/10/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      11/10/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      11/10/2018   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      11/10/2018   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      11/10/2018   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/10/2018   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      11/10/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       412.04
      11/10/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       460.91
      11/10/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       386.94
      11/10/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         2.51
      11/10/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      11/10/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      11/10/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5

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      11/10/2018   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                          36.54
      11/10/2018   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      11/10/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.36
      11/10/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.51
      11/10/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.78
      11/10/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.21
      11/10/2018   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      11/10/2018   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/10/2018   709   LL0160   Owner Operator   Driver Excellence Program      CA-1788701538                            -50
      11/10/2018   709   LL0160   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax              2.18
      11/10/2018   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      11/10/2018   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      11/10/2018   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      11/10/2018   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/10/2018   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/10/2018   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         669.71
      11/10/2018   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.76
      11/10/2018   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      11/10/2018   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      11/10/2018   709   LS0023   Owner Operator   Repair Order                   CTMS - 219742 REPAIRS                 263.81
      11/10/2018   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/10/2018   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      11/10/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.59
      11/10/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.09
      11/10/2018   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      11/10/2018   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/10/2018   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      11/10/2018   709   MD0122   Owner Operator   Driver Excellence Program      CA-2003900938                            -50
      11/10/2018   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      11/10/2018   709   MD0122   Owner Operator   Repair Order                   CTMS - 219630 REPAIR PARTS            543.93
      11/10/2018   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      11/10/2018   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      11/10/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.18
      11/10/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.28
      11/10/2018   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      11/10/2018   709   ME0053   Owner Operator   Truck Payment                  CTMS - 219593 Q1113 Lease             252.11
      11/10/2018   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/10/2018   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/10/2018   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      11/10/2018   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.69
      11/10/2018   709   MG0067   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            135.32
      11/10/2018   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      11/10/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      11/10/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/10/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/10/2018   709   MG0067   Owner Operator   Tire Fee                       Tire Fee: 2193259                         32
      11/10/2018   709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00384779 - PO System           412.5
      11/10/2018   709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00384779 - PO System           412.5
      11/10/2018   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/10/2018   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      11/10/2018   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      11/10/2018   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            260
      11/10/2018   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.6
      11/10/2018   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         705.24
      11/10/2018   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      11/10/2018   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      11/10/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/10/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      11/10/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      11/10/2018   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      11/10/2018   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      11/10/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.67
      11/10/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.97
      11/10/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.09

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      11/10/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.61
      11/10/2018   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      11/10/2018   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   NB0029   Owner Operator   Permits1                       CUST:2018 - 32986                     401.67
      11/10/2018   709   NB0029   Owner Operator   Permits1                       ID06:2018 - 32986                         11
      11/10/2018   709   NB0029   Owner Operator   Permits1                       ID06:2018 - Q1108                        -11
      11/10/2018   709   NB0029   Owner Operator   Permits1                       IL02:2018 - 32986                       3.75
      11/10/2018   709   NB0029   Owner Operator   Permits1                       IL02:2018 - Q1108                      -3.75
      11/10/2018   709   NB0029   Owner Operator   Permits1                       NM07:2018 - 32986                        5.5
      11/10/2018   709   NB0029   Owner Operator   Permits1                       NM07:2018 - Q1108                       -5.5
      11/10/2018   709   NB0029   Owner Operator   Permits1                       NY13:2016 - 32986                         19
      11/10/2018   709   NB0029   Owner Operator   Permits1                       NY13:2016 - Q1108                        -19
      11/10/2018   709   NB0029   Owner Operator   Permits1                       NY13:2017 - Q1108                       -1.5
      11/10/2018   709   NB0029   Owner Operator   Permits1                       OR16:2018 - 32986                        8.5
      11/10/2018   709   NB0029   Owner Operator   Permits1                       OR16:2018 - Q1108                       -8.5
      11/10/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      11/10/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      11/10/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      11/10/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      11/10/2018   709   NB0029   Owner Operator   Truck Payment                  CTMS - 219590 32986 Lease             314.03
      11/10/2018   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      11/10/2018   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      11/10/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              60
      11/10/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/10/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/10/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      11/10/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.42
      11/10/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.27
      11/10/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.27
      11/10/2018   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      11/10/2018   709   NG0005   Owner Operator   Tire Fee                       Tire Fee: 2194793                         12
      11/10/2018   709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00385932 - PO System          479.31
      11/10/2018   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      11/10/2018   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      11/10/2018   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      11/10/2018   709   NT9564   Owner Operator   Tire Fee                       Tire Fee: 2195040                         20
      11/10/2018   709   NT9564   Owner Operator   Tire Purchase                  PO: 709-00386394 - PO System          413.89
      11/10/2018   709   NT9564   Owner Operator   Truck Payment                  CTMS - 219780 Truck 73130 Leas        196.65
      11/10/2018   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/10/2018   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      11/10/2018   709   OJ0007   Owner Operator   Driver Excellence Program      CA-1822401942                            -50
      11/10/2018   709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.04
      11/10/2018   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      11/10/2018   709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00382907 - PO System          287.67
      11/10/2018   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      11/10/2018   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/10/2018   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      11/10/2018   709   RC0030   Owner Operator   Driver Excellence Program      CA-1376600316                            -50
      11/10/2018   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         604.09
      11/10/2018   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         594.28
      11/10/2018   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      11/10/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/10/2018   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/10/2018   709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      11/10/2018   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      11/10/2018   709   RL0017   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      11/10/2018   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/10/2018   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.02
      11/10/2018   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         724.06
      11/10/2018   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      11/10/2018   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      11/10/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/10/2018   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      11/10/2018   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/10/2018   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      11/10/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/10/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      11/10/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/10/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/10/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.84
      11/10/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.42
      11/10/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.87
      11/10/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.68
      11/10/2018   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      11/10/2018   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      11/10/2018   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      11/10/2018   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/10/2018   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      11/10/2018   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/10/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.54
      11/10/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         607.74
      11/10/2018   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      11/10/2018   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      11/10/2018   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      11/10/2018   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      11/10/2018   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      11/10/2018   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      11/10/2018   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      11/10/2018   709   RM0026   Owner Operator   Driver Excellence Program      AZ-0Y2H000057                            -50
      11/10/2018   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.56
      11/10/2018   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.37
      11/10/2018   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.43
      11/10/2018   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      11/10/2018   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      11/10/2018   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      11/10/2018   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.34
      11/10/2018   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.96
      11/10/2018   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      11/10/2018   709   RP0082   Owner Operator   Repair Order                   CTMS - 219630 REPAIR                    180
      11/10/2018   709   RP0082   Owner Operator   Truck Payment                  CTMS - 219552 Q1202 Truck Leas        278.76
      11/10/2018   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      11/10/2018   709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 219574 Trailer wash 701           -42
      11/10/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          556.6
      11/10/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.53
      11/10/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          394.7
      11/10/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                           178
      11/10/2018   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      11/10/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      11/10/2018   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      11/10/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          352.4
      11/10/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.35
      11/10/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          374.5
      11/10/2018   709   SB0103   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         250.15
      11/10/2018   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      11/10/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      11/10/2018   709   SB0103   Owner Operator   Truck Payment                  CTMS - 219549 Sub Lease               327.29
      11/10/2018   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      11/10/2018   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/10/2018   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      11/10/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/10/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/10/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.88
      11/10/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.56
      11/10/2018   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      11/10/2018   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      11/10/2018   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      11/10/2018   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.91
      11/10/2018   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.45
      11/10/2018   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      11/10/2018   709   VB0015   Owner Operator   Truck Payment                  CTMS - 219590 Tractor Sub leas        242.03
      11/10/2018   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      11/10/2018   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75

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      11/10/2018   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      11/10/2018   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/10/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/10/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            140
      11/10/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      11/10/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      11/10/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      11/10/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/10/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.62
      11/10/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.53
      11/10/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.72
      11/10/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.77
      11/10/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           237
      11/10/2018   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      11/10/2018   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/10/2018   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      11/10/2018   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      11/10/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/10/2018   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      11/10/2018   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      11/10/2018   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            150
      11/10/2018   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      11/10/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.32
      11/10/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.62
      11/10/2018   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      11/10/2018   709   WH0087   Owner Operator   Truck Payment                  CTMS - 219592 Q1238 Lease             311.97
      11/10/2018   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      11/10/2018   742   AP0047   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      11/10/2018   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          41.25
      11/10/2018   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      11/10/2018   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      11/10/2018   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      11/10/2018   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      11/10/2018   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/10/2018   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/10/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.67
      11/10/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.78
      11/10/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.28
      11/10/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.61
      11/10/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.11
      11/10/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.69
      11/10/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.08
      11/10/2018   742   BS0078   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            238.15
      11/10/2018   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          29.66
      11/10/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      11/10/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      11/10/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      11/10/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      11/10/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      11/10/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      11/10/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      11/10/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      11/10/2018   742   BS0078   Owner Operator   Truck Payment                  CTMS - 219264 Lease of Q13151         388.16
      11/10/2018   742   BS0078   Owner Operator   Truck Payment                  CTMS - 219583 Lease of Q13151         388.16
      11/10/2018   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/10/2018   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      11/10/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.04
      11/10/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.58
      11/10/2018   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      11/10/2018   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/10/2018   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      11/10/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.75
      11/10/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.48
      11/10/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.78
      11/10/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.21
      11/10/2018   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      11/10/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      11/10/2018   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      11/10/2018   742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL 83rd St.                    4.9
      11/10/2018   742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL I-57/147th St (Il           6.5
      11/10/2018   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      11/10/2018   742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 219574 Trailer Wash 575           -44
      11/10/2018   742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 219646 HVUT Form 2290            110
      11/10/2018   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      11/10/2018   742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            250
      11/10/2018   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
      11/10/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.62
      11/10/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.39
      11/10/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.81
      11/10/2018   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      11/10/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      11/10/2018   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/10/2018   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      11/10/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.67
      11/10/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.24
      11/10/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.95
      11/10/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.11
      11/10/2018   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      11/10/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/10/2018   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      11/10/2018   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          14.81
      11/10/2018   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/10/2018   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      11/10/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          505.9
      11/10/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.78
      11/10/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.22
      11/10/2018   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      11/10/2018   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      11/10/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/10/2018   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      11/10/2018   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      11/10/2018   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      11/10/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      11/10/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      11/10/2018   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      11/10/2018   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      11/10/2018   742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           500
      11/10/2018   742   JH0148   Owner Operator   IRP License Deduction          LCIL:2018 - 34329                       100
      11/10/2018   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      11/10/2018   742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/10/2018   742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      11/10/2018   742   JS0390   Owner Operator   Driver Excellence Program      CA-1512701744                            -50
      11/10/2018   742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   742   JS0390   Owner Operator   IRP License Deduction          LCIL:2018 - 34327                       100
      11/10/2018   742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      11/10/2018   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/10/2018   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      11/10/2018   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      11/10/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/10/2018   742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL Route 80 (East)             4.9
      11/10/2018   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      11/10/2018   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      11/10/2018   742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.33
      11/10/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.91
      11/10/2018   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      11/10/2018   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      11/10/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      11/10/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25

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      11/10/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      11/10/2018   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      11/10/2018   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      11/10/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.98
      11/10/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.16
      11/10/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.13
      11/10/2018   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      11/10/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      11/10/2018   742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy North - Barr             7
      11/10/2018   742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy South - Barr             7
      11/10/2018   742   NG0024   Owner Operator   Toll Charges                   33252 NTTA Denton Highway East             2
      11/10/2018   742   NG0024   Owner Operator   Toll Charges                   33252 NTTA Exit SH183-COCR-66            2.8
      11/10/2018   742   NG0024   Owner Operator   Toll Charges                   33252 NTTA Exit SH183-COLN-85           5.32
      11/10/2018   742   NG0024   Owner Operator   Toll Charges                   33252 NTTA SH-121/183 East TEX           3.8
      11/10/2018   742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/10/2018   742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      11/10/2018   742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      11/10/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      11/10/2018   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      11/10/2018   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      11/10/2018   742   PC0012   Owner Operator   Advance                        Bal of EFS 201588 s/u pmts              250
      11/10/2018   742   PC0012   Owner Operator   Advance                        Bal of EFS 201588 s/u pmts              250
      11/10/2018   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/10/2018   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/10/2018   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      11/10/2018   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      11/10/2018   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/10/2018   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/10/2018   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/10/2018   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/10/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.29
      11/10/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.84
      11/10/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.77
      11/10/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.83
      11/10/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.96
      11/10/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.56
      11/10/2018   742   PC0012   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            120.48
      11/10/2018   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      11/10/2018   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      11/10/2018   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      11/10/2018   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      11/10/2018   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      11/10/2018   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      11/10/2018   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      11/10/2018   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      11/10/2018   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      11/10/2018   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      11/10/2018   742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/10/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/10/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/10/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/10/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.13
      11/10/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.59
      11/10/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.55
      11/10/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.79
      11/10/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.92
      11/10/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.83
      11/10/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.32
      11/10/2018   742   RF0136   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            102.27
      11/10/2018   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      11/10/2018   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      11/10/2018   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      11/10/2018   742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 219339 FHVUT Form 2290           110
      11/10/2018   742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 219646 FHVUT Form 2290           110
      11/10/2018   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      11/10/2018   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13

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      11/10/2018   742   RN0054   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      11/10/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.58
      11/10/2018   742   RN0054   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            138.52
      11/10/2018   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      11/10/2018   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      11/10/2018   742   RN0054   Owner Operator   Truck Payment                  CTMS - 219251 Missed Payment          353.28
      11/10/2018   742   RN0054   Owner Operator   Truck Payment                  CTMS - 219344 Tractor Lease           353.28
      11/10/2018   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      11/10/2018   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      11/10/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.79
      11/10/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.27
      11/10/2018   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      11/10/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      11/10/2018   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/10/2018   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      11/10/2018   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      11/10/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      11/10/2018   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      11/10/2018   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      11/10/2018   742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 219339 HVUT Form 2290           114.5
      11/10/2018   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      11/10/2018   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      11/10/2018   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/10/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.64
      11/10/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.87
      11/10/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.53
      11/10/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.76
      11/10/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.59
      11/10/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.84
      11/10/2018   742   TC0098   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            385.96
      11/10/2018   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      11/10/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      11/10/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      11/10/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      11/10/2018   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Dixon                     11.65
      11/10/2018   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL York Rd.                    4.9
      11/10/2018   742   TC0098   Owner Operator   Truck Payment                  CTMS - 219283 33489 Lease Paym        412.16
      11/10/2018   742   TC0098   Owner Operator   Truck Payment                  CTMS - 219587 33489 Lease Paym        412.16
      11/10/2018   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/10/2018   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      11/10/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.86
      11/10/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.86
      11/10/2018   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      11/10/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/10/2018   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
      11/10/2018   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 15
      11/10/2018   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      11/10/2018   843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      11/10/2018   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      11/10/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         591.35
      11/10/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          44.81
      11/10/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.61
      11/10/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         610.95
      11/10/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          537.5
      11/10/2018   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/10/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      11/10/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      11/17/2018   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      11/17/2018   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      11/17/2018   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.42
      11/17/2018   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      11/17/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      11/17/2018   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      11/17/2018   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      11/17/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.5

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      11/17/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.47
      11/17/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          209.3
      11/17/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.04
      11/17/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.12
      11/17/2018   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      11/17/2018   709   AR0064   Owner Operator   Truck Payment                  CTMS - 220023 Q13147 Lease            440.14
      11/17/2018   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      11/17/2018   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      11/17/2018   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      11/17/2018   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      11/17/2018   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      11/17/2018   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      11/17/2018   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      11/17/2018   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      11/17/2018   709   AV0021   Owner Operator   Charge back by affiliate       CTMS - 219076 HVUT Form 2290            275
      11/17/2018   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      11/17/2018   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      11/17/2018   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      11/17/2018   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      11/17/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          44.24
      11/17/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.19
      11/17/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.7
      11/17/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.47
      11/17/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           325
      11/17/2018   709   AV0021   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax              0.72
      11/17/2018   709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                   112
      11/17/2018   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      11/17/2018   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      11/17/2018   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      11/17/2018   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      11/17/2018   709   AV0021   Owner Operator   Truck Payment                  CTMS - 219071 Q13169 Sublease         352.68
      11/17/2018   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      11/17/2018   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      11/17/2018   709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      11/17/2018   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      11/17/2018   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      11/17/2018   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      11/17/2018   709   BM0030   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            320.93
      11/17/2018   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           6.25
      11/17/2018   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      11/17/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      11/17/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      11/17/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      11/17/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      11/17/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      11/17/2018   709   BM0030   Owner Operator   Tire Purchase                  PO: 709-00383750 - PO System          492.01
      11/17/2018   709   BM0030   Owner Operator   Tire Purchase                  PO: 709-00383750 - PO System          492.01
      11/17/2018   709   BM0030   Owner Operator   Tire Purchase                  PO: 709-00383750 - PO System          492.01
      11/17/2018   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      11/17/2018   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      11/17/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.21
      11/17/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         627.71
      11/17/2018   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
      11/17/2018   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      11/17/2018   709   CC0134   Owner Operator   Truck Payment                  CTMS - 219895 Q13168 sub lease        352.68
      11/17/2018   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/17/2018   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      11/17/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/17/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/17/2018   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.46
      11/17/2018   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      11/17/2018   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      11/17/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/17/2018   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91

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      11/17/2018   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/17/2018   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      11/17/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.74
      11/17/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.31
      11/17/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.29
      11/17/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.67
      11/17/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.9
      11/17/2018   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      11/17/2018   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      11/17/2018   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      11/17/2018   709   CR0064   Owner Operator   Truck Payment                  CTMS - 219823 TRUCK RENTAL              500
      11/17/2018   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      11/17/2018   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      11/17/2018   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.49
      11/17/2018   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      11/17/2018   709   CS0091   Owner Operator   Truck Payment                  CTMS - 219894 Q1201                   278.76
      11/17/2018   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/17/2018   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/17/2018   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      11/17/2018   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      11/17/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.63
      11/17/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.5
      11/17/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.63
      11/17/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.39
      11/17/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.43
      11/17/2018   709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      11/17/2018   709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      11/17/2018   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      11/17/2018   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      11/17/2018   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/17/2018   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      11/17/2018   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/17/2018   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/17/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         637.98
      11/17/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.67
      11/17/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          675.2
      11/17/2018   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      11/17/2018   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      11/17/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 219707 Truck Rental              500
      11/17/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 219957 Sublease                338.99
      11/17/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 220029 Truck Rental              500
      11/17/2018   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      11/17/2018   709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   709   DM0257   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/17/2018   709   DM0257   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/17/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.06
      11/17/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.49
      11/17/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          324.7
      11/17/2018   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      11/17/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      11/17/2018   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      11/17/2018   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/17/2018   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      11/17/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/17/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/17/2018   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         751.09
      11/17/2018   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      11/17/2018   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      11/17/2018   709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00386579 - PO System          389.37
      11/17/2018   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      11/17/2018   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      11/17/2018   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      11/17/2018   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         664.89
      11/17/2018   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          521.6
      11/17/2018   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07

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      11/17/2018   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/17/2018   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      11/17/2018   709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.05
      11/17/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.89
      11/17/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.95
      11/17/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.72
      11/17/2018   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      11/17/2018   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/17/2018   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      11/17/2018   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/17/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/17/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/17/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/17/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/17/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           13.9
      11/17/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.05
      11/17/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         567.16
      11/17/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.99
      11/17/2018   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      11/17/2018   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      11/17/2018   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00384245 - PO System          171.05
      11/17/2018   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      11/17/2018   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      11/17/2018   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      11/17/2018   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      11/17/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/17/2018   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      11/17/2018   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      11/17/2018   709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-10          73.71
      11/17/2018   709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-10           341
      11/17/2018   709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-24           -93
      11/17/2018   709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-24           -93
      11/17/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.34
      11/17/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          392.2
      11/17/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           315
      11/17/2018   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      11/17/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      11/17/2018   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      11/17/2018   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      11/17/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.3
      11/17/2018   709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 199.87
      11/17/2018   709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      11/17/2018   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      11/17/2018   709   FS0039   Owner Operator   Truck Payment                  CTMS - 219823 TRUCK RENTAL              250
      11/17/2018   709   FS0039   Owner Operator   Truck Payment                  CTMS - 220037 truck lease 3304        434.29
      11/17/2018   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/17/2018   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      11/17/2018   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          537.1
      11/17/2018   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      11/17/2018   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/17/2018   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      11/17/2018   709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.17
      11/17/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.51
      11/17/2018   709   GA0051   Owner Operator   IRP License Deduction          LCIL:2018 - 34330                       100
      11/17/2018   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      11/17/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      11/17/2018   709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      11/17/2018   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      11/17/2018   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      11/17/2018   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      11/17/2018   709   GS0015   Owner Operator   Tire Fee                       Tire Fee: 2199079                          8
      11/17/2018   709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00387301 - PO System          176.96
      11/17/2018   709   GS0015   Owner Operator   Truck Payment                  CTMS - 219893 Lease                   252.11

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      11/17/2018   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      11/17/2018   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      11/17/2018   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      11/17/2018   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      11/17/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                           29.54
      11/17/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/17/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.81
      11/17/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           6.43
      11/17/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.86
      11/17/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.76
      11/17/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.61
      11/17/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.75
      11/17/2018   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      11/17/2018   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      11/17/2018   709   GW0043   Owner Operator   Truck Payment                  CTMS - 219705 Q1109 Lease             302.85
      11/17/2018   709   GW0043   Owner Operator   Truck Payment                  CTMS - 220027 Q1109 Lease             302.85
      11/17/2018   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/17/2018   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      11/17/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.13
      11/17/2018   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      11/17/2018   709   HC0023   Owner Operator   Truck Payment                  CTMS - 219888 Q13170                  352.68
      11/17/2018   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      11/17/2018   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      11/17/2018   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.13
      11/17/2018   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         634.21
      11/17/2018   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      11/17/2018   709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00384244 - PO System           855.5
      11/17/2018   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/17/2018   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      11/17/2018   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/17/2018   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/17/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          425.8
      11/17/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.28
      11/17/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.91
      11/17/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.92
      11/17/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.76
      11/17/2018   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      11/17/2018   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/17/2018   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      11/17/2018   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/17/2018   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         613.66
      11/17/2018   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      11/17/2018   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      11/17/2018   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/17/2018   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      11/17/2018   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/17/2018   709   IR0002   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/17/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.5
      11/17/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.15
      11/17/2018   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      33.64
      11/17/2018   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      11/17/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/17/2018   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/17/2018   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      11/17/2018   709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.71
      11/17/2018   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      11/17/2018   709   JA0152   Owner Operator   Repair Order                   CTMS - 219823 REPAIRS                 289.27
      11/17/2018   709   JA0152   Owner Operator   Repair Order                   CTMS - 220090 REPAIRS                 289.27
      11/17/2018   709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/17/2018   709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                          13
      11/17/2018   709   JA0156   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/17/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3

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      11/17/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.96
      11/17/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.98
      11/17/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.64
      11/17/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.24
      11/17/2018   709   JA0156   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      42.19
      11/17/2018   709   JA0156   Owner Operator   Repair Order                   CTMS - 220097 TRACTOR REPAIR          256.35
      11/17/2018   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      11/17/2018   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      11/17/2018   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      11/17/2018   709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      11/17/2018   709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 220166 Trailer wash 702        -70.88
      11/17/2018   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      11/17/2018   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      11/17/2018   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         195.47
      11/17/2018   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/17/2018   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/17/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.56
      11/17/2018   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      11/17/2018   709   JC0292   Owner Operator   Tire Purchase                  PO: 709-00381827 - PO System          143.63
      11/17/2018   709   JC0292   Owner Operator   Truck Payment                  CTMS - 219340 Q13197 Lease            276.63
      11/17/2018   709   JC0292   Owner Operator   Truck Payment                  CTMS - 219643 Q13197 Lease            276.63
      11/17/2018   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/17/2018   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      11/17/2018   709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      11/17/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      11/17/2018   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/17/2018   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      11/17/2018   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      11/17/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/17/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/17/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/17/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/17/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.03
      11/17/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.89
      11/17/2018   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      11/17/2018   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      11/17/2018   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      11/17/2018   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/17/2018   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      11/17/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/17/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/17/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.55
      11/17/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.45
      11/17/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         644.81
      11/17/2018   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      11/17/2018   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      11/17/2018   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00384778 - PO System           97.07
      11/17/2018   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      11/17/2018   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/17/2018   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      11/17/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.99
      11/17/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.94
      11/17/2018   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      11/17/2018   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      11/17/2018   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      11/17/2018   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/17/2018   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/17/2018   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           4.84
      11/17/2018   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.84
      11/17/2018   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      11/17/2018   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      11/17/2018   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      11/17/2018   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.06
      11/17/2018   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6

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      11/17/2018   709   JR0099   Owner Operator   Truck Payment                  CTMS - 219847 Truck Lease             278.76
      11/17/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      11/17/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      11/17/2018   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      11/17/2018   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/17/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.5
      11/17/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.11
      11/17/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.28
      11/17/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      11/17/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      11/17/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      11/17/2018   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      11/17/2018   709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      11/17/2018   709   KT0055   Owner Operator   Charge back by affiliate       CTMS - 219483 HVUT Form 2290          113.57
      11/17/2018   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      11/17/2018   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      11/17/2018   709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   709   KT0055   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/17/2018   709   KT0055   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/17/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.14
      11/17/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.94
      11/17/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.59
      11/17/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.62
      11/17/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.88
      11/17/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.87
      11/17/2018   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      11/17/2018   709   KT0055   Owner Operator   Repair Order                   CTMS - 219630 REPAIRS                 219.35
      11/17/2018   709   KT0055   Owner Operator   T Chek Fee                     ExpressCheck Fee                       11.69
      11/17/2018   709   KT0055   Owner Operator   T Chek Fee                     ExpressCheck Fee                       19.47
      11/17/2018   709   KT0055   Owner Operator   T Chek Fee                     Towing Q13156                        1168.75
      11/17/2018   709   KT0055   Owner Operator   T Chek Fee                     Tractor Repair Q13156                1946.76
      11/17/2018   709   KT0055   Owner Operator   Tire Purchase                  PO: 709-00384777 - PO System          217.38
      11/17/2018   709   KT0055   Owner Operator   Tire Purchase                  PO: 709-00384777 - PO System          217.38
      11/17/2018   709   KT0055   Owner Operator   Truck Payment                  CTMS - 219587 Q13156 Lease            388.16
      11/17/2018   709   KT0055   Owner Operator   Truck Payment                  CTMS - 219891 Q13156 Lease            388.16
      11/17/2018   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      11/17/2018   709   LS0023   Owner Operator   Charge back by affiliate       CTMS - 220166 TL9212 wash                -38
      11/17/2018   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      11/17/2018   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/17/2018   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/17/2018   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.12
      11/17/2018   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         843.26
      11/17/2018   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.54
      11/17/2018   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      11/17/2018   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/17/2018   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      11/17/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.55
      11/17/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.32
      11/17/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.37
      11/17/2018   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      11/17/2018   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/17/2018   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      11/17/2018   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      11/17/2018   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      11/17/2018   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      11/17/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          410.4
      11/17/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.36
      11/17/2018   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      11/17/2018   709   ME0053   Owner Operator   Truck Payment                  CTMS - 219895 Q1113 Lease             252.11
      11/17/2018   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/17/2018   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      11/17/2018   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.97
      11/17/2018   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.37
      11/17/2018   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16

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      11/17/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/17/2018   709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00384779 - PO System           412.5
      11/17/2018   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/17/2018   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      11/17/2018   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      11/17/2018   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            240
      11/17/2018   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.4
      11/17/2018   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         571.44
      11/17/2018   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      11/17/2018   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      11/17/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/17/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      11/17/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      11/17/2018   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      11/17/2018   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      11/17/2018   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/17/2018   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/17/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         796.14
      11/17/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.53
      11/17/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.58
      11/17/2018   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      11/17/2018   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      11/17/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      11/17/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      11/17/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      11/17/2018   709   NB0029   Owner Operator   Truck Payment                  CTMS - 219891 32986 Lease             314.03
      11/17/2018   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      11/17/2018   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      11/17/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/17/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/17/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.74
      11/17/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.31
      11/17/2018   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      11/17/2018   709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00385932 - PO System          479.31
      11/17/2018   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      11/17/2018   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      11/17/2018   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      11/17/2018   709   NT9564   Owner Operator   Tire Purchase                  PO: 709-00386394 - PO System          413.89
      11/17/2018   709   NT9564   Owner Operator   Truck Payment                  CTMS - 220099 Truck 73130 Leas        196.65
      11/17/2018   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/17/2018   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      11/17/2018   709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.77
      11/17/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.75
      11/17/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.02
      11/17/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.8
      11/17/2018   709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34370                       100
      11/17/2018   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   OJ0007   Owner Operator   Permits                        IL02:2018 - 34370                       3.75
      11/17/2018   709   OJ0007   Owner Operator   Permits                        NM07:2018 - 34370                        5.5
      11/17/2018   709   OJ0007   Owner Operator   Permits                        NY13:2018 - 34370                        1.5
      11/17/2018   709   OJ0007   Owner Operator   Permits                        OR16:2018 - 34370                        8.5
      11/17/2018   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      11/17/2018   709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00382907 - PO System          287.67
      11/17/2018   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      11/17/2018   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/17/2018   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      11/17/2018   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.62
      11/17/2018   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.76
      11/17/2018   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      11/17/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/17/2018   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/17/2018   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      11/17/2018   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/17/2018   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.85
      11/17/2018   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      11/17/2018   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22

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      11/17/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/17/2018   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      11/17/2018   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/17/2018   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      11/17/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/17/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/17/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/17/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/17/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         580.04
      11/17/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.31
      11/17/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.38
      11/17/2018   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      11/17/2018   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      11/17/2018   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      11/17/2018   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/17/2018   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      11/17/2018   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/17/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         613.12
      11/17/2018   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      11/17/2018   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      11/17/2018   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      11/17/2018   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      11/17/2018   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      11/17/2018   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      11/17/2018   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      11/17/2018   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.55
      11/17/2018   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          271.9
      11/17/2018   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      11/17/2018   709   RM0026   Owner Operator   Tire Fee                       Tire Fee: 2199078                          8
      11/17/2018   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00386538 - PO System          190.21
      11/17/2018   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      11/17/2018   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      11/17/2018   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.76
      11/17/2018   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.59
      11/17/2018   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.83
      11/17/2018   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.46
      11/17/2018   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      11/17/2018   709   RP0082   Owner Operator   Truck Payment                  CTMS - 219822 TRUCK RENTAL                75
      11/17/2018   709   RP0082   Owner Operator   Truck Payment                  CTMS - 219847 Q1202 Truck Leas        278.76
      11/17/2018   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      11/17/2018   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      11/17/2018   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      11/17/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/17/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/17/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.39
      11/17/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.43
      11/17/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.02
      11/17/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.38
      11/17/2018   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      11/17/2018   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      11/17/2018   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      11/17/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      11/17/2018   709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00383749 - PO System          183.45
      11/17/2018   709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00383749 - PO System          183.45
      11/17/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL 163rd St.                   6.5
      11/17/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL 95th St.                    4.9
      11/17/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL Aurora                      6.5
      11/17/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL DeKalb                     15.5
      11/17/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL Dixon                      15.5
      11/17/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL Joliet Rd.                 2.45
      11/17/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL York Rd.                    6.5
      11/17/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 OTC Westgate                        40
      11/17/2018   709   RR0123   Owner Operator   Truck Payment                  CTMS - 219592 Q1248                   311.97
      11/17/2018   709   RR0123   Owner Operator   Truck Payment                  CTMS - 219894 Q1248                   311.97
      11/17/2018   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      11/17/2018   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      11/17/2018   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      11/17/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.62

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      11/17/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.72
      11/17/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.66
      11/17/2018   709   SB0103   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          250.15
      11/17/2018   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/17/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      11/17/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      11/17/2018   709   SB0103   Owner Operator   Truck Payment                  CTMS - 219549 Sub Lease                 61.04
      11/17/2018   709   SB0103   Owner Operator   Truck Payment                  CTMS - 219823 TRUCK RENTAL               500
      11/17/2018   709   SB0103   Owner Operator   Truck Payment                  CTMS - 219844 Sub Lease                388.33
      11/17/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          342.69
      11/17/2018   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                     59.45
      11/17/2018   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      11/17/2018   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      11/17/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/17/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/17/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           51.54
      11/17/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.09
      11/17/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          154.08
      11/17/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.52
      11/17/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.96
      11/17/2018   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/17/2018   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
      11/17/2018   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      11/17/2018   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      11/17/2018   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-24       -1473.28
      11/17/2018   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           465.4
      11/17/2018   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/17/2018   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
      11/17/2018   709   VB0015   Owner Operator   Truck Payment                  CTMS - 219893 Tractor Sub leas         242.03
      11/17/2018   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    154.84
      11/17/2018   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      11/17/2018   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      11/17/2018   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      11/17/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             160
      11/17/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.6
      11/17/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.21
      11/17/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.17
      11/17/2018   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/17/2018   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.54
      11/17/2018   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      11/17/2018   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      11/17/2018   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/17/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
      11/17/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      11/17/2018   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      11/17/2018   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      11/17/2018   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/17/2018   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/17/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.31
      11/17/2018   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/17/2018   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 60.47
      11/17/2018   709   WH0087   Owner Operator   Truck Payment                  CTMS - 219823 TRUCK RENTAL               500
      11/17/2018   709   WH0087   Owner Operator   Truck Payment                  CTMS - 219894 Q1238 Lease              311.97
      11/17/2018   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                     8.75
      11/17/2018   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                     8.75
      11/17/2018   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                           13
      11/17/2018   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                           13
      11/17/2018   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                           13
      11/17/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/17/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/17/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/17/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/17/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/17/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/17/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/17/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/17/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/17/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/17/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.52
      11/17/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          118.21
      11/17/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          585.06
      11/17/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.21
      11/17/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          496.88

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      11/17/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.71
      11/17/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.24
      11/17/2018   742   AP0047   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            106.04
      11/17/2018   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           6.25
      11/17/2018   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      11/17/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      11/17/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      11/17/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      11/17/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      11/17/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      11/17/2018   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      11/17/2018   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      11/17/2018   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      11/17/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.23
      11/17/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.35
      11/17/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.99
      11/17/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.3
      11/17/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          409.1
      11/17/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.09
      11/17/2018   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
      11/17/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      11/17/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      11/17/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      11/17/2018   742   BS0078   Owner Operator   Truck Payment                  CTMS - 219892 Lease of Q13151         388.16
      11/17/2018   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/17/2018   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      11/17/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.32
      11/17/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.25
      11/17/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.21
      11/17/2018   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      11/17/2018   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.24
      11/17/2018   742   DA0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 11-24         -43.4
      11/17/2018   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/17/2018   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      11/17/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.51
      11/17/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.01
      11/17/2018   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      11/17/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/17/2018   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      11/17/2018   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          32.69
      11/17/2018   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          34.34
      11/17/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      11/17/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      11/17/2018   742   ED0041   Owner Operator   Repair Order                   TRACTOR 32897                          45.73
      11/17/2018   742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL Route 80 (East)             4.9
      11/17/2018   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          70.68
      11/17/2018   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      11/17/2018   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      11/17/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      11/17/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      11/17/2018   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      11/17/2018   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      11/17/2018   742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         739.12
      11/17/2018   742   JH0148   Owner Operator   IRP License Deduction          LCIL:2018 - 34329                       100
      11/17/2018   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      11/17/2018   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/17/2018   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      11/17/2018   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      11/17/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/17/2018   742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL 163rd St.                   6.5
      11/17/2018   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      11/17/2018   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      11/17/2018   742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.09

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      11/17/2018   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      11/17/2018   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      11/17/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      11/17/2018   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      11/17/2018   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      11/17/2018   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      11/17/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      11/17/2018   742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/17/2018   742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      11/17/2018   742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      11/17/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      11/17/2018   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      11/17/2018   742   PC0012   Owner Operator   Advance                        Bal of EFS 201588 s/u pmts              250
      11/17/2018   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/17/2018   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      11/17/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.42
      11/17/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.48
      11/17/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.02
      11/17/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.44
      11/17/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.13
      11/17/2018   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      11/17/2018   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      11/17/2018   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      11/17/2018   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      11/17/2018   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      11/17/2018   742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/17/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/17/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/17/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.85
      11/17/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.06
      11/17/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.11
      11/17/2018   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      11/17/2018   742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                         2.5
      11/17/2018   742   RF0136   Owner Operator   T Chek Fee                     Tractor Repair 34182                    250
      11/17/2018   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      11/17/2018   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      11/17/2018   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      11/17/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      11/17/2018   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/17/2018   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      11/17/2018   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      11/17/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      11/17/2018   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      11/17/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.91
      11/17/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.47
      11/17/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.96
      11/17/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.89
      11/17/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.53
      11/17/2018   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      11/17/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      11/17/2018   742   TC0098   Owner Operator   Truck Payment                  CTMS - 219891 33489 Lease Paym        397.09
      11/17/2018   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      11/17/2018   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      11/17/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           2.08
      11/17/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.03
      11/17/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.18
      11/17/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           317
      11/17/2018   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/17/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      11/17/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      11/24/2018   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      11/24/2018   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      11/24/2018   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.59
      11/24/2018   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79

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      11/24/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      11/24/2018   709   AN0007   Owner Operator   Repair Order                   CTMS - 220350 Solvay fuel            -155.39
      11/24/2018   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      11/24/2018   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      11/24/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.61
      11/24/2018   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      11/24/2018   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      11/24/2018   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      11/24/2018   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/24/2018   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/24/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.17
      11/24/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.12
      11/24/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.63
      11/24/2018   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
      11/24/2018   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      11/24/2018   709   CC0134   Owner Operator   Truck Payment                  CTMS - 220258 Q13168 sub lease        352.68
      11/24/2018   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      11/24/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/24/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/24/2018   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          639.5
      11/24/2018   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      11/24/2018   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      11/24/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/24/2018   709   CM0119   Owner Operator   Tire Fee                       Tire Fee: 2202009                          8
      11/24/2018   709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00387809 - PO System          193.44
      11/24/2018   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      11/24/2018   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/24/2018   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      11/24/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.16
      11/24/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.68
      11/24/2018   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      11/24/2018   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      11/24/2018   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      11/24/2018   709   CR0064   Owner Operator   Truck Payment                  CTMS - 220167 TRUCK RENTAL              100
      11/24/2018   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      11/24/2018   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      11/24/2018   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.44
      11/24/2018   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      11/24/2018   709   CS0091   Owner Operator   Truck Payment                  CTMS - 220258 Q1201                   278.76
      11/24/2018   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/24/2018   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      11/24/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.92
      11/24/2018   709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      11/24/2018   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      11/24/2018   709   DL0029   Owner Operator   Repair Order                   CTMS - 220168 PARTS                   -17.25
      11/24/2018   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/24/2018   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      11/24/2018   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/24/2018   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/24/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.65
      11/24/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.43
      11/24/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.39
      11/24/2018   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      11/24/2018   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      11/24/2018   709   DL0107   Owner Operator   Repair Order                   CTMS - 220167 REPAIR                      70
      11/24/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 220324 Sublease                338.99
      11/24/2018   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      11/24/2018   709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.62
      11/24/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.69
      11/24/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          41.71
      11/24/2018   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      11/24/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      11/24/2018   709   DM0257   Owner Operator   Repair Order                   CTMS - 220360 Trailer wash               -49

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      11/24/2018   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      11/24/2018   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      11/24/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/24/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/24/2018   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         778.69
      11/24/2018   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      11/24/2018   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      11/24/2018   709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00386579 - PO System          389.37
      11/24/2018   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      11/24/2018   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      11/24/2018   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      11/24/2018   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         605.96
      11/24/2018   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      11/24/2018   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/24/2018   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      11/24/2018   709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/24/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/24/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/24/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/24/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/24/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/24/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          364.5
      11/24/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.87
      11/24/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.68
      11/24/2018   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.18
      11/24/2018   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      11/24/2018   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/24/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/24/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/24/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.83
      11/24/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         577.14
      11/24/2018   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      11/24/2018   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      11/24/2018   709   EA0003   Owner Operator   Tire Purchase                  PO: 709-00384245 - PO System          171.01
      11/24/2018   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      11/24/2018   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      11/24/2018   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      11/24/2018   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.29
      11/24/2018   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      11/24/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/24/2018   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      11/24/2018   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      11/24/2018   709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-17             93
      11/24/2018   709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-17             93
      11/24/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.71
      11/24/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           411
      11/24/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.54
      11/24/2018   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      11/24/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      11/24/2018   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      11/24/2018   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      11/24/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.5
      11/24/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.13
      11/24/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.99
      11/24/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.04
      11/24/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.34
      11/24/2018   709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 460.53
      11/24/2018   709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      11/24/2018   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      11/24/2018   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/24/2018   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      11/24/2018   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/24/2018   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      11/24/2018   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         681.38
      11/24/2018   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      11/24/2018   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/24/2018   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      11/24/2018   709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.59
      11/24/2018   709   GA0051   Owner Operator   IRP License Deduction          LCIL:2018 - 34330                       100
      11/24/2018   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      11/24/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      11/24/2018   709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      11/24/2018   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      11/24/2018   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      11/24/2018   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          384.7
      11/24/2018   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      11/24/2018   709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00387301 - PO System          176.96
      11/24/2018   709   GS0015   Owner Operator   Truck Payment                  CTMS - 220256 Lease                   252.11
      11/24/2018   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      11/24/2018   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      11/24/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/24/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/24/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.89
      11/24/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.31
      11/24/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.36
      11/24/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           7.65
      11/24/2018   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      11/24/2018   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/24/2018   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      11/24/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.19
      11/24/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.22
      11/24/2018   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      11/24/2018   709   HC0023   Owner Operator   Truck Payment                  CTMS - 220252 Q13170                  352.68
      11/24/2018   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/24/2018   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      11/24/2018   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/24/2018   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         658.58
      11/24/2018   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      11/24/2018   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      11/24/2018   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      11/24/2018   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                       100
      11/24/2018   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      11/24/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/24/2018   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/24/2018   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      11/24/2018   709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.72
      11/24/2018   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      11/24/2018   709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/24/2018   709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                          13
      11/24/2018   709   JA0156   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/24/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/24/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.85
      11/24/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.38
      11/24/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.03
      11/24/2018   709   JA0156   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      42.18
      11/24/2018   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/24/2018   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      11/24/2018   709   JD0211   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-1        -1869.3
      11/24/2018   709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      11/24/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      11/24/2018   709   JD0211   Owner Operator   Repair Order                   CTMS - 220167 REPAIR                  213.96

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      11/24/2018   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      11/24/2018   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -1000
      11/24/2018   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      11/24/2018   709   JG0017   Owner Operator   Express Check                  T-Check Payment                         1000
      11/24/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      11/24/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/24/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.52
      11/24/2018   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      11/24/2018   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      11/24/2018   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      11/24/2018   709   JG0017   Owner Operator   Truck Payment                  CTMS - 220167 TRUCK RENTAL               400
      11/24/2018   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      11/24/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             500
      11/24/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/24/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.08
      11/24/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.95
      11/24/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.79
      11/24/2018   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      11/24/2018   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      11/24/2018   709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00384778 - PO System           97.02
      11/24/2018   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      11/24/2018   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/24/2018   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      11/24/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.97
      11/24/2018   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      11/24/2018   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      11/24/2018   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      11/24/2018   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/24/2018   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/24/2018   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.87
      11/24/2018   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      11/24/2018   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      11/24/2018   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      11/24/2018   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.22
      11/24/2018   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      11/24/2018   709   JR0099   Owner Operator   Truck Payment                  CTMS - 220192 Truck Lease             278.76
      11/24/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      11/24/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      11/24/2018   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      11/24/2018   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      11/24/2018   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/24/2018   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/24/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.85
      11/24/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      11/24/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      11/24/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      11/24/2018   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      11/24/2018   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      11/24/2018   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      11/24/2018   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      11/24/2018   709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                    -1459.2
      11/24/2018   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      11/24/2018   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      11/24/2018   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      11/24/2018   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      11/24/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      11/24/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      11/24/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/24/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      11/24/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/24/2018   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      11/24/2018   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         483.05
      11/24/2018   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      11/24/2018   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      11/24/2018   709   KT0055   Owner Operator   Fuel Card Advances             Cash Advance                             500
      11/24/2018   709   KT0055   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/24/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.85
      11/24/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.84
      11/24/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.57
      11/24/2018   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      11/24/2018   709   KT0055   Owner Operator   Tire Purchase                  PO: 709-00384777 - PO System           85.05
      11/24/2018   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/24/2018   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/24/2018   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/24/2018   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      11/24/2018   709   LL0160   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            400.36
      11/24/2018   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      11/24/2018   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      11/24/2018   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      11/24/2018   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      11/24/2018   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      11/24/2018   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   94.51
      11/24/2018   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD Terrorism           2.5
      11/24/2018   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/24/2018   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      11/24/2018   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      11/24/2018   709   MA0092   Owner Operator   Repair Order                   CTMS - 220167 REPAIRS                    130
      11/24/2018   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/24/2018   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      11/24/2018   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      11/24/2018   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      11/24/2018   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      11/24/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.75
      11/24/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.37
      11/24/2018   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      11/24/2018   709   ME0053   Owner Operator   Truck Payment                  CTMS - 220259 Q1113 Lease             252.11
      11/24/2018   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/24/2018   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      11/24/2018   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.03
      11/24/2018   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      11/24/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/24/2018   709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00384779 - PO System           412.5
      11/24/2018   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/24/2018   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      11/24/2018   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            700
      11/24/2018   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             240
      11/24/2018   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.4
      11/24/2018   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          427.9
      11/24/2018   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      11/24/2018   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      11/24/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/24/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      11/24/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      11/24/2018   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      11/24/2018   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
      11/24/2018   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
      11/24/2018   709   NB0029   Owner Operator   Express Check                  T-Check Payment                         2000
      11/24/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.8
      11/24/2018   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      11/24/2018   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      11/24/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      11/24/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      11/24/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5

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      11/24/2018   709   NB0029   Owner Operator   Truck Payment                  CTMS - 220255 32986 Lease             314.03
      11/24/2018   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      11/24/2018   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      11/24/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/24/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/24/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.51
      11/24/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.93
      11/24/2018   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      11/24/2018   709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00385932 - PO System          479.31
      11/24/2018   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      11/24/2018   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      11/24/2018   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      11/24/2018   709   NT9564   Owner Operator   Tire Purchase                  PO: 709-00386394 - PO System          413.89
      11/24/2018   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/24/2018   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      11/24/2018   709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.99
      11/24/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.73
      11/24/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.14
      11/24/2018   709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34370                       100
      11/24/2018   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
      11/24/2018   709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00382907 - PO System          287.62
      11/24/2018   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      11/24/2018   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/24/2018   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      11/24/2018   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.25
      11/24/2018   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         655.39
      11/24/2018   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      11/24/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/24/2018   709   RC0030   Owner Operator   Tire Fee                       Tire Fee: 2201976                         32
      11/24/2018   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00386537 - PO System          872.88
      11/24/2018   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      11/24/2018   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/24/2018   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.25
      11/24/2018   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      11/24/2018   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      11/24/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/24/2018   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      11/24/2018   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      11/24/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/24/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/24/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.79
      11/24/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.64
      11/24/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.08
      11/24/2018   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      11/24/2018   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      11/24/2018   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      11/24/2018   709   RL0180   Owner Operator   Accident Claim                 10/19/18 RL0180 Spill                1183.61
      11/24/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         649.19
      11/24/2018   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      11/24/2018   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      11/24/2018   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      11/24/2018   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      11/24/2018   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00386538 - PO System          190.21
      11/24/2018   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      11/24/2018   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      11/24/2018   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.91
      11/24/2018   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      11/24/2018   709   RP0082   Owner Operator   Truck Payment                  CTMS - 220167 TRUCK RENTAL              375
      11/24/2018   709   RP0082   Owner Operator   Truck Payment                  CTMS - 220192 Q1202 Truck Leas        278.76
      11/24/2018   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      11/24/2018   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      11/24/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      11/24/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/24/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.42
      11/24/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.86
      11/24/2018   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      11/24/2018   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      11/24/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      11/24/2018   709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00383749 - PO System          183.41
      11/24/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 ITRCC Portage                    52.89
      11/24/2018   709   RR0123   Owner Operator   Truck Payment                  CTMS - 220258 Q1248                   311.97
      11/24/2018   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      11/24/2018   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      11/24/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.97
      11/24/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.39
      11/24/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.02
      11/24/2018   709   SB0103   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         250.15
      11/24/2018   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      11/24/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      11/24/2018   709   SB0103   Owner Operator   Truck Payment                  CTMS - 220189 Sub Lease               388.33
      11/24/2018   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      11/24/2018   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      11/24/2018   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      11/24/2018   709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      11/24/2018   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      11/24/2018   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      11/24/2018   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      11/24/2018   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/24/2018   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/24/2018   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/24/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           514
      11/24/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           468
      11/24/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.18
      11/24/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                              9
      11/24/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           613
      11/24/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           393
      11/24/2018   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      11/24/2018   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      11/24/2018   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      11/24/2018   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      11/24/2018   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      11/24/2018   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      11/24/2018   709   SM0109   Owner Operator   Repair Order                   CTMS - 219642 REPAIRS                 288.08
      11/24/2018   709   SM0109   Owner Operator   Repair Order                   CTMS - 219957 REPAIRS                 288.08
      11/24/2018   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      11/24/2018   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      11/24/2018   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      11/24/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.56
      11/24/2018   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      11/24/2018   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      11/24/2018   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-17        1473.28
      11/24/2018   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.99
      11/24/2018   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      11/24/2018   709   VB0015   Owner Operator   Truck Payment                  CTMS - 220256 Tractor Sub leas        242.03
      11/24/2018   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      11/24/2018   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/24/2018   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      11/24/2018   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/24/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/24/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/24/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          414.8
      11/24/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.23
      11/24/2018   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      11/24/2018   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/24/2018   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      11/24/2018   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      11/24/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5

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      11/24/2018   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      11/24/2018   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      11/24/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.41
      11/24/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.82
      11/24/2018   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      11/24/2018   709   WH0087   Owner Operator   Truck Payment                  CTMS - 220258 Q1238 Lease             311.97
      11/24/2018   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      11/24/2018   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      11/24/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/24/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/24/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.18
      11/24/2018   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      11/24/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      11/24/2018   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      11/24/2018   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      11/24/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.51
      11/24/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.06
      11/24/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.99
      11/24/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.38
      11/24/2018   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
      11/24/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      11/24/2018   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/24/2018   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      11/24/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.95
      11/24/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.35
      11/24/2018   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      11/24/2018   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      11/24/2018   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      11/24/2018   742   DA0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-17           43.4
      11/24/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.95
      11/24/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.2
      11/24/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.82
      11/24/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.14
      11/24/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.47
      11/24/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           270
      11/24/2018   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      11/24/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      11/24/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/24/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/24/2018   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      11/24/2018   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      11/24/2018   742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 219957 HVUT Form 2290            110
      11/24/2018   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      11/24/2018   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      11/24/2018   742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            250
      11/24/2018   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
      11/24/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.72
      11/24/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.04
      11/24/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          461.2
      11/24/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.68
      11/24/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.88
      11/24/2018   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      11/24/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      11/24/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      11/24/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      11/24/2018   742   DS0254   Owner Operator   Toll Charges                   33487 KTA Topeka: I-70                  4.45
      11/24/2018   742   DS0254   Owner Operator   Truck Payment                  CTMS - 219643 Trk 33487 Lease          434.2
      11/24/2018   742   DS0254   Owner Operator   Truck Payment                  CTMS - 219955 Trk 33487 Lease          434.2
      11/24/2018   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/24/2018   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      11/24/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.29

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      11/24/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.29
      11/24/2018   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      11/24/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/24/2018   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      11/24/2018   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      11/24/2018   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      11/24/2018   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      11/24/2018   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      11/24/2018   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      11/24/2018   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      11/24/2018   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      11/24/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.59
      11/24/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.24
      11/24/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.02
      11/24/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         605.06
      11/24/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.65
      11/24/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.49
      11/24/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.58
      11/24/2018   742   ED0041   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             79.31
      11/24/2018   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          13.16
      11/24/2018   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      11/24/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      11/24/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      11/24/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      11/24/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      11/24/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      11/24/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      11/24/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      11/24/2018   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/24/2018   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      11/24/2018   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      11/24/2018   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/24/2018   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/24/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.97
      11/24/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.28
      11/24/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.08
      11/24/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.41
      11/24/2018   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      11/24/2018   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      11/24/2018   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      11/24/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      11/24/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/24/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/24/2018   742   EN0016   Owner Operator   Tire Fee                       Tire Fee: 2202022                         32
      11/24/2018   742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00386896 - PO System          378.72
      11/24/2018   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      11/24/2018   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         348.72
      11/24/2018   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      11/24/2018   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      11/24/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      11/24/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      11/24/2018   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      11/24/2018   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      11/24/2018   742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.38
      11/24/2018   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      11/24/2018   742   JH0148   Owner Operator   IRP License Deduction          LCIL:2018 - 34329                       100
      11/24/2018   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      11/24/2018   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/24/2018   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      11/24/2018   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      11/24/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/24/2018   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75

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      11/24/2018   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      11/24/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.03
      11/24/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.83
      11/24/2018   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      11/24/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      11/24/2018   742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/24/2018   742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      11/24/2018   742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      11/24/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      11/24/2018   742   PC0012   Owner Operator   Advance                        Bal of EFS 201588 s/u pmts             82.56
      11/24/2018   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      11/24/2018   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      11/24/2018   742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/24/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/24/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/24/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/24/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.75
      11/24/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.61
      11/24/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.33
      11/24/2018   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      11/24/2018   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      11/24/2018   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      11/24/2018   742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 219957 FHVUT Form 2290           110
      11/24/2018   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      11/24/2018   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      11/24/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.09
      11/24/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           5.74
      11/24/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.37
      11/24/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.76
      11/24/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.94
      11/24/2018   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.53
      11/24/2018   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      11/24/2018   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      11/24/2018   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      11/24/2018   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      11/24/2018   742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Ship Channel Brid           3.5
      11/24/2018   742   RN0054   Owner Operator   Truck Payment                  CTMS - 219647 Tractor Lease           353.28
      11/24/2018   742   RN0054   Owner Operator   Truck Payment                  CTMS - 219957 Tractor Lease           353.28
      11/24/2018   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/24/2018   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      11/24/2018   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      11/24/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      11/24/2018   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      11/24/2018   742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 219646 HVUT Form 2290           114.5
      11/24/2018   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      11/24/2018   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      11/24/2018   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/24/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.14
      11/24/2018   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
      11/24/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      11/24/2018   742   TC0098   Owner Operator   Truck Payment                  CTMS - 219891 33489 Lease Paym         15.07
      11/24/2018   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/24/2018   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/24/2018   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      11/24/2018   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      11/24/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.02
      11/24/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.05
      11/24/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.35
      11/24/2018   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/24/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      11/24/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      11/24/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5

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      11/24/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/24/2018   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
      11/24/2018   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
      11/24/2018   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      11/24/2018   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          16.05
       12/1/2018   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       12/1/2018   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       12/1/2018   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/1/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       12/1/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       12/1/2018   709   AN0007   Owner Operator   Repair Order                   CTMS - 220625 REPAIR                   232.3
       12/1/2018   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       12/1/2018   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       12/1/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.95
       12/1/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.85
       12/1/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.99
       12/1/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           210
       12/1/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           208
       12/1/2018   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.16
       12/1/2018   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/1/2018   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       12/1/2018   709   AR0064   Owner Operator   Truck Payment                  CTMS - 220372 Q13147 Lease            440.14
       12/1/2018   709   AR0064   Owner Operator   Truck Payment                  CTMS - 220578 Q13147 Lease            440.14
       12/1/2018   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       12/1/2018   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       12/1/2018   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       12/1/2018   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       12/1/2018   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       12/1/2018   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       12/1/2018   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            300
       12/1/2018   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       12/1/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.1
       12/1/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.76
       12/1/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.79
       12/1/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.78
       12/1/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           370
       12/1/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.02
       12/1/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.94
       12/1/2018   709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  151.9
       12/1/2018   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/1/2018   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/1/2018   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
       12/1/2018   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       12/1/2018   709   AV0021   Owner Operator   Truck Payment                  CTMS - 220592 Q13169 Sublease         352.68
       12/1/2018   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       12/1/2018   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       12/1/2018   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       12/1/2018   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       12/1/2018   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/1/2018   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/1/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
       12/1/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       12/1/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       12/1/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       12/1/2018   709   BM0030   Owner Operator   Tire Purchase                  PO: 709-00383750 - PO System          491.97
       12/1/2018   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       12/1/2018   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       12/1/2018   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
       12/1/2018   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       12/1/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.59
       12/1/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.33
       12/1/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.31
       12/1/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.82
       12/1/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.65
       12/1/2018   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
       12/1/2018   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/1/2018   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       12/1/2018   709   CC0134   Owner Operator   Repair Order                   CTMS - 220626 REPAIRS                  534.6
       12/1/2018   709   CC0134   Owner Operator   Truck Payment                  CTMS - 220461 Q13168 sub lease        352.68
       12/1/2018   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       12/1/2018   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       12/1/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       12/1/2018   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      12/1/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         586.77
      12/1/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.68
      12/1/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      12/1/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      12/1/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/1/2018    709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00387809 - PO System          193.44
      12/1/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      12/1/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/1/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      12/1/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/1/2018    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/1/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.87
      12/1/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          208.8
      12/1/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.13
      12/1/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.1
      12/1/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      12/1/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      12/1/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      12/1/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/1/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      12/1/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          460.8
      12/1/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      12/1/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 220460 Q1201                   278.76
      12/1/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/1/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      12/1/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.37
      12/1/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.36
      12/1/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.82
      12/1/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          360.6
      12/1/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      12/1/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      12/1/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      12/1/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      12/1/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/1/2018    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/1/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.66
      12/1/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         625.37
      12/1/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.53
      12/1/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         601.79
      12/1/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.38
      12/1/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      12/1/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      12/1/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 220521 Sublease                338.99
      12/1/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      12/1/2018    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.16
      12/1/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.43
      12/1/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.59
      12/1/2018    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      12/1/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      12/1/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      12/1/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/1/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      12/1/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/1/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/1/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          467.4
      12/1/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.39
      12/1/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      12/1/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      12/1/2018    709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00386579 - PO System          389.37
      12/1/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      12/1/2018    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      12/1/2018    709   DS0225   Owner Operator   Accident Claim                 08/20/18 DS0225 Contamination           1000
      12/1/2018    709   DS0225   Owner Operator   Advance                        8/20/18 Clm 70530-1 s/u 4 wks            250
      12/1/2018    709   DS0225   Owner Operator   Advance                        8/20/18 Clm 70530-1 s/u 4 wks          -1000
      12/1/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75

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      12/1/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      12/1/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.82
      12/1/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      12/1/2018    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/1/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      12/1/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      12/1/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      12/1/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      12/1/2018    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      12/1/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.41
      12/1/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.28
      12/1/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.36
      12/1/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.76
      12/1/2018    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      12/1/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/1/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      12/1/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/1/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/1/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/1/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.41
      12/1/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.44
      12/1/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.26
      12/1/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      12/1/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      12/1/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      12/1/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      12/1/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      12/1/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.86
      12/1/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.69
      12/1/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      12/1/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      12/1/2018    709   EG0062   Owner Operator   Truck Payment                  CTMS - 220691 TRUCK RENTAL              225
      12/1/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      12/1/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      12/1/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.87
      12/1/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.98
      12/1/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      12/1/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/1/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      12/1/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      12/1/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.39
      12/1/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.32
      12/1/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.07
      12/1/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.17
      12/1/2018    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 765.66
      12/1/2018    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      12/1/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      12/1/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 220386 truck lease 3304        434.29
      12/1/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 220498 TRUCK RENTAL              250
      12/1/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 220591 truck lease 3304        434.29
      12/1/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/1/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      12/1/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.17
      12/1/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      12/1/2018    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/1/2018    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      12/1/2018    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.23
      12/1/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          53.86
      12/1/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.14
      12/1/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.02
      12/1/2018    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2018 - 34330                       100
      12/1/2018    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      12/1/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5

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      12/1/2018    709   GA0051   Owner Operator   Repair Order                   CTMS - 220499 REPAIRS                  253.5
      12/1/2018    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                            277
      12/1/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      12/1/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      12/1/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.42
      12/1/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      12/1/2018    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00387301 - PO System          176.96
      12/1/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 220459 Lease                   252.11
      12/1/2018    709   GW0043   Owner Operator   Accident Claim                 11/12/18 GW0043 Incident                2000
      12/1/2018    709   GW0043   Owner Operator   Advance                        11/12/18 Clm 71632-1 s/u 5 wks           400
      12/1/2018    709   GW0043   Owner Operator   Advance                        11/12/18 Clm 71632-1 s/u 5 wks         -2000
      12/1/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      12/1/2018    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      12/1/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/1/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/1/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/1/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/1/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/1/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.98
      12/1/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.97
      12/1/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.89
      12/1/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.28
      12/1/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      12/1/2018    709   GW0043   Owner Operator   T Chek Fee                     ExpressCheck Fee                        8.85
      12/1/2018    709   GW0043   Owner Operator   T Chek Fee                     Tractor Repair Q1109                  885.16
      12/1/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 220376 Q1109 Lease             302.85
      12/1/2018    709   GW0043   Owner Operator   Truck Payment                  CTMS - 220582 Q1109 Lease             302.85
      12/1/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      12/1/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      12/1/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.99
      12/1/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.76
      12/1/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.54
      12/1/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      12/1/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 220454 Q13170                  352.68
      12/1/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      12/1/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      12/1/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      12/1/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      12/1/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/1/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         634.06
      12/1/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.14
      12/1/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      12/1/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      12/1/2018    709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00384244 - PO System          855.45
      12/1/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/1/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/1/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      12/1/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      12/1/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.93
      12/1/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          327.4
      12/1/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.93
      12/1/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         586.68
      12/1/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      12/1/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      12/1/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/1/2018    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      12/1/2018    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/1/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.46
      12/1/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.85
      12/1/2018    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      12/1/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35

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      12/1/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/1/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      12/1/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.42
      12/1/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.92
      12/1/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                       100
      12/1/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      12/1/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/1/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/1/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      12/1/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.56
      12/1/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      12/1/2018    709   JA0152   Owner Operator   Repair Order                   CTMS - 220396 REPAIRS                 289.27
      12/1/2018    709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      12/1/2018    709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                          13
      12/1/2018    709   JA0156   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                              50
      12/1/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/1/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/1/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      12/1/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.89
      12/1/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.41
      12/1/2018    709   JA0156   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      42.19
      12/1/2018    709   JA0156   Owner Operator   Repair Order                   CTMS - 220396 TRACTOR REPAIR          256.35
      12/1/2018    709   JA0156   Owner Operator   Repair Order                   CTMS - 220647 TRACTOR REPAIR          256.35
      12/1/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      12/1/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      12/1/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      12/1/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      12/1/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      12/1/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      12/1/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      12/1/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      12/1/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         204.53
      12/1/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/1/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/1/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/1/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/1/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/1/2018    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/1/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.32
      12/1/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.5
      12/1/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          514.8
      12/1/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.34
      12/1/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.76
      12/1/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      12/1/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      12/1/2018    709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL South Beloit               6.1
      12/1/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 219955 Q13197 Lease            276.63
      12/1/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 220322 Q13197 Lease            276.63
      12/1/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 220518 Q13197 Lease            276.63
      12/1/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/1/2018    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      12/1/2018    709   JD0211   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 11-24         1869.3
      12/1/2018    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      12/1/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      12/1/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/1/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      12/1/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      12/1/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/1/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/1/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/1/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/1/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         657.84
      12/1/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.62
      12/1/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.15

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      12/1/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      12/1/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      12/1/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      12/1/2018    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      12/1/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/1/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      12/1/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/1/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/1/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.08
      12/1/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.5
      12/1/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.05
      12/1/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      12/1/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      12/1/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      12/1/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/1/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      12/1/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      12/1/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      12/1/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      12/1/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.08
      12/1/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      12/1/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      12/1/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      12/1/2018    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.67
      12/1/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      12/1/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 220413 Truck Lease             278.76
      12/1/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      12/1/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      12/1/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      12/1/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/1/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/1/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/1/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.62
      12/1/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.68
      12/1/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.78
      12/1/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      12/1/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      12/1/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      12/1/2018    709   JS0265   Owner Operator   Repair Order                   CTMS - 220626 REPAIRS                 257.64
      12/1/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/1/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      12/1/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      12/1/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/1/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      12/1/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      12/1/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      12/1/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           259
      12/1/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.55
      12/1/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.01
      12/1/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           365
      12/1/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      12/1/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      12/1/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/1/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      12/1/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      12/1/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      12/1/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      12/1/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.63
      12/1/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          422.7
      12/1/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.85
      12/1/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      12/1/2018    709   KT0055   Owner Operator   Tire Purchase                  PO: 709-00384777 - PO System          132.27

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      12/1/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 220254 Q13156 Lease            388.16
      12/1/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 220456 Q13156 Lease            388.16
      12/1/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      12/1/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      12/1/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      12/1/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 220591 Lease Q1111             252.11
      12/1/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      12/1/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      12/1/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/1/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/1/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.05
      12/1/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.19
      12/1/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.93
      12/1/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                 -378.13
      12/1/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      12/1/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/1/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      12/1/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.77
      12/1/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.05
      12/1/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.19
      12/1/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           6.02
      12/1/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.47
      12/1/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      12/1/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      12/1/2018    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      12/1/2018    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.74
      12/1/2018    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      12/1/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      12/1/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      12/1/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          581.4
      12/1/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.86
      12/1/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      12/1/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 220461 Q1113 Lease             252.11
      12/1/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/1/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      12/1/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.42
      12/1/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.62
      12/1/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      12/1/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/1/2018    709   MG0067   Owner Operator   Tire Purchase                  PO: 709-00384779 - PO System          412.46
      12/1/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/1/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      12/1/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      12/1/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.51
      12/1/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      12/1/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      12/1/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/1/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/1/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      12/1/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            120
      12/1/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
      12/1/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.01
      12/1/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.33
      12/1/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.36
      12/1/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      12/1/2018    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00385932 - PO System          479.31
      12/1/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      12/1/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      12/1/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      12/1/2018    709   NT9564   Owner Operator   Tire Purchase                  PO: 709-00386394 - PO System          413.89
      12/1/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 220397 Truck 73130 Leas        196.65
      12/1/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 220648 Truck 73130 Leas        196.65
      12/1/2018    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/1/2018    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8

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      12/1/2018    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.23
      12/1/2018    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.72
      12/1/2018    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.07
      12/1/2018    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34370                        100
      12/1/2018    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      12/1/2018    709   OJ0007   Owner Operator   Repair Order                   CTMS - 220493 REPAIRS                    250
      12/1/2018    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      12/1/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/1/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      12/1/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                            466
      12/1/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      12/1/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/1/2018    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00386537 - PO System          872.88
      12/1/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/1/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      12/1/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/1/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         712.65
      12/1/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      12/1/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      12/1/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/1/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      12/1/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/1/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      12/1/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/1/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/1/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/1/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/1/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.02
      12/1/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.71
      12/1/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           15.1
      12/1/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.94
      12/1/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          205.7
      12/1/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      12/1/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      12/1/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      12/1/2018    709   RL0180   Owner Operator   Accident Claim                 10/19/18 RL0180 Spill                 816.39
      12/1/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/1/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/1/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      12/1/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      12/1/2018    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-8           -155
      12/1/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/1/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/1/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.29
      12/1/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.62
      12/1/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.99
      12/1/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      12/1/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      12/1/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      12/1/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      12/1/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      12/1/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      12/1/2018    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      12/1/2018    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      12/1/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      12/1/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          500.5
      12/1/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      12/1/2018    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    12.84
      12/1/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      12/1/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      12/1/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.95
      12/1/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.17
      12/1/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.66

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      12/1/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      12/1/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 220413 Q1202 Truck Leas        278.76
      12/1/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      12/1/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      12/1/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/1/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/1/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/1/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.87
      12/1/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.22
      12/1/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.63
      12/1/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.48
      12/1/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.07
      12/1/2018    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      12/1/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      12/1/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      12/1/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL 163rd St.                   6.5
      12/1/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL 82nd St.                    6.5
      12/1/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL Cermak Rd.                  6.5
      12/1/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL Elgin Rd                    6.5
      12/1/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL Marengo                     9.8
      12/1/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL Route 53                   2.45
      12/1/2018    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL South Beloit                6.1
      12/1/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 220460 Q1248                   311.97
      12/1/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/1/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      12/1/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.49
      12/1/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.34
      12/1/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.89
      12/1/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.44
      12/1/2018    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         249.19
      12/1/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      12/1/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/1/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 220409 Sub Lease               388.33
      12/1/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      12/1/2018    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      12/1/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/1/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.94
      12/1/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           658
      12/1/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.87
      12/1/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      12/1/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      12/1/2018    709   SM0109   Owner Operator   Repair Order                   CTMS - 220626 REPAIRS                 214.46
      12/1/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      12/1/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      12/1/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      12/1/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/1/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/1/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      12/1/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      12/1/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/1/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/1/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/1/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.76
      12/1/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.18
      12/1/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.18
      12/1/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.15
      12/1/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.93
      12/1/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.76
      12/1/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      12/1/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      12/1/2018    709   SN0019   Owner Operator   Truck Payment                  CTMS - 220167 TRUCK RENTAL              100

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      12/1/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      12/1/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      12/1/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.41
      12/1/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.74
      12/1/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.19
      12/1/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      12/1/2018    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      12/1/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/1/2018    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      12/1/2018    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/1/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/1/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
      12/1/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      12/1/2018    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/1/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.23
      12/1/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.47
      12/1/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.65
      12/1/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.95
      12/1/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.36
      12/1/2018    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.67
      12/1/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      12/1/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/1/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      12/1/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      12/1/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/1/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      12/1/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      12/1/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/1/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/1/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.43
      12/1/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.71
      12/1/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.14
      12/1/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.49
      12/1/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      12/1/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 220460 Q1238 Lease             311.97
      12/1/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 220496 TRUCK RENTAL              500
      12/1/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      12/1/2018    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      12/1/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/1/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/1/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/1/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/1/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          485.1
      12/1/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.74
      12/1/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.95
      12/1/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.58
      12/1/2018    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.39
      12/1/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      12/1/2018    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      12/1/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      12/1/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      12/1/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          523.5
      12/1/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.25
      12/1/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.75
      12/1/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.13
      12/1/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.5
      12/1/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          121.3
      12/1/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.87
      12/1/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.98
      12/1/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.57
      12/1/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.68
      12/1/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      12/1/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5

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      12/1/2018    742   BS0078   Owner Operator   Truck Payment                  CTMS - 220255 Lease of Q13151         388.16
      12/1/2018    742   BS0078   Owner Operator   Truck Payment                  CTMS - 220457 Lease of Q13151         388.16
      12/1/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      12/1/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      12/1/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.21
      12/1/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.98
      12/1/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      12/1/2018    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.23
      12/1/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      12/1/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      12/1/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.95
      12/1/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.59
      12/1/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.44
      12/1/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.59
      12/1/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      12/1/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      12/1/2018    742   DS0254   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.58
      12/1/2018    742   DS0254   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.28
      12/1/2018    742   DS0254   Owner Operator   T Chek Fee                     Tractor Repair 33487                   127.5
      12/1/2018    742   DS0254   Owner Operator   T Chek Fee                     Tractor Repair 33487                    158
      12/1/2018    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Army Trail Rd.              6.5
      12/1/2018    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Dixon                      15.5
      12/1/2018    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Marengo                   13.05
      12/1/2018    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Will Rogers Turnpike         18.05
      12/1/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 220322 Trk 33487 Lease          434.2
      12/1/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 220519 Trk 33487 Lease          434.2
      12/1/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/1/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      12/1/2018    742   EA0039   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-8         -13.33
      12/1/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.35
      12/1/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.07
      12/1/2018    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.74
      12/1/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      12/1/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/1/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/1/2018    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      12/1/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.92
      12/1/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.46
      12/1/2018    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.83
      12/1/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      12/1/2018    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/1/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/1/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      12/1/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/1/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/1/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.02
      12/1/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.04
      12/1/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         586.42
      12/1/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      12/1/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      12/1/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/1/2018    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00386896 - PO System          378.72
      12/1/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      12/1/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      12/1/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      12/1/2018    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-8         -41.93
      12/1/2018    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-8         -27.95
      12/1/2018    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-8         -27.95
      12/1/2018    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-8          -55.9
      12/1/2018    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-8         -27.95
      12/1/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      12/1/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      12/1/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      12/1/2018    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      12/1/2018    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           773
      12/1/2018    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2018 - 34329                       100

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      12/1/2018    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      12/1/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/1/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/1/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.39
      12/1/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.09
      12/1/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.52
      12/1/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.54
      12/1/2018    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2018 - 34327                      64.39
      12/1/2018    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2018 - 34327                       100
      12/1/2018    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.18
      12/1/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      12/1/2018    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Kilpatrick Turnpike           4.45
      12/1/2018    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Kilpatrick Turnpike           4.45
      12/1/2018    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Turner Turnpike Wes          18.05
      12/1/2018    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Will Rogers Turnpike         18.05
      12/1/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      12/1/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      12/1/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      12/1/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      12/1/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    742   MS0230   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.76
      12/1/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.78
      12/1/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.35
      12/1/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      12/1/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      12/1/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      12/1/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      12/1/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      12/1/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/1/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      12/1/2018    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-8         -69.66
      12/1/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/1/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      12/1/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      12/1/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      12/1/2018    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      12/1/2018    742   PC0012   Owner Operator   Advance                        Bal of EFS 201588 s/u pmts             12.78
      12/1/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/1/2018    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/1/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/1/2018    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/1/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          426.3
      12/1/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      12/1/2018    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      12/1/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      12/1/2018    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      12/1/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      12/1/2018    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      12/1/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      12/1/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      12/1/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.73
      12/1/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.07
      12/1/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.44
      12/1/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/1/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      12/1/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      12/1/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Ship Channel Brid           3.5
      12/1/2018    742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Ship Channel Brid             2
      12/1/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 220325 Tractor Lease           353.28
      12/1/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 220521 Tractor Lease           353.28
      12/1/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      12/1/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      12/1/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      12/1/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      12/1/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.97
      12/1/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.55

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      12/1/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/1/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/1/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                 143.18
      12/1/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                 143.21
      12/1/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism          2.5
      12/1/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism          2.5
      12/1/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                  8.75
      12/1/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                      13
      12/1/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/1/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                   58.6
      12/1/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism          2.5
      12/1/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      12/1/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                       8
      12/1/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                     336.12
      12/1/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                      98.64
      12/1/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/1/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   37.5
      12/1/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism          2.5
      12/1/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge           25
      12/1/2018    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      23.56
      12/8/2018    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL        8.75
      12/8/2018    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                 9.84
      12/8/2018    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                     13
      12/8/2018    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                     446.39
      12/8/2018    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/8/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD         7.82
      12/8/2018    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te       2.5
      12/8/2018    709   AN0007   Owner Operator   Repair Order                   CTMS - 220846 REPAIR               232.3
      12/8/2018    709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS NORTH 11     10.08
      12/8/2018    709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS NORTH 11     10.08
      12/8/2018    709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS SOUTH 11     10.08
      12/8/2018    709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS SOUTH 11     10.08
      12/8/2018    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL        8.75
      12/8/2018    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                 9.84
      12/8/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                     213.28
      12/8/2018    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                     152.04
      12/8/2018    709   AR0064   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax     520.68
      12/8/2018    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/8/2018    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD        35.16
      12/8/2018    709   AR0064   Owner Operator   Truck Payment                  CTMS - 220847 Q13147 Lease        440.14
      12/8/2018    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                   8.75
      12/8/2018    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                12.5
      12/8/2018    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                      13
      12/8/2018    709   BM0030   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax     435.34
      12/8/2018    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/8/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                   28.13
      12/8/2018    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism           2.5
      12/8/2018    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL        8.75
      12/8/2018    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                 9.84
      12/8/2018    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                      8
      12/8/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      173.7
      12/8/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                     201.76
      12/8/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                     554.61
      12/8/2018    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                     457.52
      12/8/2018    709   CC0134   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax     184.88
      12/8/2018    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment     345.02
      12/8/2018    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/8/2018    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD        35.16
      12/8/2018    709   CC0134   Owner Operator   Truck Payment                  CTMS - 220766 Q13168 sub lease    352.68
      12/8/2018    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL               8.75
      12/8/2018    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                  9.84
      12/8/2018    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                      13
      12/8/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                        200
      12/8/2018    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      12/8/2018    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                     648.64
      12/8/2018    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                  33.64
      12/8/2018    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/8/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               91.96
      12/8/2018    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism       2.5
      12/8/2018    709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00387809 - PO System      193.44
      12/8/2018    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                     507.91
      12/8/2018    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                  8.75
      12/8/2018    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                  9.84

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      12/8/2018    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      12/8/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.09
      12/8/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.01
      12/8/2018    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.89
      12/8/2018    709   CR0064   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          86.71
      12/8/2018    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      12/8/2018    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      12/8/2018    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      12/8/2018    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/8/2018    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                      9.84
      12/8/2018    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      12/8/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.84
      12/8/2018    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.05
      12/8/2018    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      12/8/2018    709   CS0091   Owner Operator   Repair Order                   CTMS - 220962 REPAIRS                  86.58
      12/8/2018    709   CS0091   Owner Operator   Truck Payment                  CTMS - 220765 Q1201                   278.76
      12/8/2018    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/8/2018    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                      9.84
      12/8/2018    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      12/8/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.09
      12/8/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.91
      12/8/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.75
      12/8/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.43
      12/8/2018    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.77
      12/8/2018    709   DL0029   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         150.92
      12/8/2018    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00012 - Loan Repayment         251.92
      12/8/2018    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      12/8/2018    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      12/8/2018    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      12/8/2018    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      12/8/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         737.05
      12/8/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.23
      12/8/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           5.28
      12/8/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.42
      12/8/2018    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.79
      12/8/2018    709   DL0107   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax           4.87
      12/8/2018    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      12/8/2018    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      12/8/2018    709   DL0107   Owner Operator   Truck Payment                  CTMS - 220804 Sublease                338.99
      12/8/2018    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      12/8/2018    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.27
      12/8/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.76
      12/8/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.43
      12/8/2018    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.08
      12/8/2018    709   DM0257   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         890.15
      12/8/2018    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      12/8/2018    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      12/8/2018    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      12/8/2018    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/8/2018    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                      9.84
      12/8/2018    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      12/8/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/8/2018    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/8/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.37
      12/8/2018    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         592.94
      12/8/2018    709   DS0049   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax           0.51
      12/8/2018    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      12/8/2018    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      12/8/2018    709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00386579 - PO System          389.34
      12/8/2018    709   DS0049   Owner Operator   Toll Charges                   32915/TL9207 Bay Bridge 17                25
      12/8/2018    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      12/8/2018    709   DS0225   Owner Operator   Advance                        8/20/18 Clm 70530-1 s/u 4 wks           250
      12/8/2018    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      12/8/2018    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      12/8/2018    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          614.5
      12/8/2018    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/8/2018    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.07
      12/8/2018    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      12/8/2018    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                       9.84
      12/8/2018    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                           13
      12/8/2018    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/8/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.64
      12/8/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.28
      12/8/2018    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                           318.7
      12/8/2018    709   DS0288   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          110.69
      12/8/2018    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/8/2018    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    42.19
      12/8/2018    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/8/2018    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                       9.84
      12/8/2018    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
      12/8/2018    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      12/8/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/8/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/8/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/8/2018    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/8/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          463.09
      12/8/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          455.91
      12/8/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           28.05
      12/8/2018    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          547.15
      12/8/2018    709   EA0003   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax           192.4
      12/8/2018    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                       33.64
      12/8/2018    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/8/2018    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   105.47
      12/8/2018    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                          555.56
      12/8/2018    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
      12/8/2018    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                       9.84
      12/8/2018    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
      12/8/2018    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.91
      12/8/2018    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/8/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    42.19
      12/8/2018    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
      12/8/2018    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
      12/8/2018    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                       9.84
      12/8/2018    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13
      12/8/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            200
      12/8/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.26
      12/8/2018    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          451.62
      12/8/2018    709   EO0014   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          432.71
      12/8/2018    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/8/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 78.13
      12/8/2018    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
      12/8/2018    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
      12/8/2018    709   FS0039   Owner Operator   Broker Pay Void/Reissue        Vd 973422/Reissue                     -1381.6
      12/8/2018    709   FS0039   Owner Operator   Broker Pay Void/Reissue        Vd 973478/Reissue                    -2296.99
      12/8/2018    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                       9.84
      12/8/2018    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
      12/8/2018    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/8/2018    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/8/2018    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/8/2018    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      12/8/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          343.36
      12/8/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.34
      12/8/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          375.05
      12/8/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          395.35
      12/8/2018    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          166.22
      12/8/2018    709   FS0039   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         -209.21
      12/8/2018    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                   1809
      12/8/2018    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          356.08
      12/8/2018    709   FS0039   Owner Operator   Miscellaneous                  FedEx Overnight Fee                        17
      12/8/2018    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/8/2018    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              76.88
      12/8/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 220860 truck lease 3304         434.29
      12/8/2018    709   FS0039   Owner Operator   Truck Payment                  CTMS - 220961 TRUCK RENTAL               250
      12/8/2018    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      12/8/2018    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521B                      9.84
      12/8/2018    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                          13
      12/8/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/8/2018    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/8/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                           78.56

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      12/8/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          544.1
      12/8/2018    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.34
      12/8/2018    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      12/8/2018    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/8/2018    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      12/8/2018    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-15         -19.5
      12/8/2018    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/8/2018    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/8/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.11
      12/8/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          45.98
      12/8/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.45
      12/8/2018    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.45
      12/8/2018    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2018 - 34330                      64.39
      12/8/2018    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      12/8/2018    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      12/8/2018    709   GA0051   Owner Operator   Repair Order                   CTMS - 220962 REPAIRS                 287.13
      12/8/2018    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      12/8/2018    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      12/8/2018    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      12/8/2018    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      12/8/2018    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.89
      12/8/2018    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      12/8/2018    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00387301 - PO System          176.96
      12/8/2018    709   GS0015   Owner Operator   Truck Payment                  CTMS - 220764 Lease                   252.11
      12/8/2018    709   GW0043   Owner Operator   Advance                        11/12/18 Clm 71632-1 s/u 5 wks          400
      12/8/2018    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      12/8/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            150
      12/8/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/8/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/8/2018    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      12/8/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.02
      12/8/2018    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.16
      12/8/2018    709   GW0043   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         121.92
      12/8/2018    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      12/8/2018    709   GW0043   Owner Operator   T Chek Fee                     ExpressCheck Fee                        5.45
      12/8/2018    709   GW0043   Owner Operator   T Chek Fee                     Tractor Repair Q1109                  490.24
      12/8/2018    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      12/8/2018    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      12/8/2018    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      12/8/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.68
      12/8/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           25.9
      12/8/2018    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.46
      12/8/2018    709   HC0023   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         -49.36
      12/8/2018    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      12/8/2018    709   HC0023   Owner Operator   Truck Payment                  CTMS - 220760 Q13170                  352.68
      12/8/2018    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      12/8/2018    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK33180                      9.84
      12/8/2018    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      12/8/2018    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/8/2018    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/8/2018    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.05
      12/8/2018    709   HG0007   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          11.81
      12/8/2018    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      12/8/2018    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/8/2018    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      12/8/2018    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      12/8/2018    709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-15       -179.37
      12/8/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.48
      12/8/2018    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.81
      12/8/2018    709   HG0027   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax           53.8
      12/8/2018    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      12/8/2018    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/8/2018    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      12/8/2018    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8

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      12/8/2018    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/8/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.03
      12/8/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.67
      12/8/2018    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.61
      12/8/2018    709   IA0007   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         185.99
      12/8/2018    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      12/8/2018    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      12/8/2018    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/8/2018    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      12/8/2018    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      12/8/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.81
      12/8/2018    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.94
      12/8/2018    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                       100
      12/8/2018    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      12/8/2018    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/8/2018    709   IR0002   Owner Operator   Repair Order                   CTMS - 220963 REPAIRS                  85.88
      12/8/2018    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/8/2018    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      12/8/2018    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.05
      12/8/2018    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      12/8/2018    709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      12/8/2018    709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                          13
      12/8/2018    709   JA0156   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/8/2018    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/8/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.76
      12/8/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.35
      12/8/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.66
      12/8/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.66
      12/8/2018    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.64
      12/8/2018    709   JA0156   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      42.19
      12/8/2018    709   JA0156   Owner Operator   Repair Order                   CTMS - 220931 TRACTOR REPAIR          256.35
      12/8/2018    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      12/8/2018    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      12/8/2018    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      12/8/2018    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      12/8/2018    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      12/8/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.83
      12/8/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.35
      12/8/2018    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.45
      12/8/2018    709   JC0292   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         173.05
      12/8/2018    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      12/8/2018    709   JC0292   Owner Operator   Truck Payment                  CTMS - 220801 Q13197 Lease            276.63
      12/8/2018    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/8/2018    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                      9.84
      12/8/2018    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      12/8/2018    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      12/8/2018    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      12/8/2018    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/8/2018    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                      9.84
      12/8/2018    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      12/8/2018    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
      12/8/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/8/2018    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/8/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.48
      12/8/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.71
      12/8/2018    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          575.8
      12/8/2018    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      12/8/2018    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      12/8/2018    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       25
      12/8/2018    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       25
      12/8/2018    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       25
      12/8/2018    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      12/8/2018    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      12/8/2018    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                      9.84
      12/8/2018    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      12/8/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/8/2018    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/8/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.92
      12/8/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         649.92
      12/8/2018    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.78
      12/8/2018    709   JG0072   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         354.17
      12/8/2018    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      12/8/2018    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      12/8/2018    709   JG0072   Owner Operator   Repair Order                   CTMS - 220692 REPAIR                   534.6
      12/8/2018    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      12/8/2018    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/8/2018    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                      9.84
      12/8/2018    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      12/8/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         642.21
      12/8/2018    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.23
      12/8/2018    709   JG0092   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          38.68
      12/8/2018    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      12/8/2018    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      12/8/2018    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                      9.84
      12/8/2018    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      12/8/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/8/2018    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/8/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           40.2
      12/8/2018    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.05
      12/8/2018    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      12/8/2018    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      12/8/2018    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      12/8/2018    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      12/8/2018    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      12/8/2018    709   JR0099   Owner Operator   Truck Payment                  CTMS - 220722 Truck Lease             278.76
      12/8/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      12/8/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      12/8/2018    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      12/8/2018    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRK33325                      9.84
      12/8/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      12/8/2018    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      12/8/2018    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/8/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/8/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/8/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/8/2018    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/8/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         596.45
      12/8/2018    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.88
      12/8/2018    709   JS0265   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          260.5
      12/8/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      12/8/2018    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      12/8/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      12/8/2018    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      12/8/2018    709   JS0265   Owner Operator   Repair Order                   CTMS - 220962 REPAIR                  257.64
      12/8/2018    709   JS0265   Owner Operator   Truck Payment                  CTMS - 220787 Q13159 Lease             331.5
      12/8/2018    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/8/2018    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      12/8/2018    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      12/8/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/8/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/8/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/8/2018    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/8/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          57.85
      12/8/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           432
      12/8/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           185
      12/8/2018    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.94
      12/8/2018    709   KP0004   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         345.58
      12/8/2018    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      12/8/2018    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      12/8/2018    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      12/8/2018    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        519.59
      12/8/2018    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL           8.75
      12/8/2018    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                    9.84
      12/8/2018    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                  12.5
      12/8/2018    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                         8
      12/8/2018    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/8/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        480.01
      12/8/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.49
      12/8/2018    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.9
      12/8/2018    709   KT0055   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax        223.84
      12/8/2018    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/8/2018    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD           42.19
      12/8/2018    709   KT0055   Owner Operator   Toll Charges                   Q13156 Carquinez Bridge 12               25
      12/8/2018    709   KT0055   Owner Operator   Truck Payment                  CTMS - 220762 Q13156 Lease           388.16
      12/8/2018    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      12/8/2018    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                     9.84
      12/8/2018    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      12/8/2018    709   LL0160   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax        375.64
      12/8/2018    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      12/8/2018    709   LL0160   Owner Operator   Truck Payment                  CTMS - 220860 Lease Q1111            252.11
      12/8/2018    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      12/8/2018    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                     9.84
      12/8/2018    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      12/8/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/8/2018    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/8/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.44
      12/8/2018    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        784.22
      12/8/2018    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/8/2018    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  57.04
      12/8/2018    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      12/8/2018    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                     9.84
      12/8/2018    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                          8
      12/8/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        224.88
      12/8/2018    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        458.85
      12/8/2018    709   MA0092   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         90.77
      12/8/2018    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/8/2018    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     49.69
      12/8/2018    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      12/8/2018    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                     9.84
      12/8/2018    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                          8
      12/8/2018    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            50
      12/8/2018    709   MD0122   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax        406.76
      12/8/2018    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/8/2018    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     23.44
      12/8/2018    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
      12/8/2018    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                     9.84
      12/8/2018    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
      12/8/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        484.22
      12/8/2018    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        511.47
      12/8/2018    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/8/2018    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.07
      12/8/2018    709   ME0053   Owner Operator   Truck Payment                  CTMS - 220766 Q1113 Lease            252.11
      12/8/2018    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      12/8/2018    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                          8
      12/8/2018    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.8
      12/8/2018    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/8/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      12/8/2018    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      12/8/2018    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      12/8/2018    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                     9.84
      12/8/2018    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                         13
      12/8/2018    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          700
      12/8/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           300
      12/8/2018    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      12/8/2018    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.9
      12/8/2018    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                     33.64
      12/8/2018    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/8/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     71.88
      12/8/2018    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      12/8/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      12/8/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      12/8/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL            8.75
      12/8/2018    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL            8.75

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      12/8/2018    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      12/8/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      12/8/2018    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      12/8/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      12/8/2018    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      12/8/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/8/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/8/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/8/2018    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/8/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.93
      12/8/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.47
      12/8/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.34
      12/8/2018    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.72
      12/8/2018    709   NB0029   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         122.86
      12/8/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      12/8/2018    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      12/8/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      12/8/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      12/8/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      12/8/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      12/8/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      12/8/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      12/8/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      12/8/2018    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      12/8/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 220457 32986 Lease             314.03
      12/8/2018    709   NB0029   Owner Operator   Truck Payment                  CTMS - 220763 32986 Lease             314.03
      12/8/2018    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      12/8/2018    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/8/2018    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      12/8/2018    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      12/8/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              60
      12/8/2018    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      12/8/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.33
      12/8/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.98
      12/8/2018    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.18
      12/8/2018    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      12/8/2018    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00385932 - PO System          479.26
      12/8/2018    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      12/8/2018    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      12/8/2018    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      12/8/2018    709   NT9564   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         209.87
      12/8/2018    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      12/8/2018    709   NT9564   Owner Operator   Repair Order                   CTMS - 220780 REPAIRS                  86.07
      12/8/2018    709   NT9564   Owner Operator   Tire Purchase                  PO: 709-00386394 - PO System          413.84
      12/8/2018    709   NT9564   Owner Operator   Truck Payment                  CTMS - 220932 Truck 73130 Leas        196.65
      12/8/2018    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/8/2018    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                     43.68
      12/8/2018    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      12/8/2018    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.24
      12/8/2018    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.73
      12/8/2018    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34370                       100
      12/8/2018    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      12/8/2018    709   OJ0007   Owner Operator   Repair Order                   CTMS - 220759 REPAIRS                   250
      12/8/2018    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      12/8/2018    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/8/2018    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      12/8/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.35
      12/8/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.66
      12/8/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.83
      12/8/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                           4.23
      12/8/2018    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.9
      12/8/2018    709   RC0030   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         288.17
      12/8/2018    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      12/8/2018    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/8/2018    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00386537 - PO System          872.88
      12/8/2018    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      12/8/2018    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      12/8/2018    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      12/8/2018    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/8/2018    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         661.82
      12/8/2018    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      12/8/2018    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      12/8/2018    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/8/2018    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      12/8/2018    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/8/2018    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      12/8/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/8/2018    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/8/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.33
      12/8/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          568.9
      12/8/2018    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.99
      12/8/2018    709   RL0062   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         374.54
      12/8/2018    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      12/8/2018    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      12/8/2018    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      12/8/2018    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/8/2018    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      12/8/2018    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      12/8/2018    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-1            155
      12/8/2018    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/8/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.74
      12/8/2018    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         649.34
      12/8/2018    709   RL0180   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          35.53
      12/8/2018    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      12/8/2018    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      12/8/2018    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      12/8/2018    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      12/8/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      12/8/2018    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      12/8/2018    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      12/8/2018    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      12/8/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      12/8/2018    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      12/8/2018    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.12
      12/8/2018    709   RM0026   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          247.2
      12/8/2018    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      12/8/2018    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00386538 - PO System          190.21
      12/8/2018    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00386538 - PO System          190.21
      12/8/2018    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    20.11
      12/8/2018    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      12/8/2018    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      12/8/2018    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      12/8/2018    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.09
      12/8/2018    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      12/8/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 220691 TRUCK RENTAL              400
      12/8/2018    709   RP0082   Owner Operator   Truck Payment                  CTMS - 220723 Q1202 Truck Leas        278.76
      12/8/2018    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      12/8/2018    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      12/8/2018    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      12/8/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/8/2018    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/8/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          525.3
      12/8/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.99
      12/8/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.96
      12/8/2018    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.07
      12/8/2018    709   RR0123   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         -42.44
      12/8/2018    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      12/8/2018    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      12/8/2018    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      12/8/2018    709   RR0123   Owner Operator   Truck Payment                  CTMS - 220765 Q1248                   311.97
      12/8/2018    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/8/2018    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      12/8/2018    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8

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      12/8/2018    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.48
      12/8/2018    709   SB0103   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         132.17
      12/8/2018    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      12/8/2018    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/8/2018    709   SB0103   Owner Operator   Truck Payment                  CTMS - 220719 Sub Lease               388.33
      12/8/2018    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      12/8/2018    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      12/8/2018    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      12/8/2018    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/8/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            440
      12/8/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            568
      12/8/2018    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.72
      12/8/2018    709   SM0109   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         460.82
      12/8/2018    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      12/8/2018    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      12/8/2018    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      12/8/2018    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      12/8/2018    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/8/2018    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      12/8/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/8/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/8/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/8/2018    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/8/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.93
      12/8/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.59
      12/8/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.64
      12/8/2018    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.92
      12/8/2018    709   SN0019   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax            195
      12/8/2018    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      12/8/2018    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      12/8/2018    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      12/8/2018    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      12/8/2018    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.29
      12/8/2018    709   VB0015   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          43.12
      12/8/2018    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      12/8/2018    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/8/2018    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    6.23
      12/8/2018    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/8/2018    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      12/8/2018    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      12/8/2018    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      12/8/2018    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/8/2018    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      12/8/2018    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      12/8/2018    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      12/8/2018    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-15           -62
      12/8/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/8/2018    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/8/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.38
      12/8/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.69
      12/8/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.73
      12/8/2018    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.36
      12/8/2018    709   WH0087   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         194.13
      12/8/2018    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      12/8/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 220752 TRUCK RENTAL              -500
      12/8/2018    709   WH0087   Owner Operator   Truck Payment                  CTMS - 220766 Q1238 Lease             311.97
      12/8/2018    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      12/8/2018    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          26.59
      12/8/2018    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      12/8/2018    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRK33471                      9.84
      12/8/2018    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      12/8/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.84
      12/8/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          214.7
      12/8/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.77
      12/8/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.73
      12/8/2018    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.15

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      12/8/2018    742   BS0078   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         238.37
      12/8/2018    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      12/8/2018    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      12/8/2018    742   BS0078   Owner Operator   Truck Payment                  CTMS - 220763 Lease of Q13151         388.16
      12/8/2018    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      12/8/2018    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      12/8/2018    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      12/8/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.08
      12/8/2018    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.09
      12/8/2018    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      12/8/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/8/2018    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/8/2018    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      12/8/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      12/8/2018    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      12/8/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.18
      12/8/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.98
      12/8/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           465
      12/8/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.41
      12/8/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.46
      12/8/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.46
      12/8/2018    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.68
      12/8/2018    742   DA0067   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          246.8
      12/8/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      12/8/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      12/8/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/8/2018    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/8/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Benicia 12                          25
      12/8/2018    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  25
      12/8/2018    742   DA0067   Owner Operator   Toll Charges                   33847 ILTOLL Route 80 (East)             4.9
      12/8/2018    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      12/8/2018    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      12/8/2018    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      12/8/2018    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/8/2018    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/8/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.01
      12/8/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.19
      12/8/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          515.2
      12/8/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.97
      12/8/2018    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.58
      12/8/2018    742   DS0254   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          335.3
      12/8/2018    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      12/8/2018    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      12/8/2018    742   DS0254   Owner Operator   T Chek Fee                     ExpressCheck Fee                       10.71
      12/8/2018    742   DS0254   Owner Operator   T Chek Fee                     Tractor Repair 33487                 1070.68
      12/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 2                    25
      12/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 12                 25
      12/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Boughton Rd. (Mai          3.65
      12/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Cermak Rd.                 3.65
      12/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Joliet Rd.                 1.35
      12/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Route 80 (East)             4.9
      12/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Spring Creek               7.35
      12/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Spring Creek               7.35
      12/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Turner Turnpike East         18.05
      12/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Turner Turnpike West         18.05
      12/8/2018    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Will Rogers Turnpike         18.05
      12/8/2018    742   DS0254   Owner Operator   Truck Payment                  CTMS - 220802 Trk 33487 Lease          434.2
      12/8/2018    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/8/2018    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      12/8/2018    742   EA0039   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-1           13.33
      12/8/2018    742   EA0039   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         110.89
      12/8/2018    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      12/8/2018    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/8/2018    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/8/2018    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          26.59
      12/8/2018    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      12/8/2018    742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze TRK32947                      9.84
      12/8/2018    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      12/8/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/8/2018    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/8/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.63
      12/8/2018    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.32
      12/8/2018    742   EN0016   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         252.66
      12/8/2018    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      12/8/2018    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      12/8/2018    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/8/2018    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00386896 - PO System          378.72
      12/8/2018    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 11                 25
      12/8/2018    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      12/8/2018    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      12/8/2018    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      12/8/2018    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-1           41.93
      12/8/2018    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-1           27.95
      12/8/2018    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-1           27.95
      12/8/2018    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-1            55.9
      12/8/2018    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-1           27.95
      12/8/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      12/8/2018    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      12/8/2018    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      12/8/2018    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      12/8/2018    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           585
      12/8/2018    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2018 - 34329                      64.39
      12/8/2018    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      12/8/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/8/2018    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/8/2018    742   JS0390   Owner Operator   Broker Pre Pass                DriveWyze TRK34327                     19.68
      12/8/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      12/8/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      12/8/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      12/8/2018    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      12/8/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.99
      12/8/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.94
      12/8/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.47
      12/8/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.21
      12/8/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.89
      12/8/2018    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.51
      12/8/2018    742   JS0390   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         218.28
      12/8/2018    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      12/8/2018    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      12/8/2018    742   JS0390   Owner Operator   Toll Charges                   34327 BATA Carquinez Bridge               25
      12/8/2018    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      12/8/2018    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      12/8/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.66
      12/8/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.29
      12/8/2018    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.07
      12/8/2018    742   MS0230   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          14.71
      12/8/2018    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      12/8/2018    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      12/8/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      12/8/2018    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      12/8/2018    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/8/2018    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      12/8/2018    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-1           69.66
      12/8/2018    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    742   OS0018   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         684.19
      12/8/2018    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      12/8/2018    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      12/8/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      12/8/2018    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/8/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.22
      12/8/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.27
      12/8/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.49
      12/8/2018    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.5
      12/8/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      12/8/2018    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      12/8/2018    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      12/8/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      12/8/2018    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      12/8/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/8/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/8/2018    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/8/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.07
      12/8/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          211.8
      12/8/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.24
      12/8/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.37
      12/8/2018    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.74
      12/8/2018    742   RF0136   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          90.72
      12/8/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      12/8/2018    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      12/8/2018    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 9                  25
      12/8/2018    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      12/8/2018    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13157                     9.84
      12/8/2018    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      12/8/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.95
      12/8/2018    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.23
      12/8/2018    742   RN0054   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         129.18
      12/8/2018    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      12/8/2018    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      12/8/2018    742   RN0054   Owner Operator   Truck Payment                  CTMS - 220804 Tractor Lease           353.28
      12/8/2018    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      12/8/2018    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                      9.84
      12/8/2018    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      12/8/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.99
      12/8/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.22
      12/8/2018    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.45
      12/8/2018    742   RS0342   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         418.72
      12/8/2018    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      12/8/2018    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      12/8/2018    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/8/2018    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      12/8/2018    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      12/8/2018    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      12/8/2018    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      12/8/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.63
      12/8/2018    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          463.7
      12/8/2018    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           36.7
      12/8/2018    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/8/2018    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      12/8/2018    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.86
      12/8/2018    742   TH0130   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          32.51
      12/8/2018    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/8/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      12/8/2018    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/8/2018    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               25
      12/8/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      12/8/2018    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      12/8/2018    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      12/8/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      12/8/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      12/8/2018    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      12/8/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.92
      12/8/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.05
      12/8/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         671.29
      12/8/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.97
      12/8/2018    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.32

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       12/8/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.63
       12/8/2018   843   EI0003   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         179.19
       12/8/2018   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/8/2018   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/8/2018   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           7.89
       12/8/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       12/8/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       12/8/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       12/8/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       12/8/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       12/8/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      12/15/2018   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      12/15/2018   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      12/15/2018   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.78
      12/15/2018   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      12/15/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      12/15/2018   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      12/15/2018   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL             -35
      12/15/2018   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          26.25
      12/15/2018   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      12/15/2018   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      12/15/2018   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      12/15/2018   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      12/15/2018   709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      12/15/2018   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      12/15/2018   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      12/15/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.55
      12/15/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.11
      12/15/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      12/15/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.83
      12/15/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.74
      12/15/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.26
      12/15/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.05
      12/15/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           88.8
      12/15/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.51
      12/15/2018   709   AV0021   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          70.13
      12/15/2018   709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 201.53
      12/15/2018   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      12/15/2018   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      12/15/2018   709   AV0021   Owner Operator   Truck Payment                  CTMS - 220861 Q13169 Sublease         352.68
      12/15/2018   709   AV0021   Owner Operator   Truck Payment                  CTMS - 221208 Q13169 Sublease         352.68
      12/15/2018   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      12/15/2018   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      12/15/2018   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      12/15/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      12/15/2018   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      12/15/2018   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      12/15/2018   709   CC0134   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-22         -16.2
      12/15/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.25
      12/15/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           3.29
      12/15/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           4.21
      12/15/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.27
      12/15/2018   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
      12/15/2018   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      12/15/2018   709   CC0134   Owner Operator   Truck Payment                  CTMS - 221058 Q13168 sub lease        352.68
      12/15/2018   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/15/2018   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      12/15/2018   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.73
      12/15/2018   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      12/15/2018   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      12/15/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/15/2018   709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00387809 - PO System          193.44
      12/15/2018   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      12/15/2018   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/15/2018   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      12/15/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.07
      12/15/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.96

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      12/15/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.57
      12/15/2018   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                       33.64
      12/15/2018   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/15/2018   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       39.07
      12/15/2018   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                          244.46
      12/15/2018   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL              8.75
      12/15/2018   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                            8
      12/15/2018   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          380.94
      12/15/2018   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/15/2018   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD              65.08
      12/15/2018   709   CS0091   Owner Operator   Truck Payment                  CTMS - 221057 Q1201                    278.76
      12/15/2018   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      12/15/2018   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      12/15/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          426.81
      12/15/2018   709   DL0029   Owner Operator   Loan Repayment                 Balance of Loan 12                    1743.98
      12/15/2018   709   DL0029   Owner Operator   Loan Repayment                 efs 206625, bal ln 12                -4448.19
      12/15/2018   709   DL0029   Owner Operator   Loan Repayment                 Loan # 00013 - Loan Repayment          376.27
      12/15/2018   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/15/2018   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     34.2
      12/15/2018   709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        26.77
      12/15/2018   709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                  2677.44
      12/15/2018   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      12/15/2018   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      12/15/2018   709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-22            -93
      12/15/2018   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/15/2018   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      12/15/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.75
      12/15/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          527.32
      12/15/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.34
      12/15/2018   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          352.59
      12/15/2018   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/15/2018   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 65.71
      12/15/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 221122 Sublease                 338.99
      12/15/2018   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      12/15/2018   709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/15/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.52
      12/15/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          174.36
      12/15/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.54
      12/15/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          107.42
      12/15/2018   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/15/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    18.75
      12/15/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      12/15/2018   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                     18.38
      12/15/2018   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/15/2018   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
      12/15/2018   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          366.29
      12/15/2018   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          456.11
      12/15/2018   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                       33.64
      12/15/2018   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/15/2018   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    92.35
      12/15/2018   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                          512.35
      12/15/2018   709   DS0225   Owner Operator   Advance                        8/20/18 Clm 70530-1 s/u 4 wks            250
      12/15/2018   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      12/15/2018   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
      12/15/2018   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          671.82
      12/15/2018   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/15/2018   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.07
      12/15/2018   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      12/15/2018   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                           13
      12/15/2018   709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/15/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      12/15/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      12/15/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      12/15/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      12/15/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.62
      12/15/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          155.28
      12/15/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.03
      12/15/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                           179.1
      12/15/2018   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/15/2018   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    42.19
      12/15/2018   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/15/2018   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
      12/15/2018   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250

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      12/15/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/15/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/15/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.78
      12/15/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.37
      12/15/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.73
      12/15/2018   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      12/15/2018   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      12/15/2018   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      12/15/2018   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      12/15/2018   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      12/15/2018   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      12/15/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      12/15/2018   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      12/15/2018   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      12/15/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.06
      12/15/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.97
      12/15/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.97
      12/15/2018   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      12/15/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/15/2018   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      12/15/2018   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      12/15/2018   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/15/2018   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/15/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.6
      12/15/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.9
      12/15/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.97
      12/15/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.44
      12/15/2018   709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 377.55
      12/15/2018   709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      12/15/2018   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      12/15/2018   709   FS0039   Owner Operator   Truck Payment                  CTMS - 221207 truck lease 3304        434.29
      12/15/2018   709   FS0039   Owner Operator   Truck Payment                  CTMS - 221258 TRUCK RENTAL              250
      12/15/2018   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/15/2018   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      12/15/2018   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      12/15/2018   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/15/2018   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      12/15/2018   709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-8            19.5
      12/15/2018   709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.17
      12/15/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.81
      12/15/2018   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      12/15/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      12/15/2018   709   GA0051   Owner Operator   Repair Order                   CTMS - 221259 REPAIRS                 287.13
      12/15/2018   709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      12/15/2018   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      12/15/2018   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      12/15/2018   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.46
      12/15/2018   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          364.4
      12/15/2018   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      12/15/2018   709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00387301 - PO System           176.9
      12/15/2018   709   GS0015   Owner Operator   Truck Payment                  CTMS - 221056 Lease                   252.11
      12/15/2018   709   GW0043   Owner Operator   Advance                        11/12/18 Clm 71632-1 s/u 5 wks          400
      12/15/2018   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      12/15/2018   709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      12/15/2018   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      12/15/2018   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      12/15/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/15/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/15/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.47
      12/15/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.55
      12/15/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.72
      12/15/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.78
      12/15/2018   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      12/15/2018   709   GW0043   Owner Operator   T Chek Fee                     Tractor Repair Q1109                   55.14

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      12/15/2018   709   GW0043   Owner Operator   Truck Payment                  CTMS - 220692 TRUCK RENTAL              500
      12/15/2018   709   GW0043   Owner Operator   Truck Payment                  CTMS - 220851 Q1109 Lease             302.85
      12/15/2018   709   GW0043   Owner Operator   Truck Payment                  CTMS - 221197 Q1109 Lease             302.85
      12/15/2018   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      12/15/2018   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      12/15/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.55
      12/15/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.07
      12/15/2018   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      12/15/2018   709   HC0023   Owner Operator   Truck Payment                  CTMS - 221051 Q13170                  352.68
      12/15/2018   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      12/15/2018   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      12/15/2018   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/15/2018   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/15/2018   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.49
      12/15/2018   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         625.41
      12/15/2018   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      12/15/2018   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/15/2018   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      12/15/2018   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-8          179.37
      12/15/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.71
      12/15/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.33
      12/15/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.21
      12/15/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.92
      12/15/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.77
      12/15/2018   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      12/15/2018   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/15/2018   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      12/15/2018   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/15/2018   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.98
      12/15/2018   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         637.41
      12/15/2018   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      12/15/2018   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      12/15/2018   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/15/2018   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      12/15/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.74
      12/15/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.24
      12/15/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.94
      12/15/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.84
      12/15/2018   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                       100
      12/15/2018   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      12/15/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/15/2018   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/15/2018   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      12/15/2018   709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.95
      12/15/2018   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.12
      12/15/2018   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      12/15/2018   709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      12/15/2018   709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                          13
      12/15/2018   709   JA0156   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/15/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/15/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                           151
      12/15/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.62
      12/15/2018   709   JA0156   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      42.19
      12/15/2018   709   JA0156   Owner Operator   Repair Order                   CTMS - 221265 TRACTOR REPAIR          256.35
      12/15/2018   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      12/15/2018   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      12/15/2018   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      12/15/2018   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      12/15/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.38
      12/15/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.1
      12/15/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.44
      12/15/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.25
      12/15/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.26

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      12/15/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        483.3
      12/15/2018   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/15/2018   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD             42.19
      12/15/2018   709   JC0292   Owner Operator   Truck Payment                  CTMS - 221119 Q13197 Lease          276.63
      12/15/2018   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                    8.75
      12/15/2018   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                         8
      12/15/2018   709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/15/2018   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/15/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                    11.72
      12/15/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism            2.5
      12/15/2018   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/15/2018   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                        13
      12/15/2018   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                         500
      12/15/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          500
      12/15/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      12/15/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        382.8
      12/15/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       560.85
      12/15/2018   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                    33.64
      12/15/2018   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/15/2018   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      12/15/2018   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      12/15/2018   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/15/2018   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      12/15/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          500
      12/15/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      12/15/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       623.25
      12/15/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        500.1
      12/15/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        485.7
      12/15/2018   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                    33.64
      12/15/2018   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/15/2018   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      12/15/2018   709   JG0072   Owner Operator   Repair Order                   CTMS - 220962 REPAIRS               573.24
      12/15/2018   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      12/15/2018   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      12/15/2018   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      12/15/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       414.39
      12/15/2018   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/15/2018   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    35.16
      12/15/2018   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      12/15/2018   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                        13
      12/15/2018   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                          100
      12/15/2018   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      12/15/2018   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         3.96
      12/15/2018   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       264.08
      12/15/2018   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/15/2018   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      12/15/2018   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      12/15/2018   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      12/15/2018   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/15/2018   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      12/15/2018   709   JR0099   Owner Operator   Truck Payment                  CTMS - 220988 Truck Lease           278.76
      12/15/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                  8.75
      12/15/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      12/15/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL          8.75
      12/15/2018   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        13
      12/15/2018   709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                        8
      12/15/2018   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      12/15/2018   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/15/2018   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/15/2018   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/15/2018   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/15/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       421.75
      12/15/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.27
      12/15/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       498.43
      12/15/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        476.2
      12/15/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         2.51
      12/15/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/15/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                  15.94
      12/15/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      12/15/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD          40.24
      12/15/2018   709   JS0265   Owner Operator   Repair Order                   CTMS - 221259 REPAIR                257.64
      12/15/2018   709   JS0265   Owner Operator   Truck Payment                  CTMS - 221051 Q13159 Lease           331.5
      12/15/2018   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75

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      12/15/2018   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      12/15/2018   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/15/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/15/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/15/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/15/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/15/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             80
      12/15/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.43
      12/15/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           243
      12/15/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.01
      12/15/2018   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      12/15/2018   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      12/15/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/15/2018   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      12/15/2018   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      12/15/2018   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      12/15/2018   709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   709   KT0055   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/15/2018   709   KT0055   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/15/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.86
      12/15/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.63
      12/15/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.01
      12/15/2018   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      12/15/2018   709   KT0055   Owner Operator   Truck Payment                  CTMS - 221053 Q13156 Lease            388.16
      12/15/2018   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      12/15/2018   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      12/15/2018   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      12/15/2018   709   LL0160   Owner Operator   Truck Payment                  CTMS - 221207 Lease Q1111             252.11
      12/15/2018   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      12/15/2018   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      12/15/2018   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/15/2018   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/15/2018   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         743.74
      12/15/2018   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.22
      12/15/2018   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      12/15/2018   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/15/2018   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      12/15/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.08
      12/15/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.63
      12/15/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.27
      12/15/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.31
      12/15/2018   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      12/15/2018   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      12/15/2018   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      12/15/2018   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.54
      12/15/2018   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      12/15/2018   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      12/15/2018   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      12/15/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         595.47
      12/15/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.92
      12/15/2018   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      12/15/2018   709   ME0053   Owner Operator   Truck Payment                  CTMS - 221058 Q1113 Lease             252.11
      12/15/2018   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/15/2018   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      12/15/2018   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.03
      12/15/2018   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.16
      12/15/2018   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      12/15/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/15/2018   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/15/2018   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      12/15/2018   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      12/15/2018   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/15/2018   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/15/2018   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.91
      12/15/2018   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64

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      12/15/2018   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      12/15/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/15/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      12/15/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      12/15/2018   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                     -727.2
      12/15/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.61
      12/15/2018   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      12/15/2018   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      12/15/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      12/15/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      12/15/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      12/15/2018   709   NB0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                         7.2
      12/15/2018   709   NB0029   Owner Operator   T Chek Fee                     Tractor Repair 32986                  229.76
      12/15/2018   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/15/2018   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      12/15/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              80
      12/15/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      12/15/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.7
      12/15/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.14
      12/15/2018   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      12/15/2018   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      12/15/2018   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      12/15/2018   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      12/15/2018   709   NT9564   Owner Operator   Truck Payment                  CTMS - 221267 Truck 73130 Leas        196.65
      12/15/2018   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/15/2018   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      12/15/2018   709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.78
      12/15/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.94
      12/15/2018   709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34370                       100
      12/15/2018   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      12/15/2018   709   OJ0007   Owner Operator   Repair Order                   CTMS - 221055 REPAIRS                   250
      12/15/2018   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      12/15/2018   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/15/2018   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      12/15/2018   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      12/15/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/15/2018   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00386537 - PO System          872.88
      12/15/2018   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/15/2018   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      12/15/2018   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-22        -29.38
      12/15/2018   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-22       -215.18
      12/15/2018   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/15/2018   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.73
      12/15/2018   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      12/15/2018   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      12/15/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/15/2018   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      12/15/2018   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/15/2018   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      12/15/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/15/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/15/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                              50
      12/15/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      12/15/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/15/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/15/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.83
      12/15/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.64
      12/15/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.13
      12/15/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          443.6
      12/15/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.32
      12/15/2018   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      12/15/2018   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      12/15/2018   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      12/15/2018   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75

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      12/15/2018   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      12/15/2018   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/15/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.57
      12/15/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         577.07
      12/15/2018   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      12/15/2018   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      12/15/2018   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      12/15/2018   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      12/15/2018   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      12/15/2018   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      12/15/2018   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      12/15/2018   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.25
      12/15/2018   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      12/15/2018   709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00386538 - PO System          190.17
      12/15/2018   709   RM0026   Owner Operator   Toll Charges                   33664 NTTA SRT Gantry 1                 4.45
      12/15/2018   709   RM0026   Owner Operator   Toll Charges                   33664 NTTA SRT Gantry 1                 3.56
      12/15/2018   709   RM0026   Owner Operator   Toll Charges                   33664 NTTA SRT Gantry 2                  9.2
      12/15/2018   709   RM0026   Owner Operator   Toll Charges                   33664 NTTA SRT Gantry 3                12.72
      12/15/2018   709   RM0026   Owner Operator   Toll Charges                   33664 NTTA SRT Gantry 3                12.72
      12/15/2018   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      12/15/2018   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      12/15/2018   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.84
      12/15/2018   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.23
      12/15/2018   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.02
      12/15/2018   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      12/15/2018   709   RP0082   Owner Operator   Truck Payment                  CTMS - 220988 Q1202 Truck Leas        278.76
      12/15/2018   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      12/15/2018   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      12/15/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/15/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/15/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/15/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/15/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.95
      12/15/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.08
      12/15/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.64
      12/15/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.94
      12/15/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.13
      12/15/2018   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      12/15/2018   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      12/15/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      12/15/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 OTC Akron                         1.25
      12/15/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 OTC Stony Ridge-Toledo              18
      12/15/2018   709   RR0123   Owner Operator   Truck Payment                  CTMS - 221057 Q1248                   311.97
      12/15/2018   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      12/15/2018   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      12/15/2018   709   SB0009   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax            564.66
      12/15/2018   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      12/15/2018   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      12/15/2018   709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      12/15/2018   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/15/2018   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   21.27
      12/15/2018   709   SB0009   Owner Operator   Repair Order                   CTMS - 219380 REPAIR                  334.99
      12/15/2018   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      12/15/2018   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         517.31
      12/15/2018   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/15/2018   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      12/15/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.44
      12/15/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.02
      12/15/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.07
      12/15/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.58
      12/15/2018   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      12/15/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/15/2018   709   SB0103   Owner Operator   Truck Payment                  CTMS - 220984 Sub Lease               388.33
      12/15/2018   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      12/15/2018   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      12/15/2018   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100

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      12/15/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.08
      12/15/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.51
      12/15/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           334
      12/15/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.68
      12/15/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                             94
      12/15/2018   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      12/15/2018   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      12/15/2018   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      12/15/2018   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      12/15/2018   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/15/2018   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      12/15/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/15/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            140
      12/15/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      12/15/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/15/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.38
      12/15/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.39
      12/15/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           106
      12/15/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.16
      12/15/2018   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      12/15/2018   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      12/15/2018   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      12/15/2018   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.43
      12/15/2018   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.06
      12/15/2018   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      12/15/2018   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    68.36
      12/15/2018   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/15/2018   709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      12/15/2018   709   VJ0006   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          104.7
      12/15/2018   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      12/15/2018   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.31
      12/15/2018   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/15/2018   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      12/15/2018   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      12/15/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/15/2018   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      12/15/2018   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      12/15/2018   709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-8              62
      12/15/2018   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/15/2018   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/15/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.31
      12/15/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          467.9
      12/15/2018   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      12/15/2018   709   WH0087   Owner Operator   Truck Payment                  CTMS - 221057 Q1238 Lease             311.97
      12/15/2018   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      12/15/2018   742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      12/15/2018   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      12/15/2018   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      12/15/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/15/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/15/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/15/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/15/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/15/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/15/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/15/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/15/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.04
      12/15/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.84
      12/15/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.07
      12/15/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.67
      12/15/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           152
      12/15/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.72
      12/15/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.08
      12/15/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.44
      12/15/2018   742   AP0047   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          92.96
      12/15/2018   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          20.91
      12/15/2018   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/15/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      12/15/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      12/15/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      12/15/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      12/15/2018   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      12/15/2018   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/15/2018   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/15/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          358.4
      12/15/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.96
      12/15/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.77
      12/15/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.43
      12/15/2018   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      12/15/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      12/15/2018   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      12/15/2018   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      12/15/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.16
      12/15/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.21
      12/15/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.57
      12/15/2018   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      12/15/2018   742   CA0089   Owner Operator   Repair Order                   TRACTOR 33987                             10
      12/15/2018   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/15/2018   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      12/15/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.39
      12/15/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.98
      12/15/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.29
      12/15/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.74
      12/15/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.5
      12/15/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.17
      12/15/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.23
      12/15/2018   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      12/15/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/15/2018   742   DA0067   Owner Operator   Repair Order                   TRACTOR 33847                             10
      12/15/2018   742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      12/15/2018   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      12/15/2018   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      12/15/2018   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      12/15/2018   742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         656.28
      12/15/2018   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          543.7
      12/15/2018   742   DC0117   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          861.5
      12/15/2018   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      12/15/2018   742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 221078 Trailer wash 702           -38
      12/15/2018   742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 221079 Trailer wash 720           -45
      12/15/2018   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      12/15/2018   742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.03
      12/15/2018   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      12/15/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      12/15/2018   742   DS0254   Owner Operator   Truck Payment                  CTMS - 221120 Trk 33487 Lease          434.2
      12/15/2018   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/15/2018   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      12/15/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.97
      12/15/2018   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      12/15/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/15/2018   742   EA0039   Owner Operator   Repair Order                   TRACTOR 33993                             10
      12/15/2018   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/15/2018   742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      12/15/2018   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      12/15/2018   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      12/15/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.85
      12/15/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.5
      12/15/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.35
      12/15/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.03
      12/15/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.65
      12/15/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.32
      12/15/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.62

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      12/15/2018   742   ED0041   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          49.88
      12/15/2018   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          20.91
      12/15/2018   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      12/15/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      12/15/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/15/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/15/2018   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/15/2018   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      12/15/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.51
      12/15/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.27
      12/15/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.44
      12/15/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.38
      12/15/2018   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      12/15/2018   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      12/15/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/15/2018   742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00386896 - PO System          378.72
      12/15/2018   742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Spencer Mai          8.24
      12/15/2018   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      12/15/2018   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      12/15/2018   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      12/15/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      12/15/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      12/15/2018   742   FS0011   Owner Operator   Repair Order                   TRACTOR 51069A                            10
      12/15/2018   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      12/15/2018   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      12/15/2018   742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      12/15/2018   742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/15/2018   742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      12/15/2018   742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.77
      12/15/2018   742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      12/15/2018   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      12/15/2018   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      12/15/2018   742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-22        -26.66
      12/15/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.58
      12/15/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.85
      12/15/2018   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      12/15/2018   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      12/15/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      12/15/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      12/15/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          223.2
      12/15/2018   742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/15/2018   742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      12/15/2018   742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      12/15/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      12/15/2018   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      12/15/2018   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      12/15/2018   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/15/2018   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/15/2018   742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      12/15/2018   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/15/2018   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/15/2018   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/15/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.51
      12/15/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.25
      12/15/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.91
      12/15/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.55
      12/15/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.12
      12/15/2018   742   PC0012   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          51.06
      12/15/2018   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      12/15/2018   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      12/15/2018   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      12/15/2018   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      12/15/2018   742   PC0012   Owner Operator   Toll Charges                   32969 Antioch Bridge 2                    25
      12/15/2018   742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 6                  25

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      12/15/2018   742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 7                  25
      12/15/2018   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      12/15/2018   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      12/15/2018   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      12/15/2018   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      12/15/2018   742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/15/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/15/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.3
      12/15/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.37
      12/15/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.26
      12/15/2018   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      12/15/2018   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      12/15/2018   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      12/15/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.67
      12/15/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.99
      12/15/2018   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      12/15/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      12/15/2018   742   RS0342   Owner Operator   Toll Charges                   33738 KTA Emporia: I-35N                18.9
      12/15/2018   742   RS0342   Owner Operator   Toll Charges                   33738 OTA Turner Turnpike Wes          18.05
      12/15/2018   742   RS0342   Owner Operator   Toll Charges                   33738 OTA Will Rogers Turnpike         18.05
      12/15/2018   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/15/2018   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      12/15/2018   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      12/15/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      12/15/2018   742   SK0049   Owner Operator   Repair Order                   TRACTOR 33934                             10
      12/15/2018   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      12/15/2018   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      12/15/2018   742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      12/15/2018   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      12/15/2018   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      12/15/2018   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      12/15/2018   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/15/2018   742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/15/2018   742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/15/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.22
      12/15/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          149.9
      12/15/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.63
      12/15/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.15
      12/15/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.29
      12/15/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.52
      12/15/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.28
      12/15/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.34
      12/15/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.95
      12/15/2018   742   TC0098   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          80.12
      12/15/2018   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           10.8
      12/15/2018   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/15/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      12/15/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      12/15/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      12/15/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      12/15/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      12/15/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      12/15/2018   742   TC0098   Owner Operator   T Chek Fee                     ExpressCheck Fee                        6.38
      12/15/2018   742   TC0098   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.33
      12/15/2018   742   TC0098   Owner Operator   T Chek Fee                     Tractor Repair 33489                  132.54
      12/15/2018   742   TC0098   Owner Operator   T Chek Fee                     Tractor Repair 33489                  638.11
      12/15/2018   742   TC0098   Owner Operator   Toll Charges                   33489 Carquinez Bridge 8                  25
      12/15/2018   742   TC0098   Owner Operator   Toll Charges                   33489 Carquinez Bridge 9                  25
      12/15/2018   742   TC0098   Owner Operator   Truck Payment                  CTMS - 220255 33489 Lease Paym        412.16
      12/15/2018   742   TC0098   Owner Operator   Truck Payment                  CTMS - 220457 33489 Lease Paym        412.16
      12/15/2018   742   TC0098   Owner Operator   Truck Payment                  CTMS - 220762 33489 Lease Paym        412.16
      12/15/2018   742   TC0098   Owner Operator   Truck Payment                  CTMS - 221054 33489 Lease Paym        412.16
      12/15/2018   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/15/2018   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      12/15/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.25
      12/15/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.14

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      12/15/2018   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      12/15/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    37.5
      12/15/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism           2.5
      12/15/2018   742   TH0130   Owner Operator   Repair Order                   TRACTOR 33991                          10
      12/15/2018   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge              25
      12/22/2018   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL         8.75
      12/22/2018   709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                  9.84
      12/22/2018   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                      13
      12/22/2018   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      420.15
      12/22/2018   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      12/22/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD          7.79
      12/22/2018   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te        2.5
      12/22/2018   709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS NORTH 11      10.08
      12/22/2018   709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS NORTH 11      10.08
      12/22/2018   709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS SOUTH 11      10.08
      12/22/2018   709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS SOUTH 11      10.08
      12/22/2018   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                 59.95
      12/22/2018   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL         8.75
      12/22/2018   709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                  9.84
      12/22/2018   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                       8
      12/22/2018   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                         150
      12/22/2018   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                      1.5
      12/22/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       40.01
      12/22/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                      123.95
      12/22/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       49.22
      12/22/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       143.5
      12/22/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                      245.36
      12/22/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          75
      12/22/2018   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                      148.71
      12/22/2018   709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509              100.47
      12/22/2018   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      12/22/2018   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD         35.15
      12/22/2018   709   AV0021   Owner Operator   Truck Payment                  CTMS - 221494 Q13169 Sublease      352.68
      12/22/2018   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                    8.75
      12/22/2018   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                       13
      12/22/2018   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      12/22/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                    28.11
      12/22/2018   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism            2.5
      12/22/2018   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL         8.75
      12/22/2018   709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                  9.84
      12/22/2018   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                       8
      12/22/2018   709   CC0134   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-15        16.2
      12/22/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      156.76
      12/22/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      412.88
      12/22/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                       34.05
      12/22/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                      144.14
      12/22/2018   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment      345.02
      12/22/2018   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      12/22/2018   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD         35.15
      12/22/2018   709   CC0134   Owner Operator   Truck Payment                  CTMS - 221387 Q13168 sub lease     352.68
      12/22/2018   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                8.75
      12/22/2018   709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                   9.84
      12/22/2018   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                       13
      12/22/2018   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      671.08
      12/22/2018   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                      392.93
      12/22/2018   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                   33.64
      12/22/2018   709   CM0119   Owner Operator   Loan Repayment                 EFS 207166                       -6605.16
      12/22/2018   709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment      262.04
      12/22/2018   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      12/22/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                91.93
      12/22/2018   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism        2.5
      12/22/2018   709   CM0119   Owner Operator   T Chek Fee                     ExpressCheck Fee                     65.4
      12/22/2018   709   CM0119   Owner Operator   T Chek Fee                     Tractor Repair 32920              6539.76
      12/22/2018   709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00387809 - PO System        193.4
      12/22/2018   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                      507.91
      12/22/2018   709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                   8.75
      12/22/2018   709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                   9.84
      12/22/2018   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                       13
      12/22/2018   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                         200
      12/22/2018   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      12/22/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       295.5
      12/22/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      270.33
      12/22/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                       91.71

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      12/22/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.95
      12/22/2018   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      12/22/2018   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      12/22/2018   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      12/22/2018   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/22/2018   709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                      9.84
      12/22/2018   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      12/22/2018   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.24
      12/22/2018   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      12/22/2018   709   CS0091   Owner Operator   Truck Payment                  CTMS - 221387 Q1201                   278.76
      12/22/2018   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/22/2018   709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                      9.84
      12/22/2018   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      12/22/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          420.6
      12/22/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.49
      12/22/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.55
      12/22/2018   709   DL0029   Owner Operator   Loan Repayment                 Loan # 00013 - Loan Repayment         376.27
      12/22/2018   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      12/22/2018   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      12/22/2018   709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      12/22/2018   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      12/22/2018   709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-15             93
      12/22/2018   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/22/2018   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/22/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         645.14
      12/22/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.57
      12/22/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.97
      12/22/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.91
      12/22/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.72
      12/22/2018   709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      12/22/2018   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      12/22/2018   709   DL0107   Owner Operator   Truck Payment                  CTMS - 221433 Sublease                338.99
      12/22/2018   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      12/22/2018   709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.46
      12/22/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          154.4
      12/22/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.65
      12/22/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.3
      12/22/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.84
      12/22/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.86
      12/22/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.06
      12/22/2018   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      12/22/2018   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      12/22/2018   709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      12/22/2018   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/22/2018   709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                      9.84
      12/22/2018   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      12/22/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/22/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/22/2018   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         655.12
      12/22/2018   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      12/22/2018   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      12/22/2018   709   DS0049   Owner Operator   Toll Charges                   32915/TL9207 Bay Bridge 17                25
      12/22/2018   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      12/22/2018   709   DS0225   Owner Operator   Advance                        8/20/18 Clm 70530-1 s/u 4 wks           250
      12/22/2018   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      12/22/2018   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      12/22/2018   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         642.05
      12/22/2018   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      12/22/2018   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/22/2018   709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      12/22/2018   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      12/22/2018   709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/22/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      12/22/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5

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      12/22/2018   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/22/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.65
      12/22/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.32
      12/22/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.38
      12/22/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.47
      12/22/2018   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.18
      12/22/2018   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/22/2018   709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                      9.84
      12/22/2018   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      12/22/2018   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/22/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/22/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/22/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/22/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/22/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.42
      12/22/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.22
      12/22/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.81
      12/22/2018   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      12/22/2018   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      12/22/2018   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      12/22/2018   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      12/22/2018   709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      12/22/2018   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      12/22/2018   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.64
      12/22/2018   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      12/22/2018   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      12/22/2018   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      12/22/2018   709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      12/22/2018   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      12/22/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.9
      12/22/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.84
      12/22/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           294
      12/22/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           311
      12/22/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.59
      12/22/2018   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.94
      12/22/2018   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      12/22/2018   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/22/2018   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      12/22/2018   709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      12/22/2018   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      12/22/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.95
      12/22/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.18
      12/22/2018   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.75
      12/22/2018   709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                1008.86
      12/22/2018   709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      12/22/2018   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      12/22/2018   709   FS0039   Owner Operator   Truck Payment                  CTMS - 221495 truck lease 3304        434.29
      12/22/2018   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/22/2018   709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521B                     9.84
      12/22/2018   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      12/22/2018   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/22/2018   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/22/2018   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.5
      12/22/2018   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         584.53
      12/22/2018   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      12/22/2018   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/22/2018   709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRK34330                     31.68
      12/22/2018   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      12/22/2018   709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.48
      12/22/2018   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.93
      12/22/2018   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      12/22/2018   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      12/22/2018   709   GA0051   Owner Operator   Repair Order                   CTMS - 221559 REPAIRS                 287.13
      12/22/2018   709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      12/22/2018   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75

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      12/22/2018   709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      12/22/2018   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      12/22/2018   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.66
      12/22/2018   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      12/22/2018   709   GS0015   Owner Operator   Truck Payment                  CTMS - 221389 Lease                   252.11
      12/22/2018   709   GW0043   Owner Operator   Advance                        11/12/18 Clm 71632-1 s/u 5 wks           400
      12/22/2018   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      12/22/2018   709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      12/22/2018   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      12/22/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/22/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/22/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/22/2018   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/22/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.82
      12/22/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.25
      12/22/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           52.9
      12/22/2018   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.65
      12/22/2018   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      12/22/2018   709   GW0043   Owner Operator   Truck Payment                  CTMS - 221490 Q1109 Lease             302.85
      12/22/2018   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      12/22/2018   709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      12/22/2018   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      12/22/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.83
      12/22/2018   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.09
      12/22/2018   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      12/22/2018   709   HC0023   Owner Operator   Truck Payment                  CTMS - 221386 Q13170                  352.68
      12/22/2018   709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      12/22/2018   709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK33180                      9.84
      12/22/2018   709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      12/22/2018   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/22/2018   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/22/2018   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.57
      12/22/2018   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.49
      12/22/2018   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      12/22/2018   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/22/2018   709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      12/22/2018   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      12/22/2018   709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-29        -210.6
      12/22/2018   709   HG0027   Owner Operator   ESCROW                         Escrow Withdrawal                      -5000
      12/22/2018   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/22/2018   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/22/2018   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.14
      12/22/2018   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      12/22/2018   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/22/2018   709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      12/22/2018   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      12/22/2018   709   IA0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-29       -216.77
      12/22/2018   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/22/2018   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.04
      12/22/2018   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.67
      12/22/2018   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      12/22/2018   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      12/22/2018   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/22/2018   709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      12/22/2018   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      12/22/2018   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.24
      12/22/2018   709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                        100
      12/22/2018   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      12/22/2018   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/22/2018   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/22/2018   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      12/22/2018   709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.57
      12/22/2018   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33

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      12/22/2018   709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
      12/22/2018   709   JA0156   Owner Operator   Broker Pre Pass                DriveWyze TRK34364                     31.68
      12/22/2018   709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                           13
      12/22/2018   709   JA0156   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/22/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/22/2018   709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      12/22/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.64
      12/22/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.02
      12/22/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.94
      12/22/2018   709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.41
      12/22/2018   709   JA0156   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/22/2018   709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      42.18
      12/22/2018   709   JA0156   Owner Operator   Repair Order                   CTMS - 221551 TRACTOR REPAIR          256.35
      12/22/2018   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      12/22/2018   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
      12/22/2018   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          13
      12/22/2018   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      12/22/2018   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.44
      12/22/2018   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/22/2018   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      12/22/2018   709   JC0292   Owner Operator   Truck Payment                  CTMS - 221431 Q13197 Lease            276.63
      12/22/2018   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      12/22/2018   709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                     33.84
      12/22/2018   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                            8
      12/22/2018   709   JD0211   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-29            -93
      12/22/2018   709   JD0211   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-29          -31.2
      12/22/2018   709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/22/2018   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/22/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      12/22/2018   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism               2.5
      12/22/2018   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/22/2018   709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                       9.84
      12/22/2018   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                           13
      12/22/2018   709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
      12/22/2018   709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      12/22/2018   709   JG0017   Owner Operator   Express Check                  T-Check Payment                         1500
      12/22/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/22/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/22/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      12/22/2018   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/22/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.63
      12/22/2018   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         568.06
      12/22/2018   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      12/22/2018   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/22/2018   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      12/22/2018   709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                        25
      12/22/2018   709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                        25
      12/22/2018   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      12/22/2018   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/22/2018   709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                       9.84
      12/22/2018   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                           13
      12/22/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/22/2018   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      12/22/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.26
      12/22/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.79
      12/22/2018   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.72
      12/22/2018   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      12/22/2018   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/22/2018   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      12/22/2018   709   JG0072   Owner Operator   Repair Order                   CTMS - 221534 REPAIR                   72.38
      12/22/2018   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      12/22/2018   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      12/22/2018   709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                       9.84
      12/22/2018   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                            8
      12/22/2018   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/22/2018   709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/22/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.11
      12/22/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.18
      12/22/2018   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.66
      12/22/2018   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/22/2018   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      12/22/2018   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                    8.75
      12/22/2018   709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                       9.84

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      12/22/2018   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                           13
      12/22/2018   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.91
      12/22/2018   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/22/2018   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                    19.51
      12/22/2018   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL              8.75
      12/22/2018   709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                       9.84
      12/22/2018   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                           13
      12/22/2018   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          431.25
      12/22/2018   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/22/2018   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.58
      12/22/2018   709   JR0099   Owner Operator   Truck Payment                  CTMS - 221332 Truck Lease              278.76
      12/22/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                     8.75
      12/22/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                        8.75
      12/22/2018   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL             8.75
      12/22/2018   709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRK33325                       9.84
      12/22/2018   709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                      9.84
      12/22/2018   709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                           13
      12/22/2018   709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                           8
      12/22/2018   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/22/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.91
      12/22/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.97
      12/22/2018   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.16
      12/22/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            2.48
      12/22/2018   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/22/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                     15.93
      12/22/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                         37.5
      12/22/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD             40.24
      12/22/2018   709   JS0265   Owner Operator   Repair Order                   CTMS - 221559 REPAIR                   257.64
      12/22/2018   709   JS0265   Owner Operator   Truck Payment                  CTMS - 221389 Q13159 Lease              331.5
      12/22/2018   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/22/2018   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                           13
      12/22/2018   709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                     -1290.8
      12/22/2018   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      12/22/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/22/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/22/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/22/2018   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/22/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          190.13
      12/22/2018   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            309
      12/22/2018   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                       33.64
      12/22/2018   709   KP0004   Owner Operator   Loan Repayment                 efs 207048                           -1520.23
      12/22/2018   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment          306.15
      12/22/2018   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/22/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.32
      12/22/2018   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      12/22/2018   709   KP0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                        15.05
      12/22/2018   709   KP0004   Owner Operator   T Chek Fee                     Tractor Repair 32914                  1505.18
      12/22/2018   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                          519.59
      12/22/2018   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL             8.75
      12/22/2018   709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                      9.84
      12/22/2018   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                           8
      12/22/2018   709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/22/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.95
      12/22/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.95
      12/22/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.35
      12/22/2018   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.93
      12/22/2018   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/22/2018   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD             42.18
      12/22/2018   709   KT0055   Owner Operator   Toll Charges                   Q13156 Carquinez Bridge 12                 25
      12/22/2018   709   KT0055   Owner Operator   Truck Payment                  CTMS - 221384 Q13156 Lease             388.16
      12/22/2018   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
      12/22/2018   709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                       9.84
      12/22/2018   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                            8
      12/22/2018   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              39.04
      12/22/2018   709   LL0160   Owner Operator   Truck Payment                  CTMS - 221495 Lease Q1111              252.11
      12/22/2018   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                    8.75
      12/22/2018   709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                       9.84
      12/22/2018   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                           13
      12/22/2018   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          507.61
      12/22/2018   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/22/2018   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                    57.01
      12/22/2018   709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                      25
      12/22/2018   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75

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      12/22/2018   709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      12/22/2018   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      12/22/2018   709   MA0092   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-29        -41.09
      12/22/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.59
      12/22/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.32
      12/22/2018   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.25
      12/22/2018   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      12/22/2018   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      12/22/2018   709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      12/22/2018   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      12/22/2018   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.19
      12/22/2018   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      12/22/2018   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      12/22/2018   709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                      9.84
      12/22/2018   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      12/22/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.46
      12/22/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.46
      12/22/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.02
      12/22/2018   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.66
      12/22/2018   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      12/22/2018   709   ME0053   Owner Operator   Truck Payment                  CTMS - 221386 Q1113 Lease             252.11
      12/22/2018   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/22/2018   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      12/22/2018   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.53
      12/22/2018   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      12/22/2018   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/22/2018   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/22/2018   709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                      9.84
      12/22/2018   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      12/22/2018   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                      -1000
      12/22/2018   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            700
      12/22/2018   709   MP0035   Owner Operator   Express Check                  T-Check Payment                         1000
      12/22/2018   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/22/2018   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/22/2018   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.97
      12/22/2018   709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      12/22/2018   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      12/22/2018   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/22/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      12/22/2018   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      12/22/2018   709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      12/22/2018   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      12/22/2018   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      12/22/2018   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
      12/22/2018   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
      12/22/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.8
      12/22/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.32
      12/22/2018   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          430.2
      12/22/2018   709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      12/22/2018   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      12/22/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      12/22/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      12/22/2018   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      12/22/2018   709   NB0029   Owner Operator   T Chek Fee                     Tractor Repair 32986                  490.24
      12/22/2018   709   NB0029   Owner Operator   Toll Charges                   32986 HCTRA Hardy South - Barr             7
      12/22/2018   709   NB0029   Owner Operator   Truck Payment                  CTMS - 221054 32986 Lease             314.03
      12/22/2018   709   NB0029   Owner Operator   Truck Payment                  CTMS - 221390 32986 Lease             314.03
      12/22/2018   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/22/2018   709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      12/22/2018   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      12/22/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              60
      12/22/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              40
      12/22/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      12/22/2018   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      12/22/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.53
      12/22/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.23

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      12/22/2018   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           368
      12/22/2018   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      12/22/2018   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      12/22/2018   709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      12/22/2018   709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      12/22/2018   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      12/22/2018   709   NT9564   Owner Operator   Truck Payment                  CTMS - 221557 Truck 73130 Leas        196.65
      12/22/2018   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/22/2018   709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                     21.84
      12/22/2018   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      12/22/2018   709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.41
      12/22/2018   709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34370                       100
      12/22/2018   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
      12/22/2018   709   OJ0007   Owner Operator   Repair Order                   CTMS - 221389 REPAIRS                   250
      12/22/2018   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      12/22/2018   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/22/2018   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      12/22/2018   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.15
      12/22/2018   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      12/22/2018   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/22/2018   709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00386537 - PO System          872.81
      12/22/2018   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/22/2018   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      12/22/2018   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-15          29.38
      12/22/2018   709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-15         215.18
      12/22/2018   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/22/2018   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         633.01
      12/22/2018   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      12/22/2018   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      12/22/2018   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/22/2018   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      12/22/2018   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/22/2018   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      12/22/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/22/2018   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/22/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         574.06
      12/22/2018   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.82
      12/22/2018   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      12/22/2018   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      12/22/2018   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      12/22/2018   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/22/2018   709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      12/22/2018   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      12/22/2018   709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-29         -31.2
      12/22/2018   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/22/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          378.4
      12/22/2018   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.8
      12/22/2018   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      12/22/2018   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      12/22/2018   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      12/22/2018   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      12/22/2018   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      12/22/2018   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      12/22/2018   709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      12/22/2018   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      12/22/2018   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.76
      12/22/2018   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          335.7
      12/22/2018   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      12/22/2018   709   RM0026   Owner Operator   Toll Charges                   33664 NTTA SH-121/183 West TEX          35.4
      12/22/2018   709   RM0026   Owner Operator   Toll Charges                   33664 NTTA SH-26 TEXpress Entr          17.7
      12/22/2018   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      12/22/2018   709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      12/22/2018   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      12/22/2018   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.95

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      12/22/2018   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      12/22/2018   709   RP0082   Owner Operator   Truck Payment                  CTMS - 221332 Q1202 Truck Leas        278.76
      12/22/2018   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      12/22/2018   709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      12/22/2018   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      12/22/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/22/2018   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/22/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         659.89
      12/22/2018   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.93
      12/22/2018   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      12/22/2018   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      12/22/2018   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      12/22/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL Route 80 (West)             4.9
      12/22/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 ITRCC Angola                      5.56
      12/22/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 ITRCC Portage                    47.29
      12/22/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 OTC Eastgate                        28
      12/22/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 OTC Westgate                        40
      12/22/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 PTC Breezewood                   29.78
      12/22/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 PTC Gateway                       20.7
      12/22/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 PTC Neshaminy Falls              58.67
      12/22/2018   709   RR0123   Owner Operator   Toll Charges                   Q1248 PTC Warrendale                  182.89
      12/22/2018   709   RR0123   Owner Operator   Truck Payment                  CTMS - 221387 Q1248                   311.97
      12/22/2018   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      12/22/2018   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      12/22/2018   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      12/22/2018   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      12/22/2018   709   SB0009   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          42.22
      12/22/2018   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      12/22/2018   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      12/22/2018   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      12/22/2018   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      12/22/2018   709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      12/22/2018   709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      12/22/2018   709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      12/22/2018   709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      12/22/2018   709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      12/22/2018   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/22/2018   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/22/2018   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/22/2018   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/22/2018   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   79.71
      12/22/2018   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      12/22/2018   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      12/22/2018   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      12/22/2018   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      12/22/2018   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/22/2018   709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      12/22/2018   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      12/22/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.19
      12/22/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.53
      12/22/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.72
      12/22/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.38
      12/22/2018   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.88
      12/22/2018   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      12/22/2018   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/22/2018   709   SB0103   Owner Operator   Truck Payment                  CTMS - 221329 Sub Lease               388.33
      12/22/2018   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      12/22/2018   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      12/22/2018   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/22/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           444
      12/22/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.47
      12/22/2018   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           302
      12/22/2018   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      12/22/2018   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      12/22/2018   709   SM0109   Owner Operator   Tire Fee                       Tire Fee: 2212685                          8

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      12/22/2018   709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00387949 - PO System          195.67
      12/22/2018   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      12/22/2018   709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      12/22/2018   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/22/2018   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      12/22/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/22/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/22/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/22/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/22/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/22/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/22/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/22/2018   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/22/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.36
      12/22/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.21
      12/22/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.77
      12/22/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.33
      12/22/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.53
      12/22/2018   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.05
      12/22/2018   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      12/22/2018   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      12/22/2018   709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      12/22/2018   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      12/22/2018   709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-29        -13.64
      12/22/2018   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.24
      12/22/2018   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.98
      12/22/2018   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      12/22/2018   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      12/22/2018   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    86.48
      12/22/2018   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      12/22/2018   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/22/2018   709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      12/22/2018   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      12/22/2018   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      12/22/2018   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      12/22/2018   709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                   -6449.32
      12/22/2018   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/22/2018   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/22/2018   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/22/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/22/2018   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/22/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.26
      12/22/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.94
      12/22/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.65
      12/22/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.88
      12/22/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.85
      12/22/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.25
      12/22/2018   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.77
      12/22/2018   709   VJ0006   Owner Operator   Loan Repayment                 EFS 206861                          -7019.56
      12/22/2018   709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      12/22/2018   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      12/22/2018   709   VJ0006   Owner Operator   T Chek Fee                     ExpressCheck Fee                      133.36
      12/22/2018   709   VJ0006   Owner Operator   T Chek Fee                     Tractor Repair 33961                13335.52
      12/22/2018   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/22/2018   709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      12/22/2018   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      12/22/2018   709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 12-29        -12.96
      12/22/2018   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      12/22/2018   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/22/2018   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      12/22/2018   709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      12/22/2018   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      12/22/2018   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/22/2018   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/22/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.55
      12/22/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.06
      12/22/2018   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.96
      12/22/2018   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47

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      12/22/2018   709   WH0087   Owner Operator   Repair Order                   TRACTOR Q1239                          81.49
      12/22/2018   709   WH0087   Owner Operator   Truck Payment                  CTMS - 221387 Q1238 Lease             311.97
      12/22/2018   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      12/22/2018   742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      12/22/2018   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      12/22/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/22/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/22/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/22/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/22/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/22/2018   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/22/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.65
      12/22/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.45
      12/22/2018   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.28
      12/22/2018   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      12/22/2018   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      12/22/2018   742   AP0047   Owner Operator   Toll Charges                   32604 OTA Turner Turnpike West         18.05
      12/22/2018   742   AP0047   Owner Operator   Toll Charges                   32604 OTA Will Rogers Turnpike         18.05
      12/22/2018   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      12/22/2018   742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRK33471                      9.84
      12/22/2018   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      12/22/2018   742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      12/22/2018   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            400
      12/22/2018   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      12/22/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.06
      12/22/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.85
      12/22/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.14
      12/22/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.62
      12/22/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          358.8
      12/22/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.92
      12/22/2018   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
      12/22/2018   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      12/22/2018   742   BS0078   Owner Operator   Truck Payment                  CTMS - 221054 Lease of Q13151         388.16
      12/22/2018   742   BS0078   Owner Operator   Truck Payment                  CTMS - 221390 Lease of Q13151         388.16
      12/22/2018   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      12/22/2018   742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      12/22/2018   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      12/22/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.47
      12/22/2018   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.38
      12/22/2018   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      12/22/2018   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/22/2018   742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      12/22/2018   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      12/22/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          331.9
      12/22/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.56
      12/22/2018   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             29
      12/22/2018   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      12/22/2018   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/22/2018   742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      12/22/2018   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      12/22/2018   742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          614.9
      12/22/2018   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         580.83
      12/22/2018   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      12/22/2018   742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      12/22/2018   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      12/22/2018   742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         619.01
      12/22/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.53
      12/22/2018   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.08
      12/22/2018   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      12/22/2018   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      12/22/2018   742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 2                    25
      12/22/2018   742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 12                 25
      12/22/2018   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Army Trail Rd.              6.5
      12/22/2018   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Boughton Rd. (Mai           6.5
      12/22/2018   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Exit 320                   1.05
      12/22/2018   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Exit 320                   1.05

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      12/22/2018   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Exit 322                   1.05
      12/22/2018   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Exit 324                   1.35
      12/22/2018   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Irving Park                 6.5
      12/22/2018   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Joliet Rd.                 2.45
      12/22/2018   742   DS0254   Owner Operator   Truck Payment                  CTMS - 221431 Trk 33487 Lease          434.2
      12/22/2018   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/22/2018   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      12/22/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.92
      12/22/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.78
      12/22/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.72
      12/22/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.54
      12/22/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.02
      12/22/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.96
      12/22/2018   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      12/22/2018   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/22/2018   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/22/2018   742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      12/22/2018   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      12/22/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.21
      12/22/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          270.1
      12/22/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.67
      12/22/2018   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      12/22/2018   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/22/2018   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/22/2018   742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze TRK32947                      9.84
      12/22/2018   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      12/22/2018   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/22/2018   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/22/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.62
      12/22/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.61
      12/22/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         649.26
      12/22/2018   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      12/22/2018   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      12/22/2018   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/22/2018   742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00386896 - PO System          378.67
      12/22/2018   742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 11                 25
      12/22/2018   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      12/22/2018   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      12/22/2018   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      12/22/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      12/22/2018   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      12/22/2018   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      12/22/2018   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      12/22/2018   742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         527.63
      12/22/2018   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           727
      12/22/2018   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      12/22/2018   742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/22/2018   742   JS0390   Owner Operator   Broker Pre Pass                DriveWyze TRK34327                      9.84
      12/22/2018   742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      12/22/2018   742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.82
      12/22/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.36
      12/22/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.58
      12/22/2018   742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.18
      12/22/2018   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/22/2018   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/22/2018   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/22/2018   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/22/2018   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      12/22/2018   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      12/22/2018   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      12/22/2018   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      12/22/2018   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/22/2018   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      12/22/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      12/22/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      12/22/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      12/22/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/22/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/22/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/22/2018   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/22/2018   742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 12                 25
      12/22/2018   742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 9                  25
      12/22/2018   742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 9                  25
      12/22/2018   742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      12/22/2018   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      12/22/2018   742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-15          26.66
      12/22/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.41
      12/22/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.26
      12/22/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          110.4
      12/22/2018   742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      12/22/2018   742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      12/22/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      12/22/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      12/22/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      12/22/2018   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      12/22/2018   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      12/22/2018   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      12/22/2018   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      12/22/2018   742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                      9.84
      12/22/2018   742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                      9.84
      12/22/2018   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      12/22/2018   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      12/22/2018   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      12/22/2018   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      12/22/2018   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/22/2018   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/22/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.76
      12/22/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.41
      12/22/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.99
      12/22/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          64.94
      12/22/2018   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.42
      12/22/2018   742   NG0024   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax         132.43
      12/22/2018   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      12/22/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      12/22/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      12/22/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      12/22/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      12/22/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      12/22/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      12/22/2018   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      12/22/2018   742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 7                  25
      12/22/2018   742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 7                  25
      12/22/2018   742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                  25
      12/22/2018   742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/22/2018   742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      12/22/2018   742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      12/22/2018   742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      12/22/2018   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      12/22/2018   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/22/2018   742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      12/22/2018   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/22/2018   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/22/2018   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/22/2018   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/22/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.52

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      12/22/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.66
      12/22/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.57
      12/22/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.35
      12/22/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.94
      12/22/2018   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      12/22/2018   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      12/22/2018   742   PC0012   Owner Operator   Toll Charges                   32969 Antioch Bridge 2                    25
      12/22/2018   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      12/22/2018   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      12/22/2018   742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      12/22/2018   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      12/22/2018   742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/22/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/22/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/22/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/22/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.95
      12/22/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.52
      12/22/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.15
      12/22/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.23
      12/22/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          281.6
      12/22/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.37
      12/22/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.98
      12/22/2018   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      12/22/2018   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      12/22/2018   742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                      9.84
      12/22/2018   742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      12/22/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.54
      12/22/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.63
      12/22/2018   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.62
      12/22/2018   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      12/22/2018   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      12/22/2018   742   RS0342   Owner Operator   Toll Charges                   33738 OTA Kilpatrick Turnpike           4.45
      12/22/2018   742   RS0342   Owner Operator   Toll Charges                   33738 OTA Turner Turnpike East         18.05
      12/22/2018   742   SK0049   Owner Operator   Accident Claim                 12/11/18 SK0049 Incident                500
      12/22/2018   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/22/2018   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      12/22/2018   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      12/22/2018   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      12/22/2018   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      12/22/2018   742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      12/22/2018   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      12/22/2018   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/22/2018   742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/22/2018   742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/22/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.66
      12/22/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.11
      12/22/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.31
      12/22/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.42
      12/22/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.55
      12/22/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.94
      12/22/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.45
      12/22/2018   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.86
      12/22/2018   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
      12/22/2018   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      12/22/2018   742   TC0098   Owner Operator   Toll Charges                   33489 Carquinez Bridge 9                  25
      12/22/2018   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Irving Park                 6.5
      12/22/2018   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Joliet Rd.                 2.45
      12/22/2018   742   TC0098   Owner Operator   Truck Payment                  CTMS - 221383 33489 Lease Paym        412.16
      12/22/2018   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/22/2018   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      12/22/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.69
      12/22/2018   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      12/22/2018   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/22/2018   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Antioch Bridge                 25
      12/22/2018   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      12/22/2018   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      12/22/2018   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13

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      12/22/2018   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      12/22/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.44
      12/22/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         637.84
      12/22/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.93
      12/22/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          231.2
      12/22/2018   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/22/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      12/22/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      12/22/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      12/22/2018   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      12/29/2018   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      12/29/2018   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      12/29/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.79
      12/29/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.44
      12/29/2018   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.52
      12/29/2018   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
      12/29/2018   709   CC0134   Owner Operator   Truck Payment                  CTMS - 221633 Q13168 sub lease        352.68
      12/29/2018   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      12/29/2018   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.31
      12/29/2018   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.31
      12/29/2018   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      12/29/2018   709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
      12/29/2018   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      12/29/2018   709   CM0119   Owner Operator   Truck Payment                  CTMS - 221667 TRUCK RENTAL              500
      12/29/2018   709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      12/29/2018   709   CR0064   Owner Operator   Driver Excellence Program      CA-1726400351                            -50
      12/29/2018   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.1
      12/29/2018   709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      12/29/2018   709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      12/29/2018   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      12/29/2018   709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.19
      12/29/2018   709   CS0091   Owner Operator   Repair Order                   CTMS - 221667 REPAIRS                 149.37
      12/29/2018   709   CS0091   Owner Operator   Truck Payment                  CTMS - 221632 Q1201                   278.76
      12/29/2018   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      12/29/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           323
      12/29/2018   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.45
      12/29/2018   709   DL0029   Owner Operator   Loan Repayment                 Loan # 00013 - Loan Repayment         376.27
      12/29/2018   709   DL0107   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      12/29/2018   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          66.94
      12/29/2018   709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/29/2018   709   DM0257   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/29/2018   709   DM0257   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/29/2018   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.35
      12/29/2018   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      12/29/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/29/2018   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/29/2018   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.03
      12/29/2018   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         708.66
      12/29/2018   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      12/29/2018   709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      12/29/2018   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      12/29/2018   709   DS0225   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      12/29/2018   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.21
      12/29/2018   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.75
      12/29/2018   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      12/29/2018   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/29/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/29/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/29/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/29/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/29/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/29/2018   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/29/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.39
      12/29/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.37
      12/29/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.03
      12/29/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.93
      12/29/2018   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.78
      12/29/2018   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      12/29/2018   709   EA0003   Owner Operator   Repair Order                   CTMS - 221668 REPAIRS                 568.26
      12/29/2018   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      12/29/2018   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      12/29/2018   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          670.5

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      12/29/2018   709   EO0014   Owner Operator   Communication Charge        PNet Hware 33846                          13
      12/29/2018   709   EO0014   Owner Operator   Fuel Purchase               Fuel Purchase                         356.47
      12/29/2018   709   EO0014   Owner Operator   Fuel Purchase               Fuel Purchase                         347.09
      12/29/2018   709   FS0039   Owner Operator   Communication Charge        PNet Hware 33040                           8
      12/29/2018   709   FS0039   Owner Operator   Fuel Purchase               Fuel Purchase                         326.34
      12/29/2018   709   FS0039   Owner Operator   Fuel Purchase               Fuel Purchase                         215.18
      12/29/2018   709   FS0039   Owner Operator   Fuel Purchase               Fuel Purchase                         286.75
      12/29/2018   709   FS0039   Owner Operator   GARNISHMENT                 GARNISHMENT 884610662                 701.44
      12/29/2018   709   FS0039   Owner Operator   Loan Repayment              Loan # 00002 - Loan Repayment         356.08
      12/29/2018   709   FS0039   Owner Operator   Truck Payment               CTMS - 221691 truck lease 3304        434.29
      12/29/2018   709   FV0001   Owner Operator   Communication Charge        PNet Hware 21521B                         13
      12/29/2018   709   FV0001   Owner Operator   Fuel Card Advances          Cash Advance                            200
      12/29/2018   709   FV0001   Owner Operator   Fuel Card Advances          Cash Advance Fee                           2
      12/29/2018   709   FV0001   Owner Operator   Fuel Purchase               Fuel Purchase                         330.53
      12/29/2018   709   FV0001   Owner Operator   Fuel Purchase               Fuel Purchase                         435.55
      12/29/2018   709   GA0051   Owner Operator   Communication Charge        PNet Hware 34330                          13
      12/29/2018   709   GA0051   Owner Operator   ESCROW                      Weekly Escrow                             50
      12/29/2018   709   GA0051   Owner Operator   Fuel Purchase               Fuel Purchase                         181.56
      12/29/2018   709   GA0051   Owner Operator   Fuel Purchase               Fuel Purchase                         220.43
      12/29/2018   709   GA0051   Owner Operator   Repair Order                CTMS - 221750 REPAIRS                 287.13
      12/29/2018   709   GA0051   Owner Operator   Tractor Charge              16488 - 34330                           277
      12/29/2018   709   GA0051   Owner Operator   Truck Payment               CTMS - 221667 TRUCK RENTAL              100
      12/29/2018   709   GS0015   Owner Operator   Communication Charge        PNet Hware Q1110                          13
      12/29/2018   709   GS0015   Owner Operator   Truck Payment               CTMS - 221631 Lease                   252.11
      12/29/2018   709   HC0023   Owner Operator   Communication Charge        PNet Hware Q13170                          8
      12/29/2018   709   HC0023   Owner Operator   Fuel Purchase               Fuel Purchase                         462.95
      12/29/2018   709   HC0023   Owner Operator   Truck Payment               CTMS - 221626 Q13170                  352.68
      12/29/2018   709   HG0007   Owner Operator   Communication Charge        PNet Hware 33180                          13
      12/29/2018   709   HG0007   Owner Operator   ESCROW                      Weekly Escrow                             50
      12/29/2018   709   HG0007   Owner Operator   Fuel Purchase               Fuel Purchase                         649.55
      12/29/2018   709   IA0007   Owner Operator   Communication Charge        PNet Hware 34012                           8
      12/29/2018   709   IA0007   Owner Operator   Deferred Negative Pay       ** Net Rebill held from 12-22         216.77
      12/29/2018   709   IA0007   Owner Operator   ESCROW                      Weekly Escrow                           100
      12/29/2018   709   IA0007   Owner Operator   Fuel Purchase               Fuel Purchase                         221.07
      12/29/2018   709   IA0007   Owner Operator   Fuel Purchase               Fuel Purchase                         100.34
      12/29/2018   709   IR0002   Owner Operator   Communication Charge        PNet Hware 32901                           8
      12/29/2018   709   IR0002   Owner Operator   Driver Excellence Program   CA-AXXXXXXXX                            -50
      12/29/2018   709   IR0002   Owner Operator   IRP License Deduction       LCIL:2018 - 32901                       100
      12/29/2018   709   JA0152   Owner Operator   Communication Charge        PNet Hware 34242                           8
      12/29/2018   709   JA0152   Owner Operator   ESCROW                      Weekly Escrow                             50
      12/29/2018   709   JA0152   Owner Operator   Fuel Purchase               Fuel Purchase                         220.09
      12/29/2018   709   JA0156   Owner Operator   Communication Charge        PNet Hware 34364                          13
      12/29/2018   709   JA0156   Owner Operator   Driver Excellence Program   CA-1362502338                            -50
      12/29/2018   709   JA0156   Owner Operator   ESCROW                      Weekly Escrow                             50
      12/29/2018   709   JA0156   Owner Operator   Fuel Purchase               Fuel Purchase                         251.53
      12/29/2018   709   JA0156   Owner Operator   Repair Order                CTMS - 221749 TRACTOR REPAIR          256.35
      12/29/2018   709   JD0211   Owner Operator   Communication Charge        PNet Hware 34325                           8
      12/29/2018   709   JD0211   Owner Operator   Deferred Negative Pay       ** Net Rebill held from 12-22             93
      12/29/2018   709   JD0211   Owner Operator   Deferred Negative Pay       ** Net Rebill held from 12-22           31.2
      12/29/2018   709   JD0211   Owner Operator   Deferred Negative Pay       ** Net Rebill to post on 1-5          -58.32
      12/29/2018   709   JD0211   Owner Operator   ESCROW                      Weekly Escrow                             50
      12/29/2018   709   JG0017   Owner Operator   Communication Charge        PNet Hware 32908                          13
      12/29/2018   709   JG0017   Owner Operator   Driver Excellence Program   CA-AXXXXXXXX                            -50
      12/29/2018   709   JG0017   Owner Operator   ESCROW                      Weekly Escrow                           500
      12/29/2018   709   JG0017   Owner Operator   Fuel Card Advances          Cash Advance                            500
      12/29/2018   709   JG0017   Owner Operator   Fuel Card Advances          Cash Advance Fee                           5
      12/29/2018   709   JG0017   Owner Operator   Fuel Purchase               Fuel Purchase                         363.96
      12/29/2018   709   JG0017   Owner Operator   Fuel Purchase               Fuel Purchase                         365.12
      12/29/2018   709   JG0017   Owner Operator   IRP License Deduction       LCIL:2018 - 32908                      33.64
      12/29/2018   709   JG0017   Owner Operator   Tractor Charge              14298 - 32908                          504.6
      12/29/2018   709   JG0072   Owner Operator   Communication Charge        PNet Hware 32909                          13
      12/29/2018   709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance                            500
      12/29/2018   709   JG0072   Owner Operator   Fuel Card Advances          Cash Advance Fee                           5
      12/29/2018   709   JG0072   Owner Operator   Fuel Purchase               Fuel Purchase                         505.45
      12/29/2018   709   JG0072   Owner Operator   Fuel Purchase               Fuel Purchase                         606.92
      12/29/2018   709   JG0072   Owner Operator   IRP License Deduction       LCIL:2018 - 32909                      33.64
      12/29/2018   709   JG0072   Owner Operator   Tractor Charge              14534 - 32909                         513.26
      12/29/2018   709   JG0092   Owner Operator   Communication Charge        PNet Hware 33669                           8
      12/29/2018   709   JQ0015   Owner Operator   Communication Charge        PNet Hware 33438                          13
      12/29/2018   709   JR0099   Owner Operator   Communication Charge        PNet Hware Q1203                          13
      12/29/2018   709   JR0099   Owner Operator   Truck Payment               CTMS - 221620 Truck Lease             278.76
      12/29/2018   709   JS0265   Owner Operator   BOBTAIL INS.                Q13159 2013 Freightliner NTL            8.75
      12/29/2018   709   JS0265   Owner Operator   Communication Charge        PNet Hware 33325                          13

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      12/29/2018   709   JS0265   Owner Operator   Communication Charge        PNet Hware Q13159                          8
      12/29/2018   709   JS0265   Owner Operator   ESCROW                      Weekly Escrow                           100
      12/29/2018   709   JS0265   Owner Operator   Fuel Card Advances          Cash Advance                            200
      12/29/2018   709   JS0265   Owner Operator   Fuel Card Advances          Cash Advance Fee                           2
      12/29/2018   709   JS0265   Owner Operator   Fuel Purchase               Fuel Purchase                         180.66
      12/29/2018   709   JS0265   Owner Operator   Fuel Purchase               Fuel Purchase                         299.93
      12/29/2018   709   JS0265   Owner Operator   Fuel Purchase               Fuel Purchase                         252.03
      12/29/2018   709   JS0265   Owner Operator   PHYSICAL DAMAGE             Q13159 2013 Freightliner PD            40.22
      12/29/2018   709   JS0265   Owner Operator   Truck Payment               CTMS - 221630 Q13159 Lease             331.5
      12/29/2018   709   KP0004   Owner Operator   Communication Charge        PNet Hware 32914                          13
      12/29/2018   709   KP0004   Owner Operator   ESCROW                      Weekly Escrow                         231.78
      12/29/2018   709   KP0004   Owner Operator   Fuel Card Advances          Cash Advance                            100
      12/29/2018   709   KP0004   Owner Operator   Fuel Card Advances          Cash Advance                              50
      12/29/2018   709   KP0004   Owner Operator   Fuel Card Advances          Cash Advance Fee                         0.5
      12/29/2018   709   KP0004   Owner Operator   Fuel Card Advances          Cash Advance Fee                           1
      12/29/2018   709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                         461.03
      12/29/2018   709   KP0004   Owner Operator   Fuel Purchase               Fuel Purchase                          42.18
      12/29/2018   709   KP0004   Owner Operator   IRP License Deduction       LCIL:2018 - 32914                      33.64
      12/29/2018   709   KP0004   Owner Operator   Loan Repayment              Loan # 00009 - Loan Repayment         306.15
      12/29/2018   709   KP0004   Owner Operator   Tractor Charge              14457 - 32914                         519.59
      12/29/2018   709   KT0055   Owner Operator   Communication Charge        PNet Hware Q13156                          8
      12/29/2018   709   KT0055   Owner Operator   ESCROW                      Weekly Escrow                             50
      12/29/2018   709   KT0055   Owner Operator   Fuel Purchase               Fuel Purchase                         175.08
      12/29/2018   709   KT0055   Owner Operator   Fuel Purchase               Fuel Purchase                         450.82
      12/29/2018   709   KT0055   Owner Operator   Fuel Purchase               Fuel Purchase                         257.61
      12/29/2018   709   KT0055   Owner Operator   Truck Payment               CTMS - 221628 Q13156 Lease            388.16
      12/29/2018   709   LL0160   Owner Operator   Communication Charge        PNet Hware Q1111                           8
      12/29/2018   709   LL0160   Owner Operator   Truck Payment               CTMS - 221691 Lease Q1111             252.11
      12/29/2018   709   LS0023   Owner Operator   Communication Charge        PNet Hware 33655                          13
      12/29/2018   709   LS0023   Owner Operator   Driver Excellence Program   CA-AXXXXXXXX                            -50
      12/29/2018   709   LS0023   Owner Operator   Fuel Card Advances          Cash Advance                            200
      12/29/2018   709   LS0023   Owner Operator   Fuel Card Advances          Cash Advance Fee                           2
      12/29/2018   709   LS0023   Owner Operator   Fuel Purchase               Fuel Purchase                         428.59
      12/29/2018   709   LS0023   Owner Operator   Fuel Purchase               Fuel Purchase                         706.88
      12/29/2018   709   MA0092   Owner Operator   Communication Charge        PNet Hware 34005                           8
      12/29/2018   709   MA0092   Owner Operator   Deferred Negative Pay       ** Net Rebill held from 12-22          41.09
      12/29/2018   709   MD0122   Owner Operator   Communication Charge        PNet Hware 34342                           8
      12/29/2018   709   MD0122   Owner Operator   ESCROW                      Weekly Escrow                             50
      12/29/2018   709   ME0053   Owner Operator   Communication Charge        PNet Hware Q1113                           8
      12/29/2018   709   ME0053   Owner Operator   Truck Payment               CTMS - 221633 Q1113 Lease             252.11
      12/29/2018   709   MG0067   Owner Operator   Communication Charge        PNet Hware 33435                           8
      12/29/2018   709   MG0067   Owner Operator   Fuel Purchase               Fuel Purchase                         343.31
      12/29/2018   709   MP0035   Owner Operator   Communication Charge        PNet Hware 32904                          13
      12/29/2018   709   MP0035   Owner Operator   ESCROW                      Weekly Escrow                           700
      12/29/2018   709   MP0035   Owner Operator   Fuel Card Advances          Cash Advance                            260
      12/29/2018   709   MP0035   Owner Operator   Fuel Card Advances          Cash Advance Fee                         2.6
      12/29/2018   709   MP0035   Owner Operator   Fuel Purchase               Fuel Purchase                         546.82
      12/29/2018   709   MP0035   Owner Operator   IRP License Deduction       LCIL:2018 - 32904                      33.64
      12/29/2018   709   NB0029   Owner Operator   Communication Charge        PNet Hware 32986                          13
      12/29/2018   709   NB0029   Owner Operator   ESCROW                      Weekly Escrow                           500
      12/29/2018   709   NB0029   Owner Operator   Fuel Purchase               Fuel Purchase                         498.11
      12/29/2018   709   NB0029   Owner Operator   IRP License Deduction       LCIL:2018 - 32986                      33.64
      12/29/2018   709   NB0029   Owner Operator   Truck Payment               CTMS - 221629 32986 Lease             314.03
      12/29/2018   709   NG0005   Owner Operator   Communication Charge        PNet Hware 21412B                         13
      12/29/2018   709   NG0005   Owner Operator   Fuel Card Advances          Cash Advance                              60
      12/29/2018   709   NG0005   Owner Operator   Fuel Card Advances          Cash Advance Fee                         0.6
      12/29/2018   709   NG0005   Owner Operator   Fuel Purchase               Fuel Purchase                         243.01
      12/29/2018   709   NT9564   Owner Operator   Communication Charge        PNet Hware 73130                          13
      12/29/2018   709   NT9564   Owner Operator   Truck Payment               CTMS - 221752 Truck 73130 Leas        196.65
      12/29/2018   709   OJ0007   Owner Operator   Communication Charge        PNet Hware 34370                           8
      12/29/2018   709   OJ0007   Owner Operator   ESCROW                      Weekly Escrow                             50
      12/29/2018   709   OJ0007   Owner Operator   Fuel Purchase               Fuel Purchase                         277.47
      12/29/2018   709   OJ0007   Owner Operator   IRP License Deduction       LCIL:2018 - 34370                       100
      12/29/2018   709   OJ0007   Owner Operator   Repair Order                CTMS - 221630 REPAIRS                   250
      12/29/2018   709   OJ0007   Owner Operator   Tractor Charge              24925 - 34370                         215.66
      12/29/2018   709   RC0030   Owner Operator   Communication Charge        PNet Hware 33676                           8
      12/29/2018   709   RC0030   Owner Operator   Fuel Purchase               Fuel Purchase                          27.65
      12/29/2018   709   RC0030   Owner Operator   Fuel Purchase               Fuel Purchase                         533.97
      12/29/2018   709   RC0030   Owner Operator   Fuel Purchase               Fuel Purchase                         605.64
      12/29/2018   709   RL0017   Owner Operator   Communication Charge        PNet Hware 33065                          13
      12/29/2018   709   RL0017   Owner Operator   Driver Excellence Program   CA-AXXXXXXXX                            -50
      12/29/2018   709   RL0017   Owner Operator   ESCROW                      Weekly Escrow                           100
      12/29/2018   709   RL0017   Owner Operator   Fuel Purchase               Fuel Purchase                         351.75

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      12/29/2018   709   RL0017   Owner Operator   IRP License Deduction       LCIL:2018 - 33065                      33.64
      12/29/2018   709   RL0017   Owner Operator   Tractor Charge              35015 - 33065                         529.05
      12/29/2018   709   RL0062   Owner Operator   Communication Charge        PNet Hware 32912                          13
      12/29/2018   709   RL0062   Owner Operator   Fuel Card Advances          Cash Advance                            200
      12/29/2018   709   RL0062   Owner Operator   Fuel Card Advances          Cash Advance Fee                           2
      12/29/2018   709   RL0062   Owner Operator   Fuel Purchase               Fuel Purchase                         529.07
      12/29/2018   709   RL0062   Owner Operator   IRP License Deduction       LCIL:2018 - 32912                      33.64
      12/29/2018   709   RL0062   Owner Operator   Tractor Charge              14460 - 32912                         512.16
      12/29/2018   709   RL0180   Owner Operator   Deferred Negative Pay       ** Net Rebill held from 12-22           31.2
      12/29/2018   709   RL0180   Owner Operator   Fuel Purchase               Fuel Purchase                         499.95
      12/29/2018   709   RL0180   Owner Operator   IRP License Deduction       LCIL:2018 - 32910                       6.16
      12/29/2018   709   RL0180   Owner Operator   Tractor Charge              45995 - 32910                         350.65
      12/29/2018   709   RM0026   Owner Operator   Communication Charge        PNet Hware 33664                          13
      12/29/2018   709   RM0026   Owner Operator   Fuel Purchase               Fuel Purchase                         436.34
      12/29/2018   709   RM0026   Owner Operator   Fuel Purchase               Fuel Purchase                         481.68
      12/29/2018   709   RP0082   Owner Operator   Communication Charge        PNet Hware Q1202                          13
      12/29/2018   709   RP0082   Owner Operator   Fuel Card Advances          Cash Advance                            100
      12/29/2018   709   RP0082   Owner Operator   Fuel Card Advances          Cash Advance Fee                           1
      12/29/2018   709   RP0082   Owner Operator   Fuel Purchase               Fuel Purchase                         397.12
      12/29/2018   709   RP0082   Owner Operator   Truck Payment               CTMS - 221621 Q1202 Truck Leas        278.76
      12/29/2018   709   SB0009   Owner Operator   Fuel Card Advances          Cash Advance                            200
      12/29/2018   709   SB0009   Owner Operator   Fuel Card Advances          Cash Advance Fee                           2
      12/29/2018   709   SB0009   Owner Operator   Fuel Purchase               Fuel Purchase                          180.5
      12/29/2018   709   SB0009   Owner Operator   Fuel Purchase               Fuel Purchase                         357.44
      12/29/2018   709   SB0009   Owner Operator   FUEL TAX                    October 2018 Fuel/Mileage Tax         326.41
      12/29/2018   709   SB0009   Owner Operator   Tractor Charge              19100 - 33236                         298.91
      12/29/2018   709   SB0103   Owner Operator   Communication Charge        PNet Hware 33037                           8
      12/29/2018   709   SB0103   Owner Operator   Fuel Purchase               Fuel Purchase                         259.65
      12/29/2018   709   SB0103   Owner Operator   Fuel Purchase               Fuel Purchase                         205.98
      12/29/2018   709   SB0103   Owner Operator   Fuel Purchase               Fuel Purchase                         215.05
      12/29/2018   709   SB0103   Owner Operator   Repair Order                CTMS - 221668 REPAIR                  267.77
      12/29/2018   709   SB0103   Owner Operator   Truck Payment               CTMS - 221617 Sub Lease               388.33
      12/29/2018   709   SM0109   Owner Operator   Communication Charge        PNet Hware 33195                          13
      12/29/2018   709   SM0109   Owner Operator   ESCROW                      Weekly Escrow                           100
      12/29/2018   709   SM0109   Owner Operator   Fuel Purchase               Fuel Purchase                           370
      12/29/2018   709   SM0109   Owner Operator   Fuel Purchase               Fuel Purchase                         508.59
      12/29/2018   709   SM0109   Owner Operator   Fuel Purchase               Fuel Purchase                           384
      12/29/2018   709   SM0109   Owner Operator   Fuel Purchase               Fuel Purchase                         462.89
      12/29/2018   709   SM0109   Owner Operator   IRP License Deduction       LCIL:2018 - 33195                      33.64
      12/29/2018   709   SM0109   Owner Operator   Tire Purchase               PO: 709-00387949 - PO System          195.67
      12/29/2018   709   SM0109   Owner Operator   Toll Charges                33195 HCTRA Sam Houston - Sout             7
      12/29/2018   709   SM0109   Owner Operator   Tractor Charge              43667 - 33195                          468.6
      12/29/2018   709   VB0015   Owner Operator   Communication Charge        PNet Hware Q1112                           8
      12/29/2018   709   VB0015   Owner Operator   Deferred Negative Pay       ** Net Rebill held from 12-22          13.64
      12/29/2018   709   VB0015   Owner Operator   Driver Excellence Program   CA-AXXXXXXXX                            -50
      12/29/2018   709   VB0015   Owner Operator   Fuel Purchase               Fuel Purchase                         415.17
      12/29/2018   709   VJ0006   Owner Operator   Communication Charge        PNet Hware 33961                           8
      12/29/2018   709   VJ0006   Owner Operator   ESCROW                      Weekly Escrow                           200
      12/29/2018   709   VJ0006   Owner Operator   Fuel Purchase               Fuel Purchase                           298
      12/29/2018   709   VJ0006   Owner Operator   Fuel Purchase               Fuel Purchase                         183.52
      12/29/2018   709   VJ0006   Owner Operator   Loan Repayment              Loan # 00001 - Loan Repayment         259.17
      12/29/2018   709   WB0062   Owner Operator   Communication Charge        PNet Hware 33407                          13
      12/29/2018   709   WB0062   Owner Operator   Deferred Negative Pay       ** Net Rebill held from 12-22          12.96
      12/29/2018   709   WH0087   Owner Operator   Communication Charge        PNet Hware q1239                           8
      12/29/2018   709   WH0087   Owner Operator   Fuel Card Advances          Cash Advance                            200
      12/29/2018   709   WH0087   Owner Operator   Fuel Card Advances          Cash Advance Fee                           2
      12/29/2018   709   WH0087   Owner Operator   Fuel Purchase               Fuel Purchase                         147.99
      12/29/2018   709   WH0087   Owner Operator   Fuel Purchase               Fuel Purchase                         259.61
      12/29/2018   709   WH0087   Owner Operator   Truck Payment               CTMS - 221632 Q1238 Lease             311.97
      12/29/2018   742   AP0047   Owner Operator   Communication Charge        PNet Hware 32604                          13
      12/29/2018   742   AP0047   Owner Operator   Fuel Card Advances          Cash Advance                            100
      12/29/2018   742   AP0047   Owner Operator   Fuel Card Advances          Cash Advance                            100
      12/29/2018   742   AP0047   Owner Operator   Fuel Card Advances          Cash Advance                            100
      12/29/2018   742   AP0047   Owner Operator   Fuel Card Advances          Cash Advance                            100
      12/29/2018   742   AP0047   Owner Operator   Fuel Card Advances          Cash Advance Fee                           1
      12/29/2018   742   AP0047   Owner Operator   Fuel Card Advances          Cash Advance Fee                           1
      12/29/2018   742   AP0047   Owner Operator   Fuel Card Advances          Cash Advance Fee                           1
      12/29/2018   742   AP0047   Owner Operator   Fuel Card Advances          Cash Advance Fee                           1
      12/29/2018   742   AP0047   Owner Operator   Fuel Purchase               Fuel Purchase                         172.75
      12/29/2018   742   AP0047   Owner Operator   Fuel Purchase               Fuel Purchase                         289.71
      12/29/2018   742   AP0047   Owner Operator   Fuel Purchase               Fuel Purchase                         435.57
      12/29/2018   742   AP0047   Owner Operator   Fuel Purchase               Fuel Purchase                           353
      12/29/2018   742   BS0078   Owner Operator   Communication Charge        PNet Hware 33471                          13

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      12/29/2018   742   BS0078   Owner Operator   Driver Excellence Program      CA-1383502195                            -50
      12/29/2018   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/29/2018   742   BS0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/29/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.51
      12/29/2018   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.65
      12/29/2018   742   BS0078   Owner Operator   Truck Payment                  CTMS - 221629 Lease of Q13151         388.16
      12/29/2018   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      12/29/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.61
      12/29/2018   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.54
      12/29/2018   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      12/29/2018   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.21
      12/29/2018   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      12/29/2018   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.49
      12/29/2018   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      12/29/2018   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      12/29/2018   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      12/29/2018   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      12/29/2018   742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/29/2018   742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      12/29/2018   742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/29/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                           358
      12/29/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.55
      12/29/2018   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.9
      12/29/2018   742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      12/29/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.47
      12/29/2018   742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.93
      12/29/2018   742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      12/29/2018   742   NG0024   Owner Operator   Repair Order                   TRACTOR 33252                           15.5
      12/29/2018   742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      12/29/2018   742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/29/2018   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/29/2018   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/29/2018   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/29/2018   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/29/2018   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           389
      12/29/2018   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      12/29/2018   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      12/29/2018   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      12/29/2018   742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/29/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/29/2018   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/29/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.32
      12/29/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.97
      12/29/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.9
      12/29/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.06
      12/29/2018   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.92
      12/29/2018   742   RF0136   Owner Operator   Toll Charges                   34182 HCTRA Ship Channel Bridg             7
      12/29/2018   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      12/29/2018   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      12/29/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.02
      12/29/2018   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.74
      12/29/2018   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      12/29/2018   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         609.52
        1/5/2019   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
        1/5/2019   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
        1/5/2019   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.26
        1/5/2019   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
        1/5/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
        1/5/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
        1/5/2019   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          18.79
        1/5/2019   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
        1/5/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.49
        1/5/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.94
        1/5/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.74
        1/5/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.73
        1/5/2019   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
        1/5/2019   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
        1/5/2019   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
        1/5/2019   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
        1/5/2019   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
        1/5/2019   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
        1/5/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
        1/5/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5

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       1/5/2019    709   BM0030   Owner Operator   Repair Order                   CTMS - 222008 REPAIRS                 198.32
       1/5/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       1/5/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       1/5/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
       1/5/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       1/5/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.21
       1/5/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
       1/5/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       1/5/2019    709   CC0134   Owner Operator   Tire Fee                       Tire Fee: 2217857                         16
       1/5/2019    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00388177 - PO System          280.65
       1/5/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/5/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       1/5/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/5/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/5/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          398.6
       1/5/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
       1/5/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
       1/5/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       1/5/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/5/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       1/5/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       1/5/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       1/5/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.52
       1/5/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.04
       1/5/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.12
       1/5/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.45
       1/5/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.24
       1/5/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
       1/5/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       1/5/2019    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
       1/5/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       1/5/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       1/5/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       1/5/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 221879 Q1201                   278.76
       1/5/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       1/5/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       1/5/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.39
       1/5/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.68
       1/5/2019    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00013 - Loan Repayment         376.27
       1/5/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       1/5/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       1/5/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       1/5/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       1/5/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       1/5/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/5/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       1/5/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       1/5/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       1/5/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/5/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.77
       1/5/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          515.9
       1/5/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         566.67
       1/5/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.18
       1/5/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       1/5/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       1/5/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       1/5/2019    709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                        9.59
       1/5/2019    709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                  958.85
       1/5/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 221639 Sublease                338.99
       1/5/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 221888 Sublease                338.99
       1/5/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       1/5/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.51
       1/5/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2018 - 34328                       100
       1/5/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           8.97
       1/5/2019    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       1/5/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/5/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13

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       1/5/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       1/5/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       1/5/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         662.62
       1/5/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
       1/5/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       1/5/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       1/5/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       1/5/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       1/5/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       1/5/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       1/5/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       1/5/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       1/5/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/5/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/5/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/5/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/5/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.77
       1/5/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.46
       1/5/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.71
       1/5/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.53
       1/5/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2018 - 34266                       100
       1/5/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
       1/5/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/5/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       1/5/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       1/5/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/5/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/5/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         671.53
       1/5/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
       1/5/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       1/5/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       1/5/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       1/5/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       1/5/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       1/5/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       1/5/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       1/5/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       1/5/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           281
       1/5/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.89
       1/5/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       1/5/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       1/5/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       1/5/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       1/5/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/5/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/5/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.27
       1/5/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.66
       1/5/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.04
       1/5/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 214.88
       1/5/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
       1/5/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       1/5/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 221940 truck lease 3304        434.29
       1/5/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       1/5/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       1/5/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.85
       1/5/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
       1/5/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       1/5/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
       1/5/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.51
       1/5/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.72
       1/5/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.17
       1/5/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.46

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       1/5/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
       1/5/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       1/5/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                            277
       1/5/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       1/5/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       1/5/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.85
       1/5/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       1/5/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 221878 Lease                   252.11
       1/5/2019    709   GW0043   Owner Operator   Advance                        11/12/18 Clm 71632-1 s/u 5 wks         18.79
       1/5/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       1/5/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          10.04
       1/5/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       1/5/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       1/5/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       1/5/2019    709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-22          44.37
       1/5/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       1/5/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
       1/5/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            100
       1/5/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.22
       1/5/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
       1/5/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       1/5/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/5/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       1/5/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-12           -172
       1/5/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.03
       1/5/2019    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2018 - 32901                      39.07
       1/5/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       1/5/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/5/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       1/5/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
       1/5/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
       1/5/2019    709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       1/5/2019    709   JA0156   Owner Operator   Communication Charge           PNet Hware 34364                          13
       1/5/2019    709   JA0156   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                             200
       1/5/2019    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/5/2019    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.83
       1/5/2019    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.38
       1/5/2019    709   JA0156   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      42.19
       1/5/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       1/5/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       1/5/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       1/5/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       1/5/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
       1/5/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
       1/5/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
       1/5/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
       1/5/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
       1/5/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/5/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/5/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/5/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.96
       1/5/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.87
       1/5/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                            287
       1/5/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.62
       1/5/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.54
       1/5/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.02
       1/5/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       1/5/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 221636 Q13197 Lease            276.63
       1/5/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 221885 Q13197 Lease            276.63
       1/5/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       1/5/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
       1/5/2019    709   JD0211   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-29          58.32

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       1/5/2019    709   JD0211   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-12          -16.5
       1/5/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
       1/5/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       1/5/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/5/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       1/5/2019    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                     -2000
       1/5/2019    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                           500
       1/5/2019    709   JG0017   Owner Operator   Express Check                  T-Check Payment                        2000
       1/5/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       1/5/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       1/5/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.44
       1/5/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        362.95
       1/5/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                     33.64
       1/5/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
       1/5/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
       1/5/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/5/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       1/5/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       1/5/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       1/5/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        559.14
       1/5/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        585.72
       1/5/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                     33.64
       1/5/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
       1/5/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
       1/5/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       1/5/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         10.35
       1/5/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       1/5/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       1/5/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/5/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/5/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        124.42
       1/5/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.4
       1/5/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
       1/5/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       1/5/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       1/5/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        489.49
       1/5/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       1/5/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 221841 Truck Lease            278.76
       1/5/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       1/5/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       1/5/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       1/5/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       1/5/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
       1/5/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       1/5/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/5/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/5/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        325.72
       1/5/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        442.09
       1/5/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       1/5/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
       1/5/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       1/5/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD           40.24
       1/5/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 221877 Q13159 Lease            331.5
       1/5/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/5/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       1/5/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         18.22
       1/5/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       1/5/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/5/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/5/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/5/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/5/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        505.03
       1/5/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        120.87
       1/5/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        188.54
       1/5/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        162.48
       1/5/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                     33.64

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       1/5/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         306.15
       1/5/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       1/5/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/5/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       1/5/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
       1/5/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       1/5/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          163.8
       1/5/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.87
       1/5/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.74
       1/5/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
       1/5/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 221876 Q13156 Lease            388.16
       1/5/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       1/5/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       1/5/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       1/5/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 221940 Lease Q1111             252.11
       1/5/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       1/5/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       1/5/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         641.11
       1/5/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
       1/5/2019    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Richmond                       25
       1/5/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       1/5/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       1/5/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.38
       1/5/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.08
       1/5/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       1/5/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       1/5/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       1/5/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
       1/5/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       1/5/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       1/5/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       1/5/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 221880 Q1113 Lease             252.11
       1/5/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       1/5/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       1/5/2019    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-12          -22.5
       1/5/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.15
       1/5/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       1/5/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       1/5/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       1/5/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       1/5/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
       1/5/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            120
       1/5/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
       1/5/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.74
       1/5/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
       1/5/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       1/5/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       1/5/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       1/5/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       1/5/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
       1/5/2019    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                    -2272.8
       1/5/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         265.29
       1/5/2019    709   NB0029   Owner Operator   Express Check                  T-Check Payment                       2272.8
       1/5/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.56
       1/5/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       1/5/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       1/5/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       1/5/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
       1/5/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       1/5/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 221876 32986 Lease             314.03
       1/5/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       1/5/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13

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       1/5/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              80
       1/5/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
       1/5/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          118.3
       1/5/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.14
       1/5/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       1/5/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       1/5/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       1/5/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       1/5/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 221981 Truck 73130 Leas        196.65
       1/5/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       1/5/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       1/5/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.28
       1/5/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.23
       1/5/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34370                       100
       1/5/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
       1/5/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 221877 REPAIRS                   250
       1/5/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
       1/5/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       1/5/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       1/5/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.01
       1/5/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.25
       1/5/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.21
       1/5/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       1/5/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       1/5/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/5/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       1/5/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       1/5/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.05
       1/5/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
       1/5/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       1/5/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/5/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       1/5/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/5/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.78
       1/5/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           59.7
       1/5/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
       1/5/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       1/5/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       1/5/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       1/5/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       1/5/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       1/5/2019    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-12         -27.54
       1/5/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
       1/5/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
       1/5/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
       1/5/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      27.48
       1/5/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
       1/5/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       1/5/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       1/5/2019    709   RL0180   Owner Operator   Truck Payment                  CTMS - 221667 TRUCK RENTAL              100
       1/5/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       1/5/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       1/5/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       1/5/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       1/5/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       1/5/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       1/5/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.62
       1/5/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       1/5/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 221841 Q1202 Truck Leas        278.76
       1/5/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       1/5/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       1/5/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       1/5/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100

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       1/5/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/5/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/5/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/5/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.75
       1/5/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.45
       1/5/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         606.01
       1/5/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
       1/5/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
       1/5/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       1/5/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       1/5/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 221632 Q1248                   311.97
       1/5/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 221879 Q1248                   311.97
       1/5/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       1/5/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       1/5/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/5/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.96
       1/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.12
       1/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.28
       1/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.08
       1/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.65
       1/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.75
       1/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.43
       1/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.71
       1/5/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
       1/5/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
       1/5/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
       1/5/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
       1/5/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
       1/5/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       1/5/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       1/5/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         265.42
       1/5/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       1/5/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       1/5/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       1/5/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       1/5/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.79
       1/5/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.11
       1/5/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       1/5/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       1/5/2019    709   SB0103   Owner Operator   Repair Order                   CTMS - 221885 REPAIR                  267.77
       1/5/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 221838 Sub Lease               388.33
       1/5/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       1/5/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
       1/5/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
       1/5/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.58
       1/5/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           413
       1/5/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           595
       1/5/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
       1/5/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
       1/5/2019    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00387949 - PO System          195.67
       1/5/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       1/5/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.13
       1/5/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       1/5/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       1/5/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.39
       1/5/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       1/5/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       1/5/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/5/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/5/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.24
       1/5/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.1
       1/5/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.05
       1/5/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       1/5/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       1/5/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13

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       1/5/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-12          -31.6
       1/5/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-12        -126.48
       1/5/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       1/5/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       1/5/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       1/5/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       1/5/2019    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-12          -46.5
       1/5/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/5/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/5/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.38
       1/5/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.09
       1/5/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.23
       1/5/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       1/5/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 221880 Q1238 Lease             311.97
       1/5/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.38
       1/5/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       1/5/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
       1/5/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.54
       1/5/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.34
       1/5/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.97
       1/5/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.86
       1/5/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
       1/5/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       1/5/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 221877 Lease of Q13151         388.16
       1/5/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       1/5/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          10.04
       1/5/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.79
       1/5/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/5/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       1/5/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       1/5/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.68
       1/5/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       1/5/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/5/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       1/5/2019    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                           4.15
       1/5/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       1/5/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       1/5/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       1/5/2019    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/5/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/5/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.71
       1/5/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.06
       1/5/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.15
       1/5/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.26
       1/5/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.07
       1/5/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       1/5/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       1/5/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Bell             2
       1/5/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - East           3.5
       1/5/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Fair           1.2
       1/5/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - NE M           1.5
       1/5/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Nort           3.5
       1/5/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Sout           1.5
       1/5/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Sout           1.5
       1/5/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Tele          2.75
       1/5/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Ship Channel Bridg           1.5
       1/5/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Ship Channel Bridg             7
       1/5/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Westpark - Beltway          1.25
       1/5/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Westpark - Boone R           3.5
       1/5/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Westpark - Boone R           3.5
       1/5/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Westpark - Hillcro           1.5
       1/5/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 221636 Trk 33487 Lease          434.2
       1/5/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 221886 Trk 33487 Lease          434.2
       1/5/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       1/5/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       1/5/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.24

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       1/5/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       1/5/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       1/5/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       1/5/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       1/5/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       1/5/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       1/5/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          18.79
       1/5/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       1/5/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       1/5/2019    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-12        -452.45
       1/5/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       1/5/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       1/5/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       1/5/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       1/5/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         752.04
       1/5/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       1/5/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/5/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
       1/5/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.46
       1/5/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.68
       1/5/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.48
       1/5/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.44
       1/5/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
       1/5/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       1/5/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          17.12
       1/5/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       1/5/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       1/5/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          140.3
       1/5/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.53
       1/5/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.59
       1/5/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       1/5/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       1/5/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
       1/5/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       1/5/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       1/5/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       1/5/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/5/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/5/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.86
       1/5/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.82
       1/5/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.17
       1/5/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.59
       1/5/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.93
       1/5/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       1/5/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       1/5/2019    742   NG0024   Owner Operator   Repair Order                   TRACTOR 33252                          30.23
       1/5/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       1/5/2019    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
       1/5/2019    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
       1/5/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       1/5/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          19.94
       1/5/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          35.34
       1/5/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.79
       1/5/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       1/5/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          10.04
       1/5/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       1/5/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       1/5/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       1/5/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       1/5/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       1/5/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       1/5/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8

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       1/5/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/5/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.84
       1/5/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.26
       1/5/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.35
       1/5/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.84
       1/5/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.4
       1/5/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.26
       1/5/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.59
       1/5/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.05
       1/5/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.75
       1/5/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.54
       1/5/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          35.36
       1/5/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.78
       1/5/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
       1/5/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       1/5/2019    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Route 80 (West)             4.9
       1/5/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 221628 33489 Lease Paym        412.16
       1/5/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 221876 33489 Lease Paym        412.16
       1/5/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       1/5/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          10.04
       1/5/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       1/5/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       1/5/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/5/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       1/5/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      1/12/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      1/12/2019    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
      1/12/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      1/12/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   AN0007   Owner Operator   Permits                        ID06:2019 - 21157A                        11
      1/12/2019    709   AN0007   Owner Operator   Permits                        IL02:2019 - 21157A                      3.75
      1/12/2019    709   AN0007   Owner Operator   Permits                        NM07:2019 - 21157A                        10
      1/12/2019    709   AN0007   Owner Operator   Permits                        NY13:2019 - 21157A                       1.5
      1/12/2019    709   AN0007   Owner Operator   Permits                        OR16:2019 - 21157A                       8.5
      1/12/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      1/12/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      1/12/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      1/12/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      1/12/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      1/12/2019    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      1/12/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/12/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/12/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/12/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          226.4
      1/12/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.15
      1/12/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.67
      1/12/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.11
      1/12/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.58
      1/12/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.96
      1/12/2019    709   AV0021   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         43.91
      1/12/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  98.35
      1/12/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   AV0021   Owner Operator   Permits                        ID06:2019 - Q13169                        11
      1/12/2019    709   AV0021   Owner Operator   Permits                        IL02:2019 - Q13169                      3.75
      1/12/2019    709   AV0021   Owner Operator   Permits                        NM07:2019 - Q13169                        10
      1/12/2019    709   AV0021   Owner Operator   Permits                        NY13:2019 - Q13169                       1.5
      1/12/2019    709   AV0021   Owner Operator   Permits                        OR16:2019 - Q13169                       8.5
      1/12/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      1/12/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 221691 Q13169 Sublease         352.68
      1/12/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 221940 Q13169 Sublease         352.68
      1/12/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 222181 Q13169 Sublease         352.68
      1/12/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      1/12/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      1/12/2019    709   BM0030   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        464.75
      1/12/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   BM0030   Owner Operator   Permits                        ID06:2019 - 34023                         11
      1/12/2019    709   BM0030   Owner Operator   Permits                        IL02:2019 - 34023                       3.75
      1/12/2019    709   BM0030   Owner Operator   Permits                        NM07:2019 - 34023                         10
      1/12/2019    709   BM0030   Owner Operator   Permits                        NY13:2019 - 34023                        1.5
      1/12/2019    709   BM0030   Owner Operator   Permits                        OR16:2019 - 34023                        8.5
      1/12/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13

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      1/12/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      1/12/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      1/12/2019    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      1/12/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      1/12/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/12/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/12/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.01
      1/12/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.29
      1/12/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.05
      1/12/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.55
      1/12/2019    709   CC0134   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        102.92
      1/12/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
      1/12/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   CC0134   Owner Operator   Permits                        ID06:2019 - Q13168                        11
      1/12/2019    709   CC0134   Owner Operator   Permits                        IL02:2019 - Q13168                      3.75
      1/12/2019    709   CC0134   Owner Operator   Permits                        NM07:2019 - Q13168                        10
      1/12/2019    709   CC0134   Owner Operator   Permits                        NY13:2019 - Q13168                       1.5
      1/12/2019    709   CC0134   Owner Operator   Permits                        OR16:2019 - Q13168                       8.5
      1/12/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      1/12/2019    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00388177 - PO System          373.65
      1/12/2019    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00388177 - PO System              93
      1/12/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 221880 Q13168 sub lease        352.68
      1/12/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 222086 Q13168 sub lease        352.68
      1/12/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      1/12/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      1/12/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/12/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/12/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.82
      1/12/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.26
      1/12/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      1/12/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
      1/12/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   CM0119   Owner Operator   Permits                        ID06:2019 - 32920                         11
      1/12/2019    709   CM0119   Owner Operator   Permits                        IL02:2019 - 32920                       3.75
      1/12/2019    709   CM0119   Owner Operator   Permits                        NM07:2019 - 32920                         10
      1/12/2019    709   CM0119   Owner Operator   Permits                        NY13:2019 - 32920                        1.5
      1/12/2019    709   CM0119   Owner Operator   Permits                        OR16:2019 - 32920                        8.5
      1/12/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      1/12/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/12/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      1/12/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      1/12/2019    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                      9.84
      1/12/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      1/12/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.87
      1/12/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.54
      1/12/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.15
      1/12/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.78
      1/12/2019    709   CR0064   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        126.39
      1/12/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      1/12/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   CR0064   Owner Operator   Permits                        ID06:2019 - 32864                         11
      1/12/2019    709   CR0064   Owner Operator   Permits                        IL02:2019 - 32864                       3.75
      1/12/2019    709   CR0064   Owner Operator   Permits                        NM07:2019 - 32864                         10
      1/12/2019    709   CR0064   Owner Operator   Permits                        NY13:2019 - 32864                        1.5
      1/12/2019    709   CR0064   Owner Operator   Permits                        OR16:2019 - 32864                        8.5
      1/12/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      1/12/2019    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      1/12/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 222009 TRUCK RENTAL              500
      1/12/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      1/12/2019    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                      9.84
      1/12/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      1/12/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.59
      1/12/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   CS0091   Owner Operator   Permits                        ID06:2019 - Q1201                         11
      1/12/2019    709   CS0091   Owner Operator   Permits                        IL02:2019 - Q1201                       3.75
      1/12/2019    709   CS0091   Owner Operator   Permits                        NM07:2019 - Q1201                         10
      1/12/2019    709   CS0091   Owner Operator   Permits                        NY13:2019 - Q1201                        1.5
      1/12/2019    709   CS0091   Owner Operator   Permits                        OR16:2019 - Q1201                        8.5
      1/12/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      1/12/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 222085 Q1201                   278.76
      1/12/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/12/2019    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                      9.84

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      1/12/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      1/12/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.66
      1/12/2019    709   DL0029   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         23.11
      1/12/2019    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00013 - Loan Repayment         376.27
      1/12/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   DL0029   Owner Operator   Permits                        ID06:2019 - 33850                         11
      1/12/2019    709   DL0029   Owner Operator   Permits                        IL02:2019 - 33850                       3.75
      1/12/2019    709   DL0029   Owner Operator   Permits                        NM07:2019 - 33850                         10
      1/12/2019    709   DL0029   Owner Operator   Permits                        NY13:2019 - 33850                        1.5
      1/12/2019    709   DL0029   Owner Operator   Permits                        OR16:2019 - 33850                        8.5
      1/12/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      1/12/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      1/12/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/12/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/12/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.72
      1/12/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.27
      1/12/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.23
      1/12/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.34
      1/12/2019    709   DL0107   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        340.63
      1/12/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         312.43
      1/12/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   DL0107   Owner Operator   Permits                        ID06:2019 - Q1245                         11
      1/12/2019    709   DL0107   Owner Operator   Permits                        IL02:2019 - Q1245                       3.75
      1/12/2019    709   DL0107   Owner Operator   Permits                        NM07:2019 - Q1245                         10
      1/12/2019    709   DL0107   Owner Operator   Permits                        NY13:2019 - Q1245                        1.5
      1/12/2019    709   DL0107   Owner Operator   Permits                        OR16:2019 - Q1245                        8.5
      1/12/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      1/12/2019    709   DL0107   Owner Operator   Repair Order                   TRACTOR Q1245                         958.85
      1/12/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      1/12/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/12/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/12/2019    709   DM0257   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/12/2019    709   DM0257   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/12/2019    709   DM0257   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/12/2019    709   DM0257   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/12/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.92
      1/12/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.84
      1/12/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          117.4
      1/12/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.65
      1/12/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.55
      1/12/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.68
      1/12/2019    709   DM0257   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        495.77
      1/12/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2018 - 34328                       100
      1/12/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          38.53
      1/12/2019    709   DM0257   Owner Operator   Permits                        ID06:2019 - 34328                         11
      1/12/2019    709   DM0257   Owner Operator   Permits                        IL02:2019 - 34328                       3.75
      1/12/2019    709   DM0257   Owner Operator   Permits                        OR16:2019 - 34328                        8.5
      1/12/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      1/12/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      1/12/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      1/12/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      1/12/2019    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      1/12/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                      9.84
      1/12/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      1/12/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/12/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/12/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.31
      1/12/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.85
      1/12/2019    709   DS0049   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         -20.2
      1/12/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      1/12/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   DS0049   Owner Operator   Permits                        ID06:2019 - 32915                         11
      1/12/2019    709   DS0049   Owner Operator   Permits                        IL02:2019 - 32915                       3.75
      1/12/2019    709   DS0049   Owner Operator   Permits                        NM07:2019 - 32915                         10
      1/12/2019    709   DS0049   Owner Operator   Permits                        NY13:2019 - 32915                        1.5
      1/12/2019    709   DS0049   Owner Operator   Permits                        OR16:2019 - 32915                        8.5
      1/12/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      1/12/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      1/12/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      1/12/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      1/12/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                             80

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      1/12/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          625.9
      1/12/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   DS0225   Owner Operator   Permits                        CUST:2019 - 33320                     406.56
      1/12/2019    709   DS0225   Owner Operator   Permits                        ID06:2019 - 33320                         11
      1/12/2019    709   DS0225   Owner Operator   Permits                        IL02:2019 - 33320                       3.75
      1/12/2019    709   DS0225   Owner Operator   Permits                        NM07:2019 - 33320                         10
      1/12/2019    709   DS0225   Owner Operator   Permits                        NY13:2019 - 33320                        1.5
      1/12/2019    709   DS0225   Owner Operator   Permits                        OR16:2019 - 33320                        8.5
      1/12/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      1/12/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      1/12/2019    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      1/12/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      1/12/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/12/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      1/12/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      1/12/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.52
      1/12/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.72
      1/12/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.97
      1/12/2019    709   DS0288   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        272.37
      1/12/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2018 - 34266                       100
      1/12/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   DS0288   Owner Operator   Permits                        ID06:2019 - 34266                         11
      1/12/2019    709   DS0288   Owner Operator   Permits                        IL02:2019 - 34266                       3.75
      1/12/2019    709   DS0288   Owner Operator   Permits                        NM07:2019 - 34266                         10
      1/12/2019    709   DS0288   Owner Operator   Permits                        NY13:2019 - 34266                        1.5
      1/12/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      1/12/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                      9.84
      1/12/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      1/12/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/12/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/12/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/12/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         670.71
      1/12/2019    709   EA0003   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        202.99
      1/12/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      1/12/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   EA0003   Owner Operator   Permits                        ID06:2019 - 33051                         11
      1/12/2019    709   EA0003   Owner Operator   Permits                        IL02:2019 - 33051                       3.75
      1/12/2019    709   EA0003   Owner Operator   Permits                        NM07:2019 - 33051                         10
      1/12/2019    709   EA0003   Owner Operator   Permits                        NY13:2019 - 33051                        1.5
      1/12/2019    709   EA0003   Owner Operator   Permits                        OR16:2019 - 33051                        8.5
      1/12/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      1/12/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      1/12/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      1/12/2019    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      1/12/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      1/12/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.39
      1/12/2019    709   EG0062   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        270.56
      1/12/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   EG0062   Owner Operator   Permits                        ID06:2019 - 33828                         11
      1/12/2019    709   EG0062   Owner Operator   Permits                        IL02:2019 - 33828                       3.75
      1/12/2019    709   EG0062   Owner Operator   Permits                        NM07:2019 - 33828                         10
      1/12/2019    709   EG0062   Owner Operator   Permits                        NY13:2019 - 33828                        1.5
      1/12/2019    709   EG0062   Owner Operator   Permits                        OR16:2019 - 33828                        8.5
      1/12/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      1/12/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      1/12/2019    709   EG0062   Owner Operator   Toll Charges                   33828 ILTOLL Joliet Rd.                 2.45
      1/12/2019    709   EO0014   Owner Operator   Advance                        REMAN BAL OF EFS 208332               250.05
      1/12/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      1/12/2019    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      1/12/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      1/12/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.55
      1/12/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.8
      1/12/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.05
      1/12/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.64
      1/12/2019    709   EO0014   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         47.14
      1/12/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   EO0014   Owner Operator   Permits                        ID06:2019 - 33846                         11
      1/12/2019    709   EO0014   Owner Operator   Permits                        IL02:2019 - 33846                       3.75
      1/12/2019    709   EO0014   Owner Operator   Permits                        NM07:2019 - 33846                         10
      1/12/2019    709   EO0014   Owner Operator   Permits                        NY13:2019 - 33846                        1.5
      1/12/2019    709   EO0014   Owner Operator   Permits                        OR16:2019 - 33846                        8.5
      1/12/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13

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      1/12/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      1/12/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      1/12/2019    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      1/12/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      1/12/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          329.8
      1/12/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.59
      1/12/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           353
      1/12/2019    709   FS0039   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        299.23
      1/12/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 292.34
      1/12/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      1/12/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   FS0039   Owner Operator   Permits                        ID06:2019 - 33040                         11
      1/12/2019    709   FS0039   Owner Operator   Permits                        IL02:2019 - 33040                       3.75
      1/12/2019    709   FS0039   Owner Operator   Permits                        NM07:2019 - 33040                         10
      1/12/2019    709   FS0039   Owner Operator   Permits                        NY13:2019 - 33040                        1.5
      1/12/2019    709   FS0039   Owner Operator   Permits                        OR16:2019 - 33040                        8.5
      1/12/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      1/12/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 222181 truck lease 3304        434.29
      1/12/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/12/2019    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521B                     9.84
      1/12/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      1/12/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.59
      1/12/2019    709   FV0001   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         62.27
      1/12/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   FV0001   Owner Operator   Permits                        ID06:2019 - 21521B                        11
      1/12/2019    709   FV0001   Owner Operator   Permits                        IL02:2019 - 21521B                      3.75
      1/12/2019    709   FV0001   Owner Operator   Permits                        NM07:2019 - 21521B                        10
      1/12/2019    709   FV0001   Owner Operator   Permits                        NY13:2019 - 21521B                       1.5
      1/12/2019    709   FV0001   Owner Operator   Permits                        OR16:2019 - 21521B                       8.5
      1/12/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      1/12/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/12/2019    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRK34330                     21.84
      1/12/2019    709   GA0051   Owner Operator   Broker Pre Pass                DWyzeCRTRK34330                          -12
      1/12/2019    709   GA0051   Owner Operator   Broker Pre Pass                DWyzeCRTRK34330                          -12
      1/12/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      1/12/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/12/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/12/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/12/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/12/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/12/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.86
      1/12/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.49
      1/12/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   GA0051   Owner Operator   Permits                        ID06:2019 - 34330                         11
      1/12/2019    709   GA0051   Owner Operator   Permits                        IL02:2019 - 34330                       3.75
      1/12/2019    709   GA0051   Owner Operator   Permits                        NM07:2019 - 34330                         10
      1/12/2019    709   GA0051   Owner Operator   Permits                        NY13:2019 - 34330                        1.5
      1/12/2019    709   GA0051   Owner Operator   Permits                        OR16:2019 - 34330                        8.5
      1/12/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      1/12/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      1/12/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      1/12/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      1/12/2019    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      1/12/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      1/12/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.34
      1/12/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   GS0015   Owner Operator   Permits                        ID06:2019 - Q1110                         11
      1/12/2019    709   GS0015   Owner Operator   Permits                        IL02:2019 - Q1110                       3.75
      1/12/2019    709   GS0015   Owner Operator   Permits                        NM07:2019 - Q1110                         10
      1/12/2019    709   GS0015   Owner Operator   Permits                        NY13:2019 - Q1110                        1.5
      1/12/2019    709   GS0015   Owner Operator   Permits                        OR16:2019 - Q1110                        8.5
      1/12/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      1/12/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 222084 Lease                   252.11
      1/12/2019    709   GW0043   Owner Operator   Advance                        11/12/18 Clm 71632-1 s/u 5 wks         22.69
      1/12/2019    709   GW0043   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        -22.69
      1/12/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      1/12/2019    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      1/12/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      1/12/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      1/12/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.57
      1/12/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.57
      1/12/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.48
      1/12/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.85

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      1/12/2019    709   HC0023   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         86.31
      1/12/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          37.46
      1/12/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   HC0023   Owner Operator   Permits                        ID06:2019 - Q13170                        11
      1/12/2019    709   HC0023   Owner Operator   Permits                        IL02:2019 - Q13170                      3.75
      1/12/2019    709   HC0023   Owner Operator   Permits                        NM07:2019 - Q13170                        10
      1/12/2019    709   HC0023   Owner Operator   Permits                        NY13:2019 - Q13170                       1.5
      1/12/2019    709   HC0023   Owner Operator   Permits                        OR16:2019 - Q13170                       8.5
      1/12/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      1/12/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      1/12/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 221874 Q13170                  352.68
      1/12/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 222080 Q13170                  352.68
      1/12/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      1/12/2019    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK33180                      9.84
      1/12/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      1/12/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/12/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/12/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/12/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.29
      1/12/2019    709   HG0007   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         78.56
      1/12/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   HG0007   Owner Operator   Permits                        ID06:2019 - 33180                         11
      1/12/2019    709   HG0007   Owner Operator   Permits                        IL02:2019 - 33180                       3.75
      1/12/2019    709   HG0007   Owner Operator   Permits                        NM07:2019 - 33180                         10
      1/12/2019    709   HG0007   Owner Operator   Permits                        NY13:2019 - 33180                        1.5
      1/12/2019    709   HG0007   Owner Operator   Permits                        OR16:2019 - 33180                        8.5
      1/12/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      1/12/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      1/12/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      1/12/2019    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      1/12/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      1/12/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      1/12/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      1/12/2019    709   HG0027   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 12-22         166.23
      1/12/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/12/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/12/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          241.6
      1/12/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.52
      1/12/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.01
      1/12/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.97
      1/12/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.94
      1/12/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.52
      1/12/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.93
      1/12/2019    709   HG0027   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         87.17
      1/12/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   HG0027   Owner Operator   Permits                        ID06:2019 - 33418                         11
      1/12/2019    709   HG0027   Owner Operator   Permits                        IL02:2019 - 33418                       3.75
      1/12/2019    709   HG0027   Owner Operator   Permits                        NM07:2019 - 33418                         10
      1/12/2019    709   HG0027   Owner Operator   Permits                        NY13:2019 - 33418                        1.5
      1/12/2019    709   HG0027   Owner Operator   Permits                        OR16:2019 - 33418                        8.5
      1/12/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      1/12/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      1/12/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/12/2019    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      1/12/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      1/12/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/12/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.4
      1/12/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.77
      1/12/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.68
      1/12/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   IA0007   Owner Operator   Permits                        ID06:2019 - 34012                         11
      1/12/2019    709   IA0007   Owner Operator   Permits                        IL02:2019 - 34012                       3.75
      1/12/2019    709   IA0007   Owner Operator   Permits                        NM07:2019 - 34012                         10
      1/12/2019    709   IA0007   Owner Operator   Permits                        NY13:2019 - 34012                        1.5
      1/12/2019    709   IA0007   Owner Operator   Permits                        OR16:2019 - 34012                        8.5
      1/12/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      1/12/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      1/12/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      1/12/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      1/12/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-5             172
      1/12/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.31

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      1/12/2019    709   IR0002   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        204.04
      1/12/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   IR0002   Owner Operator   Permits                        CUST:2019 - 32901                     406.56
      1/12/2019    709   IR0002   Owner Operator   Permits                        ID06:2019 - 32901                         11
      1/12/2019    709   IR0002   Owner Operator   Permits                        IL02:2019 - 32901                       3.75
      1/12/2019    709   IR0002   Owner Operator   Permits                        NM07:2019 - 32901                         10
      1/12/2019    709   IR0002   Owner Operator   Permits                        NY13:2019 - 32901                        1.5
      1/12/2019    709   IR0002   Owner Operator   Permits                        OR16:2019 - 32901                        8.5
      1/12/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      1/12/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/12/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/12/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      1/12/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/12/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.17
      1/12/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      1/12/2019    709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     26.25
      1/12/2019    709   JA0156   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       -35
      1/12/2019    709   JA0156   Owner Operator   Broker Pre Pass                DriveWyze TRK34364                     21.84
      1/12/2019    709   JA0156   Owner Operator   Broker Pre Pass                DWyzeCRTRK34364                          -12
      1/12/2019    709   JA0156   Owner Operator   Broker Pre Pass                DWyzeCRTRK34364                          -12
      1/12/2019    709   JA0156   Owner Operator   Communication Charge           Pnet Device Not Returned              125.35
      1/12/2019    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance                             500
      1/12/2019    709   JA0156   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/12/2019    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.75
      1/12/2019    709   JA0156   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.3
      1/12/2019    709   JA0156   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          142.5
      1/12/2019    709   JA0156   Owner Operator   Permits                        ID06:2019 - 34364                         11
      1/12/2019    709   JA0156   Owner Operator   Permits                        IL02:2019 - 34364                       3.75
      1/12/2019    709   JA0156   Owner Operator   Permits                        NM07:2019 - 34364                         10
      1/12/2019    709   JA0156   Owner Operator   Permits                        OR16:2019 - 34364                        8.5
      1/12/2019    709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     126.56
      1/12/2019    709   JA0156   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                    -168.75
      1/12/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      1/12/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      1/12/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      1/12/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      1/12/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.01
      1/12/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.85
      1/12/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.07
      1/12/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          375.5
      1/12/2019    709   JC0292   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        164.85
      1/12/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   JC0292   Owner Operator   Permits                        CUST:2019 - Q13197                    406.56
      1/12/2019    709   JC0292   Owner Operator   Permits                        ID06:2019 - Q13197                        11
      1/12/2019    709   JC0292   Owner Operator   Permits                        IL02:2019 - Q13197                      3.75
      1/12/2019    709   JC0292   Owner Operator   Permits                        NM07:2019 - Q13197                        10
      1/12/2019    709   JC0292   Owner Operator   Permits                        NY13:2019 - Q13197                       1.5
      1/12/2019    709   JC0292   Owner Operator   Permits                        OR16:2019 - Q13197                       8.5
      1/12/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      1/12/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 222121 Q13197 Lease            276.63
      1/12/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      1/12/2019    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                     21.84
      1/12/2019    709   JD0211   Owner Operator   Broker Pre Pass                DWyzeCRTRK34325                          -24
      1/12/2019    709   JD0211   Owner Operator   Broker Pre Pass                DWyzeCRTRK34325                          -12
      1/12/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      1/12/2019    709   JD0211   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-5             16.5
      1/12/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/12/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      1/12/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      1/12/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                      9.84
      1/12/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      1/12/2019    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                       -500
      1/12/2019    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      1/12/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      1/12/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/12/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.56
      1/12/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.32
      1/12/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.65
      1/12/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      1/12/2019    709   JG0017   Owner Operator   Loan Repayment                 EFS 208432                             -6570

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      1/12/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         251.27
      1/12/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   JG0017   Owner Operator   Permits                        ID06:2019 - 32908                         11
      1/12/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      1/12/2019    709   JG0017   Owner Operator   T Chek Fee                     ExpressCheck Fee                          70
      1/12/2019    709   JG0017   Owner Operator   T Chek Fee                     Tractor Repair 32908                   7000
      1/12/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      1/12/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/12/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/12/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.64
      1/12/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.48
      1/12/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.82
      1/12/2019    709   JG0072   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        379.37
      1/12/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   JG0072   Owner Operator   Permits                        ID06:2019 - 32909                         11
      1/12/2019    709   JG0072   Owner Operator   Permits                        IL02:2019 - 32909                       3.75
      1/12/2019    709   JG0072   Owner Operator   Permits                        NM07:2019 - 32909                         10
      1/12/2019    709   JG0072   Owner Operator   Permits                        NY13:2019 - 32909                        1.5
      1/12/2019    709   JG0072   Owner Operator   Permits                        OR16:2019 - 32909                        8.5
      1/12/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      1/12/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         385.87
      1/12/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/12/2019    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                      9.84
      1/12/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      1/12/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      1/12/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.18
      1/12/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          37.15
      1/12/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   JG0092   Owner Operator   Permits                        ID06:2019 - 33669                         11
      1/12/2019    709   JG0092   Owner Operator   Permits                        IL02:2019 - 33669                       3.75
      1/12/2019    709   JG0092   Owner Operator   Permits                        NM07:2019 - 33669                         10
      1/12/2019    709   JG0092   Owner Operator   Permits                        NY13:2019 - 33669                        1.5
      1/12/2019    709   JG0092   Owner Operator   Permits                        OR16:2019 - 33669                        8.5
      1/12/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      1/12/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      1/12/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      1/12/2019    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                      9.84
      1/12/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      1/12/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-19          -16.5
      1/12/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/12/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/12/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.51
      1/12/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   JQ0015   Owner Operator   Permits                        ID06:2019 - 33438                         11
      1/12/2019    709   JQ0015   Owner Operator   Permits                        IL02:2019 - 33438                       3.75
      1/12/2019    709   JQ0015   Owner Operator   Permits                        NM07:2019 - 33438                         10
      1/12/2019    709   JQ0015   Owner Operator   Permits                        OR16:2019 - 33438                        8.5
      1/12/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      1/12/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      1/12/2019    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      1/12/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      1/12/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.41
      1/12/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   JR0099   Owner Operator   Permits                        ID06:2019 - Q1203                         11
      1/12/2019    709   JR0099   Owner Operator   Permits                        IL02:2019 - Q1203                       3.75
      1/12/2019    709   JR0099   Owner Operator   Permits                        NM07:2019 - Q1203                         10
      1/12/2019    709   JR0099   Owner Operator   Permits                        NY13:2019 - Q1203                        1.5
      1/12/2019    709   JR0099   Owner Operator   Permits                        OR16:2019 - Q1203                        8.5
      1/12/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      1/12/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 222040 Truck Lease             278.76
      1/12/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      1/12/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      1/12/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      1/12/2019    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRK33325                      9.84
      1/12/2019    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                     9.84
      1/12/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      1/12/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      1/12/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/12/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.76
      1/12/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.98
      1/12/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.08
      1/12/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.09

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      1/12/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.63
      1/12/2019    709   JS0265   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        223.26
      1/12/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      1/12/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   JS0265   Owner Operator   Permits                        ID06:2019 - 33325                         11
      1/12/2019    709   JS0265   Owner Operator   Permits                        NM07:2019 - 33325                         10
      1/12/2019    709   JS0265   Owner Operator   Permits                        NY13:2019 - 33325                        1.5
      1/12/2019    709   JS0265   Owner Operator   Permits                        OR16:2019 - 33325                        8.5
      1/12/2019    709   JS0265   Owner Operator   Permits1                       ID06:2018 - Q13159                        11
      1/12/2019    709   JS0265   Owner Operator   Permits1                       IL02:2018 - Q13159                      3.75
      1/12/2019    709   JS0265   Owner Operator   Permits1                       NM07:2018 - Q13159                       5.5
      1/12/2019    709   JS0265   Owner Operator   Permits1                       NY13:2016 - Q13159                        19
      1/12/2019    709   JS0265   Owner Operator   Permits1                       OR16:2018 - Q13159                       8.5
      1/12/2019    709   JS0265   Owner Operator   Permits1                       OR16:2018 - Q13159                       8.5
      1/12/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      1/12/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      1/12/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      1/12/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 222084 Q13159 Lease             331.5
      1/12/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      1/12/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/12/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/12/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/12/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/12/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/12/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/12/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/12/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.01
      1/12/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.74
      1/12/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           242
      1/12/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           216
      1/12/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             36
      1/12/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.01
      1/12/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           330
      1/12/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.71
      1/12/2019    709   KP0004   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        209.08
      1/12/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      1/12/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         306.15
      1/12/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   KP0004   Owner Operator   Permits                        ID06:2019 - 32914                         11
      1/12/2019    709   KP0004   Owner Operator   Permits                        IL02:2019 - 32914                       3.75
      1/12/2019    709   KP0004   Owner Operator   Permits                        NM07:2019 - 32914                         10
      1/12/2019    709   KP0004   Owner Operator   Permits                        NY13:2019 - 32914                        1.5
      1/12/2019    709   KP0004   Owner Operator   Permits                        OR16:2019 - 32914                        8.5
      1/12/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      1/12/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/12/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      1/12/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      1/12/2019    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                     9.84
      1/12/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      1/12/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/12/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.89
      1/12/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.05
      1/12/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.19
      1/12/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.94
      1/12/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.95
      1/12/2019    709   KT0055   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        165.93
      1/12/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      1/12/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 222082 Q13156 Lease            388.16
      1/12/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      1/12/2019    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      1/12/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      1/12/2019    709   LL0160   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        329.29
      1/12/2019    709   LL0160   Owner Operator   Permits                        ID06:2019 - Q1111                         11
      1/12/2019    709   LL0160   Owner Operator   Permits                        NM07:2019 - Q1111                         10
      1/12/2019    709   LL0160   Owner Operator   Permits                        NY13:2019 - Q1111                        1.5
      1/12/2019    709   LL0160   Owner Operator   Permits                        OR16:2019 - Q1111                        8.5
      1/12/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      1/12/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 222181 Lease Q1111             252.11
      1/12/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      1/12/2019    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                      9.84
      1/12/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13

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      1/12/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/12/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/12/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         784.52
      1/12/2019    709   LS0023   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax          41.2
      1/12/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   LS0023   Owner Operator   Permits                        ID06:2019 - 33655                         11
      1/12/2019    709   LS0023   Owner Operator   Permits                        IL02:2019 - 33655                       3.75
      1/12/2019    709   LS0023   Owner Operator   Permits                        NM07:2019 - 33655                         10
      1/12/2019    709   LS0023   Owner Operator   Permits                        NY13:2019 - 33655                        1.5
      1/12/2019    709   LS0023   Owner Operator   Permits                        OR16:2019 - 33655                        8.5
      1/12/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      1/12/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/12/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       -35
      1/12/2019    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      1/12/2019    709   MA0092   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         65.65
      1/12/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      1/12/2019    709   MA0092   Owner Operator   Permits                        ID06:2019 - 34005                         11
      1/12/2019    709   MA0092   Owner Operator   Permits                        IL02:2019 - 34005                       3.75
      1/12/2019    709   MA0092   Owner Operator   Permits                        NM07:2019 - 34005                         10
      1/12/2019    709   MA0092   Owner Operator   Permits                        NY13:2019 - 34005                        1.5
      1/12/2019    709   MA0092   Owner Operator   Permits                        OR16:2019 - 34005                        8.5
      1/12/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      1/12/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      1/12/2019    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      1/12/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      1/12/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            100
      1/12/2019    709   MD0122   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        313.01
      1/12/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   MD0122   Owner Operator   Permits                        ID06:2019 - 34342                         11
      1/12/2019    709   MD0122   Owner Operator   Permits                        IL02:2019 - 34342                       3.75
      1/12/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      1/12/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      1/12/2019    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                      9.84
      1/12/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      1/12/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.05
      1/12/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.12
      1/12/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.06
      1/12/2019    709   ME0053   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        -14.02
      1/12/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   ME0053   Owner Operator   Permits                        ID06:2019 - Q1113                         11
      1/12/2019    709   ME0053   Owner Operator   Permits                        IL02:2019 - Q1113                       3.75
      1/12/2019    709   ME0053   Owner Operator   Permits                        NM07:2019 - Q1113                         10
      1/12/2019    709   ME0053   Owner Operator   Permits                        NY13:2019 - Q1113                        1.5
      1/12/2019    709   ME0053   Owner Operator   Permits                        OR16:2019 - Q1113                        8.5
      1/12/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      1/12/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 222086 Q1113 Lease             252.11
      1/12/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/12/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      1/12/2019    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-5             22.5
      1/12/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.04
      1/12/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.1
      1/12/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   MG0067   Owner Operator   Permits                        CUST:2019 - 33435                     406.56
      1/12/2019    709   MG0067   Owner Operator   Permits                        ID06:2019 - 33435                         11
      1/12/2019    709   MG0067   Owner Operator   Permits                        IL02:2019 - 33435                       3.75
      1/12/2019    709   MG0067   Owner Operator   Permits                        NM07:2019 - 33435                         10
      1/12/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      1/12/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/12/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/12/2019    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                      9.84
      1/12/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      1/12/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            700
      1/12/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.43
      1/12/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      1/12/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   MP0035   Owner Operator   Permits                        ID06:2019 - 32904                         11
      1/12/2019    709   MP0035   Owner Operator   Permits                        IL02:2019 - 32904                       3.75
      1/12/2019    709   MP0035   Owner Operator   Permits                        NM07:2019 - 32904                         10
      1/12/2019    709   MP0035   Owner Operator   Permits                        NY13:2019 - 32904                        1.5
      1/12/2019    709   MP0035   Owner Operator   Permits                        OR16:2019 - 32904                        8.5
      1/12/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      1/12/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5

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      1/12/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      1/12/2019    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      1/12/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      1/12/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/12/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/12/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.97
      1/12/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.51
      1/12/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.95
      1/12/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   NG0005   Owner Operator   Permits                        ID06:2019 - 21412B                        11
      1/12/2019    709   NG0005   Owner Operator   Permits                        IL02:2019 - 21412B                      3.75
      1/12/2019    709   NG0005   Owner Operator   Permits                        NM07:2019 - 21412B                        10
      1/12/2019    709   NG0005   Owner Operator   Permits                        NY13:2019 - 21412B                       1.5
      1/12/2019    709   NG0005   Owner Operator   Permits                        OR16:2019 - 21412B                       8.5
      1/12/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      1/12/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      1/12/2019    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      1/12/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      1/12/2019    709   NT9564   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        245.71
      1/12/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   NT9564   Owner Operator   Permits                        ID06:2019 - 73130                         11
      1/12/2019    709   NT9564   Owner Operator   Permits                        IL02:2019 - 73130                       3.75
      1/12/2019    709   NT9564   Owner Operator   Permits                        NM07:2019 - 73130                         10
      1/12/2019    709   NT9564   Owner Operator   Permits                        NY13:2019 - 73130                        1.5
      1/12/2019    709   NT9564   Owner Operator   Permits                        OR16:2019 - 73130                        8.5
      1/12/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      1/12/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 222243 Truck 73130 Leas        196.65
      1/12/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/12/2019    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                     21.84
      1/12/2019    709   OJ0007   Owner Operator   Broker Pre Pass                DWyzeCRTRK34370-D                        -12
      1/12/2019    709   OJ0007   Owner Operator   Broker Pre Pass                DWyzeCRTRK34370-J                        -12
      1/12/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      1/12/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/12/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.57
      1/12/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.6
      1/12/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34370                       100
      1/12/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   OJ0007   Owner Operator   Permits                        ID06:2019 - 34370                         11
      1/12/2019    709   OJ0007   Owner Operator   Permits                        IL02:2019 - 34370                       3.75
      1/12/2019    709   OJ0007   Owner Operator   Permits                        NM07:2019 - 34370                         10
      1/12/2019    709   OJ0007   Owner Operator   Permits                        NY13:2019 - 34370                        1.5
      1/12/2019    709   OJ0007   Owner Operator   Permits                        OR16:2019 - 34370                        8.5
      1/12/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      1/12/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 222083 REPAIRS                   250
      1/12/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      1/12/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      1/12/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.83
      1/12/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.07
      1/12/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.89
      1/12/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.72
      1/12/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   RC0030   Owner Operator   Permits                        CUST:2019 - 33676                     406.56
      1/12/2019    709   RC0030   Owner Operator   Permits                        ID06:2019 - 33676                         11
      1/12/2019    709   RC0030   Owner Operator   Permits                        IL02:2019 - 33676                       3.75
      1/12/2019    709   RC0030   Owner Operator   Permits                        NM07:2019 - 33676                         10
      1/12/2019    709   RC0030   Owner Operator   Permits                        NY13:2019 - 33676                        1.5
      1/12/2019    709   RC0030   Owner Operator   Permits                        OR16:2019 - 33676                        8.5
      1/12/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      1/12/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      1/12/2019    709   RC0030   Owner Operator   T Chek Fee                     ExpressCheck Fee                       47.59
      1/12/2019    709   RC0030   Owner Operator   T Chek Fee                     Tractor Repair 33676                 3009.97
      1/12/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      1/12/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/12/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.01
      1/12/2019    709   RL0017   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        244.74
      1/12/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      1/12/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   RL0017   Owner Operator   Permits                        CUST:2019 - 33065                     406.56
      1/12/2019    709   RL0017   Owner Operator   Permits                        ID06:2019 - 33065                         11
      1/12/2019    709   RL0017   Owner Operator   Permits                        IL02:2019 - 33065                       3.75
      1/12/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      1/12/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      1/12/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      1/12/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      1/12/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      1/12/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/12/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/12/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/12/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/12/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/12/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/12/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.38
      1/12/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          529.9
      1/12/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.32
      1/12/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.09
      1/12/2019    709   RL0062   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        352.54
      1/12/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      1/12/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   RL0062   Owner Operator   Permits                        ID06:2019 - 32912                         11
      1/12/2019    709   RL0062   Owner Operator   Permits                        IL02:2019 - 32912                       3.75
      1/12/2019    709   RL0062   Owner Operator   Permits                        NM07:2019 - 32912                         10
      1/12/2019    709   RL0062   Owner Operator   Permits                        NY13:2019 - 32912                        1.5
      1/12/2019    709   RL0062   Owner Operator   Permits                        OR16:2019 - 32912                        8.5
      1/12/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      1/12/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      1/12/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      1/12/2019    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      1/12/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      1/12/2019    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-5            27.54
      1/12/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/12/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.21
      1/12/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.41
      1/12/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      1/12/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   RL0180   Owner Operator   Permits                        ID06:2019 - 32910                         11
      1/12/2019    709   RL0180   Owner Operator   Permits                        IL02:2019 - 32910                       3.75
      1/12/2019    709   RL0180   Owner Operator   Permits                        NM07:2019 - 32910                         10
      1/12/2019    709   RL0180   Owner Operator   Permits                        NY13:2019 - 32910                        1.5
      1/12/2019    709   RL0180   Owner Operator   Permits                        OR16:2019 - 32910                        8.5
      1/12/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      1/12/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      1/12/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      1/12/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      1/12/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      1/12/2019    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      1/12/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      1/12/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.44
      1/12/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.88
      1/12/2019    709   RM0026   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        161.81
      1/12/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   RM0026   Owner Operator   Permits                        ID06:2019 - 33664                         11
      1/12/2019    709   RM0026   Owner Operator   Permits                        IL02:2019 - 33664                       3.75
      1/12/2019    709   RM0026   Owner Operator   Permits                        NM07:2019 - 33664                         10
      1/12/2019    709   RM0026   Owner Operator   Permits                        NY13:2019 - 33664                        1.5
      1/12/2019    709   RM0026   Owner Operator   Permits                        OR16:2019 - 33664                        8.5
      1/12/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      1/12/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      1/12/2019    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      1/12/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      1/12/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          505.8
      1/12/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   RP0082   Owner Operator   Permits                        ID06:2019 - Q1202                         11
      1/12/2019    709   RP0082   Owner Operator   Permits                        IL02:2019 - Q1202                       3.75
      1/12/2019    709   RP0082   Owner Operator   Permits                        NM07:2019 - Q1202                         10
      1/12/2019    709   RP0082   Owner Operator   Permits                        NY13:2019 - Q1202                        1.5
      1/12/2019    709   RP0082   Owner Operator   Permits                        OR16:2019 - Q1202                        8.5
      1/12/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      1/12/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 222009 TRUCK RENTAL              500
      1/12/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 222040 Q1202 Truck Leas        278.76
      1/12/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      1/12/2019    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      1/12/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      1/12/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.78
      1/12/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.24

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      1/12/2019    709   RR0123   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        318.34
      1/12/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      1/12/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   RR0123   Owner Operator   Permits                        ID06:2019 - Q1248                         11
      1/12/2019    709   RR0123   Owner Operator   Permits                        IL02:2019 - Q1248                       3.75
      1/12/2019    709   RR0123   Owner Operator   Permits                        NM07:2019 - Q1248                         10
      1/12/2019    709   RR0123   Owner Operator   Permits                        NY13:2019 - Q1248                        1.5
      1/12/2019    709   RR0123   Owner Operator   Permits                        OR16:2019 - Q1248                        8.5
      1/12/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      1/12/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      1/12/2019    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL Route 80 (West)            3.65
      1/12/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 222085 Q1248                   311.97
      1/12/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      1/12/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      1/12/2019    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      1/12/2019    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      1/12/2019    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      1/12/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      1/12/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      1/12/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      1/12/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      1/12/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      1/12/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      1/12/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/12/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/12/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/12/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/12/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/12/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/12/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/12/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            150
      1/12/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/12/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/12/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/12/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/12/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      1/12/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/12/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.09
      1/12/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.15
      1/12/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.89
      1/12/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.07
      1/12/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      1/12/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          324.7
      1/12/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.76
      1/12/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.45
      1/12/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.75
      1/12/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.26
      1/12/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      1/12/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      1/12/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      1/12/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      1/12/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      1/12/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   SB0009   Owner Operator   Permits                        ID06:2019 - 33236                         11
      1/12/2019    709   SB0009   Owner Operator   Permits                        IL02:2019 - 33236                       3.75
      1/12/2019    709   SB0009   Owner Operator   Permits                        NM07:2019 - 33236                         10
      1/12/2019    709   SB0009   Owner Operator   Permits                        NY13:2019 - 33236                        1.5
      1/12/2019    709   SB0009   Owner Operator   Permits                        OR16:2019 - 33236                        8.5
      1/12/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      1/12/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      1/12/2019    709   SB0009   Owner Operator   Repair Order                   CTMS - 221668 REPAIRS                 334.99
      1/12/2019    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00382218 - PO System          159.19
      1/12/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      1/12/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      1/12/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      1/12/2019    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      1/12/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      1/12/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.22
      1/12/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.29
      1/12/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          255.2
      1/12/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.72
      1/12/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.54

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      1/12/2019    709   SB0103   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        194.98
      1/12/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   SB0103   Owner Operator   Permits                        ID06:2019 - 33037                         11
      1/12/2019    709   SB0103   Owner Operator   Permits                        IL02:2019 - 33037                       3.75
      1/12/2019    709   SB0103   Owner Operator   Permits                        NM07:2019 - 33037                         10
      1/12/2019    709   SB0103   Owner Operator   Permits                        NY13:2019 - 33037                        1.5
      1/12/2019    709   SB0103   Owner Operator   Permits                        OR16:2019 - 33037                        8.5
      1/12/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      1/12/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      1/12/2019    709   SB0103   Owner Operator   Repair Order                   CTMS - 222124 REPAIR                  267.77
      1/12/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 222037 Sub Lease               388.33
      1/12/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      1/12/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      1/12/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/12/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           376
      1/12/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           425
      1/12/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.27
      1/12/2019    709   SM0109   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        327.71
      1/12/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      1/12/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   SM0109   Owner Operator   Permits                        ID06:2019 - 33195                         11
      1/12/2019    709   SM0109   Owner Operator   Permits                        IL02:2019 - 33195                       3.75
      1/12/2019    709   SM0109   Owner Operator   Permits                        NM07:2019 - 33195                         10
      1/12/2019    709   SM0109   Owner Operator   Permits                        NY13:2019 - 33195                        1.5
      1/12/2019    709   SM0109   Owner Operator   Permits                        OR16:2019 - 33195                        8.5
      1/12/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      1/12/2019    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00387949 - PO System          195.67
      1/12/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      1/12/2019    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      1/12/2019    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      1/12/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/12/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/12/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/12/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/12/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/12/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/12/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/12/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/12/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/12/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.21
      1/12/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.43
      1/12/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.34
      1/12/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.12
      1/12/2019    709   SN0019   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        116.76
      1/12/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   SN0019   Owner Operator   Permits                        ID06:2019 - 33461                         11
      1/12/2019    709   SN0019   Owner Operator   Permits                        IL02:2019 - 33461                       3.75
      1/12/2019    709   SN0019   Owner Operator   Permits                        NM07:2019 - 33461                         10
      1/12/2019    709   SN0019   Owner Operator   Permits                        NY13:2019 - 33461                        1.5
      1/12/2019    709   SN0019   Owner Operator   Permits                        OR16:2019 - 33461                        8.5
      1/12/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      1/12/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      1/12/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      1/12/2019    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      1/12/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      1/12/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           230
      1/12/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.02
      1/12/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   VB0015   Owner Operator   Permits                        CUST:2019 - Q1112                     406.56
      1/12/2019    709   VB0015   Owner Operator   Permits                        ID06:2019 - Q1112                         11
      1/12/2019    709   VB0015   Owner Operator   Permits                        IL02:2019 - Q1112                       3.75
      1/12/2019    709   VB0015   Owner Operator   Permits                        NM07:2019 - Q1112                         10
      1/12/2019    709   VB0015   Owner Operator   Permits                        NY13:2019 - Q1112                        1.5
      1/12/2019    709   VB0015   Owner Operator   Permits                        OR16:2019 - Q1112                        8.5
      1/12/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      1/12/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      1/12/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      1/12/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/12/2019    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      1/12/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      1/12/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      1/12/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200

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      1/12/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/12/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      1/12/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      1/12/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.92
      1/12/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.13
      1/12/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.89
      1/12/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.95
      1/12/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.85
      1/12/2019    709   VJ0006   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        262.63
      1/12/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      1/12/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      1/12/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   VJ0006   Owner Operator   Permits                        ID06:2019 - 33961                         11
      1/12/2019    709   VJ0006   Owner Operator   Permits                        IL02:2019 - 33961                       3.75
      1/12/2019    709   VJ0006   Owner Operator   Permits                        NM07:2019 - 33961                         10
      1/12/2019    709   VJ0006   Owner Operator   Permits                        NY13:2019 - 33961                        1.5
      1/12/2019    709   VJ0006   Owner Operator   Permits                        OR16:2019 - 33961                        8.5
      1/12/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      1/12/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/12/2019    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      1/12/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      1/12/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-5           126.48
      1/12/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-5             31.6
      1/12/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      1/12/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      1/12/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      1/12/2019    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      1/12/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      1/12/2019    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-5             46.5
      1/12/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.19
      1/12/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.89
      1/12/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.32
      1/12/2019    709   WH0087   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         52.51
      1/12/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    709   WH0087   Owner Operator   Permits                        ID06:2019 - Q1239                         11
      1/12/2019    709   WH0087   Owner Operator   Permits                        IL02:2019 - Q1239                       3.75
      1/12/2019    709   WH0087   Owner Operator   Permits                        NM07:2019 - Q1239                         10
      1/12/2019    709   WH0087   Owner Operator   Permits                        NY13:2019 - Q1239                        1.5
      1/12/2019    709   WH0087   Owner Operator   Permits                        OR16:2019 - Q1239                        8.5
      1/12/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      1/12/2019    709   WH0087   Owner Operator   T Chek Fee                     ExpressCheck Fee                        9.63
      1/12/2019    709   WH0087   Owner Operator   T Chek Fee                     Towing Q1239                           962.5
      1/12/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 222086 Q1238 Lease             311.97
      1/12/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      1/12/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      1/12/2019    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      1/12/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      1/12/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      1/12/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/12/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/12/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.12
      1/12/2019    742   AP0047   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         204.6
      1/12/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    742   AP0047   Owner Operator   Permits                        ID06:2019 - 32604                         11
      1/12/2019    742   AP0047   Owner Operator   Permits                        IL02:2019 - 32604                       3.75
      1/12/2019    742   AP0047   Owner Operator   Permits                        NM07:2019 - 32604                         10
      1/12/2019    742   AP0047   Owner Operator   Permits                        NY13:2019 - 32604                        1.5
      1/12/2019    742   AP0047   Owner Operator   Permits                        OR16:2019 - 32604                        8.5
      1/12/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      1/12/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      1/12/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      1/12/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      1/12/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      1/12/2019    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRK33471                      9.84
      1/12/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware 33471                          13
      1/12/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.71
      1/12/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.82
      1/12/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.25
      1/12/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.53
      1/12/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.18
      1/12/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.18

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      1/12/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      1/12/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      1/12/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 222083 Lease of Q13151         388.16
      1/12/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      1/12/2019    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      1/12/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      1/12/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      1/12/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      1/12/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.87
      1/12/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.29
      1/12/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.4
      1/12/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         605.53
      1/12/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          37.46
      1/12/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    742   CA0089   Owner Operator   Permits                        IL02:2019 - 33987                       3.75
      1/12/2019    742   CA0089   Owner Operator   Permits                        NM07:2019 - 33987                         10
      1/12/2019    742   CA0089   Owner Operator   Permits                        NY13:2019 - 33987                        1.5
      1/12/2019    742   CA0089   Owner Operator   Permits                        OR16:2019 - 33987                        8.5
      1/12/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      1/12/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      1/12/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      1/12/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      1/12/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.22
      1/12/2019    742   DA0067   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         50.25
      1/12/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    742   DA0067   Owner Operator   Permits                        ID06:2019 - 33847                         11
      1/12/2019    742   DA0067   Owner Operator   Permits                        IL02:2019 - 33847                       3.75
      1/12/2019    742   DA0067   Owner Operator   Permits                        NM07:2019 - 33847                         10
      1/12/2019    742   DA0067   Owner Operator   Permits                        NY13:2019 - 33847                        1.5
      1/12/2019    742   DA0067   Owner Operator   Permits                        OR16:2019 - 33847                        8.5
      1/12/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      1/12/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/12/2019    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      1/12/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      1/12/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      1/12/2019    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                          45.85
      1/12/2019    742   DC0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/12/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.37
      1/12/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          564.1
      1/12/2019    742   DC0117   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         54.79
      1/12/2019    742   DC0117   Owner Operator   Permits                        ID06:2019 - 34063                         11
      1/12/2019    742   DC0117   Owner Operator   Permits                        IL02:2019 - 34063                       3.75
      1/12/2019    742   DC0117   Owner Operator   Permits                        NM07:2019 - 34063                         10
      1/12/2019    742   DC0117   Owner Operator   Permits                        NY13:2019 - 34063                        1.5
      1/12/2019    742   DC0117   Owner Operator   Permits                        OR16:2019 - 34063                        8.5
      1/12/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      1/12/2019    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      1/12/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      1/12/2019    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/12/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/12/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/12/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.76
      1/12/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.82
      1/12/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.44
      1/12/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.69
      1/12/2019    742   DS0254   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         97.27
      1/12/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    742   DS0254   Owner Operator   Permits                        ID06:2019 - 33487                         11
      1/12/2019    742   DS0254   Owner Operator   Permits                        IL02:2019 - 33487                       3.75
      1/12/2019    742   DS0254   Owner Operator   Permits                        NM07:2019 - 33487                         10
      1/12/2019    742   DS0254   Owner Operator   Permits                        NY13:2019 - 33487                        1.5
      1/12/2019    742   DS0254   Owner Operator   Permits                        OR16:2019 - 33487                        8.5
      1/12/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      1/12/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      1/12/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 222122 Trk 33487 Lease          434.2
      1/12/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/12/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      1/12/2019    742   EA0039   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/12/2019    742   EA0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/12/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.72
      1/12/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.19

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      1/12/2019    742   EA0039   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         275.4
      1/12/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    742   EA0039   Owner Operator   Permits                        ID06:2019 - 33993                         11
      1/12/2019    742   EA0039   Owner Operator   Permits                        IL02:2019 - 33993                       3.75
      1/12/2019    742   EA0039   Owner Operator   Permits                        NM07:2019 - 33993                         10
      1/12/2019    742   EA0039   Owner Operator   Permits                        NY13:2019 - 33993                        1.5
      1/12/2019    742   EA0039   Owner Operator   Permits                        OR16:2019 - 33993                        8.5
      1/12/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      1/12/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/12/2019    742   ED0041   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         70.68
      1/12/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze TRK32947                      9.84
      1/12/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      1/12/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      1/12/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          373.1
      1/12/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.39
      1/12/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.69
      1/12/2019    742   EN0016   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        152.76
      1/12/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      1/12/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      1/12/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    742   EN0016   Owner Operator   Permits                        ID06:2019 - 32947                         11
      1/12/2019    742   EN0016   Owner Operator   Permits                        IL02:2019 - 32947                       3.75
      1/12/2019    742   EN0016   Owner Operator   Permits                        NM07:2019 - 32947                         10
      1/12/2019    742   EN0016   Owner Operator   Permits                        NY13:2019 - 32947                        1.5
      1/12/2019    742   EN0016   Owner Operator   Permits                        OR16:2019 - 32947                        8.5
      1/12/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      1/12/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      1/12/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/12/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/12/2019    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Spencer Mai          8.24
      1/12/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         400.61
      1/12/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      1/12/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      1/12/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      1/12/2019    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-5           452.45
      1/12/2019    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-19         -27.95
      1/12/2019    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-19         -83.85
      1/12/2019    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-19         -41.93
      1/12/2019    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-19         -41.93
      1/12/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      1/12/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      1/12/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      1/12/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      1/12/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/12/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    742   JH0148   Owner Operator   Permits                        ID06:2019 - 34329                         11
      1/12/2019    742   JH0148   Owner Operator   Permits                        IL02:2019 - 34329                       3.75
      1/12/2019    742   JH0148   Owner Operator   Permits                        NM07:2019 - 34329                         10
      1/12/2019    742   JH0148   Owner Operator   Permits                        NY13:2019 - 34329                        1.5
      1/12/2019    742   JH0148   Owner Operator   Permits                        OR16:2019 - 34329                        8.5
      1/12/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      1/12/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    742   JS0390   Owner Operator   Broker Pre Pass                DriveWyze TRK34327                      9.84
      1/12/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      1/12/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/12/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.67
      1/12/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.53
      1/12/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          558.1
      1/12/2019    742   JS0390   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         91.21
      1/12/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    742   JS0390   Owner Operator   Permits                        ID06:2019 - 34327                         11
      1/12/2019    742   JS0390   Owner Operator   Permits                        IL02:2019 - 34327                       3.75
      1/12/2019    742   JS0390   Owner Operator   Permits                        NM07:2019 - 34327                         10
      1/12/2019    742   JS0390   Owner Operator   Permits                        NY13:2019 - 34327                        1.5
      1/12/2019    742   JS0390   Owner Operator   Permits                        OR16:2019 - 34327                        8.5
      1/12/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      1/12/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Kilpatrick Turnpike           8.65
      1/12/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Kilpatrick Turnpike           4.45
      1/12/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Kilpatrick Turnpike           4.45
      1/12/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Turner Turnpike East         18.05

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      1/12/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Turner Turnpike West         18.05
      1/12/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Will Rogers Turnpike         18.05
      1/12/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Will Rogers Turnpike         18.05
      1/12/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      1/12/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      1/12/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-19         -13.33
      1/12/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-19         -13.33
      1/12/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-19         -53.32
      1/12/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-19         -39.99
      1/12/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-19        -119.97
      1/12/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    742   MS0230   Owner Operator   Permits                        ID06:2019 - 34082                         11
      1/12/2019    742   MS0230   Owner Operator   Permits                        IL02:2019 - 34082                       3.75
      1/12/2019    742   MS0230   Owner Operator   Permits                        NM07:2019 - 34082                         10
      1/12/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      1/12/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      1/12/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      1/12/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               25
      1/12/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      1/12/2019    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                      9.84
      1/12/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      1/12/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.43
      1/12/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.78
      1/12/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.41
      1/12/2019    742   NG0024   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         145.1
      1/12/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    742   NG0024   Owner Operator   Permits                        ID06:2019 - 33252                         11
      1/12/2019    742   NG0024   Owner Operator   Permits                        IL02:2019 - 33252                       3.75
      1/12/2019    742   NG0024   Owner Operator   Permits                        NM07:2019 - 33252                         10
      1/12/2019    742   NG0024   Owner Operator   Permits                        NY13:2019 - 33252                        1.5
      1/12/2019    742   NG0024   Owner Operator   Permits                        OR16:2019 - 33252                        8.5
      1/12/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      1/12/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/12/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/12/2019    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      1/12/2019    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/12/2019    742   OS0018   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        703.01
      1/12/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    742   OS0018   Owner Operator   Permits                        ID06:2019 - 34147                         11
      1/12/2019    742   OS0018   Owner Operator   Permits                        IL02:2019 - 34147                       3.75
      1/12/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      1/12/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      1/12/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      1/12/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      1/12/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/12/2019    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      1/12/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      1/12/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      1/12/2019    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/12/2019    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/12/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/12/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/12/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.94
      1/12/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.77
      1/12/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.89
      1/12/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.76
      1/12/2019    742   PC0012   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         59.53
      1/12/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      1/12/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      1/12/2019    742   PC0012   Owner Operator   Permits                        ID06:2019 - 32969                         11
      1/12/2019    742   PC0012   Owner Operator   Permits                        IL02:2019 - 32969                       3.75
      1/12/2019    742   PC0012   Owner Operator   Permits                        NM07:2019 - 32969                         10
      1/12/2019    742   PC0012   Owner Operator   Permits                        NY13:2019 - 32969                        1.5
      1/12/2019    742   PC0012   Owner Operator   Permits                        OR16:2019 - 32969                        8.5
      1/12/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      1/12/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      1/12/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      1/12/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         489.24
      1/12/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      1/12/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/12/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/12/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.48

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      1/12/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          181.19
      1/12/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          281.28
      1/12/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          118.56
      1/12/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.77
      1/12/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           288.7
      1/12/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/12/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                       53.13
      1/12/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       8.75
      1/12/2019    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                       9.84
      1/12/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13
      1/12/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13
      1/12/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13
      1/12/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          583.94
      1/12/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.49
      1/12/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                           179.9
      1/12/2019    742   RS0342   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         292.55
      1/12/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           37.46
      1/12/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/12/2019    742   RS0342   Owner Operator   Permits                        ID06:2019 - 33738                          11
      1/12/2019    742   RS0342   Owner Operator   Permits                        IL02:2019 - 33738                        3.75
      1/12/2019    742   RS0342   Owner Operator   Permits                        NM07:2019 - 33738                          10
      1/12/2019    742   RS0342   Owner Operator   Permits                        NY13:2019 - 33738                         1.5
      1/12/2019    742   RS0342   Owner Operator   Permits                        OR16:2019 - 33738                         8.5
      1/12/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                      143.21
      1/12/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                      143.21
      1/12/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism               2.5
      1/12/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism               2.5
      1/12/2019    742   RS0342   Owner Operator   Toll Charges                   33738 BATA Benicia                         26
      1/12/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      1/12/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
      1/12/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/12/2019    742   SK0049   Owner Operator   Permits                        IL02:2019 - 33934                        3.75
      1/12/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                        58.6
      1/12/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
      1/12/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL              8.75
      1/12/2019    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                       9.84
      1/12/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                            8
      1/12/2019    742   TC0098   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-19        -3919.89
      1/12/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                              50
      1/12/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/12/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      1/12/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                           65.03
      1/12/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.48
      1/12/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.66
      1/12/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          381.82
      1/12/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          479.61
      1/12/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          409.97
      1/12/2019    742   TC0098   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax          94.82
      1/12/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/12/2019    742   TC0098   Owner Operator   Permits                        ID06:2019 - 33489                          11
      1/12/2019    742   TC0098   Owner Operator   Permits                        IL02:2019 - 33489                        3.75
      1/12/2019    742   TC0098   Owner Operator   Permits                        NM07:2019 - 33489                          10
      1/12/2019    742   TC0098   Owner Operator   Permits                        NY13:2019 - 33489                         1.5
      1/12/2019    742   TC0098   Owner Operator   Permits                        OR16:2019 - 33489                         8.5
      1/12/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD              67.19
      1/12/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter            2.5
      1/12/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 222082 33489 Lease Paym         412.16
      1/12/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      1/12/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
      1/12/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
      1/12/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.16
      1/12/2019    742   TH0130   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax          49.08
      1/12/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/12/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           37.46
      1/12/2019    742   TH0130   Owner Operator   Permits                        ID06:2019 - 33991                          11
      1/12/2019    742   TH0130   Owner Operator   Permits                        IL02:2019 - 33991                        3.75
      1/12/2019    742   TH0130   Owner Operator   Permits                        NM07:2019 - 33991                          10
      1/12/2019    742   TH0130   Owner Operator   Permits                        NY13:2019 - 33991                         1.5
      1/12/2019    742   TH0130   Owner Operator   Permits                        OR16:2019 - 33991                         8.5
      1/12/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
      1/12/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
      1/12/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      1/12/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5

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      1/12/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      1/12/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      1/12/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      1/12/2019    843   EI0003   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        107.49
      1/12/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/12/2019    843   EI0003   Owner Operator   Permits                        IL02:2019 - 33949                       3.75
      1/12/2019    843   EI0003   Owner Operator   Permits                        NM07:2019 - 33949                         10
      1/12/2019    843   EI0003   Owner Operator   Permits                        NY13:2019 - 33949                        1.5
      1/12/2019    843   EI0003   Owner Operator   Permits                        OR16:2019 - 33949                        8.5
      1/12/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      1/12/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      1/19/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      1/19/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      1/19/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.35
      1/19/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      1/19/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      1/19/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      1/19/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      1/19/2019    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      1/19/2019    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      1/19/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      1/19/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.99
      1/19/2019    709   AR0064   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        582.41
      1/19/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.46
      1/19/2019    709   AR0064   Owner Operator   Permits                        ID06:2019 - Q13147                        11
      1/19/2019    709   AR0064   Owner Operator   Permits                        IL02:2019 - Q13147                      3.75
      1/19/2019    709   AR0064   Owner Operator   Permits                        NM07:2019 - Q13147                        10
      1/19/2019    709   AR0064   Owner Operator   Permits                        NY13:2019 - Q13147                       1.5
      1/19/2019    709   AR0064   Owner Operator   Permits                        OR16:2019 - Q13147                       8.5
      1/19/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      1/19/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      1/19/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      1/19/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      1/19/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      1/19/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      1/19/2019    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      1/19/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      1/19/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      1/19/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      1/19/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      1/19/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      1/19/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/19/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/19/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.94
      1/19/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.52
      1/19/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.97
      1/19/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.07
      1/19/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.28
      1/19/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
      1/19/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      1/19/2019    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00388177 - PO System          373.65
      1/19/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 222373 Q13168 sub lease        352.68
      1/19/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/19/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      1/19/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.87
      1/19/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.82
      1/19/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      1/19/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
      1/19/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      1/19/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/19/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      1/19/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      1/19/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      1/19/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.87
      1/19/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.47
      1/19/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.02
      1/19/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.03
      1/19/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64

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      1/19/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      1/19/2019    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      1/19/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 222234 TRUCK RENTAL              500
      1/19/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      1/19/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      1/19/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.81
      1/19/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      1/19/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 222373 Q1201                   278.76
      1/19/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/19/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      1/19/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.01
      1/19/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.48
      1/19/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.37
      1/19/2019    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00013 - Loan Repayment         376.27
      1/19/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      1/19/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      1/19/2019    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      1/19/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      1/19/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      1/19/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/19/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/19/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.02
      1/19/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.41
      1/19/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.99
      1/19/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.46
      1/19/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.71
      1/19/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      1/19/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          40.16
      1/19/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      1/19/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 222124 Sublease                338.99
      1/19/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 222436 Sublease                338.99
      1/19/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      1/19/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/19/2019    709   DM0257   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/19/2019    709   DM0257   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/19/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.65
      1/19/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.34
      1/19/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.93
      1/19/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.39
      1/19/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2018 - 34328                       100
      1/19/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      1/19/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      1/19/2019    709   DM0257   Owner Operator   Repair Order                   CTMS - 222282 REPAIRS                  340.9
      1/19/2019    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      1/19/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/19/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      1/19/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/19/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/19/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         566.05
      1/19/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.62
      1/19/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      1/19/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      1/19/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      1/19/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      1/19/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      1/19/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26             -6
      1/19/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26          -6.52
      1/19/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26          -6.52
      1/19/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26          -9.44
      1/19/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.61
      1/19/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.49
      1/19/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      1/19/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      1/19/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      1/19/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/19/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50

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      1/19/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      1/19/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      1/19/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      1/19/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.29
      1/19/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.64
      1/19/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.63
      1/19/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.59
      1/19/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2018 - 34266                       100
      1/19/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      1/19/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/19/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      1/19/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/19/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/19/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/19/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/19/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/19/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.38
      1/19/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.02
      1/19/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.02
      1/19/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      1/19/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      1/19/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      1/19/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      1/19/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      1/19/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.71
      1/19/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.67
      1/19/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      1/19/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      1/19/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      1/19/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      1/19/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.8
      1/19/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           321
      1/19/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.63
      1/19/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.23
      1/19/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      1/19/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      1/19/2019    709   EO0014   Owner Operator   Tire Fee                       Tire Fee: 2225024                          4
      1/19/2019    709   EO0014   Owner Operator   Tire Purchase                  PO: 709-00389361 - PO System          159.31
      1/19/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      1/19/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      1/19/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.42
      1/19/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.1
      1/19/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.7
      1/19/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.87
      1/19/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 334.44
      1/19/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      1/19/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      1/19/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 222495 truck lease 3304        434.29
      1/19/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/19/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      1/19/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.63
      1/19/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.36
      1/19/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      1/19/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/19/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      1/19/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26          -9.22
      1/19/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26          -9.44
      1/19/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/19/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.79
      1/19/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.01
      1/19/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      1/19/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      1/19/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      1/19/2019    709   GA0051   Owner Operator   Truck Payment                  CTMS - 222283 TRUCK RENTAL              500
      1/19/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      1/19/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13

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      1/19/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.44
      1/19/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/19/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      1/19/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 222371 Lease                   252.11
      1/19/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             8.75
      1/19/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                           8
      1/19/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.07
      1/19/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.85
      1/19/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/19/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      1/19/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 222367 Q13170                  352.68
      1/19/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      1/19/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                           13
      1/19/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             100
      1/19/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      1/19/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.21
      1/19/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.01
      1/19/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/19/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      1/19/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      1/19/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                            8
      1/19/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            100
      1/19/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.34
      1/19/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.07
      1/19/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.31
      1/19/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/19/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      1/19/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      1/19/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      1/19/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                            8
      1/19/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26           -6.26
      1/19/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.99
      1/19/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.31
      1/19/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/19/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      1/19/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      1/19/2019    709   IR0002   Owner Operator   Repair Order                   CTMS - 222354 PARTS                   -17.23
      1/19/2019    709   IR0002   Owner Operator   Repair Order                   CTMS - 222354 REPAIRS                 477.41
      1/19/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      1/19/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/19/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      1/19/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      1/19/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
      1/19/2019    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                    12.5
      1/19/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          13
      1/19/2019    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                      -3000
      1/19/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      1/19/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
      1/19/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/19/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      1/19/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      1/19/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.36
      1/19/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.37
      1/19/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/19/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      1/19/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 222433 Q13197 Lease            276.63
      1/19/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      1/19/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                            8
      1/19/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                              50
      1/19/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/19/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      1/19/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism               2.5
      1/19/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      1/19/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                           13
      1/19/2019    709   JG0017   Owner Operator   ESCROW                         Weekly Escrow                            500
      1/19/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      1/19/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      1/19/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.76
      1/19/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      1/19/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         251.27
      1/19/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/19/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      1/19/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6

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      1/19/2019    709   JG0017   Owner Operator   Truck Payment                  CTMS - 222288 TRUCK RENTAL             500
      1/19/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/19/2019    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                     9.84
      1/19/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      1/19/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      1/19/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      1/19/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      1/19/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        218.78
      1/19/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.95
      1/19/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        466.42
      1/19/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.11
      1/19/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                     33.64
      1/19/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                     33.64
      1/19/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/19/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      1/19/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        127.39
      1/19/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      1/19/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      1/19/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      1/19/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/19/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/19/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        340.86
      1/19/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        412.78
      1/19/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        337.43
      1/19/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/19/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
      1/19/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      1/19/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      1/19/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-12           16.5
      1/19/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26            -6
      1/19/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26         -6.26
      1/19/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26         -6.26
      1/19/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26        -17.36
      1/19/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26         -6.26
      1/19/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26        -15.88
      1/19/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26         -9.44
      1/19/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.4
      1/19/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/19/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      1/19/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      1/19/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      1/19/2019    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26       -606.02
      1/19/2019    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26        -187.2
      1/19/2019    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26       -765.02
      1/19/2019    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26        -255.6
      1/19/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/19/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      1/19/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 222323 Truck Lease            278.76
      1/19/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      1/19/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      1/19/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75
      1/19/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      1/19/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                         8
      1/19/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      1/19/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.6
      1/19/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        208.48
      1/19/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        355.95
      1/19/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.64
      1/19/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          2.51
      1/19/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/19/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   15.94
      1/19/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      1/19/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD           40.24
      1/19/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 222371 Q13159 Lease            331.5
      1/19/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/19/2019    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
      1/19/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      1/19/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      1/19/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/19/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/19/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/19/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/19/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          293

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      1/19/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.08
      1/19/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.54
      1/19/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      1/19/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         305.62
      1/19/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      1/19/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/19/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      1/19/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      1/19/2019    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      1/19/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      1/19/2019    709   KT0055   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26        -198.94
      1/19/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/19/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                           57.9
      1/19/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.82
      1/19/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.85
      1/19/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.61
      1/19/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.36
      1/19/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      1/19/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 222369 Q13156 Lease            388.16
      1/19/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      1/19/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      1/19/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      1/19/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 222495 Lease Q1111             252.11
      1/19/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      1/19/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      1/19/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.33
      1/19/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      1/19/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      1/19/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      1/19/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/19/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.18
      1/19/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.41
      1/19/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      1/19/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      1/19/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      1/19/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.15
      1/19/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.44
      1/19/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.18
      1/19/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      1/19/2019    709   ME0053   Owner Operator   Repair Order                   CTMS - 222354 REPAIRS                 575.87
      1/19/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 222374 Q1113 Lease             252.11
      1/19/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/19/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      1/19/2019    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26          -25.5
      1/19/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.32
      1/19/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      1/19/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/19/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/19/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      1/19/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      1/19/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            260
      1/19/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.6
      1/19/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.86
      1/19/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      1/19/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      1/19/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/19/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/19/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/19/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      1/19/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      1/19/2019    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      1/19/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      1/19/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      1/19/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      1/19/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         234.71
      1/19/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500

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      1/19/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.16
      1/19/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.33
      1/19/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.44
      1/19/2019    709   NB0029   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        329.28
      1/19/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      1/19/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      1/19/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   NB0029   Owner Operator   Permits                        ID06:2019 - 32986                         11
      1/19/2019    709   NB0029   Owner Operator   Permits                        IL02:2019 - 32986                       3.75
      1/19/2019    709   NB0029   Owner Operator   Permits                        NM07:2019 - 32986                         10
      1/19/2019    709   NB0029   Owner Operator   Permits                        NY13:2019 - 32986                        1.5
      1/19/2019    709   NB0029   Owner Operator   Permits                        OR16:2019 - 32986                        8.5
      1/19/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      1/19/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      1/19/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/19/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/19/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      1/19/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      1/19/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      1/19/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      1/19/2019    709   NB0029   Owner Operator   Repair Order                   CTMS - 222354 REPAIRS                 408.11
      1/19/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 222083 32986 Lease             314.03
      1/19/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 222370 32986 Lease             314.03
      1/19/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      1/19/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      1/19/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            240
      1/19/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.4
      1/19/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.98
      1/19/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.22
      1/19/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      1/19/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      1/19/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      1/19/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      1/19/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 222547 Truck 73130 Leas        196.65
      1/19/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/19/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      1/19/2019    709   OJ0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26          -25.5
      1/19/2019    709   OJ0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26          -9.44
      1/19/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/19/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.69
      1/19/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.56
      1/19/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.79
      1/19/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.91
      1/19/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          149.7
      1/19/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.44
      1/19/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.03
      1/19/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.96
      1/19/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34370                       100
      1/19/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      1/19/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 222371 REPAIRS                   250
      1/19/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      1/19/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      1/19/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      1/19/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      1/19/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          473.3
      1/19/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         608.46
      1/19/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      1/19/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      1/19/2019    709   RC0030   Owner Operator   T Chek Fee                     Tractor Repair 33676                 1749.04
      1/19/2019    709   RC0030   Owner Operator   Truck Payment                  CTMS - 222288 TRUCK RENTAL              500
      1/19/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/19/2019    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      1/19/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      1/19/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/19/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.17
      1/19/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         640.64
      1/19/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      1/19/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      1/19/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      1/19/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/19/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      1/19/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/19/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      1/19/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/19/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/19/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/19/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/19/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          480.6
      1/19/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.58
      1/19/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.53
      1/19/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.18
      1/19/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.59
      1/19/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      1/19/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      1/19/2019    709   RL0062   Owner Operator   Repair Order                   CTMS - 222354 REPAIRS                  151.8
      1/19/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      1/19/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      1/19/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      1/19/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/19/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           455
      1/19/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.14
      1/19/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      1/19/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      1/19/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      1/19/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      1/19/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      1/19/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      1/19/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      1/19/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.58
      1/19/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.48
      1/19/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      1/19/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      1/19/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      1/19/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.72
      1/19/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      1/19/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 222323 Q1202 Truck Leas        278.76
      1/19/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      1/19/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      1/19/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/19/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/19/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/19/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/19/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.39
      1/19/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         619.95
      1/19/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      1/19/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      1/19/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      1/19/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 222373 Q1248                   311.97
      1/19/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      1/19/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      1/19/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/19/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/19/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/19/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.98
      1/19/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.95
      1/19/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.25
      1/19/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      1/19/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      1/19/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      1/19/2019    709   SB0009   Owner Operator   Repair Order                   CTMS - 222009 REPAIRS                 296.45
      1/19/2019    709   SB0009   Owner Operator   Repair Order                   CTMS - 222234 REPAIRS                 296.45
      1/19/2019    709   SB0009   Owner Operator   Repair Order                   CTMS - 222546 REPAIRS                 296.45
      1/19/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      1/19/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      1/19/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8

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      1/19/2019    709   SB0103   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26        -327.32
      1/19/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.41
      1/19/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.99
      1/19/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.87
      1/19/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      1/19/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      1/19/2019    709   SB0103   Owner Operator   Repair Order                   CTMS - 222435 REPAIR                  267.77
      1/19/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 222320 Sub Lease               388.33
      1/19/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      1/19/2019    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      1/19/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      1/19/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/19/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.35
      1/19/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           424
      1/19/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.24
      1/19/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           284
      1/19/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      1/19/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      1/19/2019    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00387949 - PO System          195.61
      1/19/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      1/19/2019    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      1/19/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/19/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/19/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/19/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/19/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/19/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/19/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.03
      1/19/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.13
      1/19/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.79
      1/19/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.11
      1/19/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.36
      1/19/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      1/19/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      1/19/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      1/19/2019    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/19/2019    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/19/2019    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/19/2019    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/19/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          346.3
      1/19/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.45
      1/19/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      1/19/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      1/19/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/19/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      1/19/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/19/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/19/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/19/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/19/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/19/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.54
      1/19/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.81
      1/19/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.02
      1/19/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.03
      1/19/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.14
      1/19/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.08
      1/19/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.74
      1/19/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      1/19/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      1/19/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/19/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      1/19/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26          -23.1
      1/19/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      1/19/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      1/19/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      1/19/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      1/19/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.5

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      1/19/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.22
      1/19/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.08
      1/19/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.83
      1/19/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.96
      1/19/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.06
      1/19/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      1/19/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 222373 Q1238 Lease             311.97
      1/19/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      1/19/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      1/19/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/19/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/19/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/19/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/19/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/19/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/19/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.48
      1/19/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.64
      1/19/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.79
      1/19/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.96
      1/19/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      1/19/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      1/19/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      1/19/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.51
      1/19/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.89
      1/19/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.04
      1/19/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           298
      1/19/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.97
      1/19/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      1/19/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      1/19/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 222370 Lease of Q13151         388.16
      1/19/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      1/19/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      1/19/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.75
      1/19/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.74
      1/19/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      1/19/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/19/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      1/19/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.01
      1/19/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.55
      1/19/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.39
      1/19/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          138.9
      1/19/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.87
      1/19/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      1/19/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/19/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      1/19/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.46
      1/19/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.04
      1/19/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.83
      1/19/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      1/19/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      1/19/2019    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/19/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.75
      1/19/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.77
      1/19/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.58
      1/19/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      1/19/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      1/19/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 222433 Trk 33487 Lease          434.2
      1/19/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/19/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      1/19/2019    742   EA0039   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26        -970.06
      1/19/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          315.4
      1/19/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.15
      1/19/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.38
      1/19/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      1/19/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/19/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      1/19/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                           13
      1/19/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          544.32
      1/19/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          115.28
      1/19/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          112.82
      1/19/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                           85.68
      1/19/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.01
      1/19/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                       33.64
      1/19/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/19/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    70.89
      1/19/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      1/19/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                           419.4
      1/19/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                8.75
      1/19/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                          13
      1/19/2019    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-12            27.95
      1/19/2019    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-12            83.85
      1/19/2019    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-12            41.93
      1/19/2019    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-12            41.93
      1/19/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD                54.69
      1/19/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro            2.5
      1/19/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                   8.75
      1/19/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                           13
      1/19/2019    742   JH0148   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26           -25.5
      1/19/2019    742   JH0148   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26           -25.5
      1/19/2019    742   JH0148   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26           -25.5
      1/19/2019    742   JH0148   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26           -25.5
      1/19/2019    742   JH0148   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26           -25.5
      1/19/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                              50
      1/19/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                          791.11
      1/19/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/19/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                   23.44
      1/19/2019    742   MH0117   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26        -2897.16
      1/19/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                   8.75
      1/19/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                           13
      1/19/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-12            13.33
      1/19/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-12            13.33
      1/19/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-12            53.32
      1/19/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-12            39.99
      1/19/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-12           119.97
      1/19/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          104.02
      1/19/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.17
      1/19/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/19/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                   27.35
      1/19/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris            2.5
      1/19/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75
      1/19/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                           13
      1/19/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/19/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      1/19/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          290.43
      1/19/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          386.16
      1/19/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.74
      1/19/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/19/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             100.79
      1/19/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            2.5
      1/19/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      1/19/2019    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                           13
      1/19/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26           -25.5
      1/19/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26         -444.49
      1/19/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26           -25.5
      1/19/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26           -25.5
      1/19/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26           -25.5
      1/19/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26           -25.5
      1/19/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26           -25.5
      1/19/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26           -25.5
      1/19/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26           -25.5
      1/19/2019    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                              50
      1/19/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      1/19/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    31.25
      1/19/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism            2.5
      1/19/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.56
      1/19/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      1/19/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      1/19/2019    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            250
      1/19/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             200

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      1/19/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/19/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.55
      1/19/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.03
      1/19/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.84
      1/19/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.01
      1/19/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.15
      1/19/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      1/19/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      1/19/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      1/19/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      1/19/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      1/19/2019    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      1/19/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      1/19/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      1/19/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      1/19/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/19/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/19/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/19/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/19/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/19/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/19/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/19/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/19/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/19/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/19/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/19/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           73.1
      1/19/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.16
      1/19/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.22
      1/19/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.24
      1/19/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.23
      1/19/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          123.2
      1/19/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.17
      1/19/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          82.43
      1/19/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.34
      1/19/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.54
      1/19/2019    742   RF0136   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         52.61
      1/19/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    742   RF0136   Owner Operator   Permits                        ID06:2019 - 34182                         11
      1/19/2019    742   RF0136   Owner Operator   Permits                        IL02:2019 - 34182                       3.75
      1/19/2019    742   RF0136   Owner Operator   Permits                        NM07:2019 - 34182                         10
      1/19/2019    742   RF0136   Owner Operator   Permits                        NY13:2019 - 34182                        1.5
      1/19/2019    742   RF0136   Owner Operator   Permits                        OR16:2019 - 34182                        8.5
      1/19/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      1/19/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      1/19/2019    742   RF0136   Owner Operator   Repair Order                   CTMS - 222262 Frazier 34182            46.74
      1/19/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      1/19/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      1/19/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      1/19/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      1/19/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      1/19/2019    742   TC0098   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-12         3919.89
      1/19/2019    742   TC0098   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26        -970.06
      1/19/2019    742   TC0098   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 1-26        -932.75
      1/19/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.2
      1/19/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.87
      1/19/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.02
      1/19/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      1/19/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      1/19/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/19/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      1/19/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.05
      1/19/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/19/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      1/19/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/19/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      1/19/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      1/19/2019    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      1/19/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      1/19/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      1/19/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      1/19/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      1/26/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      1/26/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      1/26/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      1/26/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      1/26/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      1/26/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      1/26/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           270
      1/26/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.01
      1/26/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.6
      1/26/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.63
      1/26/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.33
      1/26/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           189
      1/26/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      1/26/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 222761 Q13147 Lease            440.14
      1/26/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      1/26/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      1/26/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      1/26/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      1/26/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/26/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/26/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.34
      1/26/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      1/26/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.08
      1/26/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.6
      1/26/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.33
      1/26/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 108.45
      1/26/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      1/26/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      1/26/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 222496 Q13169 Sublease         352.68
      1/26/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 222775 Q13169 Sublease         352.68
      1/26/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      1/26/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      1/26/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      1/26/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      1/26/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      1/26/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      1/26/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/26/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/26/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/26/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/26/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.52
      1/26/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.29
      1/26/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.89
      1/26/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.51
      1/26/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
      1/26/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      1/26/2019    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00388177 - PO System          373.65
      1/26/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 222670 Q13168 sub lease        352.68
      1/26/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/26/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      1/26/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      1/26/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
      1/26/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      1/26/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/26/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      1/26/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      1/26/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      1/26/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.28
      1/26/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.36
      1/26/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.45
      1/26/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.31
      1/26/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          132.9
      1/26/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      1/26/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04

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      1/26/2019    709   CR0064   Owner Operator   Tire Fee                       Tire Fee: 2225651                          4
      1/26/2019    709   CR0064   Owner Operator   Tire Purchase                  PO: 709-00388976 - PO System          102.52
      1/26/2019    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      1/26/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      1/26/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      1/26/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.49
      1/26/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      1/26/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 222669 Q1201                   278.76
      1/26/2019    709   DL0029   Owner Operator   Accident Claim                 01/24/19 DL0029 Accident                2000
      1/26/2019    709   DL0029   Owner Operator   Advance                        1/24/19 Clm 72492-2 s/u pmts             250
      1/26/2019    709   DL0029   Owner Operator   Advance                        1/24/19 Clm 72492-2 s/u pmts           -2000
      1/26/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/26/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      1/26/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.01
      1/26/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.83
      1/26/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.82
      1/26/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.6
      1/26/2019    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00013 - Loan Repayment         376.27
      1/26/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      1/26/2019    709   DL0029   Owner Operator   Repair Order                   TRACTOR 33850                            130
      1/26/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      1/26/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      1/26/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      1/26/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/26/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.98
      1/26/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.94
      1/26/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.67
      1/26/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         601.22
      1/26/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      1/26/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      1/26/2019    709   DL0107   Owner Operator   Repair Order                   TRACTOR Q1245                        -958.85
      1/26/2019    709   DL0107   Owner Operator   Tire Fee                       Tire Fee: 2226186                          4
      1/26/2019    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00390840 - PO System           95.27
      1/26/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 222720 Sublease                338.99
      1/26/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      1/26/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/26/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.08
      1/26/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.67
      1/26/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.98
      1/26/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.44
      1/26/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2018 - 34328                        100
      1/26/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      1/26/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      1/26/2019    709   DM0257   Owner Operator   Tire Fee                       Tire Fee: 2226770                          8
      1/26/2019    709   DM0257   Owner Operator   Tire Purchase                  PO: 709-00391380 - PO System          180.03
      1/26/2019    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      1/26/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/26/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      1/26/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      1/26/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/26/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.27
      1/26/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         608.79
      1/26/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      1/26/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      1/26/2019    709   DS0049   Owner Operator   Toll Charges                   TL9210/32915 Bay Bridge 17                26
      1/26/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      1/26/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      1/26/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      1/26/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19               6
      1/26/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            6.52
      1/26/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            6.52
      1/26/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            9.44
      1/26/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          632.4
      1/26/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      1/26/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      1/26/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      1/26/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50

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      1/26/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      1/26/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      1/26/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      1/26/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      1/26/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      1/26/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      1/26/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      1/26/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      1/26/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.58
      1/26/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.68
      1/26/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.88
      1/26/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.6
      1/26/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.44
      1/26/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2018 - 34266                       100
      1/26/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.18
      1/26/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/26/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      1/26/2019    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2         -923.08
      1/26/2019    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2         -333.12
      1/26/2019    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2         -348.03
      1/26/2019    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2         -168.72
      1/26/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/26/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/26/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/26/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/26/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/26/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.69
      1/26/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.36
      1/26/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      1/26/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      1/26/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      1/26/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      1/26/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      1/26/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.7
      1/26/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.32
      1/26/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.78
      1/26/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      1/26/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      1/26/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      1/26/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      1/26/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.31
      1/26/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.99
      1/26/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           347
      1/26/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           383
      1/26/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      1/26/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      1/26/2019    709   EO0014   Owner Operator   Tire Purchase                  PO: 709-00389361 - PO System          159.31
      1/26/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      1/26/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      1/26/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/26/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/26/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/26/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/26/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.71
      1/26/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.18
      1/26/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.66
      1/26/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.65
      1/26/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 984.39
      1/26/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      1/26/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      1/26/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 222774 truck lease 3304        434.29
      1/26/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/26/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      1/26/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      1/26/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/26/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      1/26/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            9.22

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      1/26/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            9.44
      1/26/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/26/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          138.3
      1/26/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.72
      1/26/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.88
      1/26/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.77
      1/26/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      1/26/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      1/26/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      1/26/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      1/26/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      1/26/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.88
      1/26/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      1/26/2019    709   GW0043   Owner Operator   Advance                        11/12/18 Clm 71632-1 s/u 5 wks        358.52
      1/26/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      1/26/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             6.12
      1/26/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      1/26/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 221681 Q1109 Lease             302.85
      1/26/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      1/26/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      1/26/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.19
      1/26/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.58
      1/26/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      1/26/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 222664 Q13170                  352.68
      1/26/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      1/26/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      1/26/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      1/26/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      1/26/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/26/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/26/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/26/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/26/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         685.39
      1/26/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.87
      1/26/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      1/26/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      1/26/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      1/26/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      1/26/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.86
      1/26/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      1/26/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/26/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      1/26/2019    709   IA0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2             -62
      1/26/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/26/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.91
      1/26/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         625.97
      1/26/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      1/26/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      1/26/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/26/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      1/26/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            6.26
      1/26/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.66
      1/26/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      1/26/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/26/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/26/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      1/26/2019    709   JA0156   Owner Operator   Communication Charge           Pnet Device Not Returned              183.21
      1/26/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      1/26/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      1/26/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      1/26/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400

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      1/26/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/26/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/26/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        252.19
      1/26/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/26/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.18
      1/26/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 Antioch Bridge 2                  26
      1/26/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 Carquinez Bridge 11               26
      1/26/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 222717 Q13197 Lease           276.63
      1/26/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      1/26/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      1/26/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
      1/26/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/26/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      1/26/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      1/26/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/26/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      1/26/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/26/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      1/26/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.9
      1/26/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.9
      1/26/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                     33.64
      1/26/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        251.27
      1/26/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/26/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.85
      1/26/2019    709   JG0017   Owner Operator   Toll Charges                   32908 San Mateo 5                        26
      1/26/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      1/26/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/26/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      1/26/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      1/26/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      1/26/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.23
      1/26/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        514.41
      1/26/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        603.66
      1/26/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                     33.64
      1/26/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/26/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      1/26/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      1/26/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      1/26/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      1/26/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        468.01
      1/26/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/26/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.15
      1/26/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      1/26/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      1/26/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19           9.44
      1/26/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19              6
      1/26/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19           6.26
      1/26/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19           6.26
      1/26/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19          17.36
      1/26/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19           6.26
      1/26/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19          15.88
      1/26/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/26/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51
      1/26/2019    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19         606.02
      1/26/2019    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19          187.2
      1/26/2019    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19         765.02
      1/26/2019    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19         206.84
      1/26/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                   8.75
      1/26/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      1/26/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75
      1/26/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                         13
      1/26/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                         8
      1/26/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      1/26/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/26/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/26/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/26/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/26/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        441.01
      1/26/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.87
      1/26/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.68
      1/26/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          7.73
      1/26/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.05
      1/26/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        355.91

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      1/26/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.31
      1/26/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      1/26/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      1/26/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      1/26/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.22
      1/26/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 222667 Q13159 Lease             331.5
      1/26/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/26/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      1/26/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/26/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.38
      1/26/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.03
      1/26/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             32
      1/26/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.3
      1/26/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      1/26/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      1/26/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/26/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      1/26/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      1/26/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      1/26/2019    709   KT0055   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19          198.94
      1/26/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/26/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.48
      1/26/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.16
      1/26/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.74
      1/26/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.92
      1/26/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.86
      1/26/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      1/26/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 222666 Q13156 Lease            388.16
      1/26/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      1/26/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      1/26/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      1/26/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 222774 Lease Q1111             252.11
      1/26/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      1/26/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      1/26/2019    709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2         -235.12
      1/26/2019    709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2          -24.48
      1/26/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/26/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/26/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.96
      1/26/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.11
      1/26/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.01
      1/26/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      1/26/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      1/26/2019    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2          -118.5
      1/26/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/26/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.76
      1/26/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.42
      1/26/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      1/26/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      1/26/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      1/26/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.81
      1/26/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.04
      1/26/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.24
      1/26/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      1/26/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 222670 Q1113 Lease             252.11
      1/26/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/26/2019    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      1/26/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/26/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/26/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      1/26/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700

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      1/26/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              60
      1/26/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      1/26/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.81
      1/26/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.65
      1/26/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      1/26/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      1/26/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/26/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/26/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      1/26/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                        2.88
      1/26/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.55
      1/26/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      1/26/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      1/26/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/26/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      1/26/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      1/26/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      1/26/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      1/26/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            400
      1/26/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      1/26/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.49
      1/26/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.58
      1/26/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          83.38
      1/26/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.07
      1/26/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      1/26/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      1/26/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      1/26/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      1/26/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 222820 Truck 73130 Leas        196.65
      1/26/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/26/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      1/26/2019    709   OJ0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    709   OJ0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            9.44
      1/26/2019    709   OJ0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2         -122.26
      1/26/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/26/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.16
      1/26/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.21
      1/26/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.88
      1/26/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.21
      1/26/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.42
      1/26/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34370                      97.86
      1/26/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
      1/26/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 222667 REPAIRS                   250
      1/26/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      1/26/2019    709   RC0030   Owner Operator   Accident Claim                 01/16/19 RC0030 Accident             1156.53
      1/26/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      1/26/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      1/26/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         541.98
      1/26/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.96
      1/26/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.73
      1/26/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.75
      1/26/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      1/26/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      1/26/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/26/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      1/26/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/26/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         619.36
      1/26/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      1/26/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      1/26/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/26/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      1/26/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/26/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      1/26/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/26/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      1/26/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.99
      1/26/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.66
      1/26/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.48
      1/26/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.49
      1/26/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      1/26/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      1/26/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      1/26/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      1/26/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      1/26/2019    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2             -93
      1/26/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/26/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.47
      1/26/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.24
      1/26/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      1/26/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      1/26/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      1/26/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      1/26/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      1/26/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      1/26/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      1/26/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.34
      1/26/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.24
      1/26/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      1/26/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      1/26/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      1/26/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.89
      1/26/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.3
      1/26/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      1/26/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 222614 Q1202 Truck Leas        278.76
      1/26/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      1/26/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      1/26/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         579.07
      1/26/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.31
      1/26/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.74
      1/26/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.44
      1/26/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.17
      1/26/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      1/26/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      1/26/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      1/26/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 222669 Q1248                   311.97
      1/26/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      1/26/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      1/26/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/26/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.35
      1/26/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.75
      1/26/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.49
      1/26/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      1/26/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      1/26/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      1/26/2019    709   SB0009   Owner Operator   Repair Order                   CTMS - 222819 REPAIRS                 296.45
      1/26/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      1/26/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      1/26/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      1/26/2019    709   SB0103   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19          327.32
      1/26/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.04
      1/26/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.91
      1/26/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      1/26/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      1/26/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 222611 Sub Lease               388.33
      1/26/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      1/26/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13

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      1/26/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/26/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.71
      1/26/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           445
      1/26/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.58
      1/26/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      1/26/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      1/26/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      1/26/2019    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      1/26/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/26/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/26/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.6
      1/26/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.06
      1/26/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.24
      1/26/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.31
      1/26/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.69
      1/26/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      1/26/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      1/26/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      1/26/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           540
      1/26/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           275
      1/26/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.03
      1/26/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      1/26/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      1/26/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/26/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      1/26/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/26/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/26/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/26/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.91
      1/26/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.55
      1/26/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.4
      1/26/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.1
      1/26/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.79
      1/26/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      1/26/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      1/26/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 VDOT ERT: Downtown Tunne          5.36
      1/26/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 VDOT ERT: Downtown Tunne           8.8
      1/26/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/26/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      1/26/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            23.1
      1/26/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      1/26/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      1/26/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      1/26/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      1/26/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/26/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/26/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.84
      1/26/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.51
      1/26/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.64
      1/26/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           433
      1/26/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      1/26/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 222669 Q1238 Lease             311.97
      1/26/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      1/26/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      1/26/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      1/26/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.89
      1/26/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          87.93
      1/26/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.33
      1/26/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      1/26/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      1/26/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      1/26/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.39
      1/26/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.69
      1/26/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.14
      1/26/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.4
      1/26/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
      1/26/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      1/26/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 222666 Lease of Q13151         388.16
      1/26/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      1/26/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      1/26/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.24
      1/26/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.32
      1/26/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      1/26/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/26/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      1/26/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.46
      1/26/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.65
      1/26/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      1/26/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.01
      1/26/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      1/26/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/26/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      1/26/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      1/26/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.97
      1/26/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.56
      1/26/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.52
      1/26/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      1/26/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      1/26/2019    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/26/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.26
      1/26/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      1/26/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      1/26/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 1                    26
      1/26/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 12                 26
      1/26/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 4                  16
      1/26/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 222717 Trk 33487 Lease          434.2
      1/26/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/26/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      1/26/2019    742   EA0039   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19          970.06
      1/26/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          522.4
      1/26/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.88
      1/26/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      1/26/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/26/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/26/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      1/26/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/26/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/26/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.42
      1/26/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.93
      1/26/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.94
      1/26/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.62
      1/26/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      1/26/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      1/26/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/26/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      1/26/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75

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      1/26/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      1/26/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      1/26/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      1/26/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      1/26/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      1/26/2019    742   JH0148   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    742   JH0148   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    742   JH0148   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    742   JH0148   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    742   JH0148   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/26/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           702
      1/26/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      1/26/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/26/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/26/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      1/26/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      1/26/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/26/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/26/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.29
      1/26/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.12
      1/26/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.25
      1/26/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.24
      1/26/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      1/26/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.18
      1/26/2019    742   JS0390   Owner Operator   Toll Charges                   34327 BATA Carquinez Bridge               26
      1/26/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Will Rogers Turnpike         18.05
      1/26/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/26/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/26/2019    742   MH0117   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19         2490.78
      1/26/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          30.38
      1/26/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   MH0117   Owner Operator   Permits                        ID06:2019 - 33296                         11
      1/26/2019    742   MH0117   Owner Operator   Permits                        NM07:2019 - 33296                         10
      1/26/2019    742   MH0117   Owner Operator   Permits                        NY13:2019 - 33296                        1.5
      1/26/2019    742   MH0117   Owner Operator   Permits                        OR16:2019 - 33296                        8.5
      1/26/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      1/26/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      1/26/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      1/26/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/26/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/26/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/26/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      1/26/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      1/26/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2         -253.27
      1/26/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2          -26.66
      1/26/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2          -13.33
      1/26/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.95
      1/26/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.24
      1/26/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.01
      1/26/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      1/26/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      1/26/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      1/26/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      1/26/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/26/2019    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      1/26/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19          444.49
      1/26/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19            25.5
      1/26/2019    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/26/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25

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      1/26/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      1/26/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/26/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.39
      1/26/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           307
      1/26/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.34
      1/26/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      1/26/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         411.56
      1/26/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      1/26/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      1/26/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/26/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/26/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/26/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.07
      1/26/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.69
      1/26/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.71
      1/26/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.51
      1/26/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.61
      1/26/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.7
      1/26/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.08
      1/26/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.87
      1/26/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      1/26/2019    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                           3
      1/26/2019    742   RF0136   Owner Operator   T Chek Fee                     Tractor Repair 34182                  300.05
      1/26/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Antioch Bridge 1                    26
      1/26/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/26/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/26/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/26/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/26/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/26/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/26/2019    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13157                     9.84
      1/26/2019    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13157                     9.84
      1/26/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/26/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/26/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/26/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/26/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/26/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/26/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/26/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.42
      1/26/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.35
      1/26/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.44
      1/26/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.52
      1/26/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.83
      1/26/2019    742   RN0054   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax        110.14
      1/26/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   RN0054   Owner Operator   Permits                        ID06:2019 - Q13157                        11
      1/26/2019    742   RN0054   Owner Operator   Permits                        IL02:2019 - Q13157                      3.75
      1/26/2019    742   RN0054   Owner Operator   Permits                        NM07:2019 - Q13157                        10
      1/26/2019    742   RN0054   Owner Operator   Permits                        NY13:2019 - Q13157                       1.5
      1/26/2019    742   RN0054   Owner Operator   Permits                        OR16:2019 - Q13157                       8.5
      1/26/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      1/26/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      1/26/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      1/26/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      1/26/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      1/26/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      1/26/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/26/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/26/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/26/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/26/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/26/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/26/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 221122 Tractor Lease           353.28
      1/26/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 221433 Tractor Lease           353.28

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      1/26/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      1/26/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      1/26/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      1/26/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      1/26/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.8
      1/26/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                           316
      1/26/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.02
      1/26/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.4
      1/26/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.29
      1/26/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      1/26/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      1/26/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      1/26/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      1/26/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      1/26/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      1/26/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      1/26/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      1/26/2019    742   TC0098   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2         -164.56
      1/26/2019    742   TC0098   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-2         -757.12
      1/26/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/26/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      1/26/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.02
      1/26/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.98
      1/26/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.32
      1/26/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      1/26/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/26/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      1/26/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      1/26/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      1/26/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          41.89
      1/26/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/26/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      1/26/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       2/2/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       2/2/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       2/2/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.24
       2/2/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.61
       2/2/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       2/2/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       2/2/2019    709   AN0007   Owner Operator   Toll Charges                   CTMS - 222896 Solvay fuel             -79.01
       2/2/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       2/2/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       2/2/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       2/2/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.01
       2/2/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       2/2/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 223018 Q13147 Lease            440.14
       2/2/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       2/2/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       2/2/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       2/2/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          71.95
       2/2/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.52
       2/2/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.53
       2/2/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.23
       2/2/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.01
       2/2/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           240
       2/2/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  111.9
       2/2/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       2/2/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 223032 Q13169 Sublease         352.68
       2/2/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       2/2/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       2/2/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       2/2/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       2/2/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       2/2/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       2/2/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500

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       2/2/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       2/2/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.43
       2/2/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.34
       2/2/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
       2/2/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       2/2/2019    709   CC0134   Owner Operator   Repair Order                   CTMS - 223101 REPAIRS                   156
       2/2/2019    709   CC0134   Owner Operator   Tire Purchase                  PO: 709-00388177 - PO System          373.61
       2/2/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 222921 Q13168 sub lease        352.68
       2/2/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/2/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       2/2/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/2/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/2/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.35
       2/2/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         616.87
       2/2/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
       2/2/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
       2/2/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       2/2/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/2/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       2/2/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       2/2/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       2/2/2019    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9         -464.36
       2/2/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.11
       2/2/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.63
       2/2/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.72
       2/2/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
       2/2/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       2/2/2019    709   CR0064   Owner Operator   Repair Order                   CTMS - 223101 REPAIR                  171.29
       2/2/2019    709   CR0064   Owner Operator   Tire Purchase                  PO: 709-00388976 - PO System          102.52
       2/2/2019    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
       2/2/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       2/2/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       2/2/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.33
       2/2/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       2/2/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 222920 Q1201                   278.76
       2/2/2019    709   DL0029   Owner Operator   Advance                        1/24/19 Clm 72492-2 s/u pmts            250
       2/2/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/2/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       2/2/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.35
       2/2/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          341.6
       2/2/2019    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00013 - Loan Repayment         376.27
       2/2/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       2/2/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       2/2/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       2/2/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.82
       2/2/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.41
       2/2/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.63
       2/2/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         628.23
       2/2/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       2/2/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       2/2/2019    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00390840 - PO System           95.27
       2/2/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 222964 Sublease                338.99
       2/2/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       2/2/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/2/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.16
       2/2/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.32
       2/2/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.46
       2/2/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.63
       2/2/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.41
       2/2/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2018 - 34328                       100
       2/2/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       2/2/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       2/2/2019    709   DM0257   Owner Operator   Tire Purchase                  PO: 709-00391380 - PO System          180.03
       2/2/2019    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       2/2/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/2/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13

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       2/2/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
       2/2/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
       2/2/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          496.66
       2/2/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                       33.64
       2/2/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/2/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    92.35
       2/2/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                          512.35
       2/2/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
       2/2/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
       2/2/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          600.18
       2/2/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/2/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.07
       2/2/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
       2/2/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/2/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
       2/2/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
       2/2/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       2/2/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          209.09
       2/2/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.85
       2/2/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                           289.6
       2/2/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.74
       2/2/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2018 - 34266                        100
       2/2/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           14.24
       2/2/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       2/2/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
       2/2/2019    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26           923.08
       2/2/2019    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26           333.12
       2/2/2019    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26           348.03
       2/2/2019    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26           168.72
       2/2/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
       2/2/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/2/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/2/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       2/2/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       2/2/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          590.98
       2/2/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.01
       2/2/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                       33.64
       2/2/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/2/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   105.47
       2/2/2019    709   EA0003   Owner Operator   Repair Order                   TRACTOR 33051                              65
       2/2/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                          555.56
       2/2/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
       2/2/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
       2/2/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          360.19
       2/2/2019    709   EG0062   Owner Operator   Loan Repayment                 efs 210016                           -3526.76
       2/2/2019    709   EG0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          256.29
       2/2/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/2/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    42.19
       2/2/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
       2/2/2019    709   EG0062   Owner Operator   T Chek Fee                     ExpressCheck Fee                        34.92
       2/2/2019    709   EG0062   Owner Operator   T Chek Fee                     Tractor Repair 33828                  3491.84
       2/2/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
       2/2/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13
       2/2/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          223.16
       2/2/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            440
       2/2/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.68
       2/2/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/2/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 78.13
       2/2/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
       2/2/2019    709   EO0014   Owner Operator   Tire Purchase                  PO: 709-00389361 - PO System           159.31
       2/2/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
       2/2/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
       2/2/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/2/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/2/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       2/2/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       2/2/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.58
       2/2/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.92
       2/2/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          447.49
       2/2/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                   698.1
       2/2/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          356.08
       2/2/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/2/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              76.88

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       2/2/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 223032 truck lease 3304        434.29
       2/2/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/2/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       2/2/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/2/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/2/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.19
       2/2/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.24
       2/2/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
       2/2/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/2/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
       2/2/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9            -186
       2/2/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/2/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.09
       2/2/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                            285
       2/2/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
       2/2/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       2/2/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                            277
       2/2/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       2/2/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       2/2/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.16
       2/2/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       2/2/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 223031 Lease                   252.11
       2/2/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       2/2/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             2.63
       2/2/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       2/2/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       2/2/2019    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
       2/2/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       2/2/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       2/2/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       2/2/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       2/2/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       2/2/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       2/2/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/2/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/2/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.96
       2/2/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          146.2
       2/2/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   GW0043   Owner Operator   Permits                        ID06:2019 - Q1109                         11
       2/2/2019    709   GW0043   Owner Operator   Permits                        IL02:2019 - Q1109                       3.75
       2/2/2019    709   GW0043   Owner Operator   Permits                        NM07:2019 - Q1109                         10
       2/2/2019    709   GW0043   Owner Operator   Permits                        NY13:2019 - Q1109                        1.5
       2/2/2019    709   GW0043   Owner Operator   Permits                        OR16:2019 - Q1109                        8.5
       2/2/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       2/2/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       2/2/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       2/2/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       2/2/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       2/2/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       2/2/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          352.5
       2/2/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.02
       2/2/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       2/2/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 222915 Q13170                  352.68
       2/2/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       2/2/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       2/2/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/2/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/2/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/2/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.31
       2/2/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       2/2/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/2/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
       2/2/2019    709   IA0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26              62
       2/2/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            100
       2/2/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.35

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       2/2/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
       2/2/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       2/2/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/2/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       2/2/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.3
       2/2/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.82
       2/2/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       2/2/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/2/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       2/2/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       2/2/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       2/2/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
       2/2/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/2/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/2/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.09
       2/2/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.39
       2/2/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.61
       2/2/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       2/2/2019    709   JC0292   Owner Operator   Repair Order                   CTMS - 223101 REPAIRS                     70
       2/2/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 222961 Q13197 Lease            276.63
       2/2/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       2/2/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
       2/2/2019    709   JD0211   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9            -155
       2/2/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/2/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
       2/2/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       2/2/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/2/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       2/2/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
       2/2/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/2/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.24
       2/2/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.82
       2/2/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
       2/2/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         251.27
       2/2/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       2/2/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       2/2/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/2/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       2/2/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             500
       2/2/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       2/2/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.35
       2/2/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.05
       2/2/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.98
       2/2/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
       2/2/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       2/2/2019    709   JG0072   Owner Operator   Tire Fee                       Tire Fee: 2228587                         32
       2/2/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00390450 - PO System          438.78
       2/2/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       2/2/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/2/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       2/2/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                            509
       2/2/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.69
       2/2/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
       2/2/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       2/2/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       2/2/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.2
       2/2/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       2/2/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       2/2/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       2/2/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       2/2/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       2/2/2019    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19           48.76
       2/2/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.09
       2/2/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.27
       2/2/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       2/2/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       2/2/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
       2/2/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 222614 Truck Lease             278.76
       2/2/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 222873 Truck Lease             278.76
       2/2/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       2/2/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       2/2/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       2/2/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       2/2/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
       2/2/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       2/2/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/2/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/2/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.24
       2/2/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.17
       2/2/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.85
       2/2/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       2/2/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       2/2/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       2/2/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
       2/2/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 222918 Q13159 Lease             331.5
       2/2/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/2/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       2/2/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       2/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
       2/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
       2/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       2/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       2/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/2/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.14
       2/2/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
       2/2/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.49
       2/2/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
       2/2/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       2/2/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/2/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       2/2/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
       2/2/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       2/2/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/2/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.93
       2/2/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.57
       2/2/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.93
       2/2/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.04
       2/2/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
       2/2/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 222917 Q13156 Lease            388.16
       2/2/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       2/2/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       2/2/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       2/2/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 223032 Lease Q1111             252.11
       2/2/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       2/2/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       2/2/2019    709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26          235.12
       2/2/2019    709   LS0023   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26           24.48
       2/2/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/2/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/2/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/2/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/2/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.12
       2/2/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.71
       2/2/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
       2/2/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       2/2/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       2/2/2019    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26           118.5
       2/2/2019    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9           -21.6

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       2/2/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            100
       2/2/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.11
       2/2/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
       2/2/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       2/2/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       2/2/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                            396
       2/2/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.99
       2/2/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.45
       2/2/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       2/2/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 222921 Q1113 Lease             252.11
       2/2/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       2/2/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       2/2/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       2/2/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/2/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       2/2/2019    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                      -3700
       2/2/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            700
       2/2/2019    709   MP0035   Owner Operator   Express Check                  T-Check Payment                         3700
       2/2/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/2/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/2/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.52
       2/2/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
       2/2/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       2/2/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       2/2/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       2/2/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       2/2/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
       2/2/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                       10.12
       2/2/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
       2/2/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
       2/2/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/2/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/2/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.85
       2/2/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.14
       2/2/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         609.58
       2/2/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       2/2/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       2/2/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       2/2/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
       2/2/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       2/2/2019    709   NB0029   Owner Operator   Repair Order                   TRACTOR 32986                          277.7
       2/2/2019    709   NB0029   Owner Operator   Repair Order                   TRACTOR 32986                         -277.7
       2/2/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 222666 32986 Lease             314.03
       2/2/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 222918 32986 Lease             314.03
       2/2/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       2/2/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       2/2/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             240
       2/2/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.4
       2/2/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                            149
       2/2/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.79
       2/2/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       2/2/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       2/2/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       2/2/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       2/2/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 223074 Truck 73130 Leas        196.65
       2/2/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/2/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       2/2/2019    709   OJ0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26          122.26
       2/2/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/2/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.42
       2/2/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.79
       2/2/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          255.8
       2/2/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
       2/2/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 222918 REPAIRS                    250
       2/2/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66

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       2/2/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       2/2/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       2/2/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9           -25.5
       2/2/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9           -25.5
       2/2/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.78
       2/2/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.69
       2/2/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       2/2/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       2/2/2019    709   RC0030   Owner Operator   Repair Order                   CTMS - 223101 REPAIR                   23.92
       2/2/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/2/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       2/2/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       2/2/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          570.3
       2/2/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
       2/2/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       2/2/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/2/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       2/2/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/2/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       2/2/2019    709   RL0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9           -25.5
       2/2/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/2/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/2/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.28
       2/2/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.23
       2/2/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.21
       2/2/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
       2/2/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       2/2/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       2/2/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       2/2/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       2/2/2019    709   RL0180   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26              93
       2/2/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
       2/2/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.21
       2/2/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
       2/2/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
       2/2/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       2/2/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       2/2/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       2/2/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       2/2/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       2/2/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.31
       2/2/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.77
       2/2/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       2/2/2019    709   RM0026   Owner Operator   Repair Order                   CTMS - 223101 REPAIR                    130
       2/2/2019    709   RM0026   Owner Operator   T Chek Fee                     ExpressCheck Fee                        6.45
       2/2/2019    709   RM0026   Owner Operator   T Chek Fee                     Tractor Repair 33664                    645
       2/2/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       2/2/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       2/2/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.31
       2/2/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.34
       2/2/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       2/2/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 222873 Q1202 Truck Leas        278.76
       2/2/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       2/2/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       2/2/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/2/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/2/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         662.37
       2/2/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
       2/2/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       2/2/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       2/2/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 222920 Q1248                   311.97
       2/2/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       2/2/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       2/2/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       2/2/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/2/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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       2/2/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.41
       2/2/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.15
       2/2/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
       2/2/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
       2/2/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       2/2/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       2/2/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       2/2/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       2/2/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.91
       2/2/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.05
       2/2/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.77
       2/2/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.12
       2/2/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.02
       2/2/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       2/2/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       2/2/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 222870 Sub Lease               388.33
       2/2/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       2/2/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
       2/2/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
       2/2/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.22
       2/2/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.91
       2/2/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.98
       2/2/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
       2/2/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
       2/2/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       2/2/2019    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
       2/2/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       2/2/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       2/2/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/2/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/2/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/2/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/2/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.53
       2/2/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.51
       2/2/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          124.7
       2/2/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.8
       2/2/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.49
       2/2/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       2/2/2019    709   SN0019   Owner Operator   Repair Order                   TRACTOR 33461                             65
       2/2/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       2/2/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       2/2/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9           -25.5
       2/2/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9           -25.5
       2/2/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          489.5
       2/2/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       2/2/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       2/2/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/2/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       2/2/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       2/2/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
       2/2/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
       2/2/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.7
       2/2/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.08
       2/2/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.77
       2/2/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.69
       2/2/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.14
       2/2/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
       2/2/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       2/2/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       2/2/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       2/2/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9           -25.5
       2/2/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       2/2/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       2/2/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       2/2/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       2/2/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200

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       2/2/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/2/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          174.5
       2/2/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.85
       2/2/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.96
       2/2/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       2/2/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 222921 Q1238 Lease             311.97
       2/2/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       2/2/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       2/2/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/2/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/2/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.35
       2/2/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       2/2/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       2/2/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       2/2/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.36
       2/2/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.06
       2/2/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.68
       2/2/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
       2/2/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       2/2/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 222918 Lease of Q13151         325.21
       2/2/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       2/2/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       2/2/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          423.3
       2/2/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.14
       2/2/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.49
       2/2/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       2/2/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/2/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       2/2/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.55
       2/2/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          34.39
       2/2/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          163.5
       2/2/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.51
       2/2/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.85
       2/2/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.49
       2/2/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.44
       2/2/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       2/2/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/2/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       2/2/2019    742   DC0117   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9         -606.39
       2/2/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          639.9
       2/2/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.38
       2/2/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       2/2/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       2/2/2019    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/2/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/2/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/2/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          383.2
       2/2/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                           421
       2/2/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.49
       2/2/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       2/2/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       2/2/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 222962 Trk 33487 Lease          434.2
       2/2/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/2/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       2/2/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.34
       2/2/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.38
       2/2/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       2/2/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       2/2/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       2/2/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       2/2/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       2/2/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       2/2/2019    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
       2/2/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       2/2/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       2/2/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13

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       2/2/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       2/2/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.58
       2/2/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.51
       2/2/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.18
       2/2/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.46
       2/2/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.13
       2/2/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.85
       2/2/2019    742   ED0041   Owner Operator   FUEL TAX                       November 2018 Fuel/Mileage Tax         16.24
       2/2/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   ED0041   Owner Operator   Permits                        ID06:2019 - 32897                         11
       2/2/2019    742   ED0041   Owner Operator   Permits                        IL02:2019 - 32897                       3.75
       2/2/2019    742   ED0041   Owner Operator   Permits                        NM07:2019 - 32897                         10
       2/2/2019    742   ED0041   Owner Operator   Permits                        NY13:2019 - 32897                        1.5
       2/2/2019    742   ED0041   Owner Operator   Permits                        OR16:2019 - 32897                        8.5
       2/2/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       2/2/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
       2/2/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       2/2/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       2/2/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       2/2/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       2/2/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       2/2/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       2/2/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.95
       2/2/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.62
       2/2/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.03
       2/2/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.92
       2/2/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.16
       2/2/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         341.61
       2/2/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       2/2/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       2/2/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       2/2/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       2/2/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       2/2/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       2/2/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/2/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.44
       2/2/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       2/2/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/2/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          406.5
       2/2/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.75
       2/2/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.5
       2/2/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          23.37
       2/2/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       2/2/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       2/2/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26          253.27
       2/2/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26           26.66
       2/2/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26           13.33
       2/2/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.28
       2/2/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.93
       2/2/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       2/2/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       2/2/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
       2/2/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/2/2019    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
       2/2/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9          -35.04
       2/2/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9          -54.72
       2/2/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9           -64.5
       2/2/2019    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/2/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
       2/2/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       2/2/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
       2/2/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       2/2/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/2/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       2/2/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       2/2/2019    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           250
       2/2/2019    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           250

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       2/2/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.82
       2/2/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.13
       2/2/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.92
       2/2/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.44
       2/2/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.57
       2/2/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.51
       2/2/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.55
       2/2/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
       2/2/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
       2/2/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       2/2/2019    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 8                  26
       2/2/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          97.62
       2/2/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       2/2/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       2/2/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       2/2/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.26
       2/2/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.07
       2/2/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.85
       2/2/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          455.3
       2/2/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.77
       2/2/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       2/2/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       2/2/2019    742   RN0054   Owner Operator   Toll Charges                   Q13157 KTA Wichita: I-135,I-23          4.95
       2/2/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 221639 Tractor Lease           353.28
       2/2/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 221888 Tractor Lease           353.28
       2/2/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 222124 Tractor Lease           353.28
       2/2/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 222436 Tractor Lease           353.28
       2/2/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 222720 Tractor Lease           353.28
       2/2/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 222964 Tractor Lease           353.28
       2/2/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/2/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       2/2/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9           -25.5
       2/2/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9           -25.5
       2/2/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9           -25.5
       2/2/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-9           -25.5
       2/2/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       2/2/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       2/2/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       2/2/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       2/2/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       2/2/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       2/2/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       2/2/2019    742   TC0098   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19          970.06
       2/2/2019    742   TC0098   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19          932.75
       2/2/2019    742   TC0098   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26          164.56
       2/2/2019    742   TC0098   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-26          757.12
       2/2/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/2/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/2/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/2/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.64
       2/2/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.73
       2/2/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.35
       2/2/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.01
       2/2/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.69
       2/2/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
       2/2/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
       2/2/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       2/2/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       2/2/2019    742   TC0098   Owner Operator   Toll Charges                   33489 Antioch Bridge 2                    26
       2/2/2019    742   TC0098   Owner Operator   Toll Charges                   33489 Carquinez Bridge 8                  25
       2/2/2019    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Route 80 (East)               5
       2/2/2019    742   TC0098   Owner Operator   Toll Charges                   33489 NTTA Exit HDY-HDYN-04              3.5
       2/2/2019    742   TC0098   Owner Operator   Toll Charges                   33489 NTTA Exit HDY-HDYS-10                7
       2/2/2019    742   TC0098   Owner Operator   Toll Charges                   33489 NTTA Exit SHT-SAME-05                7
       2/2/2019    742   TC0098   Owner Operator   Toll Charges                   33489 NTTA Exit SHT-SAMS-12                7
       2/2/2019    742   TC0098   Owner Operator   Toll Charges                   33489 NTTA Exit SHT-SAMSE-08               7
       2/2/2019    742   TC0098   Owner Operator   Toll Charges                   33489 NTTA Exit SHT-SAMSW-09               7
       2/2/2019    742   TC0098   Owner Operator   Toll Charges                   33489 NTTA Exit SHT-SHIP-22                7
       2/2/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 222369 33489 Lease Paym        412.16

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       2/2/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/2/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       2/2/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.47
       2/2/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       2/2/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       2/2/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
       2/2/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       2/2/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       2/2/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.79
       2/2/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/2/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       2/2/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       2/9/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       2/9/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       2/9/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       2/9/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       2/9/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       2/9/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       2/9/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       2/9/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          285.9
       2/9/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.13
       2/9/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.99
       2/9/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.83
       2/9/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       2/9/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 223247 Q13147 Lease            440.14
       2/9/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       2/9/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       2/9/2019    709   BM0030   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        496.68
       2/9/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       2/9/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       2/9/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       2/9/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       2/9/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
       2/9/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       2/9/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           209
       2/9/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.35
       2/9/2019    709   CC0134   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        231.49
       2/9/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
       2/9/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       2/9/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 223169 Q13168 sub lease        352.68
       2/9/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/9/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       2/9/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.14
       2/9/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                           467
       2/9/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
       2/9/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
       2/9/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       2/9/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/9/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       2/9/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       2/9/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       2/9/2019    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2           464.36
       2/9/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.29
       2/9/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.73
       2/9/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.15
       2/9/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.12
       2/9/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.26
       2/9/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
       2/9/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       2/9/2019    709   CR0064   Owner Operator   Tire Purchase                  PO: 709-00388976 - PO System          102.52
       2/9/2019    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
       2/9/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       2/9/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       2/9/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.28
       2/9/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08

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       2/9/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 223169 Q1201                   278.76
       2/9/2019    709   DL0029   Owner Operator   Advance                        1/24/19 Clm 72492-2 s/u pmts            250
       2/9/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/9/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       2/9/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.94
       2/9/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.23
       2/9/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.52
       2/9/2019    709   DL0029   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        256.93
       2/9/2019    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00013 - Loan Repayment         376.27
       2/9/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       2/9/2019    709   DL0029   Owner Operator   Repair Order                   CTMS - 223280 REPAIR                  -16.15
       2/9/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       2/9/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       2/9/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       2/9/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/9/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.02
       2/9/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.17
       2/9/2019    709   DL0107   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         607.1
       2/9/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       2/9/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       2/9/2019    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00390840 - PO System           95.27
       2/9/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 223205 Sublease                338.99
       2/9/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       2/9/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.31
       2/9/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.86
       2/9/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.51
       2/9/2019    709   DM0257   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         649.5
       2/9/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2018 - 34328                       100
       2/9/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   DM0257   Owner Operator   Permits                        NM07:2019 - 34328                         10
       2/9/2019    709   DM0257   Owner Operator   Permits                        NY13:2019 - 34328                        1.5
       2/9/2019    709   DM0257   Owner Operator   Permits                        OR16:2019 - 34328                        8.5
       2/9/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       2/9/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       2/9/2019    709   DM0257   Owner Operator   Tire Purchase                  PO: 709-00391380 - PO System          180.03
       2/9/2019    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
       2/9/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/9/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       2/9/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       2/9/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       2/9/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         680.47
       2/9/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.21
       2/9/2019    709   DS0049   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         -2.92
       2/9/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
       2/9/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       2/9/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       2/9/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       2/9/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       2/9/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         628.46
       2/9/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       2/9/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       2/9/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       2/9/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       2/9/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       2/9/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/9/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/9/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       2/9/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.94
       2/9/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.75
       2/9/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.06
       2/9/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          324.8
       2/9/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.02
       2/9/2019    709   DS0288   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         36.64
       2/9/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2018 - 34266                       100
       2/9/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          33.26

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       2/9/2019    709   DS0288   Owner Operator   Permits                        OR16:2019 - 34266                        8.5
       2/9/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
       2/9/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
       2/9/2019    709   DS0288   Owner Operator   Repair Order                   TRACTOR 34266                             50
       2/9/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/9/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       2/9/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       2/9/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/9/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/9/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.69
       2/9/2019    709   EA0003   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        285.31
       2/9/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
       2/9/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       2/9/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       2/9/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       2/9/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       2/9/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.81
       2/9/2019    709   EG0062   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         164.7
       2/9/2019    709   EG0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         256.29
       2/9/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       2/9/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       2/9/2019    709   EG0062   Owner Operator   Truck Payment                  CTMS - 223102 TRUCK RENTAL              525
       2/9/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       2/9/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       2/9/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          424.3
       2/9/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.32
       2/9/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.99
       2/9/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.26
       2/9/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           284
       2/9/2019    709   EO0014   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        356.86
       2/9/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       2/9/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       2/9/2019    709   EO0014   Owner Operator   Tire Purchase                  PO: 709-00389361 - PO System          159.31
       2/9/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          45.88
       2/9/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/9/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       2/9/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.46
       2/9/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.36
       2/9/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
       2/9/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/9/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
       2/9/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2             186
       2/9/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-16         -16.56
       2/9/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.07
       2/9/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.08
       2/9/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
       2/9/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       2/9/2019    709   GA0051   Owner Operator   Repair Order                   CTMS - 223282 REPAIRS                 144.52
       2/9/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
       2/9/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       2/9/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       2/9/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.12
       2/9/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       2/9/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 223260 Lease                   252.11
       2/9/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       2/9/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/9/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/9/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.04
       2/9/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.73
       2/9/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.86
       2/9/2019    709   GW0043   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         21.56
       2/9/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       2/9/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       2/9/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       2/9/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.23

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       2/9/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.82
       2/9/2019    709   HC0023   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         -0.74
       2/9/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       2/9/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 223164 Q13170                  352.68
       2/9/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       2/9/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       2/9/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
       2/9/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/9/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.68
       2/9/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.41
       2/9/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       2/9/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/9/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/9/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       2/9/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       2/9/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/9/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/9/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.47
       2/9/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.12
       2/9/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.74
       2/9/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.08
       2/9/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.35
       2/9/2019    709   HG0027   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax          70.6
       2/9/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       2/9/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       2/9/2019    709   HG0027   Owner Operator   Truck Payment                  CTMS - 223102 TRUCK PAYMENT             500
       2/9/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/9/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
       2/9/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
       2/9/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.78
       2/9/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.22
       2/9/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.57
       2/9/2019    709   IA0007   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax          0.01
       2/9/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
       2/9/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       2/9/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/9/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       2/9/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.15
       2/9/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.47
       2/9/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       2/9/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/9/2019    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-16            -62
       2/9/2019    709   JA0156   Owner Operator   Communication Charge           Pnet Device Not Returned                66.7
       2/9/2019    709   JA0156   Owner Operator   Permits                        2019 ID Permit                           -11
       2/9/2019    709   JA0156   Owner Operator   Permits                        2019 NM Permit                           -10
       2/9/2019    709   JA0156   Owner Operator   Permits                        2019 OR permit                          -8.5
       2/9/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       2/9/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       2/9/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       2/9/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       2/9/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/9/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/9/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.6
       2/9/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.49
       2/9/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.91
       2/9/2019    709   JC0292   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        257.13
       2/9/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       2/9/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 223202 Q13197 Lease            276.63
       2/9/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       2/9/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
       2/9/2019    709   JD0211   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2             155
       2/9/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
       2/9/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5

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       2/9/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/9/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       2/9/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/9/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/9/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/9/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/9/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.13
       2/9/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.25
       2/9/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.88
       2/9/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
       2/9/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         251.27
       2/9/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       2/9/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       2/9/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/9/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       2/9/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             500
       2/9/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       2/9/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.82
       2/9/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         568.59
       2/9/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.31
       2/9/2019    709   JG0072   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        306.83
       2/9/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
       2/9/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       2/9/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00390450 - PO System          438.78
       2/9/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       2/9/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/9/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       2/9/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.36
       2/9/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
       2/9/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       2/9/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       2/9/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-16           -155
       2/9/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/9/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/9/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.92
       2/9/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   JQ0015   Owner Operator   Permits                        NY13:2019 - 33438                        1.5
       2/9/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       2/9/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       2/9/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       2/9/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.36
       2/9/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       2/9/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 223127 Truck Lease             278.76
       2/9/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                     -35
       2/9/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                     -35
       2/9/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                     -35
       2/9/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                     -35
       2/9/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
       2/9/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       2/9/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       2/9/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       2/9/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
       2/9/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
       2/9/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/9/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/9/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.49
       2/9/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.78
       2/9/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.04
       2/9/2019    709   JS0265   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        185.42
       2/9/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       2/9/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
       2/9/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   -63.75
       2/9/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   -63.75
       2/9/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   -63.75
       2/9/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                   -63.75
       2/9/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       2/9/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
       2/9/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 223167 Q13159 Lease             331.5

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       2/9/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/9/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       2/9/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       2/9/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/9/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/9/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/9/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/9/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           125
       2/9/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           125
       2/9/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.84
       2/9/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.19
       2/9/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           440
       2/9/2019    709   KP0004   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        424.92
       2/9/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
       2/9/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       2/9/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/9/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       2/9/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
       2/9/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       2/9/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.37
       2/9/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.25
       2/9/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.13
       2/9/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.83
       2/9/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.94
       2/9/2019    709   KT0055   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        214.72
       2/9/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
       2/9/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 223165 Q13156 Lease            388.16
       2/9/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       2/9/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       2/9/2019    709   LL0160   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        377.35
       2/9/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       2/9/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 223260 Lease Q1111             252.11
       2/9/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 223277 Past due tractor        252.11
       2/9/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       2/9/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       2/9/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/9/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/9/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/9/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/9/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         714.72
       2/9/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.33
       2/9/2019    709   LS0023   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         63.03
       2/9/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
       2/9/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/9/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          43.33
       2/9/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       2/9/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       2/9/2019    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2             21.6
       2/9/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
       2/9/2019    709   MD0122   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        293.04
       2/9/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
       2/9/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       2/9/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       2/9/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          483.6
       2/9/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.38
       2/9/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.74
       2/9/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       2/9/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 223170 Q1113 Lease             252.11
       2/9/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/9/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       2/9/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
       2/9/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
       2/9/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
       2/9/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       2/9/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       2/9/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75

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       2/9/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
       2/9/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            500
       2/9/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         621.18
       2/9/2019    709   NB0029   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        106.64
       2/9/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       2/9/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       2/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       2/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
       2/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       2/9/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       2/9/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       2/9/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/9/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/9/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.1
       2/9/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.35
       2/9/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                            240
       2/9/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          122.6
       2/9/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       2/9/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       2/9/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       2/9/2019    709   NT9564   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        234.43
       2/9/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       2/9/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 223305 Truck 73130 Leas        196.65
       2/9/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/9/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       2/9/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.89
       2/9/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.18
       2/9/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          84.24
       2/9/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.13
       2/9/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.15
       2/9/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
       2/9/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 223167 REPAIRS                    250
       2/9/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
       2/9/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       2/9/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       2/9/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2             25.5
       2/9/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2             25.5
       2/9/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.79
       2/9/2019    709   RC0030   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         129.8
       2/9/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       2/9/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       2/9/2019    709   RL0017   Owner Operator   Accident Claim                 01/09/19 RL0017 Accident                2000
       2/9/2019    709   RL0017   Owner Operator   Advance                        1/9/19 Clm 72310-2 s/u pmts              250
       2/9/2019    709   RL0017   Owner Operator   Advance                        1/9/19 Clm 72310-2 s/u pmts            -2000
       2/9/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/9/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       2/9/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
       2/9/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.38
       2/9/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.81
       2/9/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
       2/9/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       2/9/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/9/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       2/9/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/9/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       2/9/2019    709   RL0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2             25.5
       2/9/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/9/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/9/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/9/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/9/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.59
       2/9/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.42
       2/9/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.4
       2/9/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.82
       2/9/2019    709   RL0062   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        212.13
       2/9/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64

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       2/9/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       2/9/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       2/9/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       2/9/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       2/9/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
       2/9/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.03
       2/9/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.49
       2/9/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         569.12
       2/9/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.92
       2/9/2019    709   RL0180   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         33.38
       2/9/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
       2/9/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
       2/9/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       2/9/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       2/9/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       2/9/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       2/9/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       2/9/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.69
       2/9/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.33
       2/9/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.6
       2/9/2019    709   RM0026   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        119.18
       2/9/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       2/9/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       2/9/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       2/9/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.68
       2/9/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.25
       2/9/2019    709   RP0082   Owner Operator   Loan Repayment                 C.C EFS 210816                       -2953.2
       2/9/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       2/9/2019    709   RP0082   Owner Operator   T Chek Fee                     ExpressCheck Fee                       29.53
       2/9/2019    709   RP0082   Owner Operator   T Chek Fee                     Tractor Repair Q1202                  2953.2
       2/9/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 223127 Q1202 Truck Leas        278.76
       2/9/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       2/9/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       2/9/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/9/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/9/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.35
       2/9/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.21
       2/9/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.23
       2/9/2019    709   RR0123   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         41.25
       2/9/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
       2/9/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       2/9/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       2/9/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 223169 Q1248                   311.97
       2/9/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 223284 TRUCK RENTAL              200
       2/9/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       2/9/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       2/9/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       2/9/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.71
       2/9/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.18
       2/9/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.93
       2/9/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.77
       2/9/2019    709   SB0009   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        295.95
       2/9/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
       2/9/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
       2/9/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       2/9/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       2/9/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       2/9/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       2/9/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.86
       2/9/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.48
       2/9/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.58
       2/9/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.52
       2/9/2019    709   SB0103   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        185.38
       2/9/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       2/9/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       2/9/2019    709   SB0103   Owner Operator   Repair Order                   CTMS - 223102 REPAIRS                 187.48

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       2/9/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 223125 Sub Lease               388.33
       2/9/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       2/9/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
       2/9/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
       2/9/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.97
       2/9/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           302
       2/9/2019    709   SM0109   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        399.72
       2/9/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
       2/9/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
       2/9/2019    709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                         5.6
       2/9/2019    709   SM0109   Owner Operator   T Chek Fee                     Tractor Repair 33195                  560.03
       2/9/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       2/9/2019    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
       2/9/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       2/9/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       2/9/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            300
       2/9/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/9/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.87
       2/9/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.52
       2/9/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.92
       2/9/2019    709   SN0019   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        183.67
       2/9/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       2/9/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       2/9/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       2/9/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2             25.5
       2/9/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2             25.5
       2/9/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.01
       2/9/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.01
       2/9/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       2/9/2019    709   VB0015   Owner Operator   Repair Order                   CTMS - 223101 REPAIRS                 326.68
       2/9/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       2/9/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/9/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       2/9/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       2/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
       2/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
       2/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       2/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       2/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/9/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.56
       2/9/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.47
       2/9/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.83
       2/9/2019    709   VJ0006   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         91.39
       2/9/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
       2/9/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       2/9/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       2/9/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       2/9/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2             25.5
       2/9/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       2/9/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       2/9/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       2/9/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       2/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.86
       2/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.96
       2/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.13
       2/9/2019    709   WH0087   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         87.68
       2/9/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       2/9/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 223169 Q1238 Lease             311.97
       2/9/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       2/9/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       2/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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       2/9/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.43
       2/9/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.45
       2/9/2019    742   AP0047   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        145.57
       2/9/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       2/9/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       2/9/2019    742   AP0047   Owner Operator   Toll Charges                   32604 NTTA Exit SHT-SHIP-21                7
       2/9/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       2/9/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
       2/9/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
       2/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.09
       2/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           325
       2/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.44
       2/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.03
       2/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.97
       2/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.39
       2/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.61
       2/9/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   BS0078   Owner Operator   Permits1                       IL02:2019 - Q13151                      3.75
       2/9/2019    742   BS0078   Owner Operator   Permits1                       NM07:2019 - Q13151                        10
       2/9/2019    742   BS0078   Owner Operator   Permits1                       NY13:2019 - Q13151                       1.5
       2/9/2019    742   BS0078   Owner Operator   Permits1                       OR16:2019 - Q13151                       8.5
       2/9/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
       2/9/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       2/9/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 222918 Lease of Q13151          62.95
       2/9/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       2/9/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       2/9/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          163.4
       2/9/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.14
       2/9/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         577.67
       2/9/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   CA0089   Owner Operator   Permits                        IL02:2019 - 33987                      -3.75
       2/9/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       2/9/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/9/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       2/9/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           202
       2/9/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.19
       2/9/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.48
       2/9/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.49
       2/9/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.02
       2/9/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.08
       2/9/2019    742   DA0067   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         91.55
       2/9/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       2/9/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/9/2019    742   DA0067   Owner Operator   Toll Charges                   33847 ILTOLL Cermak Rd.                    5
       2/9/2019    742   DA0067   Owner Operator   Toll Charges                   33847 ILTOLL Dixon                      11.9
       2/9/2019    742   DA0067   Owner Operator   Toll Charges                   33847 ILTOLL Irving Park                   5
       2/9/2019    742   DA0067   Owner Operator   Toll Charges                   33847 ILTOLL Joliet Rd.                 1.95
       2/9/2019    742   DA0067   Owner Operator   Toll Charges                   33847 ILTOLL Waukegan                    9.4
       2/9/2019    742   DA0067   Owner Operator   Toll Charges                   33847 RIVERLIN Kennedy Bridge          10.25
       2/9/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       2/9/2019    742   DC0117   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2           606.39
       2/9/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.52
       2/9/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         616.38
       2/9/2019    742   DC0117   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        186.37
       2/9/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       2/9/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       2/9/2019    742   DS0254   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-16         -840.1
       2/9/2019    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/9/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/9/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.71
       2/9/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.52
       2/9/2019    742   DS0254   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         51.28
       2/9/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       2/9/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       2/9/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/9/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       2/9/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.78
       2/9/2019    742   EA0039   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         15.27
       2/9/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       2/9/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       2/9/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       2/9/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       2/9/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       2/9/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.9
       2/9/2019    742   ED0041   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         84.85
       2/9/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       2/9/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       2/9/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/9/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/9/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       2/9/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       2/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.12
       2/9/2019    742   EN0016   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         178.7
       2/9/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
       2/9/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
       2/9/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       2/9/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       2/9/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/9/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/9/2019    742   EN0016   Owner Operator   Repair Order                   CTMS - 223282 REPAIR                  134.59
       2/9/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       2/9/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          77.79
       2/9/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       2/9/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       2/9/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       2/9/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       2/9/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       2/9/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       2/9/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.14
       2/9/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       2/9/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/9/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
       2/9/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
       2/9/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.22
       2/9/2019    742   JS0390   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        173.52
       2/9/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          24.13
       2/9/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
       2/9/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
       2/9/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Kilpatrick Turnpike           4.45
       2/9/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Kilpatrick Turnpike           4.45
       2/9/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Turner Turnpike East         18.05
       2/9/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Turner Turnpike West         18.05
       2/9/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Will Rogers Turnpike         18.05
       2/9/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       2/9/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       2/9/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       2/9/2019    742   MH0117   Owner Operator   Broker Pay Void/Reissue        ACH Request - Hardship Adv             5000
       2/9/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       2/9/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       2/9/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       2/9/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       2/9/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       2/9/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       2/9/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       2/9/2019    742   MH0117   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 1-19          406.38
       2/9/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       2/9/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       2/9/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       2/9/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       2/9/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       2/9/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       2/9/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       2/9/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       2/9/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       2/9/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.09
       2/9/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.99
       2/9/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.89
       2/9/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       2/9/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       2/9/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
       2/9/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       2/9/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       2/9/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       2/9/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       2/9/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       2/9/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       2/9/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.68
       2/9/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.3
       2/9/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.32
       2/9/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.85
       2/9/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.45
       2/9/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.81
       2/9/2019    742   NG0024   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax          0.78
       2/9/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
       2/9/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       2/9/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       2/9/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       2/9/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       2/9/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       2/9/2019    742   NG0024   Owner Operator   Tire Fee                       Tire Fee: 2232630                         12
       2/9/2019    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00387973 - PO System          605.02
       2/9/2019    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 9                  26
       2/9/2019    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Sam Houston - East             7
       2/9/2019    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Sam Houston - East             7
       2/9/2019    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Ship Channel Bridg             7
       2/9/2019    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Ship Channel Bridg             7
       2/9/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/9/2019    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
       2/9/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2             64.5
       2/9/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2            35.04
       2/9/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2            54.72
       2/9/2019    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                           100
       2/9/2019    742   OS0018   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        982.21
       2/9/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
       2/9/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       2/9/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       2/9/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/9/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       2/9/2019    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           250
       2/9/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.83
       2/9/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.56
       2/9/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.97
       2/9/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.41
       2/9/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.52
       2/9/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          260.9
       2/9/2019    742   PC0012   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        216.53
       2/9/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
       2/9/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       2/9/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       2/9/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       2/9/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       2/9/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       2/9/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       2/9/2019    742   RF0136   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-16         -62.31

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       2/9/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/9/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/9/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/9/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.12
       2/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.26
       2/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          217.9
       2/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.89
       2/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.32
       2/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.15
       2/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.22
       2/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.27
       2/9/2019    742   RF0136   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         91.19
       2/9/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   RF0136   Owner Operator   Permits                        IL02:2019 - 34182                       3.75
       2/9/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       2/9/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       2/9/2019    742   RF0136   Owner Operator   Toll Charges                   34182 ILTOLL 163rd St.                     5
       2/9/2019    742   RF0136   Owner Operator   Toll Charges                   34182 ILTOLL Route 80 (West)               5
       2/9/2019    742   RF0136   Owner Operator   Toll Charges                   34182 NTTA Lower Tarrant Mainl          6.24
       2/9/2019    742   RF0136   Owner Operator   Toll Charges                   34182 NTTA Plaza 10 - Irving            3.44
       2/9/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/9/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       2/9/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2             25.5
       2/9/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2             25.5
       2/9/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2             25.5
       2/9/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-2             25.5
       2/9/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-16         -57.14
       2/9/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       2/9/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       2/9/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       2/9/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       2/9/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/9/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          374.6
       2/9/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.86
       2/9/2019    742   TC0098   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         79.49
       2/9/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
       2/9/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       2/9/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 222666 33489 Lease Paym        412.16
       2/9/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 222917 33489 Lease Paym        412.16
       2/9/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/9/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       2/9/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.82
       2/9/2019    742   TH0130   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         14.73
       2/9/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/9/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       2/9/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       2/9/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           218
      2/16/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      2/16/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      2/16/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.51
      2/16/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      2/16/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      2/16/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/16/2019    709   AR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23         -22.49
      2/16/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           203
      2/16/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          307.7
      2/16/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.19
      2/16/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.35
      2/16/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      2/16/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 223534 Q13147 Lease            435.07
      2/16/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      2/16/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      2/16/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      2/16/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5

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      2/16/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      2/16/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      2/16/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/16/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/16/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.71
      2/16/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.26
      2/16/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
      2/16/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      2/16/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 223430 Q13168 sub lease        352.68
      2/16/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/16/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      2/16/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/16/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/16/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.74
      2/16/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      2/16/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
      2/16/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      2/16/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/16/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      2/16/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      2/16/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      2/16/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.38
      2/16/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      2/16/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      2/16/2019    709   CR0064   Owner Operator   Tire Purchase                  PO: 709-00388976 - PO System          102.52
      2/16/2019    709   CR0064   Owner Operator   Tractor Charge                 14267 - 32864                         244.46
      2/16/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      2/16/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      2/16/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          428.1
      2/16/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      2/16/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 223430 Q1201                   278.76
      2/16/2019    709   DL0029   Owner Operator   Advance                        1/24/19 Clm 72492-2 s/u pmts            250
      2/16/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/16/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      2/16/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.09
      2/16/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.21
      2/16/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          346.5
      2/16/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.44
      2/16/2019    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00013 - Loan Repayment         376.27
      2/16/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      2/16/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      2/16/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      2/16/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/16/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/16/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.15
      2/16/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.6
      2/16/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.61
      2/16/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         690.07
      2/16/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.12
      2/16/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      2/16/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      2/16/2019    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00390840 - PO System           95.27
      2/16/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 223478 Sublease                338.99
      2/16/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      2/16/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/16/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.76
      2/16/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.61
      2/16/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2018 - 34328                      98.06
      2/16/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      2/16/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      2/16/2019    709   DM0257   Owner Operator   Tire Purchase                  PO: 709-00391380 - PO System          180.03
      2/16/2019    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.38
      2/16/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/16/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      2/16/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/16/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5

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      2/16/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.22
      2/16/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.01
      2/16/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.69
      2/16/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      2/16/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      2/16/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      2/16/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      2/16/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      2/16/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         615.17
      2/16/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                            520
      2/16/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      2/16/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      2/16/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                        0.86
      2/16/2019    709   DS0288   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23         -70.68
      2/16/2019    709   DS0288   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23           -155
      2/16/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.06
      2/16/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.53
      2/16/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.55
      2/16/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.6
      2/16/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.75
      2/16/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2018 - 34266                      98.06
      2/16/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      2/16/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/16/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      2/16/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      2/16/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/16/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/16/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.28
      2/16/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          136.9
      2/16/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.82
      2/16/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      2/16/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      2/16/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      2/16/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      2/16/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      2/16/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.66
      2/16/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.38
      2/16/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.35
      2/16/2019    709   EG0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         256.29
      2/16/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      2/16/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      2/16/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      2/16/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      2/16/2019    709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23         -22.47
      2/16/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.13
      2/16/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.51
      2/16/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.25
      2/16/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      2/16/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      2/16/2019    709   EO0014   Owner Operator   Repair Order                   CTMS - 223283 REPAIR                  598.45
      2/16/2019    709   EO0014   Owner Operator   Tire Purchase                  PO: 709-00389361 - PO System          159.27
      2/16/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      2/16/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      2/16/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      2/16/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      2/16/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/16/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/16/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.32
      2/16/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.11
      2/16/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          253.7
      2/16/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.29
      2/16/2019    709   FS0039   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        422.75
      2/16/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 177.02
      2/16/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      2/16/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      2/16/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      2/16/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      2/16/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      2/16/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 223260 truck lease 3304        434.29
      2/16/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 223547 truck lease 3304        434.29
      2/16/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/16/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      2/16/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         649.82
      2/16/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      2/16/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/16/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      2/16/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-9            16.56
      2/16/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/16/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.77
      2/16/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.46
      2/16/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.02
      2/16/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      2/16/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      2/16/2019    709   GA0051   Owner Operator   Tire Fee                       Tire Fee: 2233565                         32
      2/16/2019    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00390138 - PO System          441.53
      2/16/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      2/16/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      2/16/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      2/16/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.2
      2/16/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      2/16/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 223546 Lease                   252.11
      2/16/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      2/16/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      2/16/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      2/16/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/16/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/16/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/16/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/16/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/16/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/16/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.25
      2/16/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.08
      2/16/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.94
      2/16/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.27
      2/16/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.38
      2/16/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.6
      2/16/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           228
      2/16/2019    709   GW0043   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax          9.66
      2/16/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      2/16/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 223299 Q1109 Lease             302.85
      2/16/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 223599 Q1109 Lease             302.85
      2/16/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      2/16/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      2/16/2019    709   HC0023   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23         -146.6
      2/16/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.05
      2/16/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          487.1
      2/16/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.16
      2/16/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      2/16/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 223425 Q13170                  352.68
      2/16/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      2/16/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      2/16/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/16/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/16/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/16/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.96
      2/16/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         571.77
      2/16/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      2/16/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/16/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      2/16/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/16/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/16/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.24
      2/16/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      2/16/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      2/16/2019    709   IA0007   Owner Operator   Advance                        EFS 211341 s/u $250/wk                  250
      2/16/2019    709   IA0007   Owner Operator   Advance                        EFS 211341 s/u $250/wk               -984.06
      2/16/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/16/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      2/16/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/16/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.42
      2/16/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      2/16/2019    709   IA0007   Owner Operator   Repair Order                   CTMS - 223338 REPAIRS                  167.1
      2/16/2019    709   IA0007   Owner Operator   T Chek Fee                     ExpressCheck Fee                        9.74
      2/16/2019    709   IA0007   Owner Operator   T Chek Fee                     Tractor Repair 34012                  974.32
      2/16/2019    709   IA0007   Owner Operator   Tire Fee                       Tire Fee: 2233588                          4
      2/16/2019    709   IA0007   Owner Operator   Tire Purchase                  PO: 709-00392642 - PO System           50.01
      2/16/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      2/16/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/16/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      2/16/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.63
      2/16/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.02
      2/16/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      2/16/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/16/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/16/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/16/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/16/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      2/16/2019    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-9               62
      2/16/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/16/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/16/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.88
      2/16/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.47
      2/16/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      2/16/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      2/16/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      2/16/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      2/16/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      2/16/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      2/16/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      2/16/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.17
      2/16/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.28
      2/16/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      2/16/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 223475 Q13197 Lease            276.63
      2/16/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      2/16/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      2/16/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/16/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      2/16/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      2/16/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/16/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      2/16/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            400
      2/16/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      2/16/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         597.31
      2/16/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.25
      2/16/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      2/16/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         251.27
      2/16/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      2/16/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      2/16/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/16/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      2/16/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/16/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/16/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.12
      2/16/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.74
      2/16/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.78
      2/16/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
      2/16/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22

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      2/16/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00390450 - PO System          438.78
      2/16/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      2/16/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/16/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      2/16/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/16/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/16/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.04
      2/16/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      2/16/2019    709   JG0092   Owner Operator   Toll Charges                   33669 BATA Benicia                        26
      2/16/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      2/16/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      2/16/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-9             155
      2/16/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/16/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/16/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.68
      2/16/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      2/16/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      2/16/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      2/16/2019    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance                           26.21
      2/16/2019    709   JR0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.26
      2/16/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.76
      2/16/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      2/16/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 223383 Truck Lease             278.76
      2/16/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/16/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      2/16/2019    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23         -22.67
      2/16/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/16/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/16/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/16/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/16/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/16/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          55.84
      2/16/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.28
      2/16/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.1
      2/16/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      2/16/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      2/16/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/16/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      2/16/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      2/16/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      2/16/2019    709   KT0055   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23         -22.49
      2/16/2019    709   KT0055   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23         -22.49
      2/16/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/16/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.48
      2/16/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.55
      2/16/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.95
      2/16/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.49
      2/16/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      2/16/2019    709   KT0055   Owner Operator   T Chek Fee                     ExpressCheck Fee                       11.26
      2/16/2019    709   KT0055   Owner Operator   T Chek Fee                     Tractor Repair Q13156                1125.75
      2/16/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 223427 Q13156 Lease            388.16
      2/16/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      2/16/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      2/16/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      2/16/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 223533 Past due tractor        252.11
      2/16/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 223547 Lease Q1111             252.11
      2/16/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      2/16/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      2/16/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      2/16/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      2/16/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      2/16/2019    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23        -276.25
      2/16/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/16/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.55
      2/16/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      2/16/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75

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      2/16/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      2/16/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.6
      2/16/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.12
      2/16/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         579.73
      2/16/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      2/16/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 223431 Q1113 Lease             252.11
      2/16/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/16/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/16/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      2/16/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.13
      2/16/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.3
      2/16/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      2/16/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      2/16/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/16/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/16/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/16/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      2/16/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      2/16/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/16/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/16/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.28
      2/16/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      2/16/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.88
      2/16/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/16/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      2/16/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      2/16/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      2/16/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      2/16/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.2
      2/16/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.19
      2/16/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      2/16/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      2/16/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      2/16/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      2/16/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      2/16/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 223166 32986 Lease             314.03
      2/16/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 223427 32986 Lease             314.03
      2/16/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      2/16/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      2/16/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/16/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/16/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.36
      2/16/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.78
      2/16/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.83
      2/16/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      2/16/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      2/16/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      2/16/2019    709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23         -187.5
      2/16/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      2/16/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 223606 Truck 73130 Leas        196.65
      2/16/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/16/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      2/16/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/16/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          141.5
      2/16/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.3
      2/16/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.69
      2/16/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      2/16/2019    709   OJ0007   Owner Operator   Tire Fee                       Tire Fee: 2233591                         16
      2/16/2019    709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00392647 - PO System          244.49
      2/16/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      2/16/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      2/16/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      2/16/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.41
      2/16/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.13
      2/16/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      2/16/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.16
      2/16/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      2/16/2019    709   RL0017   Owner Operator   Advance                        1/9/19 Clm 72310-2 s/u pmts              250
      2/16/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/16/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                           13
      2/16/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      2/16/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          637.29
      2/16/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                       33.64
      2/16/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/16/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.22
      2/16/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      2/16/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
      2/16/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/16/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
      2/16/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/16/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/16/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/16/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/16/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          483.12
      2/16/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          491.27
      2/16/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           199.2
      2/16/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                       33.64
      2/16/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/16/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.15
      2/16/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          512.16
      2/16/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      2/16/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           13
      2/16/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            100
      2/16/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          517.31
      2/16/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          343.47
      2/16/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                       33.64
      2/16/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/16/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    51.57
      2/16/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism            2.5
      2/16/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                          350.65
      2/16/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                     27.48
      2/16/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                        8.75
      2/16/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                           13
      2/16/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          433.43
      2/16/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.42
      2/16/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/16/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        31.25
      2/16/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
      2/16/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                           13
      2/16/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.77
      2/16/2019    709   RP0082   Owner Operator   Loan Repayment                 EFS 210816                            -2953.2
      2/16/2019    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          249.81
      2/16/2019    709   RP0082   Owner Operator   Loan Repayment                 REV C.C EFS 210816                     2953.2
      2/16/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/16/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD               58.6
      2/16/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 223283 TRUCK RENTAL               350
      2/16/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 223383 Q1202 Truck Leas         278.76
      2/16/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 223534 TRUCK RENTAL               350
      2/16/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                 8.75
      2/16/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                            8
      2/16/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/16/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/16/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          598.14
      2/16/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          581.47
      2/16/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          248.42
      2/16/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/16/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                 65.08
      2/16/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror            2.5
      2/16/2019    709   RR0123   Owner Operator   Repair Order                   CTMS - 223284 REPAIR                   356.34
      2/16/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 223430 Q1248                    311.97
      2/16/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      2/16/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                           13
      2/16/2019    709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23         -158.75
      2/16/2019    709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                    -2692.28
      2/16/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      2/16/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/16/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/16/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2

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      2/16/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/16/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.96
      2/16/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           386.7
      2/16/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.52
      2/16/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          192.01
      2/16/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                       33.64
      2/16/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment          247.89
      2/16/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/16/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   100.98
      2/16/2019    709   SB0009   Owner Operator   T Chek Fee                     Cancelled EFS 197331                 -2665.62
      2/16/2019    709   SB0009   Owner Operator   T Chek Fee                     Cancelled EFS 197331 Fee               -26.66
      2/16/2019    709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                        26.66
      2/16/2019    709   SB0009   Owner Operator   T Chek Fee                     Tractor Repair 33236                  2665.62
      2/16/2019    709   SB0009   Owner Operator   Tire Fee                       Tire Fee: 2234849                           4
      2/16/2019    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00394271 - PO System           212.81
      2/16/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
      2/16/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      2/16/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          164.71
      2/16/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          285.51
      2/16/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                           225.4
      2/16/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.53
      2/16/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/16/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      2/16/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      2/16/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
      2/16/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      2/16/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                            100
      2/16/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            495
      2/16/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            125
      2/16/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                       33.64
      2/16/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/16/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
      2/16/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
      2/16/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      2/16/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      2/16/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23         -125.22
      2/16/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            386
      2/16/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.01
      2/16/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/16/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
      2/16/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    154.84
      2/16/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      2/16/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      2/16/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      2/16/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.46
      2/16/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          208.16
      2/16/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          325.73
      2/16/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          290.86
      2/16/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          281.11
      2/16/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          259.17
      2/16/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/16/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.54
      2/16/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      2/16/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      2/16/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/16/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
      2/16/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      2/16/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      2/16/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      2/16/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/16/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/16/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.72
      2/16/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           202.3
      2/16/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          291.73
      2/16/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/16/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 60.47
      2/16/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 223430 Q1238 Lease              311.97
      2/16/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum           8.75
      2/16/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                           8
      2/16/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          175.09
      2/16/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          556.19
      2/16/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/16/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum          46.88

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      2/16/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      2/16/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      2/16/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      2/16/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.88
      2/16/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      2/16/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/16/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      2/16/2019    742   DA0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23         -22.49
      2/16/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.32
      2/16/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.79
      2/16/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.28
      2/16/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      2/16/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/16/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      2/16/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         580.06
      2/16/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.16
      2/16/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      2/16/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      2/16/2019    742   DS0254   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-9            840.1
      2/16/2019    742   DS0254   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23         -22.49
      2/16/2019    742   DS0254   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/16/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                          150.75
      2/16/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/16/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/16/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.51
      2/16/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.84
      2/16/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.51
      2/16/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.86
      2/16/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.15
      2/16/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.66
      2/16/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      2/16/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      2/16/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/16/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      2/16/2019    742   EA0039   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 2-23            -80
      2/16/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.81
      2/16/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      2/16/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      2/16/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/16/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      2/16/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/16/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/16/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.17
      2/16/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.65
      2/16/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.67
      2/16/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.8
      2/16/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      2/16/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      2/16/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/16/2019    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG Cumberland Ridge D          1.84
      2/16/2019    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG Cumberland Ridge D          1.84
      2/16/2019    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Northwest M           4.4
      2/16/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      2/16/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      2/16/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      2/16/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      2/16/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      2/16/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      2/16/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      2/16/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/16/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           360
      2/16/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      2/16/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/16/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      2/16/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/16/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75

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      2/16/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/16/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      2/16/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      2/16/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.71
      2/16/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      2/16/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      2/16/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      2/16/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      2/16/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      2/16/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/16/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/16/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.45
      2/16/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.25
      2/16/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.47
      2/16/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.76
      2/16/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      2/16/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      2/16/2019    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00387973 - PO System          605.02
      2/16/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/16/2019    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      2/16/2019    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                            100
      2/16/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      2/16/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      2/16/2019    742   OS0018   Owner Operator   Tire Fee                       Tire Fee: 2234349                          4
      2/16/2019    742   OS0018   Owner Operator   Tire Purchase                  PO: 742-00394035 - PO System           82.51
      2/16/2019    742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
      2/16/2019    742   PC0012   Owner Operator   Loan Repayment                 efs 210949                             -4363
      2/16/2019    742   PC0012   Owner Operator   T Chek Fee                     ExpressCheck Fee                          63
      2/16/2019    742   PC0012   Owner Operator   T Chek Fee                     Tractor Repair 32969                    6300
      2/16/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      2/16/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      2/16/2019    742   RF0136   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-9            62.31
      2/16/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/16/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/16/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/16/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.56
      2/16/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.56
      2/16/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          126.7
      2/16/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      2/16/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      2/16/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      2/16/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      2/16/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      2/16/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          335.9
      2/16/2019    742   RN0054   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         35.11
      2/16/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      2/16/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      2/16/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      2/16/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      2/16/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      2/16/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      2/16/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      2/16/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      2/16/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      2/16/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      2/16/2019    742   RS0342   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        344.15
      2/16/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/16/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      2/16/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      2/16/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      2/16/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      2/16/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      2/16/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      2/16/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/16/2019    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 223507 Trailer Wash              -124

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      2/16/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                      13
      2/16/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-9        57.14
      2/16/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/16/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                   58.6
      2/16/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism          2.5
      2/16/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL         8.75
      2/16/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                       8
      2/16/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                         50
      2/16/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      395.8
      2/16/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     160.97
      2/16/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     315.63
      2/16/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      397.1
      2/16/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/16/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD         67.19
      2/16/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter       2.5
      2/16/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                  8.75
      2/16/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                       8
      2/16/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                     200.21
      2/16/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/16/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                   37.5
      2/16/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism          2.5
      2/16/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                      8.75
      2/16/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                      8.75
      2/16/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                      13
      2/16/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                      13
      2/16/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     150.07
      2/16/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     180.22
      2/16/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                     510.77
      2/16/2019    843   EI0003   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax    201.06
      2/16/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/16/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/16/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                      74.22
      2/16/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                      74.22
      2/16/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism              2.5
      2/16/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism              2.5
      2/16/2019    843   EI0003   Owner Operator   Repair Order                   CTMS - 223284 33949              1075.48
      2/23/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL        8.75
      2/23/2019    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                 9.84
      2/23/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                     13
      2/23/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                      379.5
      2/23/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/23/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD         7.79
      2/23/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te       2.5
      2/23/2019    709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS NORTH 11    -10.08
      2/23/2019    709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS NORTH 11    -10.08
      2/23/2019    709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS SOUTH 11    -10.08
      2/23/2019    709   AN0007   Owner Operator   Toll Charges                   21157A TOMATO SPRINGS SOUTH 11    -10.08
      2/23/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL        8.75
      2/23/2019    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                 9.84
      2/23/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                     13
      2/23/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                     13
      2/23/2019    709   AR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16       22.49
      2/23/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                     230.65
      2/23/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                     159.49
      2/23/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                     394.91
      2/23/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                      351.3
      2/23/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      2/23/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD        35.15
      2/23/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 223534 Q13147 Lease          5.07
      2/23/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 223801 Q13147 Lease        440.14
      2/23/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                59.95
      2/23/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                59.95
      2/23/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                59.95
      2/23/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL        8.75
      2/23/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL        8.75
      2/23/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL        8.75
      2/23/2019    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                 9.84
      2/23/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                      8
      2/23/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                      8
      2/23/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                      8
      2/23/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                       125
      2/23/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                     246.64
      2/23/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                     123.93

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      2/23/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      2/23/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.02
      2/23/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.6
      2/23/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.02
      2/23/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.45
      2/23/2019    709   AV0021   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax        166.53
      2/23/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                   8.89
      2/23/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      2/23/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      2/23/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      2/23/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 223260 Q13169 Sublease         352.68
      2/23/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 223547 Q13169 Sublease         352.68
      2/23/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 223800 Q13169 Sublease         352.68
      2/23/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      2/23/2019    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      2/23/2019    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                     19.68
      2/23/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      2/23/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      2/23/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      2/23/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      2/23/2019    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      2/23/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      2/23/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            400
      2/23/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/23/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/23/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      2/23/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.04
      2/23/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.3
      2/23/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.12
      2/23/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.53
      2/23/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
      2/23/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      2/23/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 223703 Q13168 sub lease        352.68
      2/23/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/23/2019    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      2/23/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      2/23/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/23/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.23
      2/23/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      2/23/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
      2/23/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      2/23/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/23/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      2/23/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      2/23/2019    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                      9.84
      2/23/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      2/23/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/23/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.76
      2/23/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.05
      2/23/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.14
      2/23/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.69
      2/23/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      2/23/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      2/23/2019    709   CR0064   Owner Operator   Tire Purchase                  PO: 709-00388976 - PO System          102.49
      2/23/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      2/23/2019    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                      9.84
      2/23/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      2/23/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.15
      2/23/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      2/23/2019    709   CS0091   Owner Operator   Repair Order                   CTMS - 223899 REPAIR                  112.27
      2/23/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 223710 Q1201                   278.76
      2/23/2019    709   DL0029   Owner Operator   Advance                        1/24/19 Clm 72492-2 s/u pmts            250
      2/23/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75

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      2/23/2019    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                      9.84
      2/23/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      2/23/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.13
      2/23/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.09
      2/23/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.53
      2/23/2019    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00013 - Loan Repayment         376.27
      2/23/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      2/23/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      2/23/2019    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      2/23/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      2/23/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.51
      2/23/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.21
      2/23/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         648.28
      2/23/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      2/23/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      2/23/2019    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00390840 - PO System           95.23
      2/23/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 223759 Sublease                338.99
      2/23/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      2/23/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/23/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.75
      2/23/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      2/23/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      2/23/2019    709   DM0257   Owner Operator   Tire Purchase                  PO: 709-00391380 - PO System            180
      2/23/2019    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    18.36
      2/23/2019    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    -73.5
      2/23/2019    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    -73.5
      2/23/2019    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    -73.5
      2/23/2019    709   DS0049   Owner Operator   24 HOUR DISABILITY             L&H                                    -73.5
      2/23/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/23/2019    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                      9.84
      2/23/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      2/23/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/23/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/23/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.02
      2/23/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         618.99
      2/23/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      2/23/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      2/23/2019    709   DS0049   Owner Operator   Toll Charges                   32915 BATA Bay Bridge                     26
      2/23/2019    709   DS0049   Owner Operator   Toll Charges                   32915 San Mateo 4                         26
      2/23/2019    709   DS0049   Owner Operator   Toll Charges                   32915/TL1300 Bay Bridge 18                26
      2/23/2019    709   DS0049   Owner Operator   Toll Charges                   32915/TL9207 Bay Bridge 17               -25
      2/23/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      2/23/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      2/23/2019    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                      9.84
      2/23/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      2/23/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      2/23/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      2/23/2019    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      2/23/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                       12.14
      2/23/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      2/23/2019    709   DS0288   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16           70.68
      2/23/2019    709   DS0288   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16            155
      2/23/2019    709   DS0288   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-2         -182.28
      2/23/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/23/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/23/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      2/23/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      2/23/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      2/23/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      2/23/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      2/23/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      2/23/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      2/23/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      2/23/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.34
      2/23/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.23
      2/23/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.62
      2/23/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.14
      2/23/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.13

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      2/23/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.41
      2/23/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.85
      2/23/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.89
      2/23/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.18
      2/23/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/23/2019    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                      9.84
      2/23/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      2/23/2019    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-2             -50
      2/23/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/23/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/23/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         656.93
      2/23/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      2/23/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      2/23/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      2/23/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      2/23/2019    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      2/23/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      2/23/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         725.85
      2/23/2019    709   EG0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         256.29
      2/23/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      2/23/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      2/23/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      2/23/2019    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      2/23/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      2/23/2019    709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16           22.47
      2/23/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/23/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/23/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.14
      2/23/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           395
      2/23/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.15
      2/23/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.06
      2/23/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      2/23/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      2/23/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      2/23/2019    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      2/23/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      2/23/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/23/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/23/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.48
      2/23/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.85
      2/23/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.21
      2/23/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                1127.92
      2/23/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      2/23/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      2/23/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 223815 truck lease 3304        434.29
      2/23/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/23/2019    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521B                     9.84
      2/23/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      2/23/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.89
      2/23/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      2/23/2019    709   FV0001   Owner Operator   Toll Charges                   21521B Bay Bridge 17                      26
      2/23/2019    709   FV0001   Owner Operator   Toll Charges                   21521B Bay Bridge 18                      26
      2/23/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/23/2019    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRK34330                      9.84
      2/23/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      2/23/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/23/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.84
      2/23/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      2/23/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      2/23/2019    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00390138 - PO System          441.53
      2/23/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      2/23/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      2/23/2019    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      2/23/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      2/23/2019    709   GS0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-2           -43.4

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      2/23/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      2/23/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 223814 Lease                   252.11
      2/23/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      2/23/2019    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      2/23/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      2/23/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.84
      2/23/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.14
      2/23/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.55
      2/23/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      2/23/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 223859 Q1109 Lease             302.85
      2/23/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      2/23/2019    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      2/23/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      2/23/2019    709   HC0023   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16           146.6
      2/23/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.39
      2/23/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.06
      2/23/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      2/23/2019    709   HC0023   Owner Operator   Repair Order                   CTMS - 223899 REPAIR                    180
      2/23/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 223704 Q13170                  352.68
      2/23/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      2/23/2019    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK33180                      9.84
      2/23/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
      2/23/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/23/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/23/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/23/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/23/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.83
      2/23/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         579.54
      2/23/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.61
      2/23/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/23/2019    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      2/23/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      2/23/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/23/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/23/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.58
      2/23/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.12
      2/23/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      2/23/2019    709   IA0007   Owner Operator   Advance                        EFS 211341 s/u $250/wk                  250
      2/23/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/23/2019    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      2/23/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      2/23/2019    709   IA0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-2          -52.08
      2/23/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/23/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.11
      2/23/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.64
      2/23/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.64
      2/23/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      2/23/2019    709   IA0007   Owner Operator   Tire Purchase                  PO: 709-00392642 - PO System           50.01
      2/23/2019    709   IA0007   Owner Operator   Truck Payment                  CTMS - 223339 TRUCK RENTAL            374.37
      2/23/2019    709   IA0007   Owner Operator   Truck Payment                  CTMS - 223597 TRUCK RENTAL            374.37
      2/23/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      2/23/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/23/2019    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      2/23/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      2/23/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.82
      2/23/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.87
      2/23/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      2/23/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/23/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/23/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      2/23/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/23/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.93
      2/23/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.51

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      2/23/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/23/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  27.33
      2/23/2019    709   JA0156   Owner Operator   Communication Charge           Pnet Device Not Returned             802.21
      2/23/2019    709   JA0156   Owner Operator   ESCROW                         Final Balance Refund                   -800
      2/23/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.96
      2/23/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL              8.75
      2/23/2019    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                  12.5
      2/23/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                        13
      2/23/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      2/23/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/23/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/23/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        378.12
      2/23/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        242.21
      2/23/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                           262
      2/23/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        273.49
      2/23/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/23/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.18
      2/23/2019    709   JC0292   Owner Operator   Repair Order                   CTMS - 223899 REPAIR                     60
      2/23/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 Carquinez Bridge 9                26
      2/23/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 223756 Q13197 Lease           276.63
      2/23/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      2/23/2019    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                     9.84
      2/23/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      2/23/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
      2/23/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/23/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      2/23/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      2/23/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      2/23/2019    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                     9.84
      2/23/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      2/23/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/23/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/23/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      2/23/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      2/23/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        540.86
      2/23/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        409.82
      2/23/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                     33.64
      2/23/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        251.27
      2/23/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/23/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.85
      2/23/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                      26
      2/23/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                     -25
      2/23/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                     -25
      2/23/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      2/23/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      2/23/2019    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                     9.84
      2/23/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      2/23/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/23/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/23/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      2/23/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      2/23/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.83
      2/23/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        524.95
      2/23/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        402.57
      2/23/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        412.65
      2/23/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                     33.64
      2/23/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/23/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      2/23/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00390450 - PO System         438.78
      2/23/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      2/23/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      2/23/2019    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                     9.84
      2/23/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      2/23/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.28
      2/23/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/23/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.15
      2/23/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      2/23/2019    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                     9.84
      2/23/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      2/23/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.66
      2/23/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      2/23/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51
      2/23/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75

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      2/23/2019    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      2/23/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      2/23/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.48
      2/23/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      2/23/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 223661 Truck Lease             278.76
      2/23/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      2/23/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   1 2000 Peterbilt NTL                    8.75
      2/23/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      2/23/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      2/23/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      2/23/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      2/23/2019    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                     9.84
      2/23/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      2/23/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      2/23/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      2/23/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/23/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.93
      2/23/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.96
      2/23/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.73
      2/23/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      2/23/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      2/23/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.93
      2/23/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                1 2000 Peterbilt PD                    15.94
      2/23/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      2/23/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      2/23/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.22
      2/23/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      2/23/2019    709   JS0265   Owner Operator   Tire Fee                       Tire Fee: 2234350                          8
      2/23/2019    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00393924 - PO System          210.31
      2/23/2019    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00393924 - PO System          210.31
      2/23/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/23/2019    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      2/23/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      2/23/2019    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16           22.67
      2/23/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      2/23/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/23/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/23/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/23/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/23/2019    709   KP0004   Owner Operator   Fuel Purchase                  Credit Fuel Purchase                    -125
      2/23/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.04
      2/23/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.66
      2/23/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          38.08
      2/23/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.18
      2/23/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.14
      2/23/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      2/23/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      2/23/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/23/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      2/23/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      2/23/2019    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                     9.84
      2/23/2019    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      2/23/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      2/23/2019    709   KT0055   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16           22.49
      2/23/2019    709   KT0055   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16           22.49
      2/23/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/23/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.4
      2/23/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.41
      2/23/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.79
      2/23/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.41
      2/23/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      2/23/2019    709   KT0055   Owner Operator   Toll Charges                   Q13156 Carquinez Bridge 12               -25
      2/23/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 223705 Q13156 Lease            388.16
      2/23/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      2/23/2019    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      2/23/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      2/23/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04

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      2/23/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 223814 Past due tractor        252.11
      2/23/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 223815 Lease Q1111             252.11
      2/23/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      2/23/2019    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                      9.84
      2/23/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      2/23/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/23/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         752.06
      2/23/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.57
      2/23/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.01
      2/23/2019    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     26
      2/23/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      2/23/2019    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      2/23/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      2/23/2019    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16          276.25
      2/23/2019    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-2          -66.96
      2/23/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/23/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.44
      2/23/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      2/23/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      2/23/2019    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                      9.84
      2/23/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      2/23/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.56
      2/23/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.81
      2/23/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.08
      2/23/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      2/23/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 223703 Q1113 Lease             252.11
      2/23/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/23/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      2/23/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.07
      2/23/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.41
      2/23/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      2/23/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/23/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/23/2019    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                      9.84
      2/23/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      2/23/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      2/23/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      2/23/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      71.86
      2/23/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/23/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      2/23/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      2/23/2019    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      2/23/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      2/23/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      2/23/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/23/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.12
      2/23/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         758.16
      2/23/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      2/23/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      2/23/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      2/23/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      2/23/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      2/23/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 223706 32986 Lease             314.03
      2/23/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      2/23/2019    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      2/23/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      2/23/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/23/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/23/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.59
      2/23/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.27
      2/23/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      2/23/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      2/23/2019    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      2/23/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13

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      2/23/2019    709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16           187.5
      2/23/2019    709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-2          -53.28
      2/23/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      2/23/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 223856 Truck 73130 Leas        196.65
      2/23/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/23/2019    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
      2/23/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      2/23/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/23/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.39
      2/23/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.98
      2/23/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.52
      2/23/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.89
      2/23/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.56
      2/23/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
      2/23/2019    709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00392647 - PO System          244.49
      2/23/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      2/23/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      2/23/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      2/23/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-2         -582.28
      2/23/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.21
      2/23/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.31
      2/23/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                           15.8
      2/23/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.03
      2/23/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         615.73
      2/23/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      2/23/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      2/23/2019    709   RL0017   Owner Operator   Advance                        1/9/19 Clm 72310-2 s/u pmts             250
      2/23/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/23/2019    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      2/23/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      2/23/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/23/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         695.94
      2/23/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      2/23/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      2/23/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/23/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      2/23/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/23/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      2/23/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/23/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.94
      2/23/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.75
      2/23/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.26
      2/23/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.95
      2/23/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      2/23/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      2/23/2019    709   RL0062   Owner Operator   Repair Order                   CTMS - 223899 REPAIR                  112.27
      2/23/2019    709   RL0062   Owner Operator   Tire Fee                       Tire Fee: 2236740                         16
      2/23/2019    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00394488 - PO System          409.63
      2/23/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      2/23/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      2/23/2019    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      2/23/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      2/23/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/23/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.31
      2/23/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.72
      2/23/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         621.69
      2/23/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      2/23/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      2/23/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      2/23/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      2/23/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      2/23/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      2/23/2019    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      2/23/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      2/23/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.79
      2/23/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.11

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      2/23/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.09
      2/23/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      2/23/2019    709   RM0026   Owner Operator   Repair Order                   CTMS - 223899 REPAIR                   84.03
      2/23/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      2/23/2019    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      2/23/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      2/23/2019    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              80
      2/23/2019    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      2/23/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.01
      2/23/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.47
      2/23/2019    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         249.81
      2/23/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      2/23/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 223661 Q1202 Truck Leas        278.76
      2/23/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      2/23/2019    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      2/23/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      2/23/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/23/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/23/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         594.31
      2/23/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         599.42
      2/23/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      2/23/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      2/23/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      2/23/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 223710 Q1248                   311.97
      2/23/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      2/23/2019    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      2/23/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      2/23/2019    709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16          158.75
      2/23/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/23/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.27
      2/23/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.7
      2/23/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.95
      2/23/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.44
      2/23/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.96
      2/23/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      2/23/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      2/23/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      2/23/2019    709   SB0009   Owner Operator   Repair Order                   CTMS - 223899 REPAIR                   151.8
      2/23/2019    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00394271 - PO System          212.81
      2/23/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      2/23/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      2/23/2019    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      2/23/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      2/23/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      2/23/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.26
      2/23/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.18
      2/23/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.9
      2/23/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.5
      2/23/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      2/23/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      2/23/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 223380 Sub Lease               388.33
      2/23/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 223658 Sub Lease               388.33
      2/23/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      2/23/2019    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      2/23/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      2/23/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/23/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.38
      2/23/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.45
      2/23/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.08
      2/23/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           267
      2/23/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      2/23/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      2/23/2019    709   SM0109   Owner Operator   Tire Fee                       Tire Fee: 2236742                          4
      2/23/2019    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00394310 - PO System           12.17
      2/23/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      2/23/2019    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      2/23/2019    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                   -237.8

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      2/23/2019    709   SN0019   Owner Operator   24 HOUR DISABILITY             L&H                                    59.45
      2/23/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      2/23/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      2/23/2019    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                     19.68
      2/23/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      2/23/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      2/23/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/23/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/23/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/23/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/23/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/23/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.35
      2/23/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.61
      2/23/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.33
      2/23/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.17
      2/23/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.03
      2/23/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.94
      2/23/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      2/23/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      2/23/2019    709   SN0019   Owner Operator   Repair Order                   CTMS - 223338 REPAIR                  185.45
      2/23/2019    709   SN0019   Owner Operator   Repair Order                   CTMS - 223338 REPAIR                  253.59
      2/23/2019    709   SN0019   Owner Operator   Tire Fee                       Tire Fee: 2233538                         16
      2/23/2019    709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00391926 - PO System          202.25
      2/23/2019    709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00391926 - PO System          202.25
      2/23/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      2/23/2019    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      2/23/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      2/23/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16          125.22
      2/23/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            331
      2/23/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.01
      2/23/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            151
      2/23/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      2/23/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      2/23/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/23/2019    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      2/23/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      2/23/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      2/23/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/23/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/23/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/23/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/23/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.9
      2/23/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.78
      2/23/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.42
      2/23/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.35
      2/23/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.48
      2/23/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.26
      2/23/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.27
      2/23/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      2/23/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      2/23/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 VDOT ERT: Downtown Tunne          5.36
      2/23/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/23/2019    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      2/23/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      2/23/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-2            -100
      2/23/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      2/23/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      2/23/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      2/23/2019    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      2/23/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      2/23/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.42
      2/23/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.92
      2/23/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.77
      2/23/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47

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      2/23/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 Benicia 12                          26
      2/23/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 223710 Q1238 Lease             311.97
      2/23/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      2/23/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      2/23/2019    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      2/23/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      2/23/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      2/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/23/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.69
      2/23/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.95
      2/23/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.41
      2/23/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.37
      2/23/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.59
      2/23/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      2/23/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      2/23/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      2/23/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      2/23/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      2/23/2019    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13151                     9.84
      2/23/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      2/23/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.74
      2/23/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.36
      2/23/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.51
      2/23/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.85
      2/23/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.87
      2/23/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.66
      2/23/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.28
      2/23/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
      2/23/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      2/23/2019    742   BS0078   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.11
      2/23/2019    742   BS0078   Owner Operator   T Chek Fee                     Tractor Repair Q13151                 110.73
      2/23/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      2/23/2019    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      2/23/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      2/23/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.95
      2/23/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.2
      2/23/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.18
      2/23/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.27
      2/23/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      2/23/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/23/2019    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      2/23/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      2/23/2019    742   DA0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16           22.49
      2/23/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           230
      2/23/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      2/23/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/23/2019    742   DA0067   Owner Operator   Tire Fee                       Tire Fee: 2132756                          8
      2/23/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.15
      2/23/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.89
      2/23/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      2/23/2019    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      2/23/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      2/23/2019    742   DS0254   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16           22.49
      2/23/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/23/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.84
      2/23/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.27
      2/23/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76

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      2/23/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      2/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 1                    26
      2/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 1                    26
      2/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 2                   -25
      2/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 12                -25
      2/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 4                  16
      2/23/2019    742   DS0254   Owner Operator   Toll Charges                   33847 Benicia 12                          26
      2/23/2019    742   DS0254   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      2/23/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 223756 Trk 33487 Lease          434.2
      2/23/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/23/2019    742   EA0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33993                     19.68
      2/23/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      2/23/2019    742   EA0039   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-16              80
      2/23/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.14
      2/23/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.43
      2/23/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         581.27
      2/23/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      2/23/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      2/23/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      2/23/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      2/23/2019    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      2/23/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      2/23/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      2/23/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.96
      2/23/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.15
      2/23/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      2/23/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      2/23/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      2/23/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      2/23/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/23/2019    742   EN0016   Owner Operator   Broker Pre Pass                DriveWyze TRK32947                      9.84
      2/23/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      2/23/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/23/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.59
      2/23/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.04
      2/23/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.24
      2/23/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.76
      2/23/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      2/23/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      2/23/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/23/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 11                -25
      2/23/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      2/23/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      2/23/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      2/23/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      2/23/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      2/23/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      2/23/2019    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
      2/23/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      2/23/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/23/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         634.12
      2/23/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.01
      2/23/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      2/23/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/23/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/23/2019    742   JS0390   Owner Operator   Broker Pre Pass                DriveWyze TRK34327                      9.84
      2/23/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      2/23/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      2/23/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/23/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/23/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.26
      2/23/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.37
      2/23/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.14
      2/23/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.83
      2/23/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.02
      2/23/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      2/23/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    67.19
      2/23/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    67.18
      2/23/2019    742   JS0390   Owner Operator   Toll Charges                   34327 ILTOLL Cermak Rd.                  6.65
      2/23/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      2/23/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                           13
      2/23/2019    742   MH0117   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-2         -4446.95
      2/23/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                              50
      2/23/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/23/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                              75
      2/23/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      2/23/2019    742   MH0117   Owner Operator   Toll Charges                   33296 Antioch Bridge 2                     26
      2/23/2019    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 9                  -25
      2/23/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                   8.75
      2/23/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                           13
      2/23/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           86.57
      2/23/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           86.58
      2/23/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           80.61
      2/23/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                            99.9
      2/23/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/23/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                   27.33
      2/23/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris            2.5
      2/23/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge                26
      2/23/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.46
      2/23/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.94
      2/23/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.95
      2/23/2019    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                 6.74
      2/23/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      2/23/2019    742   OS0018   Owner Operator   Broker Pre Pass                DriveWyze TRK34147                      19.68
      2/23/2019    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                           13
      2/23/2019    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                            100
      2/23/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/23/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    31.25
      2/23/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism            2.5
      2/23/2019    742   OS0018   Owner Operator   Tire Purchase                  PO: 742-00394035 - PO System            82.51
      2/23/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.56
      2/23/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      5.55
      2/23/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/23/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/23/2019    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                       9.84
      2/23/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      2/23/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                           13
      2/23/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          377.61
      2/23/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          227.47
      2/23/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          359.33
      2/23/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          212.31
      2/23/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                       33.64
      2/23/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                       33.64
      2/23/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          262.01
      2/23/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          262.01
      2/23/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.35
      2/23/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   104.38
      2/23/2019    742   PC0012   Owner Operator   Toll Charges                   32969 Antioch Bridge 2                    -25
      2/23/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      2/23/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          509.18
      2/23/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             8.75
      2/23/2019    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13157                      9.84
      2/23/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                          13
      2/23/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.27
      2/23/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.32
      2/23/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.39
      2/23/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.84
      2/23/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/23/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             35.15
      2/23/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
      2/23/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 223760 Tractor Lease            353.28
      2/23/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       8.75
      2/23/2019    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                       9.84
      2/23/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13
      2/23/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          231.86
      2/23/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.11
      2/23/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          432.43
      2/23/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          580.04
      2/23/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      2/23/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      2/23/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      2/23/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/23/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      2/23/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      2/23/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      2/23/2019    742   SK0049   Owner Operator   Toll Charges                   33934 BATA Bay Bridge                     26
      2/23/2019    742   SK0049   Owner Operator   Toll Charges                   33934 BATA Bay Bridge                     26
      2/23/2019    742   SK0049   Owner Operator   Toll Charges                   33934 BATA Bay Bridge                     26
      2/23/2019    742   SK0049   Owner Operator   Toll Charges                   33934 BATA Bay Bridge                     26
      2/23/2019    742   SK0049   Owner Operator   Toll Charges                   33934 BATA Bay Bridge                     26
      2/23/2019    742   SK0049   Owner Operator   Toll Charges                   33934 BATA Bay Bridge                     26
      2/23/2019    742   SK0049   Owner Operator   Toll Charges                   33934 BATA Bay Bridge                     26
      2/23/2019    742   SK0049   Owner Operator   Toll Charges                   33934/WFG5428 Bay Bridge 17                7
      2/23/2019    742   SK0049   Owner Operator   Toll Charges                   33934/WFG5428 Bay Bridge 17                7
      2/23/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      2/23/2019    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      2/23/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      2/23/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/23/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/23/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.07
      2/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.47
      2/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.29
      2/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.22
      2/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.87
      2/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.64
      2/23/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
      2/23/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      2/23/2019    742   TC0098   Owner Operator   Toll Charges                   33489 Carquinez Bridge 9                 -25
      2/23/2019    742   TC0098   Owner Operator   Toll Charges                   33489 HCTRA Hardy South - Barr             7
      2/23/2019    742   TC0098   Owner Operator   Toll Charges                   33489 HCTRA Ship Channel Bridg             7
      2/23/2019    742   TC0098   Owner Operator   Toll Charges                   33489 NTTA I-820 East TEXpress          24.9
      2/23/2019    742   TC0098   Owner Operator   Toll Charges                   33489 NTTA I35WS-US287S-22              11.7
      2/23/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/23/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      2/23/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.68
      2/23/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      2/23/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/23/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/23/2019    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      2/23/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      2/23/2019    843   EI0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-2             -18
      2/23/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         682.54
      2/23/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.03
      2/23/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          564.4
      2/23/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/23/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/23/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       3/2/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       3/2/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       3/2/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       3/2/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       3/2/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       3/2/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       3/2/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           236
       3/2/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.21
       3/2/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           214
       3/2/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           317
       3/2/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       3/2/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 224055 Q13147 Lease            440.14
       3/2/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       3/2/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       3/2/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       3/2/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.19
       3/2/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.51
       3/2/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.87
       3/2/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.42

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       3/2/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  50.94
       3/2/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       3/2/2019    709   AV0021   Owner Operator   Repair Order                   CTMS - 224148 REPAIR                  275.18
       3/2/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 224069 Q13169 Sublease         352.68
       3/2/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       3/2/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       3/2/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       3/2/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       3/2/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       3/2/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       3/2/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/2/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
       3/2/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       3/2/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/2/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.07
       3/2/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.74
       3/2/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          572.4
       3/2/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         345.02
       3/2/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       3/2/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 223967 Q13168 sub lease        352.68
       3/2/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/2/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       3/2/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/2/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/2/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         562.38
       3/2/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         616.97
       3/2/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
       3/2/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
       3/2/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       3/2/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/2/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       3/2/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       3/2/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       3/2/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.17
       3/2/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.85
       3/2/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.96
       3/2/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.31
       3/2/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
       3/2/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       3/2/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       3/2/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       3/2/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.07
       3/2/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       3/2/2019    709   CS0091   Owner Operator   Repair Order                   CTMS - 224148 REPAIR                  106.22
       3/2/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 223967 Q1201                   278.76
       3/2/2019    709   DL0029   Owner Operator   Advance                        1/24/19 Clm 72492-2 s/u pmts            250
       3/2/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/2/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       3/2/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.29
       3/2/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.11
       3/2/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.06
       3/2/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.72
       3/2/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.96
       3/2/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.62
       3/2/2019    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00013 - Loan Repayment          374.5
       3/2/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       3/2/2019    709   DL0107   Owner Operator   Accident Claim                 02/25/19 DL0107 Spill                 531.05
       3/2/2019    709   DL0107   Owner Operator   Advance                        2/25/19 Clm 72953-1 s/u 2 pmts       -531.05
       3/2/2019    709   DL0107   Owner Operator   Advance                        2/25/19 Clm 72953-1 s/u 2 wks         265.53
       3/2/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       3/2/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       3/2/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       3/2/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       3/2/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.42
       3/2/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.31
       3/2/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          547.1

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       3/2/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.09
       3/2/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       3/2/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       3/2/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 224020 Sublease                338.99
       3/2/2019    709   DM0257   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-9          -22.49
       3/2/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/2/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       3/2/2019    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-9         -280.69
       3/2/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          653.3
       3/2/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
       3/2/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       3/2/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       3/2/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       3/2/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       3/2/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         591.35
       3/2/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       3/2/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       3/2/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       3/2/2019    709   DS0288   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-23          182.28
       3/2/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/2/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                           7.53
       3/2/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          192.6
       3/2/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.17
       3/2/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.35
       3/2/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
       3/2/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/2/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       3/2/2019    709   EA0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-23              50
       3/2/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       3/2/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/2/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/2/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.83
       3/2/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.47
       3/2/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
       3/2/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       3/2/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       3/2/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       3/2/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       3/2/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.16
       3/2/2019    709   EG0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         256.29
       3/2/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       3/2/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       3/2/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       3/2/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       3/2/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.62
       3/2/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.08
       3/2/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.01
       3/2/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.27
       3/2/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       3/2/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       3/2/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       3/2/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       3/2/2019    709   FS0039   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-9          -22.49
       3/2/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/2/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/2/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/2/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/2/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.03
       3/2/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.03
       3/2/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 840.92
       3/2/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
       3/2/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       3/2/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 224068 truck lease 3304        434.29
       3/2/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/2/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13

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       3/2/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                             200
       3/2/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       3/2/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          608.95
       3/2/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          547.42
       3/2/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/2/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    39.07
       3/2/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
       3/2/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                           13
       3/2/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                              50
       3/2/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.78
       3/2/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          164.47
       3/2/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/2/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    23.44
       3/2/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism            2.5
       3/2/2019    709   GA0051   Owner Operator   Repair Order                   CTMS - 223900 REPAIR                   489.99
       3/2/2019    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00390138 - PO System           441.53
       3/2/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                            277
       3/2/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL              8.75
       3/2/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                           13
       3/2/2019    709   GS0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-23             43.4
       3/2/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          391.71
       3/2/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/2/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD              39.07
       3/2/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 224068 Lease                    252.11
       3/2/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL              8.75
       3/2/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                            8
       3/2/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
       3/2/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       3/2/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.45
       3/2/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          272.71
       3/2/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.28
       3/2/2019    709   GW0043   Owner Operator   Loan Repayment                 EFS 212634                           -3070.59
       3/2/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          259.74
       3/2/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/2/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD              44.11
       3/2/2019    709   GW0043   Owner Operator   T Chek Fee                     ExpressCheck Fee                         30.4
       3/2/2019    709   GW0043   Owner Operator   T Chek Fee                     Tractor Repair Q1109                  3040.19
       3/2/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 224092 Missed lease pay         151.41
       3/2/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 224110 Q1109 Lease              302.85
       3/2/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             8.75
       3/2/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                           8
       3/2/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          519.64
       3/2/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          342.14
       3/2/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/2/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             35.16
       3/2/2019    709   HC0023   Owner Operator   Repair Order                   CTMS - 224147 REPAIR                   293.92
       3/2/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 223961 Q13170                   352.68
       3/2/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                  8.75
       3/2/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                           13
       3/2/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                              50
       3/2/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             100
       3/2/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       3/2/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          543.77
       3/2/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/2/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                  15.63
       3/2/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
       3/2/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                           13
       3/2/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             200
       3/2/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       3/2/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.31
       3/2/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/2/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       54.69
       3/2/2019    709   IA0007   Owner Operator   Advance                        EFS 211341 s/u $250/wk                   250
       3/2/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
       3/2/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                            8
       3/2/2019    709   IA0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-23            52.08
       3/2/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            100
       3/2/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          432.17
       3/2/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/2/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    51.57
       3/2/2019    709   IA0007   Owner Operator   Tire Purchase                  PO: 709-00392642 - PO System            50.01
       3/2/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                     21.35
       3/2/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75

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       3/2/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       3/2/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.55
       3/2/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.37
       3/2/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       3/2/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/2/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       3/2/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
       3/2/2019    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-9          -22.49
       3/2/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/2/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.18
       3/2/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
       3/2/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       3/2/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       3/2/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       3/2/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       3/2/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/2/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/2/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.65
       3/2/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.48
       3/2/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.35
       3/2/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.26
       3/2/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.28
       3/2/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       3/2/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 224016 Q13197 Lease            276.63
       3/2/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       3/2/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
       3/2/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/2/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
       3/2/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       3/2/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/2/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       3/2/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/2/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       3/2/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       3/2/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/2/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.53
       3/2/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         614.02
       3/2/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
       3/2/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         251.27
       3/2/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       3/2/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       3/2/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/2/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       3/2/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       3/2/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       3/2/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.37
       3/2/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.92
       3/2/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.55
       3/2/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
       3/2/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       3/2/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00390450 - PO System          438.73
       3/2/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       3/2/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/2/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       3/2/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.73
       3/2/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.26
       3/2/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.26
       3/2/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
       3/2/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       3/2/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       3/2/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/2/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/2/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.73
       3/2/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       3/2/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75

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       3/2/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       3/2/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.31
       3/2/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       3/2/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 223926 Truck Lease             278.76
       3/2/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       3/2/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       3/2/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
       3/2/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
       3/2/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/2/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/2/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/2/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/2/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/2/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.25
       3/2/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.9
       3/2/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.47
       3/2/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.04
       3/2/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       3/2/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       3/2/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
       3/2/2019    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00393924 - PO System          210.31
       3/2/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 224114 Q13159 Lease             331.5
       3/2/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/2/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       3/2/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       3/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/2/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.78
       3/2/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.19
       3/2/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           175
       3/2/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           439
       3/2/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
       3/2/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       3/2/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/2/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       3/2/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
       3/2/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       3/2/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/2/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.78
       3/2/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.29
       3/2/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.36
       3/2/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.76
       3/2/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
       3/2/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 223963 Q13156 Lease            388.16
       3/2/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       3/2/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       3/2/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       3/2/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 224067 Past due tractor        252.11
       3/2/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 224069 Lease Q1111             252.11
       3/2/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       3/2/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       3/2/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/2/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/2/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         755.92
       3/2/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
       3/2/2019    709   MA0092   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-9         -559.72
       3/2/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       3/2/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       3/2/2019    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-23           66.96
       3/2/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/2/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.91
       3/2/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2018 - 34342                       100
       3/2/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
       3/2/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       3/2/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       3/2/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.94
       3/2/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.36

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       3/2/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       3/2/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 223968 Q1113 Lease             252.11
       3/2/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       3/2/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       3/2/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.15
       3/2/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.77
       3/2/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       3/2/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       3/2/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/2/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       3/2/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
       3/2/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              80
       3/2/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              40
       3/2/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
       3/2/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
       3/2/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.09
       3/2/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.92
       3/2/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
       3/2/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
       3/2/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       3/2/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       3/2/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       3/2/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              60
       3/2/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            140
       3/2/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
       3/2/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       3/2/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           125
       3/2/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.01
       3/2/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.67
       3/2/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       3/2/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       3/2/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       3/2/2019    709   NT9564   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-23           53.28
       3/2/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       3/2/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 224117 Truck 73130 Leas        196.65
       3/2/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/2/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       3/2/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/2/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.33
       3/2/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.89
       3/2/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.42
       3/2/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
       3/2/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 223912 REPAIRS                   250
       3/2/2019    709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00392647 - PO System          244.49
       3/2/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
       3/2/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       3/2/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       3/2/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-23          582.28
       3/2/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.82
       3/2/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.31
       3/2/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.64
       3/2/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.26
       3/2/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.11
       3/2/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       3/2/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       3/2/2019    709   RL0017   Owner Operator   Advance                        1/9/19 Clm 72310-2 s/u pmts             250
       3/2/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/2/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       3/2/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/2/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.78
       3/2/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.07
       3/2/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
       3/2/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       3/2/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/2/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05

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       3/2/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/2/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       3/2/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/2/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/2/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/2/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/2/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.44
       3/2/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.27
       3/2/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
       3/2/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       3/2/2019    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00394488 - PO System          409.63
       3/2/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       3/2/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       3/2/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.19
       3/2/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
       3/2/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    0.85
       3/2/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       3/2/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       3/2/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       3/2/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       3/2/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.04
       3/2/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       3/2/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       3/2/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       3/2/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                           385
       3/2/2019    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         249.81
       3/2/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       3/2/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 223926 Q1202 Truck Leas        278.76
       3/2/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       3/2/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       3/2/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/2/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/2/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.69
       3/2/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.27
       3/2/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.15
       3/2/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
       3/2/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       3/2/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       3/2/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 223967 Q1248                   311.97
       3/2/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       3/2/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       3/2/2019    709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-9          -22.67
       3/2/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       3/2/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/2/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/2/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/2/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/2/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.53
       3/2/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          365.3
       3/2/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.99
       3/2/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.09
       3/2/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
       3/2/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
       3/2/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       3/2/2019    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00394271 - PO System          212.81
       3/2/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       3/2/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       3/2/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       3/2/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.91
       3/2/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          219.2
       3/2/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.43
       3/2/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.72
       3/2/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       3/2/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       3/2/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 223923 Sub Lease               388.33
       3/2/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75

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       3/2/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
       3/2/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/2/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.26
       3/2/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           447
       3/2/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           426
       3/2/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
       3/2/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
       3/2/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
       3/2/2019    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00394310 - PO System           12.17
       3/2/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       3/2/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       3/2/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       3/2/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.97
       3/2/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.25
       3/2/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       3/2/2019    709   SN0019   Owner Operator   Repair Order                   CTMS - 223597 REPAIR                  253.59
       3/2/2019    709   SN0019   Owner Operator   Repair Order                   CTMS - 223865 REPAIR                  253.59
       3/2/2019    709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00391926 - PO System          202.25
       3/2/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       3/2/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       3/2/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.68
       3/2/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       3/2/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       3/2/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/2/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       3/2/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       3/2/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.57
       3/2/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
       3/2/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       3/2/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       3/2/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       3/2/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-23            100
       3/2/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-9           -16.5
       3/2/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       3/2/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       3/2/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       3/2/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       3/2/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/2/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/2/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.96
       3/2/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.37
       3/2/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.57
       3/2/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       3/2/2019    709   WH0087   Owner Operator   Repair Order                   CTMS - 223899 REPAIR                  563.44
       3/2/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 223967 Q1238 Lease             311.97
       3/2/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       3/2/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       3/2/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.68
       3/2/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.99
       3/2/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       3/2/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/2/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       3/2/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           505
       3/2/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.72
       3/2/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.06
       3/2/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       3/2/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/2/2019    742   DA0067   Owner Operator   Toll Charges                   33847 ILTOLL South Beloit               6.25
       3/2/2019    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
       3/2/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       3/2/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       3/2/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          82.75
       3/2/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         579.32
       3/2/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.05
       3/2/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75

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       3/2/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       3/2/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            300
       3/2/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       3/2/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.68
       3/2/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.68
       3/2/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.89
       3/2/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       3/2/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       3/2/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 224017 Trk 33487 Lease          434.2
       3/2/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/2/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       3/2/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.62
       3/2/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.43
       3/2/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          554.7
       3/2/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       3/2/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       3/2/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       3/2/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       3/2/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.77
       3/2/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.62
       3/2/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       3/2/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       3/2/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/2/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/2/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.66
       3/2/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       3/2/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       3/2/2019    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-9          -14.46
       3/2/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       3/2/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       3/2/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       3/2/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       3/2/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/2/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.82
       3/2/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       3/2/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.6
       3/2/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       3/2/2019    742   MH0117   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-23         4446.95
       3/2/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          15.22
       3/2/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       3/2/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       3/2/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.45
       3/2/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.52
       3/2/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       3/2/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       3/2/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
       3/2/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
       3/2/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
       3/2/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/2/2019    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
       3/2/2019    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/2/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
       3/2/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       3/2/2019    742   OS0018   Owner Operator   Tire Purchase                  PO: 742-00394035 - PO System           82.51
       3/2/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       3/2/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/2/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       3/2/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.98
       3/2/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.14
       3/2/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.89
       3/2/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.94
       3/2/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
       3/2/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.01
       3/2/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       3/2/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       3/2/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75

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       3/2/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       3/2/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/2/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/2/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/2/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/2/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.84
       3/2/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.7
       3/2/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.59
       3/2/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.02
       3/2/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
       3/2/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       3/2/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       3/2/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       3/2/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.84
       3/2/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.03
       3/2/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.42
       3/2/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.83
       3/2/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       3/2/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       3/2/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 224020 Tractor Lease           353.28
       3/2/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       3/2/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.19
       3/2/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.22
       3/2/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                      98.34
       3/2/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       3/2/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       3/2/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       3/2/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       3/2/2019    742   SK0049   Owner Operator   Toll Charges                   33934 BATA Bay Bridge                      7
       3/2/2019    742   SK0049   Owner Operator   Toll Charges                   33934 BATA Bay Bridge                     26
       3/2/2019    742   SK0049   Owner Operator   Toll Charges                   33934 BATA Bay Bridge                     26
       3/2/2019    742   SK0049   Owner Operator   Toll Charges                   33934 BATA Richmond                       26
       3/2/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       3/2/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       3/2/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/2/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.01
       3/2/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.34
       3/2/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
       3/2/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       3/2/2019    742   TC0098   Owner Operator   Toll Charges                   33489 HCTRA Sam Houston - Tele             5
       3/2/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 223963 33489 Lease Paym        412.16
       3/2/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/2/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       3/2/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.46
       3/2/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       3/2/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       3/2/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       3/2/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       3/2/2019    843   EI0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 2-23              18
       3/2/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/2/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       3/2/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       3/9/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       3/9/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       3/9/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.53
       3/9/2019    709   AN0007   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          -0.97
       3/9/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       3/9/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       3/9/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       3/9/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       3/9/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.67
       3/9/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.58
       3/9/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           263
       3/9/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.38
       3/9/2019    709   AR0064   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          51.32

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       3/9/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/9/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             35.16
       3/9/2019    709   AR0064   Owner Operator   Repair Order                   CTMS - 224152 REPAIR                   430.49
       3/9/2019    709   AR0064   Owner Operator   Repair Order                   CTMS - 224370 REPAIR                   430.49
       3/9/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 224306 Q13147 Lease             440.14
       3/9/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                     59.95
       3/9/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             8.75
       3/9/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                           8
       3/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          144.73
       3/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.35
       3/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           67.38
       3/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                              72
       3/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.08
       3/9/2019    709   AV0021   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax           15.06
       3/9/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                   14.56
       3/9/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/9/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             35.16
       3/9/2019    709   AV0021   Owner Operator   Repair Order                   CTMS - 224370 REPAIR                   275.18
       3/9/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 224320 Q13169 Sublease          352.68
       3/9/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
       3/9/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
       3/9/2019    709   BM0030   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax           765.4
       3/9/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/9/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.13
       3/9/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
       3/9/2019    709   CC0134   Owner Operator   Accident Claim                 03/03/19 CC0134 Accident                 2000
       3/9/2019    709   CC0134   Owner Operator   Advance                        3/3/19 Clm 73039-2 s/u pmts               250
       3/9/2019    709   CC0134   Owner Operator   Advance                        3/3/19 Clm 73039-2 s/u pmts             -2000
       3/9/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
       3/9/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                              500
       3/9/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
       3/9/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.06
       3/9/2019    709   CC0134   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax           94.82
       3/9/2019    709   CC0134   Owner Operator   Loan Repayment                 Balance of Loan 2                     3064.57
       3/9/2019    709   CC0134   Owner Operator   Loan Repayment                 EFS 213005. Ln Bal 2                 -4377.57
       3/9/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          262.89
       3/9/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/9/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.16
       3/9/2019    709   CC0134   Owner Operator   T Chek Fee                     ExpressCheck Fee                           13
       3/9/2019    709   CC0134   Owner Operator   T Chek Fee                     Towing Q13168                            1300
       3/9/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       3/9/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
       3/9/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          440.54
       3/9/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          530.28
       3/9/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                       33.64
       3/9/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          262.04
       3/9/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/9/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.96
       3/9/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       3/9/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
       3/9/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
       3/9/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                           13
       3/9/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.88
       3/9/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.11
       3/9/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.67
       3/9/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           157.1
       3/9/2019    709   CR0064   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          139.05
       3/9/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                       33.64
       3/9/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/9/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       39.07
       3/9/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL              8.75
       3/9/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                            8
       3/9/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       3/9/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD              65.08
       3/9/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 224217 Q1201                    278.76
       3/9/2019    709   DL0029   Owner Operator   Advance                        1/24/19 Clm 72492-2 s/u pmts              250
       3/9/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
       3/9/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
       3/9/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.46
       3/9/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          241.85
       3/9/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          322.63
       3/9/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           413.5
       3/9/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           386.1

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       3/9/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.45
       3/9/2019    709   DL0029   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         344.47
       3/9/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       3/9/2019    709   DL0107   Owner Operator   Advance                        2/25/19 Clm 72953-1 s/u 2 wks         265.52
       3/9/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       3/9/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       3/9/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       3/9/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       3/9/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.26
       3/9/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.2
       3/9/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.54
       3/9/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.58
       3/9/2019    709   DL0107   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         398.78
       3/9/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
       3/9/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       3/9/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 224259 Sublease                338.99
       3/9/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       3/9/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       3/9/2019    709   DM0257   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-2            22.49
       3/9/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/9/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/9/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.48
       3/9/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.91
       3/9/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.68
       3/9/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         109.12
       3/9/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.18
       3/9/2019    709   DM0257   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         610.65
       3/9/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       3/9/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       3/9/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       3/9/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       3/9/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/9/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       3/9/2019    709   DS0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-2           280.69
       3/9/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       3/9/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       3/9/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.11
       3/9/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.4
       3/9/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.01
       3/9/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.68
       3/9/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
       3/9/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       3/9/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       3/9/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       3/9/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       3/9/2019    709   DS0225   Owner Operator   Driver Excellence Program      US-1303190588                            -50
       3/9/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         590.03
       3/9/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       3/9/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       3/9/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.81
       3/9/2019    709   DS0288   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          79.21
       3/9/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
       3/9/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/9/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       3/9/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       3/9/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.72
       3/9/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.84
       3/9/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         598.55
       3/9/2019    709   EA0003   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          81.74
       3/9/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
       3/9/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47

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       3/9/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       3/9/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       3/9/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       3/9/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.03
       3/9/2019    709   EG0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         256.29
       3/9/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       3/9/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       3/9/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       3/9/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       3/9/2019    709   EO0014   Owner Operator   Driver Excellence Program      CA-1902103403                            -50
       3/9/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.61
       3/9/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.06
       3/9/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.9
       3/9/2019    709   EO0014   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         375.53
       3/9/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       3/9/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       3/9/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       3/9/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       3/9/2019    709   FS0039   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-2            22.49
       3/9/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/9/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/9/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.72
       3/9/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           355
       3/9/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.86
       3/9/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.48
       3/9/2019    709   FS0039   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         326.63
       3/9/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 365.44
       3/9/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
       3/9/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       3/9/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 224320 truck lease 3304        434.29
       3/9/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/9/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       3/9/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          182.8
       3/9/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          477.3
       3/9/2019    709   FV0001   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          29.11
       3/9/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
       3/9/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/9/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
       3/9/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/9/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.97
       3/9/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.74
       3/9/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.45
       3/9/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
       3/9/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       3/9/2019    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00390138 - PO System          441.53
       3/9/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
       3/9/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       3/9/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       3/9/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.19
       3/9/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       3/9/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 224320 Lease                   252.11
       3/9/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       3/9/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       3/9/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.91
       3/9/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.8
       3/9/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         259.74
       3/9/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       3/9/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 224306 Missed lease pay        151.41
       3/9/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 224372 Q1109 Lease             302.85
       3/9/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       3/9/2019    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 224408 Solvay trailer              -7
       3/9/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8

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       3/9/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.81
       3/9/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.77
       3/9/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       3/9/2019    709   HC0023   Owner Operator   Repair Order                   CTMS - 224370 REPAIR                  293.92
       3/9/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 224210 Q13170                  352.68
       3/9/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
       3/9/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 33180                          13
       3/9/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/9/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.22
       3/9/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.51
       3/9/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
       3/9/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       3/9/2019    709   HG0027   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         -34.85
       3/9/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           26.1
       3/9/2019    709   IA0007   Owner Operator   Advance                        EFS 211341 s/u $250/wk                234.06
       3/9/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/9/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
       3/9/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.96
       3/9/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.91
       3/9/2019    709   IA0007   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          31.92
       3/9/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
       3/9/2019    709   IA0007   Owner Operator   Tire Purchase                  PO: 709-00392642 - PO System           50.01
       3/9/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       3/9/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/9/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       3/9/2019    709   IR0002   Owner Operator   Driver Excellence Program      CA-1642102273                            -50
       3/9/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.02
       3/9/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.39
       3/9/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       3/9/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/9/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       3/9/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
       3/9/2019    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-2            22.49
       3/9/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/9/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.5
       3/9/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
       3/9/2019    709   JA0156   Owner Operator   *Arrears Collection W/O        WO:Pnet Device Not Returned           -72.53
       3/9/2019    709   JA0156   Owner Operator   Communication Charge           Pnet Device Not Returned               72.53
       3/9/2019    709   JA0156   Owner Operator   Permits                        IL02:2019 - 34364                      -3.75
       3/9/2019    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-16          -23.1
       3/9/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.42
       3/9/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.18
       3/9/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       3/9/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
       3/9/2019    709   JD0211   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-16        -167.71
       3/9/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/9/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
       3/9/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       3/9/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/9/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       3/9/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       3/9/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       3/9/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.38
       3/9/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.49
       3/9/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.04
       3/9/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
       3/9/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         251.27
       3/9/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       3/9/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       3/9/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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       3/9/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       3/9/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       3/9/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       3/9/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.42
       3/9/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.34
       3/9/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.88
       3/9/2019    709   JG0072   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         448.65
       3/9/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                      33.64
       3/9/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       3/9/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       3/9/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/9/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       3/9/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.77
       3/9/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          650.8
       3/9/2019    709   JG0092   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          52.34
       3/9/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
       3/9/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       3/9/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       3/9/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/9/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/9/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.45
       3/9/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       3/9/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       3/9/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       3/9/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.51
       3/9/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       3/9/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 224178 Truck Lease             278.76
       3/9/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       3/9/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       3/9/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                       11.39
       3/9/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            300
       3/9/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       3/9/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.5
       3/9/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.01
       3/9/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.74
       3/9/2019    709   JS0265   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         173.15
       3/9/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       3/9/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       3/9/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
       3/9/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/9/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       3/9/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       3/9/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
       3/9/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/9/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/9/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       3/9/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          36.34
       3/9/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          272.9
       3/9/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.57
       3/9/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.83
       3/9/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           409
       3/9/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.11
       3/9/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           230
       3/9/2019    709   KP0004   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         446.25
       3/9/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
       3/9/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       3/9/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/9/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       3/9/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
       3/9/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       3/9/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/9/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.19
       3/9/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.91
       3/9/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.94
       3/9/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.13
       3/9/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.34
       3/9/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.09

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       3/9/2019    709   KT0055   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         574.31
       3/9/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   KT0055   Owner Operator   Permits                        ID06:2019 - Q13156                        11
       3/9/2019    709   KT0055   Owner Operator   Permits                        IL02:2019 - Q13156                      3.75
       3/9/2019    709   KT0055   Owner Operator   Permits                        NM07:2019 - Q13156                        10
       3/9/2019    709   KT0055   Owner Operator   Permits                        NY13:2019 - Q13156                       1.5
       3/9/2019    709   KT0055   Owner Operator   Permits                        OR16:2019 - Q13156                       8.5
       3/9/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
       3/9/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 224212 Q13156 Lease            388.16
       3/9/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       3/9/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       3/9/2019    709   LL0160   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
       3/9/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       3/9/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 224318 Past due tractor        252.11
       3/9/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 224320 Lease Q1111             252.11
       3/9/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       3/9/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       3/9/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/9/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/9/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.55
       3/9/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.33
       3/9/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          432.8
       3/9/2019    709   LS0023   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          29.32
       3/9/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
       3/9/2019    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     26
       3/9/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/9/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/9/2019    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
       3/9/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       3/9/2019    709   MA0092   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-2           559.72
       3/9/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.08
       3/9/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.02
       3/9/2019    709   MA0092   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax            58
       3/9/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           4.17
       3/9/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
       3/9/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       3/9/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       3/9/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       3/9/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       3/9/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       3/9/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
       3/9/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       3/9/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       3/9/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       3/9/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/9/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.44
       3/9/2019    709   MD0122   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         209.14
       3/9/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2018 - 34342                       100
       3/9/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
       3/9/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       3/9/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       3/9/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.08
       3/9/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.19
       3/9/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.62
       3/9/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       3/9/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 224217 Q1113 Lease             252.11
       3/9/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       3/9/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       3/9/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.37
       3/9/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.47
       3/9/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       3/9/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       3/9/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/9/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13

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       3/9/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
       3/9/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.94
       3/9/2019    709   MP0035   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          73.27
       3/9/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
       3/9/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
       3/9/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       3/9/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       3/9/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       3/9/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       3/9/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       3/9/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
       3/9/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
       3/9/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
       3/9/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
       3/9/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/9/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/9/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.62
       3/9/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.66
       3/9/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.73
       3/9/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.03
       3/9/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.93
       3/9/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.64
       3/9/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.86
       3/9/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.44
       3/9/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           202
       3/9/2019    709   NB0029   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          83.17
       3/9/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       3/9/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
       3/9/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       3/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       3/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       3/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       3/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
       3/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
       3/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       3/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       3/9/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 223963 32986 Lease             314.03
       3/9/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 224213 32986 Lease             314.03
       3/9/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       3/9/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       3/9/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              80
       3/9/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
       3/9/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.82
       3/9/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.03
       3/9/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       3/9/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       3/9/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       3/9/2019    709   NT9564   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         235.65
       3/9/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       3/9/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 224379 Truck 73130 Leas        196.65
       3/9/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/9/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       3/9/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/9/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.78
       3/9/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.26
       3/9/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.02
       3/9/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.56
       3/9/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
       3/9/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 224167 REPAIRS                   250
       3/9/2019    709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00392647 - PO System          244.49
       3/9/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66

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       3/9/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       3/9/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       3/9/2019    709   RC0030   Owner Operator   Driver Excellence Program      CA-1674001922                            -50
       3/9/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.59
       3/9/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.99
       3/9/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.74
       3/9/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                           7.67
       3/9/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.56
       3/9/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.49
       3/9/2019    709   RC0030   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          53.96
       3/9/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       3/9/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       3/9/2019    709   RL0017   Owner Operator   Advance                        1/9/19 Clm 72310-2 s/u pmts             250
       3/9/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/9/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       3/9/2019    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-16          -25.6
       3/9/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/9/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         584.42
       3/9/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
       3/9/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       3/9/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/9/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       3/9/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       3/9/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       3/9/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       3/9/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/9/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/9/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.07
       3/9/2019    709   RL0180   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          45.25
       3/9/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
       3/9/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   50.72
       3/9/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
       3/9/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       3/9/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       3/9/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       3/9/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       3/9/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       3/9/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       3/9/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.33
       3/9/2019    709   RM0026   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         276.56
       3/9/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       3/9/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       3/9/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       3/9/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.36
       3/9/2019    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         249.81
       3/9/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       3/9/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 224179 Q1202 Truck Leas        278.76
       3/9/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       3/9/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       3/9/2019    709   RR0123   Owner Operator   Driver Excellence Program      NM-3248114875                            -50
       3/9/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/9/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/9/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.14
       3/9/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.59
       3/9/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.18
       3/9/2019    709   RR0123   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax           423
       3/9/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
       3/9/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       3/9/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       3/9/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 224217 Q1248                   311.97
       3/9/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       3/9/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       3/9/2019    709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-2            22.67
       3/9/2019    709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-16         -22.67
       3/9/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       3/9/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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       3/9/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.85
       3/9/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.97
       3/9/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.62
       3/9/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.06
       3/9/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.95
       3/9/2019    709   SB0009   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         356.67
       3/9/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
       3/9/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
       3/9/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       3/9/2019    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00394271 - PO System          212.81
       3/9/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       3/9/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       3/9/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       3/9/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.43
       3/9/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.82
       3/9/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.38
       3/9/2019    709   SB0103   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         388.28
       3/9/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       3/9/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       3/9/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 224175 Sub Lease               388.33
       3/9/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       3/9/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       3/9/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.69
       3/9/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.42
       3/9/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.13
       3/9/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.12
       3/9/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.32
       3/9/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.94
       3/9/2019    709   SN0019   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         187.46
       3/9/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       3/9/2019    709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00391926 - PO System          202.25
       3/9/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       3/9/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       3/9/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.63
       3/9/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.02
       3/9/2019    709   VB0015   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          29.08
       3/9/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       3/9/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       3/9/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/9/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       3/9/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       3/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            120
       3/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
       3/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.7
       3/9/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.63
       3/9/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.5
       3/9/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.64
       3/9/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.91
       3/9/2019    709   VJ0006   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         236.99
       3/9/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
       3/9/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       3/9/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       3/9/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       3/9/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-2             16.5
       3/9/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       3/9/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       3/9/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       3/9/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       3/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.12
       3/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.96
       3/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.02

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       3/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.79
       3/9/2019    709   WH0087   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         131.85
       3/9/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       3/9/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 224217 Q1238 Lease             311.97
       3/9/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       3/9/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       3/9/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       3/9/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       3/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/9/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.14
       3/9/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.08
       3/9/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.96
       3/9/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.62
       3/9/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.34
       3/9/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.43
       3/9/2019    742   AP0047   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         105.94
       3/9/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       3/9/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       3/9/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       3/9/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       3/9/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       3/9/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       3/9/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
       3/9/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
       3/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.37
       3/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.04
       3/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.74
       3/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          415.4
       3/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.26
       3/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           292
       3/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          67.78
       3/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.98
       3/9/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
       3/9/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       3/9/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
       3/9/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       3/9/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Spencer Ma          8.48
       3/9/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 223963 Lease of Q13151         388.16
       3/9/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 224213 Lease of Q13151         388.16
       3/9/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       3/9/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       3/9/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.29
       3/9/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.35
       3/9/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.28
       3/9/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.92
       3/9/2019    742   CA0089   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         268.01
       3/9/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       3/9/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/9/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       3/9/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           575
       3/9/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.75
       3/9/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
       3/9/2019    742   DA0067   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         197.32
       3/9/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       3/9/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/9/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       3/9/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8

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       3/9/2019    742   DS0254   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-16         -22.49
       3/9/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/9/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.28
       3/9/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.98
       3/9/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.59
       3/9/2019    742   DS0254   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          320.4
       3/9/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       3/9/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       3/9/2019    742   DS0254   Owner Operator   Tractor Wash                   CTMS - 224407 Trailer wash 691         -51.5
       3/9/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 224257 Trk 33487 Lease          434.2
       3/9/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/9/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       3/9/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.29
       3/9/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.24
       3/9/2019    742   EA0039   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          67.13
       3/9/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       3/9/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       3/9/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       3/9/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       3/9/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.25
       3/9/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.5
       3/9/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.79
       3/9/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.85
       3/9/2019    742   ED0041   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax             30
       3/9/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       3/9/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       3/9/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/9/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/9/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       3/9/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       3/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.03
       3/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.44
       3/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.92
       3/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.34
       3/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.91
       3/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.12
       3/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.65
       3/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.77
       3/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.81
       3/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.76
       3/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.56
       3/9/2019    742   EN0016   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         154.16
       3/9/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
       3/9/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
       3/9/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       3/9/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       3/9/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/9/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/9/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       3/9/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       3/9/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       3/9/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       3/9/2019    742   FS0011   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-2            14.46
       3/9/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       3/9/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       3/9/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       3/9/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       3/9/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/9/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           650
       3/9/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       3/9/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/9/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/9/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
       3/9/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
       3/9/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/9/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50

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       3/9/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.15
       3/9/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.75
       3/9/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.07
       3/9/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.79
       3/9/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.27
       3/9/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.36
       3/9/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.97
       3/9/2019    742   JS0390   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          38.37
       3/9/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
       3/9/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
       3/9/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Sam Houston - NE M             7
       3/9/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       3/9/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       3/9/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-16           -310
       3/9/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-16         -41.76
       3/9/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.11
       3/9/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.28
       3/9/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           90.1
       3/9/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       3/9/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       3/9/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
       3/9/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
       3/9/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       3/9/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       3/9/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       3/9/2019    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                      9.84
       3/9/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       3/9/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       3/9/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       3/9/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                             200
       3/9/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/9/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.16
       3/9/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.32
       3/9/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.19
       3/9/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.67
       3/9/2019    742   NG0024   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         286.18
       3/9/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       3/9/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
       3/9/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       3/9/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       3/9/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       3/9/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       3/9/2019    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00387973 - PO System          605.02
       3/9/2019    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00387973 - PO System          605.02
       3/9/2019    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00387973 - PO System          604.96
       3/9/2019    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8               19.26
       3/9/2019    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Turner Turnpike East         18.05
       3/9/2019    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Will Rogers Turnpike         18.05
       3/9/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/9/2019    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
       3/9/2019    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                            100
       3/9/2019    742   OS0018   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         906.78
       3/9/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
       3/9/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       3/9/2019    742   OS0018   Owner Operator   Tire Purchase                  PO: 742-00394035 - PO System           82.51
       3/9/2019    742   PC0012   Owner Operator   Charge back by affiliate       CTMS - 224359 Tank Rewash                -85
       3/9/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
       3/9/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/9/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.68
       3/9/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.97
       3/9/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.08
       3/9/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         328.96
       3/9/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       3/9/2019    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
       3/9/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       3/9/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13

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       3/9/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       3/9/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/9/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/9/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/9/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/9/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/9/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/9/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.74
       3/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.17
       3/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.34
       3/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.66
       3/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.18
       3/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.82
       3/9/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.57
       3/9/2019    742   RF0136   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          12.64
       3/9/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       3/9/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       3/9/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       3/9/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.07
       3/9/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.8
       3/9/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.37
       3/9/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.44
       3/9/2019    742   RN0054   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         209.15
       3/9/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       3/9/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       3/9/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 224260 Tractor Lease           353.28
       3/9/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       3/9/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       3/9/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       3/9/2019    742   RS0342   Owner Operator   Driver Excellence Program      CA-1997501655                            -50
       3/9/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.73
       3/9/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.97
       3/9/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.43
       3/9/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.22
       3/9/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.75
       3/9/2019    742   RS0342   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          96.84
       3/9/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       3/9/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                      44.87
       3/9/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       3/9/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       3/9/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       3/9/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       3/9/2019    742   SK0049   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         745.74
       3/9/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       3/9/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       3/9/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.25
       3/9/2019    742   TC0098   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          -0.25
       3/9/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/9/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       3/9/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.46
       3/9/2019    742   TH0130   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          78.46
       3/9/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       3/9/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       3/9/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       3/9/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       3/9/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          552.2
       3/9/2019    843   EI0003   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         434.51
       3/9/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/9/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       3/9/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      3/16/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      3/16/2019    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
      3/16/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      3/16/2019    709   AN0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-23        -156.25
      3/16/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      3/16/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5

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      3/16/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      3/16/2019    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      3/16/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      3/16/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.01
      3/16/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.26
      3/16/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           210
      3/16/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.32
      3/16/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      3/16/2019    709   AR0064   Owner Operator   Repair Order                   CTMS - 224656 REPAIR                  430.49
      3/16/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 224584 Q13147 Lease            440.14
      3/16/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      3/16/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      3/16/2019    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      3/16/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      3/16/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.08
      3/16/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.02
      3/16/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.53
      3/16/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.71
      3/16/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.27
      3/16/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.21
      3/16/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      3/16/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                   70.1
      3/16/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      3/16/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 224598 Q13169 Sublease         352.68
      3/16/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      3/16/2019    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      3/16/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      3/16/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      3/16/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      3/16/2019    709   CC0134   Owner Operator   Advance                        3/3/19 Clm 73039-2 s/u pmts             250
      3/16/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      3/16/2019    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      3/16/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      3/16/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      3/16/2019    709   CC0134   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-23        -462.48
      3/16/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/16/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/16/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.41
      3/16/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.49
      3/16/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.67
      3/16/2019    709   CC0134   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         338.12
      3/16/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         262.89
      3/16/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      3/16/2019    709   CC0134   Owner Operator   T Chek Fee                     ExpressCheck Fee                        2.25
      3/16/2019    709   CC0134   Owner Operator   T Chek Fee                     Towing Q13168                           225
      3/16/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 224217 Q13168 sub lease        352.68
      3/16/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 224488 Q13168 sub lease        352.68
      3/16/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/16/2019    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      3/16/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      3/16/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         700.98
      3/16/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                      33.64
      3/16/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
      3/16/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      3/16/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/16/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      3/16/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      3/16/2019    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                      9.84
      3/16/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      3/16/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.95
      3/16/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.73
      3/16/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.66
      3/16/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.8
      3/16/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.34

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      3/16/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                      33.64
      3/16/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      3/16/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      3/16/2019    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                      9.84
      3/16/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      3/16/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.84
      3/16/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      3/16/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 224488 Q1201                   278.76
      3/16/2019    709   DL0029   Owner Operator   Advance                        1/24/19 Clm 72492-2 s/u pmts            250
      3/16/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/16/2019    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                      9.84
      3/16/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      3/16/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.63
      3/16/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.16
      3/16/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.53
      3/16/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.31
      3/16/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.83
      3/16/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      3/16/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      3/16/2019    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      3/16/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      3/16/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/16/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/16/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.44
      3/16/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.88
      3/16/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.86
      3/16/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.09
      3/16/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.05
      3/16/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      3/16/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      3/16/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 224536 Sublease                338.99
      3/16/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      3/16/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/16/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.99
      3/16/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      3/16/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      3/16/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/16/2019    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                      9.84
      3/16/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      3/16/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/16/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/16/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.72
      3/16/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.22
      3/16/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.57
      3/16/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.52
      3/16/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      3/16/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      3/16/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      3/16/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      3/16/2019    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                      9.84
      3/16/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      3/16/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.27
      3/16/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      3/16/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      3/16/2019    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      3/16/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      3/16/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      3/16/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/16/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/16/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      3/16/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      3/16/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.01
      3/16/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.5
      3/16/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.46
      3/16/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                           259
      3/16/2019    709   DS0288   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          32.07

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      3/16/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      3/16/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/16/2019    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                      9.84
      3/16/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      3/16/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/16/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.15
      3/16/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.56
      3/16/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         621.82
      3/16/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      3/16/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      3/16/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      3/16/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      3/16/2019    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      3/16/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      3/16/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.64
      3/16/2019    709   EG0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         256.29
      3/16/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      3/16/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      3/16/2019    709   EG0062   Owner Operator   Toll Charges                   33828 ILTOLL Joliet Rd.                  2.5
      3/16/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      3/16/2019    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      3/16/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      3/16/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.55
      3/16/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.02
      3/16/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.98
      3/16/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.61
      3/16/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.99
      3/16/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      3/16/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      3/16/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      3/16/2019    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      3/16/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      3/16/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/16/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/16/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.27
      3/16/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.22
      3/16/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.14
      3/16/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 607.54
      3/16/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      3/16/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      3/16/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 224598 truck lease 3304        434.29
      3/16/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/16/2019    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521B                     9.84
      3/16/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      3/16/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         690.12
      3/16/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.55
      3/16/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      3/16/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/16/2019    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRK34330                      9.84
      3/16/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      3/16/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/16/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.87
      3/16/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.58
      3/16/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      3/16/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      3/16/2019    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00390138 - PO System          441.46
      3/16/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      3/16/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      3/16/2019    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      3/16/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      3/16/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.14
      3/16/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.73

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      3/16/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      3/16/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 224598 Lease                   252.11
      3/16/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      3/16/2019    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      3/16/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      3/16/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.57
      3/16/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.71
      3/16/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.56
      3/16/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         259.74
      3/16/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      3/16/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 224597 Missed lease pay        151.41
      3/16/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 224650 Q1109 Lease             302.85
      3/16/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      3/16/2019    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      3/16/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      3/16/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.94
      3/16/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.85
      3/16/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.37
      3/16/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      3/16/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 224482 Q13170                  352.68
      3/16/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      3/16/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      3/16/2019    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK33180                      9.84
      3/16/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34553                          13
      3/16/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/16/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.74
      3/16/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.19
      3/16/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       96.88
      3/16/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                33180 1999 Kenworth PD                 15.63
      3/16/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/16/2019    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      3/16/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      3/16/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      3/16/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          243.8
      3/16/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.39
      3/16/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.95
      3/16/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           21.4
      3/16/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      3/16/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      3/16/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/16/2019    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      3/16/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      3/16/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.95
      3/16/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.45
      3/16/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      3/16/2019    709   IA0007   Owner Operator   Tire Purchase                  PO: 709-00392642 - PO System           49.96
      3/16/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      3/16/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/16/2019    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      3/16/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      3/16/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.43
      3/16/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.72
      3/16/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.88
      3/16/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      3/16/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/16/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      3/16/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      3/16/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/16/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.24
      3/16/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      3/16/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  27.35
      3/16/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
      3/16/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
      3/16/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL              8.75
      3/16/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL              8.75
      3/16/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                        13
      3/16/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                        13
      3/16/2019    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-9            23.1
      3/16/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      3/16/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      3/16/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
      3/16/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/16/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/16/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      3/16/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        302.52
      3/16/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        132.14
      3/16/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        339.68
      3/16/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        324.38
      3/16/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        317.07
      3/16/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        467.01
      3/16/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.09
      3/16/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        402.13
      3/16/2019    709   JC0292   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax        424.63
      3/16/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/16/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/16/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      3/16/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      3/16/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 224256 Q13197 Lease           276.63
      3/16/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 224532 Q13197 Lease           276.63
      3/16/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      3/16/2019    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                     9.84
      3/16/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      3/16/2019    709   JD0211   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-9          167.71
      3/16/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
      3/16/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/16/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      3/16/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      3/16/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/16/2019    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                     9.84
      3/16/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      3/16/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/16/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      3/16/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      3/16/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/16/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        478.71
      3/16/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        623.65
      3/16/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                     33.64
      3/16/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        251.27
      3/16/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/16/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      3/16/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      3/16/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/16/2019    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                     9.84
      3/16/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      3/16/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/16/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      3/16/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      3/16/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/16/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        502.65
      3/16/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        375.79
      3/16/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        430.07
      3/16/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                     33.64
      3/16/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/16/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      3/16/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      3/16/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      3/16/2019    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                     9.84
      3/16/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      3/16/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/16/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/16/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.71
      3/16/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        463.12
      3/16/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      3/16/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      3/16/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      3/16/2019    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                      9.84
      3/16/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      3/16/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.6
      3/16/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      3/16/2019    709   JQ0015   Owner Operator   T Chek Fee                     ExpressCheck Fee                         2.5
      3/16/2019    709   JQ0015   Owner Operator   T Chek Fee                     Towing W5854                            250
      3/16/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      3/16/2019    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      3/16/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      3/16/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.26
      3/16/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      3/16/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 224446 Truck Lease             278.76
      3/16/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      3/16/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      3/16/2019    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                     9.84
      3/16/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                          13
      3/16/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware 33325                        1.61
      3/16/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      3/16/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      3/16/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/16/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/16/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.64
      3/16/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.49
      3/16/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.42
      3/16/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.21
      3/16/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      3/16/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      3/16/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      3/16/2019    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00393924 - PO System          210.31
      3/16/2019    709   JS0265   Owner Operator   Tire Purchase                  PO: 709-00393924 - PO System          210.26
      3/16/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 224376 Q13159 Lease             331.5
      3/16/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 224654 Q13159 Lease             331.5
      3/16/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/16/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      3/16/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/16/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/16/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/16/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/16/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/16/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           272
      3/16/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      3/16/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             65
      3/16/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           155
      3/16/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.03
      3/16/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.61
      3/16/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                      33.64
      3/16/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      3/16/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/16/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      3/16/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      3/16/2019    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                     9.84
      3/16/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      3/16/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/16/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.69
      3/16/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.19
      3/16/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.38
      3/16/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.07
      3/16/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      3/16/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 224484 Q13156 Lease            388.16
      3/16/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      3/16/2019    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      3/16/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      3/16/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      3/16/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 224596 Past due tractor        252.11

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      3/16/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 224598 Lease Q1111             252.11
      3/16/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      3/16/2019    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                      9.84
      3/16/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      3/16/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.45
      3/16/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      3/16/2019    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     26
      3/16/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/16/2019    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      3/16/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      3/16/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.98
      3/16/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      3/16/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      3/16/2019    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      3/16/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      3/16/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/16/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.03
      3/16/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.38
      3/16/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2018 - 34342                       100
      3/16/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      3/16/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      3/16/2019    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                      9.84
      3/16/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      3/16/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.52
      3/16/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.66
      3/16/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.63
      3/16/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      3/16/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 224489 Q1113 Lease             252.11
      3/16/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/16/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      3/16/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.15
      3/16/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.37
      3/16/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      3/16/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/16/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/16/2019    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                      9.84
      3/16/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      3/16/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      3/16/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.86
      3/16/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      3/16/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      3/16/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/16/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      3/16/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      3/16/2019    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      3/16/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      3/16/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           4.73
      3/16/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.81
      3/16/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      3/16/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      3/16/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      3/16/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      3/16/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      3/16/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      3/16/2019    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      3/16/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      3/16/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/16/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/16/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.53
      3/16/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.04
      3/16/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      3/16/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      3/16/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      3/16/2019    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      3/16/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      3/16/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      3/16/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 224657 Truck 73130 Leas        196.65
      3/16/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/16/2019    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
      3/16/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      3/16/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/16/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.28
      3/16/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.44
      3/16/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.61
      3/16/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      3/16/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 224436 REPAIRS                   250
      3/16/2019    709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00392647 - PO System          244.44
      3/16/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      3/16/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      3/16/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      3/16/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         709.08
      3/16/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.26
      3/16/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.45
      3/16/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      3/16/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      3/16/2019    709   RL0017   Owner Operator   Advance                        1/9/19 Clm 72310-2 s/u pmts             250
      3/16/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/16/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      3/16/2019    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-9             25.6
      3/16/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/16/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.55
      3/16/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.39
      3/16/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      3/16/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      3/16/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/16/2019    709   RL0017   Owner Operator   Repair Order                   CTMS - 224688 PARTS                    97.62
      3/16/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      3/16/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/16/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/16/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      3/16/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      3/16/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.85
      3/16/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.61
      3/16/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.7
      3/16/2019    709   RL0062   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         375.74
      3/16/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      3/16/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      3/16/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      3/16/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      3/16/2019    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00394488 - PO System          409.63
      3/16/2019    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00394488 - PO System          337.87
      3/16/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      3/16/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      3/16/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      3/16/2019    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      3/16/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      3/16/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/16/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         566.02
      3/16/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.32
      3/16/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      3/16/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      3/16/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      3/16/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      3/16/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      3/16/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75

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      3/16/2019    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      3/16/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      3/16/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.59
      3/16/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.95
      3/16/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.82
      3/16/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      3/16/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      3/16/2019    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      3/16/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      3/16/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.43
      3/16/2019    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         249.81
      3/16/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      3/16/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 224446 Q1202 Truck Leas        278.76
      3/16/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      3/16/2019    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      3/16/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      3/16/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/16/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/16/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/16/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/16/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         569.32
      3/16/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.47
      3/16/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          597.1
      3/16/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.65
      3/16/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      3/16/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      3/16/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      3/16/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 224488 Q1248                   311.97
      3/16/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/16/2019    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      3/16/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      3/16/2019    709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-9            22.67
      3/16/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/16/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/16/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/16/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/16/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/16/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.38
      3/16/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.65
      3/16/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.56
      3/16/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.16
      3/16/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.05
      3/16/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.55
      3/16/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      3/16/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      3/16/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      3/16/2019    709   SB0009   Owner Operator   Tire Purchase                  PO: 709-00394271 - PO System          212.76
      3/16/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      3/16/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      3/16/2019    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      3/16/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      3/16/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.59
      3/16/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.61
      3/16/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.44
      3/16/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.27
      3/16/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      3/16/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      3/16/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 224443 Sub Lease               388.33
      3/16/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      3/16/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      3/16/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      3/16/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      3/16/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/16/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/16/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           552
      3/16/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           464
      3/16/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.46
      3/16/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.43

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      3/16/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           444
      3/16/2019    709   SM0109   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          449.6
      3/16/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      3/16/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                      33.64
      3/16/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      3/16/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      3/16/2019    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00394310 - PO System           12.17
      3/16/2019    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00394310 - PO System           12.17
      3/16/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      3/16/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      3/16/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      3/16/2019    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.84
      3/16/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      3/16/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.94
      3/16/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.09
      3/16/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.75
      3/16/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.36
      3/16/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      3/16/2019    709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00391926 - PO System          202.18
      3/16/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      3/16/2019    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      3/16/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      3/16/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.01
      3/16/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.68
      3/16/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      3/16/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      3/16/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/16/2019    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      3/16/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      3/16/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/16/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
      3/16/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      3/16/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.16
      3/16/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.52
      3/16/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.03
      3/16/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      3/16/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      3/16/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      3/16/2019    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      3/16/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      3/16/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      3/16/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      3/16/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      3/16/2019    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      3/16/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      3/16/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/16/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            150
      3/16/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      3/16/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/16/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.21
      3/16/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.63
      3/16/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.92
      3/16/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.24
      3/16/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      3/16/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 224488 Q1238 Lease             311.97
      3/16/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      3/16/2019    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      3/16/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      3/16/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.81
      3/16/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.17
      3/16/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.1
      3/16/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.41
      3/16/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.01
      3/16/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      3/16/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      3/16/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.01
      3/16/2019    742   DC0117   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         169.67
      3/16/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/16/2019    742   EA0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33993                      9.84
      3/16/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      3/16/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.92
      3/16/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.43
      3/16/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.38
      3/16/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      3/16/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/16/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      3/16/2019    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      3/16/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      3/16/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.43
      3/16/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           76.6
      3/16/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          57.38
      3/16/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.99
      3/16/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      3/16/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      3/16/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/16/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      3/16/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.2
      3/16/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.56
      3/16/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.36
      3/16/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      3/16/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      3/16/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/16/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      3/16/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      3/16/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      3/16/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      3/16/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      3/16/2019    742   FS0011   Owner Operator   Repair Order                   CTMS - 224558 repair                      80
      3/16/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      3/16/2019    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
      3/16/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      3/16/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/16/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.34
      3/16/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           600
      3/16/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.62
      3/16/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      3/16/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/16/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/16/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      3/16/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      3/16/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      3/16/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/16/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/16/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/16/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          59.78
      3/16/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      3/16/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      3/16/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/16/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/16/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/16/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL I-57/147th St (Il          6.65
      3/16/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      3/16/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      3/16/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-9             310
      3/16/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-9            41.76
      3/16/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.39
      3/16/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.31
      3/16/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35

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      3/16/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      3/16/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      3/16/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/16/2019    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                      9.84
      3/16/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      3/16/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/16/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/16/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.65
      3/16/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.92
      3/16/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.76
      3/16/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      3/16/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/16/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 224569 repair                    250
      3/16/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/16/2019    742   OS0018   Owner Operator   Broker Pre Pass                DriveWyze TRK34147                      9.84
      3/16/2019    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      3/16/2019    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/16/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      3/16/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      3/16/2019    742   OS0018   Owner Operator   Tire Purchase                  PO: 742-00394035 - PO System           82.46
      3/16/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      3/16/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      3/16/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/16/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/16/2019    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      3/16/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      3/16/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      3/16/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/16/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/16/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.05
      3/16/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.64
      3/16/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.99
      3/16/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.1
      3/16/2019    742   PC0012   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax         289.88
      3/16/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      3/16/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2018 - 32969                      33.64
      3/16/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.01
      3/16/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.01
      3/16/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      3/16/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      3/16/2019    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Kilpatrick Turnpike           8.65
      3/16/2019    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Turner Turnpike West         18.05
      3/16/2019    742   PC0012   Owner Operator   Toll Charges                   32969 OTA Will Rogers Turnpike         18.05
      3/16/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      3/16/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         180.22
      3/16/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      3/16/2019    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      3/16/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      3/16/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/16/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/16/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/16/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.35
      3/16/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.16
      3/16/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.51
      3/16/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.36
      3/16/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.33
      3/16/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.85
      3/16/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.91
      3/16/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.66
      3/16/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      3/16/2019    742   RF0136   Owner Operator   Repair Order                   CTMS - 224556 repair                   246.5
      3/16/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      3/16/2019    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13157                     9.84
      3/16/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      3/16/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.29
      3/16/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.1
      3/16/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.5
      3/16/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.03
      3/16/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          395.6
      3/16/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      3/16/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      3/16/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      3/16/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 224536 Tractor Lease           353.28
      3/16/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      3/16/2019    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                      9.84
      3/16/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      3/16/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.24
      3/16/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.9
      3/16/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.43
      3/16/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.33
      3/16/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      3/16/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      3/16/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/16/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      3/16/2019    742   SK0049   Owner Operator   FUEL TAX                       Refnd Jan fuel/mileage taxes         -745.74
      3/16/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      3/16/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      3/16/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/16/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      3/16/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          170.9
      3/16/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      3/16/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/16/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      3/16/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      3/16/2019    843   EI0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-23          -24.8
      3/16/2019    843   EI0003   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-23            -18
      3/16/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.18
      3/16/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          53.11
      3/16/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/16/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      3/16/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      3/23/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      3/23/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      3/23/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      3/23/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      3/23/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.68
      3/23/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.34
      3/23/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.15
      3/23/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.98
      3/23/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      3/23/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      3/23/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      3/23/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.93
      3/23/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      3/23/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      3/23/2019    709   AN0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-16          156.25
      3/23/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.26
      3/23/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      3/23/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      3/23/2019    709   AN0007   Owner Operator   Toll Charges                   21157A CATALINA VIEW SOUTH 10          21.96
      3/23/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      3/23/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      3/23/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.4
      3/23/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.49
      3/23/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.99
      3/23/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.13
      3/23/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      3/23/2019    709   AR0064   Owner Operator   Repair Order                   CTMS - 224938 REPAIR                  430.49
      3/23/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 224850 Q13147 Lease            440.14
      3/23/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      3/23/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      3/23/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      3/23/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.4
      3/23/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.18
      3/23/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.72
      3/23/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.23
      3/23/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.04
      3/23/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  122.2

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      3/23/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             35.15
      3/23/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 224864 Q13169 Sublease          352.68
      3/23/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
      3/23/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
      3/23/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.11
      3/23/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
      3/23/2019    709   CC0134   Owner Operator   Advance                        3/3/19 Clm 73039-2 s/u pmts               250
      3/23/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
      3/23/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
      3/23/2019    709   CC0134   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-16           462.48
      3/23/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                              500
      3/23/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      3/23/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          425.57
      3/23/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          157.54
      3/23/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          564.43
      3/23/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          364.66
      3/23/2019    709   CC0134   Owner Operator   Loan Repayment                 Balance of Loan 3                     3869.89
      3/23/2019    709   CC0134   Owner Operator   Loan Repayment                 EFS 214286, Ln Bal 3                -14828.26
      3/23/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          354.79
      3/23/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.15
      3/23/2019    709   CC0134   Owner Operator   T Chek Fee                     ExpressCheck Fee                        108.5
      3/23/2019    709   CC0134   Owner Operator   T Chek Fee                     Tractor Repair Q13168                10849.87
      3/23/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 224749 Q13168 sub lease         352.68
      3/23/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/23/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
      3/23/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                              200
      3/23/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/23/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          504.43
      3/23/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2018 - 32920                       33.64
      3/23/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          262.04
      3/23/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.93
      3/23/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      3/23/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
      3/23/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      3/23/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                           13
      3/23/2019    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-30            -124
      3/23/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.06
      3/23/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.82
      3/23/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.81
      3/23/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.62
      3/23/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2018 - 32864                       33.64
      3/23/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       39.04
      3/23/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL              8.75
      3/23/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                            8
      3/23/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          481.11
      3/23/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD              65.07
      3/23/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 224749 Q1201                    278.76
      3/23/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      3/23/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      3/23/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          346.78
      3/23/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.72
      3/23/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.84
      3/23/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.19
      3/23/2019    709   DL0029   Owner Operator   Toll Charges                   33850 NTTA Exit I35WN-820-24                9
      3/23/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      3/23/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      3/23/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                              300
      3/23/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      3/23/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          336.19
      3/23/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          536.55
      3/23/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                             499
      3/23/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          471.49
      3/23/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          352.59
      3/23/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 65.69
      3/23/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 224789 Sublease                 338.99

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      3/23/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      3/23/2019    709   DM0257   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-30         -22.49
      3/23/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/23/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.66
      3/23/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.42
      3/23/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                           2.39
      3/23/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.06
      3/23/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      3/23/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      3/23/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/23/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      3/23/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/23/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/23/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.05
      3/23/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.92
      3/23/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         630.72
      3/23/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2018 - 32915                      33.64
      3/23/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      3/23/2019    709   DS0049   Owner Operator   Toll Charges                   32915 Bay Bridge 17                       26
      3/23/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      3/23/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      3/23/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      3/23/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          632.5
      3/23/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         633.46
      3/23/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      3/23/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      3/23/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      3/23/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/23/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/23/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/23/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.06
      3/23/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.48
      3/23/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.18
      3/23/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/23/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      3/23/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/23/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.61
      3/23/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.43
      3/23/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.79
      3/23/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.64
      3/23/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      3/23/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      3/23/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      3/23/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      3/23/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.88
      3/23/2019    709   EG0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         256.29
      3/23/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      3/23/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      3/23/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      3/23/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      3/23/2019    709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-30         -22.49
      3/23/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/23/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/23/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.66
      3/23/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.12
      3/23/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.94
      3/23/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.52
      3/23/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      3/23/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      3/23/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      3/23/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      3/23/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      3/23/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/23/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.22
      3/23/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.93
      3/23/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.15
      3/23/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           332
      3/23/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 756.48
      3/23/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      3/23/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      3/23/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 224864 truck lease 3304        434.29
      3/23/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/23/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      3/23/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         629.77
      3/23/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      3/23/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/23/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      3/23/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/23/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.45
      3/23/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.26
      3/23/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      3/23/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      3/23/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           277
      3/23/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      3/23/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      3/23/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      3/23/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 224864 Lease                   252.11
      3/23/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      3/23/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      3/23/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.03
      3/23/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.21
      3/23/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.88
      3/23/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           256
      3/23/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         259.74
      3/23/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      3/23/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 224862 Missed lease pay        151.41
      3/23/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 224932 Q1109 Lease             302.85
      3/23/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      3/23/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      3/23/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          459.7
      3/23/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.57
      3/23/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.99
      3/23/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      3/23/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 224743 Q13170                  352.68
      3/23/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/23/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      3/23/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.86
      3/23/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.18
      3/23/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.93
      3/23/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.71
      3/23/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          224.3
      3/23/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.36
      3/23/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      3/23/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/23/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      3/23/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.21
      3/23/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.35
      3/23/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      3/23/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      3/23/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      3/23/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/23/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                            8
      3/23/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.61
      3/23/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      3/23/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      3/23/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      3/23/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      3/23/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                              50
      3/23/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.46
      3/23/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      3/23/2019    709   JA0156   Owner Operator   *Arrears Collection W/O        Applicable Amount to Arrears           72.53
      3/23/2019    709   JA0156   Owner Operator   Broker Pay Void/Reissue        Vd Statement Only                       -3.75
      3/23/2019    709   JA0156   Owner Operator   Communication Charge           Pnet Returned                          -1250
      3/23/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      3/23/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
      3/23/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          13
      3/23/2019    709   JC0292   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-30         -22.49
      3/23/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      3/23/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/23/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/23/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/23/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/23/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/23/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/23/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.69
      3/23/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.69
      3/23/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.87
      3/23/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.61
      3/23/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      3/23/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 KTA Southern Terminal             4.95
      3/23/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 OTA Cimarron Turnpike E           7.05
      3/23/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 OTA Cimarron Turnpike E            5.4
      3/23/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 OTA Muskogee Turnpike S            4.5
      3/23/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 224786 Q13197 Lease            276.63
      3/23/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      3/23/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                            8
      3/23/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                              50
      3/23/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      3/23/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism               2.5
      3/23/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/23/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                           13
      3/23/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/23/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      3/23/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/23/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/23/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      3/23/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/23/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.82
      3/23/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          534.9
      3/23/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.06
      3/23/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2018 - 32908                      33.64
      3/23/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         251.27
      3/23/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
      3/23/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                        26
      3/23/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                        26
      3/23/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                        26
      3/23/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                        26
      3/23/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Richmond 3                           25
      3/23/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      3/23/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/23/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                           13
      3/23/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                               60
      3/23/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             440
      3/23/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4.4
      3/23/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.6
      3/23/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.48

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      3/23/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          516.64
      3/23/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          421.26
      3/23/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          424.02
      3/23/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2018 - 32909                       33.64
      3/23/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    74.22
      3/23/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                          513.26
      3/23/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      3/23/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                            8
      3/23/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           505.5
      3/23/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          477.13
      3/23/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       35.15
      3/23/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                    8.75
      3/23/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                           13
      3/23/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/23/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/23/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          230.62
      3/23/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                    19.51
      3/23/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL              8.75
      3/23/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                           13
      3/23/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          427.13
      3/23/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.58
      3/23/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 224714 Truck Lease              278.76
      3/23/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                        8.75
      3/23/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL             8.75
      3/23/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/23/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/23/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                           354.9
      3/23/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            2.48
      3/23/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                         37.5
      3/23/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD             40.22
      3/23/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/23/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                           13
      3/23/2019    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                    -1131.19
      3/23/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      3/23/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/23/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/23/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/23/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/23/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            260
      3/23/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            250
      3/23/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            175
      3/23/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2018 - 32914                       33.64
      3/23/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.32
      3/23/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      3/23/2019    709   KP0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                         11.2
      3/23/2019    709   KP0004   Owner Operator   T Chek Fee                     Tractor Repair 32914                  1119.99
      3/23/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                          519.59
      3/23/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL             8.75
      3/23/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                           8
      3/23/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                              50
      3/23/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.71
      3/23/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.44
      3/23/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                           125.9
      3/23/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.56
      3/23/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          272.64
      3/23/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/23/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD             42.18
      3/23/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 224745 Q13156 Lease             388.16
      3/23/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
      3/23/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                            8
      3/23/2019    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-30         -180.76
      3/23/2019    709   LL0160   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 3-30         -343.75
      3/23/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              39.04
      3/23/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 224861 Past due tractor         252.11
      3/23/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 224864 Lease Q1111              252.11
      3/23/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                    8.75
      3/23/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                           13

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      3/23/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         721.77
      3/23/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         783.91
      3/23/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.01
      3/23/2019    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Benicia                        26
      3/23/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/23/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      3/23/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.89
      3/23/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.12
      3/23/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           20.3
      3/23/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.07
      3/23/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.09
      3/23/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      3/23/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      3/23/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      3/23/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/23/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2018 - 34342                       100
      3/23/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      3/23/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      3/23/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      3/23/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.34
      3/23/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.56
      3/23/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.16
      3/23/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      3/23/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 224749 Q1113 Lease             252.11
      3/23/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/23/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      3/23/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.3
      3/23/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      3/23/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/23/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/23/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      3/23/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      3/23/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              60
      3/23/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      3/23/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.18
      3/23/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2018 - 32904                      33.64
      3/23/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.76
      3/23/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/23/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      3/23/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      3/23/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      3/23/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           500
      3/23/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         495.27
      3/23/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.97
      3/23/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.23
      3/23/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          336.9
      3/23/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.99
      3/23/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2018 - 32986                      33.64
      3/23/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      3/23/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      3/23/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      3/23/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      3/23/2019    709   NB0029   Owner Operator   Toll Charges                   32986 HCTRA Ship Channel Bridg             7
      3/23/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 224484 32986 Lease             314.03
      3/23/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 224745 32986 Lease             314.03
      3/23/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      3/23/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      3/23/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/23/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3

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      3/23/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           342
      3/23/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.74
      3/23/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      3/23/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      3/23/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      3/23/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      3/23/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 224939 Truck 73130 Leas        196.65
      3/23/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/23/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      3/23/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/23/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.35
      3/23/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.5
      3/23/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
      3/23/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 224701 REPAIRS                   250
      3/23/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      3/23/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      3/23/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      3/23/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          533.2
      3/23/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.66
      3/23/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      3/23/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      3/23/2019    709   RL0017   Owner Operator   Advance                        1/9/19 Clm 72310-2 s/u pmts             250
      3/23/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/23/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      3/23/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/23/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.47
      3/23/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2018 - 33065                      33.64
      3/23/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      3/23/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/23/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      3/23/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/23/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      3/23/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.91
      3/23/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.26
      3/23/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.64
      3/23/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.84
      3/23/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2018 - 32912                      33.64
      3/23/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      3/23/2019    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00394488 - PO System           409.6
      3/23/2019    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00394488 - PO System           71.76
      3/23/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      3/23/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      3/23/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      3/23/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/23/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.71
      3/23/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         651.06
      3/23/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2018 - 32910                      33.64
      3/23/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      3/23/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      3/23/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      3/23/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      3/23/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      3/23/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      3/23/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.05
      3/23/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.48
      3/23/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      3/23/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      3/23/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      3/23/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.81
      3/23/2019    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         249.81
      3/23/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      3/23/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      3/23/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 224714 Q1202 Truck Leas        278.76
      3/23/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      3/23/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      3/23/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/23/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/23/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.57
      3/23/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.09
      3/23/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.42
      3/23/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      3/23/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      3/23/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      3/23/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 224749 Q1248                   311.97
      3/23/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/23/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      3/23/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/23/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.05
      3/23/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.59
      3/23/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2018 - 33236                      33.64
      3/23/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      3/23/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      3/23/2019    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Kilpatrick Turnpike           8.65
      3/23/2019    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Turner Turnpike East         18.05
      3/23/2019    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Will Rogers Turnpike         18.05
      3/23/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      3/23/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      3/23/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      3/23/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.62
      3/23/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.53
      3/23/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.66
      3/23/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      3/23/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      3/23/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 224711 Sub Lease               388.33
      3/23/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      3/23/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      3/23/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/23/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/23/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.49
      3/23/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.47
      3/23/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.86
      3/23/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      3/23/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      3/23/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      3/23/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.42
      3/23/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      3/23/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      3/23/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/23/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      3/23/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/23/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.36
      3/23/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.77
      3/23/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.86
      3/23/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      3/23/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      3/23/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      3/23/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      3/23/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      3/23/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      3/23/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      3/23/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      3/23/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/23/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      3/23/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/23/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.23
      3/23/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.05
      3/23/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.76
      3/23/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.71
      3/23/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.08
      3/23/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      3/23/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 224749 Q1238 Lease             311.97
      3/23/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      3/23/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      3/23/2019    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      3/23/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      3/23/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      3/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/23/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/23/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.48
      3/23/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.98
      3/23/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.13
      3/23/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.38
      3/23/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      3/23/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      3/23/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      3/23/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      3/23/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      3/23/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      3/23/2019    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13151                     9.84
      3/23/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      3/23/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      3/23/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.52
      3/23/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.77
      3/23/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.45
      3/23/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.36
      3/23/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.49
      3/23/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.36
      3/23/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.29
      3/23/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2015 Peterbilt PD                      53.44
      3/23/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2015 Peterbilt PD Terrorism              2.5
      3/23/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
      3/23/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      3/23/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      3/23/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      3/23/2019    742   BS0078   Owner Operator   T Chek Fee                     ExpressCheck Fee                         1.8
      3/23/2019    742   BS0078   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.92
      3/23/2019    742   BS0078   Owner Operator   T Chek Fee                     Tractor Repair Q13151                 192.15
      3/23/2019    742   BS0078   Owner Operator   T Chek Fee                     Tractor Repair Q13151                 180.09
      3/23/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 HCTRA Ship Channel Brid             7
      3/23/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Spencer Ma          8.48
      3/23/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 224484 Lease of Q13151         388.16
      3/23/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 224745 Lease of Q13151         388.16
      3/23/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      3/23/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      3/23/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         592.24
      3/23/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.58
      3/23/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      3/23/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/23/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/23/2019    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      3/23/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      3/23/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      3/23/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             50

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      3/23/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.01
      3/23/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.01
      3/23/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.01
      3/23/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      3/23/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      3/23/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/23/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/23/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      3/23/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      3/23/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 8                  25
      3/23/2019    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      3/23/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      3/23/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      3/23/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      3/23/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.61
      3/23/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.48
      3/23/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.43
      3/23/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      3/23/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      3/23/2019    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      3/23/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      3/23/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      3/23/2019    742   DS0254   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-9            22.49
      3/23/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.38
      3/23/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.36
      3/23/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.98
      3/23/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.28
      3/23/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         590.65
      3/23/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.72
      3/23/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      3/23/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      3/23/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      3/23/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      3/23/2019    742   DS0254   Owner Operator   Tire Fee                       Tire Fee: 2248817                          8
      3/23/2019    742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00395840 - PO System          195.76
      3/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 11                 26
      3/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 11                 25
      3/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 12                 26
      3/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 12                 26
      3/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 12                 16
      3/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 12                 26
      3/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 4                  16
      3/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 7                  26
      3/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 San Mateo 10                        26
      3/23/2019    742   DS0254   Owner Operator   Toll Charges                   33487 San Mateo 4                         16
      3/23/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/23/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      3/23/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.29
      3/23/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.16
      3/23/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.95
      3/23/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      3/23/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/23/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      3/23/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      3/23/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.56
      3/23/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.53
      3/23/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.93
      3/23/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.82
      3/23/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.75
      3/23/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      3/23/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      3/23/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/23/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      3/23/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.87
      3/23/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.54
      3/23/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.08
      3/23/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.08
      3/23/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.86
      3/23/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.41
      3/23/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2018 - 32947                      33.64
      3/23/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    3.76
      3/23/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      3/23/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      3/23/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      3/23/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      3/23/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      3/23/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      3/23/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      3/23/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/23/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.86
      3/23/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.26
      3/23/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      3/23/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/23/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/23/2019    742   JS0390   Owner Operator   Broker Pre Pass                DriveWyze TRK34327                      9.84
      3/23/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      3/23/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      3/23/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/23/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/23/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.79
      3/23/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.07
      3/23/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.17
      3/23/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.91
      3/23/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.39
      3/23/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.18
      3/23/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      3/23/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/23/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      3/23/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/23/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      3/23/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/23/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      3/23/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      3/23/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.47
      3/23/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.06
      3/23/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          110.3
      3/23/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      3/23/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      3/23/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      3/23/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      3/23/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      3/23/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/23/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      3/23/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/23/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/23/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.21
      3/23/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.11
      3/23/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.45
      3/23/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      3/23/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/23/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 224814 repair                    250
      3/23/2019    742   NG0024   Owner Operator   Toll Charges                   33252 Benicia 1                           26
      3/23/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/23/2019    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      3/23/2019    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/23/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      3/23/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5

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      3/23/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      3/23/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      3/23/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      3/23/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.49
      3/23/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      3/23/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      3/23/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 224790 Tractor Lease           353.28
      3/23/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      3/23/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      3/23/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.37
      3/23/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.01
      3/23/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      3/23/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      3/23/2019    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Sam Houston - NE M             7
      3/23/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/23/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      3/23/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      3/23/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      3/23/2019    742   SK0049   Owner Operator   Toll Charges                   33934/WFG5428 Bay Bridge 17                7
      3/23/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      3/23/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      3/23/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      3/23/2019    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      3/23/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      3/23/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      3/23/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      3/23/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/23/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/23/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.39
      3/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.74
      3/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.05
      3/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.67
      3/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.26
      3/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.92
      3/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.44
      3/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.58
      3/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          312.1
      3/23/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.39
      3/23/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      3/23/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      3/23/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
      3/23/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      3/23/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      3/23/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      3/23/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 224213 33489 Lease Paym        412.16
      3/23/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 224484 33489 Lease Paym        412.16
      3/23/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 224745 33489 Lease Paym        412.16
      3/23/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/23/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      3/23/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.55
      3/23/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      3/23/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/23/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      3/23/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      3/23/2019    843   EI0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-16            24.8
      3/23/2019    843   EI0003   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-16              18
      3/23/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.81
      3/23/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.82
      3/23/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/23/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      3/23/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      3/30/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.2
      3/30/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.78
      3/30/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.76
      3/30/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.26

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      3/30/2019    709   AN0007   Owner Operator   Communication Charge    PNet Hware 21157A                         13
      3/30/2019    709   AR0064   Owner Operator   Fuel Purchase           Fuel Purchase                          21.17
      3/30/2019    709   AV0021   Owner Operator   Communication Charge    PNet Hware Q13169                          8
      3/30/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                         148.63
      3/30/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                             60
      3/30/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                         291.89
      3/30/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                          342.9
      3/30/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                         198.18
      3/30/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                           75.5
      3/30/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                         222.94
      3/30/2019    709   AV0021   Owner Operator   GARNISHMENT             GARNISHMENT 881047509                  68.19
      3/30/2019    709   AV0021   Owner Operator   Truck Payment           CTMS - 225196 Q13169 Sublease         352.68
      3/30/2019    709   BM0030   Owner Operator   Broker Pre Pass         34023 PrePass Device                    12.5
      3/30/2019    709   BM0030   Owner Operator   Communication Charge    PNet Hware 34023                          13
      3/30/2019    709   CC0134   Owner Operator   Advance                 3/3/19 Clm 73039-2 s/u pmts              250
      3/30/2019    709   CC0134   Owner Operator   Communication Charge    PNet Hware Q13168                          8
      3/30/2019    709   CC0134   Owner Operator   Fuel Card Advances      Cash Advance                             100
      3/30/2019    709   CC0134   Owner Operator   Fuel Card Advances      Cash Advance                             400
      3/30/2019    709   CC0134   Owner Operator   Fuel Card Advances      Cash Advance Fee                           4
      3/30/2019    709   CC0134   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      3/30/2019    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                         462.07
      3/30/2019    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                         241.64
      3/30/2019    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                         204.06
      3/30/2019    709   CC0134   Owner Operator   Loan Repayment          Loan # 00004 - Loan Repayment         354.79
      3/30/2019    709   CM0119   Owner Operator   Communication Charge    PNet Hware 32920                          13
      3/30/2019    709   CM0119   Owner Operator   Fuel Card Advances      Cash Advance                             200
      3/30/2019    709   CM0119   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/30/2019    709   CM0119   Owner Operator   Fuel Purchase           Fuel Purchase                         606.48
      3/30/2019    709   CM0119   Owner Operator   Fuel Purchase           Fuel Purchase                         609.66
      3/30/2019    709   CM0119   Owner Operator   IRP License Deduction   LCIL:2018 - 32920                      33.55
      3/30/2019    709   CM0119   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment         262.04
      3/30/2019    709   CM0119   Owner Operator   Tire Fee                Tire Fee: 2248893                         32
      3/30/2019    709   CM0119   Owner Operator   Tire Purchase           PO: 709-00395997 - PO System          737.75
      3/30/2019    709   CM0119   Owner Operator   Tractor Charge          14620 - 32920                         507.91
      3/30/2019    709   CR0064   Owner Operator   Communication Charge    PNet Hware 32864                          13
      3/30/2019    709   CR0064   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 3-23             124
      3/30/2019    709   CR0064   Owner Operator   Fuel Card Advances      Cash Advance                             200
      3/30/2019    709   CR0064   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/30/2019    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         374.92
      3/30/2019    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         175.74
      3/30/2019    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                          75.29
      3/30/2019    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         363.03
      3/30/2019    709   CR0064   Owner Operator   IRP License Deduction   LCIL:2018 - 32864                      33.55
      3/30/2019    709   CS0091   Owner Operator   Communication Charge    PNet Hware Q1201                           8
      3/30/2019    709   CS0091   Owner Operator   Fuel Purchase           Fuel Purchase                         414.29
      3/30/2019    709   CS0091   Owner Operator   Truck Payment           CTMS - 225051 Q1201                   278.76
      3/30/2019    709   DL0029   Owner Operator   Accident Claim          03/04/19 DL0029 Incident                2000
      3/30/2019    709   DL0029   Owner Operator   Advance                 3/4/19 Clm 73054-1 s/u pmts              250
      3/30/2019    709   DL0029   Owner Operator   Advance                 3/4/19 Clm 73054-1 s/u pmts            -2000
      3/30/2019    709   DL0029   Owner Operator   Communication Charge    PNet Hware 33850                           8
      3/30/2019    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                         416.74
      3/30/2019    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                          426.6
      3/30/2019    709   DL0029   Owner Operator   Toll Charges            33850 NTTA SH-26 TEXpress Entr          16.8
      3/30/2019    709   DL0107   Owner Operator   Communication Charge    PNet Hware Q1245                          13
      3/30/2019    709   DL0107   Owner Operator   Fuel Card Advances      Cash Advance                             300
      3/30/2019    709   DL0107   Owner Operator   Fuel Card Advances      Cash Advance Fee                           3
      3/30/2019    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                          259.3
      3/30/2019    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                         695.73
      3/30/2019    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                         255.66
      3/30/2019    709   DL0107   Owner Operator   Loan Repayment          Loan # 00004 - Loan Repayment         352.59
      3/30/2019    709   DL0107   Owner Operator   Truck Payment           CTMS - 225111 Sublease                338.99
      3/30/2019    709   DM0257   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 3-23           22.49
      3/30/2019    709   DM0257   Owner Operator   ESCROW                  Weekly Escrow                             50
      3/30/2019    709   DM0257   Owner Operator   Fuel Purchase           Fuel Purchase                         136.55
      3/30/2019    709   DM0257   Owner Operator   Fuel Purchase           Fuel Purchase                         119.53
      3/30/2019    709   DM0257   Owner Operator   Fuel Purchase           Fuel Purchase                          49.16
      3/30/2019    709   DS0049   Owner Operator   Communication Charge    PNet Hware 32915                          13
      3/30/2019    709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                         776.67
      3/30/2019    709   DS0049   Owner Operator   IRP License Deduction   LCIL:2018 - 32915                      33.55
      3/30/2019    709   DS0049   Owner Operator   Tractor Charge          15738 - 32915                         512.35
      3/30/2019    709   DS0225   Owner Operator   Communication Charge    PNet Hware 33320                           8
      3/30/2019    709   DS0225   Owner Operator   Fuel Purchase           Fuel Purchase                         618.69
      3/30/2019    709   DS0288   Owner Operator   Accident Claim          03/25/19 DS0288 Incident                1000

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      3/30/2019    709   DS0288   Owner Operator   Advance                        3/25/19 Clm 73375-1 s/u pmts             250
      3/30/2019    709   DS0288   Owner Operator   Advance                        3/25/19 Clm 73375-1 s/u pmts           -1000
      3/30/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      3/30/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/30/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/30/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/30/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                            207
      3/30/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.75
      3/30/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.82
      3/30/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.14
      3/30/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.64
      3/30/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      3/30/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      3/30/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/30/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/30/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/30/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/30/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.57
      3/30/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.14
      3/30/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.7
      3/30/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.1
      3/30/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2018 - 33051                      33.55
      3/30/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      3/30/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      3/30/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.75
      3/30/2019    709   EG0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         256.29
      3/30/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      3/30/2019    709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 3-23           22.49
      3/30/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.08
      3/30/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.3
      3/30/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.17
      3/30/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      3/30/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.36
      3/30/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.27
      3/30/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.97
      3/30/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 451.65
      3/30/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      3/30/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 225196 truck lease 3304        434.29
      3/30/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      3/30/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/30/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/30/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.91
      3/30/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         647.12
      3/30/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      3/30/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/30/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                             500
      3/30/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/30/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.24
      3/30/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      3/30/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      3/30/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.67
      3/30/2019    709   GS0015   Owner Operator   Tire Fee                       Tire Fee: 2248923                          8
      3/30/2019    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00396036 - PO System          220.74
      3/30/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 225338 Amortized Balloo        200.15
      3/30/2019    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 225338 Solvay Fuel                 -8
      3/30/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      3/30/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.33
      3/30/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.04
      3/30/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 225046 Q13170                  352.68
      3/30/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      3/30/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      3/30/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                 8.75
      3/30/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   33180 1999 Kenworth NTL                  -35
      3/30/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34553                          13
      3/30/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      3/30/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/30/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/30/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.17
      3/30/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.98
      3/30/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.51
      3/30/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/30/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       96.88
      3/30/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        1.18

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      3/30/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE         2017 Kenworth PD                      96.88
      3/30/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE         2017 Kenworth PD                       1.18
      3/30/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE         33180 1999 Kenworth PD                -62.5
      3/30/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE         33180 1999 Kenworth PD                15.61
      3/30/2019    709   HG0027   Owner Operator   Communication Charge    PNet Hware 33418                         13
      3/30/2019    709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance                           200
      3/30/2019    709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance                           200
      3/30/2019    709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      3/30/2019    709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      3/30/2019    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                        363.35
      3/30/2019    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                        558.65
      3/30/2019    709   IA0007   Owner Operator   Communication Charge    PNet Hware 34012                          8
      3/30/2019    709   IA0007   Owner Operator   Fuel Purchase           Fuel Purchase                        302.64
      3/30/2019    709   IA0007   Owner Operator   Fuel Purchase           Fuel Purchase                         237.4
      3/30/2019    709   IA0007   Owner Operator   Fuel Purchase           Fuel Purchase                        424.08
      3/30/2019    709   IR0002   Owner Operator   Communication Charge    PNet Hware 32901                          8
      3/30/2019    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                        519.02
      3/30/2019    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                        400.43
      3/30/2019    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                        156.39
      3/30/2019    709   JA0152   Owner Operator   Communication Charge    PNet Hware 34242                          8
      3/30/2019    709   JA0152   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 4-6            -50
      3/30/2019    709   JA0152   Owner Operator   ESCROW                  Weekly Escrow                            50
      3/30/2019    709   JA0152   Owner Operator   Fuel Purchase           Fuel Purchase                         298.6
      3/30/2019    709   JC0292   Owner Operator   Broker Pre Pass         Q13197 PrePass Device                  12.5
      3/30/2019    709   JC0292   Owner Operator   Communication Charge    PNet Hware Q13197                        13
      3/30/2019    709   JC0292   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 3-23          22.49
      3/30/2019    709   JC0292   Owner Operator   ESCROW                  Weekly Escrow                        325.26
      3/30/2019    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                           300
      3/30/2019    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                           200
      3/30/2019    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      3/30/2019    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                          3
      3/30/2019    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         340.8
      3/30/2019    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                        301.52
      3/30/2019    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                        259.12
      3/30/2019    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                        450.65
      3/30/2019    709   JD0211   Owner Operator   Communication Charge    PNet Hware 34325                          8
      3/30/2019    709   JD0211   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 4-6         -207.7
      3/30/2019    709   JD0211   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 4-6          -29.2
      3/30/2019    709   JD0211   Owner Operator   ESCROW                  Weekly Escrow                            50
      3/30/2019    709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                         13
      3/30/2019    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                           200
      3/30/2019    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                           300
      3/30/2019    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                          3
      3/30/2019    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
      3/30/2019    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                         233.6
      3/30/2019    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                        222.99
      3/30/2019    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                        540.92
      3/30/2019    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                        201.95
      3/30/2019    709   JG0017   Owner Operator   IRP License Deduction   LCIL:2018 - 32908                     33.55
      3/30/2019    709   JG0017   Owner Operator   Loan Repayment          Loan # 00005 - Loan Repayment        251.27
      3/30/2019    709   JG0017   Owner Operator   Tractor Charge          14298 - 32908                         504.6
      3/30/2019    709   JG0072   Owner Operator   Communication Charge    PNet Hware 32909                         13
      3/30/2019    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                           500
      3/30/2019    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                          5
      3/30/2019    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                        197.91
      3/30/2019    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                        530.85
      3/30/2019    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                         307.9
      3/30/2019    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                        461.88
      3/30/2019    709   JG0072   Owner Operator   IRP License Deduction   LCIL:2018 - 32909                     33.55
      3/30/2019    709   JG0072   Owner Operator   Tractor Charge          14534 - 32909                        513.26
      3/30/2019    709   JG0092   Owner Operator   Communication Charge    PNet Hware 33669                          8
      3/30/2019    709   JG0092   Owner Operator   Fuel Purchase           Fuel Purchase                        323.99
      3/30/2019    709   JG0092   Owner Operator   Fuel Purchase           Fuel Purchase                        526.79
      3/30/2019    709   JG0092   Owner Operator   Fuel Purchase           Fuel Purchase                        454.81
      3/30/2019    709   JQ0015   Owner Operator   Communication Charge    PNet Hware 33438                         13
      3/30/2019    709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                        267.43
      3/30/2019    709   JR0099   Owner Operator   Communication Charge    PNet Hware Q1203                         13
      3/30/2019    709   JR0099   Owner Operator   Fuel Purchase           Fuel Purchase                        241.88
      3/30/2019    709   JR0099   Owner Operator   Tire Fee                Tire Fee: 2248938                        16
      3/30/2019    709   JR0099   Owner Operator   Tire Purchase           PO: 709-00393035 - PO System         227.14
      3/30/2019    709   JR0099   Owner Operator   Truck Payment           CTMS - 225001 Truck Lease            278.76
      3/30/2019    709   KP0004   Owner Operator   Broker Pre Pass         32914 PrePass Device                   12.5
      3/30/2019    709   KP0004   Owner Operator   Communication Charge    PNet Hware 32914                         13

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      3/30/2019    709   KP0004   Owner Operator   ESCROW                  Escrow Withdrawal                    -2300
      3/30/2019    709   KP0004   Owner Operator   ESCROW                  Weekly Escrow                          250
      3/30/2019    709   KP0004   Owner Operator   Express Check           T-Check Payment                       2300
      3/30/2019    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                           200
      3/30/2019    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                           100
      3/30/2019    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      3/30/2019    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      3/30/2019    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                       297.63
      3/30/2019    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                          275
      3/30/2019    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                          548
      3/30/2019    709   KP0004   Owner Operator   IRP License Deduction   LCIL:2018 - 32914                    33.55
      3/30/2019    709   KP0004   Owner Operator   Tire Fee                Tire Fee: 2248927                        4
      3/30/2019    709   KP0004   Owner Operator   Tire Purchase           PO: 709-00395996 - PO System         92.34
      3/30/2019    709   KP0004   Owner Operator   Tractor Charge          14457 - 32914                       519.59
      3/30/2019    709   KT0055   Owner Operator   Broker Pre Pass         Q13156 PrePass Device                 12.5
      3/30/2019    709   KT0055   Owner Operator   Communication Charge    PNet Hware Q13156                        8
      3/30/2019    709   KT0055   Owner Operator   ESCROW                  Weekly Escrow                           50
      3/30/2019    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                       329.45
      3/30/2019    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                        278.4
      3/30/2019    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                       292.29
      3/30/2019    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                       166.39
      3/30/2019    709   KT0055   Owner Operator   Truck Payment           CTMS - 225047 Q13156 Lease          388.16
      3/30/2019    709   LL0160   Owner Operator   Communication Charge    PNet Hware Q1111                         8
      3/30/2019    709   LL0160   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 3-23        180.76
      3/30/2019    709   LL0160   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 3-23        343.75
      3/30/2019    709   LL0160   Owner Operator   Truck Payment           CTMS - 225196 Lease Q1111           252.11
      3/30/2019    709   LS0023   Owner Operator   Communication Charge    PNet Hware 33655                        13
      3/30/2019    709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance                           200
      3/30/2019    709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      3/30/2019    709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                       461.73
      3/30/2019    709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                       672.23
      3/30/2019    709   LS0023   Owner Operator   Toll Charges            33655 BATA Bay Bridge                   26
      3/30/2019    709   MA0092   Owner Operator   BOBTAIL INS.            2012 Peterbilt NTL                    8.75
      3/30/2019    709   MA0092   Owner Operator   Communication Charge    PNet Hware 34005                         8
      3/30/2019    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                       335.92
      3/30/2019    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                       386.77
      3/30/2019    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                        18.38
      3/30/2019    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                       139.83
      3/30/2019    709   MD0122   Owner Operator   Communication Charge    PNet Hware 34342                         8
      3/30/2019    709   MD0122   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 4-6        -54.24
      3/30/2019    709   MD0122   Owner Operator   ESCROW                  Weekly Escrow                          100
      3/30/2019    709   MD0122   Owner Operator   IRP License Deduction   LCIL:2018 - 34342                    31.53
      3/30/2019    709   ME0053   Owner Operator   Communication Charge    PNet Hware Q1113                         8
      3/30/2019    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                       576.39
      3/30/2019    709   ME0053   Owner Operator   Truck Payment           CTMS - 225052 Q1113 Lease           252.11
      3/30/2019    709   MG0067   Owner Operator   Communication Charge    PNet Hware 33435                         8
      3/30/2019    709   MG0067   Owner Operator   Fuel Purchase           Fuel Purchase                       380.43
      3/30/2019    709   MP0035   Owner Operator   Communication Charge    PNet Hware 32904                        13
      3/30/2019    709   MP0035   Owner Operator   ESCROW                  Weekly Escrow                          700
      3/30/2019    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance                           180
      3/30/2019    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance Fee                       1.8
      3/30/2019    709   MP0035   Owner Operator   Fuel Purchase           Fuel Purchase                       662.51
      3/30/2019    709   MP0035   Owner Operator   IRP License Deduction   LCIL:2018 - 32904                    33.55
      3/30/2019    709   NB0029   Owner Operator   Communication Charge    PNet Hware 32986                        13
      3/30/2019    709   NB0029   Owner Operator   ESCROW                  Escrow Withdrawal                    -3000
      3/30/2019    709   NB0029   Owner Operator   ESCROW                  Weekly Escrow                          500
      3/30/2019    709   NB0029   Owner Operator   Express Check           T-Check Payment                       3000
      3/30/2019    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance                           100
      3/30/2019    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance                           500
      3/30/2019    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance                           200
      3/30/2019    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      3/30/2019    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance Fee                         5
      3/30/2019    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      3/30/2019    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                       152.51
      3/30/2019    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                        521.8
      3/30/2019    709   NB0029   Owner Operator   IRP License Deduction   LCIL:2018 - 32986                    33.55
      3/30/2019    709   NB0029   Owner Operator   Truck Payment           CTMS - 225048 32986 Lease           314.03
      3/30/2019    709   NG0005   Owner Operator   Communication Charge    PNet Hware 21412B                       13
      3/30/2019    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance                           300
      3/30/2019    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance Fee                         3
      3/30/2019    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                       380.36
      3/30/2019    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                       418.11
      3/30/2019    709   NT9564   Owner Operator   Communication Charge    PNet Hware 73130                        13

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      3/30/2019    709   NT9564   Owner Operator   Truck Payment           CTMS - 225266 Truck 73130 Leas        196.65
      3/30/2019    709   OJ0007   Owner Operator   Communication Charge    PNet Hware 34370                           8
      3/30/2019    709   OJ0007   Owner Operator   ESCROW                  Weekly Escrow                             50
      3/30/2019    709   OJ0007   Owner Operator   Fuel Purchase           Fuel Purchase                         102.87
      3/30/2019    709   OJ0007   Owner Operator   Fuel Purchase           Fuel Purchase                         146.69
      3/30/2019    709   OJ0007   Owner Operator   Fuel Purchase           Fuel Purchase                          95.12
      3/30/2019    709   OJ0007   Owner Operator   Fuel Purchase           Fuel Purchase                         201.61
      3/30/2019    709   OJ0007   Owner Operator   Repair Order            CTMS - 224990 REPAIRS                   250
      3/30/2019    709   OJ0007   Owner Operator   Tractor Charge          24925 - 34370                         215.66
      3/30/2019    709   RC0030   Owner Operator   Communication Charge    PNet Hware 33676                           8
      3/30/2019    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                         606.45
      3/30/2019    709   RL0017   Owner Operator   Advance                 1/9/19 Clm 72310-2 s/u pmts             250
      3/30/2019    709   RL0017   Owner Operator   Broker Pre Pass         33065 PrePass Device                    12.5
      3/30/2019    709   RL0017   Owner Operator   Communication Charge    PNet Hware 33065                          13
      3/30/2019    709   RL0017   Owner Operator   ESCROW                  Weekly Escrow                           100
      3/30/2019    709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                         172.87
      3/30/2019    709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                         572.55
      3/30/2019    709   RL0017   Owner Operator   IRP License Deduction   LCIL:2018 - 33065                      33.55
      3/30/2019    709   RL0017   Owner Operator   Tractor Charge          35015 - 33065                         529.05
      3/30/2019    709   RL0062   Owner Operator   Communication Charge    PNet Hware 32912                          13
      3/30/2019    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                            200
      3/30/2019    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                            200
      3/30/2019    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/30/2019    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/30/2019    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                         360.23
      3/30/2019    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                         461.28
      3/30/2019    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                         520.26
      3/30/2019    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                         202.76
      3/30/2019    709   RL0062   Owner Operator   IRP License Deduction   LCIL:2018 - 32912                      33.55
      3/30/2019    709   RL0062   Owner Operator   Tractor Charge          14460 - 32912                         512.16
      3/30/2019    709   RL0180   Owner Operator   Communication Charge    PNet Hware 32910                          13
      3/30/2019    709   RL0180   Owner Operator   ESCROW                  Weekly Escrow                           100
      3/30/2019    709   RL0180   Owner Operator   Fuel Purchase           Fuel Purchase                         296.61
      3/30/2019    709   RL0180   Owner Operator   Fuel Purchase           Fuel Purchase                         488.92
      3/30/2019    709   RL0180   Owner Operator   IRP License Deduction   LCIL:2018 - 32910                      33.55
      3/30/2019    709   RL0180   Owner Operator   Tractor Charge          45995 - 32910                         350.65
      3/30/2019    709   RM0026   Owner Operator   Communication Charge    PNet Hware 33664                          13
      3/30/2019    709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                         483.05
      3/30/2019    709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                         401.89
      3/30/2019    709   RP0082   Owner Operator   Communication Charge    PNet Hware Q1202                          13
      3/30/2019    709   RP0082   Owner Operator   Fuel Purchase           Fuel Purchase                         466.99
      3/30/2019    709   RP0082   Owner Operator   Loan Repayment          Loan # 00003 - Loan Repayment         249.81
      3/30/2019    709   RP0082   Owner Operator   Truck Payment           CTMS - 225001 Q1202 Truck Leas        278.76
      3/30/2019    709   RR0123   Owner Operator   Communication Charge    PNet Hware Q1248                           8
      3/30/2019    709   RR0123   Owner Operator   Fuel Card Advances      Cash Advance                            100
      3/30/2019    709   RR0123   Owner Operator   Fuel Card Advances      Cash Advance                            100
      3/30/2019    709   RR0123   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      3/30/2019    709   RR0123   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      3/30/2019    709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                         501.25
      3/30/2019    709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                         504.12
      3/30/2019    709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                         449.41
      3/30/2019    709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                         495.45
      3/30/2019    709   RR0123   Owner Operator   Loan Repayment          Loan # 00002 - Loan Repayment         248.42
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 ILTOLL Cermak Rd.                 6.65
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 ILTOLL Elgin Rd                   6.65
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 ILTOLL Joliet Rd.                 1.95
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 ILTOLL Joliet Rd.                  1.4
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 ILTOLL Joliet Rd.                  2.5
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 ILTOLL Marengo                   13.35
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 ILTOLL Route 53                    2.5
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 ILTOLL Route 80 (East)               5
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 ILTOLL South Beloit               8.35
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 ILTOLL Spring Creek              13.35
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 RIVERLIN East End Crossi         10.25
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 TxTag HS - South Plaza L           1.5
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 TxTag N Tarrant Parkway            7.2
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 TxTag SH - Southwest Pla             7
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 TxTag Ship Channel Bridg             7
      3/30/2019    709   RR0123   Owner Operator   Toll Charges            Q1248 TxTag Souther Terminal K           7.2
      3/30/2019    709   RR0123   Owner Operator   Truck Payment           CTMS - 225051 Q1248                   311.97
      3/30/2019    709   SB0009   Owner Operator   Communication Charge    PNet Hware 33236                          13
      3/30/2019    709   SB0009   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 4-6          -23.75
      3/30/2019    709   SB0009   Owner Operator   ESCROW                  Weekly Escrow                           200

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      3/30/2019    709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance                             200
      3/30/2019    709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance                             200
      3/30/2019    709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/30/2019    709   SB0009   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/30/2019    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         303.35
      3/30/2019    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         277.14
      3/30/2019    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                          217.1
      3/30/2019    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         321.95
      3/30/2019    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         400.06
      3/30/2019    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         262.21
      3/30/2019    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         260.63
      3/30/2019    709   SB0009   Owner Operator   IRP License Deduction   LCIL:2018 - 33236                      33.55
      3/30/2019    709   SB0009   Owner Operator   Loan Repayment          Loan # 00009 - Loan Repayment         247.89
      3/30/2019    709   SB0009   Owner Operator   Toll Charges            33236 OTA Kilpatrick Turnpike           8.65
      3/30/2019    709   SB0009   Owner Operator   Toll Charges            33236 OTA Turner Turnpike West         18.05
      3/30/2019    709   SB0009   Owner Operator   Toll Charges            33236 OTA Will Rogers Turnpike         18.05
      3/30/2019    709   SB0009   Owner Operator   Tractor Charge          19100 - 33236                         564.33
      3/30/2019    709   SB0103   Owner Operator   Communication Charge    PNet Hware 33037                           8
      3/30/2019    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                         427.92
      3/30/2019    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                         369.33
      3/30/2019    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                         396.29
      3/30/2019    709   SB0103   Owner Operator   Truck Payment           CTMS - 224998 Sub Lease               388.33
      3/30/2019    709   SN0019   Owner Operator   Communication Charge    PNet Hware 33461                          13
      3/30/2019    709   VB0015   Owner Operator   Communication Charge    PNet Hware Q1112                           8
      3/30/2019    709   VB0015   Owner Operator   Fuel Card Advances      Cash Advance                             200
      3/30/2019    709   VB0015   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/30/2019    709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                            420
      3/30/2019    709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                          478.6
      3/30/2019    709   VJ0006   Owner Operator   Accident Claim          03/12/19 VJ0006 Incident                 500
      3/30/2019    709   VJ0006   Owner Operator   Communication Charge    PNet Hware 33961                           8
      3/30/2019    709   VJ0006   Owner Operator   ESCROW                  Escrow Withdrawal                       -600
      3/30/2019    709   VJ0006   Owner Operator   ESCROW                  Weekly Escrow                            200
      3/30/2019    709   VJ0006   Owner Operator   Express Check           T-Check Payment                          600
      3/30/2019    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                             200
      3/30/2019    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/30/2019    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         192.92
      3/30/2019    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         268.45
      3/30/2019    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                          282.9
      3/30/2019    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         289.17
      3/30/2019    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                            262
      3/30/2019    709   VJ0006   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment         259.17
      3/30/2019    709   WB0062   Owner Operator   Communication Charge    PNet Hware 33407                          13
      3/30/2019    709   WH0087   Owner Operator   Communication Charge    PNet Hware q1239                           8
      3/30/2019    709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                         208.92
      3/30/2019    709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                         278.94
      3/30/2019    709   WH0087   Owner Operator   Truck Payment           CTMS - 225052 Q1238 Lease             311.97
      3/30/2019    742   BS0078   Owner Operator   Communication Charge    PNet Hware Q13151                          8
      3/30/2019    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                         299.92
      3/30/2019    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                         280.24
      3/30/2019    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                         376.56
      3/30/2019    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                         162.63
      3/30/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE         2015 Peterbilt PD                    -213.75
      3/30/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE         2015 Peterbilt PD                      53.44
      3/30/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE         2015 Peterbilt PD Terrorism              2.5
      3/30/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE         2015 Peterbilt PD Terrorism              -10
      3/30/2019    742   BS0078   Owner Operator   Truck Payment           CTMS - 225048 Lease of Q13151         388.16
      3/30/2019    742   CA0089   Owner Operator   Communication Charge    PNet Hware 33832                          13
      3/30/2019    742   CA0089   Owner Operator   Fuel Purchase           Fuel Purchase                         293.53
      3/30/2019    742   CA0089   Owner Operator   Fuel Purchase           Fuel Purchase                          391.1
      3/30/2019    742   CA0089   Owner Operator   Fuel Purchase           Fuel Purchase                         288.03
      3/30/2019    742   CA0089   Owner Operator   Fuel Purchase           Fuel Purchase                         278.39
      3/30/2019    742   DA0067   Owner Operator   Communication Charge    PNet Hware 33847                          13
      3/30/2019    742   DA0067   Owner Operator   Fuel Purchase           Fuel Purchase                         600.01
      3/30/2019    742   DA0067   Owner Operator   Fuel Purchase           Fuel Purchase                            120
      3/30/2019    742   DS0254   Owner Operator   Communication Charge    PNet Hware 33487                           8
      3/30/2019    742   DS0254   Owner Operator   Fuel Card Advances      Cash Advance                             200
      3/30/2019    742   DS0254   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/30/2019    742   DS0254   Owner Operator   Fuel Purchase           Fuel Purchase                          405.4
      3/30/2019    742   DS0254   Owner Operator   Fuel Purchase           Fuel Purchase                         464.73
      3/30/2019    742   DS0254   Owner Operator   T Chek Fee              ExpressCheck Fee                        4.64
      3/30/2019    742   DS0254   Owner Operator   T Chek Fee              Tank Wash 33487                       463.75
      3/30/2019    742   DS0254   Owner Operator   Tire Purchase           PO: 742-00395840 - PO System          195.76
      3/30/2019    742   DS0254   Owner Operator   Truck Payment           CTMS - 224533 Trk 33487 Lease          434.2

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      3/30/2019    742   DS0254   Owner Operator   Truck Payment           CTMS - 224786 Trk 33487 Lease          434.2
      3/30/2019    742   DS0254   Owner Operator   Truck Payment           CTMS - 225108 Trk 33487 Lease          434.2
      3/30/2019    742   EA0039   Owner Operator   Communication Charge    PNet Hware 33993                           8
      3/30/2019    742   EA0039   Owner Operator   Fuel Purchase           Fuel Purchase                         422.04
      3/30/2019    742   EA0039   Owner Operator   Fuel Purchase           Fuel Purchase                         414.77
      3/30/2019    742   ED0041   Owner Operator   Communication Charge    PNet Hware 32897                          13
      3/30/2019    742   ED0041   Owner Operator   Fuel Purchase           Fuel Purchase                           100
      3/30/2019    742   ED0041   Owner Operator   Fuel Purchase           Fuel Purchase                         207.84
      3/30/2019    742   ED0041   Owner Operator   Fuel Purchase           Fuel Purchase                          78.81
      3/30/2019    742   ED0041   Owner Operator   Fuel Purchase           Fuel Purchase                         157.89
      3/30/2019    742   ED0041   Owner Operator   Fuel Purchase           Fuel Purchase                         480.36
      3/30/2019    742   ED0041   Owner Operator   Fuel Purchase           Fuel Purchase                          307.3
      3/30/2019    742   ED0041   Owner Operator   Toll Charges            32897 HCTRA Sam Houston - NE M             7
      3/30/2019    742   EN0016   Owner Operator   Communication Charge    PNet Hware 32947                          13
      3/30/2019    742   EN0016   Owner Operator   Communication Charge    PNet Hware 32947                          13
      3/30/2019    742   EN0016   Owner Operator   IRP License Deduction   LCIL:2018 - 32947                      33.55
      3/30/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE         2014 Freightliner PD                   67.13
      3/30/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE         2014 Freightliner PD Terrorism           2.5
      3/30/2019    742   EN0016   Owner Operator   Toll Charges            32947 Carquinez Bridge 11                 26
      3/30/2019    742   EN0016   Owner Operator   Toll Charges            32947 Carquinez Bridge 11                 25
      3/30/2019    742   EN0016   Owner Operator   Toll Charges            32947 Carquinez Bridge 12                 26
      3/30/2019    742   EN0016   Owner Operator   Toll Charges            32947 Carquinez Bridge 12                 25
      3/30/2019    742   EN0016   Owner Operator   Toll Charges            32947 Carquinez Bridge 9                  16
      3/30/2019    742   EN0016   Owner Operator   Tractor Charge          15770 - 32947                          419.4
      3/30/2019    742   FS0011   Owner Operator   Communication Charge    PNet Hware 51069A                         13
      3/30/2019    742   JH0148   Owner Operator   Communication Charge    PNet Hware 34329                          13
      3/30/2019    742   JH0148   Owner Operator   ESCROW                  Weekly Escrow                             50
      3/30/2019    742   JH0148   Owner Operator   Fuel Purchase           Fuel Purchase                          562.4
      3/30/2019    742   JS0390   Owner Operator   Communication Charge    PNet Hware 34327                           8
      3/30/2019    742   JS0390   Owner Operator   ESCROW                  Weekly Escrow                             50
      3/30/2019    742   JS0390   Owner Operator   Fuel Purchase           Fuel Purchase                          93.91
      3/30/2019    742   JS0390   Owner Operator   Fuel Purchase           Fuel Purchase                         364.22
      3/30/2019    742   JS0390   Owner Operator   Fuel Purchase           Fuel Purchase                          392.3
      3/30/2019    742   JS0390   Owner Operator   Fuel Purchase           Fuel Purchase                         442.67
      3/30/2019    742   MH0117   Owner Operator   Communication Charge    PNet Hware 33296                          13
      3/30/2019    742   MH0117   Owner Operator   ESCROW                  Weekly Escrow                             50
      3/30/2019    742   MS0230   Owner Operator   Communication Charge    PNet Hware 34082                          13
      3/30/2019    742   MS0230   Owner Operator   Fuel Purchase           Fuel Purchase                         100.91
      3/30/2019    742   MS0230   Owner Operator   Fuel Purchase           Fuel Purchase                          92.49
      3/30/2019    742   MS0230   Owner Operator   Fuel Purchase           Fuel Purchase                         101.93
      3/30/2019    742   MS0230   Owner Operator   Fuel Purchase           Fuel Purchase                         104.55
      3/30/2019    742   MS0230   Owner Operator   Fuel Purchase           Fuel Purchase                          70.76
      3/30/2019    742   MS0230   Owner Operator   Toll Charges            34082 BATA Benicia                        26
      3/30/2019    742   MS0230   Owner Operator   Toll Charges            34082 BATA Carquinez Bridge               26
      3/30/2019    742   NG0024   Owner Operator   Communication Charge    PNet Hware 33252                          13
      3/30/2019    742   NG0024   Owner Operator   Fuel Card Advances      Cash Advance                            200
      3/30/2019    742   NG0024   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      3/30/2019    742   NG0024   Owner Operator   Fuel Purchase           Fuel Purchase                         372.26
      3/30/2019    742   NG0024   Owner Operator   Fuel Purchase           Fuel Purchase                         315.44
      3/30/2019    742   NG0024   Owner Operator   Fuel Purchase           Fuel Purchase                         252.97
      3/30/2019    742   NG0024   Owner Operator   Fuel Purchase           Fuel Purchase                         412.77
      3/30/2019    742   NG0024   Owner Operator   Repair Order            CTMS - 225221 repairs                   250
      3/30/2019    742   OS0018   Owner Operator   Communication Charge    PNet Hware 34147                          13
      3/30/2019    742   OS0018   Owner Operator   ESCROW                  Weekly Escrow                           100
      3/30/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY      L&H                                     5.55
      3/30/2019    742   PC0012   Owner Operator   BOBTAIL INS.            2014 Freightliner NTL                   8.75
      3/30/2019    742   PC0012   Owner Operator   Communication Charge    PNet Hware 32969                          13
      3/30/2019    742   PC0012   Owner Operator   Communication Charge    PNet Hware 32969                          13
      3/30/2019    742   PC0012   Owner Operator   Fuel Card Advances      Cash Advance                            100
      3/30/2019    742   PC0012   Owner Operator   Fuel Card Advances      Cash Advance                            100
      3/30/2019    742   PC0012   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      3/30/2019    742   PC0012   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      3/30/2019    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                          409.4
      3/30/2019    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         276.38
      3/30/2019    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         292.39
      3/30/2019    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         241.69
      3/30/2019    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         276.71
      3/30/2019    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         187.67
      3/30/2019    742   PC0012   Owner Operator   IRP License Deduction   LCIL:2018 - 32969                      33.64
      3/30/2019    742   PC0012   Owner Operator   IRP License Deduction   LCIL:2018 - 32969                      33.55
      3/30/2019    742   PC0012   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment         262.01
      3/30/2019    742   PC0012   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment         262.01
      3/30/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE         2014 Freightliner PD                  104.35

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      3/30/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      3/30/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      3/30/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      3/30/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      3/30/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      3/30/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/30/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/30/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/30/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/30/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/30/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/30/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.3
      3/30/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.37
      3/30/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.93
      3/30/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.58
      3/30/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.05
      3/30/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.72
      3/30/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.46
      3/30/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.36
      3/30/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.3
      3/30/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.35
      3/30/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/30/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      3/30/2019    742   RF0136   Owner Operator   Repair Order                   CTMS - 224819 repair                   246.5
      3/30/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Benicia 1                           26
      3/30/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 6                  15
      3/30/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 7                  25
      3/30/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 9                  25
      3/30/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      3/30/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.44
      3/30/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.03
      3/30/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.47
      3/30/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.37
      3/30/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.07
      3/30/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 225112 Tractor Lease           353.28
      3/30/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      3/30/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.95
      3/30/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.59
      3/30/2019    742   RS0342   Owner Operator   Toll Charges                   33738 OTA Kilpatrick Turnpike           4.45
      3/30/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      3/30/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      3/30/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/30/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/30/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/30/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.73
      3/30/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.52
      3/30/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.91
      3/30/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.66
      3/30/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 225047 33489 Lease Paym        412.16
      3/30/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      3/30/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.19
      3/30/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      3/30/2019    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      3/30/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      3/30/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          190.9
      3/30/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         661.82
      3/30/2019    843   EI0003   Owner Operator   Toll Charges                   33949 CTRMA 183A-Lakeline Plaz          2.28
      3/30/2019    843   EI0003   Owner Operator   Toll Charges                   33949 CTRMA 183A-Park Street P          6.16
      3/30/2019    843   EI0003   Owner Operator   Toll Charges                   33949 CTRMA Crystal Falls Plaz          4.36
       4/6/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
       4/6/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
       4/6/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/6/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.68
       4/6/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.12
       4/6/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.85
       4/6/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.93
       4/6/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.28
       4/6/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.54
       4/6/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                      100
       4/6/2019    709   AC0061   Owner Operator   Permits1                       ID06:2019 - Q13148                        11
       4/6/2019    709   AC0061   Owner Operator   Permits1                       IL02:2019 - Q13148                      3.75
       4/6/2019    709   AC0061   Owner Operator   Permits1                       NM07:2019 - Q13148                        10
       4/6/2019    709   AC0061   Owner Operator   Permits1                       NY13:2019 - Q13148                       1.5

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       4/6/2019    709   AC0061   Owner Operator   Permits1                OR16:2019 - Q13148                       8.5
       4/6/2019    709   AC0061   Owner Operator   Truck Payment           CTMS - 225334 Q13148 Trac Leas        296.09
       4/6/2019    709   AC0061   Owner Operator   Truck Payment           CTMS - 225576 Q13148 Trac Leas        296.09
       4/6/2019    709   AN0007   Owner Operator   Communication Charge    PNet Hware 21157A                         13
       4/6/2019    709   AN0007   Owner Operator   Fuel Purchase           Fuel Purchase                         487.83
       4/6/2019    709   AN0007   Owner Operator   IRP License Deduction   LCIL:2019 - 21157A                      100
       4/6/2019    709   AR0064   Owner Operator   Communication Charge    PNet Hware Q13147                         13
       4/6/2019    709   AR0064   Owner Operator   Communication Charge    PNet Hware Q13147                         13
       4/6/2019    709   AR0064   Owner Operator   Fuel Purchase           Fuel Purchase                           317
       4/6/2019    709   AR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         133.33
       4/6/2019    709   AR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         176.24
       4/6/2019    709   AR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         165.33
       4/6/2019    709   AR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         396.89
       4/6/2019    709   AR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         237.72
       4/6/2019    709   AR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         168.41
       4/6/2019    709   AR0064   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        439.72
       4/6/2019    709   AR0064   Owner Operator   IRP License Deduction   LCIL:2019 - Q13147                      100
       4/6/2019    709   AR0064   Owner Operator   Truck Payment           CTMS - 225182 Q13147 Lease            440.14
       4/6/2019    709   AR0064   Owner Operator   Truck Payment           CTMS - 225509 Q13147 Lease            440.14
       4/6/2019    709   AV0021   Owner Operator   Communication Charge    PNet Hware Q13169                          8
       4/6/2019    709   AV0021   Owner Operator   Fuel Card Advances      Cash Advance                              50
       4/6/2019    709   AV0021   Owner Operator   Fuel Card Advances      Cash Advance Fee                         0.5
       4/6/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                         102.63
       4/6/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                         124.04
       4/6/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                          59.89
       4/6/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                          99.25
       4/6/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                             50
       4/6/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                         148.62
       4/6/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                         314.81
       4/6/2019    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                          73.81
       4/6/2019    709   AV0021   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax          8.45
       4/6/2019    709   AV0021   Owner Operator   GARNISHMENT             GARNISHMENT 881047509                 107.25
       4/6/2019    709   AV0021   Owner Operator   IRP License Deduction   LCIL:2019 - Q13169                      100
       4/6/2019    709   AV0021   Owner Operator   Truck Payment           CTMS - 225524 Q13169 Sublease         352.68
       4/6/2019    709   BM0030   Owner Operator   Communication Charge    PNet Hware 34023                          13
       4/6/2019    709   BM0030   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        515.36
       4/6/2019    709   BM0030   Owner Operator   IRP License Deduction   LCIL:2019 - 34023                       100
       4/6/2019    709   CC0134   Owner Operator   Advance                 3/3/19 Clm 73039-2 s/u pmts             250
       4/6/2019    709   CC0134   Owner Operator   Communication Charge    PNet Hware Q13168                          8
       4/6/2019    709   CC0134   Owner Operator   Fuel Card Advances      Cash Advance                            500
       4/6/2019    709   CC0134   Owner Operator   Fuel Card Advances      Cash Advance Fee                           5
       4/6/2019    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                         150.64
       4/6/2019    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                         499.47
       4/6/2019    709   CC0134   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        384.39
       4/6/2019    709   CC0134   Owner Operator   IRP License Deduction   LCIL:2019 - Q13168                      100
       4/6/2019    709   CC0134   Owner Operator   Loan Repayment          Loan # 00004 - Loan Repayment         354.79
       4/6/2019    709   CC0134   Owner Operator   Truck Payment           CTMS - 225052 Q13168 sub lease        352.68
       4/6/2019    709   CC0134   Owner Operator   Truck Payment           CTMS - 225412 Q13168 sub lease        352.68
       4/6/2019    709   CM0119   Owner Operator   Communication Charge    PNet Hware 32920                          13
       4/6/2019    709   CM0119   Owner Operator   Fuel Purchase           Fuel Purchase                         518.07
       4/6/2019    709   CM0119   Owner Operator   IRP License Deduction   LCIL:2019 - 32920                      33.17
       4/6/2019    709   CM0119   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment         262.04
       4/6/2019    709   CM0119   Owner Operator   Tire Purchase           PO: 709-00395997 - PO System          737.75
       4/6/2019    709   CM0119   Owner Operator   Tractor Charge          14620 - 32920                         507.91
       4/6/2019    709   CR0064   Owner Operator   Communication Charge    PNet Hware 32864                          13
       4/6/2019    709   CR0064   Owner Operator   Communication Charge    PNet Hware Q1247                           8
       4/6/2019    709   CR0064   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 4-13         -277.2
       4/6/2019    709   CR0064   Owner Operator   Fuel Card Advances      Cash Advance                            200
       4/6/2019    709   CR0064   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       4/6/2019    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         185.15
       4/6/2019    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                          25.06
       4/6/2019    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                          377.2
       4/6/2019    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         327.95
       4/6/2019    709   CR0064   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax         84.06
       4/6/2019    709   CR0064   Owner Operator   IRP License Deduction   LCIL:2019 - 32864                       100
       4/6/2019    709   CR0064   Owner Operator   IRP License Deduction   LCIL:2019 - Q1247                       100
       4/6/2019    709   CS0091   Owner Operator   Communication Charge    PNet Hware Q1201                           8
       4/6/2019    709   CS0091   Owner Operator   Fuel Purchase           Fuel Purchase                         255.49
       4/6/2019    709   CS0091   Owner Operator   IRP License Deduction   LCIL:2019 - Q1201                       100
       4/6/2019    709   CS0091   Owner Operator   Truck Payment           CTMS - 225411 Q1201                   278.76
       4/6/2019    709   DL0029   Owner Operator   Advance                 3/4/19 Clm 73054-1 s/u pmts             250
       4/6/2019    709   DL0029   Owner Operator   Communication Charge    PNet Hware 33850                           8
       4/6/2019    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                         378.99

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       4/6/2019    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                         303.64
       4/6/2019    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                         287.33
       4/6/2019    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                         264.89
       4/6/2019    709   DL0029   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        240.75
       4/6/2019    709   DL0029   Owner Operator   IRP License Deduction   LCIL:2019 - 33850                       100
       4/6/2019    709   DL0107   Owner Operator   Communication Charge    PNet Hware Q1245                          13
       4/6/2019    709   DL0107   Owner Operator   Fuel Card Advances      Cash Advance                            300
       4/6/2019    709   DL0107   Owner Operator   Fuel Card Advances      Cash Advance Fee                           3
       4/6/2019    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                         455.59
       4/6/2019    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                         542.39
       4/6/2019    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                         509.42
       4/6/2019    709   DL0107   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        303.15
       4/6/2019    709   DL0107   Owner Operator   IRP License Deduction   LCIL:2019 - Q1245                       100
       4/6/2019    709   DL0107   Owner Operator   Loan Repayment          Loan # 00004 - Loan Repayment         352.59
       4/6/2019    709   DL0107   Owner Operator   Toll Charges            Q1245 ILTOLL I-57/147th St (Il          6.65
       4/6/2019    709   DL0107   Owner Operator   Truck Payment           CTMS - 225462 Sublease                338.99
       4/6/2019    709   DM0257   Owner Operator   ESCROW                  Weekly Escrow                             50
       4/6/2019    709   DM0257   Owner Operator   Fuel Purchase           Fuel Purchase                         151.24
       4/6/2019    709   DM0257   Owner Operator   Fuel Purchase           Fuel Purchase                         300.54
       4/6/2019    709   DM0257   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        542.16
       4/6/2019    709   DM0257   Owner Operator   IRP License Deduction   LCIL:2019 - 34328                       100
       4/6/2019    709   DS0049   Owner Operator   Communication Charge    PNet Hware 32915                          13
       4/6/2019    709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance                            500
       4/6/2019    709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance Fee                           5
       4/6/2019    709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                          306.5
       4/6/2019    709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                         273.77
       4/6/2019    709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                         811.78
       4/6/2019    709   DS0049   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax         -7.36
       4/6/2019    709   DS0049   Owner Operator   IRP License Deduction   LCIL:2019 - 32915                      33.17
       4/6/2019    709   DS0049   Owner Operator   Tractor Charge          15738 - 32915                         512.35
       4/6/2019    709   DS0225   Owner Operator   Communication Charge    PNet Hware 33320                           8
       4/6/2019    709   DS0225   Owner Operator   Fuel Purchase           Fuel Purchase                          682.4
       4/6/2019    709   DS0225   Owner Operator   IRP License Deduction   LCIL:2019 - 33320                      1724
       4/6/2019    709   DS0288   Owner Operator   Advance                 3/25/19 Clm 73375-1 s/u pmts            250
       4/6/2019    709   DS0288   Owner Operator   Communication Charge    PNet Hware 34266                          13
       4/6/2019    709   DS0288   Owner Operator   ESCROW                  Weekly Escrow                             50
       4/6/2019    709   DS0288   Owner Operator   Fuel Card Advances      Cash Advance                            100
       4/6/2019    709   DS0288   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       4/6/2019    709   DS0288   Owner Operator   Fuel Purchase           Fuel Purchase                         414.08
       4/6/2019    709   DS0288   Owner Operator   Fuel Purchase           Fuel Purchase                         347.13
       4/6/2019    709   DS0288   Owner Operator   Fuel Purchase           Fuel Purchase                         263.86
       4/6/2019    709   DS0288   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        220.46
       4/6/2019    709   DS0288   Owner Operator   IRP License Deduction   LCIL:2019 - 34266                       100
       4/6/2019    709   EA0003   Owner Operator   Communication Charge    PNet Hware 33051                          13
       4/6/2019    709   EA0003   Owner Operator   ESCROW                  Weekly Escrow                           250
       4/6/2019    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                            200
       4/6/2019    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                            200
       4/6/2019    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       4/6/2019    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       4/6/2019    709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                         676.96
       4/6/2019    709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                          21.52
       4/6/2019    709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                         432.52
       4/6/2019    709   EA0003   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax         115.9
       4/6/2019    709   EA0003   Owner Operator   IRP License Deduction   LCIL:2019 - 33051                      33.17
       4/6/2019    709   EA0003   Owner Operator   Tractor Charge          16439 - 33051                         555.56
       4/6/2019    709   EG0062   Owner Operator   Communication Charge    PNet Hware 33828                           8
       4/6/2019    709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                          114.6
       4/6/2019    709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                         487.21
       4/6/2019    709   EG0062   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax         65.88
       4/6/2019    709   EG0062   Owner Operator   IRP License Deduction   LCIL:2019 - 33828                       100
       4/6/2019    709   EG0062   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment         256.29
       4/6/2019    709   EO0014   Owner Operator   Communication Charge    PNet Hware 33846                          13
       4/6/2019    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                         204.13
       4/6/2019    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                         373.99
       4/6/2019    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                           250
       4/6/2019    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                         238.59
       4/6/2019    709   EO0014   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        311.12
       4/6/2019    709   EO0014   Owner Operator   IRP License Deduction   LCIL:2019 - 33846                       100
       4/6/2019    709   FS0039   Owner Operator   Communication Charge    PNet Hware 33040                           8
       4/6/2019    709   FS0039   Owner Operator   Fuel Card Advances      Cash Advance                            100
       4/6/2019    709   FS0039   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       4/6/2019    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                         250.29
       4/6/2019    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                         331.11

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       4/6/2019    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                         410.89
       4/6/2019    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                         290.05
       4/6/2019    709   FS0039   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        429.17
       4/6/2019    709   FS0039   Owner Operator   GARNISHMENT             GARNISHMENT 884610662                 189.79
       4/6/2019    709   FS0039   Owner Operator   IRP License Deduction   LCIL:2019 - 33040                       100
       4/6/2019    709   FS0039   Owner Operator   Loan Repayment          Loan # 00002 - Loan Repayment         356.08
       4/6/2019    709   FS0039   Owner Operator   Tire Fee                Tire Fee: 2255460                         32
       4/6/2019    709   FS0039   Owner Operator   Tire Purchase           PO: 709-00397870 - PO System          753.85
       4/6/2019    709   FS0039   Owner Operator   Truck Payment           CTMS - 225523 truck lease 3304        434.29
       4/6/2019    709   FV0001   Owner Operator   Communication Charge    PNet Hware 21521B                         13
       4/6/2019    709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                         441.06
       4/6/2019    709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                         125.62
       4/6/2019    709   FV0001   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax         80.41
       4/6/2019    709   FV0001   Owner Operator   IRP License Deduction   LCIL:2019 - 21521B                      100
       4/6/2019    709   GA0051   Owner Operator   Communication Charge    PNet Hware 34330                          13
       4/6/2019    709   GA0051   Owner Operator   ESCROW                  Weekly Escrow                             50
       4/6/2019    709   GA0051   Owner Operator   Fuel Purchase           Fuel Purchase                         117.81
       4/6/2019    709   GA0051   Owner Operator   Fuel Purchase           Fuel Purchase                         300.16
       4/6/2019    709   GA0051   Owner Operator   IRP License Deduction   LCIL:2019 - 34330                      33.17
       4/6/2019    709   GA0051   Owner Operator   Tractor Charge          16488 - 34330                         236.77
       4/6/2019    709   GS0015   Owner Operator   Communication Charge    PNet Hware Q1110                          13
       4/6/2019    709   GS0015   Owner Operator   Fuel Purchase           Fuel Purchase                         415.45
       4/6/2019    709   GS0015   Owner Operator   IRP License Deduction   LCIL:2019 - Q1110                       100
       4/6/2019    709   GS0015   Owner Operator   Tire Purchase           PO: 709-00396036 - PO System          220.74
       4/6/2019    709   GS0015   Owner Operator   Truck Payment           CTMS - 225577 Amortized Balloo        200.15
       4/6/2019    709   GW0043   Owner Operator   Communication Charge    PNet Hware Q1109                           8
       4/6/2019    709   GW0043   Owner Operator   Communication Charge    PNet Hware Q1109                           8
       4/6/2019    709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance                            100
       4/6/2019    709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance                            200
       4/6/2019    709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance                            200
       4/6/2019    709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       4/6/2019    709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       4/6/2019    709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       4/6/2019    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                         159.59
       4/6/2019    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                         267.04
       4/6/2019    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                          240.5
       4/6/2019    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                         333.09
       4/6/2019    709   GW0043   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        112.94
       4/6/2019    709   GW0043   Owner Operator   IRP License Deduction   LCIL:2019 - Q1109                       100
       4/6/2019    709   GW0043   Owner Operator   Loan Repayment          Loan # 00003 - Loan Repayment         259.74
       4/6/2019    709   GW0043   Owner Operator   Loan Repayment          Loan # 00003 - Loan Repayment         259.74
       4/6/2019    709   GW0043   Owner Operator   Truck Payment           CTMS - 225194 Missed lease pay        151.41
       4/6/2019    709   GW0043   Owner Operator   Truck Payment           CTMS - 225260 Q1109 Lease             302.85
       4/6/2019    709   GW0043   Owner Operator   Truck Payment           CTMS - 225521 Missed lease pay        151.41
       4/6/2019    709   GW0043   Owner Operator   Truck Payment           CTMS - 225579 Q1109 Lease             302.85
       4/6/2019    709   HC0023   Owner Operator   Communication Charge    PNet Hware Q13170                          8
       4/6/2019    709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                         512.88
       4/6/2019    709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                         270.07
       4/6/2019    709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                         512.33
       4/6/2019    709   HC0023   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax         66.93
       4/6/2019    709   HC0023   Owner Operator   IRP License Deduction   LCIL:2019 - Q13170                      100
       4/6/2019    709   HC0023   Owner Operator   Truck Payment           CTMS - 225405 Q13170                  352.68
       4/6/2019    709   HG0007   Owner Operator   BOBTAIL INS.            2017 Kenworth NTL                       8.75
       4/6/2019    709   HG0007   Owner Operator   Communication Charge    PNet Hware 34565                           8
       4/6/2019    709   HG0007   Owner Operator   ESCROW                  Weekly Escrow                             50
       4/6/2019    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                         626.85
       4/6/2019    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                         297.68
       4/6/2019    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                         334.44
       4/6/2019    709   HG0007   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        -23.52
       4/6/2019    709   HG0007   Owner Operator   IRP License Deduction   LCIL:2018 - 34565                       100
       4/6/2019    709   HG0007   Owner Operator   IRP License Deduction   LCIL:2019 - 33180                       100
       4/6/2019    709   HG0007   Owner Operator   Permits                 IL02:2019 - 34565                       3.75
       4/6/2019    709   HG0007   Owner Operator   Permits                 NM07:2019 - 34565                        5.5
       4/6/2019    709   HG0007   Owner Operator   Permits                 OR16:2019 - 34565                        8.5
       4/6/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE         2017 Kenworth PD                       96.86
       4/6/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE         2017 Kenworth PD                        1.18
       4/6/2019    709   IA0007   Owner Operator   Communication Charge    PNet Hware 34012                           8
       4/6/2019    709   IA0007   Owner Operator   Fuel Purchase           Fuel Purchase                          387.4
       4/6/2019    709   IA0007   Owner Operator   Fuel Purchase           Fuel Purchase                          60.47
       4/6/2019    709   IA0007   Owner Operator   Fuel Purchase           Fuel Purchase                         441.65
       4/6/2019    709   IA0007   Owner Operator   Fuel Purchase           Fuel Purchase                         476.12
       4/6/2019    709   IA0007   Owner Operator   IRP License Deduction   LCIL:2019 - 34012                       100
       4/6/2019    709   IR0002   Owner Operator   Communication Charge    PNet Hware 32901                           8

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       4/6/2019    709   IR0002   Owner Operator   Fuel Purchase             Fuel Purchase                          481.93
       4/6/2019    709   IR0002   Owner Operator   Fuel Purchase             Fuel Purchase                          310.99
       4/6/2019    709   IR0002   Owner Operator   IRP License Deduction     LCIL:2019 - 32901                        1724
       4/6/2019    709   JA0152   Owner Operator   Communication Charge      PNet Hware 34242                            8
       4/6/2019    709   JA0152   Owner Operator   Deferred Negative Pay     ** Net Rebill held from 3-30               50
       4/6/2019    709   JA0152   Owner Operator   ESCROW                    Weekly Escrow                              50
       4/6/2019    709   JA0152   Owner Operator   Fuel Purchase             Fuel Purchase                          295.43
       4/6/2019    709   JA0156   Owner Operator   Broker Pay Void/Reissue   Void Statement Only/Reissue          -1181.22
       4/6/2019    709   JC0292   Owner Operator   Communication Charge      PNet Hware Q13197                          13
       4/6/2019    709   JC0292   Owner Operator   ESCROW                    Escrow Withdrawal                       -6000
       4/6/2019    709   JC0292   Owner Operator   ESCROW                    Weekly Escrow                             400
       4/6/2019    709   JC0292   Owner Operator   ESCROW                    Weekly Escrow                           74.74
       4/6/2019    709   JC0292   Owner Operator   Fuel Card Advances        Cash Advance                              200
       4/6/2019    709   JC0292   Owner Operator   Fuel Card Advances        Cash Advance Fee                            2
       4/6/2019    709   JC0292   Owner Operator   Fuel Purchase             Fuel Purchase                          349.17
       4/6/2019    709   JC0292   Owner Operator   FUEL TAX                  February 2019 Fuel/Mileage Tax         429.69
       4/6/2019    709   JC0292   Owner Operator   IRP License Deduction     LCIL:2019 - Q13197                        100
       4/6/2019    709   JC0292   Owner Operator   Truck Payment             CTMS - 225107 Q13197 Lease             276.63
       4/6/2019    709   JC0292   Owner Operator   Truck Payment             CTMS - 225459 Q13197 Lease             276.63
       4/6/2019    709   JD0211   Owner Operator   Communication Charge      PNet Hware 34325                            8
       4/6/2019    709   JD0211   Owner Operator   Deferred Negative Pay     ** Net Rebill held from 3-30            207.7
       4/6/2019    709   JD0211   Owner Operator   Deferred Negative Pay     ** Net Rebill held from 3-30             29.2
       4/6/2019    709   JD0211   Owner Operator   ESCROW                    Weekly Escrow                              50
       4/6/2019    709   JG0017   Owner Operator   Communication Charge      PNet Hware 32908                           13
       4/6/2019    709   JG0017   Owner Operator   Fuel Card Advances        Cash Advance                              300
       4/6/2019    709   JG0017   Owner Operator   Fuel Card Advances        Cash Advance Fee                            3
       4/6/2019    709   JG0017   Owner Operator   Fuel Purchase             Fuel Purchase                          550.79
       4/6/2019    709   JG0017   Owner Operator   Fuel Purchase             Fuel Purchase                          598.53
       4/6/2019    709   JG0017   Owner Operator   FUEL TAX                  February 2019 Fuel/Mileage Tax           8.25
       4/6/2019    709   JG0017   Owner Operator   IRP License Deduction     LCIL:2019 - 32908                       33.17
       4/6/2019    709   JG0017   Owner Operator   Loan Repayment            Loan # 00005 - Loan Repayment          251.27
       4/6/2019    709   JG0017   Owner Operator   Tractor Charge            14298 - 32908                           504.6
       4/6/2019    709   JG0072   Owner Operator   Communication Charge      PNet Hware 32909                           13
       4/6/2019    709   JG0072   Owner Operator   Fuel Card Advances        Cash Advance                              500
       4/6/2019    709   JG0072   Owner Operator   Fuel Card Advances        Cash Advance Fee                            5
       4/6/2019    709   JG0072   Owner Operator   Fuel Purchase             Fuel Purchase                          523.92
       4/6/2019    709   JG0072   Owner Operator   Fuel Purchase             Fuel Purchase                           597.7
       4/6/2019    709   JG0072   Owner Operator   Fuel Purchase             Fuel Purchase                          335.28
       4/6/2019    709   JG0072   Owner Operator   Fuel Purchase             Fuel Purchase                          201.55
       4/6/2019    709   JG0072   Owner Operator   FUEL TAX                  February 2019 Fuel/Mileage Tax         410.55
       4/6/2019    709   JG0072   Owner Operator   IRP License Deduction     LCIL:2019 - 32909                       33.17
       4/6/2019    709   JG0072   Owner Operator   Tractor Charge            14534 - 32909                          513.26
       4/6/2019    709   JG0092   Owner Operator   Communication Charge      PNet Hware 33669                            8
       4/6/2019    709   JG0092   Owner Operator   Fuel Card Advances        Cash Advance                              100
       4/6/2019    709   JG0092   Owner Operator   Fuel Card Advances        Cash Advance Fee                            1
       4/6/2019    709   JG0092   Owner Operator   Fuel Purchase             Fuel Purchase                          501.61
       4/6/2019    709   JG0092   Owner Operator   Fuel Purchase             Fuel Purchase                          250.83
       4/6/2019    709   JG0092   Owner Operator   IRP License Deduction     LCIL:2019 - 33669                         100
       4/6/2019    709   JQ0015   Owner Operator   Communication Charge      PNet Hware 33438                           13
       4/6/2019    709   JQ0015   Owner Operator   Fuel Purchase             Fuel Purchase                          220.28
       4/6/2019    709   JQ0015   Owner Operator   IRP License Deduction     LCIL:2019 - 33438                         100
       4/6/2019    709   JR0099   Owner Operator   Communication Charge      PNet Hware Q1203                           13
       4/6/2019    709   JR0099   Owner Operator   Fuel Purchase             Fuel Purchase                          483.33
       4/6/2019    709   JR0099   Owner Operator   IRP License Deduction     LCIL:2019 - Q1203                         100
       4/6/2019    709   JR0099   Owner Operator   Tire Purchase             PO: 709-00393035 - PO System           227.14
       4/6/2019    709   JR0099   Owner Operator   Truck Payment             CTMS - 225360 Truck Lease              278.76
       4/6/2019    709   JS0265   Owner Operator   Communication Charge      PNet Hware Q13159                           8
       4/6/2019    709   JS0265   Owner Operator   ESCROW                    Weekly Escrow                             100
       4/6/2019    709   JS0265   Owner Operator   ESCROW                    Weekly Escrow                             100
       4/6/2019    709   JS0265   Owner Operator   Fuel Card Advances        Cash Advance                              200
       4/6/2019    709   JS0265   Owner Operator   Fuel Card Advances        Cash Advance Fee                            2
       4/6/2019    709   JS0265   Owner Operator   Fuel Purchase             Fuel Purchase                          350.27
       4/6/2019    709   JS0265   Owner Operator   Fuel Purchase             Fuel Purchase                          400.56
       4/6/2019    709   JS0265   Owner Operator   Fuel Purchase             Fuel Purchase                          347.39
       4/6/2019    709   JS0265   Owner Operator   FUEL TAX                  February 2019 Fuel/Mileage Tax         127.22
       4/6/2019    709   JS0265   Owner Operator   IRP License Deduction     LCIL:2019 - Q13159                        100
       4/6/2019    709   JS0265   Owner Operator   Permits                   IL02:2019 - Q13159                       3.75
       4/6/2019    709   JS0265   Owner Operator   Permits                   NM07:2019 - Q13159                         10
       4/6/2019    709   JS0265   Owner Operator   Permits                   NY13:2019 - Q13159                        1.5
       4/6/2019    709   JS0265   Owner Operator   Permits                   OR16:2019 - Q13159                        8.5
       4/6/2019    709   KP0004   Owner Operator   Communication Charge      PNet Hware 32914                           13
       4/6/2019    709   KP0004   Owner Operator   ESCROW                    Weekly Escrow                             250
       4/6/2019    709   KP0004   Owner Operator   Fuel Card Advances        Cash Advance                              100

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       4/6/2019    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                             100
       4/6/2019    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       4/6/2019    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       4/6/2019    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                         238.03
       4/6/2019    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                            375
       4/6/2019    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                         411.28
       4/6/2019    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                           19.5
       4/6/2019    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                             37
       4/6/2019    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                            425
       4/6/2019    709   KP0004   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        175.27
       4/6/2019    709   KP0004   Owner Operator   IRP License Deduction   LCIL:2019 - 32914                      33.17
       4/6/2019    709   KP0004   Owner Operator   Tire Purchase           PO: 709-00395996 - PO System           92.34
       4/6/2019    709   KP0004   Owner Operator   Tractor Charge          14457 - 32914                         519.59
       4/6/2019    709   KT0055   Owner Operator   Communication Charge    PNet Hware Q13156                          8
       4/6/2019    709   KT0055   Owner Operator   ESCROW                  Weekly Escrow                             50
       4/6/2019    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                         185.04
       4/6/2019    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                         404.89
       4/6/2019    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                         369.97
       4/6/2019    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                         360.04
       4/6/2019    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                         178.01
       4/6/2019    709   KT0055   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        362.96
       4/6/2019    709   KT0055   Owner Operator   IRP License Deduction   LCIL:2019 - Q13156                       100
       4/6/2019    709   KT0055   Owner Operator   Truck Payment           CTMS - 225407 Q13156 Lease            388.16
       4/6/2019    709   LL0160   Owner Operator   Communication Charge    PNet Hware Q1111                           8
       4/6/2019    709   LL0160   Owner Operator   IRP License Deduction   LCIL:2019 - Q1111                        100
       4/6/2019    709   LL0160   Owner Operator   Truck Payment           CTMS - 225523 Lease Q1111             252.11
       4/6/2019    709   LS0023   Owner Operator   Communication Charge    PNet Hware 33655                          13
       4/6/2019    709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance                             200
       4/6/2019    709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       4/6/2019    709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                         460.57
       4/6/2019    709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                         248.85
       4/6/2019    709   LS0023   Owner Operator   IRP License Deduction   LCIL:2019 - 33655                        100
       4/6/2019    709   LS0023   Owner Operator   Toll Charges            33655 BATA Benicia                        26
       4/6/2019    709   MA0092   Owner Operator   Communication Charge    PNet Hware 34005                           8
       4/6/2019    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                         167.15
       4/6/2019    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                         180.38
       4/6/2019    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                          247.1
       4/6/2019    709   MA0092   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax          2.32
       4/6/2019    709   MA0092   Owner Operator   IRP License Deduction   LCIL:2019 - 34005                        100
       4/6/2019    709   MD0122   Owner Operator   Communication Charge    PNet Hware 34342                           8
       4/6/2019    709   MD0122   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 3-30           54.24
       4/6/2019    709   MD0122   Owner Operator   ESCROW                  Weekly Escrow                            100
       4/6/2019    709   MD0122   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        267.01
       4/6/2019    709   MD0122   Owner Operator   IRP License Deduction   LCIL:2019 - 34342                        100
       4/6/2019    709   MD0122   Owner Operator   Tire Fee                Tire Fee: 2255381                         16
       4/6/2019    709   MD0122   Owner Operator   Tire Purchase           PO: 709-00397209 - PO System          361.54
       4/6/2019    709   ME0053   Owner Operator   Communication Charge    PNet Hware Q1113                           8
       4/6/2019    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                         387.79
       4/6/2019    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                         408.97
       4/6/2019    709   ME0053   Owner Operator   IRP License Deduction   LCIL:2019 - Q1113                        100
       4/6/2019    709   ME0053   Owner Operator   Truck Payment           CTMS - 225412 Q1113 Lease             252.11
       4/6/2019    709   MG0067   Owner Operator   Communication Charge    PNet Hware 33435                           8
       4/6/2019    709   MG0067   Owner Operator   Fuel Purchase           Fuel Purchase                         399.99
       4/6/2019    709   MG0067   Owner Operator   Fuel Purchase           Fuel Purchase                         390.57
       4/6/2019    709   MG0067   Owner Operator   IRP License Deduction   LCIL:2019 - 33435                        100
       4/6/2019    709   MP0035   Owner Operator   Communication Charge    PNet Hware 32904                          13
       4/6/2019    709   MP0035   Owner Operator   ESCROW                  Escrow Withdrawal                     -18000
       4/6/2019    709   MP0035   Owner Operator   ESCROW                  Weekly Escrow                            700
       4/6/2019    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance                             200
       4/6/2019    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       4/6/2019    709   MP0035   Owner Operator   Fuel Purchase           Fuel Purchase                            350
       4/6/2019    709   MP0035   Owner Operator   IRP License Deduction   LCIL:2019 - 32904                        100
       4/6/2019    709   NB0029   Owner Operator   Communication Charge    PNet Hware 32986                          13
       4/6/2019    709   NB0029   Owner Operator   ESCROW                  Escrow Withdrawal                      -4000
       4/6/2019    709   NB0029   Owner Operator   ESCROW                  Weekly Escrow                            250
       4/6/2019    709   NB0029   Owner Operator   Express Check           T-Check Payment                         4000
       4/6/2019    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                         221.01
       4/6/2019    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                         493.71
       4/6/2019    709   NB0029   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        302.93
       4/6/2019    709   NB0029   Owner Operator   IRP License Deduction   LCIL:2019 - 32986                        100
       4/6/2019    709   NB0029   Owner Operator   Toll Charges            32986 NTTA SRT Gantry 1                 3.56
       4/6/2019    709   NB0029   Owner Operator   Toll Charges            32986 NTTA SRT Gantry 3                12.72
       4/6/2019    709   NB0029   Owner Operator   Truck Payment           CTMS - 225408 32986 Lease             314.03

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       4/6/2019    709   NG0005   Owner Operator   Communication Charge    PNet Hware 21412B                         13
       4/6/2019    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance                            400
       4/6/2019    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance Fee                           4
       4/6/2019    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                          171.4
       4/6/2019    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                         382.11
       4/6/2019    709   NG0005   Owner Operator   IRP License Deduction   LCIL:2019 - 21412B                      100
       4/6/2019    709   NT9564   Owner Operator   Communication Charge    PNet Hware 73130                          13
       4/6/2019    709   NT9564   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        230.53
       4/6/2019    709   NT9564   Owner Operator   IRP License Deduction   LCIL:2019 - 73130                       100
       4/6/2019    709   NT9564   Owner Operator   Truck Payment           CTMS - 225585 Truck 73130 Leas        196.65
       4/6/2019    709   OJ0007   Owner Operator   Communication Charge    PNet Hware 34370                           8
       4/6/2019    709   OJ0007   Owner Operator   ESCROW                  Weekly Escrow                             50
       4/6/2019    709   OJ0007   Owner Operator   Fuel Purchase           Fuel Purchase                         174.76
       4/6/2019    709   OJ0007   Owner Operator   Fuel Purchase           Fuel Purchase                         256.77
       4/6/2019    709   OJ0007   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax       -205.96
       4/6/2019    709   OJ0007   Owner Operator   IRP License Deduction   LCIL:2019 - 34370                      33.17
       4/6/2019    709   OJ0007   Owner Operator   Repair Order            CTMS - 225349 REPAIRS                   250
       4/6/2019    709   OJ0007   Owner Operator   Tractor Charge          24925 - 34370                         215.66
       4/6/2019    709   RC0030   Owner Operator   Communication Charge    PNet Hware 33676                           8
       4/6/2019    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                         621.99
       4/6/2019    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                         587.14
       4/6/2019    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                         301.96
       4/6/2019    709   RC0030   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax         63.68
       4/6/2019    709   RC0030   Owner Operator   Tire Fee                Tire Fee: 2251210                          4
       4/6/2019    709   RC0030   Owner Operator   Tire Purchase           PO: 709-00397047 - PO System           118.4
       4/6/2019    709   RL0017   Owner Operator   Communication Charge    PNet Hware 33065                          13
       4/6/2019    709   RL0017   Owner Operator   ESCROW                  Weekly Escrow                           100
       4/6/2019    709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                         613.54
       4/6/2019    709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                         336.13
       4/6/2019    709   RL0017   Owner Operator   IRP License Deduction   LCIL:2019 - 33065                      33.17
       4/6/2019    709   RL0017   Owner Operator   Tractor Charge          35015 - 33065                         529.05
       4/6/2019    709   RL0062   Owner Operator   Communication Charge    PNet Hware 32912                          13
       4/6/2019    709   RL0062   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 4-13        -118.44
       4/6/2019    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                            200
       4/6/2019    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                            100
       4/6/2019    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       4/6/2019    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       4/6/2019    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                         411.99
       4/6/2019    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                         188.23
       4/6/2019    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                          12.62
       4/6/2019    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                         334.37
       4/6/2019    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                         237.79
       4/6/2019    709   RL0062   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        332.24
       4/6/2019    709   RL0062   Owner Operator   IRP License Deduction   LCIL:2019 - 32912                      33.17
       4/6/2019    709   RL0062   Owner Operator   Tractor Charge          14460 - 32912                         512.16
       4/6/2019    709   RL0180   Owner Operator   Communication Charge    PNet Hware 32910                          13
       4/6/2019    709   RL0180   Owner Operator   ESCROW                  Weekly Escrow                           100
       4/6/2019    709   RL0180   Owner Operator   Fuel Purchase           Fuel Purchase                         144.51
       4/6/2019    709   RL0180   Owner Operator   IRP License Deduction   LCIL:2019 - 32910                      33.17
       4/6/2019    709   RL0180   Owner Operator   Tractor Charge          45995 - 32910                         350.65
       4/6/2019    709   RM0026   Owner Operator   Communication Charge    PNet Hware 33664                          13
       4/6/2019    709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                         418.45
       4/6/2019    709   RM0026   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        292.54
       4/6/2019    709   RM0026   Owner Operator   IRP License Deduction   LCIL:2019 - 33664                       100
       4/6/2019    709   RP0082   Owner Operator   Communication Charge    PNet Hware Q1202                          13
       4/6/2019    709   RP0082   Owner Operator   Fuel Card Advances      Cash Advance                            100
       4/6/2019    709   RP0082   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       4/6/2019    709   RP0082   Owner Operator   Fuel Purchase           Fuel Purchase                         404.32
       4/6/2019    709   RP0082   Owner Operator   IRP License Deduction   LCIL:2019 - Q1202                       100
       4/6/2019    709   RP0082   Owner Operator   Loan Repayment          Loan # 00003 - Loan Repayment         249.81
       4/6/2019    709   RP0082   Owner Operator   Truck Payment           CTMS - 225361 Q1202 Truck Leas        278.76
       4/6/2019    709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                         452.28
       4/6/2019    709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                         548.52
       4/6/2019    709   SB0009   Owner Operator   Communication Charge    PNet Hware 33236                          13
       4/6/2019    709   SB0009   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 3-30           23.75
       4/6/2019    709   SB0009   Owner Operator   ESCROW                  Weekly Escrow                           200
       4/6/2019    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         144.95
       4/6/2019    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         327.59
       4/6/2019    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         144.96
       4/6/2019    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         224.67
       4/6/2019    709   SB0009   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        330.52
       4/6/2019    709   SB0009   Owner Operator   IRP License Deduction   LCIL:2019 - 33236                      33.17
       4/6/2019    709   SB0009   Owner Operator   Loan Repayment          Loan # 00009 - Loan Repayment         247.89

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       4/6/2019    709   SB0009   Owner Operator   Tractor Charge          19100 - 33236                         564.33
       4/6/2019    709   SB0103   Owner Operator   Communication Charge    PNet Hware 33037                           8
       4/6/2019    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                          371.8
       4/6/2019    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                         308.79
       4/6/2019    709   SB0103   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        156.76
       4/6/2019    709   SB0103   Owner Operator   IRP License Deduction   LCIL:2019 - 33037                        100
       4/6/2019    709   SB0103   Owner Operator   Truck Payment           CTMS - 225357 Sub Lease               388.33
       4/6/2019    709   SN0019   Owner Operator   Communication Charge    PNet Hware 33461                          13
       4/6/2019    709   SN0019   Owner Operator   Fuel Card Advances      Cash Advance                             200
       4/6/2019    709   SN0019   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       4/6/2019    709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                         248.14
       4/6/2019    709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                         259.62
       4/6/2019    709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                         272.28
       4/6/2019    709   SN0019   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        105.73
       4/6/2019    709   VB0015   Owner Operator   Communication Charge    PNet Hware Q1112                           8
       4/6/2019    709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                         567.65
       4/6/2019    709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                         522.99
       4/6/2019    709   VB0015   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax         60.61
       4/6/2019    709   VB0015   Owner Operator   IRP License Deduction   LCIL:2019 - Q1112                        100
       4/6/2019    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                             160
       4/6/2019    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1.6
       4/6/2019    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         234.73
       4/6/2019    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         211.85
       4/6/2019    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         334.22
       4/6/2019    709   WB0062   Owner Operator   Communication Charge    PNet Hware 33407                          13
       4/6/2019    709   WB0062   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 4-13        -468.75
       4/6/2019    709   WH0087   Owner Operator   Communication Charge    PNet Hware q1239                           8
       4/6/2019    709   WH0087   Owner Operator   Fuel Card Advances      Cash Advance                             200
       4/6/2019    709   WH0087   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       4/6/2019    709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                          26.12
       4/6/2019    709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                         203.79
       4/6/2019    709   WH0087   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        113.07
       4/6/2019    709   WH0087   Owner Operator   IRP License Deduction   LCIL:2019 - Q1239                        100
       4/6/2019    709   WH0087   Owner Operator   Truck Payment           CTMS - 225411 Q1238 Lease             311.97
       4/6/2019    742   AP0047   Owner Operator   Communication Charge    PNet Hware 32604                          13
       4/6/2019    742   AP0047   Owner Operator   Communication Charge    PNet Hware 32604                          13
       4/6/2019    742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                             100
       4/6/2019    742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                             100
       4/6/2019    742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                             100
       4/6/2019    742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                             100
       4/6/2019    742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance                             100
       4/6/2019    742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       4/6/2019    742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       4/6/2019    742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       4/6/2019    742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       4/6/2019    742   AP0047   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       4/6/2019    742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                         213.05
       4/6/2019    742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                          191.3
       4/6/2019    742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                         211.19
       4/6/2019    742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                         573.83
       4/6/2019    742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                         313.91
       4/6/2019    742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                         449.72
       4/6/2019    742   AP0047   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        140.98
       4/6/2019    742   BS0078   Owner Operator   Communication Charge    PNet Hware Q13151                          8
       4/6/2019    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                         130.92
       4/6/2019    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                         133.27
       4/6/2019    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                         326.72
       4/6/2019    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                         224.68
       4/6/2019    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                         220.93
       4/6/2019    742   BS0078   Owner Operator   FUEL TAX                February 2019 Fuel/Mileage Tax        112.47
       4/6/2019    742   BS0078   Owner Operator   IRP License Deduction   2019 IL IRP plate refund              -339.8
       4/6/2019    742   BS0078   Owner Operator   IRP License Deduction   LCIL:2019 - Q13151                       100
       4/6/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE         2015 Peterbilt PD                      53.44
       4/6/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE         2015 Peterbilt PD Terrorism              2.5
       4/6/2019    742   BS0078   Owner Operator   Truck Payment           CTMS - 225408 Lease of Q13151         388.16
       4/6/2019    742   CA0089   Owner Operator   Communication Charge    PNet Hware 33832                          13
       4/6/2019    742   CA0089   Owner Operator   Deferred Negative Pay   ** Net Rebill to post on 4-13           -124
       4/6/2019    742   CA0089   Owner Operator   Fuel Purchase           Fuel Purchase                         359.16
       4/6/2019    742   CA0089   Owner Operator   Fuel Purchase           Fuel Purchase                         298.21
       4/6/2019    742   CA0089   Owner Operator   Fuel Purchase           Fuel Purchase                         539.03
       4/6/2019    742   CA0089   Owner Operator   IRP License Deduction   LCIL:2019 - 33987                        100
       4/6/2019    742   DA0067   Owner Operator   Communication Charge    PNet Hware 33847                          13
       4/6/2019    742   DA0067   Owner Operator   Fuel Purchase           Fuel Purchase                            210

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       4/6/2019    742   DA0067   Owner Operator   Fuel Purchase             Fuel Purchase                         405.03
       4/6/2019    742   DA0067   Owner Operator   FUEL TAX                  February 2019 Fuel/Mileage Tax        116.99
       4/6/2019    742   DA0067   Owner Operator   IRP License Deduction     LCIL:2019 - 33847                       100
       4/6/2019    742   DC0117   Owner Operator   Communication Charge      PNet Hware 34063                          13
       4/6/2019    742   DC0117   Owner Operator   Communication Charge      PNet Hware 34063                          13
       4/6/2019    742   DC0117   Owner Operator   Fuel Purchase             Fuel Purchase                         274.45
       4/6/2019    742   DC0117   Owner Operator   Fuel Purchase             Fuel Purchase                         487.96
       4/6/2019    742   DC0117   Owner Operator   Fuel Purchase             Fuel Purchase                         492.79
       4/6/2019    742   DC0117   Owner Operator   Fuel Purchase             Fuel Purchase                          754.8
       4/6/2019    742   DC0117   Owner Operator   Fuel Purchase             Fuel Purchase                         663.88
       4/6/2019    742   DC0117   Owner Operator   Fuel Purchase             Fuel Purchase                         143.86
       4/6/2019    742   DC0117   Owner Operator   FUEL TAX                  February 2019 Fuel/Mileage Tax        212.61
       4/6/2019    742   DC0117   Owner Operator   IRP License Deduction     LCIL:2019 - 34063                       100
       4/6/2019    742   DS0254   Owner Operator   Communication Charge      PNet Hware 33487                           8
       4/6/2019    742   DS0254   Owner Operator   Fuel Card Advances        Cash Advance                            200
       4/6/2019    742   DS0254   Owner Operator   Fuel Card Advances        Cash Advance Fee                           2
       4/6/2019    742   DS0254   Owner Operator   Fuel Purchase             Fuel Purchase                         419.48
       4/6/2019    742   DS0254   Owner Operator   Fuel Purchase             Fuel Purchase                         423.94
       4/6/2019    742   DS0254   Owner Operator   Fuel Purchase             Fuel Purchase                          432.5
       4/6/2019    742   DS0254   Owner Operator   FUEL TAX                  February 2019 Fuel/Mileage Tax        192.44
       4/6/2019    742   DS0254   Owner Operator   IRP License Deduction     LCIL:2019 - 33487                       100
       4/6/2019    742   DS0254   Owner Operator   Repair Order              CTMS - 225471 repair                    157
       4/6/2019    742   DS0254   Owner Operator   Tire Purchase             PO: 742-00395840 - PO System          195.76
       4/6/2019    742   DS0254   Owner Operator   Truck Payment             CTMS - 225459 Trk 33487 Lease          434.2
       4/6/2019    742   EA0039   Owner Operator   Communication Charge      PNet Hware 33993                           8
       4/6/2019    742   EA0039   Owner Operator   Fuel Purchase             Fuel Purchase                         569.23
       4/6/2019    742   EA0039   Owner Operator   Fuel Purchase             Fuel Purchase                         555.26
       4/6/2019    742   EA0039   Owner Operator   FUEL TAX                  February 2019 Fuel/Mileage Tax         -18.4
       4/6/2019    742   EA0039   Owner Operator   IRP License Deduction     LCIL:2019 - 33993                       100
       4/6/2019    742   EA0039   Owner Operator   T Chek Fee                ExpressCheck Fee                        1.47
       4/6/2019    742   EA0039   Owner Operator   T Chek Fee                Tractor Repair 33993                    147
       4/6/2019    742   ED0041   Owner Operator   Communication Charge      PNet Hware 32897                          13
       4/6/2019    742   ED0041   Owner Operator   Fuel Purchase             Fuel Purchase                         196.93
       4/6/2019    742   ED0041   Owner Operator   Fuel Purchase             Fuel Purchase                         390.34
       4/6/2019    742   ED0041   Owner Operator   Fuel Purchase             Fuel Purchase                         164.37
       4/6/2019    742   ED0041   Owner Operator   Fuel Purchase             Fuel Purchase                         140.16
       4/6/2019    742   ED0041   Owner Operator   Fuel Purchase             Fuel Purchase                         364.47
       4/6/2019    742   ED0041   Owner Operator   FUEL TAX                  February 2019 Fuel/Mileage Tax         99.95
       4/6/2019    742   ED0041   Owner Operator   IRP License Deduction     LCIL:2019 - 32897                       100
       4/6/2019    742   ED0041   Owner Operator   Toll Charges              32897 HCTRA Sam Houston - NE M             7
       4/6/2019    742   FS0011   Owner Operator   Communication Charge      PNet Hware 51069A                         13
       4/6/2019    742   JH0148   Owner Operator   Communication Charge      PNet Hware 34329                          13
       4/6/2019    742   JH0148   Owner Operator   Deferred Negative Pay     ** Net Rebill to post on 4-13         -62.78
       4/6/2019    742   JH0148   Owner Operator   Deferred Negative Pay     ** Net Rebill to post on 4-13         -62.78
       4/6/2019    742   JH0148   Owner Operator   ESCROW                    Weekly Escrow                             50
       4/6/2019    742   JH0148   Owner Operator   Fuel Purchase             Fuel Purchase                         162.01
       4/6/2019    742   JH0148   Owner Operator   Fuel Purchase             Fuel Purchase                         681.86
       4/6/2019    742   JH0148   Owner Operator   IRP License Deduction     LCIL:2019 - 34329                       100
       4/6/2019    742   JS0390   Owner Operator   Communication Charge      PNet Hware 34327                           8
       4/6/2019    742   JS0390   Owner Operator   ESCROW                    Weekly Escrow                             50
       4/6/2019    742   JS0390   Owner Operator   Fuel Purchase             Fuel Purchase                         436.68
       4/6/2019    742   JS0390   Owner Operator   Fuel Purchase             Fuel Purchase                         299.63
       4/6/2019    742   JS0390   Owner Operator   Fuel Purchase             Fuel Purchase                         226.13
       4/6/2019    742   JS0390   Owner Operator   FUEL TAX                  February 2019 Fuel/Mileage Tax         68.59
       4/6/2019    742   JS0390   Owner Operator   IRP License Deduction     LCIL:2019 - 34327                       100
       4/6/2019    742   LL0134   Owner Operator   *Arrears Collection W/O   Applicable Amount to Arrears          554.49
       4/6/2019    742   LL0134   Owner Operator   *Arrears Collection W/O   Applicable Amount to Arrears          554.49
       4/6/2019    742   LL0134   Owner Operator   *Arrears Collection W/O   Applicable Amount to Arrears          554.49
       4/6/2019    742   LL0134   Owner Operator   Tractor Charge            Tractor Charge Credit                -554.49
       4/6/2019    742   LL0134   Owner Operator   Tractor Charge            Tractor Charge Credit                -554.49
       4/6/2019    742   LL0134   Owner Operator   Tractor Charge            Tractor Charge Credit                -554.49
       4/6/2019    742   MH0117   Owner Operator   Communication Charge      PNet Hware 33296                          13
       4/6/2019    742   MH0117   Owner Operator   ESCROW                    Weekly Escrow                             50
       4/6/2019    742   MH0117   Owner Operator   IRP License Deduction     LCIL:2019 - 33296                       100
       4/6/2019    742   MS0230   Owner Operator   Communication Charge      PNet Hware 34082                          13
       4/6/2019    742   MS0230   Owner Operator   Fuel Purchase             Fuel Purchase                         102.35
       4/6/2019    742   MS0230   Owner Operator   Fuel Purchase             Fuel Purchase                         120.99
       4/6/2019    742   MS0230   Owner Operator   IRP License Deduction     LCIL:2019 - 34082                       100
       4/6/2019    742   MS0230   Owner Operator   Toll Charges              34082 BATA Carquinez Bridge               26
       4/6/2019    742   NG0024   Owner Operator   Communication Charge      PNet Hware 33252                          13
       4/6/2019    742   NG0024   Owner Operator   Fuel Card Advances        Cash Advance                            200
       4/6/2019    742   NG0024   Owner Operator   Fuel Card Advances        Cash Advance Fee                           2
       4/6/2019    742   NG0024   Owner Operator   Fuel Purchase             Fuel Purchase                         219.08

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       4/6/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.99
       4/6/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.59
       4/6/2019    742   NG0024   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax        145.19
       4/6/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                       100
       4/6/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 225472 repair                    250
       4/6/2019    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Turner Turnpike West         18.05
       4/6/2019    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Will Rogers Turnpike         18.05
       4/6/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-13         -62.78
       4/6/2019    742   OS0018   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax         647.2
       4/6/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       4/6/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.32
       4/6/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.25
       4/6/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.08
       4/6/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.73
       4/6/2019    742   PC0012   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax        103.12
       4/6/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
       4/6/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.01
       4/6/2019    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg           3.5
       4/6/2019    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg           1.5
       4/6/2019    742   PC0012   Owner Operator   Toll Charges                   32969 KTA Eastern Terminal              31.3
       4/6/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       4/6/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       4/6/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/6/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.18
       4/6/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.83
       4/6/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.65
       4/6/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.73
       4/6/2019    742   RF0136   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax         45.17
       4/6/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                       100
       4/6/2019    742   RF0136   Owner Operator   Repair Order                   CTMS - 225380 repair                    150
       4/6/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       4/6/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.61
       4/6/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.4
       4/6/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          35.27
       4/6/2019    742   RS0342   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax         48.08
       4/6/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                       100
       4/6/2019    742   RS0342   Owner Operator   Toll Charges                   33738 OTA Will Rogers Turnpike         18.05
       4/6/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       4/6/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       4/6/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/6/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.03
       4/6/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.91
       4/6/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          496.4
       4/6/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.26
       4/6/2019    742   TC0098   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax         39.43
       4/6/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                       100
       4/6/2019    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Cermak Rd.                 6.65
       4/6/2019    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Irving Park                6.65
       4/6/2019    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Joliet Rd.                  2.5
       4/6/2019    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL O'Hare (East)              6.65
       4/6/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 225407 33489 Lease Paym        412.16
       4/6/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       4/6/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.5
       4/6/2019    742   TH0130   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax         70.12
       4/6/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                       100
      4/13/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      4/13/2019    709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
      4/13/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      4/13/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/13/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.61
      4/13/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                      100
      4/13/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      4/13/2019    709   AC0061   Owner Operator   Toll Charges                   Q13148 ILTOLL 163rd St.                 3.75
      4/13/2019    709   AC0061   Owner Operator   Toll Charges                   Q13148 ILTOLL 163rd St.                 3.75
      4/13/2019    709   AC0061   Owner Operator   Toll Charges                   Q13148 ILTOLL Cermak Rd.                6.65
      4/13/2019    709   AC0061   Owner Operator   Toll Charges                   Q13148 ILTOLL Elgin Rd                  6.65
      4/13/2019    709   AC0061   Owner Operator   Toll Charges                   Q13148 ILTOLL I-57/147th St (I           2.9
      4/13/2019    709   AC0061   Owner Operator   Toll Charges                   Q13148 ILTOLL I-57/147th St (I          6.65
      4/13/2019    709   AC0061   Owner Operator   Toll Charges                   Q13148 ILTOLL Marengo                  13.35
      4/13/2019    709   AC0061   Owner Operator   Toll Charges                   Q13148 ILTOLL Route 53                   2.5
      4/13/2019    709   AC0061   Owner Operator   Toll Charges                   Q13148 ILTOLL Route 80 (West)              5
      4/13/2019    709   AC0061   Owner Operator   Toll Charges                   Q13148 ILTOLL South Beloit              8.35

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      4/13/2019    709   AC0061   Owner Operator   Toll Charges                   Q13148 ILTOLL South Beloit              6.25
      4/13/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 225851 Q13148 Trac Leas        296.09
      4/13/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      4/13/2019    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
      4/13/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      4/13/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                      100
      4/13/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      4/13/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      4/13/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      4/13/2019    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      4/13/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      4/13/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.39
      4/13/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.88
      4/13/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          444.8
      4/13/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          407.5
      4/13/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                      100
      4/13/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      4/13/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 225786 Q13147 Lease            440.14
      4/13/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      4/13/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      4/13/2019    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      4/13/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      4/13/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.86
      4/13/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.62
      4/13/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.29
      4/13/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.25
      4/13/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.11
      4/13/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.61
      4/13/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  42.07
      4/13/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                      100
      4/13/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      4/13/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 225800 Q13169 Sublease         352.68
      4/13/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      4/13/2019    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      4/13/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      4/13/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                       100
      4/13/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      4/13/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      4/13/2019    709   CC0134   Owner Operator   Advance                        3/3/19 Clm 73039-2 s/u pmts             250
      4/13/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      4/13/2019    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      4/13/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      4/13/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/13/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/13/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.64
      4/13/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.15
      4/13/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.65
      4/13/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.18
      4/13/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.14
      4/13/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
      4/13/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      4/13/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      4/13/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 225703 Q13168 sub lease        352.68
      4/13/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/13/2019    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      4/13/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      4/13/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         639.68
      4/13/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         581.88
      4/13/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      4/13/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
      4/13/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      4/13/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/13/2019    709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00395997 - PO System          737.75

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      4/13/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      4/13/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      4/13/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      4/13/2019    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                      9.84
      4/13/2019    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
      4/13/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      4/13/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      4/13/2019    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-6            277.2
      4/13/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.61
      4/13/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.41
      4/13/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.27
      4/13/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.47
      4/13/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.98
      4/13/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.85
      4/13/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
      4/13/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
      4/13/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      4/13/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      4/13/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 225758 Q1247 Sub Lease         263.91
      4/13/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      4/13/2019    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                      9.84
      4/13/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      4/13/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.25
      4/13/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                       100
      4/13/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      4/13/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 225703 Q1201                   278.76
      4/13/2019    709   DL0029   Owner Operator   Advance                        3/4/19 Clm 73054-1 s/u pmts             250
      4/13/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/13/2019    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                      9.84
      4/13/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.77
      4/13/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.26
      4/13/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                       100
      4/13/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      4/13/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      4/13/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                       100
      4/13/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                28.95
      4/13/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      4/13/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/13/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.48
      4/13/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.41
      4/13/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.77
      4/13/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                       100
      4/13/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      4/13/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      4/13/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/13/2019    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                      9.84
      4/13/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      4/13/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/13/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/13/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.95
      4/13/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         694.29
      4/13/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      4/13/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      4/13/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      4/13/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      4/13/2019    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                      9.84
      4/13/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      4/13/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                           650
      4/13/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      4/13/2019    709   DS0288   Owner Operator   Advance                        3/25/19 Clm 73375-1 s/u pmts            250
      4/13/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      4/13/2019    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      4/13/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      4/13/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/13/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.62
      4/13/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.92

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      4/13/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                       100
      4/13/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      4/13/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/13/2019    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                      9.84
      4/13/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      4/13/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/13/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.67
      4/13/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.32
      4/13/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.79
      4/13/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      4/13/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      4/13/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      4/13/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      4/13/2019    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      4/13/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      4/13/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         653.43
      4/13/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                       100
      4/13/2019    709   EG0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         256.29
      4/13/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      4/13/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      4/13/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      4/13/2019    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      4/13/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      4/13/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/13/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/13/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           403
      4/13/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.16
      4/13/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.06
      4/13/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.69
      4/13/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                       100
      4/13/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      4/13/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      4/13/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      4/13/2019    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      4/13/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      4/13/2019    709   FS0039   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-20         -75.02
      4/13/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.6
      4/13/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.22
      4/13/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.5
      4/13/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.16
      4/13/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.15
      4/13/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 440.78
      4/13/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                       100
      4/13/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      4/13/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      4/13/2019    709   FS0039   Owner Operator   Tire Purchase                  PO: 709-00397870 - PO System          753.85
      4/13/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 225800 truck lease 3304        434.29
      4/13/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/13/2019    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521B                     9.84
      4/13/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      4/13/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.96
      4/13/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.03
      4/13/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.25
      4/13/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                      100
      4/13/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      4/13/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/13/2019    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRK34330                      9.84
      4/13/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      4/13/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-20            -62
      4/13/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/13/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/13/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/13/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.85
      4/13/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.22
      4/13/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.28

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      4/13/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      4/13/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      4/13/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      4/13/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      4/13/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      4/13/2019    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      4/13/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      4/13/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.23
      4/13/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.71
      4/13/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                       100
      4/13/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      4/13/2019    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00396036 - PO System          220.74
      4/13/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 225851 Amortized Balloo        200.15
      4/13/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      4/13/2019    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      4/13/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      4/13/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.98
      4/13/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.58
      4/13/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.83
      4/13/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                       100
      4/13/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         259.74
      4/13/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      4/13/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 225797 Missed lease pay        151.41
      4/13/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 225845 Q1109 Lease             302.85
      4/13/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      4/13/2019    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      4/13/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      4/13/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.53
      4/13/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.61
      4/13/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.63
      4/13/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                      100
      4/13/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      4/13/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 225697 Q13170                  352.68
      4/13/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      4/13/2019    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK33180                      9.84
      4/13/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      4/13/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/13/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.07
      4/13/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          480.6
      4/13/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34553                     298.27
      4/13/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34565                       100
      4/13/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      4/13/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        1.15
      4/13/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/13/2019    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      4/13/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      4/13/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/13/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/13/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.81
      4/13/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                           4.53
      4/13/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.12
      4/13/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.14
      4/13/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.81
      4/13/2019    709   HG0027   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax         69.76
      4/13/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                       100
      4/13/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                       100
      4/13/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      4/13/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/13/2019    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84

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      4/13/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      4/13/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.94
      4/13/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.53
      4/13/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.91
      4/13/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                       100
      4/13/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      4/13/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      4/13/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/13/2019    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      4/13/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      4/13/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.73
      4/13/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.84
      4/13/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      4/13/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/13/2019    709   IR0002   Owner Operator   Repair Order                   CTMS - 225895 REPAIR                    23.5
      4/13/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/13/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      4/13/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/13/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.27
      4/13/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      4/13/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      4/13/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      4/13/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      4/13/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      4/13/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/13/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/13/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.8
      4/13/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.09
      4/13/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.78
      4/13/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.83
      4/13/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.25
      4/13/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                      100
      4/13/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      4/13/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 225737 Q13197 Lease            276.63
      4/13/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      4/13/2019    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                      9.84
      4/13/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      4/13/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/13/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      4/13/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      4/13/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/13/2019    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                      9.84
      4/13/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      4/13/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            400
      4/13/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      4/13/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.96
      4/13/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.74
      4/13/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      4/13/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         251.27
      4/13/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      4/13/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      4/13/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/13/2019    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                      9.84
      4/13/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      4/13/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/13/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/13/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.19
      4/13/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         601.43
      4/13/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      4/13/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      4/13/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      4/13/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75

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      4/13/2019    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                      9.84
      4/13/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      4/13/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.51
      4/13/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.16
      4/13/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         605.25
      4/13/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                       100
      4/13/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      4/13/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      4/13/2019    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                      9.84
      4/13/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      4/13/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/13/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/13/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.35
      4/13/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 33438                       100
      4/13/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      4/13/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      4/13/2019    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      4/13/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      4/13/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.32
      4/13/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                       100
      4/13/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      4/13/2019    709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00393035 - PO System          227.14
      4/13/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 225652 Truck Lease             278.76
      4/13/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      4/13/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      4/13/2019    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                     9.84
      4/13/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      4/13/2019    709   JS0265   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-20         -41.76
      4/13/2019    709   JS0265   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-20         -87.89
      4/13/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/13/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.49
      4/13/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.36
      4/13/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.14
      4/13/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.98
      4/13/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.73
      4/13/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.69
      4/13/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.29
      4/13/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                      100
      4/13/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      4/13/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      4/13/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      4/13/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 225795 Q13159 Lease             331.5
      4/13/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/13/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      4/13/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/13/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/13/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/13/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           571
      4/13/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.22
      4/13/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             20
      4/13/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           273
      4/13/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.46
      4/13/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           313
      4/13/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             75
      4/13/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      4/13/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      4/13/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/13/2019    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00395996 - PO System           92.34
      4/13/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      4/13/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      4/13/2019    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                     9.84
      4/13/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      4/13/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/13/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.64

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      4/13/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.62
      4/13/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.44
      4/13/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.56
      4/13/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.9
      4/13/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                      100
      4/13/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      4/13/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 225699 Q13156 Lease            388.16
      4/13/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      4/13/2019    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                      9.84
      4/13/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      4/13/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.19
      4/13/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.72
      4/13/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                       100
      4/13/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      4/13/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/13/2019    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      4/13/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      4/13/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.11
      4/13/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.33
      4/13/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                       100
      4/13/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      4/13/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      4/13/2019    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      4/13/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      4/13/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/13/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.28
      4/13/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                       100
      4/13/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      4/13/2019    709   MD0122   Owner Operator   Tire Purchase                  PO: 709-00397209 - PO System          361.54
      4/13/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      4/13/2019    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                      9.84
      4/13/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      4/13/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          578.6
      4/13/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.09
      4/13/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.43
      4/13/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                       100
      4/13/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      4/13/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 225703 Q1113 Lease             252.11
      4/13/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/13/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      4/13/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.62
      4/13/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.66
      4/13/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                       100
      4/13/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      4/13/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/13/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/13/2019    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                      9.84
      4/13/2019    709   MP0035   Owner Operator   Charge back by affiliate       CTMS - 225672 Trailer wash TL9           -38
      4/13/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      4/13/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           700
      4/13/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      4/13/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      4/13/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.87
      4/13/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                       100
      4/13/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      4/13/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/13/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      4/13/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      4/13/2019    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      4/13/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      4/13/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/13/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.74
      4/13/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.23
      4/13/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                       100

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      4/13/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/13/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               35.16
      4/13/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr            2.5
      4/13/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD              48.83
      4/13/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter            2.5
      4/13/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 225699 32986 Lease              314.03
      4/13/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
      4/13/2019    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                      9.84
      4/13/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
      4/13/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/13/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/13/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           262.7
      4/13/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           400.6
      4/13/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                       100
      4/13/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/13/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 32.98
      4/13/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
      4/13/2019    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                       9.84
      4/13/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           13
      4/13/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                        100
      4/13/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/13/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              30.47
      4/13/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 225852 Truck 73130 Leas         196.65
      4/13/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      4/13/2019    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                       9.84
      4/13/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                            8
      4/13/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      4/13/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.11
      4/13/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.76
      4/13/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                       33.17
      4/13/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/13/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    27.35
      4/13/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 225641 REPAIRS                    250
      4/13/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          215.66
      4/13/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      4/13/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                            8
      4/13/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-20        -1115.07
      4/13/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-20         -468.75
      4/13/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          606.96
      4/13/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          455.58
      4/13/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                           15.97
      4/13/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.26
      4/13/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/13/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.16
      4/13/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      4/13/2019    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00397047 - PO System            118.4
      4/13/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      4/13/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                           13
      4/13/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      4/13/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          292.58
      4/13/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          659.93
      4/13/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                       33.17
      4/13/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/13/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.22
      4/13/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      4/13/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
      4/13/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      4/13/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
      4/13/2019    709   RL0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-6            118.44
      4/13/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/13/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/13/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/13/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/13/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.06
      4/13/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           408.9
      4/13/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           19.02
      4/13/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.38
      4/13/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.07
      4/13/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                       33.17
      4/13/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/13/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.15
      4/13/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          512.16
      4/13/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75

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      4/13/2019    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      4/13/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      4/13/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/13/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.81
      4/13/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         617.35
      4/13/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.38
      4/13/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      4/13/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      4/13/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      4/13/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      4/13/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      4/13/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      4/13/2019    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      4/13/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      4/13/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.49
      4/13/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                       100
      4/13/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      4/13/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      4/13/2019    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      4/13/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      4/13/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.01
      4/13/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                       100
      4/13/2019    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         249.81
      4/13/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      4/13/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 225652 Q1202 Truck Leas        278.76
      4/13/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      4/13/2019    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      4/13/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      4/13/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      4/13/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.16
      4/13/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.51
      4/13/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.09
      4/13/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.18
      4/13/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.57
      4/13/2019    709   RR0123   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax         24.35
      4/13/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100
      4/13/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100
      4/13/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      4/13/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      4/13/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      4/13/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      4/13/2019    709   RR0123   Owner Operator   Toll Charges                   Q1248 NCTA Mainline - NC540 SB          3.36
      4/13/2019    709   RR0123   Owner Operator   Toll Charges                   Q1248 NCTA Mainline-NC540 NB (          4.16
      4/13/2019    709   RR0123   Owner Operator   Toll Charges                   Q1248 NCTA Mainline-NC540 NB (          3.36
      4/13/2019    709   RR0123   Owner Operator   Toll Charges                   Q1248 NCTA Mainline-NC540 SB (          4.16
      4/13/2019    709   RR0123   Owner Operator   Toll Charges                   Q1248 NCTA Ramp - NC147 SB to            4.2
      4/13/2019    709   RR0123   Owner Operator   Toll Charges                   Q1248 NCTA Ramp - NC540 NB to            4.2
      4/13/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 225411 Q1248                   311.97
      4/13/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 225702 Q1248                   311.97
      4/13/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      4/13/2019    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      4/13/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      4/13/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/13/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.21
      4/13/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.87
      4/13/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.19
      4/13/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.74
      4/13/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      4/13/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      4/13/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      4/13/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      4/13/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      4/13/2019    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.84
      4/13/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      4/13/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/13/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      4/13/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.77
      4/13/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.62
      4/13/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      4/13/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      4/13/2019    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      4/13/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      4/13/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-20        -976.96
      4/13/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-20           -515
      4/13/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-20           -465
      4/13/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.8
      4/13/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            455
      4/13/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                        100
      4/13/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      4/13/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      4/13/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/13/2019    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      4/13/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      4/13/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      4/13/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      4/13/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      4/13/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/13/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.55
      4/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          67.87
      4/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.06
      4/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.68
      4/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.26
      4/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.45
      4/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.93
      4/13/2019    709   VJ0006   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax         53.88
      4/13/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                        100
      4/13/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                        100
      4/13/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      4/13/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      4/13/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      4/13/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Turner Turnpike East         18.05
      4/13/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Turner Turnpike West         18.05
      4/13/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Will Rogers Turnpike         18.05
      4/13/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Will Rogers Turnpike         18.05
      4/13/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/13/2019    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      4/13/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      4/13/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-6           468.75
      4/13/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      4/13/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      4/13/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      4/13/2019    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      4/13/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      4/13/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/13/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/13/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/13/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.22
      4/13/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.91
      4/13/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          235.5
      4/13/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                        100
      4/13/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      4/13/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 225703 Q1238 Lease             311.97
      4/13/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      4/13/2019    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      4/13/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      4/13/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/13/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/13/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.46
      4/13/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                            441
      4/13/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      4/13/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5

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      4/13/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      4/13/2019    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13151                     9.84
      4/13/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      4/13/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.22
      4/13/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.15
      4/13/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.05
      4/13/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.34
      4/13/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                      100
      4/13/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2015 Peterbilt PD                      53.43
      4/13/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2015 Peterbilt PD Terrorism              2.5
      4/13/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      4/13/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      4/13/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 225700 Lease of Q13151         388.16
      4/13/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      4/13/2019    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      4/13/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      4/13/2019    742   CA0089   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-6             124
      4/13/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.99
      4/13/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         576.67
      4/13/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.35
      4/13/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
      4/13/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      4/13/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/13/2019    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      4/13/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      4/13/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           322
      4/13/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.01
      4/13/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.04
      4/13/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
      4/13/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      4/13/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/13/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.19
      4/13/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.92
      4/13/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.57
      4/13/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.52
      4/13/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      4/13/2019    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      4/13/2019    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 225672 Trailer wash 701           -52
      4/13/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      4/13/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         599.51
      4/13/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.95
      4/13/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.11
      4/13/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
      4/13/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      4/13/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      4/13/2019    742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00395840 - PO System          195.76
      4/13/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 225737 Trk 33487 Lease          434.2
      4/13/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/13/2019    742   EA0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33993                      9.84
      4/13/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      4/13/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          563.8
      4/13/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                       100
      4/13/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      4/13/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/13/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/13/2019    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      4/13/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/13/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.56
      4/13/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.81
      4/13/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.3
      4/13/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.51
      4/13/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                       100
      4/13/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      4/13/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      4/13/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      4/13/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      4/13/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69

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      4/13/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      4/13/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      4/13/2019    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
      4/13/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      4/13/2019    742   JH0148   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-6            62.78
      4/13/2019    742   JH0148   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-6            62.78
      4/13/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/13/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                          324.9
      4/13/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.86
      4/13/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                       100
      4/13/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      4/13/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/13/2019    742   JS0390   Owner Operator   Broker Pre Pass                DriveWyze TRK34327                      9.84
      4/13/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      4/13/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/13/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.26
      4/13/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.61
      4/13/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.74
      4/13/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                       100
      4/13/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      4/13/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/13/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      4/13/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/13/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                       100
      4/13/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      4/13/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/13/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      4/13/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      4/13/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.86
      4/13/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.61
      4/13/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          103.8
      4/13/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.97
      4/13/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.84
      4/13/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                       100
      4/13/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      4/13/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      4/13/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      4/13/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      4/13/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      4/13/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      4/13/2019    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                      9.84
      4/13/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      4/13/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.33
      4/13/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.05
      4/13/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.79
      4/13/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.79
      4/13/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                       100
      4/13/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      4/13/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      4/13/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 225816 repair                    250
      4/13/2019    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy North - Barr             7
      4/13/2019    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy South - Barr             7
      4/13/2019    742   NG0024   Owner Operator   Toll Charges                   33252 NTTA Arkansas Mainlane G           4.4
      4/13/2019    742   NG0024   Owner Operator   Toll Charges                   33252 NTTA Lower Tarrant Mainl          4.16
      4/13/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/13/2019    742   OS0018   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-6            62.78
      4/13/2019    742   OS0018   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax         10.77
      4/13/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           9.92
      4/13/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      4/13/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/13/2019    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      4/13/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      4/13/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/13/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/13/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/13/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      4/13/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.79
      4/13/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.54
      4/13/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.29
      4/13/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.9
      4/13/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.82
      4/13/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      4/13/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.01
      4/13/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      4/13/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      4/13/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      4/13/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                       100
      4/13/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          17.31
      4/13/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      4/13/2019    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13157                     9.84
      4/13/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/13/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/13/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.86
      4/13/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.36
      4/13/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.97
      4/13/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.17
      4/13/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.03
      4/13/2019    742   RN0054   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax        100.45
      4/13/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                      100
      4/13/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                      100
      4/13/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      4/13/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      4/13/2019    742   RN0054   Owner Operator   Toll Charges                   Q13157 OTA Turner Turnpike Wes         18.05
      4/13/2019    742   RN0054   Owner Operator   Toll Charges                   Q13157 OTA Will Rogers Turnpik         18.05
      4/13/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 225463 Tractor Lease           353.28
      4/13/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 225741 Tractor Lease           353.28
      4/13/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      4/13/2019    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                      9.84
      4/13/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      4/13/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.37
      4/13/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.37
      4/13/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.51
      4/13/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                       100
      4/13/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      4/13/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      4/13/2019    742   RS0342   Owner Operator   Repair Order                   CTMS - 225895 REPAIR                      70
      4/13/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/13/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      4/13/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      4/13/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      4/13/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      4/13/2019    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      4/13/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      4/13/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/13/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.54
      4/13/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.63
      4/13/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.15
      4/13/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                       100
      4/13/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      4/13/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      4/13/2019    742   TC0098   Owner Operator   Repair Order                   CTMS - 224636 repair                  203.46
      4/13/2019    742   TC0098   Owner Operator   Repair Order                   CTMS - 224812 repair                  203.46
      4/13/2019    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL I-57/147th St (Il          6.65
      4/13/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 225699 33489 Lease Paym        412.16
      4/13/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/13/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      4/13/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.75
      4/13/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                       100
      4/13/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      4/13/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/13/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      4/13/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      4/13/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      4/13/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          764.7

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      4/13/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.81
      4/13/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.14
      4/13/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.52
      4/13/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           721
      4/13/2019    843   EI0003   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax          94.8
      4/13/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/13/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      4/13/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      4/20/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      4/20/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      4/20/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/20/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.51
      4/20/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         541.13
      4/20/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.08
      4/20/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                      100
      4/20/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      4/20/2019    709   AC0061   Owner Operator   Toll Charges                   Q13148 ILTOLL I-57/147th St (I          3.75
      4/20/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      4/20/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      4/20/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.48
      4/20/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                      100
      4/20/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      4/20/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      4/20/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      4/20/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      4/20/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.34
      4/20/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.67
      4/20/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.75
      4/20/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.75
      4/20/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                      100
      4/20/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      4/20/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 226057 Q13147 Lease            440.14
      4/20/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      4/20/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      4/20/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      4/20/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.89
      4/20/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.66
      4/20/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.01
      4/20/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  30.96
      4/20/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                      100
      4/20/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      4/20/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 226071 Q13169 Sublease         352.68
      4/20/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      4/20/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      4/20/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                       100
      4/20/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      4/20/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      4/20/2019    709   CC0134   Owner Operator   Advance                        3/3/19 Clm 73039-2 s/u pmts             250
      4/20/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      4/20/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      4/20/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/20/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/20/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.59
      4/20/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.85
      4/20/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
      4/20/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      4/20/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      4/20/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 225957 Q13168 sub lease        352.68
      4/20/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/20/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      4/20/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/20/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/20/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          489.9
      4/20/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          513.1
      4/20/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      4/20/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
      4/20/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      4/20/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      4/20/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/20/2019    709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00395997 - PO System          737.75
      4/20/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      4/20/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      4/20/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      4/20/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      4/20/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      4/20/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.85
      4/20/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.53
      4/20/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
      4/20/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
      4/20/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      4/20/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      4/20/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 226001 Q1247 Sub Lease         263.91
      4/20/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      4/20/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      4/20/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.05
      4/20/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                       100
      4/20/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      4/20/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 225957 Q1201                   278.76
      4/20/2019    709   DL0029   Owner Operator   Advance                        3/4/19 Clm 73054-1 s/u pmts            16.58
      4/20/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                16.58
      4/20/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      4/20/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/20/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          70.72
      4/20/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                       100
      4/20/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      4/20/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      4/20/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/20/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      4/20/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/20/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/20/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.39
      4/20/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.79
      4/20/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      4/20/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      4/20/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      4/20/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      4/20/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      4/20/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-27        -447.02
      4/20/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         647.99
      4/20/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      4/20/2019    709   DS0288   Owner Operator   Advance                        3/25/19 Clm 73375-1 s/u pmts            250
      4/20/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.35
      4/20/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/20/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      4/20/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/20/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/20/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/20/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         726.58
      4/20/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      4/20/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      4/20/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      4/20/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      4/20/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      4/20/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         685.74
      4/20/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                       100
      4/20/2019    709   EG0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         256.29
      4/20/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      4/20/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      4/20/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      4/20/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      4/20/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/20/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/20/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.67

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      4/20/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           276.7
      4/20/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          409.82
      4/20/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.51
      4/20/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                         100
      4/20/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 78.13
      4/20/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
      4/20/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
      4/20/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
      4/20/2019    709   FS0039   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-13            75.02
      4/20/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.72
      4/20/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          407.94
      4/20/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                  154.73
      4/20/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                         100
      4/20/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          356.08
      4/20/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              76.88
      4/20/2019    709   FS0039   Owner Operator   Tire Purchase                  PO: 709-00397870 - PO System           753.85
      4/20/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 226071 truck lease 3304         434.29
      4/20/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      4/20/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                          13
      4/20/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                              200
      4/20/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/20/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.77
      4/20/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                        100
      4/20/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    39.07
      4/20/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      4/20/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                           13
      4/20/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-13               62
      4/20/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-27             -93
      4/20/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-27             -93
      4/20/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                              50
      4/20/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          460.12
      4/20/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                       33.17
      4/20/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    23.44
      4/20/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism            2.5
      4/20/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                          236.77
      4/20/2019    709   GS0015   Owner Operator   Accident Claim                 04/12/19 GS0015 Incident                 2000
      4/20/2019    709   GS0015   Owner Operator   Advance                        4/12/19 Clm 73657-1 s/u 250/wk          -2000
      4/20/2019    709   GS0015   Owner Operator   Advance                        4/12/19 Clm 73657-1 s/u 250/wk            250
      4/20/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL              8.75
      4/20/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                           13
      4/20/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.81
      4/20/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                         100
      4/20/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD              39.07
      4/20/2019    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00396036 - PO System           220.74
      4/20/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL              8.75
      4/20/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                            8
      4/20/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                              100
      4/20/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                              200
      4/20/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                              200
      4/20/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/20/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/20/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/20/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                             380
      4/20/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           248.4
      4/20/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           296.8
      4/20/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                         100
      4/20/2019    709   GW0043   Owner Operator   Loan Repayment                 Conditional Credit / Loan            -2187.65
      4/20/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          259.74
      4/20/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD              44.11
      4/20/2019    709   GW0043   Owner Operator   T Chek Fee                     ExpressCheck Fee                        21.66
      4/20/2019    709   GW0043   Owner Operator   T Chek Fee                     Tractor Repair Q1109                  2165.99
      4/20/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 226068 Missed lease pay         151.41
      4/20/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             8.75
      4/20/2019    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 226043 Solvay IX152                 -5
      4/20/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                           8
      4/20/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          500.11
      4/20/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                        100

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      4/20/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      4/20/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 225951 Q13170                  352.68
      4/20/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      4/20/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      4/20/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/20/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          451.5
      4/20/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          468.9
      4/20/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.91
      4/20/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2018 - 34565                      98.27
      4/20/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34553                         75
      4/20/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      4/20/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/20/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           8.94
      4/20/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/20/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      4/20/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          555.6
      4/20/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         614.56
      4/20/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                       100
      4/20/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      4/20/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      4/20/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/20/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      4/20/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.23
      4/20/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.04
      4/20/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      4/20/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/20/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/20/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      4/20/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/20/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      4/20/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      4/20/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      4/20/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      4/20/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      4/20/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/20/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/20/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.78
      4/20/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                      100
      4/20/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      4/20/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 226001 Q13197 Lease            276.63
      4/20/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      4/20/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      4/20/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/20/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      4/20/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      4/20/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/20/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      4/20/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/20/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/20/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/20/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/20/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.44
      4/20/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          576.7
      4/20/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      4/20/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         251.27
      4/20/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      4/20/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      4/20/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/20/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      4/20/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/20/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/20/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.22
      4/20/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          619.8
      4/20/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      4/20/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      4/20/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      4/20/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      4/20/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/20/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      4/20/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/20/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/20/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.73
      4/20/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         627.76
      4/20/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                       100
      4/20/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      4/20/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      4/20/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      4/20/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.18
      4/20/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 33438                       100
      4/20/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      4/20/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      4/20/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      4/20/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.98
      4/20/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                       100
      4/20/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      4/20/2019    709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00393035 - PO System          227.14
      4/20/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 225921 Truck Lease             278.76
      4/20/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      4/20/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      4/20/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      4/20/2019    709   JS0265   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-13           41.76
      4/20/2019    709   JS0265   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-13           87.89
      4/20/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/20/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/20/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/20/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/20/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/20/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.61
      4/20/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.76
      4/20/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.83
      4/20/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                      100
      4/20/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      4/20/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      4/20/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      4/20/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 226066 Q13159 Lease             331.5
      4/20/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/20/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      4/20/2019    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                    -416.63
      4/20/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/20/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/20/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      4/20/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      4/20/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/20/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.29
      4/20/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           468
      4/20/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.95
      4/20/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      4/20/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      4/20/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/20/2019    709   KP0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.13
      4/20/2019    709   KP0004   Owner Operator   T Chek Fee                     Towing 32914                           412.5
      4/20/2019    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00395996 - PO System           92.34
      4/20/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      4/20/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      4/20/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      4/20/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/20/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.52
      4/20/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.05
      4/20/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.35
      4/20/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.74
      4/20/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                      100
      4/20/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19

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      4/20/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 225953 Q13156 Lease            388.16
      4/20/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      4/20/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      4/20/2019    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      4/20/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      4/20/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      4/20/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                       100
      4/20/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                       100
      4/20/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      4/20/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      4/20/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 225800 Lease Q1111             252.11
      4/20/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 226071 Lease Q1111             252.11
      4/20/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      4/20/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      4/20/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         711.64
      4/20/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                       100
      4/20/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      4/20/2019    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     26
      4/20/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/20/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      4/20/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.63
      4/20/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                       100
      4/20/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      4/20/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      4/20/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      4/20/2019    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 4-27         -201.5
      4/20/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/20/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                       100
      4/20/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      4/20/2019    709   MD0122   Owner Operator   Tire Purchase                  PO: 709-00397209 - PO System          361.54
      4/20/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      4/20/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      4/20/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          463.2
      4/20/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         582.78
      4/20/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                       100
      4/20/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      4/20/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 225958 Q1113 Lease             252.11
      4/20/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/20/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      4/20/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.67
      4/20/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                       100
      4/20/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      4/20/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/20/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/20/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      4/20/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      4/20/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            260
      4/20/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.6
      4/20/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.87
      4/20/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                       100
      4/20/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      4/20/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/20/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      4/20/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      4/20/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      4/20/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                       100
      4/20/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      4/20/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      4/20/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      4/20/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      4/20/2019    709   NB0029   Owner Operator   Toll Charges                   32986 ILTOLL I-57/147th St (Il          6.65
      4/20/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 225953 32986 Lease             314.03
      4/20/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      4/20/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      4/20/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/20/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      4/20/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/20/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/20/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.32
      4/20/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.55
      4/20/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                      100
      4/20/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      4/20/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      4/20/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      4/20/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                       100
      4/20/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      4/20/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/20/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      4/20/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/20/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.59
      4/20/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.53
      4/20/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.54
      4/20/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      4/20/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      4/20/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 225908 REPAIRS                   250
      4/20/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      4/20/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      4/20/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      4/20/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-13         1115.07
      4/20/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-13          468.75
      4/20/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.92
      4/20/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.13
      4/20/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      4/20/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      4/20/2019    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00397047 - PO System           118.4
      4/20/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/20/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      4/20/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/20/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.91
      4/20/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.6
      4/20/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      4/20/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      4/20/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/20/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      4/20/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/20/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      4/20/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/20/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/20/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/20/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/20/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.45
      4/20/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.15
      4/20/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.45
      4/20/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      4/20/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      4/20/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      4/20/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      4/20/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      4/20/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/20/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.95
      4/20/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.55
      4/20/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      4/20/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      4/20/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      4/20/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      4/20/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      4/20/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      4/20/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      4/20/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.62
      4/20/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.88
      4/20/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          433.1
      4/20/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                       100

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      4/20/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        31.25
      4/20/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
      4/20/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                           13
      4/20/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          465.75
      4/20/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                        100
      4/20/2019    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          249.81
      4/20/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD               58.6
      4/20/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 225921 Q1202 Truck Leas         278.76
      4/20/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                 8.75
      4/20/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                            8
      4/20/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          477.18
      4/20/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          660.65
      4/20/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                        100
      4/20/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          248.42
      4/20/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                 65.08
      4/20/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror            2.5
      4/20/2019    709   RR0123   Owner Operator   Repair Order                   TRACTOR Q1248                          569.97
      4/20/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 225957 Q1248                    311.97
      4/20/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      4/20/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                           13
      4/20/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      4/20/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/20/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/20/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.83
      4/20/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.32
      4/20/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.73
      4/20/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.85
      4/20/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                       33.17
      4/20/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment          247.89
      4/20/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   100.98
      4/20/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
      4/20/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      4/20/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      4/20/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                           231.9
      4/20/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                        100
      4/20/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                        100
      4/20/2019    709   SB0103   Owner Operator   Loan Repayment                 EFS 216360                           -5238.47
      4/20/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          355.71
      4/20/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      4/20/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      4/20/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      4/20/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      4/20/2019    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        51.87
      4/20/2019    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                   5186.6
      4/20/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 225649 Sub Lease                365.31
      4/20/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
      4/20/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
      4/20/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
      4/20/2019    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                     12.5
      4/20/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      4/20/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      4/20/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           22.05
      4/20/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                            100
      4/20/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                            100
      4/20/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            408
      4/20/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           331.9
      4/20/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            462
      4/20/2019    709   SM0109   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax         218.42
      4/20/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                       33.64
      4/20/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2018 - 33195                       33.55
      4/20/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       33.17
      4/20/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       33.17
      4/20/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       33.17
      4/20/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/20/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22

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      4/20/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      4/20/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      4/20/2019    709   SM0109   Owner Operator   Tire Fee                       Tire Fee: 2255387                          8
      4/20/2019    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00394310 - PO System           12.12
      4/20/2019    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00398058 - PO System           202.8
      4/20/2019    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00398058 - PO System           202.8
      4/20/2019    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00398058 - PO System           202.8
      4/20/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      4/20/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      4/20/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      4/20/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      4/20/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      4/20/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      4/20/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      4/20/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/20/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/20/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/20/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/20/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/20/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/20/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.5
      4/20/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.33
      4/20/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.46
      4/20/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.97
      4/20/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.64
      4/20/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      4/20/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      4/20/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      4/20/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-13          976.96
      4/20/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-13            465
      4/20/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-13            515
      4/20/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.18
      4/20/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.85
      4/20/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                       100
      4/20/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      4/20/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      4/20/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/20/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      4/20/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/20/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      4/20/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      4/20/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.32
      4/20/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.36
      4/20/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                       100
      4/20/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      4/20/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      4/20/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Turner Turnpike West         18.05
      4/20/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Will Rogers Turnpike         18.05
      4/20/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/20/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      4/20/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      4/20/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      4/20/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      4/20/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      4/20/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/20/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/20/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/20/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/20/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.75
      4/20/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.63
      4/20/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.12
      4/20/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.72
      4/20/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                       100
      4/20/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      4/20/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 225957 Q1238 Lease             311.97
      4/20/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      4/20/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      4/20/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      4/20/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/20/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/20/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/20/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.3
      4/20/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.95
      4/20/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      4/20/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      4/20/2019    742   AP0047   Owner Operator   Toll Charges                   32604 BATA Carquinez Bridge               26
      4/20/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      4/20/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      4/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.51
      4/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.45
      4/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.3
      4/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.06
      4/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.89
      4/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.11
      4/20/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                      100
      4/20/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      4/20/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      4/20/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 225954 Lease of Q13151         388.16
      4/20/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      4/20/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      4/20/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.56
      4/20/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.29
      4/20/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
      4/20/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      4/20/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.58
      4/20/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/20/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      4/20/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           588
      4/20/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.04
      4/20/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           295
      4/20/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
      4/20/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      4/20/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/20/2019    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      4/20/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      4/20/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      4/20/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         646.47
      4/20/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.35
      4/20/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.68
      4/20/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                       100
      4/20/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                       100
      4/20/2019    742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL I-57/147th St (Il          6.65
      4/20/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      4/20/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      4/20/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.02
      4/20/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.63
      4/20/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.67
      4/20/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
      4/20/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      4/20/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      4/20/2019    742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00395840 - PO System          195.72
      4/20/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/20/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      4/20/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.02
      4/20/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.21
      4/20/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.72
      4/20/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.35
      4/20/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                       100
      4/20/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      4/20/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/20/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.11
      4/20/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.85
      4/20/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.66
      4/20/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.92
      4/20/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      4/20/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/20/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      4/20/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      4/20/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      4/20/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/20/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/20/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.18
      4/20/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.46
      4/20/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.67
      4/20/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.97
      4/20/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.99
      4/20/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.98
      4/20/2019    742   EN0016   Owner Operator   FUEL TAX                       February 2019 Fuel/Mileage Tax        450.55
      4/20/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      4/20/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      4/20/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      4/20/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      4/20/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      4/20/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/20/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/20/2019    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg             7
      4/20/2019    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg           3.5
      4/20/2019    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg           3.5
      4/20/2019    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg             7
      4/20/2019    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg             7
      4/20/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      4/20/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      4/20/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      4/20/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      4/20/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      4/20/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      4/20/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      4/20/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      4/20/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      4/20/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/20/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         815.13
      4/20/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                       100
      4/20/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      4/20/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/20/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      4/20/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/20/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.8
      4/20/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.12
      4/20/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          44.52
      4/20/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.33
      4/20/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                       100
      4/20/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      4/20/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Ship Channel Bridg             7
      4/20/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/20/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      4/20/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/20/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                       100
      4/20/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      4/20/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/20/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      4/20/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      4/20/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.33
      4/20/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.95
      4/20/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.65
      4/20/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                       100
      4/20/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      4/20/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      4/20/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      4/20/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      4/20/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      4/20/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/20/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      4/20/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.01
      4/20/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.44
      4/20/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.54
      4/20/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          441.7
      4/20/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.35
      4/20/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                        100
      4/20/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      4/20/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      4/20/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  26.25
      4/20/2019    742   OS0018   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    -35
      4/20/2019    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      4/20/2019    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                          22.94
      4/20/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          142.5
      4/20/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      4/20/2019    742   OS0018   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          37.58
      4/20/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   31.25
      4/20/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   93.75
      4/20/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    -125
      4/20/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           -10
      4/20/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           7.5
      4/20/2019    742   OS0018   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      4/20/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      4/20/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/20/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      4/20/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.97
      4/20/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.15
      4/20/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.62
      4/20/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.66
      4/20/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      4/20/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.01
      4/20/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      4/20/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      4/20/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      4/20/2019    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      4/20/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      4/20/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      4/20/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/20/2019    742   RF0136   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/20/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.35
      4/20/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.88
      4/20/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                        100
      4/20/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          30.19
      4/20/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      4/20/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      4/20/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      4/20/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/20/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.49
      4/20/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.36
      4/20/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.54
      4/20/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.99
      4/20/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.99
      4/20/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                       100
      4/20/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      4/20/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      4/20/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      4/20/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      4/20/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.86
      4/20/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.02
      4/20/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                        100
      4/20/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      4/20/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      4/20/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/20/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      4/20/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      4/20/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      4/20/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      4/20/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      4/20/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50

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      4/20/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.74
      4/20/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.73
      4/20/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          503.8
      4/20/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.95
      4/20/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                       100
      4/20/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      4/20/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      4/20/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 225953 33489 Lease Paym        412.16
      4/20/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/20/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      4/20/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.44
      4/20/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                       100
      4/20/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      4/20/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/20/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      4/20/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      4/20/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      4/20/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.85
      4/20/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.87
      4/20/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.88
      4/20/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/20/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      4/20/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      4/20/2019    843   EI0003   Owner Operator   Repair Order                   CTMS - 226098 Emad Iskander           145.19
      4/27/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      4/27/2019    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      4/27/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      4/27/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/27/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.22
      4/27/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          486.3
      4/27/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.89
      4/27/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                      100
      4/27/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      4/27/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 226143 Q13148 Trac Leas        296.09
      4/27/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 226403 Q13148 Trac Leas        296.09
      4/27/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      4/27/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      4/27/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.23
      4/27/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                      100
      4/27/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      4/27/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      4/27/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      4/27/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      4/27/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.83
      4/27/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.74
      4/27/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.19
      4/27/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.65
      4/27/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                      100
      4/27/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      4/27/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 226336 Q13147 Lease            440.14
      4/27/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      4/27/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      4/27/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      4/27/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      4/27/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.47
      4/27/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.11
      4/27/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           50.5
      4/27/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.08
      4/27/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.85
      4/27/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  52.85
      4/27/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                      100
      4/27/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      4/27/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 226350 Q13169 Sublease         352.68
      4/27/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      4/27/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                       100
      4/27/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          20.83
      4/27/2019    709   CC0134   Owner Operator   Advance                        3/3/19 Clm 73039-2 s/u pmts             250

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      4/27/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      4/27/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      4/27/2019    709   CC0134   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-4          -75.02
      4/27/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/27/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/27/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           163
      4/27/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.05
      4/27/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          391.2
      4/27/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.02
      4/27/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.28
      4/27/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
      4/27/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      4/27/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      4/27/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 226229 Q13168 sub lease        352.68
      4/27/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/27/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      4/27/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.52
      4/27/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.08
      4/27/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      4/27/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
      4/27/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      4/27/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/27/2019    709   CM0119   Owner Operator   Tire Purchase                  PO: 709-00395997 - PO System          737.68
      4/27/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      4/27/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      4/27/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      4/27/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      4/27/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      4/27/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.71
      4/27/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.25
      4/27/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.63
      4/27/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.21
      4/27/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.76
      4/27/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.29
      4/27/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
      4/27/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
      4/27/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      4/27/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      4/27/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 226289 Q1247 Sub Lease         263.91
      4/27/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      4/27/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      4/27/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.71
      4/27/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                       100
      4/27/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      4/27/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 226228 Q1201                   278.76
      4/27/2019    709   DL0029   Owner Operator   Advance                        3/4/19 Clm 73054-1 s/u pmts           233.42
      4/27/2019    709   DL0029   Owner Operator   Advance                        3/4/19 Clm 73054-1 s/u pmts             250
      4/27/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/27/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/27/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      4/27/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      4/27/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.09
      4/27/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.57
      4/27/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.43
      4/27/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.91
      4/27/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.39
      4/27/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.4
      4/27/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.95
      4/27/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                       100
      4/27/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                       100
      4/27/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      4/27/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      4/27/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75

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      4/27/2019    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-4         -803.52
      4/27/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      4/27/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          50.79
      4/27/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      4/27/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                20.18
      4/27/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 225740 Sublease                338.99
      4/27/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      4/27/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/27/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.14
      4/27/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.77
      4/27/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.52
      4/27/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                       100
      4/27/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      4/27/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      4/27/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/27/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      4/27/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/27/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/27/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.57
      4/27/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                           5.57
      4/27/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         657.15
      4/27/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.58
      4/27/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      4/27/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      4/27/2019    709   DS0049   Owner Operator   Tire Fee                       Tire Fee: 2263070                          8
      4/27/2019    709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00400045 - PO System          611.78
      4/27/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      4/27/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      4/27/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      4/27/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-20          447.02
      4/27/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         607.29
      4/27/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         661.74
      4/27/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      4/27/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      4/27/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      4/27/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      4/27/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      4/27/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/27/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/27/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      4/27/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      4/27/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      4/27/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      4/27/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      4/27/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      4/27/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.14
      4/27/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.17
      4/27/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.59
      4/27/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.05
      4/27/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          207.4
      4/27/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                           431
      4/27/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.23
      4/27/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.02
      4/27/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                       100
      4/27/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                       100
      4/27/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      4/27/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      4/27/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/27/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      4/27/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/27/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.71

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      4/27/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.66
      4/27/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.91
      4/27/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.63
      4/27/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.71
      4/27/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      4/27/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      4/27/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      4/27/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      4/27/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      4/27/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.68
      4/27/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.25
      4/27/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.93
      4/27/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                       100
      4/27/2019    709   EG0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         256.29
      4/27/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      4/27/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      4/27/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      4/27/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      4/27/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          409.9
      4/27/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          406.7
      4/27/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.16
      4/27/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           341
      4/27/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                       100
      4/27/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      4/27/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      4/27/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      4/27/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      4/27/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.03
      4/27/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.5
      4/27/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.18
      4/27/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 402.31
      4/27/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                       100
      4/27/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      4/27/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      4/27/2019    709   FS0039   Owner Operator   Tire Purchase                  PO: 709-00397870 - PO System          753.85
      4/27/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 226350 truck lease 3304        434.29
      4/27/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/27/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      4/27/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.96
      4/27/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.75
      4/27/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                      100
      4/27/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      4/27/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/27/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      4/27/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-20              93
      4/27/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-20              93
      4/27/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/27/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                               5
      4/27/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            450
      4/27/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4.5
      4/27/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.05
      4/27/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.27
      4/27/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.69
      4/27/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      4/27/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      4/27/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      4/27/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      4/27/2019    709   GS0015   Owner Operator   Advance                        4/12/19 Clm 73657-1 s/u 250/wk          250
      4/27/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      4/27/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      4/27/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.53
      4/27/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.05
      4/27/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                       100
      4/27/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07

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      4/27/2019    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00396036 - PO System           220.67
      4/27/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 226143 Amortized Balloo         200.15
      4/27/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 226403 Amortized Balloo         200.15
      4/27/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL              8.75
      4/27/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                            8
      4/27/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                              100
      4/27/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                              200
      4/27/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                              200
      4/27/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/27/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/27/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      4/27/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          259.93
      4/27/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          149.37
      4/27/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          394.01
      4/27/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.48
      4/27/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          399.92
      4/27/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          334.05
      4/27/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                         100
      4/27/2019    709   GW0043   Owner Operator   Loan Repayment                 Balance of Loan 3                     1031.79
      4/27/2019    709   GW0043   Owner Operator   Loan Repayment                 EFS 216628, Ln Bal 3                 -3476.22
      4/27/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          252.62
      4/27/2019    709   GW0043   Owner Operator   Loan Repayment                 Rev Conditional Credit / Loan         2187.65
      4/27/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/27/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD              44.11
      4/27/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 226137 Q1109 Lease              302.85
      4/27/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 226347 Missed lease pay         151.41
      4/27/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 226397 Q1109 Lease              302.85
      4/27/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             8.75
      4/27/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                           8
      4/27/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          556.34
      4/27/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                        100
      4/27/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/27/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             35.16
      4/27/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 226230 Q13170                   352.68
      4/27/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                        8.75
      4/27/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                            8
      4/27/2019    709   HG0007   Owner Operator   ESCROW                         Escrow Withdrawal                       -4250
      4/27/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             100
      4/27/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                              200
      4/27/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      4/27/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          495.79
      4/27/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          509.95
      4/27/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          235.64
      4/27/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/27/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        98.05
      4/27/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      4/27/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                            8
      4/27/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          554.43
      4/27/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          573.17
      4/27/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                         100
      4/27/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/27/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    51.57
      4/27/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                     21.35
      4/27/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      4/27/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                            8
      4/27/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.95
      4/27/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.49
      4/27/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          419.27
      4/27/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/27/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.64
      4/27/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      4/27/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      4/27/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      4/27/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                              50
      4/27/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.53
      4/27/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.72
      4/27/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      4/27/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    27.35
      4/27/2019    709   JA0156   Owner Operator   *Arrears Collection W/O        WO:Credit Billing                         -93
      4/27/2019    709   JA0156   Owner Operator   Arrears                        Credit Billing                             93
      4/27/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                     13.98
      4/27/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
      4/27/2019    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                    12.5

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      4/27/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                        13
      4/27/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      4/27/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/27/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/27/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/27/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      4/27/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.53
      4/27/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         11.33
      4/27/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.16
      4/27/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.7
      4/27/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        297.35
      4/27/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                      100
      4/27/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/27/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      4/27/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 226285 Q13197 Lease           276.63
      4/27/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      4/27/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      4/27/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
      4/27/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/27/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      4/27/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      4/27/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/27/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      4/27/2019    709   JG0017   Owner Operator   ESCROW                         Escrow Withdrawal                     -1000
      4/27/2019    709   JG0017   Owner Operator   Express Check                  T-Check Payment                        1000
      4/27/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/27/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            400
      4/27/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
      4/27/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/27/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        416.34
      4/27/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        567.45
      4/27/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
      4/27/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        251.27
      4/27/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/27/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      4/27/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      4/27/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/27/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      4/27/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/27/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      4/27/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        477.84
      4/27/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.6
      4/27/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        280.53
      4/27/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
      4/27/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/27/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      4/27/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      4/27/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      4/27/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      4/27/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/27/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        567.88
      4/27/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                       100
      4/27/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/27/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
      4/27/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      4/27/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      4/27/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.82
      4/27/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 33438                       100
      4/27/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/27/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      4/27/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      4/27/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      4/27/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        444.96
      4/27/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                       100
      4/27/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/27/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      4/27/2019    709   JR0099   Owner Operator   Tire Purchase                  PO: 709-00393035 - PO System          227.1
      4/27/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 226165 Truck Lease            278.76
      4/27/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      4/27/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75

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      4/27/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      4/27/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/27/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.49
      4/27/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.36
      4/27/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.36
      4/27/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.62
      4/27/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.39
      4/27/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                      100
      4/27/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      4/27/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      4/27/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      4/27/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 226345 Q13159 Lease             331.5
      4/27/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/27/2019    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      4/27/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      4/27/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      4/27/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      4/27/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      4/27/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      4/27/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/27/2019    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00395996 - PO System           29.95
      4/27/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      4/27/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      4/27/2019    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      4/27/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      4/27/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/27/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.12
      4/27/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.12
      4/27/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.18
      4/27/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.51
      4/27/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.76
      4/27/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.55
      4/27/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.22
      4/27/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.21
      4/27/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                      100
      4/27/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      4/27/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 226224 Q13156 Lease            388.16
      4/27/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      4/27/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      4/27/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                       100
      4/27/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      4/27/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 226350 Lease Q1111             252.11
      4/27/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      4/27/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      4/27/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         670.05
      4/27/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         805.21
      4/27/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                       100
      4/27/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      4/27/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/27/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      4/27/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.98
      4/27/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.46
      4/27/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.51
      4/27/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           45.8
      4/27/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                       100
      4/27/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      4/27/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      4/27/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      4/27/2019    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-20           201.5
      4/27/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/27/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.47
      4/27/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.16
      4/27/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.48
      4/27/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          105.6

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      4/27/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                       100
      4/27/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      4/27/2019    709   MD0122   Owner Operator   Tire Purchase                  PO: 709-00397209 - PO System          361.54
      4/27/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      4/27/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      4/27/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.26
      4/27/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         568.32
      4/27/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.87
      4/27/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                       100
      4/27/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      4/27/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 226229 Q1113 Lease             252.11
      4/27/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/27/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      4/27/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           403
      4/27/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.12
      4/27/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          384.7
      4/27/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                       100
      4/27/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      4/27/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/27/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/27/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      4/27/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      4/27/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            140
      4/27/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      4/27/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         643.84
      4/27/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                       100
      4/27/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      4/27/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/27/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      4/27/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      4/27/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      4/27/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/27/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/27/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/27/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           281
      4/27/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                       100
      4/27/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      4/27/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      4/27/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      4/27/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      4/27/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      4/27/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      4/27/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              40
      4/27/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            260
      4/27/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.6
      4/27/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      4/27/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.33
      4/27/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.17
      4/27/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                      100
      4/27/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      4/27/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      4/27/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      4/27/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                       100
      4/27/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      4/27/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 226144 Truck 73130 Leas        196.65
      4/27/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 226405 Truck 73130 Leas        196.65
      4/27/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/27/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      4/27/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/27/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.66
      4/27/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.82
      4/27/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.15
      4/27/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      4/27/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      4/27/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 226154 REPAIRS                   250

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      4/27/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      4/27/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      4/27/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      4/27/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         628.85
      4/27/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.35
      4/27/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         581.88
      4/27/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      4/27/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      4/27/2019    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00397047 - PO System           118.4
      4/27/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/27/2019    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      4/27/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      4/27/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/27/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.83
      4/27/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.12
      4/27/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      4/27/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      4/27/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/27/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      4/27/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/27/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      4/27/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/27/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/27/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          495.9
      4/27/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.41
      4/27/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.34
      4/27/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.56
      4/27/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.1
      4/27/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      4/27/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      4/27/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      4/27/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      4/27/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      4/27/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/27/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          600.6
      4/27/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.74
      4/27/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.32
      4/27/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      4/27/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      4/27/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      4/27/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      4/27/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      4/27/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      4/27/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      4/27/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.35
      4/27/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.05
      4/27/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                       100
      4/27/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      4/27/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      4/27/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      4/27/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.71
      4/27/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                       100
      4/27/2019    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         249.81
      4/27/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      4/27/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 226165 Q1202 Truck Leas        278.76
      4/27/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      4/27/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      4/27/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/27/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/27/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         677.84
      4/27/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.99
      4/27/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         667.14
      4/27/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100

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      4/27/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      4/27/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      4/27/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      4/27/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 226228 Q1248                   311.97
      4/27/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      4/27/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      4/27/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/27/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.98
      4/27/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.64
      4/27/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.08
      4/27/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.15
      4/27/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.86
      4/27/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      4/27/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      4/27/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      4/27/2019    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Will Rogers Turnpike           9.2
      4/27/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      4/27/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      4/27/2019    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      4/27/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      4/27/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      4/27/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      4/27/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.96
      4/27/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.02
      4/27/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.78
      4/27/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.99
      4/27/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.83
      4/27/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                       100
      4/27/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         355.71
      4/27/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      4/27/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      4/27/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 225649 Sub Lease                23.02
      4/27/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 225918 Sub Lease               388.33
      4/27/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 226161 Sub Lease               388.33
      4/27/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      4/27/2019    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      4/27/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      4/27/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      4/27/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                          77.95
      4/27/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/27/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.98
      4/27/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.04
      4/27/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.62
      4/27/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.41
      4/27/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      4/27/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      4/27/2019    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00398058 - PO System           202.8
      4/27/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      4/27/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      4/27/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      4/27/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/27/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/27/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.73
      4/27/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.32
      4/27/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      4/27/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      4/27/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      4/27/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-4         -101.68
      4/27/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                       100
      4/27/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      4/27/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      4/27/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/27/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      4/27/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/27/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      4/27/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.91
      4/27/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.35
      4/27/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.03
      4/27/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.07
      4/27/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.22
      4/27/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                       100
      4/27/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      4/27/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      4/27/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 ILTOLL Cermak Rd.                 6.65
      4/27/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/27/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      4/27/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      4/27/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      4/27/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      4/27/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      4/27/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/27/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/27/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/27/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/27/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.66
      4/27/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.3
      4/27/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.37
      4/27/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.13
      4/27/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                       100
      4/27/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      4/27/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 226228 Q1238 Lease             311.97
      4/27/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      4/27/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      4/27/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/27/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/27/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/27/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/27/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.04
      4/27/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.98
      4/27/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      4/27/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      4/27/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      4/27/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      4/27/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.05
      4/27/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.55
      4/27/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.71
      4/27/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.68
      4/27/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.95
      4/27/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                      100
      4/27/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      4/27/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      4/27/2019    742   BS0078   Owner Operator   Tire Fee                       Tire Fee: 2262943                          8
      4/27/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00400012 - PO System           188.8
      4/27/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 226224 Lease of Q13151         388.16
      4/27/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/27/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      4/27/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           540
      4/27/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.1
      4/27/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.48
      4/27/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
      4/27/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      4/27/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/27/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      4/27/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         705.76
      4/27/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         741.93
      4/27/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         618.25
      4/27/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         610.71
      4/27/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                       100
      4/27/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75

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      4/27/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      4/27/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.68
      4/27/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.18
      4/27/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.57
      4/27/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.71
      4/27/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.94
      4/27/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
      4/27/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      4/27/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      4/27/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 226002 Trk 33487 Lease          434.2
      4/27/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 226286 Trk 33487 Lease          434.2
      4/27/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/27/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      4/27/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.02
      4/27/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.02
      4/27/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                       100
      4/27/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      4/27/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/27/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/27/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/27/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/27/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/27/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.73
      4/27/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.61
      4/27/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.11
      4/27/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.6
      4/27/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.98
      4/27/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.2
      4/27/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.18
      4/27/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                       100
      4/27/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                       100
      4/27/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      4/27/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      4/27/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      4/27/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      4/27/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/27/2019    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      4/27/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      4/27/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.05
      4/27/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.76
      4/27/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.86
      4/27/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          127.2
      4/27/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.09
      4/27/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      4/27/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      4/27/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/27/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      4/27/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      4/27/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      4/27/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      4/27/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      4/27/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      4/27/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      4/27/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/27/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         596.77
      4/27/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.6
      4/27/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.21
      4/27/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                       100
      4/27/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      4/27/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/27/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      4/27/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/27/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.58

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      4/27/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.61
      4/27/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.53
      4/27/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.61
      4/27/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.93
      4/27/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                       100
      4/27/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      4/27/2019    742   JS0390   Owner Operator   Toll Charges                   34327 BATA Carquinez Bridge               26
      4/27/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/27/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      4/27/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/27/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                       100
      4/27/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      4/27/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/27/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      4/27/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      4/27/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.15
      4/27/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.95
      4/27/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           80.6
      4/27/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.97
      4/27/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                       100
      4/27/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      4/27/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      4/27/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      4/27/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      4/27/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      4/27/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      4/27/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      4/27/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.78
      4/27/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.54
      4/27/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.18
      4/27/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                           323
      4/27/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                       100
      4/27/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      4/27/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      4/27/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 226194 repair                    250
      4/27/2019    742   OS0018   Owner Operator   Broker Pre Pass                DriveWyze TRK34147                      9.84
      4/27/2019    742   OS0018   Owner Operator   Communication Charge           PNet Hware 34147                          13
      4/27/2019    742   OS0018   Owner Operator   ESCROW                         Weekly Escrow                          77.06
      4/27/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      4/27/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      4/27/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/27/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/27/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/27/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/27/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.5
      4/27/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.16
      4/27/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.36
      4/27/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.08
      4/27/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.19
      4/27/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.59
      4/27/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.71
      4/27/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                       100
      4/27/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      4/27/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      4/27/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/27/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.13
      4/27/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.22
      4/27/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                      100
      4/27/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      4/27/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      4/27/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 226005 Tractor Lease           353.28
      4/27/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 226289 Tractor Lease           353.28
      4/27/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      4/27/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      4/27/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.47
      4/27/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.53
      4/27/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.04

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      4/27/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.06
      4/27/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                       100
      4/27/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      4/27/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      4/27/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/27/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      4/27/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      4/27/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      4/27/2019    742   SK0049   Owner Operator   Repair Order                   CTMS - 226246 repair                   202.5
      4/27/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      4/27/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      4/27/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/27/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.93
      4/27/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.1
      4/27/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.42
      4/27/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.07
      4/27/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.98
      4/27/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.34
      4/27/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.76
      4/27/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                       100
      4/27/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      4/27/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      4/27/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 226224 33489 Lease Paym        412.16
      4/27/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/27/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      4/27/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.77
      4/27/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.39
      4/27/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                       100
      4/27/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      4/27/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/27/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      4/27/2019    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      4/27/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      4/27/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          612.5
      4/27/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/27/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      4/27/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       5/4/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       5/4/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       5/4/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
       5/4/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/4/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.71
       5/4/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.03
       5/4/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.39
       5/4/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.87
       5/4/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                      100
       5/4/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.93
       5/4/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
       5/4/2019    709   AC0061   Owner Operator   Toll Charges                   Q13148 KTA Topeka:I-470W                   7
       5/4/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 226696 Q13148 Trac Leas        296.09
       5/4/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       5/4/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       5/4/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       5/4/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          514.7
       5/4/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                      100
       5/4/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
       5/4/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       5/4/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       5/4/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       5/4/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       5/4/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       5/4/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       5/4/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           295
       5/4/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           303
       5/4/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.85

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       5/4/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                      100
       5/4/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
       5/4/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       5/4/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 226638 Q13147 Lease            440.14
       5/4/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       5/4/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       5/4/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       5/4/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       5/4/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       5/4/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.88
       5/4/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          64.37
       5/4/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.73
       5/4/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.68
       5/4/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.12
       5/4/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 120.78
       5/4/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                      100
       5/4/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
       5/4/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       5/4/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 226652 Q13169 Sublease         352.68
       5/4/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       5/4/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       5/4/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       5/4/2019    709   CC0134   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-27           75.02
       5/4/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
       5/4/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       5/4/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.14
       5/4/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.45
       5/4/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.31
       5/4/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.01
       5/4/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.76
       5/4/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
       5/4/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
       5/4/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
       5/4/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       5/4/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 226529 Q13168 sub lease        352.68
       5/4/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       5/4/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.94
       5/4/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.21
       5/4/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
       5/4/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
       5/4/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
       5/4/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       5/4/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/4/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/4/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       5/4/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       5/4/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       5/4/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       5/4/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       5/4/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.92
       5/4/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.94
       5/4/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.72
       5/4/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.24
       5/4/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.95
       5/4/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
       5/4/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
       5/4/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       5/4/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
       5/4/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       5/4/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
       5/4/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.01
       5/4/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 226590 Q1247 Sub Lease          95.14
       5/4/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       5/4/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       5/4/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       5/4/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.62
       5/4/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                       100
       5/4/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
       5/4/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       5/4/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 226529 Q1201                   278.76
       5/4/2019    709   DL0029   Owner Operator   Advance                        3/4/19 Clm 73054-1 s/u pmts             250
       5/4/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/4/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/4/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       5/4/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.82
       5/4/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           379
       5/4/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.96
       5/4/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           246
       5/4/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           397
       5/4/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          253.6
       5/4/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                       100
       5/4/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
       5/4/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       5/4/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                       100
       5/4/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                       48.5
       5/4/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          301.8
       5/4/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       5/4/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       5/4/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/4/2019    709   DM0257   Owner Operator   Fuel Card Advances             Cash Advance                            400
       5/4/2019    709   DM0257   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
       5/4/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.13
       5/4/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.66
       5/4/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.64
       5/4/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                       100
       5/4/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       5/4/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       5/4/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       5/4/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       5/4/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       5/4/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         650.87
       5/4/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.03
       5/4/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.74
       5/4/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
       5/4/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
       5/4/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       5/4/2019    709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00400045 - PO System          611.78
       5/4/2019    709   DS0049   Owner Operator   Toll Charges                   32915 Bay Bridge 17                       26
       5/4/2019    709   DS0049   Owner Operator   Toll Charges                   32915 Bay Bridge 17                       26
       5/4/2019    709   DS0049   Owner Operator   Toll Charges                   32915 San Mateo 4                         26
       5/4/2019    709   DS0049   Owner Operator   Toll Charges                   32915/TL0212 Bay Bridge 17                 5
       5/4/2019    709   DS0049   Owner Operator   Toll Charges                   32915/TL9206 Bay Bridge 18                26
       5/4/2019    709   DS0049   Owner Operator   Toll Charges                   32915/TL9207 Bay Bridge 17                26
       5/4/2019    709   DS0049   Owner Operator   Toll Charges                   32915/TL9207 Bay Bridge 17                26
       5/4/2019    709   DS0049   Owner Operator   Toll Charges                   32915/TL9209 Bay Bridge 17                26
       5/4/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       5/4/2019    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       5/4/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       5/4/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75

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       5/4/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       5/4/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         620.34
       5/4/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
       5/4/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       5/4/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       5/4/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       5/4/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       5/4/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/4/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       5/4/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       5/4/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       5/4/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       5/4/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.45
       5/4/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.48
       5/4/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.27
       5/4/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.01
       5/4/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                       100
       5/4/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.18
       5/4/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
       5/4/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       5/4/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       5/4/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.58
       5/4/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.94
       5/4/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.25
       5/4/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
       5/4/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       5/4/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       5/4/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       5/4/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       5/4/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       5/4/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       5/4/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         699.84
       5/4/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                       100
       5/4/2019    709   EG0062   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.94
       5/4/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
       5/4/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       5/4/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       5/4/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       5/4/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       5/4/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       5/4/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       5/4/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.99
       5/4/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.64
       5/4/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.29
       5/4/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.07
       5/4/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           331
       5/4/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                       100
       5/4/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
       5/4/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       5/4/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       5/4/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       5/4/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       5/4/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       5/4/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       5/4/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/4/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/4/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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       5/4/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/4/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.25
       5/4/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.36
       5/4/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           425
       5/4/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                  433.8
       5/4/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                       100
       5/4/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
       5/4/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
       5/4/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       5/4/2019    709   FS0039   Owner Operator   Tire Purchase                  PO: 709-00397870 - PO System          753.81
       5/4/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 226652 truck lease 3304        434.29
       5/4/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/4/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/4/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       5/4/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.75
       5/4/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                      100
       5/4/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
       5/4/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
       5/4/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/4/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/4/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
       5/4/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/4/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            450
       5/4/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                              50
       5/4/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       5/4/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4.5
       5/4/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.05
       5/4/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          462.5
       5/4/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
       5/4/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
       5/4/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
       5/4/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       5/4/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       5/4/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
       5/4/2019    709   GS0015   Owner Operator   Advance                        4/12/19 Clm 73657-1 s/u 250/wk          250
       5/4/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       5/4/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       5/4/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       5/4/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          455.2
       5/4/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                       100
       5/4/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
       5/4/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       5/4/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 226696 Amortized Balloo        200.15
       5/4/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       5/4/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       5/4/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       5/4/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.34
       5/4/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.11
       5/4/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.89
       5/4/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.26
       5/4/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.99
       5/4/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                       100
       5/4/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         252.62
       5/4/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       5/4/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       5/4/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 226690 Q1109 Lease             302.85
       5/4/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75

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       5/4/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       5/4/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       5/4/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.45
       5/4/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.53
       5/4/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.35
       5/4/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                      100
       5/4/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       5/4/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
       5/4/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 226530 Q13170                  352.68
       5/4/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       5/4/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       5/4/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
       5/4/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           100
       5/4/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.08
       5/4/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.95
       5/4/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.57
       5/4/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.04
       5/4/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
       5/4/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       5/4/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       5/4/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       5/4/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       5/4/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/4/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/4/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.99
       5/4/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.5
       5/4/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.07
       5/4/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         795.05
       5/4/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.3
       5/4/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                       100
       5/4/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                       100
       5/4/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                       100
       5/4/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          38.56
       5/4/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       5/4/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       5/4/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
       5/4/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       5/4/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/4/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/4/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
       5/4/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.04
       5/4/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.13
       5/4/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                       100
       5/4/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
       5/4/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
       5/4/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
       5/4/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       5/4/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       5/4/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.56
       5/4/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.27
       5/4/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       5/4/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       5/4/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/4/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/4/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       5/4/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       5/4/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
       5/4/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50

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       5/4/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.58
       5/4/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
       5/4/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
       5/4/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
       5/4/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       5/4/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       5/4/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       5/4/2019    709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 226565 709052423. Hyd f        -25.28
       5/4/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       5/4/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       5/4/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.64
       5/4/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.29
       5/4/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          407.7
       5/4/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          456.7
       5/4/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.75
       5/4/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.04
       5/4/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                      100
       5/4/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       5/4/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
       5/4/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 226586 Q13197 Lease            276.63
       5/4/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       5/4/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       5/4/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
       5/4/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/4/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
       5/4/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
       5/4/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       5/4/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       5/4/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       5/4/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            400
       5/4/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
       5/4/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         642.06
       5/4/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.75
       5/4/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.21
       5/4/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
       5/4/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         251.27
       5/4/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.85
       5/4/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       5/4/2019    709   JG0017   Owner Operator   Tire Fee                       Tire Fee: 2265628                         16
       5/4/2019    709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00399194 - PO System           365.2
       5/4/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       26
       5/4/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       26
       5/4/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       5/4/2019    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       5/4/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       5/4/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       5/4/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       5/4/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.64
       5/4/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.79
       5/4/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.12
       5/4/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
       5/4/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       5/4/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       5/4/2019    709   JG0072   Owner Operator   Tire Fee                       Tire Fee: 2265663                          4
       5/4/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00401262 - PO System           97.66
       5/4/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       5/4/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75

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       5/4/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       5/4/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       5/4/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.54
       5/4/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          384.4
       5/4/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                       100
       5/4/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
       5/4/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
       5/4/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       5/4/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       5/4/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       5/4/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.33
       5/4/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.62
       5/4/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 33438                       100
       5/4/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
       5/4/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       5/4/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       5/4/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       5/4/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       5/4/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.01
       5/4/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                       100
       5/4/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       5/4/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
       5/4/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 226462 Truck Lease             278.76
       5/4/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       5/4/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       5/4/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       5/4/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       5/4/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
       5/4/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       5/4/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.33
       5/4/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.66
       5/4/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.18
       5/4/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.72
       5/4/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                      100
       5/4/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       5/4/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
       5/4/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       5/4/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       5/4/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
       5/4/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.22
       5/4/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 226647 Q13159 Lease             331.5
       5/4/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       5/4/2019    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-11        -610.29
       5/4/2019    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                    -902.18
       5/4/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       5/4/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       5/4/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/4/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/4/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/4/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/4/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/4/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/4/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.86
       5/4/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           490
       5/4/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.01
       5/4/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
       5/4/2019    709   KP0004   Owner Operator   Loan Repayment                 Conditional Credit / Loan           -7616.45

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       5/4/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.32
       5/4/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.32
       5/4/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       5/4/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       5/4/2019    709   KP0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                        75.41
       5/4/2019    709   KP0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                         4.86
       5/4/2019    709   KP0004   Owner Operator   T Chek Fee                     Tractor Repair 32914                   486.25
       5/4/2019    709   KP0004   Owner Operator   T Chek Fee                     Tractor Repair 32914                  7541.04
       5/4/2019    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00395996 - PO System            62.35
       5/4/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                          519.59
       5/4/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL             8.75
       5/4/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL             8.75
       5/4/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                           8
       5/4/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                              50
       5/4/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.15
       5/4/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.23
       5/4/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          417.69
       5/4/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          471.79
       5/4/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                       100
       5/4/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD             42.18
       5/4/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD             42.19
       5/4/2019    709   KT0055   Owner Operator   Toll Charges                   Q13156 Carquinez Bridge 10                 26
       5/4/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 226524 Q13156 Lease             388.16
       5/4/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
       5/4/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
       5/4/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                            8
       5/4/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                        100
       5/4/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              39.04
       5/4/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              39.07
       5/4/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 226652 Lease Q1111              252.11
       5/4/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                    8.75
       5/4/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                    8.75
       5/4/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                           13
       5/4/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
       5/4/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
       5/4/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       5/4/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       5/4/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          612.98
       5/4/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          700.19
       5/4/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                        100
       5/4/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                    57.01
       5/4/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                    57.04
       5/4/2019    709   LS0023   Owner Operator   Toll Charges                   33655 BATA San Mateo                       26
       5/4/2019    709   MA0092   Owner Operator   Accident Claim                 11/20/18 MA0092 Incident              1760.56
       5/4/2019    709   MA0092   Owner Operator   Advance                        11/20/18 Clm 71756 s/u pmts          -1760.56
       5/4/2019    709   MA0092   Owner Operator   Advance                        11/20/18 Clm 71756-1 s/u pmts            250
       5/4/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
       5/4/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
       5/4/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                            8
       5/4/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          432.75
       5/4/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                            452
       5/4/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                        100
       5/4/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       49.68
       5/4/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       49.69
       5/4/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
       5/4/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
       5/4/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                            8
       5/4/2019    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-11          -70.07
       5/4/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            100
       5/4/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.96
       5/4/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                           260.3
       5/4/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          203.16
       5/4/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                        100
       5/4/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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       5/4/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
       5/4/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
       5/4/2019    709   MD0122   Owner Operator   Tire Purchase                  PO: 709-00397209 - PO System           361.5
       5/4/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       5/4/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       5/4/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       5/4/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.82
       5/4/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.94
       5/4/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.65
       5/4/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                       100
       5/4/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
       5/4/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       5/4/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 226529 Q1113 Lease             252.11
       5/4/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       5/4/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       5/4/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       5/4/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.48
       5/4/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                       100
       5/4/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       5/4/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
       5/4/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       5/4/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       5/4/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       5/4/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       5/4/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       5/4/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
       5/4/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              40
       5/4/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
       5/4/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.95
       5/4/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                       100
       5/4/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
       5/4/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.76
       5/4/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       5/4/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       5/4/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       5/4/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       5/4/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       5/4/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       5/4/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
       5/4/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         206.07
       5/4/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/4/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/4/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          608.6
       5/4/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.14
       5/4/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                       100
       5/4/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       5/4/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
       5/4/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       5/4/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       5/4/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
       5/4/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
       5/4/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       5/4/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       5/4/2019    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       5/4/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       5/4/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       5/4/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       5/4/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              60
       5/4/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       5/4/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          399.9
       5/4/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.8
       5/4/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                      100
       5/4/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       5/4/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       5/4/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
       5/4/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       5/4/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       5/4/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       5/4/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                       100
       5/4/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       5/4/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       5/4/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 226698 Truck 73130 Leas        196.65
       5/4/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/4/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/4/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       5/4/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/4/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.48
       5/4/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.67
       5/4/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
       5/4/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
       5/4/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
       5/4/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 226450 REPAIRS                   250
       5/4/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
       5/4/2019    709   RB0170   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
       5/4/2019    709   RB0170   Owner Operator   T Chek Fee                     School Checks (Corp)                    300
       5/4/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       5/4/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       5/4/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       5/4/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.56
       5/4/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.43
       5/4/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         642.56
       5/4/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
       5/4/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       5/4/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       5/4/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       5/4/2019    709   RC0030   Owner Operator   Tire Purchase                  PO: 709-00397047 - PO System          118.35
       5/4/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       5/4/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       5/4/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.67
       5/4/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.24
       5/4/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
       5/4/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
       5/4/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       5/4/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/4/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/4/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       5/4/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       5/4/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.57
       5/4/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.91
       5/4/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.91
       5/4/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.87
       5/4/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
       5/4/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
       5/4/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       5/4/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       5/4/2019    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       5/4/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75

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       5/4/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       5/4/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       5/4/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
       5/4/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         699.92
       5/4/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
       5/4/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
       5/4/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
       5/4/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       5/4/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       5/4/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       5/4/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
       5/4/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       5/4/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       5/4/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       5/4/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       5/4/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.89
       5/4/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.31
       5/4/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                       100
       5/4/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       5/4/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       5/4/2019    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       5/4/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       5/4/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       5/4/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       5/4/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.49
       5/4/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.73
       5/4/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                       100
       5/4/2019    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         248.62
       5/4/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       5/4/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
       5/4/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 226462 Q1202 Truck Leas        278.76
       5/4/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       5/4/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       5/4/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       5/4/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         687.77
       5/4/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100
       5/4/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
       5/4/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
       5/4/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       5/4/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       5/4/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       5/4/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 226529 Q1248                   311.97
       5/4/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       5/4/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       5/4/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       5/4/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       5/4/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.57
       5/4/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.45
       5/4/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.18
       5/4/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.37
       5/4/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.95
       5/4/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.46
       5/4/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.25
       5/4/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.34
       5/4/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.47
       5/4/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.84
       5/4/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
       5/4/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
       5/4/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       5/4/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       5/4/2019    709   SB0009   Owner Operator   Toll Charges                   33236 HCTRA Sam Houston - Sout             7

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       5/4/2019    709   SB0009   Owner Operator   Toll Charges                   33236 HCTRA Sam Houston - Sout           3.5
       5/4/2019    709   SB0009   Owner Operator   Toll Charges                   33236 HCTRA Sam Houston - Sout           3.5
       5/4/2019    709   SB0009   Owner Operator   Toll Charges                   33236 HCTRA Ship Channel Bridg           3.5
       5/4/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       5/4/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       5/4/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       5/4/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       5/4/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.47
       5/4/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.32
       5/4/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.95
       5/4/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.75
       5/4/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                        100
       5/4/2019    709   SB0103   Owner Operator   Loan Repayment                 Balance of Loan 3                    4548.62
       5/4/2019    709   SB0103   Owner Operator   Loan Repayment                 EFS 217350, Ln Bal 3                   -5983
       5/4/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
       5/4/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       5/4/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       5/4/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       5/4/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       5/4/2019    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        14.2
       5/4/2019    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                 1420.18
       5/4/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 226459 Sub Lease               388.33
       5/4/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            545
       5/4/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.7
       5/4/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                         102.04
       5/4/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       5/4/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       5/4/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       5/4/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
       5/4/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             200
       5/4/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/4/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.23
       5/4/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.84
       5/4/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.08
       5/4/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.39
       5/4/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       5/4/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       5/4/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       5/4/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       5/4/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       5/4/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-27          101.68
       5/4/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.26
       5/4/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         580.33
       5/4/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                        100
       5/4/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       5/4/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       5/4/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/4/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/4/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
       5/4/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
       5/4/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/4/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.05
       5/4/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.94
       5/4/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.59
       5/4/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                        100
       5/4/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       5/4/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
       5/4/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       5/4/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       5/4/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       5/4/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25

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       5/4/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       5/4/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       5/4/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       5/4/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       5/4/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       5/4/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       5/4/2019    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-11        -971.96
       5/4/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.89
       5/4/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.03
       5/4/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                       100
       5/4/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       5/4/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       5/4/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 226529 Q1238 Lease             311.97
       5/4/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       5/4/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       5/4/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       5/4/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/4/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/4/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/4/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/4/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/4/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/4/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.22
       5/4/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.68
       5/4/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.42
       5/4/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.06
       5/4/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
       5/4/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       5/4/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       5/4/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       5/4/2019    742   AP0047   Owner Operator   Tire Fee                       Tire Fee: 2265638                          8
       5/4/2019    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00400868 - PO System          207.89
       5/4/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       5/4/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       5/4/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
       5/4/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.77
       5/4/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.3
       5/4/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.22
       5/4/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                      100
       5/4/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
       5/4/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       5/4/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
       5/4/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       5/4/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00400012 - PO System           188.8
       5/4/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 226525 Lease of Q13151         388.16
       5/4/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       5/4/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       5/4/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       5/4/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       5/4/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       5/4/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.79
       5/4/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.4
       5/4/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         634.78
       5/4/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
       5/4/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
       5/4/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       5/4/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
       5/4/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       5/4/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       5/4/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
       5/4/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       5/4/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
       5/4/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       5/4/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/4/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/4/2019    742   DA0067   Owner Operator   Repair Order                   CTMS - 226738 Trailer Repair         -260.81
       5/4/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
       5/4/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
       5/4/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
       5/4/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
       5/4/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       5/4/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.29
       5/4/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                       100
       5/4/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       5/4/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       5/4/2019    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 226673 trailer wash               -40
       5/4/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       5/4/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          478.3
       5/4/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.83
       5/4/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.65
       5/4/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
       5/4/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
       5/4/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       5/4/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       5/4/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       5/4/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 9                  16
       5/4/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Hardy North - Rich             5
       5/4/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Hardy South - Barr             7
       5/4/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Sout           3.5
       5/4/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 226587 Trk 33487 Lease          434.2
       5/4/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/4/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/4/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       5/4/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          288.4
       5/4/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.93
       5/4/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.77
       5/4/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.97
       5/4/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.37
       5/4/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                       100
       5/4/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       5/4/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       5/4/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       5/4/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       5/4/2019    742   EA0039   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.76
       5/4/2019    742   EA0039   Owner Operator   T Chek Fee                     Tractor Repair 33993                   176.4
       5/4/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       5/4/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       5/4/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       5/4/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.39
       5/4/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.04
       5/4/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                       100
       5/4/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
       5/4/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       5/4/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       5/4/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       5/4/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       5/4/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          124.5
       5/4/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.67
       5/4/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.33
       5/4/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.18
       5/4/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.56
       5/4/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.92

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       5/4/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
       5/4/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       5/4/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       5/4/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       5/4/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       5/4/2019    742   EN0016   Owner Operator   Repair Order                   TRACTOR 32947                          45.73
       5/4/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       5/4/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                8.75
       5/4/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                8.75
       5/4/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                          13
       5/4/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
       5/4/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       5/4/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro            2.5
       5/4/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro            2.5
       5/4/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                   8.75
       5/4/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                   8.75
       5/4/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                           13
       5/4/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                              50
       5/4/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         686.04
       5/4/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                        100
       5/4/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
       5/4/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       5/4/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       5/4/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       5/4/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                            8
       5/4/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                              50
       5/4/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.88
       5/4/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.32
       5/4/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.34
       5/4/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                        100
       5/4/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
       5/4/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.18
       5/4/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
       5/4/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
       5/4/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                           13
       5/4/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                              50
       5/4/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                        100
       5/4/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                              75
       5/4/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                              75
       5/4/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
       5/4/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
       5/4/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL Cermak Rd.                  6.65
       5/4/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL Irving Park                 6.65
       5/4/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL Joliet Rd.                   2.5
       5/4/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL Waukegan                    12.5
       5/4/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                   8.75
       5/4/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                   8.75
       5/4/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                           13
       5/4/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-11           -77.5
       5/4/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.64
       5/4/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.88
       5/4/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.07
       5/4/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.98
       5/4/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                        100
       5/4/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
       5/4/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       5/4/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris            2.5
       5/4/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris            2.5
       5/4/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge                26
       5/4/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge                26
       5/4/2019    742   NG0024   Owner Operator   Advance                        EFS 216828 s/u 8 wks                   237.5
       5/4/2019    742   NG0024   Owner Operator   Advance                        EFS 216828 s/u 8 wks                   -1900
       5/4/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75

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       5/4/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       5/4/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       5/4/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.19
       5/4/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.01
       5/4/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.37
       5/4/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                       100
       5/4/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       5/4/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
       5/4/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       5/4/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       5/4/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 226610 repair                      65
       5/4/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 226611 repair                    250
       5/4/2019    742   NG0024   Owner Operator   T Chek Fee                     EFS 216828                             1900
       5/4/2019    742   NG0024   Owner Operator   T Chek Fee                     EFS 216828 Fee                            19
       5/4/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
       5/4/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       5/4/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       5/4/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/4/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       5/4/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       5/4/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/4/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/4/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/4/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/4/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.37
       5/4/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.51
       5/4/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.08
       5/4/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.96
       5/4/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.49
       5/4/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.76
       5/4/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.7
       5/4/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.75
       5/4/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
       5/4/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
       5/4/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.01
       5/4/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.01
       5/4/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       5/4/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
       5/4/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       5/4/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       5/4/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       5/4/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       5/4/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       5/4/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       5/4/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/4/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/4/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.73
       5/4/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.69
       5/4/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.95
       5/4/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.59
       5/4/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                       100
       5/4/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/4/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       5/4/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
       5/4/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 12                 26
       5/4/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 12                 26
       5/4/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 12                 26
       5/4/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 12                 26
       5/4/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 12                 26
       5/4/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       5/4/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       5/4/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       5/4/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.02
       5/4/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.42
       5/4/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.86
       5/4/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.27
       5/4/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.75
       5/4/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                      100

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       5/4/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             35.15
       5/4/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             35.16
       5/4/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
       5/4/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
       5/4/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 226591 Tractor Lease            353.28
       5/4/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       8.75
       5/4/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       8.75
       5/4/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                           13
       5/4/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                           240.5
       5/4/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.33
       5/4/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                           352.1
       5/4/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                        100
       5/4/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                      143.21
       5/4/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                      143.18
       5/4/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism               2.5
       5/4/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism               2.5
       5/4/2019    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Sam Houston - NE M           8.75
       5/4/2019    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Ship Channel Bridg              7
       5/4/2019    742   RS0342   Owner Operator   Toll Charges                   33738 ILTOLL Joliet Rd.                   2.5
       5/4/2019    742   RS0342   Owner Operator   Toll Charges                   33738 ILTOLL Joliet Rd.                   2.5
       5/4/2019    742   RS0342   Owner Operator   Toll Charges                   33738 ILTOLL Willow Rd. South            8.35
       5/4/2019    742   RS0342   Owner Operator   Toll Charges                   33738 ILTOLL Willow Rd. South            8.35
       5/4/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
       5/4/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
       5/4/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
       5/4/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-11        -6009.07
       5/4/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                        58.6
       5/4/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.58
       5/4/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
       5/4/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
       5/4/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL              8.75
       5/4/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL              8.75
       5/4/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                            8
       5/4/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                              50
       5/4/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          436.15
       5/4/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          331.79
       5/4/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          449.71
       5/4/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          423.41
       5/4/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          475.71
       5/4/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                        100
       5/4/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD              67.19
       5/4/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD              67.18
       5/4/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter            2.5
       5/4/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter            2.5
       5/4/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 226525 33489 Lease Paym         412.16
       5/4/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
       5/4/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
       5/4/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
       5/4/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.52
       5/4/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                        100
       5/4/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/4/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
       5/4/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
       5/4/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
       5/4/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
       5/4/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge                26
      5/11/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL             8.75
      5/11/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                           8
      5/11/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/11/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          535.54
      5/11/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.65
      5/11/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                       100
      5/11/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/11/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             35.94

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      5/11/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      5/11/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      5/11/2019    709   AN0007   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            85.35
      5/11/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                      100
      5/11/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      5/11/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      5/11/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      5/11/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      5/11/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.93
      5/11/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.95
      5/11/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.93
      5/11/2019    709   AR0064   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           297.25
      5/11/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                      100
      5/11/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      5/11/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 226918 Q13147 Lease            440.14
      5/11/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      5/11/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      5/11/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      5/11/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      5/11/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      5/11/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.77
      5/11/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.32
      5/11/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.51
      5/11/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.56
      5/11/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      5/11/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.23
      5/11/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.56
      5/11/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.25
      5/11/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.53
      5/11/2019    709   AV0021   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax             1.52
      5/11/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 186.93
      5/11/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                      100
      5/11/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      5/11/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 226933 Q13169 Sublease         352.68
      5/11/2019    709   BM0030   Owner Operator   Arrears                        Credit Billing                        129.58
      5/11/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/11/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/11/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/11/2019    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      5/11/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      5/11/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      5/11/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      5/11/2019    709   BM0030   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           563.05
      5/11/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                       100
      5/11/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                       100
      5/11/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          26.67
      5/11/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      5/11/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      5/11/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      5/11/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      5/11/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/11/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/11/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/11/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/11/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      5/11/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      5/11/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/11/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/11/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.07
      5/11/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         600.55
      5/11/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.46
      5/11/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.57
      5/11/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.52
      5/11/2019    709   CC0134   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           -115.8
      5/11/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
      5/11/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      5/11/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/11/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      5/11/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 226810 Q13168 sub lease        352.68
      5/11/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/11/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      5/11/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          624.4
      5/11/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.13
      5/11/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      5/11/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
      5/11/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      5/11/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/11/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      5/11/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      5/11/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      5/11/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      5/11/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      5/11/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      5/11/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      5/11/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.01
      5/11/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.36
      5/11/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.27
      5/11/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           108
      5/11/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.77
      5/11/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.01
      5/11/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.34
      5/11/2019    709   CR0064   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            39.26
      5/11/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
      5/11/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
      5/11/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   CR0064   Owner Operator   Permits1                       ID06:2019 - Q1247                         11
      5/11/2019    709   CR0064   Owner Operator   Permits1                       IL02:2019 - Q1247                       3.75
      5/11/2019    709   CR0064   Owner Operator   Permits1                       NM07:2019 - Q1247                         10
      5/11/2019    709   CR0064   Owner Operator   Permits1                       NY13:2019 - Q1247                        1.5
      5/11/2019    709   CR0064   Owner Operator   Permits1                       OR16:2019 - Q1247                        8.5
      5/11/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      5/11/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      5/11/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 226590 Q1247 Sub Lease         168.77
      5/11/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 226870 Q1247 Sub Lease         263.91
      5/11/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      5/11/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      5/11/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.28
      5/11/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                       100
      5/11/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      5/11/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 226809 Q1201                   278.76
      5/11/2019    709   DL0029   Owner Operator   Advance                        3/4/19 Clm 73054-1 s/u pmts             250
      5/11/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/11/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      5/11/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.54
      5/11/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.64
      5/11/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.27
      5/11/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.17
      5/11/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.37
      5/11/2019    709   DL0029   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           210.16
      5/11/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                       100
      5/11/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      5/11/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      5/11/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      5/11/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      5/11/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      5/11/2019    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      5/11/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      5/11/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      5/11/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      5/11/2019    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 4-27          803.52
      5/11/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/11/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/11/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.59

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      5/11/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.78
      5/11/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.18
      5/11/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.95
      5/11/2019    709   DL0107   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           761.38
      5/11/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                       100
      5/11/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                       51.5
      5/11/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                       100
      5/11/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         333.82
      5/11/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      5/11/2019    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         352.59
      5/11/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      5/11/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      5/11/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      5/11/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      5/11/2019    709   DL0107   Owner Operator   Toll Charges                   Q1245 PTC Toll 376 - East 30             2.8
      5/11/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 226591 Sublease                338.99
      5/11/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 226871 Sublease                338.99
      5/11/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      5/11/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/11/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.76
      5/11/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.29
      5/11/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.47
      5/11/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.06
      5/11/2019    709   DM0257   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           454.72
      5/11/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                       100
      5/11/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      5/11/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      5/11/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/11/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      5/11/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         743.02
      5/11/2019    709   DS0049   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            -30.1
      5/11/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      5/11/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      5/11/2019    709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00400045 - PO System          611.78
      5/11/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      5/11/2019    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/11/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      5/11/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      5/11/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         652.51
      5/11/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      5/11/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      5/11/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      5/11/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/11/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      5/11/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      5/11/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.21
      5/11/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.16
      5/11/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.57
      5/11/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.55
      5/11/2019    709   DS0288   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           107.33
      5/11/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                       100
      5/11/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      5/11/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/11/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      5/11/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/11/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         763.04
      5/11/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         693.36
      5/11/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.62
      5/11/2019    709   EA0003   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           220.89
      5/11/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      5/11/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/11/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      5/11/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      5/11/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      5/11/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      5/11/2019    709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-18         -70.98
      5/11/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         695.42
      5/11/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                       100
      5/11/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      5/11/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      5/11/2019    709   EO0014   Owner Operator   Advance                        Rmbrs EFS 208332 chgd in error       -250.05
      5/11/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      5/11/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      5/11/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           464
      5/11/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           413
      5/11/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                             32
      5/11/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           387
      5/11/2019    709   EO0014   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           447.83
      5/11/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                       100
      5/11/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      5/11/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      5/11/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      5/11/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      5/11/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/11/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/11/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           264
      5/11/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.97
      5/11/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.04
      5/11/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.98
      5/11/2019    709   FS0039   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            301.2
      5/11/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 312.92
      5/11/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                       100
      5/11/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      5/11/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      5/11/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 226932 truck lease 3304        434.29
      5/11/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/11/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      5/11/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.81
      5/11/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.89
      5/11/2019    709   FV0001   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            49.04
      5/11/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                      100
      5/11/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      5/11/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/11/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      5/11/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/11/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.05
      5/11/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      5/11/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      5/11/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      5/11/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      5/11/2019    709   GS0015   Owner Operator   Advance                        4/12/19 Clm 73657-1 s/u 250/wk          250
      5/11/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      5/11/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      5/11/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.62
      5/11/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                       100
      5/11/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      5/11/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 226989 Amortized Balloo        200.15
      5/11/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      5/11/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      5/11/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/11/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      5/11/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/11/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.88
      5/11/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.69
      5/11/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           246
      5/11/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.69
      5/11/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.13
      5/11/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.71
      5/11/2019    709   GW0043   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            87.36
      5/11/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                       100
      5/11/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         252.62
      5/11/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      5/11/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      5/11/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      5/11/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.88
      5/11/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.32
      5/11/2019    709   HC0023   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            96.69
      5/11/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                      100
      5/11/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      5/11/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 226810 Q13170                  352.68
      5/11/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      5/11/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      5/11/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/11/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           806
      5/11/2019    709   HG0007   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            -70.8
      5/11/2019    709   HG0007   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            62.44
      5/11/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                       100
      5/11/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   HG0007   Owner Operator   Permits                        NY13:2019 - 34565                        1.5
      5/11/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      5/11/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/11/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      5/11/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/11/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/11/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.64
      5/11/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.67
      5/11/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.17
      5/11/2019    709   HG0027   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           108.21
      5/11/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                       100
      5/11/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      5/11/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/11/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      5/11/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          622.8
      5/11/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.96
      5/11/2019    709   IA0007   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           122.57
      5/11/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                       100
      5/11/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      5/11/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      5/11/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/11/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      5/11/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.48
      5/11/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.76
      5/11/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      5/11/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/11/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/11/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      5/11/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/11/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.01
      5/11/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      5/11/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      5/11/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      5/11/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      5/11/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      5/11/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      5/11/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
      5/11/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      5/11/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/11/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.14
      5/11/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.26
      5/11/2019    709   JC0292   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax          220.95
      5/11/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                     100
      5/11/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/11/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      5/11/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 226867 Q13197 Lease           276.63
      5/11/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      5/11/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      5/11/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
      5/11/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/11/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      5/11/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      5/11/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/11/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      5/11/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           400
      5/11/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
      5/11/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        500.58
      5/11/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        425.18
      5/11/2019    709   JG0017   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           29.54
      5/11/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
      5/11/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        251.27
      5/11/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/11/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      5/11/2019    709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00399194 - PO System          365.2
      5/11/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      5/11/2019    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      5/11/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/11/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      5/11/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      5/11/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      5/11/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.7
      5/11/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          271
      5/11/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        492.76
      5/11/2019    709   JG0072   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax          279.57
      5/11/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
      5/11/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/11/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      5/11/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00401262 - PO System          97.66
      5/11/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      5/11/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/11/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      5/11/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        249.02
      5/11/2019    709   JG0092   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           30.98
      5/11/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                      100
      5/11/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/11/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
      5/11/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      5/11/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      5/11/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.94
      5/11/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 33438                      100
      5/11/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/11/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      5/11/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      5/11/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      5/11/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        431.17
      5/11/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                      100
      5/11/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/11/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      5/11/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 226768 Truck Lease            278.76
      5/11/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      5/11/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75
      5/11/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                         8
      5/11/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      5/11/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/11/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/11/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        214.49
      5/11/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        332.91
      5/11/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.21
      5/11/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        323.19

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      5/11/2019    709   JS0265   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax             75.83
      5/11/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                       100
      5/11/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            2.51
      5/11/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/11/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                         37.5
      5/11/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD             40.24
      5/11/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 226927 Q13159 Lease              331.5
      5/11/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/11/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                           13
      5/11/2019    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-4            610.29
      5/11/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      5/11/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/11/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/11/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          375.02
      5/11/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            342
      5/11/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          473.89
      5/11/2019    709   KP0004   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax             678.7
      5/11/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                       33.17
      5/11/2019    709   KP0004   Owner Operator   Loan Repayment                 EFS 217414                           -7616.45
      5/11/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          254.87
      5/11/2019    709   KP0004   Owner Operator   Loan Repayment                 Rev Conditional Credit / Loan         7616.45
      5/11/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/11/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.32
      5/11/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      5/11/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                          519.59
      5/11/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL             8.75
      5/11/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                           8
      5/11/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/11/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.46
      5/11/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.12
      5/11/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.94
      5/11/2019    709   KT0055   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            879.96
      5/11/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                       100
      5/11/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/11/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD             42.19
      5/11/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 226805 Q13156 Lease             388.16
      5/11/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
      5/11/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                            8
      5/11/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                        100
      5/11/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              39.07
      5/11/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 226933 Lease Q1111              252.11
      5/11/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                    8.75
      5/11/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                           13
      5/11/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/11/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/11/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          525.94
      5/11/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          457.18
      5/11/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                        100
      5/11/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/11/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                    57.04
      5/11/2019    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                      26
      5/11/2019    709   MA0092   Owner Operator   Advance                        11/20/18 Clm 71756-1 s/u pmts            250
      5/11/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      5/11/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                            8
      5/11/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          315.27
      5/11/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           19.13
      5/11/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.14
      5/11/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          328.89
      5/11/2019    709   MA0092   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax             52.87
      5/11/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                        100
      5/11/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/11/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       49.69
      5/11/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
      5/11/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                            8
      5/11/2019    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-4             70.07
      5/11/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            100
      5/11/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.58
      5/11/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                            329
      5/11/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                        100
      5/11/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/11/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                       23.44
      5/11/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL              8.75
      5/11/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                            8

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      5/11/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.98
      5/11/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.68
      5/11/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.47
      5/11/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.28
      5/11/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                       100
      5/11/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      5/11/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 226810 Q1113 Lease             252.11
      5/11/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/11/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      5/11/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.17
      5/11/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.83
      5/11/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                       100
      5/11/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      5/11/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/11/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/11/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      5/11/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      5/11/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            180
      5/11/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              40
      5/11/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      5/11/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.8
      5/11/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         620.08
      5/11/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.51
      5/11/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                       100
      5/11/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      5/11/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/11/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      5/11/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      5/11/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      5/11/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          43.93
      5/11/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/11/2019    709   NB0029   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           113.29
      5/11/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                       100
      5/11/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      5/11/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      5/11/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      5/11/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      5/11/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 226588 32986 Lease             314.03
      5/11/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 226868 32986 Lease             314.03
      5/11/2019    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/11/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      5/11/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      5/11/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/11/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/11/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.93
      5/11/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.13
      5/11/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                      100
      5/11/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      5/11/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      5/11/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      5/11/2019    709   NT9564   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           210.22
      5/11/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                       100
      5/11/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      5/11/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 226991 Truck 73130 Leas        196.65
      5/11/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/11/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      5/11/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/11/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          152.9
      5/11/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          291.7
      5/11/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.05
      5/11/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      5/11/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      5/11/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 226751 REPAIRS                   250
      5/11/2019    709   OJ0007   Owner Operator   Tire Fee                       Tire Fee: 2268847                         16

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      5/11/2019    709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00401261 - PO System          316.92
      5/11/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      5/11/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      5/11/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      5/11/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.49
      5/11/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          436.5
      5/11/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.34
      5/11/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          642.8
      5/11/2019    709   RC0030   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            108.1
      5/11/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      5/11/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      5/11/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/11/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      5/11/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/11/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.59
      5/11/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         857.38
      5/11/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      5/11/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      5/11/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/11/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      5/11/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/11/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      5/11/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.56
      5/11/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.48
      5/11/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.12
      5/11/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.79
      5/11/2019    709   RL0062   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           202.75
      5/11/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      5/11/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      5/11/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      5/11/2019    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/11/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      5/11/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      5/11/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/11/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.02
      5/11/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         600.11
      5/11/2019    709   RL0180   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            10.64
      5/11/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      5/11/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      5/11/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      5/11/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      5/11/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      5/11/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      5/11/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      5/11/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.33
      5/11/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.3
      5/11/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.48
      5/11/2019    709   RM0026   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           294.46
      5/11/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                       100
      5/11/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      5/11/2019    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/11/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      5/11/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      5/11/2019    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              60
      5/11/2019    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      5/11/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          500.1
      5/11/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                       100
      5/11/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      5/11/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 226768 Q1202 Truck Leas        278.76
      5/11/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      5/11/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      5/11/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/11/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      5/11/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                           513
      5/11/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.82
      5/11/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.38
      5/11/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.39
      5/11/2019    709   RR0123   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           119.86
      5/11/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100
      5/11/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      5/11/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      5/11/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      5/11/2019    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL I-57/147th St (Il           2.9
      5/11/2019    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL Route 80 (East)               5
      5/11/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 226809 Q1248                   311.97
      5/11/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      5/11/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      5/11/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/11/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.22
      5/11/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.42
      5/11/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.51
      5/11/2019    709   SB0009   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           264.75
      5/11/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      5/11/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      5/11/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      5/11/2019    709   SB0009   Owner Operator   Toll Charges                   33236 HCTRA Sam Houston - Sout          1.75
      5/11/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      5/11/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      5/11/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      5/11/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.07
      5/11/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.32
      5/11/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.27
      5/11/2019    709   SB0103   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           214.73
      5/11/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                       100
      5/11/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      5/11/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      5/11/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      5/11/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 226763 Sub Lease               388.33
      5/11/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      5/11/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      5/11/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      5/11/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/11/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/11/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           558
      5/11/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.97
      5/11/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           442
      5/11/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.82
      5/11/2019    709   SM0109   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           270.03
      5/11/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      5/11/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      5/11/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      5/11/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      5/11/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      5/11/2019    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00398058 - PO System          202.76
      5/11/2019    709   SM0109   Owner Operator   Toll Charges                   33195 ILTOLL 82nd St.                   6.65
      5/11/2019    709   SM0109   Owner Operator   Toll Charges                   33195 ILTOLL I-57/147th St (Il          6.65
      5/11/2019    709   SM0109   Owner Operator   Toll Charges                   33195 ILTOLL Joliet Rd.                  2.5
      5/11/2019    709   SM0109   Owner Operator   Toll Charges                   33195 MdTA Fort McHenry Tunnel            24
      5/11/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                         366.56
      5/11/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      5/11/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      5/11/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      5/11/2019    709   SN0019   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-18        -819.98
      5/11/2019    709   SN0019   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-18        -188.24
      5/11/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/11/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/11/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/11/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      5/11/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.55
      5/11/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.04
      5/11/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.9
      5/11/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.96
      5/11/2019    709   SN0019   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            91.91
      5/11/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      5/11/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      5/11/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      5/11/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.01
      5/11/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.07
      5/11/2019    709   VB0015   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            37.82
      5/11/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                       100
      5/11/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      5/11/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      5/11/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      5/11/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      5/11/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/11/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      5/11/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      5/11/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/11/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/11/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.88
      5/11/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          239.8
      5/11/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          321.9
      5/11/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.86
      5/11/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          359.6
      5/11/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.14
      5/11/2019    709   VJ0006   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            79.64
      5/11/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                       100
      5/11/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      5/11/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      5/11/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      5/11/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/11/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      5/11/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      5/11/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      5/11/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      5/11/2019    709   WH0087   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-4           971.96
      5/11/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/11/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/11/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.54
      5/11/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.89
      5/11/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.07
      5/11/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.22
      5/11/2019    709   WH0087   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           194.73
      5/11/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                       100
      5/11/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      5/11/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 226809 Q1238 Lease             311.97
      5/11/2019    742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-18        -524.62
      5/11/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      5/11/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      5/11/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.8
      5/11/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.34
      5/11/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.92
      5/11/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.25
      5/11/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.48
      5/11/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          143.2
      5/11/2019    742   BS0078   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            50.27
      5/11/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                      100
      5/11/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      5/11/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      5/11/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00400012 - PO System           188.8
      5/11/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 226806 Lease of Q13151         388.16
      5/11/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      5/11/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      5/11/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         571.64
      5/11/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         674.33

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      5/11/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.61
      5/11/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
      5/11/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      5/11/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/11/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      5/11/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.19
      5/11/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           260
      5/11/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.01
      5/11/2019    742   DA0067   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           112.93
      5/11/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
      5/11/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      5/11/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/11/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      5/11/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.64
      5/11/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.46
      5/11/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.67
      5/11/2019    742   DC0117   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           253.89
      5/11/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                       100
      5/11/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      5/11/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      5/11/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.98
      5/11/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.65
      5/11/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.2
      5/11/2019    742   DS0254   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           366.95
      5/11/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
      5/11/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      5/11/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      5/11/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 226867 Trk 33487 Lease          434.2
      5/11/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/11/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      5/11/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         609.62
      5/11/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.43
      5/11/2019    742   EA0039   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           122.77
      5/11/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                         18
      5/11/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                       100
      5/11/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      5/11/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/11/2019    742   ED0041   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax             250
      5/11/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/11/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      5/11/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/11/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/11/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.78
      5/11/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.83
      5/11/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.64
      5/11/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.22
      5/11/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.77
      5/11/2019    742   EN0016   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           365.97
      5/11/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      5/11/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      5/11/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/11/2019    742   EN0016   Owner Operator   Tire Fee                       Tire Fee: 2268836                          8
      5/11/2019    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00402264 - PO System           204.5
      5/11/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      5/11/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      5/11/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      5/11/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      5/11/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      5/11/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      5/11/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      5/11/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/11/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           756
      5/11/2019    742   JH0148   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax               26
      5/11/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                       100
      5/11/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44

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      5/11/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/11/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                            8
      5/11/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/11/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          410.99
      5/11/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          398.74
      5/11/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          446.92
      5/11/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.22
      5/11/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.69
      5/11/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.81
      5/11/2019    742   JS0390   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            322.34
      5/11/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                        100
      5/11/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/11/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    67.19
      5/11/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      5/11/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                           13
      5/11/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/11/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                        100
      5/11/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/11/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                              75
      5/11/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      5/11/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                   8.75
      5/11/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                           13
      5/11/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-4              77.5
      5/11/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          120.93
      5/11/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           120.6
      5/11/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.73
      5/11/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                        100
      5/11/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/11/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                   27.35
      5/11/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris            2.5
      5/11/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge                26
      5/11/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge                26
      5/11/2019    742   NG0024   Owner Operator   Advance                        EFS 216828 s/u 8 wks                    237.5
      5/11/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              8.75
      5/11/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                           13
      5/11/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.49
      5/11/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.41
      5/11/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          398.63
      5/11/2019    742   NG0024   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax             116.3
      5/11/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                        100
      5/11/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/11/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             100.79
      5/11/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            2.5
      5/11/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 226891 repair                     250
      5/11/2019    742   NG0024   Owner Operator   Toll Charges                   33252 KTA Emporia: I-35N                 14.4
      5/11/2019    742   RF0136   Owner Operator   Advance                        EFS 217937                             263.53
      5/11/2019    742   RF0136   Owner Operator   Advance                        EFS 217937 s/u 6 wks                 -1581.13
      5/11/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/11/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/11/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.13
      5/11/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          151.27
      5/11/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          166.68
      5/11/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          174.64
      5/11/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.65
      5/11/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.29
      5/11/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.19
      5/11/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             8.75
      5/11/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                          13
      5/11/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          324.74
      5/11/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          163.35
      5/11/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.35
      5/11/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          283.68
      5/11/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           322.2
      5/11/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.54
      5/11/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.58
      5/11/2019    742   RN0054   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            115.99
      5/11/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                       100
      5/11/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/11/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             35.16
      5/11/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
      5/11/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 226872 Tractor Lease            353.28
      5/11/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.81
      5/11/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          348.18

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      5/11/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.03
      5/11/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/11/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      5/11/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-4          6009.07
      5/11/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      5/11/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      5/11/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/11/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      5/11/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.86
      5/11/2019    742   TH0130   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            -3.92
      5/11/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                        100
      5/11/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      5/11/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/11/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      5/11/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      5/11/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      5/11/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      5/11/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      5/11/2019    843   EI0003   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           269.31
      5/11/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/11/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      5/11/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      5/11/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      5/11/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      5/11/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      5/11/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      5/18/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      5/18/2019    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      5/18/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      5/18/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/18/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          514.4
      5/18/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.59
      5/18/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                       100
      5/18/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      5/18/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 226989 Q13148 Trac Leas        296.09
      5/18/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 227284 Q13148 Trac Leas        296.09
      5/18/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      5/18/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      5/18/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.55
      5/18/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                       100
      5/18/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      5/18/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      5/18/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      5/18/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      5/18/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.49
      5/18/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.69
      5/18/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.09
      5/18/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.68
      5/18/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                       100
      5/18/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      5/18/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 227246 Q13147 Lease            440.14
      5/18/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      5/18/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      5/18/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      5/18/2019    709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-25           -155
      5/18/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.28
      5/18/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.3
      5/18/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.61
      5/18/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            389
      5/18/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          253.1
      5/18/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  87.17
      5/18/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                       100
      5/18/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      5/18/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 227245 Q13169 Sublease         352.68
      5/18/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75

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      5/18/2019    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                     12.5
      5/18/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
      5/18/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                        100
      5/18/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/18/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.13
      5/18/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
      5/18/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
      5/18/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
      5/18/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/18/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             300
      5/18/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      5/18/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/18/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.54
      5/18/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          559.45
      5/18/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.48
      5/18/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           396.9
      5/18/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                       100
      5/18/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          354.79
      5/18/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/18/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.16
      5/18/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 227123 Q13168 sub lease         352.68
      5/18/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/18/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
      5/18/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/18/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/18/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.34
      5/18/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          695.19
      5/18/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                       33.17
      5/18/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          262.04
      5/18/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/18/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.96
      5/18/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      5/18/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
      5/18/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                           119.81
      5/18/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          383.11
      5/18/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL              8.75
      5/18/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                            8
      5/18/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          470.87
      5/18/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                        100
      5/18/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/18/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD              65.08
      5/18/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 227123 Q1201                    278.76
      5/18/2019    709   DL0029   Owner Operator   Advance                        3/4/19 Clm 73054-1 s/u pmts              250
      5/18/2019    709   DL0029   Owner Operator   Advance                        659-008094 s/u 5 wks,bgn5/25         -1139.07
      5/18/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      5/18/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      5/18/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           569.9
      5/18/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                        100
      5/18/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/18/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     34.2
      5/18/2019    709   DL0029   Owner Operator   Repair Order                   TRACTOR 33850                         1139.07
      5/18/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      5/18/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      5/18/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      5/18/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      5/18/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          437.88
      5/18/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          224.53
      5/18/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          327.45
      5/18/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          417.88
      5/18/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                        100
      5/18/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/18/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 65.71
      5/18/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 227173 Sublease                 338.99
      5/18/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      5/18/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/18/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                        100
      5/18/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/18/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    18.75
      5/18/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      5/18/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/18/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
      5/18/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      5/18/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5

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      5/18/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.15
      5/18/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         623.45
      5/18/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      5/18/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      5/18/2019    709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00400045 - PO System          611.78
      5/18/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      5/18/2019    709   DS0049   Owner Operator   Truck Payment                  CTMS - 227100 TRUCK RENTAL              675
      5/18/2019    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/18/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      5/18/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      5/18/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         643.11
      5/18/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      5/18/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      5/18/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      5/18/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/18/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.32
      5/18/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.39
      5/18/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.29
      5/18/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                       100
      5/18/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      5/18/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/18/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      5/18/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/18/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.23
      5/18/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         594.85
      5/18/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      5/18/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      5/18/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      5/18/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      5/18/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      5/18/2019    709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-11           70.98
      5/18/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         671.21
      5/18/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                       100
      5/18/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      5/18/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      5/18/2019    709   EG0062   Owner Operator   Truck Payment                  CTMS - 227101 TRUCK RENTAL              150
      5/18/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      5/18/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      5/18/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/18/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/18/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.19
      5/18/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           427
      5/18/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           364
      5/18/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.75
      5/18/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.06
      5/18/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                       100
      5/18/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      5/18/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      5/18/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      5/18/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      5/18/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/18/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/18/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/18/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/18/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.28
      5/18/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.21
      5/18/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.57
      5/18/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 582.86
      5/18/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                       100
      5/18/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      5/18/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      5/18/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 227244 truck lease 3304        434.29
      5/18/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/18/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13

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      5/18/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/18/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/18/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.21
      5/18/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                      100
      5/18/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      5/18/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/18/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      5/18/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-25            -31
      5/18/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/18/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/18/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/18/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.92
      5/18/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.46
      5/18/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      5/18/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      5/18/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      5/18/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      5/18/2019    709   GS0015   Owner Operator   Advance                        4/12/19 Clm 73657-1 s/u 250/wk          250
      5/18/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      5/18/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      5/18/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.95
      5/18/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                       100
      5/18/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      5/18/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 227284 Amortized Balloo        200.15
      5/18/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      5/18/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/18/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/18/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.18
      5/18/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.35
      5/18/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          393.7
      5/18/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.39
      5/18/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          125.6
      5/18/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.03
      5/18/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                       100
      5/18/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         252.62
      5/18/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      5/18/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 226984 Q1109 Lease             302.85
      5/18/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 227280 Q1109 Lease             108.88
      5/18/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      5/18/2019    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 227258 Solvay fuel                -14
      5/18/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      5/18/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.19
      5/18/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         612.59
      5/18/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                      100
      5/18/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      5/18/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 227124 Q13170                  352.68
      5/18/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      5/18/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      5/18/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/18/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.97
      5/18/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         605.65
      5/18/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                       100
      5/18/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      5/18/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/18/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      5/18/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/18/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/18/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.12
      5/18/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.77

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      5/18/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.03
      5/18/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.85
      5/18/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.64
      5/18/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                       100
      5/18/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      5/18/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/18/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      5/18/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.76
      5/18/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.15
      5/18/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                       100
      5/18/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      5/18/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      5/18/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/18/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      5/18/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.69
      5/18/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.32
      5/18/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      5/18/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/18/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/18/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      5/18/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/18/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      5/18/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      5/18/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      5/18/2019    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      5/18/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      5/18/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      5/18/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.74
      5/18/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.55
      5/18/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.21
      5/18/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.62
      5/18/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                      100
      5/18/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      5/18/2019    709   JC0292   Owner Operator   Repair Order                   CTMS - 227104 REPAIRS                 331.22
      5/18/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 227174 Q13197 Lease            276.63
      5/18/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      5/18/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      5/18/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/18/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      5/18/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      5/18/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/18/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      5/18/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/18/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/18/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         630.49
      5/18/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.77
      5/18/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.18
      5/18/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      5/18/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         251.27
      5/18/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      5/18/2019    709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00399194 - PO System           365.2
      5/18/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      5/18/2019    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/18/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/18/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      5/18/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/18/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/18/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.11
      5/18/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.35
      5/18/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.96

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      5/18/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      5/18/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      5/18/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00401262 - PO System           97.66
      5/18/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      5/18/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/18/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      5/18/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           150
      5/18/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.06
      5/18/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          109.4
      5/18/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                       100
      5/18/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      5/18/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      5/18/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      5/18/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.58
      5/18/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 33438                       100
      5/18/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      5/18/2019    709   JQ0015   Owner Operator   Truck Payment                  CTMS - 227101 TRUCK RENTAL              100
      5/18/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      5/18/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      5/18/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.49
      5/18/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                       100
      5/18/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      5/18/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 227064 Truck Lease             278.76
      5/18/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      5/18/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      5/18/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      5/18/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/18/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.92
      5/18/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.64
      5/18/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.39
      5/18/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.53
      5/18/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                      100
      5/18/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      5/18/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      5/18/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      5/18/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 227240 Q13159 Lease             331.5
      5/18/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/18/2019    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      5/18/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      5/18/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/18/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/18/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/18/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             40
      5/18/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           384
      5/18/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.47
      5/18/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           105
      5/18/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      5/18/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      5/18/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      5/18/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/18/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      5/18/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      5/18/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      5/18/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                       100
      5/18/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      5/18/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 227245 Lease Q1111             252.11
      5/18/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      5/18/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      5/18/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.31
      5/18/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.11
      5/18/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                       100

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      5/18/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      5/18/2019    709   MA0092   Owner Operator   Advance                        11/20/18 Clm 71756-1 s/u pmts           250
      5/18/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/18/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      5/18/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.02
      5/18/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          87.87
      5/18/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.6
      5/18/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                       100
      5/18/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      5/18/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      5/18/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      5/18/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/18/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.51
      5/18/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          347.1
      5/18/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.64
      5/18/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                       100
      5/18/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      5/18/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      5/18/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      5/18/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.52
      5/18/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.95
      5/18/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.54
      5/18/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.9
      5/18/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                       100
      5/18/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      5/18/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 227124 Q1113 Lease             252.11
      5/18/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/18/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      5/18/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          461.7
      5/18/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.09
      5/18/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                       100
      5/18/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      5/18/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/18/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/18/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      5/18/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      5/18/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            180
      5/18/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.8
      5/18/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         541.97
      5/18/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                       100
      5/18/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      5/18/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/18/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      5/18/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      5/18/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      5/18/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/18/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/18/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/18/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         580.35
      5/18/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.44
      5/18/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.18
      5/18/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          38.74
      5/18/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                       100
      5/18/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      5/18/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      5/18/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      5/18/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      5/18/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 227175 32986 Lease             314.03
      5/18/2019    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/18/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      5/18/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      5/18/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/18/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/18/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.25
      5/18/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.33
      5/18/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                      100

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      5/18/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      5/18/2019    709   NG0005   Owner Operator   Tire Fee                       Tire Fee: 2270133                          8
      5/18/2019    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00401697 - PO System          203.41
      5/18/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      5/18/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      5/18/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                       100
      5/18/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      5/18/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 227286 Truck 73130 Leas        196.65
      5/18/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/18/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      5/18/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/18/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.62
      5/18/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          64.98
      5/18/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          102.2
      5/18/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.54
      5/18/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      5/18/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      5/18/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 227051 REPAIRS                   250
      5/18/2019    709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00401261 - PO System          316.92
      5/18/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      5/18/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      5/18/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      5/18/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.02
      5/18/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          704.6
      5/18/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          565.2
      5/18/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      5/18/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      5/18/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/18/2019    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      5/18/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      5/18/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/18/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          625.9
      5/18/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      5/18/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      5/18/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/18/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      5/18/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/18/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      5/18/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          194.6
      5/18/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.46
      5/18/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.97
      5/18/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.87
      5/18/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      5/18/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      5/18/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      5/18/2019    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/18/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      5/18/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      5/18/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/18/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.35
      5/18/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.07
      5/18/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      5/18/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      5/18/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      5/18/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      5/18/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      5/18/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      5/18/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      5/18/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.85
      5/18/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                       100
      5/18/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25

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      5/18/2019    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/18/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      5/18/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      5/18/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.17
      5/18/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                       100
      5/18/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      5/18/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 227064 Q1202 Truck Leas        278.76
      5/18/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      5/18/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      5/18/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/18/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/18/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          472.9
      5/18/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.98
      5/18/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.45
      5/18/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.58
      5/18/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100
      5/18/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      5/18/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      5/18/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      5/18/2019    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL 95th St.                      5
      5/18/2019    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL I-57/147th St (Il          6.65
      5/18/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 227123 Q1248                   311.97
      5/18/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.98
      5/18/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          364.7
      5/18/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.72
      5/18/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.58
      5/18/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      5/18/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      5/18/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.98
      5/18/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.54
      5/18/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.18
      5/18/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.88
      5/18/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                       100
      5/18/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      5/18/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      5/18/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      5/18/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 227060 Sub Lease               388.33
      5/18/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      5/18/2019    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      5/18/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/18/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           476
      5/18/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           208
      5/18/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                             24
      5/18/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           524
      5/18/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      5/18/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      5/18/2019    709   SM0109   Owner Operator   Toll Charges                   33195 DelDOT Newark Plaza                  9
      5/18/2019    709   SM0109   Owner Operator   Toll Charges                   33195 E470 PLAZA C                       8.6
      5/18/2019    709   SM0109   Owner Operator   Toll Charges                   33195 E470 PLAZA D                      18.6
      5/18/2019    709   SM0109   Owner Operator   Toll Charges                   33195 E470 PLAZA E                      18.6
      5/18/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      5/18/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      5/18/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      5/18/2019    709   SN0019   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-11          819.98
      5/18/2019    709   SN0019   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-11          188.24
      5/18/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/18/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/18/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.84
      5/18/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.46
      5/18/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.45
      5/18/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.11
      5/18/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      5/18/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      5/18/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      5/18/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.02
      5/18/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           525
      5/18/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                       100
      5/18/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/18/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      5/18/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      5/18/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/18/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      5/18/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/18/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.74
      5/18/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.33
      5/18/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.35
      5/18/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.12
      5/18/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.85
      5/18/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                       100
      5/18/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      5/18/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      5/18/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/18/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      5/18/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      5/18/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      5/18/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      5/18/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/18/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/18/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/18/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/18/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.53
      5/18/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.69
      5/18/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.15
      5/18/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.93
      5/18/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                       100
      5/18/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      5/18/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 HCTRA Ship Channel Bridg           1.5
      5/18/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 227123 Q1238 Lease             311.97
      5/18/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      5/18/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      5/18/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      5/18/2019    742   AP0047   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-11          524.62
      5/18/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/18/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/18/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.96
      5/18/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.39
      5/18/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.18
      5/18/2019    742   AP0047   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            39.65
      5/18/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      5/18/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      5/18/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      5/18/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      5/18/2019    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00400868 - PO System           85.73
      5/18/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      5/18/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      5/18/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.7
      5/18/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.76
      5/18/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.46
      5/18/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.01
      5/18/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                      100
      5/18/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      5/18/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      5/18/2019    742   BS0078   Owner Operator   Tire Fee                       Tire Fee: 2272122                          4
      5/18/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00400012 - PO System           188.8
      5/18/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00403093 - PO System           93.84
      5/18/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 227120 Lease of Q13151         388.16
      5/18/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      5/18/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      5/18/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         617.75
      5/18/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.89
      5/18/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         618.97
      5/18/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
      5/18/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/18/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      5/18/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.23
      5/18/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/18/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      5/18/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.02
      5/18/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           600
      5/18/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.28
      5/18/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           351
      5/18/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           254
      5/18/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
      5/18/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      5/18/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/18/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      5/18/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.52
      5/18/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.35
      5/18/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                       100
      5/18/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      5/18/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      5/18/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.01
      5/18/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.42
      5/18/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.94
      5/18/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.48
      5/18/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
      5/18/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      5/18/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      5/18/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 227174 Trk 33487 Lease          434.2
      5/18/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/18/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      5/18/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           488
      5/18/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.76
      5/18/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                       100
      5/18/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      5/18/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/18/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/18/2019    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      5/18/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      5/18/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/18/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/18/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.58
      5/18/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.34
      5/18/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.06
      5/18/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.28
      5/18/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.77
      5/18/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.29
      5/18/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      5/18/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      5/18/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/18/2019    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00402264 - PO System           204.5
      5/18/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      5/18/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      5/18/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      5/18/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      5/18/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      5/18/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      5/18/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      5/18/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/18/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         838.69
      5/18/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                       100
      5/18/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      5/18/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/18/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      5/18/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/18/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.73
      5/18/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.17

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      5/18/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.96
      5/18/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.68
      5/18/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                       100
      5/18/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      5/18/2019    742   JS0390   Owner Operator   Toll Charges                   34327 BATA Carquinez Bridge               26
      5/18/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Sam Houston - NE M             7
      5/18/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/18/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      5/18/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/18/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                       100
      5/18/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      5/18/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/18/2019    742   MH0117   Owner Operator   Tire Fee                       Tire Fee: 2271909                          4
      5/18/2019    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00402445 - PO System           51.74
      5/18/2019    742   MS0230   Owner Operator   Accident Claim                 05/10/19 MS0230 Accident               1000
      5/18/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      5/18/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      5/18/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 5-25         -26.18
      5/18/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.39
      5/18/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.21
      5/18/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          121.5
      5/18/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                       100
      5/18/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      5/18/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      5/18/2019    742   MS0230   Owner Operator   Repair Order                   CTMS - 227162 repair                      78
      5/18/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      5/18/2019    742   NG0024   Owner Operator   Advance                        EFS 216828 s/u 8 wks                   237.5
      5/18/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      5/18/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      5/18/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/18/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/18/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.43
      5/18/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.28
      5/18/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.54
      5/18/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.27
      5/18/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.27
      5/18/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                       100
      5/18/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      5/18/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      5/18/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 227206 repair                    250
      5/18/2019    742   NG0024   Owner Operator   Toll Charges                   33252 KTA Eastern Terminal              6.75
      5/18/2019    742   NG0024   Owner Operator   Toll Charges                   33252 KTA Eastern Terminal              6.75
      5/18/2019    742   NG0024   Owner Operator   Toll Charges                   33252 KTA Eastern Terminal              6.75
      5/18/2019    742   NG0024   Owner Operator   Toll Charges                   33252 KTA Eastern Terminal              6.75
      5/18/2019    742   NG0024   Owner Operator   Toll Charges                   33252 KTA Emporia: I-35N                14.4
      5/18/2019    742   NG0024   Owner Operator   Toll Charges                   33252 KTA Emporia: I-35N                14.4
      5/18/2019    742   NG0024   Owner Operator   Toll Charges                   33252 KTA Emporia: I-35N                14.4
      5/18/2019    742   NG0024   Owner Operator   Toll Charges                   33252 KTA Topeka: I-70                  6.75
      5/18/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      5/18/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      5/18/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/18/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/18/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      5/18/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      5/18/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/18/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/18/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.05
      5/18/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.71
      5/18/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.01
      5/18/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.31
      5/18/2019    742   PC0012   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax            41.68
      5/18/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      5/18/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      5/18/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.01
      5/18/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.01
      5/18/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      5/18/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      5/18/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      5/18/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18

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      5/18/2019    742   RF0136   Owner Operator   Advance                        EFS 217937                         263.53
      5/18/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                   8.75
      5/18/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                   8.75
      5/18/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                       13
      5/18/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                       13
      5/18/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                         200
      5/18/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/18/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                       47.81
      5/18/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                       193.6
      5/18/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                      246.41
      5/18/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                      261.05
      5/18/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                      275.73
      5/18/2019    742   RF0136   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax        203.05
      5/18/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                    100
      5/18/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                    100
      5/18/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/18/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/18/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                   53.13
      5/18/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                   53.13
      5/18/2019    742   RF0136   Owner Operator   T Chek Fee                     Advance Processed on Friday          950
      5/18/2019    742   RF0136   Owner Operator   T Chek Fee                     Advance Processed on Friday          950
      5/18/2019    742   RF0136   Owner Operator   T Chek Fee                     Advance Processed on Friday          900
      5/18/2019    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                    15.65
      5/18/2019    742   RF0136   Owner Operator   T Chek Fee                     Tractor Repair 34182              1565.48
      5/18/2019    742   RF0136   Owner Operator   Toll Charges                   34182 ILTOLL Army Trail Rd.             5
      5/18/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                      207.23
      5/18/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                   8.75
      5/18/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                   8.75
      5/18/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                       13
      5/18/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                       13
      5/18/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                      245.96
      5/18/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                      444.22
      5/18/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                      459.76
      5/18/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                      181.04
      5/18/2019    742   RS0342   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax         146.6
      5/18/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                    100
      5/18/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                    100
      5/18/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/18/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/18/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                  143.21
      5/18/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                  143.21
      5/18/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism           2.5
      5/18/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism           2.5
      5/18/2019    742   RS0342   Owner Operator   Toll Charges                   33738 BATA Carquinez Bridge            26
      5/18/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                   8.75
      5/18/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                       13
      5/18/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/18/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    58.6
      5/18/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism           2.5
      5/18/2019    742   SK0049   Owner Operator   Toll Charges                   CTMS - 227258 tolls                  182
      5/18/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL          8.75
      5/18/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL          8.75
      5/18/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                        8
      5/18/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                        8
      5/18/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                          50
      5/18/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                          50
      5/18/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                         200
      5/18/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2
      5/18/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      393.28
      5/18/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      521.44
      5/18/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                       44.48
      5/18/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      414.61
      5/18/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      362.71
      5/18/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      413.57
      5/18/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      357.41
      5/18/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      269.95
      5/18/2019    742   TC0098   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax        179.12
      5/18/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                    100
      5/18/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                    100
      5/18/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/18/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      5/18/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD          67.19
      5/18/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD          67.19

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      5/18/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      5/18/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      5/18/2019    742   TC0098   Owner Operator   Repair Order                   CTMS - 227099 TIRE REPLACEMENT            80
      5/18/2019    742   TC0098   Owner Operator   Tire Fee                       Tire Fee: 2272512                          4
      5/18/2019    742   TC0098   Owner Operator   Tire Purchase                  PO: 742-00402516 - PO System          122.01
      5/18/2019    742   TC0098   Owner Operator   Toll Charges                   33489 HCTRA Ship Channel Bridg             7
      5/18/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 226805 33489 Lease Paym        412.16
      5/18/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 227119 33489 Lease Paym        412.16
      5/18/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/18/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      5/18/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.47
      5/18/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                       100
      5/18/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      5/18/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/18/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      5/18/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      5/18/2019    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      5/18/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      5/18/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.31
      5/18/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/18/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      5/18/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      5/25/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      5/25/2019    709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
      5/25/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      5/25/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/25/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.87
      5/25/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.57
      5/25/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.09
      5/25/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.7
      5/25/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.92
      5/25/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                      100
      5/25/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.93
      5/25/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 227544 Q13148 Trac Leas        296.09
      5/25/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      5/25/2019    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
      5/25/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      5/25/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.22
      5/25/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                      100
      5/25/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      5/25/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      5/25/2019    709   AN0007   Owner Operator   Toll Charges                   21157A CATALINA VIEW SOUTH 10          21.96
      5/25/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      5/25/2019    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      5/25/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      5/25/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.41
      5/25/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.37
      5/25/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                      100
      5/25/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      5/25/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 227475 Q13147 Lease            440.14
      5/25/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      5/25/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      5/25/2019    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      5/25/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      5/25/2019    709   AV0021   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-18            155
      5/25/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.19
      5/25/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      5/25/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.71
      5/25/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.03
      5/25/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  21.72
      5/25/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                      100
      5/25/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      5/25/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 227490 Q13169 Sublease         352.68
      5/25/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/25/2019    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      5/25/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      5/25/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                       100
      5/25/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/25/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      5/25/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/25/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      5/25/2019    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      5/25/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      5/25/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/25/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/25/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.54
      5/25/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.96
      5/25/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
      5/25/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      5/25/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      5/25/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 227387 Q13168 sub lease        352.68
      5/25/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/25/2019    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      5/25/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      5/25/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/25/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         642.24
      5/25/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.18
      5/25/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      5/25/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
      5/25/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      5/25/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/25/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      5/25/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      5/25/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      5/25/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      5/25/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      5/25/2019    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                      9.84
      5/25/2019    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
      5/25/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      5/25/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      5/25/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      5/25/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      5/25/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                           80.19
      5/25/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          126.6
      5/25/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.92
      5/25/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.45
      5/25/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.78
      5/25/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.09
      5/25/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.33
      5/25/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.48
      5/25/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.95
      5/25/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.78
      5/25/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
      5/25/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
      5/25/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
      5/25/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
      5/25/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      5/25/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      5/25/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.01
      5/25/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      5/25/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 227177 Q1247 Sub Lease         263.91
      5/25/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 227431 Q1247 Sub Lease         263.91
      5/25/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      5/25/2019    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                      9.84
      5/25/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      5/25/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.76
      5/25/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                       100
      5/25/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      5/25/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 227386 Q1201                   278.76
      5/25/2019    709   DL0029   Owner Operator   Advance                        659-008094 s/u 5 wks                  227.82
      5/25/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.01
      5/25/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.41
      5/25/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      5/25/2019    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84

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      5/25/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      5/25/2019    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-1         -1183.09
      5/25/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      5/25/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      5/25/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          208.86
      5/25/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          383.41
      5/25/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.22
      5/25/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           575.7
      5/25/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                        100
      5/25/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/25/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 65.69
      5/25/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 227432 Sublease                 338.99
      5/25/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      5/25/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/25/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.55
      5/25/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                        100
      5/25/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/25/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    18.75
      5/25/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      5/25/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/25/2019    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                       9.84
      5/25/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
      5/25/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      5/25/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      5/25/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          346.19
      5/25/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.67
      5/25/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          713.29
      5/25/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                       33.17
      5/25/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/25/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    92.33
      5/25/2019    709   DS0049   Owner Operator   Tire Purchase                  PO: 709-00400045 - PO System           611.71
      5/25/2019    709   DS0049   Owner Operator   Toll Charges                   32915 Bay Bridge 18                        26
      5/25/2019    709   DS0049   Owner Operator   Toll Charges                   32915/TL0212 Bay Bridge 18                 26
      5/25/2019    709   DS0049   Owner Operator   Toll Charges                   32915/TL0212 Bay Bridge 18                 26
      5/25/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                          512.35
      5/25/2019    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      5/25/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      5/25/2019    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                       9.84
      5/25/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
      5/25/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          725.14
      5/25/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/25/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.04
      5/25/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      5/25/2019    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                       9.84
      5/25/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                           13
      5/25/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                              50
      5/25/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          181.47
      5/25/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          453.34
      5/25/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                           272.1
      5/25/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                        100
      5/25/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/25/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    42.18
      5/25/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/25/2019    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                       9.84
      5/25/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
      5/25/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      5/25/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/25/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/25/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/25/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/25/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           18.32
      5/25/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.49
      5/25/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          474.81
      5/25/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          542.08
      5/25/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                       33.17
      5/25/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/25/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   105.47
      5/25/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                          555.56
      5/25/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
      5/25/2019    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                       9.84
      5/25/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
      5/25/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          689.72
      5/25/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                        100

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      5/25/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      5/25/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      5/25/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      5/25/2019    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      5/25/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      5/25/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.33
      5/25/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.85
      5/25/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.27
      5/25/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.42
      5/25/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                       100
      5/25/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      5/25/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      5/25/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      5/25/2019    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      5/25/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      5/25/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.61
      5/25/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          457.5
      5/25/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.91
      5/25/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.5
      5/25/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                   2.04
      5/25/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                       100
      5/25/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      5/25/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      5/25/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/25/2019    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521B                     9.84
      5/25/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      5/25/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.45
      5/25/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.53
      5/25/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.98
      5/25/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                      100
      5/25/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      5/25/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/25/2019    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRK34330                      9.84
      5/25/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      5/25/2019    709   GA0051   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-18              31
      5/25/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/25/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/25/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/25/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.62
      5/25/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.37
      5/25/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      5/25/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      5/25/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      5/25/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      5/25/2019    709   GS0015   Owner Operator   Advance                        4/12/19 Clm 73657-1 s/u 250/wk          250
      5/25/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      5/25/2019    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      5/25/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      5/25/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.35
      5/25/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          366.6
      5/25/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                       100
      5/25/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      5/25/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 227544 Amortized Balloo        200.15
      5/25/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      5/25/2019    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      5/25/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      5/25/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      5/25/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.22
      5/25/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.35

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      5/25/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.57
      5/25/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.34
      5/25/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.73
      5/25/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                       100
      5/25/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         252.62
      5/25/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      5/25/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 227280 Q1109 Lease             193.97
      5/25/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      5/25/2019    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      5/25/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      5/25/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.56
      5/25/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.99
      5/25/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                      100
      5/25/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      5/25/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 227388 Q13170                  352.68
      5/25/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      5/25/2019    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                     19.68
      5/25/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      5/25/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/25/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.73
      5/25/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         612.01
      5/25/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         562.84
      5/25/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.03
      5/25/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                       100
      5/25/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.04
      5/25/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/25/2019    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      5/25/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      5/25/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/25/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/25/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.66
      5/25/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.58
      5/25/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          231.1
      5/25/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.49
      5/25/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                       100
      5/25/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      5/25/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/25/2019    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      5/25/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      5/25/2019    709   IA0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-1          -130.2
      5/25/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.98
      5/25/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.64
      5/25/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                       100
      5/25/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      5/25/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      5/25/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/25/2019    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      5/25/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      5/25/2019    709   IR0002   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      5/25/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.03
      5/25/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.11
      5/25/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.11
      5/25/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      5/25/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/25/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/25/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      5/25/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/25/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.62
      5/25/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.75
      5/25/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      5/25/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      5/25/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75

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      5/25/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                        13
      5/25/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      5/25/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/25/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/25/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/25/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/25/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/25/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/25/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        320.63
      5/25/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        355.07
      5/25/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         19.24
      5/25/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        583.38
      5/25/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                     100
      5/25/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/25/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.18
      5/25/2019    709   JC0292   Owner Operator   Repair Order                   CTMS - 227337 REPAIRS                331.22
      5/25/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 227428 Q13197 Lease           276.63
      5/25/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      5/25/2019    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                     9.84
      5/25/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      5/25/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
      5/25/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/25/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      5/25/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      5/25/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/25/2019    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                     9.84
      5/25/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      5/25/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           500
      5/25/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      5/25/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        438.73
      5/25/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        533.23
      5/25/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
      5/25/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        251.27
      5/25/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/25/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.85
      5/25/2019    709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00399194 - PO System          365.2
      5/25/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                      26
      5/25/2019    709   JG0017   Owner Operator   Toll Charges                   32908/TL9209 Bay Bridge 18               26
      5/25/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      5/25/2019    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      5/25/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/25/2019    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                     9.84
      5/25/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      5/25/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           400
      5/25/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      5/25/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/25/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
      5/25/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        519.62
      5/25/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        606.07
      5/25/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.08
      5/25/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
      5/25/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/25/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      5/25/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00401262 - PO System          97.66
      5/25/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      5/25/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/25/2019    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                     9.84
      5/25/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      5/25/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                          150
      5/25/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.3
      5/25/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        179.07
      5/25/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        545.89
      5/25/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                      100
      5/25/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/25/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.15
      5/25/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      5/25/2019    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                     9.84
      5/25/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      5/25/2019    709   JQ0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-1            -74
      5/25/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.21
      5/25/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 33438                      100
      5/25/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/25/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51

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      5/25/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      5/25/2019    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      5/25/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      5/25/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.98
      5/25/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                       100
      5/25/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      5/25/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 227341 Truck Lease             278.76
      5/25/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      5/25/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      5/25/2019    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                     9.84
      5/25/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      5/25/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/25/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.68
      5/25/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.69
      5/25/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.63
      5/25/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.15
      5/25/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.07
      5/25/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                      100
      5/25/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      5/25/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      5/25/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.22
      5/25/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 227485 Q13159 Lease             331.5
      5/25/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/25/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      5/25/2019    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-1         -200.49
      5/25/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/25/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      5/25/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      5/25/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           443
      5/25/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.99
      5/25/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.99
      5/25/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           252
      5/25/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          418.4
      5/25/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           325
      5/25/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      5/25/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      5/25/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      5/25/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/25/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      5/25/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      5/25/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      5/25/2019    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                     9.84
      5/25/2019    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      5/25/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      5/25/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      5/25/2019    709   KT0055   Owner Operator   Driver Excellence Program      OR-000S736744                            -50
      5/25/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/25/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/25/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.61
      5/25/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          520.9
      5/25/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.31
      5/25/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.7
      5/25/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          268.6
      5/25/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                      100
      5/25/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                      100
      5/25/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      5/25/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      5/25/2019    709   KT0055   Owner Operator   Tire Fee                       Tire Fee: 2272521                         24
      5/25/2019    709   KT0055   Owner Operator   Tire Purchase                  PO: 709-00402610 - PO System          597.32
      5/25/2019    709   KT0055   Owner Operator   Tire Purchase                  PO: 709-00402610 - PO System          597.32
      5/25/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 227119 Q13156 Lease            388.16
      5/25/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 227383 Q13156 Lease            388.16
      5/25/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      5/25/2019    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      5/25/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      5/25/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                       100

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      5/25/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      5/25/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 227490 Lease Q1111             252.11
      5/25/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      5/25/2019    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                      9.84
      5/25/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      5/25/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/25/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/25/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          748.8
      5/25/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.02
      5/25/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         734.53
      5/25/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                       100
      5/25/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.01
      5/25/2019    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     26
      5/25/2019    709   MA0092   Owner Operator   Advance                        11/20/18 Clm 71756-1 s/u pmts           250
      5/25/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/25/2019    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      5/25/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      5/25/2019    709   MA0092   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-1        -1252.02
      5/25/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.71
      5/25/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.12
      5/25/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                       100
      5/25/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      5/25/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      5/25/2019    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      5/25/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      5/25/2019    709   MD0122   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      5/25/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/25/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.07
      5/25/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.53
      5/25/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.17
      5/25/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                       100
      5/25/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      5/25/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      5/25/2019    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                      9.84
      5/25/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      5/25/2019    709   ME0053   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      5/25/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.96
      5/25/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                       100
      5/25/2019    709   ME0053   Owner Operator   Loan Repayment                 EFS 219481                         -14403.43
      5/25/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      5/25/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      5/25/2019    709   ME0053   Owner Operator   T Chek Fee                     ExpressCheck Fee                      142.61
      5/25/2019    709   ME0053   Owner Operator   T Chek Fee                     Tractor Repair Q1113                14260.82
      5/25/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 227387 Q1113 Lease             252.11
      5/25/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/25/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      5/25/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.95
      5/25/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.01
      5/25/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                       100
      5/25/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      5/25/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/25/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/25/2019    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                      9.84
      5/25/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      5/25/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      5/25/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.35
      5/25/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                       100
      5/25/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.76
      5/25/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/25/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      5/25/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75

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      5/25/2019    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      5/25/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      5/25/2019    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
      5/25/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      5/25/2019    709   NB0029   Owner Operator   Express Check                  T-Check Payment                         1500
      5/25/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/25/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/25/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.81
      5/25/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          274.9
      5/25/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.66
      5/25/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.29
      5/25/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.79
      5/25/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                        100
      5/25/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      5/25/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      5/25/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      5/25/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      5/25/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 227429 32986 Lease             314.03
      5/25/2019    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/25/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      5/25/2019    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      5/25/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      5/25/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/25/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/25/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.82
      5/25/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.78
      5/25/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.35
      5/25/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                       100
      5/25/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      5/25/2019    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00401697 - PO System          203.41
      5/25/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      5/25/2019    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      5/25/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      5/25/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                        100
      5/25/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      5/25/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 227546 Truck 73130 Leas        196.65
      5/25/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/25/2019    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
      5/25/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      5/25/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/25/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.76
      5/25/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.81
      5/25/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.59
      5/25/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          205.2
      5/25/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      5/25/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
      5/25/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 227329 REPAIRS                    250
      5/25/2019    709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00401261 - PO System          316.92
      5/25/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      5/25/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      5/25/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      5/25/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.05
      5/25/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         609.92
      5/25/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      5/25/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      5/25/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/25/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      5/25/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      5/25/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         691.06
      5/25/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      5/25/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      5/25/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/25/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05

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      5/25/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/25/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      5/25/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/25/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/25/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          574.7
      5/25/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           1.63
      5/25/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.25
      5/25/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.45
      5/25/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.42
      5/25/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      5/25/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      5/25/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      5/25/2019    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/25/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      5/25/2019    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      5/25/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      5/25/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/25/2019    709   RL0180   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/25/2019    709   RL0180   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.56
      5/25/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.96
      5/25/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      5/25/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      5/25/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      5/25/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      5/25/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      5/25/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      5/25/2019    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      5/25/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      5/25/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.18
      5/25/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.73
      5/25/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                       100
      5/25/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      5/25/2019    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/25/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      5/25/2019    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      5/25/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      5/25/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         576.18
      5/25/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                       100
      5/25/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      5/25/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 227341 Q1202 Truck Leas        278.76
      5/25/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      5/25/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      5/25/2019    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      5/25/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      5/25/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      5/25/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/25/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/25/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/25/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.27
      5/25/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.47
      5/25/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.55
      5/25/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.21
      5/25/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.94
      5/25/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           17.3
      5/25/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.7
      5/25/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      5/25/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      5/25/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      5/25/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      5/25/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      5/25/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98

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      5/25/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      5/25/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      5/25/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      5/25/2019    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      5/25/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      5/25/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.95
      5/25/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.63
      5/25/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.13
      5/25/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.95
      5/25/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.21
      5/25/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                       100
      5/25/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      5/25/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      5/25/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      5/25/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 227337 Sub Lease               388.33
      5/25/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      5/25/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      5/25/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           391
      5/25/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           565
      5/25/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      5/25/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      5/25/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      5/25/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      5/25/2019    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.84
      5/25/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      5/25/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.34
      5/25/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.67
      5/25/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.52
      5/25/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.32
      5/25/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.8
      5/25/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      5/25/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      5/25/2019    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      5/25/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      5/25/2019    709   VB0015   Owner Operator   Driver Excellence Program      CA-AXXXXXXXX                            -50
      5/25/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.28
      5/25/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           201
      5/25/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                       100
      5/25/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      5/25/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      5/25/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/25/2019    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      5/25/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      5/25/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/25/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/25/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.94
      5/25/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.03
      5/25/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.32
      5/25/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.62
      5/25/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.99
      5/25/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.82
      5/25/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                       100
      5/25/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      5/25/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      5/25/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/25/2019    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      5/25/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      5/25/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      5/25/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      5/25/2019    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84

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      5/25/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      5/25/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/25/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.74
      5/25/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.73
      5/25/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.33
      5/25/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.43
      5/25/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                       100
      5/25/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      5/25/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 TxTag SH - East Plaza L1             7
      5/25/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 227387 Q1238 Lease             311.97
      5/25/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      5/25/2019    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      5/25/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      5/25/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      5/25/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/25/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.19
      5/25/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.27
      5/25/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          511.3
      5/25/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      5/25/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      5/25/2019    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00400868 - PO System          122.16
      5/25/2019    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00400868 - PO System          207.89
      5/25/2019    742   AP0047   Owner Operator   Tire Purchase                  PO: 742-00400868 - PO System          207.89
      5/25/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      5/25/2019    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13151                     9.84
      5/25/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      5/25/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.1
      5/25/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.51
      5/25/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.75
      5/25/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.9
      5/25/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          425.9
      5/25/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.47
      5/25/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                      100
      5/25/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
      5/25/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      5/25/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00400012 - PO System          188.73
      5/25/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00403093 - PO System           93.84
      5/25/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 227383 Lease of Q13151         388.16
      5/25/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      5/25/2019    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      5/25/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      5/25/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.61
      5/25/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         750.33
      5/25/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
      5/25/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      5/25/2019    742   CA0089   Owner Operator   Repair Order                   CTMS - 227515 repair                    200
      5/25/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/25/2019    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      5/25/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      5/25/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           523
      5/25/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
      5/25/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      5/25/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/25/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      5/25/2019    742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Hardy North - Rank             4
      5/25/2019    742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Hardy North - Rank             4
      5/25/2019    742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Hardy South - Barr             7
      5/25/2019    742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Hardy South Airpor             5
      5/25/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      5/25/2019    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      5/25/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      5/25/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      5/25/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.4
      5/25/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.83
      5/25/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.78
      5/25/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
      5/25/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      5/25/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      5/25/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 4                  26
      5/25/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 4                  16
      5/25/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 227429 Trk 33487 Lease          434.2
      5/25/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/25/2019    742   EA0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33993                      9.84
      5/25/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      5/25/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.81
      5/25/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          649.2
      5/25/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.48
      5/25/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                       100
      5/25/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      5/25/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/25/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/25/2019    742   EN0016   Owner Operator   Driver Excellence Program      CA-1983201401                            -50
      5/25/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          41.25
      5/25/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      5/25/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      5/25/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      5/25/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      5/25/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      5/25/2019    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
      5/25/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      5/25/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/25/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      5/25/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                       100
      5/25/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      5/25/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/25/2019    742   JS0390   Owner Operator   Broker Pre Pass                DriveWyze TRK34327                      9.84
      5/25/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      5/25/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/25/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.92
      5/25/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.98
      5/25/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.32
      5/25/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.78
      5/25/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.62
      5/25/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                       100
      5/25/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.18
      5/25/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Hardy North - Barr             7
      5/25/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Hardy South - Barr             7
      5/25/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/25/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      5/25/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/25/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                       100
      5/25/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      5/25/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/25/2019    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00402445 - PO System           51.74
      5/25/2019    742   MH0117   Owner Operator   Toll Charges                   33296 Antioch Bridge 1                    26
      5/25/2019    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 11                 26
      5/25/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL River Rd.                  6.65
      5/25/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL Waukegan                   12.5
      5/25/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      5/25/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      5/25/2019    742   MS0230   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-18           26.18
      5/25/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.54
      5/25/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.54
      5/25/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          120.3
      5/25/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          76.49
      5/25/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.42
      5/25/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                       100
      5/25/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33

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      5/25/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      5/25/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      5/25/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      5/25/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      5/25/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      5/25/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/25/2019    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      5/25/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      5/25/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/25/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/25/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.22
      5/25/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.35
      5/25/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.7
      5/25/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.02
      5/25/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.14
      5/25/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      5/25/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.01
      5/25/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      5/25/2019    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 8                  26
      5/25/2019    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - East             7
      5/25/2019    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout             7
      5/25/2019    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout             7
      5/25/2019    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout             7
      5/25/2019    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg           3.5
      5/25/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      5/25/2019    742   RF0136   Owner Operator   Advance                        EFS 217937                            263.53
      5/25/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      5/25/2019    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      5/25/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      5/25/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             300
      5/25/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/25/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.21
      5/25/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.39
      5/25/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.84
      5/25/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                        100
      5/25/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      5/25/2019    742   RF0136   Owner Operator   T Chek Fee                     Advance                                1500
      5/25/2019    742   RF0136   Owner Operator   T Chek Fee                     Advance                                  950
      5/25/2019    742   RF0136   Owner Operator   T Chek Fee                     Advance                                  950
      5/25/2019    742   RF0136   Owner Operator   T Chek Fee                     Advance                                  900
      5/25/2019    742   RF0136   Owner Operator   T Chek Fee                     Advance Processed on Fri/Rev            -950
      5/25/2019    742   RF0136   Owner Operator   T Chek Fee                     Advance Processed on Fri/Rev            -950
      5/25/2019    742   RF0136   Owner Operator   T Chek Fee                     Advance Processed on Fri/Rev            -900
      5/25/2019    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                          15
      5/25/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 12                 26
      5/25/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 12                 26
      5/25/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 12                 26
      5/25/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      5/25/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      5/25/2019    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13157                     9.84
      5/25/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      5/25/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      5/25/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.54
      5/25/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.79
      5/25/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.21
      5/25/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.15
      5/25/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.57
      5/25/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.04
      5/25/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                       100
      5/25/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                       100
      5/25/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      5/25/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      5/25/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      5/25/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      5/25/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 227179 Tractor Lease           353.28
      5/25/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 227433 Tractor Lease           353.28
      5/25/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      5/25/2019    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                      9.84
      5/25/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      5/25/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.04

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      5/25/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.48
      5/25/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                       100
      5/25/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      5/25/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      5/25/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/25/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      5/25/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      5/25/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      5/25/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      5/25/2019    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      5/25/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      5/25/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/25/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/25/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/25/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.3
      5/25/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.64
      5/25/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.18
      5/25/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.63
      5/25/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.16
      5/25/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                       100
      5/25/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
      5/25/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      5/25/2019    742   TC0098   Owner Operator   Tire Purchase                  PO: 742-00402516 - PO System          122.01
      5/25/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/25/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      5/25/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.48
      5/25/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.42
      5/25/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                       100
      5/25/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      5/25/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/25/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      5/25/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      5/25/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/25/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      5/25/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       6/1/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
       6/1/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/1/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.79
       6/1/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.85
       6/1/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                      100
       6/1/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 227789 Q13148 Trac Leas        296.09
       6/1/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       6/1/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                      100
       6/1/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       6/1/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.44
       6/1/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           221
       6/1/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           225
       6/1/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.92
       6/1/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.66
       6/1/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.04
       6/1/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                      100
       6/1/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       6/1/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.36
       6/1/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.76
       6/1/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.75
       6/1/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.66
       6/1/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  80.68
       6/1/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                      100
       6/1/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       6/1/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                       100
       6/1/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       6/1/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/1/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
       6/1/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       6/1/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/1/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         609.17
       6/1/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.15
       6/1/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
       6/1/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79

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       6/1/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                         13
       6/1/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                           200
       6/1/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       6/1/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         590.8
       6/1/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         638.1
       6/1/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                     33.17
       6/1/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        262.04
       6/1/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                        507.91
       6/1/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                         13
       6/1/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                          8
       6/1/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                           200
       6/1/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       6/1/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.81
       6/1/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        118.39
       6/1/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        368.56
       6/1/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                      100
       6/1/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                      100
       6/1/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 227666 Q1247 Sub Lease        263.91
       6/1/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                          8
       6/1/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                        455.68
       6/1/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                      100
       6/1/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 227621 Q1201                  278.76
       6/1/2019    709   DL0029   Owner Operator   Advance                        659-008094 s/u 5 wks                 227.82
       6/1/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
       6/1/2019    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                     9.84
       6/1/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                          8
       6/1/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                          8
       6/1/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        432.01
       6/1/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        380.75
       6/1/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        393.95
       6/1/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        208.01
       6/1/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.1
       6/1/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.19
       6/1/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.73
       6/1/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                      100
       6/1/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                      100
       6/1/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       6/1/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.19
       6/1/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                         13
       6/1/2019    709   DL0107   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 5-25        1183.09
       6/1/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
       6/1/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
       6/1/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        507.05
       6/1/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        379.38
       6/1/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.28
       6/1/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                      100
       6/1/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                            50
       6/1/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                      100
       6/1/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                         13
       6/1/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
       6/1/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
       6/1/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        571.58
       6/1/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.41
       6/1/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        333.98
       6/1/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                     33.17
       6/1/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                        512.35
       6/1/2019    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
       6/1/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                          8
       6/1/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        657.84
       6/1/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
       6/1/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
       6/1/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
       6/1/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       6/1/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        558.25
       6/1/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        166.49
       6/1/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        371.49
       6/1/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                     33.17
       6/1/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        555.56
       6/1/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                          8
       6/1/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.48
       6/1/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                      100
       6/1/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                         13
       6/1/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                           200

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       6/1/2019    709   EO0014   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       6/1/2019    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                           413
       6/1/2019    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                           200
       6/1/2019    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                         327.03
       6/1/2019    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                         466.21
       6/1/2019    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                           327
       6/1/2019    709   EO0014   Owner Operator   IRP License Deduction   LCIL:2019 - 33846                       100
       6/1/2019    709   FS0039   Owner Operator   Communication Charge    PNet Hware 33040                           8
       6/1/2019    709   FS0039   Owner Operator   Fuel Card Advances      Cash Advance                            100
       6/1/2019    709   FS0039   Owner Operator   Fuel Card Advances      Cash Advance                            100
       6/1/2019    709   FS0039   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       6/1/2019    709   FS0039   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       6/1/2019    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                          359.5
       6/1/2019    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                         334.42
       6/1/2019    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                         356.96
       6/1/2019    709   FS0039   Owner Operator   GARNISHMENT             GARNISHMENT 884610662                 909.31
       6/1/2019    709   FS0039   Owner Operator   IRP License Deduction   LCIL:2019 - 33040                       100
       6/1/2019    709   FS0039   Owner Operator   Loan Repayment          Loan # 00002 - Loan Repayment         356.08
       6/1/2019    709   FS0039   Owner Operator   Truck Payment           CTMS - 227489 truck lease 3304        434.29
       6/1/2019    709   FV0001   Owner Operator   Communication Charge    PNet Hware 21521B                         13
       6/1/2019    709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                         508.33
       6/1/2019    709   FV0001   Owner Operator   IRP License Deduction   LCIL:2019 - 21521B                      100
       6/1/2019    709   GA0051   Owner Operator   Communication Charge    PNet Hware 34330                          13
       6/1/2019    709   GA0051   Owner Operator   ESCROW                  Weekly Escrow                             50
       6/1/2019    709   GA0051   Owner Operator   Fuel Purchase           Fuel Purchase                          184.5
       6/1/2019    709   GA0051   Owner Operator   Fuel Purchase           Fuel Purchase                         328.18
       6/1/2019    709   GA0051   Owner Operator   IRP License Deduction   LCIL:2019 - 34330                      33.17
       6/1/2019    709   GA0051   Owner Operator   Tractor Charge          16488 - 34330                         236.77
       6/1/2019    709   GS0015   Owner Operator   Advance                 4/12/19 Clm 73657-1 s/u 250/wk          250
       6/1/2019    709   GS0015   Owner Operator   Communication Charge    PNet Hware Q1110                          13
       6/1/2019    709   GS0015   Owner Operator   Fuel Purchase           Fuel Purchase                         334.47
       6/1/2019    709   GS0015   Owner Operator   IRP License Deduction   LCIL:2019 - Q1110                       100
       6/1/2019    709   GS0015   Owner Operator   Truck Payment           CTMS - 227789 Amortized Balloo        200.15
       6/1/2019    709   GW0043   Owner Operator   Communication Charge    PNet Hware Q1109                           8
       6/1/2019    709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance                            200
       6/1/2019    709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       6/1/2019    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                         124.84
       6/1/2019    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                          82.87
       6/1/2019    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                          198.1
       6/1/2019    709   GW0043   Owner Operator   IRP License Deduction   LCIL:2019 - Q1109                       100
       6/1/2019    709   GW0043   Owner Operator   Loan Repayment          Loan # 00004 - Loan Repayment         252.62
       6/1/2019    709   HC0023   Owner Operator   Communication Charge    PNet Hware Q13170                          8
       6/1/2019    709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                         422.03
       6/1/2019    709   HC0023   Owner Operator   IRP License Deduction   LCIL:2019 - Q13170                      100
       6/1/2019    709   HG0007   Owner Operator   Communication Charge    PNet Hware 34565                           8
       6/1/2019    709   HG0007   Owner Operator   ESCROW                  Weekly Escrow                           100
       6/1/2019    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                         211.69
       6/1/2019    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                         497.43
       6/1/2019    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                         693.59
       6/1/2019    709   HG0007   Owner Operator   IRP License Deduction   LCIL:2019 - 34565                       100
       6/1/2019    709   HG0027   Owner Operator   Communication Charge    PNet Hware 33418                          13
       6/1/2019    709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance                            200
       6/1/2019    709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance                            200
       6/1/2019    709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance                            100
       6/1/2019    709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       6/1/2019    709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       6/1/2019    709   HG0027   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       6/1/2019    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                         365.04
       6/1/2019    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                         251.71
       6/1/2019    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                         397.88
       6/1/2019    709   HG0027   Owner Operator   Fuel Purchase           Fuel Purchase                         430.29
       6/1/2019    709   HG0027   Owner Operator   IRP License Deduction   LCIL:2019 - 33418                       100
       6/1/2019    709   IA0007   Owner Operator   Communication Charge    PNet Hware 34012                           8
       6/1/2019    709   IA0007   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 5-25           130.2
       6/1/2019    709   IA0007   Owner Operator   Fuel Purchase           Fuel Purchase                         338.03
       6/1/2019    709   IA0007   Owner Operator   Fuel Purchase           Fuel Purchase                         441.11
       6/1/2019    709   IA0007   Owner Operator   IRP License Deduction   LCIL:2019 - 34012                       100
       6/1/2019    709   IR0002   Owner Operator   Communication Charge    PNet Hware 32901                           8
       6/1/2019    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                         401.06
       6/1/2019    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                         318.71
       6/1/2019    709   JA0152   Owner Operator   Communication Charge    PNet Hware 34242                           8
       6/1/2019    709   JA0152   Owner Operator   ESCROW                  Weekly Escrow                             50
       6/1/2019    709   JA0152   Owner Operator   Fuel Purchase           Fuel Purchase                         290.13

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       6/1/2019    709   JC0292   Owner Operator   Communication Charge    PNet Hware Q13197                         13
       6/1/2019    709   JC0292   Owner Operator   ESCROW                  Weekly Escrow                           400
       6/1/2019    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                            200
       6/1/2019    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                            200
       6/1/2019    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       6/1/2019    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       6/1/2019    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                          278.7
       6/1/2019    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         378.84
       6/1/2019    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         491.75
       6/1/2019    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         239.05
       6/1/2019    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         375.18
       6/1/2019    709   JC0292   Owner Operator   IRP License Deduction   LCIL:2019 - Q13197                      100
       6/1/2019    709   JC0292   Owner Operator   Toll Charges            Q13197 FDOT CONSULATE - SUNPAS           3.2
       6/1/2019    709   JC0292   Owner Operator   Toll Charges            Q13197 FDOT LEESBURG                   11.76
       6/1/2019    709   JC0292   Owner Operator   Truck Payment           CTMS - 227662 Q13197 Lease            276.63
       6/1/2019    709   JD0211   Owner Operator   Communication Charge    PNet Hware 34325                           8
       6/1/2019    709   JD0211   Owner Operator   ESCROW                  Weekly Escrow                             50
       6/1/2019    709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                          13
       6/1/2019    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                            500
       6/1/2019    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                           5
       6/1/2019    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                         583.44
       6/1/2019    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                          550.7
       6/1/2019    709   JG0017   Owner Operator   IRP License Deduction   LCIL:2019 - 32908                      33.17
       6/1/2019    709   JG0017   Owner Operator   Loan Repayment          Loan # 00005 - Loan Repayment         251.27
       6/1/2019    709   JG0017   Owner Operator   Tire Purchase           PO: 709-00399194 - PO System          365.17
       6/1/2019    709   JG0017   Owner Operator   Tractor Charge          14298 - 32908                          504.6
       6/1/2019    709   JG0017   Owner Operator   US Legal Services       U.S. Legal Services                    32.95
       6/1/2019    709   JG0072   Owner Operator   Communication Charge    PNet Hware 32909                          13
       6/1/2019    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                            500
       6/1/2019    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                           5
       6/1/2019    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                         404.39
       6/1/2019    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                         251.25
       6/1/2019    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                         475.05
       6/1/2019    709   JG0072   Owner Operator   IRP License Deduction   LCIL:2019 - 32909                      33.17
       6/1/2019    709   JG0072   Owner Operator   Tire Purchase           PO: 709-00401262 - PO System           97.62
       6/1/2019    709   JG0072   Owner Operator   Tractor Charge          14534 - 32909                         513.26
       6/1/2019    709   JG0092   Owner Operator   Communication Charge    PNet Hware 33669                           8
       6/1/2019    709   JG0092   Owner Operator   ESCROW                  Weekly Escrow                           150
       6/1/2019    709   JG0092   Owner Operator   Fuel Purchase           Fuel Purchase                         539.11
       6/1/2019    709   JG0092   Owner Operator   Fuel Purchase           Fuel Purchase                         309.43
       6/1/2019    709   JG0092   Owner Operator   IRP License Deduction   LCIL:2019 - 33669                       100
       6/1/2019    709   JQ0015   Owner Operator   Communication Charge    PNet Hware 33438                          13
       6/1/2019    709   JQ0015   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 5-25              74
       6/1/2019    709   JQ0015   Owner Operator   Fuel Card Advances      Cash Advance                            100
       6/1/2019    709   JQ0015   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       6/1/2019    709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                         250.67
       6/1/2019    709   JQ0015   Owner Operator   IRP License Deduction   LCIL:2019 - 33438                       100
       6/1/2019    709   JR0099   Owner Operator   Communication Charge    PNet Hware Q1203                          13
       6/1/2019    709   JR0099   Owner Operator   Fuel Purchase           Fuel Purchase                         560.38
       6/1/2019    709   JR0099   Owner Operator   IRP License Deduction   LCIL:2019 - Q1203                       100
       6/1/2019    709   JR0099   Owner Operator   Truck Payment           CTMS - 227610 Truck Lease             278.76
       6/1/2019    709   JS0265   Owner Operator   Communication Charge    PNet Hware Q13159                          8
       6/1/2019    709   JS0265   Owner Operator   ESCROW                  Weekly Escrow                           100
       6/1/2019    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                            200
       6/1/2019    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                            200
       6/1/2019    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       6/1/2019    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       6/1/2019    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                         397.14
       6/1/2019    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                         158.63
       6/1/2019    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                         413.02
       6/1/2019    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                         390.09
       6/1/2019    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                         242.71
       6/1/2019    709   JS0265   Owner Operator   IRP License Deduction   LCIL:2019 - Q13159                      100
       6/1/2019    709   KP0004   Owner Operator   Communication Charge    PNet Hware 32914                          13
       6/1/2019    709   KP0004   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 5-25          200.49
       6/1/2019    709   KP0004   Owner Operator   ESCROW                  Weekly Escrow                           250
       6/1/2019    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                            100
       6/1/2019    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                            100
       6/1/2019    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       6/1/2019    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       6/1/2019    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                         211.01
       6/1/2019    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                         480.51
       6/1/2019    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                         172.88

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       6/1/2019    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                           340
       6/1/2019    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                        137.01
       6/1/2019    709   KP0004   Owner Operator   IRP License Deduction   LCIL:2019 - 32914                     33.17
       6/1/2019    709   KP0004   Owner Operator   Loan Repayment          Loan # 00010 - Loan Repayment        254.87
       6/1/2019    709   KP0004   Owner Operator   Tractor Charge          14457 - 32914                        519.59
       6/1/2019    709   KT0055   Owner Operator   Accident Claim          05/09/19 KT0055 Contamination          1000
       6/1/2019    709   KT0055   Owner Operator   Advance                 5/9/19 Clm 74007-1 s/u 4 wks          -1000
       6/1/2019    709   KT0055   Owner Operator   Advance                 5/9/19 Clm 74007-1 s/u 4 wks            250
       6/1/2019    709   KT0055   Owner Operator   Communication Charge    PNet Hware Q13156                         8
       6/1/2019    709   KT0055   Owner Operator   ESCROW                  Weekly Escrow                            50
       6/1/2019    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                        200.84
       6/1/2019    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                         161.2
       6/1/2019    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                        349.77
       6/1/2019    709   KT0055   Owner Operator   IRP License Deduction   LCIL:2019 - Q13156                      100
       6/1/2019    709   KT0055   Owner Operator   Tire Purchase           PO: 709-00402610 - PO System         597.32
       6/1/2019    709   LL0160   Owner Operator   Communication Charge    PNet Hware Q1111                          8
       6/1/2019    709   LL0160   Owner Operator   IRP License Deduction   LCIL:2019 - Q1111                       100
       6/1/2019    709   LL0160   Owner Operator   Truck Payment           CTMS - 227731 Lease Q1111            252.11
       6/1/2019    709   LS0023   Owner Operator   Communication Charge    PNet Hware 33655                         13
       6/1/2019    709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance                            200
       6/1/2019    709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
       6/1/2019    709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                        723.03
       6/1/2019    709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                        247.48
       6/1/2019    709   LS0023   Owner Operator   IRP License Deduction   LCIL:2019 - 33655                       100
       6/1/2019    709   LS0023   Owner Operator   Toll Charges            33655 BATA Bay Bridge                    26
       6/1/2019    709   MA0092   Owner Operator   Advance                 11/20/18 Clm 71756-1 s/u pmts           250
       6/1/2019    709   MA0092   Owner Operator   Communication Charge    PNet Hware 34005                          8
       6/1/2019    709   MA0092   Owner Operator   Deferred Negative Pay   ** Net Rebill held from 5-25        1252.02
       6/1/2019    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                        331.47
       6/1/2019    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                        312.22
       6/1/2019    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                        475.27
       6/1/2019    709   MA0092   Owner Operator   IRP License Deduction   LCIL:2019 - 34005                       100
       6/1/2019    709   MD0122   Owner Operator   Communication Charge    PNet Hware 34342                          8
       6/1/2019    709   MD0122   Owner Operator   Fuel Purchase           Fuel Purchase                        205.67
       6/1/2019    709   MD0122   Owner Operator   Fuel Purchase           Fuel Purchase                        328.31
       6/1/2019    709   MD0122   Owner Operator   Fuel Purchase           Fuel Purchase                        107.19
       6/1/2019    709   MD0122   Owner Operator   Fuel Purchase           Fuel Purchase                        258.67
       6/1/2019    709   MD0122   Owner Operator   IRP License Deduction   LCIL:2019 - 34342                       100
       6/1/2019    709   ME0053   Owner Operator   Communication Charge    PNet Hware Q1113                          8
       6/1/2019    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                        599.72
       6/1/2019    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                        465.99
       6/1/2019    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                        303.24
       6/1/2019    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                        499.09
       6/1/2019    709   ME0053   Owner Operator   IRP License Deduction   LCIL:2019 - Q1113                       100
       6/1/2019    709   ME0053   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment        330.39
       6/1/2019    709   ME0053   Owner Operator   Truck Payment           CTMS - 227622 Q1113 Lease            252.11
       6/1/2019    709   MG0067   Owner Operator   Communication Charge    PNet Hware 33435                          8
       6/1/2019    709   MG0067   Owner Operator   Fuel Purchase           Fuel Purchase                        487.02
       6/1/2019    709   MG0067   Owner Operator   Fuel Purchase           Fuel Purchase                        401.74
       6/1/2019    709   MG0067   Owner Operator   IRP License Deduction   LCIL:2019 - 33435                       100
       6/1/2019    709   MP0035   Owner Operator   Communication Charge    PNet Hware 32904                         13
       6/1/2019    709   MP0035   Owner Operator   ESCROW                  Weekly Escrow                           500
       6/1/2019    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance                            280
       6/1/2019    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2.8
       6/1/2019    709   MP0035   Owner Operator   Fuel Purchase           Fuel Purchase                        690.52
       6/1/2019    709   MP0035   Owner Operator   IRP License Deduction   LCIL:2019 - 32904                       100
       6/1/2019    709   NB0029   Owner Operator   Communication Charge    PNet Hware 32986                         13
       6/1/2019    709   NB0029   Owner Operator   ESCROW                  Weekly Escrow                           250
       6/1/2019    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance                            200
       6/1/2019    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance                            200
       6/1/2019    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
       6/1/2019    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
       6/1/2019    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                        263.26
       6/1/2019    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                        449.67
       6/1/2019    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                        271.04
       6/1/2019    709   NB0029   Owner Operator   IRP License Deduction   LCIL:2019 - 32986                       100
       6/1/2019    709   NB0029   Owner Operator   US Legal Services       U.S. Legal Services                   32.95
       6/1/2019    709   NG0005   Owner Operator   Communication Charge    PNet Hware 21412B                        13
       6/1/2019    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance                            200
       6/1/2019    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
       6/1/2019    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                        258.79
       6/1/2019    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                        335.92
       6/1/2019    709   NG0005   Owner Operator   IRP License Deduction   LCIL:2019 - 21412B                      100

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       6/1/2019    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00401697 - PO System          203.41
       6/1/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       6/1/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                       100
       6/1/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 227791 Truck 73130 Leas        196.65
       6/1/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       6/1/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/1/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.61
       6/1/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.82
       6/1/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
       6/1/2019    709   OJ0007   Owner Operator   Repair Order                   CTMS - 227841 REPAIRS                  187.5
       6/1/2019    709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00401261 - PO System          316.92
       6/1/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
       6/1/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       6/1/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.26
       6/1/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         622.23
       6/1/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         728.91
       6/1/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       6/1/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       6/1/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
       6/1/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       6/1/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       6/1/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/1/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/1/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/1/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/1/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.56
       6/1/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.86
       6/1/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
       6/1/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       6/1/2019    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       6/1/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       6/1/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
       6/1/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.94
       6/1/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.13
       6/1/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
       6/1/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       6/1/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       6/1/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.51
       6/1/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.62
       6/1/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.56
       6/1/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                       100
       6/1/2019    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       6/1/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       6/1/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.31
       6/1/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                       100
       6/1/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 227610 Q1202 Truck Leas        278.76
       6/1/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       6/1/2019    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
       6/1/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       6/1/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       6/1/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          554.2
       6/1/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.38
       6/1/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100
       6/1/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100
       6/1/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
       6/1/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
       6/1/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/1/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
       6/1/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       6/1/2019    709   RR0123   Owner Operator   Tire Fee                       Tire Fee: 2273515                          8
       6/1/2019    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00403286 - PO System          204.23
       6/1/2019    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00403286 - PO System          204.23
       6/1/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 227386 Q1248                   311.97
       6/1/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       6/1/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       6/1/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/1/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/1/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.68
       6/1/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.37
       6/1/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
       6/1/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
       6/1/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       6/1/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8

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       6/1/2019    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                        521.55
       6/1/2019    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                        366.27
       6/1/2019    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                        382.83
       6/1/2019    709   SB0103   Owner Operator   IRP License Deduction   LCIL:2019 - 33037                      100
       6/1/2019    709   SB0103   Owner Operator   Loan Repayment          Loan # 00004 - Loan Repayment        256.55
       6/1/2019    709   SM0109   Owner Operator   Communication Charge    PNet Hware 33195                         13
       6/1/2019    709   SM0109   Owner Operator   Fuel Purchase           Fuel Purchase                          410
       6/1/2019    709   SM0109   Owner Operator   Fuel Purchase           Fuel Purchase                          504
       6/1/2019    709   SM0109   Owner Operator   Fuel Purchase           Fuel Purchase                        304.65
       6/1/2019    709   SM0109   Owner Operator   Fuel Purchase           Fuel Purchase                        237.01
       6/1/2019    709   SM0109   Owner Operator   IRP License Deduction   LCIL:2019 - 33195                     33.17
       6/1/2019    709   SM0109   Owner Operator   Tractor Charge          43667 - 33195                         468.6
       6/1/2019    709   SN0019   Owner Operator   Communication Charge    PNet Hware 33461                         13
       6/1/2019    709   SN0019   Owner Operator   Fuel Card Advances      Cash Advance                           100
       6/1/2019    709   SN0019   Owner Operator   Fuel Card Advances      Cash Advance                           100
       6/1/2019    709   SN0019   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
       6/1/2019    709   SN0019   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
       6/1/2019    709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                        145.86
       6/1/2019    709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                        249.16
       6/1/2019    709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                        202.62
       6/1/2019    709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                        351.66
       6/1/2019    709   VB0015   Owner Operator   Communication Charge    PNet Hware Q1112                          8
       6/1/2019    709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                          568
       6/1/2019    709   VB0015   Owner Operator   IRP License Deduction   LCIL:2019 - Q1112                      100
       6/1/2019    709   VJ0006   Owner Operator   Communication Charge    PNet Hware 33961                          8
       6/1/2019    709   VJ0006   Owner Operator   ESCROW                  Weekly Escrow                          200
       6/1/2019    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                           100
       6/1/2019    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                           200
       6/1/2019    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                           200
       6/1/2019    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
       6/1/2019    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
       6/1/2019    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                          1
       6/1/2019    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                        295.85
       6/1/2019    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                        178.15
       6/1/2019    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                        213.81
       6/1/2019    709   VJ0006   Owner Operator   IRP License Deduction   LCIL:2019 - 33961                      100
       6/1/2019    709   VJ0006   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment        259.17
       6/1/2019    709   WH0087   Owner Operator   Fuel Card Advances      Cash Advance                           400
       6/1/2019    709   WH0087   Owner Operator   Fuel Card Advances      Cash Advance Fee                          4
       6/1/2019    709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                        162.33
       6/1/2019    709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                          76.9
       6/1/2019    709   WH0087   Owner Operator   Fuel Purchase           Fuel Purchase                        113.87
       6/1/2019    742   AP0047   Owner Operator   Communication Charge    PNet Hware 32604                         13
       6/1/2019    742   AP0047   Owner Operator   Fuel Purchase           Fuel Purchase                         266.2
       6/1/2019    742   AP0047   Owner Operator   Tire Purchase           PO: 742-00400868 - PO System         207.84
       6/1/2019    742   BS0078   Owner Operator   Communication Charge    PNet Hware Q13151                         8
       6/1/2019    742   BS0078   Owner Operator   Fuel Card Advances      Cash Advance                           250
       6/1/2019    742   BS0078   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2.5
       6/1/2019    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                        370.94
       6/1/2019    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                         412.9
       6/1/2019    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                        401.67
       6/1/2019    742   BS0078   Owner Operator   Fuel Purchase           Fuel Purchase                        371.65
       6/1/2019    742   BS0078   Owner Operator   IRP License Deduction   LCIL:2019 - Q13151                     100
       6/1/2019    742   BS0078   Owner Operator   Tire Purchase           PO: 742-00403093 - PO System          93.84
       6/1/2019    742   BS0078   Owner Operator   Truck Payment           CTMS - 227618 Lease of Q13151        388.16
       6/1/2019    742   CA0089   Owner Operator   Communication Charge    PNet Hware 33832                         13
       6/1/2019    742   CA0089   Owner Operator   Fuel Purchase           Fuel Purchase                         572.2
       6/1/2019    742   CA0089   Owner Operator   Fuel Purchase           Fuel Purchase                        611.58
       6/1/2019    742   CA0089   Owner Operator   IRP License Deduction   LCIL:2019 - 33987                      100
       6/1/2019    742   DA0067   Owner Operator   Communication Charge    PNet Hware 33847                         13
       6/1/2019    742   DA0067   Owner Operator   Fuel Purchase           Fuel Purchase                        421.71
       6/1/2019    742   DA0067   Owner Operator   IRP License Deduction   LCIL:2019 - 33847                      100
       6/1/2019    742   DC0117   Owner Operator   Broker Pre Pass         DriveWyze TRK34063                     9.84
       6/1/2019    742   DC0117   Owner Operator   Communication Charge    PNet Hware 34063                         13
       6/1/2019    742   DC0117   Owner Operator   Communication Charge    PNet Hware 34063                         13
       6/1/2019    742   DC0117   Owner Operator   Fuel Purchase           Fuel Purchase                        378.49
       6/1/2019    742   DC0117   Owner Operator   Fuel Purchase           Fuel Purchase                        525.59
       6/1/2019    742   DC0117   Owner Operator   Fuel Purchase           Fuel Purchase                        734.47
       6/1/2019    742   DC0117   Owner Operator   Fuel Purchase           Fuel Purchase                        262.02
       6/1/2019    742   DC0117   Owner Operator   Fuel Purchase           Fuel Purchase                        680.84
       6/1/2019    742   DC0117   Owner Operator   IRP License Deduction   LCIL:2019 - 34063                      100
       6/1/2019    742   DC0117   Owner Operator   IRP License Deduction   LCIL:2019 - 34063                      100
       6/1/2019    742   DS0254   Owner Operator   Communication Charge    PNet Hware 33487                          8

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       6/1/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/1/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/1/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.99
       6/1/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         568.05
       6/1/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.57
       6/1/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
       6/1/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 227663 Trk 33487 Lease          434.2
       6/1/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       6/1/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          463.5
       6/1/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                       100
       6/1/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       6/1/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       6/1/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       6/1/2019    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
       6/1/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       6/1/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       6/1/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       6/1/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       6/1/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.79
       6/1/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.05
       6/1/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.99
       6/1/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.99
       6/1/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.47
       6/1/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.13
       6/1/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.58
       6/1/2019    742   ED0041   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           206.31
       6/1/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                       100
       6/1/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                       100
       6/1/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                       100
       6/1/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                       100
       6/1/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/1/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/1/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/1/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
       6/1/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       6/1/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       6/1/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       6/1/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       6/1/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       6/1/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       6/1/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       6/1/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.98
       6/1/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.01
       6/1/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.68
       6/1/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.4
       6/1/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
       6/1/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
       6/1/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           6.25
       6/1/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       6/1/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/1/2019    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00402264 - PO System           204.5
       6/1/2019    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00402264 - PO System           204.5
       6/1/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 11                 26
       6/1/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 12                 26
       6/1/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 12                 26
       6/1/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       6/1/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       6/1/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       6/1/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       6/1/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/1/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       6/1/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           220
       6/1/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.65
       6/1/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                       100
       6/1/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
       6/1/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/1/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                       100
       6/1/2019    742   JS0390   Owner Operator   Toll Charges                   34327 ILTOLL Elgin Rd                      5
       6/1/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       6/1/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/1/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                       100
       6/1/2019    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00402445 - PO System           51.74
       6/1/2019    742   MH0117   Owner Operator   Toll Charges                   33296 Chicago Chicago Skyway E          31.2

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       6/1/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ITRCC Gary East/I-65               3.4
       6/1/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ITRCC Westpoint                   7.13
       6/1/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       6/1/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.71
       6/1/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.52
       6/1/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.5
       6/1/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                        100
       6/1/2019    742   NG0024   Owner Operator   Advance                        EFS 216828 s/u 8 wks                   237.5
       6/1/2019    742   NG0024   Owner Operator   Advance                        EFS 216828 s/u 8 wks                   237.5
       6/1/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       6/1/2019    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                      9.84
       6/1/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       6/1/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       6/1/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                             100
       6/1/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/1/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.22
       6/1/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.93
       6/1/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.03
       6/1/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.45
       6/1/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.25
       6/1/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                        100
       6/1/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                        100
       6/1/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/1/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
       6/1/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       6/1/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 227514 repair                     250
       6/1/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 227750 repair                     250
       6/1/2019    742   NG0024   Owner Operator   Toll Charges                   33252 E470 PLAZA D                      18.6
       6/1/2019    742   NG0024   Owner Operator   Toll Charges                   33252 E470 PLAZA E                      18.6
       6/1/2019    742   OS0018   Owner Operator   ESCROW                         Final Balance Refund                   -3750
       6/1/2019    742   OS0018   Owner Operator   FUEL TAX                       March 2019 Fuel/Mileage Tax           621.84
       6/1/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.16
       6/1/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          93.14
       6/1/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       6/1/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.18
       6/1/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.88
       6/1/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.57
       6/1/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                       100
       6/1/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 227667 Tractor Lease           353.28
       6/1/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       6/1/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.17
       6/1/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.64
       6/1/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                        100
       6/1/2019    742   RS0342   Owner Operator   Toll Charges                   33738 OTA Turner Turnpike East         18.05
       6/1/2019    742   RS0342   Owner Operator   Toll Charges                   33738 OTA Will Rogers Turnpike         18.05
       6/1/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       6/1/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       6/1/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/1/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                             200
       6/1/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/1/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.22
       6/1/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                        100
       6/1/2019    742   TC0098   Owner Operator   Tire Purchase                  PO: 742-00402516 - PO System          122.01
       6/1/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 227383 33489 Lease Paym        412.16
       6/1/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 227617 33489 Lease Paym        412.16
       6/1/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       6/1/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                        100
       6/1/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
       6/1/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       6/1/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.12
       6/8/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       6/8/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       6/8/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.61
       6/8/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                       100
       6/8/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       6/8/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       6/8/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       6/8/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       6/8/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.62
       6/8/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.28
       6/8/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.92
       6/8/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                       100

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       6/8/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       6/8/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 227717 Q13147 Lease            440.14
       6/8/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 227999 Q13147 Lease            440.14
       6/8/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       6/8/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       6/8/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       6/8/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.32
       6/8/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.83
       6/8/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.45
       6/8/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.88
       6/8/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.78
       6/8/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.57
       6/8/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  13.79
       6/8/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                      100
       6/8/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       6/8/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 227731 Q13169 Sublease         352.68
       6/8/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 227998 Q13169 Sublease         352.68
       6/8/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       6/8/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       6/8/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                       100
       6/8/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       6/8/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       6/8/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       6/8/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       6/8/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/8/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            400
       6/8/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
       6/8/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/8/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.43
       6/8/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.28
       6/8/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.26
       6/8/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.29
       6/8/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
       6/8/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
       6/8/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       6/8/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 227621 Q13168 sub lease        352.68
       6/8/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 227903 Q13168 sub lease        352.68
       6/8/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/8/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       6/8/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.77
       6/8/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         639.06
       6/8/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
       6/8/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.04
       6/8/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       6/8/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/8/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       6/8/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       6/8/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       6/8/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       6/8/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       6/8/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.59
       6/8/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.41
       6/8/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.56
       6/8/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
       6/8/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
       6/8/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       6/8/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
       6/8/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 227946 Q1247 Sub Lease         263.91
       6/8/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       6/8/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       6/8/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.62
       6/8/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                       100
       6/8/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       6/8/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 227902 Q1201                   278.76
       6/8/2019    709   DL0029   Owner Operator   Advance                        659-008094 s/u 5 wks                  227.82
       6/8/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75

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       6/8/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       6/8/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.95
       6/8/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.96
       6/8/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.15
       6/8/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.1
       6/8/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.85
       6/8/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.67
       6/8/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                       100
       6/8/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       6/8/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       6/8/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       6/8/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       6/8/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       6/8/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.91
       6/8/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.85
       6/8/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.68
       6/8/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         662.72
       6/8/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                       100
       6/8/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       6/8/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 227662 Sublease                338.99
       6/8/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 227942 Sublease                338.99
       6/8/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       6/8/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/8/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.04
       6/8/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                       100
       6/8/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       6/8/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       6/8/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/8/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       6/8/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/8/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/8/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         708.91
       6/8/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
       6/8/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       6/8/2019    709   DS0049   Owner Operator   Toll Charges                   32915 BATA Bay Bridge                     26
       6/8/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       6/8/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       6/8/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       6/8/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.95
       6/8/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       6/8/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       6/8/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       6/8/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       6/8/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/8/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/8/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.2
       6/8/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.15
       6/8/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.71
       6/8/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                       100
       6/8/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                       100
       6/8/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
       6/8/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/8/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       6/8/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       6/8/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.15
       6/8/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.14
       6/8/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.93
       6/8/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
       6/8/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       6/8/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56

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       6/8/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       6/8/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       6/8/2019    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           500
       6/8/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         783.38
       6/8/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                       100
       6/8/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       6/8/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       6/8/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       6/8/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       6/8/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            300
       6/8/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       6/8/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.73
       6/8/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           364
       6/8/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           470
       6/8/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           406
       6/8/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                       100
       6/8/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       6/8/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       6/8/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       6/8/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       6/8/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/8/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/8/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/8/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/8/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.31
       6/8/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.4
       6/8/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.79
       6/8/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.44
       6/8/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 349.53
       6/8/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                       100
       6/8/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
       6/8/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       6/8/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 227731 truck lease 3304        434.29
       6/8/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 227998 truck lease 3304        434.29
       6/8/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/8/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       6/8/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.29
       6/8/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.74
       6/8/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.97
       6/8/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                      100
       6/8/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
       6/8/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       6/8/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
       6/8/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/8/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/8/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/8/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.72
       6/8/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
       6/8/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
       6/8/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       6/8/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
       6/8/2019    709   GS0015   Owner Operator   Advance                        4/12/19 Clm 73657-1 s/u 250/wk          250
       6/8/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       6/8/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       6/8/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.72
       6/8/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.24
       6/8/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                       100
       6/8/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       6/8/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 228056 Amortized Balloo        200.15
       6/8/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       6/8/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                       100
       6/8/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         252.62
       6/8/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       6/8/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD              44.11
       6/8/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 227539 Q1109 Lease              302.85
       6/8/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 227784 Q1109 Lease               81.78
       6/8/2019    709   HC0023   Owner Operator   Accident Claim                 05/27/19 HC0023 Spill                 4287.33
       6/8/2019    709   HC0023   Owner Operator   Accident Claim                 05/27/19 HC0023 Spill                    2000
       6/8/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks             250
       6/8/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks        -6287.33
       6/8/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             8.75
       6/8/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                           8
       6/8/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.92
       6/8/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          599.39
       6/8/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                        100
       6/8/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/8/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             35.16
       6/8/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 227622 Q13170                   352.68
       6/8/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 227903 Q13170                   352.68
       6/8/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                        8.75
       6/8/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                            8
       6/8/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                             100
       6/8/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          588.56
       6/8/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          212.93
       6/8/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          502.16
       6/8/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                         100
       6/8/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/8/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        98.05
       6/8/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
       6/8/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                           13
       6/8/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                              200
       6/8/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                              200
       6/8/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                              100
       6/8/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       6/8/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       6/8/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       6/8/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.52
       6/8/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          336.32
       6/8/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.74
       6/8/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                         100
       6/8/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/8/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       54.69
       6/8/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
       6/8/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                            8
       6/8/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          454.56
       6/8/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          429.17
       6/8/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.78
       6/8/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                         100
       6/8/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/8/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    51.57
       6/8/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                     21.35
       6/8/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       6/8/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                            8
       6/8/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          419.46
       6/8/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          177.15
       6/8/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          358.41
       6/8/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/8/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.64
       6/8/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       6/8/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
       6/8/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
       6/8/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                              50
       6/8/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                           338.4
       6/8/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       6/8/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    27.35
       6/8/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                     13.98
       6/8/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
       6/8/2019    709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 228070 Trailer acid was            -71
       6/8/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          13
       6/8/2019    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                       -7000
       6/8/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                             400
       6/8/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                              200
       6/8/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                              200
       6/8/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       6/8/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       6/8/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                           276.4

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       6/8/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.1
       6/8/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.91
       6/8/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.52
       6/8/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                      100
       6/8/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       6/8/2019    709   JC0292   Owner Operator   Repair Order                   CTMS - 227609 REPAIRS                 331.22
       6/8/2019    709   JC0292   Owner Operator   Repair Order                   CTMS - 227867 REPAIRS                 331.22
       6/8/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 HCTRA Sam Houston - Red             4
       6/8/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 227943 Q13197 Lease            276.63
       6/8/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       6/8/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
       6/8/2019    709   JD0211   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-15        -837.61
       6/8/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/8/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
       6/8/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       6/8/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/8/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       6/8/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/8/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/8/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          499.6
       6/8/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.75
       6/8/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
       6/8/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         251.27
       6/8/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       6/8/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       6/8/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/8/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       6/8/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/8/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/8/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.54
       6/8/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.21
       6/8/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.07
       6/8/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.33
       6/8/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
       6/8/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       6/8/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       6/8/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       6/8/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       6/8/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           150
       6/8/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.33
       6/8/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.09
       6/8/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.08
       6/8/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                       100
       6/8/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
       6/8/2019    709   JG0092   Owner Operator   Toll Charges                   33669 BATA San Mateo                      26
       6/8/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       6/8/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       6/8/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
       6/8/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.05
       6/8/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 33438                       100
       6/8/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       6/8/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
       6/8/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       6/8/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       6/8/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         571.06
       6/8/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                       100
       6/8/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       6/8/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 227867 Truck Lease             278.76
       6/8/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       6/8/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       6/8/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
       6/8/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       6/8/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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       6/8/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                           366
       6/8/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.99
       6/8/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.41
       6/8/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.05
       6/8/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.79
       6/8/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                      100
       6/8/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       6/8/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       6/8/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
       6/8/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 227726 Q13159 Lease             331.5
       6/8/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 227993 Q13159 Lease             331.5
       6/8/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/8/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       6/8/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         181.12
       6/8/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/8/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/8/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.27
       6/8/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           295
       6/8/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
       6/8/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
       6/8/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       6/8/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/8/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       6/8/2019    709   KT0055   Owner Operator   Advance                        5/9/19 Clm 74007-1 s/u 4 wks            250
       6/8/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
       6/8/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       6/8/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/8/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.84
       6/8/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.53
       6/8/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.67
       6/8/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.95
       6/8/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.07
       6/8/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                      100
       6/8/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
       6/8/2019    709   KT0055   Owner Operator   Tire Purchase                  PO: 709-00402610 - PO System          597.32
       6/8/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 227617 Q13156 Lease            388.16
       6/8/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 227898 Q13156 Lease            388.16
       6/8/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       6/8/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       6/8/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                       100
       6/8/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       6/8/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 227998 Lease Q1111             252.11
       6/8/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       6/8/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       6/8/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.41
       6/8/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.65
       6/8/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                       100
       6/8/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
       6/8/2019    709   MA0092   Owner Operator   Advance                        11/20/18 Clm 71756-1 s/u pmts           250
       6/8/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       6/8/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       6/8/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.22
       6/8/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.91
       6/8/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                       100
       6/8/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       6/8/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       6/8/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       6/8/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
       6/8/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.92
       6/8/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                       100
       6/8/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
       6/8/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       6/8/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8

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       6/8/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                           84.8
       6/8/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.04
       6/8/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.59
       6/8/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.49
       6/8/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                       100
       6/8/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
       6/8/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       6/8/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 227903 Q1113 Lease             252.11
       6/8/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       6/8/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       6/8/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.36
       6/8/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                       100
       6/8/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       6/8/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       6/8/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       6/8/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
       6/8/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
       6/8/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
       6/8/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
       6/8/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.87
       6/8/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                       100
       6/8/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
       6/8/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       6/8/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       6/8/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       6/8/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
       6/8/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
       6/8/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.45
       6/8/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.1
       6/8/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.01
       6/8/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                       100
       6/8/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       6/8/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       6/8/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
       6/8/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       6/8/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 227664 32986 Lease             314.03
       6/8/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 227944 32986 Lease             314.03
       6/8/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       6/8/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       6/8/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.09
       6/8/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.16
       6/8/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                      100
       6/8/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       6/8/2019    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00401697 - PO System          203.41
       6/8/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       6/8/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       6/8/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                       100
       6/8/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       6/8/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 228058 Truck 73130 Leas        196.65
       6/8/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       6/8/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       6/8/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/8/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.31
       6/8/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.43
       6/8/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.64
       6/8/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
       6/8/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
       6/8/2019    709   OJ0007   Owner Operator   Tire Purchase                  PO: 709-00401261 - PO System          316.89
       6/8/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
       6/8/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       6/8/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       6/8/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.88

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       6/8/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.53
       6/8/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       6/8/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       6/8/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/8/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       6/8/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       6/8/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.61
       6/8/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
       6/8/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       6/8/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/8/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       6/8/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/8/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       6/8/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.07
       6/8/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.24
       6/8/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
       6/8/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       6/8/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       6/8/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       6/8/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       6/8/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
       6/8/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.57
       6/8/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.83
       6/8/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.64
       6/8/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.38
       6/8/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
       6/8/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
       6/8/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       6/8/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       6/8/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       6/8/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       6/8/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       6/8/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.02
       6/8/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          483.5
       6/8/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                       100
       6/8/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       6/8/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       6/8/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       6/8/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.55
       6/8/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.01
       6/8/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                       100
       6/8/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       6/8/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 227868 Q1202 Truck Leas        278.76
       6/8/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       6/8/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       6/8/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.46
       6/8/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         607.03
       6/8/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100
       6/8/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
       6/8/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       6/8/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       6/8/2019    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00403286 - PO System          204.23
       6/8/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 227621 Q1248                   311.97
       6/8/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 227902 Q1248                   311.97
       6/8/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       6/8/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       6/8/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       6/8/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.57
       6/8/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.58
       6/8/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.12

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       6/8/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.7
       6/8/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
       6/8/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
       6/8/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       6/8/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       6/8/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       6/8/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       6/8/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.04
       6/8/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.82
       6/8/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         641.01
       6/8/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                        100
       6/8/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
       6/8/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       6/8/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       6/8/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 227606 Sub Lease               388.33
       6/8/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 227863 Sub Lease               388.33
       6/8/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       6/8/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
       6/8/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.87
       6/8/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            206
       6/8/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            464
       6/8/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
       6/8/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
       6/8/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       6/8/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       6/8/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       6/8/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
       6/8/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/8/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.82
       6/8/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.03
       6/8/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.35
       6/8/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       6/8/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       6/8/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       6/8/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.05
       6/8/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            601
       6/8/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            317
       6/8/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                        100
       6/8/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       6/8/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       6/8/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/8/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       6/8/2019    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                      -4000
       6/8/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
       6/8/2019    709   VJ0006   Owner Operator   Express Check                  T-Check Payment                         4000
       6/8/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.7
       6/8/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.53
       6/8/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                        100
       6/8/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
       6/8/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       6/8/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       6/8/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       6/8/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       6/8/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       6/8/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       6/8/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       6/8/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       6/8/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
       6/8/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
       6/8/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.03
       6/8/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.13
       6/8/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.55
       6/8/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.71
       6/8/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.72

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       6/8/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          62.92
       6/8/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                       100
       6/8/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                       100
       6/8/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       6/8/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 227621 Q1238 Lease             311.97
       6/8/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 227902 Q1238 Lease             311.97
       6/8/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       6/8/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       6/8/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/8/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/8/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.36
       6/8/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       6/8/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       6/8/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       6/8/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
       6/8/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.01
       6/8/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.62
       6/8/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.23
       6/8/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.92
       6/8/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.02
       6/8/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.34
       6/8/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                      100
       6/8/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
       6/8/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       6/8/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00403093 - PO System           93.84
       6/8/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Northwest            4.4
       6/8/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 227899 Lease of Q13151         388.16
       6/8/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       6/8/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       6/8/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.48
       6/8/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.12
       6/8/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.58
       6/8/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.73
       6/8/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
       6/8/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       6/8/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/8/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       6/8/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.03
       6/8/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.01
       6/8/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.01
       6/8/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.49
       6/8/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.44
       6/8/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.03
       6/8/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          321.5
       6/8/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.29
       6/8/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
       6/8/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       6/8/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/8/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       6/8/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         657.64
       6/8/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                       100
       6/8/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       6/8/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       6/8/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.32
       6/8/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.68
       6/8/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.89
       6/8/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
       6/8/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       6/8/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       6/8/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 227943 Trk 33487 Lease          434.2
       6/8/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/8/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       6/8/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         632.36
       6/8/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         626.89
       6/8/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                       100

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       6/8/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       6/8/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       6/8/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/8/2019    742   EN0016   Owner Operator   Charge back by affiliate       CTMS - 228030 trailer wash               -38
       6/8/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       6/8/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.25
       6/8/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.43
       6/8/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.48
       6/8/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.79
       6/8/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
       6/8/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       6/8/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/8/2019    742   EN0016   Owner Operator   Tire Purchase                  PO: 742-00402264 - PO System          204.47
       6/8/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       6/8/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       6/8/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       6/8/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       6/8/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       6/8/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       6/8/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       6/8/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/8/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.46
       6/8/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           257
       6/8/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           410
       6/8/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           220
       6/8/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                       100
       6/8/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       6/8/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/8/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
       6/8/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/8/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.47
       6/8/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.52
       6/8/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                           467
       6/8/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                       100
       6/8/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
       6/8/2019    742   JS0390   Owner Operator   Toll Charges                   34327 BATA Carquinez Bridge               16
       6/8/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       6/8/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       6/8/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.41
       6/8/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.87
       6/8/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                       100
       6/8/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       6/8/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       6/8/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
       6/8/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
       6/8/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
       6/8/2019    742   NG0024   Owner Operator   Advance                        EFS 216828 s/u 8 wks                   237.5
       6/8/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       6/8/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       6/8/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/8/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/8/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.53
       6/8/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.48
       6/8/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.94
       6/8/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                       100
       6/8/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       6/8/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       6/8/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 227964 repair                    250
       6/8/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       6/8/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/8/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       6/8/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       6/8/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.08
       6/8/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.75
       6/8/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
       6/8/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
       6/8/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.01

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       6/8/2019    742   PC0012   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         260.23
       6/8/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       6/8/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         416.04
       6/8/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       6/8/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       6/8/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       6/8/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.54
       6/8/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.72
       6/8/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.22
       6/8/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.85
       6/8/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.14
       6/8/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.39
       6/8/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                      100
       6/8/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       6/8/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       6/8/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 227948 Tractor Lease           353.28
       6/8/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       6/8/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       6/8/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.46
       6/8/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                       100
       6/8/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       6/8/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       6/8/2019    742   RS0342   Owner Operator   Toll Charges                   33738 OTA Turner Turnpike Wes          18.05
       6/8/2019    742   RS0342   Owner Operator   Toll Charges                   33738 OTA Will Rogers Turnpike         18.05
       6/8/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       6/8/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       6/8/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       6/8/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       6/8/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       6/8/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       6/8/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/8/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/8/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/8/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.11
       6/8/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.33
       6/8/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.67
       6/8/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.41
       6/8/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                       100
       6/8/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
       6/8/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       6/8/2019    742   TC0098   Owner Operator   T Chek Fee                     ExpressCheck Fee                       16.03
       6/8/2019    742   TC0098   Owner Operator   T Chek Fee                     Tractor Repair 33489                 1602.56
       6/8/2019    742   TC0098   Owner Operator   Tire Purchase                  PO: 742-00402516 - PO System          122.01
       6/8/2019    742   TC0098   Owner Operator   Toll Charges                   33489 HCTRA Sam Houston - East          5.25
       6/8/2019    742   TC0098   Owner Operator   Toll Charges                   33489 HCTRA Ship Channel Bridg             7
       6/8/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 227898 33489 Lease Paym        412.16
       6/8/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       6/8/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       6/8/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.93
       6/8/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                       100
       6/8/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       6/8/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       6/8/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
       6/8/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               16
       6/8/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       6/8/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       6/8/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.07
       6/8/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/8/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       6/8/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      6/15/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      6/15/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      6/15/2019    709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
      6/15/2019    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      6/15/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      6/15/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      6/15/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/15/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50

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      6/15/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.56
      6/15/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.54
      6/15/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.11
      6/15/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                      100
      6/15/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                      100
      6/15/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      6/15/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      6/15/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 228056 Q13148 Trac Leas        296.09
      6/15/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 228383 Q13148 Trac Leas        296.09
      6/15/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      6/15/2019    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
      6/15/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      6/15/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                      100
      6/15/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      6/15/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      6/15/2019    709   AN0007   Owner Operator   Repair Order                   CTMS - 228350 Solvay fuel            -100.34
      6/15/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      6/15/2019    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      6/15/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      6/15/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.95
      6/15/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.39
      6/15/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           206
      6/15/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                      100
      6/15/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      6/15/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 228317 Q13147 Lease            440.14
      6/15/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      6/15/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      6/15/2019    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      6/15/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      6/15/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.92
      6/15/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.17
      6/15/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.96
      6/15/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  66.09
      6/15/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                      100
      6/15/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      6/15/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 228316 Q13169 Sublease         352.68
      6/15/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      6/15/2019    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      6/15/2019    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      6/15/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      6/15/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                       100
      6/15/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      6/15/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      6/15/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      6/15/2019    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      6/15/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      6/15/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/15/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/15/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.01
      6/15/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.15
      6/15/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.28
      6/15/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.08
      6/15/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.97
      6/15/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
      6/15/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      6/15/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      6/15/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 228155 Q13168 sub lease        352.68
      6/15/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/15/2019    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      6/15/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      6/15/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      6/15/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         742.89
      6/15/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.83
      6/15/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      6/15/2019    709   CM0119   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         258.86
      6/15/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      6/15/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/15/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      6/15/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      6/15/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      6/15/2019    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                      9.84
      6/15/2019    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
      6/15/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      6/15/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      6/15/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.37
      6/15/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.73
      6/15/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.01
      6/15/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.04
      6/15/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
      6/15/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
      6/15/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      6/15/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      6/15/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 228239 Q1247 Sub Lease         263.91
      6/15/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      6/15/2019    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                      9.84
      6/15/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      6/15/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.22
      6/15/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                       100
      6/15/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      6/15/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 228154 Q1201                   278.76
      6/15/2019    709   DL0029   Owner Operator   Advance                        659-008094 s/u 5 wks                  227.82
      6/15/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/15/2019    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                      9.84
      6/15/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      6/15/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.06
      6/15/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.61
      6/15/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.88
      6/15/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          480.1
      6/15/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.78
      6/15/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.41
      6/15/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.93
      6/15/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                       100
      6/15/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      6/15/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      6/15/2019    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      6/15/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      6/15/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/15/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/15/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.63
      6/15/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.15
      6/15/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.03
      6/15/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                       100
      6/15/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      6/15/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 228236 Sublease                338.99
      6/15/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      6/15/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/15/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                       100
      6/15/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      6/15/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      6/15/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/15/2019    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                      9.84
      6/15/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      6/15/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/15/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/15/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          796.3
      6/15/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.75

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      6/15/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      6/15/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      6/15/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      6/15/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      6/15/2019    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                      9.84
      6/15/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      6/15/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         656.37
      6/15/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      6/15/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      6/15/2019    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      6/15/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      6/15/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/15/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      6/15/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      6/15/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.37
      6/15/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.96
      6/15/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                       100
      6/15/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      6/15/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/15/2019    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                      9.84
      6/15/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      6/15/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/15/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.28
      6/15/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.52
      6/15/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.63
      6/15/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      6/15/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      6/15/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      6/15/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      6/15/2019    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      6/15/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      6/15/2019    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           500
      6/15/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.39
      6/15/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                       100
      6/15/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      6/15/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      6/15/2019    709   EG0062   Owner Operator   Tire Fee                       Tire Fee: 2283334                         32
      6/15/2019    709   EG0062   Owner Operator   Tire Purchase                  PO: 709-00405277 - PO System          784.39
      6/15/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      6/15/2019    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      6/15/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      6/15/2019    709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-22        -845.76
      6/15/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.95
      6/15/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.58
      6/15/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           243
      6/15/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           255
      6/15/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                       100
      6/15/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      6/15/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      6/15/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      6/15/2019    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      6/15/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      6/15/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/15/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/15/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.75
      6/15/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 865.05
      6/15/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                       100
      6/15/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      6/15/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      6/15/2019    709   FS0039   Owner Operator   Repair Order                   CTMS - 228350 Solvary Trailer             -7
      6/15/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 228316 truck lease 3304        434.29
      6/15/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75

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      6/15/2019    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521B                     9.84
      6/15/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      6/15/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                      100
      6/15/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      6/15/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/15/2019    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRK34330                      9.84
      6/15/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      6/15/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/15/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.61
      6/15/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      6/15/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      6/15/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      6/15/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      6/15/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      6/15/2019    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      6/15/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      6/15/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.11
      6/15/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.91
      6/15/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                       100
      6/15/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      6/15/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 228383 Amortized Balloo        200.15
      6/15/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      6/15/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.76
      6/15/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.96
      6/15/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                       100
      6/15/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         252.62
      6/15/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      6/15/2019    709   GW0043   Owner Operator   T Chek Fee                     ExpressCheck Fee                       10.27
      6/15/2019    709   GW0043   Owner Operator   T Chek Fee                     Tractor Repair Q1109                   64.77
      6/15/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 227784 Q1109 Lease             221.07
      6/15/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      6/15/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      6/15/2019    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      6/15/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      6/15/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.49
      6/15/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          35.54
      6/15/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.84
      6/15/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                      100
      6/15/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      6/15/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 228155 Q13170                  352.68
      6/15/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      6/15/2019    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                      9.84
      6/15/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      6/15/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/15/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                              40
      6/15/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      6/15/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          784.3
      6/15/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.07
      6/15/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                       100
      6/15/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      6/15/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/15/2019    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      6/15/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      6/15/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/15/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/15/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.88
      6/15/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.82
      6/15/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.82
      6/15/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.98
      6/15/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                       100
      6/15/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      6/15/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      6/15/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/15/2019    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      6/15/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      6/15/2019    709   IA0007   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-22        -143.37
      6/15/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.93
      6/15/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                       100
      6/15/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      6/15/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      6/15/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/15/2019    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      6/15/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      6/15/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.12
      6/15/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      6/15/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/15/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/15/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      6/15/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/15/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      6/15/2019    709   JA0156   Owner Operator   *Arrears Collection W/O        Applicable Amount to Arrears           13.02
      6/15/2019    709   JA0156   Owner Operator   Broker Pay Void/Reissue        Vd Check 974715                       -13.02
      6/15/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      6/15/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      6/15/2019    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      6/15/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      6/15/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      6/15/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.51
      6/15/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.18
      6/15/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.86
      6/15/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                      100
      6/15/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      6/15/2019    709   JC0292   Owner Operator   Repair Order                   CTMS - 228113 REPAIRS                 331.22
      6/15/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 HCTRA Ship Channel Brid             7
      6/15/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 228236 Q13197 Lease            276.63
      6/15/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      6/15/2019    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                      9.84
      6/15/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      6/15/2019    709   JD0211   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-8           837.61
      6/15/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/15/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      6/15/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      6/15/2019    709   JD0211   Owner Operator   Tire Fee                       Tire Fee: 2282855                          4
      6/15/2019    709   JD0211   Owner Operator   Tire Purchase                  PO: 709-00404841 - PO System            18.9
      6/15/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/15/2019    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                      9.84
      6/15/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      6/15/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/15/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/15/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.51
      6/15/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.22
      6/15/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.73
      6/15/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      6/15/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         251.27
      6/15/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      6/15/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      6/15/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/15/2019    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                      9.84
      6/15/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      6/15/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/15/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/15/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.05
      6/15/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.43
      6/15/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17

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      6/15/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      6/15/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      6/15/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/15/2019    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                      9.84
      6/15/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      6/15/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                            150
      6/15/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.75
      6/15/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.02
      6/15/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                        100
      6/15/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      6/15/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      6/15/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/15/2019    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                      9.84
      6/15/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                          13
      6/15/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      6/15/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.7
      6/15/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.21
      6/15/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.34
      6/15/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.06
      6/15/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 33438                        100
      6/15/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      6/15/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      6/15/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      6/15/2019    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      6/15/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      6/15/2019    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-22           -186
      6/15/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.98
      6/15/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                        100
      6/15/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      6/15/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 228114 Truck Lease             278.76
      6/15/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      6/15/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      6/15/2019    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                     9.84
      6/15/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      6/15/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      6/15/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/15/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/15/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.45
      6/15/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.61
      6/15/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.9
      6/15/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.67
      6/15/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                       100
      6/15/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      6/15/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      6/15/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      6/15/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/15/2019    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      6/15/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      6/15/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      6/15/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          68.88
      6/15/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/15/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              30
      6/15/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.3
      6/15/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/15/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.04
      6/15/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            240
      6/15/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.44
      6/15/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      6/15/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      6/15/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      6/15/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/15/2019    709   KP0004   Owner Operator   Repair Order                   CTMS - 227842 REPAIR                     265
      6/15/2019    709   KP0004   Owner Operator   Repair Order                   CTMS - 228050 REPAIR                     265
      6/15/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      6/15/2019    709   KT0055   Owner Operator   Advance                        5/9/19 Clm 74007-1 s/u 4 wks             250

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      6/15/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      6/15/2019    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                     9.84
      6/15/2019    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      6/15/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      6/15/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/15/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.78
      6/15/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                      100
      6/15/2019    709   KT0055   Owner Operator   Loan Repayment                 EFS 220968                          -4107.62
      6/15/2019    709   KT0055   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          298.5
      6/15/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      6/15/2019    709   KT0055   Owner Operator   T Chek Fee                     ExpressCheck Fee                       40.67
      6/15/2019    709   KT0055   Owner Operator   T Chek Fee                     Tractor Repair Q13156                4066.95
      6/15/2019    709   KT0055   Owner Operator   Tire Purchase                  PO: 709-00402610 - PO System          597.27
      6/15/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 228150 Q13156 Lease            388.16
      6/15/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      6/15/2019    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      6/15/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      6/15/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                       100
      6/15/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      6/15/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 228316 Lease Q1111             252.11
      6/15/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      6/15/2019    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                      9.84
      6/15/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      6/15/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           199
      6/15/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.08
      6/15/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                       100
      6/15/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      6/15/2019    709   MA0092   Owner Operator   Advance                        11/20/18 Clm 71756-1 s/u pmts           250
      6/15/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/15/2019    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      6/15/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      6/15/2019    709   MA0092   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-22        -145.33
      6/15/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.61
      6/15/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.36
      6/15/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.55
      6/15/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.22
      6/15/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                       100
      6/15/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      6/15/2019    709   MA0092   Owner Operator   Tire Fee                       Tire Fee: 2281834                         16
      6/15/2019    709   MA0092   Owner Operator   Tire Purchase                  PO: 709-00403295 - PO System          356.04
      6/15/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      6/15/2019    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      6/15/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      6/15/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/15/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.55
      6/15/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                       100
      6/15/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      6/15/2019    709   MD0122   Owner Operator   Tire Fee                       Tire Fee: 2282463                         16
      6/15/2019    709   MD0122   Owner Operator   Tire Purchase                  PO: 709-00404541 - PO System          365.05
      6/15/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      6/15/2019    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                      9.84
      6/15/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      6/15/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.39
      6/15/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.62
      6/15/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.47
      6/15/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.66
      6/15/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                       100
      6/15/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      6/15/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      6/15/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 228155 Q1113 Lease             252.11
      6/15/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/15/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      6/15/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.47
      6/15/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.04

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      6/15/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                       100
      6/15/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      6/15/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/15/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/15/2019    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                      9.84
      6/15/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          13
      6/15/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      6/15/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                       100
      6/15/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      6/15/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/15/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      6/15/2019    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      6/15/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      6/15/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.68
      6/15/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.21
      6/15/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.21
      6/15/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                      100
      6/15/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      6/15/2019    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00401697 - PO System          203.38
      6/15/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      6/15/2019    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      6/15/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      6/15/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                       100
      6/15/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      6/15/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 228385 Truck 73130 Leas        196.65
      6/15/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/15/2019    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
      6/15/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      6/15/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/15/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.08
      6/15/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           72.9
      6/15/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.29
      6/15/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      6/15/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      6/15/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      6/15/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      6/15/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      6/15/2019    709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
      6/15/2019    709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
      6/15/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      6/15/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      6/15/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      6/15/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      6/15/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      6/15/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/15/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/15/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/15/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/15/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/15/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/15/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.1
      6/15/2019    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2019 - Q1241                       100
      6/15/2019    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2019 - Q1241                       100
      6/15/2019    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2019 - Q1241                       100
      6/15/2019    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2019 - Q1241                       100
      6/15/2019    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2019 - Q1241                       100
      6/15/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   RB0170   Owner Operator   Permits1                       IL02:2019 - Q1241                       3.75
      6/15/2019    709   RB0170   Owner Operator   Permits1                       NM07:2019 - Q1241                         10
      6/15/2019    709   RB0170   Owner Operator   Permits1                       NY13:2019 - Q1241                        1.5
      6/15/2019    709   RB0170   Owner Operator   Permits1                       OR16:2019 - Q1241                        8.5
      6/15/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      6/15/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      6/15/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      6/15/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8

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      6/15/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         568.42
      6/15/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.27
      6/15/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      6/15/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      6/15/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/15/2019    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      6/15/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      6/15/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/15/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         577.54
      6/15/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      6/15/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      6/15/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/15/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      6/15/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/15/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      6/15/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.44
      6/15/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.42
      6/15/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.13
      6/15/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          526.9
      6/15/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      6/15/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      6/15/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      6/15/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      6/15/2019    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      6/15/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      6/15/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/15/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.26
      6/15/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.28
      6/15/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.47
      6/15/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      6/15/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      6/15/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      6/15/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      6/15/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      6/15/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      6/15/2019    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      6/15/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      6/15/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.87
      6/15/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.03
      6/15/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.26
      6/15/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                       100
      6/15/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      6/15/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      6/15/2019    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      6/15/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      6/15/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.57
      6/15/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                       100
      6/15/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      6/15/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 228114 Q1202 Truck Leas        278.76
      6/15/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      6/15/2019    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      6/15/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      6/15/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/15/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/15/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/15/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/15/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.14
      6/15/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.84
      6/15/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100
      6/15/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      6/15/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      6/15/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5

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      6/15/2019    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00403286 - PO System          189.51
      6/15/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 228154 Q1248                   311.97
      6/15/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   5.27
      6/15/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.94
      6/15/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.11
      6/15/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      6/15/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      6/15/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      6/15/2019    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      6/15/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      6/15/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.43
      6/15/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.05
      6/15/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                       100
      6/15/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      6/15/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      6/15/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      6/15/2019    709   SB0103   Owner Operator   Tire Fee                       Tire Fee: 2283351                          4
      6/15/2019    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00405871 - PO System          101.51
      6/15/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 228109 Sub Lease               388.33
      6/15/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      6/15/2019    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      6/15/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      6/15/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           686
      6/15/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.59
      6/15/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      6/15/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           380
      6/15/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      6/15/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      6/15/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      6/15/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      6/15/2019    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.84
      6/15/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      6/15/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.47
      6/15/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.15
      6/15/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      6/15/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      6/15/2019    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      6/15/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      6/15/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-22        -128.95
      6/15/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.02
      6/15/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                       100
      6/15/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      6/15/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      6/15/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/15/2019    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      6/15/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      6/15/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      6/15/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.99
      6/15/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.6
      6/15/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.15
      6/15/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                       100
      6/15/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      6/15/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      6/15/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/15/2019    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      6/15/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      6/15/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      6/15/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      6/15/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      6/15/2019    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      6/15/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      6/15/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           33.6
      6/15/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.81

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      6/15/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.79
      6/15/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.05
      6/15/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                       100
      6/15/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      6/15/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 228154 Q1238 Lease             311.97
      6/15/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      6/15/2019    742   AP0047   Owner Operator   Broker Pre Pass                DriveWyze TRK32604                      9.84
      6/15/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      6/15/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/15/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/15/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/15/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/15/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/15/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/15/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.88
      6/15/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.86
      6/15/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.05
      6/15/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      6/15/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      6/15/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      6/15/2019    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13151                     9.84
      6/15/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      6/15/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.58
      6/15/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.44
      6/15/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.79
      6/15/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.28
      6/15/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           3.85
      6/15/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.26
      6/15/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.82
      6/15/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                      100
      6/15/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      6/15/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      6/15/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00403093 - PO System           93.81
      6/15/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Spencer Ma          8.48
      6/15/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 228151 Lease of Q13151         388.16
      6/15/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      6/15/2019    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      6/15/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      6/15/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.83
      6/15/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.18
      6/15/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.86
      6/15/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
      6/15/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      6/15/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/15/2019    742   DA0067   Owner Operator   Broker Pre Pass                DriveWyze TRK33847                      9.84
      6/15/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      6/15/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.01
      6/15/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.2
      6/15/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.44
      6/15/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
      6/15/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      6/15/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/15/2019    742   DA0067   Owner Operator   Tire Fee                       Tire Fee: 2282135                          8
      6/15/2019    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00404203 - PO System          214.17
      6/15/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      6/15/2019    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      6/15/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      6/15/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/15/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/15/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          422.6
      6/15/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.03
      6/15/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         527.04
      6/15/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.24
      6/15/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
      6/15/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      6/15/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      6/15/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 228237 Trk 33487 Lease          434.2

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      6/15/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      6/15/2019    742   EA0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33993                       9.84
      6/15/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                            8
      6/15/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                            400
      6/15/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          611.86
      6/15/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          612.62
      6/15/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                        100
      6/15/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/15/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    31.25
      6/15/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
      6/15/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                        8.75
      6/15/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                        8.75
      6/15/2019    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                       9.84
      6/15/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                           13
      6/15/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                           13
      6/15/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.54
      6/15/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          327.23
      6/15/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          457.46
      6/15/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.44
      6/15/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          126.87
      6/15/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          130.03
      6/15/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.85
      6/15/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.78
      6/15/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.19
      6/15/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                        100
      6/15/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                        100
      6/15/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/15/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/15/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                        27.35
      6/15/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                        27.35
      6/15/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism                2.5
      6/15/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism                2.5
      6/15/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      6/15/2019    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                     12.5
      6/15/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                           13
      6/15/2019    742   EN0016   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-22        -1972.84
      6/15/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/15/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      6/15/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.46
      6/15/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                            36.5
      6/15/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          358.96
      6/15/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          492.42
      6/15/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          104.25
      6/15/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                           91.43
      6/15/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          568.58
      6/15/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.21
      6/15/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                       33.17
      6/15/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/15/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    70.89
      6/15/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      6/15/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                           419.4
      6/15/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                8.75
      6/15/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                          13
      6/15/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD                54.69
      6/15/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro            2.5
      6/15/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                   8.75
      6/15/2019    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                       9.84
      6/15/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                           13
      6/15/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/15/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                          407.04
      6/15/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.19
      6/15/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                        100
      6/15/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/15/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                   23.44
      6/15/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      6/15/2019    742   JS0390   Owner Operator   Broker Pre Pass                DriveWyze TRK34327                       9.84
      6/15/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                            8
      6/15/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/15/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                           281.6
      6/15/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.66
      6/15/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          380.47
      6/15/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                        100
      6/15/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      6/15/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      6/15/2019    742   JS0390   Owner Operator   Toll Charges                   34327 ILTOLL Route 53                   1.95
      6/15/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                      47.12
      6/15/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      6/15/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      6/15/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.35
      6/15/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.94
      6/15/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.67
      6/15/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.23
      6/15/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                       100
      6/15/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      6/15/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      6/15/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      6/15/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      6/15/2019    742   NG0024   Owner Operator   Advance                        EFS 216828 s/u 8 wks                   237.5
      6/15/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      6/15/2019    742   NG0024   Owner Operator   Broker Pre Pass                DriveWyze TRK33252                      9.84
      6/15/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      6/15/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/15/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/15/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.93
      6/15/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.01
      6/15/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.69
      6/15/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                       100
      6/15/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      6/15/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      6/15/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 228188 repair                    250
      6/15/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      6/15/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/15/2019    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      6/15/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      6/15/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.37
      6/15/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.08
      6/15/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.42
      6/15/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      6/15/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      6/15/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      6/15/2019    742   RF0136   Owner Operator   Advance                        EFS 217937                            263.53
      6/15/2019    742   RF0136   Owner Operator   Advance                        EFS 217937                            263.53
      6/15/2019    742   RF0136   Owner Operator   Advance                        EFS 217937                            263.48
      6/15/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      6/15/2019    742   RF0136   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-22         -954.8
      6/15/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.09
      6/15/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                       100
      6/15/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                       100
      6/15/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      6/15/2019    742   RF0136   Owner Operator   Toll Charges                   34182 HCTRA Ship Channel Bridg           3.5
      6/15/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      6/15/2019    742   RN0054   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13157                    19.68
      6/15/2019    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      6/15/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      6/15/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.38
      6/15/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.88
      6/15/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.4
      6/15/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.28
      6/15/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                      100
      6/15/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      6/15/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      6/15/2019    742   RN0054   Owner Operator   Tire Fee                       Tire Fee: 2282549                          8
      6/15/2019    742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00405107 - PO System          268.96
      6/15/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 228241 Tractor Lease           353.28
      6/15/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      6/15/2019    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                      9.84
      6/15/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      6/15/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.25
      6/15/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                       100
      6/15/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/15/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      6/15/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5

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      6/15/2019    742   RS0342   Owner Operator   Tire Fee                       Tire Fee: 2282213                           8
      6/15/2019    742   RS0342   Owner Operator   Tire Purchase                  PO: 742-00404050 - PO System           212.15
      6/15/2019    742   RS0342   Owner Operator   Toll Charges                   33738 ILTOLL 83rd St.                    6.65
      6/15/2019    742   RS0342   Owner Operator   Toll Charges                   33738 ILTOLL Cermak Rd.                  6.65
      6/15/2019    742   RS0342   Owner Operator   Toll Charges                   33738 ILTOLL Cermak Rd.                  6.65
      6/15/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      6/15/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
      6/15/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-22         -244.28
      6/15/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-22         -244.28
      6/15/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/15/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                        58.6
      6/15/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
      6/15/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL              8.75
      6/15/2019    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                       9.84
      6/15/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                            8
      6/15/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/15/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.58
      6/15/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                           246.1
      6/15/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                           255.1
      6/15/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          508.88
      6/15/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.38
      6/15/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                        100
      6/15/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/15/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD              67.19
      6/15/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter            2.5
      6/15/2019    742   TC0098   Owner Operator   Tire Fee                       Tire Fee: 2282208                          16
      6/15/2019    742   TC0098   Owner Operator   Tire Purchase                  PO: 742-00402516 - PO System           121.98
      6/15/2019    742   TC0098   Owner Operator   Tire Purchase                  PO: 742-00404649 - PO System           364.27
      6/15/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 228150 33489 Lease Paym         412.16
      6/15/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      6/15/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
      6/15/2019    742   TH0130   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-22        -1008.05
      6/15/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.82
      6/15/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                        100
      6/15/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/15/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
      6/15/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      6/15/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge                26
      6/15/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                           8.75
      6/15/2019    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                     12.5
      6/15/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                           13
      6/15/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           46.14
      6/15/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/15/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           74.22
      6/15/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                   2.5
      6/22/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL             8.75
      6/22/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                           8
      6/22/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/22/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          470.86
      6/22/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.94
      6/22/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          643.08
      6/22/2019    709   AC0061   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            261.72
      6/22/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                       100
      6/22/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/22/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             35.94
      6/22/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 228667 Q13148 Trac Leas         296.09
      6/22/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL             8.75
      6/22/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                          13
      6/22/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          453.96
      6/22/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                       100
      6/22/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/22/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD              7.82
      6/22/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te            2.5
      6/22/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL             8.75
      6/22/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                          13
      6/22/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          476.54
      6/22/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.15
      6/22/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.17
      6/22/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                            307
      6/22/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          505.53
      6/22/2019    709   AR0064   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            570.96
      6/22/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                       100
      6/22/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      6/22/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      6/22/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 228615 Q13147 Lease            440.14
      6/22/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      6/22/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      6/22/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      6/22/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      6/22/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.06
      6/22/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.51
      6/22/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.43
      6/22/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.44
      6/22/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          71.26
      6/22/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.79
      6/22/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.69
      6/22/2019    709   AV0021   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            33.45
      6/22/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  37.88
      6/22/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                      100
      6/22/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      6/22/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 228614 Q13169 Sublease         352.68
      6/22/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      6/22/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      6/22/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/22/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/22/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.52
      6/22/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.95
      6/22/2019    709   CC0134   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           244.76
      6/22/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
      6/22/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      6/22/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      6/22/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 228500 Q13168 sub lease        352.68
      6/22/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/22/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      6/22/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          758.5
      6/22/2019    709   CM0119   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            -5.51
      6/22/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      6/22/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      6/22/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/22/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      6/22/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      6/22/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      6/22/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      6/22/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      6/22/2019    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-29          -4.46
      6/22/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.5
      6/22/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.44
      6/22/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.05
      6/22/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.21
      6/22/2019    709   CR0064   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            12.97
      6/22/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
      6/22/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
      6/22/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      6/22/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      6/22/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 228550 Q1247 Sub Lease         263.91
      6/22/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      6/22/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      6/22/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.96
      6/22/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.52
      6/22/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                       100
      6/22/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      6/22/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 228499 Q1201                   278.76
      6/22/2019    709   DL0029   Owner Operator   Advance                        659-008094 s/u 5 wks                  227.79
      6/22/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/22/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      6/22/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.02
      6/22/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.09
      6/22/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.26
      6/22/2019    709   DL0029   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           474.44

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      6/22/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                      100
      6/22/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/22/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  34.2
      6/22/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL              8.75
      6/22/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                        13
      6/22/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
      6/22/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
      6/22/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          544
      6/22/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       398.36
      6/22/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                       235.71
      6/22/2019    709   DL0107   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           7.89
      6/22/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                      100
      6/22/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/22/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD              65.71
      6/22/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 228546 Sublease              338.99
      6/22/2019    709   DM0257   Owner Operator   Accident Claim                 02/22/19 DM0257 Accident              2000
      6/22/2019    709   DM0257   Owner Operator   Advance                        2/22/19 Clm 72917-1 s/u pmts         -2000
      6/22/2019    709   DM0257   Owner Operator   Advance                        2/22/19 Clm 72917-1 s/u pmts           250
      6/22/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                 8.75
      6/22/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                       232.72
      6/22/2019    709   DM0257   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax         825.12
      6/22/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                      100
      6/22/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        20.19
      6/22/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/22/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                        13
      6/22/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      6/22/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      6/22/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       487.52
      6/22/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       384.92
      6/22/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                       385.14
      6/22/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                    33.17
      6/22/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/22/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 92.35
      6/22/2019    709   DS0049   Owner Operator   Toll Charges                   32915 BATA Bay Bridge                   26
      6/22/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                       512.35
      6/22/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                    8.75
      6/22/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                         8
      6/22/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                       590.94
      6/22/2019    709   DS0225   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax         -54.14
      6/22/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/22/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                    39.07
      6/22/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                 8.75
      6/22/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                        13
      6/22/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                           50
      6/22/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            50
      6/22/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            50
      6/22/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            50
      6/22/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      6/22/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      6/22/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.5
      6/22/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                       270.33
      6/22/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                       268.13
      6/22/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                       255.22
      6/22/2019    709   DS0288   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax         192.49
      6/22/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                      100
      6/22/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/22/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                 42.19
      6/22/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      6/22/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                        13
      6/22/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
      6/22/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/22/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/22/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/22/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/22/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       449.92
      6/22/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                       344.81
      6/22/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        384.3
      6/22/2019    709   EA0003   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax         141.84
      6/22/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                    33.17
      6/22/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/22/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                105.47
      6/22/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                       555.56
      6/22/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                 8.75

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      6/22/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      6/22/2019    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           500
      6/22/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.73
      6/22/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.06
      6/22/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.21
      6/22/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                       100
      6/22/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      6/22/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      6/22/2019    709   EG0062   Owner Operator   Tire Purchase                  PO: 709-00405277 - PO System          784.39
      6/22/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      6/22/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      6/22/2019    709   EO0014   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-15          845.76
      6/22/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           458
      6/22/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           201
      6/22/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           223
      6/22/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           303
      6/22/2019    709   EO0014   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           380.46
      6/22/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                       100
      6/22/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      6/22/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      6/22/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      6/22/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      6/22/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/22/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/22/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.69
      6/22/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.18
      6/22/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.21
      6/22/2019    709   FS0039   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            180.2
      6/22/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 477.03
      6/22/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                       100
      6/22/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      6/22/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      6/22/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 228614 truck lease 3304        434.29
      6/22/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/22/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      6/22/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/22/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/22/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.83
      6/22/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.11
      6/22/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.07
      6/22/2019    709   FV0001   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           130.11
      6/22/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                      100
      6/22/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      6/22/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/22/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      6/22/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/22/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.76
      6/22/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.66
      6/22/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      6/22/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      6/22/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      6/22/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      6/22/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      6/22/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      6/22/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.71
      6/22/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                       100
      6/22/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      6/22/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 228667 Amortized Balloo        200.15
      6/22/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      6/22/2019    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      6/22/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      6/22/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      6/22/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8

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      6/22/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/22/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/22/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.79
      6/22/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.82
      6/22/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.81
      6/22/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.03
      6/22/2019    709   GW0043   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           102.85
      6/22/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                       100
      6/22/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         252.62
      6/22/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      6/22/2019    709   GW0043   Owner Operator   T Chek Fee                     Tractor Repair Q1109                  962.71
      6/22/2019    709   GW0043   Owner Operator   Tire Fee                       Tire Fee: 2283340                          8
      6/22/2019    709   GW0043   Owner Operator   Tire Purchase                  PO: 709-00404839 - PO System          203.31
      6/22/2019    709   GW0043   Owner Operator   Tire Purchase                  PO: 709-00404839 - PO System          203.31
      6/22/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 228051 Q1109 Lease             302.85
      6/22/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 228378 Q1109 Lease             302.85
      6/22/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 228663 Q1109 Lease             302.85
      6/22/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      6/22/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      6/22/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      6/22/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.16
      6/22/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                      100
      6/22/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      6/22/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 228500 Q13170                  352.68
      6/22/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      6/22/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      6/22/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/22/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.14
      6/22/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         637.96
      6/22/2019    709   HG0007   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            57.82
      6/22/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                       100
      6/22/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      6/22/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/22/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      6/22/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/22/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/22/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.27
      6/22/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.92
      6/22/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.37
      6/22/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.09
      6/22/2019    709   HG0027   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            -9.83
      6/22/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                       100
      6/22/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      6/22/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/22/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      6/22/2019    709   IA0007   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-15          143.37
      6/22/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.21
      6/22/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.77
      6/22/2019    709   IA0007   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            19.42
      6/22/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                       100
      6/22/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      6/22/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      6/22/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/22/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      6/22/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.28
      6/22/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.05
      6/22/2019    709   IR0002   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            -75.4
      6/22/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      6/22/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      6/22/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      6/22/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                          8
      6/22/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/22/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                        313.48
      6/22/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/22/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  27.35
      6/22/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         30.15
      6/22/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        457.09
      6/22/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      6/22/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      6/22/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/22/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/22/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      6/22/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      6/22/2019    709   JD0211   Owner Operator   Tire Purchase                  PO: 709-00404841 - PO System           18.9
      6/22/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/22/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      6/22/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           500
      6/22/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      6/22/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        430.05
      6/22/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        448.49
      6/22/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
      6/22/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        251.27
      6/22/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/22/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      6/22/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      6/22/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/22/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      6/22/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      6/22/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      6/22/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                           7.1
      6/22/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.9
      6/22/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        600.49
      6/22/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        450.24
      6/22/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.4
      6/22/2019    709   JG0072   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax          365.36
      6/22/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
      6/22/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/22/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      6/22/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      6/22/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      6/22/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      6/22/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                          150
      6/22/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.35
      6/22/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        345.33
      6/22/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        449.46
      6/22/2019    709   JG0092   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           90.56
      6/22/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                      100
      6/22/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/22/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
      6/22/2019    709   JG0092   Owner Operator   Toll Charges                   33669 BATA San Mateo                     26
      6/22/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      6/22/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      6/22/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      6/22/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                          8
      6/22/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/22/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/22/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.79
      6/22/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 33438                      100
      6/22/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 34637                      100
      6/22/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/22/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      6/22/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  15.63
      6/22/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      6/22/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      6/22/2019    709   JR0099   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-15           186
      6/22/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        479.91
      6/22/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                      100
      6/22/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/22/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      6/22/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 228452 Truck Lease            278.76
      6/22/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/22/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2

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      6/22/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.37
      6/22/2019    709   JS0265   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           277.73
      6/22/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                      26.6
      6/22/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/22/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      6/22/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/22/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/22/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/22/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/22/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/22/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.01
      6/22/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.36
      6/22/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           383
      6/22/2019    709   KP0004   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           237.09
      6/22/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      6/22/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      6/22/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      6/22/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/22/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      6/22/2019    709   KT0055   Owner Operator   Advance                        5/9/19 Clm 74007-1 s/u 4 wks            250
      6/22/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      6/22/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      6/22/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/22/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.94
      6/22/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.96
      6/22/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.12
      6/22/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.09
      6/22/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          439.4
      6/22/2019    709   KT0055   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            421.8
      6/22/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                      100
      6/22/2019    709   KT0055   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          298.5
      6/22/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      6/22/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 228495 Q13156 Lease            388.16
      6/22/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      6/22/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      6/22/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                       100
      6/22/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      6/22/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 228614 Lease Q1111             252.11
      6/22/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      6/22/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      6/22/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         623.68
      6/22/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         722.31
      6/22/2019    709   LS0023   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           176.96
      6/22/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                       100
      6/22/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      6/22/2019    709   MA0092   Owner Operator   Advance                        11/20/18 Clm 71756-1 s/u pmts          10.56
      6/22/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/22/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      6/22/2019    709   MA0092   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-15          145.33
      6/22/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.64
      6/22/2019    709   MA0092   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           197.02
      6/22/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                       100
      6/22/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      6/22/2019    709   MA0092   Owner Operator   Tire Purchase                  PO: 709-00403295 - PO System          356.04
      6/22/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      6/22/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      6/22/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/22/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.46
      6/22/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.41
      6/22/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.42
      6/22/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                       100
      6/22/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      6/22/2019    709   MD0122   Owner Operator   Tire Purchase                  PO: 709-00404541 - PO System          365.05
      6/22/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75

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      6/22/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      6/22/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.66
      6/22/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.14
      6/22/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.64
      6/22/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.95
      6/22/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                       100
      6/22/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      6/22/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      6/22/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 228500 Q1113 Lease             252.11
      6/22/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/22/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      6/22/2019    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-29        -156.25
      6/22/2019    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-29         -10.27
      6/22/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.52
      6/22/2019    709   MG0067   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           -35.45
      6/22/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                       100
      6/22/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      6/22/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/22/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/22/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      6/22/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      6/22/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              40
      6/22/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              60
      6/22/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      6/22/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      6/22/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.06
      6/22/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.19
      6/22/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                       100
      6/22/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      6/22/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/22/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      6/22/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      6/22/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      6/22/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      6/22/2019    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      6/22/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      6/22/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      6/22/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/22/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/22/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.97
      6/22/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.75
      6/22/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.02
      6/22/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.98
      6/22/2019    709   NB0029   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           144.71
      6/22/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                       100
      6/22/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                       100
      6/22/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      6/22/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      6/22/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      6/22/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      6/22/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      6/22/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      6/22/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      6/22/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      6/22/2019    709   NB0029   Owner Operator   Tire Fee                       Tire Fee: 2281888                         16
      6/22/2019    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00403294 - PO System          405.94
      6/22/2019    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00403294 - PO System          405.94
      6/22/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      6/22/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      6/22/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            250
      6/22/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
      6/22/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.36
      6/22/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.9
      6/22/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                      100
      6/22/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98

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      6/22/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      6/22/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      6/22/2019    709   NT9564   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           252.45
      6/22/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                       100
      6/22/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      6/22/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 228670 Truck 73130 Leas        196.65
      6/22/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/22/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      6/22/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/22/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.81
      6/22/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.99
      6/22/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.28
      6/22/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      6/22/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      6/22/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      6/22/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      6/22/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      6/22/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/22/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.91
      6/22/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.96
      6/22/2019    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2019 - Q1241                       100
      6/22/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      6/22/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      6/22/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      6/22/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         693.63
      6/22/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.86
      6/22/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         583.81
      6/22/2019    709   RC0030   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            33.17
      6/22/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      6/22/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      6/22/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/22/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      6/22/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/22/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.15
      6/22/2019    709   RL0017   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           -51.21
      6/22/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      6/22/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      6/22/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/22/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      6/22/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/22/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      6/22/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.87
      6/22/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.38
      6/22/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.9
      6/22/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.35
      6/22/2019    709   RL0062   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           325.06
      6/22/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      6/22/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      6/22/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      6/22/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      6/22/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      6/22/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/22/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.56
      6/22/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.68
      6/22/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      6/22/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      6/22/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      6/22/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      6/22/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      6/22/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      6/22/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      6/22/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.99
      6/22/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          437.6
      6/22/2019    709   RM0026   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           310.24

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      6/22/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                       100
      6/22/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      6/22/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      6/22/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      6/22/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          437.5
      6/22/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                       100
      6/22/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      6/22/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 228452 Q1202 Truck Leas        278.76
      6/22/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      6/22/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      6/22/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.11
      6/22/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.35
      6/22/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.35
      6/22/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.62
      6/22/2019    709   RR0123   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           189.58
      6/22/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100
      6/22/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         248.42
      6/22/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      6/22/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      6/22/2019    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00403286 - PO System          204.18
      6/22/2019    709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00403286 - PO System           14.72
      6/22/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 228499 Q1248                   311.97
      6/22/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      6/22/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   3.48
      6/22/2019    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      6/22/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      6/22/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      6/22/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      6/22/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      6/22/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                              20
      6/22/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      6/22/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.34
      6/22/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.12
      6/22/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.43
      6/22/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.85
      6/22/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.43
      6/22/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.27
      6/22/2019    709   SB0009   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           377.85
      6/22/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      6/22/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      6/22/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      6/22/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      6/22/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      6/22/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      6/22/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      6/22/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      6/22/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.86
      6/22/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.25
      6/22/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.39
      6/22/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.72
      6/22/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.05
      6/22/2019    709   SB0103   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           195.01
      6/22/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                       100
      6/22/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      6/22/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      6/22/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      6/22/2019    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00405871 - PO System          101.51
      6/22/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 228448 Sub Lease               388.33
      6/22/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      6/22/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      6/22/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         596.59
      6/22/2019    709   SM0109   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax             94.3
      6/22/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      6/22/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22

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      6/22/2019    709   SM0109   Owner Operator   Toll Charges                   33195 ILTOLL 163rd St.                  6.65
      6/22/2019    709   SM0109   Owner Operator   Toll Charges                   33195 ILTOLL 95th St.                      5
      6/22/2019    709   SM0109   Owner Operator   Toll Charges                   33195 ILTOLL Aurora                     6.65
      6/22/2019    709   SM0109   Owner Operator   Toll Charges                   33195 ILTOLL DeKalb                    15.85
      6/22/2019    709   SM0109   Owner Operator   Toll Charges                   33195 ILTOLL Dixon                     15.85
      6/22/2019    709   SM0109   Owner Operator   Toll Charges                   33195 ILTOLL Halsted St.                 2.5
      6/22/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      6/22/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      6/22/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      6/22/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.19
      6/22/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.57
      6/22/2019    709   SN0019   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           153.49
      6/22/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      6/22/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      6/22/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      6/22/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-15          128.95
      6/22/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 6-29         -58.63
      6/22/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           520
      6/22/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.12
      6/22/2019    709   VB0015   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           -46.22
      6/22/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                       100
      6/22/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      6/22/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      6/22/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/22/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      6/22/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      6/22/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.13
      6/22/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.09
      6/22/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.43
      6/22/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.86
      6/22/2019    709   VJ0006   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           238.65
      6/22/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                       100
      6/22/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         259.17
      6/22/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      6/22/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/22/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      6/22/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      6/22/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      6/22/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      6/22/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      6/22/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/22/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/22/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.94
      6/22/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.86
      6/22/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.12
      6/22/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.23
      6/22/2019    709   WH0087   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           163.02
      6/22/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                       100
      6/22/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      6/22/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 228499 Q1238 Lease             311.97
      6/22/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      6/22/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      6/22/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/22/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/22/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.52
      6/22/2019    742   AP0047   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           555.56
      6/22/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      6/22/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      6/22/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      6/22/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      6/22/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.97
      6/22/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.95
      6/22/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.23

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      6/22/2019    742   BS0078   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           110.56
      6/22/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                      100
      6/22/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      6/22/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      6/22/2019    742   BS0078   Owner Operator   Repair Order                   CTMS - 228590 repair                   284.4
      6/22/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 228495 Lease of Q13151         388.16
      6/22/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      6/22/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      6/22/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         693.65
      6/22/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.84
      6/22/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         715.04
      6/22/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
      6/22/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      6/22/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      6/22/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      6/22/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.38
      6/22/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.76
      6/22/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.09
      6/22/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.43
      6/22/2019    742   DS0254   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           233.57
      6/22/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
      6/22/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      6/22/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      6/22/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 228548 Trk 33487 Lease          434.2
      6/22/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/22/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      6/22/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         584.53
      6/22/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.31
      6/22/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.35
      6/22/2019    742   EA0039   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           137.95
      6/22/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                       100
      6/22/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      6/22/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/22/2019    742   EN0016   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-15         1972.84
      6/22/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/22/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/22/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.93
      6/22/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.89
      6/22/2019    742   EN0016   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            98.07
      6/22/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      6/22/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      6/22/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      6/22/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      6/22/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      6/22/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      6/22/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/22/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           410
      6/22/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         625.03
      6/22/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                       100
      6/22/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      6/22/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/22/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      6/22/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/22/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.91
      6/22/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.48
      6/22/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.24
      6/22/2019    742   JS0390   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           267.04
      6/22/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                       100
      6/22/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      6/22/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/22/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/22/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/22/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      6/22/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      6/22/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13

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      6/22/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/22/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/22/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/22/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                       100
      6/22/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                      52.88
      6/22/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                       100
      6/22/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      6/22/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      6/22/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      6/22/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/22/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/22/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/22/2019    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00402445 - PO System           51.67
      6/22/2019    742   MH0117   Owner Operator   Tire Purchase                  PO: 742-00402445 - PO System           51.74
      6/22/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      6/22/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      6/22/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.33
      6/22/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.38
      6/22/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.2
      6/22/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                       100
      6/22/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      6/22/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      6/22/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      6/22/2019    742   NG0024   Owner Operator   Advance                        EFS 216828 s/u 8 wks                   237.5
      6/22/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      6/22/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      6/22/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                           331
      6/22/2019    742   NG0024   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           224.89
      6/22/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                       100
      6/22/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      6/22/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      6/22/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 228590 repair                    250
      6/22/2019    742   NG0024   Owner Operator   Toll Charges                   33252 E470 PLAZA C                      17.2
      6/22/2019    742   OS0018   Owner Operator   *Arrears Collection W/O        WO:DriveWyze TRK34147                 -19.68
      6/22/2019    742   OS0018   Owner Operator   Broker Pre Pass                DriveWyze TRK34147                     19.68
      6/22/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      6/22/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      6/22/2019    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      6/22/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      6/22/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      6/22/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      6/22/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      6/22/2019    742   RF0136   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-15           954.8
      6/22/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/22/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/22/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/22/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/22/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/22/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/22/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.61
      6/22/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.41
      6/22/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.64
      6/22/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.35
      6/22/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.59
      6/22/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.29
      6/22/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.25
      6/22/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.32
      6/22/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.64
      6/22/2019    742   RF0136   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            -1.93
      6/22/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                       100
      6/22/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                       100
      6/22/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      6/22/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      6/22/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      6/22/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      6/22/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.44

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      6/22/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.41
      6/22/2019    742   RN0054   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           174.34
      6/22/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                       100
      6/22/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      6/22/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      6/22/2019    742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00405107 - PO System          268.96
      6/22/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 228552 Tractor Lease           353.28
      6/22/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/22/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      6/22/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-15          244.28
      6/22/2019    742   SK0049   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-15          244.28
      6/22/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      6/22/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      6/22/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      6/22/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      6/22/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/22/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.82
      6/22/2019    742   TC0098   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           343.18
      6/22/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                        100
      6/22/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      6/22/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      6/22/2019    742   TC0098   Owner Operator   Tire Purchase                  PO: 742-00404649 - PO System          364.27
      6/22/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/22/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      6/22/2019    742   TH0130   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-15         1008.05
      6/22/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.58
      6/22/2019    742   TH0130   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           -47.43
      6/22/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                        100
      6/22/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/22/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      6/22/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/29/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      6/29/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      6/29/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/29/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.26
      6/29/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.46
      6/29/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                       100
      6/29/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.93
      6/29/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 228973 Q13148 Trac Leas        296.09
      6/29/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      6/29/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      6/29/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                       100
      6/29/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      6/29/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      6/29/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      6/29/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      6/29/2019    709   AR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-6            -155
      6/29/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.51
      6/29/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.93
      6/29/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.97
      6/29/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                       100
      6/29/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      6/29/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 228912 Q13147 Lease            440.14
      6/29/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      6/29/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      6/29/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      6/29/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              75
      6/29/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.75
      6/29/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      6/29/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             75
      6/29/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.01
      6/29/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.02
      6/29/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.97
      6/29/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.74
      6/29/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.71
      6/29/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.81
      6/29/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  99.19

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      6/29/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                      100
      6/29/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      6/29/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 228911 Q13169 Sublease         352.68
      6/29/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      6/29/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      6/29/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      6/29/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      6/29/2019    709   BM0030   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           403.76
      6/29/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                       100
      6/29/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                       100
      6/29/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      6/29/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      6/29/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      6/29/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      6/29/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      6/29/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      6/29/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/29/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/29/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/29/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        -256.48
      6/29/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        -256.48
      6/29/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        -256.48
      6/29/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                        -256.48
      6/29/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.48
      6/29/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.48
      6/29/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.48
      6/29/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.48
      6/29/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.48
      6/29/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.65
      6/29/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.59
      6/29/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.69
      6/29/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
      6/29/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      6/29/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      6/29/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 228793 Q13168 sub lease        352.68
      6/29/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/29/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      6/29/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/29/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          600.8
      6/29/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         661.78
      6/29/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      6/29/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      6/29/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/29/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      6/29/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      6/29/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      6/29/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      6/29/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      6/29/2019    709   CR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-22            4.46
      6/29/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/29/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.49
      6/29/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.89
      6/29/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.12
      6/29/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          329.6
      6/29/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.77
      6/29/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
      6/29/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
      6/29/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      6/29/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.01
      6/29/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 228851 Q1247 Sub Lease         263.91
      6/29/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      6/29/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      6/29/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.12
      6/29/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.05

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      6/29/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                       100
      6/29/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      6/29/2019    709   CS0091   Owner Operator   Tire Fee                       Tire Fee: 2289299                          4
      6/29/2019    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00404539 - PO System          111.37
      6/29/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 228793 Q1201                   278.76
      6/29/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/29/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      6/29/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.42
      6/29/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.42
      6/29/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.55
      6/29/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                       100
      6/29/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      6/29/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      6/29/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      6/29/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/29/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.09
      6/29/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.78
      6/29/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.74
      6/29/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.29
      6/29/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.79
      6/29/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                       100
      6/29/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      6/29/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 228831 TRUCK RENTAL              250
      6/29/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 228847 Sublease                338.99
      6/29/2019    709   DM0257   Owner Operator   Advance                        2/22/19 Clm 72917-1 s/u pmts            250
      6/29/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      6/29/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/29/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/29/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.65
      6/29/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.8
      6/29/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                       100
      6/29/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          27.31
      6/29/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      6/29/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      6/29/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      6/29/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      6/29/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      6/29/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      6/29/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         574.99
      6/29/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         614.27
      6/29/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      6/29/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      6/29/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      6/29/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/29/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      6/29/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      6/29/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      6/29/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      6/29/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      6/29/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      6/29/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.03
      6/29/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          377.3
      6/29/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.13
      6/29/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                       100
      6/29/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.18
      6/29/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/29/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      6/29/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/29/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/29/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/29/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          507.9
      6/29/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.32
      6/29/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      6/29/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      6/29/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      6/29/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      6/29/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      6/29/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      6/29/2019    709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-6          -40.56
      6/29/2019    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           500
      6/29/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          389.9
      6/29/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                       100
      6/29/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      6/29/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      6/29/2019    709   EG0062   Owner Operator   Tire Purchase                  PO: 709-00405277 - PO System          784.39
      6/29/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      6/29/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      6/29/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           402
      6/29/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.31
      6/29/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           414
      6/29/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                       100
      6/29/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      6/29/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      6/29/2019    709   EO0014   Owner Operator   Repair Order                   CTMS - 228953 REPAIR                    156
      6/29/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      6/29/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      6/29/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/29/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/29/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          382.4
      6/29/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.54
      6/29/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.97
      6/29/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           344
      6/29/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 307.85
      6/29/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                       100
      6/29/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         356.08
      6/29/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      6/29/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 228911 truck lease 3304        434.29
      6/29/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/29/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      6/29/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/29/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         702.77
      6/29/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                      100
      6/29/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      6/29/2019    709   FV0001   Owner Operator   Toll Charges                   21521B Bay Bridge 18                      26
      6/29/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/29/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      6/29/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/29/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/29/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/29/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.84
      6/29/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.18
      6/29/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      6/29/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      6/29/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      6/29/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      6/29/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      6/29/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      6/29/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.06
      6/29/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.81
      6/29/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                       100
      6/29/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      6/29/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 228973 Amortized Balloo        200.15
      6/29/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      6/29/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      6/29/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/29/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/29/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/29/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/29/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      6/29/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.44
      6/29/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.98
      6/29/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.16
      6/29/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.6
      6/29/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                        100
      6/29/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         252.62
      6/29/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      6/29/2019    709   GW0043   Owner Operator   Tire Purchase                  PO: 709-00404839 - PO System          203.31
      6/29/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 228969 Q1109 Lease             302.85
      6/29/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      6/29/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      6/29/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                            100
      6/29/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.21
      6/29/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          360.9
      6/29/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.47
      6/29/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                        100
      6/29/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.04
      6/29/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/29/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      6/29/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/29/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/29/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/29/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/29/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          185.1
      6/29/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.16
      6/29/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.57
      6/29/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                        100
      6/29/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      6/29/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/29/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      6/29/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.14
      6/29/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          569.6
      6/29/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                        100
      6/29/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      6/29/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      6/29/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/29/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      6/29/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-6            -120
      6/29/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-6            -120
      6/29/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.65
      6/29/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.62
      6/29/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.64
      6/29/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      6/29/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/29/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/29/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      6/29/2019    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-6          -42.12
      6/29/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/29/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.49
      6/29/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.81
      6/29/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                            279
      6/29/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      6/29/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      6/29/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      6/29/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      6/29/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      6/29/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      6/29/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      6/29/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      6/29/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      6/29/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/29/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/29/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/29/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      6/29/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/29/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        500.98
      6/29/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        389.42
      6/29/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        447.56
      6/29/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.3
      6/29/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.01
      6/29/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        352.77
      6/29/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        379.36
      6/29/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.53
      6/29/2019    709   JC0292   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax          161.94
      6/29/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                     100
      6/29/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                     100
      6/29/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/29/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/29/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      6/29/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.18
      6/29/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 228547 Q13197 Lease           276.63
      6/29/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 228848 Q13197 Lease           276.63
      6/29/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      6/29/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      6/29/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
      6/29/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/29/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      6/29/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      6/29/2019    709   JD0211   Owner Operator   Tire Purchase                  PO: 709-00404841 - PO System           18.9
      6/29/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/29/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      6/29/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           500
      6/29/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      6/29/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        426.04
      6/29/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        421.21
      6/29/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.1
      6/29/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
      6/29/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        251.27
      6/29/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/29/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.85
      6/29/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                      26
      6/29/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      6/29/2019    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      6/29/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/29/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      6/29/2019    709   JG0072   Owner Operator   Driver Excellence Program      CA-UDMC000039                           -50
      6/29/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      6/29/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      6/29/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.63
      6/29/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        500.73
      6/29/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.24
      6/29/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        401.68
      6/29/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
      6/29/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/29/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      6/29/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      6/29/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      6/29/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      6/29/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         53.36
      6/29/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                      100
      6/29/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/29/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.15
      6/29/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      6/29/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      6/29/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
      6/29/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                          8
      6/29/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
      6/29/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      6/29/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        169.78
      6/29/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 33438                      524
      6/29/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 34637                      100
      6/29/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/29/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51
      6/29/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  15.61
      6/29/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      6/29/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      6/29/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        242.68

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      6/29/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                       100
      6/29/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      6/29/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 228736 Truck Lease             278.76
      6/29/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      6/29/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      6/29/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      6/29/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      6/29/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      6/29/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      6/29/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/29/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.99
      6/29/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.77
      6/29/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                      73.4
      6/29/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                      100
      6/29/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      6/29/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      6/29/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      6/29/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      6/29/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      6/29/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.22
      6/29/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/29/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      6/29/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/29/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/29/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/29/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.01
      6/29/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           430
      6/29/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           361
      6/29/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      6/29/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      6/29/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      6/29/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/29/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      6/29/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      6/29/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      6/29/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/29/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.93
      6/29/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.92
      6/29/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.52
      6/29/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.36
      6/29/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                      100
      6/29/2019    709   KT0055   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          298.5
      6/29/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      6/29/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 228784 Q13156 Lease            388.16
      6/29/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 228953 TRUCK RENTAL             1100
      6/29/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      6/29/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      6/29/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                       100
      6/29/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      6/29/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 228911 Lease Q1111             252.11
      6/29/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/29/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      6/29/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.62
      6/29/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.28
      6/29/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                       100
      6/29/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      6/29/2019    709   MA0092   Owner Operator   Tire Purchase                  PO: 709-00403295 - PO System          356.04
      6/29/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      6/29/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      6/29/2019    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-6          -201.5
      6/29/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/29/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          229.4
      6/29/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.98
      6/29/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.4
      6/29/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                       100
      6/29/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43

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      6/29/2019    709   MD0122   Owner Operator   Tire Purchase                  PO: 709-00404541 - PO System          365.05
      6/29/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      6/29/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      6/29/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.31
      6/29/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.05
      6/29/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.55
      6/29/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          421.2
      6/29/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                       100
      6/29/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      6/29/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      6/29/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 228793 Q1113 Lease             252.11
      6/29/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 228953 TRUCK RENTAL              300
      6/29/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/29/2019    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-22          156.25
      6/29/2019    709   MG0067   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-22           10.27
      6/29/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          18.42
      6/29/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/29/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      6/29/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      6/29/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            260
      6/29/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.6
      6/29/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.91
      6/29/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                       100
      6/29/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.76
      6/29/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/29/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      6/29/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      6/29/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      6/29/2019    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-6         -324.36
      6/29/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/29/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/29/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/29/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/29/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.97
      6/29/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.59
      6/29/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.2
      6/29/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                       100
      6/29/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      6/29/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      6/29/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      6/29/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      6/29/2019    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00403294 - PO System          405.94
      6/29/2019    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      6/29/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      6/29/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      6/29/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/29/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            340
      6/29/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3.4
      6/29/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/29/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.45
      6/29/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.9
      6/29/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.17
      6/29/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                      100
      6/29/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      6/29/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      6/29/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      6/29/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                       100
      6/29/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      6/29/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 228976 Truck 73130 Leas        196.65
      6/29/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/29/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      6/29/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/29/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.31
      6/29/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.33
      6/29/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      6/29/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33

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      6/29/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      6/29/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      6/29/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      6/29/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/29/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              50
      6/29/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              50
      6/29/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/29/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/29/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      6/29/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      6/29/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.81
      6/29/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.25
      6/29/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          374.4
      6/29/2019    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2019 - Q1241                        100
      6/29/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.04
      6/29/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      6/29/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      6/29/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-6            -120
      6/29/2019    709   RC0030   Owner Operator   Driver Excellence Program      US-1303190989                            -50
      6/29/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.12
      6/29/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.13
      6/29/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      6/29/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      6/29/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/29/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      6/29/2019    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-6            -120
      6/29/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      6/29/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.79
      6/29/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.11
      6/29/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      6/29/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      6/29/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/29/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      6/29/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/29/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      6/29/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/29/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/29/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.95
      6/29/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.9
      6/29/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.34
      6/29/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         567.59
      6/29/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      6/29/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      6/29/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      6/29/2019    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      6/29/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      6/29/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      6/29/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            100
      6/29/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.82
      6/29/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.94
      6/29/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.84
      6/29/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      6/29/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      6/29/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      6/29/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      6/29/2019    709   RL0180   Owner Operator   Truck Payment                  CTMS - 228953 TRUCK RENTAL               300
      6/29/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      6/29/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      6/29/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      6/29/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.67
      6/29/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.07
      6/29/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                        100
      6/29/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      6/29/2019    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      6/29/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75

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      6/29/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      6/29/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.78
      6/29/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                       100
      6/29/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      6/29/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 228736 Q1202 Truck Leas        278.76
      6/29/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      6/29/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      6/29/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            260
      6/29/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.6
      6/29/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.56
      6/29/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         609.12
      6/29/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.51
      6/29/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100
      6/29/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         243.57
      6/29/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      6/29/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      6/29/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 228793 Q1248                   311.97
      6/29/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      6/29/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      6/29/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      6/29/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.21
      6/29/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.73
      6/29/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      6/29/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      6/29/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      6/29/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      6/29/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      6/29/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      6/29/2019    709   SB0103   Owner Operator   Driver Excellence Program      NV-7137180562                            -50
      6/29/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/29/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.02
      6/29/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.75
      6/29/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.65
      6/29/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.33
      6/29/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.31
      6/29/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.15
      6/29/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.14
      6/29/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                       100
      6/29/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      6/29/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      6/29/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      6/29/2019    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00405871 - PO System          101.51
      6/29/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 228732 Sub Lease               388.33
      6/29/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      6/29/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      6/29/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           371
      6/29/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           600
      6/29/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      6/29/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      6/29/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      6/29/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      6/29/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      6/29/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/29/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/29/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.63
      6/29/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.54
      6/29/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.2
      6/29/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.27
      6/29/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.28
      6/29/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      6/29/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      6/29/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      6/29/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-22           58.63
      6/29/2019    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/29/2019    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      6/29/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            544
      6/29/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.09
      6/29/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                        100
      6/29/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      6/29/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      6/29/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/29/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      6/29/2019    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                       -800
      6/29/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      6/29/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/29/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/29/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/29/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/29/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                            233
      6/29/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.01
      6/29/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.91
      6/29/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.78
      6/29/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.99
      6/29/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                        100
      6/29/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         256.01
      6/29/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      6/29/2019    709   VJ0006   Owner Operator   T Chek Fee                     ExpressCheck Fee                       10.76
      6/29/2019    709   VJ0006   Owner Operator   T Chek Fee                     Towing 33961                         1076.25
      6/29/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/29/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      6/29/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      6/29/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      6/29/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      6/29/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      6/29/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/29/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/29/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/29/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.15
      6/29/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.58
      6/29/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.57
      6/29/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.63
      6/29/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.31
      6/29/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.18
      6/29/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                        100
      6/29/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      6/29/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 NTTA Exit I35WN-820-24             3.8
      6/29/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 NTTA WEATHERFORD STREET            3.8
      6/29/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 228793 Q1238 Lease             311.97
      6/29/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      6/29/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      6/29/2019    742   AP0047   Owner Operator   Driver Excellence Program      CA-UE5M000047                            -50
      6/29/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/29/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/29/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/29/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/29/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/29/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/29/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.66
      6/29/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.37
      6/29/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.96
      6/29/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      6/29/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      6/29/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      6/29/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      6/29/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.12
      6/29/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.48
      6/29/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.79
      6/29/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                       100
      6/29/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86

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      6/29/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      6/29/2019    742   BS0078   Owner Operator   Repair Order                   CTMS - 228947 repair                   284.4
      6/29/2019    742   BS0078   Owner Operator   Repair Order                   CTMS - 228948 repair                      85
      6/29/2019    742   BS0078   Owner Operator   Tire Fee                       Tire Fee: 2286908                          8
      6/29/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00406652 - PO System          182.37
      6/29/2019    742   BS0078   Owner Operator   Toll Charges                   TxTag 701598/Q13151 Spencer Ma          8.48
      6/29/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 228785 Lease of Q13151         388.16
      6/29/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      6/29/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      6/29/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         650.01
      6/29/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         627.79
      6/29/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
      6/29/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      6/29/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/29/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/29/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      6/29/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      6/29/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           332
      6/29/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.46
      6/29/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.45
      6/29/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           253
      6/29/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           488
      6/29/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           139
      6/29/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.01
      6/29/2019    742   DA0067   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           360.57
      6/29/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
      6/29/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
      6/29/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      6/29/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      6/29/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/29/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/29/2019    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00404203 - PO System          214.17
      6/29/2019    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00404203 - PO System          214.17
      6/29/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Antioch Bridge 2                    26
      6/29/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Antioch Bridge 2                    26
      6/29/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      6/29/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 9                  26
      6/29/2019    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      6/29/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      6/29/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      6/29/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      6/29/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.18
      6/29/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         690.74
      6/29/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         637.92
      6/29/2019    742   DC0117   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           206.34
      6/29/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                       100
      6/29/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                       100
      6/29/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                       100
      6/29/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      6/29/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      6/29/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/29/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/29/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.56
      6/29/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          424.8
      6/29/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          414.9
      6/29/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.57
      6/29/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          341.8
      6/29/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
      6/29/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      6/29/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      6/29/2019    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Aurora                     6.65
      6/29/2019    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL DeKalb                    15.85
      6/29/2019    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Dixon                     15.85
      6/29/2019    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL North Ave.                  5.3
      6/29/2019    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Route 80 (West)               5
      6/29/2019    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL York Rd.                   6.65
      6/29/2019    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Plaza 10 - Irving            2.28
      6/29/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 228848 Trk 33487 Lease          434.2
      6/29/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75

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      6/29/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      6/29/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.77
      6/29/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         639.06
      6/29/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                       100
      6/29/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      6/29/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/29/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      6/29/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      6/29/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      6/29/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      6/29/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.98
      6/29/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.88
      6/29/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.24
      6/29/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.42
      6/29/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.77
      6/29/2019    742   ED0041   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           323.28
      6/29/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                       100
      6/29/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                       100
      6/29/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      6/29/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      6/29/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      6/29/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      6/29/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/29/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/29/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      6/29/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      6/29/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.13
      6/29/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.16
      6/29/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.88
      6/29/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.94
      6/29/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.41
      6/29/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.05
      6/29/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          469.5
      6/29/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.27
      6/29/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.35
      6/29/2019    742   EN0016   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            67.49
      6/29/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      6/29/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      6/29/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      6/29/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      6/29/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/29/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/29/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 10                 26
      6/29/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 11                 26
      6/29/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 8                  26
      6/29/2019    742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg           1.5
      6/29/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      6/29/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      6/29/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      6/29/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      6/29/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      6/29/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      6/29/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      6/29/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      6/29/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/29/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.01
      6/29/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.11
      6/29/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                       100
      6/29/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      6/29/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/29/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      6/29/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/29/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          359.2
      6/29/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.32
      6/29/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          452.8
      6/29/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                       100
      6/29/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      6/29/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.18
      6/29/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Hardy North - Rank             4
      6/29/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Hardy South - Barr             7
      6/29/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Sam Houston - Cent             7
      6/29/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Sam Houston - Sout           3.5
      6/29/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Ship Channel Bridg          5.25
      6/29/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/29/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      6/29/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/29/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                       100
      6/29/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      6/29/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/29/2019    742   MH0117   Owner Operator   Toll Charges                   33296 Antioch Bridge 1                    26
      6/29/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      6/29/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      6/29/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.28
      6/29/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.61
      6/29/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.41
      6/29/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                       100
      6/29/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      6/29/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      6/29/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      6/29/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      6/29/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      6/29/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.27
      6/29/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                       100
      6/29/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      6/29/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      6/29/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 228948 repairs                   250
      6/29/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/29/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/29/2019    742   PC0012   Owner Operator   Driver Excellence Program      CA-UDB6000020                            -50
      6/29/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.04
      6/29/2019    742   PC0012   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax           377.28
      6/29/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      6/29/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      6/29/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      6/29/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      6/29/2019    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 10                 26
      6/29/2019    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 7                  26
      6/29/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      6/29/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      6/29/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      6/29/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      6/29/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.58
      6/29/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.9
      6/29/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.99
      6/29/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.49
      6/29/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.78
      6/29/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.25
      6/29/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.51
      6/29/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                       100
      6/29/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      6/29/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 9                  26
      6/29/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      6/29/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      6/29/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.47
      6/29/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           275
      6/29/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.36
      6/29/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      6/29/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                      100
      6/29/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      6/29/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      6/29/2019    742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00405107 - PO System          268.96
      6/29/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 228855 Tractor Lease           353.28
      6/29/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      6/29/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      6/29/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.35

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      6/29/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.05
      6/29/2019    742   RS0342   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            315.3
      6/29/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                       100
      6/29/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                       100
      6/29/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      6/29/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      6/29/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      6/29/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      6/29/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/29/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      6/29/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      6/29/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      6/29/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      6/29/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      6/29/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/29/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.11
      6/29/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.53
      6/29/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.77
      6/29/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.16
      6/29/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          343.4
      6/29/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.54
      6/29/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.27
      6/29/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                       100
      6/29/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
      6/29/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      6/29/2019    742   TC0098   Owner Operator   Tire Purchase                  PO: 742-00404649 - PO System          364.27
      6/29/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 228495 33489 Lease Paym        412.16
      6/29/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 228784 33489 Lease Paym        412.16
      6/29/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/29/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      6/29/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.44
      6/29/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                       100
      6/29/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      6/29/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/29/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      6/29/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      6/29/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      6/29/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      6/29/2019    843   EI0003   Owner Operator   FUEL TAX                       April 2019 Fuel/Mileage Tax            87.66
      6/29/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/29/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      6/29/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      6/29/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      6/29/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       7/6/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       7/6/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
       7/6/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/6/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.37
       7/6/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.65
       7/6/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.13
       7/6/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                      100
       7/6/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
       7/6/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 229209 Q13148 Trac Leas        296.09
       7/6/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       7/6/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       7/6/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.01
       7/6/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                      100
       7/6/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       7/6/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       7/6/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       7/6/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       7/6/2019    709   AR0064   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-29            155
       7/6/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           206
       7/6/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.71
       7/6/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.05

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       7/6/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                      100
       7/6/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       7/6/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 229196 Q13147 Lease            440.14
       7/6/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       7/6/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       7/6/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       7/6/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.65
       7/6/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          262.7
       7/6/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.05
       7/6/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
       7/6/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          71.94
       7/6/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  27.19
       7/6/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                      100
       7/6/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       7/6/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 229195 Q13169 Sublease         352.68
       7/6/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       7/6/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       7/6/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                       100
       7/6/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       7/6/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       7/6/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       7/6/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       7/6/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
       7/6/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       7/6/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.84
       7/6/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.52
       7/6/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.76
       7/6/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
       7/6/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
       7/6/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       7/6/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 229085 Q13168 sub lease        352.68
       7/6/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/6/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       7/6/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.49
       7/6/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         668.94
       7/6/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
       7/6/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
       7/6/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/6/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       7/6/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       7/6/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       7/6/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       7/6/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       7/6/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.56
       7/6/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.4
       7/6/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.73
       7/6/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.42
       7/6/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
       7/6/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
       7/6/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       7/6/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
       7/6/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 229138 Q1247 Sub Lease         263.91
       7/6/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       7/6/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       7/6/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.37
       7/6/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                       100
       7/6/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       7/6/2019    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00404539 - PO System          111.37
       7/6/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 229085 Q1201                   278.76
       7/6/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75

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       7/6/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       7/6/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.39
       7/6/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.45
       7/6/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.18
       7/6/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.25
       7/6/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                       100
       7/6/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       7/6/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       7/6/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       7/6/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.21
       7/6/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.97
       7/6/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.76
       7/6/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                       100
       7/6/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       7/6/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 229075 TRUCK RENTAL              250
       7/6/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 229134 Sublease                338.99
       7/6/2019    709   DM0257   Owner Operator   Advance                        2/22/19 Clm 72917-1 s/u pmts            250
       7/6/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       7/6/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/6/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.48
       7/6/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                       100
       7/6/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       7/6/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       7/6/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/6/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/6/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       7/6/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       7/6/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         731.73
       7/6/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
       7/6/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
       7/6/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
       7/6/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       7/6/2019    709   DS0049   Owner Operator   Toll Charges                   TL0212/32915 Bay Bridge 17                26
       7/6/2019    709   DS0049   Owner Operator   Toll Charges                   TL9206/32915 Bay Bridge 17                26
       7/6/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       7/6/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       7/6/2019    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       7/6/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       7/6/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       7/6/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13        -119.04
       7/6/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13        -119.04
       7/6/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13        -119.04
       7/6/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13        -119.04
       7/6/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13        -119.04
       7/6/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                           180
       7/6/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       7/6/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       7/6/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       7/6/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/6/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       7/6/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       7/6/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.3
       7/6/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.31
       7/6/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                       100
       7/6/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
       7/6/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/6/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       7/6/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       7/6/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.92
       7/6/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.67

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       7/6/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
       7/6/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       7/6/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       7/6/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       7/6/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       7/6/2019    709   EG0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-29           40.56
       7/6/2019    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           500
       7/6/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.63
       7/6/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                       100
       7/6/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       7/6/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       7/6/2019    709   EG0062   Owner Operator   Tire Purchase                  PO: 709-00405277 - PO System          784.39
       7/6/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       7/6/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       7/6/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.03
       7/6/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.81
       7/6/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.53
       7/6/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           382
       7/6/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                       100
       7/6/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       7/6/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       7/6/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       7/6/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       7/6/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/6/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/6/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.29
       7/6/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.11
       7/6/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.47
       7/6/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.3
       7/6/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 616.88
       7/6/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                       100
       7/6/2019    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         349.39
       7/6/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       7/6/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 229194 truck lease 3304        434.29
       7/6/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       7/6/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       7/6/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.8
       7/6/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         694.08
       7/6/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                      100
       7/6/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
       7/6/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       7/6/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
       7/6/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/6/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.58
       7/6/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
       7/6/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
       7/6/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       7/6/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
       7/6/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       7/6/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       7/6/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.68
       7/6/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                       100
       7/6/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       7/6/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       7/6/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       7/6/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/6/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/6/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.22

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       7/6/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                            414
       7/6/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.76
       7/6/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.99
       7/6/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          121.7
       7/6/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                        100
       7/6/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         252.62
       7/6/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       7/6/2019    709   GW0043   Owner Operator   Tire Purchase                  PO: 709-00404839 - PO System          203.31
       7/6/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks         141.05
       7/6/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       7/6/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                        1.48
       7/6/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.24
       7/6/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         603.13
       7/6/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                        100
       7/6/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
       7/6/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             200
       7/6/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             100
       7/6/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/6/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.65
       7/6/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.55
       7/6/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       7/6/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
       7/6/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.71
       7/6/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.47
       7/6/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                        100
       7/6/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
       7/6/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       7/6/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/6/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-29             120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-29             120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13         -71.88
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13         -21.88
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -105
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -135
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13            -60
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -105
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -105
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -105
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -105
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -105
       7/6/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.65
       7/6/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.61
       7/6/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       7/6/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/6/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       7/6/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
       7/6/2019    709   JA0152   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-29           42.12
       7/6/2019    709   JA0152   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/6/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          285.6
       7/6/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
       7/6/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       7/6/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8

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       7/6/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
       7/6/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/6/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
       7/6/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
       7/6/2019    709   JD0211   Owner Operator   Tire Purchase                  PO: 709-00404841 - PO System           18.9
       7/6/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       7/6/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
       7/6/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
       7/6/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
       7/6/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.9
       7/6/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        491.05
       7/6/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
       7/6/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        251.27
       7/6/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/6/2019    709   JG0017   Owner Operator   Permits                        NY13:2019 - 32908                       1.5
       7/6/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
       7/6/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
       7/6/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       7/6/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
       7/6/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       7/6/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
       7/6/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.59
       7/6/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        473.58
       7/6/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.01
       7/6/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        370.05
       7/6/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
       7/6/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/6/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
       7/6/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
       7/6/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
       7/6/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
       7/6/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         96.64
       7/6/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           150
       7/6/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       7/6/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        158.96
       7/6/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        507.44
       7/6/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        459.93
       7/6/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                       100
       7/6/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/6/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
       7/6/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
       7/6/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
       7/6/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 33438                         13
       7/6/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                          8
       7/6/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.71
       7/6/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 34637                       100
       7/6/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/6/2019    709   JQ0015   Owner Operator   Permits                        IL02:2019 - 34637                      3.75
       7/6/2019    709   JQ0015   Owner Operator   Permits                        NM07:2019 - 34637                     11.55
       7/6/2019    709   JQ0015   Owner Operator   Permits                        OR16:2019 - 34637                       8.5
       7/6/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
       7/6/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  15.63
       7/6/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
       7/6/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
       7/6/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        455.78
       7/6/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                       100
       7/6/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/6/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
       7/6/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 229043 Truck Lease            278.76
       7/6/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
       7/6/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75
       7/6/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                         8
       7/6/2019    709   JS0265   Owner Operator   ESCROW                         Escrow Withdrawal                     -5000
       7/6/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       7/6/2019    709   JS0265   Owner Operator   Express Check                  T-Check Payment                        5000
       7/6/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       7/6/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.1
       7/6/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        496.27
       7/6/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        212.46
       7/6/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        399.68
       7/6/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                      100

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       7/6/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            2.51
       7/6/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/6/2019    709   JS0265   Owner Operator   Permits                        IL02:2019 - Q13159                       3.75
       7/6/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                         37.5
       7/6/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD             40.24
       7/6/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       7/6/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                           13
       7/6/2019    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13        -2294.25
       7/6/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
       7/6/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
       7/6/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
       7/6/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       7/6/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       7/6/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            316
       7/6/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            368
       7/6/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.91
       7/6/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            430
       7/6/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                       33.17
       7/6/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          254.87
       7/6/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/6/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.32
       7/6/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       7/6/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                          519.59
       7/6/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL             8.75
       7/6/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                           8
       7/6/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                              50
       7/6/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          177.36
       7/6/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          322.67
       7/6/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.21
       7/6/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                       100
       7/6/2019    709   KT0055   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment           298.5
       7/6/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/6/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD             42.19
       7/6/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 229076 Q13156 Lease             388.16
       7/6/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
       7/6/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                            8
       7/6/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                        100
       7/6/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              39.07
       7/6/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 229195 Lease Q1111              252.11
       7/6/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                    8.75
       7/6/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                    8.75
       7/6/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                           13
       7/6/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                           13
       7/6/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          281.46
       7/6/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           647.2
       7/6/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                        100
       7/6/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                        100
       7/6/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/6/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/6/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                    57.01
       7/6/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                    57.04
       7/6/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
       7/6/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                            8
       7/6/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          380.27
       7/6/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.85
       7/6/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                        100
       7/6/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/6/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       49.69
       7/6/2019    709   MA0092   Owner Operator   Tire Purchase                  PO: 709-00403295 - PO System           356.04
       7/6/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
       7/6/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                            8
       7/6/2019    709   MD0122   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-29            201.5
       7/6/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            100
       7/6/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                           561.8
       7/6/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                        100
       7/6/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/6/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                       23.44
       7/6/2019    709   MD0122   Owner Operator   Tire Purchase                  PO: 709-00404541 - PO System           365.05
       7/6/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL              8.75
       7/6/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                            8
       7/6/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          346.27
       7/6/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          226.93
       7/6/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          393.66

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       7/6/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.9
       7/6/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                        100
       7/6/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
       7/6/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       7/6/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 229085 Q1113 Lease             252.11
       7/6/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 229181 TRUCK RENTAL               300
       7/6/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       7/6/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
       7/6/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            500
       7/6/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              20
       7/6/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             280
       7/6/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
       7/6/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
       7/6/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.72
       7/6/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.87
       7/6/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                        100
       7/6/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
       7/6/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       7/6/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       7/6/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       7/6/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
       7/6/2019    709   NB0029   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-29          324.36
       7/6/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
       7/6/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
       7/6/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         628.32
       7/6/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                        100
       7/6/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       7/6/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       7/6/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
       7/6/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       7/6/2019    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00403294 - PO System          405.94
       7/6/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       7/6/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       7/6/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             100
       7/6/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             120
       7/6/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
       7/6/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/6/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.62
       7/6/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.73
       7/6/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                       100
       7/6/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       7/6/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       7/6/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       7/6/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                        100
       7/6/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       7/6/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 229212 Truck 73130 Leas        196.65
       7/6/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       7/6/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       7/6/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/6/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          144.1
       7/6/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.64
       7/6/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.42
       7/6/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
       7/6/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
       7/6/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
       7/6/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.94
       7/6/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       7/6/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       7/6/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-29             120
       7/6/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -240
       7/6/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120

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       7/6/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         649.92
       7/6/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         581.01
       7/6/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       7/6/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       7/6/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/6/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       7/6/2019    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 6-29             120
       7/6/2019    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -220
       7/6/2019    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13           -120
       7/6/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
       7/6/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          513.2
       7/6/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.66
       7/6/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
       7/6/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   RL0017   Owner Operator   Permits                        NY13:2019 - 33065                        1.5
       7/6/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       7/6/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/6/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       7/6/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/6/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       7/6/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
       7/6/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          62.45
       7/6/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.01
       7/6/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
       7/6/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       7/6/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       7/6/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       7/6/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       7/6/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            100
       7/6/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         584.83
       7/6/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
       7/6/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
       7/6/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       7/6/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       7/6/2019    709   RL0180   Owner Operator   Truck Payment                  CTMS - 229181 TRUCK RENTAL               300
       7/6/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       7/6/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       7/6/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       7/6/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.46
       7/6/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.26
       7/6/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                        100
       7/6/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       7/6/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       7/6/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       7/6/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.82
       7/6/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                        100
       7/6/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       7/6/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 229043 Q1202 Truck Leas        278.76
       7/6/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       7/6/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       7/6/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
       7/6/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
       7/6/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/6/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/6/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.64
       7/6/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         638.14
       7/6/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.86
       7/6/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                        100
       7/6/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       7/6/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       7/6/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 229085 Q1248                   311.97
       7/6/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       7/6/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13

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       7/6/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/6/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.21
       7/6/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.96
       7/6/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.17
       7/6/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
       7/6/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
       7/6/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       7/6/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       7/6/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       7/6/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.61
       7/6/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.9
       7/6/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.21
       7/6/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.36
       7/6/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                      36.15
       7/6/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       7/6/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       7/6/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       7/6/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
       7/6/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           420
       7/6/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.74
       7/6/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.59
       7/6/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.12
       7/6/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
       7/6/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
       7/6/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       7/6/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       7/6/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       7/6/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/6/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/6/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.76
       7/6/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.55
       7/6/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.34
       7/6/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       7/6/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       7/6/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       7/6/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13        -119.04
       7/6/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13        -119.04
       7/6/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13        -119.04
       7/6/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13        -119.04
       7/6/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13        -119.04
       7/6/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13        -119.04
       7/6/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.08
       7/6/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                       100
       7/6/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       7/6/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                              93
       7/6/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       7/6/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       7/6/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-13        -203.13
       7/6/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       7/6/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       7/6/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       7/6/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       7/6/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                       100
       7/6/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       7/6/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       7/6/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       7/6/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/6/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/6/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.71
       7/6/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           526
       7/6/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35

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       7/6/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       7/6/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       7/6/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.25
       7/6/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          322.2
       7/6/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.51
       7/6/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
       7/6/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       7/6/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       7/6/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       7/6/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.76
       7/6/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.22
       7/6/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.32
       7/6/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
       7/6/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       7/6/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/6/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       7/6/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           465
       7/6/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.28
       7/6/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
       7/6/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       7/6/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/6/2019    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00404203 - PO System          214.17
       7/6/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       7/6/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       7/6/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.49
       7/6/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.56
       7/6/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.92
       7/6/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
       7/6/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       7/6/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       7/6/2019    742   DS0254   Owner Operator   T Chek Fee                     ExpressCheck Fee                        7.14
       7/6/2019    742   DS0254   Owner Operator   T Chek Fee                     Tractor Repair 33487                  714.28
       7/6/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - NE M           3.5
       7/6/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Ship Channel Bridg           3.5
       7/6/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Ship Channel Bridg           3.5
       7/6/2019    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Abrams Rd - EB               0.42
       7/6/2019    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Luna Road TEXpress           10.8
       7/6/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       7/6/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       7/6/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.42
       7/6/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         566.56
       7/6/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.09
       7/6/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                       100
       7/6/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       7/6/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       7/6/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       7/6/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       7/6/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.39
       7/6/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.54
       7/6/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.24
       7/6/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.24
       7/6/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                       100
       7/6/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       7/6/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       7/6/2019    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Hardy North - Rank             4
       7/6/2019    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Hardy North - Rank             4
       7/6/2019    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Hardy South - Barr             7
       7/6/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/6/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       7/6/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.85
       7/6/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.98
       7/6/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
       7/6/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       7/6/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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       7/6/2019    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Spencer Mai          8.48
       7/6/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       7/6/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       7/6/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       7/6/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       7/6/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       7/6/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       7/6/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       7/6/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/6/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         665.22
       7/6/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                       100
       7/6/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       7/6/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/6/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
       7/6/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/6/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.44
       7/6/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.66
       7/6/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.19
       7/6/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                       100
       7/6/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
       7/6/2019    742   JS0390   Owner Operator   Repair Order                   CTMS - 229165 repair                      85
       7/6/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Sam Houston - Nort           3.5
       7/6/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       7/6/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       7/6/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/6/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                       100
       7/6/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       7/6/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       7/6/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.58
       7/6/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           54.8
       7/6/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.82
       7/6/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       7/6/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       7/6/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.94
       7/6/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.02
       7/6/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                       100
       7/6/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       7/6/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       7/6/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 229154 repair                    250
       7/6/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   6.55
       7/6/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.79
       7/6/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.77
       7/6/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.09
       7/6/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       7/6/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       7/6/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/6/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/6/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/6/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/6/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.53
       7/6/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.41
       7/6/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.46
       7/6/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.94
       7/6/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.14
       7/6/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.04
       7/6/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.74
       7/6/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                       100
       7/6/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       7/6/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       7/6/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       7/6/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.39
       7/6/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          357.9
       7/6/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           369
       7/6/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
       7/6/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.56
       7/6/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                      100

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       7/6/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       7/6/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       7/6/2019    742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00405107 - PO System          268.96
       7/6/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       7/6/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       7/6/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       7/6/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       7/6/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.59
       7/6/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.66
       7/6/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.22
       7/6/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.61
       7/6/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                       100
       7/6/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       7/6/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       7/6/2019    742   RS0342   Owner Operator   Tire Purchase                  PO: 742-00404050 - PO System          212.15
       7/6/2019    742   RS0342   Owner Operator   Tire Purchase                  PO: 742-00404050 - PO System          212.15
       7/6/2019    742   RS0342   Owner Operator   Tire Purchase                  PO: 742-00404050 - PO System          212.15
       7/6/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       7/6/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       7/6/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       7/6/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       7/6/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       7/6/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/6/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/6/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.02
       7/6/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.98
       7/6/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.72
       7/6/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.71
       7/6/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                      14.35
       7/6/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
       7/6/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       7/6/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       7/6/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       7/6/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.28
       7/6/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                       100
       7/6/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       7/6/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       7/6/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       7/6/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       7/6/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/6/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       7/6/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      7/13/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      7/13/2019    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      7/13/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      7/13/2019    709   AC0061   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-20           -9.5
      7/13/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/13/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.41
      7/13/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.17
      7/13/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.24
      7/13/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.49
      7/13/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                      100
      7/13/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      7/13/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 229448 Q13148 Trac Leas        296.09
      7/13/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      7/13/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      7/13/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                      100
      7/13/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      7/13/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      7/13/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      7/13/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           230
      7/13/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.07
      7/13/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          393.4
      7/13/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                      100
      7/13/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16

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      7/13/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 229379 Q13147 Lease             353.9
      7/13/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      7/13/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      7/13/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      7/13/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.29
      7/13/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.05
      7/13/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.11
      7/13/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  39.25
      7/13/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                      100
      7/13/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      7/13/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 229379 Q13169 Sublease         352.68
      7/13/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      7/13/2019    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      7/13/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      7/13/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                       100
      7/13/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      7/13/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      7/13/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      7/13/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      7/13/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/13/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/13/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         591.05
      7/13/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.6
      7/13/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.89
      7/13/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
      7/13/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      7/13/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      7/13/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 229284 Q13168 sub lease        352.68
      7/13/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/13/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      7/13/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/13/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         657.94
      7/13/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          487.8
      7/13/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      7/13/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      7/13/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/13/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      7/13/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      7/13/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      7/13/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      7/13/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      7/13/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.46
      7/13/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.7
      7/13/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.91
      7/13/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.86
      7/13/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
      7/13/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
      7/13/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      7/13/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      7/13/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 229334 Q1247 Sub Lease         263.91
      7/13/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      7/13/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      7/13/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.84
      7/13/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.07
      7/13/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                       100
      7/13/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      7/13/2019    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00404539 - PO System          111.37
      7/13/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 229294 Q1201                   278.76
      7/13/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/13/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      7/13/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.73
      7/13/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.58
      7/13/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.54
      7/13/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                       100
      7/13/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2

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      7/13/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      7/13/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      7/13/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.83
      7/13/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.57
      7/13/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.19
      7/13/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                        100
      7/13/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      7/13/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 229289 TRUCK RENTAL               250
      7/13/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 229338 Sublease                338.99
      7/13/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 229369 TRUCK RENTAL               250
      7/13/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 229369 TRUCK RENTAL               500
      7/13/2019    709   DM0257   Owner Operator   Advance                        2/22/19 Clm 72917-1 s/u pmts             250
      7/13/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      7/13/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/13/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.87
      7/13/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                        100
      7/13/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      7/13/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      7/13/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/13/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      7/13/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      7/13/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/13/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.69
      7/13/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         804.83
      7/13/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.6
      7/13/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      7/13/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      7/13/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      7/13/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      7/13/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      7/13/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6           119.04
      7/13/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6           119.04
      7/13/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6           119.04
      7/13/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6           119.04
      7/13/2019    709   DS0225   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6           119.04
      7/13/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         577.53
      7/13/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         614.51
      7/13/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      7/13/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      7/13/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      7/13/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/13/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.49
      7/13/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.66
      7/13/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                        100
      7/13/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      7/13/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/13/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      7/13/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      7/13/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/13/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/13/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.03
      7/13/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.81
      7/13/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.28
      7/13/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      7/13/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      7/13/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      7/13/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      7/13/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      7/13/2019    709   EG0062   Owner Operator   ESCROW                         Escrow Withdrawal                      -2500
      7/13/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                            634
      7/13/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                        100
      7/13/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      7/13/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      7/13/2019    709   EG0062   Owner Operator   Tire Purchase                  PO: 709-00405277 - PO System          784.36

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      7/13/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      7/13/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      7/13/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/13/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.97
      7/13/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.65
      7/13/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          346.1
      7/13/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      7/13/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                       100
      7/13/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      7/13/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      7/13/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      7/13/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      7/13/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/13/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/13/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.7
      7/13/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.1
      7/13/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 385.78
      7/13/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                       100
      7/13/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      7/13/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 229378 truck lease 3304        434.29
      7/13/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/13/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      7/13/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/13/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/13/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.14
      7/13/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.53
      7/13/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.11
      7/13/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                      100
      7/13/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      7/13/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/13/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      7/13/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/13/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/13/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/13/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.42
      7/13/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.17
      7/13/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.76
      7/13/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      7/13/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      7/13/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      7/13/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      7/13/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      7/13/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      7/13/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.78
      7/13/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                       100
      7/13/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      7/13/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 229334 Amortized Balloo        200.15
      7/13/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      7/13/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      7/13/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/13/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/13/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/13/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/13/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.04
      7/13/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.66
      7/13/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.53
      7/13/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.45
      7/13/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.81
      7/13/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           334
      7/13/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                       100
      7/13/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         252.62
      7/13/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      7/13/2019    709   GW0043   Owner Operator   Tire Purchase                  PO: 709-00404839 - PO System          203.25
      7/13/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 229205 Q1109 Lease             302.85

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      7/13/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks          250
      7/13/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks          250
      7/13/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks        108.95
      7/13/2019    709   HC0023   Owner Operator   Arrears                        Credit Billing                       209.26
      7/13/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL           8.75
      7/13/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL           8.75
      7/13/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL           8.75
      7/13/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                         8
      7/13/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        482.81
      7/13/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                     100
      7/13/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                     100
      7/13/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                     100
      7/13/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/13/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/13/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/13/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD           35.15
      7/13/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD           35.16
      7/13/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD           35.16
      7/13/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 229330 Q13170                 352.68
      7/13/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                      8.75
      7/13/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                          8
      7/13/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                       6.52
      7/13/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                          100
      7/13/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                          100
      7/13/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          195
      7/13/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        650.89
      7/13/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         40.64
      7/13/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        546.29
      7/13/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                      100
      7/13/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/13/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      98.05
      7/13/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      7/13/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      7/13/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      7/13/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      7/13/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/13/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/13/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/13/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      7/13/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      7/13/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/13/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/13/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/13/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.84
      7/13/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        570.31
      7/13/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        163.03
      7/13/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         73.06
      7/13/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        512.81
      7/13/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        187.97
      7/13/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        417.22
      7/13/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        433.49
      7/13/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        453.46
      7/13/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                      100
      7/13/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                      100
      7/13/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/13/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/13/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      7/13/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      7/13/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
      7/13/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                          8
      7/13/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        188.19
      7/13/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        500.41
      7/13/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                      100
      7/13/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/13/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  51.57
      7/13/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   21.35
      7/13/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/13/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                          8
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6            105
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6            120
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6            105
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6            120
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6            105

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      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              120
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              120
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6             71.88
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6             21.88
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              120
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              120
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              105
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              120
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              135
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6                60
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              120
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              105
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              120
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              105
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              120
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              120
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              120
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              120
      7/13/2019    709   IR0002   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6              120
      7/13/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          408.67
      7/13/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.66
      7/13/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/13/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.64
      7/13/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      7/13/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      7/13/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      7/13/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.16
      7/13/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/13/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    27.35
      7/13/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                     13.98
      7/13/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                     13.98
      7/13/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
      7/13/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
      7/13/2019    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                    12.5
      7/13/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          13
      7/13/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          13
      7/13/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      7/13/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      7/13/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/13/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/13/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/13/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/13/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      7/13/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/13/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/13/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/13/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          253.95
      7/13/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          418.81
      7/13/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.41
      7/13/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.03
      7/13/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          342.06
      7/13/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                       100
      7/13/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                       100
      7/13/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/13/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/13/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD                42.19
      7/13/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD                42.19
      7/13/2019    709   JC0292   Owner Operator   Repair Order                   CTMS - 229414 Claim 73250            -1571.65
      7/13/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 229134 Q13197 Lease             276.63
      7/13/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 229331 Q13197 Lease             276.63
      7/13/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      7/13/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                            8
      7/13/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/13/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/13/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       11.72
      7/13/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism               2.5
      7/13/2019    709   JD0211   Owner Operator   Tire Purchase                  PO: 709-00404841 - PO System            18.83
      7/13/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      7/13/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                           13
      7/13/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             500
      7/13/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      7/13/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          322.84
      7/13/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           340.5

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      7/13/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
      7/13/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        248.33
      7/13/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/13/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      7/13/2019    709   JG0017   Owner Operator   Tire Fee                       Tire Fee: 2293464                        16
      7/13/2019    709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00407261 - PO System         413.49
      7/13/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      7/13/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/13/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      7/13/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      7/13/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      7/13/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        244.24
      7/13/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        370.12
      7/13/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        250.99
      7/13/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        438.86
      7/13/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        196.27
      7/13/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
      7/13/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/13/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      7/13/2019    709   JG0072   Owner Operator   Tire Fee                       Tire Fee: 2293446                         4
      7/13/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00407267 - PO System          97.66
      7/13/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      7/13/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      7/13/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      7/13/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                          150
      7/13/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/13/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/13/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        705.73
      7/13/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        442.87
      7/13/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                      100
      7/13/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/13/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
      7/13/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      7/13/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      7/13/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                          8
      7/13/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.95
      7/13/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 34637                      100
      7/13/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/13/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      7/13/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  15.63
      7/13/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      7/13/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      7/13/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        485.32
      7/13/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                      100
      7/13/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/13/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      7/13/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 229251 Truck Lease            278.76
      7/13/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      7/13/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75
      7/13/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                         8
      7/13/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      7/13/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/13/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/13/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        205.33
      7/13/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        181.96
      7/13/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        351.09
      7/13/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        141.04
      7/13/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                     100
      7/13/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          2.51
      7/13/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/13/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      7/13/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD           40.24
      7/13/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 229333 Q13159 Lease            331.5
      7/13/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/13/2019    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
      7/13/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      7/13/2019    709   KP0004   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6         2294.25
      7/13/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      7/13/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/13/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/13/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         41.85
      7/13/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        320.11
      7/13/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          426

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      7/13/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      7/13/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      7/13/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      7/13/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/13/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      7/13/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      7/13/2019    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      7/13/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      7/13/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/13/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.75
      7/13/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.8
      7/13/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                      100
      7/13/2019    709   KT0055   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          298.5
      7/13/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      7/13/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 229285 Q13156 Lease            388.16
      7/13/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      7/13/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      7/13/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                       100
      7/13/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      7/13/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 229378 Lease Q1111             252.11
      7/13/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      7/13/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      7/13/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/13/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/13/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.25
      7/13/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.73
      7/13/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                       100
      7/13/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      7/13/2019    709   LS0023   Owner Operator   Tire Fee                       Tire Fee: 2293466                          8
      7/13/2019    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00407266 - PO System          193.36
      7/13/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/13/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      7/13/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          373.1
      7/13/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.97
      7/13/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.46
      7/13/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.82
      7/13/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.11
      7/13/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.74
      7/13/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                       100
      7/13/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      7/13/2019    709   MA0092   Owner Operator   Tire Purchase                  PO: 709-00403295 - PO System          356.01
      7/13/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      7/13/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      7/13/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/13/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         605.89
      7/13/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                       100
      7/13/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      7/13/2019    709   MD0122   Owner Operator   Tire Purchase                  PO: 709-00404541 - PO System          364.98
      7/13/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      7/13/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      7/13/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.34
      7/13/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.73
      7/13/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.99
      7/13/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.61
      7/13/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                       100
      7/13/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      7/13/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      7/13/2019    709   ME0053   Owner Operator   T Chek Fee                     Cancelled EFS 202184                 -166.65
      7/13/2019    709   ME0053   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.67
      7/13/2019    709   ME0053   Owner Operator   T Chek Fee                     Tractor Repair Q1113                  166.65
      7/13/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 229284 Q1113 Lease             252.11
      7/13/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 229392 TRUCK RENTAL              300
      7/13/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/13/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      7/13/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         232.46

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      7/13/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                       100
      7/13/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      7/13/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/13/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      7/13/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      7/13/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      7/13/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/13/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/13/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/13/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          378.1
      7/13/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.98
      7/13/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.56
      7/13/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                       100
      7/13/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      7/13/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      7/13/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      7/13/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      7/13/2019    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00403294 - PO System          405.88
      7/13/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 229332 32986 Lease             314.03
      7/13/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      7/13/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      7/13/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            240
      7/13/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.4
      7/13/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.97
      7/13/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.22
      7/13/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                      100
      7/13/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      7/13/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      7/13/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      7/13/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                       100
      7/13/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      7/13/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 229442 Truck 73130 Leas        196.65
      7/13/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/13/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      7/13/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/13/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.32
      7/13/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.13
      7/13/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      7/13/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      7/13/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      7/13/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      7/13/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      7/13/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      7/13/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      7/13/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/13/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/13/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/13/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/13/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.62
      7/13/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.39
      7/13/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.01
      7/13/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.84
      7/13/2019    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2019 - Q1241                       100
      7/13/2019    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2019 - Q1241                       100
      7/13/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      7/13/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      7/13/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 229307 Q1241 Truck leas        321.84
      7/13/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      7/13/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      7/13/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6             120
      7/13/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6             120
      7/13/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6             240
      7/13/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6             120
      7/13/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6             120

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      7/13/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6             120
      7/13/2019    709   RC0030   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6             120
      7/13/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          549.5
      7/13/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      7/13/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      7/13/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/13/2019    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      7/13/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      7/13/2019    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6             120
      7/13/2019    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6             120
      7/13/2019    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6             120
      7/13/2019    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6             120
      7/13/2019    709   RL0017   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6             220
      7/13/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/13/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.86
      7/13/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      7/13/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      7/13/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/13/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      7/13/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/13/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      7/13/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/13/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/13/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.33
      7/13/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.81
      7/13/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.41
      7/13/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.51
      7/13/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          32.59
      7/13/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          469.2
      7/13/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      7/13/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      7/13/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      7/13/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      7/13/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      7/13/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/13/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         569.78
      7/13/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.47
      7/13/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      7/13/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      7/13/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      7/13/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      7/13/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      7/13/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      7/13/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      7/13/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.28
      7/13/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.9
      7/13/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                       100
      7/13/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      7/13/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      7/13/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      7/13/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.92
      7/13/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                       100
      7/13/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      7/13/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 229251 Q1202 Truck Leas        278.76
      7/13/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      7/13/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/13/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/13/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         596.96
      7/13/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          492.3
      7/13/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100
      7/13/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      7/13/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      7/13/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 229293 Q1248                   295.21
      7/13/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75

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      7/13/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      7/13/2019    709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-20         -483.5
      7/13/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/13/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/13/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/13/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/13/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/13/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.18
      7/13/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.89
      7/13/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.25
      7/13/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.05
      7/13/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      7/13/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      7/13/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      7/13/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      7/13/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      7/13/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      7/13/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      7/13/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/13/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/13/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.12
      7/13/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.86
      7/13/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.8
      7/13/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.79
      7/13/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.96
      7/13/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                      63.85
      7/13/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                       100
      7/13/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      7/13/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      7/13/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      7/13/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      7/13/2019    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00405871 - PO System          101.51
      7/13/2019    709   SB0103   Owner Operator   Tire Purchase                  PO: 709-00405871 - PO System          101.45
      7/13/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 229039 Sub Lease               388.33
      7/13/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 229246 Sub Lease               388.33
      7/13/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      7/13/2019    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      7/13/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      7/13/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           240
      7/13/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           422
      7/13/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           455
      7/13/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           185
      7/13/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      7/13/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      7/13/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      7/13/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      7/13/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      7/13/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/13/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.69
      7/13/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.1
      7/13/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.01
      7/13/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.28
      7/13/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.54
      7/13/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      7/13/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      7/13/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      7/13/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6           119.04
      7/13/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6           119.04
      7/13/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6           119.04
      7/13/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6           119.04
      7/13/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6           119.04
      7/13/2019    709   VB0015   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6           119.04
      7/13/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.98
      7/13/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                       100
      7/13/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      7/13/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      7/13/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84

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      7/13/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/13/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/13/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      7/13/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      7/13/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/13/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/13/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/13/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      7/13/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            107
      7/13/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      7/13/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.03
      7/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.31
      7/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.89
      7/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.81
      7/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.57
      7/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.57
      7/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.6
      7/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.31
      7/13/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.34
      7/13/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                       100
      7/13/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                       100
      7/13/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      7/13/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      7/13/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/13/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      7/13/2019    709   WB0062   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-6           203.13
      7/13/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      7/13/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      7/13/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      7/13/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      7/13/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/13/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/13/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/13/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.39
      7/13/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.91
      7/13/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                       100
      7/13/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      7/13/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 229085 Q1238 Lease             311.97
      7/13/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 229294 Q1238 Lease             311.97
      7/13/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      7/13/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      7/13/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/13/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/13/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.87
      7/13/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      7/13/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      7/13/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      7/13/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      7/13/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.01
      7/13/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          63.08
      7/13/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
      7/13/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      7/13/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      7/13/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      7/13/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.85
      7/13/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         657.94
      7/13/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.1
      7/13/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                       100
      7/13/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                       100
      7/13/2019    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA C                      17.2
      7/13/2019    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA D                      18.6
      7/13/2019    742   DC0117   Owner Operator   Toll Charges                   34063 E470 PLAZA E                      18.6
      7/13/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      7/13/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8

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      7/13/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/13/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/13/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.96
      7/13/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.23
      7/13/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                        100
      7/13/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      7/13/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      7/13/2019    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Dallas North Tollwa          10.4
      7/13/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 229135 Trk 33487 Lease          434.2
      7/13/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/13/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      7/13/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.05
      7/13/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.18
      7/13/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         595.26
      7/13/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                        100
      7/13/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      7/13/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      7/13/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/13/2019    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      7/13/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      7/13/2019    742   EN0016   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-20        -747.24
      7/13/2019    742   EN0016   Owner Operator   Deferred Negative Pay          ** Net Rebill to post on 7-20           -162
      7/13/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.71
      7/13/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.68
      7/13/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.52
      7/13/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.99
      7/13/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      7/13/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      7/13/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/13/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      7/13/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      7/13/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      7/13/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      7/13/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      7/13/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      7/13/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      7/13/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/13/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.74
      7/13/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                        100
      7/13/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      7/13/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/13/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      7/13/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/13/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                        100
      7/13/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      7/13/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/13/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      7/13/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/13/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                        100
      7/13/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      7/13/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/13/2019    742   MH0117   Owner Operator   Toll Charges                   33296 WVPEDTA Chelyan                  11.74
      7/13/2019    742   MH0117   Owner Operator   Toll Charges                   33296 WVPEDTA Ghent South              11.74
      7/13/2019    742   MH0117   Owner Operator   Toll Charges                   33296 WVPEDTA Pax                      11.74
      7/13/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      7/13/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      7/13/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      7/13/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      7/13/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.46
      7/13/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.85
      7/13/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.74
      7/13/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.94
      7/13/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.25
      7/13/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                        100
      7/13/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                        100
      7/13/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      7/13/2019    742   MS0230   Owner Operator   Permits                        NY13:2019 - 34082                        1.5
      7/13/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      7/13/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      7/13/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      7/13/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      7/13/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      7/13/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      7/13/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      7/13/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      7/13/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      7/13/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      7/13/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      7/13/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      7/13/2019    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      7/13/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      7/13/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/13/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/13/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.28
      7/13/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.18
      7/13/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.76
      7/13/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.05
      7/13/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                       100
      7/13/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      7/13/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      7/13/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 229363 repair                    250
      7/13/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      7/13/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      7/13/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      7/13/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      7/13/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/13/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    2.2
      7/13/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      7/13/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      7/13/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      7/13/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      7/13/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/13/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/13/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.09
      7/13/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.64
      7/13/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.68
      7/13/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      7/13/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      7/13/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      7/13/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      7/13/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      7/13/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      7/13/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      7/13/2019    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      7/13/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      7/13/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.48
      7/13/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.14
      7/13/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.27
      7/13/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.18
      7/13/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.5
      7/13/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                      100
      7/13/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      7/13/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      7/13/2019    742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00405107 - PO System          268.89
      7/13/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 229142 Tractor Lease           353.28
      7/13/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      7/13/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      7/13/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.03
      7/13/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.48
      7/13/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.3
      7/13/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                       100
      7/13/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      7/13/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      7/13/2019    742   RS0342   Owner Operator   Tire Purchase                  PO: 742-00404050 - PO System          212.09
      7/13/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/13/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13

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      7/13/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      7/13/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      7/13/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      7/13/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      7/13/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                      85.65
      7/13/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                       100
      7/13/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      7/13/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      7/13/2019    742   TC0098   Owner Operator   Tire Purchase                  PO: 742-00404649 - PO System          309.53
      7/13/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/13/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      7/13/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.11
      7/13/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                       100
      7/13/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      7/13/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/13/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      7/13/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      7/13/2019    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      7/13/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      7/13/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.96
      7/13/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/13/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      7/13/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      7/20/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      7/20/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      7/20/2019    709   AC0061   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-13             9.5
      7/20/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/20/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.97
      7/20/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.74
      7/20/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.13
      7/20/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                      100
      7/20/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      7/20/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 229751 Q13148 Trac Leas        296.09
      7/20/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      7/20/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      7/20/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.86
      7/20/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                      100
      7/20/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      7/20/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      7/20/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      7/20/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      7/20/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      7/20/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.66
      7/20/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.84
      7/20/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.82
      7/20/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          473.8
      7/20/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.8
      7/20/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                      100
      7/20/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      7/20/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 229379 Q13147 Lease             86.24
      7/20/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 229693 Q13147 Lease            440.14
      7/20/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      7/20/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      7/20/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      7/20/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/20/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/20/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.28
      7/20/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.73
      7/20/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.71
      7/20/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      7/20/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          58.44
      7/20/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.46
      7/20/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.1
      7/20/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.84
      7/20/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.26
      7/20/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  77.44
      7/20/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                      100

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      7/20/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      7/20/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 229692 Q13169 Sublease         352.68
      7/20/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      7/20/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      7/20/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                       100
      7/20/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      7/20/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      7/20/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      7/20/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      7/20/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/20/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/20/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/20/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/20/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.36
      7/20/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.75
      7/20/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
      7/20/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      7/20/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      7/20/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 229567 Q13168 sub lease        352.68
      7/20/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/20/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      7/20/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/20/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/20/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         730.02
      7/20/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      7/20/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.96
      7/20/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/20/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      7/20/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      7/20/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      7/20/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      7/20/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      7/20/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/20/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/20/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.89
      7/20/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.93
      7/20/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.48
      7/20/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.21
      7/20/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.53
      7/20/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
      7/20/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
      7/20/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      7/20/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      7/20/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 229631 Q1247 Sub Lease         263.91
      7/20/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      7/20/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      7/20/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.36
      7/20/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                       100
      7/20/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      7/20/2019    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00404539 - PO System          111.37
      7/20/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 229566 Q1201                   278.76
      7/20/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/20/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      7/20/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.24
      7/20/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.87
      7/20/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.17
      7/20/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                       100
      7/20/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      7/20/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      7/20/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      7/20/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/20/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/20/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.57
      7/20/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.74
      7/20/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.56
      7/20/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                       100

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      7/20/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      7/20/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 229627 Sublease                338.99
      7/20/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 229666 TRUCK RENTAL              500
      7/20/2019    709   DM0257   Owner Operator   Advance                        2/22/19 Clm 72917-1 s/u pmts            250
      7/20/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      7/20/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/20/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                       100
      7/20/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      7/20/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      7/20/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/20/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      7/20/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/20/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/20/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.16
      7/20/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.4
      7/20/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.9
      7/20/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      7/20/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      7/20/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      7/20/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      7/20/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      7/20/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.17
      7/20/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      7/20/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      7/20/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      7/20/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/20/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/20/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/20/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.64
      7/20/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.61
      7/20/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          71.36
      7/20/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.92
      7/20/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.14
      7/20/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                       100
      7/20/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      7/20/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/20/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      7/20/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/20/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/20/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/20/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.08
      7/20/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         649.14
      7/20/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      7/20/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      7/20/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      7/20/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      7/20/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      7/20/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         698.41
      7/20/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                       100
      7/20/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      7/20/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      7/20/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      7/20/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      7/20/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.92
      7/20/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           217
      7/20/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           246
      7/20/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.74
      7/20/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           276
      7/20/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                       100
      7/20/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      7/20/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      7/20/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      7/20/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      7/20/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/20/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      7/20/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/20/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/20/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.29
      7/20/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.63
      7/20/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.29
      7/20/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.03
      7/20/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 844.28
      7/20/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                       100
      7/20/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      7/20/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 229692 truck lease 3304        434.29
      7/20/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/20/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      7/20/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                      100
      7/20/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      7/20/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/20/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      7/20/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/20/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/20/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/20/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.99
      7/20/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                           9.25
      7/20/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.07
      7/20/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.34
      7/20/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.02
      7/20/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      7/20/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      7/20/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      7/20/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      7/20/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      7/20/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      7/20/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          359.4
      7/20/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                       100
      7/20/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      7/20/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 229631 Amortized Balloo        200.15
      7/20/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      7/20/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      7/20/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/20/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/20/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/20/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/20/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/20/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/20/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.49
      7/20/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      7/20/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.05
      7/20/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.75
      7/20/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.33
      7/20/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                       100
      7/20/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         252.62
      7/20/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      7/20/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 229444 Q1109 Lease             302.85
      7/20/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 229748 Q1109 Lease             302.85
      7/20/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      7/20/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      7/20/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      7/20/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.87
      7/20/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.87
      7/20/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.16
      7/20/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                      100
      7/20/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      7/20/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 229636 Q13170                  352.68
      7/20/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      7/20/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      7/20/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/20/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/20/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/20/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.68

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      7/20/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          618.15
      7/20/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          752.24
      7/20/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                        100
      7/20/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/20/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        98.05
      7/20/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      7/20/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                           13
      7/20/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/20/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/20/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          313.42
      7/20/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                           246.6
      7/20/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                        100
      7/20/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/20/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       54.69
      7/20/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      7/20/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                            8
      7/20/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           605.8
      7/20/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                        100
      7/20/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/20/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    51.57
      7/20/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                     21.35
      7/20/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      7/20/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                            8
      7/20/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          427.67
      7/20/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          392.03
      7/20/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/20/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.64
      7/20/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      7/20/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      7/20/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      7/20/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          139.26
      7/20/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          343.93
      7/20/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/20/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    27.35
      7/20/2019    709   JA0156   Owner Operator   *Arrears Collection W/O        Applicable Amount to Arrears            79.98
      7/20/2019    709   JA0156   Owner Operator   Broker Pay Void/Reissue        Full Check Amount- Void 974960         -393.7
      7/20/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                     13.98
      7/20/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
      7/20/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          13
      7/20/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      7/20/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/20/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/20/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/20/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/20/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      7/20/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/20/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.71
      7/20/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          404.14
      7/20/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          469.53
      7/20/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.84
      7/20/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          134.67
      7/20/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                       100
      7/20/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/20/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD                42.19
      7/20/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL South Beloit               8.35
      7/20/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 229628 Q13197 Lease             276.63
      7/20/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      7/20/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                            8
      7/20/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/20/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/20/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       11.72
      7/20/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism               2.5
      7/20/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      7/20/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                           13
      7/20/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/20/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      7/20/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      7/20/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      7/20/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                            306
      7/20/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.02
      7/20/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                       33.17
      7/20/2019    709   JG0017   Owner Operator   Loan Repayment                 EFS 223709                          -20677.07
      7/20/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment          414.93

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      7/20/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/20/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 90.86
      7/20/2019    709   JG0017   Owner Operator   T Chek Fee                     ExpressCheck Fee                    204.72
      7/20/2019    709   JG0017   Owner Operator   T Chek Fee                     Tractor Repair 32708              20472.35
      7/20/2019    709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00407261 - PO System        413.49
      7/20/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        504.6
      7/20/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/20/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                        13
      7/20/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          500
      7/20/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      7/20/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       444.87
      7/20/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       509.18
      7/20/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       505.96
      7/20/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                    33.17
      7/20/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/20/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 74.22
      7/20/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00407267 - PO System         97.66
      7/20/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                       513.26
      7/20/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      7/20/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                         8
      7/20/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                         150
      7/20/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/20/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/20/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       378.49
      7/20/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       190.15
      7/20/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       584.95
      7/20/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                     100
      7/20/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/20/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                    35.16
      7/20/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      7/20/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      7/20/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                         8
      7/20/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       123.87
      7/20/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        21.95
      7/20/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.01
      7/20/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 34637                     100
      7/20/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/20/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 19.54
      7/20/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 15.63
      7/20/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      7/20/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                        13
      7/20/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       437.05
      7/20/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.82
      7/20/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                     100
      7/20/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/20/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.6
      7/20/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 229516 Truck Lease           278.76
      7/20/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      7/20/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL          8.75
      7/20/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                        8
      7/20/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      7/20/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      7/20/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      7/20/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       323.64
      7/20/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        454.8
      7/20/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       238.01
      7/20/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       456.55
      7/20/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                    100
      7/20/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         2.51
      7/20/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      7/20/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      37.5
      7/20/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD          40.24
      7/20/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 229630 Q13159 Lease           331.5
      7/20/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      7/20/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                        13
      7/20/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/20/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
      7/20/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/20/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      7/20/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         474
      7/20/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                       331.75
      7/20/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         506
      7/20/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                    33.17

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      7/20/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      7/20/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      7/20/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/20/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      7/20/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      7/20/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      7/20/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/20/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.27
      7/20/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                      100
      7/20/2019    709   KT0055   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          298.5
      7/20/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      7/20/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 229558 Q13156 Lease            388.16
      7/20/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      7/20/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      7/20/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                       100
      7/20/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      7/20/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 229692 Lease Q1111             252.11
      7/20/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      7/20/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      7/20/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/20/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/20/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         664.75
      7/20/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                       100
      7/20/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      7/20/2019    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00407266 - PO System          193.36
      7/20/2019    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     26
      7/20/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/20/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      7/20/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.48
      7/20/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.27
      7/20/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                       100
      7/20/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      7/20/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      7/20/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      7/20/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/20/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.81
      7/20/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                       100
      7/20/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      7/20/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      7/20/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      7/20/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.1
      7/20/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.83
      7/20/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.23
      7/20/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.12
      7/20/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                       100
      7/20/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      7/20/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      7/20/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 229567 Q1113 Lease             252.11
      7/20/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 229691 TRUCK RENTAL              300
      7/20/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/20/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/20/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/20/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      7/20/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      7/20/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      7/20/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      7/20/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.85
      7/20/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                       100
      7/20/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                       100
      7/20/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                       100
      7/20/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                       100
      7/20/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          29.08
      7/20/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   MG0067   Owner Operator   Permits                        NY13:2019 - 33435                        1.5
      7/20/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16

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      7/20/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      7/20/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      7/20/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      7/20/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/20/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/20/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/20/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/20/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/20/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      7/20/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      7/20/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         267.54
      7/20/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              80
      7/20/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      7/20/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         581.46
      7/20/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                       100
      7/20/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      7/20/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/20/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      7/20/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      7/20/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/20/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/20/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/20/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/20/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.09
      7/20/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.16
      7/20/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                      100
      7/20/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      7/20/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      7/20/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                       100
      7/20/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      7/20/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 229754 Truck 73130 Leas        160.41
      7/20/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/20/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      7/20/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/20/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.93
      7/20/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.87
      7/20/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      7/20/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      7/20/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      7/20/2019    709   OJ0007   Owner Operator   Truck Payment                  CTMS - 229711 TRUCK RENTAL            240.38
      7/20/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      7/20/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      7/20/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/20/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          334.1
      7/20/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.79
      7/20/2019    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2019 - Q1241                       100
      7/20/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      7/20/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 229557 Q1241 Truck leas        321.84
      7/20/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      7/20/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      7/20/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         566.24
      7/20/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         626.23
      7/20/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      7/20/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      7/20/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/20/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      7/20/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/20/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.02
      7/20/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      7/20/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      7/20/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/20/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      7/20/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/20/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      7/20/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/20/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      7/20/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/20/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/20/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.39
      7/20/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.86
      7/20/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.08
      7/20/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.71
      7/20/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          462.1
      7/20/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      7/20/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      7/20/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      7/20/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      7/20/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      7/20/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/20/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.25
      7/20/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         586.98
      7/20/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      7/20/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      7/20/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      7/20/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      7/20/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      7/20/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      7/20/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      7/20/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          404.5
      7/20/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                       100
      7/20/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      7/20/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      7/20/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      7/20/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.83
      7/20/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                       100
      7/20/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      7/20/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 229516 Q1202 Truck Leas        278.76
      7/20/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      7/20/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      7/20/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      7/20/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.69
      7/20/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.87
      7/20/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.36
      7/20/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100
      7/20/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      7/20/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      7/20/2019    709   RR0123   Owner Operator   Toll Charges                   Q1248 ILTOLL Route 80 (West)               5
      7/20/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 229293 Q1248                    16.76
      7/20/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 229566 Q1248                   311.97
      7/20/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      7/20/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      7/20/2019    709   SB0009   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-13           483.5
      7/20/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/20/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.59
      7/20/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.08
      7/20/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.56
      7/20/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      7/20/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      7/20/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      7/20/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      7/20/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      7/20/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      7/20/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/20/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.14
      7/20/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.91
      7/20/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.8
      7/20/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.48
      7/20/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                       100
      7/20/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      7/20/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      7/20/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      7/20/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 229512 Sub Lease               388.33

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      7/20/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      7/20/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      7/20/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         583.69
      7/20/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           572
      7/20/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           502
      7/20/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      7/20/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      7/20/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      7/20/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      7/20/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      7/20/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/20/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/20/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/20/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/20/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.92
      7/20/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.38
      7/20/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.47
      7/20/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           341
      7/20/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      7/20/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      7/20/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      7/20/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.73
      7/20/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.62
      7/20/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           208
      7/20/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                       100
      7/20/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      7/20/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      7/20/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/20/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      7/20/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/20/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/20/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/20/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.98
      7/20/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.45
      7/20/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                       100
      7/20/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      7/20/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/20/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      7/20/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      7/20/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      7/20/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      7/20/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/20/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/20/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/20/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/20/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.61
      7/20/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.23
      7/20/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                       100
      7/20/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          44.87
      7/20/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      7/20/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      7/20/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/20/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/20/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/20/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/20/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          236.7
      7/20/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.94
      7/20/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.79
      7/20/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.96
      7/20/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      7/20/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      7/20/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      7/20/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      7/20/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      7/20/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      7/20/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      7/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.81

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      7/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.65
      7/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.49
      7/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.43
      7/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.54
      7/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.77
      7/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.99
      7/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.4
      7/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.33
      7/20/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.28
      7/20/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                      100
      7/20/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                      100
      7/20/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                      100
      7/20/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      7/20/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      7/20/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      7/20/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      7/20/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00406652 - PO System          182.37
      7/20/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00406652 - PO System          182.37
      7/20/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00406652 - PO System          182.37
      7/20/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Spencer Ma          2.12
      7/20/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 229077 Lease of Q13151         388.16
      7/20/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 229286 Lease of Q13151         388.16
      7/20/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 229559 Lease of Q13151         388.16
      7/20/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      7/20/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      7/20/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.77
      7/20/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.64
      7/20/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          325.9
      7/20/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          551.2
      7/20/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.98
      7/20/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
      7/20/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      7/20/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/20/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/20/2019    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
      7/20/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      7/20/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      7/20/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.89
      7/20/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.88
      7/20/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.49
      7/20/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.15
      7/20/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.52
      7/20/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.43
      7/20/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
      7/20/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
      7/20/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      7/20/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      7/20/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/20/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/20/2019    742   DA0067   Owner Operator   Tire Purchase                  PO: 742-00404203 - PO System          214.13
      7/20/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 9                  26
      7/20/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            400
      7/20/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      7/20/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.33
      7/20/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.64
      7/20/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.25
      7/20/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          271.4
      7/20/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/20/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      7/20/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.86
      7/20/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.41
      7/20/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.13
      7/20/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                       100
      7/20/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      7/20/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      7/20/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      7/20/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75

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      7/20/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      7/20/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      7/20/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.55
      7/20/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.24
      7/20/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.77
      7/20/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.5
      7/20/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.02
      7/20/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.07
      7/20/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.83
      7/20/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.18
      7/20/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.4
      7/20/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.95
      7/20/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                       100
      7/20/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                       100
      7/20/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      7/20/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      7/20/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      7/20/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      7/20/2019    742   ED0041   Owner Operator   Tire Fee                       Tire Fee: 2293460                         24
      7/20/2019    742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00407264 - PO System           642.5
      7/20/2019    742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00407264 - PO System           642.5
      7/20/2019    742   ED0041   Owner Operator   Toll Charges                   32897 BATA Carquinez Bridge               26
      7/20/2019    742   ED0041   Owner Operator   Toll Charges                   32897 OTA Will Rogers Turnpike         18.05
      7/20/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/20/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      7/20/2019    742   EN0016   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-13          747.24
      7/20/2019    742   EN0016   Owner Operator   Deferred Negative Pay          ** Net Rebill held from 7-13            162
      7/20/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.44
      7/20/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.49
      7/20/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.21
      7/20/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.44
      7/20/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.91
      7/20/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      7/20/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      7/20/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/20/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 10                 26
      7/20/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 12                 26
      7/20/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      7/20/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      7/20/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      7/20/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      7/20/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      7/20/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      7/20/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      7/20/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/20/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         751.13
      7/20/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           800
      7/20/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                       100
      7/20/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      7/20/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/20/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      7/20/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/20/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.02
      7/20/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.06
      7/20/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.43
      7/20/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                           249
      7/20/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.16
      7/20/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                       100
      7/20/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      7/20/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/20/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      7/20/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/20/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                       100
      7/20/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      7/20/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/20/2019    742   MH0117   Owner Operator   Toll Charges                   33296 Antioch Bridge 1                    26
      7/20/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL Route 80 (East)               5

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      7/20/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      7/20/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      7/20/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.66
      7/20/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.92
      7/20/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                       100
      7/20/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      7/20/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      7/20/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Benicia                        26
      7/20/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Benicia                        26
      7/20/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      7/20/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      7/20/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      7/20/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/20/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/20/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.24
      7/20/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.68
      7/20/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.66
      7/20/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.79
      7/20/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                       100
      7/20/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      7/20/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      7/20/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 229735 repair                    250
      7/20/2019    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                  26
      7/20/2019    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 8                  26
      7/20/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      7/20/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      7/20/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      7/20/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      7/20/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            150
      7/20/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/20/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/20/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      7/20/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.85
      7/20/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.32
      7/20/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.98
      7/20/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.19
      7/20/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.16
      7/20/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.45
      7/20/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.19
      7/20/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                       100
      7/20/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                       100
      7/20/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      7/20/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      7/20/2019    742   RF0136   Owner Operator   Toll Charges                   34182 ILTOLL I-57/147th St (Il          6.65
      7/20/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      7/20/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      7/20/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.96
      7/20/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.71
      7/20/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.99
      7/20/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.43
      7/20/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                      100
      7/20/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      7/20/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      7/20/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 229338 Tractor Lease           353.28
      7/20/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 229635 Tractor Lease           353.28
      7/20/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      7/20/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      7/20/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.89
      7/20/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.4
      7/20/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.82
      7/20/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                       100
      7/20/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      7/20/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      7/20/2019    742   RS0342   Owner Operator   Toll Charges                   33738 OTA Turner Turnpike East         18.05
      7/20/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/20/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      7/20/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      7/20/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      7/20/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      7/20/2019    742   SK0049   Owner Operator   Toll Charges                   33934/WFG5287 Benicia 12                   6
      7/20/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/20/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      7/20/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.6
      7/20/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                        100
      7/20/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      7/20/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/20/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      7/20/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      7/20/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/20/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      7/20/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      7/27/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      7/27/2019    709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
      7/27/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      7/27/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/27/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.19
      7/27/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.71
      7/27/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.8
      7/27/2019    709   AC0061   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             229.69
      7/27/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                       100
      7/27/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.93
      7/27/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 230042 Q13148 Trac Leas        296.09
      7/27/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      7/27/2019    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
      7/27/2019    709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 229848 H2O2 Fuel                 -100
      7/27/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      7/27/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.21
      7/27/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                       100
      7/27/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      7/27/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      7/27/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      7/27/2019    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      7/27/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      7/27/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.22
      7/27/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.51
      7/27/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.63
      7/27/2019    709   AR0064   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             519.53
      7/27/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                       100
      7/27/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      7/27/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 229995 Q13147 Lease            440.14
      7/27/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      7/27/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      7/27/2019    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      7/27/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      7/27/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      7/27/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.38
      7/27/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           75.5
      7/27/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.29
      7/27/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.14
      7/27/2019    709   AV0021   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             137.95
      7/27/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  57.02
      7/27/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                       100
      7/27/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      7/27/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 229994 Q13169 Sublease         352.68
      7/27/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      7/27/2019    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      7/27/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      7/27/2019    709   BM0030   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              455.9
      7/27/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                        100
      7/27/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      7/27/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      7/27/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      7/27/2019    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      7/27/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8

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      7/27/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/27/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/27/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.95
      7/27/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.15
      7/27/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.89
      7/27/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.35
      7/27/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.41
      7/27/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.69
      7/27/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.07
      7/27/2019    709   CC0134   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             294.23
      7/27/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                      100
      7/27/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      7/27/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      7/27/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 229873 Q13168 sub lease        352.68
      7/27/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/27/2019    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      7/27/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      7/27/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          559.2
      7/27/2019    709   CM0119   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              97.88
      7/27/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      7/27/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.93
      7/27/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/27/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      7/27/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      7/27/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      7/27/2019    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                      9.84
      7/27/2019    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
      7/27/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
      7/27/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      7/27/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.2
      7/27/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.39
      7/27/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.83
      7/27/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.66
      7/27/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.75
      7/27/2019    709   CR0064   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              61.95
      7/27/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                       100
      7/27/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                       100
      7/27/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.04
      7/27/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.01
      7/27/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 229926 Q1247 Sub Lease         263.91
      7/27/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      7/27/2019    709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                      9.84
      7/27/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      7/27/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          432.7
      7/27/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                       100
      7/27/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      7/27/2019    709   CS0091   Owner Operator   Tire Purchase                  PO: 709-00404539 - PO System          111.34
      7/27/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 229872 Q1201                   278.76
      7/27/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/27/2019    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                      9.84
      7/27/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      7/27/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.81
      7/27/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.46
      7/27/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.28
      7/27/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.25
      7/27/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.61
      7/27/2019    709   DL0029   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             295.72
      7/27/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                       100
      7/27/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      7/27/2019    709   DL0029   Owner Operator   Tire Fee                       Tire Fee: 2300078                          8
      7/27/2019    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00409599 - PO System          230.93
      7/27/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      7/27/2019    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      7/27/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13

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      7/27/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/27/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/27/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.85
      7/27/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.73
      7/27/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.04
      7/27/2019    709   DL0107   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax            -439.21
      7/27/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                       100
      7/27/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      7/27/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 229921 TRUCK RENTAL              500
      7/27/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 229922 Sublease                338.99
      7/27/2019    709   DM0257   Owner Operator   Advance                        2/22/19 Clm 72917-1 s/u pmts            250
      7/27/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      7/27/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/27/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          87.34
      7/27/2019    709   DM0257   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             489.28
      7/27/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                       100
      7/27/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      7/27/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      7/27/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/27/2019    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                      9.84
      7/27/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      7/27/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.38
      7/27/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.63
      7/27/2019    709   DS0049   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax               4.55
      7/27/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      7/27/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      7/27/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      7/27/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      7/27/2019    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                      9.84
      7/27/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      7/27/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         648.26
      7/27/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         646.19
      7/27/2019    709   DS0225   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             -46.46
      7/27/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      7/27/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      7/27/2019    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      7/27/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      7/27/2019    709   DS0288   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/27/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/27/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/27/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/27/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/27/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/27/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/27/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.45
      7/27/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.87
      7/27/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.31
      7/27/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.33
      7/27/2019    709   DS0288   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              44.32
      7/27/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                       100
      7/27/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.18
      7/27/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/27/2019    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                      9.84
      7/27/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      7/27/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/27/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.52
      7/27/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.98
      7/27/2019    709   EA0003   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             291.73
      7/27/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      7/27/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      7/27/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      7/27/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      7/27/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      7/27/2019    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      7/27/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      7/27/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.67
      7/27/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                       100
      7/27/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      7/27/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      7/27/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      7/27/2019    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      7/27/2019    709   EO0014   Owner Operator   Charge back by affiliate       CTMS - 229847 Trailer wash FG5           -30
      7/27/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      7/27/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/27/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/27/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.55
      7/27/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           203
      7/27/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           228
      7/27/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.85
      7/27/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.67
      7/27/2019    709   EO0014   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             216.94
      7/27/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                       100
      7/27/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      7/27/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      7/27/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      7/27/2019    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      7/27/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      7/27/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/27/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/27/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.67
      7/27/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.38
      7/27/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.25
      7/27/2019    709   FS0039   Owner Operator   GARNISHMENT                    GARNISHMENT 884610662                 772.16
      7/27/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                       100
      7/27/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      7/27/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 229994 truck lease 3304        434.29
      7/27/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/27/2019    709   FV0001   Owner Operator   Broker Pre Pass                DriveWyze TRK21521B                     9.84
      7/27/2019    709   FV0001   Owner Operator   Charge back by affiliate       CTMS - 229847 Trailer wash WN5           -50
      7/27/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      7/27/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/27/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/27/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         595.65
      7/27/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         677.89
      7/27/2019    709   FV0001   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              69.34
      7/27/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                      100
      7/27/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      7/27/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/27/2019    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRK34330                      9.84
      7/27/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      7/27/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/27/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          82.68
      7/27/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.58
      7/27/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      7/27/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      7/27/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      7/27/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      7/27/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      7/27/2019    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      7/27/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      7/27/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          481.9
      7/27/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                       100
      7/27/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      7/27/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 229925 Amortized Balloo        200.15
      7/27/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      7/27/2019    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      7/27/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8

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      7/27/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/27/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/27/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.01
      7/27/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.07
      7/27/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.98
      7/27/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      7/27/2019    709   GW0043   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              78.17
      7/27/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                       100
      7/27/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         251.25
      7/27/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      7/27/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      7/27/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      7/27/2019    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      7/27/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      7/27/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.13
      7/27/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.05
      7/27/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                      100
      7/27/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      7/27/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 229931 Q13170                  352.68
      7/27/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      7/27/2019    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                      9.84
      7/27/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      7/27/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/27/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.48
      7/27/2019    709   HG0007   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              13.62
      7/27/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                       100
      7/27/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.04
      7/27/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/27/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/27/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/27/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.61
      7/27/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.74
      7/27/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.37
      7/27/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.72
      7/27/2019    709   HG0027   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             177.75
      7/27/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                       100
      7/27/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      7/27/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/27/2019    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      7/27/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      7/27/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.17
      7/27/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.02
      7/27/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.53
      7/27/2019    709   IA0007   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             -19.36
      7/27/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                       100
      7/27/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      7/27/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      7/27/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/27/2019    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      7/27/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      7/27/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.36
      7/27/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.33
      7/27/2019    709   IR0002   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             -66.41
      7/27/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      7/27/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/27/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/27/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8

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      7/27/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                        141.02
      7/27/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.65
      7/27/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/27/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  27.33
      7/27/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.96
      7/27/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL              8.75
      7/27/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                        13
      7/27/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      7/27/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/27/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/27/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        389.06
      7/27/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.96
      7/27/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        498.17
      7/27/2019    709   JC0292   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax            378.48
      7/27/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                     100
      7/27/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/27/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.18
      7/27/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 229922 Q13197 Lease           276.63
      7/27/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      7/27/2019    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                     9.84
      7/27/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      7/27/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
      7/27/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/27/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      7/27/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      7/27/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/27/2019    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                     9.84
      7/27/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      7/27/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/27/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/27/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      7/27/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/27/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.1
      7/27/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        569.63
      7/27/2019    709   JG0017   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             25.99
      7/27/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
      7/27/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment        414.93
      7/27/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/27/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.85
      7/27/2019    709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00407261 - PO System         413.49
      7/27/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      7/27/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      7/27/2019    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                     9.84
      7/27/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      7/27/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
      7/27/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/27/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/27/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      7/27/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.56
      7/27/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        423.36
      7/27/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        571.32
      7/27/2019    709   JG0072   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax            341.24
      7/27/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
      7/27/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/27/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      7/27/2019    709   JG0072   Owner Operator   Tire Fee                       Tire Fee: 2299485                         8
      7/27/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00407267 - PO System          97.66
      7/27/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00409170 - PO System         177.74
      7/27/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      7/27/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      7/27/2019    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                     9.84
      7/27/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      7/27/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                          150
      7/27/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/27/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/27/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        442.94
      7/27/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        456.57
      7/27/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                      100
      7/27/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/27/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.15
      7/27/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      7/27/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      7/27/2019    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK33438                     9.84

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      7/27/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      7/27/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.82
      7/27/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.93
      7/27/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.05
      7/27/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 34637                       100
      7/27/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      7/27/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.61
      7/27/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      7/27/2019    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      7/27/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      7/27/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                       100
      7/27/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      7/27/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 229817 Truck Lease             278.76
      7/27/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      7/27/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      7/27/2019    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                     9.84
      7/27/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      7/27/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/27/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.93
      7/27/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.69
      7/27/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.63
      7/27/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          394.6
      7/27/2019    709   JS0265   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             215.32
      7/27/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                      100
      7/27/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      7/27/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      7/27/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.22
      7/27/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 229924 Q13159 Lease             331.5
      7/27/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/27/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      7/27/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/27/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/27/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/27/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.09
      7/27/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           220
      7/27/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           153
      7/27/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.11
      7/27/2019    709   KP0004   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              532.2
      7/27/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      7/27/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      7/27/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      7/27/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/27/2019    709   KP0004   Owner Operator   Tire Fee                       Tire Fee: 2299462                         16
      7/27/2019    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00409176 - PO System          371.77
      7/27/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      7/27/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      7/27/2019    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                     9.84
      7/27/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      7/27/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/27/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.54
      7/27/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.76
      7/27/2019    709   KT0055   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              21.03
      7/27/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                      100
      7/27/2019    709   KT0055   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          298.5
      7/27/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      7/27/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 229864 Q13156 Lease            388.16
      7/27/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      7/27/2019    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      7/27/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      7/27/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                       100
      7/27/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      7/27/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 229994 Lease Q1111             252.11
      7/27/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      7/27/2019    709   LS0023   Owner Operator   Broker Pre Pass                DriveWyze TRK33655                      9.84
      7/27/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      7/27/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      7/27/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/27/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/27/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/27/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        580.74
      7/27/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.8
      7/27/2019    709   LS0023   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax            104.54
      7/27/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                      100
      7/27/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/27/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  57.01
      7/27/2019    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00407266 - PO System         193.36
      7/27/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      7/27/2019    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                     9.84
      7/27/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                          8
      7/27/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        367.93
      7/27/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         16.52
      7/27/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        549.81
      7/27/2019    709   MA0092   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax            109.45
      7/27/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                      100
      7/27/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/27/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     49.68
      7/27/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      7/27/2019    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                     9.84
      7/27/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                          8
      7/27/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                          100
      7/27/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        205.43
      7/27/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        434.61
      7/27/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        103.07
      7/27/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                      100
      7/27/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/27/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     23.43
      7/27/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
      7/27/2019    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                     9.84
      7/27/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
      7/27/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        497.43
      7/27/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        478.31
      7/27/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        269.58
      7/27/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                      100
      7/27/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        330.39
      7/27/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/27/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.04
      7/27/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 229873 Q1113 Lease            252.11
      7/27/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      7/27/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                          8
      7/27/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        468.13
      7/27/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          300
      7/27/2019    709   MG0067   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax            -50.05
      7/27/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                      100
      7/27/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/27/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
      7/27/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      7/27/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      7/27/2019    709   MP0035   Owner Operator   Broker Pre Pass                DriveWyze TRK32904                     9.84
      7/27/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          8
      7/27/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          500
      7/27/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           200
      7/27/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      7/27/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        569.86
      7/27/2019    709   MP0035   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             21.88
      7/27/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                      100
      7/27/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      7/27/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     50.76
      7/27/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      7/27/2019    709   NB0029   Owner Operator   Arrears                        Credit Billing                       884.11
      7/27/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      7/27/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      7/27/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL            8.75
      7/27/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL            8.75
      7/27/2019    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                     9.84
      7/27/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                         13
      7/27/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                         13
      7/27/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          250
      7/27/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          250
      7/27/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                           200

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      7/27/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.44
      7/27/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           497
      7/27/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.33
      7/27/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.94
      7/27/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.55
      7/27/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          491.7
      7/27/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.45
      7/27/2019    709   NB0029   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             298.47
      7/27/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                       100
      7/27/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                       100
      7/27/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      7/27/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      7/27/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      7/27/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      7/27/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      7/27/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      7/27/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      7/27/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      7/27/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 229629 32986 Lease             314.03
      7/27/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 229924 32986 Lease             314.03
      7/27/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      7/27/2019    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      7/27/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      7/27/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/27/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/27/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.85
      7/27/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.72
      7/27/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.35
      7/27/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                      100
      7/27/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      7/27/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      7/27/2019    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      7/27/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      7/27/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      7/27/2019    709   NT9564   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             279.18
      7/27/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                       100
      7/27/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      7/27/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 229754 Truck 73130 Leas         36.24
      7/27/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 230045 Truck 73130 Leas        196.65
      7/27/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/27/2019    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
      7/27/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      7/27/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/27/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.7
      7/27/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.01
      7/27/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      7/27/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
      7/27/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      7/27/2019    709   OJ0007   Owner Operator   Truck Payment                  CTMS - 229981 TRUCK RENTAL            240.38
      7/27/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      7/27/2019    709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
      7/27/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      7/27/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/27/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.08
      7/27/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.95
      7/27/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.17
      7/27/2019    709   RB0170   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              27.62
      7/27/2019    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2019 - Q1241                       100
      7/27/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.04
      7/27/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 229871 Q1241 Truck leas        321.84
      7/27/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      7/27/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      7/27/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.92
      7/27/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         704.64

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      7/27/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.58
      7/27/2019    709   RC0030   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             -43.02
      7/27/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      7/27/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      7/27/2019    709   RC0030   Owner Operator   T Chek Fee                     ExpressCheck Fee                        0.48
      7/27/2019    709   RC0030   Owner Operator   T Chek Fee                     Tractor Repair 33676                   47.88
      7/27/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/27/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      7/27/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/27/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.81
      7/27/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           501
      7/27/2019    709   RL0017   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             -39.41
      7/27/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      7/27/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      7/27/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/27/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      7/27/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/27/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      7/27/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.27
      7/27/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.24
      7/27/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.42
      7/27/2019    709   RL0062   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             397.53
      7/27/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      7/27/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      7/27/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      7/27/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      7/27/2019    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      7/27/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      7/27/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/27/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.02
      7/27/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         615.73
      7/27/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.39
      7/27/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      7/27/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      7/27/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      7/27/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      7/27/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      7/27/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      7/27/2019    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      7/27/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      7/27/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.52
      7/27/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.24
      7/27/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.74
      7/27/2019    709   RM0026   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             326.87
      7/27/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                       100
      7/27/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      7/27/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      7/27/2019    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      7/27/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      7/27/2019    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              80
      7/27/2019    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      7/27/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.89
      7/27/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                       100
      7/27/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      7/27/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 229817 Q1202 Truck Leas        278.76
      7/27/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      7/27/2019    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
      7/27/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      7/27/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/27/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/27/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.63
      7/27/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.64
      7/27/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.69
      7/27/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.83
      7/27/2019    709   RR0123   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             219.14

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      7/27/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                       100
      7/27/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      7/27/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      7/27/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 229872 Q1248                   311.97
      7/27/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      7/27/2019    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      7/27/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      7/27/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/27/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.88
      7/27/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.67
      7/27/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          334.7
      7/27/2019    709   SB0009   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             465.92
      7/27/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      7/27/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      7/27/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      7/27/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      7/27/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      7/27/2019    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      7/27/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      7/27/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/27/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.41
      7/27/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.41
      7/27/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.89
      7/27/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.91
      7/27/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          283.8
      7/27/2019    709   SB0103   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             249.18
      7/27/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                       100
      7/27/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      7/27/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      7/27/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      7/27/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 229812 Sub Lease               388.33
      7/27/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      7/27/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      7/27/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           198
      7/27/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           502
      7/27/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.44
      7/27/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.75
      7/27/2019    709   SM0109   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             410.25
      7/27/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      7/27/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      7/27/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      7/27/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      7/27/2019    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      7/27/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      7/27/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.67
      7/27/2019    709   VB0015   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             -48.96
      7/27/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                       100
      7/27/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      7/27/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      7/27/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/27/2019    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      7/27/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      7/27/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/27/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.46
      7/27/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.82
      7/27/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.66
      7/27/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.28
      7/27/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.45
      7/27/2019    709   VJ0006   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             296.05
      7/27/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                       100
      7/27/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51

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      7/27/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/27/2019    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      7/27/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      7/27/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      7/27/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      7/27/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      7/27/2019    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      7/27/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      7/27/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      7/27/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/27/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/27/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.76
      7/27/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.47
      7/27/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.26
      7/27/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.52
      7/27/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.24
      7/27/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.58
      7/27/2019    709   WH0087   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             146.72
      7/27/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                       100
      7/27/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.63
      7/27/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      7/27/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      7/27/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 TxTag Ship Channel Bridg             7
      7/27/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 TxTag Ship Channel Bridg           1.5
      7/27/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 229566 Q1238 Lease             311.97
      7/27/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 229873 Q1238 Lease             311.97
      7/27/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      7/27/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      7/27/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/27/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/27/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/27/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/27/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.86
      7/27/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.92
      7/27/2019    742   AP0047   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             528.68
      7/27/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      7/27/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      7/27/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      7/27/2019    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13151                     9.84
      7/27/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      7/27/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.81
      7/27/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          76.67
      7/27/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.98
      7/27/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.87
      7/27/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.18
      7/27/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.23
      7/27/2019    742   BS0078   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax               405
      7/27/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                      100
      7/27/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
      7/27/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      7/27/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00406652 - PO System          182.31
      7/27/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 229865 Lease of Q13151         388.16
      7/27/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      7/27/2019    742   CA0089   Owner Operator   Broker Pre Pass                DriveWyze TRK33987                      9.84
      7/27/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      7/27/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.46
      7/27/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.69
      7/27/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                       100
      7/27/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      7/27/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/27/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      7/27/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.63
      7/27/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           220
      7/27/2019    742   DA0067   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             186.72

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      7/27/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                       100
      7/27/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      7/27/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/27/2019    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      7/27/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      7/27/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      7/27/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.92
      7/27/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      7/27/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.08
      7/27/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.92
      7/27/2019    742   DC0117   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             106.65
      7/27/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                       100
      7/27/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                       100
      7/27/2019    742   DC0117   Owner Operator   Repair Order                   CTMS - 229899 repair                  -97.75
      7/27/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      7/27/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      7/27/2019    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      7/27/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      7/27/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      7/27/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            400
      7/27/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      7/27/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.65
      7/27/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.06
      7/27/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.85
      7/27/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.13
      7/27/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.22
      7/27/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.24
      7/27/2019    742   DS0254   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             461.26
      7/27/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
      7/27/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                       100
      7/27/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      7/27/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      7/27/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      7/27/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      7/27/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 1                    26
      7/27/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - NE M             7
      7/27/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 229332 Trk 33487 Lease          434.2
      7/27/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 229628 Trk 33487 Lease          434.2
      7/27/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 229923 Trk 33487 Lease          434.2
      7/27/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/27/2019    742   EA0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33993                      9.84
      7/27/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      7/27/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.93
      7/27/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.35
      7/27/2019    742   EA0039   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              61.87
      7/27/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                       100
      7/27/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      7/27/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      7/27/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/27/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      7/27/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/27/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/27/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                           116
      7/27/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.48
      7/27/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.86
      7/27/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.59
      7/27/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.09
      7/27/2019    742   EN0016   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             136.87
      7/27/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      7/27/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      7/27/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/27/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      7/27/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      7/27/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      7/27/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      7/27/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      7/27/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      7/27/2019    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84

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      7/27/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      7/27/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/27/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         678.53
      7/27/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                       100
      7/27/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      7/27/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.77
      7/27/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.92
      7/27/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.82
      7/27/2019    742   JS0390   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              47.85
      7/27/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                       100
      7/27/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Sam Houston - NE M             7
      7/27/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Kilpatrick Turnpike           4.45
      7/27/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Kilpatrick Turnpike           4.45
      7/27/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Turner Turnpike East         18.05
      7/27/2019    742   JS0390   Owner Operator   Toll Charges                   34327 OTA Will Rogers Turnpike         18.05
      7/27/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/27/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      7/27/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/27/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                       100
      7/27/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      7/27/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/27/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL Route 80 (West)               5
      7/27/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      7/27/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      7/27/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          115.3
      7/27/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.58
      7/27/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                       100
      7/27/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      7/27/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      7/27/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      7/27/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      7/27/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      7/27/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/27/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/27/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.14
      7/27/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.38
      7/27/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.45
      7/27/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.49
      7/27/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.63
      7/27/2019    742   NG0024   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             184.59
      7/27/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                       100
      7/27/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      7/27/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      7/27/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 230012 repair                    250
      7/27/2019    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy North - Barr           3.5
      7/27/2019    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy North - Barr             7
      7/27/2019    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy South - Barr             7
      7/27/2019    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy South - Barr           3.5
      7/27/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      7/27/2019    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      7/27/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      7/27/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.85
      7/27/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.06
      7/27/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.29
      7/27/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.71
      7/27/2019    742   RF0136   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             297.34
      7/27/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                       100
      7/27/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      7/27/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      7/27/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      7/27/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.05
      7/27/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.65
      7/27/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.31
      7/27/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.38
      7/27/2019    742   RN0054   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             188.71
      7/27/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                      100
      7/27/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15

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      7/27/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      7/27/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 229930 Tractor Lease           353.28
      7/27/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      7/27/2019    742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK33738                      9.84
      7/27/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      7/27/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.96
      7/27/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.71
      7/27/2019    742   RS0342   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             106.89
      7/27/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                       100
      7/27/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      7/27/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      7/27/2019    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Sam Houston - NE M           1.5
      7/27/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/27/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      7/27/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      7/27/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      7/27/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      7/27/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      7/27/2019    742   TC0098   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             288.91
      7/27/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                       100
      7/27/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                       100
      7/27/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      7/27/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             45.98
      7/27/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      7/27/2019    742   TC0098   Owner Operator   Toll Charges                   33489 Carquinez Bridge 8                  26
      7/27/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/27/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      7/27/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.18
      7/27/2019    742   TH0130   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              72.74
      7/27/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                       100
      7/27/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      7/27/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/27/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      7/27/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      7/27/2019    843   EI0003   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             531.13
      7/27/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/27/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      7/27/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       8/3/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       8/3/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
       8/3/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/3/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.32
       8/3/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.22
       8/3/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.3
       8/3/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.26
       8/3/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.78
       8/3/2019    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2019 - Q13148                        24
       8/3/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
       8/3/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 230323 Q13148 Trac Leas        296.09
       8/3/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       8/3/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       8/3/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           472
       8/3/2019    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2019 - 21157A                        24
       8/3/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       8/3/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       8/3/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       8/3/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       8/3/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.93
       8/3/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.78
       8/3/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.96
       8/3/2019    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q13147                        24
       8/3/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       8/3/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       8/3/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       8/3/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8

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       8/3/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.21
       8/3/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.67
       8/3/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.26
       8/3/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.31
       8/3/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.33
       8/3/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.94
       8/3/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.64
       8/3/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.99
       8/3/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 120.76
       8/3/2019    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2019 - Q13169                        24
       8/3/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       8/3/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       8/3/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       8/3/2019    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2019 - 34023                         24
       8/3/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       8/3/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       8/3/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       8/3/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       8/3/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
       8/3/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       8/3/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.72
       8/3/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.85
       8/3/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.07
       8/3/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.84
       8/3/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.83
       8/3/2019    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2019 - Q13168                        24
       8/3/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
       8/3/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       8/3/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/3/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       8/3/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         712.53
       8/3/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         603.23
       8/3/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
       8/3/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
       8/3/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/3/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       8/3/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       8/3/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       8/3/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware 32864                          13
       8/3/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       8/3/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.02
       8/3/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.63
       8/3/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.52
       8/3/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.78
       8/3/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - 32864                         24
       8/3/2019    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2019 - Q1247                         24
       8/3/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
       8/3/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
       8/3/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 230216 Q1247 Sub Lease         263.91
       8/3/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
       8/3/2019    709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
       8/3/2019    709   CS0091   Owner Operator   Fuel Purchase                  Fuel Purchase                          439.6
       8/3/2019    709   CS0091   Owner Operator   IRP License Deduction          LCIL:2019 - Q1201                         24
       8/3/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
       8/3/2019    709   CS0091   Owner Operator   Truck Payment                  CTMS - 230167 Q1201                   278.76
       8/3/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       8/3/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       8/3/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.62
       8/3/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.89
       8/3/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.05
       8/3/2019    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2019 - 33850                         24
       8/3/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       8/3/2019    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00409599 - PO System          230.93
       8/3/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75

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       8/3/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       8/3/2019    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2019 - Q1245                         24
       8/3/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       8/3/2019    709   DM0257   Owner Operator   Advance                        2/22/19 Clm 72917-1 s/u pmts            250
       8/3/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       8/3/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/3/2019    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2019 - 34328                         24
       8/3/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       8/3/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       8/3/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/3/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       8/3/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       8/3/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       8/3/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.83
       8/3/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.59
       8/3/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.26
       8/3/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
       8/3/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
       8/3/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
       8/3/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       8/3/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       8/3/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.38
       8/3/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       8/3/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       8/3/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       8/3/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       8/3/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       8/3/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.29
       8/3/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.45
       8/3/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.73
       8/3/2019    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2019 - 34266                         24
       8/3/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
       8/3/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/3/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       8/3/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           11.7
       8/3/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.83
       8/3/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          628.5
       8/3/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
       8/3/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       8/3/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       8/3/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       8/3/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       8/3/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         732.04
       8/3/2019    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2019 - 33828                         24
       8/3/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
       8/3/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       8/3/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       8/3/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       8/3/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          352.4
       8/3/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.47
       8/3/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           326
       8/3/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.94
       8/3/2019    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2019 - 33846                         24
       8/3/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       8/3/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       8/3/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       8/3/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       8/3/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/3/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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       8/3/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           240
       8/3/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.42
       8/3/2019    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33040                         24
       8/3/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       8/3/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       8/3/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       8/3/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/3/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/3/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.18
       8/3/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.57
       8/3/2019    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2019 - 21521B                        24
       8/3/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
       8/3/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       8/3/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
       8/3/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/3/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.19
       8/3/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.05
       8/3/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.94
       8/3/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
       8/3/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
       8/3/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       8/3/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
       8/3/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       8/3/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       8/3/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.7
       8/3/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.22
       8/3/2019    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1110                         24
       8/3/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       8/3/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 230216 Amortized Balloo        200.15
       8/3/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       8/3/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       8/3/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          231.2
       8/3/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.28
       8/3/2019    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2019 - Q1109                         24
       8/3/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       8/3/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
       8/3/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       8/3/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       8/3/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.33
       8/3/2019    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2019 - Q13170                        24
       8/3/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       8/3/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       8/3/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
       8/3/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/3/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.12
       8/3/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.11
       8/3/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.97
       8/3/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                       100
       8/3/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
       8/3/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       8/3/2019    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
       8/3/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       8/3/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       8/3/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/3/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/3/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.21
       8/3/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.28
       8/3/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          255.7
       8/3/2019    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2019 - 33418                         24
       8/3/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       8/3/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75

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       8/3/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
       8/3/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.78
       8/3/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          658.3
       8/3/2019    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34012                         24
       8/3/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
       8/3/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       8/3/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/3/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       8/3/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         584.37
       8/3/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.97
       8/3/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       8/3/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/3/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       8/3/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
       8/3/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.61
       8/3/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
       8/3/2019    709   JA0156   Owner Operator   *Arrears Collection W/O        WO:Credit Billing                    -199.71
       8/3/2019    709   JA0156   Owner Operator   Arrears                        Credit Billing                        108.57
       8/3/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       8/3/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       8/3/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       8/3/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       8/3/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.49
       8/3/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.47
       8/3/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                        27
       8/3/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       8/3/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 230213 Q13197 Lease            276.63
       8/3/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       8/3/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
       8/3/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/3/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
       8/3/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       8/3/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/3/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       8/3/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       8/3/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       8/3/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.33
       8/3/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.38
       8/3/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                             14
       8/3/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.33
       8/3/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
       8/3/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
       8/3/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
       8/3/2019    709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00407261 - PO System          413.49
       8/3/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       8/3/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       8/3/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       8/3/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         637.67
       8/3/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          557.6
       8/3/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                          502.5
       8/3/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       8/3/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       8/3/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           150
       8/3/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.95
       8/3/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.03
       8/3/2019    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2019 - 33669                         24
       8/3/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
       8/3/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       8/3/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       8/3/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
       8/3/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.29
       8/3/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 34637                       100

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       8/3/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       8/3/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
       8/3/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       8/3/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       8/3/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.82
       8/3/2019    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2019 - Q1203                         24
       8/3/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       8/3/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 230109 Truck Lease             278.76
       8/3/2019    709   JS0265   Owner Operator   AP Invoice Deductions          ARROWHEAD TOWING INC A                 91.03
       8/3/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       8/3/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       8/3/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
       8/3/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/3/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.83
       8/3/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.19
       8/3/2019    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2019 - Q13159                        24
       8/3/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       8/3/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       8/3/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
       8/3/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/3/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/3/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/3/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
       8/3/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       8/3/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/3/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/3/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             80
       8/3/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.01
       8/3/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.32
       8/3/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       8/3/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.02
       8/3/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
       8/3/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
       8/3/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       8/3/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/3/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       8/3/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
       8/3/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       8/3/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/3/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.94
       8/3/2019    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2019 - Q13156                        24
       8/3/2019    709   KT0055   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          298.5
       8/3/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
       8/3/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       8/3/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       8/3/2019    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2019 - Q1111                         24
       8/3/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       8/3/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 230282 Lease Q1111             252.11
       8/3/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       8/3/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       8/3/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.17
       8/3/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.56
       8/3/2019    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2019 - 33655                         24
       8/3/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
       8/3/2019    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00407266 - PO System          193.36
       8/3/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       8/3/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       8/3/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.55
       8/3/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          427.9
       8/3/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.12
       8/3/2019    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2019 - 34005                         24

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       8/3/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       8/3/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       8/3/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       8/3/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/3/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.65
       8/3/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.84
       8/3/2019    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2019 - 34342                         24
       8/3/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
       8/3/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       8/3/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       8/3/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.76
       8/3/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.37
       8/3/2019    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2019 - Q1113                         24
       8/3/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
       8/3/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       8/3/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 230168 Q1113 Lease             252.11
       8/3/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       8/3/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       8/3/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.77
       8/3/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.23
       8/3/2019    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33435                         24
       8/3/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       8/3/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       8/3/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       8/3/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
       8/3/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
       8/3/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.89
       8/3/2019    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2019 - 32904                         24
       8/3/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
       8/3/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       8/3/2019    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                    -912.89
       8/3/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       8/3/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       8/3/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
       8/3/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       8/3/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.53
       8/3/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.69
       8/3/2019    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2019 - 21412B                        24
       8/3/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       8/3/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       8/3/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       8/3/2019    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2019 - 73130                         24
       8/3/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       8/3/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 230326 Truck 73130 Leas        196.65
       8/3/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       8/3/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       8/3/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/3/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.22
       8/3/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.58
       8/3/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
       8/3/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
       8/3/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
       8/3/2019    709   OJ0007   Owner Operator   Truck Payment                  CTMS - 230281 TRUCK RENTAL            240.38
       8/3/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       8/3/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
       8/3/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/3/2019    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2019 - Q1241                         24
       8/3/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
       8/3/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       8/3/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       8/3/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                           37.6
       8/3/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.34

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       8/3/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         619.08
       8/3/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.79
       8/3/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          36.73
       8/3/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       8/3/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       8/3/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/3/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       8/3/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/3/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.84
       8/3/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         685.79
       8/3/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.33
       8/3/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
       8/3/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       8/3/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/3/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       8/3/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/3/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       8/3/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.27
       8/3/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.37
       8/3/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.48
       8/3/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.67
       8/3/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.88
       8/3/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.75
       8/3/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
       8/3/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       8/3/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
       8/3/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       8/3/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       8/3/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/3/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           368
       8/3/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.72
       8/3/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
       8/3/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
       8/3/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       8/3/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       8/3/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       8/3/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       8/3/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       8/3/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.07
       8/3/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.1
       8/3/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.22
       8/3/2019    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2019 - 33664                         24
       8/3/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       8/3/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       8/3/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       8/3/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.47
       8/3/2019    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2019 - Q1202                         24
       8/3/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       8/3/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 230109 Q1202 Truck Leas        278.76
       8/3/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       8/3/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       8/3/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/3/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/3/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.85
       8/3/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.03
       8/3/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.86
       8/3/2019    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2019 - Q1248                         24
       8/3/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       8/3/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       8/3/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       8/3/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       8/3/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       8/3/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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       8/3/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.91
       8/3/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.57
       8/3/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.44
       8/3/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.01
       8/3/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.03
       8/3/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
       8/3/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
       8/3/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       8/3/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       8/3/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       8/3/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       8/3/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/3/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.02
       8/3/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.09
       8/3/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.86
       8/3/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.73
       8/3/2019    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2019 - 33037                         24
       8/3/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
       8/3/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       8/3/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       8/3/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       8/3/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
       8/3/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           315
       8/3/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           361
       8/3/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           425
       8/3/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
       8/3/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
       8/3/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       8/3/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       8/3/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       8/3/2019    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.84
       8/3/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       8/3/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       8/3/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/3/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            300
       8/3/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       8/3/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/3/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.87
       8/3/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.81
       8/3/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.12
       8/3/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.8
       8/3/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.76
       8/3/2019    709   SN0019   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             168.89
       8/3/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       8/3/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       8/3/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       8/3/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       8/3/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       8/3/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.13
       8/3/2019    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2019 - Q1112                         24
       8/3/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       8/3/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       8/3/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       8/3/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       8/3/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       8/3/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            140
       8/3/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
       8/3/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
       8/3/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
       8/3/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.38
       8/3/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.73
       8/3/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.39
       8/3/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.38

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       8/3/2019    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2019 - 33961                         24
       8/3/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       8/3/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       8/3/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       8/3/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       8/3/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       8/3/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       8/3/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       8/3/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          342.8
       8/3/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          220.3
       8/3/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.86
       8/3/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.94
       8/3/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.43
       8/3/2019    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2019 - Q1239                         24
       8/3/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       8/3/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       8/3/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       8/3/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/3/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/3/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/3/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/3/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.7
       8/3/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.47
       8/3/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.41
       8/3/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       8/3/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       8/3/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       8/3/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
       8/3/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.64
       8/3/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.41
       8/3/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.83
       8/3/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.62
       8/3/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.67
       8/3/2019    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - Q13151                        24
       8/3/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
       8/3/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       8/3/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 230160 Lease of Q13151         388.16
       8/3/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       8/3/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       8/3/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.16
       8/3/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.21
       8/3/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.13
       8/3/2019    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2019 - 33987                         24
       8/3/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       8/3/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/3/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       8/3/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
       8/3/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         660.01
       8/3/2019    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2019 - 33847                         24
       8/3/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       8/3/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/3/2019    742   DS0254   Owner Operator   AP Invoice Deductions          LES SCHWAB TIRES #0908                 980.1
       8/3/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       8/3/2019    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 230341 HVUT Form 2290              50
       8/3/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       8/3/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.25
       8/3/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.42
       8/3/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.44
       8/3/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.62
       8/3/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.66

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       8/3/2019    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2019 - 33487                         24
       8/3/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       8/3/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       8/3/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 230213 Trk 33487 Lease          434.2
       8/3/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       8/3/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       8/3/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.53
       8/3/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         606.31
       8/3/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.04
       8/3/2019    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2019 - 33993                         24
       8/3/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       8/3/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       8/3/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/3/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       8/3/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/3/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/3/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.47
       8/3/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.64
       8/3/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.54
       8/3/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
       8/3/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
       8/3/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/3/2019    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Northwest M           4.4
       8/3/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
       8/3/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       8/3/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       8/3/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       8/3/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       8/3/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       8/3/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       8/3/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/3/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
       8/3/2019    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2019 - 34329                         24
       8/3/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       8/3/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/3/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/3/2019    742   JS0390   Owner Operator   Broker Pre Pass                DriveWyze TRK34327                      9.84
       8/3/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
       8/3/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
       8/3/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/3/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/3/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.96
       8/3/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.98
       8/3/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.18
       8/3/2019    742   JS0390   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              68.01
       8/3/2019    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2019 - 34327                         24
       8/3/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.18
       8/3/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
       8/3/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       8/3/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       8/3/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/3/2019    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2019 - 33296                         24
       8/3/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       8/3/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       8/3/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       8/3/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       8/3/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.47
       8/3/2019    742   MS0230   Owner Operator   IRP License Deduction          LCIL:2019 - 34082                         24
       8/3/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       8/3/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       8/3/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
       8/3/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
       8/3/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       8/3/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       8/3/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100

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       8/3/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/3/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.25
       8/3/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.72
       8/3/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.58
       8/3/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.75
       8/3/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.1
       8/3/2019    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2019 - 33252                         24
       8/3/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       8/3/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       8/3/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 230345 repair                    250
       8/3/2019    742   NG0024   Owner Operator   Tire Fee                       Tire Fee: 2301433                          8
       8/3/2019    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00406063 - PO System          222.27
       8/3/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/3/2019    742   PC0012   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax               1.12
       8/3/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
       8/3/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
       8/3/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       8/3/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       8/3/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       8/3/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       8/3/2019    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2019 - 34182                         24
       8/3/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          16.85
       8/3/2019    742   RN0054   Owner Operator   Accident Claim                 07/25/19 RN0054 Incident               2000
       8/3/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       8/3/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       8/3/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.65
       8/3/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           6.08
       8/3/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.43
       8/3/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.25
       8/3/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           4.93
       8/3/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.77
       8/3/2019    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2019 - Q13157                        24
       8/3/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       8/3/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       8/3/2019    742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Sam Houston - Eas           3.5
       8/3/2019    742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Sam Houston - Sou             7
       8/3/2019    742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Ship Channel Brid             7
       8/3/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 230221 Tractor Lease           353.28
       8/3/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       8/3/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
       8/3/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.76
       8/3/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.15
       8/3/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          442.4
       8/3/2019    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2019 - 33738                         24
       8/3/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
       8/3/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       8/3/2019    742   RS0342   Owner Operator   Toll Charges                   33738 ILTOLL Army Trail Rd.             6.65
       8/3/2019    742   RS0342   Owner Operator   Toll Charges                   33738 ILTOLL Boughton Rd. (Mai          6.65
       8/3/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       8/3/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       8/3/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       8/3/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       8/3/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       8/3/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       8/3/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.31
       8/3/2019    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2019 - 33991                         24
       8/3/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       8/3/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       8/3/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       8/3/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       8/3/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.29
       8/3/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/3/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       8/3/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      8/10/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      8/10/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      8/10/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/10/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.93

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      8/10/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.6
      8/10/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.18
      8/10/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.84
      8/10/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      8/10/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 230574 Q13148 Trac Leas        296.09
      8/10/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      8/10/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      8/10/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      8/10/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      8/10/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      8/10/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      8/10/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.64
      8/10/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.56
      8/10/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           203
      8/10/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      8/10/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      8/10/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      8/10/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      8/10/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/10/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/10/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.43
      8/10/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.01
      8/10/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.03
      8/10/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.29
      8/10/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.36
      8/10/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.89
      8/10/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.57
      8/10/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.15
      8/10/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 246.97
      8/10/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      8/10/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      8/10/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      8/10/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      8/10/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      8/10/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      8/10/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      8/10/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/10/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/10/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.72
      8/10/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.31
      8/10/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.71
      8/10/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      8/10/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      8/10/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/10/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      8/10/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         637.56
      8/10/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         685.49
      8/10/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      8/10/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      8/10/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/10/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      8/10/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/10/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      8/10/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      8/10/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.97
      8/10/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.62
      8/10/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.71
      8/10/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.41
      8/10/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.73
      8/10/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      8/10/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04

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      8/10/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 230463 Q1247 Sub Lease         263.91
      8/10/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/10/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      8/10/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.94
      8/10/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.65
      8/10/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.96
      8/10/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.93
      8/10/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.95
      8/10/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.91
      8/10/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.11
      8/10/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      8/10/2019    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00409599 - PO System          230.93
      8/10/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      8/10/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      8/10/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/10/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/10/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         631.83
      8/10/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.28
      8/10/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      8/10/2019    709   DM0257   Owner Operator   Advance                        2/22/19 Clm 72917-1 s/u pmts            74.4
      8/10/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/10/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      8/10/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/10/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/10/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.38
      8/10/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.32
      8/10/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      8/10/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      8/10/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      8/10/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      8/10/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      8/10/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         682.62
      8/10/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      8/10/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      8/10/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      8/10/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/10/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/10/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/10/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/10/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.97
      8/10/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.81
      8/10/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.05
      8/10/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.58
      8/10/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      8/10/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/10/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      8/10/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          238.3
      8/10/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/10/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.56
      8/10/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.82
      8/10/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      8/10/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      8/10/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      8/10/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      8/10/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      8/10/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.1
      8/10/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         646.67
      8/10/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      8/10/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      8/10/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      8/10/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      8/10/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            300

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      8/10/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/10/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.72
      8/10/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.43
      8/10/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      8/10/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.81
      8/10/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      8/10/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      8/10/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      8/10/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      8/10/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/10/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/10/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.32
      8/10/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.38
      8/10/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      8/10/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/10/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      8/10/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.94
      8/10/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.35
      8/10/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      8/10/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/10/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      8/10/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/10/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/10/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/10/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.34
      8/10/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.43
      8/10/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.27
      8/10/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      8/10/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      8/10/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      8/10/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      8/10/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      8/10/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      8/10/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.07
      8/10/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      8/10/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 230462 Amortized Balloo        200.15
      8/10/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      8/10/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      8/10/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/10/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/10/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.72
      8/10/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.62
      8/10/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.84
      8/10/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.97
      8/10/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.03
      8/10/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      8/10/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      8/10/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      8/10/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      8/10/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.22
      8/10/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      8/10/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      8/10/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      8/10/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/10/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         584.28
      8/10/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.65
      8/10/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         695.91
      8/10/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                       100

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      8/10/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      8/10/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/10/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      8/10/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.65
      8/10/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.45
      8/10/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.88
      8/10/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      8/10/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/10/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      8/10/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.47
      8/10/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.11
      8/10/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      8/10/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      8/10/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/10/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      8/10/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.44
      8/10/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.17
      8/10/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.3
      8/10/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      8/10/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/10/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/10/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      8/10/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.81
      8/10/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.71
      8/10/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      8/10/2019    709   JA0156   Owner Operator   *Arrears Collection W/O        WO:Credit Billing                     -91.14
      8/10/2019    709   JA0156   Owner Operator   Arrears                        Credit Billing                         91.14
      8/10/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      8/10/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      8/10/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      8/10/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      8/10/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/10/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            150
      8/10/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      8/10/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/10/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.97
      8/10/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.84
      8/10/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.43
      8/10/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.57
      8/10/2019    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2019 - Q13197                        18
      8/10/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      8/10/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 230459 Q13197 Lease            276.63
      8/10/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/10/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      8/10/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/10/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      8/10/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      8/10/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/10/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      8/10/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/10/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            400
      8/10/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/10/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      8/10/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.18
      8/10/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.04
      8/10/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      8/10/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      8/10/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   90.86
      8/10/2019    709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00407261 - PO System          413.46
      8/10/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
      8/10/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      8/10/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/10/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      8/10/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      8/10/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/10/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/10/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         583.37
      8/10/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.57
      8/10/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         596.41
      8/10/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      8/10/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      8/10/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      8/10/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      8/10/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00407267 - PO System           97.66
      8/10/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00407267 - PO System           97.62
      8/10/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00409170 - PO System          177.74
      8/10/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00409170 - PO System          177.74
      8/10/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
      8/10/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                          10.76
      8/10/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      8/10/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/10/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      8/10/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          182.7
      8/10/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.42
      8/10/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          70.58
      8/10/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 34637                       100
      8/10/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   JQ0015   Owner Operator   Permits                        NY13:2019 - 34637                        1.5
      8/10/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      8/10/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      8/10/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      8/10/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      8/10/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      8/10/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 230387 Truck Lease             278.76
      8/10/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      8/10/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      8/10/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      8/10/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/10/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.01
      8/10/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.5
      8/10/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.39
      8/10/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      8/10/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      8/10/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      8/10/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/10/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      8/10/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      8/10/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/10/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/10/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           224
      8/10/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.24
      8/10/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      8/10/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      8/10/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      8/10/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/10/2019    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00409176 - PO System          371.77
      8/10/2019    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00409176 - PO System          371.77
      8/10/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      8/10/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      8/10/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      8/10/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/10/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.28
      8/10/2019    709   KT0055   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          298.5
      8/10/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19

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      8/10/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      8/10/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      8/10/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      8/10/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 230522 Lease Q1111            252.11
      8/10/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      8/10/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      8/10/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/10/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/10/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        636.22
      8/10/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        219.58
      8/10/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        698.32
      8/10/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/10/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  57.04
      8/10/2019    709   LS0023   Owner Operator   Tire Purchase                  PO: 709-00407266 - PO System         193.31
      8/10/2019    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                    26
      8/10/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      8/10/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                          8
      8/10/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        418.82
      8/10/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        333.78
      8/10/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        206.02
      8/10/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.3
      8/10/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/10/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     49.69
      8/10/2019    709   MA0092   Owner Operator   Toll Charges                   34005 BATA Benicia                       26
      8/10/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      8/10/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                          8
      8/10/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                          100
      8/10/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.69
      8/10/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.2
      8/10/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/10/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     23.44
      8/10/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL            8.75
      8/10/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
      8/10/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        429.25
      8/10/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.03
      8/10/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        516.04
      8/10/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        330.39
      8/10/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/10/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD            39.07
      8/10/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 230425 Q1113 Lease            252.11
      8/10/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      8/10/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                          8
      8/10/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        501.63
      8/10/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        402.75
      8/10/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        482.64
      8/10/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/10/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      8/10/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      8/10/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      8/10/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          8
      8/10/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          500
      8/10/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             20
      8/10/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.2
      8/10/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        198.48
      8/10/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/10/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     50.79
      8/10/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      8/10/2019    709   NB0029   Owner Operator   Arrears                        Credit Billing                      2447.97
      8/10/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      8/10/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      8/10/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL            8.75
      8/10/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL            8.75
      8/10/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                         13
      8/10/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                         13
      8/10/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          250
      8/10/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          250
      8/10/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/10/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/10/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        613.42
      8/10/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        404.46
      8/10/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        161.32
      8/10/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        577.25
      8/10/2019    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2019 - 32986                        24

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      8/10/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      8/10/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      8/10/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      8/10/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      8/10/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      8/10/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      8/10/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      8/10/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      8/10/2019    709   NB0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        9.04
      8/10/2019    709   NB0029   Owner Operator   T Chek Fee                     Tractor Repair 32986                  903.85
      8/10/2019    709   NB0029   Owner Operator   Toll Charges                   32986 ILTOLL I-57/147th St (Il          6.65
      8/10/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      8/10/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      8/10/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            400
      8/10/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      8/10/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.7
      8/10/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          84.08
      8/10/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.04
      8/10/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      8/10/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      8/10/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      8/10/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      8/10/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 230578 Truck 73130 Leas        196.65
      8/10/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/10/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      8/10/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/10/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.68
      8/10/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      8/10/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      8/10/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      8/10/2019    709   OJ0007   Owner Operator   Truck Payment                  CTMS - 230522 TRUCK RENTAL            240.38
      8/10/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      8/10/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      8/10/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/10/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.37
      8/10/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.88
      8/10/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.73
      8/10/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.06
      8/10/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.06
      8/10/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      8/10/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/10/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      8/10/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.34
      8/10/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.39
      8/10/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      8/10/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/10/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/10/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      8/10/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/10/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.35
      8/10/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.73
      8/10/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      8/10/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      8/10/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/10/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      8/10/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/10/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      8/10/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.73
      8/10/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.43
      8/10/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.06
      8/10/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      8/10/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15

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      8/10/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      8/10/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      8/10/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      8/10/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/10/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.83
      8/10/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      8/10/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      8/10/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      8/10/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      8/10/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      8/10/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      8/10/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      8/10/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.75
      8/10/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.47
      8/10/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      8/10/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      8/10/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      8/10/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.76
      8/10/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      8/10/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 230387 Q1202 Truck Leas        278.76
      8/10/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      8/10/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      8/10/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/10/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/10/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/10/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/10/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.31
      8/10/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.81
      8/10/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.95
      8/10/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         634.14
      8/10/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      8/10/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      8/10/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      8/10/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      8/10/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/10/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.29
      8/10/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.38
      8/10/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.48
      8/10/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      8/10/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         247.89
      8/10/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      8/10/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      8/10/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      8/10/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      8/10/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/10/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.53
      8/10/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.19
      8/10/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.33
      8/10/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.79
      8/10/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.88
      8/10/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      8/10/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      8/10/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      8/10/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      8/10/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      8/10/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      8/10/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.02
      8/10/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      8/10/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      8/10/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      8/10/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      8/10/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      8/10/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      8/10/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.86
      8/10/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.22
      8/10/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.37
      8/10/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      8/10/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      8/10/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      8/10/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.83
      8/10/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         619.93
      8/10/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      8/10/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      8/10/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/10/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      8/10/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/10/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.49
      8/10/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          290.5
      8/10/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.61
      8/10/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      8/10/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/10/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      8/10/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      8/10/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      8/10/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      8/10/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      8/10/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/10/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/10/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.25
      8/10/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          229.7
      8/10/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.01
      8/10/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.24
      8/10/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.72
      8/10/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      8/10/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      8/10/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      8/10/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      8/10/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      8/10/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      8/10/2019    742   BS0078   Owner Operator   Charge back by affiliate       CTMS - 230442 HVUT Form 2290              50
      8/10/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      8/10/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.57
      8/10/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.03
      8/10/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.24
      8/10/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.14
      8/10/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      8/10/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      8/10/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG Cumberland Ridge           1.84
      8/10/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG Cumberland Ridge           1.84
      8/10/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY FM 529              2.68
      8/10/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Northwest            4.4
      8/10/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 230418 Lease of Q13151         388.16
      8/10/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.83
      8/10/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.04
      8/10/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          561.2
      8/10/2019    742   CA0089   Owner Operator   Repair Order                   CTMS - 230447 Reimburse repair       -192.25
      8/10/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.36
      8/10/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/10/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      8/10/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.04
      8/10/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.85
      8/10/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           345
      8/10/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      8/10/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      8/10/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      8/10/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      8/10/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          774.2
      8/10/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.18
      8/10/2019    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2019 - 34063                         24
      8/10/2019    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Sam Houston - NE M           3.5
      8/10/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      8/10/2019    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 230569 HVUT Form 2290              50
      8/10/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      8/10/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/10/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/10/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          572.7
      8/10/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.49
      8/10/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.53
      8/10/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      8/10/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      8/10/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Sout             7
      8/10/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 230460 Trk 33487 Lease          434.2
      8/10/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/10/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      8/10/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.91
      8/10/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.66
      8/10/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      8/10/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/10/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      8/10/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      8/10/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      8/10/2019    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      8/10/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      8/10/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.71
      8/10/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          117.2
      8/10/2019    742   ED0041   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax              27.76
      8/10/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                       100
      8/10/2019    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2019 - 32897                         24
      8/10/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      8/10/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      8/10/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      8/10/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      8/10/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      8/10/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      8/10/2019    742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00407264 - PO System          247.32
      8/10/2019    742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL Aurora                     6.65
      8/10/2019    742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL DeKalb                    15.85
      8/10/2019    742   ED0041   Owner Operator   Toll Charges                   32897 OTA Turner Turnpike West         18.05
      8/10/2019    742   EN0016   Owner Operator   Toll Charges                   32947 FBPK GP1 RIVERPARK TRIP           9.75
      8/10/2019    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Spencer Mai          8.48
      8/10/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         179.98
      8/10/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      8/10/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      8/10/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      8/10/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      8/10/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      8/10/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      8/10/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/10/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.05
      8/10/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      8/10/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                           74.4
      8/10/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/10/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      8/10/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/10/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      8/10/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      8/10/2019    742   MH0117   Owner Operator   Toll Charges                   33296 E470 PLAZA C                      12.9
      8/10/2019    742   MH0117   Owner Operator   Toll Charges                   33296 E470 PLAZA D                      18.6
      8/10/2019    742   MH0117   Owner Operator   Toll Charges                   33296 E470 PLAZA E                      18.6
      8/10/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75

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      8/10/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      8/10/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.75
      8/10/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      8/10/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      8/10/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      8/10/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      8/10/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      8/10/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      8/10/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.15
      8/10/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.91
      8/10/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.47
      8/10/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      8/10/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      8/10/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 230598 repair                    250
      8/10/2019    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00406063 - PO System          222.27
      8/10/2019    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy North - Barr             7
      8/10/2019    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Hardy South - Barr             7
      8/10/2019    742   NG0024   Owner Operator   Toll Charges                   33252 KTA Southern Terminal              7.2
      8/10/2019    742   NG0024   Owner Operator   Toll Charges                   33252 KTA Wichita: I-135,I-235           2.7
      8/10/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      8/10/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      8/10/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      8/10/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      8/10/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/10/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/10/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/10/2019    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      8/10/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      8/10/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      8/10/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      8/10/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      8/10/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/10/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/10/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/10/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/10/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.88
      8/10/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.11
      8/10/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.18
      8/10/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.62
      8/10/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.26
      8/10/2019    742   PC0012   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax             247.64
      8/10/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      8/10/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      8/10/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      8/10/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      8/10/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      8/10/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      8/10/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      8/10/2019    742   RF0136   Owner Operator   AP Invoice Deductions          ARROWHEAD TOWING INC A                 91.03
      8/10/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      8/10/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      8/10/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      8/10/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/10/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/10/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.34
      8/10/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.21
      8/10/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.67
      8/10/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.15
      8/10/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.69
      8/10/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.04
      8/10/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.09
      8/10/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.73
      8/10/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          30.65
      8/10/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      8/10/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      8/10/2019    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.94
      8/10/2019    742   RF0136   Owner Operator   T Chek Fee                     Tractor Repair 34182                  493.61
      8/10/2019    742   RF0136   Owner Operator   Toll Charges                   34182 ILTOLL 95th St.                      5
      8/10/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      8/10/2019    742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 230440 HVUT Form 2290              50

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      8/10/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      8/10/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.93
      8/10/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          357.9
      8/10/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.94
      8/10/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.35
      8/10/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      8/10/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      8/10/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 230467 Tractor Lease           353.28
      8/10/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      8/10/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13
      8/10/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.08
      8/10/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      8/10/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      8/10/2019    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Sam Houston - East             7
      8/10/2019    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Sam Houston - NE M             7
      8/10/2019    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Sam Houston - Sout          8.75
      8/10/2019    742   RS0342   Owner Operator   Toll Charges                   33738 ILTOLL I-57/147th St (Il          6.65
      8/10/2019    742   RS0342   Owner Operator   Toll Charges                   33738 ILTOLL I-57/147th St (Il          6.65
      8/10/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/10/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      8/10/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      8/10/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      8/10/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      8/10/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      8/10/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      8/10/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      8/10/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/10/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/10/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                          11.96
      8/10/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.16
      8/10/2019    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2019 - 33489                         24
      8/10/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      8/10/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD              21.2
      8/10/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      8/10/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      8/10/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      8/10/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      8/10/2019    742   TC0098   Owner Operator   Repair Order                   CTMS - 229166 repair                  283.74
      8/10/2019    742   TC0098   Owner Operator   Tire Purchase                  PO: 742-00404649 - PO System          364.24
      8/10/2019    742   TC0098   Owner Operator   Tire Purchase                  PO: 742-00404649 - PO System           54.74
      8/10/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 229076 33489 Lease Paym        412.16
      8/10/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/10/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      8/10/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.48
      8/10/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      8/10/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/10/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               16
      8/10/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      8/10/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      8/10/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/10/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      8/10/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      8/17/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      8/17/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      8/17/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/17/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.82
      8/17/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.64
      8/17/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.65
      8/17/2019    709   AC0061   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            149.04
      8/17/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      8/17/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 230873 Q13148 Trac Leas        296.09
      8/17/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      8/17/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      8/17/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.49
      8/17/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82

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      8/17/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      8/17/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      8/17/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      8/17/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.91
      8/17/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.36
      8/17/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           348
      8/17/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.59
      8/17/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.92
      8/17/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      8/17/2019    709   AR0064   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            565.73
      8/17/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      8/17/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 230283 Q13147 Lease            440.14
      8/17/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 230523 Q13147 Lease            440.14
      8/17/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 230823 Q13147 Lease            440.14
      8/17/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      8/17/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      8/17/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      8/17/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/17/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/17/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/17/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/17/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.58
      8/17/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.68
      8/17/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.61
      8/17/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           193
      8/17/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          38.96
      8/17/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.22
      8/17/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.13
      8/17/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.59
      8/17/2019    709   AV0021   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             40.65
      8/17/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  64.76
      8/17/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      8/17/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 230282 Q13169 Sublease         352.68
      8/17/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 230523 Q13169 Sublease         352.68
      8/17/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 230822 Q13169 Sublease         352.68
      8/17/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      8/17/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      8/17/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            400
      8/17/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      8/17/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.57
      8/17/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.2
      8/17/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.96
      8/17/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.64
      8/17/2019    709   CC0134   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            491.38
      8/17/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      8/17/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      8/17/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 230168 Q13168 sub lease        352.68
      8/17/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 230425 Q13168 sub lease        352.68
      8/17/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 230703 Q13168 sub lease        352.68
      8/17/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/17/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      8/17/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/17/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/17/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         614.71
      8/17/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      8/17/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      8/17/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/17/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      8/17/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/17/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      8/17/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      8/17/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/17/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/17/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.18
      8/17/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.88
      8/17/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.16
      8/17/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.21
      8/17/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.9
      8/17/2019    709   CR0064   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             49.27

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      8/17/2019    709   CR0064   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax              0.55
      8/17/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      39.07
      8/17/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      8/17/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 230749 Q1247 Sub Lease         263.91
      8/17/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/17/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      8/17/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.03
      8/17/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.16
      8/17/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.03
      8/17/2019    709   DL0029   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            105.39
      8/17/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      8/17/2019    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00409599 - PO System          230.93
      8/17/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      8/17/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      8/17/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/17/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/17/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.06
      8/17/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.9
      8/17/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.77
      8/17/2019    709   DL0107   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax              1.11
      8/17/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      8/17/2019    709   DL0107   Owner Operator   Tire Fee                       Tire Fee: 2301353                         16
      8/17/2019    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00409597 - PO System          366.91
      8/17/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 230212 Sublease                338.99
      8/17/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 230220 TRUCK RENTAL              500
      8/17/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 230459 Sublease                338.99
      8/17/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 230746 Sublease                338.99
      8/17/2019    709   DM0257   Owner Operator   Advance                        2/22/19 Clm 72917-1 s/u pmts           175.6
      8/17/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      8/17/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      8/17/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/17/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/17/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          327.3
      8/17/2019    709   DM0257   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax           1005.23
      8/17/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      8/17/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      8/17/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      8/17/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      8/17/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/17/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      8/17/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/17/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/17/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.71
      8/17/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.24
      8/17/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      8/17/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      8/17/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                         512.35
      8/17/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      8/17/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      8/17/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         638.66
      8/17/2019    709   DS0225   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             -32.3
      8/17/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      8/17/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      8/17/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      8/17/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/17/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/17/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.93
      8/17/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.58
      8/17/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.9
      8/17/2019    709   DS0288   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            294.73
      8/17/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      8/17/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/17/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      8/17/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/17/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      8/17/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/17/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.18
      8/17/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.97
      8/17/2019    709   EA0003   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            182.72
      8/17/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      8/17/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      8/17/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      8/17/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      8/17/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      8/17/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.26
      8/17/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.69
      8/17/2019    709   EG0062   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             -3.01
      8/17/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      8/17/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      8/17/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      8/17/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      8/17/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.64
      8/17/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.22
      8/17/2019    709   EO0014   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            312.85
      8/17/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      8/17/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      8/17/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      8/17/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      8/17/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/17/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/17/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.38
      8/17/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           240
      8/17/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.3
      8/17/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.18
      8/17/2019    709   FS0039   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax              1.43
      8/17/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      8/17/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 230281 truck lease 3304        434.29
      8/17/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 230522 truck lease 3304        434.29
      8/17/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 230822 truck lease 3304        434.29
      8/17/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/17/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      8/17/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/17/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/17/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                           600
      8/17/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         624.19
      8/17/2019    709   FV0001   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             90.45
      8/17/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      8/17/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/17/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      8/17/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/17/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          154.3
      8/17/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      8/17/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      8/17/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      8/17/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      8/17/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      8/17/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      8/17/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.87
      8/17/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      8/17/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 230749 Amortized Balloo        200.15
      8/17/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      8/17/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      8/17/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/17/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/17/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/17/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/17/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/17/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/17/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           432
      8/17/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.64
      8/17/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           440

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      8/17/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.31
      8/17/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.25
      8/17/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.88
      8/17/2019    709   GW0043   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            155.07
      8/17/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      8/17/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 230038 Q1109 Lease             302.85
      8/17/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 230319 Q1109 Lease             302.85
      8/17/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 230571 Q1109 Lease             302.85
      8/17/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 230869 Q1109 Lease             302.85
      8/17/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      8/17/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      8/17/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      8/17/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.62
      8/17/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.44
      8/17/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      8/17/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 230222 Q13170                  352.68
      8/17/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 230467 Q13170                  352.68
      8/17/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 230755 Q13170                  352.68
      8/17/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      8/17/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      8/17/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/17/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.75
      8/17/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         601.92
      8/17/2019    709   HG0007   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             -0.37
      8/17/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                       100
      8/17/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      8/17/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/17/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      8/17/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/17/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/17/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/17/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/17/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/17/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/17/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.99
      8/17/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.62
      8/17/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.94
      8/17/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.17
      8/17/2019    709   HG0027   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             116.9
      8/17/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      8/17/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/17/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      8/17/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.25
      8/17/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.27
      8/17/2019    709   IA0007   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            206.12
      8/17/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      8/17/2019    709   IA0007   Owner Operator   Repair Order                   CTMS - 230733 PARTS                     460
      8/17/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      8/17/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/17/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      8/17/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.57
      8/17/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.72
      8/17/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.88
      8/17/2019    709   IR0002   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            -82.23
      8/17/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      8/17/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/17/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/17/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      8/17/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.76
      8/17/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.99
      8/17/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      8/17/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      8/17/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      8/17/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      8/17/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      8/17/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            150

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      8/17/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
      8/17/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        511.95
      8/17/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        420.95
      8/17/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        346.75
      8/17/2019    709   JC0292   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax           532.01
      8/17/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/17/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      8/17/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 230746 Q13197 Lease           276.63
      8/17/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      8/17/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      8/17/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/17/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/17/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      8/17/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      8/17/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/17/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      8/17/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           500
      8/17/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      8/17/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.7
      8/17/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        569.96
      8/17/2019    709   JG0017   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            77.57
      8/17/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
      8/17/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment        414.93
      8/17/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/17/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.86
      8/17/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      8/17/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/17/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      8/17/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      8/17/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      8/17/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        561.53
      8/17/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        549.85
      8/17/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        572.81
      8/17/2019    709   JG0072   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax           350.79
      8/17/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
      8/17/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/17/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      8/17/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00409170 - PO System         177.74
      8/17/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      8/17/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      8/17/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      8/17/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      8/17/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      8/17/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                          150
      8/17/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                          150
      8/17/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.18
      8/17/2019    709   JG0092   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            34.16
      8/17/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/17/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/17/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
      8/17/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
      8/17/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      8/17/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      8/17/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                          8
      8/17/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        191.71
      8/17/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        168.37
      8/17/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        110.18
      8/17/2019    709   JQ0015   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            30.91
      8/17/2019    709   JQ0015   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            -58.6
      8/17/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 34637                      100
      8/17/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/17/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      8/17/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  15.63
      8/17/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      8/17/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      8/17/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        521.84
      8/17/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/17/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      8/17/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 230645 Truck Lease            278.76
      8/17/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      8/17/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75
      8/17/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                         8
      8/17/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100

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      8/17/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.82
      8/17/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.06
      8/17/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.85
      8/17/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.43
      8/17/2019    709   JS0265   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             192.5
      8/17/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      8/17/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      8/17/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      8/17/2019    709   JS0265   Owner Operator   Repair Order                   CTMS - 230733 REPAIR                    247
      8/17/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 230215 Q13159 Lease             331.5
      8/17/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 230461 Q13159 Lease             331.5
      8/17/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 230748 Q13159 Lease             331.5
      8/17/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/17/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      8/17/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/17/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/17/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/17/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/17/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/17/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.01
      8/17/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.48
      8/17/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           325
      8/17/2019    709   KP0004   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            573.46
      8/17/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      8/17/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      8/17/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      8/17/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/17/2019    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00409176 - PO System          371.77
      8/17/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      8/17/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      8/17/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      8/17/2019    709   KT0055   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/17/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.87
      8/17/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.82
      8/17/2019    709   KT0055   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            157.12
      8/17/2019    709   KT0055   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          298.5
      8/17/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      8/17/2019    709   KT0055   Owner Operator   Repair Order                   CTMS - 230733 REPAIR                   273.8
      8/17/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 230160 Q13156 Lease            388.16
      8/17/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 230417 Q13156 Lease            388.16
      8/17/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 230696 Q13156 Lease            388.16
      8/17/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      8/17/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      8/17/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      8/17/2019    709   LL0160   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.78
      8/17/2019    709   LL0160   Owner Operator   T Chek Fee                     Tractor Repair Q1111                   378.1
      8/17/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 230822 Lease Q1111             252.11
      8/17/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      8/17/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      8/17/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/17/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/17/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         600.14
      8/17/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      8/17/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/17/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      8/17/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.82
      8/17/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.63
      8/17/2019    709   MA0092   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            170.22
      8/17/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      8/17/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      8/17/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      8/17/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/17/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.88
      8/17/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.76
      8/17/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                           80.4
      8/17/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      8/17/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75

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      8/17/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      8/17/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.96
      8/17/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          470.8
      8/17/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.53
      8/17/2019    709   ME0053   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             30.72
      8/17/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      8/17/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      8/17/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 230703 Q1113 Lease             252.11
      8/17/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/17/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      8/17/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.77
      8/17/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.53
      8/17/2019    709   MG0067   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            -16.92
      8/17/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      8/17/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      8/17/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/17/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      8/17/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      8/17/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              20
      8/17/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      8/17/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      8/17/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      8/17/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.09
      8/17/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         648.66
      8/17/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      8/17/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/17/2019    709   MP0035   Owner Operator   Tire Fee                       Tire Fee: 2303992                          8
      8/17/2019    709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00407269 - PO System           207.4
      8/17/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      8/17/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      8/17/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      8/17/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          78.68
      8/17/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/17/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/17/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/17/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/17/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.72
      8/17/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.71
      8/17/2019    709   NB0029   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            267.43
      8/17/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      8/17/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      8/17/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      8/17/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      8/17/2019    709   NB0029   Owner Operator   Tire Fee                       Tire Fee: 2302867                         16
      8/17/2019    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00409175 - PO System          572.04
      8/17/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 230214 32986 Lease             314.03
      8/17/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      8/17/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      8/17/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/17/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/17/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.92
      8/17/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.91
      8/17/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      8/17/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      8/17/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      8/17/2019    709   NT9564   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            199.18
      8/17/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      8/17/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 230877 Truck 73130 Leas        196.65
      8/17/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/17/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      8/17/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/17/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.98
      8/17/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.2
      8/17/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      8/17/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      8/17/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66

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      8/17/2019    709   OJ0007   Owner Operator   Truck Payment                  CTMS - 230821 TRUCK RENTAL            240.38
      8/17/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      8/17/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.25
      8/17/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.21
      8/17/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.57
      8/17/2019    709   RB0170   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            111.82
      8/17/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      8/17/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 230166 Q1241 Truck leas        321.84
      8/17/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 230423 Q1241 Truck leas        321.84
      8/17/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 230701 Q1241 Truck leas        321.19
      8/17/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/17/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      8/17/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         632.54
      8/17/2019    709   RC0030   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            -18.39
      8/17/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      8/17/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/17/2019    709   RL0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -386.83
      8/17/2019    709   RL0017   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            -28.52
      8/17/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         415.35
      8/17/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/17/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      8/17/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/17/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/17/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.37
      8/17/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           47.3
      8/17/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.55
      8/17/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.31
      8/17/2019    709   RL0062   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            462.81
      8/17/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      8/17/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      8/17/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      8/17/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      8/17/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      8/17/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/17/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.94
      8/17/2019    709   RL0180   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            -10.36
      8/17/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      8/17/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      8/17/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      8/17/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      8/17/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      8/17/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      8/17/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      8/17/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.04
      8/17/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.18
      8/17/2019    709   RM0026   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            222.71
      8/17/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      8/17/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      8/17/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      8/17/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.67
      8/17/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      8/17/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 230646 Q1202 Truck Leas        278.76
      8/17/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      8/17/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      8/17/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         580.68
      8/17/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.71
      8/17/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.96
      8/17/2019    709   RR0123   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            471.61
      8/17/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      8/17/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      8/17/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 230167 Q1248                   311.97
      8/17/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 230424 Q1248                   311.97
      8/17/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 230702 Q1248                   311.97
      8/17/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      8/17/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      8/17/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200

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      8/17/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/17/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/17/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/17/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/17/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.12
      8/17/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.57
      8/17/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.81
      8/17/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.3
      8/17/2019    709   SB0009   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            592.43
      8/17/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      8/17/2019    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00009 - Loan Repayment         240.45
      8/17/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      8/17/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      8/17/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      8/17/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      8/17/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/17/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.61
      8/17/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.85
      8/17/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.84
      8/17/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.36
      8/17/2019    709   SB0103   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            298.71
      8/17/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      8/17/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      8/17/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      8/17/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 230105 Sub Lease               388.33
      8/17/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 230382 Sub Lease               388.33
      8/17/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 230641 Sub Lease               388.33
      8/17/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      8/17/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      8/17/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           446
      8/17/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.24
      8/17/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           510
      8/17/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.89
      8/17/2019    709   SM0109   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            634.78
      8/17/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      8/17/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      8/17/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      8/17/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      8/17/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      8/17/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.98
      8/17/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.37
      8/17/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.83
      8/17/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.26
      8/17/2019    709   SN0019   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             58.39
      8/17/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      8/17/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      8/17/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      8/17/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         584.28
      8/17/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.43
      8/17/2019    709   VB0015   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             13.35
      8/17/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      8/17/2019    709   VB0015   Owner Operator   Repair Order                   CTMS - 230911 PM INSPECTION               59
      8/17/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      8/17/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/17/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      8/17/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/17/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/17/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/17/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/17/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/17/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/17/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/17/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.28
      8/17/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.42
      8/17/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.01
      8/17/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.84
      8/17/2019    709   VJ0006   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            100.32
      8/17/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      8/17/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      8/17/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Turner Turnpike East         18.05
      8/17/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Will Rogers Turnpike         18.05
      8/17/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Will Rogers Turnpike          3.25
      8/17/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/17/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      8/17/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      8/17/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      8/17/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      8/17/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      8/17/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/17/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/17/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/17/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/17/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.91
      8/17/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.59
      8/17/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.4
      8/17/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.25
      8/17/2019    709   WH0087   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            198.49
      8/17/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      8/17/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 230168 Q1238 Lease             311.97
      8/17/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 230425 Q1238 Lease             311.97
      8/17/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 230703 Q1238 Lease             311.97
      8/17/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      8/17/2019    742   AP0047   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            444.91
      8/17/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      8/17/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      8/17/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      8/17/2019    742   BS0078   Owner Operator   Charge back by affiliate       CTMS - 230694 HVUT Form 2290              50
      8/17/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      8/17/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.98
      8/17/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.53
      8/17/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          355.7
      8/17/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.32
      8/17/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.4
      8/17/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.05
      8/17/2019    742   BS0078   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             413.3
      8/17/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      8/17/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      8/17/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 FBPK GP1 WESTPARK TRIP           9.36
      8/17/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Spencer Ma          2.12
      8/17/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Spencer Ma          8.48
      8/17/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 230696 Lease of Q13151         388.16
      8/17/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      8/17/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      8/17/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      8/17/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      8/17/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.34
      8/17/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.38
      8/17/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.42
      8/17/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      8/17/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      8/17/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/17/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      8/17/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.17
      8/17/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.79
      8/17/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.19
      8/17/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.9
      8/17/2019    742   DA0067   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            240.77
      8/17/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      8/17/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/17/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      8/17/2019    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 230876 HVUT Form 2290              50
      8/17/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      8/17/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/17/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      8/17/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.09
      8/17/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.56
      8/17/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.32
      8/17/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.14
      8/17/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.23
      8/17/2019    742   DS0254   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            188.26
      8/17/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      8/17/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      8/17/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 230747 Trk 33487 Lease          434.2
      8/17/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/17/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      8/17/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.75
      8/17/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.72
      8/17/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.27
      8/17/2019    742   EA0039   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             19.12
      8/17/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      8/17/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/17/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      8/17/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      8/17/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      8/17/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          365.9
      8/17/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           46.5
      8/17/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.96
      8/17/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.53
      8/17/2019    742   ED0041   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            106.22
      8/17/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      8/17/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      8/17/2019    742   ED0041   Owner Operator   Repair Order                   CTMS - 230603 repair                      68
      8/17/2019    742   ED0041   Owner Operator   Repair Order                   CTMS - 230733 REPAIR                      90
      8/17/2019    742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00407264 - PO System          395.18
      8/17/2019    742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00407264 - PO System           642.5
      8/17/2019    742   ED0041   Owner Operator   Tire Purchase                  PO: 742-00407264 - PO System          642.47
      8/17/2019    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - NE M           1.5
      8/17/2019    742   ED0041   Owner Operator   Toll Charges                   32897 NTTA Plaza 10 - Irving             2.4
      8/17/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      8/17/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      8/17/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      8/17/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      8/17/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      8/17/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      8/17/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/17/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           180
      8/17/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         664.08
      8/17/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      8/17/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/17/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/17/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      8/17/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      8/17/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/17/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/17/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          425.1
      8/17/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          355.5
      8/17/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.53
      8/17/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.06
      8/17/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.97
      8/17/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.55
      8/17/2019    742   JS0390   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            203.21
      8/17/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      8/17/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      8/17/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Hardy South - Barr             7
      8/17/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Sam Houston - Cent             7
      8/17/2019    742   JS0390   Owner Operator   Toll Charges                   34327 ILTOLL Joliet Rd.                  2.5
      8/17/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/17/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      8/17/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/17/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75

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      8/17/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      8/17/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      8/17/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      8/17/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      8/17/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      8/17/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      8/17/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      8/17/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.14
      8/17/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.78
      8/17/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.05
      8/17/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      8/17/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      8/17/2019    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00406063 - PO System          222.27
      8/17/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      8/17/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      8/17/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/17/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/17/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          139.9
      8/17/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.24
      8/17/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.36
      8/17/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.46
      8/17/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.44
      8/17/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.54
      8/17/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.33
      8/17/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.94
      8/17/2019    742   RF0136   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             16.32
      8/17/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      8/17/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      8/17/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.45
      8/17/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.32
      8/17/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.36
      8/17/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.24
      8/17/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.26
      8/17/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      8/17/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      8/17/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/17/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      8/17/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      8/17/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      8/17/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      8/17/2019    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      8/17/2019    742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 230440 HVUT Form 2290              50
      8/17/2019    742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 230694 HVUT Form 2290              50
      8/17/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      8/17/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      8/17/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      8/17/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      8/17/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/17/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                          38.04
      8/17/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/17/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/17/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/17/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.78
      8/17/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.95
      8/17/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.22
      8/17/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          382.6
      8/17/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.01
      8/17/2019    742   TC0098   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            103.66
      8/17/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      8/17/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      8/17/2019    742   TC0098   Owner Operator   Repair Order                   CTMS - 229363 repair                  283.74
      8/17/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 229286 33489 Lease Paym        412.16
      8/17/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 229558 33489 Lease Paym        412.16
      8/17/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 229865 33489 Lease Paym        412.16
      8/17/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 230515 33489 Lease Paym        412.16
      8/17/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 230815 33489 Lease Paym        412.16
      8/17/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75

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      8/17/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      8/17/2019    742   TH0130   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             75.65
      8/17/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      8/17/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/17/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      8/17/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      8/17/2019    843   EI0003   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            435.05
      8/17/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/17/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      8/17/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      8/24/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      8/24/2019    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      8/24/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      8/24/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/24/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.93
      8/24/2019    709   AC0061   Owner Operator   Tire Fee                       Tire Fee: 2310351                          4
      8/24/2019    709   AC0061   Owner Operator   Tire Purchase                  PO: 709-00410120 - PO System           54.28
      8/24/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 231180 Q13148 Trac Leas        296.09
      8/24/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      8/24/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      8/24/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      8/24/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      8/24/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      8/24/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      8/24/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.06
      8/24/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.68
      8/24/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.86
      8/24/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.47
      8/24/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      8/24/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 231122 Q13147 Lease            440.14
      8/24/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      8/24/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      8/24/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      8/24/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.53
      8/24/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.42
      8/24/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.26
      8/24/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.07
      8/24/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.25
      8/24/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.85
      8/24/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  53.72
      8/24/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      8/24/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 231121 Q13169 Sublease         352.68
      8/24/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      8/24/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      8/24/2019    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      8/24/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      8/24/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      8/24/2019    709   BM0030   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            491.81
      8/24/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      8/24/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      8/24/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      8/24/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      8/24/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      8/24/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      8/24/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.03
      8/24/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.87
      8/24/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      8/24/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      8/24/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 231001 Q13168 sub lease        352.68
      8/24/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/24/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      8/24/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      8/24/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          581.68
      8/24/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          687.72
      8/24/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                       33.17
      8/24/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/24/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    23.43
      8/24/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      8/24/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          507.91
      8/24/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      8/24/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      8/24/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                            8
      8/24/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/24/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/24/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          352.08
      8/24/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          161.16
      8/24/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.65
      8/24/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          335.99
      8/24/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/24/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       39.04
      8/24/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 32.01
      8/24/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 231043 Q1247 Sub Lease          263.91
      8/24/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      8/24/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      8/24/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.05
      8/24/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          477.35
      8/24/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          345.36
      8/24/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/24/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.19
      8/24/2019    709   DL0029   Owner Operator   Tire Purchase                  PO: 709-00409599 - PO System           230.89
      8/24/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      8/24/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      8/24/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      8/24/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/24/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/24/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      8/24/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          575.44
      8/24/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          205.94
      8/24/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          121.58
      8/24/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          542.24
      8/24/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/24/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 65.69
      8/24/2019    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00409597 - PO System           366.91
      8/24/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 231039 Sublease                 338.99
      8/24/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      8/24/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                              50
      8/24/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/24/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    18.75
      8/24/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      8/24/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      8/24/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
      8/24/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      8/24/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      8/24/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.05
      8/24/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          747.28
      8/24/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                       33.17
      8/24/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/24/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    92.33
      8/24/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                          512.35
      8/24/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      8/24/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
      8/24/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          653.66
      8/24/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/24/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.04
      8/24/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      8/24/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                             400
      8/24/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                            4
      8/24/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.34
      8/24/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          392.87
      8/24/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          203.52
      8/24/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.61
      8/24/2019    709   DS0288   Owner Operator   Loan Repayment                 Conditional Credit / Loan            -2622.96
      8/24/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/24/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    42.18
      8/24/2019    709   DS0288   Owner Operator   T Chek Fee                     ExpressCheck Fee                        25.97

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      8/24/2019    709   DS0288   Owner Operator   T Chek Fee                     Tractor Repair 34266                 1026.94
      8/24/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/24/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      8/24/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/24/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.88
      8/24/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.45
      8/24/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      8/24/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      8/24/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      8/24/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      8/24/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      8/24/2019    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           700
      8/24/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.69
      8/24/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.78
      8/24/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      8/24/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      8/24/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      8/24/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      8/24/2019    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/24/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.57
      8/24/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.68
      8/24/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.89
      8/24/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.9
      8/24/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      8/24/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      8/24/2019    709   EO0014   Owner Operator   Toll Charges                   33846 BATA Richmond                       26
      8/24/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      8/24/2019    709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 231155 HVUT Form 2290              50
      8/24/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      8/24/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/24/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/24/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.9
      8/24/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.89
      8/24/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.35
      8/24/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      8/24/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 231121 truck lease 3304        434.29
      8/24/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/24/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      8/24/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          581.2
      8/24/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      8/24/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/24/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      8/24/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/24/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/24/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/24/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.62
      8/24/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.62
      8/24/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.8
      8/24/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      8/24/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      8/24/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      8/24/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      8/24/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      8/24/2019    709   GS0015   Owner Operator   Charge back by affiliate       CTMS - 231037 HVUT Form 2290              50
      8/24/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      8/24/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.65
      8/24/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      8/24/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      8/24/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 231043 Amortized Balloo        200.15
      8/24/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            78.7
      8/24/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.14
      8/24/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.67
      8/24/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      8/24/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      8/24/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      8/24/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.72
      8/24/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      8/24/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 231047 Q13170                  352.68
      8/24/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      8/24/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      8/24/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/24/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/24/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/24/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         670.87
      8/24/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          506.4
      8/24/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                       100
      8/24/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.04
      8/24/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/24/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      8/24/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/24/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/24/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.42
      8/24/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.98
      8/24/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.06
      8/24/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.97
      8/24/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      8/24/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/24/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      8/24/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.13
      8/24/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.14
      8/24/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      8/24/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      8/24/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/24/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      8/24/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.23
      8/24/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          478.5
      8/24/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      8/24/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/24/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/24/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      8/24/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      8/24/2019    709   JA0156   Owner Operator   *Arrears Collection W/O        WO:Credit Billing                    -233.63
      8/24/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      8/24/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      8/24/2019    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      8/24/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      8/24/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      8/24/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            150
      8/24/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      8/24/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.06
      8/24/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.77
      8/24/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      8/24/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 231040 Q13197 Lease            276.63
      8/24/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/24/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      8/24/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/24/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      8/24/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      8/24/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      8/24/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/24/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      8/24/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           500
      8/24/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      8/24/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        481.49
      8/24/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        363.14
      8/24/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        252.96
      8/24/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
      8/24/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment        414.93
      8/24/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/24/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  90.85
      8/24/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         504.6
      8/24/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/24/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      8/24/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      8/24/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      8/24/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        453.02
      8/24/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        521.62
      8/24/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        560.44
      8/24/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
      8/24/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/24/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      8/24/2019    709   JG0072   Owner Operator   Tire Purchase                  PO: 709-00409170 - PO System         177.69
      8/24/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        513.26
      8/24/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      8/24/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      8/24/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                          150
      8/24/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.1
      8/24/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/24/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.15
      8/24/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      8/24/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      8/24/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                          8
      8/24/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/24/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/24/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        122.59
      8/24/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         16.32
      8/24/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        217.12
      8/24/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         58.76
      8/24/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 34637                      100
      8/24/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/24/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.51
      8/24/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  15.61
      8/24/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      8/24/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      8/24/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        384.47
      8/24/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/24/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            58.58
      8/24/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 230946 Truck Lease            278.76
      8/24/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      8/24/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75
      8/24/2019    709   JS0265   Owner Operator   Charge back by affiliate       CTMS - 231064 HVUT Form 2290             50
      8/24/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                         8
      8/24/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      8/24/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/24/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/24/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/24/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/24/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.37
      8/24/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        237.48
      8/24/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        349.53
      8/24/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          2.48
      8/24/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/24/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      8/24/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD           40.22
      8/24/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 231042 Q13159 Lease            331.5
      8/24/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/24/2019    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
      8/24/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      8/24/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         55.58
      8/24/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100

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      8/24/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/24/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          336.6
      8/24/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           397
      8/24/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      8/24/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      8/24/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      8/24/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      8/24/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/24/2019    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00409176 - PO System          371.74
      8/24/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      8/24/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      8/24/2019    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      8/24/2019    709   KT0055   Owner Operator   Charge back by affiliate       CTMS - 231151 HVUT Form 2290            550
      8/24/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      8/24/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.52
      8/24/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.97
      8/24/2019    709   KT0055   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          298.5
      8/24/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      8/24/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 230997 Q13156 Lease            388.16
      8/24/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      8/24/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      8/24/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      8/24/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 231121 Lease Q1111             252.11
      8/24/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      8/24/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      8/24/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.43
      8/24/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.02
      8/24/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.01
      8/24/2019    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     26
      8/24/2019    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     26
      8/24/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/24/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      8/24/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      8/24/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      8/24/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      8/24/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/24/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.61
      8/24/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.75
      8/24/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      8/24/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      8/24/2019    709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 231038 Trailer wash WFG           -50
      8/24/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      8/24/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.22
      8/24/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.32
      8/24/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      8/24/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      8/24/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 231001 Q1113 Lease             252.11
      8/24/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/24/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      8/24/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.41
      8/24/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      8/24/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      8/24/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/24/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      8/24/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      8/24/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            380
      8/24/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3.8
      8/24/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.93
      8/24/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.76
      8/24/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/24/2019    709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00407269 - PO System           207.4

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      8/24/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      8/24/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      8/24/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      8/24/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/24/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         171.32
      8/24/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.21
      8/24/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.54
      8/24/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          358.8
      8/24/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      8/24/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      8/24/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      8/24/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      8/24/2019    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00409175 - PO System          572.04
      8/24/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 230461 32986 Lease             314.03
      8/24/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 230747 32986 Lease             314.03
      8/24/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 231041 32986 Lease             314.03
      8/24/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      8/24/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      8/24/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            360
      8/24/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3.6
      8/24/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.42
      8/24/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.01
      8/24/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      8/24/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      8/24/2019    709   NT9564   Owner Operator   Charge back by affiliate       CTMS - 231066 HVUT Form 2290              50
      8/24/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
      8/24/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      8/24/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 231185 Truck 73130 Leas        196.65
      8/24/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/24/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      8/24/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/24/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.08
      8/24/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.67
      8/24/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.35
      8/24/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      8/24/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
      8/24/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      8/24/2019    709   RB0170   Owner Operator   Repair Order                   TRACTOR Q1241                        3925.09
      8/24/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 230701 Q1241 Truck leas          0.65
      8/24/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/24/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      8/24/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          703.7
      8/24/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      8/24/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/24/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/24/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/24/2019    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      8/24/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      8/24/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      8/24/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/24/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/24/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         643.79
      8/24/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      8/24/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      8/24/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      8/24/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      8/24/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/24/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/24/2019    709   RL0017   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.83
      8/24/2019    709   RL0017   Owner Operator   T Chek Fee                     Tractor Repair 33065                    383
      8/24/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      8/24/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          113.7

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      8/24/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/24/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      8/24/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.55
      8/24/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.43
      8/24/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.51
      8/24/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          443.5
      8/24/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      8/24/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      8/24/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         512.16
      8/24/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      8/24/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      8/24/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/24/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.58
      8/24/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      8/24/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      8/24/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      8/24/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      8/24/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      8/24/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      8/24/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      8/24/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.51
      8/24/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      8/24/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      8/24/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      8/24/2019    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              60
      8/24/2019    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      8/24/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.02
      8/24/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.33
      8/24/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      8/24/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 230946 Q1202 Truck Leas        278.76
      8/24/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      8/24/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      8/24/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/24/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/24/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/24/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.29
      8/24/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.88
      8/24/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           38.7
      8/24/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          189.9
      8/24/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.58
      8/24/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      8/24/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      8/24/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      8/24/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      8/24/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      8/24/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/24/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.01
      8/24/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.34
      8/24/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.37
      8/24/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.55
      8/24/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      8/24/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      8/24/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      8/24/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 230942 Sub Lease               388.33
      8/24/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      8/24/2019    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      8/24/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      8/24/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           398
      8/24/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.78
      8/24/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           472
      8/24/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      8/24/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22

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      8/24/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      8/24/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      8/24/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      8/24/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/24/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/24/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.98
      8/24/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.17
      8/24/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.07
      8/24/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      8/24/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      8/24/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      8/24/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.79
      8/24/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      8/24/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      8/24/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/24/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      8/24/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/24/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/24/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/24/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.59
      8/24/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.66
      8/24/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.41
      8/24/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.66
      8/24/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      8/24/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Turner Turnpike West         18.05
      8/24/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Will Rogers Turnpike         14.25
      8/24/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/24/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      8/24/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      8/24/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      8/24/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      8/24/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      8/24/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/24/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/24/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.68
      8/24/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          32.12
      8/24/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.95
      8/24/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.32
      8/24/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      8/24/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 231001 Q1238 Lease             311.97
      8/24/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      8/24/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      8/24/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      8/24/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/24/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/24/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/24/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/24/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/24/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/24/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/24/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/24/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           91.3
      8/24/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.74
      8/24/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.2
      8/24/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.45
      8/24/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.36
      8/24/2019    742   AP0047   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            271.76
      8/24/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      8/24/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      8/24/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      8/24/2019    742   BS0078   Owner Operator   Charge back by affiliate       CTMS - 230999 HVUT Form 2290              50
      8/24/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      8/24/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.69

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      8/24/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.84
      8/24/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
      8/24/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      8/24/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 230997 Lease of Q13151         388.16
      8/24/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      8/24/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      8/24/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.52
      8/24/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.28
      8/24/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      8/24/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/24/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.08
      8/24/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.08
      8/24/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   48.79
      8/24/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      8/24/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      8/24/2019    742   DC0117   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax             81.11
      8/24/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      8/24/2019    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 231038 Wash on 67795              -38
      8/24/2019    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 231184 HVUT Form 2290              50
      8/24/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      8/24/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          477.2
      8/24/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.77
      8/24/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.19
      8/24/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      8/24/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      8/24/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 231040 Trk 33487 Lease          434.2
      8/24/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/24/2019    742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                    12.5
      8/24/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      8/24/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.2
      8/24/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.87
      8/24/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      8/24/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/24/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      8/24/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      8/24/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.96
      8/24/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.62
      8/24/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.97
      8/24/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      8/24/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      8/24/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      8/24/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      8/24/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      8/24/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      8/24/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      8/24/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      8/24/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/24/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.06
      8/24/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      8/24/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.81
      8/24/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      8/24/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      8/24/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          110.3
      8/24/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.33
      8/24/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      8/24/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      8/24/2019    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      8/24/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      8/24/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/24/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/24/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.26
      8/24/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.78
      8/24/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      8/24/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      8/24/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      8/24/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 231153 repair                    250
      8/24/2019    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00406063 - PO System          222.27
      8/24/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      8/24/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      8/24/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/24/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/24/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      8/24/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      8/24/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/24/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/24/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.05
      8/24/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.36
      8/24/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.53
      8/24/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.4
      8/24/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.21
      8/24/2019    742   PC0012   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            127.65
      8/24/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      8/24/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      8/24/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      8/24/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      8/24/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      8/24/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      8/24/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      8/24/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          40.85
      8/24/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      8/24/2019    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      8/24/2019    742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 230694 HVUT Form 2290              50
      8/24/2019    742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 230999 HVUT Form 2290              50
      8/24/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      8/24/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      8/24/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.02
      8/24/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.03
      8/24/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.01
      8/24/2019    742   RN0054   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            261.32
      8/24/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      8/24/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      8/24/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 230754 Tractor Lease           353.28
      8/24/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 231046 Tractor Lease           353.28
      8/24/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/24/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      8/24/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      8/24/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      8/24/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      8/24/2019    742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 230999 HVUT Form 2290              50
      8/24/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      8/24/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/24/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/24/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/24/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.85
      8/24/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.22
      8/24/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.12
      8/24/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.15
      8/24/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
      8/24/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      8/24/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 231113 33489 Lease Paym        412.16
      8/24/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/24/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      8/24/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.1
      8/24/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      8/24/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      8/24/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      8/24/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      8/24/2019    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      8/24/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      8/24/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/24/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      8/24/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5

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      8/31/2019    709   AC0061   Owner Operator   Communication Charge       PNet Hware Q13148                          8
      8/31/2019    709   AC0061   Owner Operator   ESCROW                     Weekly Escrow                             50
      8/31/2019    709   AC0061   Owner Operator   Fuel Purchase              Fuel Purchase                         595.91
      8/31/2019    709   AC0061   Owner Operator   Fuel Purchase              Fuel Purchase                         352.13
      8/31/2019    709   AC0061   Owner Operator   Tire Purchase              PO: 709-00410120 - PO System           54.28
      8/31/2019    709   AC0061   Owner Operator   Truck Payment              CTMS - 231494 Q13148 Trac Leas        296.09
      8/31/2019    709   AN0007   Owner Operator   Communication Charge       PNet Hware 21157A                         13
      8/31/2019    709   AN0007   Owner Operator   Fuel Purchase              Fuel Purchase                         552.77
      8/31/2019    709   AN0007   Owner Operator   Toll Charges               21157A TOLLROAD SR73 CATALINA          25.96
      8/31/2019    709   AR0064   Owner Operator   Communication Charge       PNet Hware Q13147                         13
      8/31/2019    709   AR0064   Owner Operator   Fuel Purchase              Fuel Purchase                         302.03
      8/31/2019    709   AR0064   Owner Operator   Fuel Purchase              Fuel Purchase                         273.04
      8/31/2019    709   AR0064   Owner Operator   Fuel Purchase              Fuel Purchase                         243.68
      8/31/2019    709   AR0064   Owner Operator   Truck Payment              CTMS - 231434 Q13147 Lease            440.14
      8/31/2019    709   AV0021   Owner Operator   Communication Charge       PNet Hware Q13169                          8
      8/31/2019    709   AV0021   Owner Operator   Fuel Purchase              Fuel Purchase                          94.96
      8/31/2019    709   AV0021   Owner Operator   Fuel Purchase              Fuel Purchase                         307.55
      8/31/2019    709   AV0021   Owner Operator   Fuel Purchase              Fuel Purchase                         194.05
      8/31/2019    709   AV0021   Owner Operator   Fuel Purchase              Fuel Purchase                         228.08
      8/31/2019    709   AV0021   Owner Operator   GARNISHMENT                GARNISHMENT 881047509                 125.12
      8/31/2019    709   AV0021   Owner Operator   Truck Payment              CTMS - 231434 Q13169 Sublease         352.68
      8/31/2019    709   BM0030   Owner Operator   Communication Charge       PNet Hware 34023                          13
      8/31/2019    709   CC0134   Owner Operator   Charge back by affiliate   CTMS - 231446 HVUT Form 2290              50
      8/31/2019    709   CC0134   Owner Operator   Communication Charge       PNet Hware Q13168                          8
      8/31/2019    709   CC0134   Owner Operator   Fuel Card Advances         Cash Advance                            500
      8/31/2019    709   CC0134   Owner Operator   Fuel Card Advances         Cash Advance Fee                           5
      8/31/2019    709   CC0134   Owner Operator   Fuel Purchase              Fuel Purchase                         385.95
      8/31/2019    709   CC0134   Owner Operator   Fuel Purchase              Fuel Purchase                         285.55
      8/31/2019    709   CC0134   Owner Operator   Fuel Purchase              Fuel Purchase                         482.67
      8/31/2019    709   CC0134   Owner Operator   Fuel Purchase              Fuel Purchase                         411.63
      8/31/2019    709   CC0134   Owner Operator   Loan Repayment             Loan # 00004 - Loan Repayment         354.79
      8/31/2019    709   CC0134   Owner Operator   Truck Payment              CTMS - 231306 Q13168 sub lease        352.68
      8/31/2019    709   CM0119   Owner Operator   Communication Charge       PNet Hware 32920                          13
      8/31/2019    709   CM0119   Owner Operator   Fuel Card Advances         Cash Advance                            200
      8/31/2019    709   CM0119   Owner Operator   Fuel Card Advances         Cash Advance Fee                           2
      8/31/2019    709   CM0119   Owner Operator   Fuel Purchase              Fuel Purchase                          520.1
      8/31/2019    709   CM0119   Owner Operator   Fuel Purchase              Fuel Purchase                         659.07
      8/31/2019    709   CM0119   Owner Operator   IRP License Deduction      LCIL:2019 - 32920                      33.17
      8/31/2019    709   CM0119   Owner Operator   Tractor Charge             14620 - 32920                         507.91
      8/31/2019    709   CR0064   Owner Operator   BOBTAIL INS.               2010 Peterbilt NTL                       -35
      8/31/2019    709   CR0064   Owner Operator   Communication Charge       PNet Hware Q1247                           8
      8/31/2019    709   CR0064   Owner Operator   Fuel Purchase              Fuel Purchase                         289.43
      8/31/2019    709   CR0064   Owner Operator   Fuel Purchase              Fuel Purchase                         243.53
      8/31/2019    709   CR0064   Owner Operator   Fuel Purchase              Fuel Purchase                         336.42
      8/31/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE            2010 Peterbilt PD                    -156.25
      8/31/2019    709   CR0064   Owner Operator   Truck Payment              CTMS - 231349 Q1247 Sub Lease         263.91
      8/31/2019    709   DL0029   Owner Operator   Communication Charge       PNet Hware 33850                           8
      8/31/2019    709   DL0029   Owner Operator   Fuel Purchase              Fuel Purchase                         252.09
      8/31/2019    709   DL0029   Owner Operator   Fuel Purchase              Fuel Purchase                         320.85
      8/31/2019    709   DL0029   Owner Operator   Fuel Purchase              Fuel Purchase                         280.87
      8/31/2019    709   DL0107   Owner Operator   Communication Charge       PNet Hware Q1245                          13
      8/31/2019    709   DL0107   Owner Operator   Fuel Card Advances         Cash Advance                            300
      8/31/2019    709   DL0107   Owner Operator   Fuel Card Advances         Cash Advance Fee                           3
      8/31/2019    709   DL0107   Owner Operator   Fuel Purchase              Fuel Purchase                         147.22
      8/31/2019    709   DL0107   Owner Operator   Fuel Purchase              Fuel Purchase                         461.66
      8/31/2019    709   DL0107   Owner Operator   Fuel Purchase              Fuel Purchase                         727.82
      8/31/2019    709   DL0107   Owner Operator   Tire Purchase              PO: 709-00409597 - PO System          366.91
      8/31/2019    709   DL0107   Owner Operator   Truck Payment              CTMS - 231345 Sublease                338.99
      8/31/2019    709   DM0257   Owner Operator   ESCROW                     Weekly Escrow                             50
      8/31/2019    709   DS0049   Owner Operator   Communication Charge       PNet Hware 32915                          13
      8/31/2019    709   DS0049   Owner Operator   Fuel Card Advances         Cash Advance                            200
      8/31/2019    709   DS0049   Owner Operator   Fuel Card Advances         Cash Advance                            300
      8/31/2019    709   DS0049   Owner Operator   Fuel Card Advances         Cash Advance Fee                           3
      8/31/2019    709   DS0049   Owner Operator   Fuel Card Advances         Cash Advance Fee                           2
      8/31/2019    709   DS0049   Owner Operator   Fuel Purchase              Fuel Purchase                         203.26
      8/31/2019    709   DS0049   Owner Operator   Fuel Purchase              Fuel Purchase                         520.52
      8/31/2019    709   DS0049   Owner Operator   Fuel Purchase              Fuel Purchase                         328.59
      8/31/2019    709   DS0049   Owner Operator   Fuel Purchase              Fuel Purchase                         463.09
      8/31/2019    709   DS0049   Owner Operator   IRP License Deduction      LCIL:2019 - 32915                      33.17
      8/31/2019    709   DS0049   Owner Operator   Tractor Charge             15738 - 32915                         512.35
      8/31/2019    709   DS0225   Owner Operator   Communication Charge       PNet Hware 33320                           8
      8/31/2019    709   DS0225   Owner Operator   Fuel Purchase              Fuel Purchase                         637.33
      8/31/2019    709   DS0288   Owner Operator   Communication Charge       PNet Hware 34266                          13

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      8/31/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      8/31/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.35
      8/31/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.15
      8/31/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.16
      8/31/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.71
      8/31/2019    709   DS0288   Owner Operator   Loan Repayment                 Rev Conditional Credit / Loan        2622.96
      8/31/2019    709   DS0288   Owner Operator   T Chek Fee                     Tractor Repair 34266                 1570.05
      8/31/2019    709   DS0288   Owner Operator   Tire Fee                       Tire Fee: 2314378                          8
      8/31/2019    709   DS0288   Owner Operator   Tire Purchase                  PO: 709-00412027 - PO System          190.92
      8/31/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      8/31/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/31/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/31/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/31/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/31/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/31/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.49
      8/31/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.17
      8/31/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.07
      8/31/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.92
      8/31/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      8/31/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      8/31/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      8/31/2019    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                          1700
      8/31/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           378
      8/31/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      8/31/2019    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/31/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/31/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/31/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           445
      8/31/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.14
      8/31/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.52
      8/31/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.16
      8/31/2019    709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 231421 HVUT Form 2290              50
      8/31/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      8/31/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/31/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/31/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/31/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/31/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.79
      8/31/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.97
      8/31/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 231433 truck lease 3304        434.29
      8/31/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      8/31/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.49
      8/31/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.28
      8/31/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      8/31/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/31/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.38
      8/31/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.82
      8/31/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      8/31/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      8/31/2019    709   GS0015   Owner Operator   Charge back by affiliate       CTMS - 231300 HVUT Form 2290              50
      8/31/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      8/31/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.74
      8/31/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 231348 Amortized Balloo        200.15
      8/31/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      8/31/2019    709   GW0043   Owner Operator   Charge back by affiliate       CTMS - 231311 HVUT Form 2290              50
      8/31/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      8/31/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      8/31/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/31/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/31/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/31/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                           121.3
      8/31/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/31/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/31/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/31/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/31/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.05
      8/31/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.62
      8/31/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.46
      8/31/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          449.7
      8/31/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/31/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      8/31/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 231177 Q1109 Lease             302.85

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      8/31/2019    709   GW0043   Owner Operator   Truck Payment              CTMS - 231491 Q1109 Lease            302.85
      8/31/2019    709   HC0023   Owner Operator   Advance                    5/27/19 Clm 74267-1 s/u 8 wks          250
      8/31/2019    709   HC0023   Owner Operator   Charge back by affiliate   CTMS - 231314 HVUT Form 2290             50
      8/31/2019    709   HC0023   Owner Operator   Communication Charge       PNet Hware Q13170                         8
      8/31/2019    709   HC0023   Owner Operator   Fuel Purchase              Fuel Purchase                        490.43
      8/31/2019    709   HC0023   Owner Operator   Fuel Purchase              Fuel Purchase                         391.1
      8/31/2019    709   HC0023   Owner Operator   Truck Payment              CTMS - 231353 Q13170                 352.68
      8/31/2019    709   HG0007   Owner Operator   Communication Charge       PNet Hware 34565                          8
      8/31/2019    709   HG0007   Owner Operator   ESCROW                     Weekly Escrow                          100
      8/31/2019    709   HG0007   Owner Operator   Fuel Card Advances         Cash Advance                             50
      8/31/2019    709   HG0007   Owner Operator   Fuel Card Advances         Cash Advance Fee                        0.5
      8/31/2019    709   HG0007   Owner Operator   Fuel Purchase              Fuel Purchase                        813.89
      8/31/2019    709   HG0007   Owner Operator   Fuel Purchase              Fuel Purchase                        480.95
      8/31/2019    709   HG0007   Owner Operator   IRP License Deduction      LCIL:2019 - 34565                      100
      8/31/2019    709   IA0007   Owner Operator   Communication Charge       PNet Hware 34012                          8
      8/31/2019    709   IA0007   Owner Operator   Fuel Purchase              Fuel Purchase                        604.61
      8/31/2019    709   IA0007   Owner Operator   Fuel Purchase              Fuel Purchase                        351.57
      8/31/2019    709   IR0002   Owner Operator   Communication Charge       PNet Hware 32901                          8
      8/31/2019    709   IR0002   Owner Operator   Fuel Purchase              Fuel Purchase                        166.42
      8/31/2019    709   IR0002   Owner Operator   Fuel Purchase              Fuel Purchase                        235.96
      8/31/2019    709   JA0152   Owner Operator   Communication Charge       PNet Hware 34242                          8
      8/31/2019    709   JA0156   Owner Operator   *Arrears Collection W/O    WO:Credit Billing                   -233.63
      8/31/2019    709   JA0156   Owner Operator   *Arrears Collection W/O    WO:Credit Billing                    -20.26
      8/31/2019    709   JA0156   Owner Operator   Arrears                    Credit Billing                       233.63
      8/31/2019    709   JA0156   Owner Operator   Arrears                    Credit Billing                        20.26
      8/31/2019    709   JC0292   Owner Operator   Charge back by affiliate   CTMS - 231446 HVUT Form 2290             50
      8/31/2019    709   JC0292   Owner Operator   Communication Charge       PNet Hware Q13197                        13
      8/31/2019    709   JC0292   Owner Operator   ESCROW                     Weekly Escrow                          400
      8/31/2019    709   JC0292   Owner Operator   Fuel Card Advances         Cash Advance                           200
      8/31/2019    709   JC0292   Owner Operator   Fuel Card Advances         Cash Advance                           200
      8/31/2019    709   JC0292   Owner Operator   Fuel Card Advances         Cash Advance Fee                          2
      8/31/2019    709   JC0292   Owner Operator   Fuel Card Advances         Cash Advance Fee                          2
      8/31/2019    709   JC0292   Owner Operator   Fuel Purchase              Fuel Purchase                        601.81
      8/31/2019    709   JC0292   Owner Operator   Fuel Purchase              Fuel Purchase                         296.1
      8/31/2019    709   JC0292   Owner Operator   Fuel Purchase              Fuel Purchase                        282.56
      8/31/2019    709   JC0292   Owner Operator   Truck Payment              CTMS - 231346 Q13197 Lease           276.63
      8/31/2019    709   JD0211   Owner Operator   Communication Charge       PNet Hware 34325                          8
      8/31/2019    709   JD0211   Owner Operator   ESCROW                     Weekly Escrow                            50
      8/31/2019    709   JG0072   Owner Operator   Fuel Card Advances         Cash Advance                           500
      8/31/2019    709   JG0072   Owner Operator   Fuel Card Advances         Cash Advance Fee                          5
      8/31/2019    709   JG0072   Owner Operator   Fuel Purchase              Fuel Purchase                        213.15
      8/31/2019    709   JG0072   Owner Operator   Fuel Purchase              Fuel Purchase                        442.17
      8/31/2019    709   JG0092   Owner Operator   Communication Charge       PNet Hware 33669                          8
      8/31/2019    709   JG0092   Owner Operator   ESCROW                     Weekly Escrow                          150
      8/31/2019    709   JG0092   Owner Operator   Fuel Purchase              Fuel Purchase                        564.51
      8/31/2019    709   JG0092   Owner Operator   Fuel Purchase              Fuel Purchase                        435.67
      8/31/2019    709   JQ0015   Owner Operator   Communication Charge       PNet Hware 34637                          8
      8/31/2019    709   JQ0015   Owner Operator   Fuel Card Advances         Cash Advance                           100
      8/31/2019    709   JQ0015   Owner Operator   Fuel Card Advances         Cash Advance Fee                          1
      8/31/2019    709   JQ0015   Owner Operator   Fuel Purchase              Fuel Purchase                        150.11
      8/31/2019    709   JQ0015   Owner Operator   Fuel Purchase              Fuel Purchase                        196.33
      8/31/2019    709   JQ0015   Owner Operator   IRP License Deduction      LCIL:2019 - 34637                      100
      8/31/2019    709   JR0099   Owner Operator   Communication Charge       PNet Hware Q1203                         13
      8/31/2019    709   JR0099   Owner Operator   Fuel Purchase              Fuel Purchase                        461.23
      8/31/2019    709   JR0099   Owner Operator   Truck Payment              CTMS - 231247 Truck Lease            278.76
      8/31/2019    709   JS0265   Owner Operator   Charge back by affiliate   CTMS - 231345 HVUT Form 2290             50
      8/31/2019    709   JS0265   Owner Operator   Communication Charge       PNet Hware Q13159                         8
      8/31/2019    709   JS0265   Owner Operator   ESCROW                     Weekly Escrow                          100
      8/31/2019    709   JS0265   Owner Operator   Fuel Card Advances         Cash Advance                           200
      8/31/2019    709   JS0265   Owner Operator   Fuel Card Advances         Cash Advance Fee                          2
      8/31/2019    709   JS0265   Owner Operator   Fuel Purchase              Fuel Purchase                        229.86
      8/31/2019    709   JS0265   Owner Operator   Fuel Purchase              Fuel Purchase                        156.23
      8/31/2019    709   JS0265   Owner Operator   Fuel Purchase              Fuel Purchase                        453.82
      8/31/2019    709   JS0265   Owner Operator   Fuel Purchase              Fuel Purchase                        203.64
      8/31/2019    709   JS0265   Owner Operator   Truck Payment              CTMS - 231347 Q13159 Lease            331.5
      8/31/2019    709   KP0004   Owner Operator   Communication Charge       PNet Hware 32914                         13
      8/31/2019    709   KP0004   Owner Operator   ESCROW                     Escrow Withdrawal                   -556.32
      8/31/2019    709   KP0004   Owner Operator   ESCROW                     Weekly Escrow                          250
      8/31/2019    709   KP0004   Owner Operator   ESCROW                     Weekly Escrow                        194.42
      8/31/2019    709   KP0004   Owner Operator   Fuel Card Advances         Cash Advance                           100
      8/31/2019    709   KP0004   Owner Operator   Fuel Card Advances         Cash Advance Fee                          1
      8/31/2019    709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                        354.84
      8/31/2019    709   KP0004   Owner Operator   Fuel Purchase              Fuel Purchase                        511.13

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      8/31/2019    709   KP0004   Owner Operator   IRP License Deduction      LCIL:2019 - 32914                      33.17
      8/31/2019    709   KP0004   Owner Operator   Loan Repayment             Loan # 00010 - Loan Repayment         254.87
      8/31/2019    709   KP0004   Owner Operator   T Chek Fee                 ExpressCheck Fee                        5.51
      8/31/2019    709   KP0004   Owner Operator   T Chek Fee                 Tractor Repair 32914                  550.81
      8/31/2019    709   KP0004   Owner Operator   Tractor Charge             14457 - 32914                         519.59
      8/31/2019    709   KT0055   Owner Operator   Communication Charge       PNet Hware Q13156                          8
      8/31/2019    709   KT0055   Owner Operator   Fuel Purchase              Fuel Purchase                         474.61
      8/31/2019    709   KT0055   Owner Operator   Loan Repayment             Loan # 00001 - Loan Repayment          298.5
      8/31/2019    709   KT0055   Owner Operator   Truck Payment              CTMS - 231301 Q13156 Lease            388.16
      8/31/2019    709   LL0160   Owner Operator   Communication Charge       PNet Hware Q1111                           8
      8/31/2019    709   LL0160   Owner Operator   Truck Payment              CTMS - 231433 Lease Q1111             252.11
      8/31/2019    709   LS0023   Owner Operator   Communication Charge       PNet Hware 33655                          13
      8/31/2019    709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance                            200
      8/31/2019    709   LS0023   Owner Operator   Fuel Card Advances         Cash Advance Fee                           2
      8/31/2019    709   LS0023   Owner Operator   Fuel Purchase              Fuel Purchase                         496.61
      8/31/2019    709   LS0023   Owner Operator   Fuel Purchase              Fuel Purchase                         521.54
      8/31/2019    709   LS0023   Owner Operator   Fuel Purchase              Fuel Purchase                         363.05
      8/31/2019    709   MA0092   Owner Operator   Communication Charge       PNet Hware 34005                           8
      8/31/2019    709   MA0092   Owner Operator   Fuel Purchase              Fuel Purchase                         454.26
      8/31/2019    709   MA0092   Owner Operator   Fuel Purchase              Fuel Purchase                         397.52
      8/31/2019    709   MA0092   Owner Operator   Fuel Purchase              Fuel Purchase                          265.6
      8/31/2019    709   MD0122   Owner Operator   Communication Charge       PNet Hware 34342                           8
      8/31/2019    709   MD0122   Owner Operator   ESCROW                     Weekly Escrow                           300
      8/31/2019    709   MD0122   Owner Operator   Fuel Purchase              Fuel Purchase                         463.94
      8/31/2019    709   ME0053   Owner Operator   Charge back by affiliate   CTMS - 231518 HVUT Form 2290              50
      8/31/2019    709   ME0053   Owner Operator   Communication Charge       PNet Hware Q1113                           8
      8/31/2019    709   ME0053   Owner Operator   Fuel Purchase              Fuel Purchase                         425.09
      8/31/2019    709   ME0053   Owner Operator   Fuel Purchase              Fuel Purchase                         506.98
      8/31/2019    709   ME0053   Owner Operator   Loan Repayment             Loan # 00001 - Loan Repayment         330.39
      8/31/2019    709   ME0053   Owner Operator   Toll Charges               Q1113/WFG5417 Benicia 4                   26
      8/31/2019    709   ME0053   Owner Operator   Truck Payment              CTMS - 231306 Q1113 Lease             252.11
      8/31/2019    709   MG0067   Owner Operator   Communication Charge       PNet Hware 33435                           8
      8/31/2019    709   MG0067   Owner Operator   Fuel Purchase              Fuel Purchase                         150.04
      8/31/2019    709   MG0067   Owner Operator   Fuel Purchase              Fuel Purchase                          32.32
      8/31/2019    709   MG0067   Owner Operator   Fuel Purchase              Fuel Purchase                          520.5
      8/31/2019    709   MP0035   Owner Operator   Communication Charge       PNet Hware 32904                           8
      8/31/2019    709   MP0035   Owner Operator   ESCROW                     Weekly Escrow                           500
      8/31/2019    709   MP0035   Owner Operator   Fuel Card Advances         Cash Advance                            280
      8/31/2019    709   MP0035   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2.8
      8/31/2019    709   MP0035   Owner Operator   Fuel Purchase              Fuel Purchase                         547.99
      8/31/2019    709   MP0035   Owner Operator   Tire Purchase              PO: 709-00407269 - PO System           207.4
      8/31/2019    709   NB0029   Owner Operator   Fuel Card Advances         Cash Advance                            200
      8/31/2019    709   NB0029   Owner Operator   Fuel Card Advances         Cash Advance Fee                           2
      8/31/2019    709   NB0029   Owner Operator   Fuel Purchase              Fuel Purchase                           68.9
      8/31/2019    709   NG0005   Owner Operator   Communication Charge       PNet Hware 21412B                         13
      8/31/2019    709   NG0005   Owner Operator   Fuel Card Advances         Cash Advance                            350
      8/31/2019    709   NG0005   Owner Operator   Fuel Card Advances         Cash Advance Fee                         3.5
      8/31/2019    709   NG0005   Owner Operator   Fuel Purchase              Fuel Purchase                         391.03
      8/31/2019    709   NG0005   Owner Operator   Fuel Purchase              Fuel Purchase                         381.16
      8/31/2019    709   NT9564   Owner Operator   Charge back by affiliate   CTMS - 231345 HVUT Form 2290              50
      8/31/2019    709   NT9564   Owner Operator   Communication Charge       PNet Hware 73130                          13
      8/31/2019    709   NT9564   Owner Operator   Truck Payment              CTMS - 231498 Truck 73130 Leas        196.65
      8/31/2019    709   OJ0007   Owner Operator   Communication Charge       PNet Hware 34370                           8
      8/31/2019    709   OJ0007   Owner Operator   ESCROW                     Weekly Escrow                             50
      8/31/2019    709   OJ0007   Owner Operator   Fuel Purchase              Fuel Purchase                         253.77
      8/31/2019    709   OJ0007   Owner Operator   Fuel Purchase              Fuel Purchase                         236.82
      8/31/2019    709   OJ0007   Owner Operator   IRP License Deduction      LCIL:2019 - 34370                      33.17
      8/31/2019    709   OJ0007   Owner Operator   Tractor Charge             24925 - 34370                         215.66
      8/31/2019    709   RB0170   Owner Operator   BOBTAIL INS.               Q1241 2012 Peterbilt NTL                8.75
      8/31/2019    709   RB0170   Owner Operator   Communication Charge       PNet Hware Q1241                           8
      8/31/2019    709   RB0170   Owner Operator   Communication Charge       PNet Hware Q1241                           8
      8/31/2019    709   RB0170   Owner Operator   Communication Charge       PNet Hware Q1241                           8
      8/31/2019    709   RB0170   Owner Operator   ESCROW                     Weekly Escrow                             50
      8/31/2019    709   RB0170   Owner Operator   ESCROW                     Weekly Escrow                             50
      8/31/2019    709   RB0170   Owner Operator   ESCROW                     Weekly Escrow                             50
      8/31/2019    709   RB0170   Owner Operator   Fuel Card Advances         Cash Advance                            300
      8/31/2019    709   RB0170   Owner Operator   Fuel Card Advances         Cash Advance                              20
      8/31/2019    709   RB0170   Owner Operator   Fuel Card Advances         Cash Advance Fee                         0.2
      8/31/2019    709   RB0170   Owner Operator   Fuel Card Advances         Cash Advance Fee                           3
      8/31/2019    709   RB0170   Owner Operator   Fuel Purchase              Fuel Purchase                         460.33
      8/31/2019    709   RB0170   Owner Operator   Fuel Purchase              Fuel Purchase                         248.08
      8/31/2019    709   RB0170   Owner Operator   Fuel Purchase              Fuel Purchase                           223
      8/31/2019    709   RB0170   Owner Operator   Fuel Purchase              Fuel Purchase                         459.25

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      8/31/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          214.37
      8/31/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/31/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                 39.04
      8/31/2019    709   RB0170   Owner Operator   Repair Order                   CTMS - 230798 PARTS                    278.07
      8/31/2019    709   RB0170   Owner Operator   Repair Order                   CTMS - 231039 PARTS                    278.07
      8/31/2019    709   RB0170   Owner Operator   Repair Order                   CTMS - 231352 PARTS                    278.07
      8/31/2019    709   RB0170   Owner Operator   Repair Order                   TRACTOR Q1241                        -6528.36
      8/31/2019    709   RB0170   Owner Operator   Repair Order                   TRACTOR Q1241                         2603.27
      8/31/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 230999 Q1241 Truck leas         321.84
      8/31/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 231303 Q1241 Truck leas         321.84
      8/31/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                            8
      8/31/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          477.26
      8/31/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          602.67
      8/31/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          485.23
      8/31/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                           13
      8/31/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            100
      8/31/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          583.69
      8/31/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                       33.17
      8/31/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
      8/31/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/31/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/31/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           47.41
      8/31/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          449.43
      8/31/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          461.48
      8/31/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           13
      8/31/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            100
      8/31/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.15
      8/31/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                       33.17
      8/31/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                          350.65
      8/31/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                           13
      8/31/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          399.72
      8/31/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.25
      8/31/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          420.86
      8/31/2019    709   RM0026   Owner Operator   Tire Fee                       Tire Fee: 2313252                           8
      8/31/2019    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00412028 - PO System           250.78
      8/31/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                           13
      8/31/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          467.87
      8/31/2019    709   RP0082   Owner Operator   Tire Fee                       Tire Fee: 2312640                           8
      8/31/2019    709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00411729 - PO System           211.92
      8/31/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 231247 Q1202 Truck Leas         278.76
      8/31/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                 8.75
      8/31/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          596.67
      8/31/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/31/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                 65.07
      8/31/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror            2.5
      8/31/2019    709   RR0123   Owner Operator   T Chek Fee                     ExpressCheck Fee                           25
      8/31/2019    709   RR0123   Owner Operator   T Chek Fee                     Tractor Repair Q1248                  1079.84
      8/31/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      8/31/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      8/31/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.84
      8/31/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.27
      8/31/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          209.19
      8/31/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          271.97
      8/31/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          256.55
      8/31/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 231243 Sub Lease                388.33
      8/31/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      8/31/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            321
      8/31/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            303
      8/31/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            508
      8/31/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       33.17
      8/31/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
      8/31/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      8/31/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/31/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/31/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.01
      8/31/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          335.23
      8/31/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      8/31/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.01
      8/31/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      8/31/2019    709   WH0087   Owner Operator   Charge back by affiliate       CTMS - 231446 HVUT Form 2290            137.5
      8/31/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      8/31/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/31/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2

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      8/31/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.31
      8/31/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.31
      8/31/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 Carquinez Bridge 8                  26
      8/31/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 231305 Q1238 Lease             311.97
      8/31/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      8/31/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.54
      8/31/2019    742   BS0078   Owner Operator   Charge back by affiliate       CTMS - 231304 HVUT Form 2290              50
      8/31/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      8/31/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.94
      8/31/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.59
      8/31/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.09
      8/31/2019    742   BS0078   Owner Operator   Tire Fee                       Tire Fee: 2313550                          8
      8/31/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00412303 - PO System          198.59
      8/31/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 HCTRA Hardy North - Ran             4
      8/31/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 HCTRA Sam Houston - Nor             7
      8/31/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Spencer Ma          8.48
      8/31/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 231301 Lease of Q13151         388.16
      8/31/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      8/31/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         580.37
      8/31/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.28
      8/31/2019    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
      8/31/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      8/31/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      8/31/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           306
      8/31/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           120
      8/31/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.01
      8/31/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.02
      8/31/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           220
      8/31/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    21.5
      8/31/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/31/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Antioch Bridge 2                    26
      8/31/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Antioch Bridge 2                    26
      8/31/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      8/31/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  26
      8/31/2019    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 231497 HVUT Form 2290              50
      8/31/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      8/31/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.12
      8/31/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 2                    26
      8/31/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 3                    16
      8/31/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 231346 Trk 33487 Lease          434.2
      8/31/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      8/31/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.39
      8/31/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.49
      8/31/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.61
      8/31/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.14
      8/31/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      8/31/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      8/31/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/31/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           835
      8/31/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/31/2019    742   JS0390   Owner Operator   Broker Pre Pass                34327 PrePass Device                    12.5
      8/31/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      8/31/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      8/31/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/31/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/31/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.75
      8/31/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.76
      8/31/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.02
      8/31/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.74
      8/31/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                             75
      8/31/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/31/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.18
      8/31/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Hardy North - Rank             4
      8/31/2019    742   JS0390   Owner Operator   Toll Charges                   34327 HCTRA Sam Houston - Nort             7
      8/31/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/31/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      8/31/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      8/31/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/31/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/31/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/31/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      8/31/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      8/31/2019    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 10                 16

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      8/31/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL Route 80 (East)               5
      8/31/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ITRCC Eastpoint                  55.44
      8/31/2019    742   MH0117   Owner Operator   Toll Charges                   33296 NYSTA Albany (I-787)              1.11
      8/31/2019    742   MH0117   Owner Operator   Toll Charges                   33296 NYSTA Fultonville                44.47
      8/31/2019    742   MH0117   Owner Operator   Toll Charges                   33296 NYSTA Lackawanna Toll            12.42
      8/31/2019    742   MH0117   Owner Operator   Toll Charges                   33296 OTC Lorain County West           24.25
      8/31/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      8/31/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.84
      8/31/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.14
      8/31/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                           102
      8/31/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      8/31/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      8/31/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      8/31/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.41
      8/31/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.62
      8/31/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.89
      8/31/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 231387 repair                    250
      8/31/2019    742   NG0024   Owner Operator   Tire Purchase                  PO: 742-00406063 - PO System           222.2
      8/31/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      8/31/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      8/31/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/31/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/31/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/31/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/31/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.04
      8/31/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.02
      8/31/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.29
      8/31/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.81
      8/31/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.98
      8/31/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.68
      8/31/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.04
      8/31/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.16
      8/31/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.04
      8/31/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.04
      8/31/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           6.65
      8/31/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      8/31/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Benicia 1                           26
      8/31/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 10                 26
      8/31/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.95
      8/31/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.59
      8/31/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.47
      8/31/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      8/31/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       -35
      8/31/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.37
      8/31/2019    742   RS0342   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            238.98
      8/31/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/31/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.21
      8/31/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                    -572.81
      8/31/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              -10
      8/31/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      8/31/2019    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Sam Houston - Sout             7
      8/31/2019    742   RS0342   Owner Operator   Toll Charges                   33738 HCTRA Ship Channel Bridg           3.5
      8/31/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      8/31/2019    742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 231304 HVUT Form 2290              50
      8/31/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      8/31/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/31/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.73
      8/31/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.24
      8/31/2019    742   TC0098   Owner Operator   Toll Charges                   33489 Carquinez Bridge 8                  26
      8/31/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 231426 33489 Lease Paym        412.16
      8/31/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      8/31/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.26
      8/31/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       9/7/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       9/7/2019    709   AC0061   Owner Operator   Charge back by affiliate       CTMS - 231643 HVUT Form 2290              50
       9/7/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
       9/7/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/7/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.95
       9/7/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.13
       9/7/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.87
       9/7/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
       9/7/2019    709   AC0061   Owner Operator   Tire Purchase                  PO: 709-00410120 - PO System           54.28

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       9/7/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 231722 Q13148 Trac Leas        296.09
       9/7/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       9/7/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       9/7/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       9/7/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       9/7/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       9/7/2019    709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 231643 HVUT Form 2290              50
       9/7/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       9/7/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.88
       9/7/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.98
       9/7/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.63
       9/7/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       9/7/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 231667 Q13147 Lease            440.14
       9/7/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       9/7/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       9/7/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       9/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.8
       9/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          44.31
       9/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.06
       9/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.33
       9/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.59
       9/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.84
       9/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.18
       9/7/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  76.02
       9/7/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       9/7/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 231666 Q13169 Sublease         352.68
       9/7/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       9/7/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       9/7/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       9/7/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       9/7/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       9/7/2019    709   CC0134   Owner Operator   Charge back by affiliate       CTMS - 231653 HVUT Form 2290              50
       9/7/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       9/7/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
       9/7/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/7/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.49
       9/7/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.92
       9/7/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
       9/7/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       9/7/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 231557 Q13168 sub lease        352.68
       9/7/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/7/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       9/7/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/7/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         577.84
       9/7/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
       9/7/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
       9/7/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/7/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
       9/7/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       9/7/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       9/7/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/7/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.29
       9/7/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.72
       9/7/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.35
       9/7/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
       9/7/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 231607 Q1247 Sub Lease         263.91
       9/7/2019    709   DL0107   Owner Operator   Advance                        SL 402-114249 s/u 3 wks              -1009.6
       9/7/2019    709   DL0107   Owner Operator   Advance                        SL 402-114249 s/u 3 wks               336.54
       9/7/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       9/7/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       9/7/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/7/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/7/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           531
       9/7/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.41

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       9/7/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/7/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 65.71
       9/7/2019    709   DL0107   Owner Operator   Repair Order                   TRACTOR Q1245                          1009.6
       9/7/2019    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00409597 - PO System           366.91
       9/7/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 231604 Sublease                 338.99
       9/7/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
       9/7/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                              50
       9/7/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.02
       9/7/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.86
       9/7/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/7/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    18.75
       9/7/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
       9/7/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       9/7/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
       9/7/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/7/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/7/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             100
       9/7/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       9/7/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       9/7/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       9/7/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          358.22
       9/7/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          477.07
       9/7/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.39
       9/7/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                       33.17
       9/7/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/7/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    92.35
       9/7/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                          512.35
       9/7/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
       9/7/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
       9/7/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          620.95
       9/7/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/7/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.07
       9/7/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
       9/7/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                           13
       9/7/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.78
       9/7/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.08
       9/7/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.12
       9/7/2019    709   DS0288   Owner Operator   Loan Repayment                 Conditional Credit / Loan            -2622.96
       9/7/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/7/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    42.19
       9/7/2019    709   DS0288   Owner Operator   Tire Purchase                  PO: 709-00412027 - PO System           190.92
       9/7/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       9/7/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
       9/7/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
       9/7/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/7/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/7/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       9/7/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       9/7/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.67
       9/7/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          528.53
       9/7/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                       33.17
       9/7/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/7/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   105.47
       9/7/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                          555.56
       9/7/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
       9/7/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
       9/7/2019    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           1700
       9/7/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.67
       9/7/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/7/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    42.19
       9/7/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
       9/7/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
       9/7/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13
       9/7/2019    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            100
       9/7/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/7/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       9/7/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          341.62
       9/7/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          212.97
       9/7/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.44
       9/7/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       9/7/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 78.13
       9/7/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
       9/7/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75

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       9/7/2019    709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 231665 HVUT Form 2290              50
       9/7/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       9/7/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                            283
       9/7/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                            203
       9/7/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.6
       9/7/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       9/7/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 231666 truck lease 3304        434.29
       9/7/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/7/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       9/7/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
       9/7/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       9/7/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
       9/7/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/7/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                             500
       9/7/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/7/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.89
       9/7/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.89
       9/7/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.04
       9/7/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.66
       9/7/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
       9/7/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
       9/7/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
       9/7/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
       9/7/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       9/7/2019    709   GS0015   Owner Operator   Charge back by affiliate       CTMS - 231555 HVUT Form 2290              50
       9/7/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       9/7/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          423.5
       9/7/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       9/7/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 231607 Amortized Balloo        200.15
       9/7/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       9/7/2019    709   GW0043   Owner Operator   Charge back by affiliate       CTMS - 231551 HVUT Form 2290              50
       9/7/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       9/7/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             100
       9/7/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/7/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/7/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/7/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.44
       9/7/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.75
       9/7/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.66
       9/7/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       9/7/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks            250
       9/7/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       9/7/2019    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 231551 HVUT Form 2290              50
       9/7/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       9/7/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.81
       9/7/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       9/7/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 231612 Q13170                  352.68
       9/7/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       9/7/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
       9/7/2019    709   HG0007   Owner Operator   ESCROW                         Escrow Withdrawal                      -1900
       9/7/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                            300
       9/7/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             100
       9/7/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             100
       9/7/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/7/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/7/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         705.76
       9/7/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.19
       9/7/2019    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34565                         24
       9/7/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   HG0007   Owner Operator   Permits                        ID06:2019 - 34565                         10
       9/7/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
       9/7/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       9/7/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
       9/7/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.75
       9/7/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.02

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       9/7/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
       9/7/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       9/7/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/7/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       9/7/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.51
       9/7/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.08
       9/7/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       9/7/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/7/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       9/7/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       9/7/2019    709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 231653 HVUT Form 2290              50
       9/7/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       9/7/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       9/7/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/7/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/7/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.34
       9/7/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.42
       9/7/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                           452
       9/7/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
       9/7/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 231604 Q13197 Lease            276.63
       9/7/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       9/7/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
       9/7/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/7/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
       9/7/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       9/7/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/7/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       9/7/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/7/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/7/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/7/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/7/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/7/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/7/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.02
       9/7/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.86
       9/7/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.34
       9/7/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.54
       9/7/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
       9/7/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
       9/7/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
       9/7/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
       9/7/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
       9/7/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       26
       9/7/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          504.6
       9/7/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/7/2019    709   JG0072   Owner Operator   Broker Pay Void/Reissue        Ld pay held for rate - arrears       1938.45
       9/7/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       9/7/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       9/7/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       9/7/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/7/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          120.8
       9/7/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         577.25
       9/7/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         574.08
       9/7/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          642.8
       9/7/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
       9/7/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
       9/7/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       9/7/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         513.26
       9/7/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/7/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
       9/7/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           150
       9/7/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.44
       9/7/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.61

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       9/7/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
       9/7/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       9/7/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       9/7/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
       9/7/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.16
       9/7/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 34637                       100
       9/7/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   JQ0015   Owner Operator   Permits                        ID06:2019 - 34637                         10
       9/7/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
       9/7/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
       9/7/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       9/7/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       9/7/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          435.4
       9/7/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       9/7/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 231544 Truck Lease             278.76
       9/7/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       9/7/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       9/7/2019    709   JS0265   Owner Operator   Charge back by affiliate       CTMS - 231610 HVUT Form 2290              50
       9/7/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
       9/7/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/7/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/7/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.84
       9/7/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.86
       9/7/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
       9/7/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       9/7/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
       9/7/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 231606 Q13159 Lease             331.5
       9/7/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/7/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       9/7/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       9/7/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/7/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/7/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/7/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/7/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.01
       9/7/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.01
       9/7/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           307
       9/7/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           236
       9/7/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
       9/7/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
       9/7/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       9/7/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/7/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
       9/7/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
       9/7/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       9/7/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.49
       9/7/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.85
       9/7/2019    709   KT0055   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          298.5
       9/7/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
       9/7/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 231552 Q13156 Lease            388.16
       9/7/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       9/7/2019    709   LL0160   Owner Operator   Charge back by affiliate       CTMS - 231591 HVUT Form 2290              50
       9/7/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       9/7/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       9/7/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 231666 Lease Q1111             252.11
       9/7/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       9/7/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       9/7/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/7/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.28
       9/7/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.65
       9/7/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
       9/7/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/7/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       9/7/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.66
       9/7/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.31

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       9/7/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
       9/7/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       9/7/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       9/7/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
       9/7/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.46
       9/7/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.06
       9/7/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
       9/7/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
       9/7/2019    709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 231718 HVUT Form 2290              50
       9/7/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
       9/7/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.22
       9/7/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.16
       9/7/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.94
       9/7/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
       9/7/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
       9/7/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 231557 Q1113 Lease             252.11
       9/7/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       9/7/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       9/7/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.06
       9/7/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       9/7/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       9/7/2019    709   MM0054   Owner Operator   Broker Pay Void/Reissue        Unclaimed Property                     12.11
       9/7/2019    709   MM0054   Owner Operator   Broker Pay Void/Reissue        Void Statement Only                   -12.11
       9/7/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/7/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
       9/7/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
       9/7/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
       9/7/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
       9/7/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.24
       9/7/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
       9/7/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       9/7/2019    709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00407269 - PO System           207.4
       9/7/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       9/7/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       9/7/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
       9/7/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
       9/7/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
       9/7/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
       9/7/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/7/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/7/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          423.8
       9/7/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.6
       9/7/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.86
       9/7/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.22
       9/7/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.7
       9/7/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.37
       9/7/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          271.9
       9/7/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.98
       9/7/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       9/7/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       9/7/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
       9/7/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       9/7/2019    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00409175 - PO System          572.04
       9/7/2019    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00409175 - PO System          572.04
       9/7/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 231347 32986 Lease             314.03
       9/7/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 231605 32986 Lease             314.03
       9/7/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       9/7/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       9/7/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            340
       9/7/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3.4
       9/7/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.64
       9/7/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       9/7/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       9/7/2019    709   NT9564   Owner Operator   Charge back by affiliate       CTMS - 231610 HVUT Form 2290              50

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       9/7/2019    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                          13
       9/7/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       9/7/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 231727 Truck 73130 Leas        196.65
       9/7/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       9/7/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       9/7/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/7/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.36
       9/7/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
       9/7/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
       9/7/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
       9/7/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       9/7/2019    709   RB0170   Owner Operator   Charge back by affiliate       CTMS - 231627 HVUT Form 2290              50
       9/7/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
       9/7/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/7/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          438.5
       9/7/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.63
       9/7/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.45
       9/7/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   RB0170   Owner Operator   Permits                        ID06:2019 - Q1241                         10
       9/7/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
       9/7/2019    709   RB0170   Owner Operator   Repair Order                   CTMS - 231610 PARTS                   278.07
       9/7/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 231555 Q1241 Truck leas        321.84
       9/7/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       9/7/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       9/7/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         660.21
       9/7/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.52
       9/7/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       9/7/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       9/7/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/7/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       9/7/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/7/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          549.7
       9/7/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
       9/7/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       9/7/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/7/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       9/7/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/7/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       9/7/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       9/7/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/7/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.87
       9/7/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.52
       9/7/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.27
       9/7/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.25
       9/7/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
       9/7/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
       9/7/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       9/7/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          50.68
       9/7/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       9/7/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       9/7/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/7/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.89
       9/7/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
       9/7/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
       9/7/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       9/7/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       9/7/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       9/7/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       9/7/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       9/7/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.25
       9/7/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       9/7/2019    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00412028 - PO System          250.78
       9/7/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       9/7/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       9/7/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.71

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       9/7/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.32
       9/7/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       9/7/2019    709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00411729 - PO System          211.92
       9/7/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 231544 Q1202 Truck Leas        278.76
       9/7/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
       9/7/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.74
       9/7/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
       9/7/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
       9/7/2019    709   RR0123   Owner Operator   T Chek Fee                     Tractor Repair Q1248                  1243.5
       9/7/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       9/7/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       9/7/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
       9/7/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.78
       9/7/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.22
       9/7/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.75
       9/7/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.6
       9/7/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.85
       9/7/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.39
       9/7/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
       9/7/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       9/7/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       9/7/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 231539 Sub Lease               388.33
       9/7/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       9/7/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
       9/7/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            220
       9/7/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.01
       9/7/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            489
       9/7/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
       9/7/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
       9/7/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       9/7/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       9/7/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       9/7/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/7/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.73
       9/7/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          348.8
       9/7/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.85
       9/7/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.67
       9/7/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       9/7/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       9/7/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       9/7/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.31
       9/7/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.89
       9/7/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       9/7/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       9/7/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/7/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       9/7/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       9/7/2019    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                      -1800
       9/7/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
       9/7/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
       9/7/2019    709   VJ0006   Owner Operator   Express Check                  T-Check Payment                         1800
       9/7/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/7/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
       9/7/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
       9/7/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/7/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.8
       9/7/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.59
       9/7/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.01
       9/7/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.68
       9/7/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.09
       9/7/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.33
       9/7/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       9/7/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 HCTRA Ship Channel Bridg           3.5

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       9/7/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       9/7/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       9/7/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       9/7/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       9/7/2019    709   WH0073   Owner Operator   Broker Pay Void/Reissue        Unclaimed Property                     25.26
       9/7/2019    709   WH0073   Owner Operator   Broker Pay Void/Reissue        Void Statement Only                   -25.26
       9/7/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       9/7/2019    709   WH0087   Owner Operator   Charge back by affiliate       CTMS - 231653 HVUT Form 2290           137.5
       9/7/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       9/7/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/7/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/7/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.13
       9/7/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.86
       9/7/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.52
       9/7/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.01
       9/7/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       9/7/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 231556 Q1238 Lease             311.97
       9/7/2019    742   AB0075   Owner Operator   Broker Pay Void/Reissue        Unclaimed Property                     12.11
       9/7/2019    742   AB0075   Owner Operator   Broker Pay Void/Reissue        Void Statement Only                   -12.11
       9/7/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       9/7/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       9/7/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/7/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/7/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/7/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/7/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/7/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/7/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           248
       9/7/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.53
       9/7/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          292.9
       9/7/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.93
       9/7/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       9/7/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       9/7/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       9/7/2019    742   BS0078   Owner Operator   Charge back by affiliate       CTMS - 231555 HVUT Form 2290              50
       9/7/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
       9/7/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.88
       9/7/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.73
       9/7/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.88
       9/7/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.03
       9/7/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.03
       9/7/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.11
       9/7/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    742   BS0078   Owner Operator   Permits                        ID06:2019 - Q13151                        10
       9/7/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
       9/7/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       9/7/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00412303 - PO System          198.59
       9/7/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Spencer Ma          8.48
       9/7/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 231553 Lease of Q13151         388.16
       9/7/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       9/7/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       9/7/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         641.95
       9/7/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       9/7/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       9/7/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       9/7/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.71
       9/7/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.28
       9/7/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.23
       9/7/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.84
       9/7/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.82
       9/7/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       9/7/2019    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 231725 HVUT Form 2290              50
       9/7/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       9/7/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/7/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/7/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.9
       9/7/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.36
       9/7/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.81
       9/7/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.93

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       9/7/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.19
       9/7/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       9/7/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       9/7/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 231604 Trk 33487 Lease          434.2
       9/7/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/7/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       9/7/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.13
       9/7/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.47
       9/7/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       9/7/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       9/7/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       9/7/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          63.44
       9/7/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          14.61
       9/7/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       9/7/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       9/7/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/7/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         738.22
       9/7/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       9/7/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/7/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
       9/7/2019    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/7/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.23
       9/7/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.95
       9/7/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
       9/7/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
       9/7/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
       9/7/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.47
       9/7/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.82
       9/7/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
       9/7/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
       9/7/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
       9/7/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       9/7/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       9/7/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/7/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/7/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.57
       9/7/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.17
       9/7/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
       9/7/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       9/7/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 231693 repair                    250
       9/7/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       9/7/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/7/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       9/7/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       9/7/2019    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/7/2019    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/7/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/7/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/7/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/7/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/7/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.86
       9/7/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.18
       9/7/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.69
       9/7/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.82
       9/7/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.58
       9/7/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.22
       9/7/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.98
       9/7/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.62
       9/7/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
       9/7/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
       9/7/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       9/7/2019    742   PC0012   Owner Operator   Toll Charges                   32969 Antioch Bridge 3                    26
       9/7/2019    742   PC0012   Owner Operator   Toll Charges                   32969 Antioch Bridge 3                    26
       9/7/2019    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 8                  26
       9/7/2019    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 8                  26
       9/7/2019    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 9                  26
       9/7/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18

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       9/7/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       9/7/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       9/7/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       9/7/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/7/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/7/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.03
       9/7/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.91
       9/7/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.49
       9/7/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.28
       9/7/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.32
       9/7/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.52
       9/7/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.25
       9/7/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       9/7/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       9/7/2019    742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 231304 HVUT Form 2290              50
       9/7/2019    742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 231555 HVUT Form 2290              50
       9/7/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       9/7/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       9/7/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.82
       9/7/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           9.63
       9/7/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       9/7/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       9/7/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 231352 Tractor Lease           353.28
       9/7/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 231611 Tractor Lease           353.28
       9/7/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       9/7/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       9/7/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       9/7/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       9/7/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       9/7/2019    742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 231555 HVUT Form 2290            15.1
       9/7/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       9/7/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/7/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
       9/7/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       9/7/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/7/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       9/7/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.33
       9/7/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       9/7/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       9/7/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
       9/7/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       9/7/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       9/7/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/7/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       9/7/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      9/14/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      9/14/2019    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      9/14/2019    709   AC0061   Owner Operator   Charge back by affiliate       CTMS - 231911 HVUT Form 2290              50
      9/14/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      9/14/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/14/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.88
      9/14/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.38
      9/14/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.59
      9/14/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.73
      9/14/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.88
      9/14/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      9/14/2019    709   AC0061   Owner Operator   Tire Fee                       Tire Fee: 2319260                         16
      9/14/2019    709   AC0061   Owner Operator   Tire Purchase                  PO: 709-00410120 - PO System           54.28
      9/14/2019    709   AC0061   Owner Operator   Tire Purchase                  PO: 709-00413488 - PO System          367.46
      9/14/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 232028 Q13148 Trac Leas        296.09
      9/14/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      9/14/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      9/14/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.55
      9/14/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      9/14/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      9/14/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75

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      9/14/2019    709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 231911 HVUT Form 2290              50
      9/14/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      9/14/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.03
      9/14/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.08
      9/14/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          262.9
      9/14/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.37
      9/14/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      9/14/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 231984 Q13147 Lease            440.14
      9/14/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      9/14/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      9/14/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      9/14/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.03
      9/14/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      9/14/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           125
      9/14/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           225
      9/14/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.92
      9/14/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.99
      9/14/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.84
      9/14/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.75
      9/14/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 661.12
      9/14/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      9/14/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 231983 Q13169 Sublease         352.68
      9/14/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      9/14/2019    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      9/14/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      9/14/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      9/14/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      9/14/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      9/14/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/14/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/14/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.38
      9/14/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          230.9
      9/14/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.28
      9/14/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.55
      9/14/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         281.91
      9/14/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      9/14/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/14/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      9/14/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/14/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/14/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         698.76
      9/14/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         647.35
      9/14/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      9/14/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      9/14/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/14/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      9/14/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      9/14/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      9/14/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.04
      9/14/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.29
      9/14/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.45
      9/14/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.59
      9/14/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.39
      9/14/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      9/14/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 231915 Q1247 Sub Lease         263.91
      9/14/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/14/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/14/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      9/14/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      9/14/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.91
      9/14/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          292.2
      9/14/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.05
      9/14/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.35

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      9/14/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          162.75
      9/14/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          456.68
      9/14/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/14/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/14/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     34.2
      9/14/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     34.2
      9/14/2019    709   DL0107   Owner Operator   Advance                        SL 402-114249 s/u 3 wks                336.54
      9/14/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      9/14/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      9/14/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      9/14/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      9/14/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          609.25
      9/14/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          669.53
      9/14/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/14/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 65.71
      9/14/2019    709   DL0107   Owner Operator   Tire Purchase                  PO: 709-00409597 - PO System           366.84
      9/14/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 231911 Sublease                 338.99
      9/14/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      9/14/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/14/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/14/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    18.75
      9/14/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      9/14/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      9/14/2019    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                     12.5
      9/14/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
      9/14/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/14/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             300
      9/14/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      9/14/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/14/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          360.97
      9/14/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          455.98
      9/14/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          190.21
      9/14/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          312.08
      9/14/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                       33.17
      9/14/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/14/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    92.35
      9/14/2019    709   DS0049   Owner Operator   Tractor Charge                 15738 - 32915                          512.35
      9/14/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      9/14/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
      9/14/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          616.84
      9/14/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          496.84
      9/14/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          336.97
      9/14/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/14/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.07
      9/14/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      9/14/2019    709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                     12.5
      9/14/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                           13
      9/14/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      9/14/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      9/14/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.84
      9/14/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          211.79
      9/14/2019    709   DS0288   Owner Operator   Loan Repayment                 EFS 226692                           -2622.96
      9/14/2019    709   DS0288   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          294.81
      9/14/2019    709   DS0288   Owner Operator   Loan Repayment                 Rev Conditional Credit / Loan         2622.96
      9/14/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/14/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    42.19
      9/14/2019    709   DS0288   Owner Operator   Tire Purchase                  PO: 709-00412027 - PO System           190.92
      9/14/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      9/14/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
      9/14/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      9/14/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/14/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/14/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/14/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/14/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          421.82
      9/14/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          512.99
      9/14/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          302.91
      9/14/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.17
      9/14/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                       33.17
      9/14/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/14/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   105.47
      9/14/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                          555.56
      9/14/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75

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      9/14/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      9/14/2019    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                          1700
      9/14/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.84
      9/14/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.01
      9/14/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      9/14/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      9/14/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      9/14/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      9/14/2019    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/14/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           287
      9/14/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      9/14/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.41
      9/14/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.07
      9/14/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      9/14/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      9/14/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      9/14/2019    709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 231981 HVUT Form 2290              50
      9/14/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      9/14/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/14/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/14/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.06
      9/14/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.52
      9/14/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      9/14/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 231983 truck lease 3304        434.29
      9/14/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/14/2019    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      9/14/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      9/14/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/14/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/14/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         571.59
      9/14/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          61.21
      9/14/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.52
      9/14/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      9/14/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/14/2019    709   GA0051   Owner Operator   Broker Pre Pass                DRWZ charges 12/18 to 6/19            -78.72
      9/14/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      9/14/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/14/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/14/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/14/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.02
      9/14/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.33
      9/14/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      9/14/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      9/14/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      9/14/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      9/14/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      9/14/2019    709   GS0015   Owner Operator   Charge back by affiliate       CTMS - 231868 HVUT Form 2290              50
      9/14/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      9/14/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      9/14/2019    709   GS0015   Owner Operator   Tire Fee                       Tire Fee: 2318823                          8
      9/14/2019    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00413109 - PO System            40.9
      9/14/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 231914 Amortized Balloo        200.15
      9/14/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      9/14/2019    709   GW0043   Owner Operator   Charge back by affiliate       CTMS - 231868 HVUT Form 2290              50
      9/14/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      9/14/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.11
      9/14/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.01
      9/14/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.01
      9/14/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.66
      9/14/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11

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      9/14/2019    709   GW0043   Owner Operator   Tire Fee                       Tire 905-03351697 9/7/19: Q11              4
      9/14/2019    709   GW0043   Owner Operator   Tire Purchase                  Tire 905-03351697 9/7/19              198.58
      9/14/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 231719 Q1109 Lease             302.85
      9/14/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      9/14/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      9/14/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           300
      9/14/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                              50
      9/14/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      9/14/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.22
      9/14/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.07
      9/14/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      9/14/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      9/14/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      9/14/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      9/14/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      9/14/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      9/14/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.03
      9/14/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.74
      9/14/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.48
      9/14/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.4
      9/14/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      9/14/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      9/14/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/14/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      9/14/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      9/14/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.45
      9/14/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.85
      9/14/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      9/14/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      9/14/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/14/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      9/14/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.89
      9/14/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.43
      9/14/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      9/14/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/14/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      9/14/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      9/14/2019    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      9/14/2019    709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 231981 HVUT Form 2290              50
      9/14/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      9/14/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      9/14/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/14/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/14/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.55
      9/14/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.89
      9/14/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.12
      9/14/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.33
      9/14/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      9/14/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 231912 Q13197 Lease            276.63
      9/14/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      9/14/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      9/14/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/14/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      9/14/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      9/14/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/14/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      9/14/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/14/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5

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      9/14/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          540
      9/14/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.55
      9/14/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
      9/14/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment        414.93
      9/14/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/14/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  27.35
      9/14/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/14/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      9/14/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      9/14/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      9/14/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        618.48
      9/14/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        581.49
      9/14/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
      9/14/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/14/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      9/14/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      9/14/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      9/14/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                          150
      9/14/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        322.52
      9/14/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        511.69
      9/14/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/14/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
      9/14/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      9/14/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      9/14/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                          8
      9/14/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        125.92
      9/14/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.59
      9/14/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 34637                      100
      9/14/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/14/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      9/14/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  15.63
      9/14/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      9/14/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      9/14/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.3
      9/14/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/14/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      9/14/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 231810 Truck Lease            278.76
      9/14/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      9/14/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75
      9/14/2019    709   JS0265   Owner Operator   Charge back by affiliate       CTMS - 231918 HVUT Form 2290             50
      9/14/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                         8
      9/14/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      9/14/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/14/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/14/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        386.77
      9/14/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        111.33
      9/14/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.4
      9/14/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        255.89
      9/14/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          2.51
      9/14/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/14/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      9/14/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD           40.24
      9/14/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 231913 Q13159 Lease            331.5
      9/14/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/14/2019    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
      9/14/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      9/14/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      9/14/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/14/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/14/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/14/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/14/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/14/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/14/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            70
      9/14/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        322.53
      9/14/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          288
      9/14/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        217.01
      9/14/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          350
      9/14/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         61.49
      9/14/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                     33.17
      9/14/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment        254.87
      9/14/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/14/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  93.32

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      9/14/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/14/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         519.59
      9/14/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      9/14/2019    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      9/14/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      9/14/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.87
      9/14/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.13
      9/14/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.84
      9/14/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.86
      9/14/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.32
      9/14/2019    709   KT0055   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         296.93
      9/14/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      9/14/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 231865 Q13156 Lease            388.16
      9/14/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      9/14/2019    709   LL0160   Owner Operator   Charge back by affiliate       CTMS - 231864 HVUT Form 2290              50
      9/14/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      9/14/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      9/14/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 231983 Lease Q1111             252.11
      9/14/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      9/14/2019    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      9/14/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      9/14/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.99
      9/14/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      9/14/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/14/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      9/14/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.46
      9/14/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      9/14/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      9/14/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      9/14/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      9/14/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.36
      9/14/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.26
      9/14/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      9/14/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      9/14/2019    709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 232033 HVUT Form 2290              50
      9/14/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      9/14/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.3
      9/14/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.26
      9/14/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      9/14/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      9/14/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 231870 Q1113 Lease             252.11
      9/14/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/14/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      9/14/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.52
      9/14/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      9/14/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/14/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/14/2019    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
      9/14/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      9/14/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      9/14/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      9/14/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      9/14/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.23
      9/14/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      9/14/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      9/14/2019    709   MP0035   Owner Operator   Tire Purchase                  PO: 709-00407269 - PO System          207.35
      9/14/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      9/14/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      9/14/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      9/14/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/14/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      9/14/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.65
      9/14/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          523.7
      9/14/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.38
      9/14/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          561.8
      9/14/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.61
      9/14/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      9/14/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      9/14/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      9/14/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      9/14/2019    709   NB0029   Owner Operator   Tire Purchase                  PO: 709-00409175 - PO System          571.97
      9/14/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 231913 32986 Lease             314.03
      9/14/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      9/14/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      9/14/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            360
      9/14/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3.6
      9/14/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.61
      9/14/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.03
      9/14/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.47
      9/14/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      9/14/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      9/14/2019    709   NT9564   Owner Operator   Charge back by affiliate       CTMS - 231918 HVUT Form 2290              50
      9/14/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      9/14/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 232034 Truck 73130 Leas        196.65
      9/14/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/14/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      9/14/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/14/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          144.1
      9/14/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      9/14/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      9/14/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      9/14/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      9/14/2019    709   RB0170   Owner Operator   Charge back by affiliate       CTMS - 231911 HVUT Form 2290              50
      9/14/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      9/14/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/14/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      9/14/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      9/14/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.34
      9/14/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.87
      9/14/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      9/14/2019    709   RB0170   Owner Operator   Repair Order                   CTMS - 231918 PARTS                   278.07
      9/14/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 231868 Q1241 Truck leas        321.84
      9/14/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      9/14/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      9/14/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          667.8
      9/14/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      9/14/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      9/14/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/14/2019    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      9/14/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      9/14/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           150
      9/14/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          640.3
      9/14/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      9/14/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      9/14/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/14/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      9/14/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/14/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      9/14/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.14
      9/14/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.61
      9/14/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          464.4
      9/14/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      9/14/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      9/14/2019    709   RL0062   Owner Operator   Tire Fee                       Tire Fee: 2319399                         16

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      9/14/2019    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00413364 - PO System          375.72
      9/14/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      9/14/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      9/14/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      9/14/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         312.96
      9/14/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      9/14/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      9/14/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      9/14/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.71
      9/14/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.62
      9/14/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      9/14/2019    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00412028 - PO System          250.78
      9/14/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      9/14/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      9/14/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.65
      9/14/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      9/14/2019    709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00411729 - PO System          211.92
      9/14/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 231810 Q1202 Truck Leas        278.76
      9/14/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      9/14/2019    709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 231405 HVUT Form 2290              50
      9/14/2019    709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 231603 HVUT Form 2290              50
      9/14/2019    709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 231920 HVUT Form 2290              50
      9/14/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      9/14/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      9/14/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      9/14/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      9/14/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/14/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/14/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.63
      9/14/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.22
      9/14/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.82
      9/14/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.54
      9/14/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      9/14/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      9/14/2019    709   RR0123   Owner Operator   T Chek Fee                     Tractor Repair Q1248                  176.66
      9/14/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 231001 Q1248                   311.97
      9/14/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 231305 Q1248                   311.97
      9/14/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 231556 Q1248                   311.97
      9/14/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 231869 Q1248                   311.97
      9/14/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      9/14/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                          127.57
      9/14/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.43
      9/14/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.98
      9/14/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      9/14/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      9/14/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      9/14/2019    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Indian Nation Turnpi           6.2
      9/14/2019    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Indian Nation Turnpi           6.7
      9/14/2019    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Will Rogers Turnpike           9.2
      9/14/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      9/14/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      9/14/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      9/14/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      9/14/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/14/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.18
      9/14/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.94
      9/14/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.81
      9/14/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.27
      9/14/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      9/14/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      9/14/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      9/14/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 231805 Sub Lease               388.33
      9/14/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      9/14/2019    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      9/14/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13

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      9/14/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           451
      9/14/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           255
      9/14/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           505
      9/14/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           240
      9/14/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.68
      9/14/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      9/14/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      9/14/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      9/14/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      9/14/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      9/14/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/14/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/14/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.68
      9/14/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.06
      9/14/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.51
      9/14/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.89
      9/14/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      9/14/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      9/14/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      9/14/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           420
      9/14/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      9/14/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      9/14/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/14/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      9/14/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/14/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      9/14/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      9/14/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.54
      9/14/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.72
      9/14/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      9/14/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      9/14/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      9/14/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      9/14/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      9/14/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      9/14/2019    709   WH0087   Owner Operator   Charge back by affiliate       CTMS - 231982 HVUT Form 2290           137.5
      9/14/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      9/14/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.23
      9/14/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.72
      9/14/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.95
      9/14/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      9/14/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 231870 Q1238 Lease             311.97
      9/14/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      9/14/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      9/14/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/14/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/14/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.07
      9/14/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      9/14/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      9/14/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.07
      9/14/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.93
      9/14/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      9/14/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      9/14/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.06
      9/14/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         626.18
      9/14/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      9/14/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/14/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/14/2019    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
      9/14/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      9/14/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13

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      9/14/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.48
      9/14/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      9/14/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      9/14/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/14/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/14/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      9/14/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.07
      9/14/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         698.26
      9/14/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      9/14/2019    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 232031 HVUT Form 2290              50
      9/14/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      9/14/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.96
      9/14/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.96
      9/14/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.78
      9/14/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.67
      9/14/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      9/14/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      9/14/2019    742   DS0254   Owner Operator   Tire Fee                       Tire Fee: 2318842                          8
      9/14/2019    742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00413108 - PO System          176.37
      9/14/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Sout           1.5
      9/14/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Westpark - Beltway          1.25
      9/14/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Westpark - Beltway          1.25
      9/14/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Westpark - Hillcro           3.5
      9/14/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Westpark - Hillcro           3.5
      9/14/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 231912 Trk 33487 Lease          434.2
      9/14/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/14/2019    742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                    12.5
      9/14/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      9/14/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.75
      9/14/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.89
      9/14/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.15
      9/14/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.27
      9/14/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          63.07
      9/14/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      9/14/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/14/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/14/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/14/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/14/2019    742   EN0016   Owner Operator   FUEL TAX                       June 2019 Fuel/Mileage Tax            268.33
      9/14/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      9/14/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      9/14/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      9/14/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      9/14/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      9/14/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/14/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/14/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/14/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      9/14/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         239.42
      9/14/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         243.59
      9/14/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      9/14/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      9/14/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      9/14/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      9/14/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      9/14/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      9/14/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      9/14/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      9/14/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      9/14/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      9/14/2019    742   JH0148   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/14/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      9/14/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44

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      9/14/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/14/2019    742   JS0390   Owner Operator   Broker Pre Pass                34327 PrePass Device                    12.5
      9/14/2019    742   JS0390   Owner Operator   Communication Charge           PNet Hware 34327                           8
      9/14/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.92
      9/14/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.55
      9/14/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.47
      9/14/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.33
      9/14/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   67.19
      9/14/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/14/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/14/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      9/14/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      9/14/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/14/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/14/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      9/14/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      9/14/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/14/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/14/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL Route 80 (West)               5
      9/14/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ITRCC Portage                    55.44
      9/14/2019    742   MH0117   Owner Operator   Toll Charges                   33296 NYSTA Newburgh                   15.28
      9/14/2019    742   MH0117   Owner Operator   Toll Charges                   33296 OTC Westgate                        41
      9/14/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  8.75
      9/14/2019    742   MS0230   Owner Operator   Communication Charge           PNet Hware 34082                          13
      9/14/2019    742   MS0230   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.99
      9/14/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  27.35
      9/14/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           2.5
      9/14/2019    742   MS0230   Owner Operator   Toll Charges                   34082 BATA Carquinez Bridge               26
      9/14/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      9/14/2019    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      9/14/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      9/14/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.03
      9/14/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.95
      9/14/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.13
      9/14/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.26
      9/14/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      9/14/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      9/14/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 232011 repair                    250
      9/14/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      9/14/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/14/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      9/14/2019    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/14/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/14/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/14/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/14/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/14/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.98
      9/14/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          437.9
      9/14/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.06
      9/14/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      9/14/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      9/14/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      9/14/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      9/14/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      9/14/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/14/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/14/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.78
      9/14/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.52
      9/14/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.88
      9/14/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.67
      9/14/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.11
      9/14/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.27
      9/14/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.09
      9/14/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.5
      9/14/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      9/14/2019    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      9/14/2019    742   RS0342   Owner Operator   Communication Charge           PNet Hware 33738                          13

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      9/14/2019    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.26
      9/14/2019    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     143.18
      9/14/2019    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      9/14/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      9/14/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      9/14/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      9/14/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      9/14/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      9/14/2019    742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 231555 HVUT Form 2290            34.9
      9/14/2019    742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 231868 HVUT Form 2290              50
      9/14/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      9/14/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/14/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/14/2019    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/14/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.24
      9/14/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.83
      9/14/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.19
      9/14/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.09
      9/14/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.02
      9/14/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.24
      9/14/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      9/14/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      9/14/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 231658 33489 Lease Paym        412.16
      9/14/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 231974 33489 Lease Paym        412.16
      9/14/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/14/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      9/14/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.29
      9/14/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      9/14/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      9/14/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      9/14/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      9/14/2019    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      9/14/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      9/14/2019    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          43.94
      9/14/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/14/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      9/14/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      9/21/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      9/21/2019    709   AC0061   Owner Operator   Charge back by affiliate       CTMS - 232196 HVUT Form 2290              50
      9/21/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      9/21/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/21/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.39
      9/21/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.75
      9/21/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
      9/21/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.09
      9/21/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.68
      9/21/2019    709   AC0061   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            415.35
      9/21/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      9/21/2019    709   AC0061   Owner Operator   Tire Purchase                  PO: 709-00410120 - PO System           54.25
      9/21/2019    709   AC0061   Owner Operator   Tire Purchase                  PO: 709-00413488 - PO System          367.46
      9/21/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 232281 Q13148 Trac Leas        296.09
      9/21/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      9/21/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      9/21/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          663.4
      9/21/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      9/21/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      9/21/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      9/21/2019    709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 232196 HVUT Form 2290              50
      9/21/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      9/21/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           212
      9/21/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          394.4
      9/21/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.46
      9/21/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.93
      9/21/2019    709   AR0064   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            644.37
      9/21/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      9/21/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 232246 Q13147 Lease            440.14

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      9/21/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      9/21/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      9/21/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      9/21/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/21/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.72
      9/21/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            200
      9/21/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.39
      9/21/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.97
      9/21/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.58
      9/21/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.81
      9/21/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      9/21/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.3
      9/21/2019    709   AV0021   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             51.46
      9/21/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  44.74
      9/21/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      9/21/2019    709   AV0021   Owner Operator   Tire Fee                       Tire Fee: 2321236                          8
      9/21/2019    709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00414623 - PO System          302.43
      9/21/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 232245 Q13169 Sublease         352.68
      9/21/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      9/21/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      9/21/2019    709   BM0030   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             763.3
      9/21/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      9/21/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      9/21/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      9/21/2019    709   CC0134   Owner Operator   Charge back by affiliate       CTMS - 231981 HVUT Form 2290              50
      9/21/2019    709   CC0134   Owner Operator   Charge back by affiliate       CTMS - 232243 HVUT Form 2290              50
      9/21/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      9/21/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      9/21/2019    709   CC0134   Owner Operator   Driver Excellence Program      CA-UE5U000204                            -50
      9/21/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             500
      9/21/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/21/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.95
      9/21/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.67
      9/21/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.44
      9/21/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.33
      9/21/2019    709   CC0134   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            285.14
      9/21/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          72.88
      9/21/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      9/21/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      9/21/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 231870 Q13168 sub lease        352.68
      9/21/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 232140 Q13168 sub lease        352.68
      9/21/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/21/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      9/21/2019    709   CM0119   Owner Operator   Driver Excellence Program      CA-NCOV000238                            -50
      9/21/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/21/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         527.42
      9/21/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          568.9
      9/21/2019    709   CM0119   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax              8.62
      9/21/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      9/21/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      9/21/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/21/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         507.91
      9/21/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      9/21/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      9/21/2019    709   CR0064   Owner Operator   Driver Excellence Program      CA-NDHX000374                            -50
      9/21/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.7
      9/21/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.3
      9/21/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.85
      9/21/2019    709   CR0064   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             27.76
      9/21/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      9/21/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 232190 Q1247 Sub Lease         263.91
      9/21/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      9/21/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      9/21/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      9/21/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      9/21/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      9/21/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             12.42
      9/21/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/21/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      9/21/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.66
      9/21/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.61
      9/21/2019    709   DL0029   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax              392
      9/21/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      9/21/2019    709   DL0107   Owner Operator   Advance                        SL 402-114249 s/u 3 wks               336.52
      9/21/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      9/21/2019    709   DL0107   Owner Operator   Charge back by affiliate       CTMS - 232175 HVUT Form 2290              50
      9/21/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      9/21/2019    709   DL0107   Owner Operator   Driver Excellence Program      CA-UD1A000085                            -50
      9/21/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/21/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/21/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.58
      9/21/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.15
      9/21/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.36
      9/21/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.09
      9/21/2019    709   DL0107   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax              8.56
      9/21/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      9/21/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      9/21/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/21/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.28
      9/21/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.15
      9/21/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.61
      9/21/2019    709   DM0257   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            692.64
      9/21/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      9/21/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      9/21/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/21/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      9/21/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.86
      9/21/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.38
      9/21/2019    709   DS0049   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            -45.61
      9/21/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      9/21/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      9/21/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      9/21/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      9/21/2019    709   DS0225   Owner Operator   Driver Excellence Program      CA-N9Y4000330                            -50
      9/21/2019    709   DS0225   Owner Operator   Driver Excellence Program      CA-UBF8000177                            -50
      9/21/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.51
      9/21/2019    709   DS0225   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            -68.92
      9/21/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      9/21/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      9/21/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      9/21/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      9/21/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      9/21/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.31
      9/21/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.91
      9/21/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.96
      9/21/2019    709   DS0288   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            181.69
      9/21/2019    709   DS0288   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         294.81
      9/21/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      9/21/2019    709   DS0288   Owner Operator   Tire Purchase                  PO: 709-00412027 - PO System          190.92
      9/21/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/21/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      9/21/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/21/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         674.13
      9/21/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.86

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      9/21/2019    709   EA0003   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            274.04
      9/21/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      9/21/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      9/21/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      9/21/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      9/21/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      9/21/2019    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                          1700
      9/21/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         665.02
      9/21/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      9/21/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      9/21/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      9/21/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      9/21/2019    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/21/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           376
      9/21/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.31
      9/21/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.9
      9/21/2019    709   EO0014   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            155.88
      9/21/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      9/21/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      9/21/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      9/21/2019    709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 232243 HVUT Form 2290              50
      9/21/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      9/21/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.23
      9/21/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.48
      9/21/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           330
      9/21/2019    709   FS0039   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            166.39
      9/21/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      9/21/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 232245 truck lease 3304        434.29
      9/21/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/21/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      9/21/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.04
      9/21/2019    709   FV0001   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             51.16
      9/21/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      9/21/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/21/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      9/21/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/21/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.46
      9/21/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.61
      9/21/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.27
      9/21/2019    709   GA0051   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            -69.21
      9/21/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      9/21/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      9/21/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      9/21/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      9/21/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      9/21/2019    709   GS0015   Owner Operator   Charge back by affiliate       CTMS - 232138 HVUT Form 2290              50
      9/21/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      9/21/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.21
      9/21/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      9/21/2019    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00413109 - PO System            40.9
      9/21/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 232190 Amortized Balloo        200.15
      9/21/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      9/21/2019    709   GW0043   Owner Operator   Charge back by affiliate       CTMS - 232138 HVUT Form 2290              50
      9/21/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      9/21/2019    709   GW0043   Owner Operator   Driver Excellence Program      AZ-0173000325                            -50
      9/21/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      9/21/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.09
      9/21/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.3
      9/21/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.53
      9/21/2019    709   GW0043   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            182.33
      9/21/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      9/21/2019    709   GW0043   Owner Operator   Tire Purchase                  Tire 905-03351697 9/7/19              198.58
      9/21/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 232025 Q1109 Lease             302.85
      9/21/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 232278 Q1109 Lease             302.85
      9/21/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      9/21/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      9/21/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      9/21/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      9/21/2019    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 231868 HVUT Form 2290              50
      9/21/2019    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 232138 HVUT Form 2290              50
      9/21/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      9/21/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      9/21/2019    709   HC0023   Owner Operator   Driver Excellence Program      CA-UD2M000119                            -50
      9/21/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.12
      9/21/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.32
      9/21/2019    709   HC0023   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             23.69
      9/21/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      9/21/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      9/21/2019    709   HC0023   Owner Operator   Tire Fee                       Tire Fee: 2318841                          8
      9/21/2019    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00412029 - PO System          261.85
      9/21/2019    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00412029 - PO System          261.85
      9/21/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 231921 Q13170                  352.68
      9/21/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 232197 Q13170                  352.68
      9/21/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      9/21/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      9/21/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           300
      9/21/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         768.17
      9/21/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         687.17
      9/21/2019    709   HG0007   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             30.86
      9/21/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      9/21/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      9/21/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      9/21/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          185.9
      9/21/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.97
      9/21/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.08
      9/21/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.13
      9/21/2019    709   HG0027   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            112.56
      9/21/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      9/21/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/21/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      9/21/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      9/21/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.73
      9/21/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.48
      9/21/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.28
      9/21/2019    709   IA0007   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            -18.91
      9/21/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      9/21/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      9/21/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/21/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      9/21/2019    709   IR0002   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            -82.48
      9/21/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      9/21/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/21/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75

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      9/21/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      9/21/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      9/21/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.5
      9/21/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/21/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/21/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/21/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  27.35
      9/21/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  27.35
      9/21/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  27.35
      9/21/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
      9/21/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL              8.75
      9/21/2019    709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 232243 HVUT Form 2290             50
      9/21/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                        13
      9/21/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      9/21/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/21/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/21/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/21/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/21/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.15
      9/21/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.1
      9/21/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        479.94
      9/21/2019    709   JC0292   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax           336.73
      9/21/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/21/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      9/21/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 232187 Q13197 Lease           276.63
      9/21/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      9/21/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      9/21/2019    709   JD0211   Owner Operator   ESCROW                         Weekly Escrow                            50
      9/21/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/21/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      9/21/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      9/21/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/21/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      9/21/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      9/21/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/21/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/21/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      9/21/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.93
      9/21/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        464.86
      9/21/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        157.99
      9/21/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        486.76
      9/21/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
      9/21/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment        414.93
      9/21/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/21/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  27.35
      9/21/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/21/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      9/21/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      9/21/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      9/21/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        594.54
      9/21/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        523.01
      9/21/2019    709   JG0072   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax           372.63
      9/21/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
      9/21/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/21/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      9/21/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      9/21/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                          8
      9/21/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                          150
      9/21/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/21/2019    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/21/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.89
      9/21/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        322.04
      9/21/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        351.03
      9/21/2019    709   JG0092   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax           121.02
      9/21/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/21/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     35.16
      9/21/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      9/21/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      9/21/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                          8
      9/21/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        123.46
      9/21/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         15.43
      9/21/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        233.33
      9/21/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 34637                      100

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      9/21/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      9/21/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      9/21/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      9/21/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      9/21/2019    709   JR0099   Owner Operator   Driver Excellence Program      CA-UA4B000176                            -50
      9/21/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.99
      9/21/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      9/21/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 232087 Truck Lease             278.76
      9/21/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      9/21/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      9/21/2019    709   JS0265   Owner Operator   Charge back by affiliate       CTMS - 232193 HVUT Form 2290              50
      9/21/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      9/21/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/21/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.42
      9/21/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.13
      9/21/2019    709   JS0265   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            573.31
      9/21/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      9/21/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      9/21/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      9/21/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 232189 Q13159 Lease             331.5
      9/21/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/21/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      9/21/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/21/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      9/21/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      9/21/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           245
      9/21/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           142
      9/21/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.76
      9/21/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           192
      9/21/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.47
      9/21/2019    709   KP0004   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            541.26
      9/21/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      9/21/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      9/21/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      9/21/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/21/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      9/21/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      9/21/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.59
      9/21/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.67
      9/21/2019    709   KT0055   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             25.73
      9/21/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      9/21/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 232135 Q13156 Lease            388.16
      9/21/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      9/21/2019    709   LL0160   Owner Operator   Charge back by affiliate       CTMS - 232139 HVUT Form 2290              50
      9/21/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      9/21/2019    709   LL0160   Owner Operator   Driver Excellence Program      CA-NCE7000423                            -50
      9/21/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      9/21/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 232245 Lease Q1111             252.11
      9/21/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      9/21/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      9/21/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          466.8
      9/21/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.08
      9/21/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      9/21/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/21/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      9/21/2019    709   MA0092   Owner Operator   Driver Excellence Program      CA-UE5U000206                            -50
      9/21/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.53
      9/21/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.05
      9/21/2019    709   MA0092   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            120.15
      9/21/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69

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      9/21/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      9/21/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      9/21/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      9/21/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.95
      9/21/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.26
      9/21/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          429.9
      9/21/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      9/21/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      9/21/2019    709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 232285 HVUT Form 2290              50
      9/21/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      9/21/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.79
      9/21/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.05
      9/21/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.42
      9/21/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      9/21/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      9/21/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 232140 Q1113 Lease             252.11
      9/21/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/21/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      9/21/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.84
      9/21/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         574.44
      9/21/2019    709   MG0067   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            -21.08
      9/21/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      9/21/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/21/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/21/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      9/21/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      9/21/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.01
      9/21/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      9/21/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      9/21/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      9/21/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      9/21/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.29
      9/21/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         562.83
      9/21/2019    709   NB0029   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             22.54
      9/21/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      9/21/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      9/21/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      9/21/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      9/21/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      9/21/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      9/21/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            360
      9/21/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3.6
      9/21/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.88
      9/21/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.41
      9/21/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      9/21/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      9/21/2019    709   NT9564   Owner Operator   Charge back by affiliate       CTMS - 232194 HVUT Form 2290              50
      9/21/2019    709   NT9564   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            169.88
      9/21/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      9/21/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 232286 Truck 73130 Leas        196.65
      9/21/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/21/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      9/21/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/21/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.75
      9/21/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.93
      9/21/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      9/21/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      9/21/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      9/21/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75

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      9/21/2019    709   RB0170   Owner Operator   Charge back by affiliate       CTMS - 232196 HVUT Form 2290                   50
      9/21/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                                8
      9/21/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                                  50
      9/21/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                                   50
      9/21/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                                   50
      9/21/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                                   40
      9/21/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                              0.4
      9/21/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                              0.5
      9/21/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                              0.5
      9/21/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                              194.77
      9/21/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                              273.13
      9/21/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                              341.84
      9/21/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                              190.73
      9/21/2019    709   RB0170   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax                 133.09
      9/21/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                                47.5
      9/21/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                     39.07
      9/21/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 232137 Q1241 Truck leas             321.84
      9/21/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                            8.75
      9/21/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                                8
      9/21/2019    709   RC0030   Owner Operator   Driver Excellence Program                                       5388624      -50
      9/21/2019    709   RC0030   Owner Operator   Driver Excellence Program      CA-N5N5000192                                 -50
      9/21/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                               37.13
      9/21/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                               607.3
      9/21/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                              594.87
      9/21/2019    709   RC0030   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax                 -45.76
      9/21/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                                47.5
      9/21/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                           135.16
      9/21/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                    2.5
      9/21/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                        8.75
      9/21/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                               13
      9/21/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                                150
      9/21/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                              226.99
      9/21/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                              692.62
      9/21/2019    709   RL0017   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax                  -2.06
      9/21/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                           33.17
      9/21/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                                47.5
      9/21/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                        77.22
      9/21/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism                2.5
      9/21/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                              529.05
      9/21/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                        8.75
      9/21/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                               13
      9/21/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                                 200
      9/21/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                                2
      9/21/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                              467.25
      9/21/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                               422.1
      9/21/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                              289.23
      9/21/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                                151
      9/21/2019    709   RL0062   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax                 378.14
      9/21/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                           33.17
      9/21/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                                47.5
      9/21/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                        93.15
      9/21/2019    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00413364 - PO System               375.72
      9/21/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                        8.75
      9/21/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                               13
      9/21/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                               13
      9/21/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                                100
      9/21/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                                100
      9/21/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                              393.74
      9/21/2019    709   RL0180   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax                  -6.31
      9/21/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                           33.17
      9/21/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                           33.17
      9/21/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                                47.5
      9/21/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                        51.57
      9/21/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism                2.5
      9/21/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                               37.69
      9/21/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                              350.65
      9/21/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                         27.48
      9/21/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                            8.75
      9/21/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                               13
      9/21/2019    709   RM0026   Owner Operator   Driver Excellence Program      AZ-0221006151                                 -50
      9/21/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                              521.46
      9/21/2019    709   RM0026   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax                 364.43
      9/21/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                                47.5

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      9/21/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      9/21/2019    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00412028 - PO System          250.78
      9/21/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      9/21/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      9/21/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.7
      9/21/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.11
      9/21/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      9/21/2019    709   RP0082   Owner Operator   Repair Order                   TRACTOR Q1202                         585.75
      9/21/2019    709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00411729 - PO System          211.92
      9/21/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 232087 Q1202 Truck Leas        278.76
      9/21/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      9/21/2019    709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 232195 HVUT Form 2290              50
      9/21/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      9/21/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.21
      9/21/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.63
      9/21/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.62
      9/21/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.06
      9/21/2019    709   RR0123   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            247.48
      9/21/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      9/21/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      9/21/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 232140 Q1248                   311.97
      9/21/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      9/21/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      9/21/2019    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      9/21/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      9/21/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      9/21/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      9/21/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      9/21/2019    709   SB0009   Owner Operator   Driver Excellence Program      CA-UF28000076                            -50
      9/21/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/21/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/21/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/21/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/21/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                           72.43
      9/21/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.09
      9/21/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.16
      9/21/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.51
      9/21/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.74
      9/21/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.64
      9/21/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          285.9
      9/21/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.46
      9/21/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.52
      9/21/2019    709   SB0009   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            795.09
      9/21/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      9/21/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      9/21/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      9/21/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      9/21/2019    709   SB0009   Owner Operator   Toll Charges                   33236 OTA Will Rogers Turnpike           9.2
      9/21/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      9/21/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      9/21/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      9/21/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      9/21/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           235
      9/21/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           261
      9/21/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           474
      9/21/2019    709   SM0109   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            449.89
      9/21/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      9/21/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      9/21/2019    709   SM0109   Owner Operator   Toll Charges                   33195 KTA Topeka: I-70                  6.75
      9/21/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      9/21/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      9/21/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      9/21/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      9/21/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.22
      9/21/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.96
      9/21/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.4
      9/21/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          144.2
      9/21/2019    709   SN0019   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            168.48
      9/21/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      9/21/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      9/21/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      9/21/2019    709   VB0015   Owner Operator   Driver Excellence Program      CA-UCAC000356                            -50
      9/21/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           145
      9/21/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.16
      9/21/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.09
      9/21/2019    709   VB0015   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            -43.65
      9/21/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      9/21/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/21/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.08
      9/21/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.08
      9/21/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.27
      9/21/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          223.1
      9/21/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.35
      9/21/2019    709   VJ0006   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            410.45
      9/21/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      9/21/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      9/21/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      9/21/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      9/21/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      9/21/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      9/21/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      9/21/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.16
      9/21/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          192.4
      9/21/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.74
      9/21/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.13
      9/21/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.03
      9/21/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.3
      9/21/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.07
      9/21/2019    709   WH0087   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             93.96
      9/21/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      9/21/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 232140 Q1238 Lease             311.97
      9/21/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      9/21/2019    742   AP0047   Owner Operator   Driver Excellence Program      CA-NDA2000377                            -50
      9/21/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.37
      9/21/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           225
      9/21/2019    742   AP0047   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            564.91
      9/21/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      9/21/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      9/21/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      9/21/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      9/21/2019    742   BS0078   Owner Operator   Charge back by affiliate       CTMS - 231868 HVUT Form 2290              50
      9/21/2019    742   BS0078   Owner Operator   Charge back by affiliate       CTMS - 232138 HVUT Form 2290              50
      9/21/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      9/21/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      9/21/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.59

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      9/21/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.84
      9/21/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.91
      9/21/2019    742   BS0078   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             278.3
      9/21/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      9/21/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      9/21/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      9/21/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      9/21/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00412303 - PO System          198.59
      9/21/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00412303 - PO System          198.59
      9/21/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 HCTRA Hardy North - Ran             2
      9/21/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 HCTRA Sam Houston - Nor           3.5
      9/21/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Spencer Ma          8.48
      9/21/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 231866 Lease of Q13151         388.16
      9/21/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 232136 Lease of Q13151         388.16
      9/21/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      9/21/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      9/21/2019    742   CA0089   Owner Operator   Driver Excellence Program      CA-NCCL000500                            -50
      9/21/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         582.16
      9/21/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.94
      9/21/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      9/21/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/21/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      9/21/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.34
      9/21/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           544
      9/21/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           230
      9/21/2019    742   DA0067   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             68.57
      9/21/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      9/21/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/21/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      9/21/2019    742   DC0117   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            251.46
      9/21/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      9/21/2019    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 232283 HVUT Form 2290              50
      9/21/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      9/21/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.53
      9/21/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.37
      9/21/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.34
      9/21/2019    742   DS0254   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            177.41
      9/21/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      9/21/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      9/21/2019    742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00413108 - PO System          176.37
      9/21/2019    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Bell             2
      9/21/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 232188 Trk 33487 Lease          434.2
      9/21/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/21/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      9/21/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         628.09
      9/21/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.79
      9/21/2019    742   EA0039   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             164.7
      9/21/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      9/21/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/21/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/21/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/21/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/21/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/21/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/21/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/21/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.09
      9/21/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.84
      9/21/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.63
      9/21/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          510.1
      9/21/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.76
      9/21/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.85
      9/21/2019    742   ED0041   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            134.61
      9/21/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          32.89
      9/21/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      9/21/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      9/21/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      9/21/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      9/21/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/21/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/21/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/21/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/21/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/21/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/21/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/21/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/21/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.55
      9/21/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          109.7
      9/21/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.82
      9/21/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.91
      9/21/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.61
      9/21/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      9/21/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      9/21/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      9/21/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      9/21/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      9/21/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      9/21/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      9/21/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/21/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/21/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/21/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      9/21/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      9/21/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      9/21/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         175.81
      9/21/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                         402.72
      9/21/2019    742   JB0465   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
      9/21/2019    742   JB0465   Owner Operator   T Chek Fee                     School Checks (Corp)                    300
      9/21/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      9/21/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      9/21/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         689.72
      9/21/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         826.02
      9/21/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      9/21/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    -35
      9/21/2019    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                          303.75
      9/21/2019    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 -268.75
      9/21/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/21/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      9/21/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/21/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      9/21/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/21/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                  17.5
      9/21/2019    742   MS0230   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             95
      9/21/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                  54.68
      9/21/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris             5
      9/21/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      9/21/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      9/21/2019    742   NG0024   Owner Operator   Driver Excellence Program      CA-UESX000156                            -50
      9/21/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.47
      9/21/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.71
      9/21/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.14
      9/21/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.12
      9/21/2019    742   NG0024   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            142.44
      9/21/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      9/21/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      9/21/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 232214 repair                    250
      9/21/2019    742   NG0024   Owner Operator   Toll Charges                   33252 KTA Southern Terminal             4.95
      9/21/2019    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Cimarron Turnpike Ea           5.4
      9/21/2019    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Cimarron Turnpike Ea          7.05
      9/21/2019    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Indian Nation Turnpi           6.7

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      9/21/2019    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Indian Nation Turnpi          7.05
      9/21/2019    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Indian Nation Turnpi           6.2
      9/21/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      9/21/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/21/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      9/21/2019    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/21/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.35
      9/21/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.62
      9/21/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.11
      9/21/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.1
      9/21/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.75
      9/21/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      9/21/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      9/21/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      9/21/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      9/21/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      9/21/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/21/2019    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/21/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.9
      9/21/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.36
      9/21/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.73
      9/21/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.56
      9/21/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.37
      9/21/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.62
      9/21/2019    742   RF0136   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             47.13
      9/21/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      9/21/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      9/21/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      9/21/2019    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      9/21/2019    742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 231868 HVUT Form 2290              50
      9/21/2019    742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 232138 HVUT Form 2290              50
      9/21/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      9/21/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      9/21/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.91
      9/21/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.19
      9/21/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.58
      9/21/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.56
      9/21/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.17
      9/21/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.21
      9/21/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.45
      9/21/2019    742   RN0054   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            118.99
      9/21/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      9/21/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      9/21/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      9/21/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      9/21/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 231920 Tractor Lease           353.28
      9/21/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 232196 Tractor Lease           353.28
      9/21/2019    742   RS0342   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            117.89
      9/21/2019    742   RS0342   Owner Operator   IRP License Deduction          2020 IL IRP plate refund             -858.17
      9/21/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      9/21/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      9/21/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      9/21/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      9/21/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                            7.7
      9/21/2019    742   TC0098   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax              -7.7
      9/21/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/21/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      9/21/2019    742   TH0130   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             71.26
      9/21/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      9/21/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      9/21/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      9/21/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      9/21/2019    843   EI0003   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            598.23
      9/21/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/21/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      9/21/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5

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      9/28/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      9/28/2019    709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
      9/28/2019    709   AC0061   Owner Operator   Charge back by affiliate       CTMS - 232450 HVUT Form 2290              50
      9/28/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      9/28/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/28/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.77
      9/28/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.35
      9/28/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.23
      9/28/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.93
      9/28/2019    709   AC0061   Owner Operator   Tire Purchase                  PO: 709-00413488 - PO System          367.46
      9/28/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 232558 Q13148 Trac Leas        296.09
      9/28/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      9/28/2019    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
      9/28/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      9/28/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      9/28/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      9/28/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      9/28/2019    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      9/28/2019    709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 232450 HVUT Form 2290              50
      9/28/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      9/28/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.95
      9/28/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.87
      9/28/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.96
      9/28/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.41
      9/28/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      9/28/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 232516 Q13147 Lease            440.14
      9/28/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      9/28/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      9/28/2019    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      9/28/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      9/28/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.66
      9/28/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      9/28/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.01
      9/28/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           180
      9/28/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.88
      9/28/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.94
      9/28/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.48
      9/28/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 267.35
      9/28/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      9/28/2019    709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00414623 - PO System          302.43
      9/28/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 232515 Q13169 Sublease         352.68
      9/28/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      9/28/2019    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      9/28/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      9/28/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      9/28/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      9/28/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      9/28/2019    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      9/28/2019    709   CC0134   Owner Operator   Charge back by affiliate       CTMS - 232514 HVUT Form 2290              50
      9/28/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      9/28/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/28/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/28/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.99
      9/28/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         583.69
      9/28/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      9/28/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      9/28/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 232401 Q13168 sub lease        352.68
      9/28/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/28/2019    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      9/28/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      9/28/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/28/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/28/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         671.01
      9/28/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          551.7
      9/28/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17

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      9/28/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.43
      9/28/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/28/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      9/28/2019    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
      9/28/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      9/28/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.15
      9/28/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.89
      9/28/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.91
      9/28/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.01
      9/28/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 232445 Q1247 Sub Lease         263.91
      9/28/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/28/2019    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                      9.84
      9/28/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      9/28/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.45
      9/28/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          357.5
      9/28/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.46
      9/28/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      9/28/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      9/28/2019    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      9/28/2019    709   DL0107   Owner Operator   Charge back by affiliate       CTMS - 232395 HVUT Form 2290              50
      9/28/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      9/28/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/28/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/28/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.56
      9/28/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.61
      9/28/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      9/28/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      9/28/2019    709   DM0257   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/28/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.17
      9/28/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      9/28/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      9/28/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/28/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      9/28/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.76
      9/28/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      9/28/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      9/28/2019    709   DS0049   Owner Operator   Truck Payment                  CTMS - 232492 TRK RENTAL                250
      9/28/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      9/28/2019    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                      9.84
      9/28/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      9/28/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.31
      9/28/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         672.11
      9/28/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      9/28/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      9/28/2019    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      9/28/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      9/28/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      9/28/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      9/28/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.19
      9/28/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.32
      9/28/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.25
      9/28/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.88
      9/28/2019    709   DS0288   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         294.81
      9/28/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.18
      9/28/2019    709   DS0288   Owner Operator   Tire Purchase                  PO: 709-00412027 - PO System          190.88
      9/28/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/28/2019    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                      9.84
      9/28/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      9/28/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/28/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/28/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.85
      9/28/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.76
      9/28/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      9/28/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      9/28/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      9/28/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      9/28/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      9/28/2019    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      9/28/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      9/28/2019    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                          1700
      9/28/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.62
      9/28/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.95
      9/28/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      9/28/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      9/28/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      9/28/2019    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      9/28/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      9/28/2019    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/28/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.52
      9/28/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.75
      9/28/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.15
      9/28/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           413
      9/28/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.29
      9/28/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      9/28/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      9/28/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      9/28/2019    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      9/28/2019    709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 232513 HVUT Form 2290              50
      9/28/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      9/28/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.56
      9/28/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.25
      9/28/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.99
      9/28/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      9/28/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 232515 truck lease 3304        434.29
      9/28/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/28/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      9/28/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.54
      9/28/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                           71.7
      9/28/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      9/28/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/28/2019    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRK34330                      9.84
      9/28/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      9/28/2019    709   GA0051   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/28/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/28/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/28/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/28/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/28/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.44
      9/28/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.63
      9/28/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                           9.08
      9/28/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.42
      9/28/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.06
      9/28/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      9/28/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      9/28/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      9/28/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      9/28/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      9/28/2019    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      9/28/2019    709   GS0015   Owner Operator   Charge back by affiliate       CTMS - 232399 HVUT Form 2290              50
      9/28/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      9/28/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.49
      9/28/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      9/28/2019    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00413109 - PO System            40.9
      9/28/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 232445 Amortized Balloo        200.15
      9/28/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      9/28/2019    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      9/28/2019    709   GW0043   Owner Operator   Charge back by affiliate       CTMS - 232399 HVUT Form 2290              50
      9/28/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      9/28/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      9/28/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/28/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.27
      9/28/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.55
      9/28/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.47
      9/28/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      9/28/2019    709   GW0043   Owner Operator   Tire Purchase                  Tire 905-03351697 9/7/19              198.58
      9/28/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 232555 Q1109 Lease             302.85
      9/28/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      9/28/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      9/28/2019    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      9/28/2019    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 232399 HVUT Form 2290              50
      9/28/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      9/28/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.79
      9/28/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.94
      9/28/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.86
      9/28/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      9/28/2019    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00412029 - PO System          261.85
      9/28/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 232451 Q13170                  352.68
      9/28/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      9/28/2019    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                      9.84
      9/28/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      9/28/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           300
      9/28/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/28/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/28/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.63
      9/28/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         590.04
      9/28/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.04
      9/28/2019    709   HG0007   Owner Operator   Tire Fee                       Tire Fee: 2324714                          4
      9/28/2019    709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00415214 - PO System          115.18
      9/28/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      9/28/2019    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      9/28/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      9/28/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.02
      9/28/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      9/28/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/28/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           8.19
      9/28/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      9/28/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/28/2019    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      9/28/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      9/28/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.04
      9/28/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.78
      9/28/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.49
      9/28/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      9/28/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/28/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      9/28/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      9/28/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      9/28/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.99
      9/28/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      9/28/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      9/28/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      9/28/2019    709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 232514 HVUT Form 2290              50
      9/28/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      9/28/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      9/28/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/28/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/28/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/28/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         571.28
      9/28/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.91
      9/28/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.87
      9/28/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.53
      9/28/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18

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      9/28/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 232442 Q13197 Lease            276.63
      9/28/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      9/28/2019    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                      9.84
      9/28/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      9/28/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      9/28/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      9/28/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/28/2019    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                      9.84
      9/28/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      9/28/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/28/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/28/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/28/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.42
      9/28/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.58
      9/28/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.28
      9/28/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.83
      9/28/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      9/28/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      9/28/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.33
      9/28/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       26
      9/28/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       26
      9/28/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Richmond 3                          26
      9/28/2019    709   JG0017   Owner Operator   Truck Payment                  CTMS - 232492 TRK RENTAL                370
      9/28/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/28/2019    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                      9.84
      9/28/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      9/28/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/28/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/28/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.18
      9/28/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.08
      9/28/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.88
      9/28/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      9/28/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      9/28/2019    709   JG0072   Owner Operator   Repair Order                   CTMS - 232492 PARTS FOR REPAIR          296
      9/28/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/28/2019    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                      9.84
      9/28/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      9/28/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           150
      9/28/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         712.97
      9/28/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      9/28/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      9/28/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      9/28/2019    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK34637                      9.84
      9/28/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      9/28/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.77
      9/28/2019    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2019 - 34637                      76.67
      9/28/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      9/28/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.61
      9/28/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      9/28/2019    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      9/28/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      9/28/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.44
      9/28/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      9/28/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 232344 Truck Lease             278.76
      9/28/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      9/28/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      9/28/2019    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                     9.84
      9/28/2019    709   JS0265   Owner Operator   Charge back by affiliate       CTMS - 232447 HVUT Form 2290              50
      9/28/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      9/28/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/28/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.73
      9/28/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.76
      9/28/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.8
      9/28/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      9/28/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5

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      9/28/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.22
      9/28/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 232444 Q13159 Lease             331.5
      9/28/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/28/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      9/28/2019    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                    -2065.8
      9/28/2019    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                      -2300
      9/28/2019    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                     -77.88
      9/28/2019    709   KP0004   Owner Operator   Express Check                  T-Check Payment                         2300
      9/28/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/28/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/28/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.01
      9/28/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.02
      9/28/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             93
      9/28/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          35.56
      9/28/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            300
      9/28/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      9/28/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      9/28/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      9/28/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/28/2019    709   KP0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                       20.45
      9/28/2019    709   KP0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                       25.04
      9/28/2019    709   KP0004   Owner Operator   T Chek Fee                     Tractor Repair 32914                 2503.86
      9/28/2019    709   KP0004   Owner Operator   T Chek Fee                     Tractor Repair 32914                 2045.35
      9/28/2019    709   KP0004   Owner Operator   Tire Fee                       Tire Fee: 2324710                         16
      9/28/2019    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00415119 - PO System          348.42
      9/28/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      9/28/2019    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                     9.84
      9/28/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      9/28/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.67
      9/28/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      9/28/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 232396 Q13156 Lease            388.16
      9/28/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      9/28/2019    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      9/28/2019    709   LL0160   Owner Operator   Charge back by affiliate       CTMS - 232399 HVUT Form 2290              50
      9/28/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      9/28/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      9/28/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 232515 Lease Q1111             252.11
      9/28/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      9/28/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      9/28/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.01
      9/28/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/28/2019    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      9/28/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      9/28/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.42
      9/28/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.2
      9/28/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.59
      9/28/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.74
      9/28/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      9/28/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      9/28/2019    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      9/28/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      9/28/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            300
      9/28/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.85
      9/28/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      9/28/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      9/28/2019    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                      9.84
      9/28/2019    709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 232563 HVUT Form 2290              50
      9/28/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      9/28/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.25
      9/28/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.59
      9/28/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.64
      9/28/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      9/28/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      9/28/2019    709   ME0053   Owner Operator   Toll Charges                   Q1113/WFG5417 Benicia 4                   26
      9/28/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 232401 Q1113 Lease             252.11

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      9/28/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/28/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      9/28/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.19
      9/28/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.31
      9/28/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      9/28/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/28/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/28/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      9/28/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      9/28/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      9/28/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      9/28/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         619.92
      9/28/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.76
      9/28/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      9/28/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      9/28/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      9/28/2019    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      9/28/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      9/28/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      9/28/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/28/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/28/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/28/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/28/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.23
      9/28/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         577.23
      9/28/2019    709   NB0029   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax            288.79
      9/28/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      9/28/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      9/28/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      9/28/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      9/28/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 232189 32986 Lease             314.03
      9/28/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 232443 32986 Lease             314.03
      9/28/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      9/28/2019    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      9/28/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      9/28/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/28/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/28/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.31
      9/28/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.46
      9/28/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      9/28/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      9/28/2019    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      9/28/2019    709   NT9564   Owner Operator   Charge back by affiliate       CTMS - 232447 HVUT Form 2290              50
      9/28/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      9/28/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 232492 TRK RENTAL                200
      9/28/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 232563 Truck 73130 Leas        196.65
      9/28/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/28/2019    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
      9/28/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      9/28/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/28/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.12
      9/28/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.53
      9/28/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      9/28/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
      9/28/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      9/28/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      9/28/2019    709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
      9/28/2019    709   RB0170   Owner Operator   Charge back by affiliate       CTMS - 232449 HVUT Form 2290              50
      9/28/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      9/28/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/28/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.77
      9/28/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.04
      9/28/2019    709   RB0170   Owner Operator   Tire Fee                       Tire Fee: 2324836                          8
      9/28/2019    709   RB0170   Owner Operator   Tire Purchase                  PO: 709-00414622 - PO System          198.97

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      9/28/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 232398 Q1241 Truck leas        321.84
      9/28/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      9/28/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      9/28/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.71
      9/28/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.68
      9/28/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.67
      9/28/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      9/28/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      9/28/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/28/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      9/28/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           150
      9/28/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         566.49
      9/28/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      9/28/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      9/28/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/28/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      9/28/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/28/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      9/28/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/28/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.52
      9/28/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.64
      9/28/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.13
      9/28/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      9/28/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      9/28/2019    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00413364 - PO System          375.72
      9/28/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      9/28/2019    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      9/28/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      9/28/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/28/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          411.4
      9/28/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      9/28/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      9/28/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      9/28/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      9/28/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      9/28/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      9/28/2019    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      9/28/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      9/28/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.12
      9/28/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.14
      9/28/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.82
      9/28/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      9/28/2019    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00412028 - PO System          250.71
      9/28/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      9/28/2019    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      9/28/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      9/28/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.18
      9/28/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      9/28/2019    709   RP0082   Owner Operator   Tire Purchase                  PO: 709-00411729 - PO System          211.86
      9/28/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 232344 Q1202 Truck Leas        278.76
      9/28/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      9/28/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.43
      9/28/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.7
      9/28/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.19
      9/28/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      9/28/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      9/28/2019    709   RR0123   Owner Operator   T Chek Fee                     ExpressCheck Fee                       57.06
      9/28/2019    709   RR0123   Owner Operator   T Chek Fee                     Tractor Repair Q1248                 1059.82
      9/28/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      9/28/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      9/28/2019    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      9/28/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      9/28/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      9/28/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/28/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100

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      9/28/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.16
      9/28/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.31
      9/28/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.81
      9/28/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.06
      9/28/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.61
      9/28/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.24
      9/28/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.72
      9/28/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.94
      9/28/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.72
      9/28/2019    709   SB0103   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             373.2
      9/28/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      9/28/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      9/28/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      9/28/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      9/28/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      9/28/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      9/28/2019    709   SB0103   Owner Operator   Repair Order                   CTMS - 232431 REPAIR                  230.35
      9/28/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 232083 Sub Lease               388.33
      9/28/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 232344 Sub Lease               388.33
      9/28/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      9/28/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      9/28/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           295
      9/28/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           560
      9/28/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
      9/28/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      9/28/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      9/28/2019    709   SM0109   Owner Operator   Toll Charges                   33195 Bay Bridge 17                       26
      9/28/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      9/28/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      9/28/2019    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.84
      9/28/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      9/28/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/28/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.05
      9/28/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.58
      9/28/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      9/28/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      9/28/2019    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      9/28/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      9/28/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.51
      9/28/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.55
      9/28/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      9/28/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      9/28/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      9/28/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/28/2019    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      9/28/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      9/28/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      9/28/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/28/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/28/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
      9/28/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/28/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      9/28/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.3
      9/28/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.84
      9/28/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.77
      9/28/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.28
      9/28/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.19
      9/28/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      9/28/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 BATA Bay Bridge                     26
      9/28/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      9/28/2019    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      9/28/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      9/28/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      9/28/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5

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      9/28/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      9/28/2019    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      9/28/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      9/28/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/28/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/28/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.78
      9/28/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.97
      9/28/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      9/28/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 Carquinez Bridge 8                  26
      9/28/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 232400 Q1238 Lease             311.97
      9/28/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      9/28/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      9/28/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      9/28/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/28/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/28/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/28/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/28/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.09
      9/28/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.81
      9/28/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.88
      9/28/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.32
      9/28/2019    742   AP0047   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax              5.15
      9/28/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      9/28/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      9/28/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      9/28/2019    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13151                     9.84
      9/28/2019    742   BS0078   Owner Operator   Charge back by affiliate       CTMS - 232398 HVUT Form 2290              50
      9/28/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      9/28/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.64
      9/28/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.69
      9/28/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.39
      9/28/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.45
      9/28/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.29
      9/28/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
      9/28/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      9/28/2019    742   BS0078   Owner Operator   Tire Purchase                  PO: 742-00412303 - PO System          198.53
      9/28/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 HCTRA Sam Houston - NE            3.5
      9/28/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 HCTRA Sam Houston - NE           -3.5
      9/28/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 HCTRA Sam Houston - Nor             7
      9/28/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      9/28/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      9/28/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.56
      9/28/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.98
      9/28/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      9/28/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/28/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      9/28/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           280
      9/28/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.27
      9/28/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           255
      9/28/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           135
      9/28/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           130
      9/28/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      9/28/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/28/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Antioch Bridge 2                    26
      9/28/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      9/28/2019    742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Sam Houston - East             7
      9/28/2019    742   DA0067   Owner Operator   Toll Charges                   33847/W6620 Carquinez Bridge 7            26
      9/28/2019    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      9/28/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      9/28/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.64
      9/28/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          604.6
      9/28/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.99
      9/28/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      9/28/2019    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      9/28/2019    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 232561 HVUT Form 2290              50
      9/28/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      9/28/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.12
      9/28/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.13

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      9/28/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.92
      9/28/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      9/28/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      9/28/2019    742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00413108 - PO System          176.37
      9/28/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 3                    26
      9/28/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 3                    16
      9/28/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 3                    26
      9/28/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 4                  26
      9/28/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/28/2019    742   EA0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33993                      9.84
      9/28/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      9/28/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.65
      9/28/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         602.93
      9/28/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         608.89
      9/28/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      9/28/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/28/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/28/2019    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      9/28/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      9/28/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.84
      9/28/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.48
      9/28/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.16
      9/28/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      9/28/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/28/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/28/2019    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      9/28/2019    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      9/28/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      9/28/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      9/28/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      9/28/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      9/28/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      9/28/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      9/28/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      9/28/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      9/28/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/28/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/28/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.72
      9/28/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.23
      9/28/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.28
      9/28/2019    742   EN0016   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             97.05
      9/28/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      9/28/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      9/28/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      9/28/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/28/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Benicia 12                          26
      9/28/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 11                 26
      9/28/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      9/28/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          16.68
      9/28/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      9/28/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      9/28/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      9/28/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      9/28/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      9/28/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      9/28/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      9/28/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      9/28/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      9/28/2019    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
      9/28/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      9/28/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.36
      9/28/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      9/28/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/28/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      9/28/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/28/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      9/28/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5

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      9/28/2019    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 10                 16
      9/28/2019    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 7                  26
      9/28/2019    742   MS0230   Owner Operator   BOBTAIL INS.                   2013 International NTL                   -35
      9/28/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD                -109.38
      9/28/2019    742   MS0230   Owner Operator   PHYSICAL DAMAGE                2013 International PD Terroris           -10
      9/28/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      9/28/2019    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      9/28/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/28/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/28/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.41
      9/28/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.97
      9/28/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.31
      9/28/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.14
      9/28/2019    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      9/28/2019    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      9/28/2019    742   NG0024   Owner Operator   Toll Charges                   33252 E470 PLAZA E                      18.6
      9/28/2019    742   NG0024   Owner Operator   Toll Charges                   33252 HCTRA Sam Houston - NE M             7
      9/28/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      9/28/2019    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      9/28/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      9/28/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      9/28/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Benicia 1                           26
      9/28/2019    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 10                 26
      9/28/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      9/28/2019    742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 232398 HVUT Form 2290              50
      9/28/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      9/28/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.11
      9/28/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.35
      9/28/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      9/28/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      9/28/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      9/28/2019    742   SK0049   Owner Operator   Charge back by affiliate       CTMS - 232416 trailer wash               -43
      9/28/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      9/28/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      9/28/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      9/28/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      9/28/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      9/28/2019    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      9/28/2019    742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 232138 HVUT Form 2290              50
      9/28/2019    742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 232398 HVUT Form 2290              50
      9/28/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      9/28/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      9/28/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/28/2019    742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/28/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.49
      9/28/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.08
      9/28/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.11
      9/28/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.39
      9/28/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.64
      9/28/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
      9/28/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      9/28/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      9/28/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      9/28/2019    742   TC0098   Owner Operator   Toll Charges                   33489 Carquinez Bridge 8                  26
      9/28/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 232237 33489 Lease Paym        412.16
      9/28/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/28/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      9/28/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.18
      9/28/2019    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      9/28/2019    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      9/28/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      9/28/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      9/28/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      9/28/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/28/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      9/28/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5

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      10/5/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      10/5/2019    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      10/5/2019    709   AC0061   Owner Operator   Charge back by affiliate       CTMS - 232723 HVUT Form 2290              50
      10/5/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      10/5/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/5/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.26
      10/5/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.55
      10/5/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.96
      10/5/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      10/5/2019    709   AC0061   Owner Operator   Tire Purchase                  PO: 709-00413488 - PO System          367.46
      10/5/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 232803 Q13148 Trac Leas        296.09
      10/5/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      10/5/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      10/5/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      10/5/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      10/5/2019    709   AN0007   Owner Operator   Repair Order                   CTMS - 232703 REPAIR / BATTERY          115
      10/5/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      10/5/2019    709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 232723 HVUT Form 2290              50
      10/5/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      10/5/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.09
      10/5/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           204
      10/5/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      10/5/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      10/5/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      10/5/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      10/5/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.66
      10/5/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.69
      10/5/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.7
      10/5/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.03
      10/5/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.12
      10/5/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          278.1
      10/5/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.47
      10/5/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.21
      10/5/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.46
      10/5/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  744.7
      10/5/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      10/5/2019    709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00414623 - PO System          302.43
      10/5/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      10/5/2019    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      10/5/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      10/5/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      10/5/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      10/5/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      10/5/2019    709   CC0134   Owner Operator   Charge back by affiliate       CTMS - 232766 HVUT Form 2290              50
      10/5/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      10/5/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/5/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/5/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.49
      10/5/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.99
      10/5/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.14
      10/5/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      10/5/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      10/5/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 232680 Q13168 sub lease        352.68
      10/5/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/5/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      10/5/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         663.85
      10/5/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      10/5/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      10/5/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/5/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      10/5/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      10/5/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.94
      10/5/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.36
      10/5/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.37

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      10/5/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.28
      10/5/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      10/5/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 232720 Q1247 Sub Lease         263.91
      10/5/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             17.32
      10/5/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/5/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      10/5/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.45
      10/5/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.84
      10/5/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.75
      10/5/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      10/5/2019    709   DL0029   Owner Operator   Repair Order                   CTMS - 232665 REPAIRS                   475
      10/5/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      10/5/2019    709   DL0107   Owner Operator   Charge back by affiliate       CTMS - 232678 HVUT Form 2290              50
      10/5/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      10/5/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/5/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/5/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.91
      10/5/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.32
      10/5/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.35
      10/5/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      10/5/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      10/5/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.19
      10/5/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      10/5/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      10/5/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/5/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/5/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/5/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.12
      10/5/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.62
      10/5/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.82
      10/5/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      10/5/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      10/5/2019    709   DS0049   Owner Operator   Truck Payment                  CTMS - 232647 TRUCK RENTAL              500
      10/5/2019    709   DS0049   Owner Operator   Truck Payment                  CTMS - 232717 TRK RENTAL              198.67
      10/5/2019    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/5/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      10/5/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      10/5/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.73
      10/5/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.08
      10/5/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      10/5/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/5/2019    709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                    12.5
      10/5/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      10/5/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/5/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/5/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.45
      10/5/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.4
      10/5/2019    709   DS0288   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         294.81
      10/5/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      10/5/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/5/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      10/5/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/5/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.09
      10/5/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.48
      10/5/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      10/5/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      10/5/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      10/5/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      10/5/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8

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      10/5/2019    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                          1700
      10/5/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          489.5
      10/5/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      10/5/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      10/5/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      10/5/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      10/5/2019    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/5/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.06
      10/5/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.83
      10/5/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           312
      10/5/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.15
      10/5/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.98
      10/5/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      10/5/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      10/5/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      10/5/2019    709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 232766 HVUT Form 2290              50
      10/5/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      10/5/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           390
      10/5/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          283.5
      10/5/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.98
      10/5/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      10/5/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/5/2019    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      10/5/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      10/5/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/5/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/5/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.91
      10/5/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.91
      10/5/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      10/5/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/5/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      10/5/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      10/5/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.15
      10/5/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.72
      10/5/2019    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                      33.17
      10/5/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      10/5/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             28.91
      10/5/2019    709   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      10/5/2019    709   GA0051   Owner Operator   Truck Payment                  CTMS - 232738 Q1200 Lease             238.16
      10/5/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      10/5/2019    709   GS0015   Owner Operator   Charge back by affiliate       CTMS - 232677 HVUT Form 2290              50
      10/5/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      10/5/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.03
      10/5/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      10/5/2019    709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00413109 - PO System            40.9
      10/5/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 232720 Amortized Balloo        200.15
      10/5/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      10/5/2019    709   GW0043   Owner Operator   Charge back by affiliate       CTMS - 232677 HVUT Form 2290              50
      10/5/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      10/5/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/5/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/5/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.65
      10/5/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.09
      10/5/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.53
      10/5/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.46
      10/5/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.02
      10/5/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      10/5/2019    709   GW0043   Owner Operator   Tire Purchase                  Tire 905-03351697 9/7/19              198.58
      10/5/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      10/5/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75

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      10/5/2019    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 232677 HVUT Form 2290              50
      10/5/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      10/5/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           416
      10/5/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.68
      10/5/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      10/5/2019    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00412029 - PO System          261.85
      10/5/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 232725 Q13170                  352.68
      10/5/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/5/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      10/5/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           300
      10/5/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.14
      10/5/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         752.42
      10/5/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      10/5/2019    709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00415214 - PO System          115.18
      10/5/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/5/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      10/5/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.11
      10/5/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.47
      10/5/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.92
      10/5/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.14
      10/5/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      10/5/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/5/2019    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      10/5/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      10/5/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      10/5/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      10/5/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      10/5/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.3
      10/5/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.16
      10/5/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.88
      10/5/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          39.31
      10/5/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      10/5/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      10/5/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      10/5/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/5/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      10/5/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.94
      10/5/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.08
      10/5/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      10/5/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/5/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/5/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      10/5/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          144.2
      10/5/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.02
      10/5/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      10/5/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      10/5/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      10/5/2019    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      10/5/2019    709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 232766 HVUT Form 2290              50
      10/5/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      10/5/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      10/5/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.42
      10/5/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.58
      10/5/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.45
      10/5/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      10/5/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 232717 Q13197 Lease            276.63
      10/5/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/5/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      10/5/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      10/5/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      10/5/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      10/5/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      10/5/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/5/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/5/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.42
      10/5/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.44
      10/5/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.06
      10/5/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      10/5/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      10/5/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      10/5/2019    709   JG0017   Owner Operator   Truck Payment                  CTMS - 232717 TRK RENTAL                370
      10/5/2019    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/5/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/5/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      10/5/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/5/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/5/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.48
      10/5/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.75
      10/5/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         576.34
      10/5/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      10/5/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      10/5/2019    709   JG0072   Owner Operator   Repair Order                   CTMS - 232717 PARTS FOR REPAIR          296
      10/5/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/5/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      10/5/2019    709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           150
      10/5/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         648.66
      10/5/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      10/5/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      10/5/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/5/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      10/5/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/5/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/5/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.41
      10/5/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.13
      10/5/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      10/5/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      10/5/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      10/5/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      10/5/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.36
      10/5/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      10/5/2019    709   JR0099   Owner Operator   Repair Order                   CTMS - 232666 REPAIRS / RENTAL        307.31
      10/5/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 232629 Truck Lease             278.76
      10/5/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      10/5/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      10/5/2019    709   JS0265   Owner Operator   Charge back by affiliate       CTMS - 232722 HVUT Form 2290              50
      10/5/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      10/5/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/5/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.54
      10/5/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.2
      10/5/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.8
      10/5/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.29
      10/5/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.04
      10/5/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      10/5/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      10/5/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      10/5/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 232719 Q13159 Lease             331.5
      10/5/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/5/2019    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      10/5/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      10/5/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/5/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/5/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.01
      10/5/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           260
      10/5/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.01
      10/5/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      10/5/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87

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      10/5/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      10/5/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/5/2019    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00415119 - PO System          348.42
      10/5/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      10/5/2019    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      10/5/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      10/5/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.72
      10/5/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      10/5/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 232674 Q13156 Lease            388.16
      10/5/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      10/5/2019    709   LL0160   Owner Operator   Charge back by affiliate       CTMS - 232677 HVUT Form 2290              50
      10/5/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      10/5/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      10/5/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 232767 Lease Q1111             252.11
      10/5/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      10/5/2019    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      10/5/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      10/5/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         680.44
      10/5/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.24
      10/5/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.35
      10/5/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      10/5/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/5/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      10/5/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.1
      10/5/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.76
      10/5/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.56
      10/5/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.54
      10/5/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      10/5/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/5/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      10/5/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      10/5/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.52
      10/5/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.09
      10/5/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      10/5/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      10/5/2019    709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 232807 HVUT Form 2290              50
      10/5/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      10/5/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.73
      10/5/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.02
      10/5/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.38
      10/5/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.32
      10/5/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      10/5/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      10/5/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 232680 Q1113 Lease             252.11
      10/5/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/5/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      10/5/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.61
      10/5/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      10/5/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/5/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/5/2019    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
      10/5/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      10/5/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      10/5/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/5/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/5/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.92
      10/5/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.06
      10/5/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      10/5/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/5/2019    709   MP0035   Owner Operator   Repair Order                   CTMS - 232666 REPAIR                    230
      10/5/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75

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      10/5/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL              8.75
      10/5/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                           13
      10/5/2019    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                    -3837.11
      10/5/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      10/5/2019    709   NB0029   Owner Operator   Express Check                  T-Check Payment                       3837.11
      10/5/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/5/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               35.16
      10/5/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr            2.5
      10/5/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD              48.83
      10/5/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter            2.5
      10/5/2019    709   NB0029   Owner Operator   Repair Order                   CTMS - 232703 REPAIRS                    230
      10/5/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 232718 32986 Lease              314.03
      10/5/2019    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      10/5/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
      10/5/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
      10/5/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             360
      10/5/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3.6
      10/5/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           389.9
      10/5/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           83.81
      10/5/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          399.96
      10/5/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/5/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 32.98
      10/5/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
      10/5/2019    709   NT9564   Owner Operator   Charge back by affiliate       CTMS - 232722 HVUT Form 2290               50
      10/5/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/5/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              30.47
      10/5/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 232808 Truck 73130 Leas         196.65
      10/5/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      10/5/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                            8
      10/5/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/5/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          175.99
      10/5/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.98
      10/5/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                       33.17
      10/5/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/5/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    27.35
      10/5/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          215.66
      10/5/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                 8.75
      10/5/2019    709   RB0170   Owner Operator   Charge back by affiliate       CTMS - 232723 HVUT Form 2290               50
      10/5/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                            8
      10/5/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/5/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                               40
      10/5/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.4
      10/5/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                           229.1
      10/5/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.71
      10/5/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/5/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                 39.07
      10/5/2019    709   RB0170   Owner Operator   Tire Purchase                  PO: 709-00414622 - PO System           198.97
      10/5/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 232676 Q1241 Truck leas         321.84
      10/5/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      10/5/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                            8
      10/5/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.12
      10/5/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          229.82
      10/5/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          618.27
      10/5/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/5/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.16
      10/5/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      10/5/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      10/5/2019    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                     12.5
      10/5/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                           13
      10/5/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            150
      10/5/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          588.87
      10/5/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                       33.17
      10/5/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/5/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.22
      10/5/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      10/5/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
      10/5/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      10/5/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
      10/5/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/5/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/5/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      10/5/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/5/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          436.22

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      10/5/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.93
      10/5/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.02
      10/5/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      10/5/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      10/5/2019    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00413364 - PO System          375.72
      10/5/2019    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/5/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/5/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      10/5/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           150
      10/5/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.22
      10/5/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      10/5/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      10/5/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      10/5/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      10/5/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      10/5/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      10/5/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      10/5/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.53
      10/5/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.73
      10/5/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      10/5/2019    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/5/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      10/5/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      10/5/2019    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              80
      10/5/2019    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      10/5/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.29
      10/5/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      10/5/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 232629 Q1202 Truck Leas        278.76
      10/5/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      10/5/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           8.57
      10/5/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/5/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/5/2019    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      10/5/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      10/5/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      10/5/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/5/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/5/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.31
      10/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.31
      10/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.02
      10/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.65
      10/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.38
      10/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.57
      10/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.41
      10/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.54
      10/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.14
      10/5/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.47
      10/5/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      10/5/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      10/5/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      10/5/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      10/5/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      10/5/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      10/5/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/5/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      10/5/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/5/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.69
      10/5/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.65
      10/5/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.54
      10/5/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.82
      10/5/2019    709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         256.55
      10/5/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60

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      10/5/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/5/2019    709   SB0103   Owner Operator   Repair Order                   CTMS - 232673 REPAIR                  230.35
      10/5/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 232629 Sub Lease               388.33
      10/5/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      10/5/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.95
      10/5/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.71
      10/5/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            328
      10/5/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      10/5/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      10/5/2019    709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                       22.08
      10/5/2019    709   SM0109   Owner Operator   T Chek Fee                     Towing 33195                         2030.89
      10/5/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      10/5/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/5/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/5/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.54
      10/5/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.92
      10/5/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/5/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/5/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      10/5/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            561
      10/5/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      10/5/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      10/5/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/5/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      10/5/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      10/5/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             300
      10/5/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/5/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/5/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.02
      10/5/2019    709   VJ0006   Owner Operator   Loan Repayment                 Conditional Credit / Loan              -5050
      10/5/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      10/5/2019    709   VJ0006   Owner Operator   Repair Order                   CTMS - 232703 REPAIR                      75
      10/5/2019    709   VJ0006   Owner Operator   T Chek Fee                     ExpressCheck Fee                          50
      10/5/2019    709   VJ0006   Owner Operator   T Chek Fee                     Tractor Repair 33961                    5000
      10/5/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Turner Turnpike East         18.05
      10/5/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Will Rogers Turnpike         18.05
      10/5/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/5/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      10/5/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      10/5/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/5/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      10/5/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      10/5/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/5/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.39
      10/5/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.75
      10/5/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.93
      10/5/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      10/5/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 232679 Q1238 Lease             311.97
      10/5/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      10/5/2019    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      10/5/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      10/5/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/5/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/5/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/5/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/5/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.22
      10/5/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.04
      10/5/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.92
      10/5/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      10/5/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      10/5/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      10/5/2019    742   BS0078   Owner Operator   Charge back by affiliate       CTMS - 232676 HVUT Form 2290              50
      10/5/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      10/5/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.29

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      10/5/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.77
      10/5/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.11
      10/5/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      10/5/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      10/5/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 HCTRA Hardy North - Ran             2
      10/5/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 HCTRA Sam Houston - Nor           3.5
      10/5/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Spencer Ma          8.48
      10/5/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      10/5/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      10/5/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         686.11
      10/5/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.22
      10/5/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         641.88
      10/5/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      10/5/2019    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/5/2019    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/5/2019    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/5/2019    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/5/2019    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/5/2019    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/5/2019    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/5/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.28
      10/5/2019    742   CT0085   Owner Operator   FUEL TAX                       October 2018 Fuel/Mileage Tax          61.15
      10/5/2019    742   CT0085   Owner Operator   FUEL TAX                       Sept 2018 Fuel/Mileage Tax             82.58
      10/5/2019    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      10/5/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/5/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/5/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/5/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/5/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/5/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/5/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/5/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/5/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/5/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/5/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/5/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/5/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/5/2019    742   CT0085   Owner Operator   Truck Payment                  CTMS - 219250 Missed Payment          352.68
      10/5/2019    742   CT0085   Owner Operator   Truck Payment                  CTMS - 219345 Sub Lease Q13171        352.68
      10/5/2019    742   CT0085   Owner Operator   Truck Payment                  CTMS - 219648 Sub Lease Q13171        352.68
      10/5/2019    742   CT0085   Owner Operator   Truck Payment                  CTMS - 219958 Sub Lease Q13171        352.68
      10/5/2019    742   CT0085   Owner Operator   Truck Payment                  CTMS - 220326 Sub Lease Q13171        352.68
      10/5/2019    742   CT0085   Owner Operator   Truck Payment                  CTMS - 220522 Sub Lease Q13171        233.14
      10/5/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/5/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           8.57
      10/5/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      10/5/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.54
      10/5/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.08
      10/5/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      10/5/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/5/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         636.58
      10/5/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          409.1
      10/5/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.29
      10/5/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          41.97
      10/5/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/5/2019    742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                    12.5
      10/5/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      10/5/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.67
      10/5/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      10/5/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/5/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      10/5/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13

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      10/5/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.42
      10/5/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.8
      10/5/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.31
      10/5/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.43
      10/5/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.29
      10/5/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.88
      10/5/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      10/5/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      10/5/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/5/2019    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      10/5/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      10/5/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/5/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.54
      10/5/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.04
      10/5/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.63
      10/5/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.13
      10/5/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      10/5/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      10/5/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/5/2019    742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      10/5/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      10/5/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      10/5/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      10/5/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      10/5/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      10/5/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      10/5/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.02
      10/5/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      10/5/2019    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   17.5
      10/5/2019    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                          196.25
      10/5/2019    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/5/2019    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.26
      10/5/2019    742   JS0390   Owner Operator   IRP License Deduction          2020 IL IRP plate refund                -727
      10/5/2019    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          88.66
      10/5/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/5/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      10/5/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/5/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/5/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      10/5/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/5/2019    742   MS0230   Owner Operator   IRP License Deduction          2020 IL IRP plate refund                -727
      10/5/2019    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           38.92
      10/5/2019    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.52
      10/5/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      10/5/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      10/5/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/5/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/5/2019    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      10/5/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      10/5/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      10/5/2019    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            100
      10/5/2019    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            100
      10/5/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/5/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/5/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/5/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.45
      10/5/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.59
      10/5/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.08
      10/5/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.33
      10/5/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          471.8
      10/5/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      10/5/2019    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      10/5/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      10/5/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      10/5/2019    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 10                 26
      10/5/2019    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 8                  26
      10/5/2019    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Cent             7
      10/5/2019    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Cent             7

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       10/5/2019   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Nort          5.25
       10/5/2019   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Nort             7
       10/5/2019   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg             7
       10/5/2019   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       10/5/2019   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       10/5/2019   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       10/5/2019   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       10/5/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       10/5/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       10/5/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.09
       10/5/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.65
       10/5/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.32
       10/5/2019   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       10/5/2019   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       10/5/2019   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       10/5/2019   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
       10/5/2019   742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 232676 HVUT Form 2290              50
       10/5/2019   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       10/5/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.63
       10/5/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.45
       10/5/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.63
       10/5/2019   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       10/5/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       10/5/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       10/5/2019   742   SK0049   Owner Operator   Accident Claim                 10/01/19 SK0049 Incident                500
       10/5/2019   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       10/5/2019   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       10/5/2019   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       10/5/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       10/5/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       10/5/2019   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       10/5/2019   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.17
       10/5/2019   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       10/5/2019   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       10/5/2019   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.54
       10/5/2019   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       10/5/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       10/5/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       10/5/2019   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       10/5/2019   843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
       10/5/2019   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       10/5/2019   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       10/5/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       10/5/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      10/12/2019   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      10/12/2019   709   AC0061   Owner Operator   Charge back by affiliate       CTMS - 232960 HVUT Form 2290              50
      10/12/2019   709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      10/12/2019   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/12/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.42
      10/12/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.87
      10/12/2019   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      10/12/2019   709   AC0061   Owner Operator   Tire Purchase                  PO: 709-00413488 - PO System          367.41
      10/12/2019   709   AC0061   Owner Operator   Truck Payment                  CTMS - 233048 Q13148 Trac Leas        296.09
      10/12/2019   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      10/12/2019   709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 232946 FUEL                   -165.63
      10/12/2019   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      10/12/2019   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.17
      10/12/2019   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      10/12/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      10/12/2019   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      10/12/2019   709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 232961 HVUT Form 2290              50
      10/12/2019   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      10/12/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.31
      10/12/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.3
      10/12/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.58
      10/12/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.41
      10/12/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.68
      10/12/2019   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      10/12/2019   709   AR0064   Owner Operator   Truck Payment                  CTMS - 232768 Q13147 Lease            440.14
      10/12/2019   709   AR0064   Owner Operator   Truck Payment                  CTMS - 233009 Q13147 Lease            440.14

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      10/12/2019   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      10/12/2019   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      10/12/2019   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      10/12/2019   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            150
      10/12/2019   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      10/12/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.36
      10/12/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.71
      10/12/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.04
      10/12/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.52
      10/12/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.25
      10/12/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.16
      10/12/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.93
      10/12/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.24
      10/12/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.73
      10/12/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.62
      10/12/2019   709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 107.17
      10/12/2019   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      10/12/2019   709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00414623 - PO System          302.43
      10/12/2019   709   AV0021   Owner Operator   Truck Payment                  CTMS - 232767 Q13169 Sublease         352.68
      10/12/2019   709   AV0021   Owner Operator   Truck Payment                  CTMS - 233008 Q13169 Sublease         352.68
      10/12/2019   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      10/12/2019   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      10/12/2019   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      10/12/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      10/12/2019   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      10/12/2019   709   CC0134   Owner Operator   Charge back by affiliate       CTMS - 233006 HVUT Form 2290              50
      10/12/2019   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      10/12/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/12/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/12/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.8
      10/12/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.26
      10/12/2019   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      10/12/2019   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      10/12/2019   709   CC0134   Owner Operator   Truck Payment                  CTMS - 232907 Q13168 sub lease        352.68
      10/12/2019   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/12/2019   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      10/12/2019   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         596.84
      10/12/2019   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      10/12/2019   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      10/12/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/12/2019   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      10/12/2019   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      10/12/2019   709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      10/12/2019   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.36
      10/12/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.35
      10/12/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.81
      10/12/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.59
      10/12/2019   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      10/12/2019   709   CR0064   Owner Operator   Truck Payment                  CTMS - 232957 Q1247 Sub Lease         263.91
      10/12/2019   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             14.99
      10/12/2019   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/12/2019   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      10/12/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.58
      10/12/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.01
      10/12/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.35
      10/12/2019   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      10/12/2019   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      10/12/2019   709   DL0107   Owner Operator   Charge back by affiliate       CTMS - 232905 HVUT Form 2290              50
      10/12/2019   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      10/12/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.68
      10/12/2019   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      10/12/2019   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75

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      10/12/2019   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      10/12/2019   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      10/12/2019   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/12/2019   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                    12.5
      10/12/2019   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      10/12/2019   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      10/12/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.01
      10/12/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.51
      10/12/2019   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      10/12/2019   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      10/12/2019   709   DS0049   Owner Operator   Truck Payment                  CTMS - 232717 TRK RENTAL               51.33
      10/12/2019   709   DS0049   Owner Operator   Truck Payment                  CTMS - 232856 TRUCK RENTAL              500
      10/12/2019   709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/12/2019   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      10/12/2019   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      10/12/2019   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         606.41
      10/12/2019   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         603.81
      10/12/2019   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      10/12/2019   709   DS0225   Owner Operator   Truck Payment                  CTMS - 232875 PM BALANCE                  45
      10/12/2019   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/12/2019   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      10/12/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/12/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/12/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.37
      10/12/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.31
      10/12/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.74
      10/12/2019   709   DS0288   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         294.81
      10/12/2019   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      10/12/2019   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/12/2019   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      10/12/2019   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/12/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.55
      10/12/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.81
      10/12/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.05
      10/12/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         687.99
      10/12/2019   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      10/12/2019   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      10/12/2019   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      10/12/2019   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      10/12/2019   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      10/12/2019   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                          1700
      10/12/2019   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         676.49
      10/12/2019   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      10/12/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      10/12/2019   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      10/12/2019   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      10/12/2019   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/12/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.06
      10/12/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.02
      10/12/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.14
      10/12/2019   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      10/12/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      10/12/2019   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      10/12/2019   709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 233006 HVUT Form 2290              50
      10/12/2019   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      10/12/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      10/12/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/12/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/12/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/12/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          430.7
      10/12/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.46
      10/12/2019   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      10/12/2019   709   FS0039   Owner Operator   Truck Payment                  CTMS - 232767 truck lease 3304        434.29
      10/12/2019   709   FS0039   Owner Operator   Truck Payment                  CTMS - 233008 truck lease 3304        434.29
      10/12/2019   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/12/2019   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      10/12/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          229.2
      10/12/2019   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      10/12/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/12/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      10/12/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      10/12/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      10/12/2019   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/12/2019   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/12/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.6
      10/12/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          164.5
      10/12/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.85
      10/12/2019   709   GA0051   Owner Operator   IRP License Deduction          LCIL:2019 - 34330                     828.41
      10/12/2019   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      10/12/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             28.91
      10/12/2019   709   GA0051   Owner Operator   Truck Payment                  CTMS - 232954 Q1200 Lease             238.16
      10/12/2019   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      10/12/2019   709   GS0015   Owner Operator   Charge back by affiliate       CTMS - 232904 HVUT Form 2290              50
      10/12/2019   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      10/12/2019   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.68
      10/12/2019   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.52
      10/12/2019   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      10/12/2019   709   GS0015   Owner Operator   Tire Purchase                  PO: 709-00413109 - PO System           40.85
      10/12/2019   709   GS0015   Owner Operator   Truck Payment                  CTMS - 232957 Amortized Balloo        200.15
      10/12/2019   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      10/12/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.64
      10/12/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.22
      10/12/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.95
      10/12/2019   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      10/12/2019   709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      10/12/2019   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      10/12/2019   709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 232904 HVUT Form 2290              50
      10/12/2019   709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 232946 FUEL                        -7
      10/12/2019   709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 233036 FUEL RECEIPTS               -5
      10/12/2019   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      10/12/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.44
      10/12/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.13
      10/12/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.71
      10/12/2019   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      10/12/2019   709   HC0023   Owner Operator   Repair Order                   CTMS - 232875 REPAIR/ PARTS            43.49
      10/12/2019   709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00412029 - PO System           261.8
      10/12/2019   709   HC0023   Owner Operator   Truck Payment                  CTMS - 232962 Q13170                  352.68
      10/12/2019   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/12/2019   709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      10/12/2019   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           300
      10/12/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.51
      10/12/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.52
      10/12/2019   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      10/12/2019   709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00415214 - PO System          115.18
      10/12/2019   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/12/2019   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      10/12/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.77
      10/12/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.5
      10/12/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.11
      10/12/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          423.6

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      10/12/2019   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      10/12/2019   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/12/2019   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      10/12/2019   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      10/12/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.71
      10/12/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.78
      10/12/2019   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      10/12/2019   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      10/12/2019   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/12/2019   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      10/12/2019   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.17
      10/12/2019   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.6
      10/12/2019   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      10/12/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/12/2019   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/12/2019   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      10/12/2019   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.39
      10/12/2019   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      10/12/2019   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      10/12/2019   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      10/12/2019   709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 233006 HVUT Form 2290              50
      10/12/2019   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      10/12/2019   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      10/12/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.65
      10/12/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.41
      10/12/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.22
      10/12/2019   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      10/12/2019   709   JC0292   Owner Operator   Toll Charges                   Q13197 DRJTBC O78                         20
      10/12/2019   709   JC0292   Owner Operator   Toll Charges                   Q13197 OTC Westgate                    37.25
      10/12/2019   709   JC0292   Owner Operator   Truck Payment                  CTMS - 232954 Q13197 Lease            276.63
      10/12/2019   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/12/2019   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      10/12/2019   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      10/12/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      10/12/2019   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/12/2019   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      10/12/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/12/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/12/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.14
      10/12/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.19
      10/12/2019   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      10/12/2019   709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      10/12/2019   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      10/12/2019   709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/12/2019   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/12/2019   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      10/12/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/12/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/12/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         576.11
      10/12/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.48
      10/12/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.68
      10/12/2019   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      10/12/2019   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      10/12/2019   709   JG0072   Owner Operator   Repair Order                   CTMS - 232961 PARTS FOR REPAIR          296
      10/12/2019   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/12/2019   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      10/12/2019   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                           150
      10/12/2019   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.41
      10/12/2019   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.45

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      10/12/2019   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      10/12/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      10/12/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/12/2019   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      10/12/2019   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      10/12/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      10/12/2019   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      10/12/2019   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      10/12/2019   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.85
      10/12/2019   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      10/12/2019   709   JR0099   Owner Operator   Repair Order                   CTMS - 232856 REPAIRS / RENTAL        307.31
      10/12/2019   709   JR0099   Owner Operator   Truck Payment                  CTMS - 232861 Truck Lease             278.76
      10/12/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      10/12/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      10/12/2019   709   JS0265   Owner Operator   Charge back by affiliate       CTMS - 232960 HVUT Form 2290              50
      10/12/2019   709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      10/12/2019   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/12/2019   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/12/2019   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            400
      10/12/2019   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      10/12/2019   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/12/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.71
      10/12/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.06
      10/12/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.9
      10/12/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.22
      10/12/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.76
      10/12/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      10/12/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      10/12/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      10/12/2019   709   JS0265   Owner Operator   Truck Payment                  CTMS - 232956 Q13159 Lease             331.5
      10/12/2019   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/12/2019   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      10/12/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/12/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/12/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/12/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/12/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/12/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/12/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           280
      10/12/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          105.3
      10/12/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           114
      10/12/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           325
      10/12/2019   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      10/12/2019   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      10/12/2019   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      10/12/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/12/2019   709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00415119 - PO System          348.42
      10/12/2019   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      10/12/2019   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      10/12/2019   709   KT0055   Owner Operator   Truck Payment                  CTMS - 232901 Q13156 Lease            284.43
      10/12/2019   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      10/12/2019   709   LL0160   Owner Operator   Charge back by affiliate       CTMS - 232905 HVUT Form 2290              50
      10/12/2019   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      10/12/2019   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      10/12/2019   709   LL0160   Owner Operator   Truck Payment                  CTMS - 233008 Lease Q1111             252.11
      10/12/2019   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      10/12/2019   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      10/12/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.91
      10/12/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         702.49
      10/12/2019   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      10/12/2019   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/12/2019   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8

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      10/12/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.55
      10/12/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.87
      10/12/2019   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      10/12/2019   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/12/2019   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      10/12/2019   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      10/12/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.02
      10/12/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.27
      10/12/2019   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      10/12/2019   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/12/2019   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      10/12/2019   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          503.8
      10/12/2019   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.24
      10/12/2019   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      10/12/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/12/2019   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/12/2019   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      10/12/2019   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      10/12/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      10/12/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      10/12/2019   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.93
      10/12/2019   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      10/12/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/12/2019   709   MP0035   Owner Operator   Repair Order                   CTMS - 232856 REPAIR                    230
      10/12/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      10/12/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      10/12/2019   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      10/12/2019   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/12/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         613.22
      10/12/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.17
      10/12/2019   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      10/12/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      10/12/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      10/12/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      10/12/2019   709   NB0029   Owner Operator   Truck Payment                  CTMS - 232956 32986 Lease             314.03
      10/12/2019   709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/12/2019   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/12/2019   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      10/12/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/12/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/12/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.2
      10/12/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.31
      10/12/2019   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      10/12/2019   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/12/2019   709   NT9564   Owner Operator   Charge back by affiliate       CTMS - 232960 HVUT Form 2290              50
      10/12/2019   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      10/12/2019   709   NT9564   Owner Operator   Truck Payment                  CTMS - 233053 Truck 73130 Leas        196.65
      10/12/2019   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/12/2019   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      10/12/2019   709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/12/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.88
      10/12/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          282.9
      10/12/2019   709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      10/12/2019   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      10/12/2019   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      10/12/2019   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      10/12/2019   709   RB0170   Owner Operator   Charge back by affiliate       CTMS - 232960 HVUT Form 2290              50
      10/12/2019   709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      10/12/2019   709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/12/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.84
      10/12/2019   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/12/2019   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      10/12/2019   709   RB0170   Owner Operator   Tire Fee                       Rvrs Tire Fee for 709-00414622            -8
      10/12/2019   709   RB0170   Owner Operator   Tire Purchase                  Mv PO 709-00414622 to WC0032         -994.81
      10/12/2019   709   RB0170   Owner Operator   Tire Purchase                  PO: 709-00414622 - PO System          596.87
      10/12/2019   709   RB0170   Owner Operator   Truck Payment                  CTMS - 232904 Q1241 Truck leas        321.84
      10/12/2019   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/12/2019   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      10/12/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          485.5
      10/12/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                           15.5
      10/12/2019   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      10/12/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/12/2019   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/12/2019   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      10/12/2019   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           150
      10/12/2019   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         686.92
      10/12/2019   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      10/12/2019   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      10/12/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/12/2019   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      10/12/2019   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/12/2019   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      10/12/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/12/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/12/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.82
      10/12/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          130.6
      10/12/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.54
      10/12/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.61
      10/12/2019   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      10/12/2019   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      10/12/2019   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00413364 - PO System          375.65
      10/12/2019   709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/12/2019   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/12/2019   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      10/12/2019   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           150
      10/12/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.99
      10/12/2019   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      10/12/2019   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      10/12/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      10/12/2019   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      10/12/2019   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      10/12/2019   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      10/12/2019   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      10/12/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.45
      10/12/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.14
      10/12/2019   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      10/12/2019   709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/12/2019   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      10/12/2019   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      10/12/2019   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.25
      10/12/2019   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      10/12/2019   709   RP0082   Owner Operator   Truck Payment                  CTMS - 232861 Q1202 Truck Leas        278.76
      10/12/2019   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      10/12/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.17
      10/12/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.14
      10/12/2019   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          38.93
      10/12/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      10/12/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      10/12/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      10/12/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      10/12/2019   709   RR0123   Owner Operator   T Chek Fee                     Tractor Repair Q1248                 2853.05
      10/12/2019   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/12/2019   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      10/12/2019   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          24.46
      10/12/2019   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      10/12/2019   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/12/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.45
      10/12/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.49
      10/12/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.92
      10/12/2019   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                       33.17
      10/12/2019   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/12/2019   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   100.98
      10/12/2019   709   SB0009   Owner Operator   Repair Order                   CTMS - 232875 REPAIRS                  335.65
      10/12/2019   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
      10/12/2019   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      10/12/2019   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      10/12/2019   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             100
      10/12/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.91
      10/12/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          260.09
      10/12/2019   709   SB0103   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          253.78
      10/12/2019   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/12/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      10/12/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      10/12/2019   709   SB0103   Owner Operator   Truck Payment                  CTMS - 232861 Sub Lease                388.33
      10/12/2019   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
      10/12/2019   709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                     12.5
      10/12/2019   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      10/12/2019   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      10/12/2019   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                             100
      10/12/2019   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                             100
      10/12/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                             461
      10/12/2019   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       33.17
      10/12/2019   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/12/2019   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
      10/12/2019   709   SM0109   Owner Operator   Repair Order                   CTMS - 232666 REPAIRS                     257
      10/12/2019   709   SM0109   Owner Operator   Repair Order                   CTMS - 232856 REPAIRS                     257
      10/12/2019   709   SM0109   Owner Operator   T Chek Fee                     Towing 33195                           176.61
      10/12/2019   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
      10/12/2019   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      10/12/2019   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      10/12/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                              100
      10/12/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                              200
      10/12/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/12/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      10/12/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.54
      10/12/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.73
      10/12/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          139.26
      10/12/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.33
      10/12/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.14
      10/12/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          158.78
      10/12/2019   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/12/2019   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
      10/12/2019   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      10/12/2019   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      10/12/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          540.82
      10/12/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          552.05
      10/12/2019   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/12/2019   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
      10/12/2019   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    154.84
      10/12/2019   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      10/12/2019   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      10/12/2019   709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                       -1200
      10/12/2019   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                             200
      10/12/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                              200
      10/12/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/12/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.65
      10/12/2019   709   VJ0006   Owner Operator   Loan Repayment                 Conditional Credit / Loan            -2881.07
      10/12/2019   709   VJ0006   Owner Operator   Loan Repayment                 EFS 229878                              -5050
      10/12/2019   709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          258.66
      10/12/2019   709   VJ0006   Owner Operator   Loan Repayment                 Rev Conditional Credit / Loan            5050
      10/12/2019   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/12/2019   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.54
      10/12/2019   709   VJ0006   Owner Operator   T Chek Fee                     ExpressCheck Fee                        28.53
      10/12/2019   709   VJ0006   Owner Operator   T Chek Fee                     Tractor Repair 33961                  2852.54
      10/12/2019   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      10/12/2019   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      10/12/2019   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/12/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25

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      10/12/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/12/2019   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      10/12/2019   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      10/12/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/12/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/12/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.5
      10/12/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.37
      10/12/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.67
      10/12/2019   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      10/12/2019   709   WH0087   Owner Operator   Truck Payment                  CTMS - 232907 Q1238 Lease             311.97
      10/12/2019   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      10/12/2019   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      10/12/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/12/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/12/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/12/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/12/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.91
      10/12/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.94
      10/12/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.43
      10/12/2019   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      10/12/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      10/12/2019   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      10/12/2019   742   BS0078   Owner Operator   Charge back by affiliate       CTMS - 232904 HVUT Form 2290              50
      10/12/2019   742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      10/12/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.96
      10/12/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.46
      10/12/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          281.2
      10/12/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.18
      10/12/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.64
      10/12/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.13
      10/12/2019   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      10/12/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      10/12/2019   742   BS0078   Owner Operator   Truck Payment                  CTMS - 232396 Lease of Q13151         388.16
      10/12/2019   742   BS0078   Owner Operator   Truck Payment                  CTMS - 232674 Lease of Q13151         388.16
      10/12/2019   742   BS0078   Owner Operator   Truck Payment                  CTMS - 232902 Lease of Q13151         388.16
      10/12/2019   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      10/12/2019   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      10/12/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.35
      10/12/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.45
      10/12/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.12
      10/12/2019   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      10/12/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/12/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            31.25
      10/12/2019   742   CT0085   Owner Operator   Truck Payment                  CTMS - 220522 Sub Lease Q13171        119.54
      10/12/2019   742   CT0085   Owner Operator   Truck Payment                  CTMS - 220805 Sub Lease Q13171        352.68
      10/12/2019   742   CT0085   Owner Operator   Truck Payment                  CTMS - 221123 Sub Lease Q13171        352.68
      10/12/2019   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          14.99
      10/12/2019   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      10/12/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.24
      10/12/2019   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      10/12/2019   742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 232805 HVUT Form 2290              50
      10/12/2019   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      10/12/2019   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      10/12/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.52
      10/12/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.9
      10/12/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.85
      10/12/2019   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           5.53
      10/12/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      10/12/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      10/12/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      10/12/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      10/12/2019   742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00413108 - PO System          176.37
      10/12/2019   742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00413108 - PO System           176.3
      10/12/2019   742   DS0254   Owner Operator   Toll Charges                   33487 OTA Turner Turnpike East           2.2
      10/12/2019   742   DS0254   Owner Operator   Toll Charges                   33487 OTA Turner Turnpike West         15.85

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      10/12/2019   742   DS0254   Owner Operator   Toll Charges                   33487 OTA Will Rogers Turnpike         18.05
      10/12/2019   742   DS0254   Owner Operator   Truck Payment                  CTMS - 232442 Trk 33487 Lease          434.2
      10/12/2019   742   DS0254   Owner Operator   Truck Payment                  CTMS - 232702 TRUCK RENTAL              240
      10/12/2019   742   DS0254   Owner Operator   Truck Payment                  CTMS - 232717 Trk 33487 Lease          434.2
      10/12/2019   742   DS0254   Owner Operator   Truck Payment                  CTMS - 232955 Trk 33487 Lease          434.2
      10/12/2019   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/12/2019   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      10/12/2019   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.87
      10/12/2019   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.19
      10/12/2019   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.61
      10/12/2019   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      10/12/2019   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/12/2019   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      10/12/2019   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      10/12/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.43
      10/12/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.04
      10/12/2019   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      10/12/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      10/12/2019   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/12/2019   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/12/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                           88.5
      10/12/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.49
      10/12/2019   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      10/12/2019   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      10/12/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      10/12/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      10/12/2019   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      10/12/2019   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      10/12/2019   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         706.68
      10/12/2019   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      10/12/2019   742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           6.34
      10/12/2019   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    7.76
      10/12/2019   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/12/2019   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          21.21
      10/12/2019   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      10/12/2019   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      10/12/2019   742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      10/12/2019   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      10/12/2019   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      10/12/2019   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           61.08
      10/12/2019   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/12/2019   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          164.9
      10/12/2019   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.32
      10/12/2019   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.05
      10/12/2019   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.92
      10/12/2019   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      10/12/2019   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      10/12/2019   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      10/12/2019   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      10/12/2019   742   NG0024   Owner Operator   Repair Order                   CTMS - 232744 repair                    250
      10/12/2019   742   NG0024   Owner Operator   Repair Order                   CTMS - 232978 repair                    250
      10/12/2019   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/12/2019   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    8.06
      10/12/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.99
      10/12/2019   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      10/12/2019   742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 232904 HVUT Form 2290              50
      10/12/2019   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      10/12/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.43
      10/12/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.94
      10/12/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.8
      10/12/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.45
      10/12/2019   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      10/12/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      10/12/2019   742   RN0054   Owner Operator   Toll Charges                   Q13157 CTRMA SH550 - DC North              1
      10/12/2019   742   RN0054   Owner Operator   Truck Payment                  CTMS - 232450 Tractor Lease           353.28
      10/12/2019   742   RN0054   Owner Operator   Truck Payment                  CTMS - 232724 Tractor Lease           353.28
      10/12/2019   742   RN0054   Owner Operator   Truck Payment                  CTMS - 232961 Tractor Lease           353.28

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      10/12/2019   742   RS0342   Owner Operator   Arrears                        Credit Billing                        106.68
      10/12/2019   742   RS0342   Owner Operator   ESCROW                         Final Balance Refund                   -3000
      10/12/2019   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/12/2019   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      10/12/2019   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      10/12/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      10/12/2019   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      10/12/2019   742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 232676 HVUT Form 2290              50
      10/12/2019   742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 232904 HVUT Form 2290              50
      10/12/2019   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      10/12/2019   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      10/12/2019   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/12/2019   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/12/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.19
      10/12/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.83
      10/12/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.03
      10/12/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.3
      10/12/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.52
      10/12/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.44
      10/12/2019   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          45.33
      10/12/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      10/12/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      10/12/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      10/12/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      10/12/2019   742   TC0098   Owner Operator   Truck Payment                  CTMS - 232507 33489 Lease Paym        412.16
      10/12/2019   742   TC0098   Owner Operator   Truck Payment                  CTMS - 232760 33489 Lease Paym        412.16
      10/12/2019   742   TC0098   Owner Operator   Truck Payment                  CTMS - 233000 33489 Lease Paym        412.16
      10/12/2019   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/12/2019   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      10/12/2019   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.73
      10/12/2019   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      10/12/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/12/2019   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      10/12/2019   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      10/12/2019   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      10/12/2019   843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.87
      10/12/2019   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/12/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      10/12/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      10/19/2019   406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      10/19/2019   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      10/19/2019   709   AC0061   Owner Operator   Charge back by affiliate       CTMS - 233191 HVUT Form 2290              50
      10/19/2019   709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      10/19/2019   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/19/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.79
      10/19/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.84
      10/19/2019   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      10/19/2019   709   AC0061   Owner Operator   Truck Payment                  CTMS - 233317 Q13148 Trac Leas        296.09
      10/19/2019   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      10/19/2019   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      10/19/2019   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      10/19/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      10/19/2019   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      10/19/2019   709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 233191 HVUT Form 2290              50
      10/19/2019   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      10/19/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.98
      10/19/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.84
      10/19/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.26
      10/19/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.3
      10/19/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.13
      10/19/2019   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      10/19/2019   709   AR0064   Owner Operator   Tire Fee                       Tire Fee: 2332806                         16
      10/19/2019   709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00415983 - PO System          441.18
      10/19/2019   709   AR0064   Owner Operator   Truck Payment                  CTMS - 233276 Q13147 Lease            440.14
      10/19/2019   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      10/19/2019   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      10/19/2019   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8

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      10/19/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.47
      10/19/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           38.7
      10/19/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.4
      10/19/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.95
      10/19/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.06
      10/19/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.41
      10/19/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.39
      10/19/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.75
      10/19/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          270.2
      10/19/2019   709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 718.56
      10/19/2019   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      10/19/2019   709   AV0021   Owner Operator   Tire Purchase                  PO: 709-00414623 - PO System          302.38
      10/19/2019   709   AV0021   Owner Operator   Truck Payment                  CTMS - 233275 Q13169 Sublease         352.68
      10/19/2019   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      10/19/2019   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      10/19/2019   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      10/19/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      10/19/2019   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      10/19/2019   709   CC0134   Owner Operator   Charge back by affiliate       CTMS - 233272 HVUT Form 2290              50
      10/19/2019   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      10/19/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/19/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/19/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.44
      10/19/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.54
      10/19/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.34
      10/19/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.26
      10/19/2019   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      10/19/2019   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      10/19/2019   709   CC0134   Owner Operator   Truck Payment                  CTMS - 233145 Q13168 sub lease        352.68
      10/19/2019   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/19/2019   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      10/19/2019   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.55
      10/19/2019   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         592.79
      10/19/2019   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      10/19/2019   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      10/19/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/19/2019   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      10/19/2019   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      10/19/2019   709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      10/19/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.05
      10/19/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.07
      10/19/2019   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      10/19/2019   709   CR0064   Owner Operator   Truck Payment                  CTMS - 233188 Q1247 Sub Lease         263.91
      10/19/2019   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/19/2019   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      10/19/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.52
      10/19/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.03
      10/19/2019   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      10/19/2019   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      10/19/2019   709   DL0107   Owner Operator   Charge back by affiliate       CTMS - 233143 HVUT Form 2290              50
      10/19/2019   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      10/19/2019   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/19/2019   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/19/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         567.22
      10/19/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.3
      10/19/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         597.89
      10/19/2019   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      10/19/2019   709   DL0107   Owner Operator   Truck Payment                  CTMS - 233159 Baloon payoff           350.23
      10/19/2019   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      10/19/2019   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      10/19/2019   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      10/19/2019   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/19/2019   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13

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      10/19/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      10/19/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/19/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.87
      10/19/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.78
      10/19/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.32
      10/19/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.14
      10/19/2019   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      10/19/2019   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      10/19/2019   709   DS0049   Owner Operator   Truck Payment                  CTMS - 233106 TRUCK RENTAL               500
      10/19/2019   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      10/19/2019   709   DS0225   Owner Operator   Charge back by affiliate       CTMS - 233235 TRL TIRE REPAIR            -40
      10/19/2019   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      10/19/2019   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          663.8
      10/19/2019   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      10/19/2019   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/19/2019   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      10/19/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/19/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/19/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/19/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/19/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.03
      10/19/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          282.2
      10/19/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.76
      10/19/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.92
      10/19/2019   709   DS0288   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         294.81
      10/19/2019   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      10/19/2019   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/19/2019   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      10/19/2019   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      10/19/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/19/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/19/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.62
      10/19/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.69
      10/19/2019   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      10/19/2019   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      10/19/2019   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      10/19/2019   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      10/19/2019   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      10/19/2019   709   EG0062   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
      10/19/2019   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.97
      10/19/2019   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      10/19/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      10/19/2019   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      10/19/2019   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      10/19/2019   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            100
      10/19/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/19/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.44
      10/19/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.71
      10/19/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.56
      10/19/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            424
      10/19/2019   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      10/19/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      10/19/2019   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      10/19/2019   709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 233130 FUEL RECEIPTS              -15
      10/19/2019   709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 233272 HVUT Form 2290              50
      10/19/2019   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      10/19/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/19/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/19/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/19/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.59
      10/19/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.67
      10/19/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.77
      10/19/2019   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/19/2019   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      10/19/2019   709   FS0039   Owner Operator   Repair Order                   TRACTOR 33040                             65
      10/19/2019   709   FS0039   Owner Operator   Truck Payment                  CTMS - 233275 truck lease 3304        434.29
      10/19/2019   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/19/2019   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      10/19/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.18
      10/19/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.48
      10/19/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.16
      10/19/2019   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      10/19/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/19/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      10/19/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      10/19/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      10/19/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.91
      10/19/2019   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      10/19/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             28.91
      10/19/2019   709   GA0051   Owner Operator   Truck Payment                  CTMS - 233192 Q1200 Lease             238.16
      10/19/2019   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      10/19/2019   709   GS0015   Owner Operator   Charge back by affiliate       CTMS - 233142 HVUT Form 2290              50
      10/19/2019   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      10/19/2019   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.25
      10/19/2019   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      10/19/2019   709   GS0015   Owner Operator   Truck Payment                  CTMS - 233188 Amortized Balloo        200.15
      10/19/2019   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      10/19/2019   709   GW0043   Owner Operator   Charge back by affiliate       CTMS - 232904 HVUT Form 2290              50
      10/19/2019   709   GW0043   Owner Operator   Charge back by affiliate       CTMS - 233142 HVUT Form 2290              50
      10/19/2019   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      10/19/2019   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      10/19/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          274.5
      10/19/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.22
      10/19/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.1
      10/19/2019   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      10/19/2019   709   GW0043   Owner Operator   Tire Purchase                  Tire 905-03351697 9/7/19              198.55
      10/19/2019   709   GW0043   Owner Operator   Truck Payment                  CTMS - 232800 Q1109 Lease             302.85
      10/19/2019   709   GW0043   Owner Operator   Truck Payment                  CTMS - 233046 Q1109 Lease             302.85
      10/19/2019   709   GW0043   Owner Operator   Truck Payment                  CTMS - 233314 Q1109 Lease             302.85
      10/19/2019   709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      10/19/2019   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      10/19/2019   709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 233142 HVUT Form 2290              50
      10/19/2019   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      10/19/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.49
      10/19/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.12
      10/19/2019   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      10/19/2019   709   HC0023   Owner Operator   Truck Payment                  CTMS - 233193 Q13170                  352.68
      10/19/2019   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/19/2019   709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      10/19/2019   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           300
      10/19/2019   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.84
      10/19/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.3
      10/19/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         654.55
      10/19/2019   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      10/19/2019   709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00415214 - PO System          115.18
      10/19/2019   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/19/2019   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      10/19/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         603.37
      10/19/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.76
      10/19/2019   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      10/19/2019   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/19/2019   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      10/19/2019   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150

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      10/19/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.22
      10/19/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.23
      10/19/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.58
      10/19/2019   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      10/19/2019   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      10/19/2019   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/19/2019   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      10/19/2019   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.69
      10/19/2019   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.24
      10/19/2019   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      10/19/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/19/2019   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/19/2019   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      10/19/2019   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.28
      10/19/2019   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      10/19/2019   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      10/19/2019   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      10/19/2019   709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 233273 HVUT Form 2290              50
      10/19/2019   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      10/19/2019   709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                      -7600
      10/19/2019   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      10/19/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/19/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/19/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.93
      10/19/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.41
      10/19/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.85
      10/19/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.58
      10/19/2019   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      10/19/2019   709   JC0292   Owner Operator   Truck Payment                  CTMS - 233194 Q13197 Lease            276.63
      10/19/2019   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/19/2019   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      10/19/2019   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      10/19/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      10/19/2019   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/19/2019   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      10/19/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             500
      10/19/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/19/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                            244
      10/19/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.67
      10/19/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          286.7
      10/19/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.47
      10/19/2019   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      10/19/2019   709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      10/19/2019   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      10/19/2019   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/19/2019   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      10/19/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             500
      10/19/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/19/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.73
      10/19/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.12
      10/19/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          537.6
      10/19/2019   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      10/19/2019   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      10/19/2019   709   JG0072   Owner Operator   Repair Order                   CTMS - 233192 PARTS FOR REPAIR           296
      10/19/2019   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/19/2019   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      10/19/2019   709   JG0092   Owner Operator   ESCROW                         Weekly Escrow                            150
      10/19/2019   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.24
      10/19/2019   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.91
      10/19/2019   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      10/19/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      10/19/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/19/2019   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8

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      10/19/2019   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.76
      10/19/2019   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      10/19/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      10/19/2019   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      10/19/2019   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      10/19/2019   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.57
      10/19/2019   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      10/19/2019   709   JR0099   Owner Operator   Truck Payment                  CTMS - 233106 Truck Lease             278.76
      10/19/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      10/19/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      10/19/2019   709   JS0265   Owner Operator   Charge back by affiliate       CTMS - 233190 HVUT Form 2290              50
      10/19/2019   709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      10/19/2019   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/19/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.89
      10/19/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.91
      10/19/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.91
      10/19/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.15
      10/19/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      10/19/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      10/19/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      10/19/2019   709   JS0265   Owner Operator   Truck Payment                  CTMS - 233187 Q13159 Lease             331.5
      10/19/2019   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/19/2019   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      10/19/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/19/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/19/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/19/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/19/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.01
      10/19/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           247
      10/19/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.02
      10/19/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.01
      10/19/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             40
      10/19/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           253
      10/19/2019   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      10/19/2019   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      10/19/2019   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      10/19/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/19/2019   709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00415119 - PO System          348.42
      10/19/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.87
      10/19/2019   709   KT0055   Owner Operator   Truck Payment                  CTMS - 232901 Q13156 Lease            103.73
      10/19/2019   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      10/19/2019   709   LL0160   Owner Operator   Charge back by affiliate       CTMS - 233142 HVUT Form 2290              50
      10/19/2019   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      10/19/2019   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      10/19/2019   709   LL0160   Owner Operator   Truck Payment                  CTMS - 233275 Lease Q1111             252.11
      10/19/2019   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      10/19/2019   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      10/19/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.81
      10/19/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.83
      10/19/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.93
      10/19/2019   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      10/19/2019   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/19/2019   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      10/19/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.13
      10/19/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.14
      10/19/2019   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      10/19/2019   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/19/2019   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      10/19/2019   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      10/19/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.93
      10/19/2019   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      10/19/2019   709   ME0053   Owner Operator   Arrears                        Credit Billing                          9.19

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      10/19/2019   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      10/19/2019   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      10/19/2019   709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 233052 HVUT Form 2290              50
      10/19/2019   709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 233321 HVUT Form 2290              50
      10/19/2019   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      10/19/2019   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      10/19/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.61
      10/19/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.83
      10/19/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          453.4
      10/19/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          283.5
      10/19/2019   709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      10/19/2019   709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      10/19/2019   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      10/19/2019   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.07
      10/19/2019   709   ME0053   Owner Operator   Truck Payment                  CTMS - 232908 Q1113 Lease             252.11
      10/19/2019   709   ME0053   Owner Operator   Truck Payment                  CTMS - 233145 Q1113 Lease             252.11
      10/19/2019   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/19/2019   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      10/19/2019   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.49
      10/19/2019   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.71
      10/19/2019   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      10/19/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/19/2019   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/19/2019   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      10/19/2019   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      10/19/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/19/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/19/2019   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          424.5
      10/19/2019   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      10/19/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/19/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      10/19/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      10/19/2019   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      10/19/2019   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/19/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.08
      10/19/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.62
      10/19/2019   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      10/19/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      10/19/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      10/19/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      10/19/2019   709   NB0029   Owner Operator   Truck Payment                  CTMS - 233187 32986 Lease             314.03
      10/19/2019   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/19/2019   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      10/19/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/19/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/19/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.96
      10/19/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.9
      10/19/2019   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      10/19/2019   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/19/2019   709   NT9564   Owner Operator   Charge back by affiliate       CTMS - 233190 HVUT Form 2290              50
      10/19/2019   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      10/19/2019   709   NT9564   Owner Operator   Truck Payment                  CTMS - 233322 Truck 73130 Leas        196.65
      10/19/2019   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/19/2019   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      10/19/2019   709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/19/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.53
      10/19/2019   709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      10/19/2019   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      10/19/2019   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      10/19/2019   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      10/19/2019   709   RB0170   Owner Operator   Charge back by affiliate       CTMS - 233191 HVUT Form 2290              50
      10/19/2019   709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      10/19/2019   709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50

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      10/19/2019   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              40
      10/19/2019   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      10/19/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.9
      10/19/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.16
      10/19/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.66
      10/19/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.24
      10/19/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.32
      10/19/2019   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      10/19/2019   709   RB0170   Owner Operator   Truck Payment                  CTMS - 233141 Q1241 Truck leas        321.84
      10/19/2019   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/19/2019   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      10/19/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.37
      10/19/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.62
      10/19/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.74
      10/19/2019   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      10/19/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/19/2019   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/19/2019   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      10/19/2019   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           150
      10/19/2019   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         608.36
      10/19/2019   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      10/19/2019   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      10/19/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/19/2019   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      10/19/2019   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/19/2019   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      10/19/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/19/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/19/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          520.3
      10/19/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.03
      10/19/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.06
      10/19/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          67.67
      10/19/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.76
      10/19/2019   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      10/19/2019   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      10/19/2019   709   RL0062   Owner Operator   Tire Fee                       Tire Fee: 2331554                          8
      10/19/2019   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00407268 - PO System          246.45
      10/19/2019   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/19/2019   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      10/19/2019   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           150
      10/19/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.04
      10/19/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.99
      10/19/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.08
      10/19/2019   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      10/19/2019   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      10/19/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      10/19/2019   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      10/19/2019   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      10/19/2019   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      10/19/2019   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      10/19/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.34
      10/19/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.94
      10/19/2019   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      10/19/2019   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      10/19/2019   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      10/19/2019   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.42
      10/19/2019   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      10/19/2019   709   RP0082   Owner Operator   Truck Payment                  CTMS - 233106 Q1202 Truck Leas        278.76
      10/19/2019   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      10/19/2019   709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                    12.5
      10/19/2019   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      10/19/2019   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8

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      10/19/2019   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      10/19/2019   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      10/19/2019   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            160
      10/19/2019   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      10/19/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.02
      10/19/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.69
      10/19/2019   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      10/19/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      10/19/2019   709   RR0123   Owner Operator   T Chek Fee                     Tractor Repair Q1248                 1792.85
      10/19/2019   709   RR0123   Owner Operator   Tire Fee                       Tire Fee: 2324840                          8
      10/19/2019   709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00414621 - PO System          184.81
      10/19/2019   709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00414621 - PO System          184.81
      10/19/2019   709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00414621 - PO System          184.81
      10/19/2019   709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00414621 - PO System            84.9
      10/19/2019   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/19/2019   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      10/19/2019   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/19/2019   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                         175.54
      10/19/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.77
      10/19/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.34
      10/19/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.15
      10/19/2019   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      10/19/2019   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      10/19/2019   709   SB0009   Owner Operator   Repair Order                   CTMS - 233101 REPAIRS                 335.65
      10/19/2019   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      10/19/2019   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/19/2019   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      10/19/2019   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/19/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.88
      10/19/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.29
      10/19/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.69
      10/19/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.32
      10/19/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.84
      10/19/2019   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      10/19/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/19/2019   709   SB0103   Owner Operator   Truck Payment                  CTMS - 233106 Sub Lease               388.33
      10/19/2019   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      10/19/2019   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      10/19/2019   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/19/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           388
      10/19/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      10/19/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           500
      10/19/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.17
      10/19/2019   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      10/19/2019   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      10/19/2019   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      10/19/2019   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/19/2019   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/19/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.03
      10/19/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.59
      10/19/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.73
      10/19/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.38
      10/19/2019   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/19/2019   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/19/2019   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      10/19/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.58
      10/19/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.14
      10/19/2019   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      10/19/2019   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    43.08
      10/19/2019   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/19/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/19/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      10/19/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/19/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.82
      10/19/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.28
      10/19/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.22
      10/19/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.83
      10/19/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.99
      10/19/2019   709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         258.66
      10/19/2019   709   VJ0006   Owner Operator   Loan Repayment                 Rev Conditional Credit / Loan        2881.07
      10/19/2019   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      10/19/2019   709   VJ0006   Owner Operator   Toll Charges                   33961 NTTA Exit I35WS-US287S-2           3.8
      10/19/2019   709   VJ0006   Owner Operator   Toll Charges                   33961 NTTA I-35W SOUTH/I-820 T           3.8
      10/19/2019   709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Turner Turnpike West         18.05
      10/19/2019   709   VJ0006   Owner Operator   Toll Charges                   33961 OTA Will Rogers Turnpike         18.05
      10/19/2019   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/19/2019   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      10/19/2019   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      10/19/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/19/2019   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      10/19/2019   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      10/19/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/19/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/19/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.14
      10/19/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.95
      10/19/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          102.7
      10/19/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.66
      10/19/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.82
      10/19/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.07
      10/19/2019   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      10/19/2019   709   WH0087   Owner Operator   Toll Charges                   Q1239 NTTA Kelly Blvd.                  2.76
      10/19/2019   709   WH0087   Owner Operator   Toll Charges                   Q1239 NTTA Plaza 10 - Irving             2.4
      10/19/2019   709   WH0087   Owner Operator   Truck Payment                  CTMS - 233145 Q1238 Lease             311.97
      10/19/2019   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      10/19/2019   742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      10/19/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.32
      10/19/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.97
      10/19/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           6.67
      10/19/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.39
      10/19/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.93
      10/19/2019   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      10/19/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      10/19/2019   742   BS0078   Owner Operator   Toll Charges                   Q13151 HCTRA Hardy North - Ran             2
      10/19/2019   742   BS0078   Owner Operator   Toll Charges                   Q13151 HCTRA Sam Houston - Nor           3.5
      10/19/2019   742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Spencer Ma          2.12
      10/19/2019   742   BS0078   Owner Operator   Truck Payment                  CTMS - 233140 Lease of Q13151         388.16
      10/19/2019   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      10/19/2019   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      10/19/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.09
      10/19/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.75
      10/19/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          574.8
      10/19/2019   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75

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      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
      10/19/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
      10/19/2019   742   CT0085   Owner Operator   FUEL TAX                       December 2018 Fuel/Mileage Tax         0.01
      10/19/2019   742   CT0085   Owner Operator   FUEL TAX                       January 2019 Fuel/Mileage Tax          0.01
      10/19/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                     100
      10/19/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                     100
      10/19/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                     100
      10/19/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                     100
      10/19/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                     100
      10/19/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                     100
      10/19/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                     100
      10/19/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                     100
      10/19/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                     100
      10/19/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                     100
      10/19/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                     100
      10/19/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                     100
      10/19/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                     100
      10/19/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                     100
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/19/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            39
      10/19/2019   742   CT0085   Owner Operator   Permits                        ID06:2019 - Q13171                       11
      10/19/2019   742   CT0085   Owner Operator   Permits                        IL02:2019 - Q13171                     3.75
      10/19/2019   742   CT0085   Owner Operator   Permits                        NM07:2019 - Q13171                       10
      10/19/2019   742   CT0085   Owner Operator   Permits                        NY13:2019 - Q13171                      1.5
      10/19/2019   742   CT0085   Owner Operator   Permits                        OR16:2019 - Q13171                      8.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.18
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.18
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.18
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.18
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD           10.93

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      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/19/2019   742   CT0085   Owner Operator   Repair Order                   TRACTOR Q13171                            10
      10/19/2019   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/19/2019   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/19/2019   742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
      10/19/2019   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      10/19/2019   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      10/19/2019   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      10/19/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           241
      10/19/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.01
      10/19/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      10/19/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             90
      10/19/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.01
      10/19/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.84
      10/19/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.01
      10/19/2019   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          23.94
      10/19/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      10/19/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      10/19/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      10/19/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/19/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/19/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/19/2019   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      10/19/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.03
      10/19/2019   742   DC0117   Owner Operator   Tire Fee                       Tire Fee: 2332842                          8
      10/19/2019   742   DC0117   Owner Operator   Tire Purchase                  PO: 742-00415294 - PO System           279.2
      10/19/2019   742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL 82nd St.                      5
      10/19/2019   742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL I-57/147th St (Il             5
      10/19/2019   742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL Irving Park                6.65
      10/19/2019   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      10/19/2019   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      10/19/2019   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.35
      10/19/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.67
      10/19/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.34

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      10/19/2019   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      10/19/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      10/19/2019   742   DS0254   Owner Operator   Truck Payment                  CTMS - 233186 Trk 33487 Lease          434.2
      10/19/2019   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/19/2019   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      10/19/2019   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           550
      10/19/2019   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          574.4
      10/19/2019   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      10/19/2019   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/19/2019   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      10/19/2019   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      10/19/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.96
      10/19/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           89.7
      10/19/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.29
      10/19/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.31
      10/19/2019   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      10/19/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      10/19/2019   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - East             7
      10/19/2019   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - East             7
      10/19/2019   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - NE M          5.25
      10/19/2019   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - Sout             7
      10/19/2019   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Ship Channel Bridg           3.5
      10/19/2019   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Ship Channel Bridg           3.5
      10/19/2019   742   ED0041   Owner Operator   Toll Charges                   32897 OTA Will Rogers Turnpike           2.2
      10/19/2019   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/19/2019   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/19/2019   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      10/19/2019   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      10/19/2019   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/19/2019   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/19/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.18
      10/19/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.37
      10/19/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.69
      10/19/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.07
      10/19/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.35
      10/19/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.23
      10/19/2019   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      10/19/2019   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      10/19/2019   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      10/19/2019   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      10/19/2019   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/19/2019   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/19/2019   742   EN0016   Owner Operator   Toll Charges                   32947 KTA Southern Terminal             18.9
      10/19/2019   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      10/19/2019   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      10/19/2019   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      10/19/2019   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      10/19/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      10/19/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      10/19/2019   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      10/19/2019   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      10/19/2019   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                          765.9
      10/19/2019   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      10/19/2019   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/19/2019   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      10/19/2019   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      10/19/2019   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/19/2019   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/19/2019   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          26.29
      10/19/2019   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      10/19/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      10/19/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/19/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/19/2019   742   MH0117   Owner Operator   Toll Charges                   33296 NTTA I-820/35W SOUTH TEX          13.6
      10/19/2019   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      10/19/2019   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13

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      10/19/2019   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/19/2019   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/19/2019   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.07
      10/19/2019   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      10/19/2019   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      10/19/2019   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      10/19/2019   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      10/19/2019   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      10/19/2019   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      10/19/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/19/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/19/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.88
      10/19/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.47
      10/19/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.18
      10/19/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.03
      10/19/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.22
      10/19/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.65
      10/19/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.76
      10/19/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.15
      10/19/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.3
      10/19/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.86
      10/19/2019   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      10/19/2019   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      10/19/2019   742   RF0136   Owner Operator   T Chek Fee                     Advance fee processed Friday              15
      10/19/2019   742   RF0136   Owner Operator   T Chek Fee                     Advance processed Friday               1500
      10/19/2019   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      10/19/2019   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      10/19/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.17
      10/19/2019   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      10/19/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      10/19/2019   742   RN0054   Owner Operator   Truck Payment                  CTMS - 233193 Tractor Lease           353.28
      10/19/2019   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/19/2019   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      10/19/2019   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      10/19/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      10/19/2019   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      10/19/2019   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      10/19/2019   742   TC0098   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/19/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.32
      10/19/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.84
      10/19/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.33
      10/19/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.07
      10/19/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.99
      10/19/2019   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      10/19/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      10/19/2019   742   TC0098   Owner Operator   Truck Payment                  CTMS - 233267 33489 Lease Paym        412.16
      10/19/2019   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/19/2019   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      10/19/2019   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.35
      10/19/2019   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      10/19/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/19/2019   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      10/19/2019   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      10/19/2019   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/19/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      10/19/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      10/26/2019   406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      10/26/2019   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      10/26/2019   709   AC0061   Owner Operator   Charge back by affiliate       CTMS - 233498 HVUT Form 2290              50
      10/26/2019   709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      10/26/2019   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/26/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.45
      10/26/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.74
      10/26/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.1
      10/26/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.59
      10/26/2019   709   AC0061   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          360.96

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      10/26/2019   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.93
      10/26/2019   709   AC0061   Owner Operator   Truck Payment                  CTMS - 233602 Q13148 Trac Leas        296.09
      10/26/2019   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      10/26/2019   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      10/26/2019   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         569.35
      10/26/2019   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      10/26/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      10/26/2019   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      10/26/2019   709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 233499 HVUT Form 2290              50
      10/26/2019   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      10/26/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.15
      10/26/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           192
      10/26/2019   709   AR0064   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          641.27
      10/26/2019   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      10/26/2019   709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00415983 - PO System          441.18
      10/26/2019   709   AR0064   Owner Operator   Truck Payment                  CTMS - 233556 Q13147 Lease            440.14
      10/26/2019   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      10/26/2019   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      10/26/2019   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      10/26/2019   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/26/2019   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/26/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.02
      10/26/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.33
      10/26/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.51
      10/26/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.69
      10/26/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.38
      10/26/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.93
      10/26/2019   709   AV0021   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           109.5
      10/26/2019   709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 145.04
      10/26/2019   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      10/26/2019   709   AV0021   Owner Operator   Truck Payment                  CTMS - 233555 Q13169 Sublease         352.68
      10/26/2019   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      10/26/2019   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      10/26/2019   709   BM0030   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          446.02
      10/26/2019   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      10/26/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      10/26/2019   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      10/26/2019   709   CC0134   Owner Operator   Charge back by affiliate       CTMS - 233553 HVUT Form 2290              50
      10/26/2019   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      10/26/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/26/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/26/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.06
      10/26/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.74
      10/26/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.06
      10/26/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.77
      10/26/2019   709   CC0134   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           332.5
      10/26/2019   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      10/26/2019   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      10/26/2019   709   CC0134   Owner Operator   Truck Payment                  CTMS - 233452 Q13168 sub lease        352.68
      10/26/2019   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/26/2019   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      10/26/2019   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         603.05
      10/26/2019   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      10/26/2019   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.43
      10/26/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/26/2019   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      10/26/2019   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      10/26/2019   709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      10/26/2019   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.57
      10/26/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.34
      10/26/2019   709   CR0064   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           39.83
      10/26/2019   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/26/2019   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.01
      10/26/2019   709   CR0064   Owner Operator   Truck Payment                  CTMS - 233496 Q1247 Sub Lease         263.91
      10/26/2019   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/26/2019   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      10/26/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.58
      10/26/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.44
      10/26/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.97
      10/26/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.18
      10/26/2019   709   DL0029   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           277.6
      10/26/2019   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      10/26/2019   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      10/26/2019   709   DL0107   Owner Operator   Charge back by affiliate       CTMS - 233450 HVUT Form 2290              50
      10/26/2019   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      10/26/2019   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/26/2019   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/26/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         706.41
      10/26/2019   709   DL0107   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          678.94
      10/26/2019   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      10/26/2019   709   DL0107   Owner Operator   Truck Payment                  CTMS - 233446 Baloon payoff           350.23
      10/26/2019   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      10/26/2019   709   DM0257   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          460.03
      10/26/2019   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      10/26/2019   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      10/26/2019   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/26/2019   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      10/26/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/26/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/26/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.08
      10/26/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.25
      10/26/2019   709   DS0049   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax         -488.19
      10/26/2019   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      10/26/2019   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33
      10/26/2019   709   DS0049   Owner Operator   T Chek Fee                     ExpressCheck Fee                       15.39
      10/26/2019   709   DS0049   Owner Operator   T Chek Fee                     Tractor Repair 32915                   1539
      10/26/2019   709   DS0049   Owner Operator   Truck Payment                  CTMS - 233400 TRUCK RENTAL              500
      10/26/2019   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      10/26/2019   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      10/26/2019   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.65
      10/26/2019   709   DS0225   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          -53.68
      10/26/2019   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      10/26/2019   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/26/2019   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      10/26/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/26/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/26/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.18
      10/26/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.69
      10/26/2019   709   DS0288   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          150.85
      10/26/2019   709   DS0288   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         294.81
      10/26/2019   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.18
      10/26/2019   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/26/2019   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      10/26/2019   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/26/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.78
      10/26/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.73
      10/26/2019   709   EA0003   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          257.63
      10/26/2019   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      10/26/2019   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      10/26/2019   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      10/26/2019   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      10/26/2019   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      10/26/2019   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.88
      10/26/2019   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/26/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      10/26/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      10/26/2019   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      10/26/2019   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      10/26/2019   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/26/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.01
      10/26/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.3
      10/26/2019   709   EO0014   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          242.47
      10/26/2019   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      10/26/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      10/26/2019   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      10/26/2019   709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 233553 HVUT Form 2290              50
      10/26/2019   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      10/26/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.5
      10/26/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.36
      10/26/2019   709   FS0039   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           -7.78
      10/26/2019   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      10/26/2019   709   FS0039   Owner Operator   Truck Payment                  CTMS - 233555 truck lease 3304        434.29
      10/26/2019   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/26/2019   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      10/26/2019   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          608.9
      10/26/2019   709   FV0001   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           66.22
      10/26/2019   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      10/26/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/26/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      10/26/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      10/26/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      10/26/2019   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            260
      10/26/2019   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.6
      10/26/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.59
      10/26/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.2
      10/26/2019   709   GA0051   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax         -390.14
      10/26/2019   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      10/26/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD              28.9
      10/26/2019   709   GA0051   Owner Operator   Truck Payment                  CTMS - 233499 Q1200 Lease             238.16
      10/26/2019   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      10/26/2019   709   GS0015   Owner Operator   Charge back by affiliate       CTMS - 233449 HVUT Form 2290              50
      10/26/2019   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      10/26/2019   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.79
      10/26/2019   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      10/26/2019   709   GS0015   Owner Operator   Truck Payment                  CTMS - 233496 Amortized Balloo        200.15
      10/26/2019   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      10/26/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.62
      10/26/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.54
      10/26/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.29
      10/26/2019   709   GW0043   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          407.87
      10/26/2019   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      10/26/2019   709   GW0043   Owner Operator   Truck Payment                  CTMS - 233599 Q1109 Lease              66.42
      10/26/2019   709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      10/26/2019   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      10/26/2019   709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 233449 HVUT Form 2290              50
      10/26/2019   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      10/26/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.71
      10/26/2019   709   HC0023   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          -17.15
      10/26/2019   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      10/26/2019   709   HC0023   Owner Operator   Truck Payment                  CTMS - 233501 Q13170                  352.68
      10/26/2019   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/26/2019   709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      10/26/2019   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           300
      10/26/2019   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                              50

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      10/26/2019   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/26/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.51
      10/26/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.56
      10/26/2019   709   HG0007   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           61.86
      10/26/2019   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.04
      10/26/2019   709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00415214 - PO System          115.11
      10/26/2019   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/26/2019   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      10/26/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/26/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/26/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.63
      10/26/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.76
      10/26/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.68
      10/26/2019   709   HG0027   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          139.21
      10/26/2019   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      10/26/2019   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/26/2019   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      10/26/2019   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      10/26/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.86
      10/26/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.91
      10/26/2019   709   IA0007   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          -18.96
      10/26/2019   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      10/26/2019   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      10/26/2019   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/26/2019   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      10/26/2019   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.98
      10/26/2019   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          322.1
      10/26/2019   709   IR0002   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          -90.18
      10/26/2019   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      10/26/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/26/2019   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/26/2019   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      10/26/2019   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.92
      10/26/2019   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      10/26/2019   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      10/26/2019   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      10/26/2019   709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 233553 HVUT Form 2290              50
      10/26/2019   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      10/26/2019   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      10/26/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/26/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/26/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.13
      10/26/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.9
      10/26/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.59
      10/26/2019   709   JC0292   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          166.22
      10/26/2019   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      10/26/2019   709   JC0292   Owner Operator   Truck Payment                  CTMS - 233501 Q13197 Lease            276.63
      10/26/2019   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/26/2019   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      10/26/2019   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      10/26/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      10/26/2019   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/26/2019   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      10/26/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/26/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/26/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.28
      10/26/2019   709   JG0017   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           27.47
      10/26/2019   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17

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      10/26/2019   709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      10/26/2019   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.33
      10/26/2019   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      10/26/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/26/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/26/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.27
      10/26/2019   709   JG0072   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          638.58
      10/26/2019   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         485.26
      10/26/2019   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/26/2019   709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      10/26/2019   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         614.45
      10/26/2019   709   JG0092   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax            37.3
      10/26/2019   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      10/26/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      10/26/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/26/2019   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      10/26/2019   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.88
      10/26/2019   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.86
      10/26/2019   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      10/26/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.61
      10/26/2019   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      10/26/2019   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      10/26/2019   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      10/26/2019   709   JR0099   Owner Operator   Truck Payment                  CTMS - 233400 Truck Lease             278.76
      10/26/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      10/26/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      10/26/2019   709   JS0265   Owner Operator   Charge back by affiliate       CTMS - 233498 HVUT Form 2290              50
      10/26/2019   709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      10/26/2019   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/26/2019   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.71
      10/26/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.56
      10/26/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.88
      10/26/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.46
      10/26/2019   709   JS0265   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          194.83
      10/26/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      10/26/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      10/26/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.22
      10/26/2019   709   JS0265   Owner Operator   Truck Payment                  CTMS - 233495 Q13159 Lease             331.5
      10/26/2019   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/26/2019   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      10/26/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/26/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/26/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/26/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/26/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/26/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/26/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.03
      10/26/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           6.79
      10/26/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           335
      10/26/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             41
      10/26/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           203
      10/26/2019   709   KP0004   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          339.55
      10/26/2019   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      10/26/2019   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      10/26/2019   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      10/26/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/26/2019   709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00415119 - PO System          348.36
      10/26/2019   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      10/26/2019   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      10/26/2019   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      10/26/2019   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      10/26/2019   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      10/26/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.51

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      10/26/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.72
      10/26/2019   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      10/26/2019   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      10/26/2019   709   KT0055   Owner Operator   Truck Payment                  CTMS - 233139 Q13156 Lease            388.16
      10/26/2019   709   KT0055   Owner Operator   Truck Payment                  CTMS - 233447 Q13156 Lease            388.16
      10/26/2019   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      10/26/2019   709   LL0160   Owner Operator   Charge back by affiliate       CTMS - 233449 HVUT Form 2290              50
      10/26/2019   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      10/26/2019   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      10/26/2019   709   LL0160   Owner Operator   Truck Payment                  CTMS - 233555 Lease Q1111             252.11
      10/26/2019   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      10/26/2019   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      10/26/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         726.82
      10/26/2019   709   LS0023   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          174.09
      10/26/2019   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.01
      10/26/2019   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/26/2019   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      10/26/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.06
      10/26/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           139
      10/26/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.01
      10/26/2019   709   MA0092   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           52.78
      10/26/2019   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      10/26/2019   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/26/2019   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      10/26/2019   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      10/26/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.44
      10/26/2019   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      10/26/2019   709   ME0053   Owner Operator   BOBTAIL INS.                   Q1113 2011 Freightliner NTL             8.75
      10/26/2019   709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 233606 HVUT Form 2290              50
      10/26/2019   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                           8
      10/26/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.11
      10/26/2019   709   ME0053   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax            -5.6
      10/26/2019   709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      10/26/2019   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q1113 2011 Freightliner PD             39.04
      10/26/2019   709   ME0053   Owner Operator   Truck Payment                  CTMS - 233452 Q1113 Lease             252.11
      10/26/2019   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.47
      10/26/2019   709   MG0067   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          -47.45
      10/26/2019   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/26/2019   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      10/26/2019   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      10/26/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            320
      10/26/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3.2
      10/26/2019   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.25
      10/26/2019   709   MP0035   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           11.49
      10/26/2019   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.76
      10/26/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/26/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      10/26/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      10/26/2019   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      10/26/2019   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          26.92
      10/26/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.95
      10/26/2019   709   NB0029   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          296.59
      10/26/2019   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      10/26/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      10/26/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      10/26/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      10/26/2019   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/26/2019   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      10/26/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.02
      10/26/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.07
      10/26/2019   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/26/2019   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 32.97
      10/26/2019   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
      10/26/2019   709   NT9564   Owner Operator   Charge back by affiliate       CTMS - 233498 HVUT Form 2290               50
      10/26/2019   709   NT9564   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           172.19
      10/26/2019   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/26/2019   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              30.47
      10/26/2019   709   NT9564   Owner Operator   Truck Payment                  CTMS - 233607 Truck 73130 Leas         196.65
      10/26/2019   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      10/26/2019   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                            8
      10/26/2019   709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/26/2019   709   OJ0007   Owner Operator   Fuel Card Advances             Cash Advance                               20
      10/26/2019   709   OJ0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.2
      10/26/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.52
      10/26/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                            189
      10/26/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          104.03
      10/26/2019   709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                       33.17
      10/26/2019   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/26/2019   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    27.33
      10/26/2019   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          215.66
      10/26/2019   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      10/26/2019   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                            8
      10/26/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.64
      10/26/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          395.12
      10/26/2019   709   RC0030   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax            38.02
      10/26/2019   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/26/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.15
      10/26/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      10/26/2019   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      10/26/2019   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                           13
      10/26/2019   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            150
      10/26/2019   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.19
      10/26/2019   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                            25.6
      10/26/2019   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          567.71
      10/26/2019   709   RL0017   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           -29.87
      10/26/2019   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                       33.17
      10/26/2019   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/26/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                     77.2
      10/26/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      10/26/2019   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
      10/26/2019   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      10/26/2019   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
      10/26/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/26/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/26/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          461.17
      10/26/2019   709   RL0062   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           443.08
      10/26/2019   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                       33.17
      10/26/2019   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/26/2019   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.13
      10/26/2019   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00407268 - PO System           246.45
      10/26/2019   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          496.56
      10/26/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          133.41
      10/26/2019   709   RL0180   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax            -1.15
      10/26/2019   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                     27.46
      10/26/2019   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                        8.75
      10/26/2019   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                           13
      10/26/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          418.09
      10/26/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          378.67
      10/26/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          416.51
      10/26/2019   709   RM0026   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           398.55
      10/26/2019   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/26/2019   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        31.25
      10/26/2019   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
      10/26/2019   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                           13
      10/26/2019   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          517.35
      10/26/2019   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/26/2019   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.58
      10/26/2019   709   RP0082   Owner Operator   Truck Payment                  CTMS - 233400 Q1202 Truck Leas         278.76
      10/26/2019   709   RR0123   Owner Operator   Advance                        EFS 231400 s/u 5 wks                   260.72
      10/26/2019   709   RR0123   Owner Operator   Advance                        EFS 231400 s/u 5 wks                 -1303.58
      10/26/2019   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                 8.75
      10/26/2019   709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 232449 HVUT Form 2290               50
      10/26/2019   709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 232723 HVUT Form 2290               50
      10/26/2019   709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 232960 HVUT Form 2290               50

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      10/26/2019   709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 233191 HVUT Form 2290              50
      10/26/2019   709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 233498 HVUT Form 2290              50
      10/26/2019   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      10/26/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.62
      10/26/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.52
      10/26/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         616.49
      10/26/2019   709   RR0123   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          268.21
      10/26/2019   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      10/26/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      10/26/2019   709   RR0123   Owner Operator   T Chek Fee                     ExpressCheck Fee                       12.91
      10/26/2019   709   RR0123   Owner Operator   T Chek Fee                     Towing Q1248                         1290.67
      10/26/2019   709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00414621 - PO System           99.91
      10/26/2019   709   RR0123   Owner Operator   Tire Purchase                  PO: 709-00414621 - PO System          184.76
      10/26/2019   709   RR0123   Owner Operator   Truck Payment                  CTMS - 232400 Q1248                   311.97
      10/26/2019   709   RR0123   Owner Operator   Truck Payment                  CTMS - 232679 Q1248                   311.97
      10/26/2019   709   RR0123   Owner Operator   Truck Payment                  CTMS - 232907 Q1248                   311.97
      10/26/2019   709   RR0123   Owner Operator   Truck Payment                  CTMS - 233144 Q1248                   311.97
      10/26/2019   709   RR0123   Owner Operator   Truck Payment                  CTMS - 233452 Q1248                   311.97
      10/26/2019   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/26/2019   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      10/26/2019   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/26/2019   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.84
      10/26/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.72
      10/26/2019   709   SB0009   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          438.46
      10/26/2019   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      10/26/2019   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      10/26/2019   709   SB0009   Owner Operator   Repair Order                   CTMS - 233400 REPAIRS                 335.65
      10/26/2019   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      10/26/2019   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/26/2019   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      10/26/2019   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/26/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.22
      10/26/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.49
      10/26/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.87
      10/26/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.26
      10/26/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.47
      10/26/2019   709   SB0103   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          127.05
      10/26/2019   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      10/26/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/26/2019   709   SB0103   Owner Operator   Truck Payment                  CTMS - 233401 Sub Lease               388.33
      10/26/2019   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      10/26/2019   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      10/26/2019   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/26/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           495
      10/26/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           542
      10/26/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.84
      10/26/2019   709   SM0109   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          215.91
      10/26/2019   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      10/26/2019   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      10/26/2019   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      10/26/2019   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/26/2019   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      10/26/2019   709   SN0019   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          212.59
      10/26/2019   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      10/26/2019   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/26/2019   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      10/26/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.74
      10/26/2019   709   VB0015   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          -60.09
      10/26/2019   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      10/26/2019   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      10/26/2019   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   111.76
      10/26/2019   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/26/2019   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      10/26/2019   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      10/26/2019   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200

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      10/26/2019   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/26/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      10/26/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            140
      10/26/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      10/26/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      10/26/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.14
      10/26/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.83
      10/26/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.16
      10/26/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.07
      10/26/2019   709   VJ0006   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          133.38
      10/26/2019   709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         258.66
      10/26/2019   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      10/26/2019   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/26/2019   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      10/26/2019   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      10/26/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/26/2019   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      10/26/2019   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      10/26/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/26/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/26/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.1
      10/26/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.28
      10/26/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.47
      10/26/2019   709   WH0087   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          241.81
      10/26/2019   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      10/26/2019   709   WH0087   Owner Operator   Toll Charges                   Q1239 NTTA SH-26 TEXpress Entr          17.2
      10/26/2019   709   WH0087   Owner Operator   Truck Payment                  CTMS - 233452 Q1238 Lease             311.97
      10/26/2019   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      10/26/2019   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      10/26/2019   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      10/26/2019   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      10/26/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/26/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/26/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/26/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/26/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/26/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/26/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/26/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/26/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/26/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/26/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/26/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/26/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/26/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/26/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.46
      10/26/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.73
      10/26/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.47
      10/26/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.01
      10/26/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.27
      10/26/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.84
      10/26/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.91
      10/26/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.08
      10/26/2019   742   AP0047   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          443.49
      10/26/2019   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      10/26/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      10/26/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      10/26/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      10/26/2019   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      10/26/2019   742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      10/26/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.69
      10/26/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.68
      10/26/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.71
      10/26/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.63

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      10/26/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.68
      10/26/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.38
      10/26/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.32
      10/26/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.53
      10/26/2019   742   BS0078   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          171.25
      10/26/2019   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
      10/26/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      10/26/2019   742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Spencer Ma          8.48
      10/26/2019   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      10/26/2019   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      10/26/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.05
      10/26/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.07
      10/26/2019   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      10/26/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/26/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/26/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/26/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/26/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/26/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/26/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/26/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/26/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/26/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/26/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/26/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      10/26/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.81
      10/26/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.22
      10/26/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          260.1
      10/26/2019   742   CT0085   Owner Operator   FUEL TAX                       May 2019 Fuel/Mileage Tax               0.02
      10/26/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                        24
      10/26/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                      100
      10/26/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                      100
      10/26/2019   742   CT0085   Owner Operator   IRP License Deduction          LCIL:2019 - Q13171                      100
      10/26/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            8.5
      10/26/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5

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      10/26/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      10/26/2019   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/26/2019   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      10/26/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.12
      10/26/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.42
      10/26/2019   742   DA0067   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          448.54
      10/26/2019   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      10/26/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/26/2019   742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Sam Houston - East             7
      10/26/2019   742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Sam Houston - Sout           3.5
      10/26/2019   742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Sam Houston - Sout          1.75
      10/26/2019   742   DA0067   Owner Operator   Toll Charges                   33847 HCTRA Ship Channel Bridg           3.5
      10/26/2019   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      10/26/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.9
      10/26/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         677.17
      10/26/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.06
      10/26/2019   742   DC0117   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           95.84
      10/26/2019   742   DC0117   Owner Operator   Tire Purchase                  PO: 742-00415294 - PO System           279.2
      10/26/2019   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      10/26/2019   742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 233565 trailer wash               -76
      10/26/2019   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      10/26/2019   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/26/2019   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/26/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.94
      10/26/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.09
      10/26/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.74
      10/26/2019   742   DS0254   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          123.73
      10/26/2019   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      10/26/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      10/26/2019   742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - NE M             7
      10/26/2019   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Cermak Rd.                 6.65
      10/26/2019   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL River Rd.                  6.65
      10/26/2019   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Spring Creek               5.85
      10/26/2019   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Touhy Ave.                 8.35
      10/26/2019   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/26/2019   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      10/26/2019   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          442.9
      10/26/2019   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.12
      10/26/2019   742   EA0039   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          159.78
      10/26/2019   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      10/26/2019   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/26/2019   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      10/26/2019   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      10/26/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.21
      10/26/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.57
      10/26/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.03
      10/26/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.6
      10/26/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.36
      10/26/2019   742   ED0041   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          117.48
      10/26/2019   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      10/26/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      10/26/2019   742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL Army Trail Rd.             6.65
      10/26/2019   742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL Boughton Rd. (Mai          6.65
      10/26/2019   742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL Cermak Rd.                    5
      10/26/2019   742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL Spring Creek              13.35
      10/26/2019   742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL Touhy Ave.                 6.25
      10/26/2019   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/26/2019   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      10/26/2019   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/26/2019   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/26/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.75
      10/26/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.07
      10/26/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.36
      10/26/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          57.31
      10/26/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.58
      10/26/2019   742   EN0016   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax            54.9
      10/26/2019   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      10/26/2019   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89

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      10/26/2019   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/26/2019   742   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Ship Channel Bridg           1.5
      10/26/2019   742   EN0016   Owner Operator   Tractor Charge                 15770 - 32947                          419.4
      10/26/2019   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      10/26/2019   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      10/26/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      10/26/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      10/26/2019   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      10/26/2019   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      10/26/2019   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      10/26/2019   742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/26/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.44
      10/26/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.44
      10/26/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.44
      10/26/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      10/26/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      10/26/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      10/26/2019   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      10/26/2019   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      10/26/2019   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         586.92
      10/26/2019   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      10/26/2019   742   JS0390   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          132.19
      10/26/2019   742   JS0390   Owner Operator   FUEL TAX                       July 2019 Fuel/Mileage Tax             133.7
      10/26/2019   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  126.61
      10/26/2019   742   JS0390   Owner Operator   Toll Charges                   34327/701907 Carquinez Bridge             26
      10/26/2019   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/26/2019   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      10/26/2019   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/26/2019   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      10/26/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/26/2019   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      10/26/2019   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      10/26/2019   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.16
      10/26/2019   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.42
      10/26/2019   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.68
      10/26/2019   742   NG0024   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          348.88
      10/26/2019   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      10/26/2019   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      10/26/2019   742   NG0024   Owner Operator   Repair Order                   CTMS - 233519 repairs                   250
      10/26/2019   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      10/26/2019   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      10/26/2019   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      10/26/2019   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/26/2019   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/26/2019   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      10/26/2019   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      10/26/2019   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      10/26/2019   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/26/2019   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/26/2019   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/26/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.68
      10/26/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.99
      10/26/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.4
      10/26/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.92
      10/26/2019   742   PC0012   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          167.93
      10/26/2019   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      10/26/2019   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      10/26/2019   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      10/26/2019   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      10/26/2019   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   96.32
      10/26/2019   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      10/26/2019   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      10/26/2019   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      10/26/2019   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      10/26/2019   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      10/26/2019   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      10/26/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            150
      10/26/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      10/26/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.05
      10/26/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.54

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      10/26/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.04
      10/26/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.97
      10/26/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.24
      10/26/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.88
      10/26/2019   742   RF0136   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           18.72
      10/26/2019   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      10/26/2019   742   RF0136   Owner Operator   T Chek Fee                     Advance 34182                           1500
      10/26/2019   742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                          15
      10/26/2019   742   RF0136   Owner Operator   T Chek Fee                     Rvrs Dup EFS 231115                    -1500
      10/26/2019   742   RF0136   Owner Operator   T Chek Fee                     Rvrs Dup EFS 231115 Fee                  -15
      10/26/2019   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      10/26/2019   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      10/26/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.93
      10/26/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.37
      10/26/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.61
      10/26/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.67
      10/26/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.45
      10/26/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.99
      10/26/2019   742   RN0054   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          112.95
      10/26/2019   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      10/26/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      10/26/2019   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/26/2019   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      10/26/2019   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      10/26/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      10/26/2019   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      10/26/2019   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      10/26/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.19
      10/26/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.6
      10/26/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          399.7
      10/26/2019   742   TC0098   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          113.55
      10/26/2019   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
      10/26/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      10/26/2019   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/26/2019   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      10/26/2019   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.83
      10/26/2019   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.86
      10/26/2019   742   TH0130   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          110.25
      10/26/2019   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/26/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      10/26/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       11/2/2019   406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
       11/2/2019   709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
       11/2/2019   709   AC0061   Owner Operator   Charge back by affiliate       CTMS - 233774 HVUT Form 2290              50
       11/2/2019   709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
       11/2/2019   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
       11/2/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.87
       11/2/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.15
       11/2/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.26
       11/2/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.64
       11/2/2019   709   AC0061   Owner Operator   Truck Payment                  CTMS - 233893 Q13148 Trac Leas        296.09
       11/2/2019   709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
       11/2/2019   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       11/2/2019   709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
       11/2/2019   709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 233774 HVUT Form 2290              50
       11/2/2019   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       11/2/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.59
       11/2/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                            261
       11/2/2019   709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00415983 - PO System          441.18
       11/2/2019   709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
       11/2/2019   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       11/2/2019   709   BM0030   Owner Operator   Toll Charges                   34023 NTTA Kelly Blvd.                  3.12
       11/2/2019   709   BM0030   Owner Operator   Toll Charges                   34023 NTTA Kelly Blvd.                  4.16
       11/2/2019   709   BM0030   Owner Operator   Toll Charges                   34023 NTTA Plaza 10 - Irving             3.6
       11/2/2019   709   BM0030   Owner Operator   Toll Charges                   34023 NTTA Plaza 10 - Irving             3.6
       11/2/2019   709   BM0030   Owner Operator   Toll Charges                   34023 NTTA Plaza 9 - Carrollto          6.24
       11/2/2019   709   BM0030   Owner Operator   Toll Charges                   34023 NTTA PLaza 9 - Carrollto          6.24
       11/2/2019   709   BM0030   Owner Operator   Toll Charges                   34023 NTTA Shady Grove Rd               1.52
       11/2/2019   709   BM0030   Owner Operator   Toll Charges                   34023 NTTA Shady Grove Rd               0.76

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      11/2/2019    709   BM0030   Owner Operator   Toll Charges               34023 NTTA Shady Grove Rd               3.04
      11/2/2019    709   CC0134   Owner Operator   Broker Pre Pass            DriveWyze TRKQ13168                     9.84
      11/2/2019    709   CC0134   Owner Operator   Charge back by affiliate   CTMS - 233842 HVUT Form 2290              50
      11/2/2019    709   CC0134   Owner Operator   Communication Charge       PNet Hware Q13168                          8
      11/2/2019    709   CC0134   Owner Operator   Fuel Card Advances         Cash Advance                             500
      11/2/2019    709   CC0134   Owner Operator   Fuel Card Advances         Cash Advance Fee                           5
      11/2/2019    709   CC0134   Owner Operator   Fuel Purchase              Fuel Purchase                          43.02
      11/2/2019    709   CC0134   Owner Operator   Loan Repayment             Loan # 00004 - Loan Repayment         354.79
      11/2/2019    709   CC0134   Owner Operator   Truck Payment              CTMS - 233714 Q13168 sub lease        352.68
      11/2/2019    709   CM0119   Owner Operator   Broker Pre Pass            DriveWyze TRK32920                      9.84
      11/2/2019    709   CM0119   Owner Operator   Communication Charge       PNet Hware 32920                          13
      11/2/2019    709   CM0119   Owner Operator   Fuel Card Advances         Cash Advance                             200
      11/2/2019    709   CM0119   Owner Operator   Fuel Card Advances         Cash Advance Fee                           2
      11/2/2019    709   CM0119   Owner Operator   Fuel Purchase              Fuel Purchase                         717.55
      11/2/2019    709   CM0119   Owner Operator   Fuel Purchase              Fuel Purchase                         694.01
      11/2/2019    709   CM0119   Owner Operator   IRP License Deduction      LCIL:2019 - 32920                      33.17
      11/2/2019    709   CM0119   Owner Operator   Tractor Charge             14620 - 32920                         506.17
      11/2/2019    709   CM0119   Owner Operator   Tractor Charge             14620, half of misd ded 506.17        253.09
      11/2/2019    709   CR0064   Owner Operator   Broker Pre Pass            DriveWyze TRK32864                     19.68
      11/2/2019    709   CR0064   Owner Operator   Broker Pre Pass            DriveWyze TRKQ1247                      9.84
      11/2/2019    709   CR0064   Owner Operator   Charge back by affiliate   CTMS - 233818 HVUT Form 2290              50
      11/2/2019    709   CR0064   Owner Operator   Communication Charge       PNet Hware Q1247                           8
      11/2/2019    709   CR0064   Owner Operator   Fuel Purchase              Fuel Purchase                         163.86
      11/2/2019    709   CR0064   Owner Operator   Fuel Purchase              Fuel Purchase                         217.09
      11/2/2019    709   CR0064   Owner Operator   Fuel Purchase              Fuel Purchase                         191.44
      11/2/2019    709   CR0064   Owner Operator   Fuel Purchase              Fuel Purchase                         188.98
      11/2/2019    709   CR0064   Owner Operator   Fuel Purchase              Fuel Purchase                         362.46
      11/2/2019    709   CR0064   Owner Operator   Truck Payment              CTMS - 233772 Q1247 Sub Lease         263.91
      11/2/2019    709   DL0029   Owner Operator   Broker Pre Pass            DriveWyze TRK33850                      9.84
      11/2/2019    709   DL0029   Owner Operator   Communication Charge       PNet Hware 33850                           8
      11/2/2019    709   DL0029   Owner Operator   Fuel Purchase              Fuel Purchase                         387.88
      11/2/2019    709   DL0029   Owner Operator   Fuel Purchase              Fuel Purchase                         454.53
      11/2/2019    709   DL0107   Owner Operator   Broker Pre Pass            DriveWyze TRKQ1245                      9.84
      11/2/2019    709   DL0107   Owner Operator   Charge back by affiliate   CTMS - 233712 HVUT Form 2290              50
      11/2/2019    709   DL0107   Owner Operator   Communication Charge       PNet Hware Q1245                          13
      11/2/2019    709   DL0107   Owner Operator   Fuel Card Advances         Cash Advance                             300
      11/2/2019    709   DL0107   Owner Operator   Fuel Card Advances         Cash Advance Fee                           3
      11/2/2019    709   DL0107   Owner Operator   Fuel Purchase              Fuel Purchase                         624.25
      11/2/2019    709   DL0107   Owner Operator   Fuel Purchase              Fuel Purchase                         187.37
      11/2/2019    709   DL0107   Owner Operator   Fuel Purchase              Fuel Purchase                         274.39
      11/2/2019    709   DL0107   Owner Operator   Fuel Purchase              Fuel Purchase                         563.93
      11/2/2019    709   DL0107   Owner Operator   Truck Payment              CTMS - 233712 Baloon payoff           350.23
      11/2/2019    709   DS0049   Owner Operator   Fuel Card Advances         Cash Advance                          460.08
      11/2/2019    709   DS0049   Owner Operator   Fuel Purchase              Fuel Purchase                         392.52
      11/2/2019    709   DS0049   Owner Operator   Repair Order               CTMS - 233737 OIL LUBE BRAKE            -330
      11/2/2019    709   DS0225   Owner Operator   Broker Pre Pass            DriveWyze TRK33320                      9.84
      11/2/2019    709   DS0225   Owner Operator   Communication Charge       PNet Hware 33320                           8
      11/2/2019    709   DS0225   Owner Operator   Fuel Purchase              Fuel Purchase                         203.09
      11/2/2019    709   DS0225   Owner Operator   Fuel Purchase              Fuel Purchase                          574.6
      11/2/2019    709   DS0288   Owner Operator   Broker Pre Pass            DriveWyze TRK34266                      9.84
      11/2/2019    709   DS0288   Owner Operator   Communication Charge       PNet Hware 34266                          13
      11/2/2019    709   DS0288   Owner Operator   Fuel Card Advances         Cash Advance                              50
      11/2/2019    709   DS0288   Owner Operator   Fuel Card Advances         Cash Advance                              50
      11/2/2019    709   DS0288   Owner Operator   Fuel Card Advances         Cash Advance                              50
      11/2/2019    709   DS0288   Owner Operator   Fuel Card Advances         Cash Advance Fee                         0.5
      11/2/2019    709   DS0288   Owner Operator   Fuel Card Advances         Cash Advance Fee                         0.5
      11/2/2019    709   DS0288   Owner Operator   Fuel Card Advances         Cash Advance Fee                         0.5
      11/2/2019    709   DS0288   Owner Operator   Fuel Purchase              Fuel Purchase                         414.32
      11/2/2019    709   DS0288   Owner Operator   Fuel Purchase              Fuel Purchase                         187.07
      11/2/2019    709   DS0288   Owner Operator   Fuel Purchase              Fuel Purchase                         274.62
      11/2/2019    709   DS0288   Owner Operator   Fuel Purchase              Fuel Purchase                         209.86
      11/2/2019    709   DS0288   Owner Operator   Fuel Purchase              Fuel Purchase                         406.06
      11/2/2019    709   DS0288   Owner Operator   Loan Repayment             Loan # 00001 - Loan Repayment         294.81
      11/2/2019    709   EA0003   Owner Operator   Broker Pre Pass            DriveWyze TRK33051                      9.84
      11/2/2019    709   EA0003   Owner Operator   Communication Charge       PNet Hware 33051                          13
      11/2/2019    709   EA0003   Owner Operator   ESCROW                     Weekly Escrow                            250
      11/2/2019    709   EA0003   Owner Operator   Fuel Card Advances         Cash Advance                             200
      11/2/2019    709   EA0003   Owner Operator   Fuel Card Advances         Cash Advance Fee                           2
      11/2/2019    709   EA0003   Owner Operator   Fuel Purchase              Fuel Purchase                         507.34
      11/2/2019    709   EA0003   Owner Operator   Fuel Purchase              Fuel Purchase                         347.32
      11/2/2019    709   EA0003   Owner Operator   IRP License Deduction      LCIL:2019 - 33051                      33.17
      11/2/2019    709   EA0003   Owner Operator   Tractor Charge             16439 - 33051                         555.56
      11/2/2019    709   EE0011   Owner Operator   *Arrears Collection W/O    Pay applied to debt                      123

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      11/2/2019    709   EE0011   Owner Operator   Broker Pay Void/Reissue    Void Statement Only                     -123
      11/2/2019    709   EG0062   Owner Operator   Broker Pre Pass            DriveWyze TRK33828                      9.84
      11/2/2019    709   EG0062   Owner Operator   Communication Charge       PNet Hware 33828                           8
      11/2/2019    709   EG0062   Owner Operator   Fuel Purchase              Fuel Purchase                         404.76
      11/2/2019    709   EO0014   Owner Operator   Broker Pre Pass            DriveWyze TRK33846                      9.84
      11/2/2019    709   EO0014   Owner Operator   Communication Charge       PNet Hware 33846                          13
      11/2/2019    709   EO0014   Owner Operator   ESCROW                     Weekly Escrow                            100
      11/2/2019    709   EO0014   Owner Operator   Fuel Card Advances         Cash Advance                             300
      11/2/2019    709   EO0014   Owner Operator   Fuel Card Advances         Cash Advance Fee                           3
      11/2/2019    709   EO0014   Owner Operator   Fuel Purchase              Fuel Purchase                            363
      11/2/2019    709   EO0014   Owner Operator   Fuel Purchase              Fuel Purchase                         418.42
      11/2/2019    709   EO0014   Owner Operator   Fuel Purchase              Fuel Purchase                         356.73
      11/2/2019    709   EO0014   Owner Operator   Fuel Purchase              Fuel Purchase                          217.6
      11/2/2019    709   FS0039   Owner Operator   Broker Pre Pass            DriveWyze TRK33040                      9.84
      11/2/2019    709   FS0039   Owner Operator   Communication Charge       PNet Hware 33040                           8
      11/2/2019    709   FS0039   Owner Operator   Fuel Card Advances         Cash Advance                             100
      11/2/2019    709   FS0039   Owner Operator   Fuel Card Advances         Cash Advance                             100
      11/2/2019    709   FS0039   Owner Operator   Fuel Card Advances         Cash Advance Fee                           1
      11/2/2019    709   FS0039   Owner Operator   Fuel Card Advances         Cash Advance Fee                           1
      11/2/2019    709   FS0039   Owner Operator   Fuel Purchase              Fuel Purchase                         359.91
      11/2/2019    709   FS0039   Owner Operator   Fuel Purchase              Fuel Purchase                         298.79
      11/2/2019    709   FS0039   Owner Operator   Fuel Purchase              Fuel Purchase                         411.63
      11/2/2019    709   FV0001   Owner Operator   Communication Charge       PNet Hware 21521B                         13
      11/2/2019    709   FV0001   Owner Operator   Fuel Purchase              Fuel Purchase                         356.69
      11/2/2019    709   FV0001   Owner Operator   Fuel Purchase              Fuel Purchase                          79.91
      11/2/2019    709   FV0001   Owner Operator   Fuel Purchase              Fuel Purchase                         204.42
      11/2/2019    709   FV0001   Owner Operator   Toll Charges               21521B Bay Bridge 18                       7
      11/2/2019    709   GA0051   Owner Operator   Broker Pre Pass            DriveWyze TRK34330                      9.84
      11/2/2019    709   GA0051   Owner Operator   Communication Charge       PNet Hware 34330                          13
      11/2/2019    709   GA0051   Owner Operator   Communication Charge       PNet Hware Q1200                           8
      11/2/2019    709   GA0051   Owner Operator   Fuel Card Advances         Cash Advance                             240
      11/2/2019    709   GA0051   Owner Operator   Fuel Card Advances         Cash Advance Fee                         2.4
      11/2/2019    709   GA0051   Owner Operator   Fuel Purchase              Fuel Purchase                         271.68
      11/2/2019    709   GA0051   Owner Operator   Fuel Purchase              Fuel Purchase                         212.14
      11/2/2019    709   GA0051   Owner Operator   Truck Payment              CTMS - 233775 Q1200 Lease             238.16
      11/2/2019    709   GS0015   Owner Operator   Broker Pre Pass            DriveWyze TRKQ1110                      9.84
      11/2/2019    709   GS0015   Owner Operator   Communication Charge       PNet Hware Q1110                          13
      11/2/2019    709   GS0015   Owner Operator   Truck Payment              CTMS - 233772 Amortized Balloo        200.15
      11/2/2019    709   HC0023   Owner Operator   Advance                    5/27/19 Clm 74267-1 s/u 8 wks            250
      11/2/2019    709   HC0023   Owner Operator   Broker Pre Pass            DriveWyze TRKQ13170                     9.84
      11/2/2019    709   HC0023   Owner Operator   Charge back by affiliate   CTMS - 233711 HVUT Form 2290              50
      11/2/2019    709   HC0023   Owner Operator   Communication Charge       PNet Hware Q13170                          8
      11/2/2019    709   HC0023   Owner Operator   Fuel Purchase              Fuel Purchase                         369.36
      11/2/2019    709   HC0023   Owner Operator   Fuel Purchase              Fuel Purchase                         484.13
      11/2/2019    709   HC0023   Owner Operator   Truck Payment              CTMS - 233776 Q13170                  352.68
      11/2/2019    709   HG0007   Owner Operator   Broker Pre Pass            DriveWyze TRK34565                      9.84
      11/2/2019    709   HG0007   Owner Operator   Communication Charge       PNet Hware 34565                           8
      11/2/2019    709   HG0007   Owner Operator   ESCROW                     Weekly Escrow                            300
      11/2/2019    709   HG0007   Owner Operator   Fuel Purchase              Fuel Purchase                          450.9
      11/2/2019    709   HG0007   Owner Operator   Fuel Purchase              Fuel Purchase                         209.34
      11/2/2019    709   HG0007   Owner Operator   Fuel Purchase              Fuel Purchase                          35.36
      11/2/2019    709   HG0027   Owner Operator   Broker Pre Pass            DriveWyze TRK33418                      9.84
      11/2/2019    709   HG0027   Owner Operator   Communication Charge       PNet Hware 33418                          13
      11/2/2019    709   HG0027   Owner Operator   Fuel Card Advances         Cash Advance                             200
      11/2/2019    709   HG0027   Owner Operator   Fuel Card Advances         Cash Advance                             100
      11/2/2019    709   HG0027   Owner Operator   Fuel Card Advances         Cash Advance                             200
      11/2/2019    709   HG0027   Owner Operator   Fuel Card Advances         Cash Advance Fee                           2
      11/2/2019    709   HG0027   Owner Operator   Fuel Card Advances         Cash Advance Fee                           1
      11/2/2019    709   HG0027   Owner Operator   Fuel Card Advances         Cash Advance Fee                           2
      11/2/2019    709   HG0027   Owner Operator   Fuel Purchase              Fuel Purchase                         167.29
      11/2/2019    709   HG0027   Owner Operator   Fuel Purchase              Fuel Purchase                         155.84
      11/2/2019    709   HG0027   Owner Operator   Fuel Purchase              Fuel Purchase                         168.05
      11/2/2019    709   HG0027   Owner Operator   Fuel Purchase              Fuel Purchase                         232.72
      11/2/2019    709   HG0027   Owner Operator   Fuel Purchase              Fuel Purchase                         262.77
      11/2/2019    709   HG0027   Owner Operator   Fuel Purchase              Fuel Purchase                         351.94
      11/2/2019    709   HG0027   Owner Operator   Fuel Purchase              Fuel Purchase                         496.84
      11/2/2019    709   IA0007   Owner Operator   Broker Pre Pass            DriveWyze TRK34012                      9.84
      11/2/2019    709   IA0007   Owner Operator   Communication Charge       PNet Hware 34012                           8
      11/2/2019    709   IA0007   Owner Operator   ESCROW                     Weekly Escrow                            150
      11/2/2019    709   IA0007   Owner Operator   Fuel Purchase              Fuel Purchase                         465.09
      11/2/2019    709   IR0002   Owner Operator   Broker Pre Pass            DriveWyze TRK32901                      9.84
      11/2/2019    709   IR0002   Owner Operator   Communication Charge       PNet Hware 32901                           8
      11/2/2019    709   IR0002   Owner Operator   Fuel Purchase              Fuel Purchase                         417.03

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      11/2/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.99
      11/2/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.36
      11/2/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      11/2/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.35
      11/2/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.42
      11/2/2019    709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 233842 HVUT Form 2290              50
      11/2/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      11/2/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      11/2/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
      11/2/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/2/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/2/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/2/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.78
      11/2/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.07
      11/2/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 Benicia 12                         26
      11/2/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 Carquinez Bridge 12                26
      11/2/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 Carquinez Bridge 4                 26
      11/2/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 Carquinez Bridge 8                 26
      11/2/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 233777 Q13197 Lease            276.63
      11/2/2019    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                      9.84
      11/2/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      11/2/2019    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                      9.84
      11/2/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      11/2/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/2/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      11/2/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/2/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/2/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.37
      11/2/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.05
      11/2/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.46
      11/2/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.18
      11/2/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      11/2/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      11/2/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       26
      11/2/2019    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       26
      11/2/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      11/2/2019    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      11/2/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/2/2019    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                      9.84
      11/2/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      11/2/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      11/2/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/2/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/2/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/2/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/2/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/2/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/2/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          446.3
      11/2/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.43
      11/2/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.05
      11/2/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.03
      11/2/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      11/2/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      11/2/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/2/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      11/2/2019    709   JG0072   Owner Operator   Repair Order                   CTMS - 233499 PARTS FOR REPAIR           296
      11/2/2019    709   JG0072   Owner Operator   Repair Order                   CTMS - 233775 PARTS FOR REPAIR           296
      11/2/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      11/2/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                          13.79
      11/2/2019    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                      9.84
      11/2/2019    709   JG0092   Owner Operator   Communication Charge           PNet Hware 33669                           8
      11/2/2019    709   JG0092   Owner Operator   ESCROW                         Escrow Withdrawal                      -3500
      11/2/2019    709   JG0092   Owner Operator   Express Check                  T-Check Payment                         3500
      11/2/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.12
      11/2/2019    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK34637                      9.84
      11/2/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      11/2/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/2/2019    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/2/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.12
      11/2/2019    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      11/2/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      11/2/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.31
      11/2/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 233671 Truck Lease             278.76

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      11/2/2019    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                    9.84
      11/2/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                         8
      11/2/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      11/2/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/2/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      11/2/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.98
      11/2/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.93
      11/2/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        218.71
      11/2/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        315.58
      11/2/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        383.44
      11/2/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 233771 Q13159 Lease            331.5
      11/2/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      11/2/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      11/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             50
      11/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      11/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      11/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      11/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      11/2/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
      11/2/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          450
      11/2/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        418.03
      11/2/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        234.02
      11/2/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.01
      11/2/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                     33.17
      11/2/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment        254.87
      11/2/2019    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                    9.84
      11/2/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                         8
      11/2/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        153.94
      11/2/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        109.25
      11/2/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        354.63
      11/2/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         21.82
      11/2/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        100.58
      11/2/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 233709 Q13156 Lease           388.16
      11/2/2019    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                     9.84
      11/2/2019    709   LL0160   Owner Operator   Charge back by affiliate       CTMS - 233711 HVUT Form 2290             50
      11/2/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      11/2/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 233845 Lease Q1111            252.11
      11/2/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      11/2/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/2/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/2/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      11/2/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      11/2/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        760.78
      11/2/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        116.28
      11/2/2019    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                     9.84
      11/2/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                          8
      11/2/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        403.58
      11/2/2019    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                     9.84
      11/2/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                          8
      11/2/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                          300
      11/2/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        137.48
      11/2/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        242.69
      11/2/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        207.52
      11/2/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        101.99
      11/2/2019    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1113                     9.84
      11/2/2019    709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 233897 HVUT Form 2290             50
      11/2/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q1113                          8
      11/2/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        346.15
      11/2/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        425.57
      11/2/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        207.95
      11/2/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        431.23
      11/2/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        330.39
      11/2/2019    709   ME0053   Owner Operator   Toll Charges                   Q13199 Benicia 1                         26
      11/2/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 233714 Q1113 Lease            252.11
      11/2/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      11/2/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                          8
      11/2/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                          8
      11/2/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.91
      11/2/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/2/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
      11/2/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      11/2/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          8
      11/2/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          500

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      11/2/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            260
      11/2/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              20
      11/2/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      11/2/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.6
      11/2/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.59
      11/2/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.29
      11/2/2019    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      11/2/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      11/2/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/2/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/2/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.45
      11/2/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          258.8
      11/2/2019    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      11/2/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 233898 Truck 73130 Leas        196.65
      11/2/2019    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
      11/2/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      11/2/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/2/2019    709   OJ0007   Owner Operator   Fuel Card Advances             Cash Advance                              20
      11/2/2019    709   OJ0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      11/2/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.16
      11/2/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.34
      11/2/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.27
      11/2/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      11/2/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      11/2/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      11/2/2019    709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
      11/2/2019    709   RB0170   Owner Operator   Charge back by affiliate       CTMS - 233498 HVUT Form 2290              50
      11/2/2019    709   RB0170   Owner Operator   Charge back by affiliate       CTMS - 233774 HVUT Form 2290              50
      11/2/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      11/2/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      11/2/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/2/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/2/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      11/2/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              40
      11/2/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      11/2/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      11/2/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      11/2/2019    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      11/2/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.87
      11/2/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.98
      11/2/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.34
      11/2/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.8
      11/2/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.33
      11/2/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.58
      11/2/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.17
      11/2/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.51
      11/2/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.31
      11/2/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.27
      11/2/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.52
      11/2/2019    709   RB0170   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          131.63
      11/2/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/2/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.04
      11/2/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 233449 Q1241 Truck leas        321.84
      11/2/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 233711 Q1241 Truck leas        321.84
      11/2/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      11/2/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.87
      11/2/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.37
      11/2/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      11/2/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/2/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/2/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/2/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/2/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.29
      11/2/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.55
      11/2/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.41
      11/2/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.23
      11/2/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      11/2/2019    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00407268 - PO System          246.45
      11/2/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      11/2/2019    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      11/2/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/2/2019    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      11/2/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13

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      11/2/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           13
      11/2/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            150
      11/2/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            150
      11/2/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          431.76
      11/2/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.54
      11/2/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                       33.17
      11/2/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                       33.17
      11/2/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/2/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    51.54
      11/2/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism            2.5
      11/2/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                          350.65
      11/2/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                          350.65
      11/2/2019    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                       9.84
      11/2/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                           13
      11/2/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          411.31
      11/2/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          417.16
      11/2/2019    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      11/2/2019    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                       9.84
      11/2/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                           13
      11/2/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 233671 Q1202 Truck Leas         278.76
      11/2/2019    709   RR0123   Owner Operator   Advance                        Balance of 231400                     1042.86
      11/2/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             160
      11/2/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.6
      11/2/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          409.84
      11/2/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.51
      11/2/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          405.01
      11/2/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                           399.9
      11/2/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          419.49
      11/2/2019    709   RR0123   Owner Operator   Loan Repayment                 EFS 232084, Wkly Deduct.             -3116.21
      11/2/2019    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                       9.84
      11/2/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      11/2/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      11/2/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.58
      11/2/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          158.47
      11/2/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          194.57
      11/2/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          158.52
      11/2/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          345.35
      11/2/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 233671 Sub Lease                388.33
      11/2/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      11/2/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                            100
      11/2/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            380
      11/2/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            297
      11/2/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            266
      11/2/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       33.17
      11/2/2019    709   SM0109   Owner Operator   Toll Charges                   33195 NTTA Kelly Blvd.                   2.76
      11/2/2019    709   SM0109   Owner Operator   Toll Charges                   33195 NTTA Plaza 10 - Irving              3.6
      11/2/2019    709   SM0109   Owner Operator   Toll Charges                   33195 NTTA Plaza 9 - Carrollto           6.24
      11/2/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
      11/2/2019    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                       9.84
      11/2/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      11/2/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             140
      11/2/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.4
      11/2/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          374.29
      11/2/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          375.56
      11/2/2019    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                       9.84
      11/2/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      11/2/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.06
      11/2/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          574.26
      11/2/2019    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                       9.84
      11/2/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      11/2/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      11/2/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             140
      11/2/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             160
      11/2/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/2/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/2/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.6
      11/2/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.4
      11/2/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           177.3
      11/2/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          260.88
      11/2/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          324.99
      11/2/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          120.45
      11/2/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.03
      11/2/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.03

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      11/2/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         258.66
      11/2/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 KTA Mulvane: K-53 - Casi          14.4
      11/2/2019    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      11/2/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      11/2/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      11/2/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.86
      11/2/2019    742   AS0089   Owner Operator   *Arrears Collection W/O        Pay applied to debt                     3.75
      11/2/2019    742   AS0089   Owner Operator   Broker Pay Void/Reissue        Void Statement Only                    -3.75
      11/2/2019    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13151                     9.84
      11/2/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      11/2/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          76.77
      11/2/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.12
      11/2/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.39
      11/2/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.29
      11/2/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          312.3
      11/2/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.18
      11/2/2019    742   BS0078   Owner Operator   Toll Charges                   Q13151 Carquinez Bridge 9                 26
      11/2/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 233447 Lease of Q13151         388.16
      11/2/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 233709 Lease of Q13151         388.16
      11/2/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      11/2/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.14
      11/2/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.71
      11/2/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         600.07
      11/2/2019    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      11/2/2019    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      11/2/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.65
      11/2/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.44
      11/2/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.39
      11/2/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.71
      11/2/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.71
      11/2/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.81
      11/2/2019    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/2/2019    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/2/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      11/2/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      11/2/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      11/2/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      11/2/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      11/2/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            405
      11/2/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             60
      11/2/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          65.01
      11/2/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            495
      11/2/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      11/2/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  26
      11/2/2019    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      11/2/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      11/2/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/2/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/2/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.05
      11/2/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.55
      11/2/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.13
      11/2/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.62
      11/2/2019    742   DS0254   Owner Operator   T Chek Fee                     Cancelled EFS 205646                    -158
      11/2/2019    742   DS0254   Owner Operator   T Chek Fee                     Cancelled EFS 205647                  -127.5
      11/2/2019    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 2                    26
      11/2/2019    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL I-57/147th St (Il             5
      11/2/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 233494 Trk 33487 Lease          434.2
      11/2/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 233770 Trk 33487 Lease          434.2
      11/2/2019    742   EA0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33993                      9.84
      11/2/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      11/2/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         633.56
      11/2/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.58
      11/2/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          501.2
      11/2/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      11/2/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/2/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/2/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.77
      11/2/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          207.2
      11/2/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.44
      11/2/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.08
      11/2/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      11/2/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 10                 26
      11/2/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 8                  26

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      11/2/2019    742   EN0016   Owner Operator   Toll Charges            32947 TXTAG GRDPKY Spencer Mai          8.48
      11/2/2019    742   EN0016   Owner Operator   Toll Charges            32947 TXTAG GRDPKY Spencer Mai          8.48
      11/2/2019    742   EN0016   Owner Operator   Tractor Charge          15770 - 32947                          419.4
      11/2/2019    742   FS0011   Owner Operator   Communication Charge    PNet Hware 51069A                         13
      11/2/2019    742   JB0465   Owner Operator   BOBTAIL INS.            501 2013 Peterbilt NTL                  8.75
      11/2/2019    742   JB0465   Owner Operator   ESCROW                  Weekly Escrow                             50
      11/2/2019    742   JB0465   Owner Operator   Fuel Purchase           Fuel Purchase                         457.11
      11/2/2019    742   JB0465   Owner Operator   Fuel Purchase           Fuel Purchase                         320.85
      11/2/2019    742   JB0465   Owner Operator   Fuel Purchase           Fuel Purchase                         476.82
      11/2/2019    742   JB0465   Owner Operator   PHYSICAL DAMAGE         501 2013 Peterbilt PD                  23.43
      11/2/2019    742   JB0465   Owner Operator   PHYSICAL DAMAGE         501 2013 Peterbilt PD Terroris           2.5
      11/2/2019    742   JH0148   Owner Operator   Broker Pre Pass         DriveWyze TRK34329                      9.84
      11/2/2019    742   JH0148   Owner Operator   Communication Charge    PNet Hware 34329                          13
      11/2/2019    742   JH0148   Owner Operator   Fuel Purchase           Fuel Purchase                         249.99
      11/2/2019    742   JH0148   Owner Operator   Fuel Purchase           Fuel Purchase                         670.58
      11/2/2019    742   JS0390   Owner Operator   Broker Pre Pass         34327 PrePass Device                    12.5
      11/2/2019    742   JS0390   Owner Operator   ESCROW                  Final Balance Refund                   -3000
      11/2/2019    742   JS0390   Owner Operator   FUEL TAX                August 2019 Fuel/Mileage Tax           61.38
      11/2/2019    742   MH0117   Owner Operator   Communication Charge    PNet Hware 33296                          13
      11/2/2019    742   MH0117   Owner Operator   ESCROW                  Weekly Escrow                             50
      11/2/2019    742   MH0117   Owner Operator   Toll Charges            33296 Carquinez Bridge 12                 26
      11/2/2019    742   NG0024   Owner Operator   Repair Order            CTMS - 233800 repair                   31.68
      11/2/2019    742   PC0012   Owner Operator   Broker Pre Pass         DriveWyze TRK32969                      9.84
      11/2/2019    742   PC0012   Owner Operator   Communication Charge    PNet Hware 32969                          13
      11/2/2019    742   PC0012   Owner Operator   ESCROW                  Weekly Escrow                            100
      11/2/2019    742   PC0012   Owner Operator   Fuel Card Advances      Cash Advance                             100
      11/2/2019    742   PC0012   Owner Operator   Fuel Card Advances      Cash Advance                             100
      11/2/2019    742   PC0012   Owner Operator   Fuel Card Advances      Cash Advance                             100
      11/2/2019    742   PC0012   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      11/2/2019    742   PC0012   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      11/2/2019    742   PC0012   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
      11/2/2019    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         298.16
      11/2/2019    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         444.97
      11/2/2019    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         293.86
      11/2/2019    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         297.24
      11/2/2019    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                            5.3
      11/2/2019    742   PC0012   Owner Operator   Fuel Purchase           Fuel Purchase                         291.01
      11/2/2019    742   PC0012   Owner Operator   IRP License Deduction   LCIL:2019 - 32969                      33.17
      11/2/2019    742   PC0012   Owner Operator   Tractor Charge          15577 - 32969                         509.18
      11/2/2019    742   RF0136   Owner Operator   Broker Pre Pass         DriveWyze TRK34182                      9.84
      11/2/2019    742   RF0136   Owner Operator   Communication Charge    PNet Hware 34182                          13
      11/2/2019    742   RF0136   Owner Operator   Fuel Card Advances      Cash Advance                             150
      11/2/2019    742   RF0136   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1.5
      11/2/2019    742   RF0136   Owner Operator   Fuel Purchase           Fuel Purchase                         257.65
      11/2/2019    742   RF0136   Owner Operator   Fuel Purchase           Fuel Purchase                         218.47
      11/2/2019    742   RF0136   Owner Operator   Fuel Purchase           Fuel Purchase                         272.11
      11/2/2019    742   RF0136   Owner Operator   Fuel Purchase           Fuel Purchase                         177.05
      11/2/2019    742   RF0136   Owner Operator   Fuel Purchase           Fuel Purchase                          180.5
      11/2/2019    742   RF0136   Owner Operator   Fuel Purchase           Fuel Purchase                         205.47
      11/2/2019    742   RF0136   Owner Operator   Toll Charges            34182 Carquinez Bridge 7                  26
      11/2/2019    742   RF0136   Owner Operator   Toll Charges            34182 Carquinez Bridge 9                  26
      11/2/2019    742   RN0054   Owner Operator   Communication Charge    PNet Hware q13157                         13
      11/2/2019    742   RN0054   Owner Operator   Fuel Purchase           Fuel Purchase                         146.19
      11/2/2019    742   RN0054   Owner Operator   Fuel Purchase           Fuel Purchase                           5.66
      11/2/2019    742   RN0054   Owner Operator   Fuel Purchase           Fuel Purchase                         282.11
      11/2/2019    742   RN0054   Owner Operator   Fuel Purchase           Fuel Purchase                         345.67
      11/2/2019    742   RN0054   Owner Operator   Fuel Purchase           Fuel Purchase                            323
      11/2/2019    742   RN0054   Owner Operator   Fuel Purchase           Fuel Purchase                         116.62
      11/2/2019    742   RN0054   Owner Operator   Truck Payment           CTMS - 233500 Tractor Lease           353.28
      11/2/2019    742   RN0054   Owner Operator   Truck Payment           CTMS - 233776 Tractor Lease           353.28
      11/2/2019    742   SK0049   Owner Operator   Communication Charge    PNet Hware 33934                          13
      11/2/2019    742   TC0098   Owner Operator   Broker Pre Pass         DriveWyze TRK33489                      9.84
      11/2/2019    742   TC0098   Owner Operator   Communication Charge    PNet Hware 33489                           8
      11/2/2019    742   TC0098   Owner Operator   Fuel Purchase           Fuel Purchase                         160.28
      11/2/2019    742   TC0098   Owner Operator   Fuel Purchase           Fuel Purchase                          15.49
      11/2/2019    742   TC0098   Owner Operator   Fuel Purchase           Fuel Purchase                         406.25
      11/2/2019    742   TC0098   Owner Operator   Fuel Purchase           Fuel Purchase                         453.77
      11/2/2019    742   TC0098   Owner Operator   Fuel Purchase           Fuel Purchase                         305.64
      11/2/2019    742   TC0098   Owner Operator   Fuel Purchase           Fuel Purchase                         289.15
      11/2/2019    742   TC0098   Owner Operator   Fuel Purchase           Fuel Purchase                         212.29
      11/2/2019    742   TC0098   Owner Operator   Toll Charges            33489 Antioch Bridge 1                    26
      11/2/2019    742   TC0098   Owner Operator   Toll Charges            33489 TXTAG North - Hardy ML E          1.84
      11/2/2019    742   TC0098   Owner Operator   Toll Charges            33489 TXTAG Riley Fuzzel ML EB           2.8

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      11/2/2019    742   TC0098   Owner Operator   Toll Charges                   33489 TXTAG Valley Ranch ML             7.44
      11/2/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 233547 33489 Lease Paym        412.16
      11/2/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 233837 33489 Lease Paym        412.16
      11/2/2019    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      11/2/2019    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          243.2
      11/2/2019    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      11/2/2019    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      11/2/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      11/2/2019    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      11/2/2019    843   EI0003   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax          368.73
      11/2/2019    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/2/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      11/2/2019    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      11/9/2019    406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      11/9/2019    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      11/9/2019    709   AC0061   Owner Operator   Charge back by affiliate       CTMS - 234076 HVUT Form 2290              50
      11/9/2019    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      11/9/2019    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/9/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          479.8
      11/9/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.84
      11/9/2019    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.69
      11/9/2019    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      11/9/2019    709   AC0061   Owner Operator   Truck Payment                  CTMS - 234203 Q13148 Trac Leas        296.09
      11/9/2019    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      11/9/2019    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      11/9/2019    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         660.95
      11/9/2019    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      11/9/2019    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      11/9/2019    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      11/9/2019    709   AR0064   Owner Operator   Charge back by affiliate       CTMS - 234076 HVUT Form 2290              50
      11/9/2019    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      11/9/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.29
      11/9/2019    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.69
      11/9/2019    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      11/9/2019    709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00415983 - PO System          441.18
      11/9/2019    709   AR0064   Owner Operator   Truck Payment                  CTMS - 233846 Q13147 Lease            440.14
      11/9/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      11/9/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      11/9/2019    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      11/9/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      11/9/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      11/9/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/9/2019    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.96
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.01
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.26
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.73
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.53
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           275
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.55
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.67
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.1
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.78
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           145
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.78
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.54
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.23
      11/9/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.09
      11/9/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 328.53
      11/9/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      11/9/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 233845 Q13169 Sublease         352.68
      11/9/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      11/9/2019    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      11/9/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/9/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/9/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.55
      11/9/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          483.5
      11/9/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.62
      11/9/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.22

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      11/9/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.86
      11/9/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      11/9/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      11/9/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 234019 Q13168 sub lease        352.68
      11/9/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/9/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      11/9/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/9/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         712.53
      11/9/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      11/9/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      11/9/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/9/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      11/9/2019    709   CM0119   Owner Operator   Tractor Charge                 14620, half of misd ded 506.17        253.08
      11/9/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      11/9/2019    709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 234071 HVUT Form 2290              50
      11/9/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      11/9/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.82
      11/9/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.53
      11/9/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.5
      11/9/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      11/9/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 234074 Q1247 Sub Lease         263.91
      11/9/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL               35
      11/9/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL              -35
      11/9/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD            260.31
      11/9/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD           -260.31
      11/9/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/9/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      11/9/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.17
      11/9/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.88
      11/9/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      11/9/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/9/2019    709   DL0107   Owner Operator   Charge back by affiliate       CTMS - 234017 HVUT Form 2290              50
      11/9/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      11/9/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/9/2019    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/9/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          537.5
      11/9/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.25
      11/9/2019    709   DL0107   Owner Operator   Loan Repayment                 Rfnd extra pmt, Ln 3, 11/2017        -208.09
      11/9/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      11/9/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 234017 Baloon payoff           350.23
      11/9/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      11/9/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      11/9/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      11/9/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/9/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      11/9/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      11/9/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           39.92
      11/9/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/9/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/9/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/9/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.11
      11/9/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.84
      11/9/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.71
      11/9/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      11/9/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      11/9/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      11/9/2019    709   DS0049   Owner Operator   Truck Payment                  CTMS - 233670 TRUCK RENTAL              500
      11/9/2019    709   DS0049   Owner Operator   Truck Payment                  CTMS - 233960 TRUCK RENTAL              500
      11/9/2019    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      11/9/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      11/9/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      11/9/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          628.3
      11/9/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      11/9/2019    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75

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      11/9/2019    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      11/9/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/9/2019    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/9/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.73
      11/9/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.84
      11/9/2019    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.51
      11/9/2019    709   DS0288   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         293.84
      11/9/2019    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      11/9/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/9/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      11/9/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/9/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/9/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/9/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.77
      11/9/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         690.29
      11/9/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      11/9/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      11/9/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      11/9/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      11/9/2019    709   EG0062   Owner Operator   Charge back by affiliate       CTMS - 234046 TRAILER WASH               -91
      11/9/2019    709   EG0062   Owner Operator   Charge back by affiliate       CTMS - 234046 TRAILER WASH               -91
      11/9/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      11/9/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.01
      11/9/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      11/9/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/9/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      11/9/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      11/9/2019    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/9/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/9/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.25
      11/9/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.07
      11/9/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.55
      11/9/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.18
      11/9/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      11/9/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      11/9/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      11/9/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      11/9/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/9/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/9/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.87
      11/9/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.11
      11/9/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      11/9/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 233845 truck lease 3304        434.29
      11/9/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/9/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      11/9/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.98
      11/9/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.84
      11/9/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      11/9/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/9/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      11/9/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      11/9/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      11/9/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/9/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/9/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/9/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.63
      11/9/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.74
      11/9/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   GA0051   Owner Operator   Permits1                       ID06:2019 - Q1200                         11
      11/9/2019    709   GA0051   Owner Operator   Permits1                       IL02:2019 - Q1200                       3.75
      11/9/2019    709   GA0051   Owner Operator   Permits1                       NM07:2019 - Q1200                         10
      11/9/2019    709   GA0051   Owner Operator   Permits1                       NY13:2019 - Q1200                        1.5
      11/9/2019    709   GA0051   Owner Operator   Permits1                       OR16:2019 - Q1200                        8.5

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      11/9/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      11/9/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             28.91
      11/9/2019    709   GA0051   Owner Operator   Truck Payment                  CTMS - 234077 Q1200 Lease             238.16
      11/9/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      11/9/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      11/9/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.66
      11/9/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      11/9/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 234074 Amortized Balloo        200.15
      11/9/2019    709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      11/9/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/9/2019    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 234047 FUEL                        -5
      11/9/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      11/9/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.84
      11/9/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.24
      11/9/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      11/9/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      11/9/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      11/9/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           300
      11/9/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.41
      11/9/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         793.97
      11/9/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      11/9/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/9/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      11/9/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/9/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/9/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/9/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/9/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.34
      11/9/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.27
      11/9/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          258.5
      11/9/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.97
      11/9/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      11/9/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/9/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      11/9/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      11/9/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.61
      11/9/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.4
      11/9/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.86
      11/9/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      11/9/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      11/9/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/9/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      11/9/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.54
      11/9/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.99
      11/9/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      11/9/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/9/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/9/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      11/9/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      11/9/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      11/9/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      11/9/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      11/9/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/9/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/9/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/9/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/9/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/9/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.05
      11/9/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.91
      11/9/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.52
      11/9/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.36
      11/9/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      11/9/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      11/9/2019    709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL South Beloit              8.35
      11/9/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 234080 Q13197 Lease            276.63
      11/9/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/9/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      11/9/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      11/9/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      11/9/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/9/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      11/9/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/9/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      11/9/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/9/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.24
      11/9/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.06
      11/9/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.35
      11/9/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      11/9/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      11/9/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      11/9/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      11/9/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/9/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      11/9/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/9/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             300
      11/9/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/9/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         627.51
      11/9/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.48
      11/9/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      11/9/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      11/9/2019    709   JG0072   Owner Operator   Repair Order                   CTMS - 234076 PARTS FOR REPAIR           296
      11/9/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      11/9/2019    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/9/2019    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.95
      11/9/2019    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      11/9/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      11/9/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/9/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      11/9/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.09
      11/9/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.08
      11/9/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      11/9/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      11/9/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      11/9/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      11/9/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.56
      11/9/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      11/9/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 233961 Truck Lease             278.76
      11/9/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      11/9/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      11/9/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      11/9/2019    709   JS0265   Owner Operator   ESCROW                         Escrow Withdrawal                      -5000
      11/9/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      11/9/2019    709   JS0265   Owner Operator   Express Check                  T-Check Payment                         5000
      11/9/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.18
      11/9/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.46
      11/9/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.15
      11/9/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          174.1
      11/9/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.24
      11/9/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.39
      11/9/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      11/9/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      11/9/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      11/9/2019    709   JS0265   Owner Operator   Toll Charges                   Q13159 ILTOLL I-57/147th St (I             5
      11/9/2019    709   JS0265   Owner Operator   Toll Charges                   Q13159 ILTOLL I-57/147th St (I             5
      11/9/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/9/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13

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      11/9/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/9/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/9/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/9/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/9/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/9/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.01
      11/9/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.15
      11/9/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      11/9/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      11/9/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      11/9/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/9/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      11/9/2019    709   KP0004   Owner Operator   Tractor Charge                 14457, half of misd ded 504.17        252.09
      11/9/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      11/9/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      11/9/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.14
      11/9/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.18
      11/9/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      11/9/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 234014 Q13156 Lease            388.16
      11/9/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      11/9/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      11/9/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/9/2019    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.58
      11/9/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.88
      11/9/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      11/9/2019    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Richmond                       26
      11/9/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/9/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      11/9/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.1
      11/9/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.27
      11/9/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      11/9/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/9/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      11/9/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      11/9/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.52
      11/9/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.29
      11/9/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      11/9/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      11/9/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      11/9/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.77
      11/9/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.63
      11/9/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.29
      11/9/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.81
      11/9/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.4
      11/9/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      11/9/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               38.44
      11/9/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 234019 Q1113 Lease             252.11
      11/9/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 234040 Lease Q13199            263.91
      11/9/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/9/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      11/9/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.57
      11/9/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.07
      11/9/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      11/9/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/9/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/9/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      11/9/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      11/9/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      11/9/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      11/9/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.61
      11/9/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      11/9/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/9/2019    709   NB0029   Owner Operator   Arrears                        Credit Billing                       1346.44
      11/9/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75

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      11/9/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL              8.75
      11/9/2019    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                       9.84
      11/9/2019    709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 234041 HVUT Form 2290               50
      11/9/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                           13
      11/9/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                           13
      11/9/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      11/9/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          223.08
      11/9/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      11/9/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/9/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/9/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/9/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/9/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          419.87
      11/9/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          669.15
      11/9/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.08
      11/9/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               35.16
      11/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr            2.5
      11/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD              48.83
      11/9/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter            2.5
      11/9/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 233494 32986 Lease              314.03
      11/9/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 233770 32986 Lease              314.03
      11/9/2019    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      11/9/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
      11/9/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
      11/9/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             300
      11/9/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      11/9/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.97
      11/9/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           394.9
      11/9/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/9/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 32.98
      11/9/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
      11/9/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/9/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              30.47
      11/9/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 234207 Truck 73130 Leas         196.65
      11/9/2019    709   OJ0007   Owner Operator   Advance                        EFS 232372 s/u $300/wk                   300
      11/9/2019    709   OJ0007   Owner Operator   Advance                        EFS 232372 s/u $300/wk               -1552.42
      11/9/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      11/9/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                            8
      11/9/2019    709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                              50
      11/9/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.59
      11/9/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          207.43
      11/9/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                       33.17
      11/9/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/9/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    27.35
      11/9/2019    709   OJ0007   Owner Operator   T Chek Fee                     ExpressCheck Fee                        15.37
      11/9/2019    709   OJ0007   Owner Operator   T Chek Fee                     Tractor Repair 34370                  1537.05
      11/9/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          215.66
      11/9/2019    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                 8.75
      11/9/2019    709   RB0170   Owner Operator   Charge back by affiliate       CTMS - 234076 HVUT Form 2290               50
      11/9/2019    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                            8
      11/9/2019    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                              50
      11/9/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          389.46
      11/9/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          127.01
      11/9/2019    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          409.75
      11/9/2019    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/9/2019    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                 39.07
      11/9/2019    709   RB0170   Owner Operator   Truck Payment                  CTMS - 234016 Q1241 Truck leas         321.84
      11/9/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      11/9/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                            8
      11/9/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.17
      11/9/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          492.37
      11/9/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          548.41
      11/9/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.43
      11/9/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/9/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.16
      11/9/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      11/9/2019    709   RL0017   Owner Operator   Arrears                        Credit Billing                        1494.44
      11/9/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      11/9/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                           13
      11/9/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                           13
      11/9/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            150
      11/9/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            150

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      11/9/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.22
      11/9/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         653.62
      11/9/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.59
      11/9/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      11/9/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      11/9/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      11/9/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/9/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      11/9/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      11/9/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/9/2019    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      11/9/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/9/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.05
      11/9/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.97
      11/9/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          32.16
      11/9/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      11/9/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      11/9/2019    709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00407268 - PO System          246.45
      11/9/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      11/9/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/9/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      11/9/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           150
      11/9/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.18
      11/9/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.07
      11/9/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      11/9/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      11/9/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      11/9/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      11/9/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      11/9/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      11/9/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      11/9/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          410.5
      11/9/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.32
      11/9/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      11/9/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      11/9/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      11/9/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.09
      11/9/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      11/9/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 233961 Q1202 Truck Leas        278.76
      11/9/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      11/9/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/9/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/9/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.13
      11/9/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.87
      11/9/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          263.6
      11/9/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          263.6
      11/9/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      11/9/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      11/9/2019    709   RR0123   Owner Operator   T Chek Fee                     ExpressCheck Fee                       20.53
      11/9/2019    709   RR0123   Owner Operator   T Chek Fee                     Tractor Repair Q1248                  681.59
      11/9/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      11/9/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      11/9/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      11/9/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/9/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/9/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/9/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.61
      11/9/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.24
      11/9/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.09
      11/9/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      11/9/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      11/9/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      11/9/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      11/9/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33

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      11/9/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      11/9/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      11/9/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             100
      11/9/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.51
      11/9/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          271.17
      11/9/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          172.99
      11/9/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.07
      11/9/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.31
      11/9/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/9/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      11/9/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      11/9/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 233961 Sub Lease                388.33
      11/9/2019    709   SM0109   Owner Operator   ESCROW                         Escrow Withdrawal                        -500
      11/9/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                        31.4
      11/9/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
      11/9/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      11/9/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      11/9/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          214.59
      11/9/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.13
      11/9/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          373.23
      11/9/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/9/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
      11/9/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      11/9/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      11/9/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.35
      11/9/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/9/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
      11/9/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    154.84
      11/9/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      11/9/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      11/9/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                             200
      11/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                              140
      11/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                              100
      11/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                              200
      11/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/9/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.4
      11/9/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.89
      11/9/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                            9.88
      11/9/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.19
      11/9/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          325.93
      11/9/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.16
      11/9/2019    709   VJ0006   Owner Operator   Loan Repayment                 Balance of Loan 2                     4056.72
      11/9/2019    709   VJ0006   Owner Operator   Loan Repayment                 EFS 230442, Ln 2 - Escrow            -6731.07
      11/9/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          257.43
      11/9/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/9/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.54
      11/9/2019    709   VJ0006   Owner Operator   Toll Charges                   33961 KTA Southern Terminal              4.05
      11/9/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      11/9/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      11/9/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/9/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
      11/9/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      11/9/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      11/9/2019    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                       9.84
      11/9/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      11/9/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      11/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              100
      11/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              100
      11/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              100
      11/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              200
      11/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              200
      11/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              100
      11/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/9/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          324.49
      11/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.12
      11/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.56
      11/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.26

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      11/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.28
      11/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.93
      11/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.26
      11/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.11
      11/9/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.35
      11/9/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      11/9/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 NTTA I-35W NORTH/I-30 EA          11.4
      11/9/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 NTTA I-820 East TEXpress            23
      11/9/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 NTTA Kelly Blvd.                  2.76
      11/9/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 NTTA Plaza 10 - Irving             2.4
      11/9/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 NTTA Plaza 9 - Carrollto          4.16
      11/9/2019    709   WH0087   Owner Operator   Toll Charges                   Q1239 NTTA SH-121/183 East TEX          24.6
      11/9/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 233714 Q1238 Lease             311.97
      11/9/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 234019 Q1238 Lease             311.97
      11/9/2019    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      11/9/2019    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      11/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/9/2019    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/9/2019    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.58
      11/9/2019    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      11/9/2019    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      11/9/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      11/9/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      11/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.35
      11/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.16
      11/9/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.96
      11/9/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      11/9/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      11/9/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 234014 Lease of Q13151         388.16
      11/9/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/9/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      11/9/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.04
      11/9/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.24
      11/9/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      11/9/2019    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      11/9/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.56
      11/9/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          506.8
      11/9/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.15
      11/9/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.94
      11/9/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.15
      11/9/2019    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      11/9/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      11/9/2019    742   CT0085   Owner Operator   T Chek Fee                     Advance Q13171                       1951.85
      11/9/2019    742   CT0085   Owner Operator   T Chek Fee                     ExpressCheck Fee                          25
      11/9/2019    742   CT0085   Owner Operator   Toll Charges                   Q13171 Benicia 1                          26
      11/9/2019    742   CT0085   Owner Operator   Toll Charges                   Q13171 Benicia 1                          26
      11/9/2019    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 11                26
      11/9/2019    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 11                26
      11/9/2019    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 12                16
      11/9/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/9/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      11/9/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.63
      11/9/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.86
      11/9/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           335
      11/9/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      11/9/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/9/2019    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      11/9/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      11/9/2019    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      11/9/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.29
      11/9/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.86
      11/9/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.86
      11/9/2019    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.99
      11/9/2019    742   DC0117   Owner Operator   Tire Purchase                  PO: 742-00415294 - PO System           279.2
      11/9/2019    742   DC0117   Owner Operator   Tire Purchase                  PO: 742-00415294 - PO System           279.2
      11/9/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      11/9/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8

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      11/9/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/9/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/9/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.68
      11/9/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.96
      11/9/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.94
      11/9/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.72
      11/9/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      11/9/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      11/9/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/9/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      11/9/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.67
      11/9/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      11/9/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/9/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      11/9/2019    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      11/9/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      11/9/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      11/9/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.47
      11/9/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.85
      11/9/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      11/9/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.08
      11/9/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.71
      11/9/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.44
      11/9/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.93
      11/9/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.91
      11/9/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      11/9/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      11/9/2019    742   ED0041   Owner Operator   Toll Charges                   32897 BATA Carquinez Bridge               26
      11/9/2019    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - Sout             7
      11/9/2019    742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL Joliet Rd.                 1.15
      11/9/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/9/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      11/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.38
      11/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.33
      11/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.85
      11/9/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.56
      11/9/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      11/9/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      11/9/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/9/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      11/9/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      11/9/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      11/9/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      11/9/2019    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      11/9/2019    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/9/2019    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.86
      11/9/2019    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.44
      11/9/2019    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      11/9/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      11/9/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      11/9/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         749.88
      11/9/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      11/9/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/9/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      11/9/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/9/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/9/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      11/9/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/9/2019    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              -35
      11/9/2019    742   NG0024   Owner Operator   Repair Order                   CTMS - 233800 repair                      35
      11/9/2019    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      11/9/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/9/2019    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      11/9/2019    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/9/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/9/2019    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/9/2019    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          185.6

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       11/9/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.59
       11/9/2019   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
       11/9/2019   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       11/9/2019   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
       11/9/2019   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       11/9/2019   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       11/9/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.41
       11/9/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.16
       11/9/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.32
       11/9/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.48
       11/9/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.14
       11/9/2019   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/9/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
       11/9/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       11/9/2019   742   TC0098   Owner Operator   Toll Charges                   33489 HCTRA Sam Houston - Nort             7
       11/9/2019   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       11/9/2019   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       11/9/2019   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/9/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       11/9/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       11/9/2019   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       11/9/2019   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       11/9/2019   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/9/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       11/9/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      11/16/2019   406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      11/16/2019   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      11/16/2019   709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      11/16/2019   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/16/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.4
      11/16/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.22
      11/16/2019   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      11/16/2019   709   AC0061   Owner Operator   Truck Payment                  CTMS - 234622 Q13148 Trac Leas        296.09
      11/16/2019   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      11/16/2019   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      11/16/2019   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      11/16/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      11/16/2019   709   AN0007   Owner Operator   Toll Charges                   21157A TOLLROAD Exit 1190              26.48
      11/16/2019   709   AN0007   Owner Operator   Toll Charges                   21157A TOLLROAD Exit 1190              26.48
      11/16/2019   709   AN0007   Owner Operator   Toll Charges                   21157A TOLLROAD SR241 Tomato S         14.36
      11/16/2019   709   AN0007   Owner Operator   Toll Charges                   21157A TOLLROAD SR241 Tomatopr         14.36
      11/16/2019   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      11/16/2019   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      11/16/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.54
      11/16/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.97
      11/16/2019   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      11/16/2019   709   AR0064   Owner Operator   Tire Purchase                  PO: 709-00415983 - PO System          441.11
      11/16/2019   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      11/16/2019   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      11/16/2019   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      11/16/2019   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.49
      11/16/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.51
      11/16/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           75.5
      11/16/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.59
      11/16/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.49
      11/16/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.55
      11/16/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.15
      11/16/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.14
      11/16/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.47
      11/16/2019   709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                1438.44
      11/16/2019   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      11/16/2019   709   AV0021   Owner Operator   Truck Payment                  CTMS - 234153 Q13169 Sublease         352.68
      11/16/2019   709   AV0021   Owner Operator   Truck Payment                  CTMS - 234543 Q13169 Sublease         352.68
      11/16/2019   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      11/16/2019   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          14.81
      11/16/2019   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      11/16/2019   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8

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      11/16/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/16/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/16/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.63
      11/16/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.86
      11/16/2019   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      11/16/2019   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      11/16/2019   709   CC0134   Owner Operator   Truck Payment                  CTMS - 234346 Q13168 sub lease        352.68
      11/16/2019   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/16/2019   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      11/16/2019   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/16/2019   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.92
      11/16/2019   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.98
      11/16/2019   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      11/16/2019   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      11/16/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/16/2019   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      11/16/2019   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/16/2019   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      11/16/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.85
      11/16/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.69
      11/16/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.58
      11/16/2019   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      11/16/2019   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/16/2019   709   DL0107   Owner Operator   Charge back by affiliate       CTMS - 234344 HVUT Form 2290              50
      11/16/2019   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      11/16/2019   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/16/2019   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/16/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.47
      11/16/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.46
      11/16/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         663.74
      11/16/2019   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      11/16/2019   709   DL0107   Owner Operator   Truck Payment                  CTMS - 234344 Baloon payoff           350.23
      11/16/2019   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/16/2019   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      11/16/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/16/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/16/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.06
      11/16/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.98
      11/16/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.26
      11/16/2019   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      11/16/2019   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      11/16/2019   709   DS0049   Owner Operator   Truck Payment                  CTMS - 234288 TRUCK RENTAL              500
      11/16/2019   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      11/16/2019   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      11/16/2019   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.66
      11/16/2019   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      11/16/2019   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/16/2019   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      11/16/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/16/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/16/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/16/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/16/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/16/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/16/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.09
      11/16/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.2
      11/16/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.83
      11/16/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.56
      11/16/2019   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      11/16/2019   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/16/2019   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      11/16/2019   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/16/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      11/16/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/16/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.55
      11/16/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.08
      11/16/2019   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      11/16/2019   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      11/16/2019   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      11/16/2019   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      11/16/2019   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      11/16/2019   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.23
      11/16/2019   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      11/16/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/16/2019   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      11/16/2019   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      11/16/2019   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/16/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/16/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/16/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.39
      11/16/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           424
      11/16/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.16
      11/16/2019   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      11/16/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      11/16/2019   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      11/16/2019   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      11/16/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.52
      11/16/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.5
      11/16/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.28
      11/16/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.71
      11/16/2019   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      11/16/2019   709   FS0039   Owner Operator   Truck Payment                  CTMS - 234153 truck lease 3304        434.29
      11/16/2019   709   FS0039   Owner Operator   Truck Payment                  CTMS - 234543 truck lease 3304        434.29
      11/16/2019   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/16/2019   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      11/16/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.21
      11/16/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.61
      11/16/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.68
      11/16/2019   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      11/16/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/16/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      11/16/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      11/16/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      11/16/2019   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/16/2019   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/16/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.43
      11/16/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.64
      11/16/2019   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      11/16/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             28.91
      11/16/2019   709   GA0051   Owner Operator   Truck Payment                  CTMS - 234443 Q1200 Lease             238.16
      11/16/2019   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      11/16/2019   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      11/16/2019   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.16
      11/16/2019   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      11/16/2019   709   GS0015   Owner Operator   Truck Payment                  CTMS - 234441 Amortized Balloo        200.15
      11/16/2019   709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      11/16/2019   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/16/2019   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      11/16/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.26
      11/16/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.57
      11/16/2019   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      11/16/2019   709   HC0023   Owner Operator   Truck Payment                  CTMS - 234079 Q13170                  352.68

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      11/16/2019   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      11/16/2019   709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      11/16/2019   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           300
      11/16/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.47
      11/16/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         774.05
      11/16/2019   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      11/16/2019   709   HG0007   Owner Operator   Tire Fee                       Tire Fee: 2345670                          4
      11/16/2019   709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00418775 - PO System          110.71
      11/16/2019   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/16/2019   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      11/16/2019   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      11/16/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.5
      11/16/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         687.56
      11/16/2019   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      11/16/2019   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      11/16/2019   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/16/2019   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      11/16/2019   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.18
      11/16/2019   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      11/16/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/16/2019   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/16/2019   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      11/16/2019   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.6
      11/16/2019   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      11/16/2019   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      11/16/2019   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      11/16/2019   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      11/16/2019   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/16/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/16/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.28
      11/16/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.92
      11/16/2019   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      11/16/2019   709   JC0292   Owner Operator   Truck Payment                  CTMS - 234438 Q13197 Lease            276.63
      11/16/2019   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/16/2019   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      11/16/2019   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      11/16/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      11/16/2019   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/16/2019   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      11/16/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/16/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/16/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/16/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.25
      11/16/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.06
      11/16/2019   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      11/16/2019   709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      11/16/2019   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      11/16/2019   709   JG0017   Owner Operator   Tire Fee                       Tire Fee: 2345663                          8
      11/16/2019   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00418776 - PO System          215.24
      11/16/2019   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      11/16/2019   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/16/2019   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      11/16/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            400
      11/16/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      11/16/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.83
      11/16/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.41
      11/16/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.46
      11/16/2019   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      11/16/2019   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      11/16/2019   709   JG0072   Owner Operator   Repair Order                   CTMS - 234443 PARTS FOR REPAIR          296
      11/16/2019   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05

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      11/16/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      11/16/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/16/2019   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      11/16/2019   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.22
      11/16/2019   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.57
      11/16/2019   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      11/16/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      11/16/2019   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      11/16/2019   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      11/16/2019   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          484.5
      11/16/2019   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      11/16/2019   709   JR0099   Owner Operator   Truck Payment                  CTMS - 234289 Truck Lease             278.76
      11/16/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      11/16/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      11/16/2019   709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      11/16/2019   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/16/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.68
      11/16/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.27
      11/16/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      11/16/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      11/16/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      11/16/2019   709   JS0265   Owner Operator   Truck Payment                  CTMS - 234073 Q13159 Lease             331.5
      11/16/2019   709   JS0265   Owner Operator   Truck Payment                  CTMS - 234440 Q13159 Lease             331.5
      11/16/2019   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/16/2019   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      11/16/2019   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/16/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/16/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/16/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.76
      11/16/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           75.1
      11/16/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.27
      11/16/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           255
      11/16/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           439
      11/16/2019   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      11/16/2019   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      11/16/2019   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      11/16/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/16/2019   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      11/16/2019   709   KP0004   Owner Operator   Tractor Charge                 14457, half of misd ded 504.17        252.08
      11/16/2019   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      11/16/2019   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      11/16/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                           21.9
      11/16/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.93
      11/16/2019   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      11/16/2019   709   KT0055   Owner Operator   Truck Payment                  CTMS - 234341 Q13156 Lease            388.16
      11/16/2019   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/16/2019   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/16/2019   709   LL0160   Owner Operator   Charge back by affiliate       CTMS - 234016 HVUT Form 2290              50
      11/16/2019   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      11/16/2019   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      11/16/2019   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      11/16/2019   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      11/16/2019   709   LL0160   Owner Operator   Truck Payment                  CTMS - 234153 Lease Q1111             252.11
      11/16/2019   709   LL0160   Owner Operator   Truck Payment                  CTMS - 234543 Lease Q1111             252.11
      11/16/2019   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      11/16/2019   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      11/16/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/16/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/16/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         643.73
      11/16/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.21

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      11/16/2019   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      11/16/2019   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/16/2019   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      11/16/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.33
      11/16/2019   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      11/16/2019   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/16/2019   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      11/16/2019   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      11/16/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.33
      11/16/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          207.5
      11/16/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.39
      11/16/2019   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      11/16/2019   709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      11/16/2019   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      11/16/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.75
      11/16/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.15
      11/16/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.06
      11/16/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.86
      11/16/2019   709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      11/16/2019   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               38.44
      11/16/2019   709   ME0053   Owner Operator   Truck Payment                  CTMS - 234300 Refund lease pay       -252.11
      11/16/2019   709   ME0053   Owner Operator   Truck Payment                  CTMS - 234340 Lease Q13199            263.91
      11/16/2019   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/16/2019   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      11/16/2019   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.35
      11/16/2019   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      11/16/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/16/2019   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/16/2019   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      11/16/2019   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      11/16/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/16/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/16/2019   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         592.38
      11/16/2019   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      11/16/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/16/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      11/16/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      11/16/2019   709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 234340 HVUT Form 2290              50
      11/16/2019   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      11/16/2019   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/16/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/16/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/16/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.51
      11/16/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         600.55
      11/16/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.18
      11/16/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.42
      11/16/2019   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      11/16/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      11/16/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      11/16/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      11/16/2019   709   NB0029   Owner Operator   Truck Payment                  CTMS - 234072 32986 Lease             314.03
      11/16/2019   709   NB0029   Owner Operator   Truck Payment                  CTMS - 234439 32986 Lease             314.03
      11/16/2019   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      11/16/2019   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      11/16/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/16/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/16/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.59
      11/16/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.7
      11/16/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.56
      11/16/2019   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      11/16/2019   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      11/16/2019   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47

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      11/16/2019   709   NT9564   Owner Operator   Truck Payment                  CTMS - 234627 Truck 73130 Leas        196.65
      11/16/2019   709   OJ0007   Owner Operator   Advance                        EFS 232372 s/u $300/wk                  300
      11/16/2019   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/16/2019   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      11/16/2019   709   OJ0007   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/16/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                             81
      11/16/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.11
      11/16/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.32
      11/16/2019   709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      11/16/2019   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      11/16/2019   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      11/16/2019   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      11/16/2019   709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      11/16/2019   709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/16/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.64
      11/16/2019   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      11/16/2019   709   RB0170   Owner Operator   Truck Payment                  CTMS - 234343 Q1241 Truck leas        321.84
      11/16/2019   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/16/2019   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      11/16/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          688.9
      11/16/2019   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      11/16/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/16/2019   709   RL0017   Owner Operator   Arrears                        Credit Billing                       4252.18
      11/16/2019   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/16/2019   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      11/16/2019   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           150
      11/16/2019   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          610.5
      11/16/2019   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      11/16/2019   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      11/16/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/16/2019   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      11/16/2019   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/16/2019   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      11/16/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/16/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/16/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.21
      11/16/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.07
      11/16/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.92
      11/16/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.74
      11/16/2019   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      11/16/2019   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      11/16/2019   709   RL0062   Owner Operator   Tire Purchase                  PO: 709-00407268 - PO System          246.41
      11/16/2019   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      11/16/2019   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/16/2019   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      11/16/2019   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           150
      11/16/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.65
      11/16/2019   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      11/16/2019   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      11/16/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      11/16/2019   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      11/16/2019   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      11/16/2019   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      11/16/2019   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      11/16/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.43
      11/16/2019   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      11/16/2019   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      11/16/2019   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      11/16/2019   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.03
      11/16/2019   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      11/16/2019   709   RP0082   Owner Operator   Truck Payment                  CTMS - 234289 Q1202 Truck Leas        278.76
      11/16/2019   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      11/16/2019   709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 233774 HVUT Form 2290              50

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      11/16/2019   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      11/16/2019   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      11/16/2019   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      11/16/2019   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.71
      11/16/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.72
      11/16/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          433.3
      11/16/2019   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          263.6
      11/16/2019   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      11/16/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      11/16/2019   709   RR0123   Owner Operator   T Chek Fee                     Tractor Repair Q1248                 1371.23
      11/16/2019   709   RR0123   Owner Operator   Truck Payment                  CTMS - 233713 Q1248                   311.97
      11/16/2019   709   RR0123   Owner Operator   Truck Payment                  CTMS - 234018 Q1248                   311.97
      11/16/2019   709   RR0123   Owner Operator   Truck Payment                  CTMS - 234346 Q1248                   311.97
      11/16/2019   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      11/16/2019   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      11/16/2019   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/16/2019   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      11/16/2019   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      11/16/2019   709   SB0009   Owner Operator   Repair Order                   CTMS - 234649 Repair                    130
      11/16/2019   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      11/16/2019   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      11/16/2019   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      11/16/2019   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/16/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.25
      11/16/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.5
      11/16/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.86
      11/16/2019   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      11/16/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      11/16/2019   709   SB0103   Owner Operator   Truck Payment                  CTMS - 234290 Sub Lease               388.33
      11/16/2019   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      11/16/2019   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      11/16/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           448
      11/16/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           412
      11/16/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           510
      11/16/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           321
      11/16/2019   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       1.77
      11/16/2019   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      11/16/2019   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      11/16/2019   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      11/16/2019   709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                       44.76
      11/16/2019   709   SM0109   Owner Operator   T Chek Fee                     Tractor Repair 33195                 3134.53
      11/16/2019   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      11/16/2019   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/16/2019   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      11/16/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                              40
      11/16/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      11/16/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.08
      11/16/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.21
      11/16/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          334.2
      11/16/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.26
      11/16/2019   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      11/16/2019   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      11/16/2019   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      11/16/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         576.23
      11/16/2019   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      11/16/2019   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      11/16/2019   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/16/2019   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      11/16/2019   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/16/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.89
      11/16/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.13
      11/16/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.75

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      11/16/2019   709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      11/16/2019   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      11/16/2019   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/16/2019   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      11/16/2019   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      11/16/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/16/2019   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      11/16/2019   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      11/16/2019   709   WH0087   Owner Operator   Truck Payment                  CTMS - 234346 Q1238 Lease             131.28
      11/16/2019   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      11/16/2019   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      11/16/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.84
      11/16/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.27
      11/16/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.94
      11/16/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.89
      11/16/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          122.1
      11/16/2019   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      11/16/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      11/16/2019   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      11/16/2019   742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      11/16/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.93
      11/16/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.33
      11/16/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.14
      11/16/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.26
      11/16/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.28
      11/16/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.95
      11/16/2019   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      11/16/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      11/16/2019   742   BS0078   Owner Operator   Toll Charges                   Q13151 HCTRA Sam Houston - Red             4
      11/16/2019   742   BS0078   Owner Operator   Toll Charges                   Q13151 HCTRA Ship Channel Brid             7
      11/16/2019   742   BS0078   Owner Operator   Toll Charges                   Q13151 TXTAG GRDPKY Spencer Ma          8.48
      11/16/2019   742   BS0078   Owner Operator   Truck Payment                  CTMS - 234342 Lease of Q13151         388.16
      11/16/2019   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/16/2019   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      11/16/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.03
      11/16/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.82
      11/16/2019   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      11/16/2019   742   CT0085   Owner Operator   Arrears                        Credit Billing                         26.23
      11/16/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      11/16/2019   742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      11/16/2019   742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      11/16/2019   742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      11/16/2019   742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      11/16/2019   742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      11/16/2019   742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      11/16/2019   742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      11/16/2019   742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      11/16/2019   742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      11/16/2019   742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      11/16/2019   742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      11/16/2019   742   CT0085   Owner Operator   Charge back by affiliate       CTMS - 219339 HVUT Form 2290            110
      11/16/2019   742   CT0085   Owner Operator   Charge back by affiliate       CTMS - 219646 HVUT Form 2290            110
      11/16/2019   742   CT0085   Owner Operator   Charge back by affiliate       CTMS - 219956 HVUT Form 2290            110
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8

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      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      11/16/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.93
      11/16/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.12
      11/16/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.74
      11/16/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      11/16/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      11/16/2019   742   CT0085   Owner Operator   T Chek Fee                     Advance Q13171                        548.15
      11/16/2019   742   CT0085   Owner Operator   Tire Fee                       Tire Fee: 2345631                         12
      11/16/2019   742   CT0085   Owner Operator   Tire Purchase                  PO: 742-00418583 - PO System          279.38
      11/16/2019   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/16/2019   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      11/16/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      11/16/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.02
      11/16/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      11/16/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           500
      11/16/2019   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      11/16/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/16/2019   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      11/16/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.93
      11/16/2019   742   DC0117   Owner Operator   Tire Purchase                  PO: 742-00415294 - PO System          279.13
      11/16/2019   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      11/16/2019   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      11/16/2019   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/16/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.97
      11/16/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.62
      11/16/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.75
      11/16/2019   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      11/16/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      11/16/2019   742   DS0254   Owner Operator   Tire Fee                       Tire Fee: 2345537                         16
      11/16/2019   742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00418586 - PO System          389.57
      11/16/2019   742   DS0254   Owner Operator   Truck Payment                  CTMS - 234072 Trk 33487 Lease          434.2
      11/16/2019   742   DS0254   Owner Operator   Truck Payment                  CTMS - 234439 Trk 33487 Lease          434.2
      11/16/2019   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/16/2019   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      11/16/2019   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.97
      11/16/2019   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          596.6
      11/16/2019   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      11/16/2019   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/16/2019   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/16/2019   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      11/16/2019   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/16/2019   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/16/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.54

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      11/16/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.04
      11/16/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.25
      11/16/2019   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      11/16/2019   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      11/16/2019   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/16/2019   742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Northwest M           4.4
      11/16/2019   742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Spencer Mai          8.48
      11/16/2019   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      11/16/2019   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      11/16/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      11/16/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      11/16/2019   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      11/16/2019   742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      11/16/2019   742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/16/2019   742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            120
      11/16/2019   742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
      11/16/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.32
      11/16/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          469.5
      11/16/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                           388
      11/16/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.86
      11/16/2019   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   JB0465   Owner Operator   Permits                        IL02:2019 - 34804                       3.75
      11/16/2019   742   JB0465   Owner Operator   Permits                        NY13:2019 - 34804                        1.5
      11/16/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.44
      11/16/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      11/16/2019   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      11/16/2019   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      11/16/2019   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.71
      11/16/2019   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         789.94
      11/16/2019   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      11/16/2019   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/16/2019   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      11/16/2019   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/16/2019   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      11/16/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/16/2019   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      11/16/2019   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      11/16/2019   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      11/16/2019   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      11/16/2019   742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      11/16/2019   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.88
      11/16/2019   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                           320
      11/16/2019   742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.57
      11/16/2019   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      11/16/2019   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      11/16/2019   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      11/16/2019   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      11/16/2019   742   NG0024   Owner Operator   Repair Order                   CTMS - 233800 repair                  183.32
      11/16/2019   742   NG0024   Owner Operator   Repair Order                   CTMS - 234124 repair                    250
      11/16/2019   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      11/16/2019   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/16/2019   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      11/16/2019   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/16/2019   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/16/2019   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/16/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.09
      11/16/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.16
      11/16/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.83
      11/16/2019   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      11/16/2019   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      11/16/2019   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      11/16/2019   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      11/16/2019   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      11/16/2019   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13

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      11/16/2019   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      11/16/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            150
      11/16/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      11/16/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.53
      11/16/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.27
      11/16/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.74
      11/16/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.1
      11/16/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.08
      11/16/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.29
      11/16/2019   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      11/16/2019   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      11/16/2019   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      11/16/2019   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      11/16/2019   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      11/16/2019   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      11/16/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.74
      11/16/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.93
      11/16/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.82
      11/16/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.86
      11/16/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.21
      11/16/2019   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      11/16/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      11/16/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      11/16/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      11/16/2019   742   RN0054   Owner Operator   Tire Fee                       Tire Fee: 2345503                          8
      11/16/2019   742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00418079 - PO System          256.66
      11/16/2019   742   RN0054   Owner Operator   Truck Payment                  CTMS - 234078 Tractor Lease           353.28
      11/16/2019   742   RN0054   Owner Operator   Truck Payment                  CTMS - 234445 Tractor Lease           353.28
      11/16/2019   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/16/2019   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/16/2019   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      11/16/2019   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      11/16/2019   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      11/16/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      11/16/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      11/16/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      11/16/2019   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      11/16/2019   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      11/16/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          577.7
      11/16/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.32
      11/16/2019   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      11/16/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      11/16/2019   742   TC0098   Owner Operator   Repair Order                   CTMS - 234648 Repair                    236
      11/16/2019   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Route 80 (West)               5
      11/16/2019   742   TC0098   Owner Operator   Truck Payment                  CTMS - 234145 33489 Lease Paym        412.16
      11/16/2019   742   TC0098   Owner Operator   Truck Payment                  CTMS - 234535 33489 Lease Paym        412.16
      11/16/2019   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/16/2019   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      11/16/2019   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.59
      11/16/2019   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      11/16/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/16/2019   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      11/16/2019   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      11/16/2019   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      11/16/2019   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/16/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      11/16/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      11/23/2019   406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      11/23/2019   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      11/23/2019   709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      11/23/2019   709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      11/23/2019   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/23/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.01
      11/23/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.95
      11/23/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.81

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      11/23/2019   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      11/23/2019   709   AC0061   Owner Operator   Truck Payment                  CTMS - 234967 Q13148 Trac Leas        296.09
      11/23/2019   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      11/23/2019   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      11/23/2019   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.41
      11/23/2019   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      11/23/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      11/23/2019   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      11/23/2019   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      11/23/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.84
      11/23/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.85
      11/23/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.27
      11/23/2019   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      11/23/2019   709   AR0064   Owner Operator   Truck Payment                  CTMS - 234154 Q13147 Lease            440.14
      11/23/2019   709   AR0064   Owner Operator   Truck Payment                  CTMS - 234531 Q13147 Lease            440.14
      11/23/2019   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      11/23/2019   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      11/23/2019   709   AV0021   Owner Operator   Charge back by affiliate       CTMS - 234976 HVUT Form 2290              50
      11/23/2019   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      11/23/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.27
      11/23/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.81
      11/23/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.33
      11/23/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.91
      11/23/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.97
      11/23/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.57
      11/23/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.38
      11/23/2019   709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  1088
      11/23/2019   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      11/23/2019   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      11/23/2019   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      11/23/2019   709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      11/23/2019   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      11/23/2019   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      11/23/2019   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      11/23/2019   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          32.69
      11/23/2019   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      11/23/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      11/23/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      11/23/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      11/23/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      11/23/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      11/23/2019   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      11/23/2019   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      11/23/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/23/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/23/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          114.2
      11/23/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.47
      11/23/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.03
      11/23/2019   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      11/23/2019   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      11/23/2019   709   CC0134   Owner Operator   Truck Payment                  CTMS - 234738 Q13168 sub lease        352.68
      11/23/2019   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/23/2019   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      11/23/2019   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/23/2019   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/23/2019   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.89
      11/23/2019   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         580.09
      11/23/2019   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      11/23/2019   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      11/23/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/23/2019   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      11/23/2019   709   CR0064   Owner Operator   Arrears                        Credit Billing                        755.06
      11/23/2019   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      11/23/2019   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      11/23/2019   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 234445 HVUT Form 2290              50

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      11/23/2019   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 234826 HVUT Form 2290              50
      11/23/2019   709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      11/23/2019   709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      11/23/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.86
      11/23/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.35
      11/23/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.67
      11/23/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.79
      11/23/2019   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      11/23/2019   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      11/23/2019   709   CR0064   Owner Operator   Truck Payment                  CTMS - 234441 Q1247 Sub Lease         263.91
      11/23/2019   709   CR0064   Owner Operator   Truck Payment                  CTMS - 234822 Q1247 Sub Lease         263.91
      11/23/2019   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/23/2019   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      11/23/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.72
      11/23/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           375
      11/23/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.68
      11/23/2019   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      11/23/2019   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/23/2019   709   DL0107   Owner Operator   Charge back by affiliate       CTMS - 234735 HVUT Form 2290              50
      11/23/2019   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      11/23/2019   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/23/2019   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/23/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          553.8
      11/23/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         639.56
      11/23/2019   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      11/23/2019   709   DL0107   Owner Operator   Truck Payment                  CTMS - 234736 Baloon payoff           350.23
      11/23/2019   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      11/23/2019   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      11/23/2019   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      11/23/2019   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      11/23/2019   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      11/23/2019   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      11/23/2019   709   DM0257   Owner Operator   Repair Order                   CTMS - 234323 REPAIR                    160
      11/23/2019   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/23/2019   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                    12.5
      11/23/2019   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      11/23/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/23/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/23/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.64
      11/23/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.32
      11/23/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.42
      11/23/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.17
      11/23/2019   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      11/23/2019   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      11/23/2019   709   DS0049   Owner Operator   Truck Payment                  CTMS - 234683 TRUCK RENTAL              500
      11/23/2019   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      11/23/2019   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      11/23/2019   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         664.98
      11/23/2019   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      11/23/2019   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/23/2019   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      11/23/2019   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/23/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/23/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/23/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/23/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/23/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.19
      11/23/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.77
      11/23/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         584.64
      11/23/2019   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      11/23/2019   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      11/23/2019   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      11/23/2019   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      11/23/2019   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8

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      11/23/2019   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          625.34
      11/23/2019   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    42.19
      11/23/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
      11/23/2019   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
      11/23/2019   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13
      11/23/2019   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            100
      11/23/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/23/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/23/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            370
      11/23/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            355
      11/23/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          415.46
      11/23/2019   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 78.13
      11/23/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
      11/23/2019   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
      11/23/2019   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
      11/23/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/23/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100
      11/23/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/23/2019   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/23/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.93
      11/23/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.71
      11/23/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           243.3
      11/23/2019   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              76.88
      11/23/2019   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      11/23/2019   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                    12.5
      11/23/2019   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                          13
      11/23/2019   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/23/2019   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/23/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          132.01
      11/23/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                           192.6
      11/23/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          475.72
      11/23/2019   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    39.07
      11/23/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      11/23/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL              8.75
      11/23/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                           13
      11/23/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                            8
      11/23/2019   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/23/2019   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/23/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                           14.27
      11/23/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          190.86
      11/23/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.91
      11/23/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.58
      11/23/2019   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    23.44
      11/23/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD              28.91
      11/23/2019   709   GA0051   Owner Operator   Truck Payment                  CTMS - 234825 Q1200 Lease              238.16
      11/23/2019   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL              8.75
      11/23/2019   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                           13
      11/23/2019   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          434.34
      11/23/2019   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD              39.07
      11/23/2019   709   GS0015   Owner Operator   Truck Payment                  CTMS - 234822 Amortized Balloo         200.15
      11/23/2019   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL              8.75
      11/23/2019   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL              8.75
      11/23/2019   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL              8.75
      11/23/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.16
      11/23/2019   709   GW0043   Owner Operator   Loan Repayment                 EFS 233525                           -4846.09
      11/23/2019   709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment          352.17
      11/23/2019   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD              44.11
      11/23/2019   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD              44.11
      11/23/2019   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD              44.11
      11/23/2019   709   GW0043   Owner Operator   T Chek Fee                     ExpressCheck Fee                        47.98
      11/23/2019   709   GW0043   Owner Operator   T Chek Fee                     Tractor Repair Q1109                  4798.11
      11/23/2019   709   GW0043   Owner Operator   Truck Payment                  CTMS - 233599 Q1109 Lease              236.43
      11/23/2019   709   GW0043   Owner Operator   Truck Payment                  CTMS - 233890 Q1109 Lease              302.85
      11/23/2019   709   GW0043   Owner Operator   Truck Payment                  CTMS - 234200 Q1109 Lease              195.55

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      11/23/2019   709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks           250
      11/23/2019   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/23/2019   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      11/23/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.23
      11/23/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.83
      11/23/2019   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      11/23/2019   709   HC0023   Owner Operator   Truck Payment                  CTMS - 234437 Q13170                  352.68
      11/23/2019   709   HC0023   Owner Operator   Truck Payment                  CTMS - 234827 Q13170                  352.68
      11/23/2019   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      11/23/2019   709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      11/23/2019   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           300
      11/23/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.2
      11/23/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         669.11
      11/23/2019   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      11/23/2019   709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00418775 - PO System          110.71
      11/23/2019   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/23/2019   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/23/2019   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      11/23/2019   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      11/23/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/23/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/23/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/23/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/23/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/23/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/23/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.15
      11/23/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.93
      11/23/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.56
      11/23/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.69
      11/23/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.31
      11/23/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.85
      11/23/2019   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      11/23/2019   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      11/23/2019   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/23/2019   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      11/23/2019   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      11/23/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         608.42
      11/23/2019   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      11/23/2019   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      11/23/2019   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/23/2019   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      11/23/2019   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.41
      11/23/2019   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          306.4
      11/23/2019   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      11/23/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/23/2019   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/23/2019   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      11/23/2019   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      11/23/2019   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      11/23/2019   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      11/23/2019   709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      11/23/2019   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      11/23/2019   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/23/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/23/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/23/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/23/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/23/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/23/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/23/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.45
      11/23/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.49
      11/23/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.23
      11/23/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.17
      11/23/2019   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      11/23/2019   709   JC0292   Owner Operator   Truck Payment                  CTMS - 234828 Q13197 Lease            276.63

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      11/23/2019   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/23/2019   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      11/23/2019   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      11/23/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      11/23/2019   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/23/2019   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      11/23/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/23/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/23/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.38
      11/23/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.07
      11/23/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.31
      11/23/2019   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      11/23/2019   709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      11/23/2019   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      11/23/2019   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00418776 - PO System          215.24
      11/23/2019   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      11/23/2019   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/23/2019   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      11/23/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/23/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/23/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         567.69
      11/23/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         540.96
      11/23/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.73
      11/23/2019   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      11/23/2019   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      11/23/2019   709   JG0072   Owner Operator   Repair Order                   CTMS - 234824 PARTS FOR REPAIR          296
      11/23/2019   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      11/23/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      11/23/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/23/2019   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      11/23/2019   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.72
      11/23/2019   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      11/23/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      11/23/2019   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      11/23/2019   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      11/23/2019   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.89
      11/23/2019   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      11/23/2019   709   JR0099   Owner Operator   Truck Payment                  CTMS - 234684 Truck Lease             278.76
      11/23/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      11/23/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      11/23/2019   709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      11/23/2019   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/23/2019   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/23/2019   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/23/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.86
      11/23/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          384.1
      11/23/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      11/23/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      11/23/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      11/23/2019   709   JS0265   Owner Operator   Truck Payment                  CTMS - 234821 Q13159 Lease             331.5
      11/23/2019   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/23/2019   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      11/23/2019   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      11/23/2019   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/23/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/23/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/23/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           328
      11/23/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.91
      11/23/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.85
      11/23/2019   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      11/23/2019   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      11/23/2019   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      11/23/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/23/2019   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      11/23/2019   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      11/23/2019   709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5

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      11/23/2019   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                         8
      11/23/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        281.84
      11/23/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        211.65
      11/23/2019   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/23/2019   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD           42.19
      11/23/2019   709   KT0055   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.5
      11/23/2019   709   KT0055   Owner Operator   T Chek Fee                     Towing Q13156                          350
      11/23/2019   709   KT0055   Owner Operator   Truck Payment                  CTMS - 234733 Q13156 Lease           388.16
      11/23/2019   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      11/23/2019   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      11/23/2019   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      11/23/2019   709   LL0160   Owner Operator   Truck Payment                  CTMS - 234907 Lease Q1111            252.11
      11/23/2019   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      11/23/2019   709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                   12.5
      11/23/2019   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      11/23/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/23/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      11/23/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        740.66
      11/23/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        479.58
      11/23/2019   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/23/2019   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  57.04
      11/23/2019   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      11/23/2019   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                          8
      11/23/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        110.76
      11/23/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        474.72
      11/23/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        258.58
      11/23/2019   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/23/2019   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     49.69
      11/23/2019   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      11/23/2019   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                          8
      11/23/2019   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                          300
      11/23/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        292.24
      11/23/2019   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/23/2019   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     23.44
      11/23/2019   709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL              8.75
      11/23/2019   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                         8
      11/23/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        228.68
      11/23/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        309.22
      11/23/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.8
      11/23/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        249.88
      11/23/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.38
      11/23/2019   709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        330.39
      11/23/2019   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/23/2019   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD              38.44
      11/23/2019   709   ME0053   Owner Operator   Truck Payment                  CTMS - 234736 Lease Q13199           263.91
      11/23/2019   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      11/23/2019   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                          8
      11/23/2019   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.8
      11/23/2019   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/23/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      11/23/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      11/23/2019   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      11/23/2019   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                   12.5
      11/23/2019   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          8
      11/23/2019   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          500
      11/23/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                           260
      11/23/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             40
      11/23/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.4
      11/23/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        2.6
      11/23/2019   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.21
      11/23/2019   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.69
      11/23/2019   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      11/23/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     50.79
      11/23/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      11/23/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL             8.75
      11/23/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL            8.75
      11/23/2019   709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 234736 HVUT Form 2290             50
      11/23/2019   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                         13
      11/23/2019   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          250
      11/23/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/23/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                           200
      11/23/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      11/23/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2

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      11/23/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          452.5
      11/23/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.21
      11/23/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         698.61
      11/23/2019   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      11/23/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      11/23/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      11/23/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      11/23/2019   709   NB0029   Owner Operator   Truck Payment                  CTMS - 234821 32986 Lease             314.03
      11/23/2019   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      11/23/2019   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      11/23/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/23/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/23/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.63
      11/23/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.65
      11/23/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.91
      11/23/2019   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      11/23/2019   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      11/23/2019   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      11/23/2019   709   NT9564   Owner Operator   Truck Payment                  CTMS - 234973 Truck 73130 Leas        196.65
      11/23/2019   709   OJ0007   Owner Operator   Advance                        EFS 232372 s/u $300/wk                  300
      11/23/2019   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/23/2019   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      11/23/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.18
      11/23/2019   709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      11/23/2019   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      11/23/2019   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      11/23/2019   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      11/23/2019   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      11/23/2019   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      11/23/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.73
      11/23/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.25
      11/23/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.59
      11/23/2019   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      11/23/2019   709   RB0170   Owner Operator   Truck Payment                  CTMS - 234734 Q1241 Truck leas        123.64
      11/23/2019   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/23/2019   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      11/23/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.77
      11/23/2019   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      11/23/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/23/2019   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/23/2019   709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      11/23/2019   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      11/23/2019   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           150
      11/23/2019   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         714.84
      11/23/2019   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      11/23/2019   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      11/23/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/23/2019   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      11/23/2019   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/23/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          539.5
      11/23/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.64
      11/23/2019   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      11/23/2019   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      11/23/2019   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      11/23/2019   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/23/2019   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      11/23/2019   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           150
      11/23/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.22
      11/23/2019   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      11/23/2019   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      11/23/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      11/23/2019   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      11/23/2019   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      11/23/2019   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75

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      11/23/2019   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                           13
      11/23/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          386.78
      11/23/2019   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        31.25
      11/23/2019   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
      11/23/2019   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                           13
      11/23/2019   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          471.36
      11/23/2019   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD               58.6
      11/23/2019   709   RP0082   Owner Operator   Truck Payment                  CTMS - 234685 Q1202 Truck Leas         278.76
      11/23/2019   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                 8.75
      11/23/2019   709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                     12.5
      11/23/2019   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                            8
      11/23/2019   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                              100
      11/23/2019   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                              100
      11/23/2019   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/23/2019   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      11/23/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          578.36
      11/23/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          457.47
      11/23/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          470.23
      11/23/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          436.37
      11/23/2019   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment           263.6
      11/23/2019   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                 65.08
      11/23/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror            2.5
      11/23/2019   709   RR0123   Owner Operator   Truck Payment                  CTMS - 234738 Q1248                    311.97
      11/23/2019   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      11/23/2019   709   SB0103   Owner Operator   Charge back by affiliate       CTMS - 234976 HVUT Form 2290               50
      11/23/2019   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      11/23/2019   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                             100
      11/23/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          259.23
      11/23/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.39
      11/23/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.82
      11/23/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.31
      11/23/2019   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      11/23/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      11/23/2019   709   SB0103   Owner Operator   Truck Payment                  CTMS - 234685 Sub Lease                388.33
      11/23/2019   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
      11/23/2019   709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                     12.5
      11/23/2019   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      11/23/2019   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      11/23/2019   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      11/23/2019   709   SM0109   Owner Operator   ESCROW                         Escrow Withdrawal                       -1000
      11/23/2019   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                             100
      11/23/2019   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                             100
      11/23/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                             365
      11/23/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                             364
      11/23/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                             258
      11/23/2019   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       33.17
      11/23/2019   709   SM0109   Owner Operator   Loan Repayment                 EFS 232488                           -4520.51
      11/23/2019   709   SM0109   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          353.37
      11/23/2019   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
      11/23/2019   709   SM0109   Owner Operator   T Chek Fee                     Advance                                  1000
      11/23/2019   709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                           10
      11/23/2019   709   SM0109   Owner Operator   T Chek Fee                     Tractor Repair 33195                  1341.22
      11/23/2019   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
      11/23/2019   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      11/23/2019   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      11/23/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                              200
      11/23/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/23/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           205.4
      11/23/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.74
      11/23/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.89
      11/23/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.22
      11/23/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          175.45
      11/23/2019   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
      11/23/2019   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      11/23/2019   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      11/23/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                             417
      11/23/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          526.54

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      11/23/2019   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      11/23/2019   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      11/23/2019   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/23/2019   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      11/23/2019   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/23/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/23/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/23/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.42
      11/23/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.26
      11/23/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.4
      11/23/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.91
      11/23/2019   709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      11/23/2019   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      11/23/2019   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/23/2019   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      11/23/2019   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      11/23/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/23/2019   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      11/23/2019   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      11/23/2019   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      11/23/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/23/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/23/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/23/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/23/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/23/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/23/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          291.4
      11/23/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.05
      11/23/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.18
      11/23/2019   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      11/23/2019   709   WH0087   Owner Operator   Truck Payment                  CTMS - 234346 Q1238 Lease             180.69
      11/23/2019   709   WH0087   Owner Operator   Truck Payment                  CTMS - 234738 Q1238 Lease             311.97
      11/23/2019   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      11/23/2019   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      11/23/2019   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      11/23/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/23/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/23/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/23/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/23/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/23/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/23/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.25
      11/23/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.51
      11/23/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.98
      11/23/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.98
      11/23/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.17
      11/23/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.59
      11/23/2019   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      11/23/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      11/23/2019   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      11/23/2019   742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      11/23/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.26
      11/23/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.56
      11/23/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.78
      11/23/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.53
      11/23/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.46
      11/23/2019   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      11/23/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      11/23/2019   742   BS0078   Owner Operator   Truck Payment                  CTMS - 234733 Lease of Q13151         388.16
      11/23/2019   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/23/2019   742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      11/23/2019   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      11/23/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.31
      11/23/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          655.5
      11/23/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.82
      11/23/2019   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32

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      11/23/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL             8.75
      11/23/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                           8
      11/23/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.74
      11/23/2019   742   CT0085   Owner Operator   Loan Repayment                 Conditional Credit/Loan                -2525
      11/23/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      11/23/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te            2.5
      11/23/2019   742   CT0085   Owner Operator   T Chek Fee                     Advance Q13171                          2500
      11/23/2019   742   CT0085   Owner Operator   T Chek Fee                     ExpressCheck Fee                           25
      11/23/2019   742   CT0085   Owner Operator   Tire Purchase                  PO: 742-00418583 - PO System          279.38
      11/23/2019   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      11/23/2019   742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                     12.5
      11/23/2019   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                           13
      11/23/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            230
      11/23/2019   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      11/23/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      11/23/2019   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                           13
      11/23/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.08
      11/23/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         705.45
      11/23/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.17
      11/23/2019   742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL 82nd St.                      -5
      11/23/2019   742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL 82nd St.                    6.65
      11/23/2019   742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL I-57/147th St (Il             -5
      11/23/2019   742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL I-57/147th St (Il           6.65
      11/23/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.85
      11/23/2019   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL I-57/147th St (Il             -5
      11/23/2019   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Spring Creek               -5.85
      11/23/2019   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      11/23/2019   742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                     12.5
      11/23/2019   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                            8
      11/23/2019   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         539.88
      11/23/2019   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.03
      11/23/2019   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      11/23/2019   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
      11/23/2019   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                        8.75
      11/23/2019   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                        8.75
      11/23/2019   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                           13
      11/23/2019   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                           13
      11/23/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                            119
      11/23/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.89
      11/23/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.98
      11/23/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                            14.8
      11/23/2019   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      11/23/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      11/23/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism                2.5
      11/23/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism                2.5
      11/23/2019   742   ED0041   Owner Operator   Toll Charges                   32897 BATA Benicia                         26
      11/23/2019   742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL Cermak Rd.                    -5
      11/23/2019   742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL Cermak Rd.                  6.65
      11/23/2019   742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL Joliet Rd.                 -1.15
      11/23/2019   742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL Joliet Rd.                   1.4
      11/23/2019   742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL Touhy Ave.                 -6.25
      11/23/2019   742   ED0041   Owner Operator   Toll Charges                   32897 ILTOLL Touhy Ave.                  8.35
      11/23/2019   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      11/23/2019   742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                     12.5
      11/23/2019   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                           13
      11/23/2019   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/23/2019   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      11/23/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.71
      11/23/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         609.51
      11/23/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.64
      11/23/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.94
      11/23/2019   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      11/23/2019   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      11/23/2019   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      11/23/2019   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      11/23/2019   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                8.75
      11/23/2019   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                          13
      11/23/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69

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      11/23/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      11/23/2019   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      11/23/2019   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      11/23/2019   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         714.57
      11/23/2019   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      11/23/2019   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/23/2019   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      11/23/2019   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/23/2019   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      11/23/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/23/2019   742   MS0230   Owner Operator   ESCROW                         Final Balance Refund                   -3000
      11/23/2019   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      11/23/2019   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      11/23/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             150
      11/23/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      11/23/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.6
      11/23/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.71
      11/23/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.13
      11/23/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.92
      11/23/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.9
      11/23/2019   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      11/23/2019   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      11/23/2019   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      11/23/2019   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      11/23/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.83
      11/23/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.81
      11/23/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                            291
      11/23/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.89
      11/23/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.79
      11/23/2019   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      11/23/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      11/23/2019   742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00418079 - PO System          256.66
      11/23/2019   742   RN0054   Owner Operator   Toll Charges                   Q13157 CTRMA SH550 - DC South              1
      11/23/2019   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/23/2019   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      11/23/2019   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      11/23/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      11/23/2019   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      11/23/2019   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      11/23/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.76
      11/23/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.97
      11/23/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.89
      11/23/2019   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      11/23/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      11/23/2019   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/23/2019   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      11/23/2019   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.83
      11/23/2019   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      11/23/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/23/2019   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      11/23/2019   843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      11/23/2019   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      11/23/2019   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/23/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      11/23/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      11/30/2019   406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      11/30/2019   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      11/30/2019   709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      11/30/2019   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/30/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          520.3
      11/30/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.65
      11/30/2019   709   AC0061   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            476.11
      11/30/2019   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.93
      11/30/2019   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      11/30/2019   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13

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      11/30/2019   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.09
      11/30/2019   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      11/30/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      11/30/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.79
      11/30/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.12
      11/30/2019   709   AV0021   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            139.79
      11/30/2019   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      11/30/2019   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      11/30/2019   709   BM0030   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            560.13
      11/30/2019   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      11/30/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      11/30/2019   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      11/30/2019   709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      11/30/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.71
      11/30/2019   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.13
      11/30/2019   709   CC0134   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             71.05
      11/30/2019   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      11/30/2019   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      11/30/2019   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/30/2019   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      11/30/2019   709   CM0119   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             13.23
      11/30/2019   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      11/30/2019   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.43
      11/30/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/30/2019   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      11/30/2019   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      11/30/2019   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 235163 HVUT Form 2290              50
      11/30/2019   709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      11/30/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.1
      11/30/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          223.8
      11/30/2019   709   CR0064   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             91.09
      11/30/2019   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.01
      11/30/2019   709   CR0064   Owner Operator   Truck Payment                  CTMS - 235159 Q1247 Sub Lease         263.91
      11/30/2019   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/30/2019   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      11/30/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.74
      11/30/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.55
      11/30/2019   709   DL0029   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax              192
      11/30/2019   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      11/30/2019   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/30/2019   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      11/30/2019   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/30/2019   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/30/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.41
      11/30/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         626.44
      11/30/2019   709   DL0107   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             88.24
      11/30/2019   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
      11/30/2019   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      11/30/2019   709   DM0257   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            757.32
      11/30/2019   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      11/30/2019   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      11/30/2019   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/30/2019   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      11/30/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/30/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/30/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.88
      11/30/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.82
      11/30/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.43
      11/30/2019   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      11/30/2019   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.33

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      11/30/2019   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      11/30/2019   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      11/30/2019   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         623.85
      11/30/2019   709   DS0225   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            -39.27
      11/30/2019   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
      11/30/2019   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/30/2019   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      11/30/2019   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/30/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          610.3
      11/30/2019   709   EA0003   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            213.22
      11/30/2019   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      11/30/2019   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      11/30/2019   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      11/30/2019   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      11/30/2019   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      11/30/2019   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.28
      11/30/2019   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.13
      11/30/2019   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      11/30/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/30/2019   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      11/30/2019   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      11/30/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.97
      11/30/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.48
      11/30/2019   709   FS0039   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             24.91
      11/30/2019   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      11/30/2019   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/30/2019   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      11/30/2019   709   FV0001   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             211.3
      11/30/2019   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      11/30/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/30/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      11/30/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      11/30/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      11/30/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.45
      11/30/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.74
      11/30/2019   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      11/30/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD              28.9
      11/30/2019   709   GA0051   Owner Operator   Truck Payment                  CTMS - 235161 Q1200 Lease             238.16
      11/30/2019   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      11/30/2019   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      11/30/2019   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      11/30/2019   709   GS0015   Owner Operator   Truck Payment                  CTMS - 235159 Amortized Balloo        200.15
      11/30/2019   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      11/30/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           3.29
      11/30/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.42
      11/30/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.64
      11/30/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.17
      11/30/2019   709   GW0043   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             282.2
      11/30/2019   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      11/30/2019   709   GW0043   Owner Operator   Truck Payment                  CTMS - 234200 Q1109 Lease              107.3
      11/30/2019   709   GW0043   Owner Operator   Truck Payment                  CTMS - 234620 Q1109 Lease             302.85
      11/30/2019   709   HC0023   Owner Operator   Advance                        5/27/19 Clm 74267-1 s/u 8 wks          37.33
      11/30/2019   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/30/2019   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      11/30/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.56
      11/30/2019   709   HC0023   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax              95.5
      11/30/2019   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      11/30/2019   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75

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      11/30/2019   709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      11/30/2019   709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           300
      11/30/2019   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/30/2019   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/30/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         622.21
      11/30/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.07
      11/30/2019   709   HG0007   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             68.62
      11/30/2019   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.04
      11/30/2019   709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00418775 - PO System          110.71
      11/30/2019   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/30/2019   709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      11/30/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/30/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/30/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/30/2019   709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/30/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         593.73
      11/30/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.73
      11/30/2019   709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.72
      11/30/2019   709   HG0027   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            127.26
      11/30/2019   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      11/30/2019   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/30/2019   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      11/30/2019   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      11/30/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         599.84
      11/30/2019   709   IA0007   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            -17.43
      11/30/2019   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      11/30/2019   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      11/30/2019   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/30/2019   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      11/30/2019   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.5
      11/30/2019   709   IR0002   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            -68.67
      11/30/2019   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      11/30/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/30/2019   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/30/2019   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      11/30/2019   709   JA0152   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/30/2019   709   JA0152   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/30/2019   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.27
      11/30/2019   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      11/30/2019   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      11/30/2019   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      11/30/2019   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      11/30/2019   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/30/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.26
      11/30/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.95
      11/30/2019   709   JC0292   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            203.74
      11/30/2019   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      11/30/2019   709   JC0292   Owner Operator   Toll Charges                   Q13197 Carquinez Bridge 11                26
      11/30/2019   709   JC0292   Owner Operator   Truck Payment                  CTMS - 235165 Q13197 Lease            276.63
      11/30/2019   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/30/2019   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      11/30/2019   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      11/30/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      11/30/2019   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/30/2019   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      11/30/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/30/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/30/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.24
      11/30/2019   709   JG0017   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             51.54
      11/30/2019   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      11/30/2019   709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      11/30/2019   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.33
      11/30/2019   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00418776 - PO System          215.24

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      11/30/2019   709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       26
      11/30/2019   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      11/30/2019   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/30/2019   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      11/30/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.73
      11/30/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          563.7
      11/30/2019   709   JG0072   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            464.74
      11/30/2019   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      11/30/2019   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      11/30/2019   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      11/30/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      11/30/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/30/2019   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      11/30/2019   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.09
      11/30/2019   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      11/30/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.61
      11/30/2019   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      11/30/2019   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      11/30/2019   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.45
      11/30/2019   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      11/30/2019   709   JR0099   Owner Operator   Truck Payment                  CTMS - 235036 Truck Lease             278.76
      11/30/2019   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/30/2019   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      11/30/2019   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/30/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.65
      11/30/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.89
      11/30/2019   709   KP0004   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            407.51
      11/30/2019   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      11/30/2019   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         254.87
      11/30/2019   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      11/30/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/30/2019   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      11/30/2019   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      11/30/2019   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      11/30/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          209.3
      11/30/2019   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
      11/30/2019   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/30/2019   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      11/30/2019   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      11/30/2019   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      11/30/2019   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      11/30/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         692.16
      11/30/2019   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.01
      11/30/2019   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/30/2019   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      11/30/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.26
      11/30/2019   709   MA0092   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             77.94
      11/30/2019   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      11/30/2019   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/30/2019   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      11/30/2019   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      11/30/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          113.9
      11/30/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.62
      11/30/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.93
      11/30/2019   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      11/30/2019   709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      11/30/2019   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      11/30/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.64
      11/30/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.78

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      11/30/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          255.2
      11/30/2019   709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      11/30/2019   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               38.43
      11/30/2019   709   ME0053   Owner Operator   Truck Payment                  CTMS - 235101 Lease Q13199            263.91
      11/30/2019   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/30/2019   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      11/30/2019   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.47
      11/30/2019   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.69
      11/30/2019   709   MG0067   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            -54.76
      11/30/2019   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      11/30/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/30/2019   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/30/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/30/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/30/2019   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.29
      11/30/2019   709   MP0035   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             48.76
      11/30/2019   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.76
      11/30/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/30/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      11/30/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      11/30/2019   709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 235101 HVUT Form 2290              50
      11/30/2019   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      11/30/2019   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/30/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.43
      11/30/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.99
      11/30/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.22
      11/30/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.62
      11/30/2019   709   NB0029   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            240.28
      11/30/2019   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      11/30/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      11/30/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      11/30/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      11/30/2019   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      11/30/2019   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      11/30/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.36
      11/30/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.27
      11/30/2019   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      11/30/2019   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      11/30/2019   709   NT9564   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            176.68
      11/30/2019   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      11/30/2019   709   OJ0007   Owner Operator   Advance                        EFS 232372 s/u $300/wk                  300
      11/30/2019   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/30/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.05
      11/30/2019   709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                       3.55
      11/30/2019   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
      11/30/2019   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      11/30/2019   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      11/30/2019   709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      11/30/2019   709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      11/30/2019   709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/30/2019   709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/30/2019   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      11/30/2019   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      11/30/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.52
      11/30/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.66
      11/30/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.6
      11/30/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.23
      11/30/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.37

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      11/30/2019   709   RB0170   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            282.31
      11/30/2019   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.04
      11/30/2019   709   RB0170   Owner Operator   Truck Payment                  CTMS - 234734 Q1241 Truck leas         198.2
      11/30/2019   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/30/2019   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      11/30/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.15
      11/30/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.69
      11/30/2019   709   RC0030   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            137.23
      11/30/2019   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      11/30/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/30/2019   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/30/2019   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      11/30/2019   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           150
      11/30/2019   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           682
      11/30/2019   709   RL0017   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            -41.87
      11/30/2019   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      11/30/2019   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      11/30/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/30/2019   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      11/30/2019   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/30/2019   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      11/30/2019   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      11/30/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          149.8
      11/30/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         561.58
      11/30/2019   709   RL0062   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            474.44
      11/30/2019   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      11/30/2019   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      11/30/2019   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      11/30/2019   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/30/2019   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      11/30/2019   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           150
      11/30/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.93
      11/30/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.12
      11/30/2019   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      11/30/2019   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      11/30/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      11/30/2019   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      11/30/2019   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      11/30/2019   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      11/30/2019   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      11/30/2019   709   RM0026   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   RM0026   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.24
      11/30/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          82.13
      11/30/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.13
      11/30/2019   709   RM0026   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             336.8
      11/30/2019   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      11/30/2019   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      11/30/2019   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      11/30/2019   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      11/30/2019   709   RP0082   Owner Operator   Truck Payment                  CTMS - 235036 Q1202 Truck Leas        278.76
      11/30/2019   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      11/30/2019   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      11/30/2019   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/30/2019   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/30/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.92
      11/30/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.64
      11/30/2019   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          263.6
      11/30/2019   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      11/30/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      11/30/2019   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75

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      11/30/2019   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      11/30/2019   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      11/30/2019   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      11/30/2019   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      11/30/2019   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/30/2019   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/30/2019   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.33
      11/30/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.88
      11/30/2019   709   SB0009   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            276.34
      11/30/2019   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      11/30/2019   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      11/30/2019   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      11/30/2019   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      11/30/2019   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      11/30/2019   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      11/30/2019   709   SB0103   Owner Operator   Advance                        EFS 233951 s/u 3 wks                  317.24
      11/30/2019   709   SB0103   Owner Operator   Advance                        EFS 233951 s/u 3 wks                  -951.7
      11/30/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          55.14
      11/30/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.05
      11/30/2019   709   SB0103   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            271.27
      11/30/2019   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      11/30/2019   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      11/30/2019   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/30/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           299
      11/30/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           377
      11/30/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.85
      11/30/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.5
      11/30/2019   709   SM0109   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            358.89
      11/30/2019   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      11/30/2019   709   SM0109   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         353.37
      11/30/2019   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      11/30/2019   709   SM0109   Owner Operator   Toll Charges                   33195 HCTRA Sam Houston - NE M          1.75
      11/30/2019   709   SM0109   Owner Operator   Toll Charges                   33195/701730 Benicia 12                   26
      11/30/2019   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      11/30/2019   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/30/2019   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      11/30/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.56
      11/30/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.53
      11/30/2019   709   SN0019   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            170.95
      11/30/2019   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      11/30/2019   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      11/30/2019   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      11/30/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.04
      11/30/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.01
      11/30/2019   709   VB0015   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             37.57
      11/30/2019   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      11/30/2019   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      11/30/2019   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/30/2019   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      11/30/2019   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/30/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.2
      11/30/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           7.42
      11/30/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.17
      11/30/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.09
      11/30/2019   709   VJ0006   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            304.33
      11/30/2019   709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      11/30/2019   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      11/30/2019   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/30/2019   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      11/30/2019   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25

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      11/30/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/30/2019   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      11/30/2019   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      11/30/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            150
      11/30/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      11/30/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.23
      11/30/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.37
      11/30/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.13
      11/30/2019   709   WH0087   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            226.04
      11/30/2019   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      11/30/2019   709   WH0087   Owner Operator   Toll Charges                   Q1239 NTTA Exit SH183-MNST-95           2.92
      11/30/2019   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      11/30/2019   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      11/30/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/30/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/30/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.98
      11/30/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.74
      11/30/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.41
      11/30/2019   742   AP0047   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            733.02
      11/30/2019   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      11/30/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      11/30/2019   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/30/2019   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      11/30/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.32
      11/30/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         566.28
      11/30/2019   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      11/30/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.58
      11/30/2019   742   CT0085   Owner Operator   Loan Repayment                 Rev Conditional Credit/Loan           433.63
      11/30/2019   742   CT0085   Owner Operator   Toll Charges                   Q13171 Antioch Bridge 1                   26
      11/30/2019   742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 4                 26
      11/30/2019   742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 4                 26
      11/30/2019   742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 4                 26
      11/30/2019   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      11/30/2019   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      11/30/2019   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      11/30/2019   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      11/30/2019   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/30/2019   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/30/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.52
      11/30/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.62
      11/30/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.39
      11/30/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.12
      11/30/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.13
      11/30/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.03
      11/30/2019   742   DS0254   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            -22.91
      11/30/2019   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      11/30/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      11/30/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      11/30/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      11/30/2019   742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00418586 - PO System          389.57
      11/30/2019   742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00418586 - PO System          389.57
      11/30/2019   742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 4                  26
      11/30/2019   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL I-57/147th St (Il          6.65
      11/30/2019   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Spring Creek                7.5
      11/30/2019   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/30/2019   742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      11/30/2019   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.75
      11/30/2019   742   EA0039   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             69.25
      11/30/2019   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      11/30/2019   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/30/2019   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      11/30/2019   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      11/30/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.52
      11/30/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.92
      11/30/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.58

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      11/30/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.22
      11/30/2019   742   ED0041   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             37.17
      11/30/2019   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      11/30/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      11/30/2019   742   ED0041   Owner Operator   Toll Charges                   32897 BATA Carquinez Bridge               26
      11/30/2019   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      11/30/2019   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      11/30/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      11/30/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      11/30/2019   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      11/30/2019   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      11/30/2019   742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      11/30/2019   742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      11/30/2019   742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/30/2019   742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/30/2019   742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/30/2019   742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            120
      11/30/2019   742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/30/2019   742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
      11/30/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.54
      11/30/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.65
      11/30/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.03
      11/30/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.27
      11/30/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.84
      11/30/2019   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.44
      11/30/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.43
      11/30/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      11/30/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      11/30/2019   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      11/30/2019   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      11/30/2019   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.33
      11/30/2019   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         712.32
      11/30/2019   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      11/30/2019   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/30/2019   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/30/2019   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/30/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.36
      11/30/2019   742   PC0012   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             90.68
      11/30/2019   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      11/30/2019   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      11/30/2019   742   PC0012   Owner Operator   Toll Charges                   32969 Benicia 12                          26
      11/30/2019   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      11/30/2019   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      11/30/2019   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      11/30/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            150
      11/30/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      11/30/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.84
      11/30/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          110.9
      11/30/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.44
      11/30/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.39
      11/30/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.47
      11/30/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.89
      11/30/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.09
      11/30/2019   742   RF0136   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax              36.7
      11/30/2019   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      11/30/2019   742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 8                  26
      11/30/2019   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      11/30/2019   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      11/30/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.76
      11/30/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.24
      11/30/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.14
      11/30/2019   742   RN0054   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             84.71
      11/30/2019   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      11/30/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      11/30/2019   742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00418079 - PO System          256.66
      11/30/2019   742   RS0342   Owner Operator   *Arrears Collection W/O        WO:August 2019 Fuel/Mileage Ta        -45.82
      11/30/2019   742   RS0342   Owner Operator   FUEL TAX                       August 2019 Fuel/Mileage Tax           45.82

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      11/30/2019   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/30/2019   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      11/30/2019   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      11/30/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      11/30/2019   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      11/30/2019   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      11/30/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.98
      11/30/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.95
      11/30/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.47
      11/30/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.82
      11/30/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.92
      11/30/2019   742   TC0098   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             78.99
      11/30/2019   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
      11/30/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      11/30/2019   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/30/2019   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      11/30/2019   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.89
      11/30/2019   742   TH0130   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            135.92
      11/30/2019   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      11/30/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/30/2019   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      11/30/2019   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      11/30/2019   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      11/30/2019   843   EI0003   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            526.29
      11/30/2019   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/30/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      11/30/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       12/7/2019   406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
       12/7/2019   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       12/7/2019   709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
       12/7/2019   709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
       12/7/2019   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
       12/7/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.15
       12/7/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.43
       12/7/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.26
       12/7/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.9
       12/7/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.98
       12/7/2019   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/7/2019   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
       12/7/2019   709   AC0061   Owner Operator   Truck Payment                  CTMS - 235223 Q13148 Trac Leas        296.09
       12/7/2019   709   AC0061   Owner Operator   Truck Payment                  CTMS - 235485 Q13148 Trac Leas        296.09
       12/7/2019   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       12/7/2019   709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
       12/7/2019   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       12/7/2019   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.91
       12/7/2019   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/7/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       12/7/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       12/7/2019   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       12/7/2019   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       12/7/2019   709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
       12/7/2019   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       12/7/2019   709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
       12/7/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.77
       12/7/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.77
       12/7/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.33
       12/7/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.82
       12/7/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.03
       12/7/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.09
       12/7/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.97
       12/7/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.47
       12/7/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.27
       12/7/2019   709   AR0064   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            520.18
       12/7/2019   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/7/2019   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/7/2019   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
       12/7/2019   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
       12/7/2019   709   AR0064   Owner Operator   Truck Payment                  CTMS - 234908 Q13147 Lease            440.14
       12/7/2019   709   AR0064   Owner Operator   Truck Payment                  CTMS - 235213 Q13147 Lease            440.14
       12/7/2019   709   AR0064   Owner Operator   Truck Payment                  CTMS - 235430 Q13147 Lease            440.14

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      12/7/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      12/7/2019    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      12/7/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      12/7/2019    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      12/7/2019    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      12/7/2019    709   AV0021   Owner Operator   Charge back by affiliate       CTMS - 235220 HVUT Form 2290              50
      12/7/2019    709   AV0021   Owner Operator   Charge back by affiliate       CTMS - 235490 HVUT Form 2290              50
      12/7/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      12/7/2019    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      12/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          58.23
      12/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.97
      12/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.52
      12/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.31
      12/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.64
      12/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           64.5
      12/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          56.85
      12/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          142.8
      12/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.36
      12/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.82
      12/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.02
      12/7/2019    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.39
      12/7/2019    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 479.43
      12/7/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      12/7/2019    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      12/7/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 234907 Q13169 Sublease         352.68
      12/7/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 235212 Q13169 Sublease         352.68
      12/7/2019    709   AV0021   Owner Operator   Truck Payment                  CTMS - 235430 Q13169 Sublease         352.68
      12/7/2019    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      12/7/2019    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      12/7/2019    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      12/7/2019    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      12/7/2019    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      12/7/2019    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      12/7/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/7/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/7/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/7/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.79
      12/7/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      12/7/2019    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.86
      12/7/2019    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      12/7/2019    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      12/7/2019    709   CC0134   Owner Operator   Truck Payment                  CTMS - 235102 Q13168 sub lease        300.63
      12/7/2019    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/7/2019    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      12/7/2019    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      12/7/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.51
      12/7/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.67
      12/7/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.08
      12/7/2019    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         541.03
      12/7/2019    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      12/7/2019    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      12/7/2019    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/7/2019    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      12/7/2019    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      12/7/2019    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                      9.84
      12/7/2019    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
      12/7/2019    709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 235372 HVUT Form 2290              50
      12/7/2019    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      12/7/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          378.8
      12/7/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.57
      12/7/2019    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.47
      12/7/2019    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      12/7/2019    709   CR0064   Owner Operator   Truck Payment                  CTMS - 235368 Q1247 Sub Lease         263.91
      12/7/2019    709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75

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      12/7/2019    709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            5.65
      12/7/2019    709   CS0091   Owner Operator   Permits1                       ID06:2019 - Q1201                         -11
      12/7/2019    709   CS0091   Owner Operator   Permits1                       IL02:2019 - Q1201                       -3.75
      12/7/2019    709   CS0091   Owner Operator   Permits1                       NM07:2019 - Q1201                         -10
      12/7/2019    709   CS0091   Owner Operator   Permits1                       NY13:2019 - Q1201                        -1.5
      12/7/2019    709   CS0091   Owner Operator   Permits1                       OR16:2019 - Q1201                        -8.5
      12/7/2019    709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             20.35
      12/7/2019    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      12/7/2019    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                       9.84
      12/7/2019    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      12/7/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.73
      12/7/2019    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.69
      12/7/2019    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/7/2019    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     34.2
      12/7/2019    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      12/7/2019    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                       9.84
      12/7/2019    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      12/7/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.94
      12/7/2019    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         708.41
      12/7/2019    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/7/2019    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      12/7/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 235100 Baloon payoff           350.23
      12/7/2019    709   DL0107   Owner Operator   Truck Payment                  CTMS - 235302 Baloon payoff           350.23
      12/7/2019    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      12/7/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.54
      12/7/2019    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.44
      12/7/2019    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/7/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      12/7/2019    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      12/7/2019    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/7/2019    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
      12/7/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/7/2019    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      12/7/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.14
      12/7/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.17
      12/7/2019    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.02
      12/7/2019    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      12/7/2019    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/7/2019    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      12/7/2019    709   DS0049   Owner Operator   Truck Payment                  CTMS - 235034 TRUCK RENTAL               500
      12/7/2019    709   DS0049   Owner Operator   Truck Payment                  CTMS - 235251 TRUCK RENTAL               500
      12/7/2019    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      12/7/2019    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                       9.84
      12/7/2019    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
      12/7/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.97
      12/7/2019    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.29
      12/7/2019    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/7/2019    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      12/7/2019    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/7/2019    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                       9.84
      12/7/2019    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
      12/7/2019    709   EA0003   Owner Operator   ESCROW                         Escrow Withdrawal                     -14000
      12/7/2019    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      12/7/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/7/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/7/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/7/2019    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/7/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.15
      12/7/2019    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.61
      12/7/2019    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      12/7/2019    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/7/2019    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      12/7/2019    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      12/7/2019    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
      12/7/2019    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                       9.84
      12/7/2019    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
      12/7/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.67
      12/7/2019    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.39
      12/7/2019    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/7/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      12/7/2019    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
      12/7/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
      12/7/2019    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75

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      12/7/2019    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      12/7/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      12/7/2019    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      12/7/2019    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/7/2019    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/7/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.73
      12/7/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.85
      12/7/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.17
      12/7/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.98
      12/7/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.45
      12/7/2019    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.89
      12/7/2019    709   EO0014   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            151.67
      12/7/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      12/7/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      12/7/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/7/2019    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/7/2019    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      12/7/2019    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      12/7/2019    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      12/7/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/7/2019    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.4
      12/7/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.65
      12/7/2019    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.23
      12/7/2019    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      12/7/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 234907 truck lease 3304        434.29
      12/7/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 235212 truck lease 3304        434.29
      12/7/2019    709   FS0039   Owner Operator   Truck Payment                  CTMS - 235429 truck lease 3304        434.29
      12/7/2019    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/7/2019    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      12/7/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/7/2019    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.61
      12/7/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                             41
      12/7/2019    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         662.86
      12/7/2019    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      12/7/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/7/2019    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      12/7/2019    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRK34330                      9.84
      12/7/2019    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1200                      9.84
      12/7/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      12/7/2019    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      12/7/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/7/2019    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/7/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.48
      12/7/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.32
      12/7/2019    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.02
      12/7/2019    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      12/7/2019    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             28.91
      12/7/2019    709   GA0051   Owner Operator   Truck Payment                  CTMS - 235370 Q1200 Lease             238.16
      12/7/2019    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      12/7/2019    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      12/7/2019    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      12/7/2019    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.39
      12/7/2019    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      12/7/2019    709   GS0015   Owner Operator   Truck Payment                  CTMS - 235368 Amortized Balloo        200.15
      12/7/2019    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      12/7/2019    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      12/7/2019    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      12/7/2019    709   GW0043   Owner Operator   Charge back by affiliate       CTMS - 233449 HVUT Form 2290              50
      12/7/2019    709   GW0043   Owner Operator   Charge back by affiliate       CTMS - 233711 HVUT Form 2290              50

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      12/7/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      12/7/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      12/7/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      12/7/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      12/7/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      12/7/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      12/7/2019    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      12/7/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/7/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.79
      12/7/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.16
      12/7/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.95
      12/7/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.87
      12/7/2019    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.59
      12/7/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         352.17
      12/7/2019    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         352.17
      12/7/2019    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      12/7/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 234965 Q1109 Lease             302.85
      12/7/2019    709   GW0043   Owner Operator   Truck Payment                  CTMS - 235221 Q1109 Lease             302.85
      12/7/2019    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      12/7/2019    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      12/7/2019    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      12/7/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.92
      12/7/2019    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.28
      12/7/2019    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      12/7/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 235164 Q13170                  352.68
      12/7/2019    709   HC0023   Owner Operator   Truck Payment                  CTMS - 235373 Q13170                  352.68
      12/7/2019    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      12/7/2019    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                      9.84
      12/7/2019    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      12/7/2019    709   HG0007   Owner Operator   ESCROW                         Weekly Escrow                           300
      12/7/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/7/2019    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.86
      12/7/2019    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.34
      12/7/2019    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      12/7/2019    709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00418775 - PO System          110.71
      12/7/2019    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/7/2019    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      12/7/2019    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      12/7/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.52
      12/7/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          290.6
      12/7/2019    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.21
      12/7/2019    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      12/7/2019    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/7/2019    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      12/7/2019    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      12/7/2019    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      12/7/2019    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          568.9
      12/7/2019    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      12/7/2019    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      12/7/2019    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/7/2019    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      12/7/2019    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      12/7/2019    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.16
      12/7/2019    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      12/7/2019    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/7/2019    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/7/2019    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      12/7/2019    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.01
      12/7/2019    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/7/2019    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  27.35
      12/7/2019    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.98
      12/7/2019    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL              8.75
      12/7/2019    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                        13
      12/7/2019    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      12/7/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/7/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/7/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      12/7/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/7/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/7/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/7/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/7/2019    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/7/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        514.66
      12/7/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        258.89
      12/7/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        233.86
      12/7/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        205.02
      12/7/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        174.32
      12/7/2019    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        484.74
      12/7/2019    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/7/2019    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      12/7/2019    709   JC0292   Owner Operator   Truck Payment                  CTMS - 235373 Q13197 Lease           276.63
      12/7/2019    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      12/7/2019    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                     9.84
      12/7/2019    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      12/7/2019    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/7/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      12/7/2019    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      12/7/2019    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/7/2019    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                     9.84
      12/7/2019    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      12/7/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             99
      12/7/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           300
      12/7/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/7/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/7/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      12/7/2019    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                       0.99
      12/7/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        364.55
      12/7/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        343.96
      12/7/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        326.14
      12/7/2019    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        500.59
      12/7/2019    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
      12/7/2019    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment        414.93
      12/7/2019    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/7/2019    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  27.35
      12/7/2019    709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00418776 - PO System         215.24
      12/7/2019    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        490.64
      12/7/2019    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      12/7/2019    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                     9.84
      12/7/2019    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      12/7/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           100
      12/7/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      12/7/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      12/7/2019    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      12/7/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        448.01
      12/7/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        270.66
      12/7/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        477.94
      12/7/2019    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        386.97
      12/7/2019    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
      12/7/2019    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/7/2019    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      12/7/2019    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        499.05
      12/7/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      12/7/2019    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      12/7/2019    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK34637                     9.84
      12/7/2019    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                          8
      12/7/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.04
      12/7/2019    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         19.97
      12/7/2019    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/7/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      12/7/2019    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  15.63
      12/7/2019    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      12/7/2019    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                     9.84

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      12/7/2019    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      12/7/2019    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.22
      12/7/2019    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      12/7/2019    709   JR0099   Owner Operator   Truck Payment                  CTMS - 235253 Truck Lease             278.76
      12/7/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      12/7/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      12/7/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      12/7/2019    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      12/7/2019    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                     9.84
      12/7/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      12/7/2019    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      12/7/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/7/2019    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/7/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.79
      12/7/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.71
      12/7/2019    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.99
      12/7/2019    709   JS0265   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            125.48
      12/7/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      12/7/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      12/7/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      12/7/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      12/7/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.22
      12/7/2019    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      12/7/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 235158 Q13159 Lease             331.5
      12/7/2019    709   JS0265   Owner Operator   Truck Payment                  CTMS - 235367 Q13159 Lease             331.5
      12/7/2019    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/7/2019    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      12/7/2019    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/7/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/7/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/7/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.03
      12/7/2019    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.1
      12/7/2019    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      12/7/2019    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         251.13
      12/7/2019    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      12/7/2019    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/7/2019    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      12/7/2019    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      12/7/2019    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                     9.84
      12/7/2019    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      12/7/2019    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.17
      12/7/2019    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      12/7/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 235097 Q13156 Lease            388.16
      12/7/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 235299 Q13156 Lease            388.16
      12/7/2019    709   KT0055   Owner Operator   Truck Payment                  CTMS - 235328 TRUCK RENTAL              500
      12/7/2019    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      12/7/2019    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      12/7/2019    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      12/7/2019    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      12/7/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 235212 Lease Q1111             252.11
      12/7/2019    709   LL0160   Owner Operator   Truck Payment                  CTMS - 235429 Lease Q1111             252.11
      12/7/2019    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      12/7/2019    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      12/7/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         659.21
      12/7/2019    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.12
      12/7/2019    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      12/7/2019    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/7/2019    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      12/7/2019    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      12/7/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.9
      12/7/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.82
      12/7/2019    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          437.5
      12/7/2019    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/7/2019    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     49.69
      12/7/2019    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      12/7/2019    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      12/7/2019    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      12/7/2019    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      12/7/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        190.16
      12/7/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                           117
      12/7/2019    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        273.64
      12/7/2019    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     23.44
      12/7/2019    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      12/7/2019    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13199                     9.84
      12/7/2019    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      12/7/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.08
      12/7/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.52
      12/7/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.57
      12/7/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.5
      12/7/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        325.63
      12/7/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.18
      12/7/2019    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.23
      12/7/2019    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        330.39
      12/7/2019    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   ME0053   Owner Operator   Permits                        NY13:2019 - Q13199                       1.5
      12/7/2019    709   ME0053   Owner Operator   Permits1                       CUST:2019 - Q13199                   406.56
      12/7/2019    709   ME0053   Owner Operator   Permits1                       ID06:2019 - Q1113                        -11
      12/7/2019    709   ME0053   Owner Operator   Permits1                       ID06:2019 - Q13199                        11
      12/7/2019    709   ME0053   Owner Operator   Permits1                       IL02:2019 - Q1113                      -3.75
      12/7/2019    709   ME0053   Owner Operator   Permits1                       IL02:2019 - Q13199                      3.75
      12/7/2019    709   ME0053   Owner Operator   Permits1                       NM07:2019 - Q1113                        -10
      12/7/2019    709   ME0053   Owner Operator   Permits1                       NM07:2019 - Q13199                        10
      12/7/2019    709   ME0053   Owner Operator   Permits1                       NY13:2019 - Q1113                       -1.5
      12/7/2019    709   ME0053   Owner Operator   Permits1                       NY13:2019 - Q13199                       1.5
      12/7/2019    709   ME0053   Owner Operator   Permits1                       OR16:2019 - Q1113                       -8.5
      12/7/2019    709   ME0053   Owner Operator   Permits1                       OR16:2019 - Q13199                       8.5
      12/7/2019    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD              38.44
      12/7/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 235302 Lease Q13199           263.91
      12/7/2019    709   ME0053   Owner Operator   Truck Payment                  CTMS - 235329 TRUCK RENTAL              160
      12/7/2019    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/7/2019    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      12/7/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.44
      12/7/2019    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        478.24
      12/7/2019    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      12/7/2019    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/7/2019    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/7/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      12/7/2019    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      12/7/2019    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                     -4000
      12/7/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           750
      12/7/2019    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           750
      12/7/2019    709   MP0035   Owner Operator   Express Check                  T-Check Payment                        4000
      12/7/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/7/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              20
      12/7/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      12/7/2019    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/7/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        538.09
      12/7/2019    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        315.93
      12/7/2019    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     50.79
      12/7/2019    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/7/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      12/7/2019    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      12/7/2019    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      12/7/2019    709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 235302 HVUT Form 2290              50
      12/7/2019    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      12/7/2019    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/7/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/7/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        338.66

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      12/7/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.28
      12/7/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.71
      12/7/2019    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.32
      12/7/2019    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      12/7/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      12/7/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      12/7/2019    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      12/7/2019    709   NB0029   Owner Operator   Toll Charges                   32986 NTTA Plaza 10 - Irving             2.4
      12/7/2019    709   NB0029   Owner Operator   Toll Charges                   32986 NTTA Plaza 10 - Irving             2.4
      12/7/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 235158 32986 Lease             314.03
      12/7/2019    709   NB0029   Owner Operator   Truck Payment                  CTMS - 235366 32986 Lease             314.03
      12/7/2019    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/7/2019    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      12/7/2019    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      12/7/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            160
      12/7/2019    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      12/7/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.83
      12/7/2019    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.36
      12/7/2019    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      12/7/2019    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      12/7/2019    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      12/7/2019    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      12/7/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 235228 Truck 73130 Leas        196.65
      12/7/2019    709   NT9564   Owner Operator   Truck Payment                  CTMS - 235490 Truck 73130 Leas        196.65
      12/7/2019    709   OJ0007   Owner Operator   Advance                        EFS 232372 s/u $300/wk                  300
      12/7/2019    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/7/2019    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
      12/7/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      12/7/2019    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      12/7/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.14
      12/7/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.07
      12/7/2019    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.86
      12/7/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      29.62
      12/7/2019    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      12/7/2019    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      12/7/2019    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      12/7/2019    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/7/2019    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      12/7/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         664.42
      12/7/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.94
      12/7/2019    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         791.93
      12/7/2019    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      12/7/2019    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/7/2019    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/7/2019    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      12/7/2019    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           150
      12/7/2019    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.19
      12/7/2019    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      12/7/2019    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      12/7/2019    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/7/2019    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      12/7/2019    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/7/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.69
      12/7/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.55
      12/7/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.11
      12/7/2019    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          457.9
      12/7/2019    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      12/7/2019    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      12/7/2019    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      12/7/2019    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/7/2019    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      12/7/2019    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13

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      12/7/2019    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           150
      12/7/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.79
      12/7/2019    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.33
      12/7/2019    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      12/7/2019    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      12/7/2019    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      12/7/2019    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      12/7/2019    709   RL0180   Owner Operator   Truck Payment                  CTMS - 235325 TRUCK RENTAL              250
      12/7/2019    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      12/7/2019    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      12/7/2019    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      12/7/2019    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      12/7/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.29
      12/7/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.72
      12/7/2019    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.49
      12/7/2019    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      12/7/2019    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      12/7/2019    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      12/7/2019    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      12/7/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.56
      12/7/2019    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.37
      12/7/2019    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      12/7/2019    709   RP0082   Owner Operator   Truck Payment                  CTMS - 235253 Q1202 Truck Leas        278.76
      12/7/2019    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      12/7/2019    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      12/7/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/7/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/7/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/7/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.87
      12/7/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.27
      12/7/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.41
      12/7/2019    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.16
      12/7/2019    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          263.6
      12/7/2019    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      12/7/2019    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      12/7/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 235102 Q1248                   311.97
      12/7/2019    709   RR0123   Owner Operator   Truck Payment                  CTMS - 235304 Q1248                   311.97
      12/7/2019    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      12/7/2019    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      12/7/2019    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/7/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.95
      12/7/2019    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.51
      12/7/2019    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      12/7/2019    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/7/2019    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      12/7/2019    709   SB0103   Owner Operator   Advance                        EFS 233951 s/u 3 wks                  317.24
      12/7/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/7/2019    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/7/2019    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      12/7/2019    709   SB0103   Owner Operator   Charge back by affiliate       CTMS - 235220 HVUT Form 2290              50
      12/7/2019    709   SB0103   Owner Operator   Charge back by affiliate       CTMS - 235490 HVUT Form 2290              50
      12/7/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      12/7/2019    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      12/7/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/7/2019    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/7/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.83
      12/7/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.63
      12/7/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.98
      12/7/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          282.2
      12/7/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.14
      12/7/2019    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.54
      12/7/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/7/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      12/7/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      12/7/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/7/2019    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/7/2019    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        9.42
      12/7/2019    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  942.28
      12/7/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 235036 Sub Lease               388.33
      12/7/2019    709   SB0103   Owner Operator   Truck Payment                  CTMS - 235253 Sub Lease               388.33
      12/7/2019    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      12/7/2019    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      12/7/2019    709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                            200
      12/7/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            462
      12/7/2019    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            496
      12/7/2019    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      12/7/2019    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         353.37
      12/7/2019    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      12/7/2019    709   SM0109   Owner Operator   Toll Charges                   33195 ILTOLL Route 80 (East)               5
      12/7/2019    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      12/7/2019    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/7/2019    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.84
      12/7/2019    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      12/7/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                              60
      12/7/2019    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      12/7/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.21
      12/7/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.45
      12/7/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.47
      12/7/2019    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.82
      12/7/2019    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      12/7/2019    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      12/7/2019    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      12/7/2019    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      12/7/2019    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.06
      12/7/2019    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      12/7/2019    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      12/7/2019    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/7/2019    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      12/7/2019    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      12/7/2019    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                       -800
      12/7/2019    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      12/7/2019    709   VJ0006   Owner Operator   Express Check                  T-Check Payment                          800
      12/7/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/7/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/7/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.6
      12/7/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.41
      12/7/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.25
      12/7/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.47
      12/7/2019    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.1
      12/7/2019    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      12/7/2019    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      12/7/2019    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/7/2019    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      12/7/2019    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      12/7/2019    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      12/7/2019    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/7/2019    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      12/7/2019    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      12/7/2019    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      12/7/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/7/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/7/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/7/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.19
      12/7/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.32
      12/7/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.44

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      12/7/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.57
      12/7/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.56
      12/7/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.57
      12/7/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.53
      12/7/2019    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.38
      12/7/2019    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      12/7/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 235102 Q1238 Lease             311.97
      12/7/2019    709   WH0087   Owner Operator   Truck Payment                  CTMS - 235304 Q1238 Lease             311.97
      12/7/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      12/7/2019    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      12/7/2019    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13151                     9.84
      12/7/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      12/7/2019    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      12/7/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.45
      12/7/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.91
      12/7/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.21
      12/7/2019    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.53
      12/7/2019    742   BS0078   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            191.46
      12/7/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
      12/7/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      12/7/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      12/7/2019    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      12/7/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 235098 Lease of Q13151         388.16
      12/7/2019    742   BS0078   Owner Operator   Truck Payment                  CTMS - 235299 Lease of Q13151         388.16
      12/7/2019    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      12/7/2019    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      12/7/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.35
      12/7/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.27
      12/7/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           3.94
      12/7/2019    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.78
      12/7/2019    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      12/7/2019    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      12/7/2019    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      12/7/2019    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      12/7/2019    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      12/7/2019    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      12/7/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.07
      12/7/2019    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.16
      12/7/2019    742   CT0085   Owner Operator   Loan Repayment                 Rev Conditional Credit/Loan          2091.37
      12/7/2019    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      12/7/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      12/7/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      12/7/2019    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      12/7/2019    742   CT0085   Owner Operator   Tire Purchase                  PO: 742-00418583 - PO System          279.38
      12/7/2019    742   CT0085   Owner Operator   Tire Purchase                  PO: 742-00418583 - PO System          138.99
      12/7/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/7/2019    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/7/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      12/7/2019    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      12/7/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.01
      12/7/2019    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.03
      12/7/2019    742   DA0067   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            123.94
      12/7/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      12/7/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      12/7/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/7/2019    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/7/2019    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      12/7/2019    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      12/7/2019    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      12/7/2019    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      12/7/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.47
      12/7/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.01
      12/7/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.71

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      12/7/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.04
      12/7/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.24
      12/7/2019    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.28
      12/7/2019    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      12/7/2019    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      12/7/2019    742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00418586 - PO System          389.57
      12/7/2019    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Turner Turnpike West           4.5
      12/7/2019    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Will Rogers Turnpike         18.05
      12/7/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 234820 Trk 33487 Lease          434.2
      12/7/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 235157 Trk 33487 Lease          434.2
      12/7/2019    742   DS0254   Owner Operator   Truck Payment                  CTMS - 235366 Trk 33487 Lease          434.2
      12/7/2019    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/7/2019    742   EA0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33993                      9.84
      12/7/2019    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      12/7/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.11
      12/7/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.28
      12/7/2019    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         606.57
      12/7/2019    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      12/7/2019    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/7/2019    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/7/2019    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      12/7/2019    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      12/7/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.88
      12/7/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.81
      12/7/2019    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.72
      12/7/2019    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      12/7/2019    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/7/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/7/2019    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/7/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      12/7/2019    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      12/7/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/7/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/7/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.15
      12/7/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.88
      12/7/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.78
      12/7/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.09
      12/7/2019    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.62
      12/7/2019    742   EN0016   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            134.49
      12/7/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      12/7/2019    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      12/7/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      12/7/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      12/7/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/7/2019    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/7/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Antioch Bridge 1                    26
      12/7/2019    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 8                  26
      12/7/2019    742   EN0016   Owner Operator   Toll Charges                   32947 KTA Southern Terminal            13.05
      12/7/2019    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      12/7/2019    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      12/7/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      12/7/2019    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      12/7/2019    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      12/7/2019    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      12/7/2019    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/7/2019    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/7/2019    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            120
      12/7/2019    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
      12/7/2019    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/7/2019    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.25
      12/7/2019    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.06
      12/7/2019    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.11
      12/7/2019    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.77
      12/7/2019    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.36
      12/7/2019    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.44

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      12/7/2019    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      12/7/2019    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      12/7/2019    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
      12/7/2019    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      12/7/2019    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         681.76
      12/7/2019    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      12/7/2019    742   JS0390   Owner Operator   *Arrears Collection W/O        WO:Sept 2019 Fuel/Mileage Tax         -31.11
      12/7/2019    742   JS0390   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax             31.11
      12/7/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/7/2019    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/7/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      12/7/2019    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      12/7/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/7/2019    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/7/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      12/7/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      12/7/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/7/2019    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/7/2019    742   MH0117   Owner Operator   Toll Charges                   33296 Antioch Bridge 1                    26
      12/7/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL 163rd St.                  6.65
      12/7/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL 82nd St.                   6.65
      12/7/2019    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL Cermak Rd.                 6.65
      12/7/2019    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/7/2019    742   PC0012   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            178.52
      12/7/2019    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      12/7/2019    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         412.65
      12/7/2019    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      12/7/2019    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      12/7/2019    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      12/7/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.55
      12/7/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.39
      12/7/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.28
      12/7/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      12/7/2019    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.31
      12/7/2019    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      12/7/2019    742   RF0136   Owner Operator   Toll Charges                   34182 NTTA Exit SH183-MNST-95           1.62
      12/7/2019    742   RF0136   Owner Operator   Toll Charges                   34182 NTTA I-820 East TEXpress          23.7
      12/7/2019    742   RF0136   Owner Operator   Toll Charges                   34182 NTTA Plaza 10 - Irving             3.6
      12/7/2019    742   RF0136   Owner Operator   Toll Charges                   34182 NTTA SH-121/183 East TEX          26.7
      12/7/2019    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      12/7/2019    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      12/7/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.79
      12/7/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.42
      12/7/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.72
      12/7/2019    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.13
      12/7/2019    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      12/7/2019    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      12/7/2019    742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00418079 - PO System          256.66
      12/7/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 234826 Tractor Lease           353.28
      12/7/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 235163 Tractor Lease           353.28
      12/7/2019    742   RN0054   Owner Operator   Truck Payment                  CTMS - 235372 Tractor Lease           353.28
      12/7/2019    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/7/2019    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      12/7/2019    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      12/7/2019    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      12/7/2019    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      12/7/2019    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      12/7/2019    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                        0.07
      12/7/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.1
      12/7/2019    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.83
      12/7/2019    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/7/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      12/7/2019    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      12/7/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 234900 33489 Lease Paym        412.16
      12/7/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 235205 33489 Lease Paym        412.16
      12/7/2019    742   TC0098   Owner Operator   Truck Payment                  CTMS - 235422 33489 Lease Paym        412.16
      12/7/2019    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75

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       12/7/2019   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       12/7/2019   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.75
       12/7/2019   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/7/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       12/7/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       12/7/2019   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       12/7/2019   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       12/7/2019   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/7/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
       12/7/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      12/14/2019   406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      12/14/2019   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      12/14/2019   709   AC0061   Owner Operator   Charge back by affiliate       CTMS - 235775 PM credit                  -65
      12/14/2019   709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      12/14/2019   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/14/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.42
      12/14/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.33
      12/14/2019   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      12/14/2019   709   AC0061   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.83
      12/14/2019   709   AC0061   Owner Operator   T Chek Fee                     Tractor Repair Q13148                  382.8
      12/14/2019   709   AC0061   Owner Operator   Truck Payment                  CTMS - 235753 Q13148 Trac Leas        296.09
      12/14/2019   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      12/14/2019   709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 235655 Solvay fuel            -125.17
      12/14/2019   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      12/14/2019   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      12/14/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      12/14/2019   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      12/14/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.02
      12/14/2019   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.47
      12/14/2019   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      12/14/2019   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      12/14/2019   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      12/14/2019   709   AV0021   Owner Operator   Charge back by affiliate       CTMS - 235757 HVUT Form 2290              50
      12/14/2019   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      12/14/2019   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      12/14/2019   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      12/14/2019   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      12/14/2019   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      12/14/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.04
      12/14/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.92
      12/14/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.89
      12/14/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.14
      12/14/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             81
      12/14/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.69
      12/14/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.45
      12/14/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.51
      12/14/2019   709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 290.06
      12/14/2019   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      12/14/2019   709   AV0021   Owner Operator   Truck Payment                  CTMS - 235704 Q13169 Sublease         352.68
      12/14/2019   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      12/14/2019   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      12/14/2019   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      12/14/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      12/14/2019   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      12/14/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/14/2019   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/14/2019   709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          41.09
      12/14/2019   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      12/14/2019   709   CC0134   Owner Operator   Truck Payment                  CTMS - 235102 Q13168 sub lease         52.05
      12/14/2019   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/14/2019   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      12/14/2019   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/14/2019   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.24
      12/14/2019   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         617.47
      12/14/2019   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      12/14/2019   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/14/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      12/14/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/14/2019   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      12/14/2019   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      12/14/2019   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 235645 HVUT Form 2290              50
      12/14/2019   709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      12/14/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.2
      12/14/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.95
      12/14/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.31
      12/14/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.93
      12/14/2019   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      12/14/2019   709   CR0064   Owner Operator   Truck Payment                  CTMS - 235642 Q1247 Sub Lease         263.91
      12/14/2019   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/14/2019   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      12/14/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.06
      12/14/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.05
      12/14/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.08
      12/14/2019   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      12/14/2019   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      12/14/2019   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      12/14/2019   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/14/2019   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/14/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.17
      12/14/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         596.01
      12/14/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         648.13
      12/14/2019   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      12/14/2019   709   DL0107   Owner Operator   Truck Payment                  CTMS - 235598 Baloon payoff           350.23
      12/14/2019   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      12/14/2019   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                           54.4
      12/14/2019   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      12/14/2019   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      12/14/2019   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/14/2019   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      12/14/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/14/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/14/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.07
      12/14/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.58
      12/14/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.09
      12/14/2019   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      12/14/2019   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      12/14/2019   709   DS0049   Owner Operator   Truck Payment                  CTMS - 235550 TRUCK RENTAL              500
      12/14/2019   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      12/14/2019   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      12/14/2019   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         618.65
      12/14/2019   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      12/14/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.18
      12/14/2019   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/14/2019   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      12/14/2019   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/14/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/14/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.61
      12/14/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.23
      12/14/2019   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      12/14/2019   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      12/14/2019   709   EA0003   Owner Operator   Repair Order                   CTMS - 235733 REPAIR                  162.48
      12/14/2019   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      12/14/2019   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      12/14/2019   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      12/14/2019   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.35
      12/14/2019   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.23
      12/14/2019   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      12/14/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      12/14/2019   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      12/14/2019   709   EO0014   Owner Operator   Charge back by affiliate       CTMS - 235654 tank wash 55239            -45

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      12/14/2019   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      12/14/2019   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/14/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/14/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.94
      12/14/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.97
      12/14/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.92
      12/14/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.86
      12/14/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            390
      12/14/2019   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      12/14/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/14/2019   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      12/14/2019   709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 235655 Solvay fuel                -20
      12/14/2019   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      12/14/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                            260
      12/14/2019   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      12/14/2019   709   FS0039   Owner Operator   Truck Payment                  CTMS - 235704 truck lease 3304        434.29
      12/14/2019   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/14/2019   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      12/14/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.46
      12/14/2019   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      12/14/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/14/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      12/14/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      12/14/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      12/14/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.83
      12/14/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.83
      12/14/2019   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      12/14/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             28.91
      12/14/2019   709   GA0051   Owner Operator   Truck Payment                  CTMS - 235644 Q1200 Lease             238.16
      12/14/2019   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      12/14/2019   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      12/14/2019   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.01
      12/14/2019   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.31
      12/14/2019   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      12/14/2019   709   GS0015   Owner Operator   Truck Payment                  CTMS - 235642 Amortized Balloo        200.15
      12/14/2019   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      12/14/2019   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      12/14/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/14/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/14/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.08
      12/14/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.77
      12/14/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.75
      12/14/2019   709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         352.17
      12/14/2019   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      12/14/2019   709   GW0043   Owner Operator   Truck Payment                  CTMS - 235483 Q1109 Lease             302.85
      12/14/2019   709   GW0043   Owner Operator   Truck Payment                  CTMS - 235751 Q1109 Lease             302.85
      12/14/2019   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      12/14/2019   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      12/14/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.73
      12/14/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                            541
      12/14/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.33
      12/14/2019   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      12/14/2019   709   HC0023   Owner Operator   Truck Payment                  CTMS - 235647 Q13170                  352.68
      12/14/2019   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      12/14/2019   709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      12/14/2019   709   HG0007   Owner Operator   ESCROW                         Escrow Withdrawal                      -4200
      12/14/2019   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/14/2019   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/14/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         693.12
      12/14/2019   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.88
      12/14/2019   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      12/14/2019   709   HG0007   Owner Operator   Repair Order                   CTMS - 235732 PART FOR REPAIR             45

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      12/14/2019   709   HG0007   Owner Operator   Tire Purchase                  PO: 709-00418775 - PO System          110.66
      12/14/2019   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/14/2019   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      12/14/2019   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            150
      12/14/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.42
      12/14/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.97
      12/14/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.21
      12/14/2019   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      12/14/2019   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      12/14/2019   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/14/2019   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      12/14/2019   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.02
      12/14/2019   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.88
      12/14/2019   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      12/14/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/14/2019   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/14/2019   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      12/14/2019   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                            233
      12/14/2019   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.99
      12/14/2019   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      12/14/2019   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      12/14/2019   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      12/14/2019   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      12/14/2019   709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                      -1400
      12/14/2019   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      12/14/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/14/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.07
      12/14/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.79
      12/14/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.33
      12/14/2019   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      12/14/2019   709   JC0292   Owner Operator   Truck Payment                  CTMS - 235647 Q13197 Lease            276.63
      12/14/2019   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/14/2019   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      12/14/2019   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      12/14/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      12/14/2019   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/14/2019   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      12/14/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/14/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/14/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                            172
      12/14/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.72
      12/14/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.64
      12/14/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.26
      12/14/2019   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      12/14/2019   709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      12/14/2019   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      12/14/2019   709   JG0017   Owner Operator   Tire Purchase                  PO: 709-00418776 - PO System          215.21
      12/14/2019   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      12/14/2019   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/14/2019   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      12/14/2019   709   JG0072   Owner Operator   ESCROW                         Escrow Withdrawal                        -50
      12/14/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/14/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/14/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/14/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                            525
      12/14/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.52
      12/14/2019   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      12/14/2019   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      12/14/2019   709   JG0072   Owner Operator   Repair Order                   CTMS - 235678 REPAIR                     574
      12/14/2019   709   JG0072   Owner Operator   Repair Order                   CTMS - 235678 REPAIR                     574
      12/14/2019   709   JG0072   Owner Operator   T Chek Fee                     ExpressCheck Fee                       10.74
      12/14/2019   709   JG0072   Owner Operator   T Chek Fee                     Tractor Repair 32909                 1073.57
      12/14/2019   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      12/14/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75

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      12/14/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/14/2019   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      12/14/2019   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.41
      12/14/2019   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.48
      12/14/2019   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      12/14/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      12/14/2019   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      12/14/2019   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      12/14/2019   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.38
      12/14/2019   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      12/14/2019   709   JR0099   Owner Operator   Truck Payment                  CTMS - 235551 Truck Lease             278.76
      12/14/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      12/14/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      12/14/2019   709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      12/14/2019   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/14/2019   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/14/2019   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.51
      12/14/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.87
      12/14/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.15
      12/14/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.22
      12/14/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      12/14/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      12/14/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      12/14/2019   709   JS0265   Owner Operator   Truck Payment                  CTMS - 235641 Q13159 Lease             331.5
      12/14/2019   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/14/2019   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      12/14/2019   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/14/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/14/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/14/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/14/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/14/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.01
      12/14/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.57
      12/14/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      12/14/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           172
      12/14/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           240
      12/14/2019   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      12/14/2019   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      12/14/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/14/2019   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      12/14/2019   709   KP0004   Owner Operator   Truck Payment                  CTMS - 235732 TRUCK RENTAL              500
      12/14/2019   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      12/14/2019   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      12/14/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.34
      12/14/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.29
      12/14/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.63
      12/14/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.89
      12/14/2019   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      12/14/2019   709   KT0055   Owner Operator   Truck Payment                  CTMS - 235595 Q13156 Lease            388.16
      12/14/2019   709   KT0055   Owner Operator   Truck Payment                  CTMS - 235595 TRUCK RENTAL              500
      12/14/2019   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      12/14/2019   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      12/14/2019   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      12/14/2019   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      12/14/2019   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      12/14/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/14/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/14/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         687.36
      12/14/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.64
      12/14/2019   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      12/14/2019   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/14/2019   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      12/14/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.42
      12/14/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.11

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      12/14/2019   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      12/14/2019   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      12/14/2019   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      12/14/2019   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                         145.28
      12/14/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.09
      12/14/2019   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      12/14/2019   709   MD0122   Owner Operator   Repair Order                   CTMS - 235678 REPAIRS                 457.08
      12/14/2019   709   MD0122   Owner Operator   Repair Order                   CTMS - 235730 REPAIRS                 457.08
      12/14/2019   709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      12/14/2019   709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 235732 Q13199                    -406
      12/14/2019   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      12/14/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.39
      12/14/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                            255
      12/14/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.92
      12/14/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.09
      12/14/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.57
      12/14/2019   709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      12/14/2019   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               38.44
      12/14/2019   709   ME0053   Owner Operator   Truck Payment                  CTMS - 235598 Lease Q13199            263.91
      12/14/2019   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/14/2019   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      12/14/2019   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.12
      12/14/2019   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      12/14/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/14/2019   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/14/2019   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      12/14/2019   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            750
      12/14/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             320
      12/14/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3.2
      12/14/2019   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.34
      12/14/2019   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      12/14/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/14/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      12/14/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      12/14/2019   709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 235598 HVUT Form 2290              50
      12/14/2019   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      12/14/2019   709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -2500
      12/14/2019   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      12/14/2019   709   NB0029   Owner Operator   Express Check                  T-Check Payment                         2500
      12/14/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/14/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.57
      12/14/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          493.1
      12/14/2019   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      12/14/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      12/14/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      12/14/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      12/14/2019   709   NB0029   Owner Operator   Truck Payment                  CTMS - 235640 32986 Lease             314.03
      12/14/2019   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/14/2019   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      12/14/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/14/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/14/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.39
      12/14/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.69
      12/14/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.18
      12/14/2019   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      12/14/2019   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      12/14/2019   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      12/14/2019   709   NT9564   Owner Operator   Truck Payment                  CTMS - 235758 Truck 73130 Leas        196.65
      12/14/2019   709   OJ0007   Owner Operator   Advance                        EFS 232372 s/u $300/wk                 52.42
      12/14/2019   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/14/2019   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      12/14/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.11
      12/14/2019   709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      12/14/2019   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/14/2019   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      12/14/2019   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      12/14/2019   709   OJ0007   Owner Operator   Truck Payment                  CTMS - 235733 TRUCK RENTAL              400
      12/14/2019   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      12/14/2019   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      12/14/2019   709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
      12/14/2019   709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      12/14/2019   709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      12/14/2019   709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/14/2019   709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/14/2019   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      12/14/2019   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      12/14/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.07
      12/14/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.68
      12/14/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.19
      12/14/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.56
      12/14/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.58
      12/14/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.56
      12/14/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.49
      12/14/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.16
      12/14/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.88
      12/14/2019   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      12/14/2019   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      12/14/2019   709   RB0170   Owner Operator   Truck Payment                  CTMS - 235099 Q1241 Truck leas        321.84
      12/14/2019   709   RB0170   Owner Operator   Truck Payment                  CTMS - 235301 Q1241 Truck leas        321.84
      12/14/2019   709   RB0170   Owner Operator   Truck Payment                  CTMS - 235597 Q1241 Truck leas        321.84
      12/14/2019   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/14/2019   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      12/14/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         591.02
      12/14/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.09
      12/14/2019   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      12/14/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/14/2019   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/14/2019   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      12/14/2019   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           150
      12/14/2019   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.51
      12/14/2019   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         655.47
      12/14/2019   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      12/14/2019   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      12/14/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/14/2019   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      12/14/2019   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/14/2019   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      12/14/2019   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      12/14/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/14/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/14/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.95
      12/14/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.38
      12/14/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.39
      12/14/2019   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      12/14/2019   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      12/14/2019   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      12/14/2019   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/14/2019   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      12/14/2019   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           150
      12/14/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.59
      12/14/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.07
      12/14/2019   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      12/14/2019   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      12/14/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      12/14/2019   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      12/14/2019   709   RL0180   Owner Operator   Truck Payment                  CTMS - 235595 TRUCK RENTAL              250
      12/14/2019   709   RL0180   Owner Operator   Truck Payment                  CTMS - 235725 TRUCK RENTAL              400
      12/14/2019   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      12/14/2019   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75

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      12/14/2019   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                           13
      12/14/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          358.46
      12/14/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          422.34
      12/14/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          408.33
      12/14/2019   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/14/2019   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        31.25
      12/14/2019   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
      12/14/2019   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                           13
      12/14/2019   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          446.82
      12/14/2019   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/14/2019   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD               58.6
      12/14/2019   709   RP0082   Owner Operator   Truck Payment                  CTMS - 235551 Q1202 Truck Leas         278.76
      12/14/2019   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                 8.75
      12/14/2019   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                         3.12
      12/14/2019   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment           263.6
      12/14/2019   709   RR0123   Owner Operator   Miscellaneous                  CTMS - 235655 Break down              -390.55
      12/14/2019   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/14/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                 65.08
      12/14/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror            2.5
      12/14/2019   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      12/14/2019   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                           13
      12/14/2019   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          105.71
      12/14/2019   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/14/2019   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/14/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.89
      12/14/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.55
      12/14/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          182.08
      12/14/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.08
      12/14/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          341.53
      12/14/2019   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                       33.17
      12/14/2019   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/14/2019   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   100.98
      12/14/2019   709   SB0009   Owner Operator   Repair Order                   CTMS - 235776 Tractor repairs          2698.3
      12/14/2019   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
      12/14/2019   709   SB0103   Owner Operator   Advance                        EFS 233951 s/u 3 wks                   317.22
      12/14/2019   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      12/14/2019   709   SB0103   Owner Operator   Charge back by affiliate       CTMS - 235757 HVUT Form 2290               50
      12/14/2019   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      12/14/2019   709   SB0103   Owner Operator   ESCROW                         Escrow Withdrawal                    -1260.24
      12/14/2019   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/14/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.64
      12/14/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          165.87
      12/14/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.58
      12/14/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.74
      12/14/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          219.85
      12/14/2019   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/14/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      12/14/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      12/14/2019   709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        12.48
      12/14/2019   709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  1247.76
      12/14/2019   709   SB0103   Owner Operator   Truck Payment                  CTMS - 235551 Sub Lease                388.33
      12/14/2019   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
      12/14/2019   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      12/14/2019   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                            200
      12/14/2019   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       33.17
      12/14/2019   709   SM0109   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          353.37
      12/14/2019   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/14/2019   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
      12/14/2019   709   SM0109   Owner Operator   Repair Order                   CTMS - 235732 TRACTOR REPAIRS            120
      12/14/2019   709   SM0109   Owner Operator   Toll Charges                   33195 ILTOLL Route 80 (West)                5
      12/14/2019   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
      12/14/2019   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      12/14/2019   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      12/14/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             400
      12/14/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            4
      12/14/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           374.6
      12/14/2019   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/14/2019   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
      12/14/2019   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      12/14/2019   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      12/14/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          292.21
      12/14/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          562.81
      12/14/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            210

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      12/14/2019   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      12/14/2019   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      12/14/2019   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/14/2019   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      12/14/2019   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/14/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/14/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/14/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.48
      12/14/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.34
      12/14/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.24
      12/14/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.61
      12/14/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.96
      12/14/2019   709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      12/14/2019   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      12/14/2019   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/14/2019   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      12/14/2019   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      12/14/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/14/2019   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      12/14/2019   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      12/14/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/14/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.64
      12/14/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.28
      12/14/2019   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      12/14/2019   709   WH0087   Owner Operator   Truck Payment                  CTMS - 235600 Q1238 Lease             311.97
      12/14/2019   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      12/14/2019   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      12/14/2019   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      12/14/2019   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      12/14/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/14/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/14/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/14/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/14/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/14/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/14/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/14/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/14/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.84
      12/14/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.23
      12/14/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.28
      12/14/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.31
      12/14/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          424.5
      12/14/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.98
      12/14/2019   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      12/14/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      12/14/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      12/14/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      12/14/2019   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      12/14/2019   742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      12/14/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.52
      12/14/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          230.8
      12/14/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.19
      12/14/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.83
      12/14/2019   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      12/14/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      12/14/2019   742   BS0078   Owner Operator   Truck Payment                  CTMS - 235596 Lease of Q13151         388.16
      12/14/2019   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      12/14/2019   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      12/14/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.87
      12/14/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          453.7
      12/14/2019   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      12/14/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75

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      12/14/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      12/14/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.24
      12/14/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.22
      12/14/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.77
      12/14/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      12/14/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      12/14/2019   742   CT0085   Owner Operator   Tire Purchase                  PO: 742-00418583 - PO System          140.39
      12/14/2019   742   CT0085   Owner Operator   Tire Purchase                  PO: 742-00418583 - PO System          279.32
      12/14/2019   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/14/2019   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      12/14/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      12/14/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      12/14/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           280
      12/14/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           190
      12/14/2019   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      12/14/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/14/2019   742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      12/14/2019   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      12/14/2019   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      12/14/2019   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      12/14/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.93
      12/14/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.17
      12/14/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         627.71
      12/14/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.97
      12/14/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.4
      12/14/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         609.65
      12/14/2019   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.55
      12/14/2019   742   DC0117   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            216.13
      12/14/2019   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      12/14/2019   742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 235654 Trailer wash 701           -38
      12/14/2019   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      12/14/2019   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/14/2019   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/14/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.85
      12/14/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.77
      12/14/2019   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      12/14/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      12/14/2019   742   DS0254   Owner Operator   Repair Order                   CTMS - 235733 PARTS FOR REPAIR        125.97
      12/14/2019   742   DS0254   Owner Operator   Tire Purchase                  PO: 742-00418586 - PO System           389.5
      12/14/2019   742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Route 80 (East)               5
      12/14/2019   742   DS0254   Owner Operator   Truck Payment                  CTMS - 235640 Trk 33487 Lease          434.2
      12/14/2019   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/14/2019   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      12/14/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.96
      12/14/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.4
      12/14/2019   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      12/14/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/14/2019   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/14/2019   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      12/14/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.91
      12/14/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.09
      12/14/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.55
      12/14/2019   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      12/14/2019   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      12/14/2019   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/14/2019   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      12/14/2019   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      12/14/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      12/14/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      12/14/2019   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      12/14/2019   742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      12/14/2019   742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/14/2019   742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            120
      12/14/2019   742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
      12/14/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.32
      12/14/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.01
      12/14/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.57
      12/14/2019   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/14/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.44
      12/14/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      12/14/2019   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      12/14/2019   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      12/14/2019   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.33
      12/14/2019   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.95
      12/14/2019   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      12/14/2019   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/14/2019   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      12/14/2019   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/14/2019   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      12/14/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/14/2019   742   MH0117   Owner Operator   Repair Order                   CTMS - 235733 PARTS                     83.8
      12/14/2019   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      12/14/2019   742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      12/14/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.84
      12/14/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.14
      12/14/2019   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.78
      12/14/2019   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      12/14/2019   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      12/14/2019   742   RN0054   Owner Operator   Tire Purchase                  PO: 742-00418079 - PO System          256.62
      12/14/2019   742   RN0054   Owner Operator   Truck Payment                  CTMS - 235646 Tractor Lease           353.28
      12/14/2019   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/14/2019   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      12/14/2019   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      12/14/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      12/14/2019   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      12/14/2019   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      12/14/2019   742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                        7.93
      12/14/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.1
      12/14/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.31
      12/14/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.48
      12/14/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.89
      12/14/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.8
      12/14/2019   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.61
      12/14/2019   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      12/14/2019   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      12/14/2019   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/14/2019   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      12/14/2019   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         614.01
      12/14/2019   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          36.82
      12/14/2019   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      12/14/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/14/2019   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      12/14/2019   843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      12/14/2019   843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      12/14/2019   843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/14/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      12/14/2019   843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      12/21/2019   406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      12/21/2019   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      12/21/2019   709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
      12/21/2019   709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      12/21/2019   709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      12/21/2019   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/21/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.86
      12/21/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.78
      12/21/2019   709   AC0061   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         497.15
      12/21/2019   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      12/21/2019   709   AC0061   Owner Operator   Truck Payment                  CTMS - 236069 Q13148 Trac Leas        296.09
      12/21/2019   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      12/21/2019   709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
      12/21/2019   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      12/21/2019   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/21/2019   709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/21/2019   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.43

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      12/21/2019   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.62
      12/21/2019   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      12/21/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      12/21/2019   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      12/21/2019   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      12/21/2019   709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      12/21/2019   709   AV0021   Owner Operator   Charge back by affiliate       CTMS - 236073 HVUT Form 2290              50
      12/21/2019   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      12/21/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.05
      12/21/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.67
      12/21/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.28
      12/21/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.87
      12/21/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.02
      12/21/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          71.89
      12/21/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.38
      12/21/2019   709   AV0021   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         104.27
      12/21/2019   709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 705.56
      12/21/2019   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      12/21/2019   709   AV0021   Owner Operator   Truck Payment                  CTMS - 236013 Q13169 Sublease         352.68
      12/21/2019   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      12/21/2019   709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      12/21/2019   709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      12/21/2019   709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      12/21/2019   709   BM0030   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         720.53
      12/21/2019   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      12/21/2019   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      12/21/2019   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/21/2019   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      12/21/2019   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/21/2019   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.34
      12/21/2019   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.24
      12/21/2019   709   CM0119   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          40.06
      12/21/2019   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      12/21/2019   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      12/21/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/21/2019   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      12/21/2019   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      12/21/2019   709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                      9.84
      12/21/2019   709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
      12/21/2019   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 235946 HVUT Form 2290              50
      12/21/2019   709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      12/21/2019   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/21/2019   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.23
      12/21/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.59
      12/21/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.61
      12/21/2019   709   CR0064   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax           64.7
      12/21/2019   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      12/21/2019   709   CR0064   Owner Operator   Truck Payment                  CTMS - 235942 Q1247 Sub Lease         263.91
      12/21/2019   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/21/2019   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/21/2019   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/21/2019   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/21/2019   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/21/2019   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/21/2019   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/21/2019   709   CS0091   Owner Operator   BOBTAIL INS.                   Q1201 2012 Freightliner NTL             8.75
      12/21/2019   709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                      9.84
      12/21/2019   709   CS0091   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1201                      9.84
      12/21/2019   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      12/21/2019   709   CS0091   Owner Operator   Communication Charge           PNet Hware Q1201                           8
      12/21/2019   709   CS0091   Owner Operator   ESCROW                         Final Balance Refund                   -3000
      12/21/2019   709   CS0091   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax              0.02
      12/21/2019   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          41.85
      12/21/2019   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/21/2019   709   CS0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      12/21/2019   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      12/21/2019   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      12/21/2019   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      12/21/2019   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      12/21/2019   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      12/21/2019   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      12/21/2019   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.08
      12/21/2019   709   CS0091   Owner Operator   PHYSICAL DAMAGE                Q1201 2012 Freightliner PD             65.07
      12/21/2019   709   CS0091   Owner Operator   Truck Payment                  CTMS - 230425 Q1201                   278.76
      12/21/2019   709   CS0091   Owner Operator   Truck Payment                  CTMS - 230703 Q1201                   278.76
      12/21/2019   709   CS0091   Owner Operator   Truck Payment                  CTMS - 231001 Q1201                   278.76
      12/21/2019   709   DL0029   Owner Operator   Advance                        EFS 235101 s/u 4 wks                 -1425.6
      12/21/2019   709   DL0029   Owner Operator   Advance                        EFS 235101 s/u 4 wks                   356.4
      12/21/2019   709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/21/2019   709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      12/21/2019   709   DL0029   Owner Operator   Driver Excellence Program      CA-UBGO000412                            -50
      12/21/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.46
      12/21/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.86
      12/21/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.48
      12/21/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.48
      12/21/2019   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.57
      12/21/2019   709   DL0029   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         161.12
      12/21/2019   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      12/21/2019   709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                       14.11
      12/21/2019   709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                 1411.49
      12/21/2019   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      12/21/2019   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/21/2019   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/21/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.05
      12/21/2019   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         679.16
      12/21/2019   709   DL0107   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         304.99
      12/21/2019   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                33.21
      12/21/2019   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/21/2019   709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                    12.5
      12/21/2019   709   DS0049   Owner Operator   Charge back by affiliate       CTMS - 235847 TRACTOR MAINTAIN          -492
      12/21/2019   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      12/21/2019   709   DS0049   Owner Operator   Driver Excellence Program      NV-7177180761                            -50
      12/21/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/21/2019   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/21/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.28
      12/21/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.9
      12/21/2019   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      12/21/2019   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   92.35
      12/21/2019   709   DS0049   Owner Operator   Truck Payment                  CTMS - 235827 TRUCK RENTAL               500
      12/21/2019   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      12/21/2019   709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                      9.84
      12/21/2019   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      12/21/2019   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.13
      12/21/2019   709   DS0225   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         -66.59
      12/21/2019   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      12/21/2019   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/21/2019   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/21/2019   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/21/2019   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/21/2019   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/21/2019   709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                    12.5
      12/21/2019   709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                    12.5
      12/21/2019   709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      12/21/2019   709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      12/21/2019   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      12/21/2019   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      12/21/2019   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      12/21/2019   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      12/21/2019   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      12/21/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      12/21/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      12/21/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.64

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      12/21/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.86
      12/21/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.24
      12/21/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.11
      12/21/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.99
      12/21/2019   709   DS0288   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         315.79
      12/21/2019   709   DS0288   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            107.83
      12/21/2019   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      12/21/2019   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      12/21/2019   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.18
      12/21/2019   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      12/21/2019   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      12/21/2019   709   DS0288   Owner Operator   Repair Order                   CTMS - 235912 REPAIRS                 126.74
      12/21/2019   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/21/2019   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      12/21/2019   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/21/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/21/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/21/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.67
      12/21/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.56
      12/21/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.16
      12/21/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.33
      12/21/2019   709   EA0003   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         218.82
      12/21/2019   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      12/21/2019   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      12/21/2019   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      12/21/2019   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      12/21/2019   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      12/21/2019   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.28
      12/21/2019   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      12/21/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      12/21/2019   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      12/21/2019   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      12/21/2019   709   EO0014   Owner Operator   Driver Excellence Program      CA-NAER000271                            -50
      12/21/2019   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/21/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/21/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/21/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.46
      12/21/2019   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.86
      12/21/2019   709   EO0014   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         348.01
      12/21/2019   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      12/21/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/21/2019   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      12/21/2019   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      12/21/2019   709   FS0039   Owner Operator   Driver Excellence Program      CA-UEWM000279                            -50
      12/21/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.17
      12/21/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.7
      12/21/2019   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          272.5
      12/21/2019   709   FS0039   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          19.88
      12/21/2019   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      12/21/2019   709   FS0039   Owner Operator   Truck Payment                  CTMS - 236013 truck lease 3304        434.29
      12/21/2019   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/21/2019   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      12/21/2019   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      12/21/2019   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/21/2019   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/21/2019   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/21/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.35
      12/21/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.04
      12/21/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         627.86

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      12/21/2019   709   FV0001   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          90.97
      12/21/2019   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      12/21/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/21/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      12/21/2019   709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRK34330                      9.84
      12/21/2019   709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1200                      9.84
      12/21/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      12/21/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      12/21/2019   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/21/2019   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/21/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.48
      12/21/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.07
      12/21/2019   709   GA0051   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         -42.97
      12/21/2019   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      12/21/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             28.91
      12/21/2019   709   GA0051   Owner Operator   Truck Payment                  CTMS - 235944 Q1200 Lease             238.16
      12/21/2019   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      12/21/2019   709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      12/21/2019   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      12/21/2019   709   GS0015   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         129.63
      12/21/2019   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      12/21/2019   709   GS0015   Owner Operator   Truck Payment                  CTMS - 235942 Amortized Balloo        200.15
      12/21/2019   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      12/21/2019   709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      12/21/2019   709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      12/21/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/21/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/21/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/21/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/21/2019   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.61
      12/21/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.1
      12/21/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.25
      12/21/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.52
      12/21/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.23
      12/21/2019   709   GW0043   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax           30.4
      12/21/2019   709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         352.17
      12/21/2019   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      12/21/2019   709   GW0043   Owner Operator   Truck Payment                  CTMS - 236067 Q1109 Lease             302.85
      12/21/2019   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      12/21/2019   709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      12/21/2019   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      12/21/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.32
      12/21/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.17
      12/21/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         586.92
      12/21/2019   709   HC0023   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          92.81
      12/21/2019   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      12/21/2019   709   HC0023   Owner Operator   Truck Payment                  CTMS - 235947 Q13170                  352.68
      12/21/2019   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      12/21/2019   709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                      9.84
      12/21/2019   709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      12/21/2019   709   HG0007   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         152.92
      12/21/2019   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      12/21/2019   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/21/2019   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          40.01
      12/21/2019   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/21/2019   709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      12/21/2019   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      12/21/2019   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      12/21/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.37
      12/21/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.74
      12/21/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.55
      12/21/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.14
      12/21/2019   709   IA0007   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          64.69
      12/21/2019   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57

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      12/21/2019   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                     21.35
      12/21/2019   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/21/2019   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                            8
      12/21/2019   709   IR0002   Owner Operator   Driver Excellence Program      CA-UCAC000556                             -50
      12/21/2019   709   IR0002   Owner Operator   Driver Excellence Program      CA-UCNJ000083                             -50
      12/21/2019   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.09
      12/21/2019   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          425.78
      12/21/2019   709   IR0002   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          -91.36
      12/21/2019   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/21/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.64
      12/21/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      12/21/2019   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      12/21/2019   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      12/21/2019   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/21/2019   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    27.35
      12/21/2019   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                     13.98
      12/21/2019   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
      12/21/2019   709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                    12.5
      12/21/2019   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          13
      12/21/2019   709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                    -1276.09
      12/21/2019   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                             400
      12/21/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                              200
      12/21/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/21/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.43
      12/21/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.07
      12/21/2019   709   JC0292   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          233.53
      12/21/2019   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/21/2019   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD                42.19
      12/21/2019   709   JC0292   Owner Operator   T Chek Fee                     ExpressCheck Fee                        12.63
      12/21/2019   709   JC0292   Owner Operator   T Chek Fee                     Tractor Repair Q13197                 1263.46
      12/21/2019   709   JC0292   Owner Operator   Truck Payment                  CTMS - 235948 Q13197 Lease             276.63
      12/21/2019   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      12/21/2019   709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                       9.84
      12/21/2019   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                            8
      12/21/2019   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/21/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       11.72
      12/21/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism               2.5
      12/21/2019   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/21/2019   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                           13
      12/21/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                              300
      12/21/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      12/21/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.11
      12/21/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           339.1
      12/21/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          471.27
      12/21/2019   709   JG0017   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax           65.23
      12/21/2019   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                       33.17
      12/21/2019   709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment          414.93
      12/21/2019   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/21/2019   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    27.35
      12/21/2019   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          490.64
      12/21/2019   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/21/2019   709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                       9.84
      12/21/2019   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                           13
      12/21/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                              500
      12/21/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      12/21/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.52
      12/21/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          523.58
      12/21/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          557.83
      12/21/2019   709   JG0072   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          554.56
      12/21/2019   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                       33.17
      12/21/2019   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/21/2019   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    74.22
      12/21/2019   709   JG0072   Owner Operator   Repair Order                   CTMS - 235788 BATTERY CHARGE             -574
      12/21/2019   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                          499.05
      12/21/2019   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       0.72
      12/21/2019   709   JG0092   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax           -0.72
      12/21/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                    8.75
      12/21/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      12/21/2019   709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK34637                       9.84
      12/21/2019   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                            8
      12/21/2019   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                              100
      12/21/2019   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/21/2019   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.95

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      12/21/2019   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.47
      12/21/2019   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      12/21/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      12/21/2019   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      12/21/2019   709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      12/21/2019   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      12/21/2019   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.16
      12/21/2019   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      12/21/2019   709   JR0099   Owner Operator   Repair Order                   CTMS - 235969 REPAIR                  138.34
      12/21/2019   709   JR0099   Owner Operator   Truck Payment                  CTMS - 235828 Truck Lease             278.76
      12/21/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      12/21/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      12/21/2019   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/21/2019   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.62
      12/21/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.91
      12/21/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.94
      12/21/2019   709   JS0265   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         185.92
      12/21/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      12/21/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      12/21/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      12/21/2019   709   JS0265   Owner Operator   Toll Charges                   Q13159 HCTRA Ship Channel Brid           3.5
      12/21/2019   709   JS0265   Owner Operator   Truck Payment                  CTMS - 235941 Q13159 Lease            275.86
      12/21/2019   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/21/2019   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      12/21/2019   709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      12/21/2019   709   KP0004   Owner Operator   Driver Excellence Program      CA-NCNG000798                            -50
      12/21/2019   709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                      -1700
      12/21/2019   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      12/21/2019   709   KP0004   Owner Operator   Express Check                  T-Check Payment                         1700
      12/21/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/21/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/21/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/21/2019   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/21/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.55
      12/21/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            429
      12/21/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            188
      12/21/2019   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.39
      12/21/2019   709   KP0004   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         485.99
      12/21/2019   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      12/21/2019   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      12/21/2019   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/21/2019   709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      12/21/2019   709   KP0004   Owner Operator   Truck Payment                  CTMS - 236003 TRUCK RENTAL               500
      12/21/2019   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      12/21/2019   709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                     9.84
      12/21/2019   709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      12/21/2019   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      12/21/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.16
      12/21/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.83
      12/21/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.95
      12/21/2019   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      12/21/2019   709   KT0055   Owner Operator   Truck Payment                  CTMS - 235879 Q13156 Lease            388.16
      12/21/2019   709   KT0055   Owner Operator   Truck Payment                  CTMS - 235883 TRUCK RENTAL               500
      12/21/2019   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      12/21/2019   709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      12/21/2019   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      12/21/2019   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      12/21/2019   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      12/21/2019   709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      12/21/2019   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      12/21/2019   709   LS0023   Owner Operator   Driver Excellence Program      CA-NAYO000467                            -50
      12/21/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/21/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.03
      12/21/2019   709   LS0023   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         196.95
      12/21/2019   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04

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      12/21/2019   709   LS0023   Owner Operator   Toll Charges                   33655 BATA Richmond                       26
      12/21/2019   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/21/2019   709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      12/21/2019   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      12/21/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.39
      12/21/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.07
      12/21/2019   709   MA0092   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          95.17
      12/21/2019   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      12/21/2019   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      12/21/2019   709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      12/21/2019   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      12/21/2019   709   MD0122   Owner Operator   ESCROW                         Escrow Withdrawal                      -1000
      12/21/2019   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            300
      12/21/2019   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                         154.72
      12/21/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.6
      12/21/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.37
      12/21/2019   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      12/21/2019   709   MD0122   Owner Operator   Repair Order                   CTMS - 235940 REPAIRS                 457.08
      12/21/2019   709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      12/21/2019   709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13199                     9.84
      12/21/2019   709   ME0053   Owner Operator   Broker Pre Pass                Q13199 PrePass Device                   12.5
      12/21/2019   709   ME0053   Owner Operator   Broker Pre Pass                Q13199 PrePass Device                   12.5
      12/21/2019   709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      12/21/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.76
      12/21/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.96
      12/21/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.75
      12/21/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.89
      12/21/2019   709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      12/21/2019   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               38.44
      12/21/2019   709   ME0053   Owner Operator   Truck Payment                  CTMS - 235881 Lease Q13199            263.91
      12/21/2019   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/21/2019   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      12/21/2019   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.91
      12/21/2019   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.39
      12/21/2019   709   MG0067   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         -28.24
      12/21/2019   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      12/21/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/21/2019   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/21/2019   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
      12/21/2019   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      12/21/2019   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            750
      12/21/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              20
      12/21/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      12/21/2019   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.71
      12/21/2019   709   MP0035   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          12.62
      12/21/2019   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      12/21/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/21/2019   709   MP0035   Owner Operator   Repair Order                   CTMS - 235912 REPAIR                  113.65
      12/21/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      12/21/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      12/21/2019   709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      12/21/2019   709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 235882 HVUT Form 2290              50
      12/21/2019   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      12/21/2019   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      12/21/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/21/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.15
      12/21/2019   709   NB0029   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         242.54
      12/21/2019   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      12/21/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      12/21/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      12/21/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      12/21/2019   709   NB0029   Owner Operator   Truck Payment                  CTMS - 235941 32986 Lease             314.03
      12/21/2019   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/21/2019   709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      12/21/2019   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      12/21/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200

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      12/21/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.11
      12/21/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.94
      12/21/2019   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      12/21/2019   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      12/21/2019   709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      12/21/2019   709   NT9564   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         198.06
      12/21/2019   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      12/21/2019   709   NT9564   Owner Operator   Truck Payment                  CTMS - 236074 Truck 73130 Leas        196.65
      12/21/2019   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/21/2019   709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
      12/21/2019   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      12/21/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.64
      12/21/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.91
      12/21/2019   709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      12/21/2019   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      12/21/2019   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      12/21/2019   709   OJ0007   Owner Operator   Truck Payment                  CTMS - 236003 TRUCK RENTAL              400
      12/21/2019   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      12/21/2019   709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
      12/21/2019   709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      12/21/2019   709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/21/2019   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      12/21/2019   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      12/21/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.73
      12/21/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.98
      12/21/2019   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.79
      12/21/2019   709   RB0170   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         170.91
      12/21/2019   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      12/21/2019   709   RB0170   Owner Operator   Truck Payment                  CTMS - 235880 Q1241 Truck leas        321.84
      12/21/2019   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/21/2019   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      12/21/2019   709   RC0030   Owner Operator   Driver Excellence Program      CA-N9Y4000831                            -50
      12/21/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         633.29
      12/21/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.15
      12/21/2019   709   RC0030   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          24.49
      12/21/2019   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      12/21/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/21/2019   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/21/2019   709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      12/21/2019   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      12/21/2019   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           150
      12/21/2019   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         628.67
      12/21/2019   709   RL0017   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         -26.64
      12/21/2019   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      12/21/2019   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      12/21/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/21/2019   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      12/21/2019   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/21/2019   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      12/21/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/21/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/21/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.61
      12/21/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.84
      12/21/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.12
      12/21/2019   709   RL0062   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         500.23
      12/21/2019   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      12/21/2019   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      12/21/2019   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      12/21/2019   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/21/2019   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      12/21/2019   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           150
      12/21/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.74
      12/21/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.44

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      12/21/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.13
      12/21/2019   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      12/21/2019   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      12/21/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      12/21/2019   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      12/21/2019   709   RL0180   Owner Operator   Truck Payment                  CTMS - 236003 TRUCK RENTAL               400
      12/21/2019   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      12/21/2019   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      12/21/2019   709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      12/21/2019   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      12/21/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.32
      12/21/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.56
      12/21/2019   709   RM0026   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         391.25
      12/21/2019   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      12/21/2019   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      12/21/2019   709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      12/21/2019   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      12/21/2019   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      12/21/2019   709   RP0082   Owner Operator   Truck Payment                  CTMS - 235829 Q1202 Truck Leas        278.76
      12/21/2019   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      12/21/2019   709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                     19.68
      12/21/2019   709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                    12.5
      12/21/2019   709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 235960 RR0123 Hotel Q12       -229.13
      12/21/2019   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      12/21/2019   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                        4.88
      12/21/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.27
      12/21/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.56
      12/21/2019   709   RR0123   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          35.31
      12/21/2019   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          263.6
      12/21/2019   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      12/21/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      12/21/2019   709   RR0123   Owner Operator   Truck Payment                  CTMS - 235600 Q1248                   311.97
      12/21/2019   709   RR0123   Owner Operator   Truck Payment                  CTMS - 235883 Q1248                   311.97
      12/21/2019   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      12/21/2019   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      12/21/2019   709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                     19.68
      12/21/2019   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      12/21/2019   709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                      -3400
      12/21/2019   709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                    -669.48
      12/21/2019   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      12/21/2019   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          94.29
      12/21/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.77
      12/21/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.68
      12/21/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.94
      12/21/2019   709   SB0009   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         300.59
      12/21/2019   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      12/21/2019   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/21/2019   709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                        6.63
      12/21/2019   709   SB0009   Owner Operator   T Chek Fee                     Tractor Repair 33236                  662.85
      12/21/2019   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      12/21/2019   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/21/2019   709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      12/21/2019   709   SB0103   Owner Operator   Charge back by affiliate       CTMS - 236074 HVUT Form 2290              50
      12/21/2019   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      12/21/2019   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/21/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.47
      12/21/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.78
      12/21/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.91
      12/21/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.94
      12/21/2019   709   SB0103   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         126.79
      12/21/2019   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      12/21/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/21/2019   709   SB0103   Owner Operator   Truck Payment                  CTMS - 235829 Sub Lease               388.33
      12/21/2019   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      12/21/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            328
      12/21/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.24
      12/21/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            400

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      12/21/2019   709   SM0109   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          292.76
      12/21/2019   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       33.17
      12/21/2019   709   SM0109   Owner Operator   Loan Repayment                 Balance of Loan 1                     3142.37
      12/21/2019   709   SM0109   Owner Operator   Loan Repayment                 Balance of Loan 2                     3824.12
      12/21/2019   709   SM0109   Owner Operator   Loan Repayment                 EFS 235303, Ln Bal 1                 -3824.12
      12/21/2019   709   SM0109   Owner Operator   Loan Repayment                 EFS 235378, Ln Bal 2                 -5573.25
      12/21/2019   709   SM0109   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment           355.2
      12/21/2019   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/21/2019   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
      12/21/2019   709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                        17.32
      12/21/2019   709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                         6.75
      12/21/2019   709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                        14.49
      12/21/2019   709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                         3.89
      12/21/2019   709   SM0109   Owner Operator   T Chek Fee                     Towing 33195                              675
      12/21/2019   709   SM0109   Owner Operator   T Chek Fee                     Tractor Repair 33195                  1731.81
      12/21/2019   709   SM0109   Owner Operator   T Chek Fee                     Tractor Repair 33195                   388.94
      12/21/2019   709   SM0109   Owner Operator   T Chek Fee                     Trailer Repair TT33195                1355.59
      12/21/2019   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
      12/21/2019   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      12/21/2019   709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                       9.84
      12/21/2019   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      12/21/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                              100
      12/21/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                              200
      12/21/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/21/2019   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/21/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.62
      12/21/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           287.5
      12/21/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           268.8
      12/21/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.88
      12/21/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.18
      12/21/2019   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.16
      12/21/2019   709   SN0019   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax           209.3
      12/21/2019   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/21/2019   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
      12/21/2019   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      12/21/2019   709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                       9.84
      12/21/2019   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      12/21/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          465.27
      12/21/2019   709   VB0015   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          -37.05
      12/21/2019   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/21/2019   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
      12/21/2019   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    154.84
      12/21/2019   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      12/21/2019   709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                       9.84
      12/21/2019   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8
      12/21/2019   709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                       -1000
      12/21/2019   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                             200
      12/21/2019   709   VJ0006   Owner Operator   Express Check                  T-Check Payment                          1000
      12/21/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                              180
      12/21/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                              200
      12/21/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/21/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.8
      12/21/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          255.46
      12/21/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           278.4
      12/21/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.04
      12/21/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.53
      12/21/2019   709   VJ0006   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          193.96
      12/21/2019   709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          257.43
      12/21/2019   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/21/2019   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    38.54
      12/21/2019   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      12/21/2019   709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                       9.84
      12/21/2019   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
      12/21/2019   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/21/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    56.25
      12/21/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      12/21/2019   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      12/21/2019   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
      12/21/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                              200
      12/21/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/21/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                             300
      12/21/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.69
      12/21/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.01

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      12/21/2019   709   WH0087   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          212.2
      12/21/2019   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      12/21/2019   709   WH0087   Owner Operator   Truck Payment                  CTMS - 235884 Q1238 Lease             311.97
      12/21/2019   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      12/21/2019   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      12/21/2019   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      12/21/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/21/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/21/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/21/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/21/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.41
      12/21/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.47
      12/21/2019   742   AP0047   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          226.8
      12/21/2019   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      12/21/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      12/21/2019   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      12/21/2019   742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13151                     9.84
      12/21/2019   742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      12/21/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.99
      12/21/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.7
      12/21/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.45
      12/21/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.27
      12/21/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.97
      12/21/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          203.4
      12/21/2019   742   BS0078   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          180.3
      12/21/2019   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      12/21/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      12/21/2019   742   BS0078   Owner Operator   Toll Charges                   Q13151 NTTA Arkansas Mainlane           1.74
      12/21/2019   742   BS0078   Owner Operator   Toll Charges                   Q13151 NTTA Lower Tarrant Main           6.6
      12/21/2019   742   BS0078   Owner Operator   Toll Charges                   Q13151 NTTA Plaza 10 - Irving            3.6
      12/21/2019   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      12/21/2019   742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      12/21/2019   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      12/21/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.52
      12/21/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.74
      12/21/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.33
      12/21/2019   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           525
      12/21/2019   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      12/21/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      12/21/2019   742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      12/21/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      12/21/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.59
      12/21/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.71
      12/21/2019   742   CT0085   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          96.52
      12/21/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      12/21/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      12/21/2019   742   CT0085   Owner Operator   Repair Order                   CTMS - 235920 repair                   236.8
      12/21/2019   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/21/2019   742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
      12/21/2019   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      12/21/2019   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.01
      12/21/2019   742   DA0067   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         236.82
      12/21/2019   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      12/21/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/21/2019   742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      12/21/2019   742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      12/21/2019   742   DC0117   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         128.02
      12/21/2019   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      12/21/2019   742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      12/21/2019   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      12/21/2019   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/21/2019   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.36
      12/21/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.92
      12/21/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.87
      12/21/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.89
      12/21/2019   742   DS0254   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          77.69

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      12/21/2019   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      12/21/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      12/21/2019   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/21/2019   742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      12/21/2019   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      12/21/2019   742   ED0041   Owner Operator   Driver Excellence Program      CA-UB1J000470                            -50
      12/21/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.96
      12/21/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          63.73
      12/21/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.64
      12/21/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.89
      12/21/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.66
      12/21/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.78
      12/21/2019   742   ED0041   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          72.11
      12/21/2019   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      12/21/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/21/2019   742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/21/2019   742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      12/21/2019   742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      12/21/2019   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/21/2019   742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.88
      12/21/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.06
      12/21/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.17
      12/21/2019   742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.37
      12/21/2019   742   EN0016   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         183.92
      12/21/2019   742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      12/21/2019   742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      12/21/2019   742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/21/2019   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      12/21/2019   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      12/21/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      12/21/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      12/21/2019   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      12/21/2019   742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      12/21/2019   742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/21/2019   742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/21/2019   742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/21/2019   742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/21/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.54
      12/21/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.12
      12/21/2019   742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.12
      12/21/2019   742   JB0465   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         321.29
      12/21/2019   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.44
      12/21/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      12/21/2019   742   JB0465   Owner Operator   Toll Charges                   34804 RIVERLIN Lincoln Bridge           5.26
      12/21/2019   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      12/21/2019   742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
      12/21/2019   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      12/21/2019   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         604.68
      12/21/2019   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      12/21/2019   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/21/2019   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      12/21/2019   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/21/2019   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      12/21/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/21/2019   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      12/21/2019   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      12/21/2019   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      12/21/2019   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      12/21/2019   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      12/21/2019   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/21/2019   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/21/2019   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/21/2019   742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      12/21/2019   742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      12/21/2019   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13

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      12/21/2019   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/21/2019   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/21/2019   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/21/2019   742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      12/21/2019   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/21/2019   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/21/2019   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/21/2019   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/21/2019   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/21/2019   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/21/2019   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/21/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          454.1
      12/21/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.97
      12/21/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.74
      12/21/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          334.4
      12/21/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.89
      12/21/2019   742   PC0012   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax           7.28
      12/21/2019   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      12/21/2019   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      12/21/2019   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      12/21/2019   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      12/21/2019   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      12/21/2019   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      12/21/2019   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      12/21/2019   742   PC0012   Owner Operator   Toll Charges                   32969 KTA Emporia: I-35N                12.6
      12/21/2019   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         509.18
      12/21/2019   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          96.53
      12/21/2019   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      12/21/2019   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      12/21/2019   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      12/21/2019   742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      12/21/2019   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      12/21/2019   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      12/21/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/21/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/21/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.05
      12/21/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.68
      12/21/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.43
      12/21/2019   742   RF0136   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         126.34
      12/21/2019   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      12/21/2019   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      12/21/2019   742   RF0136   Owner Operator   Repair Order                   CTMS - 235559 repair                    100
      12/21/2019   742   RF0136   Owner Operator   Repair Order                   CTMS - 235852 repair                    100
      12/21/2019   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/21/2019   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      12/21/2019   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      12/21/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      12/21/2019   742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/21/2019   742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      12/21/2019   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.28
      12/21/2019   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.09
      12/21/2019   742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.55
      12/21/2019   742   TH0130   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          36.46
      12/21/2019   742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/21/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      12/21/2019   742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/21/2019   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               16
      12/21/2019   742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      12/28/2019   406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      12/28/2019   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      12/28/2019   709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      12/28/2019   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/28/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.63
      12/28/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.41
      12/28/2019   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.38
      12/28/2019   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.93
      12/28/2019   709   AC0061   Owner Operator   Truck Payment                  CTMS - 236289 Q13148 Trac Leas        296.09
      12/28/2019   709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      12/28/2019   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13

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      12/28/2019   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/28/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD              7.79
      12/28/2019   709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te            2.5
      12/28/2019   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                     59.95
      12/28/2019   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             8.75
      12/28/2019   709   AV0021   Owner Operator   Charge back by affiliate       CTMS - 236294 HVUT Form 2290               50
      12/28/2019   709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                           8
      12/28/2019   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/28/2019   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/28/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           96.94
      12/28/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.52
      12/28/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           66.01
      12/28/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.24
      12/28/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                              75
      12/28/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          121.16
      12/28/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.05
      12/28/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          128.45
      12/28/2019   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           73.02
      12/28/2019   709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  303.63
      12/28/2019   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/28/2019   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             35.15
      12/28/2019   709   AV0021   Owner Operator   Truck Payment                  CTMS - 236241 Q13169 Sublease          352.68
      12/28/2019   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/28/2019   709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
      12/28/2019   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          579.98
      12/28/2019   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                       33.17
      12/28/2019   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/28/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    23.43
      12/28/2019   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      12/28/2019   709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          506.17
      12/28/2019   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      12/28/2019   709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 236226 HVUT Form 2290               50
      12/28/2019   709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                            8
      12/28/2019   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/28/2019   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/28/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.44
      12/28/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          347.46
      12/28/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.32
      12/28/2019   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.85
      12/28/2019   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/28/2019   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 32.01
      12/28/2019   709   CR0064   Owner Operator   Truck Payment                  CTMS - 236223 Q1247 Sub Lease          263.91
      12/28/2019   709   DL0029   Owner Operator   T Chek Fee                     Cancelled EFS 235101                 -1411.49
      12/28/2019   709   DL0029   Owner Operator   T Chek Fee                     Cancelled EFS 235101 Fee               -14.11
      12/28/2019   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      12/28/2019   709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                       9.84
      12/28/2019   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      12/28/2019   709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      12/28/2019   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/28/2019   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                  32.5
      12/28/2019   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 65.69
      12/28/2019   709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/28/2019   709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
      12/28/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          447.51
      12/28/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.86
      12/28/2019   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          319.91
      12/28/2019   709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                       33.17
      12/28/2019   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/28/2019   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    92.33
      12/28/2019   709   DS0049   Owner Operator   Truck Payment                  CTMS - 236106 TRUCK RENTAL               420
      12/28/2019   709   DS0049   Owner Operator   Truck Payment                  CTMS - 236155 TRUCK RENTAL               500
      12/28/2019   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      12/28/2019   709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
      12/28/2019   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          631.76
      12/28/2019   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/28/2019   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.04
      12/28/2019   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      12/28/2019   709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                           13
      12/28/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      12/28/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      12/28/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      12/28/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      12/28/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5

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      12/28/2019   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      12/28/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.61
      12/28/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.48
      12/28/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.37
      12/28/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.98
      12/28/2019   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.54
      12/28/2019   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.18
      12/28/2019   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/28/2019   709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      12/28/2019   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/28/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/28/2019   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/28/2019   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         592.15
      12/28/2019   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      12/28/2019   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      12/28/2019   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      12/28/2019   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      12/28/2019   709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      12/28/2019   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         672.23
      12/28/2019   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      12/28/2019   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      12/28/2019   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      12/28/2019   709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      12/28/2019   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/28/2019   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      12/28/2019   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/28/2019   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      12/28/2019   709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      12/28/2019   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      12/28/2019   709   FS0039   Owner Operator   Truck Payment                  CTMS - 236241 truck lease 3304        434.29
      12/28/2019   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/28/2019   709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      12/28/2019   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/28/2019   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/28/2019   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.11
      12/28/2019   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      12/28/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/28/2019   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      12/28/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      12/28/2019   709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      12/28/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.35
      12/28/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.52
      12/28/2019   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.31
      12/28/2019   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      12/28/2019   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD              28.9
      12/28/2019   709   GA0051   Owner Operator   Truck Payment                  CTMS - 236225 Q1200 Lease             238.16
      12/28/2019   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      12/28/2019   709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      12/28/2019   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          347.9
      12/28/2019   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      12/28/2019   709   GS0015   Owner Operator   Truck Payment                  CTMS - 236223 Amortized Balloo        200.15
      12/28/2019   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      12/28/2019   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.43
      12/28/2019   709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment          234.2
      12/28/2019   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      12/28/2019   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      12/28/2019   709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 236270 Fuel for Solvay             -8
      12/28/2019   709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      12/28/2019   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.67
      12/28/2019   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      12/28/2019   709   HC0023   Owner Operator   Truck Payment                  CTMS - 236227 Q13170                  352.68
      12/28/2019   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/28/2019   709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8

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      12/28/2019   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      12/28/2019   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.55
      12/28/2019   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      12/28/2019   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      12/28/2019   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/28/2019   709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      12/28/2019   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      12/28/2019   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/28/2019   709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/28/2019   709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      12/28/2019   709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.93
      12/28/2019   709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      12/28/2019   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      12/28/2019   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      12/28/2019   709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      12/28/2019   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      12/28/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/28/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/28/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/28/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/28/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/28/2019   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/28/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.1
      12/28/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          243.5
      12/28/2019   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          537.5
      12/28/2019   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      12/28/2019   709   JC0292   Owner Operator   Truck Payment                  CTMS - 236228 Q13197 Lease            276.63
      12/28/2019   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/28/2019   709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      12/28/2019   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      12/28/2019   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      12/28/2019   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/28/2019   709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      12/28/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/28/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/28/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/28/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/28/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/28/2019   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/28/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.02
      12/28/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          130.6
      12/28/2019   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.61
      12/28/2019   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      12/28/2019   709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      12/28/2019   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.33
      12/28/2019   709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      12/28/2019   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/28/2019   709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      12/28/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/28/2019   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/28/2019   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.36
      12/28/2019   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      12/28/2019   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      12/28/2019   709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      12/28/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      12/28/2019   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/28/2019   709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      12/28/2019   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.52
      12/28/2019   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      12/28/2019   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.61
      12/28/2019   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      12/28/2019   709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      12/28/2019   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      12/28/2019   709   JR0099   Owner Operator   Truck Payment                  CTMS - 236156 Truck Lease             278.76

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      12/28/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      12/28/2019   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75
      12/28/2019   709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                    9.84
      12/28/2019   709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                       0.7
      12/28/2019   709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                         8
      12/28/2019   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/28/2019   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/28/2019   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/28/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.98
      12/28/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.8
      12/28/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.51
      12/28/2019   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        368.03
      12/28/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          2.48
      12/28/2019   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/28/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      12/28/2019   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD           40.22
      12/28/2019   709   JS0265   Owner Operator   Truck Payment                  CTMS - 235941 Q13159 Lease            55.64
      12/28/2019   709   JS0265   Owner Operator   Truck Payment                  CTMS - 236222 Q13159 Lease            331.5
      12/28/2019   709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL           8.75
      12/28/2019   709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                         8
      12/28/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        349.46
      12/28/2019   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         22.09
      12/28/2019   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/28/2019   709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD           42.18
      12/28/2019   709   KT0055   Owner Operator   Truck Payment                  CTMS - 236106 TRUCK RENTAL              420
      12/28/2019   709   KT0055   Owner Operator   Truck Payment                  CTMS - 236206 Q13156 Lease           388.16
      12/28/2019   709   KT0055   Owner Operator   Truck Payment                  CTMS - 236209 TRUCK RENTAL              500
      12/28/2019   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      12/28/2019   709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                          8
      12/28/2019   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.04
      12/28/2019   709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      12/28/2019   709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      12/28/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/28/2019   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      12/28/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        682.33
      12/28/2019   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        380.13
      12/28/2019   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/28/2019   709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  57.01
      12/28/2019   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      12/28/2019   709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                          8
      12/28/2019   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        409.59
      12/28/2019   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/28/2019   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     49.68
      12/28/2019   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      12/28/2019   709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                          8
      12/28/2019   709   MD0122   Owner Operator   ESCROW                         Escrow Withdrawal                     -1500
      12/28/2019   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      12/28/2019   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/28/2019   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      12/28/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        135.02
      12/28/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        114.93
      12/28/2019   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        133.39
      12/28/2019   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/28/2019   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     23.43
      12/28/2019   709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL              8.75
      12/28/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.9
      12/28/2019   709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.8
      12/28/2019   709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        330.39
      12/28/2019   709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/28/2019   709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD              38.43
      12/28/2019   709   ME0053   Owner Operator   Truck Payment                  CTMS - 236209 Lease Q13199           125.04
      12/28/2019   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      12/28/2019   709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                          8
      12/28/2019   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        510.19
      12/28/2019   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      12/28/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.15
      12/28/2019   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      12/28/2019   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      12/28/2019   709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          8
      12/28/2019   709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           750
      12/28/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             20
      12/28/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/28/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3

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      12/28/2019   709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      12/28/2019   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          346.4
      12/28/2019   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.73
      12/28/2019   709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.56
      12/28/2019   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.76
      12/28/2019   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      12/28/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      12/28/2019   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      12/28/2019   709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 236209 HVUT Form 2290              50
      12/28/2019   709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      12/28/2019   709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/28/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/28/2019   709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/28/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.7
      12/28/2019   709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          468.2
      12/28/2019   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      12/28/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      12/28/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      12/28/2019   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      12/28/2019   709   NB0029   Owner Operator   Truck Payment                  CTMS - 236221 32986 Lease             314.03
      12/28/2019   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/28/2019   709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      12/28/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/28/2019   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/28/2019   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.55
      12/28/2019   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      12/28/2019   709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/28/2019   709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      12/28/2019   709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      12/28/2019   709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      12/28/2019   709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
      12/28/2019   709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      12/28/2019   709   OJ0007   Owner Operator   Truck Payment                  CTMS - 236240 TRUCK RENTAL              400
      12/28/2019   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/28/2019   709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      12/28/2019   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         627.61
      12/28/2019   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      12/28/2019   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/28/2019   709   RC0030   Owner Operator   T Chek Fee                     ExpressCheck Fee                        7.05
      12/28/2019   709   RC0030   Owner Operator   T Chek Fee                     Tractor Repair 33676                  704.96
      12/28/2019   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/28/2019   709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      12/28/2019   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           150
      12/28/2019   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          171.1
      12/28/2019   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.34
      12/28/2019   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      12/28/2019   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      12/28/2019   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/28/2019   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      12/28/2019   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/28/2019   709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      12/28/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/28/2019   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/28/2019   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.11
      12/28/2019   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      12/28/2019   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      12/28/2019   709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      12/28/2019   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/28/2019   709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      12/28/2019   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           150
      12/28/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.44
      12/28/2019   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.3
      12/28/2019   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      12/28/2019   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      12/28/2019   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5

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      12/28/2019   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      12/28/2019   709   RL0180   Owner Operator   Truck Payment                  CTMS - 236106 TRUCK RENTAL              280
      12/28/2019   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      12/28/2019   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      12/28/2019   709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      12/28/2019   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.11
      12/28/2019   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      12/28/2019   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      12/28/2019   709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      12/28/2019   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.81
      12/28/2019   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      12/28/2019   709   RP0082   Owner Operator   Truck Payment                  CTMS - 236156 Q1202 Truck Leas        278.76
      12/28/2019   709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      12/28/2019   709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      12/28/2019   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/28/2019   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/28/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         527.15
      12/28/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.07
      12/28/2019   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.83
      12/28/2019   709   RR0123   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          263.6
      12/28/2019   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.07
      12/28/2019   709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      12/28/2019   709   RR0123   Owner Operator   Truck Payment                  CTMS - 236210 Q1248                   311.97
      12/28/2019   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      12/28/2019   709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      12/28/2019   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/28/2019   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/28/2019   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/28/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.01
      12/28/2019   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           242
      12/28/2019   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      12/28/2019   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      12/28/2019   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      12/28/2019   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/28/2019   709   SB0103   Owner Operator   Charge back by affiliate       CTMS - 236294 HVUT Form 2290              50
      12/28/2019   709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      12/28/2019   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/28/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.13
      12/28/2019   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.93
      12/28/2019   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      12/28/2019   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/28/2019   709   SB0103   Owner Operator   Repair Order                   CTMS - 236106 REPAIRS                   406
      12/28/2019   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      12/28/2019   709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      12/28/2019   709   SM0109   Owner Operator   Broker Pre Pass                DriveWyze TRK33195                     19.68
      12/28/2019   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      12/28/2019   709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      12/28/2019   709   SM0109   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/28/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.85
      12/28/2019   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           414
      12/28/2019   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      12/28/2019   709   SM0109   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          355.2
      12/28/2019   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      12/28/2019   709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.39
      12/28/2019   709   SM0109   Owner Operator   T Chek Fee                     Tractor Repair 33195                  339.15
      12/28/2019   709   SM0109   Owner Operator   T Chek Fee                     Trailer Repair TT33195                 93.54
      12/28/2019   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      12/28/2019   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/28/2019   709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      12/28/2019   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      12/28/2019   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      12/28/2019   709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      12/28/2019   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.52
      12/28/2019   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      12/28/2019   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82

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      12/28/2019   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/28/2019   709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      12/28/2019   709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/28/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/28/2019   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/28/2019   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.42
      12/28/2019   709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      12/28/2019   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      12/28/2019   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/28/2019   709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      12/28/2019   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      12/28/2019   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/28/2019   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      12/28/2019   709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      12/28/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/28/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/28/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/28/2019   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/28/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.84
      12/28/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.12
      12/28/2019   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.66
      12/28/2019   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      12/28/2019   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      12/28/2019   742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      12/28/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/28/2019   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/28/2019   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.08
      12/28/2019   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      12/28/2019   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      12/28/2019   742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      12/28/2019   742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      12/28/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.55
      12/28/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.91
      12/28/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.72
      12/28/2019   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.41
      12/28/2019   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
      12/28/2019   742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      12/28/2019   742   BS0078   Owner Operator   Repair Order                   CTMS - 235969 REPAIR PARTS            240.04
      12/28/2019   742   BS0078   Owner Operator   Truck Payment                  CTMS - 235879 Lease of Q13151         388.16
      12/28/2019   742   BS0078   Owner Operator   Truck Payment                  CTMS - 236206 Lease of Q13151         388.16
      12/28/2019   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      12/28/2019   742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      12/28/2019   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      12/28/2019   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      12/28/2019   742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      12/28/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.47
      12/28/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.77
      12/28/2019   742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.67
      12/28/2019   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      12/28/2019   742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      12/28/2019   742   CT0085   Owner Operator   Repair Order                   CTMS - 236186 repair                   236.8
      12/28/2019   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/28/2019   742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      12/28/2019   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      12/28/2019   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/28/2019   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      12/28/2019   742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      12/28/2019   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/28/2019   742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/28/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.26
      12/28/2019   742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          475.3
      12/28/2019   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      12/28/2019   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      12/28/2019   742   DS0254   Owner Operator   Repair Order                   CTMS - 235733 REPAIR                    51.5

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      12/28/2019   742   DS0254   Owner Operator   Toll Charges                   33487 SCNT SC West Plaza                   5
      12/28/2019   742   DS0254   Owner Operator   Truck Payment                  CTMS - 235940 Trk 33487 Lease          434.2
      12/28/2019   742   DS0254   Owner Operator   Truck Payment                  CTMS - 236221 Trk 33487 Lease          434.2
      12/28/2019   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/28/2019   742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      12/28/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.23
      12/28/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.68
      12/28/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.8
      12/28/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.02
      12/28/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           69.1
      12/28/2019   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.25
      12/28/2019   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
      12/28/2019   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/28/2019   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      12/28/2019   742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      12/28/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      12/28/2019   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      12/28/2019   742   JB0465   Owner Operator   Advance                        EFS 235614 s/u 3 wks                   -1500
      12/28/2019   742   JB0465   Owner Operator   Advance                        EFS 235614 s/u 3 wks                     500
      12/28/2019   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      12/28/2019   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.43
      12/28/2019   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      12/28/2019   742   JB0465   Owner Operator   T Chek Fee                     Advance 34804                         902.82
      12/28/2019   742   JB0465   Owner Operator   T Chek Fee                     ExpressCheck Fee                          15
      12/28/2019   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      12/28/2019   742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      12/28/2019   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.11
      12/28/2019   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      12/28/2019   742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/28/2019   742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      12/28/2019   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/28/2019   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      12/28/2019   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/28/2019   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/28/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.61
      12/28/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.85
      12/28/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.95
      12/28/2019   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.32
      12/28/2019   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
      12/28/2019   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         403.17
      12/28/2019   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      12/28/2019   742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      12/28/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/28/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             150
      12/28/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      12/28/2019   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/28/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.87
      12/28/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.18
      12/28/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.18
      12/28/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.04
      12/28/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.46
      12/28/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.66
      12/28/2019   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.13
      12/28/2019   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      12/28/2019   742   RF0136   Owner Operator   Repair Order                   CTMS - 236186 repair                     100
      12/28/2019   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      12/28/2019   742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      12/28/2019   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/28/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      12/28/2019   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
        1/4/2020   406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
        1/4/2020   709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
        1/4/2020   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
        1/4/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.75
        1/4/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.79
        1/4/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.54
        1/4/2020   709   AC0061   Owner Operator   Truck Payment                  CTMS - 236535 Q13148 Trac Leas        296.09
        1/4/2020   709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13

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       1/4/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          377.09
       1/4/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
       1/4/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
       1/4/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
       1/4/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       1/4/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.11
       1/4/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
       1/4/2020    709   CC0134   Owner Operator   Loan Repayment                 Balance of Loan 4                     1051.51
       1/4/2020    709   CC0134   Owner Operator   Loan Repayment                 EFS 235912, Ln Bal 4                 -5880.97
       1/4/2020    709   CC0134   Owner Operator   T Chek Fee                     ExpressCheck Fee                        47.82
       1/4/2020    709   CC0134   Owner Operator   T Chek Fee                     Tractor Repair Q13168                 4781.64
       1/4/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
       1/4/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                       33.17
       1/4/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          506.17
       1/4/2020    709   CR0064   Owner Operator   Charge back by affiliate       CTMS - 236470 HVUT Form 2290               50
       1/4/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                            8
       1/4/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
       1/4/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       1/4/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.69
       1/4/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 236467 Q1247 Sub Lease          263.91
       1/4/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
       1/4/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
       1/4/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
       1/4/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           197.4
       1/4/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          700.36
       1/4/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          488.19
       1/4/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 235881 Baloon payoff            350.23
       1/4/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 236208 Baloon payoff            350.23
       1/4/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 236416 Baloon payoff            350.23
       1/4/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
       1/4/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
       1/4/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
       1/4/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.69
       1/4/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          412.53
       1/4/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                       33.17
       1/4/2020    709   DS0049   Owner Operator   Truck Payment                  CTMS - 236370 TRUCK RENTAL               500
       1/4/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
       1/4/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                           13
       1/4/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
       1/4/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
       1/4/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.87
       1/4/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
       1/4/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13
       1/4/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            100
       1/4/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             200
       1/4/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       1/4/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.11
       1/4/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          343.15
       1/4/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          302.33
       1/4/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          365.26
       1/4/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
       1/4/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100
       1/4/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       1/4/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.19
       1/4/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          291.66
       1/4/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                            251
       1/4/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 236487 truck lease 3304         434.29
       1/4/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                          13
       1/4/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          488.45
       1/4/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                           13
       1/4/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                            8
       1/4/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                             500
       1/4/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
       1/4/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          380.58
       1/4/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 236468 Q1200 Lease              238.16
       1/4/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                           13
       1/4/2020    709   GS0015   Owner Operator   Truck Payment                  CTMS - 236466 Amortized Balloo         200.15
       1/4/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             100
       1/4/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       1/4/2020    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment           50.03
       1/4/2020    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment          117.97
       1/4/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                           8
       1/4/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 236471 Q13170                   352.68

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       1/4/2020    709   HG0027   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         67.81
       1/4/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          7.49
       1/4/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
       1/4/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                          8
       1/4/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                          150
       1/4/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.14
       1/4/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        151.03
       1/4/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        260.89
       1/4/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         80.32
       1/4/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                          8
       1/4/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.4
       1/4/2020    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                          8
       1/4/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                        13
       1/4/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
       1/4/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
       1/4/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
       1/4/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       1/4/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       1/4/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        212.26
       1/4/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        322.91
       1/4/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        471.25
       1/4/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.4
       1/4/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.38
       1/4/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 236472 Q13197 Lease           276.63
       1/4/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
       1/4/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
       1/4/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           400
       1/4/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           100
       1/4/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       1/4/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
       1/4/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.5
       1/4/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.83
       1/4/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        274.69
       1/4/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
       1/4/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment        414.93
       1/4/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        490.64
       1/4/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
       1/4/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
       1/4/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
       1/4/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        214.13
       1/4/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        457.71
       1/4/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
       1/4/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        499.05
       1/4/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                          8
       1/4/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
       1/4/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 236371 Truck Lease            278.76
       1/4/2020    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                         8
       1/4/2020    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                       7.3
       1/4/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
       1/4/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
       1/4/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
       1/4/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       1/4/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        423.05
       1/4/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.7
       1/4/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        384.33
       1/4/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 236465 Q13159 Lease            331.5
       1/4/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
       1/4/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
       1/4/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
       1/4/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
       1/4/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
       1/4/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           150
       1/4/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
       1/4/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       1/4/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.5
       1/4/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            80
       1/4/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          278
       1/4/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          5.01
       1/4/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          289
       1/4/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        377.15
       1/4/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        168.42
       1/4/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                     33.17
       1/4/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                     33.17

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       1/4/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/4/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       1/4/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/4/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
       1/4/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
       1/4/2020    709   KP0004   Owner Operator   Truck Payment                  CTMS - 236106 TRUCK RENTAL              400
       1/4/2020    709   KP0004   Owner Operator   Truck Payment                  CTMS - 236240 TRUCK RENTAL              500
       1/4/2020    709   KP0004   Owner Operator   Truck Payment                  CTMS - 236487 TRUCK RENTAL              500
       1/4/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       1/4/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.59
       1/4/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.36
       1/4/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 236413 Q13156 Lease            388.16
       1/4/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 236417 TRUCK RENTAL              500
       1/4/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       1/4/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 236471 Lease Q1111             252.11
       1/4/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       1/4/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/4/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/4/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         600.33
       1/4/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       1/4/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.65
       1/4/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.79
       1/4/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.31
       1/4/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       1/4/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
       1/4/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.03
       1/4/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
       1/4/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
       1/4/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.53
       1/4/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.55
       1/4/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.42
       1/4/2020    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
       1/4/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 236209 Lease Q13199            138.87
       1/4/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 236416 Lease Q13199            263.91
       1/4/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       1/4/2020    709   MM0103   Owner Operator   Broker Pay Void/Reissue        Void Statement Only                   -12.11
       1/4/2020    709   MM0103   Owner Operator   Miscellaneous                  Void Ck/Do not Reissue                 12.11
       1/4/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
       1/4/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           750
       1/4/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            300
       1/4/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              20
       1/4/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
       1/4/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       1/4/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.97
       1/4/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.45
       1/4/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       1/4/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            160
       1/4/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
       1/4/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.98
       1/4/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.56
       1/4/2020    709   NR0010   Owner Operator   Broker Pay Void/Reissue        Void Statement Only                   -13.15
       1/4/2020    709   NR0010   Owner Operator   Miscellaneous                  Void Ck/Do not Reissue                 13.15
       1/4/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       1/4/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/4/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       1/4/2020    709   NT9564   Owner Operator   Truck Payment                  CTMS - 236295 Truck 73130 Leas        163.28
       1/4/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       1/4/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.79
       1/4/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
       1/4/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
       1/4/2020    709   OJ0007   Owner Operator   Truck Payment                  CTMS - 236487 TRUCK RENTAL              400
       1/4/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       1/4/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.19
       1/4/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.82
       1/4/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       1/4/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                         247.59
       1/4/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.25
       1/4/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.1
       1/4/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
       1/4/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       1/4/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
       1/4/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           150
       1/4/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.53

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       1/4/2020    709   RL0180   Owner Operator   IRP License Deduction     LCIL:2019 - 32910                      33.17
       1/4/2020    709   RL0180   Owner Operator   Tractor Charge            45995 - 32910                         350.65
       1/4/2020    709   RL0180   Owner Operator   Truck Payment             CTMS - 236240 TRUCK RENTAL              400
       1/4/2020    709   RL0180   Owner Operator   Truck Payment             CTMS - 236487 TRUCK RENTAL              400
       1/4/2020    709   RM0026   Owner Operator   Communication Charge      PNet Hware 33664                          13
       1/4/2020    709   RP0082   Owner Operator   Communication Charge      PNet Hware Q1202                          13
       1/4/2020    709   RP0082   Owner Operator   Fuel Purchase             Fuel Purchase                         451.32
       1/4/2020    709   RP0082   Owner Operator   Truck Payment             CTMS - 236371 Q1202 Truck Leas        278.76
       1/4/2020    709   RR0123   Owner Operator   Communication Charge      PNet Hware Q1248                           8
       1/4/2020    709   RR0123   Owner Operator   Fuel Card Advances        Cash Advance                            100
       1/4/2020    709   RR0123   Owner Operator   Fuel Card Advances        Cash Advance                            100
       1/4/2020    709   RR0123   Owner Operator   Fuel Card Advances        Cash Advance                            100
       1/4/2020    709   RR0123   Owner Operator   Fuel Card Advances        Cash Advance Fee                           1
       1/4/2020    709   RR0123   Owner Operator   Fuel Card Advances        Cash Advance Fee                           1
       1/4/2020    709   RR0123   Owner Operator   Fuel Card Advances        Cash Advance Fee                           1
       1/4/2020    709   RR0123   Owner Operator   Fuel Purchase             Fuel Purchase                         477.17
       1/4/2020    709   RR0123   Owner Operator   Fuel Purchase             Fuel Purchase                         488.63
       1/4/2020    709   RR0123   Owner Operator   Fuel Purchase             Fuel Purchase                          493.7
       1/4/2020    709   RR0123   Owner Operator   Fuel Purchase             Fuel Purchase                         426.22
       1/4/2020    709   RR0123   Owner Operator   Loan Repayment            Loan # 00003 - Loan Repayment          263.6
       1/4/2020    709   RR0123   Owner Operator   Truck Payment             CTMS - 236418 Q1248                   311.97
       1/4/2020    709   SB0009   Owner Operator   Communication Charge      PNet Hware 33236                          13
       1/4/2020    709   SB0009   Owner Operator   ESCROW                    Weekly Escrow                           200
       1/4/2020    709   SB0009   Owner Operator   Fuel Card Advances        Cash Advance                            200
       1/4/2020    709   SB0009   Owner Operator   Fuel Card Advances        Cash Advance                            200
       1/4/2020    709   SB0009   Owner Operator   Fuel Card Advances        Cash Advance Fee                           2
       1/4/2020    709   SB0009   Owner Operator   Fuel Card Advances        Cash Advance Fee                           2
       1/4/2020    709   SB0009   Owner Operator   Fuel Purchase             Fuel Purchase                         317.91
       1/4/2020    709   SB0009   Owner Operator   Fuel Purchase             Fuel Purchase                         358.35
       1/4/2020    709   SB0009   Owner Operator   Fuel Purchase             Fuel Purchase                         352.88
       1/4/2020    709   SB0009   Owner Operator   IRP License Deduction     LCIL:2019 - 33236                      33.17
       1/4/2020    709   SB0009   Owner Operator   Repair Order              CTMS - 236274 Repair                    310
       1/4/2020    709   SB0009   Owner Operator   Tractor Charge            19100 - 33236                         564.33
       1/4/2020    709   SM0109   Owner Operator   Fuel Card Advances        Cash Advance                            300
       1/4/2020    709   SM0109   Owner Operator   Fuel Card Advances        Cash Advance                            200
       1/4/2020    709   SM0109   Owner Operator   Fuel Card Advances        Cash Advance Fee                           2
       1/4/2020    709   SM0109   Owner Operator   Fuel Card Advances        Cash Advance Fee                           3
       1/4/2020    709   SM0109   Owner Operator   Fuel Purchase             Fuel Purchase                           393
       1/4/2020    709   SM0109   Owner Operator   Fuel Purchase             Fuel Purchase                         283.27
       1/4/2020    709   SM0109   Owner Operator   Fuel Purchase             Fuel Purchase                         423.92
       1/4/2020    709   SS0084   Owner Operator   Broker Pay Void/Reissue   Void Statement Only                   -12.11
       1/4/2020    709   SS0084   Owner Operator   Miscellaneous             Void Ck/Do not Reissue                 12.11
       1/4/2020    709   VB0015   Owner Operator   Communication Charge      PNet Hware Q1112                           8
       1/4/2020    709   VB0015   Owner Operator   Fuel Purchase             Fuel Purchase                         268.06
       1/4/2020    709   VJ0006   Owner Operator   Communication Charge      PNet Hware 33961                           8
       1/4/2020    709   VJ0006   Owner Operator   ESCROW                    Weekly Escrow                           200
       1/4/2020    709   VJ0006   Owner Operator   Fuel Card Advances        Cash Advance                            200
       1/4/2020    709   VJ0006   Owner Operator   Fuel Card Advances        Cash Advance Fee                           2
       1/4/2020    709   VJ0006   Owner Operator   Fuel Purchase             Fuel Purchase                         318.33
       1/4/2020    709   VJ0006   Owner Operator   Fuel Purchase             Fuel Purchase                         308.71
       1/4/2020    709   VJ0006   Owner Operator   Fuel Purchase             Fuel Purchase                         168.26
       1/4/2020    709   VJ0006   Owner Operator   Loan Repayment            Loan # 00003 - Loan Repayment         257.43
       1/4/2020    709   WB0062   Owner Operator   Communication Charge      PNet Hware 33407                          13
       1/4/2020    709   WH0087   Owner Operator   Communication Charge      PNet Hware q1239                           8
       1/4/2020    709   WH0087   Owner Operator   Fuel Card Advances        Cash Advance                            200
       1/4/2020    709   WH0087   Owner Operator   Fuel Card Advances        Cash Advance Fee                           2
       1/4/2020    709   WH0087   Owner Operator   Fuel Purchase             Fuel Purchase                         212.31
       1/4/2020    709   WH0087   Owner Operator   Truck Payment             CTMS - 236211 Q1238 Lease             311.97
       1/4/2020    709   WH0087   Owner Operator   Truck Payment             CTMS - 236418 Q1238 Lease             311.97
       1/4/2020    742   AP0047   Owner Operator   Communication Charge      PNet Hware 32604                          13
       1/4/2020    742   AP0047   Owner Operator   Fuel Card Advances        Cash Advance                            100
       1/4/2020    742   AP0047   Owner Operator   Fuel Card Advances        Cash Advance Fee                           1
       1/4/2020    742   AP0047   Owner Operator   Fuel Purchase             Fuel Purchase                         379.79
       1/4/2020    742   BS0078   Owner Operator   Communication Charge      PNet Hware Q13151                          8
       1/4/2020    742   BS0078   Owner Operator   Fuel Purchase             Fuel Purchase                         351.68
       1/4/2020    742   BS0078   Owner Operator   Fuel Purchase             Fuel Purchase                         323.57
       1/4/2020    742   BS0078   Owner Operator   Fuel Purchase             Fuel Purchase                         367.52
       1/4/2020    742   BS0078   Owner Operator   Fuel Purchase             Fuel Purchase                         190.33
       1/4/2020    742   BS0078   Owner Operator   Fuel Purchase             Fuel Purchase                         269.22
       1/4/2020    742   BS0078   Owner Operator   Fuel Purchase             Fuel Purchase                         296.74
       1/4/2020    742   BS0078   Owner Operator   Truck Payment             CTMS - 236414 Lease of Q13151         388.16
       1/4/2020    742   CA0089   Owner Operator   Communication Charge      PNet Hware 33832                          13
       1/4/2020    742   CT0085   Owner Operator   Communication Charge      PNet Hware Q13171                          8

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       1/4/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          392.2
       1/4/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       1/4/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           550
       1/4/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       1/4/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       1/4/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       1/4/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/4/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/4/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.11
       1/4/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.66
       1/4/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.08
       1/4/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 236464 Trk 33487 Lease          434.2
       1/4/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       1/4/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.61
       1/4/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.97
       1/4/2020    742   ED0041   Owner Operator   Toll Charges                   32897 NTTA Plaza 2 - Keller Sp          4.72
       1/4/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
       1/4/2020    742   JB0465   Owner Operator   Advance                        EFS 235614 s/u 3 wks                    500
       1/4/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
       1/4/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
       1/4/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/4/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/4/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/4/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/4/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/4/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/4/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.49
       1/4/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.88
       1/4/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.25
       1/4/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.5
       1/4/2020    742   JB0465   Owner Operator   T Chek Fee                     Advance 34804                         597.18
       1/4/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       1/4/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.03
       1/4/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         632.44
       1/4/2020    742   PS0080   Owner Operator   Broker Pay Void/Reissue        Void Statement Only                    -24.7
       1/4/2020    742   PS0080   Owner Operator   Miscellaneous                  Void Ck/Do not Reissue                  24.7
       1/4/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       1/4/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/4/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/4/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          157.7
       1/4/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.9
       1/4/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.97
       1/4/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.92
       1/4/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.11
       1/4/2020    742   RF0136   Owner Operator   Repair Order                   CTMS - 236501 repair                    100
       1/4/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       1/4/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       1/4/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       1/4/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       1/4/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/4/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       1/4/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       1/4/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
       1/4/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
       1/4/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               16
      1/11/2020    406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      1/11/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      1/11/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      1/11/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/11/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.99
      1/11/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.76
      1/11/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      1/11/2020    709   AC0061   Owner Operator   Repair Order                   CTMS - 236822 REPAIR                  212.34
      1/11/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 236863 Q13148 Trac Leas        296.09
      1/11/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      1/11/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      1/11/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.14
      1/11/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      1/11/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      1/11/2020    709   AR0064   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          13.69
      1/11/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95

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      1/11/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      1/11/2020    709   AV0021   Owner Operator   Charge back by affiliate       CTMS - 236539 HVUT Form 2290              50
      1/11/2020    709   AV0021   Owner Operator   Charge back by affiliate       CTMS - 236867 HVUT Form 2290              50
      1/11/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/11/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/11/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          122.2
      1/11/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.05
      1/11/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.02
      1/11/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.77
      1/11/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      1/11/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      1/11/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.61
      1/11/2020    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 335.62
      1/11/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      1/11/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 236488 Q13169 Sublease         352.68
      1/11/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 236807 Q13169 Sublease         352.68
      1/11/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      1/11/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      1/11/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      1/11/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      1/11/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      1/11/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      1/11/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      1/11/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/11/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/11/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/11/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/11/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.72
      1/11/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.84
      1/11/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.96
      1/11/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          460.6
      1/11/2020    709   CC0134   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         219.33
      1/11/2020    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      1/11/2020    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         354.79
      1/11/2020    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          313.7
      1/11/2020    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        1478.73
      1/11/2020    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         314.93
      1/11/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      1/11/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      1/11/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      1/11/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/11/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      1/11/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.64
      1/11/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          639.9
      1/11/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      1/11/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      1/11/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/11/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      1/11/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      1/11/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      1/11/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.61
      1/11/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.63
      1/11/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.73
      1/11/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      1/11/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 236726 Q1247 Sub Lease         263.91
      1/11/2020    709   DL0029   Owner Operator   Advance                        EFS 235101 s/u 4 wks                  1069.2
      1/11/2020    709   DL0029   Owner Operator   Arrears                        Credit Billing                       1499.42
      1/11/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/11/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/11/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      1/11/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      1/11/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      1/11/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.26
      1/11/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.19

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      1/11/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.52
      1/11/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.16
      1/11/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
      1/11/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      1/11/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      1/11/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      1/11/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/11/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/11/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         660.27
      1/11/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          35.94
      1/11/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           630
      1/11/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      1/11/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 236675 Baloon payoff           350.23
      1/11/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      1/11/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      1/11/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      1/11/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.27
      1/11/2020    709   DM0257   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         827.11
      1/11/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      1/11/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      1/11/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      1/11/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      1/11/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      1/11/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      1/11/2020    709   DM0257   Owner Operator   Toll Charges                   34328 ILTOLL Route 80 (West)            3.75
      1/11/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    -35
      1/11/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      1/11/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      1/11/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      1/11/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.69
      1/11/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.31
      1/11/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      1/11/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 -369.38
      1/11/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  111.72
      1/11/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  111.72
      1/11/2020    709   DS0049   Owner Operator   Truck Payment                  CTMS - 236648 TRUCK RENTAL              500
      1/11/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      1/11/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      1/11/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         631.25
      1/11/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         611.81
      1/11/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      1/11/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      1/11/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      1/11/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      1/11/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      1/11/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      1/11/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      1/11/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.45
      1/11/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.83
      1/11/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.75
      1/11/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.27
      1/11/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      1/11/2020    709   DS0288   Owner Operator   Tire Fee                       Tire Fee: 2365698                          8
      1/11/2020    709   DS0288   Owner Operator   Tire Purchase                  PO: 709-00422521 - PO System          793.12
      1/11/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/11/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      1/11/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      1/11/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/11/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/11/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          521.6

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      1/11/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      1/11/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      1/11/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      1/11/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      1/11/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      1/11/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      1/11/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      1/11/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.42
      1/11/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.52
      1/11/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      1/11/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      1/11/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      1/11/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      1/11/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/11/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.18
      1/11/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.89
      1/11/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.25
      1/11/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.83
      1/11/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      1/11/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      1/11/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      1/11/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      1/11/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.79
      1/11/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.49
      1/11/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.84
      1/11/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.84
      1/11/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      1/11/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 236806 truck lease 3304        434.29
      1/11/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/11/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      1/11/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         695.86
      1/11/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      1/11/2020    709   FV0001   Owner Operator   Tire Fee                       Tire Fee: 2366855                          8
      1/11/2020    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00416430 - PO System          174.07
      1/11/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/11/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      1/11/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware 34330                          13
      1/11/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      1/11/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/11/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/11/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.46
      1/11/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.31
      1/11/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.85
      1/11/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.81
      1/11/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.64
      1/11/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      1/11/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             28.91
      1/11/2020    709   GA0051   Owner Operator   Tire Fee                       Tire Fee: 2365697                          8
      1/11/2020    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00422522 - PO System          192.51
      1/11/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 236728 Q1200 Lease             238.16
      1/11/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      1/11/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      1/11/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.97
      1/11/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      1/11/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      1/11/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8

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      1/11/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      1/11/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      1/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.91
      1/11/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          291.6
      1/11/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.96
      1/11/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           345
      1/11/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.57
      1/11/2020    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         352.17
      1/11/2020    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         302.14
      1/11/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      1/11/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 236288 Q1109 Lease             302.85
      1/11/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 236534 Q1109 Lease             302.85
      1/11/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 236861 Q1109 Lease             302.85
      1/11/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      1/11/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      1/11/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           369
      1/11/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.75
      1/11/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      1/11/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 236731 Q13170                  352.68
      1/11/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      1/11/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      1/11/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      1/11/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      1/11/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      1/11/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.24
      1/11/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.18
      1/11/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.04
      1/11/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      1/11/2020    709   HG0027   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          14.61
      1/11/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/11/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      1/11/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      1/11/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          203.4
      1/11/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.74
      1/11/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.53
      1/11/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      1/11/2020    709   IA0007   Owner Operator   Repair Order                   CTMS - 236825 REPAIRS                 185.45
      1/11/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      1/11/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/11/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      1/11/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.28
      1/11/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      1/11/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/11/2020    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/11/2020    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      1/11/2020    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.59
      1/11/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      1/11/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      1/11/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      1/11/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      1/11/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      1/11/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          417.9
      1/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.07
      1/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.58
      1/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.7
      1/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.18

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      1/11/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/11/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              42.19
      1/11/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 236732 Q13197 Lease           276.63
      1/11/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      1/11/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      1/11/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/11/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     11.72
      1/11/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      1/11/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/11/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      1/11/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            400
      1/11/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          4
      1/11/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        548.07
      1/11/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.6
      1/11/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
      1/11/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment        414.93
      1/11/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/11/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  27.35
      1/11/2020    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 17                      26
      1/11/2020    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                      21
      1/11/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        490.64
      1/11/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/11/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      1/11/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/11/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      1/11/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        531.69
      1/11/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        605.69
      1/11/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
      1/11/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/11/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  74.22
      1/11/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        499.05
      1/11/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.03
      1/11/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         10.06
      1/11/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      1/11/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      1/11/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                          8
      1/11/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/11/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         16.96
      1/11/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.88
      1/11/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        119.47
      1/11/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/11/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  19.54
      1/11/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  15.63
      1/11/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      1/11/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      1/11/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/11/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.6
      1/11/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 236618 Truck Lease            278.76
      1/11/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      1/11/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75
      1/11/2020    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                         8
      1/11/2020    709   JS0265   Owner Operator   ESCROW                         Escrow Withdrawal                     -5000
      1/11/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/11/2020    709   JS0265   Owner Operator   Express Check                  T-Check Payment                        5000
      1/11/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/11/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        410.69
      1/11/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.7
      1/11/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          2.51
      1/11/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/11/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       37.5
      1/11/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD           40.24
      1/11/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 236725 Q13159 Lease            331.5
      1/11/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      1/11/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      1/11/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1

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      1/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.05
      1/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           225
      1/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.73
      1/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.02
      1/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           315
      1/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           312
      1/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.94
      1/11/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      1/11/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      1/11/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/11/2020    709   KP0004   Owner Operator   Tire Fee                       Tire Fee: 2365500                          8
      1/11/2020    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00421517 - PO System          221.73
      1/11/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      1/11/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      1/11/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      1/11/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.74
      1/11/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.52
      1/11/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.86
      1/11/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      1/11/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 236672 Q13156 Lease            388.16
      1/11/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 236676 TRUCK RENTAL              500
      1/11/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      1/11/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      1/11/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      1/11/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 236730 Lease Q1111             252.11
      1/11/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      1/11/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      1/11/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.13
      1/11/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.92
      1/11/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      1/11/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/11/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      1/11/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.06
      1/11/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.79
      1/11/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      1/11/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      1/11/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      1/11/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      1/11/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.78
      1/11/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.74
      1/11/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.87
      1/11/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      1/11/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      1/11/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      1/11/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.2
      1/11/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.76
      1/11/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.63
      1/11/2020    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      1/11/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               38.44
      1/11/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 236675 Lease Q13199            263.91
      1/11/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/11/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      1/11/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.25
      1/11/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.46
      1/11/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      1/11/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/11/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/11/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8

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      1/11/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           750
      1/11/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              40
      1/11/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      1/11/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.01
      1/11/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      1/11/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/11/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/11/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      1/11/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      1/11/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      1/11/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          98.04
      1/11/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/11/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      1/11/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/11/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      1/11/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      1/11/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      1/11/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      1/11/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            400
      1/11/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      1/11/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.04
      1/11/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.19
      1/11/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      1/11/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      1/11/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      1/11/2020    709   NT9564   Owner Operator   Truck Payment                  CTMS - 236295 Truck 73130 Leas         33.37
      1/11/2020    709   NT9564   Owner Operator   Truck Payment                  CTMS - 236541 Truck 73130 Leas        196.65
      1/11/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/11/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                        0.33
      1/11/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.59
      1/11/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      1/11/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      1/11/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      1/11/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                6.58
      1/11/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      1/11/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      1/11/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.99
      1/11/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         601.82
      1/11/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.89
      1/11/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      1/11/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      1/11/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/11/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      1/11/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                          52.41
      1/11/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      1/11/2020    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.17
      1/11/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         629.85
      1/11/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      1/11/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      1/11/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/11/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      1/11/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/11/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      1/11/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      1/11/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.46
      1/11/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.85
      1/11/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.34
      1/11/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.35
      1/11/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.87
      1/11/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17

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      1/11/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      1/11/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      1/11/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      1/11/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      1/11/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      1/11/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      1/11/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           150
      1/11/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.08
      1/11/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.87
      1/11/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.23
      1/11/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      1/11/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      1/11/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      1/11/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      1/11/2020    709   RL0180   Owner Operator   Truck Payment                  CTMS - 236646 TRUCK RENTAL              280
      1/11/2020    709   RL0180   Owner Operator   Truck Payment                  CTMS - 236806 TRUCK RENTAL              400
      1/11/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      1/11/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      1/11/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      1/11/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.97
      1/11/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.79
      1/11/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.96
      1/11/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      1/11/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      1/11/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      1/11/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.99
      1/11/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      1/11/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 236618 Q1202 Truck Leas        278.76
      1/11/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      1/11/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      1/11/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.48
      1/11/2020    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          263.6
      1/11/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      1/11/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      1/11/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 236676 Q1248                   311.97
      1/11/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 236823 Truck rent for Q          500
      1/11/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      1/11/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      1/11/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/11/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.74
      1/11/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.03
      1/11/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      1/11/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      1/11/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      1/11/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      1/11/2020    709   SB0103   Owner Operator   Charge back by affiliate       CTMS - 236539 HVUT Form 2290              50
      1/11/2020    709   SB0103   Owner Operator   Charge back by affiliate       CTMS - 236867 HVUT Form 2290              50
      1/11/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      1/11/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      1/11/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/11/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.15
      1/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.52
      1/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.38
      1/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.58
      1/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.14
      1/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.79
      1/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.48
      1/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.22
      1/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.03
      1/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.45
      1/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.77
      1/11/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      1/11/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5

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      1/11/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 236157 Sub Lease               388.33
      1/11/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 236372 Sub Lease               388.33
      1/11/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 236619 Sub Lease               388.33
      1/11/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      1/11/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      1/11/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      1/11/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           360
      1/11/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.08
      1/11/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.69
      1/11/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           418
      1/11/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      1/11/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      1/11/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          355.2
      1/11/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          355.2
      1/11/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      1/11/2020    709   SM0109   Owner Operator   Repair Order                   CTMS - 236504 Replace front bu         261.4
      1/11/2020    709   SM0109   Owner Operator   Repair Order                   CTMS - 236796 Replace front bu         261.4
      1/11/2020    709   SM0109   Owner Operator   Tire Fee                       Tire Fee: 2366822                          8
      1/11/2020    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00416151 - PO System          259.54
      1/11/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      1/11/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      1/11/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/11/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/11/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/11/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.87
      1/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.72
      1/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.39
      1/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.83
      1/11/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      1/11/2020    709   SN0019   Owner Operator   Tire Fee                       Tire Fee: 2366847                          8
      1/11/2020    709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00415763 - PO System          257.05
      1/11/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      1/11/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      1/11/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.25
      1/11/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           410
      1/11/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      1/11/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      1/11/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/11/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      1/11/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/11/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.17
      1/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.65
      1/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.52
      1/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.99
      1/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.14
      1/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.94
      1/11/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      1/11/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      1/11/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/11/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      1/11/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      1/11/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      1/11/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      1/11/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      1/11/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.72
      1/11/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.45

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      1/11/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.03
      1/11/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.93
      1/11/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      1/11/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 236647 TRUCK RENTAL              500
      1/11/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 236677 Q1238 Lease             311.97
      1/11/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      1/11/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      1/11/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.15
      1/11/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.16
      1/11/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.87
      1/11/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.13
      1/11/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      1/11/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      1/11/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      1/11/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      1/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.05
      1/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.22
      1/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.7
      1/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           6.98
      1/11/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      1/11/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      1/11/2020    742   BS0078   Owner Operator   Truck Payment                  CTMS - 236672 Lease of Q13151         388.16
      1/11/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      1/11/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      1/11/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.76
      1/11/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.64
      1/11/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.42
      1/11/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      1/11/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      1/11/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      1/11/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.17
      1/11/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.33
      1/11/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      1/11/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      1/11/2020    742   CT0085   Owner Operator   Repair Order                   CTMS - 236691 repair                   236.8
      1/11/2020    742   CT0085   Owner Operator   Toll Charges                   Q13171 Antioch Bridge 1                   26
      1/11/2020    742   CT0085   Owner Operator   Toll Charges                   Q13171 Antioch Bridge 3                   26
      1/11/2020    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 12                26
      1/11/2020    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 12                26
      1/11/2020    742   CT0085   Owner Operator   Toll Charges                   Q13171 Carquinez Bridge 9                 26
      1/11/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/11/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      1/11/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      1/11/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/11/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      1/11/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      1/11/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  26
      1/11/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  26
      1/11/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      1/11/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      1/11/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      1/11/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/11/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/11/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.53
      1/11/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.35
      1/11/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.17
      1/11/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.44
      1/11/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.12
      1/11/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      1/11/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5

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      1/11/2020    742   DS0254   Owner Operator   Toll Charges                   33487 Carquinez Bridge 4                  16
      1/11/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 236724 Trk 33487 Lease          434.2
      1/11/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/11/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           4.94
      1/11/2020    742   ED0041   Owner Operator   Toll Charges                   32897 NTTA I-820 East TEXpress             6
      1/11/2020    742   ED0041   Owner Operator   Toll Charges                   32897/702069 Carquinez Bridge           7.69
      1/11/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/11/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           4.94
      1/11/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      1/11/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069A                         13
      1/11/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      1/11/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      1/11/2020    742   JB0465   Owner Operator   Advance                        EFS 235614 s/u 3 wks                    500
      1/11/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/11/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/11/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                             36
      1/11/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.74
      1/11/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      1/11/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      1/11/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.24
      1/11/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         769.83
      1/11/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.58
      1/11/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         629.28
      1/11/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      1/11/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/11/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      1/11/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      1/11/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/11/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/11/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      1/11/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/11/2020    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 7                  26
      1/11/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      1/11/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           4.94
      1/11/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      1/11/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      1/11/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/11/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      1/11/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      1/11/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      1/11/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.25
      1/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           246
      1/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.39
      1/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.6
      1/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.91
      1/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.59
      1/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.69
      1/11/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      1/11/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      1/11/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      1/11/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      1/11/2020    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 6                  26
      1/11/2020    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 7                  26
      1/11/2020    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 7                  16
      1/11/2020    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 8                  26
      1/11/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      1/11/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      1/11/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          98.78
      1/11/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                           13.69
      1/11/2020    742   RN0054   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          13.69
      1/11/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      1/11/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      1/11/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      1/11/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      1/11/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      1/11/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      1/11/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      1/11/2020    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      1/11/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8

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      1/11/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      1/11/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      1/11/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      1/11/2020    742   TC0098   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          48.94
      1/11/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      1/11/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      1/11/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
      1/11/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      1/11/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      1/11/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      1/11/2020    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Route 80 (East)               5
      1/11/2020    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Route 80 (West)               5
      1/11/2020    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Route 80 (West)            3.75
      1/11/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 235697 33489 Lease Paym        412.16
      1/11/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/11/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      1/11/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.4
      1/11/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          34.92
      1/11/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.37
      1/11/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/11/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      1/11/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/11/2020    843   EI0003   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          13.69
      1/18/2020    406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      1/18/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      1/18/2020    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      1/18/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      1/18/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/18/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.99
      1/18/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          395.2
      1/18/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.03
      1/18/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   AC0061   Owner Operator   Permits                        ID06:2020 - Q13148                      10.3
      1/18/2020    709   AC0061   Owner Operator   Permits                        IL02:2020 - Q13148                      3.75
      1/18/2020    709   AC0061   Owner Operator   Permits                        NM07:2020 - Q13148                        10
      1/18/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      1/18/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 237195 Q13148 Trac Leas        296.09
      1/18/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.25
      1/18/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      1/18/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      1/18/2020    709   AV0021   Owner Operator   Charge back by affiliate       CTMS - 237199 HVUT Form 2290              50
      1/18/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/18/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/18/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.12
      1/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.43
      1/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.89
      1/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.81
      1/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.47
      1/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.47
      1/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.4
      1/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             70
      1/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          58.16
      1/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           39.7
      1/18/2020    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 214.52
      1/18/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   AV0021   Owner Operator   Permits                        ID06:2020 - Q13169                      10.3
      1/18/2020    709   AV0021   Owner Operator   Permits                        IL02:2020 - Q13169                      3.75
      1/18/2020    709   AV0021   Owner Operator   Permits                        NM07:2020 - Q13169                        10
      1/18/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      1/18/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 237149 Q13169 Sublease         352.68
      1/18/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      1/18/2020    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      1/18/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      1/18/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   BM0030   Owner Operator   Permits                        ID06:2020 - 34023                       10.3
      1/18/2020    709   BM0030   Owner Operator   Permits                        IL02:2020 - 34023                       3.75
      1/18/2020    709   BM0030   Owner Operator   Permits                        NM07:2020 - 34023                         10
      1/18/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      1/18/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5

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      1/18/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      1/18/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/18/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/18/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.47
      1/18/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.63
      1/18/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.58
      1/18/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.45
      1/18/2020    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         1163.8
      1/18/2020    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        1035.42
      1/18/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   CC0134   Owner Operator   Permits                        ID06:2020 - Q13168                      10.3
      1/18/2020    709   CC0134   Owner Operator   Permits                        IL02:2020 - Q13168                      3.75
      1/18/2020    709   CC0134   Owner Operator   Permits                        NM07:2020 - Q13168                        10
      1/18/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      1/18/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/18/2020    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      1/18/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      1/18/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/18/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/18/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         541.92
      1/18/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.39
      1/18/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      1/18/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   CM0119   Owner Operator   Permits                        ID06:2020 - 32920                       10.3
      1/18/2020    709   CM0119   Owner Operator   Permits                        IL02:2020 - 32920                       3.75
      1/18/2020    709   CM0119   Owner Operator   Permits                        NM07:2020 - 32920                         10
      1/18/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      1/18/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/18/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      1/18/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      1/18/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      1/18/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.18
      1/18/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.28
      1/18/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.95
      1/18/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.38
      1/18/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   CR0064   Owner Operator   Permits                        ID06:2020 - 32864                       10.3
      1/18/2020    709   CR0064   Owner Operator   Permits                        ID06:2020 - Q1247                       10.3
      1/18/2020    709   CR0064   Owner Operator   Permits                        IL02:2020 - Q1247                       3.75
      1/18/2020    709   CR0064   Owner Operator   Permits                        NM07:2020 - Q1247                         10
      1/18/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      1/18/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 237084 Q1247 Sub Lease         263.91
      1/18/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/18/2020    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                    12.5
      1/18/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      1/18/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.39
      1/18/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.47
      1/18/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.81
      1/18/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   DL0029   Owner Operator   Permits                        ID06:2020 - 33850                       10.3
      1/18/2020    709   DL0029   Owner Operator   Permits                        IL02:2020 - 33850                       3.75
      1/18/2020    709   DL0029   Owner Operator   Permits                        NM07:2020 - 33850                         10
      1/18/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      1/18/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      1/18/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      1/18/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/18/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.04
      1/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          555.9
      1/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         627.83
      1/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.5
      1/18/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   DL0107   Owner Operator   Permits                        ID06:2020 - Q1245                       10.3
      1/18/2020    709   DL0107   Owner Operator   Permits                        IL02:2020 - Q1245                       3.75
      1/18/2020    709   DL0107   Owner Operator   Permits                        NM07:2020 - Q1245                         10
      1/18/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      1/18/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 237009 Baloon payoff           350.23
      1/18/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      1/18/2020    709   DM0257   Owner Operator   Broker Pre Pass                34328 PrePass Device                    12.5
      1/18/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   DM0257   Owner Operator   Permits                        ID06:2020 - 34328                       10.3
      1/18/2020    709   DM0257   Owner Operator   Permits                        IL02:2020 - 34328                       3.75
      1/18/2020    709   DM0257   Owner Operator   Permits                        NM07:2020 - 34328                         10

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      1/18/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      1/18/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      1/18/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      1/18/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      1/18/2020    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                    12.5
      1/18/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      1/18/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                          13
      1/18/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/18/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/18/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.67
      1/18/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.16
      1/18/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.98
      1/18/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      1/18/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   DS0049   Owner Operator   Permits                        ID06:2020 - 32915                       10.3
      1/18/2020    709   DS0049   Owner Operator   Permits                        IL02:2020 - 32915                       3.75
      1/18/2020    709   DS0049   Owner Operator   Permits                        NM07:2020 - 32915                         10
      1/18/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  111.72
      1/18/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  111.72
      1/18/2020    709   DS0049   Owner Operator   Truck Payment                  CTMS - 236941 TRUCK RENTAL              500
      1/18/2020    709   DS0049   Owner Operator   Truck Payment                  CTMS - 237106 TRUCK RENTAL              420
      1/18/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      1/18/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      1/18/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      1/18/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          578.6
      1/18/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   DS0225   Owner Operator   Permits                        CUST:2020 - 33320                     408.84
      1/18/2020    709   DS0225   Owner Operator   Permits                        ID06:2020 - 33320                       10.3
      1/18/2020    709   DS0225   Owner Operator   Permits                        IL02:2020 - 33320                       3.75
      1/18/2020    709   DS0225   Owner Operator   Permits                        NM07:2020 - 33320                         10
      1/18/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      1/18/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      1/18/2020    709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                    12.5
      1/18/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      1/18/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.98
      1/18/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.22
      1/18/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.24
      1/18/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   DS0288   Owner Operator   Permits                        ID06:2020 - 34266                       10.3
      1/18/2020    709   DS0288   Owner Operator   Permits                        IL02:2020 - 34266                       3.75
      1/18/2020    709   DS0288   Owner Operator   Permits                        NM07:2020 - 34266                         10
      1/18/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      1/18/2020    709   DS0288   Owner Operator   Tire Purchase                  PO: 709-00422521 - PO System          793.12
      1/18/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/18/2020    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
      1/18/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      1/18/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/18/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/18/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/18/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/18/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/18/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.58
      1/18/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.63
      1/18/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      1/18/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   EA0003   Owner Operator   Permits                        ID06:2020 - 33051                       10.3
      1/18/2020    709   EA0003   Owner Operator   Permits                        IL02:2020 - 33051                       3.75
      1/18/2020    709   EA0003   Owner Operator   Permits                        NM07:2020 - 33051                         10
      1/18/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      1/18/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      1/18/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      1/18/2020    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
      1/18/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      1/18/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.16
      1/18/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   EG0062   Owner Operator   Permits                        ID06:2020 - 33828                       10.3
      1/18/2020    709   EG0062   Owner Operator   Permits                        IL02:2020 - 33828                       3.75
      1/18/2020    709   EG0062   Owner Operator   Permits                        NM07:2020 - 33828                         10
      1/18/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      1/18/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      1/18/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      1/18/2020    709   EO0014   Owner Operator   Broker Pre Pass                33846 PrePass Device                    12.5
      1/18/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13

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      1/18/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/18/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/18/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/18/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.74
      1/18/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.13
      1/18/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.36
      1/18/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   EO0014   Owner Operator   Permits                        ID06:2020 - 33846                       10.3
      1/18/2020    709   EO0014   Owner Operator   Permits                        IL02:2020 - 33846                       3.75
      1/18/2020    709   EO0014   Owner Operator   Permits                        NM07:2020 - 33846                         10
      1/18/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      1/18/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      1/18/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      1/18/2020    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
      1/18/2020    709   FS0039   Owner Operator   Charge back by affiliate       CTMS - 237238 Solvay Fuel                -10
      1/18/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      1/18/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.75
      1/18/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   FS0039   Owner Operator   Permits                        ID06:2020 - 33040                       10.3
      1/18/2020    709   FS0039   Owner Operator   Permits                        IL02:2020 - 33040                       3.75
      1/18/2020    709   FS0039   Owner Operator   Permits                        NM07:2020 - 33040                         10
      1/18/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      1/18/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 237149 truck lease 3304        434.29
      1/18/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/18/2020    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      1/18/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      1/18/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.21
      1/18/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.62
      1/18/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   FV0001   Owner Operator   Permits                        ID06:2020 - 21521B                      10.3
      1/18/2020    709   FV0001   Owner Operator   Permits                        IL02:2020 - 21521B                      3.75
      1/18/2020    709   FV0001   Owner Operator   Permits                        NM07:2020 - 21521B                        10
      1/18/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      1/18/2020    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00416430 - PO System          174.07
      1/18/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/18/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      1/18/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      1/18/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/18/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/18/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.42
      1/18/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.68
      1/18/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   GA0051   Owner Operator   Permits                        ID06:2020 - Q1200                       10.3
      1/18/2020    709   GA0051   Owner Operator   Permits                        IL02:2020 - Q1200                       3.75
      1/18/2020    709   GA0051   Owner Operator   Permits                        NM07:2020 - Q1200                         10
      1/18/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      1/18/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             28.91
      1/18/2020    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00422522 - PO System          192.51
      1/18/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 237086 Q1200 Lease             238.16
      1/18/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      1/18/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      1/18/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.13
      1/18/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   GS0015   Owner Operator   Permits                        ID06:2020 - Q1110                       10.3
      1/18/2020    709   GS0015   Owner Operator   Permits                        IL02:2020 - Q1110                       3.75
      1/18/2020    709   GS0015   Owner Operator   Permits                        NM07:2020 - Q1110                         10
      1/18/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      1/18/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      1/18/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      1/18/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/18/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/18/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/18/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/18/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.42
      1/18/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.99
      1/18/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.67
      1/18/2020    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         352.17
      1/18/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   GW0043   Owner Operator   Permits                        ID06:2020 - Q1109                       10.3
      1/18/2020    709   GW0043   Owner Operator   Permits                        IL02:2020 - Q1109                       3.75
      1/18/2020    709   GW0043   Owner Operator   Permits                        NM07:2020 - Q1109                         10
      1/18/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      1/18/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 237194 Q1109 Lease             302.85

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      1/18/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      1/18/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      1/18/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.86
      1/18/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   HC0023   Owner Operator   Permits                        ID06:2020 - Q13170                      10.3
      1/18/2020    709   HC0023   Owner Operator   Permits                        IL02:2020 - Q13170                      3.75
      1/18/2020    709   HC0023   Owner Operator   Permits                        NM07:2020 - Q13170                        10
      1/18/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      1/18/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 237088 Q13170                  352.68
      1/18/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      1/18/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      1/18/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         634.33
      1/18/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   HG0007   Owner Operator   Permits                        ID06:2020 - 34565                       10.3
      1/18/2020    709   HG0007   Owner Operator   Permits                        IL02:2020 - 34565                       3.75
      1/18/2020    709   HG0007   Owner Operator   Permits                        NM07:2020 - 34565                         10
      1/18/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      1/18/2020    709   HG0027   Owner Operator   Charge back by affiliate       CTMS - 237237 Solvay Fuel                 -8
      1/18/2020    709   HG0027   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax              8
      1/18/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/18/2020    709   IA0007   Owner Operator   Broker Pre Pass                34012 PrePass Device                    12.5
      1/18/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      1/18/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      1/18/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.52
      1/18/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.47
      1/18/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   IA0007   Owner Operator   Permits                        ID06:2020 - 34012                       10.3
      1/18/2020    709   IA0007   Owner Operator   Permits                        IL02:2020 - 34012                       3.75
      1/18/2020    709   IA0007   Owner Operator   Permits                        NM07:2020 - 34012                         10
      1/18/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      1/18/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      1/18/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/18/2020    709   IR0002   Owner Operator   Broker Pre Pass                32901 PrePass Device                    12.5
      1/18/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      1/18/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.49
      1/18/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   IR0002   Owner Operator   Permits                        CUST:2020 - 32901                     408.84
      1/18/2020    709   IR0002   Owner Operator   Permits                        ID06:2020 - 32901                       10.3
      1/18/2020    709   IR0002   Owner Operator   Permits                        IL02:2020 - 32901                       3.75
      1/18/2020    709   IR0002   Owner Operator   Permits                        NM07:2020 - 32901                         10
      1/18/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      1/18/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/18/2020    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/18/2020    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      1/18/2020    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.91
      1/18/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   JA0152   Owner Operator   Permits                        ID06:2020 - 34242                       10.3
      1/18/2020    709   JA0152   Owner Operator   Permits                        NM07:2020 - 34242                         10
      1/18/2020    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      1/18/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.28
      1/18/2020    709   JC0292   Owner Operator   Permits                        CUST:2020 - Q13197                     96.72
      1/18/2020    709   JC0292   Owner Operator   Permits                        NM07:2020 - Q13197                        10
      1/18/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      1/18/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      1/18/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   JD0211   Owner Operator   Permits                        ID06:2020 - 34325                       10.3
      1/18/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      1/18/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      1/18/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/18/2020    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
      1/18/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      1/18/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            400
      1/18/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      1/18/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.23
      1/18/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.78
      1/18/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      1/18/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      1/18/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   JG0017   Owner Operator   Permits                        ID06:2020 - 32908                       10.3
      1/18/2020    709   JG0017   Owner Operator   Permits                        IL02:2020 - 32908                       3.75
      1/18/2020    709   JG0017   Owner Operator   Permits                        NM07:2020 - 32908                         10
      1/18/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      1/18/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64

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      1/18/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/18/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      1/18/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/18/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/18/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.33
      1/18/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.41
      1/18/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.08
      1/18/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      1/18/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   JG0072   Owner Operator   Permits                        ID06:2020 - 32909                       10.3
      1/18/2020    709   JG0072   Owner Operator   Permits                        IL02:2020 - 32909                       3.75
      1/18/2020    709   JG0072   Owner Operator   Permits                        NM07:2020 - 32909                         10
      1/18/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      1/18/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      1/18/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      1/18/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/18/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      1/18/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.24
      1/18/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   JQ0015   Owner Operator   Permits                        ID06:2020 - 34637                       10.3
      1/18/2020    709   JQ0015   Owner Operator   Permits                        IL02:2020 - 34637                       3.75
      1/18/2020    709   JQ0015   Owner Operator   Permits                        NM07:2020 - 34637                         10
      1/18/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      1/18/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      1/18/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      1/18/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      1/18/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          455.6
      1/18/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   JR0099   Owner Operator   Permits                        ID06:2020 - Q1203                       10.3
      1/18/2020    709   JR0099   Owner Operator   Permits                        IL02:2020 - Q1203                       3.75
      1/18/2020    709   JR0099   Owner Operator   Permits                        NM07:2020 - Q1203                         10
      1/18/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      1/18/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 236945 Truck Lease             278.76
      1/18/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/18/2020    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      1/18/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      1/18/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            150
      1/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      1/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.02
      1/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.41
      1/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           220
      1/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.01
      1/18/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      1/18/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   KP0004   Owner Operator   Permits                        ID06:2020 - 32914                       10.3
      1/18/2020    709   KP0004   Owner Operator   Permits                        IL02:2020 - 32914                       3.75
      1/18/2020    709   KP0004   Owner Operator   Permits                        NM07:2020 - 32914                         10
      1/18/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      1/18/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/18/2020    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00421517 - PO System          221.73
      1/18/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      1/18/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      1/18/2020    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      1/18/2020    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      1/18/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      1/18/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.32
      1/18/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.74
      1/18/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.08
      1/18/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   KT0055   Owner Operator   Permits                        ID06:2020 - Q13156                      10.3
      1/18/2020    709   KT0055   Owner Operator   Permits                        IL02:2020 - Q13156                      3.75
      1/18/2020    709   KT0055   Owner Operator   Permits                        NM07:2020 - Q13156                        10
      1/18/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      1/18/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 237006 Q13156 Lease            388.16
      1/18/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 237009 TRUCK RENTAL              500
      1/18/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 237106 TRUCK RENTAL              420
      1/18/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      1/18/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      1/18/2020    709   LL0160   Owner Operator   Permits                        ID06:2020 - Q1111                       10.3
      1/18/2020    709   LL0160   Owner Operator   Permits                        NM07:2020 - Q1111                         10

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      1/18/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            39.07
      1/18/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 237088 Lease Q1111            252.11
      1/18/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                  8.75
      1/18/2020    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                   12.5
      1/18/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                         13
      1/18/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/18/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/18/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        714.14
      1/18/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/18/2020    709   LS0023   Owner Operator   Permits                        ID06:2020 - 33655                      10.3
      1/18/2020    709   LS0023   Owner Operator   Permits                        IL02:2020 - 33655                      3.75
      1/18/2020    709   LS0023   Owner Operator   Permits                        NM07:2020 - 33655                        10
      1/18/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                  57.04
      1/18/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      1/18/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                          8
      1/18/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/18/2020    709   MA0092   Owner Operator   Permits                        ID06:2020 - 34005                      10.3
      1/18/2020    709   MA0092   Owner Operator   Permits                        IL02:2020 - 34005                      3.75
      1/18/2020    709   MA0092   Owner Operator   Permits                        NM07:2020 - 34005                        10
      1/18/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     49.69
      1/18/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      1/18/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                          8
      1/18/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                          300
      1/18/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        103.68
      1/18/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        133.97
      1/18/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        228.13
      1/18/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/18/2020    709   MD0122   Owner Operator   Permits                        ID06:2020 - 34342                      10.3
      1/18/2020    709   MD0122   Owner Operator   Permits                        IL02:2020 - 34342                      3.75
      1/18/2020    709   MD0122   Owner Operator   Permits                        NM07:2020 - 34342                        10
      1/18/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     23.44
      1/18/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL              8.75
      1/18/2020    709   ME0053   Owner Operator   Broker Pre Pass                Q13199 PrePass Device                  12.5
      1/18/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                         8
      1/18/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        388.87
      1/18/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        424.71
      1/18/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                        427.63
      1/18/2020    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        330.39
      1/18/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/18/2020    709   ME0053   Owner Operator   Permits                        ID06:2020 - Q13199                     10.3
      1/18/2020    709   ME0053   Owner Operator   Permits                        IL02:2020 - Q13199                     3.75
      1/18/2020    709   ME0053   Owner Operator   Permits                        NM07:2020 - Q13199                       10
      1/18/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD              38.44
      1/18/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 237009 Lease Q13199           263.91
      1/18/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      1/18/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                          8
      1/18/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                        484.16
      1/18/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/18/2020    709   MG0067   Owner Operator   Permits                        CUST:2020 - 33435                    408.84
      1/18/2020    709   MG0067   Owner Operator   Permits                        ID06:2020 - 33435                      10.3
      1/18/2020    709   MG0067   Owner Operator   Permits                        IL02:2020 - 33435                      3.75
      1/18/2020    709   MG0067   Owner Operator   Permits                        NM07:2020 - 33435                        10
      1/18/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         35.16
      1/18/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      1/18/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      1/18/2020    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                   12.5
      1/18/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                          8
      1/18/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                          750
      1/18/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             40
      1/18/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.4
      1/18/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        292.48
      1/18/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        232.74
      1/18/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/18/2020    709   MP0035   Owner Operator   Permits                        ID06:2020 - 32904                      10.3
      1/18/2020    709   MP0035   Owner Operator   Permits                        IL02:2020 - 32904                      3.75
      1/18/2020    709   MP0035   Owner Operator   Permits                        NM07:2020 - 32904                        10
      1/18/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     50.79
      1/18/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      1/18/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      1/18/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                        13
      1/18/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                           300
      1/18/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             40
      1/18/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.4

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      1/18/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/18/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.82
      1/18/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          154.1
      1/18/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.12
      1/18/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   NG0005   Owner Operator   Permits                        ID06:2020 - 21412B                      10.3
      1/18/2020    709   NG0005   Owner Operator   Permits                        IL02:2020 - 21412B                      3.75
      1/18/2020    709   NG0005   Owner Operator   Permits                        NM07:2020 - 21412B                        10
      1/18/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      1/18/2020    709   NG0005   Owner Operator   Tire Fee                       Tire Fee: 2369506                          4
      1/18/2020    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00423374 - PO System          148.68
      1/18/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      1/18/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   NT9564   Owner Operator   Permits                        ID06:2020 - 73130                       10.3
      1/18/2020    709   NT9564   Owner Operator   Permits                        IL02:2020 - 73130                       3.75
      1/18/2020    709   NT9564   Owner Operator   Permits                        NM07:2020 - 73130                         10
      1/18/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      1/18/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/18/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      1/18/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                        7.67
      1/18/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.32
      1/18/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          76.45
      1/18/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      1/18/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   OJ0007   Owner Operator   Permits                        ID06:2020 - 34370                       10.3
      1/18/2020    709   OJ0007   Owner Operator   Permits                        IL02:2020 - 34370                       3.75
      1/18/2020    709   OJ0007   Owner Operator   Permits                        NM07:2020 - 34370                         10
      1/18/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      1/18/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      1/18/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      1/18/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      1/18/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.43
      1/18/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   RC0030   Owner Operator   Permits                        CUST:2020 - 33676                     408.84
      1/18/2020    709   RC0030   Owner Operator   Permits                        ID06:2020 - 33676                       10.3
      1/18/2020    709   RC0030   Owner Operator   Permits                        IL02:2020 - 33676                       3.75
      1/18/2020    709   RC0030   Owner Operator   Permits                        NM07:2020 - 33676                         10
      1/18/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      1/18/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      1/18/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/18/2020    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      1/18/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      1/18/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      1/18/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.74
      1/18/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          527.7
      1/18/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      1/18/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   RL0017   Owner Operator   Permits                        CUST:2020 - 33065                     408.84
      1/18/2020    709   RL0017   Owner Operator   Permits                        ID06:2020 - 33065                       10.3
      1/18/2020    709   RL0017   Owner Operator   Permits                        IL02:2020 - 33065                       3.75
      1/18/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      1/18/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/18/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      1/18/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      1/18/2020    709   RL0180   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
      1/18/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                          13
      1/18/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      1/18/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.44
      1/18/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.85
      1/18/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      1/18/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   RL0180   Owner Operator   Permits                        ID06:2020 - 32910                       10.3
      1/18/2020    709   RL0180   Owner Operator   Permits                        IL02:2020 - 32910                       3.75
      1/18/2020    709   RL0180   Owner Operator   Permits                        NM07:2020 - 32910                         10
      1/18/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      1/18/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      1/18/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      1/18/2020    709   RL0180   Owner Operator   Truck Payment                  CTMS - 237108 TRUCK RENTAL              280
      1/18/2020    709   RL0180   Owner Operator   Truck Payment                  CTMS - 237148 TRUCK RENTAL              400
      1/18/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      1/18/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      1/18/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      1/18/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.66

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      1/18/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.97
      1/18/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   RM0026   Owner Operator   Permits                        ID06:2020 - 33664                       10.3
      1/18/2020    709   RM0026   Owner Operator   Permits                        IL02:2020 - 33664                       3.75
      1/18/2020    709   RM0026   Owner Operator   Permits                        NM07:2020 - 33664                         10
      1/18/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      1/18/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      1/18/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      1/18/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.21
      1/18/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   RP0082   Owner Operator   Permits                        ID06:2020 - Q1202                       10.3
      1/18/2020    709   RP0082   Owner Operator   Permits                        IL02:2020 - Q1202                       3.75
      1/18/2020    709   RP0082   Owner Operator   Permits                        NM07:2020 - Q1202                         10
      1/18/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      1/18/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 236946 Q1202 Truck Leas        278.76
      1/18/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      1/18/2020    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                    12.5
      1/18/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      1/18/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/18/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/18/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/18/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/18/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         596.46
      1/18/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          469.9
      1/18/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.84
      1/18/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.93
      1/18/2020    709   RR0123   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         262.35
      1/18/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   RR0123   Owner Operator   Permits                        ID06:2020 - Q1248                       10.3
      1/18/2020    709   RR0123   Owner Operator   Permits                        IL02:2020 - Q1248                       3.75
      1/18/2020    709   RR0123   Owner Operator   Permits                        NM07:2020 - Q1248                         10
      1/18/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      1/18/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      1/18/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 237010 Q1248                   311.97
      1/18/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      1/18/2020    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      1/18/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      1/18/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/18/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/18/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/18/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.89
      1/18/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.42
      1/18/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.01
      1/18/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      1/18/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   SB0009   Owner Operator   Permits                        ID06:2020 - 33236                       10.3
      1/18/2020    709   SB0009   Owner Operator   Permits                        IL02:2020 - 33236                       3.75
      1/18/2020    709   SB0009   Owner Operator   Permits                        NM07:2020 - 33236                         10
      1/18/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      1/18/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      1/18/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      1/18/2020    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
      1/18/2020    709   SB0103   Owner Operator   Charge back by affiliate       CTMS - 237199 HVUT Form 2290              50
      1/18/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      1/18/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/18/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.77
      1/18/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   SB0103   Owner Operator   Permits                        ID06:2020 - 33037                       10.3
      1/18/2020    709   SB0103   Owner Operator   Permits                        IL02:2020 - 33037                       3.75
      1/18/2020    709   SB0103   Owner Operator   Permits                        NM07:2020 - 33037                         10
      1/18/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      1/18/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      1/18/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 236946 Sub Lease               388.33
      1/18/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      1/18/2020    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      1/18/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      1/18/2020    709   SM0109   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/18/2020    709   SM0109   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/18/2020    709   SM0109   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/18/2020    709   SM0109   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/18/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           475
      1/18/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          315.5
      1/18/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.73

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      1/18/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            382
      1/18/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      1/18/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          355.2
      1/18/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   SM0109   Owner Operator   Permits                        ID06:2020 - 33195                       10.3
      1/18/2020    709   SM0109   Owner Operator   Permits                        IL02:2020 - 33195                       3.75
      1/18/2020    709   SM0109   Owner Operator   Permits                        NM07:2020 - 33195                         10
      1/18/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      1/18/2020    709   SM0109   Owner Operator   Repair Order                   CTMS - 237149 Replace front bu         261.4
      1/18/2020    709   SM0109   Owner Operator   T Chek Fee                     Cancelled EFS                        -388.94
      1/18/2020    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00416151 - PO System          259.54
      1/18/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      1/18/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/18/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/18/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.33
      1/18/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.45
      1/18/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   SN0019   Owner Operator   Permits                        ID06:2020 - 33461                       10.3
      1/18/2020    709   SN0019   Owner Operator   Permits                        IL02:2020 - 33461                       3.75
      1/18/2020    709   SN0019   Owner Operator   Permits                        NM07:2020 - 33461                         10
      1/18/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      1/18/2020    709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00415763 - PO System          257.05
      1/18/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      1/18/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      1/18/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          467.6
      1/18/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.63
      1/18/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   VB0015   Owner Operator   Permits                        CUST:2020 - Q1112                     408.84
      1/18/2020    709   VB0015   Owner Operator   Permits                        ID06:2020 - Q1112                       10.3
      1/18/2020    709   VB0015   Owner Operator   Permits                        IL02:2020 - Q1112                       3.75
      1/18/2020    709   VB0015   Owner Operator   Permits                        NM07:2020 - Q1112                         10
      1/18/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      1/18/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      1/18/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/18/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      1/18/2020    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                      -1000
      1/18/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      1/18/2020    709   VJ0006   Owner Operator   Express Check                  T-Check Payment                         1000
      1/18/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/18/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             100
      1/18/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/18/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/18/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/18/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/18/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.25
      1/18/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.01
      1/18/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.67
      1/18/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           11.1
      1/18/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          140.3
      1/18/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      1/18/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   VJ0006   Owner Operator   Permits                        ID06:2020 - 33961                       10.3
      1/18/2020    709   VJ0006   Owner Operator   Permits                        IL02:2020 - 33961                       3.75
      1/18/2020    709   VJ0006   Owner Operator   Permits                        NM07:2020 - 33961                         10
      1/18/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      1/18/2020    709   WB0062   Owner Operator   Accident Claim                 11/04/19 WB0062 Incident                2000
      1/18/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/18/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      1/18/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   WB0062   Owner Operator   Permits                        ID06:2020 - 33407                       10.3
      1/18/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      1/18/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      1/18/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      1/18/2020    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      1/18/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      1/18/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/18/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/18/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.42
      1/18/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.38
      1/18/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.43
      1/18/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.97
      1/18/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    709   WH0087   Owner Operator   Permits                        ID06:2020 - Q1239                       10.3

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      1/18/2020    709   WH0087   Owner Operator   Permits                        IL02:2020 - Q1239                       3.75
      1/18/2020    709   WH0087   Owner Operator   Permits                        NM07:2020 - Q1239                         10
      1/18/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      1/18/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 236941 TRUCK RENTAL              500
      1/18/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 237011 Q1238 Lease             311.97
      1/18/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      1/18/2020    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      1/18/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      1/18/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/18/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/18/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/18/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/18/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.51
      1/18/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.08
      1/18/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.97
      1/18/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.98
      1/18/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   AP0047   Owner Operator   Permits                        ID06:2020 - 32604                       10.3
      1/18/2020    742   AP0047   Owner Operator   Permits                        IL02:2020 - 32604                       3.75
      1/18/2020    742   AP0047   Owner Operator   Permits                        NM07:2020 - 32604                         10
      1/18/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      1/18/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      1/18/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      1/18/2020    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      1/18/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      1/18/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         624.18
      1/18/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         640.91
      1/18/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.03
      1/18/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   CA0089   Owner Operator   Permits                        ID06:2020 - 33987                       10.3
      1/18/2020    742   CA0089   Owner Operator   Permits                        NM07:2020 - 33987                         10
      1/18/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      1/18/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      1/18/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      1/18/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.15
      1/18/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.74
      1/18/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.28
      1/18/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   CT0085   Owner Operator   Permits                        ID06:2020 - Q13171                      10.3
      1/18/2020    742   CT0085   Owner Operator   Permits                        IL02:2020 - Q13171                      3.75
      1/18/2020    742   CT0085   Owner Operator   Permits                        NM07:2020 - Q13171                        10
      1/18/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      1/18/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      1/18/2020    742   CT0085   Owner Operator   Repair Order                   CTMS - 237048 repair                   236.8
      1/18/2020    742   CT0085   Owner Operator   Repair Order                   CTMS - 237062 repair                  537.63
      1/18/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/18/2020    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
      1/18/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      1/18/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           225
      1/18/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.27
      1/18/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           572
      1/18/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           353
      1/18/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.02
      1/18/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   DA0067   Owner Operator   Permits                        ID06:2020 - 33847                       10.3
      1/18/2020    742   DA0067   Owner Operator   Permits                        IL02:2020 - 33847                       3.75
      1/18/2020    742   DA0067   Owner Operator   Permits                        NM07:2020 - 33847                         10
      1/18/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      1/18/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/18/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      1/18/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      1/18/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/18/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/18/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.4
      1/18/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.12
      1/18/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.39
      1/18/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.65
      1/18/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   DS0254   Owner Operator   Permits                        ID06:2020 - 33487                       10.3
      1/18/2020    742   DS0254   Owner Operator   Permits                        IL02:2020 - 33487                       3.75
      1/18/2020    742   DS0254   Owner Operator   Permits                        NM07:2020 - 33487                         10
      1/18/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      1/18/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5

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      1/18/2020    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - East             7
      1/18/2020    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Sout             7
      1/18/2020    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Sout             7
      1/18/2020    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Sout             7
      1/18/2020    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Ship Channel Bridg           3.5
      1/18/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 237082 Trk 33487 Lease          434.2
      1/18/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/18/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/18/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/18/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/18/2020    742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                    12.5
      1/18/2020    742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                    12.5
      1/18/2020    742   EA0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33993                      9.84
      1/18/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      1/18/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      1/18/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      1/18/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      1/18/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      1/18/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      1/18/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.06
      1/18/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.43
      1/18/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         617.85
      1/18/2020    742   EA0039   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         201.19
      1/18/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          42.56
      1/18/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   EA0039   Owner Operator   Permits                        ID06:2020 - 33993                       10.3
      1/18/2020    742   EA0039   Owner Operator   Permits                        IL02:2020 - 33993                       3.75
      1/18/2020    742   EA0039   Owner Operator   Permits                        NM07:2020 - 33993                         10
      1/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      1/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      1/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      1/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      1/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      1/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/18/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/18/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/18/2020    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      1/18/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      1/18/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      1/18/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      1/18/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      1/18/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/18/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/18/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.12
      1/18/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.18
      1/18/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.82
      1/18/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.88
      1/18/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      1/18/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      1/18/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      1/18/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      1/18/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          42.56
      1/18/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   EN0016   Owner Operator   Permits                        ID06:2020 - 32947                       10.3
      1/18/2020    742   EN0016   Owner Operator   Permits                        IL02:2020 - 32947                       3.75
      1/18/2020    742   EN0016   Owner Operator   Permits                        NM07:2020 - 32947                         10
      1/18/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      1/18/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.89
      1/18/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      1/18/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/18/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/18/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/18/2020    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 12                 26
      1/18/2020    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 8                  26
      1/18/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75

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      1/18/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
      1/18/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      1/18/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      1/18/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      1/18/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      1/18/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      1/18/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      1/18/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/18/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/18/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/18/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/18/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.71
      1/18/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.24
      1/18/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.11
      1/18/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.22
      1/18/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   JB0465   Owner Operator   Permits                        IL02:2020 - 34804                       3.75
      1/18/2020    742   JB0465   Owner Operator   Permits                        NM07:2020 - 34804                         10
      1/18/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.44
      1/18/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.44
      1/18/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      1/18/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      1/18/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      1/18/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      1/18/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         688.75
      1/18/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   JH0148   Owner Operator   Permits                        ID06:2020 - 34329                       10.3
      1/18/2020    742   JH0148   Owner Operator   Permits                        IL02:2020 - 34329                       3.75
      1/18/2020    742   JH0148   Owner Operator   Permits                        NM07:2020 - 34329                         10
      1/18/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      1/18/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/18/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      1/18/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/18/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   MH0117   Owner Operator   Permits                        ID06:2020 - 33296                       10.3
      1/18/2020    742   MH0117   Owner Operator   Permits                        NM07:2020 - 33296                         10
      1/18/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      1/18/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/18/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      1/18/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/18/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      1/18/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.64
      1/18/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.51
      1/18/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.23
      1/18/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.29
      1/18/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.73
      1/18/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      1/18/2020    742   PC0012   Owner Operator   Permits                        ID06:2020 - 32969                       10.3
      1/18/2020    742   PC0012   Owner Operator   Permits                        IL02:2020 - 32969                       3.75
      1/18/2020    742   PC0012   Owner Operator   Permits                        NM07:2020 - 32969                         10
      1/18/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      1/18/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      1/18/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      1/18/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      1/18/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      1/18/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      1/18/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/18/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                           36.31
      1/18/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      1/18/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/18/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.66
      1/18/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.6
      1/18/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.22
      1/18/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.86
      1/18/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          214.6
      1/18/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.68
      1/18/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.14
      1/18/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.11
      1/18/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.89
      1/18/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   RF0136   Owner Operator   Permits                        ID06:2020 - 34182                       10.3

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      1/18/2020    742   RF0136   Owner Operator   Permits                        IL02:2020 - 34182                       3.75
      1/18/2020    742   RF0136   Owner Operator   Permits                        NM07:2020 - 34182                         10
      1/18/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      1/18/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      1/18/2020    742   RF0136   Owner Operator   Repair Order                   CTMS - 236691 repair                    100
      1/18/2020    742   RF0136   Owner Operator   Repair Order                   CTMS - 237049 repair                    100
      1/18/2020    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 7                  16
      1/18/2020    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 8                  26
      1/18/2020    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 8                  26
      1/18/2020    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 9                  26
      1/18/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      1/18/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      1/18/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      1/18/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      1/18/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/18/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      1/18/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.18
      1/18/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.23
      1/18/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.85
      1/18/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/18/2020    742   TH0130   Owner Operator   Permits                        ID06:2020 - 33991                       10.3
      1/18/2020    742   TH0130   Owner Operator   Permits                        IL02:2020 - 33991                       3.75
      1/18/2020    742   TH0130   Owner Operator   Permits                        NM07:2020 - 33991                         10
      1/18/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      1/18/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/18/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      1/18/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      1/18/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      1/25/2020    406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         236.77
      1/25/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      1/25/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      1/25/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/25/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.44
      1/25/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.43
      1/25/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      1/25/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 237513 Q13148 Trac Leas        296.09
      1/25/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      1/25/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      1/25/2020    709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 237551 Solvay fuel                -70
      1/25/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      1/25/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      1/25/2020    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            400
      1/25/2020    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      1/25/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.53
      1/25/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   AN0007   Owner Operator   Permits                        ID06:2020 - 21157A                      10.3
      1/25/2020    709   AN0007   Owner Operator   Permits                        IL02:2020 - 21157A                      3.75
      1/25/2020    709   AN0007   Owner Operator   Permits                        NM07:2020 - 21157A                        10
      1/25/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      1/25/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      1/25/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      1/25/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      1/25/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      1/25/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      1/25/2020    709   AV0021   Owner Operator   Charge back by affiliate       CTMS - 237516 HVUT Form 2290              50
      1/25/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      1/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          43.43
      1/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.42
      1/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.41
      1/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           72.7
      1/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.63
      1/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.62
      1/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.87
      1/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.93
      1/25/2020    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 527.37
      1/25/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      1/25/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 237458 Q13169 Sublease         352.68
      1/25/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      1/25/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13

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      1/25/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      1/25/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      1/25/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      1/25/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/25/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/25/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/25/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.35
      1/25/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.58
      1/25/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.42
      1/25/2020    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         315.78
      1/25/2020    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         443.31
      1/25/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      1/25/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/25/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      1/25/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/25/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         619.82
      1/25/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      1/25/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      1/25/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/25/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      1/25/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      1/25/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      1/25/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.78
      1/25/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.33
      1/25/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.11
      1/25/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.16
      1/25/2020    709   CR0064   Owner Operator   IRP License Deduction          2020 IL IRP plate refund              -333.5
      1/25/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      1/25/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 237397 Q1247 Sub Lease         263.91
      1/25/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/25/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      1/25/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.44
      1/25/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.42
      1/25/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.5
      1/25/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.42
      1/25/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.68
      1/25/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.35
      1/25/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.34
      1/25/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      1/25/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      1/25/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      1/25/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/25/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/25/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          236.2
      1/25/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.21
      1/25/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          262.9
      1/25/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      1/25/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 237343 Baloon payoff           350.23
      1/25/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      1/25/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.87
      1/25/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.92
      1/25/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      1/25/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      1/25/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      1/25/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      1/25/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      1/25/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                           8
      1/25/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      1/25/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/25/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.14
      1/25/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.5
      1/25/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.42
      1/25/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
      1/25/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      1/25/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  111.72
      1/25/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  111.72
      1/25/2020    709   DS0049   Owner Operator   Repair Order                   CTMS - 237314 REPAIRS                   -518
      1/25/2020    709   DS0049   Owner Operator   Truck Payment                  CTMS - 237256 TRUCK PAYMENT              420
      1/25/2020    709   DS0049   Owner Operator   Truck Payment                  CTMS - 237298 TRUCK RENTAL               500
      1/25/2020    709   DS0049   Owner Operator   Truck Payment                  CTMS - 237313 TRUCK RENTAL               420
      1/25/2020    709   DS0049   Owner Operator   Truck Payment                  CTMS - 237538 TRUCK RENTAL               400
      1/25/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      1/25/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      1/25/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      1/25/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         651.97
      1/25/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.41
      1/25/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      1/25/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/25/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      1/25/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      1/25/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/25/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         613.59
      1/25/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      1/25/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      1/25/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
      1/25/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      1/25/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      1/25/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.67
      1/25/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      1/25/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      1/25/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      1/25/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      1/25/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            100
      1/25/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/25/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/25/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          217.3
      1/25/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.01
      1/25/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.25
      1/25/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.63
      1/25/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      1/25/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      1/25/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      1/25/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      1/25/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100
      1/25/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100
      1/25/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/25/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/25/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.54
      1/25/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.73
      1/25/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.5
      1/25/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      1/25/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 237457 truck lease 3304        434.29
      1/25/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/25/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      1/25/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/25/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.12
      1/25/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.38
      1/25/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      1/25/2020    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00416430 - PO System          174.07
      1/25/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/25/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      1/25/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      1/25/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.01
      1/25/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.51
      1/25/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.22
      1/25/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.71
      1/25/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      1/25/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  23.44
      1/25/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD            28.91
      1/25/2020    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00422522 - PO System         192.51
      1/25/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 237399 Q1200 Lease            238.16
      1/25/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
      1/25/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
      1/25/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.61
      1/25/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/25/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            39.07
      1/25/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL            8.75
      1/25/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                          8
      1/25/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                           200
      1/25/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/25/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/25/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/25/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/25/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      1/25/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        393.01
      1/25/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        301.52
      1/25/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        119.41
      1/25/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.35
      1/25/2020    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment        352.17
      1/25/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/25/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD            44.11
      1/25/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 237512 Q1109 Lease            302.85
      1/25/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL           8.75
      1/25/2020    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 237551 solvay fuel               -10
      1/25/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                         8
      1/25/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        393.27
      1/25/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        530.86
      1/25/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/25/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD           35.16
      1/25/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 237403 Q13170                 352.68
      1/25/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                      8.75
      1/25/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                          8
      1/25/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        462.57
      1/25/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        427.74
      1/25/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/25/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      98.05
      1/25/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      1/25/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      1/25/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      1/25/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      1/25/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      1/25/2020    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                   12.5
      1/25/2020    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                   12.5
      1/25/2020    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                    19.68
      1/25/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      1/25/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      1/25/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      1/25/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      1/25/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      1/25/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      1/25/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                         13
      1/25/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                           100
      1/25/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      1/25/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        288.44
      1/25/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.7
      1/25/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.27
      1/25/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        292.36
      1/25/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        353.29
      1/25/2020    709   HG0027   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax        150.74
      1/25/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/25/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/25/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/25/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/25/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/25/2020    709   HG0027   Owner Operator   Permits                        ID06:2020 - 33418                      10.3
      1/25/2020    709   HG0027   Owner Operator   Permits                        IL02:2020 - 33418                      3.75
      1/25/2020    709   HG0027   Owner Operator   Permits                        NM07:2020 - 33418                        10
      1/25/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      1/25/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.69
      1/25/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     54.68

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      1/25/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      1/25/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      1/25/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/25/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      1/25/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      1/25/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.83
      1/25/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.72
      1/25/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.03
      1/25/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      1/25/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      1/25/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/25/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      1/25/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.94
      1/25/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      1/25/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/25/2020    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/25/2020    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                           8
      1/25/2020    709   JA0152   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.81
      1/25/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      1/25/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      1/25/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      1/25/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      1/25/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      1/25/2020    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      1/25/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      1/25/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      1/25/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      1/25/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      1/25/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/25/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/25/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/25/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/25/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/25/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.78
      1/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.38
      1/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.98
      1/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.44
      1/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.62
      1/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.84
      1/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.26
      1/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.41
      1/25/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   JC0292   Owner Operator   Permits                        CUST:2020 - Q13197                    312.12
      1/25/2020    709   JC0292   Owner Operator   Permits                        ID06:2020 - Q13197                      10.3
      1/25/2020    709   JC0292   Owner Operator   Permits                        IL02:2020 - Q13197                      3.75
      1/25/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      1/25/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      1/25/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 237089 Q13197 Lease            276.63
      1/25/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 237404 Q13197 Lease            276.63
      1/25/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      1/25/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      1/25/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      1/25/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      1/25/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/25/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      1/25/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            400
      1/25/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      1/25/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.24
      1/25/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.87
      1/25/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.92
      1/25/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      1/25/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      1/25/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      1/25/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64

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      1/25/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/25/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      1/25/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             500
      1/25/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/25/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.93
      1/25/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.71
      1/25/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.92
      1/25/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      1/25/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      1/25/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      1/25/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      1/25/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/25/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      1/25/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                             100
      1/25/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/25/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.33
      1/25/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.07
      1/25/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      1/25/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      1/25/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      1/25/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      1/25/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.04
      1/25/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      1/25/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 237298 Truck Lease             278.76
      1/25/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/25/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      1/25/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      1/25/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/25/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.01
      1/25/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            225
      1/25/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      1/25/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      1/25/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/25/2020    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00421517 - PO System          221.73
      1/25/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      1/25/2020    709   KP0004   Owner Operator   Truck Payment                  CTMS - 237252 TRUCK RENTAL CRE          -500
      1/25/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
      1/25/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL             -35
      1/25/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      1/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.13
      1/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.75
      1/25/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.19
      1/25/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD          -168.75
      1/25/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 237249 TRUCK RENTAL               420
      1/25/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 237257 TRUCK PAYMENT              280
      1/25/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 237341 Q13156 Lease            388.16
      1/25/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 237344 TRUCK RENTAL               500
      1/25/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      1/25/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      1/25/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      1/25/2020    709   LL0160   Owner Operator   Repair Order                   CTMS - 237544 REPAIR                  130.48
      1/25/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 237402 Lease Q1111             252.11
      1/25/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
      1/25/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      1/25/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/25/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          398.7
      1/25/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.04
      1/25/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/25/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          17.29
      1/25/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      1/25/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      1/25/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            300
      1/25/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.02
      1/25/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.67
      1/25/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          133.2

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      1/25/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.3
      1/25/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      1/25/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      1/25/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      1/25/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.65
      1/25/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.1
      1/25/2020    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      1/25/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               38.44
      1/25/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 237344 Lease Q13199            263.91
      1/25/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/25/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      1/25/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      1/25/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      1/25/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/25/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      1/25/2020    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                     -19720
      1/25/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            750
      1/25/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.28
      1/25/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      1/25/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/25/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/25/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/25/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      1/25/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      1/25/2020    709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 236416 HVUT Form 2290              50
      1/25/2020    709   NB0029   Owner Operator   Charge back by affiliate       CTMS - 236675 HVUT Form 2290              50
      1/25/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      1/25/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      1/25/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      1/25/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         151.96
      1/25/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      1/25/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/25/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/25/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.16
      1/25/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.48
      1/25/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          268.6
      1/25/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.98
      1/25/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.89
      1/25/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.06
      1/25/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.59
      1/25/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   NB0029   Owner Operator   Permits                        ID06:2020 - 32986                       10.3
      1/25/2020    709   NB0029   Owner Operator   Permits                        IL02:2020 - 32986                       3.75
      1/25/2020    709   NB0029   Owner Operator   Permits                        NM07:2020 - 32986                         10
      1/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      1/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      1/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      1/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      1/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      1/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      1/25/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 236465 32986 Lease             314.03
      1/25/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 236725 32986 Lease             314.03
      1/25/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 237082 32986 Lease             314.03
      1/25/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 237396 32986 Lease             314.03
      1/25/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      1/25/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      1/25/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             400
      1/25/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      1/25/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.95
      1/25/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.67
      1/25/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.16
      1/25/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      1/25/2020    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00423374 - PO System          148.68

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      1/25/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      1/25/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      1/25/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      1/25/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      1/25/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.78
      1/25/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.56
      1/25/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      1/25/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      1/25/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         215.66
      1/25/2020    709   OJ0007   Owner Operator   Truck Payment                  CTMS - 237251 TRUCK RENTAL CRE         -1200
      1/25/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      1/25/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      1/25/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          491.1
      1/25/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.63
      1/25/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      1/25/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      1/25/2020    709   RC0030   Owner Operator   Repair Order                   CTMS - 237545 REPAIR -PARTS            49.12
      1/25/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/25/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      1/25/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            300
      1/25/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.09
      1/25/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.78
      1/25/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      1/25/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      1/25/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/25/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      1/25/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/25/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/25/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      1/25/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      1/25/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/25/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/25/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/25/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.42
      1/25/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.95
      1/25/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.38
      1/25/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.63
      1/25/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.07
      1/25/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.12
      1/25/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      1/25/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      1/25/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   RL0062   Owner Operator   Permits                        ID06:2020 - 32912                       10.3
      1/25/2020    709   RL0062   Owner Operator   Permits                        IL02:2020 - 32912                       3.75
      1/25/2020    709   RL0062   Owner Operator   Permits                        NM07:2020 - 32912                         10
      1/25/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      1/25/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      1/25/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      1/25/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      1/25/2020    709   RL0062   Owner Operator   Truck Payment                  CTMS - 237105 TRUCK RENTAL               400
      1/25/2020    709   RL0062   Owner Operator   Truck Payment                  CTMS - 237536 TRFUCK RENTAL              500
      1/25/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      1/25/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           8
      1/25/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            400
      1/25/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      1/25/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      1/25/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      1/25/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      1/25/2020    709   RL0180   Owner Operator   Truck Payment                  CTMS - 237456 TRUCK RENTAL               400
      1/25/2020    709   RL0180   Owner Operator   Truck Payment                  CTMS - 237539 TRUCK RENTAL                80
      1/25/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      1/25/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      1/25/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      1/25/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.28

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      1/25/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.55
      1/25/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      1/25/2020    709   RM0026   Owner Operator   Repair Order                   CTMS - 237473 REPAIR                  -34.58
      1/25/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      1/25/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      1/25/2020    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                              80
      1/25/2020    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      1/25/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.94
      1/25/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      1/25/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 237299 Q1202 Truck Leas        278.76
      1/25/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                8.75
      1/25/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                 -35
      1/25/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      1/25/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/25/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/25/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         589.19
      1/25/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.52
      1/25/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                65.08
      1/25/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD              -260.31
      1/25/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           -10
      1/25/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror           2.5
      1/25/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 237229 Tractor rent              500
      1/25/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 237345 Q1248                   311.97
      1/25/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      1/25/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      1/25/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      1/25/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/25/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.79
      1/25/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.14
      1/25/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      1/25/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      1/25/2020    709   SB0009   Owner Operator   Repair Order                   CTMS - 237543 REPAIR                      75
      1/25/2020    709   SB0009   Owner Operator   Repair Order                   CTMS - 237543 REPAIR                  550.68
      1/25/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      1/25/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      1/25/2020    709   SB0103   Owner Operator   Charge back by affiliate       CTMS - 237517 HVUT Form 2290              50
      1/25/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      1/25/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      1/25/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.32
      1/25/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.5
      1/25/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.29
      1/25/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.08
      1/25/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      1/25/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      1/25/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 237299 Sub Lease               388.33
      1/25/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      1/25/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      1/25/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      1/25/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/25/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      1/25/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.66
      1/25/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.88
      1/25/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.32
      1/25/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.08
      1/25/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      1/25/2020    709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00415763 - PO System          257.05
      1/25/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      1/25/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      1/25/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.85
      1/25/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      1/25/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      1/25/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/25/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      1/25/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200

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      1/25/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             150
      1/25/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             150
      1/25/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/25/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      1/25/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      1/25/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.25
      1/25/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.35
      1/25/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.63
      1/25/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.08
      1/25/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.8
      1/25/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      1/25/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      1/25/2020    709   WB0062   Owner Operator   Advance                        11/04/19 Clm 76461-1 s/u 8 wks           250
      1/25/2020    709   WB0062   Owner Operator   Advance                        11/4/19 Clm 76461-1 s/u 8 wks          -2000
      1/25/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      1/25/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      1/25/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      1/25/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      1/25/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      1/25/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      1/25/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/25/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.23
      1/25/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.87
      1/25/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      1/25/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 237298 TRUCK RENTAL               500
      1/25/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 237345 Q1238 Lease             311.97
      1/25/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 237536 TRUCK RENTAL              -500
      1/25/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      1/25/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      1/25/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         592.79
      1/25/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                            487
      1/25/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.76
      1/25/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      1/25/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      1/25/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      1/25/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.88
      1/25/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.05
      1/25/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      1/25/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      1/25/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      1/25/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      1/25/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.53
      1/25/2020    742   DC0117   Owner Operator   Permits                        ID06:2020 - 34063                       10.3
      1/25/2020    742   DC0117   Owner Operator   Permits                        IL02:2020 - 34063                       3.75
      1/25/2020    742   DC0117   Owner Operator   Permits                        NM07:2020 - 34063                         10
      1/25/2020    742   DC0117   Owner Operator   Repair Order                   TRACTOR 34063                           35.5
      1/25/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      1/25/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      1/25/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                             200
      1/25/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          391.7
      1/25/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.88
      1/25/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      1/25/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      1/25/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/25/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      1/25/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.78
      1/25/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.83
      1/25/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          602.2
      1/25/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      1/25/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/25/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      1/25/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      1/25/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75

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      1/25/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      1/25/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      1/25/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      1/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.94
      1/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.03
      1/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.31
      1/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.76
      1/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           56.9
      1/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.43
      1/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.61
      1/25/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   ED0041   Owner Operator   Permits                        ID06:2020 - 32897                       10.3
      1/25/2020    742   ED0041   Owner Operator   Permits                        IL02:2020 - 32897                       3.75
      1/25/2020    742   ED0041   Owner Operator   Permits                        NM07:2020 - 32897                         10
      1/25/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      1/25/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      1/25/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
      1/25/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      1/25/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      1/25/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      1/25/2020    742   ED0041   Owner Operator   Toll Charges                   32897 DRPA Walt Whitman Br              37.5
      1/25/2020    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Hardy North - Rank             4
      1/25/2020    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - NE M             7
      1/25/2020    742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Ship Channel Bridg             7
      1/25/2020    742   ED0041   Owner Operator   Toll Charges                   32897/702069 Carquinez Bridge          18.31
      1/25/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/25/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      1/25/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/25/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.47
      1/25/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.68
      1/25/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      1/25/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      1/25/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/25/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      1/25/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
      1/25/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      1/25/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      1/25/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      1/25/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      1/25/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/25/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/25/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/25/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          335.2
      1/25/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.4
      1/25/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.68
      1/25/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.35
      1/25/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.44
      1/25/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      1/25/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      1/25/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      1/25/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         700.01
      1/25/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
      1/25/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      1/25/2020    742   MH0117   Owner Operator   Charge back by affiliate       CTMS - 237540 trailer wash               -59
      1/25/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           2.75
      1/25/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      1/25/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/25/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      1/25/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.85
      1/25/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.57
      1/25/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      1/25/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      1/25/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      1/25/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/25/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/25/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75

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      1/25/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/25/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      1/25/2020    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      1/25/2020    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      1/25/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/25/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/25/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/25/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/25/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/25/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      1/25/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.92
      1/25/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.57
      1/25/2020    742   RN0054   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         223.36
      1/25/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   RN0054   Owner Operator   Permits                        ID06:2020 - Q13157                      10.3
      1/25/2020    742   RN0054   Owner Operator   Permits                        IL02:2020 - Q13157                      3.75
      1/25/2020    742   RN0054   Owner Operator   Permits                        NM07:2020 - Q13157                        10
      1/25/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      1/25/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      1/25/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      1/25/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      1/25/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      1/25/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/25/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/25/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/25/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/25/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      1/25/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 235946 Tractor Lease           353.28
      1/25/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 236227 Tractor Lease           353.28
      1/25/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 236470 Tractor Lease           353.28
      1/25/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 236730 Tractor Lease           353.28
      1/25/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 237087 Tractor Lease           353.28
      1/25/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      1/25/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      1/25/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      1/25/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      1/25/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      1/25/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      1/25/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.74
      1/25/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.43
      1/25/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/25/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      1/25/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/25/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
       2/1/2020    406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         260.44
       2/1/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       2/1/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
       2/1/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/1/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.05
       2/1/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.02
       2/1/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.91
       2/1/2020    709   AC0061   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        476.79
       2/1/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.93
       2/1/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 237836 Q13148 Trac Leas        296.09
       2/1/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       2/1/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       2/1/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.73
       2/1/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
       2/1/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       2/1/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       2/1/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       2/1/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       2/1/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.02
       2/1/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.86
       2/1/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.83
       2/1/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.18

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       2/1/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.31
       2/1/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.66
       2/1/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.52
       2/1/2020    709   AV0021   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         66.45
       2/1/2020    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 564.51
       2/1/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
       2/1/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 237783 Q13169 Sublease         352.68
       2/1/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       2/1/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       2/1/2020    709   BM0030   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        406.89
       2/1/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
       2/1/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       2/1/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       2/1/2020    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
       2/1/2020    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
       2/1/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       2/1/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       2/1/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       2/1/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       2/1/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       2/1/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       2/1/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       2/1/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       2/1/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       2/1/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/1/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/1/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.75
       2/1/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.31
       2/1/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.84
       2/1/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.24
       2/1/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.72
       2/1/2020    709   CC0134   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         164.1
       2/1/2020    709   CC0134   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         1160.9
       2/1/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
       2/1/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 235304 Q13168 sub lease        352.68
       2/1/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 235601 Q13168 sub lease        352.68
       2/1/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 235884 Q13168 sub lease        352.68
       2/1/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 236211 Q13168 sub lease        352.68
       2/1/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 236418 Q13168 sub lease        352.68
       2/1/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 236677 Q13168 sub lease        352.68
       2/1/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 237011 Q13168 sub lease        352.68
       2/1/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 237345 Q13168 sub lease        352.68
       2/1/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 237662 Q13168 sub lease        352.68
       2/1/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/1/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       2/1/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.44
       2/1/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.83
       2/1/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.45
       2/1/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
       2/1/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.43
       2/1/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/1/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
       2/1/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       2/1/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       2/1/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.49
       2/1/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.96
       2/1/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.01
       2/1/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 237725 Q1247 Sub Lease         263.91
       2/1/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/1/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8

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       2/1/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.84
       2/1/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.25
       2/1/2020    709   DL0029   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        434.17
       2/1/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   34.19
       2/1/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       2/1/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       2/1/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.92
       2/1/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.17
       2/1/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         682.64
       2/1/2020    709   DL0107   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        498.18
       2/1/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69
       2/1/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 237660 Baloon payoff           350.23
       2/1/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       2/1/2020    709   DM0257   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        332.35
       2/1/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       2/1/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       2/1/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
       2/1/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
       2/1/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       2/1/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                           8
       2/1/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       2/1/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       2/1/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.81
       2/1/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.99
       2/1/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
       2/1/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 34880                       100
       2/1/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  111.72
       2/1/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  111.72
       2/1/2020    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       2/1/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       2/1/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       2/1/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
       2/1/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         668.27
       2/1/2020    709   DS0225   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        -60.69
       2/1/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.04
       2/1/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/1/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       2/1/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       2/1/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.44
       2/1/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.64
       2/1/2020    709   EA0003   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        143.29
       2/1/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
       2/1/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       2/1/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       2/1/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       2/1/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       2/1/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.06
       2/1/2020    709   EG0062   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         37.16
       2/1/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
       2/1/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       2/1/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       2/1/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       2/1/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
       2/1/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.26
       2/1/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           290
       2/1/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.01
       2/1/2020    709   EO0014   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        423.85
       2/1/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
       2/1/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5

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       2/1/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       2/1/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       2/1/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/1/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/1/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.02
       2/1/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.74
       2/1/2020    709   FS0039   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax          6.48
       2/1/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
       2/1/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 237783 truck lease 3304        434.29
       2/1/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/1/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       2/1/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.55
       2/1/2020    709   FV0001   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         229.6
       2/1/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
       2/1/2020    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00416430 - PO System          174.07
       2/1/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/1/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
       2/1/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
       2/1/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            300
       2/1/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/1/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.51
       2/1/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.16
       2/1/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.28
       2/1/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.41
       2/1/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
       2/1/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD              28.9
       2/1/2020    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00422522 - PO System          192.51
       2/1/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 237727 Q1200 Lease             238.16
       2/1/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       2/1/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       2/1/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.07
       2/1/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          402.5
       2/1/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
       2/1/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       2/1/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       2/1/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/1/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/1/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.57
       2/1/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.04
       2/1/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.44
       2/1/2020    709   GW0043   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         33.49
       2/1/2020    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         352.17
       2/1/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       2/1/2020    709   GW0043   Owner Operator   Toll Charges                   Q1109 NTTA Exit I35WN-820-24             3.8
       2/1/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       2/1/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       2/1/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          494.1
       2/1/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.56
       2/1/2020    709   HC0023   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         -7.93
       2/1/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
       2/1/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 237731 Q13170                  352.68
       2/1/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       2/1/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
       2/1/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.41
       2/1/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.04
       2/1/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/1/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       2/1/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.77

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       2/1/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.45
       2/1/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.28
       2/1/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.13
       2/1/2020    709   HG0027   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        119.33
       2/1/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
       2/1/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/1/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
       2/1/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
       2/1/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.47
       2/1/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.2
       2/1/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         586.93
       2/1/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
       2/1/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
       2/1/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/1/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       2/1/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.84
       2/1/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.19
       2/1/2020    709   IR0002   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        -43.93
       2/1/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
       2/1/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/1/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       2/1/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.03
       2/1/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.85
       2/1/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.54
       2/1/2020    709   JC0292   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        480.36
       2/1/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
       2/1/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       2/1/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
       2/1/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
       2/1/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       2/1/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/1/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       2/1/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            400
       2/1/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
       2/1/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           429
       2/1/2020    709   JG0017   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         59.51
       2/1/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
       2/1/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
       2/1/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.33
       2/1/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
       2/1/2020    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       2/1/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/1/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       2/1/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       2/1/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       2/1/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.53
       2/1/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.17
       2/1/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.49
       2/1/2020    709   JG0072   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        551.68
       2/1/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
       2/1/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
       2/1/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
       2/1/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       2/1/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       2/1/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
       2/1/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.64
       2/1/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
       2/1/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.61
       2/1/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       2/1/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       2/1/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.85
       2/1/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
       2/1/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 237595 Truck Lease             278.76
       2/1/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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       2/1/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       2/1/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
       2/1/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/1/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/1/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/1/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/1/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/1/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/1/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            215
       2/1/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            143
       2/1/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.77
       2/1/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.01
       2/1/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            181
       2/1/2020    709   KP0004   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        180.31
       2/1/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
       2/1/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       2/1/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/1/2020    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00421517 - PO System          221.73
       2/1/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
       2/1/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   Q13156 2013 Freightliner NTL            8.75
       2/1/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       2/1/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.64
       2/1/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                           93.4
       2/1/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          125.9
       2/1/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.52
       2/1/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                Q13156 2013 Freightliner PD            42.18
       2/1/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 237540 TRUCK RENTAL               400
       2/1/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 237627 TRUCK RENTAL              -280
       2/1/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 237661 TRUCK RENTAL               500
       2/1/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       2/1/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       2/1/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
       2/1/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 237731 Lease Q1111             252.11
       2/1/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   2016 Freightliner NTL                   8.75
       2/1/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       2/1/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/1/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.13
       2/1/2020    709   LS0023   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         97.59
       2/1/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                2016 Freightliner PD                   57.01
       2/1/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       2/1/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       2/1/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            300
       2/1/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.12
       2/1/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.1
       2/1/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.57
       2/1/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
       2/1/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
       2/1/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
       2/1/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.02
       2/1/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.69
       2/1/2020    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
       2/1/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               38.43
       2/1/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 237660 Lease Q13199            263.91
       2/1/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       2/1/2020    709   MG0067   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        -56.17
       2/1/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.42
       2/1/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/1/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
       2/1/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            750
       2/1/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             220
       2/1/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.2
       2/1/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         635.76
       2/1/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.76
       2/1/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       2/1/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       2/1/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75

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       2/1/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
       2/1/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
       2/1/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.67
       2/1/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         554.86
       2/1/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.89
       2/1/2020    709   NB0029   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        356.76
       2/1/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
       2/1/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       2/1/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
       2/1/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       2/1/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 237724 32986 Lease             314.03
       2/1/2020    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       2/1/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       2/1/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       2/1/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            360
       2/1/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3.6
       2/1/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.66
       2/1/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.36
       2/1/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.69
       2/1/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
       2/1/2020    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00423374 - PO System          148.68
       2/1/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       2/1/2020    709   NT9564   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         143.9
       2/1/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       2/1/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/1/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       2/1/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.59
       2/1/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
       2/1/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
       2/1/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          237.4
       2/1/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       2/1/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                2.17
       2/1/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       2/1/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       2/1/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       2/1/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
       2/1/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
       2/1/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
       2/1/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/1/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/1/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                          12.05
       2/1/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              50
       2/1/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                            150
       2/1/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       2/1/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       2/1/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.09
       2/1/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.52
       2/1/2020    709   RB0170   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        128.49
       2/1/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   RB0170   Owner Operator   Permits                        ID06:2020 - Q1241                       10.3
       2/1/2020    709   RB0170   Owner Operator   Permits                        IL02:2020 - Q1241                       3.75
       2/1/2020    709   RB0170   Owner Operator   Permits                        NM07:2020 - Q1241                         10
       2/1/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
       2/1/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.04
       2/1/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
       2/1/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
       2/1/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.04
       2/1/2020    709   RB0170   Owner Operator   T Chek Fee                     ExpressCheck Fee                        9.23
       2/1/2020    709   RB0170   Owner Operator   T Chek Fee                     Tractor Repair Q1241                  923.02
       2/1/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       2/1/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       2/1/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          612.5
       2/1/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.05

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       2/1/2020    709   RC0030   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax          54.88
       2/1/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/1/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       135.15
       2/1/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
       2/1/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       2/1/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                           13
       2/1/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            300
       2/1/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          681.38
       2/1/2020    709   RL0017   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         -41.86
       2/1/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                       33.17
       2/1/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/1/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                     77.2
       2/1/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       2/1/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          529.05
       2/1/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       2/1/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                           13
       2/1/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/1/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       2/1/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          474.92
       2/1/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          507.15
       2/1/2020    709   RL0062   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         402.31
       2/1/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                       33.17
       2/1/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/1/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    93.13
       2/1/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          496.56
       2/1/2020    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
       2/1/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
       2/1/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                            8
       2/1/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            400
       2/1/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.14
       2/1/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          421.53
       2/1/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                       33.17
       2/1/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/1/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    51.54
       2/1/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism            2.5
       2/1/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                          350.65
       2/1/2020    709   RL0180   Owner Operator   Truck Payment                  CTMS - 237627 TRUCK RENTAL               280
       2/1/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                     27.46
       2/1/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                        8.75
       2/1/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                           13
       2/1/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          485.81
       2/1/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          384.45
       2/1/2020    709   RM0026   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         230.93
       2/1/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/1/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        31.25
       2/1/2020    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
       2/1/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
       2/1/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                           13
       2/1/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          461.35
       2/1/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/1/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.58
       2/1/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 237595 Q1202 Truck Leas         278.76
       2/1/2020    709   RR0123   Owner Operator   Advance                        402-118042 s/u $250/wk                   250
       2/1/2020    709   RR0123   Owner Operator   Advance                        402-118042 s/u $250/wk               -1800.23
       2/1/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   Q1248 2012 Peterbilt NTL                 8.75
       2/1/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                            8
       2/1/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/1/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
       2/1/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       2/1/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       2/1/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          410.86
       2/1/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          536.16
       2/1/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                           514.9
       2/1/2020    709   RR0123   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax          71.68
       2/1/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/1/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD                 65.07
       2/1/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                Q1248 2012 Peterbilt PD Terror            2.5
       2/1/2020    709   RR0123   Owner Operator   Repair Order                   TRACTOR Q1248                         1800.23
       2/1/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
       2/1/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                           13
       2/1/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
       2/1/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/1/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2

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       2/1/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          194.94
       2/1/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.88
       2/1/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.16
       2/1/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           333.6
       2/1/2020    709   SB0009   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         144.37
       2/1/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                       33.17
       2/1/2020    709   SB0009   Owner Operator   Loan Repayment                 EFS 237807                           -2052.78
       2/1/2020    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment           344.9
       2/1/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/1/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   100.98
       2/1/2020    709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                        20.32
       2/1/2020    709   SB0009   Owner Operator   T Chek Fee                     Tractor Repair 33236                  2032.46
       2/1/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
       2/1/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
       2/1/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
       2/1/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
       2/1/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.66
       2/1/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.49
       2/1/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          192.94
       2/1/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.64
       2/1/2020    709   SB0103   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         191.27
       2/1/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/1/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
       2/1/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
       2/1/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 237596 Sub Lease                388.33
       2/1/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
       2/1/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
       2/1/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
       2/1/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
       2/1/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            420
       2/1/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            521
       2/1/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          224.95
       2/1/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          456.92
       2/1/2020    709   SM0109   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         269.42
       2/1/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       33.17
       2/1/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       33.17
       2/1/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment           355.2
       2/1/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment           355.2
       2/1/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/1/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/1/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
       2/1/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
       2/1/2020    709   SM0109   Owner Operator   Repair Order                   CTMS - 237457 Replace front bu          261.4
       2/1/2020    709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                         0.56
       2/1/2020    709   SM0109   Owner Operator   T Chek Fee                     Tractor Repair 33195                    56.03
       2/1/2020    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00416151 - PO System           259.54
       2/1/2020    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00416151 - PO System           259.54
       2/1/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
       2/1/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
       2/1/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
       2/1/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
       2/1/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/1/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/1/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       2/1/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       2/1/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          283.19
       2/1/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           196.3
       2/1/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.52
       2/1/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.64
       2/1/2020    709   SN0019   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         178.31
       2/1/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/1/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    42.97
       2/1/2020    709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00415763 - PO System           257.05
       2/1/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
       2/1/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
       2/1/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          547.43
       2/1/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            548
       2/1/2020    709   VB0015   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         -35.25
       2/1/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/1/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               37.5
       2/1/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    154.82
       2/1/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
       2/1/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                            8

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       2/1/2020    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                     -391.2
       2/1/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       2/1/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.89
       2/1/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.91
       2/1/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.35
       2/1/2020    709   VJ0006   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        293.79
       2/1/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
       2/1/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
       2/1/2020    709   VJ0006   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.87
       2/1/2020    709   VJ0006   Owner Operator   T Chek Fee                     Tractor Repair 33961                  387.33
       2/1/2020    709   WB0062   Owner Operator   Advance                        11/04/19 Clm 76461-1 s/u 8 wks          250
       2/1/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       2/1/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       2/1/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       2/1/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       2/1/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       2/1/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       2/1/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.52
       2/1/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          35.89
       2/1/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.46
       2/1/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.88
       2/1/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.45
       2/1/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           290
       2/1/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                             15
       2/1/2020    709   WH0087   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        258.91
       2/1/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       2/1/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 237662 Q1238 Lease             311.97
       2/1/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       2/1/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       2/1/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.74
       2/1/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         581.53
       2/1/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
       2/1/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       2/1/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       2/1/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.73
       2/1/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.09
       2/1/2020    742   CT0085   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         64.66
       2/1/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
       2/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       2/1/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/1/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/1/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       2/1/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       2/1/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           335
       2/1/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           230
       2/1/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.02
       2/1/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
       2/1/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             52
       2/1/2020    742   DA0067   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        276.47
       2/1/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       2/1/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
       2/1/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/1/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/1/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       2/1/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       2/1/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.82
       2/1/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.67
       2/1/2020    742   DS0254   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        404.87
       2/1/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76

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       2/1/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       2/1/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 237395 Trk 33487 Lease          434.2
       2/1/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/1/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       2/1/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         598.81
       2/1/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.77
       2/1/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       2/1/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       2/1/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       2/1/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       2/1/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.33
       2/1/2020    742   ED0041   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        100.24
       2/1/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
       2/1/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       2/1/2020    742   ED0041   Owner Operator   Repair Order                   CTMS - 237751 repair                      60
       2/1/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/1/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       2/1/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.95
       2/1/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.95
       2/1/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.07
       2/1/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.24
       2/1/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.24
       2/1/2020    742   EN0016   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         77.53
       2/1/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
       2/1/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.33
       2/1/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/1/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       2/1/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
       2/1/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
       2/1/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       2/1/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
       2/1/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
       2/1/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/1/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            120
       2/1/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
       2/1/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.13
       2/1/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.06
       2/1/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.41
       2/1/2020    742   JB0465   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        198.22
       2/1/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.43
       2/1/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
       2/1/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       2/1/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       2/1/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           698
       2/1/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
       2/1/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       2/1/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       2/1/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       2/1/2020    742   MH0117   Owner Operator   ESCROW                         Escrow Withdrawal                    -378.75
       2/1/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/1/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/1/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          72.25
       2/1/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       2/1/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       2/1/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       2/1/2020    742   MH0117   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.75
       2/1/2020    742   MH0117   Owner Operator   T Chek Fee                     Tractor Repair 33296                    375
       2/1/2020    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL Route 80 (East)             5.1
       2/1/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
       2/1/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/1/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       2/1/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/1/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/1/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.83
       2/1/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.47

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       2/1/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.04
       2/1/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.43
       2/1/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.17
       2/1/2020    742   PC0012   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        210.14
       2/1/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
       2/1/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
       2/1/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
       2/1/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       2/1/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       2/1/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       2/1/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       2/1/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/1/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/1/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.43
       2/1/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.92
       2/1/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.93
       2/1/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.41
       2/1/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           98.1
       2/1/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.79
       2/1/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.52
       2/1/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.83
       2/1/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.88
       2/1/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.79
       2/1/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.61
       2/1/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.72
       2/1/2020    742   RF0136   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax            65
       2/1/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
       2/1/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
       2/1/2020    742   RF0136   Owner Operator   Repair Order                   CTMS - 237420 repair                    100
       2/1/2020    742   RF0136   Owner Operator   Repair Order                   CTMS - 237751 repair                    100
       2/1/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       2/1/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       2/1/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.26
       2/1/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.64
       2/1/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.98
       2/1/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.26
       2/1/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.63
       2/1/2020    742   RN0054   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        130.26
       2/1/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
       2/1/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       2/1/2020    742   SK0049   Owner Operator   Accident Claim                 01/16/20 SK0049 Incident                630
       2/1/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/1/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       2/1/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
       2/1/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       2/1/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       2/1/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       2/1/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       2/1/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       2/1/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       2/1/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       2/1/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.45
       2/1/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.36
       2/1/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.83
       2/1/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.16
       2/1/2020    742   TC0098   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        186.16
       2/1/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   TC0098   Owner Operator   Permits                        ID06:2020 - 33489                       10.3
       2/1/2020    742   TC0098   Owner Operator   Permits                        IL02:2020 - 33489                       3.75
       2/1/2020    742   TC0098   Owner Operator   Permits                        NM07:2020 - 33489                         10
       2/1/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
       2/1/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
       2/1/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
       2/1/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       2/1/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       2/1/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       2/1/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 237082 33489 Lease Paym        412.16

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       2/1/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 237396 33489 Lease Paym        412.16
       2/1/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/1/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       2/1/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.64
       2/1/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.49
       2/1/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.93
       2/1/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.25
       2/1/2020    742   TH0130   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         66.52
       2/1/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/1/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
       2/1/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       2/1/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
       2/1/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
       2/1/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
       2/8/2020    406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                          59.04
       2/8/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       2/8/2020    709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
       2/8/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
       2/8/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/8/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.56
       2/8/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.56
       2/8/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             487.31
       2/8/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
       2/8/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 238156 Q13148 Trac Leas        296.09
       2/8/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       2/8/2020    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
       2/8/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       2/8/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
       2/8/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       2/8/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 238035 TRUCK RENTAL              500
       2/8/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       2/8/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       2/8/2020    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
       2/8/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       2/8/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/8/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/8/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.18
       2/8/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.28
       2/8/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             167.24
       2/8/2020    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 341.35
       2/8/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
       2/8/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 238093 Q13169 Sublease         352.68
       2/8/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       2/8/2020    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
       2/8/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       2/8/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
       2/8/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       2/8/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       2/8/2020    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
       2/8/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       2/8/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            400
       2/8/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
       2/8/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.38
       2/8/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit            1261.73
       2/8/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
       2/8/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 237971 Q13168 sub lease        352.68
       2/8/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/8/2020    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
       2/8/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       2/8/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/8/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/8/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.13
       2/8/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             206.64
       2/8/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
       2/8/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
       2/8/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/8/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17

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       2/8/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       2/8/2020    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                     19.68
       2/8/2020    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
       2/8/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       2/8/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.93
       2/8/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.97
       2/8/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             164.52
       2/8/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
       2/8/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 238017 Q1247 Sub Lease         263.91
       2/8/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
       2/8/2020    709   CV0028   Owner Operator   Communication Charge           PNet Hware 33482                           8
       2/8/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
       2/8/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/8/2020    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                      9.84
       2/8/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       2/8/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.41
       2/8/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.62
       2/8/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             662.59
       2/8/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
       2/8/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       2/8/2020    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
       2/8/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       2/8/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       2/8/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/8/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.32
       2/8/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit              679.7
       2/8/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
       2/8/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 237968 Baloon payoff           350.23
       2/8/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       2/8/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
       2/8/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       2/8/2020    709   DM0257   Owner Operator   Toll Charges                   34328 ILTOLL Route 80 (West)             5.1
       2/8/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
       2/8/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
       2/8/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                           8
       2/8/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       2/8/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       2/8/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.63
       2/8/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit              605.8
       2/8/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                      33.17
       2/8/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 34880                       100
       2/8/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   DS0049   Owner Operator   Permits                        IL02:2020 - 34880                       3.75
       2/8/2020    709   DS0049   Owner Operator   Permits                        NM07:2020 - 34880                      11.55
       2/8/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  111.72
       2/8/2020    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       2/8/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       2/8/2020    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                      9.84
       2/8/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       2/8/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
       2/8/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
       2/8/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/8/2020    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                      9.84
       2/8/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       2/8/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       2/8/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/8/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/8/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          528.7
       2/8/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             155.64
       2/8/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
       2/8/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
       2/8/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         555.56
       2/8/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       2/8/2020    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
       2/8/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       2/8/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19

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       2/8/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       2/8/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       2/8/2020    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
       2/8/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       2/8/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
       2/8/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
       2/8/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       2/8/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       2/8/2020    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
       2/8/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       2/8/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/8/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/8/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.94
       2/8/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.59
       2/8/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             225.24
       2/8/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
       2/8/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 238093 truck lease 3304        434.29
       2/8/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/8/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       2/8/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
       2/8/2020    709   FV0001   Owner Operator   Tire Purchase                  PO: 709-00416430 - PO System          174.04
       2/8/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/8/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
       2/8/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.4
       2/8/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
       2/8/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             28.91
       2/8/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       2/8/2020    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
       2/8/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       2/8/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
       2/8/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       2/8/2020    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
       2/8/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       2/8/2020    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         352.17
       2/8/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
       2/8/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 237835 Q1109 Lease             302.85
       2/8/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 238155 Q1109 Lease             302.85
       2/8/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       2/8/2020    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
       2/8/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       2/8/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.65
       2/8/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             400.75
       2/8/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
       2/8/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 238023 Q13170                  352.68
       2/8/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       2/8/2020    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                      9.84
       2/8/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
       2/8/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.11
       2/8/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          41.44
       2/8/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             131.31
       2/8/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
       2/8/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/8/2020    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
       2/8/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       2/8/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/8/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/8/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.16
       2/8/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.32
       2/8/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit              65.69
       2/8/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
       2/8/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/8/2020    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
       2/8/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
       2/8/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150

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       2/8/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/8/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    51.57
       2/8/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                     21.35
       2/8/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       2/8/2020    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                       9.84
       2/8/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                            8
       2/8/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/8/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.64
       2/8/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       2/8/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                     13.96
       2/8/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                     13.98
       2/8/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
       2/8/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          13
       2/8/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                          13
       2/8/2020    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                    -3323.91
       2/8/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                             400
       2/8/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                             400
       2/8/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                              200
       2/8/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       2/8/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          235.66
       2/8/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          324.13
       2/8/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             1415.56
       2/8/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/8/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD                42.19
       2/8/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 237732 Q13197 Lease             276.63
       2/8/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 238024 Q13197 Lease             276.63
       2/8/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
       2/8/2020    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                       9.84
       2/8/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                            8
       2/8/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/8/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       11.72
       2/8/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism               2.5
       2/8/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       2/8/2020    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                       9.84
       2/8/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                           13
       2/8/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                              400
       2/8/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            4
       2/8/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           362.9
       2/8/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit              382.12
       2/8/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                       33.17
       2/8/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment          414.93
       2/8/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/8/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    27.35
       2/8/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                          490.64
       2/8/2020    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
       2/8/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       2/8/2020    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                       9.84
       2/8/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                           13
       2/8/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                              500
       2/8/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
       2/8/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          540.39
       2/8/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit              682.99
       2/8/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                       33.17
       2/8/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/8/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    74.22
       2/8/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                          499.05
       2/8/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       0.01
       2/8/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
       2/8/2020    709   JG0092   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax              25.98
       2/8/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            -190
       2/8/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/8/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           37.44
       2/8/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       35.16
       2/8/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       35.16
       2/8/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                    8.75
       2/8/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
       2/8/2020    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK34637                       9.84
       2/8/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                            8
       2/8/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          189.49
       2/8/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit              133.03
       2/8/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/8/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                    19.54
       2/8/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    15.63

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       2/8/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       2/8/2020    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
       2/8/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       2/8/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.04
       2/8/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
       2/8/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 237923 Truck Lease             278.76
       2/8/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         -10.01
       2/8/2020    709   JS0265   Owner Operator   Permits                        ID06:2020 - Q13159                      0.01
       2/8/2020    709   JS0265   Owner Operator   Permits                        NM07:2020 - Q13159                        10
       2/8/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/8/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       2/8/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       2/8/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       2/8/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       2/8/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           342
       2/8/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit              663.9
       2/8/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
       2/8/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
       2/8/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/8/2020    709   KP0004   Owner Operator   Tire Purchase                  PO: 709-00421517 - PO System          221.68
       2/8/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
       2/8/2020    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                     9.84
       2/8/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
       2/8/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.8
       2/8/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             270.37
       2/8/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 237969 TRUCK RENTAL              500
       2/8/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       2/8/2020    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
       2/8/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       2/8/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
       2/8/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 238022 Lease Q1111             252.11
       2/8/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
       2/8/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       2/8/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/8/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/8/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.95
       2/8/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit              67.47
       2/8/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             57.04
       2/8/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       2/8/2020    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
       2/8/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       2/8/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
       2/8/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   MD0122   Owner Operator   Permits                        NY13:2020 - 34342                        1.5
       2/8/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
       2/8/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
       2/8/2020    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13199                     9.84
       2/8/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
       2/8/2020    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
       2/8/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               38.44
       2/8/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 237969 Lease Q13199            263.91
       2/8/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       2/8/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       2/8/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       2/8/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           0.08
       2/8/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
       2/8/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
       2/8/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       2/8/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       2/8/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/8/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
       2/8/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           750
       2/8/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
       2/8/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       2/8/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       2/8/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75

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       2/8/2020    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
       2/8/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
       2/8/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
       2/8/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/8/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/8/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.36
       2/8/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit            1311.73
       2/8/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
       2/8/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       2/8/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
       2/8/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       2/8/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 238016 32986 Lease             314.03
       2/8/2020    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       2/8/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       2/8/2020    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
       2/8/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       2/8/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
       2/8/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       2/8/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.79
       2/8/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             473.76
       2/8/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
       2/8/2020    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00423374 - PO System          148.68
       2/8/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       2/8/2020    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
       2/8/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
       2/8/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       2/8/2020    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
       2/8/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       2/8/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
       2/8/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
       2/8/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          237.4
       2/8/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       2/8/2020    709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      1.35
       2/8/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
       2/8/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
       2/8/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
       2/8/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                          37.95
       2/8/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/8/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/8/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/8/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.35
       2/8/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             100.46
       2/8/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
       2/8/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 236207 Q1241 Truck leas        321.84
       2/8/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 236415 Q1241 Truck leas        321.84
       2/8/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 236674 Q1241 Truck leas        321.84
       2/8/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       2/8/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       2/8/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.13
       2/8/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             584.01
       2/8/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
       2/8/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       2/8/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/8/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       2/8/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
       2/8/2020    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/8/2020    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/8/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.54
       2/8/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.63
       2/8/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
       2/8/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
       2/8/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/8/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       2/8/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/8/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       2/8/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17

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       2/8/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
       2/8/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
       2/8/2020    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       2/8/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       2/8/2020    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                     19.68
       2/8/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           8
       2/8/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
       2/8/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.31
       2/8/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
       2/8/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
       2/8/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       2/8/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       2/8/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       2/8/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       2/8/2020    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
       2/8/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       2/8/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
       2/8/2020    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       2/8/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       2/8/2020    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
       2/8/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       2/8/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
       2/8/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 237923 Q1202 Truck Leas        278.76
       2/8/2020    709   RR0123   Owner Operator   Advance                        402-118042 s/u $250/wk                  250
       2/8/2020    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84
       2/8/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
       2/8/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 238183 Tractor rent Q12          500
       2/8/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       2/8/2020    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
       2/8/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       2/8/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       2/8/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.22
       2/8/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          406.1
       2/8/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             298.44
       2/8/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
       2/8/2020    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          344.9
       2/8/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
       2/8/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       2/8/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       2/8/2020    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
       2/8/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       2/8/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                          62.27
       2/8/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.06
       2/8/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit              971.4
       2/8/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
       2/8/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       2/8/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       2/8/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.49
       2/8/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
       2/8/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         208.87
       2/8/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
       2/8/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       2/8/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       2/8/2020    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.84
       2/8/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       2/8/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
       2/8/2020    709   SN0019   Owner Operator   Tire Purchase                  PO: 709-00415763 - PO System          257.01
       2/8/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       2/8/2020    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
       2/8/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       2/8/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
       2/8/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       2/8/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75

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       2/8/2020    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
       2/8/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       2/8/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       2/8/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
       2/8/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
       2/8/2020    709   WB0062   Owner Operator   Advance                        11/04/19 Clm 76461-1 s/u 8 wks          250
       2/8/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       2/8/2020    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
       2/8/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       2/8/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
       2/8/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       2/8/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       2/8/2020    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
       2/8/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       2/8/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/8/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/8/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.82
       2/8/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             800.33
       2/8/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
       2/8/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 237971 Q1238 Lease             311.97
       2/8/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       2/8/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       2/8/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       2/8/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       2/8/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       2/8/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       2/8/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.5
       2/8/2020    742   AP0047   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        328.51
       2/8/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
       2/8/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       2/8/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
       2/8/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       2/8/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       2/8/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       2/8/2020    742   BS0078   Owner Operator   Arrears                        Credit Billing                          55.8
       2/8/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
       2/8/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
       2/8/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       2/8/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum           -35
       2/8/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       2/8/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       2/8/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
       2/8/2020    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13151                     9.84
       2/8/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware 34900                           8
       2/8/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware 34900                           8
       2/8/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
       2/8/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
       2/8/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
       2/8/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
       2/8/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.82
       2/8/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.9
       2/8/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.66
       2/8/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.28
       2/8/2020    742   BS0078   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        148.55
       2/8/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   BS0078   Owner Operator   Permits                        ID06:2020 - Q13151                      10.3
       2/8/2020    742   BS0078   Owner Operator   Permits                        IL02:2020 - 34900                       3.75
       2/8/2020    742   BS0078   Owner Operator   Permits                        IL02:2020 - Q13151                      3.75
       2/8/2020    742   BS0078   Owner Operator   Permits                        NM07:2020 - Q13151                        10
       2/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  110.55
       2/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  110.55
       2/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
       2/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
       2/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88

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       2/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       2/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum        -187.5
       2/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           -10
       2/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
       2/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       2/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
       2/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       2/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
       2/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
       2/8/2020    742   BS0078   Owner Operator   Truck Payment                  CTMS - 237007 Lease of Q13151         388.16
       2/8/2020    742   BS0078   Owner Operator   Truck Payment                  CTMS - 237341 Lease of Q13151         388.16
       2/8/2020    742   BS0078   Owner Operator   Truck Payment                  CTMS - 237658 Lease of Q13151         388.16
       2/8/2020    742   BS0078   Owner Operator   Truck Payment                  CTMS - 237966 Lease of Q13151         388.16
       2/8/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       2/8/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       2/8/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.56
       2/8/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             757.35
       2/8/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
       2/8/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       2/8/2020    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
       2/8/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       2/8/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
       2/8/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       2/8/2020    742   CT0085   Owner Operator   Repair Order                   CTMS - 237751 repair                  537.63
       2/8/2020    742   CT0085   Owner Operator   Repair Order                   CTMS - 238054 repair                  537.63
       2/8/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/8/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       2/8/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           136
       2/8/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           130
       2/8/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.01
       2/8/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit                 88
       2/8/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
       2/8/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/8/2020    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
       2/8/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       2/8/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       2/8/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         707.56
       2/8/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.37
       2/8/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.41
       2/8/2020    742   DC0117   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        164.62
       2/8/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       2/8/2020    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
       2/8/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       2/8/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       2/8/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/8/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.48
       2/8/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.27
       2/8/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit              12.79
       2/8/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
       2/8/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       2/8/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 237723 Trk 33487 Lease          434.2
       2/8/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 238015 Trk 33487 Lease          434.2
       2/8/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       2/8/2020    742   EA0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33993                      9.84
       2/8/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       2/8/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.92
       2/8/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             822.28
       2/8/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
       2/8/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       2/8/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       2/8/2020    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
       2/8/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       2/8/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       2/8/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       2/8/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/8/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       2/8/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200

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       2/8/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/8/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.86
       2/8/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.42
       2/8/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             405.02
       2/8/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
       2/8/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
       2/8/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       2/8/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       2/8/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
       2/8/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
       2/8/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       2/8/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
       2/8/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
       2/8/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/8/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                             120
       2/8/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
       2/8/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.41
       2/8/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.88
       2/8/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             556.23
       2/8/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.44
       2/8/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
       2/8/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       2/8/2020    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
       2/8/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       2/8/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44
       2/8/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       2/8/2020    742   MH0117   Owner Operator   Charge back by affiliate       CTMS - 238043 trailer wash              -245
       2/8/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       2/8/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       2/8/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
       2/8/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       2/8/2020    742   MH0117   Owner Operator   Toll Charges                   33296 ITRCC Eastpoint                  55.44
       2/8/2020    742   MH0117   Owner Operator   Toll Charges                   33296 OTC Eastgate                     42.25
       2/8/2020    742   MH0117   Owner Operator   Toll Charges                   33296 PTC Breezewood                    85.4
       2/8/2020    742   MH0117   Owner Operator   Toll Charges                   33296 PTC Gateway                       23.4
       2/8/2020    742   MH0117   Owner Operator   Toll Charges                   33296 PTC Harrisburg East Shor          50.5
       2/8/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       2/8/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       2/8/2020    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
       2/8/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       2/8/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
       2/8/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             200
       2/8/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       2/8/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.65
       2/8/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          203.9
       2/8/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          454.7
       2/8/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
       2/8/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
       2/8/2020    742   PC0012   Owner Operator   Repair Order                   CTMS - 238189 Replace batteri          232.5
       2/8/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
       2/8/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       2/8/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       2/8/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.26
       2/8/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.18
       2/8/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.87
       2/8/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.87
       2/8/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.92
       2/8/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.36
       2/8/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
       2/8/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       2/8/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       2/8/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       2/8/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       2/8/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
       2/8/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       2/8/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       2/8/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       2/8/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.73

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       2/8/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.29
       2/8/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit               49.22
       2/8/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       2/8/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        37.5
       2/8/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
       2/8/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge                26
       2/8/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge                26
       2/8/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge                26
      2/15/2020    406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                           201.4
      2/15/2020    406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                          260.44
      2/15/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL             8.75
      2/15/2020    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                    12.5
      2/15/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                           8
      2/15/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                              50
      2/15/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          502.09
      2/15/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.54
      2/15/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -487.31
      2/15/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             35.94
      2/15/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 238454 Q13148 Trac Leas         296.09
      2/15/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL             8.75
      2/15/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                          13
      2/15/2020    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          208.01
      2/15/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.31
      2/15/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD              7.82
      2/15/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te            2.5
      2/15/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                     59.95
      2/15/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             8.75
      2/15/2020    709   AV0021   Owner Operator   Broker Pay Void/Reissue        Reiusse Lost Check 2/1/20            -1693.54
      2/15/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                           8
      2/15/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                             220
      2/15/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                             300
      2/15/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      2/15/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2.2
      2/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           96.38
      2/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           98.99
      2/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.97
      2/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           72.97
      2/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          120.54
      2/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          154.06
      2/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           96.77
      2/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           97.03
      2/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           48.62
      2/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            300
      2/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           54.59
      2/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -167.24
      2/15/2020    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                  879.61
      2/15/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             35.16
      2/15/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 238394 Q13169 Sublease          352.68
      2/15/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
      2/15/2020    709   BM0030   Owner Operator   Broker Pay Void/Reissue        Reiusse Lost Check 2/1/20            -1798.32
      2/15/2020    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                     12.5
      2/15/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                           13
      2/15/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.13
      2/15/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
      2/15/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
      2/15/2020    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                    12.5
      2/15/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                           8
      2/15/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             500
      2/15/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      2/15/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          177.98
      2/15/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.04
      2/15/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          419.38
      2/15/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          456.34
      2/15/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.31
      2/15/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.36

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      2/15/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          341.09
      2/15/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit           -1261.73
      2/15/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             35.16
      2/15/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 238285 Q13168 sub lease         352.68
      2/15/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/15/2020    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                     12.5
      2/15/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                           13
      2/15/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          550.86
      2/15/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          144.57
      2/15/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          590.65
      2/15/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -206.64
      2/15/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                       33.17
      2/15/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    23.44
      2/15/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      2/15/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          506.17
      2/15/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      2/15/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                            8
      2/15/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          157.16
      2/15/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.95
      2/15/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          116.83
      2/15/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          205.96
      2/15/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           214.7
      2/15/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -164.52
      2/15/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 32.04
      2/15/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 238330 Q1247 Sub Lease          263.91
      2/15/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL              8.75
      2/15/2020    709   CV0028   Owner Operator   Communication Charge           PNet Hware 33482                            8
      2/15/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                              50
      2/15/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                             500
      2/15/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      2/15/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          389.55
      2/15/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          123.53
      2/15/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          404.21
      2/15/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                           254.1
      2/15/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD              68.18
      2/15/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 238304 Lease Truck 3348         335.96
      2/15/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      2/15/2020    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                     12.5
      2/15/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      2/15/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.33
      2/15/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          306.46
      2/15/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           299.3
      2/15/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.05
      2/15/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -662.59
      2/15/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     34.2
      2/15/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      2/15/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                           13
      2/15/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          527.55
      2/15/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          416.31
      2/15/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit             -679.7
      2/15/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 65.71
      2/15/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 238283 Baloon payoff            350.23
      2/15/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      2/15/2020    709   DM0257   Owner Operator   Broker Pre Pass                34328 PrePass Device                     12.5
      2/15/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    18.75
      2/15/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      2/15/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                    8.75
      2/15/2020    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                     12.5
      2/15/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                           13
      2/15/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                            8
      2/15/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      2/15/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      2/15/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          433.32
      2/15/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.27
      2/15/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                           440.1

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      2/15/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          271.24
      2/15/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit             -605.8
      2/15/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                       33.17
      2/15/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 34880                        100
      2/15/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   111.72
      2/15/2020    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      2/15/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      2/15/2020    709   DS0225   Owner Operator   Broker Pay Void/Reissue        Reiusse Lost Check 2/1/20            -3362.57
      2/15/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
      2/15/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           1000
      2/15/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          585.46
      2/15/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.07
      2/15/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      2/15/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      2/15/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      2/15/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      2/15/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                           13
      2/15/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                           13
      2/15/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      2/15/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      2/15/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      2/15/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      2/15/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      2/15/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      2/15/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                           273.3
      2/15/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          274.04
      2/15/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.35
      2/15/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.93
      2/15/2020    709   DS0288   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax          60.87
      2/15/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    42.19
      2/15/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    42.19
      2/15/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    42.18
      2/15/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    42.19
      2/15/2020    709   DS0288   Owner Operator   Tire Purchase                  PO: 709-00422521 - PO System           793.12
      2/15/2020    709   DS0288   Owner Operator   Tire Purchase                  PO: 709-00422521 - PO System           196.28
      2/15/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/15/2020    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                     12.5
      2/15/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
      2/15/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      2/15/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          655.09
      2/15/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          110.16
      2/15/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          544.12
      2/15/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -155.64
      2/15/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                       33.17
      2/15/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   105.47
      2/15/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
      2/15/2020    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                     12.5
      2/15/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
      2/15/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           374.5
      2/15/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          297.97
      2/15/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    42.19
      2/15/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
      2/15/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
      2/15/2020    709   EO0014   Owner Operator   Broker Pre Pass                33846 PrePass Device                     12.5
      2/15/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13
      2/15/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            100
      2/15/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             300
      2/15/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3

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      2/15/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.41
      2/15/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            380
      2/15/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           134.5
      2/15/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           151.4
      2/15/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.15
      2/15/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 78.13
      2/15/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
      2/15/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
      2/15/2020    709   FS0039   Owner Operator   Broker Pay Void/Reissue        Reiusse Lost Check 2/1/20            -2500.11
      2/15/2020    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                     12.5
      2/15/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
      2/15/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/15/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/15/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/15/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/15/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/15/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/15/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.94
      2/15/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           372.3
      2/15/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.25
      2/15/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -225.24
      2/15/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              76.88
      2/15/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 238394 truck lease 3304         434.29
      2/15/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      2/15/2020    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                    12.5
      2/15/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                          13
      2/15/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          144.82
      2/15/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.88
      2/15/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          549.72
      2/15/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          482.39
      2/15/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    39.07
      2/15/2020    709   FV0001   Owner Operator   Toll Charges                   21521B Benicia 12                          26
      2/15/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      2/15/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL              8.75
      2/15/2020    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRK34330                       9.84
      2/15/2020    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1200                       9.84
      2/15/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                            8
      2/15/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                             400
      2/15/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                            4
      2/15/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                           12.62
      2/15/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          136.57
      2/15/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          114.59
      2/15/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -785.01
      2/15/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit              785.01
      2/15/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    23.44
      2/15/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD              28.91
      2/15/2020    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00422522 - PO System           148.25
      2/15/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL              8.75
      2/15/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                           13
      2/15/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.31
      2/15/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD              39.07
      2/15/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL              8.75
      2/15/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                            8
      2/15/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          136.19
      2/15/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          348.59
      2/15/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          217.87
      2/15/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.98
      2/15/2020    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment          352.17
      2/15/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD              44.11
      2/15/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 238453 Q1109 Lease              302.85
      2/15/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL             8.75
      2/15/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                           8

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      2/15/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          479.75
      2/15/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           391.8
      2/15/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -400.75
      2/15/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             35.16
      2/15/2020    709   HC0023   Owner Operator   Tire Fee                       Tire Fee: 2383571                          16
      2/15/2020    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00424491 - PO System           395.55
      2/15/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 238335 Q13170                   352.68
      2/15/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                        8.75
      2/15/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                            8
      2/15/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          492.22
      2/15/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          514.05
      2/15/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -131.31
      2/15/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        98.05
      2/15/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      2/15/2020    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                     12.5
      2/15/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                           13
      2/15/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/15/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/15/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          418.08
      2/15/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.71
      2/15/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit             -65.69
      2/15/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       54.69
      2/15/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      2/15/2020    709   IA0007   Owner Operator   Broker Pre Pass                34012 PrePass Device                     12.5
      2/15/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                            8
      2/15/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            150
      2/15/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           110.6
      2/15/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          530.47
      2/15/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.12
      2/15/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.26
      2/15/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           150.2
      2/15/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    51.57
      2/15/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                     21.35
      2/15/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/15/2020    709   IR0002   Owner Operator   Broker Pre Pass                32901 PrePass Device                     12.5
      2/15/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                            8
      2/15/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.17
      2/15/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          397.42
      2/15/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.17
      2/15/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    91.64
      2/15/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      2/15/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
      2/15/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          458.43
      2/15/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          382.49
      2/15/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          322.31
      2/15/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.85
      2/15/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          134.03
      2/15/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          133.01
      2/15/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit           -1415.56
      2/15/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD                42.19
      2/15/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      2/15/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                            8
      2/15/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       11.72
      2/15/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism               2.5
      2/15/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/15/2020    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                     12.5
      2/15/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                           13
      2/15/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             400
      2/15/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/15/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1

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      2/15/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      2/15/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.47
      2/15/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.64
      2/15/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.27
      2/15/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit           -382.12
      2/15/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      2/15/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      2/15/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      2/15/2020    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       26
      2/15/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      2/15/2020    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      2/15/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/15/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      2/15/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/15/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/15/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                           469
      2/15/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.58
      2/15/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          41.12
      2/15/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.82
      2/15/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit           -682.99
      2/15/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      2/15/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      2/15/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      2/15/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      2/15/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/15/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      2/15/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/15/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/15/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.16
      2/15/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.33
      2/15/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.31
      2/15/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit           -133.03
      2/15/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      2/15/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      2/15/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      2/15/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      2/15/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.29
      2/15/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      2/15/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 238349 Lease overpaymen       -278.76
      2/15/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/15/2020    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      2/15/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      2/15/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/15/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/15/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/15/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/15/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/15/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/15/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/15/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/15/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/15/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           148
      2/15/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.59
      2/15/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.38
      2/15/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.98
      2/15/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             38
      2/15/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           223
      2/15/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           373
      2/15/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -663.9
      2/15/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      2/15/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      2/15/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/15/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      2/15/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      2/15/2020    709   KT0055   Owner Operator   Broker Pre Pass                Q13156 PrePass Device                   12.5
      2/15/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware 33483                           8
      2/15/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      2/15/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.16

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      2/15/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          182.83
      2/15/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -270.37
      2/15/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD              56.15
      2/15/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 238304 33483 Lease 208          335.48
      2/15/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
      2/15/2020    709   LL0160   Owner Operator   Broker Pay Void/Reissue        Reiusse Lost Check 2/1/20            -2746.92
      2/15/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                            8
      2/15/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              39.07
      2/15/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 238334 Lease Q1111              252.11
      2/15/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL              8.75
      2/15/2020    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                     12.5
      2/15/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                           13
      2/15/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           27.41
      2/15/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          631.91
      2/15/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          492.54
      2/15/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit             -67.47
      2/15/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD              57.04
      2/15/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      2/15/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      2/15/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      2/15/2020    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                       9.84
      2/15/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                            8
      2/15/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                            8
      2/15/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                            8
      2/15/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                            8
      2/15/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          492.37
      2/15/2020    709   MA0092   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         149.24
      2/15/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           30.21
      2/15/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       49.69
      2/15/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       49.69
      2/15/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       49.69
      2/15/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       49.68
      2/15/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
      2/15/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                            8
      2/15/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            300
      2/15/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          219.91
      2/15/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                           185.1
      2/15/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                       23.44
      2/15/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL                8.75
      2/15/2020    709   ME0053   Owner Operator   Broker Pre Pass                Q13199 PrePass Device                    12.5
      2/15/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                           8
      2/15/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.46
      2/15/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          258.65
      2/15/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          415.17
      2/15/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          374.86
      2/15/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.36
      2/15/2020    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          330.39
      2/15/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                38.44
      2/15/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 238283 Lease Q13199             263.91
      2/15/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      2/15/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                            8
      2/15/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          450.56
      2/15/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          352.05
      2/15/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.96
      2/15/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           35.16
      2/15/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      2/15/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      2/15/2020    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                     12.5
      2/15/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                            8
      2/15/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            750
      2/15/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             300

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      2/15/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      2/15/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          639.23
      2/15/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.79
      2/15/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      2/15/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
      2/15/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL              8.75
      2/15/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                           13
      2/15/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      2/15/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.87
      2/15/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.71
      2/15/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          469.07
      2/15/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           487.2
      2/15/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          229.95
      2/15/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit           -1311.73
      2/15/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               35.16
      2/15/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr            2.5
      2/15/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD              48.83
      2/15/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter            2.5
      2/15/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 238328 32986 Lease              314.03
      2/15/2020    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      2/15/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
      2/15/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                          13
      2/15/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             400
      2/15/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                            4
      2/15/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.09
      2/15/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.63
      2/15/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          133.11
      2/15/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          259.51
      2/15/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -473.76
      2/15/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 32.98
      2/15/2020    709   NG0005   Owner Operator   Tire Purchase                  PO: 709-00423374 - PO System           148.64
      2/15/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
      2/15/2020    709   NT9564   Owner Operator   Broker Pay Void/Reissue        Reiusse Lost Check 2/1/20              -974.6
      2/15/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              30.47
      2/15/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      2/15/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                            8
      2/15/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          134.82
      2/15/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.35
      2/15/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           92.69
      2/15/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          205.37
      2/15/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                       33.17
      2/15/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    27.35
      2/15/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                           237.4
      2/15/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                 8.75
      2/15/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/15/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                             150
      2/15/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                             160
      2/15/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.6
      2/15/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.5
      2/15/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/15/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          171.12
      2/15/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          149.94
      2/15/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          115.06
      2/15/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.37
      2/15/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          113.54
      2/15/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          154.18
      2/15/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -100.46
      2/15/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                 39.07
      2/15/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 237008 Q1241 Truck leas         263.66
      2/15/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      2/15/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                            8
      2/15/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          318.72
      2/15/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                           311.9
      2/15/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          258.77
      2/15/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          690.04

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      2/15/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.19
      2/15/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit           -584.01
      2/15/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      2/15/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      2/15/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/15/2020    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      2/15/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      2/15/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      2/15/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         680.93
      2/15/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.74
      2/15/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      2/15/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      2/15/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/15/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      2/15/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/15/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      2/15/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/15/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/15/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.37
      2/15/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.38
      2/15/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          136.3
      2/15/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.71
      2/15/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      2/15/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      2/15/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      2/15/2020    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      2/15/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      2/15/2020    709   RL0180   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
      2/15/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           8
      2/15/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                         328.66
      2/15/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.75
      2/15/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.01
      2/15/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.76
      2/15/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      2/15/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      2/15/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      2/15/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      2/15/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      2/15/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      2/15/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      2/15/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.66
      2/15/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.04
      2/15/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      2/15/2020    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      2/15/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      2/15/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      2/15/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         544.75
      2/15/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      2/15/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 238237 Q1202 Truck Leas        278.76
      2/15/2020    709   RR0123   Owner Operator   Advance                        402-118042 s/u $250/wk                  250
      2/15/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/15/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            160
      2/15/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      2/15/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/15/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.73
      2/15/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.81
      2/15/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.52
      2/15/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      2/15/2020    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      2/15/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      2/15/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/15/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/15/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/15/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.35
      2/15/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.95
      2/15/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           239
      2/15/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit           -298.44

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      2/15/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      2/15/2020    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          344.9
      2/15/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      2/15/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      2/15/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      2/15/2020    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
      2/15/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      2/15/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/15/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                          37.73
      2/15/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.87
      2/15/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.99
      2/15/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.27
      2/15/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.34
      2/15/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.87
      2/15/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -971.4
      2/15/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                60
      2/15/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      2/15/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 237924 Sub Lease               388.33
      2/15/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 238237 Sub Lease               388.33
      2/15/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      2/15/2020    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      2/15/2020    709   SM0109   Owner Operator   Broker Pre Pass                DriveWyze TRK33195                      9.84
      2/15/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      2/15/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      2/15/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           315
      2/15/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.84
      2/15/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           460
      2/15/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit           -474.95
      2/15/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             474.95
      2/15/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      2/15/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         146.33
      2/15/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          355.2
      2/15/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      2/15/2020    709   SM0109   Owner Operator   Tire Purchase                  PO: 709-00416151 - PO System           259.5
      2/15/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      2/15/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      2/15/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      2/15/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/15/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/15/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/15/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/15/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.9
      2/15/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.35
      2/15/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.42
      2/15/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.12
      2/15/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.17
      2/15/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.54
      2/15/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      2/15/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      2/15/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      2/15/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.95
      2/15/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           216
      2/15/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.25
      2/15/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      2/15/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      2/15/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/15/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      2/15/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/15/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/15/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      2/15/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/15/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/15/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      2/15/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/15/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.69
      2/15/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.62
      2/15/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.24
      2/15/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.61

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      2/15/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.24
      2/15/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      2/15/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      2/15/2020    709   VJ0006   Owner Operator   Toll Charges                   33961 KTA Andover: 21st St              4.05
      2/15/2020    709   VJ0006   Owner Operator   Toll Charges                   33961 KTA Mulvane: K-53 - Casi           1.6
      2/15/2020    709   VJ0006   Owner Operator   Toll Charges                   33961 KTA Southern Terminal              7.2
      2/15/2020    709   WB0062   Owner Operator   Advance                        11/04/19 Clm 76461-1 s/u 8 wks          250
      2/15/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/15/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      2/15/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      2/15/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      2/15/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      2/15/2020    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      2/15/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      2/15/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/15/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/15/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.82
      2/15/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.48
      2/15/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.32
      2/15/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.35
      2/15/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.06
      2/15/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.55
      2/15/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.39
      2/15/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.46
      2/15/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit           -800.33
      2/15/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      2/15/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 238285 Q1238 Lease             311.97
      2/15/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      2/15/2020    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      2/15/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      2/15/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/15/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/15/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/15/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/15/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/15/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/15/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/15/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/15/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/15/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/15/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.65
      2/15/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.34
      2/15/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.37
      2/15/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.34
      2/15/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.53
      2/15/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      2/15/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      2/15/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      2/15/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      2/15/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      2/15/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware 34900                           8
      2/15/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      2/15/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.58
      2/15/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.45
      2/15/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.12
      2/15/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.43
      2/15/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.68
      2/15/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.72
      2/15/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  110.55
      2/15/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  110.55
      2/15/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      2/15/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      2/15/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      2/15/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      2/15/2020    742   BS0078   Owner Operator   Truck Payment                  CTMS - 238281 Lease of Q13151         388.16
      2/15/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      2/15/2020    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      2/15/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13

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      2/15/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          581.48
      2/15/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          268.39
      2/15/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          690.45
      2/15/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -757.35
      2/15/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                       70.32
      2/15/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL             8.75
      2/15/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                           8
      2/15/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                            200
      2/15/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          439.55
      2/15/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          302.46
      2/15/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD             42.19
      2/15/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te            2.5
      2/15/2020    742   CT0085   Owner Operator   Repair Order                   CTMS - 237420 repair                   537.63
      2/15/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                              10
      2/15/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit                -88
      2/15/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                   26
      2/15/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                   26
      2/15/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                   26
      2/15/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                           13
      2/15/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.47
      2/15/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          555.48
      2/15/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.21
      2/15/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          469.15
      2/15/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.29
      2/15/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                           18.13
      2/15/2020    742   DS0254   Owner Operator   Accident Claim                 01/31/20 DS0254 Incident                2000
      2/15/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL              8.75
      2/15/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/15/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/15/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          386.46
      2/15/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          203.85
      2/15/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.11
      2/15/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          395.52
      2/15/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                           366.5
      2/15/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          231.25
      2/15/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          329.07
      2/15/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit             -12.79
      2/15/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD              70.79
      2/15/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter            2.5
      2/15/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA SRT Gantry 1                  2.52
      2/15/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 238328 Trk 33487 Lease          277.49
      2/15/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      2/15/2020    742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                     12.5
      2/15/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                            8
      2/15/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          534.04
      2/15/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           559.2
      2/15/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          523.86
      2/15/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -822.28
      2/15/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    31.25
      2/15/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
      2/15/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                        8.75
      2/15/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                           13
      2/15/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                        27.35
      2/15/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism                2.5
      2/15/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/15/2020    742   EN0016   Owner Operator   Broker Pay Void/Reissue        ACH Request                           5377.58
      2/15/2020    742   EN0016   Owner Operator   Broker Pay Void/Reissue        Voided check # 976554                -5377.58
      2/15/2020    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                     12.5
      2/15/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                           13
      2/15/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.17
      2/15/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          545.96
      2/15/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.16
      2/15/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -405.02
      2/15/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                       33.17
      2/15/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    27.35
      2/15/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      2/15/2020    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 12                  26

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      2/15/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                8.75
      2/15/2020    742   FS0011   Owner Operator   Broker Pay Void/Reissue        Reiusse Lost Check 2/1/20            -16769.3
      2/15/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                           8
      2/15/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD                54.69
      2/15/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro            2.5
      2/15/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                   8.75
      2/15/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                            8
      2/15/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                              50
      2/15/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                             160
      2/15/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.6
      2/15/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.39
      2/15/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          307.32
      2/15/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                           241.9
      2/15/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                           175.1
      2/15/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          382.88
      2/15/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          428.96
      2/15/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -556.23
      2/15/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                   23.44
      2/15/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris            2.5
      2/15/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                   8.75
      2/15/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                           13
      2/15/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                   23.44
      2/15/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      2/15/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                           13
      2/15/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                              50
      2/15/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                              75
      2/15/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      2/15/2020    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 4                   26
      2/15/2020    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 7                   26
      2/15/2020    742   MH0117   Owner Operator   Toll Charges                   33296 DelDOT Newark Plaza                   9
      2/15/2020    742   MH0117   Owner Operator   Toll Charges                   33296 DelDOT Newark Plaza                   9
      2/15/2020    742   MH0117   Owner Operator   Toll Charges                   33296 DelDOT Newark Plaza                   9
      2/15/2020    742   MH0117   Owner Operator   Toll Charges                   33296 ILTOLL Route 80 (West)              5.1
      2/15/2020    742   MH0117   Owner Operator   Toll Charges                   33296 OTC Vermilion                      14.5
      2/15/2020    742   MH0117   Owner Operator   Toll Charges                   33296 PTC Pocono                         56.3
      2/15/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      2/15/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/15/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/15/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           292.7
      2/15/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.95
      2/15/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.35
      2/15/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    45.02
      2/15/2020    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 6                   26
      2/15/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                       8.75
      2/15/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                       8.75
      2/15/2020    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                       9.84
      2/15/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                           13
      2/15/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                           13
      2/15/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             150
      2/15/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/15/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             150
      2/15/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.5
      2/15/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/15/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.5
      2/15/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          158.99
      2/15/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          182.33
      2/15/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           95.29
      2/15/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           128.3
      2/15/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          149.09
      2/15/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          166.05
      2/15/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          168.61
      2/15/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          212.46
      2/15/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.43
      2/15/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          136.54
      2/15/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          182.35
      2/15/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/15/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                       53.13
      2/15/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                       53.13
      2/15/2020    742   RF0136   Owner Operator   Repair Order                   CTMS - 238051 repair                     100

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      2/15/2020    742   RF0136   Owner Operator   Repair Order                   CTMS - 238303 repair                    100
      2/15/2020    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 8                  26
      2/15/2020    742   RF0136   Owner Operator   Toll Charges                   34182 ILTOLL 163rd St.                   6.8
      2/15/2020    742   RF0136   Owner Operator   Toll Charges                   34182 ILTOLL Route 80 (West)             5.1
      2/15/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      2/15/2020    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      2/15/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      2/15/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.07
      2/15/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.55
      2/15/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.49
      2/15/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.83
      2/15/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.92
      2/15/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.64
      2/15/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.19
      2/15/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          149.6
      2/15/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      2/15/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      2/15/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 238348 Last Lease payme        353.28
      2/15/2020    742   SK0049   Owner Operator   Accident Claim                 02/03/20 SK0049 Incident                500
      2/15/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/15/2020    742   SK0049   Owner Operator   Broker Pre Pass                33934 PrePass Device                    12.5
      2/15/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      2/15/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      2/15/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      2/15/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      2/15/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      2/15/2020    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      2/15/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      2/15/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      2/15/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.76
      2/15/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                             88
      2/15/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.39
      2/15/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.34
      2/15/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.96
      2/15/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.04
      2/15/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.41
      2/15/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit           -434.14
      2/15/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Debit             434.14
      2/15/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      2/15/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      2/15/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      2/15/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      2/15/2020    742   TC0098   Owner Operator   Repair Order                   CTMS - 238303 repair                  256.66
      2/15/2020    742   TC0098   Owner Operator   Repair Order                   TRACTOR 33489                         147.26
      2/15/2020    742   TC0098   Owner Operator   Toll Charges                   33489/702468 Antioch Bridge 1             26
      2/15/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 237724 33489 Lease Paym        412.16
      2/15/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 238016 33489 Lease Paym        412.16
      2/15/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 238328 33489 Lease Paym        412.16
      2/15/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/15/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      2/15/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.34
      2/15/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.07
      2/15/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase Condl Credit            -49.22
      2/15/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/15/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      2/15/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/15/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      2/15/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      2/22/2020    406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         260.44
      2/22/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      2/22/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      2/22/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/22/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.36
      2/22/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.94
      2/22/2020    709   AC0061   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        564.59
      2/22/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.94
      2/22/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 238768 Q13148 Trac Leas        296.09
      2/22/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75

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      2/22/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      2/22/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.94
      2/22/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.82
      2/22/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      2/22/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 238654 TRUCK RENTAL              500
      2/22/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/22/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/22/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/22/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/22/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/22/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/22/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/22/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/22/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/22/2020    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      2/22/2020    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                    19.68
      2/22/2020    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      2/22/2020    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      2/22/2020    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      2/22/2020    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      2/22/2020    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      2/22/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.49
      2/22/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.02
      2/22/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.06
      2/22/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.76
      2/22/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.15
      2/22/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.18
      2/22/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.94
      2/22/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.51
      2/22/2020    709   AR0064   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         52.82
      2/22/2020    709   AR0064   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        584.48
      2/22/2020    709   AR0064   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         269.88
      2/22/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   AR0064   Owner Operator   Permits                        ID06:2020 - Q13147                      10.3
      2/22/2020    709   AR0064   Owner Operator   Permits                        IL02:2020 - Q13147                      3.75
      2/22/2020    709   AR0064   Owner Operator   Permits                        NM07:2020 - Q13147                        10
      2/22/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      2/22/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      2/22/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      2/22/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      2/22/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      2/22/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      2/22/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      2/22/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      2/22/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.16
      2/22/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 238335 Q13147 Lease            440.14
      2/22/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 238661 Q13147 Lease            440.14
      2/22/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      2/22/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      2/22/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      2/22/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      2/22/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      2/22/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.25
      2/22/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      2/22/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.01
      2/22/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.84
      2/22/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      2/22/2020    709   AV0021   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         44.19
      2/22/2020    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 464.34
      2/22/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.16
      2/22/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      2/22/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      2/22/2020    709   BM0030   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        384.37

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      2/22/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.13
      2/22/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      2/22/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      2/22/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      2/22/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/22/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/22/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.8
      2/22/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          155.3
      2/22/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.68
      2/22/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.55
      2/22/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.23
      2/22/2020    709   CC0134   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        -17.61
      2/22/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.16
      2/22/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 238578 Q13168 sub lease        352.68
      2/22/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/22/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      2/22/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/22/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/22/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.15
      2/22/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      2/22/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.44
      2/22/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/22/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      2/22/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      2/22/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      2/22/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.54
      2/22/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.98
      2/22/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.31
      2/22/2020    709   CR0064   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         16.96
      2/22/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.04
      2/22/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 238656 Q1247 Sub Lease         263.91
      2/22/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      2/22/2020    709   CV0028   Owner Operator   Communication Charge           PNet Hware 33482                           8
      2/22/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/22/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/22/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/22/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.04
      2/22/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.78
      2/22/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.69
      2/22/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      2/22/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 238573 Lease Truck 3348        335.96
      2/22/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/22/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      2/22/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.75
      2/22/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.25
      2/22/2020    709   DL0029   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        124.99
      2/22/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.2
      2/22/2020    709   DL0029   Owner Operator   Repair Order                   CTMS - 238626 REPAIRS                 109.12
      2/22/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      2/22/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
      2/22/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/22/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/22/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.41
      2/22/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          177.6
      2/22/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.27
      2/22/2020    709   DL0107   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         91.13
      2/22/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.71
      2/22/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 238576 Baloon payoff           350.23
      2/22/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      2/22/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.38
      2/22/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.85
      2/22/2020    709   DM0257   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        493.93
      2/22/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   18.75
      2/22/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5

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      2/22/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      2/22/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 32915                          13
      2/22/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                           8
      2/22/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/22/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/22/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.64
      2/22/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.03
      2/22/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 32915                     198.18
      2/22/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 34880                       100
      2/22/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  111.72
      2/22/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      2/22/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      2/22/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      2/22/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         639.14
      2/22/2020    709   DS0225   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        -44.65
      2/22/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      39.07
      2/22/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      2/22/2020    709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                    12.5
      2/22/2020    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      2/22/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      2/22/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      2/22/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      2/22/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      2/22/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      2/22/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      2/22/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      2/22/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.51
      2/22/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.55
      2/22/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.41
      2/22/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.44
      2/22/2020    709   DS0288   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         76.15
      2/22/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.19
      2/22/2020    709   DS0288   Owner Operator   Tire Purchase                  PO: 709-00422521 - PO System          596.84
      2/22/2020    709   DS0288   Owner Operator   Tire Purchase                  PO: 709-00422521 - PO System          793.05
      2/22/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/22/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      2/22/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/22/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          571.9
      2/22/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.84
      2/22/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.41
      2/22/2020    709   EA0003   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        208.55
      2/22/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      2/22/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      2/22/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      2/22/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      2/22/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           366
      2/22/2020    709   EG0062   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         20.58
      2/22/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.19
      2/22/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      2/22/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      2/22/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      2/22/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/22/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.55
      2/22/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           351
      2/22/2020    709   EO0014   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        503.82
      2/22/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.13
      2/22/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      2/22/2020    709   EO0014   Owner Operator   Repair Order                   CTMS - 238627 RFEPAIRS                  146
      2/22/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      2/22/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      2/22/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      2/22/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/22/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/22/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/22/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/22/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/22/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.47
      2/22/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.36
      2/22/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.62
      2/22/2020    709   FS0039   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         39.29
      2/22/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.88
      2/22/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/22/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      2/22/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.67
      2/22/2020    709   FV0001   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         79.32
      2/22/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.07
      2/22/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/22/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      2/22/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      2/22/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      2/22/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.24
      2/22/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.08
      2/22/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          137.1
      2/22/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.94
      2/22/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.44
      2/22/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             28.91
      2/22/2020    709   GA0051   Owner Operator   Tire Purchase                  PO: 709-00422522 - PO System            44.2
      2/22/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 238019 Q1200 Lease             238.16
      2/22/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 238332 Q1200 Lease             238.16
      2/22/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 238658 Q1200 Lease             238.16
      2/22/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      2/22/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      2/22/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.79
      2/22/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.47
      2/22/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.07
      2/22/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      2/22/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      2/22/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.12
      2/22/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.12
      2/22/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.41
      2/22/2020    709   GW0043   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax          41.9
      2/22/2020    709   GW0043   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         350.23
      2/22/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      2/22/2020    709   GW0043   Owner Operator   Repair Order                   CTMS - 238613 REPAIR                   105.3
      2/22/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      2/22/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      2/22/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.37
      2/22/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.37
      2/22/2020    709   HC0023   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         53.26
      2/22/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.16
      2/22/2020    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00424491 - PO System          395.55
      2/22/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 238661 Q13170                  352.68
      2/22/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      2/22/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      2/22/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.68
      2/22/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.45
      2/22/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         595.05
      2/22/2020    709   HG0007   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         14.89
      2/22/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.05
      2/22/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/22/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13

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      2/22/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/22/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/22/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.87
      2/22/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.13
      2/22/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.66
      2/22/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.34
      2/22/2020    709   HG0027   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         54.48
      2/22/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.69
      2/22/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/22/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      2/22/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      2/22/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.56
      2/22/2020    709   IA0007   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        136.32
      2/22/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.57
      2/22/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      2/22/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/22/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      2/22/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.83
      2/22/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.16
      2/22/2020    709   IR0002   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        -47.83
      2/22/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      2/22/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/22/2020    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/22/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          21.01
      2/22/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      2/22/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      2/22/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      2/22/2020    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      2/22/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      2/22/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      2/22/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      2/22/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      2/22/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/22/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/22/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.5
      2/22/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.22
      2/22/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.44
      2/22/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.64
      2/22/2020    709   JC0292   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        442.34
      2/22/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.19
      2/22/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 238336 Q13197 Lease            276.63
      2/22/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 238662 Q13197 Lease            276.63
      2/22/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      2/22/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      2/22/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      2/22/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      2/22/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/22/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      2/22/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/22/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            400
      2/22/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      2/22/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/22/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.83
      2/22/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.74
      2/22/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      2/22/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      2/22/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      2/22/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      2/22/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      2/22/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      2/22/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/22/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/22/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          462.9
      2/22/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.37
      2/22/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.82
      2/22/2020    709   JG0072   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        353.19
      2/22/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      2/22/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      2/22/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      2/22/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      2/22/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/22/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      2/22/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.55
      2/22/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.54
      2/22/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.63
      2/22/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      2/22/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      2/22/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.28
      2/22/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              58.6
      2/22/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/22/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      2/22/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/22/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/22/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/22/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/22/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/22/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.38
      2/22/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.02
      2/22/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           120
      2/22/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           240
      2/22/2020    709   KP0004   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        201.93
      2/22/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      2/22/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      2/22/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/22/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      2/22/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      2/22/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware 33483                           8
      2/22/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware Q13156                          8
      2/22/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.69
      2/22/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.38
      2/22/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.19
      2/22/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      2/22/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 238573 33483 Lease 208         335.48
      2/22/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      2/22/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      2/22/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.07
      2/22/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      2/22/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      2/22/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.41
      2/22/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.68
      2/22/2020    709   LS0023   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        104.36
      2/22/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             57.04
      2/22/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/22/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      2/22/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.19
      2/22/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.03
      2/22/2020    709   MA0092   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        122.23
      2/22/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.69
      2/22/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      2/22/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      2/22/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300

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      2/22/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.76
      2/22/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                           76.2
      2/22/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.44
      2/22/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      2/22/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      2/22/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.23
      2/22/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.92
      2/22/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.46
      2/22/2020    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      2/22/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               38.44
      2/22/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 238576 Lease Q13199            263.91
      2/22/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/22/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      2/22/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.94
      2/22/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.1
      2/22/2020    709   MG0067   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        -57.41
      2/22/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.16
      2/22/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/22/2020    709   MM0093   Owner Operator   *Arrears Collection W/O        Pay applied to debt                     0.01
      2/22/2020    709   MM0093   Owner Operator   Broker Pay Void/Reissue        Void Statement Only                   -23.42
      2/22/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/22/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      2/22/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           750
      2/22/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/22/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/22/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.59
      2/22/2020    709   MP0035   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         45.97
      2/22/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.79
      2/22/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/22/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      2/22/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      2/22/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      2/22/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/22/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.11
      2/22/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.54
      2/22/2020    709   NB0029   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         583.1
      2/22/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.16
      2/22/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      2/22/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.83
      2/22/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      2/22/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 238655 32986 Lease             314.03
      2/22/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      2/22/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      2/22/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.13
      2/22/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.01
      2/22/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.98
      2/22/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      2/22/2020    709   NT9564   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        142.25
      2/22/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      2/22/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/22/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      2/22/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.69
      2/22/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.81
      2/22/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      2/22/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.35
      2/22/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          237.4
      2/22/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      2/22/2020    709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      8.49
      2/22/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8

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      2/22/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      2/22/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      2/22/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/22/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/22/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/22/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              50
      2/22/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      2/22/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.17
      2/22/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.22
      2/22/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.35
      2/22/2020    709   RB0170   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        115.63
      2/22/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.07
      2/22/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 237008 Q1241 Truck leas         58.18
      2/22/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 237343 Q1241 Truck leas        321.84
      2/22/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 237659 Q1241 Truck leas        321.84
      2/22/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 237968 Q1241 Truck leas        321.84
      2/22/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 238282 Q1241 Truck leas        321.84
      2/22/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 238576 Q1241 Truck leas        321.84
      2/22/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      2/22/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      2/22/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.18
      2/22/2020    709   RC0030   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        -60.07
      2/22/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.16
      2/22/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      2/22/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/22/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      2/22/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      2/22/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         635.91
      2/22/2020    709   RL0017   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        -31.61
      2/22/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      2/22/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   77.22
      2/22/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/22/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      2/22/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/22/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      2/22/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.76
      2/22/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.17
      2/22/2020    709   RL0062   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        407.28
      2/22/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      2/22/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.15
      2/22/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      2/22/2020    709   RL0062   Owner Operator   Truck Payment                  CTMS - 238611 TRUCK RENTAL              200
      2/22/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      2/22/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           8
      2/22/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      2/22/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                          71.34
      2/22/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.08
      2/22/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.03
      2/22/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      2/22/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.57
      2/22/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      2/22/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      2/22/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      2/22/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      2/22/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      2/22/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.6
      2/22/2020    709   RM0026   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        334.01
      2/22/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      2/22/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      2/22/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      2/22/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.09
      2/22/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              58.6
      2/22/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 238527 Q1202 Truck Leas        278.76
      2/22/2020    709   RR0123   Owner Operator   Advance                        402-118042 s/u $250/wk                  250

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      2/22/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      2/22/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      2/22/2020    709   RR0123   Owner Operator   Broker Pre Pass                Q1248 PrePass Device                    12.5
      2/22/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware 33488                           8
      2/22/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware 33488                           8
      2/22/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      2/22/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware Q1248                           8
      2/22/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/22/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/22/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/22/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/22/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          306.8
      2/22/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.41
      2/22/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.94
      2/22/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.81
      2/22/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.56
      2/22/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.3
      2/22/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      2/22/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      2/22/2020    709   RR0123   Owner Operator   Repair Order                   CTMS - 238672 33488 Water pump       -989.36
      2/22/2020    709   RR0123   Owner Operator   T Chek Fee                     ExpressCheck Fee                         9.8
      2/22/2020    709   RR0123   Owner Operator   T Chek Fee                     Tractor Repair 33488                  979.56
      2/22/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 238304 33488 Lease $335        335.48
      2/22/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 238350 Past tractor ren          100
      2/22/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 238574 33488 Lease $335        335.48
      2/22/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      2/22/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      2/22/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          61.03
      2/22/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.88
      2/22/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.91
      2/22/2020    709   SB0009   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        495.88
      2/22/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      2/22/2020    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment          344.9
      2/22/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  100.98
      2/22/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      2/22/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      2/22/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      2/22/2020    709   SM0109   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   SM0109   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           338
      2/22/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          224.5
      2/22/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.49
      2/22/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      2/22/2020    709   SM0109   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        422.56
      2/22/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      2/22/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          355.2
      2/22/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             74.22
      2/22/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      2/22/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      2/22/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      2/22/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          189.5
      2/22/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.99
      2/22/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.14
      2/22/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.82
      2/22/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.09
      2/22/2020    709   SN0019   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        149.47
      2/22/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      2/22/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      2/22/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      2/22/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           412
      2/22/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.02
      2/22/2020    709   VB0015   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        -60.24

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      2/22/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      2/22/2020    709   VB0015   Owner Operator   Truck Payment                  CTMS - 238611 TRUCK RENTAL              500
      2/22/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      2/22/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/22/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      2/22/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/22/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/22/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/22/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/22/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/22/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/22/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/22/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.56
      2/22/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.6
      2/22/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.84
      2/22/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.86
      2/22/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.95
      2/22/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.92
      2/22/2020    709   VJ0006   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        184.54
      2/22/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      2/22/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.54
      2/22/2020    709   WB0062   Owner Operator   Advance                        11/04/19 Clm 76461-1 s/u 8 wks          250
      2/22/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/22/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      2/22/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      2/22/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      2/22/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      2/22/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      2/22/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.65
      2/22/2020    709   WH0087   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         45.05
      2/22/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      2/22/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 238578 Q1238 Lease             311.97
      2/22/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      2/22/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      2/22/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      2/22/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware 34900                           8
      2/22/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      2/22/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.65
      2/22/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.59
      2/22/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.53
      2/22/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.65
      2/22/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          67.89
      2/22/2020    742   BS0078   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         139.9
      2/22/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - 34900                       100
      2/22/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  110.55
      2/22/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  110.55
      2/22/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      2/22/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      2/22/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.88
      2/22/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      2/22/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      2/22/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      2/22/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33987                           8
      2/22/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         619.69
      2/22/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.93
      2/22/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.32
      2/22/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      2/22/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      2/22/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.74
      2/22/2020    742   CT0085   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        247.59
      2/22/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.19
      2/22/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5

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      2/22/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/22/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/22/2020    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
      2/22/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      2/22/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      2/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           210
      2/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.06
      2/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           312
      2/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.01
      2/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           187
      2/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             70
      2/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.01
      2/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           263
      2/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           208
      2/22/2020    742   DA0067   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        129.27
      2/22/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      2/22/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.32
      2/22/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/22/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/22/2020    742   DA0067   Owner Operator   Repair Order                   CTMS - 238414 repair                      60
      2/22/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.14
      2/22/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      2/22/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      2/22/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      2/22/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/22/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/22/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.26
      2/22/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.71
      2/22/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.92
      2/22/2020    742   DS0254   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        223.03
      2/22/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.79
      2/22/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      2/22/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA I-35E TEXpress Exit           6.6
      2/22/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 238328 Trk 33487 Lease         156.71
      2/22/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/22/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      2/22/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.93
      2/22/2020    742   EA0039   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         81.23
      2/22/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      2/22/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      2/22/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/22/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      2/22/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.86
      2/22/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.49
      2/22/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.89
      2/22/2020    742   EN0016   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         91.64
      2/22/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      2/22/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.35
      2/22/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/22/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      2/22/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
      2/22/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.69
      2/22/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      2/22/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      2/22/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      2/22/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/22/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.42
      2/22/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.05
      2/22/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.24
      2/22/2020    742   JB0465   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        213.53
      2/22/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.44
      2/22/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      2/22/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      2/22/2020    742   JH0148   Owner Operator   Broker Pay Void/Reissue        Void Statement/Reissue                -12.11
      2/22/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      2/22/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.44

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      2/22/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/22/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      2/22/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/22/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      2/22/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/22/2020    742   MH0117   Owner Operator   Toll Charges                   33296 ITRCC Portage                    55.44
      2/22/2020    742   MH0117   Owner Operator   Toll Charges                   33296 OTC Westgate                     38.25
      2/22/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      2/22/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      2/22/2020    742   PC0012   Owner Operator   Accident Claim                 02/15/20 PC0012 Incident               1000
      2/22/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/22/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      2/22/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      2/22/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      2/22/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                         193.87
      2/22/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.99
      2/22/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.07
      2/22/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.76
      2/22/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.82
      2/22/2020    742   PC0012   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         48.63
      2/22/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      2/22/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      2/22/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.38
      2/22/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   59.36
      2/22/2020    742   PC0012   Owner Operator   Repair Order                   CTMS - 238416 Replace all batt         232.5
      2/22/2020    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Cent             7
      2/22/2020    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout             7
      2/22/2020    742   PC0012   Owner Operator   Toll Charges                   32969 NTTA Exit SHT-SAME-08                7
      2/22/2020    742   PC0012   Owner Operator   Toll Charges                   32969 NTTA Exit SHT-SAMN-09                7
      2/22/2020    742   PC0012   Owner Operator   Toll Charges                   32969 NTTA Exit SHT-SAMS-08                7
      2/22/2020    742   PC0012   Owner Operator   Toll Charges                   32969 NTTA Exit SHT-SAMSE-05               7
      2/22/2020    742   PC0012   Owner Operator   Toll Charges                   32969 NTTA Exit SHT-SHIP-21                7
      2/22/2020    742   PC0012   Owner Operator   Toll Charges                   32969 NTTA Exit SHT-SHIP-31                7
      2/22/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      2/22/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      2/22/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      2/22/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      2/22/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.74
      2/22/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.6
      2/22/2020    742   RN0054   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         44.59
      2/22/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.16
      2/22/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      2/22/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Sam Houston - Cen             7
      2/22/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 NTTA Exit SHT-SHIP-21               7
      2/22/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/22/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      2/22/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       58.6
      2/22/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      2/22/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      2/22/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      2/22/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.06
      2/22/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.76
      2/22/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.74
      2/22/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.21
      2/22/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.41
      2/22/2020    742   TC0098   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        -44.92
      2/22/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.19
      2/22/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      2/22/2020    742   TC0098   Owner Operator   Repair Order                   CTMS - 238749 repair                  256.66
      2/22/2020    742   TC0098   Owner Operator   Repair Order                   TRACTOR 33489                          57.49
      2/22/2020    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Route 80 (East)            2.85
      2/22/2020    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Route 80 (West)            2.85
      2/22/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/22/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      2/22/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.07
      2/22/2020    742   TH0130   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         41.33
      2/22/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/22/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      2/22/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5

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      2/22/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      2/22/2020    844   JK0112   Owner Operator   *Arrears Collection W/O        Apply to Arrears                        3.22
      2/22/2020    844   JK0112   Owner Operator   *Arrears Collection W/O        Apply to Arrears                       13.15
      2/22/2020    844   JK0112   Owner Operator   Broker Pay Void/Reissue        Void Statement Only                    -3.22
      2/22/2020    844   JK0112   Owner Operator   Broker Pay Void/Reissue        Void Statement Only                   -13.15
      2/29/2020    406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         260.44
      2/29/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      2/29/2020    709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
      2/29/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      2/29/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/29/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            35.93
      2/29/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 239058 Q13148 Trac Leas        296.09
      2/29/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      2/29/2020    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
      2/29/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      2/29/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.92
      2/29/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             7.79
      2/29/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      2/29/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 238946 TRUCK RENTAL              500
      2/29/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      2/29/2020    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      2/29/2020    709   AR0064   Owner Operator   Communication Charge           PNet Hware Q13147                         13
      2/29/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          207.2
      2/29/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.43
      2/29/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          458.5
      2/29/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.19
      2/29/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.96
      2/29/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            35.15
      2/29/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 238947 Q13147 Lease            440.14
      2/29/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 238991 Past due tractor        125.75
      2/29/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      2/29/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      2/29/2020    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      2/29/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      2/29/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.11
      2/29/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.02
      2/29/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.02
      2/29/2020    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 270.02
      2/29/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            35.15
      2/29/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 238715 Q13169 Sublease         352.68
      2/29/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 239018 Q13169 Sublease         352.68
      2/29/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      2/29/2020    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      2/29/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      2/29/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.11
      2/29/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      2/29/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      2/29/2020    709   CC0134   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13168                     9.84
      2/29/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      2/29/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/29/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/29/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.68
      2/29/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.14
      2/29/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.86
      2/29/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.44
      2/29/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            35.15
      2/29/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 238891 Q13168 sub lease        352.68
      2/29/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/29/2020    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      2/29/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      2/29/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/29/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/29/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.76
      2/29/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         629.12
      2/29/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
      2/29/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   23.43

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      2/29/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      2/29/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          506.17
      2/29/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      2/29/2020    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRK32864                       9.84
      2/29/2020    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                       9.84
      2/29/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                            8
      2/29/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.86
      2/29/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           179.4
      2/29/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.46
      2/29/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.35
      2/29/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.96
      2/29/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/29/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 32.01
      2/29/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 238942 Q1247 Sub Lease          263.91
      2/29/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL              8.75
      2/29/2020    709   CV0028   Owner Operator   Broker Pre Pass                DriveWyze TRK33482                       9.84
      2/29/2020    709   CV0028   Owner Operator   Communication Charge           PNet Hware 33482                            8
      2/29/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                              50
      2/29/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          207.96
      2/29/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.73
      2/29/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                           314.5
      2/29/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD              68.17
      2/29/2020    709   CV0028   Owner Operator   T Chek Fee                     ExpressCheck Fee                          2.9
      2/29/2020    709   CV0028   Owner Operator   T Chek Fee                     Tractor Repair 33482                   290.42
      2/29/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 238890 Lease Truck 3348         335.96
      2/29/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      2/29/2020    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRK33850                       9.84
      2/29/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      2/29/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.42
      2/29/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          167.75
      2/29/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.76
      2/29/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           475.5
      2/29/2020    709   DL0029   Owner Operator   Loan Repayment                 EFS 239863                           -3508.29
      2/29/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00014 - Loan Repayment           355.3
      2/29/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/29/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    34.19
      2/29/2020    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        34.74
      2/29/2020    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                  3473.55
      2/29/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      2/29/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.31
      2/29/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                           81.15
      2/29/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          281.39
      2/29/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.36
      2/29/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          274.73
      2/29/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/29/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    18.75
      2/29/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      2/29/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                    8.75
      2/29/2020    709   DS0049   Owner Operator   Broker Pre Pass                DriveWyze TRK32915                      19.68
      2/29/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                            8
      2/29/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      2/29/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      2/29/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          315.72
      2/29/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          495.15
      2/29/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.97
      2/29/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 34880                        100
      2/29/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/29/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   111.72
      2/29/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                      26
      2/29/2020    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      2/29/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      2/29/2020    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                       9.84
      2/29/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
      2/29/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           1000
      2/29/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          656.89
      2/29/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/29/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       39.04
      2/29/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      2/29/2020    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                       9.84
      2/29/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                           13
      2/29/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      2/29/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      2/29/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5

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      2/29/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      2/29/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.42
      2/29/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.47
      2/29/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   42.18
      2/29/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/29/2020    709   EA0003   Owner Operator   Broker Pre Pass                DriveWyze TRK33051                      9.84
      2/29/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      2/29/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/29/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.13
      2/29/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         572.34
      2/29/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      2/29/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  105.47
      2/29/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      2/29/2020    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      2/29/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      2/29/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.64
      2/29/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   42.18
      2/29/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      2/29/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      2/29/2020    709   EO0014   Owner Operator   Broker Pre Pass                DriveWyze TRK33846                      9.84
      2/29/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      2/29/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      2/29/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           249
      2/29/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.04
      2/29/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.77
      2/29/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                78.11
      2/29/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      2/29/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      2/29/2020    709   FS0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33040                      9.84
      2/29/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      2/29/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/29/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/29/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.98
      2/29/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.76
      2/29/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             76.86
      2/29/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 238715 truck lease 3304        434.29
      2/29/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 239008 truck lease 3304        434.29
      2/29/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/29/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      2/29/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.04
      2/29/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/29/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      2/29/2020    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRK34330                      9.84
      2/29/2020    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1200                      9.84
      2/29/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      2/29/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/29/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/29/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.44
      2/29/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.32
      2/29/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   23.43
      2/29/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD              28.9
      2/29/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 238944 Q1200 Lease             238.16
      2/29/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      2/29/2020    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      2/29/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      2/29/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             39.04
      2/29/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75

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      2/29/2020    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      5.25
      2/29/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.29
      2/29/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.85
      2/29/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          395.1
      2/29/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             44.11
      2/29/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 238767 Q1109 Lease             302.85
      2/29/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 239057 Q1109 Lease             302.85
      2/29/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      2/29/2020    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      2/29/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      2/29/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.27
      2/29/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            35.15
      2/29/2020    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00424491 - PO System          395.55
      2/29/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 238947 Q13170                  352.68
      2/29/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      2/29/2020    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                      9.84
      2/29/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      2/29/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.92
      2/29/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         550.98
      2/29/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.89
      2/29/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       98.04
      2/29/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/29/2020    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      2/29/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      2/29/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/29/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/29/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.65
      2/29/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.16
      2/29/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.26
      2/29/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.07
      2/29/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      54.68
      2/29/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/29/2020    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      2/29/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      2/29/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      2/29/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.09
      2/29/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.65
      2/29/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   51.54
      2/29/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      2/29/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/29/2020    709   IR0002   Owner Operator   Broker Pre Pass                DriveWyze TRK32901                      9.84
      2/29/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      2/29/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.29
      2/29/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.42
      2/29/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.83
      2/29/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   91.64
      2/29/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/29/2020    709   IR0002   Owner Operator   Tire Fee                       Tire Fee: 2389664                          8
      2/29/2020    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00426580 - PO System           171.8
      2/29/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.96
      2/29/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      2/29/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      2/29/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      2/29/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               42.18
      2/29/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 238948 Q13197 Lease            276.63
      2/29/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      2/29/2020    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                      9.84
      2/29/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8

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      2/29/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      11.72
      2/29/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      2/29/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/29/2020    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                      9.84
      2/29/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      2/29/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/29/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/29/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.09
      2/29/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.41
      2/29/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      2/29/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      2/29/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.33
      2/29/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      2/29/2020    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      2/29/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/29/2020    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                      9.84
      2/29/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      2/29/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      2/29/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      2/29/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          502.2
      2/29/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         556.83
      2/29/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      2/29/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   74.22
      2/29/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      2/29/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      2/29/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/29/2020    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK34637                      9.84
      2/29/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      2/29/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/29/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/29/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.53
      2/29/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   19.51
      2/29/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   15.61
      2/29/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      2/29/2020    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      2/29/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      2/29/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.45
      2/29/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             58.58
      2/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      2/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      2/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      2/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      2/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      2/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      2/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      2/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      2/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      2/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      2/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      2/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      2/29/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.15
      2/29/2020    709   JS0265   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        145.01
      2/29/2020    709   JS0265   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax         77.99
      2/29/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      2/29/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      2/29/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      2/29/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      2/29/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.51
      2/29/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
      2/29/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   JS0265   Owner Operator   Permits                        ID06:2020 - Q13159                     10.29
      2/29/2020    709   JS0265   Owner Operator   Permits                        IL02:2020 - Q13159                      3.75
      2/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      2/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      2/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      2/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5

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      2/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      2/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
      2/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      2/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      2/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      2/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.22
      2/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      2/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.24
      2/29/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/29/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      2/29/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/29/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      2/29/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      2/29/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           380
      2/29/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.01
      2/29/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           352
      2/29/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      2/29/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.32
      2/29/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/29/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      2/29/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      2/29/2020    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRK33483                      9.84
      2/29/2020    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13156                     9.84
      2/29/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware 33483                           8
      2/29/2020    709   KT0055   Owner Operator   Communication Charge           Refund Pnet Charge                        -8
      2/29/2020    709   KT0055   Owner Operator   Communication Charge           Refund Pnet Charge                        -8
      2/29/2020    709   KT0055   Owner Operator   Communication Charge           Refund Pnet Charge                        -8
      2/29/2020    709   KT0055   Owner Operator   Communication Charge           Refund Pnet Charge                        -8
      2/29/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.02
      2/29/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.83
      2/29/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.29
      2/29/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.54
      2/29/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.52
      2/29/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      2/29/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 238890 33483 Lease 208         335.48
      2/29/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      2/29/2020    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      2/29/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      2/29/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             39.04
      2/29/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 238907 Balloon Pay off         200.15
      2/29/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      2/29/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      2/29/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          170.6
      2/29/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.72
      2/29/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             57.01
      2/29/2020    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     16
      2/29/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/29/2020    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      2/29/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      2/29/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.5
      2/29/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      49.68
      2/29/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      2/29/2020    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      2/29/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      2/29/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      2/29/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.89
      2/29/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.89
      2/29/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.43
      2/29/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      2/29/2020    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13199                     9.84
      2/29/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      2/29/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.31

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      2/29/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.89
      2/29/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.26
      2/29/2020    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      2/29/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               38.43
      2/29/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 238889 Lease Q13199            263.91
      2/29/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/29/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      2/29/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.96
      2/29/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          35.15
      2/29/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/29/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/29/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      2/29/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           750
      2/29/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              40
      2/29/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      2/29/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.76
      2/29/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.76
      2/29/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/29/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      2/29/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      2/29/2020    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      2/29/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      2/29/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      2/29/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/29/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/29/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.54
      2/29/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.62
      2/29/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.15
      2/29/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.97
      2/29/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.85
      2/29/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              35.15
      2/29/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      2/29/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             48.82
      2/29/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      2/29/2020    709   NB0029   Owner Operator   Toll Charges                   32986 NTTA Plaza 10 - Irving             2.4
      2/29/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 238940 32986 Lease             314.03
      2/29/2020    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      2/29/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      2/29/2020    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      2/29/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      2/29/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      2/29/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/29/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.47
      2/29/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.13
      2/29/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.86
      2/29/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                32.97
      2/29/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      2/29/2020    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      2/29/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             30.47
      2/29/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      2/29/2020    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
      2/29/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      2/29/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          143.4
      2/29/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.47
      2/29/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.09
      2/29/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      2/29/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   27.33
      2/29/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          237.4
      2/29/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      2/29/2020    709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
      2/29/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      2/29/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50

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      2/29/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/29/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              50
      2/29/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      2/29/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/29/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.14
      2/29/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.94
      2/29/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.77
      2/29/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.17
      2/29/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                39.04
      2/29/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 238888 Q1241 Truck leas        321.84
      2/29/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      2/29/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      2/29/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          409.4
      2/29/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.46
      2/29/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      135.15
      2/29/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      2/29/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/29/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      2/29/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      2/29/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         635.94
      2/29/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      2/29/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    77.2
      2/29/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/29/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      2/29/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/29/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      2/29/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      2/29/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/29/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.93
      2/29/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.86
      2/29/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.08
      2/29/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.67
      2/29/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      2/29/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   93.13
      2/29/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      2/29/2020    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      2/29/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      2/29/2020    709   RL0180   Owner Operator   Broker Pre Pass                DriveWyze TRK32910                      9.84
      2/29/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           8
      2/29/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      2/29/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.33
      2/29/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.6
      2/29/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      2/29/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   51.54
      2/29/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      2/29/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      2/29/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      2/29/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      2/29/2020    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      2/29/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      2/29/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.95
      2/29/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.73
      2/29/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.99
      2/29/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       31.25
      2/29/2020    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      2/29/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      2/29/2020    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      2/29/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      2/29/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.51
      2/29/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             58.58
      2/29/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 238839 Q1202 Truck Leas        278.76
      2/29/2020    709   RR0123   Owner Operator   Advance                        402-118042 s/u $250/wk                  250
      2/29/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      2/29/2020    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1248                      9.84

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      2/29/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware 33488                            8
      2/29/2020    709   RR0123   Owner Operator   Communication Charge           Refund Pnet Charge                         -8
      2/29/2020    709   RR0123   Owner Operator   Communication Charge           Refund Pnet Charge                         -8
      2/29/2020    709   RR0123   Owner Operator   Communication Charge           Refund Pnet Charge                         -8
      2/29/2020    709   RR0123   Owner Operator   Communication Charge           Refund Pnet Charge                         -8
      2/29/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          346.72
      2/29/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.92
      2/29/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.97
      2/29/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/29/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD              56.15
      2/29/2020    709   RR0123   Owner Operator   Toll Charges                   33488 OTA Turner Turnpike East           10.2
      2/29/2020    709   RR0123   Owner Operator   Toll Charges                   33488 OTA Will Rogers Turnpike          18.05
      2/29/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 238890 33488 Lease $335         335.48
      2/29/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      2/29/2020    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                       9.84
      2/29/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                           13
      2/29/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      2/29/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                          138.97
      2/29/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/29/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/29/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.96
      2/29/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.09
      2/29/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.78
      2/29/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                       33.17
      2/29/2020    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment           344.9
      2/29/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/29/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   100.98
      2/29/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
      2/29/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      2/29/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      2/29/2020    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                       9.84
      2/29/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      2/29/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      2/29/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      2/29/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      2/29/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.08
      2/29/2020    709   SB0103   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         410.32
      2/29/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/29/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/29/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      2/29/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD                 60
      2/29/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      2/29/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      2/29/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
      2/29/2020    709   SM0109   Owner Operator   Broker Pre Pass                DriveWyze TRK33195                       9.84
      2/29/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      2/29/2020    709   SM0109   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/29/2020    709   SM0109   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/29/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            210
      2/29/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.78
      2/29/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            292
      2/29/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            320
      2/29/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       33.17
      2/29/2020    709   SM0109   Owner Operator   Loan Repayment                 Balance of Loan 3                      2111.9
      2/29/2020    709   SM0109   Owner Operator   Loan Repayment                 EFS 239918,919, Ln Bal 3             -3526.67
      2/29/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          357.16
      2/29/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      2/29/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              74.22
      2/29/2020    709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                          3.8
      2/29/2020    709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                        10.21
      2/29/2020    709   SM0109   Owner Operator   T Chek Fee                     Tractor Repair 33195                  1020.76
      2/29/2020    709   SM0109   Owner Operator   T Chek Fee                     Tractor Repair 33195                     380
      2/29/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
      2/29/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      2/29/2020    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                       9.84
      2/29/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      2/29/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/29/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/29/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      2/29/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      2/29/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.91
      2/29/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.99
      2/29/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.71

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      2/29/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.76
      2/29/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          274.7
      2/29/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   42.97
      2/29/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      2/29/2020    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      2/29/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      2/29/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.52
      2/29/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              37.5
      2/29/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.82
      2/29/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/29/2020    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      2/29/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      2/29/2020    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                       -800
      2/29/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                            200
      2/29/2020    709   VJ0006   Owner Operator   Express Check                  T-Check Payment                          800
      2/29/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/29/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             300
      2/29/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      2/29/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.2
      2/29/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.44
      2/29/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.41
      2/29/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.46
      2/29/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      2/29/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   38.51
      2/29/2020    709   WB0062   Owner Operator   Advance                        11/04/19 Clm 76461-1 s/u 8 wks           250
      2/29/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      2/29/2020    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      2/29/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      2/29/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   56.25
      2/29/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      2/29/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      2/29/2020    709   WH0087   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1239                      9.84
      2/29/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      2/29/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/29/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/29/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/29/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.86
      2/29/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.81
      2/29/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          152.4
      2/29/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.39
      2/29/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.31
      2/29/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.11
      2/29/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.33
      2/29/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                60.47
      2/29/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 238891 Q1238 Lease             311.97
      2/29/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      2/29/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      2/29/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      2/29/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      2/29/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/29/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/29/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/29/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/29/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/29/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/29/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/29/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/29/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.9
      2/29/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.92
      2/29/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.45
      2/29/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.25
      2/29/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.29
      2/29/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.45
      2/29/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.27
      2/29/2020    742   AP0047   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        221.41
      2/29/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      2/29/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.35
      2/29/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    52.33
      2/29/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      2/29/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      2/29/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      2/29/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      2/29/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   Q13151 2013 Freightliner Colum          8.75
      2/29/2020    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13151                     9.84
      2/29/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware 34900                           8
      2/29/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware Q13151                          8
      2/29/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.87
      2/29/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          217.7
      2/29/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.83
      2/29/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.79
      2/29/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.81
      2/29/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.44
      2/29/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - 34900                       100
      2/29/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  110.54
      2/29/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  110.54
      2/29/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      2/29/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      2/29/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum         46.86
      2/29/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                Q13151 2013 Freightliner Colum           2.5
      2/29/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      2/29/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
      2/29/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33987                           8
      2/29/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          555.4
      2/29/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.78
      2/29/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      70.29
      2/29/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      2/29/2020    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      2/29/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      2/29/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.38
      2/29/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.26
      2/29/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.22
      2/29/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            42.18
      2/29/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      2/29/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/29/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      2/29/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   70.29
      2/29/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/29/2020    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      2/29/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      2/29/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      2/29/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.77
      2/29/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.97
      2/29/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.13
      2/29/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.18
      2/29/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         608.69
      2/29/2020    742   DC0117   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        138.84
      2/29/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      2/29/2020    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      2/29/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      2/29/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      2/29/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.47
      2/29/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.08
      2/29/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.38
      2/29/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.8
      2/29/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             70.76
      2/29/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      2/29/2020    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Westpark - Beltway          1.25
      2/29/2020    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Westpark - Hillcro           3.5
      2/29/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Exit SHT-SAMNE-03               7
      2/29/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Merritt Main Lane G          7.56
      2/29/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Plaza 10 - Irving             2.4
      2/29/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Plaza 6 - Shiloh Rd          5.24

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      2/29/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Plaza 7 - Coit Rd.           5.64
      2/29/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Plaza 8 - N. Carrol          5.24
      2/29/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Plaza 9 - Carrollto          4.16
      2/29/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      2/29/2020    742   EA0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33993                      9.84
      2/29/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      2/29/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         587.31
      2/29/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.36
      2/29/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   31.25
      2/29/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      2/29/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      2/29/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      2/29/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                             200
      2/29/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      2/29/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.73
      2/29/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.41
      2/29/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.33
      2/29/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      2/29/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   27.33
      2/29/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      2/29/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      2/29/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
      2/29/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               54.68
      2/29/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      2/29/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      2/29/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      2/29/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/29/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/29/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/29/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.38
      2/29/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.18
      2/29/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          431.8
      2/29/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  23.43
      2/29/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      2/29/2020    742   JB0465   Owner Operator   Toll Charges                   34804 ILTOLL Joliet Rd.                 1.95
      2/29/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      2/29/2020    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
      2/29/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      2/29/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  23.43
      2/29/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      2/29/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      2/29/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      2/29/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                             75
      2/29/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      2/29/2020    742   PC0012   Owner Operator   Accident Claim                 02/15/20 PC0012 Incident                -150
      2/29/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                            150
      2/29/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      2/29/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      2/29/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             100
      2/29/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             150
      2/29/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      2/29/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      2/29/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                            8.1
      2/29/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.76
      2/29/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.74
      2/29/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.84
      2/29/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.83
      2/29/2020    742   RF0136   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax         94.91
      2/29/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.13
      2/29/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      53.11
      2/29/2020    742   RF0136   Owner Operator   Repair Order                   CTMS - 238749 repair                   35.19
      2/29/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      2/29/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      2/29/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.13
      2/29/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          83.39
      2/29/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.64

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      2/29/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.46
      2/29/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.08
      2/29/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.02
      2/29/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            35.15
      2/29/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      2/29/2020    742   SK0049   Owner Operator   Accident Claim                 02/03/20 SK0049 Incident               1500
      2/29/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      2/29/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      2/29/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      58.58
      2/29/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      2/29/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      2/29/2020    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      2/29/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      2/29/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.9
      2/29/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.17
      2/29/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.91
      2/29/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.32
      2/29/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             67.18
      2/29/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      2/29/2020    742   TC0098   Owner Operator   Repair Order                   CTMS - 238967 repair                  256.66
      2/29/2020    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Route 80 (East)             5.1
      2/29/2020    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Route 80 (West)             5.1
      2/29/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      2/29/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      2/29/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.41
      2/29/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.92
      2/29/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       37.5
      2/29/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      2/29/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      2/29/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      2/29/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/29/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/29/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/29/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/29/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/29/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/29/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/29/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/29/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/29/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      2/29/2020    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      2/29/2020    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      2/29/2020    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      2/29/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      2/29/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      2/29/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      2/29/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      2/29/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      2/29/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      2/29/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      2/29/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      2/29/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      2/29/2020    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.99
      2/29/2020    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          44.66
      2/29/2020    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.97
      2/29/2020    843   EI0003   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        214.23
      2/29/2020    843   EI0003   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        574.88
      2/29/2020    843   EI0003   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax          296.1
      2/29/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      2/29/2020    843   EI0003   Owner Operator   Permits                        NM07:2020 - 33949                         10

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      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          74.22
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      2/29/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       3/7/2020    406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         260.44
       3/7/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       3/7/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
       3/7/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/7/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.13
       3/7/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.11
       3/7/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.85
       3/7/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
       3/7/2020    709   AC0061   Owner Operator   Tire Fee                       Tire Fee: 2390833                          8
       3/7/2020    709   AC0061   Owner Operator   Tire Purchase                  PO: 709-00427034 - PO System          197.77
       3/7/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 239320 Q13148 Trac Leas        296.09
       3/7/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       3/7/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       3/7/2020    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                            400
       3/7/2020    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
       3/7/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.77
       3/7/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             8.02
       3/7/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       3/7/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 239234 TRUCK RENTAL              500
       3/7/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       3/7/2020    709   AR0064   Owner Operator   Communication Charge           PNet Hware q13147                          8
       3/7/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.92
       3/7/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.25
       3/7/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.78
       3/7/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           280
       3/7/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
       3/7/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 239227 Past due tractor        125.75
       3/7/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 239236 Q13147 Lease            440.14
       3/7/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
       3/7/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       3/7/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       3/7/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.61
       3/7/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.91
       3/7/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.42
       3/7/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.25
       3/7/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.25
       3/7/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.35
       3/7/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.67
       3/7/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.02
       3/7/2020    709   AV0021   Owner Operator   GARNISHMENT                    GARNISHMENT 881047509                 274.74
       3/7/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
       3/7/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 239277 Q13169 Sublease         352.68
       3/7/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       3/7/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
       3/7/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
       3/7/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5

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       3/7/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       3/7/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       3/7/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
       3/7/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       3/7/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.24
       3/7/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.42
       3/7/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.52
       3/7/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.96
       3/7/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.8
       3/7/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
       3/7/2020    709   CC0134   Owner Operator   Tire Fee                       PO 905-03460839 s/u 3/7/20: Q1             4
       3/7/2020    709   CC0134   Owner Operator   Tire Purchase                  PO 905-03460839 s/u 3/7/20             83.23
       3/7/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 239194 Q13168 sub lease        352.68
       3/7/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/7/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       3/7/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.75
       3/7/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      33.17
       3/7/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
       3/7/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/7/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
       3/7/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       3/7/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       3/7/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.61
       3/7/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.75
       3/7/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.52
       3/7/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
       3/7/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 239229 Q1247 Sub Lease         263.91
       3/7/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
       3/7/2020    709   CV0028   Owner Operator   Communication Charge           PNet Hware 33482                           8
       3/7/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/7/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
       3/7/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       3/7/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.37
       3/7/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.49
       3/7/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.49
       3/7/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   CV0028   Owner Operator   Permits1                       ID06:2020 - 33482                       10.3
       3/7/2020    709   CV0028   Owner Operator   Permits1                       IL02:2020 - 33482                       3.75
       3/7/2020    709   CV0028   Owner Operator   Permits1                       NM07:2020 - 33482                         10
       3/7/2020    709   CV0028   Owner Operator   Permits1                       NY13:2019 - 33482                        1.5
       3/7/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
       3/7/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 239193 Lease Truck 3348        335.96
       3/7/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/7/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       3/7/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.73
       3/7/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.25
       3/7/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          127.8
       3/7/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00014 - Loan Repayment          355.3
       3/7/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   35.11
       3/7/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       3/7/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       3/7/2020    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
       3/7/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware q1245                           8
       3/7/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware Q1245                          13
       3/7/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       3/7/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       3/7/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       3/7/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       3/7/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         580.26
       3/7/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.57
       3/7/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.81
       3/7/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
       3/7/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                65.69

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       3/7/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 238889 Baloon payoff           350.23
       3/7/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 239191 Baloon payoff           350.23
       3/7/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
       3/7/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                           8
       3/7/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.74
       3/7/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.79
       3/7/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                           284
       3/7/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2019 - 34880                       58.5
       3/7/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   DS0049   Owner Operator   Permits                        NY13:2020 - 34880                        1.5
       3/7/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
       3/7/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA San Mateo                      26
       3/7/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       3/7/2020    709   DS0225   Owner Operator   Charge back by affiliate       CTMS - 239298 PM INSPECTION            50.75
       3/7/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       3/7/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
       3/7/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          496.8
       3/7/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         651.84
       3/7/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.02
       3/7/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
       3/7/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       3/7/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
       3/7/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
       3/7/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       3/7/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.24
       3/7/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.18
       3/7/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.27
       3/7/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          214.6
       3/7/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.48
       3/7/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
       3/7/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/7/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
       3/7/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       3/7/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.11
       3/7/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.26
       3/7/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
       3/7/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
       3/7/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
       3/7/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       3/7/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
       3/7/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.06
       3/7/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
       3/7/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       3/7/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       3/7/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       3/7/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/7/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.72
       3/7/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.21
       3/7/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           344
       3/7/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.19
       3/7/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
       3/7/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5

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       3/7/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       3/7/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
       3/7/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.52
       3/7/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.77
       3/7/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           294
       3/7/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
       3/7/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 239277 truck lease 3304        434.29
       3/7/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/7/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       3/7/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         691.82
       3/7/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
       3/7/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/7/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
       3/7/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
       3/7/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.07
       3/7/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
       3/7/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
       3/7/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 239231 Q1200 Lease             238.16
       3/7/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       3/7/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       3/7/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.28
       3/7/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
       3/7/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       3/7/2020    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      4.59
       3/7/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       3/7/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       3/7/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.57
       3/7/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           259
       3/7/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.04
       3/7/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.59
       3/7/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.38
       3/7/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
       3/7/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 239319 Q1109 Lease             302.85
       3/7/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       3/7/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       3/7/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.19
       3/7/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.71
       3/7/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.33
       3/7/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
       3/7/2020    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00424491 - PO System          395.55
       3/7/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 239235 Q13170                  352.68
       3/7/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       3/7/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
       3/7/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.76
       3/7/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         646.26
       3/7/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          32.71
       3/7/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
       3/7/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       3/7/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       3/7/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.33
       3/7/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.86
       3/7/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.45
       3/7/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.15
       3/7/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/7/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8

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       3/7/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
       3/7/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.17
       3/7/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          612.2
       3/7/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.68
       3/7/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.14
       3/7/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
       3/7/2020    709   IA0007   Owner Operator   Toll Charges                   34012 TOLLROAD SR73 CATALINA V         26.48
       3/7/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
       3/7/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/7/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       3/7/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.07
       3/7/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.13
       3/7/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
       3/7/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/7/2020    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00426580 - PO System           171.8
       3/7/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
       3/7/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       3/7/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       3/7/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       3/7/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.21
       3/7/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.18
       3/7/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.39
       3/7/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.79
       3/7/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
       3/7/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 239236 Q13197 Lease            276.63
       3/7/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       3/7/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
       3/7/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
       3/7/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       3/7/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/7/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       3/7/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
       3/7/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       3/7/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.32
       3/7/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.82
       3/7/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
       3/7/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
       3/7/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
       3/7/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
       3/7/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/7/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       3/7/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       3/7/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       3/7/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.56
       3/7/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.99
       3/7/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.38
       3/7/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
       3/7/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
       3/7/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
       3/7/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       3/7/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       3/7/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
       3/7/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.08
       3/7/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
       3/7/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
       3/7/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       3/7/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       3/7/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.43
       3/7/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16

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       3/7/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       3/7/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       3/7/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       3/7/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       3/7/2020    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                     9.84
       3/7/2020    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                     9.84
       3/7/2020    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
       3/7/2020    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
       3/7/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/7/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/7/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.44
       3/7/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.64
       3/7/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.37
       3/7/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.51
       3/7/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.25
       3/7/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.43
       3/7/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.55
       3/7/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           2.48
       3/7/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
       3/7/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        37.5
       3/7/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            40.22
       3/7/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
       3/7/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 238940 Q13159 Lease             331.5
       3/7/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 239228 Q13159 Lease             331.5
       3/7/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/7/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       3/7/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       3/7/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            150
       3/7/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       3/7/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.76
       3/7/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.43
       3/7/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.01
       3/7/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
       3/7/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
       3/7/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/7/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
       3/7/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
       3/7/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
       3/7/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware 33483                           8
       3/7/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.83
       3/7/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.15
       3/7/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   KT0055   Owner Operator   Permits1                       ID06:2020 - 33483                       10.3
       3/7/2020    709   KT0055   Owner Operator   Permits1                       IL02:2020 - 33483                       3.75
       3/7/2020    709   KT0055   Owner Operator   Permits1                       NM07:2020 - 33483                         10
       3/7/2020    709   KT0055   Owner Operator   Permits1                       NY13:2019 - 33483                        1.5
       3/7/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
       3/7/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.13
       3/7/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 239193 33483 Lease 208         335.48
       3/7/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       3/7/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       3/7/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
       3/7/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 239189 Balloon Pay off         200.15
       3/7/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
       3/7/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       3/7/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.83
       3/7/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
       3/7/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/7/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       3/7/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.06
       3/7/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.04
       3/7/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.91
       3/7/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.18
       3/7/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       3/7/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
       3/7/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       3/7/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       3/7/2020    709   MD0122   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
       3/7/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            300
       3/7/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                             400
       3/7/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
       3/7/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.51
       3/7/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
       3/7/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
       3/7/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
       3/7/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.13
       3/7/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.88
       3/7/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.22
       3/7/2020    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
       3/7/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                39.3
       3/7/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 239192 Lease Q13199            263.91
       3/7/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       3/7/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       3/7/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.44
       3/7/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.93
       3/7/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
       3/7/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       3/7/2020    709   MM0093   Owner Operator   Broker Pay Void/Reissue        Vd Statement Only                     -23.41
       3/7/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/7/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
       3/7/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            750
       3/7/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             260
       3/7/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.6
       3/7/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.78
       3/7/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
       3/7/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       3/7/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       3/7/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       3/7/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
       3/7/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
       3/7/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
       3/7/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
       3/7/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.97
       3/7/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.94
       3/7/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.57
       3/7/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
       3/7/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       3/7/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
       3/7/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       3/7/2020    709   NB0029   Owner Operator   Toll Charges                   32986 NTTA Plaza 10 - Irving             2.4
       3/7/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 239228 32986 Lease             314.03
       3/7/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       3/7/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       3/7/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             160
       3/7/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
       3/7/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.62
       3/7/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.1
       3/7/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
       3/7/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       3/7/2020    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           8
       3/7/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
       3/7/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       3/7/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       3/7/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.12
       3/7/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
       3/7/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
       3/7/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          237.4

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       3/7/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       3/7/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
       3/7/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/7/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.67
       3/7/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.83
       3/7/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.26
       3/7/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.18
       3/7/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.01
       3/7/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
       3/7/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 239191 Q1241 Truck leas        321.84
       3/7/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       3/7/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       3/7/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.41
       3/7/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.17
       3/7/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.34
       3/7/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
       3/7/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       3/7/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/7/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       3/7/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
       3/7/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          485.6
       3/7/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
       3/7/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
       3/7/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/7/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       3/7/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/7/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       3/7/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.33
       3/7/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.03
       3/7/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.95
       3/7/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.51
       3/7/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
       3/7/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
       3/7/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
       3/7/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       3/7/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           8
       3/7/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
       3/7/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.88
       3/7/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.54
       3/7/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
       3/7/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
       3/7/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       3/7/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       3/7/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
       3/7/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       3/7/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       3/7/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.93
       3/7/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.91
       3/7/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
       3/7/2020    709   RM0026   Owner Operator   Tire Fee                       Tire Fee: 2390911                         16
       3/7/2020    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00427030 - PO System          753.08
       3/7/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       3/7/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       3/7/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
       3/7/2020    709   RR0123   Owner Operator   Advance                        402-118042 s/u $250/wk                  250
       3/7/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
       3/7/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
       3/7/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware 33488                           8
       3/7/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.42
       3/7/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.16
       3/7/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.55
       3/7/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       3/7/2020    709   RR0123   Owner Operator   Permits1                       ID06:2020 - 33488                       10.3
       3/7/2020    709   RR0123   Owner Operator   Permits1                       IL02:2020 - 33488                       3.75
       3/7/2020    709   RR0123   Owner Operator   Permits1                       NM07:2020 - 33488                         10
       3/7/2020    709   RR0123   Owner Operator   Permits1                       NY13:2019 - 33488                        1.5
       3/7/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.13
       3/7/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
       3/7/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 239193 33488 Lease $335        335.48
       3/7/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       3/7/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       3/7/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       3/7/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.39
       3/7/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.11
       3/7/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.71
       3/7/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
       3/7/2020    709   SB0009   Owner Operator   Loan Repayment                 Loan # 00010 - Loan Repayment         344.15
       3/7/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
       3/7/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       3/7/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       3/7/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       3/7/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
       3/7/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.07
       3/7/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          307.1
       3/7/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.66
       3/7/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          386.6
       3/7/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.31
       3/7/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.93
       3/7/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
       3/7/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       3/7/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 238528 Sub Lease               388.33
       3/7/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 238839 Sub Lease               388.33
       3/7/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 239151 Sub Lease               388.33
       3/7/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       3/7/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
       3/7/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           316
       3/7/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           145
       3/7/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.59
       3/7/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
       3/7/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         357.16
       3/7/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
       3/7/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       3/7/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       3/7/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       3/7/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.76
       3/7/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.41
       3/7/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                            0.2
       3/7/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.55
       3/7/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.33
       3/7/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
       3/7/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       3/7/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       3/7/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.32
       3/7/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
       3/7/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
       3/7/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
       3/7/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/7/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       3/7/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       3/7/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.18
       3/7/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.29
       3/7/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43

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       3/7/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
       3/7/2020    709   WB0062   Owner Operator   Advance                        11/04/19 Clm 76461-1 s/u 8 wks          250
       3/7/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       3/7/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
       3/7/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
       3/7/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       3/7/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       3/7/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
       3/7/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.93
       3/7/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.76
       3/7/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
       3/7/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 239194 Q1238 Lease             311.97
       3/7/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       3/7/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       3/7/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.86
       3/7/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          87.75
       3/7/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.96
       3/7/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
       3/7/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       3/7/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
       3/7/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware 34900                           8
       3/7/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.31
       3/7/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.84
       3/7/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.38
       3/7/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.64
       3/7/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.39
       3/7/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - 34900                       100
       3/7/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   BS0078   Owner Operator   Permits                        NM07:2020 - 34900                      11.55
       3/7/2020    742   BS0078   Owner Operator   Permits                        NY13:2020 - 34900                        1.5
       3/7/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
       3/7/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
       3/7/2020    742   BS0078   Owner Operator   Truck Payment                  CTMS - 238574 Lease of Q13151         388.16
       3/7/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       3/7/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33832                          13
       3/7/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33987                           8
       3/7/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          268.9
       3/7/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.46
       3/7/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.42
       3/7/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.98
       3/7/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.09
       3/7/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
       3/7/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       3/7/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       3/7/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.33
       3/7/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.33
       3/7/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.06
       3/7/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       3/7/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       3/7/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/7/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       3/7/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.07
       3/7/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           225
       3/7/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.01
       3/7/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.83
       3/7/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          312.2
       3/7/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
       3/7/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19

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       3/7/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/7/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       3/7/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.13
       3/7/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.17
       3/7/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.44
       3/7/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         677.85
       3/7/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       3/7/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       3/7/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       3/7/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       3/7/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.72
       3/7/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.53
       3/7/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.75
       3/7/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
       3/7/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       3/7/2020    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Bell             2
       3/7/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 238654 Trk 33487 Lease          434.2
       3/7/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 238940 Trk 33487 Lease          434.2
       3/7/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       3/7/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       3/7/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.91
       3/7/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.96
       3/7/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.09
       3/7/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       3/7/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       3/7/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       3/7/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       3/7/2020    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
       3/7/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       3/7/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       3/7/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       3/7/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.12
       3/7/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           287
       3/7/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           130
       3/7/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.26
       3/7/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.33
       3/7/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.31
       3/7/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.66
       3/7/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.01
       3/7/2020    742   ED0041   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax        170.93
       3/7/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
       3/7/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.35
       3/7/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       27.33
       3/7/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       3/7/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       3/7/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       3/7/2020    742   ED0041   Owner Operator   Toll Charges                   32897 NTTA Plaza 10 - Irving             2.4
       3/7/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/7/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       3/7/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.8
       3/7/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.34
       3/7/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          329.7
       3/7/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
       3/7/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
       3/7/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       3/7/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       3/7/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
       3/7/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
       3/7/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       3/7/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       3/7/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       3/7/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
       3/7/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       3/7/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       3/7/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       3/7/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       3/7/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          76.67
       3/7/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       3/7/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
       3/7/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
       3/7/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/7/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       3/7/2020    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
       3/7/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       3/7/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
       3/7/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       3/7/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       3/7/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           6.13
       3/7/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.65
       3/7/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.85
       3/7/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
       3/7/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
       3/7/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  104.35
       3/7/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
       3/7/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         351.95
       3/7/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
       3/7/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       3/7/2020    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
       3/7/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       3/7/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       3/7/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       3/7/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       3/7/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       3/7/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.95
       3/7/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.24
       3/7/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.99
       3/7/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.53
       3/7/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.31
       3/7/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.02
       3/7/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.89
       3/7/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.41
       3/7/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
       3/7/2020    742   RF0136   Owner Operator   Repair Order                   CTMS - 238749 repair                   45.89
       3/7/2020    742   RF0136   Owner Operator   Tire Fee                       Tire Fee: 2390813                          8
       3/7/2020    742   RF0136   Owner Operator   Tire Purchase                  PO: 742-00427516 - PO System          174.09
       3/7/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       3/7/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       3/7/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.36
       3/7/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.23
       3/7/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.24
       3/7/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.33
       3/7/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.9
       3/7/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
       3/7/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       3/7/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       3/7/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       3/7/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
       3/7/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       3/7/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       3/7/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       3/7/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.08
       3/7/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.68
       3/7/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.93
       3/7/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          393.9
       3/7/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
       3/7/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       3/7/2020    742   TC0098   Owner Operator   Toll Charges                   33489 E470 104TH AVE                    2.05
       3/7/2020    742   TC0098   Owner Operator   Toll Charges                   33489 E470 PLAZA E                      18.6
       3/7/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 238655 33489 Lease Paym        412.16
       3/7/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 238940 33489 Lease Paym        412.16
       3/7/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       3/7/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       3/7/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.97
       3/7/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       38.5

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       3/7/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       3/7/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
       3/7/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
       3/7/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       3/7/2020    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.27
       3/7/2020    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.26
       3/7/2020    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.56
       3/7/2020    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.02
       3/7/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       3/7/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           76.2
       3/7/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      3/14/2020    406   GA0051   Owner Operator   Tractor Charge                 16488 - 34330                         260.44
      3/14/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      3/14/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      3/14/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/14/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.23
      3/14/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.15
      3/14/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.45
      3/14/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      3/14/2020    709   AC0061   Owner Operator   Tire Purchase                  PO: 709-00427034 - PO System          197.77
      3/14/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 239601 Q13148 Trac Leas        296.09
      3/14/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      3/14/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      3/14/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.22
      3/14/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             8.02
      3/14/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      3/14/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 239506 TRUCK RENTAL              500
      3/14/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      3/14/2020    709   AR0064   Owner Operator   Communication Charge           PNet Hware q13147                          8
      3/14/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          268.5
      3/14/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.82
      3/14/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.87
      3/14/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.97
      3/14/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.08
      3/14/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      3/14/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 239507 Past due tractor        125.75
      3/14/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 239508 Q13147 Lease            440.14
      3/14/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      3/14/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      3/14/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      3/14/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          63.59
      3/14/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           96.5
      3/14/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.27
      3/14/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.59
      3/14/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.83
      3/14/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.55
      3/14/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      3/14/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 239554 Q13169 Sublease         352.68
      3/14/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      3/14/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      3/14/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      3/14/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      3/14/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      3/14/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      3/14/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/14/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/14/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.26
      3/14/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.91
      3/14/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      3/14/2020    709   CC0134   Owner Operator   Tire Purchase                  PO 905-03460839 s/u 3/7/20             83.23
      3/14/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 239459 Q13168 sub lease        352.68
      3/14/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/14/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      3/14/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.98
      3/14/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.33

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      3/14/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                       33.17
      3/14/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/14/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    24.07
      3/14/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      3/14/2020    709   CM0119   Owner Operator   Repair Order                   CTMS - 239369 REPAIR                       60
      3/14/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          506.17
      3/14/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      3/14/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                            8
      3/14/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/14/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/14/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.62
      3/14/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           48.32
      3/14/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          226.75
      3/14/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.44
      3/14/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           165.8
      3/14/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/14/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 32.89
      3/14/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 239502 Q1247 Sub Lease          263.91
      3/14/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL              8.75
      3/14/2020    709   CV0028   Owner Operator   Communication Charge           PNet Hware 33482                            8
      3/14/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                              50
      3/14/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.73
      3/14/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          391.17
      3/14/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.52
      3/14/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.52
      3/14/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.31
      3/14/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/14/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD              68.18
      3/14/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 239458 Lease Truck 3348         335.96
      3/14/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      3/14/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      3/14/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.04
      3/14/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          255.73
      3/14/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.97
      3/14/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.19
      3/14/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          278.71
      3/14/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00014 - Loan Repayment           355.3
      3/14/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/14/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    35.11
      3/14/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      3/14/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware q1245                            8
      3/14/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      3/14/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      3/14/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          243.73
      3/14/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          659.69
      3/14/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           408.3
      3/14/2020    709   DL0107   Owner Operator   Loan Repayment                 Conditional Credit/Loan              -2358.54
      3/14/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/14/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 67.46
      3/14/2020    709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                        23.35
      3/14/2020    709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                  2335.19
      3/14/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 239456 Baloon payoff            350.23
      3/14/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 239570 TRUCK                      500
      3/14/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                    8.75
      3/14/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                            8
      3/14/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/14/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/14/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/14/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/14/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          203.73
      3/14/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          405.99
      3/14/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.87
      3/14/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/14/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                    114.7
      3/14/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                      26
      3/14/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      3/14/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
      3/14/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           1000
      3/14/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          592.18
      3/14/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/14/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       40.11
      3/14/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      3/14/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                           13

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      3/14/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.08
      3/14/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.44
      3/14/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.4
      3/14/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.04
      3/14/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.09
      3/14/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      3/14/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/14/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      3/14/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/14/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.05
      3/14/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          505.2
      3/14/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      3/14/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      3/14/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      3/14/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      3/14/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      3/14/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.66
      3/14/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           6.69
      3/14/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.73
      3/14/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      3/14/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      3/14/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      3/14/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      3/14/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/14/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/14/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/14/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/14/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.53
      3/14/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.37
      3/14/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.69
      3/14/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      3/14/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      3/14/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 239554 truck lease 3304        434.29
      3/14/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/14/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      3/14/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         600.77
      3/14/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      3/14/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/14/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      3/14/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      3/14/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/14/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            400
      3/14/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      3/14/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/14/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.03
      3/14/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.45
      3/14/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.38
      3/14/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.01
      3/14/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      3/14/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      3/14/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 239504 Q1200 Lease             238.16
      3/14/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      3/14/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      3/14/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.81
      3/14/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      3/14/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      3/14/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      3/14/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      3/14/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/14/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/14/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.74
      3/14/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.34
      3/14/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.61
      3/14/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.61
      3/14/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.53
      3/14/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      3/14/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 239599 Q1109 Lease             302.85
      3/14/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      3/14/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      3/14/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.51
      3/14/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.08
      3/14/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      3/14/2020    709   HC0023   Owner Operator   Tire Purchase                  PO: 709-00424491 - PO System          395.52
      3/14/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 239507 Q13170                  352.68
      3/14/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      3/14/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      3/14/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          322.1
      3/14/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         665.69
      3/14/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      3/14/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/14/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      3/14/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/14/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/14/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.75
      3/14/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.47
      3/14/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.74
      3/14/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.54
      3/14/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.22
      3/14/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.04
      3/14/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.15
      3/14/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/14/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      3/14/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      3/14/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          375.6
      3/14/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.85
      3/14/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      3/14/2020    709   IA0007   Owner Operator   Repair Order                   CTMS - 239370 REPAIR                    200
      3/14/2020    709   IA0007   Owner Operator   Truck Payment                  CTMS - 239569 TRUCK RENTAL              100
      3/14/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      3/14/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/14/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      3/14/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.64
      3/14/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.64
      3/14/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      3/14/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/14/2020    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00426580 - PO System           171.8
      3/14/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      3/14/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      3/14/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      3/14/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      3/14/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.28
      3/14/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.85
      3/14/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.7
      3/14/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      3/14/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 239508 Q13197 Lease            276.63

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      3/14/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      3/14/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      3/14/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/14/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     12.03
      3/14/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      3/14/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/14/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      3/14/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/14/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      3/14/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.5
      3/14/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        443.25
      3/14/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     33.17
      3/14/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment        414.93
      3/14/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/14/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  28.08
      3/14/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        490.64
      3/14/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/14/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      3/14/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/14/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      3/14/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        483.68
      3/14/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        457.14
      3/14/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        502.07
      3/14/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     33.17
      3/14/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/14/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   76.2
      3/14/2020    709   JG0072   Owner Operator   Repair Order                   CTMS - 239370 REPAIR                     70
      3/14/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        499.05
      3/14/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      3/14/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      3/14/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                          8
      3/14/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         15.59
      3/14/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        110.88
      3/14/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        185.77
      3/14/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/14/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  20.06
      3/14/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  16.05
      3/14/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      3/14/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      3/14/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        403.31
      3/14/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/14/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            60.16
      3/14/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 239509 Balloon Payoff         234.05
      3/14/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      3/14/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75
      3/14/2020    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                         8
      3/14/2020    709   JS0265   Owner Operator   ESCROW                         Escrow Withdrawal                    -10000
      3/14/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/14/2020    709   JS0265   Owner Operator   Express Check                  T-Check Payment                       10000
      3/14/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/14/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/14/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        195.26
      3/14/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        154.63
      3/14/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.05
      3/14/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.92
      3/14/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        161.47
      3/14/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        229.95
      3/14/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        166.49
      3/14/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/14/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       38.5
      3/14/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD           41.31
      3/14/2020    709   JS0265   Owner Operator   Toll Charges                   Q13159 NTTA Exit SHT-SHIP-21            3.5
      3/14/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 239501 Q13159 Lease            331.5
      3/14/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/14/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      3/14/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/14/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/14/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/14/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/14/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/14/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           270

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      3/14/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      3/14/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           166
      3/14/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.47
      3/14/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.85
      3/14/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      3/14/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      3/14/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/14/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      3/14/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      3/14/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware 33483                           8
      3/14/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.71
      3/14/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          352.4
      3/14/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.04
      3/14/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.86
      3/14/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.5
      3/14/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.94
      3/14/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.74
      3/14/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.23
      3/14/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      3/14/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 239458 33483 Lease 208         335.48
      3/14/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      3/14/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      3/14/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      3/14/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 239458 Balloon Pay off         200.15
      3/14/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      3/14/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      3/14/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          643.1
      3/14/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      3/14/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/14/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      3/14/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.1
      3/14/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.08
      3/14/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.44
      3/14/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      3/14/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      3/14/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      3/14/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      3/14/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          139.1
      3/14/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.27
      3/14/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.46
      3/14/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.03
      3/14/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      3/14/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      3/14/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      3/14/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          346.5
      3/14/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.58
      3/14/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.07
      3/14/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.56
      3/14/2020    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      3/14/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                39.3
      3/14/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 239457 Lease Q13199            263.91
      3/14/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/14/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      3/14/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.23
      3/14/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.8
      3/14/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.03
      3/14/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      3/14/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/14/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/14/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      3/14/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           750
      3/14/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            180
      3/14/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.8
      3/14/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.93

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      3/14/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      3/14/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/14/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      3/14/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      3/14/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      3/14/2020    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -3250
      3/14/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      3/14/2020    709   NB0029   Owner Operator   Express Check                  T-Check Payment                         3250
      3/14/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/14/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          172.1
      3/14/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.28
      3/14/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      3/14/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      3/14/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      3/14/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      3/14/2020    709   NB0029   Owner Operator   Repair Order                   CTMS - 239370 REPAIR                  417.99
      3/14/2020    709   NB0029   Owner Operator   Toll Charges                   32986 NTTA Lower Tarrant Mainl           6.6
      3/14/2020    709   NB0029   Owner Operator   Toll Charges                   32986 NTTA Plaza 10 - Irving             2.4
      3/14/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 239501 32986 Lease             314.03
      3/14/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      3/14/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      3/14/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              50
      3/14/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             140
      3/14/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      3/14/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      3/14/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.9
      3/14/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.7
      3/14/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      3/14/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      3/14/2020    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           8
      3/14/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      3/14/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/14/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      3/14/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.04
      3/14/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.94
      3/14/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      3/14/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
      3/14/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          237.4
      3/14/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      3/14/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      3/14/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         541.72
      3/14/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.88
      3/14/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      3/14/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      3/14/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/14/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      3/14/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            300
      3/14/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         621.97
      3/14/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      3/14/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      3/14/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/14/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      3/14/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/14/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      3/14/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/14/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/14/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/14/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.08
      3/14/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.18
      3/14/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                            100
      3/14/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.64
      3/14/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      3/14/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63

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      3/14/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      3/14/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      3/14/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           8
      3/14/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      3/14/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.97
      3/14/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.58
      3/14/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         635.41
      3/14/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      3/14/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      3/14/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      3/14/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      3/14/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      3/14/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      3/14/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      3/14/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.35
      3/14/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.07
      3/14/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      3/14/2020    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00427030 - PO System          753.08
      3/14/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      3/14/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      3/14/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.31
      3/14/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      3/14/2020    709   RR0123   Owner Operator   Advance                        402-118042 s/u $250/wk                  250
      3/14/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      3/14/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware 33488                           8
      3/14/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/14/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/14/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.48
      3/14/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.26
      3/14/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.92
      3/14/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.49
      3/14/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      3/14/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA KTY WB @ Eldridge              7
      3/14/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA KTY WB @ Wirt                  7
      3/14/2020    709   RR0123   Owner Operator   Toll Charges                   33488 NTTA Exit KTY-WLCRW-01               7
      3/14/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 239458 33488 Lease $335        335.48
      3/14/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      3/14/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      3/14/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/14/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/14/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/14/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.81
      3/14/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           14.9
      3/14/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.92
      3/14/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.39
      3/14/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.99
      3/14/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                      33.17
      3/14/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      3/14/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      3/14/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      3/14/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      3/14/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/14/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.21
      3/14/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.55
      3/14/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.29
      3/14/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.88
      3/14/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      3/14/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      3/14/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 239414 Sub Lease               388.33
      3/14/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      3/14/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      3/14/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.81
      3/14/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                             15
      3/14/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           218
      3/14/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.17

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      3/14/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                      33.17
      3/14/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         357.16
      3/14/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      3/14/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      3/14/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      3/14/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      3/14/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/14/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/14/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/14/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/14/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.01
      3/14/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.03
      3/14/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.36
      3/14/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.85
      3/14/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      3/14/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      3/14/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      3/14/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.51
      3/14/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         604.34
      3/14/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      3/14/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      3/14/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/14/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      3/14/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/14/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
      3/14/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      3/14/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.84
      3/14/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.39
      3/14/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.59
      3/14/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.42
      3/14/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      3/14/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      3/14/2020    709   WB0062   Owner Operator   Advance                        11/04/19 Clm 76461-1 s/u 8 wks          250
      3/14/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      3/14/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      3/14/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      3/14/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      3/14/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      3/14/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      3/14/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.58
      3/14/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.22
      3/14/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.01
      3/14/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.95
      3/14/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.18
      3/14/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.6
      3/14/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      3/14/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 239459 Q1238 Lease             311.97
      3/14/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      3/14/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      3/14/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/14/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/14/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/14/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/14/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.37
      3/14/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.77
      3/14/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      3/14/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      3/14/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      3/14/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware 34900                           8
      3/14/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.54
      3/14/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.13
      3/14/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.31

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      3/14/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          285.8
      3/14/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - 34900                       100
      3/14/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      3/14/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      3/14/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      3/14/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33987                           8
      3/14/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.82
      3/14/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         586.91
      3/14/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      3/14/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      3/14/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      3/14/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.61
      3/14/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.89
      3/14/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.14
      3/14/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
      3/14/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      3/14/2020    742   CT0085   Owner Operator   Toll Charges                   Q13171 BATA Antioch Bridge                26
      3/14/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 239509 re-do of truck l        525.75
      3/14/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/14/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      3/14/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.12
      3/14/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      3/14/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.01
      3/14/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          64.11
      3/14/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           202
      3/14/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      3/14/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/14/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      3/14/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.84
      3/14/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.16
      3/14/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.29
      3/14/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      3/14/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      3/14/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/14/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/14/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          348.2
      3/14/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.26
      3/14/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.73
      3/14/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.57
      3/14/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
      3/14/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      3/14/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Exit HDY-HDYN-04                7
      3/14/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Exit HDY-HDYS-10                7
      3/14/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 239227 Trk 33487 Lease          434.2
      3/14/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 239500 Trk 33487 Lease          434.2
      3/14/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/14/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      3/14/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.57
      3/14/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         559.33
      3/14/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.55
      3/14/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.09
      3/14/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/14/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      3/14/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      3/14/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.4
      3/14/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           203
      3/14/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.26
      3/14/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.35
      3/14/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.62
      3/14/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      3/14/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      3/14/2020    742   ED0041   Owner Operator   Toll Charges                   32897 NTTA Plaza 10 - Irving             2.4
      3/14/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/14/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13

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      3/14/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.12
      3/14/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.68
      3/14/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.33
      3/14/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          157.1
      3/14/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      3/14/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      3/14/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/14/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      3/14/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
      3/14/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
      3/14/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      3/14/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      3/14/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      3/14/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      3/14/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      3/14/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/14/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/14/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.47
      3/14/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      3/14/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      3/14/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      3/14/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      3/14/2020    742   JB0465   Owner Operator   Toll Charges                   34804 E470 PLAZA D                      18.6
      3/14/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      3/14/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      3/14/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      3/14/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/14/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/14/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/14/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/14/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/14/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/14/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/14/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/14/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/14/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/14/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/14/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/14/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/14/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/14/2020    742   NG0024   Owner Operator   FUEL TAX                       November 2019 Fuel/Mileage Tax        187.91
      3/14/2020    742   NG0024   Owner Operator   FUEL TAX                       October 2019 Fuel/Mileage Tax         353.56
      3/14/2020    742   NG0024   Owner Operator   FUEL TAX                       Sept 2019 Fuel/Mileage Tax            377.76
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          42.56
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   NG0024   Owner Operator   Permits                        ID06:2020 - 33252                       10.3
      3/14/2020    742   NG0024   Owner Operator   Permits                        IL02:2020 - 33252                       3.75
      3/14/2020    742   NG0024   Owner Operator   Permits                        NM07:2020 - 33252                         10
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76

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      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             68.71
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.76
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            100.79
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/14/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/14/2020    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 10                 26
      3/14/2020    742   NG0024   Owner Operator   Toll Charges                   33252 E470 PLAZA C                      12.9
      3/14/2020    742   NG0024   Owner Operator   Toll Charges                   33252 E470 PLAZA D                      18.6
      3/14/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      3/14/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      3/14/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            140
      3/14/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      3/14/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.84
      3/14/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.9
      3/14/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.71
      3/14/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.63
      3/14/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      3/14/2020    742   RF0136   Owner Operator   Tire Purchase                  PO: 742-00427516 - PO System          174.09
      3/14/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      3/14/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      3/14/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.42
      3/14/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          405.9
      3/14/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.13
      3/14/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.65
      3/14/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      3/14/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      3/14/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 239509 Balloon Payoff          335.75
      3/14/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/14/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      3/14/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      3/14/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      3/14/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      3/14/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      3/14/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.08
      3/14/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.23
      3/14/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.06
      3/14/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      3/14/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      3/14/2020    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Route 80 (West)             5.1
      3/14/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 239228 33489 Lease Paym        412.16
      3/14/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 239501 33489 Lease Paym        412.16
      3/14/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/14/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      3/14/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.38
      3/14/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.63
      3/14/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/14/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       38.5
      3/14/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/14/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      3/14/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      3/14/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      3/14/2020    843   EI0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.59
      3/14/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      3/14/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           76.2
      3/14/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      3/21/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      3/21/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      3/21/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/21/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.9
      3/21/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.25
      3/21/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.55
      3/21/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.79
      3/21/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.88
      3/21/2020    709   AC0061   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         389.79
      3/21/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      3/21/2020    709   AC0061   Owner Operator   Tire Purchase                  PO: 709-00427034 - PO System          197.77
      3/21/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 239845 Q13148 Trac Leas        296.09
      3/21/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      3/21/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      3/21/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.95
      3/21/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.78
      3/21/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             8.02
      3/21/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      3/21/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 239754 TRUCK RENTAL              500
      3/21/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      3/21/2020    709   AR0064   Owner Operator   Communication Charge           PNet Hware q13147                          8
      3/21/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.73
      3/21/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.1
      3/21/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.88
      3/21/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.43
      3/21/2020    709   AR0064   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax           0.06
      3/21/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      3/21/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 239755 Past due tractor        125.75
      3/21/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 239756 Q13147 Lease            440.14
      3/21/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      3/21/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      3/21/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      3/21/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          55.35
      3/21/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.25
      3/21/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.93
      3/21/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.16
      3/21/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.55
      3/21/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.5
      3/21/2020    709   AV0021   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax           74.8
      3/21/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      3/21/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 239804 Q13169 Sublease         352.68
      3/21/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      3/21/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      3/21/2020    709   BM0030   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         738.51
      3/21/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      3/21/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      3/21/2020    709   BM0030   Owner Operator   Repair Order                   CTMS - 239630 Repair                    159
      3/21/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      3/21/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      3/21/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/21/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/21/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.78
      3/21/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.88
      3/21/2020    709   CC0134   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          174.1
      3/21/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      3/21/2020    709   CC0134   Owner Operator   Tire Purchase                  PO 905-03460839 s/u 3/7/20             83.23
      3/21/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 239707 Q13168 sub lease        352.68
      3/21/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/21/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      3/21/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/21/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3

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      3/21/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                           593.6
      3/21/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          565.28
      3/21/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                       33.17
      3/21/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/21/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    24.07
      3/21/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      3/21/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          506.17
      3/21/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      3/21/2020    709   CR0064   Owner Operator   Broker Pre Pass                DRWZ charges 3 mths                    -29.52
      3/21/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                            8
      3/21/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/21/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/21/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/21/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/21/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.73
      3/21/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.02
      3/21/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          125.66
      3/21/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.96
      3/21/2020    709   CR0064   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax             8.3
      3/21/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/21/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 32.89
      3/21/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 239750 Q1247 Sub Lease          263.91
      3/21/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL              8.75
      3/21/2020    709   CV0028   Owner Operator   Communication Charge           PNet Hware 33482                            8
      3/21/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                              50
      3/21/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          444.27
      3/21/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.99
      3/21/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/21/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD              68.18
      3/21/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 239705 Lease Truck 3348         335.96
      3/21/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      3/21/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.18
      3/21/2020    709   DL0029   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax            52.6
      3/21/2020    709   DL0029   Owner Operator   Loan Repayment                 Balance of Loan 14                    2463.04
      3/21/2020    709   DL0029   Owner Operator   Loan Repayment                 EFS 241520, Ln Bal 14                -7484.95
      3/21/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/21/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                       22
      3/21/2020    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        49.72
      3/21/2020    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair 33850                  4972.19
      3/21/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      3/21/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware q1245                            8
      3/21/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/21/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      3/21/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      3/21/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/21/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          524.49
      3/21/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           502.6
      3/21/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          260.49
      3/21/2020    709   DL0107   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax           11.23
      3/21/2020    709   DL0107   Owner Operator   Loan Repayment                 Conditional Credit/Loan               2358.54
      3/21/2020    709   DL0107   Owner Operator   Loan Repayment                 EFS 240775                           -2358.54
      3/21/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment          265.09
      3/21/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/21/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 67.46
      3/21/2020    709   DL0107   Owner Operator   Repair Order                   Conditional Credit, rvrs 3/28        -2329.81
      3/21/2020    709   DL0107   Owner Operator   Repair Order                   TRACTOR Q1245                         2329.81
      3/21/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 239704 Baloon payoff            350.23
      3/21/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      3/21/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      3/21/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      3/21/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          174.36
      3/21/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          103.56
      3/21/2020    709   DM0257   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          598.24
      3/21/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/21/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/21/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/21/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    19.17
      3/21/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    19.17
      3/21/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    19.17
      3/21/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      3/21/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      3/21/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      3/21/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                    8.75

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      3/21/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                           8
      3/21/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          328.8
      3/21/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.83
      3/21/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.62
      3/21/2020    709   DS0049   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         391.86
      3/21/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      3/21/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      3/21/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      3/21/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      3/21/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      3/21/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.33
      3/21/2020    709   DS0225   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         -61.52
      3/21/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      3/21/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      3/21/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      3/21/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.59
      3/21/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.97
      3/21/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.31
      3/21/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.69
      3/21/2020    709   DS0288   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         241.89
      3/21/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      3/21/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/21/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      3/21/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/21/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.96
      3/21/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          418.4
      3/21/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.99
      3/21/2020    709   EA0003   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax           82.3
      3/21/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                      33.17
      3/21/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      3/21/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      3/21/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      3/21/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      3/21/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/21/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/21/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.36
      3/21/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          205.1
      3/21/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.11
      3/21/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      3/21/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      3/21/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      3/21/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      3/21/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      3/21/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      3/21/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/21/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/21/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.01
      3/21/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.93

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      3/21/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.62
      3/21/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.96
      3/21/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.28
      3/21/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.97
      3/21/2020    709   EO0014   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         577.34
      3/21/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      3/21/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      3/21/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      3/21/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      3/21/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      3/21/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      3/21/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.09
      3/21/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.55
      3/21/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.36
      3/21/2020    709   FS0039   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          93.42
      3/21/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      3/21/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 239804 truck lease 3304        434.29
      3/21/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/21/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      3/21/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         643.96
      3/21/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      3/21/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/21/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      3/21/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      3/21/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.47
      3/21/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.98
      3/21/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.61
      3/21/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      3/21/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      3/21/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 239752 Q1200 Lease             238.16
      3/21/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      3/21/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      3/21/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      3/21/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      3/21/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      3/21/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.43
      3/21/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.04
      3/21/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          436.3
      3/21/2020    709   GW0043   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          105.6
      3/21/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      3/21/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 239844 Q1109 Lease             302.85
      3/21/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      3/21/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      3/21/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.43
      3/21/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.1
      3/21/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.36
      3/21/2020    709   HC0023   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          33.25
      3/21/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      3/21/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 239755 Q13170                  352.68
      3/21/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      3/21/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      3/21/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      3/21/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         710.05
      3/21/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          366.2
      3/21/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      3/21/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/21/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      3/21/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.01
      3/21/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.09
      3/21/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.58
      3/21/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.94
      3/21/2020    709   HG0027   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         100.38
      3/21/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.15
      3/21/2020    709   HG0027   Owner Operator   Repair Order                   CTMS - 239866 REPAIR                      40
      3/21/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/21/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      3/21/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      3/21/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.29
      3/21/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.78
      3/21/2020    709   IA0007   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax        -110.52
      3/21/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      3/21/2020    709   IA0007   Owner Operator   Toll Charges                   34012 TOLLROAD SR73 CATALINA V         26.48
      3/21/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.35
      3/21/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/21/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      3/21/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.76
      3/21/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.48
      3/21/2020    709   IR0002   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         -42.53
      3/21/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      3/21/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/21/2020    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00426580 - PO System           171.8
      3/21/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    13.98
      3/21/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      3/21/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      3/21/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      3/21/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.18
      3/21/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.79
      3/21/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.48
      3/21/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.17
      3/21/2020    709   JC0292   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          38.78
      3/21/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      3/21/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 239756 Q13197 Lease            276.63
      3/21/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      3/21/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      3/21/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      3/21/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      3/21/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/21/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      3/21/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/21/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/21/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.02
      3/21/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.66
      3/21/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.22
      3/21/2020    709   JG0017   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          38.59
      3/21/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                      33.17
      3/21/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      3/21/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      3/21/2020    709   JG0017   Owner Operator   Toll Charges                   32908 BATA Bay Bridge                      7
      3/21/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      3/21/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/21/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      3/21/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/21/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/21/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.42

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      3/21/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          442.8
      3/21/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.82
      3/21/2020    709   JG0072   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         532.94
      3/21/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                      33.17
      3/21/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
      3/21/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      3/21/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      3/21/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      3/21/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      3/21/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.37
      3/21/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.08
      3/21/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      3/21/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
      3/21/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      3/21/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      3/21/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.63
      3/21/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      3/21/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 239747 Balloon Payoff          234.05
      3/21/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      3/21/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      3/21/2020    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      3/21/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      3/21/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.14
      3/21/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.42
      3/21/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          124.7
      3/21/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.94
      3/21/2020    709   JS0265   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax           61.3
      3/21/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      3/21/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
      3/21/2020    709   JS0265   Owner Operator   Toll Charges                   Q13159 E470 JEWELL AVE                  2.05
      3/21/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 239749 Q13159 Lease             331.5
      3/21/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/21/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      3/21/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/21/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      3/21/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           142
      3/21/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.02
      3/21/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           138
      3/21/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      3/21/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.02
      3/21/2020    709   KP0004   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         635.38
      3/21/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      33.17
      3/21/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      3/21/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/21/2020    709   KP0004   Owner Operator   Toll Charges                   32914 NTTA I35WN-820-24                 12.9
      3/21/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      3/21/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      3/21/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware 33483                           8
      3/21/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.26
      3/21/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.63
      3/21/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.32
      3/21/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.75
      3/21/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      3/21/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 239705 33483 Lease 208         335.48
      3/21/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      3/21/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      3/21/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      3/21/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 239705 Balloon Pay off         200.15
      3/21/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      3/21/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      3/21/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.69

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      3/21/2020    709   LS0023   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          37.49
      3/21/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      3/21/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/21/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      3/21/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.47
      3/21/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.2
      3/21/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.48
      3/21/2020    709   MA0092   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          46.72
      3/21/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      3/21/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      3/21/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      3/21/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      3/21/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.01
      3/21/2020    709   MD0122   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         316.41
      3/21/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      3/21/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      3/21/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      3/21/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.11
      3/21/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.76
      3/21/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.54
      3/21/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.54
      3/21/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.99
      3/21/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.25
      3/21/2020    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      3/21/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                39.3
      3/21/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 239704 Lease Q13199            263.91
      3/21/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/21/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      3/21/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.22
      3/21/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.89
      3/21/2020    709   MG0067   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         -21.85
      3/21/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      3/21/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/21/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/21/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      3/21/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         331.11
      3/21/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      3/21/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/21/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      3/21/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      3/21/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      3/21/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/21/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.63
      3/21/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.61
      3/21/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          364.9
      3/21/2020    709   NB0029   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax           334
      3/21/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      3/21/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      3/21/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      3/21/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      3/21/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 239749 32986 Lease             314.03
      3/21/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      3/21/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      3/21/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/21/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/21/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          76.58
      3/21/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.32
      3/21/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.19
      3/21/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      3/21/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      3/21/2020    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           8

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      3/21/2020    709   NT9564   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         186.13
      3/21/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      3/21/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/21/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      3/21/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.17
      3/21/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.56
      3/21/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.58
      3/21/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      33.17
      3/21/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
      3/21/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          237.4
      3/21/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      3/21/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.1
      3/21/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.25
      3/21/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.11
      3/21/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.53
      3/21/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.29
      3/21/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      3/21/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      3/21/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      3/21/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                           33.4
      3/21/2020    709   RC0030   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         -49.65
      3/21/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      3/21/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      3/21/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/21/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      3/21/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      3/21/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.93
      3/21/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.06
      3/21/2020    709   RL0017   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          -23.9
      3/21/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      33.17
      3/21/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      3/21/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/21/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      3/21/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/21/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      3/21/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.21
      3/21/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          474.2
      3/21/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.73
      3/21/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.45
      3/21/2020    709   RL0062   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         154.43
      3/21/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      33.17
      3/21/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      3/21/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      3/21/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      3/21/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           8
      3/21/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      3/21/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.18
      3/21/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      33.17
      3/21/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      3/21/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      3/21/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      3/21/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.48
      3/21/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      3/21/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      3/21/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.99
      3/21/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.16
      3/21/2020    709   RM0026   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         319.61
      3/21/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      3/21/2020    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00427030 - PO System          753.08
      3/21/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      3/21/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13

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      3/21/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          531.73
      3/21/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/21/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              60.16
      3/21/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 239676 Q1202 Balloon            234.05
      3/21/2020    709   RR0123   Owner Operator   Advance                        402-118042 s/u $250/wk                  50.23
      3/21/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL              8.75
      3/21/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/21/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/21/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/21/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/21/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.67
      3/21/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.04
      3/21/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                           320.4
      3/21/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/21/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD              38.29
      3/21/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      3/21/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                           13
      3/21/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      3/21/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/21/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/21/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.31
      3/21/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.65
      3/21/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                            22.1
      3/21/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           292.7
      3/21/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          223.76
      3/21/2020    709   SB0009   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          640.18
      3/21/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                       33.17
      3/21/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/21/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   103.68
      3/21/2020    709   SB0009   Owner Operator   Toll Charges                   33236 NTTA Plaza 10 - Irving              2.4
      3/21/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
      3/21/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      3/21/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      3/21/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      3/21/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.82
      3/21/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          260.95
      3/21/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.83
      3/21/2020    709   SB0103   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          301.61
      3/21/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/21/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD              61.34
      3/21/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      3/21/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 239667 Sub Lease                388.33
      3/21/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
      3/21/2020    709   SM0109   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax           143.5
      3/21/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       33.17
      3/21/2020    709   SM0109   Owner Operator   Loan Repayment                 Conditional Credit/Loan              -5605.63
      3/21/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          357.16
      3/21/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/21/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD               76.2
      3/21/2020    709   SM0109   Owner Operator   Repair Order                   CTMS - 239866 REPAIR                   -23.79
      3/21/2020    709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                         55.5
      3/21/2020    709   SM0109   Owner Operator   T Chek Fee                     Tractor Repair 33195                  5262.28
      3/21/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
      3/21/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      3/21/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      3/21/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/21/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/21/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/21/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/21/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/21/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/21/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          166.02
      3/21/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          177.96
      3/21/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.66
      3/21/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           192.2
      3/21/2020    709   SN0019   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          136.48
      3/21/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/21/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    44.12
      3/21/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      3/21/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                            8
      3/21/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            374
      3/21/2020    709   VB0015   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          -57.09
      3/21/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      3/21/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      3/21/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   154.84
      3/21/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/21/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      3/21/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/21/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.6
      3/21/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.75
      3/21/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.87
      3/21/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.11
      3/21/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          175.3
      3/21/2020    709   VJ0006   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         144.42
      3/21/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      3/21/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      3/21/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      3/21/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      3/21/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      3/21/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      3/21/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                           25.65
      3/21/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.28
      3/21/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.03
      3/21/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.8
      3/21/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.96
      3/21/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.73
      3/21/2020    742   AP0047   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         281.53
      3/21/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      3/21/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware 34900                           8
      3/21/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.25
      3/21/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.43
      3/21/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.93
      3/21/2020    742   BS0078   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          40.69
      3/21/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - 34900                       100
      3/21/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      3/21/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      3/21/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      3/21/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33987                           8
      3/21/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           428
      3/21/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.09
      3/21/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.35
      3/21/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.98
      3/21/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      3/21/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      3/21/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      3/21/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.93
      3/21/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
      3/21/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      3/21/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 239747 re-do of truck l        525.75
      3/21/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/21/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      3/21/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           110
      3/21/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.02
      3/21/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.46
      3/21/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.01
      3/21/2020    742   DA0067   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         254.76
      3/21/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      3/21/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/21/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      3/21/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          36.74
      3/21/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.77
      3/21/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          58.73
      3/21/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.28
      3/21/2020    742   DC0117   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          85.01

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      3/21/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      3/21/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      3/21/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/21/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/21/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.67
      3/21/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.54
      3/21/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.15
      3/21/2020    742   DS0254   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         507.87
      3/21/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
      3/21/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      3/21/2020    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Westpark - Beltway           0.5
      3/21/2020    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Westpark - Hillcro           3.5
      3/21/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Exit SHT-SAMS-08              3.5
      3/21/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Plaza 10 - Irving             2.4
      3/21/2020    742   DS0254   Owner Operator   Toll Charges                   33487 TOLLROAD SR73 CATALINA V         26.48
      3/21/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 239757 Trk 33487 Lease          434.2
      3/21/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/21/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      3/21/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.09
      3/21/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.29
      3/21/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.55
      3/21/2020    742   EA0039   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         163.64
      3/21/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.09
      3/21/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/21/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      3/21/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      3/21/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.54
      3/21/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          447.7
      3/21/2020    742   ED0041   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          80.16
      3/21/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      3/21/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      3/21/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/21/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      3/21/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/21/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/21/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          139.4
      3/21/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.37
      3/21/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.73
      3/21/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.89
      3/21/2020    742   EN0016   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         237.98
      3/21/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      33.17
      3/21/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      3/21/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/21/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      3/21/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
      3/21/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
      3/21/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      3/21/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      3/21/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      3/21/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/21/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.09
      3/21/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.77
      3/21/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.89
      3/21/2020    742   JB0465   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         509.57
      3/21/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      3/21/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      3/21/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      3/21/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      3/21/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      3/21/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/21/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/21/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      3/21/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13

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      3/21/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/21/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/21/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          76.67
      3/21/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          76.67
      3/21/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/21/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/21/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            97.6
      3/21/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.6
      3/21/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             34.76
      3/21/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/21/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      3/21/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.56
      3/21/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/21/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/21/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      3/21/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      3/21/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/21/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/21/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/21/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/21/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.57
      3/21/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.62
      3/21/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.27
      3/21/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          140.9
      3/21/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.15
      3/21/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.35
      3/21/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.33
      3/21/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.54
      3/21/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.82
      3/21/2020    742   PC0012   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         313.27
      3/21/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      3/21/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      33.17
      3/21/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      3/21/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      3/21/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      3/21/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      3/21/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/21/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      3/21/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      3/21/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      3/21/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      3/21/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      3/21/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.01
      3/21/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.7
      3/21/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.72
      3/21/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.01
      3/21/2020    742   TC0098   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         -22.56
      3/21/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      3/21/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      3/21/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 239749 33489 Lease Paym        412.16
      3/21/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/21/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      3/21/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.05
      3/21/2020    742   TH0130   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         146.84
      3/21/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       38.5
      3/21/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/21/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      3/21/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      3/21/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/21/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           76.2
      3/21/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      3/28/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      3/28/2020    709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
      3/28/2020    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      3/28/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      3/28/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/28/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.41
      3/28/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.36

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      3/28/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.23
      3/28/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.82
      3/28/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.65
      3/28/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            36.88
      3/28/2020    709   AC0061   Owner Operator   Tire Purchase                  PO: 709-00427034 - PO System          197.77
      3/28/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 240080 Q13148 Trac Leas        296.09
      3/28/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      3/28/2020    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
      3/28/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      3/28/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             8.02
      3/28/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      3/28/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 239998 TRUCK RENTAL              500
      3/28/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      3/28/2020    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      3/28/2020    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      3/28/2020    709   AR0064   Owner Operator   Communication Charge           PNet Hware q13147                          8
      3/28/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.84
      3/28/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.94
      3/28/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.04
      3/28/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.53
      3/28/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            36.07
      3/28/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 239999 Past due tractor        125.75
      3/28/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 240001 Q13147 Lease            440.14
      3/28/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    59.95
      3/28/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      3/28/2020    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      3/28/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      3/28/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.23
      3/28/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.19
      3/28/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.14
      3/28/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.43
      3/28/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.41
      3/28/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           261
      3/28/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            36.07
      3/28/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 240050 Q13169 Sublease         352.68
      3/28/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      3/28/2020    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      3/28/2020    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      3/28/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      3/28/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      3/28/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      3/28/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      3/28/2020    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
      3/28/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      3/28/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/28/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/28/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/28/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/28/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.85
      3/28/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.19
      3/28/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          138.5
      3/28/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            36.07
      3/28/2020    709   CC0134   Owner Operator   Tire Purchase                  PO 905-03460839 s/u 3/7/20             83.23
      3/28/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 239959 Q13168 sub lease        352.68
      3/28/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/28/2020    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      3/28/2020    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      3/28/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      3/28/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/28/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/28/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.51
      3/28/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         609.81
      3/28/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2019 - 32920                      32.33
      3/28/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.04
      3/28/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/28/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17

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      3/28/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      3/28/2020    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                       9.84
      3/28/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                            8
      3/28/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/28/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/28/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          154.73
      3/28/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           70.51
      3/28/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.28
      3/28/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          155.75
      3/28/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 32.87
      3/28/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 239994 Q1247 Sub Lease          263.91
      3/28/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL              8.75
      3/28/2020    709   CV0028   Owner Operator   Broker Pre Pass                DriveWyze TRK33482                       9.84
      3/28/2020    709   CV0028   Owner Operator   Communication Charge           PNet Hware 33482                            8
      3/28/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                              50
      3/28/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.54
      3/28/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                           228.4
      3/28/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.99
      3/28/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                           95.59
      3/28/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          182.25
      3/28/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD              68.17
      3/28/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 239957 Lease Truck 3348         335.96
      3/28/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      3/28/2020    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                     12.5
      3/28/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      3/28/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                            8
      3/28/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          318.62
      3/28/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          131.92
      3/28/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          220.49
      3/28/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.65
      3/28/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment          258.52
      3/28/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment          258.52
      3/28/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    13.11
      3/28/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    35.11
      3/28/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      3/28/2020    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                       9.84
      3/28/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware q1245                            8
      3/28/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      3/28/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      3/28/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          457.13
      3/28/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          365.36
      3/28/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.33
      3/28/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment          265.09
      3/28/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 67.45
      3/28/2020    709   DL0107   Owner Operator   Repair Order                   Rvrs Cond Crdt gvn 3/21/20            2329.81
      3/28/2020    709   DL0107   Owner Operator   Repair Order                   TRACTOR Q1245                        -2329.81
      3/28/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 239956 Baloon payoff            350.23
      3/28/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      3/28/2020    709   DM0257   Owner Operator   Broker Pre Pass                34328 PrePass Device                     12.5
      3/28/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          220.04
      3/28/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    19.16
      3/28/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      3/28/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                    8.75
      3/28/2020    709   DS0049   Owner Operator   Broker Pre Pass                32915 PrePass Device                     12.5
      3/28/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                            8
      3/28/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/28/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/28/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/28/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/28/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/28/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/28/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.98
      3/28/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.51
      3/28/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          164.63
      3/28/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.69
      3/28/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                      26
      3/28/2020    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                     32.95

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      3/28/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      3/28/2020    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                       9.84
      3/28/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
      3/28/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           1000
      3/28/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          543.77
      3/28/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       40.09
      3/28/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      3/28/2020    709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                     12.5
      3/28/2020    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                       9.84
      3/28/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                           13
      3/28/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.86
      3/28/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          328.31
      3/28/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          259.72
      3/28/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.14
      3/28/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    43.11
      3/28/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      3/28/2020    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                     12.5
      3/28/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
      3/28/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      3/28/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/28/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/28/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/28/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/28/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          459.18
      3/28/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          546.92
      3/28/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2019 - 33051                       32.33
      3/28/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   108.28
      3/28/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                          545.75
      3/28/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
      3/28/2020    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                     12.5
      3/28/2020    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                       9.84
      3/28/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
      3/28/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.81
      3/28/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    43.11
      3/28/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
      3/28/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
      3/28/2020    709   EO0014   Owner Operator   Broker Pre Pass                33846 PrePass Device                     12.5
      3/28/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13
      3/28/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            100
      3/28/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             200
      3/28/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      3/28/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.04
      3/28/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          335.66
      3/28/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                  80.2
      3/28/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
      3/28/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
      3/28/2020    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                     12.5
      3/28/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
      3/28/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/28/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/28/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/28/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/28/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.39
      3/28/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          402.64
      3/28/2020    709   FS0039   Owner Operator   Loan Repayment                 Conditional Credit/Loan              -2334.33
      3/28/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              78.91
      3/28/2020    709   FS0039   Owner Operator   Repair Order                   CTMS - 239929 REPAIRS                    420
      3/28/2020    709   FS0039   Owner Operator   T Chek Fee                     ExpressCheck Fee                        18.36
      3/28/2020    709   FS0039   Owner Operator   T Chek Fee                     ExpressCheck Fee                         4.99
      3/28/2020    709   FS0039   Owner Operator   T Chek Fee                     Tractor Repair 33040                  1835.64
      3/28/2020    709   FS0039   Owner Operator   T Chek Fee                     Tractor Repair 33040                   498.69
      3/28/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 239939 TRUCK RENTAL               500
      3/28/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 240050 truck lease 3304         434.29
      3/28/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      3/28/2020    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                    12.5
      3/28/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                          13
      3/28/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                             200

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      3/28/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/28/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.22
      3/28/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.16
      3/28/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.09
      3/28/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/28/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      3/28/2020    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1200                      9.84
      3/28/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware 6572418                         8
      3/28/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      3/28/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      3/28/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      3/28/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.75
      3/28/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.57
      3/28/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.04
      3/28/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.67
      3/28/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 239996 Q1200 Lease             238.16
      3/28/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      3/28/2020    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      3/28/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      3/28/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.91
      3/28/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.09
      3/28/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      3/28/2020    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      3/28/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      3/28/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/28/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/28/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/28/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/28/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         109.06
      3/28/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.75
      3/28/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.93
      3/28/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      3/28/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 240079 Q1109 Lease             302.85
      3/28/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      3/28/2020    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      3/28/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      3/28/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.42
      3/28/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.04
      3/28/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            36.07
      3/28/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 240001 Q13170                  352.68
      3/28/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      3/28/2020    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                      9.84
      3/28/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      3/28/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.63
      3/28/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.11
      3/28/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         713.63
      3/28/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.64
      3/28/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/28/2020    709   IA0007   Owner Operator   Broker Pre Pass                34012 PrePass Device                    12.5
      3/28/2020    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      3/28/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      3/28/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      3/28/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.83
      3/28/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.41
      3/28/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    52.7
      3/28/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    21.34
      3/28/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/28/2020    709   IR0002   Owner Operator   Broker Pre Pass                32901 PrePass Device                    12.5
      3/28/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      3/28/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.31
      3/28/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.27
      3/28/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.93
      3/28/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.07
      3/28/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/28/2020    709   IR0002   Owner Operator   Tire Purchase                  PO: 709-00426580 - PO System          171.73

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      3/28/2020    709   JA0156   Owner Operator   Broker Pay Void/Reissue        Vd Ck 977006 arrears                 -28.91
      3/28/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                   13.96
      3/28/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL              8.75
      3/28/2020    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                  12.5
      3/28/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                        13
      3/28/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
      3/28/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           300
      3/28/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/28/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/28/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      3/28/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        134.09
      3/28/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        293.55
      3/28/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        420.08
      3/28/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.1
      3/28/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              43.11
      3/28/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 240002 Q13197 Lease           276.63
      3/28/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      3/28/2020    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                     9.84
      3/28/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                          8
      3/28/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     12.03
      3/28/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      3/28/2020    709   JD0211   Owner Operator   Repair Order                   CTMS - 239938 REPAIR                   150
      3/28/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/28/2020    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                   12.5
      3/28/2020    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                     9.84
      3/28/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                         13
      3/28/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           500
      3/28/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      3/28/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        265.35
      3/28/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        214.91
      3/28/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2019 - 32908                     32.33
      3/28/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment        414.93
      3/28/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  28.05
      3/28/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        490.64
      3/28/2020    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
      3/28/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/28/2020    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                     9.84
      3/28/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                         13
      3/28/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      3/28/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      3/28/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          492
      3/28/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        411.24
      3/28/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        487.48
      3/28/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2019 - 32909                     32.33
      3/28/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  76.19
      3/28/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        499.05
      3/28/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      3/28/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      3/28/2020    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK34637                     9.84
      3/28/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                          8
      3/28/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/28/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/28/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        178.82
      3/28/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        170.96
      3/28/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  20.03
      3/28/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  16.02
      3/28/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      3/28/2020    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                     9.84
      3/28/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                         13
      3/28/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        382.79
      3/28/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            60.14
      3/28/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 239999 Balloon Payoff         234.05
      3/28/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      3/28/2020    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
      3/28/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                         13
      3/28/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      3/28/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100

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      3/28/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/28/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/28/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/28/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/28/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/28/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.01
      3/28/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.81
      3/28/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.01
      3/28/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.01
      3/28/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.08
      3/28/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.38
      3/28/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           160
      3/28/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             95
      3/28/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2019 - 32914                      32.33
      3/28/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      3/28/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/28/2020    709   KP0004   Owner Operator   Toll Charges                   32914 E470 PLAZA C                       8.6
      3/28/2020    709   KP0004   Owner Operator   Toll Charges                   32914 E470 PLAZA D                      18.6
      3/28/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      3/28/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      3/28/2020    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRK33483                      9.84
      3/28/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware 33483                           8
      3/28/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.31
      3/28/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.35
      3/28/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                           9.05
      3/28/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.13
      3/28/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 239957 33483 Lease 208         335.48
      3/28/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      3/28/2020    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      3/28/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      3/28/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.09
      3/28/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 239958 Balloon Pay off         200.15
      3/28/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      3/28/2020    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      3/28/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      3/28/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/28/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/28/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.14
      3/28/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.53
      3/28/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/28/2020    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      3/28/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      3/28/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.73
      3/28/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.15
      3/28/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.77
      3/28/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      3/28/2020    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      3/28/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      3/28/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      3/28/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.13
      3/28/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.14
      3/28/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.79
      3/28/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.95
      3/28/2020    709   MD0122   Owner Operator   Repair Order                   CTMS - 239938 REPAIRS                     60
      3/28/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      3/28/2020    709   ME0053   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13199                     9.84
      3/28/2020    709   ME0053   Owner Operator   Broker Pre Pass                Q13199 PrePass Device                   12.5
      3/28/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      3/28/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.27
      3/28/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.27
      3/28/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.03
      3/28/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.9
      3/28/2020    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         330.39
      3/28/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               39.27
      3/28/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 239956 Lease Q13199            263.91
      3/28/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/28/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8

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      3/28/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.39
      3/28/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.33
      3/28/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          36.07
      3/28/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/28/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/28/2020    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
      3/28/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      3/28/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           750
      3/28/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                         418.89
      3/28/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              40
      3/28/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              80
      3/28/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      3/28/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      3/28/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.76
      3/28/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.25
      3/28/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.12
      3/28/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      3/28/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      3/28/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      3/28/2020    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      3/28/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      3/28/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      3/28/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/28/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/28/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/28/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/28/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.75
      3/28/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.56
      3/28/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              36.07
      3/28/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      3/28/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      3/28/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      3/28/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 239993 32986 Lease             314.03
      3/28/2020    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      3/28/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      3/28/2020    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      3/28/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      3/28/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            240
      3/28/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.4
      3/28/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.93
      3/28/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.94
      3/28/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      3/28/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      3/28/2020    709   NT9564   Owner Operator   Broker Pre Pass                DriveWyze TRK73130                      9.84
      3/28/2020    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           8
      3/28/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      3/28/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      3/28/2020    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
      3/28/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      3/28/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.67
      3/28/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.29
      3/28/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2019 - 34370                      32.33
      3/28/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.05
      3/28/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          237.4
      3/28/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      3/28/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      3/28/2020    709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
      3/28/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      3/28/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      3/28/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      3/28/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/28/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/28/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/28/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/28/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/28/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.39
      3/28/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.39

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      3/28/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.36
      3/28/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.17
      3/28/2020    709   RB0170   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          47.72
      3/28/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      3/28/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.09
      3/28/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 239456 Q1241 Truck leas        321.84
      3/28/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 239703 Q1241 Truck leas        321.84
      3/28/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 239955 Q1241 Truck leas        321.84
      3/28/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      3/28/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      3/28/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.81
      3/28/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         615.89
      3/28/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      3/28/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      3/28/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/28/2020    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      3/28/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      3/28/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      3/28/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.09
      3/28/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2019 - 33065                      32.33
      3/28/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.26
      3/28/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/28/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
      3/28/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/28/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      3/28/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
      3/28/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      3/28/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.08
      3/28/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.12
      3/28/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2019 - 32912                      32.33
      3/28/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.62
      3/28/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      3/28/2020    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      3/28/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      3/28/2020    709   RL0180   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
      3/28/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           8
      3/28/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      3/28/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.95
      3/28/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.23
      3/28/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2019 - 32910                      32.33
      3/28/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    52.7
      3/28/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      3/28/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      3/28/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    27.46
      3/28/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      3/28/2020    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      3/28/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      3/28/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.72
      3/28/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.83
      3/28/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.06
      3/28/2020    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00427030 - PO System          753.08
      3/28/2020    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      3/28/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      3/28/2020    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      3/28/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      3/28/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.03
      3/28/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.14
      3/28/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 239904 Q1202 Balloon           234.05
      3/28/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      3/28/2020    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRK33488                      9.84
      3/28/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware 33488                           8
      3/28/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware 33488                           8
      3/28/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      3/28/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      3/28/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.56

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      3/28/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          350.55
      3/28/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                           321.5
      3/28/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.27
      3/28/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD              17.86
      3/28/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD              56.13
      3/28/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 239705 33488 Lease $335         335.48
      3/28/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 239957 33488 Lease $335         335.48
      3/28/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      3/28/2020    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                     12.5
      3/28/2020    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                       9.84
      3/28/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                           13
      3/28/2020    709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                      -62.29
      3/28/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      3/28/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.56
      3/28/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          172.43
      3/28/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2019 - 33236                       32.33
      3/28/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   103.65
      3/28/2020    709   SB0009   Owner Operator   Repair Order                   CTMS - 239932 REPAIRS                      60
      3/28/2020    709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                         0.62
      3/28/2020    709   SB0009   Owner Operator   T Chek Fee                     Tractor Repair 33236                    61.67
      3/28/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
      3/28/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      3/28/2020    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                     12.5
      3/28/2020    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                       9.84
      3/28/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                            8
      3/28/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      3/28/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          318.69
      3/28/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                           257.4
      3/28/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.15
      3/28/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                           160.1
      3/28/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD              61.31
      3/28/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      3/28/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 239910 Sub Lease                388.33
      3/28/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
      3/28/2020    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                     12.5
      3/28/2020    709   SM0109   Owner Operator   Broker Pre Pass                DriveWyze TRK33195                       9.84
      3/28/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      3/28/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                           13
      3/28/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            325
      3/28/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            170
      3/28/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            196
      3/28/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          203.97
      3/28/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2019 - 33195                       32.33
      3/28/2020    709   SM0109   Owner Operator   Loan Repayment                 Balance of Loan 4                     2124.48
      3/28/2020    709   SM0109   Owner Operator   Loan Repayment                 EFS 241481, Ln Bal 4                 -8081.58
      3/28/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment          361.19
      3/28/2020    709   SM0109   Owner Operator   Loan Repayment                 Rev Conditional Credit/Loan           5605.63
      3/28/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.19
      3/28/2020    709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                         2.55
      3/28/2020    709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                         6.55
      3/28/2020    709   SM0109   Owner Operator   T Chek Fee                     Towing 33195                             255
      3/28/2020    709   SM0109   Owner Operator   T Chek Fee                     Tractor Repair 33195                   287.85
      3/28/2020    709   SM0109   Owner Operator   T Chek Fee                     Tractor Repair 33195                   655.11
      3/28/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                           468.6
      3/28/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      3/28/2020    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                       9.84
      3/28/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                           13
      3/28/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/28/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      3/28/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/28/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      3/28/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          219.24
      3/28/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.56
      3/28/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.78
      3/28/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                            1.33
      3/28/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          220.47
      3/28/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      3/28/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                     44.1
      3/28/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75

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      3/28/2020    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                     9.84
      3/28/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                          8
      3/28/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        525.46
      3/28/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD             38.5
      3/28/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                  154.82
      3/28/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      3/28/2020    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                     9.84
      3/28/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                          8
      3/28/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                          200
      3/28/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/28/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/28/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        194.16
      3/28/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        163.03
      3/28/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        285.11
      3/28/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment        257.43
      3/28/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  39.56
      3/28/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      3/28/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  11.25
      3/28/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
      3/28/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL               8.75
      3/28/2020    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                   12.5
      3/28/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
      3/28/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                          8
      3/28/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/28/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                         174.35
      3/28/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                           200
      3/28/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/28/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      3/28/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/28/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.28
      3/28/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.16
      3/28/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        227.58
      3/28/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        183.52
      3/28/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.25
      3/28/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        197.13
      3/28/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        167.74
      3/28/2020    709   WH0087   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax           0.1
      3/28/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD               62.08
      3/28/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD               62.08
      3/28/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 239707 Q1238 Lease            311.97
      3/28/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 239959 Q1238 Lease            311.97
      3/28/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                   8.75
      3/28/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                   8.75
      3/28/2020    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                   12.5
      3/28/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
      3/28/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                         13
      3/28/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/28/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/28/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
      3/28/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/28/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/28/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      3/28/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.51
      3/28/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.1
      3/28/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                            92
      3/28/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        166.34
      3/28/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        128.58
      3/28/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.7
      3/28/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        224.11
      3/28/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      3/28/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                   53.74
      3/28/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                   53.74
      3/28/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism           2.5
      3/28/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism           2.5
      3/28/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                  8.75
      3/28/2020    742   BS0078   Owner Operator   Broker Pre Pass                34900 PrePass Device                   12.5
      3/28/2020    742   BS0078   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13151                    9.84

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      3/28/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware 34900                           8
      3/28/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.45
      3/28/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.96
      3/28/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.76
      3/28/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.04
      3/28/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.22
      3/28/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2019 - 34900                       58.5
      3/28/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  113.48
      3/28/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      3/28/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      3/28/2020    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      3/28/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33987                           8
      3/28/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.22
      3/28/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.43
      3/28/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.12
      3/28/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.18
      3/28/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      3/28/2020    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      3/28/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      3/28/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.48
      3/28/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.69
      3/28/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.11
      3/28/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      3/28/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 239999 re-do of truck l        525.75
      3/28/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/28/2020    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
      3/28/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      3/28/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      3/28/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          217.5
      3/28/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.38
      3/28/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      3/28/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           108
      3/28/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.18
      3/28/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      3/28/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      3/28/2020    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      3/28/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      3/28/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/28/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/28/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.22
      3/28/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.02
      3/28/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         495.92
      3/28/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.66
      3/28/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      3/28/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 240002 Trk 33487 Lease          434.2
      3/28/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      3/28/2020    742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                    12.5
      3/28/2020    742   EA0039   Owner Operator   Broker Pre Pass                DriveWyze TRK33993                      9.84
      3/28/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      3/28/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.77
      3/28/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.84
      3/28/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.06
      3/28/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      3/28/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      3/28/2020    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      3/28/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      3/28/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.44
      3/28/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.66
      3/28/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.19
      3/28/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.38
      3/28/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.01
      3/28/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.09
      3/28/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.94
      3/28/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.05
      3/28/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      3/28/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75

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      3/28/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
      3/28/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.13
      3/28/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      3/28/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      3/28/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      3/28/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/28/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/28/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/28/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          319.1
      3/28/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.91
      3/28/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.11
      3/28/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.04
      3/28/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      3/28/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      3/28/2020    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
      3/28/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      3/28/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                          162.5
      3/28/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.04
      3/28/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      3/28/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      3/28/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      3/28/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          76.66
      3/28/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      3/28/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/28/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      3/28/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                           102.4
      3/28/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/28/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.68
      3/28/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.14
      3/28/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.87
      3/28/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      3/28/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             63.45
      3/28/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      3/28/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     5.55
      3/28/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      3/28/2020    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      3/28/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      3/28/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      3/28/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      3/28/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      3/28/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.64
      3/28/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.17
      3/28/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.7
      3/28/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.51
      3/28/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2019 - 32969                      32.33
      3/28/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.14
      3/28/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      3/28/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      3/28/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      3/28/2020    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      3/28/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      3/28/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      3/28/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            250
      3/28/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
      3/28/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.65
      3/28/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.72
      3/28/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.48
      3/28/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.18
      3/28/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.34
      3/28/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.77
      3/28/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.53
      3/28/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.12
      3/28/2020    742   RF0136   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax         123.16
      3/28/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      3/28/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.52
      3/28/2020    742   RF0136   Owner Operator   Tire Purchase                  PO: 742-00427516 - PO System          174.09

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      3/28/2020    742   RF0136   Owner Operator   Tire Purchase                  PO: 742-00427516 - PO System          174.09
      3/28/2020    742   RF0136   Owner Operator   Toll Charges                   34182 HCTRA Sam Houston - Fair             5
      3/28/2020    742   RF0136   Owner Operator   Toll Charges                   34182 NTTA Exit SHT-SHIP-21                7
      3/28/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      3/28/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      3/28/2020    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      3/28/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      3/28/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      3/28/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.07
      3/28/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.17
      3/28/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.18
      3/28/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.03
      3/28/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.25
      3/28/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.88
      3/28/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.58
      3/28/2020    742   RN0054   Owner Operator   FUEL TAX                       January 2020 Fuel/Mileage Tax          112.3
      3/28/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      3/28/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            36.07
      3/28/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      3/28/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      3/28/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 239747 Balloon Payoff          335.75
      3/28/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 239999 Balloon Payoff          335.75
      3/28/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      3/28/2020    742   SK0049   Owner Operator   Broker Pre Pass                33934 PrePass Device                    12.5
      3/28/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      3/28/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.14
      3/28/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      3/28/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      3/28/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      3/28/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.17
      3/28/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      3/28/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       38.5
      3/28/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       4/4/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       4/4/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
       4/4/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/4/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.55
       4/4/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.28
       4/4/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                      100
       4/4/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
       4/4/2020    709   AC0061   Owner Operator   Tire Purchase                  PO: 709-00427034 - PO System          197.74
       4/4/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 240306 Q13148 Trac Leas        296.09
       4/4/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
       4/4/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
       4/4/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.8
       4/4/2020    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2020 - 21157A                      100
       4/4/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             8.02
       4/4/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
       4/4/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 240218 TRUCK RENTAL              500
       4/4/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       4/4/2020    709   AR0064   Owner Operator   Communication Charge           PNet Hware q13147                          8
       4/4/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.59
       4/4/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.81
       4/4/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.31
       4/4/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.41
       4/4/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                      100
       4/4/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
       4/4/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 240219 Past due tractor        125.75
       4/4/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 240222 Q13147 Lease            440.14
       4/4/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    60.95
       4/4/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       4/4/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       4/4/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
       4/4/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
       4/4/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       4/4/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       4/4/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.51

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       4/4/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.86
       4/4/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.08
       4/4/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.43
       4/4/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.19
       4/4/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
       4/4/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
       4/4/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 240259 Q13169 Sublease         352.68
       4/4/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                       7.28
       4/4/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       4/4/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       4/4/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
       4/4/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       4/4/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.76
       4/4/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.26
       4/4/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.45
       4/4/2020    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2020 - Q13168                      200
       4/4/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
       4/4/2020    709   CC0134   Owner Operator   Tire Purchase                  PO 905-03460839 s/u 3/7/20             83.22
       4/4/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 240172 Q13168 sub lease        352.68
       4/4/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/4/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       4/4/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.54
       4/4/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
       4/4/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
       4/4/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/4/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
       4/4/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       4/4/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       4/4/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.18
       4/4/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.22
       4/4/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.08
       4/4/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
       4/4/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
       4/4/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 240215 Q1247 Sub Lease         263.91
       4/4/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
       4/4/2020    709   CV0028   Owner Operator   Communication Charge           PNet Hware 33482                           8
       4/4/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/4/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.13
       4/4/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.88
       4/4/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                       100
       4/4/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
       4/4/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 240170 Lease Truck 3348        335.96
       4/4/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       4/4/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       4/4/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.07
       4/4/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.06
       4/4/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.29
       4/4/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                       100
       4/4/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
       4/4/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   35.11
       4/4/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       4/4/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware q1245                           8
       4/4/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       4/4/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       4/4/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.12
       4/4/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.98
       4/4/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         570.08
       4/4/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
       4/4/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         265.09
       4/4/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46

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       4/4/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 240168 Baloon payoff            350.23
       4/4/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
       4/4/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          230.11
       4/4/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                           87.47
       4/4/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                        100
       4/4/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/4/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    19.17
       4/4/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
       4/4/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                    8.75
       4/4/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                            8
       4/4/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/4/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/4/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/4/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       4/4/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       4/4/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       4/4/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.69
       4/4/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.19
       4/4/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          162.74
       4/4/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                        100
       4/4/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/4/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                    114.7
       4/4/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                      26
       4/4/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                      26
       4/4/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
       4/4/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                            8
       4/4/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           1000
       4/4/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          532.29
       4/4/2020    709   DS0225   Owner Operator   IRP License Deduction          LCIL:2020 - 33320                     1749.43
       4/4/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/4/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       40.11
       4/4/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                        7.28
       4/4/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       4/4/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                           13
       4/4/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
       4/4/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/4/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       4/4/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          572.28
       4/4/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                       33.64
       4/4/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/4/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   108.28
       4/4/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                          545.75
       4/4/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
       4/4/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                            8
       4/4/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          635.97
       4/4/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                        100
       4/4/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/4/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    43.13
       4/4/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
       4/4/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
       4/4/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                           13
       4/4/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            100
       4/4/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            200
       4/4/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.38
       4/4/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.87
       4/4/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          288.44
       4/4/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                        100
       4/4/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/4/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 80.21
       4/4/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
       4/4/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
       4/4/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                            8
       4/4/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/4/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       4/4/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.69
       4/4/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.33
       4/4/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.07
       4/4/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                        100
       4/4/2020    709   FS0039   Owner Operator   Loan Repayment                 EFS 241863, 241864                   -2334.33
       4/4/2020    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          336.56
       4/4/2020    709   FS0039   Owner Operator   Loan Repayment                 Rev Conditional Credit/Loan           2334.33
       4/4/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/4/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              78.93

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       4/4/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 240259 truck lease 3304        434.29
       4/4/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       4/4/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
       4/4/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/4/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/4/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.13
       4/4/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                      100
       4/4/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
       4/4/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       4/4/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
       4/4/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
       4/4/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.69
       4/4/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.88
       4/4/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.42
       4/4/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.63
       4/4/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                       100
       4/4/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
       4/4/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
       4/4/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 240216 Q1200 Lease             238.16
       4/4/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       4/4/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
       4/4/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.51
       4/4/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                       100
       4/4/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
       4/4/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       4/4/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
       4/4/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          189.2
       4/4/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.39
       4/4/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                       100
       4/4/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
       4/4/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       4/4/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
       4/4/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.99
       4/4/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                      100
       4/4/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
       4/4/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 240221 Q13170                  352.68
       4/4/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       4/4/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
       4/4/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/4/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/4/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.26
       4/4/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.28
       4/4/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                       100
       4/4/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
       4/4/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       4/4/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       4/4/2020    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
       4/4/2020    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
       4/4/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       4/4/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       4/4/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          357.1
       4/4/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.58
       4/4/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                       100
       4/4/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.15
       4/4/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.13
       4/4/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       4/4/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
       4/4/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
       4/4/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.11
       4/4/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.33
       4/4/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.51

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       4/4/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                       100
       4/4/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
       4/4/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
       4/4/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/4/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
       4/4/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.46
       4/4/2020    709   IR0002   Owner Operator   IRP License Deduction          LCIL:2020 - 32901                    1749.43
       4/4/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
       4/4/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/4/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           7.28
       4/4/2020    709   JA0156   Owner Operator   *Arrears Collection W/O        Applicable Amount to Arrears           28.91
       4/4/2020    709   JA0156   Owner Operator   *Arrears Collection W/O        WO:Applicable Amount to Arrear        -28.91
       4/4/2020    709   JA0156   Owner Operator   *Arrears Collection W/O        WO:Credit Billing                     -62.23
       4/4/2020    709   JA0156   Owner Operator   Arrears                        Credit Billing                         62.23
       4/4/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
       4/4/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       4/4/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
       4/4/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       4/4/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.6
       4/4/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.41
       4/4/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.27
       4/4/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                      100
       4/4/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
       4/4/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 240222 Q13197 Lease            276.63
       4/4/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       4/4/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
       4/4/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
       4/4/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       4/4/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/4/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
       4/4/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/4/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/4/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.56
       4/4/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.42
       4/4/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.93
       4/4/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.55
       4/4/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
       4/4/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
       4/4/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
       4/4/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
       4/4/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/4/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
       4/4/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
       4/4/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       4/4/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          437.8
       4/4/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.27
       4/4/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.04
       4/4/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
       4/4/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
       4/4/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
       4/4/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      7.28
       4/4/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       4/4/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       4/4/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
       4/4/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.78
       4/4/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100
       4/4/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
       4/4/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
       4/4/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       4/4/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
       4/4/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.99
       4/4/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100

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       4/4/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
       4/4/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 240220 Balloon Payoff          234.05
       4/4/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       4/4/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       4/4/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       4/4/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       4/4/2020    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                     9.84
       4/4/2020    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
       4/4/2020    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
       4/4/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       4/4/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       4/4/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.93
       4/4/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.41
       4/4/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.99
       4/4/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.17
       4/4/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.78
       4/4/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.98
       4/4/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.02
       4/4/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.37
       4/4/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
       4/4/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
       4/4/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
       4/4/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD             41.3
       4/4/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
       4/4/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 239993 Q13159 Lease             331.5
       4/4/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 240214 Q13159 Lease             331.5
       4/4/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/4/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
       4/4/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       4/4/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/4/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/4/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.05
       4/4/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
       4/4/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
       4/4/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/4/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
       4/4/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
       4/4/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware 33483                           8
       4/4/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          378.2
       4/4/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.16
       4/4/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.53
       4/4/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.1
       4/4/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.28
       4/4/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                       100
       4/4/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
       4/4/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 240170 33483 Lease 208         335.48
       4/4/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       4/4/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
       4/4/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                       100
       4/4/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
       4/4/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 240170 Balloon Pay off         200.15
       4/4/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
       4/4/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
       4/4/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.95
       4/4/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.52
       4/4/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.61
       4/4/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                       100
       4/4/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       4/4/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
       4/4/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/4/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
       4/4/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.92
       4/4/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.68
       4/4/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                       100
       4/4/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
       4/4/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       4/4/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
       4/4/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
       4/4/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.08
       4/4/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                       100
       4/4/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
       4/4/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
       4/4/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
       4/4/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.56
       4/4/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.58
       4/4/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.93
       4/4/2020    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2020 - Q13199                      100
       4/4/2020    709   ME0053   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         322.39
       4/4/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                39.3
       4/4/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 240169 Lease Q13199            263.91
       4/4/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       4/4/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       4/4/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.64
       4/4/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.33
       4/4/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                       100
       4/4/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
       4/4/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       4/4/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/4/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
       4/4/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           750
       4/4/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              40
       4/4/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
       4/4/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.61
       4/4/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                       100
       4/4/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
       4/4/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       4/4/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       4/4/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       4/4/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
       4/4/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
       4/4/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.64
       4/4/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          482.1
       4/4/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                       100
       4/4/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
       4/4/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       4/4/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
       4/4/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       4/4/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 240214 32986 Lease             314.03
       4/4/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       4/4/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
       4/4/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              60
       4/4/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       4/4/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.94
       4/4/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.06
       4/4/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.64
       4/4/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                      100
       4/4/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
       4/4/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       4/4/2020    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           8
       4/4/2020    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                       100

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       4/4/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
       4/4/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       4/4/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
       4/4/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.69
       4/4/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.53
       4/4/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.08
       4/4/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
       4/4/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
       4/4/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          237.4
       4/4/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       4/4/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
       4/4/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/4/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.38
       4/4/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.19
       4/4/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.87
       4/4/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.22
       4/4/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                       100
       4/4/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
       4/4/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 240168 Q1241 Truck leas        321.84
       4/4/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       4/4/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       4/4/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.8
       4/4/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.62
       4/4/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
       4/4/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       4/4/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/4/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
       4/4/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
       4/4/2020    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       4/4/2020    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       4/4/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         576.74
       4/4/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
       4/4/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
       4/4/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/4/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         529.05
       4/4/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/4/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
       4/4/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/4/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/4/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.02
       4/4/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.73
       4/4/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.76
       4/4/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          141.9
       4/4/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
       4/4/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
       4/4/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
       4/4/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       4/4/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           8
       4/4/2020    709   RL0180   Owner Operator   ESCROW                         Escrow Withdrawal                     -88.46
       4/4/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
       4/4/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          103.9
       4/4/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           366
       4/4/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
       4/4/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
       4/4/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       4/4/2020    709   RL0180   Owner Operator   T Chek Fee                     ExpressCheck Fee                        0.88
       4/4/2020    709   RL0180   Owner Operator   T Chek Fee                     Tractor Repair 32910                   87.58
       4/4/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       4/4/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
       4/4/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       4/4/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
       4/4/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.91

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       4/4/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                       100
       4/4/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
       4/4/2020    709   RM0026   Owner Operator   Tire Purchase                  PO: 709-00427030 - PO System          753.03
       4/4/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       4/4/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
       4/4/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                       100
       4/4/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
       4/4/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 240137 Q1202 Balloon           234.05
       4/4/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
       4/4/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware 33488                           8
       4/4/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/4/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/4/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.58
       4/4/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.48
       4/4/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.83
       4/4/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                       100
       4/4/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
       4/4/2020    709   RR0123   Owner Operator   Toll Charges                   33488 CTRMA FM973 Mainline L03          3.72
       4/4/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 240170 33488 Lease $335        335.48
       4/4/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       4/4/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
       4/4/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       4/4/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.1
       4/4/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.1
       4/4/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
       4/4/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
       4/4/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       4/4/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       4/4/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
       4/4/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
       4/4/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.86
       4/4/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                       100
       4/4/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
       4/4/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       4/4/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 240138 Sub Lease               388.33
       4/4/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       4/4/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
       4/4/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           332
       4/4/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.48
       4/4/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           356
       4/4/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           216
       4/4/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           269
       4/4/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
       4/4/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
       4/4/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
       4/4/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       4/4/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       4/4/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
       4/4/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.76
       4/4/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.23
       4/4/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
       4/4/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       4/4/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
       4/4/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.83
       4/4/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                       100
       4/4/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
       4/4/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   155.84
       4/4/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       4/4/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
       4/4/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       4/4/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/4/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/4/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.57
       4/4/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.51
       4/4/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.55

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       4/4/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          181.79
       4/4/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                        100
       4/4/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment          257.43
       4/4/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/4/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    39.56
       4/4/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
       4/4/2020    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                       9.84
       4/4/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
       4/4/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                           13
       4/4/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/4/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    57.75
       4/4/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                     46.5
       4/4/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
       4/4/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
       4/4/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
       4/4/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                            8
       4/4/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
       4/4/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       4/4/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.43
       4/4/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          174.67
       4/4/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.38
       4/4/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                        100
       4/4/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/4/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 62.08
       4/4/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 240172 Q1238 Lease              311.97
       4/4/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                     8.75
       4/4/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                           13
       4/4/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/4/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
       4/4/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       4/4/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       4/4/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           311.2
       4/4/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.93
       4/4/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.48
       4/4/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/4/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                     53.74
       4/4/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism             2.5
       4/4/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                    8.75
       4/4/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware 34900                            8
       4/4/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          139.91
       4/4/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.55
       4/4/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.83
       4/4/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                        100
       4/4/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/4/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                    113.5
       4/4/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism            2.5
       4/4/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                       8.75
       4/4/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33987                            8
       4/4/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          444.14
       4/4/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          328.29
       4/4/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.66
       4/4/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                        100
       4/4/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/4/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                       72.19
       4/4/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL             8.75
       4/4/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                           8
       4/4/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.59
       4/4/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.44
       4/4/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                       100
       4/4/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       4/4/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD             43.13
       4/4/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te            2.5
       4/4/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       4/4/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                           13
       4/4/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.66
       4/4/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          192.52
       4/4/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          283.67
       4/4/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            150
       4/4/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            100
       4/4/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                        100
       4/4/2020    742   DA0067   Owner Operator   Loan Repayment                 EFS 242190                           -3108.54
       4/4/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          262.95
       4/4/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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       4/4/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
       4/4/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/4/2020    742   DA0067   Owner Operator   T Chek Fee                     ExpressCheck Fee                       30.78
       4/4/2020    742   DA0067   Owner Operator   T Chek Fee                     Tractor Repair 33847                 3077.76
       4/4/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       4/4/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       4/4/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.5
       4/4/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         670.03
       4/4/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.26
       4/4/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.05
       4/4/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.91
       4/4/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.12
       4/4/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                       100
       4/4/2020    742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL Route 80 (East)             5.1
       4/4/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63
       4/4/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       4/4/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       4/4/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.76
       4/4/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.78
       4/4/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.32
       4/4/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
       4/4/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
       4/4/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       4/4/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       4/4/2020    742   EA0039   Owner Operator   Broker Pre Pass                DRWZ credit                            -9.84
       4/4/2020    742   EA0039   Owner Operator   Broker Pre Pass                DRWZ credit                            -9.84
       4/4/2020    742   EA0039   Owner Operator   Broker Pre Pass                DRWZ credit                            -9.84
       4/4/2020    742   EA0039   Owner Operator   Broker Pre Pass                DRWZ credit                            -9.84
       4/4/2020    742   EA0039   Owner Operator   Broker Pre Pass                DRWZ credit                            -9.84
       4/4/2020    742   EA0039   Owner Operator   Broker Pre Pass                DRWZ credit                            -9.84
       4/4/2020    742   EA0039   Owner Operator   Broker Pre Pass                DRWZ credit                            -9.84
       4/4/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       4/4/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.26
       4/4/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.71
       4/4/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
       4/4/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.09
       4/4/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       4/4/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       4/4/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
       4/4/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.18
       4/4/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           213
       4/4/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.04
       4/4/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.64
       4/4/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
       4/4/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
       4/4/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       4/4/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/4/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       4/4/2020    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
       4/4/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       4/4/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       4/4/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            250
       4/4/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.5
       4/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.94
       4/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.29
       4/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          64.14
       4/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.16
       4/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.47
       4/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          120.6
       4/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.34
       4/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.17
       4/4/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2019 - 32947                      32.33
       4/4/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
       4/4/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
       4/4/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
       4/4/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/4/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       4/4/2020    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Northwest M          4.48

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       4/4/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       4/4/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
       4/4/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
       4/4/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       4/4/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
       4/4/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
       4/4/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/4/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/4/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/4/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/4/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/4/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.06
       4/4/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.96
       4/4/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.54
       4/4/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.63
       4/4/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          381.7
       4/4/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
       4/4/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
       4/4/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       4/4/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
       4/4/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                       100
       4/4/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
       4/4/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       4/4/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
       4/4/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       4/4/2020    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2020 - 33296                       100
       4/4/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          76.67
       4/4/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       4/4/2020    742   MH0117   Owner Operator   Repair Order                   TRACTOR 33296                         337.05
       4/4/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       4/4/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       4/4/2020    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
       4/4/2020    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
       4/4/2020    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
       4/4/2020    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
       4/4/2020    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       4/4/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
       4/4/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/4/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/4/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       4/4/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.52
       4/4/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.09
       4/4/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.62
       4/4/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.61
       4/4/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.76
       4/4/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       100
       4/4/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
       4/4/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.46

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       4/4/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD             40.02
       4/4/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       4/4/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       4/4/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       4/4/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       4/4/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       4/4/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.07
       4/4/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.98
       4/4/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.35
       4/4/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.45
       4/4/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
       4/4/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
       4/4/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                           66.49
       4/4/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.29
       4/4/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.61
       4/4/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.38
       4/4/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           153
       4/4/2020    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2020 - Q13157                    729.83
       4/4/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       4/4/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
       4/4/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
       4/4/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       4/4/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       4/4/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       4/4/2020    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
       4/4/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       4/4/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
       4/4/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.95
       4/4/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.22
       4/4/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.18
       4/4/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.71
       4/4/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.86
       4/4/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.73
       4/4/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                           2.37
       4/4/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.18
       4/4/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                       100
       4/4/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
       4/4/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
       4/4/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       4/4/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       4/4/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 239993 33489 Lease Paym        412.16
       4/4/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       4/4/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
       4/4/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.91
       4/4/2020    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2020 - 33991                       100
       4/4/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       4/4/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       38.5
       4/4/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       4/4/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
       4/4/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          7.28
      4/11/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      4/11/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      4/11/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/11/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.65
      4/11/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.62
      4/11/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                      100
      4/11/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      4/11/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      4/11/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL             -35
      4/11/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      4/11/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.96
      4/11/2020    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2020 - 21157A                      100
      4/11/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             8.02
      4/11/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD           -32.08
      4/11/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           -10
      4/11/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      4/11/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 240434 TRUCK RENTAL              500
      4/11/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75

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      4/11/2020    709   AR0064   Owner Operator   Communication Charge           PNet Hware q13147                          8
      4/11/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.78
      4/11/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.13
      4/11/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                      100
      4/11/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      4/11/2020    709   AR0064   Owner Operator   Repair Order                   CTMS - 240349 PARTS                     228
      4/11/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 240438 Q13147 Lease            440.14
      4/11/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    60.95
      4/11/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      4/11/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      4/11/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      4/11/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      4/11/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          120.6
      4/11/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           96.4
      4/11/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.96
      4/11/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.19
      4/11/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
      4/11/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      4/11/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      4/11/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      4/11/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/11/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/11/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.85
      4/11/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.72
      4/11/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.04
      4/11/2020    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2020 - Q13168                      200
      4/11/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      4/11/2020    709   CC0134   Owner Operator   Repair Order                   CTMS - 240349 REPAIRS                 491.68
      4/11/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 240396 Q13168 sub lease        352.68
      4/11/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/11/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      4/11/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.79
      4/11/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      4/11/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      4/11/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/11/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      4/11/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      4/11/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      4/11/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.37
      4/11/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
      4/11/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      4/11/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 240431 Q1247 Sub Lease         263.91
      4/11/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      4/11/2020    709   CV0028   Owner Operator   Communication Charge           PNet Hware 33482                           8
      4/11/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/11/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/11/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/11/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.68
      4/11/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.24
      4/11/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                       100
      4/11/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      4/11/2020    709   CV0028   Owner Operator   Toll Charges                   702141/33482 Antioch Bridge 1             26
      4/11/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 240393 Lease Truck 3348        335.96
      4/11/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/11/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      4/11/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.72
      4/11/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.03
      4/11/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.26
      4/11/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                       100

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      4/11/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
      4/11/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   35.11
      4/11/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.73
      4/11/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      4/11/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.79
      4/11/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                       100
      4/11/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      4/11/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      4/11/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      4/11/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                           8
      4/11/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.73
      4/11/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.24
      4/11/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.63
      4/11/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                       100
      4/11/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      4/11/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      4/11/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      4/11/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      4/11/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.27
      4/11/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      4/11/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      4/11/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      4/11/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      4/11/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      4/11/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      4/11/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      4/11/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.33
      4/11/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.56
      4/11/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.71
      4/11/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          220.1
      4/11/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                      92.72
      4/11/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                       100
      4/11/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      4/11/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      4/11/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.23
      4/11/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      4/11/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      4/11/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.66
      4/11/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                       100
      4/11/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      4/11/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      4/11/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      4/11/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      4/11/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/11/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.67
      4/11/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.13
      4/11/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.53
      4/11/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
      4/11/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      4/11/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      4/11/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      4/11/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      4/11/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/11/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/11/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/11/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/11/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.14
      4/11/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.52
      4/11/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           17.7

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      4/11/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        328.06
      4/11/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                      100
      4/11/2020    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment        336.56
      4/11/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD            78.93
      4/11/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                  8.75
      4/11/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
      4/11/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/11/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                           100
      4/11/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      4/11/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/11/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        370.76
      4/11/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         32.58
      4/11/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        379.89
      4/11/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                     100
      4/11/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                  40.11
      4/11/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
      4/11/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL            8.75
      4/11/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                          8
      4/11/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                           500
      4/11/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      4/11/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.24
      4/11/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                        160.79
      4/11/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                      100
      4/11/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  24.07
      4/11/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD            29.68
      4/11/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 240432 Q1200 Lease            238.16
      4/11/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
      4/11/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
      4/11/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        309.51
      4/11/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                      100
      4/11/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            40.11
      4/11/2020    709   GS0015   Owner Operator   Repair Order                   CTMS - 240349 REPAIRS                    50
      4/11/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL            8.75
      4/11/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                          8
      4/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                           200
      4/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      4/11/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.67
      4/11/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        258.48
      4/11/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                      100
      4/11/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD            45.09
      4/11/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL           8.75
      4/11/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                         8
      4/11/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        378.84
      4/11/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                     100
      4/11/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            36.1
      4/11/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 240438 Q13170                 352.68
      4/11/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                      8.75
      4/11/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                          8
      4/11/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        511.77
      4/11/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        363.03
      4/11/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.3
      4/11/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                      100
      4/11/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                     100.67
      4/11/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
      4/11/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                          8
      4/11/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                          150
      4/11/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        191.08
      4/11/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.3
      4/11/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                      100
      4/11/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      4/11/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  52.71
      4/11/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   22.35
      4/11/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      4/11/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                          8
      4/11/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        446.19
      4/11/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      4/11/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      4/11/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/11/2020    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                     35
      4/11/2020    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    -35
      4/11/2020    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  112.29
      4/11/2020    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 -112.29
      4/11/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      4/11/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      4/11/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      4/11/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      4/11/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.09
      4/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.05
      4/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.77
      4/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.74
      4/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                           10.2
      4/11/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                      100
      4/11/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      4/11/2020    709   JC0292   Owner Operator   Toll Charges                   Q13197 Carquinez Bridge 11                26
      4/11/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 240439 Q13197 Lease            276.63
      4/11/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      4/11/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      4/11/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      4/11/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      4/11/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/11/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      4/11/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/11/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/11/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.13
      4/11/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      4/11/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      4/11/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      4/11/2020    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                        7
      4/11/2020    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       26
      4/11/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      4/11/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/11/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      4/11/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/11/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/11/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.51
      4/11/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.96
      4/11/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.81
      4/11/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      4/11/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
      4/11/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      4/11/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      4/11/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/11/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      4/11/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.55
      4/11/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.74
      4/11/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100
      4/11/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      4/11/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
      4/11/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      4/11/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      4/11/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.07
      4/11/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100
      4/11/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      4/11/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 240435 Balloon Payoff          234.05
      4/11/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      4/11/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      4/11/2020    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      4/11/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/11/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      4/11/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.75
      4/11/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.97
      4/11/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.06
      4/11/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.23
      4/11/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                           203
      4/11/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
      4/11/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      4/11/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
      4/11/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 240430 Q13159 Lease             331.5
      4/11/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/11/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      4/11/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             96
      4/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.69
      4/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           192
      4/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.07
      4/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.01
      4/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.03
      4/11/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      4/11/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      4/11/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/11/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      4/11/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      4/11/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware 33483                           8
      4/11/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.5
      4/11/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.91
      4/11/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                       100
      4/11/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      4/11/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 240393 33483 Lease 208         335.48
      4/11/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      4/11/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      4/11/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                       100
      4/11/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      4/11/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 240394 Balloon Pay off         200.15
      4/11/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      4/11/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      4/11/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.71
      4/11/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.36
      4/11/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                       100
      4/11/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      4/11/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/11/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      4/11/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.29
      4/11/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.24
      4/11/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                       100
      4/11/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      4/11/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      4/11/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                         291.88
      4/11/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.48
      4/11/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                       100
      4/11/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      4/11/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      4/11/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      4/11/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.85
      4/11/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.56
      4/11/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.11
      4/11/2020    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2020 - Q13199                      100
      4/11/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                39.3
      4/11/2020    709   ME0053   Owner Operator   Toll Charges                   Q13199 Carquinez Bridge 11                26
      4/11/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 240392 Lease Q13199            263.91
      4/11/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75

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      4/11/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
      4/11/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.43
      4/11/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                       100
      4/11/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      4/11/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/11/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/11/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      4/11/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           750
      4/11/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            160
      4/11/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      4/11/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.87
      4/11/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                       100
      4/11/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      4/11/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/11/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      4/11/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      4/11/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      4/11/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/11/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.23
      4/11/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.49
      4/11/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                       100
      4/11/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      4/11/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      4/11/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      4/11/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      4/11/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 240429 32986 Lease             314.03
      4/11/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      4/11/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      4/11/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/11/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/11/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.58
      4/11/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.09
      4/11/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.43
      4/11/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                      100
      4/11/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      4/11/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      4/11/2020    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           8
      4/11/2020    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                       100
      4/11/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      4/11/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/11/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      4/11/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.34
      4/11/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.98
      4/11/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      4/11/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
      4/11/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          237.4
      4/11/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      4/11/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      4/11/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/11/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      4/11/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      4/11/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.5
      4/11/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.22
      4/11/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.48
      4/11/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.56
      4/11/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                       100
      4/11/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      4/11/2020    709   RB0170   Owner Operator   T Chek Fee                     Cancelled/Expired EFS                -923.02
      4/11/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 240391 Q1241 Truck leas        321.84
      4/11/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      4/11/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      4/11/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.02
      4/11/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.15
      4/11/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      4/11/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      4/11/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      4/11/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/11/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      4/11/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      4/11/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.27
      4/11/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.33
      4/11/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      4/11/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      4/11/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/11/2020    709   RL0017   Owner Operator   Toll Charges                   21975A Bay Bridge 16                      26
      4/11/2020    709   RL0017   Owner Operator   Toll Charges                   21975A Benicia 12                         26
      4/11/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/11/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      4/11/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.23
      4/11/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      4/11/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      4/11/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      4/11/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      4/11/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           8
      4/11/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      4/11/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.12
      4/11/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      4/11/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      4/11/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      4/11/2020    709   RL0180   Owner Operator   Repair Order                   CTMS - 240349 REPAIRS                  87.52
      4/11/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      4/11/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      4/11/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      4/11/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      4/11/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.9
      4/11/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                           358
      4/11/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                       100
      4/11/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      4/11/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      4/11/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      4/11/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.06
      4/11/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                       100
      4/11/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      4/11/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 240364 Q1202 Balloon           234.05
      4/11/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      4/11/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      4/11/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/11/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.45
      4/11/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.72
      4/11/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      4/11/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      4/11/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      4/11/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      4/11/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      4/11/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.31
      4/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          227.7
      4/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.94
      4/11/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                       100
      4/11/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      4/11/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      4/11/2020    709   SB0103   Owner Operator   Repair Order                   CTMS - 240349 PARTS                   529.94
      4/11/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 240365 Sub Lease               388.33
      4/11/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      4/11/2020    709   SM0109   Owner Operator   Communication Charge           PNet Hware 33195                          13
      4/11/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           337
      4/11/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.38
      4/11/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           308

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      4/11/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           313
      4/11/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      4/11/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
      4/11/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      4/11/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      4/11/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      4/11/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      4/11/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/11/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.63
      4/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.66
      4/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.26
      4/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.63
      4/11/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      4/11/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      4/11/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      4/11/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.94
      4/11/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                       100
      4/11/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      4/11/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   155.84
      4/11/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/11/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      4/11/2020    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                    -809.54
      4/11/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.61
      4/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          123.7
      4/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.41
      4/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.4
      4/11/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                       100
      4/11/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      4/11/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      4/11/2020    709   VJ0006   Owner Operator   T Chek Fee                     ExpressCheck Fee                        8.02
      4/11/2020    709   VJ0006   Owner Operator   T Chek Fee                     Tractor Repair 33961                  801.52
      4/11/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/11/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      4/11/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      4/11/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      4/11/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      4/11/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      4/11/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/11/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/11/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.91
      4/11/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.92
      4/11/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.43
      4/11/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.35
      4/11/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.7
      4/11/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                       100
      4/11/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      4/11/2020    709   WH0087   Owner Operator   Toll Charges                   Q1239 Carquinez Bridge 11                 26
      4/11/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 240396 Q1238 Lease             311.97
      4/11/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      4/11/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware 34900                           8
      4/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          166.8
      4/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.87
      4/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.74
      4/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           3.76
      4/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.14
      4/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.89
      4/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.16
      4/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.12
      4/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.77
      4/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           7.31
      4/11/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                       100

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      4/11/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      4/11/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      4/11/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      4/11/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33987                           8
      4/11/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.18
      4/11/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                       100
      4/11/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      4/11/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      4/11/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
      4/11/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.22
      4/11/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.01
      4/11/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                      100
      4/11/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
      4/11/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      4/11/2020    742   CT0085   Owner Operator   Toll Charges                   Q13171 Antioch Bridge 1                   26
      4/11/2020    742   CT0085   Owner Operator   Toll Charges                   Q13171 Benicia 1                          26
      4/11/2020    742   CT0085   Owner Operator   Toll Charges                   Q13171 Benicia 1                          26
      4/11/2020    742   CT0085   Owner Operator   Toll Charges                   Q13171 Benicia 1                          26
      4/11/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 240220 re-do of truck l        525.75
      4/11/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 240435 re-do of truck l        525.75
      4/11/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/11/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      4/11/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.01
      4/11/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           195
      4/11/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.46
      4/11/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           290
      4/11/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
      4/11/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.95
      4/11/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      4/11/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/11/2020    742   DA0067   Owner Operator   Repair Order                   CTMS - 240348 repair                      70
      4/11/2020    742   DA0067   Owner Operator   Repair Order                   CTMS - 240349 REPAIRS                 108.56
      4/11/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      4/11/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      4/11/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      4/11/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  16
      4/11/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      4/11/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 4                  26
      4/11/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 7                  26
      4/11/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      4/11/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                       100
      4/11/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63
      4/11/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      4/11/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      4/11/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.91
      4/11/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.67
      4/11/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.56
      4/11/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.87
      4/11/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
      4/11/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
      4/11/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      4/11/2020    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 3                    26
      4/11/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 240223 Trk 33487 Lease          434.2
      4/11/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 240439 Trk 33487 Lease          434.2
      4/11/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/11/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/11/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.56
      4/11/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
      4/11/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      4/11/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      4/11/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/11/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.34
      4/11/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.54

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      4/11/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
      4/11/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      4/11/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/11/2020    742   EN0016   Owner Operator   Repair Order                   CTMS - 240349 PARTS                    37.01
      4/11/2020    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 10                 26
      4/11/2020    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 10                 26
      4/11/2020    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 8                  26
      4/11/2020    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 8                  26
      4/11/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      4/11/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
      4/11/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
      4/11/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      4/11/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      4/11/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      4/11/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/11/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.14
      4/11/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.12
      4/11/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.17
      4/11/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      4/11/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      4/11/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      4/11/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      4/11/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                       100
      4/11/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      4/11/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      4/11/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      4/11/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.88
      4/11/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.85
      4/11/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.62
      4/11/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       100
      4/11/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      4/11/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      4/11/2020    742   NG0024   Owner Operator   T Chek Fee                     ExpressCheck Fee                         4.4
      4/11/2020    742   NG0024   Owner Operator   T Chek Fee                     Tractor Repair 33252                    440
      4/11/2020    742   NG0024   Owner Operator   Toll Charges                   33252 Benicia 1                           26
      4/11/2020    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 11                 26
      4/11/2020    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Turner Turnpike East         18.05
      4/11/2020    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Will Rogers Turnpike         18.05
      4/11/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
      4/11/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
      4/11/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/11/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/11/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      4/11/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      4/11/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/11/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/11/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/11/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.32
      4/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.06
      4/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.24
      4/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.92
      4/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.07
      4/11/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      4/11/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      4/11/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      4/11/2020    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 10                 26
      4/11/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      4/11/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      4/11/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      4/11/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      4/11/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      4/11/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                           83.51
      4/11/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      4/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          175.4

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      4/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.96
      4/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           70.3
      4/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.83
      4/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.76
      4/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.72
      4/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.31
      4/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.01
      4/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.39
      4/11/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                       100
      4/11/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                       100
      4/11/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      4/11/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      4/11/2020    742   RF0136   Owner Operator   T Chek Fee                     Advance fee processed 4/9/20              20
      4/11/2020    742   RF0136   Owner Operator   T Chek Fee                     Advance processed 4/9/20               2000
      4/11/2020    742   RF0136   Owner Operator   Tire Purchase                  PO: 742-00427516 - PO System          174.06
      4/11/2020    742   RF0136   Owner Operator   Toll Charges                   34182 Antioch Bridge 1                    26
      4/11/2020    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 11                 26
      4/11/2020    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 12                 26
      4/11/2020    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 9                  26
      4/11/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      4/11/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.92
      4/11/2020    742   RN0054   Owner Operator   IRP License Deduction          LCIL:2020 - Q13157                    1019.6
      4/11/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      4/11/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      4/11/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/11/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      4/11/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      4/11/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      4/11/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      4/11/2020    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/11/2020    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/11/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.38
      4/11/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.25
      4/11/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.2
      4/11/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.82
      4/11/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.02
      4/11/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      4/11/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      4/11/2020    742   TC0098   Owner Operator   Toll Charges                   33489 Antioch Bridge 1                  20.4
      4/11/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/11/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      4/11/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.91
      4/11/2020    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2020 - 33991                       100
      4/11/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       38.5
      4/11/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/11/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      4/11/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          1.47
      4/11/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      4/11/2020    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      4/11/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      4/11/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      4/11/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      4/11/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/11/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           76.2
      4/11/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          76.19
      4/11/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           76.2
      4/11/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      4/11/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      4/11/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      4/18/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      4/18/2020    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      4/18/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      4/18/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/18/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.88
      4/18/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.54

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      4/18/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.57
      4/18/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                      100
      4/18/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      4/18/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 240524 Q13148 Trac Leas        296.09
      4/18/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 240703 Q13148 Trac Leas        296.09
      4/18/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      4/18/2020    709   AN0007   Owner Operator   Communication Charge           PNet Hware 21157A                         13
      4/18/2020    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                              40
      4/18/2020    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      4/18/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.08
      4/18/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.2
      4/18/2020    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2020 - 21157A                      100
      4/18/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             8.02
      4/18/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      4/18/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      4/18/2020    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      4/18/2020    709   AR0064   Owner Operator   Communication Charge           PNet Hware q13147                          8
      4/18/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.59
      4/18/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.59
      4/18/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.92
      4/18/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                      100
      4/18/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      4/18/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 240619 Q13147 Lease            440.14
      4/18/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    60.95
      4/18/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      4/18/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      4/18/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/18/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      4/18/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      4/18/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.59
      4/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.74
      4/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.83
      4/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.01
      4/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          118.1
      4/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.25
      4/18/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
      4/18/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      4/18/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 240485 Q13169 Sublease         352.68
      4/18/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 240663 Q13169 Sublease         352.68
      4/18/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      4/18/2020    709   CC0134   Owner Operator   Broker Pre Pass                DRWZ Feb 2020                          -9.84
      4/18/2020    709   CC0134   Owner Operator   Broker Pre Pass                DRWZ Jan 2020                          -9.84
      4/18/2020    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
      4/18/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      4/18/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/18/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/18/2020    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2020 - Q13168                      200
      4/18/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      4/18/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 240586 Q13168 sub lease        352.68
      4/18/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/18/2020    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      4/18/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      4/18/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.74
      4/18/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.24
      4/18/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.72
      4/18/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      4/18/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      4/18/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/18/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      4/18/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      4/18/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      4/18/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      4/18/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          87.86
      4/18/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.8
      4/18/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          62.59
      4/18/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.67
      4/18/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
      4/18/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      4/18/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 240611 Q1247 Sub Lease         263.91
      4/18/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      4/18/2020    709   CV0028   Owner Operator   Communication Charge           PNet Hware 33482                           8
      4/18/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/18/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/18/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/18/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.14
      4/18/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.78
      4/18/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                       100
      4/18/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      4/18/2020    709   CV0028   Owner Operator   T Chek Fee                     ExpressCheck Fee                        5.46
      4/18/2020    709   CV0028   Owner Operator   T Chek Fee                     Tractor Repair 33482                  545.74
      4/18/2020    709   CV0028   Owner Operator   Toll Charges                   33482 BATA Antioch Bridge                 26
      4/18/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 240583 Lease Truck 3348        335.96
      4/18/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/18/2020    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                    12.5
      4/18/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
      4/18/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.64
      4/18/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.88
      4/18/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.07
      4/18/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                       100
      4/18/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
      4/18/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   35.11
      4/18/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      4/18/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      4/18/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware q1245                           8
      4/18/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware q1245                           8
      4/18/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/18/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.38
      4/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.91
      4/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.54
      4/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.06
      4/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.6
      4/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.92
      4/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.66
      4/18/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
      4/18/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
      4/18/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         265.09
      4/18/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         265.09
      4/18/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      4/18/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      4/18/2020    709   DL0107   Owner Operator   Repair Order                   CTMS - 240457 Repair                    100
      4/18/2020    709   DL0107   Owner Operator   Repair Order                   CTMS - 240593 Repair                    100
      4/18/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 240392 Baloon payoff           350.23
      4/18/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 240582 Baloon payoff           350.23
      4/18/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      4/18/2020    709   DM0257   Owner Operator   Broker Pre Pass                34328 PrePass Device                    12.5
      4/18/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.12
      4/18/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.72
      4/18/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                       100
      4/18/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      4/18/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      4/18/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      4/18/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                           8
      4/18/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/18/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      4/18/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/18/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.3
      4/18/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.98
      4/18/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.47
      4/18/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                       100
      4/18/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      4/18/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      4/18/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      4/18/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      4/18/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                         542.92
      4/18/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.84
      4/18/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      4/18/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      4/18/2020    709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                    12.5
      4/18/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                          13
      4/18/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.51
      4/18/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.24
      4/18/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                       100
      4/18/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      4/18/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/18/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/18/2020    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
      4/18/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      4/18/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      4/18/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/18/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/18/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          494.6
      4/18/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.56
      4/18/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.47
      4/18/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      4/18/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      4/18/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      4/18/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      4/18/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      4/18/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      4/18/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      4/18/2020    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
      4/18/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      4/18/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.21
      4/18/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                       100
      4/18/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      4/18/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      4/18/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      4/18/2020    709   EO0014   Owner Operator   Broker Pre Pass                33846 PrePass Device                    12.5
      4/18/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      4/18/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/18/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           378
      4/18/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
      4/18/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      4/18/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      4/18/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      4/18/2020    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
      4/18/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      4/18/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/18/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/18/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/18/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/18/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.46
      4/18/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.06
      4/18/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.07
      4/18/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                       100
      4/18/2020    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         336.56

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      4/18/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      4/18/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 240484 truck lease 3304        434.29
      4/18/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 240663 truck lease 3304        434.29
      4/18/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/18/2020    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      4/18/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      4/18/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.75
      4/18/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.86
      4/18/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.12
      4/18/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                      100
      4/18/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      4/18/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/18/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      4/18/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      4/18/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.04
      4/18/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                       100
      4/18/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      4/18/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      4/18/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 240612 Q1200 Lease             238.16
      4/18/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      4/18/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      4/18/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.07
      4/18/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                       100
      4/18/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      4/18/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      4/18/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      4/18/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.97
      4/18/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.81
      4/18/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                       100
      4/18/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      4/18/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      4/18/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      4/18/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.51
      4/18/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.86
      4/18/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                      100
      4/18/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      4/18/2020    709   HC0023   Owner Operator   Repair Order                   CTMS - 240565 Solvay Fuel IX15           -10
      4/18/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 240619 Q13170                  352.68
      4/18/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      4/18/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      4/18/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.32
      4/18/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         605.64
      4/18/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.84
      4/18/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.87
      4/18/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                       100
      4/18/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      4/18/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/18/2020    709   IA0007   Owner Operator   Broker Pre Pass                34012 PrePass Device                    12.5
      4/18/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      4/18/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      4/18/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          42.26
      4/18/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.98
      4/18/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                       100
      4/18/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      4/18/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      4/18/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/18/2020    709   IR0002   Owner Operator   Broker Pre Pass                32901 PrePass Device                    12.5
      4/18/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      4/18/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                           311
      4/18/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09

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      4/18/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/18/2020    709   JA0156   Owner Operator   Broker Pay Void/Reissue        Check 977124/Arrears                  -148.8
      4/18/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      4/18/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      4/18/2020    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      4/18/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      4/18/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      4/18/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.92
      4/18/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.07
      4/18/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.66
      4/18/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                      100
      4/18/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      4/18/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 240620 Q13197 Lease            276.63
      4/18/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      4/18/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      4/18/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      4/18/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      4/18/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/18/2020    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
      4/18/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      4/18/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/18/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/18/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.13
      4/18/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.22
      4/18/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.19
      4/18/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.47
      4/18/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      4/18/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      4/18/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      4/18/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      4/18/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/18/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      4/18/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/18/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/18/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                           5.19
      4/18/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.61
      4/18/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.05
      4/18/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.24
      4/18/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      4/18/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
      4/18/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      4/18/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      4/18/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/18/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      4/18/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.44
      4/18/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.08
      4/18/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100
      4/18/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      4/18/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
      4/18/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      4/18/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      4/18/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100
      4/18/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      4/18/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 240615 Balloon Payoff          234.05
      4/18/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      4/18/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      4/18/2020    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      4/18/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/18/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.76
      4/18/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.47
      4/18/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.51
      4/18/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.57
      4/18/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.67

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      4/18/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.15
      4/18/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                       100
      4/18/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      4/18/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
      4/18/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 240610 Q13159 Lease             331.5
      4/18/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/18/2020    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      4/18/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      4/18/2020    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                      -4300
      4/18/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      4/18/2020    709   KP0004   Owner Operator   Express Check                  T-Check Payment                         4300
      4/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                              50
      4/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      4/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            149
      4/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            134
      4/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            137
      4/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            175
      4/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.01
      4/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.01
      4/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            243
      4/18/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      4/18/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      4/18/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/18/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      4/18/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      4/18/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware 33483                           8
      4/18/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          226.1
      4/18/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.69
      4/18/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.33
      4/18/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                        100
      4/18/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      4/18/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 240583 33483 Lease 208         335.48
      4/18/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      4/18/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      4/18/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                        100
      4/18/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      4/18/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 240584 Balloon Pay off         200.15
      4/18/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      4/18/2020    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      4/18/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      4/18/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.07
      4/18/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.25
      4/18/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                        100
      4/18/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      4/18/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/18/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      4/18/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.81
      4/18/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.81
      4/18/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.53
      4/18/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                        100
      4/18/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      4/18/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      4/18/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      4/18/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      4/18/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            300
      4/18/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           8.12
      4/18/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.76
      4/18/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                        100
      4/18/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      4/18/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      4/18/2020    709   ME0053   Owner Operator   Broker Pre Pass                Q13199 PrePass Device                   12.5

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      4/18/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      4/18/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.71
      4/18/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.74
      4/18/2020    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2020 - Q13199                       100
      4/18/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                39.3
      4/18/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 240582 Lease Q13199            263.91
      4/18/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/18/2020    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
      4/18/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      4/18/2020    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                      -9000
      4/18/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            500
      4/18/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              40
      4/18/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             280
      4/18/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      4/18/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      4/18/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.59
      4/18/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.86
      4/18/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                        100
      4/18/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      4/18/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/18/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      4/18/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      4/18/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      4/18/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      4/18/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/18/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.6
      4/18/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.78
      4/18/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                        100
      4/18/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      4/18/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      4/18/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      4/18/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      4/18/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 240610 32986 Lease             314.03
      4/18/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      4/18/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      4/18/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             300
      4/18/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/18/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          57.95
      4/18/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.51
      4/18/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.53
      4/18/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                            120
      4/18/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                       100
      4/18/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      4/18/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      4/18/2020    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           8
      4/18/2020    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                        100
      4/18/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      4/18/2020    709   OJ0007   Owner Operator   Advance                        EFS 243248 s/u 3 wks                  193.12
      4/18/2020    709   OJ0007   Owner Operator   Advance                        EFS 243248 s/u 3 wks                 -579.36
      4/18/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/18/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      4/18/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.89
      4/18/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.15
      4/18/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      4/18/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
      4/18/2020    709   OJ0007   Owner Operator   T Chek Fee                     ExpressCheck Fee                        5.79
      4/18/2020    709   OJ0007   Owner Operator   T Chek Fee                     Tractor Repair 34370                  579.36
      4/18/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                          237.4
      4/18/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      4/18/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      4/18/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/18/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      4/18/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              40
      4/18/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      4/18/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      4/18/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.87

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      4/18/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.26
      4/18/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.76
      4/18/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.15
      4/18/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                       100
      4/18/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      4/18/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 240581 Q1241 Truck leas        321.84
      4/18/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      4/18/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
      4/18/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.82
      4/18/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.72
      4/18/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      4/18/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      4/18/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/18/2020    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      4/18/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      4/18/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      4/18/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.26
      4/18/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      4/18/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      4/18/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/18/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/18/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      4/18/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.16
      4/18/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          456.2
      4/18/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.82
      4/18/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      4/18/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      4/18/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      4/18/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      4/18/2020    709   RL0180   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
      4/18/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           8
      4/18/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      4/18/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.17
      4/18/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.82
      4/18/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      4/18/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      4/18/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      4/18/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      4/18/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      4/18/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      4/18/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      4/18/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.16
      4/18/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.08
      4/18/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                       100
      4/18/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      4/18/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      4/18/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      4/18/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                       100
      4/18/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      4/18/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 240555 Q1202 Balloon           234.05
      4/18/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      4/18/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      4/18/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware 33488                           8
      4/18/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware 33488                           8
      4/18/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/18/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/18/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/18/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/18/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.27
      4/18/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.55
      4/18/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.58
      4/18/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.59
      4/18/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                       100
      4/18/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                       100

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      4/18/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      4/18/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      4/18/2020    709   RR0123   Owner Operator   Toll Charges                   33488 KTA Southern Terminal             4.95
      4/18/2020    709   RR0123   Owner Operator   Toll Charges                   33488 NTTA Exit I35E-CRBRD-56           2.16
      4/18/2020    709   RR0123   Owner Operator   Toll Charges                   33488 NTTA Exit I35E-FKFRD-66           2.84
      4/18/2020    709   RR0123   Owner Operator   Toll Charges                   33488 NTTA Exit I35E-GRBLV-86           3.28
      4/18/2020    709   RR0123   Owner Operator   Toll Charges                   33488 NTTA Exit I35E-SH121-75           3.56
      4/18/2020    709   RR0123   Owner Operator   Toll Charges                   33488 NTTA Exit I35E-VAVLN-46           1.68
      4/18/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 240393 33488 Lease $335        335.48
      4/18/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 240583 33488 Lease $335        335.48
      4/18/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 240654 Past tractor ren          100
      4/18/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      4/18/2020    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      4/18/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      4/18/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/18/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/18/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/18/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.87
      4/18/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.85
      4/18/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.99
      4/18/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      4/18/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      4/18/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      4/18/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      4/18/2020    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
      4/18/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      4/18/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/18/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.77
      4/18/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.78
      4/18/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                       100
      4/18/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      4/18/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      4/18/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 240556 Sub Lease               388.33
      4/18/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      4/18/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      4/18/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.64
      4/18/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.31
      4/18/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.91
      4/18/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      4/18/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      4/18/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      4/18/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                       100
      4/18/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      4/18/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   155.84
      4/18/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/18/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      4/18/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/18/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/18/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/18/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.62
      4/18/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.98
      4/18/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.2
      4/18/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                       100
      4/18/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      4/18/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      4/18/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/18/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      4/18/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      4/18/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      4/18/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      4/18/2020    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      4/18/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      4/18/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      4/18/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.83
      4/18/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                       100
      4/18/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      4/18/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 240586 Q1238 Lease             311.97
      4/18/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      4/18/2020    742   BS0078   Owner Operator   Broker Pre Pass                34900 PrePass Device                    12.5
      4/18/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware 34900                           8
      4/18/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.82
      4/18/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.12
      4/18/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.12
      4/18/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.07
      4/18/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          42.98
      4/18/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.64
      4/18/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.44
      4/18/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                       100
      4/18/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      4/18/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      4/18/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      4/18/2020    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      4/18/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33987                           8
      4/18/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.98
      4/18/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.74
      4/18/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                       100
      4/18/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      4/18/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/18/2020    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
      4/18/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      4/18/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           330
      4/18/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.47
      4/18/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.95
      4/18/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             65
      4/18/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.68
      4/18/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
      4/18/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.95
      4/18/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      4/18/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/18/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63
      4/18/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      4/18/2020    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 240565 Trailer 701730 w           -45
      4/18/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
      4/18/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.42
      4/18/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.62
      4/18/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          437.1
      4/18/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
      4/18/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
      4/18/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      4/18/2020    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Creek Turnpike Eastb          3.05
      4/18/2020    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Indian Nation Turnpi          7.05
      4/18/2020    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Turner Turnpike East         -1.55
      4/18/2020    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Turner Turnpike East         18.05
      4/18/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/18/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/18/2020    742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                    12.5
      4/18/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      4/18/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      4/18/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.52
      4/18/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.08
      4/18/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          494.5
      4/18/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.95
      4/18/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
      4/18/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
      4/18/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.09
      4/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.09

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      4/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/18/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/18/2020    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      4/18/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      4/18/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      4/18/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.58
      4/18/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.36
      4/18/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.91
      4/18/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.83
      4/18/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.16
      4/18/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.28
      4/18/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
      4/18/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      4/18/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/18/2020    742   EN0016   Owner Operator   Repair Order                   CTMS - 240349 PARTS                    71.23
      4/18/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      4/18/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
      4/18/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
      4/18/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      4/18/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      4/18/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      4/18/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/18/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/18/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/18/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.97
      4/18/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.14
      4/18/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.87
      4/18/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.75
      4/18/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      4/18/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      4/18/2020    742   JB0465   Owner Operator   Toll Charges                   34804 ILTOLL Route 80 (East)             5.1
      4/18/2020    742   JB0465   Owner Operator   Toll Charges                   34804 ILTOLL Route 80 (West)             5.1
      4/18/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      4/18/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      4/18/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                       100
      4/18/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      4/18/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/18/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      4/18/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      4/18/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      4/18/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      4/18/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                          13
      4/18/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/18/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/18/2020    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2020 - 33296                       100
      4/18/2020    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2020 - 33296                       100
      4/18/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          76.67
      4/18/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          76.67
      4/18/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/18/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      4/18/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      4/18/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      4/18/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      4/18/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      4/18/2020    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 10                 26
      4/18/2020    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 11                 26
      4/18/2020    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 8                  26
      4/18/2020    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 9                  26
      4/18/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      4/18/2020    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      4/18/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
      4/18/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.84
      4/18/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.7
      4/18/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.79
      4/18/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.32
      4/18/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       100
      4/18/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      4/18/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      4/18/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      4/18/2020    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Turner Turnpike West         18.05
      4/18/2020    742   NG0024   Owner Operator   Toll Charges                   33252 OTA Will Rogers Turnpike         18.05
      4/18/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
      4/18/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/18/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      4/18/2020    742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                      -1500
      4/18/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      4/18/2020    742   PC0012   Owner Operator   Express Check                  T-Check Payment                         1500
      4/18/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      4/18/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/18/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.67
      4/18/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.36
      4/18/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.19
      4/18/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      4/18/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      4/18/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      4/18/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      4/18/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      4/18/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.35
      4/18/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.97
      4/18/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                        100
      4/18/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      4/18/2020    742   RF0136   Owner Operator   T Chek Fee                     Advance 34182                           2000
      4/18/2020    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                          20
      4/18/2020    742   RF0136   Owner Operator   T Chek Fee                     Rvrs Dup EFS 242937                    -2000
      4/18/2020    742   RF0136   Owner Operator   T Chek Fee                     Rvrs Dup EFS 242937 Fee                  -20
      4/18/2020    742   RF0136   Owner Operator   Toll Charges                   34182 ILTOLL Route 80 (East)             5.1
      4/18/2020    742   RF0136   Owner Operator   Toll Charges                   34182 ILTOLL Route 80 (West)             5.1
      4/18/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      4/18/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      4/18/2020    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      4/18/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/18/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/18/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/18/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.86
      4/18/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.82
      4/18/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.61
      4/18/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          172.7
      4/18/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.53
      4/18/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.01
      4/18/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.39
      4/18/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.03
      4/18/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.86
      4/18/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      4/18/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      4/18/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      4/18/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      4/18/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 BATA Carquinez Bridge              26
      4/18/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Ship Channel Brid             7
      4/18/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 240220 Balloon Payoff          335.75
      4/18/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 240435 Balloon Payoff          335.75
      4/18/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/18/2020    742   SK0049   Owner Operator   Broker Pre Pass                33934 PrePass Device                    12.5
      4/18/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      4/18/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      4/18/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      4/18/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      4/18/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      4/18/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      4/18/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.66
      4/18/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                        100
      4/18/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                        100
      4/18/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      4/18/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      4/18/2020    742   TC0098   Owner Operator   Toll Charges                   33489 Antioch Bridge 1                   5.6
      4/18/2020    742   TC0098   Owner Operator   Toll Charges                   33489 Carquinez Bridge 12                 26

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      4/18/2020    742   TC0098   Owner Operator   Toll Charges                   702468/33489 San Mateo 10                 26
      4/18/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 240214 33489 Lease Paym        412.16
      4/18/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 240429 33489 Lease Paym        412.16
      4/18/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/18/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      4/18/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          270.4
      4/18/2020    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2020 - 33991                       100
      4/18/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/18/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       38.5
      4/18/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/18/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      4/25/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      4/25/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
      4/25/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/25/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.51
      4/25/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.45
      4/25/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.49
      4/25/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.92
      4/25/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                      100
      4/25/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            36.88
      4/25/2020    709   AC0061   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.85
      4/25/2020    709   AC0061   Owner Operator   T Chek Fee                     Tractor Repair Q13148                 385.02
      4/25/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 240945 Q13148 Trac Leas        296.09
      4/25/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   21157A 1997 Freightliner NTL            8.75
      4/25/2020    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2020 - 21157A                      100
      4/25/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD             8.02
      4/25/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                21157A 1997 Freightliner PD Te           2.5
      4/25/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 240817 TRUCK RENTAL              500
      4/25/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      4/25/2020    709   AR0064   Owner Operator   Communication Charge           PNet Hware q13147                          8
      4/25/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.37
      4/25/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.13
      4/25/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                      100
      4/25/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            36.07
      4/25/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    60.95
      4/25/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      4/25/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
      4/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.44
      4/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.26
      4/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.43
      4/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.96
      4/25/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
      4/25/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            36.07
      4/25/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 240910 Q13169 Sublease         352.68
      4/25/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      4/25/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                      92.72
      4/25/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          28.11
      4/25/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      4/25/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
      4/25/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/25/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/25/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.21
      4/25/2020    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2020 - Q13168                      200
      4/25/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            36.07
      4/25/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 240837 Q13168 sub lease        352.68
      4/25/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/25/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
      4/25/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/25/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/25/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         527.21
      4/25/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.47
      4/25/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      4/25/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.04
      4/25/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/25/2020    709   CM0119   Owner Operator   Repair Order                   CTMS - 240969 REPAIRS                     60
      4/25/2020    709   CM0119   Owner Operator   Toll Charges                   32920 SBX Olympic Parkway                0.5
      4/25/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17

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      4/25/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      4/25/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
      4/25/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/25/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/25/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/25/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/25/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           51.7
      4/25/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.76
      4/25/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.23
      4/25/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
      4/25/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.87
      4/25/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 240865 Q1247 Sub Lease         263.91
      4/25/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      4/25/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/25/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/25/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.03
      4/25/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                       100
      4/25/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.17
      4/25/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 240834 Lease Truck 3348        303.41
      4/25/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      4/25/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware q1245                           8
      4/25/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      4/25/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      4/25/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.94
      4/25/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.47
      4/25/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
      4/25/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         265.09
      4/25/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.45
      4/25/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 240833 Baloon payoff           350.23
      4/25/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      4/25/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                           56.6
      4/25/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.56
      4/25/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                       100
      4/25/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.16
      4/25/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      4/25/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      4/25/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                           8
      4/25/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      4/25/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/25/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.71
      4/25/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.48
      4/25/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                       100
      4/25/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  114.69
      4/25/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      4/25/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
      4/25/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                         457.08
      4/25/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      4/25/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.43
      4/25/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.09
      4/25/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/25/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                          13
      4/25/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/25/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/25/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/25/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.06
      4/25/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.09
      4/25/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      4/25/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      4/25/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      4/25/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      4/25/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                           8
      4/25/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                       100
      4/25/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.11
      4/25/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      4/25/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75

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      4/25/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
      4/25/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/25/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/25/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/25/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           271
      4/25/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           403
      4/25/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.18
      4/25/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
      4/25/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 80.2
      4/25/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      4/25/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      4/25/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                           8
      4/25/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           208
      4/25/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.25
      4/25/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                       100
      4/25/2020    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         336.56
      4/25/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.91
      4/25/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 240910 truck lease 3304        434.29
      4/25/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/25/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                         13
      4/25/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.52
      4/25/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                      100
      4/25/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.09
      4/25/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/25/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      4/25/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                           8
      4/25/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            400
      4/25/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      4/25/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.04
      4/25/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                       100
      4/25/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.04
      4/25/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.67
      4/25/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 240866 Q1200 Lease             238.16
      4/25/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      4/25/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                          13
      4/25/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.41
      4/25/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                       100
      4/25/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.09
      4/25/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      4/25/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                           8
      4/25/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.48
      4/25/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                       100
      4/25/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      4/25/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 240874 Q1109 Lease             302.85
      4/25/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      4/25/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                          8
      4/25/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.47
      4/25/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.38
      4/25/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                      100
      4/25/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            36.07
      4/25/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 240872 Q13170                  352.68
      4/25/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      4/25/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                           8
      4/25/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.38
      4/25/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                       100
      4/25/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.64
      4/25/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/25/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/25/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/25/2020    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
      4/25/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      4/25/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      4/25/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
      4/25/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/25/2020    709   HG0027   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      4/25/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.89
      4/25/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.52
      4/25/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                        100
      4/25/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                        100
      4/25/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                        100
      4/25/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.13
      4/25/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.15
      4/25/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.15
      4/25/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/25/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                           8
      4/25/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            150
      4/25/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.18
      4/25/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.68
      4/25/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                        100
      4/25/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    52.7
      4/25/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.34
      4/25/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/25/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                           8
      4/25/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.17
      4/25/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.07
      4/25/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/25/2020    709   JA0156   Owner Operator   *Arrears Collection W/O        Applicable Amount to Arrears           148.8
      4/25/2020    709   JA0156   Owner Operator   *Arrears Collection W/O        WO:Applicable Amount to Arrear        -148.8
      4/25/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.96
      4/25/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      4/25/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                         13
      4/25/2020    709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                      -4800
      4/25/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      4/25/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      4/25/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.98
      4/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.36
      4/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.94
      4/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.64
      4/25/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                       100
      4/25/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.11
      4/25/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 240873 Q13197 Lease            276.63
      4/25/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      4/25/2020    709   JD0211   Owner Operator   Communication Charge           PNet Hware 34325                           8
      4/25/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      4/25/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      4/25/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/25/2020    709   JG0017   Owner Operator   Communication Charge           PNet Hware 32908                          13
      4/25/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             500
      4/25/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/25/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.97
      4/25/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.26
      4/25/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.11
      4/25/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      4/25/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      4/25/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      4/25/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      4/25/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/25/2020    709   JG0072   Owner Operator   Communication Charge           PNet Hware 32909                          13
      4/25/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             500
      4/25/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      4/25/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          428.2
      4/25/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.36
      4/25/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          426.5
      4/25/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      4/25/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   76.19
      4/25/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      4/25/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      4/25/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75

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      4/25/2020    709   JQ0015   Owner Operator   Communication Charge           PNet Hware 34637                           8
      4/25/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.63
      4/25/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.87
      4/25/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100
      4/25/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.03
      4/25/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.02
      4/25/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      4/25/2020    709   JR0099   Owner Operator   Communication Charge           PNet Hware Q1203                          13
      4/25/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100
      4/25/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.14
      4/25/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 240869 Balloon Payoff          234.05
      4/25/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      4/25/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      4/25/2020    709   JS0265   Owner Operator   Communication Charge           PNet Hware Q13159                          8
      4/25/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/25/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
      4/25/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      4/25/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD             41.3
      4/25/2020    709   JS0265   Owner Operator   Toll Charges                   Q13159 BATA Carquinez Bridge              26
      4/25/2020    709   JS0265   Owner Operator   Toll Charges                   Q13159 BATA Carquinez Bridge              26
      4/25/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 240864 Q13159 Lease             331.5
      4/25/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/25/2020    709   KP0004   Owner Operator   Communication Charge           PNet Hware 32914                          13
      4/25/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          88.39
      4/25/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      4/25/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      4/25/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/25/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      4/25/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      4/25/2020    709   KT0055   Owner Operator   Communication Charge           PNet Hware 33483                           8
      4/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.23
      4/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.64
      4/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.93
      4/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.02
      4/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.97
      4/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.05
      4/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.54
      4/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.98
      4/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.97
      4/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.99
      4/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.93
      4/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.01
      4/25/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                       100
      4/25/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.13
      4/25/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 240834 33483 Lease 208         335.48
      4/25/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      4/25/2020    709   LL0160   Owner Operator   Communication Charge           PNet Hware Q1111                           8
      4/25/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                       100
      4/25/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.09
      4/25/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 240835 Balloon Pay off         200.15
      4/25/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      4/25/2020    709   LS0023   Owner Operator   Communication Charge           PNet Hware 33655                          13
      4/25/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          359.8
      4/25/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                       100
      4/25/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.53
      4/25/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/25/2020    709   MA0092   Owner Operator   Communication Charge           PNet Hware 34005                           8
      4/25/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.38
      4/25/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                       100
      4/25/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.77
      4/25/2020    709   MA0092   Owner Operator   Toll Charges                   34005 BATA Richmond                       26
      4/25/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      4/25/2020    709   MD0122   Owner Operator   Communication Charge           PNet Hware 34342                           8
      4/25/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      4/25/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.85
      4/25/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.47

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      4/25/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.02
      4/25/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                       100
      4/25/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.95
      4/25/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      4/25/2020    709   ME0053   Owner Operator   Communication Charge           PNet Hware Q13199                          8
      4/25/2020    709   ME0053   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.37
      4/25/2020    709   ME0053   Owner Operator   IRP License Deduction          LCIL:2020 - Q13199                      100
      4/25/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               39.27
      4/25/2020    709   ME0053   Owner Operator   Repair Order                   CTMS - 240975 REPAIRS                 220.07
      4/25/2020    709   ME0053   Owner Operator   Truck Payment                  CTMS - 240834 Lease Q13199            263.91
      4/25/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                         90
      4/25/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/25/2020    709   MP0035   Owner Operator   Communication Charge           PNet Hware 32904                           8
      4/25/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      4/25/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            280
      4/25/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      4/25/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.23
      4/25/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                       100
      4/25/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.12
      4/25/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/25/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      4/25/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      4/25/2020    709   NB0029   Owner Operator   Communication Charge           PNet Hware 32986                          13
      4/25/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      4/25/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/25/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/25/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/25/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/25/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/25/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/25/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.46
      4/25/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.68
      4/25/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.18
      4/25/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                       100
      4/25/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              36.07
      4/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      4/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      4/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      4/25/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 240864 32986 Lease             314.03
      4/25/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      4/25/2020    709   NG0005   Owner Operator   Communication Charge           PNet Hware 21412B                         13
      4/25/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            150
      4/25/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            120
      4/25/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
      4/25/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      4/25/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          64.72
      4/25/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.45
      4/25/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.71
      4/25/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.02
      4/25/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                      100
      4/25/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      4/25/2020    709   NG0005   Owner Operator   Truck Payment                  CTMS - 240969 TRUCK RENTAL              200
      4/25/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      4/25/2020    709   NT9564   Owner Operator   Communication Charge           PNet Hware 73130                           8
      4/25/2020    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                       100
      4/25/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      4/25/2020    709   OJ0007   Owner Operator   Advance                        EFS 243248 s/u 3 wks                  193.12
      4/25/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      4/25/2020    709   OJ0007   Owner Operator   Communication Charge           PNet Hware 34370                           8
      4/25/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.31
      4/25/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.85
      4/25/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      4/25/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.05
      4/25/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      4/25/2020    709   RB0170   Owner Operator   Communication Charge           PNet Hware Q1241                           8
      4/25/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50

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      4/25/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.97
      4/25/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          61.81
      4/25/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.69
      4/25/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.8
      4/25/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                       100
      4/25/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.09
      4/25/2020    709   RB0170   Owner Operator   Repair Order                   CTMS - 240967 REPAIR                      30
      4/25/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/25/2020    709   RL0017   Owner Operator   Communication Charge           PNet Hware 33065                          13
      4/25/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      4/25/2020    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/25/2020    709   RL0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/25/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.25
      4/25/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      4/25/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.26
      4/25/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/25/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/25/2020    709   RL0062   Owner Operator   Communication Charge           PNet Hware 32912                          13
      4/25/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/25/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/25/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/25/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/25/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.27
      4/25/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.08
      4/25/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      4/25/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.62
      4/25/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      4/25/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      4/25/2020    709   RL0180   Owner Operator   Communication Charge           PNet Hware 32910                           8
      4/25/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                         165.97
      4/25/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.35
      4/25/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.24
      4/25/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      4/25/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    52.7
      4/25/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      4/25/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      4/25/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.46
      4/25/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      4/25/2020    709   RM0026   Owner Operator   Communication Charge           PNet Hware 33664                          13
      4/25/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.65
      4/25/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                       100
      4/25/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.06
      4/25/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      4/25/2020    709   RP0082   Owner Operator   Communication Charge           PNet Hware Q1202                          13
      4/25/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.89
      4/25/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                       100
      4/25/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.14
      4/25/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 240807 Q1202 Balloon           234.05
      4/25/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      4/25/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware 33488                           8
      4/25/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.19
      4/25/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.76
      4/25/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                       100
      4/25/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.13
      4/25/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 240835 33488 Lease $335        335.48
      4/25/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 240909 Past tractor ren          100
      4/25/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      4/25/2020    709   SB0009   Owner Operator   Communication Charge           PNet Hware 33236                          13
      4/25/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/25/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/25/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/25/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.14
      4/25/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.88
      4/25/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.89
      4/25/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      4/25/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      4/25/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.65
      4/25/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      4/25/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      4/25/2020    709   SB0103   Owner Operator   Communication Charge           PNet Hware 33037                           8
      4/25/2020    709   SB0103   Owner Operator   ESCROW                         Escrow Withdrawal                     -210.4
      4/25/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      4/25/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.05
      4/25/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.09
      4/25/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.82
      4/25/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                       100
      4/25/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.31
      4/25/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      4/25/2020    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        2.08
      4/25/2020    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  208.32
      4/25/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 240808 Sub Lease               388.33
      4/25/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      4/25/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      4/25/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.12
      4/25/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      4/25/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           355
      4/25/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                             90
      4/25/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      4/25/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
      4/25/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      4/25/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             76.19
      4/25/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      4/25/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                         108.79
      4/25/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      4/25/2020    709   SN0019   Owner Operator   Communication Charge           PNet Hware 33461                          13
      4/25/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/25/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/25/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/25/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/25/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.23
      4/25/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.96
      4/25/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.31
      4/25/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    44.1
      4/25/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      4/25/2020    709   VB0015   Owner Operator   Communication Charge           PNet Hware Q1112                           8
      4/25/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           220
      4/25/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           146
      4/25/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      4/25/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                       100
      4/25/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      4/25/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   155.82
      4/25/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/25/2020    709   VJ0006   Owner Operator   Communication Charge           PNet Hware 33961                           8
      4/25/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/25/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/25/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/25/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.97
      4/25/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.49
      4/25/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.61
      4/25/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                       100
      4/25/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         257.43
      4/25/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      4/25/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      4/25/2020    709   WB0062   Owner Operator   Communication Charge           PNet Hware 33407                          13
      4/25/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      4/25/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      4/25/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      4/25/2020    709   WH0087   Owner Operator   Communication Charge           PNet Hware q1239                           8
      4/25/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      4/25/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      4/25/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.64
      4/25/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.89

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      4/25/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.61
      4/25/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.49
      4/25/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                       100
      4/25/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      4/25/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      4/25/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      4/25/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      4/25/2020    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      4/25/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      4/25/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      4/25/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
      4/25/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/25/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/25/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/25/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/25/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/25/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/25/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           108
      4/25/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.04
      4/25/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          327.6
      4/25/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.66
      4/25/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      4/25/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      4/25/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      4/25/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      4/25/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      4/25/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      4/25/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      4/25/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware 34900                           8
      4/25/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.67
      4/25/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.22
      4/25/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.87
      4/25/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                       100
      4/25/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  113.48
      4/25/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      4/25/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      4/25/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33987                           8
      4/25/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.91
      4/25/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.68
      4/25/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.31
      4/25/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                       100
      4/25/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.18
      4/25/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/25/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
      4/25/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.51
      4/25/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.01
      4/25/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
      4/25/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.95
      4/25/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.18
      4/25/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/25/2020    742   DA0067   Owner Operator   T Chek Fee                     ExpressCheck Fee                         5.5
      4/25/2020    742   DA0067   Owner Operator   T Chek Fee                     Towing 33847                            550
      4/25/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      4/25/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
      4/25/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.36
      4/25/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.02
      4/25/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         618.36
      4/25/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                       100
      4/25/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                       100
      4/25/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      4/25/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
      4/25/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.89
      4/25/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.29
      4/25/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
      4/25/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.06

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      4/25/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      4/25/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/25/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      4/25/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/25/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      4/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.16
      4/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.29
      4/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.53
      4/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.86
      4/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.91
      4/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.91
      4/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          389.1
      4/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.23
      4/25/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
      4/25/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
      4/25/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      4/25/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.05
      4/25/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      4/25/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      4/25/2020    742   ED0041   Owner Operator   Toll Charges                   32897 BATA Carquinez Bridge               26
      4/25/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/25/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
      4/25/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.71
      4/25/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.63
      4/25/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                           12.9
      4/25/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          161.1
      4/25/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
      4/25/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      4/25/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      4/25/2020    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Northwest M          4.48
      4/25/2020    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Spencer Mai          8.64
      4/25/2020    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Spencer Mai          8.64
      4/25/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      4/25/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
      4/25/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.13
      4/25/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      4/25/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      4/25/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
      4/25/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      4/25/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/25/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/25/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.67
      4/25/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.7
      4/25/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.49
      4/25/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.25
      4/25/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.11
      4/25/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.04
      4/25/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      4/25/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      4/25/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                          13
      4/25/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                       100
      4/25/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.04
      4/25/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.55
      4/25/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      4/25/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      4/25/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      4/25/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/25/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      4/25/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.75
      4/25/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.18
      4/25/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.21
      4/25/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      4/25/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.14
      4/25/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      4/25/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      4/25/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
      4/25/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      4/25/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      4/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.41
      4/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.14
      4/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.92
      4/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.53
      4/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.5
      4/25/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                       100
      4/25/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.52
      4/25/2020    742   RF0136   Owner Operator   Toll Charges                   34182 ILTOLL Route 80 (East)             5.1
      4/25/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      4/25/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
      4/25/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.49
      4/25/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.67
      4/25/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.32
      4/25/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.49
      4/25/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            36.07
      4/25/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      4/25/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 240615 Balloon Payoff          335.75
      4/25/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 240869 Balloon Payoff          335.75
      4/25/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      4/25/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                          13
      4/25/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.14
      4/25/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      4/25/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      4/25/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                           8
      4/25/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.06
      4/25/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.71
      4/25/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.51
      4/25/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.16
      4/25/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.51
      4/25/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                       100
      4/25/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      4/25/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      4/25/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 240610 33489 Lease Paym        412.16
      4/25/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 240863 33489 Lease Paym        412.16
      4/25/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      4/25/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                           8
      4/25/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          313.3
      4/25/2020    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2020 - 33991                       100
      4/25/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       38.5
      4/25/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      4/25/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      4/25/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                          8.75
      4/25/2020    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                    12.5
      4/25/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      4/25/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
      4/25/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      4/25/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                          76.19
      4/25/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                           76.2
      4/25/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
      4/25/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  2.5
       5/2/2020    709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
       5/2/2020    709   AC0061   Owner Operator   Communication Charge           PNet Hware Q13148                          8
       5/2/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/2/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.29
       5/2/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          426.6
       5/2/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.17
       5/2/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.89
       5/2/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                      100
       5/2/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 241143 Q13148 Trac Leas        296.09
       5/2/2020    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK21157A                     9.84
       5/2/2020    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance                              60
       5/2/2020    709   AN0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       5/2/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.5
       5/2/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.07
       5/2/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.22
       5/2/2020    709   AN0007   Owner Operator   IRP License Deduction          LCIL:2020 - 21157A                   1349.43
       5/2/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 241002 TRUCK RENTAL              500

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       5/2/2020    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
       5/2/2020    709   AR0064   Owner Operator   Communication Charge           PNet Hware q13147                          8
       5/2/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.24
       5/2/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           205
       5/2/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                      100
       5/2/2020    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
       5/2/2020    709   AV0021   Owner Operator   Communication Charge           PNet Hware Q13169                          8
       5/2/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
       5/2/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       5/2/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.47
       5/2/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.01
       5/2/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          71.92
       5/2/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.74
       5/2/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.83
       5/2/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           48.1
       5/2/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.5
       5/2/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.3
       5/2/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.86
       5/2/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
       5/2/2020    709   AV0021   Owner Operator   Repair Order                   CTMS - 240974 REPAIRS                   340
       5/2/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
       5/2/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       5/2/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.91
       5/2/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.72
       5/2/2020    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2020 - Q13168                    160.59
       5/2/2020    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
       5/2/2020    709   CM0119   Owner Operator   Communication Charge           PNet Hware 32920                          13
       5/2/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/2/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/2/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.02
       5/2/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
       5/2/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
       5/2/2020    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
       5/2/2020    709   CR0064   Owner Operator   Communication Charge           PNet Hware Q1247                           8
       5/2/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          45.56
       5/2/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.57
       5/2/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          70.92
       5/2/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.68
       5/2/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
       5/2/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 241070 Q1247 Sub Lease         263.91
       5/2/2020    709   CV0028   Owner Operator   Broker Pre Pass                DriveWyze TRK33482                      9.84
       5/2/2020    709   CV0028   Owner Operator   Communication Charge           PNet Hware 33482                           8
       5/2/2020    709   CV0028   Owner Operator   Communication Charge           PNet Hware 33482                           8
       5/2/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/2/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/2/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
       5/2/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       5/2/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.03
       5/2/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.57
       5/2/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                       100
       5/2/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 240834 Lease Truck 3348         32.55
       5/2/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 241032 Lease Truck 3348        335.96
       5/2/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/2/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                      73.56
       5/2/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/2/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   35.11
       5/2/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.84
       5/2/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.53
       5/2/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                       100
       5/2/2020    709   DS0049   Owner Operator   Communication Charge           PNet Hware 34880                           8
       5/2/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       5/2/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       5/2/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.62
       5/2/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.44
       5/2/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                       100
       5/2/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
       5/2/2020    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       5/2/2020    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                      9.84
       5/2/2020    709   DS0225   Owner Operator   Communication Charge           PNet Hware 33320                           8
       5/2/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
       5/2/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.64
       5/2/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       5/2/2020    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84

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       5/2/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                         13
       5/2/2020    709   DS0288   Owner Operator   Communication Charge           PNet Hware 34266                         13
       5/2/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                             50
       5/2/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.5
       5/2/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.52
       5/2/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                        206.74
       5/2/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                      100
       5/2/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                      100
       5/2/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       5/2/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                  43.11
       5/2/2020    709   EA0003   Owner Operator   Communication Charge           PNet Hware 33051                         13
       5/2/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                          250
       5/2/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                           200
       5/2/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       5/2/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        526.48
       5/2/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                        457.97
       5/2/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                     33.64
       5/2/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                        545.75
       5/2/2020    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                     9.84
       5/2/2020    709   EG0062   Owner Operator   Communication Charge           PNet Hware 33828                          8
       5/2/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                           300
       5/2/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
       5/2/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.4
       5/2/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                      100
       5/2/2020    709   FS0039   Owner Operator   Communication Charge           PNet Hware 33040                          8
       5/2/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          155
       5/2/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                        350.18
       5/2/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                      100
       5/2/2020    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment        336.56
       5/2/2020    709   FV0001   Owner Operator   Communication Charge           PNet Hware 21521B                        13
       5/2/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                           200
       5/2/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       5/2/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        311.69
       5/2/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                     100
       5/2/2020    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1200                     9.84
       5/2/2020    709   GA0051   Owner Operator   Communication Charge           PNet Hware Q1200                          8
       5/2/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.46
       5/2/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.72
       5/2/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                      100
       5/2/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 241072 Q1200 Lease            238.16
       5/2/2020    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                     9.84
       5/2/2020    709   GS0015   Owner Operator   Communication Charge           PNet Hware Q1110                         13
       5/2/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.96
       5/2/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                      100
       5/2/2020    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                     9.84
       5/2/2020    709   GW0043   Owner Operator   Communication Charge           PNet Hware Q1109                          8
       5/2/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         89.11
       5/2/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         88.97
       5/2/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                      100
       5/2/2020    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                    9.84
       5/2/2020    709   HC0023   Owner Operator   Communication Charge           PNet Hware Q13170                         8
       5/2/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        156.03
       5/2/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                     100
       5/2/2020    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                     9.84
       5/2/2020    709   HG0007   Owner Operator   Communication Charge           PNet Hware 34565                          8
       5/2/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        258.43
       5/2/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        457.49
       5/2/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         35.66
       5/2/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                      100
       5/2/2020    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                     9.84
       5/2/2020    709   IA0007   Owner Operator   Communication Charge           PNet Hware 34012                          8
       5/2/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                          150
       5/2/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         89.62
       5/2/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        133.72
       5/2/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                      100
       5/2/2020    709   IR0002   Owner Operator   Communication Charge           PNet Hware 32901                          8
       5/2/2020    709   JC0292   Owner Operator   Communication Charge           PNet Hware Q13197                        13
       5/2/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          400
       5/2/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
       5/2/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
       5/2/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       5/2/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       5/2/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        388.61

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       5/2/2020    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                        238.56
       5/2/2020    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                        109.24
       5/2/2020    709   JC0292   Owner Operator   IRP License Deduction   LCIL:2020 - Q13197                     100
       5/2/2020    709   JC0292   Owner Operator   Miscellaneous           Saskatchewan 2019 Prem                    8
       5/2/2020    709   JC0292   Owner Operator   Repair Order            CTMS - 241052 Repair                 296.25
       5/2/2020    709   JC0292   Owner Operator   Truck Payment           CTMS - 241079 Q13197 Lease           276.63
       5/2/2020    709   JD0211   Owner Operator   Broker Pre Pass         DriveWyze TRK34325                     9.84
       5/2/2020    709   JD0211   Owner Operator   Communication Charge    PNet Hware 34325                          8
       5/2/2020    709   JG0017   Owner Operator   Broker Pre Pass         DriveWyze TRK32908                     9.84
       5/2/2020    709   JG0017   Owner Operator   Communication Charge    PNet Hware 32908                         13
       5/2/2020    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                           500
       5/2/2020    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                          5
       5/2/2020    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                        175.18
       5/2/2020    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                        137.51
       5/2/2020    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                        146.65
       5/2/2020    709   JG0017   Owner Operator   IRP License Deduction   LCIL:2020 - 32908                     33.64
       5/2/2020    709   JG0017   Owner Operator   Loan Repayment          Loan # 00006 - Loan Repayment        414.93
       5/2/2020    709   JG0017   Owner Operator   Tractor Charge          14298 - 32908                        490.64
       5/2/2020    709   JG0017   Owner Operator   US Legal Services       U.S. Legal Services                   32.95
       5/2/2020    709   JG0072   Owner Operator   Broker Pre Pass         DriveWyze TRK32909                     9.84
       5/2/2020    709   JG0072   Owner Operator   Communication Charge    PNet Hware 32909                         13
       5/2/2020    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                           300
       5/2/2020    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                           200
       5/2/2020    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
       5/2/2020    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                          3
       5/2/2020    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                        467.87
       5/2/2020    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                        398.92
       5/2/2020    709   JG0072   Owner Operator   IRP License Deduction   LCIL:2020 - 32909                     33.64
       5/2/2020    709   JG0072   Owner Operator   Tractor Charge          14534 - 32909                        499.05
       5/2/2020    709   JQ0015   Owner Operator   Broker Pre Pass         DriveWyze TRK34637                     9.84
       5/2/2020    709   JQ0015   Owner Operator   Communication Charge    PNet Hware 34637                          8
       5/2/2020    709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                        158.17
       5/2/2020    709   JQ0015   Owner Operator   IRP License Deduction   LCIL:2020 - 34637                      100
       5/2/2020    709   JR0099   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1203                     9.84
       5/2/2020    709   JR0099   Owner Operator   Communication Charge    PNet Hware Q1203                         13
       5/2/2020    709   JR0099   Owner Operator   Fuel Purchase           Fuel Purchase                        369.89
       5/2/2020    709   JR0099   Owner Operator   IRP License Deduction   LCIL:2020 - Q1203                      100
       5/2/2020    709   JR0099   Owner Operator   Truck Payment           CTMS - 241074 Balloon Payoff         234.05
       5/2/2020    709   JS0265   Owner Operator   Broker Pre Pass         DriveWyze TRKQ13159                    9.84
       5/2/2020    709   JS0265   Owner Operator   Communication Charge    PNet Hware Q13159                         8
       5/2/2020    709   JS0265   Owner Operator   ESCROW                  Weekly Escrow                          100
       5/2/2020    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                        138.66
       5/2/2020    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                        220.36
       5/2/2020    709   JS0265   Owner Operator   IRP License Deduction   LCIL:2020 - Q13159                     100
       5/2/2020    709   KP0004   Owner Operator   Communication Charge    PNet Hware 32914                         13
       5/2/2020    709   KP0004   Owner Operator   ESCROW                  Weekly Escrow                          250
       5/2/2020    709   KP0004   Owner Operator   ESCROW                  Weekly Escrow                        161.61
       5/2/2020    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                         19.81
       5/2/2020    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                          337
       5/2/2020    709   KP0004   Owner Operator   IRP License Deduction   LCIL:2020 - 32914                     33.64
       5/2/2020    709   KP0004   Owner Operator   Tractor Charge          14457 - 32914                        504.17
       5/2/2020    709   KT0055   Owner Operator   Broker Pre Pass         DriveWyze TRK33483                     9.84
       5/2/2020    709   KT0055   Owner Operator   Communication Charge    PNet Hware 33483                          8
       5/2/2020    709   KT0055   Owner Operator   Fuel Purchase           Fuel Purchase                        131.99
       5/2/2020    709   KT0055   Owner Operator   IRP License Deduction   LCIL:2020 - 33483                      100
       5/2/2020    709   KT0055   Owner Operator   Truck Payment           CTMS - 241032 33483 Lease 208        335.48
       5/2/2020    709   LL0160   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1111                     9.84
       5/2/2020    709   LL0160   Owner Operator   Communication Charge    PNet Hware Q1111                          8
       5/2/2020    709   LL0160   Owner Operator   IRP License Deduction   LCIL:2020 - Q1111                      100
       5/2/2020    709   LL0160   Owner Operator   Truck Payment           CTMS - 241032 Balloon Pay off        200.15
       5/2/2020    709   LS0023   Owner Operator   Communication Charge    PNet Hware 33655                         13
       5/2/2020    709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance                           200
       5/2/2020    709   LS0023   Owner Operator   Fuel Card Advances      Cash Advance Fee                          2
       5/2/2020    709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                        357.17
       5/2/2020    709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                         57.28
       5/2/2020    709   LS0023   Owner Operator   IRP License Deduction   LCIL:2020 - 33655                      100
       5/2/2020    709   MA0092   Owner Operator   Broker Pre Pass         DriveWyze TRK34005                     9.84
       5/2/2020    709   MA0092   Owner Operator   Communication Charge    PNet Hware 34005                          8
       5/2/2020    709   MA0092   Owner Operator   IRP License Deduction   LCIL:2020 - 34005                      100
       5/2/2020    709   MD0122   Owner Operator   Broker Pre Pass         DriveWyze TRK34342                     9.84
       5/2/2020    709   MD0122   Owner Operator   Communication Charge    PNet Hware 34342                          8
       5/2/2020    709   MD0122   Owner Operator   ESCROW                  Weekly Escrow                          300
       5/2/2020    709   MD0122   Owner Operator   Fuel Purchase           Fuel Purchase                        160.65

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       5/2/2020    709   MD0122   Owner Operator   Fuel Purchase           Fuel Purchase                          79.68
       5/2/2020    709   MD0122   Owner Operator   IRP License Deduction   LCIL:2020 - 34342                       100
       5/2/2020    709   MD0122   Owner Operator   Repair Order            CTMS - 240970 REPAIRS                   320
       5/2/2020    709   ME0053   Owner Operator   Broker Pre Pass         DriveWyze TRKQ13199                     9.84
       5/2/2020    709   ME0053   Owner Operator   Communication Charge    PNet Hware Q13199                          8
       5/2/2020    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                         195.54
       5/2/2020    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                          220.8
       5/2/2020    709   ME0053   Owner Operator   Fuel Purchase           Fuel Purchase                         162.53
       5/2/2020    709   ME0053   Owner Operator   IRP License Deduction   LCIL:2020 - Q13199                      100
       5/2/2020    709   ME0053   Owner Operator   Truck Payment           CTMS - 241031 Lease Q13199            263.91
       5/2/2020    709   MP0035   Owner Operator   Communication Charge    PNet Hware 32904                           8
       5/2/2020    709   MP0035   Owner Operator   ESCROW                  Weekly Escrow                           500
       5/2/2020    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance                              40
       5/2/2020    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance Fee                         0.4
       5/2/2020    709   MP0035   Owner Operator   Fuel Purchase           Fuel Purchase                         330.25
       5/2/2020    709   MP0035   Owner Operator   IRP License Deduction   LCIL:2020 - 32904                       100
       5/2/2020    709   NB0029   Owner Operator   Broker Pre Pass         DriveWyze TRK32986                      9.84
       5/2/2020    709   NB0029   Owner Operator   Communication Charge    PNet Hware 32986                          13
       5/2/2020    709   NB0029   Owner Operator   ESCROW                  Weekly Escrow                           250
       5/2/2020    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance                            200
       5/2/2020    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance                            200
       5/2/2020    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance                            100
       5/2/2020    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       5/2/2020    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       5/2/2020    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       5/2/2020    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                          121.6
       5/2/2020    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                         276.19
       5/2/2020    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                           81.5
       5/2/2020    709   NB0029   Owner Operator   IRP License Deduction   LCIL:2020 - 32986                       100
       5/2/2020    709   NB0029   Owner Operator   US Legal Services       U.S. Legal Services                    32.95
       5/2/2020    709   NG0005   Owner Operator   Broker Pre Pass         DriveWyze TRK21412B                     9.84
       5/2/2020    709   NG0005   Owner Operator   Communication Charge    PNet Hware 21412B                         13
       5/2/2020    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance                            300
       5/2/2020    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance Fee                           3
       5/2/2020    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                         261.56
       5/2/2020    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                          98.42
       5/2/2020    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                          95.76
       5/2/2020    709   NG0005   Owner Operator   IRP License Deduction   LCIL:2020 - 21412B                      100
       5/2/2020    709   NT9564   Owner Operator   Communication Charge    PNet Hware 73130                           8
       5/2/2020    709   NT9564   Owner Operator   IRP License Deduction   LCIL:2020 - 73130                       100
       5/2/2020    709   OJ0007   Owner Operator   Advance                 EFS 243248 s/u 3 wks                  193.12
       5/2/2020    709   OJ0007   Owner Operator   Broker Pre Pass         DriveWyze TRK34370                      9.84
       5/2/2020    709   OJ0007   Owner Operator   Communication Charge    PNet Hware 34370                           8
       5/2/2020    709   OJ0007   Owner Operator   Fuel Purchase           Fuel Purchase                          76.92
       5/2/2020    709   OJ0007   Owner Operator   Fuel Purchase           Fuel Purchase                         111.05
       5/2/2020    709   OJ0007   Owner Operator   IRP License Deduction   LCIL:2020 - 34370                      33.64
       5/2/2020    709   RB0170   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1241                      9.84
       5/2/2020    709   RB0170   Owner Operator   Communication Charge    PNet Hware Q1241                           8
       5/2/2020    709   RB0170   Owner Operator   ESCROW                  Weekly Escrow                             50
       5/2/2020    709   RB0170   Owner Operator   Fuel Purchase           Fuel Purchase                         167.87
       5/2/2020    709   RB0170   Owner Operator   Fuel Purchase           Fuel Purchase                         265.44
       5/2/2020    709   RB0170   Owner Operator   IRP License Deduction   LCIL:2020 - Q1241                       100
       5/2/2020    709   RB0170   Owner Operator   Truck Payment           CTMS - 240833 Q1241 Truck leas        321.84
       5/2/2020    709   RB0170   Owner Operator   Truck Payment           CTMS - 241030 Q1241 Truck leas        321.84
       5/2/2020    709   RL0017   Owner Operator   Communication Charge    PNet Hware 33065                          13
       5/2/2020    709   RL0017   Owner Operator   ESCROW                  Weekly Escrow                           300
       5/2/2020    709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                         270.99
       5/2/2020    709   RL0017   Owner Operator   IRP License Deduction   LCIL:2020 - 33065                      33.64
       5/2/2020    709   RL0062   Owner Operator   Communication Charge    PNet Hware 32912                          13
       5/2/2020    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance                            200
       5/2/2020    709   RL0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       5/2/2020    709   RL0062   Owner Operator   Fuel Purchase           Fuel Purchase                         412.61
       5/2/2020    709   RL0062   Owner Operator   IRP License Deduction   LCIL:2020 - 32912                      33.64
       5/2/2020    709   RL0062   Owner Operator   Tractor Charge          14460 - 32912                         496.56
       5/2/2020    709   RL0062   Owner Operator   US Legal Services       U.S. Legal Services                    32.95
       5/2/2020    709   RL0180   Owner Operator   Communication Charge    PNet Hware 32910                           8
       5/2/2020    709   RL0180   Owner Operator   ESCROW                  Weekly Escrow                         234.03
       5/2/2020    709   RL0180   Owner Operator   ESCROW                  Weekly Escrow                           400
       5/2/2020    709   RL0180   Owner Operator   Fuel Purchase           Fuel Purchase                         116.84
       5/2/2020    709   RL0180   Owner Operator   IRP License Deduction   LCIL:2020 - 32910                      33.64
       5/2/2020    709   RL0180   Owner Operator   Tractor Charge          45995 - 32910                         350.65
       5/2/2020    709   RM0026   Owner Operator   Broker Pre Pass         DriveWyze TRK33664                      9.84
       5/2/2020    709   RM0026   Owner Operator   Communication Charge    PNet Hware 33664                          13

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       5/2/2020    709   RM0026   Owner Operator   Fuel Purchase           Fuel Purchase                          390.7
       5/2/2020    709   RM0026   Owner Operator   IRP License Deduction   LCIL:2020 - 33664                        100
       5/2/2020    709   RM0026   Owner Operator   US Legal Services       U.S. Legal Services                    32.95
       5/2/2020    709   RP0082   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1202                      9.84
       5/2/2020    709   RP0082   Owner Operator   Communication Charge    PNet Hware Q1202                          13
       5/2/2020    709   RP0082   Owner Operator   Fuel Card Advances      Cash Advance                              80
       5/2/2020    709   RP0082   Owner Operator   Fuel Card Advances      Cash Advance Fee                         0.8
       5/2/2020    709   RP0082   Owner Operator   Fuel Purchase           Fuel Purchase                         337.45
       5/2/2020    709   RP0082   Owner Operator   IRP License Deduction   LCIL:2020 - Q1202                        100
       5/2/2020    709   RP0082   Owner Operator   Truck Payment           CTMS - 241007 Q1202 Balloon           234.05
       5/2/2020    709   RR0123   Owner Operator   Fuel Card Advances      Cash Advance                             100
       5/2/2020    709   RR0123   Owner Operator   Fuel Card Advances      Cash Advance                             100
       5/2/2020    709   RR0123   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       5/2/2020    709   RR0123   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       5/2/2020    709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                         254.91
       5/2/2020    709   RR0123   Owner Operator   Fuel Purchase           Fuel Purchase                         339.67
       5/2/2020    709   RR0123   Owner Operator   IRP License Deduction   LCIL:2020 - 33488                        100
       5/2/2020    709   RR0123   Owner Operator   Truck Payment           CTMS - 241032 33488 Lease $335        171.67
       5/2/2020    709   SB0009   Owner Operator   Broker Pre Pass         DriveWyze TRK33236                      9.84
       5/2/2020    709   SB0009   Owner Operator   Communication Charge    PNet Hware 33236                          13
       5/2/2020    709   SB0009   Owner Operator   ESCROW                  Weekly Escrow                            200
       5/2/2020    709   SB0009   Owner Operator   Fuel Purchase           Fuel Purchase                         213.82
       5/2/2020    709   SB0009   Owner Operator   IRP License Deduction   LCIL:2020 - 33236                      33.64
       5/2/2020    709   SB0009   Owner Operator   Tractor Charge          19100 - 33236                         564.33
       5/2/2020    709   SB0103   Owner Operator   Broker Pre Pass         DriveWyze TRK33037                      9.84
       5/2/2020    709   SB0103   Owner Operator   Communication Charge    PNet Hware 33037                           8
       5/2/2020    709   SB0103   Owner Operator   ESCROW                  Weekly Escrow                            100
       5/2/2020    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                         283.93
       5/2/2020    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                         188.76
       5/2/2020    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                         168.62
       5/2/2020    709   SB0103   Owner Operator   Fuel Purchase           Fuel Purchase                          264.4
       5/2/2020    709   SB0103   Owner Operator   IRP License Deduction   LCIL:2020 - 33037                        100
       5/2/2020    709   SB0103   Owner Operator   Truck Payment           CTMS - 241009 Sub Lease               388.33
       5/2/2020    709   SM0109   Owner Operator   Broker Pre Pass         33195 PrePass Device                    12.5
       5/2/2020    709   SM0109   Owner Operator   Broker Pre Pass         DriveWyze TRK33195                      9.84
       5/2/2020    709   SM0109   Owner Operator   Communication Charge    PNet Hware 33195                          13
       5/2/2020    709   SM0109   Owner Operator   Communication Charge    PNet Hware 33195                          13
       5/2/2020    709   SM0109   Owner Operator   Communication Charge    PNet Hware 33195                          13
       5/2/2020    709   SM0109   Owner Operator   Fuel Purchase           Fuel Purchase                            304
       5/2/2020    709   SM0109   Owner Operator   IRP License Deduction   LCIL:2020 - 33195                      33.64
       5/2/2020    709   SM0109   Owner Operator   IRP License Deduction   LCIL:2020 - 33195                      33.64
       5/2/2020    709   SM0109   Owner Operator   Loan Repayment          Loan # 00005 - Loan Repayment         361.19
       5/2/2020    709   SM0109   Owner Operator   Loan Repayment          Loan # 00005 - Loan Repayment         361.19
       5/2/2020    709   SM0109   Owner Operator   Tractor Charge          43667 - 33195                         359.81
       5/2/2020    709   SM0109   Owner Operator   Tractor Charge          43667 - 33195                          468.6
       5/2/2020    709   SN0019   Owner Operator   Broker Pre Pass         DriveWyze TRK33461                      9.84
       5/2/2020    709   SN0019   Owner Operator   Communication Charge    PNet Hware 33461                          13
       5/2/2020    709   SN0019   Owner Operator   Fuel Card Advances      Cash Advance                             200
       5/2/2020    709   SN0019   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       5/2/2020    709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                         120.66
       5/2/2020    709   SN0019   Owner Operator   Fuel Purchase           Fuel Purchase                         188.58
       5/2/2020    709   VB0015   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1112                      9.84
       5/2/2020    709   VB0015   Owner Operator   Communication Charge    PNet Hware Q1112                           8
       5/2/2020    709   VB0015   Owner Operator   Fuel Purchase           Fuel Purchase                            252
       5/2/2020    709   VB0015   Owner Operator   IRP License Deduction   LCIL:2020 - Q1112                        100
       5/2/2020    709   VJ0006   Owner Operator   Broker Pre Pass         DriveWyze TRK33961                      9.84
       5/2/2020    709   VJ0006   Owner Operator   Communication Charge    PNet Hware 33961                           8
       5/2/2020    709   VJ0006   Owner Operator   ESCROW                  Escrow Withdrawal                       -500
       5/2/2020    709   VJ0006   Owner Operator   ESCROW                  Weekly Escrow                            200
       5/2/2020    709   VJ0006   Owner Operator   Express Check           T-Check Payment                          500
       5/2/2020    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance                             160
       5/2/2020    709   VJ0006   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1.6
       5/2/2020    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         150.84
       5/2/2020    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         250.72
       5/2/2020    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         174.57
       5/2/2020    709   VJ0006   Owner Operator   Fuel Purchase           Fuel Purchase                         104.46
       5/2/2020    709   VJ0006   Owner Operator   IRP License Deduction   LCIL:2020 - 33961                        100
       5/2/2020    709   VJ0006   Owner Operator   Loan Repayment          Loan # 00003 - Loan Repayment         257.43
       5/2/2020    709   WB0062   Owner Operator   Broker Pre Pass         DriveWyze TRK33407                      9.84
       5/2/2020    709   WB0062   Owner Operator   Communication Charge    PNet Hware 33407                          13
       5/2/2020    709   WH0087   Owner Operator   Communication Charge    PNet Hware q1239                           8
       5/2/2020    709   WH0087   Owner Operator   Fuel Card Advances      Cash Advance                             200
       5/2/2020    709   WH0087   Owner Operator   Fuel Card Advances      Cash Advance                             100

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       5/2/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/2/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/2/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.65
       5/2/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.71
       5/2/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.25
       5/2/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                       100
       5/2/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 240837 Q1238 Lease             311.97
       5/2/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 241034 Q1238 Lease             311.97
       5/2/2020    742   AP0047   Owner Operator   Communication Charge           PNet Hware 32604                          13
       5/2/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/2/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/2/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/2/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/2/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.96
       5/2/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.46
       5/2/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.94
       5/2/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.73
       5/2/2020    742   BS0078   Owner Operator   Communication Charge           PNet Hware 34900                           8
       5/2/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          168.3
       5/2/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.18
       5/2/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.56
       5/2/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.95
       5/2/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.85
       5/2/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                       100
       5/2/2020    742   BS0078   Owner Operator   Toll Charges                   34900 BATA Carquinez Bridge               26
       5/2/2020    742   CA0089   Owner Operator   Communication Charge           PNet Hware 33987                           8
       5/2/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.26
       5/2/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.76
       5/2/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.71
       5/2/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.08
       5/2/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                       100
       5/2/2020    742   DA0067   Owner Operator   Communication Charge           PNet Hware 33847                          13
       5/2/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.21
       5/2/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
       5/2/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         262.95
       5/2/2020    742   DC0117   Owner Operator   Communication Charge           PNet Hware 34063                          13
       5/2/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.39
       5/2/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.56
       5/2/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          42.04
       5/2/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.65
       5/2/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                       100
       5/2/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.61
       5/2/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       5/2/2020    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
       5/2/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       5/2/2020    742   DS0254   Owner Operator   Communication Charge           PNet Hware 33487                           8
       5/2/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/2/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/2/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.31
       5/2/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.25
       5/2/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.67
       5/2/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
       5/2/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
       5/2/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/2/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.66
       5/2/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       5/2/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 240620 Trk 33487 Lease          434.2
       5/2/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 240874 Trk 33487 Lease          434.2
       5/2/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 241080 Trk 33487 Lease          434.2
       5/2/2020    742   EA0039   Owner Operator   Communication Charge           PNet Hware 33993                           8
       5/2/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.33
       5/2/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
       5/2/2020    742   EN0016   Owner Operator   Communication Charge           PNet Hware 32947                          13
       5/2/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.6
       5/2/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.04
       5/2/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.45
       5/2/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.98
       5/2/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.25
       5/2/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
       5/2/2020    742   FS0011   Owner Operator   Communication Charge           PNet Hware 51069a                          8
       5/2/2020    742   JB0465   Owner Operator   Communication Charge           PNet Hware 34804                           8
       5/2/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/2/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.03

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       5/2/2020    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                       9.84
       5/2/2020    742   JH0148   Owner Operator   Communication Charge           PNet Hware 34329                           13
       5/2/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                        100
       5/2/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
       5/2/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                   8.75
       5/2/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                   8.75
       5/2/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                           13
       5/2/2020    742   MH0117   Owner Operator   Communication Charge           PNet Hware 33296                           13
       5/2/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                              50
       5/2/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                              50
       5/2/2020    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2020 - 33296                     1449.43
       5/2/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/2/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           76.66
       5/2/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
       5/2/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                   60.12
       5/2/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                    60.1
       5/2/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris            2.5
       5/2/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris            2.5
       5/2/2020    742   MH0117   Owner Operator   Repair Order                   TRACTOR 34932                          173.25
       5/2/2020    742   SK0049   Owner Operator   Communication Charge           PNet Hware 33934                           13
       5/2/2020    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                       9.84
       5/2/2020    742   TC0098   Owner Operator   Communication Charge           PNet Hware 33489                            8
       5/2/2020    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                             200
       5/2/2020    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       5/2/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                           299.4
       5/2/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.36
       5/2/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          107.64
       5/2/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                           79.58
       5/2/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          227.93
       5/2/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          342.42
       5/2/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                        100
       5/2/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 241069 33489 Lease Paym         412.16
       5/2/2020    742   TH0130   Owner Operator   Communication Charge           PNet Hware 33991                            8
       5/2/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          292.68
       5/2/2020    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2020 - 33991                        100
       5/2/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge                26
       5/9/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL             8.75
       5/9/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148                 8
       5/9/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                              50
       5/9/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          454.45
       5/9/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.44
       5/9/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          132.26
       5/9/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                       100
       5/9/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/9/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD              36.9
       5/9/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 241327 Q13148 Trac Leas         296.09
       5/9/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL              8.75
       5/9/2020    709   AN0007   Owner Operator   Charge back by affiliate       CTMS - 241267 Solvay fuel 5510         -58.14
       5/9/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           96.03
       5/9/2020    709   AN0007   Owner Operator   IRP License Deduction          LCIL 2020 IRP plate refund           -1539.43
       5/9/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/9/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD              28.08
       5/9/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter            2.5
       5/9/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 241191 TRUCK RENTAL               500
       5/9/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL             8.75
       5/9/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147                 8
       5/9/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           154.8
       5/9/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          255.72
       5/9/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.94
       5/9/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.42
       5/9/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                       100
       5/9/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/9/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD              36.1
       5/9/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 241160 Baloon Q13147            657.32
       5/9/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 241160 Baloon Q13147            357.62
       5/9/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 241325 Baloon Q13147            357.62
       5/9/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                     60.95
       5/9/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             8.75
       5/9/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169                 8
       5/9/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                             100
       5/9/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       5/9/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          103.72
       5/9/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           96.38

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       5/9/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           67.7
       5/9/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.87
       5/9/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.75
       5/9/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.94
       5/9/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.29
       5/9/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
       5/9/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
       5/9/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 241113 Q13169 Sublease         352.68
       5/9/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 241291 Q13169 Sublease         352.68
       5/9/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       5/9/2020    709   CC0134   Owner Operator   Communication Charge           PNet Hware Q13168                          8
       5/9/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168                8
       5/9/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
       5/9/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       5/9/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.47
       5/9/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.72
       5/9/2020    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2020 - Q13168                      200
       5/9/2020    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2020 - Q13168                     39.41
       5/9/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
       5/9/2020    709   CC0134   Owner Operator   T Chek Fee                     ExpressCheck Fee                        0.66
       5/9/2020    709   CC0134   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.54
       5/9/2020    709   CC0134   Owner Operator   T Chek Fee                     Tractor Repair Q13168                 154.33
       5/9/2020    709   CC0134   Owner Operator   T Chek Fee                     Tractor Repair Q13168                  66.14
       5/9/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 241035 Q13168 sub lease        352.68
       5/9/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 241225 Q13168 sub lease        352.68
       5/9/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/9/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
       5/9/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          411.3
       5/9/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
       5/9/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
       5/9/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/9/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
       5/9/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       5/9/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                 8
       5/9/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.45
       5/9/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.81
       5/9/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.54
       5/9/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
       5/9/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
       5/9/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 241250 Q1247 Sub Lease         263.91
       5/9/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
       5/9/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                 8
       5/9/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/9/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
       5/9/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       5/9/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                           185
       5/9/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.53
       5/9/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.92
       5/9/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                       100
       5/9/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
       5/9/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 241223 Lease Truck 3348        335.96
       5/9/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/9/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       5/9/2020    709   DL0029   Owner Operator   Communication Charge           PNet Hware 33850                           8
       5/9/2020    709   DL0029   Owner Operator   Communication Charge           Safety Tech Hardware 33850                 8
       5/9/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.99
       5/9/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.75
       5/9/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.51
       5/9/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.96
       5/9/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.07
       5/9/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.59
       5/9/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                       100
       5/9/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                      26.44
       5/9/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                       100
       5/9/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
       5/9/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52

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       5/9/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
       5/9/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   35.11
       5/9/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       5/9/2020    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
       5/9/2020    709   DL0107   Owner Operator   Communication Charge           PNet Hware q1245                           8
       5/9/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                 8
       5/9/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       5/9/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       5/9/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.5
       5/9/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.72
       5/9/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.02
       5/9/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
       5/9/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
       5/9/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         265.09
       5/9/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         265.09
       5/9/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
       5/9/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 E470 PLAZA C                      17.2
       5/9/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 E470 PLAZA D                      18.6
       5/9/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 E470 PLAZA E                      18.6
       5/9/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 ILTOLL Route 80 (East)             5.1
       5/9/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 ILTOLL Route 80 (West)             5.1
       5/9/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 241031 Baloon payoff           350.23
       5/9/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 241222 Baloon payoff           350.23
       5/9/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       5/9/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.14
       5/9/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.93
       5/9/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.98
       5/9/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                       100
       5/9/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
       5/9/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       5/9/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
       5/9/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                 8
       5/9/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       5/9/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       5/9/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.46
       5/9/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.18
       5/9/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.88
       5/9/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                       100
       5/9/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
       5/9/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
       5/9/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       5/9/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                 8
       5/9/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
       5/9/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.02
       5/9/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
       5/9/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       5/9/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
       5/9/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.46
       5/9/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.77
       5/9/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.64
       5/9/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                       100
       5/9/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
       5/9/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/9/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
       5/9/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       5/9/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.88
       5/9/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.61
       5/9/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.49
       5/9/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
       5/9/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
       5/9/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
       5/9/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75

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       5/9/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                 8
       5/9/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.23
       5/9/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.08
       5/9/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                       100
       5/9/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
       5/9/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       5/9/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       5/9/2020    709   EO0014   Owner Operator   Communication Charge           PNet Hware 33846                          13
       5/9/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
       5/9/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
       5/9/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
       5/9/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.96
       5/9/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           115
       5/9/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.54
       5/9/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           270
       5/9/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.01
       5/9/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.64
       5/9/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.29
       5/9/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
       5/9/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
       5/9/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
       5/9/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       5/9/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       5/9/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                 8
       5/9/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/9/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/9/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/9/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/9/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.1
       5/9/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.82
       5/9/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.37
       5/9/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                       100
       5/9/2020    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         336.56
       5/9/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
       5/9/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 241113 truck lease 3304        434.29
       5/9/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 241291 truck lease 3304        434.29
       5/9/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/9/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
       5/9/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.6
       5/9/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.35
       5/9/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                      100
       5/9/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
       5/9/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/9/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
       5/9/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                 8
       5/9/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            400
       5/9/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
       5/9/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.16
       5/9/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.22
       5/9/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                       100
       5/9/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
       5/9/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
       5/9/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 241252 Q1200 Lease             238.16
       5/9/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       5/9/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
       5/9/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                       100
       5/9/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
       5/9/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       5/9/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.17

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       5/9/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.93
       5/9/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.4
       5/9/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                       100
       5/9/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
       5/9/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 241080 Q1109 Lease             302.85
       5/9/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 241249 Q1109 Lease             231.28
       5/9/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       5/9/2020    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 241266 Solvay fuel              -9.68
       5/9/2020    709   HC0023   Owner Operator   Charge back by affiliate       CTMS - 241266 Solvay fuel IX15            -7
       5/9/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170                8
       5/9/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.98
       5/9/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.89
       5/9/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.82
       5/9/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          306.8
       5/9/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                      100
       5/9/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
       5/9/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 241078 Q13170                  352.68
       5/9/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 241258 Q13170                  352.68
       5/9/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       5/9/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                 8
       5/9/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.95
       5/9/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.38
       5/9/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         566.46
       5/9/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                       100
       5/9/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
       5/9/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       5/9/2020    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
       5/9/2020    709   HG0027   Owner Operator   Communication Charge           PNet Hware 33418                          13
       5/9/2020    709   HG0027   Owner Operator   Communication Charge           Safety Tech Hardware 33418                13
       5/9/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.94
       5/9/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.4
       5/9/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                       100
       5/9/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                       100
       5/9/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.15
       5/9/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/9/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                 8
       5/9/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
       5/9/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.33
       5/9/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.87
       5/9/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                       100
       5/9/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
       5/9/2020    709   IA0007   Owner Operator   Repair Order                   CTMS - 241271 REPAIR( PARTS)              50
       5/9/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
       5/9/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/9/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                 8
       5/9/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.48
       5/9/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.16
       5/9/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
       5/9/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/9/2020    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       5/9/2020    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       5/9/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          27.89
       5/9/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          19.21
       5/9/2020    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
       5/9/2020    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
       5/9/2020    709   JA0156   Owner Operator   *Arrears Collection W/O        WO:Credit Billing                     -415.4
       5/9/2020    709   JA0156   Owner Operator   Arrears                        Credit Billing                         415.4
       5/9/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
       5/9/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       5/9/2020    709   JC0292   Owner Operator   Charge back by affiliate       CTMS - 241266 Trailer wash 702           -38
       5/9/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
       5/9/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       5/9/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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       5/9/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.68
       5/9/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          36.74
       5/9/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.65
       5/9/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.29
       5/9/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.56
       5/9/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                      100
       5/9/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
       5/9/2020    709   JC0292   Owner Operator   Repair Order                   CTMS - 241219 Repair                  296.25
       5/9/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 241259 Q13197 Lease            276.63
       5/9/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       5/9/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                 8
       5/9/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
       5/9/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       5/9/2020    709   JD0211   Owner Operator   Repair Order                   CTMS - 241271 REPAIR                  140.12
       5/9/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/9/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
       5/9/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
       5/9/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       5/9/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.37
       5/9/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.54
       5/9/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.55
       5/9/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
       5/9/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
       5/9/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
       5/9/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
       5/9/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/9/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
       5/9/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
       5/9/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       5/9/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.91
       5/9/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.92
       5/9/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
       5/9/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
       5/9/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
       5/9/2020    709   JQ0015   Owner Operator   Accident Claim                 05/07/20 JQ0015 Incident               2000
       5/9/2020    709   JQ0015   Owner Operator   Accident Claim                 05/07/20 JQ0015 Incident              -555.5
       5/9/2020    709   JQ0015   Owner Operator   Advance                        5/7/20 Clm 76858-1 s/u $250/wk       -1444.5
       5/9/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       5/9/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       5/9/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                 8
       5/9/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/9/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/9/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.78
       5/9/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.48
       5/9/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           12.2
       5/9/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.93
       5/9/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100
       5/9/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
       5/9/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
       5/9/2020    709   JQ0015   Owner Operator   T Chek Fee                     ExpressCheck Fee                         5.5
       5/9/2020    709   JQ0015   Owner Operator   T Chek Fee                     Towing SNEU 60018                       550
       5/9/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       5/9/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
       5/9/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.41
       5/9/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100
       5/9/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
       5/9/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 241254 Balloon Payoff          234.05
       5/9/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       5/9/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       5/9/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159                8
       5/9/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       5/9/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.83
       5/9/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.44

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       5/9/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.99
       5/9/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
       5/9/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
       5/9/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
       5/9/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 241070 Q13159 Lease             331.5
       5/9/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 241250 Q13159 Lease             331.5
       5/9/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/9/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
       5/9/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       5/9/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/9/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/9/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/9/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/9/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.03
       5/9/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.02
       5/9/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
       5/9/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
       5/9/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/9/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
       5/9/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
       5/9/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                 8
       5/9/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          36.65
       5/9/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.83
       5/9/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.49
       5/9/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                       100
       5/9/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
       5/9/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 241223 33483 Lease 208         335.48
       5/9/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       5/9/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                 8
       5/9/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                       100
       5/9/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
       5/9/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 241223 Balloon Pay off         200.15
       5/9/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
       5/9/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
       5/9/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          223.7
       5/9/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.46
       5/9/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                       100
       5/9/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
       5/9/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       5/9/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                 8
       5/9/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.34
       5/9/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           17.9
       5/9/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           95.4
       5/9/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                       100
       5/9/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
       5/9/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       5/9/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                 8
       5/9/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
       5/9/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.04
       5/9/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.47
       5/9/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                       100
       5/9/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
       5/9/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL                 35
       5/9/2020    709   ME0053   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL                -35
       5/9/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD              157.17
       5/9/2020    709   ME0053   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD             -157.17
       5/9/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       5/9/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       5/9/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       5/9/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       5/9/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       5/9/2020    709   MG0067   Owner Operator   Communication Charge           PNet Hware 33435                           8
       5/9/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                 8
       5/9/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.07
       5/9/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                       100

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       5/9/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                       100
       5/9/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                         10
       5/9/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                       100
       5/9/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
       5/9/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          36.07
       5/9/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
       5/9/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       5/9/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       5/9/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       5/9/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       5/9/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                 8
       5/9/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
       5/9/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            160
       5/9/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              40
       5/9/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
       5/9/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
       5/9/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.68
       5/9/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.06
       5/9/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                       100
       5/9/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
       5/9/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       5/9/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       5/9/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       5/9/2020    709   NB0029   Owner Operator   Communication Charge           Safety Tech Hardware 32986                13
       5/9/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
       5/9/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.34
       5/9/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.59
       5/9/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          168.9
       5/9/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                       100
       5/9/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
       5/9/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       5/9/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
       5/9/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       5/9/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 241069 32986 Lease             314.03
       5/9/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 241249 32986 Lease             314.03
       5/9/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       5/9/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
       5/9/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.93
       5/9/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.23
       5/9/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                      100
       5/9/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
       5/9/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       5/9/2020    709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                 8
       5/9/2020    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                       100
       5/9/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
       5/9/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       5/9/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                 8
       5/9/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.04
       5/9/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           56.1
       5/9/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.04
       5/9/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          83.21
       5/9/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
       5/9/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
       5/9/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       5/9/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                 8
       5/9/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/9/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
       5/9/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
       5/9/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                           84.1
       5/9/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.97
       5/9/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.57

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       5/9/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                       100
       5/9/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
       5/9/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 241221 Q1241 Truck leas        321.84
       5/9/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       5/9/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       5/9/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       5/9/2020    709   RC0030   Owner Operator   Communication Charge           PNet Hware 33676                           8
       5/9/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                 8
       5/9/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
       5/9/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
       5/9/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       5/9/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       5/9/2020    709   RC0030   Owner Operator   Repair Order                   CTMS - 240967 PARTS                       35
       5/9/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/9/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
       5/9/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
       5/9/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.07
       5/9/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.84
       5/9/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.58
       5/9/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.6
       5/9/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
       5/9/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
       5/9/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/9/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/9/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
       5/9/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.75
       5/9/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.66
       5/9/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
       5/9/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
       5/9/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
       5/9/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       5/9/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                 8
       5/9/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
       5/9/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.89
       5/9/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.74
       5/9/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
       5/9/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
       5/9/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       5/9/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       5/9/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
       5/9/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       5/9/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
       5/9/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.46
       5/9/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.15
       5/9/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                       100
       5/9/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
       5/9/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       5/9/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
       5/9/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.03
       5/9/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                       100
       5/9/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
       5/9/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 241189 Q1202 Balloon           234.05
       5/9/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
       5/9/2020    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRK33488                      9.84
       5/9/2020    709   RR0123   Owner Operator   Communication Charge           PNet Hware 33488                           8
       5/9/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                 8
       5/9/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/9/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/9/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.15
       5/9/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.82
       5/9/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                       100
       5/9/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15

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       5/9/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 241032 33488 Lease $335        163.81
       5/9/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 241111 Past tractor ren          100
       5/9/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 241223 33488 Lease $335        335.48
       5/9/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 241290 Past tractor ren          100
       5/9/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       5/9/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
       5/9/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       5/9/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       5/9/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/9/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/9/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       5/9/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.02
       5/9/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.83
       5/9/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.49
       5/9/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.92
       5/9/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
       5/9/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
       5/9/2020    709   SB0009   Owner Operator   Repair Order                   CTMS - 241271 REPAIR                  146.04
       5/9/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       5/9/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       5/9/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                 8
       5/9/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
       5/9/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.56
       5/9/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.4
       5/9/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                       100
       5/9/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
       5/9/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       5/9/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 241191 Sub Lease               388.33
       5/9/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       5/9/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
       5/9/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           211
       5/9/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           424
       5/9/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           145
       5/9/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
       5/9/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
       5/9/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
       5/9/2020    709   SM0109   Owner Operator   Repair Order                   CTMS - 241271 REPAIRS                  334.5
       5/9/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       5/9/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       5/9/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
       5/9/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
       5/9/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       5/9/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                 8
       5/9/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           218
       5/9/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
       5/9/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                             72
       5/9/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                       100
       5/9/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
       5/9/2020    709   VB0015   Owner Operator   Repair Order                   CTMS - 241271 REPAIRS (PARTS O        217.18
       5/9/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   155.84
       5/9/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       5/9/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                 8
       5/9/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
       5/9/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/9/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/9/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/9/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/9/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.67
       5/9/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.34
       5/9/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                       100
       5/9/2020    709   VJ0006   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         254.38
       5/9/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
       5/9/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       5/9/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
       5/9/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
       5/9/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5

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       5/9/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
       5/9/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                  8
       5/9/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
       5/9/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       5/9/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.65
       5/9/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.88
       5/9/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                        100
       5/9/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/9/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 62.08
       5/9/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 241225 Q1238 Lease              311.97
       5/9/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.16
       5/9/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                    8.75
       5/9/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                  8
       5/9/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.97
       5/9/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          211.48
       5/9/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          260.18
       5/9/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          235.65
       5/9/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                        100
       5/9/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/9/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                    113.5
       5/9/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism            2.5
       5/9/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                       8.75
       5/9/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                  8
       5/9/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          525.66
       5/9/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.66
       5/9/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                        100
       5/9/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/9/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                       72.19
       5/9/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       5/9/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                 13
       5/9/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          434.15
       5/9/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          151.28
       5/9/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            142
       5/9/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                        100
       5/9/2020    742   DA0067   Owner Operator   Loan Repayment                 Balance of Loan 1                     1822.61
       5/9/2020    742   DA0067   Owner Operator   Loan Repayment                 EFS 244391, Ln Bal 1                -13146.28
       5/9/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          268.58
       5/9/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/9/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    72.19
       5/9/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       5/9/2020    742   DA0067   Owner Operator   T Chek Fee                     ExpressCheck Fee                       112.12
       5/9/2020    742   DA0067   Owner Operator   T Chek Fee                     Tractor Repair 33847                 11211.55
       5/9/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                 13
       5/9/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          435.27
       5/9/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                        100
       5/9/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                    251.63
       5/9/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL              8.75
       5/9/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                  8
       5/9/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          223.35
       5/9/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.82
       5/9/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.13
       5/9/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                        100
       5/9/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/9/2020    742   DS0254   Owner Operator   Permits                        CUST:2020 - 33487                        13.4
       5/9/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD              72.67
       5/9/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter            2.5
       5/9/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 241249 Trk 33487 Lease           434.2
       5/9/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
       5/9/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                  8
       5/9/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.58
       5/9/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.02
       5/9/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          432.39
       5/9/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.98
       5/9/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                        100
       5/9/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       5/9/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    32.09
       5/9/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
       5/9/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                8.75
       5/9/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a                 8
       5/9/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD                56.15
       5/9/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro            2.5
       5/9/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                   8.75
       5/9/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                 13

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       5/9/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                             69
       5/9/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                       100
       5/9/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
       5/9/2020    742   JS0390   Owner Operator   *Arrears Collection W/O        Debt on Account                        31.11
       5/9/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/9/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/9/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/9/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/9/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       5/9/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/9/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/9/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/9/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/9/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.55
       5/9/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.08
       5/9/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.14
       5/9/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
       5/9/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
       5/9/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
       5/9/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
       5/9/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/9/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/9/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/9/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/9/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       5/9/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       5/9/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
       5/9/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 33296                13
       5/9/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       5/9/2020    742   MH0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34932                         75
       5/9/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          76.67
       5/9/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       5/9/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
       5/9/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
       5/9/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       5/9/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       5/9/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       5/9/2020    742   NG0024   Owner Operator   Communication Charge           PNet Hware 33252                          13
       5/9/2020    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
       5/9/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
       5/9/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       5/9/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.45
       5/9/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                           215
       5/9/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.96
       5/9/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.87
       5/9/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.67
       5/9/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.08
       5/9/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       100
       5/9/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       100
       5/9/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       100
       5/9/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.46
       5/9/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
       5/9/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       5/9/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       5/9/2020    742   NG0024   Owner Operator   Toll Charges                   33252 ILTOLL Route 80 (East)             5.1
       5/9/2020    742   NG0024   Owner Operator   Toll Charges                   33252 ILTOLL Route 80 (West)             5.1
       5/9/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       5/9/2020    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
       5/9/2020    742   RF0136   Owner Operator   Communication Charge           PNet Hware 34182                          13
       5/9/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
       5/9/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            150
       5/9/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       5/9/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           171
       5/9/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.01
       5/9/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.52
       5/9/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.87
       5/9/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.05
       5/9/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                       100

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       5/9/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                        100
       5/9/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
       5/9/2020    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                       10.53
       5/9/2020    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                       11.67
       5/9/2020    742   RF0136   Owner Operator   T Chek Fee                     Towing 34182                           1167
       5/9/2020    742   RF0136   Owner Operator   T Chek Fee                     Tractor Repair 34182                   1053
       5/9/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       5/9/2020    742   RN0054   Owner Operator   Communication Charge           PNet Hware q13157                         13
       5/9/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
       5/9/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.44
       5/9/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                            118
       5/9/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          154.4
       5/9/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.91
       5/9/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.11
       5/9/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.77
       5/9/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.21
       5/9/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.06
       5/9/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.83
       5/9/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.92
       5/9/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
       5/9/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       5/9/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 WVPEDTA Chelyan                  13.5
       5/9/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 241074 Balloon Payoff          335.75
       5/9/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 241254 Balloon Payoff          335.75
       5/9/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       5/9/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
       5/9/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
       5/9/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       5/9/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       5/9/2020    742   TH0130   Owner Operator   Communication Charge           Safety Tech Hardware 33991                 8
       5/9/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.28
       5/9/2020    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2020 - 33991                        100
       5/9/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       5/9/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       38.5
       5/9/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       5/9/2020    843   EI0003   Owner Operator   BOBTAIL INS.                   2014 Volvo NTL                           -35
       5/9/2020    843   EI0003   Owner Operator   Communication Charge           PNet Hware 33949                          13
       5/9/2020    843   EI0003   Owner Operator   Communication Charge           Safety Tech Hardware 33949                13
       5/9/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
       5/9/2020    843   EI0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            190
       5/9/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD                        -304.79
       5/9/2020    843   EI0003   Owner Operator   PHYSICAL DAMAGE                2014 Volvo PD Terrorism                  -10
      5/16/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      5/16/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148                8
      5/16/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/16/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.56
      5/16/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.11
      5/16/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.01
      5/16/2020    709   AC0061   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         16.06
      5/16/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                       100
      5/16/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      5/16/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 241523 Q13148 Trac Leas        296.09
      5/16/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      5/16/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                 8
      5/16/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.94
      5/16/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.02
      5/16/2020    709   AN0007   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax           -99
      5/16/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                        100
      5/16/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      5/16/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      5/16/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 241386 TRUCK RENTAL               500
      5/16/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 241471 truck 32781 Leas        225.29
      5/16/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      5/16/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147                8
      5/16/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.49
      5/16/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.6
      5/16/2020    709   AR0064   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        195.57
      5/16/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                       100

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      5/16/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      5/16/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 241526 Baloon Q13147           357.62
      5/16/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    56.29
      5/16/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      5/16/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      5/16/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      5/16/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.61
      5/16/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.96
      5/16/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.37
      5/16/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.84
      5/16/2020    709   AV0021   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         70.85
      5/16/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
      5/16/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      5/16/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 241493 Q13169 Sublease         352.68
      5/16/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      5/16/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168                8
      5/16/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/16/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/16/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.21
      5/16/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.67
      5/16/2020    709   CC0134   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        276.48
      5/16/2020    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2020 - Q13168                      200
      5/16/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      5/16/2020    709   CC0134   Owner Operator   Repair Order                   CTMS - 241512 REPAIR (LABOR )             60
      5/16/2020    709   CC0134   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.62
      5/16/2020    709   CC0134   Owner Operator   T Chek Fee                     ExpressCheck Fee                         8.2
      5/16/2020    709   CC0134   Owner Operator   T Chek Fee                     Tractor Repair Q13168                 819.98
      5/16/2020    709   CC0134   Owner Operator   T Chek Fee                     Tractor Repair Q13168                 162.35
      5/16/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 241416 Q13168 sub lease        352.68
      5/16/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/16/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      5/16/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/16/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/16/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.13
      5/16/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.51
      5/16/2020    709   CM0119   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax          -0.8
      5/16/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      5/16/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      5/16/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/16/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      5/16/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      5/16/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                 8
      5/16/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/16/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/16/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          57.27
      5/16/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.81
      5/16/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.46
      5/16/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.49
      5/16/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
      5/16/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      5/16/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 241451 Q1247 Sub Lease         263.91
      5/16/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      5/16/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                 8
      5/16/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/16/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/16/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/16/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          158.1
      5/16/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.81
      5/16/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.63
      5/16/2020    709   CV0028   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        130.15
      5/16/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                       100
      5/16/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      5/16/2020    709   CV0028   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.85
      5/16/2020    709   CV0028   Owner Operator   T Chek Fee                     Tractor Repair 33482                  185.45
      5/16/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 241413 Lease Truck 3348        335.96
      5/16/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/16/2020    709   DL0029   Owner Operator   Communication Charge           Safety Tech Hardware 33850                 8

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      5/16/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.96
      5/16/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.58
      5/16/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.64
      5/16/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.17
      5/16/2020    709   DL0029   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        206.05
      5/16/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                       100
      5/16/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
      5/16/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   35.11
      5/16/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      5/16/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                 8
      5/16/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/16/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/16/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.2
      5/16/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          399.4
      5/16/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.22
      5/16/2020    709   DL0107   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        570.12
      5/16/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
      5/16/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         264.25
      5/16/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      5/16/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 241412 Baloon payoff           350.23
      5/16/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.35
      5/16/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.78
      5/16/2020    709   DM0257   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        107.84
      5/16/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      5/16/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                 8
      5/16/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/16/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/16/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.51
      5/16/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.67
      5/16/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.34
      5/16/2020    709   DS0049   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax          5.54
      5/16/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                       100
      5/16/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      5/16/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      5/16/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      5/16/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                 8
      5/16/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      5/16/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.07
      5/16/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.95
      5/16/2020    709   DS0225   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        -50.26
      5/16/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      5/16/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      5/16/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      5/16/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.57
      5/16/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.61
      5/16/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.17
      5/16/2020    709   DS0288   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         22.83
      5/16/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                       100
      5/16/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      5/16/2020    709   DS0288   Owner Operator   Toll Charges                   34266 BATA Carquinez Bridge               26
      5/16/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/16/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      5/16/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/16/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/16/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/16/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/16/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/16/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         586.16
      5/16/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.98
      5/16/2020    709   EA0003   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        146.72
      5/16/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      5/16/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      5/16/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      5/16/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      5/16/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                 8
      5/16/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/16/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            300

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      5/16/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/16/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/16/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.36
      5/16/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.4
      5/16/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                       100
      5/16/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      5/16/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      5/16/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      5/16/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      5/16/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/16/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/16/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/16/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.03
      5/16/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.91
      5/16/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.51
      5/16/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            0.5
      5/16/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.95
      5/16/2020    709   EO0014   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        203.08
      5/16/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
      5/16/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      5/16/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      5/16/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      5/16/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                 8
      5/16/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/16/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/16/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/16/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/16/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.95
      5/16/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.79
      5/16/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.37
      5/16/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.02
      5/16/2020    709   FS0039   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        179.97
      5/16/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                       100
      5/16/2020    709   FS0039   Owner Operator   Loan Repayment                 Loan # 00003 - Loan Repayment         335.72
      5/16/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      5/16/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 241493 truck lease 3304        434.29
      5/16/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/16/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      5/16/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.23
      5/16/2020    709   FV0001   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         89.09
      5/16/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                      100
      5/16/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      5/16/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/16/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      5/16/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                 8
      5/16/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.94
      5/16/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.69
      5/16/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                       100
      5/16/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      5/16/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      5/16/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 241452 Q1200 Lease             238.16
      5/16/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      5/16/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      5/16/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                       100
      5/16/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      5/16/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      5/16/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                 8
      5/16/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                 8
      5/16/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.98
      5/16/2020    709   GW0043   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        112.32
      5/16/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                       100
      5/16/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      5/16/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 241249 Q1109 Lease              71.57
      5/16/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 241460 Q1109 Lease             302.85
      5/16/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      5/16/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170                8

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      5/16/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.67
      5/16/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.23
      5/16/2020    709   HC0023   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax           8.05
      5/16/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                       100
      5/16/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD              36.1
      5/16/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 241459 Q13170                  352.68
      5/16/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                        8.75
      5/16/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                  8
      5/16/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.2
      5/16/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.31
      5/16/2020    709   HG0007   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax          -0.65
      5/16/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                        100
      5/16/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      5/16/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      5/16/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                  8
      5/16/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            150
      5/16/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.75
      5/16/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.67
      5/16/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.69
      5/16/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.64
      5/16/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.81
      5/16/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                        100
      5/16/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      5/16/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      5/16/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/16/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                  8
      5/16/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.12
      5/16/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.45
      5/16/2020    709   IR0002   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax       -100.95
      5/16/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      5/16/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      5/16/2020    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      5/16/2020    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      5/16/2020    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      5/16/2020    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      5/16/2020    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      5/16/2020    709   JA0152   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      5/16/2020    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      5/16/2020    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      5/16/2020    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      5/16/2020    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      5/16/2020    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      5/16/2020    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      5/16/2020    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      5/16/2020    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      5/16/2020    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      5/16/2020    709   JA0152   Owner Operator   Communication Charge           PNet Hware 34242                            8
      5/16/2020    709   JA0152   Owner Operator   ESCROW                         Final Balance Refund                   -3000
      5/16/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          19.61
      5/16/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            190
      5/16/2020    709   JA0152   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.05
      5/16/2020    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.08
      5/16/2020    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.08
      5/16/2020    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   28.08
      5/16/2020    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.33
      5/16/2020    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      5/16/2020    709   JA0152   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   27.35
      5/16/2020    709   JA0156   Owner Operator   *Arrears Collection W/O        Applicable Amount to Arrears           148.8
      5/16/2020    709   JA0156   Owner Operator   Broker Pay Void/Reissue        Vd Ck 977251                          -148.8
      5/16/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      5/16/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                8.75
      5/16/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197                13
      5/16/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400

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      5/16/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/16/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/16/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.01
      5/16/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.32
      5/16/2020    709   JC0292   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         11.43
      5/16/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                      100
      5/16/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      5/16/2020    709   JC0292   Owner Operator   Repair Order                   CTMS - 241415 Repair                  296.25
      5/16/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 241460 Q13197 Lease            276.63
      5/16/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      5/16/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                 8
      5/16/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      5/16/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      5/16/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/16/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      5/16/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/16/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/16/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/16/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/16/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.66
      5/16/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.86
      5/16/2020    709   JG0017   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         -0.01
      5/16/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      5/16/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      5/16/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      5/16/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      5/16/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/16/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      5/16/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/16/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/16/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/16/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/16/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.15
      5/16/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.04
      5/16/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          395.1
      5/16/2020    709   JG0072   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        544.86
      5/16/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      5/16/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
      5/16/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      5/16/2020    709   JQ0015   Owner Operator   Advance                        5/7/20 Clm 78658-1 s/u $250/wk          250
      5/16/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      5/16/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/16/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                 8
      5/16/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.27
      5/16/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100
      5/16/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      5/16/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
      5/16/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      5/16/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      5/16/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100
      5/16/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      5/16/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 241455 Balloon Payoff          234.05
      5/16/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      5/16/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      5/16/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159                8
      5/16/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/16/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/16/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/16/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.56
      5/16/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.72
      5/16/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.12
      5/16/2020    709   JS0265   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         -7.33
      5/16/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
      5/16/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      5/16/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
      5/16/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 241450 Q13159 Lease             331.5

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      5/16/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/16/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      5/16/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/16/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/16/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/16/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/16/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/16/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      5/16/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           216
      5/16/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.62
      5/16/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.81
      5/16/2020    709   KP0004   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        428.08
      5/16/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      5/16/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      5/16/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/16/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      5/16/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      5/16/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                 8
      5/16/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.92
      5/16/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.66
      5/16/2020    709   KT0055   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         21.21
      5/16/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                       100
      5/16/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      5/16/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 241414 33483 Lease 208         335.48
      5/16/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      5/16/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                 8
      5/16/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                       100
      5/16/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      5/16/2020    709   LL0160   Owner Operator   Repair Order                   CTMS - 241512 REPAIRS                 232.11
      5/16/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 241414 Balloon Pay off         200.15
      5/16/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      5/16/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      5/16/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/16/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/16/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.02
      5/16/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.54
      5/16/2020    709   LS0023   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         87.53
      5/16/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                       100
      5/16/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      5/16/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/16/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                 8
      5/16/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.16
      5/16/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.12
      5/16/2020    709   MA0092   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         72.72
      5/16/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                       100
      5/16/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      5/16/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      5/16/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                 8
      5/16/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      5/16/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.98
      5/16/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.53
      5/16/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.01
      5/16/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                       100
      5/16/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      5/16/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/16/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                 8
      5/16/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.06
      5/16/2020    709   MG0067   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        -54.83
      5/16/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                       100
      5/16/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      5/16/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/16/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/16/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                 8
      5/16/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      5/16/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              80
      5/16/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            120
      5/16/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              40

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      5/16/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      5/16/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
      5/16/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      5/16/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.93
      5/16/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.99
      5/16/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         547.51
      5/16/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                       100
      5/16/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      5/16/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/16/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      5/16/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      5/16/2020    709   NB0029   Owner Operator   Communication Charge           Safety Tech Hardware 32986                13
      5/16/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/16/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/16/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/16/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/16/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/16/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.09
      5/16/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.77
      5/16/2020    709   NB0029   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        826.25
      5/16/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                       100
      5/16/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      5/16/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      5/16/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      5/16/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      5/16/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 241450 32986 Lease             314.03
      5/16/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      5/16/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      5/16/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            140
      5/16/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      5/16/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.09
      5/16/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.77
      5/16/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.69
      5/16/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                      100
      5/16/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      5/16/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      5/16/2020    709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                 8
      5/16/2020    709   NT9564   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        187.28
      5/16/2020    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                       100
      5/16/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      5/16/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/16/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                 8
      5/16/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           76.9
      5/16/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      5/16/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
      5/16/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      5/16/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                 8
      5/16/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/16/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      5/16/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      5/16/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          84.11
      5/16/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                           215
      5/16/2020    709   RB0170   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        161.83
      5/16/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                       100
      5/16/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      5/16/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 241412 Q1241 Truck leas        321.84
      5/16/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      5/16/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                 8
      5/16/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.23
      5/16/2020    709   RC0030   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        164.19
      5/16/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      5/16/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      5/16/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/16/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      5/16/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      5/16/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           59.5

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      5/16/2020    709   RL0017   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax          26.43
      5/16/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                       33.64
      5/16/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    79.28
      5/16/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      5/16/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/16/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/16/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/16/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/16/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/16/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          408.31
      5/16/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           124.8
      5/16/2020    709   RL0062   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         363.86
      5/16/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                       33.64
      5/16/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    95.63
      5/16/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          496.56
      5/16/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      5/16/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                  8
      5/16/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            400
      5/16/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.65
      5/16/2020    709   RL0180   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax          50.92
      5/16/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                       33.64
      5/16/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    52.71
      5/16/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism            2.5
      5/16/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                          350.65
      5/16/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                     28.48
      5/16/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                        8.75
      5/16/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                 13
      5/16/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          404.27
      5/16/2020    709   RM0026   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         252.99
      5/16/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                        100
      5/16/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        32.09
      5/16/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
      5/16/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                 13
      5/16/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                           80.09
      5/16/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                           89.14
      5/16/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                           80.93
      5/16/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                        100
      5/16/2020    709   RP0082   Owner Operator   Loan Repayment                 Conditional Credit/Loan              -2660.34
      5/16/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              60.16
      5/16/2020    709   RP0082   Owner Operator   T Chek Fee                     ExpressCheck Fee                        26.34
      5/16/2020    709   RP0082   Owner Operator   T Chek Fee                     ExpressCheck Fee                         0.85
      5/16/2020    709   RP0082   Owner Operator   T Chek Fee                     Tractor Repair Q1202                       85
      5/16/2020    709   RP0082   Owner Operator   T Chek Fee                     Tractor Repair Q1202                    2634
      5/16/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 241385 Q1202 Balloon            234.05
      5/16/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 241512 TRUCK RENTAL               500
      5/16/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL              8.75
      5/16/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                  8
      5/16/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                            288
      5/16/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                           213.8
      5/16/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                           21.03
      5/16/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          415.84
      5/16/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.18
      5/16/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                        100
      5/16/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD              56.15
      5/16/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 241414 33488 Lease $335         335.48
      5/16/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 241491 Past tractor ren           100
      5/16/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      5/16/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                 13
      5/16/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      5/16/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.48
      5/16/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          133.13
      5/16/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          130.98
      5/16/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.32
      5/16/2020    709   SB0009   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         378.91
      5/16/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                       33.64
      5/16/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   103.68

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      5/16/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      5/16/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      5/16/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                 8
      5/16/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/16/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.77
      5/16/2020    709   SB0103   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        261.75
      5/16/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                       100
      5/16/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      5/16/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      5/16/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      5/16/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      5/16/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.01
      5/16/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.46
      5/16/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           132
      5/16/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.01
      5/16/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           241
      5/16/2020    709   SM0109   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        408.18
      5/16/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      5/16/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
      5/16/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      5/16/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      5/16/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      5/16/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      5/16/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/16/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/16/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.52
      5/16/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.61
      5/16/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.06
      5/16/2020    709   SN0019   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        173.15
      5/16/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      5/16/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      5/16/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                 8
      5/16/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                             76
      5/16/2020    709   VB0015   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        122.38
      5/16/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                       100
      5/16/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      5/16/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   155.84
      5/16/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/16/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                 8
      5/16/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/16/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.18
      5/16/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.38
      5/16/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.01
      5/16/2020    709   VJ0006   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        171.25
      5/16/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                       100
      5/16/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      5/16/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/16/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      5/16/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      5/16/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      5/16/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      5/16/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                 8
      5/16/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/16/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/16/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.47
      5/16/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.22
      5/16/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.16
      5/16/2020    709   WH0087   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        124.59
      5/16/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                       100
      5/16/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      5/16/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 241416 Q1238 Lease             311.97
      5/16/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      5/16/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      5/16/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      5/16/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      5/16/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      5/16/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/16/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/16/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/16/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/16/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/16/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/16/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/16/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.31
      5/16/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.73
      5/16/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.19
      5/16/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.05
      5/16/2020    742   AP0047   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        175.53
      5/16/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      5/16/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      5/16/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      5/16/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      5/16/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      5/16/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      5/16/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.38
      5/16/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.97
      5/16/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.34
      5/16/2020    742   BS0078   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        226.63
      5/16/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                       100
      5/16/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      5/16/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      5/16/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      5/16/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                 8
      5/16/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.67
      5/16/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.82
      5/16/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          504.8
      5/16/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                       100
      5/16/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      5/16/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/16/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      5/16/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             85
      5/16/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.72
      5/16/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           169
      5/16/2020    742   DA0067   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        176.99
      5/16/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
      5/16/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      5/16/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      5/16/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/16/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      5/16/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.96
      5/16/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.23
      5/16/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         541.84
      5/16/2020    742   DC0117   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        329.48
      5/16/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                       100
      5/16/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/16/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                 8
      5/16/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.92
      5/16/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.75
      5/16/2020    742   EA0039   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         60.86
      5/16/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
      5/16/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.09
      5/16/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/16/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/16/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/16/2020    742   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      5/16/2020    742   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      5/16/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.28
      5/16/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.13
      5/16/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.41
      5/16/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.81
      5/16/2020    742   EN0016   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        261.54
      5/16/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
      5/16/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100

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      5/16/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      5/16/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      5/16/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/16/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/16/2020    742   EN0016   Owner Operator   Repair Order                   CTMS - 241546 REPAIR                    83.5
      5/16/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      5/16/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a                8
      5/16/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
      5/16/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      5/16/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      5/16/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      5/16/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                 8
      5/16/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                 8
      5/16/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/16/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/16/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/16/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/16/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/16/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/16/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.37
      5/16/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.74
      5/16/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.78
      5/16/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.21
      5/16/2020    742   JB0465   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        247.63
      5/16/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      5/16/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      5/16/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      5/16/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      5/16/2020    742   JB0465   Owner Operator   Toll Charges                   34804 BATA Carquinez Bridge               26
      5/16/2020    742   JB0465   Owner Operator   Toll Charges                   34804 ILTOLL Route 80 (East)             5.1
      5/16/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      5/16/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      5/16/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.41
      5/16/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                             60
      5/16/2020    742   JH0148   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        697.25
      5/16/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                       100
      5/16/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      5/16/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/16/2020    742   JS0390   Owner Operator   Broker Pay Void/Reissue        ACH                                  -1360.2
      5/16/2020    742   JS0390   Owner Operator   Broker Pay Void/Reissue        ACH                                   1360.2
      5/16/2020    742   JS0390   Owner Operator   Broker Pay Void/Reissue        Correct ACH Credit                    1360.2
      5/16/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      5/16/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/16/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.64
      5/16/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.57
      5/16/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.22
      5/16/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      5/16/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/16/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      5/16/2020    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      5/16/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/16/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/16/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.01
      5/16/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.9
      5/16/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       100
      5/16/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      5/16/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      5/16/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
      5/16/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
      5/16/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/16/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/16/2020    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      5/16/2020    742   PC0012   Owner Operator   Communication Charge           PNet Hware 32969                          13
      5/16/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      5/16/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      5/16/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200

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      5/16/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      5/16/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      5/16/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/16/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/16/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/16/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/16/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          207.19
      5/16/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.72
      5/16/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          235.76
      5/16/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.92
      5/16/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.48
      5/16/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.28
      5/16/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.23
      5/16/2020    742   PC0012   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax          138.3
      5/16/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                       33.64
      5/16/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                       33.64
      5/16/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                       33.64
      5/16/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   107.16
      5/16/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   107.16
      5/16/2020    742   PC0012   Owner Operator   Toll Charges                   32969 ILTOLL South Beloit                 8.5
      5/16/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          501.95
      5/16/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          501.95
      5/16/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          501.95
      5/16/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                       8.75
      5/16/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                 13
      5/16/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             125
      5/16/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.25
      5/16/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          127.57
      5/16/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          127.02
      5/16/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.49
      5/16/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          130.38
      5/16/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          141.99
      5/16/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.83
      5/16/2020    742   RF0136   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax          90.73
      5/16/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                        100
      5/16/2020    742   RF0136   Owner Operator   Loan Repayment                 EFS 244680                           -7468.52
      5/16/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          257.95
      5/16/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                       54.55
      5/16/2020    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                        73.95
      5/16/2020    742   RF0136   Owner Operator   T Chek Fee                     Tractor Repair 34182                  7394.57
      5/16/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             8.75
      5/16/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157                13
      5/16/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.88
      5/16/2020    742   RN0054   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         157.27
      5/16/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD              36.1
      5/16/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
      5/16/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 241455 Balloon Payoff           335.75
      5/16/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      5/16/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                 13
      5/16/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       60.16
      5/16/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
      5/16/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL              8.75
      5/16/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL              8.75
      5/16/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                  8
      5/16/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                  8
      5/16/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.53
      5/16/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          357.74
      5/16/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          444.49
      5/16/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          285.88
      5/16/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.05
      5/16/2020    742   TC0098   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         100.75
      5/16/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                        100
      5/16/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                        100
      5/16/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/16/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD              68.98
      5/16/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD              68.98
      5/16/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter            2.5
      5/16/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter            2.5
      5/16/2020    742   TC0098   Owner Operator   Repair Order                   CTMS - 241174 repair                       70

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      5/16/2020    742   TC0098   Owner Operator   Repair Order                   CTMS - 241371 repair                  164.65
      5/16/2020    742   TC0098   Owner Operator   Toll Charges                   33489 AmBrdg Detroit Internati          17.5
      5/16/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 241249 33489 Lease Paym        412.16
      5/16/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 241450 33489 Lease Paym        412.16
      5/16/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/16/2020    742   TH0130   Owner Operator   Communication Charge           Safety Tech Hardware 33991                 8
      5/16/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.03
      5/16/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          36.04
      5/16/2020    742   TH0130   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        109.71
      5/16/2020    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2020 - 33991                       100
      5/16/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/16/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       38.5
      5/16/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/16/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge               26
      5/16/2020    843   EI0003   Owner Operator   Broker Pay Void/Reissue        Vd Ck 977243                         -323.79
      5/23/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      5/23/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                      100
      5/23/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      5/23/2020    709   AC0061   Owner Operator   T Chek Fee                     ExpressCheck Fee                        8.98
      5/23/2020    709   AC0061   Owner Operator   T Chek Fee                     Tractor Repair Q13148                 797.87
      5/23/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      5/23/2020    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK32781                      9.84
      5/23/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                 8
      5/23/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.69
      5/23/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                       100
      5/23/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      5/23/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      5/23/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 241583 TRUCK RENTAL              500
      5/23/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 241628 truck 32781 Leas        225.29
      5/23/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      5/23/2020    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      5/23/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147                8
      5/23/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.74
      5/23/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.23
      5/23/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.39
      5/23/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.85
      5/23/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                      100
      5/23/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      5/23/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 241704 Baloon Q13147           357.62
      5/23/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    60.95
      5/23/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    -66.5
      5/23/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    -66.5
      5/23/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                     4.66
      5/23/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      5/23/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169                8
      5/23/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169                8
      5/23/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      5/23/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      5/23/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.16
      5/23/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          53.79
      5/23/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.59
      5/23/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.29
      5/23/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           75.1
      5/23/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
      5/23/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      5/23/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 241670 Q13169 Sublease         352.68
      5/23/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/23/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/23/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/23/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/23/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/23/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/23/2020    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      5/23/2020    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      5/23/2020    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      5/23/2020    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      5/23/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      5/23/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13
      5/23/2020    709   BM0030   Owner Operator   Communication Charge           PNet Hware 34023                          13

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      5/23/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      5/23/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      5/23/2020    709   BM0030   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        735.43
      5/23/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                       100
      5/23/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                       100
      5/23/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                       100
      5/23/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                       100
      5/23/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                       100
      5/23/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                       100
      5/23/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                       100
      5/23/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          19.39
      5/23/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      5/23/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      5/23/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      5/23/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      5/23/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      5/23/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      5/23/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      5/23/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/23/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/23/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/23/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/23/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/23/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/23/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/23/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      5/23/2020    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
      5/23/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168                8
      5/23/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/23/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/23/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.15
      5/23/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.24
      5/23/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.63
      5/23/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.38
      5/23/2020    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2020 - Q13168                      200
      5/23/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      5/23/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 241610 Q13168 sub lease        352.68
      5/23/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/23/2020    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      5/23/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      5/23/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/23/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/23/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.87
      5/23/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          509.2
      5/23/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      5/23/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      5/23/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/23/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      5/23/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      5/23/2020    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
      5/23/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                 8
      5/23/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/23/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/23/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.66
      5/23/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.25
      5/23/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.68
      5/23/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
      5/23/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      5/23/2020    709   CR0064   Owner Operator   Repair Order                   CTMS - 241546 REPAIR                      80
      5/23/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 241630 Q1247 Sub Lease         263.91
      5/23/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      5/23/2020    709   CV0028   Owner Operator   Broker Pre Pass                DriveWyze TRK33482                      9.84
      5/23/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                 8
      5/23/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50

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      5/23/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/23/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/23/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.11
      5/23/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.37
      5/23/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.64
      5/23/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                       100
      5/23/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      5/23/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 241607 Lease Truck 3348        335.96
      5/23/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/23/2020    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                    12.5
      5/23/2020    709   DL0029   Owner Operator   Communication Charge           Safety Tech Hardware 33850                 8
      5/23/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           171
      5/23/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.98
      5/23/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.58
      5/23/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.2
      5/23/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                       100
      5/23/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
      5/23/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   35.11
      5/23/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 241547 TRUCK RENTAL              500
      5/23/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 241700 TRUCK RENTAL              500
      5/23/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      5/23/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                 8
      5/23/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/23/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/23/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           352
      5/23/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
      5/23/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      5/23/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 241606 Baloon payoff           350.23
      5/23/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      5/23/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      5/23/2020    709   DM0257   Owner Operator   Broker Pre Pass                34328 PrePass Device                    12.5
      5/23/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.9
      5/23/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.17
      5/23/2020    709   DM0257   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        476.84
      5/23/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                       100
      5/23/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                       100
      5/23/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      5/23/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      5/23/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      5/23/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      5/23/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      5/23/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                 8
      5/23/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/23/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/23/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          329.3
      5/23/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.52
      5/23/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                       100
      5/23/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      5/23/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      5/23/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      5/23/2020    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                      9.84
      5/23/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                 8
      5/23/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      5/23/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      5/23/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      5/23/2020    709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                    12.5
      5/23/2020    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      5/23/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      5/23/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.04
      5/23/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                       100
      5/23/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      5/23/2020    709   DS0288   Owner Operator   Toll Charges                   34266 BATA Carquinez Bridge               26
      5/23/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/23/2020    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
      5/23/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13

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      5/23/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/23/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/23/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/23/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.19
      5/23/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          123.8
      5/23/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      5/23/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      5/23/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      5/23/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      5/23/2020    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
      5/23/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                 8
      5/23/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           350
      5/23/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/23/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/23/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.29
      5/23/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           170
      5/23/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                       100
      5/23/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      5/23/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      5/23/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      5/23/2020    709   EO0014   Owner Operator   Broker Pre Pass                33846 PrePass Device                    12.5
      5/23/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      5/23/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/23/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/23/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/23/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.83
      5/23/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
      5/23/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      5/23/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      5/23/2020    709   EO0014   Owner Operator   Toll Charges                   33846 ILTOLL Route 80 (East)             5.1
      5/23/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      5/23/2020    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
      5/23/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                 8
      5/23/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/23/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/23/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/23/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/23/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.61
      5/23/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.72
      5/23/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.83
      5/23/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                       100
      5/23/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      5/23/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 241669 truck lease 3304        434.29
      5/23/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/23/2020    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      5/23/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      5/23/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/23/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/23/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.33
      5/23/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.28
      5/23/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.56
      5/23/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                      100
      5/23/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      5/23/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/23/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      5/23/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                 8
      5/23/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/23/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/23/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/23/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/23/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.33
      5/23/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.87
      5/23/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.4
      5/23/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                       100
      5/23/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      5/23/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      5/23/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 241631 Q1200 Lease             238.16

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      5/23/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      5/23/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      5/23/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.46
      5/23/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                       100
      5/23/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      5/23/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      5/23/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                 8
      5/23/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/23/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/23/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.96
      5/23/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.46
      5/23/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.99
      5/23/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                       100
      5/23/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      5/23/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 241639 Q1109 Lease             302.85
      5/23/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      5/23/2020    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      5/23/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170                8
      5/23/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.79
      5/23/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                      100
      5/23/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      5/23/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 241637 Q13170                  352.68
      5/23/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      5/23/2020    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                      9.84
      5/23/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                 8
      5/23/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.66
      5/23/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          587.4
      5/23/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                       100
      5/23/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      5/23/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/23/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/23/2020    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
      5/23/2020    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      5/23/2020    709   HG0027   Owner Operator   Communication Charge           Safety Tech Hardware 33418                13
      5/23/2020    709   HG0027   Owner Operator   Communication Charge           Safety Tech Hardware 33418                13
      5/23/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.98
      5/23/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.05
      5/23/2020    709   HG0027   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        159.85
      5/23/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                       100
      5/23/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                       100
      5/23/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.15
      5/23/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.15
      5/23/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/23/2020    709   IA0007   Owner Operator   Broker Pre Pass                34012 PrePass Device                    12.5
      5/23/2020    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      5/23/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                 8
      5/23/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      5/23/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.89
      5/23/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.76
      5/23/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                       100
      5/23/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      5/23/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      5/23/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/23/2020    709   IR0002   Owner Operator   Broker Pre Pass                32901 PrePass Device                    12.5
      5/23/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                 8
      5/23/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.65
      5/23/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      5/23/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/23/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      5/23/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      5/23/2020    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      5/23/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      5/23/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      5/23/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/23/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      5/23/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                           200
      5/23/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/23/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      5/23/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      5/23/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.34
      5/23/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        123.33
      5/23/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        267.24
      5/23/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                        183.47
      5/23/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                     100
      5/23/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/23/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD              43.13
      5/23/2020    709   JC0292   Owner Operator   Repair Order                   CTMS - 241609 Repair                 296.25
      5/23/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 241638 Q13197 Lease           276.63
      5/23/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                     8.75
      5/23/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                8
      5/23/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/23/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                     12.03
      5/23/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      5/23/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/23/2020    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                   12.5
      5/23/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908               13
      5/23/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           500
      5/23/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      5/23/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        224.42
      5/23/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        104.87
      5/23/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        274.04
      5/23/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         13.28
      5/23/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                     33.64
      5/23/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment        414.93
      5/23/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/23/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  28.08
      5/23/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        490.64
      5/23/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      5/23/2020    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                     9.84
      5/23/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909               13
      5/23/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           500
      5/23/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      5/23/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        461.62
      5/23/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        374.92
      5/23/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        371.82
      5/23/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                     33.64
      5/23/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      5/23/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   76.2
      5/23/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        499.05
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     1.46
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      5/23/2020    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                   12.5
      5/23/2020    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                   12.5
      5/23/2020    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                   12.5
      5/23/2020    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                   12.5
      5/23/2020    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                   12.5

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      5/23/2020    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                      9.84
      5/23/2020    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                     19.68
      5/23/2020    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                      9.84
      5/23/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                 8
      5/23/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                 8
      5/23/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.16
      5/23/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.11
      5/23/2020    709   JG0092   Owner Operator   FUEL TAX                       December 2019 Fuel/Mileage Tax          0.07
      5/23/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
      5/23/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
      5/23/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
      5/23/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
      5/23/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
      5/23/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
      5/23/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
      5/23/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
      5/23/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JG0092   Owner Operator   Permits                        ID06:2020 - 33669                       10.3
      5/23/2020    709   JG0092   Owner Operator   Permits                        IL02:2020 - 33669                       3.75
      5/23/2020    709   JG0092   Owner Operator   Permits                        NM07:2020 - 33669                         10
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      36.07
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.15
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      35.16
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      36.07
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      5/23/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      5/23/2020    709   JQ0015   Owner Operator   Advance                        5/7/20 Clm 78658-1 s/u $250/wk          250
      5/23/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      5/23/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/23/2020    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK34637                      9.84
      5/23/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                 8
      5/23/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           10.4
      5/23/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.47
      5/23/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.76
      5/23/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100
      5/23/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      5/23/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
      5/23/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      5/23/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      5/23/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.59
      5/23/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100
      5/23/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/23/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      5/23/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 241634 Balloon Payoff          234.05
      5/23/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      5/23/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      5/23/2020    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                     9.84
      5/23/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159                8
      5/23/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/23/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.9
      5/23/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.45
      5/23/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
      5/23/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      5/23/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
      5/23/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 241629 Q13159 Lease             331.5
      5/23/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/23/2020    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      5/23/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      5/23/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/23/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/23/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/23/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/23/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/23/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      5/23/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.01
      5/23/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.25
      5/23/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           110
      5/23/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.03
      5/23/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           320
      5/23/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      5/23/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      5/23/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/23/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      5/23/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      5/23/2020    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRK33483                      9.84
      5/23/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                 8
      5/23/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                           18.9
      5/23/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.23
      5/23/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.32
      5/23/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                       100
      5/23/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      5/23/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 241607 33483 Lease 208         335.48
      5/23/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      5/23/2020    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      5/23/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                 8
      5/23/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                       100
      5/23/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      5/23/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 241607 Balloon Pay off         200.15
      5/23/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      5/23/2020    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      5/23/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      5/23/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/23/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/23/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.7
      5/23/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.21
      5/23/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.75
      5/23/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                       100
      5/23/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      5/23/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/23/2020    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      5/23/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                 8
      5/23/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.46
      5/23/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.34
      5/23/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                       100
      5/23/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      5/23/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      5/23/2020    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      5/23/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                 8
      5/23/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           300
      5/23/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.29

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      5/23/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.82
      5/23/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                        100
      5/23/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      5/23/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/23/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                 8
      5/23/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.05
      5/23/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                        100
      5/23/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      5/23/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/23/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/23/2020    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
      5/23/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                 8
      5/23/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            500
      5/23/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             220
      5/23/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.2
      5/23/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.09
      5/23/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                        100
      5/23/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      5/23/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      5/23/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      5/23/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      5/23/2020    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      5/23/2020    709   NB0029   Owner Operator   Communication Charge           Safety Tech Hardware 32986                13
      5/23/2020    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -2500
      5/23/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      5/23/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/23/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/23/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/23/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/23/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/23/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/23/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                            368
      5/23/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          110.9
      5/23/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.14
      5/23/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                        100
      5/23/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      5/23/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      5/23/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      5/23/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      5/23/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 241629 32986 Lease             314.03
      5/23/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      5/23/2020    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      5/23/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      5/23/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/23/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/23/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.01
      5/23/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.48
      5/23/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.11
      5/23/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                       100
      5/23/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      5/23/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      5/23/2020    709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                 8
      5/23/2020    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                        100
      5/23/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      5/23/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/23/2020    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
      5/23/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                 8
      5/23/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          82.43
      5/23/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      5/23/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
      5/23/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      5/23/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                 8
      5/23/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                          32.96
      5/23/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.21
      5/23/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                        100
      5/23/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/23/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                 40.11
      5/23/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 241605 Q1241 Truck leas         321.84
      5/23/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      5/23/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                  8
      5/23/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          334.68
      5/23/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.92
      5/23/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/23/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       138.76
      5/23/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      5/23/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/23/2020    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                     12.5
      5/23/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                 13
      5/23/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            300
      5/23/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          484.09
      5/23/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                       33.64
      5/23/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/23/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    79.28
      5/23/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      5/23/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      5/23/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                 13
      5/23/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                 13
      5/23/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/23/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/23/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          406.86
      5/23/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.33
      5/23/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          422.86
      5/23/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                       33.64
      5/23/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/23/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    95.63
      5/23/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                          496.56
      5/23/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      5/23/2020    709   RL0180   Owner Operator   Broker Pre Pass                32910 PrePass Device                     12.5
      5/23/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                  8
      5/23/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            400
      5/23/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          383.45
      5/23/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                       33.64
      5/23/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/23/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    52.71
      5/23/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism            2.5
      5/23/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                          350.65
      5/23/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                     28.48
      5/23/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                        8.75
      5/23/2020    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                       9.84
      5/23/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                 13
      5/23/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.79
      5/23/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                        100
      5/23/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/23/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        32.09
      5/23/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
      5/23/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                 13
      5/23/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.21
      5/23/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                        100
      5/23/2020    709   RP0082   Owner Operator   Loan Repayment                 EFS 244792                           -2660.34
      5/23/2020    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment          269.42
      5/23/2020    709   RP0082   Owner Operator   Loan Repayment                 Rev Conditional Credit/Loan           2660.34
      5/23/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/23/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              60.16
      5/23/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 241581 Q1202 Balloon            234.05
      5/23/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL              8.75
      5/23/2020    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRK33488                       9.84
      5/23/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                  8
      5/23/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/23/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/23/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/23/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/23/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          386.42
      5/23/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.85
      5/23/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          336.95
      5/23/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                        100
      5/23/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/23/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD              56.15
      5/23/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 241607 33488 Lease $335         335.48
      5/23/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 241668 Past tractor ren           100

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      5/23/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      5/23/2020    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
      5/23/2020    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      5/23/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                 8
      5/23/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/23/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.97
      5/23/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.48
      5/23/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                       100
      5/23/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      5/23/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      5/23/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      5/23/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      5/23/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          99.11
      5/23/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      5/23/2020    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.84
      5/23/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      5/23/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/23/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/23/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.43
      5/23/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      5/23/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      5/23/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                 8
      5/23/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.67
      5/23/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                       100
      5/23/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      5/23/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   155.84
      5/23/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   -173.5
      5/23/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   -173.5
      5/23/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/23/2020    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      5/23/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                 8
      5/23/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/23/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.64
      5/23/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.35
      5/23/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                       100
      5/23/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      5/23/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/23/2020    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      5/23/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      5/23/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      5/23/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      5/23/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      5/23/2020    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      5/23/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                 8
      5/23/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/23/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/23/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.27
      5/23/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.44
      5/23/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                       100
      5/23/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      5/23/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 241610 Q1238 Lease             311.97
      5/23/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      5/23/2020    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      5/23/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      5/23/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/23/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/23/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.95
      5/23/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      5/23/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      5/23/2020    742   AP0047   Owner Operator   Toll Charges                   32604 ILTOLL Route 80 (West)             5.1
      5/23/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      5/23/2020    742   BS0078   Owner Operator   Broker Pre Pass                34900 PrePass Device                    12.5
      5/23/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      5/23/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.71
      5/23/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.25

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      5/23/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.45
      5/23/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                       100
      5/23/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      5/23/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      5/23/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      5/23/2020    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      5/23/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                 8
      5/23/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          439.8
      5/23/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.43
      5/23/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.92
      5/23/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                       100
      5/23/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      5/23/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/23/2020    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
      5/23/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      5/23/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.38
      5/23/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           313
      5/23/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.73
      5/23/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           255
      5/23/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
      5/23/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      5/23/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      5/23/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/23/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      5/23/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.53
      5/23/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.3
      5/23/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                       100
      5/23/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63
      5/23/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63
      5/23/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      5/23/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      5/23/2020    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      5/23/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                 8
      5/23/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                 8
      5/23/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/23/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/23/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/23/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/23/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.4
      5/23/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.74
      5/23/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.67
      5/23/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.83
      5/23/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.89
      5/23/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.33
      5/23/2020    742   DS0254   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax        358.03
      5/23/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
      5/23/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
      5/23/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
      5/23/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
      5/23/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      5/23/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      5/23/2020    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - Sout           3.5
      5/23/2020    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Ship Channel Bridg           3.5
      5/23/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 241460 Trk 33487 Lease          434.2
      5/23/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 241639 Trk 33487 Lease          434.2
      5/23/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/23/2020    742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                    12.5
      5/23/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                 8
      5/23/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.63
      5/23/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.07
      5/23/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
      5/23/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.09
      5/23/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/23/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      5/23/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      5/23/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      5/23/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.75

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      5/23/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          118.6
      5/23/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.91
      5/23/2020    742   ED0041   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         27.97
      5/23/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
      5/23/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
      5/23/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
      5/23/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
      5/23/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      5/23/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      5/23/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      5/23/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      5/23/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      5/23/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      5/23/2020    742   ED0041   Owner Operator   T Chek Fee                     ExpressCheck Fee                       12.35
      5/23/2020    742   ED0041   Owner Operator   T Chek Fee                     Tractor Repair 32897                  403.26
      5/23/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      5/23/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a                8
      5/23/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
      5/23/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      5/23/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      5/23/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                 8
      5/23/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/23/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/23/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/23/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.21
      5/23/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.52
      5/23/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.44
      5/23/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          255.5
      5/23/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      5/23/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      5/23/2020    742   JB0465   Owner Operator   Toll Charges                   34804 ILTOLL Route 80 (East)             5.1
      5/23/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      5/23/2020    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
      5/23/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      5/23/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                          364.2
      5/23/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                       100
      5/23/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      5/23/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/23/2020    742   JS0390   Owner Operator   Broker Pay Void/Reissue        ACH Request                           1360.2
      5/23/2020    742   JS0390   Owner Operator   Broker Pay Void/Reissue        void statement only                  -1360.2
      5/23/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      5/23/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/23/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.2
      5/23/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.47
      5/23/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      5/23/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/23/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/23/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           -35
      5/23/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           -35
      5/23/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           -35
      5/23/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/23/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      5/23/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      5/23/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 33296                13
      5/23/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      5/23/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/23/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/23/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/23/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          76.67
      5/23/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        -306.67
      5/23/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        -306.67
      5/23/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                        -306.67
      5/23/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          76.67
      5/23/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/23/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  -10
      5/23/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  -10

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      5/23/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   -10
      5/23/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      5/23/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                   60.12
      5/23/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                   60.12
      5/23/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris            2.5
      5/23/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris            2.5
      5/23/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                           148.58
      5/23/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             8.75
      5/23/2020    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                    12.5
      5/23/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157                13
      5/23/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           334.3
      5/23/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/23/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD              36.1
      5/23/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
      5/23/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 ILTOLL 163rd St.                   6.8
      5/23/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 ILTOLL 82nd St.                    6.8
      5/23/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 ILTOLL Marengo                    13.6
      5/23/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 ILTOLL Route 53                   2.55
      5/23/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 ILTOLL South Beloit                8.5
      5/23/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 241634 Balloon Payoff           335.75
      5/23/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      5/23/2020    742   SK0049   Owner Operator   Broker Pre Pass                33934 PrePass Device                     12.5
      5/23/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                 13
      5/23/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/23/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       60.16
      5/23/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
      5/23/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL              8.75
      5/23/2020    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                       9.84
      5/23/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                  8
      5/23/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.65
      5/23/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.08
      5/23/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          182.42
      5/23/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                            58.8
      5/23/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.29
      5/23/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                           353.2
      5/23/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                        100
      5/23/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/23/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD              68.98
      5/23/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter            2.5
      5/23/2020    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Route 80 (West)              5.1
      5/23/2020    742   TH0130   Owner Operator   Broker Pay Void/Reissue        5/16/20 Settlement Pay               -4540.09
      5/23/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                           76.09
      5/23/2020    843   EI0003   Owner Operator   *Arrears Collection W/O        Applicable Amount to Arrears             15.5
      5/23/2020    843   EI0003   Owner Operator   Broker Pay Void/Reissue        Vd Ck 977276                          -323.79
      5/23/2020    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                     12.5
      5/30/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL             8.75
      5/30/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          422.96
      5/30/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          385.99
      5/30/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                       100
      5/30/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/30/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.88
      5/30/2020    709   AC0061   Owner Operator   T Chek Fee                     ExpressCheck Fee                        10.46
      5/30/2020    709   AC0061   Owner Operator   T Chek Fee                     Tractor Repair Q13148                  749.29
      5/30/2020    709   AC0061   Owner Operator   T Chek Fee                     Tractor Repair Q13148                   99.97
      5/30/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL              8.75
      5/30/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                  8
      5/30/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                        100
      5/30/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/30/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD              28.05
      5/30/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter            2.5
      5/30/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 241782 truck 32781 Leas         225.29
      5/30/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL             8.75
      5/30/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147                 8
      5/30/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          130.14
      5/30/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.69
      5/30/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                       100
      5/30/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/30/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.07
      5/30/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                               50
      5/30/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      5/30/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           77.85
      5/30/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          104.09
      5/30/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           60.55

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      5/30/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      5/30/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      5/30/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                       100
      5/30/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      5/30/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      5/30/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      5/30/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168                8
      5/30/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/30/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/30/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.14
      5/30/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.12
      5/30/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.09
      5/30/2020    709   CC0134   Owner Operator   IRP License Deduction          LCIL:2020 - Q13168                    149.43
      5/30/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            36.07
      5/30/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 241755 Q13168 sub lease        352.68
      5/30/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/30/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      5/30/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.42
      5/30/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      5/30/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.04
      5/30/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/30/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      5/30/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      5/30/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                 8
      5/30/2020    709   CR0064   Owner Operator   Driver Excellence Program      CA-ND74001542                            -50
      5/30/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.14
      5/30/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.93
      5/30/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.59
      5/30/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          255.9
      5/30/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
      5/30/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.87
      5/30/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 241775 Q1247 Sub Lease         263.91
      5/30/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      5/30/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                 8
      5/30/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/30/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/30/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/30/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.87
      5/30/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.61
      5/30/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.18
      5/30/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                       100
      5/30/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.17
      5/30/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 241752 Lease Truck 3348        335.96
      5/30/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/30/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Freightliner NTL            8.75
      5/30/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.31
      5/30/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           160
      5/30/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          63.02
      5/30/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.03
      5/30/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.41
      5/30/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.01
      5/30/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.42
      5/30/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                       100
      5/30/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - Q13199                      100
      5/30/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
      5/30/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   35.11
      5/30/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Freightliner PD            24.07
      5/30/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      5/30/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                 8
      5/30/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/30/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/30/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.19
      5/30/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.1

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      5/30/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          428.9
      5/30/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.18
      5/30/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.54
      5/30/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
      5/30/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.45
      5/30/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 241751 Baloon payoff           350.23
      5/30/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      5/30/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.48
      5/30/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.34
      5/30/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                       100
      5/30/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.16
      5/30/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      5/30/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      5/30/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                 8
      5/30/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/30/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/30/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.49
      5/30/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.68
      5/30/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                       100
      5/30/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  114.69
      5/30/2020    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/30/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      5/30/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                 8
      5/30/2020    709   DS0225   Owner Operator   Driver Excellence Program      CA-UAOO000139                            -50
      5/30/2020    709   DS0225   Owner Operator   Driver Excellence Program      US-1303200747                            -50
      5/30/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      5/30/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.74
      5/30/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.15
      5/30/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.09
      5/30/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      5/30/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      5/30/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      5/30/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      5/30/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.09
      5/30/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.55
      5/30/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.95
      5/30/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.66
      5/30/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                           3.87
      5/30/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.95
      5/30/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.13
      5/30/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.93
      5/30/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                       100
      5/30/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.11
      5/30/2020    709   DS0288   Owner Operator   Toll Charges                   34266 BATA Carquinez Bridge               26
      5/30/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/30/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      5/30/2020    709   EA0003   Owner Operator   Driver Excellence Program      CA-N8BE000864                            -50
      5/30/2020    709   EA0003   Owner Operator   Driver Excellence Program      CA-U9T4000260                            -50
      5/30/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/30/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.11
      5/30/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.16
      5/30/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      5/30/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      5/30/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      5/30/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      5/30/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                 8
      5/30/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           350
      5/30/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/30/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/30/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.69
      5/30/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                       100
      5/30/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.11

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      5/30/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      5/30/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      5/30/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      5/30/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/30/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.09
      5/30/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.57
      5/30/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
      5/30/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 80.2
      5/30/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      5/30/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      5/30/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                 8
      5/30/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.7
      5/30/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.43
      5/30/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                       100
      5/30/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.91
      5/30/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/30/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      5/30/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.23
      5/30/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                      100
      5/30/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.09
      5/30/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/30/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      5/30/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                 8
      5/30/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      5/30/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      5/30/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.24
      5/30/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.97
      5/30/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.55
      5/30/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                       100
      5/30/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.04
      5/30/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.67
      5/30/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 241777 Q1200 Lease             238.16
      5/30/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      5/30/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      5/30/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.68
      5/30/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                       100
      5/30/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.09
      5/30/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      5/30/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                 8
      5/30/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.73
      5/30/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.65
      5/30/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                       100
      5/30/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      5/30/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      5/30/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170                8
      5/30/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                      100
      5/30/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            36.07
      5/30/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      5/30/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                 8
      5/30/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.72
      5/30/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.75
      5/30/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                       100
      5/30/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.64
      5/30/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/30/2020    709   HG0027   Owner Operator   Communication Charge           Safety Tech Hardware 33418                13
      5/30/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.86
      5/30/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                       100
      5/30/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.13

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      5/30/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      5/30/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                 8
      5/30/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      5/30/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.93
      5/30/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.33
      5/30/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                       100
      5/30/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    52.7
      5/30/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.34
      5/30/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/30/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                 8
      5/30/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.1
      5/30/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.07
      5/30/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/30/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.96
      5/30/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      5/30/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      5/30/2020    709   JC0292   Owner Operator   Driver Excellence Program      MN-00ZI003698                            -50
      5/30/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      5/30/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.34
      5/30/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.69
      5/30/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.67
      5/30/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                      100
      5/30/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.11
      5/30/2020    709   JC0292   Owner Operator   Repair Order                   CTMS - 241753 Repair                  296.25
      5/30/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 241784 Q13197 Lease            276.63
      5/30/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      5/30/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                 8
      5/30/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      5/30/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      5/30/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/30/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      5/30/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      5/30/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      5/30/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.02
      5/30/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.26
      5/30/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.66
      5/30/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      5/30/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      5/30/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      5/30/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      5/30/2020    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/30/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/30/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      5/30/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.78
      5/30/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      5/30/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   76.19
      5/30/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      5/30/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/30/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                 8
      5/30/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.51
      5/30/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
      5/30/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      36.07
      5/30/2020    709   JQ0015   Owner Operator   Advance                        5/7/20 Clm 78658-1 s/u $250/wk          250
      5/30/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      5/30/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/30/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                 8
      5/30/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      5/30/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.7
      5/30/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100
      5/30/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.03
      5/30/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.02
      5/30/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      5/30/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      5/30/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.78
      5/30/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100
      5/30/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.14
      5/30/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 241779 Balloon Payoff          234.05
      5/30/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      5/30/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      5/30/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159                8
      5/30/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/30/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.81
      5/30/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.41
      5/30/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
      5/30/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      5/30/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD             41.3
      5/30/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/30/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      5/30/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      5/30/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           170
      5/30/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           125
      5/30/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.95
      5/30/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      5/30/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      5/30/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/30/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      5/30/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      5/30/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                 8
      5/30/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          41.16
      5/30/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.48
      5/30/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.5
      5/30/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.27
      5/30/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                       100
      5/30/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.13
      5/30/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 241752 33483 Lease 208         335.48
      5/30/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      5/30/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                 8
      5/30/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                       100
      5/30/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.09
      5/30/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 241752 Balloon Pay off         200.15
      5/30/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      5/30/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      5/30/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.88
      5/30/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                       100
      5/30/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.53
      5/30/2020    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     26
      5/30/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      5/30/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                 8
      5/30/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.79
      5/30/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.47
      5/30/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.24
      5/30/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                       100
      5/30/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      5/30/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.77
      5/30/2020    709   MA0092   Owner Operator   Toll Charges                   34005 BATA Benicia                         26
      5/30/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
      5/30/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                  8
      5/30/2020    709   MD0122   Owner Operator   ESCROW                         Escrow Withdrawal                    -6782.37
      5/30/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            300
      5/30/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                           77.81
      5/30/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          102.98
      5/30/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                        100
      5/30/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/30/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                       23.95
      5/30/2020    709   MD0122   Owner Operator   T Chek Fee                     ExpressCheck Fee                        67.15
      5/30/2020    709   MD0122   Owner Operator   T Chek Fee                     Tractor Repair 34342                  6715.22
      5/30/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      5/30/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                  8
      5/30/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.65
      5/30/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                        100
      5/30/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/30/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.07
      5/30/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      5/30/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      5/30/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                  8
      5/30/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            500
      5/30/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             100
      5/30/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                               40
      5/30/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.4
      5/30/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      5/30/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          462.51
      5/30/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.84
      5/30/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                        100
      5/30/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/30/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       52.12
      5/30/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      5/30/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
      5/30/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL              8.75
      5/30/2020    709   NB0029   Owner Operator   Communication Charge           Safety Tech Hardware 32986                 13
      5/30/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      5/30/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/30/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      5/30/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/30/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      5/30/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.79
      5/30/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          373.28
      5/30/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                        100
      5/30/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/30/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.07
      5/30/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr            2.5
      5/30/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD              50.13
      5/30/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter            2.5
      5/30/2020    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      5/30/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
      5/30/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B                13
      5/30/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             160
      5/30/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.6
      5/30/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.55
      5/30/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          111.81
      5/30/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                       100
      5/30/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/30/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 33.71
      5/30/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
      5/30/2020    709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                  8
      5/30/2020    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                        100
      5/30/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/30/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              31.28
      5/30/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      5/30/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                  8
      5/30/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          158.78
      5/30/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          126.32
      5/30/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           104.4
      5/30/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                       33.64
      5/30/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      5/30/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    28.05
      5/30/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                 8.75

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      5/30/2020    709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
      5/30/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                 8
      5/30/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                          17.04
      5/30/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/30/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                             75
      5/30/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.56
      5/30/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.02
      5/30/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                       100
      5/30/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.09
      5/30/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 241750 Q1241 Truck leas        321.84
      5/30/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      5/30/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                 8
      5/30/2020    709   RC0030   Owner Operator   Driver Excellence Program      CA-N5N5000754                            -50
      5/30/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.18
      5/30/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.56
      5/30/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.49
      5/30/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      5/30/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      5/30/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/30/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      5/30/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      5/30/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.11
      5/30/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      5/30/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.26
      5/30/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/30/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/30/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      5/30/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.17
      5/30/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.15
      5/30/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.97
      5/30/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.28
      5/30/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.48
      5/30/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.69
      5/30/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      5/30/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.62
      5/30/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      5/30/2020    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/30/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      5/30/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                 8
      5/30/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      5/30/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.93
      5/30/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      5/30/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    52.7
      5/30/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      5/30/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      5/30/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.46
      5/30/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      5/30/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      5/30/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.73
      5/30/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                       100
      5/30/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.06
      5/30/2020    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      5/30/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      5/30/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      5/30/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.33
      5/30/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                       100
      5/30/2020    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         269.42
      5/30/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.14
      5/30/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 241743 Q1202 Balloon           234.05
      5/30/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      5/30/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                 8
      5/30/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.16

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      5/30/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.91
      5/30/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.26
      5/30/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.89
      5/30/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                       100
      5/30/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.13
      5/30/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 241752 33488 Lease $335        335.48
      5/30/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 241815 Past tractor ren          100
      5/30/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      5/30/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      5/30/2020    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      5/30/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      5/30/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      5/30/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/30/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/30/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.12
      5/30/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.33
      5/30/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.52
      5/30/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.22
      5/30/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.68
      5/30/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.85
      5/30/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      5/30/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      5/30/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.65
      5/30/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      5/30/2020    709   SB0009   Owner Operator   Toll Charges                   33236 E470 PLAZA C                      17.2
      5/30/2020    709   SB0009   Owner Operator   Toll Charges                   33236 E470 PLAZA D                      18.6
      5/30/2020    709   SB0009   Owner Operator   Toll Charges                   33236 E470 PLAZA E                      18.6
      5/30/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      5/30/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      5/30/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      5/30/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                 8
      5/30/2020    709   SB0103   Owner Operator   ESCROW                         Escrow Withdrawal                    -168.32
      5/30/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      5/30/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.75
      5/30/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.83
      5/30/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                       100
      5/30/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.31
      5/30/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      5/30/2020    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.67
      5/30/2020    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  166.65
      5/30/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      5/30/2020    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      5/30/2020    709   SM0109   Owner Operator   Broker Pre Pass                DriveWyze TRK33195                      9.84
      5/30/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      5/30/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      5/30/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           364
      5/30/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           195
      5/30/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           260
      5/30/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      5/30/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      5/30/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
      5/30/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
      5/30/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             76.19
      5/30/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      5/30/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                         369.49
      5/30/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      5/30/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      5/30/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.16

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      5/30/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          163.2
      5/30/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.56
      5/30/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.42
      5/30/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    44.1
      5/30/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      5/30/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                 8
      5/30/2020    709   VB0015   Owner Operator   Driver Excellence Program      CA-NB3A000193                            -50
      5/30/2020    709   VB0015   Owner Operator   Driver Excellence Program      CA-UBCV000707                            -50
      5/30/2020    709   VB0015   Owner Operator   Driver Excellence Program      NV-7177181292                            -50
      5/30/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.25
      5/30/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           288
      5/30/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                       100
      5/30/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      5/30/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   155.82
      5/30/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/30/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                 8
      5/30/2020    709   VJ0006   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/30/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                       100
      5/30/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      5/30/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      5/30/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      5/30/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      5/30/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      5/30/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      5/30/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                 8
      5/30/2020    709   WH0087   Owner Operator   Driver Excellence Program      CA-NCVL001654                            -50
      5/30/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.73
      5/30/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.87
      5/30/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                       100
      5/30/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      5/30/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 241754 Q1238 Lease             311.97
      5/30/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      5/30/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      5/30/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.14
      5/30/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          147.8
      5/30/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.84
      5/30/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.63
      5/30/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      5/30/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      5/30/2020    742   AP0047   Owner Operator   Toll Charges                   32604 BATA Carquinez Bridge               16
      5/30/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      5/30/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      5/30/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.68
      5/30/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.26
      5/30/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.73
      5/30/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.36
      5/30/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.52
      5/30/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           206
      5/30/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                       100
      5/30/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  113.48
      5/30/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      5/30/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      5/30/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                 8
      5/30/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.99
      5/30/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                       100
      5/30/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.18
      5/30/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.61

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      5/30/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      5/30/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                 8
      5/30/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.26
      5/30/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.65
      5/30/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
      5/30/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.66
      5/30/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      5/30/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 241784 Trk 33487 Lease          434.2
      5/30/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      5/30/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                 8
      5/30/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.37
      5/30/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.01
      5/30/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
      5/30/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.06
      5/30/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      5/30/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      5/30/2020    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      5/30/2020    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      5/30/2020    742   ED0041   Owner Operator   Communication Charge           PNet Hware 32897                          13
      5/30/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      5/30/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      5/30/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      5/30/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      5/30/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.94
      5/30/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.03
      5/30/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.02
      5/30/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.59
      5/30/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.18
      5/30/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
      5/30/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.05
      5/30/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      5/30/2020    742   ED0041   Owner Operator   T Chek Fee                     Tractor Repair 32897                  831.64
      5/30/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/30/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/30/2020    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      5/30/2020    742   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      5/30/2020    742   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      5/30/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.76
      5/30/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.03
      5/30/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.42
      5/30/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
      5/30/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
      5/30/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      5/30/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      5/30/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/30/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/30/2020    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Northwest M          4.48
      5/30/2020    742   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Spencer Mai          8.64
      5/30/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      5/30/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a                8
      5/30/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.13
      5/30/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      5/30/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      5/30/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                 8
      5/30/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/30/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.1
      5/30/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.99
      5/30/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.97
      5/30/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.04
      5/30/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      5/30/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      5/30/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      5/30/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                       100

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      5/30/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.04
      5/30/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/30/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      5/30/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/30/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.53
      5/30/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.39
      5/30/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.14
      5/30/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      5/30/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      5/30/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      5/30/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      5/30/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      5/30/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          76.66
      5/30/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      5/30/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                   60.1
      5/30/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      5/30/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      5/30/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      5/30/2020    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      5/30/2020    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      5/30/2020    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      5/30/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            200
      5/30/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      5/30/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                           21.1
      5/30/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.66
      5/30/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.52
      5/30/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          373.6
      5/30/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       100
      5/30/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       100
      5/30/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.46
      5/30/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      5/30/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      5/30/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      5/30/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.55
      5/30/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
      5/30/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/30/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      5/30/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      5/30/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      5/30/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/30/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      5/30/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.97
      5/30/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.16
      5/30/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.09
      5/30/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.23
      5/30/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.46
      5/30/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      5/30/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      5/30/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      5/30/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.14
      5/30/2020    742   PC0012   Owner Operator   Toll Charges                   32969 NJTP Carteret/Rahway              11.4
      5/30/2020    742   PC0012   Owner Operator   Toll Charges                   32969 PTC Harrisburg East Shor          71.8
      5/30/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      5/30/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      5/30/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      5/30/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      5/30/2020    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      5/30/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      5/30/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      5/30/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      5/30/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            1.42
      5/30/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      5/30/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      5/30/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.97

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      5/30/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.46
      5/30/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.49
      5/30/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.68
      5/30/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.42
      5/30/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.98
      5/30/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          137.7
      5/30/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.33
      5/30/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                        100
      5/30/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                        100
      5/30/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      5/30/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      5/30/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.52
      5/30/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      5/30/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      5/30/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      5/30/2020    742   RN0054   Owner Operator   Driver Excellence Program      CA-ND3G001187                            -50
      5/30/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.24
      5/30/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.95
      5/30/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.87
      5/30/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.73
      5/30/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.13
      5/30/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            36.07
      5/30/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      5/30/2020    742   RN0054   Owner Operator   T Chek Fee                     ExpressCheck Fee                         7.4
      5/30/2020    742   RN0054   Owner Operator   T Chek Fee                     Tractor Repair Q13157                 739.82
      5/30/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 241779 Balloon Payoff          335.75
      5/30/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      5/30/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      5/30/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.14
      5/30/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      5/30/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      5/30/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                 8
      5/30/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                        100
      5/30/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      5/30/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      5/30/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      5/30/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 241629 33489 Lease Paym        412.16
      5/30/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 241774 33489 Lease Paym        412.16
      5/30/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       -35
      5/30/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                            199
      5/30/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       -154
      5/30/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              -10
       6/6/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       6/6/2020    709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
       6/6/2020    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
       6/6/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148                8
       6/6/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148                8
       6/6/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148                8
       6/6/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/6/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.27
       6/6/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.79
       6/6/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.81
       6/6/2020    709   AC0061   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           595.18
       6/6/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                       100
       6/6/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
       6/6/2020    709   AC0061   Owner Operator   T Chek Fee                     Tractor Repair Q13148                 296.28
       6/6/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 241701 Q13148 Trac Leas        296.09
       6/6/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 241844 Q13148 Trac Leas        296.09
       6/6/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 242025 Q13148 Trac Leas        296.09
       6/6/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
       6/6/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                 8
       6/6/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.39
       6/6/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          286.6
       6/6/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                        100
       6/6/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   AN0007   Owner Operator   Permits1                       ID06:2020 - 32781                       10.3
       6/6/2020    709   AN0007   Owner Operator   Permits1                       IL02:2020 - 32781                       3.75
       6/6/2020    709   AN0007   Owner Operator   Permits1                       NM07:2020 - 32781                         10

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       6/6/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
       6/6/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
       6/6/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 241974 truck 32781 Leas        225.29
       6/6/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       6/6/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147                8
       6/6/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.45
       6/6/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          272.6
       6/6/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.87
       6/6/2020    709   AR0064   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           705.67
       6/6/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                      100
       6/6/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
       6/6/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 241847 Baloon Q13147           357.62
       6/6/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
       6/6/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    60.95
       6/6/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       6/6/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       6/6/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169                8
       6/6/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169                8
       6/6/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.82
       6/6/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.99
       6/6/2020    709   AV0021   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           186.95
       6/6/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
       6/6/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
       6/6/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            36.07
       6/6/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
       6/6/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 241817 Q13169 Sublease         352.68
       6/6/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       6/6/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
       6/6/2020    709   BM0030   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           376.68
       6/6/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                       100
       6/6/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
       6/6/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       6/6/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       6/6/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168                8
       6/6/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/6/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/6/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.76
       6/6/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          444.1
       6/6/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.63
       6/6/2020    709   CC0134   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           157.85
       6/6/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
       6/6/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 241937 Q13168 sub lease        352.68
       6/6/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/6/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
       6/6/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.75
       6/6/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.46
       6/6/2020    709   CM0119   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            -6.27
       6/6/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
       6/6/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
       6/6/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/6/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
       6/6/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       6/6/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                 8
       6/6/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.33
       6/6/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          83.84
       6/6/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.5
       6/6/2020    709   CR0064   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            53.28
       6/6/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
       6/6/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
       6/6/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 241967 Q1247 Sub Lease         263.91
       6/6/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
       6/6/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                 8

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       6/6/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/6/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/6/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/6/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.03
       6/6/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.64
       6/6/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.01
       6/6/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                           292
       6/6/2020    709   CV0028   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           224.56
       6/6/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                       100
       6/6/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
       6/6/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 241934 Lease Truck 3348        335.96
       6/6/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       6/6/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Freightliner NTL            8.75
       6/6/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
       6/6/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.22
       6/6/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.64
       6/6/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.25
       6/6/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.52
       6/6/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.19
       6/6/2020    709   DL0029   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax             7.53
       6/6/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                       100
       6/6/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - Q13199                      100
       6/6/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
       6/6/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   DL0029   Owner Operator   Permits1                       ID06:2020 - Q13199                      10.3
       6/6/2020    709   DL0029   Owner Operator   Permits1                       IL02:2020 - Q13199                      3.75
       6/6/2020    709   DL0029   Owner Operator   Permits1                       NM07:2020 - Q13199                        10
       6/6/2020    709   DL0029   Owner Operator   Permits1                       NY13:2019 - Q13199                       1.5
       6/6/2020    709   DL0029   Owner Operator   Permits1                       NY13:2019 - Q13199                       1.5
       6/6/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   35.11
       6/6/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Freightliner PD            24.07
       6/6/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.07
       6/6/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 241847 TRUCK RENTAL              500
       6/6/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 241954 Q13199 Lease            193.11
       6/6/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       6/6/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                 8
       6/6/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       6/6/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       6/6/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.35
       6/6/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.78
       6/6/2020    709   DL0107   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           106.15
       6/6/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
       6/6/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
       6/6/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 241933 Baloon payoff           350.23
       6/6/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       6/6/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.2
       6/6/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.32
       6/6/2020    709   DM0257   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           512.71
       6/6/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                       100
       6/6/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
       6/6/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       6/6/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
       6/6/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                 8
       6/6/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/6/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/6/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.98
       6/6/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.83
       6/6/2020    709   DS0049   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            16.02
       6/6/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                       100
       6/6/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
       6/6/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       6/6/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                 8
       6/6/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
       6/6/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.37
       6/6/2020    709   DS0225   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           -55.72
       6/6/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
       6/6/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       6/6/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13

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       6/6/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/6/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/6/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.23
       6/6/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.51
       6/6/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.09
       6/6/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.27
       6/6/2020    709   DS0288   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           135.88
       6/6/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                       100
       6/6/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
       6/6/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/6/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
       6/6/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       6/6/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.32
       6/6/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.87
       6/6/2020    709   EA0003   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           182.99
       6/6/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
       6/6/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
       6/6/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
       6/6/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       6/6/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                 8
       6/6/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           350
       6/6/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/6/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/6/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.15
       6/6/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.24
       6/6/2020    709   EG0062   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            58.85
       6/6/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                       100
       6/6/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
       6/6/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       6/6/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       6/6/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
       6/6/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
       6/6/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/6/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/6/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.43
       6/6/2020    709   EO0014   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           151.86
       6/6/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
       6/6/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
       6/6/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       6/6/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       6/6/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                 8
       6/6/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/6/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/6/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/6/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/6/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.72
       6/6/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.12
       6/6/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.51
       6/6/2020    709   FS0039   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            32.56
       6/6/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                       100
       6/6/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
       6/6/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 241817 truck lease 3304        434.29
       6/6/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 242006 truck lease 3304        434.29
       6/6/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/6/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
       6/6/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.25
       6/6/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.64
       6/6/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.15
       6/6/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                      100
       6/6/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
       6/6/2020    709   FV0001   Owner Operator   Toll Charges                   21521B Bay Bridge 18                      26
       6/6/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       6/6/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75

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       6/6/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                8
       6/6/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/6/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
       6/6/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.7
       6/6/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         14.25
       6/6/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                        324.88
       6/6/2020    709   GA0051   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           -0.43
       6/6/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                       100
       6/6/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       6/6/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  24.07
       6/6/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD            29.68
       6/6/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 241969 Q1200 Lease            238.16
       6/6/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
       6/6/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110               13
       6/6/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        304.25
       6/6/2020    709   GS0015   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax          106.37
       6/6/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                       100
       6/6/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                        21
       6/6/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       6/6/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            40.11
       6/6/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL            8.75
       6/6/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                8
       6/6/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       6/6/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       6/6/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.09
       6/6/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        226.58
       6/6/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        225.54
       6/6/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        157.61
       6/6/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        155.55
       6/6/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        155.61
       6/6/2020    709   GW0043   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax          118.11
       6/6/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                       100
       6/6/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       6/6/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD            45.09
       6/6/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 241785 Q1109 Lease            302.85
       6/6/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 241976 Q1109 Lease            302.85
       6/6/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL           8.75
       6/6/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               8
       6/6/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.19
       6/6/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        321.62
       6/6/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        335.56
       6/6/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         13.77
       6/6/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        190.71
       6/6/2020    709   HC0023   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           36.87
       6/6/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                      100
       6/6/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       6/6/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            36.1
       6/6/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 241783 Q13170                 352.68
       6/6/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 241975 Q13170                 352.68
       6/6/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                      8.75
       6/6/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                8
       6/6/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        549.33
       6/6/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                       100
       6/6/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       6/6/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                     100.67
       6/6/2020    709   HG0007   Owner Operator   Toll Charges                   34565 BATA Richmond                      26
       6/6/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
       6/6/2020    709   HG0027   Owner Operator   ESCROW                         Escrow Withdrawal                      -200
       6/6/2020    709   HG0027   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax          143.47
       6/6/2020    709   HG0027   Owner Operator   Loan Repayment                 EFS 245945 - Escrow                -8468.44
       6/6/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         42.66
       6/6/2020    709   HG0027   Owner Operator   T Chek Fee                     ExpressCheck Fee                      85.83
       6/6/2020    709   HG0027   Owner Operator   T Chek Fee                     Tractor Repair 33418                8582.61
       6/6/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
       6/6/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                8
       6/6/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
       6/6/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        218.18
       6/6/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        103.75
       6/6/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        326.33
       6/6/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        158.19
       6/6/2020    709   IA0007   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax          -16.86

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       6/6/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                       100
       6/6/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
       6/6/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
       6/6/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/6/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                 8
       6/6/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.63
       6/6/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.91
       6/6/2020    709   IR0002   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax          -103.09
       6/6/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
       6/6/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/6/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
       6/6/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       6/6/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
       6/6/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       6/6/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.72
       6/6/2020    709   JC0292   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            113.5
       6/6/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                      100
       6/6/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
       6/6/2020    709   JC0292   Owner Operator   Repair Order                   CTMS - 241936 Repair                  296.25
       6/6/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 241976 Q13197 Lease            276.63
       6/6/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       6/6/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                 8
       6/6/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
       6/6/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       6/6/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/6/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
       6/6/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
       6/6/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       6/6/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.74
       6/6/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.66
       6/6/2020    709   JG0017   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            112.6
       6/6/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
       6/6/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
       6/6/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
       6/6/2020    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       26
       6/6/2020    709   JG0017   Owner Operator   Toll Charges                   32908 Bay Bridge 18                       26
       6/6/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
       6/6/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/6/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
       6/6/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.95
       6/6/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.24
       6/6/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.5
       6/6/2020    709   JG0072   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           742.36
       6/6/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
       6/6/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
       6/6/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
       6/6/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       6/6/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                 8
       6/6/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.35
       6/6/2020    709   JG0092   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax             0.01
       6/6/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
       6/6/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
       6/6/2020    709   JQ0015   Owner Operator   Advance                        5/7/20 Clm 78658-1 s/u $250/wk          250
       6/6/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       6/6/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       6/6/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                 8
       6/6/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.21
       6/6/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100
       6/6/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
       6/6/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
       6/6/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75

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       6/6/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
       6/6/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.87
       6/6/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100
       6/6/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
       6/6/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 241971 Balloon Payoff          234.05
       6/6/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       6/6/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       6/6/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159                8
       6/6/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       6/6/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.93
       6/6/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.7
       6/6/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.46
       6/6/2020    709   JS0265   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           317.01
       6/6/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
       6/6/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
       6/6/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
       6/6/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 241775 Q13159 Lease             331.5
       6/6/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 241967 Q13159 Lease             331.5
       6/6/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/6/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
       6/6/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       6/6/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/6/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/6/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.01
       6/6/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           196
       6/6/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.02
       6/6/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           182
       6/6/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.62
       6/6/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.09
       6/6/2020    709   KP0004   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           209.57
       6/6/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
       6/6/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
       6/6/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/6/2020    709   KP0004   Owner Operator   Toll Charges                   32914 Carquinez Bridge 10                 26
       6/6/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
       6/6/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
       6/6/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                 8
       6/6/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.93
       6/6/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.02
       6/6/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.95
       6/6/2020    709   KT0055   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            -5.42
       6/6/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                       100
       6/6/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
       6/6/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 241935 33483 Lease 208         335.48
       6/6/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       6/6/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                 8
       6/6/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                       100
       6/6/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
       6/6/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 241935 Balloon Pay off         200.15
       6/6/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
       6/6/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
       6/6/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          352.4
       6/6/2020    709   LS0023   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax             78.1
       6/6/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                       100
       6/6/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
       6/6/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       6/6/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                 8
       6/6/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.6
       6/6/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.77
       6/6/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.17

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       6/6/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          34.28
       6/6/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.84
       6/6/2020    709   MA0092   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           190.77
       6/6/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                       100
       6/6/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
       6/6/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       6/6/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                 8
       6/6/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           500
       6/6/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.51
       6/6/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          63.29
       6/6/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.44
       6/6/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          82.59
       6/6/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.64
       6/6/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          190.9
       6/6/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                       100
       6/6/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
       6/6/2020    709   MD0122   Owner Operator   Truck Payment                  CTMS - 242040 TRUCK RENTAL              100
       6/6/2020    709   ME0053   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           -21.32
       6/6/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          48.37
       6/6/2020    709   ME0053   Owner Operator   Permits1                       ID06:2020 - Q13199                     -10.3
       6/6/2020    709   ME0053   Owner Operator   Permits1                       IL02:2020 - Q13199                     -3.75
       6/6/2020    709   ME0053   Owner Operator   Permits1                       NM07:2020 - Q13199                       -10
       6/6/2020    709   ME0053   Owner Operator   Permits1                       NY13:2019 - Q13199                      -1.5
       6/6/2020    709   ME0053   Owner Operator   Permits1                       NY13:2019 - Q13199                      -1.5
       6/6/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       6/6/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                 8
       6/6/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.22
       6/6/2020    709   MG0067   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           -55.82
       6/6/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                       100
       6/6/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
       6/6/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       6/6/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       6/6/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                 8
       6/6/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
       6/6/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              60
       6/6/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              40
       6/6/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
       6/6/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
       6/6/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.09
       6/6/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.49
       6/6/2020    709   MP0035   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            25.57
       6/6/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                       100
       6/6/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
       6/6/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       6/6/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       6/6/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       6/6/2020    709   NB0029   Owner Operator   Communication Charge           Safety Tech Hardware 32986                13
       6/6/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         221.33
       6/6/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.21
       6/6/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.1
       6/6/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.68
       6/6/2020    709   NB0029   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax          1013.21
       6/6/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                       100
       6/6/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
       6/6/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       6/6/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
       6/6/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       6/6/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 241774 32986 Lease             314.03
       6/6/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 241966 32986 Lease             314.03
       6/6/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       6/6/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
       6/6/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.97

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       6/6/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.98
       6/6/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.93
       6/6/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                      100
       6/6/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
       6/6/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       6/6/2020    709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                 8
       6/6/2020    709   NT9564   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax             192
       6/6/2020    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                       100
       6/6/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
       6/6/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       6/6/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                 8
       6/6/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.46
       6/6/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.17
       6/6/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.26
       6/6/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          154.6
       6/6/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
       6/6/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
       6/6/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       6/6/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
       6/6/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
       6/6/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
       6/6/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
       6/6/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.19
       6/6/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.31
       6/6/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.68
       6/6/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.82
       6/6/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.91
       6/6/2020    709   RB0170   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            52.61
       6/6/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                       100
       6/6/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
       6/6/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       6/6/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                 8
       6/6/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.17
       6/6/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.36
       6/6/2020    709   RC0030   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           251.96
       6/6/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
       6/6/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       6/6/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/6/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
       6/6/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
       6/6/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           256
       6/6/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.29
       6/6/2020    709   RL0017   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           -29.76
       6/6/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
       6/6/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
       6/6/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/6/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/6/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
       6/6/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.45
       6/6/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.34
       6/6/2020    709   RL0062   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           536.74
       6/6/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
       6/6/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
       6/6/2020    709   RL0062   Owner Operator   Toll Charges                   32912 Carquinez Bridge 8                  26
       6/6/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
       6/6/2020    709   RL0062   Owner Operator   Truck Payment                  CTMS - 242040 TRUCK RENTAL              200
       6/6/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       6/6/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                 8
       6/6/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
       6/6/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.5
       6/6/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.65
       6/6/2020    709   RL0180   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           267.03
       6/6/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
       6/6/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
       6/6/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5

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       6/6/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       6/6/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
       6/6/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       6/6/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
       6/6/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.31
       6/6/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.27
       6/6/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.96
       6/6/2020    709   RM0026   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           384.74
       6/6/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                       100
       6/6/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
       6/6/2020    709   RM0026   Owner Operator   Repair Order                   CTMS - 242040 REPAIR                    123
       6/6/2020    709   RM0026   Owner Operator   Truck Payment                  CTMS - 242040 TRUCK PAYMENT             200
       6/6/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       6/6/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
       6/6/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.35
       6/6/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                       100
       6/6/2020    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         269.42
       6/6/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
       6/6/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 241910 Q1202 Balloon           234.05
       6/6/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
       6/6/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.08
       6/6/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.79
       6/6/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.63
       6/6/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          13.91
       6/6/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       6/6/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
       6/6/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       6/6/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.76
       6/6/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.31
       6/6/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.64
       6/6/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.61
       6/6/2020    709   SB0009   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           332.39
       6/6/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
       6/6/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
       6/6/2020    709   SB0009   Owner Operator   Toll Charges                   33236 Benicia 4                           26
       6/6/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       6/6/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       6/6/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                 8
       6/6/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
       6/6/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.2
       6/6/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.27
       6/6/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.54
       6/6/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.39
       6/6/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.13
       6/6/2020    709   SB0103   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           173.17
       6/6/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                       100
       6/6/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
       6/6/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       6/6/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 241954 3303Truck Lease         133.15
       6/6/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           340
       6/6/2020    709   SM0109   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            86.16
       6/6/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       6/6/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
       6/6/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
       6/6/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.77
       6/6/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          161.6
       6/6/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.32
       6/6/2020    709   SN0019   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           163.57
       6/6/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
       6/6/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       6/6/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                 8
       6/6/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.97
       6/6/2020    709   VB0015   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            -6.56
       6/6/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                       100
       6/6/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       6/6/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
       6/6/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   112.46
       6/6/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/6/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                 8
       6/6/2020    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                      -1400
       6/6/2020    709   VJ0006   Owner Operator   Express Check                  T-Check Payment                         1400
       6/6/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             130
       6/6/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.3
       6/6/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.17
       6/6/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.69
       6/6/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.74
       6/6/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.79
       6/6/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.76
       6/6/2020    709   VJ0006   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           398.61
       6/6/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                        100
       6/6/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
       6/6/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       6/6/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
       6/6/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
       6/6/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       6/6/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       6/6/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             100
       6/6/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
       6/6/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       6/6/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/6/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.78
       6/6/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.26
       6/6/2020    709   WH0087   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           207.72
       6/6/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                        100
       6/6/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
       6/6/2020    709   WH0087   Owner Operator   Toll Charges                   Q1239 Carquinez Bridge 12                 26
       6/6/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 241937 Q1238 Lease             311.97
       6/6/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 242040 TRUCK RENTAL             48.71
       6/6/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       6/6/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
       6/6/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
       6/6/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
       6/6/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/6/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/6/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.51
       6/6/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.78
       6/6/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.51
       6/6/2020    742   AP0047   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           576.17
       6/6/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
       6/6/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       6/6/2020    742   AP0047   Owner Operator   Toll Charges                   32604 BATA Carquinez Bridge               26
       6/6/2020    742   AP0047   Owner Operator   Toll Charges                   32604 BATA Carquinez Bridge               26
       6/6/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
       6/6/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
       6/6/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.49
       6/6/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           9.91
       6/6/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.93
       6/6/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                            6.4
       6/6/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.19
       6/6/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.93
       6/6/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.31
       6/6/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.29
       6/6/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.49
       6/6/2020    742   BS0078   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           105.48
       6/6/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                        100
       6/6/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
       6/6/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
       6/6/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       6/6/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                 8
       6/6/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.78
       6/6/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.12
       6/6/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.03
       6/6/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                        100

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       6/6/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
       6/6/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/6/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/6/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
       6/6/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
       6/6/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.04
       6/6/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             55
       6/6/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          71.44
       6/6/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           134
       6/6/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           192
       6/6/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           275
       6/6/2020    742   DA0067   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           261.35
       6/6/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
       6/6/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
       6/6/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
       6/6/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
       6/6/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.18
       6/6/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
       6/6/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/6/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/6/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 6                  26
       6/6/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 6                  26
       6/6/2020    742   DA0067   Owner Operator   Toll Charges                   33847 Carquinez Bridge 6                  26
       6/6/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          32.99
       6/6/2020    742   DC0117   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            75.93
       6/6/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                       100
       6/6/2020    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Sam Houston - Sout             7
       6/6/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       6/6/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                 8
       6/6/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          416.7
       6/6/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.53
       6/6/2020    742   EA0039   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           155.26
       6/6/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
       6/6/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
       6/6/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       6/6/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       6/6/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
       6/6/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.19
       6/6/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.15
       6/6/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.22
       6/6/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.13
       6/6/2020    742   ED0041   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           204.85
       6/6/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
       6/6/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
       6/6/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       6/6/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/6/2020    742   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
       6/6/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.74
       6/6/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.76
       6/6/2020    742   EN0016   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           207.08
       6/6/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
       6/6/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
       6/6/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/6/2020    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 12                 26
       6/6/2020    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 12                 26
       6/6/2020    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 12                 26
       6/6/2020    742   EN0016   Owner Operator   Toll Charges                   32947 Carquinez Bridge 12                 26
       6/6/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       6/6/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a                8
       6/6/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
       6/6/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       6/6/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
       6/6/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                 8
       6/6/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/6/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.8
       6/6/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.82
       6/6/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.78

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       6/6/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.27
       6/6/2020    742   JB0465   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           113.52
       6/6/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
       6/6/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
       6/6/2020    742   JB0465   Owner Operator   Toll Charges                   34804 PTC Breezewood                    21.5
       6/6/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       6/6/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
       6/6/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           356
       6/6/2020    742   JH0148   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax          1069.47
       6/6/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                       100
       6/6/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
       6/6/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       6/6/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
       6/6/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/6/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.94
       6/6/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          290.2
       6/6/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.96
       6/6/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.68
       6/6/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.44
       6/6/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
       6/6/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       6/6/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
       6/6/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
       6/6/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       6/6/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   MH0117   Owner Operator   Permits                        NM07:2020 - 34932                         10
       6/6/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
       6/6/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
       6/6/2020    742   MH0117   Owner Operator   Toll Charges                   33296 Carquinez Bridge 9                  26
       6/6/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       6/6/2020    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
       6/6/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/6/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/6/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.52
       6/6/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.47
       6/6/2020    742   NG0024   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           243.81
       6/6/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       100
       6/6/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
       6/6/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       6/6/2020    742   NG0024   Owner Operator   Toll Charges                   33252 Carquinez Bridge 12                 26
       6/6/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       6/6/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
       6/6/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
       6/6/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       6/6/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.03
       6/6/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          121.7
       6/6/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.06
       6/6/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          190.3
       6/6/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.87
       6/6/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.68
       6/6/2020    742   RF0136   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            37.33
       6/6/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                       100
       6/6/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
       6/6/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
       6/6/2020    742   RF0136   Owner Operator   Toll Charges                   34182 Carquinez Bridge 12                 26
       6/6/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       6/6/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
       6/6/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.53
       6/6/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.41
       6/6/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.18
       6/6/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.25
       6/6/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.76
       6/6/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.92
       6/6/2020    742   RN0054   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           294.31
       6/6/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
       6/6/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       6/6/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157/W6690 Carquinez Bridge             26

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       6/6/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157/W701174 Carquinez Bridg            26
       6/6/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 241971 Balloon Payoff          335.75
       6/6/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       6/6/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
       6/6/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
       6/6/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       6/6/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       6/6/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                 8
       6/6/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.78
       6/6/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.26
       6/6/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.53
       6/6/2020    742   TC0098   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           172.33
       6/6/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                       100
       6/6/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       6/6/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
       6/6/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       6/6/2020    742   TC0098   Owner Operator   Toll Charges                   33489 Carquinez Bridge 12                 26
       6/6/2020    742   TC0098   Owner Operator   Toll Charges                   33489 Carquinez Bridge 12                 26
       6/6/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 241966 33489 Lease Paym        412.16
      6/13/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      6/13/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148                8
      6/13/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.64
      6/13/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.13
      6/13/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.87
      6/13/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.21
      6/13/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                      100
      6/13/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      6/13/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 242208 Q13148 Trac Leas        296.09
      6/13/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      6/13/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                 8
      6/13/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.98
      6/13/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                       100
      6/13/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      6/13/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      6/13/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 242132 truck 32781 Leas        225.29
      6/13/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      6/13/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147                8
      6/13/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.15
      6/13/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.76
      6/13/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.07
      6/13/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.5
      6/13/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.64
      6/13/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.89
      6/13/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                      100
      6/13/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      6/13/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      6/13/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      6/13/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                       100
      6/13/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      6/13/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      6/13/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      6/13/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168                8
      6/13/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/13/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/13/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          432.6
      6/13/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.83
      6/13/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.51
      6/13/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      6/13/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 242106 Q13168 sub lease        352.68
      6/13/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/13/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      6/13/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/13/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.97
      6/13/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.41
      6/13/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      6/13/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      6/13/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    24.07
      6/13/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      6/13/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          506.17
      6/13/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL              8.75
      6/13/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                  8
      6/13/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                              50
      6/13/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.31
      6/13/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          329.85
      6/13/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                           284.5
      6/13/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.09
      6/13/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                        100
      6/13/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/13/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD              68.18
      6/13/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 242103 Lease Truck 3348         335.96
      6/13/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      6/13/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Freightliner NTL             8.75
      6/13/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL                8.75
      6/13/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.45
      6/13/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          220.41
      6/13/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           177.3
      6/13/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          167.67
      6/13/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                            228
      6/13/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                        100
      6/13/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - Q13199                       100
      6/13/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment          258.52
      6/13/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/13/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    35.11
      6/13/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Freightliner PD             24.07
      6/13/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                24.07
      6/13/2020    709   DL0029   Owner Operator   Toll Charges                   Q13199 ILTOLL Army Trail Rd.              5.1
      6/13/2020    709   DL0029   Owner Operator   Toll Charges                   Q13199 ILTOLL Boughton Rd. (Ma            5.1
      6/13/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 242098 Q13199 Lease             193.11
      6/13/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      6/13/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                  8
      6/13/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.47
      6/13/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                        100
      6/13/2020    709   DL0107   Owner Operator   Loan Repayment                 EFS 246446                           -5044.89
      6/13/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment          366.62
      6/13/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/13/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 67.46
      6/13/2020    709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                        49.95
      6/13/2020    709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                  4994.94
      6/13/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      6/13/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.05
      6/13/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.39
      6/13/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                        100
      6/13/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/13/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    19.17
      6/13/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      6/13/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                    8.75
      6/13/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                  8
      6/13/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      6/13/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      6/13/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          345.77
      6/13/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.45
      6/13/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                        100
      6/13/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/13/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                    114.7
      6/13/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                      26
      6/13/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      6/13/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                  8
      6/13/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           1000
      6/13/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          506.47
      6/13/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/13/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       40.11
      6/13/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      6/13/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                 13
      6/13/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      6/13/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                               50
      6/13/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      6/13/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      6/13/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.94
      6/13/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.87

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      6/13/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.81
      6/13/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                       100
      6/13/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      6/13/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/13/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      6/13/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/13/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/13/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/13/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.43
      6/13/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.87
      6/13/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.01
      6/13/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      6/13/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      6/13/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      6/13/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      6/13/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                 8
      6/13/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           350
      6/13/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/13/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/13/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/13/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.37
      6/13/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.36
      6/13/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                       100
      6/13/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      6/13/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      6/13/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      6/13/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      6/13/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/13/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/13/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/13/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.87
      6/13/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.42
      6/13/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
      6/13/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      6/13/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      6/13/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      6/13/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                 8
      6/13/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/13/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/13/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/13/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/13/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.55
      6/13/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.61
      6/13/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.45
      6/13/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.9
      6/13/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                       100
      6/13/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      6/13/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/13/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      6/13/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/13/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.71
      6/13/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.84
      6/13/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                      100
      6/13/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      6/13/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/13/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      6/13/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                 8
      6/13/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/13/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/13/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.22
      6/13/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                           207

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      6/13/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                        148.84
      6/13/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                      100
      6/13/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/13/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  24.07
      6/13/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD            29.68
      6/13/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 242127 Q1200 Lease            238.16
      6/13/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
      6/13/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110               13
      6/13/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                      100
      6/13/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/13/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            40.11
      6/13/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL            8.75
      6/13/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                8
      6/13/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/13/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                           200
      6/13/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/13/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      6/13/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        206.81
      6/13/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.21
      6/13/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        193.23
      6/13/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        142.01
      6/13/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        231.57
      6/13/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                      100
      6/13/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/13/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD            45.09
      6/13/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL           8.75
      6/13/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               8
      6/13/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        392.26
      6/13/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        423.47
      6/13/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         13.51
      6/13/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                     100
      6/13/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/13/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            36.1
      6/13/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                      8.75
      6/13/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                8
      6/13/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        437.07
      6/13/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        522.36
      6/13/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                      100
      6/13/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/13/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                     100.67
      6/13/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
      6/13/2020    709   HG0027   Owner Operator   Communication Charge           Safety Tech Hardware 33418               13
      6/13/2020    709   HG0027   Owner Operator   Communication Charge           Safety Tech Hardware 33418               13
      6/13/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        538.09
      6/13/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        137.98
      6/13/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        221.54
      6/13/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.34
      6/13/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        380.37
      6/13/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.3
      6/13/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                      100
      6/13/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                      100
      6/13/2020    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        302.23
      6/13/2020    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        302.23
      6/13/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/13/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          4.84
      6/13/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     56.15
      6/13/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     56.15
      6/13/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
      6/13/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                8
      6/13/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                          150
      6/13/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        292.58
      6/13/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         89.83
      6/13/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.24
      6/13/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                      100
      6/13/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/13/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  52.71
      6/13/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                   22.35
      6/13/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      6/13/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                8
      6/13/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                        166.09
      6/13/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.4
      6/13/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      6/13/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  94.09

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      6/13/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/13/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      6/13/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      6/13/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      6/13/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      6/13/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/13/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/13/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.53
      6/13/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.67
      6/13/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                       100
      6/13/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      6/13/2020    709   JC0292   Owner Operator   Repair Order                   CTMS - 242105 Repair                  296.25
      6/13/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 242134 Q13197 Lease            276.63
      6/13/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      6/13/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                 8
      6/13/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      6/13/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      6/13/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/13/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      6/13/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/13/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      6/13/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/13/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.67
      6/13/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.28
      6/13/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.86
      6/13/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      6/13/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      6/13/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      6/13/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      6/13/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/13/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      6/13/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/13/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/13/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.65
      6/13/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          447.6
      6/13/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      6/13/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
      6/13/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      6/13/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/13/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                 8
      6/13/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.18
      6/13/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                        100
      6/13/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      6/13/2020    709   JQ0015   Owner Operator   Accident Claim                 05/07/20 JQ0015 Incident                2000
      6/13/2020    709   JQ0015   Owner Operator   Accident Claim                 05/07/20 JQ0015 Incident               -2000
      6/13/2020    709   JQ0015   Owner Operator   Advance                        5/7/20 Clm 78658-1 s/u $250/wk           250
      6/13/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      6/13/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/13/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                 8
      6/13/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           16.3
      6/13/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.93
      6/13/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                        100
      6/13/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      6/13/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
      6/13/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      6/13/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      6/13/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.57
      6/13/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                        100
      6/13/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      6/13/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 242130 Balloon Payoff          234.05
      6/13/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75

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      6/13/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      6/13/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159                8
      6/13/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/13/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.13
      6/13/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.04
      6/13/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
      6/13/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      6/13/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
      6/13/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/13/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      6/13/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/13/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/13/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/13/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/13/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/13/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/13/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/13/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.02
      6/13/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             34
      6/13/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.01
      6/13/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.98
      6/13/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      6/13/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             17
      6/13/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      6/13/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      6/13/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/13/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      6/13/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      6/13/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                 8
      6/13/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.01
      6/13/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                           395
      6/13/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                       100
      6/13/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      6/13/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 242103 33483 Lease 208         335.48
      6/13/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      6/13/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                 8
      6/13/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                       100
      6/13/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      6/13/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 242104 Balloon Pay off         200.15
      6/13/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      6/13/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      6/13/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/13/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.59
      6/13/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.23
      6/13/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                       100
      6/13/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      6/13/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/13/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                 8
      6/13/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.57
      6/13/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.48
      6/13/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                       100
      6/13/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      6/13/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      6/13/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                 8
      6/13/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           500
      6/13/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.25
      6/13/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                           91.1
      6/13/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.15
      6/13/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.95
      6/13/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.78
      6/13/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                       100
      6/13/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      6/13/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/13/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                 8
      6/13/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.06
      6/13/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                       100

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      6/13/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      6/13/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/13/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/13/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                 8
      6/13/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      6/13/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              60
      6/13/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      6/13/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.71
      6/13/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                       100
      6/13/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      6/13/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/13/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      6/13/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      6/13/2020    709   NB0029   Owner Operator   Communication Charge           Safety Tech Hardware 32986                13
      6/13/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/13/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                          28.67
      6/13/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/13/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/13/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.89
      6/13/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.49
      6/13/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.46
      6/13/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.49
      6/13/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                       100
      6/13/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      6/13/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      6/13/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      6/13/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      6/13/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      6/13/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      6/13/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/13/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/13/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           64.1
      6/13/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.02
      6/13/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.7
      6/13/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                      100
      6/13/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      6/13/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      6/13/2020    709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                 8
      6/13/2020    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                       100
      6/13/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      6/13/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/13/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                 8
      6/13/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.44
      6/13/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.39
      6/13/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.49
      6/13/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.94
      6/13/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      6/13/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
      6/13/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      6/13/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                 8
      6/13/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                 8
      6/13/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/13/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/13/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      6/13/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      6/13/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.16
      6/13/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.58
      6/13/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.85
      6/13/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.54
      6/13/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.34
      6/13/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.18
      6/13/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.39
      6/13/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                       100
      6/13/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11

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      6/13/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 241933 Q1241 Truck leas        321.84
      6/13/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      6/13/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                 8
      6/13/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.77
      6/13/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.42
      6/13/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.43
      6/13/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      6/13/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      6/13/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/13/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      6/13/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      6/13/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         546.95
      6/13/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.04
      6/13/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      6/13/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      6/13/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/13/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/13/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      6/13/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/13/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.9
      6/13/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.49
      6/13/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.35
      6/13/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      6/13/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      6/13/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      6/13/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      6/13/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                 8
      6/13/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      6/13/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           363
      6/13/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      6/13/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      6/13/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      6/13/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      6/13/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      6/13/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      6/13/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      6/13/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.01
      6/13/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.89
      6/13/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                       100
      6/13/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      6/13/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      6/13/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      6/13/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.69
      6/13/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.78
      6/13/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                       100
      6/13/2020    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         269.42
      6/13/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      6/13/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 242077 Q1202 Balloon           234.05
      6/13/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      6/13/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                 8
      6/13/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                 8
      6/13/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/13/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/13/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/13/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/13/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.57
      6/13/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.28
      6/13/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.39
      6/13/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.79
      6/13/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                       100
      6/13/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                       100
      6/13/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          33.59
      6/13/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      6/13/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      6/13/2020    709   RR0123   Owner Operator   Repair Order                   CTMS - 242040 REPAIR PARTS                40

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      6/13/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 241935 33488 Lease $335        335.48
      6/13/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 242005 Past tractor ren          100
      6/13/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 242103 33488 Lease $335        335.48
      6/13/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 242178 Past tractor ren          100
      6/13/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      6/13/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.75
      6/13/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.17
      6/13/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.23
      6/13/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      6/13/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   73.48
      6/13/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      6/13/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      6/13/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                 8
      6/13/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/13/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.66
      6/13/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.88
      6/13/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.59
      6/13/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                       100
      6/13/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      6/13/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      6/13/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 242098 3303Truck Lease         133.15
      6/13/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      6/13/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      6/13/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      6/13/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      6/13/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          170.9
      6/13/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           280
      6/13/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           371
      6/13/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.84
      6/13/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           256
      6/13/2020    709   SM0109   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           173.15
      6/13/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      6/13/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      6/13/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
      6/13/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
      6/13/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      6/13/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      6/13/2020    709   SM0109   Owner Operator   Toll Charges                   33195 ILTOLL Route 80 (East)             5.1
      6/13/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      6/13/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      6/13/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      6/13/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      6/13/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/13/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/13/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/13/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/13/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.28
      6/13/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.84
      6/13/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.94
      6/13/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.12
      6/13/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      6/13/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      6/13/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                 8
      6/13/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.01
      6/13/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                       100
      6/13/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      6/13/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   112.46
      6/13/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/13/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                 8
      6/13/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
      6/13/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      6/13/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.16
      6/13/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.48
      6/13/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.19
      6/13/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.27
      6/13/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.07
      6/13/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                       100

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      6/13/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      6/13/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/13/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      6/13/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      6/13/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      6/13/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      6/13/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      6/13/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      6/13/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      6/13/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      6/13/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      6/13/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.77
      6/13/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.53
      6/13/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.66
      6/13/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.44
      6/13/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.02
      6/13/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                       100
      6/13/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      6/13/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      6/13/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      6/13/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                 8
      6/13/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.34
      6/13/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.87
      6/13/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.67
      6/13/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                       100
      6/13/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      6/13/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/13/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      6/13/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           163
      6/13/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.01
      6/13/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
      6/13/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      6/13/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      6/13/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/13/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      6/13/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      6/13/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      6/13/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.57
      6/13/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.42
      6/13/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.69
      6/13/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                             33
      6/13/2020    742   DC0117   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           131.41
      6/13/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                       100
      6/13/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                       100
      6/13/2020    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Sam Houston - NE M             7
      6/13/2020    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Sam Houston - NE M             7
      6/13/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63
      6/13/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63
      6/13/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      6/13/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      6/13/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                 8
      6/13/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                 8
      6/13/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/13/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.08
      6/13/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.19
      6/13/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.65
      6/13/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          281.6
      6/13/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          393.5
      6/13/2020    742   DS0254   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           371.93
      6/13/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
      6/13/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
      6/13/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
      6/13/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
      6/13/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5

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      6/13/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      6/13/2020    742   DS0254   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.65
      6/13/2020    742   DS0254   Owner Operator   T Chek Fee                     Tractor Repair 33487                  465.48
      6/13/2020    742   DS0254   Owner Operator   Toll Charges                   33487 Antioch Bridge 1                    16
      6/13/2020    742   DS0254   Owner Operator   Toll Charges                   33487/651286 Carquinez Bridge             26
      6/13/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 241976 Trk 33487 Lease          434.2
      6/13/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/13/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                 8
      6/13/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.18
      6/13/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.24
      6/13/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.54
      6/13/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.57
      6/13/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
      6/13/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
      6/13/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/13/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      6/13/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      6/13/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.95
      6/13/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.38
      6/13/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.29
      6/13/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.43
      6/13/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.91
      6/13/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          347.1
      6/13/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
      6/13/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      6/13/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      6/13/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/13/2020    742   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      6/13/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/13/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/13/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.44
      6/13/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.66
      6/13/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
      6/13/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      6/13/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/13/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      6/13/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a                8
      6/13/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
      6/13/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      6/13/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      6/13/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                 8
      6/13/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/13/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          406.2
      6/13/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      6/13/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      6/13/2020    742   JB0465   Owner Operator   Toll Charges                   34804 ILTOLL Route 80 (West)             5.1
      6/13/2020    742   JB0465   Owner Operator   Toll Charges                   34804 ILTOLL South Beloit                6.4
      6/13/2020    742   JB0465   Owner Operator   Toll Charges                   34804 PTC Pocono                        42.8
      6/13/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      6/13/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      6/13/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           444
      6/13/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                       100
      6/13/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      6/13/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/13/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      6/13/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/13/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.25
      6/13/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.21
      6/13/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                       100
      6/13/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   JS0390   Owner Operator   Permits                        IL02:2020 - 34943                       3.75
      6/13/2020    742   JS0390   Owner Operator   Permits                        NM07:2020 - 34943                         11
      6/13/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      6/13/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/13/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      6/13/2020    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      6/13/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          161.2
      6/13/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.2

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      6/13/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.58
      6/13/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.14
      6/13/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.62
      6/13/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                        100
      6/13/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      6/13/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      6/13/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      6/13/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      6/13/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/13/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/13/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.75
      6/13/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.24
      6/13/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.03
      6/13/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.96
      6/13/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                        100
      6/13/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      6/13/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      6/13/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      6/13/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      6/13/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.56
      6/13/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      6/13/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      6/13/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/13/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      6/13/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/13/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      6/13/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      6/13/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          155.1
      6/13/2020    843   EI0003   Owner Operator   ESCROW                         Final Balance Refund                   -3000
      6/20/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      6/20/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148                8
      6/20/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          346.9
      6/20/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.15
      6/20/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.72
      6/20/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.08
      6/20/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                       100
      6/20/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      6/20/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 242349 Q13148 Trac Leas        296.09
      6/20/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      6/20/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                 8
      6/20/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.59
      6/20/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.01
      6/20/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.29
      6/20/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                        100
      6/20/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      6/20/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      6/20/2020    709   AN0007   Owner Operator   Toll Charges                   32781 TOLLROAD Exit 1190               26.48
      6/20/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 242299 truck 32781 Leas        225.29
      6/20/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      6/20/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147                8
      6/20/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.59
      6/20/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.76
      6/20/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.95
      6/20/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                            159
      6/20/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.97
      6/20/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.61
      6/20/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                       100
      6/20/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      6/20/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 242029 Baloon Q13147           357.62
      6/20/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 242211 Baloon Q13147           357.62
      6/20/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 242352 Baloon Q13147           357.62
      6/20/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      6/20/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      6/20/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                        100
      6/20/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      6/20/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5

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      6/20/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      6/20/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168                8
      6/20/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/20/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/20/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.23
      6/20/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.06
      6/20/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.03
      6/20/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      6/20/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 242277 Q13168 sub lease        352.68
      6/20/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/20/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      6/20/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      6/20/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      6/20/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/20/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      6/20/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      6/20/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      6/20/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                 8
      6/20/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                 8
      6/20/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/20/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          258.5
      6/20/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.34
      6/20/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.35
      6/20/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.57
      6/20/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
      6/20/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
      6/20/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      6/20/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      6/20/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 242126 Q1247 Sub Lease         263.91
      6/20/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 242293 Q1247 Sub Lease         263.91
      6/20/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      6/20/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                 8
      6/20/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/20/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.53
      6/20/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.5
      6/20/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.94
      6/20/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                       100
      6/20/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      6/20/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 242273 Lease Truck 3348        335.96
      6/20/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      6/20/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                 8
      6/20/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/20/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/20/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          416.3
      6/20/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.84
      6/20/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.08
      6/20/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
      6/20/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment         366.62
      6/20/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      6/20/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 242102 Baloon payoff           350.23
      6/20/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 242272 Baloon payoff           350.23
      6/20/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      6/20/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.88
      6/20/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.72
      6/20/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.92
      6/20/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                       100
      6/20/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      6/20/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      6/20/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      6/20/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                 8
      6/20/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.64
      6/20/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.36
      6/20/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                       100
      6/20/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7

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      6/20/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      6/20/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      6/20/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                 8
      6/20/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      6/20/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.46
      6/20/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      6/20/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      6/20/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      6/20/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/20/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/20/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.47
      6/20/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.86
      6/20/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                       100
      6/20/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      6/20/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/20/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      6/20/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/20/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/20/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.44
      6/20/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.96
      6/20/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      6/20/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      6/20/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      6/20/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      6/20/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                 8
      6/20/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           350
      6/20/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                       100
      6/20/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      6/20/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      6/20/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      6/20/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      6/20/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/20/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.77
      6/20/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
      6/20/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      6/20/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      6/20/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      6/20/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                 8
      6/20/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/20/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/20/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/20/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/20/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          341.6
      6/20/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.76
      6/20/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.16
      6/20/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                       100
      6/20/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      6/20/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 242179 truck lease 3304        434.29
      6/20/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 242331 truck lease 3304        434.29
      6/20/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/20/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      6/20/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                      100
      6/20/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      6/20/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/20/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      6/20/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                 8
      6/20/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.34
      6/20/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                       100
      6/20/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      6/20/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      6/20/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 242295 Q1200 Lease             238.16
      6/20/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      6/20/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      6/20/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.75

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      6/20/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.48
      6/20/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                       100
      6/20/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      6/20/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      6/20/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                 8
      6/20/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/20/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/20/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/20/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/20/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          116.9
      6/20/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.55
      6/20/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.01
      6/20/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.09
      6/20/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.14
      6/20/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                       100
      6/20/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      6/20/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 242135 Q1109 Lease             302.85
      6/20/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 242306 Q1109 Lease             302.85
      6/20/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      6/20/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170                8
      6/20/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.4
      6/20/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.25
      6/20/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                      100
      6/20/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      6/20/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 242133 Q13170                  352.68
      6/20/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 242305 Q13170                  352.68
      6/20/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      6/20/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                 8
      6/20/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/20/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.33
      6/20/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.62
      6/20/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                       100
      6/20/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      6/20/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/20/2020    709   HG0027   Owner Operator   Communication Charge           Safety Tech Hardware 33418                13
      6/20/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.91
      6/20/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.34
      6/20/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.01
      6/20/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.87
      6/20/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                       100
      6/20/2020    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         302.23
      6/20/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.15
      6/20/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/20/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                 8
      6/20/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      6/20/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.64
      6/20/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          456.4
      6/20/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.16
      6/20/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                       100
      6/20/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      6/20/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      6/20/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/20/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                 8
      6/20/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          286.1
      6/20/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.15
      6/20/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      6/20/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/20/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      6/20/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      6/20/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      6/20/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      6/20/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/20/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      6/20/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.28
      6/20/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.85
      6/20/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.42
      6/20/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                      100
      6/20/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      6/20/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 242306 Q13197 Lease            276.63
      6/20/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      6/20/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                 8
      6/20/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      6/20/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      6/20/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/20/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      6/20/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/20/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/20/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.07
      6/20/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.14
      6/20/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      6/20/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      6/20/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      6/20/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      6/20/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/20/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      6/20/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/20/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/20/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          440.4
      6/20/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.79
      6/20/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          140.9
      6/20/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      6/20/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
      6/20/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      6/20/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/20/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                 8
      6/20/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           373
      6/20/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
      6/20/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      6/20/2020    709   JQ0015   Owner Operator   Advance                        5/7/20 Clm 78658-1 s/u $250/wk         194.5
      6/20/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      6/20/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/20/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                 8
      6/20/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/20/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/20/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.45
      6/20/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.6
      6/20/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           86.5
      6/20/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100
      6/20/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      6/20/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
      6/20/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      6/20/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      6/20/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100
      6/20/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      6/20/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 242297 Balloon Payoff          234.05
      6/20/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      6/20/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      6/20/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159                8
      6/20/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/20/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/20/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.13
      6/20/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
      6/20/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5

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      6/20/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
      6/20/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 242125 Q13159 Lease             331.5
      6/20/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 242293 Q13159 Lease             331.5
      6/20/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/20/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      6/20/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      6/20/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/20/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/20/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/20/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/20/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/20/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/20/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             20
      6/20/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.02
      6/20/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.01
      6/20/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            156
      6/20/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            150
      6/20/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            127
      6/20/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      6/20/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      6/20/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/20/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      6/20/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      6/20/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                 8
      6/20/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.2
      6/20/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.59
      6/20/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          313.1
      6/20/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.48
      6/20/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.71
      6/20/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                        100
      6/20/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      6/20/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 242273 33483 Lease 208         335.48
      6/20/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      6/20/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                 8
      6/20/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                        100
      6/20/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      6/20/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 242274 Balloon Pay off         200.15
      6/20/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      6/20/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      6/20/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.35
      6/20/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                        100
      6/20/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      6/20/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/20/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                 8
      6/20/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.43
      6/20/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.24
      6/20/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                        100
      6/20/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      6/20/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      6/20/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                 8
      6/20/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            500
      6/20/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.07
      6/20/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.42
      6/20/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.14
      6/20/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.8
      6/20/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                        100
      6/20/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      6/20/2020    709   ME0053   Owner Operator   Broker Pre Pass                Q13199 PrePass Device                   12.5
      6/20/2020    709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 241683 Lease cancellati        866.21
      6/20/2020    709   ME0053   Owner Operator   ESCROW                         Final Balance Refund                   -3000
      6/20/2020    709   ME0053   Owner Operator   FUEL TAX                       February 2020 Fuel/Mileage Tax         202.5
      6/20/2020    709   ME0053   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         141.63
      6/20/2020    709   ME0053   Owner Operator   Tire Purchase                  Tire Inv.709-00000022                1777.99
      6/20/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      6/20/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                 8
      6/20/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.12
      6/20/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.11
      6/20/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                        100

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      6/20/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      6/20/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      6/20/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/20/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                 8
      6/20/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      6/20/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            150
      6/20/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      6/20/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.57
      6/20/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                       100
      6/20/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      6/20/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      6/20/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      6/20/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      6/20/2020    709   NB0029   Owner Operator   Communication Charge           Safety Tech Hardware 32986                13
      6/20/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/20/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/20/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/20/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/20/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.35
      6/20/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.64
      6/20/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                       100
      6/20/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      6/20/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      6/20/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      6/20/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      6/20/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 242125 32986 Lease             314.03
      6/20/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 242292 32986 Lease             314.03
      6/20/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      6/20/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      6/20/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/20/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.28
      6/20/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                      100
      6/20/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      6/20/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      6/20/2020    709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                 8
      6/20/2020    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                       100
      6/20/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      6/20/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/20/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                 8
      6/20/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.51
      6/20/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.77
      6/20/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.47
      6/20/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.99
      6/20/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      6/20/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
      6/20/2020    709   OJ0007   Owner Operator   Truck Payment                  CTMS - 242013 TRUCK RENTAL              500
      6/20/2020    709   OJ0007   Owner Operator   Truck Payment                  CTMS - 242171 TRUCK RENTAL              500
      6/20/2020    709   OJ0007   Owner Operator   Truck Payment                  CTMS - 242330 TRUCK RENTAL              500
      6/20/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      6/20/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                 8
      6/20/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/20/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.09
      6/20/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.94
      6/20/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                       100
      6/20/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      6/20/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 242101 Q1241 Truck leas        321.84
      6/20/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 242271 Q1241 Truck leas        321.84
      6/20/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      6/20/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                 8
      6/20/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.05
      6/20/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.26
      6/20/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      6/20/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5

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      6/20/2020    709   RC0030   Owner Operator   Repair Order                   CTMS - 242360 Citation sign of           -50
      6/20/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/20/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      6/20/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      6/20/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.79
      6/20/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      6/20/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      6/20/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/20/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/20/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      6/20/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/20/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/20/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.39
      6/20/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.89
      6/20/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.01
      6/20/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.22
      6/20/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      6/20/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      6/20/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      6/20/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      6/20/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                 8
      6/20/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      6/20/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.62
      6/20/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.19
      6/20/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      6/20/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      6/20/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      6/20/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      6/20/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      6/20/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      6/20/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      6/20/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.62
      6/20/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.62
      6/20/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                       100
      6/20/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      6/20/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      6/20/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      6/20/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.72
      6/20/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                       100
      6/20/2020    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         269.42
      6/20/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      6/20/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 242246 Q1202 Balloon           234.05
      6/20/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      6/20/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                 8
      6/20/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            140
      6/20/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/20/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/20/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      6/20/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.38
      6/20/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.08
      6/20/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.37
      6/20/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          341.9
      6/20/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.46
      6/20/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                       100
      6/20/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      6/20/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL Boughton Rd. (Mai           6.8
      6/20/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL Irving Park                 6.8
      6/20/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL Joliet Rd.                 2.55
      6/20/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL Meyers Rd.                  6.8
      6/20/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL Spring Creek               13.6
      6/20/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL Touhy Ave.                  8.5
      6/20/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 242273 33488 Lease $335        335.48
      6/20/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 242329 Past tractor ren          100
      6/20/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      6/20/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13

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      6/20/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                 13
      6/20/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      6/20/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      6/20/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/20/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/20/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      6/20/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      6/20/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           201.6
      6/20/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          127.32
      6/20/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.83
      6/20/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          219.87
      6/20/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          115.95
      6/20/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          138.54
      6/20/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                       33.64
      6/20/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/20/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   103.68
      6/20/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                     30.2
      6/20/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
      6/20/2020    709   SB0103   Owner Operator   Advance                        EFS 246638 s/u $350/wk                   350
      6/20/2020    709   SB0103   Owner Operator   Advance                        EFS 246638 s/u $350/wk               -1042.53
      6/20/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      6/20/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                  8
      6/20/2020    709   SB0103   Owner Operator   ESCROW                         Escrow Withdrawal                    -3461.04
      6/20/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      6/20/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          392.56
      6/20/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.21
      6/20/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                           233.9
      6/20/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.55
      6/20/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                        100
      6/20/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/20/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD              61.34
      6/20/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      6/20/2020    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        44.59
      6/20/2020    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  4458.98
      6/20/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      6/20/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                 13
      6/20/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/20/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      6/20/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.14
      6/20/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          118.85
      6/20/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          290.28
      6/20/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.56
      6/20/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/20/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    44.12
      6/20/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      6/20/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                  8
      6/20/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                              90
      6/20/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            162
      6/20/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            386
      6/20/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                        100
      6/20/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/20/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               38.5
      6/20/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    112.46
      6/20/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      6/20/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                  8
      6/20/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/20/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             150
      6/20/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.5
      6/20/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      6/20/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.13
      6/20/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.83
      6/20/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.38
      6/20/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                        100
      6/20/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/20/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    39.56
      6/20/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      6/20/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                 13
      6/20/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/20/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    57.75
      6/20/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      6/20/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      6/20/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      6/20/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                  8

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      6/20/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                 8
      6/20/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                 8
      6/20/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/20/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/20/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.44
      6/20/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.36
      6/20/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.64
      6/20/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                       100
      6/20/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                       100
      6/20/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      6/20/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      6/20/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 242040 TRUCK RENTAL            151.29
      6/20/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 242106 Q1238 Lease             311.97
      6/20/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 242277 Q1238 Lease             311.97
      6/20/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      6/20/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      6/20/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.67
      6/20/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.93
      6/20/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.33
      6/20/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.82
      6/20/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.48
      6/20/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                       100
      6/20/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      6/20/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      6/20/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      6/20/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                 8
      6/20/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                       100
      6/20/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      6/20/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/20/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      6/20/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           425
      6/20/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
      6/20/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      6/20/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      6/20/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/20/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63
      6/20/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      6/20/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                 8
      6/20/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/20/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/20/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.89
      6/20/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.52
      6/20/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.97
      6/20/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.87
      6/20/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
      6/20/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
      6/20/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      6/20/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 242134 Trk 33487 Lease          434.2
      6/20/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 242306 Trk 33487 Lease          434.2
      6/20/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/20/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                 8
      6/20/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.56
      6/20/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.69
      6/20/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
      6/20/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
      6/20/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/20/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      6/20/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      6/20/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.21
      6/20/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.02
      6/20/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.32
      6/20/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
      6/20/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      6/20/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      6/20/2020    742   ED0041   Owner Operator   Toll Charges                   32897 NTTA Beltline Rd. - DNT           1.52

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      6/20/2020    742   ED0041   Owner Operator   Toll Charges                   32897 NTTA North Lower Tarrant          2.04
      6/20/2020    742   ED0041   Owner Operator   Toll Charges                   32897 NTTA Northwest Hwy.               3.28
      6/20/2020    742   ED0041   Owner Operator   Toll Charges                   32897 NTTA Plaza 10 - Irving             2.4
      6/20/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/20/2020    742   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      6/20/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.42
      6/20/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.23
      6/20/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.16
      6/20/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.86
      6/20/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.72
      6/20/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.15
      6/20/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
      6/20/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      6/20/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/20/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      6/20/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a                8
      6/20/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
      6/20/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      6/20/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      6/20/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                 8
      6/20/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/20/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            120
      6/20/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
      6/20/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.61
      6/20/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.89
      6/20/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.15
      6/20/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.96
      6/20/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      6/20/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      6/20/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      6/20/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      6/20/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                       100
      6/20/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      6/20/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/20/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      6/20/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/20/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.13
      6/20/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.91
      6/20/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.53
      6/20/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                       100
      6/20/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      6/20/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/20/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      6/20/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      6/20/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      6/20/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      6/20/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/20/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/20/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      6/20/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      6/20/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      6/20/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      6/20/2020    742   MH0117   Owner Operator   Toll Charges                   34932 ILTOLL Waukegan                  12.75
      6/20/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      6/20/2020    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      6/20/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.16
      6/20/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.44
      6/20/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       100
      6/20/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      6/20/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      6/20/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      6/20/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/20/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/20/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/20/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/20/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.6

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      6/20/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.11
      6/20/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.34
      6/20/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.82
      6/20/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                       100
      6/20/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         149.18
      6/20/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      6/20/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      6/20/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      6/20/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.05
      6/20/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.22
      6/20/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           93.6
      6/20/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.88
      6/20/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.35
      6/20/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.88
      6/20/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          170.5
      6/20/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      6/20/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      6/20/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 242130 Balloon Payoff          335.75
      6/20/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 242297 Balloon Payoff          335.75
      6/20/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/20/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      6/20/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      6/20/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      6/20/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      6/20/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      6/20/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                 8
      6/20/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                 8
      6/20/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.39
      6/20/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.08
      6/20/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.04
      6/20/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.93
      6/20/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.74
      6/20/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.25
      6/20/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.73
      6/20/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.01
      6/20/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                       100
      6/20/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                       100
      6/20/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/20/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      6/20/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      6/20/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      6/20/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      6/20/2020    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Aurora                      6.8
      6/20/2020    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Boughton Rd. (Mai           5.1
      6/20/2020    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL DeKalb                    16.15
      6/20/2020    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Dixon                     16.15
      6/20/2020    742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Spring Creek               10.2
      6/20/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 242125 33489 Lease Paym        412.16
      6/20/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 242292 33489 Lease Paym        412.16
      6/27/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      6/27/2020    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      6/27/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148                8
      6/27/2020    709   AC0061   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            345.1
      6/27/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                      100
      6/27/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            36.88
      6/27/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 242533 Q13148 Trac Leas        296.09
      6/27/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      6/27/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                 8
      6/27/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.07
      6/27/2020    709   AN0007   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            77.95
      6/27/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                       100
      6/27/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.05
      6/27/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      6/27/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 242479 truck 32781 Leas        225.29
      6/27/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      6/27/2020    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      6/27/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147                8

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      6/27/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           154
      6/27/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.35
      6/27/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.56
      6/27/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.95
      6/27/2020    709   AR0064   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            256.2
      6/27/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                      100
      6/27/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            36.07
      6/27/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    32.34
      6/27/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      6/27/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      6/27/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      6/27/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      6/27/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      6/27/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169                8
      6/27/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169                8
      6/27/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              40
      6/27/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      6/27/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.92
      6/27/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.56
      6/27/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.72
      6/27/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          167.4
      6/27/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.51
      6/27/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.25
      6/27/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.32
      6/27/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           50.1
      6/27/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           75.6
      6/27/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.06
      6/27/2020    709   AV0021   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           131.94
      6/27/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
      6/27/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
      6/27/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
      6/27/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      6/27/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      6/27/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            36.07
      6/27/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 242007 Q13169 Sublease         352.68
      6/27/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 242179 Q13169 Sublease         352.68
      6/27/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      6/27/2020    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      6/27/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      6/27/2020    709   BM0030   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax             1.71
      6/27/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                       100
      6/27/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      6/27/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      6/27/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      6/27/2020    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
      6/27/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168                8
      6/27/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/27/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/27/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.13
      6/27/2020    709   CC0134   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            59.96
      6/27/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            36.07
      6/27/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/27/2020    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      6/27/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      6/27/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/27/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.29
      6/27/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         562.34
      6/27/2020    709   CM0119   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            99.57
      6/27/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      6/27/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.04
      6/27/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/27/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      6/27/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      6/27/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                 8
      6/27/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      6/27/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.41
      6/27/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.28
      6/27/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.85
      6/27/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.95
      6/27/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.62
      6/27/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
      6/27/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.87
      6/27/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 242473 Q1247 Sub Lease         263.91
      6/27/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      6/27/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                 8
      6/27/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/27/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.91
      6/27/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.64
      6/27/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.87
      6/27/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.58
      6/27/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.21
      6/27/2020    709   CV0028   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            10.05
      6/27/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                       100
      6/27/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.17
      6/27/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/27/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/27/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Freightliner NTL            8.75
      6/27/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      6/27/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      6/27/2020    709   DL0029   Owner Operator   Broker Pre Pass                33850 PrePass Device                    12.5
      6/27/2020    709   DL0029   Owner Operator   Broker Pre Pass                Q13199 PrePass Device                   12.5
      6/27/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.04
      6/27/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.45
      6/27/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.28
      6/27/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.49
      6/27/2020    709   DL0029   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           109.28
      6/27/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                       100
      6/27/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                       100
      6/27/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - Q13199                      100
      6/27/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - Q13199                      100
      6/27/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
      6/27/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
      6/27/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   35.11
      6/27/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   35.11
      6/27/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Freightliner PD            24.04
      6/27/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.07
      6/27/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.04
      6/27/2020    709   DL0029   Owner Operator   Toll Charges                   Q13199 ILTOLL Army Trail Rd.             6.8
      6/27/2020    709   DL0029   Owner Operator   Toll Charges                   Q13199 ILTOLL Boughton Rd. (Ma           6.8
      6/27/2020    709   DL0029   Owner Operator   Toll Charges                   Q13199 ILTOLL Route 80 (East)            5.1
      6/27/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 242275 Q13199 Lease            193.11
      6/27/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 242454 Q13199 Lease            193.11
      6/27/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      6/27/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                 8
      6/27/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/27/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/27/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.96
      6/27/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.68
      6/27/2020    709   DL0107   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           243.15
      6/27/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
      6/27/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment         366.62
      6/27/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.45
      6/27/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 CTRMA Giles Lane Plaza L           4.8
      6/27/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 CTRMA Parmer Lane Plaza           2.36
      6/27/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      6/27/2020    709   DM0257   Owner Operator   Broker Pre Pass                34328 PrePass Device                    12.5
      6/27/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.91
      6/27/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.55
      6/27/2020    709   DM0257   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            400.4
      6/27/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                       100
      6/27/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.16

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      6/27/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      6/27/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      6/27/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                 8
      6/27/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      6/27/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      6/27/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.47
      6/27/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.49
      6/27/2020    709   DS0049   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax               -1
      6/27/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                       100
      6/27/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  114.69
      6/27/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      6/27/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      6/27/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                 8
      6/27/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      6/27/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.34
      6/27/2020    709   DS0225   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           -28.97
      6/27/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.09
      6/27/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      6/27/2020    709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                    12.5
      6/27/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      6/27/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      6/27/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      6/27/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.48
      6/27/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.97
      6/27/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.72
      6/27/2020    709   DS0288   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           218.75
      6/27/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                       100
      6/27/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.11
      6/27/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/27/2020    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
      6/27/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      6/27/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/27/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/27/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/27/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          414.1
      6/27/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.31
      6/27/2020    709   EA0003   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           123.88
      6/27/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      6/27/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      6/27/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      6/27/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      6/27/2020    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
      6/27/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                 8
      6/27/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           350
      6/27/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
      6/27/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      6/27/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.49
      6/27/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                       100
      6/27/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.11
      6/27/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      6/27/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      6/27/2020    709   EO0014   Owner Operator   Broker Pre Pass                33846 PrePass Device                    12.5
      6/27/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      6/27/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/27/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/27/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/27/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/27/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.99
      6/27/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.61
      6/27/2020    709   EO0014   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           258.49
      6/27/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
      6/27/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 80.2
      6/27/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      6/27/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75

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      6/27/2020    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                  12.5
      6/27/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040               8
      6/27/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                          100
      6/27/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      6/27/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       357.66
      6/27/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       202.46
      6/27/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                       311.13
      6/27/2020    709   FS0039   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax          73.18
      6/27/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                     100
      6/27/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD           78.91
      6/27/2020    709   FS0039   Owner Operator   T Chek Fee                     ExpressCheck Fee                     16.17
      6/27/2020    709   FS0039   Owner Operator   T Chek Fee                     Tractor Repair 33040               1617.19
      6/27/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                 8.75
      6/27/2020    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                 12.5
      6/27/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B             13
      6/27/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/27/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        18.95
      6/27/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                       396.42
      6/27/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.1
      6/27/2020    709   FV0001   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax         115.57
      6/27/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                    100
      6/27/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                 40.09
      6/27/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                 8.75
      6/27/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL           8.75
      6/27/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                       156.06
      6/27/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                     100
      6/27/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 24.04
      6/27/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD           29.67
      6/27/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL           8.75
      6/27/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110              13
      6/27/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        309.3
      6/27/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                     100
      6/27/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD           40.09
      6/27/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL           8.75
      6/27/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109               8
      6/27/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                          200
      6/27/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      6/27/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                       107.48
      6/27/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                       315.75
      6/27/2020    709   GW0043   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax          14.24
      6/27/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                     100
      6/27/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD           45.09
      6/27/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 242486 Q1109 Lease           302.85
      6/27/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL          8.75
      6/27/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170              8
      6/27/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       355.48
      6/27/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                       271.71
      6/27/2020    709   HC0023   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax          36.37
      6/27/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                    100
      6/27/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD          36.07
      6/27/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 242485 Q13170                352.68
      6/27/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                     8.75
      6/27/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565               8
      6/27/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       423.64
      6/27/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        79.95
      6/27/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                       520.49
      6/27/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                     100
      6/27/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      6/27/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                    100.64
      6/27/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                    8.75
      6/27/2020    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                  12.5
      6/27/2020    709   HG0027   Owner Operator   Communication Charge           Safety Tech Hardware 33418              13
      6/27/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       399.75
      6/27/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       388.36
      6/27/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                       349.76
      6/27/2020    709   HG0027   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           19.7

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      6/27/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                        100
      6/27/2020    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         302.23
      6/27/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.13
      6/27/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/27/2020    709   IA0007   Owner Operator   Broker Pre Pass                34012 PrePass Device                    12.5
      6/27/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                 8
      6/27/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            150
      6/27/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.77
      6/27/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.34
      6/27/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.23
      6/27/2020    709   IA0007   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           -29.45
      6/27/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                        100
      6/27/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    52.7
      6/27/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.34
      6/27/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/27/2020    709   IR0002   Owner Operator   Broker Pre Pass                32901 PrePass Device                    12.5
      6/27/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                 8
      6/27/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.58
      6/27/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.48
      6/27/2020    709   IR0002   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           -44.27
      6/27/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.07
      6/27/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/27/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.96
      6/27/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      6/27/2020    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      6/27/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      6/27/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      6/27/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/27/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/27/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.86
      6/27/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.52
      6/27/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.93
      6/27/2020    709   JC0292   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            57.23
      6/27/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                       100
      6/27/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.11
      6/27/2020    709   JC0292   Owner Operator   Toll Charges                   Q13197 DelDOT Exit SLS                    11
      6/27/2020    709   JC0292   Owner Operator   Toll Charges                   Q13197 DelDOT Newark Plaza                 9
      6/27/2020    709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL Route 80 (East)            5.1
      6/27/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 242486 Q13197 Lease            276.63
      6/27/2020    709   JD0211   Owner Operator   Accident Claim                 06/17/20 JD0211 Incident                1000
      6/27/2020    709   JD0211   Owner Operator   Advance                        6/17/20 Clm 79111-1 s/u $200/w           250
      6/27/2020    709   JD0211   Owner Operator   Advance                        6/17/20 Clm 79111-1 s/u $200/w         -1000
      6/27/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      6/27/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                 8
      6/27/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      6/27/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      6/27/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/27/2020    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
      6/27/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      6/27/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/27/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             100
      6/27/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/27/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/27/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.27
      6/27/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.39
      6/27/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.66
      6/27/2020    709   JG0017   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           -11.36
      6/27/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      6/27/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      6/27/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      6/27/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      6/27/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/27/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13

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      6/27/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/27/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/27/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          419.1
      6/27/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.32
      6/27/2020    709   JG0072   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            567.3
      6/27/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      6/27/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   76.19
      6/27/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      6/27/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      6/27/2020    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                    12.5
      6/27/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                 8
      6/27/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.08
      6/27/2020    709   JG0092   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax             0.14
      6/27/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
      6/27/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      36.07
      6/27/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      6/27/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/27/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                 8
      6/27/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.44
      6/27/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100
      6/27/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.03
      6/27/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.02
      6/27/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      6/27/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      6/27/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.94
      6/27/2020    709   JR0099   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            89.34
      6/27/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100
      6/27/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.14
      6/27/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 242477 Balloon Payoff          234.05
      6/27/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      6/27/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      6/27/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159                8
      6/27/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      6/27/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/27/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.8
      6/27/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.68
      6/27/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.13
      6/27/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.69
      6/27/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.32
      6/27/2020    709   JS0265   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            70.76
      6/27/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
      6/27/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      6/27/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD             41.3
      6/27/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 242473 Q13159 Lease             331.5
      6/27/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/27/2020    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      6/27/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      6/27/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      6/27/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/27/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/27/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/27/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/27/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           133
      6/27/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           116
      6/27/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.99
      6/27/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.64
      6/27/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           234
      6/27/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             57
      6/27/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.01
      6/27/2020    709   KP0004   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           250.29
      6/27/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      6/27/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      6/27/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/27/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17

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      6/27/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL              8.75
      6/27/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                  8
      6/27/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.32
      6/27/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.47
      6/27/2020    709   KT0055   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax             48.52
      6/27/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                        100
      6/27/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/27/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD              56.13
      6/27/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
      6/27/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                  8
      6/27/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                        100
      6/27/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              40.09
      6/27/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 242453 Balloon Pay off          200.15
      6/27/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL              8.75
      6/27/2020    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                     12.5
      6/27/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                 13
      6/27/2020    709   LS0023   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            143.24
      6/27/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                        100
      6/27/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/27/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD              58.53
      6/27/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      6/27/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                  8
      6/27/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.01
      6/27/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.21
      6/27/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.54
      6/27/2020    709   MA0092   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            138.48
      6/27/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                        100
      6/27/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/27/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.77
      6/27/2020    709   MA0092   Owner Operator   Toll Charges                   34005 BATA Benicia                         26
      6/27/2020    709   MA0092   Owner Operator   Toll Charges                   34005 BATA Benicia                         26
      6/27/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
      6/27/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                  8
      6/27/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            500
      6/27/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.09
      6/27/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.91
      6/27/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.92
      6/27/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                        100
      6/27/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/27/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                       23.95
      6/27/2020    709   ME0053   Owner Operator   *Arrears Collection W/O        WO:CTMS - 241683 Lease cancell       -2569.18
      6/27/2020    709   ME0053   Owner Operator   Charge back by affiliate       CTMS - 241683 Lease cancellati        2569.18
      6/27/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      6/27/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                  8
      6/27/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           312.7
      6/27/2020    709   MG0067   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax             -9.87
      6/27/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                        100
      6/27/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/27/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.07
      6/27/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      6/27/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      6/27/2020    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                     12.5
      6/27/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                  8
      6/27/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            500
      6/27/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                               80
      6/27/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                               60
      6/27/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.6
      6/27/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.8
      6/27/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          375.48
      6/27/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          328.81
      6/27/2020    709   MP0035   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax             28.11
      6/27/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                        100
      6/27/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/27/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       52.12
      6/27/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      6/27/2020    709   NB0029   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            409.31
      6/27/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
      6/27/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B                13
      6/27/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           45.15
      6/27/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.38
      6/27/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                       100
      6/27/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      6/27/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 33.71

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      6/27/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      6/27/2020    709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                 8
      6/27/2020    709   NT9564   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           141.09
      6/27/2020    709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                       100
      6/27/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      6/27/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      6/27/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                 8
      6/27/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.84
      6/27/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.66
      6/27/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.98
      6/27/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      6/27/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.05
      6/27/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      6/27/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                 8
      6/27/2020    709   RB0170   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/27/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.81
      6/27/2020    709   RB0170   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           140.25
      6/27/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                       100
      6/27/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.09
      6/27/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 242450 Q1241 Truck leas        321.84
      6/27/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      6/27/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                 8
      6/27/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.11
      6/27/2020    709   RC0030   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax             6.42
      6/27/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      6/27/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      6/27/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/27/2020    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      6/27/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      6/27/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      6/27/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.08
      6/27/2020    709   RL0017   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            -6.83
      6/27/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      6/27/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.26
      6/27/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      6/27/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      6/27/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      6/27/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/27/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/27/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.52
      6/27/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.59
      6/27/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.97
      6/27/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.24
      6/27/2020    709   RL0062   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           419.74
      6/27/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      6/27/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.62
      6/27/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      6/27/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      6/27/2020    709   RL0180   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
      6/27/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                 8
      6/27/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      6/27/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          124.8
      6/27/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.37
      6/27/2020    709   RL0180   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            32.27
      6/27/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      6/27/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    52.7
      6/27/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      6/27/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      6/27/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.46
      6/27/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      6/27/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      6/27/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.55
      6/27/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.73
      6/27/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.17

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      6/27/2020    709   RM0026   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           268.16
      6/27/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                        100
      6/27/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.06
      6/27/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      6/27/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      6/27/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.79
      6/27/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                        100
      6/27/2020    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         269.42
      6/27/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.14
      6/27/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 242418 Q1202 Balloon           234.05
      6/27/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.13
      6/27/2020    709   SB0103   Owner Operator   Advance                        EFS 246638 s/u $350/wk                   350
      6/27/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      6/27/2020    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
      6/27/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                 8
      6/27/2020    709   SB0103   Owner Operator   ESCROW                         Escrow Withdrawal                       -100
      6/27/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      6/27/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.73
      6/27/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.71
      6/27/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.74
      6/27/2020    709   SB0103   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           358.91
      6/27/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                        100
      6/27/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.31
      6/27/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      6/27/2020    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        9.71
      6/27/2020    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                         7.6
      6/27/2020    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  759.84
      6/27/2020    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                     971
      6/27/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 242275 3303Truck Lease         133.15
      6/27/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 242454 3303Truck Lease         133.15
      6/27/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      6/27/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      6/27/2020    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      6/27/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      6/27/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      6/27/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.31
      6/27/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            392
      6/27/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            322
      6/27/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            192
      6/27/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            345
      6/27/2020    709   SM0109   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           130.31
      6/27/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      6/27/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      6/27/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
      6/27/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
      6/27/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      6/27/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             76.19
      6/27/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      6/27/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      6/27/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      6/27/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      6/27/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             200
      6/27/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.85
      6/27/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          227.7
      6/27/2020    709   SN0019   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           106.12
      6/27/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    44.1
      6/27/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      6/27/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                 8
      6/27/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            393
      6/27/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.01
      6/27/2020    709   VB0015   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            41.67
      6/27/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                        100
      6/27/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      6/27/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   112.46
      6/27/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75

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      6/27/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                 8
      6/27/2020    709   VJ0006   Owner Operator   ESCROW                         Escrow Withdrawal                     -99.26
      6/27/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/27/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.9
      6/27/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.97
      6/27/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.89
      6/27/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.72
      6/27/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                             21
      6/27/2020    709   VJ0006   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           123.09
      6/27/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                       100
      6/27/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      6/27/2020    709   VJ0006   Owner Operator   T Chek Fee                     ExpressCheck Fee                        8.97
      6/27/2020    709   VJ0006   Owner Operator   T Chek Fee                     Tractor Repair 33961                  896.68
      6/27/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      6/27/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      6/27/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      6/27/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      6/27/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      6/27/2020    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      6/27/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                 8
      6/27/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/27/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/27/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/27/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.62
      6/27/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.72
      6/27/2020    709   WH0087   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           227.91
      6/27/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                       100
      6/27/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      6/27/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      6/27/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      6/27/2020    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      6/27/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      6/27/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      6/27/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/27/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/27/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/27/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/27/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.45
      6/27/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.74
      6/27/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.84
      6/27/2020    742   AP0047   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            78.34
      6/27/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      6/27/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      6/27/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      6/27/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      6/27/2020    742   AP0047   Owner Operator   Toll Charges                   32604 BATA Carquinez Bridge               26
      6/27/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      6/27/2020    742   BS0078   Owner Operator   Broker Pre Pass                34900 PrePass Device                    12.5
      6/27/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      6/27/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.23
      6/27/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.44
      6/27/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.59
      6/27/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           6.09
      6/27/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.42
      6/27/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.46
      6/27/2020    742   BS0078   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           127.97
      6/27/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                       100
      6/27/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  113.48
      6/27/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      6/27/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      6/27/2020    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      6/27/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                 8
      6/27/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.05
      6/27/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.43
      6/27/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                       100

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      6/27/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.18
      6/27/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      6/27/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      6/27/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.12
      6/27/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.26
      6/27/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.21
      6/27/2020    742   DC0117   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           187.45
      6/27/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                       100
      6/27/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                       100
      6/27/2020    742   DC0117   Owner Operator   Toll Charges                   34063 BATA Carquinez Bridge               26
      6/27/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.61
      6/27/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      6/27/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                 8
      6/27/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      6/27/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      6/27/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          342.4
      6/27/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          434.1
      6/27/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.64
      6/27/2020    742   DS0254   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           375.48
      6/27/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
      6/27/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.66
      6/27/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      6/27/2020    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Turner Turnpike West         18.05
      6/27/2020    742   DS0254   Owner Operator   Toll Charges                   33487 OTA Will Rogers Turnpike         18.05
      6/27/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 242486 Trk 33487 Lease          434.2
      6/27/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      6/27/2020    742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                    12.5
      6/27/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                 8
      6/27/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.47
      6/27/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.14
      6/27/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
      6/27/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.04
      6/27/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      6/27/2020    742   EA0039   Owner Operator   Toll Charges                   33993 BATA Carquinez Bridge               26
      6/27/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      6/27/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      6/27/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.33
      6/27/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.57
      6/27/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.8
      6/27/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.84
      6/27/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.44
      6/27/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.36
      6/27/2020    742   ED0041   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           112.06
      6/27/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
      6/27/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.05
      6/27/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      6/27/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      6/27/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a                8
      6/27/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.13
      6/27/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      6/27/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      6/27/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                 8
      6/27/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      6/27/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            120
      6/27/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.2
      6/27/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.91
      6/27/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.31
      6/27/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.14
      6/27/2020    742   JB0465   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           385.97
      6/27/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.04
      6/27/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      6/27/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      6/27/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      6/27/2020    742   JH0148   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           637.26
      6/27/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                       100
      6/27/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.04
      6/27/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                          163.02

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      6/27/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.85
      6/27/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      6/27/2020    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      6/27/2020    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      6/27/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance                            100
      6/27/2020    742   NG0024   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      6/27/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.29
      6/27/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.02
      6/27/2020    742   NG0024   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            37.78
      6/27/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       100
      6/27/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.46
      6/27/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      6/27/2020    742   NG0024   Owner Operator   Toll Charges                   33252 ILTOLL Route 80 (East)             5.1
      6/27/2020    742   NG0024   Owner Operator   Toll Charges                   33252 ILTOLL Route 80 (West)             5.1
      6/27/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      6/27/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      6/27/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      6/27/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.89
      6/27/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.49
      6/27/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.53
      6/27/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.56
      6/27/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.16
      6/27/2020    742   RF0136   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           135.19
      6/27/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                       100
      6/27/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         108.77
      6/27/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      6/27/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.52
      6/27/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      6/27/2020    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      6/27/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      6/27/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.41
      6/27/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.29
      6/27/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.32
      6/27/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.65
      6/27/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.85
      6/27/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.56
      6/27/2020    742   RN0054   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           129.41
      6/27/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            36.07
      6/27/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      6/27/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 242477 Balloon Payoff          335.75
      6/27/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      6/27/2020    742   SK0049   Owner Operator   Broker Pre Pass                33934 PrePass Device                    12.5
      6/27/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      6/27/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.14
      6/27/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      6/27/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      6/27/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                 8
      6/27/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          115.2
      6/27/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.2
      6/27/2020    742   TC0098   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            96.05
      6/27/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                       100
      6/27/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      6/27/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      6/27/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       7/4/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       7/4/2020    709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
       7/4/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148                8
       7/4/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.42
       7/4/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                      100
       7/4/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
       7/4/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
       7/4/2020    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK32781                      9.84
       7/4/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                 8
       7/4/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.84
       7/4/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                       100
       7/4/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
       7/4/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5

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       7/4/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 242628 truck 32781 Leas        225.29
       7/4/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       7/4/2020    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                    18.65
       7/4/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147                8
       7/4/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.54
       7/4/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.78
       7/4/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           128
       7/4/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.96
       7/4/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.82
       7/4/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                      100
       7/4/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
       7/4/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 242535 Baloon Q13147           357.62
       7/4/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 242586 TRUCK RENTAL              500
       7/4/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
       7/4/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    11.97
       7/4/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       7/4/2020    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                    18.65
       7/4/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169                8
       7/4/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169                8
       7/4/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.73
       7/4/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
       7/4/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.38
       7/4/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           78.1
       7/4/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.67
       7/4/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.72
       7/4/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.47
       7/4/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
       7/4/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
       7/4/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 242331 Q13169 Sublease         352.68
       7/4/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 242512 Q13169 Sublease         352.68
       7/4/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 242657 Q13169 Sublease         352.68
       7/4/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       7/4/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          43.69
       7/4/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       7/4/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168                8
       7/4/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/4/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/4/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.14
       7/4/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.25
       7/4/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.58
       7/4/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.61
       7/4/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
       7/4/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 242456 Q13168 sub lease        352.68
       7/4/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 242606 Q13168 sub lease        352.68
       7/4/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                     18.65
       7/4/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
       7/4/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          461.7
       7/4/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
       7/4/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
       7/4/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/4/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
       7/4/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       7/4/2020    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
       7/4/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                 8
       7/4/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.87
       7/4/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.01
       7/4/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.53
       7/4/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
       7/4/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89

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       7/4/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 242622 Q1247 Sub Lease          263.91
       7/4/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL              8.75
       7/4/2020    709   CV0028   Owner Operator   Broker Pre Pass                DriveWyze TRK33482                       9.84
       7/4/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                  8
       7/4/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                              50
       7/4/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                           288.8
       7/4/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.21
       7/4/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.76
       7/4/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                        100
       7/4/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/4/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD              68.18
       7/4/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 242452 Lease Truck 3348         335.96
       7/4/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 242602 Lease Truck 3348         335.96
       7/4/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
       7/4/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL                8.75
       7/4/2020    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13199                      9.84
       7/4/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          270.86
       7/4/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          212.17
       7/4/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           221.1
       7/4/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.44
       7/4/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          170.76
       7/4/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                        100
       7/4/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - Q13199                       100
       7/4/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment          258.52
       7/4/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/4/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    35.11
       7/4/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                24.07
       7/4/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 242604 Q13199 Lease             193.11
       7/4/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
       7/4/2020    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      18.65
       7/4/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                  8
       7/4/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
       7/4/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
       7/4/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           82.22
       7/4/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          479.28
       7/4/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          531.48
       7/4/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                        100
       7/4/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment          366.62
       7/4/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/4/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 67.46
       7/4/2020    709   DL0107   Owner Operator   T Chek Fee                     Cancelled/Expired EFS                -2335.19
       7/4/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 HCTRA Hardy North - Barr              7
       7/4/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 HCTRA Hardy North - Rank              4
       7/4/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 HCTRA Hardy North - Rank              2
       7/4/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 HCTRA Hardy South - Barr              7
       7/4/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 HCTRA Sam Houston - NE M              7
       7/4/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 HCTRA Sam Houston - NE M              7
       7/4/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 HCTRA Ship Channel Bridg            1.5
       7/4/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 HCTRA Ship Channel Bridg            3.5
       7/4/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 TXTAG Champions Forest M           5.24
       7/4/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 TXTAG Cumberland ML NB             5.92
       7/4/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 TXTAG Mossy Oaks ML                4.84
       7/4/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 TXTAG North - Hardy ML E           1.88
       7/4/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 TXTAG Old Boudreaux ML E           4.16
       7/4/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 242451 Baloon payoff            350.23
       7/4/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 242601 Baloon payoff            350.23
       7/4/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
       7/4/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          125.77
       7/4/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.24
       7/4/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.64
       7/4/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          181.86
       7/4/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                           49.56
       7/4/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          118.38
       7/4/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                        100
       7/4/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       7/4/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    19.17
       7/4/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
       7/4/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
       7/4/2020    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                       9.84
       7/4/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                  8
       7/4/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           1000
       7/4/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          464.76
       7/4/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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       7/4/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
       7/4/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       7/4/2020    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
       7/4/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
       7/4/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/4/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/4/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.93
       7/4/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.16
       7/4/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          270.6
       7/4/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.57
       7/4/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                       100
       7/4/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
       7/4/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
       7/4/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       7/4/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         504.05
       7/4/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          76.52
       7/4/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           305
       7/4/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
       7/4/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
       7/4/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
       7/4/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       7/4/2020    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                     18.65
       7/4/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                 8
       7/4/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           350
       7/4/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            500
       7/4/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       7/4/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         585.76
       7/4/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                       100
       7/4/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
       7/4/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       7/4/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       7/4/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
       7/4/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
       7/4/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/4/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/4/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.31
       7/4/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.64
       7/4/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
       7/4/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
       7/4/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       7/4/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       7/4/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                 8
       7/4/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/4/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/4/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.95
       7/4/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          402.5
       7/4/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                       100
       7/4/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
       7/4/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 242512 truck lease 3304        434.29
       7/4/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 242657 truck lease 3304        434.29
       7/4/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       7/4/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
       7/4/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.06
       7/4/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.37
       7/4/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.13
       7/4/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                      100
       7/4/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
       7/4/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       7/4/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
       7/4/2020    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1200                     18.65
       7/4/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                 8
       7/4/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                 8

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       7/4/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                           500
       7/4/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
       7/4/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         16.92
       7/4/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                        331.07
       7/4/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                      100
       7/4/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/4/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  24.07
       7/4/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD            29.68
       7/4/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 242474 Q1200 Lease            238.16
       7/4/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 242623 Q1200 Lease            238.16
       7/4/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL            8.75
       7/4/2020    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                    18.65
       7/4/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110               13
       7/4/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        268.62
       7/4/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                      100
       7/4/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/4/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD            40.11
       7/4/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL            8.75
       7/4/2020    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                    18.65
       7/4/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                8
       7/4/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                           200
       7/4/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                           200
       7/4/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       7/4/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       7/4/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        110.58
       7/4/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          269
       7/4/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                        240.04
       7/4/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                      100
       7/4/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/4/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD            45.09
       7/4/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 242635 Q1109 Lease            302.85
       7/4/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL           8.75
       7/4/2020    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                    9.84
       7/4/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               8
       7/4/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        276.73
       7/4/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        361.13
       7/4/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                     100
       7/4/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/4/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            36.1
       7/4/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 242633 Q13170                 352.68
       7/4/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                      8.75
       7/4/2020    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                     9.84
       7/4/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                8
       7/4/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                           200
       7/4/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       7/4/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        396.89
       7/4/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        573.68
       7/4/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                      100
       7/4/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/4/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                     100.67
       7/4/2020    709   HG0007   Owner Operator   Toll Charges                   34565 BATA Bay Bridge                    26
       7/4/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                     8.75
       7/4/2020    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                     9.84
       7/4/2020    709   HG0027   Owner Operator   Communication Charge           Safety Tech Hardware 33418               13
       7/4/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        365.34
       7/4/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        213.15
       7/4/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        362.62
       7/4/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        191.09
       7/4/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                        215.61
       7/4/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                      100
       7/4/2020    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment        302.23
       7/4/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       7/4/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                     56.15
       7/4/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                  8.75
       7/4/2020    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                     9.84
       7/4/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                8
       7/4/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                          150
       7/4/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         64.93
       7/4/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        218.05
       7/4/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        299.49
       7/4/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                        320.71
       7/4/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         98.44
       7/4/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                      100

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       7/4/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
       7/4/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
       7/4/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                 8
       7/4/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.45
       7/4/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
       7/4/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/4/2020    709   JA0152   Owner Operator   Broker Pay Void/Reissue        Vd Statement Only                      -74.4
       7/4/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
       7/4/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       7/4/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
       7/4/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       7/4/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.23
       7/4/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.68
       7/4/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                      100
       7/4/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
       7/4/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 242634 Q13197 Lease            276.63
       7/4/2020    709   JD0211   Owner Operator   Advance                        6/17/20 Clm 79111-1 s/u $200/w          250
       7/4/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       7/4/2020    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                     18.65
       7/4/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                 8
       7/4/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
       7/4/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       7/4/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                     18.65
       7/4/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
       7/4/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
       7/4/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       7/4/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.05
       7/4/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.44
       7/4/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
       7/4/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
       7/4/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
       7/4/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
       7/4/2020    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       7/4/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                      9.84
       7/4/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
       7/4/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          382.9
       7/4/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.85
       7/4/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
       7/4/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
       7/4/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
       7/4/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       7/4/2020    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                     17.62
       7/4/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                 8
       7/4/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.81
       7/4/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
       7/4/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
       7/4/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       7/4/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       7/4/2020    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK34637                      9.84
       7/4/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                 8
       7/4/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/4/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/4/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          115.9
       7/4/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.25
       7/4/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100

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       7/4/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
       7/4/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
       7/4/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       7/4/2020    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                     18.65
       7/4/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
       7/4/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100
       7/4/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
       7/4/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 242626 Balloon Payoff          234.05
       7/4/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       7/4/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       7/4/2020    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                     9.84
       7/4/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159                8
       7/4/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       7/4/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.45
       7/4/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.25
       7/4/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
       7/4/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
       7/4/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
       7/4/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 242622 Q13159 Lease             331.5
       7/4/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
       7/4/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       7/4/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/4/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/4/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/4/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/4/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.01
       7/4/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.02
       7/4/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.01
       7/4/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.5
       7/4/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
       7/4/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
       7/4/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/4/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
       7/4/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
       7/4/2020    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRK33483                      9.84
       7/4/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                 8
       7/4/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.97
       7/4/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.19
       7/4/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                       100
       7/4/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
       7/4/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 242452 33483 Lease 208         335.48
       7/4/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 242602 33483 Lease 208         335.48
       7/4/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       7/4/2020    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
       7/4/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                 8
       7/4/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                       100
       7/4/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
       7/4/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 242602 Balloon Pay off         200.15
       7/4/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       7/4/2020    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
       7/4/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                 8
       7/4/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.65
       7/4/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.17
       7/4/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                       100
       7/4/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
       7/4/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       7/4/2020    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
       7/4/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                 8
       7/4/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           500
       7/4/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.97
       7/4/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.94
       7/4/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.48
       7/4/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.01
       7/4/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.19
       7/4/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                       100
       7/4/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       7/4/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
       7/4/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       7/4/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                 8
       7/4/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.78
       7/4/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                       100
       7/4/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
       7/4/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       7/4/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       7/4/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                 8
       7/4/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
       7/4/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            130
       7/4/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.3
       7/4/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.08
       7/4/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                       100
       7/4/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
       7/4/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       7/4/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       7/4/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       7/4/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       7/4/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       7/4/2020    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
       7/4/2020    709   NB0029   Owner Operator   Communication Charge           Safety Tech Hardware 32986                13
       7/4/2020    709   NB0029   Owner Operator   Communication Charge           Safety Tech Hardware 32986                13
       7/4/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
       7/4/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           9.79
       7/4/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          377.6
       7/4/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.55
       7/4/2020    709   NB0029   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           765.74
       7/4/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                       100
       7/4/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                       100
       7/4/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              36.07
       7/4/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
       7/4/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       7/4/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       7/4/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
       7/4/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
       7/4/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       7/4/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       7/4/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 242472 32986 Lease             314.03
       7/4/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 242621 32986 Lease             314.03
       7/4/2020    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       7/4/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       7/4/2020    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
       7/4/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
       7/4/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.38
       7/4/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.42
       7/4/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                      100
       7/4/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
       7/4/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       7/4/2020    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
       7/4/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                 8
       7/4/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.03
       7/4/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.22
       7/4/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
       7/4/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
       7/4/2020    709   OJ0007   Owner Operator   Truck Payment                  CTMS - 242511 TRUCK RENTAL              500
       7/4/2020    709   OJ0007   Owner Operator   Truck Payment                  CTMS - 242657 TRUCK RENTAL              500
       7/4/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       7/4/2020    709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
       7/4/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                 8
       7/4/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
       7/4/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
       7/4/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
       7/4/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
       7/4/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.69

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       7/4/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.95
       7/4/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.96
       7/4/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.46
       7/4/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.3
       7/4/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                       100
       7/4/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
       7/4/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 242600 Q1241 Truck leas        321.84
       7/4/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       7/4/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                 8
       7/4/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.78
       7/4/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.89
       7/4/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
       7/4/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       7/4/2020    709   RC0030   Owner Operator   Repair Order                   CTMS - 242586 PARTS ONLY                39.8
       7/4/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
       7/4/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
       7/4/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.03
       7/4/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
       7/4/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
       7/4/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/4/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
       7/4/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          440.7
       7/4/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
       7/4/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
       7/4/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
       7/4/2020    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       7/4/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       7/4/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                 8
       7/4/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
       7/4/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.46
       7/4/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.35
       7/4/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
       7/4/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
       7/4/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       7/4/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       7/4/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
       7/4/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       7/4/2020    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
       7/4/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
       7/4/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.88
       7/4/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                       100
       7/4/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
       7/4/2020    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       7/4/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       7/4/2020    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                     18.65
       7/4/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
       7/4/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.04
       7/4/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                       100
       7/4/2020    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         269.42
       7/4/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
       7/4/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 242575 Q1202 Balloon           234.05
       7/4/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
       7/4/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
       7/4/2020    709   RR0123   Owner Operator   Broker Pre Pass                33488 PrePass Device                    12.5
       7/4/2020    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRK33488                      9.84
       7/4/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                 8
       7/4/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                 8
       7/4/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/4/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/4/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.96
       7/4/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.65
       7/4/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.2

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       7/4/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.08
       7/4/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.47
       7/4/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.49
       7/4/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.34
       7/4/2020    709   RR0123   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            55.75
       7/4/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                       100
       7/4/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                       100
       7/4/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
       7/4/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.13
       7/4/2020    709   RR0123   Owner Operator   Toll Charges                   33488 OTA Turner Turnpike West         18.05
       7/4/2020    709   RR0123   Owner Operator   Toll Charges                   33488 OTA Will Rogers Turnpike         18.05
       7/4/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 242452 33488 Lease $335        335.48
       7/4/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 242510 Past tractor ren          100
       7/4/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 242602 33488 Lease $335        335.48
       7/4/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 242656 Past tractor ren          100
       7/4/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       7/4/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       7/4/2020    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
       7/4/2020    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                     18.65
       7/4/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
       7/4/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
       7/4/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/4/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/4/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.14
       7/4/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.04
       7/4/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          41.51
       7/4/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.91
       7/4/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           33.9
       7/4/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.94
       7/4/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.66
       7/4/2020    709   SB0009   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           224.76
       7/4/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
       7/4/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
       7/4/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
       7/4/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.65
       7/4/2020    709   SB0009   Owner Operator   Toll Charges                   33236 E470 PLAZA C                      17.2
       7/4/2020    709   SB0009   Owner Operator   Toll Charges                   33236 E470 PLAZA D                      18.6
       7/4/2020    709   SB0009   Owner Operator   Toll Charges                   33236 E470 PLAZA E                      18.6
       7/4/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       7/4/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       7/4/2020    709   SB0103   Owner Operator   Advance                        EFS 246638 s/u $350/wk                342.53
       7/4/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       7/4/2020    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
       7/4/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                 8
       7/4/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
       7/4/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.09
       7/4/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.52
       7/4/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.54
       7/4/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.96
       7/4/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                       100
       7/4/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
       7/4/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       7/4/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 242604 3303Truck Lease         133.15
       7/4/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       7/4/2020    709   SM0109   Owner Operator   Broker Pre Pass                DriveWyze TRK33195                      9.84
       7/4/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
       7/4/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           196
       7/4/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           260
       7/4/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.32
       7/4/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           160
       7/4/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
       7/4/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
       7/4/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
       7/4/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       7/4/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       7/4/2020    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.84
       7/4/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13

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       7/4/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/4/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/4/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                           233
       7/4/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.88
       7/4/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
       7/4/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       7/4/2020    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                     18.65
       7/4/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                 8
       7/4/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           368
       7/4/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                       100
       7/4/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
       7/4/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          146.2
       7/4/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.6
       7/4/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.17
       7/4/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       7/4/2020    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
       7/4/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
       7/4/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
       7/4/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       7/4/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       7/4/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                 8
       7/4/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/4/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/4/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.13
       7/4/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           220
       7/4/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          63.85
       7/4/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.51
       7/4/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.15
       7/4/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                       100
       7/4/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
       7/4/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 242456 Q1238 Lease             311.97
       7/4/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 242606 Q1238 Lease             311.97
       7/4/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       7/4/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
       7/4/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/4/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/4/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.88
       7/4/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.24
       7/4/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
       7/4/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       7/4/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
       7/4/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
       7/4/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.75
       7/4/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.09
       7/4/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.9
       7/4/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                       100
       7/4/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
       7/4/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
       7/4/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       7/4/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                 8
       7/4/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.34
       7/4/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.48
       7/4/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.63
       7/4/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                       100
       7/4/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
       7/4/2020    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14
       7/4/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
       7/4/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
       7/4/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
       7/4/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           192

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       7/4/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.02
       7/4/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             85
       7/4/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           205
       7/4/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.45
       7/4/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          63.95
       7/4/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.55
       7/4/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.01
       7/4/2020    742   DA0067   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           244.87
       7/4/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
       7/4/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
       7/4/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
       7/4/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
       7/4/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.18
       7/4/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
       7/4/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/4/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/4/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63
       7/4/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       7/4/2020    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
       7/4/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                 8
       7/4/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.43
       7/4/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.87
       7/4/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
       7/4/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
       7/4/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       7/4/2020    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL 163rd St.                   6.8
       7/4/2020    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Irving Park                 6.8
       7/4/2020    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Waukegan                  12.75
       7/4/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 242635 Trk 33487 Lease          434.2
       7/4/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       7/4/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                 8
       7/4/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.87
       7/4/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.16
       7/4/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
       7/4/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
       7/4/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       7/4/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       7/4/2020    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
       7/4/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
       7/4/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.56
       7/4/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.02
       7/4/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
       7/4/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
       7/4/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       7/4/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
       7/4/2020    742   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
       7/4/2020    742   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
       7/4/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
       7/4/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.6
       7/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.78
       7/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.95
       7/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.34
       7/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.73
       7/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.19
       7/4/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.46
       7/4/2020    742   EN0016   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax           197.08
       7/4/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
       7/4/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
       7/4/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
       7/4/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
       7/4/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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       7/4/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/4/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       7/4/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a                8
       7/4/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
       7/4/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       7/4/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
       7/4/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                 8
       7/4/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/4/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/4/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/4/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.95
       7/4/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.75
       7/4/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.55
       7/4/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.73
       7/4/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
       7/4/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
       7/4/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       7/4/2020    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
       7/4/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
       7/4/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                       100
       7/4/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
       7/4/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
       7/4/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
       7/4/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/4/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/4/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                           36.98
       7/4/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       7/4/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.66
       7/4/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.62
       7/4/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.69
       7/4/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.82
       7/4/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                       100
       7/4/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                       100
       7/4/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   JS0390   Owner Operator   Permits                        NY13:2020 - 34943                        1.5
       7/4/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
       7/4/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.14
       7/4/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/4/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       7/4/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
       7/4/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
       7/4/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
       7/4/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
       7/4/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/4/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       7/4/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                   60.1
       7/4/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
       7/4/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
       7/4/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
       7/4/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
       7/4/2020    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
       7/4/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.82
       7/4/2020    742   NG0024   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.98
       7/4/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       100
       7/4/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
       7/4/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
       7/4/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
       7/4/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
       7/4/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.55
       7/4/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
       7/4/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
       7/4/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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       7/4/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       7/4/2020    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                     18.65
       7/4/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
       7/4/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
       7/4/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
       7/4/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
       7/4/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
       7/4/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/4/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/4/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/4/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/4/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       7/4/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       7/4/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       7/4/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.34
       7/4/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.84
       7/4/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.1
       7/4/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.64
       7/4/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.07
       7/4/2020    742   PC0012   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax            64.94
       7/4/2020    742   PC0012   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            201.5
       7/4/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
       7/4/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
       7/4/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
       7/4/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
       7/4/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
       7/4/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
       7/4/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
       7/4/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
       7/4/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.14
       7/4/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
       7/4/2020    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 10                 26
       7/4/2020    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 8                  26
       7/4/2020    742   PC0012   Owner Operator   Toll Charges                   32969 Carquinez Bridge 9                  26
       7/4/2020    742   PC0012   Owner Operator   Toll Charges                   32969 PTC Neshaminy Falls               28.7
       7/4/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
       7/4/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
       7/4/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
       7/4/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
       7/4/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
       7/4/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       7/4/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
       7/4/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.96
       7/4/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.45
       7/4/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.24
       7/4/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.15
       7/4/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
       7/4/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       7/4/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Hardy North - Ran             4
       7/4/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Hardy South - Bar             7
       7/4/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Sam Houston - Cen             7
       7/4/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 HCTRA Sam Houston - Nor             7
       7/4/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 242626 Balloon Payoff          335.75
       7/4/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       7/4/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
       7/4/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
       7/4/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       7/4/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       7/4/2020    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
       7/4/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                 8
       7/4/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.15
       7/4/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.61
       7/4/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          142.2
       7/4/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.58
       7/4/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                       100
       7/4/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       7/4/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
       7/4/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       7/4/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 242472 33489 Lease Paym        412.16
       7/4/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 242621 33489 Lease Paym        412.16
       7/4/2020    742   TH0130   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      17.5

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       7/4/2020    742   TH0130   Owner Operator   Communication Charge           Missing Pnet Device                     1250
       7/4/2020    742   TH0130   Owner Operator   Communication Charge           Safety Tech Hardware 33991                  8
       7/4/2020    742   TH0130   Owner Operator   Communication Charge           Safety Tech Hardware 33991                  8
       7/4/2020    742   TH0130   Owner Operator   Communication Charge           Safety Tech Hardware 33991                  8
       7/4/2020    742   TH0130   Owner Operator   ESCROW                         Final Balance Refund                   -3000
       7/4/2020    742   TH0130   Owner Operator   Fuel Purchase                  Fuel Purchase                          208.9
       7/4/2020    742   TH0130   Owner Operator   FUEL TAX                       April 2020 Fuel/Mileage Tax              23.5
       7/4/2020    742   TH0130   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax            59.53
       7/4/2020    742   TH0130   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              51.11
       7/4/2020    742   TH0130   Owner Operator   IRP License Deduction          LCIL:2020 - 33991                    1049.43
       7/4/2020    742   TH0130   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              95
       7/4/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                          77
       7/4/2020    742   TH0130   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism                 5
       7/4/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge                16
       7/4/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge                26
       7/4/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge                26
       7/4/2020    742   TH0130   Owner Operator   Toll Charges                   33991 BATA Carquinez Bridge                16
       7/4/2020    843   EI0003   Owner Operator   *Arrears Collection W/O        WO:33949 PrePass Device                 -12.5
       7/4/2020    843   EI0003   Owner Operator   Broker Pre Pass                33949 PrePass Device                     12.5
      7/11/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL             8.75
      7/11/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148                13
      7/11/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.95
      7/11/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.32
      7/11/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.64
      7/11/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.25
      7/11/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.98
      7/11/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                       100
      7/11/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/11/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD              36.9
      7/11/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 242685 Q13148 Trac Leas        296.09
      7/11/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 242828 Q13148 Trac Leas        296.09
      7/11/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL              8.75
      7/11/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                 13
      7/11/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.89
      7/11/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                        100
      7/11/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/11/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      7/11/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter            2.5
      7/11/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 242766 truck 32781 Leas        225.29
      7/11/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL             8.75
      7/11/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147                13
      7/11/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.38
      7/11/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.18
      7/11/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.07
      7/11/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                       100
      7/11/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/11/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD              36.1
      7/11/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 242688 Baloon Q13147           357.62
      7/11/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 242707 TRUCK RENTAL               500
      7/11/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 242831 Baloon Q13147           357.62
      7/11/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             1.2
      7/11/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
      7/11/2020    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                       9.84
      7/11/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                 13
      7/11/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                 13
      7/11/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                        100
      7/11/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                        100
      7/11/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            3.81
      7/11/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/11/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      7/11/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      7/11/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
      7/11/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
      7/11/2020    709   BM0030   Owner Operator   Toll Charges                   34023 BATA Benicia                         26
      7/11/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
      7/11/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168                13
      7/11/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             400
      7/11/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/11/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      7/11/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                            4
      7/11/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.37
      7/11/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.36
      7/11/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.15

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      7/11/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/11/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD              36.1
      7/11/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 242736 Q13168 sub lease         352.68
      7/11/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      7/11/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                 13
      7/11/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/11/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/11/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          452.51
      7/11/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          478.54
      7/11/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                       33.64
      7/11/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/11/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    24.07
      7/11/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      7/11/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                          506.17
      7/11/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      7/11/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                 13
      7/11/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/11/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/11/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           75.43
      7/11/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          181.03
      7/11/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          271.43
      7/11/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                        100
      7/11/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/11/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 32.89
      7/11/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 242760 Q1247 Sub Lease          263.91
      7/11/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL              8.75
      7/11/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                 13
      7/11/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/11/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                             300
      7/11/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      7/11/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.26
      7/11/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          126.69
      7/11/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                        100
      7/11/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/11/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD              68.18
      7/11/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 242732 Lease Truck 3348         335.96
      7/11/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      7/11/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL                8.75
      7/11/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.43
      7/11/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          273.67
      7/11/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.06
      7/11/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.01
      7/11/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.78
      7/11/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - 33850                      349.43
      7/11/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - Q13199                       100
      7/11/2020    709   DL0029   Owner Operator   IRP License Deduction          LICL 2020 IRP plate refund           -1139.57
      7/11/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment          258.52
      7/11/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/11/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    35.11
      7/11/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                24.07
      7/11/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 242734 Q13199 Lease             193.11
      7/11/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      7/11/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          479.35
      7/11/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          453.57
      7/11/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          278.28
      7/11/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             3.8
      7/11/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 HCTRA Hardy North - Rank              4
      7/11/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      7/11/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                        100
      7/11/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/11/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    19.17
      7/11/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      7/11/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                    8.75
      7/11/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                    8.75
      7/11/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                  8
      7/11/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                 13
      7/11/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      7/11/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      7/11/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      7/11/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      7/11/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.71
      7/11/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.78
      7/11/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          226.66

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      7/11/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.44
      7/11/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.78
      7/11/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.43
      7/11/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                        100
      7/11/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                        100
      7/11/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      7/11/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      7/11/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      7/11/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      7/11/2020    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      7/11/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      7/11/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      7/11/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           1000
      7/11/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.82
      7/11/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      7/11/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      7/11/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      7/11/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.88
      7/11/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.75
      7/11/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                           59.4
      7/11/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                        100
      7/11/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      7/11/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/11/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      7/11/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      7/11/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/11/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/11/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          490.8
      7/11/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          291.2
      7/11/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.68
      7/11/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.09
      7/11/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      7/11/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      7/11/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      7/11/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      7/11/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      7/11/2020    709   EG0062   Owner Operator   ESCROW                         Escrow Withdrawal                     -12000
      7/11/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                            350
      7/11/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                             500
      7/11/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/11/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         648.07
      7/11/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                        100
      7/11/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      7/11/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      7/11/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      7/11/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      7/11/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            100
      7/11/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/11/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/11/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/11/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.07
      7/11/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.55
      7/11/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            240
      7/11/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.2
      7/11/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                        100
      7/11/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      7/11/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      7/11/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      7/11/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      7/11/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/11/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100
      7/11/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/11/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      7/11/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.85
      7/11/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.1
      7/11/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.31
      7/11/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.35
      7/11/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.75
      7/11/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                       100
      7/11/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      7/11/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 242800 truck lease 3304        434.29
      7/11/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/11/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      7/11/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.67
      7/11/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.82
      7/11/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                      100
      7/11/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      7/11/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/11/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      7/11/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      7/11/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          327.4
      7/11/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.37
      7/11/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.62
      7/11/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                       100
      7/11/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      7/11/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      7/11/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 242761 Q1200 Lease             238.16
      7/11/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      7/11/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      7/11/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.76
      7/11/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                       100
      7/11/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      7/11/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      7/11/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      7/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/11/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           157
      7/11/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.55
      7/11/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.44
      7/11/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.78
      7/11/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.59
      7/11/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                       100
      7/11/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      7/11/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 242773 Q1109 Lease             302.85
      7/11/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      7/11/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      7/11/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.91
      7/11/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                      100
      7/11/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      7/11/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 242771 Q13170                  352.68
      7/11/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      7/11/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      7/11/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         635.97
      7/11/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.57
      7/11/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                       100
      7/11/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      7/11/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/11/2020    709   HG0027   Owner Operator   Communication Charge           Safety Tech Hardware 33418                13
      7/11/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.78
      7/11/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.08
      7/11/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.07

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      7/11/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.81
      7/11/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.08
      7/11/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                       100
      7/11/2020    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         302.23
      7/11/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.15
      7/11/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/11/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      7/11/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      7/11/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.02
      7/11/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.35
      7/11/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                       100
      7/11/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      7/11/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      7/11/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/11/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      7/11/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.22
      7/11/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.23
      7/11/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.78
      7/11/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      7/11/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/11/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      7/11/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      7/11/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      7/11/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      7/11/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/11/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.02
      7/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.97
      7/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.92
      7/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.79
      7/11/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.45
      7/11/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                      100
      7/11/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      7/11/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 242772 Q13197 Lease            276.63
      7/11/2020    709   JD0211   Owner Operator   Advance                        6/17/20 Clm 79111-1 s/u $200/w          250
      7/11/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      7/11/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      7/11/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      7/11/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      7/11/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/11/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      7/11/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/11/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/11/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.43
      7/11/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.18
      7/11/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.65
      7/11/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.24
      7/11/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.06
      7/11/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      7/11/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         414.93
      7/11/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      7/11/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      7/11/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/11/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      7/11/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.38
      7/11/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.38
      7/11/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64

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      7/11/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
      7/11/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      7/11/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/11/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                13
      7/11/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.81
      7/11/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
      7/11/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      7/11/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      7/11/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/11/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                13
      7/11/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.12
      7/11/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100
      7/11/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      7/11/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
      7/11/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      7/11/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      7/11/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100
      7/11/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      7/11/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 242763 Balloon Payoff          234.05
      7/11/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      7/11/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      7/11/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159               13
      7/11/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/11/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.96
      7/11/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
      7/11/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      7/11/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
      7/11/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 242759 Q13159 Lease             331.5
      7/11/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/11/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      7/11/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/11/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.03
      7/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           157
      7/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      7/11/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.16
      7/11/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      7/11/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      7/11/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/11/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      7/11/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      7/11/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      7/11/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.57
      7/11/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.94
      7/11/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.27
      7/11/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.11
      7/11/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                       100
      7/11/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      7/11/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 242732 33483 Lease 208         335.48
      7/11/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      7/11/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      7/11/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                       100
      7/11/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      7/11/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 242732 Balloon Pay off         200.15
      7/11/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      7/11/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      7/11/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      7/11/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      7/11/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.95
      7/11/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.35
      7/11/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                       100

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      7/11/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                       100
      7/11/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      7/11/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      7/11/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/11/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      7/11/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.61
      7/11/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.87
      7/11/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                       100
      7/11/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      7/11/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      7/11/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      7/11/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           500
      7/11/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.79
      7/11/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.27
      7/11/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.47
      7/11/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.95
      7/11/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                       100
      7/11/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      7/11/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/11/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      7/11/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           320
      7/11/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.27
      7/11/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.41
      7/11/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                       100
      7/11/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      7/11/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/11/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/11/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                13
      7/11/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      7/11/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              80
      7/11/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.8
      7/11/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.09
      7/11/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                       100
      7/11/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      7/11/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/11/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      7/11/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      7/11/2020    709   NB0029   Owner Operator   Communication Charge           Safety Tech Hardware 32986                13
      7/11/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                         240.21
      7/11/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/11/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.06
      7/11/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.54
      7/11/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                       100
      7/11/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      7/11/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      7/11/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      7/11/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      7/11/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 242759 32986 Lease             314.03
      7/11/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      7/11/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      7/11/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.41
      7/11/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.18
      7/11/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.16
      7/11/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                      100
      7/11/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      7/11/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              1.2
      7/11/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/11/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                13
      7/11/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.57
      7/11/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.82
      7/11/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64

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      7/11/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
      7/11/2020    709   OJ0007   Owner Operator   Truck Payment                  CTMS - 242799 TRUCK RENTAL              500
      7/11/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      7/11/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      7/11/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/11/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/11/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.59
      7/11/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.83
      7/11/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.78
      7/11/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.37
      7/11/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                       100
      7/11/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      7/11/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 242730 Q1241 Truck leas        321.84
      7/11/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      7/11/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      7/11/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.82
      7/11/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.48
      7/11/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.36
      7/11/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.87
      7/11/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.51
      7/11/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      7/11/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      7/11/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/11/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      7/11/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      7/11/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         548.14
      7/11/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.93
      7/11/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.24
      7/11/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      7/11/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      7/11/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/11/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/11/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      7/11/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.08
      7/11/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.52
      7/11/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.71
      7/11/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      7/11/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      7/11/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      7/11/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      7/11/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      7/11/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      7/11/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.29
      7/11/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.56
      7/11/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      7/11/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      7/11/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      7/11/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      7/11/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      7/11/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      7/11/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      7/11/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.6
      7/11/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.3
      7/11/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                       100
      7/11/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      7/11/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      7/11/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      7/11/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.75
      7/11/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.61
      7/11/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                       100

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      7/11/2020    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         269.42
      7/11/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      7/11/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 242711 Q1202 Balloon           234.05
      7/11/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      7/11/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      7/11/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/11/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/11/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/11/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/11/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          286.2
      7/11/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                           332
      7/11/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.06
      7/11/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.68
      7/11/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                       100
      7/11/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      7/11/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL 82nd St.                   3.85
      7/11/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL 95th St.                   2.85
      7/11/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL 95th St.                   2.85
      7/11/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL Joliet Rd.                 2.55
      7/11/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL Route 53                   2.55
      7/11/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 242732 33488 Lease $335        335.48
      7/11/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 242799 Past tractor ren          100
      7/11/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      7/11/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      7/11/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/11/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.94
      7/11/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.55
      7/11/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.76
      7/11/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.94
      7/11/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.57
      7/11/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      7/11/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      7/11/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      7/11/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      7/11/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      7/11/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/11/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.41
      7/11/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                       100
      7/11/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      7/11/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      7/11/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 242734 3303Truck Lease         133.15
      7/11/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      7/11/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      7/11/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           214
      7/11/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.91
      7/11/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.2
      7/11/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           345
      7/11/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      7/11/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
      7/11/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      7/11/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      7/11/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      7/11/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      7/11/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.45
      7/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.07
      7/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.84
      7/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.22
      7/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          181.8
      7/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.55
      7/11/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.19
      7/11/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12

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      7/11/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      7/11/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      7/11/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.66
      7/11/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.04
      7/11/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                       100
      7/11/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      7/11/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   112.46
      7/11/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   112.46
      7/11/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/11/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/11/2020    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      7/11/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                 8
      7/11/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      7/11/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.02
      7/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.75
      7/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.65
      7/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.44
      7/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.37
      7/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.33
      7/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.01
      7/11/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.95
      7/11/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                       100
      7/11/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                       100
      7/11/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      7/11/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      7/11/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/11/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      7/11/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      7/11/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      7/11/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      7/11/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      7/11/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.59
      7/11/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           220
      7/11/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      7/11/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                       100
      7/11/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      7/11/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 242736 Q1238 Lease             311.97
      7/11/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/11/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/11/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           29.23
      7/11/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/11/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/11/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.94
      7/11/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.55
      7/11/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.46
      7/11/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          147.6
      7/11/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.74
      7/11/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      7/11/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      7/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.14
      7/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           5.53
      7/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.71
      7/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.97
      7/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.15
      7/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.38
      7/11/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.37
      7/11/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                       100
      7/11/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      7/11/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      7/11/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      7/11/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      7/11/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.61
      7/11/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.11

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      7/11/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.39
      7/11/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.6
      7/11/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                       100
      7/11/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      7/11/2020    742   CA0089   Owner Operator   Toll Charges                   33987 BATA Benicia                        26
      7/11/2020    742   CA0089   Owner Operator   Toll Charges                   33987 BATA Benicia                        26
      7/11/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                       1.2
      7/11/2020    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14
      7/11/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/11/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      7/11/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.01
      7/11/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
      7/11/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      7/11/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      7/11/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/11/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      7/11/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      7/11/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          516.9
      7/11/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.78
      7/11/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          429.1
      7/11/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                       100
      7/11/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                       100
      7/11/2020    742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL Army Trail Rd.              6.8
      7/11/2020    742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL Boughton Rd. (Mai           6.8
      7/11/2020    742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL Dixon                     16.15
      7/11/2020    742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL Illinois 47                3.25
      7/11/2020    742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL Marengo                    10.2
      7/11/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63
      7/11/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      7/11/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                13
      7/11/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.04
      7/11/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.84
      7/11/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.68
      7/11/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
      7/11/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
      7/11/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      7/11/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/11/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      7/11/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.92
      7/11/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.39
      7/11/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
      7/11/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
      7/11/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      7/11/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          227.9
      7/11/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.1
      7/11/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.87
      7/11/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/11/2020    742   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      7/11/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.6
      7/11/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          342.3
      7/11/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.35
      7/11/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
      7/11/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      7/11/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/11/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      7/11/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a               13
      7/11/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
      7/11/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      7/11/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      7/11/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      7/11/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/11/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/11/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/11/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.62
      7/11/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.96
      7/11/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.93
      7/11/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07

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      7/11/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      7/11/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      7/11/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      7/11/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                        100
      7/11/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      7/11/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/11/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      7/11/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/11/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.38
      7/11/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.54
      7/11/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                        100
      7/11/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      7/11/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/11/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      7/11/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      7/11/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/11/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      7/11/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      7/11/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL              -35
      7/11/2020    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      7/11/2020    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                      63.98
      7/11/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      7/11/2020    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      7/11/2020    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      7/11/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
      7/11/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/11/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      7/11/2020    742   PC0012   Owner Operator   ESCROW                         Escrow Withdrawal                      -1900
      7/11/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      7/11/2020    742   PC0012   Owner Operator   Express Check                  T-Check Payment                         1900
      7/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.82
      7/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.75
      7/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.63
      7/11/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.22
      7/11/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      7/11/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      7/11/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      7/11/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      7/11/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      7/11/2020    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      7/11/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      7/11/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      7/11/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             150
      7/11/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             150
      7/11/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      7/11/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      7/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.41
      7/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                            169
      7/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.42
      7/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.97
      7/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.19
      7/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.98
      7/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.44
      7/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.53
      7/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.03
      7/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.88
      7/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          143.9
      7/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          185.9
      7/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.25
      7/11/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.46
      7/11/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                        100
      7/11/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                        100
      7/11/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      7/11/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      7/11/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      7/11/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      7/11/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75

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      7/11/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      7/11/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.09
      7/11/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.37
      7/11/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.75
      7/11/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.23
      7/11/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      7/11/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      7/11/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/11/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      7/11/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      7/11/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      7/11/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      7/11/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
      7/11/2020    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/11/2020    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/11/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.02
      7/11/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.98
      7/11/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.36
      7/11/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.68
      7/11/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.64
      7/11/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                       100
      7/11/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/11/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      7/11/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      7/18/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      7/18/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      7/18/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.54
      7/18/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.97
      7/18/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.81
      7/18/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                      100
      7/18/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      7/18/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 242987 Q13148 Trac Leas        296.09
      7/18/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      7/18/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      7/18/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.56
      7/18/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                       100
      7/18/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      7/18/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      7/18/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 242930 truck 32781 Leas        225.29
      7/18/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      7/18/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      7/18/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.92
      7/18/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.4
      7/18/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           157
      7/18/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.65
      7/18/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                      100
      7/18/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      7/18/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      7/18/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      7/18/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      7/18/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      7/18/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      7/18/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      7/18/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/18/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          53.03
      7/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.19
      7/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.48
      7/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.52
      7/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.26
      7/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.76
      7/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.07
      7/18/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.37
      7/18/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
      7/18/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
      7/18/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1

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      7/18/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      7/18/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 242800 Q13169 Sublease         352.68
      7/18/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      7/18/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      7/18/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                       100
      7/18/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      7/18/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      7/18/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      7/18/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      7/18/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/18/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/18/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.96
      7/18/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.97
      7/18/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.56
      7/18/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      7/18/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 242906 Q13168 sub lease        352.68
      7/18/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/18/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      7/18/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/18/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/18/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.84
      7/18/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.22
      7/18/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      7/18/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      7/18/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/18/2020    709   CM0119   Owner Operator   Tractor Charge                 14620 - 32920                         506.17
      7/18/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      7/18/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      7/18/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.24
      7/18/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          159.2
      7/18/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.76
      7/18/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.64
      7/18/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
      7/18/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      7/18/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 242924 Q1247 Sub Lease         263.91
      7/18/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      7/18/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      7/18/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/18/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.18
      7/18/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.14
      7/18/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.17
      7/18/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.58
      7/18/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                       100
      7/18/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      7/18/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 242901 Lease Truck 3348        335.96
      7/18/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/18/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      7/18/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.03
      7/18/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.77
      7/18/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.15
      7/18/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - Q13199                      100
      7/18/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
      7/18/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   35.11
      7/18/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.07
      7/18/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 242903 Q13199 Lease            193.11
      7/18/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      7/18/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      7/18/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      7/18/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/18/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.56

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      7/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.56
      7/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.72
      7/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.75
      7/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.88
      7/18/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          181.6
      7/18/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
      7/18/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
      7/18/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment         366.62
      7/18/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment         366.62
      7/18/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           43.7
      7/18/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      7/18/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      7/18/2020    709   DL0107   Owner Operator   Tire Purchase                  Bridgestone - Tire Purchase           181.66
      7/18/2020    709   DL0107   Owner Operator   Tire Purchase                  Bridgestone - Tire Purchase           181.66
      7/18/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 242731 Baloon payoff           350.23
      7/18/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 242900 Baloon payoff           350.23
      7/18/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      7/18/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.17
      7/18/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.62
      7/18/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          65.71
      7/18/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.15
      7/18/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.68
      7/18/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                       100
      7/18/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      7/18/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      7/18/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      7/18/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      7/18/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/18/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/18/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.57
      7/18/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.39
      7/18/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                       100
      7/18/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      7/18/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      7/18/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      7/18/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      7/18/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      7/18/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         526.43
      7/18/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      7/18/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      7/18/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      7/18/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/18/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      7/18/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/18/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      7/18/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.16
      7/18/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.2
      7/18/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.7
      7/18/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                       100
      7/18/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      7/18/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/18/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      7/18/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/18/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.86
      7/18/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      7/18/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      7/18/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      7/18/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      7/18/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      7/18/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           350
      7/18/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/18/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/18/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.85

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      7/18/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.41
      7/18/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.47
      7/18/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                       100
      7/18/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      7/18/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      7/18/2020    709   EG0062   Owner Operator   Repair Order                   CTMS - 243000 PARTS- COOLANT            120
      7/18/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      7/18/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      7/18/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/18/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/18/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/18/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.46
      7/18/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.42
      7/18/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.57
      7/18/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
      7/18/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      7/18/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      7/18/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      7/18/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      7/18/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/18/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/18/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.55
      7/18/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.93
      7/18/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          315.7
      7/18/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                       100
      7/18/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      7/18/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/18/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      7/18/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.98
      7/18/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.21
      7/18/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.93
      7/18/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                      100
      7/18/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      7/18/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/18/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      7/18/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      7/18/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.93
      7/18/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.41
      7/18/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.17
      7/18/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                       100
      7/18/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      7/18/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      7/18/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 242925 Q1200 Lease             238.16
      7/18/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      7/18/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      7/18/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.36
      7/18/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                       100
      7/18/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      7/18/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      7/18/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      7/18/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/18/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/18/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.52
      7/18/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.17
      7/18/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.19
      7/18/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.34
      7/18/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                       100
      7/18/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      7/18/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 242937 Q1109 Lease             302.85
      7/18/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75

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      7/18/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      7/18/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.16
      7/18/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.4
      7/18/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          413.2
      7/18/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                      100
      7/18/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      7/18/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 242936 Q13170                  352.68
      7/18/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      7/18/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      7/18/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.61
      7/18/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                       100
      7/18/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      7/18/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/18/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      7/18/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      7/18/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.66
      7/18/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.83
      7/18/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                       100
      7/18/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      7/18/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      7/18/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/18/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      7/18/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.33
      7/18/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.13
      7/18/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      7/18/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/18/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      7/18/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      7/18/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      7/18/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      7/18/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          262.5
      7/18/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.35
      7/18/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                      100
      7/18/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      7/18/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 242937 Q13197 Lease            276.63
      7/18/2020    709   JD0211   Owner Operator   Advance                        6/17/20 Clm 79111-1 s/u $200/w          250
      7/18/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      7/18/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      7/18/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      7/18/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      7/18/2020    709   JD0211   Owner Operator   Truck Payment                  CTMS - 243000 TRUCK RENTAL              200
      7/18/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/18/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      7/18/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/18/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/18/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.88
      7/18/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.55
      7/18/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.14
      7/18/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.21
      7/18/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      7/18/2020    709   JG0017   Owner Operator   Loan Repayment                 Loan # 00006 - Loan Repayment         402.35
      7/18/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      7/18/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      7/18/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/18/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      7/18/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/18/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/18/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.45
      7/18/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.62
      7/18/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64

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      7/18/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
      7/18/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      7/18/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      7/18/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/18/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                13
      7/18/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.26
      7/18/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.81
      7/18/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100
      7/18/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      7/18/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
      7/18/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      7/18/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      7/18/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.19
      7/18/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100
      7/18/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      7/18/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 242928 Balloon Payoff          234.05
      7/18/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      7/18/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      7/18/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159               13
      7/18/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/18/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.45
      7/18/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.19
      7/18/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.68
      7/18/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.84
      7/18/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
      7/18/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      7/18/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
      7/18/2020    709   JS0265   Owner Operator   Toll Charges                   Q13159 BATA Carquinez Bridge              26
      7/18/2020    709   JS0265   Owner Operator   Toll Charges                   Q13159 BATA Carquinez Bridge              26
      7/18/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 242923 Q13159 Lease             331.5
      7/18/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/18/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      7/18/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/18/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           46.1
      7/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.01
      7/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           266
      7/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           114
      7/18/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.01
      7/18/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      7/18/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      7/18/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/18/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      7/18/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      7/18/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      7/18/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.94
      7/18/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.32
      7/18/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.38
      7/18/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.43
      7/18/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                       100
      7/18/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      7/18/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 242901 33483 Lease 208         335.48
      7/18/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 242999 TRUCK RENTAL              100
      7/18/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      7/18/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      7/18/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                       100
      7/18/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      7/18/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 242902 Balloon Pay off         200.15
      7/18/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      7/18/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      7/18/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      7/18/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.64
      7/18/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.62
      7/18/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                        100
      7/18/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      7/18/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/18/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      7/18/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.9
      7/18/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                        100
      7/18/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      7/18/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      7/18/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      7/18/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            500
      7/18/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/18/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                             300
      7/18/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/18/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          82.99
      7/18/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                            300
      7/18/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.86
      7/18/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.85
      7/18/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                        100
      7/18/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      7/18/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/18/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      7/18/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.48
      7/18/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                        100
      7/18/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      7/18/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/18/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/18/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                13
      7/18/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                            500
      7/18/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                             280
      7/18/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.8
      7/18/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.9
      7/18/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                        100
      7/18/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      7/18/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/18/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      7/18/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      7/18/2020    709   NB0029   Owner Operator   Communication Charge           Safety Tech Hardware 32986                13
      7/18/2020    709   NB0029   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
      7/18/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                            250
      7/18/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/18/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.65
      7/18/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.65
      7/18/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                        100
      7/18/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      7/18/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      7/18/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      7/18/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      7/18/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 242923 32986 Lease             314.03
      7/18/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      7/18/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      7/18/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.38
      7/18/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.37
      7/18/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.99
      7/18/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                       100
      7/18/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      7/18/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/18/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                13
      7/18/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.61
      7/18/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.89
      7/18/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.22
      7/18/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      7/18/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      7/18/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
      7/18/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      7/18/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      7/18/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.73
      7/18/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.26
      7/18/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.01
      7/18/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.23
      7/18/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.09
      7/18/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.68
      7/18/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.85
      7/18/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                       100
      7/18/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      7/18/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 242900 Q1241 Truck leas        321.84
      7/18/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      7/18/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      7/18/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.17
      7/18/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.85
      7/18/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      7/18/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      7/18/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/18/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      7/18/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      7/18/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.81
      7/18/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      7/18/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      7/18/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/18/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/18/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      7/18/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.51
      7/18/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.79
      7/18/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.55
      7/18/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.06
      7/18/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      7/18/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      7/18/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      7/18/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      7/18/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      7/18/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      7/18/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.47
      7/18/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.78
      7/18/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      7/18/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      7/18/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      7/18/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      7/18/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      7/18/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      7/18/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      7/18/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.04
      7/18/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.82
      7/18/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                       100
      7/18/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      7/18/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      7/18/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      7/18/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.11
      7/18/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                       100
      7/18/2020    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         269.42
      7/18/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      7/18/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 242880 Q1202 Balloon           234.05
      7/18/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      7/18/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      7/18/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.54
      7/18/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.45
      7/18/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.75
      7/18/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                       100

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      7/18/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      7/18/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Hardy North - Barr             7
      7/18/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Hardy South - Barr             7
      7/18/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Sam Houston - Sout           3.5
      7/18/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Sam Houston - Sout           1.5
      7/18/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Sam Houston - Sout             7
      7/18/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL 163rd St.                   6.8
      7/18/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL 82nd St.                    6.8
      7/18/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL 95th St.                   2.85
      7/18/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 242902 33488 Lease $335        335.48
      7/18/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 242960 Past tractor ren          100
      7/18/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      7/18/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      7/18/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/18/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.92
      7/18/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.84
      7/18/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.87
      7/18/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.14
      7/18/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      7/18/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      7/18/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      7/18/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      7/18/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      7/18/2020    709   SB0103   Owner Operator   ESCROW                         Escrow Withdrawal                    -267.24
      7/18/2020    709   SB0103   Owner Operator   ESCROW                         Escrow Withdrawal                     -32.76
      7/18/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           3.36
      7/18/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.13
      7/18/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.05
      7/18/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.9
      7/18/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.9
      7/18/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.93
      7/18/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                       100
      7/18/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      7/18/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      7/18/2020    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        5.26
      7/18/2020    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        2.65
      7/18/2020    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  264.59
      7/18/2020    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                  526.04
      7/18/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      7/18/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      7/18/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           129
      7/18/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           285
      7/18/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           264
      7/18/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           265
      7/18/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           188
      7/18/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      7/18/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
      7/18/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      7/18/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      7/18/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      7/18/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      7/18/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.06
      7/18/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.03
      7/18/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.29
      7/18/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      7/18/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      7/18/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      7/18/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.01
      7/18/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.47
      7/18/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                       100
      7/18/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      7/18/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   112.46
      7/18/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75

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      7/18/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      7/18/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
      7/18/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      7/18/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.97
      7/18/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.11
      7/18/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.48
      7/18/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.37
      7/18/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                       100
      7/18/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      7/18/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/18/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      7/18/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      7/18/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      7/18/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      7/18/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      7/18/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/18/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/18/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/18/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/18/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.73
      7/18/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.56
      7/18/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.79
      7/18/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.11
      7/18/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.83
      7/18/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                       100
      7/18/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      7/18/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 242906 Q1238 Lease             311.97
      7/18/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 243000 TRUCK RENTAL              200
      7/18/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      7/18/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      7/18/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      7/18/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      7/18/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/18/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           70.77
      7/18/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/18/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/18/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/18/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/18/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          219.8
      7/18/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.81
      7/18/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.66
      7/18/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.85
      7/18/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.33
      7/18/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.56
      7/18/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      7/18/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      7/18/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      7/18/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      7/18/2020    742   AP0047   Owner Operator   Toll Charges                   32604 BATA Carquinez Bridge               26
      7/18/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      7/18/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      7/18/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.74
      7/18/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.31
      7/18/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                       100
      7/18/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      7/18/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      7/18/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      7/18/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      7/18/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         456.09
      7/18/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.04
      7/18/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.01
      7/18/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                       100
      7/18/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      7/18/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      7/18/2020    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14
      7/18/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/18/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      7/18/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.01
      7/18/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           187
      7/18/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
      7/18/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      7/18/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      7/18/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/18/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63
      7/18/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      7/18/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                13
      7/18/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.24
      7/18/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.65
      7/18/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.39
      7/18/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                       100
      7/18/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
      7/18/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      7/18/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 242773 Trk 33487 Lease          434.2
      7/18/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 242937 Trk 33487 Lease          434.2
      7/18/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/18/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      7/18/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         477.48
      7/18/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.63
      7/18/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                       100
      7/18/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
      7/18/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      7/18/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      7/18/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      7/18/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      7/18/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      7/18/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.68
      7/18/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.73
      7/18/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.93
      7/18/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          140.9
      7/18/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.42
      7/18/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.86
      7/18/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           1.48
      7/18/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.98
      7/18/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.54
      7/18/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
      7/18/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
      7/18/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      7/18/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      7/18/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      7/18/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      7/18/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/18/2020    742   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      7/18/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.18
      7/18/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.45
      7/18/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.67
      7/18/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
      7/18/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      7/18/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/18/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      7/18/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a               13
      7/18/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
      7/18/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      7/18/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      7/18/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      7/18/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/18/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.68

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      7/18/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.37
      7/18/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.75
      7/18/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          247.6
      7/18/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      7/18/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      7/18/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      7/18/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      7/18/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                       100
      7/18/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      7/18/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/18/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      7/18/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/18/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/18/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/18/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.25
      7/18/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.15
      7/18/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.12
      7/18/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.5
      7/18/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                       100
      7/18/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      7/18/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/18/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      7/18/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      7/18/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/18/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      7/18/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      7/18/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/18/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      7/18/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          94.92
      7/18/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      7/18/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      7/18/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.12
      7/18/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           124
      7/18/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.95
      7/18/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          209.1
      7/18/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      7/18/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      7/18/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 242763 Balloon Payoff          335.75
      7/18/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 242928 Balloon Payoff          335.75
      7/18/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/18/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      7/18/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/18/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      7/18/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      7/25/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      7/25/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      7/25/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.86
      7/25/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.29
      7/25/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.87
      7/25/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.09
      7/25/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.58
      7/25/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                      100
      7/25/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            36.88
      7/25/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 243157 Q13148 Trac Leas        296.09
      7/25/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      7/25/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      7/25/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.61
      7/25/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                       100
      7/25/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.05
      7/25/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      7/25/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 243093 truck 32781 Leas        225.29
      7/25/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      7/25/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      7/25/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          242.3
      7/25/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.41
      7/25/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.82

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      7/25/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.49
      7/25/2020    709   AR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q13147                      100
      7/25/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            36.07
      7/25/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 242998 TRUCK RENTAL              500
      7/25/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.31
      7/25/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      7/25/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      7/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.08
      7/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.36
      7/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      7/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.83
      7/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.47
      7/25/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.83
      7/25/2020    709   AV0021   Owner Operator   IRP License Deduction          LCIL:2020 - Q13169                      100
      7/25/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            36.07
      7/25/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      7/25/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      7/25/2020    709   BM0030   Owner Operator   IRP License Deduction          LCIL:2020 - 34023                       100
      7/25/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      7/25/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      7/25/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      7/25/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      7/25/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/25/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/25/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.74
      7/25/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.24
      7/25/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.74
      7/25/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            36.07
      7/25/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/25/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      7/25/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.95
      7/25/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      7/25/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.04
      7/25/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/25/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      7/25/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      7/25/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.15
      7/25/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.55
      7/25/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.65
      7/25/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.37
      7/25/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.6
      7/25/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.21
      7/25/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                       100
      7/25/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.87
      7/25/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 243087 Q1247 Sub Lease         263.91
      7/25/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      7/25/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      7/25/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      7/25/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.76
      7/25/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.65
      7/25/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.36
      7/25/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                       100
      7/25/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.17
      7/25/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/25/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      7/25/2020    709   DL0029   Owner Operator   Fuel Card Advances             Cash Advance                               5
      7/25/2020    709   DL0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.05
      7/25/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.89
      7/25/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.23
      7/25/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.36
      7/25/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.81
      7/25/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.17

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      7/25/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - Q13199                      100
      7/25/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
      7/25/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   35.11
      7/25/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.04
      7/25/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 243060 Q13199 Lease            193.11
      7/25/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      7/25/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      7/25/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/25/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/25/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.95
      7/25/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.92
      7/25/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.03
      7/25/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                       100
      7/25/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment         366.62
      7/25/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.45
      7/25/2020    709   DL0107   Owner Operator   Tire Purchase                  Bridgestone - Tire Purchase           181.66
      7/25/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      7/25/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.29
      7/25/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                       100
      7/25/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.16
      7/25/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      7/25/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      7/25/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      7/25/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/25/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/25/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          262.7
      7/25/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.79
      7/25/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                       100
      7/25/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  114.69
      7/25/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      7/25/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      7/25/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      7/25/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.03
      7/25/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.09
      7/25/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/25/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      7/25/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/25/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.09
      7/25/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.36
      7/25/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.88
      7/25/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.47
      7/25/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      7/25/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      7/25/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      7/25/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      7/25/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      7/25/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           350
      7/25/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
      7/25/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/25/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.21
      7/25/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.73
      7/25/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.85
      7/25/2020    709   EG0062   Owner Operator   IRP License Deduction          LCIL:2020 - 33828                       100
      7/25/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.11
      7/25/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      7/25/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      7/25/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      7/25/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/25/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/25/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      7/25/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.27
      7/25/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.54
      7/25/2020    709   EO0014   Owner Operator   IRP License Deduction          LCIL:2020 - 33846                       100
      7/25/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 80.2
      7/25/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      7/25/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      7/25/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      7/25/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/25/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/25/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/25/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/25/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.37
      7/25/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.44
      7/25/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.35
      7/25/2020    709   FS0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33040                       100
      7/25/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.91
      7/25/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/25/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      7/25/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.68
      7/25/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.51
      7/25/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.81
      7/25/2020    709   FV0001   Owner Operator   IRP License Deduction          LCIL:2020 - 21521B                      100
      7/25/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.09
      7/25/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/25/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      7/25/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      7/25/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/25/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/25/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.4
      7/25/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.28
      7/25/2020    709   GA0051   Owner Operator   IRP License Deduction          LCIL:2020 - Q1200                       100
      7/25/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.04
      7/25/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.67
      7/25/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 243088 Q1200 Lease             238.16
      7/25/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      7/25/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      7/25/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.35
      7/25/2020    709   GS0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1110                       100
      7/25/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.09
      7/25/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      7/25/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      7/25/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.17
      7/25/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.62
      7/25/2020    709   GW0043   Owner Operator   IRP License Deduction          LCIL:2020 - Q1109                       100
      7/25/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      7/25/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      7/25/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      7/25/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.65
      7/25/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.07
      7/25/2020    709   HC0023   Owner Operator   IRP License Deduction          LCIL:2020 - Q13170                      100
      7/25/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            36.07
      7/25/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      7/25/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      7/25/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.4
      7/25/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.13
      7/25/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.12
      7/25/2020    709   HG0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34565                       100
      7/25/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.64
      7/25/2020    709   HG0007   Owner Operator   Toll Charges                   34565 BATA Bay Bridge                     26
      7/25/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/25/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75

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      7/25/2020    709   HG0027   Owner Operator   Communication Charge           Safety Tech Hardware 33418                13
      7/25/2020    709   HG0027   Owner Operator   Communication Charge           Safety Tech Hardware 33418                13
      7/25/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          247.5
      7/25/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.03
      7/25/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.64
      7/25/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.62
      7/25/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.91
      7/25/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.23
      7/25/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                        100
      7/25/2020    709   HG0027   Owner Operator   IRP License Deduction          LCIL:2020 - 33418                        100
      7/25/2020    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         302.23
      7/25/2020    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         302.23
      7/25/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.15
      7/25/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.13
      7/25/2020    709   HG0027   Owner Operator   T Chek Fee                     Crd per Clms NSM to Rmbrs              -1100
      7/25/2020    709   HG0027   Owner Operator   T Chek Fee                     ExpressCheck Fee                          11
      7/25/2020    709   HG0027   Owner Operator   T Chek Fee                     Towing 33418                            1100
      7/25/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/25/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      7/25/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            150
      7/25/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.43
      7/25/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.36
      7/25/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34012                        100
      7/25/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    52.7
      7/25/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.34
      7/25/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/25/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      7/25/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.04
      7/25/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.82
      7/25/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.97
      7/25/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.07
      7/25/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/25/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.96
      7/25/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      7/25/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      7/25/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      7/25/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/25/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             300
      7/25/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/25/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.33
      7/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.42
      7/25/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.1
      7/25/2020    709   JC0292   Owner Operator   IRP License Deduction          LCIL:2020 - Q13197                       100
      7/25/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.11
      7/25/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 243099 Q13197 Lease            276.63
      7/25/2020    709   JD0211   Owner Operator   Accident Claim                 06/17/20 JD0211 Incident              126.35
      7/25/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      7/25/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      7/25/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      7/25/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      7/25/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/25/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      7/25/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      7/25/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/25/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      7/25/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.22
      7/25/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.14
      7/25/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.26
      7/25/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      7/25/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      7/25/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      7/25/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/25/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      7/25/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200

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      7/25/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.08
      7/25/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.7
      7/25/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.85
      7/25/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      7/25/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   76.19
      7/25/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      7/25/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      7/25/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/25/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                13
      7/25/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/25/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/25/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.75
      7/25/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.26
      7/25/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.38
      7/25/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                       100
      7/25/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.03
      7/25/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.02
      7/25/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      7/25/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      7/25/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.83
      7/25/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                       100
      7/25/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.14
      7/25/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 243090 Balloon Payoff          234.05
      7/25/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      7/25/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      7/25/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159               13
      7/25/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/25/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.59
      7/25/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.95
      7/25/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.98
      7/25/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.94
      7/25/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.29
      7/25/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.09
      7/25/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                      100
      7/25/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      7/25/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD             41.3
      7/25/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/25/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      7/25/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/25/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/25/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/25/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/25/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/25/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.05
      7/25/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           46.5
      7/25/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      7/25/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      7/25/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      7/25/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/25/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      7/25/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      7/25/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      7/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.86
      7/25/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.63
      7/25/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                       100
      7/25/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.13
      7/25/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      7/25/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      7/25/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                       100
      7/25/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.09

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      7/25/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 243058 Balloon Pay off         200.15
      7/25/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      7/25/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      7/25/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.97
      7/25/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.98
      7/25/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.99
      7/25/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                       100
      7/25/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.53
      7/25/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/25/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      7/25/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.62
      7/25/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.97
      7/25/2020    709   MA0092   Owner Operator   IRP License Deduction          LCIL:2020 - 34005                       100
      7/25/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.77
      7/25/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      7/25/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      7/25/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           500
      7/25/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                            500
      7/25/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      7/25/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          82.66
      7/25/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.06
      7/25/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.76
      7/25/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          285.2
      7/25/2020    709   MD0122   Owner Operator   IRP License Deduction          LCIL:2020 - 34342                       100
      7/25/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.95
      7/25/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      7/25/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      7/25/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.88
      7/25/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.09
      7/25/2020    709   MG0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33435                       100
      7/25/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          36.07
      7/25/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      7/25/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      7/25/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                13
      7/25/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      7/25/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            180
      7/25/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.8
      7/25/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.5
      7/25/2020    709   MP0035   Owner Operator   IRP License Deduction          LCIL:2020 - 32904                       100
      7/25/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.12
      7/25/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      7/25/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      7/25/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      7/25/2020    709   NB0029   Owner Operator   Communication Charge           Safety Tech Hardware 32986                13
      7/25/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
      7/25/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.23
      7/25/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.92
      7/25/2020    709   NB0029   Owner Operator   IRP License Deduction          LCIL:2020 - 32986                       100
      7/25/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              36.07
      7/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      7/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      7/25/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      7/25/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      7/25/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      7/25/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/25/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/25/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          103.7
      7/25/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.63
      7/25/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.25

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      7/25/2020    709   NG0005   Owner Operator   IRP License Deduction          LCIL:2020 - 21412B                       100
      7/25/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      7/25/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      7/25/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                13
      7/25/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.13
      7/25/2020    709   OJ0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.72
      7/25/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      7/25/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.05
      7/25/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      7/25/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      7/25/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.54
      7/25/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.16
      7/25/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.09
      7/25/2020    709   RB0170   Owner Operator   IRP License Deduction          LCIL:2020 - Q1241                        100
      7/25/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.09
      7/25/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      7/25/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      7/25/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.01
      7/25/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.25
      7/25/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.63
      7/25/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.56
      7/25/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      7/25/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      7/25/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/25/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      7/25/2020    709   RL0017   Owner Operator   ESCROW                         Escrow Withdrawal                     -18000
      7/25/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            300
      7/25/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.67
      7/25/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      7/25/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.26
      7/25/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/25/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      7/25/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/25/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      7/25/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/25/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/25/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.54
      7/25/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.13
      7/25/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.26
      7/25/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.96
      7/25/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      7/25/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.62
      7/25/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      7/25/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      7/25/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      7/25/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            400
      7/25/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.97
      7/25/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.01
      7/25/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      7/25/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    52.7
      7/25/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      7/25/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      7/25/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.46
      7/25/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      7/25/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      7/25/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.08
      7/25/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.95
      7/25/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                        100
      7/25/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.06
      7/25/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      7/25/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      7/25/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.07
      7/25/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                        100

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      7/25/2020    709   RP0082   Owner Operator   Loan Repayment                 Loan # 00004 - Loan Repayment         268.43
      7/25/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.14
      7/25/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 243028 Q1202 Balloon           234.05
      7/25/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      7/25/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      7/25/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/25/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/25/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.45
      7/25/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          286.6
      7/25/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                       100
      7/25/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.13
      7/25/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 243130 Past tractor ren          100
      7/25/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      7/25/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      7/25/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      7/25/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.43
      7/25/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.98
      7/25/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.24
      7/25/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.39
      7/25/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      7/25/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.65
      7/25/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      7/25/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      7/25/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      7/25/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                          96.64
      7/25/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      7/25/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.15
      7/25/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.14
      7/25/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.43
      7/25/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.66
      7/25/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.73
      7/25/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                       100
      7/25/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.31
      7/25/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      7/25/2020    709   SB0103   Owner Operator   Repair Order                   CTMS - 242999 REPAIR                      75
      7/25/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 242903 3303Truck Lease         133.15
      7/25/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 243060 3303Truck Lease         133.15
      7/25/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      7/25/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           345
      7/25/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.64
      7/25/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           275
      7/25/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           414
      7/25/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      7/25/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment          217.2
      7/25/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             76.19
      7/25/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      7/25/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      7/25/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      7/25/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.02
      7/25/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          399.9
      7/25/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.21
      7/25/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                       100
      7/25/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      7/25/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   112.46
      7/25/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      7/25/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      7/25/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.26
      7/25/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.81
      7/25/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.23
      7/25/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.11
      7/25/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.4

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      7/25/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                       100
      7/25/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      7/25/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      7/25/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      7/25/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      7/25/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      7/25/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      7/25/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      7/25/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      7/25/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      7/25/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      7/25/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      7/25/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.09
      7/25/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.74
      7/25/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.21
      7/25/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.17
      7/25/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.42
      7/25/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                       100
      7/25/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      7/25/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      7/25/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      7/25/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.24
      7/25/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.98
      7/25/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.45
      7/25/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.51
      7/25/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.83
      7/25/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          220.9
      7/25/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           3.74
      7/25/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.54
      7/25/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                       100
      7/25/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  113.48
      7/25/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      7/25/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      7/25/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      7/25/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.79
      7/25/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.07
      7/25/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.42
      7/25/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.21
      7/25/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                       100
      7/25/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.18
      7/25/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      7/25/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      7/25/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                      98.8
      7/25/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                      100
      7/25/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                      100
      7/25/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
      7/25/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.11
      7/25/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      7/25/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      7/25/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 240615 re-do of truck l        525.75
      7/25/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 240869 re-do of truck l        525.75
      7/25/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 241074 re-do of truck l        143.03
      7/25/2020    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.13
      7/25/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/25/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      7/25/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           234
      7/25/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.03
      7/25/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           225
      7/25/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.57
      7/25/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                       100
      7/25/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      7/25/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.18
      7/25/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      7/25/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      7/25/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13

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      7/25/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          285.51
      7/25/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                           17.16
      7/25/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.21
      7/25/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.11
      7/25/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                           35.76
      7/25/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                           114.4
      7/25/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.07
      7/25/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.14
      7/25/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                        100
      7/25/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                        100
      7/25/2020    742   DC0117   Owner Operator   Toll Charges                   34063 BATA Carquinez Bridge                16
      7/25/2020    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Hardy North - Rank              4
      7/25/2020    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Sam Houston - Cent              7
      7/25/2020    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Sam Houston - NE M              7
      7/25/2020    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Sam Houston - NE M              7
      7/25/2020    742   DC0117   Owner Operator   Toll Charges                   34063 HCTRA Sam Houston - Nort              7
      7/25/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                    251.61
      7/25/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL              8.75
      7/25/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                 13
      7/25/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                             200
      7/25/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      7/25/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.53
      7/25/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          329.14
      7/25/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          390.38
      7/25/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                           29.27
      7/25/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          345.96
      7/25/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                        100
      7/25/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/25/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD              72.66
      7/25/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter            2.5
      7/25/2020    742   DS0254   Owner Operator   Repair Order                   CTMS - 242965 Trailer Wash                -38
      7/25/2020    742   DS0254   Owner Operator   Repair Order                   CTMS - 243032 Repair 702675            -63.35
      7/25/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      7/25/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                 13
      7/25/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          345.64
      7/25/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.66
      7/25/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                        100
      7/25/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/25/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    24.04
      7/25/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
      7/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                            359
      7/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.81
      7/25/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          155.48
      7/25/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                8.75
      7/25/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a                13
      7/25/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD                56.13
      7/25/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro            2.5
      7/25/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                   8.75
      7/25/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                 13
      7/25/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/25/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          235.22
      7/25/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.21
      7/25/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.97
      7/25/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.68
      7/25/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/25/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                   24.04
      7/25/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris            2.5
      7/25/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                   8.75
      7/25/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                 13
      7/25/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                        100
      7/25/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/25/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                   24.04
      7/25/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                           160.58
      7/25/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          327.78
      7/25/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                   8.75
      7/25/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                 13
      7/25/2020    742   MH0117   Owner Operator   ESCROW                         Escrow Withdrawal                    -1574.83
      7/25/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                              50
      7/25/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      7/25/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                    60.1
      7/25/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris            2.5
      7/25/2020    742   MH0117   Owner Operator   T Chek Fee                     ExpressCheck Fee                        15.59
      7/25/2020    742   MH0117   Owner Operator   T Chek Fee                     Tractor Repair 34932                  1559.24

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      7/25/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.55
      7/25/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
      7/25/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      7/25/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      7/25/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      7/25/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      7/25/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      7/25/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.1
      7/25/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.36
      7/25/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.51
      7/25/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.11
      7/25/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.14
      7/25/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.32
      7/25/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      7/25/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      7/25/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.14
      7/25/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         407.03
      7/25/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      7/25/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      7/25/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      7/25/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      7/25/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      7/25/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                             150
      7/25/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      7/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.6
      7/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.79
      7/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.25
      7/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.24
      7/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.97
      7/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.38
      7/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          148.7
      7/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.87
      7/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.56
      7/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          84.88
      7/25/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.48
      7/25/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                        100
      7/25/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                        100
      7/25/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      7/25/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      7/25/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      7/25/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.52
      7/25/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      7/25/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      7/25/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.14
      7/25/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      7/25/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      7/25/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      7/25/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.46
      7/25/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                        100
      7/25/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                        100
      7/25/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      7/25/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      7/25/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      7/25/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      7/25/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      7/25/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 242759 33489 Lease Paym         354.1
       8/1/2020    709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
       8/1/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
       8/1/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.89
       8/1/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         575.71
       8/1/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          420.9
       8/1/2020    709   AC0061   Owner Operator   IRP License Deduction          LCIL:2020 - Q13148                     49.43
       8/1/2020    709   AC0061   Owner Operator   T Chek Fee                     Cancelled/Expired EFS                -385.02
       8/1/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 243319 Q13148 Trac Leas        296.09
       8/1/2020    709   AC0122   Owner Operator   Advance                        7/31 Advance                           -2500
       8/1/2020    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK32781                      9.84
       8/1/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
       8/1/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.23
       8/1/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                        100

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       8/1/2020    709   AN0007   Owner Operator   Truck Payment           CTMS - 243242 TRUCK RENTAL               100
       8/1/2020    709   AN0007   Owner Operator   Truck Payment           CTMS - 243261 truck 32781 Leas        225.29
       8/1/2020    709   AP0092   Owner Operator   Advance                 7/31 Advance                           -2500
       8/1/2020    709   AP0092   Owner Operator   BOBTAIL INS.            971 2012 Freightliner NTL               8.75
       8/1/2020    709   AP0092   Owner Operator   BOBTAIL INS.            971 2012 Freightliner NTL               8.75
       8/1/2020    709   AP0092   Owner Operator   Fuel Card Advances      Cash Advance                             500
       8/1/2020    709   AP0092   Owner Operator   Fuel Card Advances      Cash Advance Fee                           5
       8/1/2020    709   AP0092   Owner Operator   Fuel Purchase           Fuel Purchase                         479.82
       8/1/2020    709   AP0092   Owner Operator   PHYSICAL DAMAGE         971 2012 Freightliner PD               16.05
       8/1/2020    709   AP0092   Owner Operator   PHYSICAL DAMAGE         971 2012 Freightliner PD               16.05
       8/1/2020    709   AR0064   Owner Operator   Broker Pre Pass         DriveWyze TRKQ13147                     9.84
       8/1/2020    709   AR0064   Owner Operator   Communication Charge    Safety Tech Hardware q13147               13
       8/1/2020    709   AR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         295.08
       8/1/2020    709   AR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         218.32
       8/1/2020    709   AR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         319.84
       8/1/2020    709   AR0064   Owner Operator   IRP License Deduction   LCIL:2020 - Q13147                     49.43
       8/1/2020    709   AV0021   Owner Operator   Broker Pre Pass         DriveWyze TRKQ13169                     9.84
       8/1/2020    709   AV0021   Owner Operator   Communication Charge    Safety Tech Hardware Q13169               13
       8/1/2020    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                          60.01
       8/1/2020    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                          48.42
       8/1/2020    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                          64.39
       8/1/2020    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                          96.16
       8/1/2020    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                          192.3
       8/1/2020    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                          96.81
       8/1/2020    709   AV0021   Owner Operator   Fuel Purchase           Fuel Purchase                            100
       8/1/2020    709   AV0021   Owner Operator   IRP License Deduction   LCIL:2020 - Q13169                     49.43
       8/1/2020    709   BM0030   Owner Operator   Broker Pre Pass         DriveWyze TRK34023                      9.84
       8/1/2020    709   BM0030   Owner Operator   Communication Charge    Safety Tech Hardware 34023                13
       8/1/2020    709   BM0030   Owner Operator   IRP License Deduction   LCIL:2020 - 34023                      49.43
       8/1/2020    709   CC0134   Owner Operator   Communication Charge    Safety Tech Hardware Q13168               13
       8/1/2020    709   CC0134   Owner Operator   Fuel Card Advances      Cash Advance                             200
       8/1/2020    709   CC0134   Owner Operator   Fuel Card Advances      Cash Advance                             200
       8/1/2020    709   CC0134   Owner Operator   Fuel Card Advances      Cash Advance                             100
       8/1/2020    709   CC0134   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       8/1/2020    709   CC0134   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       8/1/2020    709   CC0134   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       8/1/2020    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                         371.13
       8/1/2020    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                         319.52
       8/1/2020    709   CC0134   Owner Operator   Fuel Purchase           Fuel Purchase                          352.7
       8/1/2020    709   CC0134   Owner Operator   Repair Order            CTMS - 243242 REPAIRS                 491.84
       8/1/2020    709   CC0178   Owner Operator   Advance                 7/31 Advance                           -2500
       8/1/2020    709   CC0178   Owner Operator   BOBTAIL INS.            792 2012 Freightliner NTL               8.75
       8/1/2020    709   CC0178   Owner Operator   BOBTAIL INS.            792 2012 Freightliner NTL               8.75
       8/1/2020    709   CC0178   Owner Operator   PHYSICAL DAMAGE         792 2012 Freightliner PD               32.09
       8/1/2020    709   CC0178   Owner Operator   PHYSICAL DAMAGE         792 2012 Freightliner PD               32.09
       8/1/2020    709   CC0178   Owner Operator   PHYSICAL DAMAGE         792 2012 Freightliner PD Terro           2.5
       8/1/2020    709   CC0178   Owner Operator   PHYSICAL DAMAGE         792 2012 Freightliner PD Terro           2.5
       8/1/2020    709   CM0119   Owner Operator   Broker Pre Pass         DriveWyze TRK32920                      9.84
       8/1/2020    709   CM0119   Owner Operator   Communication Charge    Safety Tech Hardware 32920                13
       8/1/2020    709   CM0119   Owner Operator   Fuel Card Advances      Cash Advance                             200
       8/1/2020    709   CM0119   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       8/1/2020    709   CM0119   Owner Operator   Fuel Purchase           Fuel Purchase                         506.21
       8/1/2020    709   CM0119   Owner Operator   Fuel Purchase           Fuel Purchase                         470.59
       8/1/2020    709   CM0119   Owner Operator   IRP License Deduction   LCIL:2020 - 32920                      33.64
       8/1/2020    709   CM0224   Owner Operator   Advance                 7/31 Advance                           -2500
       8/1/2020    709   CM0224   Owner Operator   BOBTAIL INS.            968 2012 International NTL              8.75
       8/1/2020    709   CM0224   Owner Operator   BOBTAIL INS.            968 2012 International NTL              8.75
       8/1/2020    709   CM0224   Owner Operator   BOBTAIL INS.            968 2012 International NTL              8.75
       8/1/2020    709   CM0224   Owner Operator   Communication Charge    Safety Tech Hardware 8968                 13
       8/1/2020    709   CM0224   Owner Operator   Fuel Purchase           Fuel Purchase                         344.43
       8/1/2020    709   CM0224   Owner Operator   Fuel Purchase           Fuel Purchase                         466.78
       8/1/2020    709   CM0224   Owner Operator   PHYSICAL DAMAGE         968 2012 International PD              16.05
       8/1/2020    709   CM0224   Owner Operator   PHYSICAL DAMAGE         968 2012 International PD              16.05
       8/1/2020    709   CM0224   Owner Operator   PHYSICAL DAMAGE         968 2012 International PD              16.05
       8/1/2020    709   CR0064   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1247                      9.84
       8/1/2020    709   CR0064   Owner Operator   Communication Charge    Safety Tech Hardware Q1247                13
       8/1/2020    709   CR0064   Owner Operator   Fuel Card Advances      Cash Advance                             200
       8/1/2020    709   CR0064   Owner Operator   Fuel Card Advances      Cash Advance                             200
       8/1/2020    709   CR0064   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       8/1/2020    709   CR0064   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       8/1/2020    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         321.46
       8/1/2020    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         140.49
       8/1/2020    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         251.98

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       8/1/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.25
       8/1/2020    709   CR0064   Owner Operator   IRP License Deduction          LCIL:2020 - Q1247                     49.43
       8/1/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 243256 Q1247 Sub Lease        263.91
       8/1/2020    709   CV0028   Owner Operator   Broker Pre Pass                DriveWyze TRK33482                     9.84
       8/1/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482               13
       8/1/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                            50
       8/1/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                           500
       8/1/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
       8/1/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.9
       8/1/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        361.99
       8/1/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.1
       8/1/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        400.57
       8/1/2020    709   CV0028   Owner Operator   IRP License Deduction          LCIL:2020 - 33482                     49.43
       8/1/2020    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13199                    9.84
       8/1/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.79
       8/1/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        144.53
       8/1/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        293.52
       8/1/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        238.07
       8/1/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        202.95
       8/1/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.9
       8/1/2020    709   DL0029   Owner Operator   IRP License Deduction          LCIL:2020 - Q13199                    49.43
       8/1/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment        258.52
       8/1/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 243225 Q13199 Lease           193.11
       8/1/2020    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                     9.84
       8/1/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245               13
       8/1/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
       8/1/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
       8/1/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        357.18
       8/1/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        256.47
       8/1/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        496.56
       8/1/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        522.68
       8/1/2020    709   DL0107   Owner Operator   IRP License Deduction          LCIL:2020 - Q1245                     49.43
       8/1/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment        366.62
       8/1/2020    709   DL0107   Owner Operator   Tire Purchase                  Bridgestone - Tire Purchase          181.66
       8/1/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.3
       8/1/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.8
       8/1/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                        118.84
       8/1/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.3
       8/1/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         96.62
       8/1/2020    709   DM0257   Owner Operator   IRP License Deduction          LCIL:2020 - 34328                     49.43
       8/1/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880               13
       8/1/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
       8/1/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
       8/1/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        352.12
       8/1/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        431.34
       8/1/2020    709   DS0049   Owner Operator   IRP License Deduction          LCIL:2020 - 34880                     49.43
       8/1/2020    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                   32.95
       8/1/2020    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                     9.84
       8/1/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320               13
       8/1/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                         1000
       8/1/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         49.56
       8/1/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        529.91
       8/1/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                  8.75
       8/1/2020    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                     9.84
       8/1/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266               13
       8/1/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266               13
       8/1/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                           100
       8/1/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                           100
       8/1/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       8/1/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       8/1/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.57
       8/1/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                        263.96
       8/1/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                        290.85
       8/1/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                        237.39
       8/1/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         85.03
       8/1/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                        277.77
       8/1/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         74.15
       8/1/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                        255.94
       8/1/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.3
       8/1/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                      100
       8/1/2020    709   DS0288   Owner Operator   IRP License Deduction          LCIL:2020 - 34266                     49.43
       8/1/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       8/1/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                  43.11

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       8/1/2020    709   DT0153   Owner Operator   Advance                 7/31 Advance                        -2500
       8/1/2020    709   EA0003   Owner Operator   Communication Charge    Safety Tech Hardware 33051             13
       8/1/2020    709   EA0003   Owner Operator   ESCROW                  Weekly Escrow                         250
       8/1/2020    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                          200
       8/1/2020    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                          200
       8/1/2020    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
       8/1/2020    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
       8/1/2020    709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                      285.83
       8/1/2020    709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                      476.72
       8/1/2020    709   EA0003   Owner Operator   IRP License Deduction   LCIL:2020 - 33051                   33.64
       8/1/2020    709   EA0003   Owner Operator   Tractor Charge          16439 - 33051                      545.75
       8/1/2020    709   EG0062   Owner Operator   Broker Pre Pass         DriveWyze TRK33828                   9.84
       8/1/2020    709   EG0062   Owner Operator   Communication Charge    Safety Tech Hardware 33828             13
       8/1/2020    709   EG0062   Owner Operator   ESCROW                  Weekly Escrow                         750
       8/1/2020    709   EG0062   Owner Operator   Fuel Card Advances      Cash Advance                          300
       8/1/2020    709   EG0062   Owner Operator   Fuel Card Advances      Cash Advance                          200
       8/1/2020    709   EG0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
       8/1/2020    709   EG0062   Owner Operator   Fuel Card Advances      Cash Advance Fee                        3
       8/1/2020    709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                      275.96
       8/1/2020    709   EG0062   Owner Operator   Fuel Purchase           Fuel Purchase                      307.77
       8/1/2020    709   EG0062   Owner Operator   IRP License Deduction   LCIL:2020 - 33828                   49.43
       8/1/2020    709   EO0014   Owner Operator   Communication Charge    Safety Tech Hardware 33846             13
       8/1/2020    709   EO0014   Owner Operator   ESCROW                  Weekly Escrow                         100
       8/1/2020    709   EO0014   Owner Operator   Fuel Card Advances      Cash Advance                          100
       8/1/2020    709   EO0014   Owner Operator   Fuel Card Advances      Cash Advance                          100
       8/1/2020    709   EO0014   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
       8/1/2020    709   EO0014   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
       8/1/2020    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                      203.02
       8/1/2020    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                      234.02
       8/1/2020    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                      157.59
       8/1/2020    709   EO0014   Owner Operator   Fuel Purchase           Fuel Purchase                      184.04
       8/1/2020    709   EO0014   Owner Operator   IRP License Deduction   LCIL:2020 - 33846                   49.43
       8/1/2020    709   EO0014   Owner Operator   Toll Charges            33846 BATA Carquinez Bridge            26
       8/1/2020    709   FS0039   Owner Operator   Communication Charge    Safety Tech Hardware 33040             13
       8/1/2020    709   FS0039   Owner Operator   Fuel Card Advances      Cash Advance                          100
       8/1/2020    709   FS0039   Owner Operator   Fuel Card Advances      Cash Advance                          100
       8/1/2020    709   FS0039   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
       8/1/2020    709   FS0039   Owner Operator   Fuel Card Advances      Cash Advance Fee                        1
       8/1/2020    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                      347.11
       8/1/2020    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                      329.53
       8/1/2020    709   FS0039   Owner Operator   Fuel Purchase           Fuel Purchase                      375.02
       8/1/2020    709   FS0039   Owner Operator   IRP License Deduction   LCIL:2020 - 33040                   49.43
       8/1/2020    709   FV0001   Owner Operator   Communication Charge    Safety Tech Hardware 21521B            13
       8/1/2020    709   FV0001   Owner Operator   Fuel Purchase           Fuel Purchase                      314.93
       8/1/2020    709   FV0001   Owner Operator   IRP License Deduction   LCIL:2020 - 21521B                  49.43
       8/1/2020    709   GA0051   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1200                   9.84
       8/1/2020    709   GA0051   Owner Operator   Communication Charge    Safety Tech Hardware Q1200             13
       8/1/2020    709   GA0051   Owner Operator   Fuel Card Advances      Cash Advance                          500
       8/1/2020    709   GA0051   Owner Operator   Fuel Card Advances      Cash Advance Fee                        5
       8/1/2020    709   GA0051   Owner Operator   Fuel Purchase           Fuel Purchase                      279.02
       8/1/2020    709   GA0051   Owner Operator   Fuel Purchase           Fuel Purchase                         252
       8/1/2020    709   GA0051   Owner Operator   IRP License Deduction   LCIL:2020 - Q1200                   49.43
       8/1/2020    709   GA0051   Owner Operator   Tire Purchase           018751~BRIDGESTONE                     64
       8/1/2020    709   GA0051   Owner Operator   Truck Payment           CTMS - 243257 Q1200 Lease          238.16
       8/1/2020    709   GS0015   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1110                   9.84
       8/1/2020    709   GS0015   Owner Operator   Communication Charge    Safety Tech Hardware Q1110             13
       8/1/2020    709   GS0015   Owner Operator   Fuel Purchase           Fuel Purchase                      276.39
       8/1/2020    709   GS0015   Owner Operator   IRP License Deduction   LCIL:2020 - Q1110                   49.43
       8/1/2020    709   GW0043   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1109                   9.84
       8/1/2020    709   GW0043   Owner Operator   Communication Charge    Safety Tech Hardware Q1109             13
       8/1/2020    709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance                          200
       8/1/2020    709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance                          200
       8/1/2020    709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
       8/1/2020    709   GW0043   Owner Operator   Fuel Card Advances      Cash Advance Fee                        2
       8/1/2020    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                      289.34
       8/1/2020    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                      353.33
       8/1/2020    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                       279.1
       8/1/2020    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                      156.86
       8/1/2020    709   GW0043   Owner Operator   Fuel Purchase           Fuel Purchase                       40.01
       8/1/2020    709   GW0043   Owner Operator   IRP License Deduction   LCIL:2020 - Q1109                   49.43
       8/1/2020    709   HC0023   Owner Operator   Broker Pre Pass         DriveWyze TRKQ13170                  9.84
       8/1/2020    709   HC0023   Owner Operator   Communication Charge    Safety Tech Hardware Q13170            13
       8/1/2020    709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                      326.81

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       8/1/2020    709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                         130.49
       8/1/2020    709   HC0023   Owner Operator   Fuel Purchase           Fuel Purchase                         369.57
       8/1/2020    709   HC0023   Owner Operator   IRP License Deduction   LCIL:2020 - Q13170                     49.43
       8/1/2020    709   HG0007   Owner Operator   Broker Pre Pass         DriveWyze TRK34565                      9.84
       8/1/2020    709   HG0007   Owner Operator   Communication Charge    Safety Tech Hardware 34565                13
       8/1/2020    709   HG0007   Owner Operator   Fuel Purchase           Fuel Purchase                         347.16
       8/1/2020    709   HG0007   Owner Operator   IRP License Deduction   LCIL:2020 - 34565                      49.43
       8/1/2020    709   HG0027   Owner Operator   Broker Pre Pass         DriveWyze TRK33418                      9.84
       8/1/2020    709   HG0027   Owner Operator   Communication Charge    Safety Tech Hardware 33418                13
       8/1/2020    709   HG0027   Owner Operator   IRP License Deduction   LCIL:2020 - 33418                      49.43
       8/1/2020    709   HG0027   Owner Operator   Loan Repayment          Loan # 00001 - Loan Repayment         302.23
       8/1/2020    709   IA0007   Owner Operator   Broker Pre Pass         DriveWyze TRK34012                      9.84
       8/1/2020    709   IA0007   Owner Operator   Communication Charge    Safety Tech Hardware 34012                13
       8/1/2020    709   IA0007   Owner Operator   ESCROW                  Weekly Escrow                            150
       8/1/2020    709   IA0007   Owner Operator   Fuel Purchase           Fuel Purchase                         400.94
       8/1/2020    709   IA0007   Owner Operator   IRP License Deduction   LCIL:2020 - 34012                      49.43
       8/1/2020    709   IR0002   Owner Operator   Communication Charge    Safety Tech Hardware 32901                13
       8/1/2020    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                         299.13
       8/1/2020    709   IR0002   Owner Operator   Repair Order            CTMS - 243243 REPAIR - PARTS O           150
       8/1/2020    709   JC0292   Owner Operator   Communication Charge    Safety Tech Hardware Q13197               13
       8/1/2020    709   JC0292   Owner Operator   ESCROW                  Weekly Escrow                            400
       8/1/2020    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                             200
       8/1/2020    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance                             200
       8/1/2020    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       8/1/2020    709   JC0292   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       8/1/2020    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         377.05
       8/1/2020    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         163.03
       8/1/2020    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         197.61
       8/1/2020    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         309.48
       8/1/2020    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                         311.99
       8/1/2020    709   JC0292   Owner Operator   IRP License Deduction   LCIL:2020 - Q13197                     49.43
       8/1/2020    709   JC0292   Owner Operator   Truck Payment           CTMS - 243267 Q13197 Lease            276.63
       8/1/2020    709   JC0418   Owner Operator   Advance                 7/31 Advance                           -2500
       8/1/2020    709   JC0418   Owner Operator   BOBTAIL INS.            6458 2002 Peterbilt NTL                 8.75
       8/1/2020    709   JC0418   Owner Operator   BOBTAIL INS.            6458 2002 Peterbilt NTL                 8.75
       8/1/2020    709   JC0418   Owner Operator   Communication Charge    Safety Tech Hardware 86458                13
       8/1/2020    709   JC0418   Owner Operator   Fuel Purchase           Fuel Purchase                         256.03
       8/1/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE         6458 2002 Peterbilt PD                 24.07
       8/1/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE         6458 2002 Peterbilt PD                 24.07
       8/1/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE         6458 2002 Peterbilt PD Terrori           2.5
       8/1/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE         6458 2002 Peterbilt PD Terrori           2.5
       8/1/2020    709   JD0211   Owner Operator   Broker Pre Pass         DriveWyze TRK34325                      9.84
       8/1/2020    709   JD0211   Owner Operator   Communication Charge    Safety Tech Hardware 34325                13
       8/1/2020    709   JG0017   Owner Operator   Broker Pre Pass         DriveWyze TRK32908                      9.84
       8/1/2020    709   JG0017   Owner Operator   Communication Charge    Safety Tech Hardware 32908                13
       8/1/2020    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                             200
       8/1/2020    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                             300
       8/1/2020    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                           3
       8/1/2020    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       8/1/2020    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                         379.31
       8/1/2020    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                         169.27
       8/1/2020    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                          185.2
       8/1/2020    709   JG0017   Owner Operator   IRP License Deduction   LCIL:2020 - 32908                      33.64
       8/1/2020    709   JG0017   Owner Operator   Repair Order            CTMS - 243242 REPAIR                   132.5
       8/1/2020    709   JG0017   Owner Operator   Tractor Charge          14298 - 32908                         490.64
       8/1/2020    709   JG0017   Owner Operator   US Legal Services       U.S. Legal Services                    32.95
       8/1/2020    709   JG0072   Owner Operator   Broker Pre Pass         DriveWyze TRK32909                      9.84
       8/1/2020    709   JG0072   Owner Operator   Communication Charge    Safety Tech Hardware 32909                13
       8/1/2020    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                             200
       8/1/2020    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                             100
       8/1/2020    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                             200
       8/1/2020    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       8/1/2020    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       8/1/2020    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       8/1/2020    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                         400.07
       8/1/2020    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                         399.28
       8/1/2020    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                         416.67
       8/1/2020    709   JG0072   Owner Operator   IRP License Deduction   LCIL:2020 - 32909                      33.64
       8/1/2020    709   JG0072   Owner Operator   Tractor Charge          14534 - 32909                         499.05
       8/1/2020    709   JG0092   Owner Operator   BOBTAIL INS.            2012 Peterbilt NTL                      8.75
       8/1/2020    709   JG0092   Owner Operator   BOBTAIL INS.            2012 Peterbilt NTL                      8.75
       8/1/2020    709   JG0092   Owner Operator   Broker Pre Pass         DriveWyze TRK33669                      9.84
       8/1/2020    709   JG0092   Owner Operator   Communication Charge    Safety Tech Hardware 33669                13

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       8/1/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669               13
       8/1/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669               13
       8/1/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
       8/1/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                       100
       8/1/2020    709   JG0092   Owner Operator   IRP License Deduction          LCIL:2020 - 33669                     49.43
       8/1/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       8/1/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       8/1/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     36.07
       8/1/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      36.1
       8/1/2020    709   JL0280   Owner Operator   Advance                        7/31 Advance                          -2500
       8/1/2020    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                  8.75
       8/1/2020    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                  8.75
       8/1/2020    709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                13
       8/1/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        273.22
       8/1/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        269.65
       8/1/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.05
       8/1/2020    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                  33.04
       8/1/2020    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                  33.04
       8/1/2020    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK34637                     9.84
       8/1/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637               13
       8/1/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        168.33
       8/1/2020    709   JQ0015   Owner Operator   IRP License Deduction          LCIL:2020 - 34637                     49.43
       8/1/2020    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                     9.84
       8/1/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203               13
       8/1/2020    709   JR0099   Owner Operator   IRP License Deduction          LCIL:2020 - Q1203                     49.43
       8/1/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 243259 Balloon Payoff         234.05
       8/1/2020    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                    9.84
       8/1/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159              13
       8/1/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/1/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/1/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       8/1/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        220.43
       8/1/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         91.47
       8/1/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        127.96
       8/1/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        190.66
       8/1/2020    709   JS0265   Owner Operator   IRP License Deduction          LCIL:2020 - Q13159                    49.43
       8/1/2020    709   JS0265   Owner Operator   Repair Order                   CTMS - 243242 REPAIR                   83.5
       8/1/2020    709   JS0265   Owner Operator   Toll Charges                   Q13159 BATA Carquinez Bridge             26
       8/1/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914               13
       8/1/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
       8/1/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/1/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/1/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/1/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       8/1/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       8/1/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       8/1/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           220
       8/1/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           145
       8/1/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        150.19
       8/1/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        246.01
       8/1/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           215
       8/1/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           386
       8/1/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                     33.64
       8/1/2020    709   KP0004   Owner Operator   Repair Order                   CTMS - 243165 Repair                    240
       8/1/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                        504.17
       8/1/2020    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRK33483                     9.84
       8/1/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483               13
       8/1/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        282.43
       8/1/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        198.48
       8/1/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        215.22
       8/1/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        513.83
       8/1/2020    709   KT0055   Owner Operator   IRP License Deduction          LCIL:2020 - 33483                     49.43
       8/1/2020    709   KW0091   Owner Operator   Advance                        7/31 Advance                          -2500
       8/1/2020    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                 8.75
       8/1/2020    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                 8.75
       8/1/2020    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                 57.75
       8/1/2020    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                 57.75
       8/1/2020    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                     9.84
       8/1/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111               13
       8/1/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                     49.43
       8/1/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 243224 Balloon Pay off        200.15
       8/1/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/1/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2

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       8/1/2020    709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                         289.43
       8/1/2020    709   LS0023   Owner Operator   Fuel Purchase           Fuel Purchase                         444.77
       8/1/2020    709   MA0092   Owner Operator   Broker Pre Pass         DriveWyze TRK34005                      9.84
       8/1/2020    709   MA0092   Owner Operator   Communication Charge    Safety Tech Hardware 34005                13
       8/1/2020    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                         271.89
       8/1/2020    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                           22.2
       8/1/2020    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                         383.11
       8/1/2020    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                         298.12
       8/1/2020    709   MA0092   Owner Operator   IRP License Deduction   LCIL:2020 - 34005                      49.43
       8/1/2020    709   MD0122   Owner Operator   Broker Pre Pass         DriveWyze TRK34342                      9.84
       8/1/2020    709   MD0122   Owner Operator   Communication Charge    Safety Tech Hardware 34342                13
       8/1/2020    709   MD0122   Owner Operator   ESCROW                  Weekly Escrow                           1250
       8/1/2020    709   MD0122   Owner Operator   Fuel Purchase           Fuel Purchase                         239.42
       8/1/2020    709   MD0122   Owner Operator   Fuel Purchase           Fuel Purchase                         310.12
       8/1/2020    709   MD0122   Owner Operator   IRP License Deduction   LCIL:2020 - 34342                      49.43
       8/1/2020    709   MD0122   Owner Operator   Truck Payment           CTMS - 243242 TRUCK RENTAL               200
       8/1/2020    709   MG0067   Owner Operator   Communication Charge    Safety Tech Hardware 33435                13
       8/1/2020    709   MG0067   Owner Operator   Fuel Purchase           Fuel Purchase                          399.9
       8/1/2020    709   MG0067   Owner Operator   Fuel Purchase           Fuel Purchase                         245.35
       8/1/2020    709   MG0067   Owner Operator   IRP License Deduction   LCIL:2020 - 33435                      49.43
       8/1/2020    709   MP0035   Owner Operator   Communication Charge    Safety Tech Hardware 32904                13
       8/1/2020    709   MP0035   Owner Operator   ESCROW                  Weekly Escrow                            500
       8/1/2020    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance                             280
       8/1/2020    709   MP0035   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2.8
       8/1/2020    709   MP0035   Owner Operator   Fuel Purchase           Fuel Purchase                         535.39
       8/1/2020    709   MP0035   Owner Operator   IRP License Deduction   LCIL:2020 - 32904                      49.43
       8/1/2020    709   NB0029   Owner Operator   Broker Pre Pass         DriveWyze TRK32986                      9.84
       8/1/2020    709   NB0029   Owner Operator   Communication Charge    Safety Tech Hardware 32986                13
       8/1/2020    709   NB0029   Owner Operator   ESCROW                  Weekly Escrow                            250
       8/1/2020    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance                             200
       8/1/2020    709   NB0029   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
       8/1/2020    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                         377.64
       8/1/2020    709   NB0029   Owner Operator   Fuel Purchase           Fuel Purchase                         211.04
       8/1/2020    709   NB0029   Owner Operator   IRP License Deduction   LCIL:2020 - 32986                      49.43
       8/1/2020    709   NB0029   Owner Operator   US Legal Services       U.S. Legal Services                    32.95
       8/1/2020    709   NG0005   Owner Operator   Broker Pre Pass         DriveWyze TRK21412B                     9.84
       8/1/2020    709   NG0005   Owner Operator   Communication Charge    Safety Tech Hardware 21412B               13
       8/1/2020    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance                             160
       8/1/2020    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1.6
       8/1/2020    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                          204.9
       8/1/2020    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                         204.87
       8/1/2020    709   NG0005   Owner Operator   IRP License Deduction   LCIL:2020 - 21412B                     49.43
       8/1/2020    709   OJ0007   Owner Operator   Broker Pre Pass         DriveWyze TRK34370                      9.84
       8/1/2020    709   OJ0007   Owner Operator   Communication Charge    Safety Tech Hardware 34370                13
       8/1/2020    709   OJ0007   Owner Operator   Fuel Purchase           Fuel Purchase                         214.14
       8/1/2020    709   OJ0007   Owner Operator   IRP License Deduction   LCIL:2020 - 34370                      33.64
       8/1/2020    709   PM0099   Owner Operator   Advance                 7/31 Advance                           -2500
       8/1/2020    709   PM0099   Owner Operator   BOBTAIL INS.            6956 2015 Freightliner NTL              8.75
       8/1/2020    709   PM0099   Owner Operator   BOBTAIL INS.            6956 2015 Freightliner NTL              8.75
       8/1/2020    709   PM0099   Owner Operator   Fuel Purchase           Fuel Purchase                         237.55
       8/1/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE         6956 2015 Freightliner PD              57.75
       8/1/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE         6956 2015 Freightliner PD              57.75
       8/1/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE         6956 2015 Freightliner PD Terr           2.5
       8/1/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE         6956 2015 Freightliner PD Terr           2.5
       8/1/2020    709   RB0170   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1241                      9.84
       8/1/2020    709   RB0170   Owner Operator   Communication Charge    Safety Tech Hardware Q1241                13
       8/1/2020    709   RB0170   Owner Operator   Fuel Purchase           Fuel Purchase                          55.37
       8/1/2020    709   RB0170   Owner Operator   Fuel Purchase           Fuel Purchase                         278.93
       8/1/2020    709   RB0170   Owner Operator   Fuel Purchase           Fuel Purchase                         372.04
       8/1/2020    709   RB0170   Owner Operator   IRP License Deduction   LCIL:2020 - Q1241                      49.43
       8/1/2020    709   RC0030   Owner Operator   Communication Charge    Safety Tech Hardware 33676                13
       8/1/2020    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                         355.81
       8/1/2020    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                         331.01
       8/1/2020    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                          255.8
       8/1/2020    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                         444.61
       8/1/2020    709   RL0017   Owner Operator   Communication Charge    Safety Tech Hardware 33065                13
       8/1/2020    709   RL0017   Owner Operator   ESCROW                  Weekly Escrow                            300
       8/1/2020    709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                         507.28
       8/1/2020    709   RL0017   Owner Operator   IRP License Deduction   LCIL:2020 - 33065                      33.64
       8/1/2020    709   RL0017   Owner Operator   Tractor Charge          35015 - 33065                         501.67
       8/1/2020    709   RL0062   Owner Operator   Communication Charge    Safety Tech Hardware 32912                13
       8/1/2020    709   RL0062   Owner Operator   IRP License Deduction   LCIL:2020 - 32912                      33.64
       8/1/2020    709   RL0062   Owner Operator   Tractor Charge          14460 - 32912                         496.56

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       8/1/2020    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       8/1/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
       8/1/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
       8/1/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.33
       8/1/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.24
       8/1/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
       8/1/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       8/1/2020    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
       8/1/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
       8/1/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.49
       8/1/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                           331
       8/1/2020    709   RM0026   Owner Operator   IRP License Deduction          LCIL:2020 - 33664                      49.43
       8/1/2020    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       8/1/2020    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
       8/1/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
       8/1/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.16
       8/1/2020    709   RP0082   Owner Operator   IRP License Deduction          LCIL:2020 - Q1202                      49.43
       8/1/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 243197 Q1202 Balloon           234.05
       8/1/2020    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRK33488                      9.84
       8/1/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
       8/1/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.17
       8/1/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.66
       8/1/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.54
       8/1/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.03
       8/1/2020    709   RR0123   Owner Operator   IRP License Deduction          LCIL:2020 - 33488                      49.43
       8/1/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 243295 Past tractor ren          100
       8/1/2020    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
       8/1/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
       8/1/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       8/1/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/1/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/1/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.83
       8/1/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.93
       8/1/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
       8/1/2020    709   SB0009   Owner Operator   Repair Order                   CTMS - 243242 REPAIR                    120
       8/1/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       8/1/2020    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
       8/1/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
       8/1/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/1/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.24
       8/1/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.14
       8/1/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.64
       8/1/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.18
       8/1/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.43
       8/1/2020    709   SB0103   Owner Operator   IRP License Deduction          LCIL:2020 - 33037                      49.43
       8/1/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 243225 3303Truck Lease         133.15
       8/1/2020    709   SM0109   Owner Operator   Broker Pre Pass                DriveWyze TRK33195                      9.84
       8/1/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
       8/1/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
       8/1/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           335
       8/1/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.71
       8/1/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           280
       8/1/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           210
       8/1/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
       8/1/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
       8/1/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         143.99
       8/1/2020    709   SM0109   Owner Operator   Repair Order                   CTMS - 243166 Repair                   148.5
       8/1/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       8/1/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       8/1/2020    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.84
       8/1/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
       8/1/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
       8/1/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/1/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/1/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.02
       8/1/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.23
       8/1/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.71
       8/1/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/1/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    44.1
       8/1/2020    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
       8/1/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
       8/1/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           465
       8/1/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           326

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       8/1/2020    709   VB0015   Owner Operator   IRP License Deduction          LCIL:2020 - Q1112                     49.43
       8/1/2020    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                     9.84
       8/1/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961               13
       8/1/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           200
       8/1/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                           200
       8/1/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       8/1/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       8/1/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        183.34
       8/1/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        140.48
       8/1/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        214.53
       8/1/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                        262.08
       8/1/2020    709   VJ0006   Owner Operator   IRP License Deduction          LCIL:2020 - 33961                     49.43
       8/1/2020    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                     9.84
       8/1/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407               13
       8/1/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239               13
       8/1/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                           200
       8/1/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                           100
       8/1/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                           100
       8/1/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       8/1/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       8/1/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       8/1/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        167.04
       8/1/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        179.93
       8/1/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        201.36
       8/1/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          250
       8/1/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                        207.78
       8/1/2020    709   WH0087   Owner Operator   IRP License Deduction          LCIL:2020 - Q1239                     49.43
       8/1/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                   8.75
       8/1/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604               13
       8/1/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604               13
       8/1/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           100
       8/1/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                           200
       8/1/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       8/1/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       8/1/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        397.84
       8/1/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        199.91
       8/1/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.9
       8/1/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.64
       8/1/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                        207.96
       8/1/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       8/1/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                   53.74
       8/1/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism           2.5
       8/1/2020    742   AP0047   Owner Operator   Toll Charges                   32604 ILTOLL South Beloit               8.5
       8/1/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900               13
       8/1/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          7.07
       8/1/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.35
       8/1/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.39
       8/1/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        185.39
       8/1/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           7.7
       8/1/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                        115.71
       8/1/2020    742   BS0078   Owner Operator   IRP License Deduction          LCIL:2020 - 34900                     49.43
       8/1/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987               13
       8/1/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        319.23
       8/1/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                        464.69
       8/1/2020    742   CA0089   Owner Operator   IRP License Deduction          LCIL:2020 - 33987                     49.43
       8/1/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
       8/1/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
       8/1/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
       8/1/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
       8/1/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
       8/1/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
       8/1/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
       8/1/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
       8/1/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL           8.75
       8/1/2020    742   CT0085   Owner Operator   FUEL TAX                       March 2020 Fuel/Mileage Tax           57.55
       8/1/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                     100
       8/1/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                     100
       8/1/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                    51.32
       8/1/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                     100
       8/1/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                     100
       8/1/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                     100
       8/1/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                     100
       8/1/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                     100

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       8/1/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                      100
       8/1/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/1/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/1/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/1/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/1/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/1/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/1/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/1/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/1/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.11
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.11
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/1/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/1/2020    742   CT0085   Owner Operator   Toll Charges                   Q13171 Benicia 1                          26
       8/1/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 241074 re-do of truck l        382.72
       8/1/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
       8/1/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           276
       8/1/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.45
       8/1/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           135
       8/1/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.02
       8/1/2020    742   DA0067   Owner Operator   IRP License Deduction          LCIL:2020 - 33847                      49.43
       8/1/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
       8/1/2020    742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                     17.62
       8/1/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
       8/1/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
       8/1/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.62
       8/1/2020    742   DC0117   Owner Operator   IRP License Deduction          LCIL:2020 - 34063                      49.43
       8/1/2020    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
       8/1/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                13
       8/1/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/1/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/1/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.62
       8/1/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.94
       8/1/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.25
       8/1/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                          343.6
       8/1/2020    742   DS0254   Owner Operator   IRP License Deduction          LCIL:2020 - 33487                      49.43
       8/1/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
       8/1/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.73
       8/1/2020    742   EA0039   Owner Operator   IRP License Deduction          LCIL:2020 - 33993                      49.43
       8/1/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       8/1/2020    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
       8/1/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
       8/1/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
       8/1/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.54
       8/1/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          87.75
       8/1/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           246
       8/1/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.54
       8/1/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                       100
       8/1/2020    742   ED0041   Owner Operator   IRP License Deduction          LCIL:2020 - 32897                      49.43
       8/1/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/1/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.05
       8/1/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       8/1/2020    742   ED0041   Owner Operator   Toll Charges                   32897 KTA Southern Terminal              7.2
       8/1/2020    742   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/1/2020    742   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
       8/1/2020    742   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
       8/1/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/1/2020    742   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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       8/1/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.01
       8/1/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.39
       8/1/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.37
       8/1/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.95
       8/1/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.25
       8/1/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.17
       8/1/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                       100
       8/1/2020    742   EN0016   Owner Operator   IRP License Deduction          LCIL:2020 - 32947                      49.43
       8/1/2020    742   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/1/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
       8/1/2020    742   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/1/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a               13
       8/1/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
       8/1/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/1/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/1/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/1/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.05
       8/1/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.52
       8/1/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.46
       8/1/2020    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
       8/1/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
       8/1/2020    742   JH0148   Owner Operator   IRP License Deduction          LCIL:2020 - 34329                      49.43
       8/1/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/1/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
       8/1/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
       8/1/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/1/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/1/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                          139.42
       8/1/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       8/1/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.37
       8/1/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.42
       8/1/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.81
       8/1/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          306.7
       8/1/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.22
       8/1/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.71
       8/1/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                       100
       8/1/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                       100
       8/1/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/1/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.14
       8/1/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/1/2020    742   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       8/1/2020    742   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                          56.79
       8/1/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
       8/1/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       8/1/2020    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
       8/1/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
       8/1/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       8/1/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/1/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/1/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/1/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/1/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.42
       8/1/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.29
       8/1/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
       8/1/2020    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg             7
       8/1/2020    742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg          5.25
       8/1/2020    742   PC0012   Owner Operator   Toll Charges                   32969 KTA Emporia: I-35N                18.9
       8/1/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
       8/1/2020    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
       8/1/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
       8/1/2020    742   RF0136   Owner Operator   IRP License Deduction          LCIL:2020 - 34182                      49.43
       8/1/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
       8/1/2020    742   RF0136   Owner Operator   Toll Charges                   34182 PTC Neshaminy Falls               81.6
       8/1/2020    742   RF0136   Owner Operator   Toll Charges                   34182 PTC New Stanton                   54.3
       8/1/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       8/1/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
       8/1/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
       8/1/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.96
       8/1/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.19
       8/1/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.81
       8/1/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.31
       8/1/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.48
       8/1/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           239

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       8/1/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.12
       8/1/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.55
       8/1/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/1/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            36.07
       8/1/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       8/1/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 NTTA Plaza 10 - Irving            2.4
       8/1/2020    742   RS0342   Owner Operator   T Chek Fee                     School Checks (Corp)                     100
       8/1/2020    742   RS0342   Owner Operator   T Chek Fee                     School Checks (Corp)                     300
       8/1/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
       8/1/2020    783   DS0317   Owner Operator   Advance                        7/31 Advance                           -2500
       8/1/2020    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
       8/1/2020    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
       8/1/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
       8/1/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
       8/1/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
       8/1/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
       8/1/2020    783   GR0095   Owner Operator   Advance                        7/31 Advance                           -2500
       8/1/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
       8/1/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
       8/1/2020    783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
       8/1/2020    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                            300
       8/1/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
       8/1/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
       8/1/2020    783   HP0028   Owner Operator   Advance                        7/31 Advance                           -2500
       8/1/2020    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
       8/1/2020    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
       8/1/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
       8/1/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
       8/1/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
       8/1/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
       8/1/2020    783   JK0157   Owner Operator   Advance                        7/31 Advance                           -2500
       8/1/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   86919 2011 Freightliner NTL             8.75
       8/1/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   86919 2011 Freightliner NTL             8.75
       8/1/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 86919                13
       8/1/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.26
       8/1/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.38
       8/1/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.03
       8/1/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                86919 2011 Freightliner PD             39.31
       8/1/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                86919 2011 Freightliner PD             39.31
       8/1/2020    783   MA0112   Owner Operator   Advance                        7/31 Advance                           -2500
       8/1/2020    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
       8/1/2020    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
       8/1/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.69
       8/1/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.59
       8/1/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
       8/1/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
       8/1/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
       8/1/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
       8/1/2020    783   OJ0010   Owner Operator   Advance                        7/31 Advance                           -2500
       8/1/2020    783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75
       8/1/2020    783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75
       8/1/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.56
       8/1/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.77
       8/1/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.38
       8/1/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.38
       8/1/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
       8/1/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
       8/1/2020    783   RC0294   Owner Operator   Advance                        7/31 Advance                           -2500
       8/1/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.79
       8/1/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.47
       8/1/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          165.3
       8/1/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.1
       8/1/2020    783   RM0340   Owner Operator   Advance                        7/31 Advance                           -2500
       8/1/2020    783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
       8/1/2020    783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
       8/1/2020    783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.74
       8/1/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
       8/1/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
       8/1/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
       8/1/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
       8/1/2020    783   RS0377   Owner Operator   Advance                        7/31 Advance                           -2500
       8/1/2020    783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
       8/1/2020    783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75

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       8/1/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.09
       8/1/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
       8/1/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
       8/1/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
       8/1/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
       8/1/2020    783   SM0160   Owner Operator   Advance                        7/31 Advance                           -2500
       8/1/2020    783   SM0160   Owner Operator   BOBTAIL INS.                   6867 2011 Volvo NTL                     8.75
       8/1/2020    783   SM0160   Owner Operator   BOBTAIL INS.                   6867 2011 Volvo NTL                     8.75
       8/1/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.21
       8/1/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.65
       8/1/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.25
       8/1/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                           1.56
       8/1/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.69
       8/1/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.25
       8/1/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                            284
       8/1/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.26
       8/1/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD                     28.08
       8/1/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD                     28.08
       8/1/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD Terrorism             2.5
       8/1/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD Terrorism             2.5
       8/8/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.45
       8/8/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                           28.5
       8/8/2020    709   AC0061   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             163.46
       8/8/2020    709   AC0122   Owner Operator   Advance                        7/31 Advance Reversal                   2500
       8/8/2020    709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
       8/8/2020    709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
       8/8/2020    709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
       8/8/2020    709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
       8/8/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
       8/8/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
       8/8/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                        100
       8/8/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
       8/8/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
       8/8/2020    709   AN0007   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.75
       8/8/2020    709   AN0007   Owner Operator   T Chek Fee                     Towing 32781                             475
       8/8/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 243390 TRUCK RENTAL               100
       8/8/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 243424 truck 32781 Leas        225.29
       8/8/2020    709   AP0092   Owner Operator   Advance                        7/31 Advance Reversal                 1494.2
       8/8/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       8/8/2020    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
       8/8/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
       8/8/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.86
       8/8/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.21
       8/8/2020    709   AR0064   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             603.54
       8/8/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
       8/8/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
       8/8/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       8/8/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
       8/8/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
       8/8/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       8/8/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.78
       8/8/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.66
       8/8/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.38
       8/8/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.97
       8/8/2020    709   AV0021   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              58.19
       8/8/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
       8/8/2020    709   BM0030   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             216.45
       8/8/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       8/8/2020    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
       8/8/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
       8/8/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
       8/8/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
       8/8/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.55
       8/8/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.37
       8/8/2020    709   CC0134   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              78.56
       8/8/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
       8/8/2020    709   CC0134   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                       132

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       8/8/2020    709   CC0134   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     360.22
       8/8/2020    709   CC0134   Owner Operator   Tire Purchase                  Brdgstn 6498157273 s/u 7/31/20         379.09
       8/8/2020    709   CC0178   Owner Operator   Advance                        7/31 Advance Reversal                 2413.32
       8/8/2020    709   CC0178   Owner Operator   Broker Pay Void/Reissue        Void Check 977677                    -2413.32
       8/8/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
       8/8/2020    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                     12.5
       8/8/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                 13
       8/8/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             300
       8/8/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
       8/8/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          325.22
       8/8/2020    709   CM0119   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax               16.17
       8/8/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                       33.64
       8/8/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       8/8/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    24.07
       8/8/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
       8/8/2020    709   CM0224   Owner Operator   Advance                        7/31 Advance Reversal                  920.44
       8/8/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
       8/8/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                 13
       8/8/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                             200
       8/8/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       8/8/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           94.86
       8/8/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          292.22
       8/8/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.33
       8/8/2020    709   CR0064   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax                30.3
       8/8/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       8/8/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 32.89
       8/8/2020    709   CR0064   Owner Operator   Toll Charges                   Q1247,Benicia,4                            26
       8/8/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 243419 Q1247 Sub Lease          263.91
       8/8/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL              8.75
       8/8/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                 13
       8/8/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                              50
       8/8/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          355.19
       8/8/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          423.54
       8/8/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          408.95
       8/8/2020    709   CV0028   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax                1.48
       8/8/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       8/8/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD              68.18
       8/8/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                     -35
       8/8/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                     -35
       8/8/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL                8.75
       8/8/2020    709   DL0029   Owner Operator   Broker Pre Pass                Q13199 PrePass Device                    12.5
       8/8/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          243.15
       8/8/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.43
       8/8/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.56
       8/8/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.98
       8/8/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.44
       8/8/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.32
       8/8/2020    709   DL0029   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax               26.25
       8/8/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment          258.52
       8/8/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       8/8/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  -140.44
       8/8/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                  -140.44
       8/8/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                24.07
       8/8/2020    709   DL0029   Owner Operator   Tire Purchase                  Brdgstn 6498389058 s/u 8/1/20          386.74
       8/8/2020    709   DL0029   Owner Operator   Toll Charges                   Q13199,Carquinez Bridge,11                 26
       8/8/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 243395 Q13199 Lease             193.11
       8/8/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
       8/8/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                 13
       8/8/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
       8/8/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
       8/8/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.36
       8/8/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          335.22
       8/8/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          394.68
       8/8/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          380.55
       8/8/2020    709   DL0107   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax               -9.37
       8/8/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment          366.62
       8/8/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       8/8/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 67.46
       8/8/2020    709   DL0107   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     178.06
       8/8/2020    709   DL0107   Owner Operator   Tire Purchase                  Bridgestone - Tire Purchase            181.66
       8/8/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245,Carquinez Bridge,12                  16
       8/8/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
       8/8/2020    709   DM0257   Owner Operator   Broker Pre Pass                34328 PrePass Device                     12.5

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       8/8/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.65
       8/8/2020    709   DM0257   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             357.79
       8/8/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
       8/8/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       8/8/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
       8/8/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
       8/8/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       8/8/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       8/8/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.63
       8/8/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                           379
       8/8/2020    709   DS0049   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax               4.71
       8/8/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
       8/8/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       8/8/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
       8/8/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
       8/8/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.13
       8/8/2020    709   DS0225   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             -16.47
       8/8/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
       8/8/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       8/8/2020    709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                    12.5
       8/8/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
       8/8/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.45
       8/8/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.91
       8/8/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.94
       8/8/2020    709   DS0288   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             283.53
       8/8/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
       8/8/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/8/2020    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
       8/8/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
       8/8/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       8/8/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/8/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/8/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.15
       8/8/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.16
       8/8/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.79
       8/8/2020    709   EA0003   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             201.39
       8/8/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
       8/8/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
       8/8/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
       8/8/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       8/8/2020    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
       8/8/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
       8/8/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           750
       8/8/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
       8/8/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       8/8/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.45
       8/8/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.12
       8/8/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
       8/8/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       8/8/2020    709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/8/2020    709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
       8/8/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.83
       8/8/2020    709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
       8/8/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/8/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       8/8/2020    709   EO0014   Owner Operator   Broker Pre Pass                33846 PrePass Device                    12.5
       8/8/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
       8/8/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/8/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/8/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/8/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/8/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/8/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.53
       8/8/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.48

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       8/8/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           142
       8/8/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          290.1
       8/8/2020    709   EO0014   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              146.4
       8/8/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
       8/8/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       8/8/2020    709   EO0014   Owner Operator   Toll Charges                   33846 BATA Carquinez Bridge               26
       8/8/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       8/8/2020    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
       8/8/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
       8/8/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/8/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/8/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/8/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/8/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.55
       8/8/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.42
       8/8/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
       8/8/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.39
       8/8/2020    709   FS0039   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax               -5.8
       8/8/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
       8/8/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       8/8/2020    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
       8/8/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
       8/8/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          231.6
       8/8/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.94
       8/8/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.24
       8/8/2020    709   FV0001   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              84.55
       8/8/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
       8/8/2020    709   FV0001   Owner Operator   Toll Charges                   21521B,Bay Bridge,18                      26
       8/8/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       8/8/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
       8/8/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
       8/8/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
       8/8/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       8/8/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.18
       8/8/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.95
       8/8/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.81
       8/8/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
       8/8/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
       8/8/2020    709   GA0051   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                        64
       8/8/2020    709   GA0051   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    187.92
       8/8/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 243420 Q1200 Lease             238.16
       8/8/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       8/8/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
       8/8/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.55
       8/8/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
       8/8/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       8/8/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
       8/8/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/8/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.56
       8/8/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.17
       8/8/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.63
       8/8/2020    709   GW0043   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax               1.08
       8/8/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
       8/8/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       8/8/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
       8/8/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.92
       8/8/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           91.6
       8/8/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.18
       8/8/2020    709   HC0023   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              -6.84
       8/8/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
       8/8/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       8/8/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
       8/8/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/8/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.21

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       8/8/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         573.64
       8/8/2020    709   HG0007   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              30.54
       8/8/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
       8/8/2020    709   HG0007   Owner Operator   Toll Charges                   34565 BATA Bay Bridge                     26
       8/8/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       8/8/2020    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
       8/8/2020    709   HG0027   Owner Operator   Communication Charge           Safety Tech Hardware 33418                13
       8/8/2020    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.52
       8/8/2020    709   HG0027   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              34.77
       8/8/2020    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         302.23
       8/8/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.15
       8/8/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       8/8/2020    709   IA0007   Owner Operator   Broker Pre Pass                34012 PrePass Device                    12.5
       8/8/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
       8/8/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
       8/8/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.82
       8/8/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.97
       8/8/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.97
       8/8/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.97
       8/8/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.54
       8/8/2020    709   IA0007   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             -44.35
       8/8/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
       8/8/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
       8/8/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/8/2020    709   IR0002   Owner Operator   Broker Pre Pass                32901 PrePass Device                    12.5
       8/8/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
       8/8/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.89
       8/8/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.58
       8/8/2020    709   IR0002   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             -72.55
       8/8/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
       8/8/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/8/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
       8/8/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       8/8/2020    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
       8/8/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
       8/8/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       8/8/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.6
       8/8/2020    709   JC0292   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             249.44
       8/8/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
       8/8/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 243430 Q13197 Lease            276.63
       8/8/2020    709   JC0418   Owner Operator   Advance                        7/31 Advance Reversal                  2500
       8/8/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.95
       8/8/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       8/8/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
       8/8/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
       8/8/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       8/8/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/8/2020    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
       8/8/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
       8/8/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
       8/8/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       8/8/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.58
       8/8/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.08
       8/8/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.04
       8/8/2020    709   JG0017   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              46.14
       8/8/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
       8/8/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
       8/8/2020    709   JG0017   Owner Operator   Toll Charges                   32908,Bay Bridge,18                       26
       8/8/2020    709   JG0017   Owner Operator   Toll Charges                   32908,Bay Bridge,18                       26
       8/8/2020    709   JG0017   Owner Operator   Toll Charges                   32908,Bay Bridge,18                       26
       8/8/2020    709   JG0017   Owner Operator   Toll Charges                   32908,Richmond,3                          26
       8/8/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
       8/8/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/8/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
       8/8/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/8/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200

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       8/8/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.02
       8/8/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.47
       8/8/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          407.5
       8/8/2020    709   JG0072   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             514.45
       8/8/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
       8/8/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
       8/8/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
       8/8/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       8/8/2020    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                    12.5
       8/8/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                13
       8/8/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.72
       8/8/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
       8/8/2020    709   JL0280   Owner Operator   Advance                        7/31 Advance Reversal                1770.65
       8/8/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
       8/8/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       8/8/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                13
       8/8/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/8/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/8/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.07
       8/8/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.05
       8/8/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
       8/8/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
       8/8/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
       8/8/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
       8/8/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
       8/8/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 243422 Balloon Payoff          234.05
       8/8/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
       8/8/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
       8/8/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159               13
       8/8/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/8/2020    709   JS0265   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             113.23
       8/8/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
       8/8/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
       8/8/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/8/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
       8/8/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         249.27
       8/8/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/8/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/8/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           197
       8/8/2020    709   KP0004   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             388.99
       8/8/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
       8/8/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
       8/8/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/8/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
       8/8/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
       8/8/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
       8/8/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.2
       8/8/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.63
       8/8/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.21
       8/8/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
       8/8/2020    709   KT0055   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    328.87
       8/8/2020    709   KW0091   Owner Operator   Advance                        7/31 Advance Reversal                 476.88
       8/8/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       8/8/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
       8/8/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
       8/8/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 243393 Balloon Pay off         200.15
       8/8/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
       8/8/2020    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
       8/8/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
       8/8/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
       8/8/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/8/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          44.98
       8/8/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.39

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       8/8/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         405.81
       8/8/2020    709   LS0023   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              66.98
       8/8/2020    709   LS0023   Owner Operator   IRP License Deduction          LCIL:2020 - 33655                      49.43
       8/8/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
       8/8/2020    709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     26
       8/8/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       8/8/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
       8/8/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.43
       8/8/2020    709   MA0092   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             172.96
       8/8/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
       8/8/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       8/8/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
       8/8/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                          1250
       8/8/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.83
       8/8/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.41
       8/8/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.85
       8/8/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.83
       8/8/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
       8/8/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       8/8/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
       8/8/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.03
       8/8/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.76
       8/8/2020    709   MG0067   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             -40.85
       8/8/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
       8/8/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       8/8/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       8/8/2020    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
       8/8/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                13
       8/8/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
       8/8/2020    709   MP0035   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             233.86
       8/8/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
       8/8/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       8/8/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       8/8/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       8/8/2020    709   NB0029   Owner Operator   Communication Charge           Safety Tech Hardware 32986                13
       8/8/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
       8/8/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/8/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/8/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   NB0029   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.74
       8/8/2020    709   NB0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.78
       8/8/2020    709   NB0029   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax            1068.23
       8/8/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
       8/8/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       8/8/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
       8/8/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       8/8/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       8/8/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
       8/8/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            150
       8/8/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       8/8/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          62.22
       8/8/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.53
       8/8/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           217
       8/8/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
       8/8/2020    709   PM0099   Owner Operator   Advance                        7/31 Advance Reversal                2397.85
       8/8/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       8/8/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
       8/8/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          143.8
       8/8/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.38
       8/8/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.09
       8/8/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                           266
       8/8/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.35
       8/8/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.98
       8/8/2020    709   RB0170   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              69.22
       8/8/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       8/8/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
       8/8/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       8/8/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
       8/8/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.6
       8/8/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.17
       8/8/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.49
       8/8/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          14.85
       8/8/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.37
       8/8/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.18
       8/8/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.23
       8/8/2020    709   RC0030   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             -12.63
       8/8/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
       8/8/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       8/8/2020    709   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.53
       8/8/2020    709   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.19
       8/8/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/8/2020    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
       8/8/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
       8/8/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
       8/8/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.51
       8/8/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.45
       8/8/2020    709   RL0017   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             -62.83
       8/8/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
       8/8/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
       8/8/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/8/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
       8/8/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/8/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
       8/8/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       8/8/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.76
       8/8/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.42
       8/8/2020    709   RL0062   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             403.77
       8/8/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
       8/8/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
       8/8/2020    709   RL0062   Owner Operator   Toll Charges                   32912,Carquinez Bridge,8                  26
       8/8/2020    709   RL0062   Owner Operator   Toll Charges                   32912,Carquinez Bridge,8                  26
       8/8/2020    709   RL0062   Owner Operator   Toll Charges                   32912,Carquinez Bridge,8                  26
       8/8/2020    709   RL0062   Owner Operator   Toll Charges                   32912,Carquinez Bridge,9                  26
       8/8/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
       8/8/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       8/8/2020    709   RL0180   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
       8/8/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
       8/8/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
       8/8/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          157.8
       8/8/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.78
       8/8/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
       8/8/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
       8/8/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       8/8/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       8/8/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
       8/8/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       8/8/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
       8/8/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.18
       8/8/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.02
       8/8/2020    709   RM0026   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax               225
       8/8/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
       8/8/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       8/8/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
       8/8/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.04
       8/8/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
       8/8/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 243367 Q1202 Balloon           234.05
       8/8/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
       8/8/2020    709   RR0123   Owner Operator   Broker Pre Pass                33488 PrePass Device                    12.5
       8/8/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
       8/8/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.81
       8/8/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.55
       8/8/2020    709   RR0123   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             176.71

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       8/8/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
       8/8/2020    709   RR0123   Owner Operator   Toll Charges                   33488,Benicia,1                           26
       8/8/2020    709   RR0123   Owner Operator   Toll Charges                   33488,Carquinez Bridge,10                 26
       8/8/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 243457 Past tractor ren          100
       8/8/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       8/8/2020    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
       8/8/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
       8/8/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       8/8/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/8/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.53
       8/8/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.82
       8/8/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.43
       8/8/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.91
       8/8/2020    709   SB0009   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             194.19
       8/8/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
       8/8/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
       8/8/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
       8/8/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       8/8/2020    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
       8/8/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
       8/8/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
       8/8/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          279.1
       8/8/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.83
       8/8/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.09
       8/8/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.97
       8/8/2020    709   SB0103   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             238.07
       8/8/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
       8/8/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       8/8/2020    709   SB0103   Owner Operator   Toll Charges                   33037,Benicia,2                           26
       8/8/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 243395 3303Truck Lease         133.15
       8/8/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       8/8/2020    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
       8/8/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
       8/8/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           314
       8/8/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           275
       8/8/2020    709   SM0109   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             297.45
       8/8/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
       8/8/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
       8/8/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
       8/8/2020    709   SM0109   Owner Operator   Toll Charges                   33195,Carquinez Bridge,11                 26
       8/8/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       8/8/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       8/8/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
       8/8/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/8/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/8/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.18
       8/8/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.09
       8/8/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.81
       8/8/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.39
       8/8/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.78
       8/8/2020    709   SN0019   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              72.34
       8/8/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
       8/8/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       8/8/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
       8/8/2020    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/8/2020    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           122
       8/8/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           265
       8/8/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           236
       8/8/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           320
       8/8/2020    709   VB0015   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              10.41
       8/8/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
       8/8/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       8/8/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150

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       8/8/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       8/8/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.37
       8/8/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.36
       8/8/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.95
       8/8/2020    709   VJ0006   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax               71.8
       8/8/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
       8/8/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       8/8/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
       8/8/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
       8/8/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       8/8/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       8/8/2020    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
       8/8/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
       8/8/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/8/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/8/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/8/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/8/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/8/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.2
       8/8/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          189.6
       8/8/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           13.5
       8/8/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.88
       8/8/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.39
       8/8/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.71
       8/8/2020    709   WH0087   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              92.47
       8/8/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
       8/8/2020    709   WH0087   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.85
       8/8/2020    709   WH0087   Owner Operator   T Chek Fee                     Tractor Repair Q1239                  185.45
       8/8/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       8/8/2020    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
       8/8/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
       8/8/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/8/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/8/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/8/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/8/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.93
       8/8/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.45
       8/8/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.21
       8/8/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.29
       8/8/2020    742   AP0047   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             602.32
       8/8/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
       8/8/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       8/8/2020    742   AP0047   Owner Operator   Toll Charges                   32604 BATA Carquinez Bridge               26
       8/8/2020    742   AP0047   Owner Operator   Toll Charges                   32604 OTA Kilpatrick Turnpike           4.45
       8/8/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
       8/8/2020    742   BS0078   Owner Operator   Broker Pre Pass                34900 PrePass Device                    12.5
       8/8/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
       8/8/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.66
       8/8/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.86
       8/8/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.07
       8/8/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.43
       8/8/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.53
       8/8/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.83
       8/8/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.61
       8/8/2020    742   BS0078   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              189.4
       8/8/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
       8/8/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
       8/8/2020    742   BS0078   Owner Operator   Toll Charges                   34900 HCTRA Ship Channel Bridg             7
       8/8/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       8/8/2020    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
       8/8/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
       8/8/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.06
       8/8/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.18
       8/8/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.46
       8/8/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
       8/8/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75

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       8/8/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       8/8/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       8/8/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       8/8/2020    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
       8/8/2020    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
       8/8/2020    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
       8/8/2020    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           PNet Hware Q13171                          8
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171                8
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171                8
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171                8
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171                8
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171                8
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171                8
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171                8
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171                8
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171                8
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
       8/8/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
       8/8/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.67
       8/8/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.44
       8/8/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.69
       8/8/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.43
       8/8/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                      100
       8/8/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                     49.43
       8/8/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                      100
       8/8/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                      100
       8/8/2020    742   CT0085   Owner Operator   IRP License Deduction          LCIL:2020 - Q13171                     48.68
       8/8/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       8/8/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       8/8/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       8/8/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.11
       8/8/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/8/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/8/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/8/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       8/8/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 243359 re-do of truck l        525.75
       8/8/2020    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14
       8/8/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/8/2020    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
       8/8/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
       8/8/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.01
       8/8/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           288
       8/8/2020    742   DA0067   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             208.47
       8/8/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
       8/8/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
       8/8/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/8/2020    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge,10                 26
       8/8/2020    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge,10                 26
       8/8/2020    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge,12                 26
       8/8/2020    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge,12                 26
       8/8/2020    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge,12                 26
       8/8/2020    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge,12                 26
       8/8/2020    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge,6                  26
       8/8/2020    742   DA0067   Owner Operator   Toll Charges                   33847,Carquinez Bridge,7                  26
       8/8/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
       8/8/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.04
       8/8/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.07
       8/8/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.25
       8/8/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.72
       8/8/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          404.5
       8/8/2020    742   DC0117   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              182.4
       8/8/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63

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       8/8/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       8/8/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                13
       8/8/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.67
       8/8/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.08
       8/8/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.47
       8/8/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.89
       8/8/2020    742   DS0254   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             419.77
       8/8/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
       8/8/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487 HCTRA Sam Houston - NE M             7
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Merritt Main Lane G          7.56
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA PGBT-MLP7-13                 5.64
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Plaza 10 - Irving             2.4
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Plaza 6 - Shiloh Rd          1.31
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Plaza 8 - N. Carrol          5.24
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487 NTTA Plaza 9 - Carrollto          4.16
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487,Antioch Bridge,1                    26
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487,Antioch Bridge,1                    16
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487,Antioch Bridge,1                    26
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487,Antioch Bridge,1                    26
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487,Antioch Bridge,1                    16
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487,Bay Bridge,10                       16
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487,Benicia,12                          26
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487,Benicia,4                           26
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487,Carquinez Bridge,12                 26
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487,Carquinez Bridge,4                  26
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   33487,Dumbarton Bridge,6                  16
       8/8/2020    742   DS0254   Owner Operator   Toll Charges                   W7010/33487,Carquinez Bridge,1            26
       8/8/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 243100 Trk 33487 Lease          434.2
       8/8/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 243359 Trk 33487 Lease          434.2
       8/8/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       8/8/2020    742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                    12.5
       8/8/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
       8/8/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.14
       8/8/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.49
       8/8/2020    742   EA0039   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              77.91
       8/8/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
       8/8/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       8/8/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       8/8/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
       8/8/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.41
       8/8/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.65
       8/8/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.56
       8/8/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.17
       8/8/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.52
       8/8/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.09
       8/8/2020    742   ED0041   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              44.25
       8/8/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
       8/8/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       8/8/2020    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
       8/8/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.82
       8/8/2020    742   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.47
       8/8/2020    742   EN0016   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             126.67
       8/8/2020    742   EN0016   Owner Operator   Toll Charges                   32947,Carquinez Bridge,11                 26
       8/8/2020    742   EN0016   Owner Operator   Toll Charges                   32947,Carquinez Bridge,12                 26
       8/8/2020    742   EN0016   Owner Operator   Toll Charges                   32947,Carquinez Bridge,9                  26
       8/8/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       8/8/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a               13
       8/8/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
       8/8/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       8/8/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
       8/8/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
       8/8/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/8/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/8/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/8/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.52
       8/8/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.85
       8/8/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.68
       8/8/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.23
       8/8/2020    742   JB0465   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              67.84

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       8/8/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
       8/8/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
       8/8/2020    742   JB0465   Owner Operator   Toll Charges                   34804 NTTA Plaza 10 - Irving             3.6
       8/8/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       8/8/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
       8/8/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         660.02
       8/8/2020    742   JH0148   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             543.07
       8/8/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
       8/8/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/8/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
       8/8/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/8/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.16
       8/8/2020    742   JS0390   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             181.08
       8/8/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                       100
       8/8/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
       8/8/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       8/8/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
       8/8/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
       8/8/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
       8/8/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/8/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/8/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
       8/8/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
       8/8/2020    742   MH0117   Owner Operator   Toll Charges                   34932,Carquinez Bridge,11                 26
       8/8/2020    742   MH0117   Owner Operator   Toll Charges                   34932,Carquinez Bridge,8                  26
       8/8/2020    742   MH0117   Owner Operator   Toll Charges                   34932,Carquinez Bridge,9                  26
       8/8/2020    742   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.95
       8/8/2020    742   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.62
       8/8/2020    742   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
       8/8/2020    742   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
       8/8/2020    742   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
       8/8/2020    742   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
       8/8/2020    742   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
       8/8/2020    742   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
       8/8/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
       8/8/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
       8/8/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
       8/8/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
       8/8/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
       8/8/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
       8/8/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
       8/8/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
       8/8/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       8/8/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
       8/8/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       8/8/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       8/8/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       8/8/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.1
       8/8/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.73
       8/8/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.02
       8/8/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.19
       8/8/2020    742   PC0012   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              45.68
       8/8/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
       8/8/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
       8/8/2020    742   PC0012   Owner Operator   Toll Charges                   32969,Carquinez Bridge,8                  26
       8/8/2020    742   PC0012   Owner Operator   Toll Charges                   32969,Carquinez Bridge,8                  26
       8/8/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
       8/8/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
       8/8/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
       8/8/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            150
       8/8/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       8/8/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.04
       8/8/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.03
       8/8/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.55
       8/8/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.04
       8/8/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.36
       8/8/2020    742   RF0136   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              84.43
       8/8/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95

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       8/8/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
       8/8/2020    742   RF0136   Owner Operator   Toll Charges                   34182 ILTOLL Route 80 (East)             5.1
       8/8/2020    742   RF0136   Owner Operator   Toll Charges                   34182,Carquinez Bridge,12                 26
       8/8/2020    742   RF0136   Owner Operator   Toll Charges                   34182,Carquinez Bridge,12                 26
       8/8/2020    742   RF0136   Owner Operator   Toll Charges                   34182,Carquinez Bridge,12                 26
       8/8/2020    742   RF0136   Owner Operator   Toll Charges                   34182,Carquinez Bridge,12                 26
       8/8/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       8/8/2020    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
       8/8/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
       8/8/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.92
       8/8/2020    742   RN0054   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             149.89
       8/8/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
       8/8/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       8/8/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 243091 Balloon Payoff          335.75
       8/8/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 243259 Balloon Payoff          335.75
       8/8/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       8/8/2020    742   SK0049   Owner Operator   Broker Pre Pass                33934 PrePass Device                    12.5
       8/8/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
       8/8/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
       8/8/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       8/8/2020    742   TC0098   Owner Operator   Advance                        EFS 249407 s/u 3 wks                  254.19
       8/8/2020    742   TC0098   Owner Operator   Advance                        EFS 249407 s/u 3 wks                 -762.55
       8/8/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       8/8/2020    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
       8/8/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
       8/8/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
       8/8/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
       8/8/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
       8/8/2020    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
       8/8/2020    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       8/8/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.93
       8/8/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.96
       8/8/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.83
       8/8/2020    742   TC0098   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax              12.71
       8/8/2020    742   TC0098   Owner Operator   IRP License Deduction          LCIL:2020 - 33489                      49.43
       8/8/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
       8/8/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       8/8/2020    742   TC0098   Owner Operator   T Chek Fee                     ExpressCheck Fee                        7.55
       8/8/2020    742   TC0098   Owner Operator   T Chek Fee                     Tractor Repair 33489                    755
       8/8/2020    742   TC0098   Owner Operator   Toll Charges                   33489,Carquinez Bridge,12                 26
       8/8/2020    742   TC0098   Owner Operator   Toll Charges                   33489,Carquinez Bridge,12                 26
       8/8/2020    742   TC0098   Owner Operator   Toll Charges                   33489,Carquinez Bridge,12                 26
       8/8/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 242759 33489 Lease Paym         58.06
       8/8/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 242923 33489 Lease Paym        412.16
       8/8/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 243086 33489 Lease Paym        412.16
       8/8/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 243255 33489 Lease Paym        412.16
       8/8/2020    783   DS0317   Owner Operator   Advance                        7/31 Advance Reversal                2157.65
       8/8/2020    783   GR0095   Owner Operator   Advance                        7/31 Advance Reversal                2045.18
       8/8/2020    783   HP0028   Owner Operator   Advance                        7/31 Advance Reversal                  2500
       8/8/2020    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
       8/8/2020    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
       8/8/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.66
       8/8/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.13
       8/8/2020    783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
       8/8/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
       8/8/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
       8/8/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
       8/8/2020    783   JK0157   Owner Operator   Advance                        7/31 Advance Reversal                  2500
       8/8/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   86919 2011 Freightliner NTL             8.75
       8/8/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   86919 2011 Freightliner NTL             8.75
       8/8/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 86919                13
       8/8/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.67
       8/8/2020    783   JK0157   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                86919 2011 Freightliner PD             39.31
       8/8/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                86919 2011 Freightliner PD             39.31
       8/8/2020    783   MA0112   Owner Operator   Advance                        7/31 Advance Reversal                 786.88
       8/8/2020    783   OJ0010   Owner Operator   Advance                        7/31 Advance Reversal                  2500
       8/8/2020    783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75

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       8/8/2020    783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75
       8/8/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.54
       8/8/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.11
       8/8/2020    783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.38
       8/8/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.38
       8/8/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
       8/8/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
       8/8/2020    783   RC0294   Owner Operator   Advance                        7/31 Advance Reversal                  2500
       8/8/2020    783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
       8/8/2020    783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
       8/8/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.2
       8/8/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.16
       8/8/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.79
       8/8/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.64
       8/8/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.65
       8/8/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
       8/8/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
       8/8/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
       8/8/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
       8/8/2020    783   RM0340   Owner Operator   Advance                        7/31 Advance Reversal                  2500
       8/8/2020    783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
       8/8/2020    783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
       8/8/2020    783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.79
       8/8/2020    783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       8/8/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
       8/8/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
       8/8/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
       8/8/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
       8/8/2020    783   RS0377   Owner Operator   Advance                        7/31 Advance Reversal                 621.36
       8/8/2020    783   SM0160   Owner Operator   Advance                        7/31 Advance Reversal                1127.05
      8/15/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      8/15/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      8/15/2020    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      8/15/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      8/15/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      8/15/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/15/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/15/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.25
      8/15/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.35
      8/15/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.88
      8/15/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.39
      8/15/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.4
      8/15/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      8/15/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      8/15/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 243486 Q13148 Trac Leas        296.09
      8/15/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 243655 Q13148 Trac Leas        296.09
      8/15/2020    709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      8/15/2020    709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      8/15/2020    709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
      8/15/2020    709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
      8/15/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      8/15/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      8/15/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                       100
      8/15/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      8/15/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      8/15/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 243562 TRUCK RENTAL              100
      8/15/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 243591 truck 32781 Leas        225.29
      8/15/2020    709   AP0092   Owner Operator   Advance                        7/31 Advance Reversal                 1005.8
      8/15/2020    709   AP0092   Owner Operator   BOBTAIL INS.                   971 2012 Freightliner NTL               8.75
      8/15/2020    709   AP0092   Owner Operator   BOBTAIL INS.                   971 2012 Freightliner NTL               8.75
      8/15/2020    709   AP0092   Owner Operator   BOBTAIL INS.                   971 2012 Freightliner NTL               8.75
      8/15/2020    709   AP0092   Owner Operator   BOBTAIL INS.                   971 2012 Freightliner NTL               8.75
      8/15/2020    709   AP0092   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/15/2020    709   AP0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/15/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.66
      8/15/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.94
      8/15/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.01
      8/15/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.89
      8/15/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.77

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      8/15/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.84
      8/15/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.39
      8/15/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.95
      8/15/2020    709   AP0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   AP0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   AP0092   Owner Operator   PHYSICAL DAMAGE                971 2012 Freightliner PD               16.05
      8/15/2020    709   AP0092   Owner Operator   PHYSICAL DAMAGE                971 2012 Freightliner PD               16.05
      8/15/2020    709   AP0092   Owner Operator   PHYSICAL DAMAGE                971 2012 Freightliner PD               16.05
      8/15/2020    709   AP0092   Owner Operator   PHYSICAL DAMAGE                971 2012 Freightliner PD               16.02
      8/15/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      8/15/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      8/15/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.78
      8/15/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.63
      8/15/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         134.53
      8/15/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.89
      8/15/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           163
      8/15/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      8/15/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 243658 Baloon Q13147           357.62
      8/15/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      8/15/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      8/15/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      8/15/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/15/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.14
      8/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.22
      8/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.03
      8/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.06
      8/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.7
      8/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           72.9
      8/15/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          121.1
      8/15/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      8/15/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 243622 Q13169 Sublease         352.68
      8/15/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      8/15/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      8/15/2020    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      8/15/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      8/15/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      8/15/2020    709   BM0030   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             254.87
      8/15/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      8/15/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      8/15/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      8/15/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      8/15/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      8/15/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      8/15/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/15/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/15/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.78
      8/15/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.55
      8/15/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      8/15/2020    709   CC0134   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                      132
      8/15/2020    709   CC0134   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    360.22
      8/15/2020    709   CC0134   Owner Operator   Tire Purchase                  Brdgstn 6498157273 s/u 7/31/20        379.09
      8/15/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/15/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      8/15/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/15/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/15/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.87
      8/15/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.89
      8/15/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      8/15/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      8/15/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/15/2020    709   CM0224   Owner Operator   Advance                        7/31 Advance Reversal                1579.56
      8/15/2020    709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      8/15/2020    709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      8/15/2020    709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      8/15/2020    709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      8/15/2020    709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13

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      8/15/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                        490.38
      8/15/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                        490.53
      8/15/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                        507.76
      8/15/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                        520.62
      8/15/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                        496.92
      8/15/2020    709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2020    709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2020    709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD             16.02
      8/15/2020    709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD             16.05
      8/15/2020    709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD             16.05
      8/15/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL               8.75
      8/15/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247               13
      8/15/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         91.36
      8/15/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        308.64
      8/15/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         94.47
      8/15/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.1
      8/15/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD               32.89
      8/15/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 243586 Q1247 Sub Lease        263.91
      8/15/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL            8.75
      8/15/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482               13
      8/15/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                            50
      8/15/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        145.87
      8/15/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        269.68
      8/15/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        390.26
      8/15/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                        440.39
      8/15/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD            68.18
      8/15/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL              8.75
      8/15/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         74.52
      8/15/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        262.85
      8/15/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                        253.63
      8/15/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment        258.52
      8/15/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD              24.07
      8/15/2020    709   DL0029   Owner Operator   Tire Purchase                  Brdgstn 6498389058 s/u 8/1/20        386.74
      8/15/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 243561 Q13199 Lease           193.11
      8/15/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL               8.75
      8/15/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245               13
      8/15/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                           300
      8/15/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
      8/15/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        363.71
      8/15/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        375.89
      8/15/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        447.62
      8/15/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                        382.61
      8/15/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment        366.62
      8/15/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD               67.46
      8/15/2020    709   DL0107   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                   178.06
      8/15/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                  8.75
      8/15/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880               13
      8/15/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           500
      8/15/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                          5
      8/15/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        149.04
      8/15/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.16
      8/15/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                        366.77
      8/15/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  114.7
      8/15/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                    26
      8/15/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                    26
      8/15/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                     8.75
      8/15/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320               13
      8/15/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                         1000
      8/15/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        545.19
      8/15/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                        505.43
      8/15/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                     40.11
      8/15/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                  8.75
      8/15/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266               13
      8/15/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                        307.96
      8/15/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.43
      8/15/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/15/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                  43.13

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      8/15/2020    709   DT0153   Owner Operator   Advance                        7/31 Advance Reversal                  2500
      8/15/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.31
      8/15/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.66
      8/15/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.78
      8/15/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.82
      8/15/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.36
      8/15/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.21
      8/15/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/15/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      8/15/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/15/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.43
      8/15/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.82
      8/15/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.51
      8/15/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      8/15/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      8/15/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      8/15/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      8/15/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      8/15/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           750
      8/15/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/15/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/15/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.45
      8/15/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.27
      8/15/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      8/15/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      8/15/2020    709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/15/2020    709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      8/15/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.82
      8/15/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.67
      8/15/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.21
      8/15/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.98
      8/15/2020    709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      8/15/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/15/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      8/15/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      8/15/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/15/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          136.5
      8/15/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.91
      8/15/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.58
      8/15/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      8/15/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      8/15/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      8/15/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      8/15/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/15/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/15/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/15/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/15/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.32
      8/15/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.43
      8/15/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.38
      8/15/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      8/15/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 243621 truck lease 3304        434.29
      8/15/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/15/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      8/15/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.01
      8/15/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.48
      8/15/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.56
      8/15/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      8/15/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/15/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      8/15/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      8/15/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/15/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/15/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.86
      8/15/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          327.6
      8/15/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.75
      8/15/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.66

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      8/15/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      8/15/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      8/15/2020    709   GA0051   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                        64
      8/15/2020    709   GA0051   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    187.92
      8/15/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 243587 Q1200 Lease             238.16
      8/15/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      8/15/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      8/15/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           309
      8/15/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      8/15/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      8/15/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      8/15/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/15/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/15/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/15/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/15/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.62
      8/15/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.01
      8/15/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.4
      8/15/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.86
      8/15/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      8/15/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 243594 Q1109 Lease             302.85
      8/15/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      8/15/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      8/15/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.95
      8/15/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.23
      8/15/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.37
      8/15/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      8/15/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 243592 Q13170                  352.68
      8/15/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      8/15/2020    709   HG0007   Owner Operator   Charge back by affiliate       CTMS - 243601 TRAILER WASH            -58.99
      8/15/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      8/15/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/15/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/15/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.92
      8/15/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         668.08
      8/15/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      8/15/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/15/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      8/15/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      8/15/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.31
      8/15/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.63
      8/15/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.46
      8/15/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      8/15/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      8/15/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/15/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      8/15/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.62
      8/15/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          333.1
      8/15/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      8/15/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/15/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      8/15/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      8/15/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      8/15/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      8/15/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/15/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/15/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/15/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/15/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.02
      8/15/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.1
      8/15/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      8/15/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 243593 Q13197 Lease            276.63
      8/15/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      8/15/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      8/15/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75

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      8/15/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      8/15/2020    709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      8/15/2020    709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      8/15/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.5
      8/15/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                          123.8
      8/15/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.38
      8/15/2020    709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.07
      8/15/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.07
      8/15/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.04
      8/15/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.07
      8/15/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      8/15/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      8/15/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      8/15/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      8/15/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/15/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      8/15/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      8/15/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      8/15/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/15/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      8/15/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/15/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/15/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.77
      8/15/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.13
      8/15/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.38
      8/15/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      8/15/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      8/15/2020    709   JG0017   Owner Operator   Repair Order                   CTMS - 243601 REPAIR                  -58.28
      8/15/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                         490.64
      8/15/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/15/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      8/15/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/15/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/15/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/15/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/15/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         417.99
      8/15/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.09
      8/15/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      8/15/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
      8/15/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                         499.05
      8/15/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/15/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                13
      8/15/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.27
      8/15/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      8/15/2020    709   JL0280   Owner Operator   Advance                        7/31 Advance Reversal                 729.35
      8/15/2020    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                   8.75
      8/15/2020    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                   8.75
      8/15/2020    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                   8.75
      8/15/2020    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                   8.75
      8/15/2020    709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                 13
      8/15/2020    709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                 13
      8/15/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.73
      8/15/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.2
      8/15/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                          214.2
      8/15/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.68
      8/15/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.48
      8/15/2020    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                   33.02
      8/15/2020    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                   33.04
      8/15/2020    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                   33.04
      8/15/2020    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                   33.04
      8/15/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      8/15/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/15/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                13
      8/15/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.02
      8/15/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      8/15/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05

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      8/15/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      8/15/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      8/15/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.58
      8/15/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      8/15/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 243589 Balloon Payoff          234.05
      8/15/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/15/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      8/15/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           0.73
      8/15/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/15/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/15/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/15/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/15/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/15/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/15/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/15/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          32.31
      8/15/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           276
      8/15/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           400
      8/15/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           345
      8/15/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      8/15/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             25
      8/15/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      8/15/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      8/15/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/15/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      8/15/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      8/15/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      8/15/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.99
      8/15/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.94
      8/15/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.46
      8/15/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      8/15/2020    709   KT0055   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    328.87
      8/15/2020    709   KW0091   Owner Operator   Advance                        7/31 Advance Reversal                2023.12
      8/15/2020    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      8/15/2020    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      8/15/2020    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      8/15/2020    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      8/15/2020    709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      8/15/2020    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      8/15/2020    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      8/15/2020    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      8/15/2020    709   LL0132   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.44
      8/15/2020    709   LL0132   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.28
      8/15/2020    709   LL0132   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.32
      8/15/2020    709   LL0132   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.51
      8/15/2020    709   LL0132   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.74
      8/15/2020    709   LL0132   Owner Operator   Fuel Purchase                  Fuel Purchase                        -264.44
      8/15/2020    709   LL0132   Owner Operator   Fuel Purchase                  Fuel Purchase                        -240.28
      8/15/2020    709   LL0132   Owner Operator   Fuel Purchase                  Fuel Purchase                        -263.32
      8/15/2020    709   LL0132   Owner Operator   Fuel Purchase                  Fuel Purchase                        -332.51
      8/15/2020    709   LL0132   Owner Operator   Fuel Purchase                  Fuel Purchase                        -256.74
      8/15/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      8/15/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      8/15/2020    709   LL0160   Owner Operator   IRP License Deduction          LCIL:2020 - Q1111                         21
      8/15/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      8/15/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 243559 Balloon Pay off         200.15
      8/15/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      8/15/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      8/15/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/15/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/15/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.65
      8/15/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.58
      8/15/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.24
      8/15/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.75
      8/15/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      8/15/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/15/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13

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      8/15/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           119.9
      8/15/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.56
      8/15/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.71
      8/15/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          170.34
      8/15/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/15/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        50.8
      8/15/2020    709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                   8.75
      8/15/2020    709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                   8.75
      8/15/2020    709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                   40.11
      8/15/2020    709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                   40.11
      8/15/2020    709   MC0207   Owner Operator   T Chek Fee                     School Checks (Corp)                   202.28
      8/15/2020    709   MC0207   Owner Operator   T Chek Fee                     School Checks (Corp)                      100
      8/15/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                       8.75
      8/15/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                 13
      8/15/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                            1250
      8/15/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          155.78
      8/15/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                           78.57
      8/15/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                           259.3
      8/15/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/15/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                       23.96
      8/15/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      8/15/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                 13
      8/15/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.02
      8/15/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          274.96
      8/15/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/15/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                            36.1
      8/15/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      8/15/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      8/15/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                 13
      8/15/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                             500
      8/15/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                              200
      8/15/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/15/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                          402.87
      8/15/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/15/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       52.14
      8/15/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism               2.5
      8/15/2020    709   NB0029   Owner Operator   Accident Claim                 08/10/20 NB0029 Accident                 1000
      8/15/2020    709   NB0029   Owner Operator   Accident Claim                 08/10/20 NB0029 Accident                 1750
      8/15/2020    709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk            250
      8/15/2020    709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk          -3000
      8/15/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
      8/15/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B                13
      8/15/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              160
      8/15/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.6
      8/15/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          102.43
      8/15/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.02
      8/15/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           204.6
      8/15/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/15/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 33.71
      8/15/2020    709   PM0099   Owner Operator   Advance                        7/31 Advance Reversal                  102.15
      8/15/2020    709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL               8.75
      8/15/2020    709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL               8.75
      8/15/2020    709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL               8.75
      8/15/2020    709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL               8.75
      8/15/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.26
      8/15/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.61
      8/15/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.96
      8/15/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.73
      8/15/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          342.84
      8/15/2020    709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/15/2020    709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/15/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD               57.75
      8/15/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD               57.75
      8/15/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD               57.75
      8/15/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD               57.75
      8/15/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr            2.5
      8/15/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr            2.5
      8/15/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr            2.5
      8/15/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr            2.5
      8/15/2020    709   RB0170   Owner Operator   Advance                        EFS 250037 s/u 2 wks                  1566.27
      8/15/2020    709   RB0170   Owner Operator   Advance                        EFS 250037 s/u 2 wks                 -3132.53
      8/15/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                 8.75
      8/15/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              400

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      8/15/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      8/15/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.14
      8/15/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.68
      8/15/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          63.45
      8/15/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      8/15/2020    709   RB0170   Owner Operator   T Chek Fee                     ExpressCheck Fee                       31.02
      8/15/2020    709   RB0170   Owner Operator   T Chek Fee                     Tractor Repair Q1241                  1482.4
      8/15/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/15/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      8/15/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.53
      8/15/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.82
      8/15/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.08
      8/15/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      8/15/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/15/2020    709   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      8/15/2020    709   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      8/15/2020    709   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      8/15/2020    709   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      8/15/2020    709   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      8/15/2020    709   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      8/15/2020    709   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      8/15/2020    709   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.45
      8/15/2020    709   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          21.55
      8/15/2020    709   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.84
      8/15/2020    709   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.78
      8/15/2020    709   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.14
      8/15/2020    709   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.49
      8/15/2020    709   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.86
      8/15/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
      8/15/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
      8/15/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
      8/15/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
      8/15/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      8/15/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      8/15/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      8/15/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      8/15/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/15/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      8/15/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      8/15/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      8/15/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.33
      8/15/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      8/15/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      8/15/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/15/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
      8/15/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      8/15/2020    709   RL0062   Owner Operator   AP Invoice Deductions          EFS MasterCard July 20                  730
      8/15/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/15/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      8/15/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      8/15/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/15/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/15/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.49
      8/15/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.77
      8/15/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.96
      8/15/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      8/15/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      8/15/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      8/15/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      8/15/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      8/15/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      8/15/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.38
      8/15/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.2
      8/15/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      8/15/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      8/15/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      8/15/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      8/15/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48

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      8/15/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                        8.75
      8/15/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                 13
      8/15/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          258.93
      8/15/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.99
      8/15/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          313.66
      8/15/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/15/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        32.09
      8/15/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
      8/15/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                 13
      8/15/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                           400.5
      8/15/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/15/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              60.16
      8/15/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 243533 Q1202 Balloon            234.05
      8/15/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL              8.75
      8/15/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                 13
      8/15/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/15/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/15/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/15/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      8/15/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      8/15/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      8/15/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          258.61
      8/15/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.91
      8/15/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                            280
      8/15/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          243.11
      8/15/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.63
      8/15/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/15/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD              56.15
      8/15/2020    709   RR0123   Owner Operator   Toll Charges                   33488 OTA Turner Turnpike East          18.05
      8/15/2020    709   RR0123   Owner Operator   Toll Charges                   33488 OTA Will Rogers Turnpike          18.05
      8/15/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 243620 Past tractor ren           100
      8/15/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      8/15/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                 13
      8/15/2020    709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                    -4727.33
      8/15/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      8/15/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/15/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/15/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           229.9
      8/15/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          119.95
      8/15/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          256.08
      8/15/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           93.13
      8/15/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                       33.64
      8/15/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/15/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   103.68
      8/15/2020    709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                        46.81
      8/15/2020    709   SB0009   Owner Operator   T Chek Fee                     Tractor Repair 33236                  4680.52
      8/15/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                          564.33
      8/15/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      8/15/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                 13
      8/15/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      8/15/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.71
      8/15/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          283.13
      8/15/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          360.41
      8/15/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/15/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD              61.34
      8/15/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      8/15/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 243561 3303Truck Lease          133.15
      8/15/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      8/15/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                 13
      8/15/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/15/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/15/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          290.56
      8/15/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.79
      8/15/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/15/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    44.12
      8/15/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      8/15/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                 13
      8/15/2020    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/15/2020    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/15/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.86
      8/15/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.56
      8/15/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          528.48
      8/15/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      8/15/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      8/15/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   112.46
      8/15/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   112.46
      8/15/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/15/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      8/15/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      8/15/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/15/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/15/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/15/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/15/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.55
      8/15/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.03
      8/15/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.61
      8/15/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.53
      8/15/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.16
      8/15/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.67
      8/15/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          136.5
      8/15/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      8/15/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/15/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      8/15/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      8/15/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      8/15/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      8/15/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      8/15/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/15/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/15/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.26
      8/15/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.59
      8/15/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.63
      8/15/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      8/15/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      8/15/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      8/15/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.94
      8/15/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      8/15/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      8/15/2020    742   AP0047   Owner Operator   Toll Charges                   32604 ILTOLL Dixon                     16.15
      8/15/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      8/15/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      8/15/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.25
      8/15/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.75
      8/15/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.28
      8/15/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.22
      8/15/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.43
      8/15/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.74
      8/15/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.88
      8/15/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.01
      8/15/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      8/15/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      8/15/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      8/15/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      8/15/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.18
      8/15/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.92
      8/15/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.79
      8/15/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.9
      8/15/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.62
      8/15/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.04
      8/15/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      8/15/2020    742   CA0089   Owner Operator   Toll Charges                   33987 BATA Benicia                        26
      8/15/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      8/15/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      8/15/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.79
      8/15/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.8
      8/15/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
      8/15/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      8/15/2020    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14
      8/15/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      8/15/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      8/15/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           172
      8/15/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      8/15/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      8/15/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/15/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      8/15/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.48
      8/15/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.21
      8/15/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.44
      8/15/2020    742   DC0117   Owner Operator   Toll Charges                   34063 BATA Carquinez Bridge               26
      8/15/2020    742   DC0117   Owner Operator   Toll Charges                   34063 OTA Kilpatrick Turnpike           4.45
      8/15/2020    742   DC0117   Owner Operator   Toll Charges                   34063 OTA Will Rogers Turnpike         18.05
      8/15/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63
      8/15/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      8/15/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                13
      8/15/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/15/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/15/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.72
      8/15/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.85
      8/15/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.29
      8/15/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.17
      8/15/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
      8/15/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      8/15/2020    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL 83rd St.                    6.8
      8/15/2020    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Cermak Rd.                  6.8
      8/15/2020    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL I-57/147th St (Il           6.8
      8/15/2020    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL I-57/147th St (Il           6.8
      8/15/2020    742   DS0254   Owner Operator   Toll Charges                   33487 ILTOLL Touhy Ave.                  8.5
      8/15/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/15/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      8/15/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.25
      8/15/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.98
      8/15/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.95
      8/15/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
      8/15/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/15/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      8/15/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      8/15/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.95
      8/15/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.92
      8/15/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      8/15/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      8/15/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      8/15/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a               13
      8/15/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
      8/15/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      8/15/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      8/15/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      8/15/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/15/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.09
      8/15/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.51
      8/15/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.88
      8/15/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      8/15/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      8/15/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      8/15/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      8/15/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           500
      8/15/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           175
      8/15/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      8/15/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/15/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      8/15/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/15/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.48
      8/15/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.69
      8/15/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.87
      8/15/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.88
      8/15/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                       100
      8/15/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      8/15/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      8/15/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/15/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      8/15/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      8/15/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      8/15/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      8/15/2020    742   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/15/2020    742   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/15/2020    742   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/15/2020    742   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/15/2020    742   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/15/2020    742   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.09
      8/15/2020    742   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.01
      8/15/2020    742   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.52
      8/15/2020    742   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                          429.9
      8/15/2020    742   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.06
      8/15/2020    742   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.06
      8/15/2020    742   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.85
      8/15/2020    742   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
      8/15/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
      8/15/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
      8/15/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
      8/15/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.16
      8/15/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/15/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/15/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/15/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/15/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/15/2020    742   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      8/15/2020    742   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      8/15/2020    742   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/15/2020    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.12
      8/15/2020    742   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.81
      8/15/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
      8/15/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      8/15/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      8/15/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
      8/15/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/15/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      8/15/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/15/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/15/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/15/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.28
      8/15/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.46
      8/15/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.35
      8/15/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      8/15/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      8/15/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      8/15/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.02
      8/15/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      8/15/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      8/15/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.68
      8/15/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      8/15/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      8/15/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/15/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      8/15/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      8/15/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      8/15/2020    742   TC0098   Owner Operator   Advance                        EFS 249407 s/u 3 wks                  254.19
      8/15/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      8/15/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
      8/15/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.38
      8/15/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.64
      8/15/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.12
      8/15/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.54
      8/15/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98

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      8/15/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      8/15/2020    742   TC0098   Owner Operator   Toll Charges                   33489 KTA Southern Terminal             4.95
      8/15/2020    783   DS0317   Owner Operator   Advance                        7/31 Advance Reversal                 342.35
      8/15/2020    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      8/15/2020    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      8/15/2020    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      8/15/2020    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      8/15/2020    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.02
      8/15/2020    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.57
      8/15/2020    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.92
      8/15/2020    783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
      8/15/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
      8/15/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
      8/15/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.31
      8/15/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      8/15/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      8/15/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      8/15/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      8/15/2020    783   GR0095   Owner Operator   Advance                        7/31 Advance Reversal                 454.82
      8/15/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      8/15/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      8/15/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      8/15/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      8/15/2020    783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
      8/15/2020    783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
      8/15/2020    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.25
      8/15/2020    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      8/15/2020    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.88
      8/15/2020    783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.02
      8/15/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
      8/15/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
      8/15/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
      8/15/2020    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      8/15/2020    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      8/15/2020    783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
      8/15/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.06
      8/15/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      8/15/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      8/15/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      8/15/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   86919 2011 Freightliner NTL              -35
      8/15/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   86919 2011 Freightliner NTL             8.75
      8/15/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   86919 2011 Freightliner NTL             8.75
      8/15/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 86919                13
      8/15/2020    783   JK0157   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       41.71
      8/15/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      8/15/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                86919 2011 Freightliner PD           -157.21
      8/15/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                86919 2011 Freightliner PD             39.28
      8/15/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                86919 2011 Freightliner PD             39.31
      8/15/2020    783   MA0112   Owner Operator   Advance                        7/31 Advance Reversal                1713.12
      8/15/2020    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      8/15/2020    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      8/15/2020    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      8/15/2020    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      8/15/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.85
      8/15/2020    783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
      8/15/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
      8/15/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.02
      8/15/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
      8/15/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      8/15/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      8/15/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      8/15/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      8/15/2020    783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/15/2020    783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75
      8/15/2020    783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75

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      8/15/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.61
      8/15/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.99
      8/15/2020    783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.38
      8/15/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.36
      8/15/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
      8/15/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
      8/15/2020    783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      8/15/2020    783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      8/15/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.82
      8/15/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.76
      8/15/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.23
      8/15/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.29
      8/15/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.27
      8/15/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      8/15/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      8/15/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      8/15/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      8/15/2020    783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      8/15/2020    783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      8/15/2020    783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.68
      8/15/2020    783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      8/15/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      8/15/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
      8/15/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
      8/15/2020    783   RS0377   Owner Operator   Advance                        7/31 Advance Reversal                1878.64
      8/15/2020    783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      8/15/2020    783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      8/15/2020    783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      8/15/2020    783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      8/15/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.7
      8/15/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.81
      8/15/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.54
      8/15/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.41
      8/15/2020    783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
      8/15/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
      8/15/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.09
      8/15/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
      8/15/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      8/15/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      8/15/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      8/15/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      8/15/2020    783   SM0160   Owner Operator   Advance                        7/31 Advance Reversal                1372.95
      8/15/2020    783   SM0160   Owner Operator   BOBTAIL INS.                   6867 2011 Volvo NTL                     8.75
      8/15/2020    783   SM0160   Owner Operator   BOBTAIL INS.                   6867 2011 Volvo NTL                     8.75
      8/15/2020    783   SM0160   Owner Operator   BOBTAIL INS.                   6867 2011 Volvo NTL                     8.75
      8/15/2020    783   SM0160   Owner Operator   BOBTAIL INS.                   6867 2011 Volvo NTL                     8.75
      8/15/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.27
      8/15/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.6
      8/15/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.64
      8/15/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.75
      8/15/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.05
      8/15/2020    783   SM0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    783   SM0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/15/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD                     28.05
      8/15/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD                     28.08
      8/15/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD                     28.08
      8/15/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD                     28.08
      8/15/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD Terrorism             2.5
      8/15/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD Terrorism             2.5
      8/15/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD Terrorism             2.5
      8/15/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD Terrorism             2.5
      8/22/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.08
      8/22/2020    709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      8/22/2020    709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      8/22/2020    709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
      8/22/2020    709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
      8/22/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      8/22/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      8/22/2020    709   AN0007   Owner Operator   IRP License Deduction          LCCA:2020 - 32781                      89.24

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      8/22/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      8/22/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      8/22/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 243738 TRUCK RENTAL               100
      8/22/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 243764 truck 32781 Leas        225.29
      8/22/2020    709   AP0092   Owner Operator   BOBTAIL INS.                   971 2012 Freightliner NTL               8.75
      8/22/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.18
      8/22/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.75
      8/22/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.23
      8/22/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.46
      8/22/2020    709   AP0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   AP0092   Owner Operator   PHYSICAL DAMAGE                971 2012 Freightliner PD               16.05
      8/22/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.48
      8/22/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.09
      8/22/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.35
      8/22/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      8/22/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      8/22/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      8/22/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/22/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/22/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/22/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/22/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.51
      8/22/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.19
      8/22/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.67
      8/22/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          58.13
      8/22/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.37
      8/22/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      8/22/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 243797 Q13169 Sublease         352.68
      8/22/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      8/22/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      8/22/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      8/22/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      8/22/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      8/22/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      8/22/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/22/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             300
      8/22/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/22/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.49
      8/22/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.24
      8/22/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          412.2
      8/22/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.38
      8/22/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      8/22/2020    709   CC0134   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                       132
      8/22/2020    709   CC0134   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    360.22
      8/22/2020    709   CC0134   Owner Operator   Tire Purchase                  Brdgstn 6498157273 s/u 7/31/20        379.09
      8/22/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 243739 Q13168 sub lease        352.68
      8/22/2020    709   CC0178   Owner Operator   Advance                        7/31 Advance Reversal                  86.68
      8/22/2020    709   CC0178   Owner Operator   BOBTAIL INS.                   792 2012 Freightliner NTL                -35
      8/22/2020    709   CC0178   Owner Operator   BOBTAIL INS.                   792 2012 Freightliner NTL               8.75
      8/22/2020    709   CC0178   Owner Operator   BOBTAIL INS.                   792 2012 Freightliner NTL               8.75
      8/22/2020    709   CC0178   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      8/22/2020    709   CC0178   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            190
      8/22/2020    709   CC0178   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   CC0178   Owner Operator   PHYSICAL DAMAGE                792 2012 Freightliner PD               19.15
      8/22/2020    709   CC0178   Owner Operator   PHYSICAL DAMAGE                792 2012 Freightliner PD             -128.33
      8/22/2020    709   CC0178   Owner Operator   PHYSICAL DAMAGE                792 2012 Freightliner PD Terro           -10
      8/22/2020    709   CC0178   Owner Operator   PHYSICAL DAMAGE                792 2012 Freightliner PD Terro           2.5
      8/22/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/22/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      8/22/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/22/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.02
      8/22/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.89
      8/22/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         461.45
      8/22/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      8/22/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      8/22/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      8/22/2020    709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      8/22/2020    709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      8/22/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.39
      8/22/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.13
      8/22/2020    709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.05
      8/22/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      8/22/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      8/22/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.44
      8/22/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.88
      8/22/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.57
      8/22/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.67
      8/22/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      8/22/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 243759 Q1247 Sub Lease         263.91
      8/22/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      8/22/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      8/22/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/22/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/22/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/22/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.82
      8/22/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.39
      8/22/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.69
      8/22/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.33
      8/22/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.11
      8/22/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      8/22/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 243735 Lease Truck 3348        335.96
      8/22/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      8/22/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.83
      8/22/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.02
      8/22/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
      8/22/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.07
      8/22/2020    709   DL0029   Owner Operator   Tire Purchase                  Brdgstn 6498389058 s/u 8/1/20         386.74
      8/22/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 243737 Q13199 Lease            193.11
      8/22/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      8/22/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      8/22/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/22/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/22/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.15
      8/22/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.19
      8/22/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment         366.62
      8/22/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      8/22/2020    709   DL0107   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    178.06
      8/22/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 243734 Baloon payoff           350.23
      8/22/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      8/22/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      8/22/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      8/22/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      8/22/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      8/22/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      8/22/2020    709   DM0257   Owner Operator   Toll Charges                   34328 ILTOLL Route 80 (East)             5.1
      8/22/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      8/22/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      8/22/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/22/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/22/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.48
      8/22/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.85
      8/22/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      8/22/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      8/22/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      8/22/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      8/22/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      8/22/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.22
      8/22/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11

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      8/22/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      8/22/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      8/22/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/22/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/22/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.73
      8/22/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.14
      8/22/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.66
      8/22/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.06
      8/22/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      8/22/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                          376.8
      8/22/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.18
      8/22/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/22/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.52
      8/22/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      8/22/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      8/22/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      8/22/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           750
      8/22/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/22/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/22/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.55
      8/22/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      8/22/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      8/22/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      8/22/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      8/22/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/22/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/22/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/22/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.43
      8/22/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.67
      8/22/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.11
      8/22/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.98
      8/22/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      8/22/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      8/22/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      8/22/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      8/22/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/22/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/22/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/22/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/22/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.27
      8/22/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.39
      8/22/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.78
      8/22/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      8/22/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 243797 truck lease 3304        434.29
      8/22/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/22/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      8/22/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.06
      8/22/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.95
      8/22/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      8/22/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/22/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      8/22/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      8/22/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/22/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/22/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.46
      8/22/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.24
      8/22/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.04
      8/22/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      8/22/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      8/22/2020    709   GA0051   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                        64

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      8/22/2020    709   GA0051   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    187.92
      8/22/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 243760 Q1200 Lease             238.16
      8/22/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      8/22/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      8/22/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.56
      8/22/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      8/22/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      8/22/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      8/22/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.87
      8/22/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.88
      8/22/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      8/22/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 243767 Q1109 Lease             302.85
      8/22/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      8/22/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      8/22/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.31
      8/22/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.64
      8/22/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      8/22/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 243765 Q13170                  352.68
      8/22/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      8/22/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      8/22/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/22/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/22/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.24
      8/22/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.6
      8/22/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         599.17
      8/22/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      8/22/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/22/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      8/22/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      8/22/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         498.88
      8/22/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.01
      8/22/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      8/22/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      8/22/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/22/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      8/22/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.69
      8/22/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      8/22/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/22/2020    709   JA0156   Owner Operator   *Arrears Collection W/O        Applicable Amount to Arrears           91.14
      8/22/2020    709   JA0156   Owner Operator   Broker Pay Void/Reissue        Vd Ck 977793                          -91.14
      8/22/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      8/22/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.52
      8/22/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.38
      8/22/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.11
      8/22/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               36.14
      8/22/2020    709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL Route 80 (East)            5.1
      8/22/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      8/22/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      8/22/2020    709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      8/22/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.62
      8/22/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                          429.6
      8/22/2020    709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       44.12
      8/22/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      8/22/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.07
      8/22/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      8/22/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/22/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      8/22/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03

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      8/22/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism             2.5
      8/22/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/22/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908               13
      8/22/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/22/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/22/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/22/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/22/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/22/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/22/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        151.41
      8/22/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        176.89
      8/22/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.63
      8/22/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                        242.87
      8/22/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                     33.64
      8/22/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  28.08
      8/22/2020    709   JG0017   Owner Operator   Tractor Charge                 14298 - 32908                        490.64
      8/22/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/22/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909               13
      8/22/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           200
      8/22/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      8/22/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        403.87
      8/22/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        159.02
      8/22/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                     33.64
      8/22/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   76.2
      8/22/2020    709   JG0072   Owner Operator   Tire Purchase                  6502235320~BRIDGESTONE               310.62
      8/22/2020    709   JG0072   Owner Operator   Tractor Charge                 14534 - 32909                        499.05
      8/22/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      8/22/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669               13
      8/22/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.5
      8/22/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      36.1
      8/22/2020    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                  8.75
      8/22/2020    709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                13
      8/22/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.9
      8/22/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        259.66
      8/22/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        258.11
      8/22/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        309.91
      8/22/2020    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                  33.04
      8/22/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      8/22/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      8/22/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637               13
      8/22/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        184.46
      8/22/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        189.86
      8/22/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          70.1
      8/22/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           6.9
      8/22/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        167.56
      8/22/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  20.06
      8/22/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  16.05
      8/22/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      8/22/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203               13
      8/22/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            60.16
      8/22/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 243761 Balloon Payoff         234.05
      8/22/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      8/22/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914               13
      8/22/2020    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                  -1306.27
      8/22/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      8/22/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/22/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/22/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      8/22/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/22/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/22/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      8/22/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        222.01
      8/22/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          274
      8/22/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          166
      8/22/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          275
      8/22/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                     33.64
      8/22/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/22/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  95.81

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      8/22/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/22/2020    709   KP0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                       12.93
      8/22/2020    709   KP0004   Owner Operator   T Chek Fee                     Tractor Repair 32914                 1293.34
      8/22/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      8/22/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      8/22/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      8/22/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.87
      8/22/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.21
      8/22/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.23
      8/22/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.07
      8/22/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.25
      8/22/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.84
      8/22/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      8/22/2020    709   KT0055   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    328.87
      8/22/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 243735 33483 Lease 208         335.48
      8/22/2020    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      8/22/2020    709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      8/22/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      8/22/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      8/22/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      8/22/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 243736 Balloon Pay off         200.15
      8/22/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      8/22/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      8/22/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.87
      8/22/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           41.6
      8/22/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.06
      8/22/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      8/22/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/22/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      8/22/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.56
      8/22/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.66
      8/22/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.08
      8/22/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      8/22/2020    709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
      8/22/2020    709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.11
      8/22/2020    709   MC0207   Owner Operator   T Chek Fee                     School Checks (Corp)                   97.72
      8/22/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      8/22/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      8/22/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                          1250
      8/22/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.17
      8/22/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.18
      8/22/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.48
      8/22/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.99
      8/22/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.17
      8/22/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.84
      8/22/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      8/22/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      8/22/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      8/22/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.11
      8/22/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.39
      8/22/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      8/22/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      8/22/2020    709   MM0054   Owner Operator   *Arrears Collection W/O        WO:86900 2010 Freightliner NTL           -35
      8/22/2020    709   MM0054   Owner Operator   *Arrears Collection W/O        WO:86900 2010 Freightliner PD         -64.17
      8/22/2020    709   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL               35
      8/22/2020    709   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD             64.17
      8/22/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/22/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                13
      8/22/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           500
      8/22/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            180
      8/22/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.8
      8/22/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.07
      8/22/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      8/22/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5

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      8/22/2020    709   NB0029   Owner Operator   Accident Claim                 08/10/20 NB0029 Accident                 250
      8/22/2020    709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk           250
      8/22/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      8/22/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      8/22/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      8/22/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      8/22/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      8/22/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      8/22/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      8/22/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      8/22/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      8/22/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      8/22/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      8/22/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      8/22/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 243585 32986 Lease              261.6
      8/22/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      8/22/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      8/22/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          102.7
      8/22/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          309.9
      8/22/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      8/22/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/22/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/22/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    -35
      8/22/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      8/22/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      8/22/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          20.57
      8/22/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            190
      8/22/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
      8/22/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 -112.29
      8/22/2020    709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      8/22/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.24
      8/22/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.73
      8/22/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.58
      8/22/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.88
      8/22/2020    709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      8/22/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      8/22/2020    709   RB0170   Owner Operator   Advance                        EFS 250037 s/u 2 wks                 1566.26
      8/22/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      8/22/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/22/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      8/22/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                             150
      8/22/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      8/22/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      8/22/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/22/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          115.3
      8/22/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.36
      8/22/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.86
      8/22/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.96
      8/22/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.28
      8/22/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.64
      8/22/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      8/22/2020    709   RB0170   Owner Operator   T Chek Fee                     Tractor Repair Q1241                  805.05
      8/22/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/22/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      8/22/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.02
      8/22/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      8/22/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/22/2020    709   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      8/22/2020    709   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      8/22/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
      8/22/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
      8/22/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      8/22/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      8/22/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/22/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      8/22/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13

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      8/22/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      8/22/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.15
      8/22/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.06
      8/22/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      8/22/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      8/22/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/22/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
      8/22/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      8/22/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/22/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      8/22/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.87
      8/22/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          34.12
      8/22/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      8/22/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      8/22/2020    709   RL0062   Owner Operator   Tractor Charge                 14460 - 32912                         496.56
      8/22/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      8/22/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      8/22/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      8/22/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.04
      8/22/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      8/22/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      8/22/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      8/22/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      8/22/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      8/22/2020    709   RM0026   Owner Operator   Accident Claim                 08/16/20 RM0026 Incident                500
      8/22/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      8/22/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      8/22/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.57
      8/22/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.85
      8/22/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      8/22/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      8/22/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      8/22/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          407.8
      8/22/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      8/22/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 243708 Q1202 Balloon           234.05
      8/22/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      8/22/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      8/22/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.86
      8/22/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.78
      8/22/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.07
      8/22/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      8/22/2020    709   RR0123   Owner Operator   Toll Charges                   33488 OTA Kilpatrick Turnpike           8.65
      8/22/2020    709   RR0123   Owner Operator   Toll Charges                   33488 OTA Turner Turnpike West         18.05
      8/22/2020    709   RR0123   Owner Operator   Toll Charges                   33488 OTA Will Rogers Turnpike         18.05
      8/22/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 243736 33488 Lease $335        335.48
      8/22/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 243795 Past tractor ren          100
      8/22/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      8/22/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      8/22/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      8/22/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.75
      8/22/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.27
      8/22/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.85
      8/22/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      8/22/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      8/22/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         564.33
      8/22/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      8/22/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      8/22/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/22/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.52
      8/22/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.02
      8/22/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.54
      8/22/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      8/22/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      8/22/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      8/22/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 243737 3303Truck Lease         133.15
      8/22/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      8/22/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      8/22/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      8/22/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      8/22/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           392
      8/22/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           356
      8/22/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           329
      8/22/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      8/22/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      8/22/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
      8/22/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         361.19
      8/22/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      8/22/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      8/22/2020    709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                         1.1
      8/22/2020    709   SM0109   Owner Operator   T Chek Fee                     Tractor Repair 33195                  110.24
      8/22/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      8/22/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      8/22/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      8/22/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      8/22/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.8
      8/22/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.93
      8/22/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.21
      8/22/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.39
      8/22/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.81
      8/22/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      8/22/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      8/22/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      8/22/2020    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.02
      8/22/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.01
      8/22/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           370
      8/22/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      8/22/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   112.46
      8/22/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/22/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      8/22/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.07
      8/22/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.34
      8/22/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.02
      8/22/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.55
      8/22/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.81
      8/22/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      8/22/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/22/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      8/22/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      8/22/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      8/22/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      8/22/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      8/22/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.8
      8/22/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.49
      8/22/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.99
      8/22/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.59
      8/22/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.93
      8/22/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      8/22/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 243739 Q1238 Lease             311.97
      8/22/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      8/22/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13

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      8/22/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/22/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/22/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/22/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/22/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.26
      8/22/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.87
      8/22/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.32
      8/22/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      8/22/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      8/22/2020    742   AP0047   Owner Operator   Toll Charges                   32604 BATA Carquinez Bridge               26
      8/22/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      8/22/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      8/22/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.88
      8/22/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.33
      8/22/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.29
      8/22/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.67
      8/22/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           3.78
      8/22/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.98
      8/22/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.24
      8/22/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      8/22/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      8/22/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      8/22/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      8/22/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.96
      8/22/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.77
      8/22/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.86
      8/22/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      8/22/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      8/22/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      8/22/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.23
      8/22/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.26
      8/22/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.85
      8/22/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
      8/22/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      8/22/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 243699 re-do of truck l        525.75
      8/22/2020    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14
      8/22/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/22/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      8/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           180
      8/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          154.5
      8/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          57.84
      8/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.25
      8/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             92
      8/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.45
      8/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          142.5
      8/22/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.01
      8/22/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      8/22/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      8/22/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/22/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63
      8/22/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      8/22/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                13
      8/22/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.84
      8/22/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.93
      8/22/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.73
      8/22/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.62
      8/22/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
      8/22/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      8/22/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 243699 Trk 33487 Lease          434.2
      8/22/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/22/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      8/22/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.31
      8/22/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.26
      8/22/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07

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      8/22/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
      8/22/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                        8.75
      8/22/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                 13
      8/22/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          189.82
      8/22/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/22/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                        28.08
      8/22/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism                2.5
      8/22/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                8.75
      8/22/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a                13
      8/22/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD                56.15
      8/22/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro            2.5
      8/22/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                   8.75
      8/22/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                 13
      8/22/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                              50
      8/22/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/22/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/22/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      8/22/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      8/22/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.66
      8/22/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          392.24
      8/22/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.83
      8/22/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/22/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                   24.07
      8/22/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris            2.5
      8/22/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                   8.75
      8/22/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                 13
      8/22/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                            110
      8/22/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/22/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                   24.07
      8/22/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      8/22/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                 13
      8/22/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                              50
      8/22/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/22/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      8/22/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.62
      8/22/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.99
      8/22/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.32
      8/22/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                        100
      8/22/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/22/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    60.16
      8/22/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      8/22/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                   8.75
      8/22/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                 13
      8/22/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                              50
      8/22/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/22/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                   60.12
      8/22/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris            2.5
      8/22/2020    742   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      8/22/2020    742   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/22/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                        64.17
      8/22/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      8/22/2020    742   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                   8.75
      8/22/2020    742   MK0078   Owner Operator   ESCROW                         Weekly Escrow                              50
      8/22/2020    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.76
      8/22/2020    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.39
      8/22/2020    742   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      8/22/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                   72.84
      8/22/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris            2.5
      8/22/2020    742   MS0230   Owner Operator   *Arrears Collection W/O        WO:Credit Billing                    -1048.75
      8/22/2020    742   MS0230   Owner Operator   Arrears                        Credit Billing                        1048.75
      8/22/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      6.56
      8/22/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      8/22/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                 13
      8/22/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      8/22/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/22/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      8/22/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          126.39
      8/22/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          227.06
      8/22/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.06
      8/22/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          123.49
      8/22/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                       33.64
      8/22/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   107.16
      8/22/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          501.95

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      8/22/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      8/22/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      8/22/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      8/22/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      8/22/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            150
      8/22/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      8/22/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.09
      8/22/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.45
      8/22/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.45
      8/22/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.04
      8/22/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.52
      8/22/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.41
      8/22/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.84
      8/22/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.45
      8/22/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.57
      8/22/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.8
      8/22/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.35
      8/22/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.77
      8/22/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      8/22/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      8/22/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      8/22/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      8/22/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      8/22/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      8/22/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.24
      8/22/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.72
      8/22/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.21
      8/22/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.15
      8/22/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      8/22/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      8/22/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 243589 Balloon Payoff          335.75
      8/22/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 243762 Balloon Payoff          335.75
      8/22/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/22/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      8/22/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      8/22/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      8/22/2020    742   TC0098   Owner Operator   Advance                        EFS 249407 s/u 3 wks                  254.17
      8/22/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      8/22/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
      8/22/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.26
      8/22/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.69
      8/22/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.46
      8/22/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.59
      8/22/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      8/22/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      8/22/2020    742   TC0098   Owner Operator   Toll Charges                   33489 E470 PLAZA C                      17.2
      8/22/2020    742   TC0098   Owner Operator   Toll Charges                   33489 E470 PLAZA D                      18.6
      8/22/2020    742   TC0098   Owner Operator   Toll Charges                   33489 E470 PLAZA E                      18.6
      8/22/2020    742   TC0098   Owner Operator   Toll Charges                   33489 HCTRA Hardy North - Barr             7
      8/22/2020    742   TC0098   Owner Operator   Toll Charges                   33489 HCTRA Hardy South - Barr             7
      8/22/2020    742   TC0098   Owner Operator   Toll Charges                   33489 OTA Cimarron Turnpike Ea             3
      8/22/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 243585 33489 Lease Paym        412.16
      8/22/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 243758 33489 Lease Paym        412.16
      8/22/2020    781   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/22/2020    781   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/22/2020    781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.41
      8/22/2020    781   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         168.92
      8/22/2020    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      8/22/2020    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                         462.73
      8/22/2020    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.52
      8/22/2020    783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
      8/22/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      8/22/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      8/22/2020    783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
      8/22/2020    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.56
      8/22/2020    783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05

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      8/22/2020    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      8/22/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         459.55
      8/22/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         545.76
      8/22/2020    783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
      8/22/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      8/22/2020    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      8/22/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         411.48
      8/22/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.98
      8/22/2020    783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
      8/22/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      8/22/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.37
      8/22/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.7
      8/22/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.29
      8/22/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                          291.7
      8/22/2020    783   MK0038   Owner Operator   T Chek Fee                     Advance                              1109.22
      8/22/2020    783   MK0038   Owner Operator   T Chek Fee                     ExpressCheck Fee                          25
      8/22/2020    783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75
      8/22/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.82
      8/22/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.09
      8/22/2020    783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.38
      8/22/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
      8/22/2020    783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      8/22/2020    783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      8/22/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.03
      8/22/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.82
      8/22/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.74
      8/22/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.63
      8/22/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.85
      8/22/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.59
      8/22/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      8/22/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      8/22/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      8/22/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      8/22/2020    783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      8/22/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.8
      8/22/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.51
      8/22/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.31
      8/22/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          10.55
      8/22/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.49
      8/22/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.71
      8/22/2020    783   RD0012   Owner Operator   T Chek Fee                     Advance                                2500
      8/22/2020    783   RD0012   Owner Operator   T Chek Fee                     ExpressCheck Fee                          25
      8/22/2020    783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      8/22/2020    783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.12
      8/22/2020    783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      8/22/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
      8/22/2020    783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      8/22/2020    783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/22/2020    783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/22/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.43
      8/22/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.51
      8/22/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                          466.1
      8/22/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.99
      8/22/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.67
      8/22/2020    783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
      8/22/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      8/22/2020    783   SM0160   Owner Operator   BOBTAIL INS.                   6867 2011 Volvo NTL                     8.75
      8/22/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                          371.3
      8/22/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.48
      8/22/2020    783   SM0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/22/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD                     28.08
      8/22/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD Terrorism             2.5
      8/29/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      8/29/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      8/29/2020    709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
      8/29/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      8/29/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      8/29/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100

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      8/29/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/29/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          456.8
      8/29/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.09
      8/29/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          219.1
      8/29/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.24
      8/29/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.32
      8/29/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          434.8
      8/29/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      8/29/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            36.88
      8/29/2020    709   AC0061   Owner Operator   T Chek Fee                     Cancelled/Expired EFS                -897.84
      8/29/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 243829 Q13148 Trac Leas        296.09
      8/29/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 243992 Q13148 Trac Leas        296.09
      8/29/2020    709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      8/29/2020    709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      8/29/2020    709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.05
      8/29/2020    709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.05
      8/29/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      8/29/2020    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK32781                      9.84
      8/29/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      8/29/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.91
      8/29/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.05
      8/29/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      8/29/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 243908 TRUCK RENTAL              100
      8/29/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 243936 truck 32781 Leas        225.29
      8/29/2020    709   AP0092   Owner Operator   BOBTAIL INS.                   971 2012 Freightliner NTL               8.75
      8/29/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.99
      8/29/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.85
      8/29/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.69
      8/29/2020    709   AP0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   AP0092   Owner Operator   PHYSICAL DAMAGE                971 2012 Freightliner PD               16.02
      8/29/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      8/29/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      8/29/2020    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      8/29/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      8/29/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      8/29/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          34.52
      8/29/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.03
      8/29/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.77
      8/29/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.94
      8/29/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.75
      8/29/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.09
      8/29/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      8/29/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            36.07
      8/29/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 243831 Baloon Q13147           357.62
      8/29/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 243994 Baloon Q13147           357.62
      8/29/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.31
      8/29/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      8/29/2020    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      8/29/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      8/29/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/29/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/29/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.29
      8/29/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.29
      8/29/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.19
      8/29/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.53
      8/29/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           72.9
      8/29/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          486.1
      8/29/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         -486.1
      8/29/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.38
      8/29/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.87
      8/29/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            36.07
      8/29/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 243970 Q13169 Sublease         352.68
      8/29/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      8/29/2020    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      8/29/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      8/29/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75

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      8/29/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      8/29/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      8/29/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      8/29/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/29/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/29/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.31
      8/29/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.6
      8/29/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.28
      8/29/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            36.07
      8/29/2020    709   CC0134   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                      132
      8/29/2020    709   CC0134   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    360.22
      8/29/2020    709   CC0134   Owner Operator   Tire Purchase                  Brdgstn 6498157273 s/u 7/31/20        379.09
      8/29/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 243909 Q13168 sub lease        352.68
      8/29/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/29/2020    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      8/29/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      8/29/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/29/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.76
      8/29/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      8/29/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.04
      8/29/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/29/2020    709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      8/29/2020    709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      8/29/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.58
      8/29/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.56
      8/29/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.72
      8/29/2020    709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.02
      8/29/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      8/29/2020    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
      8/29/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      8/29/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           72.7
      8/29/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.92
      8/29/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.87
      8/29/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 243931 Q1247 Sub Lease         263.91
      8/29/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      8/29/2020    709   CV0028   Owner Operator   Broker Pre Pass                DriveWyze TRK33482                      9.84
      8/29/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      8/29/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/29/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.59
      8/29/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.37
      8/29/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.61
      8/29/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.17
      8/29/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 243905 Lease Truck 3348        335.96
      8/29/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      8/29/2020    709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13199                     9.84
      8/29/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.83
      8/29/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.55
      8/29/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.57
      8/29/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.56
      8/29/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.96
      8/29/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.5
      8/29/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
      8/29/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.04
      8/29/2020    709   DL0029   Owner Operator   Tire Purchase                  Brdgstn 6498389058 s/u 8/1/20         386.74
      8/29/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 243907 Q13199 Lease            193.11
      8/29/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      8/29/2020    709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      8/29/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      8/29/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/29/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/29/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.83
      8/29/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.22
      8/29/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.93
      8/29/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment         366.62
      8/29/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.45

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      8/29/2020    709   DL0107   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    178.06
      8/29/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 243904 Baloon payoff           350.23
      8/29/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      8/29/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.03
      8/29/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.16
      8/29/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      8/29/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      8/29/2020    709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                      9.84
      8/29/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      8/29/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      8/29/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.84
      8/29/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.09
      8/29/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      8/29/2020    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      8/29/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      8/29/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      8/29/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      8/29/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.81
      8/29/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.18
      8/29/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.81
      8/29/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.11
      8/29/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.64
      8/29/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/29/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      8/29/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      8/29/2020    709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      8/29/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      8/29/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           750
      8/29/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/29/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/29/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.23
      8/29/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.85
      8/29/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.11
      8/29/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      8/29/2020    709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/29/2020    709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/29/2020    709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      8/29/2020    709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      8/29/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.79
      8/29/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.77
      8/29/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.33
      8/29/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.78
      8/29/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.37
      8/29/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.96
      8/29/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.13
      8/29/2020    709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      8/29/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      8/29/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/29/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/29/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      8/29/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      8/29/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      8/29/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/29/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/29/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/29/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/29/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.66
      8/29/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.77
      8/29/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.41
      8/29/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.48
      8/29/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 80.2
      8/29/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      8/29/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      8/29/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      8/29/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      8/29/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/29/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/29/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/29/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.63
      8/29/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.41
      8/29/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.91
      8/29/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.91
      8/29/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 243969 truck lease 3304        434.29
      8/29/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/29/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      8/29/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/29/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.47
      8/29/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.09
      8/29/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/29/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      8/29/2020    709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1200                      9.84
      8/29/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      8/29/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.79
      8/29/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.34
      8/29/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.45
      8/29/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.75
      8/29/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.97
      8/29/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.04
      8/29/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.67
      8/29/2020    709   GA0051   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                        64
      8/29/2020    709   GA0051   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    187.92
      8/29/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 243932 Q1200 Lease             238.16
      8/29/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      8/29/2020    709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      8/29/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      8/29/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.09
      8/29/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      8/29/2020    709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      8/29/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      8/29/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/29/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.13
      8/29/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.73
      8/29/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.46
      8/29/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      8/29/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 243939 Q1109 Lease             302.85
      8/29/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      8/29/2020    709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      8/29/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.76
      8/29/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.55
      8/29/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            36.07
      8/29/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 243937 Q13170                  352.68
      8/29/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      8/29/2020    709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                      9.84
      8/29/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      8/29/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.42
      8/29/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.64
      8/29/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/29/2020    709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       -35
      8/29/2020    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         147.18
      8/29/2020    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.15
      8/29/2020    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                    -224.58
      8/29/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      8/29/2020    709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      8/29/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      8/29/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           150
      8/29/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.47
      8/29/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         533.31
      8/29/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      8/29/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    52.7
      8/29/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.34
      8/29/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/29/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      8/29/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.77
      8/29/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.59
      8/29/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.07
      8/29/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/29/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.96
      8/29/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      8/29/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      8/29/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      8/29/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      8/29/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      8/29/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      8/29/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/29/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.24
      8/29/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.85
      8/29/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.51
      8/29/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.11
      8/29/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD                6.99
      8/29/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 243766 Q13197 Lease            276.63
      8/29/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 243938 Q13197 Lease            276.63
      8/29/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      8/29/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      8/29/2020    709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      8/29/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.97
      8/29/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.16
      8/29/2020    709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       44.12
      8/29/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      8/29/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.04
      8/29/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      8/29/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      8/29/2020    709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                      9.84
      8/29/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      8/29/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      8/29/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      8/29/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/29/2020    709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                      9.84
      8/29/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      8/29/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      8/29/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      8/29/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.68
      8/29/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.12
      8/29/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.74
      8/29/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      8/29/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      8/29/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/29/2020    709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                      9.84
      8/29/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      8/29/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/29/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/29/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.09
      8/29/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.65
      8/29/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      8/29/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   76.19
      8/29/2020    709   JG0072   Owner Operator   Tire Purchase                  6502235320~BRIDGESTONE                310.62
      8/29/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      8/29/2020    709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                      9.84
      8/29/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                13
      8/29/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.71
      8/29/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.03
      8/29/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.14
      8/29/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      8/29/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      36.07
      8/29/2020    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                   8.75
      8/29/2020    709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                 13
      8/29/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.75
      8/29/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.63
      8/29/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.65
      8/29/2020    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                   33.02
      8/29/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      8/29/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/29/2020    709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK34637                      9.84
      8/29/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                13
      8/29/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.38
      8/29/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.06
      8/29/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.03
      8/29/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.02
      8/29/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      8/29/2020    709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      8/29/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      8/29/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.75
      8/29/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.14
      8/29/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 243934 Balloon Payoff          234.05
      8/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      8/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      8/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      8/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      8/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      8/29/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      8/29/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159               13
      8/29/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159               13
      8/29/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                            100
      8/29/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          45.44
      8/29/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                            137
      8/29/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.92
      8/29/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      8/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      8/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      8/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD             41.3
      8/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
      8/29/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
      8/29/2020    709   JS0265   Owner Operator   Toll Charges                   Q13159 BATA Carquinez Bridge              26
      8/29/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 243585 Q13159 Lease             331.5
      8/29/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/29/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      8/29/2020    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                      -3100
      8/29/2020    709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                    -343.73
      8/29/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            250
      8/29/2020    709   KP0004   Owner Operator   Express Check                  T-Check Payment                         3100
      8/29/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/29/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/29/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/29/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/29/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            173
      8/29/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.01
      8/29/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            223
      8/29/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            142
      8/29/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.76
      8/29/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      8/29/2020    709   KP0004   Owner Operator   Loan Repayment                 EFS 250738 Less Escrow                -10500
      8/29/2020    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
      8/29/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      8/29/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/29/2020    709   KP0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                      107.36
      8/29/2020    709   KP0004   Owner Operator   T Chek Fee                     Tractor Repair 32914                10736.37
      8/29/2020    709   KP0004   Owner Operator   Tractor Charge                 14457 - 32914                         504.17
      8/29/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      8/29/2020    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRK33483                      9.84
      8/29/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13

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      8/29/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        334.94
      8/29/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        254.47
      8/29/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        101.84
      8/29/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        289.66
      8/29/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.5
      8/29/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         44.37
      8/29/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/29/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD            56.13
      8/29/2020    709   KT0055   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                   328.87
      8/29/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 243905 33483 Lease 208        335.48
      8/29/2020    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                 8.75
      8/29/2020    709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/29/2020    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                 57.75
      8/29/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL            8.75
      8/29/2020    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                     9.84
      8/29/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111               13
      8/29/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD            40.09
      8/29/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 243906 Balloon Pay off        200.15
      8/29/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL            8.75
      8/29/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655               13
      8/29/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/29/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD            58.53
      8/29/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      8/29/2020    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                     9.84
      8/29/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005               13
      8/29/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.72
      8/29/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        182.98
      8/29/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          5.45
      8/29/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        188.17
      8/29/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/29/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     50.77
      8/29/2020    709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                 8.75
      8/29/2020    709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                 40.09
      8/29/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                     8.75
      8/29/2020    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                     9.84
      8/29/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342               13
      8/29/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                          1250
      8/29/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        109.06
      8/29/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.4
      8/29/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                        171.03
      8/29/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         77.85
      8/29/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/29/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                     23.95
      8/29/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                         8.75
      8/29/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435               13
      8/29/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.7
      8/29/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/29/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                         36.07
      8/29/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                 2.5
      8/29/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      8/29/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904               13
      8/29/2020    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                     -1000
      8/29/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           600
      8/29/2020    709   MP0035   Owner Operator   Express Check                  T-Check Payment                        1000
      8/29/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            180
      8/29/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.8
      8/29/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                        371.94
      8/29/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/29/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     52.12
      8/29/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism             2.5
      8/29/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL               8.75
      8/29/2020    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                    9.84
      8/29/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B              13
      8/29/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            160
      8/29/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                        1.6
      8/29/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        506.25
      8/29/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        204.81
      8/29/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      8/29/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD               33.71
      8/29/2020    709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL             8.75
      8/29/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        172.41
      8/29/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        366.63
      8/29/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        284.26

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      8/29/2020    709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      8/29/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      8/29/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/29/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/29/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/29/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/29/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.42
      8/29/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          84.27
      8/29/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.37
      8/29/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          87.85
      8/29/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.94
      8/29/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.99
      8/29/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/29/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      8/29/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.93
      8/29/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.24
      8/29/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.92
      8/29/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.09
      8/29/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      8/29/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/29/2020    709   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      8/29/2020    709   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      8/29/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.09
      8/29/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.09
      8/29/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      8/29/2020    709   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      8/29/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/29/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      8/29/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      8/29/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
      8/29/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      8/29/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.17
      8/29/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      8/29/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.26
      8/29/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/29/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
      8/29/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      8/29/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/29/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      8/29/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/29/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/29/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.13
      8/29/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.43
      8/29/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.38
      8/29/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      8/29/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.62
      8/29/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      8/29/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      8/29/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      8/29/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.48
      8/29/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      8/29/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    52.7
      8/29/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      8/29/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      8/29/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.46
      8/29/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      8/29/2020    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      8/29/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      8/29/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.65
      8/29/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.23
      8/29/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.06
      8/29/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      8/29/2020    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      8/29/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      8/29/2020    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      8/29/2020    709   RP0082   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/29/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.18
      8/29/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.14
      8/29/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 243879 Q1202 Balloon           234.05
      8/29/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      8/29/2020    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRK33488                      9.84
      8/29/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      8/29/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.17
      8/29/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.57
      8/29/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.01
      8/29/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.53
      8/29/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.13
      8/29/2020    709   RR0123   Owner Operator   T Chek Fee                     ExpressCheck Fee                       13.82
      8/29/2020    709   RR0123   Owner Operator   T Chek Fee                     Tractor Repair 33488                 1381.51
      8/29/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 243905 33488 Lease $335        335.48
      8/29/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 243968 Past tractor ren           100
      8/29/2020    709   SB0009   Owner Operator   Advertising Fees               30th Anniversay Bonus                  -1000
      8/29/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      8/29/2020    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      8/29/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      8/29/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      8/29/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/29/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/29/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.38
      8/29/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           72.5
      8/29/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.62
      8/29/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                             17
      8/29/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          214.1
      8/29/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.92
      8/29/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          29.59
      8/29/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.57
      8/29/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      8/29/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.65
      8/29/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      8/29/2020    709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      8/29/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      8/29/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      8/29/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.45
      8/29/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.57
      8/29/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.62
      8/29/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.31
      8/29/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      8/29/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 243907 3303Truck Lease         133.15
      8/29/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      8/29/2020    709   SM0109   Owner Operator   Broker Pre Pass                DriveWyze TRK33195                      9.84
      8/29/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      8/29/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.79
      8/29/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            240
      8/29/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            176
      8/29/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            236
      8/29/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.04
      8/29/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            302
      8/29/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      8/29/2020    709   SM0109   Owner Operator   Loan Repayment                 Loan # 00005 - Loan Repayment         357.49
      8/29/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             76.19
      8/29/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      8/29/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      8/29/2020    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.84
      8/29/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      8/29/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      8/29/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             200
      8/29/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/29/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.03
      8/29/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.41
      8/29/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.52

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      8/29/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          230.1
      8/29/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.46
      8/29/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    44.1
      8/29/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      8/29/2020    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      8/29/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      8/29/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          375.1
      8/29/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.17
      8/29/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      8/29/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   112.46
      8/29/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/29/2020    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      8/29/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      8/29/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/29/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/29/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.33
      8/29/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.02
      8/29/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.51
      8/29/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      8/29/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      8/29/2020    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      8/29/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      8/29/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      8/29/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      8/29/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      8/29/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      8/29/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/29/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/29/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/29/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.55
      8/29/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.68
      8/29/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.48
      8/29/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.4
      8/29/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.45
      8/29/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      8/29/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 243909 Q1238 Lease             311.97
      8/29/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      8/29/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      8/29/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/29/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/29/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/29/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/29/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          307.4
      8/29/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.87
      8/29/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           374
      8/29/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      8/29/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      8/29/2020    742   AP0047   Owner Operator   Toll Charges                   32604 BATA Carquinez Bridge               26
      8/29/2020    742   AP0047   Owner Operator   Toll Charges                   32604 BATA Carquinez Bridge               26
      8/29/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      8/29/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      8/29/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.66
      8/29/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.77
      8/29/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.87
      8/29/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.18
      8/29/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      8/29/2020    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      8/29/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      8/29/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.85
      8/29/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.65
      8/29/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.68
      8/29/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.11

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      8/29/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      8/29/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 243524 re-do of truck l        525.75
      8/29/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 243872 re-do of truck l        525.75
      8/29/2020    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.13
      8/29/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/29/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      8/29/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      8/29/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.18
      8/29/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/29/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.61
      8/29/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
      8/29/2020    742   DS0254   Owner Operator   Broker Pre Pass                DriveWyze TRK33487                      9.84
      8/29/2020    742   DS0254   Owner Operator   Charge back by affiliate       CTMS - 243500 Trailer Exterior           -35
      8/29/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                13
      8/29/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            400
      8/29/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      8/29/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.05
      8/29/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.28
      8/29/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.98
      8/29/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.21
      8/29/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.66
      8/29/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
      8/29/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 243524 Trk 33487 Lease          434.2
      8/29/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 243872 Trk 33487 Lease          434.2
      8/29/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      8/29/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      8/29/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.3
      8/29/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.97
      8/29/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.04
      8/29/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      8/29/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      8/29/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      8/29/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.96
      8/29/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.21
      8/29/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.49
      8/29/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.05
      8/29/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      8/29/2020    742   ED0041   Owner Operator   Tire Purchase                  TRN74200000013                        162.03
      8/29/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      8/29/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a               13
      8/29/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.13
      8/29/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      8/29/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      8/29/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      8/29/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/29/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.45
      8/29/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.91
      8/29/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.41
      8/29/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.04
      8/29/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      8/29/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      8/29/2020    742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
      8/29/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      8/29/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      8/29/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.23
      8/29/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.04
      8/29/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      8/29/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      8/29/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/29/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                            100
      8/29/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                            300
      8/29/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      8/29/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      8/29/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.67
      8/29/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          414.3
      8/29/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.92
      8/29/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                       100

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      8/29/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.14
      8/29/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      8/29/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      8/29/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      8/29/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/29/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                   60.1
      8/29/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      8/29/2020    742   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      8/29/2020    742   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.16
      8/29/2020    742   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      8/29/2020    742   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      8/29/2020    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.64
      8/29/2020    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.97
      8/29/2020    742   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.81
      8/29/2020    742   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.81
      8/29/2020    742   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      8/29/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      8/29/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      8/29/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.33
      8/29/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.16
      8/29/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.04
      8/29/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.34
      8/29/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.45
      8/29/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.91
      8/29/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.58
      8/29/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            36.07
      8/29/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      8/29/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 BATA Carquinez Bridge              26
      8/29/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 BATA Carquinez Bridge              26
      8/29/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 243422 Balloon Payoff          335.75
      8/29/2020    742   RS0342   Owner Operator   *Arrears Collection W/O        Debt on Account                        45.82
      8/29/2020    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      8/29/2020    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      8/29/2020    742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                13
      8/29/2020    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/29/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.98
      8/29/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     147.03
      8/29/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     147.03
      8/29/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      8/29/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      8/29/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      8/29/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      8/29/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.14
      8/29/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      8/29/2020    781   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      8/29/2020    781   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      8/29/2020    781   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/29/2020    781   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      8/29/2020    781   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/29/2020    781   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      8/29/2020    781   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    781   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      8/29/2020    781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.85
      8/29/2020    781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.92
      8/29/2020    781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.51
      8/29/2020    781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.58
      8/29/2020    781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.04
      8/29/2020    781   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      8/29/2020    781   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      8/29/2020    781   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      8/29/2020    781   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         376.83
      8/29/2020    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      8/29/2020    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.76
      8/29/2020    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.67
      8/29/2020    783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.31
      8/29/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5

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      8/29/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      8/29/2020    783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
      8/29/2020    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                          456.1
      8/29/2020    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.08
      8/29/2020    783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.02
      8/29/2020    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      8/29/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.89
      8/29/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         447.36
      8/29/2020    783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.06
      8/29/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      8/29/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      8/29/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      8/29/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   86919 2011 Freightliner NTL             8.75
      8/29/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   86919 2011 Freightliner NTL             8.75
      8/29/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 35032                13
      8/29/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 86919                13
      8/29/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 86919                13
      8/29/2020    783   JK0157   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/29/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.17
      8/29/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.79
      8/29/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.9
      8/29/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.95
      8/29/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      8/29/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                          26.05
      8/29/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.06
      8/29/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.72
      8/29/2020    783   JK0157   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    783   JK0157   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       41.71
      8/29/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       41.71
      8/29/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      8/29/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      8/29/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                86919 2011 Freightliner PD             39.31
      8/29/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                86919 2011 Freightliner PD             39.28
      8/29/2020    783   JL0281   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
      8/29/2020    783   JL0281   Owner Operator   T Chek Fee                     School Checks (Corp)                    300
      8/29/2020    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      8/29/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.97
      8/29/2020    783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.02
      8/29/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      8/29/2020    783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                          23.09
      8/29/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.54
      8/29/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.06
      8/29/2020    783   MK0038   Owner Operator   T Chek Fee                     Advance                              1390.78
      8/29/2020    783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      8/29/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.45
      8/29/2020    783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75
      8/29/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.23
      8/29/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.85
      8/29/2020    783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.36
      8/29/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
      8/29/2020    783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      8/29/2020    783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      8/29/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.63
      8/29/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.48
      8/29/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.57
      8/29/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.16
      8/29/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.44
      8/29/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.71
      8/29/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      8/29/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      8/29/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      8/29/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      8/29/2020    783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      8/29/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.85
      8/29/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.19
      8/29/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.56
      8/29/2020    783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      8/29/2020    783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                          432.3

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      8/29/2020    783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      8/29/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
      8/29/2020    783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      8/29/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.96
      8/29/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.47
      8/29/2020    783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.09
      8/29/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      8/29/2020    783   SM0160   Owner Operator   BOBTAIL INS.                   6867 2011 Volvo NTL                     8.75
      8/29/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.18
      8/29/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.18
      8/29/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.15
      8/29/2020    783   SM0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      8/29/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD                     28.05
      8/29/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD Terrorism             2.5
       9/5/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       9/5/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
       9/5/2020    709   AC0061   Owner Operator   ESCROW                         Escrow Withdrawal                       -300
       9/5/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                            100
       9/5/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.26
       9/5/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.05
       9/5/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.31
       9/5/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.52
       9/5/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.67
       9/5/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
       9/5/2020    709   AC0061   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.85
       9/5/2020    709   AC0061   Owner Operator   T Chek Fee                     ExpressCheck Fee                        8.98
       9/5/2020    709   AC0061   Owner Operator   T Chek Fee                     Tractor Repair Q13148                 897.84
       9/5/2020    709   AC0061   Owner Operator   T Chek Fee                     Tractor Repair Q13148                 385.02
       9/5/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 244140 Q13148 Trac Leas        296.09
       9/5/2020    709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
       9/5/2020    709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
       9/5/2020    709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
       9/5/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
       9/5/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
       9/5/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
       9/5/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
       9/5/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 244056 TRUCK RENTAL               100
       9/5/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 244088 truck 32781 Leas        225.29
       9/5/2020    709   AP0092   Owner Operator   BOBTAIL INS.                   971 2012 Freightliner NTL               8.75
       9/5/2020    709   AP0092   Owner Operator   Communication Charge           Safety Tech Hardware 8971                 13
       9/5/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.85
       9/5/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.79
       9/5/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.46
       9/5/2020    709   AP0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   AP0092   Owner Operator   PHYSICAL DAMAGE                971 2012 Freightliner PD               16.05
       9/5/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       9/5/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
       9/5/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.08
       9/5/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.81
       9/5/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          115.6
       9/5/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
       9/5/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
       9/5/2020    709   AV0021   Owner Operator   Advance                        EFS 251360 s/u 3 wks                 -832.38
       9/5/2020    709   AV0021   Owner Operator   Advance                        EFS 251360 s/u 3 wks                  277.46
       9/5/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       9/5/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
       9/5/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
       9/5/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       9/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.22
       9/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.44
       9/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.41
       9/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                            130
       9/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.31
       9/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.29
       9/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.29
       9/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.76
       9/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.56

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       9/5/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
       9/5/2020    709   AV0021   Owner Operator   T Chek Fee                     ExpressCheck Fee                        8.24
       9/5/2020    709   AV0021   Owner Operator   T Chek Fee                     Tractor Repair Q13169                 824.14
       9/5/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 244117 Q13169 Sublease         352.68
       9/5/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       9/5/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
       9/5/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
       9/5/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       9/5/2020    709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
       9/5/2020    709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
       9/5/2020    709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
       9/5/2020    709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
       9/5/2020    709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
       9/5/2020    709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
       9/5/2020    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.88
       9/5/2020    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          290.9
       9/5/2020    709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.11
       9/5/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.09
       9/5/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.11
       9/5/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.11
       9/5/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.11
       9/5/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
       9/5/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
       9/5/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
       9/5/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
       9/5/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
       9/5/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       9/5/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
       9/5/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
       9/5/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/5/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.4
       9/5/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.75
       9/5/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
       9/5/2020    709   CC0134   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    131.97
       9/5/2020    709   CC0134   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     360.2
       9/5/2020    709   CC0134   Owner Operator   Tire Purchase                  Brdgstn 6498157273 s/u 7/31/20        379.06
       9/5/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 244057 Q13168 sub lease        352.68
       9/5/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/5/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
       9/5/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.04
       9/5/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
       9/5/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
       9/5/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/5/2020    709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
       9/5/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                          498.3
       9/5/2020    709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.05
       9/5/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
       9/5/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
       9/5/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.44
       9/5/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.11
       9/5/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.77
       9/5/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
       9/5/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 244083 Q1247 Sub Lease         263.91
       9/5/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
       9/5/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
       9/5/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/5/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          321.1
       9/5/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.19
       9/5/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.96
       9/5/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       9/5/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
       9/5/2020    709   CV0028   Owner Operator   T Chek Fee                     ExpressCheck Fee                        3.71
       9/5/2020    709   CV0028   Owner Operator   T Chek Fee                     Tractor Repair 33482                   370.9
       9/5/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 244053 Lease Truck 3348        335.96
       9/5/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
       9/5/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.74
       9/5/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.27
       9/5/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.19
       9/5/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.83
       9/5/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.91
       9/5/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.1
       9/5/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          206.4
       9/5/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.62
       9/5/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
       9/5/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.07
       9/5/2020    709   DL0029   Owner Operator   Tire Purchase                  Brdgstn 6498389058 s/u 8/1/20         286.26
       9/5/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
       9/5/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
       9/5/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/5/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/5/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.37
       9/5/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.96
       9/5/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.58
       9/5/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.36
       9/5/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.44
       9/5/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment         366.62
       9/5/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
       9/5/2020    709   DL0107   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    178.03
       9/5/2020    709   DL0107   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     37.44
       9/5/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 244052 Baloon payoff           350.23
       9/5/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
       9/5/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.16
       9/5/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.77
       9/5/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.22
       9/5/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
       9/5/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
       9/5/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
       9/5/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
       9/5/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
       9/5/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
       9/5/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       9/5/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
       9/5/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/5/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/5/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.67
       9/5/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.12
       9/5/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  114.69
       9/5/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
       9/5/2020    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       9/5/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
       9/5/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
       9/5/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
       9/5/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.86
       9/5/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.39
       9/5/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
       9/5/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       9/5/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
       9/5/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.11
       9/5/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.3
       9/5/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.08
       9/5/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
       9/5/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.81
       9/5/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.17
       9/5/2020    709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
       9/5/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13

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       9/5/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           750
       9/5/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/5/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/5/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.72
       9/5/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.14
       9/5/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
       9/5/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
       9/5/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
       9/5/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
       9/5/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/5/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/5/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/5/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/5/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/5/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.79
       9/5/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.34
       9/5/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.19
       9/5/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.92
       9/5/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.87
       9/5/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.98
       9/5/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
       9/5/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
       9/5/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
       9/5/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
       9/5/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/5/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/5/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/5/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/5/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.07
       9/5/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.24
       9/5/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.52
       9/5/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
       9/5/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 244117 truck lease 3304        434.29
       9/5/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/5/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
       9/5/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.15
       9/5/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.23
       9/5/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.79
       9/5/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
       9/5/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       9/5/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
       9/5/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
       9/5/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            400
       9/5/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
       9/5/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.89
       9/5/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.74
       9/5/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.1
       9/5/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.61
       9/5/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
       9/5/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
       9/5/2020    709   GA0051   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    187.89
       9/5/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 244084 Q1200 Lease             238.16
       9/5/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
       9/5/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
       9/5/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.94
       9/5/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.91
       9/5/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
       9/5/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
       9/5/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
       9/5/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.58
       9/5/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.31
       9/5/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.03
       9/5/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       9/5/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
       9/5/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 244090 Q1109 Lease             302.85
       9/5/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
       9/5/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
       9/5/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       9/5/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
       9/5/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.03
       9/5/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          599.6
       9/5/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
       9/5/2020    709   HG0007   Owner Operator   Toll Charges                   34565 BATA Bay Bridge                     26
       9/5/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
       9/5/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
       9/5/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.39
       9/5/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.87
       9/5/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.93
       9/5/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
       9/5/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
       9/5/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/5/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
       9/5/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.57
       9/5/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.95
       9/5/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
       9/5/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/5/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
       9/5/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       9/5/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
       9/5/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       9/5/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
       9/5/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       9/5/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.26
       9/5/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                           4.56
       9/5/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.1
       9/5/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.64
       9/5/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          386.2
       9/5/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
       9/5/2020    709   JC0292   Owner Operator   Toll Charges                   Q13197 DRJTBC Delaware Water G            20
       9/5/2020    709   JC0292   Owner Operator   Toll Charges                   Q13197 ITRCC Calumet Entry               7.7
       9/5/2020    709   JC0292   Owner Operator   Toll Charges                   Q13197 ITRCC Eastpoint                 57.57
       9/5/2020    709   JC0292   Owner Operator   Toll Charges                   Q13197 NJTP Geo Washington Br/          18.8
       9/5/2020    709   JC0292   Owner Operator   Toll Charges                   Q13197 OTC Eastgate                      1.5
       9/5/2020    709   JC0292   Owner Operator   Toll Charges                   Q13197 OTC Youngstown                  40.75
       9/5/2020    709   JC0292   Owner Operator   Toll Charges                   Q13197 PTC Gateway                      23.4
       9/5/2020    709   JC0292   Owner Operator   Toll Charges                   Q13197 PTC Somerset                     52.4
       9/5/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 244090 Q13197 Lease            276.63
       9/5/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       9/5/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       9/5/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
       9/5/2020    709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
       9/5/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.82
       9/5/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.02
       9/5/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.27
       9/5/2020    709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       44.12
       9/5/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       44.12
       9/5/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
       9/5/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
       9/5/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.07
       9/5/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
       9/5/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       9/5/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
       9/5/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
       9/5/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       9/5/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/5/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
       9/5/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200

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       9/5/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          300
       9/5/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3
       9/5/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       9/5/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       236.58
       9/5/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       367.18
       9/5/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       294.23
       9/5/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       185.79
       9/5/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                    33.64
       9/5/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/5/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 28.08
       9/5/2020    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                  32.95
       9/5/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       9/5/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909              13
       9/5/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
       9/5/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
       9/5/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       9/5/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       9/5/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       427.69
       9/5/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       452.12
       9/5/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                    33.64
       9/5/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/5/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  76.2
       9/5/2020    709   JG0072   Owner Operator   Tire Purchase                  6502235320~BRIDGESTONE              310.62
       9/5/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
       9/5/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669              13
       9/5/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       336.29
       9/5/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       256.56
       9/5/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       337.56
       9/5/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/5/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     36.1
       9/5/2020    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                 8.75
       9/5/2020    709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970               13
       9/5/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        248.5
       9/5/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                       225.73
       9/5/2020    709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/5/2020    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                 33.04
       9/5/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
       9/5/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
       9/5/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637              13
       9/5/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       182.63
       9/5/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/5/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 20.06
       9/5/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 16.05
       9/5/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
       9/5/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203              13
       9/5/2020    709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                        364.9
       9/5/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/5/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           60.16
       9/5/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 244086 Balloon Payoff        234.05
       9/5/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
       9/5/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL          8.75
       9/5/2020    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                   9.84
       9/5/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159             13
       9/5/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159             13
       9/5/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                        54.56
       9/5/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
       9/5/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
       9/5/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
       9/5/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       9/5/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       316.99
       9/5/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       209.29
       9/5/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.23
       9/5/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.06
       9/5/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       9/5/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      38.5
       9/5/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD          41.31
       9/5/2020    709   JS0265   Owner Operator   Toll Charges                   Q13159 BATA Carquinez Bridge            26
       9/5/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 243758 Q13159 Lease           331.5
       9/5/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 243930 Q13159 Lease           331.5
       9/5/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 244082 Q13159 Lease           331.5
       9/5/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       9/5/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914              13
       9/5/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250

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       9/5/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/5/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/5/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/5/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/5/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.3
       9/5/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           255
       9/5/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.98
       9/5/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           295
       9/5/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             23
       9/5/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.37
       9/5/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
       9/5/2020    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
       9/5/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
       9/5/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/5/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
       9/5/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
       9/5/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.98
       9/5/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          235.9
       9/5/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
       9/5/2020    709   KT0055   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    328.84
       9/5/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 244053 33483 Lease 208         335.48
       9/5/2020    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
       9/5/2020    709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
       9/5/2020    709   LL0132   Owner Operator   Arrears 2                      Mv debt WC0032                       -257.26
       9/5/2020    709   LL0132   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.26
       9/5/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       9/5/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
       9/5/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
       9/5/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 244054 Balloon Pay off         200.15
       9/5/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
       9/5/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
       9/5/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          32.09
       9/5/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.59
       9/5/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
       9/5/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/5/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
       9/5/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.16
       9/5/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.92
       9/5/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.15
       9/5/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.67
       9/5/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.26
       9/5/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          512.6
       9/5/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
       9/5/2020    709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
       9/5/2020    709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.11
       9/5/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       9/5/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
       9/5/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                          1250
       9/5/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                            500
       9/5/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       9/5/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          45.03
       9/5/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.75
       9/5/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.52
       9/5/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.73
       9/5/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
       9/5/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
       9/5/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
       9/5/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.67
       9/5/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.24
       9/5/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.39
       9/5/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
       9/5/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       9/5/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       9/5/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                13
       9/5/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           600

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       9/5/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            180
       9/5/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.8
       9/5/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.45
       9/5/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
       9/5/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
       9/5/2020    709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk          250
       9/5/2020    709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk          250
       9/5/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       9/5/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
       9/5/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       9/5/2020    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
       9/5/2020    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
       9/5/2020    709   NB0029   Owner Operator   Communication Charge           Safety Tech Hardware 32986                13
       9/5/2020    709   NB0029   Owner Operator   ESCROW                         Weekly Escrow                           250
       9/5/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
       9/5/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              36.07
       9/5/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       9/5/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
       9/5/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
       9/5/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
       9/5/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       9/5/2020    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
       9/5/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 243585 32986 Lease              52.43
       9/5/2020    709   NB0029   Owner Operator   Truck Payment                  CTMS - 243758 32986 Lease             314.03
       9/5/2020    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       9/5/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       9/5/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
       9/5/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            150
       9/5/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       9/5/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.71
       9/5/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.85
       9/5/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.58
       9/5/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
       9/5/2020    709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
       9/5/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.53
       9/5/2020    709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
       9/5/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
       9/5/2020    709   PY0003   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
       9/5/2020    709   PY0003   Owner Operator   T Chek Fee                     School Checks (Corp)                    300
       9/5/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       9/5/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
       9/5/2020    709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
       9/5/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
       9/5/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
       9/5/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
       9/5/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
       9/5/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/5/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/5/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/5/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                            150
       9/5/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       9/5/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/5/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/5/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/5/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.99
       9/5/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.45
       9/5/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.34
       9/5/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.07
       9/5/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          82.89
       9/5/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.35
       9/5/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.09
       9/5/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
       9/5/2020    709   RB0170   Owner Operator   T Chek Fee                     Tractor Repair Q1241                  814.06
       9/5/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 243734 Q1241 Truck leas        321.84
       9/5/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 243904 Q1241 Truck leas        321.84
       9/5/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 244052 Q1241 Truck leas        321.84

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       9/5/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       9/5/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
       9/5/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.05
       9/5/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.93
       9/5/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.92
       9/5/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
       9/5/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       9/5/2020    709   RC0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    472.44
       9/5/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/5/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
       9/5/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
       9/5/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
       9/5/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
       9/5/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
       9/5/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.84
       9/5/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.09
       9/5/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
       9/5/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   RL0017   Owner Operator   Permits                        IL02:2020 - 35037                       3.75
       9/5/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
       9/5/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
       9/5/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.05
       9/5/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
       9/5/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/5/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
       9/5/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.15
       9/5/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.08
       9/5/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
       9/5/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
       9/5/2020    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       9/5/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       9/5/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
       9/5/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
       9/5/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           83.1
       9/5/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
       9/5/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
       9/5/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       9/5/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
       9/5/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
       9/5/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       9/5/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
       9/5/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.08
       9/5/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.45
       9/5/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.01
       9/5/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
       9/5/2020    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
       9/5/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       9/5/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
       9/5/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.75
       9/5/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
       9/5/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 244034 Q1202 Balloon           234.05
       9/5/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
       9/5/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
       9/5/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
       9/5/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       9/5/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.42
       9/5/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.95
       9/5/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.66
       9/5/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.53
       9/5/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
       9/5/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 244054 33488 Lease $335        335.48
       9/5/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 244114 Past tractor ren          100
       9/5/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       9/5/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
       9/5/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200

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       9/5/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.45
       9/5/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.07
       9/5/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.61
       9/5/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.38
       9/5/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
       9/5/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
       9/5/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       9/5/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
       9/5/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
       9/5/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.34
       9/5/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.5
       9/5/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.26
       9/5/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
       9/5/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       9/5/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 244055 3303Truck Lease         133.15
       9/5/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       9/5/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
       9/5/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           154
       9/5/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           380
       9/5/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.14
       9/5/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           434
       9/5/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
       9/5/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
       9/5/2020    709   SM0109   Owner Operator   Toll Charges                   33195 DRJTBC Trenton-Morrisvil           6.5
       9/5/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       9/5/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       9/5/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
       9/5/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
       9/5/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       9/5/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
       9/5/2020    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           310
       9/5/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           353
       9/5/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           137
       9/5/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
       9/5/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   -89.43
       9/5/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                   -89.43
       9/5/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.11
       9/5/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/5/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
       9/5/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.64
       9/5/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.22
       9/5/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.39
       9/5/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.78
       9/5/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.61
       9/5/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
       9/5/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       9/5/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
       9/5/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
       9/5/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       9/5/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       9/5/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
       9/5/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          166.2
       9/5/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.86
       9/5/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.55
       9/5/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.01
       9/5/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.52

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       9/5/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.23
       9/5/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
       9/5/2020    709   WH0087   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    126.09
       9/5/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 244057 Q1238 Lease             311.97
       9/5/2020    742   BS0078   Owner Operator   Arrears                        Credit Billing                        139.42
       9/5/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
       9/5/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
       9/5/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
       9/5/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
       9/5/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.45
       9/5/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.71
       9/5/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.2
       9/5/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.63
       9/5/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.75
       9/5/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.29
       9/5/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.66
       9/5/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.07
       9/5/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.52
       9/5/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.02
       9/5/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.25
       9/5/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  113.48
       9/5/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
       9/5/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
       9/5/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
       9/5/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       9/5/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
       9/5/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.81
       9/5/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.95
       9/5/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
       9/5/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       9/5/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
       9/5/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.95
       9/5/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.49
       9/5/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       9/5/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       9/5/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 244028 re-do of truck l        525.75
       9/5/2020    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14
       9/5/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/5/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
       9/5/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           345
       9/5/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           170
       9/5/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.36
       9/5/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.45
       9/5/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.97
       9/5/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           185
       9/5/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
       9/5/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
       9/5/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/5/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   251.63
       9/5/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL             8.75
       9/5/2020    742   DS0254   Owner Operator   Communication Charge           Safety Tech Hardware 33487                13
       9/5/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    742   DS0254   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.57
       9/5/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.54
       9/5/2020    742   DS0254   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.57
       9/5/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD             72.67
       9/5/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           2.5
       9/5/2020    742   DS0254   Owner Operator   Truck Payment                  CTMS - 244028 Trk 33487 Lease          434.2
       9/5/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       9/5/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
       9/5/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.05
       9/5/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.25
       9/5/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.19
       9/5/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07

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       9/5/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
       9/5/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
       9/5/2020    742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
       9/5/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
       9/5/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.58
       9/5/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.93
       9/5/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.94
       9/5/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          229.9
       9/5/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.97
       9/5/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          64.22
       9/5/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
       9/5/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
       9/5/2020    742   ED0041   Owner Operator   Tire Purchase                  TRN74200000013                        213.79
       9/5/2020    742   ED0041   Owner Operator   Tire Purchase                  TRN74200000013                         51.76
       9/5/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
       9/5/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a               13
       9/5/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
       9/5/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
       9/5/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
       9/5/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
       9/5/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/5/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                            220
       9/5/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2.2
       9/5/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.42
       9/5/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.06
       9/5/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
       9/5/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
       9/5/2020    742   JB0465   Owner Operator   Toll Charges                   34804 NTTA Plaza 10 - Irving             3.6
       9/5/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       9/5/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
       9/5/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.01
       9/5/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           311
       9/5/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
       9/5/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/5/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
       9/5/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/5/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.07
       9/5/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          211.3
       9/5/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          181.7
       9/5/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.17
       9/5/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                       100
       9/5/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
       9/5/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       9/5/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
       9/5/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
       9/5/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/5/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
       9/5/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
       9/5/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
       9/5/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
       9/5/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.27
       9/5/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
       9/5/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
       9/5/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 243934 Balloon Payoff          335.75
       9/5/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 244086 Balloon Payoff          335.75
       9/5/2020    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       9/5/2020    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       9/5/2020    742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                13
       9/5/2020    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/5/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.35
       9/5/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
       9/5/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.19
       9/5/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.63
       9/5/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.97
       9/5/2020    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     147.03
       9/5/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     147.03

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       9/5/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       9/5/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       9/5/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       9/5/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
       9/5/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
       9/5/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       9/5/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       9/5/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       9/5/2020    742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
       9/5/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
       9/5/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
       9/5/2020    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.39
       9/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.82
       9/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.07
       9/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.67
       9/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.75
       9/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.57
       9/5/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
       9/5/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
       9/5/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       9/5/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       9/5/2020    742   TC0098   Owner Operator   Toll Charges                   33489 HCTRA Hardy North - Barr          5.25
       9/5/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 243418 33489 Lease Paym        412.16
       9/5/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 243930 33489 Lease Paym        412.16
       9/5/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 244082 33489 Lease Paym        412.16
       9/5/2020    781   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       9/5/2020    781   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
       9/5/2020    781   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
       9/5/2020    781   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    781   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.95
       9/5/2020    781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.36
       9/5/2020    781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.61
       9/5/2020    781   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
       9/5/2020    781   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    781   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
       9/5/2020    781   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
       9/5/2020    783   CH0168   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
       9/5/2020    783   CH0168   Owner Operator   T Chek Fee                     School Checks (Corp)                    300
       9/5/2020    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
       9/5/2020    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.71
       9/5/2020    783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
       9/5/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
       9/5/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
       9/5/2020    783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
       9/5/2020    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.73
       9/5/2020    783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
       9/5/2020    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
       9/5/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         588.33
       9/5/2020    783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
       9/5/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
       9/5/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       9/5/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       9/5/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 35032                13
       9/5/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 86919                13
       9/5/2020    783   JK0157   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/5/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.81
       9/5/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.63
       9/5/2020    783   JK0157   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        41.7
       9/5/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       41.71
       9/5/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
       9/5/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
       9/5/2020    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
       9/5/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.27

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       9/5/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.99
       9/5/2020    783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
       9/5/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
       9/5/2020    783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       9/5/2020    783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
       9/5/2020    783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/5/2020    783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                          26.91
       9/5/2020    783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/5/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.93
       9/5/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.93
       9/5/2020    783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
       9/5/2020    783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       9/5/2020    783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
       9/5/2020    783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
       9/5/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.06
       9/5/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.35
       9/5/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.11
       9/5/2020    783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
       9/5/2020    783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
       9/5/2020    783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75
       9/5/2020    783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 86756                13
       9/5/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.61
       9/5/2020    783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.38
       9/5/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
       9/5/2020    783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
       9/5/2020    783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
       9/5/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.02
       9/5/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          182.6
       9/5/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.52
       9/5/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.37
       9/5/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.64
       9/5/2020    783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
       9/5/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
       9/5/2020    783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
       9/5/2020    783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
       9/5/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.65
       9/5/2020    783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
       9/5/2020    783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
       9/5/2020    783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
       9/5/2020    783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
       9/5/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
       9/5/2020    783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
       9/5/2020    783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance                            200
       9/5/2020    783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       9/5/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.34
       9/5/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.39
       9/5/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.35
       9/5/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                          83.95
       9/5/2020    783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
       9/5/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
       9/5/2020    783   SM0160   Owner Operator   BOBTAIL INS.                   6867 2011 Volvo NTL                     8.75
       9/5/2020    783   SM0160   Owner Operator   Communication Charge           Safety Tech Hardware 86867                13
       9/5/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.68
       9/5/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.02
       9/5/2020    783   SM0160   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.73
       9/5/2020    783   SM0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       9/5/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD                     28.08
       9/5/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD Terrorism             2.5
      9/12/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      9/12/2020    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      9/12/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      9/12/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      9/12/2020    709   AC0061   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                      8.55
      9/12/2020    709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75

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      9/12/2020    709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
      9/12/2020    709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   AC0122   Owner Operator   Permits                        IL02:2020 - 86806                       3.75
      9/12/2020    709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
      9/12/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      9/12/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      9/12/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      9/12/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      9/12/2020    709   AN0007   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    182.05
      9/12/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 244200 TRUCK RENTAL              100
      9/12/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 244231 truck 32781 Leas        225.29
      9/12/2020    709   AP0092   Owner Operator   BOBTAIL INS.                   971 2012 Freightliner NTL               8.75
      9/12/2020    709   AP0092   Owner Operator   Communication Charge           Safety Tech Hardware 8971                 13
      9/12/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.01
      9/12/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.55
      9/12/2020    709   AP0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   AP0092   Owner Operator   PHYSICAL DAMAGE                971 2012 Freightliner PD               16.05
      9/12/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      9/12/2020    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      9/12/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      9/12/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.84
      9/12/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.58
      9/12/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.84
      9/12/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      9/12/2020    709   AR0064   Owner Operator   T Chek Fee                     ExpressCheck Fee                        2.14
      9/12/2020    709   AR0064   Owner Operator   T Chek Fee                     Tractor Repair Q13147                 213.52
      9/12/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 244142 Baloon Q13147           357.62
      9/12/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 244289 Baloon Q13147           357.62
      9/12/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      9/12/2020    709   AV0021   Owner Operator   Advance                        EFS 251360 s/u 3 wks                  277.46
      9/12/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      9/12/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      9/12/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.39
      9/12/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.03
      9/12/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      9/12/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 244261 Q13169 Sublease         352.68
      9/12/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      9/12/2020    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      9/12/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      9/12/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      9/12/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      9/12/2020    709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
      9/12/2020    709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
      9/12/2020    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          224.6
      9/12/2020    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.55
      9/12/2020    709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.11
      9/12/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
      9/12/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      9/12/2020    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
      9/12/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      9/12/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/12/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/12/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/12/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/12/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.25
      9/12/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.41
      9/12/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      9/12/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 244201 Q13168 sub lease        352.68
      9/12/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/12/2020    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      9/12/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      9/12/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/12/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/12/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.89
      9/12/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         535.17
      9/12/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      9/12/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      9/12/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      9/12/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/12/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      9/12/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      9/12/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      9/12/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 244226 Q1247 Sub Lease         263.91
      9/12/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      9/12/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      9/12/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/12/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.29
      9/12/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.76
      9/12/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.22
      9/12/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.91
      9/12/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.47
      9/12/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.74
      9/12/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      9/12/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 244198 Lease Truck 3348        335.96
      9/12/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      9/12/2020    709   DL0029   Owner Operator   Broker Pre Pass                Q13199 PrePass Device                   12.5
      9/12/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.6
      9/12/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.88
      9/12/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.01
      9/12/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.56
      9/12/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
      9/12/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.07
      9/12/2020    709   DL0029   Owner Operator   Tire Purchase                  Brdgstn 6498389058 s/u 8/1/20         100.45
      9/12/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 244055 Q13199 Lease            193.11
      9/12/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 244199 Q13199 Lease            193.11
      9/12/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      9/12/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      9/12/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/12/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/12/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.84
      9/12/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.06
      9/12/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.23
      9/12/2020    709   DL0107   Owner Operator   Loan Repayment                 Loan # 00007 - Loan Repayment         364.55
      9/12/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      9/12/2020    709   DL0107   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    130.46
      9/12/2020    709   DL0107   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     93.02
      9/12/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 DRBA Delaware Memorial B            21
      9/12/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 ILTOLL Route 80 (East)             5.1
      9/12/2020    709   DL0107   Owner Operator   Toll Charges                   Q1245 NJTP I-287/Metuchen/Edis          7.65
      9/12/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 244197 Baloon payoff           350.23
      9/12/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      9/12/2020    709   DM0257   Owner Operator   Broker Pre Pass                34328 PrePass Device                    12.5
      9/12/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.79
      9/12/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.89
      9/12/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      9/12/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      9/12/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      9/12/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      9/12/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/12/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/12/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/12/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/12/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.11
      9/12/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          196.7
      9/12/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.54
      9/12/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      9/12/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      9/12/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      9/12/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      9/12/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.85
      9/12/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         486.22
      9/12/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      9/12/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75

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      9/12/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                              50
      9/12/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      9/12/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.08
      9/12/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.85
      9/12/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.18
      9/12/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      9/12/2020    709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                13
      9/12/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.38
      9/12/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.55
      9/12/2020    709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      9/12/2020    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
      9/12/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      9/12/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           750
      9/12/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         650.59
      9/12/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      9/12/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      9/12/2020    709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/12/2020    709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/12/2020    709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      9/12/2020    709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      9/12/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.5
      9/12/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.08
      9/12/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.51
      9/12/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.47
      9/12/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          345.5
      9/12/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.97
      9/12/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.68
      9/12/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.05
      9/12/2020    709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      9/12/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      9/12/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/12/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/12/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      9/12/2020    709   EO0014   Owner Operator   Broker Pre Pass                33846 PrePass Device                    12.5
      9/12/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      9/12/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/12/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/12/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/12/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/12/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/12/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.46
      9/12/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.75
      9/12/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.03
      9/12/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      9/12/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      9/12/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      9/12/2020    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
      9/12/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      9/12/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/12/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/12/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/12/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/12/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.79
      9/12/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.26
      9/12/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.75
      9/12/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      9/12/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 244260 truck lease 3304        434.29
      9/12/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/12/2020    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      9/12/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      9/12/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/12/2020    709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/12/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                           21.6
      9/12/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.37
      9/12/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.66
      9/12/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      9/12/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      9/12/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/12/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      9/12/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      9/12/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/12/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/12/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.36
      9/12/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.96
      9/12/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.58
      9/12/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.77
      9/12/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      9/12/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      9/12/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 244227 Q1200 Lease             238.16
      9/12/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      9/12/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      9/12/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.9
      9/12/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      9/12/2020    709   GS0015   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    188.51
      9/12/2020    709   GS0015   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    202.89
      9/12/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      9/12/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      9/12/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.99
      9/12/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.01
      9/12/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      9/12/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 244233 Q1109 Lease             302.85
      9/12/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      9/12/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      9/12/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.87
      9/12/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         622.32
      9/12/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      9/12/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/12/2020    709   IA0007   Owner Operator   Broker Pre Pass                34012 PrePass Device                    12.5
      9/12/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      9/12/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           400
      9/12/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.92
      9/12/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           89.6
      9/12/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      9/12/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      9/12/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/12/2020    709   IR0002   Owner Operator   Broker Pre Pass                32901 PrePass Device                    12.5
      9/12/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      9/12/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.01
      9/12/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      9/12/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/12/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.6
      9/12/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      9/12/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      9/12/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      9/12/2020    709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      9/12/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.96
      9/12/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.07
      9/12/2020    709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   JC0418   Owner Operator   Permits                        IL02:2020 - 86458                       3.75
      9/12/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        44.1
      9/12/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       44.12
      9/12/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      9/12/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      9/12/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.07
      9/12/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      9/12/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      9/12/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      9/12/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      9/12/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      9/12/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/12/2020    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
      9/12/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13

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      9/12/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          500
      9/12/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                         5
      9/12/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       162.97
      9/12/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       359.85
      9/12/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       189.53
      9/12/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                       132.23
      9/12/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                    33.64
      9/12/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                 28.08
      9/12/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/12/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909              13
      9/12/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/12/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/12/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          100
      9/12/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
      9/12/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       338.32
      9/12/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       163.84
      9/12/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        395.1
      9/12/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        176.4
      9/12/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                    33.64
      9/12/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  76.2
      9/12/2020    709   JG0072   Owner Operator   Tire Purchase                  6502235320~BRIDGESTONE              310.62
      9/12/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      9/12/2020    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5
      9/12/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669              13
      9/12/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       220.13
      9/12/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       418.62
      9/12/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     36.1
      9/12/2020    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                 8.75
      9/12/2020    709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970               13
      9/12/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                       252.38
      9/12/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        26.73
      9/12/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.88
      9/12/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                       241.22
      9/12/2020    709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2020    709   JL0280   Owner Operator   Permits                        IL02:2020 - 8970                      3.75
      9/12/2020    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                 33.04
      9/12/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      9/12/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      9/12/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637              13
      9/12/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         8.87
      9/12/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       164.77
      9/12/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        151.3
      9/12/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 20.06
      9/12/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 16.05
      9/12/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      9/12/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203              13
      9/12/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           60.16
      9/12/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 244229 Balloon Payoff        234.05
      9/12/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      9/12/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL          8.75
      9/12/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159             13
      9/12/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      9/12/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      9/12/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      9/12/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.27
      9/12/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       251.81
      9/12/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       248.27
      9/12/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       362.59
      9/12/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      9/12/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      38.5
      9/12/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD          41.31
      9/12/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 244225 Q13159 Lease           331.5
      9/12/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      9/12/2020    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      9/12/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914              13
      9/12/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         250

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      9/12/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/12/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/12/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/12/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/12/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.01
      9/12/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.01
      9/12/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.12
      9/12/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           155
      9/12/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          42.91
      9/12/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           200
      9/12/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      9/12/2020    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
      9/12/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      9/12/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/12/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      9/12/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      9/12/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.41
      9/12/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.77
      9/12/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          44.37
      9/12/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.92
      9/12/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.42
      9/12/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      9/12/2020    709   KT0055   Owner Operator   Toll Charges                   33483 BATA Bay Bridge                     26
      9/12/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 244198 33483 Lease 208         335.48
      9/12/2020    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      9/12/2020    709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
      9/12/2020    709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   KW0091   Owner Operator   Permits                        IL02:2020 - 86958                       3.75
      9/12/2020    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      9/12/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      9/12/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      9/12/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      9/12/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 244198 Balloon Pay off         200.15
      9/12/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      9/12/2020    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      9/12/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      9/12/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           447
      9/12/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.65
      9/12/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      9/12/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/12/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      9/12/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.02
      9/12/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.32
      9/12/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      9/12/2020    709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
      9/12/2020    709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
      9/12/2020    709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.11
      9/12/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      9/12/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      9/12/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                          1250
      9/12/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.75
      9/12/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          89.25
      9/12/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.53
      9/12/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.97
      9/12/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      9/12/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/12/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      9/12/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.38
      9/12/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      9/12/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/12/2020    709   MM0054   Owner Operator   *Arrears Collection W/O        WO:86900 2010 Freightliner NTL           -35
      9/12/2020    709   MM0054   Owner Operator   *Arrears Collection W/O        WO:86900 2010 Freightliner PD         -64.17
      9/12/2020    709   MM0054   Owner Operator   *Arrears Collection W/O        WO:Michael Jack Mur OCAC-Sfty        -222.99
      9/12/2020    709   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL               35
      9/12/2020    709   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         222.99
      9/12/2020    709   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD             64.17

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      9/12/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/12/2020    709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
      9/12/2020    709   MP0035   Owner Operator   Communication Charge           Safety Tech Hardware 32904                13
      9/12/2020    709   MP0035   Owner Operator   ESCROW                         Weekly Escrow                           600
      9/12/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance                            180
      9/12/2020    709   MP0035   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.8
      9/12/2020    709   MP0035   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.86
      9/12/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      9/12/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      9/12/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      9/12/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      9/12/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/12/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/12/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.47
      9/12/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.55
      9/12/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      9/12/2020    709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      9/12/2020    709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      9/12/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.31
      9/12/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.6
      9/12/2020    709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   PM0099   Owner Operator   Permits                        IL02:2020 - 86956                       3.75
      9/12/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      9/12/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      9/12/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      9/12/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      9/12/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              50
      9/12/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/12/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/12/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      9/12/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          374.4
      9/12/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.13
      9/12/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.53
      9/12/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.77
      9/12/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.29
      9/12/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.9
      9/12/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.95
      9/12/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      9/12/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 244196 Q1241 Truck leas        321.84
      9/12/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      9/12/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      9/12/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.97
      9/12/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.04
      9/12/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.43
      9/12/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      9/12/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      9/12/2020    709   RC0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    472.44
      9/12/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/12/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      9/12/2020    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      9/12/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      9/12/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
      9/12/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      9/12/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.63
      9/12/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.73
      9/12/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      9/12/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      9/12/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
      9/12/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      9/12/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/12/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      9/12/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/12/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/12/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/12/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/12/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.21
      9/12/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.62
      9/12/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64

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      9/12/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      9/12/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      9/12/2020    709   RL0180   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
      9/12/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      9/12/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      9/12/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.72
      9/12/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      9/12/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      9/12/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      9/12/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      9/12/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      9/12/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      9/12/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      9/12/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.02
      9/12/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.01
      9/12/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      9/12/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      9/12/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      9/12/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.93
      9/12/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      9/12/2020    709   RP0082   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    209.58
      9/12/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 244188 Q1202 Balloon           234.05
      9/12/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      9/12/2020    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      9/12/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      9/12/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/12/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/12/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/12/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.94
      9/12/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.84
      9/12/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.03
      9/12/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.17
      9/12/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.7
      9/12/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.33
      9/12/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      9/12/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      9/12/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      9/12/2020    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
      9/12/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      9/12/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/12/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.29
      9/12/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.87
      9/12/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.56
      9/12/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.24
      9/12/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      9/12/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      9/12/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 244199 3303Truck Lease         133.15
      9/12/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      9/12/2020    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      9/12/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      9/12/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.02
      9/12/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.49
      9/12/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           310
      9/12/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      9/12/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      9/12/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      9/12/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      9/12/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      9/12/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/12/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/12/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.29
      9/12/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.67
      9/12/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.37
      9/12/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      9/12/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75

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      9/12/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      9/12/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.01
      9/12/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.15
      9/12/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      9/12/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.11
      9/12/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/12/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      9/12/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/12/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/12/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.92
      9/12/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.76
      9/12/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.76
      9/12/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.19
      9/12/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      9/12/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      9/12/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      9/12/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      9/12/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      9/12/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      9/12/2020    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      9/12/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      9/12/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/12/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/12/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/12/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/12/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           119
      9/12/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.93
      9/12/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.93
      9/12/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      9/12/2020    709   WH0087   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    126.09
      9/12/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 244201 Q1238 Lease             311.97
      9/12/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      9/12/2020    742   BS0078   Owner Operator   Broker Pre Pass                34900 PrePass Device                    12.5
      9/12/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      9/12/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.41
      9/12/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.84
      9/12/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.96
      9/12/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.77
      9/12/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.22
      9/12/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.99
      9/12/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      9/12/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      9/12/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      9/12/2020    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      9/12/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      9/12/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.53
      9/12/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.29
      9/12/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.55
      9/12/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.69
      9/12/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      9/12/2020    742   CA0089   Owner Operator   Toll Charges                   33987 BATA Benicia                        26
      9/12/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      9/12/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      9/12/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          313.6
      9/12/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.38
      9/12/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
      9/12/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      9/12/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 244180 re-do of truck l        525.75
      9/12/2020    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14
      9/12/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/12/2020    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
      9/12/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      9/12/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.45
      9/12/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.38
      9/12/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           233
      9/12/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.46

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      9/12/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            177
      9/12/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.01
      9/12/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      9/12/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      9/12/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/12/2020    742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL              -35
      9/12/2020    742   DS0254   Owner Operator   Broker Pay Void/Reissue        Debt on Acct-Dir Dep                  525.67
      9/12/2020    742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      9/12/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD           -290.67
      9/12/2020    742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           -10
      9/12/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/12/2020    742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                    12.5
      9/12/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      9/12/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                            267
      9/12/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.37
      9/12/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
      9/12/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/12/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/12/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      9/12/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.27
      9/12/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.52
      9/12/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.18
      9/12/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      9/12/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/12/2020    742   ED0041   Owner Operator   Tire Purchase                  TRN74200000013                        213.79
      9/12/2020    742   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      9/12/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      9/12/2020    742   FS0011   Owner Operator   Communication Charge           Safety Tech Hardware 51069a               13
      9/12/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
      9/12/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      9/12/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      9/12/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      9/12/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/12/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance                             140
      9/12/2020    742   JB0465   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      9/12/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.88
      9/12/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.57
      9/12/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.67
      9/12/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.49
      9/12/2020    742   JB0465   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.44
      9/12/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      9/12/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      9/12/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      9/12/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      9/12/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      9/12/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/12/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      9/12/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/12/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/12/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/12/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                            212
      9/12/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.34
      9/12/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.06
      9/12/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                        100
      9/12/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      9/12/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/12/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/12/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/12/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/12/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.71
      9/12/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.53
      9/12/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.38
      9/12/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.66
      9/12/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.26
      9/12/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      9/12/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      9/12/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64

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      9/12/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    73.8
      9/12/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.14
      9/12/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      9/12/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      9/12/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      9/12/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      9/12/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      9/12/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      9/12/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      9/12/2020    742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      9/12/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      9/12/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      9/12/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      9/12/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            150
      9/12/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      9/12/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                           162
      9/12/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         189.79
      9/12/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.47
      9/12/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.78
      9/12/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.32
      9/12/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.13
      9/12/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.21
      9/12/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          187.2
      9/12/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      9/12/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      9/12/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      9/12/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      9/12/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.52
      9/12/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      9/12/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      9/12/2020    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      9/12/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      9/12/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.97
      9/12/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           2.03
      9/12/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.14
      9/12/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.34
      9/12/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.15
      9/12/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.18
      9/12/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.82
      9/12/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.33
      9/12/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      9/12/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      9/12/2020    742   RN0054   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    582.34
      9/12/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 244229 Balloon Payoff          335.75
      9/12/2020    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      9/12/2020    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      9/12/2020    742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                13
      9/12/2020    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/12/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.87
      9/12/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.44
      9/12/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         466.49
      9/12/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.32
      9/12/2020    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                       147
      9/12/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     147.03
      9/12/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      9/12/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      9/12/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      9/12/2020    742   SK0049   Owner Operator   Broker Pre Pass                33934 PrePass Device                    12.5
      9/12/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      9/12/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      9/12/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      9/12/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      9/12/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
      9/12/2020    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/12/2020    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/12/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.86
      9/12/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          367.3

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      9/12/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.56
      9/12/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.27
      9/12/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.21
      9/12/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.1
      9/12/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      9/12/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      9/12/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 244225 33489 Lease Paym        412.16
      9/12/2020    781   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                           126
      9/12/2020    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      9/12/2020    783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                13
      9/12/2020    783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    783   DS0317   Owner Operator   Permits                        IL02:2020 - 86918                       3.75
      9/12/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
      9/12/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      9/12/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      9/12/2020    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.53
      9/12/2020    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.68
      9/12/2020    783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    783   GR0095   Owner Operator   Permits                        IL02:2020 - 86926                       3.75
      9/12/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
      9/12/2020    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      9/12/2020    783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                13
      9/12/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.56
      9/12/2020    783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
      9/12/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      9/12/2020    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      9/12/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.21
      9/12/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           160
      9/12/2020    783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
      9/12/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      9/12/2020    783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      9/12/2020    783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
      9/12/2020    783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/12/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.42
      9/12/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         519.31
      9/12/2020    783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    783   MK0038   Owner Operator   Permits                        IL02:2020 - 86835                       3.75
      9/12/2020    783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
      9/12/2020    783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      9/12/2020    783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75
      9/12/2020    783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 86756                13
      9/12/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.43
      9/12/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.39
      9/12/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.68
      9/12/2020    783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    783   OJ0010   Owner Operator   Permits                        IL02:2020 - 86756                       3.75
      9/12/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.38
      9/12/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
      9/12/2020    783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      9/12/2020    783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
      9/12/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.54
      9/12/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.21
      9/12/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.82
      9/12/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.91
      9/12/2020    783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    783   RC0294   Owner Operator   Permits                        IL02:2020 - 86734                       3.75
      9/12/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      9/12/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      9/12/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.34
      9/12/2020    783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      9/12/2020    783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
      9/12/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.9
      9/12/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.09
      9/12/2020    783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/12/2020    783   RS0377   Owner Operator   Permits                        IL02:2020 - 86923                       3.75
      9/12/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
      9/12/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      9/12/2020    783   SM0160   Owner Operator   BOBTAIL INS.                   6867 2011 Volvo NTL                    26.25
      9/12/2020    783   SM0160   Owner Operator   BOBTAIL INS.                   6867 2011 Volvo NTL                      -35
      9/12/2020    783   SM0160   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          142.5

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      9/12/2020    783   SM0160   Owner Operator   Permits                        IC03:2020 - 86867                          1
      9/12/2020    783   SM0160   Owner Operator   Permits                        IL02:2020 - 86867                       3.75
      9/12/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD                     66.37
      9/12/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD                   -112.29
      9/12/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD Terrorism             -10
      9/19/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      9/19/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      9/19/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/19/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/19/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.99
      9/19/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.18
      9/19/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.32
      9/19/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      9/19/2020    709   AC0061   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                      75.5
      9/19/2020    709   AC0061   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     84.05
      9/19/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 244287 Q13148 Trac Leas        296.09
      9/19/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 244462 Q13148 Trac Leas        296.09
      9/19/2020    709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      9/19/2020    709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
      9/19/2020    709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
      9/19/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      9/19/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      9/19/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      9/19/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      9/19/2020    709   AN0007   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    182.05
      9/19/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 244399 truck 32781 Leas        225.29
      9/19/2020    709   AP0092   Owner Operator   BOBTAIL INS.                   971 2012 Freightliner NTL                -35
      9/19/2020    709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.17
      9/19/2020    709   AP0092   Owner Operator   PHYSICAL DAMAGE                971 2012 Freightliner PD              -64.17
      9/19/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      9/19/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      9/19/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.55
      9/19/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.86
      9/19/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.35
      9/19/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.84
      9/19/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.96
      9/19/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      9/19/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 244464 Baloon Q13147           357.62
      9/19/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      9/19/2020    709   AV0021   Owner Operator   Advance                        EFS 251360 s/u 3 wks                  277.46
      9/19/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      9/19/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      9/19/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.24
      9/19/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.84
      9/19/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.08
      9/19/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.65
      9/19/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.76
      9/19/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.24
      9/19/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.19
      9/19/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.92
      9/19/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.86
      9/19/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      9/19/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 244436 Q13169 Sublease         352.68
      9/19/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      9/19/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      9/19/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      9/19/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      9/19/2020    709   BM0030   Owner Operator   Toll Charges                   34023 NTTA Lower Tarrant Mainl           6.6
      9/19/2020    709   BM0030   Owner Operator   Toll Charges                   34023 NTTA Plaza 10 - Irving             3.6
      9/19/2020    709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
      9/19/2020    709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
      9/19/2020    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.22
      9/19/2020    709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.11
      9/19/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
      9/19/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      9/19/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13

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      9/19/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/19/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/19/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.06
      9/19/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.56
      9/19/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.04
      9/19/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.39
      9/19/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      9/19/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 244371 Q13168 sub lease        352.68
      9/19/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/19/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      9/19/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.66
      9/19/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          474.1
      9/19/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      9/19/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      9/19/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/19/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      9/19/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      9/19/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.62
      9/19/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.98
      9/19/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.94
      9/19/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.03
      9/19/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      9/19/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 244395 Q1247 Sub Lease         263.91
      9/19/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      9/19/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      9/19/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/19/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/19/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/19/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.05
      9/19/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.11
      9/19/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.29
      9/19/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.45
      9/19/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      9/19/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 244368 Lease Truck 3348        335.96
      9/19/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      9/19/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.95
      9/19/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.44
      9/19/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.31
      9/19/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.53
      9/19/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.75
      9/19/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.5
      9/19/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
      9/19/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.07
      9/19/2020    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.54
      9/19/2020    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair Q13199                 154.33
      9/19/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 244369 Q13199 Lease            193.11
      9/19/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      9/19/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/19/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/19/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          67.55
      9/19/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.5
      9/19/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.81
      9/19/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.65
      9/19/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      9/19/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      9/19/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          248.2
      9/19/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                           205

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      9/19/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      9/19/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      9/19/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      9/19/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      9/19/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/19/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/19/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.84
      9/19/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.27
      9/19/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      9/19/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      9/19/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      9/19/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      9/19/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      9/19/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      9/19/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                           501
      9/19/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      9/19/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      9/19/2020    709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                    12.5
      9/19/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      9/19/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      9/19/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/19/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/19/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          78.63
      9/19/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.62
      9/19/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      9/19/2020    709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                13
      9/19/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.44
      9/19/2020    709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   DT0153   Owner Operator   Permits                        IL02:2020 - 86963                       3.75
      9/19/2020    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
      9/19/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      9/19/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      9/19/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           750
      9/19/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/19/2020    709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/19/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         661.78
      9/19/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      9/19/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      9/19/2020    709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/19/2020    709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      9/19/2020    709   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.77
      9/19/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.78
      9/19/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.07
      9/19/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.83
      9/19/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.69
      9/19/2020    709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      9/19/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/19/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      9/19/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      9/19/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/19/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/19/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/19/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/19/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/19/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/19/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/19/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.39
      9/19/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.86
      9/19/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.79
      9/19/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          212.5
      9/19/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.47
      9/19/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.84
      9/19/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      9/19/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5

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      9/19/2020    709   EO0014   Owner Operator   Toll Charges                   33846 BATA Carquinez Bridge               26
      9/19/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      9/19/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      9/19/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/19/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/19/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/19/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/19/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.73
      9/19/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.03
      9/19/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.5
      9/19/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      9/19/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 244436 truck lease 3304        434.29
      9/19/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/19/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      9/19/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         436.98
      9/19/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      9/19/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/19/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      9/19/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      9/19/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/19/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/19/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.42
      9/19/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.26
      9/19/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.83
      9/19/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.35
      9/19/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      9/19/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      9/19/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 244396 Q1200 Lease             238.16
      9/19/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      9/19/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      9/19/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.51
      9/19/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      9/19/2020    709   GS0015   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    188.51
      9/19/2020    709   GS0015   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    202.89
      9/19/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      9/19/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      9/19/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.61
      9/19/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          164.5
      9/19/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      9/19/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 244402 Q1109 Lease             302.85
      9/19/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      9/19/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      9/19/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      9/19/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          45.99
      9/19/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.57
      9/19/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.19
      9/19/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      9/19/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      9/19/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      9/19/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      9/19/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         612.72
      9/19/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.99
      9/19/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.04
      9/19/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      9/19/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/19/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      9/19/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           400
      9/19/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.62
      9/19/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.17
      9/19/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      9/19/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      9/19/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      9/19/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      9/19/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.85
      9/19/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.33
      9/19/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      9/19/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/19/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      9/19/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      9/19/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      9/19/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      9/19/2020    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      9/19/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      9/19/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      9/19/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      9/19/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      9/19/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/19/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/19/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.4
      9/19/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.27
      9/19/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.62
      9/19/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.75
      9/19/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.53
      9/19/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.39
      9/19/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.36
      9/19/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      9/19/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      9/19/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 244233 Q13197 Lease            276.63
      9/19/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 244401 Q13197 Lease            276.63
      9/19/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      9/19/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      9/19/2020    709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      9/19/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.51
      9/19/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.09
      9/19/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.92
      9/19/2020    709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       44.12
      9/19/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      9/19/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.07
      9/19/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      9/19/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      9/19/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      9/19/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      9/19/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      9/19/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/19/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      9/19/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/19/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/19/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.63
      9/19/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.82
      9/19/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.29
      9/19/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      9/19/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      9/19/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/19/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      9/19/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.59

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      9/19/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        425.94
      9/19/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                     33.64
      9/19/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/19/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   76.2
      9/19/2020    709   JG0072   Owner Operator   Tire Purchase                  6502235320~BRIDGESTONE               310.62
      9/19/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      9/19/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669               13
      9/19/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        151.06
      9/19/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        338.02
      9/19/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/19/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      36.1
      9/19/2020    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                  8.75
      9/19/2020    709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                13
      9/19/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        245.43
      9/19/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        247.13
      9/19/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         34.84
      9/19/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        251.25
      9/19/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.1
      9/19/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.5
      9/19/2020    709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/19/2020    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                  33.04
      9/19/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      9/19/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      9/19/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637               13
      9/19/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/19/2020    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/19/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        179.46
      9/19/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        174.33
      9/19/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/19/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  20.06
      9/19/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  16.05
      9/19/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      9/19/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203               13
      9/19/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/19/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            60.16
      9/19/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 244397 Balloon Payoff         234.05
      9/19/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      9/19/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75
      9/19/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159              13
      9/19/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      9/19/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/19/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/19/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        293.47
      9/19/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        216.51
      9/19/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        287.92
      9/19/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/19/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       38.5
      9/19/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD           41.31
      9/19/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 244394 Q13159 Lease            331.5
      9/19/2020    709   KP0004   Owner Operator   Accident Claim                 09/11/20 KP0004 Incident              1500
      9/19/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      9/19/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           200
      9/19/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      9/19/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      9/19/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
      9/19/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          202
      9/19/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          159
      9/19/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/19/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  70.62
      9/19/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL            8.75
      9/19/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483               13
      9/19/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        155.37
      9/19/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          8.13
      9/19/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        130.68
      9/19/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        356.91
      9/19/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        221.04
      9/19/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        173.13
      9/19/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      9/19/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD            56.15
      9/19/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 244368 33483 Lease 208        335.48
      9/19/2020    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                 8.75
      9/19/2020    709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958               13
      9/19/2020    709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5

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      9/19/2020    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      9/19/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      9/19/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      9/19/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      9/19/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 244368 Balloon Pay off         200.15
      9/19/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      9/19/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      9/19/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/19/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/19/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.13
      9/19/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.44
      9/19/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.37
      9/19/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      9/19/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/19/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      9/19/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.13
      9/19/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.6
      9/19/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.73
      9/19/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      9/19/2020    709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
      9/19/2020    709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
      9/19/2020    709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.11
      9/19/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      9/19/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      9/19/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           1250
      9/19/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.28
      9/19/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.21
      9/19/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          84.21
      9/19/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      9/19/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/19/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      9/19/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.05
      9/19/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.63
      9/19/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.19
      9/19/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      9/19/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/19/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/19/2020    709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                      -2500
      9/19/2020    709   MP0035   Owner Operator   Express Check                  T-Check Payment                         2500
      9/19/2020    709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      9/19/2020    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      9/19/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      9/19/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      9/19/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/19/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.97
      9/19/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.14
      9/19/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      9/19/2020    709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      9/19/2020    709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      9/19/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.22
      9/19/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.06
      9/19/2020    709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      9/19/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      9/19/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      9/19/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      9/19/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                             150
      9/19/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              50
      9/19/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      9/19/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      9/19/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.54
      9/19/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.75
      9/19/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.91

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      9/19/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.66
      9/19/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.86
      9/19/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      9/19/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 244366 Q1241 Truck leas        321.84
      9/19/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      9/19/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      9/19/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.01
      9/19/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.49
      9/19/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.61
      9/19/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      9/19/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      9/19/2020    709   RC0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    472.44
      9/19/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/19/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      9/19/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      9/19/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
      9/19/2020    709   RL0017   Owner Operator   ESCROW                         Escrow Withdrawal                    -114.13
      9/19/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      9/19/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.24
      9/19/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      9/19/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      9/19/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
      9/19/2020    709   RL0017   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.13
      9/19/2020    709   RL0017   Owner Operator   T Chek Fee                     Tractor Repair 33065                    113
      9/19/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      9/19/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/19/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      9/19/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.03
      9/19/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.18
      9/19/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      9/19/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      9/19/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      9/19/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      9/19/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      9/19/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.89
      9/19/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.23
      9/19/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      9/19/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      9/19/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      9/19/2020    709   RL0180   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     132.5
      9/19/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      9/19/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      9/19/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      9/19/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      9/19/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.06
      9/19/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.64
      9/19/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      9/19/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      9/19/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      9/19/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.79
      9/19/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      9/19/2020    709   RP0082   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    209.58
      9/19/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 244341 Q1202 Balloon           234.05
      9/19/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      9/19/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      9/19/2020    709   RR0123   Owner Operator   Broker Pre Pass                33488 PrePass Device                    12.5
      9/19/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      9/19/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      9/19/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/19/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/19/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.29
      9/19/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.23
      9/19/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.97
      9/19/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.26

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      9/19/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/19/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/19/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD              56.15
      9/19/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD              56.15
      9/19/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Hardy South - Barr              7
      9/19/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL 82nd St.                     5.1
      9/19/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 244198 33488 Lease $335         335.48
      9/19/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 244257 Past tractor ren           100
      9/19/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 244368 33488 Lease $335         335.48
      9/19/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 244433 Past tractor ren           100
      9/19/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      9/19/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                 13
      9/19/2020    709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                    -1259.67
      9/19/2020    709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                    -1259.67
      9/19/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      9/19/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/19/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/19/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           208.7
      9/19/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           85.52
      9/19/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.19
      9/19/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          312.23
      9/19/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          129.74
      9/19/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                       33.64
      9/19/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/19/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                   103.68
      9/19/2020    709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                        12.47
      9/19/2020    709   SB0009   Owner Operator   T Chek Fee                     Tractor Repair 33236                   1247.2
      9/19/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL              8.75
      9/19/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                 13
      9/19/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      9/19/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          190.22
      9/19/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.44
      9/19/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.42
      9/19/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.11
      9/19/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.69
      9/19/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                           198.7
      9/19/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/19/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD              61.34
      9/19/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter            2.5
      9/19/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 244369 3303Truck Lease          133.15
      9/19/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL              8.75
      9/19/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/19/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD               76.2
      9/19/2020    709   SM0109   Owner Operator   Toll Charges                   33195 ILTOLL Route 80 (East)              5.1
      9/19/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          136.31
      9/19/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      9/19/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                 13
      9/19/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/19/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/19/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      9/19/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      9/19/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.98
      9/19/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.55
      9/19/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.57
      9/19/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/19/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    44.12
      9/19/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      9/19/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                 13
      9/19/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            368
      9/19/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            213
      9/19/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            350
      9/19/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/19/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               38.5
      9/19/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                     90.11
      9/19/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      9/19/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                 13
      9/19/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      9/19/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      9/19/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.39
      9/19/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          207.18
      9/19/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.43
      9/19/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          155.66
      9/19/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           13.84

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      9/19/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.73
      9/19/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.61
      9/19/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.99
      9/19/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      9/19/2020    709   VJ0006   Owner Operator   Toll Charges                   33961 HCTRA Ship Channel Bridg             7
      9/19/2020    709   VJ0006   Owner Operator   Toll Charges                   33961 NTTA Josey Ln.                     1.8
      9/19/2020    709   VJ0006   Owner Operator   Toll Charges                   33961 NTTA Kelly Blvd.                  1.38
      9/19/2020    709   VJ0006   Owner Operator   Toll Charges                   33961 NTTA North Lower Tarrant          2.04
      9/19/2020    709   VJ0006   Owner Operator   Toll Charges                   33961 NTTA Plaza 10 - Irving             2.4
      9/19/2020    709   VJ0006   Owner Operator   Toll Charges                   33961 NTTA Plaza 9 - Carrollto          4.16
      9/19/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      9/19/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      9/19/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      9/19/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      9/19/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      9/19/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      9/19/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/19/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/19/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/19/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/19/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.48
      9/19/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.85
      9/19/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.62
      9/19/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.81
      9/19/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      9/19/2020    709   WH0087   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    126.09
      9/19/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 244371 Q1238 Lease             311.97
      9/19/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      9/19/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      9/19/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      9/19/2020    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      9/19/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      9/19/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      9/19/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      9/19/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/19/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/19/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/19/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/19/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.46
      9/19/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.16
      9/19/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.82
      9/19/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      9/19/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      9/19/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      9/19/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      9/19/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      9/19/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      9/19/2020    742   AS0089   Owner Operator   *Arrears Collection W/O        Applicable Amount to Arrears           23.75
      9/19/2020    742   AS0089   Owner Operator   Broker Pay Void/Reissue        Void Statement Only                   -23.75
      9/19/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      9/19/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      9/19/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.51
      9/19/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          203.9
      9/19/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.49
      9/19/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.05
      9/19/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.73
      9/19/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.96
      9/19/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      9/19/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      9/19/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      9/19/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      9/19/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.27
      9/19/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          460.3
      9/19/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.71

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      9/19/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      9/19/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      9/19/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      9/19/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.61
      9/19/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
      9/19/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      9/19/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 244334 re-do of truck l        525.75
      9/19/2020    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14
      9/19/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/19/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      9/19/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           184
      9/19/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           228
      9/19/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           259
      9/19/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      9/19/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      9/19/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/19/2020    742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                  -1006.5
      9/19/2020    742   DS0254   Owner Operator   Broker Pay Void/Reissue        Debt on Acct-Dir Dep                  1006.5
      9/19/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/19/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      9/19/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.58
      9/19/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.08
      9/19/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
      9/19/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/19/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/19/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      9/19/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.8
      9/19/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.76
      9/19/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.57
      9/19/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.58
      9/19/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.38
      9/19/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.05
      9/19/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      9/19/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/19/2020    742   ED0041   Owner Operator   Tire Purchase                  TRN74200000013                        213.79
      9/19/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      9/19/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      9/19/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/19/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      9/19/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      9/19/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      9/19/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      9/19/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.01
      9/19/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           299
      9/19/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      9/19/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/19/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      9/19/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/19/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.34
      9/19/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.86
      9/19/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.02
      9/19/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.67
      9/19/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                       100
      9/19/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      9/19/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/19/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      9/19/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      9/19/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      9/19/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      9/19/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/19/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/19/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      9/19/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12

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      9/19/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      9/19/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      9/19/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.55
      9/19/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
      9/19/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
      9/19/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.56
      9/19/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/19/2020    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      9/19/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      9/19/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      9/19/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      9/19/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      9/19/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/19/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/19/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/19/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/19/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.99
      9/19/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.31
      9/19/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.25
      9/19/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.59
      9/19/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.52
      9/19/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.93
      9/19/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      9/19/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   33.36
      9/19/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      9/19/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                         501.95
      9/19/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      9/19/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      9/19/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            150
      9/19/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      9/19/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.28
      9/19/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          185.9
      9/19/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.89
      9/19/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.18
      9/19/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.71
      9/19/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.56
      9/19/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      9/19/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      9/19/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      9/19/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      9/19/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.46
      9/19/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.23
      9/19/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.49
      9/19/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.62
      9/19/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.68
      9/19/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.06
      9/19/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      9/19/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      9/19/2020    742   RN0054   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    582.34
      9/19/2020    742   RN0054   Owner Operator   Toll Charges                   Q13157 NTTA Plaza 10 - Irving            1.8
      9/19/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 244397 Balloon Payoff          335.75
      9/19/2020    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      9/19/2020    742   RS0342   Owner Operator   Broker Pay Void/Reissue        Void Statement Only                  -620.39
      9/19/2020    742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                13
      9/19/2020    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/19/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.04
      9/19/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.82
      9/19/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.95
      9/19/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          143.5
      9/19/2020    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     147.03
      9/19/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      9/19/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      9/19/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      9/19/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      9/19/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      9/19/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.99
      9/19/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.7

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      9/19/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.31
      9/19/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.07
      9/19/2020    781   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/19/2020    781   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/19/2020    781   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      9/19/2020    781   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      9/19/2020    781   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/19/2020    781   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/19/2020    781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.37
      9/19/2020    781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.87
      9/19/2020    781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.45
      9/19/2020    781   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      9/19/2020    781   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      9/19/2020    781   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    781   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    781   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      9/19/2020    781   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      9/19/2020    781   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      9/19/2020    781   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         419.75
      9/19/2020    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      9/19/2020    783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                13
      9/19/2020    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.94
      9/19/2020    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.49
      9/19/2020    783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
      9/19/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      9/19/2020    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      9/19/2020    783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                13
      9/19/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         514.58
      9/19/2020    783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
      9/19/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      9/19/2020    783   JK0157   Owner Operator   Arrears                        Credit Billing                        966.89
      9/19/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      9/19/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      9/19/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 35032                13
      9/19/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 35032                13
      9/19/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 86919                13
      9/19/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 86919                13
      9/19/2020    783   JK0157   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/19/2020    783   JK0157   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/19/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.24
      9/19/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.86
      9/19/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.1
      9/19/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.02
      9/19/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                          17.72
      9/19/2020    783   JK0157   Owner Operator   IRP License Deduction          LCIL:2020 - 35032                    1231.29
      9/19/2020    783   JK0157   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   JK0157   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   JK0157   Owner Operator   Permits                        ID06:2020 - 35032                         17
      9/19/2020    783   JK0157   Owner Operator   Permits                        IL02:2020 - 35032                       3.75
      9/19/2020    783   JK0157   Owner Operator   Permits                        NM07:2020 - 35032                      11.55
      9/19/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       41.71
      9/19/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       41.71
      9/19/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      9/19/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      9/19/2020    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      9/19/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.58
      9/19/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.11
      9/19/2020    783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
      9/19/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      9/19/2020    783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      9/19/2020    783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
      9/19/2020    783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/19/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.27
      9/19/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.57
      9/19/2020    783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
      9/19/2020    783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      9/19/2020    783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      9/19/2020    783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      9/19/2020    783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13

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      9/19/2020    783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
      9/19/2020    783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/19/2020    783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/19/2020    783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/19/2020    783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/19/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.47
      9/19/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.12
      9/19/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.04
      9/19/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           320
      9/19/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          41.64
      9/19/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.82
      9/19/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          11.85
      9/19/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.97
      9/19/2020    783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   MK0078   Owner Operator   Permits                        IL02:2020 - 86938                       3.75
      9/19/2020    783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
      9/19/2020    783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
      9/19/2020    783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      9/19/2020    783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      9/19/2020    783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75
      9/19/2020    783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 86756                13
      9/19/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.89
      9/19/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.66
      9/19/2020    783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.38
      9/19/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
      9/19/2020    783   RC0293   Owner Operator   BOBTAIL INS.                   6748 2008 Peterbilt NTL                  -35
      9/19/2020    783   RC0293   Owner Operator   BOBTAIL INS.                   6748 2008 Peterbilt NTL                 8.75
      9/19/2020    783   RC0293   Owner Operator   BOBTAIL INS.                   6748 2008 Peterbilt NTL                 8.75
      9/19/2020    783   RC0293   Owner Operator   BOBTAIL INS.                   6748 2008 Peterbilt NTL                 8.75
      9/19/2020    783   RC0293   Owner Operator   BOBTAIL INS.                   6748 2008 Peterbilt NTL                 8.75
      9/19/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD               -153.33
      9/19/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD                 38.34
      9/19/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD                 38.34
      9/19/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD                 38.34
      9/19/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD                 38.34
      9/19/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD Terrori           2.5
      9/19/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD Terrori           2.5
      9/19/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD Terrori          2.47
      9/19/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD Terrori           2.5
      9/19/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD Terrori           -10
      9/19/2020    783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      9/19/2020    783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
      9/19/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.55
      9/19/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.17
      9/19/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.18
      9/19/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.78
      9/19/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.09
      9/19/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.29
      9/19/2020    783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      9/19/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      9/19/2020    783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      9/19/2020    783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      9/19/2020    783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      9/19/2020    783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      9/19/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.76
      9/19/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.28
      9/19/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.78
      9/19/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          62.07
      9/19/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.87
      9/19/2020    783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   RD0012   Owner Operator   Permits                        IL02:2020 - 86812                       3.75
      9/19/2020    783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
      9/19/2020    783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
      9/19/2020    783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      9/19/2020    783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      9/19/2020    783   RM0340   Owner Operator   Arrears                        Credit Billing                       1364.37
      9/19/2020    783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      9/19/2020    783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      9/19/2020    783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13

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      9/19/2020    783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
      9/19/2020    783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.51
      9/19/2020    783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         536.72
      9/19/2020    783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   RM0340   Owner Operator   Permits                        IL02:2020 - 86922                       3.75
      9/19/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      9/19/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      9/19/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
      9/19/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
      9/19/2020    783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      9/19/2020    783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
      9/19/2020    783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/19/2020    783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/19/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.73
      9/19/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.9
      9/19/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.5
      9/19/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.86
      9/19/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.74
      9/19/2020    783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/19/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
      9/19/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      9/19/2020    893   JK0157   Owner Operator   Permits                        IL02:2020 - 86919                       3.75
      9/26/2020    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      9/26/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      9/26/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/26/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.45
      9/26/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.43
      9/26/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.95
      9/26/2020    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            36.88
      9/26/2020    709   AC0061   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     84.05
      9/26/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 244628 Q13148 Trac Leas        296.09
      9/26/2020    709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      9/26/2020    709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
      9/26/2020    709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.05
      9/26/2020    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      9/26/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      9/26/2020    709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          23.97
      9/26/2020    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.05
      9/26/2020    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      9/26/2020    709   AN0007   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    182.05
      9/26/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 244570 truck 32781 Leas        225.29
      9/26/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.31
      9/26/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      9/26/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      9/26/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.65
      9/26/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.19
      9/26/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.48
      9/26/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.94
      9/26/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.65
      9/26/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.86
      9/26/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           295
      9/26/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.29
      9/26/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            36.07
      9/26/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 244602 Q13169 Sublease         352.68
      9/26/2020    709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
      9/26/2020    709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
      9/26/2020    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.19
      9/26/2020    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.97
      9/26/2020    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.18
      9/26/2020    709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   BR0082   Owner Operator   Permits                        IL02:2020 - 35023                       3.75
      9/26/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.09
      9/26/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
      9/26/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      9/26/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      9/26/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/26/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/26/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3

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      9/26/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/26/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.76
      9/26/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.05
      9/26/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.06
      9/26/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.07
      9/26/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            36.07
      9/26/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 244544 Q13168 sub lease        352.68
      9/26/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/26/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      9/26/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/26/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/26/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         487.81
      9/26/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.62
      9/26/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         490.67
      9/26/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      9/26/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.04
      9/26/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/26/2020    709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      9/26/2020    709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      9/26/2020    709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      9/26/2020    709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      9/26/2020    709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/26/2020    709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/26/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                          493.4
      9/26/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         525.33
      9/26/2020    709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   CM0224   Owner Operator   Permits                        IL02:2020 - 8968                        3.75
      9/26/2020    709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.05
      9/26/2020    709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.05
      9/26/2020    709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.02
      9/26/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      9/26/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      9/26/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/26/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/26/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.77
      9/26/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.54
      9/26/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.28
      9/26/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          87.73
      9/26/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.73
      9/26/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.87
      9/26/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 244566 Q1247 Sub Lease         263.91
      9/26/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      9/26/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      9/26/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/26/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/26/2020    709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/26/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.15
      9/26/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.59
      9/26/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.13
      9/26/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.62
      9/26/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.17
      9/26/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 244541 Lease Truck 3348        335.96
      9/26/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      9/26/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.75
      9/26/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.24
      9/26/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          238.2
      9/26/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.59
      9/26/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.53
      9/26/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.66
      9/26/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.92
      9/26/2020    709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment         258.52
      9/26/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.04
      9/26/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 244542 Q13199 Lease            193.11
      9/26/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      9/26/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      9/26/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13

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      9/26/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.73
      9/26/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.96
      9/26/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          339.9
      9/26/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.97
      9/26/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.45
      9/26/2020    709   DL0107   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    130.46
      9/26/2020    709   DL0107   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    130.46
      9/26/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 244367 Baloon payoff           350.23
      9/26/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 244540 Baloon payoff           350.23
      9/26/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      9/26/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.2
      9/26/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.65
      9/26/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.79
      9/26/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.69
      9/26/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.91
      9/26/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.16
      9/26/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      9/26/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      9/26/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      9/26/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/26/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/26/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.41
      9/26/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.05
      9/26/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          426.8
      9/26/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  114.69
      9/26/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      9/26/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      9/26/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      9/26/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.09
      9/26/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.78
      9/26/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.09
      9/26/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      9/26/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      9/26/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.04
      9/26/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.23
      9/26/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.67
      9/26/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.48
      9/26/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.17
      9/26/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.22
      9/26/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.11
      9/26/2020    709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                13
      9/26/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.53
      9/26/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.16
      9/26/2020    709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      9/26/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      9/26/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                           750
      9/26/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         530.35
      9/26/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.11
      9/26/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      9/26/2020    709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/26/2020    709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      9/26/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.1
      9/26/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.69
      9/26/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.23
      9/26/2020    709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      9/26/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/26/2020    709   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Northwest M          4.48
      9/26/2020    709   EN0016   Owner Operator   Toll Charges                   32947 TXTAG GRDPKY Spencer Mai          8.64
      9/26/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      9/26/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      9/26/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/26/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           310
      9/26/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.84

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      9/26/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 80.2
      9/26/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      9/26/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      9/26/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      9/26/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.05
      9/26/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.63
      9/26/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.24
      9/26/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.56
      9/26/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.63
      9/26/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.91
      9/26/2020    709   FS0039   Owner Operator   Truck Payment                  CTMS - 244602 truck lease 3304        434.29
      9/26/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/26/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      9/26/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.96
      9/26/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.36
      9/26/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.09
      9/26/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/26/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      9/26/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      9/26/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.66
      9/26/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.96
      9/26/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                           291
      9/26/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.56
      9/26/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.32
      9/26/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.29
      9/26/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.04
      9/26/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.67
      9/26/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 244551 TRUCK RENTAL              100
      9/26/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 244567 Q1200 Lease             238.16
      9/26/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      9/26/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      9/26/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          236.8
      9/26/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.09
      9/26/2020    709   GS0015   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    188.51
      9/26/2020    709   GS0015   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    202.89
      9/26/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      9/26/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      9/26/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.43
      9/26/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.36
      9/26/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.07
      9/26/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.03
      9/26/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      9/26/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 244572 Q1109 Lease             302.85
      9/26/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      9/26/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      9/26/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.01
      9/26/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.02
      9/26/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.98
      9/26/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            36.07
      9/26/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      9/26/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      9/26/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          634.6
      9/26/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.02
      9/26/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.64
      9/26/2020    709   HG0007   Owner Operator   Toll Charges                   34565 BATA Bay Bridge                     26
      9/26/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      9/26/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      9/26/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           400
      9/26/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.73

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      9/26/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    52.7
      9/26/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.34
      9/26/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/26/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      9/26/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.22
      9/26/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.07
      9/26/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/26/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.96
      9/26/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      9/26/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      9/26/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      9/26/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/26/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/26/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/26/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/26/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.81
      9/26/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.91
      9/26/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.41
      9/26/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.98
      9/26/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.61
      9/26/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.11
      9/26/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.44
      9/26/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.11
      9/26/2020    709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL Route 80 (East)            5.1
      9/26/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 244572 Q13197 Lease            276.63
      9/26/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      9/26/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      9/26/2020    709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      9/26/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.87
      9/26/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.31
      9/26/2020    709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        44.1
      9/26/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      9/26/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.04
      9/26/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      9/26/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      9/26/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      9/26/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      9/26/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      9/26/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/26/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      9/26/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      9/26/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      9/26/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.71
      9/26/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.32
      9/26/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.97
      9/26/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      9/26/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      9/26/2020    709   JG0017   Owner Operator   T Chek Fee                     ExpressCheck Fee                       17.08
      9/26/2020    709   JG0017   Owner Operator   T Chek Fee                     Tractor Repair 32908                  1708.3
      9/26/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/26/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      9/26/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/26/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/26/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/26/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/26/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          435.5
      9/26/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.48
      9/26/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      9/26/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   76.19
      9/26/2020    709   JG0072   Owner Operator   Tire Purchase                  6502171356~BRIDGESTONE                229.33
      9/26/2020    709   JG0072   Owner Operator   Tire Purchase                  6502235320~BRIDGESTONE                  0.31
      9/26/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/26/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                13
      9/26/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.48
      9/26/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.48
      9/26/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.03

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      9/26/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      36.07
      9/26/2020    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                   8.75
      9/26/2020    709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                 13
      9/26/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.71
      9/26/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.52
      9/26/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.02
      9/26/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.03
      9/26/2020    709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                   33.02
      9/26/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      9/26/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      9/26/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                13
      9/26/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.84
      9/26/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.03
      9/26/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.02
      9/26/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      9/26/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      9/26/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.14
      9/26/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 244569 Balloon Payoff          234.05
      9/26/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      9/26/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      9/26/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159               13
      9/26/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                           100
      9/26/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.17
      9/26/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      9/26/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD             41.3
      9/26/2020    709   JS0265   Owner Operator   Truck Payment                  CTMS - 244566 Q13159 Lease             331.5
      9/26/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/26/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      9/26/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      9/26/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/26/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/26/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           225
      9/26/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           222
      9/26/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             38
      9/26/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           186
      9/26/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.51
      9/26/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           143
      9/26/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           205
      9/26/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           145
      9/26/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.11
      9/26/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      9/26/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      9/26/2020    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
      9/26/2020    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
      9/26/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      9/26/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   25.19
      9/26/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/26/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/26/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      9/26/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      9/26/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.86
      9/26/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.66
      9/26/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.64
      9/26/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.99
      9/26/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                           2.63
      9/26/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.03
      9/26/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.13
      9/26/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 244541 33483 Lease 208         335.48

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      9/26/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      9/26/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      9/26/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.09
      9/26/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 244542 Balloon Pay off         200.15
      9/26/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      9/26/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      9/26/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/26/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/26/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/26/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/26/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.17
      9/26/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.92
      9/26/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.92
      9/26/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.59
      9/26/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.53
      9/26/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      9/26/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      9/26/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.68
      9/26/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.99
      9/26/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.77
      9/26/2020    709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
      9/26/2020    709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
      9/26/2020    709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.09
      9/26/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      9/26/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      9/26/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                          1250
      9/26/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.13
      9/26/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.39
      9/26/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.39
      9/26/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.95
      9/26/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      9/26/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      9/26/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.84
      9/26/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          36.07
      9/26/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      9/26/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      9/26/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      9/26/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      9/26/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      9/26/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.02
      9/26/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.83
      9/26/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      9/26/2020    709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      9/26/2020    709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      9/26/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.71
      9/26/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.65
      9/26/2020    709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      9/26/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      9/26/2020    709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/26/2020    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/26/2020    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/26/2020    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.16
      9/26/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.63
      9/26/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.61
      9/26/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.86
      9/26/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.19
      9/26/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.94
      9/26/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.91
      9/26/2020    709   PY0003   Owner Operator   Toll Charges                   35043 NTTA Plaza 10 - Irving             3.6
      9/26/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75

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      9/26/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      9/26/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.99
      9/26/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.61
      9/26/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          207.5
      9/26/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.21
      9/26/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.72
      9/26/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.09
      9/26/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 244540 Q1241 Truck leas        321.84
      9/26/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      9/26/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      9/26/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.4
      9/26/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.09
      9/26/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.53
      9/26/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      9/26/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      9/26/2020    709   RC0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    472.44
      9/26/2020    709   RC0030   Owner Operator   Truck Payment                  CTMS - 244551 TRUCK RENTAL              100
      9/26/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/26/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      9/26/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      9/26/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
      9/26/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      9/26/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.27
      9/26/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.76
      9/26/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      9/26/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 35037                       100
      9/26/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.26
      9/26/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.05
      9/26/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      9/26/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/26/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      9/26/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/26/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/26/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/26/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/26/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.06
      9/26/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.96
      9/26/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.28
      9/26/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      9/26/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.62
      9/26/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      9/26/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      9/26/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      9/26/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.74
      9/26/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      9/26/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    52.7
      9/26/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      9/26/2020    709   RL0180   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     132.5
      9/26/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      9/26/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.46
      9/26/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      9/26/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      9/26/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.19
      9/26/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.81
      9/26/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.06
      9/26/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      9/26/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      9/26/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          426.5
      9/26/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.14
      9/26/2020    709   RP0082   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    209.58
      9/26/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 244516 Q1202 Balloon           234.05
      9/26/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      9/26/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      9/26/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      9/26/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.26
      9/26/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         359.15
      9/26/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         409.79
      9/26/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.67
      9/26/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.13
      9/26/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA KTY WB @ Eldridge              7
      9/26/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA KTY WB @ Wilcrest              7
      9/26/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Sam Houston - East           3.5
      9/26/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Sam Houston - East           3.5
      9/26/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Sam Houston - East           3.5
      9/26/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Sam Houston - Sout           3.5
      9/26/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Sam Houston - Sout           3.5
      9/26/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Sam Houston - Sout           3.5
      9/26/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Ship Channel Bridg           3.5
      9/26/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Ship Channel Bridg             7
      9/26/2020    709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Ship Channel Bridg           3.5
      9/26/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 244541 33488 Lease $335        335.48
      9/26/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 244599 Past tractor ren          100
      9/26/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      9/26/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      9/26/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      9/26/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/26/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/26/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.28
      9/26/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           13.9
      9/26/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          70.18
      9/26/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.48
      9/26/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          225.3
      9/26/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.69
      9/26/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.9
      9/26/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      9/26/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.65
      9/26/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         437.87
      9/26/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      9/26/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      9/26/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      9/26/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.01
      9/26/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          362.4
      9/26/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           276
      9/26/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      9/26/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      9/26/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             76.19
      9/26/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      9/26/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                         332.29
      9/26/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      9/26/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      9/26/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.94
      9/26/2020    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.25
      9/26/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    44.1
      9/26/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      9/26/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      9/26/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           457
      9/26/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           255
      9/26/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      9/26/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/26/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/26/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      9/26/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/26/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      9/26/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.18
      9/26/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.74
      9/26/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.21
      9/26/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.36
      9/26/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          21.01
      9/26/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75

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      9/26/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      9/26/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      9/26/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      9/26/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      9/26/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      9/26/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          260.7
      9/26/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.99
      9/26/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.71
      9/26/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      9/26/2020    709   WH0087   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    126.09
      9/26/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 244544 Q1238 Lease             311.97
      9/26/2020    742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      9/26/2020    742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      9/26/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.46
      9/26/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.53
      9/26/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.31
      9/26/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.84
      9/26/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.77
      9/26/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.57
      9/26/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          106.1
      9/26/2020    742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.94
      9/26/2020    742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  113.48
      9/26/2020    742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      9/26/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      9/26/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      9/26/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.23
      9/26/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.33
      9/26/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.02
      9/26/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.18
      9/26/2020    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      9/26/2020    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      9/26/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.45
      9/26/2020    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.48
      9/26/2020    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.11
      9/26/2020    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      9/26/2020    742   CT0085   Owner Operator   Truck Payment                  CTMS - 244504 re-do of truck l        525.75
      9/26/2020    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.13
      9/26/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/26/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      9/26/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      9/26/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.18
      9/26/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      9/26/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      9/26/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      9/26/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.25
      9/26/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.04
      9/26/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      9/26/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      9/26/2020    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      9/26/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          126.8
      9/26/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.81
      9/26/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          219.7
      9/26/2020    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          236.6
      9/26/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.05
      9/26/2020    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      9/26/2020    742   ED0041   Owner Operator   Tire Purchase                  TRN74200000013                        213.79
      9/26/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL               8.75
      9/26/2020    742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                2.8
      9/26/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD               56.15
      9/26/2020    742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro           2.5
      9/26/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      9/26/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      9/26/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/26/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.04

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      9/26/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris            2.5
      9/26/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                   8.75
      9/26/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                 13
      9/26/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                          594.13
      9/26/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/26/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                   24.04
      9/26/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      9/26/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                 13
      9/26/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/26/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                             100
      9/26/2020    742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      9/26/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          214.45
      9/26/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                           239.1
      9/26/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.82
      9/26/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          278.91
      9/26/2020    742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                        100
      9/26/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/26/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    60.14
      9/26/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      9/26/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                   8.75
      9/26/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                 13
      9/26/2020    742   MH0117   Owner Operator   ESCROW                         Escrow Withdrawal                    -3846.42
      9/26/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/26/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/26/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                    60.1
      9/26/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris            2.5
      9/26/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                      6.55
      9/26/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      9/26/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                 13
      9/26/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      9/26/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          262.68
      9/26/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          383.06
      9/26/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          236.83
      9/26/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          227.68
      9/26/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                       33.64
      9/26/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   107.14
      9/26/2020    742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                          501.95
      9/26/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL             8.75
      9/26/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157                13
      9/26/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           92.92
      9/26/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          244.43
      9/26/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.44
      9/26/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          272.18
      9/26/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          168.77
      9/26/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/26/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.07
      9/26/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te            2.5
      9/26/2020    742   RN0054   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     582.34
      9/26/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 244569 Balloon Payoff           335.75
      9/26/2020    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                       8.75
      9/26/2020    742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                 13
      9/26/2020    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                              50
      9/26/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          117.57
      9/26/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          418.85
      9/26/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          134.33
      9/26/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          314.74
      9/26/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          291.96
      9/26/2020    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2020 - 35030                        100
      9/26/2020    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/26/2020    742   RS0342   Owner Operator   Permits                        IL02:2020 - 35030                        3.75
      9/26/2020    742   RS0342   Owner Operator   Permits                        NM07:2020 - 35030                       11.55
      9/26/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                        147
      9/26/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism               2.5
      9/26/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                       8.75
      9/26/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                 13
      9/26/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      9/26/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                       60.14
      9/26/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism               2.5
      9/26/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL              8.75
      9/26/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                           76.68
      9/26/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          140.29
      9/26/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          327.91
      9/26/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                           41.46

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      9/26/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      9/26/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      9/26/2020    742   TC0098   Owner Operator   Toll Charges                   33489 OTA Turner Turnpike East         18.05
      9/26/2020    742   TC0098   Owner Operator   Toll Charges                   33489 OTA Will Rogers Turnpike         18.05
      9/26/2020    781   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      9/26/2020    781   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      9/26/2020    781   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      9/26/2020    781   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    781   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      9/26/2020    781   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    781   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      9/26/2020    781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.82
      9/26/2020    781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.79
      9/26/2020    781   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      9/26/2020    781   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    781   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      9/26/2020    781   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      9/26/2020    783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                 8.75
      9/26/2020    783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                 8.75
      9/26/2020    783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                 8.75
      9/26/2020    783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                 8.75
      9/26/2020    783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                 8.75
      9/26/2020    783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                 8.75
      9/26/2020    783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          17.28
      9/26/2020    783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.18
      9/26/2020    783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.18
      9/26/2020    783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.18
      9/26/2020    783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.18
      9/26/2020    783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      9/26/2020    783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      9/26/2020    783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      9/26/2020    783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      9/26/2020    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      9/26/2020    783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                13
      9/26/2020    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                          32.92
      9/26/2020    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                           465
      9/26/2020    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.09
      9/26/2020    783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.31
      9/26/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      9/26/2020    783   GR0095   Owner Operator   Arrears                        Credit Billing                            62
      9/26/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      9/26/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      9/26/2020    783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
      9/26/2020    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.13
      9/26/2020    783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
      9/26/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.02
      9/26/2020    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      9/26/2020    783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                13
      9/26/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.84
      9/26/2020    783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.06
      9/26/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      9/26/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      9/26/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 35032                13
      9/26/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 86919                13
      9/26/2020    783   JK0157   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/26/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.44
      9/26/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.05
      9/26/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.27
      9/26/2020    783   JK0157   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        41.7
      9/26/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      9/26/2020    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      9/26/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.35
      9/26/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.22
      9/26/2020    783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.02
      9/26/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5

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      9/26/2020    783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      9/26/2020    783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
      9/26/2020    783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/26/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                          544.2
      9/26/2020    783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.16
      9/26/2020    783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      9/26/2020    783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      9/26/2020    783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
      9/26/2020    783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      9/26/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.22
      9/26/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.58
      9/26/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.09
      9/26/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.67
      9/26/2020    783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.81
      9/26/2020    783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      9/26/2020    783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75
      9/26/2020    783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 86756                13
      9/26/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.89
      9/26/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.84
      9/26/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.72
      9/26/2020    783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.36
      9/26/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
      9/26/2020    783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      9/26/2020    783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
      9/26/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.65
      9/26/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.84
      9/26/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.02
      9/26/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.17
      9/26/2020    783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      9/26/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      9/26/2020    783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      9/26/2020    783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      9/26/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.19
      9/26/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          113.8
      9/26/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.09
      9/26/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.08
      9/26/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.85
      9/26/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.05
      9/26/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.77
      9/26/2020    783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.09
      9/26/2020    783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      9/26/2020    783   RM0340   Owner Operator   Arrears                        Credit Billing                       1004.44
      9/26/2020    783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      9/26/2020    783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
      9/26/2020    783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.38
      9/26/2020    783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      9/26/2020    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
      9/26/2020    783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      9/26/2020    783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
      9/26/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.83
      9/26/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.73
      9/26/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                          296.8
      9/26/2020    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.19
      9/26/2020    783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      9/26/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.09
      9/26/2020    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      9/26/2020    783   SM0160   Owner Operator   Arrears                        Credit Billing                        182.98
      9/26/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD                     17.84
      9/26/2020    783   SM0160   Owner Operator   PHYSICAL DAMAGE                6867 2011 Volvo PD Terrorism             7.5
      10/3/2020    406   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      10/3/2020    406   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      10/3/2020    406   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      10/3/2020    406   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      10/3/2020    406   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         235.27
      10/3/2020    406   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         235.27
      10/3/2020    406   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         235.27
      10/3/2020    406   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         235.27

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      10/3/2020    709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
      10/3/2020    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      10/3/2020    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      10/3/2020    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/3/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.04
      10/3/2020    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.93
      10/3/2020    709   AC0061   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     84.05
      10/3/2020    709   AC0061   Owner Operator   Truck Payment                  CTMS - 244788 Q13148 Trac Leas        296.09
      10/3/2020    709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
      10/3/2020    709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK32781                      9.84
      10/3/2020    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      10/3/2020    709   AN0007   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    182.05
      10/3/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 244694 TRUCK RENTAL              350
      10/3/2020    709   AN0007   Owner Operator   Truck Payment                  CTMS - 244741 truck 32781 Leas        225.29
      10/3/2020    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      10/3/2020    709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      10/3/2020    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      10/3/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      10/3/2020    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      10/3/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.27
      10/3/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.41
      10/3/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          382.3
      10/3/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.93
      10/3/2020    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.96
      10/3/2020    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/3/2020    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            36.07
      10/3/2020    709   AR0064   Owner Operator   Truck Payment                  CTMS - 244630 Baloon Q13147           357.62
      10/3/2020    709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      10/3/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      10/3/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          83.97
      10/3/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.53
      10/3/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.01
      10/3/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.47
      10/3/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.01
      10/3/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.53
      10/3/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.86
      10/3/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.21
      10/3/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             96
      10/3/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.24
      10/3/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.34
      10/3/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 244767 Q13169 Sublease         352.68
      10/3/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      10/3/2020    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      10/3/2020    709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      10/3/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      10/3/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      10/3/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/3/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      10/3/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      10/3/2020    709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
      10/3/2020    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.5
      10/3/2020    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.98
      10/3/2020    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
      10/3/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      10/3/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/3/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/3/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/3/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/3/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.28
      10/3/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.3
      10/3/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 244713 Q13168 sub lease        352.68
      10/3/2020    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      10/3/2020    709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      10/3/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      10/3/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.35
      10/3/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.51
      10/3/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      10/3/2020    709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      10/3/2020    709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/3/2020    709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/3/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.88
      10/3/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         502.21
      10/3/2020    709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84

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      10/3/2020    709   CR0064   Owner Operator   Communication Charge    Safety Tech Hardware Q1247                13
      10/3/2020    709   CR0064   Owner Operator   Fuel Card Advances      Cash Advance                            200
      10/3/2020    709   CR0064   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      10/3/2020    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         309.17
      10/3/2020    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                         317.63
      10/3/2020    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                          68.55
      10/3/2020    709   CR0064   Owner Operator   Fuel Purchase           Fuel Purchase                          302.8
      10/3/2020    709   CR0064   Owner Operator   Truck Payment           CTMS - 244738 Q1247 Sub Lease         263.91
      10/3/2020    709   CV0028   Owner Operator   Broker Pre Pass         DriveWyze TRK33482                      9.84
      10/3/2020    709   CV0028   Owner Operator   Communication Charge    Safety Tech Hardware 33482                13
      10/3/2020    709   CV0028   Owner Operator   ESCROW                  Weekly Escrow                             50
      10/3/2020    709   CV0028   Owner Operator   Fuel Purchase           Fuel Purchase                         277.63
      10/3/2020    709   CV0028   Owner Operator   Fuel Purchase           Fuel Purchase                          297.6
      10/3/2020    709   CV0028   Owner Operator   Fuel Purchase           Fuel Purchase                         430.17
      10/3/2020    709   CV0028   Owner Operator   Fuel Purchase           Fuel Purchase                         300.07
      10/3/2020    709   CV0028   Owner Operator   Fuel Purchase           Fuel Purchase                         136.77
      10/3/2020    709   CV0028   Owner Operator   Fuel Purchase           Fuel Purchase                          95.28
      10/3/2020    709   CV0028   Owner Operator   Fuel Purchase           Fuel Purchase                         218.89
      10/3/2020    709   CV0028   Owner Operator   Truck Payment           CTMS - 244710 Lease Truck 3348        335.96
      10/3/2020    709   DL0029   Owner Operator   Broker Pre Pass         DriveWyze TRKQ13199                     9.84
      10/3/2020    709   DL0029   Owner Operator   Broker Pre Pass         Q13199 PrePass Device                   12.5
      10/3/2020    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                         157.51
      10/3/2020    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                         123.42
      10/3/2020    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                         234.24
      10/3/2020    709   DL0029   Owner Operator   Fuel Purchase           Fuel Purchase                         211.19
      10/3/2020    709   DL0029   Owner Operator   Loan Repayment          Loan # 00015 - Loan Repayment         258.52
      10/3/2020    709   DL0029   Owner Operator   Truck Payment           CTMS - 244711 Q13199 Lease            193.11
      10/3/2020    709   DL0107   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1245                      9.84
      10/3/2020    709   DL0107   Owner Operator   Communication Charge    Safety Tech Hardware q1245                13
      10/3/2020    709   DL0107   Owner Operator   Fuel Card Advances      Cash Advance                            300
      10/3/2020    709   DL0107   Owner Operator   Fuel Card Advances      Cash Advance Fee                           3
      10/3/2020    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                         273.69
      10/3/2020    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                         258.41
      10/3/2020    709   DL0107   Owner Operator   Fuel Purchase           Fuel Purchase                         424.77
      10/3/2020    709   DL0107   Owner Operator   Tire Purchase           018751~BRIDGESTONE                    130.44
      10/3/2020    709   DL0107   Owner Operator   Truck Payment           CTMS - 244709 Baloon payoff           350.23
      10/3/2020    709   DM0257   Owner Operator   Broker Pre Pass         34328 PrePass Device                    12.5
      10/3/2020    709   DM0257   Owner Operator   Fuel Purchase           Fuel Purchase                         126.28
      10/3/2020    709   DM0257   Owner Operator   Fuel Purchase           Fuel Purchase                         164.44
      10/3/2020    709   DM0257   Owner Operator   Fuel Purchase           Fuel Purchase                         155.93
      10/3/2020    709   DS0049   Owner Operator   Communication Charge    Safety Tech Hardware 34880                13
      10/3/2020    709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance                            500
      10/3/2020    709   DS0049   Owner Operator   Fuel Card Advances      Cash Advance Fee                           5
      10/3/2020    709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                         238.74
      10/3/2020    709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                         226.53
      10/3/2020    709   DS0049   Owner Operator   Fuel Purchase           Fuel Purchase                         467.66
      10/3/2020    709   DS0049   Owner Operator   US Legal Services       U.S. Legal Services                    32.95
      10/3/2020    709   DS0225   Owner Operator   Broker Pre Pass         DriveWyze TRK33320                      9.84
      10/3/2020    709   DS0225   Owner Operator   Communication Charge    Safety Tech Hardware 33320                13
      10/3/2020    709   DS0225   Owner Operator   ESCROW                  Weekly Escrow                          1000
      10/3/2020    709   DS0225   Owner Operator   Fuel Purchase           Fuel Purchase                         467.55
      10/3/2020    709   DS0288   Owner Operator   Broker Pre Pass         34266 PrePass Device                    12.5
      10/3/2020    709   DS0288   Owner Operator   Broker Pre Pass         DriveWyze TRK34266                      9.84
      10/3/2020    709   DS0288   Owner Operator   Communication Charge    Safety Tech Hardware 34266                13
      10/3/2020    709   DS0288   Owner Operator   Fuel Purchase           Fuel Purchase                         250.55
      10/3/2020    709   DS0288   Owner Operator   Fuel Purchase           Fuel Purchase                         263.22
      10/3/2020    709   DS0288   Owner Operator   Fuel Purchase           Fuel Purchase                         150.35
      10/3/2020    709   DS0288   Owner Operator   Fuel Purchase           Fuel Purchase                         303.05
      10/3/2020    709   DT0153   Owner Operator   Communication Charge    Safety Tech Hardware 86963                13
      10/3/2020    709   DT0153   Owner Operator   Fuel Purchase           Fuel Purchase                         356.53
      10/3/2020    709   DT0153   Owner Operator   Fuel Purchase           Fuel Purchase                         110.84
      10/3/2020    709   DT0153   Owner Operator   Fuel Purchase           Fuel Purchase                         151.21
      10/3/2020    709   EA0003   Owner Operator   Communication Charge    Safety Tech Hardware 33051                13
      10/3/2020    709   EA0003   Owner Operator   ESCROW                  Weekly Escrow                           250
      10/3/2020    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance                            200
      10/3/2020    709   EA0003   Owner Operator   Fuel Card Advances      Cash Advance Fee                           2
      10/3/2020    709   EA0003   Owner Operator   Fuel Purchase           Fuel Purchase                         458.35
      10/3/2020    709   EA0003   Owner Operator   IRP License Deduction   LCIL:2020 - 33051                      33.64
      10/3/2020    709   EA0003   Owner Operator   Tractor Charge          16439 - 33051                         545.75
      10/3/2020    709   EG0062   Owner Operator   Broker Pre Pass         33828 PrePass Device                    12.5
      10/3/2020    709   EG0062   Owner Operator   Broker Pre Pass         DriveWyze TRK33828                      9.84
      10/3/2020    709   EG0062   Owner Operator   Communication Charge    Safety Tech Hardware 33828                13
      10/3/2020    709   EG0062   Owner Operator   ESCROW                  Weekly Escrow                           750

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      10/3/2020    709   EG0062   Owner Operator   Fuel Purchase          Fuel Purchase                         330.41
      10/3/2020    709   EN0016   Owner Operator   Broker Pre Pass        32947 PrePass Device                    12.5
      10/3/2020    709   EN0016   Owner Operator   Communication Charge   Safety Tech Hardware 32947                13
      10/3/2020    709   EN0016   Owner Operator   Fuel Purchase          Fuel Purchase                          198.3
      10/3/2020    709   EN0016   Owner Operator   Fuel Purchase          Fuel Purchase                         217.93
      10/3/2020    709   EN0016   Owner Operator   Fuel Purchase          Fuel Purchase                         171.59
      10/3/2020    709   EN0016   Owner Operator   Repair Order           CTMS - 244607 Tire Repair                -40
      10/3/2020    709   EO0014   Owner Operator   Broker Pre Pass        33846 PrePass Device                    12.5
      10/3/2020    709   EO0014   Owner Operator   Communication Charge   Safety Tech Hardware 33846                13
      10/3/2020    709   EO0014   Owner Operator   ESCROW                 Weekly Escrow                           100
      10/3/2020    709   EO0014   Owner Operator   Fuel Card Advances     Cash Advance                            200
      10/3/2020    709   EO0014   Owner Operator   Fuel Card Advances     Cash Advance                            100
      10/3/2020    709   EO0014   Owner Operator   Fuel Card Advances     Cash Advance Fee                           1
      10/3/2020    709   EO0014   Owner Operator   Fuel Card Advances     Cash Advance Fee                           2
      10/3/2020    709   EO0014   Owner Operator   Fuel Purchase          Fuel Purchase                         286.85
      10/3/2020    709   EO0014   Owner Operator   Fuel Purchase          Fuel Purchase                           252
      10/3/2020    709   EO0014   Owner Operator   Fuel Purchase          Fuel Purchase                         259.88
      10/3/2020    709   EO0014   Owner Operator   Fuel Purchase          Fuel Purchase                         199.42
      10/3/2020    709   FS0039   Owner Operator   Broker Pre Pass        33040 PrePass Device                    12.5
      10/3/2020    709   FS0039   Owner Operator   Communication Charge   Safety Tech Hardware 33040                13
      10/3/2020    709   FS0039   Owner Operator   Fuel Purchase          Fuel Purchase                         346.35
      10/3/2020    709   FS0039   Owner Operator   Fuel Purchase          Fuel Purchase                          250.6
      10/3/2020    709   FS0039   Owner Operator   Truck Payment          CTMS - 244767 truck lease 3304        434.29
      10/3/2020    709   FV0001   Owner Operator   Broker Pre Pass        21521B PrePass Device                   12.5
      10/3/2020    709   FV0001   Owner Operator   Communication Charge   Safety Tech Hardware 21521B               13
      10/3/2020    709   FV0001   Owner Operator   Fuel Card Advances     Cash Advance                            100
      10/3/2020    709   FV0001   Owner Operator   Fuel Card Advances     Cash Advance Fee                           1
      10/3/2020    709   FV0001   Owner Operator   Fuel Purchase          Fuel Purchase                         482.72
      10/3/2020    709   GA0051   Owner Operator   Broker Pre Pass        DriveWyze TRKQ1200                      9.84
      10/3/2020    709   GA0051   Owner Operator   Communication Charge   Safety Tech Hardware Q1200                13
      10/3/2020    709   GA0051   Owner Operator   Fuel Card Advances     Cash Advance                            500
      10/3/2020    709   GA0051   Owner Operator   Fuel Card Advances     Cash Advance Fee                           5
      10/3/2020    709   GA0051   Owner Operator   Fuel Purchase          Fuel Purchase                         149.06
      10/3/2020    709   GA0051   Owner Operator   Fuel Purchase          Fuel Purchase                         262.27
      10/3/2020    709   GA0051   Owner Operator   Fuel Purchase          Fuel Purchase                          199.8
      10/3/2020    709   GA0051   Owner Operator   Fuel Purchase          Fuel Purchase                         372.93
      10/3/2020    709   GA0051   Owner Operator   Truck Payment          CTMS - 244739 Q1200 Lease             238.16
      10/3/2020    709   GS0015   Owner Operator   Broker Pre Pass        DriveWyze TRKQ1110                      9.84
      10/3/2020    709   GS0015   Owner Operator   Communication Charge   Safety Tech Hardware Q1110                13
      10/3/2020    709   GS0015   Owner Operator   Fuel Purchase          Fuel Purchase                         311.49
      10/3/2020    709   GS0015   Owner Operator   Tire Purchase          018751~BRIDGESTONE                    188.51
      10/3/2020    709   GS0015   Owner Operator   Tire Purchase          018751~BRIDGESTONE                    202.89
      10/3/2020    709   GW0043   Owner Operator   Broker Pre Pass        DriveWyze TRKQ1109                      9.84
      10/3/2020    709   GW0043   Owner Operator   Communication Charge   Safety Tech Hardware Q1109                13
      10/3/2020    709   GW0043   Owner Operator   Fuel Card Advances     Cash Advance                            200
      10/3/2020    709   GW0043   Owner Operator   Fuel Card Advances     Cash Advance Fee                           2
      10/3/2020    709   GW0043   Owner Operator   Fuel Purchase          Fuel Purchase                         185.04
      10/3/2020    709   GW0043   Owner Operator   Fuel Purchase          Fuel Purchase                         296.68
      10/3/2020    709   GW0043   Owner Operator   Fuel Purchase          Fuel Purchase                          373.7
      10/3/2020    709   GW0043   Owner Operator   Fuel Purchase          Fuel Purchase                          16.48
      10/3/2020    709   GW0043   Owner Operator   Truck Payment          CTMS - 244744 Q1109 Lease             302.85
      10/3/2020    709   HC0023   Owner Operator   Broker Pre Pass        DriveWyze TRKQ13170                     9.84
      10/3/2020    709   HC0023   Owner Operator   Communication Charge   Safety Tech Hardware Q13170               13
      10/3/2020    709   HC0023   Owner Operator   Fuel Purchase          Fuel Purchase                          45.41
      10/3/2020    709   HC0023   Owner Operator   Fuel Purchase          Fuel Purchase                         377.81
      10/3/2020    709   HG0007   Owner Operator   Broker Pre Pass        DriveWyze TRK34565                      9.84
      10/3/2020    709   HG0007   Owner Operator   Communication Charge   Safety Tech Hardware 34565                13
      10/3/2020    709   HG0007   Owner Operator   Fuel Card Advances     Cash Advance                            200
      10/3/2020    709   HG0007   Owner Operator   Fuel Card Advances     Cash Advance Fee                           2
      10/3/2020    709   HG0007   Owner Operator   Fuel Purchase          Fuel Purchase                         170.54
      10/3/2020    709   HG0007   Owner Operator   Fuel Purchase          Fuel Purchase                         447.37
      10/3/2020    709   HG0007   Owner Operator   Fuel Purchase          Fuel Purchase                         550.21
      10/3/2020    709   HG0027   Owner Operator   Loan Repayment         Loan # 00001 - Loan Repayment           0.76
      10/3/2020    709   IA0007   Owner Operator   Broker Pre Pass        34012 PrePass Device                    12.5
      10/3/2020    709   IA0007   Owner Operator   Broker Pre Pass        DriveWyze TRK34012                      9.84
      10/3/2020    709   IA0007   Owner Operator   Communication Charge   Safety Tech Hardware 34012                13
      10/3/2020    709   IA0007   Owner Operator   ESCROW                 Weekly Escrow                           400
      10/3/2020    709   IA0007   Owner Operator   Fuel Purchase          Fuel Purchase                         407.69
      10/3/2020    709   IA0007   Owner Operator   Fuel Purchase          Fuel Purchase                         392.54
      10/3/2020    709   IA0007   Owner Operator   Truck Payment          CTMS - 244695 truck rental              200
      10/3/2020    709   IR0002   Owner Operator   Broker Pre Pass        32901 PrePass Device                    12.5
      10/3/2020    709   IR0002   Owner Operator   Communication Charge   Safety Tech Hardware 32901                13
      10/3/2020    709   IR0002   Owner Operator   Fuel Purchase          Fuel Purchase                         406.04

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      10/3/2020    709   IR0002   Owner Operator   Fuel Purchase           Fuel Purchase                       350.05
      10/3/2020    709   JC0292   Owner Operator   Fuel Purchase           Fuel Purchase                       157.59
      10/3/2020    709   JC0418   Owner Operator   Communication Charge    Safety Tech Hardware 86458              13
      10/3/2020    709   JC0418   Owner Operator   Fuel Purchase           Fuel Purchase                        319.9
      10/3/2020    709   JC0418   Owner Operator   Fuel Purchase           Fuel Purchase                        342.1
      10/3/2020    709   JC0418   Owner Operator   Fuel Purchase           Fuel Purchase                       223.97
      10/3/2020    709   JD0211   Owner Operator   Broker Pre Pass         DriveWyze TRK34325                    9.84
      10/3/2020    709   JD0211   Owner Operator   Communication Charge    Safety Tech Hardware 34325              13
      10/3/2020    709   JD0211   Owner Operator   T Chek Fee              ExpressCheck Fee                      9.54
      10/3/2020    709   JD0211   Owner Operator   T Chek Fee              Tractor Repair 34325                953.66
      10/3/2020    709   JD0211   Owner Operator   Truck Payment           CTMS - 244695 truck rental            100
      10/3/2020    709   JG0017   Owner Operator   Broker Pre Pass         32908 PrePass Device                  12.5
      10/3/2020    709   JG0017   Owner Operator   Broker Pre Pass         DriveWyze TRK32908                    9.84
      10/3/2020    709   JG0017   Owner Operator   Communication Charge    Safety Tech Hardware 32908              13
      10/3/2020    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                          300
      10/3/2020    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance                          200
      10/3/2020    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      10/3/2020    709   JG0017   Owner Operator   Fuel Card Advances      Cash Advance Fee                         3
      10/3/2020    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                       408.32
      10/3/2020    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                       215.14
      10/3/2020    709   JG0017   Owner Operator   Fuel Purchase           Fuel Purchase                       386.09
      10/3/2020    709   JG0017   Owner Operator   IRP License Deduction   LCIL:2020 - 32908                    33.64
      10/3/2020    709   JG0017   Owner Operator   US Legal Services       U.S. Legal Services                  32.95
      10/3/2020    709   JG0072   Owner Operator   Broker Pre Pass         DriveWyze TRK32909                    9.84
      10/3/2020    709   JG0072   Owner Operator   Communication Charge    Safety Tech Hardware 32909              13
      10/3/2020    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                          200
      10/3/2020    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance                          200
      10/3/2020    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      10/3/2020    709   JG0072   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      10/3/2020    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                       419.99
      10/3/2020    709   JG0072   Owner Operator   Fuel Purchase           Fuel Purchase                       442.05
      10/3/2020    709   JG0072   Owner Operator   IRP License Deduction   LCIL:2020 - 32909                    33.64
      10/3/2020    709   JG0072   Owner Operator   Tire Purchase           6502171356~BRIDGESTONE              229.33
      10/3/2020    709   JG0092   Owner Operator   Broker Pre Pass         33669 PrePass Device                  12.5
      10/3/2020    709   JG0092   Owner Operator   Broker Pre Pass         DriveWyze TRK33669                    9.84
      10/3/2020    709   JG0092   Owner Operator   Communication Charge    Safety Tech Hardware 33669              13
      10/3/2020    709   JG0092   Owner Operator   Fuel Purchase           Fuel Purchase                       304.88
      10/3/2020    709   JG0092   Owner Operator   Fuel Purchase           Fuel Purchase                       394.12
      10/3/2020    709   JL0280   Owner Operator   Communication Charge    Safety Tech Hardware 8970               13
      10/3/2020    709   JL0280   Owner Operator   Fuel Purchase           Fuel Purchase                       244.28
      10/3/2020    709   JL0280   Owner Operator   Fuel Purchase           Fuel Purchase                       258.95
      10/3/2020    709   JL0280   Owner Operator   Fuel Purchase           Fuel Purchase                       257.86
      10/3/2020    709   JQ0015   Owner Operator   Broker Pre Pass         DriveWyze TRK34637                    9.84
      10/3/2020    709   JQ0015   Owner Operator   Communication Charge    Safety Tech Hardware 34637              13
      10/3/2020    709   JQ0015   Owner Operator   Fuel Card Advances      Cash Advance                          100
      10/3/2020    709   JQ0015   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      10/3/2020    709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                       140.91
      10/3/2020    709   JQ0015   Owner Operator   Fuel Purchase           Fuel Purchase                       172.29
      10/3/2020    709   JR0099   Owner Operator   Broker Pre Pass         DriveWyze TRKQ1203                    9.84
      10/3/2020    709   JR0099   Owner Operator   Communication Charge    Safety Tech Hardware Q1203              13
      10/3/2020    709   JR0099   Owner Operator   Truck Payment           CTMS - 244740 Balloon Payoff        234.05
      10/3/2020    709   JS0265   Owner Operator   Broker Pre Pass         DriveWyze TRKQ13159                   9.84
      10/3/2020    709   JS0265   Owner Operator   Communication Charge    Safety Tech Hardware Q13159             13
      10/3/2020    709   JS0265   Owner Operator   ESCROW                  Weekly Escrow                         100
      10/3/2020    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                          200
      10/3/2020    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance                          200
      10/3/2020    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      10/3/2020    709   JS0265   Owner Operator   Fuel Card Advances      Cash Advance Fee                         2
      10/3/2020    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                       193.37
      10/3/2020    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                       287.29
      10/3/2020    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                       292.65
      10/3/2020    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                       362.59
      10/3/2020    709   JS0265   Owner Operator   Fuel Purchase           Fuel Purchase                       362.59
      10/3/2020    709   JS0265   Owner Operator   Truck Payment           CTMS - 244737 Q13159 Lease           331.5
      10/3/2020    709   KP0004   Owner Operator   Communication Charge    Safety Tech Hardware 32914              13
      10/3/2020    709   KP0004   Owner Operator   ESCROW                  Weekly Escrow                         250
      10/3/2020    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                          100
      10/3/2020    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                          100
      10/3/2020    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance                          100
      10/3/2020    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      10/3/2020    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      10/3/2020    709   KP0004   Owner Operator   Fuel Card Advances      Cash Advance Fee                         1
      10/3/2020    709   KP0004   Owner Operator   Fuel Purchase           Fuel Purchase                         213

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      10/3/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.01
      10/3/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.5
      10/3/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            325
      10/3/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      10/3/2020    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
      10/3/2020    709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRK33483                      9.84
      10/3/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      10/3/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.13
      10/3/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.6
      10/3/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          168.1
      10/3/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.65
      10/3/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.79
      10/3/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.28
      10/3/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 244710 33483 Lease 208         335.48
      10/3/2020    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      10/3/2020    709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
      10/3/2020    709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
      10/3/2020    709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/3/2020    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      10/3/2020    709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      10/3/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      10/3/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 244710 Balloon Pay off         200.15
      10/3/2020    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      10/3/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      10/3/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/3/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/3/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/3/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/3/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.03
      10/3/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           46.7
      10/3/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          24.91
      10/3/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.65
      10/3/2020    709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      10/3/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      10/3/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.84
      10/3/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.78
      10/3/2020    709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
      10/3/2020    709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      10/3/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      10/3/2020    709   MD0122   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
      10/3/2020    709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           1250
      10/3/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                             350
      10/3/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                         3.5
      10/3/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.54
      10/3/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.09
      10/3/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          60.75
      10/3/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.45
      10/3/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      10/3/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         404.53
      10/3/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         426.43
      10/3/2020    709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      2.88
      10/3/2020    709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk          1.02
      10/3/2020    709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      10/3/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      10/3/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             180
      10/3/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.8
      10/3/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.46
      10/3/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.13
      10/3/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.12
      10/3/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.55
      10/3/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.13
      10/3/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.36
      10/3/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             0.76
      10/3/2020    709   OJ0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   17.5
      10/3/2020    709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
      10/3/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                13
      10/3/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                13
      10/3/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                13
      10/3/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                13
      10/3/2020    709   OJ0007   Owner Operator   Communication Charge           Safety Tech Hardware 34370                13
      10/3/2020    709   OJ0007   Owner Operator   ESCROW                         Final Balance Refund                   -3000
      10/3/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                      33.64
      10/3/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL:2020 - 34370                     874.79

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      10/3/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          26.93
      10/3/2020    709   OJ0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             95
      10/3/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   56.13
      10/3/2020    709   OJ0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   28.08
      10/3/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370                         235.27
      10/3/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370 09/17/2020              235.27
      10/3/2020    709   OJ0007   Owner Operator   Tractor Charge                 24925 - 34370 09/24/2020              235.27
      10/3/2020    709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      10/3/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.24
      10/3/2020    709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/3/2020    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/3/2020    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/3/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.9
      10/3/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.97
      10/3/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.78
      10/3/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.65
      10/3/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.6
      10/3/2020    709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
      10/3/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      10/3/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              40
      10/3/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      10/3/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.05
      10/3/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.21
      10/3/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 244709 Q1241 Truck leas        321.84
      10/3/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      10/3/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         515.79
      10/3/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         305.02
      10/3/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.51
      10/3/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         432.79
      10/3/2020    709   RC0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    472.42
      10/3/2020    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      10/3/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      10/3/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
      10/3/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      10/3/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.98
      10/3/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         560.63
      10/3/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      10/3/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 35037                       100
      10/3/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      10/3/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      10/3/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/3/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/3/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/3/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/3/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.96
      10/3/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.03
      10/3/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.16
      10/3/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      10/3/2020    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/3/2020    709   RL0180   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
      10/3/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      10/3/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      10/3/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          330.9
      10/3/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.68
      10/3/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      10/3/2020    709   RL0180   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     132.5
      10/3/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      10/3/2020    709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      10/3/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      10/3/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.07
      10/3/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.05
      10/3/2020    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/3/2020    709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      10/3/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      10/3/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.06
      10/3/2020    709   RP0082   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    209.58
      10/3/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 244685 Q1202 Balloon           234.05
      10/3/2020    709   RR0123   Owner Operator   Broker Pre Pass                33488 PrePass Device                    12.5
      10/3/2020    709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRK33488                      9.84
      10/3/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      10/3/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.72
      10/3/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.57
      10/3/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.29

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      10/3/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          258.7
      10/3/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.32
      10/3/2020    709   RR0123   Owner Operator   Toll Charges                   33488 OTA Will Rogers Turnpike         18.05
      10/3/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 244710 33488 Lease $335        335.48
      10/3/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 244764 Past tractor ren          100
      10/3/2020    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      10/3/2020    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      10/3/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      10/3/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/3/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/3/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/3/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.54
      10/3/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.7
      10/3/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.12
      10/3/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.87
      10/3/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      10/3/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         437.87
      10/3/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.02
      10/3/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           337
      10/3/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           371
      10/3/2020    709   SM0109   Owner Operator   Toll Charges                   33195 DelDOT Newark Plaza                  9
      10/3/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                         442.66
      10/3/2020    709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      0.76
      10/3/2020    709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      10/3/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      10/3/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.14
      10/3/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.08
      10/3/2020    709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      10/3/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      10/3/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      10/3/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/3/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                              60
      10/3/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      10/3/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/3/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.54
      10/3/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.09
      10/3/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.79
      10/3/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.2
      10/3/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           206
      10/3/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          26.49
      10/3/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      10/3/2020    709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      10/3/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      10/3/2020    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      10/3/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      10/3/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.58
      10/3/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.07
      10/3/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.04
      10/3/2020    709   WH0087   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    126.05
      10/3/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 244712 Q1238 Lease             311.97
      10/3/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      10/3/2020    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      10/3/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      10/3/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      10/3/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/3/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/3/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/3/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/3/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/3/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/3/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/3/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/3/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/3/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/3/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.22
      10/3/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.87
      10/3/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.87
      10/3/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.46
      10/3/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.85
      10/3/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.04
      10/3/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.68
      10/3/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/3/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74

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      10/3/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE           32604 2012 Volvo PD Terrorism            2.5
      10/3/2020    742   AP0047   Owner Operator   Toll Charges              32604 BATA Carquinez Bridge               26
      10/3/2020    742   AP0047   Owner Operator   Toll Charges              32604 BATA Carquinez Bridge               26
      10/3/2020    742   BS0078   Owner Operator   Broker Pre Pass           34900 PrePass Device                    12.5
      10/3/2020    742   BS0078   Owner Operator   Communication Charge      Safety Tech Hardware 34900                13
      10/3/2020    742   BS0078   Owner Operator   Fuel Purchase             Fuel Purchase                         328.08
      10/3/2020    742   BS0078   Owner Operator   Fuel Purchase             Fuel Purchase                         191.59
      10/3/2020    742   BS0078   Owner Operator   Fuel Purchase             Fuel Purchase                         183.51
      10/3/2020    742   BS0078   Owner Operator   Fuel Purchase             Fuel Purchase                           193
      10/3/2020    742   CA0089   Owner Operator   Broker Pre Pass           33987 PrePass Device                    12.5
      10/3/2020    742   CA0089   Owner Operator   Communication Charge      Safety Tech Hardware 33987                13
      10/3/2020    742   CA0089   Owner Operator   Fuel Purchase             Fuel Purchase                         468.26
      10/3/2020    742   CA0089   Owner Operator   Fuel Purchase             Fuel Purchase                         468.94
      10/3/2020    742   CT0085   Owner Operator   Broker Pre Pass           DriveWyze TRKQ13171                     9.84
      10/3/2020    742   CT0085   Owner Operator   Communication Charge      Safety Tech Hardware Q13171               13
      10/3/2020    742   CT0085   Owner Operator   Fuel Purchase             Fuel Purchase                         222.39
      10/3/2020    742   CT0085   Owner Operator   Truck Payment             CTMS - 244677 re-do of truck l        525.75
      10/3/2020    742   DA0067   Owner Operator   Broker Pre Pass           33847 PrePass Device                    12.5
      10/3/2020    742   DA0067   Owner Operator   Communication Charge      Safety Tech Hardware 33847                13
      10/3/2020    742   DA0067   Owner Operator   Fuel Purchase             Fuel Purchase                           404
      10/3/2020    742   DA0067   Owner Operator   Fuel Purchase             Fuel Purchase                         247.28
      10/3/2020    742   DA0067   Owner Operator   Loan Repayment            Loan # 00002 - Loan Repayment         268.58
      10/3/2020    742   DC0117   Owner Operator   Toll Charges              34063 BATA Benicia                      0.76
      10/3/2020    742   DS0254   Owner Operator   Broker Pay Void/Reissue   Debt on Acct-Dir Dep                    0.76
      10/3/2020    742   EA0039   Owner Operator   Broker Pre Pass           33993 PrePass Device                    12.5
      10/3/2020    742   EA0039   Owner Operator   Communication Charge      Safety Tech Hardware 33993                13
      10/3/2020    742   EA0039   Owner Operator   Fuel Purchase             Fuel Purchase                         396.95
      10/3/2020    742   EA0039   Owner Operator   Fuel Purchase             Fuel Purchase                         261.31
      10/3/2020    742   EA0039   Owner Operator   Fuel Purchase             Fuel Purchase                         462.44
      10/3/2020    742   ED0041   Owner Operator   Broker Pre Pass           DriveWyze TRK32897                      9.84
      10/3/2020    742   ED0041   Owner Operator   Communication Charge      Safety Tech Hardware 32897                13
      10/3/2020    742   ED0041   Owner Operator   Fuel Purchase             Fuel Purchase                          285.6
      10/3/2020    742   ED0041   Owner Operator   Tire Purchase             TRN74200000013                          0.02
      10/3/2020    742   JB0465   Owner Operator   Communication Charge      Safety Tech Hardware 34804                13
      10/3/2020    742   JB0465   Owner Operator   ESCROW                    Weekly Escrow                             50
      10/3/2020    742   JB0465   Owner Operator   Repair Order              TRACTOR 34804                         118.13
      10/3/2020    742   JH0148   Owner Operator   Broker Pre Pass           DriveWyze TRK34329                      9.84
      10/3/2020    742   JH0148   Owner Operator   Communication Charge      Safety Tech Hardware 34329                13
      10/3/2020    742   JH0148   Owner Operator   Fuel Purchase             Fuel Purchase                         702.01
      10/3/2020    742   JS0390   Owner Operator   IRP License Deduction     LCIL:2020 - 34943                       0.24
      10/3/2020    742   MH0117   Owner Operator   Communication Charge      Safety Tech Hardware 34932                13
      10/3/2020    742   MH0117   Owner Operator   ESCROW                    Weekly Escrow                             50
      10/3/2020    742   NG0024   Owner Operator   IRP License Deduction     LCIL:2020 - 33252                       0.76
      10/3/2020    742   PC0012   Owner Operator   Broker Pre Pass           DriveWyze TRK32969                      9.84
      10/3/2020    742   PC0012   Owner Operator   Communication Charge      Safety Tech Hardware 32969                13
      10/3/2020    742   PC0012   Owner Operator   ESCROW                    Weekly Escrow                           200
      10/3/2020    742   PC0012   Owner Operator   Fuel Card Advances        Cash Advance                            200
      10/3/2020    742   PC0012   Owner Operator   Fuel Card Advances        Cash Advance Fee                           2
      10/3/2020    742   PC0012   Owner Operator   Fuel Purchase             Fuel Purchase                         175.29
      10/3/2020    742   PC0012   Owner Operator   Fuel Purchase             Fuel Purchase                         277.28
      10/3/2020    742   PC0012   Owner Operator   Fuel Purchase             Fuel Purchase                         246.97
      10/3/2020    742   PC0012   Owner Operator   Fuel Purchase             Fuel Purchase                         275.95
      10/3/2020    742   PC0012   Owner Operator   IRP License Deduction     LCIL:2020 - 32969                      33.64
      10/3/2020    742   PC0012   Owner Operator   Tractor Charge            15577 - 32969                         501.95
      10/3/2020    742   RF0136   Owner Operator   Fuel Purchase             Fuel Purchase                           0.76
      10/3/2020    742   RN0054   Owner Operator   Broker Pre Pass           Q13157 PrePass Device                   12.5
      10/3/2020    742   RN0054   Owner Operator   Communication Charge      Safety Tech Hardware q13157               13
      10/3/2020    742   RN0054   Owner Operator   Fuel Purchase             Fuel Purchase                         144.29
      10/3/2020    742   RN0054   Owner Operator   Fuel Purchase             Fuel Purchase                         199.39
      10/3/2020    742   RN0054   Owner Operator   Fuel Purchase             Fuel Purchase                         180.72
      10/3/2020    742   RN0054   Owner Operator   Fuel Purchase             Fuel Purchase                         194.79
      10/3/2020    742   RN0054   Owner Operator   Fuel Purchase             Fuel Purchase                         235.02
      10/3/2020    742   RN0054   Owner Operator   Tire Purchase             018751~BRIDGESTONE                    582.34
      10/3/2020    742   RN0054   Owner Operator   Truck Payment             CTMS - 244740 Balloon Payoff          335.75
      10/3/2020    742   RS0342   Owner Operator   Broker Pre Pass           DriveWyze TRK35030                      9.84
      10/3/2020    742   RS0342   Owner Operator   Communication Charge      Safety Tech Hardware 35030                13
      10/3/2020    742   RS0342   Owner Operator   ESCROW                    Weekly Escrow                             50
      10/3/2020    742   RS0342   Owner Operator   Fuel Purchase             Fuel Purchase                         362.62
      10/3/2020    742   RS0342   Owner Operator   Fuel Purchase             Fuel Purchase                         305.51
      10/3/2020    742   RS0342   Owner Operator   Fuel Purchase             Fuel Purchase                         348.01
      10/3/2020    742   RS0342   Owner Operator   IRP License Deduction     LCIL:2020 - 35030                       100
      10/3/2020    742   SK0049   Owner Operator   Broker Pre Pass           33934 PrePass Device                    12.5
      10/3/2020    742   SK0049   Owner Operator   Communication Charge      Safety Tech Hardware 33934                13

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       10/3/2020   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       10/3/2020   742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
       10/3/2020   742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
       10/3/2020   742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
       10/3/2020   742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
       10/3/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.77
       10/3/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.77
       10/3/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.73
       10/3/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.08
       10/3/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          40.22
       10/3/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.88
       10/3/2020   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       10/3/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
       10/3/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       10/3/2020   742   TC0098   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    135.04
       10/3/2020   742   TC0098   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    135.04
       10/3/2020   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Route 80 (East)            3.85
       10/3/2020   742   TC0098   Owner Operator   Truck Payment                  CTMS - 244394 33489 Lease Paym        412.16
       10/3/2020   742   TC0098   Owner Operator   Truck Payment                  CTMS - 244573 33489 Lease Paym        412.16
       10/3/2020   742   TC0098   Owner Operator   Truck Payment                  CTMS - 244744 33489 Lease Paym        412.16
       10/3/2020   781   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
       10/3/2020   781   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
       10/3/2020   781   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       10/3/2020   781   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.13
       10/3/2020   783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                13
       10/3/2020   783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
       10/3/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.55
       10/3/2020   783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                13
       10/3/2020   783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         569.42
       10/3/2020   783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 35032                13
       10/3/2020   783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 86919                13
       10/3/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
       10/3/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
       10/3/2020   783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061                13
       10/3/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.16
       10/3/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.16
       10/3/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
       10/3/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
       10/3/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.71
       10/3/2020   783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
       10/3/2020   783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
       10/3/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.65
       10/3/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                          502.8
       10/3/2020   783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
       10/3/2020   783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
       10/3/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.38
       10/3/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.53
       10/3/2020   783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 86756                13
       10/3/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.74
       10/3/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.36
       10/3/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.17
       10/3/2020   783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
       10/3/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.53
       10/3/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.27
       10/3/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.77
       10/3/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.98
       10/3/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.04
       10/3/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.91
       10/3/2020   783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
       10/3/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.34
       10/3/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.03
       10/3/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.89
       10/3/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.68
       10/3/2020   783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
       10/3/2020   783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                          478.9
       10/3/2020   783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
       10/3/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.73
       10/3/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.03
      10/10/2020   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      10/10/2020   709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      10/10/2020   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/10/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.79
      10/10/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.37

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      10/10/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          345.77
      10/10/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.62
      10/10/2020   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/10/2020   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD              36.9
      10/10/2020   709   AC0061   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                      84.01
      10/10/2020   709   AC0061   Owner Operator   Truck Payment                  CTMS - 244945 Q13148 Trac Leas         296.09
      10/10/2020   709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                   8.75
      10/10/2020   709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                 13
      10/10/2020   709   AC0122   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/10/2020   709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/10/2020   709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                   28.08
      10/10/2020   709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL              8.75
      10/10/2020   709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                 13
      10/10/2020   709   AN0007   Owner Operator   Loan Repayment                 EFS 253136,253137                   -26184.21
      10/10/2020   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment          354.79
      10/10/2020   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/10/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD              28.08
      10/10/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter            2.5
      10/10/2020   709   AN0007   Owner Operator   T Chek Fee                     ExpressCheck Fee                           90
      10/10/2020   709   AN0007   Owner Operator   T Chek Fee                     ExpressCheck Fee                       169.25
      10/10/2020   709   AN0007   Owner Operator   T Chek Fee                     Tractor Repair 32781                 16924.96
      10/10/2020   709   AN0007   Owner Operator   T Chek Fee                     Tractor Repair 32781                    9000
      10/10/2020   709   AN0007   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     182.03
      10/10/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 244835 TRUCK RENTAL               350
      10/10/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 244893 truck 32781 Leas         225.29
      10/10/2020   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL             8.75
      10/10/2020   709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147                13
      10/10/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.07
      10/10/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          258.81
      10/10/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          109.92
      10/10/2020   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/10/2020   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD              36.1
      10/10/2020   709   AR0064   Owner Operator   Truck Payment                  CTMS - 244789 Baloon Q13147            357.62
      10/10/2020   709   AR0064   Owner Operator   Truck Payment                  CTMS - 244946 Baloon Q13147            357.62
      10/10/2020   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                     44.33
      10/10/2020   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             8.75
      10/10/2020   709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169                13
      10/10/2020   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/10/2020   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      10/10/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           71.93
      10/10/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           48.05
      10/10/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          103.33
      10/10/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           74.29
      10/10/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.86
      10/10/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          135.09
      10/10/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           96.15
      10/10/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           64.39
      10/10/2020   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/10/2020   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD              36.1
      10/10/2020   709   AV0021   Owner Operator   Truck Payment                  CTMS - 244922 Q13169 Sublease          352.68
      10/10/2020   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
      10/10/2020   709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                 13
      10/10/2020   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/10/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.75
      10/10/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
      10/10/2020   709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                   8.75
      10/10/2020   709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                 13
      10/10/2020   709   BR0082   Owner Operator   ESCROW                         Weekly Escrow                              50
      10/10/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.01
      10/10/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          224.47
      10/10/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          175.76
      10/10/2020   709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/10/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                   40.11
      10/10/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris            2.5
      10/10/2020   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
      10/10/2020   709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168                13
      10/10/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             500
      10/10/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      10/10/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          111.41
      10/10/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.14
      10/10/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.15
      10/10/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          426.62
      10/10/2020   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      10/10/2020   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      10/10/2020   709   CC0134   Owner Operator   Truck Payment                  CTMS - 244865 Q13168 sub lease        352.68
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:792 2012 Freightliner NTL           -8.75
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:792 2012 Freightliner NTL           -8.75
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:792 2012 Freightliner NTL           -17.5
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:792 2012 Freightliner PD           -32.06
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:792 2012 Freightliner PD           -32.09
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:792 2012 Freightliner PD           -12.94
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:792 2012 Freightliner PD           -32.09
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:792 2012 Freightliner PD           -64.15
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:792 2012 Freightliner PD Te            -5
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:792 2012 Freightliner PD Te          -2.5
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:792 2012 Freightliner PD Te          -2.5
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:792 2012 Freightliner PD Te          -2.5
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:Cosme Raul Chave OCAC-Sfty            -95
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:Cosme Raul Chave OCAC-Sfty          -47.5
      10/10/2020   709   CC0178   Owner Operator   *Arrears Collection W/O        WO:IL02:2020 - 8972                    -3.75
      10/10/2020   709   CC0178   Owner Operator   BOBTAIL INS.                   792 2012 Freightliner NTL               8.75
      10/10/2020   709   CC0178   Owner Operator   BOBTAIL INS.                   792 2012 Freightliner NTL               8.75
      10/10/2020   709   CC0178   Owner Operator   BOBTAIL INS.                   792 2012 Freightliner NTL               17.5
      10/10/2020   709   CC0178   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   CC0178   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             95
      10/10/2020   709   CC0178   Owner Operator   Permits                        IL02:2020 - 8972                        3.75
      10/10/2020   709   CC0178   Owner Operator   PHYSICAL DAMAGE                792 2012 Freightliner PD               64.15
      10/10/2020   709   CC0178   Owner Operator   PHYSICAL DAMAGE                792 2012 Freightliner PD               32.06
      10/10/2020   709   CC0178   Owner Operator   PHYSICAL DAMAGE                792 2012 Freightliner PD               32.09
      10/10/2020   709   CC0178   Owner Operator   PHYSICAL DAMAGE                792 2012 Freightliner PD               12.94
      10/10/2020   709   CC0178   Owner Operator   PHYSICAL DAMAGE                792 2012 Freightliner PD               32.09
      10/10/2020   709   CC0178   Owner Operator   PHYSICAL DAMAGE                792 2012 Freightliner PD Terro           2.5
      10/10/2020   709   CC0178   Owner Operator   PHYSICAL DAMAGE                792 2012 Freightliner PD Terro           2.5
      10/10/2020   709   CC0178   Owner Operator   PHYSICAL DAMAGE                792 2012 Freightliner PD Terro           2.5
      10/10/2020   709   CC0178   Owner Operator   PHYSICAL DAMAGE                792 2012 Freightliner PD Terro             5
      10/10/2020   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/10/2020   709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      10/10/2020   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/10/2020   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/10/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.26
      10/10/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         531.16
      10/10/2020   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      10/10/2020   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      10/10/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/10/2020   709   CM0119   Owner Operator   Toll Charges                   32920/TL0212                              26
      10/10/2020   709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      10/10/2020   709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      10/10/2020   709   CM0224   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/10/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/10/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.99
      10/10/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.78
      10/10/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.54
      10/10/2020   709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.05
      10/10/2020   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      10/10/2020   709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      10/10/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/10/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/10/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/10/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/10/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/10/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/10/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.59
      10/10/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.48
      10/10/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.51
      10/10/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          82.06
      10/10/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.35
      10/10/2020   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      10/10/2020   709   CR0064   Owner Operator   Truck Payment                  CTMS - 244890 Q1247 Sub Lease         263.91
      10/10/2020   709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      10/10/2020   709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      10/10/2020   709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.42

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      10/10/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                             83.73
      10/10/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                            374.05
      10/10/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                            225.33
      10/10/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                            168.62
      10/10/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                            244.68
      10/10/2020   709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD                68.18
      10/10/2020   709   CV0028   Owner Operator   Toll Charges                                                    33482       26
      10/10/2020   709   CV0028   Owner Operator   Truck Payment                  CTMS - 244861 Lease Truck 3348           335.96
      10/10/2020   709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL                  8.75
      10/10/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                            152.82
      10/10/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                            163.48
      10/10/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                            207.54
      10/10/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                             187.1
      10/10/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                            191.89
      10/10/2020   709   DL0029   Owner Operator   Loan Repayment                 Loan # 00015 - Loan Repayment            254.98
      10/10/2020   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                  24.07
      10/10/2020   709   DL0029   Owner Operator   Toll Charges                   Q13199                                       26
      10/10/2020   709   DL0029   Owner Operator   Toll Charges                   Q13199                                       26
      10/10/2020   709   DL0029   Owner Operator   Truck Payment                  CTMS - 244862 Q13199 Lease               193.11
      10/10/2020   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                   8.75
      10/10/2020   709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                   13
      10/10/2020   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                               300
      10/10/2020   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                              3
      10/10/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                            245.21
      10/10/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                            241.85
      10/10/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                            268.63
      10/10/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                             205.6
      10/10/2020   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                   67.46
      10/10/2020   709   DL0107   Owner Operator   Truck Payment                  CTMS - 244847 TRUCK RENTAL                 500
      10/10/2020   709   DL0107   Owner Operator   Truck Payment                  CTMS - 244918 Baloon payoff              350.23
      10/10/2020   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                      8.75
      10/10/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                             121.3
      10/10/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                            160.68
      10/10/2020   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                      19.17
      10/10/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism              2.5
      10/10/2020   709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                      8.75
      10/10/2020   709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                   13
      10/10/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                               500
      10/10/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                              5
      10/10/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                            369.32
      10/10/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                            335.16
      10/10/2020   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                      114.7
      10/10/2020   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                         8.75
      10/10/2020   709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                   13
      10/10/2020   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                             1000
      10/10/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                            482.51
      10/10/2020   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                         40.11
      10/10/2020   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                      8.75
      10/10/2020   709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                   13
      10/10/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                            149.73
      10/10/2020   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                      43.13
      10/10/2020   709   DS0288   Owner Operator   Toll Charges                   34266 BATA Carquinez Bridge                  26
      10/10/2020   709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                   13
      10/10/2020   709   DT0153   Owner Operator   ESCROW                         Weekly Escrow                                50
      10/10/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                            310.37
      10/10/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                            351.38
      10/10/2020   709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                      8.75
      10/10/2020   709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                   13
      10/10/2020   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                              250
      10/10/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                               200
      10/10/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                               100
      10/10/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                              1
      10/10/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                              2
      10/10/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                            384.55
      10/10/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                            379.76

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      10/10/2020   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                          33.64
      10/10/2020   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      10/10/2020   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                      108.28
      10/10/2020   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                             545.75
      10/10/2020   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                       8.75
      10/10/2020   709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                    13
      10/10/2020   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                              1000
      10/10/2020   709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                                300
      10/10/2020   709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                               3
      10/10/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                             674.52
      10/10/2020   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      10/10/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                       43.13
      10/10/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism               2.5
      10/10/2020   709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                       8.75
      10/10/2020   709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                    13
      10/10/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                             247.69
      10/10/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                             166.09
      10/10/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                              175.5
      10/10/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                             306.76
      10/10/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                             286.72
      10/10/2020   709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      10/10/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                       28.08
      10/10/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism               2.5
      10/10/2020   709   EN0016   Owner Operator   Toll Charges                                                    32947        26
      10/10/2020   709   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Sam Houston - Cent                 7
      10/10/2020   709   EN0016   Owner Operator   Toll Charges                   32947 HCTRA Sam Houston - East                 7
      10/10/2020   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                    8.75
      10/10/2020   709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                    13
      10/10/2020   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                               100
      10/10/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                                100
      10/10/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                                100
      10/10/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                               1
      10/10/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                               1
      10/10/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                             255.95
      10/10/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                             165.13
      10/10/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                             194.77
      10/10/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                             228.19
      10/10/2020   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      10/10/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                    80.21
      10/10/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror               2.5
      10/10/2020   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL                 8.75
      10/10/2020   709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                    13
      10/10/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                                100
      10/10/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                                100
      10/10/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                               1
      10/10/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                               1
      10/10/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                             315.29
      10/10/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                               298
      10/10/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                              316.3
      10/10/2020   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      10/10/2020   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD                 78.93
      10/10/2020   709   FS0039   Owner Operator   Repair Order                   CTMS - 244847 CORE RETURN                -487.14
      10/10/2020   709   FS0039   Owner Operator   Truck Payment                  CTMS - 244922 truck lease 3304            434.29
      10/10/2020   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                       8.75
      10/10/2020   709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B                   13
      10/10/2020   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                             415.69
      10/10/2020   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      10/10/2020   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                       40.11
      10/10/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                       8.75
      10/10/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL                 8.75
      10/10/2020   709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                    13
      10/10/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                                500
      10/10/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                               5
      10/10/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                             173.39
      10/10/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                             282.01
      10/10/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                             223.02
      10/10/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                             229.47
      10/10/2020   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      10/10/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                       24.07
      10/10/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD                 29.68
      10/10/2020   709   GA0051   Owner Operator   Truck Payment                  CTMS - 244891 Q1200 Lease                 238.16
      10/10/2020   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL                 8.75
      10/10/2020   709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                    13

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      10/10/2020   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.12
      10/10/2020   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      10/10/2020   709   GS0015   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     188.5
      10/10/2020   709   GS0015   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    202.85
      10/10/2020   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      10/10/2020   709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      10/10/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.23
      10/10/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.68
      10/10/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.5
      10/10/2020   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      10/10/2020   709   GW0043   Owner Operator   Truck Payment                  CTMS - 244896 Q1109 Lease             302.85
      10/10/2020   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      10/10/2020   709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      10/10/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.74
      10/10/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.75
      10/10/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.43
      10/10/2020   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      10/10/2020   709   HC0023   Owner Operator   Truck Payment                  CTMS - 244922 Q13170                  352.68
      10/10/2020   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/10/2020   709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      10/10/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.92
      10/10/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         657.76
      10/10/2020   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      10/10/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/10/2020   709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      10/10/2020   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            400
      10/10/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.81
      10/10/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.64
      10/10/2020   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      10/10/2020   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      10/10/2020   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/10/2020   709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      10/10/2020   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.39
      10/10/2020   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.42
      10/10/2020   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      10/10/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/10/2020   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      10/10/2020   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      10/10/2020   709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      10/10/2020   709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      10/10/2020   709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      10/10/2020   709   JC0292   Owner Operator   ESCROW                         Escrow Withdrawal                      -9600
      10/10/2020   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      10/10/2020   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      10/10/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/10/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/10/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/10/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/10/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/10/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/10/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/10/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/10/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/10/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/10/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.58
      10/10/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.64
      10/10/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.38
      10/10/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.01
      10/10/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.08
      10/10/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.97
      10/10/2020   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      10/10/2020   709   JC0292   Owner Operator   Toll Charges                   Q13197                                    26
      10/10/2020   709   JC0292   Owner Operator   Truck Payment                  CTMS - 244743 Q13197 Lease            276.63
      10/10/2020   709   JC0292   Owner Operator   Truck Payment                  CTMS - 244895 Q13197 Lease            276.63
      10/10/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/10/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75

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      10/10/2020   709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                   13
      10/10/2020   709   JC0418   Owner Operator   ESCROW                         Weekly Escrow                                50
      10/10/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                            330.16
      10/10/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                            172.96
      10/10/2020   709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                          44.12
      10/10/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism                  2.5
      10/10/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                    24.07
      10/10/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori              2.5
      10/10/2020   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                         8.75
      10/10/2020   709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                   13
      10/10/2020   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                         12.03
      10/10/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism                 2.5
      10/10/2020   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                      8.75
      10/10/2020   709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                   13
      10/10/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                               500
      10/10/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                              5
      10/10/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                            220.54
      10/10/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                            231.89
      10/10/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                            167.42
      10/10/2020   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                         33.64
      10/10/2020   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                      28.08
      10/10/2020   709   JG0017   Owner Operator   Toll Charges                                                    32908       26
      10/10/2020   709   JG0017   Owner Operator   Toll Charges                                                    32908       26
      10/10/2020   709   JG0017   Owner Operator   Toll Charges                                                    32908       26
      10/10/2020   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                      8.75
      10/10/2020   709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                   13
      10/10/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                               200
      10/10/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                               200
      10/10/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                              2
      10/10/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                              2
      10/10/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                            400.53
      10/10/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                            408.66
      10/10/2020   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                         33.64
      10/10/2020   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                       76.2
      10/10/2020   709   JG0072   Owner Operator   Tire Purchase                  6502171356~BRIDGESTONE                   229.33
      10/10/2020   709   JG0072   Owner Operator   Toll Charges                                                    32909       26
      10/10/2020   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                         8.75
      10/10/2020   709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                   13
      10/10/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                            200.11
      10/10/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                            251.05
      10/10/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                            217.02
      10/10/2020   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                          36.1
      10/10/2020   709   JG0092   Owner Operator   Truck Payment                  CTMS - 244847 TRUCK RENTAL                 500
      10/10/2020   709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                      8.75
      10/10/2020   709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                    13
      10/10/2020   709   JL0280   Owner Operator   ESCROW                         Weekly Escrow                                50
      10/10/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                            264.25
      10/10/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                            282.15
      10/10/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                             251.2
      10/10/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                            289.85
      10/10/2020   709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                      33.04
      10/10/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                      8.75
      10/10/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                      8.75
      10/10/2020   709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                   13
      10/10/2020   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                             169.3
      10/10/2020   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                      20.06
      10/10/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                      16.05
      10/10/2020   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL                8.75
      10/10/2020   709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                   13
      10/10/2020   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                               6.3
      10/10/2020   709   JR0099   Owner Operator   Fuel Purchase                  Fuel Purchase                            329.72
      10/10/2020   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD                60.16
      10/10/2020   709   JR0099   Owner Operator   Truck Payment                  CTMS - 244892 Balloon Payoff             234.05
      10/10/2020   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                          8.75
      10/10/2020   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL               8.75

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      10/10/2020   709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159                  13
      10/10/2020   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                              100
      10/10/2020   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                               200
      10/10/2020   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                              2
      10/10/2020   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                            363.39
      10/10/2020   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                            241.97
      10/10/2020   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                            255.91
      10/10/2020   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                            135.15
      10/10/2020   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                           38.5
      10/10/2020   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD               41.31
      10/10/2020   709   JS0265   Owner Operator   Truck Payment                  CTMS - 244889 Q13159 Lease                331.5
      10/10/2020   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                      8.75
      10/10/2020   709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                   13
      10/10/2020   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                              250
      10/10/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                               100
      10/10/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                              1
      10/10/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                              190
      10/10/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                              198
      10/10/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                              255
      10/10/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                              269
      10/10/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            113.95
      10/10/2020   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                         33.64
      10/10/2020   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment            256.78
      10/10/2020   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                      95.81
      10/10/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism              2.5
      10/10/2020   709   KP0004   Owner Operator   Toll Charges                                                    32914       26
      10/10/2020   709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL                8.75
      10/10/2020   709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                   13
      10/10/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                            267.89
      10/10/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                            275.93
      10/10/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                            182.39
      10/10/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                            305.87
      10/10/2020   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD                56.15
      10/10/2020   709   KT0055   Owner Operator   Truck Payment                  CTMS - 244861 33483 Lease 208            335.48
      10/10/2020   709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                     8.75
      10/10/2020   709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                   13
      10/10/2020   709   KW0091   Owner Operator   ESCROW                         Weekly Escrow                                50
      10/10/2020   709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                     57.75
      10/10/2020   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL                8.75
      10/10/2020   709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                   13
      10/10/2020   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD                40.11
      10/10/2020   709   LL0160   Owner Operator   Truck Payment                  CTMS - 244861 Balloon Pay off            200.15
      10/10/2020   709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL                8.75
      10/10/2020   709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                   13
      10/10/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                            447.58
      10/10/2020   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD                58.56
      10/10/2020   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                         8.75
      10/10/2020   709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                   13
      10/10/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                            366.66
      10/10/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                             199.8
      10/10/2020   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                          50.8
      10/10/2020   709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                     8.75
      10/10/2020   709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                   13
      10/10/2020   709   MC0207   Owner Operator   ESCROW                         Weekly Escrow                                50
      10/10/2020   709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                     40.11
      10/10/2020   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                         8.75
      10/10/2020   709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                   13
      10/10/2020   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                             1250
      10/10/2020   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                               500
      10/10/2020   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                              5
      10/10/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                            235.97
      10/10/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                             235.9
      10/10/2020   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                         23.96
      10/10/2020   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                             8.75
      10/10/2020   709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                   13

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      10/10/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.57
      10/10/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.54
      10/10/2020   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      10/10/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/10/2020   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/10/2020   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       -35
      10/10/2020   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      5.87
      10/10/2020   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    6.12
      10/10/2020   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      10/10/2020   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      10/10/2020   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.12
      10/10/2020   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/10/2020   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      10/10/2020   709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk        248.98
      10/10/2020   709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk           250
      10/10/2020   709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk        237.58
      10/10/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL              -35
      10/10/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL              -35
      10/10/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL              -35
      10/10/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD           -200.52
      10/10/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD           -200.52
      10/10/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD           -200.52
      10/10/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           -10
      10/10/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           -10
      10/10/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           -10
      10/10/2020   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/10/2020   709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      10/10/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.32
      10/10/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          226.8
      10/10/2020   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      10/10/2020   709   NT9564   Owner Operator   Arrears                        Credit Billing                            60
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              -35
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              -35
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              -35
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              -35
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             6.79
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/10/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/10/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      10/10/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      10/10/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                 8
      10/10/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      10/10/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      10/10/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      10/10/2020   709   NT9564   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             103.88
      10/10/2020   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                        100
      10/10/2020   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                      49.43
      10/10/2020   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                        100
      10/10/2020   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                        100
      10/10/2020   709   NT9564   Owner Operator   IRP License Deduction          LCIL:2020 - 73130                        100
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           -125.12
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           -125.12
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           -125.12
      10/10/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD           -125.12
      10/10/2020   709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      10/10/2020   709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      10/10/2020   709   PM0099   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/10/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/10/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.48
      10/10/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.08
      10/10/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.98
      10/10/2020   709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      10/10/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      10/10/2020   709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/10/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/10/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/10/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/10/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.51
      10/10/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.54
      10/10/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.83
      10/10/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.15
      10/10/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.46
      10/10/2020   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      10/10/2020   709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      10/10/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.82
      10/10/2020   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      10/10/2020   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/10/2020   709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      10/10/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.94
      10/10/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.76
      10/10/2020   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      10/10/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/10/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/10/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      10/10/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      10/10/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
      10/10/2020   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      10/10/2020   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.27
      10/10/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      10/10/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 35037                       100
      10/10/2020   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   RL0017   Owner Operator   Permits                        NM07:2020 - 35037                      11.55
      10/10/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      10/10/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
      10/10/2020   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      10/10/2020   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/10/2020   709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13

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      10/10/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                               200
      10/10/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                               200
      10/10/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                              2
      10/10/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                              2
      10/10/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                            388.94
      10/10/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                            397.83
      10/10/2020   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                         33.64
      10/10/2020   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                      95.63
      10/10/2020   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                      8.75
      10/10/2020   709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                   13
      10/10/2020   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                              400
      10/10/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                            329.82
      10/10/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                            442.16
      10/10/2020   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                         33.64
      10/10/2020   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                      52.71
      10/10/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism              2.5
      10/10/2020   709   RL0180   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                        132.5
      10/10/2020   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                            350.65
      10/10/2020   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                       28.48
      10/10/2020   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                          8.75
      10/10/2020   709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                   13
      10/10/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                            292.54
      10/10/2020   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                          32.09
      10/10/2020   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL                8.75
      10/10/2020   709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                   13
      10/10/2020   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                            355.54
      10/10/2020   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD                60.16
      10/10/2020   709   RP0082   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                       209.56
      10/10/2020   709   RP0082   Owner Operator   Truck Payment                  CTMS - 244838 Q1202 Balloon              234.05
      10/10/2020   709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL                8.75
      10/10/2020   709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                   13
      10/10/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                               120
      10/10/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1.2
      10/10/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                            316.26
      10/10/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                            255.53
      10/10/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                            261.32
      10/10/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                             329.4
      10/10/2020   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD                56.15
      10/10/2020   709   RR0123   Owner Operator   Toll Charges                   33488 OTA Kilpatrick Turnpike              8.65
      10/10/2020   709   RR0123   Owner Operator   Toll Charges                   33488 OTA Turner Turnpike East            18.05
      10/10/2020   709   RR0123   Owner Operator   Toll Charges                   33488 OTA Turner Turnpike West            18.05
      10/10/2020   709   RR0123   Owner Operator   Toll Charges                   33488 OTA Will Rogers Turnpike            18.05
      10/10/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 244861 33488 Lease $335           335.48
      10/10/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 244919 Past tractor ren             100
      10/10/2020   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                      8.75
      10/10/2020   709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                   13
      10/10/2020   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                              200
      10/10/2020   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                               200
      10/10/2020   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                              2
      10/10/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                            235.12
      10/10/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                            141.93
      10/10/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                            248.51
      10/10/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                            274.72
      10/10/2020   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                         33.64
      10/10/2020   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                     103.68
      10/10/2020   709   SB0009   Owner Operator   Toll Charges                                                    33236       26
      10/10/2020   709   SB0009   Owner Operator   Toll Charges                   33236 KTA Southern Terminal                4.95
      10/10/2020   709   SB0009   Owner Operator   Toll Charges                                                    33296       26
      10/10/2020   709   SB0009   Owner Operator   Toll Charges                                                    33296       26
      10/10/2020   709   SB0009   Owner Operator   Toll Charges                                                    33296       26
      10/10/2020   709   SB0009   Owner Operator   Toll Charges                                                    33296       26
      10/10/2020   709   SB0009   Owner Operator   Toll Charges                                                    33296       26
      10/10/2020   709   SB0009   Owner Operator   Toll Charges                                                    33296       26
      10/10/2020   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                            547.34
      10/10/2020   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236 10/1/2020 SB0009           109.47
      10/10/2020   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236 9/24/2020 SB0009           109.47
      10/10/2020   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL                8.75

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      10/10/2020   709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      10/10/2020   709   SM0109   Owner Operator   Broker Pre Pass                DriveWyze TRK33195                      9.84
      10/10/2020   709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      10/10/2020   709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      10/10/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           392
      10/10/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           352
      10/10/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           354
      10/10/2020   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      10/10/2020   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      10/10/2020   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      10/10/2020   709   SM0109   Owner Operator   Repair Order                   CTMS - 244648 Repair                    250
      10/10/2020   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      10/10/2020   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          25.94
      10/10/2020   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/10/2020   709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.08
      10/10/2020   709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      10/10/2020   709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      10/10/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/10/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/10/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.35
      10/10/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.22
      10/10/2020   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      10/10/2020   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/10/2020   709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      10/10/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.47
      10/10/2020   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      10/10/2020   709   VB0015   Owner Operator   Toll Charges                   Q1112                                     26
      10/10/2020   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.11
      10/10/2020   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/10/2020   709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      10/10/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/10/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/10/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           183
      10/10/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.32
      10/10/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.43
      10/10/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.09
      10/10/2020   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      10/10/2020   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/10/2020   709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      10/10/2020   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      10/10/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/10/2020   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      10/10/2020   709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      10/10/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/10/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/10/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           361
      10/10/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          158.3
      10/10/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.71
      10/10/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.25
      10/10/2020   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      10/10/2020   709   WH0087   Owner Operator   Toll Charges                   Q1239                                     26
      10/10/2020   709   WH0087   Owner Operator   Truck Payment                  CTMS - 244865 Q1238 Lease             311.97
      10/10/2020   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      10/10/2020   742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      10/10/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/10/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/10/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/10/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/10/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/10/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/10/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.45
      10/10/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.9
      10/10/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.58
      10/10/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.59
      10/10/2020   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      10/10/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5

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      10/10/2020   742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                       8.75
      10/10/2020   742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                    13
      10/10/2020   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                             163.44
      10/10/2020   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                             246.52
      10/10/2020   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                              202.1
      10/10/2020   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      10/10/2020   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                       113.5
      10/10/2020   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism               2.5
      10/10/2020   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                          8.75
      10/10/2020   742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                    13
      10/10/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                             177.38
      10/10/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                             389.91
      10/10/2020   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      10/10/2020   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                          72.19
      10/10/2020   742   CA0089   Owner Operator   Toll Charges                   33987/FG5435                                  26
      10/10/2020   742   DA0067   Owner Operator   Toll Charges                                                    33847        26
      10/10/2020   742   DA0067   Owner Operator   Toll Charges                                                    33847      9.34
      10/10/2020   742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                          9.84
      10/10/2020   742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                          9.84
      10/10/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                    13
      10/10/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                    13
      10/10/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                    13
      10/10/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                    13
      10/10/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                    13
      10/10/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                    13
      10/10/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                    13
      10/10/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                    13
      10/10/2020   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                             654.55
      10/10/2020   742   DC0117   Owner Operator   Toll Charges                   34063 BATA Benicia                         25.24
      10/10/2020   742   DC0117   Owner Operator   Toll Charges                   34063 ILTOLL South Beloit                    8.5
      10/10/2020   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                       8.75
      10/10/2020   742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                    13
      10/10/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                             258.98
      10/10/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                             378.88
      10/10/2020   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      10/10/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                       24.07
      10/10/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism               2.5
      10/10/2020   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                           8.75
      10/10/2020   742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                    13
      10/10/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                             240.67
      10/10/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                             337.76
      10/10/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                             232.12
      10/10/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                             138.96
      10/10/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                             230.41
      10/10/2020   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      10/10/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                           28.08
      10/10/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism                   2.5
      10/10/2020   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Hardy North - Rank                 4
      10/10/2020   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Hardy North - Rank                 2
      10/10/2020   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - NE M                 7
      10/10/2020   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - Nort                 7
      10/10/2020   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Ship Channel Bridg               3.5
      10/10/2020   742   EN0016   Owner Operator   Toll Charges                                                    32947        26
      10/10/2020   742   EN0016   Owner Operator   Toll Charges                                                    32947        26
      10/10/2020   742   FS0011   Owner Operator   Arrears                        Credit Billing                             34.57
      10/10/2020   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                    -35
      10/10/2020   742   FS0011   Owner Operator   BOBTAIL INS.                   51069A 2010 Peterbilt NTL                   5.95
      10/10/2020   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD                 -224.58
      10/10/2020   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD                   56.13
      10/10/2020   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro               2.5
      10/10/2020   742   FS0011   Owner Operator   PHYSICAL DAMAGE                51069A 2010 Peterbilt PD Terro               -10
      10/10/2020   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                      8.75
      10/10/2020   742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                    13
      10/10/2020   742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                                 50
      10/10/2020   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      10/10/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                      24.07
      10/10/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris               2.5
      10/10/2020   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                      8.75
      10/10/2020   742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                    13
      10/10/2020   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      10/10/2020   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                      24.07
      10/10/2020   742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                       8.75
      10/10/2020   742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                    13

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      10/10/2020   742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                   13
      10/10/2020   742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                                50
      10/10/2020   742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                                50
      10/10/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                            309.19
      10/10/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                            329.78
      10/10/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                            359.03
      10/10/2020   742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                         64.43
      10/10/2020   742   JS0390   Owner Operator   IRP License Deduction          LCIL:2020 - 34943                         99.76
      10/10/2020   742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                      60.16
      10/10/2020   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism              2.5
      10/10/2020   742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                     8.75
      10/10/2020   742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                   13
      10/10/2020   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                                50
      10/10/2020   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                     60.12
      10/10/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris              2.5
      10/10/2020   742   MH0117   Owner Operator   Repair Order                   CTMS - 244579 Repair in Vancou             311
      10/10/2020   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                        6.69
      10/10/2020   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                      8.75
      10/10/2020   742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                   13
      10/10/2020   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                              200
      10/10/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                               100
      10/10/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                               200
      10/10/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                              2
      10/10/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                              1
      10/10/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                            211.59
      10/10/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                            229.83
      10/10/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                            368.04
      10/10/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                            257.92
      10/10/2020   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                         33.64
      10/10/2020   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                     107.16
      10/10/2020   742   PC0012   Owner Operator   Toll Charges                                                    32969       26
      10/10/2020   742   PC0012   Owner Operator   Toll Charges                                                    32969       26
      10/10/2020   742   PC0012   Owner Operator   Toll Charges                                                    32969       26
      10/10/2020   742   PC0012   Owner Operator   Toll Charges                                                    32969       26
      10/10/2020   742   PC0012   Owner Operator   Toll Charges                   32969 OTA Kilpatrick Turnpike              8.65
      10/10/2020   742   PC0012   Owner Operator   Toll Charges                   32969 OTA Turner Turnpike West            18.05
      10/10/2020   742   PC0012   Owner Operator   Toll Charges                   32969 OTA Will Rogers Turnpike            18.05
      10/10/2020   742   PC0012   Owner Operator   Tractor Charge                 15577 - 32969                            501.95
      10/10/2020   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                         8.75
      10/10/2020   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                         8.75
      10/10/2020   742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                         9.84
      10/10/2020   742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                   13
      10/10/2020   742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                   13
      10/10/2020   742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                   13
      10/10/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                            210.67
      10/10/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                            173.91
      10/10/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                            226.05
      10/10/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                            111.77
      10/10/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                            124.75
      10/10/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                            252.83
      10/10/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                            211.03
      10/10/2020   742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment            257.95
      10/10/2020   742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment            257.95
      10/10/2020   742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment            257.95
      10/10/2020   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                         54.55
      10/10/2020   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                         54.52
      10/10/2020   742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                            0.6
      10/10/2020   742   RF0136   Owner Operator   T Chek Fee                     Tractor Repair 34182                       59.8
      10/10/2020   742   RF0136   Owner Operator   Toll Charges                                                    34182       26
      10/10/2020   742   RF0136   Owner Operator   Toll Charges                                                    34182       26
      10/10/2020   742   RF0136   Owner Operator   Toll Charges                                                    34182       16
      10/10/2020   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL               8.75
      10/10/2020   742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157                  13
      10/10/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                            172.38
      10/10/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                            214.08
      10/10/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                            230.72
      10/10/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                            221.17
      10/10/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                            212.13
      10/10/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                            102.84

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      10/10/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                             54.34
      10/10/2020   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD                36.1
      10/10/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te              2.5
      10/10/2020   742   RN0054   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                       582.31
      10/10/2020   742   RN0054   Owner Operator   Toll Charges                   Q13157 TXTAG North - Hardy ML              1.88
      10/10/2020   742   RN0054   Owner Operator   Toll Charges                   Q13157 TXTAG Riley Fuzzel ML E             2.84
      10/10/2020   742   RN0054   Owner Operator   Toll Charges                   Q13157 TXTAG Valley Ranch ML                7.6
      10/10/2020   742   RN0054   Owner Operator   Toll Charges                   Q13157/701708                                26
      10/10/2020   742   RN0054   Owner Operator   Toll Charges                   Q13157/701915                                26
      10/10/2020   742   RN0054   Owner Operator   Toll Charges                   Q13157/702079                                26
      10/10/2020   742   RN0054   Owner Operator   Toll Charges                   Q13157/702079                                26
      10/10/2020   742   RN0054   Owner Operator   Truck Payment                  CTMS - 244892 Balloon Payoff             335.75
      10/10/2020   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                         8.75
      10/10/2020   742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                   13
      10/10/2020   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                                50
      10/10/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                            387.56
      10/10/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                            165.35
      10/10/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                            267.49
      10/10/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                            126.45
      10/10/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                            317.27
      10/10/2020   742   RS0342   Owner Operator   IRP License Deduction          LCIL:2020 - 35030                           100
      10/10/2020   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   742   RS0342   Owner Operator   Permits                        NY13:2020 - 35030                           1.5
      10/10/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                        147.03
      10/10/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism                 2.5
      10/10/2020   742   RS0342   Owner Operator   Toll Charges                   35030 OTA Kilpatrick Turnpike              4.45
      10/10/2020   742   RS0342   Owner Operator   Toll Charges                   35030 OTA Turner Turnpike West            18.05
      10/10/2020   742   RS0342   Owner Operator   Toll Charges                   35030 OTA Will Rogers Turnpike            18.05
      10/10/2020   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                         8.75
      10/10/2020   742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                   13
      10/10/2020   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                         60.16
      10/10/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism                 2.5
      10/10/2020   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL                8.75
      10/10/2020   742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                   13
      10/10/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                            276.04
      10/10/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                            302.45
      10/10/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                            347.67
      10/10/2020   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD                68.98
      10/10/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter              2.5
      10/10/2020   742   TC0098   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                       135.04
      10/10/2020   742   TC0098   Owner Operator   Toll Charges                                                    33489       26
      10/10/2020   742   TC0098   Owner Operator   Toll Charges                                                    33489       26
      10/10/2020   742   TC0098   Owner Operator   Truck Payment                  CTMS - 244896 33489 Lease Paym           412.16
      10/10/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                    8.75
      10/10/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                     -35
      10/10/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                     -35
      10/10/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                     -35
      10/10/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                    8.75
      10/10/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                    8.75
      10/10/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                    8.75
      10/10/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                    8.75
      10/10/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                    8.75
      10/10/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                    8.75
      10/10/2020   783   AJ0066   Owner Operator   ESCROW                         Weekly Escrow                                50
      10/10/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              -190
      10/10/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              -190
      10/10/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/10/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             30.22
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                    68.17
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                    68.18
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                    68.18
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                    68.18
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                    68.17
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                    68.18

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      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.17
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.18
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.18
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD               -272.71
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD               -272.71
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD               -272.71
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           -10
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           -10
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           -10
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      10/10/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      10/10/2020   783   AJ0066   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
      10/10/2020   783   AJ0066   Owner Operator   T Chek Fee                     School Checks (Corp)                    300
      10/10/2020   783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      10/10/2020   783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                13
      10/10/2020   783   DS0317   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
      10/10/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      10/10/2020   783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      10/10/2020   783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
      10/10/2020   783   GR0095   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.95
      10/10/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.13
      10/10/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                           100
      10/10/2020   783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
      10/10/2020   783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      10/10/2020   783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                13
      10/10/2020   783   HP0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.68
      10/10/2020   783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.84
      10/10/2020   783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
      10/10/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      10/10/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
      10/10/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
      10/10/2020   783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061                13
      10/10/2020   783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.59
      10/10/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.15
      10/10/2020   783   JL0281   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.16
      10/10/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.16
      10/10/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
      10/10/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
      10/10/2020   783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      10/10/2020   783   MA0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.78
      10/10/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.72
      10/10/2020   783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
      10/10/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      10/10/2020   783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/10/2020   783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
      10/10/2020   783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         337.31
      10/10/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.36
      10/10/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.59
      10/10/2020   783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
      10/10/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/10/2020   783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      10/10/2020   783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
      10/10/2020   783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.85

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      10/10/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.62
      10/10/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.08
      10/10/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.67
      10/10/2020   783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
      10/10/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      10/10/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   2016 Western Star NTL                   8.75
      10/10/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                   -35
      10/10/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75
      10/10/2020   783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 86756                13
      10/10/2020   783   OJ0010   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.06
      10/10/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.35
      10/10/2020   783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD                   40.07
      10/10/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD Terrorism           2.5
      10/10/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  -57.5
      10/10/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.38
      10/10/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
      10/10/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           -10
      10/10/2020   783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      10/10/2020   783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
      10/10/2020   783   RC0294   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.64
      10/10/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.7
      10/10/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.66
      10/10/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.41
      10/10/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.04
      10/10/2020   783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      10/10/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      10/10/2020   783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      10/10/2020   783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      10/10/2020   783   RD0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.2
      10/10/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.12
      10/10/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.71
      10/10/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.9
      10/10/2020   783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
      10/10/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      10/10/2020   783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      10/10/2020   783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
      10/10/2020   783   RM0340   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                          456.4
      10/10/2020   783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      10/10/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
      10/10/2020   783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      10/10/2020   783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
      10/10/2020   783   RS0377   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/10/2020   783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/10/2020   783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/10/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         117.51
      10/10/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.88
      10/10/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.56
      10/10/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.54
      10/10/2020   783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/10/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
      10/10/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      10/17/2020   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      10/17/2020   709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
      10/17/2020   709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      10/17/2020   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/17/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.23
      10/17/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.61
      10/17/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.05
      10/17/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.25
      10/17/2020   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      10/17/2020   709   AC0061   Owner Operator   Truck Payment                  CTMS - 245100 Q13148 Trac Leas        296.09
      10/17/2020   709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      10/17/2020   709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13

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      10/17/2020   709   AC0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
      10/17/2020   709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      10/17/2020   709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      10/17/2020   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         354.79
      10/17/2020   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      10/17/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      10/17/2020   709   AN0007   Owner Operator   Repair Order                   CTMS - 244998 Solvay fuel            -115.02
      10/17/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 244992 TRUCK RENTAL              350
      10/17/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 245044 truck 32781 Leas        225.29
      10/17/2020   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      10/17/2020   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
      10/17/2020   709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      10/17/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.72
      10/17/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.81
      10/17/2020   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      10/17/2020   709   AR0064   Owner Operator   Truck Payment                  CTMS - 245101 Baloon Q13147           357.62
      10/17/2020   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      10/17/2020   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      10/17/2020   709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      10/17/2020   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          103.9
      10/17/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         108.96
      10/17/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.01
      10/17/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.84
      10/17/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.16
      10/17/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.16
      10/17/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           48.9
      10/17/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.81
      10/17/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.39
      10/17/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.03
      10/17/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.67
      10/17/2020   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      10/17/2020   709   AV0021   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    175.96
      10/17/2020   709   AV0021   Owner Operator   Truck Payment                  CTMS - 245075 Q13169 Sublease         352.68
      10/17/2020   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      10/17/2020   709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      10/17/2020   709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      10/17/2020   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      10/17/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      10/17/2020   709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
      10/17/2020   709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
      10/17/2020   709   BR0082   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.91
      10/17/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.06
      10/17/2020   709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.11
      10/17/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
      10/17/2020   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      10/17/2020   709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
      10/17/2020   709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      10/17/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/17/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/17/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/17/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.15
      10/17/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.06
      10/17/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.55
      10/17/2020   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      10/17/2020   709   CC0134   Owner Operator   Truck Payment                  CTMS - 245019 Q13168 sub lease        352.68
      10/17/2020   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/17/2020   709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      10/17/2020   709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      10/17/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.67
      10/17/2020   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      10/17/2020   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/17/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      10/17/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/17/2020   709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      10/17/2020   709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      10/17/2020   709   CM0224   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/17/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/17/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.93
      10/17/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.15
      10/17/2020   709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.05
      10/17/2020   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      10/17/2020   709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      10/17/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/17/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          286.6
      10/17/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.11
      10/17/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.75
      10/17/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.38
      10/17/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.45
      10/17/2020   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      10/17/2020   709   CR0064   Owner Operator   Truck Payment                  CTMS - 245040 Q1247 Sub Lease         263.91
      10/17/2020   709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      10/17/2020   709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      10/17/2020   709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.55
      10/17/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.55
      10/17/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.79
      10/17/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.79
      10/17/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.29
      10/17/2020   709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      10/17/2020   709   CV0028   Owner Operator   Truck Payment                  CTMS - 245015 Lease Truck 3348        335.96
      10/17/2020   709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      10/17/2020   709   DL0029   Owner Operator   Broker Pre Pass                Q13199 PrePass Device                   12.5
      10/17/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.55
      10/17/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.43
      10/17/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.32
      10/17/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.14
      10/17/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.03
      10/17/2020   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.07
      10/17/2020   709   DL0029   Owner Operator   Toll Charges                   Q13199 NTTA I35WN-820-24                  10
      10/17/2020   709   DL0029   Owner Operator   Truck Payment                  CTMS - 245016 Q13199 Lease            193.11
      10/17/2020   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      10/17/2020   709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      10/17/2020   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/17/2020   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/17/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.15
      10/17/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.36
      10/17/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.68
      10/17/2020   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      10/17/2020   709   DL0107   Owner Operator   Truck Payment                  CTMS - 244987 TRUCK RENTAL              500
      10/17/2020   709   DL0107   Owner Operator   Truck Payment                  CTMS - 245071 Baloon payoff           350.23
      10/17/2020   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      10/17/2020   709   DM0257   Owner Operator   Broker Pre Pass                34328 PrePass Device                    12.5
      10/17/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.78
      10/17/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.7
      10/17/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.91
      10/17/2020   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      10/17/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      10/17/2020   709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      10/17/2020   709   DS0049   Owner Operator   Broker Pre Pass                34880 PrePass Device                    12.5
      10/17/2020   709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      10/17/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/17/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/17/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.57
      10/17/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.53

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      10/17/2020   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      10/17/2020   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      10/17/2020   709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      10/17/2020   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      10/17/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.08
      10/17/2020   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      10/17/2020   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/17/2020   709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                    12.5
      10/17/2020   709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      10/17/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.41
      10/17/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.61
      10/17/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.51
      10/17/2020   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      10/17/2020   709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                13
      10/17/2020   709   DT0153   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.67
      10/17/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.24
      10/17/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                          131.1
      10/17/2020   709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/17/2020   709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
      10/17/2020   709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      10/17/2020   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/17/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.05
      10/17/2020   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      10/17/2020   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      10/17/2020   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      10/17/2020   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      10/17/2020   709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
      10/17/2020   709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      10/17/2020   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                          1000
      10/17/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         557.85
      10/17/2020   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      10/17/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      10/17/2020   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      10/17/2020   709   EO0014   Owner Operator   Broker Pre Pass                33846 PrePass Device                    12.5
      10/17/2020   709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      10/17/2020   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/17/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.95
      10/17/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.93
      10/17/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           254
      10/17/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.81
      10/17/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.59
      10/17/2020   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      10/17/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      10/17/2020   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      10/17/2020   709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
      10/17/2020   709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      10/17/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.58
      10/17/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.44
      10/17/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.26
      10/17/2020   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      10/17/2020   709   FS0039   Owner Operator   Repair Order                   CTMS - 244998 Solvay fuel                -20
      10/17/2020   709   FS0039   Owner Operator   Truck Payment                  CTMS - 245075 truck lease 3304        434.29
      10/17/2020   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/17/2020   709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      10/17/2020   709   FV0001   Owner Operator   Charge back by affiliate       CTMS - 244998 SNF lunch loader        -45.63
      10/17/2020   709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      10/17/2020   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   709   FV0001   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      10/17/2020   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         629.81
      10/17/2020   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      10/17/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/17/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      10/17/2020   709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      10/17/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            400
      10/17/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      10/17/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.01
      10/17/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          181.8
      10/17/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.63
      10/17/2020   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      10/17/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      10/17/2020   709   GA0051   Owner Operator   Truck Payment                  CTMS - 245041 Q1200 Lease             238.16
      10/17/2020   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      10/17/2020   709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      10/17/2020   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.68
      10/17/2020   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      10/17/2020   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      10/17/2020   709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      10/17/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.76
      10/17/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.91
      10/17/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.13
      10/17/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.16
      10/17/2020   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      10/17/2020   709   GW0043   Owner Operator   Truck Payment                  CTMS - 245046 Q1109 Lease             302.85
      10/17/2020   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      10/17/2020   709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      10/17/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.53
      10/17/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.25
      10/17/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          311.5
      10/17/2020   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      10/17/2020   709   HC0023   Owner Operator   Repair Order                   CTMS - 244998 Solvay fuel                 -5
      10/17/2020   709   HC0023   Owner Operator   Truck Payment                  CTMS - 245075 Q13170                  352.68
      10/17/2020   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/17/2020   709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      10/17/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.73
      10/17/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.79
      10/17/2020   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      10/17/2020   709   HG0007   Owner Operator   Toll Charges                   34565 BATA Richmond                       26
      10/17/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/17/2020   709   IA0007   Owner Operator   Broker Pre Pass                34012 PrePass Device                    12.5
      10/17/2020   709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      10/17/2020   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           400
      10/17/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.95
      10/17/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.76
      10/17/2020   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      10/17/2020   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      10/17/2020   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/17/2020   709   IR0002   Owner Operator   Broker Pre Pass                32901 PrePass Device                    12.5
      10/17/2020   709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      10/17/2020   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          498.4
      10/17/2020   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.68
      10/17/2020   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      10/17/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/17/2020   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      10/17/2020   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      10/17/2020   709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      10/17/2020   709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      10/17/2020   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      10/17/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/17/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/17/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          346.6
      10/17/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.13

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      10/17/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.09
      10/17/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.93
      10/17/2020   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      10/17/2020   709   JC0292   Owner Operator   Repair Order                   CTMS - 244998 Tank wash                  -35
      10/17/2020   709   JC0292   Owner Operator   Truck Payment                  CTMS - 245045 Q13197 Lease            276.63
      10/17/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/17/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      10/17/2020   709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      10/17/2020   709   JC0418   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.39
      10/17/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.72
      10/17/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.37
      10/17/2020   709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       44.12
      10/17/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      10/17/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.07
      10/17/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      10/17/2020   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/17/2020   709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      10/17/2020   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      10/17/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      10/17/2020   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/17/2020   709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
      10/17/2020   709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      10/17/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/17/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/17/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.52
      10/17/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.42
      10/17/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.04
      10/17/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.95
      10/17/2020   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      10/17/2020   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      10/17/2020   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/17/2020   709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      10/17/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/17/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/17/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.72
      10/17/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          398.1
      10/17/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          401.7
      10/17/2020   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      10/17/2020   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
      10/17/2020   709   JG0072   Owner Operator   Tire Purchase                  6502171356~BRIDGESTONE                229.33
      10/17/2020   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/17/2020   709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                    12.5
      10/17/2020   709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                13
      10/17/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.17
      10/17/2020   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      10/17/2020   709   JG0092   Owner Operator   Truck Payment                  CTMS - 244987 TRUCK RENTAL              500
      10/17/2020   709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                   8.75
      10/17/2020   709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                 13
      10/17/2020   709   JL0280   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.18
      10/17/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.05
      10/17/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.11
      10/17/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.85
      10/17/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.06
      10/17/2020   709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                   33.04
      10/17/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      10/17/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75

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      10/17/2020   709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                13
      10/17/2020   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.24
      10/17/2020   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.48
      10/17/2020   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.23
      10/17/2020   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      10/17/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
      10/17/2020   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      10/17/2020   709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      10/17/2020   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      10/17/2020   709   JR0099   Owner Operator   Truck Payment                  CTMS - 245042 Balloon Payoff          234.05
      10/17/2020   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      10/17/2020   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      10/17/2020   709   JS0265   Owner Operator   ESCROW                         Escrow Withdrawal                    -176.75
      10/17/2020   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      10/17/2020   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
      10/17/2020   709   JS0265   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.75
      10/17/2020   709   JS0265   Owner Operator   T Chek Fee                     Tractor Repair Q1263                   30.19
      10/17/2020   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/17/2020   709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                    12.5
      10/17/2020   709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      10/17/2020   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/17/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      10/17/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           265
      10/17/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           147
      10/17/2020   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      10/17/2020   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
      10/17/2020   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      10/17/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/17/2020   709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      10/17/2020   709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      10/17/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.49
      10/17/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.93
      10/17/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.47
      10/17/2020   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      10/17/2020   709   KT0055   Owner Operator   Truck Payment                  CTMS - 245015 33483 Lease 208         335.48
      10/17/2020   709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      10/17/2020   709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
      10/17/2020   709   KW0091   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      10/17/2020   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      10/17/2020   709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      10/17/2020   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      10/17/2020   709   LL0160   Owner Operator   Truck Payment                  CTMS - 245015 Balloon Pay off         200.15
      10/17/2020   709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      10/17/2020   709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      10/17/2020   709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      10/17/2020   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/17/2020   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.14
      10/17/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.78
      10/17/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.54
      10/17/2020   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      10/17/2020   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/17/2020   709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      10/17/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.53
      10/17/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.31
      10/17/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.7
      10/17/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.16
      10/17/2020   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      10/17/2020   709   MA0092   Owner Operator   Toll Charges                   34005 E470 PLAZA D                      4.65
      10/17/2020   709   MA0092   Owner Operator   Toll Charges                   34005 E470 PLAZA D                      4.65

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      10/17/2020   709   MA0092   Owner Operator   Toll Charges                   34005 E470 PLAZA E                      4.65
      10/17/2020   709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
      10/17/2020   709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
      10/17/2020   709   MC0207   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.11
      10/17/2020   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/17/2020   709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      10/17/2020   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                          1250
      10/17/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.13
      10/17/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.88
      10/17/2020   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      10/17/2020   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/17/2020   709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      10/17/2020   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      10/17/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/17/2020   709   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL             8.75
      10/17/2020   709   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL             8.75
      10/17/2020   709   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      10/17/2020   709   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      10/17/2020   709   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD             16.05
      10/17/2020   709   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD             16.05
      10/17/2020   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/17/2020   709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      10/17/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/17/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      10/17/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.89
      10/17/2020   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      10/17/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/17/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      10/17/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/17/2020   709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      10/17/2020   709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      10/17/2020   709   PM0099   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.86
      10/17/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.39
      10/17/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.28
      10/17/2020   709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      10/17/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      10/17/2020   709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      10/17/2020   709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/17/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/17/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.38
      10/17/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.54
      10/17/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.26
      10/17/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.75
      10/17/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.54
      10/17/2020   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      10/17/2020   709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      10/17/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      10/17/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      10/17/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.35
      10/17/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.25
      10/17/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          360.9
      10/17/2020   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      10/17/2020   709   RB0170   Owner Operator   Truck Payment                  CTMS - 244860 Q1241 Truck leas        321.84
      10/17/2020   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/17/2020   709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      10/17/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          155.8
      10/17/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.69
      10/17/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.71
      10/17/2020   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76

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      10/17/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/17/2020   709   RC0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                      492
      10/17/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/17/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      10/17/2020   709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      10/17/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      10/17/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
      10/17/2020   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      10/17/2020   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.67
      10/17/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      10/17/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 35037                       100
      10/17/2020   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      10/17/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
      10/17/2020   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      10/17/2020   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/17/2020   709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      10/17/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/17/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/17/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.07
      10/17/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.94
      10/17/2020   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      10/17/2020   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      10/17/2020   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/17/2020   709   RL0180   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
      10/17/2020   709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      10/17/2020   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      10/17/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          100.2
      10/17/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          426.3
      10/17/2020   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      10/17/2020   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      10/17/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      10/17/2020   709   RL0180   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    132.47
      10/17/2020   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      10/17/2020   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      10/17/2020   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      10/17/2020   709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      10/17/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.51
      10/17/2020   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      10/17/2020   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      10/17/2020   709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      10/17/2020   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.06
      10/17/2020   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      10/17/2020   709   RP0082   Owner Operator   Truck Payment                  CTMS - 244990 Q1202 Balloon           234.05
      10/17/2020   709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      10/17/2020   709   RR0123   Owner Operator   Broker Pre Pass                33488 PrePass Device                    12.5
      10/17/2020   709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      10/17/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.17
      10/17/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.2
      10/17/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.84
      10/17/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.68
      10/17/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.34
      10/17/2020   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      10/17/2020   709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Sam Houston - NE M             7
      10/17/2020   709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Ship Channel Bridg             7
      10/17/2020   709   RR0123   Owner Operator   Toll Charges                   33488 HCTRA Ship Channel Bridg           3.5
      10/17/2020   709   RR0123   Owner Operator   Toll Charges                   33488 PTC Carlisle                      91.2
      10/17/2020   709   RR0123   Owner Operator   Toll Charges                   33488 PTC New Stanton                   36.4
      10/17/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 245015 33488 Lease $335        335.48
      10/17/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 245072 Past tractor ren          100
      10/17/2020   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/17/2020   709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5

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      10/17/2020   709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      10/17/2020   709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                      -2525
      10/17/2020   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      10/17/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.45
      10/17/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.11
      10/17/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.19
      10/17/2020   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      10/17/2020   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      10/17/2020   709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                          25
      10/17/2020   709   SB0009   Owner Operator   T Chek Fee                     Towing 33236                            2500
      10/17/2020   709   SB0009   Owner Operator   Toll Charges                   33236 E470 PLAZA C                      17.2
      10/17/2020   709   SB0009   Owner Operator   Toll Charges                   33236 E470 PLAZA D                      18.6
      10/17/2020   709   SB0009   Owner Operator   Toll Charges                   33236 E470 PLAZA E                      18.6
      10/17/2020   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         547.34
      10/17/2020   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      10/17/2020   709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      10/17/2020   709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      10/17/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            367
      10/17/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            222
      10/17/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            294
      10/17/2020   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      10/17/2020   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      10/17/2020   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      10/17/2020   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/17/2020   709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      10/17/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/17/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/17/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.69
      10/17/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.55
      10/17/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          194.7
      10/17/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.51
      10/17/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.49
      10/17/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.52
      10/17/2020   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      10/17/2020   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/17/2020   709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      10/17/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.67
      10/17/2020   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      10/17/2020   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.11
      10/17/2020   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/17/2020   709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      10/17/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/17/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             160
      10/17/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      10/17/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.77
      10/17/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.84
      10/17/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          168.7
      10/17/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.75
      10/17/2020   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      10/17/2020   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/17/2020   709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      10/17/2020   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      10/17/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/17/2020   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      10/17/2020   709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      10/17/2020   709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      10/17/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/17/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          283.6
      10/17/2020   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      10/17/2020   709   WH0087   Owner Operator   Truck Payment                  CTMS - 245019 Q1238 Lease             311.97
      10/17/2020   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      10/17/2020   742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5

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      10/17/2020   742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                   13
      10/17/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                               100
      10/17/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                              1
      10/17/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                            137.23
      10/17/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                            107.98
      10/17/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                            142.27
      10/17/2020   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/17/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                       53.74
      10/17/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism               2.5
      10/17/2020   742   AP0047   Owner Operator   Toll Charges                   32604 BATA Carquinez Bridge                  26
      10/17/2020   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                         8.75
      10/17/2020   742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                       12.5
      10/17/2020   742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                   13
      10/17/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                             416.9
      10/17/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                            374.47
      10/17/2020   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/17/2020   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                         72.19
      10/17/2020   742   CA0089   Owner Operator   Toll Charges                   33987 BATA Antioch Bridge                    26
      10/17/2020   742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                      143.14
      10/17/2020   742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                      143.14
      10/17/2020   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                      8.75
      10/17/2020   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                      8.75
      10/17/2020   742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                       12.5
      10/17/2020   742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                   13
      10/17/2020   742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                   13
      10/17/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                              162
      10/17/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            150.47
      10/17/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                              160
      10/17/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                              173
      10/17/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            155.03
      10/17/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             52.02
      10/17/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                              348
      10/17/2020   742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment            268.58
      10/17/2020   742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment            268.58
      10/17/2020   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/17/2020   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/17/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                      72.19
      10/17/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                      72.19
      10/17/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism              2.5
      10/17/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism              2.5
      10/17/2020   742   DA0067   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                        186.9
      10/17/2020   742   DA0067   Owner Operator   Toll Charges                                                    33847    16.66
      10/17/2020   742   DA0067   Owner Operator   Toll Charges                                                    33847       26
      10/17/2020   742   DA0067   Owner Operator   Toll Charges                                                    33847       26
      10/17/2020   742   DA0067   Owner Operator   Toll Charges                                                    33847       26
      10/17/2020   742   DA0067   Owner Operator   Toll Charges                                                    33847       26
      10/17/2020   742   DA0067   Owner Operator   Toll Charges                                                    33847       26
      10/17/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                   13
      10/17/2020   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                            548.24
      10/17/2020   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                      8.75
      10/17/2020   742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                       12.5
      10/17/2020   742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                   13
      10/17/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                             228.9
      10/17/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                            373.47
      10/17/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                            385.13
      10/17/2020   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/17/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                      24.07
      10/17/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism              2.5
      10/17/2020   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                          8.75
      10/17/2020   742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                   13
      10/17/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                            316.85
      10/17/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                            132.08
      10/17/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                            281.98
      10/17/2020   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/17/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                          28.08
      10/17/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism                  2.5
      10/17/2020   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                     8.75
      10/17/2020   742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                   13
      10/17/2020   742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                                50
      10/17/2020   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      10/17/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                     24.07
      10/17/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris              2.5
      10/17/2020   742   JB0465   Owner Operator   Toll Charges                   34804 BATA Carquinez Bridge                  26

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      10/17/2020   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      10/17/2020   742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      10/17/2020   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           528
      10/17/2020   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      10/17/2020   742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/17/2020   742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      10/17/2020   742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.05
      10/17/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.88
      10/17/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.41
      10/17/2020   742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      10/17/2020   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/17/2020   742   JS0390   Owner Operator   T Chek Fee                     ExpressCheck Fee                        2.58
      10/17/2020   742   JS0390   Owner Operator   T Chek Fee                     ExpressCheck Fee                        6.45
      10/17/2020   742   JS0390   Owner Operator   T Chek Fee                     Tractor Repair 34943                    645
      10/17/2020   742   JS0390   Owner Operator   T Chek Fee                     Tractor Repair 34943                  257.82
      10/17/2020   742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      10/17/2020   742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      10/17/2020   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      10/17/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      10/17/2020   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.69
      10/17/2020   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/17/2020   742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      10/17/2020   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/17/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/17/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/17/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/17/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/17/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.19
      10/17/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.14
      10/17/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.51
      10/17/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           172
      10/17/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.72
      10/17/2020   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      10/17/2020   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      10/17/2020   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      10/17/2020   742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      10/17/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            150
      10/17/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      10/17/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.47
      10/17/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.39
      10/17/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.46
      10/17/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.84
      10/17/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.14
      10/17/2020   742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      10/17/2020   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      10/17/2020   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      10/17/2020   742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5
      10/17/2020   742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      10/17/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.09
      10/17/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.83
      10/17/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.64
      10/17/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.05
      10/17/2020   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      10/17/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      10/17/2020   742   RN0054   Owner Operator   Toll Charges                   Q13157 OTA Turner Turnpike Eas         18.05
      10/17/2020   742   RN0054   Owner Operator   Truck Payment                  CTMS - 245042 Balloon Payoff          335.75
      10/17/2020   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      10/17/2020   742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                13
      10/17/2020   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.22
      10/17/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.78
      10/17/2020   742   RS0342   Owner Operator   IRP License Deduction          LCIL:2020 - 35030                       100
      10/17/2020   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     147.03

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      10/17/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      10/17/2020   742   RS0342   Owner Operator   Toll Charges                   35030 OTA Kilpatrick Turnpike           8.65
      10/17/2020   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/17/2020   742   SK0049   Owner Operator   Broker Pre Pass                33934 PrePass Device                    12.5
      10/17/2020   742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      10/17/2020   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      10/17/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      10/17/2020   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      10/17/2020   742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
      10/17/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.35
      10/17/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.85
      10/17/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.11
      10/17/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.64
      10/17/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.53
      10/17/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.79
      10/17/2020   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      10/17/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      10/17/2020   742   TC0098   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    135.04
      10/17/2020   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL 163rd St.                   6.8
      10/17/2020   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Joliet Rd.                 2.55
      10/17/2020   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL York Rd.                    6.8
      10/17/2020   742   TC0098   Owner Operator   Truck Payment                  CTMS - 245046 33489 Lease Paym        412.16
      10/17/2020   781   MM0054   Owner Operator   Communication Charge           Safety Tech Hardware 86900                13
      10/17/2020   781   MM0054   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                 8.75
      10/17/2020   783   AJ0066   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.18
      10/17/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      10/17/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                   8.75
      10/17/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                   8.75
      10/17/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                   8.75
      10/17/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                   8.75
      10/17/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                   8.75
      10/17/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                   8.75
      10/17/2020   783   CH0168   Owner Operator   Communication Charge           Safety Tech Hardware 35066                13
      10/17/2020   783   CH0168   Owner Operator   Communication Charge           Safety Tech Hardware 35066                13
      10/17/2020   783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                   72.19
      10/17/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                   72.19
      10/17/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                   72.19
      10/17/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                   72.19
      10/17/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                   72.18
      10/17/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                   72.19
      10/17/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism           2.5
      10/17/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism           2.5
      10/17/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism           2.5
      10/17/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism           2.5
      10/17/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism           2.5
      10/17/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism           2.5
      10/17/2020   783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      10/17/2020   783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                13
      10/17/2020   783   DS0317   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
      10/17/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      10/17/2020   783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      10/17/2020   783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
      10/17/2020   783   GR0095   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.71
      10/17/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.47
      10/17/2020   783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
      10/17/2020   783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      10/17/2020   783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                13
      10/17/2020   783   HP0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.85
      10/17/2020   783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         610.98
      10/17/2020   783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09

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      10/17/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      10/17/2020   783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/17/2020   783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/17/2020   783   JK0157   Owner Operator   IRP License Deduction          LCIL 2020 IRP plate credit           -739.72
      10/17/2020   783   JK0157   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   JK0157   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   JK0157   Owner Operator   Permits                        NY13:2020 - 35032                        1.5
      10/17/2020   783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       41.71
      10/17/2020   783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       41.71
      10/17/2020   783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      10/17/2020   783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      10/17/2020   783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      10/17/2020   783   MA0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.31
      10/17/2020   783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
      10/17/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      10/17/2020   783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/17/2020   783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
      10/17/2020   783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.04
      10/17/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.47
      10/17/2020   783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
      10/17/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/17/2020   783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      10/17/2020   783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
      10/17/2020   783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.62
      10/17/2020   783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
      10/17/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      10/17/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   2016 Western Star NTL                   8.75
      10/17/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75
      10/17/2020   783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 35086                13
      10/17/2020   783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 86756                13
      10/17/2020   783   OJ0010   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.64
      10/17/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.62
      10/17/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.69
      10/17/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.11
      10/17/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.97
      10/17/2020   783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   OJ0010   Owner Operator   Permits                        IL02:2020 - 35086                       3.75
      10/17/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD                   40.07
      10/17/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD Terrorism           2.5
      10/17/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.38
      10/17/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
      10/17/2020   783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      10/17/2020   783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
      10/17/2020   783   RC0294   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.33
      10/17/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.52
      10/17/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.24
      10/17/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.62
      10/17/2020   783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      10/17/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      10/17/2020   783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      10/17/2020   783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      10/17/2020   783   RD0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.87
      10/17/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.37
      10/17/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.87
      10/17/2020   783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
      10/17/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      10/17/2020   783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      10/17/2020   783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
      10/17/2020   783   RM0340   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      10/17/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5

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      10/17/2020   783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      10/17/2020   783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
      10/17/2020   783   RS0377   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/17/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.76
      10/17/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.09
      10/17/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.72
      10/17/2020   783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/17/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
      10/17/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      10/24/2020   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      10/24/2020   709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
      10/24/2020   709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      10/24/2020   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/24/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.98
      10/24/2020   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      10/24/2020   709   AC0061   Owner Operator   Truck Payment                  CTMS - 245254 Q13148 Trac Leas        296.09
      10/24/2020   709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      10/24/2020   709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
      10/24/2020   709   AC0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
      10/24/2020   709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      10/24/2020   709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK32781                      9.84
      10/24/2020   709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      10/24/2020   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         354.79
      10/24/2020   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      10/24/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      10/24/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 245147 TRUCK RENTAL              350
      10/24/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 245200 truck 32781 Leas        225.29
      10/24/2020   709   AP0092   Owner Operator   BOBTAIL INS.                   971 2012 Freightliner NTL               17.5
      10/24/2020   709   AP0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.83
      10/24/2020   709   AP0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             95
      10/24/2020   709   AP0092   Owner Operator   Permits                        IL02:2020 - 8971                        3.75
      10/24/2020   709   AP0092   Owner Operator   PHYSICAL DAMAGE                971 2012 Freightliner PD               32.07
      10/24/2020   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      10/24/2020   709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      10/24/2020   709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      10/24/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.31
      10/24/2020   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      10/24/2020   709   AR0064   Owner Operator   Truck Payment                  CTMS - 245256 Baloon Q13147           357.62
      10/24/2020   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      10/24/2020   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      10/24/2020   709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      10/24/2020   709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      10/24/2020   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/24/2020   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/24/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             96
      10/24/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.86
      10/24/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.22
      10/24/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.19
      10/24/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.09
      10/24/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.41
      10/24/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.55
      10/24/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          79.16
      10/24/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.54
      10/24/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.84
      10/24/2020   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      10/24/2020   709   AV0021   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    175.96
      10/24/2020   709   AV0021   Owner Operator   Truck Payment                  CTMS - 245229 Q13169 Sublease         352.68
      10/24/2020   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      10/24/2020   709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      10/24/2020   709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      10/24/2020   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      10/24/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      10/24/2020   709   BM0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    111.72
      10/24/2020   709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
      10/24/2020   709   BR0082   Owner Operator   Broker Pre Pass                DriveWyze TRK35023                     17.62
      10/24/2020   709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13

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      10/24/2020   709   BR0082   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.33
      10/24/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.47
      10/24/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.95
      10/24/2020   709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.11
      10/24/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
      10/24/2020   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      10/24/2020   709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      10/24/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/24/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/24/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.9
      10/24/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                           353
      10/24/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.21
      10/24/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.52
      10/24/2020   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      10/24/2020   709   CC0134   Owner Operator   Truck Payment                  CTMS - 245171 Q13168 sub lease        352.68
      10/24/2020   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/24/2020   709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      10/24/2020   709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      10/24/2020   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         532.71
      10/24/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.87
      10/24/2020   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      10/24/2020   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      10/24/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/24/2020   709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      10/24/2020   709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      10/24/2020   709   CM0224   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/24/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/24/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         507.23
      10/24/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.32
      10/24/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.61
      10/24/2020   709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.05
      10/24/2020   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      10/24/2020   709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
      10/24/2020   709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      10/24/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/24/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/24/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/24/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/24/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.79
      10/24/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.98
      10/24/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          141.2
      10/24/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.39
      10/24/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.55
      10/24/2020   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      10/24/2020   709   CR0064   Owner Operator   Truck Payment                  CTMS - 245196 Q1247 Sub Lease         263.91
      10/24/2020   709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      10/24/2020   709   CV0028   Owner Operator   Broker Pre Pass                DriveWyze TRK33482                      9.84
      10/24/2020   709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      10/24/2020   709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/24/2020   709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/24/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.11
      10/24/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.75
      10/24/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.29
      10/24/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.04
      10/24/2020   709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      10/24/2020   709   CV0028   Owner Operator   Truck Payment                  CTMS - 245166 Lease Truck 3348        335.96
      10/24/2020   709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      10/24/2020   709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13199                     9.84
      10/24/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.58
      10/24/2020   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/24/2020   709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.07
      10/24/2020   709   DL0029   Owner Operator   Truck Payment                  CTMS - 245167 Q13199 Lease            193.11
      10/24/2020   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      10/24/2020   709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      10/24/2020   709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      10/24/2020   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/24/2020   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/24/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         537.91
      10/24/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.81
      10/24/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.84
      10/24/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.95
      10/24/2020   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      10/24/2020   709   DL0107   Owner Operator   T Chek Fee                     ExpressCheck Fee                        2.75
      10/24/2020   709   DL0107   Owner Operator   T Chek Fee                     Tractor Repair Q1245                  275.29
      10/24/2020   709   DL0107   Owner Operator   Truck Payment                  CTMS - 245148 TRUCK RENTAL              500
      10/24/2020   709   DL0107   Owner Operator   Truck Payment                  CTMS - 245225 Baloon payoff           350.23
      10/24/2020   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      10/24/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.24
      10/24/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.38
      10/24/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.34
      10/24/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.76
      10/24/2020   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      10/24/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      10/24/2020   709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      10/24/2020   709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      10/24/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/24/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/24/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.91
      10/24/2020   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      10/24/2020   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      10/24/2020   709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                      9.84
      10/24/2020   709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      10/24/2020   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      10/24/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.81
      10/24/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.91
      10/24/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.22
      10/24/2020   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      10/24/2020   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/24/2020   709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      10/24/2020   709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      10/24/2020   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/24/2020   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/24/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.18
      10/24/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.71
      10/24/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.94
      10/24/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.99
      10/24/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.18
      10/24/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.3
      10/24/2020   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      10/24/2020   709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                13
      10/24/2020   709   DT0153   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                          292.2
      10/24/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.81
      10/24/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.35
      10/24/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.86
      10/24/2020   709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/24/2020   709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      10/24/2020   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/24/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/24/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/24/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.71
      10/24/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          341.8
      10/24/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         510.54

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      10/24/2020   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      10/24/2020   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      10/24/2020   709   EA0003   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    203.61
      10/24/2020   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      10/24/2020   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      10/24/2020   709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      10/24/2020   709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      10/24/2020   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                          1000
      10/24/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.85
      10/24/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.84
      10/24/2020   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      10/24/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      10/24/2020   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      10/24/2020   709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      10/24/2020   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/24/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/24/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/24/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/24/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/24/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.91
      10/24/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.99
      10/24/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.89
      10/24/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         188.81
      10/24/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.78
      10/24/2020   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      10/24/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      10/24/2020   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      10/24/2020   709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      10/24/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/24/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/24/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/24/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/24/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.98
      10/24/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          305.2
      10/24/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.94
      10/24/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.57
      10/24/2020   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      10/24/2020   709   FS0039   Owner Operator   Truck Payment                  CTMS - 245229 truck lease 3304        434.29
      10/24/2020   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/24/2020   709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      10/24/2020   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      10/24/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/24/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      10/24/2020   709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1200                      9.84
      10/24/2020   709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      10/24/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/24/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/24/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.26
      10/24/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.64
      10/24/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.78
      10/24/2020   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      10/24/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      10/24/2020   709   GA0051   Owner Operator   Truck Payment                  CTMS - 245197 Q1200 Lease             238.16
      10/24/2020   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      10/24/2020   709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                      9.84
      10/24/2020   709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      10/24/2020   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.8
      10/24/2020   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      10/24/2020   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      10/24/2020   709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                      9.84
      10/24/2020   709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      10/24/2020   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.57

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      10/24/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.11
      10/24/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.25
      10/24/2020   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      10/24/2020   709   GW0043   Owner Operator   Truck Payment                  CTMS - 245202 Q1109 Lease             302.85
      10/24/2020   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      10/24/2020   709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                     9.84
      10/24/2020   709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      10/24/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.62
      10/24/2020   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      10/24/2020   709   HC0023   Owner Operator   Truck Payment                  CTMS - 245229 Q13170                  352.68
      10/24/2020   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/24/2020   709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                      9.84
      10/24/2020   709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      10/24/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          490.4
      10/24/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.68
      10/24/2020   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      10/24/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/24/2020   709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      10/24/2020   709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      10/24/2020   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           400
      10/24/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.19
      10/24/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.08
      10/24/2020   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      10/24/2020   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      10/24/2020   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/24/2020   709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      10/24/2020   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.2
      10/24/2020   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.15
      10/24/2020   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      10/24/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/24/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/24/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      10/24/2020   709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      10/24/2020   709   JC0418   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.66
      10/24/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.53
      10/24/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.62
      10/24/2020   709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       44.12
      10/24/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      10/24/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.07
      10/24/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      10/24/2020   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/24/2020   709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                      9.84
      10/24/2020   709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      10/24/2020   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      10/24/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      10/24/2020   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/24/2020   709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                      9.84
      10/24/2020   709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      10/24/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/24/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/24/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.85
      10/24/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          185.1
      10/24/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.02
      10/24/2020   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      10/24/2020   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      10/24/2020   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/24/2020   709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                      9.84
      10/24/2020   709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      10/24/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/24/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1

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      10/24/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        413.96
      10/24/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        175.29
      10/24/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        423.49
      10/24/2020   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                     33.64
      10/24/2020   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/24/2020   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   76.2
      10/24/2020   709   JG0072   Owner Operator   Tire Purchase                  6502171356~BRIDGESTONE               229.31
      10/24/2020   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                     8.75
      10/24/2020   709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                     9.84
      10/24/2020   709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669               13
      10/24/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        348.16
      10/24/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        130.02
      10/24/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        300.19
      10/24/2020   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/24/2020   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      36.1
      10/24/2020   709   JG0092   Owner Operator   Truck Payment                  CTMS - 245148 TRUCK RENTAL             500
      10/24/2020   709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                  8.75
      10/24/2020   709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                13
      10/24/2020   709   JL0280   Owner Operator   ESCROW                         Weekly Escrow                            50
      10/24/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.1
      10/24/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.2
      10/24/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        261.48
      10/24/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        286.33
      10/24/2020   709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/24/2020   709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                  33.04
      10/24/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  8.75
      10/24/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                  8.75
      10/24/2020   709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK34637                     9.84
      10/24/2020   709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637               13
      10/24/2020   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        199.17
      10/24/2020   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.45
      10/24/2020   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/24/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                  20.06
      10/24/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                  16.05
      10/24/2020   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL            8.75
      10/24/2020   709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                     9.84
      10/24/2020   709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203               13
      10/24/2020   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/24/2020   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD            60.16
      10/24/2020   709   JR0099   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.5
      10/24/2020   709   JR0099   Owner Operator   T Chek Fee                     Towing Q1203                           450
      10/24/2020   709   JR0099   Owner Operator   Truck Payment                  CTMS - 245198 Balloon Payoff         234.05
      10/24/2020   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                      8.75
      10/24/2020   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75
      10/24/2020   709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                    9.84
      10/24/2020   709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159              13
      10/24/2020   709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159              13
      10/24/2020   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      10/24/2020   709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                          100
      10/24/2020   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        189.23
      10/24/2020   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        303.71
      10/24/2020   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        235.43
      10/24/2020   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        149.47
      10/24/2020   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.51
      10/24/2020   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      10/24/2020   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       38.5
      10/24/2020   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD           41.31
      10/24/2020   709   JS0265   Owner Operator   T Chek Fee                     Tractor Repair Q1263                 144.81
      10/24/2020   709   JS0265   Owner Operator   Truck Payment                  CTMS - 245039 Q13159 Lease            331.5
      10/24/2020   709   JS0265   Owner Operator   Truck Payment                  CTMS - 245196 Q13159 Lease            331.5
      10/24/2020   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                  8.75
      10/24/2020   709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914               13
      10/24/2020   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                          250
      10/24/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      10/24/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
      10/24/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      10/24/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
      10/24/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        200.01
      10/24/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         96.02
      10/24/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        237.51
      10/24/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        138.27
      10/24/2020   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                     33.64
      10/24/2020   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment        256.78

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      10/24/2020   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      10/24/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/24/2020   709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      10/24/2020   709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRK33483                      9.84
      10/24/2020   709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      10/24/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.04
      10/24/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.68
      10/24/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          373.3
      10/24/2020   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      10/24/2020   709   KT0055   Owner Operator   Toll Charges                   33483 BATA Carquinez Bridge               26
      10/24/2020   709   KT0055   Owner Operator   Toll Charges                   33483 BATA Carquinez Bridge               26
      10/24/2020   709   KT0055   Owner Operator   Truck Payment                  CTMS - 245166 33483 Lease 208         335.48
      10/24/2020   709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      10/24/2020   709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
      10/24/2020   709   KW0091   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      10/24/2020   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      10/24/2020   709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      10/24/2020   709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      10/24/2020   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      10/24/2020   709   LL0160   Owner Operator   Truck Payment                  CTMS - 245166 Balloon Pay off         200.15
      10/24/2020   709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      10/24/2020   709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      10/24/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.09
      10/24/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.06
      10/24/2020   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      10/24/2020   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/24/2020   709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      10/24/2020   709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      10/24/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.45
      10/24/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.23
      10/24/2020   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      10/24/2020   709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
      10/24/2020   709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
      10/24/2020   709   MC0207   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.11
      10/24/2020   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/24/2020   709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      10/24/2020   709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      10/24/2020   709   MD0122   Owner Operator   ESCROW                         Escrow Withdrawal                      -2000
      10/24/2020   709   MD0122   Owner Operator   ESCROW                         Weekly Escrow                           1250
      10/24/2020   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                             400
      10/24/2020   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      10/24/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          71.95
      10/24/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          90.79
      10/24/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.63
      10/24/2020   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      10/24/2020   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/24/2020   709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      10/24/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.94
      10/24/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.15
      10/24/2020   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      10/24/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/24/2020   709   MG0067   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     224.2
      10/24/2020   709   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL             8.75
      10/24/2020   709   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          35.35
      10/24/2020   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/24/2020   709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      10/24/2020   709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      10/24/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             300
      10/24/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/24/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.17
      10/24/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.44
      10/24/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          58.44
      10/24/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.77

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      10/24/2020   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      10/24/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/24/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      10/24/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/24/2020   709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      10/24/2020   709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      10/24/2020   709   PM0099   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.16
      10/24/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.22
      10/24/2020   709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      10/24/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      10/24/2020   709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      10/24/2020   709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/24/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/24/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/24/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/24/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/24/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/24/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          152.1
      10/24/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          278.2
      10/24/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.99
      10/24/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.43
      10/24/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.54
      10/24/2020   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      10/24/2020   709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
      10/24/2020   709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      10/24/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              40
      10/24/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      10/24/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         259.11
      10/24/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.55
      10/24/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.52
      10/24/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.09
      10/24/2020   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      10/24/2020   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/24/2020   709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      10/24/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.35
      10/24/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.14
      10/24/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         524.94
      10/24/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.01
      10/24/2020   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      10/24/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/24/2020   709   RC0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                       492
      10/24/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/24/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      10/24/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      10/24/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
      10/24/2020   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            300
      10/24/2020   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.47
      10/24/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      10/24/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 35037                        100
      10/24/2020   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      10/24/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
      10/24/2020   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      10/24/2020   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/24/2020   709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      10/24/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/24/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.21
      10/24/2020   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      10/24/2020   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      10/24/2020   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/24/2020   709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      10/24/2020   709   RL0180   Owner Operator   ESCROW                         Escrow Withdrawal                      -8000
      10/24/2020   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            400
      10/24/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.22

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      10/24/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.24
      10/24/2020   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      10/24/2020   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      10/24/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      10/24/2020   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      10/24/2020   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      10/24/2020   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      10/24/2020   709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      10/24/2020   709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      10/24/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.98
      10/24/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.19
      10/24/2020   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      10/24/2020   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      10/24/2020   709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      10/24/2020   709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      10/24/2020   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.18
      10/24/2020   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      10/24/2020   709   RP0082   Owner Operator   Truck Payment                  CTMS - 245145 Q1202 Balloon           234.05
      10/24/2020   709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      10/24/2020   709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRK33488                      9.84
      10/24/2020   709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      10/24/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.59
      10/24/2020   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      10/24/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 245166 33488 Lease $335        335.48
      10/24/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 245226 Past tractor ren          100
      10/24/2020   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      10/24/2020   709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      10/24/2020   709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      10/24/2020   709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                    -289.49
      10/24/2020   709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                    -178.15
      10/24/2020   709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                    -139.19
      10/24/2020   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      10/24/2020   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.97
      10/24/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.12
      10/24/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.73
      10/24/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.98
      10/24/2020   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      10/24/2020   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      10/24/2020   709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.76
      10/24/2020   709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                        2.87
      10/24/2020   709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                        1.38
      10/24/2020   709   SB0009   Owner Operator   T Chek Fee                     Tractor Repair 33236                  137.81
      10/24/2020   709   SB0009   Owner Operator   T Chek Fee                     Tractor Repair 33236                  286.62
      10/24/2020   709   SB0009   Owner Operator   T Chek Fee                     Tractor Repair 33236                  176.39
      10/24/2020   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         547.34
      10/24/2020   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/24/2020   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/24/2020   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/24/2020   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/24/2020   709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      10/24/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.11
      10/24/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.83
      10/24/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.36
      10/24/2020   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      10/24/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.31
      10/24/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      10/24/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      10/24/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/24/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/24/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/24/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/24/2020   709   SB0103   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     54.38

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      10/24/2020   709   SB0103   Owner Operator   Truck Payment                  CTMS - 244542 3303Truck Lease         133.15
      10/24/2020   709   SB0103   Owner Operator   Truck Payment                  CTMS - 244711 3303Truck Lease         133.15
      10/24/2020   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      10/24/2020   709   SM0109   Owner Operator   Broker Pre Pass                DriveWyze TRK33195                      9.84
      10/24/2020   709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      10/24/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           193
      10/24/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           351
      10/24/2020   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      10/24/2020   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      10/24/2020   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      10/24/2020   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/24/2020   709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.84
      10/24/2020   709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      10/24/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/24/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/24/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.94
      10/24/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.18
      10/24/2020   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      10/24/2020   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/24/2020   709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      10/24/2020   709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      10/24/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.66
      10/24/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           496
      10/24/2020   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      10/24/2020   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.11
      10/24/2020   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/24/2020   709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      10/24/2020   709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      10/24/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.36
      10/24/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.22
      10/24/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.43
      10/24/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.01
      10/24/2020   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      10/24/2020   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/24/2020   709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      10/24/2020   709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      10/24/2020   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      10/24/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      10/24/2020   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      10/24/2020   709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      10/24/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.16
      10/24/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.7
      10/24/2020   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      10/24/2020   709   WH0087   Owner Operator   Truck Payment                  CTMS - 245170 Q1238 Lease             311.97
      10/24/2020   742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      10/24/2020   742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      10/24/2020   742   BS0078   Owner Operator   Broker Pre Pass                34900 PrePass Device                    12.5
      10/24/2020   742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      10/24/2020   742   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      10/24/2020   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.14
      10/24/2020   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.3
      10/24/2020   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.05
      10/24/2020   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      10/24/2020   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      10/24/2020   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      10/24/2020   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      10/24/2020   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      10/24/2020   742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      10/24/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.46
      10/24/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          366.3
      10/24/2020   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/24/2020   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      10/24/2020   742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14
      10/24/2020   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/24/2020   742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      10/24/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            345
      10/24/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            219
      10/24/2020   742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      10/24/2020   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      10/24/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/24/2020   742   DA0067   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     186.9
      10/24/2020   742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                      9.84
      10/24/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      10/24/2020   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          31.37
      10/24/2020   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                            660
      10/24/2020   742   DS0254   Owner Operator   24 HOUR DISABILITY             L&H                                   754.87
      10/24/2020   742   DS0254   Owner Operator   BOBTAIL INS.                   33487 2016 Freightliner NTL            26.25
      10/24/2020   742   DS0254   Owner Operator   Broker Pay Void/Reissue        Debt on Acct-Dir Dep                  194.99
      10/24/2020   742   DS0254   Owner Operator   ESCROW                         Final Balance Refund                   -3000
      10/24/2020   742   DS0254   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          142.5
      10/24/2020   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD               218
      10/24/2020   742   DS0254   Owner Operator   PHYSICAL DAMAGE                33487 2016 Freightliner PD Ter           7.5
      10/24/2020   742   DS0254   Owner Operator   Tire Purchase                  Balance of 6500792573                   1656
      10/24/2020   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/24/2020   742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      10/24/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         472.06
      10/24/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.58
      10/24/2020   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
      10/24/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/24/2020   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      10/24/2020   742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                      9.84
      10/24/2020   742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      10/24/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.94
      10/24/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                            121
      10/24/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.54
      10/24/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.96
      10/24/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          69.45
      10/24/2020   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      10/24/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      10/24/2020   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - Cent             7
      10/24/2020   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      10/24/2020   742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      10/24/2020   742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      10/24/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      10/24/2020   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      10/24/2020   742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                      9.84
      10/24/2020   742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      10/24/2020   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                            399
      10/24/2020   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      10/24/2020   742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/24/2020   742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      10/24/2020   742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                             500
      10/24/2020   742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/24/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.67
      10/24/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         402.37
      10/24/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.95
      10/24/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.14
      10/24/2020   742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      10/24/2020   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/24/2020   742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      10/24/2020   742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      10/24/2020   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      10/24/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      10/24/2020   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75

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      10/24/2020   742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      10/24/2020   742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      10/24/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            150
      10/24/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      10/24/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          92.02
      10/24/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.41
      10/24/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.58
      10/24/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.36
      10/24/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.18
      10/24/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          65.68
      10/24/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.59
      10/24/2020   742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      10/24/2020   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      10/24/2020   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      10/24/2020   742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      10/24/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         115.65
      10/24/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.91
      10/24/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          192.4
      10/24/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           166
      10/24/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.25
      10/24/2020   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      10/24/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      10/24/2020   742   RN0054   Owner Operator   Truck Payment                  CTMS - 245198 Balloon Payoff          335.75
      10/24/2020   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      10/24/2020   742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK35030                      9.84
      10/24/2020   742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                13
      10/24/2020   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.74
      10/24/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.55
      10/24/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.06
      10/24/2020   742   RS0342   Owner Operator   IRP License Deduction          LCIL:2020 - 35030                       100
      10/24/2020   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     147.03
      10/24/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      10/24/2020   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/24/2020   742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      10/24/2020   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      10/24/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      10/24/2020   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      10/24/2020   742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                      9.84
      10/24/2020   742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
      10/24/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.07
      10/24/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.65
      10/24/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.38
      10/24/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.42
      10/24/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.69
      10/24/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.75
      10/24/2020   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      10/24/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      10/24/2020   742   TC0098   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                      135
      10/24/2020   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL 95th St.                    5.1
      10/24/2020   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Aurora                      6.8
      10/24/2020   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Dixon                     16.15
      10/24/2020   742   TC0098   Owner Operator   Toll Charges                   33489 WVPEDTA Chelyan                   13.5
      10/24/2020   742   TC0098   Owner Operator   Toll Charges                   33489 WVPEDTA Pax                       13.5
      10/24/2020   742   TC0098   Owner Operator   Truck Payment                  CTMS - 245202 33489 Lease Paym        412.16
      10/24/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                 8.75
      10/24/2020   783   AJ0066   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.18
      10/24/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      10/24/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                   8.75
      10/24/2020   783   CH0168   Owner Operator   Communication Charge           Safety Tech Hardware 35066                13
      10/24/2020   783   CH0168   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                          352.6
      10/24/2020   783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.37
      10/24/2020   783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                   72.19
      10/24/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism           2.5

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      10/24/2020   783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      10/24/2020   783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                13
      10/24/2020   783   DS0317   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.05
      10/24/2020   783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
      10/24/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      10/24/2020   783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      10/24/2020   783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
      10/24/2020   783   GR0095   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.93
      10/24/2020   783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
      10/24/2020   783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      10/24/2020   783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                13
      10/24/2020   783   HP0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.61
      10/24/2020   783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
      10/24/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      10/24/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
      10/24/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
      10/24/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
      10/24/2020   783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061                13
      10/24/2020   783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061                13
      10/24/2020   783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.73
      10/24/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.31
      10/24/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.25
      10/24/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      10/24/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.66
      10/24/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.95
      10/24/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.05
      10/24/2020   783   JL0281   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   JL0281   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   JL0281   Owner Operator   Permits                        IL02:2020 - 35061                       3.75
      10/24/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.14
      10/24/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.16
      10/24/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.16
      10/24/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
      10/24/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
      10/24/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
      10/24/2020   783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      10/24/2020   783   MA0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                          466.4
      10/24/2020   783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
      10/24/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      10/24/2020   783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/24/2020   783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
      10/24/2020   783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.18
      10/24/2020   783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
      10/24/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/24/2020   783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      10/24/2020   783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
      10/24/2020   783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/24/2020   783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/24/2020   783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.92
      10/24/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.32
      10/24/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.24
      10/24/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.23
      10/24/2020   783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
      10/24/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      10/24/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   2016 Western Star NTL                   8.75

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      10/24/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75
      10/24/2020   783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 35086                13
      10/24/2020   783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 86756                13
      10/24/2020   783   OJ0010   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.32
      10/24/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.48
      10/24/2020   783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD                   40.07
      10/24/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD Terrorism           2.5
      10/24/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.38
      10/24/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
      10/24/2020   783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      10/24/2020   783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
      10/24/2020   783   RC0294   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.57
      10/24/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.51
      10/24/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.34
      10/24/2020   783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      10/24/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      10/24/2020   783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      10/24/2020   783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      10/24/2020   783   RD0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.97
      10/24/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.29
      10/24/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.65
      10/24/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.38
      10/24/2020   783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
      10/24/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      10/24/2020   783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      10/24/2020   783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
      10/24/2020   783   RM0340   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.44
      10/24/2020   783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      10/24/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
      10/24/2020   783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      10/24/2020   783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
      10/24/2020   783   RS0377   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/24/2020   783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/24/2020   783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/24/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.36
      10/24/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                          81.73
      10/24/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                          149.7
      10/24/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.93
      10/24/2020   783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/24/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
      10/24/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      10/31/2020   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      10/31/2020   709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      10/31/2020   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/31/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.48
      10/31/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.65
      10/31/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.94
      10/31/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.43
      10/31/2020   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            36.88
      10/31/2020   709   AC0061   Owner Operator   Truck Payment                  CTMS - 245410 Q13148 Trac Leas        296.09
      10/31/2020   709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      10/31/2020   709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
      10/31/2020   709   AC0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.05
      10/31/2020   709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      10/31/2020   709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      10/31/2020   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         354.79
      10/31/2020   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.05
      10/31/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      10/31/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 245304 TRUCK RENTAL              350

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      10/31/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 245358 truck 32781 Leas        225.29
      10/31/2020   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      10/31/2020   709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      10/31/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.12
      10/31/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.04
      10/31/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.73
      10/31/2020   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            36.07
      10/31/2020   709   AR0064   Owner Operator   Truck Payment                  CTMS - 245411 Baloon Q13147           357.62
      10/31/2020   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      10/31/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           63.1
      10/31/2020   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            36.07
      10/31/2020   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      10/31/2020   709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      10/31/2020   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      10/31/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      10/31/2020   709   BM0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    111.72
      10/31/2020   709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
      10/31/2020   709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
      10/31/2020   709   BR0082   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          128.1
      10/31/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.91
      10/31/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.94
      10/31/2020   709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.09
      10/31/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
      10/31/2020   709   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      10/31/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.62
      10/31/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.43
      10/31/2020   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      10/31/2020   709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      10/31/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      10/31/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      10/31/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.35
      10/31/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.47
      10/31/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.18
      10/31/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.51
      10/31/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.37
      10/31/2020   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            36.07
      10/31/2020   709   CC0134   Owner Operator   Tire Purchase                  GY 0084332631 s/u 10/31/20             96.88
      10/31/2020   709   CC0134   Owner Operator   Truck Payment                  CTMS - 245332 Q13168 sub lease        352.68
      10/31/2020   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/31/2020   709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      10/31/2020   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.92
      10/31/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.44
      10/31/2020   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      10/31/2020   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.04
      10/31/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/31/2020   709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      10/31/2020   709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      10/31/2020   709   CM0224   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/31/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/31/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         520.65
      10/31/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         505.32
      10/31/2020   709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.02
      10/31/2020   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      10/31/2020   709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      10/31/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.02
      10/31/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.44

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      10/31/2020   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.87
      10/31/2020   709   CR0064   Owner Operator   Truck Payment                  CTMS - 245354 Q1247 Sub Lease         263.91
      10/31/2020   709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      10/31/2020   709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      10/31/2020   709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.76
      10/31/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.86
      10/31/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.17
      10/31/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.04
      10/31/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.27
      10/31/2020   709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.17
      10/31/2020   709   CV0028   Owner Operator   Truck Payment                  CTMS - 245327 Lease Truck 3348        335.96
      10/31/2020   709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      10/31/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.75
      10/31/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.41
      10/31/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.46
      10/31/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          143.9
      10/31/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.52
      10/31/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.22
      10/31/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.4
      10/31/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          231.5
      10/31/2020   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.04
      10/31/2020   709   DL0029   Owner Operator   Truck Payment                  CTMS - 245328 Q13199 Lease            193.11
      10/31/2020   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      10/31/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.29
      10/31/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.11
      10/31/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.25
      10/31/2020   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.16
      10/31/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      10/31/2020   709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      10/31/2020   709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      10/31/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/31/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/31/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.62
      10/31/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.99
      10/31/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.58
      10/31/2020   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  114.69
      10/31/2020   709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      10/31/2020   709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/31/2020   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      10/31/2020   709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      10/31/2020   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      10/31/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.43
      10/31/2020   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.09
      10/31/2020   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      10/31/2020   709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      10/31/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.32
      10/31/2020   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.11
      10/31/2020   709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                13
      10/31/2020   709   DT0153   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/31/2020   709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      10/31/2020   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/31/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          442.4
      10/31/2020   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      10/31/2020   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      10/31/2020   709   EA0003   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    203.61
      10/31/2020   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      10/31/2020   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      10/31/2020   709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      10/31/2020   709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                          1000
      10/31/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.69

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      10/31/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.4
      10/31/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          382.8
      10/31/2020   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.11
      10/31/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      10/31/2020   709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/31/2020   709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/31/2020   709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/31/2020   709   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      10/31/2020   709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      10/31/2020   709   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.23
      10/31/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         334.57
      10/31/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.16
      10/31/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.74
      10/31/2020   709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      10/31/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      10/31/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      10/31/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/31/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/31/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/31/2020   709   EN0016   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    198.35
      10/31/2020   709   EN0016   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    198.35
      10/31/2020   709   EN0016   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    198.35
      10/31/2020   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      10/31/2020   709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      10/31/2020   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/31/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.23
      10/31/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.08
      10/31/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.74
      10/31/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           211
      10/31/2020   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 80.2
      10/31/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      10/31/2020   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      10/31/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.78
      10/31/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.64
      10/31/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.55
      10/31/2020   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.91
      10/31/2020   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/31/2020   709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      10/31/2020   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.11
      10/31/2020   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         421.97
      10/31/2020   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.09
      10/31/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/31/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      10/31/2020   709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      10/31/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            400
      10/31/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      10/31/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.86
      10/31/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                           248
      10/31/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.66
      10/31/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.85
      10/31/2020   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.04
      10/31/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.67
      10/31/2020   709   GA0051   Owner Operator   Truck Payment                  CTMS - 245355 Q1200 Lease             238.16
      10/31/2020   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      10/31/2020   709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      10/31/2020   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.97
      10/31/2020   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      10/31/2020   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.09
      10/31/2020   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      10/31/2020   709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      10/31/2020   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   GW0043   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.39
      10/31/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                              5
      10/31/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.38
      10/31/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.03
      10/31/2020   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      10/31/2020   709   GW0043   Owner Operator   Truck Payment                  CTMS - 245360 Q1109 Lease             302.85
      10/31/2020   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      10/31/2020   709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      10/31/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          413.7
      10/31/2020   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            36.07
      10/31/2020   709   HC0023   Owner Operator   Truck Payment                  CTMS - 245387 Q13170                  352.68
      10/31/2020   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/31/2020   709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      10/31/2020   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.14
      10/31/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.82
      10/31/2020   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.64
      10/31/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      10/31/2020   709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      10/31/2020   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           400
      10/31/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.8
      10/31/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.69
      10/31/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.08
      10/31/2020   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    52.7
      10/31/2020   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.34
      10/31/2020   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/31/2020   709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      10/31/2020   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.39
      10/31/2020   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.08
      10/31/2020   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.07
      10/31/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/31/2020   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      10/31/2020   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.96
      10/31/2020   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      10/31/2020   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      10/31/2020   709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      10/31/2020   709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      10/31/2020   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      10/31/2020   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      10/31/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.41
      10/31/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.42
      10/31/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.22
      10/31/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.44
      10/31/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.8
      10/31/2020   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      10/31/2020   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.11
      10/31/2020   709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL Route 80 (East)            5.1
      10/31/2020   709   JC0292   Owner Operator   Truck Payment                  CTMS - 245202 Q13197 Lease            276.63

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      10/31/2020   709   JC0292   Owner Operator   Truck Payment                  CTMS - 245360 Q13197 Lease            276.63
      10/31/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/31/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      10/31/2020   709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      10/31/2020   709   JC0418   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                          349.1
      10/31/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.44
      10/31/2020   709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        44.1
      10/31/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      10/31/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.04
      10/31/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      10/31/2020   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      10/31/2020   709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      10/31/2020   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      10/31/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      10/31/2020   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/31/2020   709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      10/31/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      10/31/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/31/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.16
      10/31/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.53
      10/31/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.89
      10/31/2020   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      10/31/2020   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      10/31/2020   709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      10/31/2020   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/31/2020   709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      10/31/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.21
      10/31/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         439.35
      10/31/2020   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      10/31/2020   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   76.19
      10/31/2020   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/31/2020   709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                13
      10/31/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.09
      10/31/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.46
      10/31/2020   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      36.07
      10/31/2020   709   JG0092   Owner Operator   Truck Payment                  CTMS - 245304 TRUCK RENTAL              500
      10/31/2020   709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                   8.75
      10/31/2020   709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                 13
      10/31/2020   709   JL0280   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.21
      10/31/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.37
      10/31/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.29
      10/31/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.56
      10/31/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.41
      10/31/2020   709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                   33.02
      10/31/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      10/31/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/31/2020   709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                13
      10/31/2020   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.93
      10/31/2020   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.03
      10/31/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.02
      10/31/2020   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      10/31/2020   709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      10/31/2020   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.14
      10/31/2020   709   JR0099   Owner Operator   Truck Payment                  CTMS - 245356 Balloon Payoff          234.05
      10/31/2020   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      10/31/2020   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      10/31/2020   709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159               13
      10/31/2020   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2

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      10/31/2020   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          185.4
      10/31/2020   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.55
      10/31/2020   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      10/31/2020   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD             41.3
      10/31/2020   709   JS0265   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     93.67
      10/31/2020   709   JS0265   Owner Operator   Truck Payment                  CTMS - 245354 Q13159 Lease             331.5
      10/31/2020   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/31/2020   709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      10/31/2020   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           250
      10/31/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           160
      10/31/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           244
      10/31/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.01
      10/31/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           144
      10/31/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             90
      10/31/2020   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      10/31/2020   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
      10/31/2020   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      10/31/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/31/2020   709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      10/31/2020   709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      10/31/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.04
      10/31/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.38
      10/31/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.55
      10/31/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                           45.4
      10/31/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.31
      10/31/2020   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.13
      10/31/2020   709   KT0055   Owner Operator   Toll Charges                   33483 ILTOLL Irving Park                 6.8
      10/31/2020   709   KT0055   Owner Operator   Toll Charges                   33483 ILTOLL Waukegan                  12.75
      10/31/2020   709   KT0055   Owner Operator   Truck Payment                  CTMS - 245327 33483 Lease 208         335.48
      10/31/2020   709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      10/31/2020   709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
      10/31/2020   709   KW0091   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      10/31/2020   709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      10/31/2020   709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      10/31/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         446.55
      10/31/2020   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.53
      10/31/2020   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      10/31/2020   709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      10/31/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.46
      10/31/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.43
      10/31/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          32.72
      10/31/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.97
      10/31/2020   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.77
      10/31/2020   709   MA0092   Owner Operator   Toll Charges                   34005 E470 PLAZA A                       4.3
      10/31/2020   709   MA0092   Owner Operator   Toll Charges                   34005 E470 PLAZA B                      4.65
      10/31/2020   709   MA0092   Owner Operator   Toll Charges                   34005 E470 PLAZA D                      4.65
      10/31/2020   709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
      10/31/2020   709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
      10/31/2020   709   MC0207   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.09
      10/31/2020   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      10/31/2020   709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      10/31/2020   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.18
      10/31/2020   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.95
      10/31/2020   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      10/31/2020   709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13

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      10/31/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.83
      10/31/2020   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          36.07
      10/31/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      10/31/2020   709   MG0067   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     224.2
      10/31/2020   709   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           20.4
      10/31/2020   709   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD             16.05
      10/31/2020   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      10/31/2020   709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      10/31/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                              60
      10/31/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            400
      10/31/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      10/31/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      10/31/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.77
      10/31/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.9
      10/31/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.2
      10/31/2020   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      10/31/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      10/31/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      10/31/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      10/31/2020   709   OJ0007   Owner Operator   *Arrears Collection W/O        WO:DriveWyze TRK34370                  -9.84
      10/31/2020   709   OJ0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34370                      9.84
      10/31/2020   709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      10/31/2020   709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      10/31/2020   709   PM0099   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance                              50
      10/31/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      10/31/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.72
      10/31/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.05
      10/31/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.95
      10/31/2020   709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      10/31/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      10/31/2020   709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      10/31/2020   709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.18
      10/31/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.84
      10/31/2020   709   PY0003   Owner Operator   IRP License Deduction          LCIL:2020 - 35043                       100
      10/31/2020   709   PY0003   Owner Operator   Permits                        IL02:2020 - 35043                       3.75
      10/31/2020   709   PY0003   Owner Operator   Permits                        NM07:2020 - 35043                      11.55
      10/31/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.54
      10/31/2020   709   PY0003   Owner Operator   T Chek Fee                     ExpressCheck Fee                       28.33
      10/31/2020   709   PY0003   Owner Operator   T Chek Fee                     ExpressCheck Fee                       15.13
      10/31/2020   709   PY0003   Owner Operator   T Chek Fee                     Towing 35043                          1512.5
      10/31/2020   709   PY0003   Owner Operator   T Chek Fee                     Tractor Repair 35043                  2832.9
      10/31/2020   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      10/31/2020   709   RB0170   Owner Operator   Charge back by affiliate       CTMS - 245425 HVUT Form 2290           137.5
      10/31/2020   709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      10/31/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      10/31/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      10/31/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.48
      10/31/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.05
      10/31/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.52
      10/31/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.08
      10/31/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.13
      10/31/2020   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.09
      10/31/2020   709   RB0170   Owner Operator   Truck Payment                  CTMS - 245381 Q1241 Truck leas        321.84
      10/31/2020   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/31/2020   709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      10/31/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.73
      10/31/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.88
      10/31/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.44
      10/31/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.44
      10/31/2020   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      10/31/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5

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      10/31/2020   709   RC0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                       492
      10/31/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      10/31/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                        8.75
      10/31/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                 13
      10/31/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                 13
      10/31/2020   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            300
      10/31/2020   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          529.61
      10/31/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                       33.64
      10/31/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 35037                        100
      10/31/2020   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/31/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    79.26
      10/31/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                       155.05
      10/31/2020   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                          501.67
      10/31/2020   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      10/31/2020   709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                 13
      10/31/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/31/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/31/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/31/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/31/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          394.55
      10/31/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          389.51
      10/31/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                           48.03
      10/31/2020   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                       33.64
      10/31/2020   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/31/2020   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    95.62
      10/31/2020   709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      10/31/2020   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      10/31/2020   709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                 13
      10/31/2020   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            400
      10/31/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           63.06
      10/31/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           454.1
      10/31/2020   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                       33.64
      10/31/2020   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/31/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                     52.7
      10/31/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism            2.5
      10/31/2020   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                          350.65
      10/31/2020   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                     28.46
      10/31/2020   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                        8.75
      10/31/2020   709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                 13
      10/31/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.25
      10/31/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          313.07
      10/31/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          235.88
      10/31/2020   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/31/2020   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        32.06
      10/31/2020   709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      10/31/2020   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
      10/31/2020   709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                 13
      10/31/2020   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          422.48
      10/31/2020   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/31/2020   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              60.14
      10/31/2020   709   RP0082   Owner Operator   Truck Payment                  CTMS - 245302 Q1202 Balloon            234.05
      10/31/2020   709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL              8.75
      10/31/2020   709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                 13
      10/31/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      10/31/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      10/31/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          232.38
      10/31/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          326.58
      10/31/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          265.03
      10/31/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          321.57
      10/31/2020   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      10/31/2020   709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD              56.13
      10/31/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 245328 33488 Lease $335         335.48
      10/31/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 245384 Past tractor ren           100
      10/31/2020   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                    8.75
      10/31/2020   709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                 13
      10/31/2020   709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                    -1770.25
      10/31/2020   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      10/31/2020   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      10/31/2020   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      10/31/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          212.29
      10/31/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          180.84
      10/31/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           195.6
      10/31/2020   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                       33.64

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      10/31/2020   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.65
      10/31/2020   709   SB0009   Owner Operator   Repair Order                   CTMS - 245336 REPAIRS                   210
      10/31/2020   709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                       17.53
      10/31/2020   709   SB0009   Owner Operator   T Chek Fee                     Tractor Repair 33236                 1752.72
      10/31/2020   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         547.34
      10/31/2020   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      10/31/2020   709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
      10/31/2020   709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
      10/31/2020   709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      10/31/2020   709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      10/31/2020   709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      10/31/2020   709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      10/31/2020   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/31/2020   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/31/2020   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      10/31/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.39
      10/31/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.01
      10/31/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.75
      10/31/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.26
      10/31/2020   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.31
      10/31/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      10/31/2020   709   SB0103   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    209.57
      10/31/2020   709   SB0103   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    209.57
      10/31/2020   709   SB0103   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    209.57
      10/31/2020   709   SB0103   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    209.53
      10/31/2020   709   SB0103   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    155.19
      10/31/2020   709   SB0103   Owner Operator   Truck Payment                  CTMS - 245384 3303Truck Lease         133.15
      10/31/2020   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      10/31/2020   709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      10/31/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           262
      10/31/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           237
      10/31/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
      10/31/2020   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      10/31/2020   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             76.19
      10/31/2020   709   SM0109   Owner Operator   Tire Purchase                  008840~MICHELIN NORTH AMERICA         272.72
      10/31/2020   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      10/31/2020   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      10/31/2020   709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      10/31/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.44
      10/31/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.04
      10/31/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.18
      10/31/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.17
      10/31/2020   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    44.1
      10/31/2020   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      10/31/2020   709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      10/31/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.93
      10/31/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           184
      10/31/2020   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      10/31/2020   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.08
      10/31/2020   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/31/2020   709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      10/31/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.31
      10/31/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.5
      10/31/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.27
      10/31/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.41
      10/31/2020   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      10/31/2020   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      10/31/2020   709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      10/31/2020   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      10/31/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5

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      10/31/2020   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      10/31/2020   709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      10/31/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      10/31/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      10/31/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.12
      10/31/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.97
      10/31/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.06
      10/31/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.84
      10/31/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.87
      10/31/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.38
      10/31/2020   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      10/31/2020   709   WH0087   Owner Operator   Truck Payment                  CTMS - 245332 Q1238 Lease             311.97
      10/31/2020   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      10/31/2020   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      10/31/2020   742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      10/31/2020   742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      10/31/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      10/31/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      10/31/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.93
      10/31/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.68
      10/31/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.97
      10/31/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.55
      10/31/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.16
      10/31/2020   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      10/31/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      10/31/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      10/31/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      10/31/2020   742   AP0047   Owner Operator   Toll Charges                   32604 HCTRA Hardy South - Gree             4
      10/31/2020   742   AP0047   Owner Operator   Toll Charges                   32604 HCTRA Hardy South Airpor             5
      10/31/2020   742   AP0047   Owner Operator   Toll Charges                   32604 HCTRA Sam Houston - Cent             7
      10/31/2020   742   AP0047   Owner Operator   Toll Charges                   32604 HCTRA Sam Houston - Nort             7
      10/31/2020   742   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      10/31/2020   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.67
      10/31/2020   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.72
      10/31/2020   742   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.37
      10/31/2020   742   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  113.48
      10/31/2020   742   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      10/31/2020   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      10/31/2020   742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      10/31/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          447.8
      10/31/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.86
      10/31/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.37
      10/31/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.28
      10/31/2020   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.18
      10/31/2020   742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.13
      10/31/2020   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      10/31/2020   742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      10/31/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           355
      10/31/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           327
      10/31/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           350
      10/31/2020   742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      10/31/2020   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.18
      10/31/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      10/31/2020   742   DA0067   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     186.9
      10/31/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      10/31/2020   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.08
      10/31/2020   742   DC0117   Owner Operator   Toll Charges                   34063 BATA Antioch Bridge                 26
      10/31/2020   742   DS0254   Owner Operator   *Arrears Collection W/O        WO:Balance of 6500792573             -375.25
      10/31/2020   742   DS0254   Owner Operator   Tire Purchase                  Balance of 6500792573                 375.25
      10/31/2020   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      10/31/2020   742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      10/31/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.15
      10/31/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.31

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      10/31/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.77
      10/31/2020   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.04
      10/31/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      10/31/2020   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      10/31/2020   742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      10/31/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.91
      10/31/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.17
      10/31/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          152.6
      10/31/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          324.6
      10/31/2020   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.05
      10/31/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      10/31/2020   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      10/31/2020   742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      10/31/2020   742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.04
      10/31/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      10/31/2020   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      10/31/2020   742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      10/31/2020   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         468.01
      10/31/2020   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.04
      10/31/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          372.5
      10/31/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          127.5
      10/31/2020   742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      10/31/2020   742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      10/31/2020   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                   60.1
      10/31/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      10/31/2020   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      10/31/2020   742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      10/31/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            150
      10/31/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      10/31/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.29
      10/31/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          70.19
      10/31/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.01
      10/31/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.89
      10/31/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.14
      10/31/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.95
      10/31/2020   742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      10/31/2020   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.52
      10/31/2020   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      10/31/2020   742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      10/31/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.1
      10/31/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          241.1
      10/31/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.04
      10/31/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.63
      10/31/2020   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            36.07
      10/31/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      10/31/2020   742   RN0054   Owner Operator   Truck Payment                  CTMS - 245357 Balloon Payoff          335.75
      10/31/2020   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      10/31/2020   742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                13
      10/31/2020   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          106.6
      10/31/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.07
      10/31/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.45
      10/31/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.26
      10/31/2020   742   RS0342   Owner Operator   IRP License Deduction          LCIL:2020 - 35030                       100
      10/31/2020   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                       147
      10/31/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      10/31/2020   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      10/31/2020   742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      10/31/2020   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.14
      10/31/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      10/31/2020   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
      10/31/2020   742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13

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      10/31/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.02
      10/31/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.73
      10/31/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.18
      10/31/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.59
      10/31/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.52
      10/31/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.51
      10/31/2020   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
      10/31/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
      10/31/2020   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL I-57/147th St (Il           6.8
      10/31/2020   742   TC0098   Owner Operator   Truck Payment                  CTMS - 245360 33489 Lease Paym        412.16
      10/31/2020   781   MM0054   Owner Operator   Accident Claim                 10/25/20 MM0054 Incident              163.65
      10/31/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                 8.75
      10/31/2020   783   AJ0066   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.17
      10/31/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      10/31/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                   8.75
      10/31/2020   783   CH0168   Owner Operator   Communication Charge           Safety Tech Hardware 35066                13
      10/31/2020   783   CH0168   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                          387.5
      10/31/2020   783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.01
      10/31/2020   783   CH0168   Owner Operator   IRP License Deduction          LCIL:2020 - 35066                       100
      10/31/2020   783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   CH0168   Owner Operator   Permits                        IL02:2020 - 35066                       3.75
      10/31/2020   783   CH0168   Owner Operator   Permits                        NM07:2020 - 35066                      11.55
      10/31/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                   72.18
      10/31/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism           2.5
      10/31/2020   783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      10/31/2020   783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                13
      10/31/2020   783   DS0317   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.31
      10/31/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      10/31/2020   783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      10/31/2020   783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
      10/31/2020   783   GR0095   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                          243.2
      10/31/2020   783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.02
      10/31/2020   783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      10/31/2020   783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                13
      10/31/2020   783   HP0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.4
      10/31/2020   783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.06
      10/31/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      10/31/2020   783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/31/2020   783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      10/31/2020   783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 35032                13
      10/31/2020   783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 35032                13
      10/31/2020   783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 86919                13
      10/31/2020   783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 86919                13
      10/31/2020   783   JK0157   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   JK0157   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                           153
      10/31/2020   783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                          34.64
      10/31/2020   783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.23
      10/31/2020   783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.08
      10/31/2020   783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.88
      10/31/2020   783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         363.23
      10/31/2020   783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                          220.3
      10/31/2020   783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                          35.87
      10/31/2020   783   JK0157   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   JK0157   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       41.71
      10/31/2020   783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        41.7
      10/31/2020   783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      10/31/2020   783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      10/31/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
      10/31/2020   783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061                13
      10/31/2020   783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   JL0281   Owner Operator   Fuel Card Advances             Cash Advance                            500

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      10/31/2020   783   JL0281   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      10/31/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.9
      10/31/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                           225
      10/31/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.81
      10/31/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.95
      10/31/2020   783   JL0281   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.14
      10/31/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
      10/31/2020   783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      10/31/2020   783   MA0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           295
      10/31/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.25
      10/31/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.25
      10/31/2020   783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.02
      10/31/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      10/31/2020   783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      10/31/2020   783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
      10/31/2020   783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                          507.8
      10/31/2020   783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.16
      10/31/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      10/31/2020   783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      10/31/2020   783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
      10/31/2020   783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.77
      10/31/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          53.49
      10/31/2020   783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.81
      10/31/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      10/31/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   2016 Western Star NTL                   8.75
      10/31/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   6756 2009 Kenworth NTL                  8.75
      10/31/2020   783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 35086                13
      10/31/2020   783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 86756                13
      10/31/2020   783   OJ0010   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.43
      10/31/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         316.53
      10/31/2020   783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD                   40.05
      10/31/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD Terrorism           2.5
      10/31/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD                  14.36
      10/31/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                6756 2009 Kenworth PD Terroris           2.5
      10/31/2020   783   OJ0010   Owner Operator   Toll Charges                   35086 BATA Antioch Bridge                 26
      10/31/2020   783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      10/31/2020   783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
      10/31/2020   783   RC0294   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.83
      10/31/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.46
      10/31/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.45
      10/31/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.49
      10/31/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                           206
      10/31/2020   783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      10/31/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      10/31/2020   783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      10/31/2020   783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      10/31/2020   783   RD0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.83
      10/31/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          263.1
      10/31/2020   783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.09
      10/31/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      10/31/2020   783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      10/31/2020   783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
      10/31/2020   783   RM0340   Owner Operator   ESCROW                         Weekly Escrow                             50
      10/31/2020   783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.42
      10/31/2020   783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      10/31/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
      10/31/2020   783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      10/31/2020   783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
      10/31/2020   783   RS0377   Owner Operator   ESCROW                         Weekly Escrow                             50

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      10/31/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.99
      10/31/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.86
      10/31/2020   783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      10/31/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.09
      10/31/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
       11/7/2020   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       11/7/2020   709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
       11/7/2020   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
       11/7/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.84
       11/7/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.24
       11/7/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.12
       11/7/2020   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/7/2020   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
       11/7/2020   709   AC0061   Owner Operator   Truck Payment                  CTMS - 245572 Q13148 Trac Leas        296.09
       11/7/2020   709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
       11/7/2020   709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
       11/7/2020   709   AC0122   Owner Operator   ESCROW                         Weekly Escrow                             50
       11/7/2020   709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/7/2020   709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
       11/7/2020   709   AG0116   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       11/7/2020   709   AG0116   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.09
       11/7/2020   709   AG0116   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
       11/7/2020   709   AG0116   Owner Operator   T Chek Fee                     School Checks (Corp)                  259.16
       11/7/2020   709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
       11/7/2020   709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
       11/7/2020   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         354.79
       11/7/2020   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/7/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
       11/7/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
       11/7/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 245461 TRUCK RENTAL              350
       11/7/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 245516 truck 32781 Leas        225.29
       11/7/2020   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       11/7/2020   709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
       11/7/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.78
       11/7/2020   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/7/2020   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
       11/7/2020   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.31
       11/7/2020   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
       11/7/2020   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       11/7/2020   709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
       11/7/2020   709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
       11/7/2020   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
       11/7/2020   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       11/7/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          54.86
       11/7/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.07
       11/7/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.05
       11/7/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.01
       11/7/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             60
       11/7/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.17
       11/7/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.72
       11/7/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.82
       11/7/2020   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/7/2020   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
       11/7/2020   709   AV0021   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    175.96
       11/7/2020   709   AV0021   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    175.96
       11/7/2020   709   AV0021   Owner Operator   Truck Payment                  CTMS - 245387 Q13169 Sublease         352.68
       11/7/2020   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       11/7/2020   709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
       11/7/2020   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/7/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
       11/7/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       11/7/2020   709   BM0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    111.72
       11/7/2020   709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
       11/7/2020   709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
       11/7/2020   709   BR0082   Owner Operator   ESCROW                         Weekly Escrow                             50
       11/7/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.99
       11/7/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.34
       11/7/2020   709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/7/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.11
       11/7/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
       11/7/2020   709   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
       11/7/2020   709   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
       11/7/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.73

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      11/7/2020    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.56
      11/7/2020    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.77
      11/7/2020    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.53
      11/7/2020    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.21
      11/7/2020    709   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      11/7/2020    709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      11/7/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      11/7/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      11/7/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/7/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/7/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.98
      11/7/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.33
      11/7/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.75
      11/7/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      11/7/2020    709   CC0134   Owner Operator   Tire Purchase                  GY 0084332631 s/u 10/31/20             96.88
      11/7/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 245493 Q13168 sub lease        352.68
      11/7/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      11/7/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/7/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/7/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         347.29
      11/7/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         500.68
      11/7/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      11/7/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      11/7/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/7/2020    709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      11/7/2020    709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      11/7/2020    709   CM0224   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/7/2020    709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/7/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.35
      11/7/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         553.29
      11/7/2020    709   CM0224   Owner Operator   IRP License Deduction          LCIL:2020 - 8968                        100
      11/7/2020    709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   CM0224   Owner Operator   Permits                        NM07:2020 - 8968                       11.55
      11/7/2020    709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.05
      11/7/2020    709   CR0064   Owner Operator   Accident Claim                 10/30/20 CR0064 Incident                300
      11/7/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      11/7/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      11/7/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/7/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/7/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/7/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/7/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/7/2020    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/7/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         107.94
      11/7/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.79
      11/7/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.67
      11/7/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.36
      11/7/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.36
      11/7/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.74
      11/7/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      11/7/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 245512 Q1247 Sub Lease         263.91
      11/7/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      11/7/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      11/7/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.32
      11/7/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.04
      11/7/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.06
      11/7/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.42
      11/7/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      11/7/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 245488 Lease Truck 3348        335.96
      11/7/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      11/7/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.33
      11/7/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.04
      11/7/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.14
      11/7/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.36
      11/7/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.73

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      11/7/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.07
      11/7/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 245489 Q13199 Lease            103.85
      11/7/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/7/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/7/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      11/7/2020    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      11/7/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.93
      11/7/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           97.7
      11/7/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           356
      11/7/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.92
      11/7/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.33
      11/7/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.45
      11/7/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      11/7/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 245304 TRUCK RENTAL              500
      11/7/2020    709   DL0107   Owner Operator   Truck Payment                  CTMS - 245383 Baloon payoff           350.23
      11/7/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      11/7/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.69
      11/7/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.46
      11/7/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.34
      11/7/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.64
      11/7/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      11/7/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      11/7/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      11/7/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      11/7/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/7/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/7/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.76
      11/7/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.85
      11/7/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      11/7/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      11/7/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      11/7/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      11/7/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      11/7/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.75
      11/7/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      11/7/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/7/2020    709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      11/7/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/7/2020    709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/7/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          94.81
      11/7/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         260.77
      11/7/2020    709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.04
      11/7/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      11/7/2020    709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                13
      11/7/2020    709   DT0153   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         110.51
      11/7/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.53
      11/7/2020    709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   EA0003   Owner Operator   Accident Claim                 11/02/20 EA0003 Incident               1000
      11/7/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      11/7/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/7/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/7/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/7/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/7/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/7/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.49
      11/7/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.13
      11/7/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      11/7/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      11/7/2020    709   EA0003   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    203.61
      11/7/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      11/7/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      11/7/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      11/7/2020    709   EG0062   Owner Operator   ESCROW                         Weekly Escrow                          1000

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      11/7/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.06
      11/7/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      11/7/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/7/2020    709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      11/7/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.08
      11/7/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         345.65
      11/7/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.91
      11/7/2020    709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      11/7/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/7/2020    709   EN0016   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    198.35
      11/7/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      11/7/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      11/7/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/7/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/7/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/7/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.97
      11/7/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           221
      11/7/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.59
      11/7/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      11/7/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      11/7/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/7/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      11/7/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.22
      11/7/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      11/7/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/7/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      11/7/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      11/7/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/7/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/7/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.14
      11/7/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.95
      11/7/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.76
      11/7/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      11/7/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      11/7/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 245513 Q1200 Lease             238.16
      11/7/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      11/7/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      11/7/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.27
      11/7/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      11/7/2020    709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      11/7/2020    709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      11/7/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.59
      11/7/2020    709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.41
      11/7/2020    709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      11/7/2020    709   GW0043   Owner Operator   Truck Payment                  CTMS - 245518 Q1109 Lease             302.85
      11/7/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/7/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      11/7/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.28
      11/7/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.29
      11/7/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.29
      11/7/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      11/7/2020    709   HC0023   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     30.29
      11/7/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 245522 Back tractor pay        235.12
      11/7/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      11/7/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      11/7/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.66
      11/7/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.51
      11/7/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      11/7/2020    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
      11/7/2020    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device                    12.5
      11/7/2020    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device HG0027            -12.5
      11/7/2020    709   HG0027   Owner Operator   Broker Pre Pass                33418 PrePass Device HG0027            -12.5
      11/7/2020    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84

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      11/7/2020    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418                      9.84
      11/7/2020    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418 HG0027              -9.84
      11/7/2020    709   HG0027   Owner Operator   Broker Pre Pass                DriveWyze TRK33418 HG0027              -9.84
      11/7/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   6.27
      11/7/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      11/7/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      11/7/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.51
      11/7/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.37
      11/7/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      11/7/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/7/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      11/7/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      11/7/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      11/7/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/7/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/7/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/7/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/7/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/7/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.88
      11/7/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.64
      11/7/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.08
      11/7/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      11/7/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 245518 Q13197 Lease            276.63
      11/7/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      11/7/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      11/7/2020    709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      11/7/2020    709   JC0418   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.11
      11/7/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.36
      11/7/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.91
      11/7/2020    709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       44.12
      11/7/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      11/7/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.07
      11/7/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      11/7/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/7/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      11/7/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      11/7/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      11/7/2020    709   JD0211   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    235.54
      11/7/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      11/7/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/7/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/7/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/7/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/7/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/7/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/7/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.56
      11/7/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.39
      11/7/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         172.91
      11/7/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      11/7/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      11/7/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      11/7/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/7/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/7/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/7/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/7/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/7/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/7/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.84
      11/7/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.81
      11/7/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.56
      11/7/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         401.83
      11/7/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      11/7/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2

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      11/7/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/7/2020    709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                13
      11/7/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.94
      11/7/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.06
      11/7/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      11/7/2020    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                   8.75
      11/7/2020    709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                 13
      11/7/2020    709   JL0280   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.44
      11/7/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.32
      11/7/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.96
      11/7/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         253.22
      11/7/2020    709   JL0280   Owner Operator   IRP License Deduction          LCIL:2020 - 8970                        100
      11/7/2020    709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   JL0280   Owner Operator   Permits                        NM07:2020 - 8970                       11.55
      11/7/2020    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                   33.04
      11/7/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      11/7/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/7/2020    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                13
      11/7/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.17
      11/7/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          15.11
      11/7/2020    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.77
      11/7/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      11/7/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
      11/7/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      11/7/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      11/7/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      11/7/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 245514 Balloon Payoff          234.05
      11/7/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      11/7/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      11/7/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      11/7/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
      11/7/2020    709   JS0265   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    102.55
      11/7/2020    709   JS0265   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     93.67
      11/7/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      11/7/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           500
      11/7/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/7/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/7/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/7/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/7/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.01
      11/7/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           173
      11/7/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           205
      11/7/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.04
      11/7/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           145
      11/7/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      11/7/2020    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
      11/7/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      11/7/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/7/2020    709   KP0004   Owner Operator   Repair Order                   CTMS - 245471 Repair                    250
      11/7/2020    709   KP0004   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     93.68
      11/7/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      11/7/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      11/7/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.38
      11/7/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.42
      11/7/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      11/7/2020    709   KT0055   Owner Operator   Toll Charges                   33483 ILTOLL Cermak Rd.                  6.8
      11/7/2020    709   KT0055   Owner Operator   Toll Charges                   33483 ILTOLL Joliet Rd.                 2.55
      11/7/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 245488 33483 Lease 208         335.48
      11/7/2020    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      11/7/2020    709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
      11/7/2020    709   KW0091   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      11/7/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      11/7/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13

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      11/7/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                              20
      11/7/2020    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      11/7/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.62
      11/7/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.51
      11/7/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      11/7/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/7/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      11/7/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.86
      11/7/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.96
      11/7/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      11/7/2020    709   MA0092   Owner Operator   Repair Order                   CTMS - 245522 W8641-3 Repair             -40
      11/7/2020    709   MA0092   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    336.77
      11/7/2020    709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
      11/7/2020    709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
      11/7/2020    709   MC0207   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   MC0207   Owner Operator   Permits                        NM07:2020 - 86935                      11.55
      11/7/2020    709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.11
      11/7/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/7/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      11/7/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/7/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/7/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/7/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/7/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.87
      11/7/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          50.96
      11/7/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.42
      11/7/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      11/7/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/7/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      11/7/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.63
      11/7/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.91
      11/7/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      11/7/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/7/2020    709   MG0067   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     224.2
      11/7/2020    709   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL             8.75
      11/7/2020    709   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.74
      11/7/2020    709   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD             16.02
      11/7/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      11/7/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      11/7/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            400
      11/7/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      11/7/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.24
      11/7/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          204.8
      11/7/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      11/7/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      11/7/2020    709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      11/7/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      11/7/2020    709   OJ0007   Owner Operator   IRP License Deduction          LCIL 2020 IRP plate credit           -672.44
      11/7/2020    709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      11/7/2020    709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      11/7/2020    709   PM0099   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.3
      11/7/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.52
      11/7/2020    709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      11/7/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      11/7/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              40
      11/7/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      11/7/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.28
      11/7/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.98
      11/7/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/7/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      11/7/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.83
      11/7/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.77
      11/7/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76

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      11/7/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/7/2020    709   RC0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                      492
      11/7/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      11/7/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      11/7/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
      11/7/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      11/7/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.03
      11/7/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.46
      11/7/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      11/7/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 35037                       100
      11/7/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   RL0017   Owner Operator   Permits                        NY13:2020 - 35037                        1.5
      11/7/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      11/7/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
      11/7/2020    709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      11/7/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      11/7/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/7/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/7/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/7/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/7/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         377.77
      11/7/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.55
      11/7/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      11/7/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      11/7/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/7/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      11/7/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/7/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.11
      11/7/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.64
      11/7/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      11/7/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      11/7/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      11/7/2020    709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      11/7/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      11/7/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      11/7/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      11/7/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.15
      11/7/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.71
      11/7/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      11/7/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      11/7/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      11/7/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.72
      11/7/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      11/7/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 245459 Q1202 Balloon           234.05
      11/7/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      11/7/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      11/7/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/7/2020    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/7/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.24
      11/7/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.85
      11/7/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.87
      11/7/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.89
      11/7/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      11/7/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 245488 33488 Lease $335        335.48
      11/7/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 245541 Past tractor ren          100
      11/7/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      11/7/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      11/7/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/7/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.64
      11/7/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.58
      11/7/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.72
      11/7/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      11/7/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      11/7/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         547.34
      11/7/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75

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      11/7/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      11/7/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/7/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.36
      11/7/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.72
      11/7/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.47
      11/7/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.69
      11/7/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      11/7/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      11/7/2020    709   SB0103   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    693.16
      11/7/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 245541 3303Truck Lease         133.15
      11/7/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      11/7/2020    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      11/7/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.64
      11/7/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           232
      11/7/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           205
      11/7/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.2
      11/7/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           183
      11/7/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           218
      11/7/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           139
      11/7/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      11/7/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      11/7/2020    709   SM0109   Owner Operator   Repair Order                   CTMS - 245471 Repair                    250
      11/7/2020    709   SM0109   Owner Operator   Tire Purchase                  008840~MICHELIN NORTH AMERICA         272.72
      11/7/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      11/7/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      11/7/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      11/7/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          363.1
      11/7/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.28
      11/7/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      11/7/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.11
      11/7/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/7/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      11/7/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/7/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/7/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.51
      11/7/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.83
      11/7/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.09
      11/7/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           201
      11/7/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      11/7/2020    709   WA0036   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/7/2020    709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      47.92
      11/7/2020    709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      11/7/2020    709   WA0036   Owner Operator   T Chek Fee                     School Checks (Corp)                    100
      11/7/2020    709   WA0036   Owner Operator   T Chek Fee                     School Checks (Corp)                  240.83
      11/7/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/7/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      11/7/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      11/7/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/7/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      11/7/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      11/7/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.85
      11/7/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.51
      11/7/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      11/7/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 245492 Q1238 Lease             311.97
      11/7/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      11/7/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      11/7/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/7/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/7/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/7/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/7/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/7/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/7/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.95
      11/7/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          146.1
      11/7/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.1
      11/7/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.92
      11/7/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      11/7/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      11/7/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      11/7/2020    742   AP0047   Owner Operator   Toll Charges                   32604 HCTRA Ship Channel Bridg             7
      11/7/2020    742   AP0047   Owner Operator   Toll Charges                   32604 HCTRA Ship Channel Bridg             7
      11/7/2020    742   AP0047   Owner Operator   Toll Charges                   32604 HCTRA Ship Channel Bridg             7
      11/7/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/7/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      11/7/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.86
      11/7/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         413.83
      11/7/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      11/7/2020    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14
      11/7/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      11/7/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.01
      11/7/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           382
      11/7/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      11/7/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      11/7/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/7/2020    742   DA0067   Owner Operator   Repair Order                   CTMS - 245549 Brake Labor               190
      11/7/2020    742   DA0067   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     186.9
      11/7/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      11/7/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         576.44
      11/7/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/7/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      11/7/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          109.5
      11/7/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.22
      11/7/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.09
      11/7/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.15
      11/7/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
      11/7/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/7/2020    742   EA0039   Owner Operator   Toll Charges                   33993 BATA Carquinez Bridge               26
      11/7/2020    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      11/7/2020    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          38.37
      11/7/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      11/7/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      11/7/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      11/7/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      11/7/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      11/7/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      11/7/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           553
      11/7/2020    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           510
      11/7/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      11/7/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      11/7/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      11/7/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.9
      11/7/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.7
      11/7/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.65
      11/7/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.69
      11/7/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.81
      11/7/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.15
      11/7/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         239.08
      11/7/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.17
      11/7/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.14
      11/7/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      11/7/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/7/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/7/2020    742   JS0390   Owner Operator   Toll Charges                   34943 DelDOT Exit SLS                     11
      11/7/2020    742   JS0390   Owner Operator   Toll Charges                   34943 OTC Eastgate                       1.5
      11/7/2020    742   JS0390   Owner Operator   Toll Charges                   34943 PTC Gateway                       23.4
      11/7/2020    742   JS0390   Owner Operator   Toll Charges                   34943 PTC Valley Forge                  69.9
      11/7/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75

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      11/7/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      11/7/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      11/7/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      11/7/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.68
      11/7/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.69
      11/7/2020    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.69
      11/7/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/7/2020    742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      11/7/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      11/7/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      11/7/2020    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      11/7/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/7/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/7/2020    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/7/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/7/2020    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/7/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.78
      11/7/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.31
      11/7/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.43
      11/7/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.14
      11/7/2020    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.46
      11/7/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      11/7/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      11/7/2020    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      11/7/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.14
      11/7/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      11/7/2020    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      11/7/2020    742   PC0012   Owner Operator   Toll Charges                   32969 ILTOLL Route 80 (East)             5.1
      11/7/2020    742   PC0012   Owner Operator   Toll Charges                   32969 ILTOLL Route 80 (West)             5.1
      11/7/2020    742   RF0136   Owner Operator   Advance                        EFS 254662 s/u 2 wks                  408.01
      11/7/2020    742   RF0136   Owner Operator   Advance                        EFS 254662 s/u 2 wks                 -960.01
      11/7/2020    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      11/7/2020    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      11/7/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/7/2020    742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/7/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.67
      11/7/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.67
      11/7/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.06
      11/7/2020    742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.52
      11/7/2020    742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      11/7/2020    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                      54.55
      11/7/2020    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                        9.51
      11/7/2020    742   RF0136   Owner Operator   T Chek Fee                     Tractor Repair 34182                   950.5
      11/7/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      11/7/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      11/7/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         130.59
      11/7/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.73
      11/7/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.46
      11/7/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      11/7/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      11/7/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 245514 Balloon Payoff          335.75
      11/7/2020    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      11/7/2020    742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                13
      11/7/2020    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.19
      11/7/2020    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.21
      11/7/2020    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2020 - 35030                       100
      11/7/2020    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     147.03
      11/7/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      11/7/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/7/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      11/7/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      11/7/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      11/7/2020    781   MM0054   Owner Operator   Accident Claim                 10/25/20 MM0054 Incident              836.35
      11/7/2020    781   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL             8.75

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      11/7/2020    781   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      11/7/2020    781   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD             15.42
      11/7/2020    783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                 8.75
      11/7/2020    783   AJ0066   Owner Operator   Communication Charge           Safety Tech Hardware 86816                13
      11/7/2020    783   AJ0066   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    783   AJ0066   Owner Operator   IRP License Deduction          LCIL:2020 - 86816                       100
      11/7/2020    783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    783   AJ0066   Owner Operator   Permits                        NM07:2020 - 86816                      11.55
      11/7/2020    783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.18
      11/7/2020    783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      11/7/2020    783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                   8.75
      11/7/2020    783   CH0168   Owner Operator   Communication Charge           Safety Tech Hardware 35066                13
      11/7/2020    783   CH0168   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    783   CH0168   Owner Operator   IRP License Deduction          LCIL:2020 - 35066                       100
      11/7/2020    783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                   72.19
      11/7/2020    783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism           2.5
      11/7/2020    783   CH0168   Owner Operator   Toll Charges                   35066 BATA Antioch Bridge                 26
      11/7/2020    783   CH0168   Owner Operator   Toll Charges                   35066 NJTP Carteret/Rahway               9.4
      11/7/2020    783   CH0168   Owner Operator   Toll Charges                   35066 NJTP Geo Washington Br/U            31
      11/7/2020    783   CH0168   Owner Operator   Toll Charges                   35066 NJTP I-195/Trenton/Shore         21.15
      11/7/2020    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      11/7/2020    783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                13
      11/7/2020    783   DS0317   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
      11/7/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      11/7/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      11/7/2020    783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
      11/7/2020    783   GR0095   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.21
      11/7/2020    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         478.21
      11/7/2020    783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
      11/7/2020    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      11/7/2020    783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                13
      11/7/2020    783   HP0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.31
      11/7/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.02
      11/7/2020    783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
      11/7/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      11/7/2020    783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      11/7/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 35032                13
      11/7/2020    783   JK0157   Owner Operator   Communication Charge           Safety Tech Hardware 86919                13
      11/7/2020    783   JK0157   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.27
      11/7/2020    783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.87
      11/7/2020    783   JK0157   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       41.71
      11/7/2020    783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      11/7/2020    783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
      11/7/2020    783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061                13
      11/7/2020    783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         482.62
      11/7/2020    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                          322.6
      11/7/2020    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.96
      11/7/2020    783   JL0281   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.16
      11/7/2020    783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
      11/7/2020    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      11/7/2020    783   MA0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.58
      11/7/2020    783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
      11/7/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      11/7/2020    783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/7/2020    783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
      11/7/2020    783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.13
      11/7/2020    783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
      11/7/2020    783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5

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      11/7/2020    783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      11/7/2020    783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
      11/7/2020    783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.35
      11/7/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.73
      11/7/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         195.59
      11/7/2020    783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
      11/7/2020    783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      11/7/2020    783   OJ0010   Owner Operator   BOBTAIL INS.                   2016 Western Star NTL                   8.75
      11/7/2020    783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 35086                13
      11/7/2020    783   OJ0010   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.64
      11/7/2020    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.14
      11/7/2020    783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD                   40.07
      11/7/2020    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD Terrorism           2.5
      11/7/2020    783   OJ0010   Owner Operator   Toll Charges                   35086 BATA Antioch Bridge                 26
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt NTL             -8.75
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt NTL            -26.25
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt NTL             -8.75
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt NTL             -8.75
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt NTL             -8.75
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt NTL             -8.75
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt PD             -38.31
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt PD             -38.34
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt PD             -38.34
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt PD             -38.34
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt PD            -114.99
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt PD             -38.31
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt PD Terr          -2.5
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt PD Terr          -7.5
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt PD Terr          -2.5
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt PD Terr          -2.5
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt PD Terr          -2.5
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt PD Terr          -2.5
      11/7/2020    783   RC0293   Owner Operator   *Arrears Collection W/O        WO:6748 2008 Peterbilt PD Terr         -0.03
      11/7/2020    783   RC0293   Owner Operator   BOBTAIL INS.                   6748 2008 Peterbilt NTL                 8.75
      11/7/2020    783   RC0293   Owner Operator   BOBTAIL INS.                   6748 2008 Peterbilt NTL                 8.75
      11/7/2020    783   RC0293   Owner Operator   BOBTAIL INS.                   6748 2008 Peterbilt NTL                 8.75
      11/7/2020    783   RC0293   Owner Operator   BOBTAIL INS.                   6748 2008 Peterbilt NTL                 8.75
      11/7/2020    783   RC0293   Owner Operator   BOBTAIL INS.                   6748 2008 Peterbilt NTL                 8.75
      11/7/2020    783   RC0293   Owner Operator   BOBTAIL INS.                   6748 2008 Peterbilt NTL                26.25
      11/7/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD                 38.31
      11/7/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD                 38.34
      11/7/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD                 38.34
      11/7/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD                 38.31
      11/7/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD                 38.34
      11/7/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD                114.99
      11/7/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD Terrori           7.5
      11/7/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD Terrori           2.5
      11/7/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD Terrori           2.5
      11/7/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD Terrori           2.5
      11/7/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD Terrori           2.5
      11/7/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD Terrori           2.5
      11/7/2020    783   RC0293   Owner Operator   PHYSICAL DAMAGE                6748 2008 Peterbilt PD Terrori          0.03
      11/7/2020    783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      11/7/2020    783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
      11/7/2020    783   RC0294   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.34
      11/7/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.2
      11/7/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          93.93
      11/7/2020    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.72
      11/7/2020    783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/7/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      11/7/2020    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      11/7/2020    783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      11/7/2020    783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      11/7/2020    783   RD0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/7/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.89
      11/7/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.37
      11/7/2020    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.24
      11/7/2020    783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       11/7/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
       11/7/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
       11/7/2020   783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
       11/7/2020   783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
       11/7/2020   783   RM0340   Owner Operator   ESCROW                         Weekly Escrow                             50
       11/7/2020   783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.17
       11/7/2020   783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/7/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
       11/7/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
       11/7/2020   783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
       11/7/2020   783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
       11/7/2020   783   RS0377   Owner Operator   ESCROW                         Weekly Escrow                             50
       11/7/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.38
       11/7/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.25
       11/7/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.21
       11/7/2020   783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       11/7/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
       11/7/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
       11/7/2020   783   SM0160   Owner Operator   *Arrears Collection W/O        WO:Credit Billing                    -257.13
       11/7/2020   783   SM0160   Owner Operator   *Arrears Collection W/O        WO:Credit Billing                    -522.56
       11/7/2020   783   SM0160   Owner Operator   Arrears                        Credit Billing                        257.13
       11/7/2020   783   SM0160   Owner Operator   Arrears                        Credit Billing                        522.56
      11/14/2020   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      11/14/2020   709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      11/14/2020   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/14/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.99
      11/14/2020   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      11/14/2020   709   AC0061   Owner Operator   Truck Payment                  CTMS - 245727 Q13148 Trac Leas        296.09
      11/14/2020   709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      11/14/2020   709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
      11/14/2020   709   AC0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
      11/14/2020   709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      11/14/2020   709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      11/14/2020   709   AN0007   Owner Operator   Driver Excellence Program      CA-N99C002187                            -50
      11/14/2020   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         354.79
      11/14/2020   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      11/14/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      11/14/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 245624 TRUCK RENTAL              350
      11/14/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 245672 truck 32781 Leas        225.29
      11/14/2020   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      11/14/2020   709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      11/14/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          164.5
      11/14/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.49
      11/14/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          342.6
      11/14/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.95
      11/14/2020   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      11/14/2020   709   AR0064   Owner Operator   Truck Payment                  CTMS - 245573 Baloon Q13147           357.62
      11/14/2020   709   AR0064   Owner Operator   Truck Payment                  CTMS - 245728 Baloon Q13147           357.62
      11/14/2020   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      11/14/2020   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      11/14/2020   709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      11/14/2020   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/14/2020   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/14/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             48
      11/14/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          87.19
      11/14/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           168
      11/14/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             72
      11/14/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.09
      11/14/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          58.09
      11/14/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.33
      11/14/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          57.96
      11/14/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.43
      11/14/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.74
      11/14/2020   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      11/14/2020   709   AV0021   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    175.93
      11/14/2020   709   AV0021   Owner Operator   Truck Payment                  CTMS - 245544 Q13169 Sublease         352.68
      11/14/2020   709   AV0021   Owner Operator   Truck Payment                  CTMS - 245704 Q13169 Sublease         352.68

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      11/14/2020   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      11/14/2020   709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      11/14/2020   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      11/14/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      11/14/2020   709   BM0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    111.72
      11/14/2020   709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
      11/14/2020   709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
      11/14/2020   709   BR0082   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                           224
      11/14/2020   709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.11
      11/14/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
      11/14/2020   709   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      11/14/2020   709   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      11/14/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.75
      11/14/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.46
      11/14/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.03
      11/14/2020   709   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      11/14/2020   709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      11/14/2020   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      11/14/2020   709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      11/14/2020   709   CC0134   Owner Operator   Driver Excellence Program      CA-UB4I001112                            -50
      11/14/2020   709   CC0134   Owner Operator   Driver Excellence Program      NV-7137181404                            -50
      11/14/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/14/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/14/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.25
      11/14/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.81
      11/14/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.32
      11/14/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         455.96
      11/14/2020   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      11/14/2020   709   CC0134   Owner Operator   Tire Purchase                  GY 0084332631 s/u 10/31/20             96.88
      11/14/2020   709   CC0134   Owner Operator   Truck Payment                  CTMS - 245649 Q13168 sub lease        352.68
      11/14/2020   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/14/2020   709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      11/14/2020   709   CM0119   Owner Operator   Driver Excellence Program      CA-NC20002123                            -50
      11/14/2020   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                          474.5
      11/14/2020   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      11/14/2020   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      11/14/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/14/2020   709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      11/14/2020   709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      11/14/2020   709   CM0224   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/14/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/14/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                          569.5
      11/14/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.67
      11/14/2020   709   CM0224   Owner Operator   IRP License Deduction          LCIL:2020 - 8968                        100
      11/14/2020   709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.05
      11/14/2020   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      11/14/2020   709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      11/14/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.76
      11/14/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.76
      11/14/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                        -323.76
      11/14/2020   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      11/14/2020   709   CR0064   Owner Operator   Truck Payment                  CTMS - 245668 Q1247 Sub Lease         263.91
      11/14/2020   709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      11/14/2020   709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      11/14/2020   709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.63
      11/14/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.97
      11/14/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.82
      11/14/2020   709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      11/14/2020   709   CV0028   Owner Operator   Truck Payment                  CTMS - 245644 Lease Truck 3348        335.96
      11/14/2020   709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75

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      11/14/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.25
      11/14/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.34
      11/14/2020   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.07
      11/14/2020   709   DL0029   Owner Operator   Repair Order                   CTMS - 245655 REPAIRS                   180
      11/14/2020   709   DL0029   Owner Operator   Truck Payment                  CTMS - 245489 Q13199 Lease             89.26
      11/14/2020   709   DL0029   Owner Operator   Truck Payment                  CTMS - 245645 Q13199 Lease            193.11
      11/14/2020   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/14/2020   709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      11/14/2020   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/14/2020   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/14/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.14
      11/14/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.37
      11/14/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.29
      11/14/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          172.6
      11/14/2020   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      11/14/2020   709   DL0107   Owner Operator   Truck Payment                  CTMS - 245540 Baloon payoff           350.23
      11/14/2020   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      11/14/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.82
      11/14/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.97
      11/14/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.67
      11/14/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.81
      11/14/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.81
      11/14/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.64
      11/14/2020   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      11/14/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      11/14/2020   709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      11/14/2020   709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      11/14/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.84
      11/14/2020   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      11/14/2020   709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      11/14/2020   709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      11/14/2020   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      11/14/2020   709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      11/14/2020   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      11/14/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.87
      11/14/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          524.8
      11/14/2020   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      11/14/2020   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/14/2020   709   DS0288   Owner Operator   Driver Excellence Program      CA-UBY4000551                            -50
      11/14/2020   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          41.25
      11/14/2020   709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                13
      11/14/2020   709   DT0153   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.39
      11/14/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.41
      11/14/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         128.33
      11/14/2020   709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/14/2020   709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      11/14/2020   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/14/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.37
      11/14/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.19
      11/14/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.76
      11/14/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.42
      11/14/2020   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      11/14/2020   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      11/14/2020   709   EA0003   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    203.61
      11/14/2020   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      11/14/2020   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      11/14/2020   709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      11/14/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.08
      11/14/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.58
      11/14/2020   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13

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      11/14/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/14/2020   709   EG0062   Owner Operator   Truck Payment                  CTMS - 245656 TRUCK RENTAL              300
      11/14/2020   709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/14/2020   709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      11/14/2020   709   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   709   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.42
      11/14/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.16
      11/14/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.49
      11/14/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.66
      11/14/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.59
      11/14/2020   709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      11/14/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/14/2020   709   EN0016   Owner Operator   Repair Order                   CTMS - 245549 Brake Repair              115
      11/14/2020   709   EN0016   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    198.35
      11/14/2020   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      11/14/2020   709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      11/14/2020   709   EO0014   Owner Operator   Driver Excellence Program      CA-NDLY002099                            -50
      11/14/2020   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/14/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/14/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/14/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/14/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/14/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.68
      11/14/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          203.7
      11/14/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           257
      11/14/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           192
      11/14/2020   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      11/14/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      11/14/2020   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      11/14/2020   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      11/14/2020   709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      11/14/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.65
      11/14/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.25
      11/14/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.24
      11/14/2020   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      11/14/2020   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      11/14/2020   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/14/2020   709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      11/14/2020   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         591.89
      11/14/2020   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      11/14/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/14/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      11/14/2020   709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      11/14/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.46
      11/14/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.37
      11/14/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.99
      11/14/2020   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      11/14/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      11/14/2020   709   GA0051   Owner Operator   Truck Payment                  CTMS - 245669 Q1200 Lease             238.16
      11/14/2020   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      11/14/2020   709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      11/14/2020   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.46
      11/14/2020   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      11/14/2020   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL             8.75
      11/14/2020   709   GW0043   Owner Operator   Communication Charge           Safety Tech Hardware Q1109                13
      11/14/2020   709   GW0043   Owner Operator   Driver Excellence Program      CA-UC4R000898                            -50
      11/14/2020   709   GW0043   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.02
      11/14/2020   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD             45.09
      11/14/2020   709   GW0043   Owner Operator   Truck Payment                  CTMS - 245675 Q1109 Lease             302.85
      11/14/2020   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/14/2020   709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      11/14/2020   709   HC0023   Owner Operator   Driver Excellence Program      CA-UAPH000247                            -50
      11/14/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.02
      11/14/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.12

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      11/14/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.39
      11/14/2020   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      11/14/2020   709   HC0023   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     30.29
      11/14/2020   709   HC0023   Owner Operator   Truck Payment                  CTMS - 245545 Q13170                  352.68
      11/14/2020   709   HC0023   Owner Operator   Truck Payment                  CTMS - 245668 Back tractor pay        235.12
      11/14/2020   709   HC0023   Owner Operator   Truck Payment                  CTMS - 245705 Q13170                  352.68
      11/14/2020   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      11/14/2020   709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      11/14/2020   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         542.84
      11/14/2020   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      11/14/2020   709   HG0007   Owner Operator   Toll Charges                   34565 BATA Richmond                       26
      11/14/2020   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      11/14/2020   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/14/2020   709   IR0002   Owner Operator   Driver Excellence Program      CA-N5N5001257                            -50
      11/14/2020   709   IR0002   Owner Operator   Driver Excellence Program      CA-UAOO000306                            -50
      11/14/2020   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      11/14/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/14/2020   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      11/14/2020   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      11/14/2020   709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      11/14/2020   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/14/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.9
      11/14/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.8
      11/14/2020   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      11/14/2020   709   JC0292   Owner Operator   Truck Payment                  CTMS - 245675 Q13197 Lease            276.63
      11/14/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      11/14/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      11/14/2020   709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      11/14/2020   709   JC0418   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.55
      11/14/2020   709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       44.12
      11/14/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      11/14/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.07
      11/14/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      11/14/2020   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/14/2020   709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      11/14/2020   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      11/14/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      11/14/2020   709   JD0211   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    235.54
      11/14/2020   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/14/2020   709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      11/14/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/14/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/14/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.21
      11/14/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.55
      11/14/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.09
      11/14/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.96
      11/14/2020   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      11/14/2020   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      11/14/2020   709   JG0017   Owner Operator   Repair Order                   CTMS - 245655 REPAIRS                 250.55
      11/14/2020   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/14/2020   709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      11/14/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.15
      11/14/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.49
      11/14/2020   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      11/14/2020   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
      11/14/2020   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75

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      11/14/2020   709   JG0092   Owner Operator   Communication Charge           Safety Tech Hardware 33669                13
      11/14/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.76
      11/14/2020   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      11/14/2020   709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                   8.75
      11/14/2020   709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                 13
      11/14/2020   709   JL0280   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.53
      11/14/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.52
      11/14/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.65
      11/14/2020   709   JL0280   Owner Operator   IRP License Deduction          LCIL:2020 - 8970                        100
      11/14/2020   709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                   33.04
      11/14/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      11/14/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/14/2020   709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                13
      11/14/2020   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/14/2020   709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/14/2020   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.04
      11/14/2020   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      11/14/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
      11/14/2020   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      11/14/2020   709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      11/14/2020   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      11/14/2020   709   JR0099   Owner Operator   Truck Payment                  CTMS - 245671 Balloon Payoff          234.05
      11/14/2020   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/14/2020   709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      11/14/2020   709   KP0004   Owner Operator   Driver Excellence Program      CA-UF28000337                            -50
      11/14/2020   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           500
      11/14/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/14/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/14/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/14/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/14/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.01
      11/14/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.02
      11/14/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           185
      11/14/2020   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      11/14/2020   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
      11/14/2020   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      11/14/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/14/2020   709   KP0004   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     93.68
      11/14/2020   709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      11/14/2020   709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      11/14/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.64
      11/14/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.59
      11/14/2020   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      11/14/2020   709   KT0055   Owner Operator   Toll Charges                   33483 BATA Carquinez Bridge               26
      11/14/2020   709   KT0055   Owner Operator   Truck Payment                  CTMS - 245645 33483 Lease 208         335.48
      11/14/2020   709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      11/14/2020   709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
      11/14/2020   709   KW0091   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      11/14/2020   709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      11/14/2020   709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      11/14/2020   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.67
      11/14/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.81
      11/14/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         496.98
      11/14/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           48.7
      11/14/2020   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      11/14/2020   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/14/2020   709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      11/14/2020   709   MA0092   Owner Operator   Driver Excellence Program      CA-UB4T000689                            -50
      11/14/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          149.9
      11/14/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.57
      11/14/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.79

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      11/14/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.27
      11/14/2020   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      11/14/2020   709   MA0092   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    336.77
      11/14/2020   709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
      11/14/2020   709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
      11/14/2020   709   MC0207   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.11
      11/14/2020   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/14/2020   709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      11/14/2020   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                             500
      11/14/2020   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/14/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.47
      11/14/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          56.73
      11/14/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.47
      11/14/2020   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      11/14/2020   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/14/2020   709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      11/14/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         331.16
      11/14/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.18
      11/14/2020   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      11/14/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/14/2020   709   MG0067   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     224.2
      11/14/2020   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/14/2020   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/14/2020   709   MP0035   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/14/2020   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    6.38
      11/14/2020   709   MP0035   Owner Operator   Broker Pre Pass                32904 PrePass Device                    12.5
      11/14/2020   709   MP0035   Owner Operator   ESCROW                         Escrow Withdrawal                      -7800
      11/14/2020   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   MP0035   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      11/14/2020   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      11/14/2020   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.12
      11/14/2020   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      11/14/2020   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      11/14/2020   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/14/2020   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/14/2020   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/14/2020   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/14/2020   709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      11/14/2020   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      11/14/2020   709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      11/14/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             400
      11/14/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           4
      11/14/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                        -205.26
      11/14/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.26
      11/14/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.11
      11/14/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.26
      11/14/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.41
      11/14/2020   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      11/14/2020   709   NG0005   Owner Operator   Truck Payment                  CTMS - 245655 TRUCK RENTAL               300
      11/14/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      11/14/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      11/14/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      11/14/2020   709   OJ0007   Owner Operator   *Arrears Collection W/O        Applicable Amount to Arrears            9.84
      11/14/2020   709   OJ0007   Owner Operator   Broker Pay Void/Reissue        Vd Statement Only                    -672.44
      11/14/2020   709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      11/14/2020   709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      11/14/2020   709   PM0099   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/14/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/14/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.21
      11/14/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.57
      11/14/2020   709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      11/14/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5

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      11/14/2020   709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      11/14/2020   709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      11/14/2020   709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      11/14/2020   709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      11/14/2020   709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/14/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/14/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/14/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/14/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/14/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/14/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/14/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/14/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.85
      11/14/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.38
      11/14/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         103.32
      11/14/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.91
      11/14/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.66
      11/14/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.58
      11/14/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.12
      11/14/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.86
      11/14/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          163.2
      11/14/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.44
      11/14/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.26
      11/14/2020   709   PY0003   Owner Operator   IRP License Deduction          LCIL:2020 - 35043                       100
      11/14/2020   709   PY0003   Owner Operator   IRP License Deduction          LCIL:2020 - 35043                       100
      11/14/2020   709   PY0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   PY0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.55
      11/14/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.54
      11/14/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.55
      11/14/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.54
      11/14/2020   709   PY0003   Owner Operator   Repair Order                   CTMS - 245497 REPAIRS                   350
      11/14/2020   709   PY0003   Owner Operator   Repair Order                   CTMS - 245642 REPAIRS                   350
      11/14/2020   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      11/14/2020   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      11/14/2020   709   RB0170   Owner Operator   Charge back by affiliate       CTMS - 245572 HVUT Form 2290           137.5
      11/14/2020   709   RB0170   Owner Operator   Charge back by affiliate       CTMS - 245732 HVUT Form 2290           137.5
      11/14/2020   709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      11/14/2020   709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      11/14/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      11/14/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              40
      11/14/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              20
      11/14/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      11/14/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      11/14/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.2
      11/14/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                           12.4
      11/14/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.93
      11/14/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.29
      11/14/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.09
      11/14/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.52
      11/14/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.64
      11/14/2020   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      11/14/2020   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      11/14/2020   709   RB0170   Owner Operator   Truck Payment                  CTMS - 245538 Q1241 Truck leas        321.84
      11/14/2020   709   RB0170   Owner Operator   Truck Payment                  CTMS - 245698 Q1241 Truck leas        321.84
      11/14/2020   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/14/2020   709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      11/14/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.04
      11/14/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          377.4
      11/14/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.8
      11/14/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.03
      11/14/2020   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      11/14/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/14/2020   709   RC0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    491.98
      11/14/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/14/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      11/14/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      11/14/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13

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      11/14/2020   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      11/14/2020   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         563.75
      11/14/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      11/14/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 35037                       100
      11/14/2020   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      11/14/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
      11/14/2020   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      11/14/2020   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/14/2020   709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      11/14/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.11
      11/14/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.54
      11/14/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.04
      11/14/2020   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      11/14/2020   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      11/14/2020   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/14/2020   709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      11/14/2020   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/14/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         414.33
      11/14/2020   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      11/14/2020   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      11/14/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      11/14/2020   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      11/14/2020   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      11/14/2020   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      11/14/2020   709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      11/14/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.75
      11/14/2020   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      11/14/2020   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      11/14/2020   709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      11/14/2020   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          341.8
      11/14/2020   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      11/14/2020   709   RP0082   Owner Operator   Truck Payment                  CTMS - 245622 Q1202 Balloon           234.05
      11/14/2020   709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      11/14/2020   709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      11/14/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/14/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/14/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.29
      11/14/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.23
      11/14/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.26
      11/14/2020   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      11/14/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 245645 33488 Lease $335        335.48
      11/14/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 245700 Past tractor ren          100
      11/14/2020   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      11/14/2020   709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      11/14/2020   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/14/2020   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.21
      11/14/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.73
      11/14/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.45
      11/14/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.15
      11/14/2020   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      11/14/2020   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      11/14/2020   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         547.34
      11/14/2020   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      11/14/2020   709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      11/14/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          281.2
      11/14/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                        -183.68
      11/14/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.68
      11/14/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.68
      11/14/2020   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34

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      11/14/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      11/14/2020   709   SB0103   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    675.83
      11/14/2020   709   SB0103   Owner Operator   Truck Payment                  CTMS - 245701 3303Truck Lease         133.15
      11/14/2020   709   SM0109   Owner Operator   Driver Excellence Program      CO-2D06000219                            -50
      11/14/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      11/14/2020   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/14/2020   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/14/2020   709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      11/14/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/14/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/14/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.39
      11/14/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.01
      11/14/2020   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      11/14/2020   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      11/14/2020   709   SN0019   Owner Operator   Truck Payment                  CTMS - 245656 TRUCK RENTAL              500
      11/14/2020   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      11/14/2020   709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      11/14/2020   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         104.44
      11/14/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          476.9
      11/14/2020   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      11/14/2020   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.11
      11/14/2020   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/14/2020   709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      11/14/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            140
      11/14/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
      11/14/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.23
      11/14/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.72
      11/14/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.69
      11/14/2020   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      11/14/2020   709   VJ0006   Owner Operator   Toll Charges                   33961 BATA Carquinez Bridge               26
      11/14/2020   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/14/2020   709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      11/14/2020   709   WB0062   Owner Operator   Driver Excellence Program      CA-N8BE000603                            -50
      11/14/2020   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      11/14/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/14/2020   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      11/14/2020   709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      11/14/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/14/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/14/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.45
      11/14/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.19
      11/14/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.39
      11/14/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         151.48
      11/14/2020   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      11/14/2020   709   WH0087   Owner Operator   Truck Payment                  CTMS - 245649 Q1238 Lease             311.97
      11/14/2020   709   WH0087   Owner Operator   Truck Payment                  CTMS - 245656 TRUCK RENTAL              500
      11/14/2020   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      11/14/2020   742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      11/14/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/14/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/14/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.58
      11/14/2020   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      11/14/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      11/14/2020   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/14/2020   742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      11/14/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.18
      11/14/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.13
      11/14/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.98
      11/14/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.51
      11/14/2020   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      11/14/2020   742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14

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      11/14/2020   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/14/2020   742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      11/14/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           225
      11/14/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.01
      11/14/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.02
      11/14/2020   742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      11/14/2020   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      11/14/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/14/2020   742   DA0067   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     186.9
      11/14/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      11/14/2020   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.14
      11/14/2020   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/14/2020   742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      11/14/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          443.6
      11/14/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                          393.7
      11/14/2020   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
      11/14/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/14/2020   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      11/14/2020   742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      11/14/2020   742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      11/14/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      11/14/2020   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      11/14/2020   742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      11/14/2020   742   JH0148   Owner Operator   Driver Excellence Program      CA-UDOD000053                            -50
      11/14/2020   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         621.02
      11/14/2020   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.42
      11/14/2020   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      11/14/2020   742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/14/2020   742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      11/14/2020   742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/14/2020   742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/14/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.57
      11/14/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          46.07
      11/14/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.51
      11/14/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.27
      11/14/2020   742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      11/14/2020   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/14/2020   742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      11/14/2020   742   MH0117   Owner Operator   Charge back by affiliate       CTMS - 245652 Exterior Tank Wa           -35
      11/14/2020   742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      11/14/2020   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      11/14/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      11/14/2020   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.69
      11/14/2020   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/14/2020   742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      11/14/2020   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/14/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.64
      11/14/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.61
      11/14/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.94
      11/14/2020   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      11/14/2020   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      11/14/2020   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - East           3.5
      11/14/2020   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout           3.5
      11/14/2020   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Sam Houston - Sout           3.5
      11/14/2020   742   PC0012   Owner Operator   Toll Charges                   32969 HCTRA Ship Channel Bridg           3.5
      11/14/2020   742   RF0136   Owner Operator   Advance                        EFS 254662 s/u 2 wks                  408.01
      11/14/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            13.8
      11/14/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.14
      11/14/2020   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      11/14/2020   742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      11/14/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.41
      11/14/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.35

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      11/14/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.92
      11/14/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.61
      11/14/2020   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      11/14/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      11/14/2020   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      11/14/2020   742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                13
      11/14/2020   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.49
      11/14/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          197.8
      11/14/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                         354.25
      11/14/2020   742   RS0342   Owner Operator   IRP License Deduction          LCIL:2020 - 35030                       100
      11/14/2020   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     147.03
      11/14/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
      11/14/2020   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/14/2020   742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      11/14/2020   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
      11/14/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      11/14/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.76
      11/14/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.32
      11/14/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.29
      11/14/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          58.12
      11/14/2020   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL 82nd St.                    6.8
      11/14/2020   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Dixon                      2.97
      11/14/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                 8.75
      11/14/2020   783   AJ0066   Owner Operator   Communication Charge           Safety Tech Hardware 86816                13
      11/14/2020   783   AJ0066   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   783   AJ0066   Owner Operator   IRP License Deduction          LCIL:2020 - 86816                       100
      11/14/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.18
      11/14/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      11/14/2020   783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      11/14/2020   783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                13
      11/14/2020   783   DS0317   Owner Operator   Driver Excellence Program      NV-7040018571                            -50
      11/14/2020   783   DS0317   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
      11/14/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      11/14/2020   783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      11/14/2020   783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
      11/14/2020   783   GR0095   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.15
      11/14/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         429.77
      11/14/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.21
      11/14/2020   783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
      11/14/2020   783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      11/14/2020   783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                13
      11/14/2020   783   HP0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          433.9
      11/14/2020   783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          486.1
      11/14/2020   783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
      11/14/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      11/14/2020   783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                      26.25
      11/14/2020   783   JK0157   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                        -35
      11/14/2020   783   JK0157   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.54
      11/14/2020   783   JK0157   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          142.5
      11/14/2020   783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      125.12
      11/14/2020   783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                     -166.83
      11/14/2020   783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               -10
      11/14/2020   783   JK0157   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               7.5
      11/14/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
      11/14/2020   783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061                13
      11/14/2020   783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                          19.42
      11/14/2020   783   JL0281   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/14/2020   783   JL0281   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/14/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.67
      11/14/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         489.05
      11/14/2020   783   JL0281   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.16

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      11/14/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
      11/14/2020   783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      11/14/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                           472
      11/14/2020   783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
      11/14/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      11/14/2020   783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/14/2020   783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
      11/14/2020   783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.57
      11/14/2020   783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
      11/14/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/14/2020   783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      11/14/2020   783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
      11/14/2020   783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.47
      11/14/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.47
      11/14/2020   783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
      11/14/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      11/14/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   2016 Western Star NTL                   8.75
      11/14/2020   783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 35086                13
      11/14/2020   783   OJ0010   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.97
      11/14/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.91
      11/14/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.27
      11/14/2020   783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD                   40.07
      11/14/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD Terrorism           2.5
      11/14/2020   783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      11/14/2020   783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
      11/14/2020   783   RC0294   Owner Operator   Driver Excellence Program      NV-7040018555                            -50
      11/14/2020   783   RC0294   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.02
      11/14/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.13
      11/14/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.11
      11/14/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.16
      11/14/2020   783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      11/14/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      11/14/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                             50
      11/14/2020   783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      11/14/2020   783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
      11/14/2020   783   RM0340   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.41
      11/14/2020   783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      11/14/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
      11/14/2020   783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      11/14/2020   783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
      11/14/2020   783   RS0377   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/14/2020   783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/14/2020   783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/14/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.63
      11/14/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.25
      11/14/2020   783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/14/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
      11/14/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      11/21/2020   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      11/21/2020   709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                     9.84
      11/21/2020   709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      11/21/2020   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/21/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.91
      11/21/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                           216
      11/21/2020   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      11/21/2020   709   AC0061   Owner Operator   Truck Payment                  CTMS - 245888 Q13148 Trac Leas        296.09
      11/21/2020   709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      11/21/2020   709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
      11/21/2020   709   AC0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08

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      11/21/2020   709   AG0116   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/21/2020   709   AG0116   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/21/2020   709   AG0116   Owner Operator   Communication Charge           Safety Tech Hardware 35099                20
      11/21/2020   709   AG0116   Owner Operator   Communication Charge           Safety Tech Hardware 35099                13
      11/21/2020   709   AG0116   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   709   AG0116   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.47
      11/21/2020   709   AG0116   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.09
      11/21/2020   709   AG0116   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.09
      11/21/2020   709   AG0116   Owner Operator   T Chek Fee                     School Checks (Corp)                   40.84
      11/21/2020   709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      11/21/2020   709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK32781                      9.84
      11/21/2020   709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      11/21/2020   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         354.79
      11/21/2020   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      11/21/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      11/21/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 245780 TRUCK RENTAL              350
      11/21/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 245829 truck 32781 Leas        225.29
      11/21/2020   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      11/21/2020   709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                     9.84
      11/21/2020   709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      11/21/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.95
      11/21/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.95
      11/21/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.01
      11/21/2020   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      11/21/2020   709   AR0064   Owner Operator   Truck Payment                  CTMS - 245889 Baloon Q13147           357.62
      11/21/2020   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      11/21/2020   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      11/21/2020   709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                     9.84
      11/21/2020   709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      11/21/2020   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/21/2020   709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/21/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.46
      11/21/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             75
      11/21/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          65.01
      11/21/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         125.35
      11/21/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.63
      11/21/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.15
      11/21/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.23
      11/21/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           84.4
      11/21/2020   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      11/21/2020   709   AV0021   Owner Operator   Truck Payment                  CTMS - 245864 Q13169 Sublease         352.68
      11/21/2020   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      11/21/2020   709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                      9.84
      11/21/2020   709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      11/21/2020   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      11/21/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      11/21/2020   709   BM0030   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     111.7
      11/21/2020   709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
      11/21/2020   709   BR0082   Owner Operator   Broker Pre Pass                DriveWyze TRK35023                      9.84
      11/21/2020   709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
      11/21/2020   709   BR0082   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          176.5
      11/21/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.95
      11/21/2020   709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.11
      11/21/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
      11/21/2020   709   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      11/21/2020   709   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      11/21/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.34
      11/21/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.88
      11/21/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.82
      11/21/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         153.38
      11/21/2020   709   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      11/21/2020   709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      11/21/2020   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      11/21/2020   709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      11/21/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/21/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5

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      11/21/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.86
      11/21/2020   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      11/21/2020   709   CC0134   Owner Operator   Tire Purchase                  GY 0084332631 s/u 10/31/20             96.88
      11/21/2020   709   CC0134   Owner Operator   Truck Payment                  CTMS - 245805 Q13168 sub lease        352.68
      11/21/2020   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/21/2020   709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      11/21/2020   709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      11/21/2020   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/21/2020   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/21/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         491.97
      11/21/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.52
      11/21/2020   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      11/21/2020   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      11/21/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/21/2020   709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      11/21/2020   709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      11/21/2020   709   CM0224   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                             500
      11/21/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/21/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.72
      11/21/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.91
      11/21/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         522.19
      11/21/2020   709   CM0224   Owner Operator   IRP License Deduction          LCIL:2020 - 8968                         100
      11/21/2020   709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.05
      11/21/2020   709   CR0064   Owner Operator   Accident Claim                 10/30/20 CR0064 Incident                -300
      11/21/2020   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      11/21/2020   709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
      11/21/2020   709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      11/21/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.64
      11/21/2020   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      11/21/2020   709   CR0064   Owner Operator   Truck Payment                  CTMS - 245826 Q1247 Sub Lease         263.91
      11/21/2020   709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      11/21/2020   709   CV0028   Owner Operator   Broker Pre Pass                DriveWyze TRK33482                      9.84
      11/21/2020   709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      11/21/2020   709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.74
      11/21/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.77
      11/21/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.63
      11/21/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.38
      11/21/2020   709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      11/21/2020   709   CV0028   Owner Operator   Truck Payment                  CTMS - 245800 Lease Truck 3348        335.96
      11/21/2020   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      11/21/2020   709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                      9.84
      11/21/2020   709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      11/21/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.72
      11/21/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         420.73
      11/21/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.94
      11/21/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         449.52
      11/21/2020   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      11/21/2020   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      11/21/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.04
      11/21/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.73
      11/21/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.42
      11/21/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                            7.3
      11/21/2020   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      11/21/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      11/21/2020   709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      11/21/2020   709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      11/21/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.16
      11/21/2020   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      11/21/2020   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      11/21/2020   709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                      9.84
      11/21/2020   709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      11/21/2020   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      11/21/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.42

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      11/21/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         538.62
      11/21/2020   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      11/21/2020   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/21/2020   709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      11/21/2020   709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      11/21/2020   709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      11/21/2020   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/21/2020   709   DS0288   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/21/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                          202.3
      11/21/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.63
      11/21/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.15
      11/21/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.19
      11/21/2020   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           6.25
      11/21/2020   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      11/21/2020   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      11/21/2020   709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                13
      11/21/2020   709   DT0153   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.11
      11/21/2020   709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/21/2020   709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      11/21/2020   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/21/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/21/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/21/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/21/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/21/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/21/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/21/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           121
      11/21/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.57
      11/21/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         399.63
      11/21/2020   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      11/21/2020   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      11/21/2020   709   EA0003   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     203.6
      11/21/2020   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      11/21/2020   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      11/21/2020   709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                      9.84
      11/21/2020   709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      11/21/2020   709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/21/2020   709   EG0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/21/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          18.37
      11/21/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.16
      11/21/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.21
      11/21/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.61
      11/21/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.91
      11/21/2020   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      11/21/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/21/2020   709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/21/2020   709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      11/21/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.25
      11/21/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.01
      11/21/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.92
      11/21/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.53
      11/21/2020   709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      11/21/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/21/2020   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      11/21/2020   709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      11/21/2020   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/21/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            160
      11/21/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/21/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      11/21/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/21/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.63
      11/21/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           206
      11/21/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.7
      11/21/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.11
      11/21/2020   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21

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      11/21/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror               2.5
      11/21/2020   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL                 8.75
      11/21/2020   709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                    13
      11/21/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                                100
      11/21/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                               1
      11/21/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                             325.51
      11/21/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                             265.86
      11/21/2020   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      11/21/2020   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD                 78.93
      11/21/2020   709   FS0039   Owner Operator   Toll Charges                                                    33040        26
      11/21/2020   709   FS0039   Owner Operator   Toll Charges                                                    33040        26
      11/21/2020   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                       8.75
      11/21/2020   709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B                   13
      11/21/2020   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                             422.33
      11/21/2020   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      11/21/2020   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                       40.11
      11/21/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                       8.75
      11/21/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL                 8.75
      11/21/2020   709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1200                          9.84
      11/21/2020   709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                    13
      11/21/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                                500
      11/21/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                               5
      11/21/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                             291.27
      11/21/2020   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      11/21/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                       24.07
      11/21/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD                 29.68
      11/21/2020   709   GA0051   Owner Operator   Truck Payment                  CTMS - 245827 Q1200 Lease                 238.16
      11/21/2020   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL                 8.75
      11/21/2020   709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                          9.84
      11/21/2020   709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                    13
      11/21/2020   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                             307.23
      11/21/2020   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      11/21/2020   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD                 40.11
      11/21/2020   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL                 17.5
      11/21/2020   709   GW0043   Owner Operator   BOBTAIL INS.                   Q1109 2011 Freightliner NTL                  -35
      11/21/2020   709   GW0043   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1109                          9.84
      11/21/2020   709   GW0043   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                                 95
      11/21/2020   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD                 90.18
      11/21/2020   709   GW0043   Owner Operator   PHYSICAL DAMAGE                Q1109 2011 Freightliner PD               -180.36
      11/21/2020   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL                8.75
      11/21/2020   709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                         9.84
      11/21/2020   709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170                   13
      11/21/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                              45.56
      11/21/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                             468.31
      11/21/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                             195.39
      11/21/2020   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      11/21/2020   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD                 36.1
      11/21/2020   709   HC0023   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                         30.29
      11/21/2020   709   HC0023   Owner Operator   Toll Charges                   Q13170                                        26
      11/21/2020   709   HC0023   Owner Operator   Truck Payment                  CTMS - 245831 Back tractor pay            235.12
      11/21/2020   709   HC0023   Owner Operator   Truck Payment                  CTMS - 245864 Q13170                      352.68
      11/21/2020   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                           8.75
      11/21/2020   709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                          9.84
      11/21/2020   709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                    13
      11/21/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                             385.79
      11/21/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                             629.63
      11/21/2020   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      11/21/2020   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                          100.67
      11/21/2020   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                        14.98
      11/21/2020   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                   8.75
      11/21/2020   709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197                   13
      11/21/2020   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                               400
      11/21/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                                200
      11/21/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                                200
      11/21/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                                100
      11/21/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                               1
      11/21/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                               2
      11/21/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                               2
      11/21/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                             376.96
      11/21/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                             359.54
      11/21/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                             284.33
      11/21/2020   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                               47.5
      11/21/2020   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD                   43.13

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      11/21/2020   709   JC0292   Owner Operator   Truck Payment                  CTMS - 245832 Q13197 Lease               276.63
      11/21/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                          8.75
      11/21/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                    8.75
      11/21/2020   709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                   13
      11/21/2020   709   JC0418   Owner Operator   ESCROW                         Weekly Escrow                                50
      11/21/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                            191.95
      11/21/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                            331.62
      11/21/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                            274.38
      11/21/2020   709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                          44.12
      11/21/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism                  2.5
      11/21/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                    24.07
      11/21/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori              2.5
      11/21/2020   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                         8.75
      11/21/2020   709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                         9.84
      11/21/2020   709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                   13
      11/21/2020   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                         12.03
      11/21/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism                 2.5
      11/21/2020   709   JD0211   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                       235.54
      11/21/2020   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                      8.75
      11/21/2020   709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                         9.84
      11/21/2020   709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                   13
      11/21/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                               500
      11/21/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                              5
      11/21/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                            123.14
      11/21/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                            221.99
      11/21/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                            296.65
      11/21/2020   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                         33.64
      11/21/2020   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                      28.08
      11/21/2020   709   JG0017   Owner Operator   Toll Charges                                                    32908       26
      11/21/2020   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                      8.75
      11/21/2020   709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                         9.84
      11/21/2020   709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                   13
      11/21/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                               200
      11/21/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                               200
      11/21/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                               100
      11/21/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                              1
      11/21/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                              2
      11/21/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                              2
      11/21/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                            414.33
      11/21/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                            454.39
      11/21/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                            431.43
      11/21/2020   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                         33.64
      11/21/2020   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                       76.2
      11/21/2020   709   JG0072   Owner Operator   Toll Charges                                                    32909       26
      11/21/2020   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                         8.75
      11/21/2020   709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                         9.84
      11/21/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                              215
      11/21/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                            250.53
      11/21/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                            130.53
      11/21/2020   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                          36.1
      11/21/2020   709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                      8.75
      11/21/2020   709   JL0280   Owner Operator   Broker Pre Pass                DriveWyze TRK8970                         17.62
      11/21/2020   709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                    13
      11/21/2020   709   JL0280   Owner Operator   ESCROW                         Weekly Escrow                                50
      11/21/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                            248.55
      11/21/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                            256.78
      11/21/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                            259.41
      11/21/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                            265.89
      11/21/2020   709   JL0280   Owner Operator   IRP License Deduction          LCIL:2020 - 8970                           100
      11/21/2020   709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                      33.04
      11/21/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                      8.75
      11/21/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                      8.75
      11/21/2020   709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK34637                         9.84
      11/21/2020   709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                   13
      11/21/2020   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                             147.5
      11/21/2020   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            163.01
      11/21/2020   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5

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      11/21/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      11/21/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
      11/21/2020   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      11/21/2020   709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                      9.84
      11/21/2020   709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      11/21/2020   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      11/21/2020   709   JR0099   Owner Operator   Truck Payment                  CTMS - 245828 Balloon Payoff          234.05
      11/21/2020   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/21/2020   709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      11/21/2020   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           500
      11/21/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/21/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/21/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.01
      11/21/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         320.03
      11/21/2020   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      11/21/2020   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
      11/21/2020   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      11/21/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/21/2020   709   KP0004   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     93.68
      11/21/2020   709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      11/21/2020   709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRK33483                      9.84
      11/21/2020   709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      11/21/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          281.2
      11/21/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.06
      11/21/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         391.44
      11/21/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.98
      11/21/2020   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      11/21/2020   709   KT0055   Owner Operator   Truck Payment                  CTMS - 245800 33483 Lease 208         335.48
      11/21/2020   709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      11/21/2020   709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
      11/21/2020   709   KW0091   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      11/21/2020   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/21/2020   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/21/2020   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/21/2020   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/21/2020   709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                      9.84
      11/21/2020   709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      11/21/2020   709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      11/21/2020   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      11/21/2020   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.09
      11/21/2020   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      11/21/2020   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      11/21/2020   709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      11/21/2020   709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      11/21/2020   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/21/2020   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/21/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                           23.6
      11/21/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.72
      11/21/2020   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      11/21/2020   709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     26
      11/21/2020   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/21/2020   709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                      9.84
      11/21/2020   709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      11/21/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.87
      11/21/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.69
      11/21/2020   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      11/21/2020   709   MA0092   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    336.77
      11/21/2020   709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
      11/21/2020   709   MC0207   Owner Operator   Broker Pre Pass                DriveWyze TRK86935                     17.62
      11/21/2020   709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
      11/21/2020   709   MC0207   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.11
      11/21/2020   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/21/2020   709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      11/21/2020   709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13

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      11/21/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          77.64
      11/21/2020   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      11/21/2020   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/21/2020   709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      11/21/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           369
      11/21/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.4
      11/21/2020   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      11/21/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/21/2020   709   MG0067   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    224.16
      11/21/2020   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      11/21/2020   709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                     9.84
      11/21/2020   709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      11/21/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/21/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/21/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.96
      11/21/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.95
      11/21/2020   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      11/21/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      11/21/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      11/21/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      11/21/2020   709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      11/21/2020   709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      11/21/2020   709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            150
      11/21/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      11/21/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.68
      11/21/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.62
      11/21/2020   709   PY0003   Owner Operator   IRP License Deduction          LCIL:2020 - 35043                       100
      11/21/2020   709   PY0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.55
      11/21/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.54
      11/21/2020   709   PY0003   Owner Operator   Repair Order                   CTMS - 245804 REPAIRS                   350
      11/21/2020   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      11/21/2020   709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                      9.84
      11/21/2020   709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241             11.73
      11/21/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.48
      11/21/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.25
      11/21/2020   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      11/21/2020   709   RB0170   Owner Operator   Truck Payment                  CTMS - 245858 Q1241 Truck leas        321.84
      11/21/2020   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/21/2020   709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      11/21/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.28
      11/21/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.41
      11/21/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.15
      11/21/2020   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      11/21/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/21/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/21/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    -35
      11/21/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      11/21/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      11/21/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
      11/21/2020   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      11/21/2020   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.69
      11/21/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      11/21/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 35037                       100
      11/21/2020   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.28
      11/21/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  -317.1
      11/21/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
      11/21/2020   709   RL0017   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      11/21/2020   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/21/2020   709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      11/21/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/21/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/21/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.82
      11/21/2020   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      11/21/2020   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      11/21/2020   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      11/21/2020   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/21/2020   709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      11/21/2020   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            400
      11/21/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.69
      11/21/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                             20
      11/21/2020   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      11/21/2020   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      11/21/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      11/21/2020   709   RL0180   Owner Operator   Tractor Charge                 45995 - 32910                         350.65
      11/21/2020   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      11/21/2020   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      11/21/2020   709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                      9.84
      11/21/2020   709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      11/21/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.01
      11/21/2020   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      11/21/2020   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      11/21/2020   709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                      9.84
      11/21/2020   709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      11/21/2020   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.87
      11/21/2020   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      11/21/2020   709   RP0082   Owner Operator   Truck Payment                  CTMS - 245778 Q1202 Balloon           234.05
      11/21/2020   709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      11/21/2020   709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRK33488                      9.84
      11/21/2020   709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      11/21/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.38
      11/21/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.3
      11/21/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.76
      11/21/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                              1
      11/21/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.31
      11/21/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.06
      11/21/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.82
      11/21/2020   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      11/21/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 245800 33488 Lease $335        335.48
      11/21/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 245860 Past tractor ren           100
      11/21/2020   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      11/21/2020   709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
      11/21/2020   709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      11/21/2020   709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                      -3000
      11/21/2020   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
      11/21/2020   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
      11/21/2020   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/21/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.7
      11/21/2020   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      11/21/2020   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      11/21/2020   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         547.34
      11/21/2020   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      11/21/2020   709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      11/21/2020   709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      11/21/2020   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      11/21/2020   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
      11/21/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.56
      11/21/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.37
      11/21/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.06
      11/21/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.93
      11/21/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         246.31
      11/21/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.77
      11/21/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.29
      11/21/2020   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      11/21/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      11/21/2020   709   SB0103   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     17.33
      11/21/2020   709   SB0103   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    693.16
      11/21/2020   709   SB0103   Owner Operator   Truck Payment                  CTMS - 245860 3303Truck Lease         133.15
      11/21/2020   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      11/21/2020   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      11/21/2020   709   SM0109   Owner Operator   Broker Pre Pass                DriveWyze TRK33195                      9.84
      11/21/2020   709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13

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      11/21/2020   709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      11/21/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           311
      11/21/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           295
      11/21/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.91
      11/21/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           263
      11/21/2020   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      11/21/2020   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      11/21/2020   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      11/21/2020   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      11/21/2020   709   SM0109   Owner Operator   Repair Order                   CTMS - 245811 Repair                    250
      11/21/2020   709   SM0109   Owner Operator   Tire Purchase                  008840~MICHELIN NORTH AMERICA         397.46
      11/21/2020   709   SM0109   Owner Operator   Tire Purchase                  008840~MICHELIN NORTH AMERICA         272.72
      11/21/2020   709   SM0109   Owner Operator   Tire Purchase                  008840~MICHELIN NORTH AMERICA         272.72
      11/21/2020   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      11/21/2020   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      11/21/2020   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/21/2020   709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                      9.84
      11/21/2020   709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      11/21/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/21/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/21/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.44
      11/21/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.21
      11/21/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          166.2
      11/21/2020   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      11/21/2020   709   SN0019   Owner Operator   Truck Payment                  CTMS - 245798 TRUCK RENTAL              500
      11/21/2020   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      11/21/2020   709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                      9.84
      11/21/2020   709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      11/21/2020   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/21/2020   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/21/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.14
      11/21/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           236
      11/21/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           245
      11/21/2020   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      11/21/2020   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.11
      11/21/2020   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/21/2020   709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                      9.84
      11/21/2020   709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      11/21/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/21/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/21/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/21/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/21/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         111.79
      11/21/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.62
      11/21/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.35
      11/21/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.45
      11/21/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.36
      11/21/2020   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      11/21/2020   709   WA0036   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/21/2020   709   WA0036   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/21/2020   709   WA0036   Owner Operator   Communication Charge           Safety Tech Hardware 35136                20
      11/21/2020   709   WA0036   Owner Operator   Communication Charge           Safety Tech Hardware 35136                20
      11/21/2020   709   WA0036   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      47.92
      11/21/2020   709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      47.92
      11/21/2020   709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      11/21/2020   709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      11/21/2020   709   WA0036   Owner Operator   T Chek Fee                     School Checks (Corp)                   59.17
      11/21/2020   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/21/2020   709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                      9.84
      11/21/2020   709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      11/21/2020   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      11/21/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/21/2020   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      11/21/2020   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          38.05
      11/21/2020   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      11/21/2020   742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13

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      11/21/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                               100
      11/21/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                               100
      11/21/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                               100
      11/21/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                              1
      11/21/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                              1
      11/21/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                              1
      11/21/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                            225.84
      11/21/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                            341.05
      11/21/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                            154.12
      11/21/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                            221.56
      11/21/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                            335.38
      11/21/2020   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                       53.74
      11/21/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism               2.5
      11/21/2020   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                         8.75
      11/21/2020   742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                   13
      11/21/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                            392.46
      11/21/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                            331.89
      11/21/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                            413.03
      11/21/2020   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                         72.19
      11/21/2020   742   CA0089   Owner Operator   Toll Charges                   33987 BATA Bay Bridge                        26
      11/21/2020   742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                      143.14
      11/21/2020   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                      8.75
      11/21/2020   742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                   13
      11/21/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                              212
      11/21/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                            205.01
      11/21/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                              205
      11/21/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                              271
      11/21/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                              215
      11/21/2020   742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment            268.58
      11/21/2020   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                      72.19
      11/21/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism              2.5
      11/21/2020   742   DA0067   Owner Operator   Toll Charges                                                    33847       26
      11/21/2020   742   DA0067   Owner Operator   Toll Charges                                                    33847       26
      11/21/2020   742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                         9.84
      11/21/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                   13
      11/21/2020   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                            456.98
      11/21/2020   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                      8.75
      11/21/2020   742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                   13
      11/21/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                            449.99
      11/21/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                            453.29
      11/21/2020   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                      24.07
      11/21/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism              2.5
      11/21/2020   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                          8.75
      11/21/2020   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                          8.75
      11/21/2020   742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                         9.84
      11/21/2020   742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                   13
      11/21/2020   742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                   13
      11/21/2020   742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                   13
      11/21/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                            102.61
      11/21/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                            137.22
      11/21/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                            338.53
      11/21/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                            272.16
      11/21/2020   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              9.13
      11/21/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                          28.08
      11/21/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                          28.08
      11/21/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                          28.08
      11/21/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism                  2.5
      11/21/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism                  2.5
      11/21/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism                  2.5
      11/21/2020   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Hardy North - Rank                4
      11/21/2020   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Hardy North - Rank                4
      11/21/2020   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                     8.75
      11/21/2020   742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                   13
      11/21/2020   742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                                50
      11/21/2020   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                     24.07
      11/21/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris              2.5

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      11/21/2020   742   JB0465   Owner Operator   Toll Charges                   34804 BATA Carquinez Bridge                  26
      11/21/2020   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                     8.75
      11/21/2020   742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                         9.84
      11/21/2020   742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                   13
      11/21/2020   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                     24.07
      11/21/2020   742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                     8.75
      11/21/2020   742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                   13
      11/21/2020   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                                50
      11/21/2020   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                     60.12
      11/21/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris              2.5
      11/21/2020   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                        6.69
      11/21/2020   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                      8.75
      11/21/2020   742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                         9.84
      11/21/2020   742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                   13
      11/21/2020   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                              200
      11/21/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                               100
      11/21/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                              1
      11/21/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                            141.36
      11/21/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                            155.67
      11/21/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                            250.34
      11/21/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                            388.17
      11/21/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                            190.85
      11/21/2020   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                         33.64
      11/21/2020   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                     107.16
      11/21/2020   742   RF0136   Owner Operator   Advance                        EFS 254662 s/u 2 wks                     143.99
      11/21/2020   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                         8.75
      11/21/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                              136.2
      11/21/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1.5
      11/21/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                            243.18
      11/21/2020   742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment            257.95
      11/21/2020   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                         54.55
      11/21/2020   742   RF0136   Owner Operator   Toll Charges                                                    34182       26
      11/21/2020   742   RF0136   Owner Operator   Toll Charges                                                    34182     11.7
      11/21/2020   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL               8.75
      11/21/2020   742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157                  13
      11/21/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                            253.22
      11/21/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                            274.58
      11/21/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                            185.76
      11/21/2020   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD                36.1
      11/21/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te              2.5
      11/21/2020   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                         8.75
      11/21/2020   742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK35030                         9.84
      11/21/2020   742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                   13
      11/21/2020   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                                50
      11/21/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                            451.58
      11/21/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                            345.47
      11/21/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                            110.48
      11/21/2020   742   RS0342   Owner Operator   IRP License Deduction          LCIL:2020 - 35030                          100
      11/21/2020   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                        147.03
      11/21/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism                 2.5
      11/21/2020   742   RS0342   Owner Operator   Toll Charges                   35030 HCTRA Sam Houston - Tele                5
      11/21/2020   742   RS0342   Owner Operator   Toll Charges                   35030 HCTRA Ship Channel Bridg                7
      11/21/2020   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                         8.75
      11/21/2020   742   SK0049   Owner Operator   Broker Pre Pass                DriveWyze TRK33934                        17.62
      11/21/2020   742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                   13
      11/21/2020   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                         60.16
      11/21/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism                 2.5
      11/21/2020   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL                8.75
      11/21/2020   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL                8.75
      11/21/2020   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL                8.75
      11/21/2020   742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                         9.84
      11/21/2020   742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 245677 HVUT Form 2290               110
      11/21/2020   742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 245825 HVUT Form 2290               110
      11/21/2020   742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                   13
      11/21/2020   742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                   13
      11/21/2020   742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                   13
      11/21/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                            349.98

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      11/21/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                            269.24
      11/21/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                            218.18
      11/21/2020   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD                68.98
      11/21/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD                68.98
      11/21/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD                68.98
      11/21/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter              2.5
      11/21/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter              2.5
      11/21/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter              2.5
      11/21/2020   742   TC0098   Owner Operator   Repair Order                   CTMS - 245549 Two Repairs Seat           306.53
      11/21/2020   742   TC0098   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                       198.33
      11/21/2020   742   TC0098   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                       198.33
      11/21/2020   742   TC0098   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                       198.33
      11/21/2020   742   TC0098   Owner Operator   Toll Charges                                                    33489       26
      11/21/2020   742   TC0098   Owner Operator   Toll Charges                                                    33489       26
      11/21/2020   742   TC0098   Owner Operator   Toll Charges                   33489 ILTOLL Dixon                         9.18
      11/21/2020   742   TC0098   Owner Operator   Truck Payment                  CTMS - 245519 33489 Lease Paym           412.16
      11/21/2020   781   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL                8.75
      11/21/2020   781   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL                8.75
      11/21/2020   781   MM0054   Owner Operator   Broker Pre Pass                DriveWyze TRK86900                        17.62
      11/21/2020   781   MM0054   Owner Operator   Communication Charge           Safety Tech Hardware 86900                   13
      11/21/2020   781   MM0054   Owner Operator   Communication Charge           Safety Tech Hardware 86900                   13
      11/21/2020   781   MM0054   Owner Operator   Communication Charge           Safety Tech Hardware 86900                   13
      11/21/2020   781   MM0054   Owner Operator   Communication Charge           Safety Tech Hardware 86900                   13
      11/21/2020   781   MM0054   Owner Operator   Communication Charge           Safety Tech Hardware 86900                   13
      11/21/2020   781   MM0054   Owner Operator   ESCROW                         Weekly Escrow                                50
      11/21/2020   781   MM0054   Owner Operator   ESCROW                         Weekly Escrow                                50
      11/21/2020   781   MM0054   Owner Operator   ESCROW                         Weekly Escrow                                50
      11/21/2020   781   MM0054   Owner Operator   ESCROW                         Weekly Escrow                                50
      11/21/2020   781   MM0054   Owner Operator   ESCROW                         Weekly Escrow                                50
      11/21/2020   781   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             55.75
      11/21/2020   781   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             55.75
      11/21/2020   781   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD                16.05
      11/21/2020   781   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD                16.05
      11/21/2020   781   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD                 0.63
      11/21/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                    8.75
      11/21/2020   783   AJ0066   Owner Operator   Broker Pre Pass                DriveWyze TRK86816                        17.62
      11/21/2020   783   AJ0066   Owner Operator   Communication Charge           Safety Tech Hardware 86816                   13
      11/21/2020   783   AJ0066   Owner Operator   ESCROW                         Weekly Escrow                                50
      11/21/2020   783   AJ0066   Owner Operator   IRP License Deduction          LCIL:2020 - 86816                          100
      11/21/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                    68.18
      11/21/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori              2.5
      11/21/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                      8.75
      11/21/2020   783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                             34.26
      11/21/2020   783   CH0168   Owner Operator   IRP License Deduction          LCIL:2020 - 35066                          100
      11/21/2020   783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                      72.19
      11/21/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism              2.5
      11/21/2020   783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                    8.75
      11/21/2020   783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                   13
      11/21/2020   783   DS0317   Owner Operator   ESCROW                         Weekly Escrow                                50
      11/21/2020   783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                    38.34
      11/21/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori              2.5
      11/21/2020   783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                     8.75
      11/21/2020   783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                   13
      11/21/2020   783   GR0095   Owner Operator   ESCROW                         Weekly Escrow                                50
      11/21/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                            290.65
      11/21/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                            435.43
      11/21/2020   783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                     16.05
      11/21/2020   783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                    8.75
      11/21/2020   783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                   13
      11/21/2020   783   HP0028   Owner Operator   ESCROW                         Weekly Escrow                                50
      11/21/2020   783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                            426.17
      11/21/2020   783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                            408.78
      11/21/2020   783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                              47.5
      11/21/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                    32.09
      11/21/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori              2.5
      11/21/2020   783   JL0281   Owner Operator   Fuel Card Advances             Cash Advance                               500

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      11/21/2020   783   JL0281   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/21/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.15
      11/21/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.59
      11/21/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         516.34
      11/21/2020   783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      11/21/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.94
      11/21/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.18
      11/21/2020   783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
      11/21/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      11/21/2020   783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/21/2020   783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
      11/21/2020   783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.62
      11/21/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         263.79
      11/21/2020   783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
      11/21/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/21/2020   783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      11/21/2020   783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
      11/21/2020   783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/21/2020   783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/21/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         123.18
      11/21/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.76
      11/21/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.93
      11/21/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.24
      11/21/2020   783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
      11/21/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      11/21/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   2016 Western Star NTL                   8.75
      11/21/2020   783   OJ0010   Owner Operator   Broker Pre Pass                DriveWyze TRK35086                     17.62
      11/21/2020   783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 35086                13
      11/21/2020   783   OJ0010   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.52
      11/21/2020   783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD                   40.07
      11/21/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD Terrorism           2.5
      11/21/2020   783   OJ0010   Owner Operator   Toll Charges                   35086 BATA Antioch Bridge                 26
      11/21/2020   783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      11/21/2020   783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
      11/21/2020   783   RC0294   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.87
      11/21/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.31
      11/21/2020   783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      11/21/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      11/21/2020   783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      11/21/2020   783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      11/21/2020   783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      11/21/2020   783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
      11/21/2020   783   RD0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   783   RD0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.25
      11/21/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.64
      11/21/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.23
      11/21/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.37
      11/21/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.83
      11/21/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.55
      11/21/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.95
      11/21/2020   783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
      11/21/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
      11/21/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      11/21/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      11/21/2020   783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      11/21/2020   783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
      11/21/2020   783   RM0340   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      11/21/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
      11/21/2020   783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75

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      11/21/2020   783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
      11/21/2020   783   RS0377   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/21/2020   783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/21/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
      11/21/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      11/28/2020   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      11/28/2020   709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      11/28/2020   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/28/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.73
      11/28/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         322.04
      11/28/2020   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            36.88
      11/28/2020   709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      11/28/2020   709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
      11/28/2020   709   AC0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.05
      11/28/2020   709   AG0116   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/28/2020   709   AG0116   Owner Operator   Communication Charge           Safety Tech Hardware 35099                20
      11/28/2020   709   AG0116   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   709   AG0116   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.06
      11/28/2020   709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      11/28/2020   709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      11/28/2020   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         354.79
      11/28/2020   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.05
      11/28/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      11/28/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 245991 truck 32781 Leas        225.29
      11/28/2020   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.31
      11/28/2020   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      11/28/2020   709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      11/28/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.54
      11/28/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.24
      11/28/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.24
      11/28/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.85
      11/28/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         129.18
      11/28/2020   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            36.07
      11/28/2020   709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
      11/28/2020   709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
      11/28/2020   709   BR0082   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.09
      11/28/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
      11/28/2020   709   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      11/28/2020   709   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      11/28/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.73
      11/28/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.86
      11/28/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          288.8
      11/28/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           5.92
      11/28/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.33
      11/28/2020   709   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  113.48
      11/28/2020   709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      11/28/2020   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      11/28/2020   709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      11/28/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/28/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/28/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         257.32
      11/28/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         458.75
      11/28/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.04
      11/28/2020   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            36.07
      11/28/2020   709   CC0134   Owner Operator   Tire Purchase                  GY 0084332631 s/u 10/31/20             96.86
      11/28/2020   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/28/2020   709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      11/28/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         488.49
      11/28/2020   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      11/28/2020   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.04
      11/28/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/28/2020   709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      11/28/2020   709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13

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      11/28/2020   709   CM0224   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/28/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/28/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         543.68
      11/28/2020   709   CM0224   Owner Operator   IRP License Deduction          LCIL:2020 - 8968                        100
      11/28/2020   709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.02
      11/28/2020   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      11/28/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/28/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/28/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.85
      11/28/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.47
      11/28/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.69
      11/28/2020   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.87
      11/28/2020   709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      11/28/2020   709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      11/28/2020   709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/28/2020   709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/28/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.08
      11/28/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.28
      11/28/2020   709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.17
      11/28/2020   709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      11/28/2020   709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      11/28/2020   709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13199                     9.84
      11/28/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          95.97
      11/28/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.39
      11/28/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.19
      11/28/2020   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.04
      11/28/2020   709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.07
      11/28/2020   709   DL0029   Owner Operator   Truck Payment                  CTMS - 245801 Q13199 Lease            193.11
      11/28/2020   709   DL0029   Owner Operator   Truck Payment                  CTMS - 245957 Q13199 Lease            193.11
      11/28/2020   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      11/28/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.12
      11/28/2020   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.16
      11/28/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      11/28/2020   709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      11/28/2020   709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      11/28/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/28/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/28/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.73
      11/28/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.75
      11/28/2020   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  114.69
      11/28/2020   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      11/28/2020   709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      11/28/2020   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      11/28/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         463.78
      11/28/2020   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.09
      11/28/2020   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/28/2020   709   DS0288   Owner Operator   Communication Charge           Safety Tech Hardware 34266                13
      11/28/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.94
      11/28/2020   709   DS0288   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.96
      11/28/2020   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.11
      11/28/2020   709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                13
      11/28/2020   709   DT0153   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.89
      11/28/2020   709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/28/2020   709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      11/28/2020   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      11/28/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/28/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/28/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.23
      11/28/2020   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      11/28/2020   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      11/28/2020   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      11/28/2020   709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      11/28/2020   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      11/28/2020   709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      11/28/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.42
      11/28/2020   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.11
      11/28/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      11/28/2020   709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/28/2020   709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      11/28/2020   709   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/28/2020   709   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/28/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         113.61
      11/28/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.12
      11/28/2020   709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      11/28/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/28/2020   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      11/28/2020   709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      11/28/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/28/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/28/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/28/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/28/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.94
      11/28/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.43
      11/28/2020   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.91
      11/28/2020   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      11/28/2020   709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      11/28/2020   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.09
      11/28/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/28/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      11/28/2020   709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      11/28/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/28/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/28/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.72
      11/28/2020   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.04
      11/28/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.67
      11/28/2020   709   GA0051   Owner Operator   Truck Payment                  CTMS - 245988 Q1200 Lease             238.16
      11/28/2020   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      11/28/2020   709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      11/28/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.14
      11/28/2020   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            36.07
      11/28/2020   709   HC0023   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     30.29
      11/28/2020   709   HC0023   Owner Operator   Truck Payment                  CTMS - 245992 Back tractor pay        235.12
      11/28/2020   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      11/28/2020   709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      11/28/2020   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/28/2020   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/28/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         501.08
      11/28/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.44
      11/28/2020   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.64
      11/28/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   2.48
      11/28/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/28/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/28/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      11/28/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   33065 2014 Freightliner NTL             8.75
      11/28/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   33065 2014 Freightliner NTL             8.75
      11/28/2020   709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                      9.84
      11/28/2020   709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      11/28/2020   709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      11/28/2020   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                          292.9
      11/28/2020   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/28/2020   709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      11/28/2020   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    52.7

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      11/28/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      11/28/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      11/28/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      11/28/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD             71.88
      11/28/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD             71.88
      11/28/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD Ter           2.5
      11/28/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD Ter           2.5
      11/28/2020   709   IA0007   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      11/28/2020   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.96
      11/28/2020   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      11/28/2020   709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      11/28/2020   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/28/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/28/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/28/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/28/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/28/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.27
      11/28/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.62
      11/28/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.18
      11/28/2020   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.11
      11/28/2020   709   JC0292   Owner Operator   Truck Payment                  CTMS - 245994 Q13197 Lease            276.63
      11/28/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      11/28/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      11/28/2020   709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      11/28/2020   709   JC0418   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.08
      11/28/2020   709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        44.1
      11/28/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      11/28/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.04
      11/28/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      11/28/2020   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      11/28/2020   709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      11/28/2020   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      11/28/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      11/28/2020   709   JD0211   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    235.54
      11/28/2020   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/28/2020   709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      11/28/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/28/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/28/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/28/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/28/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          370.2
      11/28/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.95
      11/28/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.69
      11/28/2020   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      11/28/2020   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      11/28/2020   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/28/2020   709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      11/28/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/28/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/28/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/28/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/28/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         452.85
      11/28/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         443.02
      11/28/2020   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      11/28/2020   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   76.19
      11/28/2020   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/28/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.39
      11/28/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         378.58
      11/28/2020   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      36.07
      11/28/2020   709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                   8.75
      11/28/2020   709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                 13
      11/28/2020   709   JL0280   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.49
      11/28/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.44
      11/28/2020   709   JL0280   Owner Operator   IRP License Deduction          LCIL:2020 - 8970                        100
      11/28/2020   709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      11/28/2020   709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                   33.02
      11/28/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      11/28/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/28/2020   709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                13
      11/28/2020   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.17
      11/28/2020   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.03
      11/28/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.02
      11/28/2020   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      11/28/2020   709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13
      11/28/2020   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.14
      11/28/2020   709   JR0099   Owner Operator   Truck Payment                  CTMS - 245990 Balloon Payoff          234.05
      11/28/2020   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/28/2020   709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      11/28/2020   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           500
      11/28/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/28/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/28/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.99
      11/28/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           295
      11/28/2020   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      11/28/2020   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
      11/28/2020   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      11/28/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/28/2020   709   KP0004   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     93.68
      11/28/2020   709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      11/28/2020   709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      11/28/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.47
      11/28/2020   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.13
      11/28/2020   709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      11/28/2020   709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
      11/28/2020   709   KW0091   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      11/28/2020   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      11/28/2020   709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      11/28/2020   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.09
      11/28/2020   709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      11/28/2020   709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      11/28/2020   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
      11/28/2020   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/28/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.34
      11/28/2020   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.53
      11/28/2020   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      11/28/2020   709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      11/28/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.54
      11/28/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         335.04
      11/28/2020   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.77
      11/28/2020   709   MA0092   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    336.77
      11/28/2020   709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
      11/28/2020   709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
      11/28/2020   709   MC0207   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.09
      11/28/2020   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      11/28/2020   709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      11/28/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.54
      11/28/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.02
      11/28/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.24
      11/28/2020   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.95
      11/28/2020   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      11/28/2020   709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      11/28/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.25
      11/28/2020   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          36.07
      11/28/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      11/28/2020   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      11/28/2020   709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13

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      11/28/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            300
      11/28/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      11/28/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.92
      11/28/2020   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      11/28/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      11/28/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      11/28/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      11/28/2020   709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      11/28/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance                              50
      11/28/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      11/28/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.45
      11/28/2020   709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      11/28/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      11/28/2020   709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      11/28/2020   709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      11/28/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            150
      11/28/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      11/28/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.29
      11/28/2020   709   PY0003   Owner Operator   IRP License Deduction          LCIL:2020 - 35043                      30.65
      11/28/2020   709   PY0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.52
      11/28/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.54
      11/28/2020   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      11/28/2020   709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      11/28/2020   709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241              1.27
      11/28/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.31
      11/28/2020   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.09
      11/28/2020   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/28/2020   709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      11/28/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          324.9
      11/28/2020   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      11/28/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/28/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/28/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      11/28/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
      11/28/2020   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      11/28/2020   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.32
      11/28/2020   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.06
      11/28/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 35037                       100
      11/28/2020   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   79.26
      11/28/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.05
      11/28/2020   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      11/28/2020   709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      11/28/2020   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      11/28/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.59
      11/28/2020   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      11/28/2020   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    52.7
      11/28/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      11/28/2020   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.46
      11/28/2020   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      11/28/2020   709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      11/28/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         298.39
      11/28/2020   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.06
      11/28/2020   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      11/28/2020   709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      11/28/2020   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          375.6
      11/28/2020   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.14
      11/28/2020   709   RP0082   Owner Operator   Truck Payment                  CTMS - 245934 Q1202 Balloon           234.05
      11/28/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.27
      11/28/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.37
      11/28/2020   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      11/28/2020   709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      11/28/2020   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      11/28/2020   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      11/28/2020   709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      11/28/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.54
      11/28/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.14
      11/28/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.69
      11/28/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.5
      11/28/2020   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      11/28/2020   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.65
      11/28/2020   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         547.34
      11/28/2020   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      11/28/2020   709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      11/28/2020   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      11/28/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.29
      11/28/2020   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.31
      11/28/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      11/28/2020   709   SB0103   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    693.16
      11/28/2020   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      11/28/2020   709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      11/28/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           393
      11/28/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           155
      11/28/2020   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      11/28/2020   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             76.19
      11/28/2020   709   SM0109   Owner Operator   Tire Purchase                  008840~MICHELIN NORTH AMERICA         397.46
      11/28/2020   709   SM0109   Owner Operator   Tire Purchase                  008840~MICHELIN NORTH AMERICA         272.68
      11/28/2020   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      11/28/2020   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      11/28/2020   709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      11/28/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
      11/28/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      11/28/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.96
      11/28/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.47
      11/28/2020   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    44.1
      11/28/2020   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      11/28/2020   709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      11/28/2020   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      11/28/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.72
      11/28/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.99
      11/28/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          260.7
      11/28/2020   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      11/28/2020   709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      11/28/2020   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      11/28/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      11/28/2020   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      11/28/2020   709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      11/28/2020   709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      11/28/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.43
      11/28/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.07
      11/28/2020   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           9.45
      11/28/2020   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      11/28/2020   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      11/28/2020   709   WH0087   Owner Operator   Truck Payment                  CTMS - 245805 Q1238 Lease             311.97
      11/28/2020   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      11/28/2020   742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      11/28/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.86
      11/28/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.43
      11/28/2020   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.18
      11/28/2020   742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.13
      11/28/2020   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      11/28/2020   742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      11/28/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           450
      11/28/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           210
      11/28/2020   742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      11/28/2020   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.18
      11/28/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      11/28/2020   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75

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      11/28/2020   742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      11/28/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.96
      11/28/2020   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.04
      11/28/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      11/28/2020   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      11/28/2020   742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      11/28/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.58
      11/28/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.93
      11/28/2020   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.05
      11/28/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      11/28/2020   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      11/28/2020   742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      11/28/2020   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           554
      11/28/2020   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.04
      11/28/2020   742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      11/28/2020   742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      11/28/2020   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                   60.1
      11/28/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      11/28/2020   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      11/28/2020   742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      11/28/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.06
      11/28/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.57
      11/28/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.39
      11/28/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.94
      11/28/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.58
      11/28/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                          13.24
      11/28/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.89
      11/28/2020   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            36.07
      11/28/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      11/28/2020   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
      11/28/2020   742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
      11/28/2020   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.14
      11/28/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
      11/28/2020   781   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL             8.75
      11/28/2020   781   MM0054   Owner Operator   Communication Charge           Safety Tech Hardware 86900                13
      11/28/2020   781   MM0054   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   781   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.74
      11/28/2020   781   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD             16.02
      11/28/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                 8.75
      11/28/2020   783   AJ0066   Owner Operator   Communication Charge           Safety Tech Hardware 86816                13
      11/28/2020   783   AJ0066   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   AJ0066   Owner Operator   IRP License Deduction          LCIL:2020 - 86816                       100
      11/28/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.17
      11/28/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      11/28/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                   8.75
      11/28/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                   8.75
      11/28/2020   783   CH0168   Owner Operator   Broker Pre Pass                DriveWyze TRK35066                      9.84
      11/28/2020   783   CH0168   Owner Operator   Communication Charge           Safety Tech Hardware 35066                13
      11/28/2020   783   CH0168   Owner Operator   Communication Charge           Safety Tech Hardware 35066                13
      11/28/2020   783   CH0168   Owner Operator   Communication Charge           Safety Tech Hardware 35066                13
      11/28/2020   783   CH0168   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   CH0168   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   CH0168   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                         340.02
      11/28/2020   783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.44
      11/28/2020   783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.46
      11/28/2020   783   CH0168   Owner Operator   IRP License Deduction          LCIL:2020 - 35066                       100
      11/28/2020   783   CH0168   Owner Operator   IRP License Deduction          LCIL:2020 - 35066                       100
      11/28/2020   783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                   72.18
      11/28/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                   72.19
      11/28/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism           2.5
      11/28/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism           2.5
      11/28/2020   783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75

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      11/28/2020   783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                13
      11/28/2020   783   DS0317   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                         434.87
      11/28/2020   783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.31
      11/28/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      11/28/2020   783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      11/28/2020   783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
      11/28/2020   783   GR0095   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.03
      11/28/2020   783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.02
      11/28/2020   783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      11/28/2020   783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                13
      11/28/2020   783   HP0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         441.68
      11/28/2020   783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.06
      11/28/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      11/28/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
      11/28/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
      11/28/2020   783   JL0281   Owner Operator   Broker Pre Pass                DriveWyze TRK35061                     17.62
      11/28/2020   783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061                13
      11/28/2020   783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061                13
      11/28/2020   783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                          30.58
      11/28/2020   783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   JL0281   Owner Operator   Fuel Card Advances             Cash Advance                            500
      11/28/2020   783   JL0281   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      11/28/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.93
      11/28/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         214.21
      11/28/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.39
      11/28/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.53
      11/28/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         303.06
      11/28/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.66
      11/28/2020   783   JL0281   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   JL0281   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.14
      11/28/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.16
      11/28/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
      11/28/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
      11/28/2020   783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      11/28/2020   783   MA0112   Owner Operator   Communication Charge           Safety Tech Hardware 86931                13
      11/28/2020   783   MA0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.69
      11/28/2020   783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.02
      11/28/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      11/28/2020   783   MA0112   Owner Operator   Toll Charges                   86931 BATA Richmond                       26
      11/28/2020   783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      11/28/2020   783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
      11/28/2020   783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         529.13
      11/28/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         492.64
      11/28/2020   783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.16
      11/28/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      11/28/2020   783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      11/28/2020   783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
      11/28/2020   783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          145.4
      11/28/2020   783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.81
      11/28/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      11/28/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   2016 Western Star NTL                   8.75
      11/28/2020   783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 35086                13
      11/28/2020   783   OJ0010   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.49
      11/28/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.84
      11/28/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.65
      11/28/2020   783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD                   40.05
      11/28/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD Terrorism           2.5

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      11/28/2020   783   OJ0010   Owner Operator   Toll Charges                   35086 BATA Antioch Bridge                 26
      11/28/2020   783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      11/28/2020   783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
      11/28/2020   783   RC0294   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.37
      11/28/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.35
      11/28/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          179.3
      11/28/2020   783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      11/28/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      11/28/2020   783   RC0294   Owner Operator   Toll Charges                   86734 BATA Antioch Bridge                 26
      11/28/2020   783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      11/28/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.76
      11/28/2020   783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                        5.3
      11/28/2020   783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      11/28/2020   783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
      11/28/2020   783   RM0340   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.59
      11/28/2020   783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      11/28/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
      11/28/2020   783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      11/28/2020   783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
      11/28/2020   783   RS0377   Owner Operator   ESCROW                         Weekly Escrow                             50
      11/28/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.32
      11/28/2020   783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      11/28/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.09
      11/28/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
       12/5/2020   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       12/5/2020   709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
       12/5/2020   709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
       12/5/2020   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
       12/5/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.35
       12/5/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.47
       12/5/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         370.85
       12/5/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.02
       12/5/2020   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/5/2020   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
       12/5/2020   709   AC0061   Owner Operator   Truck Payment                  CTMS - 246037 Q13148 Trac Leas        296.09
       12/5/2020   709   AC0061   Owner Operator   Truck Payment                  CTMS - 246170 Q13148 Trac Leas        296.09
       12/5/2020   709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
       12/5/2020   709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
       12/5/2020   709   AC0122   Owner Operator   ESCROW                         Weekly Escrow                             50
       12/5/2020   709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/5/2020   709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
       12/5/2020   709   AG0116   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       12/5/2020   709   AG0116   Owner Operator   Communication Charge           Safety Tech Hardware 35099                20
       12/5/2020   709   AG0116   Owner Operator   ESCROW                         Weekly Escrow                             50
       12/5/2020   709   AG0116   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/5/2020   709   AG0116   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.09
       12/5/2020   709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
       12/5/2020   709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
       12/5/2020   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         354.79
       12/5/2020   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/5/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
       12/5/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
       12/5/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 245936 TRUCK RENTAL              350
       12/5/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 246115 truck 32781 Leas        225.29
       12/5/2020   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       12/5/2020   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       12/5/2020   709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
       12/5/2020   709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
       12/5/2020   709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
       12/5/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          355.9
       12/5/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.27
       12/5/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.54
       12/5/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.88
       12/5/2020   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/5/2020   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/5/2020   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            36.07
       12/5/2020   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
       12/5/2020   709   AR0064   Owner Operator   Truck Payment                  CTMS - 246038 Baloon Q13147           357.62

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      12/5/2020    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      12/5/2020    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      12/5/2020    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      12/5/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance                              50
      12/5/2020    709   AV0021   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      12/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             91
      12/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          87.88
      12/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.52
      12/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.44
      12/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          75.75
      12/5/2020    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           86.3
      12/5/2020    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      12/5/2020    709   AV0021   Owner Operator   Truck Payment                  CTMS - 246030 Q13169 Sublease         352.68
      12/5/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      12/5/2020    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      12/5/2020    709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
      12/5/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      12/5/2020    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      12/5/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      12/5/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      12/5/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      12/5/2020    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      12/5/2020    709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
      12/5/2020    709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
      12/5/2020    709   BR0082   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.24
      12/5/2020    709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.11
      12/5/2020    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
      12/5/2020    709   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      12/5/2020    709   BS0078   Owner Operator   Broker Pre Pass                34900 PrePass Device                    12.5
      12/5/2020    709   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      12/5/2020    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.94
      12/5/2020    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         206.04
      12/5/2020    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.46
      12/5/2020    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.62
      12/5/2020    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.09
      12/5/2020    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.49
      12/5/2020    709   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      12/5/2020    709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      12/5/2020    709   BS0078   Owner Operator   Toll Charges                   34900 BATA Carquinez Bridge               26
      12/5/2020    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      12/5/2020    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
      12/5/2020    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      12/5/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/5/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/5/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/5/2020    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/5/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.66
      12/5/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.29
      12/5/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.42
      12/5/2020    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.19
      12/5/2020    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      12/5/2020    709   CC0134   Owner Operator   T Chek Fee                     ExpressCheck Fee                        0.56
      12/5/2020    709   CC0134   Owner Operator   T Chek Fee                     Tractor Repair Q13168                  56.19
      12/5/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 245961 Q13168 sub lease        352.68
      12/5/2020    709   CC0134   Owner Operator   Truck Payment                  CTMS - 246092 Q13168 sub lease        352.68
      12/5/2020    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/5/2020    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
      12/5/2020    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      12/5/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/5/2020    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/5/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         528.11
      12/5/2020    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         508.98
      12/5/2020    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      12/5/2020    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      12/5/2020    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5

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      12/5/2020    709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      12/5/2020    709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/5/2020    709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/5/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         555.95
      12/5/2020    709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.17
      12/5/2020    709   CM0224   Owner Operator   IRP License Deduction          LCIL:2020 - 8968                        100
      12/5/2020    709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   CM0224   Owner Operator   Permits                        NY13:2020 - 8968                         1.5
      12/5/2020    709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.05
      12/5/2020    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      12/5/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      12/5/2020    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      12/5/2020    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.93
      12/5/2020    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      12/5/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 245987 Q1247 Sub Lease         263.91
      12/5/2020    709   CR0064   Owner Operator   Truck Payment                  CTMS - 246112 Q1247 Sub Lease         263.91
      12/5/2020    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      12/5/2020    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      12/5/2020    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.46
      12/5/2020    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.63
      12/5/2020    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      12/5/2020    709   CV0028   Owner Operator   T Chek Fee                     Cancelled/Expired EFS CV0028          -370.9
      12/5/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 245956 Lease Truck 3348        335.96
      12/5/2020    709   CV0028   Owner Operator   Truck Payment                  CTMS - 246088 Lease Truck 3348        335.96
      12/5/2020    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
      12/5/2020    709   DL0029   Owner Operator   Broker Pre Pass                Q13199 PrePass Device                   12.5
      12/5/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.76
      12/5/2020    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.74
      12/5/2020    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.07
      12/5/2020    709   DL0029   Owner Operator   Truck Payment                  CTMS - 246089 Q13199 Lease            193.11
      12/5/2020    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      12/5/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/5/2020    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/5/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.42
      12/5/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          403.6
      12/5/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         364.93
      12/5/2020    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.76
      12/5/2020    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.45
      12/5/2020    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      12/5/2020    709   DM0257   Owner Operator   Broker Pre Pass                34328 PrePass Device                    12.5
      12/5/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                           92.9
      12/5/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.69
      12/5/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.27
      12/5/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.86
      12/5/2020    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.33
      12/5/2020    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                   19.17
      12/5/2020    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism           2.5
      12/5/2020    709   DM0257   Owner Operator   Toll Charges                   34328 HCTRA Ship Channel Bridg             7
      12/5/2020    709   DM0257   Owner Operator   Toll Charges                   34328 HCTRA Ship Channel Bridg           3.5
      12/5/2020    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      12/5/2020    709   DS0049   Owner Operator   Broker Pre Pass                34880 PrePass Device                    12.5
      12/5/2020    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      12/5/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/5/2020    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/5/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.51
      12/5/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         416.63
      12/5/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          210.3
      12/5/2020    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.62
      12/5/2020    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      12/5/2020    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      12/5/2020    709   DS0049   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      12/5/2020    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      12/5/2020    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      12/5/2020    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      12/5/2020    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         499.05
      12/5/2020    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/5/2020    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      12/5/2020    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/5/2020    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    3.27
      12/5/2020    709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                13
      12/5/2020    709   DT0153   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.48
      12/5/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.49
      12/5/2020    709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.14
      12/5/2020    709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/5/2020    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
      12/5/2020    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      12/5/2020    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250
      12/5/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/5/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/5/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/5/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/5/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/5/2020    709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/5/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.46
      12/5/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.61
      12/5/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                             97
      12/5/2020    709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.66
      12/5/2020    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      12/5/2020    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      12/5/2020    709   EA0003   Owner Operator   Tractor Charge                 16439 - 33051                         545.75
      12/5/2020    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      12/5/2020    709   EG0062   Owner Operator   Broker Pre Pass                33828 PrePass Device                    12.5
      12/5/2020    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      12/5/2020    709   EG0062   Owner Operator   ESCROW                         Escrow Withdrawal                      -5000
      12/5/2020    709   EG0062   Owner Operator   Express Check                  T-Check Payment                         5000
      12/5/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.77
      12/5/2020    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.33
      12/5/2020    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      12/5/2020    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      12/5/2020    709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/5/2020    709   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      12/5/2020    709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      12/5/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         366.47
      12/5/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.91
      12/5/2020    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.95
      12/5/2020    709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      12/5/2020    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/5/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      12/5/2020    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      12/5/2020    709   EO0014   Owner Operator   Broker Pre Pass                33846 PrePass Device                    12.5
      12/5/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      12/5/2020    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      12/5/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/5/2020    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/5/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             160
      12/5/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/5/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/5/2020    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      12/5/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.44
      12/5/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         216.68
      12/5/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                            261
      12/5/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.38
      12/5/2020    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         228.85
      12/5/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 80.2
      12/5/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      12/5/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/5/2020    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/5/2020    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      12/5/2020    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
      12/5/2020    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      12/5/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                             100

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      12/5/2020    709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/5/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.59
      12/5/2020    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.53
      12/5/2020    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      12/5/2020    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/5/2020    709   FV0001   Owner Operator   Broker Pre Pass                21521B PrePass Device                   12.5
      12/5/2020    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      12/5/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         406.06
      12/5/2020    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         578.73
      12/5/2020    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11
      12/5/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/5/2020    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      12/5/2020    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      12/5/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/5/2020    709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/5/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.22
      12/5/2020    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          68.33
      12/5/2020    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      12/5/2020    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      12/5/2020    709   GA0051   Owner Operator   Truck Payment                  CTMS - 246113 Q1200 Lease             238.16
      12/5/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      12/5/2020    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      12/5/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      12/5/2020    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      12/5/2020    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.16
      12/5/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.09
      12/5/2020    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      12/5/2020    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      12/5/2020    709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      12/5/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          33.49
      12/5/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.43
      12/5/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.82
      12/5/2020    709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.25
      12/5/2020    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      12/5/2020    709   HC0023   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     30.28
      12/5/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 246031 Q13170                  352.68
      12/5/2020    709   HC0023   Owner Operator   Truck Payment                  CTMS - 246116 Back tractor pay        235.12
      12/5/2020    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      12/5/2020    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      12/5/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          347.1
      12/5/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.24
      12/5/2020    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.45
      12/5/2020    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      12/5/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/5/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   33065 2014 Freightliner NTL             8.75
      12/5/2020    709   IA0007   Owner Operator   BOBTAIL INS.                   33065 2014 Freightliner NTL             8.75
      12/5/2020    709   IA0007   Owner Operator   Broker Pre Pass                non returned prepass IA0007              100
      12/5/2020    709   IA0007   Owner Operator   Broker Pre Pass                returned prepass IA0007                 -100
      12/5/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      12/5/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      12/5/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      12/5/2020    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      12/5/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            400
      12/5/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                          107.1
      12/5/2020    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                            400
      12/5/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.35
      12/5/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.73
      12/5/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.74
      12/5/2020    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.79
      12/5/2020    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      12/5/2020    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   IA0007   Owner Operator   Permits1                       CUST:2020 - 33065                     408.84
      12/5/2020    709   IA0007   Owner Operator   Permits1                       ID06:2020 - 33065                       10.3
      12/5/2020    709   IA0007   Owner Operator   Permits1                       IL02:2020 - 33065                       3.75
      12/5/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      12/5/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5

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      12/5/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD             71.88
      12/5/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD             71.88
      12/5/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD Ter           2.5
      12/5/2020    709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD Ter           2.5
      12/5/2020    709   IA0007   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      12/5/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      12/5/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      12/5/2020    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.34
      12/5/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/5/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/5/2020    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/5/2020    709   IR0002   Owner Operator   Broker Pre Pass                32901 PrePass Device                    12.5
      12/5/2020    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      12/5/2020    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.64
      12/5/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      12/5/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      12/5/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.07
      12/5/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/5/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/5/2020    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/5/2020    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      12/5/2020    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      12/5/2020    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
      12/5/2020    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      12/5/2020    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                          94.87
      12/5/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/5/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/5/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/5/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/5/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/5/2020    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/5/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.92
      12/5/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         373.94
      12/5/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.92
      12/5/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.81
      12/5/2020    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.21
      12/5/2020    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      12/5/2020    709   JC0292   Owner Operator   Truck Payment                  CTMS - 246119 Q13197 Lease            276.63
      12/5/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      12/5/2020    709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      12/5/2020    709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      12/5/2020    709   JC0418   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                          320.8
      12/5/2020    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                          368.1
      12/5/2020    709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       44.12
      12/5/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      12/5/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.07
      12/5/2020    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      12/5/2020    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/5/2020    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      12/5/2020    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      12/5/2020    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      12/5/2020    709   JD0211   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     235.5
      12/5/2020    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/5/2020    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
      12/5/2020    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      12/5/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/5/2020    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/5/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         170.97
      12/5/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         358.07
      12/5/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.38
      12/5/2020    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.43
      12/5/2020    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      12/5/2020    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      12/5/2020    709   JG0017   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      12/5/2020    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      12/5/2020    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909              13
      12/5/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2020    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       472.28
      12/5/2020    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                       432.81
      12/5/2020    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                    33.64
      12/5/2020    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2020    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  76.2
      12/5/2020    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
      12/5/2020    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                  12.5
      12/5/2020    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       381.58
      12/5/2020    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2020    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     36.1
      12/5/2020    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                 8.75
      12/5/2020    709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970               13
      12/5/2020    709   JL0280   Owner Operator   ESCROW                         Weekly Escrow                           50
      12/5/2020    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                       207.55
      12/5/2020    709   JL0280   Owner Operator   IRP License Deduction          LCIL:2020 - 8970                      100
      12/5/2020    709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2020    709   JL0280   Owner Operator   Permits                        NY13:2020 - 8970                       1.5
      12/5/2020    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                 33.04
      12/5/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                 8.75
      12/5/2020    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
      12/5/2020    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                 20.06
      12/5/2020    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 16.05
      12/5/2020    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
      12/5/2020    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203              13
      12/5/2020    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2020    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           60.16
      12/5/2020    709   JR0099   Owner Operator   Truck Payment                  CTMS - 246114 Balloon Payoff        234.05
      12/5/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      12/5/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      12/5/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      12/5/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
      12/5/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL          8.75
      12/5/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL          8.75
      12/5/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL          8.75
      12/5/2020    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL          8.75
      12/5/2020    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                   9.84
      12/5/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159             13
      12/5/2020    709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159             13
      12/5/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      12/5/2020    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
      12/5/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
      12/5/2020    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
      12/5/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       334.73
      12/5/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       326.72
      12/5/2020    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       296.96
      12/5/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2020    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
      12/5/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      38.5
      12/5/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      38.5
      12/5/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      38.5
      12/5/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      38.5
      12/5/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD          41.31
      12/5/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD           41.3
      12/5/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD          41.31
      12/5/2020    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD          41.31
      12/5/2020    709   JS0265   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                   93.64
      12/5/2020    709   JS0265   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                  102.55
      12/5/2020    709   JS0265   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                   93.67
      12/5/2020    709   JS0265   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                  102.55
      12/5/2020    709   JS0265   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                   93.67
      12/5/2020    709   JS0265   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                  102.55
      12/5/2020    709   JS0265   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                  102.54
      12/5/2020    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
      12/5/2020    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                  12.5
      12/5/2020    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914              13

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      12/5/2020    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                           500
      12/5/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/5/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/5/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/5/2020    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/5/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         276.01
      12/5/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         102.01
      12/5/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           260
      12/5/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                             88
      12/5/2020    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           293
      12/5/2020    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      12/5/2020    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
      12/5/2020    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      12/5/2020    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/5/2020    709   KP0004   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     93.66
      12/5/2020    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      12/5/2020    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      12/5/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.93
      12/5/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.27
      12/5/2020    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          341.5
      12/5/2020    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      12/5/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 245956 33483 Lease 208         335.48
      12/5/2020    709   KT0055   Owner Operator   Truck Payment                  CTMS - 246088 33483 Lease 208         335.48
      12/5/2020    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      12/5/2020    709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
      12/5/2020    709   KW0091   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      12/5/2020    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      12/5/2020    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      12/5/2020    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      12/5/2020    709   LL0160   Owner Operator   Truck Payment                  CTMS - 246171 Balloon Pay off         200.15
      12/5/2020    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      12/5/2020    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                    12.5
      12/5/2020    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      12/5/2020    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         376.67
      12/5/2020    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      12/5/2020    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/5/2020    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      12/5/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.83
      12/5/2020    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          306.6
      12/5/2020    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      12/5/2020    709   MA0092   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    336.73
      12/5/2020    709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
      12/5/2020    709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
      12/5/2020    709   MC0207   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.11
      12/5/2020    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      12/5/2020    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      12/5/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/5/2020    709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/5/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                           87.1
      12/5/2020    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.54
      12/5/2020    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      12/5/2020    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/5/2020    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      12/5/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.87
      12/5/2020    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.83
      12/5/2020    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      12/5/2020    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/5/2020    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/5/2020    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      12/5/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/5/2020    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/5/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.56
      12/5/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.08

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      12/5/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.53
      12/5/2020    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         105.93
      12/5/2020    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      12/5/2020    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      12/5/2020    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          42.55
      12/5/2020    709   PM0099   Owner Operator   Arrears                        Credit Billing                         61.12
      12/5/2020    709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      12/5/2020    709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      12/5/2020    709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      12/5/2020    709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      12/5/2020    709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      12/5/2020    709   PM0099   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    709   PM0099   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    709   PM0099   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance                              75
      12/5/2020    709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance                              60
      12/5/2020    709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance                              30
      12/5/2020    709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance                              50
      12/5/2020    709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/5/2020    709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/5/2020    709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      12/5/2020    709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.3
      12/5/2020    709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.6
      12/5/2020    709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                        0.75
      12/5/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.24
      12/5/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          91.69
      12/5/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.36
      12/5/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.25
      12/5/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.03
      12/5/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.73
      12/5/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.41
      12/5/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.51
      12/5/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                           58.8
      12/5/2020    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.33
      12/5/2020    709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      12/5/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      12/5/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      12/5/2020    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      12/5/2020    709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      12/5/2020    709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      12/5/2020    709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/5/2020    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/5/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         211.46
      12/5/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         161.98
      12/5/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         131.72
      12/5/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.16
      12/5/2020    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.58
      12/5/2020    709   PY0003   Owner Operator   IRP License Deduction          LCIL:2020 - 35043                       100
      12/5/2020    709   PY0003   Owner Operator   IRP License Deduction          LCIL:2020 - 35043                      69.35
      12/5/2020    709   PY0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   PY0003   Owner Operator   Permits                        NY13:2020 - 35043                        1.5
      12/5/2020    709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.55
      12/5/2020    709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.54
      12/5/2020    709   PY0003   Owner Operator   Repair Order                   CTMS - 245960 REPAIRS                   350
      12/5/2020    709   PY0003   Owner Operator   Repair Order                   CTMS - 246091 REPAIRS                   350
      12/5/2020    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      12/5/2020    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      12/5/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                              50
      12/5/2020    709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
      12/5/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.82
      12/5/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.61
      12/5/2020    709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.76
      12/5/2020    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      12/5/2020    709   RB0170   Owner Operator   Truck Payment                  CTMS - 246024 Q1241 Truck leas        321.84
      12/5/2020    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/5/2020    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      12/5/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.47

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      12/5/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         408.97
      12/5/2020    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.96
      12/5/2020    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      12/5/2020    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/5/2020    709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      12/5/2020    709   RL0017   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
      12/5/2020    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
      12/5/2020    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      12/5/2020    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         562.55
      12/5/2020    709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 35037                       100
      12/5/2020    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   RL0017   Owner Operator   Permits                        IL02:2020 - 35037                       3.75
      12/5/2020    709   RL0017   Owner Operator   Permits1                       CUST:2020 - 33065                    -408.84
      12/5/2020    709   RL0017   Owner Operator   Permits1                       ID06:2020 - 33065                      -10.3
      12/5/2020    709   RL0017   Owner Operator   Permits1                       IL02:2020 - 33065                      -3.75
      12/5/2020    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
      12/5/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/5/2020    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/5/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      12/5/2020    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      12/5/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/5/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/5/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/5/2020    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/5/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.42
      12/5/2020    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.44
      12/5/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      12/5/2020    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      12/5/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.62
      12/5/2020    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      12/5/2020    709   RL0062   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      12/5/2020    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/5/2020    709   RL0180   Owner Operator   Broker Pre Pass                32910 PrePass Device                    12.5
      12/5/2020    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      12/5/2020    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      12/5/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.05
      12/5/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.82
      12/5/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.43
      12/5/2020    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.66
      12/5/2020    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      12/5/2020    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      12/5/2020    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      12/5/2020    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      12/5/2020    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      12/5/2020    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      12/5/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.03
      12/5/2020    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         312.83
      12/5/2020    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      12/5/2020    709   RM0026   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      12/5/2020    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      12/5/2020    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      12/5/2020    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         343.29
      12/5/2020    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      12/5/2020    709   RP0082   Owner Operator   Truck Payment                  CTMS - 246059 Q1202 Balloon           234.05
      12/5/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      12/5/2020    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      12/5/2020    709   RR0123   Owner Operator   Broker Pre Pass                33488 PrePass Device                    12.5
      12/5/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      12/5/2020    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      12/5/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.03
      12/5/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.75
      12/5/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.08
      12/5/2020    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.48
      12/5/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.13
      12/5/2020    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15

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      12/5/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL Cermak Rd.                  6.8
      12/5/2020    709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL Waukegan                  12.75
      12/5/2020    709   RR0123   Owner Operator   Toll Charges                   33488 NTTA Plaza 1 - Wycliff             6.6
      12/5/2020    709   RR0123   Owner Operator   Toll Charges                   33488 NTTA Plaza 2 - Keller Sp          4.72
      12/5/2020    709   RR0123   Owner Operator   Toll Charges                   33488 NTTA Plaza 7 - Coit Rd.           5.64
      12/5/2020    709   RR0123   Owner Operator   Toll Charges                   33488 OTA Will Rogers Turnpike           9.2
      12/5/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 245956 33488 Lease $335        335.48
      12/5/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 246026 Past tractor ren          100
      12/5/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 246088 33488 Lease $335        335.48
      12/5/2020    709   RR0123   Owner Operator   Truck Payment                  CTMS - 246141 Past tractor ren          100
      12/5/2020    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      12/5/2020    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
      12/5/2020    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      12/5/2020    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/5/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/5/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/5/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/5/2020    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/5/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         143.95
      12/5/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.32
      12/5/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         248.31
      12/5/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.12
      12/5/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                           24.4
      12/5/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.55
      12/5/2020    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.97
      12/5/2020    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      12/5/2020    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      12/5/2020    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         547.34
      12/5/2020    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/5/2020    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
      12/5/2020    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      12/5/2020    709   SB0103   Owner Operator   ESCROW                         Escrow Withdrawal                    -250.99
      12/5/2020    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/5/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          85.15
      12/5/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         231.06
      12/5/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.5
      12/5/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.01
      12/5/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.65
      12/5/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.37
      12/5/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.04
      12/5/2020    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.09
      12/5/2020    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      12/5/2020    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/5/2020    709   SB0103   Owner Operator   T Chek Fee                     ExpressCheck Fee                        2.49
      12/5/2020    709   SB0103   Owner Operator   T Chek Fee                     Tractor Repair 33037                   248.5
      12/5/2020    709   SB0103   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                    693.16
      12/5/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 246027 3303Truck Lease         133.15
      12/5/2020    709   SB0103   Owner Operator   Truck Payment                  CTMS - 246141 3303Truck Lease         133.15
      12/5/2020    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      12/5/2020    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           414
      12/5/2020    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      12/5/2020    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      12/5/2020    709   SM0109   Owner Operator   T Chek Fee                     ExpressCheck Fee                        15.2
      12/5/2020    709   SM0109   Owner Operator   T Chek Fee                     Towing 33195                          983.94
      12/5/2020    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      12/5/2020    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/5/2020    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      12/5/2020    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      12/5/2020    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      12/5/2020    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      12/5/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.07
      12/5/2020    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         479.72
      12/5/2020    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      12/5/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.11
      12/5/2020    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.08
      12/5/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/5/2020    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/5/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13

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      12/5/2020    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      12/5/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/5/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            160
      12/5/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.6
      12/5/2020    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/5/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.47
      12/5/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.39
      12/5/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.38
      12/5/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.77
      12/5/2020    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         147.84
      12/5/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      12/5/2020    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      12/5/2020    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/5/2020    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      12/5/2020    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      12/5/2020    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/5/2020    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      12/5/2020    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
      12/5/2020    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      12/5/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/5/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/5/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/5/2020    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/5/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.51
      12/5/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          12.76
      12/5/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.53
      12/5/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.92
      12/5/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         167.18
      12/5/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          129.4
      12/5/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.23
      12/5/2020    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           5.56
      12/5/2020    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      12/5/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 245960 Q1238 Lease             311.97
      12/5/2020    709   WH0087   Owner Operator   Truck Payment                  CTMS - 246092 Q1238 Lease             311.97
      12/5/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      12/5/2020    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      12/5/2020    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
      12/5/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      12/5/2020    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      12/5/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/5/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/5/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/5/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/5/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/5/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/5/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/5/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/5/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/5/2020    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/5/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.5
      12/5/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.89
      12/5/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.7
      12/5/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.97
      12/5/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.02
      12/5/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.01
      12/5/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          258.2
      12/5/2020    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.46
      12/5/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      12/5/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      12/5/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      12/5/2020    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      12/5/2020    742   AP0047   Owner Operator   Toll Charges                   32604 BATA Carquinez Bridge               26
      12/5/2020    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      12/5/2020    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
      12/5/2020    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      12/5/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         476.88
      12/5/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          186.1

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      12/5/2020    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         403.11
      12/5/2020    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      12/5/2020    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14
      12/5/2020    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/5/2020    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
      12/5/2020    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      12/5/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           375
      12/5/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           311
      12/5/2020    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           235
      12/5/2020    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      12/5/2020    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      12/5/2020    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/5/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      12/5/2020    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      12/5/2020    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                           500
      12/5/2020    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/5/2020    742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                    12.5
      12/5/2020    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      12/5/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.16
      12/5/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         175.92
      12/5/2020    742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         435.07
      12/5/2020    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
      12/5/2020    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/5/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      12/5/2020    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      12/5/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      12/5/2020    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      12/5/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.04
      12/5/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      12/5/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      12/5/2020    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      12/5/2020    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      12/5/2020    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      12/5/2020    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
      12/5/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/5/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/5/2020    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/5/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      12/5/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      12/5/2020    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      12/5/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.03
      12/5/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                          343.9
      12/5/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.82
      12/5/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.32
      12/5/2020    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.99
      12/5/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      12/5/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.14
      12/5/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      12/5/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/5/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/5/2020    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/5/2020    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      12/5/2020    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      12/5/2020    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      12/5/2020    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      12/5/2020    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      12/5/2020    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                   12.5

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      12/5/2020    742   RN0054   Owner Operator   Charge back by affiliate       CTMS - 245683 HVUT Form 2290         550
      12/5/2020    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157           13
      12/5/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                     207.06
      12/5/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                     239.82
      12/5/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                     213.63
      12/5/2020    742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                     332.27
      12/5/2020    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/5/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD         36.1
      12/5/2020    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te       2.5
      12/5/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 245671 Balloon Payoff      335.75
      12/5/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 245828 Balloon Payoff      335.75
      12/5/2020    742   RN0054   Owner Operator   Truck Payment                  CTMS - 245990 Balloon Payoff      335.75
      12/5/2020    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                  8.75
      12/5/2020    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                  8.75
      12/5/2020    742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030            13
      12/5/2020    742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030            13
      12/5/2020    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                         50
      12/5/2020    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                         50
      12/5/2020    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2020 - 35030                    100
      12/5/2020    742   RS0342   Owner Operator   IRP License Deduction          LCIL:2020 - 35030                    100
      12/5/2020    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/5/2020    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/5/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                    147
      12/5/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                 147.03
      12/5/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism          2.5
      12/5/2020    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism          2.5
      12/5/2020    742   RS0342   Owner Operator   Toll Charges                   35030 HCTRA Sam Houston - East         7
      12/5/2020    742   RS0342   Owner Operator   Toll Charges                   35030 HCTRA Sam Houston - East         7
      12/5/2020    742   RS0342   Owner Operator   Toll Charges                   35030 HCTRA Sam Houston - East         7
      12/5/2020    742   RS0342   Owner Operator   Toll Charges                   35030 HCTRA Sam Houston - Sout         7
      12/5/2020    742   RS0342   Owner Operator   Toll Charges                   35030 HCTRA Sam Houston - Sout         7
      12/5/2020    742   RS0342   Owner Operator   Toll Charges                   35030 HCTRA Sam Houston - Sout         7
      12/5/2020    742   RS0342   Owner Operator   Toll Charges                   35030 HCTRA Sam Houston - Tele         5
      12/5/2020    742   RS0342   Owner Operator   Toll Charges                   35030 HCTRA Ship Channel Bridg         7
      12/5/2020    742   RS0342   Owner Operator   Toll Charges                   35030 HCTRA Ship Channel Bridg         7
      12/5/2020    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                  8.75
      12/5/2020    742   SK0049   Owner Operator   Broker Pre Pass                33934 PrePass Device                12.5
      12/5/2020    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934            13
      12/5/2020    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/5/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                  60.16
      12/5/2020    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism          2.5
      12/5/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL         8.75
      12/5/2020    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL         8.75
      12/5/2020    742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 245992 HVUT Form 2290         110
      12/5/2020    742   TC0098   Owner Operator   Charge back by affiliate       CTMS - 246117 HVUT Form 2290         110
      12/5/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489            13
      12/5/2020    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489            13
      12/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      273.2
      12/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     222.81
      12/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     400.47
      12/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     274.99
      12/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     412.49
      12/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      51.36
      12/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      37.14
      12/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     319.61
      12/5/2020    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     351.51
      12/5/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/5/2020    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/5/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD         68.98
      12/5/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD         68.98
      12/5/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter       2.5
      12/5/2020    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter       2.5
      12/5/2020    742   TC0098   Owner Operator   T Chek Fee                     Cancelled/Expired EFS TC0098        -755
      12/5/2020    742   TC0098   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                198.33
      12/5/2020    742   TC0098   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                198.32
      12/5/2020    742   TC0098   Owner Operator   Tire Purchase                  C34197~GOODYEAR TIRE AND RUBBE    108.38
      12/5/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 245675 33489 Lease Paym    412.16
      12/5/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 245833 33489 Lease Paym    412.16
      12/5/2020    742   TC0098   Owner Operator   Truck Payment                  CTMS - 245994 33489 Lease Paym    412.16
      12/5/2020    781   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL         8.75
      12/5/2020    781   MM0054   Owner Operator   Communication Charge           Safety Tech Hardware 86900            13
      12/5/2020    781   MM0054   Owner Operator   ESCROW                         Weekly Escrow                      45.33
      12/5/2020    781   MM0054   Owner Operator   Fuel Purchase                  Fuel Purchase                     159.03

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      12/5/2020    781   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
      12/5/2020    781   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD             16.05
      12/5/2020    783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                 8.75
      12/5/2020    783   AJ0066   Owner Operator   Communication Charge           Safety Tech Hardware 86816                13
      12/5/2020    783   AJ0066   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    783   AJ0066   Owner Operator   IRP License Deduction          LCIL:2020 - 86816                       100
      12/5/2020    783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    783   AJ0066   Owner Operator   Permits                        NY13:2020 - 86816                        1.5
      12/5/2020    783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.18
      12/5/2020    783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      12/5/2020    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      12/5/2020    783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                13
      12/5/2020    783   DS0317   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
      12/5/2020    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      12/5/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      12/5/2020    783   GR0095   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      12/5/2020    783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
      12/5/2020    783   GR0095   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.87
      12/5/2020    783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
      12/5/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD Terroris           2.5
      12/5/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      110.69
      12/5/2020    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD Terrorism               2.5
      12/5/2020    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      12/5/2020    783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                13
      12/5/2020    783   HP0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         475.45
      12/5/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         106.44
      12/5/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         308.25
      12/5/2020    783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.18
      12/5/2020    783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
      12/5/2020    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      12/5/2020    783   JK0157   Owner Operator   FUEL TAX                       August 2020 Fuel/Mileage Tax          130.56
      12/5/2020    783   JK0157   Owner Operator   FUEL TAX                       August 2020 Fuel/Mileage Tax           52.56
      12/5/2020    783   JK0157   Owner Operator   FUEL TAX                       July 2020 Fuel/Mileage Tax             25.03
      12/5/2020    783   JK0157   Owner Operator   FUEL TAX                       September 2020 Fuel/Mileage Ta        200.61
      12/5/2020    783   JK0157   Owner Operator   FUEL TAX                       September 2020 Fuel/Mileage Ta       -408.76
      12/5/2020    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.51
      12/5/2020    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         100.54
      12/5/2020    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         346.29
      12/5/2020    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.73
      12/5/2020    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.33
      12/5/2020    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      12/5/2020    783   MA0112   Owner Operator   Communication Charge           Safety Tech Hardware 86931                13
      12/5/2020    783   MA0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         471.04
      12/5/2020    783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
      12/5/2020    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      12/5/2020    783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/5/2020    783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
      12/5/2020    783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.98
      12/5/2020    783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
      12/5/2020    783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/5/2020    783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      12/5/2020    783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
      12/5/2020    783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/5/2020    783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/5/2020    783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/5/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.41
      12/5/2020    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         139.46
      12/5/2020    783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/5/2020    783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
      12/5/2020    783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      12/5/2020    783   OJ0010   Owner Operator   BOBTAIL INS.                   2016 Western Star NTL                   8.75
      12/5/2020    783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 35086                13
      12/5/2020    783   OJ0010   Owner Operator   ESCROW                         Weekly Escrow                             50

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       12/5/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.23
       12/5/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.7
       12/5/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         101.34
       12/5/2020   783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/5/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD                   40.07
       12/5/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD Terrorism           2.5
       12/5/2020   783   OJ0010   Owner Operator   T Chek Fee                     ExpressCheck Fee                        5.83
       12/5/2020   783   OJ0010   Owner Operator   T Chek Fee                     Tractor Repair 35086                  583.12
       12/5/2020   783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
       12/5/2020   783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
       12/5/2020   783   RC0294   Owner Operator   ESCROW                         Weekly Escrow                             50
       12/5/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          227.2
       12/5/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         146.46
       12/5/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.99
       12/5/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          67.72
       12/5/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.66
       12/5/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.17
       12/5/2020   783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/5/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
       12/5/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
       12/5/2020   783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
       12/5/2020   783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
       12/5/2020   783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                13
       12/5/2020   783   RD0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       12/5/2020   783   RD0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       12/5/2020   783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/5/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
       12/5/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      34.79
       12/5/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
       12/5/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
       12/5/2020   783   RD0012   Owner Operator   T Chek Fee                     Cancelled/Expired EFS RD0012           -2500
       12/5/2020   783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
       12/5/2020   783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
       12/5/2020   783   RM0340   Owner Operator   ESCROW                         Weekly Escrow                             50
       12/5/2020   783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.93
       12/5/2020   783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/5/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
       12/5/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
       12/5/2020   783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
       12/5/2020   783   RS0377   Owner Operator   Broker Pre Pass                86923 PrePass Device                    12.5
       12/5/2020   783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
       12/5/2020   783   RS0377   Owner Operator   ESCROW                         Weekly Escrow                             50
       12/5/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         398.85
       12/5/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         314.21
       12/5/2020   783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       12/5/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
       12/5/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      12/12/2020   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      12/12/2020   709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      12/12/2020   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/12/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         162.98
      12/12/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          73.08
      12/12/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         428.12
      12/12/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.2
      12/12/2020   709   AC0061   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        400.12
      12/12/2020   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
      12/12/2020   709   AC0061   Owner Operator   Truck Payment                  CTMS - 246331 Q13148 Trac Leas        296.09
      12/12/2020   709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      12/12/2020   709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
      12/12/2020   709   AC0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   709   AC0122   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        276.48
      12/12/2020   709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
      12/12/2020   709   AG0116   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/12/2020   709   AG0116   Owner Operator   Communication Charge           Safety Tech Hardware 35099                20
      12/12/2020   709   AG0116   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   709   AG0116   Owner Operator   Fuel Purchase                  Fuel Purchase                         637.77
      12/12/2020   709   AG0116   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   AG0116   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.09
      12/12/2020   709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      12/12/2020   709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      12/12/2020   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         354.79

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      12/12/2020   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
      12/12/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      12/12/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 246273 truck 32781 Leas        225.29
      12/12/2020   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      12/12/2020   709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      12/12/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.68
      12/12/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.75
      12/12/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                             15
      12/12/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          492.6
      12/12/2020   709   AR0064   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        511.18
      12/12/2020   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
      12/12/2020   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      12/12/2020   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      12/12/2020   709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      12/12/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
      12/12/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          88.45
      12/12/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          49.78
      12/12/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.37
      12/12/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.12
      12/12/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          86.24
      12/12/2020   709   AV0021   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        124.54
      12/12/2020   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
      12/12/2020   709   AV0021   Owner Operator   Truck Payment                  CTMS - 246144 Q13169 Sublease         352.68
      12/12/2020   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      12/12/2020   709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      12/12/2020   709   BM0030   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        597.95
      12/12/2020   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
      12/12/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      12/12/2020   709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
      12/12/2020   709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
      12/12/2020   709   BR0082   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.3
      12/12/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.13
      12/12/2020   709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.11
      12/12/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
      12/12/2020   709   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      12/12/2020   709   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      12/12/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.92
      12/12/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.45
      12/12/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.92
      12/12/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         198.92
      12/12/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           216
      12/12/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.58
      12/12/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.54
      12/12/2020   709   BS0078   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        194.21
      12/12/2020   709   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      12/12/2020   709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      12/12/2020   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      12/12/2020   709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      12/12/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/12/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/12/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         387.23
      12/12/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.24
      12/12/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         493.24
      12/12/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.6
      12/12/2020   709   CC0134   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         -4.77
      12/12/2020   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      12/12/2020   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/12/2020   709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      12/12/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.56
      12/12/2020   709   CM0119   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         51.26
      12/12/2020   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      12/12/2020   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      12/12/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/12/2020   709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75

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      12/12/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/12/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      12/12/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                          413.54
      12/12/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                          457.52
      12/12/2020   709   CM0224   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         -18.04
      12/12/2020   709   CM0224   Owner Operator   IRP License Deduction          LCIL:2020 - 8968                         100
      12/12/2020   709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/12/2020   709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD               16.05
      12/12/2020   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                 8.75
      12/12/2020   709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                 13
      12/12/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           300.1
      12/12/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          222.33
      12/12/2020   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/12/2020   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                 32.89
      12/12/2020   709   CR0064   Owner Operator   Truck Payment                  CTMS - 246269 Q1247 Sub Lease          263.91
      12/12/2020   709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL              8.75
      12/12/2020   709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                 13
      12/12/2020   709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/12/2020   709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                                5
      12/12/2020   709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                             495
      12/12/2020   709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         4.95
      12/12/2020   709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.05
      12/12/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          369.46
      12/12/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.24
      12/12/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          418.39
      12/12/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.06
      12/12/2020   709   CV0028   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         112.41
      12/12/2020   709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/12/2020   709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD              68.18
      12/12/2020   709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL                8.75
      12/12/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          276.02
      12/12/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.39
      12/12/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.81
      12/12/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          264.64
      12/12/2020   709   DL0029   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         177.98
      12/12/2020   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/12/2020   709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                24.07
      12/12/2020   709   DL0029   Owner Operator   Truck Payment                  CTMS - 246248 Q13199 Lease             193.11
      12/12/2020   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      12/12/2020   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      12/12/2020   709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                 13
      12/12/2020   709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                 13
      12/12/2020   709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                 13
      12/12/2020   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/12/2020   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      12/12/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          472.15
      12/12/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           63.88
      12/12/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           494.4
      12/12/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          128.39
      12/12/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          466.12
      12/12/2020   709   DL0107   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax       -1035.15
      12/12/2020   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/12/2020   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/12/2020   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 67.46
      12/12/2020   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 67.46
      12/12/2020   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      12/12/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          209.12
      12/12/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                           31.01
      12/12/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                           218.9
      12/12/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.76
      12/12/2020   709   DM0257   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         792.42
      12/12/2020   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/12/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    19.17
      12/12/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      12/12/2020   709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                    8.75
      12/12/2020   709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                 13
      12/12/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/12/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      12/12/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          236.25
      12/12/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.65
      12/12/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          230.77
      12/12/2020   709   DS0049   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax          26.57
      12/12/2020   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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      12/12/2020   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      12/12/2020   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                      8.75
      12/12/2020   709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
      12/12/2020   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
      12/12/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                           536
      12/12/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.64
      12/12/2020   709   DS0225   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        -76.13
      12/12/2020   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                      40.11
      12/12/2020   709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                13
      12/12/2020   709   DT0153   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.54
      12/12/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         287.13
      12/12/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.89
      12/12/2020   709   DT0153   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        103.41
      12/12/2020   709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/12/2020   709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      12/12/2020   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      12/12/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.19
      12/12/2020   709   EA0003   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        309.43
      12/12/2020   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      12/12/2020   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      12/12/2020   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                   8.75
      12/12/2020   709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                13
      12/12/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         481.01
      12/12/2020   709   EG0062   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        140.01
      12/12/2020   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                   43.13
      12/12/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism           2.5
      12/12/2020   709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/12/2020   709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      12/12/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.36
      12/12/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.29
      12/12/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.32
      12/12/2020   709   EN0016   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        215.07
      12/12/2020   709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      12/12/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/12/2020   709   EN0016   Owner Operator   Toll Charges                   32947 NTTA Plaza 10 - Irving             2.4
      12/12/2020   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                8.75
      12/12/2020   709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                13
      12/12/2020   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/12/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         223.58
      12/12/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                           331
      12/12/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.94
      12/12/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.51
      12/12/2020   709   EO0014   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        510.25
      12/12/2020   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                80.21
      12/12/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror           2.5
      12/12/2020   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      12/12/2020   709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      12/12/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/12/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/12/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/12/2020   709   FS0039   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/12/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.87
      12/12/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.55
      12/12/2020   709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.15
      12/12/2020   709   FS0039   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         38.15
      12/12/2020   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      12/12/2020   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/12/2020   709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B               13
      12/12/2020   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         506.48
      12/12/2020   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   40.11

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      12/12/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/12/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL             8.75
      12/12/2020   709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                13
      12/12/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/12/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/12/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.36
      12/12/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.25
      12/12/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         296.17
      12/12/2020   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.07
      12/12/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.68
      12/12/2020   709   GA0051   Owner Operator   Truck Payment                  CTMS - 246270 Q1200 Lease             238.16
      12/12/2020   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      12/12/2020   709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      12/12/2020   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.11
      12/12/2020   709   GW0043   Owner Operator   FUEL TAX                       June 2020 Fuel/Mileage Tax              0.99
      12/12/2020   709   GW0043   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         -0.99
      12/12/2020   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      12/12/2020   709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170               13
      12/12/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          286.8
      12/12/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.83
      12/12/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         374.68
      12/12/2020   709   HC0023   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         -7.72
      12/12/2020   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      12/12/2020   709   HC0023   Owner Operator   Truck Payment                  CTMS - 246145 Q13170                  352.68
      12/12/2020   709   HC0023   Owner Operator   Truck Payment                  CTMS - 246274 Back tractor pay        235.12
      12/12/2020   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      12/12/2020   709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      12/12/2020   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          282.7
      12/12/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         523.39
      12/12/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         483.27
      12/12/2020   709   HG0007   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        -25.34
      12/12/2020   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.67
      12/12/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/12/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   33065 2014 Freightliner NTL             8.75
      12/12/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   33065 2014 Freightliner NTL             8.75
      12/12/2020   709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      12/12/2020   709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 34012                13
      12/12/2020   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           400
      12/12/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         431.47
      12/12/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.38
      12/12/2020   709   IA0007   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        -116.4
      12/12/2020   709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      12/12/2020   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   52.71
      12/12/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      12/12/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD             71.88
      12/12/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD             71.86
      12/12/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD Ter           2.5
      12/12/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD Ter           2.5
      12/12/2020   709   IA0007   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      12/12/2020   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
      12/12/2020   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/12/2020   709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      12/12/2020   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         328.36
      12/12/2020   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         329.35
      12/12/2020   709   IR0002   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        -30.99
      12/12/2020   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
      12/12/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/12/2020   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
      12/12/2020   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
      12/12/2020   709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
      12/12/2020   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
      12/12/2020   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                         305.13
      12/12/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100

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      12/12/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/12/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.04
      12/12/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.31
      12/12/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.96
      12/12/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         383.37
      12/12/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.12
      12/12/2020   709   JC0292   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        599.03
      12/12/2020   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
      12/12/2020   709   JC0292   Owner Operator   Truck Payment                  CTMS - 246276 Q13197 Lease            276.63
      12/12/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      12/12/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      12/12/2020   709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      12/12/2020   709   JC0418   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.91
      12/12/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.75
      12/12/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.17
      12/12/2020   709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       44.12
      12/12/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      12/12/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.07
      12/12/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      12/12/2020   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/12/2020   709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      12/12/2020   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      12/12/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      12/12/2020   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/12/2020   709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      12/12/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/12/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/12/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.48
      12/12/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.02
      12/12/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         200.48
      12/12/2020   709   JG0017   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         71.14
      12/12/2020   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      12/12/2020   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      12/12/2020   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/12/2020   709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      12/12/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/12/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/12/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         484.01
      12/12/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         422.93
      12/12/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         517.68
      12/12/2020   709   JG0072   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        549.71
      12/12/2020   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                      33.64
      12/12/2020   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.2
      12/12/2020   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/12/2020   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.1
      12/12/2020   709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                   8.75
      12/12/2020   709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                 13
      12/12/2020   709   JL0280   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         309.87
      12/12/2020   709   JL0280   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        -14.83
      12/12/2020   709   JL0280   Owner Operator   IRP License Deduction          LCIL:2020 - 8970                        100
      12/12/2020   709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                   33.04
      12/12/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                   8.75
      12/12/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/12/2020   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                   20.06
      12/12/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   16.05
      12/12/2020   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL             8.75
      12/12/2020   709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                13

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      12/12/2020   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD             60.16
      12/12/2020   709   JR0099   Owner Operator   Truck Payment                  CTMS - 246272 Balloon Payoff          234.05
      12/12/2020   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       8.75
      12/12/2020   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL            8.75
      12/12/2020   709   JS0265   Owner Operator   Communication Charge           Safety Tech Hardware Q13159               13
      12/12/2020   709   JS0265   Owner Operator   ESCROW                         Escrow Withdrawal                      -4000
      12/12/2020   709   JS0265   Owner Operator   Express Check                  T-Check Payment                         4000
      12/12/2020   709   JS0265   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         62.41
      12/12/2020   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                        38.5
      12/12/2020   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.31
      12/12/2020   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/12/2020   709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                13
      12/12/2020   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            500
      12/12/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/12/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/12/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         218.32
      12/12/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.01
      12/12/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         127.88
      12/12/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            262
      12/12/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.01
      12/12/2020   709   KP0004   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         417.3
      12/12/2020   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
      12/12/2020   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
      12/12/2020   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
      12/12/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/12/2020   709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
      12/12/2020   709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
      12/12/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.84
      12/12/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          128.2
      12/12/2020   709   KT0055   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         313.7
      12/12/2020   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
      12/12/2020   709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      12/12/2020   709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
      12/12/2020   709   KW0091   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   709   KW0091   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax       1060.87
      12/12/2020   709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      12/12/2020   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      12/12/2020   709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      12/12/2020   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
      12/12/2020   709   LL0160   Owner Operator   Truck Payment                  CTMS - 246332 Balloon Pay off         200.15
      12/12/2020   709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      12/12/2020   709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      12/12/2020   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/12/2020   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/12/2020   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          27.67
      12/12/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         497.31
      12/12/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         697.53
      12/12/2020   709   LS0023   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        203.54
      12/12/2020   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      12/12/2020   709   LS0023   Owner Operator   Toll Charges                   33655 BATA Bay Bridge                     26
      12/12/2020   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/12/2020   709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      12/12/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.52
      12/12/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.04
      12/12/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         360.81
      12/12/2020   709   MA0092   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        108.31
      12/12/2020   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
      12/12/2020   709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
      12/12/2020   709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
      12/12/2020   709   MC0207   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   709   MC0207   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        663.15
      12/12/2020   709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.11
      12/12/2020   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75

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      12/12/2020   709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      12/12/2020   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/12/2020   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/12/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.19
      12/12/2020   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      12/12/2020   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/12/2020   709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      12/12/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          415.1
      12/12/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         410.22
      12/12/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.08
      12/12/2020   709   MG0067   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        -111.8
      12/12/2020   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
      12/12/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/12/2020   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/12/2020   709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      12/12/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         297.24
      12/12/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          84.68
      12/12/2020   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      12/12/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      12/12/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      12/12/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      12/12/2020   709   NT9564   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         164.2
      12/12/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           4.95
      12/12/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      12/12/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      12/12/2020   709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      12/12/2020   709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      12/12/2020   709   PM0099   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance                              40
      12/12/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      12/12/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.31
      12/12/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.11
      12/12/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.09
      12/12/2020   709   PM0099   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        101.67
      12/12/2020   709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      12/12/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      12/12/2020   709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      12/12/2020   709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.43
      12/12/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         185.63
      12/12/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.19
      12/12/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         112.28
      12/12/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.87
      12/12/2020   709   PY0003   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         -4.81
      12/12/2020   709   PY0003   Owner Operator   IRP License Deduction          LCIL:2020 - 35043                       100
      12/12/2020   709   PY0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.55
      12/12/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                   0.02
      12/12/2020   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      12/12/2020   709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      12/12/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                         327.16
      12/12/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          83.16
      12/12/2020   709   RB0170   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        441.47
      12/12/2020   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      12/12/2020   709   RB0170   Owner Operator   Truck Payment                  CTMS - 246139 Q1241 Truck leas        321.84
      12/12/2020   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/12/2020   709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      12/12/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         384.59
      12/12/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          557.2
      12/12/2020   709   RC0030   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        -59.59
      12/12/2020   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      12/12/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5

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      12/12/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      12/12/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
      12/12/2020   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300
      12/12/2020   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         307.04
      12/12/2020   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         558.95
      12/12/2020   709   RL0017   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        277.96
      12/12/2020   709   RL0017   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        -61.15
      12/12/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 35037                       100
      12/12/2020   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
      12/12/2020   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/12/2020   709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      12/12/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         427.94
      12/12/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.95
      12/12/2020   709   RL0062   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        348.78
      12/12/2020   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      12/12/2020   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
      12/12/2020   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/12/2020   709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      12/12/2020   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
      12/12/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.85
      12/12/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         400.83
      12/12/2020   709   RL0180   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         -8.12
      12/12/2020   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      12/12/2020   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
      12/12/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      12/12/2020   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
      12/12/2020   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      12/12/2020   709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      12/12/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.06
      12/12/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.72
      12/12/2020   709   RM0026   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        247.56
      12/12/2020   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
      12/12/2020   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      12/12/2020   709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      12/12/2020   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.09
      12/12/2020   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
      12/12/2020   709   RP0082   Owner Operator   Truck Payment                  CTMS - 246222 Q1202 Balloon           234.05
      12/12/2020   709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      12/12/2020   709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      12/12/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/12/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/12/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          293.1
      12/12/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         181.33
      12/12/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.64
      12/12/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         317.64
      12/12/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         264.13
      12/12/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.45
      12/12/2020   709   RR0123   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        345.62
      12/12/2020   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
      12/12/2020   709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL 82nd St.                   3.85
      12/12/2020   709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL 82nd St.                    6.8
      12/12/2020   709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL 95th St.                   2.85
      12/12/2020   709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL I-57/147th St (Il          3.85
      12/12/2020   709   RR0123   Owner Operator   Toll Charges                   33488 ILTOLL Joliet Rd.                 2.55
      12/12/2020   709   RR0123   Owner Operator   Toll Charges                   33488 KTA Southern Terminal             4.95
      12/12/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 246302 Past tractor ren          100
      12/12/2020   709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
      12/12/2020   709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
      12/12/2020   709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/12/2020   709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         171.64
      12/12/2020   709   SB0009   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        278.21
      12/12/2020   709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
      12/12/2020   709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/12/2020   709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
      12/12/2020   709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         547.34
      12/12/2020   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/12/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          47.08
      12/12/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.61
      12/12/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.32
      12/12/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         266.09
      12/12/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         219.33
      12/12/2020   709   SB0103   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        316.84
      12/12/2020   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      12/12/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/12/2020   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      12/12/2020   709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
      12/12/2020   709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      12/12/2020   709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      12/12/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          400.6
      12/12/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           438
      12/12/2020   709   SM0109   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        268.65
      12/12/2020   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      12/12/2020   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      12/12/2020   709   SM0109   Owner Operator   T Chek Fee                     Towing 33195                          536.06
      12/12/2020   709   SM0109   Owner Operator   Tire Purchase                  008840~MICHELIN NORTH AMERICA         397.46
      12/12/2020   709   SM0109   Owner Operator   Tire Purchase                  008840~MICHELIN NORTH AMERICA         397.46
      12/12/2020   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      12/12/2020   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
      12/12/2020   709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
      12/12/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.36
      12/12/2020   709   SN0019   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         35.57
      12/12/2020   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
      12/12/2020   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      12/12/2020   709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      12/12/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.13
      12/12/2020   709   VB0015   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         93.34
      12/12/2020   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      12/12/2020   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.11
      12/12/2020   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/12/2020   709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
      12/12/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.53
      12/12/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.24
      12/12/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.47
      12/12/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.11
      12/12/2020   709   VJ0006   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        129.31
      12/12/2020   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
      12/12/2020   709   VJ0006   Owner Operator   Toll Charges                   33961 ILTOLL Elgin Rd                    6.8
      12/12/2020   709   VJ0006   Owner Operator   Toll Charges                   33961 ILTOLL Marengo                    13.6
      12/12/2020   709   VJ0006   Owner Operator   Toll Charges                   33961 ILTOLL River Rd.                   6.8
      12/12/2020   709   VJ0006   Owner Operator   Toll Charges                   33961 ILTOLL South Beloit                8.5
      12/12/2020   709   VJ0006   Owner Operator   Toll Charges                   33961 KTA Emporia: I-35N                12.4
      12/12/2020   709   VJ0006   Owner Operator   Toll Charges                   33961 NTTA Kelly Blvd.                  2.76
      12/12/2020   709   WA0036   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/12/2020   709   WA0036   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/12/2020   709   WA0036   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/12/2020   709   WA0036   Owner Operator   Communication Charge           Safety Tech Hardware 35136                20
      12/12/2020   709   WA0036   Owner Operator   ESCROW                         Weekly Escrow                           3.57
      12/12/2020   709   WA0036   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   WA0036   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      47.92
      12/12/2020   709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      47.91
      12/12/2020   709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      47.92
      12/12/2020   709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      12/12/2020   709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      12/12/2020   709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      12/12/2020   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/12/2020   709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13

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      12/12/2020   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      12/12/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/12/2020   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      12/12/2020   709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      12/12/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/12/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/12/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/12/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/12/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          153.4
      12/12/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.8
      12/12/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.38
      12/12/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.16
      12/12/2020   709   WH0087   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        147.04
      12/12/2020   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      12/12/2020   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      12/12/2020   742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      12/12/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         136.96
      12/12/2020   742   AP0047   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         168.7
      12/12/2020   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      12/12/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      12/12/2020   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
      12/12/2020   742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
      12/12/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         457.53
      12/12/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.02
      12/12/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          270.4
      12/12/2020   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
      12/12/2020   742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14
      12/12/2020   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/12/2020   742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      12/12/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           545
      12/12/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         425.01
      12/12/2020   742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      12/12/2020   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
      12/12/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/12/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      12/12/2020   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                           550
      12/12/2020   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                          42.37
      12/12/2020   742   DC0117   Owner Operator   IRS                            IRS 565155984                         552.34
      12/12/2020   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/12/2020   742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      12/12/2020   742   EA0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         473.66
      12/12/2020   742   EA0039   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        -18.93
      12/12/2020   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
      12/12/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      12/12/2020   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/12/2020   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/12/2020   742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      12/12/2020   742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      12/12/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         357.84
      12/12/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                           392
      12/12/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          224.4
      12/12/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         132.14
      12/12/2020   742   ED0041   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         95.83
      12/12/2020   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      12/12/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      12/12/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/12/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/12/2020   742   ED0041   Owner Operator   Toll Charges                   32897 HCTRA Sam Houston - NE M             7
      12/12/2020   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      12/12/2020   742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      12/12/2020   742   JB0465   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   742   JB0465   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        490.04
      12/12/2020   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
      12/12/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5

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      12/12/2020   742   JB0465   Owner Operator   Toll Charges                   34804 BATA Carquinez Bridge               26
      12/12/2020   742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/12/2020   742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
      12/12/2020   742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         445.87
      12/12/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.97
      12/12/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.22
      12/12/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.96
      12/12/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         194.07
      12/12/2020   742   JS0390   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         69.75
      12/12/2020   742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      12/12/2020   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/12/2020   742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      12/12/2020   742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      12/12/2020   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      12/12/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      12/12/2020   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.69
      12/12/2020   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.69
      12/12/2020   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.68
      12/12/2020   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/12/2020   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/12/2020   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/12/2020   742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      12/12/2020   742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      12/12/2020   742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      12/12/2020   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/12/2020   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/12/2020   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
      12/12/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         319.11
      12/12/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.04
      12/12/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.67
      12/12/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         313.79
      12/12/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.49
      12/12/2020   742   PC0012   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         136.9
      12/12/2020   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      12/12/2020   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      12/12/2020   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      12/12/2020   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      12/12/2020   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.14
      12/12/2020   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      12/12/2020   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      12/12/2020   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      12/12/2020   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      12/12/2020   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      12/12/2020   742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                      9.84
      12/12/2020   742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      12/12/2020   742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      12/12/2020   742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      12/12/2020   742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      12/12/2020   742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      12/12/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                            150
      12/12/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      12/12/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.34
      12/12/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          239.6
      12/12/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         238.33
      12/12/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.35
      12/12/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          22.41
      12/12/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.78
      12/12/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.78
      12/12/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.69
      12/12/2020   742   RF0136   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        148.77
      12/12/2020   742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         254.51
      12/12/2020   742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      12/12/2020   742   RF0136   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         257.95
      12/12/2020   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/12/2020   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                        54.55
      12/12/2020   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                        54.55
      12/12/2020   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                        54.52
      12/12/2020   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                        54.55
      12/12/2020   742   RF0136   Owner Operator   Toll Charges                                                  34182      14.3
      12/12/2020   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL              8.75
      12/12/2020   742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157                 13
      12/12/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           349.19
      12/12/2020   742   RN0054   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax          171.29
      12/12/2020   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      12/12/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD               36.1
      12/12/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te             2.5
      12/12/2020   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                        8.75
      12/12/2020   742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                  13
      12/12/2020   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                               50
      12/12/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                           412.64
      12/12/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                           198.05
      12/12/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                           369.11
      12/12/2020   742   RS0342   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax          112.35
      12/12/2020   742   RS0342   Owner Operator   IRP License Deduction          LCIL:2020 - 35030                         100
      12/12/2020   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      12/12/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                       147.03
      12/12/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism                2.5
      12/12/2020   742   RS0342   Owner Operator   Toll Charges                   35030 NTTA Kelly Blvd.                    2.76
      12/12/2020   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                        8.75
      12/12/2020   742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                  13
      12/12/2020   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      12/12/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                        60.16
      12/12/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism                2.5
      12/12/2020   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL               8.75
      12/12/2020   742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                  13
      12/12/2020   742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                              200
      12/12/2020   742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                             2
      12/12/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                           221.72
      12/12/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                           368.64
      12/12/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                           431.14
      12/12/2020   742   TC0098   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax           66.77
      12/12/2020   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      12/12/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD               68.98
      12/12/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter             2.5
      12/12/2020   742   TC0098   Owner Operator   Tire Purchase                  C34197~GOODYEAR TIRE AND RUBBE          108.38
      12/12/2020   781   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL               8.75
      12/12/2020   781   MM0054   Owner Operator   Communication Charge           Safety Tech Hardware 86900                  13
      12/12/2020   781   MM0054   Owner Operator   ESCROW                         Weekly Escrow                             4.67
      12/12/2020   781   MM0054   Owner Operator   ESCROW                         Weekly Escrow                               50
      12/12/2020   781   MM0054   Owner Operator   Fuel Purchase                  Fuel Purchase                           178.49
      12/12/2020   781   MM0054   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax          102.32
      12/12/2020   781   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            55.75
      12/12/2020   781   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD               16.05
      12/12/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                   8.75
      12/12/2020   783   AJ0066   Owner Operator   Communication Charge           Safety Tech Hardware 86816                  13
      12/12/2020   783   AJ0066   Owner Operator   ESCROW                         Weekly Escrow                               50
      12/12/2020   783   AJ0066   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax          310.01
      12/12/2020   783   AJ0066   Owner Operator   IRP License Deduction          LCIL:2020 - 86816                         100
      12/12/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      12/12/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                   68.18
      12/12/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori             2.5
      12/12/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                     8.75
      12/12/2020   783   CH0168   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax          -21.18
      12/12/2020   783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            12.43
      12/12/2020   783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                   8.75
      12/12/2020   783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                  13
      12/12/2020   783   DS0317   Owner Operator   ESCROW                         Weekly Escrow                               50
      12/12/2020   783   DS0317   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         1058.21
      12/12/2020   783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      12/12/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                   38.34
      12/12/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori             2.5
      12/12/2020   783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                    8.75
      12/12/2020   783   GR0095   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                         8.75
      12/12/2020   783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                  13
      12/12/2020   783   GR0095   Owner Operator   ESCROW                         Weekly Escrow                               50
      12/12/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                           194.17
      12/12/2020   783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5

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      12/12/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
      12/12/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD Terroris           2.5
      12/12/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      110.69
      12/12/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD Terrorism               2.5
      12/12/2020   783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      12/12/2020   783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                13
      12/12/2020   783   HP0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         513.77
      12/12/2020   783   HP0028   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        183.67
      12/12/2020   783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
      12/12/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      12/12/2020   783   JK0157   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax       -107.78
      12/12/2020   783   JK0157   Owner Operator   FUEL TAX                       September 2020 Fuel/Mileage Ta        107.78
      12/12/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
      12/12/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
      12/12/2020   783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061                13
      12/12/2020   783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061                13
      12/12/2020   783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   783   JL0281   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   783   JL0281   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   783   JL0281   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   783   JL0281   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.95
      12/12/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.23
      12/12/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.11
      12/12/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.81
      12/12/2020   783   JL0281   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax          14.8
      12/12/2020   783   JL0281   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   783   JL0281   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.16
      12/12/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.16
      12/12/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
      12/12/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
      12/12/2020   783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      12/12/2020   783   MA0112   Owner Operator   Communication Charge           Safety Tech Hardware 86931                13
      12/12/2020   783   MA0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         424.14
      12/12/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         438.28
      12/12/2020   783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
      12/12/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      12/12/2020   783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/12/2020   783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
      12/12/2020   783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.19
      12/12/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         527.17
      12/12/2020   783   MK0038   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         43.06
      12/12/2020   783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
      12/12/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/12/2020   783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      12/12/2020   783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
      12/12/2020   783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/12/2020   783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/12/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         150.11
      12/12/2020   783   MK0078   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        705.48
      12/12/2020   783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
      12/12/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      12/12/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   2016 Western Star NTL                   8.75
      12/12/2020   783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 35086                13
      12/12/2020   783   OJ0010   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/12/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         369.42
      12/12/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                          185.2
      12/12/2020   783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/12/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD                   40.07
      12/12/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD Terrorism           2.5
      12/12/2020   783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      12/12/2020   783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
      12/12/2020   783   RC0294   Owner Operator   ESCROW                         Weekly Escrow                             50

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      12/12/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.57
      12/12/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.41
      12/12/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.72
      12/12/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          211.99
      12/12/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.04
      12/12/2020   783   RC0294   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         -22.82
      12/12/2020   783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/12/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD              12.03
      12/12/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter            2.5
      12/12/2020   783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL               8.75
      12/12/2020   783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                 13
      12/12/2020   783   RM0340   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/12/2020   783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                          424.96
      12/12/2020   783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                          421.56
      12/12/2020   783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/12/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD                38.1
      12/12/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr            2.5
      12/12/2020   783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL               8.75
      12/12/2020   783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                 13
      12/12/2020   783   RS0377   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/12/2020   783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/12/2020   783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/12/2020   783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/12/2020   783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/12/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                          331.55
      12/12/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                           207.5
      12/12/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                          332.19
      12/12/2020   783   RS0377   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         150.36
      12/12/2020   783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/12/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD               40.11
      12/12/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr            2.5
      12/19/2020   709   AC0061   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1639.69
      12/19/2020   709   AC0061   Owner Operator   Advance                        Fuel Tax Payment Plan                  163.97
      12/19/2020   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL             8.75
      12/19/2020   709   AC0061   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13148                      9.84
      12/19/2020   709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148                13
      12/19/2020   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/19/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          458.55
      12/19/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                           97.12
      12/19/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          291.73
      12/19/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          447.96
      12/19/2020   709   AC0061   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1639.69
      12/19/2020   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD              36.9
      12/19/2020   709   AC0061   Owner Operator   Truck Payment                  CTMS - 246493 Q13148 Trac Leas         296.09
      12/19/2020   709   AC0122   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1089.42
      12/19/2020   709   AC0122   Owner Operator   Advance                        Fuel Tax Payment Plan                  108.94
      12/19/2020   709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                   8.75
      12/19/2020   709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                 13
      12/19/2020   709   AC0122   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   709   AC0122   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1089.42
      12/19/2020   709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                   28.08
      12/19/2020   709   AG0116   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      12/19/2020   709   AG0116   Owner Operator   Broker Pre Pass                DriveWyze TRK35099                      17.62
      12/19/2020   709   AG0116   Owner Operator   Communication Charge           Safety Tech Hardware 35099                 20
      12/19/2020   709   AG0116   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   709   AG0116   Owner Operator   Fuel Purchase                  Fuel Purchase                           29.36
      12/19/2020   709   AG0116   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   AG0116   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    32.09
      12/19/2020   709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL              8.75
      12/19/2020   709   AN0007   Owner Operator   Broker Pre Pass                DriveWyze TRK32781                       9.84
      12/19/2020   709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                 13
      12/19/2020   709   AN0007   Owner Operator   Fuel Purchase                  Fuel Purchase                           26.81
      12/19/2020   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment          354.79
      12/19/2020   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD              28.08
      12/19/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter            2.5
      12/19/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 246435 truck 32781 Leas         225.29
      12/19/2020   709   AR0064   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1701.09
      12/19/2020   709   AR0064   Owner Operator   Advance                        Fuel Tax Payment Plan                  170.11
      12/19/2020   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL             8.75
      12/19/2020   709   AR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13147                      9.84

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      12/19/2020   709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147                13
      12/19/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          241.07
      12/19/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          268.66
      12/19/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.11
      12/19/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.31
      12/19/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          226.89
      12/19/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          203.72
      12/19/2020   709   AR0064   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1701.09
      12/19/2020   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD              36.1
      12/19/2020   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                     44.33
      12/19/2020   709   AV0021   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts           -681.6
      12/19/2020   709   AV0021   Owner Operator   Advance                        Fuel Tax Payment Plan                  136.32
      12/19/2020   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL             8.75
      12/19/2020   709   AV0021   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13169                      9.84
      12/19/2020   709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169                13
      12/19/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           74.32
      12/19/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           48.12
      12/19/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           49.59
      12/19/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          120.54
      12/19/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           120.3
      12/19/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           48.11
      12/19/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           88.52
      12/19/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           89.18
      12/19/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          106.01
      12/19/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           96.24
      12/19/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                           48.48
      12/19/2020   709   AV0021   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax          681.6
      12/19/2020   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD              36.1
      12/19/2020   709   BM0030   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -3424.48
      12/19/2020   709   BM0030   Owner Operator   Advance                        Fuel Tax Payment Plan                  342.45
      12/19/2020   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                        8.75
      12/19/2020   709   BM0030   Owner Operator   Broker Pre Pass                DriveWyze TRK34023                       9.84
      12/19/2020   709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                 13
      12/19/2020   709   BM0030   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        3424.48
      12/19/2020   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                        28.75
      12/19/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism                2.5
      12/19/2020   709   BR0082   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -100.58
      12/19/2020   709   BR0082   Owner Operator   Advance                        Fuel Tax Payment Plan                   20.12
      12/19/2020   709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                   8.75
      12/19/2020   709   BR0082   Owner Operator   Broker Pre Pass                DriveWyze TRK35023                       9.84
      12/19/2020   709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                 13
      12/19/2020   709   BR0082   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          127.98
      12/19/2020   709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          192.16
      12/19/2020   709   BR0082   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         100.58
      12/19/2020   709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                   40.11
      12/19/2020   709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris            2.5
      12/19/2020   709   BS0078   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -988.17
      12/19/2020   709   BS0078   Owner Operator   Advance                        Fuel Tax Payment Plan                   98.82
      12/19/2020   709   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                    8.75
      12/19/2020   709   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                 13
      12/19/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          208.12
      12/19/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.78
      12/19/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          203.95
      12/19/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.53
      12/19/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           246.6
      12/19/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          226.37
      12/19/2020   709   BS0078   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         988.17
      12/19/2020   709   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                    113.5
      12/19/2020   709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism            2.5
      12/19/2020   709   CC0134   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1168.88
      12/19/2020   709   CC0134   Owner Operator   Advance                        Fuel Tax Payment Plan                  116.89
      12/19/2020   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL             8.75
      12/19/2020   709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168                13
      12/19/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/19/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      12/19/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          348.87
      12/19/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                          336.21

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      12/19/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.51
      12/19/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.19
      12/19/2020   709   CC0134   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax       1168.88
      12/19/2020   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/19/2020   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
      12/19/2020   709   CM0119   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -551.15
      12/19/2020   709   CM0119   Owner Operator   Advance                        Fuel Tax Payment Plan                 110.23
      12/19/2020   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/19/2020   709   CM0119   Owner Operator   Broker Pre Pass                DriveWyze TRK32920                      9.84
      12/19/2020   709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      12/19/2020   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/19/2020   709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/19/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         551.36
      12/19/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.53
      12/19/2020   709   CM0119   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        551.15
      12/19/2020   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      12/19/2020   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/19/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
      12/19/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/19/2020   709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
      12/19/2020   709   CM0224   Owner Operator   Broker Pre Pass                DriveWyze TRK8968                      17.62
      12/19/2020   709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      12/19/2020   709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      12/19/2020   709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      12/19/2020   709   CM0224   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/19/2020   709   CM0224   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/19/2020   709   CM0224   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/19/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/19/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/19/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                          97.38
      12/19/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         568.56
      12/19/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                         569.49
      12/19/2020   709   CM0224   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax       -257.11
      12/19/2020   709   CM0224   Owner Operator   IRP License Deduction          LCIL:2020 - 8968                        100
      12/19/2020   709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/19/2020   709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              16.05
      12/19/2020   709   CR0064   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -133.38
      12/19/2020   709   CR0064   Owner Operator   Advance                        Fuel Tax Payment Plan                  26.68
      12/19/2020   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      12/19/2020   709   CR0064   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1247                      9.84
      12/19/2020   709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      12/19/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/19/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/19/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/19/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/19/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         300.41
      12/19/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.27
      12/19/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         341.97
      12/19/2020   709   CR0064   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        133.38
      12/19/2020   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/19/2020   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      12/19/2020   709   CR0064   Owner Operator   Truck Payment                  CTMS - 246432 Q1247 Sub Lease         263.91
      12/19/2020   709   CV0028   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -976.12
      12/19/2020   709   CV0028   Owner Operator   Advance                        Fuel Tax Payment Plan                  97.61
      12/19/2020   709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      12/19/2020   709   CV0028   Owner Operator   Broker Pre Pass                DriveWyze TRK33482                      9.84
      12/19/2020   709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      12/19/2020   709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/19/2020   709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/19/2020   709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/19/2020   709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/19/2020   709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/19/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                           219
      12/19/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.59
      12/19/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.47
      12/19/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.09
      12/19/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         342.79
      12/19/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.23
      12/19/2020   709   CV0028   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        976.12
      12/19/2020   709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/19/2020   709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.18
      12/19/2020   709   DL0029   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -823.97
      12/19/2020   709   DL0029   Owner Operator   Advance                        Fuel Tax Payment Plan                   82.4

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      12/19/2020   709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL                8.75
      12/19/2020   709   DL0029   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13199                      9.84
      12/19/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                           216.6
      12/19/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          277.42
      12/19/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          295.92
      12/19/2020   709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          259.05
      12/19/2020   709   DL0029   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         823.97
      12/19/2020   709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                24.07
      12/19/2020   709   DL0029   Owner Operator   Truck Payment                  CTMS - 246408 Q13199 Lease             193.11
      12/19/2020   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                 8.75
      12/19/2020   709   DL0107   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1245                       9.84
      12/19/2020   709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                 13
      12/19/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          470.33
      12/19/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          427.84
      12/19/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          554.12
      12/19/2020   709   DL0107   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        -323.35
      12/19/2020   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                 67.46
      12/19/2020   709   DM0257   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -3519.95
      12/19/2020   709   DM0257   Owner Operator   Advance                        Fuel Tax Payment Plan                    352
      12/19/2020   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
      12/19/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                            221
      12/19/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          226.34
      12/19/2020   709   DM0257   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        3519.95
      12/19/2020   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    19.17
      12/19/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      12/19/2020   709   DS0049   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -377.97
      12/19/2020   709   DS0049   Owner Operator   Advance                        Fuel Tax Payment Plan                   75.59
      12/19/2020   709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                    8.75
      12/19/2020   709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                 13
      12/19/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/19/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/19/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      12/19/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/19/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                           199.6
      12/19/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          235.36
      12/19/2020   709   DS0049   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         377.97
      12/19/2020   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                    114.7
      12/19/2020   709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                      26
      12/19/2020   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      12/19/2020   709   DS0225   Owner Operator   Broker Pre Pass                DriveWyze TRK33320                       9.84
      12/19/2020   709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                 13
      12/19/2020   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           1000
      12/19/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                           447.3
      12/19/2020   709   DS0225   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        -289.54
      12/19/2020   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       40.11
      12/19/2020   709   DS0288   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1845.31
      12/19/2020   709   DS0288   Owner Operator   Advance                        Fuel Tax Payment Plan                  184.53
      12/19/2020   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      12/19/2020   709   DS0288   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1291.71
      12/19/2020   709   DS0288   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         229.83
      12/19/2020   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    43.13
      12/19/2020   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    39.86
      12/19/2020   709   DT0153   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -750.95
      12/19/2020   709   DT0153   Owner Operator   Advance                        Fuel Tax Payment Plan                    75.1
      12/19/2020   709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                 13
      12/19/2020   709   DT0153   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                          356.44
      12/19/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                          299.87
      12/19/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                          321.01
      12/19/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                           73.06
      12/19/2020   709   DT0153   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         750.95
      12/19/2020   709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   EA0003   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1511.25
      12/19/2020   709   EA0003   Owner Operator   Advance                        Fuel Tax Payment Plan                  151.13
      12/19/2020   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/19/2020   709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                 13
      12/19/2020   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                            250

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      12/19/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/19/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/19/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           604.4
      12/19/2020   709   EA0003   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1511.25
      12/19/2020   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                       33.64
      12/19/2020   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   108.28
      12/19/2020   709   EG0062   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -134.45
      12/19/2020   709   EG0062   Owner Operator   Advance                        Fuel Tax Payment Plan                   26.89
      12/19/2020   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
      12/19/2020   709   EG0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33828                       9.84
      12/19/2020   709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                 13
      12/19/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          501.49
      12/19/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          435.02
      12/19/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.83
      12/19/2020   709   EG0062   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         134.45
      12/19/2020   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    43.13
      12/19/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
      12/19/2020   709   EN0016   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -839.92
      12/19/2020   709   EN0016   Owner Operator   Advance                        Fuel Tax Payment Plan                   83.99
      12/19/2020   709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/19/2020   709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                 13
      12/19/2020   709   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/19/2020   709   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/19/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                            9.59
      12/19/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.03
      12/19/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.16
      12/19/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          231.76
      12/19/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          253.17
      12/19/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          373.86
      12/19/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.38
      12/19/2020   709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                          195.43
      12/19/2020   709   EN0016   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         839.92
      12/19/2020   709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    28.08
      12/19/2020   709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      12/19/2020   709   EO0014   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -2298.86
      12/19/2020   709   EO0014   Owner Operator   Advance                        Fuel Tax Payment Plan                  229.89
      12/19/2020   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
      12/19/2020   709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                 13
      12/19/2020   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            100
      12/19/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/19/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/19/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/19/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/19/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          266.84
      12/19/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          231.87
      12/19/2020   709   EO0014   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        2298.86
      12/19/2020   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 80.21
      12/19/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
      12/19/2020   709   EO0014   Owner Operator   Toll Charges                   33846 BATA Carquinez Bridge                26
      12/19/2020   709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.75
      12/19/2020   709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                 13
      12/19/2020   709   FS0039   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax           67.6
      12/19/2020   709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              78.93
      12/19/2020   709   FV0001   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -751.93
      12/19/2020   709   FV0001   Owner Operator   Advance                        Fuel Tax Payment Plan                   75.19
      12/19/2020   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      12/19/2020   709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B                13
      12/19/2020   709   FV0001   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         751.93
      12/19/2020   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    40.11
      12/19/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      12/19/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL              8.75
      12/19/2020   709   GA0051   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1200                       9.84
      12/19/2020   709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                 13
      12/19/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.17
      12/19/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          164.99
      12/19/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.74
      12/19/2020   709   GA0051   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax            9.5

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      12/19/2020   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      12/19/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     24.07
      12/19/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD               29.68
      12/19/2020   709   GA0051   Owner Operator   Truck Payment                  CTMS - 246433 Q1200 Lease              238.16
      12/19/2020   709   GS0015   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -166.11
      12/19/2020   709   GS0015   Owner Operator   Advance                        Fuel Tax Payment Plan                    33.22
      12/19/2020   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL               8.75
      12/19/2020   709   GS0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1110                        9.84
      12/19/2020   709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                  13
      12/19/2020   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          321.67
      12/19/2020   709   GS0015   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         166.11
      12/19/2020   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      12/19/2020   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD               40.11
      12/19/2020   709   HC0023   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -400.72
      12/19/2020   709   HC0023   Owner Operator   Advance                        Fuel Tax Payment Plan                    80.14
      12/19/2020   709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL              8.75
      12/19/2020   709   HC0023   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13170                       9.84
      12/19/2020   709   HC0023   Owner Operator   Communication Charge           Safety Tech Hardware Q13170                 13
      12/19/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          306.66
      12/19/2020   709   HC0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          383.72
      12/19/2020   709   HC0023   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         400.72
      12/19/2020   709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      12/19/2020   709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD               36.1
      12/19/2020   709   HC0023   Owner Operator   Truck Payment                  CTMS - 246436 Back tractor pay         235.12
      12/19/2020   709   HG0007   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts            -514.9
      12/19/2020   709   HG0007   Owner Operator   Advance                        Fuel Tax Payment Plan                  102.98
      12/19/2020   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                         8.75
      12/19/2020   709   HG0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34565                        9.84
      12/19/2020   709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                  13
      12/19/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          344.78
      12/19/2020   709   HG0007   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax           514.9
      12/19/2020   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      12/19/2020   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       100.67
      12/19/2020   709   HG0027   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -358.92
      12/19/2020   709   HG0027   Owner Operator   Advance                        Fuel Tax Payment Plan                    71.78
      12/19/2020   709   HG0027   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                        8.75
      12/19/2020   709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          154.29
      12/19/2020   709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment            20.45
      12/19/2020   709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      12/19/2020   709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                        56.15
      12/19/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                     8.75
      12/19/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   33065 2014 Freightliner NTL               8.75
      12/19/2020   709   IA0007   Owner Operator   Broker Pre Pass                DriveWyze TRK34012                        9.84
      12/19/2020   709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 33065                  13
      12/19/2020   709   IA0007   Owner Operator   ESCROW                         Escrow Withdrawal                      -12850
      12/19/2020   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                             400
      12/19/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                            333.9
      12/19/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          457.78
      12/19/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          300.93
      12/19/2020   709   IA0007   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax           -1.23
      12/19/2020   709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                        33.64
      12/19/2020   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      12/19/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                     52.71
      12/19/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism             2.5
      12/19/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD               71.88
      12/19/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD Ter             2.5
      12/19/2020   709   IA0007   Owner Operator   Tractor Charge                 35015 - 33065                          501.67
      12/19/2020   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                      22.35
      12/19/2020   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                     8.75
      12/19/2020   709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                  13
      12/19/2020   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          217.42
      12/19/2020   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          251.96
      12/19/2020   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                            297.5
      12/19/2020   709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.64
      12/19/2020   709   IR0002   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        -597.25
      12/19/2020   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                             47.5
      12/19/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                     94.09
      12/19/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism             2.5
      12/19/2020   709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                      14.98
      12/19/2020   709   JC0292   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1588.57
      12/19/2020   709   JC0292   Owner Operator   Advance                        Fuel Tax Payment Plan                  158.86
      12/19/2020   709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL                 8.75
      12/19/2020   709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197                 13

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      12/19/2020   709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                            400
      12/19/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/19/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/19/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/19/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/19/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/19/2020   709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/19/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                           411.2
      12/19/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          323.57
      12/19/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.31
      12/19/2020   709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          447.21
      12/19/2020   709   JC0292   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1588.57
      12/19/2020   709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD                43.13
      12/19/2020   709   JC0292   Owner Operator   Toll Charges                   Q13197 ILTOLL Route 80 (East)             5.1
      12/19/2020   709   JC0292   Owner Operator   Truck Payment                  CTMS - 246439 Q13197 Lease             276.63
      12/19/2020   709   JC0418   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -175.17
      12/19/2020   709   JC0418   Owner Operator   Advance                        Fuel Tax Payment Plan                   35.03
      12/19/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                        8.75
      12/19/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                  8.75
      12/19/2020   709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                 13
      12/19/2020   709   JC0418   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.81
      12/19/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                          258.25
      12/19/2020   709   JC0418   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         175.17
      12/19/2020   709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        44.12
      12/19/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism                2.5
      12/19/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                  24.07
      12/19/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori            2.5
      12/19/2020   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      12/19/2020   709   JD0211   Owner Operator   Broker Pre Pass                DriveWyze TRK34325                       9.84
      12/19/2020   709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                 13
      12/19/2020   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       12.03
      12/19/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism               2.5
      12/19/2020   709   JG0017   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -336.08
      12/19/2020   709   JG0017   Owner Operator   Advance                        Fuel Tax Payment Plan                   67.22
      12/19/2020   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/19/2020   709   JG0017   Owner Operator   Broker Pre Pass                DriveWyze TRK32908                       9.84
      12/19/2020   709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                 13
      12/19/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/19/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/19/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/19/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      12/19/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          413.89
      12/19/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.17
      12/19/2020   709   JG0017   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         336.08
      12/19/2020   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                       33.64
      12/19/2020   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    28.08
      12/19/2020   709   JG0072   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -2680.37
      12/19/2020   709   JG0072   Owner Operator   Advance                        Fuel Tax Payment Plan                  268.04
      12/19/2020   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/19/2020   709   JG0072   Owner Operator   Broker Pre Pass                DriveWyze TRK32909                       9.84
      12/19/2020   709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                 13
      12/19/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/19/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/19/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/19/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      12/19/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          445.28
      12/19/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          490.25
      12/19/2020   709   JG0072   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        2680.37
      12/19/2020   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                       33.64
      12/19/2020   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                     76.2
      12/19/2020   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      12/19/2020   709   JG0092   Owner Operator   Broker Pre Pass                DriveWyze TRK33669                       9.84
      12/19/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          535.12
      12/19/2020   709   JG0092   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        -604.25
      12/19/2020   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        36.1
      12/19/2020   709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                    8.75

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      12/19/2020   709   JL0280   Owner Operator   Broker Pre Pass                DriveWyze TRK8970                        9.84
      12/19/2020   709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                  13
      12/19/2020   709   JL0280   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                          280.65
      12/19/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                           32.17
      12/19/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.79
      12/19/2020   709   JL0280   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax          90.21
      12/19/2020   709   JL0280   Owner Operator   IRP License Deduction          LCIL:2020 - 8970                         100
      12/19/2020   709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                    33.04
      12/19/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                    8.75
      12/19/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      12/19/2020   709   JQ0015   Owner Operator   Broker Pre Pass                DriveWyze TRK34637                       9.84
      12/19/2020   709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 33438                 13
      12/19/2020   709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                 13
      12/19/2020   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          229.55
      12/19/2020   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           19.14
      12/19/2020   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                    20.06
      12/19/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    16.05
      12/19/2020   709   JR0099   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1100.17
      12/19/2020   709   JR0099   Owner Operator   Advance                        Fuel Tax Payment Plan                  110.02
      12/19/2020   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL              8.75
      12/19/2020   709   JR0099   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1203                       9.84
      12/19/2020   709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                 13
      12/19/2020   709   JR0099   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1100.17
      12/19/2020   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              60.16
      12/19/2020   709   JR0099   Owner Operator   Truck Payment                  CTMS - 246434 Balloon Payoff           234.05
      12/19/2020   709   JS0265   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -490.46
      12/19/2020   709   JS0265   Owner Operator   Advance                        Fuel Tax Payment Plan                   98.09
      12/19/2020   709   JS0265   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         392.37
      12/19/2020   709   KP0004   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -3063.63
      12/19/2020   709   KP0004   Owner Operator   Advance                        Fuel Tax Payment Plan                  306.36
      12/19/2020   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/19/2020   709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                 13
      12/19/2020   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            500
      12/19/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            149
      12/19/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            320
      12/19/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                            367
      12/19/2020   709   KP0004   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        3063.63
      12/19/2020   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                       33.64
      12/19/2020   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment          256.78
      12/19/2020   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    95.81
      12/19/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      12/19/2020   709   KT0055   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1007.59
      12/19/2020   709   KT0055   Owner Operator   Advance                        Fuel Tax Payment Plan                  100.76
      12/19/2020   709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL              8.75
      12/19/2020   709   KT0055   Owner Operator   Broker Pre Pass                DriveWyze TRK33483                       9.84
      12/19/2020   709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                 13
      12/19/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                           281.7
      12/19/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          231.06
      12/19/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          130.61
      12/19/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          335.13
      12/19/2020   709   KT0055   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1007.59
      12/19/2020   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD              56.15
      12/19/2020   709   KW0091   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -3143.26
      12/19/2020   709   KW0091   Owner Operator   Advance                        Fuel Tax Payment Plan                  314.33
      12/19/2020   709   KW0091   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        2828.93
      12/19/2020   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL              8.75
      12/19/2020   709   LL0160   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1111                       9.84
      12/19/2020   709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                 13
      12/19/2020   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD              40.11
      12/19/2020   709   LL0160   Owner Operator   Truck Payment                  CTMS - 246494 Balloon Pay off          200.15
      12/19/2020   709   LS0023   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -942.69
      12/19/2020   709   LS0023   Owner Operator   Advance                        Fuel Tax Payment Plan                   94.27
      12/19/2020   709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL              8.75
      12/19/2020   709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                 13
      12/19/2020   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/19/2020   709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/19/2020   709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          598.52

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      12/19/2020   709   LS0023   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         942.69
      12/19/2020   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD              58.56
      12/19/2020   709   MA0092   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -537.64
      12/19/2020   709   MA0092   Owner Operator   Advance                        Fuel Tax Payment Plan                  107.53
      12/19/2020   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      12/19/2020   709   MA0092   Owner Operator   Broker Pre Pass                DriveWyze TRK34005                       9.84
      12/19/2020   709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                 13
      12/19/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          374.84
      12/19/2020   709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          384.65
      12/19/2020   709   MA0092   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         537.64
      12/19/2020   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                        50.8
      12/19/2020   709   MC0207   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1984.42
      12/19/2020   709   MC0207   Owner Operator   Advance                        Fuel Tax Payment Plan                  198.44
      12/19/2020   709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                   8.75
      12/19/2020   709   MC0207   Owner Operator   Broker Pre Pass                DriveWyze TRK86935                      17.62
      12/19/2020   709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                 13
      12/19/2020   709   MC0207   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   709   MC0207   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1984.42
      12/19/2020   709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                   40.11
      12/19/2020   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                           441.39
      12/19/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                           32.53
      12/19/2020   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                           8.75
      12/19/2020   709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                 13
      12/19/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          377.18
      12/19/2020   709   MG0067   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        -231.41
      12/19/2020   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                            36.1
      12/19/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                   2.5
      12/19/2020   709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk          12.42
      12/19/2020   709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk           250
      12/19/2020   709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk           250
      12/19/2020   709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk           250
      12/19/2020   709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk           250
      12/19/2020   709   NB0029   Owner Operator   Advance                        8/1/20 Clm 79700-1 s/u $250/wk           250
      12/19/2020   709   NB0029   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -2439.15
      12/19/2020   709   NB0029   Owner Operator   Advance                        Fuel Tax Payment Plan                  243.92
      12/19/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
      12/19/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
      12/19/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
      12/19/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
      12/19/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
      12/19/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL               8.75
      12/19/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL              8.75
      12/19/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL              8.75
      12/19/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL              8.75
      12/19/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL              8.75
      12/19/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL              8.75
      12/19/2020   709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL              8.75
      12/19/2020   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD                36.1
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.07
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD                36.1
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD                36.1
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD                36.1
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD                36.1
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr            2.5
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr            2.5
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr            2.5
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr            2.5
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr            2.5
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr            2.5
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD              50.13
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD              50.13
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD              50.13
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD              50.13

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      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD              50.13
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD              15.14
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter            2.5
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter            2.5
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter            2.5
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter            2.5
      12/19/2020   709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter            2.5
      12/19/2020   709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                     32.95
      12/19/2020   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                 8.75
      12/19/2020   709   NG0005   Owner Operator   Broker Pre Pass                DriveWyze TRK21412B                      9.84
      12/19/2020   709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B                13
      12/19/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                             150
      12/19/2020   709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.5
      12/19/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          101.37
      12/19/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           95.81
      12/19/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           99.19
      12/19/2020   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                 33.71
      12/19/2020   709   NT9564   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -449.75
      12/19/2020   709   NT9564   Owner Operator   Advance                        Fuel Tax Payment Plan                   89.95
      12/19/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL              8.75
      12/19/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                 13
      12/19/2020   709   NT9564   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         449.75
      12/19/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD              31.28
      12/19/2020   709   PM0099   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -405.91
      12/19/2020   709   PM0099   Owner Operator   Advance                        Fuel Tax Payment Plan                   81.18
      12/19/2020   709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL               8.75
      12/19/2020   709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                 13
      12/19/2020   709   PM0099   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance                               80
      12/19/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.8
      12/19/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          375.38
      12/19/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          213.75
      12/19/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.29
      12/19/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          205.73
      12/19/2020   709   PM0099   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         405.91
      12/19/2020   709   PM0099   Owner Operator   FUEL TAX                       September 2020 Fuel/Mileage Ta          -0.01
      12/19/2020   709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD               57.75
      12/19/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr            2.5
      12/19/2020   709   PY0003   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -977.25
      12/19/2020   709   PY0003   Owner Operator   Advance                        Fuel Tax Payment Plan                   97.73
      12/19/2020   709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                   8.75
      12/19/2020   709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                             150
      12/19/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.5
      12/19/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.08
      12/19/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          108.62
      12/19/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          247.51
      12/19/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          139.18
      12/19/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          271.13
      12/19/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          212.77
      12/19/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           91.44
      12/19/2020   709   PY0003   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         977.25
      12/19/2020   709   PY0003   Owner Operator   IRP License Deduction          LCIL:2020 - 35043                        100
      12/19/2020   709   PY0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                   33.55
      12/19/2020   709   RB0170   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1134.94
      12/19/2020   709   RB0170   Owner Operator   Advance                        Fuel Tax Payment Plan                  113.49
      12/19/2020   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                 8.75
      12/19/2020   709   RB0170   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1241                       9.84
      12/19/2020   709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                 13
      12/19/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                               50
      12/19/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance                             150
      12/19/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1.5
      12/19/2020   709   RB0170   Owner Operator   Fuel Card Advances             Cash Advance Fee                          0.5
      12/19/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          287.74
      12/19/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          382.63
      12/19/2020   709   RB0170   Owner Operator   Fuel Purchase                  Fuel Purchase                          337.64
      12/19/2020   709   RB0170   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1134.94
      12/19/2020   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                 40.11

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      12/19/2020   709   RC0030   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -975.25
      12/19/2020   709   RC0030   Owner Operator   Advance                        Fuel Tax Payment Plan                   97.53
      12/19/2020   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      12/19/2020   709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                 13
      12/19/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.68
      12/19/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          160.15
      12/19/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          205.27
      12/19/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          285.75
      12/19/2020   709   RC0030   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         975.25
      12/19/2020   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       138.76
      12/19/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      12/19/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                        8.75
      12/19/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                 13
      12/19/2020   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            300
      12/19/2020   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.95
      12/19/2020   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          543.08
      12/19/2020   709   RL0017   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        -232.93
      12/19/2020   709   RL0017   Owner Operator   IRP License Deduction          LCIL:2020 - 35037                       31.29
      12/19/2020   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                       155.06
      12/19/2020   709   RL0062   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -2271.37
      12/19/2020   709   RL0062   Owner Operator   Advance                        Fuel Tax Payment Plan                  227.14
      12/19/2020   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/19/2020   709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                 13
      12/19/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/19/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                            3
      12/19/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          507.61
      12/19/2020   709   RL0062   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        2271.37
      12/19/2020   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                       33.64
      12/19/2020   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    95.63
      12/19/2020   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                    8.75
      12/19/2020   709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                 13
      12/19/2020   709   RL0180   Owner Operator   ESCROW                         Escrow Withdrawal                   -17261.54
      12/19/2020   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            400
      12/19/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                           21.87
      12/19/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          189.51
      12/19/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          396.32
      12/19/2020   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                       33.64
      12/19/2020   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    52.71
      12/19/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism            2.5
      12/19/2020   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                     28.48
      12/19/2020   709   RM0026   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1319.55
      12/19/2020   709   RM0026   Owner Operator   Advance                        Fuel Tax Payment Plan                  131.96
      12/19/2020   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                        8.75
      12/19/2020   709   RM0026   Owner Operator   Broker Pre Pass                DriveWyze TRK33664                       9.84
      12/19/2020   709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                 13
      12/19/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          428.11
      12/19/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                          327.68
      12/19/2020   709   RM0026   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1319.55
      12/19/2020   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                        32.09
      12/19/2020   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL              8.75
      12/19/2020   709   RP0082   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1202                       9.84
      12/19/2020   709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                 13
      12/19/2020   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                          361.47
      12/19/2020   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD              60.16
      12/19/2020   709   RP0082   Owner Operator   Truck Payment                  CTMS - 246382 Q1202 Balloon            234.05
      12/19/2020   709   RR0123   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1064.18
      12/19/2020   709   RR0123   Owner Operator   Advance                        Fuel Tax Payment Plan                  106.42
      12/19/2020   709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL              8.75
      12/19/2020   709   RR0123   Owner Operator   Broker Pre Pass                DriveWyze TRK33488                       9.84
      12/19/2020   709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 246507 HVUT Form 2290             110
      12/19/2020   709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                 13
      12/19/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/19/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/19/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/19/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/19/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          316.63
      12/19/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          308.15

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      12/19/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                           380.1
      12/19/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          322.05
      12/19/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.74
      12/19/2020   709   RR0123   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1064.18
      12/19/2020   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD              56.15
      12/19/2020   709   RR0123   Owner Operator   Toll Charges                   33488 E470 PLAZA D                       18.6
      12/19/2020   709   RR0123   Owner Operator   Toll Charges                   33488 E470 PLAZA E                       18.6
      12/19/2020   709   RR0123   Owner Operator   Toll Charges                   33488 OTA Cimarron Turnpike Ea           7.05
      12/19/2020   709   RR0123   Owner Operator   Toll Charges                   33488 OTA Cimarron Turnpike Ea            5.4
      12/19/2020   709   RR0123   Owner Operator   Toll Charges                   33488 OTA Muskogee Turnpike So            4.5
      12/19/2020   709   RR0123   Owner Operator   Toll Charges                   33488 OTA Muskogee Turnpike So           5.75
      12/19/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 246462 Past tractor ren           100
      12/19/2020   709   SB0009   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -2330.17
      12/19/2020   709   SB0009   Owner Operator   Advance                        Fuel Tax Payment Plan                  233.02
      12/19/2020   709   SB0009   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        2097.15
      12/19/2020   709   SB0103   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -625.92
      12/19/2020   709   SB0103   Owner Operator   Advance                        Fuel Tax Payment Plan                  125.18
      12/19/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          250.76
      12/19/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                           13.73
      12/19/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          129.23
      12/19/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          237.11
      12/19/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          220.24
      12/19/2020   709   SB0103   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         625.92
      12/19/2020   709   SB0103   Owner Operator   Truck Payment                  CTMS - 246302 3303Truck Lease          133.15
      12/19/2020   709   SM0109   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1981.71
      12/19/2020   709   SM0109   Owner Operator   Advance                        Fuel Tax Payment Plan                  198.17
      12/19/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            289
      12/19/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          236.68
      12/19/2020   709   SM0109   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1981.71
      12/19/2020   709   SN0019   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -371.22
      12/19/2020   709   SN0019   Owner Operator   Advance                        Fuel Tax Payment Plan                   74.24
      12/19/2020   709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                    8.75
      12/19/2020   709   SN0019   Owner Operator   Broker Pre Pass                DriveWyze TRK33461                       9.84
      12/19/2020   709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                 13
      12/19/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/19/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/19/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/19/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/19/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/19/2020   709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/19/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          257.85
      12/19/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.24
      12/19/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.78
      12/19/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          167.19
      12/19/2020   709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                          260.72
      12/19/2020   709   SN0019   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         371.22
      12/19/2020   709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    44.12
      12/19/2020   709   VB0015   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -284.89
      12/19/2020   709   VB0015   Owner Operator   Advance                        Fuel Tax Payment Plan                   56.98
      12/19/2020   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL              8.75
      12/19/2020   709   VB0015   Owner Operator   Broker Pre Pass                DriveWyze TRKQ1112                       9.84
      12/19/2020   709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                 13
      12/19/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          429.01
      12/19/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          515.63
      12/19/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            165
      12/19/2020   709   VB0015   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         284.89
      12/19/2020   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD               38.5
      12/19/2020   709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                     90.11
      12/19/2020   709   VJ0006   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1445.31
      12/19/2020   709   VJ0006   Owner Operator   Advance                        Fuel Tax Payment Plan                  144.53
      12/19/2020   709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      12/19/2020   709   VJ0006   Owner Operator   Broker Pre Pass                DriveWyze TRK33961                       9.84
      12/19/2020   709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                 13
      12/19/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/19/2020   709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/19/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           198.6
      12/19/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          228.49
      12/19/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.53
      12/19/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                           226.2
      12/19/2020   709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.98

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      12/19/2020   709   VJ0006   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1445.31
      12/19/2020   709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    39.56
      12/19/2020   709   WA0036   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                       8.75
      12/19/2020   709   WA0036   Owner Operator   Communication Charge           Safety Tech Hardware 35136                 20
      12/19/2020   709   WA0036   Owner Operator   Communication Charge           Safety Tech Hardware 35136                 20
      12/19/2020   709   WA0036   Owner Operator   Communication Charge           Safety Tech Hardware 35136                 20
      12/19/2020   709   WA0036   Owner Operator   ESCROW                         Weekly Escrow                           46.43
      12/19/2020   709   WA0036   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   709   WA0036   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   709   WA0036   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   709   WA0036   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                       47.92
      12/19/2020   709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism               2.5
      12/19/2020   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      12/19/2020   709   WB0062   Owner Operator   Broker Pre Pass                DriveWyze TRK33407                       9.84
      12/19/2020   709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                 13
      12/19/2020   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    57.75
      12/19/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism            2.5
      12/19/2020   709   WH0087   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -760.76
      12/19/2020   709   WH0087   Owner Operator   Advance                        Fuel Tax Payment Plan                   76.08
      12/19/2020   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                 8.75
      12/19/2020   709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                 13
      12/19/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/19/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/19/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.58
      12/19/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          249.35
      12/19/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           269.6
      12/19/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          278.64
      12/19/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                          209.21
      12/19/2020   709   WH0087   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         760.76
      12/19/2020   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                 62.08
      12/19/2020   742   AP0047   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1489.72
      12/19/2020   742   AP0047   Owner Operator   Advance                        Fuel Tax Payment Plan                  148.97
      12/19/2020   742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                     8.75
      12/19/2020   742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                 13
      12/19/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/19/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/19/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/19/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/19/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/19/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/19/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                           197.3
      12/19/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          303.53
      12/19/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          183.97
      12/19/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                            350
      12/19/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                              20
      12/19/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                          190.46
      12/19/2020   742   AP0047   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1489.72
      12/19/2020   742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                     53.74
      12/19/2020   742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism             2.5
      12/19/2020   742   AP0047   Owner Operator   Toll Charges                   32604 ILTOLL Route 80 (West)              5.1
      12/19/2020   742   AP0047   Owner Operator   Toll Charges                   32604 PTC Bedford                        48.6
      12/19/2020   742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                       8.75
      12/19/2020   742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                 13
      12/19/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          471.59
      12/19/2020   742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                          449.25
      12/19/2020   742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                       72.19
      12/19/2020   742   CT0085   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -467.76
      12/19/2020   742   CT0085   Owner Operator   Advance                        Fuel Tax Payment Plan                   93.55
      12/19/2020   742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL             8.75
      12/19/2020   742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           37.46
      12/19/2020   742   CT0085   Owner Operator   Toll Charges                   Q13171                                     26
      12/19/2020   742   CT0085   Owner Operator   Toll Charges                   Q13171                                     26
      12/19/2020   742   CT0085   Owner Operator   Toll Charges                   Q13171                                     16
      12/19/2020   742   CT0085   Owner Operator   Toll Charges                   Q13171                                     26
      12/19/2020   742   CT0085   Owner Operator   Toll Charges                   Q13171                                     26
      12/19/2020   742   CT0085   Owner Operator   Toll Charges                   Q13171                                     26
      12/19/2020   742   CT0085   Owner Operator   Toll Charges                   Q13171                                     26

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      12/19/2020   742   CT0085   Owner Operator   Toll Charges                   Q13171                                     26
      12/19/2020   742   CT0085   Owner Operator   Toll Charges                   Q13171                                     26
      12/19/2020   742   CT0085   Owner Operator   Toll Charges                   Q13171                                     26
      12/19/2020   742   CT0085   Owner Operator   Toll Charges                   Q13171                                     26
      12/19/2020   742   CT0085   Owner Operator   Toll Charges                   Q13171                                     26
      12/19/2020   742   CT0085   Owner Operator   Toll Charges                   Q13171/WFG5270                             26
      12/19/2020   742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                    143.14
      12/19/2020   742   DA0067   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1369.91
      12/19/2020   742   DA0067   Owner Operator   Advance                        Fuel Tax Payment Plan                  136.99
      12/19/2020   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/19/2020   742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                 13
      12/19/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             425
      12/19/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                          254.01
      12/19/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                             470
      12/19/2020   742   DA0067   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1369.91
      12/19/2020   742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          268.58
      12/19/2020   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    72.19
      12/19/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      12/19/2020   742   DC0117   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -375.43
      12/19/2020   742   DC0117   Owner Operator   Advance                        Fuel Tax Payment Plan                   75.09
      12/19/2020   742   DC0117   Owner Operator   Broker Pre Pass                DriveWyze TRK34063                       9.84
      12/19/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                 13
      12/19/2020   742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                             600
      12/19/2020   742   DC0117   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         375.43
      12/19/2020   742   DC0117   Owner Operator   IRS                            IRS 565155984                         2287.03
      12/19/2020   742   EA0039   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts           -300.6
      12/19/2020   742   EA0039   Owner Operator   Advance                        Fuel Tax Payment Plan                   60.12
      12/19/2020   742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      12/19/2020   742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                 13
      12/19/2020   742   EA0039   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax          300.6
      12/19/2020   742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    24.07
      12/19/2020   742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism            2.5
      12/19/2020   742   ED0041   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1131.66
      12/19/2020   742   ED0041   Owner Operator   Advance                        Fuel Tax Payment Plan                  113.17
      12/19/2020   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                        8.75
      12/19/2020   742   ED0041   Owner Operator   Broker Pre Pass                DriveWyze TRK32897                       9.84
      12/19/2020   742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                 13
      12/19/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          163.48
      12/19/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          394.52
      12/19/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          116.65
      12/19/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                          172.26
      12/19/2020   742   ED0041   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1131.66
      12/19/2020   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                        28.08
      12/19/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism                2.5
      12/19/2020   742   JB0465   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts            -2962
      12/19/2020   742   JB0465   Owner Operator   Advance                        Fuel Tax Payment Plan                   296.2
      12/19/2020   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                   8.75
      12/19/2020   742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                 13
      12/19/2020   742   JB0465   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax           2962
      12/19/2020   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                   24.07
      12/19/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris            2.5
      12/19/2020   742   JH0148   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1719.87
      12/19/2020   742   JH0148   Owner Operator   Advance                        Fuel Tax Payment Plan                  171.99
      12/19/2020   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                   8.75
      12/19/2020   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                   8.75
      12/19/2020   742   JH0148   Owner Operator   Broker Pre Pass                DriveWyze TRK34329                       9.84
      12/19/2020   742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                 13
      12/19/2020   742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                 13
      12/19/2020   742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                          565.01
      12/19/2020   742   JH0148   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1719.87
      12/19/2020   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                   24.07
      12/19/2020   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                   24.07
      12/19/2020   742   JS0390   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1071.65
      12/19/2020   742   JS0390   Owner Operator   Advance                        Fuel Tax Payment Plan                  107.17
      12/19/2020   742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/19/2020   742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                 13
      12/19/2020   742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                              50

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      12/19/2020   742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/19/2020   742   JS0390   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/19/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.55
      12/19/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.67
      12/19/2020   742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.04
      12/19/2020   742   JS0390   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax       1071.65
      12/19/2020   742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/19/2020   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
      12/19/2020   742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/19/2020   742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      12/19/2020   742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      12/19/2020   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/19/2020   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/19/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
      12/19/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      12/19/2020   742   NG0024   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -249.49
      12/19/2020   742   NG0024   Owner Operator   Advance                        Fuel Tax Payment Plan                   49.9
      12/19/2020   742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      12/19/2020   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       2.11
      12/19/2020   742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                      35.26
      12/19/2020   742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/19/2020   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      12/19/2020   742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      12/19/2020   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.69
      12/19/2020   742   PC0012   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts           -1224
      12/19/2020   742   PC0012   Owner Operator   Advance                        Fuel Tax Payment Plan                  122.4
      12/19/2020   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/19/2020   742   PC0012   Owner Operator   Broker Pre Pass                DriveWyze TRK32969                      9.84
      12/19/2020   742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
      12/19/2020   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                            200
      12/19/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                             200
      12/19/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/19/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.59
      12/19/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                           8.51
      12/19/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.63
      12/19/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         415.81
      12/19/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.56
      12/19/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.82
      12/19/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.15
      12/19/2020   742   PC0012   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax          1224
      12/19/2020   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
      12/19/2020   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
      12/19/2020   742   PC0012   Owner Operator   Toll Charges                   32969 OTA Kilpatrick Turnpike           8.65
      12/19/2020   742   PC0012   Owner Operator   Toll Charges                   32969 OTA Turner Turnpike Bi-d         12.65
      12/19/2020   742   PC0012   Owner Operator   Toll Charges                   32969 OTA Will Rogers Turnpike         18.05
      12/19/2020   742   RF0136   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -614.66
      12/19/2020   742   RF0136   Owner Operator   Advance                        EFS 258188 s/u 3 wks                  250.17
      12/19/2020   742   RF0136   Owner Operator   Advance                        EFS 258188 s/u 3 wks                 -750.52
      12/19/2020   742   RF0136   Owner Operator   Advance                        Fuel Tax Payment Plan                 122.93
      12/19/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.39
      12/19/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                          119.3
      12/19/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         137.28
      12/19/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.64
      12/19/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                         190.46
      12/19/2020   742   RF0136   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        192.01
      12/19/2020   742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL            8.75
      12/19/2020   742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157               13
      12/19/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.71
      12/19/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.23
      12/19/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         348.26
      12/19/2020   742   RN0054   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.82
      12/19/2020   742   RN0054   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        607.51
      12/19/2020   742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/19/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD             36.1
      12/19/2020   742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te           2.5
      12/19/2020   742   RN0054   Owner Operator   Truck Payment                  CTMS - 246114 Balloon Payoff          335.75
      12/19/2020   742   RN0054   Owner Operator   Truck Payment                  CTMS - 246272 Balloon Payoff          335.75
      12/19/2020   742   RN0054   Owner Operator   Truck Payment                  CTMS - 246434 Balloon Payoff          335.75
      12/19/2020   742   RS0342   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -722.57
      12/19/2020   742   RS0342   Owner Operator   Advance                        Fuel Tax Payment Plan                 144.51
      12/19/2020   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
      12/19/2020   742   RS0342   Owner Operator   Broker Pre Pass                DriveWyze TRK35030                      9.84
      12/19/2020   742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                13

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      12/19/2020   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                          50
      12/19/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                      403.59
      12/19/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                       95.45
      12/19/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                      256.36
      12/19/2020   742   RS0342   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax     722.57
      12/19/2020   742   RS0342   Owner Operator   IRP License Deduction          LCIL:2020 - 35030                   31.29
      12/19/2020   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      12/19/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                  147.03
      12/19/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism           2.5
      12/19/2020   742   RS0342   Owner Operator   Toll Charges                   35030 HCTRA Sam Houston - NE M          7
      12/19/2020   742   RS0342   Owner Operator   Toll Charges                   35030 NTTA Kelly Blvd.               2.76
      12/19/2020   742   RS0342   Owner Operator   Toll Charges                   35030 NTTA Lower Tarrant Mainl        4.4
      12/19/2020   742   RS0342   Owner Operator   Toll Charges                   35030 NTTA Plaza 10 - Irving          2.4
      12/19/2020   742   RS0342   Owner Operator   Toll Charges                   35030 NTTA Plaza 9 - Carrollto       4.16
      12/19/2020   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                   8.75
      12/19/2020   742   SK0049   Owner Operator   Broker Pre Pass                DriveWyze TRK33934                   9.84
      12/19/2020   742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934             13
      12/19/2020   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      12/19/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                   60.16
      12/19/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism           2.5
      12/19/2020   742   TC0098   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts     -1314.61
      12/19/2020   742   TC0098   Owner Operator   Advance                        Fuel Tax Payment Plan              131.46
      12/19/2020   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL          8.75
      12/19/2020   742   TC0098   Owner Operator   Broker Pre Pass                DriveWyze TRK33489                   9.84
      12/19/2020   742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489             13
      12/19/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      250.84
      12/19/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      235.37
      12/19/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      401.47
      12/19/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                      249.22
      12/19/2020   742   TC0098   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax    1314.61
      12/19/2020   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      12/19/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD          68.98
      12/19/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter        2.5
      12/19/2020   742   TC0098   Owner Operator   Tire Purchase                  C34197~GOODYEAR TIRE AND RUBBE     108.38
      12/19/2020   742   TC0098   Owner Operator   Truck Payment                  CTMS - 246119 33489 Lease Paym     412.16
      12/19/2020   742   TC0098   Owner Operator   Truck Payment                  CTMS - 246277 33489 Lease Paym     412.16
      12/19/2020   742   TC0098   Owner Operator   Truck Payment                  CTMS - 246439 33489 Lease Paym     412.16
      12/19/2020   781   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL          8.75
      12/19/2020   781   MM0054   Owner Operator   Broker Pre Pass                DriveWyze TRK86900                   9.84
      12/19/2020   781   MM0054   Owner Operator   Communication Charge           Safety Tech Hardware 86900             13
      12/19/2020   781   MM0054   Owner Operator   ESCROW                         Weekly Escrow                          50
      12/19/2020   781   MM0054   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax      80.63
      12/19/2020   781   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       55.75
      12/19/2020   781   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD          16.05
      12/19/2020   783   AJ0066   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts      -574.71
      12/19/2020   783   AJ0066   Owner Operator   Advance                        Fuel Tax Payment Plan              114.94
      12/19/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL              8.75
      12/19/2020   783   AJ0066   Owner Operator   Broker Pre Pass                DriveWyze TRK86816                   9.84
      12/19/2020   783   AJ0066   Owner Operator   Communication Charge           Safety Tech Hardware 86816             13
      12/19/2020   783   AJ0066   Owner Operator   ESCROW                         Weekly Escrow                          50
      12/19/2020   783   AJ0066   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax     574.71
      12/19/2020   783   AJ0066   Owner Operator   IRP License Deduction          LCIL:2020 - 86816                    100
      12/19/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      12/19/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD              68.18
      12/19/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori        2.5
      12/19/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                8.75
      12/19/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                8.75
      12/19/2020   783   CH0168   Owner Operator   Broker Pre Pass                DriveWyze TRK35066                  17.62
      12/19/2020   783   CH0168   Owner Operator   Communication Charge           Safety Tech Hardware 35066             13
      12/19/2020   783   CH0168   Owner Operator   Communication Charge           Safety Tech Hardware 35066             13
      12/19/2020   783   CH0168   Owner Operator   Communication Charge           Safety Tech Hardware 35066             13
      12/19/2020   783   CH0168   Owner Operator   ESCROW                         Weekly Escrow                          50
      12/19/2020   783   CH0168   Owner Operator   ESCROW                         Weekly Escrow                          50
      12/19/2020   783   CH0168   Owner Operator   ESCROW                         Weekly Escrow                          50
      12/19/2020   783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                      328.92
      12/19/2020   783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                      333.69
      12/19/2020   783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                      415.85
      12/19/2020   783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                       292.5
      12/19/2020   783   CH0168   Owner Operator   IRP License Deduction          LCIL:2020 - 35066                    100
      12/19/2020   783   CH0168   Owner Operator   IRP License Deduction          LCIL:2020 - 35066                    100
      12/19/2020   783   CH0168   Owner Operator   IRP License Deduction          LCIL:2020 - 35066                    100
      12/19/2020   783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                        47.5
      12/19/2020   783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       35.07

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      12/19/2020   783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   783   CH0168   Owner Operator   Permits                        NY13:2020 - 35066                         1.5
      12/19/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                    72.19
      12/19/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                    72.19
      12/19/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                    72.19
      12/19/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism            2.5
      12/19/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism            2.5
      12/19/2020   783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism            2.5
      12/19/2020   783   DS0317   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -2700.82
      12/19/2020   783   DS0317   Owner Operator   Advance                        Fuel Tax Payment Plan                  270.08
      12/19/2020   783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                  8.75
      12/19/2020   783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                 13
      12/19/2020   783   DS0317   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   783   DS0317   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        2700.82
      12/19/2020   783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                  38.34
      12/19/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori            2.5
      12/19/2020   783   GR0095   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -103.93
      12/19/2020   783   GR0095   Owner Operator   Advance                        Fuel Tax Payment Plan                   20.79
      12/19/2020   783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                   8.75
      12/19/2020   783   GR0095   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                        8.75
      12/19/2020   783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                 13
      12/19/2020   783   GR0095   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                          209.83
      12/19/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                          448.51
      12/19/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                          156.31
      12/19/2020   783   GR0095   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         103.93
      12/19/2020   783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                   16.05
      12/19/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD Terroris            2.5
      12/19/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                       110.69
      12/19/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD Terrorism                2.5
      12/19/2020   783   HP0028   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -262.04
      12/19/2020   783   HP0028   Owner Operator   Advance                        Fuel Tax Payment Plan                   52.41
      12/19/2020   783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                  8.75
      12/19/2020   783   HP0028   Owner Operator   Communication Charge           Safety Tech Hardware 86943                 13
      12/19/2020   783   HP0028   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   783   HP0028   Owner Operator   Fuel Purchase                  Fuel Purchase                           612.3
      12/19/2020   783   HP0028   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         262.04
      12/19/2020   783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                  32.09
      12/19/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori            2.5
      12/19/2020   783   JL0281   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -652.14
      12/19/2020   783   JL0281   Owner Operator   Advance                        Fuel Tax Payment Plan                  130.43
      12/19/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                    8.75
      12/19/2020   783   JL0281   Owner Operator   Broker Pre Pass                DriveWyze TRK35061                       9.84
      12/19/2020   783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061                 13
      12/19/2020   783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   783   JL0281   Owner Operator   Fuel Card Advances             Cash Advance                             500
      12/19/2020   783   JL0281   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      12/19/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.15
      12/19/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.25
      12/19/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                           366.8
      12/19/2020   783   JL0281   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         652.14
      12/19/2020   783   JL0281   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                    60.16
      12/19/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism            2.5
      12/19/2020   783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                   8.75
      12/19/2020   783   MA0112   Owner Operator   Communication Charge           Safety Tech Hardware 86931                 13
      12/19/2020   783   MA0112   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            466
      12/19/2020   783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                   16.05
      12/19/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris            2.5
      12/19/2020   783   MK0038   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -838.28
      12/19/2020   783   MK0038   Owner Operator   Advance                        Fuel Tax Payment Plan                   83.83
      12/19/2020   783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                        8.75
      12/19/2020   783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                 13
      12/19/2020   783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                          563.92
      12/19/2020   783   MK0038   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         838.28
      12/19/2020   783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                        64.17

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      12/19/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism                2.5
      12/19/2020   783   MK0078   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -2093.05
      12/19/2020   783   MK0078   Owner Operator   Advance                        Fuel Tax Payment Plan                  209.31
      12/19/2020   783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                   8.75
      12/19/2020   783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                 13
      12/19/2020   783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                           341.8
      12/19/2020   783   MK0078   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        2093.05
      12/19/2020   783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                   72.84
      12/19/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris            2.5
      12/19/2020   783   OJ0010   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts          -497.07
      12/19/2020   783   OJ0010   Owner Operator   Advance                        Fuel Tax Payment Plan                   99.41
      12/19/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   2016 Western Star NTL                    8.75
      12/19/2020   783   OJ0010   Owner Operator   Broker Pre Pass                DriveWyze TRK35086                      17.62
      12/19/2020   783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 35086                 13
      12/19/2020   783   OJ0010   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                          353.08
      12/19/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.68
      12/19/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                          338.68
      12/19/2020   783   OJ0010   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         497.07
      12/19/2020   783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD                    40.07
      12/19/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD Terrorism            2.5
      12/19/2020   783   OJ0010   Owner Operator   Toll Charges                   35086 BATA Carquinez Bridge                26
      12/19/2020   783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL              8.75
      12/19/2020   783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                 13
      12/19/2020   783   RC0294   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                           246.3
      12/19/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          181.02
      12/19/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          131.79
      12/19/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          162.83
      12/19/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                          227.41
      12/19/2020   783   RC0294   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        -161.54
      12/19/2020   783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD              12.03
      12/19/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter            2.5
      12/19/2020   783   RD0012   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -1584.44
      12/19/2020   783   RD0012   Owner Operator   Advance                        Fuel Tax Payment Plan                  158.44
      12/19/2020   783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                       8.75
      12/19/2020   783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                       8.75
      12/19/2020   783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                 13
      12/19/2020   783   RD0012   Owner Operator   Communication Charge           Safety Tech Hardware 86812                 13
      12/19/2020   783   RD0012   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   783   RD0012   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          301.45
      12/19/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          198.18
      12/19/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          457.09
      12/19/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          379.63
      12/19/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          253.78
      12/19/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          234.19
      12/19/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          184.42
      12/19/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          312.88
      12/19/2020   783   RD0012   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        1584.44
      12/19/2020   783   RD0012   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax         325.89
      12/19/2020   783   RD0012   Owner Operator   FUEL TAX                       September 2020 Fuel/Mileage Ta          -0.04
      12/19/2020   783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                       40.11
      12/19/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                       40.11
      12/19/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism               2.5
      12/19/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism               2.5
      12/19/2020   783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL               8.75
      12/19/2020   783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                 13
      12/19/2020   783   RM0340   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/19/2020   783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                          513.63
      12/19/2020   783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/19/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD                38.1
      12/19/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr            2.5
      12/19/2020   783   RS0377   Owner Operator   Advance                        Credit Fuel Tax, Set up Pmts         -2534.88
      12/19/2020   783   RS0377   Owner Operator   Advance                        Fuel Tax Payment Plan                  253.49
      12/19/2020   783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL               8.75
      12/19/2020   783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                 13

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      12/19/2020   783   RS0377   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/19/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         336.04
      12/19/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.33
      12/19/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.95
      12/19/2020   783   RS0377   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax       2534.88
      12/19/2020   783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/19/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
      12/19/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      12/19/2020   783   SM0160   Owner Operator   FUEL TAX                       September 2020 Fuel/Mileage Ta        -98.72
      12/26/2020   709   AC0061   Owner Operator   Advance                        Fuel Tax Payment Plan                 163.97
      12/26/2020   709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
      12/26/2020   709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
      12/26/2020   709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/26/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         350.66
      12/26/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.11
      12/26/2020   709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.16
      12/26/2020   709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD            36.88
      12/26/2020   709   AC0061   Owner Operator   Truck Payment                  CTMS - 244551 TRUCK RENTAL              500
      12/26/2020   709   AC0122   Owner Operator   Advance                        Fuel Tax Payment Plan                 108.94
      12/26/2020   709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
      12/26/2020   709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
      12/26/2020   709   AC0122   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.05
      12/26/2020   709   AG0116   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      12/26/2020   709   AG0116   Owner Operator   Communication Charge           Safety Tech Hardware 35099                20
      12/26/2020   709   AG0116   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   709   AG0116   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   AG0116   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.06
      12/26/2020   709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
      12/26/2020   709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
      12/26/2020   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         354.79
      12/26/2020   709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.05
      12/26/2020   709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
      12/26/2020   709   AN0007   Owner Operator   Truck Payment                  CTMS - 246620 truck 32781 Leas        225.29
      12/26/2020   709   AR0064   Owner Operator   Advance                        Fuel Tax Payment Plan                 170.11
      12/26/2020   709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
      12/26/2020   709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
      12/26/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.53
      12/26/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         124.71
      12/26/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           265
      12/26/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         265.38
      12/26/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.66
      12/26/2020   709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.63
      12/26/2020   709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD            36.07
      12/26/2020   709   AR0064   Owner Operator   Tire Purchase                  008840~MICHELIN NORTH AMERICA         231.99
      12/26/2020   709   AR0064   Owner Operator   Toll Charges                   Q13147 NYSTA Ripley Toll               12.42
      12/26/2020   709   AR0064   Owner Operator   Toll Charges                   Q13147 PTC Breezewood                   30.1
      12/26/2020   709   AR0064   Owner Operator   Truck Payment                  CTMS - 245655 RENTAL                    500
      12/26/2020   709   AR0064   Owner Operator   Truck Payment                  CTMS - 246332 Baloon Q13147           357.62
      12/26/2020   709   AR0064   Owner Operator   Truck Payment                  CTMS - 246494 Baloon Q13147           357.62
      12/26/2020   709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.31
      12/26/2020   709   AV0021   Owner Operator   Advance                        Fuel Tax Payment Plan                 136.32
      12/26/2020   709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
      12/26/2020   709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      12/26/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.09
      12/26/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                             96
      12/26/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.01
      12/26/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.36
      12/26/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.53
      12/26/2020   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.29
      12/26/2020   709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD            36.07
      12/26/2020   709   AV0021   Owner Operator   Truck Payment                  CTMS - 246306 Q13169 Sublease         352.68
      12/26/2020   709   AV0021   Owner Operator   Truck Payment                  CTMS - 246466 Q13169 Sublease         352.68
      12/26/2020   709   BM0030   Owner Operator   Advance                        Fuel Tax Payment Plan                 342.45
      12/26/2020   709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
      12/26/2020   709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
      12/26/2020   709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75

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      12/26/2020   709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
      12/26/2020   709   BS0078   Owner Operator   Advance                        Fuel Tax Payment Plan                  98.82
      12/26/2020   709   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      12/26/2020   709   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      12/26/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.11
      12/26/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.67
      12/26/2020   709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.07
      12/26/2020   709   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                  113.48
      12/26/2020   709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      12/26/2020   709   CC0134   Owner Operator   Advance                        Fuel Tax Payment Plan                 116.89
      12/26/2020   709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
      12/26/2020   709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      12/26/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/26/2020   709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/26/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.05
      12/26/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.67
      12/26/2020   709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         372.01
      12/26/2020   709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD            36.07
      12/26/2020   709   CC0134   Owner Operator   Truck Payment                  CTMS - 246411 Q13168 sub lease        352.68
      12/26/2020   709   CC0134   Owner Operator   Truck Payment                  CTMS - 246585 Q13168 sub lease        352.68
      12/26/2020   709   CM0119   Owner Operator   Advance                        Fuel Tax Payment Plan                 110.23
      12/26/2020   709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/26/2020   709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
      12/26/2020   709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         549.54
      12/26/2020   709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
      12/26/2020   709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.04
      12/26/2020   709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/26/2020   709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                          364.32
      12/26/2020   709   CM0224   Owner Operator   Fuel Purchase                  Fuel Purchase                          546.8
      12/26/2020   709   CR0064   Owner Operator   Advance                        Fuel Tax Payment Plan                  26.68
      12/26/2020   709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      12/26/2020   709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      12/26/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/26/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/26/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/26/2020   709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/26/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         215.85
      12/26/2020   709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         365.62
      12/26/2020   709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.87
      12/26/2020   709   CR0064   Owner Operator   Truck Payment                  CTMS - 246616 Q1247 Sub Lease         263.91
      12/26/2020   709   CV0028   Owner Operator   Advance                        Fuel Tax Payment Plan                  97.61
      12/26/2020   709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL             8.75
      12/26/2020   709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      12/26/2020   709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/26/2020   709   CV0028   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/26/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.43
      12/26/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         210.84
      12/26/2020   709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.04
      12/26/2020   709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD             68.17
      12/26/2020   709   CV0028   Owner Operator   Truck Payment                  CTMS - 246407 Lease Truck 3348        335.96
      12/26/2020   709   CV0028   Owner Operator   Truck Payment                  CTMS - 246580 Lease Truck 3348        335.96
      12/26/2020   709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      12/26/2020   709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      12/26/2020   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      12/26/2020   709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/26/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.79
      12/26/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.11
      12/26/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         230.92
      12/26/2020   709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         430.92
      12/26/2020   709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.45
      12/26/2020   709   DL0107   Owner Operator   Truck Payment                  CTMS - 246070 TRUCK RENTAL              500
      12/26/2020   709   DL0107   Owner Operator   Truck Payment                  CTMS - 246220 TRUCK RENTAL              500
      12/26/2020   709   DL0107   Owner Operator   Truck Payment                  CTMS - 246557 TRUCK RENTAL              500
      12/26/2020   709   DM0257   Owner Operator   Advance                        Fuel Tax Payment Plan                   352
      12/26/2020   709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                   8.75
      12/26/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          43.88

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      12/26/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         262.78
      12/26/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.59
      12/26/2020   709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                         227.03
      12/26/2020   709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    19.16
      12/26/2020   709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
      12/26/2020   709   DS0049   Owner Operator   Advance                        Fuel Tax Payment Plan                   75.59
      12/26/2020   709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                    8.75
      12/26/2020   709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                 13
      12/26/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                              500
      12/26/2020   709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                            5
      12/26/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         393.42
      12/26/2020   709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         474.93
      12/26/2020   709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                  114.69
      12/26/2020   709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
      12/26/2020   709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                 13
      12/26/2020   709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           1000
      12/26/2020   709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         512.48
      12/26/2020   709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       40.09
      12/26/2020   709   DS0288   Owner Operator   Advance                        Fuel Tax Payment Plan                 184.53
      12/26/2020   709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                     -35
      12/26/2020   709   DS0288   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        212.97
      12/26/2020   709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            -190
      12/26/2020   709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   -172.5
      12/26/2020   709   DT0153   Owner Operator   Advance                        Fuel Tax Payment Plan                    75.1
      12/26/2020   709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                 13
      12/26/2020   709   DT0153   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/26/2020   709   DT0153   Owner Operator   Fuel Purchase                  Fuel Purchase                           344.6
      12/26/2020   709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   EA0003   Owner Operator   Advance                        Fuel Tax Payment Plan                 151.13
      12/26/2020   709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/26/2020   709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                 13
      12/26/2020   709   EA0003   Owner Operator   ESCROW                         Escrow Withdrawal                     -13750
      12/26/2020   709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                             250
      12/26/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                              200
      12/26/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance                              200
      12/26/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/26/2020   709   EA0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/26/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                           380.7
      12/26/2020   709   EA0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         386.13
      12/26/2020   709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                       33.64
      12/26/2020   709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      12/26/2020   709   EG0062   Owner Operator   Advance                        Fuel Tax Payment Plan                   26.89
      12/26/2020   709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
      12/26/2020   709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                 13
      12/26/2020   709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         564.47
      12/26/2020   709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    43.11
      12/26/2020   709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
      12/26/2020   709   EO0014   Owner Operator   Advance                        Fuel Tax Payment Plan                 229.89
      12/26/2020   709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
      12/26/2020   709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                 13
      12/26/2020   709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                             100
      12/26/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                              200
      12/26/2020   709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/26/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                         333.73
      12/26/2020   709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                             247
      12/26/2020   709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                  80.2
      12/26/2020   709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
      12/26/2020   709   FV0001   Owner Operator   Advance                        Fuel Tax Payment Plan                   75.19
      12/26/2020   709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
      12/26/2020   709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B                13
      12/26/2020   709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                         518.87
      12/26/2020   709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    40.09
      12/26/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
      12/26/2020   709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL              8.75
      12/26/2020   709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                 13
      12/26/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance                              500

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      12/26/2020   709   GA0051   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/26/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.59
      12/26/2020   709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                         321.76
      12/26/2020   709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                   24.04
      12/26/2020   709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD             29.67
      12/26/2020   709   GA0051   Owner Operator   Truck Payment                  CTMS - 246617 Q1200 Lease             238.16
      12/26/2020   709   GS0015   Owner Operator   Advance                        Fuel Tax Payment Plan                  33.22
      12/26/2020   709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL             8.75
      12/26/2020   709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                13
      12/26/2020   709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          336.4
      12/26/2020   709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD             40.09
      12/26/2020   709   HG0007   Owner Operator   Advance                        Fuel Tax Payment Plan                 102.98
      12/26/2020   709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      12/26/2020   709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                13
      12/26/2020   709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         437.52
      12/26/2020   709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                      100.64
      12/26/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                   8.75
      12/26/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    -35
      12/26/2020   709   IA0007   Owner Operator   BOBTAIL INS.                   33065 2014 Freightliner NTL             8.75
      12/26/2020   709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
      12/26/2020   709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           400
      12/26/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.7
      12/26/2020   709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.83
      12/26/2020   709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
      12/26/2020   709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    52.7
      12/26/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                 -210.83
      12/26/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           -10
      12/26/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD Terrorism           2.5
      12/26/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD             71.86
      12/26/2020   709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD Ter           2.5
      12/26/2020   709   IA0007   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
      12/26/2020   709   IA0007   Owner Operator   Truck Payment                  CTMS - 244551 TRUCK RENTAL              500
      12/26/2020   709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.34
      12/26/2020   709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/26/2020   709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
      12/26/2020   709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.07
      12/26/2020   709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/26/2020   709   JC0418   Owner Operator   Advance                        Fuel Tax Payment Plan                  35.03
      12/26/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
      12/26/2020   709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
      12/26/2020   709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
      12/26/2020   709   JC0418   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         295.83
      12/26/2020   709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         353.33
      12/26/2020   709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                        44.1
      12/26/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
      12/26/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.04
      12/26/2020   709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
      12/26/2020   709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/26/2020   709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
      12/26/2020   709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
      12/26/2020   709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      12/26/2020   709   JG0017   Owner Operator   Advance                        Fuel Tax Payment Plan                  67.22
      12/26/2020   709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/26/2020   709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      12/26/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            500
      12/26/2020   709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/26/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         179.39
      12/26/2020   709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         236.93
      12/26/2020   709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      12/26/2020   709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      12/26/2020   709   JG0072   Owner Operator   Advance                        Fuel Tax Payment Plan                 268.04
      12/26/2020   709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/26/2020   709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
      12/26/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200

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      12/26/2020   709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
      12/26/2020   709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                          485.59
      12/26/2020   709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                       33.64
      12/26/2020   709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    76.19
      12/26/2020   709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                       8.75
      12/26/2020   709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                          434.05
      12/26/2020   709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       36.07
      12/26/2020   709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                    8.75
      12/26/2020   709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                  13
      12/26/2020   709   JL0280   Owner Operator   ESCROW                         Weekly Escrow                              50
      12/26/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                          318.25
      12/26/2020   709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                          269.84
      12/26/2020   709   JL0280   Owner Operator   IRP License Deduction          LCIL:2020 - 8970                         100
      12/26/2020   709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                    33.02
      12/26/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                    8.75
      12/26/2020   709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                    8.75
      12/26/2020   709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 33438                 13
      12/26/2020   709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637                 13
      12/26/2020   709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          190.44
      12/26/2020   709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                    20.03
      12/26/2020   709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                    16.02
      12/26/2020   709   JR0099   Owner Operator   Advance                        Fuel Tax Payment Plan                  110.02
      12/26/2020   709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL              8.75
      12/26/2020   709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203                 13
      12/26/2020   709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD              60.14
      12/26/2020   709   JR0099   Owner Operator   Truck Payment                  CTMS - 246314 TRUCK RENTAL               500
      12/26/2020   709   JR0099   Owner Operator   Truck Payment                  CTMS - 246459 TRUCK RENTAL               500
      12/26/2020   709   JR0099   Owner Operator   Truck Payment                  CTMS - 246618 Balloon Payoff           234.05
      12/26/2020   709   JS0265   Owner Operator   Advance                        Fuel Tax Payment Plan                   98.09
      12/26/2020   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                        2.65
      12/26/2020   709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                        8.75
      12/26/2020   709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL             8.75
      12/26/2020   709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                          418.77
      12/26/2020   709   JS0265   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax          98.09
      12/26/2020   709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                         38.5
      12/26/2020   709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD             41.31
      12/26/2020   709   KP0004   Owner Operator   Advance                        Fuel Tax Payment Plan                  306.36
      12/26/2020   709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                    8.75
      12/26/2020   709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914                 13
      12/26/2020   709   KP0004   Owner Operator   ESCROW                         Escrow Withdrawal                    -2208.37
      12/26/2020   709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                            500
      12/26/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/26/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/26/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/26/2020   709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
      12/26/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          200.07
      12/26/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           394.6
      12/26/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                              90
      12/26/2020   709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           28.01
      12/26/2020   709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                       33.64
      12/26/2020   709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment          256.78
      12/26/2020   709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                    95.81
      12/26/2020   709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism            2.5
      12/26/2020   709   KP0004   Owner Operator   Repair Order                   CTMS - 245626 Repair                     251
      12/26/2020   709   KP0004   Owner Operator   T Chek Fee                     ExpressCheck Fee                        21.87
      12/26/2020   709   KP0004   Owner Operator   T Chek Fee                     Tractor Repair 32914                   2186.5
      12/26/2020   709   KT0055   Owner Operator   Advance                        Fuel Tax Payment Plan                  100.76
      12/26/2020   709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL              8.75
      12/26/2020   709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                 13
      12/26/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          336.05
      12/26/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          289.17
      12/26/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                           45.96
      12/26/2020   709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          226.38
      12/26/2020   709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
      12/26/2020   709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD              56.13
      12/26/2020   709   KT0055   Owner Operator   Truck Payment                  CTMS - 246407 33483 Lease 208          335.48

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      12/26/2020   709   KT0055   Owner Operator   Truck Payment                  CTMS - 246580 33483 Lease 208         335.48
      12/26/2020   709   KW0091   Owner Operator   Advance                        Fuel Tax Payment Plan                 314.33
      12/26/2020   709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      12/26/2020   709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
      12/26/2020   709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
      12/26/2020   709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
      12/26/2020   709   KW0091   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   709   KW0091   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   709   KW0091   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        314.33
      12/26/2020   709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      12/26/2020   709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
      12/26/2020   709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
      12/26/2020   709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
      12/26/2020   709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.09
      12/26/2020   709   LS0023   Owner Operator   Advance                        Fuel Tax Payment Plan                  94.27
      12/26/2020   709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
      12/26/2020   709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      12/26/2020   709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.53
      12/26/2020   709   MA0092   Owner Operator   Advance                        Fuel Tax Payment Plan                 107.53
      12/26/2020   709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
      12/26/2020   709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
      12/26/2020   709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      50.77
      12/26/2020   709   MC0207   Owner Operator   Advance                        Fuel Tax Payment Plan                 198.44
      12/26/2020   709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
      12/26/2020   709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
      12/26/2020   709   MC0207   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.09
      12/26/2020   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      12/26/2020   709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
      12/26/2020   709   MD0122   Owner Operator   Broker Pre Pass                DriveWyze TRK34342                      9.84
      12/26/2020   709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      12/26/2020   709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
      12/26/2020   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance                           58.61
      12/26/2020   709   MD0122   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      12/26/2020   709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.44
      12/26/2020   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
      12/26/2020   709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.95
      12/26/2020   709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75
      12/26/2020   709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
      12/26/2020   709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         450.68
      12/26/2020   709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                          36.07
      12/26/2020   709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
      12/26/2020   709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
      12/26/2020   709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
      12/26/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.75
      12/26/2020   709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                           150
      12/26/2020   709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
      12/26/2020   709   NT9564   Owner Operator   Advance                        Fuel Tax Payment Plan                  89.95
      12/26/2020   709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
      12/26/2020   709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
      12/26/2020   709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
      12/26/2020   709   PM0099   Owner Operator   Advance                        Fuel Tax Payment Plan                  81.18
      12/26/2020   709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
      12/26/2020   709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
      12/26/2020   709   PM0099   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/26/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance                              40
      12/26/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.4
      12/26/2020   709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/26/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         283.46
      12/26/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         250.37
      12/26/2020   709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.34
      12/26/2020   709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      12/26/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
      12/26/2020   709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
      12/26/2020   709   PY0003   Owner Operator   Advance                        Fuel Tax Payment Plan                  97.73
      12/26/2020   709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
      12/26/2020   709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/26/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                             150
      12/26/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
      12/26/2020   709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/26/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.72
      12/26/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         142.18
      12/26/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         144.31
      12/26/2020   709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.57
      12/26/2020   709   PY0003   Owner Operator   IRP License Deduction          LCIL:2020 - 35043                        100
      12/26/2020   709   PY0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.52
      12/26/2020   709   PY0003   Owner Operator   Repair Order                   CTMS - 246410 REPAIRS                    350
      12/26/2020   709   PY0003   Owner Operator   Repair Order                   CTMS - 246583 REPAIRS                    350
      12/26/2020   709   RB0170   Owner Operator   Advance                        Fuel Tax Payment Plan                 113.49
      12/26/2020   709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      12/26/2020   709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.09
      12/26/2020   709   RB0170   Owner Operator   Truck Payment                  CTMS - 246300 Q1241 Truck leas         87.01
      12/26/2020   709   RC0030   Owner Operator   Advance                        Fuel Tax Payment Plan                  97.53
      12/26/2020   709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/26/2020   709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
      12/26/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.69
      12/26/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         323.53
      12/26/2020   709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         423.03
      12/26/2020   709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
      12/26/2020   709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/26/2020   709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      12/26/2020   709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
      12/26/2020   709   RL0017   Owner Operator   ESCROW                         Escrow Withdrawal                     -10000
      12/26/2020   709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                            300
      12/26/2020   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         480.13
      12/26/2020   709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          37.18
      12/26/2020   709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.05
      12/26/2020   709   RL0062   Owner Operator   Advance                        Fuel Tax Payment Plan                 227.14
      12/26/2020   709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/26/2020   709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
      12/26/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             100
      12/26/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                             300
      12/26/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      12/26/2020   709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/26/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         444.04
      12/26/2020   709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.31
      12/26/2020   709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
      12/26/2020   709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.62
      12/26/2020   709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      12/26/2020   709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
      12/26/2020   709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                            400
      12/26/2020   709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.32
      12/26/2020   709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
      12/26/2020   709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                    52.7
      12/26/2020   709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
      12/26/2020   709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.46
      12/26/2020   709   RM0026   Owner Operator   Advance                        Fuel Tax Payment Plan                 131.96
      12/26/2020   709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
      12/26/2020   709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
      12/26/2020   709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         361.06
      12/26/2020   709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.06
      12/26/2020   709   RM0026   Owner Operator   Repair Order                   CTMS - 243569 REPAIR                  346.37
      12/26/2020   709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
      12/26/2020   709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
      12/26/2020   709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         433.04
      12/26/2020   709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.14

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      12/26/2020   709   RP0082   Owner Operator   Truck Payment                  CTMS - 246553 Q1202 Balloon           234.05
      12/26/2020   709   RR0123   Owner Operator   Advance                        Fuel Tax Payment Plan                 106.42
      12/26/2020   709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
      12/26/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/26/2020   709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/26/2020   709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         351.14
      12/26/2020   709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.13
      12/26/2020   709   RR0123   Owner Operator   Toll Charges                   33488 E470 PLAZA C                      17.2
      12/26/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 246407 33488 Lease $335        335.48
      12/26/2020   709   RR0123   Owner Operator   Truck Payment                  CTMS - 246580 33488 Lease $335         300.3
      12/26/2020   709   SB0103   Owner Operator   Advance                        Fuel Tax Payment Plan                 125.18
      12/26/2020   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/26/2020   709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
      12/26/2020   709   SB0103   Owner Operator   Broker Pre Pass                DriveWyze TRK33037                      9.84
      12/26/2020   709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      12/26/2020   709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      12/26/2020   709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
      12/26/2020   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/26/2020   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/26/2020   709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
      12/26/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          51.59
      12/26/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         166.39
      12/26/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.79
      12/26/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         311.38
      12/26/2020   709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         279.18
      12/26/2020   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.31
      12/26/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
      12/26/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/26/2020   709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
      12/26/2020   709   SB0103   Owner Operator   Truck Payment                  CTMS - 246462 3303Truck Lease         133.15
      12/26/2020   709   SM0109   Owner Operator   Advance                        Fuel Tax Payment Plan                 198.17
      12/26/2020   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      12/26/2020   709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
      12/26/2020   709   SM0109   Owner Operator   Broker Pre Pass                DriveWyze TRK33195                      9.84
      12/26/2020   709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      12/26/2020   709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      12/26/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.23
      12/26/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           411
      12/26/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           378
      12/26/2020   709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           244
      12/26/2020   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      12/26/2020   709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
      12/26/2020   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
      12/26/2020   709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD             76.19
      12/26/2020   709   SM0109   Owner Operator   Repair Order                   CTMS - 245627 Repair                    185
      12/26/2020   709   SM0109   Owner Operator   Repair Order                   CTMS - 246229 Repair                    185
      12/26/2020   709   SM0109   Owner Operator   Repair Order                   CTMS - 246394 Repair                    189
      12/26/2020   709   SM0109   Owner Operator   Tire Purchase                  008840~MICHELIN NORTH AMERICA         397.44
      12/26/2020   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      12/26/2020   709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
      12/26/2020   709   VB0015   Owner Operator   Advance                        Fuel Tax Payment Plan                  56.98
      12/26/2020   709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
      12/26/2020   709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
      12/26/2020   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/26/2020   709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/26/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.68
      12/26/2020   709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           410
      12/26/2020   709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
      12/26/2020   709   WA0036   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
      12/26/2020   709   WA0036   Owner Operator   Communication Charge           Safety Tech Hardware 35136                20
      12/26/2020   709   WA0036   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   709   WA0036   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.86
      12/26/2020   709   WA0036   Owner Operator   Fuel Purchase                  Fuel Purchase                          158.2
      12/26/2020   709   WA0036   Owner Operator   Fuel Purchase                  Fuel Purchase                         160.16
      12/26/2020   709   WA0036   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.67
      12/26/2020   709   WA0036   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      47.91

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      12/26/2020   709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
      12/26/2020   709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
      12/26/2020   709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
      12/26/2020   709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
      12/26/2020   709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
      12/26/2020   709   WH0087   Owner Operator   Advance                        Fuel Tax Payment Plan                  76.08
      12/26/2020   709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
      12/26/2020   709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
      12/26/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/26/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
      12/26/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      12/26/2020   709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/26/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.65
      12/26/2020   709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         174.77
      12/26/2020   709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
      12/26/2020   709   WH0087   Owner Operator   Truck Payment                  CTMS - 246411 Q1238 Lease             311.97
      12/26/2020   709   WH0087   Owner Operator   Truck Payment                  CTMS - 246584 Q1238 Lease             311.97
      12/26/2020   742   AP0047   Owner Operator   Advance                        Fuel Tax Payment Plan                 148.97
      12/26/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/26/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
      12/26/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/26/2020   742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
      12/26/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         394.15
      12/26/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         396.36
      12/26/2020   742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         122.98
      12/26/2020   742   AP0047   Owner Operator   Toll Charges                   32604 BATA Carquinez Bridge             11.9
      12/26/2020   742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.13
      12/26/2020   742   DA0067   Owner Operator   Advance                        Fuel Tax Payment Plan                 136.99
      12/26/2020   742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      12/26/2020   742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
      12/26/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           470
      12/26/2020   742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           500
      12/26/2020   742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
      12/26/2020   742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.18
      12/26/2020   742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      12/26/2020   742   DC0117   Owner Operator   Advance                        Fuel Tax Payment Plan                  75.09
      12/26/2020   742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
      12/26/2020   742   DC0117   Owner Operator   IRS                            IRS 565155984                          951.1
      12/26/2020   742   ED0041   Owner Operator   Advance                        Fuel Tax Payment Plan                 113.17
      12/26/2020   742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      12/26/2020   742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      12/26/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.87
      12/26/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         133.25
      12/26/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.83
      12/26/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         224.93
      12/26/2020   742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         148.52
      12/26/2020   742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.05
      12/26/2020   742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      12/26/2020   742   JB0465   Owner Operator   Advance                        Fuel Tax Payment Plan                  296.2
      12/26/2020   742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
      12/26/2020   742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
      12/26/2020   742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.04
      12/26/2020   742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
      12/26/2020   742   JB0465   Owner Operator   Toll Charges                   34804 BATA Carquinez Bridge               26
      12/26/2020   742   JH0148   Owner Operator   Advance                        Fuel Tax Payment Plan                 171.99
      12/26/2020   742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
      12/26/2020   742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
      12/26/2020   742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.04
      12/26/2020   742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
      12/26/2020   742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
      12/26/2020   742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                   60.1
      12/26/2020   742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
      12/26/2020   742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.68
      12/26/2020   742   PC0012   Owner Operator   Advance                        Fuel Tax Payment Plan                  122.4
      12/26/2020   742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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      12/26/2020   742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969            13
      12/26/2020   742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                       200
      12/26/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                        200
      12/26/2020   742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      12/26/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     389.76
      12/26/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     251.72
      12/26/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                       271
      12/26/2020   742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                     299.49
      12/26/2020   742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                  33.64
      12/26/2020   742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD              107.14
      12/26/2020   742   RF0136   Owner Operator   Advance                        EFS 258188 s/u 3 wks              250.17
      12/26/2020   742   RF0136   Owner Operator   Advance                        Fuel Tax Payment Plan             122.93
      12/26/2020   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                  8.75
      12/26/2020   742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                  8.75
      12/26/2020   742   RF0136   Owner Operator   Broker Pre Pass                DriveWyze TRK34182                  9.84
      12/26/2020   742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182            13
      12/26/2020   742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182            13
      12/26/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                        150
      12/26/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance                        100
      12/26/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                       1
      12/26/2020   742   RF0136   Owner Operator   Fuel Card Advances             Cash Advance Fee                     1.5
      12/26/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                     184.82
      12/26/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                     190.94
      12/26/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                     175.76
      12/26/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                     211.21
      12/26/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                     175.92
      12/26/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                      94.83
      12/26/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                     277.04
      12/26/2020   742   RF0136   Owner Operator   Fuel Purchase                  Fuel Purchase                      154.8
      12/26/2020   742   RF0136   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax    422.65
      12/26/2020   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/26/2020   742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/26/2020   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                  54.55
      12/26/2020   742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                  54.52
      12/26/2020   742   RF0136   Owner Operator   T Chek Fee                     Advance fee processed Wed          32.27
      12/26/2020   742   RF0136   Owner Operator   T Chek Fee                     Advance processed Wed              3227
      12/26/2020   742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                    7.43
      12/26/2020   742   RF0136   Owner Operator   T Chek Fee                     Tractor Repair 34182              743.09
      12/26/2020   742   RS0342   Owner Operator   Advance                        Fuel Tax Payment Plan             144.51
      12/26/2020   742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                  8.75
      12/26/2020   742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030            13
      12/26/2020   742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                         50
      12/26/2020   742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                      232.1
      12/26/2020   742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/26/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                   147
      12/26/2020   742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism          2.5
      12/26/2020   742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                  8.75
      12/26/2020   742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934            13
      12/26/2020   742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/26/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                  60.14
      12/26/2020   742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism          2.5
      12/26/2020   742   TC0098   Owner Operator   Advance                        Fuel Tax Payment Plan             131.46
      12/26/2020   742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL         8.75
      12/26/2020   742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489            13
      12/26/2020   742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                        200
      12/26/2020   742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                       2
      12/26/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     438.15
      12/26/2020   742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     259.94
      12/26/2020   742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
      12/26/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD         68.98
      12/26/2020   742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter       2.5
      12/26/2020   742   TC0098   Owner Operator   Tire Purchase                  C34197~GOODYEAR TIRE AND RUBBE    108.38
      12/26/2020   742   TC0098   Owner Operator   Toll Charges                   33489 E470 PLAZA C                  17.2
      12/26/2020   742   TC0098   Owner Operator   Toll Charges                   33489 E470 PLAZA D                  18.6
      12/26/2020   742   TC0098   Owner Operator   Truck Payment                  CTMS - 246624 33489 Lease Paym    412.16
      12/26/2020   781   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL         8.75
      12/26/2020   781   MM0054   Owner Operator   Communication Charge           Safety Tech Hardware 86900            13
      12/26/2020   781   MM0054   Owner Operator   ESCROW                         Weekly Escrow                         50
      12/26/2020   781   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      55.74
      12/26/2020   781   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD         16.02
      12/26/2020   783   AJ0066   Owner Operator   Advance                        Fuel Tax Payment Plan             114.94
      12/26/2020   783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL             8.75
      12/26/2020   783   AJ0066   Owner Operator   Communication Charge           Safety Tech Hardware 86816            13

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      12/26/2020   783   AJ0066   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   783   AJ0066   Owner Operator   IRP License Deduction          LCIL:2020 - 86816                        100
      12/26/2020   783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.17
      12/26/2020   783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
      12/26/2020   783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                   8.75
      12/26/2020   783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.39
      12/26/2020   783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           0.06
      12/26/2020   783   DS0317   Owner Operator   Advance                        Fuel Tax Payment Plan                 270.08
      12/26/2020   783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
      12/26/2020   783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                13
      12/26/2020   783   DS0317   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.31
      12/26/2020   783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
      12/26/2020   783   GR0095   Owner Operator   Advance                        Fuel Tax Payment Plan                  20.79
      12/26/2020   783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
      12/26/2020   783   GR0095   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
      12/26/2020   783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
      12/26/2020   783   GR0095   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.96
      12/26/2020   783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.02
      12/26/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD Terroris           2.5
      12/26/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      110.68
      12/26/2020   783   GR0095   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD Terrorism               2.5
      12/26/2020   783   HP0028   Owner Operator   Advance                        Fuel Tax Payment Plan                  52.41
      12/26/2020   783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
      12/26/2020   783   HP0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.06
      12/26/2020   783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
      12/26/2020   783   JK0157   Owner Operator   ESCROW                         Final Balance Refund                    -400
      12/26/2020   783   JK0157   Owner Operator   FUEL TAX                       September 2020 Fuel/Mileage Ta         400.1
      12/26/2020   783   JL0281   Owner Operator   Advance                        Fuel Tax Payment Plan                 130.43
      12/26/2020   783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
      12/26/2020   783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061                13
      12/26/2020   783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                          458.6
      12/26/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.44
      12/26/2020   783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         326.16
      12/26/2020   783   JL0281   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.14
      12/26/2020   783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
      12/26/2020   783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
      12/26/2020   783   MA0112   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                            431
      12/26/2020   783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.02
      12/26/2020   783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
      12/26/2020   783   MK0038   Owner Operator   Advance                        Fuel Tax Payment Plan                  83.83
      12/26/2020   783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
      12/26/2020   783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
      12/26/2020   783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                          485.3
      12/26/2020   783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.16
      12/26/2020   783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
      12/26/2020   783   MK0078   Owner Operator   Advance                        Fuel Tax Payment Plan                 209.31
      12/26/2020   783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
      12/26/2020   783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
      12/26/2020   783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         244.27
      12/26/2020   783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         255.63
      12/26/2020   783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.81
      12/26/2020   783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
      12/26/2020   783   OJ0010   Owner Operator   Advance                        Fuel Tax Payment Plan                  99.41
      12/26/2020   783   OJ0010   Owner Operator   BOBTAIL INS.                   2016 Western Star NTL                   8.75
      12/26/2020   783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 35086                13
      12/26/2020   783   OJ0010   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         299.27
      12/26/2020   783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.28

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      12/26/2020   783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD                   40.05
      12/26/2020   783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD Terrorism           2.5
      12/26/2020   783   OJ0010   Owner Operator   Toll Charges                   35086 BATA Antioch Bridge                 26
      12/26/2020   783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
      12/26/2020   783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
      12/26/2020   783   RC0294   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         392.54
      12/26/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.44
      12/26/2020   783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                           301
      12/26/2020   783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
      12/26/2020   783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
      12/26/2020   783   RD0012   Owner Operator   Advance                        Fuel Tax Payment Plan                 158.44
      12/26/2020   783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75
      12/26/2020   783   RD0012   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         284.61
      12/26/2020   783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         352.77
      12/26/2020   783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.09
      12/26/2020   783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
      12/26/2020   783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
      12/26/2020   783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
      12/26/2020   783   RM0340   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         494.08
      12/26/2020   783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
      12/26/2020   783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
      12/26/2020   783   RS0377   Owner Operator   Advance                        Fuel Tax Payment Plan                 253.49
      12/26/2020   783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
      12/26/2020   783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
      12/26/2020   783   RS0377   Owner Operator   ESCROW                         Weekly Escrow                             50
      12/26/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         339.61
      12/26/2020   783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         274.67
      12/26/2020   783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      12/26/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.09
      12/26/2020   783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      12/26/2020   783   SM0160   Owner Operator   *Arrears Collection W/O        Applicable Amount to Arrears           98.72
      12/26/2020   783   SM0160   Owner Operator   Broker Pay Void/Reissue        Void Check                            -98.72
        1/2/2021   709   AC0061   Owner Operator   Advance                        Fuel Tax Payment Plan                 163.97
        1/2/2021   709   AC0061   Owner Operator   ESCROW                         Escrow Withdrawal                    -446.78
        1/2/2021   709   AC0061   Owner Operator   ESCROW                         Escrow Withdrawal                    -249.02
        1/2/2021   709   AC0061   Owner Operator   T Chek Fee                     ExpressCheck Fee                        2.47
        1/2/2021   709   AC0061   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.42
        1/2/2021   709   AC0061   Owner Operator   T Chek Fee                     Tractor Repair Q13148                 279.32
        1/2/2021   709   AC0061   Owner Operator   T Chek Fee                     Tractor Repair Q13148                 246.55
        1/2/2021   709   AC0122   Owner Operator   Advance                        Fuel Tax Payment Plan                 108.94
        1/2/2021   709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
        1/2/2021   709   AC0122   Owner Operator   ESCROW                         Weekly Escrow                             50
        1/2/2021   709   AG0116   Owner Operator   Communication Charge           Safety Tech Hardware 35099                20
        1/2/2021   709   AG0116   Owner Operator   ESCROW                         Weekly Escrow                             50
        1/2/2021   709   AG0116   Owner Operator   Fuel Purchase                  Fuel Purchase                         511.72
        1/2/2021   709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
        1/2/2021   709   AN0007   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         354.79
        1/2/2021   709   AN0007   Owner Operator   Truck Payment                  CTMS - 246747 truck 32781 Leas        225.29
        1/2/2021   709   AR0064   Owner Operator   Advance                        Fuel Tax Payment Plan                   0.68
        1/2/2021   709   AV0021   Owner Operator   Advance                        Fuel Tax Payment Plan                 136.32
        1/2/2021   709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
        1/2/2021   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.34
        1/2/2021   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.22
        1/2/2021   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         120.54
        1/2/2021   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         149.48
        1/2/2021   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          28.91
        1/2/2021   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         158.41
        1/2/2021   709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          38.83
        1/2/2021   709   AV0021   Owner Operator   Truck Payment                  CTMS - 242962 Q13169 Sublease         352.68
        1/2/2021   709   BM0030   Owner Operator   Advance                        Fuel Tax Payment Plan                 342.45
        1/2/2021   709   BM0030   Owner Operator   Broker Pre Pass                34023 PrePass Device                    12.5
        1/2/2021   709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
        1/2/2021   709   BR0082   Owner Operator   Advance                        Fuel Tax Payment Plan                  20.12
        1/2/2021   709   BR0082   Owner Operator   Advance                        Fuel Tax Payment Plan                  20.12
        1/2/2021   709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
        1/2/2021   709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13

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       1/2/2021    709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
       1/2/2021    709   BR0082   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/2/2021    709   BR0082   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/2/2021    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         240.45
       1/2/2021    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         169.49
       1/2/2021    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.89
       1/2/2021    709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/2/2021    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.09
       1/2/2021    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
       1/2/2021    709   BS0078   Owner Operator   Advance                        Fuel Tax Payment Plan                  98.82
       1/2/2021    709   BS0078   Owner Operator   Broker Pre Pass                34900 PrePass Device                    12.5
       1/2/2021    709   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
       1/2/2021    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.96
       1/2/2021    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.05
       1/2/2021    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.46
       1/2/2021    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         208.55
       1/2/2021    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         205.54
       1/2/2021    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         338.47
       1/2/2021    709   BS0078   Owner Operator   Toll Charges                   34900 NTTA Kelly Blvd.                  4.16
       1/2/2021    709   CC0134   Owner Operator   Advance                        Fuel Tax Payment Plan                 116.89
       1/2/2021    709   CC0134   Owner Operator   Broker Pre Pass                Q13168 PrePass Device                   12.5
       1/2/2021    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
       1/2/2021    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         247.18
       1/2/2021    709   CC0134   Owner Operator   Truck Payment                  CTMS - 246252 Q13168 sub lease        352.68
       1/2/2021    709   CC0134   Owner Operator   Truck Payment                  CTMS - 246722 Q13168 sub lease        352.68
       1/2/2021    709   CM0119   Owner Operator   Advance                        Fuel Tax Payment Plan                 110.23
       1/2/2021    709   CM0119   Owner Operator   Broker Pre Pass                32920 PrePass Device                    12.5
       1/2/2021    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
       1/2/2021    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/2/2021    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/2/2021    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                           356
       1/2/2021    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         534.89
       1/2/2021    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
       1/2/2021    709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                            124
       1/2/2021    709   CR0064   Owner Operator   Advance                        Fuel Tax Payment Plan                  26.68
       1/2/2021    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
       1/2/2021    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/2/2021    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/2/2021    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/2/2021    709   CR0064   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/2/2021    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.74
       1/2/2021    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                          32.24
       1/2/2021    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                           303
       1/2/2021    709   CR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.65
       1/2/2021    709   CR0064   Owner Operator   Truck Payment                  CTMS - 246744 Q1247 Sub Lease         263.91
       1/2/2021    709   CV0028   Owner Operator   Advance                        Fuel Tax Payment Plan                   0.48
       1/2/2021    709   DL0029   Owner Operator   Advance                        Fuel Tax Payment Plan                   82.4
       1/2/2021    709   DL0029   Owner Operator   Advance                        Fuel Tax Payment Plan                   82.4
       1/2/2021    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL               8.75
       1/2/2021    709   DL0029   Owner Operator   Broker Pre Pass                Q13199 PrePass Device                   12.5
       1/2/2021    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.77
       1/2/2021    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         221.51
       1/2/2021    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.82
       1/2/2021    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.98
       1/2/2021    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/2/2021    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD               24.04
       1/2/2021    709   DL0029   Owner Operator   Truck Payment                  CTMS - 246581 Q13199 Lease            193.11
       1/2/2021    709   DL0029   Owner Operator   Truck Payment                  CTMS - 246718 Q13199 Lease            193.11
       1/2/2021    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.68
       1/2/2021    709   DM0257   Owner Operator   Advance                        Fuel Tax Payment Plan                   0.68
       1/2/2021    709   DS0049   Owner Operator   Advance                        Fuel Tax Payment Plan                  75.59
       1/2/2021    709   DS0049   Owner Operator   Broker Pre Pass                34880 PrePass Device                    12.5
       1/2/2021    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
       1/2/2021    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.93
       1/2/2021    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                13
       1/2/2021    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                          1000
       1/2/2021    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                         503.07
       1/2/2021    709   DS0288   Owner Operator   Advance                        Fuel Tax Payment Plan                   0.68
       1/2/2021    709   DT0153   Owner Operator   Advance                        Fuel Tax Payment Plan                   75.1
       1/2/2021    709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                13
       1/2/2021    709   DT0153   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/2/2021    709   DT0153   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.49
       1/2/2021    709   DT0153   Owner Operator   T Chek Fee                     Tractor Repair 86963                  448.89

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       1/2/2021    709   EA0003   Owner Operator   Advance                Fuel Tax Payment Plan                    3.57
       1/2/2021    709   EG0062   Owner Operator   Advance                Fuel Tax Payment Plan                   26.89
       1/2/2021    709   EG0062   Owner Operator   Broker Pre Pass        33828 PrePass Device                     12.5
       1/2/2021    709   EG0062   Owner Operator   Communication Charge   Safety Tech Hardware 33828                 13
       1/2/2021    709   EG0062   Owner Operator   Fuel Purchase          Fuel Purchase                          395.57
       1/2/2021    709   EG0062   Owner Operator   Fuel Purchase          Fuel Purchase                          375.29
       1/2/2021    709   EN0016   Owner Operator   Advance                Fuel Tax Payment Plan                    0.68
       1/2/2021    709   EO0014   Owner Operator   Advance                Fuel Tax Payment Plan                  229.89
       1/2/2021    709   EO0014   Owner Operator   Broker Pre Pass        33846 PrePass Device                     12.5
       1/2/2021    709   EO0014   Owner Operator   Communication Charge   Safety Tech Hardware 33846                 13
       1/2/2021    709   EO0014   Owner Operator   ESCROW                 Weekly Escrow                             100
       1/2/2021    709   EO0014   Owner Operator   Fuel Card Advances     Cash Advance                              300
       1/2/2021    709   EO0014   Owner Operator   Fuel Card Advances     Cash Advance                              100
       1/2/2021    709   EO0014   Owner Operator   Fuel Card Advances     Cash Advance Fee                            1
       1/2/2021    709   EO0014   Owner Operator   Fuel Card Advances     Cash Advance Fee                            3
       1/2/2021    709   EO0014   Owner Operator   Fuel Purchase          Fuel Purchase                          382.07
       1/2/2021    709   EO0014   Owner Operator   Fuel Purchase          Fuel Purchase                           279.4
       1/2/2021    709   FS0039   Owner Operator   BOBTAIL INS.           33040 2014 Freightliner NTL              0.68
       1/2/2021    709   FV0001   Owner Operator   Advance                Fuel Tax Payment Plan                   75.19
       1/2/2021    709   FV0001   Owner Operator   Broker Pre Pass        21521B PrePass Device                    12.5
       1/2/2021    709   FV0001   Owner Operator   Communication Charge   Safety Tech Hardware 21521B                13
       1/2/2021    709   FV0001   Owner Operator   Fuel Purchase          Fuel Purchase                          286.99
       1/2/2021    709   GA0051   Owner Operator   Communication Charge   Safety Tech Hardware Q1200                 13
       1/2/2021    709   GA0051   Owner Operator   Fuel Purchase          Fuel Purchase                          134.99
       1/2/2021    709   GA0051   Owner Operator   Fuel Purchase          Fuel Purchase                          268.54
       1/2/2021    709   GA0051   Owner Operator   Fuel Purchase          Fuel Purchase                          206.78
       1/2/2021    709   GA0051   Owner Operator   Fuel Purchase          Fuel Purchase                          147.27
       1/2/2021    709   GA0051   Owner Operator   Truck Payment          CTMS - 246745 Q1200 Lease              238.16
       1/2/2021    709   GS0015   Owner Operator   Advance                Fuel Tax Payment Plan                   33.22
       1/2/2021    709   GS0015   Owner Operator   Communication Charge   Safety Tech Hardware Q1110                 13
       1/2/2021    709   GW0043   Owner Operator   ESCROW                 Final Balance Refund                    -3000
       1/2/2021    709   GW0043   Owner Operator   FUEL TAX               August 2020 Fuel/Mileage Tax           258.62
       1/2/2021    709   GW0043   Owner Operator   FUEL TAX               July 2020 Fuel/Mileage Tax             134.35
       1/2/2021    709   GW0043   Owner Operator   FUEL TAX               June 2020 Fuel/Mileage Tax             201.04
       1/2/2021    709   GW0043   Owner Operator   FUEL TAX               October 2020 Fuel/Mileage Tax          259.67
       1/2/2021    709   GW0043   Owner Operator   FUEL TAX               September 2020 Fuel/Mileage Ta         127.26
       1/2/2021    709   GW0043   Owner Operator   Truck Payment          CTMS - 243100 Q1109 Lease              302.85
       1/2/2021    709   GW0043   Owner Operator   Truck Payment          CTMS - 243268 Q1109 Lease              302.85
       1/2/2021    709   GW0043   Owner Operator   Truck Payment          CTMS - 243431 Q1109 Lease              302.85
       1/2/2021    709   HC0023   Owner Operator   Advance                Fuel Tax Payment Plan                    0.68
       1/2/2021    709   HG0007   Owner Operator   Advance                Fuel Tax Payment Plan                  102.98
       1/2/2021    709   HG0007   Owner Operator   Communication Charge   Safety Tech Hardware 34565                 13
       1/2/2021    709   HG0007   Owner Operator   Fuel Card Advances     Cash Advance                              200
       1/2/2021    709   HG0007   Owner Operator   Fuel Card Advances     Cash Advance Fee                            2
       1/2/2021    709   HG0007   Owner Operator   Fuel Purchase          Fuel Purchase                          416.07
       1/2/2021    709   HG0007   Owner Operator   Fuel Purchase          Fuel Purchase                          530.01
       1/2/2021    709   HG0007   Owner Operator   Fuel Purchase          Fuel Purchase                          320.96
       1/2/2021    709   HG0027   Owner Operator   Advance                Fuel Tax Payment Plan                   71.78
       1/2/2021    709   HG0027   Owner Operator   Advance                Fuel Tax Payment Plan                   71.78
       1/2/2021    709   HG0027   Owner Operator   BOBTAIL INS.           2011 Peterbilt NTL                       8.75
       1/2/2021    709   HG0027   Owner Operator   BOBTAIL INS.           34012 2009 Freightliner NTL              8.75
       1/2/2021    709   HG0027   Owner Operator   BOBTAIL INS.           34012 2009 Freightliner NTL              8.75
       1/2/2021    709   HG0027   Owner Operator   Broker Pre Pass        33418 PrePass Device                     12.5
       1/2/2021    709   HG0027   Owner Operator   Broker Pre Pass        33418 PrePass Device                     12.5
       1/2/2021    709   HG0027   Owner Operator   Broker Pre Pass        33418 PrePass Device                     12.5
       1/2/2021    709   HG0027   Owner Operator   Broker Pre Pass        DriveWyze TRK33418                       9.84
       1/2/2021    709   HG0027   Owner Operator   Broker Pre Pass        returned prepass HG0027                   100
       1/2/2021    709   HG0027   Owner Operator   Fuel Purchase          Fuel Purchase                          549.01
       1/2/2021    709   HG0027   Owner Operator   Fuel Purchase          Fuel Purchase                          170.13
       1/2/2021    709   HG0027   Owner Operator   Fuel Purchase          Fuel Purchase                          317.36
       1/2/2021    709   HG0027   Owner Operator   Fuel Purchase          Fuel Purchase                          160.76
       1/2/2021    709   HG0027   Owner Operator   FUEL TAX               June-Oct 2020 Fuel/Mileage Tax         358.92
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment         Conditonal Credit/Loan               -6128.86
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment         Loan # 00001 - Loan Repayment          281.78
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment         Loan # 00001 - Loan Repayment          302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment         Loan # 00001 - Loan Repayment          302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment         Loan # 00001 - Loan Repayment          302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment         Loan # 00001 - Loan Repayment          302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment         Loan # 00001 - Loan Repayment          302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment         Loan # 00001 - Loan Repayment          302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment         Loan # 00001 - Loan Repayment          302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment         Loan # 00001 - Loan Repayment          302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment         Loan # 00001 - Loan Repayment          302.23

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       1/2/2021    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment         302.23
       1/2/2021    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00001 - Loan Repayment          298.3
       1/2/2021    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/2/2021    709   HG0027   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      56.13
       1/2/2021    709   HG0027   Owner Operator   PHYSICAL DAMAGE                34012 2009 Freightliner PD             23.96
       1/2/2021    709   HG0027   Owner Operator   PHYSICAL DAMAGE                34012 2009 Freightliner PD             23.96
       1/2/2021    709   HG0027   Owner Operator   PHYSICAL DAMAGE                34012 2009 Freightliner PD Ter           2.5
       1/2/2021    709   HG0027   Owner Operator   PHYSICAL DAMAGE                34012 2009 Freightliner PD Ter           2.5
       1/2/2021    709   IA0007   Owner Operator   Broker Pre Pass                33065 PrePass Device                    12.5
       1/2/2021    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
       1/2/2021    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           400
       1/2/2021    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.38
       1/2/2021    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         701.62
       1/2/2021    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
       1/2/2021    709   IA0007   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
       1/2/2021    709   IR0002   Owner Operator   Broker Pre Pass                32901 PrePass Device                    12.5
       1/2/2021    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
       1/2/2021    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         349.34
       1/2/2021    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.96
       1/2/2021    709   JC0292   Owner Operator   Advance                        Fuel Tax Payment Plan                 158.86
       1/2/2021    709   JC0292   Owner Operator   Advance                        Fuel Tax Payment Plan                 158.86
       1/2/2021    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       1/2/2021    709   JC0292   Owner Operator   Broker Pre Pass                Q13197 PrePass Device                   12.5
       1/2/2021    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
       1/2/2021    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
       1/2/2021    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       1/2/2021    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       1/2/2021    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/2/2021    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/2/2021    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/2/2021    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/2/2021    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/2/2021    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/2/2021    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/2/2021    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/2/2021    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/2/2021    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/2/2021    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.32
       1/2/2021    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.09
       1/2/2021    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         367.93
       1/2/2021    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         470.65
       1/2/2021    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         261.75
       1/2/2021    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          315.4
       1/2/2021    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/2/2021    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.11
       1/2/2021    709   JC0292   Owner Operator   Toll Charges                   Q13197 WVPEDTA Chelyan                 11.74
       1/2/2021    709   JC0292   Owner Operator   Toll Charges                   Q13197 WVPEDTA Pax                     11.74
       1/2/2021    709   JC0292   Owner Operator   Truck Payment                  CTMS - 246623 Q13197 Lease            276.63
       1/2/2021    709   JC0292   Owner Operator   Truck Payment                  CTMS - 246750 Q13197 Lease            276.63
       1/2/2021    709   JC0418   Owner Operator   Advance                        Fuel Tax Payment Plan                  35.03
       1/2/2021    709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
       1/2/2021    709   JC0418   Owner Operator   ESCROW                         Weekly Escrow                           100
       1/2/2021    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                          224.3
       1/2/2021    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.58
       1/2/2021    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
       1/2/2021    709   JG0017   Owner Operator   Advance                        Fuel Tax Payment Plan                  67.22
       1/2/2021    709   JG0017   Owner Operator   Broker Pre Pass                32908 PrePass Device                    12.5
       1/2/2021    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
       1/2/2021    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       1/2/2021    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/2/2021    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/2/2021    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       1/2/2021    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         368.56
       1/2/2021    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         116.06
       1/2/2021    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          188.1
       1/2/2021    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         390.56
       1/2/2021    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         140.82

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       1/2/2021    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                     33.64
       1/2/2021    709   JG0072   Owner Operator   Advance                        Fuel Tax Payment Plan                268.04
       1/2/2021    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909               13
       1/2/2021    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                           300
       1/2/2021    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                          3
       1/2/2021    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        174.65
       1/2/2021    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                        425.21
       1/2/2021    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                     33.64
       1/2/2021    709   JG0092   Owner Operator   Broker Pre Pass                33669 PrePass Device                   12.5
       1/2/2021    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                        556.09
       1/2/2021    709   JL0280   Owner Operator   Broker Pre Pass                8970 PrePass Device                    12.5
       1/2/2021    709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970                13
       1/2/2021    709   JL0280   Owner Operator   ESCROW                         Weekly Escrow                            50
       1/2/2021    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.2
       1/2/2021    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        293.57
       1/2/2021    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.13
       1/2/2021    709   JL0280   Owner Operator   IRP License Deduction          LCIL:2020 - 8970                       100
       1/2/2021    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 33438               13
       1/2/2021    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637               13
       1/2/2021    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance                           100
       1/2/2021    709   JQ0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       1/2/2021    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        166.97
       1/2/2021    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                        129.04
       1/2/2021    709   JR0099   Owner Operator   Advance                        Fuel Tax Payment Plan                110.02
       1/2/2021    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203               13
       1/2/2021    709   JR0099   Owner Operator   Truck Payment                  CTMS - 246660 TRUCK RENTAL             500
       1/2/2021    709   JR0099   Owner Operator   Truck Payment                  CTMS - 246746 Balloon Payoff         234.05
       1/2/2021    709   JS0265   Owner Operator   Advance                        Fuel Tax Payment Plan                 98.09
       1/2/2021    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                       6.1
       1/2/2021    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL           8.75
       1/2/2021    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                        241.88
       1/2/2021    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
       1/2/2021    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                       38.5
       1/2/2021    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD            41.3
       1/2/2021    709   JS0265   Owner Operator   Truck Payment                  CTMS - 246170 Q13159 Lease            331.5
       1/2/2021    709   JS0265   Owner Operator   Truck Payment                  CTMS - 246331 Q13159 Lease            221.4
       1/2/2021    709   KP0004   Owner Operator   Advance                        Fuel Tax Payment Plan                306.36
       1/2/2021    709   KP0004   Owner Operator   Broker Pre Pass                32914 PrePass Device                   12.5
       1/2/2021    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914               13
       1/2/2021    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                        187.84
       1/2/2021    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
       1/2/2021    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                           100
       1/2/2021    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       1/2/2021    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                          1
       1/2/2021    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                          190
       1/2/2021    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        125.05
       1/2/2021    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                        210.02
       1/2/2021    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                     33.64
       1/2/2021    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment        256.78
       1/2/2021    709   KT0055   Owner Operator   Advance                        Fuel Tax Payment Plan                100.76
       1/2/2021    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483               13
       1/2/2021    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        294.28
       1/2/2021    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        296.88
       1/2/2021    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        275.82
       1/2/2021    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        490.81
       1/2/2021    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                        119.98
       1/2/2021    709   KT0055   Owner Operator   Toll Charges                   33483 BATA Carquinez Bridge              26
       1/2/2021    709   KT0055   Owner Operator   Truck Payment                  CTMS - 246247 33483 Lease 208        335.48
       1/2/2021    709   KT0055   Owner Operator   Truck Payment                  CTMS - 246718 33483 Lease 208        335.48
       1/2/2021    709   KW0091   Owner Operator   Advance                        Fuel Tax Payment Plan                314.33
       1/2/2021    709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958               13
       1/2/2021    709   KW0091   Owner Operator   ESCROW                         Weekly Escrow                            50
       1/2/2021    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111               13
       1/2/2021    709   LL0160   Owner Operator   Truck Payment                  CTMS - 246669 Balloon Pay off        200.15
       1/2/2021    709   LS0023   Owner Operator   Advance                        Fuel Tax Payment Plan                 94.27
       1/2/2021    709   LS0023   Owner Operator   Broker Pre Pass                33655 PrePass Device                   12.5
       1/2/2021    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655               13
       1/2/2021    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                           200
       1/2/2021    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                          2
       1/2/2021    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        346.27
       1/2/2021    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         37.81
       1/2/2021    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                        521.43
       1/2/2021    709   MA0092   Owner Operator   Advance                        Fuel Tax Payment Plan                107.53

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       1/2/2021    709   MA0092   Owner Operator   Communication Charge    Safety Tech Hardware 34005                13
       1/2/2021    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                         390.02
       1/2/2021    709   MA0092   Owner Operator   Fuel Purchase           Fuel Purchase                          303.3
       1/2/2021    709   MC0207   Owner Operator   Advance                 Fuel Tax Payment Plan                 198.44
       1/2/2021    709   MC0207   Owner Operator   Communication Charge    Safety Tech Hardware 86935                13
       1/2/2021    709   MC0207   Owner Operator   ESCROW                  Weekly Escrow                             50
       1/2/2021    709   MC0207   Owner Operator   Fuel Purchase           Fuel Purchase                         411.45
       1/2/2021    709   MD0122   Owner Operator   Communication Charge    Safety Tech Hardware 34342                13
       1/2/2021    709   MD0122   Owner Operator   ESCROW                  Escrow Withdrawal                      -1600
       1/2/2021    709   MD0122   Owner Operator   Fuel Card Advances      Cash Advance                             500
       1/2/2021    709   MD0122   Owner Operator   Fuel Card Advances      Cash Advance Fee                           5
       1/2/2021    709   MD0122   Owner Operator   Fuel Purchase           Fuel Purchase                         187.81
       1/2/2021    709   MD0122   Owner Operator   Fuel Purchase           Fuel Purchase                          65.79
       1/2/2021    709   MG0067   Owner Operator   Communication Charge    Safety Tech Hardware 33435                13
       1/2/2021    709   MG0067   Owner Operator   Fuel Purchase           Fuel Purchase                         386.93
       1/2/2021    709   MG0067   Owner Operator   Fuel Purchase           Fuel Purchase                         412.81
       1/2/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE         2012 Peterbilt PD                       1.44
       1/2/2021    709   NB0029   Owner Operator   Advance                 Fuel Tax Payment Plan                   0.98
       1/2/2021    709   NG0005   Owner Operator   Communication Charge    Safety Tech Hardware 21412B               13
       1/2/2021    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance                              60
       1/2/2021    709   NG0005   Owner Operator   Fuel Card Advances      Cash Advance Fee                         0.6
       1/2/2021    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                         128.45
       1/2/2021    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                         182.29
       1/2/2021    709   NG0005   Owner Operator   Fuel Purchase           Fuel Purchase                         155.63
       1/2/2021    709   NG0005   Owner Operator   Truck Payment           CTMS - 246728 tractor rental             200
       1/2/2021    709   NT9564   Owner Operator   Advance                 Fuel Tax Payment Plan                  89.95
       1/2/2021    709   NT9564   Owner Operator   Communication Charge    Safety Tech Hardware 73130                13
       1/2/2021    709   PM0099   Owner Operator   Advance                 Fuel Tax Payment Plan                  81.18
       1/2/2021    709   PM0099   Owner Operator   Communication Charge    Safety Tech Hardware 86956                13
       1/2/2021    709   PM0099   Owner Operator   ESCROW                  Weekly Escrow                             50
       1/2/2021    709   PM0099   Owner Operator   Fuel Card Advances      Cash Advance                              50
       1/2/2021    709   PM0099   Owner Operator   Fuel Card Advances      Cash Advance Fee                         0.5
       1/2/2021    709   PM0099   Owner Operator   Fuel Purchase           Fuel Purchase                         331.23
       1/2/2021    709   PM0099   Owner Operator   Fuel Purchase           Fuel Purchase                         102.56
       1/2/2021    709   PM0099   Owner Operator   Fuel Purchase           Fuel Purchase                         340.97
       1/2/2021    709   PM0099   Owner Operator   Fuel Purchase           Fuel Purchase                         206.45
       1/2/2021    709   PM0099   Owner Operator   Fuel Purchase           Fuel Purchase                         232.88
       1/2/2021    709   PY0003   Owner Operator   Advance                 Fuel Tax Payment Plan                    0.1
       1/2/2021    709   RB0170   Owner Operator   Advance                 Fuel Tax Payment Plan                 113.49
       1/2/2021    709   RB0170   Owner Operator   Communication Charge    Safety Tech Hardware Q1241                13
       1/2/2021    709   RB0170   Owner Operator   Communication Charge    Safety Tech Hardware Q1241                13
       1/2/2021    709   RB0170   Owner Operator   Fuel Card Advances      Cash Advance                             100
       1/2/2021    709   RB0170   Owner Operator   Fuel Card Advances      Cash Advance                              50
       1/2/2021    709   RB0170   Owner Operator   Fuel Card Advances      Cash Advance Fee                         0.5
       1/2/2021    709   RB0170   Owner Operator   Fuel Card Advances      Cash Advance Fee                           1
       1/2/2021    709   RB0170   Owner Operator   Fuel Purchase           Fuel Purchase                         258.84
       1/2/2021    709   RB0170   Owner Operator   Fuel Purchase           Fuel Purchase                         312.89
       1/2/2021    709   RB0170   Owner Operator   Fuel Purchase           Fuel Purchase                         369.26
       1/2/2021    709   RB0170   Owner Operator   Fuel Purchase           Fuel Purchase                          246.6
       1/2/2021    709   RB0170   Owner Operator   Fuel Purchase           Fuel Purchase                         167.07
       1/2/2021    709   RB0170   Owner Operator   Truck Payment           CTMS - 243222 Q1241 Truck leas        321.84
       1/2/2021    709   RB0170   Owner Operator   Truck Payment           CTMS - 246300 Q1241 Truck leas        234.83
       1/2/2021    709   RB0170   Owner Operator   Truck Payment           CTMS - 246460 Q1241 Truck leas        321.84
       1/2/2021    709   RB0170   Owner Operator   Truck Payment           CTMS - 246654 Q1241 Truck leas        321.84
       1/2/2021    709   RC0030   Owner Operator   Advance                 Fuel Tax Payment Plan                  97.53
       1/2/2021    709   RC0030   Owner Operator   Communication Charge    Safety Tech Hardware 33676                13
       1/2/2021    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                         492.38
       1/2/2021    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                          348.1
       1/2/2021    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                         335.96
       1/2/2021    709   RC0030   Owner Operator   Fuel Purchase           Fuel Purchase                          271.6
       1/2/2021    709   RL0017   Owner Operator   Broker Pre Pass         35037 PrePass Device                    12.5
       1/2/2021    709   RL0017   Owner Operator   Communication Charge    Safety Tech Hardware 35037                13
       1/2/2021    709   RL0017   Owner Operator   ESCROW                  Weekly Escrow                            300
       1/2/2021    709   RL0017   Owner Operator   Fuel Purchase           Fuel Purchase                         456.35
       1/2/2021    709   RL0062   Owner Operator   Advance                 Fuel Tax Payment Plan                 227.14
       1/2/2021    709   RL0062   Owner Operator   Communication Charge    Safety Tech Hardware 32912                13
       1/2/2021    709   RL0062   Owner Operator   IRP License Deduction   LCIL:2020 - 32912                      33.64
       1/2/2021    709   RL0180   Owner Operator   Broker Pre Pass         32910 PrePass Device                    12.5
       1/2/2021    709   RL0180   Owner Operator   Communication Charge    Safety Tech Hardware 32910                13
       1/2/2021    709   RL0180   Owner Operator   ESCROW                  Weekly Escrow                            400
       1/2/2021    709   RL0180   Owner Operator   Fuel Purchase           Fuel Purchase                           25.7
       1/2/2021    709   RL0180   Owner Operator   Fuel Purchase           Fuel Purchase                         400.14
       1/2/2021    709   RL0180   Owner Operator   Fuel Purchase           Fuel Purchase                         123.85

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       1/2/2021    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
       1/2/2021    709   RM0026   Owner Operator   Advance                        Fuel Tax Payment Plan                 131.96
       1/2/2021    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
       1/2/2021    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         389.09
       1/2/2021    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
       1/2/2021    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.97
       1/2/2021    709   RP0082   Owner Operator   Truck Payment                  CTMS - 246691 Q1202 Balloon           234.05
       1/2/2021    709   RR0123   Owner Operator   Advance                        Fuel Tax Payment Plan                   0.68
       1/2/2021    709   SB0009   Owner Operator   Advance                        Fuel Tax Payment Plan                 233.02
       1/2/2021    709   SB0009   Owner Operator   Advance                        Fuel Tax Payment Plan                 233.02
       1/2/2021    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       1/2/2021    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       1/2/2021    709   SB0009   Owner Operator   Broker Pre Pass                33236 PrePass Device                    12.5
       1/2/2021    709   SB0009   Owner Operator   Broker Pre Pass                DriveWyze TRK33236                      9.84
       1/2/2021    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
       1/2/2021    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
       1/2/2021    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
       1/2/2021    709   SB0009   Owner Operator   ESCROW                         Escrow Withdrawal                     -502.1
       1/2/2021    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
       1/2/2021    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
       1/2/2021    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                            200
       1/2/2021    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                             200
       1/2/2021    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/2/2021    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.75
       1/2/2021    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         280.81
       1/2/2021    709   SB0009   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        233.02
       1/2/2021    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
       1/2/2021    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
       1/2/2021    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64
       1/2/2021    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/2/2021    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/2/2021    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
       1/2/2021    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.65
       1/2/2021    709   SB0009   Owner Operator   T Chek Fee                     ExpressCheck Fee                        4.97
       1/2/2021    709   SB0009   Owner Operator   T Chek Fee                     Trailer Repair TT466                  497.13
       1/2/2021    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         547.34
       1/2/2021    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         547.34
       1/2/2021    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         547.34
       1/2/2021    709   SB0103   Owner Operator   Advance                        Fuel Tax Payment Plan                 125.18
       1/2/2021    709   SB0103   Owner Operator   Broker Pre Pass                33037 PrePass Device                    12.5
       1/2/2021    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
       1/2/2021    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                            100
       1/2/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          150.2
       1/2/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         294.91
       1/2/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.99
       1/2/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          30.37
       1/2/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.79
       1/2/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.86
       1/2/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          19.62
       1/2/2021    709   SB0103   Owner Operator   Truck Payment                  CTMS - 246657 3303Truck Lease         133.15
       1/2/2021    709   SB0103   Owner Operator   Truck Payment                  CTMS - 246775 3303Truck Lease         133.15
       1/2/2021    709   SM0109   Owner Operator   Advance                        Fuel Tax Payment Plan                 198.17
       1/2/2021    709   SM0109   Owner Operator   Broker Pre Pass                33195 PrePass Device                    12.5
       1/2/2021    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
       1/2/2021    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            410
       1/2/2021    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            349
       1/2/2021    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            324
       1/2/2021    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            278
       1/2/2021    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                            278
       1/2/2021    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           -278
       1/2/2021    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
       1/2/2021    709   SM0109   Owner Operator   Repair Order                   CTMS - 245627 Repair                     250
       1/2/2021    709   SM0109   Owner Operator   Repair Order                   CTMS - 245943 Repair                     250
       1/2/2021    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       1/2/2021    709   SN0019   Owner Operator   Advance                        Fuel Tax Payment Plan                   0.68
       1/2/2021    709   VB0015   Owner Operator   Advance                        Fuel Tax Payment Plan                  56.98
       1/2/2021    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
       1/2/2021    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.47
       1/2/2021    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                            128
       1/2/2021    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.08
       1/2/2021    709   VJ0006   Owner Operator   Advance                        Fuel Tax Payment Plan                 144.53
       1/2/2021    709   VJ0006   Owner Operator   Advance                        Fuel Tax Payment Plan                 144.53
       1/2/2021    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75

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       1/2/2021    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
       1/2/2021    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
       1/2/2021    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/2/2021    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/2/2021    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/2/2021    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/2/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          16.79
       1/2/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         193.98
       1/2/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.68
       1/2/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         192.17
       1/2/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.37
       1/2/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.45
       1/2/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         152.57
       1/2/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                          80.32
       1/2/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         156.57
       1/2/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         163.18
       1/2/2021    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/2/2021    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
       1/2/2021    709   WA0036   Owner Operator   Communication Charge           Safety Tech Hardware 35136                20
       1/2/2021    709   WA0036   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/2/2021    709   WA0036   Owner Operator   Fuel Purchase                  Fuel Purchase                          99.92
       1/2/2021    709   WA0036   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.94
       1/2/2021    709   WA0036   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.65
       1/2/2021    709   WA0036   Owner Operator   Fuel Purchase                  Fuel Purchase                         118.63
       1/2/2021    709   WA0036   Owner Operator   Fuel Purchase                  Fuel Purchase                         119.57
       1/2/2021    709   WA0036   Owner Operator   IRP License Deduction          LCIL:2020 - 35136                       100
       1/2/2021    709   WA0036   Owner Operator   Permits                        IL02:2020 - 35136                       3.75
       1/2/2021    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
       1/2/2021    709   WH0087   Owner Operator   Advance                        Fuel Tax Payment Plan                  76.08
       1/2/2021    709   WH0087   Owner Operator   Broker Pre Pass                Q1239 PrePass Device                    12.5
       1/2/2021    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
       1/2/2021    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/2/2021    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/2/2021    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           250
       1/2/2021    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                           146
       1/2/2021    709   WH0087   Owner Operator   Truck Payment                  CTMS - 246251 Q1238 Lease             311.97
       1/2/2021    709   WH0087   Owner Operator   Truck Payment                  CTMS - 246722 Q1238 Lease             311.97
       1/2/2021    742   AP0047   Owner Operator   Advance                        Fuel Tax Payment Plan                 148.97
       1/2/2021    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
       1/2/2021    742   AP0047   Owner Operator   Broker Pre Pass                32604 PrePass Device                    12.5
       1/2/2021    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
       1/2/2021    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
       1/2/2021    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/2/2021    742   AP0047   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/2/2021    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.94
       1/2/2021    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.28
       1/2/2021    742   AP0047   Owner Operator   Fuel Purchase                  Fuel Purchase                         469.42
       1/2/2021    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/2/2021    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
       1/2/2021    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
       1/2/2021    742   AP0047   Owner Operator   Toll Charges                   32604 BATA Carquinez Bridge             14.1
       1/2/2021    742   AP0047   Owner Operator   Toll Charges                   32604 ILTOLL Route 80 (East)             5.1
       1/2/2021    742   AP0047   Owner Operator   Toll Charges                   32604 OTA Turner Turnpike West         18.05
       1/2/2021    742   AP0047   Owner Operator   Toll Charges                   32604 OTA Will Rogers Turnpike         18.05
       1/2/2021    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                           0.68
       1/2/2021    742   CT0085   Owner Operator   Advance                        Fuel Tax Payment Plan                   0.68
       1/2/2021    742   DA0067   Owner Operator   Advance                        Fuel Tax Payment Plan                   0.68
       1/2/2021    742   DC0117   Owner Operator   Advance                        Fuel Tax Payment Plan                  75.09
       1/2/2021    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
       1/2/2021    742   DC0117   Owner Operator   IRS                            IRS 565155984                         637.45
       1/2/2021    742   EA0039   Owner Operator   Advance                        Fuel Tax Payment Plan                   0.68
       1/2/2021    742   ED0041   Owner Operator   Advance                        Fuel Tax Payment Plan                 113.17
       1/2/2021    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
       1/2/2021    742   JB0465   Owner Operator   Advance                        Fuel Tax Payment Plan                  296.2
       1/2/2021    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
       1/2/2021    742   JH0148   Owner Operator   Advance                        Fuel Tax Payment Plan                 171.99
       1/2/2021    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
       1/2/2021    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         278.25
       1/2/2021    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                           354
       1/2/2021    742   JS0390   Owner Operator   Advance                        Fuel Tax Payment Plan                 107.17
       1/2/2021    742   JS0390   Owner Operator   Advance                        Fuel Tax Payment Plan                 107.17
       1/2/2021    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/2/2021    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13

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       1/2/2021    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943            13
       1/2/2021    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/2/2021    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/2/2021    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                     457.95
       1/2/2021    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                     305.42
       1/2/2021    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                       47.5
       1/2/2021    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD               60.14
       1/2/2021    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism       2.5
       1/2/2021    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932            13
       1/2/2021    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/2/2021    742   MH0117   Owner Operator   Toll Charges                   34932 ILTOLL 83rd St.                6.8
       1/2/2021    742   MH0117   Owner Operator   Toll Charges                   34932 ILTOLL I-57/147th St (Il       6.8
       1/2/2021    742   NG0024   Owner Operator   Advance                        Fuel Tax Payment Plan               0.68
       1/2/2021    742   PC0012   Owner Operator   Advance                        Fuel Tax Payment Plan               2.28
       1/2/2021    742   RF0136   Owner Operator   Advance                        EFS 258188 s/u 3 wks                0.68
       1/2/2021    742   RF0136   Owner Operator   T Chek Fee                     Advance 34182                       3227
       1/2/2021    742   RF0136   Owner Operator   T Chek Fee                     ExpressCheck Fee                   32.27
       1/2/2021    742   RF0136   Owner Operator   T Chek Fee                     Rvrs Dup EFS 258575                -3227
       1/2/2021    742   RF0136   Owner Operator   T Chek Fee                     Rvrs Dup EFS 258575 Fee           -32.27
       1/2/2021    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL        0.68
       1/2/2021    742   RS0342   Owner Operator   Advance                        Fuel Tax Payment Plan             144.51
       1/2/2021    742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030            13
       1/2/2021    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/2/2021    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                     243.72
       1/2/2021    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                     457.83
       1/2/2021    742   SK0049   Owner Operator   Broker Pre Pass                33934 PrePass Device                12.5
       1/2/2021    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934            13
       1/2/2021    742   TC0098   Owner Operator   Advance                        Fuel Tax Payment Plan             131.46
       1/2/2021    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489            13
       1/2/2021    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     241.51
       1/2/2021    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     240.43
       1/2/2021    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                     477.56
       1/2/2021    742   TC0098   Owner Operator   Tire Purchase                  C34197~GOODYEAR TIRE AND RUBBE    108.37
       1/2/2021    742   TC0098   Owner Operator   Truck Payment                  CTMS - 246751 33489 Lease Paym    412.16
       1/2/2021    781   MM0054   Owner Operator   Communication Charge           Safety Tech Hardware 86900            13
       1/2/2021    781   MM0054   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/2/2021    783   AJ0066   Owner Operator   Advance                        Fuel Tax Payment Plan             114.94
       1/2/2021    783   AJ0066   Owner Operator   Communication Charge           Safety Tech Hardware 86816            13
       1/2/2021    783   AJ0066   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/2/2021    783   AJ0066   Owner Operator   IRP License Deduction          LCIL:2020 - 86816                    100
       1/2/2021    783   CH0168   Owner Operator   Communication Charge           Safety Tech Hardware 35066            13
       1/2/2021    783   CH0168   Owner Operator   Communication Charge           Safety Tech Hardware 35066            13
       1/2/2021    783   CH0168   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/2/2021    783   CH0168   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/2/2021    783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                     331.04
       1/2/2021    783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                     362.82
       1/2/2021    783   CH0168   Owner Operator   IRP License Deduction          LCIL:2020 - 35066                    100
       1/2/2021    783   CH0168   Owner Operator   IRP License Deduction          LCIL:2020 - 35066                    100
       1/2/2021    783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                      47.44
       1/2/2021    783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD               72.18
       1/2/2021    783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism       2.5
       1/2/2021    783   DS0317   Owner Operator   Advance                        Fuel Tax Payment Plan             270.08
       1/2/2021    783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918            13
       1/2/2021    783   DS0317   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/2/2021    783   GR0095   Owner Operator   Advance                        Fuel Tax Payment Plan              20.79
       1/2/2021    783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926            13
       1/2/2021    783   GR0095   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/2/2021    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                     150.89
       1/2/2021    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                     305.91
       1/2/2021    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                     150.74
       1/2/2021    783   HP0028   Owner Operator   Advance                        Fuel Tax Payment Plan              52.41
       1/2/2021    783   HP0028   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/2/2021    783   JL0281   Owner Operator   Advance                        Fuel Tax Payment Plan             130.43
       1/2/2021    783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061            13
       1/2/2021    783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/2/2021    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                     600.68
       1/2/2021    783   MA0112   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/2/2021    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                      338.7
       1/2/2021    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                        305
       1/2/2021    783   MK0038   Owner Operator   Advance                        Fuel Tax Payment Plan              83.83
       1/2/2021    783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835            13
       1/2/2021    783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                         50
       1/2/2021    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                     489.85

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       1/2/2021    783   MK0038   Owner Operator   Fuel Purchase                  Fuel Purchase                         465.67
       1/2/2021    783   MK0078   Owner Operator   Advance                        Fuel Tax Payment Plan                 209.31
       1/2/2021    783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
       1/2/2021    783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/2/2021    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.26
       1/2/2021    783   OJ0010   Owner Operator   Advance                        Fuel Tax Payment Plan                  99.41
       1/2/2021    783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 35086                13
       1/2/2021    783   OJ0010   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/2/2021    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.16
       1/2/2021    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         270.65
       1/2/2021    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.65
       1/2/2021    783   OJ0010   Owner Operator   Toll Charges                   35086 BATA Antioch Bridge                 26
       1/2/2021    783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
       1/2/2021    783   RC0294   Owner Operator   ESCROW                         Weekly Escrow                           100
       1/2/2021    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         229.05
       1/2/2021    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.96
       1/2/2021    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         258.25
       1/2/2021    783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
       1/2/2021    783   RM0340   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/2/2021    783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         485.41
       1/2/2021    783   RS0377   Owner Operator   Advance                        Fuel Tax Payment Plan                 253.49
       1/2/2021    783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
       1/2/2021    783   RS0377   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/2/2021    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                          221.7
       1/2/2021    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                          302.2
       1/2/2021    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.03
       1/9/2021     97   JC0418   Owner Operator   Permits                        IL02:2021 - 35167                       3.75
       1/9/2021    709   AC0061   Owner Operator   Advance                        Fuel Tax Payment Plan                 163.97
       1/9/2021    709   AC0061   Owner Operator   BOBTAIL INS.                   Q13148 2013 Freightliner NTL            8.75
       1/9/2021    709   AC0061   Owner Operator   Broker Pre Pass                Q13148 PrePass Device                   12.5
       1/9/2021    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
       1/9/2021    709   AC0061   Owner Operator   Communication Charge           Safety Tech Hardware Q13148               13
       1/9/2021    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
       1/9/2021    709   AC0061   Owner Operator   ESCROW                         Weekly Escrow                           100
       1/9/2021    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                          402.5
       1/9/2021    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         464.51
       1/9/2021    709   AC0061   Owner Operator   Fuel Purchase                  Fuel Purchase                         285.62
       1/9/2021    709   AC0061   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   AC0061   Owner Operator   PHYSICAL DAMAGE                Q13148 2013 Freightliner PD             36.9
       1/9/2021    709   AC0061   Owner Operator   T Chek Fee                     Tractor Repair Q13148                 163.04
       1/9/2021    709   AC0061   Owner Operator   Truck Payment                  CTMS - 246668 Q13148 Trac Leas        296.09
       1/9/2021    709   AC0061   Owner Operator   Truck Payment                  CTMS - 246803 Q13148 Trac Leas        296.09
       1/9/2021    709   AC0061   Owner Operator   Truck Payment                  CTMS - 246934 Q13148 Trac Leas        296.09
       1/9/2021    709   AC0122   Owner Operator   Advance                        Fuel Tax Payment Plan                 108.94
       1/9/2021    709   AC0122   Owner Operator   BOBTAIL INS.                   6806 2008 Kenworth NTL                  8.75
       1/9/2021    709   AC0122   Owner Operator   Communication Charge           Safety Tech Hardware 86806                13
       1/9/2021    709   AC0122   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    709   AC0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   AC0122   Owner Operator   PHYSICAL DAMAGE                6806 2008 Kenworth PD                  28.08
       1/9/2021    709   AG0116   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       1/9/2021    709   AG0116   Owner Operator   Communication Charge           Safety Tech Hardware 35099                20
       1/9/2021    709   AG0116   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    709   AG0116   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   AG0116   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   32.09
       1/9/2021    709   AN0007   Owner Operator   BOBTAIL INS.                   32781 2013 Freightliner NTL             8.75
       1/9/2021    709   AN0007   Owner Operator   Communication Charge           Safety Tech Hardware 32781                13
       1/9/2021    709   AN0007   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         354.79
       1/9/2021    709   AN0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD             28.08
       1/9/2021    709   AN0007   Owner Operator   PHYSICAL DAMAGE                32781 2013 Freightliner PD Ter           2.5
       1/9/2021    709   AN0007   Owner Operator   Truck Payment                  CTMS - 246882 truck 32781 Leas        225.29
       1/9/2021    709   AR0064   Owner Operator   Advance                        Fuel Tax Payment Plan                 170.11
       1/9/2021    709   AR0064   Owner Operator   Advance                        Fuel Tax Payment Plan                 169.43
       1/9/2021    709   AR0064   Owner Operator   BOBTAIL INS.                   Q13147 2013 Freightliner NTL            8.75
       1/9/2021    709   AR0064   Owner Operator   Broker Pre Pass                Q13147 PrePass Device                   12.5
       1/9/2021    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
       1/9/2021    709   AR0064   Owner Operator   Communication Charge           Safety Tech Hardware q13147               13
       1/9/2021    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         212.14
       1/9/2021    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                             44
       1/9/2021    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         202.39
       1/9/2021    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.07
       1/9/2021    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         213.95
       1/9/2021    709   AR0064   Owner Operator   Fuel Purchase                  Fuel Purchase                         187.38

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       1/9/2021    709   AR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   AR0064   Owner Operator   PHYSICAL DAMAGE                Q13147 2013 Freightliner PD             36.1
       1/9/2021    709   AR0064   Owner Operator   Tire Purchase                  008840~MICHELIN NORTH AMERICA         231.99
       1/9/2021    709   AR0064   Owner Operator   Tire Purchase                  008840~MICHELIN NORTH AMERICA           0.28
       1/9/2021    709   AR0064   Owner Operator   Truck Payment                  CTMS - 242989 Baloon Q13147           357.62
       1/9/2021    709   AR0064   Owner Operator   Truck Payment                  CTMS - 243160 Baloon Q13147           357.62
       1/9/2021    709   AR0064   Owner Operator   Truck Payment                  CTMS - 243322 Baloon Q13147           357.62
       1/9/2021    709   AR0064   Owner Operator   Truck Payment                  CTMS - 243489 Baloon Q13147           357.62
       1/9/2021    709   AV0021   Owner Operator   Advance                        Fuel Tax Payment Plan                 136.32
       1/9/2021    709   AV0021   Owner Operator   BOBTAIL INS.                   Q13169 2013 Freightliner NTL            8.75
       1/9/2021    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.43
       1/9/2021    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          72.32
       1/9/2021    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          48.08
       1/9/2021    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          74.05
       1/9/2021    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          52.97
       1/9/2021    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          96.44
       1/9/2021    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          57.34
       1/9/2021    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                          59.48
       1/9/2021    709   AV0021   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.61
       1/9/2021    709   AV0021   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   AV0021   Owner Operator   Permits                        IL02:2021 - Q13169                      3.75
       1/9/2021    709   AV0021   Owner Operator   Permits                        NM07:2021 - Q13169                        11
       1/9/2021    709   AV0021   Owner Operator   PHYSICAL DAMAGE                Q13169 2013 Freightliner PD             36.1
       1/9/2021    709   AV0021   Owner Operator   Truck Payment                  CTMS - 243131 Q13169 Sublease          253.7
       1/9/2021    709   BM0030   Owner Operator   Advance                        Fuel Tax Payment Plan                 342.45
       1/9/2021    709   BM0030   Owner Operator   BOBTAIL INS.                   2005 Kenworth NTL                       8.75
       1/9/2021    709   BM0030   Owner Operator   Communication Charge           Safety Tech Hardware 34023                13
       1/9/2021    709   BM0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD                       28.75
       1/9/2021    709   BM0030   Owner Operator   PHYSICAL DAMAGE                2005 Kenworth PD Terrorism               2.5
       1/9/2021    709   BR0082   Owner Operator   Advance                        Fuel Tax Payment Plan                  20.12
       1/9/2021    709   BR0082   Owner Operator   BOBTAIL INS.                   973 2014 Peterbilt NTL                  8.75
       1/9/2021    709   BR0082   Owner Operator   Communication Charge           Safety Tech Hardware 35023                13
       1/9/2021    709   BR0082   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    709   BR0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         290.91
       1/9/2021    709   BR0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   BR0082   Owner Operator   Permits                        IL02:2021 - 35023                       3.75
       1/9/2021    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD                  40.11
       1/9/2021    709   BR0082   Owner Operator   PHYSICAL DAMAGE                973 2014 Peterbilt PD Terroris           2.5
       1/9/2021    709   CC0134   Owner Operator   Advance                        Fuel Tax Payment Plan                 116.89
       1/9/2021    709   CC0134   Owner Operator   BOBTAIL INS.                   Q13168 2013 Freightliner NTL            8.75
       1/9/2021    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             500
       1/9/2021    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance                             500
       1/9/2021    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       1/9/2021    709   CC0134   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       1/9/2021    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         380.21
       1/9/2021    709   CC0134   Owner Operator   Fuel Purchase                  Fuel Purchase                         292.52
       1/9/2021    709   CC0134   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   CC0134   Owner Operator   Permits                        IL02:2021 - Q13168                      3.75
       1/9/2021    709   CC0134   Owner Operator   Permits                        NM07:2021 - Q13168                        11
       1/9/2021    709   CC0134   Owner Operator   PHYSICAL DAMAGE                Q13168 2013 Freightliner PD             36.1
       1/9/2021    709   CC0134   Owner Operator   Truck Payment                  CTMS - 243063 Q13168 sub lease        352.68
       1/9/2021    709   CC0134   Owner Operator   Truck Payment                  CTMS - 243228 Q13168 sub lease        184.15
       1/9/2021    709   CM0119   Owner Operator   Advance                        Fuel Tax Payment Plan                 110.23
       1/9/2021    709   CM0119   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/9/2021    709   CM0119   Owner Operator   Communication Charge           Safety Tech Hardware 32920                13
       1/9/2021    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance                             100
       1/9/2021    709   CM0119   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/9/2021    709   CM0119   Owner Operator   Fuel Purchase                  Fuel Purchase                         460.46
       1/9/2021    709   CM0119   Owner Operator   IRP License Deduction          LCIL:2020 - 32920                      33.64
       1/9/2021    709   CM0119   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   CM0119   Owner Operator   Permits                        ID06:2021 - 32920                         16
       1/9/2021    709   CM0119   Owner Operator   Permits                        IL02:2021 - 32920                       3.75
       1/9/2021    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   24.07
       1/9/2021    709   CM0119   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/9/2021    709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL               -35
       1/9/2021    709   CM0224   Owner Operator   BOBTAIL INS.                   968 2012 International NTL              8.75
       1/9/2021    709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance                           11.68
       1/9/2021    709   CM0224   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
       1/9/2021    709   CM0224   Owner Operator   IRP License Deduction          LCIL:2020 - 8968                       10.22
       1/9/2021    709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           -190
       1/9/2021    709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            190
       1/9/2021    709   CM0224   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       1/9/2021    709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD               16.02
       1/9/2021    709   CM0224   Owner Operator   PHYSICAL DAMAGE                968 2012 International PD              -64.17
       1/9/2021    709   CV0028   Owner Operator   Advance                        Fuel Tax Payment Plan                   97.13
       1/9/2021    709   CV0028   Owner Operator   Advance                        Fuel Tax Payment Plan                   97.61
       1/9/2021    709   CV0028   Owner Operator   BOBTAIL INS.                   33482 2016 Freightliner NTL              8.75
       1/9/2021    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                           100.2
       1/9/2021    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          241.93
       1/9/2021    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          218.83
       1/9/2021    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          172.33
       1/9/2021    709   CV0028   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.78
       1/9/2021    709   CV0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       1/9/2021    709   CV0028   Owner Operator   PHYSICAL DAMAGE                33482 2016 Freightliner PD              68.18
       1/9/2021    709   CV0028   Owner Operator   Truck Payment                  CTMS - 243058 Lease Truck 3348         335.96
       1/9/2021    709   CV0028   Owner Operator   Truck Payment                  CTMS - 243223 Lease Truck 3348         335.96
       1/9/2021    709   CV0028   Owner Operator   Truck Payment                  CTMS - 243393 Lease Truck 3348         335.96
       1/9/2021    709   CV0028   Owner Operator   Truck Payment                  CTMS - 243559 Lease Truck 3348         335.96
       1/9/2021    709   CV0028   Owner Operator   Truck Payment                  CTMS - 246247 Lease Truck 3348         335.96
       1/9/2021    709   CV0028   Owner Operator   Truck Payment                  CTMS - 246717 Lease Truck 3348         259.81
       1/9/2021    709   DL0029   Owner Operator   Advance                        EFS 259224 s/u 4 wks                   507.19
       1/9/2021    709   DL0029   Owner Operator   Advance                        EFS 259224 s/u 4 wks                 -2028.73
       1/9/2021    709   DL0029   Owner Operator   Advance                        Fuel Tax Payment Plan                    82.4
       1/9/2021    709   DL0029   Owner Operator   BOBTAIL INS.                   Q13199 2013 Peterbilt NTL                8.75
       1/9/2021    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          252.46
       1/9/2021    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          284.86
       1/9/2021    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          168.27
       1/9/2021    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          310.06
       1/9/2021    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          246.72
       1/9/2021    709   DL0029   Owner Operator   Fuel Purchase                  Fuel Purchase                          182.55
       1/9/2021    709   DL0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       1/9/2021    709   DL0029   Owner Operator   Permits                        ID06:2021 - Q13199                         16
       1/9/2021    709   DL0029   Owner Operator   Permits                        IL02:2021 - Q13199                       3.75
       1/9/2021    709   DL0029   Owner Operator   Permits                        NM07:2021 - Q13199                         11
       1/9/2021    709   DL0029   Owner Operator   PHYSICAL DAMAGE                Q13199 2013 Peterbilt PD                24.07
       1/9/2021    709   DL0029   Owner Operator   T Chek Fee                     ExpressCheck Fee                        20.09
       1/9/2021    709   DL0029   Owner Operator   T Chek Fee                     Tractor Repair Q13199                 2008.64
       1/9/2021    709   DL0029   Owner Operator   Truck Payment                  CTMS - 246854 Q13199 Lease             193.11
       1/9/2021    709   DM0257   Owner Operator   Advance                        Fuel Tax Payment Plan                     352
       1/9/2021    709   DM0257   Owner Operator   Advance                        Fuel Tax Payment Plan                  351.32
       1/9/2021    709   DM0257   Owner Operator   BOBTAIL INS.                   1995 Freightliner NTL                    8.75
       1/9/2021    709   DM0257   Owner Operator   Broker Pre Pass                34328 PrePass Device                     12.5
       1/9/2021    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          201.99
       1/9/2021    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          191.59
       1/9/2021    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          161.64
       1/9/2021    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          199.61
       1/9/2021    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          138.65
       1/9/2021    709   DM0257   Owner Operator   Fuel Purchase                  Fuel Purchase                          274.62
       1/9/2021    709   DM0257   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       1/9/2021    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD                    19.17
       1/9/2021    709   DM0257   Owner Operator   PHYSICAL DAMAGE                1995 Freightliner PD Terrorism            2.5
       1/9/2021    709   DS0049   Owner Operator   Advance                        Fuel Tax Payment Plan                   75.59
       1/9/2021    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                           226.94
       1/9/2021    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          482.35
       1/9/2021    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                          215.43
       1/9/2021    709   DS0225   Owner Operator   BOBTAIL INS.                   2009 Peterbilt NTL                       8.75
       1/9/2021    709   DS0225   Owner Operator   Communication Charge           Safety Tech Hardware 33320                 13
       1/9/2021    709   DS0225   Owner Operator   ESCROW                         Weekly Escrow                           1000
       1/9/2021    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          127.89
       1/9/2021    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          169.54
       1/9/2021    709   DS0225   Owner Operator   Fuel Purchase                  Fuel Purchase                          433.56
       1/9/2021    709   DS0225   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       1/9/2021    709   DS0225   Owner Operator   PHYSICAL DAMAGE                2009 Peterbilt PD                       40.11
       1/9/2021    709   DS0288   Owner Operator   Broker Pre Pass                non-returned prepass DS0288               100
       1/9/2021    709   DS0288   Owner Operator   Broker Pre Pass                returned prepass DS0288                  -100
       1/9/2021    709   DT0153   Owner Operator   Advance                        Fuel Tax Payment Plan                    75.1
       1/9/2021    709   DT0153   Owner Operator   Communication Charge           Safety Tech Hardware 86963                 13
       1/9/2021    709   DT0153   Owner Operator   ESCROW                         Weekly Escrow                              50
       1/9/2021    709   DT0153   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       1/9/2021    709   EG0062   Owner Operator   Advance                        Fuel Tax Payment Plan                   26.89
       1/9/2021    709   EG0062   Owner Operator   BOBTAIL INS.                   2008 Freightliner NTL                    8.75
       1/9/2021    709   EG0062   Owner Operator   Communication Charge           Safety Tech Hardware 33828                 13
       1/9/2021    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          595.16
       1/9/2021    709   EG0062   Owner Operator   Fuel Purchase                  Fuel Purchase                          402.17
       1/9/2021    709   EG0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5

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       1/9/2021    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD                    43.13
       1/9/2021    709   EG0062   Owner Operator   PHYSICAL DAMAGE                2008 Freightliner PD Terrorism            2.5
       1/9/2021    709   EO0014   Owner Operator   Advance                        Fuel Tax Payment Plan                  229.89
       1/9/2021    709   EO0014   Owner Operator   BOBTAIL INS.                   33846 2014 Peterbilt NTL                 8.75
       1/9/2021    709   EO0014   Owner Operator   Communication Charge           Safety Tech Hardware 33846                 13
       1/9/2021    709   EO0014   Owner Operator   ESCROW                         Weekly Escrow                            100
       1/9/2021    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance                             100
       1/9/2021    709   EO0014   Owner Operator   Fuel Card Advances             Cash Advance Fee                            1
       1/9/2021    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          216.01
       1/9/2021    709   EO0014   Owner Operator   Fuel Purchase                  Fuel Purchase                          233.82
       1/9/2021    709   EO0014   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       1/9/2021    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD                 80.21
       1/9/2021    709   EO0014   Owner Operator   PHYSICAL DAMAGE                33846 2014 Peterbilt PD Terror            2.5
       1/9/2021    709   EO0014   Owner Operator   Repair Order                   CTMS - 246755 Repair                       90
       1/9/2021    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL              8.07
       1/9/2021    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       1/9/2021    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD              78.91
       1/9/2021    709   FS0039   Owner Operator   Truck Payment                  CTMS - 246176 truck lease 3304          36.64
       1/9/2021    709   FV0001   Owner Operator   Advance                        Fuel Tax Payment Plan                   75.19
       1/9/2021    709   FV0001   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                    8.75
       1/9/2021    709   FV0001   Owner Operator   Communication Charge           Safety Tech Hardware 21521B                13
       1/9/2021    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          505.05
       1/9/2021    709   FV0001   Owner Operator   Fuel Purchase                  Fuel Purchase                          484.27
       1/9/2021    709   FV0001   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       1/9/2021    709   FV0001   Owner Operator   Permits                        IL02:2021 - 21521B                       3.75
       1/9/2021    709   FV0001   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                    40.11
       1/9/2021    709   GA0051   Owner Operator   BOBTAIL INS.                   2009 Freightliner NTL                    8.75
       1/9/2021    709   GA0051   Owner Operator   BOBTAIL INS.                   Q1200 2012 Freightliner NTL              8.75
       1/9/2021    709   GA0051   Owner Operator   Communication Charge           Safety Tech Hardware Q1200                 13
       1/9/2021    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          214.89
       1/9/2021    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                           16.15
       1/9/2021    709   GA0051   Owner Operator   Fuel Purchase                  Fuel Purchase                          383.68
       1/9/2021    709   GA0051   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       1/9/2021    709   GA0051   Owner Operator   PHYSICAL DAMAGE                2009 Freightliner PD                    24.07
       1/9/2021    709   GA0051   Owner Operator   PHYSICAL DAMAGE                Q1200 2012 Freightliner PD              29.68
       1/9/2021    709   GA0051   Owner Operator   Truck Payment                  CTMS - 246880 Q1200 Lease              238.16
       1/9/2021    709   GS0015   Owner Operator   Advance                        Fuel Tax Payment Plan                   33.22
       1/9/2021    709   GS0015   Owner Operator   BOBTAIL INS.                   Q1110 2011 Freightliner NTL              8.75
       1/9/2021    709   GS0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1110                 13
       1/9/2021    709   GS0015   Owner Operator   Fuel Purchase                  Fuel Purchase                          298.47
       1/9/2021    709   GS0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       1/9/2021    709   GS0015   Owner Operator   Permits                        IL02:2021 - Q1110                        3.75
       1/9/2021    709   GS0015   Owner Operator   PHYSICAL DAMAGE                Q1110 2011 Freightliner PD              40.11
       1/9/2021    709   HC0023   Owner Operator   Advance                        Fuel Tax Payment Plan                    63.6
       1/9/2021    709   HC0023   Owner Operator   Advance                        Fuel Tax Payment Plan                   79.46
       1/9/2021    709   HC0023   Owner Operator   Advance                        Fuel Tax Payment Plan                   80.14
       1/9/2021    709   HG0007   Owner Operator   Advance                        Fuel Tax Payment Plan                  102.98
       1/9/2021    709   HG0007   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                        8.75
       1/9/2021    709   HG0007   Owner Operator   Communication Charge           Safety Tech Hardware 34565                 13
       1/9/2021    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance                             200
       1/9/2021    709   HG0007   Owner Operator   Fuel Card Advances             Cash Advance Fee                            2
       1/9/2021    709   HG0007   Owner Operator   Fuel Purchase                  Fuel Purchase                          317.25
       1/9/2021    709   HG0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       1/9/2021    709   HG0007   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       100.67
       1/9/2021    709   HG0027   Owner Operator   Advance                        Fuel Tax Payment Plan                   71.78
       1/9/2021    709   HG0027   Owner Operator   BOBTAIL INS.                   34012 2009 Freightliner NTL              8.75
       1/9/2021    709   HG0027   Owner Operator   BOBTAIL INS.                   34012 2009 Freightliner NTL              8.75
       1/9/2021    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          217.89
       1/9/2021    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          144.07
       1/9/2021    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          415.87
       1/9/2021    709   HG0027   Owner Operator   Fuel Purchase                  Fuel Purchase                          243.18
       1/9/2021    709   HG0027   Owner Operator   Loan Repayment                 Arrears 12/26                        -6128.86
       1/9/2021    709   HG0027   Owner Operator   Loan Repayment                 Conditonal Credit/Loan                6128.86
       1/9/2021    709   HG0027   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment          299.32
       1/9/2021    709   HG0027   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                            47.5
       1/9/2021    709   HG0027   Owner Operator   Permits                        IL02:2021 - 34012                        3.75
       1/9/2021    709   HG0027   Owner Operator   Permits                        NM07:2021 - 34012                          11
       1/9/2021    709   HG0027   Owner Operator   Permits1                       ID06:2020 - 34012                        10.3
       1/9/2021    709   HG0027   Owner Operator   Permits1                       IL02:2020 - 34012                        3.75
       1/9/2021    709   HG0027   Owner Operator   Permits1                       NY13:2019 - 34012                         1.5
       1/9/2021    709   HG0027   Owner Operator   PHYSICAL DAMAGE                34012 2009 Freightliner PD              23.96
       1/9/2021    709   HG0027   Owner Operator   PHYSICAL DAMAGE                34012 2009 Freightliner PD              23.96
       1/9/2021    709   HG0027   Owner Operator   PHYSICAL DAMAGE                34012 2009 Freightliner PD Ter            2.5

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       1/9/2021    709   HG0027   Owner Operator   PHYSICAL DAMAGE                34012 2009 Freightliner PD Ter           2.5
       1/9/2021    709   IA0007   Owner Operator   BOBTAIL INS.                   33065 2014 Freightliner NTL             8.75
       1/9/2021    709   IA0007   Owner Operator   Communication Charge           Safety Tech Hardware 33065                13
       1/9/2021    709   IA0007   Owner Operator   ESCROW                         Weekly Escrow                           400
       1/9/2021    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         176.28
       1/9/2021    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         565.59
       1/9/2021    709   IA0007   Owner Operator   Fuel Purchase                  Fuel Purchase                         242.81
       1/9/2021    709   IA0007   Owner Operator   IRP License Deduction          LCIL:2020 - 33065                      33.64
       1/9/2021    709   IA0007   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   IA0007   Owner Operator   Permits1                       ID06:2020 - 34012                      -10.3
       1/9/2021    709   IA0007   Owner Operator   Permits1                       IL02:2020 - 34012                      -3.75
       1/9/2021    709   IA0007   Owner Operator   Permits1                       NY13:2019 - 34012                       -1.5
       1/9/2021    709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD             71.88
       1/9/2021    709   IA0007   Owner Operator   PHYSICAL DAMAGE                33065 2014 Freightliner PD Ter           2.5
       1/9/2021    709   IA0007   Owner Operator   Tractor Charge                 35015 - 33065                         501.67
       1/9/2021    709   IR0002   Owner Operator   24 HOUR DISABILITY             L&H                                    22.35
       1/9/2021    709   IR0002   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/9/2021    709   IR0002   Owner Operator   Communication Charge           Safety Tech Hardware 32901                13
       1/9/2021    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.32
       1/9/2021    709   IR0002   Owner Operator   Fuel Purchase                  Fuel Purchase                         356.29
       1/9/2021    709   IR0002   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   94.09
       1/9/2021    709   IR0002   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/9/2021    709   JC0292   Owner Operator   24 HOUR DISABILITY             L&H                                    14.98
       1/9/2021    709   JC0292   Owner Operator   Advance                        Fuel Tax Payment Plan                 158.86
       1/9/2021    709   JC0292   Owner Operator   BOBTAIL INS.                   Q13197 2013 Peterbilt NTL               8.75
       1/9/2021    709   JC0292   Owner Operator   Communication Charge           Safety Tech Hardware Q13197               13
       1/9/2021    709   JC0292   Owner Operator   ESCROW                         Weekly Escrow                           400
       1/9/2021    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/9/2021    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/9/2021    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/9/2021    709   JC0292   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/9/2021    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         371.23
       1/9/2021    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                          270.1
       1/9/2021    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         332.78
       1/9/2021    709   JC0292   Owner Operator   Fuel Purchase                  Fuel Purchase                         164.55
       1/9/2021    709   JC0292   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   JC0292   Owner Operator   PHYSICAL DAMAGE                Q13197 2013 Peterbilt PD               43.13
       1/9/2021    709   JC0292   Owner Operator   Truck Payment                  CTMS - 246886 Q13197 Lease            276.63
       1/9/2021    709   JC0418   Owner Operator   Advance                        Fuel Tax Payment Plan                  35.03
       1/9/2021    709   JC0418   Owner Operator   BOBTAIL INS.                   2017 Kenworth NTL                       8.75
       1/9/2021    709   JC0418   Owner Operator   BOBTAIL INS.                   6458 2002 Peterbilt NTL                 8.75
       1/9/2021    709   JC0418   Owner Operator   Communication Charge           Safety Tech Hardware 86458                13
       1/9/2021    709   JC0418   Owner Operator   ESCROW                         Weekly Escrow                           100
       1/9/2021    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.81
       1/9/2021    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         183.11
       1/9/2021    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.54
       1/9/2021    709   JC0418   Owner Operator   Fuel Purchase                  Fuel Purchase                         138.57
       1/9/2021    709   JC0418   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   JC0418   Owner Operator   Permits                        IL02:2021 - 86458                       3.75
       1/9/2021    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD                       44.12
       1/9/2021    709   JC0418   Owner Operator   PHYSICAL DAMAGE                2017 Kenworth PD Terrorism               2.5
       1/9/2021    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD                 24.07
       1/9/2021    709   JC0418   Owner Operator   PHYSICAL DAMAGE                6458 2002 Peterbilt PD Terrori           2.5
       1/9/2021    709   JD0211   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       1/9/2021    709   JD0211   Owner Operator   Communication Charge           Safety Tech Hardware 34325                13
       1/9/2021    709   JD0211   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      12.03
       1/9/2021    709   JD0211   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       1/9/2021    709   JG0017   Owner Operator   Advance                        Fuel Tax Payment Plan                  67.22
       1/9/2021    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                           43.86
       1/9/2021    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                            300
       1/9/2021    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       1/9/2021    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         268.34
       1/9/2021    709   JG0072   Owner Operator   Advance                        Fuel Tax Payment Plan                 268.04
       1/9/2021    709   JG0072   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/9/2021    709   JG0072   Owner Operator   Communication Charge           Safety Tech Hardware 32909                13
       1/9/2021    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/9/2021    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/9/2021    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/9/2021    709   JG0072   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/9/2021    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         379.96
       1/9/2021    709   JG0072   Owner Operator   Fuel Purchase                  Fuel Purchase                         521.37

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       1/9/2021    709   JG0072   Owner Operator   IRP License Deduction          LCIL:2020 - 32909                    33.64
       1/9/2021    709   JG0072   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       1/9/2021    709   JG0072   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  76.2
       1/9/2021    709   JG0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                    8.75
       1/9/2021    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance                          200
       1/9/2021    709   JG0092   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       1/9/2021    709   JG0092   Owner Operator   Fuel Purchase                  Fuel Purchase                       400.25
       1/9/2021    709   JG0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       1/9/2021    709   JG0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                     36.1
       1/9/2021    709   JL0280   Owner Operator   BOBTAIL INS.                   970 2013 Kenworth NTL                 8.75
       1/9/2021    709   JL0280   Owner Operator   Communication Charge           Safety Tech Hardware 8970               13
       1/9/2021    709   JL0280   Owner Operator   ESCROW                         Weekly Escrow                           50
       1/9/2021    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                       308.19
       1/9/2021    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                        315.5
       1/9/2021    709   JL0280   Owner Operator   Fuel Purchase                  Fuel Purchase                       332.95
       1/9/2021    709   JL0280   Owner Operator   IRP License Deduction          LCIL:2020 - 8970                     64.72
       1/9/2021    709   JL0280   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       1/9/2021    709   JL0280   Owner Operator   Permits                        IL02:2021 - 8970                      3.75
       1/9/2021    709   JL0280   Owner Operator   Permits                        NM07:2021 - 8970                        11
       1/9/2021    709   JL0280   Owner Operator   PHYSICAL DAMAGE                970 2013 Kenworth PD                 33.04
       1/9/2021    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  -35
       1/9/2021    709   JQ0015   Owner Operator   BOBTAIL INS.                   1997 Freightliner NTL                  -35
       1/9/2021    709   JQ0015   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                 8.75
       1/9/2021    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 33438              13
       1/9/2021    709   JQ0015   Owner Operator   Communication Charge           Safety Tech Hardware 34637              13
       1/9/2021    709   JQ0015   Owner Operator   Fuel Purchase                  Fuel Purchase                       172.09
       1/9/2021    709   JQ0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       1/9/2021    709   JQ0015   Owner Operator   Permits                        IL02:2021 - 34637                     3.75
       1/9/2021    709   JQ0015   Owner Operator   Permits                        NM07:2021 - 34637                       11
       1/9/2021    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                -80.21
       1/9/2021    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                1997 Freightliner PD                -80.21
       1/9/2021    709   JQ0015   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                 16.05
       1/9/2021    709   JR0099   Owner Operator   Advance                        Fuel Tax Payment Plan               110.02
       1/9/2021    709   JR0099   Owner Operator   BOBTAIL INS.                   Q1203 2012 Freightliner NTL           8.75
       1/9/2021    709   JR0099   Owner Operator   Communication Charge           Safety Tech Hardware Q1203              13
       1/9/2021    709   JR0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       1/9/2021    709   JR0099   Owner Operator   PHYSICAL DAMAGE                Q1203 2012 Freightliner PD           60.16
       1/9/2021    709   JR0099   Owner Operator   Truck Payment                  CTMS - 246778 TRUCK RENTAL            500
       1/9/2021    709   JR0099   Owner Operator   Truck Payment                  CTMS - 246881 Balloon Payoff        234.05
       1/9/2021    709   JS0265   Owner Operator   Advance                        Fuel Tax Payment Plan                98.09
       1/9/2021    709   JS0265   Owner Operator   BOBTAIL INS.                   2009 Kenworth NTL                     8.75
       1/9/2021    709   JS0265   Owner Operator   BOBTAIL INS.                   Q13159 2013 Freightliner NTL          8.75
       1/9/2021    709   JS0265   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13159                   9.84
       1/9/2021    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
       1/9/2021    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
       1/9/2021    709   JS0265   Owner Operator   ESCROW                         Weekly Escrow                         100
       1/9/2021    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance                          200
       1/9/2021    709   JS0265   Owner Operator   Fuel Card Advances             Cash Advance Fee                         2
       1/9/2021    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       416.49
       1/9/2021    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       145.18
       1/9/2021    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       230.28
       1/9/2021    709   JS0265   Owner Operator   Fuel Purchase                  Fuel Purchase                       258.17
       1/9/2021    709   JS0265   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                         47.5
       1/9/2021    709   JS0265   Owner Operator   PHYSICAL DAMAGE                2009 Kenworth PD                      38.5
       1/9/2021    709   JS0265   Owner Operator   PHYSICAL DAMAGE                Q13159 2013 Freightliner PD          41.31
       1/9/2021    709   JS0265   Owner Operator   Truck Payment                  CTMS - 243086 Q13159 Lease           331.5
       1/9/2021    709   JS0265   Owner Operator   Truck Payment                  CTMS - 243255 Q13159 Lease           331.5
       1/9/2021    709   JS0265   Owner Operator   Truck Payment                  CTMS - 243418 Q13159 Lease           331.5
       1/9/2021    709   JS0265   Owner Operator   Truck Payment                  CTMS - 246331 Q13159 Lease           110.1
       1/9/2021    709   JS0265   Owner Operator   Truck Payment                  CTMS - 246662 Q13159 Lease           331.5
       1/9/2021    709   JS0265   Owner Operator   Truck Payment                  CTMS - 246781 Q13159 Lease           331.5
       1/9/2021    709   KP0004   Owner Operator   Advance                        Fuel Tax Payment Plan               306.36
       1/9/2021    709   KP0004   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                 8.75
       1/9/2021    709   KP0004   Owner Operator   Communication Charge           Safety Tech Hardware 32914              13
       1/9/2021    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                         500
       1/9/2021    709   KP0004   Owner Operator   ESCROW                         Weekly Escrow                       312.16
       1/9/2021    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
       1/9/2021    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
       1/9/2021    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
       1/9/2021    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance                          100
       1/9/2021    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       1/9/2021    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1
       1/9/2021    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1

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       1/9/2021    709   KP0004   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/9/2021    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           186
       1/9/2021    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         197.18
       1/9/2021    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           304
       1/9/2021    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         232.52
       1/9/2021    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           282
       1/9/2021    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                           210
       1/9/2021    709   KP0004   Owner Operator   Fuel Purchase                  Fuel Purchase                         180.65
       1/9/2021    709   KP0004   Owner Operator   IRP License Deduction          LCIL:2020 - 32914                      33.64
       1/9/2021    709   KP0004   Owner Operator   Loan Repayment                 Loan # 00011 - Loan Repayment         256.78
       1/9/2021    709   KP0004   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.81
       1/9/2021    709   KP0004   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/9/2021    709   KT0055   Owner Operator   Advance                        Fuel Tax Payment Plan                 100.76
       1/9/2021    709   KT0055   Owner Operator   BOBTAIL INS.                   33483 2016 Freightliner NTL             8.75
       1/9/2021    709   KT0055   Owner Operator   Communication Charge           Safety Tech Hardware 33483                13
       1/9/2021    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         375.66
       1/9/2021    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         226.45
       1/9/2021    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.12
       1/9/2021    709   KT0055   Owner Operator   Fuel Purchase                  Fuel Purchase                          230.4
       1/9/2021    709   KT0055   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   KT0055   Owner Operator   PHYSICAL DAMAGE                33483 2016 Freightliner PD             56.15
       1/9/2021    709   KT0055   Owner Operator   Repair Order                   CTMS - 246755 Repair                    243
       1/9/2021    709   KT0055   Owner Operator   Truck Payment                  CTMS - 243058 33483 Lease 208         335.48
       1/9/2021    709   KT0055   Owner Operator   Truck Payment                  CTMS - 243223 33483 Lease 208         335.48
       1/9/2021    709   KT0055   Owner Operator   Truck Payment                  CTMS - 243393 33483 Lease 208         335.48
       1/9/2021    709   KT0055   Owner Operator   Truck Payment                  CTMS - 243559 33483 Lease 208         335.48
       1/9/2021    709   KT0055   Owner Operator   Truck Payment                  CTMS - 246853 33483 Lease 208         335.48
       1/9/2021    709   KW0091   Owner Operator   Advance                        Fuel Tax Payment Plan                 314.33
       1/9/2021    709   KW0091   Owner Operator   BOBTAIL INS.                   6958 2017 Kenworth NTL                  8.75
       1/9/2021    709   KW0091   Owner Operator   Communication Charge           Safety Tech Hardware 86958                13
       1/9/2021    709   KW0091   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    709   KW0091   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   KW0091   Owner Operator   PHYSICAL DAMAGE                6958 2017 Kenworth PD                  57.75
       1/9/2021    709   LL0160   Owner Operator   BOBTAIL INS.                   Q1111 2011 Freightliner NTL             8.75
       1/9/2021    709   LL0160   Owner Operator   Communication Charge           Safety Tech Hardware Q1111                13
       1/9/2021    709   LL0160   Owner Operator   PHYSICAL DAMAGE                Q1111 2011 Freightliner PD             40.11
       1/9/2021    709   LL0160   Owner Operator   Truck Payment                  CTMS - 246804 Balloon Pay off         200.15
       1/9/2021    709   LL0160   Owner Operator   Truck Payment                  CTMS - 246935 Balloon Pay off         200.15
       1/9/2021    709   LS0023   Owner Operator   Advance                        Fuel Tax Payment Plan                  94.27
       1/9/2021    709   LS0023   Owner Operator   BOBTAIL INS.                   33655 2016 Freightliner NTL             8.75
       1/9/2021    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/9/2021    709   LS0023   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/9/2021    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                          20.16
       1/9/2021    709   LS0023   Owner Operator   Fuel Purchase                  Fuel Purchase                         454.94
       1/9/2021    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           3.79
       1/9/2021    709   MA0092   Owner Operator   Advance                        Fuel Tax Payment Plan                 107.53
       1/9/2021    709   MA0092   Owner Operator   BOBTAIL INS.                   2012 Peterbilt NTL                      8.75
       1/9/2021    709   MA0092   Owner Operator   Communication Charge           Safety Tech Hardware 34005                13
       1/9/2021    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                           31.1
       1/9/2021    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         251.62
       1/9/2021    709   MA0092   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.12
       1/9/2021    709   MA0092   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   MA0092   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.8
       1/9/2021    709   MC0207   Owner Operator   Advance                        Fuel Tax Payment Plan                 198.44
       1/9/2021    709   MC0207   Owner Operator   BOBTAIL INS.                   6935 2015 Kenworth NTL                  8.75
       1/9/2021    709   MC0207   Owner Operator   Communication Charge           Safety Tech Hardware 86935                13
       1/9/2021    709   MC0207   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    709   MC0207   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.16
       1/9/2021    709   MC0207   Owner Operator   Fuel Purchase                  Fuel Purchase                          294.4
       1/9/2021    709   MC0207   Owner Operator   Fuel Purchase                  Fuel Purchase                         243.47
       1/9/2021    709   MC0207   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.62
       1/9/2021    709   MC0207   Owner Operator   Fuel Purchase                  Fuel Purchase                         272.84
       1/9/2021    709   MC0207   Owner Operator   Fuel Purchase                  Fuel Purchase                         168.57
       1/9/2021    709   MC0207   Owner Operator   Fuel Purchase                  Fuel Purchase                         407.79
       1/9/2021    709   MC0207   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   MC0207   Owner Operator   PHYSICAL DAMAGE                6935 2015 Kenworth PD                  40.11
       1/9/2021    709   MD0122   Owner Operator   BOBTAIL INS.                   2008 Peterbilt NTL                      8.75
       1/9/2021    709   MD0122   Owner Operator   Communication Charge           Safety Tech Hardware 34342                13
       1/9/2021    709   MD0122   Owner Operator   Fuel Purchase                  Fuel Purchase                         293.18
       1/9/2021    709   MD0122   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   MD0122   Owner Operator   PHYSICAL DAMAGE                2008 Peterbilt PD                      23.96
       1/9/2021    709   MG0067   Owner Operator   BOBTAIL INS.                   2008 Volvo NTL                          8.75

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       1/9/2021    709   MG0067   Owner Operator   Communication Charge           Safety Tech Hardware 33435                13
       1/9/2021    709   MG0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         385.31
       1/9/2021    709   MG0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   MG0067   Owner Operator   Permits                        IL02:2021 - 33435                       3.75
       1/9/2021    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD                           36.1
       1/9/2021    709   MG0067   Owner Operator   PHYSICAL DAMAGE                2008 Volvo PD Terrorism                  2.5
       1/9/2021    709   NG0005   Owner Operator   BOBTAIL INS.                   CT523 2005 Peterbilt NTL                8.75
       1/9/2021    709   NG0005   Owner Operator   Communication Charge           Safety Tech Hardware 21412B               13
       1/9/2021    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance                            180
       1/9/2021    709   NG0005   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.8
       1/9/2021    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.88
       1/9/2021    709   NG0005   Owner Operator   Fuel Purchase                  Fuel Purchase                         235.32
       1/9/2021    709   NG0005   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   NG0005   Owner Operator   PHYSICAL DAMAGE                CT523 2005 Peterbilt PD                33.71
       1/9/2021    709   NT9564   Owner Operator   Advance                        Fuel Tax Payment Plan                  89.95
       1/9/2021    709   NT9564   Owner Operator   BOBTAIL INS.                   73130 2007 Freightliner NTL             8.75
       1/9/2021    709   NT9564   Owner Operator   Communication Charge           Safety Tech Hardware 73130                13
       1/9/2021    709   NT9564   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   NT9564   Owner Operator   Permits                        IL02:2021 - 73130                       3.75
       1/9/2021    709   NT9564   Owner Operator   PHYSICAL DAMAGE                73130 2007 Freightliner PD             31.28
       1/9/2021    709   PM0099   Owner Operator   Advance                        Fuel Tax Payment Plan                  81.18
       1/9/2021    709   PM0099   Owner Operator   BOBTAIL INS.                   6956 2015 Freightliner NTL              8.75
       1/9/2021    709   PM0099   Owner Operator   Communication Charge           Safety Tech Hardware 86956                13
       1/9/2021    709   PM0099   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance                              50
       1/9/2021    709   PM0099   Owner Operator   Fuel Card Advances             Cash Advance Fee                         0.5
       1/9/2021    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          275.8
       1/9/2021    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                          240.6
       1/9/2021    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.52
       1/9/2021    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         344.22
       1/9/2021    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         315.25
       1/9/2021    709   PM0099   Owner Operator   Fuel Purchase                  Fuel Purchase                         277.73
       1/9/2021    709   PM0099   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD              57.75
       1/9/2021    709   PM0099   Owner Operator   PHYSICAL DAMAGE                6956 2015 Freightliner PD Terr           2.5
       1/9/2021    709   PY0003   Owner Operator   Advance                        Fuel Tax Payment Plan                  97.63
       1/9/2021    709   PY0003   Owner Operator   Advance                        Fuel Tax Payment Plan                  97.73
       1/9/2021    709   PY0003   Owner Operator   BOBTAIL INS.                   2015 International NTL                  8.75
       1/9/2021    709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    709   PY0003   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/9/2021    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/9/2021    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/9/2021    709   PY0003   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/9/2021    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          178.5
       1/9/2021    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                          388.5
       1/9/2021    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         269.28
       1/9/2021    709   PY0003   Owner Operator   Fuel Purchase                  Fuel Purchase                         177.63
       1/9/2021    709   PY0003   Owner Operator   IRP License Deduction          LCIL:2020 - 35043                       100
       1/9/2021    709   PY0003   Owner Operator   IRP License Deduction          LCIL:2020 - 35043                         98
       1/9/2021    709   PY0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   PY0003   Owner Operator   PHYSICAL DAMAGE                2015 International PD                  33.55
       1/9/2021    709   PY0003   Owner Operator   Repair Order                   CTMS - 246251 REPAIRS                   350
       1/9/2021    709   PY0003   Owner Operator   Repair Order                   CTMS - 246721 REPAIRS                   350
       1/9/2021    709   PY0003   Owner Operator   Repair Order                   CTMS - 246756 Repair                    327
       1/9/2021    709   PY0003   Owner Operator   Repair Order                   CTMS - 246837 Repair                    327
       1/9/2021    709   PY0003   Owner Operator   Repair Order                   CTMS - 246857 REPAIRS                   350
       1/9/2021    709   RC0030   Owner Operator   Advance                        Fuel Tax Payment Plan                  97.53
       1/9/2021    709   RC0030   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       1/9/2021    709   RC0030   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
       1/9/2021    709   RC0030   Owner Operator   Communication Charge           Safety Tech Hardware 33676                13
       1/9/2021    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.4
       1/9/2021    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         448.43
       1/9/2021    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.69
       1/9/2021    709   RC0030   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.26
       1/9/2021    709   RC0030   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                      138.76
       1/9/2021    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       1/9/2021    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      144.38
       1/9/2021    709   RC0030   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD Terrorism               2.5
       1/9/2021    709   RL0017   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
       1/9/2021    709   RL0017   Owner Operator   Communication Charge           Safety Tech Hardware 35037                13
       1/9/2021    709   RL0017   Owner Operator   ESCROW                         Weekly Escrow                           300

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       1/9/2021    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         552.76
       1/9/2021    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         157.94
       1/9/2021    709   RL0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.76
       1/9/2021    709   RL0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   RL0017   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      155.06
       1/9/2021    709   RL0062   Owner Operator   Advance                        Fuel Tax Payment Plan                 227.14
       1/9/2021    709   RL0062   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/9/2021    709   RL0062   Owner Operator   Communication Charge           Safety Tech Hardware 32912                13
       1/9/2021    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            300
       1/9/2021    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/9/2021    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/9/2021    709   RL0062   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       1/9/2021    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         440.59
       1/9/2021    709   RL0062   Owner Operator   Fuel Purchase                  Fuel Purchase                         509.07
       1/9/2021    709   RL0062   Owner Operator   IRP License Deduction          LCIL:2020 - 32912                      33.64
       1/9/2021    709   RL0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   RL0062   Owner Operator   Permits                        ID06:2021 - 32912                         16
       1/9/2021    709   RL0062   Owner Operator   Permits                        IL02:2021 - 32912                       3.75
       1/9/2021    709   RL0062   Owner Operator   Permits                        NM07:2021 - 32912                         11
       1/9/2021    709   RL0062   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   95.63
       1/9/2021    709   RL0180   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
       1/9/2021    709   RL0180   Owner Operator   Communication Charge           Safety Tech Hardware 32910                13
       1/9/2021    709   RL0180   Owner Operator   ESCROW                         Weekly Escrow                           400
       1/9/2021    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                         412.31
       1/9/2021    709   RL0180   Owner Operator   Fuel Purchase                  Fuel Purchase                          98.07
       1/9/2021    709   RL0180   Owner Operator   IRP License Deduction          LCIL:2020 - 32910                      33.64
       1/9/2021    709   RL0180   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   52.71
       1/9/2021    709   RL0180   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD Terrorism           2.5
       1/9/2021    709   RM0026   Owner Operator   24 HOUR DISABILITY             L&H                                    28.48
       1/9/2021    709   RM0026   Owner Operator   Advance                        Fuel Tax Payment Plan                 131.96
       1/9/2021    709   RM0026   Owner Operator   BOBTAIL INS.                   2008 Kenworth NTL                       8.75
       1/9/2021    709   RM0026   Owner Operator   Communication Charge           Safety Tech Hardware 33664                13
       1/9/2021    709   RM0026   Owner Operator   Fuel Purchase                  Fuel Purchase                         355.82
       1/9/2021    709   RM0026   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   RM0026   Owner Operator   PHYSICAL DAMAGE                2008 Kenworth PD                       32.09
       1/9/2021    709   RP0082   Owner Operator   BOBTAIL INS.                   Q1202 2012 Freightliner NTL             8.75
       1/9/2021    709   RP0082   Owner Operator   Communication Charge           Safety Tech Hardware Q1202                13
       1/9/2021    709   RP0082   Owner Operator   Fuel Purchase                  Fuel Purchase                         288.68
       1/9/2021    709   RP0082   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   RP0082   Owner Operator   PHYSICAL DAMAGE                Q1202 2012 Freightliner PD             60.16
       1/9/2021    709   RP0082   Owner Operator   Truck Payment                  CTMS - 246829 Q1202 Balloon           234.05
       1/9/2021    709   RR0123   Owner Operator   Advance                        Fuel Tax Payment Plan                 106.42
       1/9/2021    709   RR0123   Owner Operator   Advance                        Fuel Tax Payment Plan                 105.74
       1/9/2021    709   RR0123   Owner Operator   BOBTAIL INS.                   33488 2016 Freightliner NTL             8.75
       1/9/2021    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance                            140
       1/9/2021    709   RR0123   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.4
       1/9/2021    709   RR0123   Owner Operator   Fuel Purchase                  Fuel Purchase                         419.64
       1/9/2021    709   RR0123   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   RR0123   Owner Operator   Permits                        ID06:2021 - 33488                         16
       1/9/2021    709   RR0123   Owner Operator   Permits                        IL02:2021 - 33488                       3.75
       1/9/2021    709   RR0123   Owner Operator   Permits                        NM07:2021 - 33488                         11
       1/9/2021    709   RR0123   Owner Operator   PHYSICAL DAMAGE                33488 2016 Freightliner PD             56.15
       1/9/2021    709   RR0123   Owner Operator   Repair Order                   CTMS - 246756 Repair                      90
       1/9/2021    709   RR0123   Owner Operator   Truck Payment                  CTMS - 243058 33488 Lease $335        335.48
       1/9/2021    709   RR0123   Owner Operator   Truck Payment                  CTMS - 243223 33488 Lease $335        335.48
       1/9/2021    709   RR0123   Owner Operator   Truck Payment                  CTMS - 243393 33488 Lease $335        335.48
       1/9/2021    709   RR0123   Owner Operator   Truck Payment                  CTMS - 243559 33488 Lease $335        335.48
       1/9/2021    709   RR0123   Owner Operator   Truck Payment                  CTMS - 246247 33488 Lease $335        335.48
       1/9/2021    709   RR0123   Owner Operator   Truck Payment                  CTMS - 246580 33488 Lease $335         35.18
       1/9/2021    709   RR0123   Owner Operator   Truck Payment                  CTMS - 246656 Past tractor ren          100
       1/9/2021    709   RR0123   Owner Operator   Truck Payment                  CTMS - 246775 Past tractor ren         33.09
       1/9/2021    709   SB0009   Owner Operator   Advance                        Fuel Tax Payment Plan                 233.02
       1/9/2021    709   SB0009   Owner Operator   BOBTAIL INS.                   2015 Freightliner NTL                   8.75
       1/9/2021    709   SB0009   Owner Operator   Communication Charge           Safety Tech Hardware 33236                13
       1/9/2021    709   SB0009   Owner Operator   ESCROW                         Weekly Escrow                           200
       1/9/2021    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/9/2021    709   SB0009   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/9/2021    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         273.98
       1/9/2021    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         301.03
       1/9/2021    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         178.12
       1/9/2021    709   SB0009   Owner Operator   Fuel Purchase                  Fuel Purchase                         302.28
       1/9/2021    709   SB0009   Owner Operator   IRP License Deduction          LCIL:2020 - 33236                      33.64

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       1/9/2021    709   SB0009   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   SB0009   Owner Operator   PHYSICAL DAMAGE                2015 Freightliner PD                  103.68
       1/9/2021    709   SB0009   Owner Operator   Tractor Charge                 19100 - 33236                         547.34
       1/9/2021    709   SB0103   Owner Operator   Advance                        Fuel Tax Payment Plan                 125.18
       1/9/2021    709   SB0103   Owner Operator   BOBTAIL INS.                   33037 2014 Freightliner NTL             8.75
       1/9/2021    709   SB0103   Owner Operator   Communication Charge           Safety Tech Hardware 33037                13
       1/9/2021    709   SB0103   Owner Operator   ESCROW                         Weekly Escrow                           100
       1/9/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.87
       1/9/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         237.47
       1/9/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         241.89
       1/9/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          261.3
       1/9/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         109.72
       1/9/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          245.3
       1/9/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                          25.58
       1/9/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         145.62
       1/9/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.76
       1/9/2021    709   SB0103   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.37
       1/9/2021    709   SB0103   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD             61.34
       1/9/2021    709   SB0103   Owner Operator   PHYSICAL DAMAGE                33037 2014 Freightliner PD Ter           2.5
       1/9/2021    709   SB0103   Owner Operator   Truck Payment                  CTMS - 246910 3303Truck Lease         133.15
       1/9/2021    709   SM0109   Owner Operator   Advance                        Fuel Tax Payment Plan                 198.17
       1/9/2021    709   SM0109   Owner Operator   BOBTAIL INS.                   33195 2015 Freightliner NTL             8.75
       1/9/2021    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           428
       1/9/2021    709   SM0109   Owner Operator   Fuel Purchase                  Fuel Purchase                           493
       1/9/2021    709   SM0109   Owner Operator   IRP License Deduction          LCIL:2020 - 33195                      33.64
       1/9/2021    709   SM0109   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   SM0109   Owner Operator   Permits                        ID06:2021 - 33195                         16
       1/9/2021    709   SM0109   Owner Operator   Permits                        IL02:2021 - 33195                       3.75
       1/9/2021    709   SM0109   Owner Operator   Permits                        NM07:2021 - 33195                         11
       1/9/2021    709   SM0109   Owner Operator   PHYSICAL DAMAGE                33195 2015 Freightliner PD              76.2
       1/9/2021    709   SM0109   Owner Operator   Repair Order                   CTMS - 246756 Repair                  108.46
       1/9/2021    709   SM0109   Owner Operator   Tractor Charge                 43667 - 33195                          468.6
       1/9/2021    709   SN0019   Owner Operator   Advance                        Fuel Tax Payment Plan                  74.24
       1/9/2021    709   SN0019   Owner Operator   Advance                        Fuel Tax Payment Plan                  73.56
       1/9/2021    709   SN0019   Owner Operator   Advance                        Fuel Tax Payment Plan                  74.24
       1/9/2021    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       1/9/2021    709   SN0019   Owner Operator   BOBTAIL INS.                   2010 Freightliner NTL                   8.75
       1/9/2021    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
       1/9/2021    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
       1/9/2021    709   SN0019   Owner Operator   Communication Charge           Safety Tech Hardware 33461                13
       1/9/2021    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/9/2021    709   SN0019   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/9/2021    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         173.97
       1/9/2021    709   SN0019   Owner Operator   Fuel Purchase                  Fuel Purchase                         275.59
       1/9/2021    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   SN0019   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                    44.1
       1/9/2021    709   SN0019   Owner Operator   PHYSICAL DAMAGE                2010 Freightliner PD                   44.12
       1/9/2021    709   VB0015   Owner Operator   Advance                        Fuel Tax Payment Plan                  56.98
       1/9/2021    709   VB0015   Owner Operator   BOBTAIL INS.                   Q1112 2011 Freightliner NTL             8.75
       1/9/2021    709   VB0015   Owner Operator   Communication Charge           Safety Tech Hardware Q1112                13
       1/9/2021    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/9/2021    709   VB0015   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/9/2021    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                           493
       1/9/2021    709   VB0015   Owner Operator   Fuel Purchase                  Fuel Purchase                         135.74
       1/9/2021    709   VB0015   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   VB0015   Owner Operator   PHYSICAL DAMAGE                Q1112 2011 Freightliner PD              38.5
       1/9/2021    709   VJ0006   Owner Operator   24 HOUR DISABILITY             L&H                                    90.11
       1/9/2021    709   VJ0006   Owner Operator   Advance                        Fuel Tax Payment Plan                 144.53
       1/9/2021    709   VJ0006   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
       1/9/2021    709   VJ0006   Owner Operator   Communication Charge           Safety Tech Hardware 33961                13
       1/9/2021    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
       1/9/2021    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            150
       1/9/2021    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/9/2021    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/9/2021    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/9/2021    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/9/2021    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       1/9/2021    709   VJ0006   Owner Operator   Fuel Card Advances             Cash Advance Fee                         1.5
       1/9/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         182.23
       1/9/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         207.15
       1/9/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.72

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       1/9/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.85
       1/9/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         204.01
       1/9/2021    709   VJ0006   Owner Operator   Fuel Purchase                  Fuel Purchase                         191.66
       1/9/2021    709   VJ0006   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   VJ0006   Owner Operator   Permits                        ID06:2021 - 33961                         16
       1/9/2021    709   VJ0006   Owner Operator   Permits                        IL02:2021 - 33961                       3.75
       1/9/2021    709   VJ0006   Owner Operator   Permits                        NM07:2021 - 33961                         11
       1/9/2021    709   VJ0006   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   39.56
       1/9/2021    709   VJ0006   Owner Operator   Toll Charges                   33961 HCTRA Ship Channel Bridg             7
       1/9/2021    709   WA0036   Owner Operator   BOBTAIL INS.                   2010 Peterbilt NTL                      8.75
       1/9/2021    709   WA0036   Owner Operator   Communication Charge           Safety Tech Hardware 35136                20
       1/9/2021    709   WA0036   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    709   WA0036   Owner Operator   Fuel Purchase                  Fuel Purchase                         114.92
       1/9/2021    709   WA0036   Owner Operator   Fuel Purchase                  Fuel Purchase                          193.9
       1/9/2021    709   WA0036   Owner Operator   Fuel Purchase                  Fuel Purchase                         196.63
       1/9/2021    709   WA0036   Owner Operator   Fuel Purchase                  Fuel Purchase                          173.1
       1/9/2021    709   WA0036   Owner Operator   Fuel Purchase                  Fuel Purchase                         155.03
       1/9/2021    709   WA0036   Owner Operator   IRP License Deduction          LCIL:2020 - 35136                       100
       1/9/2021    709   WA0036   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD                      47.92
       1/9/2021    709   WA0036   Owner Operator   PHYSICAL DAMAGE                2010 Peterbilt PD Terrorism              2.5
       1/9/2021    709   WB0062   Owner Operator   BOBTAIL INS.                   2011 Freightliner NTL                   8.75
       1/9/2021    709   WB0062   Owner Operator   Communication Charge           Safety Tech Hardware 33407                13
       1/9/2021    709   WB0062   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD                   57.75
       1/9/2021    709   WB0062   Owner Operator   PHYSICAL DAMAGE                2011 Freightliner PD Terrorism           2.5
       1/9/2021    709   WH0087   Owner Operator   Advance                        Fuel Tax Payment Plan                  76.08
       1/9/2021    709   WH0087   Owner Operator   BOBTAIL INS.                   Q1239 2012 Peterbilt NTL                8.75
       1/9/2021    709   WH0087   Owner Operator   Communication Charge           Safety Tech Hardware q1239                13
       1/9/2021    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance                            300
       1/9/2021    709   WH0087   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       1/9/2021    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         220.42
       1/9/2021    709   WH0087   Owner Operator   Fuel Purchase                  Fuel Purchase                         282.92
       1/9/2021    709   WH0087   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    709   WH0087   Owner Operator   PHYSICAL DAMAGE                Q1239 2012 Peterbilt PD                62.08
       1/9/2021    709   WH0087   Owner Operator   Truck Payment                  CTMS - 243063 Q1238 Lease             311.97
       1/9/2021    709   WH0087   Owner Operator   Truck Payment                  CTMS - 243228 Q1238 Lease             311.97
       1/9/2021    709   WH0087   Owner Operator   Truck Payment                  CTMS - 243398 Q1238 Lease             311.97
       1/9/2021    709   WH0087   Owner Operator   Truck Payment                  CTMS - 243562 Q1238 Lease             311.97
       1/9/2021    709   WH0087   Owner Operator   Truck Payment                  CTMS - 246859 Q1238 Lease             311.97
       1/9/2021    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       1/9/2021    742   CA0089   Owner Operator   BOBTAIL INS.                   2016 Peterbilt NTL                      8.75
       1/9/2021    742   CA0089   Owner Operator   Broker Pre Pass                33987 PrePass Device                    12.5
       1/9/2021    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
       1/9/2021    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
       1/9/2021    742   CA0089   Owner Operator   Communication Charge           Safety Tech Hardware 33987                13
       1/9/2021    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         318.31
       1/9/2021    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         281.68
       1/9/2021    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         186.64
       1/9/2021    742   CA0089   Owner Operator   Fuel Purchase                  Fuel Purchase                         382.16
       1/9/2021    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   CA0089   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   CA0089   Owner Operator   Permits                        ID06:2021 - 33987                         16
       1/9/2021    742   CA0089   Owner Operator   Permits                        NM07:2021 - 33987                         11
       1/9/2021    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.19
       1/9/2021    742   CA0089   Owner Operator   PHYSICAL DAMAGE                2016 Peterbilt PD                      72.18
       1/9/2021    742   CT0085   Owner Operator   Advance                        Fuel Tax Payment Plan                  92.87
       1/9/2021    742   CT0085   Owner Operator   Advance                        Fuel Tax Payment Plan                  93.55
       1/9/2021    742   CT0085   Owner Operator   Advance                        Fuel Tax Payment Plan                  93.55
       1/9/2021    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       1/9/2021    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       1/9/2021    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       1/9/2021    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       1/9/2021    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       1/9/2021    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       1/9/2021    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       1/9/2021    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       1/9/2021    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
       1/9/2021    742   CT0085   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        222.62
       1/9/2021    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          10.04
       1/9/2021    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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       1/9/2021    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.11
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.11
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       1/9/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
       1/9/2021    742   DA0067   Owner Operator   24 HOUR DISABILITY             L&H                                   143.14
       1/9/2021    742   DA0067   Owner Operator   Advance                        Fuel Tax Payment Plan                 136.99
       1/9/2021    742   DA0067   Owner Operator   Advance                        Fuel Tax Payment Plan                 136.31
       1/9/2021    742   DA0067   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/9/2021    742   DA0067   Owner Operator   Broker Pre Pass                33847 PrePass Device                    12.5
       1/9/2021    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
       1/9/2021    742   DA0067   Owner Operator   Communication Charge           Safety Tech Hardware 33847                13
       1/9/2021    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         233.65
       1/9/2021    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                           230
       1/9/2021    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         225.01
       1/9/2021    742   DA0067   Owner Operator   Fuel Purchase                  Fuel Purchase                         222.22
       1/9/2021    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
       1/9/2021    742   DA0067   Owner Operator   Loan Repayment                 Loan # 00002 - Loan Repayment         268.58
       1/9/2021    742   DA0067   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   DA0067   Owner Operator   Permits                        ID06:2021 - 33847                         16
       1/9/2021    742   DA0067   Owner Operator   Permits                        IL02:2021 - 33847                       3.75
       1/9/2021    742   DA0067   Owner Operator   Permits                        NM07:2021 - 33847                         11
       1/9/2021    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   72.19
       1/9/2021    742   DA0067   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/9/2021    742   DA0067   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     79.37
       1/9/2021    742   DA0067   Owner Operator   Tire Purchase                  018751~BRIDGESTONE                     79.37
       1/9/2021    742   DC0117   Owner Operator   Advance                        Fuel Tax Payment Plan                  75.09
       1/9/2021    742   DC0117   Owner Operator   Communication Charge           Safety Tech Hardware 34063                13
       1/9/2021    742   DC0117   Owner Operator   Fuel Purchase                  Fuel Purchase                         758.77
       1/9/2021    742   DC0117   Owner Operator   IRS                            IRS 565155984                         808.13
       1/9/2021    742   DC0117   Owner Operator   Permits                        ID06:2021 - 34063                         16
       1/9/2021    742   DC0117   Owner Operator   Permits                        IL02:2021 - 34063                       3.75
       1/9/2021    742   DC0117   Owner Operator   Permits                        NM07:2021 - 34063                         11
       1/9/2021    742   JB0465   Owner Operator   Advance                        Fuel Tax Payment Plan                  296.2
       1/9/2021    742   JB0465   Owner Operator   BOBTAIL INS.                   501 2013 Peterbilt NTL                  8.75
       1/9/2021    742   JB0465   Owner Operator   Communication Charge           Safety Tech Hardware 34804                13
       1/9/2021    742   JB0465   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   JB0465   Owner Operator   Permits                        ID06:2021 - 34804                         16
       1/9/2021    742   JB0465   Owner Operator   Permits                        IL02:2021 - 34804                       3.75
       1/9/2021    742   JB0465   Owner Operator   Permits                        NM07:2021 - 34804                         11
       1/9/2021    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD                  24.07
       1/9/2021    742   JB0465   Owner Operator   PHYSICAL DAMAGE                501 2013 Peterbilt PD Terroris           2.5
       1/9/2021    742   JH0148   Owner Operator   Advance                        Fuel Tax Payment Plan                 171.99
       1/9/2021    742   JH0148   Owner Operator   BOBTAIL INS.                   2012 International NTL                  8.75
       1/9/2021    742   JH0148   Owner Operator   Communication Charge           Safety Tech Hardware 34329                13
       1/9/2021    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                          411.3
       1/9/2021    742   JH0148   Owner Operator   Fuel Purchase                  Fuel Purchase                         397.01
       1/9/2021    742   JH0148   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   JH0148   Owner Operator   Permits                        IL02:2021 - 34329                       3.75
       1/9/2021    742   JH0148   Owner Operator   PHYSICAL DAMAGE                2012 International PD                  24.07
       1/9/2021    742   JS0390   Owner Operator   Advance                        Fuel Tax Payment Plan                 107.17
       1/9/2021    742   JS0390   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75

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       1/9/2021    742   JS0390   Owner Operator   Communication Charge           Safety Tech Hardware 34943                13
       1/9/2021    742   JS0390   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    742   JS0390   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.27
       1/9/2021    742   JS0390   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   JS0390   Owner Operator   Permits                        IL02:2021 - 34943                       3.75
       1/9/2021    742   JS0390   Owner Operator   Permits                        NM07:2021 - 34943                         11
       1/9/2021    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   60.16
       1/9/2021    742   JS0390   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
       1/9/2021    742   MH0117   Owner Operator   BOBTAIL INS.                   2018 International NTL                  8.75
       1/9/2021    742   MH0117   Owner Operator   Communication Charge           Safety Tech Hardware 34932                13
       1/9/2021    742   MH0117   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    742   MH0117   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   MH0117   Owner Operator   Permits                        ID06:2021 - 34932                         16
       1/9/2021    742   MH0117   Owner Operator   Permits                        NM07:2021 - 34932                         11
       1/9/2021    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD                  60.12
       1/9/2021    742   MH0117   Owner Operator   PHYSICAL DAMAGE                2018 International PD Terroris           2.5
       1/9/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD           -413.87
       1/9/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            413.87
       1/9/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter            10
       1/9/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           -10
       1/9/2021    742   PC0012   Owner Operator   24 HOUR DISABILITY             L&H                                     6.69
       1/9/2021    742   PC0012   Owner Operator   Advance                        Fuel Tax Payment Plan                  122.4
       1/9/2021    742   PC0012   Owner Operator   Advance                        Fuel Tax Payment Plan                 120.12
       1/9/2021    742   PC0012   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
       1/9/2021    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
       1/9/2021    742   PC0012   Owner Operator   Communication Charge           Safety Tech Hardware 32969                13
       1/9/2021    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       1/9/2021    742   PC0012   Owner Operator   ESCROW                         Weekly Escrow                           200
       1/9/2021    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance                            100
       1/9/2021    742   PC0012   Owner Operator   Fuel Card Advances             Cash Advance Fee                           1
       1/9/2021    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         324.75
       1/9/2021    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         304.44
       1/9/2021    742   PC0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         199.75
       1/9/2021    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
       1/9/2021    742   PC0012   Owner Operator   IRP License Deduction          LCIL:2020 - 32969                      33.64
       1/9/2021    742   PC0012   Owner Operator   Permits                        ID06:2021 - 32969                         16
       1/9/2021    742   PC0012   Owner Operator   Permits                        IL02:2021 - 32969                       3.75
       1/9/2021    742   PC0012   Owner Operator   Permits                        NM07:2021 - 32969                         11
       1/9/2021    742   PC0012   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  107.16
       1/9/2021    742   RS0342   Owner Operator   Advance                        Fuel Tax Payment Plan                 144.51
       1/9/2021    742   RS0342   Owner Operator   BOBTAIL INS.                   2017 Peterbilt NTL                      8.75
       1/9/2021    742   RS0342   Owner Operator   Communication Charge           Safety Tech Hardware 35030                13
       1/9/2021    742   RS0342   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    742   RS0342   Owner Operator   Fuel Purchase                  Fuel Purchase                          515.1
       1/9/2021    742   RS0342   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   RS0342   Owner Operator   Permits                        ID06:2021 - 35030                         16
       1/9/2021    742   RS0342   Owner Operator   Permits                        IL02:2021 - 35030                       3.75
       1/9/2021    742   RS0342   Owner Operator   Permits                        NM07:2021 - 35030                         11
       1/9/2021    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD                     147.03
       1/9/2021    742   RS0342   Owner Operator   PHYSICAL DAMAGE                2017 Peterbilt PD Terrorism              2.5
       1/9/2021    742   SK0049   Owner Operator   BOBTAIL INS.                   2011 Peterbilt NTL                      8.75
       1/9/2021    742   SK0049   Owner Operator   Communication Charge           Safety Tech Hardware 33934                13
       1/9/2021    742   SK0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   SK0049   Owner Operator   Permits                        IL02:2021 - 33934                       3.75
       1/9/2021    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD                      60.16
       1/9/2021    742   SK0049   Owner Operator   PHYSICAL DAMAGE                2011 Peterbilt PD Terrorism              2.5
       1/9/2021    742   TC0098   Owner Operator   Advance                        Fuel Tax Payment Plan                 131.46
       1/9/2021    742   TC0098   Owner Operator   BOBTAIL INS.                   33489 2016 Freightliner NTL             8.75
       1/9/2021    742   TC0098   Owner Operator   Communication Charge           Safety Tech Hardware 33489                13
       1/9/2021    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/9/2021    742   TC0098   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/9/2021    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         286.37
       1/9/2021    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                         271.51
       1/9/2021    742   TC0098   Owner Operator   Fuel Purchase                  Fuel Purchase                          351.4
       1/9/2021    742   TC0098   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    742   TC0098   Owner Operator   Permits                        ID06:2021 - 33489                         16
       1/9/2021    742   TC0098   Owner Operator   Permits                        IL02:2021 - 33489                       3.75
       1/9/2021    742   TC0098   Owner Operator   Permits                        NM07:2021 - 33489                         11
       1/9/2021    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD             68.98
       1/9/2021    742   TC0098   Owner Operator   PHYSICAL DAMAGE                33489 2016 Freightliner PD Ter           2.5
       1/9/2021    781   MM0054   Owner Operator   BOBTAIL INS.                   86900 2010 Freightliner NTL             8.75
       1/9/2021    781   MM0054   Owner Operator   Communication Charge           Safety Tech Hardware 86900                13
       1/9/2021    781   MM0054   Owner Operator   ESCROW                         Weekly Escrow                             50

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       1/9/2021    781   MM0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          55.75
       1/9/2021    781   MM0054   Owner Operator   Permits                        ID06:2021 - 86900                         16
       1/9/2021    781   MM0054   Owner Operator   Permits                        IL02:2021 - 86900                       3.75
       1/9/2021    781   MM0054   Owner Operator   Permits                        NM07:2021 - 86900                         11
       1/9/2021    781   MM0054   Owner Operator   PHYSICAL DAMAGE                86900 2010 Freightliner PD             16.05
       1/9/2021    783   AJ0066   Owner Operator   Advance                        Fuel Tax Payment Plan                 114.94
       1/9/2021    783   AJ0066   Owner Operator   BOBTAIL INS.                   6816 2014 Peterbilt NTL                 8.75
       1/9/2021    783   AJ0066   Owner Operator   Communication Charge           Safety Tech Hardware 86816                13
       1/9/2021    783   AJ0066   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    783   AJ0066   Owner Operator   IRP License Deduction          LCIL:2020 - 86816                      64.72
       1/9/2021    783   AJ0066   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    783   AJ0066   Owner Operator   Permits                        IL02:2021 - 86816                       3.75
       1/9/2021    783   AJ0066   Owner Operator   Permits                        NM07:2021 - 86816                         11
       1/9/2021    783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD                 68.18
       1/9/2021    783   AJ0066   Owner Operator   PHYSICAL DAMAGE                6816 2014 Peterbilt PD Terrori           2.5
       1/9/2021    783   CH0168   Owner Operator   BOBTAIL INS.                   01 2018 Peterbilt NTL                   8.75
       1/9/2021    783   CH0168   Owner Operator   Communication Charge           Safety Tech Hardware 35066                13
       1/9/2021    783   CH0168   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                         362.63
       1/9/2021    783   CH0168   Owner Operator   Fuel Purchase                  Fuel Purchase                         330.56
       1/9/2021    783   CH0168   Owner Operator   IRP License Deduction          LCIL:2020 - 35066                         98
       1/9/2021    783   CH0168   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    783   CH0168   Owner Operator   Permits                        IL02:2021 - 35066                       3.75
       1/9/2021    783   CH0168   Owner Operator   Permits                        NM07:2021 - 35066                         11
       1/9/2021    783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD                   72.19
       1/9/2021    783   CH0168   Owner Operator   PHYSICAL DAMAGE                01 2018 Peterbilt PD Terrorism           2.5
       1/9/2021    783   DS0317   Owner Operator   Advance                        Fuel Tax Payment Plan                 270.08
       1/9/2021    783   DS0317   Owner Operator   BOBTAIL INS.                   6918 2014 Peterbilt NTL                 8.75
       1/9/2021    783   DS0317   Owner Operator   Communication Charge           Safety Tech Hardware 86918                13
       1/9/2021    783   DS0317   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                         467.59
       1/9/2021    783   DS0317   Owner Operator   Fuel Purchase                  Fuel Purchase                          138.2
       1/9/2021    783   DS0317   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    783   DS0317   Owner Operator   Permits                        IL02:2021 - 86918                       3.75
       1/9/2021    783   DS0317   Owner Operator   Permits                        NM07:2021 - 86918                         11
       1/9/2021    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD                 38.34
       1/9/2021    783   DS0317   Owner Operator   PHYSICAL DAMAGE                6918 2014 Peterbilt PD Terrori           2.5
       1/9/2021    783   GR0095   Owner Operator   Advance                        Fuel Tax Payment Plan                  20.79
       1/9/2021    783   GR0095   Owner Operator   BOBTAIL INS.                   2010 International NTL                  8.75
       1/9/2021    783   GR0095   Owner Operator   BOBTAIL INS.                   2021 Kenworth NTL                       8.75
       1/9/2021    783   GR0095   Owner Operator   Communication Charge           Safety Tech Hardware 86926                13
       1/9/2021    783   GR0095   Owner Operator   ESCROW                         Weekly Escrow                           100
       1/9/2021    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                         291.79
       1/9/2021    783   GR0095   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
       1/9/2021    783   GR0095   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    783   GR0095   Owner Operator   Permits                        IL02:2021 - 86926                       3.75
       1/9/2021    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD                  16.05
       1/9/2021    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2010 International PD Terroris           2.5
       1/9/2021    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD                      110.69
       1/9/2021    783   GR0095   Owner Operator   PHYSICAL DAMAGE                2021 Kenworth PD Terrorism               2.5
       1/9/2021    783   HP0028   Owner Operator   Advance                        Fuel Tax Payment Plan                  52.41
       1/9/2021    783   HP0028   Owner Operator   BOBTAIL INS.                   86943 2012 Kenworth NTL                 8.75
       1/9/2021    783   HP0028   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    783   HP0028   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    783   HP0028   Owner Operator   Permits                        IL02:2021 - 86943                       3.75
       1/9/2021    783   HP0028   Owner Operator   Permits                        NM07:2021 - 86943                         11
       1/9/2021    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD                 32.09
       1/9/2021    783   HP0028   Owner Operator   PHYSICAL DAMAGE                86943 2012 Kenworth PD Terrori           2.5
       1/9/2021    783   JK0157   Owner Operator   *Arrears Collection W/O        WO:35032 PTC New Stanton              -122.3
       1/9/2021    783   JK0157   Owner Operator   *Arrears Collection W/O        WO:November 2020 Fuel/Mileage        -183.92
       1/9/2021    783   JK0157   Owner Operator   *Arrears Collection W/O        WO:October 2020 Fuel/Mileage T       -285.25
       1/9/2021    783   JK0157   Owner Operator   *Arrears Collection W/O        WO:September 2020 Fuel/Mileage       -108.95
       1/9/2021    783   JK0157   Owner Operator   FUEL TAX                       November 2020 Fuel/Mileage Tax        183.92
       1/9/2021    783   JK0157   Owner Operator   FUEL TAX                       October 2020 Fuel/Mileage Tax         285.25
       1/9/2021    783   JK0157   Owner Operator   FUEL TAX                       September 2020 Fuel/Mileage Ta        108.95
       1/9/2021    783   JK0157   Owner Operator   Toll Charges                   35032 PTC New Stanton                  122.3
       1/9/2021    783   JL0281   Owner Operator   Advance                        Fuel Tax Payment Plan                 130.43
       1/9/2021    783   JL0281   Owner Operator   BOBTAIL INS.                   61 2015 Peterbilt NTL                   8.75
       1/9/2021    783   JL0281   Owner Operator   Communication Charge           Safety Tech Hardware 35061                13
       1/9/2021    783   JL0281   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                           300
       1/9/2021    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         453.54
       1/9/2021    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         209.41

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       1/9/2021    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         126.43
       1/9/2021    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         325.55
       1/9/2021    783   JL0281   Owner Operator   Fuel Purchase                  Fuel Purchase                         256.75
       1/9/2021    783   JL0281   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    783   JL0281   Owner Operator   Permits                        IL02:2021 - 35061                       3.75
       1/9/2021    783   JL0281   Owner Operator   Permits                        NM07:2021 - 35061                         11
       1/9/2021    783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD                   60.16
       1/9/2021    783   JL0281   Owner Operator   PHYSICAL DAMAGE                61 2015 Peterbilt PD Terrorism           2.5
       1/9/2021    783   MA0112   Owner Operator   BOBTAIL INS.                   6931 2008 Kenworth NTL                  8.75
       1/9/2021    783   MA0112   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    783   MA0112   Owner Operator   Fuel Purchase                  Fuel Purchase                         442.01
       1/9/2021    783   MA0112   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    783   MA0112   Owner Operator   Permits                        IL02:2021 - 86931                       3.75
       1/9/2021    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD                  16.05
       1/9/2021    783   MA0112   Owner Operator   PHYSICAL DAMAGE                6931 2008 Kenworth PD Terroris           2.5
       1/9/2021    783   MK0038   Owner Operator   Advance                        Fuel Tax Payment Plan                  83.83
       1/9/2021    783   MK0038   Owner Operator   BOBTAIL INS.                   2016 Kenworth NTL                       8.75
       1/9/2021    783   MK0038   Owner Operator   Communication Charge           Safety Tech Hardware 86835                13
       1/9/2021    783   MK0038   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    783   MK0038   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    783   MK0038   Owner Operator   Permits                        IL02:2021 - 86835                       3.75
       1/9/2021    783   MK0038   Owner Operator   Permits                        NM07:2020 - 86835                      11.55
       1/9/2021    783   MK0038   Owner Operator   Permits                        NM07:2021 - 86835                         11
       1/9/2021    783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD                       64.17
       1/9/2021    783   MK0038   Owner Operator   PHYSICAL DAMAGE                2016 Kenworth PD Terrorism               2.5
       1/9/2021    783   MK0078   Owner Operator   Advance                        Fuel Tax Payment Plan                 209.31
       1/9/2021    783   MK0078   Owner Operator   BOBTAIL INS.                   6938 2016 Kenworth NTL                  8.75
       1/9/2021    783   MK0078   Owner Operator   Communication Charge           Safety Tech Hardware 86938                13
       1/9/2021    783   MK0078   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/9/2021    783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance                            300
       1/9/2021    783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
       1/9/2021    783   MK0078   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/9/2021    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         254.17
       1/9/2021    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         121.52
       1/9/2021    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         245.06
       1/9/2021    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.41
       1/9/2021    783   MK0078   Owner Operator   Fuel Purchase                  Fuel Purchase                          354.6
       1/9/2021    783   MK0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    783   MK0078   Owner Operator   Permits                        IL02:2021 - 86938                       3.75
       1/9/2021    783   MK0078   Owner Operator   Permits                        NM07:2020 - 86938                      11.55
       1/9/2021    783   MK0078   Owner Operator   Permits                        NM07:2021 - 86938                         11
       1/9/2021    783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD                  72.84
       1/9/2021    783   MK0078   Owner Operator   PHYSICAL DAMAGE                6938 2016 Kenworth PD Terroris           2.5
       1/9/2021    783   OJ0010   Owner Operator   Advance                        Fuel Tax Payment Plan                  99.41
       1/9/2021    783   OJ0010   Owner Operator   BOBTAIL INS.                   2016 Western Star NTL                   8.75
       1/9/2021    783   OJ0010   Owner Operator   Communication Charge           Safety Tech Hardware 35086                13
       1/9/2021    783   OJ0010   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                          267.9
       1/9/2021    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         234.69
       1/9/2021    783   OJ0010   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.69
       1/9/2021    783   OJ0010   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    783   OJ0010   Owner Operator   Permits                        IL02:2021 - 35086                       3.75
       1/9/2021    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD                   40.07
       1/9/2021    783   OJ0010   Owner Operator   PHYSICAL DAMAGE                2016 Western Star PD Terrorism           2.5
       1/9/2021    783   RC0294   Owner Operator   BOBTAIL INS.                   2016 International NTL                  8.75
       1/9/2021    783   RC0294   Owner Operator   BOBTAIL INS.                   2016 International NTL                  8.75
       1/9/2021    783   RC0294   Owner Operator   BOBTAIL INS.                   86734 2006 Freightliner NTL             8.75
       1/9/2021    783   RC0294   Owner Operator   Communication Charge           Safety Tech Hardware 86734                13
       1/9/2021    783   RC0294   Owner Operator   ESCROW                         Weekly Escrow                           100
       1/9/2021    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         159.13
       1/9/2021    783   RC0294   Owner Operator   Fuel Purchase                  Fuel Purchase                         203.18
       1/9/2021    783   RC0294   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    783   RC0294   Owner Operator   Permits                        IL02:2021 - 86734                       3.75
       1/9/2021    783   RC0294   Owner Operator   PHYSICAL DAMAGE                2016 International PD                  37.38
       1/9/2021    783   RC0294   Owner Operator   PHYSICAL DAMAGE                2016 International PD                  37.38
       1/9/2021    783   RC0294   Owner Operator   PHYSICAL DAMAGE                2016 International PD Terroris           2.5
       1/9/2021    783   RC0294   Owner Operator   PHYSICAL DAMAGE                2016 International PD Terroris           2.5
       1/9/2021    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD             12.03
       1/9/2021    783   RC0294   Owner Operator   PHYSICAL DAMAGE                86734 2006 Freightliner PD Ter           2.5
       1/9/2021    783   RD0012   Owner Operator   Advance                        Fuel Tax Payment Plan                 158.44
       1/9/2021    783   RD0012   Owner Operator   Advance                        Fuel Tax Payment Plan                 158.44
       1/9/2021    783   RD0012   Owner Operator   BOBTAIL INS.                   2014 Peterbilt NTL                      8.75

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       1/9/2021    783   RD0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    783   RD0012   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.43
       1/9/2021    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          39.01
       1/9/2021    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         388.95
       1/9/2021    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                          230.3
       1/9/2021    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         217.56
       1/9/2021    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         289.33
       1/9/2021    783   RD0012   Owner Operator   Fuel Purchase                  Fuel Purchase                         306.27
       1/9/2021    783   RD0012   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    783   RD0012   Owner Operator   Permits                        IL02:2021 - 86812                       3.75
       1/9/2021    783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD                      40.11
       1/9/2021    783   RD0012   Owner Operator   PHYSICAL DAMAGE                2014 Peterbilt PD Terrorism              2.5
       1/9/2021    783   RM0340   Owner Operator   BOBTAIL INS.                   6922 2012 Freightliner NTL              8.75
       1/9/2021    783   RM0340   Owner Operator   Communication Charge           Safety Tech Hardware 86922                13
       1/9/2021    783   RM0340   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    783   RM0340   Owner Operator   Fuel Purchase                  Fuel Purchase                         451.68
       1/9/2021    783   RM0340   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    783   RM0340   Owner Operator   Permits                        IL02:2021 - 86922                       3.75
       1/9/2021    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD               38.1
       1/9/2021    783   RM0340   Owner Operator   PHYSICAL DAMAGE                6922 2012 Freightliner PD Terr           2.5
       1/9/2021    783   RS0377   Owner Operator   Advance                        Fuel Tax Payment Plan                 253.49
       1/9/2021    783   RS0377   Owner Operator   BOBTAIL INS.                   6923 2016 Freightliner NTL              8.75
       1/9/2021    783   RS0377   Owner Operator   Communication Charge           Safety Tech Hardware 86923                13
       1/9/2021    783   RS0377   Owner Operator   ESCROW                         Weekly Escrow                             50
       1/9/2021    783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance                            200
       1/9/2021    783   RS0377   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
       1/9/2021    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         154.66
       1/9/2021    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         395.85
       1/9/2021    783   RS0377   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.46
       1/9/2021    783   RS0377   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
       1/9/2021    783   RS0377   Owner Operator   Permits                        IL02:2021 - 86923                       3.75
       1/9/2021    783   RS0377   Owner Operator   Permits                        NM07:2021 - 86923                         11
       1/9/2021    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD              40.11
       1/9/2021    783   RS0377   Owner Operator   PHYSICAL DAMAGE                6923 2016 Freightliner PD Terr           2.5
      1/16/2021    709   AR0064   Owner Operator   Tire Purchase                  008840~MICHELIN NORTH AMERICA         231.71
      1/16/2021    709   AV0021   Owner Operator   24 HOUR DISABILITY             L&H                                    44.33
      1/16/2021    709   AV0021   Owner Operator   Communication Charge           Safety Tech Hardware Q13169               13
      1/16/2021    709   AV0021   Owner Operator   Truck Payment                  CTMS - 243131 Q13169 Sublease          98.98
      1/16/2021    709   BS0078   Owner Operator   Advance                        Fuel Tax Payment Plan                  98.82
      1/16/2021    709   BS0078   Owner Operator   BOBTAIL INS.                   2019 Freightliner NTL                   8.75
      1/16/2021    709   BS0078   Owner Operator   Communication Charge           Safety Tech Hardware 34900                13
      1/16/2021    709   BS0078   Owner Operator   Fuel Purchase                  Fuel Purchase                         249.89
      1/16/2021    709   BS0078   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   BS0078   Owner Operator   Permits                        ID06:2021 - 34900                         16
      1/16/2021    709   BS0078   Owner Operator   Permits                        IL02:2021 - 34900                       3.75
      1/16/2021    709   BS0078   Owner Operator   Permits                        NM07:2021 - 34900                         11
      1/16/2021    709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD                   113.5
      1/16/2021    709   BS0078   Owner Operator   PHYSICAL DAMAGE                2019 Freightliner PD Terrorism           2.5
      1/16/2021    709   CC0134   Owner Operator   Communication Charge           Safety Tech Hardware Q13168               13
      1/16/2021    709   CC0134   Owner Operator   Truck Payment                  CTMS - 243228 Q13168 sub lease        168.53
      1/16/2021    709   CM0224   Owner Operator   Communication Charge           Safety Tech Hardware 8968                 13
      1/16/2021    709   CM0224   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/16/2021    709   CM0224   Owner Operator   IRP License Deduction          LCIL:2020 - 8968                       89.78
      1/16/2021    709   CM0224   Owner Operator   IRP License Deduction          LCIL:2020 - 8968                      164.72
      1/16/2021    709   CR0064   Owner Operator   Advance                        Fuel Tax Payment Plan                  26.68
      1/16/2021    709   CR0064   Owner Operator   BOBTAIL INS.                   Q1247 2012 Peterbilt NTL                8.75
      1/16/2021    709   CR0064   Owner Operator   Communication Charge           Safety Tech Hardware Q1247                13
      1/16/2021    709   CR0064   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   CR0064   Owner Operator   PHYSICAL DAMAGE                Q1247 2012 Peterbilt PD                32.89
      1/16/2021    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      1/16/2021    709   CV0028   Owner Operator   Communication Charge           Safety Tech Hardware 33482                13
      1/16/2021    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/16/2021    709   CV0028   Owner Operator   ESCROW                         Weekly Escrow                             50
      1/16/2021    709   CV0028   Owner Operator   Truck Payment                  CTMS - 246717 Lease Truck 3348         76.15
      1/16/2021    709   DL0107   Owner Operator   BOBTAIL INS.                   Q1245 2012 Peterbilt NTL                8.75
      1/16/2021    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      1/16/2021    709   DL0107   Owner Operator   Communication Charge           Safety Tech Hardware q1245                13
      1/16/2021    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance                            300
      1/16/2021    709   DL0107   Owner Operator   Fuel Card Advances             Cash Advance Fee                           3
      1/16/2021    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                          313.3
      1/16/2021    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         252.37
      1/16/2021    709   DL0107   Owner Operator   Fuel Purchase                  Fuel Purchase                         165.62

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      1/16/2021    709   DL0107   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   DL0107   Owner Operator   PHYSICAL DAMAGE                Q1245 2012 Peterbilt PD                67.46
      1/16/2021    709   DL0107   Owner Operator   Truck Payment                  CTMS - 243057 Baloon payoff           350.23
      1/16/2021    709   DL0107   Owner Operator   Truck Payment                  CTMS - 243222 Baloon payoff           350.23
      1/16/2021    709   DL0107   Owner Operator   Truck Payment                  CTMS - 243392 Baloon payoff           350.23
      1/16/2021    709   DL0107   Owner Operator   Truck Payment                  CTMS - 243558 Baloon payoff           350.23
      1/16/2021    709   DL0107   Owner Operator   Truck Payment                  CTMS - 246386 TRUCK RENTAL              500
      1/16/2021    709   DL0107   Owner Operator   Truck Payment                  CTMS - 246695 TRUCK RENTAL              500
      1/16/2021    709   DL0107   Owner Operator   Truck Payment                  CTMS - 246833 TRUCK RENTAL              500
      1/16/2021    709   DS0049   Owner Operator   BOBTAIL INS.                   2020 Freightliner NTL                   8.75
      1/16/2021    709   DS0049   Owner Operator   Communication Charge           Safety Tech Hardware 34880                13
      1/16/2021    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance                          273.06
      1/16/2021    709   DS0049   Owner Operator   Fuel Card Advances             Cash Advance Fee                           5
      1/16/2021    709   DS0049   Owner Operator   Fuel Purchase                  Fuel Purchase                         141.13
      1/16/2021    709   DS0049   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   DS0049   Owner Operator   Permits                        ID06:2021 - 34880                         16
      1/16/2021    709   DS0049   Owner Operator   Permits                        IL02:2021 - 34880                       3.75
      1/16/2021    709   DS0049   Owner Operator   Permits                        NM07:2021 - 34880                         11
      1/16/2021    709   DS0049   Owner Operator   PHYSICAL DAMAGE                2020 Freightliner PD                   114.7
      1/16/2021    709   DS0049   Owner Operator   Toll Charges                   34880 BATA Bay Bridge                     26
      1/16/2021    709   DS0288   Owner Operator   Advance                        Fuel Tax Payment Plan                 183.85
      1/16/2021    709   DS0288   Owner Operator   Advance                        Fuel Tax Payment Plan                 184.53
      1/16/2021    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      1/16/2021    709   DS0288   Owner Operator   BOBTAIL INS.                   2013 Freightliner NTL                   8.75
      1/16/2021    709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                    12.5
      1/16/2021    709   DS0288   Owner Operator   Broker Pre Pass                34266 PrePass Device                    12.5
      1/16/2021    709   DS0288   Owner Operator   Broker Pre Pass                DriveWyze TRK34266                      9.84
      1/16/2021    709   DS0288   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        340.63
      1/16/2021    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   DS0288   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           190
      1/16/2021    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.13
      1/16/2021    709   DS0288   Owner Operator   PHYSICAL DAMAGE                2013 Freightliner PD                   43.11
      1/16/2021    709   DS0288   Owner Operator   Repair Order                   CTMS - 245470 Repair                    180
      1/16/2021    709   EA0003   Owner Operator   Advance                        Fuel Tax Payment Plan                 147.56
      1/16/2021    709   EA0003   Owner Operator   Advance                        Fuel Tax Payment Plan                 151.13
      1/16/2021    709   EA0003   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/16/2021    709   EA0003   Owner Operator   Broker Pre Pass                33051 PrePass Device                    12.5
      1/16/2021    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      1/16/2021    709   EA0003   Owner Operator   Communication Charge           Safety Tech Hardware 33051                13
      1/16/2021    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/16/2021    709   EA0003   Owner Operator   ESCROW                         Weekly Escrow                           250
      1/16/2021    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      1/16/2021    709   EA0003   Owner Operator   IRP License Deduction          LCIL:2020 - 33051                      33.64
      1/16/2021    709   EA0003   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   EA0003   Owner Operator   Permits                        IL02:2021 - 33051                       3.75
      1/16/2021    709   EA0003   Owner Operator   Permits                        NM07:2021 - 33051                         11
      1/16/2021    709   EA0003   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                  108.28
      1/16/2021    709   EN0016   Owner Operator   Advance                        Fuel Tax Payment Plan                  83.31
      1/16/2021    709   EN0016   Owner Operator   Advance                        Fuel Tax Payment Plan                  83.99
      1/16/2021    709   EN0016   Owner Operator   Advance                        Fuel Tax Payment Plan                  83.99
      1/16/2021    709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/16/2021    709   EN0016   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/16/2021    709   EN0016   Owner Operator   Broker Pre Pass                32947 PrePass Device                    12.5
      1/16/2021    709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      1/16/2021    709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      1/16/2021    709   EN0016   Owner Operator   Communication Charge           Safety Tech Hardware 32947                13
      1/16/2021    709   EN0016   Owner Operator   Fuel Card Advances             Cash Advance                            200
      1/16/2021    709   EN0016   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/16/2021    709   EN0016   Owner Operator   Fuel Purchase                  Fuel Purchase                         381.71
      1/16/2021    709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   EN0016   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   EN0016   Owner Operator   Permits                        ID06:2021 - 32947                         16
      1/16/2021    709   EN0016   Owner Operator   Permits                        IL02:2021 - 32947                       3.75
      1/16/2021    709   EN0016   Owner Operator   Permits                        NM07:2021 - 32947                         11
      1/16/2021    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      1/16/2021    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.05
      1/16/2021    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/16/2021    709   EN0016   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD Terrorism           2.5
      1/16/2021    709   FS0039   Owner Operator   BOBTAIL INS.                   33040 2014 Freightliner NTL             8.75
      1/16/2021    709   FS0039   Owner Operator   Broker Pre Pass                33040 PrePass Device                    12.5
      1/16/2021    709   FS0039   Owner Operator   Communication Charge           Safety Tech Hardware 33040                13
      1/16/2021    709   FS0039   Owner Operator   Fuel Purchase                  Fuel Purchase                         310.45

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      1/16/2021    709   FS0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   FS0039   Owner Operator   PHYSICAL DAMAGE                33040 2014 Freightliner PD             78.93
      1/16/2021    709   FS0039   Owner Operator   Truck Payment                  CTMS - 242961 truck lease 3304        434.29
      1/16/2021    709   FS0039   Owner Operator   Truck Payment                  CTMS - 243131 truck lease 3304        434.29
      1/16/2021    709   FS0039   Owner Operator   Truck Payment                  CTMS - 246176 truck lease 3304        397.65
      1/16/2021    709   FS0039   Owner Operator   Truck Payment                  CTMS - 246336 truck lease 3304        434.29
      1/16/2021    709   HC0023   Owner Operator   Advance                        Fuel Tax Payment Plan                  16.54
      1/16/2021    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      1/16/2021    709   HC0023   Owner Operator   BOBTAIL INS.                   Q13170 2013 Freightliner NTL            8.75
      1/16/2021    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   HC0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   HC0023   Owner Operator   Permits                        ID06:2021 - Q13170                        16
      1/16/2021    709   HC0023   Owner Operator   Permits                        IL02:2021 - Q13170                      3.75
      1/16/2021    709   HC0023   Owner Operator   Permits                        NM07:2021 - Q13170                        11
      1/16/2021    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD             36.1
      1/16/2021    709   HC0023   Owner Operator   PHYSICAL DAMAGE                Q13170 2013 Freightliner PD            36.07
      1/16/2021    709   HC0023   Owner Operator   Truck Payment                  CTMS - 243098 Q13170                  352.68
      1/16/2021    709   HC0023   Owner Operator   Truck Payment                  CTMS - 243266 Q13170                  352.68
      1/16/2021    709   HC0023   Owner Operator   Truck Payment                  CTMS - 243429 Q13170                  352.68
      1/16/2021    709   HC0023   Owner Operator   Truck Payment                  CTMS - 246306 Q13170                  352.68
      1/16/2021    709   HC0023   Owner Operator   Truck Payment                  CTMS - 246466 Q13170                  352.68
      1/16/2021    709   JG0017   Owner Operator   BOBTAIL INS.                   2014 Freightliner NTL                   8.75
      1/16/2021    709   JG0017   Owner Operator   Communication Charge           Safety Tech Hardware 32908                13
      1/16/2021    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance                          156.14
      1/16/2021    709   JG0017   Owner Operator   Fuel Card Advances             Cash Advance Fee                           2
      1/16/2021    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         184.68
      1/16/2021    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                         201.12
      1/16/2021    709   JG0017   Owner Operator   Fuel Purchase                  Fuel Purchase                          340.9
      1/16/2021    709   JG0017   Owner Operator   IRP License Deduction          LCIL:2020 - 32908                      33.64
      1/16/2021    709   JG0017   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   JG0017   Owner Operator   PHYSICAL DAMAGE                2014 Freightliner PD                   28.08
      1/16/2021    709   LS0023   Owner Operator   Communication Charge           Safety Tech Hardware 33655                13
      1/16/2021    709   LS0023   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          43.71
      1/16/2021    709   LS0023   Owner Operator   Permits                        ID06:2021 - 33655                         16
      1/16/2021    709   LS0023   Owner Operator   Permits                        IL02:2021 - 33655                       3.75
      1/16/2021    709   LS0023   Owner Operator   Permits                        NM07:2021 - 33655                         11
      1/16/2021    709   LS0023   Owner Operator   PHYSICAL DAMAGE                33655 2016 Freightliner PD             58.56
      1/16/2021    709   MP0035   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax         92.67
      1/16/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                       50.7
      1/16/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.12
      1/16/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      1/16/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      1/16/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      1/16/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.14
      1/16/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD                      52.12
      1/16/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/16/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/16/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/16/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/16/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/16/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/16/2021    709   MP0035   Owner Operator   PHYSICAL DAMAGE                2012 Peterbilt PD Terrorism              2.5
      1/16/2021    709   NB0029   Owner Operator   Advance                        Fuel Tax Payment Plan                 242.94
      1/16/2021    709   NB0029   Owner Operator   Advance                        Fuel Tax Payment Plan                 243.92
      1/16/2021    709   NB0029   Owner Operator   Advance                        Fuel Tax Payment Plan                 243.92
      1/16/2021    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/16/2021    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/16/2021    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/16/2021    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/16/2021    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/16/2021    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/16/2021    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/16/2021    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/16/2021    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/16/2021    709   NB0029   Owner Operator   BOBTAIL INS.                   1108 2011 Freightliner NTL              8.75
      1/16/2021    709   NB0029   Owner Operator   BOBTAIL INS.                   32986 2014 Freightliner NTL             8.75
      1/16/2021    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      1/16/2021    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      1/16/2021    709   NB0029   Owner Operator   Broker Pre Pass                DriveWyze TRK32986                      9.84
      1/16/2021    709   NB0029   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax       2439.15
      1/16/2021    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      1/16/2021    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   NB0029   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              36.07
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              36.07
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD              36.07
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD               36.1
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                1108 2011 Freightliner PD Terr           2.5
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             50.13
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD             34.99
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      1/16/2021    709   NB0029   Owner Operator   PHYSICAL DAMAGE                32986 2014 Freightliner PD Ter           2.5
      1/16/2021    709   NB0029   Owner Operator   Truck Payment                  CTMS - 243086 32986 Lease             314.03
      1/16/2021    709   NB0029   Owner Operator   Truck Payment                  CTMS - 243255 32986 Lease             314.03
      1/16/2021    709   NB0029   Owner Operator   Truck Payment                  CTMS - 243418 32986 Lease             314.03
      1/16/2021    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      1/16/2021    709   NB0029   Owner Operator   US Legal Services              U.S. Legal Services                    32.95
      1/16/2021    709   RB0170   Owner Operator   Advance                        Fuel Tax Payment Plan                 113.49
      1/16/2021    709   RB0170   Owner Operator   BOBTAIL INS.                   Q1241 2012 Peterbilt NTL                8.75
      1/16/2021    709   RB0170   Owner Operator   Communication Charge           Safety Tech Hardware Q1241                13
      1/16/2021    709   RB0170   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    709   RB0170   Owner Operator   PHYSICAL DAMAGE                Q1241 2012 Peterbilt PD                40.11
      1/16/2021    709   RB0170   Owner Operator   Truck Payment                  CTMS - 243056 Q1241 Truck leas        321.84
      1/16/2021    709   RB0170   Owner Operator   Truck Payment                  CTMS - 243391 Q1241 Truck leas        321.84
      1/16/2021    709   RB0170   Owner Operator   Truck Payment                  CTMS - 243557 Q1241 Truck leas        321.84
      1/16/2021    709   RB0170   Owner Operator   Truck Payment                  CTMS - 246773 Q1241 Truck leas        321.84
      1/16/2021    709   RR0123   Owner Operator   Broker Pre Pass                33488 PrePass Device                    12.5
      1/16/2021    709   RR0123   Owner Operator   Charge back by affiliate       CTMS - 246667 HVUT Form 2290            110
      1/16/2021    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      1/16/2021    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      1/16/2021    709   RR0123   Owner Operator   Communication Charge           Safety Tech Hardware 33488                13
      1/16/2021    709   RR0123   Owner Operator   Truck Payment                  CTMS - 246775 Past tractor ren         66.91
      1/16/2021    709   SM0109   Owner Operator   Communication Charge           Safety Tech Hardware 33195                13
      1/16/2021    709   SM0109   Owner Operator   Repair Order                   CTMS - 246756 Repair                   59.54
      1/16/2021    709   SM0109   Owner Operator   Repair Order                   CTMS - 246756 Repair                    167
      1/16/2021    742   AP0047   Owner Operator   Advance                        Fuel Tax Payment Plan                 148.97
      1/16/2021    742   AP0047   Owner Operator   BOBTAIL INS.                   32604 2012 Volvo NTL                    8.75
      1/16/2021    742   AP0047   Owner Operator   Communication Charge           Safety Tech Hardware 32604                13
      1/16/2021    742   AP0047   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    742   AP0047   Owner Operator   Permits                        IL02:2021 - 32604                       3.75
      1/16/2021    742   AP0047   Owner Operator   Permits                        NM07:2021 - 32604                         11
      1/16/2021    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD                    53.74
      1/16/2021    742   AP0047   Owner Operator   PHYSICAL DAMAGE                32604 2012 Volvo PD Terrorism            2.5
      1/16/2021    742   AP0047   Owner Operator   Toll Charges                   32604 ILTOLL Route 80 (East)             5.1
      1/16/2021    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      1/16/2021    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      1/16/2021    742   CT0085   Owner Operator   BOBTAIL INS.                   Q13171 2013 Freightliner NTL            8.75
      1/16/2021    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      1/16/2021    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      1/16/2021    742   CT0085   Owner Operator   Broker Pre Pass                DriveWyze TRKQ13171                     9.84
      1/16/2021    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      1/16/2021    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      1/16/2021    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      1/16/2021    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13

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      1/16/2021    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      1/16/2021    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      1/16/2021    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      1/16/2021    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      1/16/2021    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      1/16/2021    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      1/16/2021    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      1/16/2021    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      1/16/2021    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      1/16/2021    742   CT0085   Owner Operator   Communication Charge           Safety Tech Hardware Q13171               13
      1/16/2021    742   CT0085   Owner Operator   Fuel Purchase                  Fuel Purchase                          304.8
      1/16/2021    742   CT0085   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        245.14
      1/16/2021    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    742   CT0085   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    742   CT0085   Owner Operator   Permits                        ID06:2021 - Q13171                        16
      1/16/2021    742   CT0085   Owner Operator   Permits                        IL02:2021 - Q13171                      3.75
      1/16/2021    742   CT0085   Owner Operator   Permits                        NM07:2021 - Q13171                        11
      1/16/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
      1/16/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.13
      1/16/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD            43.11
      1/16/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      1/16/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      1/16/2021    742   CT0085   Owner Operator   PHYSICAL DAMAGE                Q13171 2013 Freightliner PD Te           2.5
      1/16/2021    742   EA0039   Owner Operator   Advance                        Fuel Tax Payment Plan                  59.44
      1/16/2021    742   EA0039   Owner Operator   Advance                        Fuel Tax Payment Plan                  60.12
      1/16/2021    742   EA0039   Owner Operator   Advance                        Fuel Tax Payment Plan                  60.12
      1/16/2021    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/16/2021    742   EA0039   Owner Operator   BOBTAIL INS.                   2012 Freightliner NTL                   8.75
      1/16/2021    742   EA0039   Owner Operator   Broker Pre Pass                33993 PrePass Device                    12.5
      1/16/2021    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      1/16/2021    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      1/16/2021    742   EA0039   Owner Operator   Communication Charge           Safety Tech Hardware 33993                13
      1/16/2021    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    742   EA0039   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    742   EA0039   Owner Operator   Permits                        ID06:2021 - 33993                         16
      1/16/2021    742   EA0039   Owner Operator   Permits                        IL02:2021 - 33993                       3.75
      1/16/2021    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.07
      1/16/2021    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD                   24.04
      1/16/2021    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/16/2021    742   EA0039   Owner Operator   PHYSICAL DAMAGE                2012 Freightliner PD Terrorism           2.5
      1/16/2021    742   ED0041   Owner Operator   Advance                        Fuel Tax Payment Plan                 113.17
      1/16/2021    742   ED0041   Owner Operator   BOBTAIL INS.                   2011 Kenworth NTL                       8.75
      1/16/2021    742   ED0041   Owner Operator   Communication Charge           Safety Tech Hardware 32897                13
      1/16/2021    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         267.24
      1/16/2021    742   ED0041   Owner Operator   Fuel Purchase                  Fuel Purchase                         418.07
      1/16/2021    742   ED0041   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    742   ED0041   Owner Operator   Permits                        ID06:2021 - 32897                         16
      1/16/2021    742   ED0041   Owner Operator   Permits                        IL02:2021 - 32897                       3.75
      1/16/2021    742   ED0041   Owner Operator   Permits                        NM07:2021 - 32897                         11
      1/16/2021    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD                       28.08
      1/16/2021    742   ED0041   Owner Operator   PHYSICAL DAMAGE                2011 Kenworth PD Terrorism               2.5
      1/16/2021    742   NG0024   Owner Operator   Advance                        Fuel Tax Payment Plan                  49.22
      1/16/2021    742   NG0024   Owner Operator   Advance                        Fuel Tax Payment Plan                   49.9
      1/16/2021    742   NG0024   Owner Operator   Advance                        Fuel Tax Payment Plan                   49.9
      1/16/2021    742   NG0024   Owner Operator   BOBTAIL INS.                   33252 2013 Freightliner NTL             8.75
      1/16/2021    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      1/16/2021    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      1/16/2021    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      1/16/2021    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      1/16/2021    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      1/16/2021    742   NG0024   Owner Operator   Broker Pre Pass                33252 PrePass Device                    12.5
      1/16/2021    742   NG0024   Owner Operator   Broker Pre Pass                non-returned prepass NG0024             100
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13

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      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   Communication Charge           Safety Tech Hardware 33252                13
      1/16/2021    742   NG0024   Owner Operator   FUEL TAX                       June-Oct 2020 Fuel/Mileage Tax        249.49
      1/16/2021    742   NG0024   Owner Operator   FUEL TAX                       May 2020 Fuel/Mileage Tax             230.65
      1/16/2021    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                       100
      1/16/2021    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                      49.43
      1/16/2021    742   NG0024   Owner Operator   IRP License Deduction          LCIL:2020 - 33252                      97.89
      1/16/2021    742   NG0024   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.46
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.46
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.46
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.46
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.46
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.47
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD            103.46
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   PHYSICAL DAMAGE                33252 2013 Freightliner PD Ter           2.5
      1/16/2021    742   NG0024   Owner Operator   Toll Charges                   33252,Carquinez Bridge,12                 26
      1/16/2021    742   NG0024   Owner Operator   Toll Charges                   33252,Carquinez Bridge,12                 26
      1/16/2021    742   RF0136   Owner Operator   Advance                        EFS 258188 s/u 3 wks                  249.49
      1/16/2021    742   RF0136   Owner Operator   Advance                        Fuel Tax Payment Plan                 122.93
      1/16/2021    742   RF0136   Owner Operator   Advance                        Fuel Tax Payment Plan                 122.93
      1/16/2021    742   RF0136   Owner Operator   BOBTAIL INS.                   2013 Peterbilt NTL                      8.75
      1/16/2021    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      1/16/2021    742   RF0136   Owner Operator   Communication Charge           Safety Tech Hardware 34182                13
      1/16/2021    742   RF0136   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                           47.5

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      1/16/2021    742   RF0136   Owner Operator   Permits                        IL02:2021 - 34182                      3.75
      1/16/2021    742   RF0136   Owner Operator   Permits                        NM07:2021 - 34182                        11
      1/16/2021    742   RF0136   Owner Operator   PHYSICAL DAMAGE                2013 Peterbilt PD                     54.55
      1/16/2021    742   RF0136   Owner Operator   Toll Charges                   34182 ILTOLL Route 80 (West)            5.1
      1/16/2021    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.07
      1/16/2021    742   RN0054   Owner Operator   BOBTAIL INS.                   Q13157 2013 Freightliner NTL           8.75
      1/16/2021    742   RN0054   Owner Operator   Broker Pre Pass                Q13157 PrePass Device                  12.5
      1/16/2021    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157              13
      1/16/2021    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157              13
      1/16/2021    742   RN0054   Owner Operator   Communication Charge           Safety Tech Hardware q13157              13
      1/16/2021    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2021    742   RN0054   Owner Operator   Occupational Accident-Driver   OCAC-Sfty Prg                          47.5
      1/16/2021    742   RN0054   Owner Operator   Permits                        ID06:2021 - Q13157                       16
      1/16/2021    742   RN0054   Owner Operator   Permits                        IL02:2021 - Q13157                     3.75
      1/16/2021    742   RN0054   Owner Operator   Permits                        NM07:2021 - Q13157                       11
      1/16/2021    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD           36.07
      1/16/2021    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD            36.1
      1/16/2021    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5
      1/16/2021    742   RN0054   Owner Operator   PHYSICAL DAMAGE                Q13157 2013 Freightliner PD Te          2.5




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